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          DOLORES BERCEDONIS
   638734 FOURNIER                                    HC 33 BOX 4514                                                                                                  DORADO               PR           00646

   638735 DOLORES BETANCOURT RIVERA                   URB LAGO ALTO               G 108 CALLE CIDRA                                                                   TRUJILLO ALTO        PR           00976
          DOLORES BETANCOURT
   638736 SANTAELLA                                   RES FELIPE SANCHEZ OSORIO   EDIF 9 APT 44                                                                       CAROLINA             PR           00985
   638737 DOLORES CABELLO DELGADO                     URB LOMAS VERDE 2 H 1       CALLE FLAMBOYAN                                                                     BAYAMON              PR           00956
   638738 DOLORES CANCEL MELENDEZ                     BOX 6106                    LAS FLORES                                                                          VEGA BAJA            PR           00693
          DOLORES CARRASQUILLO
   638740 CLAUDIO                                     HC 01 BOX 24304                                                                                                 CAGUAS               PR           00725
          DOLORES CARRASQUILLO
   638741 LIZARDI                                     VILLA COPERATIVA            G 21 CALLE 9                                                                        CAROLINA             PR           00985
   638742 DOLORES CARTY HERNANDEZ                     BO OBRERO                   467 CALLE 10                                                                        SAN JUAN             PR           00915
   638743 DOLORES CASTILLO RIVERA                     VILLA PALMERAS              262 CALLE DEL VALLE                                                                 SAN JUAN             PR           00912
   143225 DOLORES CHINEA NIEVES                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   143226 DOLORES COLON CRUZ                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   143227 DOLORES CORTES TORRES                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   143228 DOLORES CORTES VALENTIN                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   638749 DOLORES CRUZ MERCADO                        BO MORTINEW                 PO BOX 623                                                                          VIEQUES              PR           00765
   638750 DOLORES CRUZADO                             PO BOX 21365                                                                                                    SAN JUAN             PR           00926‐1365
   143230 DOLORES DE LA CRUZ                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   638751 DOLORES DE LEON RODRIGUEZ                   VILLA PALMERAS              377 CALLE FERRER                                                                    SANTURCE             PR           00915
          DOLORES DEL C DIAZ/ ILEANA B
   143231 DIAZ                                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   638752 DOLORES DELGADO COLON                       HC 3 BOX 41160                                                                                                  CAGUAS               PR           00725
   638753 DOLORES DIAZ PANTOJAS                       12 HUDSON ST                                                                                                    TAYLORS SC           CA           29687

   143232 DOLORES E FIGUEROA NEGRON                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   143233 DOLORES ENCARNACION CASTR REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          DOLORES ENCARNACION DBA
   143235 TRANSPORTE ESCOL          BO. CACAO HC 02 BOX 14615                                                                                                         CAROLINA             PR           00987‐0000
   638754 DOLORES FALCON ROSA       BO TORTUGO                                    KM 19‐7                                                                             SAN JUAN             PR           00926

   638725 DOLORES FELICIANO CARABALLO BDA ESPERANZA                               25 CALLE 4                                                                          GUANICA              PR           00653
   143236 DOLORES FELIX RIVERA        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   143237 DOLORES FIGUEROA MERCADO                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   638755 DOLORES GARCIA ADORNO                       PUERTO NUEVO                506 CALLE ARABIA                                                                    SAN JUAN             PR           00920
   143238 DOLORES GARCIA CAMILO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   638756 DOLORES GARCIA RIVERA                       PO BOX 354                                                                                                      HUMACAO              PR           00741
   143239 DOLORES GOMEZ DE JESUS                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   638757 DOLORES GONZALEZ COLON                      BO LA CENTRAL               562 CALLE 1                                                                         CANOVANAS            PR           00729

   638760 DOLORES GONZALEZ LOURIDO                    LEVITOWN 7MA SECC           HS42 RACARIO ARUSTIS                                                                TOA BAJA             PR           00949
          DOLORES GONZALEZ
   143240 MALDONADO                                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   143241 DOLORES GONZALEZ NEGRON                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   638761 DOLORES GONZALEZ SANTIAGO                   BO PLAYITA BZN A 46                                                                                             SALINAS              PR           00751
   143242 DOLORES H CAO GARCIA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  638763 DOLORES HERNANDEZ LOPEZ       HC 02 BOX 13456                                                                                                                  AGUAS BUENAS      PR         00703
  638764 DOLORES HILL RIVERA           PO BOX 362623                                                                                                                    SAN JUAN          PR         00936‐2623
  143243 DOLORES IRIZARRY PEREZ        REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  143244 DOLORES IRIZARRY VELEZ        REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  638766 DOLORES JIMENEZ RAMIREZ       ROYAL TOWN                                  V 11 CALLE 25                                                                        BAYAMON           PR         00956
  143246 DOLORES LOPEZ LOPEZ           REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         Dolores Lopez Matos/H.SANCHEZ
  143247 CINTRON                       REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  638768 DOLORES LOPEZ VELAZQUEZ       CONDOMINIO INTERSUITES                      APTO 7F                                                                              CAROLINA          PR         00979
  143248 DOLORES LOZADA OYOLA          REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  143249 DOLORES LUGO                  REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   143250 DOLORES M RODRIGUEZ FELIX                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   143251 DOLORES MARTINEZ AYALA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   638772 DOLORES MARTINEZ OJEDA                       COND TAINO EDIF 0 APT 201   SAN JOSE                                                                             RIO PIEDRAS       PR         00923
   638774 DOLORES MELENDEZ                             2552 CALLE ANGELES                                                                                               VEGA BAJA         PR         00693
   638776 DOLORES MELENDEZ GARCIA                      BO ARENALES                 2552 CALLE ANGELES                                                                   VEGA BAJA         PR         00693
   638778 DOLORES MERINO                               471 CALLE CARBONEL                                                                                               SAN JUAN          PR         00918

   638779 DOLORES MIRANDA GIERBOLINI SANTA ANA                                     E 16 TEMPLE                                                                          SAN JUAN          PR         00927
   638780 DOLORES MOLINA ORTIZ       170 CALLE ARIZMENDI                                                                                                                SAN JUAN          PR         00925

   638781 DOLORES MONTALVO FIGUEROA PO BOX 2042                                                                                                                         CAROLINA          PR         00984
   143253 DOLORES MONTALVO ORTIZ    REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   638782 DOLORES MORALES IZQUIERDO                    HC 80 BOX 9189                                                                                                   DORADO            PR         00646

   143254 DOLORES MORALES SANTIAGO                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   143255 DOLORES NARVAEZ ROSARIO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   638785 DOLORES OQUENDO ORTIZ                        PO BOX 7428                                                                                                      SAN JUAN          PR         00916
   638787 DOLORES OROZCO OROZCO                        PO BOX 1295‐156                                                                                                  SAN LORENZO       PR         00754
   638788 DOLORES PACHECO RIVERA                       HC 01 BOX 6627                                                                                                   BAYAMON           PR         00971
   638789 DOLORES PAGAN VELEZ                          BOX 2560                                                                                                         SAN GERMAN        PR         00683
   143256 DOLORES PARRILLA                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          DOLORES PASTRANA / CARMEN
   638790 B PASTRANA                                   811 CALLE LINCE APT 508                                                                                          SAN JUAN          PR         00923
   638791 DOLORES PE¥A RIVERA                          URB LEVITTOWN HN 83         CALLE DOMINGO DELGADO                                                                TOA BAJA          PR         00949
   143257 DOLORES RAMOS CLAUDIO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   638793 DOLORES RAMOS CRUZ                           HC 01 BOX 8432                                                                                                   TOA BAJA          PR         00949
   638794 DOLORES RAMOS ORTIZ                          HC 2 BOX 32415                                                                                                   ARECIBO           PR         00612
   638795 DOLORES RIOS DEL VALLE                       URB CAGUAX                  H 18 CALLE BATEY                                                                     CAGUAS            PR         00725
   638796 DOLORES RIVERA                               AVE LAS PALMAS                                                                                                   SAN JUAN          PR         00907
   638798 DOLORES RIVERA MEDINA                        PO BOX 7126                                                                                                      PONCE             PR         00732
   638799 DOLORES RIVERA VALENTIN                      URB VILLA FONTANA           EL 2 VIA 26                                                                          CAROLINA          PR         00983
          DOLORES RODRIGUEZ DE
   143258 ORONOZ                                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          DOLORES RODRIGUEZ
   143259 MALDONADO                                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
                                                       158 CALLE ANDRES A RIVERA
   638801 DOLORES ROJAS RODRIGUEZ                      ALTOS                                                                                                            GURABO            PR         00778
   638802 DOLORES ROSADO GARCIA                        BO BAJURA                   HC 91 BOX 9569                                                                       VEGA ALTA         PR         00762

   638803 DOLORES ROSADO JUSTINIANO                    URB RAMIREZ ARELLALLO       23 COLL TOSTE                                                                        MAYAGUEZ          PR         00680



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  638726 DOLORES ROSARIO LOPEZ                        RR 6 BOX 9976                                                                                                      SAN JUAN             PR         00926
  143260 DOLORES ROSARIO PEREZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   638806 DOLORES S GARCIA FIGUEROA                   URB EL ROSARIO II            S 5 CALLE 5                                                                           VEGA BAJA            PR         00693
   638805 DOLORES S RAMIREZ                           C/O BARRETT PO BOX 72310                                                                                           LAS VEGAS            NV         89119‐2310
   638808 DOLORES SANCHEZ CAZAU                       URB ANAIDA GARDENS 200       APT 215                                                                               PONCE                PR         00731

   143261 DOLORES SANCHEZ HERNANDEZ REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   638809 DOLORES SANCHEZ MERCED    P O BOX 3251                                                                                                                         GUAYNABO             PR         00970

   638811 DOLORES SANTAELLA FELICIANO VILLAS DE LOIZA                              C 10 CALLE 13                                                                         CANOVANAS            PR         00729

   143262 DOLORES SANTIAGO ROSARIO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   143263 DOLORES SANTOS PEREZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   638812 DOLORES SANTOS TORRES                       HC 02 BOX 6401                                                                                                     GUAYANILLA           PR         00656

   143265 DOLORES SANTOS VELAZQUEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          DOLORES SAYONARA
   638813 MONTALVO                                    URB PEREZ MORRIS             43 CALLE PONCE                                                                        SAN JUAN             PR         00917
   638814 DOLORES SEDA COLON                          URB VALLE DR MANATI          F 3 CALLE 3                                                                           MANATI               PR         00674
   638815 DOLORES SERRANO AYALA                       51 E CALLE ANDRES A RIVERA                                                                                         CAROLINA             PR         00985
   143266 DOLORES SERRANO SANCHEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          DOLORES SERVICE STATION INC
   143267 & AUTO PARTS                                PO BOX 910                                                                                                         CANOVANAS            PR         00729
   143268 DOLORES SERVICES STA ESSO                   P O BOX 910                                                                                                        CANOVANAS            PR         00729
          DOLORES SOTO Y/O OLGA
   638816 ADORNO                                      URB SANTA ROSA               27‐12 CALLE 13                                                                        BAYAMON              PR         00959
   143269 DOLORES SUAREZ BENITEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   638818 DOLORES TORRES GARCIA                       APT. 299 BO. CHICHON                                                                                               VILLALBA             PR         00766
   638819 DOLORES VAZQUEZ MARIN                       RES JARDINES DEL PARAISO     EDIF 33 APT 241                                                                       SAN JUAN             PR         00926
   143270 DOLORES ZAYAZ RIVERA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   143271 DOLYS CONCEPCION AGUAYO                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   143275 DOM MART CORP                               6 CALLE PEDRO MONCLOVA                                                                                             JUANA DIAZ           PR         00795
   143277 DOMCAR VELAZQUEZ RIVERA                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          DOMENECH CARDIOLOGY
   143315 GROUP                                       PO BOX 194606                                                                                                      SAN JUAN             PR         00919‐4606
          DOMENECH FAGUNDO MD,
   143342 EDGARD                                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   143352 DOMENECH HEARING CENTER                     207 AVE DOMENECH STE 206                                                                                           SAN JUAN             PR         00917

   638820 DOMENECH SECURITY SERVICES PLAZA ALTA SUITE 185                          274 AVE SANTA ANA                                                                     GUAYNABO             PR         00969‐3304
   143424 DOMENECH TOXICOLOGY INC    P O BOX 2369                                                                                                                        SAN JUAN             PR         00919
   143443 DOMENICO FERRARI           HC 4 BOX 15673                                                                                                                      CAROLINA             PR         00987

   638823 DOMENICO'S                                  COND PUERTA DEL CONDADO      LOCAL I 4 ESQ BALDORIOTY                                                              SAN JUAN             PR         00907
   638824 DOMESTIC HOLDINGS INC                       PO BOX 2399                                                                                                        TOA BAJA             PR         00951‐2399

   638825 DOMICIANO FELICIANO DE JESUS PO BOX 7126                                                                                                                       PONCE                PR         00732
   638827 DOMILIZ MARTELL RUIZ         BO NARANJO                                  CARR 110 KM 2.8                                                                       MOCA                 PR         00676
   143444 DOMINDO A TORRES PEREZ       REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                       SOLAR B 25 COM UM 120 EST
   638830 DOMINGA ACEVEDO              COQUI                                                                                                                             SALINAS              PR         00751



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          DOMINGA ACEVEDO GARCIA,
          HERIBERTO SANTIAGO FERRER Y
          LA SOCIEDAD LEGAL DE BIENES                                              53 CALLE ESTEBAN PADILLA STE.
  1419600 GANANCIALES                                 AARÓN A. FERNÁNDEZ FLORES    2                                                                                       BAYAMÓN             PR           00961
   143446 DOMINGA ALAMO CANALES                       REDACTED                     REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   143447 DOMINGA ALAMO MORALES                       REDACTED                     REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   638832 DOMINGA ALVAREZ NEGRON                      PO BOX 1414                                                                                                          YAUCO               PR           00698
   638828 DOMINGA BELTRAN GARCIA                      PO BOX 237                                                                                                           JUNCOS              PR           00777

   638833 DOMINGA BERNIERL CATERING                   COOP JARD DE SAN FRANCISCO   EDIF 2 APT 1014                                                                         SAN JUAN            PR           00927
   638834 DOMINGA BERROCALES VEGA                     HC 9 BOX 2661                                                                                                        SABANA GRANDE       PR           00637
          DOMINGA CANDELARIA
   638835 RODRIGUEZ                                   URB SANTA JUANITA            AG 23 CALLE 39                                                                          BAYAMON             PR           00956

   638836 DOMINGA CARRILLA RODRIGUEZ ALTURAS DE RIO GRANDE                         W 1204 CALLE 22                                                                         RIO GRANDE          PR           00745
   638829 DOMINGA CORTES GUZMAN      HC 2 BOX 8810                                                                                                                         RINCON              PR           00677
   143448 DOMINGA COTTO CANALES      REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          DOMINGA DE LEON
   638839 MALDONADO                  PO BOX 69001 SUITE 140                                                                                                                HATILLO             PR           00659
   638840 DOMINGA DUPREY RIVERA      URB VILLA CONTESA S 7                         CALLE WELLINGTON                                                                        BAYAMON             PR           00956
   638841 DOMINGA FALCON ROBLES      HATO TEJAS                                    57 CALLE PAJARO                                                                         BAYAMON             PR           00959
   638843 DOMINGA GONZALEZ           PO BOX 344                                                                                                                            AGUIRRE             PR           00704

   143449 DOMINGA GONZALEZ ARROYO                     REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   143450 DOMINGA GONZALEZ ROLDAN                     REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   638844 DOMINGA GONZALEZ SANTIAGO D 45 BRISAS DE MARAVILLA                                                                                                               JUANA DIAZ          PR           00715
   143451 DOMINGA GONZALEZ TORRES   REDACTED                                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   638845 DOMINGA HERNANDEZ RAMOS                     BOX 515                                                                                                              MOCA                PR           00676
          DOMINGA HERNANDEZ
   638846 VALENTIN                                    HC 3 BOX 8873                                                                                                        MOCA                PR           00676
   143452 DOMINGA J GOMEZ CEDANO                      REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   638847 DOMINGA L LOPEZ CARTAGENA                   BO PASTO VIEJO               CARR 1 KM 64 7 PARC 112                                                                 CAYEY               PR           00736
          DOMINGA LAUREANO DIAZ /
   638848 MARIA T VEGA                                PARC BARAHONA                187 CALLE MANUEL CACHO                                                                  MOROVIS             PR           00687‐2126
   638849 DOMINGA LOPEZ RIVERA                        BO PLAYITA                   41 SECT ESTERO                                                                          SALINAS             PR           00751

   638850 DOMINGA MARTINEZ DELGADO                    PO BOX 232                                                                                                           LAS PIEDRAS         PR           00771‐0232
   638851 DOMINGA MARZAN LOPEZ                        PO BOX 232                                                                                                           TOA ALTA            PR           00954
   638852 DOMINGA MEDINA ACEVEDO                      HC 02 BOX 20671                                                                                                      AGUADILLA           PR           00603
   638853 DOMINGA MEJIAS PACHECO                      HC 08 BOX 967                                                                                                        PONCE               PR           00731
   638854 DOMINGA MENDEZ CRESPO                       P O BOX 364466                                                                                                       SAN JUAN            PR           00936‐4466
   638855 DOMINGA MENDOZA MEDINA                      PO BOX 1332                                                                                                          RINCON              PR           00677
   638856 DOMINGA MILAN                               PO BOX 50063                                                                                                         SAN JUAN            PR           00902
   143453 DOMINGA MIRANDA TORRES                      REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          DOMINGA MOSCOSO DE
   143454 RAMIREZ                                     REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   143455 DOMINGA MUNOZ LOZADA                        REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   638858 DOMINGA OQUENDO VALLE                       681 CALLE CEFERINO BARBOSA                                                                                     DORADO              PR           00646
   143456 DOMINGA ORTIZ                               REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   638860 DOMINGA ORTIZ ROSA                          HC 2 BOX 6260                                                                                                  LUQUILLO            PR           00773
   143457 DOMINGA REYES POWELL                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   143458 DOMINGA RIVERA DE JESUS                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   143459 DOMINGA RODRIGUEZ                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   638864 DOMINGA RODRIGUEZ ARROYO                    HC 02 BOX 10736                                                                                                LAS MARIAS          PR           00670
   638865 DOMINGA RODRIGUEZ CIRILO                    VILLA CAROLINA               17 BLQ 150 CALLE 431                                                              CAROLINA            PR           00979
   143460 DOMINGA ROMAN RIVERA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   638867 DOMINGA SANABRIA                            PO BOX 1248                                                                                                    LAS PIEDRAS         PR           00771

   143461 DOMINGA SANABRIA SANABRIA                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   638868 DOMINGA SANTIAGO ORTIZ                      HC 01 BOX 4415                                                                                                 SANTA ISABEL        PR           00757
   638869 DOMINGA SANTOS TOLLINCHI                    HC 1 BOX 6065                                                                                                  GUAYANILLA          PR           00656
   638870 DOMINGA SUAREZ SUARAZ                       PO BOX 444                                                                                                     CAROLINA            PR           00986
   638871 DOMINGA VARGAS ALTIERY                      15 CALLE LA REINA                                                                                              ISABELA             PR           00662
   638872 DOMINGA VEGA ORTIZ                          BO TUNQUITO                  381 CALLE GLADIOLA                                                                HUMACAO             PR           00792
   143462 Dominga VillafaNe Colon                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   638876 DOMINGO A BONILLA OSORIA                    136 CALLE MAYAGUEZ                                                                                             HATO REY            PR           00917
   638877 DOMINGO A CAMPOS                            HC 1 BOX 3317                                                                                                  BARRANQUITAS        PR           00794

   143463 DOMINGO A CONDE CARDONA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   638878 DOMINGO A CORDERO CLASE                     URB LOS COLOBOS PARK         908 CALLE OLMO                                                                    CAROLINA            PR           00987
          DOMINGO A GONZALEZ
   143464 RODRIGUEZ                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          DOMINGO A GRILLASCA
   638879 DOMENECH                                    MARIOLGA                     H 11 CALLE 26                                                                     CAGUAS              PR           00725

   143465 DOMINGO A MOLINELLI OCHART REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   143466 DOMINGO A POLANCO ESPEJO                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   638880 DOMINGO A QUILES ROSADO                     PO BOX 195055                                                                                                  SAN JUAN            PR           00919‐5055
   638881 DOMINGO A RIVERA GALIANO                    PO BOX 51016                                                                                                   TOA BAJA            PR           00950‐1016
                                                                                   SECTOR CATANITO
   638882 DOMINGO A VELAZQUEZ RAMOS HC 1 BOX 5562                                  GARROCHALES                                                                       BARCELONETA         PR           00617

   143468 DOMINGO A VELEZ BATTISTINI                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   143469 DOMINGO ACEVEDO SANTIAGO REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   143470 DOMINGO AGRONT VALENTIN                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   143471 DOMINGO ALBINO VELEZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   143472 DOMINGO ALEJANDRO RAMOS                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   638883 DOMINGO ALEJANDRO SANTOS                    32 BALDORIOTY                                                                                                  CIDRA               PR           00739
   143473 DOMINGO ALEMANY ARANA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   143474 DOMINGO ALTORAN MONTIJO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   638884 DOMINGO ALVAREZ ROSA                        PO BOX 4432                                                                                                    SAN JUAN            PR           00902
   638886 DOMINGO ANAYA SANTIAGO                      PO BOX 7126                                                                                                    PONCE               PR           00732



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  143475 DOMINGO ANDINO LOPEZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         DOMINGO APONTE/ DAISY
  143476 MALDONADO                                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  638887 DOMINGO ARROYO LUCENA                        14 CALLE DE DIEGO                                                                                                   SAN GERMAN          PR         00683
  638888 DOMINGO ASENCIO LUGO                         URB SANTA TERESITA          BJ 3 CALLE 25                                                                           PONCE               PR         00731
  638889 DOMINGO BERMUDEZ BOSCH                       P O BOX 321019                                                                                                      CAYEY               PR         00737

   638890 DOMINGO BERMUDEZ TURPEAU APARTADO 1764                                                                                                                          JUANA DIAZ          PR         00795
   143478 DOMINGO BORRERO TORRES   REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   143479 DOMINGO BORRES OTERO     REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   638893 DOMINGO CABAN BREBAN     PMB 37 P O BOX 2000                                                                                                                    MERCEDITA           PR         00715
   638894 DOMINGO CAMACHO PABON    HC 2 BOX 45314                                                                                                                         VEGA BAJA           PR         00693
          DOMINGO CANDELARIA
   638895 MALADONADO               BO JAREALITO                                   518 CALLE D                                                                             ARECIBO             PR         00612
          DOMINGO CARABALLO
   143480 /BARBARA CARABALLO       REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          DOMINGO CARABALLO
   638896 MALDONADO                BO PAMPANO                                     131 CALLEJON ROSA                                                                       PONCE               PR         00717

   143481 DOMINGO CARABALLO PACHECO REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   143482 DOMINGO CARO ELIAS        REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   638897 DOMINGO CARRASQUILLO DIAZ                   PO BOX 794                                                                                                          BAYAMON             PR         00960
          DOMINGO CARRASQUILLO
   143483 GONZALEZ                                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   143484 DOMINGO CARRERO ALEQUIN                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          DOMINGO CASTILLO
   638899 MALDONADO                                   RR 1 BOX 11602                                                                                                      MANATI              PR         00674
          DOMINGO CHAMORRO
   143485 VELAZQUEZ                                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   638900 DOMINGO CHARDON                             PO BOX 518                                                                                                          PONCE               PR         00715‐0518

   143486 DOMINGO CHELEUITTE SAMUR                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   638901 DOMINGO COLON CARRION                       HC 3 BOX 10729                                                                                                      YABUCOA             PR         00767
   638902 DOMINGO COLON CUASCUT                       STARLIGHT                   M 1 CALLE J                                                                             PONCE               PR         00731
                                                      PARCELAS ALAMAI MARIN CALLE
   143488 DOMINGO COLON RODRIGUEZ                     2 NUM 11‐A                                                                                                          PONCE               PR         00716
   638904 DOMINGO COLON SANTIAGO                      27 CALLE PUEBLITO                                                                                                   COAMO               PR         00769
   638905 DOMINGO CONCEPCION                          VILLA PALMERAS              360 CALLE COLTO                                                                         SAN JUAN            PR         00915
   638906 DOMINGO CORA                                BUENA VISTA                 133 CALLE PALMA REAL                                                                    CAROLINA            PR         00985
   638907 DOMINGO CORA MALAVE                         PO BOX 633                                                                                                          ARROYO              PR         00714

   143489 DOMINGO CORDERO VALENTIN                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   638908 DOMINGO CORREA MEDINA                       P O BOX 1276                                                                                                        RIO GRANDE          PR         00745
   638909 DOMINGO CORTES FELICIANO                    JARD DE AGUADA              APT 67 EDIF 8                                                                           AGUADA              PR         00602
   638910 DOMINGO COTTO MACHUCA                       CALLE CATANO BM 53          QTA SECCION LEVITTOWN                                                                   TOA BAJA            PR         00949
   638911 DOMINGO CRESPO MERCADO                      URB RAMIREZ DE ARELLANOS    16 CALLE SANTIAGO IGLESIAS                                                              MAYAGUEZ            PR         00680‐2406
   143490 DOMINGO CRESPO SOTO                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   638912 DOMINGO CRUZ FRANQUIZ                       R R 3 BOX 3258                                                                                                      SAN JUAN            PR         00926
   638913 DOMINGO CRUZ MEDINA                         2 CALLE ROSA BARRIADA       SANTA BARBARA                                                                           ISABELA             PR         00622‐2204
   143491 DOMINGO CRUZ MENDOZA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   638914 DOMINGO CRUZ MONTALVO                       PO BOX 717                                                                                                          JAYUYA              PR         00664



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  638915 DOMINGO CRUZ OTERO                           43 URB SAGRADO CORAZON                                                                                      ANASCO               PR         00610
  143492 DOMINGO CRUZ SANTIAGO                        REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  143493 DOMINGO CRUZ TORRES                          REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  143494 DOMINGO CRUZ VALENTIN                        REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  638917 DOMINGO CRUZADO AVILES                       BO OJO DE AGUA           65 CALLE DALIA                                                                     VEGA BAJA            PR         00693
  143495 DOMINGO DAVID PEREZ                          REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  638918 DOMINGO DE JESUS                             P O BOX 21365                                                                                               SAN JUAN             PR         00928

   143496 DOMINGO DE LEON RODRIGUEZ                   REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   638920 DOMINGO DEL VALLE PONCE                     P O BOX 8310                                                                                                BAYAMON              PR         00960‐8310
   143497 DOMINGO DELGADO APONTE                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   638922 DOMINGO DIAZ SANTANA                        82 CALLE CORCHADO                                                                                           CANOVANAS            PR         00729
   638923 DOMINGO DIAZ VIDAL                          U 12 URB VALLE ALTO                                                                                         CAYEY                PR         00736
          DOMINGO DOMINGUEZ
   638925 LAPALMA                                     VILLA DEL MONTE          53 CALLE MONTEREAL                                                                 TOA ALTA             PR         00953
          DOMINGO DOMINGUEZ
   638926 MALDONADO                                   154 CALLE PADRE COLON                                                                                       SAN JUAN             PR         00925

   638927 DOMINGO E HERNANDEZ KING                    LAS GRANJAS              50 CALLE MARCOS LOPEZ                                                              VEGA BAJA            PR         00639
   638928 DOMINGO E MARRERO                           URB MALLORCA             R 25 CALLE TEJAS                                                                   GUAYNABO             PR         00969

   143498 DOMINGO E RIVAS ECHEVARRIA REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          DOMINGO EDUARDO CHICON DE
   143500 PENA                       REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          DOMINGO EMANUELLE
   638929 HERNANDEZ                  PO BOX 2443                                                                                                                  ARECIBO              PR         00613

   638930 DOMINGO ENRIQUEZ GONZALEZ PO BOX 124                                                                                                                    MARICAO              PR         00606

   143502 DOMINGO F ACEVEDO BAYRON                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   638932 DOMINGO FALCON MELENDEZ                     HC 1 BOX 6874                                                                                               AGUAS BUENAS         PR         00703
   638933 DOMINGO FANTAUZZI                           A C GARRAPATAS           PO BOX 10163                                                                       SAN JUAN             PR         00908
   143503 DOMINGO FEBLES CRUZ                         REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   638934 DOMINGO FEBLES GARCIA                       URB LLANOS DEL SUR       25 LAS FLORES                                                                      COTTO LAUREL         PR         00780‐2801
   638935 DOMINGO FELIU ROSADO                        SUITE 343                BOX 7999                                                                           MAYAGUEZ             PR         00681‐7979

   143504 DOMINGO FERNANDEZ DE JESUS REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   638936 DOMINGO FERRER MARQUEZ     HC 2 BOX 11801                                                                                                               LAJAS                PR         00667
          DOMINGO FIGUEROA
   638937 MONTALVO                   URB SAN ANTONIO 140 H6                                                                                                       SABANA GRANDE        PR         00637
   143505 DOMINGO FIGUEROA RIVERA    REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   638940 DOMINGO G MERCADO GOMEZ FAJARDO GARDENS                              563 CALLE ACACIA                                                                   FAJARDO              PR         00738
   143506 DOMINGO G ORAMAS NIVAL  REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   638941 DOMINGO GALARZA VAZQUEZ                     PO BOX 1898                                                                                                 YAUCO                PR         00698
   638942 DOMINGO GALLARDO COLON                      BDA MARIN                182 CALLE 11                                                                       GUAYAMA              PR         00784
   638944 DOMINGO GARCIA BAEZ                         URB LEVITTOWN LAKES DR   18 CALLE LAGO GUAYO                                                                TOA BAJA             PR         00949
   143507 DOMINGO GARCIA DIAZ                         REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   638945 DOMINGO GARCIA FIGUEROA                     HC 3 BOX 14453                                                                                              YAUCO                PR         00698
   638943 DOMINGO GARCIA PACHECO                      HC 1 BOX 7976                                                                                               JUNCOS               PR         00777
   638947 DOMINGO GARCIA RIVERA                       PO BOX 1381                                                                                                 MANATI               PR         00674



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  638948 DOMINGO GARCIA SANTALIZ                      P O BOX 656                                                                                                            ARECIBO              PR         00613
  638949 DOMINGO GARRAFA                              URB LEVITTOWN              HC 13 ELISA TAVAREZ                                                                         TOA BAJA             PR         00949
  143509 DOMINGO GIRAU CRUZ                           REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  638950 DOMINGO GONZALEZ                             AVE LOS PATRIOTAS          149 APARTADO 95                                                                             LARES                PR         00669
  638952 DOMINGO GONZALEZ COTTO                       RR 4 BOX 717                                                                                                           BAYAMON              PR         00956

   143510 DOMINGO GONZALEZ IGLESIAS                   REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   638953 DOMINGO GONZALEZ MARI                       PO BOX 7126                                                                                                            PONCE                PR         00732

   143511 DOMINGO GONZALEZ PERDOMO REDACTED                                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   143512 DOMINGO GONZALEZ RUBERTE                    REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

          DOMINGO GUERRIDO, FELIX                                                35 CALLE JUAN C BORBON STE 67‐
  1419601 SANTO YTORRES CRUZ, ORALYS                  JOSÉ VÉLEZ PEREA           115                                                                                         GUAYNABO             PR         00969‐5375
   638954 DOMINGO GUZMAN CASTRO                       PO BOX 3638                                                                                                            VEGA ALTA            PR         00692‐3638
   638955 DOMINGO HERNANDEZ                           BDA SAN DOMINGO            56 CALLE B                                                                                  CAGUAS               PR         00725
          DOMINGO HERNANDEZ
   638957 CAMACHO                                     PO BOX 741                                                                                                             PUNTA SANTIAGO       PR         00741

   638959 DOMINGO HERNANDEZ CORTES PO BOX 522                                                                                                                                AGUADILLA            PR         00605
          DOMINGO HERNANDEZ
   143513 MARRERO                  REDACTED                                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   638960 DOMINGO HERNANDEZ SOTO   HC 02 BOX 15128                                                                                                                           ARECIBO              PR         00612

   638961 DOMINGO HUERTAS MIRANDA                     URB TIBES                  C 11 CALLE 3                                                                                PONCE                PR         00730
   638962 DOMINGO IRIZARRY IRIZARRY                   PO BOX 561204                                                                                                          GUAYANILLA           PR         00656‐1204
   638963 DOMINGO J GALAN MASSON                      URB SANTA PAULA            42 AVE LAS COLINAS                                                                          GUAYNABO             PR         00969

   638964 DOMINGO J GAUTIER ROMERO                    BO CAPETILLO               1023 CALLE 12                                                                               SAN JUAN             PR         00923

   143515 DOMINGO J GILORMIWI MERLE                   REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   638965 DOMINGO J MARQUES REYES                     2 AVE LAS CUMBRES          APT 514                                                                                     GUAYNABO             PR         00969
   143516 DOMINGO J RIVERA RIVERA                     REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          DOMINGO JUSTINIANO
   638966 JUSTINIANO                                  PO BOX 370                                                                                                             LAS MARIAS           PR         00670
   143518 DOMINGO L LEDUC SANCHEZ                     REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   143519 DOMINGO L TORRES RENTA                      REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   638967 DOMINGO L VELAZQUEZ PEREZ                   HC 09 BOX 1552             BARRIO TIBE SECTOR LA ZARZAZ                                                                PONCE                PR         00731‐9747
          DOMINGO LARACUENTE
   143520 MARTINEZ                                    REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   638968 DOMINGO LEBRON                              HC 1 BOX 3086                                                                                                          MAUNABO              PR         00707
          DOMINGO LORENZO
   638970 HERNANDEZ                                   HC 2 BOX 10705                                                                                                         MOCA                 PR         00676
   638971 DOMINGO LUCIANO MATTEY                      HC 1 BOX 7300                                                                                                          LAJAS                PR         00667
   638972 DOMINGO LUGO TORRES                         HC 763 BOX 3521                                                                                                        PATILLAS             PR         00723
          DOMINGO MALDONADO
   638974 MEDINA                                      HC 1 BOX 23716                                                                                                         VEGA BAJA            PR         00693
          DOMINGO MALDONADO
   143522 RODRIGUEZ                                   REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          DOMINGO MALDONADO
   638975 ROMAN                                       GLORIA MALDONADO (TUTORA) EXT VILLA RICA                    Y35 CALLE 7                                                BAYAMON              PR         00959



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  638976 DOMINGO MARCANO RIOS                         RR 2 BOX 5054                                                                                               CIDRA               PR         00739
  143524 DOMINGO MARIANI ROMAN                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  143525 DOMINGO MARRERO                              REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         DOMINGO MARTINEZ
  143526 VELAZQUEZ                                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  638978 DOMINGO MAS RIVERA                           PO BOX 9024275                                                                                              SAN JUAN            PR         00902‐4275
  638979 DOMINGO MATEO CARRASCO                       HC4 BOX 6171                                                                                                COROZAL             PR         00783
  638980 DOMINGO MATOS PEREZ                          HC 1 BOX 3845                                                                                               UTUADO              PR         00641

   143528 DOMINGO MEDINA MONTANEZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          DOMINGO MELENDEZ
   143529 RODRIGUEZ                                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   143531 DOMINGO MENDEZ ILLAS                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   638982 DOMINGO MILETY REYES                        HC 03 BOX 32649                                                                                             HATILLO             PR         00659
   143533 DOMINGO MILLAN RUIZ                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   638983 DOMINGO MISLA ALDARONDO                     URB CAPARRA TERRACE       1588 CALLE 10 S O                                                                 SAN JUAN            PR         00921
   638984 DOMINGO MOJICA                              P O BOX 84                                                                                                  BAJADERO            PR         00616
   143534 DOMINGO MOLINA LASALLE                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   638985 DOMINGO MOLINA VALENTIN                     HC BOX 5702                                                                                                 SABANA HOYOS        PR         00688

   143535 DOMINGO MONTALVO GUZMAN REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   638986 DOMINGO MONTILLA        PMB 218 P O BOX 2500                                                                                                            TOA BAJA            PR         00951

   638987 DOMINGO MORALES CINTRON                     SECT LAS CUEVAS           RR 2 BOX 5940                                                                     TOA ALTA            PR         00953
   143536 Domingo Morales Pabon                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   143537 DOMINGO MUNIZ COLON                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   143539 DOMINGO N PEREZ PLACER                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   143540 DOMINGO NAZARIO FIGUEROA                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   638992 DOMINGO NIEVES HERNANDEZ                    PO BOX 4221                                                                                                 PUERTO REAL         PR         00740
   143542 DOMINGO NIEVES RIVERA                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   638993 DOMINGO NIEVES SOLER                        PO BOX 4013                                                                                                 VEGA BAJA           PR         00694
   143543 DOMINGO NIEVES VAZQUEZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   143544 DOMINGO NUNEZ PEREZ                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   143545 DOMINGO OLMEDA ROQUE                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   638873 DOMINGO ORTIZ DE JESUS                      SECT LAS ABEJAS           HC 04 BOX 44560                                                                   CAGUAS              PR         00727‐9688
   638995 DOMINGO ORTIZ POGGI                         HC 10 BZN 6756                                                                                              SABANA GRANDE       PR         00637
   143546 DOMINGO ORTIZ PUGGI                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   638996 DOMINGO ORTIZ RIVERA                        URB SAN JOSE              24 CALLE VISTAMAR                                                                 MAYAGUEZ            PR         00680
   638997 DOMINGO ORTIZ ROBLES                        VILLA SULTANITA           885 CALLE 14                                                                      MAYAGUEZ            PR         00680
                                                      DUCASSE 1021 BARRIO SAN
   638999 DOMINGO P PRATO SALINAS                     MARTIN                                                                                                      CORDOVA             CO                      ARGENTINA
   639000 DOMINGO PADRO RIVERA                        URB ALAMAR                G 16 CALLE J                                                                      LUQUILLO            PR         00773

   143548 DOMINGO PAGAN VELAZQUEZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639001 DOMINGO PENA HERNANDEZ                      264 BO ISLOTE II                                                                                            ARECIBO             PR         00612
                                                      521 CALLE BARBE MONTE
   639002 DOMINGO PEREZ ESPINAL                       FLORES                                                                                                      SAN JUAN            PR         00907
                                                      BO.OBRERO 460 TITO
   639003 DOMINGO PEREZ GALAN                         RODRIGUEZ                                                                                                   SAN JUAN            PR         00915
   639004 DOMINGO PEREZ ORTIZ                         LOMAS VERDES              Z 40 AVE NOGAL                                                                    BAYAMON             PR         00956



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  143549 DOMINGO PEREZ SANTIAGO                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   143550 DOMINGO PEREZ Y ALEIDA SOTO REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639005 DOMINGO PICORELLI           LA VILLA DE TORRIMAR                          32 REINA SOFIA                                                                     GUAYNABO            PR         00969

   639006 DOMINGO PILLOT RESTO                        EDIF ASOCIACION DE MAESTROS   452 AVE PONCE DE LEON                                                              SAN JUAN            PR         00918‐3414
   143552 DOMINGO PINERO PEREZ                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   143553 DOMINGO PINTO RODRIGUEZ                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   143554 DOMINGO QUIðONES PEREZ                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   143555 DOMINGO QUILES TORRES                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   143558 DOMINGO QUINONES TORRES                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   143559 DOMINGO R AYALA VELILLA                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639007 DOMINGO RAMOS                               745 AVE BARBOSA INT                                                                                              SAN JUAN            PR         00915
   143560 DOMINGO RAMOS CRUZ                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          DOMINGO RAMOS DBA DR
   143561 OFFICE FURNITURE                            VALLES DE CIDRA # 10                                                                                             CIDRA               PR         00739‐0000
   639009 DOMINGO RAMOS GUZMAN                        URB BELLO HORIZONTE           A 1 CALLE 1                                                                        GUAYAMA             PR         00784
   143562 DOMINGO RAMOS MUNOZ                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   639010 DOMINGO RAMOS RODRIGUEZ                     URB BELLO HORIZONTE           CALLE A 1                                                                          GUAYAMA             PR         00784
          DOMINGO RIOS / GLORIA
   143563 TIRADO                                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639011 DOMINGO RIOS ORTIZ                          RR 1 BOX 10522                                                                                                   OROCOVIS            PR         00720
   639012 DOMINGO RIVERA BARRIOS                      HC 01 BOX 5400                                                                                                   VILLALBA            PR         00766‐9712

   639013 DOMINGO RIVERA CABALLERO                    PO BOX 5803                                                                                                      CAGUAS              PR         00726

   639014 DOMINGO RIVERA CALDERON                     19 COND ALEGRIA SUR APT 102                                                                                      BAYAMON             PR         00957
   639015 DOMINGO RIVERA COLOMER                      URB SANTA ROSA                30 13 AVE MAIN                                                                     BAYAMON             PR         00959
   639017 DOMINGO RIVERA DIAZ                         HC 2 BOX 71095                                                                                                   COMERIO             PR         00782
   639018 DOMINGO RIVERA LABRADOR                     HC 01 BOX 2745                                                                                                   JAYUYA              PR         00664 9704
   639019 DOMINGO RIVERA MARTINEZ                     URB REPARTO ESPINOSA          N 7 CALLE 2                                                                        YAUCO               PR         00698
   143564 DOMINGO RIVERA RIOS                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639020 DOMINGO RIVERA RIVERA                       HC 71 BOX 3511                                                                                                   NARANJITO           PR         00719
   143566 DOMINGO RIVERA SOTO                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   143567 DOMINGO RIVERA VAZQUEZ                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   143568 DOMINGO ROBERTO ARIAS                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          DOMINGO RODRIGUEZ &
   639023 ASOCIADOS                                   PO BOX 609                                                                                                       CIALES              PR         00638
   639024 DOMINGO RODRIGUEZ AYALA                     RR 04 BOX 126833                                                                                                 TOA ALTA            PR         00953

   639025 DOMINGO RODRIGUEZ CEDEJO                    517 RES PONCE DE LEON                                                                                            PONCE               PR         00717

   639026 DOMINGO RODRIGUEZ COTTO                     BDA POLVORIN                 C 18 CALLE 22                                                                       CAYEY               PR         00736
          DOMINGO RODRIGUEZ LEBRON                    BDA. BLONDET CARR. 3 CALLE 3
   143569 DBA SMART SERV                              CASA 3                                                                                                           GUAYAMA             PR         00784‐0000

   639027 DOMINGO RODRIGUEZ MALAVE 34 AGUACIO                                                                                                                          SAN SEBASTIAN       PR         00665

   639029 DOMINGO RODRIGUEZ PAGAN                     CAPARRA TERRACE               1215 CALLE 2                                                                       SAN JUAN            PR         00921

   639030 DOMINGO RODRIGUEZ RAMIREZ PO BOX 360945                                                                                                                      SAN JUAN            PR         00936



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   639031 DOMINGO RODRIGUEZ RAMOS                     HC 02 BOX 11010                                                                                            YAUCO               PR           00698‐9606
   143570 DOMINGO RODRIGUEZ RUIZ                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   638874 DOMINGO RODRIGUEZ TIRADO                    PO BOX 292                                                                                                 CAYEY               PR           00737

   639032 DOMINGO RODRIGUEZ VAZQUEZ PO BOX 1092                                                                                                                  COAMO               PR           00769
   639033 DOMINGO ROJAS FALCON       HC 2 BOX 17603                                                                                                              RIO GRANDE          PR           00745
   639034 DOMINGO ROMAN              CARR 456 K 14                                                                                                               CAMUY               PR           00627
   639036 DOMINGO ROMAN SUAREZ       HC 2 BOX 5122                                                                                                               GUAYAMA             PR           00784
          DOMINGO ROSADO Y SONIA
   143571 FERNANDEZ LEBRON           REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   639038 DOMINGO RUIZ ALUMINIUM     HC 71 BOX 3670                                                                                                              BAJADERO            PR           00616
   143573 DOMINGO RUIZ CANDELARIA    REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   143574 DOMINGO RUIZ JUSTINIANO    REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          DOMINGO RUIZ ROSADO / PURA
   143575 ENERGIA INC                HC 4 BOX 17568                                                                                                              CAMUY               PR           00627‐9501
   639039 DOMINGO SAEZ SALGADO       BOX 545                                                                                                                     BARRANQUITAS        PR           00794

   143576 DOMINGO SALICRUP DE JESUS                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   143577 DOMINGO SANABRIA LOZADA                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   639040 DOMINGO SANCHEZ                             CAPARRA TERRACE        1148 CALLE 30 SE                                                                    SAN JUAN            PR           00921
   639041 DOMINGO SANCHEZ RIVERA                      URB ROOSVELT           376 AVE JUAN A DAVILA                                                               SAN JUAN            PR           00918

   143578 DOMINGO SANTANA CORDERO                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   639042 DOMINGO SANTANA PAGAN                       PO BOX 529                                                                                                 MARICAO             PR           00606

   639044 DOMINGO SANTIAGO GENARO                     PO BOX 6315                                                                                                CAGUAS              PR           00726

   639046 DOMINGO SANTIAGO LEBRON                     HC 2 BOX 3563                                                                                              MAUNABO             PR           00707
   639047 DOMINGO SANTIAGO RUIZ                       BO GUAMA               HC 01 9717 BOX 8980                                                                 SAN GERMAN          PR           00683
   639048 DOMINGO SANTIAGO TORRES                     URB EL COMANDANTE      871 CALLE MARIA GIUSTI                                                              SAN JUAN            PR           00924
   639049 DOMINGO SANTO DOMINGO                       PO BOX 347                                                                                                 OROCOVIS            PR           00720
          DOMINGO SANTOS RAFAEL
   143579 PAGAN PEDRO PAGAN                           REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   143580 DOMINGO SANTOS SANTOS                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   143581 DOMINGO SEGUINOT MELENDEZ REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                    URB LIRIOS DEL SUR CALLE 2 A‐
   639051 DOMINGO SILVA ORTIZ       26                                                                                                                           PONCE               PR           00731

   639052 DOMINGO SOLIVAN ALMEDINA                    HC 02 BOX 7531                                                                                             SALINAS             PR           00751‐9743
          DOMINGO T ORTIZ / MULTI
   143584 CENTRO                                      1 A MUNOZ RIVERA                                                                                           BARRANQUITAS        PR           00794
   639054 DOMINGO TORRES BAEZ                         BO CLAUSELL            40 CALLE 8                                                                          PONCE               PR           00731
   143586 DOMINGO TORRES LOPEZ                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   143587 DOMINGO TORRES NEGRON                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   639055 DOMINGO TORRES RIVERA                       BO OBRERO              726 CALLE BRAZIL                                                                    SAN JUAN            PR           00915
   639056 DOMINGO TORRES TORRES                       RR4 BOX 3093                                                                                               BAYAMON             PR           00956
   143590 DOMINGO UBIERA MONTERO                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   639058 DOMINGO VARGAS GONZALEZ                     HC 58 BOX 15087                                                                                            AGUADA              PR           00602
   639059 DOMINGO VARGAS PEREZ                        PO BOX 2153                                                                                                MOCA                PR           00676



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  639060 DOMINGO VAZQUEZ LOPEZ                        URB BONKERS                  619 CALLE LAS FLORES 2                                                               CAGUAS              PR           00725

   143592 DOMINGO VAZQUEZ RAMIREZ                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   639061 DOMINGO VAZQUEZ VICENTE                     HC 02 BOX 4890                                                                                                    GUAYAMA             PR           00784
   143593 DOMINGO VEGA QUINONES                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   639063 DOMINGO VEGA TIRADO                         PO BOX 940                                                                                                        TOA BAJA            PR           00951

   639065 DOMINGO VELAZQUEZ MORALES BO TIBES SECTOR LA ZARZA                       KM 8.2                                                                               PONCE               PR           00731
          DOMINGO VELAZQUEZ/ESSO
   639066 SANTIAGO IGLESIA          URB SANTIAGO IGLESIAS                          1421 AVE PAZ GRANELA                                                                 SAN JUAN            PR           00921
   639067 DOMINGO VELEZ QUI¥ONES    HC‐02 BOX 8071                                                                                                                      JAYUYA              PR           00664
   638875 DOMINGO VILLAFA¥A MATOS   HC 866 BOX 8727                                                                                                                     FAJARDO             PR           00738
   143594 DOMINGO VILLAFANE RESTO   REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   143600 DOMINGUEZ AUTO SALES INC  PO BOX 29656                                   65TH INFANTERIA STA                                                                  SAN JUAN            PR           00929
          DOMINGUEZ CALDERON,
   143614 JACQUELINE                REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          DOMINGUEZ CARMONA,
   143617 MAXIMINA                  REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   143625 DOMINGUEZ CAY MD, VICTOR A REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          DOMINGUEZ DE LA CRUZ, ANGEL
   143649 M.                          REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          DOMINGUEZ MIRANDA MD,
   143724 CARLOS E                    REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          DOMINGUEZ PASCUAL MD,
   143757 MARIA S                     REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          DOMINGUEZ PASCUAL MD,
   143758 MILDALIA                    REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

  1419602 DOMINGUEZ RODRIGUEZ, LOIDIS GABRIEL J. TAMAYO PÉREZ     PO BOX 1466                                                                                           MAYAGÜEZ            PR           00681
          DOMINGUEZ ROMERO MD,
   143816 ANTONIO                     REDACTED                    REDACTED                                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                      JAIME A. PICÓ MUÑOZ
                                      ASOCIACIÓN DE EMPLEADOS DEL
  1419603 DOMINGUEZ SÁNCHEZ, LEILA    ELA DE PR (AEELA)           PO BOX 70199                                                                                          SAN JUAN            PR           00936‐8190
  1419604 DOMINGUEZ, DANNY            HERIBERTO GUIVAS LORENZO    HC‐03 BOX 39605                                                                                       AGUADA              PR           00602
  1419605 DOMINGUEZ, DANNY            HERIBERTO GUIVAS LORENZO    HC‐03 BOX 39605                                                                                       AGUADA              PR           00602
   639069 DOMINGUITO ESSO SERVICE     PO BOX 141449                                                                                                                     ARECIBO             PR           00614

   639070 DOMINGUITO SERVICE STATION                  PO BOX 141449                                                                                                     ARECIBO             PR           00614‐1449
          DOMINIC A FRANCESCHINI
   143893 RAMOS                                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   143894 DOMINIC MORALES CRUZ                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   639072 DOMINIC VALLEJO CHARDON                     URB JARDINES DEL CARIBE      GG 10 CALLE 33                                                                       PONCE               PR           00728‐2610
   639074 DOMINICA PENA BARBOSA                       RIO HONDO 410                CALLE MAXIMINIO BARBOSA                                                              MAYAGUEZ            PR           00688
          DOMINICA PIMENTEL DE                        NEG . ASISTENCIA CONTRIB Y   AUDITOR EN CONTR.‐AUTO
   639076 SILVERIO                                    LEGISLACI                    PRIVADO                   2077779 EXP.13‐JUL‐2008                                    SAN JUAN                         00902
          DOMINICANA AGUEDA
   639077 MARTINEZ                                    URB FAIR VIEW                M 1 CALLE 21                                                                         SAN JUAN            PR           00926‐8113
          DOMINICANA RODRIGUEZ
   639078 SEPULVEDA                                   VILLALBA CAROLINA            CALLE 87 BLOQ 77 ‐ 23                                                                CAROLINA            PR           00985
          DOMINICANA T GENAO
   770460 MERCADO                                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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   639079 DOMINICCI CASTILLOALEXANDRA HC‐01 BOX 6842                                                                                                                 GUAYANILLA           PR           00656
   143930 DOMINICK CINCOTTA           REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          DOMINICK DOEL ROSARIO
   143931 TORRES                      REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   639080 DOMINICK PILLOT LOPEZ       URB CAMINO DEL SOL                        414 CALLE CAMINO REAL                                                                VEGA BAJA            PR           00693
   639081 DOMINICK TORRES SANCHEZ     URB ALTAMIRA                              510 CALLE SIRIO                                                                      SAN JUAN             PR           00920
   143932 DOMINIK WIRZ VOLK           REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          DOMINION PSYCHIATRIC
   143933 ASSOCIATES                  RELEASE OF INFORMATION                    2580 POTTERS ROAD                                                                    VIRGINIA BEACH       VA           23454
          DOMINION VOTING SYSTEMS
   143934 CORPORATION                 ORIENTAL CENTER SUITE P1                  254 MUNOZ RIVERA AVENUE                                                              SAN JUAN             PR           00918
          DOMINIQUE A GILORMINI DE
   143935 GRACIA                      REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   639082 DOMINIQUE GILORMINI MERLE                   PO BOX 598                                                                                                     PATILLAS             PR           00723
   639083 DOMINIQUE J JOSEPH                          10828 NW 2ND AVE                                                                                               MIAMI SHORES         RI           33168
          DOMINIQUE V VANQUATHEM
   639084 GONZALEZ                                    URB VILLA CAROLINA        176‐9 CALLE 441                                                                      CAROLINA             PR           00985‐3501
   639086 DOMINQUEZ CORREA ZOE                        BO TORRECILLA ALTA        NU 15 CALLE 3                                                                        CANOVANAS            PR           00729
   143938 DOMITILA CASTILLO COLLAZO                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   639087 DOMITILA FLORES ROLDAN                      URB SAN ALFONSO           E 5 CALLE MIS AMORES                                                                 CAGUAS               PR           00725
   639088 DOMITILA HERNANDEZ                          HC 2 BOX 12637                                                                                                 AGUA BUENAS          PR           00703

   143939 DOMITILA MONTES DE DUENO                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   143940 DOMITILA RIVERA OLMEDA                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          DOMITILA RODRIGUEZ
   639090 CARABALLO                                   LA MARGARITA              1240 CRITERIO SOMOGANO                                                               PONCE                PR           00728‐2518
   639091 DOMITILIA ORTIZ RODRIGUEZ                   RES LUIS LLORENS TORRES   EDF 102 APT 1947                                                                     SAN JUAN             PR           00913
   143941 DOMNGO PAZ RODRIGUEZ                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   143942 DOMORE PRODUCTIONS LLC                      P O BOX 3963                                                                                                   SAN JUAN             PR           00936‐3963
   639094 DOMYS F SIERRA                              PO BOX 240                                                                                                     SANTA ISABEL         PR           00757
   639095 DON CHILES B B Q                            PO BOX 373231                                                                                                  CAYEY                PR           00737‐3231
   639096 DON CONCE AUTO PARTS                        PO BOX 644                                                                                                     GUAYAMA              PR           00785

   143943 DON EDWARD WALICEK LINDLEY REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   143945 DON GIL BODY SHOP          HC 04 BOX 46683                                                                                                                 CAGUAS               PR           00727
   639097 DON HESS II INC            2395 PONCE BY PASS                                                                                                              PONCE                PR           00731
   639098 DON MANOLO RIVERA          PO BOX 916                                                                                                                      NARANJITO            PR           00719
   639099 DON MANUEL AUTO            PO BOX 1173                                                                                                                     HORMIGUEROS          PR           00660
   639100 DON PEDRO RESTAURANT       PO BOX 346                                                                                                                      SAN GERMAN           PR           00683‐0346
   639101 DON QUIJOTE BAKERY         BO GUASIMAS                                CARR 3 KM 131 4                                                                      ARROYO               PR           00714
   639102 DON RODRIGO PRODUCTION     227 RODRIGO DE TRIANA                                                                                                           SAN JUAN             PR           00918
   143946 DONA LAURA CATERING        HC 33 BOX 5018                                                                                                                  DORADO               PR           00646
   143947 DONA LUZ CATERING          PO BOX 927                                                                                                                      ISABELA              PR           00662
          DONA YIYA FOODS INC/ GREEN
   143948 SOLAR PR COM               PO BOX 1623                                                                                                                     SAN SEBASTIAN        PR           00685

   143950 DONALD A COLON RODRIGUEZ                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   143951 DONALD BORRAS                               REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   639104 DONALD CINTRON                              PO BOX 6443                                                                                                    SAN JUAN             PR           00914
   639105 DONALD COLON RIVERA                         BO CERRILLO               CARR 311 CALLE 6 INT                                                                 CABO ROJO            PR           00623
   639106 DONALD DEVINE INC                           919 PRINCE ST                                                                                                  ALEXANDRIA           VA           22314



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                                                      7609 BUSINESS PARK DRIVE
   639107 DONALD ETHERINGTON                          GREENSBORO                                                                                                            NORTH CAROLIN       NC           27409
   143953 DONALD F DEXTER COBIAN                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   143954 DONALD F. DEXTER COBIAN                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   639108 DONALD J ELDER WALKER                       URB SAN GERARDO              314 NEVADA                                                                               SAN JUAN            PR           00926‐3307
   639109 DONALD L FRANTZ                             42 URB TROPICAL BEACH                                                                                                 NAGUADO             PR           00718 2705
   639110 DONALD L SCHMID                             930 N 8TH STREET                                                                                                      BISMARK             ND           58501

   639111 DONALD MANGUAL VELEZ                        CLINICA LAS AMERICAS         400 AVE ROOSEVELT OFIC 512                                                               SAN JUAN            PR           00919
   639112 DONALD MITZEL                               NEW YORK STATE DEC           270 MICHIGAN AVENUE                                                                      BUFFALO             NY           14203
   143955 DONALD R BRESKY                             REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   143956 DONALD R PFENDLER WESSEL                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   143957 DONALD R SEELEY                             REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   639113 DONALD RANVAUD                              BUENA ONDA LTD               3ER FLOOR 1 A A DPAR STREET                                                              LONDRES             DE           W2 1          UNITED KINGDOM
   143959 DONALD RIVERA MARTIN                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   639114 DONALD SANCHEZ LOPEZ                        404 RODRIGO DE TRIANA                                                                                                 SAN JUAN            PR           00918‐2602
   639115 DONALD SUTLIFF SANTIAGO                     PO BOX 5                                                                                                              MERCEDITA           PR           00715
                                                      UNITED STATED GENERAL
   639116 DONALD WHEELER                              ACCOUNTING                                                                                                            WASHINGTON          DC           20548
   639117 DONAS CASERAS                               53 GARRIDO MORALES                                                                                                    FAJARDO             PR           00738

   143963 DONASENE ALONSO ROBLEDO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   144002 DONATO ALVAREZ RODRIGUEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   144003 DONATO AUTO REPAIR                          260 CALLE PARQUE                                                                                                      SAN JUAN            PR           00925
   144008 DONATO CINTRON, MILTON                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          DONATO DESIGN AND
   144016 DEVELOPMENT GROUP                           CAPARRA HEIGHTS STATION      PO BOX 11976                                                                             SAN JUAN            PR           00922‐1976
          DONATO FERNANDEZ
   144019 FERNANDEZ                                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   639119 DONATO FERNANDO INC                         PO BOX 21076                                                                                                          SAN JUAN            PR           00928‐1076
   144037 DONATO PEREZ MORENO                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   639120 DONATO RIVERA PEREZ                         BO LAS MONJAS                94 CALLE POPULAR                                                                         SAN JUAN            PR           00917

   144064 DONATTO CRUZ MD, HECTOR E                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          DONDESILO FIGUEROA
   144065 MALDONADO                                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   144071 DONELL FLORES MERCADO                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   144076 DONES ANDEX, CASUL                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          DONES PIÑERO, MICHAEL Y
          DONES TOLEDO, MIGUEL A;
          COOPERATIVA DE SEGUROS
          MULTIPLES DE PR Y POPULAR                   ARMANDO FRANCESCHI           PMB 360 SUITE 216 CALLE
  1419606 AUTO, INC. INC.                             FIGUEROA                     TABONUCO B‐5                                                                             GUAYNABO            PR           00968‐3029
   639121 DONG MEI JI                                 COND TORRE                   274 CALLE URUGUAY APT 906                                                                SAN JUAN            PR           00917
   639122 DONNA FLORES SORVENTINI                     HC 2 BOX 12249                                                                                                        SAN GERMAN          PR           00683
                                                      46136 MILLSTONE LANDING
   639124 DONNA L CRUZ                                ROAD                                                                                                                  LEXINGTON PARK      MD           20653

   639126 DONNA LINDERMANN                            ONE FAWCETT PLACE 3RD FLOOR                                                                                           GREENWICH           CT           06830
   144229 DONNA M CLEMENT CHACON                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   639127 DONNA SANTIAGO ACEVEDO                      URB LEVITTOWN               R 55 CALLE LUZ ESTE                                                                       TOA BAJA            PR           00949



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                                                      US DISTRICT COURT/CLERK'S    CHARDON AVE 150 CHAMBERS
   639128 DONNA W DRATWA                              OFFC                         JUDGE DA D                                                                               SAN JUAN             PR           00918

   144230 DONNAVAN SANTOS MARTINEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   144232 DONNY ACEVEDO MENDEZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   144233 DONNY FAY MORA                              REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   144234 DONNY H TORRES ORTIZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   144235 DONNY RAMOS VEGA                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   639130 DONOSTIA SA LTD                             P O BOX 27740                                                                                                         LAS VEGAS            NV           89126
                                                      1785 MASSACHUSETTE AVENUE
   639131 DONOVAN RYPKEMA                             NW                                                                                                                    WASHINGTON           WA           20036
          DONOWA ENCARNACION,
   144237 LOURDES                                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   144239 DONOWAN A ARIAS GONZALEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   144240 DONSHIK MD, JON                             REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   639132 DONYBEL MORALES DIAZ                        HC BOX 4741                                                                                                           HATILLO              PR           00659
                                                                                   PO BOX 3999 INSTITUCIÓN 304
  1419607 DONZALEZ MILLAN, DAVID                      SR. DAVID GONZÁLEZ MILLÁN    GUERRERO GALERA G‐2                                                                      AGUADILLA            PR           00603

   144242 DOOR MANUFACTURING CORP                     EL SENORIAL MALL STATION     BOX 467                                                                                  SAN JUAN             PR           00926
   639133 DOORMATIC INC                               PO BOX 2981 MARINA STA                                                                                                MAYAGUEZ             PR           00681
   144243 DOORMATIC, INC.                             P.O. BOX 2981                                                                                                         MAYAGUEZ             PR           00681
   144244 DOP PRUDUCTIONS INC                         335 N MAPLE DR STE 353                                                                                                BEVERLY HILLS        CA           90210
   144245 DOR I OLMEDO RIVERA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   144246 DOR MARIE ARROYO CARRERO                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   144247 DORA A APONTE ROSADO                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   144248 DORA A LEBRON FIGUEROA                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   144249 DORA A MARTINEZ PROSPER                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   639135 DORA A MONTES MELENDEZ                      D 8 ALTURAS DE CIALES                                                                                                 CIALES               PR           00638
   639136 DORA ALICEA MENDEZ                          RR 3 BOX 4630                CAIMITO BAJO                                                                             RIO PIEDRAS          PR           00926

   639137 DORA ALMESTICA HERNANDEZ                    URB PUERTO NUEVO             NE 345‐2 A CALLE 25                                                                      SAN JUAN             PR           00920
   144250 DORA ALTA FARM INC                          BO GALATEO                   CARR 824 KM 1.8                                                                          TOA ALTA             PR           00954
          DORA CALDERON GONZALEZ &
   639138 NANCY FONSECA                               SIERRA                       P O BOX 1119                                                                             MOROVIS              PR           00687
   144252 DORA CASTILLO ROSARIO                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   639139 DORA CASTRO MARCHAND                        P O BOX 1633                                                                                                          HATILLO              PR           00659
   639140 DORA CINTRON ELICIER                        URB VILLA NEVAREZ 1085 C/1                                                                                            SAN JUAN             PR           00927
   639141 DORA CRUZ VELAZQUEZ                         HC 1 BOX 7495                                                                                                         GUAYNABO             PR           00971
   639142 DORA D DE JESUS MARIANI                     URB LA HACIENDA              A R 12 CALLE PRINCIPAL                                                                   GUAYAMA              PR           00784

   639143 DORA D RODRIGUEZ PACHECO                    PO BOX 346                                                                                                            NARANJITO            PR           00719
   639146 DORA DELGADO PEREZ                          URB SAN IGNACIO 1702         1702 CALLE SAN ESTANISLAO                                                                SAN JUAN             PR           00927
   639147 DORA E FIGUEROA                             JARDINES 1                   J 19 CALLE 15                                                                            CAYEY                PR           00736
   144254 DORA E FONTANEZ                             REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   639148 DORA E GARCIA RODRIGUEZ                     608 COND MILLENNIUM          550 AVE DE LA CONSTITUCION                                                               SAN JUAN             PR           00901
          DORA E MITSUE/ WATANABE
   144256 BAILARTA                                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   144257 DORA E MONT RIVERA                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   639150 DORA E ROMERO SANCHEZ                       PO BOX 1096                                                                                                           PATILLAS             PR           00723



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  144260 DORA E RUIZ ARROYO                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  144261 DORA E SANTIAGO MEDINA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         DORA EIKO M. WATANABE
  144262 BALLANTA                                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  639151 DORA F RODRIGUEZ ZAMORA                      PO BOX 9970                                                                                                         CAROLINA             PR         00988
  144263 Dora González Alvarez                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  144264 DORA H AYALA                                 REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  144265 DORA H. NIEVES BONILLA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  144266 DORA HELENA GONZALEZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  639155 DORA I FIGUEROA FIGUEROA                     BO LAPA                     523 SECTOR MATEY                                                                        SALINAS              PR         00751
  639156 DORA I LOPEZ                                 PO BOX 21365                                                                                                        SAN JUAN             PR         00928‐1365
  144267 DORA I RAMOS BUSIGO                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  639159 DORA J CEPEDA                                URB COUNTRY CLUB            HR2 CALLE 220 3RA EXT                                                                   CAROLINA             PR         00982
  639161 DORA L MONSERRATE                            PO BOX 190998                                                                                                       SAN JUAN             PR         00919‐0998
  639162 DORA L RIVAS HERNANDEZ                       HC 2 BOX 48180                                                                                                      VEGA BAJA            PR         00693
  144270 DORA L. ESCOBAR ORTIZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  639164 DORA L. PASTRANA RIOS                        C.S.M. BAYAMON                                                                                                      Hato Rey             PR         00936
  639165 DORA LEE PEREZ DE JESUS                      PO BOX 7121                                                                                                         OROCOVIS             PR         00720
  144271 DORA LOPEZ DIAZ                              REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  639166 DORA LUNA VAZQUEZ                            448 CALLE CONSTANCIA                                                                                                PUERTO NUEVO         PR         00920
  639167 DORA LUZ PEREZ SANTOS                        P O BOX 36                                                                                                          JAYUYA               PR         00664
  639168 DORA M ABREU VIGO                            PO BOX 381                                                                                                          MAYAGUEZ             PR         00681‐0381
         DORA M BERTRAN
  144272 PENAGARICANO                                 REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   144273 DORA M CASTELLANO MARTINEZ REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   639169 DORA M MEDINA ROLDAN       URB NUEVO SAN ANTONIO                        311 CALLE AGUACATE                                                                      AGUADILLA            PR         00690

   639170 DORA M PE¥AGARICANO SUAREZ URB VILLA CAPARRA                            K 19 CALLE K                                                                            GUAYNABO             PR         00966‐2304
   639171 DORA M PEREZ IRIZARRY      TERR DEL TOA                                 3L 5 CALLE 32                                                                           TOA ALTA             PR         00953
   144275 DORA M RODRIGUEZ RAMOS     REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   144276 DORA M. BEREGUER MACAYA    REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   144277 DORA MED MEDICAL OFFICE    RR BUZON 7447                                                                                                                        TOA ALTA             PR         00953
   639172 DORA MIRAYES CARRION       PTA TIERRA                                   COND LAS ACACIAS APT B 505                                                              SAN JUAN             PR         00901
   144278 DORA N CANINO VINALES      REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   639174 DORA O'NEILL ROSARIO                        URB REPARTO METROPOLITANO   1107 CALLE 56 SE                                                                        SAN JUAN             PR         00925
   639175 DORA ORTIZ PRADO                            URB MILAVILLE               173 CALLE PAJUIL                                                                        SAN JUAN             PR         00926
   639176 DORA PAGAN SOTOMAYOR                        35 LINEAS ARENAS                                                                                                    UTUADO               PR         00641
   144280 DORA RIVERA ROSA                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   144282 DORA RODRIGUEZ AYALA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   144283 DORA S QUINONEZ ALVAREZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   144284 DORA VAZQUEZ SOTO                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   639179 DORA VELAZQUEZ DE MATOS                     P O BOX 876                                                                                                         GUAYNABO             PR         00969
   144285 DORA VELEZ RODRIGUEZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                      C/ COMERIO 1002
   639180 DORA VERDEJO MANDU                          TRANSTAUWERS                                                                                                        SAN JUAN             PR         00907
          DORA ZENO CABRERA DE
   144286 MIRANDA                                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          DORAB SECURITY Y/O DORIS E
   144287 PAMBLANCO                                   COND MIRAMAR TOWER          8 J 721 CALLE HERNANDEZ                                                                 SAN JUAN             PR         00907
   144288 DORADO ACADEMY, INC.                        PO BOX 969                                                                                                          DORADO               PR         00646
   639182 DORADO AIR POWER                            PO BOX 2057                                                                                                         VEGA ALTA            PR         00692



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  144291 DORADO BEACH HOTEL CORP                      P O BOX 157                                                                                                        DORADO               PR           00646

   144292 DORADO BEACH RESORT & CLUB 500 PLANTATION DRIVE STE 1                                                                                                          DORADO               PR           00646

   144293 DORADO COMMUNITY HEALTH                     PO BOX 419                                                                                                         VEGA ALTA            PR           00692
          DORADO COMMUNITY HEATLH,
  1256421 INC.                                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          DORADO DEL MAR ESTATES
   144295 HOMEOWNERS ASOC            PO BOX 803                                                                                                                          DORADO               PR           00646
   144296 DORADO DREAMS VILLAGE      PO BOX 359                                                                                                                          DORADO               PR           00646
   639186 DORADO GOLF                URB CHALET DE DORADO                      200 DORADO DEL MAR GC                                                                     DORADO               PR           00646
   144297 DORADO HEALTH CENTER       PO BOX 1142                                                                                                                         MANATI               PR           00674
                                     PABELLON RAFAEL HERNANDEZ
   144298 DORADO MEDICAL COMPLEX INC CO                                        349 CALLE MENDEZ VIGO STE 10                                                              DORADO               PR           00646
   639187 DORADO MUFFLER             PO BOX 1032                                                                                                                         DORADO               PR           00646‐1032
   639188 DORADO SALES CORP          P O BOX 705                                                                                                                         DORADO               PR           00646

   639189 DORADO SERV STA/METRO GULF PMC SUITE 119                             B 2 CALLE TABONUCO                                                                        GUAYNABO             PR           00968‐3004
   639192 DORADO SERVICE STATION     P O BOX 1022                                                                                                                        DORADO               PR           00646
   144301 DORADO SHELL               REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          DORADO SHELL SERVICE
   639195 STATION                    PO BOX 701                                                                                                                          DORADO               PR           00646
          DORADO SHOPPING CENTER
   144303 DEVELOPMENT CO             444 CALLE CESAR GONZALEZ                                                                                                            SAN JUAN             PR           00918‐2629
   639196 DORADO TRAVEL & TOUR       VALLE ARRIBA HEIGHTS                      A B 19 AVE MONSERRATE                                                                     CAROLINA             PR           00980
   144304 DORADO UNIFORMS            REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   144305 DORADO VOLI CLUB INC       DORADO DEL MAR                            A 7 MADRE PERLA                                                                           DORADO               PR           00646

   639197 DORAIDA N CABRERA SANCHEZ                   PUERTO NUEVO             308 CALLE 13                                                                              SAN JUAN             PR           00936
   639198 DORAIDA PADIAS PELLOT                       21 CALLE GEMINIS                                                                                                   VEGA BAJA            PR           00693
   144306 DORAIDA RIVERA RIVERA                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   144307 DORAIDA ROSARIO SOLER                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   144308 DORAIMA DIAZ VARGAS                         REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   639201 DORAIMA RIVERA                              VILLAS DE CARRAIZO       RR7 BOX 358                                                                               TRUJILLO ALTO        PR           00926
   144309 DORAIMA SOLIS DIAZ                          REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   639202 DORAIN MARCANO CRUZ                         VILLA JUSTICIA           M 23 CARRETERA ESTATAL                                                                    CAROLINA             PR           00985
   144310 DORAIZA N BIRRIEL RAZUOS                    REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   144311 DORAL BANK                                  DORAL BANK PLAZA                                                                                                   SAN JUAN             PR           00969‐0000
          DORAL FINANCIAL
   144314 CORPORATION                                 ROOSEVELT AVE 1451 FD                                                                                              SAN JUAN             PR           00920
   639203 DORAL MORTGAGE                              1451 FD ROOSEVELT AVE                                                                                              SAN JUAN             PR           00920‐2717
          DORAL MORTGAGE
   639207 CORPORATION                                 P O BOX 13988                                                                                                      SAN JUAN             PR           00908‐3988
          DORAL RESORT AT PALMAS DEL
   144315 MAR                                         ATTN: EXECUTIVE OFFICE   170 CANDELERO DRIVE                                                                       HUMACAO              PR           00792
   144316 DORALDINA CORIANO BAEZ                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   639211 DORALIA COTTO RIOS                          URB LEVITTOWN            SECC OESTE AN 58 CALLE LYDIA                                                              TOA BAJA             PR           00949
   144317 DORALIA SIERRA GARCIA                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   144318 DORALICE LUGO PEREZ                         REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   639212 DORALICE MATTA                              VILLAS DE RIO GRANDE     V36 CALLE 11                                                                              RIO GRANDE           PR           00745
   144319 DORALICE SERRANO DIAZ                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   639213 DORALINDA MATOS FELIZ                       HC 01 BOX 7415                                                                                                     GUAYANILLA           PR           00656



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          DORALIS CALDERON
   639214 MALDONADO                                   URB TOA ALTA HEIGHTS        L 11 CALLE 9                                                                               TOA ALTA            PR           00953

   639215 DORALIS GONZALEZ BERMUDEZ                   HC 3 BOX 7504                                                                                                          COMERIO             PR           00782
   144320 DORALIS J AYALA SKERRET                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   144321 DORALIS J. AYALA SKERRETT                   REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   144322 DORALIS MUNOZ ROMAN                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   144324 DORALIS RIVERA TORRES                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   144325 DORALIS SANTANA NAVEDO                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          DORALIS VEGA / ALICIA RUIZ
   639216 MARTELL                                     LAS MONJAS                  94 CALLE PEPE DIAZ                                                                         SAN JUAN            PR           00917
   639217 DORALISSE SOTO SOTO                         URB SANTA ROSA              28‐8 CALLE 12                                                                              BAYAMON             PR           00959
   639218 DORALIZ E ORTIZ DE LEON                     HC 63 BOX 3128                                                                                                         PATILLAS            PR           00723

   144326 DORALIZ GONZALEZ GONZALEZ                   REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   144327 DORALIZ HERNAINZ OCASIO                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   144328 DORALIZ ORTIZ REYES                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   144329 DORALIZ PEREZ SIERRA                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   639219 DORALIZ SUAREZ CALDERON                     PO BOX 1114                                                                                                            MOROVIS             PR           00687
   144331 DORALYS GOMEZ LANGE                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   144332 DORALYS LEON ZAYAS                          REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   144333 DORALYS MARTIR SANCHEZ                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   144334 DORALYS SANTANA TORRES                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   639221 DORAMELIA PAGAN DE LASTRA                   URB COUNTRY CLUB            909 CALLE SINSONTE                                                                         SAN JUAN            PR           00924
   639222 DORAS STORE                                 14 CALLE 4 DE JULIO                                                                                                    OROCOVIS            PR           00720
   639223 DORASOL LABORATORIES                        PO BOX 3906                                                                                                            SAN JUAN            PR           00936

   639224 DORAYMA I GONZALEZ RIVERA                   PO BOX 6881                 HC 7 BOX 64                                                                                PATILLAS            PR           00723
   144337 DORAYMA ROMAN MARQUEZ                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   639225 DORCA ACOSTA ORTIZ                          PO BOX 961                                                                                                             LAJAS               PR           00667
   144338 DORCA DELGADO AGOSTO                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   639226 DORCA DIAZ DELGADO                          HC 03 BOX 40                                                                                                           CAGUAS              PR           00725

   639227 DORCA E MERCADO                             BO MIRADERO                 SECTOR PUERTO REAL 15 CALLE 1                                                              CABO ROJO           PR           00623
          DORCA I CONCEPCION
   144340 ALEJANDRO                                   REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   639228 DORCA I CRUZ ESTRELLA                       COND COLUMBIA PLAZA APT 103                                                                                            SAN JUAN            PR           00928
   639229 DORCA I MERCADO CRUZ                        URB CAMPANILLA              D 16 CALLE EURO                                                                            TOA BAJA            PR           00949
   639231 DORCA I VAZQUEZ                             PO BOX 90000 PMB 3036                                                                                                  COROZAL             PR           00783
   144341 DORCA M. FLORES CASTRO                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          DORCA MARIA ROMERO
   144342 VISARDEN                                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   639232 DORCA NUNEZ BURGO                           RES SAN JUAN PARK           EDF M APT 2                                                                                SAN JUAN            PR           00915
   639233 DORCA ORTIZ GARCIA                          HC 01 BOX 9508                                                                                                         TOA BAJA            PR           00949
   639234 DORCA RAMIREZ CRUZ                          URB VALENCIA                360 CALLE GUIPUZCOA                                                                        SAN JUAN            PR           00929
   639235 DORCA RAMOS CARDONA                         RES LUIS LLOREN TORRES      EDIF 75 APT 1424                                                                           SAN JUAN            PR           00913
   144343 DORCA RODRIGUEZ                             REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   639236 DORCAS A GUZMAN LOZADA                      PO BOX 267                  CAMINO ALEJANDRINO                                                                         GUAYNABO            PR           00969
   639237 DORCAS BURGOS RAMOS                         BO SAN ISIDRO               26 CALLE 12                                                                                CANOVANAS           PR           00729

   639238 DORCAS CIRINO CARRASQUILLO HC 1 BOX 4653                                                                                                                           LOIZA               PR           00772



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  144344 DORCAS DE LA CRUZ                            REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         DORCAS DELGADO / SUCN
  639239 ILUMINADO DELGADO                            EL ROSARIO I                  B 27 CALLE C                                                                      VEGA BAJA            PR         00693
  639240 DORCAS ERAZO RODRIGUEZ                       RR 03 BOX 10446‐7                                                                                               TOA ALTA             PR         00953
  639241 DORCAS FERRER                                3 CALLE FRANCISCO SOSTRE                                                                                        YABUCOA              PR         00767
         DORCAS GONZALEZ
  639243 ENCARNACION                                  ROUND PARK                    477 N COLONY PR                                                                   ILLINOIS             IL         60073

   639245 DORCAS HERNANDEZ MARTINEZ PO BOX 1761                                                                                                                       UTUADO               PR         00641
   639246 DORCAS I MATOS ESTRADA    BO DAGUAO BOX 120 B                                                                                                               NAGUABO              PR         00718
          DORCAS IRIS SURILLO
   639247 BETANCOURT                PARQUE ECUESTRE                                 A C 4 CALLE 30                                                                    CAROLINA             PR         00987

   144346 DORCAS MARTINEZ MELENDEZ                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   639248 DORCAS MELENDEZ TORRES                      PO BOX 7432                                                                                                     CAROLINA             PR         00986
   144347 DORCAS OTERO MIRANDA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   639249 DORCAS POLANCO GALINDEZ                     HC 71 BOX 5631                                                                                                  CAYEY                PR         00736
   639250 DORCAS RIVERA GONZALEZ                      P O BOX 3195                                                                                                    CAROLINA             PR         00984
   144348 DORCAS RIVERA RIVERA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   639253 DORCAS SANCHEZ BERBERENA                    HC 1 BOX 4219                                                                                                   NAGUABO              PR         00718
   639254 DORCAS T BELTRAN LUGO                       BO DAGUAO BOX 545                                                                                               NAGUABO              PR         00718
   639255 DORCAS VILLEGAS LIND                        HC 1 BOX 3570                                                                                                   LOIZA                PR         00772
   639256 DOREDMAR CATERING                           APARTADO 394                                                                                                    YABUCOA              PR         00767
   639257 DOREEN B SOTO GONZALEZ                      BO CUBA                       335 CALLE BARBOSA                                                                 MOCA                 PR         00676
   144349 DOREEN HEMLOCK                              REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   144350 DOREEN M COLON CAMACHO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   639258 DOREEN MARTINEZ FUENTES                     843 CYPRESS PARKWAY 144                                                                                         KISSIMMEE            FL         34759
   144353 DOREEN RIVAS MEDINA                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   639260 DORELIS TORRES FONSECA                      PO BOX 1166                                                                                                     GURABO               PR         00778
   639261 DORELIS VILLALONGO MARIN                    PO BOX 2029                                                                                                     RIO GRANDE           PR         00745
   144355 DORELIS Y PETIT GARMENDIA                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   144356 DOREYNA RAMOS MORALES                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   639263 DORGAS CARRERAS SANTIAGO                    U 126 A URB JOSE MERCADO                                                                                        CAGUAS               PR         00725

   144357 DORHILMARIE MOLINA BRUNO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   144358 DORHMA I RODRIGUEZ SANCHEZ REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   144359 DORI A SANTOS MENDEZ       REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   639264 DORIA A MARTINEZ GUZMAN    HC 02 BOX 13435                                                                                                                  AGUAS BUENAS         PR         00703‐9606
   144360 DORIAL ESCALERA            REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   144362 DORIAM RAMOS SUAREZ        REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          DORIAN A RAMIREZ
   639265 GARRASTEGUI                URB ALTAMIRA                                   BZN 222                                                                           LARES                PR         00669
   144363 DORIAN G VAN BRAKLE        REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   144364 DORIAN HERNANDEZ TORRES    REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   144366 DORIAN J LOPEZ LEON        REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   639267 DORIAN L CASTRO SANCHEZ    P O BOX 444                                                                                                                      YABUCOA              PR         00767
   639268 DORIAN LOPEZ               LA VILLA DE TORRIMAR                           313 CALLE REY FELIPE                                                              GUAYNABO             PR         00967

   639269 DORIAN LUGO BERTRAN                         1359 CALLE LUCCHETTI APTO 2                                                                                     SAN JUAN             PR         00907



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  144367 DORIAN M BAUTISTA VELA                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  144368 DORIAN MAESTRE SOTO                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  639270 DORIANA ORTIZ RAMIREZ                        396 VALLE DE TORRIMAR                                                                                         GUAYNABO          PR         00906‐8708
  144369 DORIANE MALAVE SANTIAGO                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  144370 DORIANN BENABE RIVERA                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   144371 DORIANN I RAMIREZ SANCHEZ                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   144372 DORIANN SANCHEZ GONZALEZ                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144374 DORIANN TRABAL RIOS                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   144375 DORIBEL RODRIGUEZ BURGOS                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   144377 DORIBEL SEPULVEDA SANCHEZ                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144378 DORICEL AYALA SANTIAGO                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   639273 DORIDES ALTAGRACIA MORETA                   PO BOX 361575                                                                                                 SAN JUAN          PR         00936
   144380 DORIEL RAMOS MATTEI                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144381 DORILIA ORTEGA VAZQUEZ                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144382 DORILIZ BERRIOS GUZMAN                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144383 DORILUZ AMADOR SANTIAGO                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   144384 DORILUZ GONZALEZ FONSECA                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144385 DORIMAR DEL RIO VELEZ                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   639274 DORIMAR MORALES MARTINEZ                    112 CALLE SAN SEBASTIAN   APT 2‐1                                                                             SAN JUAN          PR         00901
   144386 DORIMAR ORTIZ RENTAS                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144387 DORIMAR REYES DIAZ                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          DORIMAR RODRIGUEZ
   144388 MALDONADO                                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639275 DORIMAR VARGAS TORRES                       HC 1 BOX 7576                                                                                                 LAJAS             PR         00667
   639276 DORINA MATOS                                URB EL PARAISO            1570 CALLE PARANA                                                                   SAN JUAN          PR         00926
   639277 DORINDA MORALES MEJIAS                      F 21 VILLA CONTESA                                                                                            BAYAMON           PR         00959
   144389 DORINDA SOTO CHAVEZ                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639278 DORIS A CAJIGAS ROSARIO                     URB VISTA VERDE 24                                                                                            CAMUY             PR         00627‐3304
   639279 DORIS A GOMEZ FLORES                        URB VILLA DEL REY         K 7 CALLE KENT                                                                      CAGUAS            PR         00725
   144391 DORIS A GONZALEZ BRAVO                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144392 DORIS A HERNANDEZ GARCIA                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144394 DORIS A LUGO CORREA                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144395 DORIS A MEJIAS MONTALVO                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144396 DORIS A MENDEZ SUAREZ                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639281 DORIS A RAMIREZ                             PO BOX 766                                                                                                    GUAYNABO          PR         00970
   639282 DORIS A VAZQUEZ MARTINEZ                    BDA P R R A CALLE 2‐33                                                                                        HUMACAO           PR         00972
   144397 DORIS A. MELO MENDOZA                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      BO QUEBRADA CRUZ PARC
   639284 DORIS ACEVEDO GOMEZ                         NUEVAS 274                                                                                                    TOA ALTA          PR         00953
   639286 DORIS ALVARADO                              URB LA MARGARITA          A 28 CALLE C                                                                        SALINAS           PR         00751

   639287 DORIS AURORA DE JESUS ARNAU LA PROVIDENCIA                            3E 10 CALLE 25                                                                      TOA ALTA          PR         00953
   144400 DORIS AVILA ROSA            REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639289 DORIS AYALA HERRERA         VILLA FONTANA 3 NB 1 VIA 61                                                                                                   CAROLINA          PR         00983
   639288 DORIS AYALA RAMOS           URB VISTAMAR                              908 CALLE GOLDEN TOWER                                                              CAROLINA          PR         00983
   639290 DORIS BAEZ DOHNERD          PO BOX 750                                                                                                                    BAYAMON           PR         00960



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  639291 DORIS BAEZ MORALES                           HC 01 BOX 10319                                                                                                 LAJAS             PR         00667
  144401 DORIS BALADEJO VAZQUEZ                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  639292 DORIS BENITEZ RODRIGUEZ                      RES COLUMBUS LANDING       EDIF 10 APT 112                                                                      MAYAGUEZ          PR         00680

   144402 DORIS BETANCOURT FIGUEROA                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          DORIS C BOYER Y VICTOR M
   144403 BOYER                                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144404 DORIS CAJIGAS ROSARIO                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639293 DORIS CARRERO RAMOS                         15 CALLE ENRIQUE SIMON                                                                                          MAYAGUEZ          PR         00680

   639294 DORIS CASTILLO GOMEZ                        URB HACIENDAS DE BORINQUEN 824 CALLE EMAJAGUA                                                                   CAGUAS            PR         00725
          DORIS CATERING /ISMAEL VEGA
   639295 BURGOS                                      HC 01 BOX 3680                                                                                                  LARES             PR         00669
   639296 DORIS CLASS VILLANUEVA                      VILLA FONTANA              3B S 5 VIA 60                                                                        CAROLINA          PR         00983
   639297 DORIS COLON SANTIAGO                        PO BOX 204                                                                                                      GUAYNABO          PR         00970‐0204
   144406 DORIS CRUZ GARCIA                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639299 DORIS CRUZ VAZQUEZ                          PO BOX 1811                                                                                                     TRUJILLO ALTO     PR         00977‐1811
   144407 DORIS D FIGUEROA AVILES                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144408 DORIS D NEGRON QUINONES                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639300 DORIS D TORRES LUGO                         P O BOX 2133                                                                                                    BARCELONETA       PR         00617
   639301 DORIS DEL C. VEGA CINTRON                   PO BOX 393                                                                                                      CEIBA             PR         00736
   144409 DORIS DELGADO ANDINO                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144410 DORIS DIAZ DIAZ                             REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639302 DORIS DIAZ ROMAN                            PO BOX 37530                                                                                                    SAN JUAN          PR         00937
   144411 DORIS DOMINGUEZ CASTRO                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144412 DORIS DROZ LUGO                             REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144413 DORIS E BORRERO TORRES                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144414 DORIS E COLON LASANTA                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639304 DORIS E CORDERO VELEZ                       VILLAS DE PARANA           3 CALLE 3 A S2                                                                       SAN JUAN          PR         00926
   144415 DORIS E DELGADO NAVARRO                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144416 DORIS E GARCIA RODRIGUEZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639306 DORIS E LOPEZ GARCIA                        PO BOX 2525 SUITE SMB 57                                                                                        UTUADO            PR         00641
   144417 DORIS E LUGO RAMIREZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639308 DORIS E MACHIN RIVERA                       PO BOX 957                                                                                                      SAN LORENZO       PR         00754
   144418 DORIS E MARQUEZ PAGAN                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   144419 DORIS E MARQUEZ VELAZQUEZ                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639309 DORIS E MARRERO MERCADO                     BOX 3426                                                                                                        JUNCOS            PR         00777‐2786
   144420 DORIS E MEDINA VILLAREAL                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144421 DORIS E ORTIZ MUNIZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144422 DORIS E RIVERA GARCIA                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639310 DORIS E RIVERA PEREZ                        PMB S73 P O BOX 2500                                                                                            TOA BAJA          PR         00951

   639311 DORIS E RODRIGUEZ HERNANDEZ P O BOX 92                                                                                                                      SABANA SECA       PR         00952
   144423 DORIS E URENA SANCHEZ       REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144424 DORIS E. SANTOS MARRERO     REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639318 DORIS FIGUEROA CARDONA      RES SAN MARTIN                             EDIF 12 APT 142                                                                      SAN JUAN          PR         00924
                                      BO GUADIANA SECTOR LOS
   639320 DORIS FONTANEZ HUERTAS      JUANES                                     BOX 4                                                                                NARANJITO         PR         00719
   639321 DORIS FUENTES AGOSTO        HC 1 BOX 3968                                                                                                                   LOIZA             PR         00772
   144425 DORIS G CORDERO VEGA        REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639323 DORIS G RIVERA ECHEVARRIA   URB MONTECASINO HEIGHTS                    400 CALLE RIO GUAJATACA                                                              TOA ALTA          PR         00953
   144426 DORIS G. MEDINA AGUIAR      REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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                                                                                                                  Scheduled Claimants Service List
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MML ID              NAME                                       ADDRESS 1                       ADDRESS 2                    ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  639324 DORIS GALINDO RAMIREZ                        PO BOX 3020                                                                                                           LAJAS             PR         00667
  639325 DORIS GARCIA GUZMAN                          BO PALO SECO                  BUZON 70                                                                                MAUNABO           PR         00707
  144427 DORIS GOMEZ GONZALEZ                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  639326 DORIS GONZALEZ LUGO                          BOX 1284                                                                                                              SAN GERMAN        PR         00683‐1284
  144428 DORIS GONZALEZ MARENGO                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  639327 DORIS H BREWER MARTINEZ                      COUNTRY CLUB                  HW 19 AVE EL COMANDANTE                                                                 CAROLINA          PR         00985

   639328 DORIS H MEDINA HERNANDEZ                    JARD DEL CARIBE               205 CALLE 15                                                                            PONCE             PR         00728
   639329 DORIS H RUIZ BERMUDEZ                       COND SANTA ANA                1026 CARR 19 APT 12D                                                                    GUAYNABO          PR         00966
   639332 DORIS I ARROYO VELEZ                        HC 2 BOX 14459                                                                                                        CAROLINA          PR         00986
   144429 DORIS I BOJITO BERNABE                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   639333 DORIS I DIAZ ZAYAS                          IDAMARIS GARDENS              M 1 CALLE ANGELINO FUENTES                                                              CAGUAS            PR         00725
   639334 DORIS I FERRER RAMOS                        BO GALATEO SECT LOUBRIEL                                                                                              TOA ALTA          PR         00953
   144430 DORIS I SOTO FELICIANO                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   639336 DORIS IDELISE CANCEL TIRADO                 PO BOX 743                                                                                                            SAN GERMAN        PR         00683

   144431 DORIS ILEANA BOJITO BERNABE                 REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   639337 DORIS IVETTE RIVERA RIVERA                  3345 URB ESTANCIAS DEL GOLF                                                                                           PONCE             PR         00731
   144433 DORIS J ILLAS OLMEDA                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144434 DORIS J JIMENEZ RAMOS                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639338 DORIS J MARTINEZ LEBRON                     HC 01 BOX 404                                                                                                         MAUNABO           PR         000707
   639340 DORIS J ORTIZ                               URB BONNEVILLE MANOR          A2 8 CALLE 43                                                                           CAGUAS            PR         00725
   144436 DORIS J ORTIZ ARROYO                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144437 DORIS J SANTIAGO SERRANT                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144438 DORIS J VEGA PELLICIER                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639343 DORIS JIMENEZ RODRIGUEZ                     URB EL PARAISO                141 CALLE A                                                                             ARECIBO           PR         00612
   144439 DORIS JIMENEZ VALENTIN                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          DORIS JUDITH MELENDEZ
   144440 MORALES                                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639344 DORIS L FELIZ DE LA CRUZ                    RIO HONDO II                  AK 58 CALLE RIO LAJAS                                                                   BAYAMON           PR         00961
   639345 DORIS L GERENA REYES                        HC 3 BOX 5556                                                                                                         HUMACAO           PR         00791
   144441 DORIS L GONZALEZ MEDINA                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144442 DORIS L GONZALEZ RUIZ                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   639346 DORIS L MARTELL RODRIGUEZ                   HC 2 BOX 20676                                                                                                        MAYAGUEZ          PR         00680
   144444 DORIS L MORALES MORALES                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639348 DORIS L MORALES PEREZ                       MANS DE LOS CEDROS            178 CALLE CIPRES                                                                        CAYEY             PR         00736
   639349 DORIS L NAZARIO BAEZ                        HC 9 BOX 2264                                                                                                         SABANA GRANDE     PR         00637‐9601
   639351 DORIS L RIVERA NIEVES                       HC 71 BOX 1442                                                                                                        NARANJITO         PR         00719
   144445 DORIS L ROSAS MARRERO                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144446 DORIS LAMOSO NAVARRO                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639353 DORIS LOPEZ GARCIA                          URB JARD DE DORADO            E 1 CALLE 2                                                                             DORADO            PR         00646
   144447 DORIS LOPEZ PEREZ                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144448 DORIS LOPEZ RIVERA                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639354 DORIS LOPEZ SOTOMAYOR                       LAGUNA TERRACE                6 CALLE JOFFRE APT 1 D                                                                  SAN JUAN          PR         00907
   144449 DORIS LUGO MUNOZ                            REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639355 DORIS M ALAYON ALVAREZ                      VILLA NITZA                   10 CALLE B2                                                                             MANATI            PR         00674
   144450 DORIS M BERRIOS QUINONEZ                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144451 DORIS M BONILLA VALLE                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639356 DORIS M BURGOS                              P O BOX 1049                                                                                                          LAJAS             PR         00667



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MML ID               NAME                                       ADDRESS 1                  ADDRESS 2                     ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  639357 DORIS M CORREA SOTO                          VICTOR ROJAS 2             150 CALLE C                                                                             ARECIBO           PR         00612
  144453 DORIS M EGURBIDA AROCHO                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  144454 DORIS M ESTERAS                              REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  144455 DORIS M FLORES OLIVERAS                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  639361 DORIS M FLORES RUIZ                          PO BOX 62                                                                                                          LAJAS             PR         00667‐0062
  639362 DORIS M GUZMAN TORRES                        PO BOX 371165                                                                                                      CAYEY             PR         00737
  639363 DORIS M HERNANDEZ VEGA                       PO BOX 250551                                                                                                      AGUADILLA         PR         00604
  144456 DORIS M ITURRINO PAGAN                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  144457 DORIS M LANDRON BRUNO                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  639366 DORIS M LOZADA MILLAND                       HC 03 BOX 37189                                                                                                    CAGUAS            PR         00725
  144458 DORIS M MEDINA RAMIREZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  639367 DORIS M MORALES TORRES                       PO BOX 315                                                                                                         TOA ALTA          PR         00954
  144459 DORIS M MUNIZ TORRADO                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  639368 DORIS M NAZARIO ROMAN                        P O BOX 11715                                                                                                      SAN JUAN          PR         00922‐1715
  144460 DORIS M NUNEZ LOPEZ                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                 384 CALLE LAUREL URB LOIZA
   639369 DORIS M OSORIO TORRES                       LOIZA VALLEY               VALLEY                                                                                  CANOVANAS         PR         00729
   144461 DORIS M PENA CRESPO                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144463 DORIS M PEREZ MATOS                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   144464 DORIS M RAMOS BETANCOURT                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639370 DORIS M RIVERA MACHI                        BO JAGUAR                  CARR 181 KM 7 HM 5                                                                      SAN LORENZO       PR         00754
   144465 DORIS M RIVERA NU¥EZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639371 DORIS M RODRIGUEZ RENTA                     VILLA DEL CARMEN           433 CALLE SOLIMAR                                                                       PONCE             PR         00716‐2103
   639372 DORIS M ROMAN COLON                         URB VICTOR ROJAS II        90 CALLE 13                                                                             ARECIBO           PR         00612
   639373 DORIS M SANTIAGO ROJAS                      HC 1 BOX 3329                                                                                                      CAMUY             PR         00627
   639375 DORIS M VALENTIN ORTIZ                      URB VILLA RETIRO           O 12 CALLE 14                                                                           SANTA ISABEL      PR         00737
   639376 DORIS M VALLE PALMA                         URB 3T                     BOX 41 CALLE POMAROSA                                                                   ISABELA           PR         00662
   144469 DORIS M. FLORES OLIVERAS                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144470 DORIS M. LANDRON BRUNO                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144471 DORIS M. ROSARIO LACEN                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144472 DORIS M.FLORES OLIVERAS                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          DORIS MAGALI MERCADO
   144474 QUINONES                                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639378 DORIS MALDONADO COLON                       PLAYA HUCARES BOX 162                                                                                              NAGUABO           PR         00718

   144476 DORIS MALDONADO FONSECA                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   144477 DORIS MALDONADO RODRIGUEZ REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639379 DORIS MARQUEZ VARELA      P O BOX 91                                                                                                                           AGUADILLA         PR         00605

   639380 DORIS MARRERO HERNANDEZ                     URB MARISOL                C 28 CALLE 4                                                                            ARECIBO           PR         00612
   639383 DORIS MARTINEZ CRUZ                         LAGOS DE PLATA LEVITTOWN   P 3 CALLE 13                                                                            TOA BAJA          PR         00949
   639384 DORIS MARTINEZ RIVERA                       HC 20 BOX 28711                                                                                                    SAN LORENZO       PR         00754
   144478 DORIS MARTINEZ SANCHEZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639385 DORIS MATOS DE RIVERA                       URB SABANA GARDENS         B 24 CALLE 13                                                                           CAROLINA          PR         00987
   639386 DORIS MAZA GARCIA                           EDIF LA TORRE MIRAMAR      709 AVE MIRAMAR SUITE 7 A                                                               SAN JUAN          PR         00907
   639387 DORIS MENDEZ RIOS                           RES LOS LIRIOS             EDF 14 APTO 105                                                                         CAYEY             PR         00926
   144479 DORIS MERCADO SANCHEZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639389 DORIS MERCED FLORES                         BO PUEBLO NUEVO            26 CALLE 7                                                                              VEGA BAJA         PR         00693
   144481 DORIS MIRANDA RAMOS                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144482 DORIS MONTALVO GOMEZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639391 DORIS MORALES                               BOX 1190                                                                                                           TOA ALTA          PR         00954



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MML ID               NAME                                       ADDRESS 1                    ADDRESS 2                     ADDRESS 3                           ADDRESS 4             CITY        STATE    POSTAL CODE       COUNTRY
  144485 DORIS N CALERO FERNANDEZ                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  639394 DORIS N DE JESUS OSORIO                      P O BOX 80                                                                                                           LOIZA              PR         00772
  639397 DORIS N GARCIA MONTESINO                     HC 02 BOX 10860                                                                                                      COROZAL            PR         00783
  144486 DORIS N NEGRON VEGA                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  639399 DORIS N NIEVES                               113 HALEDON AVE APT 10                                                                                               PATERSON           NJ         07522
  639400 DORIS N REICES                               797 JOYA LAS MARINAS                                                                                                 AGUADILLA          PR         00603
  144487 DORIS N RIOS VALENTIN                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  144488 DORIS N RIVERA NIEVES                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  144489 DORIS N ROSARIO MARRERO                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  639401 DORIS N RUIZ GONZALEZ                        P O BOX 152                                                                                                          AGUADA             PR         00602
  639402 DORIS N RUIZ RODRIGUEZ                       PO BOX 1847                                                                                                          ISABELA            PR         00662‐1847
  144492 DORIS N TORRES MERCADO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  639403 DORIS N ZAPATA PADILLA                       PO BOX 5000‐341                                                                                                      SAN GERMAN         PR         00683
  144493 DORIS N. ARROYO OLMO                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  144495 DORIS N. CARRION                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  144496 DORIS N. SOLER VALLE                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  639404 DORIS NAZARIO BORIA                          RR 2 BOX 7029                                                                                                        CIDRA              PR         00739
  639405 DORIS NEGRON CINTRON                         P O BOX 859                                                                                                          VILLALBA           PR         00766
  639406 DORIS NIEVES                                 VILLA CAROLINA              194 22 CALLE 517                                                                         CAROLINA           PR         00985‐3106
  639407 DORIS NIEVES MOJICA                          BO BUCARABONES              57 A CALLE 14                                                                            TOA ALTA           PR         00953
  639408 DORIS O CRUZ GARCIA                          HC 03 BOX 6415                                                                                                       HUMACAO            PR         00791‐9517
  639410 DORIS OCASIO PENA                            NEMESIO R CANALES           EDIF 16 APT 323                                                                          SAN JUAN           PR         00918
  144498 DORIS ORTIZ BAEZ                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  639413 DORIS ORTIZ BETANCOURT                       URB STO IGLESIAS            28 B CALLE J RIVERA GAUTIER                                                              SAN JUAN           PR         00921
  144499 DORIS ORTIZ MORGAD0                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  144500 DORIS ORTIZ RIVERA                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  639416 DORIS PACHECO FRATICELLI                     COND LAS TORRES SUR 9 E                                                                                              BAYAMON            PR         00956
  639418 DORIS PACHECO LABOY                          1917 REEF CLUB DR 106                                                                                                KISSIMMEE          FL         34741
  639419 DORIS PACHECO VAZQUEZ                        BO LAVADERO                 CALLE LOS MANGOS BUZ 273                                                                 HORMIGUEROS        PR         00660
  144501 DORIS PADILLA SANTIAGO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  144502 DORIS PANTOJA RIVERA                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  639420 DORIS PEREZ HERNANDEZ                        CARR 860 KM 2 5             BARRIO MARTIN GONZALEZ                                                                   CAROLINA           PR         00987
  144503 DORIS PEREZ VELEZ                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  144504 DORIS PIRELA SANTIAGO                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  639421 DORIS PIZARRO CLAUDIO                        209 CALLE APONTE                                                                                                     SAN JUAN           PR         00912

   144505 DORIS QUINONEZ HERNANDEZ                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   144506 DORIS R AGOSTO TIRADO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   144507 DORIS R FELICIANO TORRES                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   639422 DORIS R GONZALEZ BONILLA                    HC 2 BOX 4920                                                                                                        VILLALBA           PR         00766‐9718
   144509 DORIS R LUGO RODRIGUEZ                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   639423 DORIS R PEREZ ORTIZ                         C/O PEDRO MENENDEZ RIVERA   PO BOX 11398                                                                             SAN JUAN           PR         00936

   144510 DORIS RAMOS & DAVID J PEREZ                 REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   144511 DORIS REYES RAMIREZ                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   144512 DORIS REYES RODRIGUEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   639424 DORIS RIVERA BENITEZ                        P O BOX 10008                                                                                                        HUMACAO            PR         00792
   144514 DORIS RIVERA COLLAZO                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   639426 DORIS RIVERA ENCARNACION                    ALT DE RIO GRANDE           H 164 CALLE 14                                                                           RIO GRANDE         PR         00745
   639427 DORIS RIVERA MALDONADO                      PO BOX 400                                                                                                           AGUAS BUENAS       PR         00703
   639428 DORIS RIVERA PINO                           BO CARMELITA                CALLE CAMELIA BOX 57                                                                     VEGA BAJA          PR         00693
   144515 DORIS RIVERA SOTO                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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MML ID              NAME                                        ADDRESS 1                      ADDRESS 2              ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  144516 DORIS ROBLES                                 REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  639429 DORIS RODRIGUEZ                              HC 1 BOX 7686                                                                                                   YAUCO               PR         00698‐9729
  144517 DORIS RODRIGUEZ COLON                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  144519 DORIS RODRIGUEZ CRUZ                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  639431 DORIS RODRIGUEZ CRUZ                         HC 03 BOX 7158                                                                                                  JUNCOS              PR         00777
  639434 DORIS RODRIGUEZ MERCADO                      URB LA GRANJA                6 CALLE H                                                                          CAGUAS              PR         00725
  144521 DORIS RODRIGUEZ RIOS                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   639435 DORIS RODRIGUEZ RODRIGUEZ                   COSTA AZUL                   D 10 CALLE C                                                                       LUQUILLO            PR         00773

   639436 DORIS RODRIQUEZ ALVARADO                    PO BOX 21365                                                                                                    SAN JUAN            PR         00928

   639437 DORIS ROLON SEPULVEDA                       HC 2 BOX 5558 BO FRANQUEZ                                                                                       MOROVIS             PR         00687
   144523 DORIS ROMAN DIAZ                            REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   144524 DORIS ROSARIO HERNANDEZ                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639440 DORIS ROSARIO RIVERA                        326 CALLE PALACIOS                                                                                              SAN JUAN            PR         00907
   144525 DORIS ROSARIO ROSARIO                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639441 DORIS RUIZ ALVARADO                         PO BOX 944                                                                                                      BOQUERON            PR         00622
   144526 DORIS S SEPULVEDA LOPEZ                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   144527 DORIS SALAS QUILES                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   144528 DORIS SANCHEZ CACERES                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   144530 DORIS SANTANA MIRANDA                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   144531 DORIS SANTIAGO MELENDEZ                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639444 DORIS SANTIAGO RIVERA                       RES ROSALY                   6 APTO 43                                                                          PONCE               PR         00731
   639446 DORIS SANTIAGO ZAYAS                        VILLA RETIRO Q 2                                                                                                SANTA ISABEL        PR         00757
   144532 DORIS SANTOS VELEZ                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639447 DORIS SEPULVEDA MARTINEZ                    1923 BENTLEY BLVD                                                                                               KISSIMMEE           FL         34741‐3878
   144533 DORIS SILVA MORELL                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639448 DORIS SOLER VALLE                           URB MANUEL CORCHADO          101 VIOLETA ST                                                                     ISABELA             PR         00662
   144534 DORIS SOSA TORRES                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639449 DORIS SOTO BURGOS                           P O BOX 888                                                                                                     COAMO               PR         00769‐0888
   144535 DORIS SOTO HERNANDEZ                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639450 DORIS SOTO SEPULVEDA                        HC 2 BOX 6196                                                                                                   LARES               PR         00669
   639451 DORIS T SUAREZ ORTIZ                        PO BOX 1681                                                                                                     PONCE               PR         00733
   144537 DORIS T TORRUELLA PENA                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   144538 DORIS TIRADO OTERO                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   144539 DORIS TORRES MENDEZ                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   144540 DORIS TORRES NEGRON                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          DORIS TORRES RAMIS DE
   144541 AYREFLOR                                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639453 DORIS TORRES REYMUNDI                       PO BOX 366223                                                                                                   SAN JUAN            PR         00936‐6223
   639454 DORIS TORRES SEPULVEDA                      URB PASEO ALTO               44 CALLE 2                                                                         SAN JUAN            PR         00926
   144543 DORIS TORRES TORREGROSA                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639455 DORIS TORRUELLA GARCIA                      LA MATILDE                   5132 TRAPICHE                                                                      PONCE               PR         00728
   144544 DORIS TRANSPORT                             HC 02 BOX 10051                                                                                                 AIBONITO            PR         00705
   144545 DORIS TRINIDAD CALCANO                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639456 DORIS V BERRIOS BURGOS                      URB TOA ALTA HEIGHTS         R 37 CALLE 22                                                                      TOA ALTA            PR         00953
   639457 DORIS V PAGAN                               A 7 BDA ZAMBRANA                                                                                                COAMO               PR         00769
   639458 DORIS V RIVERA CANDELARIA                   ISLOTE II CALLE 21 BOX 371                                                                                      ARECIBO             PR         00612
   639459 DORIS VALENCIA DE MOTTA                     URB SUMMIT HLS               600 CALLE SINAI                                                                    SAN JUAN            PR         00920
   639460 DORIS VALENTIN FIGUEROA                     ADM SERV GENERALES           P O BOX 7428                                                                       SAN JUAN            PR         00916‐7428
   144546 DORIS VALLALTA BERNABE                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639461 DORIS VALLE                                 CARR 183 112                                                                                                    CAROLINA            PR         00987



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   639462 DORIS VANESSA RAMIREZ CARDE 8 AVE LAGUNA                               APT C 327                                                                                 CAROLINA             PR           00979
   639464 DORIS VARGAS GONZALEZ       RES FRANKLIN D ROOSEVELT                   EDIF 11 APTO 292                                                                          MAYAGUEZ             PR           00680
   639465 DORIS VARGAS GUTIERREZ      APARTADO 927                                                                                                                         CAYEY                PR           00737
   639466 DORIS VARGAS PAGAN          PO BOX 974                                                                                                                           ADJUNTAS             PR           00601
                                                                                 1919 AVE PONCE DE LEON APT
   639467 DORIS VAZQUEZ COLON                         COND PENTAGONO             301                                                                                       SAN JUAN             PR           00931
   639468 DORIS VAZQUEZ VARGAS                        HC 02 BOX 40019                                                                                                      VEGA BAJA            PR           00693
   639469 DORIS VEGA VILLAVICENCIO                    SANTA JUANITA              SS 3 CALLE 35                                                                             BAYAMON              PR           00956
   144547 DORIS VELAZQUEZ PONS                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   144548 DORIS VELEZ SEGUINOT                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   639470 DORIS VELEZ TORRES                          EXT FOREST HILL            W 573 CALLE HABANA                                                                        BAYAMON              PR           00959
   144549 DORIS W COLLET FERNANDEZ                    REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   144550 DORIS Y LOPEZ ALVAREZ                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   639472 DORIS Y SALICRUP CORREA                     COND TORRES DE CERVANTES   APT 803 A                                                                                 SAN JUAN             PR           00924
   144554 DORIS Y.BONILLA FERRER                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   639475 DORIS ZOE PONS PAGAN                        URB BORINQUENS GARDENS     KK 6 CALLE ORCHID                                                                         SAN JUAN             PR           00926
   144557 DORISALID RUIZ GUZMAN                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   639476 DORISCELIS ROURA PEREZ                      CONDOMINIO SKY TOWER III   APT 3 P                                                                                   SAN JUAN             PR           00926

   144558 DORISEL SERRANO RODRIGUEZ                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   144559 DORISELLE R SANTIAGO                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   144560 DORISMAR DELGADO VALENTIN                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   144561 DORITZA CANCEL PEREZ                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   639478 DORITZA LOPEZ LUNA                          APDO 660                                                                                                             BARRANQUITAS         PR       00794
   639479 DORITZA PEREZ DIAZ                          PO BOX 565                                                                                                           VILLALBA             PR       00766
   144562 DORKA ALMONTE HERMON                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   639480 DORKA I RIVERA RIVERA                       URB TOA ALTA HEIGHTS       R 24 CALLE 21                                                                             TOA ALTA             PR       00953
   639481 DORKA LOPEZ                                 39 BO PAMPANOS                                                                                                       PONCE                PR       00731
   144563 DORKA PARIS DAVILA                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   144565 DORKAS F LIZARDO PEREZ                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   144567 DORLISKA RIVERA OSORIO                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   144568 DORMAN CONCRETE SERVICE                     HC 5 BOX 11482                                                                                                       COROZAL              PR       00783
   144574 DORNA SOLA, ILEANA M.                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   639482 DORON PRECISION SYSTEMS                     PO BOX 400                                                                                                           BINGHMUTON           NY       13902‐0400
   639483 DOROTEO DIAZ RODRIGUEZ                      HC 01 BOX 6422                                                                                                       LAS PIEDRAS          PR       00771
   144580 DOROTEO SANCHEZ CRUZ                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   144581 DOROTHEA DIX HOSPITAL                       820 S BOYLAN AVE                                                                                                     RALEIGH              NC       27611
   639484 DOROTHY CACERES MOJICA                      SABANA ENEAS               354 CALLE 11                                                                              SAN GERMAN           PR       00683
   639485 DOROTHY CANDELARIO DIAZ                     RR 10 BOX 10540                                                                                                      SAN JUAN             PR       00926
   639486 DOROTHY ECHEGARAY                           EXT VILLA CAPARRA          G4 CALLE GENOVA                                                                           GUAYNABO             PR       00966
   639487 DOROTHY FERRER DEL VALLE                    E 19 SUNET HILL            PMB 655 HC 1 BOX 29030                                                                    CAGUAS               PR       00725‐8900
   144582 DOROTHY HILL BEAULIEU                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED

   639488 DOROTHY L FOGLEMAN                          COND BEACH TOWER           4327 AVE ISLA VERDE APT 1004                                                              CAROLINA             PR           00979
   144596 DORTA DIAZ MD, JANET                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   144602 DORTA HERNANDEZ MD, LUIS M REDACTED                    REDACTED                                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   144627 DORTEKK INC                PMB 238 90 AVE RIO HONDO                                                                                                              BAYAMON              PR           00961
                                     PMB 238 RIO HONDO AVE. NUM.
   144629 DORTEKK INC.               90                                                                                                                                    BAYAMON              PR           00961



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  144633 DORY ANN CASUL ROMERO                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  639489 DORY B LOZADA                                BO CALZADA BOX 17                                                                                                 MAUNABO           PR         00707
  639491 DORY E NEGRON GONZALEZ                       HC 3 BOX 9768                                                                                                     BARRANQUITAS      PR         00794
  639493 DORYAN RODRIGUEZ LOPEZ                       URB PUERTO NUEVO             1263 CALLE CARDONAS                                                                  SAN JUAN          PR         00920
  639494 DORYLEE E BAEZ NIEVES                        URB VALLE ARRIBA HEIGHTS     BD 4 CALLE NARANJO                                                                   CAROLINA          PR         00983
  639495 DORYMAR PEREZ LOPEZ                          PO BOX 960                                                                                                        LARES             PR         00669
  639497 DOSHELLY ORTIZ NEGRON                        PO BOX 503                                                                                                        NARANJITO         PR         00719
  144641 DOSHI MD , PRAKASH J                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  639498 DOSIS INC                                    COND MONTE NORTE             PH M 165 AVE HOSTOS                                                                  SAN JUAN          PR         00918‐4244
  639499 DOSSI GALIANO RODRIGUEZ                      P O BOX 153                                                                                                       HORMIGUERO        PR         00660
  144643 DOT GOV                                      10304 EATON PLACE                                                                                                 FAIR FAX          VA         22030
  144644 DOTHAN HUGHSTON CLINIC                       348 HEALTHWEST DR                                                                                                 DOTHAN            AL         36303
         DOUBLE DIAMOND
  639500 CONTRACTORS                                  PO BOX 7257                                                                                                       CAROLINA          PR         00986
  144647 DOUBLE S STATIONERY INC                      PO BOX 195497                                                                                                     SAN JUAN          PR         00919‐5497
  144648 DOUBLE STATIONERY INC                        AVE CHARDON # 11                                                                                                  SAN JUAN          PR         00918
         DOUBLE TREE GUEST SUITES
  144666 TIME SQUARE NYC                              1568 BROADWAY                                                                                                     NEW YORK          NY         10036‐8201
         DOUBLE V PRODUCTS
  144667 DISTRIBUTORS INC                             URB ALTA VISTA               1942 CALLE AFRODITA                                                                  PONCE             PR         00716
  639501 DOUBLEDEY INC                                PO BOX 366244                                                                                                     SAN JUAN          PR         00936‐6244
  639503 DOUGLAS A RIVERA                             TURABO GARDENS               K 18 CALLE 27                                                                        CAGUAS            PR         00725
  144669 DOUGLAS A SERRANO ROSA                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  144670 DOUGLAS ACEVEDO TOLEDO                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  144671 DOUGLAS BARRIS LUCIANO                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  639504 DOUGLAS CAMACHO RIVERA                       BOX 90                                                                                                            CIALES            PR         00638

   639505 DOUGLAS CAMILO CONTRERAS                    URB DOMINGO ALEJANDRO        10 CALLE APONTE                                                                      CIDRA             PR         00739
   144672 DOUGLAS CANDELARIO                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144673 DOUGLAS CANDELARIO INC                      PO BOX 33                                                                                                         CATANO            PR         00963
   639506 DOUGLAS DESHONG                             24 MONROE PI APT MA                                                                                               BROOKLYN          NY         11201
   144674 DOUGLAS E. MENDEZ COLL                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144675 DOUGLAS FROHMAN                             REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639507 DOUGLAS G KOCHER AGENT                      PO BOX 418131                                                                                                     KANSAS CITY       MO         09131
   639508 DOUGLAS GUILLEN AVILA                       VILLA DEL REY I              N 3 CUMBERLAND APT 2 B                                                               CAGUAS            PR         00725
   144676 DOUGLAS H HACHENBURG                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144677 DOUGLAS H MCHOUL                            REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144678 DOUGLAS J MELENDEZ CRUZ                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   639509 DOUGLAS J ROMERO VILLAVEITIA EXT SAN AGUSTIN                             265 ROBERTO CLEMENTE                                                                 SAN JUAN          PR         00926‐1908
          DOUGLAS L ESCORIAZA
   639510 SAAVEDRA                     COND RAQUET CLUB APT 406                                                                                                         CAROLINA          PR         00979
   144679 DOUGLAS LENNOX SILVA         REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144680 DOUGLAS M RIVERA CUEVAS      REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   144681 DOUGLAS MERCADO COLLADO                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   639511 DOUGLAS OJEDA RODRIGUEZ                     23 CALLE CARRAU BO SABALOS                                                                                        MAYAGUEZ          PR         00680
  1256422 DOUGLAS ORTIZ REYES                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   144683 DOUGLAS P SANCHEZ                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   639513 DOUGLAS P ZUVICH                            2020 NORTH LINCOLN           PARK WEST APARTMENT 27A                                                              CHICAGO           IL         60614
   144684 DOUGLAS ROJAS CORTINA                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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                                                                              100 GRAN BOULEVAR PASEOS
   639514 DOUGLAS ROSADO NEGRON                       MSC416                  STE 416                                                                                 SAN JUAN            PR           00926
   639502 DOUGLAS SANCHEZ RICARDO                     URB COUNTRY CLUB        987 CALLE ESPIONCELA                                                                    CAROLINA            PR           00924

   639515 DOUGLAS V ARMSTRONG PHD                     437 ALLEN ST                                                                                                    SYRACUSE            NY           13210
   639516 DOUGLAS VELEZ CERVANTES                     BO MAGINAS              89A EUCALIPTO                                                                           SABANA GRANDE       PR           00637
          DOVAL CORTES MD, ARMANDO
   144687 A                                           REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          DOVAL MINANA & PEDROSA
   144690 LAW OFFICES PSC                             P O BOX 366482                                                                                                  SAN JUAN            PR           00936‐6480
          DOVAN VANSONS ASSOCIATES
   639518 INC                                         P O BOX 2186                                                                                                    BAYAMON             PR           00960‐2186
          DOVER BEHAVIOR HEALTH
   144693 SYSTEM                                      725 HOSEPOND RD DOVER                                                                                           DOVER               DE           19901
          DOVER GENERAL HOSPITAL AND
   144694 MEDICAL CENTER                              34 JARDINE ST                                                                                                   MALVERN             PA           07801
   144695 DOVIN FUNERAL HOME INC                      27 1 ELYRIA AVE                                                                                                 LORAIN              OH           44055‐1391

   144696 DOW CHEMICAL INTER         BDE BUILDING                             638 ALDEBARRAN SUITE HQ 06                                                              SAN JUAN            PR           00920
   639519 DOW CORNING PR INC         TEXACO PLAZA SUITE 313                   METRO OFFICE PARK                                                                       GUAYNABO            PR           00968‐1705
   639520 DOW JONES TELERATE INC     PO BOX 7013                                                                                                                      CHICOPEE            MA           01021
          DOWN TO EARTH
   771027 TECHNOLOGIES INC           5765 NW 158 STREET                                                                                                               MIAMI LAKES         FL           33014
          DOWNTOWN DEVELOPMENT
  1419608 CORPORATION                FERNANDO FONT LEE                        PO BOX 13230                                                                            SAN JUAN            PR           00908
          DOWNTOWN DEVELOPMENT
  1419609 CORPORATION                FERNANDO FONT LEE                        PO BOX 13230                                                                            SAN JUAN            PR           00910‐0328
          DOWTOWN DEVELOPMENT
   639522 CORP.                      PO BOX 190858                                                                                                                    SAN JUAN            PR           00919‐0858
          DOWTOWN DEVELOPMENT
   144702 CORP/ BANCO POPULAR        AREA DEL TESORO                          DIVISION DE RECLAMACIONES                                                               SAN JUAN            PR           00902‐4140
   144704 DOWY CRANE RENTAL          PO BOX 1428                                                                                                                      CATANO              PR           00963
   144706 DOYLE R LATORRE VEGA       REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   144707 DOYNET Y MENDEZ FLORES     REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   639523 DPD INTERNATIONAL          1290 N HANCOCK STREET                                                                                                            ANAHEIM             CA           92807
   639524 DPI PRINTING               P O BOX 71568                                                                                                                    SAN JUAN            PR           00936‐8668
   144713 DPRENSA LLC                CARR 849 COND VISTA VERDE                APT 321                                                                                 SAN JUAN            PR           00924‐4570
   639525 DPT OF PEDIATRICS          BOX 29751                                                                                                                        NEW YORK            NY           10087‐9751
  1256423 DPTO DE HACIENDA (SALUD)   REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          DPTO DE LA FAMILIA ARMANDO
   144714 CIRINO ORTIZ               PO BOX 11218                                                                                                                     SAN JUAN            PR           00910‐1218
          DPTO DE SALUD / NORMAN J
   144716 GONZALEZ MORENO            P O BOX 70184                                                                                                                    SAN JUAN            PR           00936
          DPTO LA FAMILIA Y/O ADANIT
   144718 RODRIGUEZ                  GONZALEZ                                 P O BOX 4707                                                                            CAROLINA            PR           00984‐4707
   639529 DQCI SERVICES INC          5205 QUINCY STREET                                                                                                               MOUNDS VIEW         MN           55112
          DR ANGEL WHATTS DBA MANATI
   144728 VISUAL CENTER              URB ATENAS                               CALLE ELLIOT VELEZ J 12                                                                 MANATI              PR           00674
   144729 DR AUDIOVISUAL             P O BOX 19940                                                                                                                    SAN JUAN            PR           00910‐9940
   144730 DR AUDIOVISUAL INC         PO BOX 19940                                                                                                                     SAN JUAN            PR           00910‐9940
   144731 DR AUDIOVISUALS INC        PO BOX 19940                                                                                                                     SAN JUAN            PR           00910‐1940
   639530 DR CARLOS ROBLES           P O BOX 140477                                                                                                                   ARECIBO             PR           00614
   639531 DR CHARLES CORNELL         535 E 70TH STREET                                                                                                                NEW YORK            NY           10021



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  144733 DR CLOCK/ALBERTO GARCIA                      3910 CALLE LOS HENOS                                                                                                SAN ANTONIO       PR           00690
  639532 DR DEMETRIO LAMELA                           2 CALLE PREMER ESQ DERKES                                                                                           GUAYAMA           PR           00784
  639533 DR DIEGO E MEJIAS FRANQUI                    14 A CALLE GEORGETTI                                                                                                COMERIO           PR           00782
                                                                                  400 CALLE ROOSEVELT URB LA
   639534 DR FRANCISCO C CABRERA                      406 CLINICA LAS AMERICAS    CUMBRE                                                                                  SAN JUAN          PR           00926
   144735 DR FRANK CAMACHO CRUZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   639535 DR GIANCARLOS LUIGI SANCHEZ                 162 AVE PEDRO ALBIZU CAMPOS SUITE 2                                                                                 AGUADILLA         PR           00603
   639536 DR GUSTAVO R HALLEY JULIA                   P O BOX 5027                                                                                                        AGUADILLA         PR           00605
          DR HARVARD MEDICAL, SUSAN
   144736 KELLY                                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          DR HECTOR E IBANEZ PABON M
   144737 D                                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          DR ISAAC CALERO/ BIG SMILE
   144738 DENTAL CARE                                 URB LAMELA                  B 2 CALLE TURQUESA                                                                      ISABELA           PR           00662
   144740 DR JOSE A LUCCA RODRIGUEZ                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   144742 DR JOSE J LOPEZ AGUDO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   144743 DR JUAN B LICEAGA SANCHEZ                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   639537 DR JUAN LLOMPART GARCIA                     SUITE 303                   29 CALLE WASHINGTON                                                                     SAN JUAN          PR           00907‐1509
   639538 DR LUBE                                     117 CALLE PAVIA FERNANDEZ                                                                                           SAN SEBASTIAN     PR           00685
   144744 DR LUBE CORP                                PO BOX 1966                                                                                                         SAN SEBASTIAN     PR           00685

   639539 DR LUIS A ARROYO BALLESTERS                 P O BOX 143544                                                                                                      ARECIBO           PR           00614
          DR LUIS ANTONIO FLORES
   639540 DIEPPA                                      CONDOMINIO SANDY HILLS      APARTAMENTO 6 E TORRE ESTE                                                              LUQUILLO          PR           00773
   144745 DR MANUEL A TORRES                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   144746 DR MANUEL GARCIA VINA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   144748 DR MIGUEL MAGRANER SUAREZ                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   144749 DR OBED PEREZ GONZALEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   144752 DR OFFICE FURNITURE                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   639541 DR OSCAR LABOY ROLDOS                       PO BOX 2889                                                                                                         MAYAGUEZ          PR           00681
   144753 DR P PHILLIPS HOSPITAL                      PO BOX 19072                                                                                                        GREEN BAY         WI           54307‐9072
   144755 DR PHILLIPS HOSPITAL                        PO BOX 19058                                                                                                        GREN BAY          WI           54307‐9058
   639542 DR PLUMBING                                 P O BOX 1539                                                                                                        VILLALBA          PR           00766
          DR PRO MEDICAL INDUSTRIAL
   144756 LAB INC                                     1634 AVE JESUS T PINERO                                                                                             SAN JUAN          PR           00921
   144757 DR RAFAEL OMS                               REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   144758 DR RAMON A VELEZ ARCE CSP                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   639543 DR SANTIAGO RIVERA ORTEGA                   PMB 492                     P O BOX 80000                                                                           ISABELA           PR           00662
          DR STANLEY PIZZITOLA
   639544 MONTALVO                                    P O BOX 143922                                                                                                      ARECIBO           PR           00614
   144762 DR. ARTURO BLANCO PLARD                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   831322 DR. Audiovisual, Inc.                       P.O. Box 19940                                                                                                      San Juan          PR           00907
          DR. CARLOS E. CLAVELL
   144764 MARCHESE                                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   144765 DR. CARLOS O. RODRIGUEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   144766 DR. COMPUTER CORP.                          PO BOX 610                                                                                                          FAJARDO           PR           00738
          DR. CONTRACTORS &
   144767 MAINTENANCE CORP.                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED




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          DR. ELISAMUEL MARTINEZ DIAZ,
   144768 PSY.D.                                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          DR. FRANCISCO AMADOR
   144770 RAMIREZ, CSP                                REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   144771 DR. HUMBERTO M GUIOT                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   144772 DR. IVAN J. CORTES REXACH                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   144774 DR. JAFFET M. SEDA RODRIGUEZ REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   144776 DR. JAIME R. TORRES FIGUEROA REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   831323 Dr. Javier Serrano Serrano   REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          DR. JESUS M. RODRIGUEZ
   144777 BLANCO                       REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   144778 DR. JORGE L. SANCHEZ COLON                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   144779 DR. JORGE L. WEBER ACEVEDO                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          Dr. Juan A. Hernandez, Law
   144780 Offices C.S.P                               P O BOX 367059                                                                                                SAN JUAN            PR           00936‐7059
          DR. LEONARDO CASTRO
   144781 MONTANEZ                                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   144783 DR. MIGUEL RIVERA TORRES                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          DR. RANIEL M. VERDEJO
   144785 RODRIGUEZ                                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          DR. VERDEJO BEHAVIORAL                      AVENIDA AMERICO MIRANDA
   144786 HEALTH GROUP, PSC                           #1253                                                                                                         SAN JUAN            PR           00921
   144787 DR. VICTOR J. LLADO                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          DR. VICTOR J. LLADO &                       URB ROOSEVELT 374 CALLE
   144788 CONSULTORES, INC.                           RAFAEL LAMAR                                                                                                  HATO REY            PR           00918
   639546 DRA AUTO SPECIALTY                          MANSIONES DE RIO PIEDRAS   1140 CALLE MADRESELVA                                                              SAN JUAN            PR           00926

   639548 DRA CARMEN B GARCIA DE PARA AVE F D ROOSEVELT CAPARRA                  352 B ESQ ENSENADA                                                                 SAN JUAN            PR           00920
          DRA CAROLINE RODRIGUEZ /
   144791 YAUCO OPTOMETRY             26 CALLE SANTO DOMINGO                                                                                                        YAUCO               PR           00698‐3920
   639549 DRA ETHEL LAMELA            P O BOX 2546                                                                                                                  ISABELA             PR           00662

   144795 DRA IRIZ A ACEVEDO MARTY, PSC REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   144796 DRA LILIA RIVERA PSC          REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          DRA MARGARET MATOS DBA
   144797 CUPEY VISION CARE             AVE SAN CLAUDIO 404                                                                                                         SAN JUAN            PR           00926
          DRA SONIA DALILA ROMAN
   144799 PEREZ                         REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          DRA. ANAMAR APONTE
   144800 MELLADO                       REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   144801 DRA. JANET SEPULVEDA          REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          DRA. JENIFER M. DELGADO
   144802 LOPEZ                         REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          DRA. LESLEY A. MELENDEZ
   144803 RIVERO                        REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   144804 DRA. LINES M PEREZ FIGUEROA                 REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          DRA. LOURDES FELICIANO
   144805 NIEVES                                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   144806 DRA. MARTA HERNANDEZ MOLL REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   144807 Dra. Milagros Marrero Mas REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   144808 DRA. MILAGROS SANTOS OTERO REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                     EL SENORIAL MAIL ST. 138
   144809 DRA. NILDA MATOS           WINSTON CHURCHIL                               BOX 842                                                                              RIO PIEDRAS         PR           00926
   144810 DRA. NOELIA EUSEBIO        REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   831324 Dra. Rayda Hernández Guash REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          DRAFT INTEGRATED
   144811 COMUNICATIONS LLC          COND LA CIUDADELA                              APT 204D                                                                             GUAYNABO            PR           00969
   639550 DRAFT LINE / OFFICE MART   PO BOX 9672                                                                                                                         SAN JUAN            PR           00908
   144812 DRAFT LINE CORP            PO BOX 9672                                                                                                                         SAN JUAN            PR           00908
   639551 DRAGER                     PO BOX 9066597                                                                                                                      SAN JUAN            PR           00906‐6597
   144814 DRAGON DELIVERY SERVICES   CIUDAD JARDIN III                              282 CALLE LILIA BARROSO                                                              TOA ALTA            PR           00953‐4882
   639552 DRAGONI CONSTRUCTOR INC    PO BOX 7812                                                                                                                         PONCE               PR           00732
   144820 DRAMADANCER INC            URB SAN AUGUSTO                                F 11 CALLE SANTONI                                                                   GUAYANILLA          PR           00656
   144821 DRAMARAMA INC              COND HATO REY PLAZA                            200 AVE PINERO APT 19P                                                               SAN JUAN            PR           00918
   144822 DRAMARAMA INC.             COND HATO REY PLAZA                            APT 19P                   AVE. PINERO                                                SAN JUAN            PR           00918
   144823 DRAMOND PROMOCOES          SHIS QI 21                                     CONJ. 06 CASA 16          CEP: 71.655‐260                                            BRAZILIA DF                      71.655‐260    BRAZIL

   639555 DRAPERY CREATIONS OF PIRETTE 211 CALLE ONEILL 2                                                                                                                SAN JUAN            PR           00918
          DRASKA MACHELLY CASILLAS
   144825 HERNANDEZ                    REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   144827 DRC CORPORATION              PO BOX 70202                                                                                                                      SAN JUAN            PR           00936‐0202
                                       35 CALLE JUAN C. BORBON STE
   144829 D'REAL OFFICE & DESING       67‐469                                                                                                                            GUAYNABO            PR           00969‐5375

   144830 D'REAL OFFICE DESIGN                        35 JUAN C BORBON STE 67‐469                                                                                        GUAYNABO            PR           00969‐5375
          DREAM BUILDERS LATIN
   639557 AMERICA                                     PASEO LAS VISTAS             B 45 CALLE 2                                                                          SAN JUAN            PR           00926
                                                      398 AVE RAFAEL CORDERO SUITE
   639558 DREAM CAR CORP                              140                                                                                                                CAGUAS              PR           00725
   639559 DREAM INC                                   PO BOX 3531                                                                                                        GUAYNABO            PR           00970‐3531
   639560 DREAM SOUND                                 PO BOX 685                                                                                                         JUNCOS              PR           00777
          DREAM TEAM CONSULTING
   144832 GROUP                                       EDIF CONDADO SUITE 401        607 CALLE CONDADO                                                                    SAN JUAN            PR           00907

   144833 DREAM TEAM SKATE CLUB INC                   RES MANUEL A PEREZ            EDIF A‐16 APT 191                                                                    SAN JUAN            PR           00922
                                                      CAPARRA TERRACE CALLE 28 SE
   144834 DREAM TECH INC.                             813 BUZON 3                                                                                                        SAN JUAN            PR           00921‐0000
          DREAM WORLD OF COMPUTER
   144835 INSTITUTE                    P O BOX 19658                                                                                                                     SAN JUAN            PR           00910
   144836 DREAMLAND PLAYSCHOOL         COM LA DOLORES                               67 AVE CASIANO CEPEDA                                                                RIO GRANDE          PR           00745
   639561 DREAMLIFE PRODUCTION INC     PO BOX 12383 142                                                                                                                  SAN JUAN            PR           00914
   639562 DREAMS COME TRUE             PMB 132                                      274 AVENIDA SANTA ANA                                                                GUAYNABO            PR           00969
   639564 DRESSER MEASUREMENTS         P O BOX 42176                                                                                                                     HOUSTON             TX           77242‐2176
          DREXEL BURHAM LAMBERT
   144846 GROUP                        29 PIONEER STREET STE 301                                                                                                         COOPERSTOWN         NY           13326
          DREXEL UNIVERSITY COLLEGE OF
   144848 MEDICINE                     3201 ARCH STREET, SUITE 420                                                                                                       PHILADELPHIA        PA           19104
   639565 DREXLER R FIGUEROA CRUZ      HC‐10 BOX 6810                                                                                                                    SABANA GRANDE       PR           00637
   144849 DREYER MEDICAL CLINIC        1221 N HIGHLAND AVE                                                                                                               AURORA              IL           60506



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  144850 DREYFOUS & ASSOC                             BOX 608 SENORIAL STATION                                                                                           SAN JUAN          PR         00926
  639566 DRIANA A VELAZQUEZ ROSA                      75 CALLE MU¨OZ RIVERA                                                                                              AGUAS BUENAS      PR         00703
  144852 DRIASI INC                                   7930 CENTURY BLVD                                                                                                  CHANHASSEN        MD         55317
  144853 DRIF WIND INC                                MIRAMAR                      752 AVE FERNANDEZ JUNCOS                                                              SAN JUAN          PR         00908
  639567 DRILLEX                                      PO BOX 11761                                                                                                       SAN JUAN          PR         00922

   144854 DRINKER BIDDLE & REATH LLP                  191 N. WACKER DRIEVE         SUITE 3700                                                                            CHICAGO           IL         60606‐1698
   144855 DRISDE CRUZ MARTINEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED       REDACTED
   831325 Drive Savers, Inc.                          400 Bel Marin Keys Blvd.                                                                                           Novato            CA         94949
   144856 DRIVERS LICENCE GUIDE CO                    PO BOX 5305, DEPT. 06                                                                                              REDWOOD CITY      CA         94063
   639569 DRIVERS LICENSE GUIDE CO                    1492 ODDSTAD DRIVE           REDWOOD CITY                                                                          CALIFORNIA        CA         94063
   639570 DROAN ESSO SERVICES                         BMS 324                      PO BOX 607061                                                                         BAYAMON           PR         00960‐7061
   144858 DROGUERIA BETANCES INC                      PO BOX 368                                                                                                         CAGUAS            PR         00726‐0368
   144859 DROGUERIA CABALLERO                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED       REDACTED
  1256424 DROGUERIA DEL CARIBE                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED       REDACTED
   144860 DROGUERIA DEL CARIBE                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED       REDACTED
          DROGUERIA RIO PIEDRAS C/O
   639571 WIGBERTO LUGO                               PMB 241 371 AVE ALEJANDRINO                                                                                        GUAYNABO          PR         00969‐7035
   639572 DROGUERIA ROMACO                            1259 AVE PONCE DE LEON                                                                                             SAN JUAN          PR         00926
   639573 DROGUERIA SAN JUAN                          SABANA LLANA                590 AVE DE DIEGO                                                                       SAN JUAN          PR         00924
   144864 DROS PEREZ MD, JACQUELINE                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED       REDACTED
   144872 DROUYN & CO INC                             PO BOX 10367                                                                                                       SAN JUAN          PR         00922
   144931 DRS ENGINEERING PSC                         TURABO GARDENS              T1 6 CALLE 28                                                                          CAGUAS            PR         00727
          DRT DIGITAL RECEIVER
   639574 TECHNNOLOGIES INC                           12409 Milestone Center Dr.                                                                                         GERMANTOWN        MD         20876
   639575 DRUCILA MORALES HUERTAS                     URB LEVITTOWN                1770 PASEO DOSEL                                                                      TOA BAJA          PR         00949
   144932 DRUCK MD, MARK                              REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED       REDACTED
   639576 DRUG SHOPPE INC                             PO BOX 2021                                                                                                        AIBONITO          PR         00705
   144913 DRUGS UNLIMITED INC                         PO BOX 11797                                                                                                       SAN JUAN          PR         00910‐2897
   144934 DRULLARD ELECTRONICS INC                    VILLA GRILLASCA              J3B AVE MUNOZ RIVERA                                                                  PONCE             PR         00731
          DRUMMMONDS AMERICAN
   639578 CORP                                        600 CORPORATE WOODS PKWY                                                                                           VERNON HILLS      IL         60061‐3108
   639579 DRUSO A DAUBON BELAVAL                      URB VENUS GARDENS            1750 CALLE PELIUX                                                                     SAN JUAN          PR         00926

   639580 DRY CLEANING & WATER SHOP                   HC 71 BOX 3845                                                                                                     NARANJITO         PR         00719
   639581 DRYPERS CARIBBEAN                           PO BOX 1321                                                                                                        TOA ALTA          PR         00954
   144937 DSI Inc.                                    MM‐7 CALLE 420               URB COUNTRY CLUB                                                                      CAROLINA          PR         00982
                                                      529 AVE. ANDALUCIA PUERTO
   144938 DSIGNAGE, INC.                              NUEVO                                                                                                              SAN JUAN          PR         00920
   144939 DSSN38OLLI/ JAAAA                           PO BOX 269339                                                                                                      INDIANAPOLIS      IN         46226‐9339
   144941 DT PROMOTIONS                               SABANERA DEL DORADO          241 CAMINO DEL JAGUEY                                                                 DORADO            PR         00696
   639582 DT SEARCH CORP                              6852 TULIP HILL T ER                                                                                               BETHESDA          MD         20816
   144942 DT SEARCH CORPORATION                       6852 TULLIP HILL                                                                                                   TER BETHESDA      MD         20816
   639583 DTC COMMUNICATIONS INC                      P O BOX 8000                                                                                                       BUFFALO           NY         14267
   144943 DTE LLC                                     ESTANCIAS DE LA FUENTE       CALLE ARCHIDUQUE #31                                                                  TOA ALTA          PR         00953
          DTOP Y CARMEN I RODRIGUEZ
   144949 SANTOS                                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED       REDACTED
   144950 DTOP Y DALILA MARTINEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED       REDACTED
   144951 DTP SALE & SERVICE, LLC                     PO BOX 890177                                                                                                      CHARLOTTE         NC         28289‐0177
          DTS INSTRUMENTATION
   144953 SERVICES                                    P O BOX 2225                                                                                                       MANATI            PR         00674
          DTS INSTRUMENTATION
   144954 SERVICES INC                                PO BOX 2225                                                                                                        MANATI            PR         00674



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  639584 DUAENO DIAZ RODRIGUEZ       PO BOX 535                                                                                                                      LAS PIEDRAS        PR           00871
         DUAL INTEGRATED
  144955 COMMUNICATIONS, LLC         784 VIA PRIMAVERAL                           HACIENDA SAN JOSE                                                                  CAGUAS             PR           00727
         DUAL SPECIALTY UNDERWRITERS 22 AVE GONZALEZ GUISTIY STE
  144956 INC                         222                                                                                                                             GUAYNABO           PR           00968
  639585 DUAMEL COLON COLON          CO COCO                                      127 A CALLE PRINCIPAL                                                              SALINAS            PR           00751
  639586 DUAMEL COLON FLORES         PO BOX 9023207                                                                                                                  SAN JUAN           PR           00902‐3207

   639588 DUAMEL COLON MALDONADO                       PO BOX 14‐1141                                                                                                ARECIBO            PR           00614
          DUAMEL TORRES ITF/ JESSICA
   144957 TORRES                                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   639590 DUAY RIVERA ROSARIO                          REPARTO UNIVERSIDAD        A 47 CALLE 12                                                                      SAN GERMAN         PR           00683
   144978 DUBAL ROLON ALVARADO                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   639592 DUBAN OMAR RIVERA MARTINEZ BDA BUENA VISTA                              128 CALLE 4                                                                        SAN JUAN           PR           00917

   144981 DUBIORGA BATISTA POLANCO   REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
          DUBOCQ VENTURA MD, FRANCIS
   144985 M                          REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
          DUCANSON & HOLT SERVICES   1 FONTAIN SQUARE ATTN BOB
   639595 INC                        PUTNEY 6S                                                                                                                       CHATTANVOGA        TN           37402

   144994 DUCHESNE LANDRON MD, JUAN                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   639596 DUDDLEY MENDEZ CABAN                         APARTADO 626                                                                                                  MOCA               PR           00676
   639597 DUDELIA SILVA ANGLERO                        RES EL RECREO EDIF 36      APT 248                                                                            SAN GERMAN         PR           00683
   145034 DUDI DE LA ROSA PEREZ                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
          DUDLEY H HUTCHINSON
   145035 RAMIREZ                                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   145038 DUEÐAS TRAILERS INC                          PO BOX 194859                                                                                                 SAN JUAN           PR           00919‐4859
   770461 DUENAS TRADING INC                           P O BOX 13222                                                                                                 SAN JUAN           PR           00907‐3222
   145045 DUENAS TRAILER RENTAL INC.                   PO BOX 194859                                                                                                 SAN JUAN           PR           00919‐4859
   771029 DUENAS TRAILERS                              PO BOX 194859                                                                                                 SAN JUAN           PR           00919‐4859
   145047 DUENAS TRAILERS INC                          PO BOX 194859                                                                                                 SAN JUAN           PR           00919‐4859
   145048 DUENAS TRAILERS RENTAL                       PO BOX 194859                                                                                                 SAN JUAN           PR           00919‐4859

   145049 DUENAS TRAILERS RENTAL INC                   PO BOX 194859                                                                                                 SAN JUAN           PR           00919‐4859

   145052 DUEÑO BERRIOS MD, MARIA E                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
          DUEÑO HUERTAS, ALBERTO
  1419610 JOVANY                                       ED DE JESÚS RIVERA         HC‐33 BOX 2070                                                                     DORADO             PR           00646
          DUFFY INTERNACIONAL
   639598 CORPORATION                                  PO BOX 29908               65 INFANTERIA STATION                                                              SAN JUAN           PR           00929‐0908
   639599 DUFFY INT'L CORP                             PO BOX 37357                                                                                                  SAN JUAN           PR           00937
   639600 DUHAMEL ESSO SERVICE                         534 AVE MIRAMAR                                                                                               ARECIBO            PR           00612
          DUHAMEL ESSO SERVICE
   639601 STATION                                      CALL BOX 69001 SUITE 230                                                                                      HATILLO            PR           00659

   145081 DUHAMEL L MATAL GONZALEZ                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
                                                       BOX JAREALITOS 64 CALLE
   639603 DUHAMEL PEREZ ALVAREZ                        PRINCIPAL                                                                                                     ARECIBO            PR           00612
          DUHANEL ESSO SERVICES
   639606 STATION                                      URB DUHANEL                5341 AVE MIRAMAR                                                                   ARECIBO            PR           00612
   145082 DUHL MD, JOZSEF                              REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED



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   145083 DUILIO A CAMACHO DEL TORO                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   639607 DUILIO CACHO CORRETJER                      BO MONTE BELLO              PARC 150 CALLE ROBLES                                                                     MANATI               PR           00674
   639608 DUJARDIN CARO SANCHEZ                       PO BOX 1096                                                                                                           RINCON               PR           00677
   145085 DUJARDIN ELIAS SANCHEZ                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   145088 DUKE ENERGY CORPORATION                     P O BOX 38699                                                                                                         COLORADO SPRINGS     CO           80937
          DUKE ENGINEERING & SERVICES
   639609 INC                                         422 CHURCH STREET           P O BOX 1244 PBO5B                                                                        CHARLOTTE            NC           28201‐1244
   639610 DUKE UNIVERSITY HOSP                        PO BOX 101737                                                                                                         ATLANTA              GA           30392
          DUKE UNIVERSITY MEDICAL
   145089 CENTER                                      ERWIN RD                                                                                                              DURHAM               NC           27710‐0001
   145091 DULCE AMANECER, INC.                        PO BOX 209                                                                                                            COROZAL              PR           00983
   639613 DULCE CEPEDA PARRA                          COND DE DIEGO               444 APT 1505                                                                              SAN JUAN             PR           00926
   639614 DULCE COLON MADRIGAL                        ENBALSE SAN JOSE            381 CALLE BRAMANTE                                                                        SAN JUAN             PR           00923
   145092 DULCE DEL RIO PINEDA                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          DULCE EMILIO GARCIA /D/B/A
   145094 ROLLING DOOR                                258 CALLE RAFAEL CEPEDA                                                                                               SAN JUAN             PR           00915
   145095 DULCE GENERATION, INC                       HC 645 BOX 8341                                                                                                       TRUJILLO ALTO        PR           00976
   145096 DULCE GERERACION INC                        HC 645 BOX 8341                                                                                                       TRUJILLO ALTO        PR           00976
   639615 DULCE HOGAR                                 PO BOX 8244                                                                                                           BAYAMON              PR           00960
   145097 DULCE HOGAR MI VIEJITO                      HC 2 BOX 6414                                                                                                         GUAYANILLA           PR           00656
   145098 DULCE I VAZQUEZ RIVERA                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   639616 DULCE M ACEVEDO MARTINEZ                    URB SAN DEMETRIO            JJ 2 CALLE B                                                                              VEGA BAJA            PR           00793
   639617 DULCE M CASILLAS PIZARRO                    24 CALLE UNION PLAYITA                                                                                                SAN JUAN             PR           00913
   145099 DULCE M COPLIN ALMANZAR                     REDACTED                    REDACTED                      REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   639618 DULCE M CORREA ORTIZ                        BARRIO VIGIA                BUZON 18                                                                                  ARECIBO              PR           00612‐5003
   145100 DULCE M DIAZ RODRIGUEZ                      REDACTED                    REDACTED                      REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   145101 DULCE M JORGE GARCIA                        REDACTED                    REDACTED                      REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                  APT A 4 CALLE VICTOR FIGUEROA
   639619 DULCE M LOPEZ FIGUEROA                      COND BARCELONA              712                                                                                       SANTURCE             PR           00907
   639620 DULCE M MARTINEZ ESTEVES                    PO BOX 471                                                                                                            MOROVIS              PR           00687
   639621 DULCE M QUESADA NEGRON                      EXT VILLA CAPARRA           F 2 GENOVA                                                                                GUAYNABO             PR           00966
   639622 DULCE M RAMOS GONZALEZ                      HC 83 BOX 7141                                                                                                        VEGA ALTA            PR           00692

   639623 DULCE M REY PUGH                            PROYECTO LOS MILLONES APT 25 CALLE BETANCES ESQ MILLONES                                                              BAYAMON              PR           00957

   145102 DULCE M RODRIGUEZ CESPEDES REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   639624 DULCE M TORRES                              SECTOR PIEDRAS BLANCAS      13 CALLE MANUEL RODRIGUEZ                                                                 LAJAS                PR           00667
   145103 DULCE M. COLON MADRIGAL                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   145104 DULCE M. ROMAN MELENDEZ                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          DULCE MARAGARITA RAMOS DE
   145105 ALVARADO                                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   639625 DULCE MARIA FUENTES                         COND LOS OLMOS APT 16‐D                                                                                               SAN JUAN             PR           00927
          DULCE MARIA GOITIA
   145106 RODRIGUEZ                                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          DULCE MARIA MONTES DE OCA
   639626 FERNANDEZ                                   PUERTO NUEVO                1103 CALLE 12 N E                                                                         SAN JUAN             PR           00920
   145107 DULCE MATEO BURGOS                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   145066 DULCE MATOS DE ODUARDO                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   145086 DULCE MORETA DIAZ                           REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   639627 DULCE PUYOLS MACEBO                         URB PUERTO NUEVO            1132 CALLE BALCANES                                                                       SAN JUAN             PR           00920



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  639628 DULCE TATY DE MARTINEZ                       CAPARRA TERRACE          1412 CALLE 34 SO                                                                        SAN JUAN           PR           00921
  639629 DULCE Y APONTE SANCHEZ                       BO LA GLORIA             CARR 181 R 851                                                                          TRUJILLO ALTO      PR           00976
  639630 DULCERIA JOSE MEDINA                         BOX 10748                                                                                                        AGUADILLA          PR           00603‐9313
  639632 DULCERIA LA SONIA                            36 CALLE PAJAROS         HATO TEJAS                                                                              BAYAMON            PR           00959
  639633 DULCERIA OLMO                                BO DOMINGUITO            HC 03 BOX 20632                                                                         ARECIBO            PR           00612
  145108 DULCES DE OCASION INC                        P O BOX 366247                                                                                                   SAN JUAN           PR           00936‐6247
  639634 DULCES DEL ATLANTICO                         PO BOX 9024275                                                                                                   SAN JUAN           PR           00902‐4275
  639635 DULCES RAFY INC                              P O BOX 3530                                                                                                     BAYAMON            PR           00958
  639636 DULCES TAINOS INC                            P O BOX 395                                                                                                      GARROCHALES        PR           00652

   639639 DULCIDIO TORRES RODRIGUEZ                   URB ALTURAS VIEW         63 CALLE NEPTUNO                                                                        SAN JUAN           PR           00914
   639640 DULCILIA RIVERA VEGA                        HC 02 BOX 46622                                                                                                  VEGA BAJA          PR           00693

   145109 DULCINIA STUART VELAZQUEZ                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   639641 DULIA DE JESUS LAZU                         VISTA HERMOSA            L 11 CALLE 2                                                                            HUMACAO            PR           00791
   145117 DULZURA BORINCANA INC                       AREA DEL TESORO          DIVISION DE RECLAMACIONES                                                               SAN JUAN           PR           00902‐4140
   639642 DUMARIS CUEVAS TOLEDO                       HC 3 BOX 13876                                                                                                   UTUADO             PR           00612
                                                      1064 CALLE FERNANDEZ
   639643 DUMENG BOUQUETS                             CAMPOS PDA 16                                                                                                    SAN JUAN           PR           00907
   145156 DUMENG LOPEZ, CARLOS A                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   639644 DUMMY ‐ 001                                 ASSMCA                                                                                                           SAN JUAN           PR           00928‐1414
   639645 DUN & BRADSTREET                            PO BOX 95678                                                                                                     CHICAGO            IL           60694
          DUN & BRADSTREET BUS EDUC                   D&B BUSINESS EDUCATION
   145203 SERV                                        SERVICE                  PO BOX 95678                                                                            CHICAGO            IL           60694‐5678
   639646 DUN & BRADSTREET BUSINES                    EDUCATION SERVICES       PO BOX 95678                                                                            CHICAGO            IL           60694
          DUN & BRADSTREET
   639647 CORPORATION               PO BOX 5100                                                                                                                        NEW YORK           NY           10150‐5100
          DUN & BRADSTREET SOFTWARE
   639651 SERVICES                  1 DIAMOND HILLDR                                                                                                                   NEW PROVIDENCE     NJ           07974‐1200

   145204 DUNAMIS CONSTRUCTION CORP BOX 1829                                                                                                                           CAROLINA           PR           00984‐1829
   145206 DUNCAN MD , RAYMOND L     REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
          DUNCAN SCOTT PRODUCTIONS
   145207 INC                       1526 FOURTEENTH ST SUITE 102                                                                                                       SANTA MONICA       CA           90404
   639652 DUNLOP DE P R             63 AVE P DE LEON                                                                                                                   SAN JUAN           PR           00917‐1102
   145211 DUNLOP DE PUERTO RICO     PONCE DE LEON 63                                                                                                                   SAN JUAN           PR           00917‐1102
   145212 DUNN & GLASSER ASSOC      PO BOX 1435                                                                                                                        TOMS RIVERA        NJ           08754
   145213 DUNN MD, TYMOTHY          REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   145215 DUNORD TECHNOLOGIES       276 ST JACQUES 703                                                                                                                 MONTREAL           QC           HSY 1N3        CANADA
          DUO CASANOVA DE LA MATA
   639653 INC                       16 CALLE PACIFIC PL                                                                                                                SAN JUAN           PR           00911
          DUO CONDADO JV HOLDINGS                                              208 PONCE DE LEON AVE 19TH
   145219 LLC                       POPULAR CENTER                             FLOOR                                                                                   SAN JUAN           PR           00918
   145222 DUPAY MD , EDWARD R       REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   145223 DUPERE MD , DAVID P       REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   145229 DUPEROY SANTIAGO, BEATRIZ                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   145231 DUPLEX PRODUCTS                             OLD SAN JUAN STATION     PO BOX 15090                                                                            SAN JUAN           PR           00902‐8590
   639654 DUPLEX PRODUCTS INC                         PO BOX 15090                                                                                                     SAN JUAN           PR           00902
   639656 DUPONT AGRICHEMICAL                         PO BOX 3000                                                                                                      MANATI             PR           00674
          DUPONT AGRICULTURAL CARIBE
   639657 IND LTD                                     P O BOX 30000                                                                                                    MANATI             PR           00674‐3000




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          DUPONT HOSPITAL FOR
   145232 CHILDREN                                    PO BOX 269                                                                                                       WILMINTONGTON        DE           19899
   145233 DUPONT INSTITUTE , ALFRED I                 REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          DUPONT PEST & GENERAL
   145234 CONTRACTOR INC                              PO BOX 1547                                                                                                      LARES                PR           00669
   639658 DUPONT PHARMACEUTICAL                       PO BOX 880                                                                                                       CAGUAS               PR           00726
          DUPONT PHARMACEUTICALS
   639659 COMPANY PR                                  CARR 686 KM 2 3                                                                                                  MANATI               PR           00674
  1419611 DUPREY ATRA, SIJAM S.                       ARIEL FELIX CINTRÓN           PO BOX 42007                                                                       SAN JUAN             PR           00940‐2007
   145288 DUPREY TIRE CENTER                          2 RAFAEL SANTIAGO                                                                                                GUAYAMA              PR           00785
          DUPREY TIRE CENTER Y/O JOSE
   639663 M DUPREY                                    PO BOX 549                                                                                                       GUAYAMA              PR           00785

   145314 DUQUELA & ZAPATA LLP                        THE HATO REY CENTER STE 515   268 PONCE DE LEON AVE                                                              SAN JUAN             PR           00918
   145315 DUQUELA BARON MD, JUAN L                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   639664 DURA CARPET STEAM CLEANING                  MINILLA STA                   PO BOX 41196                                                                       SAN JUAN             PR           00940
   639665 DURA PHARMACEUTICAL                         5880 PACIFIC CENTER BDL                                                                                          SAN DIEGO            CA           92121‐4204
   639666 DURALUBE OF PUERTO RICO                     URB PUERTO NUEVO              1164 CALLE BELCAIRE                                                                SAN JUAN             PR           00920
   639667 DURAN & HIJOS                               CARR 653 KM 1 5                                                                                                  ARECIBO              PR           00613
   639668 DURAN EQUIPMENT                             PMB 593                       HC 01 BOX 29030                                                                    CAGUAS               PR           00725
   145360 DURAN FARINE, ALTAGRACIA                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          DURAN GUZMAN MD,
   145377 NORMANDO                                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   639669 DURAN HERMANOS INC                          PO BOX 3065                                                                                                      MAYAGUEZ             PR           00681‐3065

   145380 DURAN HERNANDEZ MD, GAILY                   REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   145464 DURAN REMIGIO, FELICIA                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   145472 DURAN RIVERA, NELSON                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   145499 DURAN TRUCK SHOP                            AMELIA STATION                P O BOX 3265                                                                       CATANO               PR           00963
   145514 DURAN, MANUEL                               REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   145531 DURAND ROLON MD, ROBERTO REDACTED                                         REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   145541 DURBACK MD , MARK A       REDACTED                                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          DURIEUX HERNANDEZ, CARMEN
   145548 L                         REDACTED                                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   145549 DURIEUX MILLAN MD, AMARILIS                 REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   639670 DURO DEVELOPMENT CORP                       1473 WILSON AVE SUITE 501                                                                                        SAN JUAN             PR           00907
   639671 DURO LITE LAMPS                             PO BOX 1893                                                                                                      CAROLINA             PR           00984
          DUST CONTROL SERVICES OF
   145554 PUERTO RICO                                 PO BOX 362048                                                                                                    SAN JUAN             PR           00936‐2048
   145555 DUSTIN E PEREZ GARCIA                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   145558 DUVAL J APONTE MASSAS                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   145563 DUVANIEL MORALEZ PEREZ                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   639672 DUVIGILDO A PEREZ MONEGRO                   URB REXVILLE                  C M 5 CALLE 8                                                                      BAYAMON              PR           00957

   145569 DUVIVIER IRIZARRY, MARGORIE                 REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   639673 DUXBURY SYSTEMS INC                         P O BOX 1504                                                                                                     LITTLETON            MA           01460
   145572 DVI LIQUIDATION TRUST                       PO BOX 8338                                                                                                      ROLLINGS MEADOWS     IL           60008
   145575 DWAITH NEGRON SANTIAGO                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   145576 DWAN I DUCOS ACEVEDO                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  639674 DWANS SANTIAGO TORRES      HC 01 BOX 6304                                                                                                                  STA ISABEL            PR         00757
  639675 DWAYNE ALERS ALVARADO      PO BOX 367015                                                                                                                   SAN JUAN              PR         00936
  145577 DWAYNE MORALES ARROYO      REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  145579 DWIGHT DELGADO DELGADO     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  145580 DWIGHT I FAGUNDO           REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  145581 DWIGHT M. MEDINA DE JESUS  REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  639677 DWIGHT RODRIGUEZ GOITIA    5 RES TORRES DEL RIO                                                                                                            NAGUABO               PR         00718
  639678 DWIGHT RODRIGUEZ ORTA      P O BOX 8285                                                                                                                    SAN JUAN              PR         00910
         DWIGHT S RODRIGUEZ / NORMA
  639679 NEGRON ROSA                BO INGENIO                                  103 CALLE AZUCENA                                                                   TOA BAJA              PR         00951
  639681 DWIGHT THOMAS              PO BOX 209                                                                                                                      TOA BAJA              PR         00952
  145582 DWIGHT URENA SOLER         REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  145584 DYAMARIS COLLAZO RIVERA    REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  145544 DYAN FERNANDEZ MORA        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  639682 DYANA BARRETO BURGOS       JARD LAFAYETTE                              L 2 CALLE B                                                                         ARROYO                PR         00714
  145585 DYANA CARMONA OSORIO       REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  145587 DYANELIZ M CORREA VEGA     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  145588 DYANLEE Y RUIZ CRUZ        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  145589 DYASTUDIO INC              140 ROOSEVELT BUILDING                      AVE F D ROOSEVELT                                                                   SAN JUAN              PR         00917
  639684 DYCIA PAGAN                463 RAFAEL LAMAR                            116 AVE DOMENECH                                                                    SAN JUAN              PR         00918

   145590 DYE MEDIA PRINTING & DESIGN                 VISTAMAR PLAZA SUITE 13                                                                                       RINCON                PR         00677
          DYLAN L BARKS / MILAGROS
   145592 RAMIREZ                                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   145593 DYLAN SANCHEZ                               REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   145594 DYLCIA ACOSTA HERNANDEZ                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   639687 DYLKA E BERMUDEZ REYES                      PO BOX 957                                                                                                    COAMO                 PR         00769

   639688 DYMARIE FIGUEROA GONZALEZ                   BO LLANADAS               2558 CALLE FRANCIA                                                                  ISABELA               PR         00662
   145595 DYMARIS IRIZARRY SANTIAGO                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   145596 DYMARIS VALENTIN MELENDEZ                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   145597 DYMARY CASTRO CARABALLO                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   639689 DYNACAST DE PUERTO RICO                     PO BOX 1867                                                                                                   ARECIBO               PR         00613
   639690 DYNAL BIOTECH INC                           5 DELAWARE DRIVE                                                                                              LAKE SUCCESS          NY         11042
   639691 DYNAMEDICS INC                              90 RIO HONDO AVE 267                                                                                          BAYAMON               PR         00961
   639692 DYNAMIC AUTO SERVICE                        P O BOX 9884                                                                                                  CAROLINA              PR         00988
          DYNAMIC CHIROPRACTIC
   145599 CENTER                                      PO BOX 2958                                                                                                   BAYAMON               PR         002958
   145600 DYNAMIC COMPUTER                            PO BOX 194749                                                                                                 SAN JUAN              PR         00919‐4749
   145601 DYNAMIC COMPUTERS, INC.                     PO BOX 194749                                                                                                 SAN JUAN              PR         00919‐4749
   639693 DYNAMIC ENGINEERS CORP                      P O BOX 1581                                                                                                  TRUJILLO ALTO         PR         00977‐1581
   639694 DYNAMIC GRAPHICS                            PO BOX 1901                                                                                                   PEORIA                IL         61656‐3075
          DYNAMIC INDUSTRIAL
   639695 CONTRACTOR INC                              PO BOX 4159                                                                                                   VEGA ALTA             PR         00694‐4159
   145603 DYNAMIC LEARNING CENTER                     PO BOX 191502                                                                                                 SAN JUAN              PR         00919‐1502
          DYNAMIC LEARNING CENTER,
   145604 INC                                         CITY VIEW II              48 CARR 165 SUITE 2000                                                              GUAYNABO              PR         00968‐8000

   639696 DYNAMIC MICROGRAPHICS INC                   PO BOX 11799                                                                                                  SAN JUAN              PR         00910
   145606 DYNAMIC OPERATIONS CORP                     PO BOX 194000             PMB 172                                                                             SAN JUAN              PR         00919

   145607 DYNAMIC PARKING SOLUTIONS                   PO BOX 79037                                                                                                  CAROLINA              PR         00984‐9087



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  639698 DYNAMIC PRO SERVICE (DPS)                    PO BOX 9024275                                                                                                      SAN JUAN            PR           00902‐4275
  639699 DYNAMIC PRO SERVICES                         PO BOX 192695                                                                                                       SAN JUAN            PR           00919
  145609 DYNAMIC SOLAR SOLUTIONS                      PO BOX 29155                                                                                                        SAN JUAN            PR           00929‐0155
         DYNAMIC TERMITE & PEST
  145610 CONTROL INC                                  PO BOX 6796                                                                                                         CAGUAS              PR           00726‐6796
         DYNAMIC ZONES
  145611 INTERNATIONAL B V                            PO BOX 545                   7500 AM, ENSCHEDE                                                                                                                      THE NETHERLANDS
         DYNAMICS CHIROPRACTIC
  145612 CENTER C                                     PO BOX 2958                                                                                                         BAYAMON             PR           00960

   639700 DYNAMICS CREATIVE GROUP INC PO BOX 70250                                 SUITE 109                                                                              SAN JUAN            PR           00936‐7250
   639701 DYNAMICS GRAPHICS CORP      P O BOX 70250 SUITE 262                                                                                                             SAN JUAN            PR           00936‐7250
   145613 DYNAPHONE INC               PUERTO NUEVO                                 1127 JESUS T PINERO                                                                    SAN JUAN            PR           00920
   145614 DYNAQUIP SERVICE INC        P O BOX 9053                                                                                                                        BAYAMON             PR           00960
   639703 DYNARYN RODRIGUEZ LARA      VILLA PLATA MAMEYAL                          G 17 CALLE 7                                                                           DORADO              PR           00646
   639704 DYNATEC INC                 PO BOX 193438                                                                                                                       SAN JUAN            PR           00919 3438
   639705 DYNAVOX SYSTEM INC          2100 WAARTON ST                              SUITE 400                                                                              PITTSBURGH          PA           15203
   145615 DYNELLE I MASSA RAMIREZ     REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   639706 DYNEX TECHNOLOGIES INC      P O BOX 371261                                                                                                                      PITTSBURGH          PA           15251
   639707 DYNIA A DECHETH             URB BALDRICH                                 315 ALTOS COLL Y TOSTE                                                                 SAN JUAN            PR           00918
   639708 DYNIA CRESPO DIAZ           URB SIERRA BAYAMON                           BLQ 75 40 CALLE 64                                                                     BAYAMON             PR           00961

   639709 DYNORAH R REQUENA GALLEGO                   COND PARK POWER APT 401      A 25 CALLE FRANCISCO SEIN                                                              SAN JUAN            PR           00917‐2412
   145616 DYNORAH VIANA ROSA                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   145619 DYSNYLAND DAY CARE INC                      URB BAIROA                   A S I CALLE 28                                                                         CAGUAS              PR           00725
   639710 DZOARA M LOPEZ LOPEZ                        URB VENUS GARDENS NORTE      AG 6 CALLE SONORA                                                                      SAN JUAN            PR           00926‐4623
   145622 DZUDZA MD, ELDIN                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   145623 DZWINYK MD, JAROSLAW                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   639713 E & C COFFEE BREAK                          PO BOX 6961                                                                                                         BAYAMON             PR           00960
          E & C COMPUTER INC DBA
   145625 COMPUTERLAND                                PO BOX 191692                                                                                                       SAN JUAN            PR           00919‐1692
   145627 E & F DEVELOPMENT INC                       HATO ARRIBA STA              PO BOX 3210                                                                            SAN SEBASTIAN       PR           00685
   639714 E & I FARM INC SE                           PO BOX 978                                                                                                          CAMUY               PR           00627

   639715 E & J VERTICAL BLIND / SR ELIUD PO BOX 1802                                                                                                                     GUAYAMA             PR           00784
   639716 E & M CONSTRUCTION S E          PO BOX 602                                                                                                                      SAN LORENZO         PR           00754

   639717 E & R EQUIPMENT DISTRIBUTOR                 PO BOX 768                                                                                                          MERCEDITA           PR           00715‐0768
   639718 E & S IMPORT                                PO BOX 361995                                                                                                       SAN JUAN            PR           00936‐1995
          E & S SOLUCIONES INTEGRALES
   145628 INC                                         P O BOX 4444                                                                                                        CAROLINA            PR           00984‐4444
   145629 E & V CORP                                  160 COSTA RICA               NUM. 803                                                                               SAN JUAN            PR           00917
   145630 E & V TAX SOLUTIONS INC                     PO BOX 29271                                                                                                        SAN JUAN            PR           00929
   639720 E A CASANOVA                                PO BOX 6584                                                                                                         SAN JUAN            PR           00914
   639719 E A HAKIM CO                                PO BOX 20826                                                                                                        SAN JUAN            PR           00928
   639721 E A INDUSTRIES INC                          PO BOX 1283 SUITE 255                                                                                               SAN LORENZO         PR           00754‐1283
                                                      FIRST FEDERAL BUILDING STE
   639723 E A MALDONADO Y ASOCIADOS                   1411                         1519 AVE PONCE DE LEON                                                                 SAN JUAN            PR           00909

   639724 E A P ASSOCIATION                           C/O MIRIAM RIVERA IRIZARRY   PO BOX 8476                                                                            SAN JUAN            PR           00910‐8476
   145631 E A ROMAN INC                               P O BOX 141851                                                                                                      ARECIBO             PR           00614
   639726 E A S S I                                   PO BOX 1213                                                                                                         CANOVANAS           PR           00729‐1213
   145632 E A S SYSTEMS INC                           P O BOX 482                                                                                                         MERCEDITA           PR           00715‐0482



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   639727 E AND D MANUFACTURERS INC                   PO BOX 4158                                                                                               CAROLINA             PR           00984‐4158
   639728 E ANGLERO CONSTRUCTION                      PO BOX 272                                                                                                SAN JUAN             PR           00926
   639729 E B C INC                                   815 PILOT ROAD                 SUITE A                                                                    LAS VEGAS            NV           89119

   639730 E B P DESIGN GROUP                          EDIF RAIMBOW 3ER PISO          1750 AVE FERNANDEZ JUNCOS                                                  SAN JUAN             PR           00909
   639731 E BIGIO                                     P O BOX 99                                                                                                CAGUAS               PR           00726
   145635 E C A S S CORPORATION                       707 EST DE SAN BENITO                                                                                     MAYAGUEZ             PR           00680‐2283
          E C FINE FOOD / GERRY
   639732 CABANILLAS                                  PO BOX 9977                                                                                               SAN JUAN             PR           00919
   145636 E C FOOD REST                               PO BOX 9023786                                                                                            SAN JUAN             PR           00902‐3786
          E C S EMERGENCY CARE
   639733 SERVICES INC                                PO BOX 907                                                                                                CANOVANAS            PR           00729‐0907
   145637 E C WASTE INC                               P O BOX 1262                                                                                              PENUELAS             PR           00624 1262

   639734 E CALDERON HIDRAULIC SERVICE PO BOX 6038                                                                                                              MAYAGUEZ             PR           00681
                                       CONDOMINIO VICK CENTER OFIC
   145639 E CIVIDANES FREIRA & ASOC    A‐202                       867 AVE. MUNOZ RIVERA                                                                        SAN JUAN             PR           00925
   639735 E CONSTRUCTION               MANSIONES DE RIO PIEDRAS    475 CALLE LIRIOS                                                                             SAN JUAN             PR           00927

   145641 E CYCLING PUERTO RICO CORP                  PO BOX 8830                                                                                               HUMACAO              PR           00792
   145642 E CYCLING PUERTO RICO INC                   CARR PR 3 KM 85 6              SECTOR INDUSTRIAL                                                          HUMACAO              PR           00792
   639736 E D A INC                                   PO BOX 364183                                                                                             SAN JUAN             PR           00936‐4183

   639737 E D DIESEL SHOP/EDWIN VELEZ                 P O BOX 208                                                                                               GURABO               PR           00776
   639738 E D DISTRIBUTORS                            PO BOX 343                                                                                                YAUCO                PR           00698
   639739 E D J SALES                                 1047 AVE HOSTOS                                                                                           PONCE                PR           00716‐1101
          E D MALDONADO & ASSOCIATES
   639740 INC                                         PO BOX 372650                                                                                             CAYEY                PR           00737
   639741 E D MARTINEZ                                P O BOX 494                                                                                               VEGA BAJA            PR           00694
   639742 E D P BUSINESS FORMS INC                    PO BOX 11363                                                                                              SAN JUAN             PR           00922

   145644 E D P GROUP INC                             MSC 554 EL SENORIAL STA        138 WINSTON CHURCHILL AVE                                                  SAN JUAN             PR           00926‐6023
   145646 E DOCS LLC                                  AA 11 EST DE LA FUENTE                                                                                    TOA BAJA             PR           00953
   639743 E E R AUTO INC / ISUZU                      CAPARRA HEIGHTS STA            P O BOX 11847                                                              SAN JUAN             PR           00902

   639744 E E R JR AUTO INC                           CARR 2 KM 121 7 BO CORRALES                                                                               AGUADILLA            PR           00605‐4285
   639751 E ERIC ADAMS                                MIT 48‐216‐B                                                                                              CAMBRIDGE            MA           02139
   639752 E F I TOTAL GYM                             7755 ARJONS DK                                                                                            SAN DIEGO            CA           92126
   639753 E FRANCO & CO                               PO BOX 3046                                                                                               MAYAGUEZ             PR           00681
   639754 E G FARMS INC                               URB RIO HONDO II               AL4 CALLE RIO MAMEYES                                                      BAYAMON              PR           00961
          E G P CONSTROCT / ENRIQUE
   639755 GUILLERMETY PE                              BAYAMON STATION                PO BOX 8824                                                                BAYAMON              PR           00960
   145649 E G PARTS & SERVICES CORP                   HC 3 BOX 14342                                                                                            UTUADO               PR           00641
   639756 E G TAX SERVICE                             PO BOX 391 65                                                                                             TOA ALTA             PR           00954
   639757 E GREENE & COMPANY                          PO BOX 1017                                                                                               CALDWELL             NJ           07007
   639758 E I S                                       P O BOX 4651                                                                                              CAROLINA             PR           00984
   145650 E INGLES BUILDER CORP                       BO CORCOVADA                   RR 4 BUZON 15998                                                           ANASCO               PR           00610
                                                      ER 115 PLAZA SILVESTRE ENTRE
   639759 E ISAI & ASOCIADOS INC                      RIOS                                                                                                      TRUJILLO ALTO        PR           00976
          E J F VEGA BAJA SERV STA /
   145651 TEXACO                                      CARR 2 ESQ MUNOZ RIVERA 1                                                                                 VEGA BAJA            PR           00693




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          E J F VEGA BAJA SERVICE
   639760 STATION                                     URB TINTILLO GARDENS          3 CALLE 6                                                                                GUAYNABO            PR           00966
   639761 E J KRAUSER & ASSOCIATES                    7315 WISCONSIN AVE                                                                                                     BETHESDA            MD           20814
   639762 E J M EXTERMINATING                         VILLA SANTA                   234 CALLE 3                                                                              DORADO              PR           00646
                                                      MARBELLA DEL CARIBE ESTE
   639763 E J PRODUCTIONS INC                         LOCAL 5‐2                     5349 AVE ISLA VERDE                                                                      CAROLINA            PR           00979
   639764 E K C C                                     P O BOX 94620                                                                                                          CLEVELAND           OH           44101‐4620
   639765 E L C S LIGHT PRO                           PO BOX 12                                                                                                              GURABO              PR           00778
                                                      898 AVE MUÐOZ RIVERA SUITE
   145654 E L FILTERS SALES INC                       204                                                                                                                    SAN JUAN            PR           00927
   639766 E L R INC                                   SAN SALVADOR                  B 3 CALLE MARGINAL                                                                       MANATI              PR           00674
   639767 E LEONOR                                    1302 AVE ASHFORD                                                                                                       SAN JUAN            PR           00907
   639768 E M A REALTY                                PO BOX 9024275                                                                                                         SAN JUAN            PR           00902‐4275
   639769 E M AMY & SONS INC                          PO BOX 991                                                                                                             SAN JUAN            PR           00919
   145656 E M BROTHERS INC                            HC 7 BOX 2447                                                                                                          PONCE               PR           00731‐9618

   145657 E M INSURANCEAGENCY CORP                    400 CALLE CALAF               STE 88                                                                                   SAN JUAN            PR           00918
   145658 E M M I                                     PO BOX 6469                                                                                                            SAN JUAN            PR           00914‐6469
   639770 E M PROMOTIONAL PRINTING                    PO BOX 9024275                                                                                                         SAN JUAN            PR           00902‐4275
   639711 E MENDEZ Y CIA INC                          PO BOX 10684                                                                                                           SAN JUAN            PR           00922
          E MORELL‐ RIVERA ARCHITECTS
   639772 & CONSULTANT                                PMB 273 P O BOX 7891                                                                                                   GUAYNABO            PR           00970

          E NNOVATIONS TECHNOLOGIES
   145659 SOLUTIONSYSTEM                              JARD DE MEDITERRANEO          384 CALLE LIBERTAD                                                                       TOA ALTA            PR           00953
   145661 E OSCAR GALENDE JR                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   639773 E P CONTRACTOR INC                          PO BOX 1536                                                                                                            JAYUYA              PR           00664
   639774 E P DISTRIBUTORS                            MANSIONES DE RIO PIEDRAS      1135 HORTENSIA                                                                           SAN JUAN            PR           00926‐7208
   639775 E P I C MEDICAL SUPPLY                      VILLA CAROLINA                147‐2 CALLE 401                                                                          CAROLINA            PR           00985
   639776 E P R ORTHO                                 PO BOX 1687                                                                                                            TOA BAJA            PR           00951
   639777 E Q ANALYTICAL INC                          PO BOX 191843                                                                                                          SAN JUAN            PR           00919‐1843
   639778 E Q K PLAZA CAROLINA L P S P                PO BOX 70146                                                                                                           SAN JUAN            PR           00936
   639779 E Q K PLAZA CAROLINA L.P S P                PLAZA CAROLINA STATION        PO BOX 9000                                                                              CAROLINA            PR           00988‐9000
   639780 E R E C                                     5980 UE 57 TH LOOP                                                                                                     SILVER SPRINGS      FL           34488‐1202

   639781 E R ELECTRICAL CONTRACTORS                  GARDEN HILLS PLAZA S/C 1353   ROAD 19 SUITE 192                                                                        GUAYNABO            PR           00966
          E R M COPIER AND BUSSINES
   145664 EQUIPMENT INC                               136 CALLE VIVEZ                                                                                                        PONCE               PR           00730‐3506
   145665 E REPUBLIC, INC                             100 BLUE RAVINE ROAD                                                                                                   FOLSOM              CA           95630
          E RIVERA & MORALES
   639782 CONSTRUCTION                                P O BOX 747                                                                                                            ADJUNTAS            PR           00601
   639783 E S C A P E                                 PO BOX 2598                                                                                                            GUAYNABO            PR           00970
   639784 E S DISTRIBUTORS                            PO BOX 7508                                                                                                            PONCE               PR           00732
   145667 E S ELECTRONICS                             PO BOX 2478                                                                                                            MOCA                PR           00676
   145668 E S FITNESS PERFORMANCE                     BASE RAMEY                    CALLE A 106                                                                              AGUADILLA           PR           00603
   639785 E S I PUERTO RICO INC                       VILLA NEVAREZ                 358 CALLE 32 SUITE A                                                                     SAN JUAN            PR           00927

   639786 E S P NET INC                               PMB 161                       405 AVE ESMERALDA SUITE 405                                                              GUAYNABO            PR           00969
   145671 E S TELEVISION CORP                         PO BOX 7889                                                                                                            GUAYNABO            PR           00970‐7889
   639787 E S TRANSPORT INC                           MSC 131 2135                  CARR 2 SUITE 15                                                                          BAYAMON             PR           00959‐5259
   639788 E SANCHEZ LEAL                              P O BOX 192998                                                                                                         SAN JUAN            PR           00919‐2998
   145672 E SOLUTIONS INC                             MANS DE CALDAS                6 SAN CARLOS                                                                             SAN JUAN            PR           00926
   639790 E T A G CORP                                PO BOX 9648                                                                                                            CAGUAS              PR           00726‐9648



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  145673 E T C INTERNATIONAL        URB ALTO APOLO                                   2108 CALLE DELFOS                                                         GUAYNABO          PR           00969
  639791 E TORRES AIR CONDITIONING  BO JOBOS                                         BOX 9‐63 CARR 466                                                         ISABELA           PR           00662
  145676 E UMPIERRE SUAREZ CSP      PO BOX 365003                                                                                                              SAN JUAN          PR           00936‐5003
         E V MECHANICAL CONTRACTORS
  639792 INC                        PMB SUITE 390                                    90 AVE RIO HONDO                                                          BAYAMON           PR           00961‐3113

   639793 E VACATIONS CORP                            PLAZA CUPEY GARDENS STE 12 E                                                                             SAN JUAN          PR           00928
                                                      URB. CIUDAD JARDIN CALLE
   145677 E Y M TECHNOLOGY LOCKS                      PASEO DORADO 449                                                                                         CANOVANAS         PR           00729‐0000
          E Y M TECHNOLOGY LOCKS /ERIC
   145678 RIVERA DIAZ                      URB CIUDAD JARDIN                         449 CALLE PASEO DORADO                                                    CANOVANAS         PR           00729
   145679 E Z ACCESOUBC                    HC 4 BOX 8315                                                                                                       AGUAS BUENAS      PR           00703‐8809
   639794 E Z EM CARIBE INC                PO BOX 1267                                                                                                         SAN LORENZO       PR           00754‐1267
   145682 E. MORELL‐ RIVERA                PMB 273 P O BOX 7891                                                                                                GUAYNABO          PR           00970‐7891
          E. Q. K. PLAZA CAROLINA L.P.‐ S.
   145683 P.                               P O BOX 9000                              PLAZA CAROLINA STATION                                                    CAROLINA          PR           00988‐9000
   145684 E. S. ELECTRONIC                 PO BOX 2478                                                                                                         MOCA              PR           00676
   145685 E.A.R., INC.                     CALLE LAFAYETTE 812                       PDA. 21 SANTURCE                                                          SAN JUAN          PR           00909
   145686 E.C. WASTE INC                   P O BOX 607                                                                                                         HUMACAO           PR           00792
   145691 E.D.A., INC.                     PO BOX 364183                                                                                                       SAN JUAN          PR           00936
          E.G.M. SPECIAL REFRIGERATION URB. SANTO TOMAS, 33 CALLE
   145692 COOL                             SAN GABRIEL                                                                                                         NAGUABO           PR           00718‐8200
   145693 E.M ELECRICAL POWER INC.         #711 CALLE 44 FAIRVIEW                                                                                              SAN JUAN          PR           00926
   145694 E.P.S.INC.                       EXT SAGRADO CORAZON                       B 8 CALLE STA BEDA CUPEY                                                  SAN JUAN          PR           00926
                                           K‐0 E STREET REPARTO
   145695 E.Q ANALYTICAL INC               MONTELLANO                                                                                                          CAYEY             PR           00736
                                           REPARTO MONTELLANO K‐O
   145696 E.Q. ANALYTICAL INC              CALLE E                                                                                                             CAYEY             PR           00736

   145697 E.Q.K. PLAZA CAROLINA L.P.‐S.P.             G.P.O. BOX 70146                                                                                         SAN JUAN          PR           00936
   639795 EAGLE COPIER SERV                           URB COUNTRY CLUB               832 CALLE TURPIAL                                                         SAN JUAN          PR           00924
   639796 EAGLE COPIES SERVICE                        MANSIONES DE CAROLINA          NN 52 CALLE 58                                                            CAROLINA          PR           00979
          EAGLE ENVIRONMENTAL SERV
   639798 CORP                                        CALL BOX 2020 SUITE 300                                                                                  BARCELONETA       PR           00617

   145702 EAGLE INSURANCE AGENCY INC                  PMB 359                        PO BOX 70250                                                              SAN JUAN          PR           00936‐8250

   145704 EAGLE SALES & DISTRIBUTORS                  EDIF 14 JULIO N MATOS          CARR 887 KM 0.6                                                           CAROLINA          PR           00987
   145705 EAGLE SPORT INC                             URB CASTELLANA GARDENS         FF 1 CALLE 28                                                             CAROLINA          PR           00983
   639799 EAGLE SUPPORT INC                           PO BOX 9066231                                                                                           SAN JUAN          PR           00906‐6231
   145706 EAGLE TASK FORCE, INC                       PO BOX 2092                                                                                              VEGA ALTA         PR           00692
   145707 EAGLE TELECOMMUNICATION                     AVE. PINERO 1616                                                                                         PUERTO NUEVO      PR           00920
   639800 EAGLE TOOLS MFG CO                          P O BOX 9024275                                                                                          SAN JUAN          PR           00902‐4275
   639802 EAGLE TRAVEL SERVICES                       PO BOX 1676                                                                                              SAN JUAN          PR           00919
          EAGLE TRUCKS & PARTS /DBA/
   639803 ATLANTIC TIRE                               PO BOX 3177                                                                                              BAYAMON           PR           00960
   145710 EAGLE USA AIRFREIGHT                        PO BOX 363566                                                                                            SAN JUAN          PR           00936

   145711 EAGLE VIDEO PRODUCTIONS INC 2201 WOODNELL DRIVE                                                                                                      RALEIGH           NC           27603‐5240

   145712 EAGLE WHOLESALE                             CALLE JOSE JULIAN ACOSTA #13                                                                             VEGA BAJA         PR           00693
   639804 EAP GROUP PRACTICE                          URB IND EL PARAISO             8 CALLE GANGES                                                            SAN JUAN          PR           00926
   639805 EARIS ORTIZ GONZALEZ                        BRISAS DE CUPEY                EDIF 10 APT 146                                                           SAN JUAN          PR           00926



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   639806 EARL DUNLAP              EASTERN KENTUCKY UNIVERSITY                                                                                                              RICHMOND            KY           40475
   639807 EARL O BERGENSEN         22 DORADO BCH E STE 37                                                                                                                   DORADO              PR           00646‐2047
   145713 EARL W SANTIAGO GONZALEZ REDACTED                    REDACTED                                         REDACTED                            REDACTED                REDACTED            REDACTED     REDACTED      REDACTED
   145714 EARNI E RODRIGUEZ AYALA  REDACTED                    REDACTED                                         REDACTED                            REDACTED                REDACTED            REDACTED     REDACTED      REDACTED
          EARTH COMPUTER
   639809 TECHNOLOGIES             SAN JUAN CAPESTRANO         32701 CALLE PERFECTO                                                                                         SAN JUAN            PR           00901
          EARTH MOVERS &
   639810 CONTRACTORES             URB LA RIVIERA              1031 CALLE 3 SO                                                                                              SAN JUAN            PR           00921
          EARTHWALK COMMUNICATIONS
   145716 INC                      BOX 6478                                                                                                                                 CAGUAS              PR           00726
   145717 EAS SYSTEMS , INC.       P. O. BOX MERCEDITA                                                                                                                      PONCE               PR           00717‐0000
   145718 EAS Systems, Inc         PO Box 482 Mercedita                                                                                                                     Ponce               PR           00715‐0482

   145719 EASLEEY N VILLANUEVA PEREZ                  REDACTED                     REDACTED                     REDACTED                            REDACTED                REDACTED            REDACTED     REDACTED      REDACTED
   145720 EAST AIR CONDITIONING INC                   P O BOX 1931                                                                                                          CAROLINA            PR           00984‐1931

          EAST BOSTON NEIGHBORHOOD
   145721 HEALTH CENTER                               10 GOVE ST                                                                                                            EAST BOSTON         MA           02128
          EAST CAROLINA UNIVERSITY
   145722 CASHIER OFFICE                              G120 OLD CAFETERIA COMPLEX   MAIL STOP 230                                                                            FREENVILLE          NC           27858

   639812 EAST COST DEVELOPMENT CORP URB CARIBE                                    A 569 CALLE ALDA OFIC 204                                                                SAN JUAN            PR           00926
   145724 EAST END CLINIC             TUTU PARK MALL                                                                                                                        CHARLOTTE AMALI     VI           00802
          EAST END FAMILY MEDICAL
   145725 CENTER                      PO BOX 503177                                                                                                                         SAINT THOMAS        VI           00805
   639814 EAST JEFFERSON HOSP         PO BOX 60151                                                                                                                          NEW ORLEANS         LA           70160‐0151
   145726 EAST LYME PEDIATRIC CLINIC  170 FLANDERS RD                                                                                                                       NIANTIC             CT           06357
          EAST MILLENNIUM PARK MANG
   639815 CORP                        PO BOX 50059                                                                                                                          SAN JUAN            PR           00902
          EAST ORLANDO CHIROPRACTIC
   145727 CLINIC                      ATTN MEDICAL RECORDS                         7206 CURRY FORD RD                                                                       ORLANDO             FL           32822
   639816 EAST PEDRIATIC SOCIETY      P O BOX 8219                                                                                                                          CAROLINA            PR           00986
          EAST RIVER MED
   639817 ANESTHESIOLOGY              P O BOX 464                                                                                                                           RUTHERFORD          NJ           07070
          EAST TREMONT MEDICAL
   145728 CENTER                      930 3 TREMONT AVE                                                                                                                     BRONX               NY           10460
   639818 EASTER OWENS                6692 FIG STREET ARVADA                                                                                                                COLORADO            CO           80004
          EASTER SEALS REHABILITATION
   145730 CENTER                      158 STATE ST                                                                                                                          MERIDEN             CT           06450
   145731 EASTERLING MD , KENNETH J   REDACTED                                     REDACTED                     REDACTED                            REDACTED                REDACTED            REDACTED     REDACTED      REDACTED
          EASTERN A/C AND
   639819 MAINTENANCE SERV CORP       P O BOX 10115                                                                                                                         HUMACAO             PR           00792‐1120
          EASTERN ADVANCED MEDICAL
   639821 GROUP                       59 CALLE DUFRESNE                                                                                                                     HUMACAO             PR           00791

          EASTERN AMERICA INSURANCE
          COMPANY & BANCO BILBAO                                                   CARRION TAVAREZ LAW OFFICES
  1422667 VIZCAYA ARGENTARIA                          LUIS A. CARRION TAVAREZ      PSC                         650 PLAZA SUITE 204                  650 AVE. MUÑOZ RIVERA   SAN JUAN            PR           00918




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          EASTERN AMERICA INSURANCE
          COMPANY Y BANCO BILBAO
          VIZCAYA ARGENTARIA Y ORTIZ                                            CARRION TAVAREZ LAW OFFICES
  1422668 RODRIGUEZ, ARCADIA                          LUIS A. CARRIÓN TAVÁREZ   PSC                         650 PLAZA SUITE 204                  650 AVE. MUÑOZ RIVERA   SAN JUAN            PR           00918

          EASTERN AMERICA INSURANCE
          COMPANY Y RELIABLE FINANCIAL                                          CARRION TAVAREZ LAW OFFICES
  1422669 SERVICES, INC.               LUIS A. CARRIÓN TAVÁREZ                  PSC                         650 PLAZA SUITE 204                  650 AVE. MUÑOZ RIVERA   SAN JUAN            PR           00918
          EASTERN AMERICA
   639822 INSURANCE.AGENCY INC         PO BOX 193900                                                                                                                     SAN JUAN            PR           00936
          EASTERN AMERICAN INSURANCE
   145740 AGENCY INC                   PO BOX 193900                                                                                                                     SAN JUAN            PR           00919‐3900

          EASTERN AMERICAN INSURANCE,                                           CARRION TAVAREZ LAW OFFICES
  1422670 SCOTIABANK DE PR            LUIS A. CARRION TAVAREZ                   PSC                         650 PLAZA SUITE 204                  650 AVE. MUÑOZ RIVERA   SAN JUAN            PR           00918
          EASTERN ANESTHESIOLGIST
   639823 GROUP                       P O BOX 859                                                                                                                        HUMACAO             PR           00792
          EASTERN ASSOC STUDENT       DAR MOUTH COLLEGE 6024
   639824 FINANCIAL AID ADM           MCNUTT                                                                                                                             HANOVER             NH           03755
   639825 EASTERN BOATS INC           P O BOX 1040                                                                                                                       MILTON              NH           03851
   639826 EASTERN DOGS INC            PO BOX 2019                                                                                                                        LAS PIEDRAS         PR           00771
   145743 EASTERN FOOD SERVICES       OFICINA 6                                 64 AVE CONDADO                                                                           SAN JUAN            PR           00907
          EASTERN LONG ISLAND
   145745 HOSPITAL                    201 MANOR PLACE                                                                                                                    GREENPORT           NY           11944‐1298
   145746 EASTERN MD, JOSEPH          REDACTED                                  REDACTED                     REDACTED                            REDACTED                REDACTED            REDACTED     REDACTED      REDACTED
   639828 EASTERN REALTY SE           PO BOX 909                                                                                                                         FAJARDO             PR           00738‐0909
   639829 EASTERN TRANSPORT           PO BOX 20000 SUITE 250                                                                                                             CANOVANAS           PR           00729
          EASTERN VALIDATION SERVICES
   145747 CORPORATION                 CORREO VILLA PMB 292AA                    2A AVE TEJAS                                                                             HUMACAO             PR           00791

   639830 EASTMAN CHEMICAL COMPANY PO BOX 431                                                                                                                            KINGSPORT           TN           37662
   639831 EASTMAN KODAK COMPANY    4 SCIENCE PARK WEST                                                                                                                   NEW HAVEN           CT           06511

   639832 EASTMAN KODAK CREDIT CORP                   PO BOX 642444                                                                                                      PITTSBURGH          PA           15264 2444
   145750 EASY CAR RENTAL CORP                        P O BOX 141284                                                                                                     ARECIBO             PR           00614
          EASY COMPUTERS
   639835 CORPORATION                                 1155 AVE JESUS T PINERO                                                                                            SAN JUAN            PR           00920
   639837 EASY COPY                                   URB SIERRA BAYAMON        64 16 CALLE 52                                                                           BAYAMON             PR           00962
   639838 EASY EXPRESS PRINT                          PO BOX 245 ST JUST                                                                                                 TRUJILLO ALTO       PR           00978
   639839 EASY FINANCE CORPORATION                    PO BOX 2958                                                                                                        SAN JUAN            PR           00929‐0583
   639840 EASY LIFT EQUIPMENT                         PMB 226                   HC 1 BOX 29030                                                                           CAGUAS              PR           00725‐8900

   145751 EASY LIFT EQUIPMENT SUPPLIES                HC 01 BOX 29030                                                                                                    CAGUAS              PR           00725‐8900
   639841 EASY MEDICAL EQUIPMENT                      URB REPARTO MARQUEZ       B 16 CALLE 1                                                                             ARECIBO             PR           00612
   639842 EASY PRINT & COPY                           PO BOX 20869                                                                                                       SAN JUAN            PR           00928
   639843 EASY RENTAL EQUIPMENT INC                   PO BOX 150                                                                                                         MERCEDITA           PR           00715
   145753 EASY SANTIAGO ALICEA                        BO BONOS SECT EL PALMAR   26 VILLA OLA                                                                             NARAJINTO           PR           000719
   145755 EASY UP, INC.                               PO BOX 8303                                                                                                        SAN JUAN            PR           00910
   145756 EASY WASH ENTERPRISES INC                   2275 AVE BORINQUEN                                                                                                 SANM JUAN           PR           00926

   145757 EASY WASH ENTERPRISES, INC.                 PO BOX 3374                                                                                                        CAROLINA            PR           00984
   145758 EASY WIRELESS LLC                           URBB SANTIAGO IGLESIAS    1428 AVE PAZ GRANELA                                                                     SAN JUAN            PR           00921



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          EATON CORP CUTLER HAMMER
   639844 DE PR INC                                   50 JESUS T PINERO                                                                                                     LAS PIEDRAS         PR           00771‐3123
   145759 EATON CORPORATION                           2000 APOLLO DRIVE                                                                                                     BROOK PARK          OH           44142
          EATON EARLE & OR NYDIA
   145761 RAMOS                                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   639845 EATON VANCE MANAGEMENT                      PO BOX 11885                                                                                                          SAN JUAN            PR           00910‐3855
   145763 EB HOLDING CORP                             PO BOX 29552                                                                                                          SAN JUAN            PR           00929‐0552
          EB OPERATING NUMBER ONE,                    PO BOX 40849 MINILLAS
   145764 INC.                                        STATION                                                                                                               SAN JUAN            PR           00940
   145765 EBA I ROQUE ADORNO                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      21111 BO GUAVATE SECTOR LA
   639847 EBANISTERIA ADALBERTO                       GRUA                                                                                                                  CAYEY               PR           00736
   639848 EBANISTERIA ALMODOVAR                       60 CALLE 25 DE JULIO                                                                                                  SABANA GRANDE       PR           00637
   639849 EBANISTERIA ANGEL                           URB JOSE MERCADO             V75 C CALLE ROOSELVEIT                                                                   CAGUAS              PR           00725
   145766 EBANISTERIA AVANTI                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   639851 EBANISTERIA AYALA                           HC 1 BOX 4529                                                                                                         SABANA HOYOS        PR           00688
   145767 EBANISTERIA BENITEZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   145768 EBANISTERIA BURGOS                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EBANISTERIA CANDITO/PIZARRAS
   639852 ELDARI                       BO CERO GORDO                               BOX 715 CARR 916 KM 3 5                                                                  SAN LORENZO         PR           00754
          EBANISTERIA CRISTALERIA RIO
   639853 PIEDRAS                      PARCELAS FALU                               316 CALLE 32                                                                             SAN JUAN            PR           00924
   639854 EBANISTERIA DOMINICCI        PO BOX 309                                                                                                                           UTUADO              PR           00641
   639855 EBANISTERIA DONES            HC 20 BOX 26717                                                                                                                      SAN LORENZO         PR           00754
   145769 EBANISTERIA EHG INC          HC 6 B OX 13015                                                                                                                      SAN SEBASTIAN       PR           00685
   639856 EBANISTERIA FERRER           URB HILLSIDE                                A 2 AVE CAIMITO                                                                          SAN JUAN            PR           00926 5201
   145770 EBANISTERIA HNOS. GARCIA     REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                       BO RIO ABAJO SECTOR
   639857 EBANISTERIA JUMBO            MELENDEZ                                    CARR 172 ENTRADA KM 10 HM 9                                                              CIDRA               PR           00639
   639858 EBANISTERIA JUNIOR           21 BO SITIO EXT LA PLAYITA                                                                                                           GUAYANILLA          PR           00656
   639859 EBANISTERIA KARINA INC       P O BOX 807                                                                                                                          AGUADA              PR           00602
   639846 EBANISTERIA MALDONADO        HC 3 BOX 5664                                                                                                                        HUMACAO             PR           00791
   639860 EBANISTERIA MARTINEZ         HC 1 BOX 2605                                                                                                                        FLORIDA             PR           00650
   145771 EBANISTERIA MESTEY           REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   145772 EBANISTERIA MUNOZ CORP       P O BOX 9023440                                                                                                                      SAN JUAN            PR           00902‐3440
   639861 EBANISTERIA NEFTALI          HC 72 BOX 6242                                                                                                                       CAYEY               PR           00736
   145773 EBANISTERIA ORMAZA INC.      PO BOX 6022                                 PMB # 11                                                                                 CAROLINA            PR           00984‐6022
   639862 EBANISTERIA ORTEGA           HC 71 BOX 1237                                                                                                                       NARANJITO           PR           00719
   639863 EBANISTERIA ORTIZ            P O BOX 9024275                                                                                                                      SAN JUAN            PR           00902‐4275
                                                                                   U 35‐A CALLE THOMAS
   639864 EBANISTERIA RIOS                            URB JOSE MERCADO             JEFFERSON                                                                                CAGUAS              PR           00725
   639865 EBANISTERIA RIVERA                          U 3 URB JOSE MERCADO                                                                                                  CAGUAS              PR           00725
   639867 EBANISTERIA RODRIGUEZ                       PO BOX 713                                                                                                            OROCOVIS            PR           00720
   639870 EBANISTERIA RODRIGUEZ INC                   PO BOX 1707                                                                                                           TOA BAJA            PR           00951
   639871 EBANISTERIA ROSA INC                        HC 3 BOX 10327                                                                                                        CAMUY               PR           00627‐9708
   639873 EBANISTERIA SANCHEZ                         103 VILLA TAINA                                                                                                       YAUCO               PR           00698
   639875 EBANISTERIA SERRANO                         BO SANTANA 131                                                                                                        ARECIBO             PR           00612
   639876 EBANISTERIA SKYMEN                          HC 1 BOX 4603                                                                                                         VILLALBA            PR           00766
   639877 EBANISTERIA SOTO                            HC 4 BOX 46295                                                                                                        AGUADILLA           PR           00603
                                                      CTRO.COMERCIAL MANUEL A.
   639878 EBANISTERIA TORRES                          PEREZ                        D7 CALLE 50                                                                              SAN JUAN            PR           00923
   639879 EBANISTERIA VAZQUEZ                         PO BOX 1248                                                                                                           TOA ALTA            PR           00954
   145774 EBANISTERIA WILLY BURGOS                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  639880 EBANISTERIA ZAIMARA                          URB CORCHADO                    297 CALLE ACACIAS BOX 317                                                               ISABELA          PR           00662
  145777 EBANO 155 , INC.                             P. O. BOX 1837                                                                                                          GUAYNABO         PR           00970‐1837

   145778 EBAY CONTRACTORS CORP                       COND VICK CENTER                D 304‐867 AVE MUNOZ RIVERA                                                              SAN JUAN         PR           00925
   639881 EBEDE ROSARIO                               PO BOX 50063                                                                                                            SAN JUAN         PR           00902
   145779 EBEL AQUINO FELICIANO                       REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   145780 EBEL M. RODRIGUEZ BENITEZ                   REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   145781 EBEL O BERDECIA LOPEZ                       REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   145782 EBEL RIVERA MARQUES                         REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   145783 EBEL RODRIGUEZ ANDUJAR                      REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   639883 EBEN VIREAS ADAMES                          URB VALLE ARRIBA HEIGHTS        J1 CALLE YAGRUMO                                                                        CAROLINA         PR           00983
   639884 EBENECER LOPEZ RUYOL                        PO BOX 3257                                                                                                             CAROLINA         PR           00984‐3257
   639886 EBENECER RAMOS JIMENEZ                      APARTADO 2032                                                                                                           ARECIBO          PR           00613
   639887 EBENEZER AUTO PARTS                         HC 02 BOX 9119                                                                                                          FLORIDA          PR           00650
          EBENEZER MINI MARKET &
   145784 BAKERY INC                                  PO BOX 761                                                                                                              OROCOVIS         PR           00720
   145785 EBENEZER MORALES BALAY                      REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   639889 EBERLE KUSH                                 34 WASP CIRCLEL                                                                                                         CEIBA            PR           00735
   145787 EBERSOLE MD, DONALD                         REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   145788 EBERTO RODRIGUEZ PINO                       REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   145789 EBI ‐ A BIOMET CO.                          PO BOX 1359                                                                                                             GUAYNABO         PR           00970
   145790 EBI / ELECTROBIOLOGY                        PO BOX 1359                                                                                                             GUAYNABO         PR           00970
   145791 EBISAEL REYES VELAZQUEZ                     REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   145792 EBIZAI RIVERA RODRIGUEZ                     REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   145793 EBJ MEDICAL                                 URB LEVITTOWN 3172              CALLE CRESTA                                                                            TOA BAJA         PR           00949
          EBPDISING GROUP CONSULTING
   639894 ENGINEERS PSC                               207 DEL PARQUE ST               A&M TOWER 4TH FLOOR                                                                     SAN JUAN         PR           00912
   145796 EBRAHIM A FIGUEROA CRUZ                     REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   145797 EBRTO RODRIGUEZ PINO                        REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   145798 EBSCO INDUSTRIES INC                        PO BOX 1081                                                                                                             BIRMINGHAM       AL           35242
   639895 EBSCO INTERNATIONAL                         PO BOX 1081                                                                                                             BIRMINGHAM       AL           35201‐1081
          EBSCO INTERNATIONAL
   639896 SUBSCRIPTION SERV                           P O BOX 1081                                                                                                            BIRMINCHAM       AL           35201‐1081
   639897 EBSCO PUBLISHING                            10 ESTES STREET                 P O BOX 682                                                                             IPWICH           MA           01938

   145802 EBSCO SUBSCRIPTION SERVICES                 PO BOX 1081                                                                                                             BIRMINGHAM       AL           35201‐1081
   145804 EC AUTO DBA                                 HC 58 BOX 13549                                                                                                         AGUADA           PR           00602
   639899 EC BAKERY                                   PO BOX 248                                                                                                              RINCON           PR           00677
   639900 EC CONSTRUCTION INC                         HC 71 BOX 3766                                                                                                          NARANJITO        PR           00719
   145805 EC DISTRIBUTORS CORP                        URB PARCKVILLE                  V17 CALLE ALASKA 2A                                                                     GUAYNABO         PR           00969
          EC MEDICAL EQUIPMENT &
   639901 HOSPITAL SUPPLY                             61 CALLE PEDRO SANTOS                                                                                                   MOCA             PR           00675
                                                      URB MANSIONES DE SANTA
   145807 EC PRODUCTIONS CORP                         PAULA                           8 CALLE A                                                                               GUAYNABO         PR           00969
          EC TECHNO MANUFACTURING
   145808 INC                                         P O BOX 363048                                                                                                          SAN JUAN         PR           00936
   145810 EC WASTE INC                                P O BOX 1262                                                                                                            PEÐUELAS         PR           00624 1262
   145813 ECA GENERAL CONTRACTORS                     3977 AVE MILITAR                                                                                                        ISABELA          PR           00662

   145814 ECA GENERAL CONTRACTORS INC 3977 AVE MILITAR                                                                                                                        ISABELA          PR           00602

                                                      URB. VILLA DELREY SEGUNDA
   145815 ECC CONSTRACTOR, INC.                       SECCION CALLE FLANDES #2 C‐18                                                                                           CAGUAS           PR           00725‐0000



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          ECHANDI GUZMAN & ASSOC.                     EDIF VICK CENTER AFIC. D‐406
   145819 INC.                                        867 AVE. MUNOZ RIVERA                                                                                                  RIO PIEDRAS         PR           00925
          ECHEANDIA FUSTER MD,
   145847 FERNANDO                                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   145859 ECHEANDIA VELEZ MD, JUAN                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ECHENIQUE GASTAMBIDE MD,
   145871 MIGUEL M                                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ECHENIQUE GAZTAMBIDE MD,
   145872 LUIS I                                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   145874 ECHENIQUE MD, IGNACIO                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   145916 ECHEVARRIA ARROYO, MARIA C. REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                     LCDA. ANA D. CAJIGAS MORALES
  1419612 ECHEVARRIA AVILES, EDGAR                    ANA D. CAJIGAS MORALES         P. O. BOX 2111                                                                          AGUADA              PR           00602‐2111
  1419613 ECHEVARRÍA BELBRÚ, SONIA                    GENOVEVA VALENTIN SOTO         PO BOX 13695                                                                            SAN JUAN            PR           00908‐3695
   639904 ECHEVARRIA BUS LINE                         HC 1 BOX 16024                                                                                                         AGUADILLA           PR           00603
          ECHEVARRIA CARDONA MD,
   145943 MARIA D                                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ECHEVARRIA COFINO MD, RENE
   145959 R                                           REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   145965 ECHEVARRIA COLON, CRISTINO                  REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ECHEVARRIA ESCUDERO MD,
   146040 MARIA E                                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ECHEVARRIA MEDINA MD,
   146189 ZORYMAR                                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ECHEVARRIA MIRANDA, MARIA
   146216 M                                           REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1419614 ECHEVARRIA PAGAN, KAVIER                    DAVID VILLANUEVA MATIAS        PO BOX 43 VICTORIA STATION                                                              AGUADILLA           PR           00605
  1419615 ECHEVARRIA RIVERA, KATIRIA                  FRANCISCO TORRES DÍAZ          B‐1 CORCHADO URB PARADIS                                                                CAGUAS              PR           00725
          ECHEVARRIA RODRIGUEZ MD,
   146365 DAMARIS                                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   146395 ECHEVARRIA ROMAN, NANCY                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ECHEVARRIA SANTIAGO MD,
   146420 LUIS A                                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   146437 ECHEVARRIA SANTOS, JOSE A                   REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   146454 ECHEVARRIA SOTO, VIRGINIA                   REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   639905 ECHEVARRIA Y ASOCIADOS                      URB LOS MAESTROS               464 CALLE JOSEFA MENDIA                                                                 SAN JUAN            PR           00923
   639906 ECHLIN                                      101 EL TUQUE IND PARK                                                                                                  PONCE               PR           00731‐7600
          ECHO ELECTRICAL ENGINEERING
   639907 INC                                         HC 866 BPX 9450                                                                                                        FAJARDO             PR           00738
   639908 ECHOVANT INC                                MSC 628                        89 AVE DE DIEGO SUITE 105                                                               SAN JUAN            PR           00927
   146540 ECHOVANT INC.                               MSC # 628‐89 AVE DE DIEGO      SUITE 105                                                                               SAN JUAN            PR           00927
   146541 ECKBERG MD , PETER H                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   639910 ECLAIR STUDIO INC                           157 CALLE SAN JUSTO                                                                                                    SAN JUAN            PR           00901
   146544 ECLECTICO INTL INC                          URB JARDINES DE CAPARRA        H 14 CALLE 15                                                                           BAYAMON             PR           00959
   639911 ECLIPSE                                     AGUADILLA MALL                 CARR 2 LOCAL 31 A                                                                       AGUADILLA           PR           00603
   639912 ECLOTILDE ROSARIO RIVERA                    PO BOX 609                                                                                                             OROCOVIS            PR           00720
   146546 ECLR BAKERY                                 PO BOX 248                                                                                                             RINCON              PR           00677
   146548 ECMIN Z OTERO PADRO                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   639913 ECO ADVENTURES                              PO BOX 194000 SUITE 134                                                                                                SAN JUAN            PR           00917‐4000
   639914 ECO DISTRIBUTORS                            PMB 356                        PO BOX 7999                                                                             MAYAGUEZ            PR           00681‐7999



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   146549 ECO ELECTRICA L P                           PLAZA SCOTIABANK           273 PONCE DE LEON SUITE 902                                                              SAN JUAN            PR           00918
   639915 ECO GAS                                     HC 1 BOX 2939                                                                                                       JAYUYA              PR           00664
   146550 ECO GREEN RECYCLE CORP                      PO BOX 1158                                                                                                         SABANA SECA         PR           00952
          ECO MANAGEMENT&
   639917 MAINTENANCE INC                             URB LULA                    A 12 CALLE 1                                                                            PPONCE              PR           00730
   639918 ECO PLASTIC MEDIA                           397 CALLE POST SUR                                                                                                  MAYAGUEZ            PR           00680
   146551 ECO PROCESS CORP                            PMB 144                     405 AVE ESMERALDA                                                                       GUAYNABO            PR           00969
                                                      PMB 144 ESMERALDA AVR 405
   146552 ECO PROCESS CORPORATION                     SUITE 2                                                                                                             GUAYNABO            PR           00969
   639920 ECO SAFE EXTERMINATING                      URB VILLAS DEL PARANA       S8‐13 CALLE 8                                                                           SAN JUAN            PR           00926
   639921 ECO SECURITY SYSTEMS INC                    PO BOX 191119                                                                                                       SAN JUAN            PR           00919‐1119
                                                      500 CAMINO LOS PIZARROS APT
   146553 ECO SOLUTION MANAGEMENT                     56                                                                                                                  SAN JUAN            PR           00926‐7239
          ECO SPECTRUM TECHNOLOGIES,
  1256425 CORP                                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ECO SPECTRUUM
   146554 TECHNOLOGIES CORP                           GPO BOX 366366                                                                                                      SAN JUAN            PR           00936‐6366
   639922 ECO SYSTEM SECURITY                         PO BOX 191119                                                                                                       SAN JUAN            PR           00919‐1119
   639923 ECO VERTICAL BLINDS                         PO BOX 4924                                                                                                         CAROLINA            PR           00984
   146555 ECO WATER SYSTEM CORP.                      CALLE ACUARELA #1          SUITE 203                     URB. MUNOZ RIVERA                                          GUAYNABO            PR           00969‐3518
   639925 ECO XCURSION AQUATICA                       PO BOX 900                                                                                                          LUQUILLO            PR           00773
   146557 ECOEXPLORATORIO, INC                        D1 CALLE ARTURO RIVERA     GARDEN HILLS                                                                             GUAYNABO            PR           00966
          ECOGUARD GENERAL
   146559 CONTRACTOR INC                              HC 5 BOX 58738                                                                                                      HATILLO             PR           00659
   146560 ECOHCS INC                                  898 AVE MUNOZ RIVERA       OFIC 303                                                                                 SAN JUAN            PR           00927
   146561 ECOHCS, INC                                 HYDE PARK                  CALLE FLANBOYAN 219                                                                      SAN JUAN            PR           00927
   639926 ECOJARDIN INC.                              SANTA ANA                  N 11 CALLE 9                                                                             VEGA ALTA           PR           00692
   146563 ECOJURIS PSC                                URB ROUNDHILLS             185 CALLE GARDENIA                                                                       TRUJILLO ALTO       PR           00976
          ECOLAB MANUFACTURING
   146564 CORPORATION                                 P. O. BOX 1354                                                                                                      DORADO              PR           00646‐0000

   146565 ECOLAB MANUFACTURING INC                    CALL BOX 1354                                                                                                       DORADO              PR           00646‐1354

   146567 ECOLASTICO DIAZ MORALES                     URB VILLA SAN ANTON        L 11 CALLE FLORENTINO ROMAN                                                              CAROLINA            PR           00987

   639927 ECOLASTICO PASCAUAL TORRES URB VILLA PRADES                            834 LLE JOSE QUINTON                                                                     SAN JUAN            PR           00924
                                                                                 REICHARD & ESCALERA MCS       SUITE 1000, AVE. PONCE DE
  1423039 ECOLIFT                                     INEABELLE SANTIAGO CAMACHO PLAZA                         LEÓN #255                                                  HATO REY            PR           00918
   146569 ECOLIFT CORP.                               PO BOX 9477                                                                                                         SAN JUAN            PR           00908
   146570 ECOLIFT CORPORATION                         PO BOX 9477                                                                                                         SAN JUAN            PR           00908
   146571 ECOLOGIC PR INC                             HC 02 BOX 9008                                                                                                      QUEBRADILLAS        PR           00678

   146572 ECOLOGIC PR RECLYCLING INC                  HCO2 BOX 9008                                                                                                       QUEBRADILLAS        PR           00678
   146573 ECOLOGICA CARMELO INC                       PO BOX 1052 STA                                                                                                     SABANA SECA         PR           00952
   639928 ECOLOGICAL SERVICE GRUP                     PARQUE FLAMINGO            157 CALLE DELPHI                                                                         BAYAMON             PR           00959‐4883
   831327 Ecology Services Inc.                       10427 Hickory path way                                                                                              Knoxville           TN           37922
   146575 ECOMUSICLAJE INC                            CAROLINA ALTA              F 25 NATIVIDAD LANDRAU                                                                   CAROLINA            PR           00987
          ECONET SOLUCIONES
   639929 AMBIENTALES                                 352 AVE SAN CLAUDIO        SUITE 360                                                                                SAN JUAN            PR           00926
          ECONO AGUAS BUENAS
   639930 SUPERMARKET INC                             HC 03 BOX 14966                                                                                                     AGUAS BUENAS        PR           00703
   639931 ECONO CANOVANILLAS                          PARQUE ECUESTRE            UA 2 CALLE TINAJERO                                                                      CAROLINA            PR           00987



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                                                      RAUL VARANDELA
  1419616 ECONO CIGARS CORPORATION                    (DEMANDANTE)                PO BOX 194371                                                                           SAN JUAN            PR           00919‐4371
   146579 ECONO COPIAS                                PO BOX 190790                                                                                                       SAN JUAN            PR           00936‐0790
          ECONO COPIAS C/O RAMON
   639932 TANON                                       PO BOX 190790                                                                                                       SAN JUAN            PR           00919
   146580 ECONO FACUNDO                               APT. 191809                                                                                                         HATO REY            PR           00919‐1809
   639933 ECONO JH                                    P O BOX 369                                                                                                         FLORIDA             PR           00650
   639934 ECONO LA NUEVA MINA                         PO BOX 2373                                                                                                         TOA BAJA            PR           00951
   146581 ECONO LAS PIEDRAS                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   639935 ECONO MEGA 2                                P O BOX 1344                                                                                                        SAINT JUST          PR           00976
   639936 ECONO MEGA 65                               PO BOX 1344                 SAINT JUST STATION                                                                      CAROLINA            PR           00978
   639938 ECONO ORSINI                                PO BOX 906                                                                                                          JUANA DIAZ          PR           00795
   639939 ECONO PIEZAS                                HC 72 BOX 4096                                                                                                      NARANJITO           PR           00719
   146582 ECONO PIEZAS AUTO PARTS                     PO BOX 4096                                                                                                         NARANJITO           PR           00719‐9796

   639940 ECONO R & M                                 RES LOS MAESTROS            458 CALLE LUIS M SOUFRONTT                                                              SAN JUAN            PR           00923
   639941 ECONO RIO GRANDE                            A/C LUIS MATTA              PO BOX 776                                                                              RIO GRANDE          PR           00745
   146583 ECONO TOOLS                                 AVE. F D ROOSEVELT 1131     PUERTO NUEVO                                                                            SAN JUAN            PR           00920
   639943 ECONO TOOLS INC                             URB PUERTO NUEVO            1131 AVE ROOSEVELT                                                                      SAN JUAN            PR           00920
   639944 ECONO VENTAS                                URB LA QUINTA               M 36 CALLE 12                                                                           YAUCO               PR           00698
                                                      310 AVE DE DIEGO APARTADO
   146585 ECONOANALITICA INC                          802                                                                                                                 SAN JUAN            PR           00909
          ECONOCARIBE CONSOLIDATORS
   146586 INC                         P O BOX 50154                                                                                                                       TOA BAJA            PR           00950‐0154
   639945 ECONOLIBRO                  1016 AVE PONCE DE LEON                                                                                                              SAN JUAN            PR           00925
          ECONOMETRIC AND STATISTICS
   146587 RESEARCH INC                UPR STATION                                 PO BOX 21758                                                                            SAN JUAN            PR           00931
   639946 ECONOMETRICA INC            LA CUMBRE STE 81                            497 AVE E POLL                                                                          SN JUAN             PR           00926
   146588 ECONOMETRICA INC.           LA CUMBRE                                   SUITE 81 AVE. E. POLL 497                                                               RIO PIEDRAS         PR           00925
          ECONOMETRICS AND STATISTICS
   146590 RESEARCH INC                74 PLAZA DEL PINO                           PARQUE DEL RIO ENCANTADA                                                                TRUJILLO ALTO       PR           00976

          ECONOMIC AND OCCUPATIONAL
   639947 DEVELOPMENT IN            URB NOTRE DAME                                P O BOX 4956 SUITE 325                                                                  CAGUAS              PR           00726‐4956
          ECONOMIC AND STATISTICS
  1259950 ADMINISTRATIONS           BURKE, BRAD                                   1401 CONSTITUTION AVE., NW                                                              WASHINGTON          DC           20230
   146593 ECONOMIC AUTO PART        HC 1 BOX 5996                                                                                                                         AGUAS BUENAS        PR           00703
          ECONOMIC CONSTRUCTION
   146594 CORP                      P O BOX 360417                                                                                                                        SAN JUAN            PR           00936‐0417
          ECONOMIC PAINT
   639948 SERVICE/DBA/MANAEN        PO BOX 9198                                                                                                                           CAROLINA            PR           00988‐9198
   639949 ECONOMIC PRODUCTS CORP    CAPARRA HEIGHTS STA                           PO BOX 10455                                                                            SAN JUAN            PR           00922
   146595 ECONOMICO DISTRIBUTOR     HC 02 Box 8047                                                                                                                        Santa Isabel        PR           00757
   146596 ECONOMICO DISTRIBUTORS    HC 01 BOX 8047                                                                                                                        SANTA ISABEL        PR           00757‐9775

   639950 ECONOMIST INTELLIGENCE UNIT                 111 WEST 57TH STREET                                                                                                NEW YORK            NY           10019 2211
   639951 ECONOMUEBLES INC                            P O BOX 10719                                                                                                       PONCE               PR           00732 0719
          ECONOMY BARBER & BEAUTY
   639952 SUPPLY                                      URB SAN AGUSTIN             3 CALLE MARGINAL                                                                        SAN JUAN            PR           00923
   639954 ECONOMY CAR CARE                            867 CALLE VICTOR LOPEZ                                                                                              SAN JUAN            PR           00940
   639955 ECONOMY CORP                                LEVITTOWN                   1826 AVE DEL VALLE                                                                      TOA BAJA            PR           00949
          ECONOMY INTERNATIONAL
   639956 SERVICES                                    P O BOX 1247                                                                                                        SAN JUAN            PR           00919



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  146598 ECONOMY PRESS LLC                            PO BOX 364983                                                                                                       SAN JUAN          PR           00936‐4983
  639957 ECONOMY PRESS SERV INC                       PO BOX 8715                                                                                                         BAYAMON           PR           00960
  146599 ECONOMY PRESS, LLC                           URB. ESTANCIA DE TORRIMAR     CALLE CAOBA #67                                                                       GUAYNABO          PR           00966
         ECONOMY SERV AND BUSINESS
  639958 MACHINE                                      URB ALT DE PARQUE ECUESTRE    326 CALLE FERPIER                                                                     CAROLINA          PR           00987
  639959 ECONOMY SUPERETTE                            COTTO LAUREL                  PO BOX 561                                                                            PONCE             PR           00780
  146602 E‐CONTACT SOLUTIONS CORP                     39 FRANCES STREET STE 505                                                                                           GUAYNABO          PR           00968
         ECORECURSOS COMUNITARIOS
  146603 INC                                          P O BOX 686                                                                                                         CAGUAS            PR           00726‐0686
  146604 ECOSMART US, LLC                             3315 NW 167TH ST                                                                                                    MIAMI GARDENS     FL           33056
  146605 ECOSS INC                                    RR 36 BOX 1430                                                                                                      SAN JUAN          PR           00926
         ECOSTAHLIA CONSULTORES
  146606 AMBIENTALES                                  CAPARRA HEIGHTS STATION       PO BOX 11613                                                                          SAN JUAN          PR           00922‐1613

   146607 ECOWORDS LLC                                COND MONTE DE LOS FRAILES     APT 616 UNIDAD 7                                                                      GUAYNABO          PR           00971

   146608 ECOWORDS, LLC                               COND MONTE DE LOS FRAILES     APTO. 616                                                                             GUAYNABO          PR           00971
   146609 ECP DISTRIBUTORS INC                        P O BOX 364501                                                                                                      SAN JUAN          PR           00936‐4501
   146611 ECR CONSULTING PSC                          COND VILLAS DE GUAYNABO       52 BETANCE BOX 14                                                                     GUAYNABO          PR           00969

   146612 ECR TRANSPORT INC.                          CARR. 865 KM 3.2 CANDELARIA                                                                                         TOA BAJA          PR           00949
   146614 ECS BIOMEDICAL, INC.                        CALLE ESTANCION 1‐BPMB 46                                                                                           VEGA ALTA         PR           00692
   639960 ECTIS A VELAZQUEZ                           VISTA BELLA                   P 50 CALLE RENO                                                                       BAYAMON           PR           00956
   146616 ECUTEC INC                                  P O BOX 16552                 CONDADO                                                                               SAN JUAN          PR           00908
   146618 E‐CYCLING PR INC                            PO BOX 8830                                                                                                         HUMACAO           PR           00792‐8830
   146619 E‐CYCLING PUERTO RICO INC                   PO BOX 8830                                                                                                         HUMACAO           PR           00792‐8830
   146621 ED DE JESUS RIVERA                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   639962 ED JIMENEZ OLIVIERI                         URB LOIZA VALLEY              S 674 CALLE ADONIS                                                                    CANOVANAS         PR           00729
   146626 ED MEDIA PARTNERSHIP                        PMB 291                       35 JUAN C BORBON STE 67                                                               GUAYNABO          PR           00969‐5375
   146627 ED SALDANA ZAMBRANA                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   639963 ED STEMAR TEXACO INC                        ALTURAS DE FLAMBOYAN          D5 CALLE 5                                                                            BAYAMON           PR           00959
   639965 EDA ACOSTA RAMOS                            PO BOX 9022554                                                                                                      SAN JUAN          PR           00902‐0000

   639966 EDA ECHANDY LOPEZ                           URB EXT JARDINES DE ARROYO    11 CALLE D C                                                                          ARROYO            PR           00714
   146629 EDA FERNANDEZ COLLAZO                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   639967 EDA I AVILES HERNANDEZ                      P O BOX 1219                                                                                                        TOA ALTA          PR           00954
   639968 EDA I MONTALVO                              P O BOX 656                                                                                                         SABANA GRANDE     PR           00637
   146630 EDA JIMENEZ ORTIZ                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   639969 EDA L CUEVAS RIVERA                         HC 1 BOX 4739                                                                                                       CAMUY             PR           00627
   146631 EDA L SANCHEZ CARRERAS                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146632 EDA LEON RODRIGUEZ                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   639972 EDA LOPEZ CORTEZ                            SUNNY HILL                    AD 66 CALLE 1                                                                         BAYAMON           PR           00956
   639973 EDA M GAYA NIGAGLIONI                       PO BOX 192878                                                                                                       SAN JUAN          PR           00919‐2878
   146633 EDA M SANDIN QUIJANO                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146634 EDA MARIEL AYALA MORALES                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   639975 EDA N CRUZ CASIANO                          PO BOX 366834                                                                                                       SAN JUAN          PR           00936‐6834
   146636 EDA NOGUERAS CAMACHO                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
                                                      URB LOS CAMPOS DE
   639964 EDA ORTIZ BEY                               MONTEHIEDRA                   772 CALLE VALLE DE LAJAS                                                              SAN JUAN          PR           00926
   146637 EDA PIZARRO HANCE                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   639976 EDA TOLENTINO SANTANA                       RES GALATEO                   EDF B APT 126                                                                         RIO GRANDE        PR           00745
   639979 EDAIN PACHECO VELEZ                         HC 3 BOX 14872                                                                                                      YAUCO             PR           00698
   146638 EDAINA MORALES TAPIA                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  639980 EDAIRIN CRUZ SANTIAGO                        VILLA DEL CARMEN          HH 63 CALLE 14                                                                     PONCE               PR         00731
  146639 EDALIA PEREZ ARROYO                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  639981 EDALINA LIND DAVILA                          URB SANTA JUANITA         EN 37 CALLE BOABAL                                                                 BAYAMON             PR         00956

   639982 EDALISH RODRIGUEZ SALCEDO                   3 CALLE ANDINO GONZALEZ                                                                                      ARECIBO             PR         00612
   146640 EDALISSE OJEDA RIVERA                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   146641 EDALISSE REYES FERNANDEZ                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   146642 EDALIZ FERRER QUINONES                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      BO JUAN SANCHEZ SEC LOS
   639983 EDALIZ PADILLA                              BURGOS                    BZN 50                                                                             BAYAMON             PR         00959
   146643 EDALIZ SANTIAGO LOPEZ                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   146645 EDAMIRNA DE JESUS ARNAU                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639984 EDARI INC                                   1565 EDIF RIGHT FIELD     CARR 2                                                                             BAYAMON             PR         00959‐8027
   146646 EDBERTO MORALES ROLON                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   146647 EDCOUNT, INC.                               5335 WISCONSIN AVE. NW    SUITE 440                                                                          WASHINGTON          DC         20015
   146648 EDDA A PIZARRO LASANTA                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639987 EDDA BARBOSA GONZALEZ                       4 EASTBOURNE CRSNT                                                                                           PATCHOGUE           NY         11772
          EDDA BOCANEGRA Y VICTOR
   146649 ENCARNACION                                 REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   146650 EDDA C GONZALEZ VELEZ                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   146651 EDDA C PICON ARZOLA                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639990 EDDA COLON                                  JARD DE PONCE             H22 CALLE D                                                                        PONCE               PR         00731
   146652 EDDA DIAZ DE ECHEVARRIA                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639991 EDDA E CRUZ SANTIAGO                        URB EL PARAISO            126 CALLE AMAZONAS                                                                 SAN JUAN            PR         00926
   146653 EDDA E PARES MOTERO                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDDA ENID GONZALEZ
   146656 MALDONADO                                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639992 EDDA FERRE TORRES                           URB MONTE CARLO           1249 CALLE 1                                                                       SAN JUAN            PR         00924‐5201
   146657 EDDA GARCIA RODRIGUEZ                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639993 EDDA GONZALEZ DIAZ                          URB SABANERA DEL RIO      308 CAMINO LAS PALMAS                                                              GURABO              PR         00778
   639994 EDDA I BANCHS SANDOVAL                      PO BOX 9020781                                                                                               SAN JUAN            PR         00902‐0781
   639995 EDDA I DIAZ ORTEGA                          URB CUPEY GARDEN          G2 CALLE 4                                                                         SAN JUAN            PR         00926
   639996 EDDA I LEBRON HERNANDEZ                     PO BOX 1362                                                                                                  AGUADILLA           PR         00605‐1362
   146659 EDDA I ROSARIO RAMOS                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   146660 EDDA I SANTIAGO RODRIGUEZ                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDDA IVETTE SANTIAGO
   146661 RODRIGUEZ                                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639998 EDDA J BARRIOS MARTINEZ                     PO BOX 660                                                                                                   GUANICA             PR         00653
   639999 EDDA J MALDONADO                            PO BOX 560737                                                                                                GUAYANILLA          PR         00656
   640000 EDDA L OJEDA OJEDA                          SANS SOUCCI               R 17 CALLE 7                                                                       BAYAMON             PR         00957
   146663 EDDA LIS MARTINEZ CALEZ                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   146665 EDDA M AGUIRRE SANTOS                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   146666 EDDA M BRASCHI CEDO                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   146667 EDDA M CRUZ ECHEVARRIA                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   146669 EDDA MALDONADO CARTAGENA REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640005 EDDA MURIEL CASTRO       BO SABANA ABAJO                              KM 4 2                                                                             CAROLINA            PR         00984
   146670 EDDA N ALBINO FONSECA    REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   639986 EDDA OLMEDO ALMODOVAR    45 CALLE BALDORIOTY                                                                                                             SABANA GRANDE       PR         00637
   146671 EDDA QUINTERO CUCURELLA  REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640006 EDDA R AVILES CARTAGENA  P O BOX 1621                                                                                                                    OROCOVIS            PR         00720
   640007 EDDA R RIVERA RIVERA     URB SANTA JUANITA                            BD 2 CALLE JALISCO                                                                 BAYAMON             PR         00956



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  640008 EDDA RIOS APONTE                             13536 TURTLE MARSH LOOP   APT 533                                                                                 ORLANDO             FL         38237
  146672 EDDA RIVERA RIVERA                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  146673 EDDA RIVERA VALENTIN                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   640009 EDDA SANTIAGO MALDONADO                     VILLA MADRID              D 11 CALLE 10                                                                           COAMO               PR         00769

   640010 EDDA SEGARRA DE GONZALEZ                    VILLA NEVAREZ             1130 CALLE 9                                                                            SAN JUAN            PR         00927
   640011 EDDA SERRANO BLASINI                        630 AVE SAN PATRICIO      107 THE FLS                                                                             GUAYNABO            PR         00966
   640014 EDDA W BURGOS                               197 BDA CARMEN                                                                                                    SALINAS             PR         00751
   640015 EDDALYS NARVAEZ NEGRON                      HC 02 BOX 5721                                                                                                    MOROVIS             PR         00687
   640016 EDDAMAR TRAVEL                              PO BOX 1323                                                                                                       HATILLO             PR         00659
   146674 EDDER GONZALEZ ACOSTA                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          EDDIA GERALDYN CARMONA
   146676 PRESTON                                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   640018 EDDIA L MARTINEZ RODRIGUEZ                  P O BOX 718                                                                                                       ARROYO              PR         00714

   640019 EDDIBER BORGES RODRIGUEZ                    BO SAN ILDEFONSO          CARR 5559 KM 0 7                                                                        COAMO               PR         00769
   146677 EDDIBER J BORGES ORTIZ                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   146678 EDDID N SILVA RETEGUIS                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   146679 EDDIE A ADORNO BAEZ                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   640023 EDDIE A ARROYO FERRER                       PARKVILLE                 B 19 ADAMS                                                                              GUAYNABO            PR         00969
   640024 EDDIE A BARROSO PEREZ                       BARRIO MAMEYAL            CALLE CENTRAL 2 F            PO BOX 505                                                 DORADO              PR         00646
   640025 EDDIE A BONILLA GONZALEZ                    URB VILLA CAROLINA        24‐33 APT 2 CALLE 5                                                                     CAROLINA            PR         00982
   146680 EDDIE A CLAUDIO LOPEZ                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   146681 EDDIE A COSS RIVERA                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   146682 EDDIE A GARCIA FUENTES                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   640026 EDDIE A GARCIA RODRIGUEZ                    URB VILLAS DE RIO         GRANDE V 44 CALLE 11                                                                    RIO GRANDE          PR         00745
   640021 EDDIE A GONZALEZ DE JESUS                   BDA POLVORIN              17 CALLE 12                                                                             CAYEY               PR         00736
   146684 EDDIE A GONZALEZ MALAVE                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   640027 EDDIE A HERNANDEZ ROSARIO                   URB BRISAS DE AIBONITO    75 CALLE TRINITARIA                                                                     AIBONITO            PR         00705
   146686 EDDIE A MATOS RIVERA                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   146687 EDDIE A MORALES GONZALEZ                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   640029 EDDIE A ORTIZ ZAYAS                         PO BOX 510                                                                                                        AIBONITO            PR         00705
   640030 EDDIE A PAGAN VELEZ                         HC 01 BOX 4115                                                                                                    LARES               PR         00669
   146688 EDDIE A PENA SANTIAGO                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   640032 EDDIE A RIOS BENITEZ                        PADRE RUFO                7604 FLORAL PARK                                                                        SAN JUAN            PR         00918
   146689 EDDIE A RIVERA DELGADO                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   640033 EDDIE A RODRIGUEZ ORTIZ                     REPTO TERESITA            AY 14 CALLE 47                                                                          BAYAMON             PR         00961
   640034 EDDIE A RODRIGUEZ RAMOS                     PO BOX 1011                                                                                                       PATILLAS            PR         00723
   640035 EDDIE A ROSAS SANCHEZ                       REPTO METROPOLITANO       1161 CALLE 48 SE                                                                        SAN JUAN            PR         00925
   146690 EDDIE A SANCHEZ SERRANO                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   640036 EDDIE A SANTANA VICENTI                     HC 1 BOX 4027                                                                                                     ARROYO              PR         00714
   146691 EDDIE A SANTIAGO CRUZ                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   146694 EDDIE A VELAZQUEZ VENTURA                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   146695 Eddie A. Nazario Pardo                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   146697 EDDIE A. SANTINI SANTIAGO                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   640037 EDDIE ABREU RAMOS                           URB LOS MAESTROS          4 CALLE FERNANDO RODRIGUEZ                                                              ADJUNTAS            PR         00601
   640038 EDDIE ADORNO SANCHEZ                        RR 6 BOX 10705                                                                                                    SAN JUAN            PR         00926




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   146699 EDDIE ALEXIS VAZQUEZ MUNIZ                  REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   146700 EDDIE ALICEA GALARZA                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   640039 EDDIE ALICEA OYOLA                          PO BOX 2748                                                                                                     CIDRA                PR         00739
   640040 EDDIE AMELY AYALA                           PARC SOLEDAD                 BOX 513 CARR 342                                                                   MAYAGUEZ             PR         00680
   640042 EDDIE ART IRON WORK                         CANDELERO ARRIBA             HC 02 BOX 11539                                                                    HUMACAO              PR         00791
   640043 EDDIE AUTO AIR & PARTS                      155 NORTE CALLE CALIMANO                                                                                        GUAYAMA              PR         00784
   640044 EDDIE AUTO REPAIR                           BOX 510                      CARR 2                                                                             MANATI               PR         00674

   640045 EDDIE AVILES FELICIANO                      PMB 173 405 AVE ESMERALDA    STE 2                                                                              GUAYNABO             PR         00969‐4457
   640046 EDDIE B COLON BONILLA                       SAVARONA                     24 CALLE JIMENEZ CRUZ                                                              CAGUAS               PR         00725
   146703 EDDIE BARBOSA FELICIANO                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   640047 EDDIE BARROS                                P O BOX 66                                                                                                      LAS MARIAS           PR         00670
   146705 EDDIE BERRIOS ROBLES                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   640049 EDDIE BURGOS AGOSTO                         BOX 623                                                                                                         VILLALBA             PR         00766
          EDDIE BURGOS/DAISY
   146706 BURGOS/GERARDO BURGOS                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
          EDDIE C FIGUEROA Y JORGE L
   640050 FIGUEROA                                    P O BOX 8672                                                                                                    HUMACAO              PR         00792
   146707 EDDIE CAMACHO ALERS                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   146708 EDDIE CANCEL RIVERA                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   640052 EDDIE CARO MORALES                          P O BOX 173                                                                                                     SABANA SECA          PR         00952
   640053 EDDIE CASTRO ROSA                           VICTORIA STATION             PO BOX 737                                                                         AGUADILLA            PR         00605
   146711 EDDIE CHRISTOPHER ERAZO                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   640055 EDDIE COLON CAMACHO                         URB LEVITTOWN                2220 PASEO ALPES                                                                   TOA BAJA             PR         00949
   146712 EDDIE CORDERO CHAPARRO                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   146713 EDDIE CORDERO MARTINEZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   640056 EDDIE CORDERO VARELA                        BO LLANADAS                  BZN 4‐215 A                                                                        ISABELA              PR         00662
   640057 EDDIE CORREA ABREU                          HC 2 BOX 10907                                                                                                  SAN LORENZO          PR         00754
   146714 EDDIE COSS MARTINEZ                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
          EDDIE CRESPO VALENTIN/
   146715 ENERGIA Y SOL PR                            REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   640058 EDDIE CRUZ MARCANO                          UNID. ALCOHOLISMO Y DESINT                                                                                      Hato Rey             PR         009360000
   146716 EDDIE CRUZ MARCIAL                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   640059 EDDIE CRUZ QUILES                           PO BOX 211                                                                                                      CIDRA                PR         00739
   146717 EDDIE CRUZ RODRIGUEZ                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   640060 EDDIE CRUZ SANDOVAL                         PO BOX 5187                                                                                                     VEGA ALTA            PR         00692
   640062 EDDIE D MOJICA ZAYAS                        HILL BROTHERS                420 C/ 25                                                                          SAN JUAN             PR         00924
   146718 EDDIE D. PAGAN RODRIGUEZ                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   146719 EDDIE DAVILA MARRERO                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   640064 EDDIE DE JESUS HERNANDEZ                    RIO PIEDRAS HEIGHTS          193 SAN LORENZO                                                                    SAN JUAN             PR         00926
   640065 EDDIE DIAZ GARCIA                           VILLA PALMERAS               319 CALLE TAPIA                                                                    SAN JUAN             PR         00913
   146720 EDDIE DIAZ LOPEZ                            REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   146721 EDDIE DIAZ RIVERA                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   146722 EDDIE E AVILES PEDROZA                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   146724 EDDIE E JIMENEZ ORTIZ                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   146725 EDDIE E LOZADA RIVERA                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   640068 EDDIE E TORO VELEZ                          URB MILAVILLE                99 CALLE QUENEPA                                                                   SAN JUAN             PR         00925
   146727 EDDIE E TORRES MARTINEZ                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
          EDDIE ERNESTO BARRETO
   146728 SALGADO                                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   146729 EDDIE ESPIET RIVERA                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED



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  640069 EDDIE FELICIANO CASTRO                       PMB 412                   PO BOX 43002                                                                    RIO GRANDE        PR         00745
  640070 EDDIE FELICIANO COLON                        HC 1 BOX 2418                                                                                             JAYUYA            PR         00664‐9702
  640071 EDDIE FIGUEROA                               P O BOX 9021112                                                                                           SAN JUAN          PR         00902
  146730 EDDIE FIGUEROA MIRANDA                       REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  146733 EDDIE FLORRES DE JESUS                       REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  146734 EDDIE FUENTES GALARZA                        REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  640074 EDDIE GARCIA MALDONADO                       P O BOX 531                                                                                               SAN GERMAN        PR         00683
  640075 EDDIE GEIGEL                                 BDA BITUMUL               661 CALLE B                                                                     SAN JUAN          PR         00917
  640076 EDDIE GONZALEZ                               910 COND MUNDO FELIZ                                                                                      CAROLINA          PR         00979
  146735 EDDIE GONZALEZ COLON                         REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  640078 EDDIE GONZALEZ FONTANE                       169 CALLE PARAGUAY                                                                                        SAN JUAN          PR         00917
  146736 EDDIE GONZALEZ FRANCO                        REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  146738 Eddie Gonzalez Salgado                       REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  640079 EDDIE GONZALEZ SANTANA                       PO BOX 1305                                                                                               LUQUILLO          PR         00773
  146739 EDDIE GONZALEZ VARGAS                        REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  146740 EDDIE H DIAZ COLON                           REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   640082 EDDIE HERNANDEZ HERNANDEZ                   BO CAMASEYES              HC 01 BOX 11425                                                                 AGUADILLA         PR         00603‐9317
   146741 EDDIE HERNANDEZ MUNIZ                       REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640083 EDDIE HERNANDEZ RIOS                        22 AVE SEVERIANO CUEVAS                                                                                   AGUADILLA         PR         00603‐5706
   640084 EDDIE HERNANDEZ SANTANA                     P O BOX 1711                                                                                              SAN GERMAN        PR         00683
   640085 EDDIE HERNANDEZ TORRES                      URB SANTA ROSA            41‐11 CALLE 23                                                                  BAYAMON           PR         00959
   146742 EDDIE I ROSA SANTORY                        REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   146743 EDDIE INESTA QUINONES                       REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640086 EDDIE IRIZARRY JUSINO                       HC 2 BOX 18881                                                                                            LAJAS             PR         00667
   146744 EDDIE IVAN ROSA SANTORY                     REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640087 EDDIE J COLON BATISTA                       VILLA PALMERAS            381 CALLE COLTON                                                                SAN JUAN          PR         00915
   640088 EDDIE J DIAZ RIVERA                         MATIENZO CINTRON          558 CALLE LAVIANA                                                               SAN JUAN          PR         00923
   146745 EDDIE J FONSECA CINTRON                     REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   146746 EDDIE J FUENTES MOLINA                      REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   146747 EDDIE J GONZALEZ MORALES                    REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   146748 EDDIE J GONZALEZ QUILES                     REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640090 EDDIE J GONZALEZ VADI                       HC 03 BOX 9306                                                                                            MOCA              PR         00676
   146749 EDDIE J HERNANDEZ FLORES                    REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   146750 EDDIE J JIMENEZ MEDINA                      REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   146751 EDDIE J MORALES RODRIGUEZ                   REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   146752 EDDIE J ROLON REYES                         REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   146753 EDDIE J RUIZ CRUZ                           REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   146754 EDDIE J SAGARDIA MELENDEZ                   REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   146755 EDDIE J TORO MORALES                        REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   146756 EDDIE JAVIER RIVERA RAMOS                   REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   146757 EDDIE JIMENEZ MOJICA                        REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   146758 EDDIE JURADO RIVERA                         REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EDDIE L SANCHEZ Y LILLIAN
   146759 BARRETO PEREZ                               REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640092 EDDIE LABOY NIEVES                          RR 01 BOX 6120                                                                                            GUAYAMA           PR         00784
   640093 EDDIE LATORRE ORTEGA                        PO BOX 5345                                                                                               SAN SEBASTIAN     PR         00685
   146760 EDDIE LEON RODRIGUEZ                        REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   146761 EDDIE LLANOS HANCE                          REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640095 EDDIE LLANOS ORTEGA                         255 CALLE ROSARIO                                                                                         SAN JUAN          PR         00936
   146762 EDDIE LOPEZ ALONSO                          REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   146763 EDDIE LOPEZ RAMOS                           REDACTED                  REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  640096 EDDIE LOPEZ ROSARIO                          HC 02 BOX 7341                                                                                                    QUEBRADILLA       PR           00678‐9500
         EDDIE LOPEZ VELEZ Y EILLEN
  146764 OTERO PABON                                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  640099 EDDIE LOZADA AQUINO                          BO GUAVATE 22550                                                                                                  CAYEY             PR           00736
  146765 EDDIE LOZANO LOPEZ                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  640100 EDDIE LOZANO NIEVES                          P O BOX 444                                                                                                       NAGUABO           PR           00718
  640101 EDDIE LUGO CORDERO                           BO COLOMBIA                234 CALLE GENERAL PATTON                                                               MAYAGUEZ          PR           00680
  640102 EDDIE LUIS OCASIO BELTRAN                    357 CALLE LUNA LOCAL 103                                                                                          SAN JUAN          PR           00903
  640103 EDDIE M ARMSTRONG INC                        PO BOX 361175                                                                                                     SAN JUAN          PR           00936
  640104 EDDIE M BAUZO OTERO                          LOIZA VALLEY               B 119 JAZMIN                                                                           CANOVANAS         PR           00729
  640105 EDDIE M CRUZ ALVARADO                        APARTADO 1339                                                                                                     COAMO             PR           000769
  146766 EDDIE M CRUZ DEL VALLE                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  640106 EDDIE M CRUZ GOMEZ                           HC 1 BOX 11430                                                                                                    HUMACAO           PR           00791
  146767 EDDIE M DEL VALLE                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  146768 EDDIE M GARCIA TORRES                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  146769 EDDIE M GONZALEZ IBANEZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  640108 EDDIE M RODRIGUEZ LOPEZ                      HC 10 BOX 8567                                                                                                    SABANA GRANDE     PR           00637
  146770 EDDIE M RUIZ IRIZARRY                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  640109 EDDIE M SAEZ ORTIZ                           P O BOX 822                                                                                                       NARANJITO         PR           00719
         EDDIE MALDONADO
  146771 ECHEVARRIA                                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  146772 EDDIE MARTINEZ ABRAHAM                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  640111 EDDIE MARTINEZ CRUZ                          HC 71 BOX 2430                                                                                                    NARANJITO         PR           00719‐9706
  146773 EDDIE MARTINEZ MONTANEZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  640112 EDDIE MATOS MONTESINO                        BO DOS BOCAS 1             APARTADO 215                                                                           COROZAL           PR           00783
  640113 EDDIE MEDINA RUIZ                            HC3 BOX 17100                                                                                                     LAJAS             PR           00667‐9620
  640117 EDDIE MERCADO CASIANO                        HC 1 BOX 26                                                                                                       SABANA GRANDE     PR           00637
  146775 EDDIE MORALES CARDONA                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  640120 EDDIE MORENO LORENZO                         HC 1 BOX 4308                                                                                                     RINCON            PR           00677
  640121 EDDIE MORENO MARTINEZ                        URB SEVERO QUI¥ONES        CALLE PEREZ VILLEGAS FF14                                                              CAROLINA          PR           00985
  640122 EDDIE MURPHY MONSERRATE                      COND SANDY HILLS           APTO 7 FE                                                                              LUQUILLO          PR           00773
  640123 EDDIE N CRESPO CORTES                        HC 06 BOX 68239                                                                                                   AGUADILLA         PR           00603‐9859

   640124 EDDIE N DEL VALLE HERNANDEZ URB VICTORIA                               64 TULIPAN                                                                             AGUADILLA         PR           00603

   146778 EDDIE N HERNANDEZ CUBERO                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   640126 EDDIE N HERNANDEZ ORTIZ                     URB VICTORIA               35 CALLE TULIPAN                                                                       AGUADILLA         PR           00603
   640127 EDDIE N IRIZARRY SOTO                       EXT SANTA TERESITA         BM 5 CALLE C                                                                           PONCE             PR           00730
   146779 EDDIE N LORENZO NIEVES                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146780 EDDIE N MONTANEZ LOPEZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146781 EDDIE N PENA ALEMAN                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146782 EDDIE N RIO GUILLET                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146783 EDDIE N RIVERA ACEVEDO                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146784 EDDIE N SOTO FELICIANO                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146785 EDDIE N VILLANUEVA CORTES                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   640129 EDDIE N ZAMBRANA TOTH                       EXT VILLA RICA             R 13 CALLE C                                                                           BAYAMON           PR           00956
   146786 EDDIE NEGRON LEAL                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   640131 EDDIE NEGRON SANTIAGO                       P O BOX 885                                                                                                       YAUCO             PR           00698
   146789 EDDIE NIEVES SANTIAGO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146790 EDDIE NUNEZ ACEVEDO                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146791 EDDIE O CARBO FUENTES                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   640133 EDDIE O GARCIA FLORES                       ALT MONTE BRISAS           4J 20 CALLE 7                                                                          FAJARDO           PR           00738
   640135 EDDIE O VELEZ VIROLA                        PO BOX 254                                                                                                        LARES             PR           00669



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  146793 EDDIE OCASIO ESPARRA         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  146794 EDDIE OCASIO GONZALEZ        REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  146796 EDDIE ORTIZ GARCIA           REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  146797 EDDIE ORTIZ GUZMAN           REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  640138 EDDIE ORTIZ VELAZQUEZ        P O BOX 1981                   SUITE 115                                                                          LOIZA             PR         00772
  146798 EDDIE OSORIO GARCIA          REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  146800 EDDIE PEREZ PEREZ            REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  640139 EDDIE PEREZ ROSA             BOX 6052                                                                                                          CANOVANAS         PR         00729
         EDDIE PLUMING &
  640140 MAINTENANCE                  37 EXT 25 DE JULIO                                                                                                YAUCO             PR         00698
  146801 EDDIE QUESTELL FIGUEROA      REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  640143 EDDIE R DE JESUS PEREZ       PO BOX 158                                                                                                        VILLALBA          PR         00766
  640144 EDDIE R FELICIANO AVILES     P O BOX 5176                                                                                                      CAROLINA          PR         00984‐5176
  640145 EDDIE R HERNANDEZ            PO BOX 34637                                                                                                      FORT BUCHANAN     PR         00934
  146802 EDDIE R PEDROZA RIVERA       REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  146804 EDDIE R RIVERA SERRANO       REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  640146 EDDIE R SANTOS RIVERA        VILLA PALMERAS                 310 CALLE FAJARDO                                                                  SAN JUAN          PR         00915
  640149 EDDIE RAFAEL MONTALVO        CAPARRA HEIGHTS                430 CALLE ESMERALDA                                                                SAN JUAN          PR         00920
  146805 EDDIE RAMIREZ PENA           REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  640150 EDDIE RAMIREZ VALE           CAPARRA HEIGHTS STATION        PO BOX 11741                                                                       SAN JUAN          PR         00922
  640022 EDDIE RAMIREZ VALE           PO BOX 11741                                                                                                      SAN JUAN          PR         00922‐1741
  640151 EDDIE RAMOS                  HC 71 BOX 2916                                                                                                    NARANJITO         PR         00719
  640154 EDDIE RIOS RIVERA            PO BOX 360145                                                                                                     SAN JUAN          PR         00936
  146807 EDDIE RIVERA APONTE          REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  640155 EDDIE RIVERA BOULOGNE        HC 01 APARTADO 7817                                                                                               VIEQUES           PR         00765
  146808 EDDIE RIVERA CANCEL          REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  146809 EDDIE RIVERA DAVILA          REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  640156 EDDIE RIVERA MARTINEZ        EL TUQUE                       E I 88 NUEVA VIDA                                                                  PONCE             PR         00731
  146810 EDDIE RIVERA MORALES         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  146811 EDDIE RIVERA OSORIO          REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  146812 EDDIE RIVERA QUINONES        REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  640158 EDDIE RIVERA VEGA            HC 01 BOX 6027                                                                                                    CIALES            PR         00638
  146813 EDDIE RIVERO RODRIGUEZ       REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  640159 EDDIE ROBLES PEREZ           PO BOX 1079                                                                                                       RIO GRANDE        PR         00745
  146814 EDDIE RODRIGUEZ COLON        REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  146815 EDDIE RODRIGUEZ DIAZ         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  146816 EDDIE RODRIGUEZ RIVERA       REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  146817 EDDIE RODRIGUEZ SOTO         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         EDDIE RODRIGUEZ SOTO / EDDIE
  640160 AUTO PARTS                   3025 AVE ANTONIO R BARCELO                                                                                        CAYEY             PR         00736
  146818 EDDIE RODRIGUEZ VALE         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  640161 EDDIE ROLON TORRES           PO BOX 1212                                                                                                       COAMO             PR         00769
                                      ABRA DE SAN FRANCISCO APDO
  640162 EDDIE ROMAN RIVERA           7098                                                                                                              ARECIBO           PR         00612
  640163 EDDIE ROSARIO GARCIA         A/C DELIA SOTO TORRES          PO BOX 70166                                                                       SAN JUAN          PR         00936‐8166
  640164 EDDIE S BERRIOS RODRIGUEZ    BOX 226                                                                                                           PATILLAS          PR         00723
  640165 EDDIE S FIGUEROA             PO BOX 9021112                                                                                                    SAN JUAN          PR         00902‐1112
  640166 EDDIE S MOLINA NEGRON        HC 73 BOX 4788                                                                                                    NARANJITO         PR         00719‐9608
  146821 EDDIE S NUNEZ PEREZ          REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  146822 EDDIE S VELEZ                REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  640167 EDDIE SALAS HERNANDEZ        HC 2 BOX 10639                                                                                                    MOCA              PR         00676
  146823 EDDIE SALCEDO MADERA         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  146824 EDDIE SALGADO CLASS          REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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   146825 EDDIE SAMIR VARGAS SANTANA                  REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   146826 EDDIE SANCHEZ CLASS                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640168 EDDIE SANDOVAL DIAZ                         URB FARVIEW                736 CALLE JUAN ESQUIVEL                                                              SAN JUAN            PR           00926
   146827 EDDIE SANTIAGO BURGOS                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640169 EDDIE SANTIAGO ECHEVARRIA                   JACAGUAX                   64 CALLE 4                                                                           JUANA DIAZ          PR           00795
   146828 EDDIE SANTIAGO MARTINEZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDDIE SANTOS DOMINGO
   146829 HERNANDEZ                                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640171 EDDIE SANTOS GARCIA                         P O BOX 477                                                                                                     CIDRA               PR           00739
   640172 EDDIE SCREENS                               LA DOLORES                 A 106 CALLE ARGENTINA                                                                RIO GRANDE          PR           00745
   640173 EDDIE SIERRA RIVERA                         URB LA ALTAGRACIA          K 2 CALLE 10                                                                         TOA BAJA            PR           00949
   146831 EDDIE SOTO SOTO                             REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640174 EDDIE SOTO VEGA                             VILLA NUEVA                K 39 CALLE 5                                                                         CAGUAS              PR           00725
   146832 EDDIE SUAREZ CRUZ                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   146833 EDDIE TORRES RIVERA                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640176 EDDIE TOSTE SANCHEZ                         RES NEMESIO R CANALES      EDIF 64 APT 1131                                                                     SAN JUAN            PR           00918
   146834 EDDIE TRAVIESO ALBELO                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640177 EDDIE VALENTIN DE JESUS                     HC 1 BOX 5861                                                                                                   CAMUY               PR           00627
   640178 EDDIE VALENTIN MARTINEZ                     HC 03 BOX 36265                                                                                                 AGUADILLA           PR           00603
   146836 EDDIE VARGAS AYALA                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   146837 EDDIE VARGAS SANCHEZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640180 EDDIE VAZQUEZ GUZMAN                        HC 02 BOX 5247                                                                                                  GUAYAMA             PR           00784
   640181 EDDIE VAZQUEZ RODRIGUEZ                     URB EL TORITO              M 7 CALLE B                                                                          CAYEY               PR           00736
   146840 EDDIE VELAZQUEZ                             REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   146841 EDDIE VELAZQUEZ SANABRIA                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640182 EDDIE VELAZQUEZ VELAZQUEZ                   P O BOX 1827                                                                                                    LAS PIEDRAS         PR           00771‐1827
   146843 EDDIE VELEZ TORRES                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   146844 EDDIE VICENTE RIVERA                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   146845 EDDIE VIDAL MORAN                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640183 EDDIE VILLARUBIA MORALES                    PO BOX 1661                                                                                                     RINCON              PR           00677
   146846 EDDIE VISION INC                            7445 MINNOW BROOK WAY                                                                                           LAND O LAKES        FL           34637
   640184 EDDIE W ACEVEDO                             P O BOX 3050                                                                                                    GURABO              PR           00778
   640185 EDDIE W CHAPARRO ORAMA                      HC 03 BOX 32700                                                                                                 AGUADA              PR           00602
  1256426 EDDIE W MILLAN RIVERA                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640186 EDDIE W NARVAEZ DIEZ                        PO BOX 664                                                                                                      NARANJITO           PR           00719
   640187 EDDIE W OYOLA MULERO                        HC 03 BOX 8150                                                                                                  GUAYNABO            PR           00971
   146848 EDDIE W PADILLA MARTINEZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640188 EDDIE W PAGAN DILAN                         URB BELINDA                I‐2 CALLE 8                                                                          ARROYO              PR           00714
   640189 EDDIE W RIVERA BERMUDEZ                     URB EXT VILLA DEL CARMEN   4470 AVE CONSTANCIA                                                                  PONCE               PR           00716‐2208

   640191 EDDIE WILLIAM MOLINA MUNET BOX 1573                                                                                                                         COROZAL             PR           00783
   640192 EDDIE X VARGAS ZAYAS       RR 02 BOX 6774                                                                                                                   CIDRA               PR           00739‐9742
   146849 EDDIE Y. RODRIGUEZ RIVERA  REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   146850 EDDIE ZAYAS BERDECIA       REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   146852 EDDIEMARIE RAMOS OPIO      REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   146854 EDDIEN SANTOS NIEVES       REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640193 EDDIES RETAURANT AND CAFE                   PO BOX 9024275                                                                                                  SAN JUAN            PR           00902‐4275
   640194 EDDIES WATER SUPPLY                         REPARTO METROPOLITANO      1161 CALLE 48 SE                                                                     SAN JUAN            PR           00921
   640195 EDDITH E SANTIAGO CORNIER                   HC 1 BOX 8211                                                                                                   YAUCO               PR           00698



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  640196 EDDUAR PLACERES RIVERA                       P O BOX 590                                                                                                         RIO BLANCO        PR           00744

   640198 EDDY A CARABALLO FIGUEROA                   PO BOX 611                                                                                                          CAYEY             PR           00737
   146856 EDDY A GUERRERO                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   640199 EDDY A ROVIRA RODRIGUEZ                     PO BOX 10313                                                                                                        SAN JUAN          PR           00922
   146857 EDDY F CESPEDES VELEZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146858 EDDY FORTOUL CAVICCHIONI                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146859 EDDY GALARZA GARCIA                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146860 EDDY GARCIA DOLEO                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          EDDY GRAPH BUSINESS
   640200 PRINTING                                    247 PLAZA ALTA SUITE 4                                                                                              GUAYNABO          PR           00969
   146861 EDDY L DIAZ VALERO                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146862 EDDY L ROMAN MALDONADO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   640201 EDDY MENDOZA DE CRUZ                        HC 1 BOX 4675                                                                                                       NAGUABO           PR           00718
   640202 EDDY MIRANDA YULFO                          URB PRADERAS DEL SUR         12 CALLE HIGUERA                                                                       SANTA ISABEL      PR           00757
          EDDY MORALES ‐ GRAPHIC
   146863 ARTIST                                      PO BOX 1123                                                                                                         AGUADA            PR           00602
   146864 EDDY PARTY CENTER                           6 CALLE PALMER                                                                                                      BAYAMON           PR           00961
          EDDY PIMENTEL Y MARITZA
   146865 CANTO                                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146866 EDDY R. COLON RIVERA                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   640203 EDDY RAFAEL CLASSE                          URB RIO HONDO I              AP 15 CALLE RIO MARAVILLA                                                              BAYAMON           PR           00961
   146867 EDDY S OJEDA UBIERA                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146868 EDDY SANCHEZ HERNANDEZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146870 EDDY SANCHEZ MEDINA                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146871 EDDYBERTO TORRES RAMOS                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   146872 EDDYMAR HUERTAS NAVARRO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   640205 EDDYME DANGER RUBIO                         ESTANCIAS REALES             31 DUQUE DE WINDSOR                                                                    GUAYNABO          PR           00969

   146873 EDDYSON NAVARRO HUERTAS                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146874 EDE‐COOP                                    PO BOX 11359                 CAPARRA HEIGHT STA                                                                     SAN JUAN          PR           00922‐1359
   640206 EDED O RODRIGUEZ FERRER                     URB LAS AMERICAS             MM 17 CALLE 4                                                                          BAYAMON           PR           00959
   640207 EDEL D SIERRA ALMODOVAR                     JARDINES DE VEGA BAJA        43 C/ JARDIN DE LA CEIBA                                                               VEGA BAJA         PR           00693
   146877 EDEL DIAZ VAZQUEZ                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146878 EDEL GUZMAN CORTES                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   640208 EDEL K MEDINA FIGUEROA                      GUANAJIBO GARDENS            407 CALLE ENRIQUE SEDA                                                                 MAYAGUEZ          PR           00682‐1383
   640209 EDEL SIERRA FEBRES                          SABANA LLANAS                445 CALLE 25                                                                           SAN JUAN          PR           00924
   146879 EDEL W VALDES VEGA                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   640210 EDELCAR INC                                 PO BOX 366817                                                                                                       SAN JUAN          PR           00936
   146880 EDELGARDA CASTRO VEGA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   146881 EDELISA MORALES RODRIGUEZ                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   640212 EDELIZ VAZQUEZ ROMAN                        HC 03 BOX 4947                                                                                                      GURABO            PR           00778‐9717
   146882 EDELLY A COLON COLLAZO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          EDELMAN PUBLIC RELATIONS                    200 EAST RANDOLPH DRIVE 63
   640213 WORLDWIDE                                   RD FLOOR                                                                                                            CHICAGO           IL           606001

   640215 EDELMARIE LATALLADI RIVERA                  P O BOX 560936                                                                                                      GUAYANILLA        PR           00656
   640216 EDELMARIE RIVERA SOTO                       PO BOX 206                                                                                                          NARANJITO         PR           00719‐0206
   640218 EDELMIRA ALVAREZ                            BDA VISTA ALEGRE           68 CALLE MARINA                                                                          SAN JUAN          PR           00926
          EDELMIRA BERMUDEZ                           COND TORRE DE MAYAGUEZ APT
   640219 CONTRERAS                                   401                                                                                                                 MAYAGUEZ          PR           00680



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   640220 EDELMIRA CARDONA VAZQUEZ                    VILLA SULTANITA                745 CALLE 13                                                                                MAYAGUEZ            PR           00680
   146883 EDELMIRA CORTES TORRES                      REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640221 EDELMIRA DELGADO SANCHEZ                    PASEO DEL RIO                  500 BOULEVAR DE RIO APT 4802                                                                HUMACAO             PR           00791‐3961
   640222 EDELMIRA ESQUILIN PEREZ                     URB VILLA CAROLINA             44‐9 CALLE 35                                                                               CAROLINA            PR           00985
   640223 EDELMIRA GOMEZ CORA                         URB JARDINES DE ARROYO         23 CALLE BB7                                                                                ARROYO              PR           00714
          EDELMIRA GONZALEZ
   146884 RODRIGUEZ                                   REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640224 EDELMIRA GONZALEZ VAZQUEZ                   PO BOX 1397                                                                                                                AGUADA              PR           00602

   146885 EDELMIRA GUTIERREZ DE PEDRO REDACTED                                       REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640225 EDELMIRA MERCADO GARCIA     VILLA JUSTICIA                                 I 4 CALLE DELGADO                                                                           CAROLINA            PR           00985
   640226 EDELMIRA NIEVES GONZALEZ    P O BOX 86                                                                                                                                 AGUADA              PR           00602
   146887 EDELMIRA ORTIZ SANTIAGO     REDACTED                                       REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   146888 EDELMIRA PAYANO ROMERO      REDACTED                                       REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640229 EDELMIRA REYES DE BONET     HC 2 BOX 27060                                                                                                                             MAYAGUEZ            PR           00680
   640217 EDELMIRA RIVERA ORTIZ       P O BOX 7428                                                                                                                               SAN JUAN            PR           00916

   640233 EDELMIRO ALECEA GONZALEZ                    149 AVE LOS PATRIOTAS APT 45                                                                                               LARES               PR           00669
   640234 EDELMIRO BURGOS ARROYO                      HC 3 BOX 14912                                                                                                             YAUCO               PR           00698‐9622
          EDELMIRO CARRASQUILLO
   640235 RIVERA                                      PO BOX 1894                                                                                                                CAGUAS              PR           00726
   640236 EDELMIRO COLON LOPEZ                        URB BAIROA C A 17              CALLE AREYTO                                                                                CAGUAS              PR           00725
   640238 EDELMIRO DAVILA GOMEZ                       P O BOX 2712                                                                                                               JUNCOS              PR           00777
          EDELMIRO FIGUEROA / MARIA C
   640239 FIGUEROA                                    HC 01 BOX 8110                                                                                                             AGUAS BUENAS        PR           00703‐9720

   146889 EDELMIRO GALARZA SANTIAGO                   REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640240 EDELMIRO GOMEZ JIMENEZ                      PO BOX 3124                                                                                                                GUAYNABO            PR           00970
   640243 EDELMIRO IRIZARRY VARGAS                    PO BOX 514                                                                                                                 MARICAO             PR           00606‐0565
   146890 EDELMIRO LOPEZ DIAZ                         REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640244 EDELMIRO LOUBRIEL CANCEL                    PUERTO NUEVO                   1335 CALLE 12                                                                               SAN JUAN            PR           00919
   146891 EDELMIRO MANZANO OTERO                      REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640248 EDELMIRO RODRIGUEZ RAMIREZ P O BOX 9032                                                                                                                                BAYAMON             PR           00960
   146893 EDELMIRO RODRIGUEZ VELEZ   REDACTED                                        REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640231 EDELMIRO SANTOS VEGA       HC 44 BOX 12928                                                                                                                             CAYEY               PR           00736
   640250 EDELMIRO SOTO CATERING     URB MARISOL                                     D1 CALLE 5                                                                                  ARECIBO             PR           00612
   640251 EDELMIRO VALENTIN SORIA    RES GABRIEL SOLER APT 59                                                                                                                    HORMIGUEROS         PR           00660

   640252 EDELMIRO VARGAS MONTALVO COND SAN JOSE                                     EDIF 2 APT 1 387 CALLE SICILIA                                                              SAN JUAN            PR           00923
   640232 EDELMIRO VARGAS VALENTIN HC 4 BOX 47638                                                                                                                                MAYAGUEZ            PR           00680
   640253 EDELYERIC CUEVAS RIVERA  URB VILLA SANTA JUANITA                           A 14 CALLE 47                                                                               BAYAMON             PR           00956

   640254 EDELYN GARCIA SIERRA                        BO BALBOA                      281 CALLE BELIZARIO DEL VALLE                                                               MAYAGUEZ            PR           00680

   146895 EDEMAR CONTRACTOR CORP.                     PO BOX 1512                                                                                                                ANASCO              PR           00610
   146896 EDEN CARABALLO APELLANIZ                    REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640255 EDEN FLAT BED                               SIERRA BAYAMON                 49‐7 CALLE 36                                                                               BAYAMON             PR           00961
                                                      METROPOLITAN INDUSTRIAL
   640256 EDEN MANUFACTURING INC                      PARK 5                         P O BOX 4981                                                                                CAROLINA            PR           00984‐4881



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MML ID              NAME                                        ADDRESS 1                    ADDRESS 2              ADDRESS 3                           ADDRESS 4            CITY          STATE    POSTAL CODE        COUNTRY
  640258 EDEN TRADING CO                              PO BOX 366044                                                                                                 SAN JUAN          PR           00936
  640259 EDENISLAO NEGRON CARLO                       P O BOX 444                                                                                                   BOQUERON          PR           00622

   146899 EDENMARIE ALAMA RODRIGUEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   640260 EDER L ALVARADO TORRES    URB LA ESPERANZA                              F 43 CALLE 6                                                                      VEGA ALTA         PR           00692
   146903 EDER M RIVERA RAMOS       REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146904 EDERICK FALU SANTOS       REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   640261 EDERLINDA CAMACHO ROSA    PO BOX 8794                                                                                                                     BAYAMON           PR           00960

   146905 EDERLINDA RIVERA OQUENDO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146906 EDERSON MD, CHARLES                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146907 EDFRA MORENO RIVERA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146908 EDGA TORRES PORRATA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          EDGAR A DAVILA Y CLOTILDE
   640273 OLIVERAS                                    CAPARRA HEIGHT STA          PO BOX 10605                                                                      GUAYNABO          PR           00922
   146909 EDGAR A GARCIA ROSADO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   640275 EDGAR A LEBRON REYES                        BOX 371                                                                                                       YABUCOA           PR           00767
   640276 EDGAR A MILLAN PEREZ                        VILLA CAROLINA              28‐17 CALLE 6                                                                     CAROLINA          PR           00985
   640277 EDGAR A MIRANDA NEGRON                      COND CONCORDIA GARDENS      1 APT 5N                                                                          SAN JUAN          PR           00925
   146910 EDGAR A MORALES                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146912 EDGAR A QUINONES                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146914 EDGAR A RIVERA VALLE                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146915 EDGAR A ROJAS CIFUENTES                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146916 EDGAR A SANTIAGO                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146917 EDGAR A SANTIAGO HICIANO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146918 EDGAR A SOTO ROSA                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   640284 EDGAR A TORRES MOLINI                       P O BOX 3795                                                                                                  MAYAGUEZ          PR           00681
   146919 EDGAR A TORRES PAGAN                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146920 EDGAR A VEGA SANCHEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146922 EDGAR A. CRUZ ORTIZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146923 EDGAR A. REYES                              REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146924 EDGAR A. RODRIGUEZ JOA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   640286 EDGAR ABRAHAM MARRERO                       1080 CALLE PASEO DAMASCO                                                                                      LEVITTOWN         PR           00949
          EDGAR ACEVEDO / ABDIEL A
   146926 ROSAS                                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146927 EDGAR ACEVEDO TORRES                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          EDGAR ACOSTA/ARNOLD
   146928 ACOSTA /KEVIN ACOSTA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146930 EDGAR AGOSTO RODRIGUEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   640265 EDGAR AGUAYO VAZQUEZ                        P O BOX 5045                                                                                                  CAGUAS            PR           00720
   146931 EDGAR ALICEA RIOS                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   640288 EDGAR ALVARADO VEGA                         P O BOX 1956                                                                                                  VEGA BAJA         PR           00692
                                                      URB JARDINES DE COUNTRY
   640266 EDGAR ALVAREZ RUIZ                          CLUB                        AD 24 CALLE 31                                                                    CAROLINA          PR           00983

   640267 EDGAR AMBERT VALDERRAMA                     URB ROYAL TOWN              E 8 CALLE 8                                                                       BAYAMON           PR           00956‐4541
   640289 EDGAR AMILL ALGARIN                         3RA SECC LEVITOWN           3305 PASEO COLINAS                                                                TOA BAJA          PR           00951
   640268 EDGAR AUTO PARTS                            114 JARDINES DE AGUADILLA                                                                                     AGUADILLA         PR           00603
   146933 EDGAR AYALA DIAZ                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   640291 EDGAR BELEN TRUJILLO                        URB HERMANAS DAVILA         M7 CALLE F                                                                        BAYAMON           PR           00959
   146934 EDGAR BELTRAN MELECIO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   146935 EDGAR BLANCO SANCHEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   640292 EDGAR BORIA CORDOVA                         P O BOX 279                                                                                                   LOIZA             PR           00772



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  146939 EDGAR BRUNO MORALES                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  146940 EDGAR C CORTES                               REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   640293 EDGAR C HERNANDEZ VIERA                     313 AVE DOMENECH OFIC 101                                                                                           SAN JUAN             PR         00918
   146941 EDGAR C MATOS RIVERA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   640295 EDGAR C SANTIAGO                            URB VILLA CAROLINA 207      21 CALLE 507                                                                            CAROLINA             PR         00985

   146942 EDGAR CABRERA BETANCOURT                    PLAZA WESTERN AUTO          PMB 412‐220                                                                             TRUJILLO ALTO        PR         00976
   146944 EDGAR CAMACHO VARGAS                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   640296 EDGAR CARO MORENO                           HC 4 BOX 13997                                                                                                      MOCA                 PR         00676‐9660

   640297 EDGAR CARRION NAVEDO                        IDAMARIS GARDENS            H 3 CALLE BENITO RODRIGUEZ                                                              CAGUAS               PR         00725
   146947 EDGAR CEDENO ROMAN                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   640298 EDGAR CHEVERE VAZQUEZ                       HC 80 BOX 8882                                                                                                      RIO LAJAS            PR         00646
   146948 EDGAR CHICLANA DEL VALLE                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   146949 EDGAR COLLAZO MARQUEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   640299 EDGAR COLON PADILLA                         HC 1 BOX 17920                                                                                                      COAMO                PR         00769
          EDGAR COLON PADILLA/ EL
   640300 FUGON FAMILIAR                              CARR 153 KM 11 6            BO LAS FLORES                                                                           COAMO                PR         00769
   146950 EDGAR COLON SANTOS                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   146951 EDGAR CORDERO RODRIGUEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   640302 EDGAR CORREA COLON                          VILLA DE JUAN               B6 CALLE AA                                                                             PONCE                PR         00731
   146952 EDGAR CORTES ALEJANDRO                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   640303 EDGAR COTTO BAEZ                            BO CERTENEJAS II            PO BOX 631                                                                              CIDRA                PR         00739
   640304 EDGAR COTTO GONZALEZ                        HC 02 BOX 16835                                                                                                     ARRECIBO             PR         00612
   640306 EDGAR CRUZ BONET                            HC 1 BOX 2363                                                                                                       SABANA HOYOS         PR         00688
   146953 EDGAR CRUZ GARCIA                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   146954 EDGAR CUEVAS FERRER                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   146955 EDGAR D RODRIGUEZ ACEVEDO                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   640308 EDGAR DEL TORO SEGARRA                      URB CONSTANCIA              3472 CALLE CHALET                                                                       PONCE                PR         00717‐2236
   640311 EDGAR DIAZ ORTIZ                            MANSION DEL MAR             MM 128 CALLE PELICANO                                                                   TOA BAJA             PR         00949
   146958 EDGAR DOMENECH MORERA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                      1348 AVE FELIX ALDARONDO
   640312 EDGAR DUMENG ROMAN                          SANTIAGO                                                                                                            ISABELA              PR         00662
   640313 EDGAR E CRUZ CARRILLO                       HC 4 BOX 44262                                                                                                      LARES                PR         00669
   146959 EDGAR E DIAZ LEBRON                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   146960 EDGAR E GONZALEZ MILAN                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   146963 EDGAR E LACLE                               REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   146964 EDGAR E MATOS GONZALEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   146965 EDGAR E PEREZ SEMPRIT                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   146966 EDGAR E ROSARIO TORRES                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   146968 EDGAR E TORRES ALVARADO                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   640314 EDGAR ECHEVARRIA                            PO BOX 29736                                                                                                        SAN JUAN             PR         00929
   640316 EDGAR F GEIGEL PONTE                        URB ALTAMIRA                494 SIRIA                                                                               SAN JUAN             PR         00920‐4241

   146971 EDGAR F MAISONET RODRIGUEZ REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   146972 EDGAR F RIVERA APONTE      REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   146973 EDGAR FELICIANO MALDONADO REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   640317 EDGAR FELICIANO RESTO     PO BOX 586                                                                                                                            PUERTO REAL          PR         00740
   146974 EDGAR FERNANDEZ AVILES    REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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MML ID              NAME                                        ADDRESS 1                   ADDRESS 2                    ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  146975 EDGAR FERNANDEZ LUGO                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  640318 EDGAR FIGUEROA FUENTES                       URB VALENCIA                543 CALLE ASTORGA                                                                      SAN JUAN            PR         00923
  146976 EDGAR FIGUEROA PADILLA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  640321 EDGAR FIGUEROA TORRES                        HC 1 BOX 4108                                                                                                      UTUADO              PR         00641
                                                                                  105 GROW BULEVARD DE LOS
   640322 EDGAR FIGUEROA VAZQUEZ                      URB ISABELLA                PRADOS                                                                                 CAGUAS              PR       00727
   640323 EDGAR FLORES                                BO SABANA ENEAS             BOX 197 CALLE A                                                                        SAN GERMAN          PR       00683
   640324 EDGAR G ESPINOZA SUAREZ                     SUITE 220                   PO BOX 71325                                                                           SAN JUAN            PR       00936
   146977 EDGAR G PANTOJA PEREZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   640325 EDGAR G RIVERA MARTINEZ                     URB MARIOLGA C 16           CALLE SAN FRANCISCO                                                                    CAGUAS              PR       00725
   640326 EDGAR G RIVERA RIVERA                       POBOX 651                                                                                                          CIALES              PR       00638
   146978 EDGAR GALARZA TOLLINCHI                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   146982 EDGAR GALINANES                             REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   146984 EDGAR GARCIA COLON                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   640327 EDGAR GARCIA ROMERO                         PO BOX 758                                                                                                         CEIBA               PR       00735
   146985 EDGAR GOMEZ BORRERO                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   146986 EDGAR GONZALEZ GONZALEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   146987 EDGAR GONZALEZ GUZMAN                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   640328 EDGAR GONZALEZ LA LUZ                       BOX 775                                                                                                            CIALES              PR       00638
   146988 EDGAR GONZALEZ LOPEZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   146989 EDGAR GONZALEZ SANTANA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED

   146991 EDGAR GUERRIDO HERNANDEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640330 EDGAR GUZMAN                                P O BOX 195413                                                                                                     SAN JUAN            PR         00919‐5413
   146992 EDGAR H MOLINARIY CRUZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640331 EDGAR H QUILES FERRER                       LOIZA STATION (75)          PO BOX 12383                                                                           SAN JUAN            PR         00915
   146993 EDGAR H. QUILES FERRER                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   146994 EDGAR H. SANTOS URLA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   146998 EDGAR HERNANDEZ MONTALVO REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147000 EDGAR HERNANDEZ PATINO   REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   640332 EDGAR HERNANDEZ RODRIGUEZ PO BOX 808                                                                                                                           VILLALBA            PR         00766

   640334 EDGAR HERNANDEZ VIERA                       313 AVE DOMENECH OFIC 101                                                                                          SAN JUAN            PR         00918
   640335 EDGAR HERRAN RODRIGUEZ                      EC 02 BOX 6741                                                                                                     UTUADO              PR         00641
   147001 EDGAR HIDALGO FIGUEROA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640336 EDGAR I ALICEA RUIZ                         URB RIO PLATA               APARTADO D 3                                                                           COMERIO             PR         00782

   640337 EDGAR I HERNANDEZ LAUREANO URB SANTA JUANITA                            W C 20 CALLE CAMPECHE SUR                                                              BAYAMON             PR         00956‐5057
   147002 EDGAR I LAUREANO RIVERA    REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147003 EDGAR I. ACOSTA RUIZ       REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147004 EDGAR IRIZARRY CASIANO     REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640339 EDGAR J BELTRAN PONCE      P O BOX 1442                                                                                                                        SAN SEBASTIAN       PR         00685‐1442
   640340 EDGAR J BERTRAN PASARELL   1614 CALLE SAN MATEO P‐1                                                                                                            SAN JUAN            PR         00912
   147005 EDGAR J CABRERA ORTIZ      REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147006 EDGAR J CALDERON ORTIZ     REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147007 EDGAR J CENTERO PEREZ      REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147008 EDGAR J FIGUEROA NEGRON    REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147009 EDGAR J GONZALEZ CRUZ      REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147010 EDGAR J JORGE VELEZ        REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147011 EDGAR J LAMBOY RIVERA      REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147012 EDGAR J LEBRON MARQUEZ     REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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   640342 EDGAR J LORENZO HERNANDEZ                   HC 05 BOX 10680                                                                                               MOCA                PR           00676
          EDGAR J MARTINEZ
   147014 OLABARRIA/EDGAR J                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147015 EDGAR J MELENDEZ PAGAN                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640343 EDGAR J PEREZ RODRIGUEZ                     74 B CALLE 25 DE JULIO                                                                                        SABANA GRANDE       PR           00637
   640344 EDGAR J RAMOS MENDEZ                        P O BOX 153                                                                                                   BARCELONETA         PR           00617
   147016 EDGAR J RENOVALES RENTAS                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147017 EDGAR J ROSA PADILLA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640345 EDGAR J SANCHEZ PEREZ                       PARQUE DEL RIO              PA 21 60                                                                          TRUJILLO ALTO       PR           00976
   147018 EDGAR J SEPULVEDA RIVERA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640348 EDGAR JIMENEZ GARCIA                        URB VILLA SERENA            92 CALLE VOLGA                                                                    SANTA ISABEL        PR           00757
   640349 EDGAR JIMENEZ HERNANDEZ                     URB LINDA VISTA             46 CALLE A                                                                        CAMUY               PR           00627

   147020 EDGAR JOEL ROSARIO MARRERO REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDGAR JONATHAN VAZQUEZ
   147021 VARQUEZ                    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147022 EDGAR JR CABRERA RAMOS     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147023 EDGAR JUAN ORTIZ           REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147024 EDGAR L COLON MELENDEZ     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640350 EDGAR L COLON SUAREZ       BOX 579                                                                                                                        CAROLINA            PR           00986
   640351 EDGAR L GONZALEZ VEGA      EL TUQUE                                     A 76 LAS BATATAS                                                                  PONCE               PR           00728
   147025 EDGAR L JIMENEZ BURGOS     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640352 EDGAR L LOPEZ RODRIGUEZ    PO BOX 372832                                                                                                                  CAYEY               PR           00737
   147026 EDGAR L RAMOS GUTIERREZ    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147027 EDGAR L SANTIAGO LEBRON    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640354 EDGAR LAFONTAINE NIEVES                     8516 FERNANDEZ JUNCOS STA                                                                                     SAN JUAN            PR           00911
   640355 EDGAR LASSO                                 URB ALTAMESA                1691 SANTA INES                                                                   SAN JUAN            PR           00921
   147028 EDGAR LEE BLANCO TORO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147029 EDGAR LEON RIVERA                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640356 EDGAR LORENZO ACEVEDO                       P O BOX 1173                                                                                                  AGUADA              PR           00602
   640357 EDGAR LORENZO POLANCO                       P O BOX 256                                                                                                   AGUADA              PR           00602‐0256
   147030 EDGAR LOZADA SOTO                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147031 EDGAR LUIS SANCHEZ MERCADO REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDGAR M ALVAREZ DEL
   147032 MANZANO                    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640359 EDGAR M BAEZ SUAREZ        COND METROMONTE                              EDIF A BOX 15‐302                                                                 CAROLINA            PR           00987
   147034 EDGAR M CRESPO NIEVES      REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640360 EDGAR M CRUZ ORTIZ         VILLAS DE CANEY                              A 30 CALLE AGUEYBANA                                                              TRUJILLO ALTO       PR           00976
   640361 EDGAR M DE JESUS NIEVES    HC‐01 BOX 7371                                                                                                                 LUQUILLO            PR           00773

   640362 EDGAR M MALDONADO AVILES                    P O BOX 603                                                                                                   MANATI              PR           00674
   147036 EDGAR M NUNEZ NIEVES                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640363 EDGAR M OSORIO PIZARRO                      URB SANTIAGO                120 CALLE A BOX A20                                                               LOIZA               PR           00772
   147037 EDGAR M RIVERA VAZQUEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640365 EDGAR M RODRIGUEZ GUZMAN P O BOX 884                                                                                                                      OROCOVIS            PR           00720

   147039 EDGAR M. GONZALEZ LOZADA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147040 EDGAR MARCHANY                              REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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                                                      URB LEVITTOWN PRIMERA
   640367 EDGAR MARRERO COTTE                         SECCION                 1080 PASEO DAMASCO                                                                     TOA BAJA            PR         00949
   147041 EDGAR MARRERO SANTIAGO                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   640369 EDGAR MARTINEZ CUBERO                       HC 05 BOX 25895                                                                                                CAMUY               PR         00627
   640370 EDGAR MARTINEZ LOPEZ                        PO BOX 487                                                                                                     CAMUY               PR         00627‐0487
   147043 EDGAR MARTINEZ MELENDEZ                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   640371 EDGAR MARTINEZ MENDEZ                       URB MASION DEL MAR      MM 70 PASEO NAUTICO                                                                    TOA BAJA            PR         00949
   640372 EDGAR MARTORELL                             PO BOX 10                                                                                                      BAYAMON             PR         00960
   147044 EDGAR MATOS COLON                           REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   640373 EDGAR MATOS ROLON                           LOIZA VALLEY            D 182 CALLE TULIPAN                                                                    CANOVANAS           PR         00729
   147047 EDGAR MEDINA MUNOZ                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   640374 EDGAR MENDEZ NEGRON                         PO BOX 743                                                                                                     AGUADA              PR         00602
   640375 EDGAR MENDEZ RIVERA                         PO BOX 554                                                                                                     MAYAGUEZ            PR         00681
          EDGAR MIGUEL TORRES
   147048 NAZARIO                                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   147050 EDGAR MONTALVO FIGUEROA                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147052 EDGAR MORALES AYALA                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   640376 EDGAR MORALES COLLAZO                       URB LOS VEREDAS         B 31 CALLE VEREDA DEL RIO                                                              BAYAMON             PR         00961
   640269 EDGAR MORALES MARTINEZ                      URB HIGHLAND PARK       721 CALLE CAFETO                                                                       SAN JUAN            PR         00924
   147053 EDGAR MORALES QUIROS                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   640377 EDGAR MU IZ MEDINA                          URB EL CEREZAL          1702 CALLE ORINOCO                                                                     SAN JUAN            PR         00926
   147054 EDGAR MUNOZ DIAZ                            REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147055 EDGAR MUNOZ MENDOZA                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147056 EDGAR MURRAY ORTIZ                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147057 EDGAR N NIEVES FERRER                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147058 EDGAR N ROSARIO VAZQUEZ                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147059 EDGAR N SANCHEZ VAZQUEZ                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   640378 EDGAR NAVARRO TORRES                        97 CALLE TORRES                                                                                                PONCE               PR         00731
   640379 EDGAR NEBOT SALAS                           URB CIUDAD CRISTINA     360 AVE MEJICO 137                                                                     HUMACAO             PR         00791‐4884
   147060 EDGAR NEGRON ALVARADO                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   640380 EDGAR NEVAREZ SOSTRE                        URB JARD DE DORADO      B 4 CALLE 9                                                                            DORADO              PR         00646
   147061 EDGAR NICOLE PEREZ                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   147062 EDGAR O CARABALLO GONZALEZ REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147063 EDGAR O GARCIA RIOS        REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147064 EDGAR O MUNOZ DIAZ         REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147065 EDGAR O RIVERA REYES       REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   147066 EDGAR O RODRIGUEZ ARROYO                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   147067 EDGAR O SANTANA CAMACHO                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   640381 EDGAR OCASIO ROBLES                         REPARTO CABIJA IV       BO JAGUAS APTDO 670                                                                    CIALES              PR         00638
   147068 EDGAR OLIVERAS RAMIREZ                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147069 EDGAR OLIVIERI BEAUCHAMP                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147070 EDGAR OLMEDA OLMEDA                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   640382 EDGAR OROZCO CLAUDIO                        HC 30 BOX 31723                                                                                                SAN LORENZO         PR         00754
   147071 EDGAR ORTIZ CINTRON                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   640384 EDGAR ORTIZ CORREA                          APT 560429                                                                                                     GUAYANILLA          PR         00656
   147072 EDGAR ORTIZ RIVERA                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   640385 EDGAR PACHECO LUGO                          URB COSTA SUR           83 CALLE E BOX 560                                                                     YAUCO               PR         00698
   147073 EDGAR PADILLA REYES                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147074 EDGAR PADILLA RIVERA                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  640386 EDGAR PADILLA ROMAN                          PO BOX 190870                                                                                           SAN JUAN             PR         00919
  147075 EDGAR PAEZ BETANCES                          REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  640388 EDGAR PAGAN DIAZ                             HC 01 BOX 5151                                                                                          SALINAS              PR         00751
  147076 EDGAR PAGAN MONGE                            REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  640389 EDGAR PAGAN TORRES                           PO BOX 1013                                                                                             SALINAS              PR         00751‐1013
         EDGAR PARTRICK CORREIA
  147077 SANTIAGO                                     REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         EDGAR PAUL MORALES
  147078 CHEVERES                                     REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   147079 EDGAR PAUL MORALES CHEVRES REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   147081 EDGAR PENA RAMOS           REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   147082 EDGAR PERDIGON JIMENEZ     REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   640392 EDGAR PEREZ CANDELARIO     HC 2 BOX 11616                                                                                                           YAUCO                PR         00698
   640393 EDGAR PEREZ CINTRON        VILLAS UNIVERSITARIAS                  52 CALLE UPR                                                                      AGUADILLA            PR         00603
   147083 EDGAR PEREZ MARTINEZ       REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   147084 EDGAR PEREZ ZAYAS          REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   640394 EDGAR PRIETO RIVERA        BO TERRANOVA 434                       CALLE LOS PRIETOS                                                                 QUEBRADILLAS         PR         00678
   147086 EDGAR QUILES RIVERA        REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   147087 EDGAR QUILES Y LUZ I CUBA  REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   147088 EDGAR QUINONES ARROYO      REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   147089 EDGAR QUINONES FIGUEROA    REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   147090 EDGAR QUINONEZ MORALES     REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   640395 EDGAR QUINTANA GONZALEZ    HC 02 BOX 12127                                                                                                          MOCA                 PR         00676

   147091 EDGAR QUINTERO MALDONADO REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   147094 EDGAR R ACOSTA ORTIZ      REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   147095 EDGAR R ARROYO DIAZ       REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          EDGAR R BLANCO PEREZ Y
   147096 JOCELYN RODRIGUEZ         REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   147097 EDGAR R CRESPO BADILLO    REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   147098 EDGAR R FELICIANO AVILES  REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   640396 EDGAR R FERMIN RIVAS      PO BOX 194561                                                                                                             SAN JUAN             PR         00919‐4561
   640397 EDGAR R LEBRON RIVERA     P O BOX 40393 MINILLAS STA                                                                                                SAN JUAN             PR         00940
   147099 EDGAR R MERCADO SIERRA    REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   147100 EDGAR R. RIVERA CRUZ      REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   147101 EDGAR RAMIREZ CAMACHO     REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   640399 EDGAR RAMIREZ LUGO        PO BOX 907                                                                                                                CABO ROJO            PR         00623‐0907
   147103 EDGAR RAMIREZ TORRES      REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   640400 EDGAR RAMOS MELENDEZ      URB EL COMANDANTE                       936 CECILIO LEBRON                                                                SAN JUAN             PR         00924
   147105 EDGAR RAMOS RIVERA        REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   147106 EDGAR RAMOS VIALIZ        REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   147107 EDGAR RECART SCHROEDER    REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   640403 EDGAR RICHARD GONZALEZ    PO BOX 1267                                                                                                               ISABELA              PR         00662
   640404 EDGAR RIVADENEYRA ESPEJEL BASE REMEY                              113 CALLE N                                                                       AGUADILLA            PR         00603
   147109 EDGAR RIVERA DIAZ         REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   147110 EDGAR RIVERA MARQUEZ      REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   147111 EDGAR RIVERA NEGRON       REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   147112 EDGAR RIVERA OCASIO       REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          EDGAR RIVERA OCASIO D/B/A
   147113 SABANA MEDICAL            RR‐8 BOX 2099                                                                                                             BAYAMÓN              PR         00956‐0000
   640405 EDGAR RIVERA RIVERA       VILLA PINARES                           107 PASEO CALMA                                                                   VEGA BAJA            PR         00693
   147114 EDGAR RIVERA RODRIGUEZ    REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  147116 EDGAR RIVERA ROSARIO                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  640407 EDGAR RIVERA VAZQUEZ                         HC 764 BOX 6645                                                                                                  PATILLA             PR         00723

   640408 EDGAR RIVERA VEGA/DBA                       RAPID REFRIGERATION AND AIR   URB METROPOLIS          C 13 CALLE 7                                               CAROLINA            PR         00987
   640409 EDGAR ROCHE ECHEVARRIA                      SANTURCE                      608 CALLE BELABAL                                                                  SAN JUAN            PR         00909
   147117 EDGAR RODRIGUEZ DIAZ                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147119 EDGAR RODRIGUEZ GRACIA                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147120 EDGAR RODRIGUEZ MENDEZ                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147121 EDGAR RODRIGUEZ RIVERA                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   147122 EDGAR RODRIGUEZ RODRIGUEZ                   REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147123 EDGAR RODRIGUEZ TORRES                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147124 EDGAR RODRIGUEZ VAZQUEZ                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147125 EDGAR ROGER                                 REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640412 EDGAR ROLON GONZALEZ                        URB SANTA JUANITA             UU 1 CALLE 39 STE 200                                                              BAYAMON             PR         00956
   147126 EDGAR ROLON OTERO                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147127 EDGAR ROMAN NEGRON                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147128 EDGAR ROMERO MUNIZ                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147131 EDGAR ROSSI COSME                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147132 EDGAR RUIZ CARDONA                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147133 EDGAR SALAMAN COLON                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147135 EDGAR SANCHEZ                               REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640415 EDGAR SANTANA RIVERA                        ALTURAS DE VEGA BAJA          Q 21 CALLE MINICIPAL                                                               VEGA BAJA           PR         00963
   147136 EDGAR SANTIAGO CINTRON                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147137 EDGAR SANTIAGO ROSARIO                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640416 EDGAR SANTOS MARTINEZ                       RR 4 BOX 7478                                                                                                    CIDRA               PR         00739
   640417 EDGAR SEGURA SINISTERRA                     P O BOX 786                                                                                                      LUQUILLO            PR         00773
   640418 EDGAR SERRANO QUI¥ONES                      CARR 723 KM 3 1                                                                                                  COAMO               PR         00769
   147140 EDGAR SILVESTRY ORTIZ                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640421 EDGAR SILVESTRY REYES                       P O BOX 512                                                                                                      BOQUERON            PR         00622‐0512
   640270 EDGAR SOSA                                  HC 1 91 BOX 8682                                                                                                 VEGA BAJA           PR         00692
   147142 EDGAR SOTO LUGO                             REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147143 EDGAR SOTO RODRIGUEZ                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147144 EDGAR SOTO SOTO                             REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640423 EDGAR STELLA PEREZ                          ASSMCA                        PO BOX 21414                                                                       SAN JUAN            PR         00928‐1414
          EDGAR STELLA Y/O ILEANA
   147145 TURNER                                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   640424 EDGAR T MORALES GONZALEZ                    PO BOX 704                                                                                                       SAN SEBASTIAN       PR         00685
   640425 EDGAR TIRADO GARCIA                         CIELO DONADO VILLAGE          89 AVE CIELO DONADO                                                                VEGA ALTA           PR         00692
   147148 EDGAR TORRES FERNANDEZ                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147149 EDGAR TORRES LOPEZ                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147151 EDGAR TORRES OLIVERAS                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147152 EDGAR TORRES ORTIZ                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147153 EDGAR TORRES RIVERA                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640426 EDGAR VALENTIN VEGA                         VILLAS ASTURIAS               5 BLQ 31 C/ PEREIRA                                                                CAROLINA            PR         00983
   640271 EDGAR VALLE PAGAN                           HC 2 BOX 8482                                                                                                    QUEBRADILLAS        PR         00678
   147154 EDGAR VARGAS LORENZO                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640428 EDGAR VAZQUEZ COLON                         URB RIO CANAS                 D21 CALLE 4                                                                        PONCE               PR         00731
   640429 EDGAR VAZQUEZ CRUZ                          PO BOX 4952 PMB 305                                                                                              CAGUAS              PR         00726‐4952
   147156 EDGAR VAZQUEZ VARGAS                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640430 EDGAR VEGA LOPEZ                            HC 22 BOX 7488                                                                                                   JUNCOS              PR         00777
   147157 EDGAR VEGA RIVERA                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  640432 EDGAR VERA CALDERON                          EL FARO                   EDIF 6                                                                                    CAROLINA            PR           00985

   147158 EDGAR VIDAL PEREA SANCHEZ                   REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147159 EDGAR VILLAFANE ROSADO                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   640433 EDGAR VILLANUEVA MENDEZ                     B‐179 AVE NOEL ESTRADA    CALLE DR HERNANDEZ DEL VALLE                                                              ISABELA             PR           00662
   640434 EDGAR VIRUET CANDELARIA                     713 CALLE ESTADO          APT G 1                                                                                   SAN JUAN            PR           00907

   640435 EDGAR W CARDONA RAMIREZ                     URB LA CUMBRE             571 CALLE WASHINGTON                                                                      SAN JUAN            PR           00926
   147160 EDGAR Y COLLAZO APONTE                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147161 EDGAR Y RANERO MORALES                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147162 EDGAR ZABALA GARCIA                         REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147164 EDGARD A DELGADO RIVERA                     REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   640436 EDGARD A LOPEZ CARDONA                      URB LOS MAESTRO           23 CALLE B                                                                                RIO GRANDE          PR           00745
   640438 EDGARD A PEREZ PEREZ                        HC 2 BOX 27007                                                                                                      GUAYANILLA          PR           00656
   147165 EDGARD A TORRES QUESTELL                    REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147166 EDGARD ALEXANDER GARCIA                     REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   640439 EDGARD ALMODOVAR COTTO                      HC 2 BOX 18230                                                                                                      GURABO              PR           00778
   640440 EDGARD ANTONIO GALINDO                      PARL GARDEN               A 54 CALLE ROCK MOUNTAIN                                                                  SAN JUAN            PR           00926
   640441 EDGARD CORTES ABRAHAMS                      HC 5 BOX 92032                                                                                                      ARECIBO             PR           00612‐9523
   147168 EDGARD CRESPO NAZARIO                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147170 EDGARD DELGADO SERRANO                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147171 EDGARD FIGUEROA IRIZARRY                    REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147172 EDGARD G TORRES QUESTELL                    REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          EDGARD HERNADEZ DBA SIGNS
   147173 DESIGNERS                                   200 SANTA ISIDRA 1        CARR 987                                                                                  FAJARDO             PR           00738
   640442 EDGARD HERNANDEZ                            HC 5 BOX 51255                                                                                                      MAYAGUEZ            PR           00680
   147174 EDGARD INESTA MAS                           REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   640443 EDGARD J GARCIA DAVILA                      URB VILLA UNIVERSITARIA   C 5 CALLE 6                                                                               HUMACAO             PR           00791

   147175 EDGARD J GONZALEZ GONZALEZ REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   147176 EDGARD J HERNANDEZ IRIZARRY REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   640444 EDGARD J REYES VAZQUEZ      URB COLLEGE PARK                          1803 CALLE COMPSTL                                                                        SAN JUAN            PR           00921

   147177 EDGARD J RODRIGUEZ ROSADO                   REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147178 EDGARD J TORRES RIVERA                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   640445 EDGARD J VAZQUEZ GONZALEZ                   PO BOX 4267                                                                                                         MAYAGUEZ            PR           00681‐5527
          EDGARD KENT REYES
   147179 CARTAGENA                                   REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147180 EDGARD LEBRON LANDRAU                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   640446 EDGARD LOPEZ DIAZ                           PO BOX 2119                                                                                                         JUNCOS              PR           00777
   147182 EDGARD LORENZO CORA                         REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147184 EDGARD MARIN VAZQUEZ                        REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147185 EDGARD MARTIN RODRIGUEZ                     REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147186 EDGARD MONTANEZ PAGAN                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   147187 EDGARD NEVAREZ HERNANDEZ                    REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147188 EDGARD NIEVES CENTENO                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   640447 EDGARD ORTIZ MELENDEZ                       AVE PONCE DE LEON         COND R MEDICAL DIST 1547                                                                  SAN JUAN            PR           00926
   147189 EDGARD PEREZ CASTRO                         REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  147190 EDGARD R RAMOS MARTINEZ                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  640448 EDGARD RODRIGUEZ LUIGGI                      20 CHALETS DE SANTA MARIA                                                                                             SAN JUAN          PR         00927
  147192 EDGARD RUIZ WILLIAMS                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  640449 EDGARD TORRES GONZALEZ                       HC 02 BOX 21383                                                                                                       MAYAGUEZ          PR         00680‐9009
  147193 EDGARD TORRES KARRY                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  147194 EDGARD VEGA RODRIGUEZ                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         EDGARDO A CABANILLAS
  640459 ESCALONA                                     610 AVE MIRAMAR             APT 10 A                                                                                  SAN JUAN          PR         00907‐3213

   147195 EDGARDO A COLON MARTINEZ                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EDGARDO A FIGUEROA
   640460 PAUNETO                                     P O BOX 83                                                                                                            COROZAL           PR         00783‐0083

   640461 EDGARDO A FIGUEROA ROSARIO URB SIERRA BAYAMON                           46 22 CALLE 41                                                                            BAYAMON           PR         00961
          EDGARDO A GONZALEZ
   147197 BORRERO                    REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   147198 EDGARDO A HERNANDEZ PONS                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   640463 EDGARDO A MOJICA NAZARIO                    URB EL VIVERO               E 1 CALLE 1                                                                               GURABO            PR         00778

   147199 EDGARDO A MUNIZ QUINONES                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147200 EDGARDO A RAMOS LUCIANO                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147201 EDGARDO A RIVERA GARCIA                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147202 EDGARDO A RIVERA RIVERA                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640464 EDGARDO A RIVERA TORRES                     HC 02 BOX 20510                                                                                                       SAN SEBASTIAN     PR         00685

   640465 EDGARDO A RODRIGUEZ JUSINO URB REPARTO UNIVERSITARIO                    389 CALLE EMORY                                                                           SAN JUAN          PR         00926

   147203 EDGARDO A RODRIGUEZ LUGO                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EDGARDO A RODRIGUEZ
   147204 MIRANDA                                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640466 EDGARDO A SOTO AVILA                        PO BOX 1528                                                                                                           QUEBRADILLAS      PR         00678
                                                                                  105 AVE FRANKLIN D ROOSEVELT
   640467 EDGARDO A TORRES                            CONDOMINIO CARIBBEAN SEA    605                                                                                       SAN JUAN          PR         00917
   640468 EDGARDO A USERO DIAS                        URB UNIVERSITY GARDENS      251 CALLE SORBONA                                                                         SAN JUAN          PR         00927
   640469 EDGARDO A VEGA                              PO BOX 366104                                                                                                         SAN JUAN          PR         00936‐6104
   147205 EDGARDO ABREU BAEZ                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640472 EDGARDO ACOSTA FELICIANO                    PO BOX 173                                                                                                            CULEBRA           PR         00775

   640473 EDGARDO AFANADOR GARCIA                     NUEVAS VILLAS DE MANATI     128 AVE LAS PALMAS                                                                        MANATI            PR         00674
   147207 EDGARDO AFANADOR NIEVES                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   640475 EDGARDO AGOSTO CALDERON                     VILLA PALMERAS              381 COLTON                                                                                SAN JUAN          PR         00915
   147208 EDGARDO AGRAIT BERTRAN                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   640476 EDGARDO AGUILAR CORDERO                     HC 04 BOX 47200                                                                                                       HATILLO           PR         00659
   147209 EDGARDO ALICEA SEPULVEDA                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EDGARDO ALMODOVAR
   640477 MARTINEZ                                    URB COLINAS METROPOLITANAS F 6 CALLE LA SANTA                                                                         GUAYNABO          PR         00969

   147210 EDGARDO ALVARADO BURGOS                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640478 EDGARDO ALVAREZ BLAS                        URB BORINQUEN               1 CALLE DC                                                                                AGUADILLA         PR         00603



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   640479 EDGARDO ALVAREZ VELAZQUEZ HC 59 BOX 6121                                                                                                                        AGUADA              PR           00602
                                                                                COND 2 AVE PERIFERAL APT 110
   640480 EDGARDO ALVELO BURGOS     CIUDAD UNIVERSITARIA                        B                                                                                         TRUJILLO ALTO       PR           00976‐2136
   640481 EDGARDO ALVELO RAMOS      URB DORAVILLE SECC                          1 BLOQ 1 LOTE 16                                                                          DORADO              PR           00646
          EDGARDO ANDRE HERNANDEZ
   147211 CAMACHO /                 REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDGARDO ANTONIO HERNANDEZ
   147212 PONS                      REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640482 EDGARDO ARLEQUIN VELEZ    5 CALLE RUFINA                                                                                                                        GUAYANILLA          PR           00656
   147213 EDGARDO ARROYO COLON      REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147214 EDGARDO ARROYO ORTIZ      REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147216 EDGARDO ARROYO VARGAS     REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147217 EDGARDO AUBRAY MARRERO    REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147218 EDGARDO AYALA ORTIZ       REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147219 EDGARDO AYALA RUIZ        REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640486 EDGARDO B BADILLO OTERO   URB CIUDAD UNIVERSITARIA                    S 14 CALLE 24                                                                             TRUJILLO ALTO       PR           00976

   147220 EDGARDO B GARAYUA TORRES                    REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147221 EDGARDO BADEA HERNANDEZ                     REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640487 EDGARDO BAEZ CANINO                         BARRIO MAGUAYO EL COTTO   125 CALLE 3                                                                               DORADO              PR           00646

   147222 EDGARDO BARRETO FIGUEROA                    REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147223 EDGARDO BATIZ RAMIA                         REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDGARDO BATIZ/SOS SECURITY
   640489 SERVICES INC                                AVE RIO HONDO             90 PMB 253                                                                                BAYAMON             PR           00961‐3113
   640490 EDGARDO BEBRAN FERRA                        HC 01 BOX 4639                                                                                                      ADJUNTAS            PR           00601
   147224 EDGARDO BENITEZ COLON                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640491 EDGARDO BERMUDEZ MORENO PO BOX 7334                                                                                                                             PONCE               PR           00732‐7334
   640492 EDGARDO BERRIOS CASILLAS  BO SAINT JUST                               2204 CALLE 2                                                                              TRUJILLO ALTO       PR           00976
   147225 EDGARDO BERRIOS RIVERA    REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDGARDO BOBE DBA COMP AND
   147227 PRINTER SOLUTI            PARC. CASTILLO                              CALLE TORIMAR E ‐ 1                                                                       MAYAGUEZ            PR           00682

   147228 EDGARDO BOFHIL BOCACHICA                    REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640495 EDGARDO BOFILL TORRUELLAS                   URB LOS CAOBOS            2191 CALLE NARANJO                                                                        PONCE               PR           00731
   640496 EDGARDO BONILLA ARGUDO                      PO BOX 5259                                                                                                         MAYAGUEZ            PR           00681
   147229 EDGARDO BORRAS MEDINA                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147230 EDGARDO BRITO BAEZ                          REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640498 EDGARDO BURGOS MELENDEZ                     HC 01 BOX 3029                                                                                                      MAUNABO             PR           00707
   640501 EDGARDO C DELGADO                           URB BARALT                J 4 AVE PRINCIPAL                                                                         FAJARDO             PR           00738

   147232 EDGARDO C DELGADO FIGUEROA REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640503 EDGARDO CABAN MERCADO      HC 01 BOX 7418                                                                                                                       HATILLO             PR           00659
   640504 EDGARDO CABRERA            BO SAN ISIDRO                              PARCELA 424 CALLE 21                                                                      CANOVANAS           PR           00729
   640505 EDGARDO CABRERA CASTRO     LOS COLOBOS PARK                           154 C/ ALMENDRO                                                                           CAROLINA            PR           00987
   640506 EDGARDO CALDAS PAGAN       35 VILLAS DE SOTOMAYOR                                                                                                               AGUADA              PR           00602‐2628
   147233 EDGARDO CALDERON           REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640508 EDGARDO CALES LOPEZ        CALLE 7 G‐14                               URB ALT DE PE¥UELAS                                                                       PE¥UELAS            PR           00624



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  640509 EDGARDO CALES RIVERA                         URB SANTA MARIA              G10 CALLE 29                                                                        GUAYANILLA        PR         00656‐1514
  147234 EDGARDO CALIZ ECHEVARRIA                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   640510 EDGARDO CAMACHO GONZALEZ URB EL ROSARIO II                               M 24 CALLE C                                                                        VEGA BAJA         PR         00693
          EDGARDO CARABALLO
   640511 ESCOBALES                 SUITE 191 PO BOX 2400                                                                                                              TOA BAJA          PR         00951‐2400
   640512 EDGARDO CARABALLO PEREZ   PO BOX 1412                                                                                                                        YAUCO             PR         00698
   640513 EDGARDO CARDONA           P O BOX 337                                                                                                                        LAS PIEDRAS       PR         00771
          EDGARDO CARDONA / EDGARDO
   640514 CARDONA                   PO BOX 1024                                                                                                                        HORMIGUEROS       PR         00660

   147235 EDGARDO CARDONA VALENTIN                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EDGARDO CARRASQUILLO
   147236 MARCANO                                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EDGARDO CARRASQUILLO
   640515 MARTINEZ                                    HC 01 BOX 7304                                                                                                   VIEQUES           PR         00765
   147237 EDGARDO CARRIL JIMENEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640516 EDGARDO CARRION RIVERA                      A/C: ROSALYN RIOS RIVERA     DEPTO DE LA FAMILIA      PO BOX 8000                                                SAN JUAN          PR         00910‐0800
   147238 EDGARDO CARTAGENA                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EDGARDO CARTAGENA
   147239 ALVARADO                                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147240 EDGARDO CARTAGENA AYALA                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EDGARDO CASANOVA
   147242 RODRIGUEZ                                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   640517 EDGARDO CASAS PACHECO                       URB PARCELAS NUEVAS CELADAS 479 CALLE 31                                                                         GURABO            PR         00778
   147243 EDGARDO CASIANO ORTIZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EDGARDO CASTELLANOS
   640520 VILLEGAS                                    BO BUENA VISTA               829 CARR 167 KM 2 H 0                                                               BAYAMON           PR         00956
   147244 EDGARDO CASTILLO NIEVES                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640521 EDGARDO CASTILLO RIVERA                     HC 01 BOX 16811                                                                                                  HUMACAO           PR         00791‐9733
   640522 EDGARDO CASTRO SANTIAGO                     RES DR PILA BLG 13 APT 199                                                                                       PONCE             PR         00716‐9354
   147247 EDGARDO CENTENO LLOPIZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147248 EDGARDO CENTENO SOTO                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147249 EDGARDO CHICO PENA                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147250 EDGARDO CINTRON CINTRON                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147252 EDGARDO CINTRON DIAZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640526 EDGARDO CINTRON RIOS                        URB ESTANCIAS                A 4 VIA CARACAS                                                                     BAYAMON           PR         00961
   147254 EDGARDO CINTRON RIVERA                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147255 EDGARDO COLLAZO LEANDRY                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640531 EDGARDO COLON BUTLER                        URB CANA                     SS 21 CALLE 12                                                                      BAYAMON           PR         00956
   147257 EDGARDO COLON CRUZ                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640533 EDGARDO COLON DE JESUS                      BO MARTIN GONZALEZ           8 CALLE URUGUAY                                                                     CAROLINA          PR         00985
          EDGARDO COLON H/W/C
   640534 COLMADO CAFETIN LUNA                        22 MARTINEZ NADAL NORTE                                                                                          MAYAGUEZ          PR         00680
   640450 EDGARDO COLON MARTINEZ                      URB MIRADOR ECHEVARRIA       B 16 CALLE ACACIA                                                                   CAYEY             PR         00736

   640535 EDGARDO CONCEPCION JIMENEZ P O BOX 882                                                                                                                       CEIBA             PR         00735
   640536 EDGARDO CORDERO JIMENEZ    COND PONCIANA                                 16 CALLE MARINA APT4 B                                                              PONCE             PR         00717

   640537 EDGARDO CORDERO MARCANO BOX 1082                                                                                                                             CAYEY             PR         00737

   147258 EDGARDO CORPORAN MARTINEZ REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  640538 EDGARDO CORTES GUZMAN                        LOS REYES                  78 CALLE 5                                                                               JUANA DIAZ        PR         00795
  640539 EDGARDO CORTES MORALES                       PO BOX 22                                                                                                           CAGUAS            PR         00726
  147259 EDGARDO CRUZ CAMACHO                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  147262 EDGARDO CRUZ PEREZ                           REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         EDGARDO CRUZ QUEIPO &
  640540 ASSOCIATES                                   P O BOX 193556                                                                                                      SAN JUAN          PR         00919 3556
                                                      BO MONTELLANO SECT MARTIN
   640541 EDGARDO CRUZ REYES                          REYES                     P O BOX 361                                                                               CIDRA             PR         00739
   640543 EDGARDO D ARES ARZURU                       URB VISTA DE GUAYNABO     HB 5 CALLE RUBI                                                                           GUAYNABO          PR         00969
   640544 EDGARDO D JUSINO IRIARRY                    HC 01 BOX 10161                                                                                                     LAJAS             PR         00667

   147263 EDGARDO D ROMAN CARDONA                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147264 EDGARDO D TORRES TORRES                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640545 EDGARDO DAMIANI MULLER                      2DA EXT COUNTRY CLUB       768 CALLE URANETA                                                                        SAN JUAN          PR         00924
   640546 EDGARDO DAVILA                              URB SAN SOUCI                                                                                                       BAYAMON           PR         00957
   640547 EDGARDO DAVILA COLON                        PARC AMADEO                N 27 CALLE F                                                                             VEGA BAJA         PR         00693

   640548 EDGARDO DAVIU VIRUET                        COND KING VILLE CONDADO    63 CALLE KING COURT APT 5 H                                                              SAN JUAN          PR         00911
   147266 EDGARDO DE JESUS FONSECA                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   147267 EDGARDO DE JESUS MARTINEZ                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640549 EDGARDO DE LEON RIVERA                      BOX 1441                                                                                                            JUANA DIAZ        PR         00795
          EDGARDO DE LOS SANTOS
   640550 BARBOSA                                     PARCELAS FALU              308 CALLE SIMON MADERA                                                                   SAN JUAN          PR         00924

   640551 EDGARDO DEL VALLE GALARZA                   PO BOX 360257                                                                                                       SAN JUAN          PR         00936
   640552 EDGARDO DELGADO                             PO BOX 3562                                                                                                         AGUADILLA         PR         00605
   147268 EDGARDO DELGADO BRAS                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   147269 EDGARDO DELGADO DELGADO                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   147270 EDGARDO DELGADO FIGUEROA                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640553 EDGARDO DELGADO MEDINA                      P O BOX 149                                                                                                         MANATI            PR         00674

   147271 EDGARDO DESARDEN CARRERO                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640554 EDGARDO DIAZ BENABE                         URB EL BATEY               H3 PO BOX 345                                                                            PUERTA REAL       PR         00740
   640555 EDGARDO DIAZ OLMEDA                         URB ARROYO DEL MAR         306 CALLE CARIBE                                                                         ARROYO            PR         00714
   640556 EDGARDO DIAZ RIVERA                         H C 05 BOX 61973                                                                                                    MAYAGUEZ          PR         00680
   640559 EDGARDO DIAZ ROBLES                         URB RIVIERA DE CUPEY       66 CALLE HORTENSIA                                                                       SAN JUAN          PR         00926
   147273 EDGARDO DIAZ SANTIAGO                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640560 EDGARDO DIAZ TORRES                         P O BOX 33                                                                                                          ARROYO            PR         00714
   640561 EDGARDO E APONTE                            PO BOX 6400 PMB 295                                                                                                 CAYEY             PR         00737
   640562 EDGARDO E CADIZ ROJAS                       ALTO MONTE                 2 N 78 CALLE 19                                                                          CAGUAS            PR         00725
          EDGARDO E MARTINEZ
   147278 RODRIGUEZ                                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   640563 EDGARDO E RODRIGUEZ CRUZ                    HC 3 BOX 19979                                                                                                      ARECIBO           PR         00612

   147279 EDGARDO E ROSARIO CABRERA                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   147280 EDGARDO E SANTIAGO PIZARRO REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147281 EDGARDO E VEGA             REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640564 EDGARDO E VEGA MAYSONET    PARC CARMEN                                 19 B CALLE REINA                                                                         VEGA ALTA         PR         00692



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          EDGARDO ECHEVARRIA
   147282 FELICIANO                                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   640565 EDGARDO ECHEVARRIA LUGO                     2 COND LAS AMERICAS APT 411                                                                                         SAN JUAN             PR           00921
          EDGARDO ENCARNACION
   640566 FERNANDEZ                                   PO BOX 195                                                                                                          CAROLINA             PR           00986

   147283 EDGARDO ESPINOSA GONZALEZ REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EDGARDO ESTAVILLO / WANDA
   147284 TORRELLAS                 REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   640567 EDGARDO F FERNANDEZ SOBA                    HC 02 BOX 12113                                                                                                     GURABO               PR           00778

   147285 EDGARDO F GONZALEZ MORALES REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   147286 EDGARDO F RIVEIRO CALDER   REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   147287 EDGARDO F TORO GONZALEZ    REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   147288 EDGARDO FABREGAS CASTRO    REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   640568 EDGARDO FALCON SANTIAGO    EXT PUNTO ORO                                  4828 CALLE LA MERCED                                                                  PONCE                PR           00728‐2111
   147289 EDGARDO FEBRES VIERA       REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EDGARDO FELICIANO
   147290 CONCEPCION                 REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   640569 EDGARDO FELICIANO ROLON    PO BOX 353                                                                                                                           CAYEY                PR           00737 0353

   640570 EDGARDO FELICIANO SANCHEZ P O BOX 1375                                                                                                                          VEGA BAJA            PR           00694
          EDGARDO FERNANDEZ CRUZ                                                    CAPARRA TERRACE 1225 AVE
   147292 DBA ALPHA                  WINDOW TINT                                    PINERO                                                                                SAN JUAN             PR           00920
          EDGARDO FERNANDEZ CRUZ     AVE. DE JESUS T. PINERO 1225
   147293 DBA ALPHA WINDOW           CAPARRA TERRACE                                                                                                                      SAN JUAN             PR           00920‐0000
   147294 EDGARDO FERRER CRUZ        REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EDGARDO FIGUEROA / EDGARDO
   147296 FIGUEROA                   REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   147297 EDGARDO FIGUEROA ACEVEDO                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   147299 EDGARDO FIGUROA QUILES                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   640571 EDGARDO FLORES MORIS                        BELMONTE                      66 CALLE PRAVIA                                                                       MAYAGUEZ             PR           00680‐2305
   640572 EDGARDO FLORES ROSA                         PO BOX 255                                                                                                          FAJARDO              PR           00738
   640574 EDGARDO FUENTES RIVERA                      PO BOX 237                                                                                                          PALMER               PR           00721

   147300 EDGARDO FUENTES RODRIGUEZ REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   640576 EDGARDO FUMERO PEREZ      PO BOX 164                                                                                                                            LAJAS                PR           00667
   147301 EDGARDO G LOPEZ TORRES    REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   640578 EDGARDO G TORRES FIGUEROA                   A 8 URB VILLA ALBA                                                                                                  VILLALBA             PR           00766
   640579 EDGARDO GAGO SANABRIA                       230 AVE MONTEMAR                                                                                                    AGUADILLA            PR           00603
   640580 EDGARDO GALERA SANTIAGO                     2298 BO PLAYUELAS                                                                                                   AGUADILLA            PR           00603
   640581 EDGARDO GALLOZA                             PO BOX 336                                                                                                          AGUADA               PR           00602
   640582 EDGARDO GALLOZA OTERO                       PO BOX 336                                                                                                          AGUADA               PR           00602

   640583 EDGARDO GARCIA BAEZ                         232 AVE ELEONOR ROOSEVELT                                                                                           SAN JUAN             PR           00907
   147304 EDGARDO GARCIA GOMEZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   147305 EDGARDO GARCIA MARTINEZ                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   147306 EDGARDO GARCIA ORTIZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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   147307 EDGARDO GAROFALO GAROFALO REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   147308 EDGARDO GAUD ROSA         REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   640451 EDGARDO GELABERT SANTIAGO                   HC 09 BOX 4579                                                                                                       SABANA GRANDE        PR           00637
   147309 EDGARDO GERENA PENA                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   147310 EDGARDO GONZALEZ                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   147311 EDGARDO GONZALEZ ARAUZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EDGARDO GONZALEZ
   147314 CASTELLANO                                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   640452 EDGARDO GONZALEZ CINTRON                    HC 2 BOX 8470                                                                                                        OROCOVIS             PR           00720
   640585 EDGARDO GONZALEZ COLON                      HC 01 BOX 3748                                                                                                       FLORIDA              PR           00650

   147315 EDGARDO GONZALEZ FIGUEROA REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   640586 EDGARDO GONZALEZ FLORES   HC 91 BOX 9583                                                                                                                         VEGA ALTA            PR           00692

   147316 EDGARDO GONZALEZ MORALES                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   640591 EDGARDO GONZALEZ RAMIREZ                    URB MOTEARVERNIA             7 VIA SAN PAOLO                                                                         GUAYNABO             PR           00969
   147317 EDGARDO GONZALEZ RIVERA                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   640593 EDGARDO GONZALEZ ROBLES                     109 HACIENDA LA MONSERRATE                                                                                           MANATI               PR           00674
          EDGARDO GONZALEZ
   640594 RODRIGUEZ                                   URB LAS CUMBRES              113 CALLE LAS VEGAS                                                                     SAN JUAN             PR           00926
   640595 EDGARDO GONZALEZ ROSA                       PO BOX 71                                                                                                            HATILLO              PR           00659

   640597 EDGARDO GUERRERO FLORES                     SECT LAS FLORES              CARR 185 KM 9 5 BO CARRUZO                                                              CAROLINA             PR           00729
   147319 EDGARDO GUZMAN ORTIZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   147320 EDGARDO H FUSTER VIGIER                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   147321 EDGARDO H LIHARD BOLIVAR                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   640598 EDGARDO H MERCADO BOSCH                     P O BOX 10188                                                                                                        PONCE                PR           00732‐0188
          EDGARDO H MORALES
   147322 BETANCOURT                                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   640599 EDGARDO HENRIQUEZ PABON                     JARDINES DE COUNTRY CLUB     BO 21 CALLE 115                                                                         CAROLINA             PR           00983
   640600 EDGARDO HEREDIA                             URB LAGOS DE PLATA           K7 CALLE 10                                                                             TOA BAJA             PR           00949

   147323 Edgardo Hernández Beauchamp REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   147324 EDGARDO HERNANDEZ BURGOS REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   640601 EDGARDO HERNANDEZ CARRION VILLA ANDALUCIA                                J 36 CALLE GAUCIN                                                                       SAN JUAN             PR           00926
          EDGARDO HERNANDEZ
   147325 CORDERO                   REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EDGARDO HERNANDEZ
   147327 HERNANDEZ                 REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EDGARDO HERNANDEZ LOZADA
   640604 DBA                       VILLA ANDALUCIA                                217 CALLE RONDA                                                                         SAN JUAN             PR           00926
          EDGARDO HERNANDEZ
   640605 MORALES                   HC 2 BOX 4465                                                                                                                          LAS PIEDRAS          PR           00771




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   640606 EDGARDO HERNANDEZ SANTANA COMUNIDAD HATO                                   SOLAR 178‐B                                                                             RIO GRANDE          PR           00684
   147329 EDGARDO HERNANDEZ VELEZ   REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640607 EDGARDO I BAEZ AYALA                        URB SAN ISIDRO                 103 CALLE PEDRO RDZ ACOSTA                                                              SABANA GRANDE       PR           00637
   640608 EDGARDO I DIAZ GUEVARA                      URB TERRAZAS DE CUPEY          B 10 CALLE 7                                                                            TRUJILLO ALTO       PR           00976
   640609 EDGARDO I PEREZ DEL PILAR                   URB EL VERDE                   A 17 CALLE 2                                                                            VEGA BAJA           PR           00693
   640453 EDGARDO I RIVERA DELBREY                    URB PUERTO NUEVO               1023 CALLE ACAPULCO                                                                     SAN JUAN            PR           00920
   147330 EDGARDO I RIVERA RIVERA                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147331 EDGARDO I. BAEZ AYALA                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147332 EDGARDO IRIZARRY BONILLA                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147333 EDGARDO IRIZARRY PAGAN                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147334 EDGARDO J ALMEZQUITA RIVERA REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147335 EDGARDO J COLON SEPULVEDA                   REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDGARDO J CONTRERAS /
   147336 VANESSA SAN MIGUEL                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147337 EDGARDO J CORPORAN COLON                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147338 EDGARDO J CRESPO APONTE                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640454 EDGARDO J CRUZ RAMOS                        QTAS DEL NORTE                 C 7 CALLE 3                                                                             BAYAMON             PR           00959

   147339 EDGARDO J DAVILA GONZALEZ                   REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640612 EDGARDO J DIAZ COLON                        COND PUERTA DEL SOL APT 1011                                                                                           SAN JUAN            PR           00926
          EDGARDO J FELICIANO
   640613 RODRIGUEZ                                   HC 05 BOX 58519                                                                                                        HATILLO             PR           00659
   147340 EDGARDO J GALARZA ACOSTA                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147341 EDGARDO J GONZALEZ MORENO REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147342 EDGARDO J GUZMAN ROBLES   REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640614 EDGARDO J IRIZARRY SIACA  HC 2 BOX 6625                                                                                                                            YABUCOA             PR           00767
   640615 EDGARDO J LOPEZ MATOS     CAGUAS NORTE                                     S 9 CALLE NEBRASKA                                                                      CAGUAS              PR           00725

   147343 EDGARDO J MARTINEZ VERDEJO REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDGARDO J MELENDEZ
   147344 FIGUEROA                   REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147345 EDGARDO J MELENDEZ RAMOS                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDGARDO J MERCADO
   147346 MAGOBET                                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147347 EDGARDO J MERCADO ROSA                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147349 EDGARDO J MORALES ACEVEDO                   REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640616 EDGARDO J NIEVES FERRERIS                   RAMEY BRANCH                   PO BOX 250190                                                                           AGUADILLA           PR           00604
   147350 EDGARDO J NUNEZ                             REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640617 EDGARDO J PIZARRO BISBAL                    P O BOX 1368                                                                                                           HORMIGUEROS         PR           00660‐1368
   640619 EDGARDO J RALAT TRANI                       P O BOX 8656                                                                                                           PONCE               PR           00732
   147354 EDGARDO J RAMOS CRUZ                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147355 EDGARDO J RIVERA RIOS                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147356 EDGARDO J RIVERA VELAZQUEZ                  REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          EDGARDO J RODRIGUEZ
   640620 RODRIGUEZ                                   URB VERDE MAR           174 CALLE 8                                                                         PTA SANTIAGO         PR           00741

   147357 EDGARDO J ROSARIO BERRIOS                   URB VISTA VERDE         3 CALLE ARGENTINA                                                                   VEGA BAJA            PR           00693

   147358 EDGARDO J SUAREZ BORRERO                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   147359 EDGARDO J TORRES ROMAN                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   147360 EDGARDO J VAZQUEZ BRUNO                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   147361 EDGARDO J VAZQUEZ TORRES                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   147362 EDGARDO J VELEZ FLORES                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   147363 EDGARDO J ZAYAS NEGRON                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   147364 EDGARDO J. ESQUILIN SUAREZ                  REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   640621 EDGARDO JIMENEZ GARCIA                      HC 1 BOX 7132                                                                                               AGUAS BUENAS         PR           00703
   640622 EDGARDO JIMENEZ GRACIA                      EXT SALAZAR             2031 CALLE SAGAZ                                                                    PONCE                PR           00717
   147366 EDGARDO JIMENEZ ORAMA                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      URBANIZACION BAHIA
   640624 EDGARDO JIMENEZ PACHECO                     VISTAMAR                1474 CALLE BARRACUDA                                                                CAROLINA             PR           00983‐1448

   147369 EDGARDO JIMENEZ QUINONES                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   147370 EDGARDO JIMENEZ RIVERA                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   640625 EDGARDO JOGLAR CACHO                        PO BOX 3948                                                                                                 GUAYNABO             PR           00970‐3948
          EDGARDO JORGE ORTIZ Y LESLIE
   147371 COLLEN                                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   640626 EDGARDO JOSE ORTIZ MATOS                    PO BOX 7428                                                                                                 PONCE                PR           00732

   147372 EDGARDO JOSE ORTIZ SANCHEZ                  REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   147373 EDGARDO JR ALICEA                           REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   147374 EDGARDO JUAN LOPEZ MORELL                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   640628 EDGARDO L BELARDO                           PO BOX 63                                                                                                   VIEQUES              PR           00765

   640629 EDGARDO L BERRIOS BERNARDI                  PMB 1247 PO BOX 4956                                                                                        CAGUAS               PR           00726‐4956

   147376 EDGARDO L BIBILONI DEL VALLE                REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EDGARDO L CHAVEZ
   640630 CASABLANCA                                  BO GANDUL               1068 CALLE LEALTAD                                                                  SAN JUAN             PR           00907
   147378 EDGARDO L COLON BELEN                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   640631 EDGARDO L CRUZ SANTIAGO                     PARC EL TUQUE           1140 CALLE PEDRO SHUCK                                                              PONCE                PR           00728‐4745

   640632 EDGARDO L DELGADO COLON                     PO BOX 3562                                                                                                 AGUADILLA            PR           00605
   147379 EDGARDO L DIAZ COLON                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   147380 EDGARDO L ESPADA COLON                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   147381 EDGARDO L FONTANEZ CORTES                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   640633 EDGARDO L FUENTES MENDEZ                    URB SANTIAGO            6 CALLE C                                                                           LOIZA                PR           00772
          EDGARDO L HERNANDEZ/
   147382 ZULEYKA CAMACHO                             REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   147383 EDGARDO L LASANTA BURGOS                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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   147384 EDGARDO L MALARET GONZALEZ REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDGARDO L MALDONADO
   147385 SEGARRA                    REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDGARDO L MANGUAL
   147386 MARTINEZ                   REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147388 EDGARDO L MUNOZ VAZQUEZ     REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147389 EDGARDO L NEGRON VARGAS     REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147390 EDGARDO L ORTEGA ORTEGA     REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147391 EDGARDO L ORTIZ MACHUCA     REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640635 EDGARDO L PEREZ MORALES     527 SERGIO CUEVAS                                                                                                       HATO REY            PR           00918
   640636 EDGARDO L PEREZ REYES       VILLA DEL CARMEN                     2512 CALLE TENERIFE                                                                PONCE               PR           00716
   640638 EDGARDO L RIVERA COLON      PO BOX 911                                                                                                              COAMO               PR           00769
   147394 EDGARDO L RIVERA RIVERA     REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDGARDO L RIVERA RODRIGUEZ/
   147395 DANIEL                      REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640641 EDGARDO L ROBLES RODRIGUEZ HC 6 BOX 4199                                                                                                            COTTO LAUREL        PR           00780
          EDGARDO L RODRIGUEZ
   640642 SANTIAGO                   PO BOX 436                                                                                                               AGUIRRE             PR           00704‐0436
   147396 EDGARDO L RUIZ GANDIA      REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147397 EDGARDO L SANTANA GONZALEZ REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640644 EDGARDO L TORRES LOPEZ     URB COLINAS DE PLATA                  21 CAMINO LAS RIBERAS                                                              TOA ALTA            PR           00953

   640627 EDGARDO L TORRES RODRIGUEZ                  PO BOX 3591                                                                                             CIDRA               PR           00739
   640645 EDGARDO L VAZQUEZ                           URB PUNTO ORO        K 36 CALLE 10                                                                      PONCE               PR           00731
   147398 EDGARDO L VAZQUEZ LUGO                      REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640646 EDGARDO L VEGA BADILLO                      COOP VILLA KENNEDY   EDIF 15 APT 262                                                                    SAN JUAN            PR           00915

   640647 EDGARDO L VEGA RODRIGUEZ                    PUENTE JOBOS         429‐42 CALLE9                                                                      GUAYAMA             PR           00784
   147399 EDGARDO L VELEZ ORTIZ                       REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640648 EDGARDO L. DE JESUS CORREA                  URB APONTE           A16 CALLE 8                                                                        CAYEY               PR           00736

   147401 EDGARDO L. PINERO RODRIGUEZ REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640649 EDGARDO LABOY NEGRON        HC 01 BOX 5207                                                                                                          VILLALBA            PR           00766

   147402 EDGARDO LARREGUI RODRIGUEZ REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640653 EDGARDO LEBRON TIRADO      PO BOX 776                                                                                                               SALINA              PR           00751
   147403 EDGARDO LEON CRUZ          REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640654 EDGARDO LIZARDI BONILLA    COND PLAZA DEL PARQUE                 APT 12 B 2 BOX 1204                                                                CAROLINA            PR           00985
   640655 EDGARDO LLORENS SOTO       URB ALTURAS DE YAUCO                  M 37 CALLE9                                                                        YAUCO               PR           00698
   640656 EDGARDO LOPEZ              CARR CALERO KM 1 1                                                                                                       AGUADILLA           PR           00605
   640657 EDGARDO LOPEZ ESCALANTE    BO BUENAVISTA                         4 CAMINOD LOS DIAZ                                                                 BAYAMON             PR           00956‐9676

   640659 EDGARDO LOPEZ HERNANDEZ                     PMB 237              PO BOX 7999                                                                        MAYAGUEZ            PR           00681
   640660 EDGARDO LOPEZ PAOLI                         BOX 1730                                                                                                LARES               PR           00669
   640661 EDGARDO LOPEZ TORRES                        URB SAN GERARDO      1758 CALLE AUGUSTA                                                                 SAN JUAN            PR           00926
   147405 EDGARDO LOPEZ VELAZQUEZ                     REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640662 EDGARDO LOZADA RIVERA                       HC 01 BOX 8440                                                                                          CABO ROJO           PR           00623‐9711
   147406 EDGARDO LUCIANO CORTES                      REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  640663 EDGARDO LUCIANO PEREZ                        HC 02 BOX 49052                                                                                         VEFGA BAJA        PR         000693
  147407 EDGARDO LUGO MARQUEZ                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  640665 EDGARDO LUIGUI DAVILA                        URB VISTA BELLA       Q 18 CALLE LAREDO                                                                 BAYAMON           PR         00956
         EDGARDO LUIS GUTIERREZ
  640666 PADILLA                                      URB LA ARBOLEDA       185 CALLE 19                                                                      SALINAS           PR         00751
         EDGARDO LUIS MALDONADO
  147408 MORELL                                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   147409 EDGARDO M CASTRO VAZQUEZ                    REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147410 EDGARDO M DIAZ BENITEZ                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EDGARDO M FELICIANO
   640668 SANTIAGO                                    PO BOX 1774                                                                                             YAUCO             PR         00689
          EDGARDO M MUNOZ
   147411 RODRIGUEZ                                   REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147413 EDGARDO M PIZARRO                           REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147414 EDGARDO M. SALAS GARCIA                     REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EDGARDO MADERA Y EVELYN
   147415 VAZQUEZ                                     REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   147416 EDGARDO MALAVE CAMACHO  REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640672 EDGARDO MALDONADO       COND BELLO HORIZONTE                      APT 1903                                                                          SAN JUAN          PR         00924
                                  BO SABANA HOYO SECTOR
   640673 EDGARDO MALDONADO BONET CANDELARIA                                BUZON 4343                                                                        ARECIBO           PR         00612

   147417 EDGARDO MALDONADO CRUZ                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   147418 EDGARDO MALDONADO GOMEZ REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EDGARDO MALDONADO
   147419 GONZALEZ                REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   147420 EDGARDO MALDONADO TORRES REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   640675 EDGARDO MANGUAL GONZALEZ URB SAN GERARDO                          1771 CALLE ALABAMA                                                                SAN JUAN          PR         00926
   147421 EDGARDO MARQUEZ LIZARDI  REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147423 EDGARDO MARTINEZ         REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147426 EDGARDO MARTINEZ DEDOS   REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640676 EDGARDO MARTINEZ LEBRON  URB EL CAFETAL I                         I 78 CALLE 13                                                                     YAUCO             PR         00695
   147427 EDGARDO MARTINEZ PEREZ   REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147428 EDGARDO MARTINEZ SUAREZ  REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147429 EDGARDO MARTINEZ VIGO    REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147430 EDGARDO MATOS CRUZ       REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147431 EDGARDO MEDERO DUARTE    REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640678 EDGARDO MEDINA BARCELO   497 AVE E POL SUITE 443                                                                                                    SAN JUAN          PR         00926‐5636
   147432 EDGARDO MEDINA BENITEZ   REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   147433 EDGARDO MEDINA ESCAMILLA                    REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147434 EDGARDO MEDINA PADILLA                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147435 EDGARDO MEDINA SOSA                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640680 EDGARDO MEDINA TORRES                       52 CALLE OTERO                                                                                          ISABELA           PR         00662
   147436 EDGARDO MEDINA VELEZ                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147437 EDGARDO MEJIAS CASTAINGS                    REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EDGARDO MELENDEZ
   640681 ALMESTICA                                   HC 1 BOX 2666                                                                                           LOIZA             PR         00772



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   640682 EDGARDO MELENDEZ LABIOSA                    URB MONTE OLIVO          4 CALLE HERA                                                                        GUAYAMA             PR           00784

   640684 EDGARDO MELENDEZ MELENDEZ HC 02 BOX 8804                                                                                                                 OROCOVIS            PR           00720
   147439 EDGARDO MELENDEZ ORTIZ    REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640685 EDGARDO MELENDEZ ROSA     URB VENUS GARDENS                          BD 11 CALLE C                                                                       SAN JUAN            PR           00926

   147441 EDGARDO MELENDEZ SALDANA                    REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147443 EDGARDO MENDEZ CRUZ                         REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147444 EDGARDO MENDEZ NIEVES                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147445 EDGARDO MENDOZA RIVERA                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640686 EDGARDO MENDOZA VELEZ                       ESTANCIAS SAN FERNANDO   B 20 CALLE 4                                                                        CAROLINA            PR           00985
          EDGARDO MERCADO
   640687 HERNANDEZ                                   ROYAL TOWN               7 13 CALLE 50 A                                                                     BAYAMON             PR           00956
   640690 EDGARDO MERCED MENDEZ                       TURABO GARDENS           28‐11 CALLE 13                                                                      CAGUAS              PR           00725
   640691 EDGARDO MESONERO                            APARTADO 990             VICTORIA STATION                                                                    AGUADILLA           PR           00605
   640692 EDGARDO MILAN FARIA                         URB LINDA VISTA          14 CALLE B                                                                          LAJAS               PR           00667
   147447 EDGARDO MIRANDA TORRES                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147448 EDGARDO MIRANDA VALLE                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147450 EDGARDO MOLINA SANCHEZ                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147451 EDGARDO MONGE RODRIGUEZ                     REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640695 EDGARDO MONTALVO CRESPO                     MIRADOR DE BAIROA        2N 90 CALLE 20                                                                      CAGUAS              PR           00727

   640696 EDGARDO MONTALVO GINORIO URB RIVERSIDE                               18 CALLE L                                                                          SAN GERMAN          PR           00683
          EDGARDO MONTANEZ
   147452 FERNANDEZ                REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640697 EDGARDO MONTULL VIDAL    PO BOX 7305                                                                                                                     PONCE               PR           00732

   640698 EDGARDO MORAGA VAZQUEZ                      URB TURABO GARDERNS      R 3 58 CALLE 30                                                                     CAGUAS              PR           00725
   147453 EDGARDO MORALES                             REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640700 EDGARDO MORALES ARANDES                     SAN IGNACIO              1774 C CALLE SAN DIEGO                                                              SAN JUAN            PR           00927

   147454 EDGARDO MORALES CINTRON                     REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640702 EDGARDO MORALES MORALES                     1616 RUTA 22                                                                                                 SAN SEBASTIAN       PR           00685
   147455 EDGARDO MORALES PEREZ                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640704 EDGARDO MORALES RODRIGUEZ BONNEVILLE TERRACE                         B 15 CALLE 3                                                                        CAGUAS              PR           00725
   640705 EDGARDO MULERO ESQUILIN   41 BALDORIOTY STE 262                                                                                                          JUNCOS              PR           00777
   147456 EDGARDO MUNIZ RAMIREZ     REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147457 EDGARDO MUNOZ RIVERA      REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640706 EDGARDO MURILLO ACEVEDO                     ROOSEVELT                470 CALLE SOLDADO                                                                   SAN JUAN            PR           00918

   640707 EDGARDO N ACOSTA RAMIREZ                    HC 01 BOX 139                                                                                                COAMO               PR           00769

   147458 EDGARDO NAVEDO CAMERON                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640708 EDGARDO NAZARIO VELEZ                       P O BOX 983                                                                                                  LAJAS               PR           00667
   147459 EDGARDO NIEVES ORTA                         REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640710 EDGARDO NIEVES ORTEGA                       P O BOX 12                                                                                                   NARANJITO           PR           00719



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  147460 EDGARDO NIEVES QUILES                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  640711 EDGARDO NIEVES RAMOS                         RR 36 BOX 8052                                                                                                   SAN JUAN            PR         00926
  147461 Edgardo Nieves Rosado                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  147462 EDGARDO NIEVES VIRUET                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  640713 EDGARDO NOVOA COLON                          17 URB LA ESMERALDA                                                                                              CAGUAS              PR         00727
  147463 EDGARDO NUNEZ MENDEZ                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  147465 EDGARDO NUNEZ RUIZ                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   147466 EDGARDO NUNEZ SOTO MAYOR                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640715 EDGARDO O RIVERA                            PO BOX 1830                                                                                                      COAMO               PR         00769
   640716 EDGARDO O RULLAN SOTO                       PO BOX 562                                                                                                       JAYUYA              PR         00664
   640717 EDGARDO OCASIO GOMEZ                        RES VILLA EVANGELINA          EDIF 6 APT 10                                                                      MANATI              PR         00674
   147468 EDGARDO OCASIO LOPEZ                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147470 EDGARDO OJEDA MARINI                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147472 EDGARDO OJEDA ORTIZ                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640718 EDGARDO OJEDA SUAREZ                        PO BOX 8181                                                                                                      BAYAMON             PR         00960

   147473 EDGARDO OMAR VELEZ RIVERA                   REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640719 EDGARDO ORTIZ                               7 E NUM 582 RAMBLA                                                                                               PONCE               PR         00731
   147474 EDGARDO ORTIZ APONTE                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640721 EDGARDO ORTIZ ASTOR                         SAN JOSE                      385 CALLE VILLA CASTI                                                              SAN JUAN            PR         00923
   147475 EDGARDO ORTIZ COLON                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147477 EDGARDO ORTIZ CRUZ                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640723 EDGARDO ORTIZ FLORES                        915 VALLES DE YABUCOA                                                                                            YABUCOA             PR         00767
   640725 EDGARDO ORTIZ NEGRON                        URB VISTA BELLA               H 4 CALLE 9                                                                        BAYAMON             PR         00956
   640729 EDGARDO ORTIZ RAMOS                         RR 1 BOX 45160                                                                                                   SAN SEBASTIAN       PR         00685
   147478 EDGARDO ORTIZ RIVERA                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640720 EDGARDO ORTIZ RODRIGUEZ                     P O BOX 145                                                                                                      VILLALBA            PR         00766
  1419617 EDGARDO ORTIZ, JOSE                         JOSE COLON PEREZ              PO BOX 960                                                                         GUAYAMA             PR         00785
   147480 EDGARDO OSORIO OSORIO                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640730 EDGARDO OYOLA DEL VALLE                     HC 01 BOX 17587                                                                                                  HUMACAO             PR         00791
   147481 EDGARDO PABON LAUSELL                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640731 EDGARDO PACHECO VELEZ                       HC 3 BOX 13740                                                                                                   YAUCO               PR         00698
   640732 EDGARDO PADILLA MORA                        P O BOX 43001                                                                                                    RIO GRANDE          PR         00745
   640733 EDGARDO PAGAN                               PO BOX 2647                                                                                                      SAN GERMAN          PR         00683

   640734 EDGARDO PAGAN ECHEVARRIA                    URB SANTA ROSA                41‐12 CALLE 23                                                                     BAYAMON             PR         00959‐6547
   640736 EDGARDO PALACIO                             URB FLAMINGO HILLS            172 CALLE 5                                                                        BAYAMON             PR         00957
   147482 EDGARDO PALLENS TORRES                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640737 EDGARDO PEDRAZA                             PO BOX 45                                                                                                        SAN LORENZO         PR         00754‐1140
   640738 EDGARDO PEDRAZA LAI                         PO BAOX 556                                                                                                      SAN LORENZO         PR         00754
   147487 EDGARDO PENA MARTINEZ                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640739 EDGARDO PEPIN ALVAREZ                       PO BOX 982                                                                                                       SAN LORENZO         PR         00754
   640740 EDGARDO PEREZ BOSQUE                        HC 03 BOX 39176                                                                                                  AGUADILLA           PR         00603
   640741 EDGARDO PEREZ CEPEDA                        URB VILLAS DE RIO GRANDE      P8 CALLE 10                                                                        RIO GRANDE          PR         00745
   147489 EDGARDO PEREZ COLLADO                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640743 EDGARDO PEREZ CORTES                        BOX 2103                                                                                                         MOCA                PR         00676

   640744 EDGARDO PEREZ GUTIEREZ                      472 AVE TITO CASTRO STE 108                                                                                      PONCE               PR         00716
   147491 EDGARDO PEREZ OJEDA                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147492 EDGARDO PEREZ ORTIZ                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147493 EDGARDO PEREZ RIVERA                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147495 EDGARDO PEREZ ROJAS                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  640746 EDGARDO PLAZA CRUZ                           PUEBLO                17 CALLE MORA                                                                      PONCE             PR         00731
  147496 EDGARDO PLAZA PLAZA                          REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  147497 EDGARDO QUILES ALICEA                        REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  640747 EDGARDO QUINONES                             412 CALLE PROGRESO                                                                                       AGUADILLA         PR         00603

   147498 EDGARDO QUINONES MEDINA                     REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640748 EDGARDO QUINTANA PAGAN                      URB SANTA ELVIRA      R 3 CALLE SANTA ELENA                                                              CAGUAS            PR         00725
          EDGARDO QUINTANA
   147500 VELAZQUEZ                                   REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   147504 EDGARDO R CASTRO BERMUDEZ REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   147505 EDGARDO R JIMENEZ CALDERIN                  REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   640455 EDGARDO R JIMENEZ CALDERIN                  PO BOX 8765                                                                                              SAN JUAN          PR         00910

   640750 EDGARDO R JOVET SOLDEVILA                   CAPARRA TERRACE       1128 CALLE 16 SE                                                                   SAN JUAN          PR         00921

   147506 EDGARDO R MELENDEZ TORRES REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   640751 EDGARDO R PEREZ MALDONADO QUINTAS DE SAN LUIS                     F 1 DA VINCI                                                                       CAGUAS            PR         00725
   640752 EDGARDO R RAMON POLO      CONDOMINIO COMODORO                     14 CALLE IRIS PH 13                                                                CAROLINA          PR         00979
          EDGARDO R RODRIUEZ
   640753 SANTIAGO                  HC 2 BOX 17045 Q                                                                                                           ARECIBO           PR         00612
   147507 EDGARDO R SANTIAGO REYES  REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640755 EDGARDO R SOTO MORALES    URB LA ESPERANZA                        CALLE C 6 F 30                                                                     VEGA ALTA         PR         00692
   147508 EDGARDO R TRICOCHE CRUZ   REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147510 EDGARDO R.LOPEZ CRUZ      REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147511 EDGARDO RAMIREZ RIVERA    REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640759 EDGARDO RAMOS ORTIZ       URB REXMANOR                            K 2 CALLE 3                                                                        GUAYAMA           PR         00784
   640760 EDGARDO RAMOS PASTRANA    HC 52 BOX 2272                                                                                                             GARROCHALES       PR         00652
   147513 EDGARDO RAMOS RAMIREZ     REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640762 EDGARDO RAMOS SOTO        PO BOX 633                                                                                                                 MOCA              PR         00676
   147514 EDGARDO REILLO MERCADO    REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640764 EDGARDO RENTAS VARGAS     HC 3 BOX 12038                                                                                                             JUANA DIAZ        PR         00795
   147515 EDGARDO REYES             REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640766 EDGARDO REYES RIVERA      PO BOX 2899                                                                                                                MAYAGUEZ          PR         00681
   640767 EDGARDO RICHIEZ COLON     P O BOX 3020                                                                                                               YAUCO             PR         00698‐3020

   640768 EDGARDO RIESTRA CANDELARIA                  HC 01 BOX 4422                                                                                           SABANA HOYOS      PR         00688
          EDGARDO RIOS ACEVEDO Y
   147516 NELSON D SOTO                               REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   147518 EDGARDO RIOS PEREZ                          REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640769 EDGARDO RIOS VELAZQUEZ                      PO BOX 1455                                                                                              AGUAS BUENAS      PR         00703
   640456 EDGARDO RIVERA AYALA                        HC 01 BOX 8792                                                                                           AGUAS BUENAS      PR         00703
   147519 EDGARDO RIVERA BONILLA                      REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640770 EDGARDO RIVERA CAMACHO                      PO BOX 1600                                                                                              COROZAL           PR         00783

   147520 EDGARDO RIVERA CANDELARIA                   REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   640772 EDGARDO RIVERA CINTRON                      URB CONSTANCIA        2092 CALLE FORTUNA                                                                 PONCE             PR         00717‐2233

   640774 EDGARDO RIVERA HERNANDEZ                    URB SANTA MARIA       101 CALLE ORQUIDEA                                                                 SAN JUAN          PR         00927‐6722
   147521 EDGARDO RIVERA MARRERO                      REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  147522 EDGARDO RIVERA MATOS                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   640775 EDGARDO RIVERA NAVEDO                       URB BRISAS DE MONTE CASINOS 522 CALLE SIBONEY                                                                        TOA ALTA             PR         00953
   640776 EDGARDO RIVERA OROPEZA                      PO BOX 7126                                                                                                          PONCE                PR         00732
   640777 EDGARDO RIVERA OSORIO                       RIO GRANDE STATE V          G 10 CALLE 11                                                                            RIO GRANDE           PR         00745
   640778 EDGARDO RIVERA PADILLA                      VALLE DEL REY               4817 CALLE 6                                                                             PONCE                PR         00728‐3514
   147523 EDGARDO RIVERA RIVERA                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   640457 EDGARDO RIVERA RODRIGUEZ                    HC 3 BOX 11115                                                                                                       CAMUY                PR         00627‐9717
   147525 EDGARDO RIVERA ROSADO                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   147526 EDGARDO RIVERA SANCHEZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   147527 EDGARDO RIVERA SIFONTE                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   640781 EDGARDO RIVERA VEGA                         P O BOX 1069                                                                                                         ADJUNTAS             PR         00601
   640782 EDGARDO ROBLES                              HC 01 BOX 4073                                                                                                       LOIZA                PR         00772
   640783 EDGARDO ROCHER ROSA                         REPARTO MARQUEZ              114 CALLE 10                                                                            ARECIBO              PR         00612

   640786 EDGARDO RODRIGUEZ ACEVEDO PO BOX 461                                                                                                                             MAYAGUEZ             PR         00681
   147530 EDGARDO RODRIGUEZ AYALA   REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          EDGARDO RODRIGUEZ
   147531 CARTAGENA                 REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   640787 EDGARDO RODRIGUEZ COLON                     URB ALTA VISTA               T 13 CALLE 17                                                                           PONCE                PR         00731

   640788 EDGARDO RODRIGUEZ ESTRELLA URB VILLAS DE LA PLAYA                        312 CALLE ISLA VERDE                                                                    VEGA BAJA            PR         00693

   147533 EDGARDO RODRIGUEZ FALCHE                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   640791 EDGARDO RODRIGUEZ PACHECO PMB 1112                                       PO BOX 4956                                                                             CAGUAS               PR         00726‐4956
          EDGARDO RODRIGUEZ
   147534 PROMOTIONS INC            1142 AVE F D ROOSEVELT                                                                                                                 SAN JUAN             PR         00920

   640793 EDGARDO RODRIGUEZ RIVERA                    URB ROMANI                   B 31 CALLE SIERRA LINDA                                                                 SAN JUAN             PR         00926
          EDGARDO RODRIGUEZ                           UNIV INTERAMERICANA DE P R   OFIC DE VETERANOS 104 PQUE
   640794 RODRIGUEZ                                   CARR 1                       IND                                                                                     MERCEDITA            PR         00715‐1602
          EDGARDO RODRIGUEZ
   147535 SANTIAGO                                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   147536 EDGARDO RODRIGUEZ TORRES                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   147537 EDGARDO RODRIGUEZ TROSSI                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   640797 EDGARDO RODRIGUEZ VAZQUEZ HC 02 BOX 9775                                                                                                                         JUANA DIAZ           PR         00795
   147538 Edgardo Rolón Viera       REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   147539 EDGARDO ROMAN ALVAREZ     REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   640801 EDGARDO ROSA VAZQUEZ      P O BOX 37514                                                                                                                          SAN JUAN             PR         00937

   640803 EDGARDO ROSADO ALEJANDRO                    P O BOX 1230                                                                                                         JUNCOS               PR         00777
   640804 EDGARDO ROSADO DELGADO                      205 TANCA APT 1                                                                                                      SAN JUAN             PR         00902
          EDGARDO ROSADO E ISRAEL
   147540 ROSADO                                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   147541 EDGARDO ROSADO FELICIANO                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED




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   147542 EDGARDO ROSADO RODRIGUEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640805 EDGARDO ROSADO ROSARIO                      PO BOX 7126                                                                                                       PONCE               PR           00732
   640806 EDGARDO ROSADO SOLIVAN                      P O BOX 332                                                                                                       CIDRA               PR           00739
   640807 EDGARDO ROSADO TORRES                       APTO 1754                                                                                                         ARECIBO             PR           00613
          EDGARDO ROSARIO LAW
   147543 OFFICES                                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147544 EDGARDO ROSARIO RAMIREZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147545 EDGARDO ROSARIO SOLANO                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDGARDO RUISANCHEZ
   640810 VAZQUEZ                                     URB METROPOLIS              B 43 C/ 11                                                                            CAROLINA            PR           00987
   640811 EDGARDO RUIZ CABALLERO                      PO BOX 191409                                                                                                     SAN JUAN            PR           00919‐1409
   147546 EDGARDO RUIZ MONTANEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640812 EDGARDO RUIZ PEREZ                          PO BOX 895                                                                                                        AGUADILLA           PR           00605‐0895
   147547 EDGARDO RUIZ TIRADO                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDGARDO RYAN RIJOS,JULIA E
   640813 CRUZ &                                      JOSE A RODRIGUEZ JIMENEZ    PLAZA CAROLINA STATION     P O BOX 9267                                               CAROLINA            PR           00988‐9267
          EDGARDO S BARRETO DE LA
   147548 TORRE                                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640814 EDGARDO S CASTELLANOS                       7MA SECCION LEVITTOWN LAKES JN 9 CALLE ANTONIO OTERO                                                              TOA BAJA            PR           00949
   147549 EDGARDO S PEREZ MARTINEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640815 EDGARDO S SANTIAGO RIVERA                   COM SAN LUIS                17 CALLE CANA                                                                         AIBONITO            PR           00705
          EDGARDO S. BARRETO DE LA
   147550 TORRE                                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147551 EDGARDO SAEZ DEL VALLE                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147552 EDGARDO SAEZ ORTIZ                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640817 EDGARDO SALABERRIOS CORREA BO JAREALITOS                                222 CALLE 2                                                                           ARECIBO             PR           00612
   640818 EDGARDO SALVA GARCIA       LOIZA VALLEY                                 E 210 VIOLETA                                                                         CANOVANAS           PR           00729

   147553 EDGARDO SANABRIA MARIANI                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147554 EDGARDO SANABRIA VALENTIN                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640820 EDGARDO SANCHEZ COLON                       P O BOX 434                                                                                                       SANTA ISABEL        PR           00757
   640821 EDGARDO SANCHEZ CRUZ                        HC 67 BOX 13503                                                                                                   BAYAMON             PR           00956

   640822 EDGARDO SANCHEZ HERNANDEZ P O BOX 7                                                                                                                           BARCELONETA         PR           00617

   147556 EDGARDO SANCHEZ WILLIAMS                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147557 EDGARDO SANTANA PENA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640826 EDGARDO SANTIAGO                            URB VISTA DEL MAR           3123 CALLE ESPADA                                                                     PONCE               PR           00731
   640828 EDGARDO SANTIAGO CRUZ                       PO BOX 1133                                                                                                       SABANA GRANDE       PR           00637
   147558 EDGARDO SANTIAGO DIAZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147559 EDGARDO SANTIAGO ESPADA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640830 EDGARDO SANTIAGO GUZMAN                     URB VERSALLES               P 10 CALLE CARBONELL                                                                  BAYAMON             PR           00957

   640831 EDGARDO SANTIAGO LLORENS                    1925 LAS AMERICAS                                                                                                 PONCE               PR           00728‐1815

   640833 EDGARDO SANTIAGO MARCANO BO MALPICA                                     HC 02 BOX 17132                                                                       RIO GRANDE          PR           00745‐9717
   147561 EDGARDO SANTIAGO ORTIZ   REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          EDGARDO SANTIAGO
   640458 RODRIGUEZ                                   HC 2 BOX 6403                                                                                                       ADJUNTAS            PR           00601
          EDGARDO SANTIAGO                                                         COMUNIDAD PROVINCIA SOLAR
   147563 RODRIGUEZ Y/O YOLANDA                       PEREZ SANTIAGO               532                                                                                    JUANA DIAZ          PR           00796
   640834 EDGARDO SANTIAGO RUIZ                       MONT BLANK                   EDIF 4 APT 56                                                                          YAUCO               PR           00698

   640836 EDGARDO SANTIAGO VALENTIN                   AVE BAIROA                   BF 13 SUITE C                                                                          CAGUAS              PR           00725
   640838 EDGARDO SANTO BELLO                         HC 1 BOX 7271                                                                                                       CANOVANAS           PR           00729
   640839 EDGARDO SANTOS BURGOS                       PO BOX 798                                                                                                          VILLALBA            PR           00766
   147565 EDGARDO SANTOS PENA                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147566 EDGARDO SEDA ARROYO                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640840 EDGARDO SEDA MARTINEZ                       P O BOX 1150                                                                                                        LAJAS               PR           00667
   147568 EDGARDO SEGARRA COSTA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640842 EDGARDO SERRANT ESPADA                      D 79 URB MONSERRATE                                                                                                 SALINAS             PR           00751
   147570 EDGARDO SEVILLA ROBLES                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147571 EDGARDO SOTO                                REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147572 EDGARDO SOTO CRESPO                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147573 EDGARDO SOTO QUINONES                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640844 EDGARDO SOTO RUIZ                           HC 03 BOX 29783                                                                                                     AGUADA              PR           00602
   640845 EDGARDO SOTO SOLIS                          HC 01 BOX 10426                                                                                                     COAMO               PR           00769
   640846 EDGARDO SOTO VEGA                           BO 59                        CALLE FLORIDA                                                                          ISABELA             PR           00662
   147574 EDGARDO SUAREZ                              REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147575 EDGARDO SUAREZ ALMODOVAR                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDGARDO SUSANO GONZALEZ
   147576 FRATICELLI                                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147577 EDGARDO T COLON COLON                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640847 EDGARDO TERRON RUIZ                         SABANA LLANAS                429 CALLE CHEVERE                                                                      RIO PIEDRAS         PR           00923

   147578 EDGARDO TIRADO HERNANDEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640848 EDGARDO TORMOS PICON                        VILLA CAPARRA                37 CALLE G                                                                             GUAYNABO            PR           00966
   640849 EDGARDO TORRENS                             PO BOX 9028                                                                                                         CAGUAS              PR           00726
          EDGARDO TORRES / EQUIP
   640850 INDIOS ARECIBO                              HC 2 BOX 14297                                                                                                      ARECIBO             PR           00612
   640851 EDGARDO TORRES BAEZ                         2847 N SAWYER AVE                                                                                                   CHICAGO             IL           60618
                                                      CUARTA EXT COLINAS DE FAIR
   640853 EDGARDO TORRES CABALLERO                    VIEW                         9 CALLE 209                                                                            TRUJILLO ALTO       PR           00976
   147579 EDGARDO TORRES CENTENO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640854 EDGARDO TORRES COLON                        HC 02 BOX 5480 2                                                                                                    COAMO               PR           00769
   147582 EDGARDO TORRES HUERTAS                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147583 EDGARDO TORRES MARCANO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640855 EDGARDO TORRES MELENDEZ                     VILLA CAROLINA               222‐5 CALLE 601                                                                        CAROLINA            PR           00985
   640856 EDGARDO TORRES MERCADO                      URB VILLA CAROLINA           D34 CALLE 2                                                                            CAROLINA            PR           00985
   147584 EDGARDO TORRES NEGRON                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640857 EDGARDO TORRES ORTIZ                        URB COVADONGA                1‐F29 CALLE 12                                                                         TOA BAJA            PR           00949
   147585 EDGARDO TORRES PEREZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147588 EDGARDO TORRES RIVERA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640860 EDGARDO TORRES SOTO                         HC 4 BOX 15352                                                                                                      LARES               PR           00669
   640861 EDGARDO TORRES TORRES                       P O BOX 693                                                                                                         CAYEY               PR           00737
   147591 EDGARDO TRINIDAD TOLLENS                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147592 EDGARDO TRON COSO                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147593 EDGARDO U PAGAN CACHO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  147594 EDGARDO VALCARCEL ORTIZ                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         EDGARDO VALENTIN C\O LCDO
  640862 EFRAIN LOPEZ                                 COND PARQUE CENTRAL      EDIF LAUREL N 4                                                                           SAN JUAN            PR         00918
  147595 EDGARDO VALENTIN RAMOS                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  147596 EDGARDO VALLE GONZALEZ                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         EDGARDO VAZQUEZ
  147598 CANDELARIO                                   REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  147599 EDGARDO VAZQUEZ RAMOS                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  147600 EDGARDO VAZQUEZ REYES                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  147601 EDGARDO VAZQUEZ RIVERA                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   147602 EDGARDO VAZQUEZ SALDANA                     REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147603 EDGARDO VEGA AMARO                          REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147604 EDGARDO VEGA CORREA                         REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640863 EDGARDO VEGA ORTIZ                          HC 3 BOX 11289                                                                                                     JUANA DIAZ          PR         00795‐9505
  1256427 EDGARDO VEGA, INC                           REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147606 EDGARDO VEGA, INC.                          PO BOX 1419                                                                                                        SAN GERMAN          PR         00683

   147607 EDGARDO VEGUILLA GONZALEZ                   REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDGARDO VELAZQUEZ
   640865 VELAZQUEZ                                   URB SAN AGUSTIN 411      CALLE SOLDADO ALCIDEZ REYES                                                               SAN JUAN            PR         00928
   147608 EDGARDO VELEZ GONZALEZ                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640868 EDGARDO VELEZ ROSADO                        HC 5 BOX 60747                                                                                                     MAYAGUEZ            PR         00680
   147609 EDGARDO VERA HERNANDEZ                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147611 EDGARDO VOLMAR CABASSA                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147612 EDGARDO X CALO MATOS                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   640871 EDGARDO X GARCIA FELICIANO                  HC 3 BOX 29507                                                                                                     AGUADA              PR         00602
   640872 EDGARDO X GONZALES CRUZ                     29 CALLE ARIOSTO                                                                                                   ARECIBO             PR         00612

   147613 EDGARDO Y ALFARO RODRIGUEZ REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   640873 EDGARDO Y MARTINEZ LEBRON                   BOX 3190                                                                                                           JUNCOS              PR         00777
   147617 EDGARDO ZAYAS GARCIA                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147619 EDGARIS F LEON GUTIERREZ                    REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640874 EDGARS MUSIC WORLD                          P O BOX 505                                                                                                        AGUADILLA           PR         00605
   147620 EDGARYS ROSARIO MARTINEZ                    REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640875 EDGE CONSULTING GROUP                       169 CALLE DEL PARQUE                                                                                               SAN JUAN            PR         00911‐1967
   147621 EDGE GROUP , INC                            169 DEL PARQUE ST                                                                                                  SAN JUAN            PR         00911
   147622 EDGE LEGAL STRATEGIES PSC                   B5 CALLE TABONUCO        STE 216 PMB 298                                                                           GUAYNABO            PR         00968‐3022
                                                      7303 EAST EARLL DR.
   147624 EDGENUITY, INC                              SCOTTSDALE                                                                                                         SCOTTDALE           AZ         85251
   147625 EDGRALY REYES BENITEZ                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDHILMARIE CARRILLO /
   147626 EDHILMA M FIGUEROA          REDACTED                                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDI EDUCATIONAL DIRECTORIES
   640877 INC                         PO BOX 68097                                                                                                                       SCHAMBURG           IL         60168‐0097

   640879 EDIA M GONZALEZ PEREZ                       COND EL BILBAO           121 APT 701 CALLE COSTA RICA                                                              SAN JUAN            PR         00917
   640880 EDIA ROSARIO ROSA                           HC 01 BOX 5853                                                                                                     CAMUY               PR         00627
   640883 EDIA TORRES LLADO                           BO PILETAS               HC 01 BOX 3136                                                                            LARES               PR         00669
   147627 EDIAMAR OFFICE SUPPLY                       92 BAJOS AVE ROOSEVELT                                                                                             HUMACAO             PR         00791
   147629 EDIAN SANTIAGO IRIZARRY                     REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  147630 EDIBAL GUERRA VALENTIN                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   640884 EDIBAL GUILLOTY MUNOZ                       URB RAMIREZ DE ARELLANO    12 CALLE RAFAEL HERNANDEZ                                                              MAYAGUEZ            PR         00680
          EDIBEL CRISTINA RAMOS
   147631 JUNQUERA                                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147632 EDIBEL RODRIGUEZ DOBLE                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640885 EDIBERTO AQUINO BORRERO                     HC 04 BOX 43041                                                                                                   LARES               PR         00669
   147633 EDIBERTO CRUZ MERCADO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147634 EDIBERTO GUZMAN                             REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   147635 EDIBERTO HERNANDEZ RESTO                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640889 EDIBERTO LOPEZ SANTAIAGO                    P O BOX 195513                                                                                                    SAN JUAN            PR         00919‐5513

   640890 EDIBERTO MONTALVO MORALES HC 09 BOX 2800                                                                                                                      SABANA GRANDE       PR         00637
   147636 EDIBERTO OTANO NIEVES     REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147637 EDIBERTO QUINONES VERA    REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640892 EDIBERTO RIOS LOPEZ       URB TURABO GARDENS                           K 14 CALLE 27                                                                          CAGUAS              PR         00725

   640893 EDIBERTO RODRIGUEZ MORALES URB SAN MARTIN 40                                                                                                                  UTUADO              PR         00641
   640894 EDIBERTO ROMAN GONZALEZ    BO PILETAS                                  HC 01 BOX 3326                                                                         LAJAS               PR         00669
   640896 EDIBERTO TORRES LOPEZ      HC 3 BOX 8149                                                                                                                      LARES               PR         00669‐9503

   147638 EDIBERTO VELAZQUEZ SANTIAGO REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   640897 EDIBURGA ARAGONES DE LEON                   BOX 697                                                                                                           HORMIGUEROS         PR         00660
                                                      P.O. BOX 9120 URB CAGUAS
   147639 EDIC COLLEGE                                NORTE                                                                                                             CAGUAS              PR         00726‐9120
   147641 EDIC COLLEGE INC                            PO BOX 9120                                                                                                       CAGUAS              PR         00726
   771031 EDIC COLLEGE INC.                           PO BOX 9120                                                                                                       CAGUAS              PR         00726
   640898 EDICDA CHARRIEZ                             RR 02 BOX 8084                                                                                                    TOA ALTA            PR         00953
   147642 EDICEL RIVERA GONZALEZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147643 EDICER ORENGO DELGADO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147644 EDICER RAMIREZ OLIVENCIA                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1419618 EDICER RAMÍREZ, OLIVENCIA                   BEATRIZ CAY VÁZQUEZ        PO BOX 1809                                                                            CAGUAS              PR         00727‐1809
   147647 EDICIONES CIRCULO INC                       FLAMINGO TERRACE           B 9 MARGINAL                                                                           BAYAMON             PR         00957
   147648 EDICIONES ENLACE DE PR INC                  P O BOX 79762                                                                                                     CAROLINA            PR         00984‐9762
   147649 EDICIONES HURACAN INC                       874 BALDORIOTY DE CASTRO                                                                                          SAN JUAN            PR         00925
          EDICIONES INTERNACIONALES
   640899 THE AIRLINES                                P O BOX 40932                                                                                                     SAN JUAN            PR         00940932
   147650 EDICIONES NORTE INC                         PO BOX 29461                                                                                                      SAN JUAN            PR         00929
   147651 EDICIONES PUERTO INC                        PO BOX 9066272                                                                                                    SAN JUAN            PR         00906‐6272
   147652 EDICIONES SANTILLANA                        PO BOX 5462                                                                                                       HATO REY            PR         00922
   147654 EDICIONES SANTILLANA INC                    PO BOX 195462                                                                                                     SAN JUAN            PR         00919‐5462

   640900 EDICIONES SCHOLA CANTORUM                   1745 COLORADO                                                                                                     SAN JUAN            PR         00926
   147656 EDICIONES SM                                PO BOX 50091                                                                                                      TOA BAJA            PR         00950‐0091
   147658 EDICIONES SM, INC                           PO BOX 50091                                                                                                      TOA BAJA            PR         00950‐0091
   640901 EDICIONES UNIVERSAL INC                     RIO PIEDRAS STA            PO BOX 20784                                                                           SAN JUAN            PR         00928
   640902 EDICSON VALDERRAMA                          AVE MONTECARLO             172 PORTAL DE LA REINA                                                                 SAN JUAN            PR         00924
   147660 EDICTA FUENTES LANZO                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   640903 EDICTA GOMEZ OLIVERO                        JARDINES DE BORINQUEN      A 70 CALLE 1                                                                           CAROLINA            PR         00985
   640904 EDICTA LANZO PEREZ                          PO BOX 382                                                                                                        LOIZA               PR         00772
   147661 EDICTA PIZARRO CASILLAS                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  147662 EDICTO AYALA COLON                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  147663 EDICTO MARTINEZ PEREZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  147664 EDIE CORDERO                                 REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  640905 EDIE RUBERTE ROSARIO                         76 CALLE RAMON BAYRON                                                                                              MAYAGUEZ           PR         00680
  640906 EDIE VELAZQUEZ ROSARIO                       PO BOX 363042                                                                                                      SAN JUAN           PR         00936‐3042
  640908 EDIEL MONTALVO RAMOS                         URB SOMBRAS DEL REAL         1019 CALLE GUAYACAN                                                                   COTO LAUREL        PR         00780
  147666 EDIER M PEREZ PADILLA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  640909 EDIEZER MORAN PABON                          24 CALLE EULOGIO                                                                                                   VEGA BAJA          PR         00693
         EDIFICADORA CONSTRUCTION
  640910 CORP                                         PO BOX 40302                                                                                                       SAN JUAN           PR         00940‐0302
  640911 EDIFICADORA SE                               1357 ASHFORD AVE SUITE 405                                                                                         SAN JUAN           PR         00907
  640912 EDIFICADORA VAZQUEZ INC                      PO BOX 306                                                                                                         NARANJITO          PR         00719

   147668 EDIFICARTE CA INC                           130 AVE WINSTON CHURCHILL    STE                                                                                   SAN JUAN           PR         00926
   147669 EDIFICIO PAOLA INC                          95 CALLE BETANCES                                                                                                  CAGUAS             PR         00725
   640913 EDIFICIO TOLLINCHE S E                      MEDICAL PHTHALMIC PLAZA      SUITE 208 CARR 2 KM 11.9                                                              BAYAMON            PR         00959
   640914 EDIFIKA ARQUITECTOS                         EL REMANSO                   D8 CALLE CATARATA                                                                     SAN JUAN           PR         00926
   640915 EDIGBERTO LOPEZ GONZALEZ                    PARCELAS NIAGARES                                                                                                  COAMO              PR         00769
   147671 EDIL A CRUZ RIVERA                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   640916 EDIL A IRIZARRY                             230 CALLE SAN IGNASIO                                                                                              MAYAGUEZ           PR         00680
   147672 EDIL A SANTIAGO COLON                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   147673 EDIL A SEPULVEDA CARLO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   640917 EDIL ARROYO COLON                           URB CIUDAD UNIVERSITARIA     BB 14 CALLE 31                                                                        TRUJILLO ALTO      PR         00976
   147674 EDIL CABAN VAZQUEZ                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   640918 EDIL CORALI RODRIGUEZ                       HC 4 BOX 40230                                                                                                     MAYAGUEZ           PR         00680
   147675 EDIL DANOIS ROMAN                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   640919 EDIL F GONZALEZ CARMONA                     JARDINES DE FRANCIA          APT 810                                                                               SAN JUAN           PR         00917
   147676 EDIL FAUSTINO FLORES                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   147677 EDIL HERNANDEZ DELGADO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   640921 EDIL I QUILES SEDA                          URB BELMONTE                 57 OVEDO                                                                              MAYAGUEZ           PR         00680
   147678 EDIL M PEREZ RAMOS                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   640924 EDIL MONTES RODRIGUEZ                       HC 02 BOX 23408                                                                                                    MAYAGUEZ           PR         00680
   147682 EDIL VELAZQUEZ COLON                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   640927 EDILBERTO ACEVEDO AROCHO                    ADM SERV GEN                 P O BOX 7428                                                                          SAN JUAN           PR         00916‐7428
   147683 EDILBERTO AGOSTO RAMOS                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   640929 EDILBERTO ARROYO VELEZ                      14 CALLE DE DIEGO                                                                                                  SAN GERMAN         PR         00683
   640930 EDILBERTO AVILES LOPEZ                      BO POLVORIN                  30 CALLE 10                                                                           CAYEY              PR         00736

   640931 EDILBERTO AYALA ALMODOVAR PO BOX 32278                                                                                                                         PONCE              PR         00732‐2278

   147684 EDILBERTO BEAUCHAMP VALLE                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   147685 EDILBERTO BERRIOS DAVILA                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   640932 EDILBERTO BERRIOS FEBLES                    M 16 CERRO REAL                                                                                                    GUAYNABO           PR         00969

   147686 EDILBERTO BRUNO RODRIGUEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   147687 EDILBERTO CEDENO GONZALEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   147688 EDILBERTO COTTO RIVERA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   147689 EDILBERTO CRUZ MERCADO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   147690 EDILBERTO FIGUEROA MARTINEZ REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED




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   147692 EDILBERTO FIGUEROA SANTIAGO REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147693 EDILBERTO FIGUEROA SANTOS                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640935 EDILBERTO GARCIA MARTIS                     URB HNAS DAVILA            441 CALLE 1                                                                         BAYAMON             PR           00959
   640936 EDILBERTO GONZALEZ ORTIZ                    PO BOX 396                                                                                                     SALINAS             PR           00751
   147694 EDILBERTO GONZALEZ ROSA                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147695 EDILBERTO GOTAY MARTINEZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147696 EDILBERTO LABOY VAZQUEZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147697 EDILBERTO LAVIENA CINTRON                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDILBERTO MALDONADO
   640938 TORRES                                      P O BOX 1491                                                                                                   ARECIBO             PR           00613
   147698 EDILBERTO NUNEZ CALDERO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640940 EDILBERTO ORTIZ CRUZ                        URB EL CONQUISTADOR        116 AVE HERNAN CORTES                                                               TRUJILLO ALTO       PR           00976
   640941 EDILBERTO PADUA VELEZ                       BO LOPEZ BUZON             HC 01 BOX 3088                                                                      ADJUNTAS            PR           00601‐9702
   640942 EDILBERTO PEREZ MORALES                     URB VERSALLES              19 E CALLE 5                                                                        BAYAMON             PR           00959
   640943 EDILBERTO RIVERA ROSARIO                    RES LUIS LLORENS TORRES    EDIF 35 APT 723                                                                     SAN JUAN            PR           00913
   147699 EDILBERTO ROSA VEGA                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDILBERTO ROSARIO Y LUZ
   640944 NEREIDA COREANO                             RR 4 BOX 1368                                                                                                  BAYAMON             PR           00956
   640945 EDILBERTO SANTIAGO DIAZ                     URB RIVERVIEW              L 6 CALLE 10                                                                        BAYAMON             PR           00961‐3830

   147701 EDILBERTO SANTIAGO NEGRON                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147702 EDILBERTO SCHAUS ANDALUZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640946 EDILBERTO TORRES ADAMS                      P O BOX 476                                                                                                    SAN SEBASTIAN       PR           00685
   147703 EDILBERTO TORRES TAPIA                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640947 EDILBERTO VALENTIN VALENTIN HC 05 BOX 60768                                                                                                                MAYAGUEZ            PR           00680
   640948 EDILBERTO VIERA SOSTRE      HC 01 BOX 24244                                                                                                                VEGA BAJA           PR           00693

   147705 EDILBURGA FLORES OQUENDO                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640949 EDILFREDO HERNANDEZ RUIZ                    URB SAN FRANCISCO          1686 CALLE JAZMIN                                                                   SAN JUAN            PR           00927
   147706 EDILI QUINONES ORTIZ                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640951 EDILIA GUZMAN ACEVEDO                       SANTA ROSA 11              HC01 BOX 6591                                                                       GUAYNABO            PR           00971
   640952 EDILIA M CELAYA VENEREO                     URB COVADONGA              1 CALLE 8                                                                           TOA BAJA            PR           00949
   147707 EDILIA MEDINA TOLEDO                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDILIA MIROSLAVA FLORES
   640953 ROMERO                                      URB LOMAS DE CAROLINA      2H 26 CALLE YUNQUESITO                                                              CAROLINA            PR           00987
   640954 EDILIO M MARRERO ROBLES                     HC 4 98033                                                                                                     AGUADILLA           PR           00603 9784
   640956 EDILLIAN PARRILLA APONTE                    PO BOX 21365                                                                                                   SAN JUAN            PR           00928‐1365
   640957 EDILMA DELGADO CARNIER                      PARCELAS NUEVAS            HC 3 BOX 14468                                                                      YAUCO               PR           00968
          EDILTRUDIS M BETANCOURT
   640960 RIVERA                                      DOS PINOS                  778 CALLE VESTA                                                                     SAN JUAN            PR           00923
   147708 EDILTRUDIS PACHECO BELEN                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640963 EDILTRUDIS VAZQUEZ                          PO BOX 534                                                                                                     MOROVIS             PR           00687
   640964 EDIMAS REJAS                                PO BOX 3276                                                                                                    CAROLINA            PR           00984
          EDINA EYE PHYSICIANS &
   147709 SURGEON                                     14050 NICOLLET AVE S 101                                                                                       BURNSVILLE          MN           55337
   147710 EDINEF BAEZ RODRIGUEZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDINELSON ROSA Y PRISCILLA
   147712 GONZALEZ                                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   147713 EDINES RODRIGUEZ CANDELARIA REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147714 EDINNETTE ROSARIO COLON     REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147715 EDINSON FLORES ORTIZ        REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147716 EDINSON RIVERA CASANA       REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147717 EDIRTH RIOS RIVERA          REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147718 EDIS PENA PENA              REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640966 EDIS SANTIAGO RIVERA        EL TUQUE                                     M 21 CALLE H                                                                              PONCE               PR           00728
   640967 EDISBERTO LAGARES RUIZ      18 CRUCE DAVILA                              CARR 2 KM 56 9                                                                            BARCELONETA         PR           00617
   147719 EDISBURGA RIVERA ROSA       REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640968 EDISH CATERING                              CONSOLIDATED MEDICAL PLAZA   SUITE 003                                                                                 CAGUAS              PR           00725
   147720 EDISON A COLON                              REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147721 EDISON A PEREZ SOTO                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147722 EDISON ALBINO GONZALEZ                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147723 EDISON AVILES DELIZ                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147724 EDISON BAEZ COTTO                           REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147725 EDISON BURGOS CINTRON                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640970 EDISON CASTRO ROMAN                         HC 03 BOX 38215                                                                                                        AGUADILLA           PR           00603
   147726 EDISON CORA LOPEZ                           REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147727 EDISON CRUZ RODRIGUEZ                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640971 EDISON CRUZADO HERNANDEZ                    URB TURABO GARDENS           X 33 CALLE 18                                                                             CAGUAS              PR           00727
   640969 EDISON D LEON RIVERA                        URB GLENVIEW GARDENS         N 12 CALLE E 10                                                                           PONCE               PR           00731
   640972 EDISON DENIZARD CORTES                      COOP VILLA KENNEDY           EDIF 3 APT 39                                                                             SAN JUAN            PR           00915
   640973 EDISON ELECTRICAL                           2167 AVE PUERTO RICO                                                                                                   SAN JUAN            PR           00915
          EDISON ELECTRICAL
   640974 CONTRACTORS                                 PO BOX 7036                                                                                                            SAN JUAN            PR           00916‐7036
   147728 EDISON IRIZARRY AMELY                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640975 EDISON LEGER ARROYO                         HC 01 BOX 4248                                                                                                         NAGUABO             PR           00918 9708
   640976 EDISON LLUCH GARCIA                         P O BOX 594                                                                                                            LAJAS               PR           00667
   147729 EDISON LUGO MATIAS                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147730 EDISON MARTELL OLAN                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640978 EDISON MATIAS MALDONADO                     LAS MARGARITA                456 CALLE BOBBY CAPO                                                                      PONCE               PR           00728
   147731 EDISON MEDINA ORTIZ                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDISON METUCHEN
   147732 ORTHOPEDIC GROUP                            10 PARSONAGE RD                                                                                                        EDISON              NJ           08837
   147735 EDISON NEGRON CARABALLO                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147736 EDISON NEGRON OCASIO                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147737 EDISON NIEVES RAMOS                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147738 EDISON ORENGO ESCALERA                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640981 EDISON ORTIZ ORTIZ                          PO BOX 7126                                                                                                            PONCE               PR           00732
   640982 EDISON P CHANGO VARGAS                      PO BOX 2039                                                                                                            MAYAGUEZ            PR           00681
          EDISON PARES                                                             PMB 257 35 JUAN C BORBON STE
   147739 SANTIAGO/EDISON ENERGY                      ENGINEERING                  67                                                                                        GUAYNABO            PR           00969
   640983 EDISON PARIS TORRELAS                       HC 3 BOX 37927                                                                                                         MAYAGUEZ            PR           00680
   640984 EDISON PERES RIVERA                         HC 01 BOX 4005                                                                                                         SALINAS             PR           00751
   147741 EDISON POLL MILLAN                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147742 EDISON RAMOS QUINONES                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147743 EDISON RICAURTE MERCHAN                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147744 EDISON RISK LLC                             134 NE 1ST AVENUE                                                                                                      ELRAY BEACH         FL           33444
   640986 EDISON RIVERA FRANQUI                       P O BOX 32243                                                                                                          PONCE               PR           00732‐2243
   640987 EDISON RIVERA SURITA                        BO MONTE GRANDE              22 A CALLE AMALIA                                                                         CABO ROJO           PR           00623



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   147745 EDISON RODRIGUEZ MERCADO                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147746 EDISON RODRIGUEZ PABON                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147747 EDISON RODRIGUEZ PACHECO                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147748 EDISON RODRIGUEZ RODRIGUEZ                  REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147749 EDISON ROSA SANCHEZ                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640989 EDISON SANABRIA PEREZ                       PO BOX 935                                                                                                   GUAYNABO            PR           00970
   147750 EDISON SANABRIA VELEZ                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640990 EDISON SORRENTINI VELEZ                     H 2133 EL BATEY                                                                                              FAJARDO             PR           00738
   147751 EDISON SUAREZ RAMOS                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640993 EDISON VELEZ MORALES                        APARTADO 577                                                                                                 SAN GERMAN          PR           00683
   147752 EDISON ZAYAS BERRIOS                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147753 EDISON, FIGUEROA                            REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   640994 EDISTRUDIS RIVERA APONTE                    HC‐ 01 BOX 5524                                                                                              San German          PR           00683
   640995 EDITA GONZALEZ HANE                         1132 CALLE VALLEJO                                                                                           SAN JUAN            PR           00925
   640996 EDITA MORALES VALLE                         URB REXVILLE AS        8 CALLE 61                                                                            BAYAMON             PR           00957
   147754 EDITH A GARCIA ANGULO                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   640998 EDITH A HERNANDEZ MENDEZ                    BO OBRERO              483 C/ CORTIJO                                                                        SAN JUAN            PR           00915

   640999 EDITH A MALDONADO ALVAREZ                   URB RIO HONDO1         D 56 CALLE RIO CASEY                                                                  BAYAMON             PR           00961
   641000 EDITH A ORSINI LUGO                         COND LA RADA           1020 AVE ASHFORD APT 405                                                              SAN JUAN                         00907
   147755 EDITH A RIVERA RIVERA                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641002 EDITH A SAN MIGUEL                          URB SANTA RITA         994 CALLE PELEGRINA                                                                   SAN JUAN            PR           00925
   641003 EDITH ACEVEDO BONANO                        URB MARIOLGA           H8 CALLE SAN BERNARDO                                                                 CAGUAS              PR           00725‐1400
   147756 EDITH ACEVEDO COSME                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147757 EDITH APONTE NUNEZ                          REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641005 EDITH APONTE TORRES                         PO BOX 1076                                                                                                  VILLALBA            PR           00766
   641006 EDITH ARCE HERNANDEZ                        URB LA MADELINE        P 30 CALLE CORAL                                                                      TOA ALTA            PR           00953
   147761 EDITH B RIVERA RAMOS                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147762 EDITH B SANTIAGO GONZALEZ                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147763 EDITH BABILONIA HERNANDEZ                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147764 EDITH BAEZ DE COSME                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641008 EDITH BERRIOS CINTRON                       PO BOX 364466                                                                                                SAN JUAN            PR           00936‐4466
   147765 EDITH BISBAL                                REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641010 EDITH BONILLA GONZALEZ                      HC 5 BOX 59196                                                                                               CAGUAS              PR           00725
   641011 EDITH BRAUN BERGER                          PO BOX 6556                                                                                                  SAN JUAN            PR           00914
   641012 EDITH BRIGNONI DE NIEVES                    URB HORIZONTES         1 CALLE PARAISO                                                                       GURABO              PR           00778
   641013 EDITH BULTRON SANTAELLA                     JARDINES DE BERWIND    EDIF 5 APT 124                                                                        SAN JUAN            PR           00924
   147766 EDITH C BLANCO                              REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641014 EDITH C CAJIGAS IRIZARRY                    PO BOX 7555                                                                                                  PONCE               PR           00732

   641016 EDITH CABALLERO DE GOLDERO                  COLINAS DE FAIR VIEW   4 P 17 CALLE 223                                                                      TRUJILLO ALTO       PR           00976
   147767 EDITH CALZADILLA GONZALEZ                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641017 EDITH CARAMBOT MAESO                        VILLA PALMERAS 222     CALLE JUNCOS                                                                          SAN JUAN            PR           00915
   147768 EDITH CASTILLO CARRASCO                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147769 EDITH CEDENO VAZQUEZ                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147770 EDITH D BURGOS RIVERA                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641023 EDITH D VIRUET RUBERT                       URB SANTA MARIA        C 24 CALLE 3                                                                          TOA BAJA            PR           00949



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  641024 EDITH DE JESUS DE JESUS                       HC 3 BOX 12934                                                                                                YABUCOA             PR           00767
  641025 EDITH DE JESUS VEGA                           PO BOX 13987                                                                                                  SAN JUAN            PR           00908

   147772 EDITH DEL MAR GONZALEZ SOTO REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   641027 EDITH DEL TORO MORALES      BO PARIS                               CARR 306 KM 2 8                                                                         LAJAS               PR           00667
   641028 EDITH DIAZ FERANANDEZ       ALTURAS DE BUSO                        10 A CALLE 3                                                                            HUMACAO             PR           00791
   147773 EDITH E GUTIERREZ CURET     REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   641029 EDITH E PEREZ JIRAU         BOX 609                                                                                                                        LARES               PR           00669
   147774 EDITH E. FEO ACEVEDO        REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147776 EDITH FELICIANO             REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   641031 EDITH FELICIANO AYALA       URB VILLA DEL CARMEN                   4470 AVE CONSTANCIA                                                                     PONCE               PR           00716
   641032 EDITH FELICIANO GONZALEZ    HC 01 BOX 6372                                                                                                                 SABANA HOYOS        PR           00688
   147777 EDITH FIGUEROA MORALES      REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147778 EDITH FIOL TORRES           REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          EDITH G DE JESUS DBA
   147780 ELECTRONIC OUTLET           PO BOX 1787                                                                                                                    ARECIBO             PR           00613
   641034 EDITH G ROSARIO GARCES      RIO HONDO I                            A 9 CALLE RIO COROZAL                                                                   BAYAMON             PR           00961
   641035 EDITH GARCIA ORTIZ          P O BOX 1756                                                                                                                   CANOVANAS           PR           00729
   641036 EDITH GONZALEZ CORDERO      PO BOX 308                                                                                                                     LAS PIEDRAS         PR           00771
   147781 EDITH GONZALEZ RODRIGUEZ    REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147782 EDITH GONZALEZ ZAMBRANA     REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147783 EDITH GUZMAN NAZARIO        REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   641037 EDITH HENRIQUEZ CARMENATTY HC 05 BOX 53171                                                                                                                 MAYAGUEZ            PR           00680
   641038 EDITH HERNANDEZ FESTA      HC 71 BOX 1757                                                                                                                  NARANJITO           PR           00719
   641039 EDITH HERNANDEZ IRIZARRY   EXT VILLA CAPRI                         F8 CALLE TURIN                                                                          SAN JUAN            PR           00924
   147784 EDITH HERNANDEZ MILLER     REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   641040 EDITH HERNANDEZ RODRIGUEZ                    PO BOX 8666                                                                                                   CAGUAS              PR           00726‐8666

   641041 EDITH HERNANDEZ ROSARIO                      URB EL COMANDANTE     1219 CALLE ANTONIO LUCIANO                                                              SAN JUAN            PR           00924
   641042 EDITH I AGUIAR QUI ONES                      URB ROUND HLS         1317 CALLE CAMELIA                                                                      TRUJILLO ALTO       PR           00976
   641043 EDITH I ECHEVARRIA PAGAN                     P O BOX 604                                                                                                   SANTA ISABEL        PR           00752
   147785 EDITH I RIVERA CUEVAS                        REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147786 EDITH IRIZARRY ACEVEDO                       REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   641045 EDITH IRIZZARRY PEREZ                        RAMBLA                1629 NAVARRA                                                                            PONCE               PR           00730‐4043
   641046 EDITH J BAEZ FUENTES                         URB HERMANAS DAVILA   H15 CALLE 7                                                                             BAYAMON             PR           00959
   147787 EDITH J CRESPO ROSADO                        REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   641047 EDITH J LOZADA RIVERA                        7082 CALLE FLORES     BOX 107                                                                                 SABANA SECA         PR           00952‐4365
   147788 EDITH J TUDO SIERRA                          REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   641050 EDITH JIMENEZ DE LEON                        PO BOX 1376                                                                                                   AGUAS BUENAS        PR           000703
   147789 EDITH L CATINCHI RINALDI                     REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147790 EDITH L GUZMAN BOSCH                         REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147791 EDITH L LUGO NAZARIO                         REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147792 EDITH L RIOS FELICIANO                       REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                                             C 21 CALLE CANTALICIO
   641051 EDITH L TORRES GONZALES                      IDAMARIS GARDENS      RODRIGUEZ                                                                               CAGUAS              PR           00727‐5716
   147793 EDITH LOPEZ PINET                            REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   147794 EDITH LOPEZ RODRIGUEZ                        REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   147795 EDITH M ACEVEDO CHAPARRO                     REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   641055 EDITH M COSME CORDERO                        BDA LAS MONJAS        120 CALLE PACHIN MARIN                                                                  SAN JUAN            PR           00917
   641056 EDITH M GONZALEZ LOPEZ                       HC 03 BOX 37183                                                                                               CAGUAS              PR           00725



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   147796 EDITH M HOFFMAN RODRIGUEZ                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147797 EDITH M HUERTAS TORRES                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   641057 EDITH M IRIZARRY ACEVEDO                    PLAYA HUCARES BOX 110                                                                                     NAGUABO             PR         00718
   147799 EDITH M NAVARRO PACHECO                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147800 EDITH M PAGAN ECHEVARRIA                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   641058 EDITH M PEREZ RIVERA                        2325 CALLE DANIELA                                                                                        PONCE               PR         00728‐1705
   147802 EDITH M RAMIREZ ORTIZ                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   641059 EDITH M RAMIREZ SAMPOLI                     BDA BELGICA PO          5824 CALLE CHILE                                                                  PONCE               PR         00717‐1742
   641060 EDITH M SANTIAGO ESTRADA                    HC 03 BOX 6748                                                                                            JUNCOS              PR         00777
   641061 EDITH M TERON                               P O BOX 3149                                                                                              ARECIBO             PR         00613
   641062 EDITH M TORRES RIVERA                       URB ALTAVISTA           K6 CALLE 12                                                                       PONCE               PR         00716
   147803 EDITH M VIERA VELLON                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147804 EDITH M. LOZADA SALGADO                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   147805 EDITH M. MANGUAL RODRIGUEZ REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   147806 EDITH M. RODRIGUEZ MURIEL                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   641063 EDITH MACHADO ABRAMS                        BO ARENALES BAJOS       BOX 5‐128                                                                         ISABELA             PR         00662
   641064 EDITH MALAVE NIEVES                         LA PERLA                63 CALLE SAN MIGUEL                                                               SAN JUAN            PR         00902
   641066 EDITH MALDONADO ORTIZ                       URB COLINAS VERDES      G 17 CALLE J                                                                      SAN JUAN            PR         00924

   641067 EDITH MARGARITA LABOY TORO                  JARD FAGOT              H 7 CALLE 12                                                                      PONCE               PR         00716
   641068 EDITH MARIE GARCIA REYES                    PO BOX 384                                                                                                JUANA DIAZ          PR         00795
   147808 EDITH MARQUEZ VAZQUEZ                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147809 EDITH MARRERO                               REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   641069 EDITH MASSA GONZALEZ                        URB EL CONQUISTADOR     L 49 CALLE 5                                                                      TRUJILLO ALTO       PR         00976
   641071 EDITH MEDINA SILVA                          PO BOX 11                                                                                                 CEIBA               PR         00735
   641073 EDITH MENDEZ ORTEGA                         HC 43 BOX 11583                                                                                           CAYEY               PR         00736
          EDITH MICHELLE MORALES
   147810 QUILES                                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   641075 EDITH MORALES PASTRANA                      P O BOX 8757                                                                                              CAGUAS              PR         00726
   147811 EDITH MUNOZ LORENZO                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   641076 EDITH N COLON PADRO                         RR 4 BOX 523                                                                                              BAYAMON             PR         00956
   641077 EDITH N LOPEZ SOTO                          PO BOX 1079                                                                                               AGUADA              PR         00602
   147812 EDITH N RIOS RIVERA                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   641078 EDITH N SANTIAGO DE PAGAN                   PO BOX 368                                                                                                AGUADA              PR         00602
   641079 EDITH N VARGAS PEREZ                        VILLA GAMAL             327 CALLE CORAL                                                                   ISABELA             PR         00662
   147813 EDITH N. VARGAS PEREZ                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          EDITH NIEVES ALDEA / YAMIRA
   147814 RIOS NIEVES                                 REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   641080 EDITH NIEVES CINTRON                        BO HATO TEJAS           105 CARR 864                                                                      BAYAMON             PR         00959
   641081 EDITH NOEMI ALICEA                          BO ABRAS                2 CARR 331                                                                        GUANICA             PR         00653
   147815 EDITH O BERRIOS QUINONES                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147816 EDITH OTERO BRACERO                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   641082 EDITH OYOLA                                 P O BOX 3174                                                                                              ARECIBO             PR         00612
          EDITH PEREZ / RICARDO J
   147817 ALMEYDA                                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   641083 EDITH PEREZ ABREU                           PO BOX 922                                                                                                COROZAL             PR         00783
   641084 EDITH PEREZ DE PEREZ                        TORRIMAR PLAZA          APT 12‐F                                                                          GUAYNABO            PR         00969
   641085 EDITH PEREZ GOMEZ                           PO BOX 7815                                                                                               PONCE               PR         00732
   147818 EDITH PEREZ JIMENEZ                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147819 EDITH PEREZ LOPEZ                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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          EDITH PEREZ POSSO & BUFETE
   147820 CRUZ, RIVERA                                REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   641086 EDITH PEREZ RIVERA                          URB SAN ANTONIO          13G                                                                                      PONCE               PR         00731

   641087 EDITH PEREZ RODRIGUEZ                       ESC JOSE CAMPECHE        CALLE EMILIO BUITRAGO FINAL                                                              SAN LORENZO         PR         00754
   641088 EDITH PEREZ SOTO                            PO BOX 560923                                                                                                     GUAYANILLA          PR         00656
   147821 EDITH QUIðONES ORTIZ                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147826 EDITH QUINONESPIZARRO                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   641089 EDITH R BUTLER VARGAS                       HC 2 BOX 10129                                                                                                    QUEBRADILLAS        PR         00678
   147827 EDITH R COLON FRATICELLI                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   641090 EDITH R DIAZ CORREA                         HC 11 BOX 12252                                                                                                   HUMACAO             PR         00791‐9408
   641091 EDITH RAMIREZ HERNANDEZ                     URB LOS ALAMOS           14 CALLE MILAGROS LABIOSA                                                                SAN SEBASTIAN       PR         00685
   147828 EDITH RAMOS ADAMES                          REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147829 EDITH RIERA MARIANI                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147830 EDITH RIERA RIERA                           REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147831 EDITH RIVERA DONATE                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   641096 EDITH RIVERA FERNANDEZ                      URB EL MADRIGAL          Q 17 CALLE 23                                                                            PONCE               PR         00730
   641097 EDITH RIVERA FLORES                         A 27 EL EDEN                                                                                                      COAMO               PR         00769
   641098 EDITH RIVERA GONZALEZ                       EXT DEL CARMEN           F 2 CALLE 6                                                                              JUANA DIAZ          PR         00975
   641099 EDITH RIVERA RIVERA                         PO BOX 142153                                                                                                     ARECIBO             PR         00614
   641100 EDITH RIVERA ROSA                           666 E 224 ST APT 2 H                                                                                              BRONX               NY         10666
   147832 EDITH ROBLES SANTIAGO                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          EDITH RODRIGUEZ & JOSE
   147833 RAMOS                                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   641101 EDITH RODRIGUEZ JUSINO                      HC 4 BOX 45943                                                                                                    SAN SEBASTIAN       PR         00685

   147834 EDITH RODRIGUEZ LAUREANO                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   641103 EDITH RODRIGUEZ MENDEZ                      PO BOX 10163                                                                                                      SAN JUAN            PR         00908
   147835 EDITH RODRIGUEZ REYES                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   640997 EDITH RODRIGUEZ REYES                       HC 4 BOX 8764                                                                                                     AGUAS BUENAS        PR         00703
   641104 EDITH RODRIGUEZ RIOS                        URB LOS ANGELES          E 42 LAS FLORES                                                                          CAROLINA            PR         00979
   641105 EDITH RODRIGUEZ VIERA                       PLAYA HUCARES            BUZON 14                                                                                 NAGUABO             PR         00718
   641106 EDITH ROMAN SALAMAN                         PO BOX 701                                                                                                        CAROLINA            PR         00916
   641107 EDITH ROSA BRENES                           URB LA GUADALUPE         1812 CALLE LA MONSERRATE                                                                 PONCE               PR         00730‐4304
   641108 EDITH ROSADO RIVERA                         URB PARQUE ECUESTRE      N 65 CALLE MADRILENA                                                                     CAROLINA            PR         00987
   641109 EDITH ROSARIO MUNIZ                         VILLA NEVAREZ            320 CALLE 4                                                                              SAN JUAN            PR         00927

   641110 EDITH ROSARIO PEREZ                         COND EL DUELO            265 CALLE HONDURAS APT 14A                                                               SAN JUAN            PR         00917
   641111 EDITH ROSARIO VIERA                         HC 01 BOX 21129                                                                                                   CAGUAS              PR         00725
   641112 EDITH SANCHEZ RIVERA                        PO BOX 646                                                                                                        CANOVANAS           PR         00729
   641115 EDITH SANCHEZ VAZQUEZ                       VILLA VERDE              A 25 CALLE 1                                                                             BAYAMON             PR         00959
   147836 EDITH SANTIAGO HERNANDEZ                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   641117 EDITH SANTIAGO MELENDEZ                     PO BOX 520                                                                                                        VEGA BAJA           PR         00694
   147837 EDITH SANTIAGO SANTIAGO                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   641118 EDITH SANTOS                                PO BOX 21365                                                                                                      SAN JUAN            PR         00928
   147838 EDITH SANTOS SILVESTRY                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   147839 EDITH SEPULVEDA NEGRON                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   641120 EDITH SUAREZ GONZALEZ                       HC 1 BOX 4916                                                                                                     SALINAS             PR         00751
   147840 EDITH TORRES DAVILA                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   641122 EDITH TORRES ORTIZ                          PO BOX 10000 SUITE 217                                                                                            CAYEY               PR         00736
   641124 EDITH TORRES RODRIGUEZ                      FACTOR I                 65 CALLE A                                                                               ARECIBO             PR         00612
   641126 EDITH V BEATO RIOS                          COND SKY TOWERS 1        APTO 9C                                                                                  SAN JUAN            PR         00926
   641127 EDITH VARGAS ROSADO                         URB MARIANI              ESTE2508 CALLE O                                                                         PONCE               PR         00717‐0122



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  147841 EDITH VAZQUEZ RODRIGUEZ                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  147842 EDITH VEGA ROLON                              REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  147844 EDITH W ORTIZ MUJICA                          REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  641129 EDITH W SANTOS COLON                          URB SANTA MONICA              I17 CALLE 8                                                                               BAYAMON              PR         00957
  147845 EDITH Y ROMERO GIRON                          REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  147846 EDITH Y SIERRA SORRENTINI                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  147847 EDITH Y. RIVERA CINTRON                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  641132 EDITH ZOE HERNANDEZ                           JARDINES DE TOA ALTA          120 CALLE 5                                                                               TOA ALTA             PR         00953

   641133 EDITHA E ECHAVEZ MARTINEZ                    4 CALLE DEL RIO                                                                                                         SAN GERMAN           PR         00683
   147848 EDITORIAL AMERICA SA                         635 NW 36TH STREET                                                                                                      VIRGINIA GARDENS     FL         33166
   641134 EDITORIAL CHIC VEA                           P O BOX 190240                                                                                                          SAN JUAN             PR         00919‐0240
   641135 EDITORIAL CORDILLERA                         P O BOX 3148                                                                                                            GUAYNABO             PR         00970‐3148
   147850 EDITORIAL CORDILLERA INC                     PO BOX 3148                                                                                                             GUAYNABO             PR         00970‐3148
          EDITORIAL CRISMARC
   147851 PUBLISHING                                   PO BOX 1956                                                                                                             EAGLE LAKE           FL         33838
   147852 EDITORIAL CULTURAL, INC.                     PO BOX 21056                                                                                                            SAN JUAN             PR         00928
   641136 EDITORIAL DEL OESTE                          P O BOX 822                                                                                                             HORMIGUERO           PR         00660
   147853 EDITORIAL EDIL INC                           PO BOX 23088                                                                                                            SAN JUAN             PR         00931
   147854 EDITORIAL EDIL INC.                          BOX 23088 UPR STA                                                                                                       RIO PIEDRAS          PR         00931
   147855 EDITORIAL EL ANTILLANO INC                   P O BOX 12212                                                                                                           SAN JUAN             PR         00914‐0212
          EDITORIAL ESCUELAS DEL
   147856 FUTURO INC                                   P O BOX 50091                                                                                                           TOA BAJA             PR         00949
   147857 EDITORIAL ESPUELA INC                        PO BOX 11773                                                                                                            SAN JUAN             PR         00922
   147858 EDITORIAL FORUM INC                          PARQUE SENORIAL               A 4 CALLE 1                                                                               SAN JUAN             PR         00926
   147859 EDITORIAL GREDOS                             SANCHEZ PACHECO 85                                                                                                      MADRID                          28002        SPAIN

   147860 EDITORIAL IURIS                              AVE MANUEL BELGRANO           5832 PLANTA BAJA DTO 8 WILDE                                                              BUENOS AIRES                    1875         ARGENTINA
   641137 EDITORIAL KINDER PRINTING                    URB PERLA DEL SUR             4502 PEDRO M CARATINI                                                                     PONCE                PR         00717‐0313
   147861 EDITORIAL LECTOR                             PO BOX 192039                                                                                                           SAN JUAN             PR         00919‐2039
   147862 EDITORIAL MANOS                              PO BOX 194775                                                                                                           SAN JUAN             PR         00919
   147863 EDITORIAL MC GRAW‐HILL                       1121 AVE MUÐOZ RIVERA                                                                                                   SAN JUAN             PR         00925
   147867 EDITORIAL MCGRAW HILL INC                    PO BOX 20712                                                                                                            SAN JUAN             PR         00928
   641138 EDITORIAL OCEANO DE P R                      HATO REY STATION              PO BOX 195206                                                                             SAN JUAN             PR         00919‐5206
   641139 EDITORIAL OCEANO INC                         10540 NW 26 ST SUITE 105                                                                                                MIAMI                FL         33172
          EDITORIAL PANAMERICANA /
   147868 ORIENTAL GROUP                               GALERIA SAN PATRICIO          B 5 CALLE TABONUCO                                                                        GUAYNABO             PR         00969
                                                       WEINSTEIN‐BACAL, MILLER &     GONZÁLEZ‐PADÍN BUILDING
  1422880 EDITORIAL PANAMERICANA INC                   VEGA, P.S.C.                  PENTHOUSE                      154 RAFAEL CORDERO STREET           PLAZA DE ARMAS         SAN JUAN             PR         00901
   147875 EDITORIAL PLAZA MAYOR INC                    1500 AVE PONCE DE LEON        LOCAL 2 EL CINCO                                                                          SAN JUAN             PR         00926

   147876 EDITORIAL PLAZA MAYOR, INC                   PO BOX 3148                                                                                                             GUAYNABO             PR         00970‐3148
   147877 EDITORIAL PRIMERA HORA                       PO BOX 2009                                                                                                             CATANO               PR         00963‐2009

   147878 EDITORIAL PRIMERA HORA INC                   P O BOX 71471                                                                                                           SAN JUAN             PR         00936
   147880 EDITORIAL RIO INGENIO INC                    RIO HONDO II                  AH 14 CALLE RIO INGENIO                                                                   BAYAMON              PR         00961

   641140 EDITORIAL SELA                               3‐64 ALTOS AVE LOMAS VERDES                                                                                             BAYAMON              PR         00956

   641141 EDITORIAL SIN POMBRE INC                     1 CALLE WASHINTON APT 12 A                                                                                              SAN JUAN             PR         00927
   641142 EDITORIAL TELEVISA                           PO BOX 37248                                                                                                            BOONE                IA         50037‐2248

   147881 EDITORIAL TSUNAMI EDUCATIVA VILLA NEVAREZ                                  1066 CALLE 19                                                                             SAN JUAN             PR         00927



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          EDIVETTE SANTIAGO
   147882 CARTAGENA                                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147883 EDIVIA CRESPO DE RIOS                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147884 EDIVIA CRESPO PEREZ                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641144 EDIVIA MARTINEZ DOMENA                      P O BOX 829                                                                                                       BAJADERO            PR           00616
   641145 EDKCO INTERNATIONAL                         PO BOX 30566                                                                                                      SAN JUAN            PR           00929
   147885 EDLEN M BIGAS QUI¥ONES                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641146 EDLIN BUITRAGO HUERTAS                      P O BOX 361839                                                                                                    SAN JUAN            PR           00936 1839
   147886 EDLIN MARTINEZ TORRES                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641147 EDLY HAYMARA ROSADO TORRES HC 2 BOX 47815                                                                                                                     VEGA BAJA           PR           00693‐9675
   641148 EDLYN ALGARIN PEREZ        P O BOX 445                                                                                                                        GURABO              PR           00778
   147887 EDLYN M SUAREZ VAZQUEZ     REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147888 EDLYN RIVERA CRUZ          REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147889 EDM MUSIC INC              URB MUNOZ RIVERA                              73 CALLE ESMERALDA                                                                   GUAYNABO            PR           00969
   147890 EDMALIS M RODRIGUEZ LEON   REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641149 EDMAN ALICEA RODRIGUEZ     URB TINTILLO GARDENS                          G 41 CALLE 6                                                                         GUAYNABO            PR           00966
   147891 EDMANUEL APONTE BADILLO    REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147892 EDMANUEL FUENTES PINTO     REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147893 EDMANUEL J MENDEZ OSORIO                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641150 EDMANUEL LOPEZ SOTO                         PO BOX 1842                                                                                                       LARES               PR           00669‐1842
   641151 EDMANUEL RAMOS CIURO                        URB METROPOLIS               2A 27 CALLE 33                                                                       CAROLINA            PR           00987
          EDMANUEL RODRIGUEZ
   641152 VAZQUEZ                                     BO RIO HONDO                 A A 18 LOMAS VERDES                                                                  MAYAGUEZ            PR           00680
   641153 EDMANUEL SANTIAGO QUILES                    P O BOX 238                                                                                                       CAGUAS              PR           00725

   147894 EDMAR F SEMINARIO MORALES                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641155 EDMAR M BENITEZ ALVAREZ                     RES VILLA CAROLINA           62 7 CALLE 47                                                                        CAROLINA            PR           00985
   641156 EDMAR PEREZ                                 PO BOX 2067                                                                                                       AGUADILLA           PR           00605
   641157 EDMAR REYES TOLEDO                          PTO NUEVO                  1327 CALLE DELTA                                                                       SAN JUAN            PR           00920
                                                                                 GALERIAS PASEO MALL SUITE
   641158 EDMAR SE                                    100 GRAND BOULEVARD PASEOS 401                                                                                    SAN JUAN            PR           00926
   641159 EDMARI DIAZ CRUZ                            RIO HONDO                  M 15 RIO CAGUITAS                                                                      BAYAMON             PR           00961

   641160 EDMARIE AVILES COLON                        VILLA CAROLINA 5TA SECCION   191 27 CALLE 522                                                                     CAROLINA            PR           00985
   147896 EDMARIE BONILLA AYES                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147897 EDMARIE CHINEA GARCIA                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147899 EDMARIE GUZMAN VELEZ                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147900 EDMARIE LOPEZ VALENTIN                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147901 EDMARIE MORALES MARRERO                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147902 EDMARIE RAMIREZ VELAZQUEZ                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147903 EDMARIE REYES FERNANDEZ                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147904 EDMARIE RIVERA PEREZ                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147905 EDMARIE RIVERA SANTIAGO                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147906 EDMARIE RODRIGUEZ RAMOS                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147907 EDMARIE SANTIAGO MEJIAS                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147908 EDMARIE SANTIAGO NEGRON                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147909 EDMARIE VELAZQUEZ SANTOS                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147910 EDMARIE VERDEJO VAZQUEZ                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          EDMARY HERNANDEZ
   147911 RODRIGUEZ                                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147912 EDMARY PEREZ COLON                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641163 EDMARY RIVERA BURGOS                        SABANA SECA                   5320 CALLE LA GALLERA BZ 4                                                              TOA BAJA            PR           00952‐4405
          EDMARYS TEISSONNIERE
   147913 QUINONES                                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147915 EDMEE I SOTO MATOS                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641166 EDMEE J GONZALEZ BLANCO                     URB RAMIREZ DE ARELLANO       28 CALLE DR E KOPPICH                                                                   MAYAGUEZ            PR           00680
   641168 EDMEE MARTINEZ CENTENO                      QUINTA DEL RIO                F 6 PLAZA 10                                                                            BAYAMON             PR           00961
   641165 EDMEE ORTIZ RIVERA                          BO COCO NUEVO                 44 CALLE D DONES                                                                        SALINAS             PR           00751

   641169 EDMEE RODRIGUEZ FONTANEZ                    URB LOS ROSALES               H 12 CALLE 2                                                                            HUMACAO             PR           00971
   147916 EDMEE S PEREZ MUNIZ                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147918 EDMEE S VALLE CRESPO                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147919 EDMEE VINCENTY                              EDIF VICK CENTER C‐100        867 AVE MUNOZ RIVERA                                                                    SAN JUAN            PR           00925
   147920 EDMEE ZEIDAN CUEVAS                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147921 EDMER HERNANDEZ MELENDEZ REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641172 EDMI ROSE ACOSTA RODRIGUEZ SAN MIGUEL TOWER APTO 104                                                                                                              MAYAGUEZ            PR           00680
   641173 EDMIDIO AVILES GUZMAN      URB VILLA DEL CASTRO                           S 21 CALLE 15                                                                           CAGUAS              PR           00725
   147922 EDMIE JIMENEZ MARTELL      REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147923 EDMIL M HERNANDEZ ROBLES                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   147924 EDMIL M. HERNANDEZ ROBLES                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641174 EDMILLY J SANTIAGO RIVERA                   20 CALLE BARCELO                                                                                                      JUANA DIAZ          PR           00795
          EDMILUZ GUADALUPE
   147925 ALVARADO                                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   147926 EDMIR MORALES LAMBOY                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641175 EDMUND CIENTIFIC CO                         101 EAST GLOUCESTER PIKE                                                                                              BARRINTON           NJ           08007‐1380

   641178 EDMUNDO A LLUBERAS JR                       4287 REFECTION BLVD APT 204                                                                                           SUNRISE             FL           33351
   147927 EDMUNDO A VEDANO PEREZ                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641179 EDMUNDO ALEMANY VIDAL                       PO BOX 384                                                                                                            SAN GERMAN          PR           00683
   771033 EDMUNDO AYALA OQUENDO                       P O BOX 1105                                                                                                          FAJARDO             PR           00738
   641180 EDMUNDO B FERNANDEZ INC                     PO BOX 368                                                                                                            BAYAMON             PR           00960
          EDMUNDO C IRIZARRY
   147930 SANTIAGO                                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641181 EDMUNDO CARABALLO ALONZO URB JOSE MERCADO                                 V 75 CALLE ROOSEVELT                                                                    CAGUAS              PR           00725
   147931 EDMUNDO CHEUNG FUNG      REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641183 EDMUNDO DISDIER PAGAN    URB SAN GERARDO                                  1709 CALLE COLORADO                                                                     SAN JUAN            PR           00926‐3471
   147933 EDMUNDO DONATIU HIND     REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                   18 QUINTAS MARIANA
   641184 EDMUNDO ESCOBAR MAISONET GUAYANET                                                                                                                                 MANATI              PR           00674
   641185 EDMUNDO FERNANDEZ        URB PARQUE MEDITERRANEO                          D 1 CALLE CORCEGA                                                                       GUAYNABO            PR           00969
          EDMUNDO GONZALEZ
   147934 RODRIGUEZ                REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDMUNDO IRIZARRY
   147935 BETANCOURT               REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641186 EDMUNDO J PAGAN NEGRON   JARDINES DE PONCE                                F 21 CALLE E                                                                            PONCE               PR           00730
   147936 EDMUNDO JIMENEZ MONTIJO  REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  147937 EDMUNDO MARCIAL JUSINO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   641187 EDMUNDO MARTELL CASTILLO                    CARR 348 KM 0.1 HM 1.5                                                                                             MAYAGUEZ            PR         00680
   641188 EDMUNDO MORALES                             P O BOX 149                                                                                                        GURABO              PR         00778
   147938 EDMUNDO N KRAISELBURD                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      UNIT 596TH MAINTCO CMR 440
   641189 EDMUNDO N MAYORCA                           BOX 2079                                                                                                           APO                            09175
   147939 EDMUNDO QUINONES SOTO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   641190 EDMUNDO RAMIREZ SANTOS                      RR 04 BOX 3110                                                                                                     BAYAMON             PR         00956
   641191 EDMUNDO RENTA SANTIAGO                      HC 01 BOX 3588                                                                                                     SANTA ISABEL        PR         00757
   147940 EDMUNDO RIVERA FERRER                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147941 EDMUNDO RIVERA RIVERA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   147942 EDMUNDO RODRIGUEZ GORBEA REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   641192 EDMUNDO ROSALY RODRIGUEZ                    APARTADO 1142                                                                                                      YAUCO               PR         00698‐1142
   147944 EDMUNDO SANTIAGO                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147945 EDMUNDO TORRES ROBLES                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   641195 EDMUNDO VAZQUEZ OTERO                       FIRST FEDERAL SAVINGS BLDG   PISO 8 STE 808             1056 AVE MUNOZ RIVERA                                      SAN JUAN            PR         00927

   147946 EDMUNDO VAZQUEZ RAMIREZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147948 EDMY LUZ SUAREZ OSORIO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147949 EDMY S COLON HERNANDEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147950 EDMY W MALAVE VIZCAYA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147951 EDN CONSULTING GROUP LLC                    701 AVE. PONCE DE LEON       SUITE 309                                                                             SAN JUAN            PR         00907
          EDN CONSULTING GROUP LLC
   147952 CORP                                        701 AVE PONCE DE LEON STE 309                                                                                      SAN JUAN            PR         00907
   641197 EDN MEDICAL SUPPLY IN                       PO BOX 1551                                                                                                        GUANICA             PR         00653
   147953 EDNA A DIAZ NUNEZ                           REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147959 EDNA A RIVERA SANTIAGO                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   147961 EDNA ACEVEDO PASTRANA                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                    872 DOMINGO CABRERA BOX
   641203 EDNA ACOSTA PEREZ                           SANTA RITA                    150                                                                                  SAN JUAN            PR       00926
   641205 EDNA ALBELO PAGAN                           PO BOX 225                                                                                                         CIALES              PR       00638
   770465 EDNA ANGELI Y DORIS ANGELI                  REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   147962 EDNA ARROYO LOPERENA                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   641206 EDNA AVILA DE JESUS                         BO GUARROCHALES               HC 52 BOX 2716                                                                       ARECIBO             PR       00652
   147963 EDNA AVILES RODRIGUEZ                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   641207 EDNA AYUSO ROSA                             VILLA CADIZ                   584 DURCAL                                                                           SAN JUAN            PR       00923
   147964 EDNA B PEREZ FREYTES                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   641208 EDNA BANCHS RAMOS                           HC 44 BOX 12608                                                                                                    CAYEY               PR       00736‐9706
   641209 EDNA BARRIONUEVO RIVERA                     PO BOX 1402                                                                                                        CIDRA               PR       00739
   641210 EDNA BELTRAN                                EXT VILLA RICA                U2 CALLE 13                                                                          BAYAMON             PR       00959
   147965 EDNA BENITEZ DELGADO                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   641211 EDNA BONILLA COLON                          BARRIADA ELPOLVORIN           9 CALLE 12                                                                           CAYEY               PR       00736
   641212 EDNA BONILLA NEGRON                         URB VISTA BELLA               23 CALLE A                                                                           VILLALBA            PR       00766
   147967 EDNA C BONNET VAZQUEZ                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   641213 EDNA C CELESTE CARRERAS                     PO BOX 8353                                                                                                        SAN JUAN            PR       00910
   147968 EDNA CARABALLO RUIZ                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   641216 EDNA CARDONA FERRER                         PMB 30000 SUITE 422                                                                                                CANOVANAS           PR       00729

   641217 EDNA CINTRON DE RODRIGUEZ                   COND TROPICANA               APT 305 A                                                                             CAROLINA            PR         00979



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  147969 EDNA CORAZON ROBLES                          REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  147970 Edna Correa Rivera                           REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  641218 EDNA CORREA SERRANO                          FACTOR I                 7 CALLE F                                                                             ARECIBO            PR         00612
  641220 EDNA CORTES RIVERA                           URB IDAMARIS GARDENS     D19 MIGUEL A GOMEZ                                                                    CAGUAS             PR         00725
  641221 EDNA CRUCETTS PEREZ                          BDA FLORES               14 CALLE CANDELARIA VERA                                                              JUNCOS             PR         00777
  641222 EDNA CRUZ NEGRON                             PO BOX 21365                                                                                                   SAN JUAN           PR         00926‐1365
  641223 EDNA CUEVAS AYALA                            COND BORINQUEN TOWERS    EDIF 2 APTO 1101                                                                      SAN JUAN           PR         00920
  147973 EDNA D TORRES ALEMAN                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  641226 EDNA DAVILA                                  BOX 1390                                                                                                       YABUCOA            PR         00767
  641227 EDNA DAVILA CRUZ                             URB SABANA GARDENS       13‐11 CALLE 28                                                                        CAROLINA           PR         00983
  641228 EDNA DE JESUS MALDONADO                      PRADERAS DEL PLATA       C 1 CALLE C 3                                                                         CAYEY              PR         00736‐0273
  641230 EDNA DEL VALLE RODRIGUEZ                     PARK GARDENS             L 13 CALLE 15                                                                         SAN JUAN           PR         00926
  147974 EDNA DELGADO QUINONES                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  641232 EDNA E ALGARIN DE ALVAREZ                    BO GUZMAN ABAJO          PO BOX 1376                                                                           RIO GRANDE         PR         00745
  641234 EDNA E CANDELARIO                            HC 02 BOX 4568                                                                                                 GUAYAMA            PR         00784
  147975 EDNA E CRUZ RESTO                            REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  641236 EDNA E ESTEBAN COLON                         URB VALLE VERDE          A U3 CALLE RIO TURABO                                                                 BAYAMON            PR         00961
  641239 EDNA E GALARZA CORDERO                       BOX 1073                                                                                                       MOCA               PR         00676
  641241 EDNA E GONZALEZ GUZMAN                       VILLA UNIVERSITARIA      BF 15 CALLE 24                                                                        HUMACAO            PR         00791
  147976 EDNA E GUZMAN RIVERA                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  147977 EDNA E LARACUENTE RIVERA                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  147978 EDNA E NIEVES FLORAN                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  641242 EDNA E ORTIZ ORTIZ                           HC 4 BOX 4048                                                                                                  HUMACAO            PR         00791
  641243 EDNA E PEREZ TOLEDO                          URB EXT MARISOL          C 15‐120 CALLE 3                                                                      ARECIBO            PR         00612
  147979 EDNA E SANTIAGO CAMACHO                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  147980 EDNA E SANTIAGO GALARZA                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  641246 EDNA E SIERRA ORTIZ                          COND PARQUE TERRALINDA   BOX 103 APT A 3                                                                       TRUJILLO ALTO      PR         00976

   147981 EDNA E VARGAS GOICOECHEA                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   641247 EDNA E VARGAS VALDES                        CALLE GUAYAMA            136 APT 50                                                                            SAN JUAN           PR         00918
   147982 EDNA E. PADILLA ZAPATA                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   147984 EDNA E. RULLAN GUZMAN                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   147985 EDNA F RIVERA RODRIGUEZ                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   641249 EDNA F RUIZ RUIZ                            PORTALES DEL MONTE       EDIF C APT 1502                                                                       COTTO LAUREL       PR         00780‐2016
          EDNA FELICIANO DBA TEAM
  1256428 MORTICIAN                                   REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   641252 EDNA FONTANEZ                               HC 01 BOX 4193                                                                                                 NAGUABO            PR         00718‐9706
   147987 EDNA FRED GARCIA                            REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   641253 EDNA G CABRERA SANTIAGO                     100 AVE LA SIERRA        APT N 212                                                                             SAN JUAN           PR         00926
   147989 EDNA G RIVERA FELIX                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   641254 EDNA G RIVERA MEDINA                        EXT LAS DELICIAS 2       BB 76 CALLE 4                                                                         PONCE              PR         00731
   147990 EDNA G RIVERA ORAMAS                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          EDNA GABRIELA FERNANDEZ
   641255 FIGUEROA                                    P O BOX 8537                                                                                                   SAN JUAN           PR         00910
   770466 EDNA GARCIA PINEDA                          REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   147991 EDNA GIBOYEAUX TELEMACO                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   147992 EDNA GODREAU TORRES                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          EDNA GODREAU/ ALEXANDER
   147994 KUHLMANN                                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   641257 EDNA GONZALEZ ALVARADO                      P O BOX 264                                                                                                    SABANA HOYOS       PR         00648
   147995 EDNA GONZALEZ INC                           BO LAS VEGAS             BUZON 23605                                                                           CAYEY              PR         00736
   641259 EDNA GONZALEZ MARTINEZ                      APARTADO POSTAL 1123                                                                                           ISABELA            PR         00662
   147996 EDNA GONZALEZ ROSARIO                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  641198 EDNA GONZALEZ TEJERA                         VILLA NAVARRA                 624 CALLE JULIO GONZALEZ                                                              SAN JUAN            PR         00924
  641260 EDNA GONZALEZ TORRES                         HC 1 BOX 7231                                                                                                       YAUCO               PR         00698
  147997 EDNA GUADALUPE CRUZ                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  147998 EDNA H MEI ORTIZ                             REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  641262 EDNA H OCTAVIANI                             P O BOX 112                                                                                                         YAUCO               PR         00698
  147999 EDNA H OCTAVIANI VELEZ                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  641263 EDNA H RIVAS MORALES                         URB REPTO MARQUEZ             A 12 CALLE 3                                                                          ARECIBO             PR         00612
  641264 EDNA HEREDIA NEGRON                          URB VILLA MARIA               G 10 CALLE 2                                                                          CAGUAS              PR         00725

   641265 EDNA HERNANDEZ ESCALANTE                    36 AVE INDUSTRIAL                                                                                                   CAYEY               PR         00736
   641266 EDNA HERNANDEZ RIVERA                       URB PALACIOS REALES           35 CALLE RAVENA                                                                       TOA ALTA            PR         00953‐4905
   641267 EDNA I ALMODOVAR TORRES                     URB VISTA CONVENTO            45 CALLE 3                                                                            FAJARDO             PR         00738
   641268 EDNA I ARROYO MORALES                       175 CALLE SAN FELIPE                                                                                                ARECIBO             PR         00612
   641269 EDNA I BAEZ COLON                           HC 01 BOX 6260                                                                                                      JUNCOS              PR         00777
   641270 EDNA I BELTRAN SILVAGNOLI                   78 CALLE ESTEBAN PADILLA                                                                                            BAYAMON             PR         00959
   641271 EDNA I BERRIOS VAZQUEZ                      URB SAN CRISTOBAL             A 13 B CALLE 3                                                                        BARRANQUITAS        PR         00794
   148000 EDNA I COLON LOPEZ                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148001 EDNA I CRUZ ESTRADA                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148002 EDNA I DIAZ DE JESUS                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148003 EDNA I DIAZ VEGA                            REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   641272 EDNA I FIGUEROA RODRIGUEZ                   URB ALTAMIRA                  601 CALLE AUSTRAL                                                                     SAN JUAN            PR         00920‐4224
   148004 EDNA I GARCIA COLON                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   641273 EDNA I GAVILLAN REYES                       PO BOX 174                                                                                                          CAYEY               PR         00736
   148005 EDNA I GONZALEZ GONZALEZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   641274 EDNA I GONZALEZ LOPEZ                       URB VALLE ARRIBA              41 CALLE CEIBA                                                                        COAMO               PR         00769
   148006 EDNA I GONZALEZ MORALES                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   148008 EDNA I LABRADOR MALDONADO REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   641276 EDNA I MARQUEZ            EXT FOREST HILLS                                J 316 CALLE DORADO                                                                    BAYAMON             PR         00957
   641277 EDNA I MELENDEZ BERRIOS   P O BOX 217                                                                                                                           BARRANQUITAS        PR         00794
   641278 EDNA I MORALES CASIANO    CALLE MONTALVA BOX 76                                                                                                                 ENSENADA            PR         00647
   641279 EDNA I NEGRON ORTIZ       P M B 177                                       P O BOX 1981                                                                          LOIZA               PR         00772

   641280 EDNA I PACHECO LOPEZ                        COND FRENCH PLAZA APT 522                                                                                           SAN JUAN            PR         00917
   641281 EDNA I PASTRANA RIVERA                      URB GOLDEN HILLS              D 7 ANICETO DIAZ                                                                      TRUJILLO ALTO       PR         00976
   641285 EDNA I SANTIAGO GONZALEZ                    HC 1 BOX 5708                                                                                                       ARROYO              PR         00714
   641286 EDNA I SAURI PEREZ                          PO BOX 560                                                                                                          MANATI              PR         00674
   641287 EDNA I SELLA RODRIGUEZ                      VILLAS DE SAN AGUSTIN         C2D7                                                                                  BAYAMON             PR         00959
          EDNA I VALLELLANES/ML AUTO
   641288 PARTS                                       106 EUGENIO SANCHEZ LOPEZ                                                                                           GURABO              PR         00778
   148010 EDNA I. DOLZ SOTOMAYOR                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   641290 EDNA I. DOMIGUEZ                            PO BOX 165                                                                                                          CIALES              PR         00638
   148011 EDNA I. MASSO PEREZ                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148012 Edna I. Pecunia MuNoz                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148013 EDNA IRIS LEON JIMENEZ                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   641294 EDNA IVETTE SOTO                            URB ALTURAS DE SANTA ISABEL   B3                                                                                    SANTA ISABEL        PR         00757
          EDNA IVONNE GONZALEZ
   148015 GONZALEZ                                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   641295 EDNA J CARLO MIRABAL                        URB MONTE TRUJILLO            808 PQUE TERRALINDA                                                                   TRUJILLO ALTO       PR         00976‐4069
   641296 EDNA J COLON LOPEZ                          URB VIRGINIA VALLEY 110       CALLE VALLE DEL TURABO                                                                JUNCOS              PR         00777
   641297 EDNA J MEDINA                               VILLA NEVAREZ                 301 B CALLE 22                                                                        SAN JUAN            PR         00925



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  148018 EDNA J MONTANEZ BAEZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  641298 EDNA J NIEVES PEREZ                          PO BOX 800195                                                                                                       COTO LAUREL       PR         00780‐0195
  641299 EDNA JIMENEZ                                 URB VILLA CAROLINA           196 36 CALLE 529                                                                       CAROLINA          PR         00985
  148020 EDNA JUSINO TORRES                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  148021 EDNA L BURGOS FERRER                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   148022 EDNA L COLLAZO CONCEPCION                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148023 EDNA L CURCIO FORTIS                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148024 EDNA L DELGADO DE JESUS                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   641303 EDNA L DELGADO MERCED                       ALT VILLA FONTANA            B 3 CALLE 4                                                                            CAROLINA          PR         00983
   148025 EDNA L FELIX ORTIZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   641306 EDNA L OCASIO MARTINEZ                      BARRIO SUMIDERO              CALLE 173                                                                              AGUAS BUENAS      PR         00703
   641307 EDNA L OTERO HERNANDEZ                      URB FRONTERAS                109 CALLE JAIME PERICAS                                                                BAYAMON           PR         00961
   641308 EDNA L PADILLA GONZALEZ                     HC 01 BOX 5451                                                                                                      SALINAS           PR         00751
   641309 EDNA L PARADIZO                             URB VILLA MACHUELO           APT B 2                                                                                PONCE             PR         00731
   148028 EDNA L RIVERA ABADIA                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   641310 EDNA L RIVERA FLORES                        URB CAPARRA TERRACE SE       1157 CALLE 18                                                                          SAN JUAN          PR         00921
   641311 EDNA L SANTIAGO NEGRON                      EL LAUREL                    307 C 3 REAL ANON                                                                      COTTO LAUREL      PR         00780‐2405
   148030 EDNA L TORRES RAMOS                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   148031 EDNA L VELAZQUEZ SANTIAGO                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148032 EDNA L. CASTRO RODRIGUEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148033 Edna L. QuiNonez Alvarez                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148037 EDNA L. VELAZQUEZ ALVAREZ                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   641314 EDNA LANDRO GONZALEZ                        CENTRO CONSEJERIA ESPERANZA A 14 LOMAS C / 2                                                                        TRUJILLO ALTO     PR         00976
   148038 EDNA LIZ NAVARRO GARCIA                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   641316 EDNA LIZ SANTIAGO CRUZ                      HC 3 BOX 7624                                                                                                       BARRANQUITAS      PR         00794
          EDNA LIZBETH HERNANDEZ
   148039 RIVERA                                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   641317 EDNA LLAVONA OYOLA                          URB JARD DE TOA ALTA         262 CALLE 9                                                                            TOA ALTA          PR         00953
   641318 EDNA LOPEZ LOPEZ                            HC 01 BOX 5266                                                                                                      HATILLO           PR         00659
   641319 EDNA LUISA RIOS                             P O BOX 140285                                                                                                      ARECIBO           PR         00614‐0285
   641320 EDNA M ADORNO COLON                         HC 2 BOX 7610‐9                                                                                                     CAMUY             PR         00627‐9114

   641321 EDNA M ALEJANDRO CHEVRES                    HC 73 BOX 5346                                                                                                      NARANJITO         PR         00719
   641322 EDNA M APONTE ZAYAS                         PO BOX 5128                                                                                                         CAYEY             PR         00737
          EDNA M ARCE CACHO / CLUB DE
   641323 LEONE DORADO                                URB FRONTERAS                100 C/ MANUEL MARTINEZ                                                                 BAYAMON           PR         00961
   148044 EDNA M BARRETO CALDERON                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148045 EDNA M BERRIOS VARELA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   641324 EDNA M CALDERON RODRIGUEZ URB VISTAS DEL CONVENTO                        B 52 CALLE 3                                                                           FAJARDO           PR         00738‐3214

   641325 EDNA M CAMACHO MERCADO                      HC 37 BOX 8213                                                                                                      GUANICA           PR         00653

   641326 EDNA M CINTRON VELAZQUEZ                    JARD DE COUNTRY CLUB         CK3 CALLE 144                                                                          CAROLINA          PR         00983
   148046 EDNA M CUEVAS RUIZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   641328 EDNA M DE LEON REINA                        URB LOS CHOFERES             A 11 CALLE RAFAEL VERDEJO                                                              SAN JUAN          PR         00926
   641329 EDNA M DIAZ PEREZ                           URB ROUND HILL               439 CALLE GLADIOLA                                                                     TRUJILLO ALTO     PR         00976
   148047 EDNA M DIAZ RIVERA                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148048 EDNA M ESCLAVON MATIAS                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148049 EDNA M FLORES CRUZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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MML ID             NAME                                         ADDRESS 1                    ADDRESS 2              ADDRESS 3                           ADDRESS 4              CITY          STATE    POSTAL CODE        COUNTRY
  641330 EDNA M FORTIER ROSADO                        288 CALLE VICTORIA                                                                                            PONCE               PR           00731

   641331 EDNA M FRANCESCHI JUSINO                    232 AVE ELEONOR ROOSEVELT                                                                                     SAN JUAN            PR           00907
   641332 EDNA M GIANNONI MARQUEZ                     URB LAS AMERICAS            974 SANTO DOMINGO                                                                 SAN JUAN            PR           00921
   148050 EDNA M IDELFONSO ORTIZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   148051 EDNA M LOPEZ CINTRON                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   641333 EDNA M MARTINEZ LEBRON                      URB MONTERREY               1226 CALLE PIRINEO                                                                SAN JUAN            PR           00926
   641334 EDNA M MATTA TORRES                         PO BOX 21365                                                                                                  SAN JUAN            PR           00926‐1365
   148053 EDNA M NEGRON GORGAS                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   148054 EDNA M NEGRON VAZQUEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   641336 EDNA M ORTIZ ROMAN                          REPARTO LANDRAU             1448 CALLE FRASER                                                                 SAN JUAN            PR           00921
   641337 EDNA M PALOU ELOSEGUI                       PO BOX 9023801                                                                                                SAN JUAN            PR           00902
   148055 EDNA M PEREZ ESCOBAR                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   641339 EDNA M PEREZ RIVERA                         HC 02 BOX 7075                                                                                                UTUADO              PR           00641
   641340 EDNA M PIETRI TORRES                        PO BOX 439                                                                                                    ADJUNTAS            PR           00601
   641199 EDNA M RAMOS RIVERA                         PO BOX 370                                                                                                    OROCOVIS            PR           00720
   641341 EDNA M RIVERA                               266 CALLE 3 N O                                                                                               SAN JUAN            PR           00920
   641342 EDNA M RIVERA GARCIA                        PO BOX 222                                                                                                    PATILLA             PR           00723
          EDNA M RODRIGUEZ / BANDA
   641343 ESC GUAYANILLA                              BO MACANA SECTOR SANTONI                                                                                      GUAYANILLA          PR           00656
   148058 EDNA M ROMAN PAOLI                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   641345 EDNA M TORRES SANCHEZ                       P O BOX 649                                                                                                   SAN GERMAN          PR           00683
   641346 EDNA M VEGA NIEVES                          HC 4 BOX 46427                                                                                                AGUADILLA           PR           00603
   148059 EDNA M. CARDONA TIRADO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   148060 EDNA M. GAUD PEREZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   148061 EDNA M. VILLEGAS FALU                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   148062 EDNA M. VIROLA SANCHEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   641348 EDNA MALDONADO                              19 BDA NUEVA                                                                                                  UTUADO              PR           00641
   641351 EDNA MALDONADO POLA                         URB PUNTO ORO               4417 CALLE EL ANGEL                                                               PONCE               PR           00732
   641352 EDNA MANGUAL RODRIGUEZ                      BOX 1573                                                                                                      JUANA DIAZ          PR           00795
   148064 EDNA MARIN RAMOS                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   148065 EDNA MARRERO TORRES                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   148066 EDNA MARTINEZ CALDERON                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   641353 EDNA MARTINEZ LATORRE                       RR 1 BOX 13622                                                                                                OROCOVIS            PR           00720
   148067 EDNA MARTINEZ RIVERA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   641354 EDNA MARTINEZ VEGA                          P O BOX 21365                                                                                                 SAN JUAN            PR           00928‐1365
   148068 EDNA MEDERO MONTAðEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   148071 EDNA MELENDEZ BURGOS                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   641356 EDNA MIRANDA MEDINA                         URB FLAMBOYAN               11 CALLE 171                                                                      MANATI              PR           00674
   148072 EDNA MOLINA SANCHEZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  1256429 EDNA MORALES ORTIZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   641361 EDNA MORALES RIVERA                         HC 03 BOX 13794                                                                                               JUANA DIAZ          PR           00795‐9518
   641363 EDNA N MATOS SANABRIA                       20 VALLE SUR                                                                                                  MAYAGUEZ            PR           00680
   148073 EDNA N SAEZ SANCHEZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   148074 EDNA N. FLORES CORTES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   148075 EDNA NEGRON BATISTA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   148076 EDNA NELSON NIEVES                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   148077 EDNA NIEVES GARCIA                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   148078 EDNA OLIVERAS MARTINEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   641365 EDNA ORTA CARDONA                           URB REINA DE LOS ANGELES    P 36 CALLE 8                                                                      GURABO              PR           00778
   641366 EDNA ORTIZ SANABRIA                         1645 CALLE TAMESIS                                                                                            SAN JUAN            PR           00926
   641367 EDNA ORTIZ VELEZ                            URB LA MILAGROSA            A1 CALLE ESMERALDA                                                                SABANA GRANDE       PR           00637
   641368 EDNA P ALICEA BARRETO                       BO LARES                    HC 02 BOX 5109                                                                    LARES               PR           00669



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MML ID               NAME                                       ADDRESS 1                     ADDRESS 2                  ADDRESS 3                           ADDRESS 4             CITY        STATE    POSTAL CODE       COUNTRY
  641369 EDNA P ECHEVARRIA COLON                      HC 01 BOX 7824                                                                                                     SANTA ISABEL       PR         00757
  641370 EDNA PAGAN ACEVEDO                           RIO HONDO                   7 VILLA SAN FRANCISCO                                                                  MAYAGUEZ           PR         00680
  148081 EDNA PAGÁN DE RIVERA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  148082 EDNA PANELLI DE BALLESTER                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  148083 EDNA PENA MAYZONET                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  148084 EDNA PONCE PEREZ                             REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  641372 EDNA QUILES ROSARIO                          BOX 759                                                                                                            CAYEY              PR         00737
  641373 EDNA QUINONEZ ALVAREZ                        1479 AVE ASHFORD APT 1216                                                                                          SAN JUAN           PR         00907
  641374 EDNA QUINTANA TORRES                         URB REPARTO VALENCIA        K 41 CALLE B                                                                           JUNCOS             PR         00777
  641378 EDNA R ORTIZ MEDINA                          P O BOX 1410                                                                                                       OROCOVIS           PR         00720
  641379 EDNA R ORTIZ PACHECO                         URB LA RIVIERA              973 CALLE 5 SOL                                                                        SAN JUAN           PR         00921

   641380 EDNA R PACHECO RODRIGUEZ                    HC 37 BOX 6773                                                                                                     GUANICA            PR         00653
   148086 EDNA R RIOS COLON                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   148088 EDNA R. REYES RIVERA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   641381 EDNA RANCK TORRES                           MIRADOR DEL CONDADO         1035 AVE ASHFORD STE 1007                                                              SAN JUAN           PR         00907‐1162
   148089 EDNA RENTAS MIRANDA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   148090 EDNA REYES MORALES                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   148091 EDNA RIVERA                                 REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   641383 EDNA RIVERA COLON                           LA PLENA                    HC 01 BOX 6534                                                                         SALINA             PR         00751
   641384 EDNA RIVERA MEDINA                          PO BOX 823                                                                                                         HUMACAO            PR         00792
   641385 EDNA RIVERA PAGAN                           JARD DE COUNTRY CLUB        AB 1 CALLE 16 A                                                                        CAROLINA           PR         00983
   148092 EDNA RIVERA RAMOS                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   148094 EDNA ROA GIL                                REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   148095 EDNA RODAS MONTALVO                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   148096 EDNA RODRIGUEZ / ESLI MEDINA REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   148098 EDNA RODRIGUEZ CARABALLO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   641200 EDNA RODRIGUEZ COLON                        67 CALLE KRUG APT 2                                                                                                SAN JUAN           PR         00911
   148099 EDNA RODRIGUEZ MALAVE                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   148101 EDNA RODRIGUEZ MERCADO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          EDNA RODRIGUEZ MUNIZ
   148105 CARLOS MEDINA CEDEN                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   148106 EDNA RODRIGUEZ NEGRON                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   641388 EDNA RODRIGUEZ RIOS                         URB ROSA MARIA              C 2 CALLE 3                                                                            CAROLINA           PR         00985
   641389 EDNA RODRIGUEZ RIVERA                       LAS CUMBRES GARDENS         APARTAMENTO 110                                                                        SAN JUAN           PR         00926

   148107 EDNA RODRIGUEZ RODRIGUEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   641390 EDNA RODRIGUEZ TORRES                       URB LAINMACULADA            D 11 CALLE 4                                                                           TOA BAJA           PR         00949
   641391 EDNA RODRIGUEZ VALENTIN                     VICTORIA STATION            PO BOX 494                                                                             AGUADILLA          PR         00605‐0494
   148108 EDNA ROJAS TORRES                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   641392 EDNA ROLLAND SAEZ                           COND QUINTANA APT 904 A                                                                                            SAN JUAN           PR         00917
   641393 EDNA ROMERO                                 BOX 7 CALLE JESUS M ORTIZ                                                                                          CULEBRA            PR         00775
   641394 EDNA ROSA COLON                             BO NUEVO PARC 22                                                                                                   BAYAMON            PR         00957
   641396 EDNA ROSARIO GONZALEZ                       P O BOX 30827               65 INF STATION                                                                         SAN JUAN           PR         00929
   148109 EDNA ROSARIO SANTIAGO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   148110 EDNA ROZAS MERA                             REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   641398 EDNA S MIRANDA PAGAN                        URB SIERRA BAYAMON          35 ‐ 9 CALLE 34                                                                        BAYAMON            PR         00961
   641399 EDNA S RODRIGUEZ MATEO                      URB SAN GERARDO             309 NEBRASKA                                                                           SAN JUAN           PR         00926

   641400 EDNA S VELAZQUEZ GONZALEZ                   ESTANCIAS DEL OLIMPO        4 CALLE B                                                                              GUAYAMA            PR         00784
   148111 EDNA S. ALONSO ROMAN                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  148112 EDNA S. TORRES PEREZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      PUENTE JOBOS SECTOR SAN
   641401 EDNA SANCHEZ CRUZ                           MARTIN                      CALLE K 912‐30                                                                          GUAYAMA             PR         00784
   641402 EDNA SANCHEZ ROLON                          URB RIO HONDO 2             AK80 CALLE RIO LA PLATA                                                                 BAYAMON             PR         00961
   148113 EDNA SANTIAGO                               REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   641403 EDNA SANTIAGO ORTIZ                         URB LAGOS DE PLATA          E 25 CALLE 2                                                                            TOA BAJA            PR         00949
   641404 EDNA SANTIAGO PIZARRO                       URB INTERAMERICANA          A G 17 CALLE 24                                                                         TRUJILLO ALTO       PR         00976
   641405 EDNA SANTOS PEREZ                           LAS MONJITAS                166 CALLE FATIMA                                                                        PONCE               PR         00730‐3905
   641407 EDNA SEGARRA IRIZARRY                       PO BOX 4910                                                                                                         SAN JUAN            PR         00902
   148114 EDNA SEGUINOT VELEZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   641408 EDNA SIERRA FIGUEROA                        PO BOX 854                                                                                                          CIALES              PR         00638
   148115 EDNA SOLER MORALES                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148116 EDNA SOLER TORRES                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   641409 EDNA T ORTIZ GERENA                         HC 01 BOX 3231                                                                                                      BOQUERON            PR         00622
   148118 EDNA TIRADO MONTANEZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   641201 EDNA TORRES CRESPO                          URB TURABO GDNS             R 39 CALLE 26                                                                           CAGUAS              PR         00725
   148119 EDNA TORRES GUZMAN                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   641411 EDNA TORRES IGLESIAS                        COND VIZCAYA TOWERS         D3 CALLE MEJICO APT 3B                                                                  SAN JUAN            PR         00917
   641412 EDNA TRINIDAD MOJICA                        URB LOMAS VERDES            4R 26 CALLE PLAYERA                                                                     BAYAMON             PR         00956
   641413 EDNA V DE JESUS SANTIAGO                    PO BOX 616                                                                                                          SANTA ISABEL        PR         00757
   641415 EDNA V HERNANDEZ BAEZ                       URB FREIRE                  93 CALLE RUBI                                                                           CIDRA               PR         00739
   641416 EDNA V MAS GONZALEZ                         HC 83 BUZON                                                                                                         VEGA BAJA           PR         00692
   641417 EDNA V SOTO MALDONADO                       EXT LA FE                   C 6 CALLE SAN FELIPE                                                                    JUANA DIAZ          PR         00795
   148120 EDNA VAZQUEZ DE BONNET                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDNA VEGA BORRERO /CTRO
   641420 CUIDO MONSERRATE                            22 CALLE MONSERRATE NORTE                                                                                           GUAYAMA             PR         00784
   641422 EDNA VEGA PEREZ                             RES BRISA DEL MAR           EDIF 6 APT 54                                                                           SALINAS             PR         00751
   641425 EDNA VELAZQUEZ RAMOS                        URB ANA MARIA               H 14 CALLE 3                                                                            CABO ROJO           PR         00623
   148121 EDNA VILLANUEVA                             REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   641428 EDNA W RIVERA ESCOBAR                       VILLAS DE RIO GRANDE        AP 13 CALLE 34                                                                          RIO GRANDE          PR         00745
   148122 EDNA Y IRIZARRY                             REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   641429 EDNA Y LAMBOY COLLAZO                       PO BOX 432                                                                                                          JAYUYA              PR         00664‐0432
   148123 EDNA Y. NAZARIO CUEVAS                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDNA YOLANDA ALVARADO
   641430 TORRES                                      PO BOX 9023207                                                                                                      SAN JUAN            PR         00902‐3207
                                                                                  601 CALLE SAN RAMON
   641431 EDNA Z FELIX RIVERA                         URB SANTA RITA              NONOTTO                                                                                 COTTO LAUREL        PR         00780
          EDNA Z GUZMAN ( EG
   641432 CONSULTING GROUP )                          LOMAS DE MANATUABON         70 CALLE URAYOAN                                                                        MANATI              PR         00674
   148124 EDNA Z ROMERO PENA                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148125 EDNA Z. GUZMAN                              REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   641434 EDNALEX RODRIGUEZ FELICIANO P O BOX 1245                                                                                                                        COAMO               PR         00769
                                      COND CASTILLO DEL MAR APT
   641435 EDNALIZ MONTANEZ FLORES     207                                                                                                                                 CAROLINA            PR         00979

   148126 EDNALY ORTIZ / ADRIANA ORTIZ REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   148128 EDNARDO CORTES HERNANDEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148129 EDNEIRA MENDEZ SALAS                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   148130 EDNEM FAMILY MEDICINE                       MEDICAL RECORDS DEPT        STE 100 7148 CURRY FORD RD                                                              ORLANDO             FL         32822
   148131 EDNER AYALA NARVAEZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  148132 EDNERIS CALDERON POLACO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  641436 EDNID MONTALVO NEGRON                        MIRAFLORES                  52‐15 CALLE 60                                                                       BAYAMON           PR         00957
  641437 EDNIELIZ MORALES TORRES                      P O BOX 781                                                                                                      OROCOVIS          PR         00720
  148134 EDNILDA COLON RIVERA                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  641438 EDNIRA RUIZ SANTIAGO                         URB SONBRAS DEL REAL        522 CALLE EL ROBLE                                                                   COTTO LAUREL      PR         00780
  148135 EDNISE M ROMAN RUPERTO                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  148136 EDNISE M. ROMAN RUPERTO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  148137 EDNITA COSME ROSADO                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  641441 EDNIZ M MORI TORRES                          PO BOX 757                                                                                                       VILLALBA          PR         00766
  148138 EDNY SANTIAGO FRANCESCHI                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  641442 EDNY V BILBRAUT                              RES VISTA HERMOSA           EDIF 40 APT 513                                                                      SAN JUAN          PR         00921
  148141 EDNYDIA VAZQUEZ                              REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         EDOUARD F LAFONTANT
  148142 HUTTINOT                                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  148143 EDOVIGES MORALES MUNIZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  148146 EDP COLLEGE OF PR INC                        PO BOX 1674                                                                                                      SAN SEBASTIAN     PR         00685

   148148 EDP UNIVERSITY                              RECAUDACIONES PO BOX 192303                                                                                      SAN JUAN          PR         00919‐2303
   148149 EDP UNIVERSITY OF PR INC                    PO BOX 192300                                                                                                    SAN JUAN          PR         00919‐2303
   148150 EDR SOLUTIONS LLC                           PMB 291                     35 JUAN C BORBON STE 67                                                              GUAYNABO          PR         00969‐5375
  1256430 EDR SOLUTIONS, INC.                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   641444 EDRA GARCIA SANCHEZ                         PO BOX 2594                                                                                                      JUNCOS            PR         00777
   148151 EDRA NAZARIO DENIZARD                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   641446 EDRAIQUE SALON                              URB VILLA REAL              L 10 CALLE MARGINAL                                                                  VEGA BAJA         PR         00693
   148153 EDRASS MEDINA VEGA                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   641447 EDRIC CASIANO ROQUE                         794 URB EST DEL RIO                                                                                              HORMIGUEROS       PR         00660
   641448 EDRIC E VIVONI FARAGE                       HC 1 BOX 3933                                                                                                    ADJUNTAS          PR         00601
   148154 EDRIC G ROSADO VELEZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   641449 EDRIC MORENO CARRERO                        RR 8 BOX 2092                                                                                                    BAYAMON           PR         00956‐9615
   148156 EDRIC VAZQUEZ MUNOZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148157 EDRIC VIVONI GONZALEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148158 EDRICK CASTILLO RODRIGUEZ                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148159 EDRICK G VAZQUEZ                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148160 EDRICK G. LUGO MILLAN                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   641451 EDRICK JABIER COLON                         25 CALLE MONSERRATE NORTE                                                                                        GUAYAMA           PR         00784
   148161 EDRICK LASSALLE SOTO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148162 EDRICK MARTI PEREZ                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148164 EDRICK SIERRA HERNANDEZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EDRID I CASTRO Y AIDA C
   148165 DIODONET                                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   148166 EDRIEL RIVERA JARDINE                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   148167 EDRIS MAYOL LLANOS                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   148168 EDRIZ SANTIAGO SAEZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   641453 EDRYAN SOTO GUZMAN                          BO OLLAS SECT BALCANES      CARR 536                                                                             SANTA ISABEL      PR       00757
          EDS INTERNATIONAL CORP
   641454 C/OKPMG LIP                                 P O BOX 364089                                                                                                   SAN JUAN          PR         00936‐4089
   148170 EDSAEL GARCIA RODRIGUEZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   641455 EDSANIA JESUS RIVERA                        P O BOX 1496                                                                                                     CIALES            PR         00638
   641457 EDSEL G IGARTUA BUTLER                      P O BOX 94                                                                                                       QUEBRADILLAS      PR         00678
   148175 EDSEL J ECHEVARRIA RIVERA                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148176 EDSEL L. BURGOS SOTO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148177 EDSEL R LOPEZ RAMIREZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  641458 EDSEL RAMIREZ GONZALEZ                       URB EL ALAMO D1       CALLE SAN ANTONIO                                                                 GUAYNABO          PR         00969
  148178 EDSER LUGO FERRER                            REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  148179 EDSER LUGO GARCIA                            REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  148180 EDSHELL TORRES ORTIZ                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  641460 EDSON A STEIDEL FIGUEROA                     P O BOX 163                                                                                             MAUNABO           PR         00707
  641461 EDSON F MORALES VEGA                         46 CALLE CARBONELL                                                                                      CABO ROJO         PR         00623
  148181 EDSON J LEBRON BOLIVAR                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  641463 EDSON L SANTIAGO                             P O BOX 936                                                                                             SAN GERMAN        PR         00683
  148182 EDSON MERCADO RIVERA                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  641464 EDSON MORALES RAMOS                          PO BOX 7126                                                                                             PONCE             PR         00732
  148183 EDSON NEGRON PADILLA                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  641465 EDSON ORTIZ SANTANA                          PO BOX 2659                                                                                             SAN GERMAN        PR         00683
  641466 EDSON R NEGRON PADILLA                       PO BOX 790                                                                                              VILLALBA          PR         00766

   148184 EDSON S CARABALLO BONILLA                   REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148185 EDSON TORRES LOPEZ                          REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   641467 EDSTROM INDUSTRIES INC                      819 BAKKE AVE                                                                                           WATERFORD         WI         53185‐4299
   148186 EDTRAS MONTANEZ BONILLA                     REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148187 EDU AMBIENTE INC                            REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148188 EDU B. SUAREZ MARTINEZ                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148189 EDU DEPORTES INC                            PO BOX 3450                                                                                             MAYAGUEZ          PR         00681
   148190 EDUACCION, INC.                             PO BOX 191779                                                                                           SAN JUAN          PR         00919‐1779
   148192 EDUARD A TORRES SANTIAGO                    REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   641468 EDUARD B BAKER                              PUNTA LAS MARIAS      17A CALLE INGA                                                                    SAN JUAN          PR         00913
   641469 EDUARD COLON CRESPO                         URB VILLA PARAISO     1366 CALLE TAZITA                                                                 PONCE             PR         00728‐3639

   641470 EDUARD HERNANDEZ POLANCO                    2060 ESQ BETANCES     AVE GILBERTO MONROIG                                                              SAN JUAN          PR         00915
   641471 EDUARD L HANBACH                            P O BOX 10163                                                                                           SAN JUAN          PR         00908
   641472 EDUARD ORTIZ RODRIGUEZ                      BO PALOMAS            34 CALLE 10                                                                       YAUCO             PR         00698
   641474 EDUARD PEREZ PINEIRO                        HC 01 BOX 3698                                                                                          LARES             PR         00669
   641475 EDUARD RIVERA CORREA                        HC 2 BOX 17803                                                                                          RIO GRANDE        PR         00745
   641476 EDUARD TORRES ESPADA                        BO LLANOS             PO BOX 1685                                                                       AIBONITO          PR         00705
   641477 EDUARD TORRES GONZALEZ                      HC 01 BOX 6872                                                                                          AGUAS BUENAS      PR         00703
   148193 EDUARD TORRES MENDEZ                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   641478 EDUARD ZABALA CABRERA                       PO BOX 240                                                                                              SANTA ISABEL      PR         00757

   148194 EDUARDA BARRIOS HERNANDEZ REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148195 EDUARDA GONZALEZ ORTIZ     REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148196 EDUARDA GUZMAN MIESES      REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   641479 EDUARDA RIVERA NIEVES      JARD DE CAYEY 1                        F 12 CALLE 11                                                                     CAYEY             PR         00736
          EDUARDO / ADALBERTO /MARIA
   641490 RIVERA NEGRON              URB SAN FERNANDO                       E 20 CALLE 7                                                                      TOA ALTA          PR         00953
   641491 EDUARDO A ACOSTA AYALA     BO PASO SECO                           115 CALLE 5                                                                       SANTA ISABEL      PR         00757
   641492 EDUARDO A BENTANCOURT      PO BOX 13061                                                                                                             SAN JUAN          PR         00908

   641493 EDUARDO A BERRIOS COLLAZO                   P O BOX 239                                                                                             JUNCOS            PR         00777‐0239
   148197 EDUARDO A BINGS VALLES                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148198 EDUARDO A CABRERA NIEVES                    REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EDUARDO A DELANNOY
   148199 SOTOMAYOR                                   REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   148200 EDUARDO A FIGUEROA MARTIN REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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          EDUARDO A GONZALEZ
   148201 SANTIAGO                                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641494 EDUARDO A LIARD ROSARIO                     PO BOX 30202                 65 STATION                                                                          SAN JUAN            PR           00929‐1202
   641495 EDUARDO A LUGO DIAZ                         JARDINES DE MONTE OLIVO      25 CALLE HERA                                                                       GUAYAMA             PR           00784‐6621
   148202 EDUARDO A MATOS VIDAL                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDUARDO A NAZARIO
   641496 ASOCIADOS                                   1560 A URB CAPARRA TERRACE                                                                                       SAN JUAN            PR           00921‐2019
   641497 EDUARDO A ORTIZ MARTINEZ                    BO SANTANA LA MAQUINA        CARR 363 KM 0 8                                                                     SABANA GRANDE       PR           00637
   148203 EDUARDO A QUIJANO RIVERA                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641498 EDUARDO A RIOS CASANOVA                     PO BOX 902                                                                                                       TOA ALTA            PR           00954

   641499 EDUARDO A ROSADO SANTIAGO PO BOX 2807                                                                                                                        SAN GERMAN          PR           00683
   641500 EDUARDO A SANTIAGO LUGO   CALL BOX 5000 BOX 358                                                                                                              SAN GERMAN          PR           00683
   148204 EDUARDO A TORRES RIVERA   REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641501 EDUARDO A VAZQUEZ BURGOS                    URB SIERRA LINDA             K 46 CALLE 5                                                                        BAYAMON             PR           00957
                                                      CTRO INTERNACIONAL
   641502 EDUARDO A VERA RAMIREZ                      MERCADEO                     100 CARR 165 SUITE 203                                                              GUAYNABO            PR           00968‐8048
          EDUARDO A. SANTIAGO
   148206 QUINONES                                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDUARDO ACEVEDO NIEVES Y
   148207 NELSON D SOTO                               REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641506 EDUARDO ACOSTA FLORES                       PO BOX 1213                                                                                                      SAN GERMAN          PR           00683
   641507 EDUARDO ADAMES CHICO                        HC 1 BOX 3342                                                                                                    CAMUY               PR           00627
   148208 EDUARDO AGOSTO LOPEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148209 EDUARDO AGUILA ALDARONDO                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148211 EDUARDO ALBERT CORREA                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148212 EDUARDO ALBERT RIVERA                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDUARDO ALBERTO LOPEZ
   148213 TORRES                                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148214 EDUARDO ALEJANDRO COWAN                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148215 EDUARDO ALEMANY NORIEGA                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148216 EDUARDO ALICEA CALIXTO                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641509 EDUARDO ALICEA ROBLES                       P O BOX 651                                                                                                      TRUJILLO ALTO       PR           00977‐0651
          EDUARDO ALVARADO
   148217 FUENMAYOR                                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641511 EDUARDO ALVAREZ NOVALES                     BO CAMPO ALEGRE              69 CALLE LOS PINOS                                                                  LARES               PR           00669
          EDUARDO ANDRES NOGUERAS
   148220 GOMEZ                                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641512 EDUARDO ANDUJAR MARTINEZ                    P O BOX 1506                                                                                                     HORMIGUEROS         PR           00660
          EDUARDO ANTONIO SAEZ
   148222 MALDONADO                                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641514 EDUARDO APONTE FERNANDEZ                    PARC SAINT JUST              140 CALLE 2                                                                         TRUJILLO ALTO       PR           00976

   641515 EDUARDO APONTE HERNANDEZ URB DOS PINOS                                   419 CALLE ARIEL                                                                     SAN JUAN            PR           00923
   148223 EDUARDO ARCE CUEVAS      REDACTED                                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641481 EDUARDO ARIZMENDI FRANCO                    562 CALLE ESPA¥A                                                                                                 SAN JUAN            PR           00917



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  641516 EDUARDO AROCHO MEDINA                        BO SALTO                 CARR 445 KM 3.6 INTERIOR                                                                 SAN SEBASTIAN     PR         00685
  641517 EDUARDO ARRILLAGA GARCIA                     TORRIMAR ESTATES         E 3 CALLE FUNSET                                                                         GUAYNABO          PR         00969
  148224 EDUARDO ARROYO MENDEZ                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  641518 EDUARDO ARROYO NIEVES                        P O BOX 1815                                                                                                      COAMO             PR         00769

   148225 EDUARDO ARROYO QUINONES                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148226 EDUARDO ARTAU FELICIANO                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   641520 EDUARDO AVILES GUZMAN                       PMB 021                  PO BOX 70171                                                                             SAN JUAN          PR         00936‐8171
   641521 EDUARDO AVILES RIVERA                       HC 5 BOX 25979                                                                                                    CAMUY             PR         00627
   641522 EDUARDO AYOLA MIRANDA                       URB SANTA MONICA         S6 CALLE 12                                                                              BAYAMON           PR         00957
   641523 EDUARDO B CONDE                             PO BOX 2901                                                                                                       GUAYNABO          PR         00970‐2901

   148227 EDUARDO B LUGARO MORALES                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   641524 EDUARDO BAEZ RIVERA                         P O BOX 3508                                                                                                      GUAYNABO          PR         00970‐3508
   148228 EDUARDO BAEZ VELAZQUEZ                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   148230 EDUARDO BARRIOS MERCADO                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   641526 EDUARDO BATHIA GUATIER                      PO BOX 50071                                                                                                      SAN JUAN          PR         00902

   148231 EDUARDO BELTRAN GONZALEZ                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   641527 EDUARDO BERMUDEZ DAVILA                     URB PARK GARDENS         P 16 CALLE CHAPULTEPEC                                                                   SAN JUAN          PR         0009262127
   641528 EDUARDO BERRIOS TORRES                      P O BOX 22708                                                                                                     SAN JUAN          PR         00931
   641529 EDUARDO BOBREN BISBAL                       URB TERRANOVA            D10 CALLE 3                                                                              GUAYNABO          PR         00969
   641530 EDUARDO BONILLA NEGRON                      SOLAR 726 TOA BACA                                                                                                VILLALBA          PR         00766
   641531 EDUARDO BORGES MEDINA                       RES. LLORENS TORRES      EDIF 17 APT 342                                                                          SAN JUAN          PR         00913
   641532 EDUARDO BRIGNONNI VELEZ                     LOMAS DE TRUJILLO        C 28 CALLE 4                                                                             TRUJILLO ALTO     PR         00976
   148232 EDUARDO BRITO CRUZ                          REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   148233 EDUARDO BURGOS QUINONES                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   148234 EDUARDO BURGOS RODRIGUEZ                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148235 EDUARDO BURGOS SIERRA                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   641535 EDUARDO C CAUTI¥O JORDAN                    PO BOX 36 2724                                                                                                    SAN JUAN          PR         00936
   641536 EDUARDO C ROBERT ORTIZ                      P O BOX 32200                                                                                                     PONCE             PR         00732‐2200
          EDUARDO CABALLER Y
   641537 ASOCIADOS                                   TERRAZAS DE GUAYNABO     H 17 ALTOS LAS FLORES                                                                    GUAYNABO          PR         00969
   641538 EDUARDO CABALLERO                           VILLAS DE LOIZA          A 27 CALLE 11                                                                            CANOVANAS         PR         00729
   641539 EDUARDO CABAN VALENTIN                      PO BOX 4002              PMB 154                                                                                  VEGA ALTA         PR         00692
   148236 EDUARDO CALDERON MATTA                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   641542 EDUARDO CAMARENO OTERO                      COND GALERIA I           AVE ARTERIAL HOSTOS APT 406                                                              SAN JUAN          PR         00918‐1406

   148237 EDUARDO CANCEL MALDONADO REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   148239 EDUARDO CARABALLO AGOSTINI REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   148240 EDUARDO CARDONA FIGUEROA                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   641543 EDUARDO CARDONA SIERRA                      2199 AVE EDUARDO CONDE                                                                                            SAN JUAN          PR         00915
   641544 EDUARDO CARO ACEVEDO                        TERRS DE GUAYNABO        B 8 CALLE TULIPAN                                                                        GUAYNABO          PR         00969‐5404
   641546 EDUARDO CARRIL PEREZ                        67 CALLE PLANA                                                                                                    ISABELA           PR         00605

   148241 EDUARDO CARRION MELENDEZ                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  641547 EDUARDO CARRION RUSSE                        PO BOX 171                                                                                                       MOROVIS              PR           00687
  641549 EDUARDO CASTANEDA                            URB SAN PEDRO ESTATES      B 18 SAN IGNACIO                                                                      CAGUAS               PR           00725
         EDUARDO CASTELLANOS LA
  641551 COSTA                                        URB SANTA JUANITA          GF 26 ALAMEDA                                                                         BAYAMON              PR           00956
  641552 EDUARDO CASTRO MORALES                       URB DEL PILAR              42 CALLE JAVIER ZEQUEIRA                                                              CANOVANAS            PR           00729

   148243 EDUARDO CEDENO OLIVENCIA                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   148244 EDUARDO CHAPERO JACKSON                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   148245 EDUARDO CHEJADE AUAD                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   148246 EDUARDO CHEVRES MARTINEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   148247 EDUARDO CINTRON RODRIGUEZ                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   641554 EDUARDO CINTRON ROSA                        URB PARQUE LAS MERCEDES    EDIF Q APTO 1 B                                                                       CAGUAS               PR           00725
   641555 EDUARDO CINTRON VELEZ                       PO BOX 9021112                                                                                                   SAN JUAN             PR           00902‐1112
   641556 EDUARDO CLAUDIO AGOSTO                      BOX 478                                                                                                          SAN LORENZO          PR           00754
   641558 EDUARDO CLEMENTE ORTIZ                      PMB 287 PO BOX 70011                                                                                             FAJARDO              PR           00738
   641559 EDUARDO COLLAZO PEREZ                       HACIENDA SAN JOSE          709 VIA DEL SOL                                                                       CAGUAS               PR           00727
   641560 EDUARDO COLON                               URB VILLAS DE LA PLAYA     154 CALLE FLAMINGO                                                                    VEGA BAJA            PR           00693
   641561 EDUARDO COLON CASTRO                        BOX 12242 LOIZA STA.                                                                                             SAN JUAN             PR           00914‐0242
                                                      CONDOMINIO BAYAMONTE APT
   641562 EDUARDO COLON CRUZ Y/O                      1206                                                                                                             BAYAMON              PR           00956
   641563 EDUARDO COLON ORTIZ                         PO BOX 1427                                                                                                      COROZAL              PR           00783
   641564 EDUARDO COLON PENA                          P O BOX 22696                                                                                                    SAN JUAN             PR           00931
   641565 EDUARDO COLON PIZARRO                       P O BOX 60075                                                                                                    BAYAMON              PR           00960
   148249 EDUARDO COLON ROCHE                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   148250 EDUARDO COLON TORRES                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   641566 EDUARDO CONCEPCION NIEVES                   HC 1 BOX 10250                                                                                                   TOA BAJA             PR           00949
   641567 EDUARDO CONDE                               PO BOX 2901                                                                                                      GUAYNABO             PR           00970‐2901
          EDUARDO CONDE SERVICE
   641568 STATION                                     PO BOX 190723                                                                                                    SAN JUAN             PR           00919‐0723
   641569 EDUARDO CORA ANTUNA                         CALLE 15 PARCELAS IMBERY   BOX 28                                                                                BARCELONETA          PR           00617
   641570 EDUARDO CORA COLON                          VILLA CAROLINA             111‐1 CALLE 79                                                                        CAROLINA             PR           00985

   148251 EDUARDO CORDERO ACEVEDO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   148252 EDUARDO CORDERO CORDERO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   641571 EDUARDO CORREA ANGLERO                      EMBALSE SAN JOSE           409 CALLE JEREZ                                                                       SAN JUAN             PR           00923
   641572 EDUARDO COSTAS LOYOLA                       906 COND ALTOS REALES      354 VIA SANTA CATALINA                                                                GUAYNABO             PR           00969‐5314
   148253 EDUARDO COTTO CLEMENTE                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   641573 EDUARDO CRUZ CANDELARIO                     URB ALT DE BUCAROBONES     3 U 42 CALLE 41                                                                       TOA ALTA             PR           00953
   148254 EDUARDO CRUZ CARDONA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   148256 EDUARDO CRUZ SOTO                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   641482 EDUARDO CRUZ TORRES                         URB MIRAFLORES             43 8 CALLE 46                                                                         BAYAMON              PR           00957
   641574 EDUARDO CRUZ VELEZ                          PO BOX 8080                                                                                                      PONCE                PR           00732
   148257 EDUARDO DAVILA CARRION                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   641575 EDUARDO DAVILA MALDONADO URB SOBRINO                                   30 CALLE B                                                                            VEGA BAJA            PR           00693
   641576 EDUARDO DAVILA MARRERO   PO BOX 184                                                                                                                          ISABELA              PR           00662

   641577 EDUARDO DAVILA RODRIGUEZ                    PO BOX 658                                                                                                       RIO GRANDE           PR           00745




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   148258 EDUARDO DE JESUS QUINONEZ                   REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   641578 EDUARDO DE JESUS ROMAN                      COND MADRID PLAZA APTO 1102                                                                                      SAN JUAN             PR           00924

   641579 EDUARDO DE LA CRUZ REBOLLO JARDINES DE COUNTRY CLUB                       CB 23 CALLE 126                                                                    CAROLINA             PR           00983

   641580 EDUARDO DELGADO MIRANDA                     CALLE VILLAMIL NUM 160        APAT. B‐3                                                                          SAN JUAN             PR           00907
          EDUARDO DELGADO SAN
   148259 MIGUEL                                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   641581 EDUARDO DELGADO VAZQUEZ                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   641582 EDUARDO DIAZ CANALES                        PO BOX 3523                                                                                                      VEGA ALTA            PR           00692
   641584 EDUARDO DIAZ CARTAGENA                      URB FREIRE                    47 AVE SAFIRO                                                                      CIDRA                PR           00739
   148260 EDUARDO DIAZ LOPEZ                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   148261 EDUARDO DIAZ MENDEZ                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   148262 EDUARDO DIAZ RIVERA                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   148263 EDUARDO DIFFUT                              REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   641587 EDUARDO E CALAF                             P O BOX 1036                                                                                                     DORADO               PR           00646
   641588 EDUARDO E FERRER RIOS                       PMB 199 P O BOX 607071                                                                                           BAYAMON              PR           00960
   148264 EDUARDO E FRANKLIN ARCE                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   641589 EDUARDO E MELENDEZ AGOSTO                   PO BOX 1040                                                                                                      UTUADO               PR           00641
   148265 EDUARDO E MERCADO REYES                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   641590 EDUARDO E ORTIZ RIVERA                      PO BOX 9020322                                                                                                   SAN JUAN             PR           00902‐0322
   148266 EDUARDO E PELLOT MUNIZ                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   148268 EDUARDO E SABATES RAMOS                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   148269 EDUARDO E ZALDUA VIVAS                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   148270 EDUARDO E ZUNIGA HERNANDEZ REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   148271 EDUARDO E. ZALDUA VIVAS    REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EDUARDO ECHEVARRIA
   148272 ECHEVARRIA                 REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EDUARDO ECHEVARRIA
   148273 SANTIAGO                   REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   148274 EDUARDO EMANUELLI          REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EDUARDO ENRIQUE ZUNIGA
   148275 HERNANDEZ                  REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   641595 EDUARDO ESCALERA                            125 CALLE BARCELONA APT 2B                                                                                       SAN JUAN             PR           00907
   148276 EDUARDO ESCALONA FERRER                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   641596 EDUARDO ESCALONA MARRERO                    COND SEGOVIA                  APT 1901                                                                           SAN JUAN             PR           00918
   641597 EDUARDO ESCOBALES RIVERA                    BOX 447                                                                                                          UTUADO               PR           00641
          EDUARDO ESCOLASTICO
   641598 PAREDES                                     600 AVE FDEZ JUNCOS APT 1                                                                                        SAN JUAN             PR           00907
          EDUARDO ESTADES / EQUIP
   641599 MEDIAS ROJAS DOM                            BO DOMINGUITO                 CARR 635 KM 3 8                                                                    ARECIBO              PR           00612
          EDUARDO EVANS BURGOS
   148277 RIVERA                                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EDUARDO F AROSEMENA
   148278 MUNOZ                                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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   148279 EDUARDO F LOPEZ DE VICTORIA REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148280 EDUARDO F MUNDO ROSARIO                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148281 EDUARDO F ROSA VAZQUEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148282 EDUARDO FAHME GONZALEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641601 EDUARDO FERNANDEZ DELGADO 2650 BRADDOCK                                                                                                                     FILADELPHIA         PA           19125
          EDUARDO FERNANDEZ
   641602 GONZALEZ                    PO BOX 9020165                                                                                                                  SAN JUAN            PR           00902‐0165
          EDUARDO FERNANDEZ
   641603 MALDONADO                   HC 2 BOX 5011                                                                                                                   COMERIO             PR           00782
          EDUARDO FERRER & ASSOCIATES
   148284 P S C                       1509 LOPEZ LANDRON                            PISO 10                                                                           SAN JUAN            PR           00911
   148287 EDUARDO FIGUEROA            REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDUARDO FIGUEROA
   641604 MALDONADO                   PO BOX 38                                                                                                                       AGUADILLA           PR           00605
          EDUARDO FIGUEROA
   641606 MONTANEZ                    VILLAS DE CASTRO                              FF‐1 CALLE 500                                                                    CAGUAS              PR           00725
   641607 EDUARDO FIGUEROA RIVERA     BO MORALES                                    702 CALLE K                                                                       CAGUAS              PR           00725

   641610 EDUARDO FLORES MEDINA                       COND CORAL BEACH II APT 210   5859 ISLA VERDE                                                                   CAROLINA            PR           00979
   641611 EDUARDO FLORES RIVERA                       P O BOX 835                                                                                                     BAYAMON             PR           00622
   148288 EDUARDO FLORES SOTO                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641612 EDUARDO FONT DIAZ                           TORRIMAR                      3‐9 CALLE MADRID                                                                  GUAYNABO            PR           00966
          EDUARDO FRAGUADA
   641613 RODRIGUEZ                                   URB BAIROA                    DT 4 CALLE 41                                                                     CAGUAS              PR           00725

   148289 EDUARDO FRATICELLI TORRES                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641614 EDUARDO FUENTES HERNANDEZ URB VILLAS DEL ESTE                             996 CALLE AMBAR                                                                   CANOVANAS           PR           00729

   148291 EDUARDO G AMILL RODRIGUEZ                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148292 EDUARDO G FIGUEROA PADILLA REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148293 EDUARDO G MASSAS ALVAREZ                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148294 EDUARDO G REYES VEGA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148295 EDUARDO GALARZA HERNANDEZ REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641617 EDUARDO GANDIA SANTOS     40 RICHMAN PLAZA APT 25 D                                                                                                         BRONX               NY           10453

   148296 EDUARDO GARCIA ESCRIBANO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148297 EDUARDO GARCIA GARCIA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641618 EDUARDO GARCIA LOPEZ                        PO BOX 194026                                                                                                   SAN JUAN            PR           00919‐4026

   148299 EDUARDO GARCIA PRUDENCIO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641619 EDUARDO GARCIA QUILES                       PO BOX 21222                                                                                                    SAN JUAN            PR           00928
   641620 EDUARDO GARCIA REXACH                       PO BOX 29012                                                                                                    SAN JUAN            PR           00929‐0012
   148300 EDUARDO GARCIA TIRADO                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641621 EDUARDO GONZALEZ                            PO BOX 1791                                                                                                     SAN JUAN            PR           00936

   641622 EDUARDO GONZALEZ BENITEZ                    URB VILLA FONTANA             3PN15 VIA 68                                                                      CAROLINA            PR           00983‐4652



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  641624 EDUARDO GONZALEZ DAVILA                      CAMPO RICO                HC 1 BOX 6832                                                                      CANOVANAS         PR           00729

   148303 EDUARDO GONZALEZ DEL RIO                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   148304 EDUARDO GONZALEZ FIOL                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   641625 EDUARDO GONZALEZ GONZALEZ VILLA CAPARRA 21 A                          CALLE H                                                                            GUAYNABO          PR           00966
   641626 EDUARDO GONZALEZ INC      PO BOX 331582                                                                                                                  PONCE             PR           00733

   641627 EDUARDO GONZALEZ MARQUEZ URB EXT ALTURAS DE VEGA BAJA QQ 5 CALLE 5                                                                                       VEGA BAJA         PR           00693

   641628 EDUARDO GONZALEZ MARTINEZ F 7 CALLE ALFONSO                                                                                                              CAGUAS            PR           00726

   148305 EDUARDO GONZALEZ MAYSONET REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   148306 EDUARDO GONZALEZ MEDINA                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   641629 EDUARDO GONZALEZ ORTA                       PO BOX 71                                                                                                    HATILLO           PR           00659

   148307 EDUARDO GONZALEZ PUCHALES REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   641483 EDUARDO GONZALEZ RAMIREZ                    HC 02 BOX 300 326                                                                                            CAGUAS            PR           00725
   641630 EDUARDO GONZALEZ RIVERA                     HC 09 BOX 1435                                                                                               PONCE             PR           00731‐9711
   641631 EDUARDO GONZALEZ TIRADO                     HC 30 BOX 36306                                                                                              SAN LORENZO       PR           00754
          EDUARDO GORROCHATEGUI
   148308 VIGOREAUX                                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   641484 EDUARDO GOTAY CALDERON                      HC 2 BOX 14437                                                                                               CAROLINA          PR           00987‐9718
   641635 EDUARDO GRAU GUZMAN                         1403 PARQUE TERRA LINDA                                                                                      TRUJILLO ALTO     PR           00976

   641636 EDUARDO GUADALUPE VAZQUEZ PO BOX 391                                                                                                                     TOA ALTA          PR           00954
   148310 EDUARDO GUERRA            REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   148312 EDUARDO GUTIERREZ LEON    REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   641637 EDUARDO GUZMAN BORRERO                      URB BAYAMON GARDENS       E 39 CALLE 18                                                                      BAYAMON           PR           00957
   641638 EDUARDO GUZMAN CINTRON                      P O BOX 699                                                                                                  VILLALBA          PR           00766

   148313 EDUARDO GUZMAN QUINONES REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   641641 EDUARDO H NEGRON RAMOS  BO PASO SECO                                  309 CALLE 13                                                                       SANTA ISABEL      PR           00757
          EDUARDO HADDOCK/HADDOCK
   641642 BUS                     BARRIADA MARIN                                BZN 31A CALLE CARLOTA                                                              GUAYAMA           PR           00785

   641644 EDUARDO HERNANDEZ COTTO                     HC 5 BOX 62099                                                                                               CAGUAS            PR           00725‐9251
          EDUARDO HERNANDEZ
   641645 DELGADO                                     2623 N 13 ST                                                                                                 FILADELPHIA       PA           19133
          EDUARDO HERNANDEZ
   148316 HERNANDEZ                                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   641646 EDUARDO HERNANDEZ MARIN                     HC 83 BOX 8184                                                                                               VEGA ALTA         PR           00692‐9728
   641648 EDUARDO HERNANDEZ ORTIZ                     PO BOX 190307                                                                                                SAN JUAN          PR           00919‐0307
   641485 EDUARDO HERNANDEZ PEREZ                     BO PALMARITO              HC 3 BOX 13975                                                                     COROZAL           PR           00783
          EDUARDO HERNANDEZ
   148319 QUINONES                                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   641649 EDUARDO HERNANDEZ RAMIREZ URB PARQUE DEL RIO                          77 PLAZA TINTILLO                                                                  TRUJILLO ALTO     PR           00986




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   148320 EDUARDO HERNANDEZ ROBLES                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDUARDO HERNANDEZ Y
   148321 MICHELLE L RODRIGUEZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641651 EDUARDO HEYLIGER CARBONEL                   PLAZA ANTILLANA APTO 6804   151 CALLE CESAR GONZALEZ                                                                SAN JUAN            PR           00917

   641652 EDUARDO HUERTAS LAUREANO URB COUNTRY STATES                             C 33 CALLE 4                                                                            BAYAMON             PR           00956

   148322 EDUARDO I ALVAREZ MARTINEZ REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641653 EDUARDO I MARTINEZ RIVERA                   HC 2 BOX 6198               BO BARRANCA                                                                             BARRANQUITAS        PR           00794
   148325 EDUARDO IBARRA ORTEGA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641654 EDUARDO IGLESIA OCASIO                      34 CALLE DE DIEGO                                                                                                   BOQUERON            PR           00622
   641655 EDUARDO IGLESIAS CRUZ                       URB BRISAS DE RIO HONDO     20 CALLE I                                                                              MAYAGUEZ            PR           00680

   148326 EDUARDO IRIZARRY FERNANDEZ REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641656 EDUARDO IRIZARRY MELENDEZ                   BRISAS DE LLANADAS          3 CALLE 2                                                                               BARCELONETA         PR           00617
   148327 EDUARDO IRIZARRY MENDEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641657 EDUARDO IRIZARRY ORTIZ                      NUM 69 BO LA MAQUINA                                                                                                SABANA GRANDE       PR           00637
   641658 EDUARDO IRIZARRY PEREZ                      BO PUEBLO NUEVO             4 CALLE COLEGIO                                                                         SAN SEBASTIAN       PR           00685
   641659 EDUARDO IRIZARRY RIOS                       P O BOX 13841                                                                                                       SAN JUAN            PR           00908

   641660 EDUARDO J ALEGRIA RIVERA                    EL VEDADO                   204 CALLE ALMIRANTE PINZON                                                              SAN JUAN            PR           00918
          EDUARDO J ARREDONDO
   148330 VICIEDO                                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641663 EDUARDO J CONDE RIVERA                      BRISAS DEL MAR              ED 9 CALLE E2                                                                           LUQUILLO            PR           00773

   641664 EDUARDO J CRIADO VALDIVIESO URB EL ALAMO                                E24 CALLE GUADALUPE                                                                     GUAYNABO            PR           00969

   641665 EDUARDO J CUEVAS GONZALEZ                   P O BOX 364646                                                                                                      SAN JUAN            PR           00936
   641666 EDUARDO J DOBEK BARREIRO                    URB RIO HONDO               2 A6 18 CALLE RIO HERRERA                                                               BAYAMON             PR           00961

   148331 EDUARDO J FRANCO SANCHEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148332 EDUARDO J HIDALGO SANTIAGO REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641667 EDUARDO J MANDRY MERCADO PO BOX 560400                                                                                                                          GUAYANILLA          PR           00656

   641669 EDUARDO J MARTINEZ GARCIA                   PO BOX 9020192                                                                                                      SAN JUAN            PR           00902‐0192

   148333 EDUARDO J MAYORAL GARCIA                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDUARDO J MEDINA DE LA
   641670 BAUME                                       P O BOX 11576                                                                                                       SAN JUAN            PR           00910

   641671 EDUARDO J MONTERO HONNESS PO BOX 9021112                                                                                                                        SAN JUAN            PR           00902
   148334 EDUARDO J MUNOZ MEDINA    REDACTED                      REDACTED                                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                    VILLAS DE SAN FRANCISCO APT A
   641672 EDUARDO J NEGRON MENDEZ   11                                                                                                                                    SAN JUAN            PR           00927
   148336 EDUARDO J ORTIZ COLLAZO   REDACTED                      REDACTED                                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148337 EDUARDO J ORTIZ OLAN      REDACTED                      REDACTED                                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148338 EDUARDO J PADILLA MUNIZ   REDACTED                      REDACTED                                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   641673 EDUARDO J PALERM GINORIO                    471 CALLE SAGRADO CORAZON                                                                                     SAN JUAN            PR           00915
   641674 EDUARDO J RAMOS                             P O BOX 40256                                                                                                 SAN JUAN            PR           00940‐0256
   148339 EDUARDO J RESTO LUCIANO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148340 EDUARDO J REYES SANTIAGO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641675 EDUARDO J RIVERA ALVARADO                   URB VILLA CAROLINA          112‐10 CALLE 78                                                                   CAROLINA            PR           00985

   148341 EDUARDO J RIVERA CUADRADO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148343 EDUARDO J ROBERT RIVERA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148344 EDUARDO J RODRIGUEZ LOPEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDUARDO J RODRIGUEZ
   148345 SANTIAGO                                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641676 EDUARDO J ROLON BONILLA                     MONTE SUR APT B 129                                                                                           SAN JUAN            PR           00918
   148346 EDUARDO J ROSADO OCASIO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148347 EDUARDO J SANCHEZ GARCIA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148348 EDUARDO J SANTIAGO MONTES REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148349 EDUARDO J SANTIAGO PARRILLA REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641677 EDUARDO J SINZ              PO BOX 29729                                                                                                                  SAN JUAN            PR           00929

   641678 EDUARDO J TORRES MARTINEZ                   HC 04 BOX 14297                                                                                               ARECIBO             PR           00612

   148350 EDUARDO J TORRES RODRIGUEZ                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641486 EDUARDO J TORRES TORRES                     PO BOX 420279               ROOSEVELT ROADS                                                                   CEIBA               PR           00742
   641681 EDUARDO J VEGA ARIVALO                      URB VALLE REAL              1766 C/ MARQUESA                                                                  PONCE               PR           00716
   148351 EDUARDO J VINAS NEGRON                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148352 EDUARDO J. CORDERO TORRES                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148353 EDUARDO J. GONZALEZ BONILLA REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148354 EDUARDO J. HERNANDEZ PONS                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641683 EDUARDO JANER MELENDEZ                      COND MAR DE ISLA VERDE      APT 8‐Q                                                                           CAROLINA            PR           00979
          EDUARDO JAVIER MORALES
   148355 VICENTE                                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148356 EDUARDO JIMENEZ CORTES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148357 EDUARDO JIMENEZ MATTA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641684 EDUARDO JIMENEZ PEREZ                       P O BOX 396                                                                                                   AGUADILLA           PR           00605

   641686 EDUARDO JOSE AYALA COTTO                    4TA SECC LEVITTOWN          AN 58 CALLE LYDIA                                                                 TOA BAJA            PR           00949
          EDUARDO JOSE RODRIGUEZ
   148358 RODRIGUEZ                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641688 EDUARDO JR MENDEZ ACEVEDO                   HC 1 BOX 7123                                                                                                 MOCA                PR           00676
   641689 EDUARDO KILDARE DE LEON                     P O BOX 30566                                                                                                 SAN JUAN            PR           00929‐1566
          EDUARDO L ARRUFAT RONDO/
   148359 EDUARDO ARRUFAT                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148360 EDUARDO L BURGOS RIVERA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDUARDO L COLLAZO
   148361 ALEJANDRO                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          EDUARDO L FIGUEROA
   148362 RODRIGUEZ                                   REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641691 EDUARDO L FLECHA MARTINEZ                   PO BOX 8652                                                                                                            HUMACAO             PR           00792
          EDUARDO L GARCIA
   148363 COSCULLUELA                                 REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148364 EDUARDO L HERNANDEZ LOPEZ                   REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDUARDO L JARAMILLO
   641692 VELAZQUEZ                                   REP METROPOLITANO              1010 CALLE 21 SE                                                                        SAN JUAN            PR           00921

   148365 EDUARDO L MENDEZ MENDEZ                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641487 EDUARDO L PEREZ RODRIGUEZ                   URB ALTURAS DE RIO BAYAMON K 2 CALLE 6                                                                                 BAYAMON             PR           00959‐8902

   148366 EDUARDO L QUINONES RAMOS                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148367 EDUARDO L SERRANO TORRES                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148368 EDUARDO LANDRÓN SILVA                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148369 EDUARDO LANZO FIGUEROA                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641695 EDUARDO LAUREANO LOPEZ                      RR 01 BOX 12919                                                                                                        TOA ALTA            PR           00953‐9729

   148370 EDUARDO LAUREANO MARTINEZ REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641696 EDUARDO LEON RODRIGUEZ    BOX 3688                                                                                                                                 BAYAMON             PR           00958
   641697 EDUARDO LEVY              URB SIERRA BAYAMON                               68 18 CALLE 60                                                                          BAYAMON             PR           00961
          EDUARDO LLAURADO
   148371 VIZCARRONDO               REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148372 EDUARDO LOPEZ AYALA       REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148373 EDUARDO LOPEZ AYUSO       REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                     1717 AVE PONCE DE LEON APT
   641698 EDUARDO LOPEZ DE VICTORIA                   COND PLAZA INMACULADA 1        1804                                                                                    SAN JUAN            PR           00909‐1923
   641700 EDUARDO LOPEZ FELICIANO                     HC 58 BOX 8306                                                                                                         AGUADA              PR           00602

   641701 EDUARDO LOPEZ HERNANDEZ                     COND ALTOS DE LA COLINA        APTO 105 CARR 842                                                                       SAN JUAN            PR           00926

   641702 EDUARDO LOPEZ MUNOZ                         URB GRAN VISTA II 56 PLAZA 6                                                                                           GURABO              PR           00778
   641704 EDUARDO LOPEZ RIVERA                        PO BOX 14                                                                                                              SAN SEBASTIAN       PR           00685
   148374 EDUARDO LOPEZ SERRANO                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641705 EDUARDO LUCIANO MALAVE                      HC 07 BOX 32762                                                                                                        HATILLO             PR           00659
   641706 EDUARDO LUGO HERNANDEZ                      HC 02 BOX 8021                                                                                                         QUEBRADILLAS        PR           00678
   641707 EDUARDO LUGO MARTINEZ                       124 CALLE LUNA                                                                                                         SAN GERMAN          PR           00683
   641708 EDUARDO LUGO RESTO                          URB MARTORELL                  G4 CALLE JOSE DE DIEGO                                                                  DORADO              PR           00646
   641709 EDUARDO LUGO TRACHE                         ALTURAS DE RIO GRANDE          B 82 CALLE 2                                                                            RIO GRANDE          PR           00745
          EDUARDO LUIS RODRIGUEZ
   148375 RAMOS                                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148376 EDUARDO LUNA GONZALEZ                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641710 EDUARDO LUNA SANTIAGO                       HC 4 BOX 48744                                                                                                         CAGUAS              PR           00725

   148377 EDUARDO M ARROYO & ASSOC                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148378 EDUARDO M CRUZ ROSADO                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148379 EDUARDO M FLORES COLLAZO                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          EDUARDO M MACHADO / ROSA
   641711 A ALICEA                                    P O BOX 79045                                                                                            CAROLINA            PR           00984‐9045
          EDUARDO M MERCADO
   641712 RODRIGUEZ                                   URB FARVIEW 731        CALLE MARTIN GUILUZ                                                               SAN JUAN            PR           00926

   148380 EDUARDO M QUINONES RAMOS                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDUARDO M TOBAJA DBA
   148382 ADVANCE TECHNOLOGY                          BMS 333                PO BOX 607061                                                                     BAYAMON             PR           00960
   641713 EDUARDO M VERAY LOPEZ                       VALLE VERDE            AQ 22 RIO SONADORA                                                                BAYAMON             PR           00961
          EDUARDO M. RODRIGUEZ
   148383 MOLINA                                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641714 EDUARDO MAISONET GONZALEZ PO BOX 818                                                                                                                 CAMUY               PR           00627
   148384 EDUARDO MAIZ ACEVEDO      REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148385 EDUARDO MALAVE APONTE     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641715 EDUARDO MALDONADO         RR 4 BOX 27133                                                                                                             TOA ALTA            PR           00953‐9420

   148386 EDUARDO MALDONADO CRESPO REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148387 EDUARDO MALDONADO DAVILA REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDUARDO MALDONADO
   148388 MALDONADO                REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641716 EDUARDO MALDONADO RAMOS HC 02 BOX 12143                                                                                                              AGUAS BUENAS        PR           00703

   148389 EDUARDO MALDONADO RIVERA REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148390 EDUARDO MALDONADO RUIZ   REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641718 EDUARDO MARITINEZ TORRES                    HC 1 BOX 2866                                                                                            MOROVIS             PR           00687
   148391 EDUARDO MARQUEZ SANTOS                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641719 EDUARDO MARRERO ORTIZ                       SAN JOSE               228 CALLE COMILLA                                                                 SAN JUAN            PR           00923

   148393 EDUARDO MARRERO SANTIAGO REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148394 EDUARDO MARTI DELGADO    REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148395 EDUARDO MARTI MARTINEZ   REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148396 EDUARDO MARTINEZ CORREA                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148397 EDUARDO MARTINEZ CRUZ                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148398 EDUARDO MARTINEZ DEL VALLE                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDUARDO MARTINEZ
   641720 GUADALUPE                                   PO BOX 29488           AVE 65 INFANTERIA                                                                 SAN JUAN            PR           00929‐0488
   148399 EDUARDO MARTINEZ PRADO                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148400 EDUARDO MARTINEZ RIVERA                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148401 EDUARDO MARTINEZ SANTIAGO REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148402 EDUARDO MARTINO MORALES                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148403 EDUARDO MATIAS CORTES                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641723 EDUARDO MATOS DIAZ                          BARRIADA ARRIBA        CALLE 174 CG 16                                                                   CAROLINA            PR           00983

   148404 EDUARDO MATOS HERNANDEZ                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   641724 EDUARDO MATOS MOCTEZUMA                     P O BOX 9066581                                                                                                         SAN JUAN            PR           00906‐6581
   641726 EDUARDO MATOS SERRANO                       URB UNIVESITY GARDENS         258 CALLE FRDHM                                                                           SAN JUAN            PR           00927
   148405 EDUARDO MEDINA SANCHEZ                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641728 EDUARDO MELENDEZ ORTIZ                      BOX 4909                                                                                                                SALINAS             PR           00751
          EDUARDO MELENDEZ
   148406 RODRIGUEZ                                   REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148407 EDUARDO MELENDEZ TORRES                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148408 EDUARDO MENDEZ MEJIAS                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641730 EDUARDO MENDEZ VARGAS                       BOX 1184                                                                                                                UTUADO              PR           00641

   148409 EDUARDO MENDOZA CANUELAS REDACTED                                         REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDUARDO MIGUEL QUESTELL
   641731 LUGO                     PO BOX 9021112                                                                                                                             SAN JUAN            PR           00902‐1112
   641733 EDUARDO MILLAN VARGAS    HC 6 BOX 4382                                                                                                                              COTTO LAUREL        PR           00780‐9505

   148411 EDUARDO MIRABAL RODRIGUEZ REDACTED                                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641734 EDUARDO MIRANDA RODRIGUEZ HC 3 BOX 16017                                                                                                                            JUANA DIAZ          PR           00795

   641735 EDUARDO MIRANDA SAAVEDRA EXT FOREST HILLS                                 H125 CALLE ATENAS                                                                         BAYAMON             PR           00959‐5603
   148412 EDUARDO MIRANDA TIRADO   REDACTED                                         REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641736 EDUARDO MOJICA LEBRON    LAS MONJAS 113                                   CALLE 4                                                                                   SAN JUAN            PR           00909

   641737 EDUARDO MOLINA MONTERO                      TOAVILLE                      16 CALLE SOL                                                                              TOA BAJA            PR           00949
   641738 EDUARDO MOLINA ROBLES                       11 CALLE VICENS                                                                                                         JAYUYA              PR           00664

   641739 EDUARDO MOLINA RODRIGUEZ                    PO BOX 238                                                                                                              NARANJITO           PR           00719
   148413 EDUARDO MOLINA SANTIAGO                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDUARDO MOLINARI &
   641740 ASOCIADOS                                   PO BOX 191943                                                                                                           SAN JUAN            PR           00919‐1943
   641741 EDUARDO MOLINAS RAMOS                       HC 6 BOX 71713                                                                                                          CAGUAS              PR           00725
   641742 EDUARDO MONAGAS                             ALTURAS DE MAYAGUEZ           926 TORRECILLAS                                                                           MAYAGUEZ            PR           00680

   641743 EDUARDO MONTES RODRIGUEZ                    BRISAS DE RIO HONDO           47 CALLE I                                                                                MAYAGUEZ            PR           00680
   148414 EDUARDO MORALES AGUIAR                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148415 EDUARDO MORALES CRESPO                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148416 EDUARDO MORALES CRUZ                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641745 EDUARDO MORALES FONTANEZ                    HC 01 BOX 11556                                                                                                         SAN SEBASTIAN       PR           00685
   148417 Eduardo Morales Lebrón                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641746 EDUARDO MORALES NIEVES                      PO BOX 54                                                                                                               NARANJITO           PR           00719
   148418 EDUARDO MORALES RIVERA                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641747 EDUARDO MORALES RODRIGUEZ LAS LOMAS                                       825 CALLE 47 SO                                                                           SAN JUAN            PR           00921

   641749 EDUARDO MORALES SOTO                        COND GOLDEN BEACH             3511 AVE ISLA VERDE APTO 203                                                              CAROLINA            PR           00979
   148419 EDUARDO MORALEZ CRUZ                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641750 EDUARDO MORAS                               1752 MC LEARY NUM 8                                                                                                     SAN JUAN            PR           00911
                                                      158 JOSE DE DIEGO AVE SUITE
   641751 EDUARDO MOREDA CABAN                        102                                                                                                                     ARECIBO             PR           00612




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   148421 EDUARDO N GARCIA ESCOBAR                    REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641752 EDUARDO NATAL MEDINA                        URB SIERRA BAYAMON              79 2 CALLE 67                                                                        GUAYNABO            PR           00971
   641753 EDUARDO NEGRON COTTO                        VAS SCOY                        AB 19 B CALLE 3                                                                      BAYAMON             PR           00957
          EDUARDO NIEVES & NOEMI
   641755 AGUILAR                                     RIO GRANDE ESTATE               25 J AVE B                                                                           RIO GRANDE          PR           00745

   641756 EDUARDO NIEVES ACEVEDO                      BO HATO NUEVO SECT PATILLA      CARR 173 K 5 H 3                                                                     GUAYNABO            PR           00971
   641758 EDUARDO NIEVES MACHUCA                      URB SANTA JUANITA               WN 11 CALLE PALES MATOS                                                              BAYAMON             PR           00956
   641759 EDUARDO NIEVES MORALES                      119 CALLE ANDRES VELEZ                                                                                               ISABELA             PR           00662

   641760 EDUARDO NOGUERA VAZQUEZ                     RES ZENO GANDIA                 EDIF A 5 APT 58                                                                      ARECIBO             PR           00612

   641761 EDUARDO NOGUERAS GONZALEZ PO BOX 62                                                                                                                              CAYEY               PR           00737
   148422 EDUARDO NORIEGA ORTIZ     REDACTED                                          REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148423 EDUARDO O JIMENEZ IGLESIAS                  REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148424 EDUARDO O SANTIAGO VALDES                   REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641762 EDUARDO OCASIO VARGAS                       REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641763 EDUARDO OLIVER POLANCO                      406 CALLE BOLIVAR PDA 24                                                                                             SAN JUAN            PR           00912
   641764 EDUARDO OLIVERA FONSECA                     21 CALLE ANTONIO LOPEZ                                                                                               TOA ALTA            PR           00953
          EDUARDO OMAR CANTORE
   641766 SALDI                                       118 URB JARDINES DEL CARIBE 1                                                                                        PONCE               PR           00731
   641767 EDUARDO ORENGO COSTA                        HC 20 BOX 21149                                                                                                      SAN LORENZO         PR           00754
   641768 EDUARDO ORTA IRIZARRY                       HC 04 BOX 42535                                                                                                      AGUADILLA           PR           00603
   641770 EDUARDO ORTIZ DECLET                        URB EL ALAMO                    F1 CALLE ALAMO DRIVE                                                                 GUAYNABO            PR           00969
   148425 EDUARDO ORTIZ DEL VALLE                     REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641771 EDUARDO ORTIZ IRIZARRY                      BOX 1441                                                                                                             JUANA DIAZ          PR           00795
   148426 EDUARDO ORTIZ QUINONES                      REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148427 EDUARDO ORTIZ RIVERA                        REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641774 EDUARDO ORTIZ YEYE                          PO BOX 574                                                                                                           GUAYAMA             PR           00784
   148428 EDUARDO OSUBA GUERRA                        REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641776 EDUARDO P TABOAS PEREZ                      138 AVE WINSTON CHURCHILL                                                                                            SAN JUAN            PR           00918‐8057
   148429 EDUARDO PADILLA ROSARIO                     REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148430 EDUARDO PAGAN PAGAN                         REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641778 EDUARDO PAGAN PANTOJA                       PO BOX 9021112                                                                                                       SAN JUAN            PR           00902‐1112

   148431 EDUARDO PAGAN RODRIGUEZ                     REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148432 EDUARDO PALAU INGLES                        REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641779 EDUARDO PALMER RINCON                       PO BOX 9091                                                                                                          SAN JUAN            PR           00908
   148433 EDUARDO PARDO SOTO                          REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148434 EDUARDO PEDRAZA VELAZQUEZ                   REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641781 EDUARDO PEREZ                               802 EDIF PARRAS                                                                                                      PONCE               PR           00731
   148435 EDUARDO PEREZ CACHO                         REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641782 EDUARDO PEREZ COLON                         BO MAGA ARRIBA                  HC 01 BOX 6222                                                                       GUAYANILLA          PR           00656
   641783 EDUARDO PEREZ CRUZ                          HC 1 BOX 4823                                                                                                        BAJADERO            PR           00616
   641784 EDUARDO PEREZ HERNANDEZ                     PO BOX 7126                                                                                                          PONCE               PR           00732
   148436 EDUARDO PEREZ LOPEZ                         REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148437 EDUARDO PEREZ OJEDA                         REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148438 EDUARDO PEREZ RIVERA                        REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  148439 EDUARDO PINEDA CASTELLVI                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   148440 EDUARDO PORTALATIN AYALA                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   641790 EDUARDO PROSPER PEREZ                       HC 7 BOX 26372                                                                                                      MAYAGUEZ            PR         00680
          EDUARDO PUIG CASERRO DBA
   641791 POTRERO ZAINO                               ESQUINA URUGUAY               48 CALLE PEPE DIAZ                                                                    SAN JUAN            PR         00918
          EDUARDO QUINONES
   148443 HERNANDEZ                                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148445 EDUARDO QUINONES JUARBE                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148447 EDUARDO QUINONEZ GARCIA                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDUARDO QUINONEZ
   148448 HERNANDEZ                                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDUARDO R ESTADES
   148449 RODRIGUEZ                                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   641796 EDUARDO R FARIA RODRIGUEZ                   6 PARKSIDE                                                                                                          GUAYNABO            PR         00968
   148450 EDUARDO R FELIU VARELA                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   148451 EDUARDO R JENKS CARBALLEIRA REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   641797 EDUARDO R OLIVERO YESPICA                   PO BOX 11939                                                                                                        SAN JUAN            PR         00922‐1939
   148452 EDUARDO R ORTIZ RIVERA                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148453 EDUARDO R PEREZ                             REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148455 EDUARDO R ROSADO RIVERA                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   641799 EDUARDO R TEXIDOR SANCHEZ                   PO BOX 9021112                                                                                                      SAN JUAN            PR         00902‐1112

   148459 EDUARDO R. RUIZ HERNANDEZ                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148460 EDUARDO RAMIREZ BAREA                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDUARDO RAMIREZ DE
   148461 ARELLANO                                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   641800 EDUARDO RAMIREZ FLORES                      PO BOX 2923                                                                                                         GUAYNABO            PR         00970
   641801 EDUARDO RAMIREZ LAZARDI                     PO BOX 70184                                                                                                        SAN JUAN            PR         00936‐8184

   641802 EDUARDO RAMIREZ SANTIAGO                    PO BOX 3243                                                                                                         MAYAGUEZ            PR         00681
   641803 EDUARDO RAMOS ACEVEDO                       HC 56 BOX 5025                                                                                                      AGUADA              PR         00602
   148462 EDUARDO RAMOS CORTES                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148464 EDUARDO RAMOS VERA                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148465 EDUARDO RAUL DIAZ DELUCA                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   641806 EDUARDO RELLO NEGRON                        BO CUBA LIBRE SECT RAMOS 30                                                                                         COROZAL             PR         00783
   641807 EDUARDO RESTO CRUZ                          URB SANTA ROSA                E 18 CALLE NEISY                                                                      CAGUAS              PR         00725
   641808 EDUARDO RIOS DEL VALLE                      JARD DE SALINAS               130 CALLE JULIO MARTINEZ                                                              SALINAS             PR         00751
   148466 EDUARDO RIOS MORALES                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      BARRIO CAMPO ALEGRE 62
   641809 EDUARDO RIOS SANCHEZ                        SUITE 3                                                                                                             MANATI              PR         00674
   148468 EDUARDO RIOS TORRES                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   641810 EDUARDO RIOS VELAZQUEZ                      P O BOX 76                                                                                                          LAS MARIAS          PR         00670
   641811 EDUARDO RIVADENEIRA                         373 CALLE LAS FLORES                                                                                                SAN JUAN            PR         00914
   148469 EDUARDO RIVERA                              REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   641812 EDUARDO RIVERA AGUIRRE                      BDA FELICIA                   73 CALLE 2                                                                            SANTA ISABEL        PR         00757
   148470 EDUARDO RIVERA CRUZ                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   641813 EDUARDO RIVERA GABRIEL                      PO BOX 30                                                                                                           GARROCHALES         PR         00652



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  641816 EDUARDO RIVERA MULERO                        URB VERSALLES             D 25 CALLE 4                                                                        BAYAMON              PR         00959
  148471 EDUARDO RIVERA OLIVIERI                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  641819 EDUARDO RIVERA PEREZ                         PO BOX 9021112                                                                                                SAN JUAN             PR         00902‐1112
  148472 EDUARDO RIVERA QUILES                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  148475 EDUARDO RIVERA RAMIREZ                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  148476 EDUARDO RIVERA REYES                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  148477 EDUARDO RIVERA RIVERA                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   148478 EDUARDO RIVERA RODRIGUEZ                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   641823 EDUARDO RIVERA SANCHEZ                      RR 2 BOX 732‐A                                                                                                SAN JUAN             PR         00926
   641824 EDUARDO RIVERA SANTALIZ                     P O BOX 1899                                                                                                  SAN GERMAN           PR         00683‐1899
   148480 EDUARDO RIVERA SANTOS                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   641826 EDUARDO ROBLES CRUZ                         HC 01 BOX 11500                                                                                               ARECIBO              PR         00612

   148481 EDUARDO ROBLES RODRIGUEZ                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   148482 EDUARDO RODRIGUEZ                           REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   641488 EDUARDO RODRIGUEZ ACEVEDO URB LOMAS DE CAROLINA                       R 21 CALLE CERRO CHICO                                                              CAROLINA             PR         00987

   148483 EDUARDO RODRIGUEZ ANDINO                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   148484 EDUARDO RODRIGUEZ ATILES                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   641828 EDUARDO RODRIGUEZ BALINES                   URB LA PONDEROSA          C 79 CALLE 2                                                                        VEGA ALTA            PR         00692
          EDUARDO RODRIGUEZ
   148485 BONAFOUX                                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          EDUARDO RODRIGUEZ
   148487 FIGUEROA                                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   641832 EDUARDO RODRIGUEZ FRANCO                    H C 02 BOX 12739                                                                                              GURABO               PR         00778

   641833 EDUARDO RODRIGUEZ GOMEZ                     RES ENUDIO NEGRON         1 APT 13                                                                            VILLALBA             PR         00766
          EDUARDO RODRIGUEZ
   641834 GONZALEZ                                    BO JAJOME ALTO            CARR 15 KM 14.5                                                                     CAYEY                PR         00736

   641837 EDUARDO RODRIGUEZ LINARES                   P O BOX 1351                                                                                                  CABO ROJO            PR         00623
          EDUARDO RODRIGUEZ
   641838 MARTINEZ                                    PO BOX 1277                                                                                                   YAUCO                PR         00698
   641840 EDUARDO RODRIGUEZ PLAZA                     P O BOX 7309                                                                                                  MAYAGUEZ             PR         00681 7309

   641841 EDUARDO RODRIGUEZ RAMOS                     HC 04 BOX 40548                                                                                               MAYAGUEZ             PR         00680
   641842 EDUARDO RODRIGUEZ RIOS                      BOX 5700                                                                                                      LAS MARIAS           PR         00670

   641843 EDUARDO RODRIGUEZ RIVERA                    SAN PEDRO ESTATES         B 10 CALLE SAN PEDRO                                                                CAGUAS               PR         00725
          EDUARDO RODRIGUEZ
   641844 RODRIGUEZ                                   PMB 845 PO BOX 2500‐845                                                                                       TOA BAJA             PR         00951

   641845 EDUARDO RODRIGUEZ SANCHEZ 5597 NORTHCREEK AVE                                                                                                             PORTAGE              IN         46368

   148488 EDUARDO RODRIGUEZ TRINIDAD REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   148489 EDUARDO ROMAN BERRIOS      REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   148490 EDUARDO ROMAN MELENDEZ                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED




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   641846 EDUARDO ROMAN RODRIGUEZ                     URB SANTA TERESITA         T 19 CALLE 17                                                                            BAYAMON              PR           00961
   148491 EDUARDO ROMAN ROSADO                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   641847 EDUARDO RONDO PEREZ                         URB LAS LOMAS              1739 CALLE 6 S O                                                                         SAN JUAN             PR           00921
   641848 EDUARDO ROSA ARCE                           PO BOX 59003 SUITE 82                                                                                               HATILLO              PR           00659

   641850 EDUARDO ROSADO                              URB CAROLINA ALTA          C 16 CALLE MILAGROS CABEZA                                                               CAROLINA             PR           00987
   148493 EDUARDO ROSADO CABRERA                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   641852 EDUARDO ROSADO GUZMAN                       URB TOA ALTA HEIGHTS       AS 18 CALLE 35                                                                           TOA ALTA             PR           00953

   641853 EDUARDO ROSADO RODRIGUEZ                    PMB 40                     P O BOX 6022                                                                             CAROLINA             PR           00984‐6022
   148494 EDUARDO ROSADO RONDON                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   148495 EDUARDO ROSADO VEGA                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   641855 EDUARDO ROSARIO NIEVES                      VILLA CAROLINA             204 30 CALLE 513                                                                         CAROLINA             PR           00985
   641856 EDUARDO ROSARIO PADILLA                     P O BOX 560731                                                                                                      GUAYANILLA           PR           00656
   148496 EDUARDO ROSARIO TORRES                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   148498 EDUARDO ROURE BLASCO                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   641857 EDUARDO RUBIO GIL DE RUBIO                  URB MANSIONES REALES       F2 CALLE FELIPE                                                                          GUAYNABO             PR           00969
          EDUARDO RUISANCHEZ
   641858 VAZQUEZ                                     METROPOLIS                 B 43 CALLE 11                                                                            CAROLINA             PR           00987
   148499 EDUARDO RUIZ CONCEPCION                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   641859 EDUARDO RUIZ CRESPO                         HC 1 BOX 5233                                                                                                       SABANA HOYOS         PR           00688
   148500 EDUARDO RUIZ PINEDA                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   641861 EDUARDO RUIZ SOTO                           P O BOX 895                                                                                                         AGUADILLA            PR           00605

   641863 EDUARDO SALGADO MARTINEZ                    VILLA CAROLINA             119‐5 CALLE 67                                                                           CAROLINA             PR           00985
   641864 EDUARDO SALGADO ORTIZ                       PO BOX 30000                                                                                                        CANOVANAS            PR           00745
   148502 EDUARDO SANABRIA ARIAS                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   148503 EDUARDO SANABRIA RODRIGUEZ REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   641865 EDUARDO SANCHEZ            P O BOX 716                                                                                                                          VEGA ALTA            PR           00692‐0716
   641866 EDUARDO SANCHEZ CLAUDIO    RES LAS GLADIOLAS                           EDIF 300 APTO 1011                                                                       SAN JUAN             PR           00917
   641869 EDUARDO SANCHEZ GRACIA     BO PITAHAYA CARR 753                                                                                                                 ARROYO               PR           00714

   641870 EDUARDO SANCHEZ SANTIAGO                    COND PATIOS SEVILLANOS     J 302 BZN 2137                                                                           TRUJILLO ALTO        PR           00976
   641489 EDUARDO SANTA RODRIGUEZ                     PO BOX 162                                                                                                          GURABO               PR           00778‐0462
   641871 EDUARDO SANTIAGO                            FERNANDEZ JUNCOS STATION   PO BOX 19175                                                                             SAN JUAN             PR           00910
          EDUARDO SANTIAGO
   148504 CAMARENO                                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   641872 EDUARDO SANTIAGO COLON                      URB ALT DE VILLALBA        E 54 CALLE MODESTO MELENDEZ                                                              VILLALBA             PR           00766
   641873 EDUARDO SANTIAGO MARINI                     P O BOX 116                                                                                                         YAUCO                PR           00698‐0116

   148505 EDUARDO SANTIAGO MARTINEZ REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   148506 EDUARDO SANTIAGO ORTIZ    REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   148508 EDUARDO SANTIAGO RONDON                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   641875 EDUARDO SANTIAGO ROSA                       URB ALTAMIRA               513 CALLE SIRIO                                                                          SAN JUAN             PR           00920

   641876 EDUARDO SANTIAGO SANCHEZ                    URB ROYAL                  K 4 CALLE AMALIA                                                                         BAYAMON              PR           00957

   641877 EDUARDO SANTIAGO SANTANA                    PO BOX 605                                                                                                          GUAYNABO             PR           00907



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  148509 EDUARDO SANTIAGO SOTO                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  148510 EDUARDO SANTIAGO VEGA                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  148512 EDUARDO SANTOS VEGA                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  148513 EDUARDO SAURI SANTIAGO                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  641878 EDUARDO SEGARRA                              URB SANTA ANA           N9 CALLE 9                                                                             VEGA ALTA            PR         00692
  148514 EDUARDO SEGARRA PEREZ                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   148515 EDUARDO SEMIDEY VELAZQUEZ                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   148516 EDUARDO SEPULVEDA CRUZ                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   148517 EDUARDO SERRANO CHACON                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   641881 EDUARDO SOSA CARTAGENA                      HC 02 BOX 34693                                                                                                CAGUAS               PR         00725‐9420
   641885 EDUARDO SOSA COSME                          URB ALT DEL ALBA        10706 CALLE LUNA                                                                       VILLALBA             PR         00766
   148522 EDUARDO SOTO COLLAZO                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   641886 EDUARDO SOTO MEDINA                         URB VIERA               420 CALLE SAN JOSE                                                                     FAJARDO              PR         00738
   641887 EDUARDO SUAREZ GRACIA                       HC 2 BOX 31818                                                                                                 CAGUAS               PR         00727‐9410

   148525 EDUARDO SUAREZ NAPOLITANO REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                                              670 AVE PONCE DE LEON APT
   641888 EDUARDO T ALVAREZ AGUIRRE                   COND CARIBBEAN TOWERS   619                                                                                    SAN JUAN             PR         00907

   148527 EDUARDO T ARRIETA IGARTUA                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   148529 EDUARDO T DELGADO GARCIA                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   148530 EDUARDO TALAVERA GARCIA                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   148531 EDUARDO TAMARGO MOTRONI                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   148534 EDUARDO TANON MOLINA                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   641890 EDUARDO TAPIA MARTINEZ                      SANTA ANA               A 20 CALLE 8                                                                           VEGA ALTA            PR         00692
   148535 EDUARDO TORRACA ROCHE                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   641892 EDUARDO TORRES BONILLA                      PO BOX 20581                                                                                                   SAN JUAN             PR         00928
   641895 EDUARDO TORRES DECOS                        URB ROMANY GARDENS      B 12 CALLE SANTA ROSA                                                                  SAN JUAN             PR         00926
   641897 EDUARDO TORRES GARCIA                       BARRIO OBRERO           2364 CALLE GUANO                                                                       SAN JUAN             PR         00915
   148536 EDUARDO TORRES GONZALEZ                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   641898 EDUARDO TORRES MEDINA                       HC 2 BOX 9412                                                                                                  OROCOVIS             PR         00720‐9499

   148537 EDUARDO TORRES MELENDEZ                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   641900 EDUARDO TORRES OTERO                        P O BOX 910                                                                                                    ARECIBO              PR         00688
   641901 EDUARDO TORRES RIOS                         15B ELIAS BARBOSA                                                                                              COTO LAUREL          PR         00780
   148539 EDUARDO TORRES SANTIAGO                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   148540 EDUARDO TORRES TORRES                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   641902 EDUARDO TORRES VARGAS                       SANTA ELENA             I 2 CALLE 1                                                                            GUAYANILLA           PR         00656

   641903 EDUARDO TOSADO RODRIGUEZ                    P O BOX 30007                                                                                                  SAN JUAN             PR         00929
          EDUARDO TREMOLS BENITEZ
   148542 DBA TRUCK CENTER                            PO BOX 191992                                                                                                  SAN JUAN             PR         00919‐1992
          EDUARDO TRULLENQUE
   148543 FERNANDEZ                                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   641905 EDUARDO UMPIERRE VELA                       CIUDAD JARDIN 3         75 CALLE SAUCO                                                                         TOA ALTA             PR         00953 4863
   770467 EDUARDO V HILERA FUENTES                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   641906 EDUARDO VACHIER COLMENERO MANS ROMANI                               A 8 CALLE SIERRA LINDA                                                                 SAN JUAN             PR         00926
   148546 EDUARDO VALE VALE         REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED




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   148547 EDUARDO VALENTIN CRUZADO                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641909 EDUARDO VARGAS                              P O BOX 1844                                                                                             TOA ALTA            PR           00949
   641910 EDUARDO VARGAS ANDUJAR                      HC 06 BOX 4485                                                                                           COTO LAUREL         PR           00780
   641911 EDUARDO VARGAS DIAZ                         1716 NORTH EAST        4 TH PLACE                                                                        CAPE CORAL          FL           33909
   641912 EDUARDO VAZQUEZ BATISTA                     PO BOX 9300654                                                                                           SAN JUAN            PR           00930‐0654
   641913 EDUARDO VAZQUEZ CORREA                      P O BOX 347                                                                                              PONCE               PR           00780‐0347
   641914 EDUARDO VAZQUEZ GARCIA                      HC 01 BOX 16480                                                                                          HUMACAO             PR           00791
   148550 EDUARDO VAZQUEZ LASSEN                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDUARDO VAZQUEZ
   641915 MALDONADO                                   SABANA SECA STATION    PO BOX 168                                                                        SABANA SECA         PR           00952
   641916 EDUARDO VAZQUEZ RAMOS                       P O BOX 1180                                                                                             CANOVANAS           PR           00729
   641917 EDUARDO VAZQUEZ RANCEL                      BDA BLONDET            141 CALLE F                                                                       GUAYAMA             PR           00784

   148551 EDUARDO VAZQUEZ RODRIGUEZ REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148552 EDUARDO VAZQUEZ SANCHEZ                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148553 EDUARDO VAZQUEZ VILANOVA                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   148554 EDUARDO VEGA DELGADO                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED

   641920 EDUARDO VEGUILLA GONZALEZ                   PO BOX 9021112                                                                                           SAN JUAN            PR           00902‐1112
   641921 EDUARDO VELAZQUEZ                           PO BOX 1280                                                                                              BAYAMON             PR           00960

   641922 EDUARDO VELAZQUEZ BURGOS                    BO COLLORES            HC 03 BOX 7143                                                                    HUMACAO             PR           00791

   148556 EDUARDO VELAZQUEZ MORALES REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDUARDO VELAZQUEZ
   148557 SANTIAGO                    REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDUARDO VELEZ DBA VELEZ BUS
   148559 LINE                        CALLE TROCHA FINAL #68                                                                                                   YAUCO               PR           00698
   641923 EDUARDO VELEZ NIEVES        URB LEVITTOWN LAKES                    AG 20 BLD MONROIG                                                                 TOA BAJA            PR           00949
   641480 EDUARDO VELEZ OJEDA         URB PEDREGALES                         76 CALLE ONIX                                                                     RIO GRANDE          PR           00745
   148560 EDUARDO VELEZ PELLICIA      REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641924 EDUARDO VELEZ RIOS          URB VILLA FONTANA                      4 L N 5 CALLE VIA 32                                                              CAROLINA            PR           00983
   148561 EDUARDO VELEZ RODRIGUEZ     REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641925 EDUARDO VELEZ VARGAS        HC 2 BOX 6948                                                                                                            FLORIDA             PR           00650
   148562 EDUARDO VELILLA FOURNIER    REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641927 EDUARDO VICENTY SANTINI     URB COLINAS SAN FRANCISCO              79 CALLE NATALIA                                                                  AIBONITO            PR           00705
   148563 EDUARDO VIDAL SANTIAGO      REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148564 EDUARDO VIERA DIAZ          REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148565 EDUARDO VILLANUEVA MUNOZ                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDUARDO VILLANUEVA
   641929 SERRANO                                     PO BOX 3193                                                                                              GUAYNABO            PR           00970‐3193
   148566 EDUARDO YERO VICENTE                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDUARDO ZAMBRANA
   148567 RODRIGUEZ                                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641930 EDUARDO ZAYAS COLLAZO                       APARTADO 268                                                                                             BARRANQUITAS        PR           00794‐0268
   148568 EDUARDO, ARROYO                             REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDUARDOS CATERING SERVICES
   148569 INC                                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   148570 EDUC ARTE/ THE COMPANY INC CALLE C BLOQUE RS                               EXT VILLA RICA                                                                             BAYAMON              PR           00959
          Educ. Seminars Technology
   148571 Terapy Center              URB. LOS PINOS                                  277 ST. PINO PONDEROSA                                                                     ARECIBO              PR           00612‐5945
          EDUCACION CONSEJERIA SERV
   148572 [ECOS] CORP                HC 02 BOX 5223                                                                                                                             PENUELAS             PR           00624
          EDUCACION FUTURA DERICK
   641931 PEREZ LARA                 URB CAMINO DEL MAR                              6001 VIA PELICANO                                                                          LEVITTOWN            PR           00949
                                     416 AVE PONCE DE LEON SUITE
   641932 EDUCACION INTERACTIVA INC  05                                                                                                                                         SAN JUAN             PR           00918
   148573 EDUCACION JURIDICA INC     229 CALLE JUAN P DUARTE                         SUITE 1B                        URB FLORAL PARK                                            SAN JUAN             PR           00917
                                     TORRIMAR ALTO K‐4 BAMBOO
   148575 EDUCACION JURIDICA, INC.   DRIVE                                                                                                                                      GUAYNABO             PR           00966‐0000

   148576 EDUCADORES DEL NORTE C.R.L.                 VILLAS DE LA PLAYA             CALLE FLAMINGO 172                                                                         VEGA BAJA            PR           00693
          EDUCADORES MARINOS PR
   148577 /LESBIA L MONTERO                           PO BOX 10156                                                                                                              HUMACAO              PR           00792

          EDUCADORES
   148579 PUERTORRIQUENOS EN ACCION                   66 CALLE LA CANDELARIA OESTE                                                                                              MAYAGUEZ             PR           00680
          EDUCADORES
          PUERTORRIQUENOS EN ACCION
   148582 INC                                         AREA DEL TESORO                DIVISION DE PAGADURIA                                                                      SAN JUAN             PR           00936
          EDUCADORES
          PUERTORRIQUEÑOS EN ACCIÓN,
  1419619 INC.                                        FRANCISCO R. GONZÁLEZ          1519 PONCE DE LEÓN SUITE 805                                                               SAN JUAN             PR           00909
          EDUCADORES
          PUERTORRIQUEÑOS EN ACCIÓN,                                                 1519 AVE. PONCE DE LEÓN FIRST
  1419620 INC.                                        FRANCISCO R. GONZALEZ          FEDRAL 805                                                                                 SAN JUAN             PR           00909
          Educadores(as) por la
          Democracia, Unidad, Cambio,
          Militancia y Organización
   148584 Sindical,Inc. (EDUCAMOS)                    Ayala Reyes, Eva L.            PO Box 642                                                                                 Comerio              PR           00782
   148585 EDUCAMOR                                    PO BOX 362399                                                                                                             SAN JUAN             PR           00936‐2399
          EDUCANDO A ENPRENDEDORES
   148586 INC                                         DORADO DEL MAR                 C 33 CALLE MADRE RERTA                                                                     DORADO               PR           00646
  1256431 EDUCARE INC                                 REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   148587 EDUCARE, INC.                               HC 33 BOX 2047                                                                                                            DORADO               PR           00646
   148589 EDUCARIBE, INC.                             PMB 1249 PO BOX 4956                                                                                                      CAGUAS               PR           00726
   148590 EDUCATE ONLINE, INC.                        101 FLEET STREET                                                                                                          BALTIMORE            MD           21202
   148591 EDUCATED INCORPORATED                       PO BOX 1197                                                                                                               GUAYNABO             PR           00970
          EDUCATEVIRTUAL LEARNING
   148592 CENTERS INC                  PO BOX 2000                                   180 PMB                                                                                    MERCEDITA            PR           00715
                                       CARR. #179 KM. 7.0 BO.
   148593 EDUCATION & STRATEGIES, INC. CAMARONES                                                                                                                                GUAYNABO             PR           00969
          EDUCATION COMISSION THE
   641934 STATES                       707 17TH ST STE 2700                                                                                                                     DENVER               CO           80202‐3427
          EDUCATION COMMISSION OF
   641935 THE STATE                    707 17TH STREET                               SUITE 2700                                                                                 DENVER               CO           80202‐3427
          EDUCATION EVALUATION
   641937 TEACHING                     OFICINA SUPTE ESCUELAS                        PO BOX 98                                                                                  AGUADILLA            PR           00605
          EDUCATION FOUNDATION OF
   641938 STATE BANK SUPV              1155 CONNECTICUT AVE                          SUITE 500                                                                                  WASHINGTON DC        WA           20036



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  148595 EDUCATION SCOTLAND                           COND PLAYA GRANDE             CALLE TAFT 1 APT 8 B                                                   SAN JUAN            PR         00911
  641939 EDUCATION WEEK                               PO BOX 2083                                                                                          MARION              OH         43306‐8183
         EDUCATIONAL ADVANCE
  641940 PRODUCTION                                   776 SCHENKEL LN                                                                                      FRANKFORT           KY         40601

   148596 EDUCATIONAL ADVANTAGE INC. QUINTAS DE DORADO                              M 14 CALLE CIPRES                                                      DORADO              PR         00646

          EDUCATIONAL AND
   148597 ORGANIZATION CONSULTANTS                    COND EL CENTRO 1 STE 1003     500 AVE MUNOZ RIVERA                                                   SAN JUAN            PR         00918
          EDUCATIONAL AND                             219 CALLE SAN LORENZO, URB.
   148598 PROFESSIONAL SERVICES, C                    RIO PIEDRAS HEIGHTS                                                                                  SAN JUAN            PR         00926
   148599 EDUCATIONAL ASSOCIATES                      P O BOX 9139                                                                                         HUMACAO             PR         00792
          EDUCATIONAL COMPUTER
   148601 CENTER                                      PLAZA CAROLINA STATION        PO BOX 8728                                                            CAROLINA            PR         00988‐8728
          EDUCATIONAL COMPUTER                        MIRAMAR PLAZA CENTER SUITE
   641943 TECHNOLOGIES                                201                           954 AVE PONCE DE LEON                                                  SAN JUAN            PR         00907
          EDUCATIONAL CONSULTANT
   148602 SERVICES INC                                U P R STA BOX 22211                                                                                  SAN JUAN            PR         00931
          EDUCATIONAL CONSULTANTS                     462 AVE TENIENTE CESAR
   148603 PSC                                         GONZALEZ                                                                                             SAN JUAN            PR         00918
          EDUCATIONAL CULTURAL FOR                    STUDENTS HUMACAOSCHOOL
   148605 ESPACIAL                                    DISTR                         PO BOX 8228                                                            HUMACAO             PR         00792
          EDUCATIONAL DEVELOPMENT
   148606 CENTER INC                                  55 CHAPEL ST                                                                                         NEWTON              MA         02458
          EDUCATIONAL DEVELOPMENT
   148609 GROUP INC                                   PO BOX 191971                                                                                        SAN JUAN            PR         00919
          EDUCATIONAL DIGEST SERVICE
   641945 INC                                         P O BOX 23326                                                                                        WASHINGTON          DC         20026 3326
          EDUCATIONAL LEADERSHIP
   148610 CONSULTING CORP                             E U 9 MARIANO ABRIL COSTALO LEVITTOWN                                                                TOA BAJA            PR         00949
          EDUCATIONAL LEADERSHIP
   148611 GROUP INC                                   PO BOX 194231                                                                                        SAN JUAN            PR         00919
          EDUCATIONAL LEARNING                        CAPARRA HEIGHTS, 1494 AVE
   148613 RESOURCES INC                               ROOSEVELT                                                                                            SAN JUAN            PR         00921
   148614 EDUCATIONAL LINKS CORP                      PO BOX 363423                                                                                        SAN JUAN            PR         00936‐3423
          EDUCATIONAL MEDIA
   641946 RESOURCES                                   PO BOX 137                                                                                           PONCE               PR         00715
          EDUCATIONAL RESOURCES
   641947 SPECIALISTS                                 PO BOX 4614                                                                                          SAN JUAN            PR         00919
          EDUCATIONAL SERVICE &
   148617 RESOURCES INC                               PO BOX 8849                                                                                          PONCE               PR         00731
          EDUCATIONAL SERVICES
   148618 NETWORK CORP                                PO BOX 3056                                                                                          CAGUAS              PR         00726‐3056
          EDUCATIONAL SERVICES
   148619 NETWORK, CORP                               PO BOX 1570                                                                                          JUNCOS              PR         00777

   148623 EDUCATIONAL TESTING SERVICE 4897 COLLECTION CENTER DRIVE                                                                                         CHICAGO             IL         60693
          EDUCATIONAL TIES
   148624 CORPORATION                 RR ‐ 7 BOX 10285                                                                                                     TOA ALTA            PR         00953
          EDUCATIONAL,POWER OF PYMES
   148625 BUSINESS CORP               350 AVE CHARDON              SUITE 117 TORRE CHARDON                                                                 SAN JUAN            PR         00918
   641949 EDUCATIONALL NATIONAL       1150 CONNECTICUT             AVE N W SUITE 1100                                                                      WASHINGTON          DC         20036
   641950 EDUCAUSE                    4772 WALNUT ST SUITE 206                                                                                             BOULDER             CO         80301‐2538



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  148626 EDUCAVIPRO INC             URB LOS MAESTROS                                465 JAIME DREW                                                                             SAN JUAN            PR           00923
         EDUCO CUIDO LOS SERAFINES
  641951 INC                        REPARTO PARQUE CENTRAL                          500 CALLE J JIMENEZ                                                                        SAN JUAN            PR           00901
  641952 EDUCO INTERNATIONAL INC    1948 CHAMBERS ROAD                                                                                                                         MC DONONGH          GA           30254
  148627 EDUCO PUERTO RICO, INC.    PO BOX 10058                                    PLAZA CAROLINA STATION                                                                     CAROLINA            PR           00988
         EDUCOMPUTER OF PUERTO RICO
  148628 INC                        PMB 201                                         PO BOX 607061                                                                              BAYAMON             PR           00960‐7061

   148629 EDUCON MANAGEMENT CORP                      PO BOX 3244                                                                                                              CAROLINA            PR           00984
   641953 EDUCOORD INC                                P O BOX 141014                                                                                                           ARECIBO             PR           00614‐1014
   148630 EDUCREANDO, INC.                            #757 CALLE BOLIVAR                                                                                                       SAN JUAN            PR           00909
          EDUCREE CONSULTURES
  1256432 EDUCATIVOS INC                              REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          EDUCREE: CONSULTURES
   148632 EDUCATIVOS INC                              PO BOX 596                                                                                                               GURABO              PR           00778
   148634 EDUDIGITAL SERVICES, INC.                   HC‐1 BOX 29030                PMB 641                                                                                    CAGUAS              PR           00725‐8900
   148636 EDUEL A ABREU SANTIAGO                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   148637 EDUEL MARTIN IRIZARRY                       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   641955 EDUENIS VALENTIN ROMERO                     URB DORAVILLE SECCION 1       BLOQ 2                                                                                     DORADO              PR           00646
   148638 EDUEXCURSIONES INC                          PO BOX 3123                                                                                                              ARECIBO             PR           00613
   148639 EDUGROOM                                    PO BOX 641                                                                                                               MERCEDITA           PR           00715
   641956 EDUINO BERRIOS BERRIOS                      PO BOX 352                                                                                                               COMERIO             PR           00782
   148640 EDUIRA BUILDERS GROUP INC                   URB PASEOS REALES             386 CALLE REALEZA                                                                          ARECIBO             PR           00612
   148641 EDUK ARTE                                   REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   641957 EDUMAT DISTRIBUTORS                         VILLA DEL CARMEN              B 29 EVA CONSTANCIA                                                                        PONCE               PR           00731
   641958 EDUMAT, INC.                                PO BOX 608                    EL SEŽORIAL STATION                                                                        SAN JUAN            PR           00926
   641959 EDUMAX                                      P O BOX 9686                                                                                                             SAN JUAN            PR           00908

   641960 EDUMEDIC OF P R INC                         MONEYS PEOPLE INC             210 AVE PONCE DE LEON STE 502                                                              SAN JUAN            PR           00901
   148644 EDUPRO INC                                  APARTADO 21179                                                                                                           SAN JUAN            PR           00928‐1179
   641962 EDUPRO NET                                  PO BOX 22144                                                                                                             SAN JUAN            PR           00928‐1179
   148646 EDUPROJECT SERVICES INC                     URB VILLA ANDALUCIA           G 1 A FRONTERAS                                                                            SAN JUAN            PR           00926

   148647 EDUPROJECT SERVICES, INC                    G‐1‐A CALLE FRONTERA STE. 3   VILLA ANDALUCIA                                                                            SAN JUAN            PR           00926‐2564
   148650 EDUQUATED INC                               PO BOX 1197                                                                                                              GUAYNABO            PR           00970
   148653 EDUQUEMOS PARA LA VIDA                      HC 2 BOX 5393                                                                                                            MOROVIS             PR           00687

   148655 EDURADO LUIGGI CALCERRADA                   REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   148656 EDUTEC                                      1685 CARR 2 KM 11 2                                                                                                      BAYAMON             PR           00959‐7270
   641963 EDUTECAS INC                                P O BOX 856                                                                                                              DORADO              PR           00646
   148657 EDUTECH SALES                               P O BOX 861                                                                                                              WEST PALM BEACH     FL           33402
   641964 EDUVAR ADAMES DURAN                         URB PASEO REAL                386 REALEZA                                                                                ARECIBO             PR           00612
   641965 EDUVIGES ALCANTARO                          BO PAMPANOS                   203 CALLEJON SABALER                                                                       PONCE               PR           00731
   148658 EDUVIGES CATALA RAMOS                       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          EDUVIGES DE JESUS
   148659 CARRASQUILLO                                REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   641967 EDUVIGES FIGUEROA ROSADO                    HP ‐ PLANTA FISICA                                                                                                       RIO PIEDRAS         PR           00936‐0000
          EDUVIGES HERNANDEZ
   148660 CALDERON                                    REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   641968 EDUVIGES LORENGO                            STA CATALINA                  PARC 128 A CARR 874                                                                        CANOVANAS           PR           00729
   148661 EDUVIGES RIVERA GARCÍA                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   148662 EDUVIGES RODRIGUEZ                          REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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          EDUVIGES RODRIGUEZ
   148663 MELENDEZ                                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641971 EDUVIGIS CATALA RAMOS                       COND JARD DE SAN FRANCISCO   APT 120 EDIF 1                                                                           SAN JUAN            PR           00927
   641972 EDUVIGIS CORA MALDONADO                     ADM SERV GEN                 P O BOX 7428                                                                             SAN JUAN            PR           00916‐7428
          EDUVIGIS MAISONET Y/O AIXA
   148664 CARDONA                                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641974 EDUVIJES MORALES RAMOS                      MONILLAS STATION             P O BOX 6003                                                                             MAYAGUEZ            PR           006821

   148665 EDUVINA CALDERON RODRIGUEZ REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148666 EDUVINA CANDELARIA LUGO    REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641976 EDUVINA LOPEZ PAGAN        BDA TOMEY                                     PO BOX 1033                                                                              LAJAS               PR           00667
   148667 EDUVINO RIVERA SANTIAGO    REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641977 EDUWIGIS VELEZ LOPEZ       BARRIO BEATRIZ                                PO BOX 20728                                                                             CAYEY               PR           00736
   148668 EDVIER CABASSA MIRANDA     REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148669 EDVIN PEREZ MORALES        REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641978 EDVIN RIVERA MACIAS        COM LOMAS VERDES                              73 CALLE ESMERALDA                                                                       MOCA                PR           00676
   148670 EDWAR PINERO ALGARIN       REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641980 EDWARD A GODOY ALATAMIRA                    COND VILLAS DEL MAR OESTE    APARTAMENTO 15H               AVE ISLA VERDE                                             CAROLINA            PR           00979
   148671 EDWARD A NIEVES RIVERA                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148672 EDWARD A ORTIZ SUAREZ                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148673 EDWARD A WOLF                               REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDWARD ACEVEDO PAMELL Y
   148674 LINA M HERRERA                              REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148675 EDWARD AGOSTO RODRIGUEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDWARD ALBERT MERCADO
   148676 SANABRIA                                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641981 EDWARD ALLENDE PIZARRO                      HC 1 BOX 2485                                                                                                         LOIZA               PR           00772
   148677 EDWARD AVILES SANTIAGO                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148679 EDWARD BENITEZ FIGUEROA                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   641985 EDWARD BENOS FRANTUI                        COND TORRES DE SAN MIGUEL    APTO 1701 CARR 830                                                                       GUAYNABO            PR           00969
          EDWARD BETANCOURT
   148680 FIGUEROA                                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641986 EDWARD BLAS HIDALGO                         141 AVE MONTEMAR                                                                                                      AGUADILLA           PR           00603
   641987 EDWARD BORRERO CENTENO                      HC 01 BOX 6210                                                                                                        GUAYANILLA          PR           00656
   641988 EDWARD BROUN TORRES                         BO CORDILLERA                CARR 146 KM 12 3                                                                         CIALES              PR           00638
   641989 EDWARD BRUNO VALLE                          BOX 763                                                                                                               DORADO              PR           00646
   641990 EDWARD C SHORT                              PO BOX 34394                                                                                                          FORD BUCHANAN       PR           00934 0394
   641991 EDWARD CABASSA RIVERA                       PO BOX 8596                                                                                                           PONCE               PR           00732
   641992 EDWARD CALLAZO CRUZ                         URB RIVERVIEW                ZC 1B CALLE 35                                                                           BAYAMON             PR           00961
   148682 EDWARD CALVESBERT JULIA                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDWARD CARABALLO
   148683 RODRIGUEZ                                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148685 EDWARD CEDENO FLORES                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148686 EDWARD CEDENO RIOS                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   641993 EDWARD CHAMORRO ALICEA                      ESTANCIA DEL PARRA           36 CALLE CONCORD                                                                         LAJAS               PR           00667
          EDWARD CINTRON / NEGRITO
   641994 BUS LINE                                    P O BOX 1412                                                                                                          LAJAS               PR           00667

   641995 EDWARD CLASSE MIRANDA                       URB RIO HONDO                2 AP 15 CALLE RIO MARAVILLA                                                              BAYAMON             PR           00961



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  641996 EDWARD COLON BURGOS                          P O BOX 318                                                                                                      JUANA DIAZ        PR         00795
  641997 EDWARD COLON MARRERO                         HC 2 BOX 5550                                                                                                    MOROVIS           PR         00687
  148688 EDWARD COLON RAMOS                           REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  148689 EDWARD COSME VAZQUEZ                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  148690 EDWARD COSS FIGUEROA                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  148691 EDWARD COTTE CAMACHO                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  641998 EDWARD CRAIG GUIBAUD                         VILLA PRADE             709 CALLE JULIO C ARTEGA                                                                 SAN JUAN          PR         00924
  148693 EDWARD CRITICAL CARE                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  148696 EDWARD CRUZ CRUZ                             REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  148698 EDWARD CRUZ SERRANO                          REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  641999 EDWARD CRUZ TORO                             BUZON 341 PARCELA 161   SABANA ENEAS                                                                             SAN GERMAN        PR         00683
         EDWARD D VELAZQUEZ
  642001 HERNANDEZ                                    PO BOX 391                                                                                                       ADJUNTAS          PR         00601
  642002 EDWARD DELGADO CRESPO                        PUERTO NUEVO            1344 CALLE 18                                                                            SAN JUAN          PR         00920

   642003 EDWARD E JUDGE & SONS INC                   P O BOX 866                                                                                                      WESTMINSTER       MD         21158
   148701 EDWARD E NEGRON BURGOS                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   642005 EDWARD ENTERPRISE INC                       PMB 234                 200 AVE R CORDERO SUITE 140                                                              CAGUAS            PR         00725‐3757

   148702 EDWARD ESQUILIN RODRIGUEZ                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EDWARD FELICIANO ROSADO Y
   148703 NELSON D SOTO                               REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642007 EDWARD FERRAIOLI                            COND IBERIA             1 PH 3 ALTAMIRA                                                                          SAN JUAN          PR         00920
   148704 EDWARD FIGUEROA ROSA                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148705 EDWARD FRANCES MORALES                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148706 EDWARD G ORTIZ IRIZARRY                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148707 EDWARD G PRIETO BAEZ                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642008 EDWARD GARCIA COTTO                         P O BOX 6904                                                                                                     CAGUAS            PR         00726

   148708 EDWARD GARCIA HERNANDEZ                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   642009 EDWARD GARCIA RIVERA                        P O BOX 1112                                                                                                     TOA ALTA          PR       00954
   148709 EDWARD GONZALEZ ALICEA                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   642011 EDWARD GONZALEZ ALVAREZ                     P O BOX 190574                                                                                                   SAN JUAN          PR       00919‐0574
   148710 EDWARD GONZALEZ BADILLO                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   641979 EDWARD GONZALEZ BAYRON                      BO EL SECO              1 CALLE MAGALLANES                                                                       MAYAGUEZ          PR       00682‐5722
   148711 EDWARD GONZALEZ COLON                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   148712 EDWARD GONZALEZ ORTIZ                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   148713 EDWARD GRIST                                REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   148714 EDWARD H FNKHANEL SEDA                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   148715 EDWARD H. FAUKHANEL SEDA                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   148716 EDWARD HERNANDEZ LARA                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   148717 EDWARD HERNANDEZ MATOS                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   148718 EDWARD HILL TOLINCHE                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   148719 EDWARD HILL TOLLINCHE                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   148720 EDWARD HIRALDO DEL VALLE                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   642015 EDWARD ISENBERG CRUZ                        PO BOX 364402                                                                                                    SAN JUAN          PR       00936‐4402
   148721 EDWARD J NAVAS PEREZ                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   148722 EDWARD J PHELAN CARTER                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   148723 EDWARD J REYES RIVERA                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED

   148724 EDWARD J TRINIDAD FERNANDEZ REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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          EDWARD J WALTER &
   642016 ASSOCIATES INC                              9241 RAVENNA ROAD C 6                                                                                         TWINSBURG            OH           44087
          EDWARD JAMES NAVAS
   148725 NAZARIO                                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   148726 EDWARD KATZ                                 REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   148727 EDWARD L VELAZQUEZ LUGO                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   642019 EDWARD LA LUZ ALVARADO                      JARD DE VEGA BAJA          17‐29 CALLE O                                                                      VEGA BAJA            PR           00693

   148728 EDWARD LARACUENTE CORTES                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   642020 EDWARD LEBRON CRUZ                          PO BOX 887                                                                                                    MAUNABO              PR           00707
          EDWARD LEE SANTIAGO
   148729 RODRIGUEZ                                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   148730 EDWARD LIFESCIENCE CORP PR                  PO BOX 1577                                                                                                   ANASCO               PR           00610‐1577
   148731 EDWARD LOVELAND                             REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   642021 EDWARD LOZADA ALVAREZ                       13 URB EL REMANSO                                                                                             PATILLAS             PR           00723

   148732 EDWARD LOZADA CONTRERAS                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   148733 EDWARD LOZADA PAGAN                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EDWARD M COSTALES
   148734 GONZALEZ                                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EDWARD M KENNEDY HEALTH
   148735 CENTER                                      19 TACOMA ST                                                                                                  WORCESTER            MA           01605
   148736 EDWARD M PEREZ RIVERA                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   642022 EDWARD M ROJAS KALBACH                      P O BOX 893                                                                                                   OROCOVIS             PR           00720
          EDWARD MALDONADO
   642023 SANTIAGO                                    BO COQUI                   307 PARC CABAZA                                                                    AGUIRRE              PR           00704

   148739 EDWARD MARTIN NAVOJOSKY                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   148741 EDWARD MATOS NIEVES                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   148742 EDWARD MATOS/ MARILIA VALE REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EDWARD MCBURNEY
   148743 HENRIQUEZ/ JUAN C          REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   642024 EDWARD MEDINA GUEITS       PARC MAGUEYES                               244 CALLE ZAFIRO                                                                   PONCE                PR           00728
   148744 EDWARD MERCED SALAS        REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   642025 EDWARD MORENO ALONSO       MIGHLAND PARK                               745 CALLE CIPRES                                                                   SAN JUAN             PR           00924
   148745 EDWARD MUNOZ UBINAS        REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EDWARD O HERNANDEZ
   148746 IRIZARRY                   REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   148748 EDWARD O. OQUENDO IRIZARRY REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   642027 EDWARD OCASIO OQUENDO                       REPTO MENDEZ BO JOBOS BOX 8                                                                                   ISABELA              PR           00662
   148749 EDWARD ODOM BONILLA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   148750 EDWARD OFARRILL BAEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   642028 EDWARD OLIVENCIA GONZALEZ                   SUITE 250 BOXC 4080                                                                                           AGUADILLA            PR           00605
   642029 EDWARD ORTIZ RODRIGUEZ                      BO PALOMAS                 34 CALLE 10                                                                        YAUCO                PR           00698
   148751 EDWARD PABON QUINONES                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   148752 EDWARD PACHECO MUNIZ                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   642030 EDWARD PAGAN DIAZ                           HC 1 BOX 7669                                                                                                 CABO ROJO            PR           00623
   148753 EDWARD PERDOMO PIZARRO                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  642031 EDWARD PEREZ ACEVEDO                         EXT VILA LOS SANTOS       I 54 CALLE FLAMBOYAN                                                                  ARECIBO              PR         00612
  148754 EDWARD PEREZ ALVAREZ                         REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  642032 EDWARD PEREZ BENITEZ                         P O BOX 1199                                                                                                    VEGA ALTA            PR         00692
  642033 EDWARD PEREZ GONZALEZ                        PO BOX 1129                                                                                                     NAGUABO              PR         00718
  148756 EDWARD PINERO ALGARIN                        REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  642034 EDWARD PINTO VEGA                            URB JARDINES DEL CARIBE   OO 27 CALLE 49                                                                        PONCE                PR         00731
  148757 EDWARD PREVIDI DAVILA                        REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  642035 EDWARD QUILES RIVERA                         BOX 4445                                                                                                        NAGUABO              PR         00718
  148762 EDWARD R ARNOLD                              REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  642036 EDWARD R BEIL ASSOCIATES                     6 EAST 45TH STREET                                                                                              US                   NY         10017
  642037 EDWARD R CICHOWICZ                           497 AVE E POL                                                                                                   SAN JUAN             PR         00926
  148763 EDWARD R CRUZ RIVERA                         REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   148764 EDWARD RAMIREZ CASTELLANO                   REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   148768 EDWARD RIVERA FLORES                        REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   642040 EDWARD RIVERA MULERO                        RR 4 BOX 811                                                                                                    BAYAMON              PR         00956
   148771 EDWARD RIVERA VAZQUEZ                       REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   148772 EDWARD RODRIGUEZ FIGUEROA REDACTED                                    REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
          EDWARD RODRIGUEZ
   642041 HERNANDEZ                 FLAMBOYAN GARDENS                           I 8 CALLE 11                                                                          BAYAMON              PR         00959

   148773 EDWARD RODRIGUEZ MARTINEZ REDACTED                                    REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   148774 EDWARD RODRIGUEZ PEREZ    REDACTED                                    REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   642042 EDWARD RODRIGUEZ PRADO    HC 37 BOX 3561                                                                                                                    GUANICA              PR         00653

   642045 EDWARD RODRIGUEZ VALENTIN                   P O BOX 689                                                                                                     HORMIGUEROS          PR         00660
   642046 EDWARD ROMAN SANTOS                         PO BOX 4416                                                                                                     AGUADILLA            PR         00605
          EDWARD ROSARIO / FRANCIS E
   148776 ROSARIO                                     REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   642047 EDWARD ROSARIO AYALA                        VILLAS DE LOIZA           A N 2 CALLE 6                                                                         CANOVANAS            PR         00729

   148777 EDWARD SANABRIA SAMBOLIN                    REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   148778 EDWARD SANCHEZ ALEQUIN                      REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   148779 EDWARD SANTIAGO RODRIGUEZ REDACTED                                    REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   642048 EDWARD SANTOS VALLE       60 ENSANCHE RAMIREZ                                                                                                               SAN GERMAN           PR         00683

   642049 EDWARD SEPULVEDA FELICIANO                  HC 02 BOX 10358                                                                                                 YAUCO                PR         00698
   642050 EDWARD SILVA CHERENA                        B 91 URB SANTA MARIA                                                                                            SABANA GRANDE        PR         00637
   642051 EDWARD SINGH                                HOSP RAMON E BETANCES     CENTRO MEDICO                                                                         MAYAGUEZ             PR         00680
   148780 EDWARD SOTO BADILLO                         REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   148781 EDWARD TOLEDO QUINONES                      REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   148782 EDWARD TORO PADILLA                         REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   148783 EDWARD TORRES RIVERA                        REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   642053 EDWARD TORRES SOTO                          HC 02 BOX 14293                                                                                                 ARECIBO              PR         00612
   642054 EDWARD UNDERWOOD RIOS                       P O BOX 364403                                                                                                  SAN JUAN             PR         00936

   642055 EDWARD V PEREZ NEGRON                       URB LEVITTOWN             HN 35 AVE GREGORIO LEDERMA                                                            TOA BAJA             PR         00949
   148784 EDWARD VARGAS APONTE                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   148785 EDWARD VELEZ NEGRON                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   148786 EDWARD VERA                                 REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   642058 EDWARD W MERRILL D SC                       90 SOMERSET ST                                                                                                  BELMONT              MA         02178



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                                                      50 CALETA DE LAS MONJAS APT 2
   642059 EDWARD WALICEK LINDLEY                      B                                                                                                             SAN JUAN            PR           00901
   148789 EDWARDO ESPINOSA ROSA                       REDACTED                      REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148790 EDWARDO GONZALEZ JR                         REDACTED                      REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDWARDS LIFECIENCE CORP OF
   148793 PUERTO RICO                                 PO BOX 1577                                                                                                   AÑASCO              PR           00610‐1577
          EDWARDS LIFESCIENCES SALES
   642060 CORP                                        PO BOX 1577                                                                                                   A¥ASCO              PR           00610
          EDWARDS LIFESCIENCES
   148794 TECHNOLOGY                                  PO BOX 1577                  ROAD 474 NKM.         1.4 INDUSTRIAL PARK                                        ANASCO              PR           00610
          EDWARDS LIFESCIENCES
   148795 THECHNOLOGY SA                              PO BOX 1577                                                                                                   ANASCO              PR           00610‐1577

   148796 EDWARDS MALDONADO NATAL                     REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDWARDS SERVICE STATION
   642061 CORP                                        CALLE 25 DE JULIO            48 SS RODRIGUEZ                                                                  GUANICA             PR           00653
   642062 EDWIGES FIGUEROA ROSADO                     URB LAS LOMAS                SO 868 CALLE 37                                                                  SAN JUAN            PR           00921
   642063 EDWILL Y RAMOS JUSINO                       PO BOX 728                                                                                                    HORMIGUEROS         PR           00660
   642064 EDWIM COLON MEJIAS                          APARTADO 1774                                                                                                 AIBONITO            PR           00705

   148801 EDWIN A AGOSTO HERNANDEZ                    REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148802 EDWIN A ALVARADO ACEVEDO                    REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642083 EDWIN A AQUINO                              134 ALTOS SAN RAFAEL                                                                                          MAYAGUEZ            PR           00680
   148803 EDWIN A ARREAGA MUNIZ                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642084 EDWIN A AYALA                               PMB 332                      PO BOX 4960                                                                      CAGUAS              PR           00726‐4960
   642085 EDWIN A BERRIOS VEGA                        URB LAS ALONDRAS             34 CALLE F                                                                       VILLALBA            PR           00766
   148804 EDWIN A BORRES OTERO                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148805 EDWIN A BURGOS RIOS                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   642088 EDWIN A CARABALLO SANTIAGO P O BOX 1286                                                                                                                   GUAYAMA             PR           00785
   642089 EDWIN A CARTAGENA RUIZ     HC 1 BOX 7243                                                                                                                  AGUAS BUENAS        PR           00703
   148806 EDWIN A CINTRON SANTOS     REDACTED                                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642090 EDWIN A COLON RODRIGUEZ    P O BOX 1562                                                                                                                   LARES               PR           00669
   148807 EDWIN A CRUZ NIEVES        REDACTED                                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148809 EDWIN A DE ARMAS SOTO      REDACTED                                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148810 EDWIN A DEL VALLE          REDACTED                                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148811 EDWIN A FABIAN BATISTA     REDACTED                                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148812 EDWIN A FARINACCI RODRIGUEZ REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148813 EDWIN A FERRER AMARO        REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148814 EDWIN A FREIRE ROLON        REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642092 EDWIN A GALINDO RAMOS       URB BAHIA VISTAMAR                           K 47 CALLE MARLIN                                                                CAROLINA            PR           00983

   642093 EDWIN A HERNANDEZ DELGADO 3 CALLE JOSE N ARZUAGA                                                                                                          JUNCOS              PR           00777
   148815 EDWIN A IRIZARRY LUGO     REDACTED                                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   642095 EDWIN A MALDONADO ADORNO URB VILLA EVANGELINA                            24 CALLE 8 J                                                                     MANATI              PR           00674

   642082 EDWIN A MALDONADO JIMENEZ PO BOX 1371                                                                                                                     BARCELONETA         PR           00617
   642096 EDWIN A MARIN DIAZ        URB JOSE MERCADO                               U49 CALLE KENNEDY                                                                CAGUAS              PR           00725
   148816 EDWIN A MARQUEZ PEREZ     REDACTED                                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          EDWIN A MARTINEZ /PUEBLO
   642097 NUEVO SELF SERV                             105 CARBONEL                                                                                                 CABO ROJO           PR           00623

   642098 EDWIN A MARTINEZ CARTAGENA PO BOX 1196                                                                                                                   OROCOVIS            PR           00720
          EDWIN A MELENDEZ
   148817 HERNANDEZ                  REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148818 EDWIN A MELENDEZ MEDINA    REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642099 EDWIN A MELENDEZ PAGAN     PO BOX 4384                                                                                                                   VEGA BAJA           PR           00692
   148819 EDWIN A MONTALVO PAGAN     REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148820 EDWIN A MORALES SOTO       REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148821 EDWIN A NARVAEZ NEGRON     REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642100 EDWIN A NIEVES ALICEA      URB LOMA ALTA                          L 5 CALLE 13                                                                           CAROLINA            PR           00987
   148822 EDWIN A NUNEZ VELAZQUEZ    REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642101 EDWIN A OCASIO SANTIAGO    P O BOX 1402                                                                                                                  LARES               PR           00669
   642102 EDWIN A ORTEGA BATISTA     PO BOX 324                                                                                                                    CIALES              PR           00638
   642103 EDWIN A ORTIZ RODRIGUEZ    EL MADRIGAL                            Q 19 CALLE 23                                                                          PONCE               PR           00730
   642104 EDWIN A PABON RIVERA       28 CALLE BETANCE                                                                                                              UTUADO              PR           00641
   642105 EDWIN A PADILLA RIOS       VILLAS DE CARRAIZO                     O 37 CALLE 49                                                                          TRUJILLO ALTO       PR           00926
   642107 EDWIN A RAMIREZ            PTO NUEVO                              308 CALLE 3                                                                            SAN JUAN            PR           00920
   642109 EDWIN A RODRIGUEZ DIAZ     URB VILLAS DE SAN AGUSTIN              10 CALLE 4B                                                                            BAYAMON             PR           00956
   148824 EDWIN A RODRIGUEZ ORTIZ    REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148825 EDWIN A RODRIGUEZ RIVERA   REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148826 EDWIN A ROJAS OYOLA        REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148827 EDWIN A SANTIAGO OLMO      REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                     250 PASEO JOSE A POCHO
   642113 EDWIN A SERRA SUAREZ       MARTINEZ                                                                                                                      MANATI              PR           00674‐0416
   148828 EDWIN A SOTO MATOS         REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148829 EDWIN A SUAREZ GARAY       REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148830 EDWIN A SUAREZ SERRANO     REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                            3626 CALLE LOLA RODRIGUEZ
   642065 EDWIN A TORRES COLON                        URB LAS DELICIAS      TIO                                                                                    PONCE               PR           00728
   148831 EDWIN A TORRES DE JESUS                     REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148832 EDWIN A VALENTIN MAYA                       REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148834 EDWIN A VEGA FELICIANO                      REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148835 EDWIN A. CRUZ CASIANO                       REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148836 EDWIN A. MARQUEZ PEREZ                      REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642114 EDWIN ABREU RUIZ                            URB MEDINA            P 17 CALLE 8                                                                           ISABELA             PR           00962
   148837 EDWIN ACEVEDO ACEVEDO                       REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148839 EDWIN ACEVEDO CORDERO                       REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148840 EDWIN ACEVEDO GONZALEZ                      REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148841 EDWIN ACEVEDO JIMENEZ                       REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148842 EDWIN ACEVEDO MORALES                       REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148843 EDWIN ACEVEDO RIVERA                        REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642116 EDWIN ACEVEDO ROMAN                         HC 1 BOX 10464                                                                                               SAN SEBASTIAN       PR           00685
   642117 EDWIN ACEVEDO RUIZ                          HC 01 BOX 7905                                                                                               HATILLO             PR           00659
   148844 EDWIN ACEVEDO SANDOVAL                      REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642118 EDWIN ACOSTA RIVERA                         HC 02 BOX 10903                                                                                              LAJAS               PR           00667‐9712
   642119 EDWIN ADORNO PANTOJA                        PO BOX 237                                                                                                   VEGA ALTA           PR           00692
   642120 EDWIN AGRONT MATOS                          PO BOX 1120                                                                                                  AGUADA              PR           00602
   642121 EDWIN AGUIRRE                               PO BOX 11872                                                                                                 SAN JUAN            PR           00922

   642122 EDWIN ALBALADEJO RODRIGUEZ P O BOX 6669                                                                                                                  SAN JUAN            PR           00914
   148845 EDWIN ALEJANDRO RAMOS      REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  642123 EDWIN ALEQUIN BAEZ                           URB VILLA ALBA              B 1 CALLE 2                                                                       SABANA GRANDE     PR         00637
  642124 EDWIN ALEQUIN DE JESUS                       BO BALLAJA BZN 642          KM 1 7 CARR 313                                                                   CABO ROJO         PR         00623
  148846 EDWIN ALEQUIN TORO                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   148847 EDWIN ALEXIS VIDAL VALENTIN                 REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148849 EDWIN ALICEA AGOSTO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642125 EDWIN ALICEA MORALES                        PO BOX 1584                                                                                                   MAYAGUEZ          PR         00681
   148850 EDWIN ALICEA NIEVES                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148851 EDWIN ALICEA RAMOS                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      PO BOX 9066600 PTA TIERRA
   642126 EDWIN ALICEA RENTAS                         STATION                                                                                                       SAN JUAN          PR         00906‐6600
   148852 EDWIN ALICEA RIVERA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148854 EDWIN ALICEA ROSARIO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   642127 EDWIN ALICEA VIZCARRONDO                    URB EL CORTIJO              K 18 CALLE 13                                                                     BAYAMON           PR         00956
   642128 EDWIN ALONSO OYOLA                          URB VILLA LOS SANTOS        314 ACERINA                                                                       ARECIBO           PR         00612
   148855 EDWIN ALTIERI VARELA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148856 EDWIN ALVARADO APONTE                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148857 EDWIN ALVARADO GONZALEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148858 EDWIN ALVARADO LOPEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148859 EDWIN ALVARADO PEREZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642130 EDWIN ALVAREZ CRUZ                          24 CALLE MANILA                                                                                               SAN GERMAN        PR         00683
   148860 EDWIN ALVAREZ ESTRADA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642131 EDWIN ALVAREZ GARCIA                        BOX 1889                                                                                                      JUNCOS            PR         00777
   148861 EDWIN ALVAREZ MATOS                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                  Q 4 AVE APOLO ESQ
   642132 EDWIN ALVAREZ RIVERA                        ALTOS LUIS PHARMACY         ALEJANDRINO                                                                       GUAYNABO          PR         00969
   642133 EDWIN ALVELO FIGUEROA                       BOX 1223                                                                                                      CIALES            PR         00638
   642135 EDWIN ANDINO ANDINO                         BUENA VISTA                 168 CALLE CEREZO                                                                  CAROLINA          PR         00958
   642136 EDWIN ANDINO HUERTAS                        HC 67 BOX 15820                                                                                               BAYAMON           PR         00956
   642137 EDWIN ANDINO SOLIS                          CIUDAD UNIVERSITARIA        Z 1‐5 CALLE 25                                                                    TRUJILLO ALTO     PR         00976
   642138 EDWIN ANDUJAR MATIAS                        311 LOS PINOS                                                                                                 UTUADO            PR         00641
          EDWIN ANTONIO HERNANDEZ
   642139 CARRERAS                                    PO BOX 8138                                                                                                   CAROLINA          PR         00986‐8138
   148862 EDWIN APONTE ARROYO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148863 EDWIN APONTE CASTRO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   148864 EDWIN APONTE HERNANDEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642142 EDWIN APONTE MALDONADO                      PARC PALENQUE               42 CALLE 2                                                                        BARCELONETA       PR         00617
   642143 EDWIN APONTE ROBLES                         LAGO ALTO                   20 CALLE ST CARITE                                                                TRUJILLO ALTO     PR         00976
   148865 EDWIN APONTE RODRIGUEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642144 EDWIN APONTE VALENTIN                       BDA SANTA ANA               350‐06 CALLE B                                                                    GUAYAMA           PR         00784
   148866 EDWIN AQUIRRE VARGAS                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642147 EDWIN ARROYO ACEVEDO                        HC 02 BOX 7006                                                                                                CAMUY             PR         00627
   642148 EDWIN ASENCIO PAGAN                         ESTANCIAS DEL RIO           569 CALLE PORTUGUES                                                               HORMIGUEROS       PR         00660
   642149 EDWIN ASTACIO SANCHEZ                       SECTOR DULCES LABIOS        207 CALLE LAVEZZARI                                                               MAYAGUEZ          PR         00682‐3149
   148871 EDWIN AUTO BODY                             VENUS GARDENS OESTE         BA 23 CALLE A                                                                     SAN JUAN          PR         00926
   642150 EDWIN AUTO ELECTRIC                         CANABONCITO                 HC 2 BOX 32680                                                                    CAGUAS            PR         00725
   642151 EDWIN AUTO PAINT                            PO BOX 1019                                                                                                   GUAYAMA           PR         00785
   642152 EDWIN AVILA GONZALEZ                        214 CALLE FELICIANO BOX 1                                                                                     MOCA              PR         00676
   642153 EDWIN AVILES ARROYO                         COND BAHIA B                PDA 15 1/2 APT 804                                                                SAN JUAN          PR         00907
   642154 EDWIN AVILES GONZALEZ                       HC 3 BOX 15590                                                                                                QUEBRADILLAS      PR         00678
   642155 EDWIN AVILES PEREZ                          URB LAS CASONAS             C 11                                                                              AGUADA            PR         00602
   642158 EDWIN AYALA DIAZ                            URB VISTA HERMOSA           B 3 CALLE 2                                                                       HUMACAO           PR         00791‐4857



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  148872 EDWIN AYALA FUENTES                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  148873 EDWIN AYALA GOMEZ                            REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  148874 EDWIN AYALA MILLAN                           REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  642160 EDWIN AYALA SANCHEZ                          PO BOX 7972                                                                                                     CAGUAS              PR         00726‐7992
  642161 EDWIN AYUSO COLON                            PLAZA CAROLINA STA        PO BOX 9858                                                                           CAROLINA            PR         00988‐9858
         EDWIN B BETANCOURT ORTIZ/
  148875 GREEN ENERGY                                 MANSIONES DE CIUDAD JARDIN 308 PALMA DE MAYORCA                                                                 CAGUAS              PR         00727

   642162 EDWIN B DELGADO HERNANDEZ                   HC 2 BOX 4316                                                                                                   LAS PIEDRAS         PR         00771
   642163 EDWIN B FERNANDEZ BAUZO                     HC 02 BOX 5203                                                                                                  LUQUILLO            PR         00773
          EDWIN BADILLO DBA EDWIN
   642164 AUTO BODY                                   PO BOX 4850                                                                                                     AGUADILLA           PR         00605
   148877 EDWIN BAEZ GONZALEZ                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642165 EDWIN BAEZ LLERA                            COM CARRASQUILLO          230 CALLE JUAN SOTO                                                                   CAYEY               PR         00736
   642167 EDWIN BAEZ TORRES                           HC 01 BOX 7771                                                                                                  YAUCO               PR         00698
          EDWIN BAEZ‐LIGA INTER
   642168 BALOCESTO INF                               URB COLINAS DE PLATA      111 CALLE CAMINO DEL PARQUE                                                           TOA ALTA            PR         00953
   148878 EDWIN BARRETO BOSQUES                       REDACTED                  REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148879 EDWIN BARRETO CAPELLA                       REDACTED                  REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642169 EDWIN BARRETO VAZQUEZ                       BO CAPA                   HC 2 BOX 12098                                                                        MOCA                PR         00676
   148880 EDWIN BAUZA SANTIAGO                        REDACTED                  REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148881 EDWIN BAYRON LOPEZ                          REDACTED                  REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148882 EDWIN BELTRAN CABAN                         REDACTED                  REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642170 EDWIN BELTRAN MARQUEZ                       HC 01 BOX 16066                                                                                                 HUMACAO             PR         00791

   148883 EDWIN BENIQUEZ ECHEVARRIA                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642171 EDWIN BENITEZ BAEZ                          5TA SEC TURABO GARDENS    E11 CALLE 37                                                                          CAGUAS              PR         00725
   148885 EDWIN BENITEZ RIVERA                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148887 EDWIN BERENGUER ALVAREZ                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642172 EDWIN BERENGUER RIVERA                      PO BOX 420032             ROOSEVELT ROADS                                                                       CEIBA               PR         00735‐0032
   642173 EDWIN BERRIOS                               BO MARCELO CUPEY ALTO     RR 6 BOX 109 10                                                                       SAN JUAN            PR         00926
   148888 EDWIN BERRIOS LOPEZ                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642174 EDWIN BERRIOS MORALES                       LAS LOMAS                 1596 CALLE 18 SO                                                                      BAYAMON             PR         00921
   148889 EDWIN BIRRIEL CASTRO                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642176 EDWIN BIRRIEL SANCHEZ                       P O BOX 1004                                                                                                    RIO GRANDE          PR         00745 1004
   642177 EDWIN BLANCO GARCIA                         SANTA ISIDRA I            C 15 CALLE 3                                                                          FAJARDO             PR         00738
   148890 EDWIN BONES NIEVES                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148891 EDWIN BONET FERNANDEZ                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642178 EDWIN BONILLA GONZALEZ                      P O BOX 4953                                                                                                    CAGUAS              PR         00726‐4952
   148892 EDWIN BONILLA ORTIZ                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642179 EDWIN BONILLA PEREZ                         PUERTO REAL               375 CALLE FLAMBOYAN                                                                   CABO ROJO           PR         00623
   148893 EDWIN BORELLI APONTE                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148894 EDWIN BORIA ROSADO                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642181 EDWIN BORRERO VELEZ                         3 BDA ACUEDUCTOS                                                                                                ADJUNTAS            PR         00601
   148895 EDWIN BOSQUE NIEVES                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148896 EDWIN BURGOS AYALA                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642182 EDWIN BURGOS LOZADA                         PO BOX 21635                                                                                                    SAN JUAN            PR         00928
   642183 EDWIN BURGOS RIVERA                         PO BOX 952                                                                                                      OROCOVIS            PR         00720
   642184 EDWIN C BAYRON RIVERA                       PO BOX 231                                                                                                      LAJAS               PR         00667
   642066 EDWIN C GRAFLS LUGO                         CUIDAD JARDIN DE BAIROA   49 CALLE GRANADA                                                                      CAGUAS              PR         00729‐1329
   642185 EDWIN C GRANELL                             LA ESTANCIA               33 ALTAMIRA                                                                           SAN SEBASTIAN       PR         00685
   148900 EDWIN C PACHECO TRINIDAD                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642189 EDWIN C RIVERA MANSO                        LOIZA VALLEY              T 751 CALLE MARIA                                                                     CANOVANAS           PR         00729



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  148901 EDWIN CABAN HERNANDEZ                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  148902 EDWIN CALDERO CABRERA                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         EDWIN CALDERON / MIRIAM Y
  642193 ELIZABETH GONZ                               URB VILLA FONTANA PARK       5T 14 PARQUE DEL TESORO                                                              CAROLINA            PR         00983
  148904 EDWIN CAMACHO AGUILA                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  148905 EDWIN CAMACHO COTTO                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   148907 EDWIN CANDELARIO RAMIREZ                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642195 EDWIN CARABALLO ALBARAM                     PO BOX 8544                                                                                                       PONCE               PR         00731

   642067 EDWIN CARABALLO CARABALLO P O BOX 750                                                                                                                         YAUCO               PR         00698
   148908 EDWIN CARABALLO MARI      REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   148909 EDWIN CARABALLO MERCADO                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642198 EDWIN CARBOT DE JESUS                       URB MOTROPOLIS               T 32 CALLE 26                                                                        CAROLINA            PR         00987
   642200 EDWIN CARDONA & ASOC                        P M B 364                    1353 CARR 19                                                                         GUAYNABO            PR         00966
          EDWIN CARDONA ALICEA Y
   148912 NELSON D SOTO                               CARDONA Y MIGUEL MONTALVO URB EL CULEBRINAS            AA 11 CALLE CAOBA                                          SAN SEBASTIAN       PR         00685
          EDWIN CARDONA Y
   148914 ASOCIADOSSEC SOC                            PMB 364 AVE LUIS VIGOREAUX                                                                                        GUAYNABO            PR         00966
   642068 EDWIN CARILLO FILOMENO                      BO CAMBALACHE                CARR 962 INTERIOR                                                                    CANOVANAS           PR         00729
   642203 EDWIN CARRASQUILLO                          1976 CALLE SAUCO                                                                                                  GUAYNABO            PR         00969
          EDWIN CARRASQUILLO
   148917 FERNANDEZ                                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDWIN CARRASQUILLO
   642204 MCCANLEY                                    HC 763 BOX 4358                                                                                                   PATILLAS            PR         00732
   148918 EDWIN CARRELO CASTRO                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642205 EDWIN CARRERO GARCIA                        HC 2 BOX 6066                                                                                                     RINCON              PR         00677‐9613
   148919 EDWIN CARRILLO DE LEON                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   148920 EDWIN CARRION CORDERO                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642206 EDWIN CARRION SOTO                          P O BOX 9023866                                                                                                   SAN JUAN            PR         00902‐3899
   148922 EDWIN CARRUCINI FALCON                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642208 EDWIN CARTAGENA APONTE                      URB GUAYAMA VALLE            E 1 CALLE 6                                                                          GUAYAMA             PR         00784

   642210 EDWIN CARTAGENA PANTOJAS                    HC 72 BOX 7601                                                                                                    CAYEY               PR         00736
                                                      728 CALLE FRANCISCO GARCIA
   642211 EDWIN CASANOVA PADILLA                      FARIA                                                                                                             DORADO              PR         00646
                                                      COND TORRES DE CERVANTE
   642212 EDWIN CASANOVA RODRIGUEZ                    APT805‐A                                                                                                          SAN JUAN            PR         00924
   148924 EDWIN CASES RODRIGUEZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642213 EDWIN CASILLAS RODRIGUEZ                    RR 02 BOX 1176                                                                                                    SAN JUAN            PR         00926
          EDWIN CASTELLON COCA &
   642214 JAVIER RODRIGUEZ           VELAZQUEZ                                     251 CALLE CHILE                                                                      SAN JUAN            PR         00917
   642215 EDWIN CASTILLO COLLAZO     VILLA FONTANA                                 VIA 31 4BN 17                                                                        CAROLINA            PR         00983
   148926 EDWIN CASTILLO PEREZ       REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642216 EDWIN CASTRO MARTINEZ      BO CANDELERO ARRIBA                           CARR 3 KM 89 5                                                                       HUMACAO             PR         00791‐9608
   148928 EDWIN CASTRO MONTES        REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642217 EDWIN CASTRO MORO          PO BOX 3131                                                                                                                        AGUADILLA           PR         00605
   642218 EDWIN CASTRO RIOS          HC 01 BOX 4273                                                                                                                     GURABO              PR         00778
   148929 EDWIN CASTRO RODRIGUEZ     REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDWIN CEDENO MORALES / AMY
   148932 DANNE CEDENO               REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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          EDWIN CHAMORRO GALLEGO/
   148933 VERA LOPEZ &                                REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148934 EDWIN CHANZA GONZALEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642220 EDWIN CHARRIEZ BAEZ                         RR 2 BOX 8084                                                                                                   TOA ALTA            PR           00953
   642221 EDWIN CINTRON BAEZ                          R R 01 BOX 16478                                                                                                TOA ALTA            PR           00953
   148935 EDWIN CINTRON CAMACHO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642222 EDWIN CINTRON FLORES                        VILLAS DEL REY              BB 6 CALLE 12                                                                       CAGUAS              PR           00725
   642223 EDWIN CINTRON MULERO                        SIERRA BAYAMON              47‐2 CALLE 41                                                                       BAYAMON             PR           00961
   642225 EDWIN CLASS QUIROS                          BO CONSEJO BAJO             CARR 319 KM 4‐6                                                                     GUAYANILLA          PR           00656
   148937 EDWIN CLAUDIO ECHEVARRIA                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642227 EDWIN COIMBRE CARTAGENA                     PO BOX 1865                                                                                                     COAMO               PR           00769
   148938 EDWIN COLLAZO CINTRON                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642228 EDWIN COLLAZO ROSARIO                       URB LAS CUMBRES             163 CALLE LOS ROBLES                                                                MOROVIS             PR           00687
   148939 EDWIN COLON                                 REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642069 EDWIN COLON ALICEA                          PO BOX 1035                                                                                                     CIDRA               PR           00734
   148940 EDWIN COLON ALVARADO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148941 EDWIN COLON CANCEL                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642230 EDWIN COLON COLON                           HC 02N BOX 6594                                                                                                 LARES               PR           00641
          EDWIN COLON CRUZ Y/O
   642232 ANDREA CRUZ                                 HC 73 BOX 5346                                                                                                  NARANJITO           PR           00719‐9614
   148942 EDWIN COLON DAVILA                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148943 EDWIN COLON DE JESUS                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148944 EDWIN COLON GUZMAN                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148945 EDWIN COLON LAUREANO                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDWIN COLON MARTINEZ                        C / HARBOUR VIEW # 16 PALMAS
   148946 CONSTRUCTION INC.                           DEL MAR                                                                                                         HUMACAO             PR           00791
          EDWIN COLON MARTINEZ
   642234 CONTRUCTIVA INC                             PALMAS DEL MAR              16 CALLE HARBOUR VIEJO                                                              HUMACAO             PR           00791
   642235 EDWIN COLON MAYSONET                        HC 1 BOX 5380                                                                                                   SABANA HOYOS        PR           00688
   642236 EDWIN COLON MELENDEZ                        P O BOX 17486                                                                                                   COAMO               PR           00769
   148947 EDWIN COLON ORTIZ                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642238 EDWIN COLON PAGAN                           URB ENTRERIOS               ER 163 PLAZA SERENA                                                                 TRUJILLO ALTO       PR           00976
   642239 EDWIN COLON RIVERA                          HC 2 BOX 4816                                                                                                   COAMO               PR           00769
   642240 EDWIN COLON RODRIGUEZ                       PO BOX 7126                                                                                                     PONCE               PR           00732
   148948 EDWIN COLON ROSARIO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148950 EDWIN COLON ZAYAS                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   148951 EDWIN CONCEPCION CARDONA                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148952 EDWIN CONCEPCION COLON                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   642242 EDWIN CONCEPCION IRIZARRY                   SANTA ANA                   M 4 CALLE 8                                                                         VEGA ALTA           PR           00692
   148953 EDWIN CONDE GONZALEZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148954 EDWIN CONDE NAVARRO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148955 EDWIN CONTY ROMAN                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642243 EDWIN CORDERO                               PO BOX 9264                                                                                                     MAYAGUEZ            PR           00681‐9264
   642244 EDWIN CORDERO LOPEZ                         14031 WEYMOUTH RUN                                                                                              ORLANDO             FL           32828
   148956 EDWIN CORDERO MARTINEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642247 EDWIN CORDERO RIVERA                        PO BOX 6022                                                                                                     CAGUAS              PR           00786
   148958 EDWIN CORDOVA CORREA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642248 EDWIN CORREA ALVARADO                       HC 1 BOX 14584                                                                                                  COAMO               PR           00769
   148959 EDWIN CORREA CAMACHO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   148960 EDWIN CORREA DIAZ                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          EDWIN CORTES HNC PALACI0
   642250 VIDEO SANGERMAN                             HC 01 BOX 6525                                                                                                     MOCA             PR           00676
   148961 EDWIN CORTES JAIME                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED      REDACTED
   148962 EDWIN CORTES LOPEZ                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED      REDACTED
   148963 EDWIN CORTES LORENZO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED      REDACTED
   148964 EDWIN CORTES ROMAN                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED      REDACTED
   642252 EDWIN COTTO ORTIZ                           URB COUNTRY CLUB III SEC     JJ6 CALLE 243                                                                         CAROLINA         PR           00982
   642253 EDWIN COTTO RODRIGUEZ                       PO BOX 177                                                                                                         CIDRA            PR           00739
   642254 EDWIN CRESPO                                PO BOX 51653                                                                                                       TOA BAJA         PR           00950‐1653
   642255 EDWIN CRESPO CUEVAS                         BO HATO ARRIBA               CARR ESTATAL 19 KM 3 6                                                                ARECIBO          PR           00612
   642256 EDWIN CRESPO LOPEZ                          444 CALLE 7                                                                                                        SAN JUAN         PR           00915
   148965 EDWIN CRESPO MIRANDA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED      REDACTED
   148966 EDWIN CRESPO PADILLA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED      REDACTED
   148967 EDWIN CRESPO SOLER                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED      REDACTED
   148968 EDWIN CRESPO TORRES                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED      REDACTED
   642257 EDWIN CRESPO VAZQUEZ                        P O BOX 176                                                                                                        SAN LORENZO      PR           00754
          EDWIN CRUZ AQUINO Y
   148969 AMNERIS ACUNA ROMAN                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED      REDACTED
   642258 EDWIN CRUZ AYALA                            HC 763 BZN 3647                                                                                                    PATILLAS         PR           00723
   642259 EDWIN CRUZ BAYONA                           HC 02 BOX 8520                                                                                                     JUANA DIAZ       PR           00795‐9609
   642263 EDWIN CRUZ GARCIA                           P O BOX 478                                                                                                        MOCA             PR           00676
   148971 EDWIN CRUZ MALAVE                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED      REDACTED
   148972 EDWIN CRUZ MARRERO                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED      REDACTED
   148973 EDWIN CRUZ PENA                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED      REDACTED
   148974 EDWIN CRUZ QUINONES                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED      REDACTED
   642265 EDWIN CRUZ RAMOS                            PO BOX 1156                                                                                                        HORMIGUEROS      PR           00660
   642266 EDWIN CRUZ RIVERA                           PUERTO REAL                  20 A CALLE 7 A                                                                        CABO ROJO        PR           00623

   148975 EDWIN CRUZ/ GLORIA AGOSTO                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED      REDACTED
   642267 EDWIN CUEBAS RODRIGUEZ                      HC 5 BOX 59275                                                                                                     MAYAGUEZ         PR           00680‐9535
   148976 EDWIN CURBELO RODRIGUEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED      REDACTED
   148977 EDWIN D AGOSTO VEGA                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED      REDACTED
   642070 EDWIN D CANDELARIO DIAZ                     PO BOX 184                                                                                                         PATILLAS         PR           00723
          EDWIN D CARABALLO
   642268 VELAZQUEZ                                   URB COUNTRY CLUB             954 CALLE VERDERON                                                                    SAN JUAN         PR           00924
   642269 EDWIN D DAVILA GARCIA                       HC 2 BOX 18550                                                                                                     RIO GRANDE       PR           00745

   642270 EDWIN D MALDONADO ABELLO                    RR 1 BOX 3654                                                                                                      CIDRA            PR           00739
   148980 EDWIN D MALDONADO MIR                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED      REDACTED
   642271 EDWIN D MOJICA RODRIGUEZ                    HC 80 BOX 7704                                                                                                     DORADO           PR           00646
   642272 EDWIN D MOYENO ACEVEDO                      P O BOX 2390                                                                                                       SAN JUAN         PR           00919
   148981 EDWIN D ORTIZ MARTINEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED      REDACTED
   148982 EDWIN D PEREZ CRUZ                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED      REDACTED
   148983 EDWIN D PEREZ MARTINEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED      REDACTED
   148984 EDWIN D REYES JIMENEZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED      REDACTED
   642273 EDWIN D RIVERA PIZARRO                      995 MAPLE AVE                                                                                                      HARTFORD         CT           06114
   642274 EDWIN D RIVERA SIERRA                       COND PLAZA SUCHVILLE         CARR 2 APT 203                                                                        BAYAMON          PR           00959
   148985 EDWIN D SANTANA MEDINA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED      REDACTED
   642277 EDWIN D SANTOS MARTINEZ                     205 URB PORTAL DE LA REINA   1306 AVENIDA MONTE CARLO                                                              SAN JUAN         PR           00924
   642278 EDWIN D SEPULVEDA CRUZ                      PO BOX 9021112                                                                                                     SAN JUAN         PR           00902‐1112
   642281 EDWIN D TORRES RIVERA                       PO BOX 2211                                                                                                        VEGA BAJA        PR           00694
   642282 EDWIN D VARGAS LA TORRE                     PO BOX 118                                                                                                         MAYAGUEZ         PR           00685
   642283 EDWIN D VEGUILLA DIAZ                       URB COSTA AZUL               B 7 CALLE 7                                                                           GUAYAMA          PR           00786



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   148986 EDWIN D.SANTIAGO RODRIGUZ                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   642284 EDWIN DATIL MALDONADO                       URB VEGA BAJA LAKES          CALLE 1 BZN 6                                                                             VEGA BAJA            PR           00693
                                                      1416 AVE PONCE DE LEON SUITE
   642285 EDWIN DAVID CORDERO                         303                                                                                                                    SAN JUAN             PR           00909
          EDWIN DAVID MORENO
   642286 NEGRON                                      URB REPARTO VALENCIA         AC 8 CALLE 5                                                                              BAYAMON              PR           00959
   642287 EDWIN DAVILA TORRES                         HC 2 BOX 5578                                                                                                          MOROVIS              PR           00687
   642288 EDWIN DE ARMAS BERNIER                      43 BADE PEREZ OESTE                                                                                                    GUAYAMA              PR           00784
   148987 EDWIN DE JESUS                              REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   642290 EDWIN DE JESUS FIGUEROA                     P O BOX 427                                                                                                            TRUJILLO ALTO        PR           00976
   642291 EDWIN DE JESUS RODRIGUEZ                    1165 CALLE HUMBOLDT                                                                                                    SAN JUAN             PR           00924
          EDWIN DE JESUS VEGA /
   642292 JEANETTE VEGA                               HC 44 BOX 12947                                                                                                        CAYEY                PR           00736
   148992 EDWIN DE LA CRUZ CEPEDA                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   148993 EDWIN DE LA CRUZ RODRIGUEZ                  REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   148994 EDWIN DE LEON BAEZ                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   148995 EDWIN DE LOS SANTOS                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   642293 EDWIN DEL VALLE                             PARRA MEDICAL I NSTITUTE     2225 PONCE BY PASS SUITE 605                                                              PONCE                PR           00717‐1322

   642295 EDWIN DEL VALLE CARABALLO                   PO BOX 689                                                                                                             ROSARIO              PR           00636
   642071 EDWIN DELGADO BAEZ                          HC 6 BOX 70065                                                                                                         CAGUAS               PR           00727 9502
   148996 EDWIN DELGADO CRUZ                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   148997 EDWIN DELGADO INOSTROZA                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   148998 EDWIN DELGADO MOYA                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   148999 EDWIN DELGADO QUINONEZ                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   642297 EDWIN DELGADO RAMOS                         VILLA FONTANA PARK           5FF34 CAL PRQ RL                                                                          CAROLINA             PR           00983
   642298 EDWIN DELGADO ROSADO                        HC 80 BOX 6781                                                                                                         DORADO               PR           00646
   149000 EDWIN DELGADO TORRES                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   149001 EDWIN DESIDERIO ORTIZ                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   149002 EDWIN DEVARIE RODRIGUEZ                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   642299 EDWIN DIAZ                                  HC 02 BOX 4491                                                                                                         LAS PIEDRAS          PR           00771
   642301 EDWIN DIAZ ARROYO                           HC 2 BOX 28886                                                                                                         CAGUAS               PR           00725
   642302 EDWIN DIAZ BURGOS                           HC 2 BOX 6503                                                                                                          MOROVIS              PR           00687
   642303 EDWIN DIAZ CORREA                           URB SIERRA LINDA             CC 33 CALLE 13                                                                            BAYAMON              PR           00957
   149003 EDWIN DIAZ CRUZ                             REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   642305 EDWIN DIAZ ESTRADA                          RR 9 BOX 1037                                                                                                          SAN JUAN             PR           00926
   642306 EDWIN DIAZ EXTRADA                          RR 36 BOX 1031                                                                                                         SAN JUAN             PR           00926
   642307 EDWIN DIAZ FONTANEZ                         BOX 1441                                                                                                               JUANA DIAZ           PR           00795
   149004 EDWIN DIAZ GARCIA                           REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   149006 EDWIN DIAZ NEGRON                           REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   642309 EDWIN DIAZ ROSARIO                          URB HERMANAS DAVILA          M 13 CALLE F                                                                              BAYAMON              PR           00959
   642311 EDWIN DIAZ VAZQUEZ                          URB VIVES                    228 CALLE 4                                                                               GUAYAMA              PR           00784
   642312 EDWIN DIAZ VELAZQUEZ                        HC 3 BOX 13482                                                                                                         JUANA DIAZ           PR           00795‐9515
   642313 EDWIN DIODONET COLLADO                      APTO 1041                                                                                                              LAJAS                PR           00667
   149007 EDWIN DOMENECH ACEVEDO                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   149008 EDWIN E ACEVEDO RIOS                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   149009 EDWIN E ARANA COLON                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   149010 EDWIN E BAJANDAS                            REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   149011 EDWIN E CALES PACHECO                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   149012 EDWIN E COFRESI COLON                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  149014 EDWIN E CORREA CURET                         REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  149016 EDWIN E JIMENEZ BARREIRO                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  149017 EDWIN E LOPEZ ROSARIO                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         EDWIN E MALDONADO
  149018 MALDONADO                                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  149019 EDWIN E MENDEZ MENDEZ                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  149020 EDWIN E MENDEZ REYES                         REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  642314 EDWIN E MERCADO RIVERA                       PO BOX 1679                                                                                                ARECIBO             PR         00612
  149021 EDWIN E OTERO CUEVAS                         REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  149022 EDWIN E PINERO BERRIOS                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  642315 EDWIN E RIVERA RIVERA                        COND PARQUE REAL       APT 432                                                                             GUAYNABO            PR         00969
  149023 EDWIN E RODRIGUEZ                            REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   642316 EDWIN E ROSADO RODRIGUEZ                    BOX 984                                                                                                    HATILO              PR         00659

   642317 EDWIN E ROSARIO HERNANDEZ                   URB LOS PINOS          11 CALLE C                                                                          HUMACAO             PR         00791
   149024 EDWIN E TORRES CASTRO                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149025 EDWIN E VARGAS                              REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149027 EDWIN E. PAGAN AGOSTO                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149028 EDWIN E. VEGA SANTIAGO                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642322 EDWIN ERAZO CHEVERE                         URB VILLA CAROLINA     217‐18 CALLE 502                                                                    CAROLINA            PR         00985
   642323 EDWIN ESTELA SANTIAGO                       PO BOX 728                                                                                                 ARROYO              PR         00714‐0728
   642324 EDWIN ESTRADA                               22 URB VALLE SUR                                                                                           MAYAGUEZ            PR         00680
   642326 EDWIN ESTRADA TORRES                        PO BOX 19936                                                                                               SAN JUAN            PR         00910

   149031 EDWIN F ANDRADEZ ACEVEDO                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642328 EDWIN F GARCIA                              URB FLAMINGO HILLS     182 CALLE 6                                                                         BAYAMON             PR         00957
   642329 EDWIN F GONZALEZ CRUZ                       URB HNOS DAVILAS       294 LUIS M RIVERA                                                                   BAYAMON             PR         00959
   149032 EDWIN F GREEN LOPEZ                         REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642331 EDWIN F MOLINA SAMO                         PO BOX 510                                                                                                 DORADO              PR         00646

   642332 EDWIN F MORALES HERNANDEZ                   HC 02 BOX 15633                                                                                            CAROLINA            PR         00985‐9741
   149033 EDWIN F NARVAEZ TORRES                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149034 EDWIN F QUINONES OSORIO                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149035 EDWIN F RIVERA                              REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149036 EDWIN F RIVERA JIMENEZ                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149037 EDWIN F RIVERA MARRERO                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149038 EDWIN F RODRIGUEZ MUNOZ                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149039 EDWIN F RODRIGUEZ VELEZ                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149041 EDWIN F SANTIAGO ORTIZ                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642334 EDWIN F SURILLO DIAZ                        URB VIVES              73 CALLE B                                                                          GUAYAMA             PR         00784
   149042 EDWIN F VAZQUEZ BERRIOS                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   149043 EDWIN F VIZCARRONDO NIEVES                  REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149044 EDWIN F. FUSTER VELEZ                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642337 EDWIN FAJARDO SANABRIA                      HC 01 BOX 6186                                                                                             JUNCOS              PR         00777
   642338 EDWIN FALCON RAMOS                          P O BOX 1500                                                                                               AGUAS BUENAS        PR         00703
   642339 EDWIN FALU VARGAS                           PO BOX 352                                                                                                 TOA ALTA            PR         00954
   642340 EDWIN FANTAUZZI                             P O BOX 250463                                                                                             AGUADILLA           PR         00604
   642344 EDWIN FELICIANO CARRERO                     HC 56 BOX 34998                                                                                            AGUADA              PR         00602
          EDWIN FELICIANO GONZALEZ Y
   149047 NELSON D SOTO                               REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642346 EDWIN FELICIANO ORTIZ                       HC 01 BOX 8515                                                                                             HATILLO             PR         00659



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  642072 EDWIN FELICIANO PUEYO                        HC 01 BOX 6321                                                                                                    YAUCO              PR         00698‐9711
  642347 EDWIN FELICIANO RIVERA                       PO BOX 1422                                                                                                       MANATI             PR         00674‐0994
  642349 EDWIN FERNANDEZ LUGO                         3097 URB MONTE VERDE                                                                                              MANATI             PR         00674
  149048 EDWIN FERNANDEZ NIEVES                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642350 EDWIN FERNANDEZ PABON                        PO BOX 21365                                                                                                      SAN JUAN           PR         00928
  149049 EDWIN FERNANDEZ RIVERA                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642351 EDWIN FERNANDEZ SOSA                         URB VILLAS DEL SOL            E 1 CALLE 6                                                                         TRUJILLO ALTO      PR         00976
  642352 EDWIN FERRER FERRER                          RR 02 BOX 9724                                                                                                    TOA ALTA           PR         00953
  642353 EDWIN FIGUEROA                               PUERTO REAL                   PUERTO REAL 46 CALLE 2                                                              CABO ROJO          PR         00623
  642356 EDWIN FIGUEROA BURGOS                        PO BOX 145                                                                                                        VILLALBA           PR         00766‐0145
  642357 EDWIN FIGUEROA DELGADO                       PO BOX 518                                                                                                        YABUCOA            PR         00767‐0518
  149050 EDWIN FIGUEROA FIGUEROA                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149052 EDWIN FIGUEROA MARTINEZ                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   642359 EDWIN FIGUEROA MATEO                        257 CALLE LUIS PASTEUR APT C 3                                                                                    SAN JUAN           PR         00925
   642360 EDWIN FIGUEROA OCASIO                       HC 06 BOX 70580                                                                                                   CAGUAS             PR         00725
   642361 EDWIN FIGUEROA OJEDA                        BO RIO ABAJO                   5169 CALLE PRINCIPAL                                                               VEGA BAJA          PR         00693
   149053 EDWIN FIGUEROA PEREZ                        REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642362 EDWIN FIGUEROA RIVERA                       BOX 972                                                                                                           AIBONITO           PR         00705

   642363 EDWIN FIGUEROA RODRIGUEZ                    HC 71 BOX 3121                BO CEDRO ABAJO                                                                      NARANJITO          PR         00719
          EDWIN FIGUEROA
   149055 VIZCARRONDO                                 REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149056 EDWIN FLORES CRUZ                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149057 EDWIN FLORES GRILLASCA                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149059 EDWIN FONSECA AYALA                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149060 EDWIN FONTANEZ QUINONES                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   149061 EDWIN FONTANEZ RODRIGUEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          EDWIN FRANCISCO RIVERA
   642367 SANTAELLA                                   W 26 D 2 URB GLENVIEW                                                                                             PONCE              PR         00730
   149062 EDWIN FRANCO CARRION                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642369 EDWIN FUENTES RIVERA                        PO BOX 933                                                                                                        BARRANQUITAS       PR         00794
   149063 EDWIN FUENTES RODRIGUEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   642372 EDWIN G CARRASQUILLO PEREZ P O BOX 451                                                                                                                        LOIZA              PR         00772

   642373 EDWIN G CASADO BETANCOURT                   P O BOX 227                                                                                                       LAS PIEDRAS        PR         00771
   642374 EDWIN G COLLADO COLLADO                     HC 02 BOX 11997                                                                                                   LAJAS              PR         00667
   149064 EDWIN G DIAZ MONTES                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149065 EDWIN G GAUD BURGOS                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149067 EDWIN G LOPEZ PEREZ                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642375 EDWIN G NIEVES PEREZ                        ALTAGRACIA                    L 23 CALLE 13                                                                       TOA BAJA           PR         00949
   642376 EDWIN G OTERO PEREZ                         HC 2 BOX 6626                                                                                                     MOROVIS            PR         00687
   149068 EDWIN G QUINTERO CARO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642378 EDWIN G REYES VAZQUEZ                       PO BOX 588                                                                                                        LAS PIEDRAS        PR         00771‐0588
   642380 EDWIN G TORRES GONZALEZ                     PO BOX 70166                                                                                                      SAN JUAN           PR         00936‐8166
   642381 EDWIN G TROCHE PORRATA                      HC 2 BOX 10985                                                                                                    MAYAGUEZ           PR         00680
   642382 EDWIN G VALENTIN SANTELL                    BOX MOSQUITO                  PARADA 7 BUZON 1676                                                                 AGUIRRE            PR         00704

   149069 EDWIN G. PASTRANA MAISONET REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642383 EDWIN GALARZA ALICEA       3 CALLE PADRE SERCUS                                                                                                               AGUAS BUENAS       PR         00703‐3303
   642384 EDWIN GALARZA MARTINEZ     PARC SOLEDAD BZ RURAL                          1247 CALLE M                                                                        MAYAGUEZ           PR         00680



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MML ID             NAME                                         ADDRESS 1                  ADDRESS 2              ADDRESS 3                           ADDRESS 4             CITY        STATE    POSTAL CODE       COUNTRY
  642386 EDWIN GALARZA SANABRIA                       50 CALLE SAN MIGUEL                                                                                         GUANICA            PR         00653
  149070 EDWIN GALARZA TORRES                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149071 EDWIN GARCIA                                 REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149072 EDWIN GARCIA COLON                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642388 EDWIN GARCIA GARCIA                          HC 1 BOX 4984                                                                                               YABUCOA            PR         00767
  149074 EDWIN GARCIA LABOY                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149075 EDWIN GARCIA MARRERO                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642390 EDWIN GARCIA MARTINEZ                        BDA COLLAZO 40 9          CARR 2                                                                            VEGA BAJA          PR         00693
  642391 EDWIN GARCIA NATAL                           P O BOX 715                                                                                                 TOA BAJA           PR         00951
  642392 EDWIN GARCIA ORTIZ                           VILLA PALMERA             329 CALLE RIO GRANDE                                                              SAN JUAN           PR         00925
  149076 EDWIN GARCIA PERALES                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642393 EDWIN GARCIA PEREZ                           URB COVADONGA             1E27 CALLE 8                                                                      TOA BAJA           PR         00949
  642394 EDWIN GARCIA RIVERA                          401 A COND TORRES NAVEL                                                                                     YAUCO              PR         00698
  149077 EDWIN GARCIA RODRIGUEZ                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149079 EDWIN GARCIA TORRES                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642396 EDWIN GARCIA VELAZQUEZ                       RR 01 BOX 6201            BO BARRANCA                                                                       GUAYAMA            PR         00784
  642397 EDWIN GERENA                                 JARDINES DE RIO GRANDE    200 CALLE 52 BD                                                                   RIO GRANDE         PR         00745
  149080 EDWIN GERENA RAMOS                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642398 EDWIN GOMEZ GARCIA                           BO SANTA CLARA            CARR 144 9                                                                        JAYUYA             PR         00664
  149083 EDWIN GOMEZ SALDANA                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149084 EDWIN GOMEZ VEGA                             REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642400 EDWIN GONZALEZ                               RR 4 BOX 457                                                                                                BAYAMON            PR         00956
  149085 EDWIN GONZALEZ APONTE                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642402 EDWIN GONZALEZ CABAN                         BO VOLADORAS              PO BOX 454                                                                        MOCA               PR         00676
  642403 EDWIN GONZALEZ COLON                         APARTADO 1057                                                                                               SAN LORENZO        PR         00754
  149087 EDWIN GONZALEZ CORDERO                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642406 EDWIN GONZALEZ CRESPO                        HC 30 BOX 32806                                                                                             SAN LORENZO        PR         00754‐9727
  149088 EDWIN GONZALEZ CRUZ                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149089 EDWIN GONZALEZ DIAZ                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149092 EDWIN GONZALEZ GONZALEZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642409 EDWIN GONZALEZ LASSALLE                      REPARTO METROPOLITANO     964 SE CALLE 26                                                                   SAN JUAN           PR         00921
  642410 EDWIN GONZALEZ MARTELL                       URB LA MONSERRATE         K 11 CALLE 3                                                                      HORMIGUEROS        PR         00660
  642411 EDWIN GONZALEZ MARTINEZ                      PO BOX 8109                                                                                                 HUMACAO            PR         00792
  149095 EDWIN GONZALEZ QUIROZ                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149096 EDWIN GONZALEZ RAMIREZ                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149097 EDWIN GONZALEZ RAMOS                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642413 EDWIN GONZALEZ RENTAL                        PO BOX 454                                                                                                  MOCA               PR         00676
  642414 EDWIN GONZALEZ SAMPAYO                       PO BOX 50071                                                                                                SAN JUAN           PR         00902
  149099 EDWIN GONZALEZ TORRES                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149101 EDWIN GONZALEZ VEGA                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   642415 EDWIN GONZALEZ VELAZQUEZ                    PO BOX 240                                                                                                  SANTA ISABEL       PR         00757
   149102 EDWIN GONZALEZ VELEZ                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   642416 EDWIN GOYCO CORREA                          904 CARR 349                                                                                                MAYAGUEZ           PR         00680
   149103 EDWIN GOYCO ROMERO                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   642417 EDWIN GUTIERREZ TORRES                      P O BOX 561053                                                                                              GUAYANILLA         PR         00656
   149104 EDWIN H BERRIOS LOPEZ                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   149105 EDWIN H CABAN SOTO                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   149106 EDWIN H RIVERA ESTRADA                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   642420 EDWIN H SANTANA LOIS                        RES PADRE RIVERA PALOU    EDIF A APT 13                                                                     HUMACAO            PR         00731

   149107 EDWIN H SEPULVEDA VALENTIN REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   149108 EDWIN H SOTO RODRIGUEZ     REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED



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          EDWIN H. MORALES‐CORTES
   149109 Ph.D.MA.M.B.A.                              REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   642421 EDWIN HERNANDEZ                             RIO GRANDE STATES        K 12 CALLE 19 A                                                                   RIO GRANDE          PR         00745
          EDWIN HERNANDEZ
   642425 ALDARONDO                                   VILLA REALIDAD           189 CALLE FALCON                                                                  RIO GRANDE          PR         00745
   149110 EDWIN HERNANDEZ BAEZ                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   642424 EDWIN HERNANDEZ CASTILLO                    HC 1 BOX 3915                                                                                              QUEBRADILLAS        PR         00678
   149111 EDWIN HERNANDEZ DE LEON                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   149113 EDWIN HERNANDEZ HERNANDEZ REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   642428 EDWIN HERNANDEZ LOPEZ     COUNTRY CLUB                               JWE18 CALLE 227                                                                   CAROLINA            PR         00982

   149114 EDWIN HERNANDEZ RODRIGUEZ REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   642430 EDWIN HERNANDEZ SAEZ       PO BOX 737                                                                                                                  QUEBRADILLA         PR         00678
   149116 EDWIN HERRERA ESTEPA       REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   149118 EDWIN I DECLET FIGUEROA    REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   642432 EDWIN I GONZALEZ           URB LEVITTOWN                             1079 PASEO DAMASCO                                                                TOA BAJA            PR         00949
   149119 EDWIN I GUILLOTY VILLAFANE REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   149120 EDWIN I NAVARRO MERCADO    REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   149121 EDWIN I NIEVES ZAYAS       REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   642433 EDWIN I PEREZ              PARQUE FORESTAL                           B 50 CALLE POPPY                                                                  SAN JUAN            PR         00926
          EDWIN I RIVERA BROKERS
   149122 CORPORATION                P O BOX 270204                                                                                                              SAN JUAN            PR         00927‐0204
   642434 EDWIN I RIVERA MALAVE      PO BOX 270204                                                                                                               SAN JUAN            PR         00927‐0204
   642436 EDWIN I ROSA MORALES       HC 1 BOX 3364                                                                                                               COMERIO             PR         00782
   149123 EDWIN I VILLALON GONZALEZ  REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   149124 EDWIN IBARRA RIOS          REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   642437 EDWIN IRIZARRY             VILLA CAROLINA                            199 30 CALLE 526                                                                  CAROLINA            PR         00983
   149125 EDWIN IRIZARRY COLON       REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   149127 EDWIN IRIZARRY GARCIA      REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   642438 EDWIN IRIZARRY GONZALEZ    URB VILLA CAROLINA                        165 17 CALLE 419                                                                  CAROLINA            PR         00985
   149128 EDWIN IRIZARRY LUGO        REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   642440 EDWIN IRRIZARRY            606 EST DE SAN BENITO                                                                                                       MAYAGUEZ            PR         00680

   149131 EDWIN J ALVARADO MERCADO                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   642443 EDWIN J BERRIOS AROCHO                      HC 01 BOX 6070                                                                                             CIALES              PR         00638
   642444 EDWIN J CAMACHO GARCIA                      P O BOX 607071           SUITE 71                                                                          BAYAMON             PR         00960
   149132 EDWIN J CEDENO LOPEZ                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   642445 EDWIN J CINTRON BERMUDEZ                    URB VILLA SERENA         D7 CALLE CANARIO                                                                  ARECIBO             PR         00612
   149133 EDWIN J CIRINO LACEN                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   149134 EDWIN J COLON BOSQUES                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   642446 EDWIN J CORTIJO CORTIJO                     URB METROPOLIS           H 26 CALLE 12                                                                     CAROLINA            PR         00982‐7440
   642447 EDWIN J CRUZ CRUZ                           PO BOX 961                                                                                                 SAN GERMAN          PR         00683
   642448 EDWIN J DAVILA QUINONEZ                     URB LOMAS VERDES         3 F 9 CALLE MIOSOTIS                                                              BAYAMON             PR         00956
   642449 EDWIN J DE JESUS PEREZ                      BO CHUPACALLO CARR 975                                                                                     CEIBA               PR         00735
   149135 EDWIN J DIAZ CRUZ                           REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   149136 EDWIN J FIGUEROA VEGA                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   149137 EDWIN J FRANCESCHI                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   149138 EDWIN J GONZALEZ SANTIAGO                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   149140 EDWIN J GONZALEZ TORRES                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   642453 EDWIN J GUILLOT                             URB SAN FRANCISCO        1732 CALLE LILA                                                                   SAN JUAN            PR         00927‐6305



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  149142 EDWIN J GUZMAN CASTRO                        REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  642454 EDWIN J HERNANDEZ                            URB VILLA CAROLINA       8‐159 CALLE 419                                                                  CAROLINA            PR         00985

   642455 EDWIN J HERNANDEZ ROSADO                    PUNTO ORO                4416 CALLE EL ANGEL                                                              PONCE               PR         00728‐2049
   149143 EDWIN J JIMENEZ VALENTIN                    REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDWIN J LOPEZ LOPEZ/
   149144 CLIMACTIVA CORP                             REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149145 EDWIN J MARIN MARTINEZ                      REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDWIN J MARTINEZ / ONEIDA
   149146 RIVERA                                      REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDWIN J MARTINEZ
   149147 RIVERA/ENEIDA RIVERA                        REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   149148 EDWIN J MONTALVO RODRIGUEZ REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149149 EDWIN J MONTERO RIVERA     REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642457 EDWIN J MORALES LOZADA     RES SAN JUAN                              PARK I APT 706                                                                   SAN JUAN            PR         00909
   149150 EDWIN J MOUX HOYOS         REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149151 EDWIN J NARVAEZ SANCHEZ    REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149152 EDWIN J NUNEZ RODRIGUEZ    REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149153 EDWIN J OQUENDO REYES      REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149154 EDWIN J OQUENDO VARGAS     REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149155 EDWIN J PAGAN              REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149156 EDWIN J PEREZ BURGOS       REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149158 EDWIN J QUINONES PORRATA   REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642460 EDWIN J RAMOS ORTIZ        SAN CRISTOBAL                             A7B CALLE 3                                                                      BARRANQUITAS        PR         00794
   642073 EDWIN J REYES APONTE       HC 01 BOX 15064                                                                                                            COAMO               PR         00769
   149159 EDWIN J REYES CASTELLANO   REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642441 EDWIN J RIOS RIOS          RR 11 BOX 5870                                                                                                             BAYAMON             PR         00956
   149160 EDWIN J RIVERA ALVAREZ     REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642461 EDWIN J RIVERA BERGANZO    URB JARDINES                              395 JARDIN DE EDEN                                                               VEGA BAJA           PR         00693‐3939
   149161 EDWIN J RIVERA DAVILA      REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149162 EDWIN J RIVERA DIAZ        REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642462 EDWIN J RIVERA FELICIANO   HC 1 BOX 6718                                                                                                              MOCA                PR         00676

   149163 EDWIN J RIVERA MALDONADO                    REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149164 EDWIN J RIVERA REYES                        REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642463 EDWIN J RIVERA VAZQUEZ                      64 CALLE LUIS M ALFARO                                                                                    OROCOVIS            PR         00720

   149165 EDWIN J RODRIGUEZ RODRIGUEZ REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642464 EDWIN J ROSA ALVAREZ        PO BOX 362152                                                                                                             SAN JUAN            PR         00936‐2152
   149166 EDWIN J ROSAS OLIVERAS      REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642465 EDWIN J SANCHEZ MATEO       RES EL EDEN                              EDIF 8 APT 53                                                                    COAMO               PR         00769
   642466 EDWIN J SEDA FERNANDEZ      BOX 70294                                                                                                                 SAN JUAN            PR         00936‐8294
   149168 EDWIN J SOTO                REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149170 EDWIN J TOLEDO LOPEZ        REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   149171 EDWIN J TORRES CANDELARIO                   REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149172 EDWIN J TORRES GONZALEZ                     REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149173 EDWIN J TORRES ROSADO                       REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149174 EDWIN J TORRES TORRES                       REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642469 EDWIN J VELAZQUEZ APONTE                    URB HACIENDA BORINQUEN   409 CALLE EMAJAGUA                                                               CAGUAS              PR         00725
   149175 EDWIN J. TORRES ROMAN                       REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149176 EDWIN JAVIER GONZALEZ                       REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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MML ID               NAME                                       ADDRESS 1                   ADDRESS 2                  ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  149177 EDWIN JESE RIVERA PEREZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149178 EDWIN JIMENEZ BURGOS                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149179 EDWIN JIMENEZ CARDONA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  642470 EDWIN JIMENEZ COLLAZO                        HC 03 BOX 9016                                                                                                   BARRANQUITAS      PR         00794
  642472 EDWIN JIMENEZ IRIZARRY                       MANSIONES DE RIO PIEDRAS   484 CALLE LIRIO                                                                       SAN JUAN          PR         00926

   642473 EDWIN JIMENEZ MALDONADO                     COLINAS DE GURABO          BUZON 14                                                                              GURABO            PR         00778
   642474 EDWIN JIMENEZ OLIVERAS                      URB RIVERVIEW              AA 2 CALLE 22                                                                         BAYAMON           PR         00957
   149180 EDWIN JIMENEZ ROBLES                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149181 EDWIN JIMENEZ RODRIGUEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149182 EDWIN JOEL SOLER RUIZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149184 EDWIN JORGE ROJAS                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149185 EDWIN JOSE CRUZ BURGOS                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642475 EDWIN JOSE MARTINEZ                         PO BOX 820                                                                                                       CAMUY             PR         00627‐0820
   642476 EDWIN JR AUTO ELECTRIC                      PO BOX 1284                                                                                                      MOCA              PR         00676
   149187 EDWIN JR. AUTO                              REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      1672 CALLE JUANES SECTOR
   642477 EDWIN JUAN MARTINEZ                         CHIVAS                                                                                                           QUEBRADILLAS      PR         00678

   149188 EDWIN JUAN NEGRON VARGAS                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149189 EDWIN JUAN TORO ACOSTA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642478 EDWIN JUARBE RODRIGUEZ                      P O BOX 705                                                                                                      ISABELA           PR         00622
   149191 EDWIN L CORDERO IRIZARRY                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642479 EDWIN L DIAZ CINTRON                        URB SANTA MARIA            A 12 CALLE 4                                                                          CEIBA             PR         00735
   149192 EDWIN l GIMENEZ REYES                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149194 EDWIN L LEBRON FUENTES                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149196 EDWIN L PORTALATIN PEREZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149197 EDWIN L VEGA COLON                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642480 EDWIN LABOY GARCIA                          PO BOX 240                                                                                                       SANTA ISABEL      PR         00757
   149198 EDWIN LABOY RIVERA                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642481 EDWIN LABRADOR ZAYAS                        BONNEVILLE MANON           A6 24 CALLE 45                                                                        CAGUAS            PR         00725

   149199 EDWIN LACEN CARRASQUILLO                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642482 EDWIN LAGARES CHACON                        VICTOR ROJAS II            67 CALLE 10                                                                           ARECIBO           PR         00612
   642483 EDWIN LARACUENTE BAEZ                       HC 1 BOX 22888                                                                                                   CABO ROJO         PR         00623
   149200 EDWIN LASANTA LASANTA                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642484 EDWIN LAUSELL RODRIGUEZ                     HC 1 BOX 14748                                                                                                   AGUADILLA         PR         00603
   642485 EDWIN LAZA PEREZ                            P O BOX 81                                                                                                       VEGA LATA         PR         00692
   642486 EDWIN LEBRON LUNA                           SECTOR CAMPO BELLO         RR 2 BOX 5643                                                                         CIDRA             PR         00739
   642487 EDWIN LEBRON RAMOS                          RR 1 BZN 37149                                                                                                   SAN SEBASTIAN     PR         00685
   149202 EDWIN LEBRON RODRIGUEZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642488 EDWIN LEBRON TORRES                         1133 WHITE PLAINS RD                                                                                             BRONX             NY         10472
   642489 EDWIN LEON SANTIAGO                         HC 43 BOX 10911                                                                                                  CAYEY             PR         00736
   642490 EDWIN LINARES COSME                         RES VIRGILIO DAVILA        EDIF 30 APT 298                                                                       BAYAMON           PR         00961
   642491 EDWIN LIPP CARRASQUILLO                     PO BOX 1317                                                                                                      LUQUILLO          PR         00773
   642492 EDWIN LLUCH AYALA                           129 CALLE 25 DE JULIO                                                                                            GUANICA           PR         00653
   149203 EDWIN LOPEZ                                 REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642493 EDWIN LOPEZ AUDIFRED                        PMP 167 PO BOX 2017                                                                                              LAS PIEDRAS       PR         00771
   642494 EDWIN LOPEZ CLAUDIO                         URB SANTIAGO IGLESIA       1387 CALLE ALONSO TORRES                                                              SAN JUAN          PR         00921
   642495 EDWIN LOPEZ DEL VALLE                       HC 04 BOX 48117                                                                                                  CAGUAS            PR         00725
   149204 EDWIN LOPEZ DUQUE                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642497 EDWIN LOPEZ LAMBOY                          HC 01 BOX 7813                                                                                                   SAN GERMAN        PR         00683
   149206 EDWIN LOPEZ LOPEZ                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  149207 EDWIN LOPEZ MARTINEZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642499 EDWIN LOPEZ MIRANDA                          10 CAMPO ALEGRE                                                                                                     UTUADO             PR         00641
  642500 EDWIN LOPEZ MORALES                          HC 57 BOX 12156                                                                                                     AGUADA             PR         00602
  642501 EDWIN LOPEZ PACHECO                          PO BOX 865                                                                                                          CAROLINA           PR         00986‐0865
  149208 EDWIN LOPEZ PEREZ                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642502 EDWIN LOPEZ RODRIGUEZ                        PO BOX 257                                                                                                          AGUIRRE            PR         00704
  642504 EDWIN LOPEZ RUIZ                             PO BOX 824                                                                                                          AGUADA             PR         00602
  149211 EDWIN LOPEZ SANCHEZ                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642506 EDWIN LOPEZ SANTIAGO                         HC 1 BOX 6046                                                                                                       OROCOVIS           PR         00720
  642507 EDWIN LOURIDO CONTES                         BO SANTANA                  CARR 2 KM 68 3 BUZON 211 C                                                              ARECIBO            PR         00612
  642508 EDWIN LOZADA SANCHEZ                         HC 4 BOX 5147                                                                                                       HUMACAO            PR         00791
  642509 EDWIN LOZADA VELEZ                           2133 AVE CARIBE                                                                                                     ENSENADA           PR         00647
  149212 EDWIN LUGO CRUZ                              REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642510 EDWIN LUGO FIGUEROA                          URB VILLA DE LOS SANTOS     15 CALLE Y C 9                                                                          ARECIBO            PR         00612
  642512 EDWIN LUGO GUZMAN                            COND LA MANCHA APT 1115     6300 AVE ISLA VERDE                                                                     CAROLINA           PR         00979‐7157
  149213 EDWIN LUGO MATIAS                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149214 EDWIN LUGO RIOS                              REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149215 EDWIN LUGO RIVERA                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149217 EDWIN LUNA ROLON                             REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642514 EDWIN LUQUIS RIVERA                          156 URB JARD DE GIRASOLES                                                                                           VEGA BAJA          PR         00693
  642515 EDWIN M CRUZ RODRIGUEZ                       28 CAMINO PUEBLO SECO                                                                                               TRUJILLO ALTO      PR         00976
         EDWIN M CRUZ Y WANDA A
  149218 VIERA                                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
         EDWIN M DE LA CRUZ
  642516 VELAZQUEZ                                    PO BOX 2                                                                                                            RINCON             PR         00627

   149219 EDWIN M FIGUEROA MARTINEZ REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   642517 EDWIN M GARCIA LOPEZ      RES QUINTANA EDIF 30                          APT 30 APT 440                                                                          SAN JUAN           PR         00917

   149220 EDWIN M GONZALEZ ACEVEDO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
                                                                                  F 15 CALLE MANUEL SOTO
   642518 EDWIN M GONZALEZ GONZALEZ                   URB VILLAS DE RIO GRANDE    RIVERA                                                                                  RIO GRANDE         PR         00745
   642519 EDWIN M GONZALEZ SOTO                       URB VISTA AZUL              M11 CALLE 12                                                                            ARECIBO            PR         00612
   149221 EDWIN M JIMENEZ LOPEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   149222 EDWIN M LOPEZ DE JESUS                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   149223 EDWIN M LOPEZ RIVERA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   642520 EDWIN M LOPEZ TERRON                        HC 05 BOX 25830                                                                                                     CAMUY              PR         00627
          EDWIN M LOZADA
   642521 CARRASQUILLO                                URB SIERRA BAYAMON          38‐2 CALLE 33                                                                           BAYAMON            PR         00960
   642522 EDWIN M ORTEGA CINTRON                      RR 4 BOX 26432                                                                                                      TOA ALTA           PR         00953
   149225 EDWIN M REYES LOPEZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   149226 EDWIN M REYES MORENO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   149227 EDWIN M RIVERA ROSADO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   149228 EDWIN M RIVERA VEGA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   642524 EDWIN M RODRIGUEZ DAVILA                    URB SALIMAN                 D 2 CALLE 4                                                                             SALINAS            PR         00751
   149229 EDWIN M SILVA BRETANA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   149230 EDWIN M TORRES RAMOS                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   149231 EDWIN M TORRES VADELL                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   149232 EDWIN M VAZQUEZ RODRIGUEZ REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   149233 EDWIN M ZAMBRANA          REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   149234 EDWIN M. SERRANO ROMERO                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED



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  642525 EDWIN MALAVE GOMEZ                           P O BOX 1301                                                                                                        LAS PIEDRAS        PR           00771‐1301
  642526 EDWIN MALAVET RIVERA                         25 ALTOS CALLE DEGETAU                                                                                              JUANA DIAZ         PR           00795

   149235 EDWIN MALDONADO BURGOS                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
          EDWIN MALDONADO
   149236 CONCEPCION                                  REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   642528 EDWIN MALDONADO MALTES                      P O BOX 3                                                                                                           GARROCHALES        PR           00652
   642529 EDWIN MALDONADO MEDINA                      PO BOX 23015                                                                                                        SAN JUAN           PR           00931
   642530 EDWIN MALDONADO NIEVES                      URB VALENCIA                  309 CALLE ORENCE APT L 1                                                              SAN JUAN           PR           00923
   149238 EDWIN MALDONADO RIVERA                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   149239 EDWIN MALDONADO ROMERO                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   642534 EDWIN MALDONADO ROSA                        518 CALLE WILLIAM JONES                                                                                             SAN JUAN           PR           00915

   642535 EDWIN MANTILLA RODRIGUEZ                    VILLA LUNA                    611 CALLE PITIRRE                                                                     ISABELA            PR           00662
   642537 EDWIN MARCANO RIVERA                        HC 01 BOX 11357                                                                                                     ARECIBO            PR           00612
          EDWIN MARCHANY DBA
   642538 MARCHANY S SAFE JR                          P O BOX 581                                                                                                         CAROLINA           PR           00986
   642539 EDWIN MARGOLLA MARTINEZ                     BOX 514                                                                                                             UTUADO             PR           00641
   149241 EDWIN MARQUEZ FLORES                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   642541 EDWIN MARRERO CRUZADO                       URB MONACO III                558 CALLE RANIER                                                                      MANATI             PR           00674

   149242 EDWIN MARRERO MALDONADO REDACTED                                          REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   149243 EDWIN MARRERO ROCA      REDACTED                                          REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   642542 EDWIN MARRERO RODRIGUEZ                     URB LEVITTOWN                 AC 12 CALLE MARGARITA                                                                 TOA BAJA           PR           00949
   642543 EDWIN MARTELL GONZALEZ                      HC 1 BOX 13952                                                                                                      COAMO              PR           00769
          EDWIN MARTELL VALENTIN Y
   149244 LISETTE MOLINA                              REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   642544 EDWIN MARTINEZ                              PO BOX 494                                                                                                          VEGA BAJA          PR           00694
   642545 EDWIN MARTINEZ ACOSTA                       URB ALOMAR                    B 3 CALLE B                                                                           LUQUILLO           PR           00773

   642546 EDWIN MARTINEZ CARTAGENA                    PO BOX 1196                                                                                                         OROCOVIS           PR           00720
   149245 EDWIN MARTINEZ CORREA                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   642549 EDWIN MARTINEZ DONES                        HC 2 BOX 26291                                                                                                      SAN LORENZO        PR           00754
   642552 EDWIN MARTINEZ MARTINEZ                     BO RIO ABAJO                  5082 CALLE PRINCIPAL                                                                  VEGA BAJA          PR           00693
   149247 EDWIN MARTINEZ ORTIZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   642553 EDWIN MARTINEZ PAUTENO                      URB ROUND HILL                554CALLE ORQUIDEA                                                                     TRUJILLO ALTO      PR           00976
   149248 EDWIN MARTINEZ RAMOS                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   642554 EDWIN MARTINEZ REMIGIO                      PO BOX 534                                                                                                          TOA ALTA           PR           00954

   642555 EDWIN MARTINEZ REYES                        149 AVE LOS PATRIOTAS STE 9                                                                                         LARES              PR           00669
   149249 EDWIN MARTINEZ RIVERA                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   149250 EDWIN MARTINEZ TORRES                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   642557 EDWIN MARTINEZ VAQUEZ                       URB ALTURAS DE RIO GRANDE     V1118 CALLE 21                                                                        RIO GRANDE         PR           00745
   149251 EDWIN MARTINEZ VAZQUEZ                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   149252 EDWIN MARTY SOTO                            REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   642558 EDWIN MATEO ROSADO                          HC 01 BOX 14150                                                                                                     COAMO              PR           00769
   149253 EDWIN MATIAS VELEZ                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   149254 EDWIN MATOS MALDONADO                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   149255 EDWIN MATOS PENA                            REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   149256 EDWIN MATOS VELAZQUEZ                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED



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  149257 EDWIN MAYSONET MORALES                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149259 EDWIN MEDERO ROHENA                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  642560 EDWIN MEDINA                                 P O BOX 250333                                                                                                        AGUADILLA         PR         00604 0333
  149261 EDWIN MEDINA CRESPO                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      21506 SECTOR VILLAS DE
   642561 EDWIN MEDINA CRUZ                           GUAVATE                                                                                                               CAYEY             PR         00736
                                                      2095 CRUGER AVE BASEMENT
   642562 EDWIN MEDINA DEL VALLE                      APT                                                                                                                   BRONX             NY         10462
   149262 EDWIN MEDINA GONZALEZ                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642563 EDWIN MEDINA MENDEZ                         HC 1 BOX 6138                                                                                                         CAMUY             PR         00627
   149263 EDWIN MEDINA PACHECO                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642564 EDWIN MEDINA PEREZ                          17 RUTA 10                                                                                                            ISABELA           PR         00662
   642565 EDWIN MEDINA RIVERA                         PO BOX 1289                                                                                                           JAYUYA            PR         00664
   642567 EDWIN MEJIAS PEREZ                          HC 2 BOX 17545                                                                                                        SAN SEBASTIAN     PR         00685
   642568 EDWIN MELENDEZ ADORNO                       P O BOX 21365                                                                                                         SAN JUAN          PR         00928
   642569 EDWIN MELENDEZ COLON                        2 DA EXT PUNTO ORO             C 44 CALLE 1                                                                           PONCE             PR         00731
   149264 EDWIN MELENDEZ DE JESUS                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

          EDWIN MELENDEZ MONSERRATE ALTURAS DE INTERAMERICANA
   149265 DBA EDWIN AUTO            CALLE 11 Q‐2                                                                                                                            TRUJILLA ALTO     PR         00976‐0000
   149266 EDWIN MELENDEZ PABON      REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149267 EDWIN MELENDEZ RAMOS      REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   642571 EDWIN MELENDEZ RODRIGUEZ                    P O BOX 51769                                                                                                         TOA BAJA          PR         00950
   642573 EDWIN MELENDEZ ROSARIO                      URB LEVITTOWN                  EC 4 CALLE ARTURO CADILLA                                                              TOA BAJA          PR         00949
   149268 EDWIN MELENDEZ SANCHEZ                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642574 EDWIN MENDEZ                                HC 2 BOX 6171                                                                                                         RINCON            PR         00677
   642575 EDWIN MENDEZ DE JESUS                       HC 02 BOX 7292                                                                                                        YABUCOA           PR         00767
   149269 EDWIN MENDEZ RIOS                           REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149270 EDWIN MENDEZ SANTONI                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149272 EDWIN MENDEZ TORO                           REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642074 EDWIN MENDOZA MENDOZA                       JARD DE VEGA BAJA              65 CALLE KD                                                                            VEGA BAJA         PR         00693
   149273 EDWIN MENDOZA PIZARRO                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642578 EDWIN MERCADO                               RIO GRANDE STATE               U 13 CALLE 22                                                                          RIO GRANDE        PR         00745
   642580 EDWIN MERCADO MARTINEZ                      BO PARABUEYON                  BOX 56 A                                                                               CABO ROJO         PR         00623
   642581 EDWIN MERCADO OLMEDA                        HC 2 BOX 12914                                                                                                        AGUAS BUENAS      PR         00703

   149275 EDWIN MERCADO VILLANUEVA                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642582 EDWIN MINER SOLA                            D 4 CALLE TULANE               URB SANTA ANA                                                                          SAN JUAN          PR         00927
   642584 EDWIN MIRANDA CASANOVA                      CABRIDGE PARK                  H 14 CALLE YORK                                                                        SAN JUAN          PR         00926

   642585 EDWIN MIRANDA CRESPO                        RESIDENCIA CUSTA LAS PIEDRAS   EDIF 2 APT 12                                                                          MAYAGUEZ          PR         00680
   642586 EDWIN MIRANDA MORALES                       EXT ONEILL                     GG 162 CALLE 3                                                                         MANATI            PR         00674
   149277 EDWIN MIRANDA REYES                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642587 EDWIN MIRANDA RIVERA                        PO BOX 1466                                                                                                           JAYUYA            PR         00664
   149278 EDWIN MIRANDA ROSA                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642588 EDWIN MOLINA COLON                          VILLA CAROLINA                 72‐16 CALLE 60                                                                         CAROLINA          PR         00985
   149279 EDWIN MOLINA FIGUEROA                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149280 EDWIN MOLINA GONZALEZ                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642590 EDWIN MOLINA RODRIGUEZ                      HC 3 BOX 13797                                                                                                        COROZAL           PR         00783
          EDWIN MOLINA/ MARGARITA
   149281 MELENDEZ                                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149282 EDWIN MONTA¥EZ FELICIANO                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  149284 EDWIN MONTAÐEZ MORALES                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  642591 EDWIN MONTALVO ARROYO                        CAPARRA TERRACE            813 CALLE 17 SO                                                                           SAN JUAN          PR         00921
  642593 EDWIN MONTALVO SANABRIA                      RES SABALOS NUEVO          EDIF 23 APT 231                                                                           MAYAGUEZ          PR         00680

   149285 EDWIN MONTALVO SANTIAGO                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149286 EDWIN MONTANEZ MORALES                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642595 EDWIN MONTERO MARTINEZ                      BO TETUAN                  1 CARR 613 KM 5 8                                                                         UTUADO            PR         00641
   149287 EDWIN MONTERO ORTIZ                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642596 EDWIN MONTERO PEREZ                         PO BOX 9023207                                                                                                       SAN JUAN          PR         00902‐3207
   149288 EDWIN MONTERO RIVERA                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642598 EDWIN MONTES MIRANDA                        HC 1 BOX 5335                                                                                                        CIALES            PR         00638
   642599 EDWIN MONTES ORTIZ                          HC 01 BOX 45335                                                                                                      CIALES            PR         00638
   642601 EDWIN MORALES                               URB LEVITTOWN              3286 PASEO COLINA                                                                         TOA BAJA          PR         00949

   642602 EDWIN MORALES ALVARADO                      URB SANTIAGO IGLESIAS      1772 CALLE PABLO VEGA SANTOS                                                              SAN JUAN          PR         00921
   642603 EDWIN MORALES CORTES                        PO BOX 22047                                                                                                         SAN JUAN          PR         00931‐2047
   149290 EDWIN MORALES PEREZ                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642608 EDWIN MORALES RUIZ                          HC 4 BOX 56504                                                                                                       HATILLO           PR         00659
   149292 EDWIN MORALES SOTO                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642609 EDWIN MORALES TORRES                        P O BOX 1583                                                                                                         RINCON            PR         00677
   642612 EDWIN MORENO MORALES                        URB VILLA DEL CARMEN       JJ 13 AVE CONSTANCIA                                                                      PONCE             PR         00731
   642613 EDWIN MORENO ROSA                           PO BOX 40825                                                                                                         SAN JUAN          PR         00940
   642614 EDWIN MORENO TORRES                         PO BOX 3000 SUITE 255                                                                                                COAMO             PR         00769
   642615 EDWIN MOULIER DAVILA                        PMB 3 BOX 1267                                                                                                       NAGUABO           PR         00719
          EDWIN MUNIZ ALVAREZ E
   149293 YOLANDA CRUZ                                REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149294 EDWIN MUNIZ BELTRAN                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149299 EDWIN MUNIZ PEREZ                           REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149301 EDWIN MUNIZ RIOS                            REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149303 EDWIN MUNIZ RUBERT                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149304 EDWIN MUNOZ GARCIA                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149305 EDWIN MUNOZ NIEVEZ                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   642617 EDWIN N ALICEA ALMODOVAR                    HC 10 BOX 7641                                                                                                       SABANA GRANDE     PR         00637
   149307 EDWIN N GARCIA ARROYO                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149308 EDWIN N MARRERO MENDEZ                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EDWIN N. MILLAYES
   149309 VILLARRUBIA                                 REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642620 EDWIN NATAL MARTINEZ                        HC4 BOX 48585                                                                                                        AGUADILLA         PR         00603‐9788

   642621 EDWIN NAVARRO CARABALLO                     URB SAN ANTONIO            10 CALLE 2                                                                                AGUAS BUENAS      PR         00703
          EDWIN NAVAS COLON DBA
   149312 CLASSIC PRINTING                            & PROMOTIONAL PRODUCTS     P O BOX 9164                                                                              BAYAMON           PR         00960‐9164
   149314 EDWIN NAZARIO NIEVES                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642622 EDWIN NEGRON CASTILLO                       PO BOX 21365                                                                                                         SAN JUAN          PR         00928
   642623 EDWIN NEGRON COLON                          P O BOX 699                                                                                                          GUANICA           PR         00653
   149315 EDWIN NEGRON LAUREANO                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149316 EDWIN NEGRON MILLAN                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642624 EDWIN NEGRON ROSADO                         RES JARD DE CAPARRA        25 AVE RUIZ SOLER APT 171                                                                 BAYAMON           PR         00959‐7836
   149317 EDWIN NEGRON TORRES                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149318 EDWIN NELSON QUINONES                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642627 EDWIN NIEVES DEIDA                          13 CALLE PETRONILA MATOS                                                                                             CAMUY             PR         00627
   149319 EDWIN NIEVES RODRIGUEZ                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  642629 EDWIN NORIEGA RIVERA                         VILLA CAROLINA             21 C/ 33 B1                                                                      CAROLINA           PR         00985
  149321 EDWIN NUNEZ                                  REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149322 EDWIN NUNEZ CALDERON                         REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149323 EDWIN NUNEZ CARABALLO                        REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149324 EDWIN NUNEZ HERNANDEZ                        REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149325 EDWIN NUNEZ RODRIGUEZ                        REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149327 EDWIN NUNEZ SANTIAGO                         REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642630 EDWIN O AGOSTO DELGADO                       PO BOX 783                                                                                                  LAS PIEDRAS        PR         00771
  149328 EDWIN O ALBINO RIVERA                        REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149329 EDWIN O BERDECIA PEREZ                       REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149330 EDWIN O CINTRON ALAMO                        REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149331 EDWIN O CRUZ RODRIGUEZ                       REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149332 EDWIN O FIGUEROA FLORES                      REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   642631 EDWIN O MALARET SANTIAGO                    ALTURAS DEL ENCANTO        N L CALLE 9                                                                      JUANA DIAZ         PR         00795
   149333 EDWIN O MARRERO SANCHEZ                     REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642632 EDWIN O ORTIZ MARQUEZ                       175 CARIATI BLVD                                                                                            MERIDEN            CT         06451‐3683
   149334 EDWIN O PEREZ LUGO                          REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149335 EDWIN O PRIETO TORRES                       REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149336 EDWIN O RIVERA GONZALEZ                     REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642633 EDWIN O RIVERA RODRIGUEZ                    29 CALLE ANTONIO VAZQUEZ                                                                                    BARRANQUITAS       PR         00794

   642634 EDWIN O ROBLES RODRIGUEZ                    PO BOX 870                                                                                                  OROCOVIS           PR         00720

   642635 EDWIN O RODRIGUEZ BERGOLLO URB VILLA CONTESSA                          Q 4 CALLE TUDOR                                                                  BAYAMON            PR         00956
   149337 EDWIN O RODRIGUEZ CLASS    REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642636 EDWIN O RODRIGUEZ RUIZ     HC 02 BOX 7264                                                                                                               CAMUY              PR         00627‐9111
   642637 EDWIN O ROMAN GONZALEZ     228 CALLE TAMARINDO                                                                                                          ARECIBO            PR         00612
   642075 EDWIN O ROMERO RIVERA      URB PURA BRISAS                             789 CALLE HUCAR                                                                  MAYAGUEZ           PR         00680‐9346
   149340 EDWIN O TIRADO FALCON      REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642638 EDWIN O TORRES LOPEZ       URB CAPARRA TERRACE                         SO 75 CALLE 34                                                                   SAN JUAN           PR         00921
   642639 EDWIN O TORRES MORALES     HC 2 BOX 12424                                                                                                               SAN GERMAN         PR         00683
   149341 EDWIN O VAZQUEZ TORRES     REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149342 EDWIN O VEGA MALAVE        REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   149343 EDWIN O VILLANUEVA ARSUAGA REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   149345 EDWIN O. GONZALEZ VAZQUEZ                   REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642641 EDWIN OCASIO BOSA                           P O BOX 804                                                                                                 VEGA ALTA          PR         00692
   642642 EDWIN OCASIO GARCIA                         HC 80 BOX 8246                                                                                              DORADO             PR         00646
   149348 EDWIN OCASIO SANTIAGO                       REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149349 EDWIN OCASIO SOTO                           REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149350 EDWIN OCASIO VAZQUEZ                        REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149351 EDWIN OCASIO VEGA                           REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642645 EDWIN OJEDA REYES                           PO BOX 1061                                                                                                 NAGUABO            PR         00718‐1061
   149355 EDWIN OLAVARRIA AYALA                       REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   642646 EDWIN OLIVENCIA RODRIGUEZ                   HC 2 BOX 6413                                                                                               LARES              PR         00669
   642647 EDWIN OLIVERA PATRON                        HC 01 BOX 7193                                                                                              GUAYANILLA         PR         00636
   642648 EDWIN OLIVERA SANCHEZ                       HC 01 BOX 7193                                                                                              GUAYANILLA         PR         00656
   149356 EDWIN OLIVERAS TORRES                       REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642649 EDWIN OLIVERAS TROCHE                       URB MEDINA                 E 40 CALLE 15                                                                    ISABELA            PR         00662 3843
   642650 EDWIN OLIVERO PAGAN                         URB VILLA VERDE            72 CALLE D                                                                       CAYEY              PR         00736



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  642651 EDWIN OLIVO MORALES                          URB COMPO ALEGRE            D 2 CALLE ROBLES                                                                      BAYAMON            PR           00956
  642652 EDWIN OMAR COSME FARIA                       HC 01 BOX 2309                                                                                                    SABANA HOYOS       PR           00688

   149357 EDWIN OMAR MOLINA TORRES                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   642653 EDWIN OMAR RAMOS LEBRON                     PO BOX 837                                                                                                        MAUNABO            PR           00707

   642654 EDWIN OMAR ROSADO TORRES                    MSC 158 PO BOX 6004                                                                                               VILLALBA           PR           00776

   642655 EDWIN OMAR TORRES LUCIANO                   P O BOX 396                                                                                                       ADJUNTAS           PR           00601
   642656 EDWIN OQUENDO GARCIA                        HC 02 BOX 6945                                                                                                    ADJUNTAS           PR           00601
   642657 EDWIN OQUENDO MELENDEZ                      URB VILLA CONTESSA          P7 CALLE KENT                                                                         BAYAMON            PR           00965
   149358 EDWIN ORFILA HERNANDEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   149359 EDWIN ORTEGA CABRERA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   642660 EDWIN ORTIZ ALBINO                          HC 1 BOX 7180                                                                                                     GUAYANILLA         PR           00656
   149360 EDWIN ORTIZ COLA                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   642661 EDWIN ORTIZ CORDERO                         HC 2 BOX 10789                                                                                                    YAUCO              PR           00689
   149361 EDWIN ORTIZ ESQUILIN                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   642668 EDWIN ORTIZ ORTIZ                           URB VALLE COSTERO           3536 CALLE CORACOL                                                                    SANTA ISABEL       PR           00757

   642669 EDWIN ORTIZ PEREZ                           246 CALLE ANTONIO RODRIGUEZ                                                                                       CATA¥O             PR           00962
   642670 EDWIN ORTIZ RAMOS                           BO LA PLATA                 G13 CALLE RUBI                                                                        CAYEY              PR           00736
   149363 EDWIN ORTIZ RIVERA                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   149365 EDWIN ORTIZ RIVERA III                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   149366 EDWIN ORTIZ RODRIGUEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   642674 EDWIN ORTIZ SAEZ                            HC 71 BOX 1638                                                                                                    NARANJITO          PR           00719
   642675 EDWIN ORTIZ TORRES                          PO BOX 7126                                                                                                       PONCE              PR           00732
   149367 EDWIN ORTIZ ZAMBRANA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   642676 EDWIN OSORIO RAMOS                          URB SAN ANTONIO             19A CALLE 2                                                                           AGUAS BUENAS       PR           00703
   642677 EDWIN OTERO                                 P O BOX 1772                                                                                                      OROCOVIS           PR           00720
   149368 EDWIN OTERO ALAYON                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   642678 EDWIN OTERO JIMENEZ                         BOX 5029                    BO MARICAO                                                                            VEGA ALTA          PR           00692
   149371 EDWIN P LOPEZ CUEVAS                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   149372 EDWIN PABELLON NIEVES                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   642679 EDWIN PABON PACHECO                         254 CALLE SANTA CECILIA                                                                                           SAN JUAN           PR           00912
   642680 EDWIN PABON RODRIGUEZ                       P O BOX 2135                                                                                                      GUAYAMA            PR           00785
          EDWIN PACHECO ANTONETTI/
   149373 MAXIMO SOLAR                                REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
                                                                                  433 CALLE PADRE SANTIAGO
   642681 EDWIN PACHECO MARTINEZ                      VILLAS DE RIO CANAS         GUERRA                                                                                PONCE              PR           00731
   149374 EDWIN PACHECO PACHECO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   149375 EDWIN PACHECO QUINONES                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   642682 EDWIN PADILLA                               COAMO HOUSING 10 74                                                                                               COAMO              PR           00769
   642684 EDWIN PADILLA ORTIZ                         URB COUNTRY CLUB            PC 14 CALLE 266                                                                       CAROLINA           PR           00982
   642685 EDWIN PADILLA RODRIGUEZ                     PO BOX 56                                                                                                         CABO ROJO          PR           00623
   642687 EDWIN PADRO RIOS                            PO BOX 362955                                                                                                     SAN JUAN           PR           00936
   642688 EDWIN PADUA VALENTIN                        P O BOX 3470                                                                                                      CAROLINA           PR           00984
   149379 EDWIN PAGAN GONZALEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   642690 EDWIN PAGAN LABOY                           PO BOX 7126                                                                                                       PONCE              PR           00732
   642692 EDWIN PALERMO RIVERA                        PO BOX 4776                                                                                                       CAROLINA           PR           00984‐4776
   149380 EDWIN PANTOJA RODRIGUEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   642693 EDWIN PARIS DE JESUS                        URB VERDE MAR               1008 CALLE 44                                                                         PUNTA SANTIAGO     PR           00741
   642694 EDWIN PARRILLA MELENDEZ                     URB VILLA DE LOIZA          LL 16 CALLE 41                                                                        CANOVANAS          PR           00729



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  149381 Edwin PeNa Hernandez                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149382 EDWIN PEREIRA RODRIGUEZ                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  642696 EDWIN PEREZ ACOSTA                           PUERTO REAL                    693 CALLE AGUEYBANA                                                                   CABO ROJO         PR         00623
  149383 EDWIN PEREZ ALVAREZ                          REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149385 EDWIN PEREZ ARROYO                           REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  642697 EDWIN PEREZ AYALA                            DONA ELENA ALTO                HC 03 BOX 7550                                                                        COMERIO           PR         00782
  642698 EDWIN PEREZ BERRIOS                          SABANA LLANA                   1011 CALLE COLL                                                                       SAN JUAN          PR         00926

   642700 EDWIN PEREZ CARABALLO                       DA 17 A CALLE LAGO GUAJATACA                                                                                         TOA BAJA          PR         00949

   642703 EDWIN PEREZ CRUZ/DBA/VIRATE P O BOX 29664                                                                                                                        SAN JUAN          PR         00929 0000
   642704 EDWIN PEREZ DE LEON         CAMINO DEL MAR                                 7031 PLAZA ARENALES                                                                   TOA BAJA          PR         00949
   642076 EDWIN PEREZ GUZMAN          RR 6 BOX 10612                                                                                                                       SAN JUAN          PR         00926
   149388 EDWIN PEREZ JIMENEZ         REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642707 EDWIN PEREZ LOPEZ           URB BUENAVENTURA                               1186 CALLE MAGNOLIA                                                                   MAYAGUEZ          PR         00682‐1260
   642708 EDWIN PEREZ LORAN           URB CONSTANCIA                                 3156 AVE JULIO E MONAGAS                                                              PONCE             PR         00717
   149389 EDWIN PEREZ MELENDEZ        REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EDWIN PEREZ MELENDEZ Y
   149390 SANDRA M PEREZ              REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642710 EDWIN PEREZ NEVAREZ         URB MONTE SUBASIO                              K 8 CALLE 13                                                                          GURABO            PR         00778
   149391 EDWIN PEREZ PIETRI          REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149392 EDWIN PEREZ RODRIGUEZ       REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642711 EDWIN PEREZ ROMAN           PARC PUERTO REAL                               15 CALLE 7                                                                            CABO ROJO         PR         00623
   642712 EDWIN PEREZ ROMERO          PO BOX 1258                                                                                                                          RIO GRANDE        PR         00745‐1258
   642713 EDWIN PEREZ ROSARIO         BOX 750                                                                                                                              LARES             PR         00631
   149393 EDWIN PEREZ SANCHEZ         REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642695 EDWIN PEREZ VEGA            PO BOX 1166                                                                                                                          CABO ROJO         PR         00623
   149394 EDWIN PINA                  REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149395 EDWIN PINALES FLORES        REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149396 EDWIN PINEIRO               REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149397 EDWIN PINERO MORALES        REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   642715 EDWIN PIZARRO CARRASQUILLO                  BO BUENA VISTA                 102 CALLE ROBLE                                                                       CAROLINA          PR         00985
   149398 EDWIN PIZARRO VELEZ                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EDWIN PRADO GALARZA H/N/C
   642717 PRADO LAW                                   COND DEL PARQUE PISO 8         403 CALLE DEL PARQUE                                                                  SAN JUAN          PR         00908
   149399 EDWIN PUJOLS ROBLES                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642718 EDWIN QUILES MENDEZ                         COND JARD DE CUENCA            EDIF 103 APTO 1 A                                                                     SAN JUAN          PR         00918
   642719 EDWIN QUILES RODRIGUEZ                      HC 2 BOX 10340                                                                                                       YAUCO             PR         00698‐9674
   642720 EDWIN QUILES ROSARIO                        PO BOX 2044                                                                                                          CAYEY             PR         00737
   149400 EDWIN QUINONES ACOSTA                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149401 EDWIN QUINONES ARROYO                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149402 EDWIN QUINONES DEL VALLE                    REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   149403 EDWIN QUINONES MALDONADO REDACTED                                          REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149405 EDWIN QUINONES TRUJILLO  REDACTED                                          REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EDWIN QUINONEZ / NILDA
   149406 GARCIA                   REDACTED                                          REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149407 EDWIN QUINTANA VARGAS    REDACTED                                          REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642721 EDWIN R AVELES CRUZ      JARD DE VEGA BAJA                                 Q7 CALLE V                                                                            VEGA BAJA         PR         00693
   149408 EDWIN R AVILES RIVERA    REDACTED                                          REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149409 EDWIN R BERRIOS ROJAS    REDACTED                                          REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642722 EDWIN R CHARDON TIRADO   PO BOX 2808 CALLE 12 HH8                                                                                                                GUAYAMA           PR         00784



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  149411 EDWIN R COLON TORRES                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  149412 EDWIN R CRUZ MELECIO                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  149414 EDWIN R DIAZ SELLES                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   642728 EDWIN R FIGUEROA CARABALLO                  HC 01 BOX 7577                                                                                                YAUCO                PR         00698
   642729 EDWIN R LOPEZ ORTIZ                         SIERRA BAYAMON             38‐1 CALLE 33                                                                      BAYAMON              PR         00961
   642730 EDWIN R LOPEZ REYES                         BONNEVILLE                 APT C 1                                                                            CAGUAS               PR         00725
   149415 EDWIN R LUGO FIGUEROA                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   642731 EDWIN R MARRERO CABRERA                     HC 1 BOX 5875                                                                                                 COROZAL              PR         00783
   149416 EDWIN R MARRERO NEGRON                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   149417 EDWIN R MARTINEZ COLON                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   149418 EDWIN R MELENDEZ MARTINEZ                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   642734 EDWIN R MONTERO POZZI                       LOMAS DE CAROLINA          2C 36 CALLE 51 A                                                                   CAROLINA             PR         00987
   642735 EDWIN R NIEVES GONZALEZ                     4 CALLE FRANCISCO MOLINA                                                                                      SAN SEBASTIAN        PR         00685
   149419 EDWIN R ORTIZ RAMOS                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   642736 EDWIN R OTERO RIVERA                        PO BOX 281                                                                                                    CIALES               PR         00638‐0281
   642737 EDWIN R PABON ROBLES                        HC 1 BOX 6129                                                                                                 LAS PIEDRAS          PR         00771
   642738 EDWIN R QUILES RODRIGUEZ                    DOS PINOS                  807 CERES                                                                          SAN JUAN             PR         00923‐2341
   149420 EDWIN R REYES REYES                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   771037 EDWIN R REYES RIVERA                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   149421 EDWIN R RIVERA GONZALEZ                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   149422 EDWIN R RIVERA VELAZQUEZ                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   149423 EDWIN R RODRIGUEZ ALVAREZ                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   642741 EDWIN R ROSA ROSA                           HC 91 BOX 9565                                                                                                VEGA BAJA            PR         00792
   642742 EDWIN R ROSADO CASTRODA                     PO BOX 9020469                                                                                                SAN JUAN             PR         00902‐0469
          EDWIN R ROSADO Y/O BCO DE
   642743 DESARRO ECO                                 P O BOX 2134                                                                                                  SAN JUAN             PR         00922‐2134
   149424 EDWIN R SANCHEZ SIERRA                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   149425 EDWIN R SANTELL CORA                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   642744 EDWIN R SANTIAGO PAGAN                      BOX 2073                                                                                                      AIBONITO             PR         00705
   149426 EDWIN R TANON MARTINEZ                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   149427 EDWIN R TORRES FIGUEROA                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   642746 EDWIN R TORRES ROLON                        RES LOS MURALES            EDIF 17 APT 166                                                                    MANATI               PR         00674

   642747 EDWIN R TORRUELLAS IGLESIAS                 PO BOX 686                                                                                                    SAN LORENZO          PR         00754
   149428 EDWIN R VELASCO OCASIO                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   149430 EDWIN R VELEZ SANCHEZ                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   149431 EDWIN R VILLALBA RODRIGUEZ                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   149432 EDWIN R VINAS LOPEZ                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   642748 EDWIN R. BONILLA VELEZ                      PO BOX 190433                                                                                                 SAN JUAN             PR         00919‐0433
   149433 EDWIN R. CARRERAS RIVERA                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   149434 EDWIN R. CUEVAS GOMEZ                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   149435 EDWIN R. ORTIZ TORO                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   149436 EDWIN R. PADOVANI                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   149438 EDWIN R. RIOS                               REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   149439 EDWIN R. VELEZ SANTIAGO                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   642749 EDWIN R.HADDOCK BELMONTE                    HP ‐ Forense Ponce                                                                                            Hato Rey             PR         009360000

   642750 EDWIN RAFAEL RIVERA RIVERA                  BO CA¥ABON LA TORRE        CARR 770 KM 4 6 INT                                                                BARRANQUITAS         PR         00794



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  149441 EDWIN RAMIREZ RUIZ                           REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  149442 EDWIN RAMOS AVILES                           REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   642751 EDWIN RAMOS CARRASQUILLO                    URB VILLA CAROLINA     165‐26 CALLE 420                                                                      CAROLINA            PR         00985

   642752 EDWIN RAMOS CHALUISANT DBA FERRETERIA RAMOS E HIJOS                BOX 455                                                                               LAS MARIAS          PR         00670
   149443 EDWIN RAMOS CONCEPCION     REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642753 EDWIN RAMOS CORDERO        URB LA MONSERRATE                       76 CALLE MILLONARIO                                                                   SAN GERMAN          PR         00683
          EDWIN RAMOS DBA FERRETERIA
   149444 RAMOS                      BOX 455                                                                                                                       LAS MARIAS          PR         00670‐0000
          EDWIN RAMOS DBA FERRETERIA
   149445 RAMOS E HIJOS              BOX 455                                                                                                                       LAS MARIAS          PR         00670‐0000
   149446 EDWIN RAMOS FELICIANO      REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149447 EDWIN RAMOS LOPEZ          REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149448 EDWIN RAMOS LUCIANO        REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642755 EDWIN RAMOS MEDINA         72 CAMPO ALEGRE                                                                                                               UTUADO              PR         00641
   642756 EDWIN RAMOS MERCADO        HC 5 BOX 62100                                                                                                                CAGUAS              PR         00725
   149449 EDWIN RAMOS ORTIZ          REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149450 EDWIN RAMOS PERALES        REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642759 EDWIN RAMOS ROJAS          HC 03 BOX 25327                                                                                                               SAN SEBASTIAN       PR         00685
   642760 EDWIN RAMOS ROSA           URB LEVITTOWN                           1106 PASEO DELEITE                                                                    TOA BAJA            PR         00949
   149451 EDWIN RAMOS RUIZ           REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149452 EDWIN RAMOS SAAVEDRA       REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149453 EDWIN RAMOS SANTIAGO       REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149454 EDWIN RAMOS SANTOS         REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149455 EDWIN RAYMUNDí GARCíA      REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDWIN REYES / CENTRO
   642763 AUTOMOTRIZ TORRES          BO OBRERO                               701 CALLE RIO DE JANEIRO                                                              SAN JUAN            PR         00915
          EDWIN REYES / EQUIPO
   642764 RANGERS 11‐12              PO BOX 1357                                                                                                                   TOA BAJA            PR         00951
   149456 EDWIN REYES DAVILA         REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149457 EDWIN REYES DEIDA          REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149458 EDWIN REYES DIANA          REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149459 EDWIN REYES GARCIA         REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149460 EDWIN REYES GONZALEZ       REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149461 EDWIN REYES HERNANDEZ      REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149462 EDWIN REYES ORTIZ          REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642767 EDWIN REYES PEREZ          URB COUNTRY CLUB                        M Y 29 CALLE 436                                                                      CAROLINA            PR         00982‐1804
   149463 EDWIN REYES RIVERA         REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642770 EDWIN REYES ROSADO         URB TURABO GARDENS                      T14 CALLE 28                                                                          CAGUAS              PR         00725
   149465 EDWIN REYMUNDI GARCIA      REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149466 EDWIN RIOS CRESPO          REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149467 EDWIN RIOS LUCIANO         REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149468 EDWIN RIOS PRATTS          REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149469 EDWIN RIOS RIVERA          REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149470 EDWIN RIOS TORRES          REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149471 EDWIN RIOS VALENTIN        REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642773 EDWIN RIOS VILLANUEVA      HC 1 BOX 11062                                                                                                                SAN SEBASTIAN       PR         00683
   149472 EDWIN RIVAS MONTALVO       REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149473 EDWIN RIVERA               REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDWIN RIVERA APONTE Y
   149475 CARMEN I ORTIZ             REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   642781 EDWIN RIVERA BERRIOS       SOLAR 194‐A COM EL MANI                                                                                                       MAYAGUEZ            PR         00681



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  149476 EDWIN RIVERA BONILLA      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149478 EDWIN RIVERA CARRERO      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642784 EDWIN RIVERA CASTRO       URB COVADONGA                 1 G 27 CALLE 14                                                                            TOA BAJA           PR         00949
  642785 EDWIN RIVERA CINTRON      PO BOX 1098                                                                                                              LAS PIEDRAS        PR         00771
  149479 EDWIN RIVERA COLON        REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642787 EDWIN RIVERA COSME        BO BOQUERON                   HC 4 BOX 4216                                                                              LAS PIEDRAS        PR         00771
         EDWIN RIVERA DBA CLINICA
  149480 VISUAL COMERIO            PO BOX 1856                                                                                                              MOROVIS            PR         00687
         EDWIN RIVERA DE JESUS /
  642777 YARALIZ RIVERA            HC 2 BOX 13845                                                                                                           ARECIBO            PR         00612
  642788 EDWIN RIVERA DELGADO      PO BOX 371                                                                                                               LAS PIEDRAS        PR         00771
  642790 EDWIN RIVERA ESCRIBANO    COLINAS DE FAIR VIEW          4‐S‐39 CALLE 223                                                                           TRUJILLO ALTO      PR         00976‐8222
  642791 EDWIN RIVERA FELIX        PO BOX 434                                                                                                               PATILLAS           PR         00723
  149481 EDWIN RIVERA FUENTES      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642795 EDWIN RIVERA GARCIA       HC 2 BOX 53553                                                                                                           CAGUAS             PR         00725
  642797 EDWIN RIVERA LAGUER       URB VISTA VERDE               655 CALLE 18                                                                               AGUADILLA          PR         00603
  642798 EDWIN RIVERA LOPEZ        URB VILLA CONTEZA             Q 1 CALLE TUDOR                                                                            BAYAMON            PR         00956
  642799 EDWIN RIVERA MARRERO      FERNANDEZ JUNCOS STATION      PO BOX 19175                                                                               SAN JUAN           PR         00910‐9175
  149482 EDWIN RIVERA MARTINEZ     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         EDWIN RIVERA MARTINEZ Y
  149483 MARILYN QUINONES          REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149484 EDWIN RIVERA MENDEZ       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         EDWIN RIVERA MENDEZ/HOGAR
  642801 LA ROSA                   BO CAIMITAL ALTO SECT LA ROSA CARR 2 KM 121 8                                                                            AGUADILLA          PR         00603
  149485 EDWIN RIVERA MERCADO      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149488 EDWIN RIVERA MOJICA       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149489 EDWIN RIVERA MORALES      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149490 EDWIN RIVERA MOYA         REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642778 EDWIN RIVERA NEGRON       HC 7 BOX 33320                                                                                                           CAGUAS             PR         00727
  149491 EDWIN RIVERA ORTIZ        REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149492 EDWIN RIVERA PACHECO      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149493 EDWIN RIVERA REPOLLET     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149494 EDWIN RIVERA RIVERA       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149497 EDWIN RIVERA RODRIGUEZ    REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642812 EDWIN RIVERA SANCHEZ      PO BOX 191406                                                                                                            SAN JUAN           PR         00919‐1406
  149499 EDWIN RIVERA SANTIAGO     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642813 EDWIN RIVERA SUAREZ       SANTA RITA                    865 CALLE CABRERA                                                                          SAN JUAN           PR         00925
  642815 EDWIN RIVERO DIAZ         PO BOX 818                                                                                                               TRUJILLO ALTO      PR         00977
  642816 EDWIN ROBLEDO MEDINA      EL TUQUE                      2168 CALLE MARIO CANALES                                                                   PONCE              PR         00728‐4817
  149500 EDWIN ROBLES CIARES       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642818 EDWIN ROBLES RESTO        PO BOX 2049                                                                                                              CIALES             PR         00638
  149503 EDWIN RODRIGUEZ           REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642822 EDWIN RODRIGUEZ AGOSTO    PASEO SAN LORENZO             901 CALLE ZIRCONIA                                                                         SAN LORENZO        PR         00754

   642823 EDWIN RODRIGUEZ ALVARADO                    A66 URB ESTELLA                                                                                       GUAYANILLA         PR         00656
   642824 EDWIN RODRIGUEZ AYALA                       HC 1 BOX 8883                                                                                         CANOVANAS          PR         00729

   642826 EDWIN RODRIGUEZ CARDONA                     CARR 110 KM 19 BO CENTRO   HC 3 BOX 8212                                                              MOCA               PR         00676
   642827 EDWIN RODRIGUEZ CASTRO                      RES JARDINES DE ORIENTE    EDIF 3 APT 45                                                              HUMACAO            PR         00971
   642828 EDWIN RODRIGUEZ COLON                       HC 09 BOX 58856                                                                                       CAGUAS             PR         00725
   642829 EDWIN RODRIGUEZ CORREA                      92 URB VILLA NAVARRO                                                                                  MAUNABO            PR         00707
   149505 EDWIN RODRIGUEZ DIAZ                        REDACTED                   REDACTED        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED




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   642834 EDWIN RODRIGUEZ FERNANDEZ PO BOX 240                                                                                                                  SANTA ISABEL        PR           00757

   149506 EDWIN RODRIGUEZ FIGUEROA                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149507 EDWIN RODRIGUEZ GOMEZ                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   149508 EDWIN RODRIGUEZ GONZALEZ                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642837 EDWIN RODRIGUEZ JORDAN                      URB CONSTANCIA          2428 EURECA                                                                       PONCE               PR           00717‐2220
   149510 EDWIN RODRIGUEZ LOPEZ                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   642821 EDWIN RODRIGUEZ MAISONET                    PO BOX 59                                                                                                 JUNCOS              PR           00777

   642838 EDWIN RODRIGUEZ MANZANO                     URB FAIRVIEW            707 FRANCISCO ZU¥IGA                                                              SAN JUAN            PR           00926

   149512 EDWIN RODRIGUEZ MARRERO                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   642839 EDWIN RODRIGUEZ MARTINEZ                    PO BOX 240                                                                                                SANTA ISABEL        PR           00757
   642840 EDWIN RODRIGUEZ MOLINA                      PO BOX 406                                                                                                SANTA ISABEL        PR           00757
   642843 EDWIN RODRIGUEZ MONTES                      HC 01 BOX 6479                                                                                            CIALES              PR           00638
   149513 EDWIN RODRIGUEZ MORALES                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149514 EDWIN RODRIGUEZ NIEVES                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   642845 EDWIN RODRIGUEZ ORELLANA                    HC 1 BOX 5359                                                                                             JUNCOS              PR           00777
   642846 EDWIN RODRIGUEZ PACHECO                     BO MAGUELLES            16 CALLE 1 APT 947                                                                GUANICA             PR           00653
   642847 EDWIN RODRIGUEZ RAMIREZ                     URB SAN MIGUEL          E 12 CALLE 4                                                                      CABO ROJO           PR           00623
   149515 EDWIN RODRIGUEZ RAMOS                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149516 EDWIN RODRIGUEZ RIVERA                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   149517 EDWIN RODRIGUEZ RODRIGUEZ REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642851 EDWIN RODRIGUEZ RUIZ      URB MARIBELLA                             238 CALLE F                                                                       AGUADILLA           PR           00603
   642853 EDWIN RODRIGUEZ SANTANA   P O BOX 770                                                                                                                 JAYUYA              PR           00664

   149520 EDWIN RODRIGUEZ SANTIAGO                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642854 EDWIN RODRIGUEZ SERRANO                     URB SIERRA LINDA        X1 CALLE 14                                                                       BAYAMON             PR           00957
   149521 EDWIN RODRIGUEZ SOLIVAN                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642855 EDWIN RODRIGUEZ TORRES                      48 CALLE CHELO ROMAN                                                                                      ADJUNTAS            PR           00601
   642858 EDWIN ROIG CASANOVA                         103 CASTILLO DEL MAR                                                                                      CAROLINA            PR           00979
   149523 EDWIN ROJAS GONZALEZ                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149524 EDWIN ROJAS RIVERA                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149526 EDWIN ROLDAN MORALES                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149528 EDWIN ROLON CORTES                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149529 EDWIN ROMAN CRUZ                            REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642859 EDWIN ROMAN LUGO                            BO FUIG                 9 CALLE 1                                                                         GUANICA             PR           00653
   642860 EDWIN ROMAN NIEVES                          COM MONTILLA            BOX 133                                                                           ISABELA             PR           00662
   149530 EDWIN ROMAN PEREZ                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642861 EDWIN ROMAN RODRIGUEZ                       URB LOS CAOBOS          645 ACEITILLO                                                                     PONCE               PR           00716
          EDWIN ROMAN TOSADO Y
   149533 WANDA COSME DIAZ                            REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642078 EDWIN ROMERO GUZMAN                         BO PUEBLO SECO BZN 37                                                                                     TRUJILLO ALTO       PR           00976
   642863 EDWIN ROSA CUEVAS                           BOX 1295 SUITE 107                                                                                        SAN LORENZO         PR           00754
   149534 EDWIN ROSA SAEZ                             REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149535 EDWIN ROSADO GONZALEZ                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149536 EDWIN ROSADO HERNANDEZ                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  642865 EDWIN ROSADO LOPEZ                           HC 71 BOX 2444                                                                                                 NARANGITO          PR         00719
  642866 EDWIN ROSADO MALPICA                         HC 01 BOX 7610                                                                                                 VIEQUES            PR         00765
  642867 EDWIN ROSADO MERCED                          URB VILLA DE CASTRO          U 1 CALLE 11                                                                      CAGUAS             PR         00725
  149537 EDWIN ROSADO NUNEZ                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642868 EDWIN ROSADO OLAN                            PO BOX 761                                                                                                     SAN GERMAN         PR         00683
  149538 EDWIN ROSADO ROSADO                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642870 EDWIN ROSARIO AVILES                         HC 02 6892                                                                                                     UTUADO             PR         00641
  149539 EDWIN ROSARIO CALDERON                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149540 EDWIN ROSARIO HERNANDEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642871 EDWIN ROSARIO OYOLA                          HC 01 BOX 6443                                                                                                 AGUAS BUENAS       PR         00703
  149541 EDWIN ROSARIO PAZ                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642079 EDWIN ROSARIO RODRIGUEZ                      D 14 CALLE MONSERRATE                                                                                          VEGA BAJA          PR         00693
  149542 EDWIN ROSARIO SANTIAGO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149543 EDWIN ROSAS FERRER                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149544 EDWIN ROSAS FLORES                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642874 EDWIN RUIZ GARCIA                            HC 59 BOX 4378                                                                                                 AGUADA             PR         00602
  642876 EDWIN RUIZ GONZALEZ                          URB VISTA BELLA              K 13 CALLE 8                                                                      BAYAMON            PR         00956
  149546 EDWIN RUIZ ROMAN                             REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642878 EDWIN RUIZ RUIZ                              PMB 2400 SUITE 296                                                                                             TOA BAJA           PR         00951
  149547 EDWIN RULLAN CALES                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149548 EDWIN S ACEVEDO CRESPO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  149549 EDWIN S CORDERO ROSADO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   642880 EDWIN S MIRANDA HERNANDEZ                   PO BOX 778                                                                                                     AGUADILLA          PR         00605
          EDWIN S RIVERA PEREZ DBA
   149551 CONST CASTANER                              BOX 705                                                                                                        CASTANER           PR         00631
   642881 EDWIN SABATER VEGA                          314 CALLE PALACIOS                                                                                             SAN JUAN           PR         00915
   149552 EDWIN SABO CINTRON                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          EDWIN SAMUEL MIRANDA
   149554 HERNANDEZ                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642883 EDWIN SANCHEZ ACEVEDO                       PO BOX 531                                                                                                     MOROVIS            PR         00687
   149555 EDWIN SANCHEZ ADORNO                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149557 EDWIN SANCHEZ BELTRAN                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149558 EDWIN SANCHEZ CRUZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642887 EDWIN SANCHEZ GARCIA                        URBANIZACION EL ROSARIO II   L 25 CALLE C                                                                      VEGA BAJA          PR         00693
   642888 EDWIN SANCHEZ MARRERO                       28 BO SABANA SECA                                                                                              MANATI             PR         00674
   642889 EDWIN SANCHEZ PEREZ                         HC 05 BOX 7420                                                                                                 GUAYNABO           PR         00971
   149559 EDWIN SANCHEZ ROBLES                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149560 EDWIN SANCHEZ SANTINI                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149561 EDWIN SANCHEZ VELEZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149562 EDWIN SANTANA COLON                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642890 EDWIN SANTANA IRIZARRY                      PO BOX 3027                                                                                                    SAN GERMAN         PR         00683
   149564 EDWIN SANTIAGO ACEVEDO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642891 EDWIN SANTIAGO ARCE                         BOX 1774                                                                                                       VEGA ALTA          PR         00692
   149565 EDWIN SANTIAGO AROCHO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   149566 EDWIN SANTIAGO CABALLERO                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642892 EDWIN SANTIAGO CINTRON                      PO BOX 51694                                                                                                   TOA BAJA           PR         00950‐1694
   149567 EDWIN SANTIAGO COLON                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149568 EDWIN SANTIAGO DE LEON                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642893 EDWIN SANTIAGO FELICIANO                    RES JUAN FERRER              EDIF 5 APT 27                                                                     MARICAO            PR         00606
   642894 EDWIN SANTIAGO LOPEZ                        HC 9 BOX 4392                                                                                                  SABANA GRANDE      PR         00637
   149569 EDWIN SANTIAGO LÓPEZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  642896 EDWIN SANTIAGO LOZADA                        PO BOX 1808                                                                                                         LAS PIEDRAS        PR         00771
  149570 EDWIN SANTIAGO NIEVES                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  642899 EDWIN SANTIAGO PAGAN                         ENSENADA SECTOR EL BATEY   578 CALLE D                                                                              GUANICA            PR         00653
  149571 EDWIN SANTIAGO RAMIREZ                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   642903 EDWIN SANTIAGO RODRIGUEZ                    PO BOX 1346                                                                                                         SANTA ISABEL       PR         00757 1346
   642904 EDWIN SANTIAGO SALCEDO                      EXT GUAYDIA                73 JD JORDAN                                                                             GUAYANILLA         PR         00656
   149572 EDWIN SANTIAGO SANTANA                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642905 EDWIN SANTIAGO SOTO                         BOX 813                                                                                                             MOROVIS            PR         00687
   642906 EDWIN SANTIAGO TORRES                       HC 3 BOX 6157                                                                                                       HUMACAO            PR         00792‐9537
   149573 EDWIN SANTIAGO VALENTIN                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642907 EDWIN SANTIAGO VARGAS                       PO BOX 423                                                                                                          AGUADA             PR         00602
          EDWIN SANTIAGO Y ALMA I
   642908 VALENTIN                                    PO BOX 131                 352 SAN CLAUDIO AVE                                                                      SAN JUAN           PR         00926
   642909 EDWIN SANTOS                                BOX 2922                                                                                                            CIDRA              PR         00739
   149575 EDWIN SANTOS MARTINEZ                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642910 EDWIN SANTOS RIVERA                         BO OBRERO                  405 CALLE TAVARES                                                                        SAN JUAN           PR         00915

   642914 EDWIN SEPULVEDA MARTINEZ                    PO BOX 1219                                                                                                         SABANA GRANDE      PR         00637
   642915 EDWIN SEPULVEDA RUIZ                        PO BOX 1315                                                                                                         YAUCO              PR         00698 1315
   149576 EDWIN SERRANDO COLON                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642916 EDWIN SERRANO                               HC 6 BOX 70912                                                                                                      CAGUAS             PR         00725
   642917 EDWIN SERRANO CORDERO                       HC 1 BOX 5066                                                                                                       CAMUY              PR         00627‐9612
   642918 EDWIN SERRANO ESCOBAR                       URB WONDERVILLE            84 CALLE JUPITER SAINT JUST                                                              TRUJILLO ALTO      PR         00976
   642919 EDWIN SERRANO LEBRON                        HC 6 BOX 70912                                                                                                      CAGUAS             PR         00725
   149577 EDWIN SERRANO MILLAN                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149578 EDWIN SERRANO RIVERA                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149579 EDWIN SERRANO ROMERO                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642920 EDWIN SERVICE STATION                       L 19 CALLE CATARIA                                                                                                  YAUCO              PR         00698
   149580 EDWIN SIERRA FRANCO                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642921 EDWIN SIERRA TORRES                         URB PUERTO NUEVO           454 CALLE COJIMAR                                                                        SAN JUAN           PR         00920
   642922 EDWIN SILVA GARCIA                          PO BOX 401                                                                                                          SAN LORENZO        PR         00754
   642080 EDWIN SOLIS SUAREZ                          PO BOX 705                                                                                                          VIEQUES            PR         00765
          EDWIN SOLIVAN LOZADA /
   149581 VILMARIE LOZADA                             REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642923 EDWIN SOLIZ BAZAN                           29 BDA LAS MERCEDES                                                                                                 ARROYO             PR         00714
   642924 EDWIN SOSA SALGADO                          APTO 435 BO LAGUNAS                                                                                                 AGUADA             PR         00602
   642925 EDWIN SOSTRE VILELLA                        PMB 430 P O BOX 10000                                                                                               CANOVANAS          PR         00729
   642926 EDWIN SOTO ANDUJAR                          URB COUNTRY CLUB           MS 7 4EXT CALLE 432                                                                      CAROLINA           PR         00982
   149582 EDWIN SOTO GALINDEZ                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149583 EDWIN SOTO GONZALEZ                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149584 EDWIN SOTO REYES                            REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149585 EDWIN SOTO RIVERA                           REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642928 EDWIN SOTO RUIZ                             100 GRAND BOULEVARD        112 MCS 115                   LOS PASEOS                                                 SAN JUAN           PR         00926
   642929 EDWIN SOTO SANCHEZ                          663 FOX STREET APT 5J                                                                                               BRONX              NY         10455
   642930 EDWIN SOTO SANTIAGO                         URB ALTAMIRA               BZN 214                                                                                  LARES              PR         00669
   642932 EDWIN SOTO SOTO                             HC 2 BOX 7308                                                                                                       YABUCOA            PR         00767‐9504
   642933 EDWIN SOTO TAPIA                            PO BOX 141418                                                                                                       ARECIBO            PR         00614
   642934 EDWIN SOTO TORRES                           VILLAS DE LOIZA            Q 65 CALLE 18                                                                            CANOVANAS          PR         00729
   149587 EDWIN SUAREZ CARRERO                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149588 EDWIN SUAREZ ESQUIVEL                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   149589 EDWIN SUAREZ MARRERO                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   642935 EDWIN SUAREZ MATOS                          PO BOX 21365                                                                                                        SAN JUAN           PR         00928‐1365



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   642938 EDWIN SUAREZ VAZQUEZ                        URB MASIONES DE LAS PIEDRAS NUM 19                                                                                  LAS PIEDRAS         PR           00771
   149590 EDWIN SUAREZ VELEZ                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642940 EDWIN TAPIA GUADALUPE                       P O BOX 2266                                                                                                        SALINAS             PR           00751
   149592 EDWIN TAVAREZ ACEVEDO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   642941 EDWIN TERRUEL ALMODOVAR                     MANS DE CAROLINA           CC 7 CALLE YUNQUESITO                                                                    CAROLINA            PR           00987
   642942 EDWIN TIRADO JIMENEZ                        URB SAN PEDRO              G 17 CALLE TIMOTEO                                                                       TOA BAJA            PR           00949
   642081 EDWIN TIRADO VELEZ                          URB SAN FELIPE             H4 CALLE 1                                                                               ARECIBO             PR           00612

   149593 EDWIN TIRE SERVICE CENTER INC 42535 CARR 2 KM 97.4                                                                                                              QUEBRADILLAS        PR           00678
   642943 EDWIN TOLEDO COLON            HC 02 BOX 5830                                                                                                                    LARES               PR           00669
   642944 EDWIN TORO GOYCO              G P O BOX 623                                                                                                                     MAYAGUEZ            PR           00681
   149594 EDWIN TORRES ALVAREZ          REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149595 EDWIN TORRES AQUINO           REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642946 EDWIN TORRES ARCE             493 MAXIMINO BARBOSA                                                                                                              MAYAGUEZ            PR           00680‐7102
   149596 EDWIN TORRES AYALA            REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149597 EDWIN TORRES BERRIOS          REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   642947 EDWIN TORRES CARRION          BO MATA DE PLATANO                       HACIENDA CARABALI                                                                        LUQUILLO            PR           00773
   149599 EDWIN TORRES CAZUL            REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   642948 EDWIN TORRES CORDERO                        CUPEY BAJO                 ANTIGUA VIA BLOQ 11 APTO K4                                                              SAN JUAN            PR           00926
   149600 EDWIN TORRES DONES                          REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149601 EDWIN TORRES GOMEZ                          REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

          EDWIN TORRES GONZALEZ/CAFE
   149602 EL MADRIGAL                REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDWIN TORRES GUZMAN /
   149603 EDWIN TORRES DIAZ          REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149604 EDWIN TORRES LAMBOY        REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149605 EDWIN TORRES MALDONADO     REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149606 EDWIN TORRES MARTINEZ      REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149607 EDWIN TORRES MELENDEZ      REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149608 EDWIN TORRES MORALES       REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149609 EDWIN TORRES NAZARIO       REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149610 EDWIN TORRES ORTIZ         REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDWIN TORRES PACHECO/ NEW
   149611 ENERGY                     REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149612 EDWIN TORRES PEREZ         REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                     COND BELLO HORIZONTE APT
   642956 EDWIN TORRES PIZARRO       503                                                                                                                                  SAN JUAN            PR           00924
   149613 EDWIN TORRES RAMOS         REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149614 EDWIN TORRES RIVERA        REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149615 EDWIN TORRES RODRIGUEZ     REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   149616 EDWIN TORRES ROSADO        REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EDWIN TORRES SIERRA DBA
   149617 JUNIOR AUTO SERV           470 COMUNIDAD CARACOLES 2                                                                                                            PENUELAS            PR           00624
   642961 EDWIN TORRES TORRES        PO BOX 1270                                                                                                                          COAMO               PR           00769
   642963 EDWIN TORRES WILSON        BDA BALDORIOTY                              5 CALLE E 4                                                                              PONCE               PR           00731
   642964 EDWIN TROCHE PAGAN         HC 03 BOX 14472                                                                                                                      YAUCO               PR           00698
   642965 EDWIN V GOSS               PO BOX 11980                                                                                                                         SAN JUAN            PR           00922
   642966 EDWIN VALCARCEL BAZ        SANTA JUANITA                               BJ3 CALLE KEUYA                                                                          BAYAMON             PR           00956
   642968 EDWIN VALE RAMOS           SECT LAS MONJAS                             69 CALLE PEPE DIAZ                                                                       SAN JUAN            PR           00917



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  642969 EDWIN VALE ROLDAN                            H C 01 BOX 5932                                                                                                MOCA              PR         00676
  149618 EDWIN VALENTIN BARRETO                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149619 EDWIN VALENTIN CORDERO                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  642970 EDWIN VALENTIN GONZALEZ                      217 CALLE DEGETAU N                                                                                            AIBONITO          PR         00705
  642972 EDWIN VALENTIN IRIZARRY                      PO BOX 168                                                                                                     LAS MARIAS        PR         00670‐0168
  642973 EDWIN VALENTIN MEDINA                        509 CALLE MILITAR                                                                                              HATILLO           PR         00659

   642974 EDWIN VALENTIN MORALES                      SUITE 112 MSC 382       100 GRAN BOULEVARD PASEOS                                                              SAN JUAN          PR         00926‐5955
   642975 EDWIN VALENTIN RAMOS                        SAINT JUST 6            CALLE GARAY A                                                                          TRUJILLO ALTO     PR         00976
   149620 EDWIN VALENTIN ROSA                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149621 EDWIN VALENTIN SALAS                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149622 EDWIN VALENTIN TORRES                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149623 EDWIN VALLE VAZQUEZ                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149624 EDWIN VANDIEN MERCED                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EDWIN VANTARPOOL
   149625 RODRIGUEZ                                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642979 EDWIN VARGAS                                3 CALLE A                                                                                                      AGUADILLA         PR         00603
   149626 EDWIN VARGAS CARDONA                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642981 EDWIN VARGAS GARCIA                         P O BOX 143                                                                                                    AGUIRRE           PR         00704
   149627 EDWIN VARGAS HERNANDEZ                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642982 EDWIN VARGAS IBARRONDO                      PARC BETANCES           39 CALLE COFRESI                                                                       CABO ROJO         PR         00623
   642983 EDWIN VARGAS RAMIREZ                        P O BOX 837                                                                                                    LAJAS             PR         00667
   149629 EDWIN VARGAS VELAZQUEZ                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642984 EDWIN VARGQAS LOPEZ                         332 CALLE MENDEZ VIGO                                                                                          DORADO            PR         00646
   642986 EDWIN VAZQUEZ BONILLA                       BOX 3917                                                                                                       MAYAGUEZ          PR         00680
   642987 EDWIN VAZQUEZ CUEVAS                        URB LA ALAMBRA          C 36 CALLE SEVILLA                                                                     BAYAMON           PR         00957
   149630 EDWIN VAZQUEZ FERRER                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642988 EDWIN VAZQUEZ GONZALEZ                      PO BOX 1386                                                                                                    CAROLINA          PR         00986
   642989 EDWIN VAZQUEZ ORTEGA                        RR 2 BOX 5683‐10                                                                                               TOA ALTA          PR         00924
   149631 EDWIN VAZQUEZ RIVERA                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149632 EDWIN VAZQUEZ ROSA                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149633 EDWIN VAZQUEZ SANCHEZ                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642993 EDWIN VAZQUEZ VEGA                          URB COSTA AZUL          K 56 CALLE 20                                                                          GUAYAMA           PR         00785
   642994 EDWIN VEGA AYALA                            HC 23 BOX 6691                                                                                                 JUNCOS            PR         00777‐9717
   642995 EDWIN VEGA CORCHADO                         PO BOX 559                                                                                                     ISABELA           PR         00662
   149634 EDWIN VEGA GARCIA                           REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149635 EDWIN VEGA ROSADO                           REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149636 EDWIN VEGA SILVA                            REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   642996 EDWIN VEGA VEGA                             URB TIBES               E16 CALLE 4                                                                            PONCE             PR         00730
   149637 EDWIN VELAZQUEZ                             REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   642999 EDWIN VELAZQUEZ BABILONIA                   URB MOCA GARDENS        562 CALLE PASCUA                                                                       MOCA              PR         00676
   149638 EDWIN VELAZQUEZ BOSQUES                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149639 EDWIN VELAZQUEZ CASTILLO                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643000 EDWIN VELAZQUEZ COLON                       PO BOX 335444                                                                                                  PONCE             PR         00733
   642998 EDWIN VELAZQUEZ TORRES                      P O BOX 1787                                                                                                   JUNCOS            PR         00777
   643001 EDWIN VELAZQUEZ TORRES                      PARC NUEVA VIDA         2282 CALLE V GONZALEZ                                                                  PONCE             PR         00728
   643002 EDWIN VELEZ AQUINO                          URB LEVITTOWN           RE 2 LA ROSALEDA 2                                                                     TOA BAJA          PR         00949
   643003 EDWIN VELEZ COLLAZO                         PMB 158 PO BOX 607077                                                                                          BAYAMON           PR         00960‐7077
   149641 EDWIN VELEZ CRUZ                            REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643005 EDWIN VELEZ CUEVAS                          HC 1 BOX 175                                                                                                   ADJUNTAS          PR         00603
   149642 EDWIN VELEZ FERNANDEZ                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643006 EDWIN VELEZ MARRERO                         URB SANTA ANA           N 37 CALLE 2                                                                           VEGA ALTA         PR         00692‐6025



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  149643 EDWIN VELEZ NEGRON                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  149644 EDWIN VELEZ ORENGO                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  643007 EDWIN VELEZ PEREZ                            POBOX 3853                                                                                                MARICAO             PR         00606
  149645 EDWIN VELEZ RODRIGUEZ                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  643008 EDWIN VELEZ RUIZ                             PO BOX 21365                                                                                              SAN JUAN            PR         00928‐1365
  149646 EDWIN VELEZ SOTO                             REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  149647 EDWIN VERA FARIS                             REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  643011 EDWIN VILLAFANE                              P O BOX 4115                                                                                              BAYAMON             PR         00958
  643012 EDWIN VILLANUEVA ROJAS                       URB SAN RAFAEL          A 6 CALLE 1                                                                       CAGUAS              PR         00725

   643013 EDWIN VILLANUEVA SERRANO                    HC 01 BOX 4816                                                                                            SABANA GRANDE       PR         00688
   149648 EDWIN VIRELLA LOZADA                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643014 EDWIN W REYES GONZALEZ                      PO BOX 1667                                                                                               CAROLINA            PR         00984

   643015 EDWIN W VAZQUEZ MOLINERO                    PO BOX 6017 SUITE 200                                                                                     CAROLINA            PR         00984‐6017
   149650 EDWIN X ARANA CARRION                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   149651 EDWIN X COLLAZO VELAZQUEZ                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDWIN X DELGADO MAURAS /
   149652 EDWIN R DELGADO                             REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149653 EDWIN X GONZALEZ BAEZ                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149654 EDWIN X SOSA APONTE                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDWIN Y CARRASQUILLO
   149655 QUINONES                                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDWIN Y JUSTINIANO
   149656 CANDELARIA                                  REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149657 EDWIN Y NIEVES GONZALEZ                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149658 EDWIN Y. ROSARIO CINTRON                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149659 EDWIN Z RIOS ACEVEDO                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643016 EDWIN ZAYAS ALVAREZ                         PO BOX 1376                                                                                               COAMO               PR         00769
   643017 EDWIN ZAYAS CONCEPCION                      CALLEJON EL COCO        1 PUERTO ARTURO                                                                   SAN JUAN            PR         00907
   643018 EDWIN ZAYAS FIGUEROA                        URB VILLA VERDE         24 CALLE A                                                                        CAYEY               PR         00636
   149660 EDWINA AYALA ZAYAS                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149661 EDWINA CASTRO DELGADO                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149662 EDWINA QUINONES VARGAS                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149663 EDWIND ONEILL                               REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149664 EDWINEL VELEZ RIVERA                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDWING RODRIGUEZ
   643019 RODRIGUEZ                                   HC 2 BOX 10381                                                                                            YAUCO               PR         00698
   643020 EDWINO BERRIOS                              P O BOX 352                                                                                               COMERIO             PR         00782
   149665 EDWINO LEBRON LEBRON                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDWINSON GONZALEZ
   149666 FELICIANO                                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EDWOOD A CANDELARIA
   149667 CORDOVA                                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149668 EDWUARD J CUEVAS VARELA                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   149669 EDWUARD PERDOMO PIZARRO                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1256433 EDY VAZQUEZ                                 REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   149671 EDYBERTO TORRES ECHEVARRI                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149672 EDYINS RODRIGUEZ MILLAN                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643024 EDYL MUFFLER                                CARR 159 KM 13          BO CIBUCO                                                                         COROZAL             PR         00783



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  643025 EDYLIN BAYO DE LA GARZA                       URB SIERRA BAYAMON              47‐2 CALLE 41                                                                     BAYAMON             PR         00961
  643026 EDYS CATERING                                 HC 3 BOX 32781                                                                                                    AGUADA              PR         00602
  643027 EDZA RAMIREZ VALDEZ                           40 CALIFORNIA ALTA                                                                                                MANATI              PR         00674
  149673 EDZEL GONZALEZ RAMOS                          REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  643028 EDZIA BAEZ GONZALEZ                           HC 2 BOX 6478                                                                                                     ADJUNTAS            PR         00601‐9605
  643029 EEE AVISOURCE INC                             FORT WORTH                      2514 GRAVEL DR                                                                    FORT WORTH          TX         76118
  643030 EEE PR CARIBE                                 L 44 CALLE 7                                                                                                      GUAYNABO            PR         00966
  149674 EEG INFO INC                                  6400 CANOGA AVE STE 210                                                                                           WOOD LAND HILLS     NY         91367
  149676 EFA RENTAL EQUIPMENT                          BO PINA                         BOX 391                                                                           TOA ALTA            PR         00954
  149677 EFAIN ESPINET DDS                             REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  643033 EFCO INC                                      CAPARRA HEIGHTS                 404 ENSENADA                                                                      SAN JUAN            PR         00920‐3510
         EFFECTIVE BUSINESS PARTNERS
  149679 CORP                                          VILLA CLEMENTINA C6             AVE ALEJANDRINO                                                                   GUAYNABO            PR         00969
         EFFECTIVE ENVIRONMENTAL
  149680 RESTORATION INC                               URB MONTE RIO                   20 CARITE                                                                         CABO ROJO           PR         00623
         EFFECTIVE MEDIA ADVERTISING,
  149681 CORP.                                         PO BOX 8752                                                                                                       PONCE               PR         00732

   643034 EFFECTIVE SYSTEM CONNECTION URB PARK GARDENS                                 W 6 PARK GARDEN AVE                                                               SAN JUAN            PR         00926
          EFFECTIVE SYSTEMS
   149682 CONNECTION                  URB PARK GARDENS                                 W 6 PARK GARDEN AVE                                                               SAN JUAN            PR         00926
          EFFECTIVE SYSTEMS           URB. PARK GARDENS W‐6 PARK
   149683 CONNECTIONS , INC.          GARDENS AVE.                                                                                                                       SAN JUAN            PR         00926‐0000
   149685 EFFLUX SYSTEMS INC          5520 RESEARCH PARK DRIVE                         SUITE 130                                                                         BALTIMORE           MD         21228
                                                                                       19‐22 AVE RAMIREZ DE
   149688 EFGB CONSULTING ENGINEERS                    PMB 49 SUITE 7                  ARELLANO                                                                          GUAYNABO            PR         00966‐3175
          EFIGENIA CARABALLO
   643035 RODRIGUEZ                                    358 IGUALDAD                                                                                                      SAN JUAN            PR         00912
   149689 EFIGENIA GUZMAN MATOS                        REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643037 EFIGENIA HEREDIA MARTINEZ                    P O BOX 1113                                                                                                      UTUADO              PR         00641
   643038 EFIGENIA MARTINEZ CINTRON                    PO BOX 964                                                                                                        GUANICA             PR         00653
   643039 EFIGENIA PEREZ PADILLA                       HC 5 BOX 61961                                                                                                    MAYAGUEZ            PR         00680
   643040 EFIGENIA RIVERA                              PO BOX 50063                                                                                                      SAN JUAN            PR         00902
   643041 EFIGENIA ROMAN VAZQUEZ                       BO AIBONITO SEC ARENA                                                                                             HATILLO             PR         00659
   149690 EFIGENIO CURET SANTIAGO                      REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   643042 EFIGENIO FIGUEROA TRINIDAD                   HC 01 BOX 2480                                                                                                    FLORIDA             PR         00650
   149691 EFIGENIO GARCIA VALE                         REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149692 EFIGENIO GUTIERREZ                           REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149693 EFIGENIO MERCADO                             REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643044 EFM INC                                      HATO ARRIBA STA                 PO BOX 3183                                                                       SAN SEBASTIAN       PR         00685
   643045 EFRA INC / VALLE SUR GULF                    PO BOX 1212                                                                                                       HORMIGUEROS         PR         00660
   149695 EFRAIM CINTRON GARCIA                        REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149696 EFRAIM SANTANA DIAZ                          REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643059 EFRAIN A CANO RODRIGUEZ                      PO BOX 32                                                                                                         VEGA BAJA           PR         00694
   149698 EFRAIN A COLON RIVERA                        REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149699 EFRAIN A CRESPO ORTEGA                       REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149701 EFRAIN A FELICIANO GUZMAN                    REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   643060 EFRAIN A GONZALEZ GONZALEZ                   PO BOX 2473                                                                                                       MOCA                PR         00676‐0469
                                                       COND JARDINES METROP 1 APT 4‐
   643061 EFRAIN A HIDALGO BRUNET                      A                                                                                                                 SAN JUAN            PR         00927




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          EFRAIN A MARCONTONI C/O
   643062 PEDRO MENENDEZ                              PO BOX 11398                                                                                                     SAN JUAN            PR         00910‐1398
   149704 EFRAIN A RAMOS FIGUEROA                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   149705 EFRAIN A RUIZ                               REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   149706 EFRAIN A RUIZ RUIZ                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   149707 EFRAIN A VAZQUEZ RODRIGUEZ                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   149708 EFRAIN A VILLARRUBIA RUIZ                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   149709 EFRAIN A. OCASIO VAZQUEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   149710 EFRAIN A. RUIZ LOURIDO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   643067 EFRAIN ADORNO RIVAS                         P O BOX 5180                                                                                                     VEGA ALTA           PR         00692‐5180
   643068 EFRAIN AFANADOR VAZQUEZ                     HC 3 BOX 14676                                                                                                   UTUADO              PR         00641
   149711 EFRAIN AGOSTO COLON                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   643069 EFRAIN ALBINO RIVERA                        PO BOX 1345                                                                                                      YAUCO               PR         00698
   643070 EFRAIN ALBINO RODRIGUEZ                     HC 01 BOX 16016                                                                                                  GUAYANILLA          PR         00656
   643071 EFRAIN ALEJANDRO BERRIOS                    URB JARDINES DE PALMEREJO   AA 40 CALLE 21                                                                       CANOVANAS           PR         00972
   643072 EFRAIN ALFALLA RIVERA                       URB QUINTA DE CANOVANAS     746 CALLE 7                                                                          CANOVANAS           PR         00729
   149712 EFRAIN ALTAGRACIA TORRES                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   149713 EFRAIN ALVARADO CAMACHO                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   149714 EFRAIN ALVIRA NIEVES                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   149715 EFRAIN ANDINO MENDEZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   149716 EFRAIN APONTE PESANTE                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   149717 EFRAIN APONTE RIVERA                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   643074 EFRAIN APONTE RODRIGUEZ                     BO OBRERO                   706 CALLE 11                                                                         SAN JUAN            PR         00915
   149718 EFRAIN ARNAU COLON                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   643075 EFRAIN ARROYO BAEZ                          HC 83 BOX 7196                                                                                                   VEGA ALTA           PR         00692
   149719 EFRAIN ARZOLA LOPEZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   643076 EFRAIN AUTO PARTS                           PO BOX 8172                                                                                                      HUMACAO             PR         00792‐8172
   643079 EFRAIN AVILES CRUZ                          BO GUAVATE                  21720 SECTOR RIVERA                                                                  CAYEY               PR         00736 9413
   149720 EFRAIN AYALA DE JESUS                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   149721 EFRAIN AYALA ESPINOSA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   643080 EFRAIN AYALA MARCANO                        PO BOX 737                                                                                                       TOA ALTA            PR         00954
   149722 EFRAIN AYALA RIVERA                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   149723 EFRAIN AYALA ROBLES                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   643083 EFRAIN AYALA VILLANUEVA                     MIRAFLORES                  226 CALLE 32 PARC FALU                                                               SAN JUAN            PR         00924
   149724 EFRAIN B TORRES                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   643084 EFRAIN BADILLO                              URB VALPARAISO              17 CALLE 4                                                                           TOA BAJA            PR         00949
   643085 EFRAIN BAEZ LOPEZ                           RR 2 BOX 8021                                                                                                    TOA ALTA            PR         00953
   643086 EFRAIN BAEZ NAZARIO                         P O BOX 214                                                                                                      SABANA GRANDE       PR         00637
   643087 EFRAIN BELLO VEGA                           STARLIGHT                   4568 CALLE DENEB                                                                     PONCE               PR         00731
   643088 EFRAIN BENABE FIGUEROA                      URB EL COMANDANTE           1217 CALLE A LUCIANO                                                                 SAN JUAN            PR         00924
   643089 EFRAIN BERMUDEZ RIVERA                      15 CALLE BETANCES                                                                                                SANTA ISABEL        PR         00757‐2616
   643090 EFRAIN BERNARD CRUZ                         HC 1 BOX 20205                                                                                                   COMERIO             PR         00782
   643091 EFRAIN BERRIOS                              MANSIONES DE CAROLINA       NN 59 CALLE 57                                                                       CAROLINA            PR         00785
   149726 EFRAIN BERRIOS RODRIGUEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   643092 EFRAIN BONET DIAZ                           URB VILLA UNIVERSITARIA     BA 3 CALLE 26 SUITE 136                                                              HUMACAO             PR         00791‐4349
   643094 EFRAIN BONILLA FELICIANO                    P O BOX 777                                                                                                      GUANICA             PR         00653
   149727 EFRAIN BORIA COLON                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   643095 EFRAIN BORIA MARCANO                        PO BOX 275                                                                                                       CANOVANAS           PR         00729
   643096 EFRAIN CABAN AVILES                         HC 59 BOX 5184                                                                                                   AGUADA              PR         00602
   643097 EFRAIN CABRERA RODRIGUEZ                    URB FOREST VIEW             M 86 CALLE SANTIAGO                                                                  BAYAMON             PR         00956

   149728 EFRAIN CALDERON RODRIGUEZ                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  643098 EFRAIN CAMACHO PEREZ                         P O BOX 1251                                                                                                 CABO ROJO         PR         00623‐1251
  149730 EFRAIN CAMIS ROSADO                          REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643100 EFRAIN CANALES DAVILA                        BO LAS CUEVAS         124 CALLE ESPIRITU SANTOS                                                              LOIZA             PR         00772
  149731 EFRAIN CARDONA CABRERA                       REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
 1256434 EFRAÍN CARDONA NIEVES                        REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149733 EFRAIN CARDONA NUNEZ                         REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643101 EFRAIN CARDONA VELEZ                         HC 04 BOX 17613                                                                                              CAMUY             PR         00627
  643102 EFRAIN CARRASQUILLO                          PO BOX 667                                                                                                   DORADO            PR         00646‐0667
         EFRAIN CARRASQUILLO
  643103 RODRIGUEZ                                    RIVERAS DEL RIO       F 7 CALLE 6                                                                            BAYAMON           PR         00959
         EFRAIN CARRERO‐ CARRERO
  643105 REFRIGERATION                                PO BOX 9024275                                                                                               SAN JUAN          PR         00902‐4275
  643106 EFRAIN CARRERO VELEZ                         PUERTO REAL           11 A CALLE 10                                                                          CABO ROJO         PR         00623

   643107 EFRAIN CARTAGENA RODRIGUEZ TAINOS DIEGO                           143 EDIF 10                                                                            PONCE             PR         00731
   149734 EFRAIN CASELLAS DUMONT     REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643109 EFRAIN CASTRO CRUZ         PO BOX 7126                                                                                                                   PONCE             PR         00732

   149737 EFRAIN CEBOLLERO HERNANDEZ REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149738 EFRAIN CEDENO TORRES       REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643111 EFRAIN CHEVERE MARTINEZ    HC 1 BOX 5250                                                                                                                 BAJADERO          PR         00616
   643113 EFRAIN CHEVERE VIRELLA     HC 3 BOX 11966                                                                                                                COROZAL           PR         00783
   149739 EFRAIN CHEVRES PEPIN       REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149742 EFRAIN CINTRON FIGUEROA    REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643114 EFRAIN CINTRON ORTIZ       PO BOX 909                                                                                                                    CIDRA             PR         00739
   643115 EFRAIN CLAUDIO             PO BOX 420                                                                                                                    FAJARDO           PR         00738
   149743 EFRAIN COLLAZO QUILES      REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149744 EFRAIN COLOMBANI RIVERA    REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149745 EFRAIN COLON COLLAZO       REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643119 EFRAIN COLON CRUZ          HC 5 BOX 52801                                                                                                                HATILLO           PR         00659‐9607
   643121 EFRAIN COLON OCASIO        BO OBRERO STATION                      PO BOX 14427                                                                           SAN JUAN          PR         00916‐4427
   149746 EFRAIN COLON RIVERA        REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643123 EFRAIN COLON SANTANA       HC 04 BOX 15560                                                                                                               SAN SEBASTIAN     PR         00685
   149748 EFRAIN COLON SANZ          REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149749 EFRAIN COLON SERRANO       REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149750 EFRAIN CONDE NIEVES        REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643125 EFRAIN CONDE OFARRIL       1105 COND TOWNHOUSE                                                                                                           SAN JUAN          PR         00923

   643128 EFRAIN CORCHADO CORCHADO                    URB LOS PINOS         CALLE LAS VEGAS                                                                        ISABELA           PR         00662

   149751 EFRAIN CORDERO RODRIGUEZ                    REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643129 EFRAIN CORDERO SALINAS                      RES LOS LAURELES      EDIF 3 APT 58                                                                          SAN JUAN          PR         00926
   149752 EFRAIN CORDOVA PABON                        REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149753 EFRAIN CORREA DIAZ                          REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149754 EFRAIN CORREA IGLESIAS                      REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643130 EFRAIN CORTES GARCIA                        P O BOX 230                                                                                                  AGUADA            PR         00602
   643131 EFRAIN CORTEZ RODRIGUEZ                     PO BOX 21365                                                                                                 SAN JUAN          PR         00928‐1365
   149755 EFRAIN CORUJO HERNANDEZ                     REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149758 EFRAIN COTTY TORO                           REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643134 EFRAIN CRESPO BERRIOS                       URB FLORAL PARK       509 CALLE ECUADOR                                                                      SAN JUAN          PR         00918
   643135 EFRAIN CRESPO NAVEDO                        HC 01 BOX 24213                                                                                              VEGA BAJA         PR         00693
   643133 EFRAIN CRESPO PEREZ                         PO BOX 1050                                                                                                  ADJUNTAS          PR         00601
   149759 EFRAIN CRESPO RAMOS                         REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  643136 EFRAIN CRUZ ALVAREZ                          HC 2 BOX 5415                                                                                                          BAJADERO            PR         00616
  643137 EFRAIN CRUZ SANTIAGO                         P O BOX 50516                                                                                                          TOA BAJA            PR         00950
  149760 EFRAIN CUADRADO CASTRO                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   643139 EFRAIN D SANTIAGO VAZQUEZ                   P O BOX 5198                                                                                                           MAYAGUEZ            PR         00681‐5198
          EFRAIN D VASSALLO
   149761 MALDONADO                                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149762 EFRAIN DARDIZ DAVILA                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643140 EFRAIN DAVILA RIVERA                        HC 72 BOX 8384                                                                                                         CAYEY               PR         00736
   643141 EFRAIN DE JESUS ACEVEDO                     PO BOX 2156                                                                                                            JUNCOS              PR         00777
   643142 EFRAIN DE JESUS MEDINA                      HC 40 BOX 44331                                                                                                        SAN LORENZO         PR         00754
   149763 EFRAIN DE JESUS VAZQUEZ                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   149764 EFRAIN DE LA MATTA MELENDEZ REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149765 EFRAIN DEL VALLE ROSARIO    REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643146 EFRAIN DELGADO CLAUDIO      HC 03 BOX 41495                                                                                                                        CAGUAS              PR         00725‐9743
   149766 EFRAIN DELGADO MARQUES      REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149767 EFRAIN DIAZ                 REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149768 EFRAIN DIAZ CARRASQUILLO    REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149769 EFRAIN DIAZ CRUZ            REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643148 EFRAIN DIAZ IRIARTE         PO BOX 9066244                                                                                                                         SAN JUAN            PR         00906‐6244

          EFRAIN DIAZ MEDINA/GIGANTES
   643149 DE CAROLINA                 VILLA CAROLINA                               38 9 CALLE 34                                                                             CAROLINA            PR         00985
   643147 EFRAIN DIAZ MORALES         PO BOX 37755                                                                                                                           SAN JUAN            PR         00937
   643151 EFRAIN DIAZ RIVERA          COND SAN JUAN PARK                           EDIF A 3                                                                                  SAN JUAN            PR         00909
   149771 EFRAIN DIAZ ROBLEDO         REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643049 EFRAIN DIAZ VAZQUEZ         HC 02 BOX 12638                                                                                                                        AGUAS BUENAS        PR         00703‐9603
   149772 EFRAIN DIAZ VIZCARRONDO     REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643152 EFRAIN DIODONET QUINTANA    PO BOX 3153                                                                                                                            MAYAGUEZ            PR         00681
   643154 EFRAIN DOMINGUEZ TORRES     HC 01 BOX 16010                                                                                                                        HUMACAO             PR         00791‐9722
   643155 EFRAIN E ANDINO             65TH INF STA                                 PO BOX 29671                                                                              SAN JUAN            PR         00929
   643156 EFRAIN E DEL VALLE ORTIZ    URB COUNTRY CLUB                             GL 14 AVE CAMPO RICO                                                                      CAROLINA            PR         00982 2675
   643157 EFRAIN E MARTINEZ           PO BOX 830                                                                                                                             SAN GERMAN          PR         00683
   149774 EFRAIN E RIVERA PEREZ       REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   643158 EFRAIN ECHEVARRIA LUCIANO                   URB ALTURAS DE PE¨UELAS II   C5 CALLE 4                                                                                PE¨UELAS            PR         00624
                                                                                   788 AVE DE DIEGO URB CAPARRA
   643159 EFRAIN EQUIPMENT                            CAPARRO TERRECE              TER                                                                                       SAN JUAN            PR         00921
   643162 EFRAIN ESPADA REYES                         P O BOX 580                                                                                                            COAMO               PR         00769
   149775 EFRAIN ESPADA SANTOS                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149776 EFRAIN ESTRADA ROSADO                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643163 EFRAIN F ORTIZ DIAZ                         URB STA MARIA                7838 CALLE NAZARETH                                                                       PONCE               PR         00717‐1009
   149777 EFRAIN F RIVERA APONTE                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149778 EFRAIN FAJARDO OLAYS                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643164 EFRAIN FEBLES BRUNO                         BO PALENQUE HC 01            BOX 7997                                                                                  BARCELONETA         PR         00617
   149779 EFRAIN FELICIANO ARLEQUIN                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643166 EFRAIN FELICIANO IRIZARRY                   VILLAS DE FELISA             150 LUCY ROSARIO                                                                          MAYAGUEZ            PR         00680
   149780 EFRAIN FERMAINT NIEVES                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   149781 EFRAIN FERNANDO ORTIZ DIAZ                  REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643167 EFRAIN FIGUEROA AGOSTO                      BO SAINT JUST                23D CALLE 7                                                                               CAROLINA            PR         00983
   149782 EFRAIN FIGUEROA AYALA                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  643169 EFRAIN FIGUEROA GONZALEZ                     HC 01 BOX 10058                                                                                                   CABO ROJO         PR         00623
  149783 EFRAIN FIGUEROA MARTINEZ                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643171 EFRAIN FIGUEROA PEREZ                        HC 9 BOX 59569                                                                                                    CAGUAS            PR         00725
  643172 EFRAIN FILOMENO CASTRO                       VILLAS DE LOIZA              U9 CALLE 21                                                                          CANOVANAS         PR         00729
  149784 EFRAIN FLECHA CASILLAS                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643174 EFRAIN FLORES                                URB VILLA FLORES             15 CALLE CASTILLA                                                                    CAGUAS            PR         00725
  643178 EFRAIN FLORES HERNANDEZ                      MARIOLGA                     G 5 CALLE SAN FRANCISCO                                                              CAGUAS            PR         00725‐6402
  643179 EFRAIN FLORES SANTIAGO                       BO LA TORRE                  CARR 36 KM 2.8                                                                       SAB GRANDE        PR         00637
  643181 EFRAIN FRANCO ORTIZ                          4 CALLE PADILLA DEL CARIBE                                                                                        CIDRA             PR         00739
  643182 EFRAIN FREYRE FIGUEROA                       URB JARDINES DEL CARIBE      302 CALLE 9                                                                          PONCE             PR         00731
  149785 EFRAIN GAMBOA ORTIZ                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643183 EFRAIN GARCIA BRACERO                        467 CALLE KERCADO                                                                                                 CAROLINA          PR         00987
  643050 EFRAIN GARCIA GOMEZ                          PO BOX 486                                                                                                        PATILLAS          PR         00723
  643184 EFRAIN GARCIA MALDONADO                      BOX 441                                                                                                           BOQUERON          PR         00622
  643185 EFRAIN GARCIA RODRIGUEZ                      BO CACAO CENTRO              KM 308 CARR 858                                                                      CAROLINA          PR         00985
  149786 EFRAIN GARCIA SANTIAGO                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149787 EFRAIN GAUTHIER MONGES                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149789 EFRAIN GIGANTE COLON                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643187 EFRAIN GINES RAMIREZ                         PO BOX 21635                                                                                                      SAN JUAN          PR         00928
  149790 EFRAIN GOMEZ OSORIO                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149791 EFRAIN GONZALEZ CARO                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643188 EFRAIN GONZALEZ CARRION                      URB MELAVILLE                64 CALLE JAGUAS                                                                      SAN JUAN          PR         00926
  149792 EFRAIN GONZALEZ CORTES                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643189 EFRAIN GONZALEZ CRUZ                         PO BOX 19                                                                                                         LARES             PR         00669
  643192 EFRAIN GONZALEZ GRAJALES                     HC 02 BOX 21953                                                                                                   AGUADILLA         PR         00603

   643193 EFRAIN GONZALEZ HERNANDEZ                   URB VILLA FONTANA            2RL 158 VIA 6                                                                        CAROLINA          PR         00983
   643194 EFRAIN GONZALEZ NIEVES                      URB PEPINO                   11 CALLE E                                                                           SAN SEBASTIAN     PR         00685
   149793 EFRAIN GONZALEZ RIVERA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149794 EFRAIN GONZALEZ S E                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643196 EFRAIN GONZALEZ TEJERA                      ESC DE DERECHO UPR           PO BOX 23349 EXT UPR                                                                 SAN JUAN          PR         00931
   643197 EFRAIN GONZALEZ TORRES                      201 RES LOS MIRTOS                                                                                                CAROLINA          PR         00987
   643199 EFRAIN GONZALEZ VAZQUEZ                     P O BOX 1327                                                                                                      MOCA              PR         00676‐1327
   643200 EFRAIN GONZALEZ VEGA                        URB COUNTRY CLUB             OA 1 CALLE 500                                                                       CAROLINA          PR         00982‐1814
   149795 EFRAIN GONZALEZ VELEZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149796 EFRAIN GRACIANI COLON                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643202 EFRAIN GUZMAN CARRERAS                      VILLA PALMERAS 365           CALLE LINDA VISTA                                                                    SAN JUAN          PR         00912
   643203 EFRAIN GUZMAN RIOS                          PO BOX 1894                                                                                                       COROZAL           PR         00783
   149797 EFRAIN GUZMAN TORRES                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149798 EFRAIN HERINQUEZ RAMOS                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643205 EFRAIN HERNANDEZ ALICEA                     URB SAN FELIZ                A1 CALLE 1                                                                           COROZAL           PR         00783

   643207 EFRAIN HERNANDEZ NERNANDEZ PO BOX 1354                                                                                                                        MOCA              PR         00676
   643208 EFRAIN HERNANDEZ RIVERA    COM SAN MARTIN                                942‐20 CALLE J                                                                       GUAYAMA           PR         00784
   149799 EFRAIN HERNANDEZ VEGA      REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643210 EFRAIN HERNANDEZ VERA      BO CACAO                                      2263 CALLE KIN AVILA                                                                 QUEBRADILLA       PR         00678
   149800 Efrain Hidalgo Maysonet    REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149802 EFRAIN I GONZALEZ CRUZ     REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643212 EFRAIN IRIZARRY IRIZARRY   PO BOX 704                                                                                                                         SAN JUAN          PR         00986
   149803 EFRAIN IRIZARRY LUGO       REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149804 EFRAIN IRIZARRY MEDERO     REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149805 EFRAIN IRIZARRY RIVERA     REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149806 EFRAIN IZQUIERDO LUGO      REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  149807 EFRAIN J ARCHILLA MUNOZ                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  149808 EFRAIN J COTTO RIOS                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  149809 EFRAIN J FIGUEROA GUILLAN                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  149810 EFRAIN J IRIZARRY                            REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  149811 EFRAIN J MUNIZ ORTIZ                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  149812 EFRAIN J TOMASINI PEREZ                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   643214 EFRAIN J VAZQUEZ TORRES                     186 CALLE CRUZ ORTIZ STELLA                                                                                      HUMACAO             PR         00791
   149813 EFRAIN J VELEZ FERNANDEZ                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643215 EFRAIN J. LOPEZ SERRANO                     PROG. SERA BAYAMON                                                                                               Hato Rey            PR         009360000
   149814 EFRAIN J. MARTINEZ VELEZ                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149815 EFRAIN J. RODRIGUEZ ALICEA                  REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643051 EFRAIN JAIME DEL VALLE                      HC 4 BOX 12005                                                                                                   HUMACAO             PR         00791
   149816 EFRAIN JANICE CRUZ MUNOZ                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643216 EFRAIN JIMENEZ                              PO BOX 98                                                                                                        AGUADILLA           PR         00603‐0098
   643217 EFRAIN JIMENEZ AYALA                        PO BOX 888 SUITE 346                                                                                             HUMACAO             PR         00792‐0888
   643218 EFRAIN JIMENEZ CHICO                        PO BOX 98                                                                                                        AGUADILLA           PR         00603‐0098
   149817 EFRAIN JIMENEZ QUINONES                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643219 EFRAIN JIMENEZ RIVERA                       PO BOX 531                                                                                                       CIDRA               PR         00739
   643220 EFRAIN JUARBE DIAZ                          PUEBLO STATION                PO BOX 982                                                                         CAROLINA            PR         00986
   643221 EFRAIN JUARBE SOTO                          COLINAS DE BAIROA             LA 25 BOX 73214                                                                    CAGUAS              PR         00727
   149820 EFRAIN JUSTINIANO ALICEA                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149821 EFRAIN JUSTINIANO ORTIZ                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149822 EFRAIN L DIAZ SANTOS                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643222 EFRAIN L NAZARIO                            PO BOX 3306                                                                                                      MAYAGUEZ            PR         00681
   643223 EFRAIN LAUREANO GARCIA                      BO CEIBA CARMELITA            34 CALLE 1                                                                         VEGA BAJA           PR         00693
   149824 EFRAIN LAUREANO TORRES                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643224 EFRAIN LEBRON RAMOS                         VILLA NUEVA                   D 7 CALLE 17                                                                       CAGUAS              PR         00725‐6942
   643225 EFRAIN LEBRON VALENTIN                      PO BOX 5282                                                                                                      SAN SEBASTIAN       PR         00685
   149825 EFRAIN LEON RODRIGUEZ                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643226 EFRAIN LLANOS FARGAS                        URB METROPOLIS                                                                                                   CAROLINA            PR         00987
   643227 EFRAIN LOPEZ AYALA                          URB EXT COUNTRY CLUB          0L15 CALLE 511                                                                     CAROLINA            PR         00982
   149826 EFRAIN LOPEZ CRUZ                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149827 EFRAIN LOPEZ LOPEZ                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643228 EFRAIN LOPEZ NAVARRO                        HC 1 BOX 8223                                                                                                    AGUAS BUENAS        PR         00703
   149828 EFRAIN LOPEZ REYES                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149829 EFRAIN LOPEZ RIVERA                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643230 EFRAIN LOPEZ SANCHEZ                        HC 15 BOX 16572                                                                                                  HUMACAO             PR         00791‐9710
   643231 EFRAIN LOZADA RIVERA                        5529 CALLE BARBERIA BZN 16                                                                                       SABANA SECA         PR         00952
   149830 EFRAIN LUGO PEREZ                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643232 EFRAIN LUYANDO CARMONA                      BOX 4448                                                                                                         NAGUABO             PR         00718
   643234 EFRAIN M FLORES DE HOSTOS                   1050 LOS CORAZONES            AVE SUITE 102                                                                      MAYAGUEZ            PR         00680‐7042
   149831 EFRAIN M HERNANDEZ PEREZ                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149832 EFRAIN M MARTINEZ OLIVERA                   REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643235 EFRAIN M RODRIGUEZ                          D 17 URB VILLA SERAL                                                                                             LARES               PR         00669
   149833 EFRAIN M VAZQUEZ ROSARIO                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   149834 EFRAIN MAERCADO MARRERO                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EFRAIN MAISONET Y MANUELA
   149835 DAVILA                                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                    V3 35 CALLE PEDRO SAN
   643047 EFRAIN MALAVE ECHEVARRIA                    URB LAS LOMAS                 MIGUEL                                                                             SAN JUAN            PR         00921
   149836 EFRAIN MALDONADO COSME                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  643236 EFRAIN MALDONADO CRESPO                      PMB 465                      PO BOX 7105                                                                           PONCE                PR           00728
  643237 EFRAIN MALDONADO FEBRES                      PO BOX 1955                                                                                                        JUNCOS               PR           00777

   643238 EFRAIN MALDONADO MARRERO                    URB CONDADO                  179 CALLE TAFT SUITE 3A                                                               SAN JUAN             PR           00911
   643239 EFRAIN MALDONADO MOJICA                     HC 01 BOX 7588                                                                                                     LUQUILLO             PR           00773
          EFRAIN MALDONADO                            10 RES JARD CAMPO RICO APT
   643240 RODRIGUEZ                                   192                                                                                                                SAN JUAN             PR           00924
   643241 EFRAIN MARCANO                              URB ROOSEVELT                417 CALLE ENRIQUE AMADEO                                                              SAN JUAN             PR           00918
   149837 EFRAIN MARCIAL RIVERA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   643242 EFRAIN MARIN PAGAN                          BO COQUI                     169 CALLE LA FABRICA                                                                  AGUIRRE              PR           00704
   149838 EFRAIN MARQUEZ GUZMAN                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   643244 EFRAIN MARTINEZ                             HC 1 BOX 7582                                                                                                      LAJAS                PR           00667
   149839 EFRAIN MARTINEZ ALAMO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
                                                      SOLAR 687 COM MARIANO
   643245 EFRAIN MARTINEZ BONILLA                     COLON                                                                                                              COAMO                PR           00769
   149840 EFRAIN MARTINEZ MORALES                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   149841 EFRAIN MARTINEZ NEGRON                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   149842 EFRAIN MARTINEZ RIVERA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   149843 EFRAIN MARTINEZ RODRIGUEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   643248 EFRAIN MARTINEZ ROSARIO                     RR 1 BOX 15103                                                                                                     MANATI               PR           00674
   643052 EFRAIN MARTINEZ TORRES                      URB BONNEVILLE HEIGHTS       22 CALLE CANOVANAS                                                                    CAGUAS               PR           00725
   643249 EFRAIN MATOS MESTRES                        PO BOX 4022                                                                                                        VEGA BAJA            PR           00694 4022
   643250 EFRAIN MATOS RODRIGUEZ                      URB BELLA VISTA              A 48 CALLE B                                                                          PONCE                PR           00731
   149845 EFRAIN MEDINA CANALES                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   149846 EFRAIN MEDINA LEBRON                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   149847 EFRAIN MEDINA NIEVES                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   643252 EFRAIN MELENDEZ MIRANDA                     P O BOX 371979                                                                                                     CAYEY                PR           00737 1979
   149848 EFRAIN MELENDEZ PENA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   149852 EFRAIN MENDEZ                               REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   149853 EFRAIN MENDEZ BARRETO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   149854 EFRAIN MENDEZ GONZALEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   149855 EFRAIN MENDEZ PANTOJA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          EFRAIN MERCADO A/C BCO
   643256 SANTANDER PR                                P O BOX 344                                                                                                        HATILLO              PR           00659
   149856 EFRAIN MERCADO ORTIZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   149857 EFRAIN MIRANDA CHEVERE                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   643258 EFRAIN MIRANDA CRUZ                         213 CALLE TAFT                                                                                                     SAN JUAN             PR           00912‐3411
   643259 EFRAIN MIRANDA ROSADO                       SIERRA BAYAMON               68 15 CALLE 60                                                                        BAYAMON              PR           00961
   643260 EFRAIN MOJICA ARROYO                        PO BOX 1606                                                                                                        DORADO               PR           00646
   643261 EFRAIN MOJICA FIGUEROA                      HC 20 BOX 20798                                                                                                    SAN LORENZO          PR           00754‐9600
   149858 EFRAIN MONTALVO BATISTA                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   643262 EFRAIN MONTALVO GUZMAN                      HC 1 BOX 7726                                                                                                      SAN GERMAN           PR           00683‐9710
   643263 EFRAIN MONTERO RIVERA                       BO LA PLENA                  C 2 BELLA VISTA                                                                       PONCE                PR           00731
   643264 EFRAIN MORALES                              URB DEL CARMEN               26 CALLE 2                                                                            JUANA DIAZ           PR           00795
   149859 EFRAIN MORALES GARCIA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   643267 EFRAIN MORALES HERNANDEZ LAS CAROLINAS                                   APT 69 EDIF 5                                                                         CAROLINA             PR           00983
   149860 EFRAIN MORALES RIVERA        REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   643269 EFRAIN MORALES ROBLES        P O BOX 727                                                                                                                       BAYAMON              PR           00960
          EFRAIN MORALES Y NOEMI DE LA
   149861 ROSA                         REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   643270 EFRAIN MURATI MARTINEZ       PO BOX 195453                                                                                                                     SAN JUAN             PR           00919



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  149862 EFRAIN NARANJO FONT                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149863 EFRAIN NARVAEZ MUNOZ                         REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643272 EFRAIN NATER RIVERA                          HC 764 BZN 6409                                                                                                  PATILLAS          PR         00723
  149864 EFRAIN NAZARIO CINTRON                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149865 EFRAIN NEGRON GALENDEZ                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149866 EFRAIN NEGRON OTERO                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149867 EFRAIN NEGRON RODRIGUEZ                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149869 EFRAIN NIEVES CABAN                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643274 EFRAIN NIEVES ECHEVARRIA                     HC 2 BOX 9229                                                                                                    AGUADILLA         PR         00603
  643275 EFRAIN NIEVES GONZALEZ                       HC 57 BOX 12183                                                                                                  AGUADA            PR         00602
  149870 EFRAIN NIEVES NIEVES                         REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149871 EFRAIN NIEVES RAMOS                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149872 EFRAIN NUNEZ CAMACHO                         REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149873 EFRAIN NUNEZ INC                             REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149874 EFRAIN O COLON ROSARIO                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149875 EFRAIN O FIGUEROA RAMIREZ                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149877 EFRAIN O PADRO CINTRON                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643277 EFRAIN O VAZQUEZ MEDINA                      SAN SOUCI                CC 5 CALLE 18                                                                           BAYAMON           PR         00963
  149878 EFRAIN OCASIO SOTO                           REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149879 EFRAIN OLIVENCIA GONZALEZ                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149880 EFRAIN OLIVERAS VILLAFANE                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149882 EFRAIN OLIVERO NEGRON                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149883 EFRAIN O'NEILL CARRILLO                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149884 EFRAIN OQUENDO CANALES                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149885 EFRAIN ORTEGA PENA                           REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149886 EFRAIN ORTIZ ADORNO                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643279 EFRAIN ORTIZ AYALA                           372 CALLE LA MILAGROSA                          136                                                              SABANA SECA       PR         00952
  149887 EFRAIN ORTIZ CARABALLO                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643280 EFRAIN ORTIZ COLON                           VILLA CAROLINA           5 34 CALLE 33                                                                           CAROLINA          PR         00985
  149888 EFRAIN ORTIZ DE JESUS                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643281 EFRAIN ORTIZ FIGUEROA                        BARRIO LA PLENA          H 4 CALLE FLAMBOYAN                                                                     MERCEDITA         PR         00715
  149889 EFRAIN ORTIZ MUNOZ                           REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643282 EFRAIN ORTIZ NEGRON                          URB METROPOLIS           2‐I CALLE 37                                                                            CAROLINA          PR         00987
  643283 EFRAIN ORTIZ ORTIZ                           COND ALMENDROS           1004 PLAZA 1                                                                            SAN JUAN          PR         00924
  149890 EFRAIN ORTIZ RODRIGUEZ                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149891 EFRAIN ORTIZ ROMAN                           REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149892 EFRAIN ORTIZ RULLAN                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643285 EFRAIN PADILLA ACEVEDO                       P O BOX 533                                                                                                      GURABO            PR         00778
  149894 EFRAIN PADRO SANTOS                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643286 EFRAIN PAGAN                                 84 CALLE TORRES                                                                                                  PONCE             PR         00730
                                                      PO BOX 34441 FORT
   643287 EFRAIN PAGAN CASTRO                         BUCHANAN                                                                                                         SAN JUAN          PR         00934‐0441
   643289 EFRAIN PANTOJAS JIMENEZ                     P O BOX 4463                                                                                                     UTUADO            PR         00641
   149895 EFRAIN PEREZ BRAVO                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643291 EFRAIN PEREZ DAVILA                         REPTO VALENCIA           AJ 55 CALLE 12                                                                          BAYAMON           PR         00959
   149899 EFRAIN PEREZ JIMENEZ                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643294 EFRAIN PEREZ LUGO                           HC 4 BOX 41883                                                                                                   MAYAGUEZ          PR         00680
   149900 EFRAIN PEREZ MEDINA                         REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643295 EFRAIN PEREZ ORTEGA                         PO BOX 1518                                                                                                      MOCA              PR         00676
   643296 EFRAIN PEREZ ORTIZ                          PMB 51 BOX 20000                                                                                                 CANOVANAS         PR         00729
   643297 EFRAIN PEREZ PACHECO                        HC 3 BOX 24469                                                                                                   LAJAS             PR         00667
   149901 EFRAIN PEREZ PEREZ                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643053 EFRAIN PEREZ PEREZ                          513 CALLE LUTZ                                                                                                   SAN JUAN          PR         00915 4315



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  643299 EFRAIN PEREZ RIVERA                          HC 06 BOX 13874                                                                                                   HATILLO           PR         00659
  149902 EFRAIN PEREZ RODRIGUEZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643301 EFRAIN PEREZ TORRES                          PO BOX 378                                                                                                        YAUCO             PR         00698
  643302 EFRAIN PICON LOPEZ                           URB MIRADERO HILLS           210 CALLE SIERRA NEVADA                                                              MAYAGUEZ          PR         00682
  149903 EFRAIN PINEIRO LAGUER                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643303 EFRAIN POLANCO MARTINEZ                      HC 4 BOX 45226                                                                                                    MAYAGUEZ          PR         00680
  643305 EFRAIN POSADA RONDON                         PO BOX 9065147                                                                                                    SAN JUAN          PR         00906‐5147

   643306 EFRAIN QUI¥ONES RODRIGUEZ                   PO BOX 2228                                                                                                       SAN GERMAN        PR         00683‐2228
   149905 EFRAIN QUINONES NISTAL                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149906 EFRAIN QUINONES RIVERA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149907 EFRAIN QUINONES SERRANO                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149909 EFRAIN R GOMEZ MUNOZ                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149910 EFRAIN R MORAN VEGA                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643309 EFRAIN R ROSARIO LOPEZ                      URB VILLA FONTANA            DR 5 VIA 18                                                                          CAROLINA          PR         0009834701
   643310 EFRAIN R VIDAL CABANAS                      PO BOX 1606                                                                                                       HORMIGUEROS       PR         00660
   643311 EFRAIN RAMIREZ BOSQUE                       HC 01 BOX 3890                                                                                                    ADJUNTAS          PR         00601
                                                      72 RES LUIS LLORENS TORRES
   643312 EFRAIN RAMIREZ DELGADO                      APT 1363                                                                                                          SAN JUAN          PR         00913
   643313 EFRAIN RAMIREZ QUINTANA                     PO BOX 741                                                                                                        SAN SEBASTIAN     PR         00685
   149911 EFRAIN RAMIREZ ZABALA                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643315 EFRAIN RAMOS COLLAZO                        URB LA ALAMEDA               834 CALLE ASABACHE                                                                   SAN JUAN          PR         00926
   643316 EFRAIN RAMOS GARRIGA                        URB SANTA ELVIRA             K 8 CALLE SANTA LUCIA                                                                CAGUAS            PR         00725
   643054 EFRAIN RAMOS HERNANDEZ                      RR 07 BOX 7400                                                                                                    SAN JUAN          PR         00926
   643317 EFRAIN RAMOS ORTIZ                          RR 4 BOX 27080                                                                                                    TOA ALTA          PR         00953
   643318 EFRAIN RAMOS SOTO                           PO BOX 250040                                                                                                     AGUADILLA         PR         00604‐0040
   149913 EFRAIN RAMOS TORRES                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643320 EFRAIN REYES ALICEA                         URB LA GUADALUPE             1538 CALLE NAVARRA                                                                   PONCE             PR         00730‐4204
   643321 EFRAIN REYES CARTAGENA                      HC 01 BOX 7267                                                                                                    AGUAS BUENAS      PR         00703
   149914 EFRAIN REYES CRUZ                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149915 EFRAIN REYES NEBEL                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   643322 EFRAIN REYES QUINTANA                       C/O WANDA MARRERO NEGRON OFICINA DEL CONTRALOR         PO BOX 366069                                              SAN JUAN          PR         00936‐6069
   149916 EFRAIN REYES TORRES                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643324 EFRAIN RIVAS ALBALADEJO                     HC 03 BOX 14097                                                                                                   COROZAL           PR         00783
   643325 EFRAIN RIVAS SOTO                           PO BOX 480                                                                                                        LAS PIEDRAS       PR         00771
   149917 EFRAIN RIVAS TORRES                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643326 EFRAIN RIVE GOMEZ INC                       PO BOX 364203                                                                                                     SAN JUAN          PR         00936
   643328 EFRAIN RIVERA ANDUJAR                       URB ROYAL TOWN             9 CALLE 54 BLOQUE 13                                                                   BAYAMON           PR         00956
   149918 EFRAIN RIVERA BETANCOURT                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643329 EFRAIN RIVERA CATALA                        H C 1 BOX 1164                                                                                                    TOA BAJA          PR         00949
   643330 EFRAIN RIVERA CORREA                        URB VENUS GARDENS          1748 CAJJE ESCORPION                                                                   SAN JUAN          PR         00926
   149919 EFRAIN RIVERA CORTES                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643331 EFRAIN RIVERA CRESPO                        HC 58 BOX 9430                                                                                                    AGUADA            PR         00602
   643332 EFRAIN RIVERA DORTA                         PO BOX 7167                                                                                                       ARECIBO           PR         00613
                                                      BDA MIRAMAR CALLE AMARILIS
   643056 EFRAIN RIVERA FLORES                        633 A‐B                    ZN 52                                                                                  GUAYAMA           PR         00784
   149921 EFRAIN RIVERA GOLDEROS                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  1256435 EFRAIN RIVERA GONZALEZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643334 EFRAIN RIVERA NORIEGA                       P O BOX 406                                                                                                       BAJADERO          PR         00616‐0406
   149922 EFRAIN RIVERA NUNEZ                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643055 EFRAIN RIVERA PESANTE                       PO BOX 1087                                                                                                       RIO GRANDE        PR         00745
   149923 EFRAIN RIVERA QUINONES                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  149924 EFRAIN RIVERA QUINONEZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  149925 EFRAIN RIVERA RAMOS                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  643335 EFRAIN RIVERA RIVERA                          BO GALATEO BAJO            CARR 446 KM 2.5 4 90                                                                 ISABELA             PR         00662
  643338 EFRAIN RIVERA ROSARIO                         VILLA CARMEN               N 30 CALLE 11                                                                        GURABO              PR         00778
  643339 EFRAIN RIVERA SANCHEZ                         BO OBRERO                  615 BARTOLOME LAS CASAS                                                              SAN JUAN            PR         00915
  643340 EFRAIN RIVERA VAZQUEZ                         PO BOX 71325 SUITE 043                                                                                          SAN JUAN            PR         00936
  149926 EFRAIN RIVERA VEGA                            REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  149927 EFRAIN RIVERA VELEZ                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         EFRAIN RIVERA Y HILDA MEDINA
  643327 ( TUTORA )                                    8321 FOX HOLLOW DR                                                                                              PORT RICHEY         FL         34668
  643341 EFRAIN RODRIGUEZ                              PO BOX 6                                                                                                        AIBONITO            PR         00786
  643343 EFRAIN RODRIGUEZ AMBERTY                      PO BOX 1161                                                                                                     CIDRA               PR         00739
  149928 EFRAIN RODRIGUEZ BAEZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                       BCO DESARROLLO ECONOMICO P
   643346 EFRAIN RODRIGUEZ COLON a/c                   R                          HC 44 BOX 14245                                                                      CAYEY               PR         00736‐9747
          EFRAIN RODRIGUEZ DBA
   643347 ALMACENES NATHAN                             62 CALLE M J CABRERO                                                                                            SAN SEBASTIAN       PR         00685
          EFRAIN RODRIGUEZ DBA
   149930 RODRIGUEZ BUS LINE                           HC‐02 BOX 12640                                                                                                 AGUAS BUENAS        PR         00703
   149931 EFRAIN RODRIGUEZ ESTRADA                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   149932 EFRAIN RODRIGUEZ GONZALEZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   149933 EFRAIN RODRIGUEZ GUADALUPE REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643350 EFRAIN RODRIGUEZ MALAVE    PO BOX 3659                                                                                                                       SAN JUAN            PR         00919
          EFRAIN RODRIGUEZ
   643351 MARCANTONI                 P O BOX 615                                                                                                                       UTUADO              PR         00641‐0615

   643352 EFRAIN RODRIGUEZ MARRERO                     URB TREASURE VALLEY        B 11 CALLE MEXICO                                                                    CIDRA               PR         00739
   643353 EFRAIN RODRIGUEZ NEGRON                      157 CALLE 25 DE JULIO                                                                                           GUANICA             PR         00653
   643354 EFRAIN RODRIGUEZ NIEVES                      PO BOX 1060                                                                                                     ARROYO              PR         00714
   149934 EFRAIN RODRIGUEZ OFARRIL                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149935 EFRAIN RODRIGUEZ ORTIZ                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643355 EFRAIN RODRIGUEZ RIVERA                      HC 1 BOX 6539                                                                                                   CIALES              PR         00638

   643357 EFRAIN RODRIGUEZ RODRIGUEZ HC 01 BOX 6006                                                                                                                    GUAYANILLA          PR         00656

   149937 EFRAIN RODRIGUEZ SANTIAGO                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643361 EFRAIN RODRIGUEZ SOTO                        HC 66 BOX 8924                                                                                                  FAJARDO             PR         00738
   149938 EFRAIN RODRIGUEZ TORRES                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643362 EFRAIN RODRIGUEZ VIGIL                       CIUDAD JARDIN              13 CALLE GLADIOLA                                                                    CAROLINA            PR         00987
   643363 EFRAIN ROLDAN COLLAZO                        BO QUEMADOS                P O BOX 49                                                                           SAN LORENZO         PR         00754
   149939 EFRAIN ROLDAN LOPEZ                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149940 EFRAIN ROMAN ACEVEDO                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   149941 EFRAIN ROMAN CALDERON                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643364 EFRAIN ROMAN MERCADO                         PO BOX 141543                                                                                                   ARECIBO             PR         00614‐1543
   643365 EFRAIN ROMERO MENDEZ                         COM LA GRANJA              PARCELA 214                                                                          UTUADO              PR         00612
   149942 EFRAIN ROMERO VILLANUEVA                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643368 EFRAIN ROSA CORDOVA                          URB JARDINES DE CIALES     CALLE A 2                                                                            CIALES              PR         00638
   149945 EFRAIN ROSA FIGUEROA                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643048 EFRAIN ROSA ROSADO                           P O BOX 943                                                                                                     SAN LORENZO         PR         00754
   643369 EFRAIN ROSA VILLANUEVA                       PO BOX 3520                                                                                                     AGUADILLA           PR         00605
   149946 EFRAIN ROSADO FELICIANO                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  643370 EFRAIN ROSADO FLORES                         URB VISTAMAR            18 CALLE JUAN B MORCIGLIO                                                              GUANICA           PR       00653
  643371 EFRAIN ROSADO HERNANDEZ                      PO BOX 10207                                                                                                   PONCE             PR       00732
  643372 EFRAIN ROSADO LOPEZ                          BO POPEYO               HC 09 BOX 4361                                                                         SABAN GRANDE      PR       00637
  149947 EFRAIN ROSADO MARTI                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  149948 EFRAIN ROSADO PINERO                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  643373 EFRAIN ROSARIO CURBELO                       HC 01 BOX 3462                                                                                                 FLORIDA           PR       00650‐9508
  643374 EFRAIN ROSARIO NIEVES                        URB ARBOLADA            G 8 CALLE ALMACIGO                                                                     CAGUAS            PR       00725
  149950 EFRAIN ROSARIO QUINONES                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  643375 EFRAIN ROUBERT RODRIGUEZ                     URB SANTA TERESITA      AT2 CALLE 10                                                                           PONCE             PR       00731
  149951 EFRAIN RUBIANO CARRERO                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  149952 EFRAIN RUIZ BAYRON                           REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  149953 EFRAIN RUIZ CAMARGO                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  643376 EFRAIN RUIZ MORALES                          URB MIRAFLORES          7 12 CALLE 16                                                                          BAYAMON           PR       00957
  149954 EFRAIN RUIZ VELEZ                            REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  149956 EFRAIN S RODRIGUEZ DAVILA                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  643377 EFRAIN SALGADO SANTIAGO                      RES MANUEL A PEREZ      EDIF B APT 26                                                                          SAN JUAN          PR       00923
  643378 EFRAIN SANCHEZ CORTES                        HC 4 BOX 48163                                                                                                 CAGUAS            PR       00725
  643379 EFRAIN SANCHEZ CRUZ                          HC 02 BOX 4955                                                                                                 GUAYAMA           PR       00784
  643380 EFRAIN SANCHEZ LORENZO                       URB VALLE HERMOSA ST    2 CALLE HORTENCIA                                                                      HORMIGUERO        PR       00660‐1226
  643381 EFRAIN SANCHEZ MENDEZ                        BO SALUD                27 ORIENTE                                                                             MAYAGUEZ          PR       00680‐5001
  149958 EFRAIN SANCHEZ PEREZ                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  643382 EFRAIN SANCHEZ PINTO                         URB VALLE ARRIBA HGTS   T 22 CALLE GRANADILLA                                                                  CAROLINA          PR       00983
         EFRAIN SANCHEZ RIVERA D/B/A
  149959 EFRASAN                                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED
  149960 EFRAIN SANCHEZ RODRIGUEZ                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED
  643383 EFRAIN SANCHEZ ROSARIO                       RR A BOX 5002                                                                                                  SAN JUAN          PR         00926
  643057 EFRAIN SANTALIZ SANTALIZ                     BO LA QUINTA            21 CALLE CALLETANO                                                                     MAYAGUEZ          PR         00680
  643384 EFRAIN SANTANA DIAZ                          RES SAN MARTIN          EDIF 15 APT 177                                                                        SAN JUAN          PR         00924
  149961 EFRAIN SANTANA MARRERO                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED
  149962 EFRAIN SANTANA ROSARIO                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED
  149963 EFRAIN SANTANA VELEZ                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED

   643386 EFRAIN SANTIAGO ALEJANDRO                   HC 1 BOX 6089                                                                                                  GUAYNABO          PR         00971
   643387 EFRAIN SANTIAGO BABILONIA                   PO BOX 1872                                                                                                    MACA              PR         00676
   149964 EFRAIN SANTIAGO COLON                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED
   643389 EFRAIN SANTIAGO CRUZ                        PO BOX 953                                                                                                     COMERIO           PR         00782
          EFRAIN SANTIAGO ELECTRICAL
   149965 CONTRACTOR IN                               PO BOX 1872                                                                                                    MOCA              PR         00676
          EFRAIN SANTIAGO ELECTRICAL
   149966 CONTRACTOR, I                               APARTADO 1872                                                                                                  MOCA              PR         00676
   149967 EFRAIN SANTIAGO FUENTES                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED

   643392 EFRAIN SANTIAGO HERNANDEZ                   URB PABELLONES 271      CALLE PORTUGAL                                                                         TOA BAJA          PR         00949
   643393 EFRAIN SANTIAGO MERCADO                     HC 02 BOX 11981                                                                                                SAN GERMAN        PR         00683

   149968 EFRAIN SANTIAGO MONTANEZ                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED
   149969 EFRAIN SANTIAGO ORTIZ                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED
   149970 EFRAIN SANTIAGO PAGAN                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED
   643395 EFRAIN SANTIAGO ROSARIO                     P O BOX 278                                                                                                    CANOVANAS         PR         00729
   149971 EFRAIN SANTIAGO SANTIAGO                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED
   643397 EFRAIN SANTOS COSTAS                        URB VALLE COSTERO       3405 CALLE ISLA                                                                        SANTA ISABEL      PR         00757
   149972 EFRAIN SEDA REYES                           REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED
   149973 EFRAIN SEGARRA GARCIA                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED



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  149974 EFRAIN SEGARRA HERNANDEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643398 EFRAIN SERPA SERPA                           URB VILLA EVENGELINA          L 80 CALLE 2                                                                      MANATI            PR         00674
  643399 EFRAIN SERRANO BERRIOS                       URB SAN CRISTOBAL             5A CALLE C                                                                        BARRANQUITAS      PR         00794
         EFRAIN SERRANO C/O RAMON F
  643400 LOPEZ                                        PO BOX 70370                                                                                                    SAN JUAN          PR         00936‐8370
  149975 EFRAIN SERRANO MARTINEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149976 EFRAIN SERRANO ZAYAS                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643402 EFRAIN SIERRA ALMODOVAR                      JARDINES DE VEGA BAJA         I 4 CALLE I                                                                       VEGA BAJA         PR         00693
  643403 EFRAIN SOLER TORRES                          BO VOLADORAS                  HC 02 BOX 133190                                                                  MOCA              PR         00676
  643404 EFRAIN SOSA COLON                            P O BOX 61269                                                                                                   SAN JUAN          PR         00940‐1269
  149978 EFRAIN SOSA NIEVES                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  149980 EFRAIN SOTO CRUZ                             REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643409 EFRAIN SOTO PEREZ                            URB MEDINA A                  10 CALLE 2                                                                        ISABELA           PR         00662
  643410 EFRAIN SOTO RIVERA                           PO BOX 7508                                                                                                     PONCE             PR         00732‐7508
  149983 EFRAIN STRUBBE PEREZ                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  643411 EFRAIN SULE OLIVERAS                         M CR30 EXT TERESITA                                                                                             PONCE             PR         00731

   643412 EFRAIN TAVAREZ ECHEVARRIA                   BO COTTO 53 RUTA 4                                                                                              ISABELA           PR         00662
          EFRAIN TIRADO APPRAISAL
   149984 GROUP PSC                                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149986 EFRAIN TIRADO PADILLA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149987 EFRAIN TOLENTINO LUYANDO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      BO DAGUAO PARCEKS NUEVES
   643413 EFRAIN TOLENTINO SALCEDO                    405                                                                                                             NAGUABO           PR         00718
   643414 EFRAIN TORRES                               PLAYA PONCE                   206 CALLEJON DEL RIO                                                              PONCE             PR         00731

   643415 EFRAIN TORRES ALICEA                        C/O LUIS A NOGUERAS RIVERA    BO GUAVATE 22550                                                                  CAYEY             PR         00736
   643416 EFRAIN TORRES CENTENO                       HC 02 BOX 22470                                                                                                 MAYAGUEZ          PR         00680
   149988 EFRAIN TORRES FERNANDEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149989 EFRAIN TORRES HERNANDEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643419 EFRAIN TORRES MAYMI                         VALLE VERDE                   BB16 CALLE RIO NILO                                                               BAYAMON           PR         00961
   643420 EFRAIN TORRES PLUMEY                        11 CALLE SAN JOAQUIN                                                                                            ADJUNTAS          PR         00601
   149991 EFRAIN TORRES QUINONES                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149992 EFRAIN TORRES RAMOS                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643422 EFRAIN TORRES RIVERA                        PO BOX 1238                                                                                                     OROCOVIS          PR         00720
   643423 EFRAIN TORRES RODRIGUEZ                     P O BOX 1434                                                                                                    MOROVIS           PR         00687
   149994 EFRAIN TORRES RUIZ                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149995 EFRAIN TORRES SANTIAGO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149996 EFRAIN TORRES VAZQUEZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   149997 EFRAIN TRINIDAD CORTEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643426 EFRAIN TRINIDAD ROJAS                       VILLAS DE LOIZA               AE 29 CALLE 31                                                                    CANOVANAS         PR         00729
   643428 EFRAIN VALE VELAZQUEZ                       URB VISTA VERDE               769 CALLE 24                                                                      AGUADILLA         PR         00603
   149999 EFRAIN VALENTIN COLON                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643431 EFRAIN VARGAS                               BO FURNIAS                    HC 01 BOX 2196                                                                    LAS MARIAS        PR         00670
   150000 EFRAIN VARGAS BAEZ                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643058 EFRAIN VARGAS MALDONADO                     URB DEL CARMEN                A 6 CALLE 2                                                                       CAMUY             PR         00627
   643432 EFRAIN VAZQUEZ                              P O BOX 21365                                                                                                   SAN JUAN          PR         00918
   150001 EFRAIN VAZQUEZ ALGARIN                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   643434 EFRAIN VAZQUEZ ARROYO                       BO GUAVATE 22550                                                                                                CAYEY             PR         00736
   150002 EFRAIN VAZQUEZ LOPEZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   643435 EFRAIN VAZQUEZ ROSA                         URB ALTURAS DE SANTA ISABEL   C 2 A 11                                                                          SANTA ISABEL      PR         00757
   150004 EFRAIN VAZQUEZ TORRES                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  150005 EFRAIN VAZQUEZ VERA                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         EFRAIN VEGA ACEVEDO/
  150006 DYNAMIC SOLAR                                REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  150007 EFRAIN VEGA CHERENA                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  643436 EFRAIN VEGA COLON                            SAINT JUST                  196 CALLE PRINCIPAL                                                               TRUJILLO ALTO       PR         00976
  643437 EFRAIN VEGA LUGO                             BO JAGUAS SECTOR LA LINEA   CARR 149 KM 17 7 INT                                                              CIALES              PR         00638
  643439 EFRAIN VEGA MORALES                          PMB 483 PO BOX 29029                                                                                          SAN JUAN            PR         00929‐0029
                                                                                  108‐22 AVE CENTRAL
   643440 EFRAIN VEGA RIVERA                          3RA EXT VILLA CAROLINA      BOULEVARD                                                                         CAROLINA            PR         00985
   643442 EFRAIN VEGA RODRIGUEZ                       RES PONCE HOUSING           9 APT 111                                                                         PONCE               PR         00731

   150009 EFRAIN VEGA Y JUANITA RIVERA REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   150010 EFRAIN VELAZQUEZ CARTAGENA REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643444 EFRAIN VELAZQUEZ DAVILA    PO BOX 1071                                                                                                                    PATILLAS            PR         00723

   150011 EFRAIN VELAZQUEZ MONTANEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150012 EFRAIN VELAZQUEZ MORALES                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150013 EFRAIN VELAZQUEZ TIRADO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643446 EFRAIN VELEZ BORGES                         JARD DE BORINQUEN           5‐3 JAZMIN                                                                        CAROLINA            PR         00985
   643447 EFRAIN VELEZ PEREZ                          HC 02 BOX 7443                                                                                                FLORIDA             PR         00650
   150014 EFRAIN VELEZ RIVERA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150015 EFRAIN VELEZ SANCHEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150016 EFRAIN VILLANUEVA                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   643449 EFRAIN ZARAGOZA GONZALEZ                    PO BOX 243                                                                                                    SABANA GRANDE       PR         00637
   150017 EFRAIN ZAYAS MARRERO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643450 EFRAIN ZENON MELENDEZ                       URB EL CORTIJO              O 23 CALLE 19                                                                     BAYAMON             PR         00956
   150023 EFREIN A RODRIGUEZ ORTIZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643452 EFREN ALFONSO MORALES                       URB VILLA OLIMPIA           C 25 CALLE 6                                                                      YAUCO               PR         00698
   643453 EFREN ALVARADO LUGO                         BO SABANA BUENA VISTA       RR 8 BOX 9668B                                                                    BAYAMON             PR         00956
   150024 EFREN ALVAREZ ROMAN                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643454 EFREN B LUGO PEREZ                          RIO PEDRAS HEIGHTS          148 CALLE WESSER                                                                  SAN JUAN            PR         00926
   150025 EFREN BULA LOPEZ                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150026 EFREN BUTLER FERNANDEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150027 EFREN C OLIVER FRANCO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150028 EFREN CASTRO ROSARIO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643455 EFREN COMAS IRIZARRY                        PO BOX 3052                                                                                                   SAN GERMAN          PR         00683
   643456 EFREN CRUZ SIERRA                           URB HERMANAS DAVILA         381 CALLE 1                                                                       BAYAMON             PR         00959‐5453
   643457 EFREN D MENDEZ PEREZ                        EXTANCIAS DEL RIO           E 8 CALLE 5                                                                       SABANA GRANDE       PR         00637
   643458 EFREN E MANGUAL CORDERO                     P O BOX 660                                                                                                   BOQUERON            PR         00622
          EFREN ESTREMERA
   150029 MONTENEGRO                                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643459 EFREN G ROLON DAVILA                        P O BOX 7577                                                                                                  CANOVANAS           PR         00729‐7577
   150031 Efrén Galarza                               REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150032 EFREN GARCIA MUNOZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643460 EFREN GONZALEZ GARCIA                       PO BOX 2367                                                                                                   JUNCOS              PR         00777
   643461 EFREN GONZALEZ GONZALEZ                     HC 03 BOX 13931                                                                                               UTUADO              PR         00641
          EFREN GREGORY
   643462 RAMIREZ/ALMACEN MUSICAL                     REPARTO UNIVERSIDAD         A 55 CALLE 12                                                                     SAN GERMAN          PR         00683
   150033 EFREN LAUREANO LOPEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643463 EFREN M MATOS SANCHEZ                       COOP ROLLING HILLS          BOX 150                                                                           CAROLINA            PR         00987




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   643464 EFREN MALDONADO PASCUAL                     MAYAGUEZ TERRACE             5016 SAN GERARDO                                                                  MAYAGUEZ            PR           00682 6627
   643465 EFREN MARIN REYES                           COND LA CEIBA APT D 1608                                                                                       PONCE               PR           00731
   150034 EFREN MARQUEZ VEGLIO                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   643466 EFREN MERCADO BURGOS                        BO CACAO SECTOR LA HACIENDA CARR 157 KM 3 6 INT                                                                OROCOVIS            PR           00720
   150035 EFREN NEGRON GOMILA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150036 EFREN ORTEGA RIVERA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150037 EFREN PADILLA LOPEZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150038 EFREN PENA CORREA                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150039 EFREN PENA LOPEZ                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643468 EFREN REYES REYES                           PARC JAUCA                  193 CALLE 1                                                                        SANTA ISABEL        PR           00757
   150040 EFREN RIVERA SANTIAGO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150041 EFREN ROBLES NIEVES                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643469 EFREN RODRIGUEZ TORO                        P O BOX 314                                                                                                    HORMIGUEROS         PR           00660
   643470 EFREN ROLON PEREZ                           JARDIN PALMAREJO            MM2 CALLE 28                                                                       CANOVANAS           PR           00729
   150042 EFREN ROSADO ROSADO                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150044 EFREN SANTIAGO                              REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EFREN SANTIAGO / MABELINE
   150045 RIVERA                                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150046 EFREN SANTIAGO OCASIO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643472 EFREN TOMAS SANTIAGO                        PO BOX 1010                                                                                                    CAYEY               PR           00627
   643473 EFREN TORRES LUGO                           HC 01 BOX 4633                                                                                                 ADJUNTA             PR           00601 9718
   150047 EFREN VELAZQUEZ BELLO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150048 EFREN Y AROCHO GUISAO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150049 EFRHAYN J CABALLERO ALICE                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643474 EFRO CONSTRUCTION CORP                      URB BELLA VISTA GARDENS      E12 B CALLE 1                                                                     BAYAMON             PR           00957

   643475 EG COMPUTER SOFTWARE CORP PO BOX 192                                                                                                                       SAN JUAN            PR           00902

   150051 EG CONSULTING GROUP        LOMAS DE MANATUABON #70                                                                                                         MANATI              PR           00674
   150052 EGA JAVIER                 REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643476 EGAL IMPORTS               P O BOX 190729                                                                                                                  SAN JUAN            PR           00919
   150053 EGB AIR CONDITIONING INC   REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643478 EGBERT HERNANDEZ BEY       COUNTRY CLUB                                  972 CALLE CEILAN                                                                  SAN JUAN            PR           00924
          EGBERTO BERLINGERI
   150056 RODRIGUEZ                  REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150057 EGBERTO F MORALES Y ASOC   EDIF ILA AVE KENNEDY                          OFICINA 206                                                                       SAN JUAN            PR           00920
          EGBERTO MORALES CARRASCO P
   150058 E                          REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643483 EGBERTO MORALES GORJON     PMB 176 130 AVE WINSTON                       CHURCHILL SUITE 1                                                                 SAN JUAN            PR           00926‐0375
   643485 EGBERTO ZAYAS SANCHEZ      PO BOX 335                                                                                                                      AGUIRRE             PR           00751
   643486 EGDA E COLLADO             315 CALLE EL GUAYO                                                                                                              MAYAGUEZ            PR           00680
   150060 EGDA M MATOS NAVEDO        REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643487 EGDA M PAGAN RIVERA        EXT VILLA RICA                                J29 CALLE 8                                                                       BAYAMON             PR           00959
   643488 EGDA MORALES RAMOS         URB SANTA RITA                                1008 CALLE MADRID                                                                 SAN JUAN            PR           00925
   150061 EGDA ROLDAN                REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   643489 EGDA SOLIMAR TORRES RENTAS                  VALLE REAL                   A 32 CALLE MARQUESA                                                               PONCE               PR           00732
   643491 EGGIE RODRIGUEZ FLORES                      PO BOX 751                                                                                                     JUANA DIAZ          PR           00795
   643492 EGGIES OMAR DIAZ SERPA                      VILLA ROCA                   BOX C‐10 CALLE 27                                                                 MOROVIS             PR           00687
   643493 EGGY A BONILLA CORTES                       HC 59 BOX 4423                                                                                                 AGUADA              PR           00602




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   150068 EGIDA ASOC/MIEM/POLICIA PR                  RR 3 BOX 3724                                                                                                 SAN JUAN             PR           00926

   150069 EGIDA DANIEL LUIS FLORES INC                URB SEVERO QUINONES 2000    CALLE 1                                                                           CAROLINA             PR           00985‐5961

   150070 EGIDA DE LA CONCEPCION INC                  1 CALLE VARIANTE                                                                                              SAN GERMAN           PR           00683
   150071 EGIDA DE MIRAFLORES                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EGIDA DEL COLEGIO ING Y
   150072 AGRIM                                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   150073 EGIDA DEL PERPETUO SOCORRO                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150074 EGIDA DEL POLICIA INC                       RR 3 BOX 3724                                                                                                 SAN JUAN             PR           00926
          EGIDA DEL POLICIA TRUJILLO
   150075 ALTO LP                                     RR 3 BOX 3724                                                                                                 SAN JUAN             PR           00976
  1256436 EGIDA DEL POLICIA, INC.                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   150076 EGIDA E INTITUCION EL PARAISO PMB 1888 C/PARIS #243                                                                                                       SAN JUAN             PR           00917
   150077 EGIDA EL PARAISO              REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EGIDA ESPIRITA POSADA DE LA
   643494 CARIDAD                       P O BOX 194668                                                                                                              SAN JUAN             PR           00919‐4668
          EGIDA ESPIRITU POSADA DE LA
  1256437 CARIDAD                       REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EGIDA PERPETUO SOCORRO        URB. HYDE PARK CALLE
   150078 LP,S.E.                       AMAPOLA #3                                                                                                                  SAN JUAN             PR           00927‐0000
   150079 EGIDA VISTAS DEL RIO          REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150091 EGLEE W RODRIGUEZ RUIZ        REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   643496 EGNA MARRERO APONTE           HC 1 BOX 5935                                                                                                               COROZAL              PR           00783
   150093 EGOS ALSAN GRUPO MEDICO       PO BOX 1028                                                                                                                 FAJARDO              PR           00738

   150096 EGOZCUE ROSARIO MD, ANGEL R REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   643497 EGPS CORP                   4285 CARR 2                                                                                                                   VEGA BAJA            PR           00693‐3619
   643498 EGRAIN VEGA RIOS            19 CALLE CARIBE                             SUITE 1                                                                           MANATI               PR           00674
   150099 EGROL SIUL                  REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150100 EGUIA MOREDA MD, VASCO      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150104 EGUY E VELEZ CASTRO         REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   643500 EHAB AL SHAER               0S071 PLEASANT HILL RD                                                                                                        CHICAGO              IL           60187
   150107 EHISA LUGO ENRIGQUEZ        REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EHP S J S LLC DBA EMBASSY
   643501 SUITES H&C SJ               8000 TARTAK STREET                                                                                                            CAROLINA             PR           00979
   150109 EHRET INC.                  P.O. BOX 71516                                                                                                                SAN JUAN             PR           00936‐8616

   150110 EHS MANAGEMENT GROUP INC                    VALLE HERMOSO SUR           SU 70 CALLE CIRCULO                                                               HORMIGUEROS          PR           00660

   643502 EHYLA MARRERO PEREZ                         335 AVE WINSTON CHURCHILL                                                                                     SAN JUAN             PR           00926
   643503 EIBY MACHINE SHOP                           RR 2 BOX 5800                                                                                                 MANATI               PR           00674
   150114 EIBY MATOS HERNANDEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   643504 EICHALY ROSA DE LA PAZ                      HC 02 BOX 10191                                                                                               GUAYNABO             PR           00971
   150118 EIDA E ALTRECHE TIRADO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150119 EIDA G MENA JIMENEZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150120 EIDA L. GONZALEZ MORALES                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150121 EIDA LAO HERNANDEZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   643506 EIDA LEON BARTH                             ESTACION FERNANDEZ JUNCOS   PO BOX 11855                                                                      SAN JUAN             PR           00910‐3855



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  150122 EIDA RODRIGUEZ ROSARIO                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   150123 EIDIOL GHIGLIOTTI VELAZQUEZ                 REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643508 EIDY CINTRON IZQUIERDO                      HC 4 BOX 22025                                                                                                          JUANA DIAZ          PR         00795
   643509 EIDY SERRANO SANTIAGO                       PO BOX 1014                                                                                                             SABANA HOYOS        PR         00688
   643510 EIDY Y FERNANDEZ ALICEA                     URB VILLA CAROLINA             206‐16 CALLE 514                                                                         CAROLINA            PR         00985
   150125 EIGLA Y TROCHE TROCHE                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643511 EIKON ELECTRIC CORP                         PO BOX 9502                                                                                                             BAYAMON             PR         00960‐8044
                                                      CALLE SAN FRANCISCO 407, APT
   150126 EIKOVA                                      302                                                                                                                     SAN JUAN            PR         00901
   643512 EIKYA NIEVES ROSARIO                        VENUS GARDEN                   AB 21 CALLE TORREON                                                                      SAN JUAN            PR         00926
   150127 EILEEN A ARROYO DUMENG                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643514 EILEEN A CORTES SANTIAGO                    PO BOX 178                                                                                                              LA PLATA            PR         00786
   150128 EILEEN A HERNANDEZ GARCIA                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150129 EILEEN ACEVEDO BADILLO                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150130 EILEEN ALAGO SOTO                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643515 EILEEN ALERS                                URB ALTA VISTA                 P 6 CALLE 17                                                                             PONCE               PR         00731
   643518 EILEEN APONTE LOPEZ                         BRISAS DE LOIZA                264 CALLE ARIES                                                                          CANOVANAS           PR         00729
   150131 EILEEN APONTE VENTURA                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643519 EILEEN AULET NATAL                          PO BOX 446                                                                                                              JAYUYA              PR         00664

   150133 EILEEN B GONZALEZ RODRIGUEZ REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   150135 EILEEN BETANCOURT MARQUEZ                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150136 EILEEN BUS INC.                             COND PLAZA DEL ESTE            AVE MAIN 501 APT 61                                                                      CANOVANAS           PR         00729
   150137 EILEEN C VILLAFANE DEYACK                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150139 EILEEN CANCEL ROSA                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643521 EILEEN CINTRON APONTE                       HC 3 BOX 10380                                                                                                          COMERIO             PR         00782
   643522 EILEEN COLON SANTOS                         290 AVE SANTA ANA              APARTADO A 1                                                                             GUAYNABO            PR         00969
   643523 EILEEN CORDERO MENDEZ                       VILLA GUADALUPE                FF 7 CALLE 18                                                                            CAGUAS              PR         00725
                                                                                     EDIFICIO LEMANS OFIC. 402 AVE.
  1419621 EILEEN CORREA SERRANO                       ANTONIO BAUZÁ                  MUÑOZ RIVERA #602                                                                        HATO REY            PR         00918
   150141 EILEEN CRUZ LEBRON                          REDACTED                       REDACTED                       REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      4 WEST VIEW CIRCLE OLD
   643524 EILEEN D BAKER                              SAYBROOK                                                                                                                CONNECTICUT         CT         06475
   150142 EILEEN D RIVERA CRUZ                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643525 EILEEN DE JESUS                             URB MILAVILLE                  50 CALLE JAGUAS                                                                          SAN JUAN            PR         00926
   150143 EILEEN DE JESUS VILLANUEVA                  REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150144 EILEEN DEGRO                                REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150145 EILEEN DIAZ BENITEZ                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150146 EILEEN DIAZ COTTO                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150147 EILEEN FEBUS LUCIANO                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150148 EILEEN FELICIANO TORRES                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643528 EILEEN FERMIN ARIAS                         TORRE DEL PARQUE APT 1110                                                                                               BAYAMON             PR         00956
   150149 EILEEN FIGUEROA CARRION                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150150 EILEEN FIGUEROA LOPEZ                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150151 EILEEN G ROMERO ALICEA                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643529 EILEEN GARCIA AYALA                         COM SABANA ENEAS               SOLAR 578                                                                                SAN GERMAN          PR         00683

   643531 EILEEN GONZALEZ CORDOVA                     BALCONES DE SANTA MARIA        BOX 21 1500 AVE SAN IGNACIO                                                              SAN JUAN            PR         00921
   150152 EILEEN GONZALEZ GONZALEZ                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643532 EILEEN GONZALEZ MELENDEZ                    PLAZA DEL ESTE 501             AVE MAIN 61                                                                              CANOVANAS           PR         00729




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   150153 EILEEN HERNANDEZ RODRIGUEZ REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   150154 EILEEN HERNANDEZ ROSA      REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   150155 EILEEN HERNANDEZ ROSADO    REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   643535 EILEEN I QUINTANA GUERRERO                  3026 JARD DE CUENCA                                                                                               SAN JUAN            PR         00918
   150157 EILEEN I VAZQUEZ RIVERA                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   150158 EILEEN IRIZARRY NIEVES                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   643537 EILEEN J BARRESI RAMOS                      PO BOX 1420                                                                                                       TRUJILLO ALTO       PR         00976
   150160 EILEEN J MAESTRE SILVA                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   150161 EILEEN J MARRERO CHAVES                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   150162 EILEEN J PABON CRUZ                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

  1256438 EILEEN J. QUINTANA GUERRERO                 REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   643539 EILEEN JIMENEZ ALVAREZ                      HC 04 BOX 17085                                                                                                   LARES               PR         00669
   643540 EILEEN LANDRON GUARDIOLA                    CENTRO INTERNACIONAL      MERCADEO TORRES 1            OFIC 203                                                   SAN JUAN            PR         00926
   643541 EILEEN LAREGUI GALINDEZ                     37 CAMPO ALEGRE                                                                                                   MANATI              PR         00674
                                                      COND PARQUE SAN RAMON APT
   643542 EILEEN LARRACUENTE ROSARIO                  C 201                     BOX 303                                                                                 GUAYNABO            PR         00969
  1256439 EILEEN LLAVINA PEREA                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   643543 EILEEN LLORENS BECERRA                      155 EL MONTE NORTE G 202                                                                                          SAN JUAN            PR         00918
   643513 EILEEN LOIZ REYES                           P O BOX 195278                                                                                                    SAN JUAN            PR         00919
          EILEEN LOZADA RAMOS H/N/C
   643544 CACHI GAL ARTE                              48 CALLE BETANCEZ                                                                                                 CABO ROJO           PR         00675
   150169 EILEEN M ALVARADO                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   643545 EILEEN M CASTRO MEDINA                      URB SANTA JUANITA         YY 6 CALLE 23                                                                           BAYAMON             PR         00956
   150170 EILEEN M DIAZ ORTIZ                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          EILEEN M FIGUEROA Y MARTA I
   150171 TORO                                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   643546 EILEEN M GODREAU SOTO                       SAN ANTONIO 179           CALLE DONCELLA                                                                          PONCE               PR         00728
   150172 EILEEN M GOMEZ GUZMAN                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   643547 EILEEN M GONZALEZ RODRIGUEZ PO BOX 59                                                                                                                         ADJUNTAS            PR         00601
   643548 EILEEN M LEANDRY VARGAS     15 CALLE VENUS                                                                                                                    PONCE               PR         00731
   150173 EILEEN M LUGO PEREZ         REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   643549 EILEEN M MONTALVO BELEN     BO MAGINAS                                57 CALLE MARGINAL                                                                       SABANA GRANDE       PR         00637
   643550 EILEEN M VELEZ BERRIOS      C 12 COLINAS DE VILLA ROSA                                                                                                        SABANA GRANDE       PR         00637
   150174 EILEEN M. AVILA AGUILAR     REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   150175 EILEEN M. LUGO PEREZ        REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   150176 EILEEN MALAVE SANTOS        REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   643552 EILEEN MALDONADO MARTINEZ REPARTO MARQUEZ                             F 16 CALLE 5                                                                            ARECIBO             PR         00612
   643553 EILEEN MARRERO VAZQUEZ    SANTA CATALINA                              E 19 CALLE 8                                                                            BAYAMON             PR         00957
   150178 EILEEN MARTINEZ ARROYO    REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   643554 EILEEN MEDINA OCASIO                        COND BORINQUEN TOWER II   1486 AVE ROOSEVELT APT 912                                                              SAN JUAN            PR         00920
   643555 EILEEN MEDINA RIVERA                        HC 2 BOX 15138                                                                                                    ARECIBO             PR         00612
   643556 EILEEN MENDEZ SERRANO                       ALBORADA                  C 7 CALLE 2                                                                             SABANA GRANDE       PR         00637
   643557 EILEEN MERCADO GARCIA                       HC 05 BOX 92060                                                                                                   ARECIBO             PR         00612
   643558 EILEEN MERCADO TORRES                       RR 4 BOX 27116                                                                                                    TOA ALTA            PR         00953
   150180 EILEEN MIRANDA ANTUNANO                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   150181 EILEEN MIRANDA CORUJO                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED




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   643559 EILEEN MONTILLA CASTRO                      SIERRA BAYAMON APARTMENTS 200 CALLE 6 APT 70                                                                             BAYAMON             PR           00961
   643560 EILEEN MORELL RIVERA                        PO BOX 745                                                                                                               CIDRA               PR           00739
          EILEEN N RODRIGUEZ
   150182 FRANCESCHI                                  REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643561 EILEEN NIEVES MORALES                       HC 2 BOX 4560                                                                                                            LUQUILLO            PR           00773
   150183 EILEEN OLMEDO HERNANDEZ                     REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150184 EILEEN ORTIZ CARABALLO                      REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643562 EILEEN ORTIZ DIAZ                           URB LUCHETTI                     29 CALLE VIRGILIO DEL POZO                                                              MANATI              PR           00674
   150185 EILEEN P ALFONSO TORRALBA                   REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   643563 EILEEN PABON RIVERA                         109 CALLE CRUZ ORTIZ STELLA                                                                                              HUMACAO             PR           00791
   150187 EILEEN PAGAN LEBRON                         REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643564 EILEEN PEREZ GARCIA                         URB COLINAS FAIR VIEW            4K 32 CALLE 214                                                                         TRUJILLO ALTO       PR           00976
   643565 EILEEN PEREZ MILLAN                         REPTO UNIVERSIDAD                L 21 CALLE 4                                                                            SAN GERMAN          PR           00683
   150188 EILEEN PEREZ NEGRON                         REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150189 EILEEN PEREZ PEREZ                          REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150190 EILEEN PEREZ REYES                          REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150191 EILEEN PINEDA VALENTIN                      REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150192 EILEEN RAMIREZ CENTENO                      REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   771041 EILEEN RAMIREZ COLON                        REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150194 EILEEN RAMOS CRESPO                         REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150195 EILEEN RAMOS HERNANDEZ                      REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643568 EILEEN RAMOS ROSARIO                        BRISAS DE MONTECASINO            456 CALLE HAMACA                                                                        TOA ALTA            PR           00953
                                                      URB MONTE ALVERNIA PORTICA
   643569 EILEEN RIOS PADRO                           5                                                                                                                        GUAYNABO            PR           00926
   150196 EILEEN RIVERA RUIZ                          REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150197 EILEEN RIVERA TORRES                        REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      VILLAS DE LOIZA HH 63 CALLE 44
   643570 EILEEN ROSARIO VELAZQUEZ                    B                                                                                                                        CANOVANAS                        00729
   150198 EILEEN SANCHEZ ALBERIO                      REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150199 EILEEN SANCHEZ LOPEZ                        REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643571 EILEEN SANTIAGO CORTES                      125 CALLE LOMAS VERDES                                                                                                   MOCA                PR           00676
   643572 EILEEN SANTOS WILLIAM                       RES LUIS LLORENS TORRES          EDIF 35 APTO 729                                                                        SAN JUAN            PR           00915
   643573 EILEEN SEGUINOT RAMIREZ                     PO BOX 5117 C U C                                                                                                        CAYEY               PR           00737
   643574 EILEEN SUTTON DE ZAYAS                      P O BOX 36                                                                                                               BARRANQUITAS        PR           00749‐0036
   150201 EILEEN SUTTON HUDO                          REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643575 EILEEN TAVAREZ CORDERO                      7 VISTA MAR                                                                                                              CAMUY               PR           00627
   150203 EILEEN TORRES CANALES                       REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150204 EILEEN TORRES GONZALEZ                      REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150205 EILEEN TORRES RODRIGUEZ                     REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   150206 EILEEN VALENTIN HERNANDEZ                   REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150207 EILEEN VILLAFAÐE                            REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150209 EILEEN VILLALBA DELGADO                     REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643578 EILEEN Y AYALA COSME                        REPARTO VALENCIA                 A T 1 CALLE 1                                                                           BAYAMON             PR           00959
   150210 EILEEN ZAMBRANA DIAZ                        REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150211 EILEEN ZAYAS SERRANO                        REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643581 EILEN CONCEPCION BAEZ                       RR 6 BOX 10690                                                                                                           SAN JUAN            PR           00926
   150214 EILLEEN GONZALEZ SANTANA                    REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   150215 EILLEEN GONZALEZ VILLAFANE                  REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150216 EILLEEN Y GALLEGO PAGAN                     REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  150217 EILLEN RODRIGUEZ FLORES                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  150218 EILLEN SANCHEZ RODRIGUEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   643582 EILLEN SUTTON DE ZAYAS GREEN PO BOX 36                                                                                                                           BARRANQUITAS        PR         00794
   643583 EILLEN VAZQUEZ CABRERA       URB LOS ANGELES                             V 1 CALLE L                                                                             CAROLINA            PR         00979
   643584 EILYN DE JESUS GONZALEZ      PO BOX 779                                                                                                                          ARECIBO             PR         00688
   150219 EILYN M RUIZ SOTO            REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643585 EILYN MARTINEZ HERNANDEZ     P O BOX 289                                                                                                                         VILLALBA            PR         00766
   643586 EILYN T ROMAN GONZALEZ       HC 763 BZN 3138                                                                                                                     PATILLAS            PR         00723
   150220 EIM SHOW WORKS LLC           P O BOX 2113                                                                                                                        CANOVANAS           PR         00729
   150221 EINAR E MUNIZ CORTES         REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150222 EINAR L RINCON SANCHEZ       REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643587 EINAR RAMOS LOPEZ            P O BOX 1139                                                                                                                        AIBONITO            PR         00705‐1139
          EINDEKEN PROFESIONAL
   643588 SERVICES INC                 PMB 350 ROAD 2 SUITE 15                                                                                                             BAYAMON             PR         00959‐5259
   150225 EINNA M CANCEL LOUBRIEL      REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643590 EINYBEL AGUAYO MENDOZA       URB BONNEVILLE HEIGHTS                      7 AVE PUERTO RICO                                                                       CAGUAS              PR         00725
   643592 EIRA APONTE RODRIGUEZ        247 URB LA SERRANIA                                                                                                                 CAGUAS              PR         00725
   643591 EIRA I CARABALLO ROSADO      HC 2 BOX 11154                                                                                                                      LAJAS               PR         00667‐9712
   150227 EIRA L. PINEIRO BIDDLE       REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643593 EIRA M BAEZ ORTIZ            PO BOX 52138                                                                                                                        TOA BAJA            PR         00950‐2138
   150228 EIRA MEDINA MUNOZ            REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150230 EISEL LORENZO VARGAS         REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643595 EISLET DE JESUS GARCIA       BO DAGUAO BOX 7917                                                                                                                  NAGUABO             PR         00718

   150236 EITEL VELAZQUEZ ALMODOVAR                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150237 EITON ARROYO MUNIZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150238 EITON ROMAN CARRERO                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150239 EIVETTELIZ LOPEZ NIEVES                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150241 EIVY L ALVAREZ LUGO                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150242 EIXA TRINIDAD GONZALEZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150243 EJ ACCURACY GUNS                            AVE 5 DE DICIEMBRE # 85                                                                                              SABANA GRANDE       PR         00637‐1956
   150244 EJ BUSINESS SOLUTIONS                       57 SE STREET NO 850                                                                                                  SAN JUAN            PR         00921‐2312
   643596 EJ TIRE CENTER                              BO JUAN SANCHEZ              BZN 151 H                                                                               BAYAMON             PR         00959
   643597 EJA DAIRY INC                               PO BOX 1762                                                                                                          CABO ROJO           PR         00623
   150248 EJE PUERTO RICO, INC.                       PO BOX 195006                                                                                                        SAN JUAN            PR         00919‐5006
   150249 EJE SOCIEDAD PUBLICITARIA                   PO BOX 195006                                                                                                        SAN JUAN            PR         00919‐5006
                                                                                   497 AVE EMILIANO POL SUITE
   643598 EJN REMODELING INC                          LA CUMBRE                    506                                                                                     SAN JUAN            PR         00926
   150251 EJN TECHNICAL SERVICES                      PMB 238 NUM 90               AVE RIO HONDO                                                                           BAYAMON             PR         00961‐3105
   150252 EJN TECHNICAL SERVICES INC                  PMB 238 90 AVE RIO HONDO                                                                                             BAYAMON             PR         00961‐3105
   831329 Ejn Technical Services Inc.                 P.M.B. 506 E. Pol 497                                                                                                San Juan            PR         00928
          EJR MOTOR ELECTRICAL ‐BODY                  A 4 AVE MIGUEL MELENDEZ
   150253 SHOP                                        MUNOZ                                                                                                                CAYEY               PR         00736
          EKG INTERPRETATION
   150255 ACCOUNTG                                    ONE DAVIS BLD SUITE 507                                                                                              TAMPA               FL         33606
          EKG INTERPRETATIONS
   150256 ACCOUNTING                                  ONE DAVIS BLVD               SUITE 507                                                                               TAMPA               FL         33606
   150257 EKO TECHNOLOGIES                            B5 CALLE TABONUCO STE 134                                                                                            GUAYNABO            PR         00968‐3004
   643601 EKOS LOGOS INC                              URB LOMAS VERDES             F 34 CALLE BELLISIMA                                                                    BAYAMON             PR         00956‐3215

   150261 EKTO MANUFACTURING CO                       SANFORD INDUSTRIAL ESTATES                                                                                           SANFORD             ME         04073
   643603 EKUS 2000 SE                                PO BOX 527                                                                                                           MERCEDITA           PR         00715‐0521



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  643605 EL 14 SERVICE STATION INC                     PO BOX 928                                                                                                              SAN LORENZO        PR           00754
  643606 EL ABANICO DEL TITAN                          URB RUSSE                   G 32 CALLE LOS LIRIOS                                                                       MOROVIS            PR           00687
  643607 EL ABANICO SHELL SERV STA                     BO QUEBRADA GRANDE          HC 741 BOX 6187                                                                             TRUJILLO ALTO      PR           00976
  643608 EL ABUELO AUTO SALES INC                      BO SANTANA BZN 203 F                                                                                                    ARECIBO            PR           00612
                                                       WESTERNBANK WORLD PLAZA
   150262 EL ACANTILADO HOLDINGS LLC                   SUITE 1905                  268 MUNOZ RIVERA AVE                                                                        SAN JUAN           PR           00918

   150263 EL ADOQUIN PRODUCCIONES INC TETUAN 305 APT 301                                                                                                                       SAN JUAN           PR           00901
   643609 EL ALAMO ICE PLANT          BOX 577                                                                                                                                  NAGUABO            PR           00718
          EL ALMACEN / ALFREDO
   643610 MARTINEZ                    PO BOX 1160                                                                                                                              CABO ROJO          PR           00623
   150264 EL ALMACEN DE LA BELLEZA    AVE JOSE DE DIEGO #49                                                                                                                    CAYEY              PR           00736
   643611 EL AMIGO SCREENS SERVICES   BO ESPERANZA                                 395 CALLE BROMELIAS                                                                         VIEQUES            PR           00765
   150265 EL AMOR ESPERA              PO BOX 607071                                PMB 286                                                                                     BAYAMON            PR           00959‐7071
   150266 EL AMOR ESPERA INC          PMB 286 PO BOX 607071                                                                                                                    BAYAMON            PR           00960‐7071
  1256440 EL AMOR ESPERA, INC.        REDACTED                                     REDACTED                         REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   150267 EL ANCLA AUTO PARTS         URB SAN DEMETRIO                             LL 6 CALLE B                                                                                VEGA BAJA          PR           00693‐3325
   643612 EL ANGEL ICE PLANT INC      REPTO METROPOLITANO                          1229 CALLE 54 SE                                                                            SAN JUAN           PR           00921
   150268 EL ANGEL ICE PLANT INC.     REPTO METROPOLITANO                          1229 CALLE 54 SE                 RIO PIEDRAS                                                SAN JUAN           PR           00921

   643613 EL ARCA HOGAR PARA MUJERES                   PO BOX 1657                                                                                                             RIO GRANDE         PR           00745
   643614 EL ARTE DE LA REPOSTERIA                     1 CALLE PROGRESO                                                                                                        UTUADO             PR           00641
   643615 EL ARTE Y LA INGENIERIA                      PO BOX 922                                                                                                              CAGUAS             PR           00726
   643616 EL BALCON CAFE                               47 CALLE HOSTOS NORTE                                                                                                   GUAYAMA            PR           00784‐4567
          EL BALCONCITO CRIOLLO
   643617 RESTAURANT                                   PO BOX 1442                                                                                                             AIBONITO           PR           00705‐1442
                                                       BO MIRAFLORES SECTOR PALO
   150269 EL BAZAR MUEBLES Y ENSERES                   BLANCO                                                                                                                  ARECIBO            PR           00612
   643618 EL BESO INC                                  254 252 CALLE LUNA          STE B 1                                                                                     SAN JUAN           PR           00901
   643619 EL BIZCOCHO FELIZ                            URB SANTA ROSA              15‐13 CALLE 10                                                                              BAYAMON            PR           00959

   150270 EL BORINCANO FEED MILLS INC                  PO BOX 26028                                                                                                            TOA ALTA           PR           00954
   150272 EL BOSQUE DE BOLONIA                         PO BOX 364371                                                                                                           SAN JUAN           PR           00936‐4371
          EL BOSQUE DE BOLONIA M
   150273 HOSTOS INC                                   PO BOX 364371                                                                                                           SAN JUAN           PR           00936‐4371
   150274 EL BUCANERO CATERING                         VILLA NEVAREZ               1047 CARR. 41                                                                               RIO PIEDRAS        PR           00927
   150277 EL BUCANERO CATERING INC                     VILLA NEVAREZ               1047 CARR 41                                                                                SAN JUAN           PR           00927
   643620 EL BUEN AMIGO                                HC 1 BOX 5173                                                                                                           GUAYANILLA         PR           00656
   643621 EL BUEN CAFE INC                             PO BOX 75                                                                                                               CAMUY              PR           00627
   643622 EL BUEN COMER                                EDIF NATIONAL PLAZA         431 AVE PONCE DE LEON                                                                       SAN JUAN           PR           00906
          EL BUEN PASTOR FUNERARIA Y
   150278 CREMACIONES                                  HC 2 BOX 977                                                                                                            JUANA DIAZ         PR           00795
   150279 EL BUEN SAMARITANO                           P O BOX 1308                                                                                                            GURABO             PR           00778‐1308
                                                                                   420 AVE. PONCE DE LEÓN STE. B‐
  1419622 EL BURAI, ASSAD Y OTROS                      JOSÉ VELAZ ORTIZ            4                                                                                           SAN JUAN           PR           00918‐3434
   643623 EL CAMERINO                                  1148 AVE ROOSEVELT                                                                                                      SAN JUAN           PR           00920
          EL CAMINO HOSPITAL MULTI
   150282 SITE                                         MEDICAL RECORDS             2500 GRANT RD                                                                               MOUNTAIN VIEW      CA           94039
   150283 EL CAN T DELS OCELLS INC                     P O BOX 366407                                                                                                          SAN JUAN           PR           00936‐6407
   643624 EL CANARIO BY THE LAGOON                     4 CALLE CLEMENCEAU                                                                                                      SAN JUAN           PR           00907
   643625 EL CANO TIRE CENTER                          URB RIVER VIEW              AA3 CALLE 22                                                                                BAYAMON            PR           00961
          EL CANON BAKERY / CARMELO
   150284 CINTRON                                      HC 04 BOX 2414                                                                                                          BARRANQUITAS       PR           00794



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                                                                                   AVE RAMIREZ DE ARELLANO
   150285 EL CANTABRICO               TORRIMAR SHOPPING CENTER                     1922                                                                        GUAYNABO            PR           00966
          EL CAPITAN INVESTMENT GROUP
   643626 CORP                        P O BOX 107                                                                                                              ARECIBO             PR           00613
   150286 EL CARIBENO REST INC        EDIFICIO MONSERRATE                                                                                                      SAN JUAN            PR           00913‐4745
   643627 EL CASTILLO DE CRISTAL      PO BOX 3867                                                                                                              SAN JUAN            PR           00902

   643628 EL CASTILLO DE LA BELLEZA INC               ITURREGUI PLAZA              AVE 65 DE INF                                                               SAN JUAN            PR           00924

   643629 EL CASTILLO DE LOS NI¥OS INC                BONNEVILLE HEIGHTS           16 CALLE AIBONITO                                                           CAGUAS              PR           00725
          EL CASTILLO FELIZ DE LOS NINOS
   150288 2004 INC                                    URB CIUDAD MASSO             B 19 CALLE 2                                                                SAN LORENZO         PR           00754
   643630 EL CATERING DEL CHEF                        FLAMINGO TERRACE             A 10 MARGINAL CARR 167                                                      BAYAMON             PR           00956
   643631 EL CENTRO AUTO REPAIR                       AVE.LLORENS TORRES #125                                                                                  ARECIBO             PR           00612
   643632 EL CENTRO DE LOS CUADROS                    1321 AVE JESUS T PINERO                                                                                  SAN JUAN            PR           00920

   150289 EL CENTRO DEL CRUCERO INC                   PO BOX 1247                                                                                              BAYAMON             PR           00960‐1247
          EL CERILLO INC/ ENERGIA Y SOL
   150290 PR                                          1478 AVE TITO CASTRO                                                                                     PONCE               PR           00716
   643633 EL CERRITO SERVICE STATION                  P O BOX 95                                                                                               PATILLAS            PR           00723

   643634 EL CERRITO SERVICES STATION                 PO BOX 95                                                                                                PATILLAS            PR           00723
   643635 EL CERRO S E                                PO BOX 364325                                                                                            SAN JUAN            PR           00936‐4325
   643636 EL CHEF CATERING                            BOX 513                       CALLE ANDALUCIA                                                            HATILLO             PR           00659
   643638 EL CHEF CRIOLLO                             PO BOX 779                                                                                               JUANA DIAZ          PR           00795
   150291 EL CHEF RUIZ CATERING                       513 CALLE ANDALUCIA                                                                                      HATILLO             PR           00659
   150292 EL CIALENO PIZZA & PUB INC                  PO BOX 1393                                                                                              CIALES              PR           00638
                                                      CARR. 198 KM 11.9 CEIBA NORTE
   150293 EL CIENTIFICO                               BOX 2949                                                                                                 JUNCOS              PR           00777
   150294 EL CIENTIFICO CAR CARE INC                  PO BOX 2949                                                                                              JUNCOS              PR           00777‐2949
          EL CLUB DE LOS AMIGOS UNIDOS
   643639 INC                          PO BOX 1373                                                                                                             SAN GERMAN          PR           00683
          EL COLEGIO CIRUJANOS         200 CALLE MANUEL V
   643640 DENTISTAS DE PR              DOMENECH                                                                                                                SAN JUAN            PR           00918
          EL COMANDANTE
   643641 MANAGEMENT LLC               PO BOX 1675                                                                                                             CANOVANAS           PR           00729‐1675

   643642 EL COMANDANTE OFFICE SUPPLY URB EXT EL COMANDANTE                        620 CALLE MONACO                                                            CAROLINA            PR           00982
          EL COMANDANTE OPERATING
   643644 CO                          PO BOX 1675                                                                                                              CANOVANAS           PR           00729

   643645 EL CONDE INC                                EL CARIBE BUILDING SUITE 1103 53 PALMERAS ST                                                             SAN JUAN            PR           00901
          EL CONQUISTADOR GOLF
   150295 RESORT Y CASINO                             1000 EL CONQUISTADOR AVE                                                                                 FAJARDO             PR           00738
          EL CONQUISTADOR                             1000 EL CONQUISTADOR
   150296 PARTNERSHIP L.P.                            AVENUE                                                                                                   FAJARDO             PR           00738‐3893
          EL CONSEJO DE RESIDENTES
   643646 GUARIONEX INC                               RES GUARIONEX                EDIF E APT 33                                                               QUEBRADILLAS        PR           00678
          EL CONSEJO RES RESIDENCIAL EL                                            E 6 A 54 AVE JOSE GONZALEZ
   643647 CARMEN INC                                  RES EL CARMEN                CLEMENTE                                                                    MAYAGUEZ            PR           00680

   150297 EL CONSORCIO INTERMUNICIPAL PO BOX 250                                                                                                               GUAYANILLA          PR           00656
   150298 EL COQUI DEL SABOR INC      COND EL CENTRO II                            500 AVE MUNOZ RIVERA                                                        SAN JUAN            PR           00918



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  643648 EL COQUI ICE PLANT                            PO BOX 6717                                                                                              BAYAMON            PR           00960‐9007
  643649 EL COQUI LANDFILL CO INC                      PO BOX 594                                                                                               CAGUAS             PR           00726
  643650 EL COQUI WASTE                                P.O. BOX 594                                                                                             CAGUAS                          00724
  643651 EL COQUI WASTE DISPOSAL                       PO BOX 594                                                                                               CAGUAS             PR           00726‐0594
  643653 EL CRIOLLO BBQ                                GARDEN HILLS ESTATE         22 CALLE 4                                                                   GUAYNABO           PR           00966
  643654 EL CRIOLLO BIG BURGER                         BO ALGARROBO                1 SECTOR CRIOLLO                                                             VEGA BAJA          PR           00693
  643655 EL CRIOLLO REST                               321 AVE DE DIEGO                                                                                         ARECIBO            PR           00612
         EL CTRO CUIDO INF DESTELLOS
  643656 DE LUZ INC                                    PO BOX 585                                                                                               BAJADERO           PR           00616
  643657 EL DEPORTIVO DE CARLOS                        HC 1 BOX 10802                                                                                           LAJAS              PR           00667‐9712
  150301 EL DEPORTIVO RENTAL                           HC 43 BOX 11297                                                                                          CAYEY              PR           00736
  150302 EL DIA DEL NINO INC                           PO BOX 47                                                                                                MOROVIS            PR           00687
                                                       DEPARTAMENTO DE
   150303 EL DIA INC.                                  CIRCULACION                 PO BOX 7512                                                                  SAN JUAN           PR           00902‐0297
   150304 EL DIA, INC                                  PO BOX 9067512                                                                                           SAN JUAN           PR           00936‐7512
   643659 EL DOGOUT                                    35 CALLE JOSE DE DIEGO                                                                                   CIDRA              PR           00739
   150305 EL DORADO HOTEL                              WEST SAN FRANCISCO STREET                                                                                SANTA FE           NM           87501

   643660 EL DORADO TECHNICAL SERVICE PO BOX 361040                                                                                                             SAN JUAN           PR           00936‐1040
   150306 EL EDEN PARAISO INFANTIL    HC‐01 BOX 3040                                                                                                            YABUCOA            PR           00767

   150307 EL EDEN PARAISO INFANTIL CORP HC 01 BOX 3040                                                                                                          YABUCOA            PR           00767
          EL EDEN PARAISO INFANTIL
   150308 CORPORACION                   HC 01 BOX 3040                             CARR 3 KM 98.5 JUAN M VILLA                                                  YABUCOA            PR           00767
          EL EQUIPO BEISBOL AA LOS
   643661 BRAVOS CIDRA                  RR 01 BOX 3143                                                                                                          CIDRA              PR           00739
          EL EQUIPO BEISBOL AA LOS
   643662 CENTINELAS OROC               PO BOX 327                                                                                                              OROCOVIS           PR           00720

   643663 EL ESTUDIANTE GIFT SHOP                      25 CALLE RODOLFO GONZALEZ                                                                                ADJUNTAS           PR           00601
   643664 EL EXPRESO EDUCATIVO INC                     PO BOX 874                                                                                               SAN LORENZO        PR           00754
   643665 EL EXPRESO SERVICE STATION                   RR 2 BOX 5701                                                                                            MANATI             PR           00674

   150309 EL FARO CHRISTIAN ACADEMY                    CARR. #123 KM. 33.5         BO. SALTILLO                                                                 ADJUNTAS           PR           00601

   150311 EL FARO DE LOS ANIMALES INC                  P O BOX 637                                                                                              PUNTA SANTIAGO     PR           00741

   643666 EL FENIX DE PUERTO RICO                      ESTACION FERNANDEZ JUNCOS   PO BOX 8379                                                                  SAN JUAN           PR           00910
   643668 EL FOGON DE ABUELA                           HC 02 BOX 6854                                                                                           FLORIDA            PR           00650‐9108
   643669 EL FOGON DE ANIBAL                           HC 3 BOX 11969                                                                                           JUANA DIAZ         PR           00795‐9505
   643670 EL FOGON DE CHAGA                            PO BOX 206                                                                                               FAJARDO            PR           00740
   150313 EL FOGON DE SOFIA                            AVE PINERO 1268             CAPARRA TERRACE                                                              SAN JUAN           PR           00921
                                                       AVE. CENTRAL 1268 CAPARRA
   150314 EL FOGON DE SOFIA , INC.                     TERRACE                                                                                                  SAN JUAN           PR           00921‐1616
   150315 EL FOGON DE SOFIA, INC.                      AVE JESUS T PINERO 1268     CAPARRA TERRACE                                                              SAN JUAN           PR           00921‐1616
   150316 EL FOGON DEL REY                             55 CALLE COLTON                                                                                          GUAYNABO           PR           00969
   643671 EL FORTIN DE FELIPE 11                       AVE CUPEY GARDEN PLAZA      CUPEY GARDENS LOCAL 1                                                        SAN JUAN           PR           00926
   643672 EL FRANCES EUROCAR INC                       PO BOX 1579                                                                                              SAN JUAN           PR           00919‐1579
   150317 EL FUMIGADOR CORP                            PO BOX 538                                                                                               SABANA SECA        PR           00952
          EL GIGANTE DORMIDO
   643674 RESTAURANT                                   VILLAS DEL PLANTIO          1A CALLE 2A BLOQUE K                                                         TOA BAJA           PR           00949
   643675 EL GOMASO                                    PO BOX 8672                                                                                              HUMACAO            PR           00792
   150319 EL GRAN CAFE REST                            1 CALLE CERVANTES                                                                                        COROZAL            PR           00783



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  643676 EL GRAN REMATE                               EL GRAN REMATE                 115 CALLE COMERIO                                                     BAYAMON             PR           00960
  643677 EL GRAVERO LA ESPERANZA                      BO ESPERANZA                   PO BOX 1430                                                           VIEQUES             PR           00765
         EL GRUPO ACADEMICO
  643678 PROFESIONAL                                  PO BOX 191802                                                                                        SAN JUAN            PR           00919‐1802
                                                      AVE CARLOS J ANDALUZ
   150321 EL GUAGUERITO                               MENDEZ                         33 A 1 LOMAS VERDES                                                   BAYAMON             PR           00956
   150322 EL GUARDIAN DE LOS NINOS                    MCS 2044                       PO BOX 6004                                                           VILLALBA            PR           00766‐6004
          EL GUAYABO /DBA/ MARIA M
   643679 RIVERA                                      29 CALLE COLTON                                                                                      GUAYNABO            PR           00969
   150324 EL HIPOPOTAMO INC                           880 AVE MUNOZ RIVERA                                                                                 SAN JUAN            PR           00927
          EL HOGAR DE LAS
   643680 HERRAMIENTAS INC                            HC 33 BOX 2072                                                                                       DORADO              PR           00646
   150325 EL HOGAR HUELTAS CORP                       P O BOX 370412                                                                                       CAYEY               PR           00737

   643681 EL HOGAR RESURRECCION INC                   PO BOX 8608                                                                                          CAGUAS              PR           00726
   643682 EL IMAN DE LAS TELAS                        P O BOX 252                                                                                          OROCOVIS            PR           00720
   150326 EL IMPACTO                                  APARTADO 500 SUITE 900                                                                               AGUADA              PR           00602‐5000
   643683 EL INDIO AUTO AIR                           HC 01 BOX 26765                                                                                      CAGUAS              PR           00725

          EL INSTITUTO DE DESARROLLO
   150327 PERSONAL DE CAGUAS            URB CONDADO MODERNO          AVE RAFAEL CORDERO                    M‐31 CALLE 13                                   CAGUAS              PR           00725
   643684 EL JARDIN DE LAS TELAS        25 CALLE BARBOSA                                                                                                   ISABELA             PR           00662
   150328 EL JARDIN DE LOS NI¥OS        610 CALLE HIPODROMO                                                                                                SAN JUAN            PR           00907
   150329 EL JARDIN DEL EDEN            PO BOX 582                                                                                                         LAJAS               PR           00667
          EL JARDIN FANTASTICO DE
   643686 JOSELITO                      URB VILLA ROSA 3             A 5 AVE ALBIZU CAMPOS                                                                 GUAYAMA             PR           00784
          EL JARDIN FANTASTICO JOSELITO
   643685 BILINGUAL                     102 NORTE CALLE LUIS VENEGAS                                                                                       GUAYAMA             PR           00784
   643687 EL JIBARITO                   P O BOX 11909                                                                                                      SAN JUAN            PR           00922
   643688 EL JIBARO REALTY INC          PO BOX 1052                                                                                                        TOA BAJA            PR           00952‐1052
   643689 EL KIOSCO AGRICOLA            BOX 505                                                                                                            LARES               PR           00969
          EL KIOSKO DE LA ABUELA Y/O
   643690 JAIME CREITOF                 BOX 29                                                                                                             BOQUERON            PR           00622
   643691 EL LIDER IRON WORK            URB MARISOL                  F 10 CALLE 7                                                                          ARECIBO             PR           00612
   643692 EL LIMON                      HC 91 BOX 9139                                                                                                     VEGA ALTA           PR           00692

   643693 EL MAESTRO SERVICE STATION                  HC 5 BOX 25101                                                                                       CAMUY               PR           00627
   643694 EL MALECON RESTAURANTE                      CARR 693 KM 8 2                                                                                      DORADO              PR           00646
          EL MARAVILLOSO MUNDO DE
   643695 LOS DULCES                                  HC 2 BOX 11332                                                                                       SAN GERMAN          PR           00683
                                                      # 1133 JESUS T PINERO PUERTO
   150333 EL MARCO & LAMIN0                           NUEVO                                                                                                RIO PIEDRAS         PR           00921
   150334 EL MARINO RS INC                            P O BOX 9099                                                                                         HUMACAO             PR           00792
   643696 EL MAYOR AUTO INC                           182 MENDEZ VIGO                                                                                      MAYAGUEZ            PR           00680
   150336 EL MEDICO VISIANTE PSC                      PO BOX 364422                                                                                        SAN JUAN            PR           00936‐4422
   643697 EL MESON COMBINE STORE                      PO BOX 331747                                                                                        PONCE               PR           00733‐1747
   150338 El Mesón de Felipe                          Po Box 3067                                                                                          Mayagüez            PR           00681
   643698 EL MESON DE FELIPE INC                      P O BOX 3067                                                                                         MAYAGUEZ            PR           00681‐3067
   643699 EL MESON DE LA PALOMA                       618 AVE BARBOSA                                                                                      SAN JUAN            PR           00917

   643700 EL MEZZANINE DE EDISON REST                 RR 3 BOX 9219                                                                                        TOA ALTA            PR           00953
   150339 EL MILITAR                                  CALLE COMERIO 62                                                                                     BAYAMON             PR           00619
   150340 EL MILITAR INC                              72 CALLE VIVES                                                                                       PONCE               PR           00733



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  150341 EL MIRADOR CAFE INC`                         URB LOS CAOBOS               1515 CALLE JAGUEY                                                         PONCE                PR           00716
         EL MONSTRUO ANARANJADO                                                    644 AVE FERNANDEZ JUNCOS
  150343 INC                                          DITRICT VIEW PLAZA           STE201                                                                    SAN JUAN             PR           00907
  643702 EL MONTAJE                                   CAPARRA TERRACE              811 AVE DE DIEGO                                                          SAN JUAN             PR           00921

   150344 EL MONTE DE LOS AGUILAS INC                 COND VENUS TOWER             COSTA RICA ST APT 602                                                     SAN JUAN             PR           00917

   150345 EL MOROCO LLC H/N/C/ SUBWAY P O BOX 16665                                                                                                          SAN JUAN             PR           00908‐6665
   643703 EL MORRO CORRUGATED         PO BOX 907                                                                                                             VEGA ALTA            PR           00692
          EL MORRO CORRUGATED BOX
   150346 CORP                        PO BOX 907                                                                                                             VEGA ALTA            PR           00692
          EL MOVIMIENTO PARA EL
   643704 ALCANCE DE VIDA             INDEPENDIENTE INC                            PO BOX 25277                                                              SAN JUAN             PR           00928‐5277
   150347 EL MUNDO                    PO BOX 7515                                                                                                            SAN JUAN             PR           00906‐7515
          EL MUNDO BROADCASTING
   643706 CORP /WKAQ RADIO            PO BOX 364668                                                                                                          SAN JUAN             PR           00936‐4668
                                      BAYAMON OESTE SHOPPING
   643707 EL MUNDO DE LA REPOSTERIA   CENTER                                       7 C LOCAL                                                                 BAYAMON              PR           00961

   150348 EL MUNDO DE LOS BIZCOCHOS                   371 CALLE POST SUR                                                                                     MAYAGUEZ             PR           00680
   643708 EL MUNDO DE LOS LIBROS                      1001 AVE MIRAMAR                                                                                       ARECIBO              PR           00612
   150349 EL MUNDO DE LOS MUNECOS                     45 S.O. #783 LAS LOMAS                                                                                 SAN JUAN             PR           00921‐1154
          EL MUNDO DE LOS MUNECOS
   150352 INC                                         EXT ROYAL PALM               IL 5 CALLE PALMA REAL                                                     BAYAMON              PR           00956
          EL MUNDO DE LOS MUNECOS
   150353 INC/PUPPET WORLD                            URB LAS LOMAS                783 CALLE 45 SO                                                           SAN JUAN             PR           00921‐1154

   150354 EL MUNICIPIO DE RIO GRANDE   APARTADO 847                                                                                                          RIO GRANDE           PR           00745
   150355 EL NORTE                     PO BOX 140995                                                                                                         ARECIBO              PR           00614
   643710 EL NORTE DE ARECIBO          PO BOX 140995                                                                                                         ARECIBO              PR           00614
          EL NUEVO CANAS SHELL SERVICE
   643711 STATION                      PO BOX 8180                                                                                                           PONCE                PR           00732
   643712 EL NUEVO CICLO               HC 02 BOX 5176                                                                                                        COMERIO              PR           00782
   643713 EL NUEVO COFFEE BREAK        157 CALLE BETANCES                                                                                                    ARECIBO              PR           00612
   150356 EL NUEVO DIA                 PO BOX 7512                                                                                                           SAN JUAN             PR           00906‐7512
   643714 EL NUEVO FERROL              6573 AVE ISLA VERDE                                                                                                   CAROLIMA             PR           00979
   643715 EL NUEVO MILITAR 1           44 CALLE HIRAM GONZALEZ                                                                                               BAYAMON              PR           00961

   643716 EL NUEVO MILITAR 2                          60 CALLE DR HIRAM GONZALEZ                                                                             BAYAMON              PR           00961
                                                      CALLE DR. HIRAM GONZALEZ #
   150362 EL NUEVO MILITAR NUM. 2                     60                                                                                                     BAYAMON              PR           00961
          EL NUEVO SUPERMERCADO
   643717 ATOCHA                                      104 CALLE ATOCHA                                                                                       PONCE                PR           00731
   643718 EL NUEVO TRIANGULO                          21 CALLE PEDRO ARROYO                                                                                  OROCOVIS             PR           00720
   150363 EL OASIS CAFE 2                             21 PRUDENCIO RIVERA                                                                                    SAN JUAN             PR           00936
   643719 EL OASIS SERVICE STATION                    RR 5 BOX 4999                                                                                          BAYAMON              PR           00957
   150364 EL OJO DE LA CAMARA                         URB FLORAL PARK              110 CALLE MALLORCA                                                        HATO REY             PR           00917
   150365 EL ORIENTAL                                 36 AVE CRUZ ORTIZ STELLA                                                                               HUMACAO              PR           00791

   643720 EL PABELLON DE FEDERACIONES                 PO BOX 8                                                                                               SAN JUAN             PR           00902
   643721 EL PABELLON DE LA FAMA                      P O BOX 9008                                                                                           SAN JUAN             PR           00908
   643722 EL PALACIO DEL COQUI INC                    PO BOX 9024275                                                                                         SAN JUAN             PR           00902‐4275
   643723 EL PALACIO DEL CRISTAL                      PO BOX 1087                                                                                            SAN JUAN             PR           00902



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          EL PALACIO ROJO
   150368 COMUNICACIONES INC                          VALLE VERDE 2                  AP 1 CALLE RIO MARAVILLAS                                                      BAYAMON             PR           00961
   643724 EL PAMAR SHELL                              P O BOX 161                                                                                                   AGUADA              PR           00602
          EL PAPYRO COPY / EMIGDRO
   643725 GARCIA                                      31 FEDERICO DEGETAU                                                                                           JUANA DIAZ          PR           00795
          EL PARADOR PALMAS DE LUCIA
   643726 INC                                         P O BOX 1746                                                                                                  YABUCOA             PR           00767
   643727 EL PARAISO DE FLORES INC                    183 CALLE PESANTE                                                                                             SAN JUAN            PR           00911

   643728 EL PARAISO DE LA EDAD DORADA PO BOX 166                                                                                                                   CAROLINA            PR           00986
   643729 EL PARAISO DEL SABOR         384 CARR 14                                                                                                                  PONCE               PR           00731
   643730 EL PARAISO MAGICO INC        GRAN VISTA 1                                  38 CALLE EL PASO                                                               GURABO              PR           00778
   643731 EL PASEITO MINI MALL         P O BOX 20825                                 AVE PONCE DE LEON                                                              SAN JUAN            PR           00925
   643732 EL PASILLO                   BOX 208                                                                                                                      MOCA                PR           00676

   643733 EL PASO PSYCHIATRIC CENTER                  4615 ALAMEDA AVENUE                                                                                           EL PASO             TX           79905
          EL PASO VA ADMINISTRATION
   150371 OUTPATIENT CLINIC                           5001 N PIEDRAS ST                                                                                             EL PASO             TX           79930‐0000
   643734 EL PATIO COLONIAL                           PO BOX 7639                                                                                                   PONCE               PR           00732
          EL PATIO DE VENANCIO /
   643735 FRANCES OCASIO                              HC 1 BOX 25935                                                                                                CAGUAS              PR           00703

   150372 EL PAVO ASADO INC                           CAPARRA TERRACE                1152 AVE JESUS T PIÐERO 25 SE                                                  SAN JUAN            PR           00921
          EL PAVO EL POLLO EL LECHON
   643736 CAFE REST                                   PO BOX 9024275                                                                                                SAN JUAN            PR           00902‐4275
          EL PECO DEVELOPMENT
   643737 CORP/RAUL E LABORDE                         PO BOX 9024226                                                                                                SAN JUAN            PR           00902‐4226

   150374 EL PEQUENO MUNDO DE MIMA                    CARR 186 KM 25 HM 2                                                                                           RIO GRANDE          PR           00745
                                                      JARDINES DE CALLE C BLOQUE C
   150375 EL PEQUENO PRINCIPE                         #25                                                                                                           CAROLINA            PR           00987
   150376 EL PERIODICO INC                            PO BOX 2074                                                                                                   CAGUAS              PR           00726‐2074

   150377 EL PERIODICO PRIMERA HORA                   PO BOX 2009                                                                                                   CATANO              PR           00963‐2009
   643738 EL PESCADOR MARINE                          SANTA ISIDRA 3                 4 CALLE A                                                                      FAJARDO             PR           00738
          EL PIEX PUERTORRIQUEÐO A LA
   150378 ORDEN DISC                                  75 CALLE FRANK BECERRA                                                                                        SAN JUAN            PR           00918 1318
          EL PIEX PUERTORRIQUENO A LA
   150379 ORDEN DISC                    75 CALLE FRANK BECERRA                                                                                                      SAN JUAN            PR           00918 1318
                                        AL LADO PLAZA LAS AMERICAS
   150380 EL PIEX PUERTORRIQUENO, INC. 75                                            FRACK BECERRA                                                                  SAN JUAN            PR           00919‐0000
   643739 EL PILON CRIOLLO              66 CALLE RUIZ BELVIS                                                                                                        CAGUAS              PR           00725
          EL PILON CRIOLLO DBA EL PILON
   643740 DE DENNY                      P O BOX 372                                                                                                                 PUNTA SANTIAGO      PR           00741

   643741 EL PINY JAN BAR RESTAURANT                  PO BOX 1591                                                                                                   MANATI              PR           00674
   643742 EL PITIRRE INC                              BOX 712                                                                                                       GUANICA             PR           00647
   150382 EL PLANETA                                  BO CARACOLES I                 352 CALLE I                                                                    PENUELAS            PR           00624
   150383 EL POLLO EN UNA PATA INC                    P O BOX 192928                                                                                                SAN JUAN            PR           00919
          EL PORTON TROPICAL
   150384 RESTAURANT                                  P O BOX 1216                                                                                                  BAYAMON             PR           00960 1216
   150385 EL POWERHOUSE 001 LLC                       147 CAMINO DE LOS JUNCOS       URB SABANERA                                                                   DORADO              PR           00646
   150386 EL POZO PRODUCTIONS                         PO BOX 302 CROMPOND                                                                                           NEW YORK            NY           10517



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  643743 EL PRADO INN                                 CONDADO                        1350 CALLE LUCHETTI                                                          SAN JUAN             PR           00907

   150387 EL PUEBLO SERVICE STATION                   160 CALLE LUIS MUNOZ RIVERA                                                                                 SAN LORENZO          PR           00754
   643744 EL PUENTE RENTAL                            PO BOX 235                                                                                                  TRUJILLO ALTO        PR           00977
   643745 EL PUENTE SCHOOL SUPPLY                     RR 1 BOX 13604                                                                                              OROCOVIS             PR           00720
   150388 EL RANCHO                                   HC 4 BOX 5921                                                                                               COROZAL              PR           00783
   150389 EL RANCHO ORIGINAL                          22282 BO GUAVATE                                                                                            CAYEY                PR           00736

   150390 EL REGIONAL DE GUAYAMA INC CALLE MC ARTHUR #22                             ESQUINA BALDORIOTY                                                           GUAYAMA              PR           00784
   643748 EL REGRESO AUTO PART       HC 01 BOX 3377                                                                                                               BARRANQUITAS         PR           00794
          EL REMANSO ELDERLY HOUSING
   150391 LTD PARTNERSH              PO BOX 8479                                                                                                                  SAN JUAN             PR           00910‐0479

   150392 EL REMANSO MEMORIAL PARK                    PMB.616 P.O. BOX 1283                                                                                       SAN LORENZO          PR           00754‐1283
   643749 EL REY AUTO CORP                            PO BOX 10515                                                                                                PONCE                PR           00732‐0515

   643751 EL REY CATERING                             URB JARDINES DE MONTELLANO 109 CALLE MONTE IDILIO                                                           MOROVIS              PR           00687

   150393 EL REY DEL FRIO INC                         VILLA SAN ANTON                CALLE FLORENTINO ROMAN D‐11                                                  CAROLINA             PR           00989
   150394 EL RINCON BORINQUENO                        PO BOX 9024275                                                                                              SAN JUAN             PR           00902‐4275
   643752 EL RINCON CRIOLLO                           22 CALLE TORRES                                                                                             PONCE                PR           00717
   150395 EL RINCON DE JUAN                           EDIF UNION PLAZA               416 PONCE DE LEON                                                            SAN JUAN             PR           00918
   150396 EL RINCON DE LA PAZ HOGAR                   PMB 402 90 AVE RIO HONDO                                                                                    BAYAMON              PR           00961
   150397 EL RIO NORTHWEST                            839 W CONGRESS                                                                                              TUCSON               AZ           85705
   643753 EL ROBLE INC                                266 AVE PONCE DE LEON                                                                                       SAN JUAN             PR           00901
   150398 EL ROBLE SELF SERVICE INC                   P O BOX 161                                                                                                 TRUJILLO ALTO        PR           00977
   643754 EL ROSAL GARDEN                             HC 02 BOX 7402                                                                                              CAMUY                PR           00627
   150399 EL ROSARIO INC                              PMB 562                        140 AVE RAFAEL CORDERO                                                       CAGUAS               PR           00725‐3757
   643755 EL SABOR CATERING                           PO BOX 507                                                                                                  AIBONITO             PR           00705
          EL SALVADOR MED & HOME
   643756 CARE EQUIP INC                              PO BOX 1450                                                                                                 VEGA BAJA            PR           00694

   643757 EL SAMARITANO SERV STATION                  PO BOX 690                                                                                                  SAN LORENZO          PR           00754

   643758 EL SAN JUAN HOTEL & CASINO                  PO BOX 2872                                                                                                 SAN JUAN             PR           00902
   643759 EL SANTO DE LOS CHASIS                      337 CALLE VILLA                                                                                             PONCE                PR           00731

   150400 EL SEGADOR PRODUCTIONS INC PO BOX 21637                                                                                                                 SAN JUAN             PR           00931‐1367
          EL SEMAFORO AUTO PARTS
   150401 CORP                       PO BOX 50547                                                                                                                 TOA BAJA             PR           00950

   150402 EL SENORIAL BAKERY INC                      226 SABANETA INDUSTRIAL PARK                                                                                MERCEDITA            PR           00715
          EL SENORIAL CENTRO DE
   150403 CONVENCIONES                                PO BOX 8621                                                                                                 PONCE                PR           00732
                                                      EL SENORIAL MAIL STATION
   643761 EL SENORIAL GULF STATION                    NUM 253                        138 AVE WINSTON CHURCHILL                                                    SAN JUAN             PR           00926
   150404 EL SENORIAL SPORTS SHOP                     URB CROWN HILLS                1753 CALLE PARANA                                                            SAN JUAN             PR           00926
          EL SHADDAI CHRISTIAN
   150405 ACADEMY                                     PO BOX 1459                                                                                                 DORADO               PR           00646

   150406 EL SHADDAI GUESTS HOUSE , INC GOLDEN HILLS                                 CALLE ESTRELLA 1088                                                          DORADO               PR           00646

   150407 EL SHADDAI GUESTS HOUSE INC GOLDEN HILLS                                   1008 CALLE ESTRELLA                                                          DORADO               PR           00646



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  150409 EL SHOWROOM DE FALELO                        PO BOX 2449                                                                                                  GUAYNABO          PR           00970‐2449
  643762 EL SIGLO XX INC                              355 CALLE FORTALEZA                                                                                          SAN JUAN          PR           00901
  643763 EL SOCUCHO INC                               COLINAS DE MONTE CARLO   16 D CALLE 37                                                                       SAN JUAN          PR           00924
  643764 EL SOL NACIENTE                              PO BOX 405                                                                                                   VIEQUES           PR           00765
         EL SPORTMAN DE MAYAGUEZ
  643765 INC                                          5 CALLE POST SUR                                                                                             MAYAGUEZ          PR           00680
         EL SUENO DE AMERICA
  150410 PRODUCTIONS LLC                              PO BOX 6813                                                                                                  SAN JUAN          PR           00913‐6813
  150411 EL SUENO DE MIMA INC.                        P.O. BOX 2811                                                                                                CAROLINA          PR           00984
  643766 EL SULTAN                                    BO RIO HONDO             123 CARRAU                                                                          MAYAGUEZ          PR           00680‐7015
  643767 EL SUPER RESUELVE INC                        SANTURCE STATION         PO BOX 14592                                                                        SAN JUAN          PR           00916

   150412 EL SUPERMERCADO MEDICO INC 10 CALLE SAN ANTONIO                                                                                                          HORMIGUEROS       PR           00660
   643768 EL SUPLIDOR CASH & CARRY    120 CALLE PAVIA FERNANDEZ                                                                                                    SAN SEBASTIAN     PR           00685
   643769 EL SUPLIDOR DEL HERRERO     PO BOX 7581                                                                                                                  PONCE             PR           00732
   150413 EL TABLADO TROPICAL         P O BOX 986                                                                                                                  ADJUNTAS          PR           00601
   150414 EL TALLER CINEMATICO INC.   C/ RIO GUAVATE AE 28                     RIO HONDO II                                                                        BAYAMON           PR           00061
                                      URB.STA.RITA. # 22 CALLE CELIS
   150415 el taller D CONSULTING INC. AGUILERA                                                                                                                     SAN JUAN          PR           00925‐0000

  1256441 EL TALLER DE ARTE Y CULTURA                 REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          EL TALLER DE LAS
   643770 HERRAMIENTAS                                426 CALLE FRANCIA                                                                                            SAN JUAN          PR           00918

   150416 EL TALLER DEL ARTES Y CULTURA PUERTA DE TIERRA STATION               PO BOX 9066600                                                                      SAN JUAN          PR           00906‐6600
          EL TAMARINDO VERDE CAFE
   643772 CLUB                          APT 1046                                                                                                                   LAJAS             PR           00667
          EL TANO CORP DBA DON
   150417 GIUSEPPE LA CANTINA           P O BOX 16494                                                                                                              SAN JUAN          PR           00908
  1256442 EL TANO CORP.                 REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   150418 EL TELAR DE CHIQUI            43A CALLE MUNOZ RIVERA                                                                                                     VEGA ALTA         PR           00692
   150419 EL TELAR INC                  15 MUNOZ RIVERA                                                                                                            CAGUAS            PR           00725
   643777 EL TELEGRAFO                  PO BOX 19628                                                                                                               SAN JUAN          PR           00910
   643778 EL TENEDOR                    PO BOX 15                                                                                                                  JUNCOS            PR           00777
   150420 EL TESORO DEL EBANISTA        251 CALLE GUAYAMA                                                                                                          SAN JUAN          PR           00917‐4202
   150421 EL TIOS FRIED CHICKEN         COCO NUEVO                             29 CALLE JOSE DE DIEGO                                                              SALINAS           PR           00751
   643780 EL TODO                       P O BOX 1846                                                                                                               BAYAMON           PR           00960‐1846
   150422 EL TOMEGUIN CORP              PO BOX 270210                                                                                                              SAN JUAN          PR           00927
   643781 EL TOSQUERO AUTO SERVICE      HC 05 BOX 62454                                                                                                            MAYAGUEZ          PR           00680

   643782 EL TOSQUERO AUTO SERVICES   HC 05 BOX 62454                                                                                                              MAYAGUEZ          PR           00680
   643783 EL TRAPITO ART SHOP         PLACITA DE ROOSEVELT                     302 CALLE J A RIVERA                                                                SAN JUAN          PR           00918
   150423 EL TRIALO RINCOENO INC      PO BOX 1750                                                                                                                  RINCON            PR           00677
   643784 EL TRIANGULO B B Q          HC 2 BOX 10975                                                                                                               JUNCOS            PR           00777
   643785 EL TRIANGULO SEA FOOD       HC 1 BOX 5028                                                                                                                GUAYANILLA        PR           00656
   643786 EL TRIGAL BAKERY            201 AVE JUAN ROSADO                                                                                                          ARECIBO           PR           00612
   643787 EL TUNEL AUTO SERVICE       APARTADO 1205                                                                                                                CAROLINA          PR           00987
   150424 EL TUNEL CAR CARE INC       AVE 65 INF KM 2.0                        P O BOX 16079                                                                       SAN JUAN          PR           00908
          EL TUQUE CENTRO DIAGNOSTICO
   150425 TRATAMIENTO                 PO BOX 220                                                                                                                   MERCEDITA         PR           00715‐0220
   150426 EL UNIVERSO DEL LOS NINOS   URB VILLA ALBA                           34 CALLE B                                                                          VILLALBA          PR           00766
  1256443 EL VALLE CELESTIAL , INC.   REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED




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   150428 EL VALLE GULF SERVICE STATION PO BOX 404                                                                                                                    LAJAS               PR           00667

  1419623 EL VARON DELGADO VÁZQUEZ                    JOSE O. COTTO LUNA            PO BOX 2234                                                                       CAYEY               PR           00737
          EL VERDADERO AMOR ESPERA
   150430 INC                                         P O BOX 8981                                                                                                    PONCE               PR           00732
   643789 EL VERDE 123 CAGUAS S E                     PO BOX 20222                                                                                                    SAN JUAN            PR           00928‐0222

   643790 EL VERDE POULTRY FARMS CORP PO BOX 397                                                                                                                      MOROVIS             PR           00687‐0397
   643791 EL VERDE SUPER SHELL          PO BOX 6238                                                                                                                   CAGUAS              PR           00726‐6238
          EL VERDE SUPER SHELL / PLINIO
   643792 ALFARO                        PO BOX 6238                                                                                                                   CAGUAS              PR           00726
   150431 EL VIEJO PLUMBING , INC.      BOX 926 SABANA HOYOS                                                                                                          ARECIBO             PR           00688‐0000
   643793 EL VIGIA GUEST HOUSE INC      URB CAMINO DEL MAR                          6601 VIA PELICANO                                                                 LEVITTOWN           PR           00949
   643794 EL VISITANTE                  PO BOX 41305                                                                                                                  SAN JUAN            PR           00940
   150432 EL VIVERO DON TEDDY           371 CAMINO DEL SUR                                                                                                            PONCE               PR           00716‐2815
   831335 El Vocero                     P.O. 3831                                                                                                                     San Juan            PR           00902
   150433 EL VOCERO DE P R              PO BOX 15074                                                                                                                  SAN JUAN            PR           00902
   150436 EL VOCERO DE P.R.             ACCOUNTING DEPARTMENT                       PO BOX 9027515                                                                    SAN JUAN            PR           00902‐7515
   643795 EL VOCERO DE PTO RICO INC     C/O ANTONIA DE JESUS                        DEPT DE SALUD          PO BOX 70184                                               SAN JUAN            PR           00936‐8184

   150437 EL VOCERO DE PUERTO RICO                    206 AVE. DE LA CONSTITUCION                                                                                     SAN JUAN            PR           00901‐2103
   643796 EL YUNQUE BABY FOOD                         P O BOX 1330                                                                                                    RIO GRANDE          PR           00745
   643797 EL ZIG ZAG TELAS                            69 CALLE PEDRO SANTOS                                                                                           MOCA                PR           00676
   150440 EL ZIPPERLE                                 P O BOX 19‐2083                                                                                                 SAN JUAN            PR           00919‐2083
          EL ZIPPERLE / GERMAN &
   643798 SPANISH REST INC                            PO BOX 192083                                                                                                   SAN JUAN            PR           00919‐2083
          EL ZIPPERLE / JOSE R PERTIERRA
   150441 GARCIA                                      PO BOX 192083                                                                                                   SAN JUAN            PR           00919‐2083
   643800 ELA TROYANO                                 15 AVE. C                                                                                                       NEW YORK            NY           10009
   150479 ELA VANESSA                                 VALLE SAN LUIS 324                                                                                              CAGUAS              PR           00725
   643801 ELAB OF TENNESSEE LLC                       PO BOX 468                                                                                                      ORMAND BEACH        FL           32175
   150484 ELADIA AMARO MORALES                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150485 ELADIA ARCE DAVILA                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643803 ELADIA BONES DIAZ                           SAN MARTIN                    927 CALLE K 30                                                                    GUAYAMA             PR           00784
   150486 ELADIA CRUZ LOPEZ                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELADIA DEL VALLE GALARZA
   150487 T/C/P                                       HC 08 BOX 49372                                                                                                 CAGUAS              PR           00725
   643805 ELADIA GARAY ESPERANZA                      HC 2 BOX 16521                                                                                                  RIO GRANDE          PR           00745
   150488 ELADIA PEREZ TAPIA                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   643806 ELADIA RETAMAR RODRIGUEZ                    URB SANTA TERESITA            AR 14 CALLE 14                                                                    PONCE               PR           00731
   150489 ELADIA ROCHE PEREZ                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150490 ELADIA RODRIGUEZ RIOS                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELADIA SALAMAN Y ALBERTO
   150491 SASSOON                                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643807 ELADIA SEIZE                                AVE LAS PALMAS                                                                                                  SAN JUAN            PR           00907
   150492 ELADIA SOSA NOLASCO                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643808 ELADIAS ZAYAS                               PO BOX 178                                                                                                      CIDRA               PR           00739
   150493 ELADINA SEDA IRIZARRY                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   643809 ELADIO A ALAMO HERNANDEZ                    PO BOX 29821                                                                                                    SAN JUAN            PR           00929
   150494 ELADIO A POLANCO REYES                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   643810 ELADIO A RODRIGUEZ CLASSEN                  HC 4 BOX 12016                                                                                                  ARECIBO              PR           00612

   643811 ELADIO ACEVEDO HERNANDEZ`                   HC 02 BOX 20731                                                                                                 AGUADILLA            PR           00603
          ELADIO ACEVEDO Y/O MATILDE
   643812 ACEVEDO                                     HC 04 BOX 46830                                                                                                 CAGUAS               PR           00725
   150495 ELADIO ADORNO VEGA                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150496 ELADIO AFANADOR NIEVES                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   643813 ELADIO AFANADOR RUIZ                        URB JESUS MARIA LAGO       B 18                                                                                 UTUADO               PR           00641
   150460 ELADIO ALVAREZ VAZQUEZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150476 ELADIO BERMUDEZ RIVERA                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150497 ELADIO CAMACHO VELEZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   643815 ELADIO CANCEL GARCIA                        PO BOX 49                                                                                                       VEGA ALTA            PR           00692
   643818 ELADIO CASTRO ORTIZ                         PO BOX 13236               JERSEY CITY                                                                          NEW JERSY            NJ           07303
   643819 ELADIO CASTRO SERRANO                       MONTE VERDE TA             H 23 CALLE 1                                                                         TOA ALTA             PR           00953
   643820 ELADIO CASTRODAD RIVERA                     TORRE SAN PABLO OFIC 602                                                                                        BAYAMON              PR           00961

   643821 ELADIO COLON LOZADA                         BO BAYAMON PARC GANDARAS CARR 172                                                                               CIDRA                PR           00739

   643822 ELADIO CONCEPCION DE LEON                   HC 1 BOX 20822                                                                                                  CAGUAS               PR           00725‐9306
   643823 ELADIO COTTO ROSA                           CAIMITO BAJO               SECTOR JULITO KM 19 3                                                                SAN JUAN             PR           00926
   643824 ELADIO CRUZ PIMENTEL                        URB MONTE BRISAS           H 11 C/E                                                                             FAJARDO              PR           00738
   150498 ELADIO DAVILA AYALA                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   643825 ELADIO DEVARIE CORA                         COM LAS 500TAS             CALLE ESMERALDA 387                                                                  ARROYO               PR           00714
   643826 ELADIO DIAZ RIVERA                          COND UNIVERSITY            APT 604 AVE LAS AMERICA                                                              PONCE                PR           00731
   150499 ELADIO ESPINAL VIALLAFANE                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150500 ELADIO ESPINAL VILLAFANE                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   643827 ELADIO GARCIA RUIZ                          PO BOX 1145                                                                                                     SABANA SECA          PR           00952
   643828 ELADIO GONZALEZ MOLINA                      BOX 1441                                                                                                        JUANA DIAZ           PR           00795

   150501 ELADIO GRILLASCA GONZALEZ                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          ELADIO HERNANDEZ /DBA
   643829 TRANSPORTE ESCOLAR                          EE 50 VIA REXVILLE                                                                                              BAYAMON              PR           00957
   150502 ELADIO HERNANDEZ MU¥OZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150503 ELADIO INFANTE                              REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   643830 ELADIO IRIZARRY RAMIREZ                     PARC HILL BROTHERS         19 B CALLE 17                                                                        SAN JUAN             PR           00924
   150504 ELADIO JIMENEZ ROMAN                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   643832 ELADIO LEDEE RIVERA                         URB LAS ANTILLAS           H 8 CALLE HAITI                                                                      SALINAS              PR           00751
   150506 ELADIO LOPE LOPEZ                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150507 ELADIO LUIS ROQUE ROSARIO                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150508 ELADIO MALAVE NUNEZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   150509 ELADIO MARGOYA CANDELARIA                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   643834 ELADIO MARTIR CHAPARRO                      URB OLIVENCIA              2 CALLE JULIA RUIZ                                                                   SAN SEBASTIAN        PR           00685
   150510 ELADIO MELENDEZ RIOS                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150511 ELADIO MENDEZ                               REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   643835 ELADIO MERCADO SANTIGO                      PO BOX 455                                                                                                      LAJAS                PR           00667
   150512 ELADIO MERCEDES PEGUERO                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   150513 ELADIO MONTALVO FABRELLAS                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   643838 ELADIO MULERO INC                           PO BOX 9023423                                                                                                  SAN JUAN             PR           00902
   643841 ELADIO NIEVES NIEVES                        PO BOX 1452                                                                                                     QUEBRADILLAS         PR           00678
   643842 ELADIO PABLO MARCOS                         PO BOX 867                                                                                                      CAGUAS               PR           00726



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  150514 ELADIO PENA AGOSTO                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   643843 ELADIO PENA ENGINEERING TS                  PO BOX 3216                                                                                                         CAROLINA            PR         00984
   643844 ELADIO PEREZ ARROYO                         123 BO COJOBALES                                                                                                    CIALES              PR         00638
   150516 ELADIO PICON GONZALEZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   643845 ELADIO QUIRINDONGO CUASCUT PARC EL TUQUE                                 868 ELIAS BARBOSA ST                                                                   PONCE               PR         00728‐4734
   150518 ELADIO QUIRINDONGO RIOS     REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150519 ELADIO RAMOS CAMACHO        REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150520 ELADIO RIVERA MARRERO       REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150521 ELADIO RIVERA MORALES       REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643846 ELADIO RIVERA ORTIZ         HC 2 BOX 11480                                                                                                                      COROZAL             PR         00783
   150522 ELADIO RIVERA PEREZ         REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ELADIO RODRIGUEZ AUTO PARTS
   643848 INC                         P O BOX 8759                                                                                                                        HUMACAO             PR         00792
   643849 ELADIO RODRIGUEZ CARRIL     H C 2 BOX 12515                                                                                                                     MOCA                PR         00676 9748

   150523 ELADIO RODRIGUEZ QUINONES                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643850 ELADIO RODRIGUEZ ROSARIO                    HC 2 BOX 11033                                                                                                      HUMACAO             PR         00791

   643851 ELADIO RODRIGUEZ VAZQUEZ    PO BOX 370331                                                                                                                       CAYEY               PR         00737
   150524 ELADIO ROSARIO ROSARIO      REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150526 ELADIO SALCEDO ACEVEDO      REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643853 ELADIO SANCHEZ MARTINEZ     VILLA CARIDAD                                117 CALLE MOLINILLO                                                                    CAROLINA            PR         00986
   643854 ELADIO SANTIAGO CENTENO     BO BEATRIZ SECTOR ZAPERA                     RR 02 BOX 5733                                                                         CIDRA               PR         00739
   643855 ELADIO SANTIAGO FORTIS      PO BOX 179                                                                                                                          MOROVIS             PR         00687
   643857 ELADIO SANTIAGO LASSALLE    RES AGUSTIN STAHL                            EDIF 40 APTO 181                                                                       AGUADILLA           PR         00603
   150527 ELADIO SANTIAGO PADILLA     REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643858 ELADIO SANTIAGO SANCHEZ     URB HILL SIDE                                I 10 CALLE 5                                                                           SAN JUAN            PR         00926
   643859 ELADIO SANTIAGO TORRES      ESTANCIAS DE LA FUENTE                       56 CALLE MOMACO                                                                        TOA ALTA            PR         000953
   643860 ELADIO SERRANO              RR 8 BOX 9492                                                                                                                       BAYAMON             PR         00956
   643861 ELADIO SERRANO DELGADO      VILLA FONTANA                                5 B‐10 VIA 62                                                                          CAROLINA            PR         00983
   150528 ELADIO SERRANO GUZMAN       REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ELADIO SOTO ROLDAN DBA ABLE
   150529 1                           TRANSLATION SERVICE                          PO BOX 9398                                                                            CAROLINA            PR         00988
   643862 ELADIO VEGA VEGA            P O BOX 1192                                                                                                                        CANOVANAS           PR         00729
   643865 ELADIO ZAYAS RIVERA         HC 2 BOX 6797                                                                                                                       BARRANQUITAS        PR         00794
   643866 ELAIDA AYALA CADIZ          B 21 URB FLAMBOYANES                                                                                                                PONCE               PR         00731
   643867 ELAINE A KING               5013 W CEDAR LANE                                                                                                                   BETHESDA            MD         20814
   150530 ELAINE BELTRAN SANCHEZ      REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150531 ELAINE BONILLA PLA          REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643869 ELAINE BORGES ROSARIO       HC 30 BOX 33855                                                                                                                     SAN LORENZO         PR         00754‐9739
   150532 ELAINE C. TORRES MERCADO    REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ELAINE CARATINI REYES /
   643870 ANTONIA REYES               1337 PURDY STREET                                                                                                                   BRONX               NY         10462
   150533 ELAINE CHAVES LUGO          REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   643871 ELAINE DELGADO FIGUEROA                     URB JARDINES DE METROPOLIS   301 INTERIOR CALLE EDISON                                                              SAN JUAN            PR         00927
   643872 ELAINE DIAZ ANDINO                          P O BOX 40994                                                                                                       SAN JUAN            PR         00940
   150534 ELAINE E BONILLA MATEO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   643873 ELAINE E VAZQUEZ GONZALEZ                   T305 COND RIVER PARK                                                                                                BAYAMON             PR         00961




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   150535 ELAINE F BAUMGARTNER LUGO                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643874 ELAINE FIGUEROA CINTRON                     P O BOX 5650852                                                                                             GUAYANILLA          PR           00656
   150536 ELAINE GARCIA GARCIA                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150537 ELAINE GONZALEZ CRUZ                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643876 ELAINE GONZALEZ VIDAL                       VEGA BAJA LAKES           L 3 CALLE 12                                                                      VEGA BAJA           PR           00693
   150538 ELAINE HENRIQUEZ RIVERA                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150539 ELAINE J COLON DIAZ                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643877 ELAINE J ORTIZ ALVAREZ                      URB PROVIDENCIA           IC 6 CALLE 3                                                                      TOA ALTA            PR           00953
   150541 ELAINE J RIEFKOHL ORTIZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643878 ELAINE J ROSARIO ALBINO                     URB SIERRA BAYAMON        96 6 CALLE 82                                                                     BAYAMON             PR           00961‐4412
   150542 ELAINE J. RIEFKOHL ORTIZ                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELAINE JANNETTE OTERO DE
   150543 JESUS                                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELAINE LOPEZ A/C CARMEN M
   643879 LUGO PAGAN                                  RR1 BOX 14427                                                                                               MANATI              PR           00674‐9763
          ELAINE M CAMACHO
   150544 HERNANDEZ                                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150545 ELAINE M GORBEA PABON                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643881 ELAINE M MONTGOMERY                         PO BOX 20002                                                                                                CEIBA               PR           00735
   643882 ELAINE M VELEZ TORRES                       PO BOX 503                                                                                                  SAN LORENZO         PR           00754
   150547 ELAINE MALDONADO                            REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150548 ELAINE MARTINEZ TORO                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   643884 ELAINE MELENDEZ FIGUEROA                    RR 6 BOX 9272                                                                                               SAN JUAN            PR           00926 9502
   643885 ELAINE MORA NIEVES                          JARDINES DE CAPARRA       AB‐40 CALLE 12A                                                                   BAYAMON             PR           00956
   150549 ELAINE OCANA RIVERA                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      HP ‐ SUPERVISION DE
   643886 ELAINE OCASIO VILLANUAVA                    ENFERMERIA                                                                                                  RIO PIEDRAS         PR       009360000
   150550 ELAINE PEREZ CAMACHO                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   643887 ELAINE PORRATA TORO                         68 HACIENDAS DEL LAGO                                                                                       SAN JUAN            PR       00936‐9216
   643889 ELAINE REYES TORRES                         SANTA MARIA               93 ROMERILLO                                                                      SAN JUAN            PR       00927
   643890 ELAINE ROA RUIZ                             HC 05 BOX 31600                                                                                             HATILLO             PR       00659‐9794
   643891 ELAINE RODRIGUEZ CRUZ                       16 LLANOS DEL SUR                                                                                           COTO LAUREL         PR       00780
   150551 ELAINE RODRIGUEZ FRANK                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   643894 ELAINE RODRIGUEZ MORALES                    PO BOX 9021112                                                                                              SAN JUAN            PR       00902‐1112
   150553 ELAINE RODRIGUEZ ROMERO                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   150554 ELAINE RUIZ FIGUEROA                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   150555 ELAINE SCHWARTZ                             REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   150556 ELAINE SERRANO ORTIZ                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   150557 ELAINE SOLER VAZQUEZ                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   150558 ELAINE SOTO MARTIS                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   643895 ELAINE SOTO VELAZQUEZ                       RES LUIS LLORENS TORRES   EDIF 16 APTO 323                                                                  SAN JUAN            PR       00913
   643896 ELAINE TORRES                               RES GAUTIER BENITEZ       EDIF 8 APT 70                                                                     CAGUAS              PR       00725
   150559 ELAINE TORRES BLANCO                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   150560 ELAINE TORRES FERRER                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   643897 ELAINE TORRES PEREZ                         HC 05 BOX 56769                                                                                             AGUADILLA           PR       00603
   643898 ELALIS GONZALEZ LOPEZ                       URB VILLA CAROLINA        68‐49 CALLE 56                                                                    CAROLINA            PR       00985
   150561 ELAN ECHEVARRIA AMADEO                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   150562 ELAN ECHEVARRIA MARIN                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   150563 ELAN M COLEN ROGER                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   150565 ELASIO ECHEVARRIA COLON                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   150566 ELAY MARTINEZ RIVERA                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   643908 ELBA A REYES GONZALEZ                       410 CALLE TAMARINDO                                                                                         ARECIBO             PR       00612



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  150567 ELBA A SANTANA CRUZ                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  150568 ELBA ACOSTA PONCE                             REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         ELBA ACOSTA ZAPATA/NETTIE
  643911 FERNANDEZ                                     BUZON 689                  CARR BOQUERON KM‐7 HC 8                                                              CABO ROJO           PR         00623
  150569 ELBA ADORNO MORENO                            REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  150570 ELBA ALEJANDRINO GUZMAN                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  643912 ELBA ALICEA CRUZ                              P O BOX 1111                                                                                                    CEIBA               PR         00735
  150571 ELBA ARELIS VEINTIDOS SOTO                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  643913 ELBA ARIAS MONTIJO                            PO BOX 1864                                                                                                     LARES               PR         00669
  643916 ELBA BIGAY TIZOL                              URB SAN GERARDO            1712 CALLE ARKANSAS                                                                  SAN JUAN            PR         00926
  643917 ELBA BONILLA SOTO                             P O BOX 291                                                                                                     AIBONITO            PR         00705
  150572 ELBA BORRERO SOSA                             REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  150573 ELBA BOU CARRION                              REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  643901 ELBA BURGOS RODRIGUEZ                         VILLA NUEVA U 3 CALLE 22                                                                                        CAGUAS              PR         00727
  150574 ELBA C LOPEZ BAEZ                             REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  643919 ELBA C RIVERA CASTILLO                        ESTANCIA DEL RIO           D 17 CALLE ANON                                                                      SABANA GRANDE       PR         00637
  643920 ELBA CACERES GONZALEZ                         URB BARALT                 A 11 CALLE 1                                                                         FAJARDO             PR         00738
  643921 ELBA CALDERON SANTOS                          RES COVADONGA              EDF 9 APT 132                                                                        TRUJILLO ALTO       PR         00976
  150575 ELBA CAMACHO HERNANDEZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   150576 ELBA CARRASQUILLO MONTANEZ REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150577 ELBA CHAVES                REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150578 ELBA CINTRON GIRONA        REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643924 ELBA CINTRON RUIZ          PO BOX 10271                                                                                                                      PONCE               PR         00732
   643925 ELBA CIRINO CIRINO         HC 1 BOX 4077                                                                                                                     LOIZA               PR         00772
   643927 ELBA COLON COLON           SANTA ROSA                                   31 AVE MAIN                                                                          BAYAMON             PR         00956
   643929 ELBA CONSUELO SANCHEZ      URB VILLA PRADES                             808 CALLE JOSE QUINTON                                                               SAN JUAN            PR         00924‐2134
   643930 ELBA CORDERO CORTES        P O BOX 11903                                                                                                                     UTUADO              PR         00641
   150579 ELBA CRESPO LAGARES        REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150580 ELBA CRESPO RAMOS          REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ELBA CRISTINA RODRIGUEZ
   150581 FIGUEROA                   REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150582 ELBA CRUZ ACEVEDO          REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643931 ELBA CRUZ CORTES           URB CASTELLANA GARDENS                       N 11 CALLE 14                                                                        CAROLINA            PR         00983
   643932 ELBA CRUZ GONZALEZ         BOX 308                                                                                                                           SAN SEBASTIAN       PR         00685
   150583 ELBA CRUZ RODRIGUEZ        REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643933 ELBA CUBA NIEVES           ESC JOAQUIN VAZQUEZ                          CARR 456 CERCA                                                                       CAMUY               PR         00627
   643934 ELBA D ANDINO RIVERA       HC 1 BOX 14303                                                                                                                    COMERIO             PR         00782

   643935 ELBA D CARABALLO CARABALLO                   BO BARINAS                 F 34 CALLE 4                                                                         YAUCO               PR         00698
   150584 ELBA D CRUZ CANDELARIA                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150585 ELBA D MARTINEZ FIGUEROA                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643936 ELBA D RIVERA                                HC 1 BOX 6244                                                                                                   TOA BAJA            PR         00949
   150586 ELBA DE LEON                                 REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643938 ELBA DIAZ                                    LOS MAESTROS               122 C/A ISABEL ANDREW                                                                SAN JUAN            PR         00906
   150587 ELBA DIAZ BROWN                              REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643939 ELBA DIAZ SANTOS                             PO BOX 2371                                                                                                     TOA BAJA            PR         00951
   643940 ELBA DUARTE VIZCARRONDO                      EXT EL COMANDANTE          540 CALLE SAN DAMIAN                                                                 CAROLINA            PR         00982
   150588 ELBA E BARBOSA MEDINA                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150589 ELBA E BORRERO SOSA                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643941 ELBA E CALDERON FELIX                        PO BOX 292                                                                                                      CANOVANAS           PR         00729
   150590 ELBA E GONZALEZ PEREZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   643942 ELBA E GUZMAN COLON                          RR 1 BOX 3509                                                                                                   CIDRA               PR         00739



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  643943 ELBA E MASID ORAMAS                          GLENVIEW GARDENS N 21       W 40                                                                               PONCE              PR         00730
  150591 ELBA E MEDINA QUINTANA                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  643944 ELBA E MORALES                               PO BOX 21                                                                                                      JAYUYA             PR         00664
  643945 ELBA E PEREIRA CINTRON                       URB VILLA NUEVA             F 11 CALLE 14                                                                      CAGUAS             PR         00725
  150592 ELBA E PEREZ GONZALEZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  643946 ELBA E RAMOS SANTIAGO                        2DA EXT EL VALLE            496 GARDENIA                                                                       LAJAS              PR         00667
  643947 ELBA E RIVERA RIVERA                         BO PUEBLO NUEVO             22 CALLE 100                                                                       VEGA BAJA          PR         00693
  643948 ELBA E RODRIGUEZ RIVERA                      BO GUANAJIBO                CARR 343 KM 2 7                                                                    HORMIGUERO         PR         00660
  150593 ELBA E TORO FIGUEROA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  643950 ELBA E VALLES CORREA                         JARDINES DE SAN FRANCISCO   APTO 603‐2                                                                         SAN JUAN           PR         00927
  643951 ELBA E VIDOT GALAN                           URB LAS COLINAS             H16 CALLE 11                                                                       TOA BAJA           PR         00949‐4937

   150594 ELBA ECHEVARRIA RODRIGUEZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   150595 ELBA EMMANUELLI ZAYAS                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   150596 ELBA ENCARNACION CANALES                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          ELBA ENCARNACION
   150597 VILLALONGO                                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      URB ALTURAS DE VILLA        LM 6 CALLE PARQUE LOS
   643953 ELBA ESTRELLA GONZALEZ                      FONTANA                     MODELOS                                                                            CAROLINA           PR         00982
   643954 ELBA F SIERRA ACOSTA                        HC 4 BOX 12315                                                                                                 HUMACAO            PR         00791
   643955 ELBA FELICIANO PUEYO                        MSC 427 PBS 282                                                                                                MAYAGUEZ           PR         00681
   643957 ELBA FIGUEROA COIMBRE                       1004 BRIDGEWOOD DR                                                                                             BOCA RATON         FL         33434
   643958 ELBA FIGUEROA ORTEGA                        BOX 1252                                                                                                       CIALES             PR         00638
   643959 ELBA FIGUEROA ORTIZ                         PO BOX 1281                                                                                                    COROZAL            PR         00783
   643960 ELBA FRANQUI DE DAVILA                      URB MILAVILLE               77 CALLE QUENEPA                                                                   SAN JUAN           PR         00926

   643961 ELBA G APONTE DE RODRIGUEZ                  PO BOX 1067                                                                                                    PONCE              PR         00733
   643962 ELBA G PEREZ DIAZ                           CARRETERA 860 KM 2 HM5      BOX MARTIN GONZALEZ                                                                CAROLINA           PR         00986
   150598 ELBA GARCIA CANDELARIA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   643963 ELBA GARCIA GARCIA                          BO SALUD                    56 TAMARINDO                                                                       MAYAGUEZ           PR         00680
   643965 ELBA GONZALEZ COLON                         HC 2 BOX 11213                                                                                                 MOCA               PR         00676
   150599 ELBA GONZALEZ GOBERT                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   643902 ELBA GONZALEZ GOBERT                        URB CAPARRA TERRACE         1158 CALLE 16 SE                                                                   SAN JUAN           PR         00921
   643967 ELBA GUTIERREZ LABOY                        2DA EXT EL VALLE            409 CALLE LAUREL                                                                   LAJAS              PR         00667
   643968 ELBA GUTIERREZ ROSARIO                      RES MANUEL MARTORELL        EDIF 3 APT 25                                                                      COMERIO            PR         00782
   643970 ELBA H NEGRON CEBALLOS                      URB RIO GRANDE ESTATES      C7 CALLE 4                                                                         RIO GRANDE         PR         00745
   150601 ELBA H PEREZ OTERO                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   643971 ELBA H PRATTS APONTE                        CAPARRA TERRACE             783 CALLE I S O                                                                    SAN JUAN           PR         00921
   150602 ELBA HELMER                                 REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   150603 ELBA HERNANDEZ                              REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   643973 ELBA HERNANDEZ GONZALEZ                     VEGA BAJA LAKES             L32 CALLE 11                                                                       VEGA BAJA          PR         00693
   150604 ELBA I ACEVEDO HERNANDEZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   643975 ELBA I ACEVEDO VEGA                         PARCELAS LOMAS VERDES       341 CALLE RUBI                                                                     MOCA               PR         00676
          ELBA I ALMODOVAR
   643976 ALMODOVAR                                   161 CALLE CESAR GONZALEZ    BOX 156                                                                            SAN JUAN           PR         00918
   150606 ELBA I ARCE FIGUEROA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   643979 ELBA I AVILES ADORNO                        LA ESPERANZA                CALLE 15‐05                                                                        VEGA ALTA          PR         00692
   150607 ELBA I AYALA CRUZ                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   150609 ELBA I CANDELARIO ROBLES                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   643980 ELBA I CARABALLO                            URB SAN MARTIN              B 10 CALLE 3                                                                       JUANA DIAZ         PR         00795
   150610 ELBA I CARMONA RIVERA                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   643981 ELBA I CARRASQUILLO CRUZ                    HC 01 BOX 7882                                                                                                 LUQUILLO           PR         00673‐1910




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   150611 ELBA I CARRASQUILLO OLIVERAS                REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   643982 ELBA I CHEVERE VIRELLA                      HC 03 BOX 12082                                                                                                     COROZAL              PR           00783
   150612 ELBA I COLON SANTA                          REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   643984 ELBA I COSME SOSTRE                         BO OBRERO 657             CALLE 5                                                                                   SAN JUAN             PR           00915
                                                                                356 CALLE BARTOLOME LAS
   643985 ELBA I CRESPO ILLA                          VILLA PALMERAS            CASAS                                                                                     SAN JUAN             PR           00915
   150613 ELBA I CRUZ MORFI                           REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150614 ELBA I CRUZ ORTIZ                           REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150615 ELBA I CRUZ RUIZ                            REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   643987 ELBA I CRUZ SANTALIZ                        4923 W MEDILL                                                                                                       CHICAGO              IL           60639
   643988 ELBA I DAVID COLON                          65 CALLE DR VEVE NORTE                                                                                              COAMO                PR           00769
   150616 ELBA I DELGADO RIVERA                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150617 ELBA I DELGADO VEGA                         REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   643989 ELBA I ECHEVARRIA ROSARIO                   URB JARD DE ARECIBO       47 CALLE Q                                                                                ARECIBO              PR           00612
   150619 ELBA I ESTRADA CACERES                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   643991 ELBA I FRANCESCHIN SERRANO                  URB VALLE ALTO            2110 CALLE COLINA                                                                         PONCE                PR           00730
   643992 ELBA I GARCIA ROSARIO                       28 CALLE OBRERO                                                                                                     CIALES               PR           00638
   150621 ELBA I GONZALEZ DIAZ                        REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150622 ELBA I GONZALEZ ORTIZ                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150623 ELBA I GONZALEZ RIVERA                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   643993 ELBA I GONZALEZ ROSADO                      HC 2 BOX 46483                                                                                                      VEGA BAJA            PR           00693
   643994 ELBA I HERNANDEZ CORTES                     PO BOX 1358                                                                                                         MOCA                 PR           00676

   150624 ELBA I HERNANDEZ HERNANDEZ                  REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150625 ELBA I LOPEZ PASTRANA                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   643903 ELBA I LOPEZ VELEZ                          PO BOX 247                                                                                                          CAMUY                PR           00627
   643997 ELBA I LUGARDO ORTA                         RES. COLUMBUS LANDING     EDIF 44 APT 471                                                                           MAYAGUEZ             PR           00680
          ELBA I MARTINEZ / DIANA E
   150629 ORTIZ                                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   644000 ELBA I MARTINEZ RIVERA                      EXT REXVILLE              J 2 4 CALLE 13 A                                                                          BAYAMON              PR           00957
   150630 ELBA I MARTINEZ TORRES                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   644001 ELBA I MAYSONET RODRIGUEZ                   URB QUINTAS DE GUASIMAS   E 4 CALLE U                                                                               ARROYO               PR       00714
   644002 ELBA I MEDINA RIVERA                        PO BOX 386                                                                                                          BARCELONETA          PR       00617
   150631 ELBA I MELENDEZ ALVARADO                    REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   644003 ELBA I MELENDEZ MORALES                     PARC PUERTO REAL          20 CALLE 1                                                                                CABO ROJO            PR       00623
   150632 ELBA I MIRANDA CORPORAN                     REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   150633 ELBA I MORALES COSME                        REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   150635 ELBA I MORAN ASENCIO                        REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   644005 ELBA I MURCELO GONZALEZ                     ALTURAS DE FLAMBOYAN      W 15 CALLE 13                                                                             BAYAMON              PR       00959
   150636 ELBA I NEGRON LAFONTAINE                    REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
                                                                                AE 13 CALLE RIO GRANDE DE
   644007 ELBA I ORTIZ BURGOS                         URB RIO HONDO             LOIZA                                                                                     BAYAMON              PR           00961
   644008 ELBA I ORTIZ DIAZ                           HC 05 BOX 61272                                                                                                     CAGUAS               PR           00725‐9206
   644009 ELBA I ORTIZ NIEVES                         HC 01 BOX 1248                                                                                                      NARANJITO            PR           00719

   644010 ELBA I OTERO MERCADO                        URB COUNTRY CLUBD         802 C/ LOLA RODRIGUEZ DE TIO                                                              SAN JUAN             PR           00924
   150638 ELBA I PANET CLAUDIO                        REDACTED                  REDACTED                     REDACTED                              REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   644011 ELBA I PEREZ COLON                          HC 02 BOX 18391                                                                                                     SAN SEBASTIAN        PR           00685

   644012 ELBA I PEREZ NU¥EZ                          COND JARD DE CUENCA 195   AVE ARTERIAL HOSTOS APT 1028                                                              SAN JUAN             PR           00918‐2929



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  150639 ELBA I QUINONES MUNIZ                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  150640 ELBA I RABELL BERRIOS                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  150641 ELBA I RAMOS RIVERA                           REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  150642 ELBA I RIOS PINEDA                            REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  644013 ELBA I RIOS SANTIAGO                          HC 33 BOX 6104                                                                                                     DORADO              PR         00646
  150643 ELBA I RIVAS PEREZ                            REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  150644 ELBA I RIVERA                                 REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  644014 ELBA I RIVERA CANDELARIA                      VICTOR ROJAS II           141 CALLE C                                                                              ARECIBO             PR         00612
  150645 ELBA I RIVERA NAVARRO                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         ELBA I RIVERA RODRIGUEZ/LUIS
  644015 M TORRES                                      6TA SECC LEVITOWN         FE 5 CALLE JOSE MARIA MONGE                                                              TOA BAJA            PR         00949
  644016 ELBA I RIVERA RUIZ                            HC 01 BOX 5879                                                                                                     CAMUY               PR         00627
  150647 ELBA I RIVERA TORRES                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  644017 ELBA I RODENA VAZQUEZ                         141 CALLE VEGA BAJA                                                                                                SAN JUAN            PR         00911‐2222
  644018 ELBA I RODRIGUEZ ORTIZ                        JARDINES DEL PARQUE       59 BLVD LUNA APT 1802                                                                    CAROLINA            PR         00987
  644020 ELBA I RODRIGUEZ SANTIAGO                     18 CALLE ARENA                                                                                                     PONCE               PR         00731
  644021 ELBA I RODRIGUEZ SANTOS                       P O BOX 1114                                                                                                       SABANA GRANDE       PR         00637

   644022 ELBA I RODRIGUEZ VELAZQUEZ                   BO ARENALES ALTOS         260 CALLE CACHICHUELA                                                                    ISABELA             PR         00662
   150648 ELBA I ROMERO CHINEA                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150649 ELBA I ROSA FUENTES                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150650 ELBA I ROSA PADUA                            REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644025 ELBA I RUIZ DE CASTRO                        CORREO CARIBE SUITE 125   P O BOX 2510                                                                             TRUJILLO ALTO       PR         00976
   644027 ELBA I SANCHEZ VALDEJULLI                    PO BOX 22062                                                                                                       SAN JUAN            PR         00931
   644032 ELBA I SERRANO                               PO BOX 394                                                                                                         TOA BAJA            PR         00951
   644033 ELBA I SILVA                                 INGENIO                   P 123 CALLE DROMELIA                                                                     TOA BAJA            PR         00951
   644034 ELBA I SOTO TORRES                           HC 7 BOX 33955                                                                                                     HATILLO             PR         00659‐9647
   150651 ELBA I TORRES ESPINOSA                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150653 ELBA I VARELA LISBOA                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150654 ELBA I VELEZ RIOS                            REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150655 ELBA I. ARROYO CRESPO                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150656 ELBA I. DIAZ CONCEPCION                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   150657 ELBA I. HERNANDEZ HERNANDEZ REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150659 ELBA I. MORALES MEDINA,MD     REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150661 ELBA IRIS BAUZA               REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ELBA IRIS CANDELARIO
   644040 FIGUEROA                      TORTUGUERO                               29 CALLE A                                                                               BAYAMON             PR         00959
   644041 ELBA IRIS DOMINICCI SIERRA    HC 01 BOX 10803                                                                                                                   GUAYANILLA          PR         00656
          ELBA IRIS FERNANDEZ / YESENIA                                          390 CALLE FIGUEROA EDUARDO
   644042 ROSARIO                       VILLA PALMERA                            CONDE                                                                                    SAN JUAN            PR         00915‐2802

   644043 ELBA IRIS GONZALEZ GONZALEZ                  APARTADO 901                                                                                                       MOCA                PR         00676
   644044 ELBA IRIS GONZALEZ MENDEZ                    HC 7 BOX 14253                                                                                                     SAN SEBASTIAN       PR         00685

   644045 ELBA IRIS HERNANDEZ DEL RIO                  BO SABANA SECA            BUZON 86 CALLE VEGA 7173                                                                 SABANA SECA         PR         00952
   150662 ELBA IRIS PEREZ VEGA                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644047 ELBA IRIS RIVERA                             HC 1 BOX 3712                                                                                                      MAUNABO             PR         00707‐9727
   644048 ELBA IRIS RODRIGUEZ RUIZ                     COLINAS DEL OESTE         I 8 CALLE 10                                                                             HORMIGUEROS         PR         00660
   150663 ELBA IRIS VARGAS LUGO                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                       COND CONDADO CENTER APT
   644050 ELBA IRIZARRY LOPEZ                          PH7C                      1102 AVE MAGDALENA                                                                       SAN JUAN            PR         00907




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          ELBA ISMARIS BETANCOURT
   150664 VELEZ                                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   150665 ELBA ISMARIS BETANCURT VELEZ REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELBA J CARLO MORALES CELB
   644053 CLASE GRAND 56               URB MARGARITA                            G2                                                                                     CABO ROJO           PR           00623

   644054 ELBA J GUTIERREZ VILLANUEVA                 URB MEDINA                D 20 CALLE 4                                                                           ISABELA             PR           00662
   150666 ELBA J QUINONES CLEMENTE                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644051 ELBA J RIVERA DIAZ                          GOLDEN BEACH APTO 707                                                                                            CAROLINA            PR           00913
   644056 ELBA J VARGAS RODRIGUEZ                     COLINAS DEL OESTE         I 8 CALLE 10                                                                           HORMIGUEROS         PR           00660
   643904 ELBA J VILLANUEVA CLASS                     FLAMINGO HILLS            289 CALLE 9                                                                            BAYAMON             PR           00961
   644057 ELBA JIMENEZ RIVERA                         URB FOREST VIEW           M 94 CALLE TOLEDO                                                                      BAYAMON             PR           00956
   644058 ELBA JUSTINIANO GUZMAN                      RR 01 BOX 6392                                                                                                   MARICAO             PR           00606
   150668 ELBA L AYALA QUINONES                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644059 ELBA L BAEZ REYES                           URB ROYAL TOWN            V 32 CALLE 32                                                                          BAYAMON             PR           00956‐4259
   150669 ELBA L BERRIOS MARTIN                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644060 ELBA L BETANCOURT ROMAN                     4H VILLA DEL PARQUE                                                                                              SAN JUAN            PR           00909
   150670 ELBA L BLONDET SANTIAGO                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644061 ELBA L BONILLA RIVERA                       URB MONTECASINO           118 CALLE CAOBA                                                                        TOA ALTA            PR           00953
   150671 ELBA L CARDONA PÉREZ                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644062 ELBA L COLON RIVERA                         PO BOX 51439                                                                                                     TOA BAJA            PR           00950
   644063 ELBA L FIGUEROA                             URB LOMAS VERDES          AR 27 CALLE PETREA                                                                     BAYAMON             PR           00956
   150672 ELBA L FIGUEROA ARCELAY                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150673 ELBA L LOPEZ TRINIDAD                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150674 ELBA L MARTIR NUNEZ                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150675 ELBA L MERCADO PADILLA                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   643905 ELBA L MERCED RIVERA                        URB SANTIAGO IGLESIAS     1781 CALLE MANUEL TEXIDOR                                                              SAN JUAN            PR           00921
   150677 ELBA L MILLAN RODRIGUEZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150678 ELBA L MOJICA MOJICA                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150679 ELBA L NAZARIO ALVAREZ                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150680 ELBA L NUNEZ FONTANEZ                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150681 ELBA L REYES MARTINEZ                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150682 ELBA L REYES RUIZ                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644069 ELBA L SANTOS                               BO RABANAL LA MILAGROSA   BOX 2404                                                                               CIDRA               PR           00739
   150684 ELBA L. BERRIOS MARTIN                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150685 ELBA L. BLONDET SANTIAGO                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELBA LASANTA Y/O MIGUEL
   150686 FERNANDEZ                                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   644073 ELBA LISSETTE APONTE SANTOS                 HC 01 BOX 5029                                                                                                   BARRANQUITAS        PR           00794
   150687 ELBA LIZARDI PORTILLA                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150688 ELBA LOPEZ                                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644074 ELBA LOPEZ DEYA                             PO BOX 46                                                                                                        VILLALBA            PR           00766
   644075 ELBA LOPEZ NIEVES                           HC 1 BOX 3889                                                                                                    QUEBRADILLA         PR           00678‐9506
   150690 ELBA LUZ CRUZ PRADO                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150691 ELBA LUZ OJEDA OJEDA                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644080 ELBA M BON CARRION                          4TA EXT COUNTRY CLUB      806 MINDANAO                                                                           SAN JUAN            PR           00924
   150692 ELBA M BOUET RAMIREZ                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644081 ELBA M CANCEL IRIZARRY                      BOX 725                                                                                                          LAJAS               PR           00667
   150693 ELBA M CORUJO RAMSEY                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644082 ELBA M CRESPO MIRANDA                       URB CIUDAD REAL           328 CALLE ALORA                                                                        VEGA BAJA           PR           00693



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   150694 ELBA M GANDARA CASTRODAD                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150696 ELBA M GONZALEZ ANDUJAR                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644083 ELBA M JORGE SERRANO                        URB CONDADO MODERNO    B 12 CALLE 1                                                                          CAGUAS              PR           00725
   150697 ELBA M MUNIZ VARGAS                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644084 ELBA M RAMOS                                PROYECTO GALATEO       H 1 CALLE 1                                                                           RIO GRANDE          PR           00745
   150698 ELBA M RIVERA RODRIGUEZ                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150699 ELBA M SEPULVEDA CABASSA                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150700 ELBA M TAVERAS TAVERAS                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644086 ELBA M ZAYAS NAVARRO                        URB JARD DE CAYEY II   J 14 CALLE CLAVEL                                                                     CAYEY               PR           00736
          ELBA M. CABANILLAS
   150701 HERNANDEZ                                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELBA M. CARABALLO
   150702 ENCARNACION                                 REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150703 ELBA M. MIRANDA FIGUEROA                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644088 ELBA MAGALI COLON TORRES                    URB VILLA DEL CARMEN   573 CALLE SALAMANCA                                                                   PONCE               PR           00716‐2112

   644089 ELBA MALDONADO MACHABELO ALTA VISTA                                JJ 9 CALLE 28                                                                         PONCE               PR           00731

   644090 ELBA MALDONADO OQUENDO                      P O BOX 7293                                                                                                 UTUADO              PR           00641
   150704 ELBA MARQUEZ NUNEZ                          REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644091 ELBA MARQUEZ ORTIZ                          URB JARD RIO GRANDE    AU 54 CALLE 40                                                                        RIO GRANDE          PR           00745
   644092 ELBA MARRERO ADORNO                         VILLA NUEVA            I 1 CALLE 10                                                                          CAGUAS              PR           00727
   150705 ELBA MARRERO COSME                          REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150706 ELBA MARRERO NEGRON                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644093 ELBA MARTINEZ ROSADO                        URB VILLA MARISOL      699 CALLE MARGARITA                                                                   SABANA SECA         PR           00952
   644094 ELBA MATEO                                  PO BOX 21365                                                                                                 SAN JUAN            PR           00928‐1365
   644096 ELBA MATOS MILLAN                           P O BOX 90                                                                                                   CEIBA               PR           00735
   150707 ELBA MATTEI RODRIGUEZ                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   150708 ELBA MED DIST DBA PATIO DRUG 5208 VETERANS BOULEVARD                                                                                                     METAIRIE            LA           70006
   644097 ELBA MEDINA                  HC 03 BOX 7967                                                                                                              MOCA                PR           00676
   644098 ELBA MEDINA GONZALEZ         HC 3 BOX 7967                                                                                                               MOCA                PR           00676
          ELBA MEDINA PARA SEAN A
   150709 GONZALEZ                     REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644099 ELBA MEDINA TORRES           PO BOX 376                                                                                                                  BARCELONETA         PR           00617
   150710 ELBA MELENDEZ MELENDEZ       REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150711 ELBA MELENDEZ ORTIZ          REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150712 ELBA MELENDEZ TORRES         REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644102 ELBA MENENDEZ BRUNET         BRISAS PARQUE ESCORIAL                APT 2602                                                                              CAROLINA            PR           00987
   150713 ELBA MERCADO AVILES          REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644103 ELBA MERCADO GARCIA          REPARTO ANAIDA                        G 3 CALLE 6                                                                           PONCE               PR           00731
   150715 ELBA MORALES BAEZ            REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150716 ELBA MORALES BURGOS          REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644106 ELBA MORALES DIAZ            LEVITTOWN                             FK 7 CALLE MARIA CADILLA                                                              TOA BAJA            PR           00949
   150717 ELBA MORALES GONZALEZ        REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644107 ELBA MORALES RODRIGUEZ       PO BOX 40977                                                                                                                SAN JUAN            PR           00940
   150718 ELBA MORCILIO NADAL          REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150719 ELBA N BORIA DE LEON         REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644110 ELBA N CASTILLO ROMAN        SANTA JUANA                           C 15 CALLE 5                                                                          CAGUAS              PR           00725
   644112 ELBA N COLON RODRIGUEZ       URB METROPOLIS                        G32 CALLE 8                                                                           CAROLINA            PR           00987
   644113 ELBA N FREYTES MELECIO       PO BOX 528                                                                                                                  VEGA BAJA           PR           00692
   150720 ELBA N GARCIA ALICEA         REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  644114 ELBA N GONZALEZ CORREA                       PO BOX 251                                                                                                       AGUADA             PR         00602
  644115 ELBA N GONZALEZ NIEVES                       LEVITTOWN                     AD 10 CALLE MARGARITA                                                              TOA BAJA           PR         00949
  644116 ELBA N MARTINEZ SANTANA                      PO BOX 7514                                                                                                      PONCE              PR         00732‐7514
  150721 ELBA N NIEVES VERA                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  644117 ELBA N OJEDA FUENTES                         PO BOX 224                                                                                                       NARANJITO          PR         00719
  644118 ELBA N RAMOS MALAVE                          HC 764 BOX 8342                                                                                                  PATILLAS           PR         00723
  644119 ELBA N RIBOT HENRIQUEZ                       URB MELENDEZ                  C 10 CALLE B                                                                       FAJARDO            PR         00738
  644120 ELBA N RODRIGUEZ LUGO                        JARDINES DE ARECIBO           71 CALLE P                                                                         ARECIBO            PR         00612
  150722 ELBA N ROSADO GONZALEZ                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  644123 ELBA N SOLTERO CRUZ                          PO BOX 22554                                                                                                     SAN JUAN           PR         00931‐2554
  150723 ELBA N. TORRES BONILLA                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  150724 ELBA NELLY VAZQUEZ RAMOS                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  150726 ELBA NIEVES RIVERA                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  150727 ELBA NIEVES RUIZ                             REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  644127 ELBA O VALENTIN SANCHEZ                      BO SAN ANTONIO                HC 01 BOX 3409                                                                     QUEBRADILLA        PR         00678
  644128 ELBA OFARRIL ROJAS                           SAINT JUST                    96 CALLE BETANIA                                                                   TRUJILLO ALTO      PR         00976
  150728 ELBA ORDUNA ACUM                             REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  644130 ELBA ORTIZ VAZQUEZ                           43 CALLE JOSE E BELLON ESTE                                                                                      GUAYAMA            PR         00784
  644131 ELBA PABON MARRERO                           URB LA CRUW                   X18 CALLE A                                                                        VEGA BAJA          PR         00693
  644132 ELBA PACHECO GUZMAN                          URB CAPARRA TERRACE           1232 CALLE CERDENA                                                                 SAN JUAN           PR         00920
  150729 ELBA PACHECO NADAL                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  150730 ELBA PEDRAZA ORTIZ                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  150731 ELBA PELLOT PEREZ                            REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  150732 ELBA PENA RODRIGUEZ                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  644134 ELBA PEREZ CORREA                            MANSIONES DE CAROLINA         MM 13 YAUREL                                                                       CAROLINA           PR         00987
  150733 ELBA PEREZ GONZALEZ                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  644135 ELBA PEREZ SANTIAGO                          PO BOX 1588                                                                                                      COAMO              PR         00769
  644136 ELBA PEREZ SERRANO                           VICTOR ROJAS 2                59 CALLE D                                                                         ARECIBO            PR         00612
  150736 ELBA QUINONES LUCIANO                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  644138 ELBA R DIAZ SOTO                             109 CALLE COLOMER                                                                                                SAN JUAN           PR         00907
  150738 ELBA R LOPEZ RODRIGUEZ                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  150739 ELBA R MENDEZ CABASSA                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  150740 ELBA R MENDEZ MARRERO`                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  150741 ELBA R MORALES NEGRON                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  644139 ELBA R PERELES VELEZ                         CAPARRA TERRACE               678 CORDOVA                                                                        SAN JUAN           PR         00920
  150742 ELBA R RIOS GONZALEZ                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  644137 ELBA R ROSA DIAZ                             254 CALLE JOSE OLMO                                                                                              ARECIBO            PR         00612‐4849
  644141 ELBA RACING                                  P O BOX 19058                                                                                                    SAN SEBASTIAN      PR         00685
  644142 ELBA RAMIREZ IRIZARRY                        BO ROBLES                     HC 01 BOX 12810                                                                    SAN SEBASTIAN      PR         00685
  644144 ELBA RAMOS TORRES                            HC 09 BOX 4367                                                                                                   SABANA GRANDE      PR         00637 9618
  150744 ELBA REYES SERRANO                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      COOP JARDINES DE SAN
   644145 ELBA RICO QUINONES                          FRANCISCO                     EDIF 2 APT 516                                                                     SAN JUAN           PR         00927
   644146 ELBA RIOS ADORNO                            9 CALLE LAS MERCEDES                                                                                             COROZAL            PR         00783
   150745 ELBA RIVERA                                 REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   644148 ELBA RIVERA COTTO                           VILLA CAROLINA                82‐8 CALLE 87                                                                      CAROLINA           PR         00985
   150746 ELBA RIVERA HERNANDEZ                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   150747 ELBA RIVERA LOPEZ                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   644149 ELBA RIVERA LUQUIS                          RIO PLANTATION                CALLE 3 A ESTE                                                                     BAYAMON            PR         00961
   644150 ELBA RIVERA MOLINA                          P O BOX 364805                                                                                                   SAN JUAN           PR         00936‐4805
   150748 ELBA RIVERA QUINONES                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   644151 ELBA RIVERA RIVERA                          PO BOX 21365                                                                                                     SAN JUAN           PR         00928‐1365
   150749 ELBA RIVERA ZAYAS                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  644153 ELBA RODRIGUEZ BERGOLLO                      BO GARROCHALES              BOX 5391                                                                            BARCELONETA      PR           00617

   150750 ELBA RODRIGUEZ HERNANDEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   644154 ELBA RODRIGUEZ MELENDEZ                     COND LOS NARANJALES         APTO 203                                                                            CAROLINA         PR           00985
   150751 ELBA RODRIGUEZ MUNIZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   644155 ELBA RODRIGUEZ ORTIZ                        URB NUEVO MAMEYES           G 5 CALLE 5                                                                         PONCE            PR           00731
   150752 ELBA RODRIGUEZ QUINONEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   644156 ELBA RODRIGUEZ RIVERA                       23 CALLE CORONEL IRIZARRY                                                                                       CAYEY            PR           00736

   644157 ELBA RODRIGUEZ RODRIGUEZ                    URB BELLA VISTA             K 8 CALLE 13                                                                        BAYAMON          PR           00957
   150753 ELBA RODRIGUEZ SANTIAGO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   644160 ELBA ROSA GARCIA                            12611 SW 28 TH ST                                                                                               MIRAMAR          FL           33027
   150755 ELBA ROSARIO CRUZ                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   150756 ELBA ROSARIO RAMOS                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   644162 ELBA RUSSE RODRIGUEZ                        PO BOX 1994                                                                                                     VEGA ALTA        PR           00692
   644163 ELBA S CACERES GONZALEZ                     50 CALLE CELIS AQUILERA                                                                                         FAJARDO          PR           00738
   644164 ELBA S MARTINEZ MADERA                      P O BOX 199                                                                                                     AIBONITO         PR           00705
   150757 ELBA S PADILLA PADILLA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   644165 ELBA S ROSA COLON                           URB EL VALLE 328            PASEO DEL PARQUE                                                                    CAGUAS           PR           00727
   644166 ELBA SAN MIGUEL                             URB SAN MIGUEL              A 16 CALLE 1                                                                        BAYAMON          PR           00957
   150758 ELBA SANCHEZ IRIZARRY                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   150759 ELBA SANCHEZ RODRIGUEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   644168 ELBA SANTA                                  PO BOX 21365                                                                                                    SAN JUAN         PR           00928
   644169 ELBA SANTIAGO                               P O BOX 815                                                                                                     SALINAS          PR           00751‐0815
   644170 ELBA SANTIAGO MORALES                       LOMA ALTA                   H 31 CALLE 7                                                                        CAROLINA         PR           00987
   150760 ELBA SANTIAGO TOLEDO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   150761 ELBA SANTOS PAGAN                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   644172 ELBA SEPULVEDA MEDINA                       HC 1 BOX 2185                                                                                                   FLORIDA          PR           00650
   644173 ELBA SERRANO RIVERA                         HORMIGUEROS APARTS          EDIF B APT 224                                                                      HORMIGUEROS      PR           00660
          ELBA SERRANO TORRES ESC S U
   644174 MARCOS SANCH                                K 12 CARR 182                                                                                                   YABUCOA          PR       00767
   150762 ELBA SOTILLO SEGARRA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED REDACTED           REDACTED
   644176 ELBA SOTO MARRERO                           URB VILLA RICA              AG 20 CALLE SONIA                                                                   BAYAMON          PR       00959
   150763 ELBA SUAREZ FERRER                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED REDACTED           REDACTED
   150764 ELBA SUAREZ SUAREZ                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED REDACTED           REDACTED
   150765 ELBA T ORENGO SANTIAGO                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED REDACTED           REDACTED
   644177 ELBA T RODRIGUEZ                            1030 BRITANIA ST APT 113                                                                                        LOS ANGELES      CA       90033
   644178 ELBA T TORRES DE SILVA                      URB DOS PINOS               797 CALLE CASIOPEA                                                                  SAN JUAN         PR       00923
   150766 ELBA TORRES ALICEA                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED REDACTED           REDACTED
   150767 ELBA TORRES BARRETO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED REDACTED           REDACTED
   150768 ELBA TORRES IRIZARRY                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED REDACTED           REDACTED
   150769 ELBA TORRES LOPEZ                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED REDACTED           REDACTED
   150770 ELBA TORRES RAMOS                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED REDACTED           REDACTED
   150771 ELBA TORRES ROMERO                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED REDACTED           REDACTED
   644182 ELBA V ROSARIO ALOMAR                       302 CALLE TRINIDAD                                                                                              YAUCO            PR       00698
   150772 ELBA V. RIOS RIVERA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED REDACTED           REDACTED
   644183 ELBA VALENTIN                               VILLAS DE RIO GRANDE        AG 18 CALLE 23                                                                      RIO GRANDE       PR       00745
   150773 ELBA VARGAS APONTE                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED REDACTED           REDACTED
   150774 ELBA VARGAS CRUZ                            REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED REDACTED           REDACTED
   644184 ELBA VARGAS VELEZ                           HC 01 BOX 8671                                                                                                  MARICAO          PR       00606‐9407
   644185 ELBA VAZQUEZ COLLAZO                        URB VILLA VERDE             14 CALLE A                                                                          CAYEY            PR       00736
   150775 ELBA VAZQUEZ MARTINEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED REDACTED           REDACTED
   150777 ELBA VAZQUEZ MUNIZ                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED REDACTED           REDACTED



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  150778 ELBA VELEZ                                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  644187 ELBA VELEZ ARROYO                             SOLAR 149 POLE OJEA                                                                                             CABO ROJO          PR         00623
  150779 ELBA VELEZ MUNIZ                              REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  643906 ELBA VELEZ SERRANO                            21 CALLE CEMENTERIO                                                                                             JAYUYA             PR         00664
  644190 ELBA VIDAL GORDILLO                           ESTANCIAS DE CERRO GORDO   E 15 CALLE 8                                                                         BAYAMON            PR         00957
  150780 ELBA Y DILAN CARO                             REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  644191 ELBA Y JIMENEZ PEREZ                          URB VILLA DE LA PRADERA    17 CALLE 9                                                                           RINCON             PR         00677
  644192 ELBA Y RODRIGUEZ FLORES                       LOIZA VALLEY               I 322 CALLE CRISANTEMOS                                                              CANOVANAS          PR         00729‐3513
  644193 ELBA YANIRA GARCIA CRUZ                       PO BOX 2771                                                                                                     SAN GERMAN         PR         00683
  150781 ELBA Z REYES TORRES                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  150783 ELBA Z. ORTIZ CARABALLO                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  150784 ELBA ZAPATA MATOS                             REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  150785 ELBA ZOE VAZQUEZ SUAREZ                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  644194 ELBA, COLON SANTA                             HP ‐ SALA 1 BAJO                                                                                                RIO PIEDRAS        PR         009360000
  644195 ELBA, SANTOS SANTOS                           HP ‐ SALA DE ENFERMERIA                                                                                         RIO PIEDRAS        PR         009360000
  644197 ELBALIZ IRIZARRY ALCOVER                      URB LOS COLOBOS            1183 CALLE BAMBU                                                                     PONCE              PR         00731
  150786 ELBANGELIS ORTIZ MORALES                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  644198 ELBAS S GELY MENDEZ                           URB BUCARE                 12 CALLE ESMERALDA                                                                   GUAYNABO           PR         00965
  644199 ELBER RIVERA ZAYAS                            96 NORTE CALLE DR VEVE                                                                                          COAMO              PR         00769
  150788 ELBERT C RIVERA RIVERA                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  150789 ELBERT CHAVARRO MUNOZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  644200 ELBERT ORTIZ RODRIGUEZ                        PO BOX 7126                                                                                                     PONCE              PR         00732
  150791 ELBIA B CARTAGENA                             REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  150792 ELBIA I TIRADO LEGUILLOW                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  644202 ELBIA L COLON MELENDEZ                        BO COQUI                   107 PARCELAS VIEJAS                                                                  AGUIRRE            PR         00704
  150793 ELBIA SANCHEZ VAZQUEZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  150794 ELBIA TORO MARRERO                            REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  150795 ELBIA VAZQUEZ DAVILA                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  150797 ELBIMAR CABRERA MATEU                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  150798 ELBIN A. RIVERA RIVERA                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  150801 ELBIN RODRIGUEZ                               REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  150802 ELBY D RIVERA BORRERO                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         ELBY MEJIAS H/N/C TROPICAL
  644204 WAXING FLOOR                                  883 AVE CAMPO RICO                                                                                              SAN JUAN           PR         00924
  644207 ELDA C GONZALEZ SANTIAGO                      ALT DE VEGA BAJA           2‐32 CALLE FF                                                                        VEGA BAJA          PR         00963
  150803 ELDA E LATALLADI GARCIA                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  150805 ELDA L ORTIZ                                  REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  150806 ELDA L. GOMEZ PEREZ                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  644211 ELDA LAGUERRE RODRIGUEZ                       VILLA NEVAREZ              1070 CALLE 5                                                                         SAN JUAN           PR         00927
  644212 ELDA M ORTIZ PIMENTEL                         RES VILLA DEL CARIBE       EDIF 11 APT 68                                                                       PATILLAS           PR         00723
  150807 ELDA M PADILLA CANCEL                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   150808 ELDA M QUINONEZ FIGUEROA                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   150810 ELDA M RAMIREZ CRUZ                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   150811 ELDA M RODRIGUEZ CORA                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   150812 ELDA M ROSARIO REVERON                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   150813 ELDA M. ROBLEDO TRINIDAD                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   644213 ELDA MELENDEZ ALTIERI                        PO BOX 366436                                                                                                   SAN JUAN           PR         00936
          ELDA NAZARIO CUST EDGARDO
   150814 RIVERA                                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   150815 ELDA R GONZALEZ RODRIGUEZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   644215 ELDALIZ DIAZ ALGARIN                         COND JARD SAN FRANCISCO    APT 314‐2                                                                            SAN JUAN           PR         00927



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   644216 ELDALIZ SANCHEZ RODRIGUEZ                   HC 01 BOX 8192                                                                                                   SALINAS             PR           00751
   150821 ELDER PEREZ TORRES                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150822 ELDIA M DIAZ OLMO                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150823 ELDIE ALOMAR ROMAN                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644217 ELDIE COLLADO MARTINEZ                      PO BOX 411                                                                                                       CABO ROJO           PR           00623
   150824 ELDIN R NU¥EZ RIOS                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644218 ELDIN RIVERA HERNANDEZ                      PO BOX 9023207                                                                                                   SAN JUAN            PR           00902‐3207
   644220 ELDIX TELECOM INC                           PMB 430‐1353 RD 19         GARDEN HILLS PLAZA                                                                    GUAYNABO            PR           00966
   150825 ELDON M AYALA LIZARDI                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150826 ELDRIN VELEZ IRIZARRY                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644222 ELDRIS D GONZALEZ ORTIZ                     URB COUNTRY CLUB           1019 CALLE JAMES BAND                                                                 SAV JUAN            PR           00925

   644223 ELDRIS GONZALEZ NIEVES                      URB COUNTRY CLUB 2DA EXT   1019 CALLE JAMES BOND                                                                 SAN JUAN            PR           00924
   644224 ELDY R LOPEZ DIAZ                           P O BOX 317                                                                                                      GURABO              PR           00778
                                                                                 CLUB COSTAMARINA TORRE 2
   644225 ELEANOR BADILLO RIVERA                      VISTAMAR                   APT 2 G                                                                               CAROLINA            PR           00983
   150828 ELEANOR L ALLEN                             REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644226 ELEAZAR D LAMBOY PLANA                      URB ALTOS DE LA FUENTE     K 6 CALLE 8                                                                           CAGUAS              PR           00725
   150829 ELEAZAR GIL RIVERA                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644228 ELEAZAR SANCHEZ DE JESUS                    HC 1 BOX 5124                                                                                                    SANTA ISABEL        PR           00757
   150830 ELEAZAR VAZQUEZ ASENCIO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   150831 ELEC ENGINEERING SERVICES INC AVE UNIV INTERAMERICANA                  EDIF 174 SUITE 203                                                                    SAN GERMAN          PR           00683
          ELECT & POWER GENERATOR
   644229 Y/O JORGE CARABA              BDA ESPERANZA                            43 CALLE 2                                                                            GUANICA             PR           00653
   150832 ELECTRA                       #4 VIEQUES STREET                                                                                                              SAN JUAN            PR           00917
   644230 ELECTRA CORP                  4 VIEQUES STREET                                                                                                               SAN JUAN            PR           00917

          ELECTRIC & COMMUNICATION
   150833 SPECIALTIES                                 PO BOX 760                                                                                                       CAROLINA            PR           00986‐0760
   644231 ELECTRIC CENTER                             P O BOX 11157                                                                                                    SAN JUAN            PR           00919
          ELECTRIC MAINTENANCE AND
   644232 POWER SOLUTION                              PO BOX 428                                                                                                       BAYAMON             PR           00960‐0428
   644233 ELECTRIC MOTION CO                          PO BOX 626                                                                                                       WINSTED             CT           06098
          ELECTRIC MOTORS &
   644234 COMPRESSORS                                 PO BOX 2121                                                                                                      CAROLINA            PR           00987
  1256444 ELECTRIC SERV CORP                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   831336 Electric Service Corp.                      PO Box 19121                                                                                                     San Juan            PR           00919

   644236 ELECTRIC SERVICE OF PR & ASS                P O BOX 1447                                                                                                     GUAYAMA             PR           00785
   150843 ELECTRIC SERVICE, CORP                      P.O. BOX 191921                                                                                                  SAN JUAN            PR           00919‐1921

   644237 ELECTRICAL & COMUNICATIONS                  CONTRACTOR INC             PO BOX 97                                                                             LAS PIEDRAS         PR           00771
          ELECTRICAL & INST
   644238 CONTRACTORS INC                             BAYAMON GARDENS            G 28 AVE CASTIGLIONI                                                                  BAYAMON             PR           00957
          ELECTRICAL & INST
   150844 CONTRACTORS INC/                            P O BOX 2134                                                                                                     SAN JUAN            PR           00922‐2134
          ELECTRICAL &
          INSTRUMENTATION                             AVE. CASTIGLIONI G28
   150845 CONTRACTORS                                 BAYAMON GARDENS                                                                                                  BAYAMON             PR           00957‐0000
          ELECTRICAL & MECHANICAL
   644239 CONST CO IND                                COND CENTRO DE ALTAMIRA    202 CALLE PERSEO 501                                                                  SAN JUAN            PR           00920‐4213



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          ELECTRICAL & POWER
   644240 GENERALTOR SEV                               SACRADO CORAZON                  43 CALLE SAN MARTIN                                                      GUANICA               PR           00653

   150846 ELECTRICAL & TESTING SERVICES CALLE H2 346                                    HILL BROTHER                                                             RIO PIEDRAS           PR           00924
          ELECTRICAL ELECTRONIC SUPPLY
   644241 INC                           PO BOX 9024275                                                                                                           SAN JUAN              PR           00902‐4275
          ELECTRICAL ENGINEERING
   150848 SERVICE                       PO BOX 270210                                                                                                            SAN JUAN              PR           00928

   150849 ELECTRICAL INSTALATION SERV                  PMB 340 HC 01 BOX 29030                                                                                   CAGUAS                PR           00725‐8900
          ELECTRICAL INSTALLATION &
   150852 SERVICE CORP                                 PMB 340 HC 01 BOX 29030                                                                                   CAGUAS                PR           00725‐8900
          ELECTRICAL INSTALLATION &
   150854 SERVICES CORP.                               PMB 340 HC‐01 BOX 29030                                                                                   CAGUAS                PR           00725‐8900
          Electrical Instrumentation
   150855 Contractors                                  URB BAYAMON GARDEN               G 28 CALLE CASTIGLIONI                                                   BAYAMON               PR           00957‐2429
          ELECTRICAL MAINTENANCE
   644242 SERVICE                                      PO BOX 1075                                                                                               RIO GRANDE            PR           00745
   644244 ELECTRICAL PEREZ SERVICE                     P O BOX 11651                                                                                             SAN JUAN              PR           00922‐1651
   150857 ELECTRICAL PEREZ SERVICES                    PO BOX 11651                                                                                              SAN JUAN              PR           00922
   644245 ELECTRICAL POWER PLANT                       PO BOX 50015                                                                                              TOA BAJA              PR           00950
          ELECTRICAL PROFESSIONAL
   644246 SERVICES                                     PO BOX 14363                                                                                              CAROLINA              PR           00987
          ELECTRICAL
   150858 PROFESSIONALSERVICES , INC.                  HC ‐ O2 BOX 14363                                                                                         CAROLINA              PR           00987‐0000
   644247 ELECTRICAL REFRIGERATION                     763 AVE BARBOSA                                                                                           SAN JUAN              PR           00915
   644248 ELECTRO AUTO                                 PO BOX 1176                                                                                               GURABO                PR           00778
                                                       PO BOX 11248 FERNANDEZ
   150859 ELECTRO GATE CARIBBEAN                       JUNCOS STATION                                                                                            SAN JUAN              PR           00910

   644249 ELECTRO GATE CARIBBEAN INC                   FERNANDEZ JUNCOS STATION         P O BOX 11248                                                            SAN JUAN              PR           00910‐1248
                                                       PO BOX 11248 FERNANDEZ
   150860 ELECTRO GATE CARIBBEAN INC.                  JUNCOS STATION                                                                                            SAN JUAN              PR           00910‐2348

   831758 Electro Gate Caribbeans, Inc.                PO BOX 11248 Fedz. Juncos Sta.                                                                            San Juan              PR           00910‐2348
   644250 ELECTRO GULF                                 PO BOX 2149                                                                                               BAYAMON               PR           00960

   644251 ELECTRO GULF SERVICE STATION S203 ZMS PLAZA RIO HONDO                                                                                                  BAYAMON               PR           00961
   644252 ELECTRO LIGHTING INC         PO BOX 2834                                                                                                               GUAYNABO              PR           00970
   150841 ELECTRO PLUMBING             PO BOX 455                                                                                                                BARCELONETA           PR           00617
   644253 ELECTRO REYES DE LEON        EL ALAMO                                         B 9 VERACRUZ                                                             GUAYNABO              PR           00969
   644254 ELECTRO SINGS                PO BOX 944                                                                                                                SABANA SECA           PR           00952

   644255 ELECTROCABLES PR INC                         1856 AVE FERNANDEZ JUNCOS                                                                                 SAN JUAN              PR           00909
   644256 ELECTROLUX                                   BERWIN SHOPPING CENTER           65 INFANTERIA HIGH WAY                                                   SAN JUAN              PR           00926
                                                       2300 WINDY RIDGE PARKWAY
   644257 ELECTROLUX CORPORATION                       SUITE 900                                                                                                 MARIETTA              GA           30067

   150862 ELECTROLUX PUERTO RICO CORP PO BOX 363287                                                                                                              SAN JUAN              PR           00936
   644258 ELECTROMATIC DE P.R.        PO BOX 9476                                                                                                                SAN JUAN              PR           00908
   831337 Electromatic de PR          PO Box 9476                                                                                                                San Juan              PR           00908
   644259 ELECTROMATIC DE PR INC      PO BOX 9476                                                                                                                SAN JUAN              PR           00908‐9476
   644260 ELECTROMEC CORP             PO BOX 849                                                                 SAINT JUST                                      SAINT JUST            PR           00978



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   644261 ELECTROMECANICA GUTIERREZ                   1110 AVE JESUS T PINERO                                                                                                  SAN JUAN            PR           00921
   644262 ELECTROMECANICA KIKO                        BOX 671                                                                                                                  COMERIO             PR           00782

  1256445 ELECTROMECANICA LONY CORP.                  REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150863 ELECTROMECANICA LONY INC                    P O BOX 8970                                                                                                             HUMACAO             PR           00792‐8970
          ELECTROMECANICA MIGUEL
   644263 CARLOT                                      IDAMARIS GARDEN               C 77 CALLE SALUSTIANA COLON `                                                              CAGUAS              PR           00726
   644264 ELECTROMECANICA RICKY                       10 AVE ROBERTO DIAZ                                                                                                      CAYEY               PR           00736
   150864 ELECTROMECANICA TONY                        PO BOX 8970                                                                                                              HUMACAO             PR           00792‐8970

   150865 ELECTROMECANICA TONY , INC. AVE. CRUZ ORTIZ STELLA # 175                                                                                                             HUMACAO             PR           00791‐0000
          ELECTROMECHANICAL & SERVICE
   150867 INC                         PO BOX 2065                                                                                                                              CAGUAS              PR           00726
          ELECTROMECHANICAL SALES
   150868 SERVICES                    PO BOX 2065                                                                                                                              CAGUAS              PR           00726
          ELECTROMECHANICAL
   644267 SPECIALTIES                 PO BOX 2016                                                                                                                              SAN JUAN            PR           00919
   644268 ELECTRON AUTO               PO BOX 4835                                                                                                                              CAROLINA            PR           00985

   644269 ELECTRON ELECTRONIC MOTOR P O BOX 3001 STE 347                                                                                                                       RIO GRANDE          PR           00745
   644270 ELECTRON SIGNS            PO BOX 944                                                                                                                                 SABANA SECA         PR           00952

   150869 ELECTRONIC & STEAM SYSTEMS                  PO BOX 10000 STE 77                                                                                                      CAYEY               PR           00737

   644271 ELECTRONIC CENTER                           OFICINA DE LA GOBERNADORA     PO BOX 9020082                                                                             SAN JUAN            PR           00902
   150870 ELECTRONIC CITY                             URB ONEIL                     11 MARGINAL SUITE 5                                                                        MANATI              PR           00674

   644273 ELECTRONIC CONTRACTOR INC                   SIERRA BAYAMON                26 A 7 CALLE 27                                                                            BAYAMON             PR           00961
   150871 ELECTRONIC COOP                             9 CALLE TOMAS DAVILA                                                                                                     BARCELONETA         PR           00617
          ELECTRONIC DATA SYSTEMS
   150873 CORP                                        54 LEGACY DR                  MS H 1 4 D 57                                                                              PLANO               TX           75024

   644274 ELECTRONIC DOOR OPERATIORS HNAS DAVILA                                    1 CALLE 1D AVE BETANCES                                                                    BAYAMON             PR           00959
          ELECTRONIC FUNDS TRANFER
   644275 ASSOCIATION                HERNDON PARWAY                                 950 SUITE 390                                                                              HERNDON             VA           20170

   150874 ELECTRONIC LAB SYSTEMS INC                  1129 AVE MUNOZ RIVERA                                                                                                    SAN JUAN            PR           00925
          ELECTRONIC MANUFACTURING
   644276 SERVICE                                     3020 PARQUE IND GUANAJIBO                                                                                                MAYAGUEZ            PR           00680
   644277 ELECTRONIC NETWORK                          P O BOX 1098                                                                                                             OROCOVIS            PR           00720

   644278 ELECTRONIC OFFICE PRODUCTS                  401 AVE ANDALUCIA                                                                                                        SAN JUAN            PR           00920
   150875 ELECTRONIC OUTLET                           PO BOX 1787                                                                                                              ARECIBO             PR           00613
   644279 ELECTRONIC REPAIR SERVICE                   756 AVE SAN PATRICIO                                                                                                     SAN JUAN            PR           00921
          ELECTRONIC SYSTEM Y/O IVAN
   644280 MONGE                                       COLINAS DE FAIR VIEW          4L‐27 CALLE 209                                                                            TRUJILLO ALTO       PR           00976
          ELECTRONIC TYPEWRITER
   644281 SERVICE                                     PO BOX 20427                                                                                                             SAN JUAN            PR           00928‐0427
   644282 ELECTRONICA DE DIEGO                        1141 AVE ROOSEVELT                                                                                                       SAN JUAN            PR           00920

   150876 ELECTRONICA FERNANDEZ                       CALLE ELEONOR ROOSEVELT 208                                                                                              HATO REY            PR           00918




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   644283 ELECTRONICA FERNANDEZ ‐                     URB EL VEDADO                 208 CALLE ELEONOR ROOSEVELT                                                              SAN JUAN             PR           00918
          ELECTRONICA SOBERAL /
   644284 MIGUEL SOBERAL                              PO BOX 698                                                                                                             CAMUY                PR           00627
   150877 ELECTRONICS CENTER                          PO BOX 1157 STOP 20                                                                                                    SANTURCE             PR           00910
   644285 ELECTRONICS PARTS INC                       BO DULCES LABIOS              9 CALLE SAN JUAN S                                                                       MAYAGUEZ             PR           00680
          ELECTROPHYSIOLOGY ASSOC OF                  650 LLOVERAS STE 208 CENTRO
   150878 PR PSC                                      PLAZA                                                                                                                  SAN JUAN             PR           00910‐2850
          ELECTROSERVICIOS
   644287 ESPECIALIZADOS                              URB CAPARRA HEIGHTS           354 AVE ESCORIAL                                                                         SAN JUAN             PR           00920
          ELECTROSERVICIOS
   150879 ESPECIALIZADOS INC                          URB CAPARRA HTS               354 AVE ESCORIAL                                                                         SAN JUAN             PR           00920‐3507
   150880 ELEDIEL TORRES OTERO                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150881 ELEDY RAMOS GONZALEZ                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   644289 ELEGANCIA YASMARY                           PO BOX 512                                                                                                             SALINAS              PR           00751

   644290 ELEGNA RODRIGUEZ SANABRIA                   URB DORADO DEL MAR            P8 CALLE ESTRELLA DEL MAR                                                                DORADO               PR           00646
   644291 ELEIDA E OTERO NARVAEZ                      PO BOX 1791                                                                                                            VEGA BAJA            PR           00694
   644292 ELEIDA GALLOZA ACEVEDO                      HC 59 BOX 6805                                                                                                         AGUADA               PR           00602
   150882 ELEIDA ORTIZ APONTE                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   644294 ELEIDES ROMAN ROJAS                         39 BARRIO CATALANA                                                                                                     BARCELONETA          PR           00617
   644295 ELEIZER RIVERA OROPEZA                      BO GALATEO PARC 79            CARR 165 K 7 2                                                                           TOA ALTA             PR           00953
   644296 ELEKTRO STEEL CORP                          PO BOX 3382                   RD 1 KM 20 6                                                                             GUAYNABO             PR           00970‐3382
   150884 ELEMANIEL LUNA PADILLA                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   150885 ELEMANIEL PAGAN ARROYO                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   644298 ELEMANIEL RODRIGUEZ ESPARRA HC 72 BOX 5868                                                                                                                         CAYEY                PR           00736‐9501
   644297 ELEMANIEL TORRES COLON      URB VISTA BELLA                               Q 26 CALLE LAREDO                                                                        BAYAMON              PR           00956
   150886 ELEMENT K JOURNALS          PO BOX 92870                                                                                                                           ROCHESTER            NY           14692‐9976
          ELEMENTAL ADOLFO GRANA
   150887 RIVERA                      REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   644299 ELEMENTAL NUEVA             PO BOX 10                                                                                                                              HORMIGUEROS          PR           00660
   644300 ELEMENTOS DE BELLEZA        C 11 CAMINO ALEJANDRINO                                                                                                                GUAYNABO             PR           00969
   150888 ELEMUEL TORRES ROSARIO      REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   150889 ELENA A . RUCABADO ARROYO                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   644303 ELENA ACEVEDO RIVERA                        HC 1 BOX 3332                                                                                                          ADJUNTAS             PR           00601
   644304 ELENA ADORNO ALBALADEJO                     HC 2 BOX 43388                                                                                                         VEGA BAJA            PR           00693
   150890 ELENA ALCANTARA MARTINEZ                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          ELENA ANGELICA RUCABADO
   644305 ARROYO                                      P O BOX 8083                                                                                                           BAYAMON              PR           00960‐8030
   644306 ELENA AROCHO FELIX                          VILLA FONTANA                 4V S20 VIA 37                                                                            CAROLINA             PR           00983
   644307 ELENA B NIEVES RIVERA                       BRISAS DEL MAR                351 CALLE CORAL                                                                          PONCE                PR           00716
   644308 ELENA BAEZ NERIS                            HC 30 BOX 32005                                                                                                        SAN LORENZO          PR           00754
                                                      BATISTA VALENTIN OFIC         MONTERREY 1272 CALLE LOS
   644309 ELENA BATISTA VALENTIN                      PLANIFICACION                 ANDES                                                                                    SAN JUAN             PR           00926
   644311 ELENA BETANCORT RUIZ                        P O BOX 2265                                                                                                           RIO GRANDE           PR           00745
   644312 ELENA BORIA CLEMENTE                        HC 1 BOX 7417                                                                                                          LOIZA                PR           00772
   644313 ELENA BORRERO LOPEZ                         HC 04 BOX 15343                                                                                                        MOCA                 PR           00676 9728

   644314 ELENA C VEGA ROLON                          8510 WOODHAVEN BOULEVARD                                                                                               WOODHAVEN            NY           11421
   644315 ELENA CARABALLO ZAYAS                       OJO DE AGUA              93 A CALLE BEGONIA                                                                            VEGA BAJA            PR           00693




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   150891 ELENA CARMENATY GONZALEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   150893 ELENA CARMENTTY GONZALEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150894 ELENA CARMONA ALEJANDRO                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   150896 ELENA CARRASQUILLO ARROYO                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   150897 ELENA CARRASQUILLO MERCED                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644316 ELENA CASTILLO QUINONEZ                     URB SAN AGUSTIN            1166 ROBERTO RIVERA                                                               SAN JUAN            PR           00923
          ELENA CHIRINO SOCIAS MD,
   150898 MARIA                                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150899 ELENA CORCHADO PERALTA                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644319 ELENA CORTES SUAREZ                         SICOSOCIAL TRUJILLO ALTO                                                                                     Hato Rey            PR           009360000
   150901 ELENA CRUZ ORTIZ                            REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644322 ELENA DE JESUS GOMEZ                        PO BOX 1714                                                                                                  YABUCOA             PR           00767‐1714
   644323 ELENA DIAZ GARCIA                           PO BOX 1514                                                                                                  CAGUAS              PR           00726‐1514
   644324 ELENA DIAZ GOMEZ                            HC 02 BOX 18405                                                                                              RIO GRANDE          PR           00745
          ELENA DOMENECH/CASA ELENA
   644325 INC                                         PO BOX 686                                                                                                   TOA ALTA            PR           00954
   644326 ELENA E ROJER MENDOZA                       113 VALLE DE TORRIMAR                                                                                        GUAYNABO            PR           00966‐8700
   150902 ELENA ESCOBAR RODRIGUEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   644327 ELENA F DE JESUS FERNANDEZ                  TURABO GARDENS             Z 1 CALLE 19                                                                      CAGUAS              PR           00725
   150903 ELENA FONANEZ PEREZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644328 ELENA FONSECA FELIX                         TOA ALTA HEIGHTS           AK 8 CALLE 24                                                                     TOA ALTA            PR           00953
   150904 ELENA GARCIA MONTES                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELENA GONZALEZ FLORES/ HG
   150905 ENERGY                                      SOLUTIONS CORP             HC 30 BOX 32717                                                                   SAN LORENZO         PR           00754

          ELENA GONZALEZ
   644329 HERNANDEZ/ARTURO E APONTE ALTO APOLO COTO 269                                                                                                            GUAYNABO            PR           00969

   150906 ELENA HERNANDEZ DE RAMOS                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150907 ELENA HERNANDEZ RAMOS                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   150908 ELENA HERNANDEZ RODRIGUEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   644333 ELENA HERNANDEZ VELAZQUEZ                   HC 1 BOX 5352                                                                                                LOIZA               PR           00772
   150909 ELENA I BELTRAN DELGADO                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644335 ELENA JIMENEZ MARTINEZ                      URB RIO PIEDRAS HGTS       1699 CALLE PARANA                                                                 SAN JUAN            PR           00926
   150910 ELENA KIREEVA                               REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644336 ELENA LAMBOY MARTES                         PMB 1023                   PO BOX 4967                                                                       CAGUAS              PR           00726
   644337 ELENA LOPEZ DEL VALLE                       URB PUERTO NUEVO           612 CALLE ARTICO                                                                  SAN JUAN            PR           00920
   644339 ELENA LOPEZ ORTIZ                           E 1 URB COLINAS DEL ESTE                                                                                     HUMACAO             PR           00791
   150911 ELENA LORENZO VALENTIN                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644340 ELENA LUNA COLON                            VILLA CAROLINA             42 10 CALLE 34                                                                    CAROLINA            PR           00985
   644301 ELENA M DE JESUS PAGAN                      URB CAMINO DEL MAR         8058 PLAZA GAVIOTA                                                                TOA BAJA            PR           00949
   150912 ELENA M IGUINA GONZALEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644341 ELENA M NEGRON ARROYO                       VILLA ROCA BARAHONA        K 4 CALLE 23                                                                      MOROVIS             PR           00687
   150913 ELENA M OJEDA TREVINO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150914 ELENA M. ANGUEIRA‐BOSCH                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150915 ELENA M. IGUINA GONZALEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  150916 ELENA M. MARINA MALPICA                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  150917 ELENA MALDONADO RIVERA                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         ELENA MANAGEMENT
  644343 INFORMATION SISTEM                           P O BOX 11181                                                                                                        SAN JUAN            PR         00922
  150919 ELENA MARTE                                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  150920 ELENA MARTINEZ RODRIGUEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  150921 ELENA MARTINEZ TORRES                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  644345 ELENA MEDINA MERCADO                         BO CANTITO                   34 CALLE 1                                                                              MANATI              PR         00674
  644346 ELENA MELENDEZ MARZAN                        BUZON 5866 RR 2                                                                                                      TOA ALTA            PR         00953
  644347 ELENA MENDEZ PLAZA                           URB NUEVO MAMEYES            G 23 CALLE 5                                                                            PONCE               PR         00731
  150922 ELENA MENDOZA DE GOMEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  150923 ELENA MENDOZA GONZALEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  644348 ELENA MIRANDA MORALES                        EL MIRADOR                   EDIF 19 APT A3                                                                          SAN JUAN            PR         00915
  644349 ELENA MOCOROA DE ROMAN                       PO BOX 9576                                                                                                          ARECIBO             PR         00613
  150924 ELENA MOJICA MARTINEZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  150925 ELENA MORALES JIMENEZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  644350 ELENA MORRELL DIAZ                           URB LAS VEGAS                E 15 CALLE 4                                                                            CEIBA               PR         00735
  150926 Elena Mulero                                 REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  644351 ELENA MURPHY CORREA                          FAIR VIEW                    1867 DIEGO SALCEDO                                                                      SAN JUAN            PR         00926
  644352 ELENA N MARINA MALPICA                       COND TERRA AZUL              BOX 18                                                                                  ARECIBO             PR         00612
  644355 ELENA ORTIZ                                  PUERTO NUEVO                 300 CALLE 11                                                                            SAN JUAN            PR         00908
  644356 ELENA ORTIZ RIVERA                           REPT VALENCIA                J 8 A CALLE TULIPAN                                                                     BAYAMON             PR         00959
  644357 ELENA ORTIZ RODRIGUEZ                        HC 33 BOX 5989                                                                                                       DORADO              PR         00646
  644358 ELENA OSORIO PADILLA                         ALTURAS VILLA DEL REY        F 57 CALLE CHIPRE                                                                       CAGUAS              PR         00725 6743
  150927 ELENA OTERO                                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  150928 ELENA PADILLA ACOSTA                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  150929 ELENA PEREYO CORDOVA                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  150930 ELENA PINERO AROCHO                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         ELENA PIZARRO QUINONES /
  150931 SHAWIN N MEDERO                              REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  644362 ELENA RAMOS CINTRON                          URB MU¥OZ RIVERA            1043 CALLE M                                                                             GUAYNABO            PR         00969
                                                      2317 CALLE UNIVERSIDAD APTO
   644363 ELENA RAMOS RODRIGUEZ                       10                                                                                                                   PONCE               PR         00717
   644364 ELENA REYES                                 HC 1 BOX 5848                                                                                                        JUNCOS              PR         00777
   644366 ELENA RIVERA AVILES                         BO PALO ALTO                BOX 79 SUITE 2                                                                           MANATI              PR         00674

   644367 ELENA RIVERA MELENDEZ                       BO ALTAGRACIA                BOX 203 C/ LEONARDO MEJIAS                                                              MANATI              PR         00674
   150933 ELENA RIVERA MORALES                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644368 ELENA RIVERA NEGRON                         C/O ALEJO CRUZADO            1039 CONTRY CLUB                                                                        SAN JUAN            PR         00924
   150934 ELENA RIVERA QUINONEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644370 ELENA RIVERA TORRES                         PO BOX 292                                                                                                           CEIBA               PR         00735
   644371 ELENA RIVERA VILLAMIL                       URB MIRAMAR                  663 CALLE UNION                                                                         SAN JUAN            PR         00907
   644302 ELENA RODRIGUEZ DIAZ                        P O BOX 333                                                                                                          TRUJILLO ALTO       PR         00977
   150936 ELENA RODRIGUEZ LOPEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1419624 ELENA RODRÍGUEZ, OVERT                      ARTURO RÍOS ESCRIBANO        PO BOX 3007                                                                             GUAYNABO            PR         00970‐3007
   644372 ELENA ROLDAN TORRES                         HC 09 BOX 59767                                                                                                      CAGUAS              PR         00725
   644373 ELENA ROMA VELEZ                            PO BOX 1                                                                                                             QUEBRADILLAS        PR         00678
   644374 ELENA ROSADO CARMONA                        HC 02 BOX 4586                                                                                                       LAS PIEDRAS         PR         00771
   150938 ELENA ROSADO GONZALEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150939 ELENA SANCHEZ PEREIRA                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150940 ELENA SANTANA CLAUDIO                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644375 ELENA SANTIAGO CARRASCO                     HC 5 BOX 56755                                                                                                       CAGUAS              PR         00725‐9228
   644376 ELENA SANTIAGO MARTINEZ                     RES YUQUIYU                  EDIF 6 APTO 86                                                                          LOIZA               PR         00772



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  644377 ELENA SANTIAGO MILLAN                        P O BOX 9060                                                                                                   BAYAMON             PR         00960
  150941 ELENA SANTIAGO VAZQUEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  150943 ELENA SANTOS CORTES                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  644380 ELENA SEVILLA ROMAN                          EMBALSE SAN JOSE            384 CALLE BURGOS                                                                   SAN JUAN            PR         00923

   644381 ELENA SHERRINGTON ARACENA PO BOX 372648                                                                                                                    CAYEY               PR         00737
   644383 ELENA TEJADA BATISTA      P O BOX 31139                                                                                                                    SAN JUAN            PR         00929‐2139

   644384 ELENA TELLADO MARTINEZ                      URB JDNES DE COUNTRY CLUB   CL 28 CALLE 149                                                                    CAROLINA            PR         00983
   644385 ELENA TORRES                                HC 02 BOX 6042                                                                                                 ADJUNTAS            PR         00601
   644386 ELENA TORRES COLON                          PARQUE LAS HACIENDA         E 28 CALLE ALBOCOA                                                                 CAGUAS              PR         00725
   644388 ELENA TORRES HERNANDEZ                      BO BAYAMON                  BOX 6188                                                                           CIDRA               PR         00739
   150945 ELENA TORRES MUNOZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150946 ELENA TRUJILLO GIL                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ELENA V PORTUONDO
   150947 MOSKALENKO                                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644390 ELENA VALE BABILONIA                        PO BOX 1612                                                                                                    MOCA                PR         00676
   644391 ELENA VALENTIN BAEZ                         ADM SERV GENERALES          P O BOX 7428                                                                       SAN JUAN            PR         00916‐7428
   644393 ELENA VELAZQUEZ ORTIZ                       PMB 121                     RR 7 BOX 7370                                                                      SAN JUAN            PR         00926‐9100
   150948 ELENA VIERA RIVERA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150949 ELENA VILLALOBOS SANTOS                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150950 ELENE MC DONALD CHARLES                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644395 ELENICA LASTRA OBEN                         ADM SERV GEN                PO BOX 7428                                                                        SAN JUAN            PR         00916‐7428
   150954 ELENITA PEREZ VEGA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644398 ELENO VILLANUEVA ACEVEDO                    P O BOX 582                                                                                                    AGUADA              PR         00602

   150955 ELEODORO DE JESUS SERRANO                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644399 ELEODORO VALENTIN                           URB SANTA CLARA             W 4 CALLE ANAMU                                                                    GUAYNABO            PR         00969
   644400 ELEONEL FALCON SANCHEZ                      HC 67 BOX 15616                                                                                                BAYAMON             PR         00956

   644401 ELEONILDA RODRIGUEZ ROMAN                   HC 02 BOX 7472                                                                                                 QUEBRADILLAS        PR         00678
   644402 ELEONOR BAEZ MARTINEZ                       501 AVE ROBERTO H TODD                                                                                         SAN JUAN            PR         00908
   150956 ELEONOR RODRIGUEZ AVILES                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644403 ELEONOR SANTIAGO VEGA                       100 PARCELAS RAYO GUARES                                                                                       SABANA GRANDE       PR         00637

   150957 ELEONOR TORRUELLAS LOPEZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   150958 ELEONOR VARGAS FIGUEROA                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644404 ELEONOR ZAVALETA TEXIDOR                    COND ANTIGUA VIA            EDIF 5 APT E 5                                                                     SAN JUAN            PR         00926
   150959 ELEPHANTSTRAT LLC                           603 CALLE ABOY APT 301                                                                                         SAN JUAN            PR         00907
   150961 ELERDENAI MD, MAHRUN                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644405 ELERIE RIVERA RIVERA                        HC 764 BOX 6287             SUITE 202                                                                          PATILLAS            PR         00723
   644406 ELE'S AUTO PARTS                            HC 01 BOX 4402                                                                                                 GURABO              PR         00778
   150963 ELEUTERIA CABRERA LUGO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644409 ELEUTERIA ORTEGA RUIZ                       URB SABANA DEL PALMAR       333 CALLE CAOBA                                                                    COMERIO             PR         00782
   644410 ELEUTERIA PROSPERE PEREZ                    PO BOX 2369                                                                                                    GUAYAMA             PR         00785
          ELEUTERIA SANTANA
   150964 CANTALICIO                                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644411 ELEUTERIO AVILES ORONA                      PO BOX 1641                                                                                                    ARECIBO             PR         00613

   150965 ELEUTERIO BENITEZ MONTANEZ REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644412 ELEUTERIO BRUNO ORTIZ      PO BOX 21365                                                                                                                    SAN JUAN            PR         00926‐1365
          ELEUTERIO CARRASQUILLO
   644413 LEBRON                     PO BOX 65                                                                                                                       YABUCOA             PR         00767



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          ELEUTERIO CONCEPCION D/B/A
   150967 EDIMAROFFISU                                149 CALLE JOSE CELSO BARBOSA                                                                                     LAS PIEDRAS         PR           00771

   644414 ELEUTERIO CORDERO CRESPO                    RES KENNEDY                    EDIF 26 APT 226                                                                   MAYAGUEZ            PR           00680
   644415 ELEUTERIO CORREA RIVERA                     HC 1 BOX 3965                                                                                                    LOIZA               PR           00772
   644416 ELEUTERIO DIAZ GOMEZ                        HC 02 BOX 5130                                                                                                   GUAYAMA             PR           00784
   150968 ELEUTERIO FIGUEROA NIEVES                   REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELEUTERIO GONZALEZ
   644417 HERNANDEZ                                   RR 4 BOX 9583                                                                                                    SAN JUAN            PR           00926
   644418 ELEUTERIO LEBRON ORTIZ                      PO BOX 2414                                                                                                      GUAYAMA             PR           00785
   644419 ELEUTERIO LEBRON TIRADO                     BO LA MESA                     CARR 795                                                                          CAGUAS              PR           00725
   644420 ELEUTERIO LOPERENA                          BOX 247                                                                                                          AGUADILLA           PR           00605

   150969 ELEUTERIO LOZADA MONTANEZ REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELEUTERIO MARTINEZ
   644421 RODRIGUEZ                 35 CALLE ASHFORD                                                                                                                   UTUADO              PR           00641

   644423 ELEUTERIO PASTRANA DE LEON                  RR 66 BOX 10955                                                                                                  SAN JUAN            PR           00926
   150971 ELEUTERIO QUIðONEZ ORTIZ                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644425 ELEUTERIO RIVERA RIVERA                     URB MIRAFLORES                 28‐13 CALLE 35                                                                    BAYAMON             PR           00957

   150976 ELEUTERIO RODRIGUEZ LOZADA REDACTED                    REDACTED                                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELEUTERIO RODRIGUEZ
   644426 MORALES                    RODRIGUEZ CATERING SERVICES BO MINERAL                                 71 TAMARINDO                                               MAYAGUEZ            PR           00680

   644427 ELEUTERIO SANCHEZ FIGUEROA                  LITHEDA APARTMENTS             BOX 2011 CARR 845                                                                 SAN JUAN            PR           00926
   644428 ELEUTERIO SANTIAGO RIVERA                   P O BOX 1692                                                                                                     COAMO               PR           00769
   644429 ELEUTERIO SERRANO FLORES                    HC 20 BOX 26291                                                                                                  SAN LORENZO         PR           00754

   150978 ELEUTERIO THILLET RODRIGUEZ                 REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      COND PLAZA INMACULADA
   644430 ELEUTERIO VEGA                              TORRE 1                        AVE PONCE DE LEON                                                                 SAN JUAN            PR           00907
   644431 ELEUTRIA SANTOS RAMOS                       1004 EAGENS CREEK COURT                                                                                          OVIEDO              FL           32765‐0000
   150991 ELEVATEC                                    URB ROOSEVELT                  385 CESAR GONZALEZ                                                                SAN JUAN            PR           00919
          ELEVATOR ACCESS PRODUCTS
   644432 INC                                         PO BOX 3228                                                                                                      GUAYNABO            PR           00970
   644433 ELEVATOR SERVICE                            P O BOX 195281                                                                                                   SAN JUAN            PR           00919 5281
  1256446 ELEVATOR SERVICE INC                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   644435 ELEVATOR SPECIALTY GROUP INC PO BOX 19382                                                                                                                    SAN JUAN            PR           00910‐1382
   831338 Elevator Specialty Group Inc. P.O. Box 19382                                                                                                                 San Juan            PR           00910
   644436 ELEVATOR WORLD INC            CIRCULATION DEPT                             P O BOX 6507                                                                      MOBILE              AL           36660 0507
          ELEVEN AUTO PARTS/ RENE
   644437 ANQUEIRA CASTRO               URB FLORAL PARK                              151 CALLE GUAYAMA                                                                 SAN JUAN            PR           00917
   644438 ELEVEN ELEVEN CORP            PO BOX 305                                                                                                                     CATANO              PR           00963
   644439 ELEXIE MELENDEZ ORTIZ         HC 1 BOX 5836                                                                                                                  JUNCOS              PR           00777
   644441 ELEYDIE ROSADO RUIZ           BO SAN ISIDRO                                P 437 CALLE 19                                                                    CANOVANAS           PR           00729
   150993 ELFI CARABALLO SANTANA        REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644442 ELFREIDA NAZARIO SOTO         URB LOS ARBOLES                              807 VEREDA DEL PRADO                                                              CAROLINA            PR           00987
   644443 ELFREN A COLON RODRIGUEZ      COND LAS CUMBRES                             APT 103                                                                           SAN JUAN            PR           00926
   150994 ELFREN F RIOS                 REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   150995 ELFREN RIVERA LAFONT          REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644445 ELFY CARRION SANCHEZ          TOA ALTA HEIGHTS                             H 30 CALLE 7                                                                      TOA ALTA            PR           00953



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  150996 ELG CONSULTING LLC                           PO BOX 8278                                                                                             SAN JUAN            PR           00910

   150997 ELGA A BORRERO MONTALVO                     REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   150998 ELGA ALEIDIS NOVOA GONZALEZ REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644446 ELGA CASTRO RAMOS           P O BOX 36‐ 1885                                                                                                        SAN JUAN            PR           00936
   644447 ELGA E VELEZ RODRIGUEZ      HC 02 BOX 10559                                                                                                         YAUCO               PR           00698
   150999 ELGA ILEANA PEREZ RIOS      REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151000 ELGA IRIZARRY ROSA          REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151001 ELGA L MELENDEZ MERCADO     REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644449 ELGA L PADRO AGOSTO         VILLA LOS SANTOS                     EE 19 CALLE 21                                                                     ARECIBO             PR           00612
   151003 ELGA M MARTINEZ CAMACHO     REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   151004 ELGA M. MARTINEZ CAMACHO                    REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151005 ELGA MARTINEZ MONTALVO                      REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151007 ELGA N FELICIANO LOPEZ                      REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151008 ELGA N VILARO LOPEZ                         REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151009 ELGA ROSARIO VARGAS                         REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644450 ELGA ROSS VALEDON                           HC 2 BOX 8334                                                                                           QUEBRADILLAS        PR           00678
   151010 ELGA SANTOS ORTEGA                          REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644451 ELGA SANTOS ROSARIO                         BO HIGUILLAR         PARC 21 A                                                                          DORADO              PR           00646
   151011 ELGEKEE DIAZ HAMILTON                       REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   151012 ELGUI E MELENDEZ GUTIERREZ REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644453 ELI A SALA SOSA               P O BOX 737                                                                                                           CAGUAS              PR           00725
          ELI BARRETO MARTINEZ /
   151017 JESSICA MARTINEZ              REDACTED                           REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644455 ELI BERRETO CORTES            URB VALLE ARRIBA HEIGHTS           BD 11 CALLE NARANJO                                                                CAROLINA            PR           00983
   644456 ELI CAY ROJAS                 RIO CAONILLAS                      E 15 RIO HONDO                                                                     BAYAMON             PR           00961
   151018 ELI CRUZ IRIZARRY             REDACTED                           REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151020 ELI E NIEVES CASANOVA         REDACTED                           REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          ELI E NIEVES Y DENNIS MARGUEZ
   644458 LEBRON                        P O BOX 193445                                                                                                        SAN JUAN            PR           00919‐3445
   151021 ELI EIDA ORTIZ FELICIANO      REDACTED                           REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644459 ELI FERRER RODRIGUEZ          PO BOX 2723                                                                                                           GUAYNABO            PR           00970‐2723
   644452 ELI GALARZA RIVERA            PO BOX 9191                                                                                                           HUMACAO             PR           00792
   151023 ELI J RODRIGUEZ PASTRANA      REDACTED                           REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151024 ELI J TILEN BERNABE           REDACTED                           REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151025 ELI JOURNALS                  DEPT. 1380                                                                                                            DENVER              CO           80291‐1380
   151026 ELI LARRAZABAL REYES          REDACTED                           REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151027 ELI LENNIN BARRETO CORTEZ     REDACTED                           REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151028 ELI LILLY EXPORT S A          25419 Network Place                                                                                                   Chicago             IL           60673‐1254
   151029 ELI M QUINONES PEREZ          REDACTED                           REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644462 ELI MARTINEZ RIOS             PO BOX 193998                                                                                                         SAN JUAN            PR           00919
   151030 ELI MATOS ALICEA              REDACTED                           REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644464 ELI MENDEZ VILLEGAS           176 CALLE DIEZ DE ANDINO                                                                                              SAN JUAN            PR           00911
   644465 ELI O MURIEL HERNANDEZ        12 URB VILLA CARIBE                                                                                                   GUAYAMA             PR           00784
   644466 ELI PAGAN ROJAS               HC 02 BOX 8385                                                                                                        OROCOVIS            PR           00720
   151031 ELI PINEIRO RODRIGUEZ         REDACTED                           REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644467 ELI R IRIZARRY ECHEVARRIA     REP UNIVERSITARIO                  380 HOLLY CROSS                                                                    SAN JUAN            PR           00926
   151032 ELI R OLIVIERI VINCENTY       REDACTED                           REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151033 ELI RESEARCH                  PO BOX 413049                                                                                                         NAPLES              FL           34101‐3049
   644468 ELI RESEARCH INC              P O BOX 9132                                                                                                          CHAPEL HILL         NC           27515



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  644469 ELI RIVERA ROSARIO                            4082 HATO VIEJO CUMBRE                                                                                         CIALES               PR         00638
  151034 ELI ROSA VAZQUEZ                              REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  644470 ELI S E                                       P O BOX 194000              SUITE 209                                                                          SAN JUAN             PR         00919‐4000
  644471 ELI S ENCARNACION LOPEZ                       PO BOX 5368                                                                                                    CAGUAS               PR         00726
  151035 ELI S GALAN RODRIGUEZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  644472 ELI S GONZALEZ RIOS                           465 CALLE PARAGUAY                                                                                             SAN JUAN             PR         00917
  151036 ELI S HERNANDEZ DIAZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  151037 ELI S MATEO ROMAN                             REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  644473 ELI S ROJAS DAVIS                             1056 CALLE FERROCARRIL                                                                                         SAN JUAN             PR         00965‐3010
  151039 ELI S ROJAS DIAZ                              REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  151040 ELI S ROSA SALGADO                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  644474 ELI S SANTA PEREZ                             FLAMINGO TERRACE            D 14 CALLE GRACIELA                                                                BAYAMON              PR         00957
  151041 ELI S. MELENDEZ ESQUILIN                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   644475 ELI SAMUEL GARCIA TRUCKING                   APARTADO 232 S                                                                                                 SABANA SECA                     00952
   151042 ELI SAMUEL PAGAN CASTRO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644476 ELI SANTANA LABOY                            RIVER CUPEY                 81 CALLE HORTENCIA                                                                 BAYAMON              PR         00926
   644479 ELI VAZQUEZ VAZQUEZ                          PARC SAN ROMUALDO           70 A CALLE E                                                                       HORMIGUEROS          PR         00660
   644480 ELIA A MATEO REYES                           PO BOX 257                                                                                                     COAMO                PR         00769
   151043 ELIA CADALSO DE GRAU                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644482 ELIA COLON CRUZ                              HC 07 BOX 2609                                                                                                 PONCE                PR         00731
   644483 ELIA CORTES DE LA ROSA                       PO BOX 748                                                                                                     GARROCHALES          PR         00652
   644484 ELIA E FLORES                                HC 02 BOX 4466                                                                                                 LAS PIEDRAS          PR         00771‐9614
   644485 ELIA E LOPEZ HERNANDEZ                       P O BOX 466                                                                                                    CULEBRA              PR         00775
   151044 ELIA E MALAVE ORTIZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644486 ELIA E PASARELL RIVERA                       PO BOX 13325                                                                                                   SAN JUAN             PR         00908
   644488 ELIA E SERRANO SANTOS                        HC 02 BOX 12614                                                                                                VIEQUES              PR         00765

   151046 ELIA E VELAZQUEZ RODRIGUEZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151047 ELIA E. MERCADO ORTIZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151048 ELIA E. RIVERA FIGUEROA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151049 ELIA ENID CADILLA                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644490 ELIA LUGO ALEJANDRO                          PO BOX 1238                                                                                                    GURABO               PR         00778
   644491 ELIA M COLON BERLINGERI                      P O BOX 129                                                                                                    OROCOVIS             PR         00720
   151050 ELIA M COLON DIAZ                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644492 ELIA M CORREA SIERRA                         EXT SANTA ELENITA           A2 2 CALLE A                                                                       BAYAMON              PR         00957

   644493 ELIA M FONTANET                              ESTANCIAS DE SAN FERNANDO   F 19 CALLE 8                                                                       CAROLINA             PR         00985
   151051 ELIA M GONZALEZ CASTRO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644494 ELIA M TORRES RIVERA                         ADM SERV GENERALES          PO BOX 7428                                                                        SAN JUAN             PR         00916‐7428
          ELIA MARIVI SANTIAGO
   644495 MORALES                                      URB SALIMAR D5                                                                                                 SALINA               PR         00751
   151052 ELIA MATOS PADRO                             REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644497 ELIA MENENDEZ FEBLES                         HC 1 BOX 24243                                                                                                 VEGA BAJA            PR         00693
          ELIA MILAGROS RODRIGUEZ
   151054 MUNIZ                                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151055 ELIA MIRANDA ROBLEDO                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151056 ELIA ORTIZ MATEO                             REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644498 ELIA PARRILLA GONZALEZ                       P O BOX 10000               SUITE 191                                                                          CANOVANAS            PR         00729
   151057 ELIA R MARTINEZ FLORES                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151058 ELIA R TORRES LUCCA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          ELIA ROXANA FELICIANO
   151059 TOLLINCHI                                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  644500 ELIA SANTIAGO GARCIA                         URB PUERTO NUEVO           513 CALLE ANTARTICO                                                                     SAN JUAN            PR           00920

   151060 ELIA SARA VAZQUEZ QUINONES                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644501 ELIA VELEZ GUTIERREZ                        COND SANTA JUANA           APTO 712                                                                                CAGUAS              PR           00725
   644502 ELIAB HERNANDEZ VEGA                        PO BOX 1931                                                                                                        CAYEY               PR           00736
   151062 ELIABEL ARROYO AYUSO                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151063 ELIACIM VIERA GONZALEZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151064 ELIADA PEREZ DELIZ                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          ELIADES MALDONADO
   644506 ZAMBRANA                                    PO BOX 1161                                                                                                        BARCELONETA         PR           00617
   151065 ELIADY CABANA CORTES                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151066 ELIAENID VELES ROBLES                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151067 ELIAH ERAZO LOZADA                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151068 ELIAKIM LOPEZ WEEKS                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644507 ELIAM I MELENDEZ ROBLES                     PLAZA SILVESTRE            ER 115 ENTRE RIOS                                                                       TRUJILLO ALTO       PR           00976
   151069 ELIAN J IGLESIAS                            REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151070 ELIAN TOLLINCHI                             REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151072 ELIAN Y. SIERRA APONTE                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151073 ELIANA CRESPO                               REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644508 ELIANA DE JESUS LASSUS                      HC 1 BOX 4434                                                                                                      ARROYO              PR           00714
   151074 ELIANA GARDENALES GARCIA                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          ELIANA MARIE ROBLES
   151075 RODRIGUEZ                                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644510 ELIANA RAMOS CEPEDA                         VALLE PUERTO REAL          J 4 CALLE 6                                                                             PUERTO REAL         PR           00740
   644511 ELIANA RODRIGUEZ ORTIZ                      HC 02 BOX 23703                                                                                                    MAYAGUEZ            PR           00680
   644512 ELIANEDCCY ROSADO                           COND MELILLAN              APTO 1503                                                                               SAN JUAN            PR           00921
   151076 ELIANETH RIVERA MORALES                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          ELIANETTE CARDONA
   151077 ENCARNACION                                 REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          ELIANETTE MARIE MARTINEZ
   151078 CLAUSELL                                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   644514 ELIANETTE MARTINEZ GONZALEZ C 5 JARD DE JUNCOS                         APARTADO B 12                                                                           JUNCOS              PR           00777

   151079 ELIANETTE MERCED SANTIAGO                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151080 ELIANI TOLENTINO RIVERA                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644515 ELIANNE M LUGO SANCHEZ                      URB SANTA ROSA             C 2 CALLE RITA                                                                          CAGUAS              PR           00725
   644516 ELIANNEYS RIVERA RIVERA                     PUERTO NUEVO               1033 CALLE ALEJANDRO                                                                    SAN JUAN            PR           00915

   151081 ELIANNY M. REYNOSO PUELLO                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   644517 ELIAR DAVILA BERRIOS                        6 CALLE ARECIBO                                                                                                    SAN JUAN            PR       00917‐0000
   151083 ELIAS & HIJOS INC.                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   644522 ELIAS A SANTIAGO ROLON                      P O BOX 9620                                                                                                       ARECIBO             PR       00613
   644523 ELIAS ACEVEDO ANDINO                        RR 01 BOX 11520                                                                                                    TOA ALTA            PR       00953
   151085 ELIAS ACEVEDO LORENZO                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   644524 ELIAS ALKHOWRY                              519 8TH AVENUE BROOKLYN                                                                                            NEW YORK            NY       11230
   151086 ELIAS ALONSO ESTRADA                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
                                                      118 CALLE COFRESI‐ BUENA
   644525 ELIAS APONTE SUAREZ                         VISTA                                                                                                              MAYAGUEZ            PR           00680
   151087 ELIAS ARROYO FIGUEROA                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151088 ELIAS ARROYO GONZALEZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644526 ELIAS ARROYO RIVERA                         757 SAN JOSE                                                                                                       SAN JUAN            PR           00909
   644527 ELIAS BEHAR YBARRA                          COND IBERIA I ALTAMIRA     554 CALLE PERSEO SUITE J 3                                                              SAN JUAN            PR           00920



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  644528 ELIAS BENABE VELEZ                           P O BOX 470                                                                                                     LUQUILLO             PR         00773
  644529 ELIAS BLANCO GOMEZ                           PO BOX 7247                                                                                                     SAN JUAN             PR         00916
  644530 ELIAS BOOKMAN DIAZ                           HC 04 BOX 46693                                                                                                 CAGUAS               PR         00727
  644531 ELIAS CANCEL VEGA                            BO OBRERO                     2214 AVE REXACH                                                                   SAN JUAN             PR         00915
  644532 ELIAS CARABALLO ROSA                         HC 01 BUZON 11875                                                                                               CAROLINA             PR         00985
  644533 ELIAS CARABALLO ROSARIO                      46 CALLE PASARELL                                                                                               YAUCO                PR         00698
  151096 ELIAS CARRION MALDONADO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  151097 ELIAS CASTRO DE LEON                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  151098 ELIAS CHARLES MERCADO                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  644518 ELIAS COLON RODRIGUEZ                        VILLA JUSTICIA                P O BOX 8206                                                                      CAROLINA             PR         00986

   644535 ELIAS CONTRERAS HOMS                        5 SUR CALLE DR VEVE CALZADA                                                                                     SAN LORENZO          PR         00754
   151104 ELIAS CORREA MD, GUSTAVO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644536 ELIAS CRESPO SEDA                           JARD DEL CARIBE               VV 5 CALLE 50                                                                     PONCE                PR         00728
   151106 ELIAS CRUZ                                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644537 ELIAS CRUZ VELEZ                            BDA ISRAEL                    164 CALLE TEXIDOR                                                                 SAN JUAN             PR         00917
   644538 ELIAS CUADRADO GAZCOT                       URB CANA                      EE 43 CALLE 21                                                                    BAYAMON              PR         00957
   151107 ELIAS D CARRERO DE JESUS                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151108 ELIAS D FONSECA LUGO                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644539 ELIAS D LOZADA TORRES                       COND PRIMAVERA                2340 CARR 2 APT 56                                                                BAYAMON              PR         00961
   151109 ELIAS D. FONSECA RIVERA                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151110 ELIAS DAVILA BERRIOS                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151111 ELIAS DE JESUS CONDE                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                      URB ALTURAS DE
   644540 ELIAS DIAZ                                  INTERAMERICANA                P 13 CALLE 11                                                                     TRUJILLO ALTO        PR         00976
   644542 ELIAS E MONTERO SANTIAGO                    PO BOX 9181                                                                                                     ARECIBO              PR         00613
   644543 ELIAS ESCALANTE CALIXTO                     PO BOX 606                                                                                                      SAN JUAN             PR         00919
   151116 ELIAS F SANCHEZ SIFONTE                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151117 ELIAS FEBRES NIEVES                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151118 ELIAS FELICIANO GONZALEZ                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644544 ELIAS FLORES GONZALEZ                       HC 04 BOX 45524                                                                                                 CAGUAS               PR         00725
   644545 ELIAS FOOD CATERING                         P O BOX 0279                                                                                                    SAN JUAN             PR         00930
   151127 ELIAS FUENTES MARTINEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151128 ELIAS G RIVERA MARTELL                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644546 ELIAS GARCIA MONTANEZ                       P O BOX 364466                                                                                                  SAN JUAN             PR         00936‐4466
   644547 ELIAS GAUTIER PERAZA                        PO BOX 9021112                                                                                                  SAN JUAN             PR         00902‐1112
   644548 ELIAS GOMEZ CANDELARIA                      BO CAIMITO                    HC 01 BOX 6544                                                                    JUNCOS               PR         00777‐9716
   151131 ELIAS GONZALEZ PEREZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644552 ELIAS GONZALEZ RIVERA                       URB EL CORTIJO                C 3 CALLE 3                                                                       BAYAMON              PR         00956
          ELIAS GONZALEZ Y MARIA I
   644553 PLAZA                                       PO BOX 47                                                                                                       ANGELES              PR         00611
   151135 Elias Gutierez                              REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151136 Elias Gutiérrez Font                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151137 ELIAS GUTIERREZ SANCHEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644555 ELIAS HERNANDEZ RESTO                       P O BOX 909                                                                                                     LAS PIEDRAS          PR         00771
   644556 ELIAS I RIVERA MORA                         PO BOX 1129                                                                                                     RINCON               PR         00677

   644557 ELIAS IRIZARRY RODRIGUEZ                    2 CALLE GABRIEL HERNANDEZ                                                                                       VEGA ALTA            PR         00692
   151138 ELIAS J HERNANDEZ ORTIZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151140 ELIAS J LOPEZ MORALES                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644558 ELIAS J TEN WILLIAMS                        REPARTO METROPOLITANO         841 CALLE 57 S E                                                                  SAN JUAN             PR         00921
   644559 ELIAS JANA BADIN                            4 CALLE LABRA                                                                                                   SAN JUAN             PR         00907
   151142 ELIAS L. FERNÁNDEZ PÉREZ                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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          ELIAS LINARES/CLUB SOFTBALL
   644560 QUEBRADILLAS                                URB KENNEDY                88 CALLE JOSE PEREZ                                                               QUEBRADILLAS        PR           00678
   644561 ELIAS LOPEZ GARCIA                          VALLE ARRIBA HEIGHTS       Z 9 YAGRUMO                                                                       CAROLINA            PR           00983
   644562 ELIAS LOPEZ RIVERA                          HC 1 BOX 4709                                                                                                ARROYO              PR           00714
   644563 ELIAS LOPEZ SOTO                            BO OLIMPO                  518 CALLE G                                                                       GUAYAMA             PR           00784
          ELIAS LOPEZ/PERSIDA
   151143 ALVAREZ/ABIGAIL                             REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151144 ELIAS LUGO QUINTANA                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644567 ELIAS M ROJAS GONZALEZ                      VIETNAM                    18 CALLE N                                                                        GUAYNABO            PR           00965
   644568 ELIAS M ROMERO LLANOS                       P O BOX 20927                                                                                                SAN JUAN            PR           00928
   644569 ELIAS MALDONADO NIEVES                      A/C GLORIA ESCRIBANO       PO BOX 29086                                                                      SAN JUAN            PR           00928‐0086
          ELIAS MALLAR / CARIBBEAN
   151147 OFFICE PRODUCTS                             REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151148 ELIAS MARQUES SOTO                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644572 ELIAS MARRERO MASSA                         PO BOX 1206                                                                                                  SAN JUAN            PR           00902
   644573 ELIAS MARTINEZ DEPENA                       VALLE VERDE 3              D‐C‐5 CALLE LOMAS                                                                 BAYAMON             PR           00961
   151149 ELIAS MARTINEZ DIAZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644574 ELIAS MENDEZ CUEVAS                         PO BOX 479                                                                                                   LAS MARIAS          PR           00670
   151160 ELIAS MONGE PIZARRO                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644575 ELIAS MONTALVO RIVERA                       HC 1 BOX 5189                                                                                                GUAYNABO            PR           00971‐9801
   644576 ELIAS MORALES GONZALEZ                      HC 01 BOX 11877                                                                                              CAROLINA            PR           00987
   151164 ELIAS NEGRON SANTIAGO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644577 ELIAS NORIEGA                               URB EL SENORIAL            355 CALLE PIO BAROJA                                                              SAN JUAN            PR           00926

   151165 ELIAS O DELGADO MONSERRATE REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644578 ELIAS O PEREZ LUGO         91 CASERIO A ROING                                                                                                            HUMACAO             PR           00791
   151167 ELIAS OQUENDO MUNIZ        REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644579 ELIAS OTERO ORTIZ          HC 73 BOX 4032                                                                                                                NARAJITO            PR           00719
   151169 ELIAS PABON ROSADO         REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151171 ELIAS PENA PINA            REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644519 ELIAS PICON MERCADO        PO BOX 10048                                                                                                                  SAN JUAN            PR           00908
   151173 ELIAS PINTO ROSA           REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151174 ELIAS PRINCIPE TORRES      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151178 ELIAS QUINTANA COLON       REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644582 ELIAS R JIMENEZ OLIVO      PO BOX 1863                                                                                                                   ARECIBO             PR           00613
   151179 ELIAS R MERCADO ORTIZ      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151180 ELIAS RAMOS LOPEZ          REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151181 ELIAS REY CRUZ             REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151182 ELIAS REYES PEREZ          REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644583 ELIAS RIVERA ALEJANDRO     BO LA BARRA                                 CALLE 12                                                                          CAGUAS              PR           00725
   151183 ELIAS RIVERA DIAZ          REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644584 ELIAS RIVERA MIRANDA       PO BOX 217                                                                                                                    CIALES              PR           00638
   151195 ELIAS ROBINSON             REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644586 ELIAS RODRIGUEZ RIVERA     PO BOX 256                                                                                                                    CIALES              PR           00638

  1419625 ELÍAS RODRÍGUEZ, JOSÉ R.                    BLANCA BONHOMME MELENDEZ PO BOX 7445                                                                         SAN JUAN            PR           00916‐7445
   151203 ELIAS ROJAS OCASIO                          REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644587 ELIAS ROJAS RIJO                            REPTO METROPOLITANO      1222 CALLE 552 S E                                                                  SAN JUAN            PR           00921
   151204 ELIAS ROJAS TORRES                          REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644520 ELIAS ROSARIO FELICIANO                     URB COLINAS DE FAIRVIEW  4M3 CALLE 212                                                                       TRUJILLO ALTO       PR           00976
   644589 ELIAS RUIZ FELICIANO                        URB JDNES DEL CARIBE     RR 14 CALLE 44                                                                      PONCE               PR           00731
   151209 ELIAS SALADINI CAPPA                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644590 ELIAS SALAS ALERS                           HC 03 BOX 9147                                                                                               MOCA                PR           00676



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  644591 ELIAS SANCHEZ CORREA                         PO BOX 12                                                                                                      TOA ALTA          PR         00954
  644593 ELIAS SANCHEZ MARRERO                        P O BOX 417                                                                                                    MANATI            PR         00674
  151210 ELIAS SANTANA                                REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  151212 ELIAS SANTIAGO CHRISTIAN                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  151213 ELIAS SANTIAGO TORRES                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  151217 ELIAS TORRES GONZALEZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  644596 ELIAS TROCHE LOPEZ                           HC 01 BOX 1008                                                                                                 CABO ROJO         PR         00623
         ELIAS ULDARICO ADASME
  644597 APABLAZA                                     UNIVERSITY GARDENS          1009 CALLE GEORGETOWN                                                              SAN JUAN          PR         00927‐4822

   644598 ELIAS VALENTIN BERRIOS                      URB JARDINES DE BAYAMONTE   3 CALLE TUCAN                                                                      BAYAMON           PR         00956
   151223 ELIAS VAZQUEZ OTERO                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   644521 ELIAS VEGA MARTINEZ                         HC 3 BOX 7203                                                                                                  HUMACAO           PR         00791
   151228 ELIAS VELEZ SERRANO                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   644600 ELIAS VERGARA PACHECO                       ADM SERV GENERALES          P O BOX 7428                                                                       SAN JUAN          PR         00916‐7428
   151230 ELIAS Y CASTRO MARQUEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   151231 ELIAS ZAYAS COLON                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   644601 ELIASIB GONZALEZ RODRIGUEZ                  JARD DE CAYEY I             C 2 CALLE 5                                                                        CAYEY             PR         00736
   151235 ELIASIB NUNEZ DIAZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   151236 ELIASIB VEGA ALVAREZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   151237 ELIASOL RODRIGUEZ                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ELIAZ SAEZ RODRIGUEZ DBA
   151239 SAEZ ROOFING                                HC‐2 BOX 9600                                                                                                  OROCOVIS          PR         00720‐0000

   644602 ELIAZABETH FLORES HERRERAS                  RES JUAN C CORDERO DAVILA   EDF 30 APT 425                                                                     SAN JUAN          PR         00917
   151240 ELIAZABETH MARTINEZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   151241 ELIAZAR DEL TORO VELEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   644604 ELIAZAR MOJICA LEBRON                       URB TURABO GARDENS          M 15 CALLE 43                                                                      CAGUAS            PR         00725
   644605 ELIAZAR PIZARRO VELAZQUEZ                   HC 1 BOX 2457                                                                                                  LOIZA             PR         00772
   151244 ELIAZER UGARTE VENDRELL                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   151246 ELIAZOB NIEVES CORREA                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   644606 ELIBANIA RIVERA OCASIO                      PO BOX 2401                                                                                                    GUAYNABO          PR         00971
   644607 ELIBEL ARJEMI                               JARDINES DE ARECIBO         CALLE JT 35                                                                        ARECIBO           PR         00612
   644608 ELIBERL ORTIZ BERRIOS                       HC 71 BOX 2160                                                                                                 NARANJITO         PR         00719
   644609 ELIBERTA VIERA SOSTRE                       HC 01 BOX 24244                                                                                                VEGA BAJA         PR         00693
   151247 ELIBERTO CEDENO CRESPO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   644610 ELIBERTO COLON BURGOS                       28 CALLE SANTIAGO TORRES                                                                                       COAMO             PR         00769
   151248 ELIBETH CEPEDA LEBRON                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   151249 ELIBETH COLON ROSA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   644613 ELICA GONZALEZ CASIANO                      P O BOX 885                                                                                                    YAUCO             PR         00698

   644614 ELICA M TOLEDO MALDONADO                    URB STALIGHT                4402 CALLE ANTARES                                                                 PONCE             PR         00717‐1441
   151254 ELICA QUINONES GONZALEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   644615 ELICA SANTIAGO                              PO BOX 1875                                                                                                    JUNCOS            PR         00777

   644616 ELICARMEN TORRES SANTIAGO                   P O BOX 194393                                                                                                 SAN JUAN          PR         00919‐4393
   644617 ELICER BRUNO GONZALEZ                       URB PUNTA LAS MARIA         111 CALLE BUCARE                                                                   SAN JUAN          PR         00913
   644618 ELICET LOPEZ ADAMS                          BO HIGUILLAR                153 CALLE 1                                                                        DORADO            PR         00646
   644620 ELICK HERNANDEZ GARCIA                      HC 1 BOX 16346                                                                                                 CABO ROJO         PR         00623
   644621 ELID BARRIOS                                EL MIRADOR                  EDIF 15 APT A 1                                                                    SAN JUAN          PR         00915
   151268 ELID R ORTEGA OROZCO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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   151269 ELIDA A PALACIOS VELAZQUEZ                  REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644622 ELIDA COLON CABAN                           HC 4 BOX 48775                                                                                                         CAGUAS              PR           00725
   644623 ELIDA E RUIZ BERRIOS                        BOX 8653                                                                                                               SAN JUAN            PR           00910
   151270 ELIDA GARCIA VALDEZ                         REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644624 ELIDA J PEREZ RODRIGUEZ                     HC 5 BOX 28812                                                                                                         CAMUY               PR           00627
   151271 ELIDA J. PEREZ RODRIGUEZ                    REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644626 ELIDA LORENZO HERNANDEZ                     URB VISTA VERDE                 BOX 341 CALLE 12                                                                       AGUADILLA           PR           00603
   151273 ELIDA M GOMEZ BENCOSME                      REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151274 ELIDA MATOS FONSECA                         REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644627 ELIDA MERCADO TORRES                        PARC SOLEDAD                    621 CALLE G                                                                            MAYAGUEZ            PR           00680
   644628 ELIDA MONTALVO TORRES                       HC 01 BOX 13183                                                                                                        CABO ROJO           PR           00623
   151275 Elida Ortiz Miranda                         REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIDA RAMIREZ ORTIZ & PETER
   151276 SATZ HANLEY                                 REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   644629 ELIDA RIOS BAEZ                             1312 CALLE WILSON CONDADO                                                                                              SAN JUAN            PR           00907
   151277 ELIDA RIVERA SOTO                           REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151278 ELIDA RODRIGUEZ MORALES                     REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151279 ELIDA RODRIGUEZ RIVERA                      REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644630 ELIDA ROMAN NEGRON                          PUEBLO NUEVO                    BUZON 4 CALLE 1                                                                        MARICAO             PR           00606
   644631 ELIDA ROSA HERNANDEZ                        PO BOX 493                                                                                                             SAN ANTONIO         PR           00690
   151280 ELIDA ROVIRA FERNANDEZ                      REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151281 ELIDA SOTO NEGRON                           REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644633 ELIDA TORRES LUGO                           232 ELEANOR ROOSEVELT                                                                                                  SAN JUAN            PR           00907
   644634 ELIDA VALDEZ DELGADO                        BO AMELIA                       99 CALLE HERMANDAD                                                                     GUAYNABO            PR           00965
   151282 ELIDA Y RUIZ NOGUERAS                       REDACTED                        REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIDES BONILLA COLON DBA                                                    TIERRA SANTA CARR 149 KM 5.7
   151283 FARMACIA SAN                                ANTONIO                         H3                                                                                     VILLALBA            PR           00766

   644635 ELIDIA GONZALEZ RODRIGUEZ                   URB MEDINA                      D 5 CALLE 13                                                                           ISABELA             PR           00662
   644636 ELIDIA NIEVES LUGARDO                       ALT RIO GRANDE                  Y1323 CALLE 25                                                                         RIO GRANDE          PR           00745
   644637 ELIDIA NIEVES RIVERA                        HC 1 BOX 3909                                                                                                          LARES               PR           00669
   151284 ELIDIA PRIETO MARTINEZ                      REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644638 ELIDIA ROMERO GONZALEZ                      H C 07 BOX 33065                                                                                                       HATILLO             PR           00659 9638
          ELIDIANA HERNANDEZ
   644639 MARTINEZ                                    PO BOX 677                                                                                                             SAINT JUST          PR           00978
   644642 ELIDIO CUEVAS REYES                         APARTADO 1535                                                                                                          SAN SEBASTIAN       PR           00685
   151285 ELIDIO GONZALEZ VELEZ                       REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151286 ELIDIO MARTINEZ SELPA                       REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151287 ELIDIS A NEGRON MEDINA                      REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644643 ELIDO G ORTIZ MENDOZA                       VISTA MAR                       C 54 CALLE GRANADA                                                                     CAROLINA            PR           00983
   644644 ELIDUVINA FIGUEROA PEREZ                    RR 1 BOX 14273                                                                                                         OROCOVIS            PR           00720
          ELIE J HERCULES Y MONICA A
   151288 ESPINAL                                     REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151291 ELIEL DE JESUS CRUZ                         REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644649 ELIEL LEON RODRIGUEZ                        HC03 BOX 14988                                                                                                         YAUCO               PR           00698
   151293 ELIEL MANGUAL GONZALEZ                      REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151294 ELIEL MIRANDA GALLOZA                       REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151296 ELIEL NAZARIO RAMOS                         REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      256 B AVE. JESUS T PINERO URB
   151297 ELIEL ORTHO MEDICAL CORP                    UNIVERSITY GARDENS                                                                                                     SAN JUAN            PR           00927
   151299 ELIEL PERAZZA RIVERA                        REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  151300 ELIEL PLAZA RIVERA                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  151301 ELIEL QUINONES MONTALVO                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  644647 ELIEL RIOS MEDINA                            613 PASEOS DE CAMUY                                                                                             CAMUY               PR         00627
  644650 ELIEL SANTOS GONZALEZ                        BO GUAVATE 22550                                                                                                CAYEY               PR         00736
  151302 ELIENEID RODRIGUEZ                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  644651 ELIENET TORRES SANTIAGO                      HC 1 BOX 5054                                                                                                   JAYUYA              PR         00664
  151303 ELIENID ADORNO SANCHEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   151304 ELIENID GONZALEZ MERCADO                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151305 ELIENID NIEVES TORRES                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644652 ELIENID RIVERA VARGAS                       COND QUIENNA LAURA          608 TORRE II                                                                        PONCE               PR         00731
   151306 ELIENID ROSADO MARRERO                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151307 ELIENIS DE JESUS PIZARRO                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644653 ELIENYD SILVA TORRES                        TORRECILLAS                 76 CALLE JUAN E RIVERA                                                              MOROVIS             PR         00687
   151308 ELIER E ESQUILIN QUINONES                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151309 ELIER E IZQUIERDO VAZQUEZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644654 ELIER GONZALEZ GOMEZ                        PO BOX 710                                                                                                      AGUADILLA           PR         00605
   151310 ELIER MARTINEZ DELGADO                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151311 ELIER OMAR GARCIA MILLAN                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644655 ELIER ROSA VILLEGAS                         URB JARDINES DE VEGA BAJA   C 13 CALLE 3                                                                        VEGA BAJA           PR         00693
   151312 ELIESER FELICIANO SOTO                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151313 ELIESER RIVERA LOPEZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644656 ELIESER TOLEDO TOLEDO                       URB STARLIGHT               4402 CALLE ANTARES                                                                  PONCE               PR         00731‐1441
   151314 ELIESIN COLON TORRES                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151315 ELIESNER VERA SOTO                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151316 ELIETHER RIVERA SANABRIA                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644657 ELIETTE BERMUDEZ                            URB PUERTO NUEVO            525 CALLE ANTARTICO                                                                 SAN JUAN            PR         00920
   151320 ELIEXIS DELGADO BRITO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151321 ELIEZER A. ROMAN BATISTA                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151322 ELIEZER ACEVEDO CRUZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151323 ELIEZER ACEVEDO ORTIZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151324 ELIEZER ACEVEDO RAMOS                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644659 ELIEZER ADAMES                              URB VISTA AZUL              R 18 CALLE 19                                                                       ARECIBO             PR         00612
   644660 ELIEZER AGOSTO SOTO                         36 BDA BORINQUEN                                                                                                SAN JUAN            PR         00921
   644661 ELIEZER ALVAREZ MORALES                     PMB 33 P O BOX 6022                                                                                             CAROLINA            PR         00988
   644663 ELIEZER APONTE RAMOS                        RES. VARONES S.J.                                                                                               Hato Rey            PR         009360000
          ELIEZER ARROYO / MARIELA DE
   644664 M ARROYO                                    TINTILLO GARDENS            F 12 CALLE 9                                                                        GUAYNABO            PR         00962
   644665 ELIEZER BAEZ NAVARRO                        PMB 1226 PO BOX 6400                                                                                            CAYEY               PR         00737
   151325 Eliezer Barreto Soto                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644667 ELIEZER BENERO NATAL                        564 A JUAN J JIMENEZ ST                                                                                         SAN JUAN            PR         00919
   644668 ELIEZER BENJAMIN PABON                      PARC 6 VILLA DE HOSTOS                                                                                          TOA BAJA            PR         00949
   151326 ELIEZER BERMUDEZ RIVERA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151327 ELIEZER BERRIOS RIVERA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151328 ELIEZER BURGOS RIVERA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151329 ELIEZER BURGOS ROSADO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ELIEZER BURGOS/ DBA BURGOS
   151330 TIRE CENTER                                 ESTANCIAS DE TORRIMAR       5 CALLE PALMA REAL                                                                  GUAYNABO            PR         00965
   644669 ELIEZER C0LON RUIZ                          HC 5 BOX 60576                                                                                                  CAGUAS              PR         00725
   644670 ELIEZER CABRERA ALGARIN                     RR 8 BOX 9138               BO DAJAOS                                                                           BAYAMON             PR         00956

   151331 ELIEZER CALDERON HERNANDEZ REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644671 ELIEZER CALZADA MILLAN     BOX 229                                                                                                                          PALMER              PR         00721



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  644672 ELIEZER CAMACHO FIGUEROA                     31 CALLE PRINCIPAL                                                                                                 GUANICA           PR         00653
  151332 ELIEZER CAMACHO ORTIZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  151333 ELIEZER CANALES LOPEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  151334 ELIEZER CARABALLO BENITEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  644674 ELIEZER CARABALLO SUAREZ                     HC 2 BOX 9017                                                                                                      JUANA DIAZ        PR         00795
  151336 ELIEZER CARABALLO VEGA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  644675 ELIEZER CASIANO IRIZARRY                     URB SAGRADO CORAZON          F6 CALLE SANTA CECILIA                                                                GUANICA           PR         00653
  151337 ELIEZER CASTILLO                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  151338 ELIEZER CASTRO RODRIGUEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  644678 ELIEZER CHEVERE SANTOS                       APARTADO 378                                                                                                       LOIZA             PR         00772
  151339 ELIEZER CLASS GONZALEZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  644679 ELIEZER CLAVELL VELEZ                        PARC NUEVA VIDA              M 15 CALLE 8A                                                                         PONCE             PR         00728
  644680 ELIEZER COLON CLAUSSELLS                     BOX 51                                                                                                             AQUIRRE           PR         00704
  151340 ELIEZER COLON ROSADO                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  644681 ELIEZER COLON ROSARIO                        EXTENSION COQUI              H 113 BOX 51                                                                          AGUIRRE           PR         00704

   151341 ELIEZER CORDERO PENALBERT                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   151342 ELIEZER CORTES ORTA                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   151344 ELIEZER CRUZ APONTE                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   644682 ELIEZER CRUZ ESTRELLA                       JARD CARIBE                  111 CALLE 19                                                                          PONCE             PR         00731
   151345 ELIEZER CRUZ JIMENEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   151346 ELIEZER CRUZ RODRIGUEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   151348 ELIEZER CUBA NIEVES                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   151349 ELIEZER D RIVERA LOPEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   644684 ELIEZER DE ALBA RODRIGUEZ                   BO POZUELO                   RR 1 BOX 6364                                                                         GUAYANA           PR         00784
   644685 ELIEZER DE LA PAZ BENITEZ                   URB VILLAS DE LUQUILLO       C 18 CALLE V 2                                                                        LUQUILLO          PR         00773
   644686 ELIEZER DIAZ ROSARIO                        P O BOX 40                                                                                                         RIO GRANDE        PR         00745
   644687 ELIEZER DIAZ SANTOS                         HC 01 BOX 7205               BO PAJAROS                                                                            TOA BAJA          PR         00949
   151352 ELIEZER E HERNANDEZ SOTO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   644689 ELIEZER E VARGAS                            PO BOX 9021112                                                                                                     SAN JUAN          PR         00902‐1112

   644690 ELIEZER E VAZQUEZ MARTINEZ                  ALTURAS DE PARQUE ECUESTRE   1286 CALLE FERPIER                                                                    CAROLINA          PR         00987
   644691 ELIEZER ESPINOSA RAMIREZ                    HACIENDA EL ZORZAL           D 23 CALLE 3                                                                          BAYAMON           PR         00956
   644692 ELIEZER F RIVERA MONTES                     BO OJO DE AGUA               97 CALLE BEGONIA                                                                      VEGA BAJA         PR         00693
   644693 ELIEZER FARINACCI PEREZ                     PO BOX 7126                                                                                                        PONCE             PR         00732‐7126
   151353 ELIEZER FELICIANO CORDERO                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   644694 ELIEZER FIGUEROA DIAZ                       PO BOX 1266                                                                                                        RIO GRANDE        PR         00745‐1266
   644695 ELIEZER FLORES RAMOS                        PO BOX 11855                                                                                                       SAN JUAN          PR         0091000
   644696 ELIEZER FONTANEZ TORRES                     PO BOX 3141                                                                                                        GUAYNABO          PR         00970
   644697 ELIEZER GARCIA BRACERO                      BO SAN ANTON                 2 CALLE MONICO RIVERA II                                                              CAROLINA          PR         00987
   644698 ELIEZER GERENA SOTO                         P O BOX 33                                                                                                         FLORIDA           PR         00650
   151354 ELIEZER GOMEZ AGUILA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   151356 ELIEZER GONZALEZ GONZALEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   151357 ELIEZER GONZALEZ MARTINEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   151358 ELIEZER GONZALEZ RODRIGUEZ                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   644701 ELIEZER GONZALEZ SALCEDO                    HC 2 BOX 19391                                                                                                     SAN SEBASTIAN     PR         00685
   644703 ELIEZER GUILDE                              HC 02 BOX 8832                                                                                                     JUANA DIAZ        PR         00795
   151360 ELIEZER GUZMAN PABON                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   151361 ELIEZER HERNADEZ MONTANEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  644705 ELIEZER HERNANDEZ SIFRE                      RES JUANA MATOS        EDIF 33 APT 321                                                                        CATA¥O              PR           00962

   151362 ELIEZER J RODRIGUEZ ALVARADO REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151363 ELIEZER LOPEZ BURGOS         REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644706 ELIEZER LOPEZ LOPEZ          HC 1 BOX 8315                                                                                                                LOIZA               PR           00703
   644707 ELIEZER LOPEZ MARTINEZ       BO ARENALES ALTOS                     SECTOR LA CANCHA BOX 2                                                                 ISABELA             PR           00662
   644709 ELIEZER LUGO MATOS           HC 37 BOX 8336                                                                                                               GUANICA             PR           00653
   644710 ELIEZER MALDONADO            LOMAS VERDES                          4Q 39 CALLE PLAYERA                                                                    BAYAMON             PR           00956

   151364 ELIEZER MANGUAL RODRIGUEZ                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151365 ELIEZER MARCHANY ACOSTA                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151368 ELIEZER MARTINEZ CLAUSELL                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151369 ELIEZER MARTINEZ VAZQUEZ                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151371 ELIEZER MEDINA HUERTAS                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644712 ELIEZER MEDINA MEDINA                       HC 3 BOX 17181                                                                                                QUEBRADILLAS        PR           00678
   644713 ELIEZER MELENDEZ LOPEZ                      PO BOX 2373                                                                                                   VEGA BAJA           PR           00694
                                                                             23100 SECT ROQUE CARR 184 K4
   644714 ELIEZER MELENDEZ ROQUE                      BO GUAVATE             H1                                                                                     CAYEY               PR           00736
   644715 ELIEZER MELENDEZ SANCHEZ                    COUNTRY CLUB 3RA       GJ 52 CALLE 208                                                                        CAROLINA            PR           00982
   151372 ELIEZER MENDEZ                              REDACTED               REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151373 ELIEZER MERCADO RIVERA                      REDACTED               REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151374 ELIEZER MIRANDA OLMEDA                      REDACTED               REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644716 ELIEZER MIRANDA ZAYAS                       HC 02 BOX 8554                                                                                                OROCOVIS            PR           00720‐9409
   644717 ELIEZER MIRLES LOPEZ                        HC 58 BOX 8882                                                                                                AGUADA              PR           00602
   644718 ELIEZER MORALES ORELLANA                    URB VILLA CONTESSA     E 9 CALLE ARAGON                                                                       BAYAMON             PR           00956

   644719 ELIEZER MORALES RODRIGUEZ                   MONACO II              6 COLOMBIA                                                                             MANATI              PR           00674
          ELIEZER MUNOS DBA
   151377 ELY'SCATERING SERVICES                      SECT CLAUSELL          29 CALLE DISTRITO                                                                      PONCE               PR           00731
          ELIEZER MUNOZ DBA ELY'S
   151378 CATERING                                    2865 DISTRITO STE,                                                                                            PONCE               PR           00730‐5401
   151379 ELIEZER MUNOZ IRRIZARRY                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644720 ELIEZER NAZARIO RAMOS                       HC 10 BOX 8194                                                                                                SABANA GRANDE       PR           00637
   151380 ELIEZER NEGRON GONZALEZ                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151382 ELIEZER NIEVES RODRIGUEZ                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644722 ELIEZER OJEDA MOJICA                        COOP VILLA KENNEDY     EDIF 33 APT 504                                                                        SAN JUAN            PR           00915
          ELIEZER ORTEGA / CARMEN M
   644723 ORTEGA                                      SAN JOSE               PARC 124 CALLE 17                                                                      TOA BAJA            PR           00949
   644724 ELIEZER ORTIZ CRUZ                          PO BOX 804                                                                                                    CIDRA               PR           00739
   644725 ELIEZER ORTIZ PINEIRO                       URB VILLA FONTANA      A K N 4 VIA FABIANA                                                                    CAROLINA            PR           00983
   644726 ELIEZER ORTIZ REYES                         BOX 155                                                                                                       GURABO              PR           00778
   151384 ELIEZER PACHECO MACHADO                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644727 ELIEZER PADILLA CARTAGENA                   P O BOX 511                                                                                                   COAMO               PR           00769
   151385 ELIEZER PAGAN BANCHS                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151387 ELIEZER PANTOJA GARCIA                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151388 ELIEZER PEREZ                               REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644728 ELIEZER PEREZ CUELLO                        623 CALLE BALEARES                                                                                            SAN JUAN            PR           00920
   644729 ELIEZER PEREZ FOLCH                         URB SAN ANTONIO        1732 CALLE DONCELLAS                                                                   PONCE               PR           00728
   644732 ELIEZER PEREZ MATOS                         SUITE 357              PO BOX 10007                                                                           GUAYAMA             PR           00785
   644733 ELIEZER PEREZ NIEVES                        RAMEY 168 B CIRCLE F   STREET RAMEY                                                                           AGUADILLA           PR           00604
   151389 ELIEZER PEREZ VAZQUEZ                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151390 ELIEZER PIZARRO                             REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   644735 ELIEZER POMALES RUIZ                        BDA OBRERA             166 CALLE HUMACAO                                                                      FAJARDO             PR           00738



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  151392 ELIEZER PRATTS RUIZ                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  151393 ELIEZER QUINONES ESQUILIN                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   151394 ELIEZER QUINONES SOTOMAYOR REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151395 ELIEZER RAMIREZ ACEVEDO    REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644736 ELIEZER RAMOS AYALA        BDA RODRIGUEZ OLMO                          12 CALLE L                                                                          ARECIBO              PR         00612
   644737 ELIEZER RAMOS LOPEZ        RR 01 BZN 4265                                                                                                                  CIDRA                PR         00739
   644738 ELIEZER RAMOS NAVARRO      PO BOX 8204                                                                                                                     SAN JUAN             PR         00910
   644739 ELIEZER RAMOS PARES        RR 6 BOX 10997                                                                                                                  SAN JUAN             PR         00926
   151396 ELIEZER RESTO CASILLAS     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644740 ELIEZER REYES CASTRO       P O BOX 3563                                                                                                                    JUNCOS               PR         00777
   151397 ELIEZER REYES RAMOS        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151399 ELIEZER RIOS GUZMAN        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151400 ELIEZER RIVERA CRUZ        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151401 ELIEZER RIVERA GARCIA      REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644744 ELIEZER RIVERA GONZALEZ    15 URB MORALES                                                                                                                  CABO ROJO            PR         00623
   644745 ELIEZER RIVERA LUGO        PMB 323 PO BOX 60401                                                                                                            AGUADILLA            PR         00604
   151402 ELIEZER RIVERA RODRIGUEZ   REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151403 ELIEZER RIVERA RUIZ        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151404 Eliezer Rivera Sanchez     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644747 ELIEZER RIVERA TORRES      PO BOX 431                                                                                                                      TOA BAJA             PR         00951‐0431

   644748 ELIEZER RIVERA Y SAMARI LUGO                URN MOUNTAIN VIEW          F 5 CALLE 3                                                                         CAROLINA             PR         00987
   151405 ELIEZER ROBLES GARCIA                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151406 ELIEZER RODRIGUEZ AGOSTO                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151407 ELIEZER RODRIGUEZ GRAU                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151408 ELIEZER RODRIGUEZ OCASIO                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644751 ELIEZER RODRIGUEZ SOTO                      HC 04 BOX 14358                                                                                                MOCA                 PR         00676
   151411 ELIEZER RODRIGUEZ VALLE                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644752 ELIEZER ROLON MORENO                        APARTADO 570                                                                                                   VEGA BAJA            PR         00693
   644755 ELIEZER ROMERO                              ALTURAS DE LAJAS I         PO BOX 921                                                                          LAJAS                PR         00667
   644756 ELIEZER ROSA HERNANDEZ                      URB VILLAS DE RIO VERDE    XX 23 CALLE 26                                                                      CAGUAS               PR         00725
   644658 ELIEZER ROSADO ROMAN                        165 AVE LOS PATRIOTAS                                                                                          LARES                PR         00669
   644757 ELIEZER ROSARIO MONTES                      P O BOX 1206                                                                                                   CIALES               PR         00638
   644758 ELIEZER ROSARIO ROSARIO                     PO BOX 21365                                                                                                   SAN JUAN             PR         00928‐1365
   644759 ELIEZER RUIZ GONZALEZ                       P O BOX 943                                                                                                    YAUCO                PR         00698
   151412 ELIEZER RUIZ PAGAN                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644760 ELIEZER SAEZ SANTIAGO                       PO BOX 126                                                                                                     COAMO                PR         00769

   644761 ELIEZER SANCHEZ ROSARIO                     PO BOX 617 BO CERRO GORDO                                                                                      VILLALBA             PR         00766
   644762 ELIEZER SANOGUET ROMEU                      HC 2 BOX 12641                                                                                                 LAJAS                PR         00667
   644763 ELIEZER SANTANA ACOSTA                      URB PQUE DE CANDELERO     P 201 CALLE 12                                                                       HUMCACAO             PR         00791
   151426 ELIEZER SANTIAGO COLON                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151427 ELIEZER SANTIAGO RIVERA                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          ELIEZER SANTIAGO Y EVELYN
   151428 PEREZ                                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151429 ELIEZER SANTOS NIEVES                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151430 ELIEZER SOTO ALICEA                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644764 ELIEZER SOTO ROSA                           COND LOS ALAMO APT 16 J                                                                                        SAN JUAN             PR         00927
   151431 ELIEZER TARAFA FELICIANO                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151432 ELIEZER TARDI ORTIZ                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   644766 ELIEZER TOLEDO VEGA                         PO BOX 1103                                                                                                    SAN GERMAN           PR         00683
   151433 ELIEZER TORRES AMADOR                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  644767 ELIEZER TORRES CEDENO                        HC 01 BOX 7208                                                                                                   YAUCO               PR         00698
  151435 ELIEZER TORRES CRUZ                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         ELIEZER TORRES DBA
  151436 TRANSPORTACION ESC                           HC 5 BUZON 7208                                                                                                  YAUCO               PR         00698
  151437 ELIEZER TORRES HERNANDEZ                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  644770 ELIEZER TORRES ORTIZ                         HC 04 BOX 14188                                                                                                  ARECIBO             PR         00612‐9737
  151438 ELIEZER TORRES RIVERA                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  151439 ELIEZER TORRES VEGA                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  151440 ELIEZER TROCHE RIVERA                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  644771 ELIEZER VARGAS ORENGO                        PO BOX 5166                                                                                                      YAUCO               PR         00698
  151441 ELIEZER VAZQUEZ MELENDEZ                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         ELIEZER VEGA CANALES Y
  151442 DEBORAH BARRETO                              REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  151443 ELIEZER VEGA SOTO                            REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  151444 ELIEZER VELAZQUEZ RIVERA                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  151445 ELIEZER VILA MARRERO                         REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         ELIEZER VILLANUEVA
  644773 HERNANDEZ                                    HC 02 BOX 12809                                                                                                  MOCA                PR         00676
  644774 ELIFREDO CABRERA                             9 CAMINO TOMAS MORALES                                                                                           SAN JUAN            PR         00927
  151448 ELIGIA DAVILA NAVARRO                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  151449 ELIGIA MONEGRO ORTIZ                         REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  151450 ELIGIA SANTIAGO IRIZARRY                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  644776 ELIGIO BOSQUE SOTO                           URB SAN FRANCISCO        7 CALLE A                                                                               AGUADA              PR         00602
  644777 ELIGIO CLASEN ARROYO                         PO BOX 7081                                                                                                      ARECIBO             PR         00612

   644778 ELIGIO COLON Y RAUL COLON                   BOX 9                                                                                                            BARRANQUITAS        PR         00794

   644780 ELIGIO CRISTOBAL CASTILLO                   URB COL DEL PLATA        3Y 23 116 CALLE DEL PARQUE                                                              TOA ALTA            PR         00953
   644781 ELIGIO CRUZ ORTIZ                           URB RAMIREZ ARELLANO     51 CALLE DR KOPPISCH                                                                    MAYAGUEZ            PR         00680
   151452 ELIGIO DAVID MENDEZ                         REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644786 ELIGIO GONZALEZ JIMENEZ                     P O BOX 401                                                                                                      CASTANER            PR         00631
   151453 ELIGIO HERNANDEZ PEREZ                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151454 ELIGIO LAGUER SANCHEZ                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151455 ELIGIO MARQUEZ GARCIA                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644788 ELIGIO MARQUEZ RIVERA                       PO BOX 2000                                                                                                      CANOVANAS           PR         00729
   151457 ELIGIO OLIVIERI ALVARADO                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644789 ELIGIO PALMER CONTRERAS                     213 AVE LLORENS TORRES                                                                                           ARECIBO             PR         00612
   644791 ELIGIO RIVERA HERNANDEZ                     BO BUEN CONSEJO          3296 CALLE LEON FINAL                                                                   SAN JUAN            PR         00926
   644792 ELIGIO RODRIGUEZ GARCIA                     CAPARRA TERRACE          1325 SO CALLE 8                                                                         SAN JUAN            PR         00921
   771042 ELIGIO ROSADO HERNANDEZ                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644794 ELIGIO SANTANA FLORES                       URB VISTA DE JAGUEYES    127 CALLE LIRIO APT C 3                                                                 AGUAS BUENAS        PR         00703
   151458 ELIGIO SANTANA PEREZ                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151459 ELIGIO SANTANA VELAZQUEZ                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151460 ELIGIO SERRANO PICON                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151461 ELIGIO SOTO GARCIA                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151462 ELIGIO TORRES HERNANDEZ                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644795 ELIGIO VARGAS LORENZO                       HC 58 BOX12456                                                                                                   AGUADA              PR         00602
   151463 Eligio Vega González                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644796 ELIGIO VICENS GONZALEZ                      URB CAPARRA TERRACE      817 CALLE 17 S0                                                                         SAN JUAN            PR         00921
   151464 ELIGIO WORKERS GARCIA                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151465 ELIGRIEL IRIZARRY FLORES                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151466 ELIJAH J CRUZ MARTINEZ                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   644798 ELIJINET CARRASQUILLO LOPEZ                 P O BOX 197                                                                                                     COMERIO             PR           00782
   151467 ELIK A SANTOS ORTEGA                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644800 ELIKA J RIVERA PEREZ                        PO BOX 723                                                                                                      TOA ALTA            PR           00954
   151468 ELIKA J. OSORIO OSORIO                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151469 ELIKA OSORIO OSORIO                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   151470 ELIKA V BERRIOS MALDONADO                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644801 ELIKA V COLON MENDEZ                        BO RIO HONDO 1 BOX 73                                                                                           COMERIO             PR           00782
   644802 ELILDA MARTINEZ                             PO BOX 50063                                                                                                    SAN JUAN            PR           00902
   151472 ELIM RAMOS MATTEI                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644803 ELIMALEE MEDINA                             HC 01 BOX 4824                                                                                                  RINCON              PR           00677
          ELIMANUEL FUENTES
   644804 VALAZQUEZ                                   COOP JRDNS SAN FRANCISCO   TORRE 2 APT 604                                                                      SAN JUAN            PR           00927
   644805 ELIMAR CASTRO COLON                         HC 1 BOX 5451                                                                                                   CIALES              PR           00638
   644806 ELIMAR RESTO JIMENEZ                        PO BOX 198                                                                                                      CIDRA               PR           00739
   151474 ELIMAR REYES VAZQUEZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644807 ELIMARIE DE LA TORRE                        PO BOX 241                                                                                                      BAYAMON             PR           00960
   644808 ELIMARIE MORALES                            VILLA JURABO               G 17 CALLE FLAMBOYAN                                                                 CAGUAS              PR           00725

   644809 ELIMARIS SOTOMAYOR RAMOS                    159 LOS LIRIOS                                                                                                  ADJUNTAS            PR           00601
   151475 ELIMARY GONZALEZ SALTAR                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644810 ELIMARY PABON VARGAS                        PARC SABANA ENEAS          CALLE A BOX 144                                                                      SAN GERMAN          PR           00683
   151476 ELIMETTE MURGA SIERRA                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151478 ELIN MORALES HERNANDEZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151479 ELIN ROSARIO SANTIAGO                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151480 ELIN TROCHE PEREZ                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   151481 ELINA M. CABALLERO ESPINOSA REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELINA MERCADO Y/O JOSE D
   151482 QUINONES                    REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151483 ELINA MONSEGUR ADAMS        REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644813 ELINDA CRUZ DE JESUS        BO DAJAOS                                  RR 8 BOX 9100                                                                        BAYAMON             PR           00956
   644814 ELINES CONTRUTION SE        P O BOX 1909                                                                                                                    COAMO               PR           00769
   151486 ELINES FRANCO MEDINA        REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644817 ELINET RODRIGUEZ DIAZ       URB VILLA PRADES 694                       CALLE ARISTIDES CHAVIER                                                              SAN JUAN            PR           00924
   151488 ELINETTE BRACERO VICENS     REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                      747 CALLE FRANCISCO GARCIA
   644819 ELINNETTE MARRERO CRUZ      FARIA                                                                                                                           DORADO              PR           00646

   151489 ELINOR MARTINEZ RODRIGUEZ                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644821 ELIO ALVAREZ MARTINEZ                       URB VILLA FONTANA          2PL 229 VIA 7                                                                        CAROLINA            PR           00983‐3849
   644820 ELIO CARMONA PEREZ                          121‐9 CALLE 64             VILLA CAROLINA                                                                       CAROLINA            PR           00985

   151490 ELIO D MORCIGLIO FELICIANO                  REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644822 ELIO DE JESUS RODRIGUEZ                     PO BOX 7696                                                                                                     CAROLINA            PR           00986
   151491 ELIO GUAST YIMET                            REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151492 ELIO J RUBIO RIVERA                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151493 ELIO KERCADO RIVERA                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151494 ELIO M DAVID CEDENO                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   644823 ELIO MORCIGLIO RIVERA                       BO FUIG                    HC 37 BOX 8735                                                                       GUANICA             PR           00653
   644824 ELIO ORTIZ ALVAREZ                          URB EL DORADO              G3 CALLE E                                                                           SAN JUAN            PR           00926
   151495 ELIO RAMOS COLON                            REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   644827 ELIO ROSSY MAYO                             6013 AVE ARTERIAL HOSTO 195                                                                                            SAN JUAN             PR           00918
   644828 ELIOENAI SANCHEZ OROZCO                     HC 1 BOX 5757                                                                                                          JUNCOS               PR           00777

   151496 ELIOMAR MELENDEZ MORALES                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151498 ELIOMAR MORALES SANTANA                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   151499 ELIOMAR RODRIGUEZ MARMOL                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151500 ELIOMAR SANCHEZ PEREZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          ELIOMAR SOTO Y BLANCA I
   151501 MALAVE (TUTORA)                             REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   644829 ELIOMER LAUREANO ORTIZ                      PO BOX 8830                                                                                                            CAROLINA             PR           00988‐8830

   151502 ELIONAY BERGOCHEA QUINONEZ REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151503 ELIONER PENA CRUZ          REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151504 ELIONEX MORALES PEREZ      REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   644832 ELIONEXIS VAZQUEZ CARRILLO                  HC 2 BOX 11190                                                                                                         HUMACAO              PR           00791‐9603
   151505 ELIOT AVILES RIVERA                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   644835 ELIOT COLLAZO CAMACHO                       HC 1 BOX 5805                                                                                                          CIALES               PR           00638
   644836 ELIOT FRANCESCON                            30 HOWLAND RD LAKIVILLE                                                                                                LAKEVILLE            MA           02347

   151506 ELIOT HERNANDEZ GONZALEZ                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          ELIOT I COLON Y/O EDDIE TIRE
   644837 CENTER                                      324 AVE BARBOSA                                                                                                        SAN JUAN             PR           00917
   644834 ELIOT MOLINA OQUENDO                        PO BOX 3317                                                                                                            ARECIBO              PR           00613
   644838 ELIOT OTERO ALMODOVAR                       NUEVA VIDA EL TUQUE           Q 106 CALLE E                                                                            PONCE                PR           00728
   644839 ELIOT R CABRERA RAICES                      PARC MATTEI                   A 39 CALLE A                                                                             ARECIBO              PR           00612
   644840 ELIOT RICHARD APONTE                        URB SAN JOSE                  366 CALLE BISBAL                                                                         SAN JUAN             PR           00923
   151507 ELIOT RIVERA RIVERA                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                    A 13 CALLE RAFAELA PESCADOR
   644841 ELIOT ROMERO                                URB LAS VEGAS                 B                                                                                        CANOVANAS            PR           00729
   151508 ELIOT RONDON SUAREZ                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151509 ELIOT S HERNANDEZ RIVERA                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151511 ELIOT VERA ALMA                             REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151512 ELIOT Y GONZALEZ SANCHEZ                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   644844 ELIPSE INC                                  COOP LOS ROBLES               APT 810‐B                                                                                SAN JUAN             PR           00927
   151514 ELIS A SANTIAGO MELENDEZ                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151515 ELIS ALVAREZ MARTINEZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151516 ELIS COLON RIVERA                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   644846 ELIS GONZALEZ GONZALEZ                      RIO GRANDE STATS              A 53 CALLE 7                                                                             RIO GRANDE           PR           00745
   151517 ELIS GONZALEZ PEREZ                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   151518 ELIS J. CARRASQUILLO VAZQUEZ REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   644847 ELIS JANETZA ROSA VAZQUEZ    RR 01 BOX 11520                                                                                                                       TOA ALTA             PR           00953

   644848 ELIS M ANDRADE MOLINA                       COND TORRES DE ANDALUCIA 2 APT 1011                                                                                    SAN JUAN             PR           00926

   644849 ELIS M ANDRADE TELLEIRA                     COND TORRES DE ANDALUCIA 2 APT 1011                                                                                    SAN JUAN             PR           00926

   151519 ELIS M CARABALLO MARTINEZ                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   644850 ELIS M LEON MORALES                         REPTO SAN JOSE                421 CALLE SARRIA                                                                         SAN JUAN             PR           00923
   644851 ELIS M MAYMI SALGADO                        BO MAGUAYO                    CARR 694 KM 3 HM 5                                                                       DORADO               PR           00646



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  151520 ELIS M TORRES                                REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  151522 ELIS MARIN GUADARRAMA                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  151524 ELIS MUNIZ LOZADA                            REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  151525 ELIS N TORRES TORRES                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  644845 ELIS S FIGUEROA RUIZ                         JARDINES DEL CARIBE          CALLE 26 X 19                                                                      PONCE               PR         00728
  151526 ELIS S GOYCO MORALES                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  644852 ELIS S MATIAS SANTIAGO                       NUEVA VIDA EL TUQUE          CALLE 12 BOX 11                                                                    PONCE               PR         00731

   644853 ELIS SAMUEL RIVERA RODRIGUEZ COM JUDEA ESTRUCTURA 126                                                                                                       UTUADO              PR         00641
   151527 ELIS W PACHECO MATOS         REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   644854 ELIS Z VELEZ ROMAN           HC 1 BOX 31322                                                                                                                 JUANA DIAZ          PR         00795
   151528 ELISA A TORRALBES CORREA     REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          ELISA AGRIPINA / ANA M
   644855 BALSEIRO CORDOVA             PO BOX 7142                                                                                                                    SAN JUAN            PR         00916
   644856 ELISA ALVARADO               BDA SANTA ANA                               12‐15 CALLE D                                                                      GUAYAMA             PR         00784
   151529 ELISA ANDREU                 REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   644857 ELISA ANDUJAR DE TORRES      REPTO TERESITA                              D 7 CALLE 6                                                                        BAYAMON             PR         00961
   151530 ELISA ARIAS MERCADO          REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   151531 ELISA ARROYO COSME           REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   644859 ELISA AYALA SANJURJO         RES LUIS LLORENS TORRES                     EDIF 96 APT 1835                                                                   SAN JUAN            PR         00913
   644860 ELISA B RIOS SANTIAGO        TERRAZAS DE GUAYNABO                        C 14 CALLE VIOLETA                                                                 GUAYNABO            PR         00969

   151532 ELISA BEATRIZ ALVAREZ LABAT                 REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   151533 ELISA BENITEZ CALDERON                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   151534 ELISA C REYES BERMUDEZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   151535 ELISA CARABALLO BREBAN                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   644861 ELISA CARDONA ALVAREZ                       7 VILLA BETINA                                                                                                  AGUADILLA           PR         00603
   151536 ELISA CARMONA ALLENDE                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   151537 ELISA CASTRO MORA                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   644862 ELISA CHEVERE RIVERA                        URB VILLAS DE LOIZA          RR 22 CALLE 29                                                                     CANOVANAS           PR         00729
   644863 ELISA COLON PAGAN                           RR 2 BOX 6303                                                                                                   MANATI              PR         00674
   151538 ELISA COLON VELEZ                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   644866 ELISA CORTIJO GONZALEZ                      RES LAS MARGARITAS           EDIF 45 APT 747                                                                    SAN JUAN            PR         00915
   151539 ELISA COTTO DIAZ                            REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   644868 ELISA CRUZ ORTIZ                            URB JARDINES DE RIO GRANDE   AZ 109 CALLE 44                                                                    RIO GRANDE          PR         00745
   644869 ELISA CRUZ PEREZ                            COND INTERSUITE APT 11 E                                                                                        CAROLINA            PR         00979

   151540 ELISA CRUZ Y/O LUIS A DE LEON               REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   151541 ELISA CUADRADO NUNEZ                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   151543 ELISA D MUNOZ LOPEZ                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   644870 ELISA DAVILA JIMENEZ                        BO CANTERA                   129 SUITE 3                                                                        MANATI              PR         00674
   644871 ELISA DE JESUS SANTA                        RR 6 BOX 9836                                                                                                   SAN JUAN            PR         00926
   151544 ELISA DE JESUS SANTOS                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   151546 ELISA DIAZ LOPEZ                            REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   644872 ELISA DIAZ RODRIGUEZ                        URB BRISAS DE LOIZA          46 CALLE GEMINIS                                                                   CANOVANAS           PR         00729
   151547 ELISA E SUAREZ DAVILA                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   644874 ELISA ENID NATAL FELICIANO                  SECTOR PLAYA                 21 PUERTO VIEJO                                                                    PONCE               PR         00716
   644876 ELISA FERRER MARTINEZ                       P O BOX 888                                                                                                     SALINAS             PR         00751
   644877 ELISA FIGUEROA RODRIGUEZ                    URB LOS ARBOLES              204 VEREDA DEL PARQUE                                                              CAROLINA            PR         00987
   151548 Elisa Franco Machicote                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   151549 ELISA GOMEZ MARTINEZ                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   644878 ELISA GONZALEZ ALVARADO                     HC 2 BOX 4681                                                                                                   BAYAMON             PR         00784



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  644879 ELISA GONZALEZ GARCIA                        PO BOX 360083                                                                                                 SAN JUAN           PR         00936‐0083
  644880 ELISA GONZALEZ TORRES                        PO BOX 6262                                                                                                   PONCE              PR         00733
  644882 ELISA GUZMAN                                 4 LA PUNTILLA D 2‐34                                                                                          SAN JUAN           PR         00901
  644883 ELISA I FONTANEZ TORRES                      BOX 1361                                                                                                      TRUJILLO ALTO      PR         00977
  151550 ELISA I GONZALEZ RIVERA                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  151551 ELISA I REYES OLIVERAS                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  644884 ELISA I RIOS HERNANDEZ                       HACIENDAS LAS MERCEDES    27 CALLE IGUALDAD                                                                   CAYEY              PR         00736
         ELISA KARP/ INTEMENT PRODUC
  151552 MANAGER                                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  151553 ELISA LEBRON MIRO                            REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  644887 ELISA LOPEZ CABRERA                          HC 01 BOX 5241                                                                                                BARRANQUITAS       PR         00927
  644888 ELISA LOPEZ LOPEZ                            P O BOX 270                                                                                                   COMERIO            PR         00782
  644889 ELISA LUGO VELEZ                             HC 02 BOX 15802                                                                                               LAJAS              PR         00667
  644890 ELISA M CASTILLO ORTIZ                       URB PALMA REAL            15 DULCINES                                                                         RINCON             PR         00677
         ELISA M FIGUEROA NARVAEZ/
  151554 LUZ S NARVAEZ                                REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   644892 ELISA M HERNANDEZ NEGRON                    78 KINGS COURT APT 4 C                                                                                        SAN JUAN           PR         00911

   644894 ELISA M MARCHAND SANCHEZ                    COND SJ CHATEAU           APT 902 191              CESAR GONZALEZ                                             SAN JUAN           PR         00918
   644895 ELISA M ORTIZ TORRES                        P O BOX 774                                                                                                   COROZAL            PR         00783
   151555 ELISA M ROSADO RIVERA                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   151556 ELISA M TORRES PEREZ                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   644896 ELISA M UMPIERRE                            COND MALAGA PARK          APT 6‐D                                                                             GUAYNABO           PR         00971
   151557 ELISA M. CRUZADO RAMOS                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   151558 ELISA MACHIN FLORES                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   644897 ELISA MALDONADO SOTO                        P O BOX 504                                                                                                   MANATI             PR         00674
   644899 ELISA MENDEZ PAGAN                          COND ARCOS DE CUPEY       650 CECILIANA APTO 504                                                              SAN JUAN           PR         00926
   644900 ELISA MERCADO MARQUEZ                       156 CALLE ANDRES ARUS                                                                                         CAROLINA           PR         00985
   644902 ELISA MODESTO SANCHEZ                       91 CALLE SAN JOSE OESTE                                                                                       GUAYAMA            PR         00764
   644903 ELISA MOLERO BAEZ                           RIO PLANTATION            49 CALLE 2 ESTE                                                                     BAYAMON            PR         00961
   644905 ELISA MURRAY WALDRON                        URB ROLLING HILLS         113 CALLE BRAZIL                                                                    CAROLINA           PR         00987
   151559 ELISA NUNEZ TORRES                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   644906 ELISA OCASIO ROLDAN                         HC 30 BOX 30153                                                                                               SAN LORENZO        PR         00754
   151560 ELISA ORENGO SANTIAGO                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   151561 ELISA ORTIZ MARTINEZ                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   644910 ELISA ORTIZ SOTO                            P O BOX 703                                                                                                   ARROYO             PR         00714
   644912 ELISA OSORIOS HIRALDO                       ANTIGUA VIA CUPEY         Q 2 BLOQUE 17                                                                       SAN JUAN           PR         00925
   644913 ELISA PACHECO RIVERA                        RR 4 BOX 27150                                                                                                TOA ALTA           PR         00953
   151562 ELISA QUINONES SANTANA                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   151563 ELISA QUINONEZ RODRIGUEZ                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   151564 ELISA R GONZALEZ QUINONES                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   151565 ELISA RAMOS REYES                           REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   644915 ELISA RENTAS                                SANTA MONICA              S 11 CALLE 12                                                                       BAYAMON            PR         00957
   644916 ELISA REY HERNANDEZ                         GOLDEN HILLS              C 4 CALLE ANIZETO DIAZ                                                              TRUJILLO ALTO      PR         00976
   644917 ELISA RIVERA ALLENDE                        BDA VISTA ALEGRE          78 CALLE 3                                                                          SAN JUAN           PR         00926
   644918 ELISA RIVERA NEGRON                         JARDINES METROPOLITANO    978 CALLE GUTENBERG                                                                 SAN JUAN           PR         00927
   644919 ELISA RIVERA VDA CESTARYS                   8630 BLACK MESA DR                                                                                            ORLANDO            FL         32829‐8760
   644920 ELISA RODRIGUEZ                             URB BOSQUE DEL LAGO       BH 12 VAIA ARIE                                                                     TRUJILLO ALTO      PR         00976

   151566 ELISA RODRIGUEZ CANDELARIA                  REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   151567 ELISA RODRIGUEZ FIGUEROA                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED




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   644921 ELISA RODRIGUEZ MALDONADO                   P O BOX 1002                                                                                                        SABANA HOYOS         PR           00688
   644923 ELISA ROSARIO DOMINGUEZ                     URB ROYAL TOWN             13‐27 CALLE 34                                                                           BAYAMON              PR           00956‐4504
   151568 ELISA ROSARIO FELICIANO                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   644924 ELISA ROSARIO PIZARRO                       HC 01 BOX 19120                                                                                                     VEGA BAJA            PR           00693
   644925 ELISA SANCHEZ TORRES                        P O BOX 19089                                                                                                       SAN JUAN             PR           00901
   151569 ELISA SANTANA RIVERA                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151570 ELISA SUAREZ OCASIO                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151571 ELISA TAPIA ROSARIO                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151572 ELISA TORRES MUNOZ                          REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

          ELISA VALLE GONZALEZ/CENTRO
   644926 FISIOTERAPIA                                PO BOX 1661                                                                                                         AGUADA               PR           00602
   151574 ELISA VAZQUEZ RIVERA                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151575 ELISA VEGA ALVAREZ                          REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151576 ELISA VEGA COLON                            REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151577 ELISA VELEZ                                 REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151578 ELISA YBARRA CHARRO                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151579 ELISA ZAVALA CALDERON                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151580 ELISABEL CABAN COLON                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151581 ELISABEL DELGADO SANCHEZ                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   644928 ELISABET DIAZ CINTRON                       RR 7 BOX 7610                                                                                                       SAN JUAN             PR           00926
   151582 ELISABET JUSINO RODRIGUEZ                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   644929 ELISABET PEREZ RODRIGUEZ                    P O BOX 1069                                                                                                        VIEQUES              PR           00765
   151583 ELISABET REYES PAGAN                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151584 ELISABET RIVERA FIGUEROA                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   644930 ELISABET RODRIGUEZ ORTIZ                    URB SANTIAGO IGLESIAS      1784 AVE PAZ GRADELA                                                                     SAN JUAN             PR           00921
   644931 ELISABETH ALVARES TORRES                    URB VALLE DE ARAMANA       7 CALLE FLAMBOYAN                                                                        COROZAL              PR           00783

   151586 ELISADDAI RIVERA MALDONADO REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          ELISADEL FIGUEROA
   151587 HERNANADEZ                 REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   151588 ELISADEL FIGUEROA HERNANDEZ REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   644932 ELISAIRIS VALLE RODRIGUEZ   URB VILLA NORMA                            H 2 CALLE 1                                                                              QUEBRADILLAS         PR           00678

   644933 ELISAMAR SANTIAGO ROSARIO                   EXT GATONI                 A 21 CALLE PEDRO CRESPO                                                                  VEGA BAJA            PR           00693

   644934 ELISAMARIE COLON RODRIGUEZ                  COND RIVERSIDE PLAZA       74 CALLE STA CRUZ APTO 17 A                                                              BAYAMON              PR           00961
   644935 ELISAMIR VARGAS CRUZ                        URB VISTA AZUL             V 12 CALLE 24                                                                            ARECIBO              PR           00612
   151589 ELISAMUEL LOPEZ SANTIAGO                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          ELISAMUEL MARTINEZ
   644938 ANTONELLY                                   URB LOS MAESTROS           462 CALLE T AGUILAR                                                                      SAN JUAN             PR           00926
   151590 ELISAMUEL MARTINEZ DIAZ                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   644939 ELISAMUEL MCKENZIE ADORNO HC 05 BOX 11248                                                                                                                       COROZAL              PR           00783
   151591 ELISAMUEL MOLINA PARRILLA REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   644942 ELISAMUEL OTERO RODRIGUEZ                   307 CALLE GENERAL VALERO                                                                                            FAJARDO              PR           00738

   151592 ELISAMUEL QUINONEZ TORRES                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   644943 ELISAMUEL RAMIREZ LEON                      PO BOX 10163                                                                                                        SAN JUAN             PR           00908
   151593 ELISAMUEL RAMIREZ LOZADA                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  644944 ELISAMUEL REYES SUAREZ                       HC 1 BOX 5012                                                                                            SALINAS             PR         00751
  644945 ELISAMUEL SALAMO PEREZ                       BO GUAVATE 22550                                                                                         CAYEY               PR         00736
  644936 ELISAMUEL TRUJILLO GARCIA                    HC 1 BOX 6035                                                                                            JUNCOS              PR         00777
  151595 ELISANDRA NUNEZ GREEN                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  151596 ELISANDRA ORTIZ                              REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  151597 ELISANDRA RIVERA RIVERA                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         ELISANDRA RODRIGUEZ
  644949 MORENO                                       HC 1 BOX 19129                                                                                           COAMO               PR         00769
         ELISANDRO BAEZ Y MARDA Z
  644950 RIVERA                                       PO BOX 911                                                                                               COMERIO             PR         00782
  644951 ELISANIA MEDINA VAZQUEZ                      URB JAIME L DREW       238 CALLE A                                                                       PONCE               PR         00731
  151599 ELISAUL VAZQUEZ ROSARIO                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  644953 ELISAURA CUEVAS RAMIREZ                      BO SANTANA             105 SAGRADO CORAZON                                                               ARECIBO             PR         00612
  151600 ELISAURA VEGA                                REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  644955 ELISBEL TORRES ORTIZ                         425 SECTOR LA GRANJA                                                                                     UTUADO              PR         00641
  151602 ELISCAMIL RAMIREZ ORTIZ                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         ELISCO SOFTWARE
  151603 CONSULTANTS                                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         ELISCO SOFTWARE
  151604 CONSULTANTS CORP                             REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  151605 ELISEL CINTRON MARZAN                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  644958 ELISEL CUADRADO COLON                        RR 4 BOX 1321                                                                                            BAYAMON             PR         00956
  644959 ELISEL OTERO ADORNO                          LAS AMAPOLAS                                                                                             CAROLINA            PR         00979
  151606 ELISELOTTE VAZQUEZ LEON                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  151607 ELISEO ACEVEDO DIAZ                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  151608 ELISEO ACEVEDO RIOS                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  151609 ELISEO ARCE MORELL                           REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  644963 ELISEO ATANACIO ORTIZ                        RR4 BOX 517                                                                                              BAYAMON             PR         00956
  644964 ELISEO BARBOSA TORRES                        754 BO DAGUAO                                                                                            NAGUABO             PR         00718
  644965 ELISEO BERRIOS ROSADO                        HC 71 BOX 1118                                                                                           NARANJITO           PR         00719
         ELISEO CAPPAS FELICIANO
  151611 CAPPAS BUS LINE                              HC 02 BOX 7816                                                                                           GUAYANILLA          PR         00656‐9761
  644966 ELISEO CARABALLO                             PO BOX 1490                                                                                              CABO ROJO           PR         00623
  151612 ELISEO COLON VAZQUEZTELL                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  151615 ELISEO COTTO MARTINEZ                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  151616 ELISEO DIAZ MOLINA                           REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  644967 ELISEO ECHEVARRIA SANTOS                     LAS LOMAS              763 CALLE 29 SO                                                                   SAN JUAN            PR         00922
  644968 ELISEO GAETAN MEJIAS                         PO BOX 8987                                                                                              SAN JUAN            PR         00901

   644969 ELISEO GONZALEZ RODRIGUEZ                   HC 03 BOX 32241                                                                                          HATILLO             PR         00659

   151617 ELISEO GONZALEZ Y LUZ GOITYA                REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151618 ELISEO HERNANDEZ ORTEGA                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151619 ELISEO LOPEZ RESTO                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644962 ELISEO LOZADA MEDINA                        HC 04 BOX 15654                                                                                          HUMACAO             PR         00791‐9482
   644971 ELISEO MALDONADO ROSA                       PO BOX 821                                                                                               DORADO              PR         00646
   644972 ELISEO MARTINEZ GONZALEZ                    PO BOX 359                                                                                               SABANA HOYOS        PR         00688
   151620 ELISEO MIRANDA COLON                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151622 ELISEO MOLINA ESTRADA                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644973 ELISEO MORALES BERRIOS                      PO BOX 297                                                                                               NARANJITO           PR         00719
   151623 ELISEO NIEVES ACEVEDO                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151624 ELISEO NIEVES AGOSTO                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151625 ELISEO NIEVES FONTANEZ                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  151627 ELISEO NUNEZ LUGO                             REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  644975 ELISEO OJEDA DEL VALLE                        PO BOX 3353                                                                                                            BAYAMON             PR         00958
  644976 ELISEO OTERO                                  P O BOX 79184                                                                                                          SAN JUAN            PR         00902
  644961 ELISEO PAGAN APONTE                           PO BOX 1025                                                                                                            TOA BAJA            PR         00951

   644977 ELISEO PEREZ SANCHEZ                         VILLA PRADES                  688 CALLE FRANCISCO P CORTES                                                             SAN JUAN            PR         00924
   151628 ELISEO REYES COREANO                         REDACTED                      REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151629 ELISEO RIOS VELAZQUEZ                        REDACTED                      REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151630 ELISEO RIVERA BAEZ                           REDACTED                      REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644979 ELISEO RIVERA COLON                          BARRIO PALO ALTO 8                                                                                                     MANATI              PR         00674
   644980 ELISEO RIVERA CORTES                         BARRIO BUENA VISTA            123 CALLE PALMA REAL                                                                     CAROLINA            PR         00985
   151631 ELISEO RIVERA SANTANA                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644982 ELISEO ROBLES MONJE                          PO BOX 7126                                                                                                            PONCE               PR         00732
   644983 ELISEO RODRIGUEZ ALBELO                      PO BOX 12365                                                                                                           SAN JUAN            PR         00926‐1365
   644985 ELISEO ROMAN RIVERA                          PO BOX 924                                                                                                             NARANJITO           PR         00719
   644986 ELISEO RUIZ CAMACHO                          B 5 BORINQUEN                                                                                                          TRUJILLO ALTO       PR         00976
   151632 ELISEO RUIZ PEREZ                            REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151633 ELISEO SANCHEZ DIAZ                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644987 ELISEO SOTO SANTIAGO                         P O BOX 1087                                                                                                           SANTA ISABEL        PR         00757
   151635 ELISEO SUSTACHE VAZQUEZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151613 ELISEO TOLEDO RODRIGUEZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   644989 ELISEO TORRES FIGUEROA                       HC 1 BOX 4313                                                                                                          VILLALBA            PR         00766‐9712
   644990 ELISEO VIDAL MARTINEZ                        P O BOX 1413                                                                                                           CABO ROJO           PR         00623
   644991 ELISHA A COLGRAM                             PO BOX 107                                                                                                             CEIBA               PR         00735
   151637 ELISHA FELICIANO MARTINEZ                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151638 ELISHA I RIVERA BAEZ                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151639 ELISHALEM NEGRON MUNOZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151640 ELISINA CALCANO RIVERA                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                     A 46 INTERIOR CALLE
   644993 ELISINA DELBREY HERNANDEZ                    VILLA JUSTICIA                PARQUECITO                                                                               CAROLINA            PR         00987
   644994 ELISMAEL CIRINO RIVERA                       187 PARCELAS SUAREZ                                                                                                    LOIZA               PR         00772
   151642 ELISSA J BRAWN SCHEER                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151643 ELISSA J. CHAZDON                            REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151644 ELISSETTE VAZQUEZ BATISTA                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   151645 ELITE BCO. LLC                               PO BOX 9023165                                                                                                         SAN JUAN            PR         00902
   644996 ELITE BLINDS                                 P O BOX 1366                                                                                                           ISABELA             PR         00632
          ELITE BUSINESS CONSULTANT,
   151646 LLC                                          1511 AVE. PONCE DE LEON       SUITE 153                                                                                SAN JUAN            PR         00906

   151647 ELITE BUSINESS CONSULTANTS                   161 AVENIDA PONCE DE LEON     SUITE 201                                                                                SAN JUAN            PR         00917‐1205
   151648 ELITE CLEANING SERVICES INC                  252 PONCE DE LEON AVE         SUITE 301                                                                                SAN JUAN            PR         00918
   644997 ELITE SECURITY GROUP                         P O BOX 21234                                                                                                          SAN JUAN            PR         00928
   644998 ELITE SECURITY SERVICE                       COND LAGUNA GARDEN            SUITE E                                                                                  CAROLINA            PR         00979
   151652 ELITE SERIES GROUP INC                       URB RIO PIEDRAS HEIGHTS       1631 CALLE TIGRIS                                                                        SAN JUAN            PR         00926
   644999 ELITE SPORT                                  PO BOX 7679                                                                                                            SAN JUAN            PR         00916
   645000 ELITE SPORT SHOP                             53 SECTOR LA PRA              BO LAS CUEVAS                                                                            TRUJILLO ALTO       PR         00976
   151653 ELITE VERTICAL SUPPLY                        URB VILLA CAROLINA            AVE ROBERTO CLEMENTE          BLOQ 123 NÚM 24                                            CAROLINA            PR         00985

   645001 ELITE VERTICAL SUPPLY INC                    VILLA CAROLINA                123‐24 AVE ROBERTO CLEMENTE                                                              CAROLINA            PR         00985

   151654 ELITEBCO LLC                                 161 AVE PONCE DE LEON STE 201                                                                                          SAN JUAN            PR         00917
   645002 ELITH RIVERA IRIZARRY                        URB GLENVIEW GARDENS          CC 6 CALLE N 14                                                                          PONCE               PR         00731
   151656 ELITHET SILVA MARTINEZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  151657 ELIU A DAVILA PIZARRO                        REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  645004 ELIU CORNIER MEDINA                          HC 02 BOX 11286                                                                                           MOCA              PR         00676
  645007 ELIU HERNANDEZ DIAZ                          PO BOX 16429                                                                                              SAN JUAN          PR         00908‐6429
  645008 ELIU HERNANDEZ GASTON                        URB VILLA CAROLINA    515 204 CALLE 16                                                                    CAROLINA          PR         00979
  151659 ELIU IRIZARRY NEGRON                         REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  645009 ELIU N GUZMAN SANTIAGO                       PO BOX 9300851                                                                                            SAN JUAN          PR         00928‐0851
  151660 ELIU ORTIZ ROSARIO                           REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  151662 ELIU PARRILLA SANCHEZ                        REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  645011 ELIU R ECHEVARRIA ALVAREZ                    P O BOX 619                                                                                               MERCEDITA         PR         00715
  645012 ELIU RIVERA LUCENA                           PLAZA ESCORIAL        PARQUE DE LAS FLORES     APTO 2504                                                  CAROLINA          PR         00987
  151663 ELIUBERTO TORRES CRUZ                        REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  151664 ELIUD A DEL TORO RIVERA                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  645014 ELIUD ALVAREZ ARCE                           P O BOX 1948                                                                                              ISABELA           PR         00662
  151665 ELIUD ALVAREZ LOPEZ                          REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         ELIUD BALLESTER Y LUZ M
  151666 JIMENEZ                                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  151667 ELIUD BARRETO FERNANDEZ                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  151668 ELIUD BERRIOS RIOS                           REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         ELIUD BERRIOS Y ANGELA
  151669 FONTANEZ                                     REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  645015 ELIUD BURGOS SANTIAGO                        77 BALDWIN LANE                                                                                           WILLINBORO        WI         08046‐1530
  151670 ELIUD DE JESUS SANTANA                       REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  645016 ELIUD DEIDA VALENTIN                         7 CALLE ESPERNZA                                                                                          CAMUY             PR         00627
  151671 ELIUD DEL TORO RIVERA                        REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  645017 ELIUD ESPINOSA DIAZ                          P O BOX 9303                                                                                              HUMACAO           PR         00792
  151672 ELIUD GERENA LOPEZ                           REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  151673 ELIUD GOMEZ CRUZ                             REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         ELIUD JUARBE CRUZ DBA EJC
  151674 CONSULTORES &                                ASOCIADOS             PMB 1089                 243 CALLE PARIS                                            SAN JUAN          PR         00917‐3632
         ELIUD JUARBE DBA EJC                                               JARD BAYAMONTE 30 C/
  151675 CONSULTORES &                                ASOCIADOS             PELICANO                                                                            BAYAMON           PR         00956
  151677 ELIUD M. DIAZ GONZALEZ                       REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   645022 ELIUD MANUEL DIAZ GONZALEZ                  P O BOX 1123                                                                                              CAMERIO           PR         00782
   151678 ELIUD MARRERO MORALES                       REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   645023 ELIUD MARTINEZ TIRU                         ESTACION PALOMAS      P O BOX 2055                                                                        YAUCO             PR         00698
   151680 ELIUD MASSAS BONILLA                        REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   645024 ELIUD MERCADO AVILES                        PO BOX 1489                                                                                               BARCELONETA       PR         00617‐1489
   151682 ELIUD MUNIZ RAMOS                           REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   151683 Eliud Ramos Nieves                          REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   645027 ELIUD RIVERA GABRIEL                        PMB 178               PO BOX 2400                                                                         TOA BAJA          PR         00951
   151684 ELIUD RIVERA ROSA                           REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   151685 ELIUD RIVERA ZAMBRANA                       REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   645028 ELIUD RODRIGUEZ MESTRE                      PLAYA HUCARES         BOX 20‐A                                                                            NAGUABO           PR         00718
   645029 ELIUD RODRIGUEZ OCASIO                      URB VILLAS DEL SOL    407 CALLE TORREMOLINOS                                                              CAROLINA          PR         00985
   151687 ELIUD ROMAN MARRERO                         REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   151688 ELIUD ROMERO BALBUENA                       REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   151689 ELIUD RUBIO RODRIGUEZ                       REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   151690 ELIUD S MENDEZ BONILLA                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   645031 ELIUD S PIZARRO OROZCO                      URB VILLA FONATANA    3PN6 VIA 68                                                                         CAROLINA          PR         00983
   151692 ELIUD SANCHEZ RODRIGUEZ                     REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   645032 ELIUD SANCHEZ RUIZ                          URB APRIL GARDENS     202 CALLE 23                                                                        LAS PIEDRAS       PR         00771
   645033 ELIUD SANTANA CAQUIAS                       PO BOX 7126                                                                                               PONCE             PR         00732



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  645034 ELIUD SOLIVAN PEREZ          HC 43 BOX 10964                                                                                                               CAYEY                PR         00736
  151693 ELIUD SOTO ALCAZAR           REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  151694 ELIUD SOTO SALAZAR           REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         ELIUD TORRES COLON / EQ PONY
  645035 STA ISABEL                   PO BOX 516                                                                                                                    SANTA ISABEL         PR         00757
  645036 ELIUD TORRES VILLEGAS        HC 04 BOX 47602                                                                                                               CAGUAS               PR         00725
         ELIUD VALENTIN DBA E & M
  645037 VERTICAL                     VALLE TOLIMA                               D 19 AVE RICKY SEDQA                                                               CAGUAS               PR         00725
  645038 ELIUD ZAYAS SANTIAGO         JACAGUAS                                   HC 03 BOX 11050                                                                    JUANA DIAZ           PR         00795
  151695 ELIUS ROBLES BENITEZ         REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  151696 ELIUT BERRIOS GARCIA         REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  151698 ELIUT CONSTRUCTION           P O BOX 1588                                                                                                                  OROCOVIS             PR         00720
  151699 ELIUT FIGUEROA GONZALEZ      REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  645041 ELIUT IRIZARRY MERCADO       BOX 630                                                                                                                       LARES                PR         00669
  645042 ELIUT MAISONET DE JESUS      4TA EXT VILLA CAROLINA                     19 BLOQ 145 CALLE 416                                                              CAROLINA             PR         00985
  151701 ELIUT ORTIZ MALDONADO        REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  151702 ELIUT REYES MUNOZ            REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  645044 ELIUT RIVERA NEVAREZ         BO ESPINOSA                                HC 80 BOX 8329                                                                     DORADO               PR         00646
  151703 ELIUT ROBLES REYES           REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   645045 ELIUT RODRIGUEZ HERNANDEZ                    URB LA ESPERANZA          B 5 APT 1                                                                          JUANA DIAZ           PR         00795
   151704 ELIUT ROSA HERNANDEZ                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   151705 ELIUT SOTO RODRIGUEZ                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   645046 ELIUTT DE JESUS AYALA                        URB VALENCIA              524 CALLE BAENA                                                                    SAN JUAN             PR         00923
   645047 ELIVETT ORONA ESTRONZA                       HC 1 BOX 4481                                                                                                ADJUNTAS             PR         00601
   151706 ELIX A MELENDEZ SANTIAGO                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   645048 ELIX JOHANY JIMENEZ TORRES                   HC 04 BOX 18050                                                                                              CAMUY                PR         00627
   151708 ELIX M AYALA NIEVES                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   645049 ELIX M PLACERES PEREZ                        P O BOX 5529                                                                                                 HUMACAO              PR         00792
   645050 ELIX RIVERA ROUCHET                          URB GLENVIEW GARDENS      AA 17 CALLE N17                                                                    PONCE                PR         00730
   645051 ELIX VELEZ OTERO                             ESTANCIAS DE TORTUGUERO   367 CALLE TARTAGO                                                                  VEGA BAJA            PR         00693
   645052 ELIZ I RIVERA NEGRON                         HC 01 BOX 6395 1                                                                                             MOROVIS              PR         00687
   151710 ELIZ I TORRES QUINONEZ                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   151711 ELIZ M LOPEZ / LUIS A SILVA                  REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   151712 ELIZ Y MARTINEZ BELLBER                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   151715 ELIZA BURGOS MARTINEZ                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   645053 ELIZA CRUZ                                   URB CAMPANILLAS           A 19 CALLE EURO                                                                    TOA BAJA             PR         00949
   645054 ELIZA CRUZ CASTRO                            1 ROD OLMO                CALLE E                                                                            ARECIBO              PR         00612
   151721 ELIZA GONZALEZ FERNANDEZ                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   151723 ELIZA J. LOPEZ NUNEZ                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   645055 ELIZA M GALARZA RODRIGUEZ                    1 ENCENADA                1 CALLE LAS BRUJAS                                                                 GUANICA              PR         00647
   645057 ELIZA M GONZALEZ SUAREZ                      VILLAS DEL MAR CARIBE     SOLAR F9                                                                           GUAYAMA              PR         00787

   645058 ELIZA M RODRIGUEZ CARABALLO PO BOX 2245                                                                                                                   SAN GERMAN           PR         00683
   645059 ELIZA MARTINEZ SANTANA      RES MANUEL A PEREZ                         EDIF A 2 APT 29                                                                    SAN JUAN             PR         00923
   151726 ELIZA ORTIZ RIVERA          REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   645061 ELIZA PLASA BORIA           HC 03 BOX 22406                                                                                                               RIO GRANDE           PR         00745
   151729 ELIZA QUILES SANTIAGO       REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   645062 ELIZA RESTO AGOSTO          BARRIO MANGO                               PARCELA 211                                                                        JUNCOS               PR         00777
   645063 ELIZA RIOS MENDEZ           P O BOX 727                                                                                                                   LAS PIEDRAS          PR         00771
   645064 ELIZA VEGA                  79 CALLE EVARISTO VAZQUEZ                                                                                                     CAYEY                PR         00736



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          ELIZABETH A DALLMAYR
   151740 VAZQUEZ                                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      CONDOMINIO MONTE REY
   645074 ELIZABETH A LAUZURIQUE                      ESTATES                        9 AVE LAGUNA 124                                                                  CAROLINA            PR           00979
   645075 ELIZABETH A TORMES                          PMB 2 PO BOX 605703                                                                                              AGUADILLA           PR           00605
   645076 ELIZABETH A. PINTADO DIAZ                   URB JARDINES DE CAGUAS         B 71 C STREET                                                                     CAGUAS              PR           00725
   151741 ELIZABETH ABELA FARDONK                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151742 ELIZABETH ABELLA FARDONK                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151743 ELIZABETH ABRIL GRAJALES                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645077 ELIZABETH ACEVEDO                           48 CALLE BTANCES APT 8 BZN 8                                                                                     CAGUAS              PR           00725

   645078 ELIZABETH ACEVEDO MARTINEZ                  BOX 1938                                                                                                         SAN SEBASTIAN       PR           00685
   151744 ELIZABETH ACEVEDO VARGAS                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151745 ELIZABETH ACOSTA VEGA                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645082 ELIZABETH ALEMAN QUILES                     7 BDA ARIZONA                                                                                                    LARES               PR           00669
   151746 ELIZABETH ALERS                             REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645083 ELIZABETH ALFONSO MURPHY                    URB VEVE CALZADA               F 35 CALLE 16                                                                     FAJARDO             PR           00738
   151747 ELIZABETH ALICEA                            REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151748 ELIZABETH ALICEA CRESPO                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645084 ELIZABETH ALICEA RODRIGUEZ                  URB VILLA NUEVA                K 33 CALLE 5                                                                      CAGUAS              PR           00725
   645085 ELIZABETH ALICEA TOMASSINI                  RR 02 BOX 7570                                                                                                   CIDRA               PR           00739‐9748
   645087 ELIZABETH ALICEA TORRES                     HC 71 BOX 16263                                                                                                  BAYAMON             PR           00956
   645088 ELIZABETH ALICEA VELEZ                      HC 3 BOX 9724                                                                                                    LARES               PR           00669
   151749 ELIZABETH ALMESTICA LOPEZ                   REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH ALMODOVAR
   151750 FIGUEROA                                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   151751 ELIZABETH ALVARADO RIVERA                   REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645091 ELIZABETH ALVARADO TORRES                   LUQUILLO MAR                   CC 33 CALLE C                                                                     LUQUILLO            PR           00773
          ELIZABETH ALVAREZ DE
   645092 BARBOSA                                     PO BOX 2423                                                                                                      BAYAMON             PR           00960
   645093 ELIZABETH ALVAREZ ORTIZ                     P O BOX 721                                                                                                      SALINAS             PR           00751
   645094 ELIZABETH ALVAREZ SOTO                      C 13 URB ALHAMBRA                                                                                                FAJARDO             PR           00738
   151752 ELIZABETH ANDINO REYES                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151753 ELIZABETH ANDINO VAZQUEZ                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151755 ELIZABETH ANDUJAR ROSADO                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151756 ELIZABETH APONT MOJCA                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151757 ELIZABETH APONTE                            REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151758 ELIZABETH APONTE AYALA                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645097 ELIZABETH APONTE OSORIO                     PO BOX 9321                                                                                                      BAYAMON             PR           00960
   645098 ELIZABETH APONTE RIVERA                     VILLAS DEL REY                 LL 25 CALLE 17                                                                    CAGUAS              PR           00725

   645099 ELIZABETH APONTE RODRIGUEZ P O BOX 478                                                                                                                       BARRANQUITAS        PR           00794

   151759 ELIZABETH ARBELO RODRIGUEZ                  REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151760 ELIZABETH ARCE COLON                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151761 ELIZABETH ARCHILLA RIVERA                   REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645101 ELIZABETH ARROYO CRUZ                       HC 01 BOX 4345                                                                                                   YABUCOA             PR           00767
   645102 ELIZABETH ARROYO OJEDA                      2155 PASEO ATENAS                                                                                                TOA BAJA            PR           00949



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  645103 ELIZABETH AVILES                             LOMAS VERDES                4A 34 VERBENA                                                                    BAYAMON           PR         00956
  151764 ELIZABETH AVILES MARTINEZ                    REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  151765 ELIZABETH AVILES ROSARIO                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  645104 ELIZABETH AYALA                              HC 02 BOX3775                                                                                                LUQUILLO          PR         00773
  151766 ELIZABETH AYALA DURAN                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  151767 ELIZABETH AYALA MARTINEZ                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  645105 ELIZABETH AYALA MENDEZ                       HC 02 BOX 15019                                                                                              ARECIBO           PR         00612
  151768 ELIZABETH BADILLO RIVERA                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  151769 ELIZABETH BAEZ                               REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  645107 ELIZABETH BAEZ CAMACHO                       HC 1 BOX 5758                                                                                                GUAYNABO          PR         00971
  151770 ELIZABETH BAEZ MARRERO                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  645108 ELIZABETH BAEZ PEREZ                         PO BOX 4287                                                                                                  CAROLINA          PR         00984
  645109 ELIZABETH BAEZ TOLLENS                       PO BOX 2668                                                                                                  GUAYNABO          PR         00970
  151771 ELIZABETH BAEZ VEGA                          REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  645110 ELIZABETH BAISI PASTOR                       URB LOIZA VALLEY            728 CALLE COROLA                                                                 CANOVANAS         PR         00729

   151772 ELIZABETH BARBOSA RODRIGUEZ REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   645111 ELIZABETH BARRETO MARQUEZ                   PO BOX 2394                                                                                                  MOCA              PR         00676
   645112 ELIZABETH BARRETO ORTIEZ                    PMB 142 P O BOX 607071                                                                                       BAYAMON           PR         00960‐7071
          ELIZABETH BAUZO CARABALLO
   151773 Y/O                                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   645066 ELIZABETH BENIQUEZ BENIQUEZ URB PARKSIDE                                C 11 CALLE 4                                                                     GUAYNABO          PR         00968‐3305
   645113 ELIZABETH BENITEZ RIVERA    RES BUENA VISTA                             ED 6 APT 22                                                                      GURABO            PR         00778

   645114 ELIZABETH BERNARD MARCANO HC 71 BOX 1538                                                                                                                 NARANJITO         PR         00719
   645115 ELIZABETH BERRIOS TIRADO  URB PRADERAS DEL SUR                          714 CALLE CEDRO                                                                  SANTA ISABEL      PR         00757‐2057
          ELIZABETH BETANCOURT
   151774 HERNANDEZ                 REDACTED                                      REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                    38 CENTRO COMERCIAL
   645117 ELIZABETH BLANC ACEVEDO   HUMACAO                                                                                                                        HUMACAO           PR         00791
   151775 ELIZABETH BONET ROJAS     REDACTED                                      REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   645119 ELIZABETH BONILLA         400 CALAF SUITE 329                                                                                                            SAN JUAN          PR         00918

   151776 ELIZABETH BONILLA RODRIGUEZ REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   645120 ELIZABETH BONILLA RUIZ      PO BOX 9191                                                                                                                  CAROLINA          PR         00988 9191

   645121 ELIZABETH BORRERO SANTIAGO URB CAMPO ALEGRE                             l ‐ 17 CALLE CEREZA                                                              BAYAMON           PR         00956
                                     B15 INTERAMERIAN GARDEN
   645122 ELIZABETH BOURBON PI A     APTS APT 1A                                                                                                                   TRUJILLO ALTO     PR         00976

   645123 ELIZABETH BOURDON ACEVEDO PO BOX 1050 VICTORIA STA                                                                                                       AGUADILLA         PR         00603

   645124 ELIZABETH BRACERO CINTRON                   PO BOX 5737                                                                                                  MAYAGUEZ          PR         00681
          ELIZABETH BRAILOWSKY
   151777 CABRERA                                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   151779 ELIZABETH BURGOS GUTIERREZ                  REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   645126 ELIZABETH BURGOS VAZQUEZ                    URB LA MARINA               E 39 CALLE DALIA                                                                 CAROLINA          PR         00979
   151781 ELIZABETH BUSIGO CUEBAS                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ELIZABETH CABAN
   645129 ENCARNACION                                 ESTANCIAS DE SAN FERNANDO   A 9 CALLE 4                                                                      CAROLINA          PR         00985



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  151782 ELIZABETH CABAN MANSON                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  151783 ELIZABETH CABAN TELLEZ                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  645130 ELIZABETH CABASSA ROSARIO                    PO BOX 366425                                                                                                 SAN JUAN             PR         00936‐6425

   151785 ELIZABETH CABRERA GONZALEZ REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   645132 ELIZABETH CABRERA RIVERA   BL 36 EXT STA TERESITA                                                                                                         PONCE                PR         00730
   645133 ELIZABETH CALERO PEREZ     PO BOX 29597                                                                                                                   SAN JUAN             PR         00929‐0597
   645134 ELIZABETH CALO OCASIO      PO BOX 335 CAROLINA STA                                                                                                        CAROLINA             PR         00986

   151786 ELIZABETH CAMACHO ACOSTA                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151788 ELIZABETH CAMILO LOPEZ                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   645136 ELIZABETH CANALES MUNDO                     HC 1 BOX 11512                                                                                                CAROLINA             PR         00987

   645137 ELIZABETH CANCEL CARABALLO                  P O BOX 757                                                                                                   TRUJILLOA ALTO       PR         00977‐0757
   151789 ELIZABETH CANCEL RIVERA                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          ELIZABETH CANDELARIO
   151790 HERNANDEZ                                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151791 ELIZABETH CARABALLO MASS                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   645138 ELIZABETH CARDONA PEREZ                     HC 71 BOX 2568                                                                                                NARANJITO            PR         00719
          ELIZABETH CARRASQUILLO
   645139 CALDERON                                    TORRECILLA ALTA          P 124 CALLE 14                                                                       CANOVANAS            PR         00729

   151792 ELIZABETH CARRERO SANTIAGO                  REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151793 ELIZABETH CARRERO SOTO                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151794 ELIZABETH CARRION DEL RIO                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   645141 ELIZABETH CARTAGENA                         OFIC SUPTE TOA BAJA 1    PO BOX 5                                                                             SAN JUAN             PR         00949
   151795 ELIZABETH CASADO IRIZARRY                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   645142 ELIZABETH CASANOVA CIRINO                   832 CALLE ANGEL MISLAN                                                                                        SAN JUAN             PR         00924
   645144 ELIZABETH CASILLAS AROCHO                   PO BOX 754                                                                                                    VEGA ALTA            PR         00692

   151797 ELIZABETH CASTILLO ARTIQUEZ                 REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   645146 ELIZABETH CASTILLO PEREZ                    PO BOX 1105                                                                                                   RINCON               PR         00677
   151798 ELIZABETH CASTILLO RIVERA                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151799 ELIZABETH CASTRO ALGARIN                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151800 ELIZABETH CASTRO REMIGIO                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   645148 ELIZABETH CASTRO RODRIGUEZ                  HC 01 BOX 11648                                                                                               CAROLINA             PR         00987

   151801 ELIZABETH CASTRO SANTIAGO                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151802 ELIZABETH CASTRO VEGA                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   151803 ELIZABETH CENDOYA DE FERIA                  REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151804 ELIZABETH CENTENO COLON                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151805 ELIZABETH CENTENO TORRES                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151806 ELIZABETH CHARLES CLAUDIO                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   645151 ELIZABETH CINTRON CASANOVA VENUS PLAZA B                             130 COSTA RICA APTO 705                                                              SAN JUAN             PR         00917

   645152 ELIZABETH CINTRON DE JESUS                  BOX 383                                                                                                       VILLALBA             PR         00766
   645154 ELIZABETH CINTRON ORTIZ                     URB REXVILLE             CALLE 50 AQ 26                                                                       BAYAMON              PR         00957
   151808 ELIZABETH CINTRON PEREZ                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   151809 ELIZABETH CINTRON RIVERA                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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   645156 ELIZABETH CINTRON RODRIGUEZ PO BOX 267                                                                                                                       ARROYO               PR           00714

   151810 ELIZABETH CINTRON VAZQUEZ    REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   645158 ELIZABETH CLAUDIO MOLINA     RES DAVILA FREYTE                           EDIF 6 APT 11                                                                       BARCELONETA          PR           00617
   151814 ELIZABETH COLLAZO COLON      REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151816 ELIZABETH COLON              REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151819 ELIZABETH COLON DELGADO      REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151820 ELIZABETH COLON MARRERO      REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   645162 ELIZABETH COLON OJEDA        12 COND GRAND ATRIUM                                                                                                            CONDADO              PR           00907
          ELIZABETH COLON PARA AGNEL
   151822 A GUZMAN                     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          ELIZABETH COLON PARA JORGE A
   151823 GUZMAN                       REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          ELIZABETH COLON PARA
   151824 LIADYSVETT ACEVEDO           REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151825 ELIZABETH COLON PEREZ        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   645163 ELIZABETH COLON RAMOS        VILLA FONTANA                               15 VIA GR 14                                                                        CAROLINA             PR           00983
   645164 ELIZABETH COLON RIVERA       BO ANCONES                                  2 CALLEJON SIMPSON INT                                                              SAN GERMAN           PR           00685

   645167 ELIZABETH CONCEPCION LOPEZ                  URB SAN VICENTE              131 CALLE 7                                                                         VEGA BAJA            PR           00693
          ELIZABETH CONTRERAS
   151826 ALVARADO                                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151827 ELIZABETH CORDOVA                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   645170 ELIZABETH CORIANO SANTOS                    HC 2 BOX 13600                                                                                                   AGUAS BUENAS         PR           00703

   151828 ELIZABETH CORREA GONZALEZ                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   645171 ELIZABETH CORTES ALEJANDRO                  PO BOX 1624                                                                                                      GUAYNABO             PR           00970
   645172 ELIZABETH CORTES DE SOLER                   URB PALACIO REALES           BOX 8 A2 CALLE RAMBENA                                                              TOA ALTA             PR           00953
   645173 ELIZABETH CORTES LORENZO                    PASEO UNIVERSITARIO          10 CALLE COLOMBIA                                                                   AGUADILLA            PR           00603
   151829 ELIZABETH CORTES MILLIAM                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151830 ELIZABETH COSME                             REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151831 ELIZABETH COSS MARTINEZ                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   645175 ELIZABETH COTTO GARCIA                      VILLA HUMACAO                M 2 CALLE 3                                                                         HUMACAO              PR           00791
   151832 ELIZABETH COTTO RIVERA                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   645177 ELIZABETH COTTO VILLEGAS                    RES VILLA ESPERANZA          EDIF 15 APT 216                                                                     SAN JUAN             PR           00926
   645179 ELIZABETH CRUZ AGOSTO                       URB VANSCOY                  G 14 CALLE 13                                                                       BAYAMON              PR           00956
   151833 ELIZABETH CRUZ BRACERO                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151834 ELIZABETH CRUZ CRUZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151837 ELIZABETH CRUZ GARCIA                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151838 ELIZABETH CRUZ GONZALEZ                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   645178 ELIZABETH CRUZ LOPEZ                        RES COLUMBUS LANDING         EDIF 11 APT 120                                                                     MAYAGUEZ             PR           00680
   645183 ELIZABETH CRUZ PAGAN                        HP ‐ REGISTRO DE PACIENTES                                                                                       RIO PIEDRAS          PR           00936‐0000
   151839 ELIZABETH CRUZ RIGUEROA                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   151840 ELIZABETH CRUZ RIVERA                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   645185 ELIZABETH CRUZ SIERRA                       PO BOX 1151                                                                                                      GUAYNABO             PR           00970
   645186 ELIZABETH CUBA LARA                         MONTECARLO                   898 CALLE 2                                                                         RIO PIEDRAS          PR           00924

   151841 ELIZABETH CUBERO SANTIAGO                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   645187 ELIZABETH CUEVAS GONZALEZ                   BOX 338                                                                                                          ANGELES              PR           00611




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   645188 ELIZABETH CUSTODIO ARROYO                   URB VILLAS DE LOIZA        U 28 CALLE 5 A                                                                       CANOVANAS           PR           00729
   151842 ELIZABETH DAVILA CASTRO                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151843 Elizabeth de Jesus                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151844 ELIZABETH DE JESUS COLON                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151845 ELIZABETH DE JESUS DIAZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   151846 ELIZABETH DE JESUS MARTINEZ                 REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151847 ELIZABETH DE JESUS RAMOS                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151848 ELIZABETH DE JESUS RIVERA                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151849 Elizabeth de Jesus Viuda                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645189 ELIZABETH DE LEON RIVERA                    PO BOX 1064                                                                                                     SABANA SECA         PR           00952

   151850 ELIZABETH DE MATTA MARRERO REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151851 ELIZABETH DEL RIO DEL RIO  REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151852 ELIZABETH DEL VALLE        REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645190 ELIZABETH DEL VALLE VAZQUEZ                 PO BOX 1045                                                                                                     JUNCOS              PR           00777
   645191 ELIZABETH DELGADO CRUZ                      RES MONTE HATILL0          EDIF 38 APTO 461                                                                     SAN JUAN            PR           00926

   151853 ELIZABETH DELGADO DELGADO                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151854 ELIZABETH DELGADO LOPEZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   151855 ELIZABETH DELGADO MARQUEZ REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   151856 ELIZABETH DELGADO MORALES                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645193 ELIZABETH DIAZ ACEVEDO                      BO JOBOS BOX 10‐8                                                                                               ISABELA             PR           00662

   645194 ELIZABETH DIAZ CARRASQUILLO                 BOX 456                                                                                                         CAYEY               PR           00736
   645195 ELIZABETH DIAZ FERNANDEZ                    TORRE NORTE                235 AVE ARTERIAL HOSTOS                                                              SAN JUAN            PR           00918‐1453
   645196 ELIZABETH DIAZ GARCIA                       BO BUEN CONSEJO            172 CALLE CANALES                                                                    SAN JUAN            PR           00926
   151858 ELIZABETH DIAZ GONZALEZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645197 ELIZABETH DIAZ LUNA                         P O BOX 7995                                                                                                    CAGUAS              PR           00726

   151859 ELIZABETH DIAZ MALDONADO                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645198 ELIZABETH DIAZ NIEVES                       865 CALLE RICARDO ARROYO                                                                                        DORADO              PR           00646
   645199 ELIZABETH DIAZ RAMOS                        P O BOX 20688                                                                                                   SAN JUAN            PR           00928
   151860 ELIZABETH DIAZ SALGADO                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151861 ELIZABETH DURAN PILARTE                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH ECHEVARRIA
   645201 MALDONADO                                   PARC AMALIA MARIN          4223 COLIRUBIA                                                                       PONCE               PR           00717‐1034

   151862 ELIZABETH ECHEVARRIA ORTIZ                  REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645202 ELIZABETH EDEN COLON                        103 DUCADO LAS CUMBRES                                                                                          SAN JUAN            PR           00926
   151863 ELIZABETH ELIAS MENDEZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   151864 ELIZABETH ESCALANTE RIVERA                  REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645205 ELIZABETH ESQUILIN ESQUILIN                 PO BOX 10122                                                                                                    FAJARDO             PR           00738

   151866 ELIZABETH F PADIN HERNANDEZ REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645206 ELIZABETH FEBRES FEBRES     PO BOX 484                                                                                                                      CAROLINA            PR           00986
   645207 ELIZABETH FEBUS OCASIO      URB CAMPO ALEGRE                           L 3 CALLE ARECA                                                                      BAYAMON             PR           00959



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   645208 ELIZABETH FELICIANO AVILES                  RES MANUEL ROMAN ADAMES    EDIF 3 APT 11                                                                          CAMUY               PR           00627

   645209 ELIZABETH FELICIANO GONZALEZ PO BOX 83                                                                                                                        HORMIGUEROS         PR           00660
   151867 ELIZABETH FELICIANO RUIZ     REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   151868 ELIZABETH FERNANDEZ SANCHEZ REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645211 ELIZABETH FERRER ROSA       PO BOX 915                                                                                                                        SABANA HOYOS        PR           00688
   151869 ELIZABETH FIGUEROA          REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151870 ELIZABETH FIGUEROA DIEPPA   REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   151871 ELIZABETH FIGUEROA GONZALEZ REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH FIGUEROA
   645214 MALDONADO                   HC 1 BOX 10716                                                                                                                    ARECIBO             PR           00612
   645216 ELIZABETH FIGUEROA ROBLES   URB FAIR VIEW                              1890 CALLE DIEGO MORGEY                                                                SAN JUAN            PR           00926
   645218 ELIZABETH FIGUEROA SOTO     HC 58 BOX 13462                                                                                                                   AGUADA              PR           00602

   645219 ELIZABETH FIGUEROA TORRES                   HC 03 BOX 7472                                                                                                    GUAYNABO            PR           00971
   645220 ELIZABETH FIGUEROA VEGA                     BO MAGINAS                 95 CALLE EUCALIPTO                                                                     SABANA GRANDE       PR           00637
   151873 ELIZABETH FLORES MORALES                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645067 ELIZABETH FLORES MOYET                      20 CALLE JOSE GRILLO                                                                                              CAGUAS              PR           00725

   151874 ELIZABETH FLORES RODRIGUEZ                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151875 ELIZABETH FORERO TABARES                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151876 ELIZABETH FORTUNO TORRES                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151877 ELIZABETH FRED RODRIGUEZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645222 ELIZABETH FUENTES RIOS                      HC 02 BOX 15662                                                                                                   AGUAS BUENAS        PR           00703
   645224 ELIZABETH GARCED AULET                      VILLA ASTURIAS             16 CALLE 31 BLQ 30                                                                     CAROLINA            PR           00983

   645225 ELIZABETH GARCES DEL VALLE                  PARQUE SAN ANTONIO II      APT 3001                                                                               CAGUAS              PR           00725
   151878 ELIZABETH GARCIA                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151879 ELIZABETH GARCIA ADORNO                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151880 ELIZABETH GARCIA AYALA                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH GARCIA
   151881 CARRASQUILLO                                REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151882 ELIZABETH GARCIA DE JESUS                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645229 ELIZABETH GARCIA DELGADO                    P O BOX 409                                                                                                       HATILLO             PR           00659
   645230 ELIZABETH GARCIA FANFAN                     PO BOX 472                                                                                                        FAJARDO             PR           00740

   645231 ELIZABETH GARCIA FERNANDEZ                  URB DOS PINOS TOWN HOUSE   A 10 CALLE TERUEL                                                                      SAN JUAN            PR           00923
   645232 ELIZABETH GARCIA GARCIA                     CAMPANILLA                 306 CALLE NUEVA                                                                        TOA BAJA            PR           00949

   645233 ELIZABETH GARCIA HERNANDEZ                  BO PALENQUE                CALLE 1 BOX 32                                                                         BARCELONETA         PR           00617
   151883 ELIZABETH GARCIA MORALES                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645234 ELIZABETH GARCIA RAMIREZ                    PO BOX 1497                                                                                                       CAYEY               PR           00736
   645235 ELIZABETH GARCIA RIVERA                     4 RES CARMEN                                                                                                      MAYAGUEZ            PR           00680

   645237 ELIZABETH GARCIA VELEZ                      URB COUNTRY CLUB           1184 CALLE CONSUELO MATOS                                                              SAN JUAN            PR           00924

   151886 ELIZABETH GARRIGA GALARZA                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   151888 ELIZABETH GERENA VELAZQUEZ                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151889 ELIZABETH GILLILAND ORTIZ                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   645238 ELIZABETH GIRALDO PIEDRAHITA 1719 AVE PONCE DE LEON                                                                                                     SAN JUAN            PR           00909 1905

   645239 ELIZABETH GIRAUD RODRIGUEZ                  SANTA TERESITA            282 AVE LAS DALIAS                                                                SAN SEBASTIAN       PR           00685

   151890 ELIZABETH GOMEZ FERNANDEZ                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645241 ELIZABETH GOMEZ MENDEZ                      COND EL CORDOBES          SAN PATRICIO APT 3 C                                                              GUAYNABO            PR           00968
   645242 ELIZABETH GOMEZ MORALES                     HC 02 BOX 12969                                                                                             AGUAS BUENAS        PR           00703‐9604
   151891 ELIZABETH GOMEZ NIEVES                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645243 ELIZABETH GOMEZ TORRES                      URB LOMAS VERDES          3NS CALLE JOBOS                                                                   BAYAMON             PR           00956
   151892 ELIZABETH GONZALEZ                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645245 ELIZABETH GONZALEZ BADI                     RR 7 BOX 7710                                                                                               SAN JUAN            PR           00926

   151893 ELIZABETH GONZALEZ CORREA                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645247 ELIZABETH GONZALEZ DAVILA                   RES MONTE HATILLO         EDIF 13 APT 162                                                                   SAN JUAN            PR           00924

   645248 ELIZABETH GONZALEZ DE JESUS                 8 CALLE IGNACIO ARZUAGA                                                                                     CAROLINA            PR           00985

   151894 ELIZABETH GONZALEZ GARCIA                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH GONZALEZ
   645250 HERNANDEZ                                   APT 239                                                                                                     SABANA GRANDE       PR           00637 0239

   645251 ELIZABETH GONZALEZ MARRERO RR 8 BOX 9671                                                                                                                BAYAMON             PR           00956

   645244 ELIZABETH GONZALEZ MARTINEZ PO BOX 495                                                                                                                  DORADO              PR           00646
          ELIZABETH GONZALEZ
   151896 MONTANEZ                    REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   151897 ELIZABETH GONZALEZ MORALES REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645252 ELIZABETH GONZALEZ NAVARRO                  HC 01 BOX 4556                                                                                              QUERADILLAS         PR           00678
   645253 ELIZABETH GONZALEZ PEREZ                    URB COUNTRY STATES        A 15 CALLE 3                                                                      BAYAMON             PR           00956
   151898 ELIZABETH GONZALEZ RIVERA                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH GONZALEZ
   645255 RODRIGUEZ                                   URB LAS VIRTUDES          734 CALLE CARIDAD                                                                 SAN JUAN            PR           00924

   645256 ELIZABETH GONZALEZ SANCHEZ                  PO BOX 9065687                                                                                              SAN JUAN            PR           00906‐5687

   151899 ELIZABETH GONZALEZ SANTIAGO REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                      BO LAJAS ARRIBA CALLE
   645257 ELIZABETH GONZALEZ TORRES   ANGELINA                                  HC 04 BOX 21848                                                                   LAJAS               PR           00667‐9505
   151900 ELIZABETH GRACIA MORALES    REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151902 ELIZABETH GRIFFIN HARTMAN   REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   151903 ELIZABETH GUADALUPE DE VERA REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH GUADALUPE
   645258 ROMERO                      HC 02 BOX 14765                                                                                                             AGUAS BUENAS        PR           00703
   151904 ELIZABETH GUERRERO          REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645259 ELIZABETH GUIDINI           PO BOX 361444                                                                                                               SAN JUAN            PR           00936‐1444
          ELIZABETH GUILBE / LA ENF Y
   645260 ALGO MAS                    3322 BDA BELGICA                          ST 1 CALLE CRUZ                                                                   PONCE               PR           00717 1618
   645263 ELIZABETH GUTIERREZ ROIG    HC 71 BOX 4450                                                                                                              CAYEY               PR           00736
   645264 ELIZABETH GUZMAN            HC 6 BOX 122304                                                                                                             SAN SEBASTIAN       PR           00685



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  645265 ELIZABETH GUZMAN ARCE                        P O BOX 9097               COTTO ST                                                                                  ARECIBO             PR           00613

   645266 ELIZABETH GUZMAN MORALES                    PO BOX 2184                                                                                                          MOCA                PR           00676
   645267 ELIZABETH GUZMAN RIVERA                     BO NUEVA                   52 CALLE MALAVE                                                                           CAYEY               PR           00736
   645268 ELIZABETH GUZMAN VELEZ                      PO BOX 3622                                                                                                          AGUADILLA           PR           00605
   151906 ELIZABETH H BAKER                           REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151907 ELIZABETH H PEREZ CHIQUES                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   645269 ELIZABETH HANCE RODRIGUEZ                   PO BOX 264                                                                                                           CAROLINA            PR           00986

   645270 ELIZABETH HENRRICY SANTIAGO                 BO OBRERO                  501 CALLE 18                                                                              SAN JUAN            PR           00915
   645271 ELIZABETH HENSON VERA                       P O BOX 1040                                                                                                         SAN SEBASTIAN       PR           00685
   645272 ELIZABETH HERNADEZ                          LA CENTRAL                 PARC 242 CALLE 17                                                                         CANOVANAS           PR           00729
   645273 ELIZABETH HERNANDEZ                         HC 61 BOX 4514                                                                                                       TRUJILLO ALTO       PR           00976

   151909 ELIZABETH HERNANDEZ AQUINO REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   645274 ELIZABETH HERNANDEZ COLON                   PO BOX 1431                                                                                                          OROCOVIS            PR           00720

   151910 ELIZABETH HERNANDEZ DIEPPA                  REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          ELIZABETH HERNANDEZ
   645276 FIGUEROA                                    RES BRISA DE CUPEY         EDIF 9 APT 123                                                                            SAN JUAN            PR           00936

   151911 ELIZABETH HERNANDEZ IRIZARRY REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   645277 ELIZABETH HERNANDEZ LOPEZ                   COND TORRES DE CERVANTES   EDIF B APTO 1307                                                                          SAN JUAN            PR           00924

   151912 ELIZABETH HERNANDEZ LOZADA REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   645278 ELIZABETH HERNANDEZ ORTIZ                   HC 06 BOX 4428                                                                                                       COTTO LAUREL        PR           00780

   645279 ELIZABETH HERNANDEZ PADRO                   BOX 103                                                                                                              PALMER              PR           00721

   645068 ELIZABETH HERNANDEZ RIVERA                  BO BOQUILLA                RR 1 BOX 13402                                                                            MANATI              PR           00674

   151914 ELIZABETH HERNANDEZ ROSARIO REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          ELIZABETH HERNANDEZ
   645280 SANTIAGO                    URB SAN ANTINIO                            918 CALLE DURAZNO                                                                         PONCE               PR           00728‐1612

   645281 ELIZABETH HERNANDEZ TORRES PO BOX 1175                                                                                                                           LAS PIEDRAS         PR           00771

   645282 ELIZABETH HERNANDEZ VELEZ                   HC 05 BOX 27622                                                                                                      CAMUY               PR           00627

   645284 ELIZABETH HIEYE GONZALEZ                    BO INGENIO                 P 155 CALLE ESPUELA DE GALAN                                                              TOA BAJA            PR           00949
   645285 ELIZABETH HOBBY FRANCO                      VILLAS DE LEVITTOWN        D 10 CALLE 1 A                                                                            TOA BAJA            PR           00949

   645286 ELIZABETH HUERTAS MELENDEZ                  APT. 1907                  VILLAS DE PARQUE ESCORIAL                                                                 Carolina            PR           00987
   645287 ELIZABETH HUERTAS PEREZ                     P O BOX 1213                                                                                                         SABANA HOYOS        PR           00688
   645288 ELIZABETH I MATTEI CANCEL                   AVENIDA CARIBE 2125                                                                                                  ENSENADA            PR           00647
   645289 ELIZABETH IGLESIAS DE JESUS                 URB VILLAS DE LOIZA        R 31 CALLE 19                                                                             CANOVANAS           PR           00729

   645290 ELIZABETH INOSTROZA ALICEA                  HC 3 BOX 9724                                                                                                        LARES               PR           00669
   645291 ELIZABETH IRIZARRY BONILLA                  URB SANTA MARTA            15 CALLE G                                                                                SAN GERMAN          PR           00683



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   645292 ELIZABETH IRIZARRY FIGUEROA                 BO MONTE GRANDE             1069 CALLE MENA                                                                        CABO ROJO           PR           00623
   151915 ELIZABETH IRIZARRY LOEPZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645293 ELIZABETH ISAAC SANCHEZ                     RES CARIOCA                 EDIF 17 APT 100                                                                        GUAYAMA             PR           00784
          ELIZABETH J. IGLESIAS
   151917 FULBRIGHT                                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151918 ELIZABETH JIMENEZ ORTIZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH JOHANNA DURAN
   151919 IRRIZARRY                                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645294 ELIZABETH JUARBE PORTALATIN VILLA CAPRI                                 600 CALLE LOMBARDIA APT 3                                                              SAN JUAN            PR           00924

   151920 ELIZABETH JUSINO RODRIGUEZ                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH KAUFMAN
   151921 RODRIGUEZ                                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645295 ELIZABETH KIM                               P O BOX 366147                                                                                                     SAN JUAN            PR           00936
          ELIZABETH L MALDONADO
   151922 RAMOS                                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH LARACUENTE
   645298 CAMACHO                                     P O BOX 262                                                                                                        MANATI              PR           00674

   645299 ELIZABETH LASALLE HERNANDEZ                 P O BOX 154                                                                                                        QUEBRADILLAS        PR           00678
   645300 ELIZABETH LEBRON COLON                      URB MONTE BRISAS            5M CALLE 12                                                                            FAJARDO             PR           00738
   645301 ELIZABETH LEBRON LEBRON                     P O BOX 1457                                                                                                       LAS PIEDRAS         PR           00771
   151923 ELIZABETH LEDEE TORRES                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151924 ELIZABETH LESPIER DE JESUS                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645302 ELIZABETH LINARES SANTIAGO                  P O BOX 190917                                                                                                     SAN JUAN            PR           00919‐0917
   645303 ELIZABETH LLADO CABAN                       PARKVILLE TERRACE           114 ALAMO DRIVE                                                                        GUAYNABO            PR           00969
   151925 ELIZABETH LLERA GUZMAN                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645304 ELIZABETH LOPEZ CABRERA                     P O BOX 481                                                                                                        COROZAL             PR           00783
   151927 ELIZABETH LOPEZ CARDONA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645306 ELIZABETH LOPEZ CARRION                     HC 01 BOX 6601                                                                                                     JUNCOS              PR           00777
   151928 ELIZABETH LOPEZ PEREZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151929 ELIZABETH LOPEZ RIVERA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151931 ELIZABETH LOPEZ RUIZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645308 ELIZABETH LOZADA                            RES MANUEL A PEREZ          EDF C 12 APT 140                                                                       SAN JUAN            PR           00923
   645309 ELIZABETH LUGO                              URB VILLAS DE SAN AGUSTIN   M 11 CALLE 7                                                                           BAYAMON             PR           00959
   151932 ELIZABETH LUGO GARCIA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645311 ELIZABETH LUGO LAPORTE                      BOX 334                                                                                                            ENSENADA            PR           00647
   151933 ELIZABETH LUGO MORALES                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645312 ELIZABETH LUGO RIVERA                       HC 01 BOX 2299                                                                                                     BOQUERON            PR           00622‐9707

   151934 ELIZABETH M BERRIOS NUNEZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645313 ELIZABETH M BRYAN PICO                      PO BOX 193900                                                                                                      SAN JUAN            PR           00919‐3900

   151935 ELIZABETH M CUPELES MATOS                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   151936 ELIZABETH M GARCIA FUENTES                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH M GONZALEZ
   151937 ORELLANAS                                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151938 ELIZABETH M IRIZARRY ORTIZ                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   151939 ELIZABETH M LOPEZ MERCADO                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH M MALDONADO
   151940 ORTIZ                                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151941 ELIZABETH M MENDEZ PEREZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH M MRTINEZ
   645314 GONZALEZ                                    HC 04 BOX 40801 BO QUEMADO                                                                                         MAYAGUEZ            PR           00680

   151942 ELIZABETH M NEGRON OCASIO                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645316 ELIZABETH M RIVERA ORSINI                   BAYAMON GARDENS              G 20 CALLE 17                                                                         BAYAMON             PR           00957

   645318 ELIZABETH M VERA CAMACHO                    PO BOX 132                                                                                                         QUEBRADILLAS        PR           00678
   645319 ELIZABETH MALAVE COSME                      BO FURNIAS                   HC 01 BOX 4404                                                                        LAS MARIAS          PR           00670

   151943 ELIZABETH MALDONADFO SOTO REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151944 ELIZABETH MALDONADO       REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645321 ELIZABETH MALDONADO AYALA VILLA FONTANA PARK                             5J4 CALLE PARQUE CENTRAL                                                              CAROLINA            PR           00983
          ELIZABETH MALDONADO
   645322 CARTAGENA                 PO BOX 676                                                                                                                           VILLALBA            PR           00766
          ELIZABETH MALDONADO
   151945 CASTRO                    REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   151947 ELIZABETH MALDONADO CRUZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH MALDONADO
   645323 DELGADO                                     COND MONSERRATE TOWER 2      APTO 510                                                                              CAROLINA            PR           00983

   645324 ELIZABETH MALDONADO PINTOR HC 1 BOX 4212                                                                                                                       NAGUABO             PR           00718‐9707

   151948 ELIZABETH MALDONADO PONS                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   151951 ELIZABETH MALDONADO RIVERA REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH MALDONADO
   151952 RODRIGUEZ                  REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH MANGUAL
   645325 HERNANDEZ                  COND SANTA PAULA                              EDIF B APT 303                                                                        GUAYNABO            PR           00969

   151953 ELIZABETH MANOSALVAS COLON REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151955 ELIZABETH MARIANI DE JESUS REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151956 ELIZABETH MARQUEZ          REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH MARRERO /
   151958 TRANSPORTACION LILY        PO BOX 1805                                                                                                                         CIALES              PR           00638

   151959 ELIZABETH MARRERO BERRIOS                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH MARRERO DBA
   151960 TRANSP ESC LILY                             PO BOX 1805                                                                                                        CIALES              PR           00638‐1805

   645329 ELIZABETH MARRERO MARRERO                   RR 03 BOX 8805                                                                                                     TOA ALTA            PR           00953
          ELIZABETH MARRERO
  1256447 RODRIGUEZ                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645331 ELIZABETH MARRERO RUIZ                      HC 04 BOX 45702                                                                                                    HATILLO             PR           00659
   151962 ELIZABETH MARTI TORRES                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645332 ELIZABETH MARTIN AVILES                     VENUS FARDEN                 1681 CALLE HIDALGO                                                                    SAN JUAN            PR           00926



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  645334 ELIZABETH MARTINEZ                           HC 43 BOX 10345                                                                                                      CAYEY               PR           00736

   645337 ELIZABETH MARTINEZ CALDERON HP ‐ SALA 1 BAJO                                                                                                                     RIO PIEDRAS         PR           009360000

   645338 ELIZABETH MARTINEZ CORDOVA 2DA SECCION COUNTRY CLUB                      77 CALLE LEDRU                                                                          SAN JUAN            PR           00924
   151964 ELIZABETH MARTINEZ GARCIA  REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   151966 ELIZABETH MARTINEZ GONZALEZ REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151967 ELIZABETH MARTINEZ LUGO     REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          ELIZABETH MARTINEZ
   645341 MONTALVO                    521 AVE PONCE DE LEON                                                                                                                SAN JUAN            PR           00917
   151968 ELIZABETH MARTINEZ RESTO    REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          ELIZABETH MARTINEZ
   151969 RODRGUEZ                    REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   645342 ELIZABETH MARTINEZ RONDON                   COND PORTALES DE ALHELI      303 2050 CARR 8177                                                                      GUAYNABO            PR           00966
   151970 ELIZABETH MARTINEZ RUIZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   645343 ELIZABETH MARTINEZ SANTIAGO PO BOX 7126                                                                                                                          PONCE               PR           00732
   645344 ELIZABETH MASSOL             20 CALLE PRIMO DELGADO                                                                                                              ADJUNTAS            PR           00607
          ELIZABETH MATIAS DIAZ / RUTH
   151971 DIAZ MAYOL                   REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151972 ELIZABETH MATIAS RAMOS       REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151974 ELIZABETH MATIAS ROMAN       REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   645345 ELIZABETH MATOS MARTINEZ     URB FRONTERAS                               CALLE LINES RAMOS                                                                       BAYAMON             PR           00961
   151975 ELIZABETH MATOS MAYO         REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   645346 ELIZABETH MATOS ZAYAS        URB SAVANNAH REAL                           159 PASEO BARCELONA                                                                     SAN LORENZO         PR           00754
   151976 ELIZABETH MCGUSTY            REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   645347 ELIZABETH MEDINA CASTILLO    PO BOX 538                                                                                                                          VEGA ALTA           PR           00692
                                                                                   Y2 CALLE 19 URB RIO GRANDE
   645348 ELIZABETH MEDINA TORRES                     RIO GRANDE STATE             EST                                                                                     RIO GRANDE          PR           00745
   151977 ELIZABETH MEJILL NEGRON                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   645349 ELIZABETH MELENDEZ CUEVAS                   1130 CALLE 8 SE                                                                                                      SAN JUAN            PR           00921

   151978 ELIZABETH MELENDEZ MARTINEZ REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          ELIZABETH MELENDEZ
   645351 MELENDEZ                    HC 55 BOX 8664                                                                                                                       CEIBA               PR           00735‐8664

   151979 ELIZABETH MELENDEZ SANTIAGO REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          ELIZABETH MELENDEZ
   151980 SOTOMAYOR                   REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   151981 ELIZABETH MENDEZ            REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   645352 ELIZABETH MENDEZ ACEVEDO                    E 7 URB COLINAS DE HATILLO                                                                                           HATILLO             PR           00659

   645353 ELIZABETH MENDEZ GONZALEZ                   URB SANTA ELENA              G17 CALLE 6                                                                             BAYAMON             PR           00957

   645354 ELIZABETH MENDEZ MONTILLA                   SAN JOSE                     O 14 CALLE 15                                                                           SAN JUAN            PR           00930

   151982 ELIZABETH MENDEZ RODRIGUEZ REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   151984 ELIZABETH MERCADO MACEIRA                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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   151985 ELIZABETH MERCADO NAZARIO                   REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645356 ELIZABETH MERCADO VARGAS                    BO RIO HONDO           7 VILLA BLANCA                                                                          MAYAGUEZ            PR           00680
   645357 ELIZABETH MEREJO ALEJO                      121 CALLE ATOCHA                                                                                               PONCE               PR           00731

   151986 ELIZABETH MILTON RODRIGUEZ                  REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645358 ELIZABETH MIRANDA                           URB SAN ALFONSO        G 15 CALLE VIRGINIA                                                                     CAGUAS              PR           00725
   151987 ELIZABETH MIRANDA BAEZ                      REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645359 ELIZABETH MOJICA CRUZ                       P O BOX 142                                                                                                    PUNTA SANTIAGO      PR           00741

   645360 ELIZABETH MOJICA FLORES                     SECTOR LA PRRA         41 CALLE ADELINA HERNANDEZ                                                              TRUJILLO ALTO       PR           00976‐7200
   645362 ELIZABETH MONROIG PEREZ                     PO BOX 1542                                                                                                    ISABELA             PR           00662
          ELIZABETH MONTALVO
   645363 MELENDEZ                                    TOA ALTA HEIGHTS       AQ 22 CALLE 33                                                                          TOA ALTA            PR           00953
   151988 Elizabeth Montalvo Montalvo                 REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645364 ELIZABETH MONTALVO NATAL                    HC 01 BOX 4713                                                                                                 UTUADO              PR           00641

   645365 ELIZABETH MONTALVO PAGAN                    PO BOX 538                                                                                                     BAJADEROS           PR           00616
   151989 ELIZABETH MONTES PERALES                    REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   151991 ELIZABETH MONTIGO VALENTIN REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151992 ELIZABETH MORA PEREIRA     REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   151993 ELIZABETH MORALES DE JESUS                  REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151994 ELIZABETH MORALES DONES                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645368 ELIZABETH MORALES DURAND                    PO BOX 572                                                                                                     ISABELA             PR           00662
   645370 ELIZABETH MORALES RIOS                      HC 02 BOX 10600                                                                                                GUAYNABO            PR           00971

   151995 ELIZABETH MORALES SANTIAGO REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH MORALES Y
   151996 ELIZABETH M MIRANDA        REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151997 ELIZABETH MORAN ROSARIO    REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                     COND PARQUE MONACILLO APT
   645371 ELIZABETH MULERO DELGADO   813                                                                                                                             SAN JUAN            PR           00921
   151998 ELIZABETH MUNIZ            REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   151999 ELIZABETH MUNIZ TORRES     REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152000 ELIZABETH MUNOZ MATOS      REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                     BO HATO ABAJO SECTOR
   645372 ELIZABETH NATAL GARCIA     BARRANCA                                                                                                                        ARECIBO             PR           00612

   152003 ELIZABETH NAZARIO FELICIANO                 REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   152004 ELIZABETH NEGRON MARTINEZ                   REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645373 ELIZABETH NEGRON RIVERA                     HC 02 BOX 8541                                                                                                 JAYUYA              PR           00664
   152006 ELIZABETH NEGRON ROSADO                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645377 ELIZABETH NEMESSZEGHY                       PO BOX 486                                                                                                     MERCEDITA           PR           00715 0486
   645378 ELIZABETH NIEVES                            PO BOX 7212                                                                                                    LOIZA               PR           00772
   152007 ELIZABETH NIEVES COLON                      REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645379 ELIZABETH NIEVES GARCIA                     JARD PALMAREJA         II 33 C/ 30                                                                             CANOVANAS           PR           00729




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   152009 ELIZABETH NIEVES HERNANDEZ                  REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   645380 ELIZABETH NIEVES MEDINA                     CD 33 LEVITTOWN                                                                                              TOA BAJA            PR         00949
   645381 ELIZABETH NIEVES MORALES                    PO BOX 1166                                                                                                  TOA ALTA            PR         00954
   152010 ELIZABETH NIEVES OJEDA                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152011 ELIZABETH NIEVES QUILES                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   645382 ELIZABETH NIEVES RIVERA                     RES VILLANUEVA            EDIF 19 APT 178                                                                    AGUADILLA           PR         00603
   152012 ELIZABETH NOA VAZQUEZ                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   645383 ELIZABETH NOGUERAS                          SANTA CLARA EL PARQUE     84 CALLE C                                                                         SAN LORENZO         PR         00754
   152013 ELIZABETH NOVALES ORTIZ                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152014 ELIZABETH NUNEZ ORTIZ                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   645384 ELIZABETH NUNEZ RAMIREZ                     P O BOX 50997                                                                                                TOA BAJA            PR         00950
   152015 ELIZABETH NUNEZ ZAYAS                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   152016 ELIZABETH OCASIO HERNANDEZ                  REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152017 ELIZABETH OLIVERAS LOPEZ                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   645386 ELIZABETH ORENGO AVILES                     URB VALLE ALTO            1333 CALLE CORDILLERA                                                              PONCE               PR         00730‐4124
   645387 ELIZABETH ORTEGA                            HC 1 BOX 6744                                                                                                AGUAS BUENAS        PR         00703
   645388 ELIZABETH ORTEGA MEDINA                     P O BOX 9696                                                                                                 CAGUAS              PR         00726
   645389 ELIZABETH ORTIZ                             PARCELAS JAUCA            497 CALLE 5                                                                        SANTA ISABEL        PR         00757
   152018 ELIZABETH ORTIZ ALVARADO                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152019 ELIZABETH ORTIZ COLON                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   645390 ELIZABETH ORTIZ ECHEVARRIA                  URB VALLES DE MANATI      C21 CALLE 4                                                                        MANATI              PR         00674
   645391 ELIZABETH ORTIZ GARCIA                      RES LUIS LLORENS TORRES   EDF 32 APT 670                                                                     SAN JUAN            PR         00913
   645392 ELIZABETH ORTIZ IRIZARRY                    101 VILLAS DE SAN JOSE                                                                                       CAYEY               PR         00736
   152020 ELIZABETH ORTIZ JIMENEZ                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   152021 ELIZABETH ORTIZ MALDONADO                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   645393 ELIZABETH ORTIZ MERCADO                     P O BOX 21365                                                                                                SAN JUAN            PR         00928
   152023 ELIZABETH ORTIZ ORTIZ                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   645396 ELIZABETH ORTIZ OTERO                       RR 03 BOX 9562                                                                                               TOA ALTA            PR         00953
   645397 ELIZABETH ORTIZ RIOS                        LA VEGA                   49 CALLE LAS FLORES                                                                BARRANQUITAS        PR         00794
   152024 ELIZABETH ORTIZ RIVERA                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152025 ELIZABETH ORTIZ RODRIGUEZ                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   645400 ELIZABETH ORTIZ SANCHEZ                     HC 2 BOX 4196                                                                                                COAMO               PR         00769‐9524
   152026 ELIZABETH ORTIZ SERRANO                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152027 ELIZABETH ORTIZ SIERRA                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152028 ELIZABETH ORTIZ TORRES                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152029 ELIZABETH OTERO MARTINEZ                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152030 ELIZABETH OTERO NAZARIO                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152031 ELIZABETH OTERO VELEZ                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152032 ELIZABETH PABON AGUDO                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   645404 ELIZABETH PADRO RAMIREZ                     BONNEVILLE MANOR          A 6 3 CALLE 46                                                                     CAGUAS              PR         00725
          ELIZABETH PAGAN
   645405 ENCARNACION                                 P O BOX 7428                                                                                                 SAN JUAN            PR         00916
   152033 ELIZABETH PAGAN FELICIANO                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   645407 ELIZABETH PAGAN PAGAN                       HC 2 BOX 6929                                                                                                FLORIDA             PR         00650
   152034 ELIZABETH PAGAN RIVERA                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152037 ELIZABETH PAGAN VAZQUEZ                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   645409 ELIZABETH PALERMO ROMEU                     URB VILLA LUISA           105 CALLE TURQUESA                                                                 CABO ROJO           PR         00623

   152038 ELIZABETH PAREDES ALCEQUIEZ REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  645411 ELIZABETH PASTRANA CRUZ                      EL COMANDANTE                69 CALLE DUCAL                                                                   CAROLINA             PR         00982
  152039 ELIZABETH PAULINO PENA                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  152040 ELIZABETH PEDRAZA CABAN                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  152041 ELIZABETH PEDROGO NUðEZ                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  152044 ELIZABETH PENA NIEVES                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  152045 ELIZABETH PEREZ                              REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  152046 ELIZABETH PEREZ BELLIDO                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  645413 ELIZABETH PEREZ ESPINOSA                     HC 15 BOX 15717                                                                                               HUMACAO              PR         00791‐9485

   152049 ELIZABETH PEREZ HERNANDEZ                   REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   152050 ELIZABETH PEREZ MATOS                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   152051 ELIZABETH PEREZ OQUENDO                     REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   152052 ELIZABETH PEREZ PEREZ                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   152054 ELIZABETH PEREZ ROMAN                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   645416 ELIZABETH PEREZ VELEZ                       HC 7 BOX 2135                                                                                                 PONCE                PR         00731
   645069 ELIZABETH PINO RODRIGUEZ                    24 CALLE ESCORPIO                                                                                             VEGA BAJA            PR         00693
   152057 ELIZABETH PITRE                             REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   152058 ELIZABETH PIZARRO CINTRON                   REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   152059 ELIZABETH POMALES NAVARRO                   REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   152060 ELIZABETH PONCE ORTIZ                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   645418 ELIZABETH PORTALATIN PEREZ                  HC 5 BOX 54105                                                                                                AGUADILLA            PR         00603

   645419 ELIZABETH PRINCIPE ADORNO                   JARDINES DE BORINQUEN        M 23 CALLE AZUCENA                                                               CAROLINA             PR         00985
   152063 ELIZABETH QUILES ESTRADA                    REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   152065 ELIZABETH QUINONES MARTINES REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          ELIZABETH QUINONES
   152066 RODRIGUEZ                   REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   152067 ELIZABETH QUINONEZ          REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   152068 ELIZABETH QUINONEZ SUAREZ                   REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   152070 ELIZABETH QUINONEZ TORRES                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                      A8 CALLE BROMELIA ESTANCIAS
   645421 ELIZABETH QUINTANA RUIZ                     BAIROA                                                                                                        CAGUAS               PR         00725
   645422 ELIZABETH RAMIREZ BONET                     RES CUESTA LAS PIEDRAS      EDIF 15 APT 102                                                                   MAYAGUEZ             PR         00680

   645423 ELIZABETH RAMIREZ SUAREZ                    HC 1 BOX 10155 BOHAMAMEY                                                                                      SAN SEBASTIAN        PR         00685
   645424 ELIZABETH RAMOS GUZMAN                      URB LA MARGARITA             D 4 CALLE C                                                                      SALINAS              PR         00751
   645426 ELIZABETH RAMOS LOZADA                      BO HATO NUEVO                HC 01 BOX 5632                                                                   GURABO               PR         00778
   645427 ELIZABETH RAMOS RIOS                        URB VILLA BORINQUEN          BZN 349                                                                          LARES                PR         00669
   645428 ELIZABETH RAMOS RIVERA                      P O BOX 970                                                                                                   VEGA BAJA            PR         00694
   645429 ELIZABETH RAMOS SERRANO                     PO BOX 1683                                                                                                   UTUADO               PR         00641‐1683
   645430 ELIZABETH RESTO CABRERA                     PO BOX 136                                                                                                    COMERIO              PR         00782

   645431 ELIZABETH RESTO RODRIGUEZ                   RR 7 BOX 7563                                                                                                 SAN JUAN             PR         00926
   152072 ELIZABETH RETAMAR PEREZ                     REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   645432 ELIZABETH REYES                             EL MIRADOR                   EDIF 2 APT 32                                                                    SAN JUAN             PR         00915
   152073 ELIZABETH REYES ALAMEDA                     REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   645433 ELIZABETH REYES CAMACHO                     URB SANTA JUANITA            BC 2 CALLE HIDALGO                                                               BAYAMON              PR         00956
   645434 ELIZABETH REYES COLON                       VISTAMAR                     216 CALLE ARAGON                                                                 CAROLINA             PR         00983



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   152074 ELIZABETH REYES HERNANDEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   152075 ELIZABETH REYES MERCED                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   152077 ELIZABETH RIBOT PEREZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   152079 ELIZABETH RIOS                              REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   152080 ELIZABETH RIOS FEBO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   152081 ELIZABETH RIOS FORTUNA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   152083 ELIZABETH RIOS RIVERA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   645439 ELIZABETH RIVER MOYA                        HC 1 BOX 41403                                                                                                HATILLO              PR           00659
   152084 ELIZABETH RIVERA                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   645440 ELIZABETH RIVERA ANDINO                     HC 2 BOX 50180                                                                                                COMERIO              PR           00782
   152087 ELIZABETH RIVERA APONTE                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   645441 ELIZABETH RIVERA BONHOMME BRISAS DE TORTUGUERO                          18 CALLE SANDIN                                                                   VEGA BAJA            PR           00693

   645443 ELIZABETH RIVERA CALDERON                   PO BOX 466                                                                                                    GUAYNABO             PR           00970

   645444 ELIZABETH RIVERA CINTRON                    232 AVE ELEONOR ROOSEVELT                                                                                     SAN JUAN             PR           00907
   645446 ELIZABETH RIVERA DIAZ                       PO BOX 1558                                                                                                   AGUAS BUENAS         PR           00703
   645447 ELIZABETH RIVERA GARCIA                     BO RABANAL                  BOX 2685                                                                          CIDRA                PR           00739
   645448 ELIZABETH RIVERA LEBRON                     RES MANUEL A PEREZ          EDIF G9 APT 94                                                                    SDAN JUAN            PR           00924
   152088 ELIZABETH RIVERA MARIANI                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   152089 ELIZABETH RIVERA MC GINN                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   645449 ELIZABETH RIVERA MENDEZ                     LAS MARQUEZ                 14 CALLE CAIMITO                                                                  MANATI               PR           00674

   152090 ELIZABETH RIVERA MONTANEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   645070 ELIZABETH RIVERA OCASIO                     URB VILLA DEL SOL           714 CALLE MERIDA                                                                  CAROLINA             PR           00988
   152092 ELIZABETH RIVERA OFRAY                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   152093 ELIZABETH RIVERA ORTIZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   645071 ELIZABETH RIVERA PEREZ                      BUENAVENTURA BOX 153        5 A CALLE AMAPOLA                                                                 CAROLINA             PR           00987
   645451 ELIZABETH RIVERA PEREZ                      URB BRISAS DE LOIZA         133 CALLE LIBRA                                                                   CANOVANAS            PR           00729
   152094 ELIZABETH RIVERA ROCCA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   152095 ELIZABETH RIVERA RODRIGUEZ                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   645455 ELIZABETH RIVERA ROSA                       HC 02 BOX 15470                                                                                               AGUAS BUENAS         PR           00703
   152097 ELIZABETH RIVERA ROSADO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   645456 ELIZABETH RIVERA SANTIAGO                   205 OESTE CALLE MCKINLEY                                                                                      MAYAGUEZ             PR           00680
   645460 ELIZABETH RIVERA TORRES                     PO BOX 124                                                                                                    PUNTA SANTIAGO       PR           00741
   645462 ELIZABETH RIVERA TULL                       PO BOX 6200                                                                                                   MAYAGUEZ             PR           00681‐6200
   645463 ELIZABETH RIVERA VEGA                       20 CALLE JUAN R GONZALEZ                                                                                      RIO GRANDE           PR           00745
   645464 ELIZABETH RIVERA VELEZ                      HC 02 BOX 11555                                                                                               LAJAS                PR           00667‐9712
          ELIZABETH RIVERA Y/O FELICITA
   645466 DELGADO                                     23 CAMINO PUEBLO SECO                                                                                         TRUJILLO ALTO        PR           00976‐2508
   645467 ELIZABETH ROBLES                            HC 08 BOX 843                                                                                                 PONCE                PR           00731‐9705
   645468 ELIZABETH ROBLES CORTES                     68 CALLE TORREGROSA                                                                                           AGUADILLA            PR           00606
   152098 ELIZABETH RODRIGUEZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   645474 ELIZABETH RODRIGUEZ ANDINO VILLA COOPERATIVA                            G 45 CALLE 6                                                                      CAROLINA             PR           00985

   152100 ELIZABETH RODRIGUEZ CASTRO                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          ELIZABETH RODRIGUEZ
   645476 CONSTANTINO                                 URB ANA MARIA               F 27 CALLE 3                                                                      CABO ROJO            PR           00623




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   152101 ELIZABETH RODRIGUEZ CORREA REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645477 ELIZABETH RODRIGUEZ CRUZ   RES SABANA ABAJO                            EDIF 59 APT 453                                                                    CAROLINA            PR           00983

   645479 ELIZABETH RODRIGUEZ GARCIA                  BO CALZADA BUZON 117                                                                                          MAUNABO             PR           00707

   645480 ELIZABETH RODRIGUEZ LABOY                   HP ‐ POSADA DIURNA                                                                                            RIO PIEDRAS         PR           009360000

   645481 ELIZABETH RODRIGUEZ LEBRON                  SOLAR F 4                                                                                                     ARROYO              PR           00714

   645482 ELIZABETH RODRIGUEZ LIZARDI                 HP ‐ SALA 5 ALTOS                                                                                             RIO PIEDRAS         PR           009360000

   645483 ELIZABETH RODRIGUEZ LOPEZ                   PO BOX 195656                                                                                                 SAN JUAN            PR           00919‐5656
          ELIZABETH RODRIGUEZ
   152103 MANGUAL                                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH RODRIGUEZ
   645484 MAYSONET                                    URB LEVITTOWN              2487 PASEO AMPARO                                                                  TOA BAJA            PR           00949

   152104 ELIZABETH RODRIGUEZ MEDINA REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH RODRIGUEZ
   645485 MELENDEZ                   BUENA VISTA                                 125 CALLE G INTERIOR                                                               SAN JUAN            PR           00917

   152105 ELIZABETH RODRIGUEZ MILLAN                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   152106 ELIZABETH RODRIGUEZ NARVAEZ REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645486 ELIZABETH RODRIGUEZ NIEVES                  501 AVE ROBERTO H TODD                                                                                        SAN JUAN            PR           00908
   645487 ELIZABETH RODRIGUEZ OLAN                    144 SABANETERO MANI        CALLE ELENA SEGARRA                                                                MAYAGUEZ            PR           00680

   645489 ELIZABETH RODRIGUEZ PAGAN                   68 BALDORIOTY                                                                                                 SABANA GRANDE       PR           00637

   645490 ELIZABETH RODRIGUEZ PEREZ                   40 CALLE TENDAL                                                                                               YAUCO               PR           00698

   645491 ELIZABETH RODRIGUEZ RIVERA                  HC 01 BOX 3398                                                                                                ADJUNTAS            PR           00601

   645493 ELIZABETH RODRIGUEZ ROBLES                  COND WINDSON TOWER         309 DE DIEGO                                                                       SAN JUAN            PR           00923
          ELIZABETH RODRIGUEZ
   152107 RODRIGUEZ                                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   152108 ELIZABETH RODRIGUEZ TORRES                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645497 ELIZABETH ROLDAN SOTO                       P O BOX 1914                                                                                                  CANOVANAS           PR           00729
   152109 ELIZABETH ROMAN                             REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645498 ELIZABETH ROMAN ADORNO                      RR 02 BOX 637                                                                                                 SAN JUAN            PR           00926
   645499 ELIZABETH ROMAN AGUIAR                      URB RAFAEL BERMUDEZ        B 17 CALLE 3                                                                       FAJARDO             PR           00738

   645500 ELIZABETH ROMAN DELGADO                     9427 WINDERMERE LAKE DR 101                                                                                   RIVERVIEW           FL           33569
   645501 ELIZABETH ROMAN DISLA                       PO BOX 625                                                                                                    SAN SEBASTIAN       PR           00685
   152110 ELIZABETH ROMAN JUARBE                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645502 ELIZABETH ROMAN LAUREANO                    PALMAS ALTAS BOX 103                                                                                          BARCELONETA         PR           00617
   645503 ELIZABETH ROMAN MEDINA                      P O BOX 1513                                                                                                  CANOVANAS           PR           00729
   645505 ELIZABETH ROMAN NIEVES                      520 CALLE MERIDIONAL                                                                                          ISABELA             PR           00662




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   152111 ELIZABETH ROMAN RODRIGUEZ                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   645506 ELIZABETH ROMAN RONDA                       P O BOX 35                                                                                                 CAMUY                PR           00627

   152112 ELIZABETH ROMERO MELENDEZ                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   645507 ELIZABETH ROMERO TORRES                     P O BOX 1056                                                                                               SALINAS              PR           00751
   645508 ELIZABETH ROQUE CRUZ                        HC 01 BOX 13929                                                                                            HUMACAO              PR           00791
   152113 ELIZABETH ROQUE SANTANA                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          ELIZABETH ROSA / VOLLEYBALL
   645509 VICTOR ROJAS                                VISTA AZUL               Y 12 CALLE 29                                                                     ARECIBO              PR           00612
   645510 ELIZABETH ROSA RAMIREZ                      18 CALLE GREGORIO VAZ                                                                                      AGUADILLA            PR           00603
   152114 ELIZABETH ROSA TORRES                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   152115 ELIZABETH ROSA VELEZ                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          ELIZABETH ROSA Y/O MARIELISA
   152116 RONDON                                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   152117 ELIZABETH ROSADO CORTI                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   645511 ELIZABETH ROSADO GONZALEZ                   P O BOX 7273                                                                                               SAN JUAN             PR           00916‐7273
   645512 ELIZABETH ROSADO MEDINA                     BO PUERTOS                                                                                                 CAMUY                PR           00627
   152118 ELIZABETH ROSADO REYES                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   152120 ELIZABETH ROSARIO DIAZ                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   152122 ELIZABETH ROSARIO GONZALEZ                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   645515 ELIZABETH ROSARIO PEREZ                     URB VISTA DEL CONVENTO   2H34 CALLE 3                                                                      FAJARDO              PR           00738

   645516 ELIZABETH ROSARIO RAMIREZ                   BDA ISRAEL 127           CALLE CUB FINAL                                                                   SAN JUAN             PR           00917
   152124 ELIZABETH ROSARIO RIVERA                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   152127 ELIZABETH ROSARIO SANCHEZ                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   645518 ELIZABETH ROVIRA RODRIGUEZ                  PO BOX 1225                                                                                                VEGA ALTA            PR           00692

   152128 ELIZABETH RUBIO HERNANDEZ                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   645520 ELIZABETH RUIZ MORALES                      HC 04 BOX 45298                                                                                            AGUADILLA            PR           00603
   152130 ELIZABETH SAEZ ROSARIO                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   152131 ELIZABETH SALGADO GUZMAN                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   645522 ELIZABETH SANCHEZ HIRALDO                   LA CENTRAL               PARCELA 132 CALLE 7                                                               CANOVANAS            PR           00729

   645525 ELIZABETH SANCHEZ PASTRANA                  RR 6 BOX 10659                                                                                             SAN JUAN             PR           00926

   645526 ELIZABETH SANCHEZ RODRIGUEZ RR 02 BOX 7121                                                                                                             MANATI               PR           00674
   645527 ELIZABETH SANCHEZ RUIZ      HP ‐ SALA 5 ALTOS                                                                                                          RIO PIEDRAS          PR           009360000
   152132 ELIZABETH SANCHEZ TANCO     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   152133 ELIZABETH SANCHEZ WILLIAMS                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   645530 ELIZABETH SANTANA                           PARC RAMON T COLON       256 CALLE 3                                                                       TRUJILLO ALTO        PR           00976
   152135 ELIZABETH SANTANA LOPEZ                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   645531 ELIZABETH SANTANA TORRES                    P O BOX 1524                                                                                               UTUADO               PR           00641
   645532 ELIZABETH SANTIAGO                          LA PONDEROSA             606 CALLE LAREDO                                                                  PONCE                PR           00730‐4100

   645533 ELIZABETH SANTIAGO CARDONA HC 1 BOX 10447                                                                                                              HATILLO              PR           00659‐9710



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   152136 ELIZABETH SANTIAGO FIGUEROA REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   152137 ELIZABETH SANTIAGO FONTANET REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH SANTIAGO
   152138 HERNANDEZ                   REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645534 ELIZABETH SANTIAGO LIND     BO PUEBLO                                    457 CALLE SUR                                                                       DORADO              PR           00646
   152139 ELIZABETH SANTIAGO OJEDA    REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   152141 ELIZABETH SANTIAGO QUINONES REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645535 ELIZABETH SANTIAGO RIVERA   7MA SECC LEVITTOWN                           HN 5 CALLE RAMON MORA                                                               TOA BAJA            PR           00949
   152142 ELIZABETH SANTIAGO ROCHE    REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645536 ELIZABETH SANTIAGO ROSADO                   HC 1 BOX 3551                                                                                                    SANTA ISABEL        PR           00757
          ELIZABETH SANTIAGO
   152143 VALLADARES                                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645537 ELIZABETH SANTOS                            25 HACIENDA LA CIMA                                                                                              CIDRA               PR           00739
   645539 ELIZABETH SANTOS RIVERA                     115 CALLE BARCELO                                                                                                BARRANQUITAS        PR           00794
   645540 ELIZABETH SCALLEY TORRES                    251 AVE WINSTON CHURCHIL                                                                                         SAN JUAN            PR           00926
   152144 ELIZABETH SEDA SEDA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645542 ELIZABETH SEGARRA MATOS                     URB EL CORTIJO               AF 21 CALLE 21                                                                      BAYAMON             PR           00956
   645543 ELIZABETH SERRA                             BALDWIN PARK CT              15 EAST SIDE COURT                                                                  GUAYNABO            PR           00969

   645544 ELIZABETH SERRANO FONSECA                   HC 2 BOX 3311                                                                                                    CAGUAS              PR           00725

   645545 ELIZABETH SILVA RIVERA                      232 AVE ELEONOR ROOSEVELT                                                                                        SAN JUAN            PR           00907
   152146 ELIZABETH SILVERIO LINARES                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645547 ELIZABETH SOLA OLIVER                       URB SANTA PAULA 1            A 4 LAS COLINAS                                                                     GUAYNABO            PR           00969

   152147 ELIZABETH SOLANA CALDERON                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   152148 ELIZABETH SOLER VELAZQUEZ                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645548 ELIZABETH SOLIS GUZMAN                      RES MANUEL A PEREZ           EDIF D 67 APT 94                                                                    SAN JUAN            PR           00923

   645549 ELIZABETH SOLIVAN ORTIZ                     VILLAS DE HUMACAO APT B 104 CARR 908 SUITE 65                                                                    HUMACAO             PR           00791
   152149 ELIZABETH SOSA CORTES                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645550 ELIZABETH SOSA NIEVES                       PO BO 76                                                                                                         CANOVANAS           PR           00729

   152150 ELIZABETH SOTO CATALA                       CALLE AMONES 23 HATO TEJAS                                                                                       BAYAMON             PR           00959
   152151 ELIZABETH SOTO HERNANDEZ                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645554 ELIZABETH SOTO MEDINA                       HC 1 BOX 5070                                                                                                    JAYUYA              PR           00664
   645555 ELIZABETH SOTO MELENDEZ                     BOX 388                                                                                                          BARRANQUITAS        PR           00794
   152152 ELIZABETH SOTO ORTEGA                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645556 ELIZABETH SOTO PEREZ                        HC 02 BOX 18071                                                                                                  SAN SEBASTIAN       PR           00685
   152154 ELIZABETH SOTO RAMOS                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152155 ELIZABETH SOTO VEGA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645557 ELIZABETH SUERO                             CAPARRA OFFICE CENTER 22     CALLE ORTEGA SUITE 222                                                              GUAYNABO            PR           00968
   152156 ELIZABETH SUERO INOA                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH TAMAREZ
   152157 HERNANDEZ                                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645558 ELIZABETH TANCO MORALES                     URB LA MARINA                K 17 CALLE F                                                                        CAROLINA            PR           00979
   645560 ELIZABETH TIRADO SERRANO                    HC 1 BOX 5092                                                                                                    CAMUY               PR           00627
   645562 ELIZABETH TORRES                            RES PADRE RIVERA             EDIF 12 APT 156                                                                     HUMACAO             PR           00791



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          ELIZABETH TORRES / SAMUEL
   152158 MALDONADO                                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152159 ELIZABETH TORRES BURGOS                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152160 ELIZABETH TORRES CRUZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152162 ELIZABETH TORRES DAVILA                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645563 ELIZABETH TORRES DELGADO                    BOX 408                                                                                                        RIO GRANDE          PR           00745
   645564 ELIZABETH TORRES FUENTES                    HC 20 BOX 22421                                                                                                SAN LORENZO         PR           00754

   152163 ELIZABETH TORRES GONZALEZ                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645567 ELIZABETH TORRES JUSINO                     38 CALLE 2                                                                                                     PONCE               PR           00731
   645568 ELIZABETH TORRES LOPEZ                      PO BOX 9825                                                                                                    SAN JUAN            PR           00908

   152164 ELIZABETH TORRES MALDONADO REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152165 ELIZABETH TORRES MORENO    REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152166 ELIZABETH TORRES OSORIO    REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645570 ELIZABETH TORRES PEREZ     COM LAVADERO                                CARR 345 KM 5 2                                                                     HORMIGUEROS         PR           00660

   152167 ELIZABETH TORRES QUINONES                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152168 ELIZABETH TORRES RIVERA                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645574 ELIZABETH TORRES RODRIGUEZ                  HC 1 BOX 6309                                                                                                  SANTA ISABEL        PR           00757
   152170 ELIZABETH TORRES ROSADO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152172 ELIZABETH TORRES RUIZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645575 ELIZABETH TORRES SANCHEZ                    EXT REXVILLE J 2 13        CALLE 12 A                                                                          BAYAMON             PR           00957
   645577 ELIZABETH TORRES VICENTE                    PO BOX 10000 STE 156                                                                                           CAYEY               PR           00737

   152173 ELIZABETH TOUSET SANTIAGO                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645578 ELIZABETH TRAVIESO SANTIAGO RES NAGUABO VALLEY                         EDIF D APTO 3                                                                       NAGUABO             PR           00718

   645579 ELIZABETH TRINIDAD RIVERA                   BO BEATRIZ SECTOR RODRIGUEZ BOX 5834                                                                           CIDRA               PR           00739
   152175 ELIZABETH TROCHE RAMIREZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152176 ELIZABETH TRUJILLO CLASS                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH VALDIVIESO
   152177 MODESTO                                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152178 ELIZABETH VALE ACEVEDO                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152179 ELIZABETH VALENTIN CORTES                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645580 ELIZABETH VALENTIN ORENGO                   VILLA CAROLINA             CALLE 483 BQ 152                                                                    CAROLINA            PR           00985
   645582 ELIZABETH VALENTIN ROSA                     PO BOX 269                                                                                                     RINCON              PR           00677
   645583 ELIZABETH VALLE PEREZ                       HC 1 BOX 4285                                                                                                  QUEBRADILLAS        PR           00678
   152180 ELIZABETH VARGAS                            REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152181 ELIZABETH VARGAS CONTES                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645584 ELIZABETH VARGAS CRUZ                       HC 1 BOX 10912                                                                                                 LAJAS               PR           00667‐9712

   645585 ELIZABETH VARGAS MARTINEZ                   PO BOX 965                                                                                                     SABANA GRANDE       PR           00637
   645586 ELIZABETH VARGAS MENDEZ                     PMB 1499                   243 CALLE PARIS                                                                     SAN JUAN            PR           00917
   152182 ELIZABETH VARGAS ROJAS                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645587 ELIZABETH VAZQUEZ                           RR 01 BOX 11520                                                                                                TOA ALTA            PR           00953

   152183 ELIZABETH VAZQUEZ CARABALLO REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645588 ELIZABETH VAZQUEZ DIAZ      B 3 URB COLINAS DE COAMO                                                                                                       COAMO               PR           00766




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   645589 ELIZABETH VAZQUEZ GUALDIOLA 2391 CALLE VILLA REAL                                                                                                            SAN JUAN            PR           00915
   645590 ELIZABETH VAZQUEZ MALAVE    24 SECTOR LOS TANQUES                                                                                                            JUANA DIAZ          PR           00795
   645591 ELIZABETH VAZQUEZ PEREZ     BO CORAZON                              611‐4 CALLE SANTO TOMAS                                                                  GUAYAMA             PR           00784

   152184 ELIZABETH VAZQUEZ RAMIREZ                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645592 ELIZABETH VAZQUEZ SANTOS                    HC 1 BOX 7058                                                                                                    AGUAS BUENAS        PR           00703
   645593 ELIZABETH VEGA                              COUNTRY STATE           B 14 CALLE 1                                                                             BAYAMON             PR           00957
   645594 ELIZABETH VEGA BERRIOS                      HC 07 BOX 2388                                                                                                   PONCE               PR           00731
   152185 ELIZABETH VEGA COLON                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152186 ELIZABETH VEGA MENDOZA                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645596 ELIZABETH VEGA RIVERA                       RES GOLDEN              35 CALLE 160                                                                             PONCE               PR           00731
   645597 ELIZABETH VEGA ROMAN                        HC 03 BOX 15427                                                                                                  JUANA DIAZ          PR           00795‐9523
   152187 ELIZABETH VEGA TORRES                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152188 ELIZABETH VEGA VARGAS                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645599 ELIZABETH VELAZQUEZ CORTES                  HC 01 BOX 3501                                                                                                   JAYUYA              PR           00664
   152189 ELIZABETH VELAZQUEZ ORTIZ                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645602 ELIZABETH VELAZQUEZ SOTO                    175 NEMESIO GONZALEZ                                                                                             MOCA                PR           00676
          ELIZABETH VELAZQUEZ
   645603 VELAZQUEZ                                   HC 2 BOX 13109                                                                                                   AGUAS BUENAS        PR           00703‐9406
   152190 ELIZABETH VELEZ CARRERO                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645604 ELIZABETH VELEZ DIAZ                        PO BOX 105                                                                                                       BOQUERON            PR           00622

   645605 ELIZABETH VELEZ FRANCHESCHI                 LOMAS DE COUNTRY CLUB   R 2 CALLE 7                                                                              PONCE               PR           00731
   645607 ELIZABETH VELEZ REYES                       HC 3 BOX 33715                                                                                                   HATILLO             PR           00659
   645608 ELIZABETH VIANA DE JESUS                    PMB 133 PO BOX 2400                                                                                              TOA BAJA            PR           00951

   152191 ELIZABETH VILLAGRASA FLORES                 REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152192 ELIZABETH VINELLI ORMENO                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152193 ELIZABETH VIZCARRONDO                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645612 ELIZABETH VIZCARRONDO RIOS                  COM LA DOLORES          268 CALLE COLOMBIA                                                                       RIO GRANDE          PR           00745
   152194 ELIZABETH Y CACERES                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZABETH Y LINDA FIGUEROA
   645613 VAZQUEZ                                     P O BOX 502                                                                                                      YAUCO               PR           00698
          ELIZABETH ZAMBRANA
   152195 FIGUEROA                                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152198 ELIZABETH, PUELLO                           REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645614 ELIZAEL ROMAN VERA                          77 CALLE VENUS                                                                                                   PONCE               PR           00731

   645615 ELIZAIDA AYALA CRUZ                         URB MONTE CLARO         MK14 CALLE PASEO DEL PARQUE                                                              BAYAMON             PR           00961

   152199 ELIZAIDA BALAGUER BALAGUER                  REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELIZAIDA CONCEPCION
   152200 MANTILLA                                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   152201 ELIZAIDA MEDINA HERNANDEZ                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152203 ELIZAIDA VELEZ OLAN                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645616 ELIZAIRA NEGRON OJEDA                       HC 01 BOX 20101                                                                                                  COMERIO             PR           00782
   645618 ELIZAM ESCOBAR ORTIZ                        URB HUYKE               181 JUAN B HUYKE                                                                         SAN JUAN            PR           00918
   645617 ELIZAM RIOS MEDINA                          PO BOX 1391                                                                                                      LAJAS               PR           00667
   152207 ELIZAMUEL ROSARIO VELEZ                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  152209 ELIZANDRA SANCHEZ ABREU                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  152210 ELIZANETTE SOTO COLLAZO                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  645620 ELIZARDA TORRES OJEDA                        URB SAN VICENTE            47 CALLE 10                                                                        VEGA BAJA            PR         00693
  645621 ELIZARDO DUPREY LOPEZ                        URB LA ARBOLEDA            335 CALLE 15                                                                       SALINAS              PR         00751
  152211 ELIZARDO MARTINEZ                            REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  645622 ELIZARDO MATOS                               PO BOX 364388                                                                                                 SAN JUAN             PR         00936
  152212 ELIZAYDA DIAZ RIVERA                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         ELIZER MUðOS DBA ELY S
  152213 CATERING SERVICES                            CALLE DISTRITO #29                                                                                            PONCE                PR         00731
  152215 ELIZER VELAZQUEZ SANCHEZ                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  152217 ELKA M RIOS CARRION                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         ELKEEN JAREL TORRES
  152218 AGRAMONTE                                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  152219 ELKET RODIGUEZ BIRRIEL                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  645624 ELKIN K CLON TORRES                          PO BOX 23                                                                                                     VILLALBA             PR         00766
  152221 ELKIS S BERMUDEZ TORRES                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   645625 ELKY D MENENDEZ SEPULVEDA                   PO BOX 867                                                                                                    SALINAS              PR         00751
   152222 ELLA J WOGER NIEVES                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   152223 ELLA LUCIANO FELICIANO                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   152224 ELLA MIRANDA ROSARIO                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   152225 ELLCO GROUP LLC                             PO BOX 334037                                                                                                 PONCE                PR         00733‐4037
   152226 ELLEN A SANTOS RIVERA                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   645627 ELLEN ANN WALDMAN                           3661 JACKDAW STREET                                                                                           SAN DIEGO            CA         92103
   645628 ELLEN CHARDON BERMUDEZ                      PMB 304                    425 CARRETERA 693                                                                  DORADO               PR         00646‐2113
          ELLEN E PRATT/ RENEWABLE
   152227 SOLUTION                                    ENGINEERING INC            PO BOX 896                                                                         LAJAS                PR         00667

   152228 ELLEN I CARABALLO VELAZQUEZ REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   152230 ELLEN MARTINEZ DIODONET     REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED

   645629 ELLEN RODRIGUEZ HENRIQUEZ                   HC 2 BOX 14226                                                                                                MOCA                 PR         00676
   152231 ELLEN S HOWELL                              REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   645630 ELLEONETT J GONZALEZ                        P O BOX 1318                                                                                                  LUQUILLO             PR         00773
          ELLERY M CARTAGENA
   152232 FELICIANO                                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   152233 ELLERY M ROMAN                              REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   645632 ELLIAM TORRES TORRES                        VILLA ROCA CALLE 23        BUZON H 25                                                                         MOROVIS              PR         00687
   152234 ELLIE Y RODRIGUEZ RAMOS                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   645633 ELLIEFREN FLOWER & MORE                     CALLE DR BARRERAS 11       BOX 2203                                                                           JUNCOS               PR         00777
   645635 ELLIEN SALAS QUINONES                       URB COUNTRY CLUB           QN 7 CALLE 246                                                                     CAROLINA             PR         00988

   645636 ELLIO A RIOS RAMIREZ                        URB ALTURAS DE FLAMBOYAN   CC 27 CALLE 17                                                                     BAYAMON              PR         00959
   152241 Ellio Rodríguez Santiago                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   152242 ELLIONEXY LUGO KUILAN                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   152243 ELLIOT A DAVIS                              REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   152244 ELLIOT A MARTINEZ QUINONES                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   152245 ELLIOT A PEREZ GARDON                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   645638 ELLIOT A SANTAELLA DEL VALLE                PARQUE MONTERRY            CALLE MONTERY APT 420                                                              PONCE                PR         00717
   152246 ELLIOT A SEGARRA MATOS                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   645640 ELLIOT ARCHILLA ROSADO                      P O BOX 126                                                                                                   NARANJITO            PR         00719



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  152247 ELLIOT BELTRAN CRUZ                           REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152248 ELLIOT CABRERA RAMOS                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152249 ELLIOT CALDERON MATOS                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152250 ELLIOT CASTANER DIAZ                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  645637 ELLIOT CHARLES                                BARRIO BEATRIZ                BOX 20710                                                                            CAYEY               PR         00736
  645641 ELLIOT CLASS TORRES                           P O BOX 2390                                                                                                       SAN JUAN            PR         00919
  152252 ELLIOT CLAUDIO DE LA CRUZ                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  645642 ELLIOT CLAUDIO SANCHEZ                        VILLA PALMERA                 221 CALLE CAROLINA                                                                   SAN JUAN            PR         00915

   645643 ELLIOT CONCEPCION RODRIGUEZ VILLA PALMA BO PUERTOS                         PARC 233 CALLE 12                                                                    DORADO              PR         00646
   645644 ELLIOT D RIVERA PEREZ       MIRAMAR                                        662 CALLE CENTRAL APT3B                                                              SAN JUAN            PR         00907
   645645 ELLIOT DE JESUS GARCIA      PO BOX 479                                                                                                                          DORADO              PR         00646
   152253 Elliot de Jesus Huertas     REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645646 ELLIOT DIAZ ORTIZ           HC 2 BOX 23427                                                                                                                      MAYAGUEZ            PR         00680
   152254 ELLIOT DIAZ TORO            REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152255 ELLIOT E. DIAZ RIVERA       REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645647 ELLIOT FERNANDEZ PEREZ      AA 23 LOS ALMENDROS                                                                                                                 PONCE               PR         00731
   152256 ELLIOT G GOMEZ CRESPO       REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152257 ELLIOT G. CABAN ROBLES      REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645648 ELLIOT GARCIA DIAZ          BO PALMAREJO                                   HC 1 BOX 4227                                                                        COROZAL             PR         00783
   152258 ELLIOT GIRAU PINEIRO        REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ELLIOT GIRAUD/LA CEIBA SERV
   645649 STATION                     PO BOX 140876                                                                                                                       ARECIBO             PR         00614‐0876

   152260 ELLIOT GUZMAN BETANCOURT                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645651 ELLIOT H LOPEZ QUILES                        C5 JARD DE LARES                                                                                                   LARES               PR         00669
          ELLIOT HERNANDEZ DBA AROS
   152261 DE                                           CONSTRUCION HERNANDEZ         PO BOX 2135                                                                          MOCA                PR         00676
          ELLIOT HERNANDEZ
   152262 MALDONADO                                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   645652 ELLIOT HERNANDEZ MARTINEZ                    PO BOX 2072                                                                                                        CAROLINA            PR         00984
   152263 ELLIOT HOSPITAL                              2250 FOURTH AVE STE 105                                                                                            SAN DIEGO           CA         92101
   152264 ELLIOT I COLON RIVERA                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645653 ELLIOT I COLON RIVERA                        URB EL CONQUISTADOR           M 10 AVE D VELAZQUEZ                                                                 TRUJILLO ALTO       PR         00976
   152265 ELLIOT J ACEVEDO SOTO                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   645654 ELLIOT J GONZALEZ RODRIGUEZ                  HC 1 BOX 7298                                                                                                      GUAYANILLA          PR         00656
   152266 ELLIOT LOPEZ SEGARRA                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645655 ELLIOT MARTINEZ MENDEZ                       3014 CALLE IMPERIAL                                                                                                AGUADILLA           PR         00936
   152267 ELLIOT MENDEZ SANTOS                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   645656 ELLIOT MONTEVERDE TORRES                     602 AVE FDEZ JUNCOS APT 401                                                                                        SAN JUAN            PR         00907
   645657 ELLIOT MORALES VARGAS                        URB CRISTAL                   B 26 CALLE 2                                                                         MAYAGUEZ            PR         00680
   645658 ELLIOT ORTEGA                                URB LA ESPERANZA              X5 CALLE 19                                                                          VEGA ALTA           PR         00692
   152269 ELLIOT PERDOMA IRIZARRY                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645660 ELLIOT PEREZ FUENTES                         JARD DE RIO GRANDE            B R 643 CALLE 58                                                                     RIO GRANDE          PR         00745
   645659 ELLIOT PEREZ GONZALEZ                        JARD M BLANCO                 B 41 CALLE D                                                                         YAUCO               PR         00698
   645661 ELLIOT R RIVERA VELEZ                        URB LOS ROBLES                C 2 CALLE 2                                                                          GURABO              PR         00778

   152270 ELLIOT R RODRIGUEZ MERCADO REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152271 ELLIOT R RODRIGUEZ TORRES  REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645663 ELLIOT RAMIREZ DE JESUS    HC 01 BOX 7419                                                                                                                       SANTA ISABEL        PR         00757



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  645664 ELLIOT RAMIREZ GAUD                          URB VISTAMAR                333 AVE PONTEZUELA                                                               CAROLINA            PR         00983
  152272 ELLIOT RIVERA                                REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  645665 ELLIOT RODRIGUEZ COLON                       MINILLAS STATION            P O BOX 40621                                                                    SAN JUAN            PR         00940
  152273 ELLIOT RODRIGUEZ GALIANO                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  645666 ELLIOT RODRIGUEZ MATOS                       PO BOX 1005                                                                                                  AGUADA              PR         00602

   152274 ELLIOT S. HERNANDEZ ACOSTA                  REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645667 ELLIOT SANCHEZ FELICIANO                    HC 4 BOX 41402                                                                                               HATILLO             PR         00659
   152275 ELLIOT SANCHEZ ISAAC                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645668 ELLIOT SANTANA RODRIGUEZ                    VILLA MATILDE               E 13 CALLE 4                                                                     TOA ALTA            PR         00953
   645669 ELLIOT SANTIAGO COLON                       PO BOX 1557                                                                                                  CABO ROJO           PR         00623

   152276 ELLIOT SANTIAGO CONCEPCION                  REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152277 ELLIOT SANTIAGO OCASIO                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645670 ELLIOT SOTO ACEVEDO                         P O BOX 1627                                                                                                 AGUADA              PR         00602
   645671 ELLIOT VAZQUEZ CRUZ                         P O BOX 4324                                                                                                 VEGA BAJA           PR         00693
   152278 ELLIOTNELL VELEZ LATORRE                    REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645672 ELLIOTT & FITZPATRIC INC                    PO BOX 1945                                                                                                  ATHENS              GA         30603
   645673 ELLIOTT CASTRO TIRADO                       PO BOX 36‐1885                                                                                               SAN JUANN           PR         00936‐1885
   152279 ELLIOTT NUNEZ CRUZ                          REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645677 ELLIOTT RODRIGUEZ RUIZ                      2 CALLE TENIENTE ALVARADO                                                                                    YAUCO               PR         00698
   152280 ELLIOTT SOTO MARTINEZ                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152281 ELLIP C CORP INC                            PO BOX 366006                                                                                                SAN JUAN            PR         00936‐6006
   152282 ELLIP‐C CORP                                PO BOX 366006                                                                                                SAN JUAN            PR         00936‐6006
   645679 ELLIS FORESTIER PEREZ                       4 URB LOS CARTEROS                                                                                           MAYAGUEZ            PR         00680
   152285 ELLIS HOSPITAL                              1101 NOTT ST                                                                                                 SCHENECTADY         NY         12308
   645680 ELLIS INVESMENT INC                         3 CALLE CESARI                                                                                               YAUCO               PR         06983504
   645681 ELLIS J ORTIZ NOGUEZ                        P O BOX 7126                                                                                                 PONCE               PR         00732
   152286 ELLIS J SANCHEZ MEDINA                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645682 ELLIS T PAGAN LUCENA                        PO BOX 617                                                                                                   LAJAS               PR         00667
   645678 ELLIS Y SANCHEZ MEDINA                      COND TORRES LAS CUMBRES     APT 913                                                                          SAN JUAN            PR         00926
   645683 ELLISON JACOB J                             PO BOX 34136                                                                                                 FORT BUCHANAN       PR         00934
   645684 ELLIUT PELLOT LOPEZ                         HC 4 BOX 46144                                                                                               AGUADILLA           PR         00603
   152293 ELLOIT ZUCKERMAN                            REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152296 ELLUZ SANCHEZ HERNANDEZ                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   645685 ELLY CHIPROUT ROSADO                        232 AVE ELEONOR ROOSEVELT                                                                                    SAN JUAN            PR         00907

   645686 ELLY M DE LA ROSA COLON                     50 CALLE ADRIANO GONZALEZ                                                                                    ARECIBO             PR         00612
   645687 ELLY OLAVARIA ORTIZ                         A 5 URB LAS QUINTAS                                                                                          AIBONITO            PR         00705
   645688 ELLYS PAGAN LOPEZ                           HC 05 BOX 93665                                                                                              ARECIBO             PR         00612
   152297 ELLYSMAR GOMEZ LUZARDO                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ELMAE PROTESIS & ARTESIS
   152298 MEDICAL INC                                 HC 20 BOX 29200                                                                                              SAN LORENZO         PR         00754
   152299 ELMANUEL QUINONES PEREZ                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152300 ELME J NODAR GAUD                           REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645690 ELMEC INDUSTRIES INC                        PO BOX 3509                                                                                                  MAYAGUEZ            PR         00681

   645691 ELMELINDO SANTIAGO APONTE                   HC 06 BOX 4326                                                                                               COTTO LAUREL        PR         00780
   152301 ELMEN MELENDEZ GONZALEZ                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   645692 ELMENDORF DATA PRODUCTS                     SANTURCE STATION            PO BOX 9045                                                                      SAN JUAN            PR         00908‐9045
   645694 ELMENDORF GRAFICA INC                       URB PUERTO NUEVO            1232 CALLE CADIZ                                                                 SAN JUAN            PR         00920



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                                                      1232 CALLE CADIS ESQ
   645695 ELMENDROF COLOR INC                         ROOSEVELT                                                                                                SAN JUAN            PR           00920
   152302 ELMER A ROSADO DIAZ                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152303 ELMER ALAMEDA ROMÁN                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   152304 ELMER CABALLERO GONZALEZ                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645696 ELMER CAMACHO RODRIGUEZ                     BOX 393                                                                                                  BOQUERON            PR           00622
   152305 ELMER CINTRÓN DELGADO                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645697 ELMER COLON TORRES                          HC 02 BOX 4215                                                                                           COAMO               PR           00769

   152306 ELMER CUADRADO PASTRANA                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645699 ELMER E MATOS ZAPATA                        SECT LA 22             HC 01 BOX 6700                                                                    CABO ROJO           PR           00623
   152308 ELMER E MELENDEZ                            REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645700 ELMER E RIVERA RODRIGUEZ                    URB PACIFICA           52 PLAZA TROPICAL                                                                 TRUJILLO ALTO       PR           00976
   645701 ELMER F CRUZ PEREZ                          HC 04 BOX 23188                                                                                          LAJAS               PR           00667
   152309 ELMER FIGUEROA BERRIOS                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152310 ELMER FLORES OLIVERAS                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645702 ELMER GONZALEZ                              PO BOX 12383                                                                                             SAN JUAN            PR           00914‐2383
   152312 ELMER I DIAZ CRUZ                           REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645703 ELMER IRIZARRY SANCHEZ                      URB MONTERREY          807 CALLE ABACOA                                                                  MAYAGUEZ            PR           00680
   152314 ELMER J RIVERA SOTO                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152315 ELMER J SOSA MUNDO                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152316 ELMER J. VELEZ RODRIGUEZ                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELMER JAVIER CAMACHO
   152317 SOSTRE                                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152318 ELMER L CASIANO LOPEZ                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152319 ELMER L FUENTES NEGRON                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645704 ELMER LEON CABELLO                          HC 02 BOX 10445                                                                                          GUAYNABO            PR           00971
   152320 ELMER LOPEZ TELLADO                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645706 ELMER MARRERO CARTAGENA                     PO BOX 598                                                                                               OROCOVIS            PR           00720
   645707 ELMER MARTINEZ PSC                          PO BOX 537                                                                                               CAMUY               PR           00627
   152321 ELMER MARTINEZ RIVERA                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152322 ELMER MEDINA                                REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   645708 ELMER MEDINA MERCED                         P O BOX 944                                                                                              AIBONITO            PR           00705
   645709 ELMER MENDEZ MARTINEZ                       JARD DE CANOVANAS      C 11 CALLE 2                                                                      CANOVANAS           PR           00729
   152323 ELMER N PEREZ RAMIREZ                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152325 ELMER PABON NIEVES                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   152326 ELMER Q HERNANDEZ AROCHO                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELMER R GONZALEZ RODRIGUEZ
   152327 DBA 5TO                                     ELEMENTO               PO BOX 1477                                                                       BOQUERON            PR           00622
   645711 ELMER RAMOS LUGO                            PO BOX 762                                                                                               SABANA GRANDE       PR           00637
   152328 ELMER RIVERA COLON                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   645712 ELMER RODRIGUEZ HERNANDEZ                   PO BOX 1710                                                                                              SAN GERMAN          PR           00683
   645715 ELMER TOLLINCHI DELGADO                     PO BOX 1039                                                                                              ADJUNTAS            PR           00601‐1036
   645716 ELMER VELEZ GONZALEZ                        PO BOX 351                                                                                               HORMIGUEROS         PR           00660
   152329 ELMER ZAPATA PADILLA                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152331 ELMHURST HOSPITAL CENTER                    PO BOX 19058                                                                                             GREEN BAY           WI           54307‐9058
          ELMHURT BEHAVORIAL HEALTH
   152332 CLINIC DR CHANG                             PO BOX 19072                                                                                             GREEN BAY           WI           54307‐9072



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  645717 ELMI R MARTINEZ                              HC 1 BOX 5781                                                                                                        JUNCOS              PR           00777
  645718 ELMINA VALLE SANTIAGO                        H 9 PARC RODRIGUEZ OLMO                                                                                              ARECIBO             PR           00612

   152333 ELMIR B BERMUDEZ RODRIGUEZ REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   645719 ELMIS E MELENDEZ TORRES    PO BOX 214                                                                                                                            OROCOVIS            PR           00720
   645720 ELMIS VAZQUEZ QUILES       P O BOX 56                                                                                                                            PONCE               PR           00780‐0056
   645721 ELMO A RODRIGUEZ DIAZ      URB MONTEBELLO G 21                          CALLE MAJESTAD BZN 4045                                                                  HORMIGUEROS         PR           00660
   645722 ELMO BAR & RESTAURANT      P O BOX 9020192                                                                                                                       SAN JUAN            PR           00902‐0192
   645723 ELMO DIAZ VELAZQUEZ        VILLA OLIMPIA                                A 9 CALLE 2                                                                              YAUCO               PR           00698
   645724 ELMO E LUGO DIAZ           REXMANOR                                     L 7 CALLE 1                                                                              GUAYAMA             PR           00784
   645725 ELMO E PENA DELGADO        URB COUNTRY CLUB                             GL 16 AVE CAMPO RICO                                                                     CAROLINA            PR           00985
   152334 ELMO MONTANEZ BONILLA      REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   152335 ELMO MURILLO               REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   152336 ELMO ORTIZ/ PRISCILLA R WREN                REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   645726 ELMO RODRIGUEZ SOSA                         LOMAS DE CAROLINA           2C‐16 CALLE 52A                                                                          CAROLINA            PR           00985
   645727 ELMO RUIZ RODRIGUEZ                         679 URB CANAS LOS PINOS                                                                                              PONCE               PR           00728
   152338 ELMO X PEREZ GONZALEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   152339 ELMON R BERNIER SOTO                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   645728 ELMY CARRION CANCEL                         URB VISTAS DE CAMUY         K 12 CALLE 7                                                                             CAMUY               PR           00627

   645730 ELMYS MORALES TORRES                        46 SECTOR ENTRADAS ARENAS                                                                                            JAYUYA              PR           00664
   152341 ELODIA RIVAS RIVERA                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   645731 ELOIDA G MORA TORRES                        P O BOX 138                                                                                                          CAYEY               PR           00736
   152343 ELOIN GONZALEZ ORTIZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   152345 ELOINA ARZOLA RODRIGUEZ                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   645732 ELOINA DEL C ROSADO                         HC 1 BOX 6780                                                                                                        OROCOVIS            PR           00720
   645733 ELOINA FIGUEROA                             PO BOX 1025                                                                                                          YAUCO               PR           00698‐1025

   645734 ELOINA G SANCHEZ RAMOS                      232 AVE ELEONOR ROOSEVELT                                                                                            SAN JUAN            PR           00907
   645738 ELOINA ROSADO QUIÃONEZ                      HC 1 BOX 6780                                                                                                        OROCOVIS            PR           00720
   645739 ELOINO SOTO TRUJILLO                        HC 04 BOX 17876                                                                                                      SAN SEBASTIAN       PR           00685
   645740 ELOIRA AGUAYO GARCIA                        VILLA PLATA MAMEYAL         J 8 CALLE 24                                                                             DORADO              PR           00646
   152346 ELOISA COUVERTIER REYES                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   645743 ELOISA FERNANDEZ ROLON                      BARRIOS LA CUATROCIENTAS    CALLE 4 PARCELA 117                                                                      CANOVANAS           PR           00729
   645741 ELOISA FIRPI VALENCIA                       URB EL PARAISO              129 B CALLE A HATO ARRIBA                                                                ARECIBO             PR           00612
                                                                                  585 CALLE CENTAURO ESQ
   645744 ELOISA GRAU CONTRERAS                       URB ALTAMIRA                POLAR                                                                                    SAN JUAN            PR           00920
   645745 ELOISA JIMENEZ GONZALEZ                     VILLA CAROLINA              115‐30 CALLE 76                                                                          CAROLINA            PR           00985
   645746 ELOISA LINARES TORRES                       PO BOX 1038                                                                                                          ENSENADA            PR           00647
   645747 ELOISA MARRERO MORALES                      PO BOX 1414                                                                                                          CIDRA               PR           00739
   152347 ELOISA MENA LOPEZ                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   645748 ELOISA MERCADO CABAN                        PO BOX 449                                                                                                           FLORIDA             PR           00650
   152348 ELOISA MONTALVO RUIZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   152349 ELOISA PENA MARRERO                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   152350 ELOISE JACKSON STOVALL                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   645750 ELOISO A LUGO                               PARQUE FLAMINGO             T 10 CALLE ZEUS                                                                          BAYAMON             PR           00959

   645751 ELOISTA ROSADO                              PTO REAL                    622 CALLE 20 PARC ELIZABETH                                                              CABO ROJO           PR           00623

   645752 ELOIZA GONZALEZ HERNANDEZ                   RES CORDERO DAVILA          EDIF 11 APT 107                                                                          SAN JUAN            PR           00917
          ELOIZA HERNANDEZ
   645753 CARRASQUILLO                                4 B CALLE BETANIA                                                                                                    TRUJILLO ALTO       PR           00976



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  645754 ELOIZA RIOS VARGAS                           CALLE BARBOSA IVERNAL    BOX 298                                                                           LAS MARIAS        PR         00670
  152351 ELOIZA ROSA MORALES                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  645755 ELOMARY NAVARRO                              HC 01 BOX 16120                                                                                            HUMACAO           PR         00791‐9724

   645757 ELOY A RUIZ RIVERA/JOSE A RUIZ CORDERO DAVILA                        EDIF 10 APT 78                                                                    SAN JUAN          PR         00917
   152354 ELOY A. RUIZ RIVERA            REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   152358 ELOY COLON DIEPPA              REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   645759 ELOY CORTIJO DEL CARMEN        PUERTO NUEVO                          307 CALLE 1 N‐E                                                                   SAN JUAN          PR         00920

   645760 ELOY DEL VALLE CARRASQUILLO                 P O BOX 512                                                                                                TRUJILLO ALTO     PR         00977
   645761 ELOY FIGUEROA                               RR 04 BOX 959                                                                                              BAYAMON           PR         00956
   645762 ELOY GOMEZ RIVERA                           URB SANTA JUANITA        B‐DD 9 CALLE 2                                                                    BAYAMON           PR         00956
   152359 ELOY GONZALEZ RODRIGUEZ                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   152360 ELOY GUILAMO SANTANA                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   152361 ELOY GUTIERREZ                              REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   645756 ELOY HERNANDEZ                              DORADO DEL MAR PLAYA     II APTO NN 10                                                                     DORADO            PR         00646
   152362 ELOY J ROBLES PEREZ                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   152363 ELOY JORGE MONTES DE OCA                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   645763 ELOY LOPEZ MARQUEZ                          PMB 1248 CALLE PARIS     STE 1248                                                                          SAN JUAN          PR         00917
   152364 ELOY LOPEZ RIVERA                           REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   645764 ELOY MARQUEZ DIAZ                           RR 01 BOX 11405                                                                                            TOA ALTA          PR         00953
   645765 ELOY MARQUEZ GONZALEZ                       URB LEVITTOWN            F A 8 CALLE JOAQUIN                                                               TOA BAJA          PR         00949
   152365 ELOY MARTINEZ GONZALEZ                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   152366 ELOY MATOS WALTON                           REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   645766 ELOY MENA DIAZ                              PO BOX 1013                                                                                                CABO ROJO         PR         00623
   645767 ELOY MOLINA SANTOS                          P O BOX 21365                                                                                              SAN JUAN          PR         00926‐1365
   152367 ELOY ORTIZ FONTANEZ                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   645768 ELOY ORTIZ TORRES                           PO BOX 192135                                                                                              SAN JUAN          PR         00919‐2135
   152368 ELOY P GONZALEZ FOSTER                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   645769 ELOY PASTRANA DIAZ                          PO BOX 1306                                                                                                LUQUILLO          PR         00773‐1306
   645771 ELOY POLANCO HERNANDEZ                      SIERRA BAYAMON           BLQ 21 4 C 19                                                                     BAYAMON           PR         00961
   152369 ELOY QUINONEZ BULERIN                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   152370 ELOY REYES ROSARIO                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   645773 ELOY RIOS RODRIGUEZ                         RR 02 BOX 6628                                                                                             TOA ALTA          PR         00953
   645774 ELOY SUAZO NEGRON                           URB SAN JOSE             332 CALLE ALCANIZ                                                                 SAN JUAN          PR         00923
   152371 ELOY TOLEDO                                 REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   645775 ELOY VELEZ HERNANDEZ                        URB VALENCIA             524 CALLE BAGUR                                                                   SAN JUAN          PR         00923
   152373 ELPIDIA DIAZ LOPEZ                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   645777 ELPIDIO ACEVEDO DOMINGUEZ                   CENTRAL CANOVANAS        PARCELA 14 CALLE 14                                                               CANOVANAS         PR         00729
   645778 ELPIDIO AGRAIT SERRA                        P O BOX 366336                                                                                             SAN JUAN          PR         00937‐6336
   645779 ELPIDIO AROCHO                              P O BOX 255                                                                                                ARECIBO           PR         00613‐0255
   152374 ELPIDIO BATISTA FELIZ                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ELPIDIO BERMUDEZ MILLAN &
   152375 HILDA I COLON                               REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   645780 ELPIDIO CASTRO COLON                        COBIANS PLAZA UM‐A 100   1607 PONCE DE LEON                                                                SAN JUAN          PR         00909
   645782 ELPIDIO CORTES BELTRAN                      LEVITOWN STATION         PO BOX 51834                                                                      TOA BAJA          PR         00950
   152376 ELPIDIO DE JESUS RODRIGUEZ                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   645783 ELPIDIO HILERIO VALENTIN                    HC‐ 01 BOX 16249                                                                                           AGUADILLA         PR         00603
   645785 ELPIDIO JIMENEZ FERNANDEZ                   URB COLINAS VERDES       C 17 CLLE 20                                                                      SAN JUAN          PR         00924
   645786 ELPIDIO JIMENEZ HEREDIA                     H C 1 BOX 10332                                                                                            ARECIBO           PR         00612
   152378 ELPIDIO MARRERO CINTRON                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   152379 ELPIDIO NUNEZ BURGOS                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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   152380 ELPIDIO PABON JORGE                         FOREST VIEW E‐157 CARTAGENA                                                                                       BAYAMON             PR         00956
   645787 ELPIDIO R. RIVERA SANTONI                   P O BOX 13304                                                                                                     SAN JUAN            PR         00908
   152381 ELPIDIO RIVERA DIAZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   645788 ELPIDIO RIVERA ESTRADA                      PO BOX 37214                                                                                                      SAN JUAN            PR         00937
   645789 ELPIDIO RIVERA ROMAN                        ADM SERV GEN                P O BOX 7428                                                                          SAN JUAN            PR         00916‐7428
   152382 ELPIDIO RODRIGUEZ COTTO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          ELPIDIO RODRIGUEZ DBA
   152383 ORCHEDAS OFFICE SU                          URB. RIO SOL CALLE 3 ‐ A6                                                                                         PENUELAS            PR         00624‐0000
   645790 ELPIDIO SALAS IRIZARRY                      P O BOX 199                                                                                                       JAYUYA              PR         00664
   645791 ELPIDIO SERRANO ROQUE                       PO BOX 701                                                                                                        MIAMI               PR         00674
   152384 ELPIDIO SOTO QUINONEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   645792 ELPIDIO VELEZ VALENTIN                      BO GUANABO                  HYC 59 BOX 4920                                                                       AGUADA              PR         00602
   152386 ELSA A BATISTA COURET                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152387 ELSA A CAJIGAS BOSQUES                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152388 ELSA A DAVID RODRIGUEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   645798 ELSA A PUCHOLS CUEVAS                       EL NARANJAL                 B 2 CALLE 1                                                                           TOA BAJA            PR         00949
   645799 ELSA A TIRADO ROMAN                         EL FRUTAL BOX 34                                                                                                  BAYAMON             PR         00959

   152389 ELSA A. GUERRERO ORELLANA                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   645800 ELSA ABREU GARCIA                           P O BOX 71449                                                                                                     SAN JUAN            PR         00936
   152390 ELSA AGUILAR                                REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152391 ELSA ALERS MALDONADO                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152392 ELSA ALVARES MARTE                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152393 ELSA ANAZCO MEJIA                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   645802 ELSA APONTE ROSA                            PO BOX 26                                                                                                         COTTO LAUREL        PR         00780
   645793 ELSA ARENAS ROSA                            URB COUNTRY CLUB            1039 CALLE MARIA CADILLA                                                              SAN JUAN            PR         00924
   152394 ELSA ARRIBAS                                REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   645803 ELSA AVILES RAMOS                           PMB 502                     PO BOX 1283                                                                           SAN LORENZO         PR         00754
   152395 ELSA B CARDALDA SANCHEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
                                                      SECT LOS PACHECO BO
   645804 ELSA B SANTIAGO PACHECO                     QUEBRADA CRUZ                                                                                                     TOA ALTA            PR         00953
   645805 ELSA BENITEZ RUIZ                           PO BOX 6768                                                                                                       CAGUAS              PR         00726
   152396 ELSA BURGOS RUIZ                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   645794 ELSA CARABALLO SAEZ                         PO BOX 560964                                                                                                     GUAYANILLA          PR         00656 0964
   645807 ELSA CARDONA ROMAN                          HC 02 BOX                                                                                                         QUEBRADILLAS        PR         00926
   152398 ELSA CEDENO RODRIGUEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152399 ELSA CHARLES BELEN                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   645809 ELSA COLON OSORIO                           RR 4 BOX 27657                                                                                                    TOA ALTA            PR         00953
   645810 ELSA COLON RODRIGUEZ                        VILLA CONTESA               FF 27 CALLE TUDOR                                                                     BAYAMON             PR         00657
   152401 ELSA CORDOVA TORRECH                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152402 Elsa Cortes                                 REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   645813 ELSA COSS RIVERA                            HC 20 BOX 25997                                                                                                   SAN LORENZO         PR         00754
   645814 ELSA COSTOSO MERCADO                        JARD DE RIO GRANDE          BJ 684 CALLE 51                                                                       RIO GRANDE          PR         00745
   645815 ELSA D ALVARADO ORTIZ                       HC 03 BOX 9670                                                                                                    BARRANQUITAS        PR         00794
   645817 ELSA D COLON CRUZ                           PO BOX 189                                                                                                        PATILLAS            PR         00723
   152404 ELSA D LUGO MONTALVO                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   645818 ELSA D MARTINEZ TORRES                      BOX 199                                                                                                           CIDRA               PR         00739
   645819 ELSA D ORTIZ DIAZ                           166 CALLE BARCELO                                                                                                 BARRANQUITAS        PR         00794
   645820 ELSA D ORTIZ SIERRA                         BOX 738                                                                                                           CIALES              PR         00638
   152405 ELSA D. AULET TORRES                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152407 ELSA DE JESUS GONZLEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152408 ELSA DE LA CRUZ MARTINEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  645822 ELSA DELGADO RIVERA                          PO BOX 1666                                                                                                          SAN JUAN             PR         00917
  645823 ELSA DIAZ CALOCA                             PO BOX 363968                                                                                                        SAN JUAN             PR         00936‐3968
  152409 ELSA DIAZ PENA                               REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  645825 ELSA DIAZ SANTIAGO                           LAGOS DE BASINA              EDIF 2 APT 31                                                                           CAROLINA             PR         00985
  152410 ELSA DOMENECH FEBRES                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  152411 ELSA E DEIDA FIGUEROA                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  645828 ELSA E FEBLES                                COND PAISAJES DEL ESCORIAL   APT 1703                                                                                CAROLINA             PR         00987
         ELSA E SANTIAGO FERMIN
  152413 TORRES                                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  645830 ELSA ESPINO MARTINEZ                         152 CALLE VILLAMIL                                                                                                   SAN JUAN             PR         00902
  152414 ELSA FELICIANO GARCIA                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  645833 ELSA FELICIER DE JESUS                       PO BOX 1220                                                                                                          RIO GRANDE           PR         00745
  152415 ELSA FERNANDEZ MIRALLES                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  152416 ELSA FIGUEROA CARDONA                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  152417 ELSA FIGUEROA DIAZ                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   645795 ELSA FIGUEROA GARCIA                        COND OASIS APARTMENTS        1195 CALLE TERRANOVA APT 8                                                              SAN JUAN             PR         00924
   645835 ELSA FRANCO FRANCO                          P O BOX 1395                                                                                                         TOA BAJA             PR         00951
   645836 ELSA G KINGSLEY FELICIANO                   URB VALLE ARRIBA HILL        P O BOX 4866                                                                            CAROLINA             PR         00984
   152419 ELSA GARCÍA FIGUEROA                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   152420 ELSA GAZTAMBIDE SOEGAARD                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   645837 ELSA GILBES SANTIAGO                        302 CALLE BELLEVUE                                                                                                   SAN JUAN             PR         00915
   645838 ELSA GUZMAN BERRIOS                         CAPARRA TERRACE              1319 AVE AMERICO MIRANDA                                                                SAN JUAN             PR         00920
   645839 ELSA GUZMAN MATIAS                          BO MAMEYAL                   41 B ALTOS CALLE PRINCIPAL                                                              DORADO               PR         00646

   645841 ELSA HERNANDEZ CABALLERO                    HC 3 BOX 39399                                                                                                       AGUADILLA            PR         00603
   645842 ELSA HERNANDEZ LUGO                         HC 02 BOX 4434                                                                                                       VILLALBA             PR         00766‐9713
   645843 ELSA HERNANDEZ MORALES                      MONTE VERDE SAN ISIDRO       446 BOX 3045                                                                            CANOVANAS            PR         00729
   645844 ELSA I ALVAREZ RAMOS                        RR 01 BOX 12253                                                                                                      MANATI               PR         00674‐9739
   645846 ELSA I DE JESUS IRIZARRY                    PO BOX 50648                                                                                                         TOA BAJA             PR         00950
   645849 ELSA I GARCIA VALENTIN                      P O BOX 250568               RAMEY STA                                                                               AGUADILLA            PR         00604
   152424 ELSA I GINORIO DOMINGUEZ                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   152425 ELSA I GOMEZ PELLOT                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   645850 ELSA I LAMOURT CARDONA                      BARRIO ENEAS                 HC 3 BOX 27794                                                                          SAN SEBASTIAN        PR         00685
   152426 ELSA I LEÓN RODRÍGUEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   645853 ELSA I MORALES AVILES                       EL ROSARIO 11                M 2 CALLE D                                                                             VEGA BAJA            PR         00693
   645854 ELSA I ORTIZ ALMODOVAR                      URB REXVILLE                 BF 7 CALLE 34                                                                           BAYAMON              PR         00957
   152427 ELSA I PADRO ROSA                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   645855 ELSA I PASTRANA CRUZ                        BO SANTIAGO YLIMA            BZN 295                                                                                 NAGUABO              PR         00718
   645856 ELSA I RAMOS PADILLA                        RES LAS DALIAS               EDI 18 APT 129                                                                          SAN JUAN             PR         00926
   152428 ELSA I RIOS CRUZ                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   152429 ELSA I RIVERA ROQUE                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   645859 ELSA I SALINAS BABILONIA                    URB RIO CRISTAL              5017 CALLE ROBERTO COLE                                                                 MAYAGUEZ             PR         00680
   152430 ELSA I SANTIAGO CLASS                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   645860 ELSA I TORRES SANTIAGO                      BOX 851                                                                                                              CIALES               PR         00638
   645863 ELSA IRIS MORALES LOPEZ                     MILAVILLE                    31 CALLE FRESA                                                                          SAN JUAN             PR         00926
          ELSA JUDITH POVENTUD DE
   645867 LEON                                        P O BOX 3141                                                                                                         CAROLINA             PR         00984
   645868 ELSA L COLON BARRETO                        HC 83 BUZON 6828                                                                                                     VEGA ALTA            PR         00692
   152431 ELSA L PEREZ SANTIAGO                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   645869 ELSA LEBRON DELGADO                         SANTA JUANA                  Q11 CALLE 8                                                                             CAGUAS               PR         00725
   152432 ELSA LOPEZ GONZALEZ                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  152433 ELSA LOPEZ PEREZ                             REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   645870 ELSA LOPEZ Y/O ANA D VAZQUEZ HC 01 BOX 7056                                                                                                                      NAGUABO             PR         00718
   152434 ELSA LUCIANO FEAL            REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645871 ELSA LUGO DELGADO            HC 01 BOX 4211                                                                                                                      CIALES              PR         00638
   645872 ELSA LUISA RODRIGUEZ ROSA    HC 6 BOX 2153                                                                                                                       PONCE               PR         00731‐9611
   152435 ELSA M ADAMS RODRIGUEZ       REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152436 ELSA M ADORNO MALAVE         REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645873 ELSA M ALLENDE               URB LOIZA VALLEY                              K 387 CALLE LAUREL                                                                    CANOVANAS           PR         00729
   152437 ELSA M BERRIOS RIVERA        REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645874 ELSA M COLON LEFEBRE         URB LAS MARGARITAS                            F 26 CALLE A                                                                          SALINAS             PR         00751
   152438 ELSA M CORTES ARCE           REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152440 ELSA M DEL VALLE DE LEON     REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152441 ELSA M DIAZ APONTE           REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152442 ELSA M ESQUILIN FIGUEROA     REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645875 ELSA M FALERO HERNANDEZ      VILLAS DE LOIZA                               F 49 CALLE 3                                                                          CANOVANAS           PR         00729
   645876 ELSA M GARCIA PEREZ          HC 02 BOX 15320                                                                                                                     ARECIBO             PR         00612
   152443 ELSA M GOMEZ CAMACHO         REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152444 ELSA M GONZALEZ ORTEGA       REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645877 ELSA M GONZALEZ RIVERA       PO BOX 1359                                                                                                                         GURABO              PR         00778

   152445 ELSA M GONZALEZ RODRIGUEZ                   REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645879 ELSA M GUAL OCASIO                          PO BOX 2635                                                                                                          GUAYAMA             PR         00785
   645880 ELSA M LASALLE ORTIZ                        URB KENNEDY                    72 CALLE PEDRO HERNANDEZ                                                              QUEBRADILLAS        PR         00678
   645882 ELSA M MATOS ALVARADO                       PO BOX 29                                                                                                            COMERIO             PR         00782
   645883 ELSA M MATTEI SANTIAGO                      PO BOX 3302                                                                                                          GUAYNABO            PR         00970
   152446 ELSA M MENDEZ FELICIANO                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645884 ELSA M MESSON COCCO                         VILLA FONTANA                  VIA 5 2GR 737                                                                         CAROLINA            PR         00983
   152447 ELSA M OBEN CUADROS                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152450 ELSA M PEREIRA MARTINEZ                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645887 ELSA M PEREZ VALENTIN                       PO BOX 1924                                                                                                          GUAYAMA             PR         00785‐1924

   645888 ELSA M RAMIREZ MONTALVO                     9754 VILLAS DE CIUDAD JARDIN                                                                                         CANOVANAS           PR         00729‐9848
   645889 ELSA M RIVERA IRIZARRY                      BO CUATRO CALLES               6 CALLE FAGOT                                                                         PONCE               PR         00731
   645890 ELSA M RIVERA VALENCIA                      TERRAZAS DE GUAYNABO           M2 CALLE AZAHAR                                                                       GUAYNABO            PR         00969

   645891 ELSA M RODRIGUEZ COLON                      COM CAONILLAS DE AIBONITO      PARCELA 60                                                                            AIBONITO            PR         00757

   152451 ELSA M RODRIGUEZ HERNANDEZ REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152452 ELSA M RODRIGUEZ VARGAS    REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645892 ELSA M ROQUE COLON         URB HORIZONS                                    101 CALLE SAN PABLO                                                                   SAN JUAN            PR         00926‐5317

   645893 ELSA M SANTIAGO HERNANDEZ HC 02 BOX 6622                                                                                                                         UTUADO              PR         00641
   645894 ELSA M SANTOS MARTINEZ       P O BOX 370707                                                                                                                      CAYEY               PR         00737
          ELSA M TORRES MOLINA DBA JE
   152453 SERVICES                     COND MIRADORES DE SABANA 2 AVE PONCE DE LEON APT 181                                                                                GUAYNABO            PR         00965
   152454 ELSA M. ASENCIO CASIANO      REDACTED                   REDACTED                                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152455 ELSA M. FIGUEROA TORRES      REDACTED                   REDACTED                                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152457 ELSA M. GONZALEZ ORTIZ       REDACTED                   REDACTED                                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152458 ELSA M. LUNA TORRES          REDACTED                   REDACTED                                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152459 ELSA M. ROBLES VALENTIN      REDACTED                   REDACTED                                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ELSA M. TORRES MOLINA DBA JE BASE MUNIZ 2DO NIVEL EDIF.
   152460 SERVICES                     UPS                                                                                                                                 CAROLINA            PR         00983



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  152463 ELSA MALAVE VICENTE                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   645897 ELSA MARIA CASTRO DE JESUS                  PARQUE ARCO IRIS          227 CALLE 2 APT 102                                                                    TRUJILLO ALTO       PR         00976‐2853

   152465 ELSA MARIA MELENDEZ TORRES                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645898 ELSA MARINI‐MIR                             COND IBERIA 2             552 CALLE AUTRAL APT‐304                                                               SAN JUAN            PR         00920
   645900 ELSA MARRERO PRIETA                         RES SAN AGUSTIN           EDIF Y 488                                                                             SAN JUAN            PR         00901
   645901 ELSA MARTINEZ                               PO BOX 371918                                                                                                    CAYEY               PR         00736
   645902 ELSA MARTINEZ CARDONA                       PARCELAS VIEJAS           BO QUEBRADA                                                                            CAMUY               PR         00627
   645904 ELSA MARTINEZ QUINTANA                      URB FAIRVIEW              N 24 CALLE 21                                                                          SAN JUAN            PR         00926
   152468 ELSA MARTINEZ VAZQUEZ                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152469 ELSA MELENDEZ RAMOS                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645796 ELSA MELENDEZ VELA                          URB MARIANI               7512 CALLE DR LOPEZ NUSSA                                                              PONCE               PR         00717
          ELSA MILAGROS GONZALEZ
   152471 ORTIZ                                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152473 ELSA MORALES RIVERA                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152474 ELSA MOSQUERA                               REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152475 ELSA N FIGUEROA RIOS                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645908 ELSA N MARTINEZ CAMACHO                     PO BOX 1064                                                                                                      YAUCO               PR         00698
   645909 ELSA N RIVERA MALDONADO                     URB FLAMBOYAN GARDENS     C 13 N8                                                                                BAYAMON             PR         00959
   152476 ELSA NIEVES FERNANDEZ                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645911 ELSA O RIVERA DOMINGUEZ                     HYDE PARK                 859 AVE LAS MARIAS APTO 2                                                              SAN JUAN            PR         00927
   152477 ELSA O. MARTINEZ COLON                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152478 ELSA ORELLLANA HERNANDEZ                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645913 ELSA PADILLA REYES                          PO BOX 30959 65TH INF                                                                                            SAN JUAN            PR         00929‐1959
   645914 ELSA PAZ TORRES                             URB VICTORIA              357 CALLE BUENA SUERTE                                                                 SAN JUAN            PR         00923
   152480 ELSA PERDOMO RAMIREZ                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152481 ELSA PEREZ DOMENECH                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645915 ELSA PEREZ MELENDEZ                         PO BOX 841                                                                                                       FAJARDO             PR         00738
          ELSA PEREZ SANTIAGO Y
   645917 LEONARDO ROMAN                              URB LA GUADALUPE          3084 CALLE SAN JUDAS                                                                   PONCE               PR         00730‐4202
   645918 ELSA PINTO LOPEZ                            PMB 176 130 AVE WINSTON   CHURCHILL SUITE 1                                                                      SAN JUAN            PR         00926‐0375
   152482 ELSA QUINONES ORTIZ                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152483 ELSA R CARRILLO RUIZ                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152484 ELSA R DANDRIDGE MULERO                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   645919 ELSA R HERNANDEZ MERCADO                    BOX 7805                                                                                                         CIDRA               PR         00739
   645921 ELSA R ORTIZ RODRIGUEZ                      PUEBLO NUEVO              2 CALLE MARINA                                                                         BAYAMON             PR         00961
   152485 ELSA R PEÐA JIMENEZ                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152486 ELSA R URENA BENCOSME                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645922 ELSA R. INCLAN FONTANALS                    2066 CALLE BUENOS AIRES                                                                                          SAN JUAN            PR         00911
   645923 ELSA RAMIREZ LORA                           URB SANTA RITA            1106 CALLE GONZALEZ                                                                    RIO PIEDRAS         PR         00925
   152487 ELSA RAMIREZ VINCENTY                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ELSA RAMOS / BRENDA
   645924 MELENDEZ                                    CAPARRA TERRACE           1325 CALLE 16 S O                                                                      SAN JUAN            PR         00921
   645925 ELSA RAMOS FUENTES                          URB LA CONCEPCION         A 6 CALLE ELENA                                                                        CABO ROJO           PR         00623
   645926 ELSA RAMOS MORALES                          URB LAS VEGAS             DD 41 CALLE 26                                                                         CATAN0              PR         00962
   152488 ELSA RAMOS SOTO                             REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152489 ELSA REYES HERNANDEZ                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645927 ELSA RIPOLL VAZQUEZ                         27 CALLEJON BORINQUEN                                                                                            PONCE               PR         00731
   645928 ELSA RIVERA CORTES                          HC 03 BOX 10339                                                                                                  CAMUY               PR         00627
   645929 ELSA RIVERA DAVILA                          URB SANTA JUANITA         BR7 AVE STA JUANITA                                                                    BAYAMON             PR         00956
   645930 ELSA RIVERA DELGADO                         HC 37 BOX 6159                                                                                                   GUANICA             PR         00653



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  645931 ELSA RIVERA LOZADA                           885 BO SANTANA                                                                                                    LARES               PR         00669
  645933 ELSA RIVERA OLIVERA                          HC 01 BOX 7926                                                                                                    SALINAS             PR         00751
  152492 ELSA RIVERA RIVERA                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152493 ELSA RIVERA RODRIGUEZ                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   645934 ELSA RIVERA VELAZQUEZ                       URB JARDINES METROPOLITANO 974 CALLE GUTEMBERG                                                                    SAN JUAN            PR         00927
   152494 ELSA RODRIGUEZ DE GOMEZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645935 ELSA RODRIGUEZ MORALES                      RES LAS AMAPOLAS           EDIF B 9 APT 129                                                                       SAN JUAN            PR         00927
   645936 ELSA RODRIGUEZ OLIVERAS                     BO PARABUEYON              90 CALLE OLIVERAS                                                                      CABO ROJO           PR         00623
   152496 ELSA RODRIGUEZ RIVERA                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645937 ELSA RODRIGUEZ RODRIGUEZ                    COM MIRAMAR                718 CALLE GARDENIA BOX 47                                                              GUAYAMA             PR         00784
   645938 ELSA RODRIGUEZ SERRANO                      REPARTO VALENCIANO         AR 4 CALLE 12                                                                          BAYAMON             PR         00959
   645939 ELSA RODRIGUEZ UMPIERRE                     URB COLINAS DE CUPEY       D 15 CALLE 5                                                                           SAN JUAN            PR         00926
   645940 ELSA ROMAN MORALES                          PARC 188 ISLOTE 2                                                                                                 ARECIBO             PR         00612
   645941 ELSA ROSADO DAVILA                          P O BOX 603                                                                                                       SAN LORENZO         PR         00754
   152497 ELSA ROSARIO DOMINGUEZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152498 ELSA ROSARIO GONZALEZ                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152500 ELSA RUIZ RODRIGUEZ                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645944 ELSA S. PAEZ GUERRERO                       EXT LAGOS DE PLATA         U18 CALLE 17                                                                           LEVITTOWN           PR         00949
   645945 ELSA SANABRIA MELENDEZ                      PO BOX 1628                                                                                                       LAS PIEDRAS         PR         00771
   645946 ELSA SANCHEZ TIRADO                         URBM CAGUAX                K 16 CALLE TURKEY                                                                      CAGUAS              PR         00725
   645947 ELSA SANTANA APONTE                         HC 1 BOX 8444                                                                                                     GURABO              PR         00778‐9760
   152501 ELSA SANTIAGO COLON                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152502 Elsa Soledad Couso Serrano                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152504 ELSA SOTO RODRIGUEZ                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   645951 ELSA SOTO VELAZQUEZ                         277 CALLE FERNANDEZ GARCIA                                                                                        LUQUILLO            PR         00773
   645954 ELSA TIO                                    KINGS COURT                  52 APT 1 A                                                                           SAN JUAN            PR         00911
   152505 ELSA TORRES CARINO                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645955 ELSA TORRES RODRIGUEZ                       URB BUENA VISTA              1260 CALLE CALMA                                                                     PONCE               PR         00717‐2609
   645956 ELSA V LUGO AVILA                           EXT VILLAS DEL PILAR         B 29 CALLE 2                                                                         CEIBA               PR         00735
   645957 ELSA V TIRADO QUINONES                      PO BOX 9021112                                                                                                    SAN JUAN            PR         00902‐1112
   645797 ELSA V TORRES LLAURADOR                     URB HACIENDA LA MATILDE      E 23 CALLE 2                                                                         PONCE               PR         00731
   152506 ELSA VALENTIN ALMA                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152507 ELSA VALENTIN GONZALEZ                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152509 ELSA VELEZ RIVERA                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152511 ELSA VELEZ ROMAN                            REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   645959 ELSA VICTORIA SANTOS GORRITZ APARTADO 384                                                                                                                     CIDRA               PR         00739
                                       170 AVE ARTERIAL HOSTOS APT
   645962 ELSA Y RODRIGUEZ VALENTIN    N1                                                                                                                               SAN JUAN            PR         00918
   152512 ELSA Y SERRA CRUZ            REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645964 ELSA YAMILKA DE LA ROSA      URB PUERTO NUEVO                            1409 CALLE DOVEV                                                                     SAN JUAN            PR         00921
   152513 ELSA ZAMBRANA CRUZ           REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   152514 ELSADORI DE LA MATA MOREY                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152515 ELSALID HERNANDEZ RIVERA                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152516 ELSALYN VAZQUEZ MUNIZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ELS‐ENTERTAINMENT LIGHTING
   152517 SERVICES INC                                REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152518 ELSEVIER SCIENCE                            REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   645967 ELSEVIER SCIENCE INC                        PO BOX 64245                                                                                                      BALTIMORE           MD         21264
   645968 ELSIA VELEZ RODRIGUEZ                       URB VILLA CAROLINA           61 12 CALLE 47                                                                       CAROLINA            PR         00985



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   645969 ELSIDA VEGA LUGO                            EST GUAYDIA              54 CALLE RICARDO BALAZQUIDE                                                            GUAYAILLA            PR         00656
   645971 ELSIE A CORDERO                             URB COSTA BRAVA          J 2221                                                                                 ISABELA              PR         00662
   152520 ELSIE A QUINONEZ                            REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
          ELSIE A SANTIAGO CTA MARIA I
   645972 MENDEZ                                      P O BOX 186                                                                                                     SAN SEBASTIAN        PR         00685
   645973 ELSIE ACOSTA VEGA                           639 SUR CALLE 4                                                                                                 CAMDEN               NJ         00103
   645974 ELSIE ATRESINO MARTINEZ                     B 32 URB SAN MIGUEL                                                                                             SABANA GRANDE        PR         00637
   152521 ELSIE AYENDE RAMOS                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   645976 ELSIE B CORONA ORTEGA                       PARQUE DE LAS FLORES     10 BULEVARD DE MEDIA LUNA   APT 701                                                    CAROLINA             PR         00987
   152522 ELSIE BALAGUER MORALES                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
          ELSIE BIANCHI / YOLANDA
   152523 BIANCHI                                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   645977 ELSIE BONET CARDONA                         PO BOX 1306                                                                                                     VEGA ALTA            PR         00692
   152524 ELSIE BONILLA RODRIGUEZ                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   152525 ELSIE C LOPEZ RODRIGUEZ                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   645978 ELSIE CABAN HERNANDEZ                       HC 03 BOX 37357                                                                                                 SAN SEBASTIAN        PR         00685‐8959
   645979 ELSIE CALDERON RODRIGUEZ                    P O BOX 485                                                                                                     TRUJILLO ALTO        PR         00977
   152526 ELSIE CAMACHO GALINDO                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   645981 ELSIE CAMACHO SALIDO                        HC 615 BOX 8179                                                                                                 TRUJILLO ALTO        PR         00976
   645982 ELSIE CARDONA GUZMAN                        HC 08 BOX 304                                                                                                   PONCE                PR         00731
   645970 ELSIE CARO DE MEJIAS                        URB VILLA CAROLINA       158 18 CALLE 423                                                                       CAROLINA             PR         00985
   152527 ELSIE CARTAGENA RIVERA                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   152528 ELSIE CASTRO CASTRO                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   645984 ELSIE CHERENA PARDO                         ENSENADA                 63 CALLE ROBERTO CLEMENTE                                                              GUANICA              PR         00647
   152529 ELSIE CINTRON FIGUEROA                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   152530 ELSIE CINTRON NADAL                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   152531 ELSIE COLON MORALES                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   152532 ELSIE CORDERO LOPEZ                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   645985 ELSIE CRUZ                                  HC 2 BOX 11224                                                                                                  JUNCOS               PR         00777‐9611
   645986 ELSIE CRUZ DE COLLAZO                       PARQUE DE BONNEVILLE     EDIF 2 APTO 2E                                                                         CAGUAS               PR         00725
   152534 ELSIE CRUZ ROBLES                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   152536 ELSIE D BLASKY DE HOSTOS                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   152537 ELSIE D. FRANQUI LOPEZ                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   152538 ELSIE D. MARTINEZ ROSADO                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   645991 ELSIE DAMARIS PORTO REYES                   61 CALLE LUCIA VAZQUEZ                                                                                          CAYEY                PR         00736
   152539 ELSIE DE JESUS CRUZ                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   152540 ELSIE DÍAZ ALICEA                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   645993 ELSIE DIAZ DE MEDINA                        54 N CRUZ ORTIZ STELLA                                                                                          HUMACAO              PR         00791
   645994 ELSIE DIAZ GARCIA                           PO BOX 1514                                                                                                     CAGUAS               PR         00726
   645995 ELSIE DIAZ ORTEGA                           COLINAS DE CUPEY         15 CALLE 2B                                                                            SAN JUAN             PR         00926
   152541 ELSIE DIAZ RAMOS                            REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   645997 ELSIE DROZ                                  PO BOX 1593                                                                                                     GUAYNABO             PR         00970
   152543 ELSIE E GARRIGA RIVERA                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   152544 ELSIE E NEGRON RIVERA                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   645998 ELSIE E OCHOA DACOSTA                       URB EL VIGIA             43 CALLE SANTA ANASTACIA                                                               SAN JUAN             PR         00926‐4202
   152545 ELSIE E. MOLINA RODRIGUEZ                   REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   152546 ELSIE FELICIANO TORRES                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   646002 ELSIE FIGUEROA PEREZ                        2383 CALLE CANEY                                                                                                RINCON               PR         00677
   646005 ELSIE GARCIA LUGO                           URB DUHAMEL              46 CALLE MARIA BALSEIRO                                                                ARECIBO              PR         00612
   152548 ELSIE GELABERT MOLINA                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED



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  646007 ELSIE GONZALEZ ROSA                          RES VILLA ESPERANZA       EDIF 2 APT 7                                                                             SAN JUAN            PR         00926
  152549 ELSIE GRAFALS FONT                           REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  646008 ELSIE GUZMAN RODRIGUEZ                       P O BOX 11850             MSC 504                                                                                  SAN JUAN            PR         00921
  646009 ELSIE H TOLEDO VELEZ                         HC 02 BOX 6090                                                                                                     LARES               PR         00669
  152550 ELSIE H VEGA MUðOZ                           REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  646012 ELSIE HENRIQUEZ VELEZ                        PO BOX 4005                                                                                                        PONCE               PR         00733
  152555 ELSIE HOFFMAN GARCIA                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         ELSIE I COLÓN Y ELSIE M
  152556 ALEMANY                                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  646013 ELSIE I RIVERA RIVERA                        URB SAN ANTONIO           CALLE J F 109                                                                            ARROYO              PR         00714
  646015 ELSIE I VEGA MENDEZ                          P O BOX 565                                                                                                        CAMUY               PR         00677
  152557 ELSIE IRIZARRY RIVERA                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   646018 ELSIE J GONZALEZ GUZMAN                     PUNTO ORO II              EXT 6563 CALLE CONSTITUCION                                                              PONCE               PR         00728
   646019 ELSIE J LEON CONDE                          PARCELAS JAUCA            469 CALLE 5                                                                              SANTA ISABEL        PR         00757
   646020 ELSIE J ROSARIO NIEVEWS                     P O BOX 108                                                                                                        MOROVIS             PR         00687
   646021 ELSIE J VELAZQUEZ GRACIA                    BO YAUREL                 CARR 753 KM 6 HM 1                                                                       ARROYO              PR         00714
   646023 ELSIE JURADO LOPEZ                          PO BOX 1295 SUITE 389                                                                                              SAN LORENZO         PR         00754
   152558 ELSIE L MARTINEZ GONZALEZ                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646024 ELSIE L OLAN RIOS                           5 URB LOS CARTEROS                                                                                                 MAYAGUEZ            PR         00682
   646025 ELSIE L PABON SANTIAGO                      CAPARRA TERRACE SO        1583 CALLE 10                                                                            SAN JUAN            PR         00921
   646026 ELSIE L PADILLA TORRES                      P O BOX 941                                                                                                        PATILLAS            PR         00723
   152559 ELSIE L PRIETO FERRER                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   152560 ELSIE L. VILLANUEVA VAZQUEZ                 REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152561 ELSIE LECTORA MORALES                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152562 ELSIE LOPEZ CRUZ                            REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646027 ELSIE LOPEZ NIEVES                          STE 389                   PO BOX 1295                                                                              SAN LORENZO         PR         00754
   152563 ELSIE LOPEZ Y MARIA LOPEZ                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152565 ELSIE LUGO GONZALEZ                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152566 ELSIE M GONZALEZ VELEZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152567 ELSIE M LOPEZ RODRIGUEZ                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646031 ELSIE M NIEVES DEL VALLE                    D 5 CALLE LAUREANO VEGA                                                                                            VEGA ALTA           PR         00692
   646032 ELSIE M OCASIO DE JESUS                     HC 02 BOX 13822                                                                                                    ARECIBO             PR         00612
   152568 ELSIE M ORTIZ MERCADO                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152569 ELSIE M PAGAN MENDEZ                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646034 ELSIE M PEREZ MALDONADO                     PO BOX 487                                                                                                         HUMACAO             PR         00792
   646035 ELSIE M RIVERA BLONDET                      PASEO MAYOR               A15 CALLE 6                                                                              SAN JUAN            PR         00926
   152570 ELSIE M ROSARIO MARTINEZ                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ELSIE M SCHROEDER PARA AIAN
   152571 TORRES                                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152573 ELSIE M VERA NIEVES                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646037 ELSIE MALAVE MARRERO                        PARC NUEVAS               479 SABANA SECA                                                                          TOA BAJA            PR         00952
   152574 ELSIE MARRERO PEREZ                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152575 ELSIE MARTINEZ BERRIOS                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646041 ELSIE MAS NEGRON                            HC 3 BOX 33628                                                                                                     MAYAGUEZ            PR         00680‐9114
   152576 ELSIE MATIAS BONILLA                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152577 ELSIE MATIAS GARCIA                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646044 ELSIE MENDEZ                                P O BOX 1948                                                                                                       LARES               PR         00669
   646045 ELSIE MIRANDA LAGUNA                        SAN JOSE                  32 CALLE JULIO N MATOS                                                                   MAYAGUEZ            PR         00682
   646047 ELSIE MORALES BARBOT                        URB BELMONTE              50 CALLE ASTURIAS                                                                        MAYAGUEZ            PR         00680
   152579 ELSIE MORALES VAZQUEZ                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646048 ELSIE MOREAU VAZQUEZ                        BERWIND ESTATES           K5 CALLE 9                                                                               SAN JUAN            PR         00924



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  646049 ELSIE MORENO                                 URB STA MONICA              C 40 CALLE 4                                                                             BAYAMON             PR         00957
  646050 ELSIE MOYA MORAN                             PO BOX 191                                                                                                           HATILLO             PR         00659
  152580 ELSIE MU¥OZ BURGOS                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152581 ELSIE MUNIZ ENCARNACION                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152582 ELSIE N MARTINEZ ORTIZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152583 ELSIE N. PEREZ TORRES                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152584 ELSIE NERCADO QUILES                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152585 ELSIE NIEVES DE JESUS                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152586 ELSIE NUNEZ SOSA                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152587 ELSIE O FERNANDEZ GRAFALS                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152588 ELSIE O NAVARRO NAVARRO                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  646051 ELSIE OLIVERAS PEREZ                         URB PASEOS REALES           760 CALLE REINA                                                                          ARECIBO             PR         00612
  152589 ELSIE ORTIZ IRAOLA                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  646052 ELSIE ORTIZ LABOY                            PO BOX 1237                                                                                                          LAJAS               PR         00667‐1237
  152590 ELSIE PABON NATAL                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  646053 ELSIE PACHECO ACOSTA                         500 VISTA DE PANORAMA       APT 522                                                                                  BAYAMON             PR         00957
  152592 ELSIE PACHECO IRIGOYEN                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152593 ELSIE PADOVANI ZAMBRANA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152594 ELSIE PANTOJAS MUSSENDEN                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  646054 ELSIE PARRILLA RODRIGUEZ                     AMARIA MARIN                8A CALLE PEZ GALLO                                                                       PONCE               PR         00716
  152595 ELSIE PEREZ COLON                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   646055 ELSIE PEREZ MADERA                          PASEO DEL PRADO DEV         B 10 CALLE CAMINO LAS ROSAS                                                              SAN JUAN            PR         00926
   646056 ELSIE PIZARRO CORREA                        VILLA PALMERAS              2162 CALLE ENA                                                                           SAN JUAN            PR         00915
   646057 ELSIE PLAMBLANCO BONILLA                    SOMBRAS DEL REAL            104 AUSUBO                                                                               COTO LAUREL         PR         00780
   646058 ELSIE PRATTS                                RES IGNACIO M DAVILA        EDIF 5 APT 37                                                                            NAGUABO             PR         00718
   152596 ELSIE QUINONES PACHECO                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646062 ELSIE RAMIREZ DROSS                         COLINAS MONTE CARLO         B 35 CALLE A                                                                             SAN JUAN            PR         00924
   152597 ELSIE RAMOS LOPEZ                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646063 ELSIE RAMOS MELENDEZ                        300 CALLE CANOVANAS                                                                                                  SAN JUAN            PR         00912
   646064 ELSIE RAMOS MENDEZ                          URB LEVITTOWN LAKES         FD1 CALLE RAMON MARIN                                                                    TOA BAJA            PR         00949
   152598 ELSIE RAMOS TURULL                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152599 ELSIE RESTO DIAZ                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646065 ELSIE REXACH CARRASQUILLO                   COND EL FERROL              119 AVE ROOSEVELT APT 702                                                                SAN JUAN            PR         00917‐2705
   646068 ELSIE RIVERA                                URB LA MONSERRATE           F 4 CALLE 6                                                                              HORMIGUEROS         PR         00660
   152600 ELSIE RIVERA BAEZ                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152604 ELSIE RIVERA MARCIAL                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152605 ELSIE RIVERA ROMERO                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152606 ELSIE RIVERA ROSA                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   646069 ELSIE RIVERA STGO                           RESIDENCIAL MONTE HATILLO   EDIF 3 APT 37                                                                            SAN JUAN            PR         00926
   646070 ELSIE RIZ RUIZ                              21 CALLE BETANCES                                                                                                    YAUCO               PR         00698
   646071 ELSIE RODRIGUEZ BARRETO                     URB VILLA CAROLINA          145 7 CALLE 414                                                                          CAROLINA            PR         00985
   152607 ELSIE RODRIGUEZ BERDIEL                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646072 ELSIE RODRIGUEZ BERMUDEZ                    P O BOX 1923                                                                                                         GUAYAMA             PR         00785

   152609 ELSIE RODRIGUEZ CONCEPCION                  REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152610 ELSIE RODRIGUEZ ISAAC                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152611 ELSIE RODRIGUEZ ORTEGA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152612 ELSIE RODRIGUEZ ORTIZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646073 ELSIE RODRIGUEZ PALERMO                     HC 01 BOX 9517                                                                                                       CABO ROJO           PR         00623
   646074 ELSIE RODRIGUEZ SANCHEZ                     BRISAS DE TORTUGUERO        598 CALLE RIO CANAS                                                                      VEGA BAJA           PR         00693
   646075 ELSIE ROMAN VELEZ                           P O BOX 1805                                                                                                         RIO GRANDE          PR         00745



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  152613 ELSIE ROMERO VILLAMIL                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  646076 ELSIE RONDA RIVERA                           COLINAS DE MONTE LLANA     409 CALLE MONTE NEGRO                                                                  MOROVIS           PR         00687
  152614 ELSIE ROSADO MARTINEZ                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  152616 ELSIE ROSAS MARTINEZ                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  152617 ELSIE ROSDIGUEZ BARRETO                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  646078 ELSIE RUIZ ACEVEDO                           URB VILLA TOLEDO           331 CALLE URPILA                                                                       ARECIBO           PR         00612 9681
  152618 ELSIE SANTIAGO CHEVERE                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  646082 ELSIE SANTIAGO DAVID                         PO BOX 3000 SUITE 72                                                                                              COAMO             PR         00769
  152619 ELSIE SANTIAGO REYES                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  646083 ELSIE SEIN LORENZO                           266 URB CRISTAL CORRALES                                                                                          AGUADILLA         PR         00603
  646084 ELSIE TIRADO                                 URB TERRALINDA             2 CALLE ARAGON                                                                         CAGUAS            PR         00725
  152620 ELSIE TOLLINCHI TORRES                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  646085 ELSIE TORO DIAZ                              URB PUERTO NUEVO           438 CALLE APENINO                                                                      SAN JUAN          PR         00928
  646088 ELSIE TORRES LUGO                            PO BOX 9000‐120                                                                                                   CAYEY             PR         00736
  152622 ELSIE TORRES NUNEZ                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  646090 ELSIE TORRES RIVERA                          HC 1 BOX 6510                                                                                                     SALINAS           PR         00751
  646092 ELSIE V ROSARIO BERRIOS                      URB LOS ANGELES            X2 CALLE H                                                                             CAROLINA          PR         00979‐1259
  152623 ELSIE VALENTIN AVILEZ                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  152624 ELSIE VALENTIN ROMAN                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  152625 ELSIE VALENTIN VELAZQUEZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  152626 ELSIE VAZQUEZ CANALES                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  646093 ELSIE VAZQUEZ ORTEGA                         HC 02 BOX 8423                                                                                                    CIALES            PR         00638
  646096 ELSIE VELAZQUEZ VELAZQUEZ                    C 64 RES VILLAMAR                                                                                                 AGUADILLA         PR         00603
  152627 ELSIE VELEZ BADILLO                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  646097 ELSIE VELEZ MENDEZ                           URB BUENAVENTURA           1000 MAGNOLIA                                                                          MAYAGUEZ          PR         00680
  152628 ELSIE VELEZ ORTIZ                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  646100 ELSIE VELEZ VELEZ                            PO BOX 3649                                                                                                       SAN GERMAN        PR         00683
  152630 ELSIE Y BATLLE ACOSTA                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  152631 ELSIE Y TORRES ALICEA                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  152632 ELSIG M VELEZ GARCIA                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  152633 ELSIO NEGRON RUBIO                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  646101 ELSO E COLON ROSADO                          BO ROMERO                  HC 01 BOX 4918                                                                         VILLALBA          PR         00766
  152635 ELSON ARROYO                                 REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  646104 ELSON AUTO SALES INC                         PO BOX 1327                                                                                                       MOCA              PR         00676
  646105 ELSON CABAN FUENTES                          BOX 877                                                                                                           MOCA              PR         00676
  646106 ELSON CASIANO RIVERA                         REPTO PUEBLO NUEVO         71 CALLE CORAL                                                                         SAN GERMAN        PR         00683
  152636 ELSON ECHEVARRIA PAGAN                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  646108 ELSON MARTINEZ TORRES                        URB RIO HONDO I            K 12 CALLE RIO BOTIJAS                                                                 BAYAMON           PR         00961
  152637 ELSON OSORIO FEBRES                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  646102 ELSON PEREZ MORALES                          RES MANUEL A PEREZ         EDIF G 3 APT 30                                                                        SAN JUAN          PR         00924
  152638 ELSON ROSARIO SERRANO                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  152639 ELSON VARGAS                                 REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  152640 ELSON VARGAS MANTILLA                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  152641 ELSON VELAZQUEZ FERRER                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  152642 ELSON VELAZQUEZ LOPEZ                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  152643 ELSTON D SANTIAGO BORGES                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  152644 ELSTON MOJICA RIVERA                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  152645 ELSY ALVARADO CABRERA                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  152646 ELSY DIAZ ROLDAN                             REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  152647 ELSY E MATIAS GONZALEZ                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  646109 ELSY FERNANDEZ GARCIA                        URB RIO PIEDRAS HTS        1644 CALLE TIBER                                                                       SAN JUAN          PR         00926
  646110 ELTA COMPUTER CORP                           VILLA PRADES               361 ARISTIDES CHAVRIER ST                                                              SAN JUAN          PR         00924
  152648 ELTON IRIZARRY PASARELL                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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   646111 ELUBER CARRASQUILLO BURGOS HC 2 BOX 9975                                                                                                                      JUNCOS              PR           00777
   152650 ELUID APONTE MELENDEZ      REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646112 ELUID BUS LINE             HC 02 BOX 6985                                                                                                                     FLORIDA             PR           00650‐9106
   152651 ELUID PENA GONZALEZ        REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152652 ELUPINA M CHALA MARTINEZ   REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646114 ELVA A CARDOSA MONGE       URB CIUDAD RETIRO                            1101 CALLE 6 NE APT 503                                                               SAN JUAN            PR           00921
   152653 ELVA H CRUZ PEREA          REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELVA IRIS ENCARNACION
   152654 ENCARNACION                REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152655 ELVA M FIGUEROA GARCIA     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646115 ELVA MARTINEZ SANTOS       VILLA VERDE                                  21 CALLE C                                                                            CAYEY               PR           00736
   152657 ELVE A PAGAN AMADOR        REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152658 ELVEEN PADILLA BAEZ        REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELVELISSE FIGUEROA
   646116 HERNANDEZ                  PO BOX 203                                                                                                                         OROCOVIS            PR           00720
   152659 ELVELY ROJAS LUNA          REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152662 ELVIA COLON RIVERA         REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152663 ELVIA GUZMAN               REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152664 ELVIA I SUAREZ TIBURCIO    REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646119 ELVIA L CARBONELL RIOS     PO BOX 1183                                                                                                                        YAUCO               PR           00698
   152665 ELVIA L MARTINEZ REYES     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152666 ELVIA L TORRES MALDONADO   REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152667 ELVIA M APONTE RIVERA      REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152669 ELVIA M GABINO ROBLES      REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646120 ELVIA M JIMENEZ RODRIGUEZ  HC 01 BOX 5252                                                                                                                     CAMUY               PR           00627‐9615
   152670 ELVIA M RAMIREZ QUINONES   REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646121 ELVIA N SOTO DIAZ          SAINT JUST                                   25 CALLE BETANIA                                                                      TRUJILLO ALTO       PR           00976
   646122 ELVIA Y RAMOS PUJOLS       PO BOX 10000PMB 229                                                                                                                CANOVANAS           PR           00729
   152672 ELVIA YADIRA RIVERA CIRINO REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   152673 ELVIALIZ MORALES MONTALVAN REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152674 ELVIE ANN NUNEZ HERRERA    REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152677 ELVIN A CARDONA MERCADO    REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   646126 ELVIN A FLORES RIVERA                       COND CONCORDIA GARDENS II   560 CALLE NAPOLES APT 15                                                              SAN JUAN            PR           00924
   152678 ELVIN A GARCIA BAEZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152680 ELVIN A MARCO MARTINO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152681 ELVIN A MARTINEZ ALICEA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152685 ELVIN A TORRES CARDONA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152686 ELVIN A TORRES RIVERA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   152687 ELVIN ALBERTO MALAVE DAVID                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646128 ELVIN ALICEA IRRIZARY                       URB BRISAS DE GUAYANES      103 CALLE PRIMAVERA                                                                   PE¨UELAS            PR           00624
          ELVIN ALVARADO E IRMA J
   646129 RIVERA                                      P O BOX 162                                                                                                       PENUELAS            PR           00678
          ELVIN ANTONIO IRIZARRY
   646130 ROMAN                                       P O BOX 775                                                                                                       VEGA ALTA           PR           00692
   646131 ELVIN AVILES APONTE                         BO PALMAREJO                1 CALLE PRINCIPAL                                                                     COAMO               PR           00769
   646132 ELVIN AVILES BELPRESS                       BOX 1441                                                                                                          JUANA DIAZ          PR           00795
   152688 ELVIN BABILONIA MORALES                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152689 ELVIN BERENGUER SOTILLO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152690 ELVIN BERROCAL SANTIAGO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  646133 ELVIN BONETA ALCOVER                         HC 01 BOX 3805                                                                                                     ADJUNTAS            PR         00601‐9708
  152691 ELVIN BOSQUE RUIZ                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   646134 ELVIN CANCEL FERNANDEZ                      22 CALLE FRANCISCO ALVAREZ                                                                                         VEGA BAJA           PR         00693
   646136 ELVIN CARTAGENA COLON                       PO BOX 7126                                                                                                        PONCE               PR         00732
   152692 ELVIN COLLAZO ANDUJAR                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   646140 ELVIN COLON COLON                           HC 01 BOX 3296                                                                                                     VILLALBA            PR         00766
   646142 ELVIN COLON PEREZ                           P O BOX 226                                                                                                        AIBONITO            PR         00705
   152693 ELVIN CRUZ MORAN                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   646146 ELVIN CRUZ RODRIGUEZ                        HC 02 BOX 9068                                                                                                     GUAYANILLA          PR         00656
   152694 ELVIN D CARLO RODRIGUEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   152695 ELVIN D DAVILA MELENDEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   152696 ELVIN D DELGADO RAMOS                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   152697 ELVIN D PILIER ROSARIO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   152698 ELVIN DEL RIO GONZALEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   646147 ELVIN DELGADO DE JESUS                      URB EL ROSARIO               2 CALLE H V 9                                                                         VEGA BAJA           PR         00693
   152699 ELVIN DIAZ DIAZ                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   646148 ELVIN DIAZ MORENO                           BO CAGUANA                   H C 03 BOX 14464                                                                      UTUADO              PR         00641
   152701 Elvin Diaz Sanchez                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   152702 ELVIN E ESCOBAR GONZALEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   646150 ELVIN E GARCIA PABON                        URB SULTANA                  71 CALLE MALAGA                                                                       MAYAGUEZ            PR         00680
   646151 ELVIN E ORTA RODRIGUEZ                      URB ESTANCIAS D 23           VIA SANTO DOMINGO                                                                     BAYAMON             PR         00961
   646152 ELVIN ESCOBAR JIMENEZ                       CARR 604 SEC RABANOS                                                                                               MANATI              PR         00674
   152703 ELVIN ESTRADA MUNIZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   152705 ELVIN FELICIANO GONZALEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   152706 ELVIN FELICIANO LOUBRIEL                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   646155 ELVIN FERNANDEZ GONZALEZ                    URB GLENVIEW GARDNES         K 10 CALLE E 7 B                                                                      PONCE               PR         00730
   646156 ELVIN FIGUEROA DUPREY                       URB VIVES                    190 CALLE E                                                                           GUAYAMA             PR         00784

   152708 ELVIN FRANCESCHI CARABALLO                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   152709 ELVIN G BONILLA SANTIAGO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   152710 ELVIN G. HERNANDEZ CRESPO                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   152711 ELVIN G. RIVERA ZAYAS                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   152712 ELVIN GARCIA PENA                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   646157 ELVIN GONZALEZ MENDEZ                       HC 01 BOX 4070                                                                                                     UTUADO              PR         00641
   152713 ELVIN GONZALEZ RAMIREZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   646158 ELVIN GONZALEZ SIERRA                       PO BOX 4531                                                                                                        VEGA BAJA           PR         00693
   646159 ELVIN GONZALEZ VERA                         URB SANTA RITA               1110 CALLE HUMACAO                                                                    SAN JUAN            PR         00925
   646160 ELVIN GUZMAN TORRES                         BO COTTO LAUREL              24‐B CALLE ELIAS BARBOSA                                                              COTTO LAUREL        PR         00780
   646161 ELVIN HERNANDEZ DURAN                       BARRIO OBRERO                2108 AVE BORINQUEN                                                                    SAN JUAN            PR         00915
   646163 ELVIN I MARTINEZ SANJURJO                   HC 1 BOX 13201                                                                                                     CAROLINA            PR         00987
   152715 ELVIN J CEDENO MORALES                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   152716 ELVIN J DELGADO ANDINO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   646164 ELVIN J DIAZ RAMOS                          HATO ARRIBA                  CALLE DE 87                                                                           ARECIBO             PR         00612

   152717 ELVIN J FELICIANO RODRIGUEZ                 REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   646165 ELVIN J FIGUEROA BAEZ                       PO BOX 693                                                                                                         PONCE               PR         00780
          ELVIN J MALDONADO
   152718 FERNANDEZ                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   152719 ELVIN J MENDOZA TORRES                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   152720 ELVIN J MIRANDA RIVERA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   646166 ELVIN J NOGUERA RIVERA                      HC 43 BOX 11574                                                                                                    CAYEY               PR         00736
   646167 ELVIN J REYES FARIA                         VALLE BELLO CHALET           100 AVE HOSTOS APT A63                                                                BAYAMON             PR         00956



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   152721 ELVIN J RODRIGUEZ GONZALEZ                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152722 ELVIN J RODRIGUEZ PAGAN                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646124 ELVIN J RUIZ RIVERA                         PO BOX 1964                                                                                                ARECIBO             PR         00613
   152724 ELVIN J SOTO CRESPO                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152725 ELVIN J. FIGUEROA ARAUD                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152726 ELVIN JOEL MELENDEZ GRAU                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          ELVIN JOSUE RODRIGUEZ
   152727 HERNANDEZ                                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646170 ELVIN JOVE VELEZ                            PO BOX 1574                                                                                                QUEBRADILLAS        PR         00678

   152728 ELVIN JULIAN PABON SANCHEZ                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   152729 ELVIN JUSTINIANO JUSTINIANO                 REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646171 ELVIN L TORRES OJEDA                        RR 7 BOX 6856                                                                                              SAN JUAN            PR         00928
   646172 ELVIN L VEGA GARCIA                         PO BOX 6687                                                                                                PONCE               PR         00733
   152730 ELVIN LARA DE LA CRUZ                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152731 ELVIN LATORRE RODRIGUEZ                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646173 ELVIN LUGO ACEVEDO                          P O BOX 7126                                                                                               PONCE               PR         00732
   152732 ELVIN M CASIANO ORTIZ                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152733 ELVIN M SANCHEZ TOLEDO                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646176 ELVIN M VAZQUEZ GUZMAN                      PMB 221 PO BOX 2510                                                                                        TRUJILLO ALTO       PR         00976‐2510
   646177 ELVIN MALDONADO RUIZ                        HC 3 BOX 14744                                                                                             UTUADO              PR         00641
   152734 ELVIN MARTINEZ RIVERA                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646178 ELVIN MARTINEZ RODRIGUEZ                    PO BOX 2007                                                                                                MAYAGUEZ            PR         00681
   152735 ELVIN MARTINEZ RUIZ                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646180 ELVIN MARTINEZ VARGAS                       HC 01 BOX 8753                                                                                             CABO ROJO           PR         00623
   646181 ELVIN MEDINA VELLON                         HC 2 BOX 11278                                                                                             HUMACAO             PR         00791
   152737 ELVIN MENDEZ MORALES                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152738 ELVIN MENDEZ PAGAN                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646125 ELVIN MENDEZ SANTIAGO                       PO BOX 293                                                                                                 AGUADA              PR         00602
   152739 ELVIN MERCADO LAGARES                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646182 ELVIN MERCADO ORTIZ                         11 CALLE SANCHEZ LOPEZ                                                                                     YAUCO               PR         00698
   152740 ELVIN MERCADO ROSADO                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646183 ELVIN MERCED BRUNO                          URB TURABO GARDENS       FR11 CALLE 6                                                                      CAGUAS              PR         00725
   646184 ELVIN MILLAN RIVERA                         SAN JOSE                 407 CALLE FLANDEZ                                                                 SAN JUAN            PR         00923
   152741 ELVIN MOJICA DEL TORO                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152742 ELVIN MOLINA MELENDEZ                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152743 ELVIN MONTERO RIVERA                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646185 ELVIN MORALES JAIME                         BOX 8776                                                                                                   HUMACAO             PR         00792
   152744 ELVIN MORALES MORALES                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152745 ELVIN MORALES NAVARRO                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152746 ELVIN MUNIZ RAMIREZ                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152749 ELVIN O CRUZ HERNANDEZ                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152750 ELVIN O ECHEVARRIA ROSA                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152751 ELVIN O MELENDEZ CINTRON                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152752 ELVIN O ROMAN PAOLI                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152753 ELVIN O TORRES ROMAN                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152754 ELVIN O. ECHEVARRIA ROSA                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152755 ELVIN OJEDA BONILLA                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152756 ELVIN OJEDA PINEDA                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152757 ELVIN OMAR TORRES ROMAN                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152760 ELVIN ORTIZ ORTIZ                           REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  152761 ELVIN ORTIZ RIVERA                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  646189 ELVIN ORTIZ SURITO                           MCS 339 P O BOX 890                                                                                                  HUMACAO              PR         00791‐0890
  646190 ELVIN PABON TORRES                           FOREST VIEW                   E 157 CALLE CARTAGENA                                                                  BAYAMON              PR         00961

   152762 ELVIN PACHECO MALDONADO                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   152763 ELVIN PAGAN CARDONA                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   152764 ELVIN PAGAN RIVERA                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   152765 ELVIN PAGAN VELEZ                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   152766 ELVIN PENA RIVERA                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   646191 ELVIN PEREZ                                 SECTOR GUAZABARA              HC 06 BOX 74950                                                                        CAGUAS               PR         00725
                                                      BO PTA SANTIAGO PARC NUEVA
   646192 ELVIN PEREZ ROMERA                          CARR 3                                                                                                               HUMACAO              PR         00791
   646193 ELVIN QUIDGLEY CIARES                       HP ‐ Forense RIO PIEDRAS                                                                                             Hato Rey             PR         009360000
   646194 ELVIN R LAUREANO MALPICA                    PO BOX 5200                                                                                                          VEGA ALTA            PR         00692

          ELVIN R MELENDEZ,MELENDEZ
   152767 PLUMB ELECTRIC                              HC 01 BOX 5582                                                                                                       OROCOVIS             PR         00720
   152768 ELVIN R RIVERA DIAZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   646195 ELVIN R VARELA BETANCOURT                   LOMAS DE CAROLINA             H 20 CALLE MONTE GUILARTE                                                              CAROLINA             PR         00987
   152769 ELVIN RAMOS RIVERA                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   152770 ELVIN RAMOS RUIZ                            REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   646197 ELVIN RIVERA                                P O BOX 6813                                                                                                         SAN JUAN             PR         00914
                                                      URB VILLA FONTANA MR 12 VIA
   646198 ELVIN RIVERA APONTE                         18                                                                                                                   CAROLINA             PR         00985
   152772 ELVIN RIVERA BURGOS                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   646199 ELVIN RIVERA COLON                          BOX 881                                                                                                              YABUCOA              PR         00767
   152773 ELVIN RIVERA CUEVAS                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   646200 ELVIN RIVERA DELGADO                        PO BOX 357                                                                                                           COMERIO              PR         00782
   152774 ELVIN RIVERA GONZALEZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   152775 ELVIN RIVERA MELENDEZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   152776 ELVIN RIVERA MORET                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   152777 ELVIN RIVERA PADUA                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   646204 ELVIN RIVERA RIVERA                         NEMECIO CANALES               EDIF 55 APT 1006                                                                       SAN JUAN             PR         00918
   152778 ELVIN ROBLES ALICEA                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   646205 ELVIN ROBLES GABRIEL                        URB LEVITTOWN                 24 CALLE RAMON MOPLA                                                                   TOA BAJA             PR         00949
   646206 ELVIN RODRIGUEZ                             2348 AVE HAVILAND                                                                                                    BRONX                NY         10462
   646207 ELVIN RODRIGUEZ BERRIOS                     URB VILLA CAROLINA            127‐9 CALLE 71                                                                         CAROLINA             PR         00985
   152779 ELVIN RODRIGUEZ FEBRES                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   646208 ELVIN RODRIGUEZ GONZALEZ                    URB EUGENNE F RICE            C 9 BOX 448                                                                            AGUIRRE              PR         00794
   152780 ELVIN RODRIGUEZ MARTINEZ                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   646209 ELVIN RODRIGUEZ PAGAN                       PO BOX 376                                                                                                           SAN ANTON            PR         00690

   646211 ELVIN RODRIGUEZ RODRIGUEZ                   HC 01 BOX 6388                                                                                                       YAUCO                PR         00698
   152781 ELVIN ROQUE CABRERA                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   646212 ELVIN ROSADO                                HC 2                                                                                                                 PENUELAS             PR         00624
   646213 ELVIN ROSARIO VELAZQUEZ                     BDA MORALES                   1024 CALLE Q                                                                           CAGUAS               PR         00725
   646214 ELVIN RUIZ VALLE                            ROMAN MARIN SOLA              EDF 14 APT 447                                                                         ARECIBO              PR         00612
   152782 ELVIN RULLAN PENA                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   646215 ELVIN S JIMENEZ MARRERO                     RES OSCAR COLON DELGADO       EDIF 4 APT 36                                                                          HATILLO              PR         00659
   152783 ELVIN SANTANA ZAYAS                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   646217 ELVIN SANTIAGO CAMACHO                      JARD DE ARROYO                Z23 CALLE Z                                                                            ARROYO               PR         00714




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   646218 ELVIN SANTIAGO LOPEZ                        SABANA BRANCH                  688 CALLE PRINCIPAL KM 3 HM 4                                                           VEGA BAJA           PR           00693
   646219 ELVIN SANTIAGO OJEDA                        URB PONDEROSA                  554 AVE LAS MARGARITAS                                                                  RIO GRANDE          PR           00745
   152784 ELVIN SANTIAGO RIVERA                       REDACTED                       REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152785 ELVIN SANTIAGO RODRIGUEZ                    REDACTED                       REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELVIN SANTIAGO RODRIGUEZ
   152788 DBA TRANSPORTE                              PMB 052 PO BOX 6004                                                                                                    VILLALBA            PR           00766‐0000
   152789 ELVIN SANTIAGO ROSARIO                      REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646220 ELVIN SANTOS DECLERET                       BOX 198                                                                                                                CIDRA               PR           00739
   646221 ELVIN SEMIDEY RIVERA                        URB BALDORIOTY                 2734 CALLE GENESIS                                                                      PONCE               PR           00728
   646222 ELVIN SERRANO ROSA                          HC 3 BOX 15907                                                                                                         QUEBRADILLAS        PR           00678
   152790 ELVIN SILVERIO CASANOVA                     REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152792 ELVIN SOTO HERNANDEZ                        REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646223 ELVIN SOTO MERCADO                          SECTOR LA PRA BZN 2                                                                                                    ISABELA             PR           00662
   152793 ELVIN SOTO VILLAFANE                        REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152794 ELVIN T HERNANDEZ DURAN                     REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   646224 ELVIN TORRES ALVAREZ                        581 CROWN ST BLD 03 APT 61                                                                                             MERIDEN             CT           06450
   646226 ELVIN TORRES IRIZARRY                       PO BOX 193018                                                                                                          SAN JUAN            PR           00919
   646227 ELVIN TORRES Y/OLIMI‐T 21                   PO BOX 197                                                                                                             SANTA ISABEL        PR           00757
   646228 ELVIN TUA MALDONADO                         COND MONTE SUR                 514 B AVE HOSTO                                                                         SAN JUAN            PR           00918
   152795 ELVIN VALLE ACEVEDO                         REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152796 ELVIN VEGA ORTIZ                            REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152797 ELVIN VELEZ GONZALEZ                        REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152798 ELVIN VELEZ SEGURA                          REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   152800 ELVIN XAVIER SANTANA RIVERA                 REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152801 ELVIN Y RIVERA RAMOS                        REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELVINE REFRIGERATION
   646229 SERVICES                                    URB VISTA MAR                  953 CALLE ZARAGOZA                                                                      CAROLINA            PR           00983
          ELVING F RODRIGUEZ
   152802 RODRIGUEZ                                   REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152803 ELVING TORRES SANCHEZ                       REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646232 ELVING VAZQUEZ MARTINEZ                     HC 02 BOX 11609                                                                                                        YAUCO               PR           00698

   646234 ELVIRA ANTONETTY DIAMANTE                   BDA SAN FELIPE PDA 13                                                                                                  AGUIRRE             PR           00704
   152804 Elvira Borges                               REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646235 ELVIRA CANCIO LUGO                          PO BOX 192459                                                                                                          SAN JUAN            PR           00919‐2459
          ELVIRA CARRASQUILLO
   646236 QUINTERO                                    PMB 74                         HC 1 BOX 29030                                                                          CAGUAS              PR           00725
   646237 ELVIRA CEPEDA ABREU                         URB ALT DE RIO GRANDE          R 920 CALLE 17                                                                          RIO GRANDE          PR           00745

   152806 ELVIRA CONCEPCION ROSARIO                   REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152807 ELVIRA CONCEPCION SIERRA                    REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELVIRA CUEVAS/DENNIS
   152808 CUEVAS/DAVID CUEVAS                         REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   152809 ELVIRA DEL TORO MORALES                     REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646238 ELVIRA FANTAUZZI ROSADO                     429 CALLE CANADA                                                                                                       ISABELA             PR           00662
   152810 ELVIRA FELICIANO MATIENZO                   REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ELVIRA GIAMBARTOLOMEI
   646241 MOLINA                                      210 CALLE JOSE OLIVER APT 1506                                                                                         SAN JUAN            PR           00918‐2990
   152811 ELVIRA GONZALEZ ADAMES                      REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646242 ELVIRA GONZALEZ VAZQUEZ                     COSTA AZUL                     K 31 CALLE 19                                                                           GUAYAMA             PR           00784



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  152812 ELVIRA I LOPEZ                               REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  646245 ELVIRA LOPEZ ORTIZ                           SAGRADO CORAZON            389 SAN GENARO                                                                           SAN JUAN           PR         00902
  152813 ELVIRA M BAS ORTIZ                           REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  646248 ELVIRA MALDONADO RIVERA                      A 45 URB VILLA JAUCA                                                                                                SANTA ISABEL       PR         00757
                                                                                 668 CALLE VIOLETA URB ROUND
   646249 ELVIRA MATOS COLON                          ROUND HILLS                HLS                                                                                      TRUJILLO ALTO      PR         00976
   646250 ELVIRA MELENDEZ VARGAS                      URB BELLA VISTA            O 49 E CALLE 24                                                                          BAYAMON            PR         00957
   646251 ELVIRA MERCADO SANTIAGO                     PO BOX 1012                                                                                                         ISABELA            PR         00662
   152819 ELVIRA MUNOZ MUNOZ                          REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   152820 ELVIRA P CUEVAS VIERA                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   152821 ELVIRA PEREZ VILELLA                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   152822 ELVIRA QUINTANA CONDE                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   646253 ELVIRA RODRIGUEZ MATIAS                     P O BOX 1220                                                                                                        SABANA SECA        PR         00952
   152823 ELVIRA SOSTRE SERRANO                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   152824 ELVIRA SOTO BOSQUES                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   152825 ELVIRA SOTO RIOS                            REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   646254 ELVIRA TORRES RIVERA                        BO PALMAREJO               C 201 CALLE 7                                                                            COROZAL            PR         00783
   152826 ELVIRA V. CANCIO CRESPO                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   152827 ELVIRA VAZQUEZ RIVERA                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   152828 ELVIRA VELAZQUEZ GOMEZ                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   646255 ELVIRA YANEZ GONZALEZ                       TOWNHOUSES LAS CARMELITAS 364 CALLE SAN JORGE TH 1                                                                  SAN JUAN           PR         00912‐3301

   646256 ELVIRA YUKEEVA BOLOTOVNA                    P O OBOX 1010                                                                                                       LARES              PR         00669
   646257 ELVIRO BERRIOS VAZQUEZ                      P O BOX 21365                                                                                                       SAN JUAN           PR         00928
   646258 ELVIRO DE JESUS MIRANDA                     HC 1 BOX 6397                                                                                                       CIALES             PR         00638
   646259 ELVIRO RUIZ BONET                           P O BOX 406                                                                                                         RINCON             PR         00677‐0406
   152830 ELVIS A MALDONADO CRUZ                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   152831 ELVIS A MORALES HERNANDEZ                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   646260 ELVIS A OJEDA CUBILLAN                      PO BOX 30456                                                                                                        SAN JUAN           PR         00926
   152832 ELVIS CANCEL GONZALEZ                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          ELVIS CANDELARIA ROBLES/BOY
   646261 SCOUT MANATI                                RR 02 BOX 6292                                                                                                      MANATI             PR         00674
   152833 ELVIS CORREA IRIZARRY                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   152834 ELVIS CORTES ROSA                           REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   646264 ELVIS CRESPO ACEVEDO                        PO BOX 843                                                                                                          AGUADA             PR         00602
   646265 ELVIS CUBA QUILES                           HC 2 BOX 7801              QUEBRADA                                                                                 CAMUY              PR         00627
   152836 ELVIS D RODRIGUEZ VEGA                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   152837 ELVIS DE J SOTO GONZALEZ                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   152838 ELVIS E MONTALVO CRUZ                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   152839 ELVIS FIGUEROA BAEZ                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   152840 ELVIS FIGUEROA MALDONADO                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   152841 ELVIS FRED FLORES RIVERA                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   646269 ELVIS FUENTES RODRIGUEZ                     34 CALLE PONCE                                                                                                      SAN JUAN           PR         00917

   152842 ELVIS GABRIEL NIEVES MIRANDA REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   646271 ELVIS HERNANDEZ PECHY        PO BOX 7997 STE 87                                                                                                                 MAYAGUEZ           PR         00681
   646272 ELVIS I MEDINA RIVERA        BO LICEO ARRIBA                           99 CALLE TAMARINDO                                                                       MAYAGUEZ           PR         00680
   152843 ELVIS IRIZARRY LOPEZ         REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   152844 ELVIS J APONTE RIVERA        REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   646273 ELVIS J MARTINEZ ALMESTICA   SAN FERNANDO                              EDF 17 APT 272                                                                           SAN JUAN           PR         00927



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  152845 ELVIS J PESANTE CORREA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  152847 ELVIS J TRINIDAD GARCIA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  152848 ELVIS J. RIOS REYES                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  152849 ELVIS JAVIER BARBOSA CRUZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  152850 ELVIS L OCASIO GARCIA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  646275 ELVIS L PEREZ ORTIZ                          HC 1 BOX 7230                                                                                                      SANTA ISABEL       PR         00957
  152851 ELVIS M SANCHEZ LOPEZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  646276 ELVIS MARRERO CORREAS                        LAS AMERICAS PARK           2 APT 1414                                                                             SAN JUAN           PR         00921
  152852 ELVIS MARTINEZ TORRES                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  152853 ELVIS MONTANEZ GONZALEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  152854 ELVIS MORA MERCADO                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  646277 ELVIS MORALES                                LA PONDEROSA                405 CALLE DALIA                                                                        RIO GRANDE         PR         00745
  646278 ELVIS MORALES MEJIAS                         BOX 515                                                                                                            AGUADA             PR         00602
  646279 ELVIS N GONZALEZ VAZQUEZ                     EL CONQUISTADOR             L 60 CALLE 5                                                                           TRUJILLO ALTO      PR         00976
  152855 ELVIS N OLMEDA PEREZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  646281 ELVIS OLIVERAS QUIROS                        PO BOX 561325                                                                                                      GUAYANILLA         PR         00656
  646282 ELVIS ORTIZ PEREZ                            PO BOX 484                                                                                                         PATILLA            PR         00723
  152857 ELVIS P FELICIANO LORENZO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  646283 ELVIS R CASTRO VALENTIN                      P O BOX 9021112                                                                                                    SAN JUAN           PR         00902‐1112
                                                      10812 PRESERVATION VIEW
   646286 ELVIS R MARTINEZ GONZALEZ                   DRIVE                                                                                                              TAMPA              PR         33626
   646287 ELVIS R ROSARIO RIVERA                      PO BOX 149                                                                                                         OROCOVIS           PR         00720
   152858 ELVIS R ZENO SANTIAGO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   646288 ELVIS RIVERA CARRILLO                       URB VILLA CAROLINA          15 6 CALLE 30                                                                          CAROLINA           PR         00985

   152859 ELVIS RODRIGUEZ RODRIGUEZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   646290 ELVIS SANTANA MEDINA                        PLAZA APARTMENTS            EDIF 3 APT H2                                                                          MANATI             PR         00674
   152860 ELVIS T CUEVAS VALLE                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   646291 ELVIS TORRES CARTAGENA                      PO BOX 171                                                                                                         VILLALBA           PR         00766
   152862 ELVIS TORRES COLON                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   152863 ELVIS TORRES QUINONES                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   646292 ELVIS W MORALES LOPEZ                       EXT FOREST HILLS            711 CALLE URUGUAY                                                                      BAYAMON            PR         00959
   152864 ELVYS SEINO GARCIA                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   152865 ELWIN VEGA TORRES                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   152866 ELWOOD M CASELLAS BOND                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   152867 ELY A COLON MIRANDA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   646293 ELY APONTE                                  COND BAYAMON COUNTRY        EDIF 44 APT C                                                                          BAYAMON            PR         00957
   152868 ELY BETANCOURT QUINONEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   646294 ELY DECLET CONCEPCION                       232 AVE ELEONOR ROOSEVELT                                                                                          SAN JUAN           PR         00907
   152870 ELY E ARROYO ALVARADO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
                                                      BO COCO NUEVO SECT LAS
   646296 ELY J ESCALANTE RIVERA                      QUINCE                      EL TUNEL HC 01 BOX 6616                                                                SALINAS            PR         00751
   152871 ELY J LUCIANO SANTIAGO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   152874 ELY JOSUE SANCHEZ MARTINEZ                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   152875 ELY LOPEZ MERCEDEZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  1256448 ELY M. CASTRO DIODONET                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   152877 ELY MARIA ISSAC ANAYA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          ELYAM RODRIGUEZ VILLAR DE                                               1707 AV PONCE DE LEON APT
   646297 FRANCO                                      COND PLAZA INMACULADA 11    1905                                                                                   SAN JUAN           PR         00909

   152878 ELYAXID I GUEVAREZ ALVAREZ                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED



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  646299 ELYDIA NIEVES MATOS                          HC 01 BOX 4863                                                                                          CAMUY               PR         00659
  152879 ELYMAR CATERING                              REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         ELYMAR CATERING Y/O JORGE
  646300 COLON                                        HC 03 BOX 15460                                                                                         JUANA DIAZ          PR         00795
  152880 ELYMIC COLON GARCIA                          REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   152881 ELYNNETTE PEREZ LARACUENTE REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   646301 ELY'S RESTAURANT & CATERING 29 CALLE DISTRITO                                                                                                       PONCE               PR         00731

   152883 ELYSETTE GONZALEZ MORALES                   REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646302 ELYSOYN LOPEZ ROBLEDO                       HC 04 BOX 12158                                                                                         HUMACAO             PR         00791
   646303 ELYVETTE FUENTES COSME                      PO BOX 1082                                                                                             AGUADILLA           PR         00605‐1082

   152884 ELYZABETH CAPPAS RODRIGUEZ                  REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152886 ELZEBIR ROSARIO SEISE                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EM ACADEMY INC H/N/C
   152887 CONTINENTAL ACADEMY                         PO BOX 4031                                                                                             AGUADILLA           PR         00605
   152890 EM ELECTRICAL POWER                         FAIRVIEW              711 CALLE 44                                                                      SAN JUAN            PR         00926

   152891 EM ELECTRICAL POWER INC.    CALLE 44 #711 URB. FAIRVIEW                                                                                             SAN JUAN            PR         00926
   152894 EM SOFTWARE INC             39713 HANOVER RIDGE RD                                                                                                  SCIO                OH         43988
                                      PMB SUITE 309 #90 AVE. RIO
   152895 EM SYSTEM GROUP             HONDO                                                                                                                   BAYAMON             PR         00961‐3113
   152896 EM SYSTEMS GROUP CORP       AREA DEL TESORO                DIVISION DE RECLAMACIONES                                                                SAN JUAN            PR         00902‐4140
                                      URB. VILLA ASTURIAS , CALLE 34
   152902 EMAGAR LANDSCAPING , CORP. BLQ. 25 # 1                                                                                                              CAROLINA            PR         00983‐0000
          EMAMANUEL RIVERA
   152903 RODRIGUEZ                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646304 EMANNUEL NIEVES ALGARIN     P O BOX 1230                                                                                                            SAN SEBASTIAN       PR         00685
   152904 EMANOEL FIGUEROA ARCE       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646305 EMANUEL ACOSTA RIVERA       LORENZA BIZO                   114 PLAYA                                                                                PONCE               PR         00716
          EMANUEL ALVARADO
   646306 HERNANDEZ                   HC 01 BOX 4715                                                                                                          SALINAS             PR         00751
   646307 EMANUEL APONTE ROMAN        PARKVILLE                      M 18 AVE LINCOLN                                                                         GUAYNABO            PR         00969
   152907 EMANUEL ARROYO SODA         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152908 EMANUEL AVILES MARTINEZ     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EMANUEL AVILES MARTINEZ DBA
   152909 V & A                       ROOFING CONTRACTORS            HC 3 BOX 12633                                                                           CAMUY               PR         00627
   152910 EMANUEL AYALA ACEVEDO       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152912 EMANUEL AYALA GONZALEZ      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152914 EMANUEL BATISTA SANCHEZ     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   152915 EMANUEL CANDELARIA LASALLE REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152916 EMANUEL CARTAGENA ORTIZ    REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152917 EMANUEL CATALA CHINEA      REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   152918 EMANUEL COMUNITY HOME,INC P.O. BOX 2080                                                                                                             AGUADA              PR         00602‐2080
   152919 EMANUEL CORTES ACEVEDO    REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   646310 EMANUEL CRESPO ALMODOVAR HC 02 BOX 8862                                                                                                             JUANA DIAZ          PR         00795
   152920 EMANUEL CRUZ LAGO        REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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          EMANUEL D MIRANDA
   152921 MELENDEZ                                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646312 EMANUEL DELGADO COSME                       URB VILLAS DE MANATI      D 22 CALLE 5                                                                           MANATI              PR         00674
   152923 EMANUEL DIAZ FIGUEROA                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646314 EMANUEL DIAZ MORALES                        URB METROPOLIS            2A10 CALLE 33                                                                          CAROLINA            PR         00987
   152924 EMANUEL DIAZ ORTIZ                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646315 EMANUEL DIAZ RETAMAR                        URB LA MERCED             454 CALLE ARRIGOITIA                                                                   SAN JUAN            PR         00918
   152925 EMANUEL DIEPPA RIVERA                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646317 EMANUEL E RAMOS SANTOS                      PO BOX 1326                                                                                                      CANOVANAS           PR         00729

   152927 EMANUEL EMILIO PINERO CRUZ                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          EMANUEL FERNANDEZ
   646319 MELENDEZ                                    P O BOX 3000 SUITE 336                                                                                           COAMO               PR         00769
   152928 EMANUEL FERRER MENDEZ                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152929 EMANUEL FUENTES DESPIAU                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152932 EMANUEL GARCIA OJEDA                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152933 EMANUEL GONZALEZ DAVILA                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152934 EMANUEL GONZALEZ TORRES                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152935 EMANUEL IGLESIAS TORRES                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   152938 EMANUEL J JORGE RODRIGUEZ                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152939 EMANUEL J LOPEZ ROSADO                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152940 EMANUEL J SANCHEZ TORRES                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          EMANUEL J VALENTIN
   152941 HERNANDEZ                                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152942 EMANUEL LOPEZ MERCADO                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152943 EMANUEL LORENZO RAMIREZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          EMANUEL MALDONADO
   152944 BERRIOS                                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152945 EMANUEL MARRERO BERRIOS                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152946 EMANUEL MARRERO RIVERA                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   152948 EMANUEL MEJIAS LAFONTAINE                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646322 EMANUEL MELENDEZ                            URB BRAULIO DEU O COLON   8 CALLE 1A ALT DE BERWIND                                                              SAN JUAN            PR         00924

   152949 EMANUEL MELENDEZ MERCADO REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646323 EMANUEL MENA             1300 PORTALES DE SAN JUAN                    APT N 212                                                                              SAN JUAN            PR         00924
   152950 EMANUEL MERLY RIVERA     REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152951 EMANUEL MOLINA FIGUEROA  REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   646324 EMANUEL MONTALVO COLON                      RR 1 BOX 10472 BO PINAS                                                                                          TOA ALTA            PR         00953
   152953 EMANUEL NEGRON MORALES                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152955 EMANUEL NIEVES MERCED                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          EMANUEL O GONZALEZ
   646325 CASTRODAD                                   PO BOX 9752                                                                                                      CIDRA               PR         00739
   152956 EMANUEL OCASIO FIGUEROA                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646327 EMANUEL OCASIO OTERO                        URB VALENCIA              C 7 CALLE 20                                                                           BAYAMON             PR         00956

   152957 EMANUEL OCASIO RODRIGUEZ                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          EMANUEL ONEILL/ALFREDO
   646328 ONEILL                                      HC 645 BOX 6085                                                                                                  TRUJILLO ALTO       PR         00976
   152958 EMANUEL ORTIZ ACEVEDO                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   152959 EMANUEL ORTIZ GONZALEZ                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  152960 EMANUEL ORTIZ RIVERA                         REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152961 EMANUEL PAGAN COLLAZO                        REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152962 EMANUEL PENA ALICEA                          REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152963 EMANUEL QUINONES ROSA                        REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152964 EMANUEL R APONTE RIVERA                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152965 EMANUEL RAMOS GONZALEZ                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152966 EMANUEL RESTO MARCANO                        REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152967 EMANUEL REYES CALERO                         REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  646330 EMANUEL REYES VELAZQUEZ                      HC 5 BOX 29778                                                                                             CAMUY               PR         00627
         EMANUEL RICARDO GOMEZ
  152968 VELEZ                                        REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  646331 EMANUEL RIVERA APONTE                        BOX 370345                                                                                                 CAYEY               PR         00737
  152969 EMANUEL RIVERA CLAVIJO                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152970 EMANUEL RIVERA DE JESUS                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  646332 EMANUEL RIVERA DIAZ                          URB VILLAS DEL NORTE    401 CALLE AMATISTA                                                                 MOROVIS             PR         00687
  646333 EMANUEL RIVERA LOPEZ                         BO BUENA VISTA          168 CALLE CEREZO                                                                   CAROLINA            PR         00985
  646334 EMANUEL RIVERA MOLINA                        VILLA HOSTOS BOX 1156                                                                                      TOA BAJA            PR         00949
  152971 EMANUEL RIVERA PICORELLI                     REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152972 EMANUEL RIVERA SANTANA                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  152974 EMANUEL ROBLES DEL VALLE                     REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   152975 EMANUEL RODRIGUEZ BORRELI                   REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EMANUEL RODRIGUEZ
   646336 GONZALEZ                                    HC 02 BOX 12988                                                                                            SAN GERMAN          PR         00683
          EMANUEL RODRIGUEZ
   152976 MELENDEZ                                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   646337 EMANUEL RODRIGUEZ ROBLES                    HC 01 BOX 7065                                                                                             AGUAS BUENAS        PR         00703

   152977 EMANUEL RODRIGUEZ ROSADO                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   152978 EMANUEL RODRIGUEZ TORRES                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152979 EMANUEL ROLON FIGUEROA                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152980 EMANUEL ROSADO PAGAN                        REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152981 EMANUEL SALGADO DIAZ                        REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EMANUEL SANTIAGO
   646338 RODRIGUEZ                                   HC 02 BOX 1337                                                                                             MOROVIS             PR         00687
   152982 EMANUEL SANTIAGO ROMAN                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   152983 EMANUEL SANTIAGO SANTANA                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152984 EMANUEL SANTIAGO SANTOS                     REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   152985 EMANUEL SANTIAGO VILLAFANE                  REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646339 EMANUEL SOTO TORRES                         HC 01 BOX 10487                                                                                            LAJAS               PR         00667
   646340 EMANUEL TORRES                              URB LOS ANGELES         F 32 CALLE LAS FLORES                                                              CAROLINA            PR         00979
   152986 EMANUEL TORRES CRUZ                         REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152987 EMANUEL TORRES LOPEZ                        REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646341 EMANUEL TORRES RAMIREZ                      COND GORDEN TOWER       VISTA MAR APT 706                                                                  CAROLINA            PR         00983
   152988 EMANUEL TORRES RIVERA                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   152989 EMANUEL VAZQUEZ RODRIGUEZ REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   152990 EMANUEL VEGA GARCIA       REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646342 EMANUEL VENDING           HC 02 BOX 7071                                                                                                               CIALES              PR         00638‐9704



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          EMANUEL VENDING MACHINE
   152991 INC                                         500 CARR 149 STE 7                                                                                                CIALES               PR           00638

   646343 EMANUEL VILLARIN GONZALEZ                   BOX 202                                                                                                           LARES                PR           00669
   646344 EMANUEL VIRUET LLANOS                       RES ALEJANDRINO              EDIF 5 APT 6                                                                         GUAYNABO             PR           00964

   646345 EMANUEL WARRINGTON COLON BALBOA TOWNHOUSES                               L 99 CALLE 517                                                                       CAROLINA             PR           00985
   152992 EMANUEL ZENO SERRANO     REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EMANUELEE MARTINEZ
   152993 ESCOBAR                  REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   646346 EMANUELLI RIVERA SOTO    HC 02 BOX 6702                                                                                                                       BARRANQUITAS         PR           00794
   153004 EMANUELY CRUZ FELICIANO  REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   153005 EMAP LIMITED             33 39 BOWLING GREEN LANE                                                                                                             LONDON E                                        UNITED KINGDOM
   646347 EMAR TORRES CALDERON     URB VILLA MARINA                                H 3 CALLE 4                                                                          CAROLINA             PR           00979

   153007 EMARCADOS & KOMPLEMENTOS CAPARRA TERRACE                                 1434 AVE JESUS T PINERO                                                              SAN JUAN             PR           00922

   646348 EMARCADOS Y ALGO MAS                        URB ESTANCIAS DE LA FUENTE   AA 12 CALLE DUQUES                                                                   TOA ALTA             PR           00953
   153008 EMARELY ROSA DAVILA                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   153009 EMARIE AYALA DIAZ                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   153010 EMARIE MORALES ANAYA                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   153011 EMARIELY CRUZ GONZALEZ                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   153013 EMAURATH DIAZ RODRIGUEZ                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EMAUS HOME CENTRE /
   646350 LIZZETTE A MESTEY                           LA MALDONADO                 CARR 629 KM 1 9                                                                      FLORIDA              PR           00650
          EMBAJADOR TEXACO SERVICE
   646351 STATION                                     RR 7 BOX 7704                                                                                                     SAN JUAN             PR           00926
          EMBASSY SUITES DORADO DEL                   201 DORADO DEL MAR
   153014 MAR HOTEL                                   BOULEVARD                                                                                                         DORADO               PR           00646
          EMBASSY SUITES HOTEL &
   646352 CASINO SAN JUAN                             8000 CALLE TARTAK                                                                                                 CAROLINA             PR           00979
          EMBASSY SUITES PUERTO RICO
   153015 INC                                         8000 CALLE TARTAK                                                                                                 CAROLINA             PR           00979
   646353 EMBLEMS INC                                 PO BOX 98                                                                                                         HATILLO              PR           00659

   646354 EMBOTELLADORA LA FUENTE                     CENTRO COMERCIAL VALENCIA    200 AVE ORQUIDEAS                                                                    BAYAMON              PR           00959

   646355 EMBRODERY SPECIALTY GROUP                   527 AVE ANDALUCIA            SUITE 98                                                                             SAN JUAN             PR           00920

          EMBRY RIDDLE AERONAUTICAL
   153016 UNIVERSTTY INC                              600 S CLYDE MORRIS BLVD                                                                                           DAYTONA BEACH        FL           32114
   646356 EMBUSTIDOS DON TITO                         PO BOX 9024275                                                                                                    SAN JUAN             PR           00902‐4275
   646357 EMC 2 CARIBBEAN                             PO BOX 33040                                                                                                      SAN JUAN             PR           00933‐3040

   153017 EMC CORPORATION                             50 CONSTITUTION BOULEVARD                                                                                         FRANKLYN             MA           02038
   646358 EMC INTERNATIONAL INC                       3622 W LIBERTY RD                                                                                                 ANN ARBOR            MI           48103
   153018 EMC RESTAURANT INC                          PO BOX 362112                                                                                                     SAN JUAN             PR           00936
          EMCO CONSTRUCTION
   646362 CORPORATION                                 PO BOX 1943                                                                                                       SAN JUAN             PR           00919
   646363 EMCO DE TURISMO INC.                        PO BOX 1602                                                                                                       BAYAMON              PR           00902
   153020 EMCOMIUM PUBLICATIONS                       1124 FULLER STREET SUITE 2                                                                                        CINCINATI            OH           45202
   646364 EMECO INC                                   PO BOX 30373                                                                                                      SAN JUAN             PR           00929‐1373
   646365 EMED CO INC                                 PO BOX 369                                                                                                        BUFFALO              NY           14240



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  153021 EMEL MARTIN RIVERA VEGA                      REDACTED                     REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  646366 EMELDA PIZARRO CAMARA                        LAGUNA GARDENS III           APT 10 A                                                                        CAROLINA            PR         00979
  153022 EMELDINA GUASH VALENTIN                      REDACTED                     REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  153024 EMELIEL ROSADO GONZALEZ                      REDACTED                     REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  153025 EMELINA ALMEYDA ROMAN                        REDACTED                     REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      COND REEF TOWERS APT 6B ISLA
   646369 EMELINA AROCHA VON                          VERDE                                                                                                        CAROLINA            PR         00979

   646370 EMELINA CARABALLO MORALES PO BOX 3644 MARINA STA                                                                                                         MAYAGUEZ            PR         00681

   153026 EMELINA DE VARONA DEL RIO                   REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153027 EMELINA FLORA SANTIAGO                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153028 EMELINA HERNANDEZ                           REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   153029 EMELINA HERNANDEZ HEREDIA                   REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153030 EMELINA IRIZARRY                            REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646371 EMELINA MEDIAN RIVERA                       R R 03 BOX 3326                                                                                              SAN JUAN            PR         00928
   646373 EMELINA QUILES MERCADO                      URB LA MONSERRATE           L 5 CALLE 5                                                                      HORMIGUEROS         PR         00660
   153031 EMELINA RAMOS RIVERA                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EMELINDA GONZALEZ
   153033 CONCEPCION                                  REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   646374 EMELINDA GONZALEZ VARGAS                    VILLA CAROLINA              25 7 CALLE 5                                                                     CAROLINA            PR         00985
   153034 EMELINDA MARCIAL ROMAN                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153035 EMELINDA RIVERA MILLAN                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153036 EMELINDA VARGAS TORRES                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153037 EMELINE LAUREANO ORTIZ                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153038 EMELY A. RODRIGUEZ RIVERA                   REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646377 EMELY ABREU SIBILIA                         4TA EXT COUNTRY CLUB        CALLE 402 MD 12                                                                  CAROLINA            PR         00982
   153039 EMELY BEAUTY CENTER                         248 RAMOS ANTONINI                                                                                           MAYAGUEZ            PR         00680
   153040 EMELY CANDELARIO LLANOS                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646378 EMELY CEPEDA SALGADO                        URB JARD DE LOIZA           A 4 EDIF 3 PAT 304                                                               LOIZA               PR         00772
   646379 EMELY DE JESUS PEREZ                        BO TAMARINDO                133 C 2                                                                          PONCE               PR         00731
   646380 EMELY E COLON MONROIG                       P O BOX 1305                                                                                                 UTUADO              PR         00641
          EMELY J CARTAGENA
   153041 RODRIGUEZ                                   REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153042 EMELY J PEREZ RAMIREZ                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646381 EMELY M RAMOS RIVERA                        P O BOX 302 SUITE 187                                                                                        RIO GRANDE          PR         00745
   153043 EMELY MEDINA SORIANO                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646383 EMELY MENDEZ GARCIA                         HC 02 BOX 7170                                                                                               OROCOVIS            PR         00720
   153044 EMELY MUNOZ RODRIGUEZ                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EMELY RAMOSNIEVES/
   153046 REINALDO FRANQUICARLO                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153047 EMELY RODRIGUEZ SANTOS                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646384 EMELY 'S CATERING SERVICE                   PO BOX 1621                                                                                                  CAGUAS              PR         00726
   646385 EMELY SANTIAGO DONES                        BOX 358                                                                                                      VILLALBA            PR         00766
   646386 EMELY TORRES ORTEGA                         URB TOA ALTA HEIGHTS        K 9 CALLE 4                                                                      TOA ALTA            PR         00953
   646387 EMELY TORRES VICENTE                        URB LA PLATA                A 27 CALLE TURQUEZA                                                              CAYEY               PR         00736
   153048 EMELY TRUJILLO ROSADO                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   646388 EMELYN CARDONA GONZALEZ                     URB VISTA AZUL              J 19 CALLE 10                                                                    ARECIBO             PR         00612
   646389 EMELYN VAZQUEZ ROSA                         HC 1 BOX 5566                                                                                                BARRANQUITAS        PR         00794‐9607
   646390 EMELYS COLON PEREZ                          BO CAONILLA ABAJO           PO BOX 595                                                                       VILLALBA            PR         00766



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  153049 EMERALDO CRUZ GONZALEZ                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   153050 EMERENCIA MORALES MORALES REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   646391 EMERENCIANA REYES VENTURA                   P O BOX 11855                                                                                             SAN JUAN             PR         00910‐3855
   646392 EMERGENCIA 2000 INC                         HC 10 BOX 6715                                                                                            SABANA GRANDE        PR         00637
   153051 EMERGENCIAS DEL SUR                         PO BOX 692                                                                                                PONCE                PR         00715

   646393 EMERGENCIAS MEDICAS DE PR P O BOX 2161                                                                                                                SAN JUAN             PR         00922‐2161
          EMERGENCIOLOGOS PARA
   153053 PUERTO RICO CSP            PMB 338                                  SUITE 67 #35           CALLE JUAN C. BORBON                                       GUAYNABO             PR         00969‐5375
          EMERGENCY & MEDICAL
   153055 EQUIPMENTS CORP            PMB 291 BOX 2500                                                                                                           TRUJILLO ALTO        PR         00977‐2500
          EMERGENCY BOOKS & TRAINING
   153056 MATERIAL, INC              1650 NW 128TH DR. APT. 101                                                                                                 SUNRISE              FL         33323‐5206
          EMERGENCY CANINE RESCUE
   646394 TEAM                       P O BOX 1720                                                                                                               LUQUILLO             PR         00773
   646395 EMERGENCY CARE INC         PO BOX 4220                                                                                                                VEGA BAJA            PR         00694‐4220
          EMERGENCY DEPARTMENT MED
   646396 SERV C S P                 ESTANCIAS DE SAN FERNANDO                B 17 CALLE 4                                                                      CAROLINA             PR         00985

   153057 EMERGENCY FOOD AND SHELTER PO BOX 530217                                                                                                              ATLANTA              GA         30353‐0217
          EMERGENCY MEDICAL CARE ,
   153058 INC.                       P. O. BOX 852                                                                                                              SAN LORENZO          PR         00754‐0000
          EMERGENCY MEDICINE GROUP
   646399 OF ARECIBO                 PO BOX 9975                                                                                                                ARECIBO              PR         00613

   646400 EMERGENCY MITIGATION CORP                   PO BOX 21705                                                                                              SAN JUAN             PR         00921‐1705
          EMERGENCY PERSONAL HEALTH
   153059 DATA INC                                    PO BOX 142146                                                                                             ARECIBO              PR         00614‐2146
   646402 EMERGENCY PEST CONTROL                      PO BOX 646                                                                                                JUANA DIAZ           PR         00795
          EMERGENCY POWER AND
   153060 SECURITY SOLUTIONS                          1121 AMERICO MIRANDA                                                                                      SAN JUAN             PR         00921
          EMERGENCY POWER AND                         1121 AMERICO MIRANDA
   153061 SECURTY SOLUTION                            REPARTO METROPOLITANO                                                                                     SAN JUAN             PR         00921‐0000
          EMERGENCY PRACTICE
   153062 MANAGEMENT GROUP P.S.                       PO BOX 363589                                                                                             SAN JUAN             PR         00936‐3589
          EMERGENCY TEC SERV/ D/B/A
   646403 ENRIQUE RIVERA                              HC 05 BOX 7219                                                                                            GUAYNABO             PR         00971‐9586
   646404 EMERGENCY TECHNICAL                         HC 05 BOX 7219                                                                                            GUAYNABO             PR         00971‐9586
          EMERGENCY TECHNICAL
   153063 SERVICES                                    HC 5 PO BOX 7219                                                                                          GUAYNABO             PR         00971
          EMERGENCY TECHNOLOGIES
   646405 CORP                                        PO BOX 19551                                                                                              SAN JUAN             PR         00919
   153067 EMERIDA BACHILLER NIEVES                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   153069 EMERIDA DIAZ CINTRON                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   646406 EMERIDA PAGAN MORALES                       URB CIUDAD MASSO        H 22 CALLE 15                                                                     SAN LORENZO          PR         00754
   153070 EMERIDA RIVERA OFARRELL                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   153071 EMERIELIS TORRES PEREZ                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   646410 EMERILDO GONZALEZ GONZALEZ URB MIRA FLORES                          BLQ 27 ‐ 20 CALLE 33                                                              BAYAMON              PR         00957
          EMERITA CARRASQUILLO
   646413 SERRANO                    HC 83 BOX 714 9                                                                                                            VEGA ALTA            PR         00693



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   646414 EMERITA CARTAGENA LEON                      HC BOX BEATRIZ SEC POSUELO                                                                                            CAYEY               PR           00736
   646416 EMERITA CINTRON                             PO BOX 106                                                                                                            CEIBA               PR           00735
   646420 EMERITA CRUZ CRUZ                           VILLA JUSTICIA               A 45 CALLE PARQUESITO                                                                    CAROLINA            PR           00986
          EMERITA DEL C RODRIGUEZ
   646421 NEGRON                                      P O BOX 623                                                                                                           SALINAS             PR           00751
   153072 EMERITA DELGADO AGOSTO                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646422 EMERITA DELGADO PEREZ                       N 407 RES PTA TIERRA                                                                                                  SAN JUAN            PR           00901
   153073 EMERITA GARCIA ROBLES                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646424 EMERITA JIMENEZ                             BDA POLVORIN                 62 CALLE 5                                                                               CAYEY               PR           00736
   153074 EMERITA JULBE RIVERA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153075 EMERITA LEBRON CORTES                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EMERITA LEON CANDELAS
   646425 ELEMENTAL                                   P O BOX 372966                                                                                                        CAYEY               PR           00737
   646426 EMERITA MARRERO LOPEZ                       PO BOX 21365                                                                                                          SAN JUAN            PR           00926‐1365
   646427 EMERITA MARTINEZ COLON                      236 LA REPRESA                                                                                                        ARECIBO             PR           00612

   646428 EMERITA MARTINEZ VAZQUEZ                    HC 33 BOX 5926                                                                                                        DORADO              PR           00646
   153077 EMERITA MENDEZ RIOS                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153079 EMERITA MOTTA ROSA                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646429 EMERITA NIEVES LOPEZ                        HC‐4 BOX 6977                                                                                                         COROZAL             PR           00783

   646411 EMERITA ORTIZ ZAYAS                         URB SANTA RITA               13 CALLE AMELIA MARIN APT 2                                                              SAN JUAN            PR           00925
   646430 EMERITA QUINTERO DUARTE                     LEVITTOWN                    PASEO DIANA 1600 SECC 1                                                                  TOA BAJA            PR           00949
   646431 EMERITA RAMOS PEREZ                         P O BOX 7428                                                                                                          SAN JUAN            PR           00916
   646432 EMERITA RIVERA MONCLOVA                     BO OBRERO                    720 CALLE 5                                                                              SAN JUAN            PR           00915

   646435 EMERITA RODRIGUEZ SANTIAGO P O BOX 843                                                                                                                            COROZAL             PR           00783
   646436 EMERITA RODZ GONZALEZ      BO OBRERO                                     551 C/MARTINO                                                                            SAN JUAN            PR           00912
   646437 EMERITA ROMAN CAMPOS       HC01 BOX 11431                                                                                                                         ARECIBO             PR           00612
   646438 EMERITA ROMAN ROSARIO      P O BOX 21365                                                                                                                          SAN JUAN            PR           00928
   646439 EMERITA SANCHEZ MORET      URB QUINTAS DE GUASIMAS                       CALLE S CASA C 7                                                                         ARROYO              PR           00714
   153080 EMERITA SANTIAGO COLON     REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646440 EMERITA SANTIAGO GARCIA    URB PUERTO NUEVO                              520 CALLE ARABIA                                                                         SAN JUAN            PR           00920
   646441 EMERITA SOTO               PO BOX 592                                                                                                                             CANOVANAS           PR           00729
   646442 EMERITA TORRES CONTES      P O BOX 2533                                                                                                                           ARECIBO             PR           00613
   646443 EMERITA TORRES MOJICA      P O BOX 315                                                                                                                            TOA ALTA            PR           00954

   153081 EMERITA VALENTIN QUINONES                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153082 EMERITA VELEZ RODRIGUEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646444 EMERITA VELEZ VELEZ                         HC 02 BOX 7612                                                                                                        CIALES              PR           00638
   646445 EMERITA VICENTE MERCED                      JARD DE MONTELLANO           EDIF 8 APTO 16                                                                           CAYEY               PR           00736

   153083 EMERITO ALVARADO RODRIGUEZ REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646447 EMERITO AMARO TORRES       P O BOX 57                                                                                                                             CULEBRA             PR           00775
   646446 EMERITO AQUINO MEDINA      HC 05 BOX 25470                                                                                                                        CAMUY               PR           00627
   153084 EMERITO AQUINO RAMOS       REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646448 EMERITO COLON RAMOS        1819 PLUN ST                                                                                                                           PHILADELPHIA        PA           19124
                                     1 CALLE COLOMEL SANCHEZ
   646449 EMERITO CORTES CARRERO     ALTOS                                                                                                                                  UTUADO              PR           00641
   646450 EMERITO ESTRADA / ISUZU    CALL BOX 11847                                CAPARRA HEIGHTS STA                                                                      SAN JUAN            PR           00922
   646451 EMERITO ESTRADA ISUZU      CAPARRA HEIGHTS STA.                          CALL BOX 11847                                                                           SAN JUAN            PR           00922
   646452 EMERITO ESTRADA RIVERA     PO BOX 11847                                                                                                                           SAN JUAN            PR           00922



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   646453 EMERITO ESTRADA RIVERA INC AVE KENNEY KM 3 9                                                                                                                  SAN JUAN            PR           00922
          EMERITO ESTRADA RIVERA ISUZU
   153085 DE PR INC                    PO BOX 11847                                                                                                                     SAN JUAN            PR           00922
   153086 EMERITO FLORES MALAVE        REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153087 EMERITO FLORES NAZARIO       REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646454 EMERITO FONSECA PACHECO      EDIF TRES MARIAS                          AVE PONCE DE LEON APT 304                                                              SAN JUAN            PR           00907
          EMERITO G TORRES PEREZ/ELI A
   153088 PEREZ MENDE                  REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   153090 EMERITO GONZALEZ SANTIAGO                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   646456 EMERITO HERNANDEZ GOMEZ                     URB EL MADRIGAL            S 14 CALLE 23                                                                          PONCE               PR           00730

   646457 EMERITO IRIZARRY CUSTODIO                   P O BOX 5140                                                                                                      CAROLINA            PR           00984‐5140
   646458 EMERITO NIEVES CRESPO                       HC 05 BOX 42417                                                                                                   SAN SEBASTIAN       PR           00685
   153091 EMERITO ROMAN MILLET                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153092 EMERITO RUPERTO TORRES                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646459 EMERITO VENTURA RUIZ                        87 CALLE JOSE DE DIEGO                                                                                            TOA ALTA            PR           00953
   646460 EMERONO OTERO SANTIAGO                      PO BOX 563                                                                                                        CIALES              PR           00638
   646461 EMERSON MORALES MEDINA                      4TA EXT COUNTRY CLUB       957 CALLE CEILAN                                                                       SAN JUAN            PR           00925
          EMERSON ROSARIO
   646462 MALDONADO                                   HC 03 BOX 13793                                                                                                   JUANA DIAZ          PR           00795

   153093 EMERY DEL C SANTIAGO AVILES                 REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646463 EMERY M BENJAMIN ANDINO                     VALLE ARRIBA HEIGHTS       P O BOX 1427                                                                           CAROLINA            PR           00985
   646464 EMERY WORLDWIDE                             P O BOX 3926                                                                                                      CAROLINA            PR           00979
   153094 EMERY WORLWIDE                              A CF COMPANY BOX 371232M                                                                                          PITTSBURG           PA           15250
   646467 EMETERIO BELLO GARCIA                       PARC AMALIA MARIN          5424 CALLE PEZ GALLO                                                                   PONCE               PR           00723
   646466 EMETERIO COLON RENTAS                       HC 1 BOX 7563                                                                                                     VILLALBA            PR           00766
   646470 EMETERIO GONZALEZ                           CALL BOX 3001 DEPT 196                                                                                            RIO GRANDE          PR           00745
   153095 EMETERIO OQUENDO RIVERA                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   153096 EMETERIO QUINONES MEDINA                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646471 EMETERIO RAMOS CRUZ                         PUERTO NUEVO               1031 CALLE 16 NE                                                                       SAN JUAN            PR           00920

   153097 EMETERIO RODRIGUEZ MONTES                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153098 EMG INC                                     129 GUAYAMA STREET                                                                                                SAN JUAN            PR           00917
          EMG, INC. (CHROMAGAR‐
   153100 HYLABS)                                     129 GUYAMA ST                                                                                                     SAN JUAN            PR           00917
   153102 EMI QUINONES VELEZ                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153103 EMIANNETTE ROMAN PEREZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646472 EMIBEL BURGOS JIMENEZ                       PO BOX 1073                                                                                                       OROCOVIS            PR           00720
   153104 EMIBEL MUNOZ COLON                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646473 EMIBEL VAZQUEZ GUZMAN                       URB MONTE CARLO            1289 CALLE 11                                                                          SAN JUAN            PR           00924
   646474 EMIBEL VIRELLA MELENDEZ                     E 52 URB CIBUCO                                                                                                   COROZAL             PR           00783
   153105 EMIBELL CHONG TRINIDAD                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153107 EMICELY TORRES GRACIA                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646475 EMICHELLE VEGA TORRES                       HC 1 BOX 4487                                                                                                     YABUCOA             PR           00767
   153108 EMIDIO G SIERRA GONZALEZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646476 EMIGDA FLORES GOMEZ                         ALTURAS DE SAN LORENZO     A 12 CALLE 2                                                                           SAN LORENZO         PR           00754
   646477 EMIGDIA RODRIGUEZ LAMB                      PO BOX 763                                                                                                        CAGUAS              PR           00726‐0763
   646478 EMIGDIA SANTIAGO                            PO BOX 769                                                                                                        TOA BAJA            PR           00951‐0769



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  153109 EMIGDIO RAMIREZ MARTINEZ                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  153110 EMIILIO CAZANO                               REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  646480 EMIILY RAMOS BRASCHI                         HC 37 BOX 5193                                                                                                     GUANICA             PR         00653
  646481 EMIL CARO ACOSTA                             REPTO METROPOLITANO           1046 CALLE13                                                                         SAN JUAN            PR         00925

   153111 EMIL J RODRIGUEZ ESCUDERO                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153112 EMIL NIEVES MOURNIER                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646482 EMIL RAISES SHAJARAZA                       BO LIZAS                      SECTOR TUMBAO BZ T 213                                                               MAUNABO             PR         00707
   646483 EMIL RIVERA MORALES                         HC 03 BOX 5618                                                                                                     HUMACAO             PR         00791
   153114 EMIL SOLER FELICIE                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   153115 EMILARIE QUINONES FONSECA                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646485 EMILCAR MARTINEZ CINTRON                    P O BOX 1668                                                                                                       MOROVIS             PR         00687

   153116 EMILDA MALDONADO MEDINA                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153117 EMILE A DANET GARCIA                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646488 EMILIA ALICEA CINTRON                       HC 80 BOX 9304                                                                                                     DORADO              PR         00646
   153118 EMILIA ALVARADO INGLES                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153119 EMILIA ALVAREZ HERNANDEZ                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646490 EMILIA BARRIOS QUILES                       P O BOX 2319                                                                                                       ARECIBO             PR         00613
   153120 EMILIA CORREA COLON                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646494 EMILIA CRUZ VALDES                          JUAN DOMINGO                  65 INF CALLE LOS ROBLES                                                              GUAYNABO            PR         00957
   646495 EMILIA DE LEON ORTIZ                        COND LOS CLAVELES             EDIF 1 APTO 1308                                                                     TRUJILLO ALTO       PR         00976

   646496 EMILIA DEL C CARDONA RIVERA                 218 ALTOS CALLE DR FERNANDEZ                                                                                       TRUJILLO ALTO       PR         00976
   153121 EMILIA E. RAMOS SANTANA                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   646497 EMILIA FEBRES FEBRES                        RESIDENCIAL FELIPE S OSORIO   EDIF 13 APT 63                                                                       CAROLINA            PR         00985
   646498 EMILIA GARCIA DE TORRES                     PO BOX 560819                                                                                                      GUAYANILLA          PR         00656‐3819
   646499 EMILIA GONZALEZ HIRALDO                     HC 2 BOX 14560                                                                                                     CAROLINA            PR         00985
   646500 EMILIA GONZALEZ ISAAC                       URB VILLA CAROLINA            B20‐L3 CALLE 19                                                                      CAROLINA            PR         00985
   153122 EMILIA GONZALEZ SANTIAGO                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153123 EMILIA GRAU                                 REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153124 EMILIA HEREDIA VEGA                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646501 EMILIA HOLGUIN TRINIDAD                     LOMAS VERDE                   4D‐36 CALLE NAVEDO                                                                   BAYAMON             PR         00956
   646502 EMILIA I BUXO                               PO BOX 380                                                                                                         DORADO              PR         00646
   153125 EMILIA I RODRIGUEZ TOLEDO                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153126 EMILIA IRIZARRY VAZQUEZ                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EMILIA M ANTOMMATTEI
   646486 OLIVARI                                     PO BOX 489                                                                                                         ENSENADA            PR         00647
   646504 EMILIA M RULLAN CASTA                       37 CALLE DE DIEGO OESTE                                                                                            MAYAGUEZ            PR         00680
   646505 EMILIA MALDONADO                            HC 52 BOX 2026                                                                                                     GARROCHALES         PR         00652
   646507 EMILIA MATOS                                HC 01 5202                                                                                                         LOIZA               PR         00772
   646508 EMILIA MEDINA MAYSONET                      LEVITTOWN LAKES               1 CALLE LEALTAD                                                                      TOA BAJA            PR         00949

   646510 EMILIA MELENDEZ FALCON                      COND SANCHEZ ERAZO APTO 607                                                                                        BAYAMON             PR         00959
   153129 EMILIA MONTERO                              REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646512 EMILIA MORALES                              HC 02 BOX 4651‐1                                                                                                   LAS PIEDRAS         PR         00771

   646513 EMILIA MORALES LARA                         COND LOS ALMENDROS PLAZA I    701 CALLE EIDER APT 211                                                              SAN JUAN            PR         00924
   153130 EMILIA NUNEZ HOYO                           REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153131 EMILIA OLAZAGASTI TORRES                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   646514 EMILIA OLIVER ANDINO                        PDA 18 5 ALTOS CALLE AMERICA                                                                                    SAN JUAN            PR           00907
   646515 EMILIA OLLAN JUSTINIANO                     CUESTA LAS PIEDRAS           6 CALLE CIELITO                                                                    MAYAGUEZ            PR           00680
   153132 EMILIA ORTIZ                                REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153133 EMILIA ORTIZ LESPIER                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153134 EMILIA ORTIZ ORTIZ                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646516 EMILIA PAGAN CHALUISAN                      1708 CALLE SAN MATEO                                                                                            SAN JUAN            PR           00912‐3922
   646517 EMILIA PEREZ GONZALEZ                       175 BDA FELIX                CORDOVA DAVILA                                                                     MANATI              PR           00674
          EMILIA PERZ HIDALGO H/N/C MI
   646518 CRISTO ROTO                                 PO BOX 2310                                                                                                     MOCA                PR           00676
   646519 EMILIA PLATA                                9065 GREEN BROOK CT                                                                                             ORLANDO             FL           32810
   153135 EMILIA QUINONES                             REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153136 EMILIA RAMIREZ TRABAL                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153137 EMILIA RAMOS PEREZ                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   646520 EMILIA REYES / GLADYS SANCHEZ COND MUNDO FELIZ                          APTO 209                                                                            CAROLINA            PR           00979
   646521 EMILIA REYES RIVERA           VILLA PALMERA                             360 CALLE CASTRO VINAS                                                              SAN JUAN            PR           00912
   646522 EMILIA RIVERA COLON           SABANA GARDENS                            18 3 CALLE 18                                                                       CAROLINA            PR           00983
   646523 EMILIA RIVERA ROBLES          374 CALLE UNION NORTE                                                                                                         PUERTO REAL         PR           00740
   153138 EMILIA RODRIGUEZ LEBRON       REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646524 EMILIA RODRIGUEZ OFRAY        BO JAJOME ALTO                                                                                                                CAYEY               PR           00736
   646525 EMILIA RODRIGUEZ TRINIDAD     COND LAS AMERICAS                         TORRE II APT 406                                                                    SAN JUAN            PR           00921
   153139 EMILIA ROSARIO ORTIZ          REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646528 EMILIA ROURE                  COND COMODORO                             301 APT                                                                             CAROLINA            PR           00979
   771043 EMILIA RUIZ RUIZ              REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646530 EMILIA SALINAS MORENO         VILLAS DE LOIZA                           J 25 CALLE 2                                                                        CANOVANAS           PR           00729

   646531 EMILIA TALAMAS DE MARQUEZ                   2402 PORTALES DEL MONTE                                                                                         COTO LAUREL         PR           00780
   646532 EMILIA TORRES CLAUDIO                       URB LA HACIENDA             A R 17                                                                              GUAYAMA             PR           00784
   646534 EMILIA VEGA CAMACHO                         C/ 1RA MAYO                                                                                                     YAUCO               PR           00698
   646535 EMILIA VEIGA PEREZ                          COND AGUEYBANA APT 704                                                                                          SAN JUAN            PR           00923
          EMILIANA LOPEZ TORRES / RITA
   646537 CRUZ LOPEZ                                  BO INGENIO                  BUZON 347‐9                                                                         YABUCOA             PR           00767
   646538 EMILIANA PRATTS SANCHEZ                     HC 6 BOX 17386                                                                                                  SAN SEBASTIAN       PR           00685

   153140 EMILIANA RODRIGUEZ ARROYO                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EMILIANA RODRIGUEZ
   646539 MELENDEZ                                    BO MAGUAYO                  610 CALLE ROSAS                                                                     DORADO              PR           00646
   646540 EMILIANO AGOSTO ANDINO                      PMB 338 P O BOX 7891                                                                                            GUAYNABO            PR           00970
   153141 EMILIANO ALVAREZ RUIZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153142 EMILIANO AYALA APONTE                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646543 EMILIANO AYALA NEVARES                      P O BOX 1870                                                                                                    LAS PIEDRAS         PR           00771
   646544 EMILIANO BORRERO                            PO BOX 271                                                                                                      ENSENADA            PR           00647
   153144 EMILIANO COLON SEGARRA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   646545 EMILIANO DE JESUS SANTIAGO                  SANTURCE STATION            PO BOX 9781                                                                         SAN JUAN            PR           00908
   153145 EMILIANO FALU LANZO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EMILIANO FELICIANO
   153146 HERNANDEZ                                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EMILIANO FELICIANO
   646546 RODRIGUEZ                                   URB COLINAS DE OESTE        G 3 CALLE 5                                                                         HORMIGUEROS         PR           00660
   646547 EMILIANO GONZALEZ                           URB MANSION DEL SUR         SE 1 VIA DEL SUR                                                                    TOA BAJA            PR           00949
   153149 EMILIANO GONZALEZ COLON                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  646548 EMILIANO GOTAY DE LEON                       RR 6 BOX 10722                                                                                                SAN JUAN            PR         00926
  153150 EMILIANO J VELEZ TORRES                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   153151 EMILIANO MACHADO VAZQUEZ                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153152 EMILIANO MATOS LORENZO                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646549 EMILIANO MERCEDES CRUZ                      URB CIUDAD UNIVERSITARIA   U34 CALLE 27                                                                       TRUJILLO ALTO       PR         00956
   646550 EMILIANO MORALES RUIZ                       BO ARENAS                  9 CALLE 1                                                                          GUANICA             PR         00653
   153153 EMILIANO NEGRON RAMIREZ                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153154 EMILIANO NEGRON RIVERA                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646551 EMILIANO NEGRON TORRES                      HC 1 BOX 3288                                                                                                 VILLALBA            PR         00766
   646552 EMILIANO NIEVES CRUZ                        VILLA DEL RIO              RR 1 BOX 13857                                                                     TOA ALTA            PR         00953
   646555 EMILIANO PEREZ ORTEGA                       BOX 2390                                                                                                      SAN JUAN            PR         00919
   153155 Emiliano Quiles Pagan                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646556 EMILIANO RIVERA CORREA                      PO BOX 462                                                                                                    SAN SEBASTIAN       PR         00685 0462

   153157 EMILIANO RODRIGUEZ RIVERA                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646559 EMILIANO ROMERO AYALA                       JARDINES DE COUNTRY CLUB   BT 25 CALLE 125                                                                    CAROLINA            PR         00983
   646560 EMILIANO ROSA FONSECA                       P O BOX 724                                                                                                   FAJARDO             PR         00738
          EMILIANO ROSA RIJOS / TALLER
   646561 JUNNIOR INC                                 PO BOX 380                                                                                                    PAMER               PR         00721
          EMILIANO ROSARIO
   153158 ALMODOVAR                                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153159 EMILIANO SANTOS REILLO                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646563 EMILIANO SOTO NIEVES                        PO BOX 2478                                                                                                   MOCA                PR         00676
   153160 EMILIANO TORRES ORTIZ                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153161 EMILIANO TRIGO FRITZ                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   153162 EMILIANO VAZQUEZ FELICIANO                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153163 EMILICE CORREA CORREA                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646564 EMILIE ALAMO RIVERA                         RES QUINTANA               EDIF 26 APTO 380                                                                   SAN JUAN            PR         00917
   646565 EMILIE MARTINEZ VELEZ                       HC 01 BOX 2055                                                                                                FLORIDA             PR         00650
          EMILIENNE CACERES
   153166 ECHEVARRIA                                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646566 EMILINIE PAREDES GOMEZ                      PO BOX 1272                                                                                                   ISABELA             PR         00662
   153167 EMILIO A AMEZQUITA SOTO                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EMILIO A HERNANDEZ
   153168 ROMAGUERA                                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153169 EMILIO A PLAZA CRUZ                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153171 EMILIO ACEVEDO DIAZ                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153172 EMILIO ACEVEDO TORRES                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646571 EMILIO AGRAIT DEFILLO                       PO BOX 195319                                                                                                 SAN JUAN            PR         00919
   153173 EMILIO AGUIRRE TORRES                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153174 EMILIO ALAMO FONTANEZ                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153175 EMILIO ANDINO DIAZ                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153177 EMILIO APONTE NAVARRO                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646573 EMILIO APONTE ROJAS                         PO BOX 227                                                                                                    OROCOVIS            PR         00720
   153178 EMILIO AROCHO REYES                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646576 EMILIO AVILES CASIANO                       PO BOX 70166                                                                                                  SAN JUAN            PR         00745
   153181 EMILIO BARBOSA VELEZ, INC                   PO BOX 1286                                                                                                   SAN JUAN            PR         00936
   646578 EMILIO BEZARES MALAVE                       HC 20 BOX 21235                                                                                               SAN LORENZO         PR         00754
   646579 EMILIO BEZARES REYES                        PO BOX 500                                                                                                    SAN LORENZO         PR         00754
   153182 EMILIO BONES RAMOS                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646581 EMILIO BRIALES                              URB INDUSTRIAL             150 MINILLAS CARR 174                                                              BAYAMON             PR         00959



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  153183 EMILIO C NAVARRO MARTIN                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  153185 EMILIO CAMPOS REYES                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  646582 EMILIO CANCIO BELLO                           1702 CALLE SAN MATEO                                                                                            SAN JUAN             PR         00912
  153186 EMILIO CANCIO BELLO JR CSP                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  153187 EMILIO CANDELARIO LOPEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   646583 EMILIO CARASQUILLO MOJICA                    PO BOX 598                                                                                                      CAROLINA             PR         00986‐0598

   646567 EMILIO CARDONA ANDINO                        URB JARDINES DE BORINQUEN   L 11 CALLE CLAVEL                                                                   CAROLINA             PR         00985
   646584 EMILIO CARLO ACOSTA                          BO PUERTO REAL              27 CALLE 14                                                                         CABO ROJO            PR         00623

   646585 EMILIO CARRASQUILLO DE JESUS URB MONTAIN VIEW                            B 41 CALLE 14                                                                       CAROLINA             PR         00987
   646586 EMILIO CASELLAS SANCHEZ      P.O. BOX 9020336                                                                                                                SAN JUAN             PR         00902‐0336
   646587 EMILIO CASTILLO ROSADO       RR 2 BOX 9541                                                                                                                   TOA ALTA             PR         00953
   153189 EMILIO CIVIDANES FREIRIA     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   646588 EMILIO COLON                 PO BOX 21365                                                                                                                    SAN JUAN             PR         00928
   646589 EMILIO CORDERO CRUZ          VILLA DEL PILAR                             A 6 CALLE 1                                                                         CEIBA                PR         00735
   153192 EMILIO CRUZ BAEZ             REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   646590 EMILIO CRUZ GONZALEZ         EXT LA ALAMEDA                              BE CALLE D                                                                          SAN JUAN             PR         00926
   646591 EMILIO DAVILA INC            BOX 294                                                                                                                         VEGA ALTA            PR         00961
          EMILIO DE JESUS COLLLAZO Y
   153193 MARIA ROSADO                 REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   153194 EMILIO DE JESUS COTTO        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   153195 EMILIO DE LEON SANTIAGO      REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   646593 EMILIO DE QUESADA BARRETO                    URB VISTA BELLA             H 31 CALLE RENO                                                                     BAYAMON              PR         00959
   153196 EMILIO DEL TORO AGRELOT                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   153198 EMILIO DEL TORO GUILLERMETY                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   153199 EMILIO DELGADO OCASIO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   646594 EMILIO DIAZ AYALA                            VILLA CAROLINA 50           92‐50 CALLE 90                                                                      CAROLINA             PR         00985‐4141
   646597 EMILIO DURAN SIERRA                          VILLA PALMERAS              358 CALLE LAGUNA                                                                    SAN JUAN             PR         00915
   646598 EMILIO E HUYKE VELEZ                         PO BOX 336                                                                                                      TRUJILLO ALTO        PR         00978
   646599 EMILIO E MAIZ CASELLAS                       EL PARAISO                  1523 RODANO                                                                         SAN JUAN             PR         00926
   646600 EMILIO E MENDEZ MENDEZ                       HC 4 BOX 13977                                                                                                  MOCA                 PR         00676
   153200 EMILIO E PEREZ OLIVERAS                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   153201 EMILIO E PEREZ QUILES                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   646601 EMILIO E SOLE DE LA PAZ                      PO BOX 12354                                                                                                    SAN JUAN             PR         00914
          EMILIO ERNESTO ACOSTA
   153203 RODRIGUEZ                                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   646603 EMILIO F SOLER                               COBIAN PLAZA OFC 213        1607 AVE PONCE DE LEON                                                              SAN JUAN             PR         00909
   153204 EMILIO FELICIANO BARBOSA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   646605 EMILIO FIGUEROA SIERRA                       PO BOX 20070                                                                                                    SAN JUAN             PR         00925
   646606 EMILIO FLORES RIVAS                          HC 1 BOX 5472                                                                                                   YABUCOA              PR         00767
   646607 EMILIO FLORES SEPULVEDA                      HC 1 BOX 5461                                                                                                   YABUCOA              PR         00767

   646609 EMILIO G TORO MONTETEREY                     URB LA CONCEPCION           139 CALLE ROSARIO                                                                   CABO ROJO            PR         00623
   646610 EMILIO G TORRES RUIZ                         PO BOX 5206                                                                                                     CAGUAS               PR         00726
   646613 EMILIO GARCIA RIVERA                         URB LAS GARDENAS            64 CALLE DELIA                                                                      MANATI               PR         00674
   646614 EMILIO GERENA MARTINEZ                       PARCELA AMADEO              CARR 155 BUZON 7                                                                    VEGA BAJA            PR         00693
   153205 EMILIO GONZALEZ ESPINAL                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   646617 EMILIO GONZALEZ GARCIA                       BUENA VISTA                 1778 CALLE ALOA                                                                     PONCE                PR         00717‐2501
   646619 EMILIO GRACIANI DE JESUS                     APARTADO 664                                                                                                    ARROYO               PR         00714



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  646620 EMILIO GRAULAU ALVAREZ                       SABANA GARDENS              BK 13 8 CALLE 27                                                                        CAROLINA            PR         00983
  153207 EMILIO H DAVILA BRAVO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   646621 EMILIO H DAVILA HERNANDEZ                   PO BOX 31062                                                                                                        SAN JUAN            PR         00929‐2062

   646623 EMILIO HERNANDEZ HERNANDEZ HC 02 BOX 15672                                                                                                                      CAROLINA            PR         00985

   153208 EMILIO HERNANDEZ MENDOZA                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   646626 EMILIO J RODRIGUEZ SANTIAGO                 URB LA PROVIDENCIA          2436 CALLE SHEQUEL                                                                      PONCE               PR         00728‐3139
   646627 EMILIO J ROSARIO ACEVEDO                    RESD JOSE DE DIEGO          EDIF 7 APT 58                                                                           AGUADILLA           PR         00603
   153209 EMILIO J ROSARIO MORALES                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646628 EMILIO J RUIZ GINES                         URB VILLAS DE SAN AGUSTIN   J 13 CALLE 6                                                                            BAYAMON             PR         00959
   153210 EMILIO J TORRES QUINONES                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153211 EMILIO J VELAZQUEZ RUIZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153212 EMILIO J. GOMEZ PAGAN                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EMILIO JIMENEZ MORALES Y
   153213 NELSON D SOTO                               REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153214 EMILIO JIMENEZ ORTIZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646629 EMILIO LABOY CASTILLO                       RES SABANA                  D 10 CALLE CHILE                                                                        SABANA GRANDE       PR         00637
   153215 EMILIO LARA RODRIGUEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646630 EMILIO LEON                                 PO BOX 2270                                                                                                         GUAYNABO            PR         00970

   646631 EMILIO LONGO ALONSO                         CAPARRA HEIGHTS             COND LOS PATRICIOS APT 804                                                              SAN JUAN            PR         00968
   646632 EMILIO LOPEZ                                PO BOX 39                                                                                                           GUAYNABO            PR         00970
   646634 EMILIO LOPEZ D/B/A                          PO BOX 39                                                                                                           GUAYNABO            PR         00970
   153216 EMILIO LOPEZ GELIGA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   646636 EMILIO LOPEZ MEDIA PHOTO INC P O BOX 39                                                                                                                         GUAYNABO            PR         00970‐0039
   646637 EMILIO LOPEZ PEREZ           HC 33 BOX 5422                                                                                                                     DORADO              PR         00646
   646638 EMILIO LOPEZ RIVERA          URB LOMAS VERDES                           S12 CALLE CLAVELILLO                                                                    BAYAMON             PR         00956

   646639 EMILIO LOPEZ RODRIGUEZ                      232 AVE ELEONOR ROOSEVELT                                                                                           SAN JUAN            PR         00907
   153217 EMILIO LOPEZ TORRES                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153218 EMILIO LOZADA RIVERA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   153219 EMILIO MALDONADO BURGOS                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   646568 EMILIO MALDONADO GONZALEZ HC 02 BOX 12606                                                                                                                       AGUAS BUENAS        PR         00703‐9603
   153220 EMILIO MARENGO RIOS       REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153221 EMILIO MARQUEZ LOPEZ      REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153222 EMILIO MARRERO PEREZ      REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   646642 EMILIO MARTINEZ ARQUITECTOS PO BOX 22140                                                                                                                        SAN JUAN            PR         00931

   153223 EMILIO MARTINEZ CIMADEVILLA                 REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153224 EMILIO MARTY                                REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153225 EMILIO MASSAS DELGADO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646643 EMILIO MATOS PEREZ                          PO BOX 435                                                                                                          COMERIO             PR         00782
   646644 EMILIO MATOS VELEZ                          PO BOX 1198                                                                                                         CABO ROJO           PR         00623
   646646 EMILIO MEDINA ROSADO                        URB BUNKER                  625 CALLE LAS FLORES                                                                    CAGUAS              PR         00725
   153226 EMILIO MELENDEZ CAMACHO                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153228 EMILIO MENDEZ HERNANDEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  646648 EMILIO MENDOZA VAZQUEZ                       PO BOX 258                                                                                                    ARECIBO            PR           00613

   153229 EMILIO MILLAN CARRASQUILLO                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   646649 EMILIO MOJICA NEGRON                        HC 37 BOX 6669                                                                                                GUANICA            PR           00653
   646650 EMILIO MOJICA ROMAN                         BARRIO SAN DANIEL           SECTOR LAS CANELAS                                                                ARECIBO            PR           00612
   153230 EMILIO MONTANEZ DELERME                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   646651 EMILIO MORALES                              URB VALENCIA                530 CALLE ASTORGA                                                                 SAN JUAN           PR           00923
   153231 EMILIO MORALES MATIAS                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   646653 EMILIO MORALES RIVERA                       HC 37 BOX 4311                                                                                                GUANICA            PR           00653‐9702
   153232 EMILIO MORENO MELENDEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   646655 EMILIO MULERO ARRUZA                        2305 CALLE LAUREL APT 306                                                                                     SAN JUAN           PR           00913
   153233 EMILIO MULERO LLC                           PO BOX 614                                                                                                    CAGUAS             PR           00725
   153234 EMILIO MUNIZ RIVERA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   153235 EMILIO NIEVES ACEVEDO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   153236 EMILIO NIEVES GRAFALS                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   646656 EMILIO NIEVES TORRES                        130 JARD DE SALINAS                                                                                           SALINAS            PR           00751
   646657 EMILIO NUNEZ MELENDEZ                       RFD 3 BUZON 5140                                                                                              SAN JUAN           PR           00926
   153237 EMILIO OCASIO CLASS                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   646659 EMILIO OCASIO HERNANDEZ                     314 CALLE LA PAZ                                                                                              AGUADA             PR           00602
   153238 EMILIO OQUENDO MOLINA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   646660 EMILIO ORENGO RODRIGUEZ                     VILLAS DEL OESTE            721 CALLE TAURO                                                                   MAYAGUEZ           PR           00680
   153239 EMILIO ORTIZ CRUZ                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   153241 EMILIO ORTIZ JUSINO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   153242 EMILIO PACHECO MORALES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   153243 EMILIO PENA FONSECA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   646662 EMILIO PERALES MERCED                       EL MIRADOR EDIF 10          APT C2                                                                            SAN JUAN           PR           00915
   646663 EMILIO PEREZ ARNAU                          131 SANTANA                                                                                                   ARECIBO            PR           00612
   153244 EMILIO PEREZ MOLINA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   646664 EMILIO PEREZ ROSADO                         KENNEDY HILL                HC 61 BOX 5052                                                                    TRUJILLO ALTO      PR           00976
   646665 EMILIO PEREZ SABERAL                        4 CALLE PEREZ                                                                                                 CAMUY              PR           00627
   646666 EMILIO PEREZ SIERRA                         12 CALLE JOSE ACOSTA                                                                                          VEGA BAJA          PR           00693
   153246 EMILIO PORTALATIN IRIZARRY                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   646668 EMILIO R R0DRIGUEZ RAMIREZ                  URB VILLA FONTANA           HR 20 VIA 15                                                                      CAROLINA           PR           00983‐3921
   153247 EMILIO R TORRES ANTUNANO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   153248 EMILIO RAMOS ACEVEDO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   153249 EMILIO RAMOS FUENTES                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   646669 EMILIO RAMOS GUZMAN                         HC 43 BOX 12031                                                                                               CAYEY              PR           00736
   153250 EMILIO RAMOS ROBLES                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   153251 EMILIO REYES CARRASQUILLO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   646671 EMILIO REYES VELAZQUEZ                      URB LAS GARDENIAS           7 CALLE LIRIOS                                                                    MANATI             PR           00674‐5609
   153253 EMILIO RIVERA CRUZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   646672 EMILIO RIVERA HERNANDEZ                     HC 1 BOX 8766 C                                                                                               CANOVANAS          PR           00729
   153254 EMILIO RIVERA MERCADO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   646673 EMILIO RIVERA RAMOS                         URB COUNTRY CLUB            H W 32 CALLE 253                                                                  CAROLINA           PR           00982
   153255 EMILIO RIVERA RIVERA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   646677 EMILIO RIVERA SOTO                          HC‐01 BUZON 10109                                                                                             SAN JUAN           PR           00685
   646678 EMILIO RODRIGUEZ CINTRON                    21 BRUNSWICK ST                                                                                               NEWARK             NJ           07114
          EMILIO RODRIGUEZ
   646679 CONSTANTINO                                 EST DE COAMO                29 CALLE SILESCA                                                                  COAMO              PR           00769

   646680 EMILIO RODRIGUEZ FELICIANO                  PO BOX 240                                                                                                    SANTA ISABEL       PR           00757




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   153257 EMILIO RODRIGUEZ FERNANDEZ REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   646681 EMILIO RODRIGUEZ GONZALEZ                   PO BOX 623                                                                                                        ISABELA             PR           00662
   153258 EMILIO RODRIGUEZ ORTIZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646682 EMILIO RODRIGUEZ PE¥A                       RES VILLA ESPA¥A            EDIF 47 APT 495                                                                       SAN JUAN            PR           00921
   646683 EMILIO RODRIGUEZ RIVERO                     VILLA NEVAREZ               1058 CALLE 19                                                                         SAN JUAN            PR           00927
   153259 EMILIO ROJAS MENDEZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153261 EMILIO ROSA PEREZ                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646684 EMILIO ROSA RODRIGUEZ                       BO JERUSALEN                H 9 CALLE 7                                                                           FAJARDO             PR           00738
   153262 EMILIO ROSADO REYES                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153263 EMILIO ROSADO RODRIGUEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153264 EMILIO ROSADO VARGAS                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153265 EMILIO RUIZ ROSA                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646685 EMILIO SANCHEZ DEL VALLE                    HC 1 BOX 4104                                                                                                     LARES               PR           00669
   646686 EMILIO SANCHEZ RAMOS                        CAPARRA TERRACE             1252 CALLE CASTILLA                                                                   SAN JUAN            PR           00921
   646687 EMILIO SANTIAGO CRUZ                        59 CAMPO ALEGRE                                                                                                   UTUADO              PR           00641
   646688 EMILIO SANTIAGO LUCIANO                     BO OBRERO 976 C/CARIBE                                                                                            ARECIBO             PR           00612
   646689 EMILIO SANTIAGO RAMOS                       URB LOIZA VALLEY            185 ACALLE TULIPAN                                                                    CANOVANAS           PR           00729
   646690 EMILIO SANTIAGO SIERRA                      BOX 374                                                                                                           AGUAS BUENAS        PR           00703
   153267 EMILIO SANTOS RODRIGUEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153268 EMILIO SEGARRA BATISTA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646691 EMILIO SERRANO                              PO BOX 88                                                                                                         JUANA DIAZ          PR           00795
   153269 EMILIO SIERRA MONTILLA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646569 EMILIO SOTO LOPEZ                           HC 5 BOX 50014                                                                                                    AGUADILLA           PR           00603
   646693 EMILIO TORRES GARCIA                        BO OBRERO STATION           P O BOX 14427                                                                         SAN JUAN            PR           00916‐4427
   153270 EMILIO TORRES MUNIZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153271 EMILIO TORRES RODRIGUEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153272 EMILIO TORRES SANTANA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646694 EMILIO TROCOCHE ORTIZ                       COM AGUILITA                SOLAR 117                                                                             JUANA DIAZ          PR           00765
   646696 EMILIO VARGAS GONZALEZ                      78 CALLE CUESTA VIEJA                                                                                             AGUADILLA           PR           00603

   646697 EMILIO VARGAS MARTINEZ                      524 LAS CUMBRES D MIRADERO                                                                                        MAYAGUEZ            PR           00680
   646698 EMILIO VAZQUEZ PEREZ                        82 NORTE                   CALLE LAS VENEGAS                                                                      GUAYAMA                          00785

   153274 EMILIO VELAZQUEZ FIGUEROA                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646702 EMILIO VELAZQUEZ JIMENEZ                    URB IRLANDA HEIGHTS         FT6 CALLE COLUMBA                                                                     BAYAMON             PR           00956
   646703 EMILIO VELAZQUEZ VILELLA                    SANTA ROSA                  43 CALLE 17                                                                           BAYAMON             PR           00959
   646704 EMILIO VELEZ GALBAN                         URB CORCHADO                56 CALLE TRINITARIA                                                                   ISABELA             PR           00662
   153276 EMILIO VELEZ JIMENEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646705 EMILIO VELEZ NATAL                          P O BOX 2525 SUITE CMB 22                                                                                         UTUADO              PR           00641
   153277 EMILIO VELEZ ROSARIO                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EMILIO VELEZ ROSARIO DBA
   153278 LINEA VELEZ                                 HC ‐ 03 BOX 21225                                                                                                 ARECIBO             PR           00659‐0000
   646706 EMILIO VILLAVERDE & CO                      P O BOX 270204                                                                                                    SAN JUAN            PR           00927‐0195
          EMILIO VILLAVERDE INSURANCE
   646707 BROKER                                      URB ALTAMIRA DEVELOPMENT    576 CALLE ALDEBARAN                                                                   SAN JUAN            PR           00920
   153280 EMILIO'S POOL & SPACENTER                   MUNOZ RIVERA                25 AVE ESMERALDA                                                                      GUAYNABO            PR           00969
          EMILIS ARLENE QUINTANA
   153281 AVILES                                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646708 EMILISSA REYES BERMUDEZ                     PO BOX 1755                                                                                                       CAROLINA            PR           00984
                                                                                  CALLE CAMBALACHE Y MONTE
   646709 EMILIZA RIVERA ORTIZ                        BO PAJAROS                  BELLO                                                                                 TOA BAJA            PR           00951



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  153282 EMILLE J ROSARIO AGOSTO                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  153283 EMILLIE KUILAN MALDONADO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   153284 EMILLY D MELENDEZ CASTILLO                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   646711 EMILLY MARIE BACHILLER                      RESIDENCIAL RAMOS ANTONINI   EDIF 1 APTO 2                                                                           SAN JUAN            PR         00924
   646713 EMILSE FELICIANO OLIVERAS                   URB SANTA TERESITA           3221 CALLE EMILIO FAGOT                                                                 PONCE               PR         00730
   153285 EMILSE Y GARCIA ROSARIO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153286 EMILSIE MORAN RAMOS                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   646715 EMILSON CARABALLO BRACERO                   MONTENBLANC HOUSING          19 CALLE GL                                                                             YAUCO               PR         00698
   646716 EMILTON RODRIGUEZ VELEZ                     HC04 BOX 2758                                                                                                        BOQUERON            PR         00622
   153287 EMILY A CUPELY RODRIGUEZ                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646718 EMILY ALMANSA                               LA MILAGROSA                 B 6 CALLE 11                                                                            BAYAMON             PR         00959
   646719 EMILY ALVERIO MARZANT                       PALMAS DEL MAR               13 ROBLE VALLEY                                                                         HUMACAO             PR         00791
   153288 EMILY BRUGMAN MERCADO                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153289 EMILY C LOVOS SANCHEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646720 EMILY C PIETRI LOYOLA                       ANAIDA GARDENS               EDIF C APT 109                                                                          PONCE               PR         00731
          EMILY CABRERA / EQ ROOKIE DE
   646721 TIBURON                                     83 ROBERTO GONZALEZ                                                                                                  FLORIDA             PR         00650
   646722 EMILY CARRETERO SALAS                       CIUDAD CRISTIANA             144 EL SALVADOR                                                                         HUMACAO             PR         00791
                                                                                   SECTOR BUENA VISTA CARRION
   646724 EMILY CARRILLO MERCADO                      BO MATA DE PLATANO           CARR 990                                                                                LUQUILLO            PR         00773‐0825
   153290 EMILY CINTRON MELENDEZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646726 EMILY COLON GARCIA                          PO BOX 1283                                                                                                          SAN LORENZO         PR         00754
   153291 EMILY COLON LARACUENTE                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646728 EMILY COLON LOZADA                          HC 71 BOX 3150                                                                                                       NARANJITO           PR         00719‐9713
   153292 Emily Cristina Arroyo Amaro                 REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153293 EMILY CRUZ CRUZ                             REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646729 EMILY CRUZ MARRERO                          HC 1 BOX 10323                                                                                                       HATILLO             PR         00659‐9710
   153295 EMILY D PADILLA SEPULVEDA                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   153296 EMILY DEL M ORTIZ FIGUEROA                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153297 EMILY E IRIZARRY PAGAN                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153298 EMILY E OTERO CRESPO                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153299 EMILY E. IRIZARRY PAGAN                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153300 EMILY ECHEVARRIA PAGAN                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646730 EMILY GALARZA GALARZA                       PO BOX 77                                                                                                            AGUADA              PR         00602
   153301 EMILY GARCIA RIVERA                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646731 EMILY HERNANDEZ CARRION                     P O BOX 5204                 C.U.C STATION                                                                           CAYEY               PR         00737
   646732 EMILY HERNANDEZ RUIZ                        RES FRANSISCO EGISPCIACO     EDIF 15 APTO 78                                                                         AGUADA              PR         00602

   153302 EMILY I RODRIGUEZ RODRIGUEZ                 REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646733 EMILY KRASINSKI COLON                       PO BOX 23356                                                                                                         SAN JUAN            PR         00931‐3356
   153303 EMILY LATORRE GONZALEZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153304 EMILY LORAN VELAZQUEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153305 EMILY M GERENA SILVA                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153306 EMILY M PEREZ TORRES                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153307 EMILY M TIRADO CORCINO                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153308 EMILY M. MATOS SANCHEZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646734 EMILY MALDONADO                             PO BOX 736                                                                                                           GUANICA             PR         00653
          EMILY MARIE VENTURA
   153309 MORALES                                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  646736 EMILY MAYOR RODRIGUEZ                        URB DOS RIOS              43 CALLE 3                                                                              CIALES               PR         00638
  646737 EMILY MELENDEZ ADORNO                        ESTANCIAS DE TORTUGUERO   607 CALLE TURIN                                                                         VEGA BAJA            PR         00693
  153310 EMILY MELENDEZ VEGA                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  153311 EMILY MONTAðEZ LOPEZ                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   646739 EMILY MORENO RODRIGUEZ       SECTOR LA VIA                            511 CALLE CERRO VILLANUEVA                                                              AGUADILLA            PR         00659
   153314 EMILY MUNIZ PEREZ            REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          EMILY N BAEZ NOELIA MELENDEZ
   646740 COLON                        URB LEVITTOWN                            SB 16 CALLLE MINERBA                                                                    TOA BAJA             PR         00949

   153315 EMILY N GONZALEZ MARTINEZ                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   646741 EMILY NIEVES MEDINA                         HC 01 BOX 9418                                                                                                    SAN SEBASTIAN        PR         00685
   646742 EMILY NIEVES VELEZ                          HC 02 BOX 7901                                                                                                    CAMUY                PR         00627
   153317 EMILY OLIVO SERRANO                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   153319 EMILY ORTIZ FRANCO                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   153321 EMILY ORTIZ SANCHEZ                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   153322 EMILY PANTOJA LAZA                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   153324 EMILY PANTOJAS LAZA                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   646743 EMILY RAMOS OSORIO                          HC 1 BOX 9111                                                                                                     TOA BAJA             PR         00949
   646744 EMILY REYES                                 VILLA BLANCA              45 CALLE TURQUESA                                                                       CAGUAS               PR         00725
   646745 EMILY RIVERA MALAVE                         PO BOX 10000 SUITE 163                                                                                            CAYEY                PR         00737
   646746 EMILY RIVERA MOLINA                         HC 02 BOX 46875                                                                                                   VEGA BAJA            PR         00694
   646747 EMILY RODRIGUEZ CAPPAS                      612 CHESTNUT AVE                                                                                                  TRENTON              NJ         08611

   646748 EMILY RODRIGUEZ MALNODANO P O BOX 3104                                                                                                                        MANATI               PR         00674
   153327 EMILY RODRIGUEZ RAMOS     REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   153329 EMILY ROSA GODEN          REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   646749 EMILY RUIZ CORREA         HC 3 BOX 9407                                                                                                                       MOCA                 PR         00676
   646750 EMILY SAEZ                COND TROPICAL COURTS                        APT 2504                                                                                SAN JUAN             PR         00926
   153330 EMILY SANTA RODRIGUEZ     REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   153331 EMILY SANTANA MEDINA      REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   646751 EMILY SANTIAGO CRUZ       P O BOX 440                                                                                                                         LOIZA                PR         00772
   646752 EMILY SANTIAGO FERNANDEZ  HC 02 BOX 22258                                                                                                                     MAYAGUEZ             PR         00680
   153333 EMILY SOLIS               REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   646753 EMILY SOTO MALAVE         HC 1 BOX 33458                                                                                                                      AGUADILLA            PR         00603
   646754 EMILY TORRES RIVAS        23 E 109 ST APT 6 B                                                                                                                 NEW YORK             NY         10029
   646756 EMILY TORRES RODRIGUEZ    P O BOX 370181                                                                                                                      CAYEY                PR         00737‐0181
   646717 EMILY VAZQUEZ MELENDEZ    URB VALLES DE GUAYAMA                       CALLE 18 X 22                                                                           GUAYAMA              PR         00654
   153334 EMILY VAZQUEZ PEREZ       REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   153335 EMILY YARLEEN FELICIANO CRUZ REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   646757 EMILYN M SEGUINOT RIVERA     RR 1 BOX 14178                                                                                                                   OROCOVIS             PR         00720‐9521
   153336 EMILYURELIS VIRUET LOPEZ     REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   646758 EMINEE COLON MALAVE          BDA LAS VEGAS                            2 CALLE HACIENDITA                                                                      BARRANQUITAS         PR         00794
   153337 EMINEE SILVA CABRERA         REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   646759 EMINEL JIMENEZ LOPEZ         URB REXVILLE                             C2 #6 CALLE 17 A                                                                        BAYAMON              PR         00957

   153338 EMINETH RODRIGUEZ LUCIANO                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   153339 EMIR A FUENTES PANET                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   153341 EMIRE N RODRIGUEZ                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   153342 EMIRKA DELGADO                              REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   153343 EMIRY MALDONADO RIVERA                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   153344 EMISAEL BERRIOS COLON                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  153345 EMISORA NUEVA VICTORIA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  646763 EMITALIA PAGAN GONZALEZ                      331 JAGUA TUNA                                                                                                      GUAYANILLA        PR         00656

   646765 EMMA A MARTINEZ SALAMANCA URB RIO HONDO                                 L 10 CALLE CAGUITAS                                                                     BAYAMON           PR         00961

   646770 EMMA A NEGRON MELLA                         232 AVE ELEONOR ROOSEVELT                                                                                           SAN JUAN          PR         00907
   646772 EMMA AGOSTO RODRIGUEZ                       URB MONTECARLO              1323 CALLE 31                                                                           SAN JUAN          PR         00924
   646773 EMMA ALBELO ROBLES                          HC 01 BOX 4730                                                                                                      COROZAL           PR         00783
   646775 EMMA ALVARADO RIVERA                        URB VILLA DE CASTRO         GG 11 CALLE 24                                                                          CAGUAS            PR         00725
   153347 EMMA AROCHO PIRIS                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   646766 EMMA ARROYO ORTIZ                           HC 01 BOX 21336                                                                                                     CAGUAS            PR         00725
   646777 EMMA AURORA RUIZ CORTEZ                     URB TERRAZAS DE CUPEY       DE CUPEY J 27 CALLE 2                                                                   SAN JUAN          PR         00946
   646780 EMMA BLASINI RODRIGUEZ                      URB SAN AUGUSTO             F 7 CALLE A                                                                             GUAYANILLA        PR         00656
   153348 EMMA BURGOS COLLAZO                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   153349 EMMA C MERCADO FLORES                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   646781 EMMA CABRERA MERCADO                        P O BOX 142556                                                                                                      ARECIBO           PR         00614
   153350 EMMA CARABALLO VEGA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   646782 EMMA CARRASQUILLO                           RES SAN CARLOS              EDIF 2 APT 4                                                                            CAGUAS            PR         00725
   646783 EMMA CEREZO HERNANDEZ                       P O BOX 590                                                                                                         SANTA ISABEL      PR         00757
   153352 EMMA COLON TELLADO                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   646786 EMMA CORCHADO CURBELO                       SECTOR MEDIA CUERDA         CALLE PISOS DE ORO BOX 309                                                              ISABELA           PR         00662
   646788 EMMA CORTES OSTOLAZA                        PO BOX 282                                                                                                          CIALES            PR         00638
   153353 EMMA CUELLO CABRERA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   153354 EMMA CUEVAS TOLEDO                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   153355 EMMA D BELEN SANTIAGO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   646791 EMMA D MARTIR AVILA                         BOX 511                                                                                                             LAS MARIAS        PR         00670
   646792 EMMA DE JESUS SAN MIGUEL                    PO BOX 715                                                                                                          MOROVIS           PR         00687
   153356 EMMA DE LA CRUZ GOMEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   646793 EMMA E ALAMO MORALES                        PO BOX 11064                                                                                                        SAN JUAN          PR         00910
   153357 EMMA E BERRIOS MORALES                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   646794 EMMA E CINTRON GONZALEZ                     HC 01 BOX 26859                                                                                                     CAGUAS            PR         00725
   646795 EMMA E LIZARDI PUJALS                       PARADISE HILLS              1652 CALLE PESQUERA                                                                     SAN JUAN          PR         00926
   646796 EMMA E ROSA ROSA                            P O BOX 585                                                                                                         MERCEDITA         PR         00715‐2006
   646797 EMMA E SANTIAGO ORTIZ                       EB 38 URB SAN PEDRO                                                                                                 MAUNABO           PR         00707
   153359 EMMA E TORRES MORALES                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   153361 EMMA EDITH NIEVES MONTANEZ REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   646798 EMMA ENRIQUEZ ORTIZ        URB VENUS GARDENS                            1732 CALLE LIBRA                                                                        SAN JUAN          PR         00926
   646799 EMMA FALCON VAZQUEZ        PO BOX 11855                                                                                                                         SAN JUAN          PR         00910‐4225
                                     VETERANS ADM MEDICAL
   646800 EMMA FUMERO MALDONADO CENTER                                            P O BOX 33003                                                                           SAN JUAN          PR         00933
          EMMA G MONTALVO
   646801 CARABALLO                  HC 1 BOX 3127                                                                                                                        ADJUNTAS          PR         00601
          EMMA G. MONTALVO
   153365 CARABALLO                  REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   646802 EMMA GINES FREYTES         PO BOX 21635                                                                                                                         SAN JUAN          PR         00928
   153367 EMMA H. COLON MUNIZ        REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   153368 EMMA I ABREU PEREZ         REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   646806 EMMA I BERRIOS LOPEZ       PO BOX 353                                                                                                                           AGUAS BUENAS      PR         00703353
   646807 EMMA I CHARDON             P O BOX 9075                                                                                                                         PONCE             PR         00732‐9075
   646808 EMMA I COLOM RIOS          PO BOX 1348                                                                                                                          VEGA BAJA         PR         00694‐1348
          EMMA I COLON Y NELIDA R
   153370 COLON                      REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  646810 EMMA I CRUZ PIZARRO                          P O BOX 3695                                                                                                       CAROLINA            PR           00984
         EMMA I DELGADO
  646811 CARRASQUILLO                                 COND CHALET DEL PARQUE 12   AVE ABOLETE BOX 129                                                                    GUAYNABO            PR           00969
  153371 EMMA I FIGUERAS RASABE                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                                                  1524 CALLE CLAVEL URB ROUND
   646813 EMMA I LOPEZ                                ROUND HILL                  HLS                                                                                    TRUJILLO ALTO       PR           00976
   646814 EMMA I LOPEZ ORTIZ                          ROUND HILLS                 1524 CALLE CLAVEL                                                                      TRUJILLO ALTO       PR           00976
   646804 EMMA I RIVERA ALBINO                        JARD DE LAFAYETTE           E 9 CALLE H                                                                            ARROYO              PR           00714
   646818 EMMA I RUIZ CORTES                          URB CIUDAD UNVERSITARIA     Y21 CALLE 27                                                                           TRUJILLO ALTO       PR           00976‐2115
   646819 EMMA I RUIZ TAPIA                           11041 TOM WEISKOPF                                                                                                 EL PASO             TX           79936
   646820 EMMA I SANCHEZ GONZALEZ                     327 CHESTNUT ST CAMDEM                                                                                             NEW JERSEY          NJ           0811031919
   153373 EMMA I. MOLINA MOLINA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   153374 EMMA I. SANTOS RAMOS                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   153375 EMMA IDALIA BERRIOS LOPEZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   153376 EMMA J LLINAS CARTAGENA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          EMMA J OTERO SANTO
   646821 DOMINGO                                     ROYAL TOWN                  K 1 CALLE 13                                                                           BAYAMON             PR           00956
   153377 EMMA J QUIðONES VAZQUEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   153381 EMMA J SANCHEZ PATINO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                      URB LAS COLINAS
   646823 EMMA J VALLES RAMOS                         METROPOLITANAS              E13 CALLE LOS PICACHOS                                                                 GUAYNABO            PR           00969
   153382 EMMA J. CUEVAS MATOS                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   153383 EMMA J. LOPEZ RODRIGUEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   153384 EMMA J. MARRERO PAGAN                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   646825 EMMA L COLON CABRERA                        BZN 2232 RIO ABAJO                                                                                                 CIDRA               PR           00739
   646826 EMMA L LOPEZ RIVERA                         HC 2 BOX 11149                                                                                                     HUMACAO             PR           00791
   153385 EMMA L MUNOZ SANTIAGO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   646767 EMMA L RAMOS MARQUEZ                        URB LAS DELICIAS            2918 CALLE FRANCISCO G MARIN                                                           PONCE               PR           00728‐3505
   153386 EMMA L RIVERA FIGUEROA                      REDACTED                    REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   153387 EMMA L RODRIGUEZ MARTINEZ REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   153388 EMMA L SANCHEZ MONTANEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   153389 EMMA L SANTELL SANCHEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   153390 EMMA LA TORRE OTERO                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   153391 EMMA LANDRON PEREZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   646768 EMMA LEON DE PARDO                          PO BOX 190408                                                                                                      SAN JUAN            PR           00919‐0408

   646830 EMMA LOU CARRERAS                           COND SAN VICENTE            8169 CALLE CONCORDIA STE 211                                                           PONCE               PR           00717‐1564
   153392 EMMA LUIGGI                                 REDACTED                    REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   153393 EMMA LUZ CRUZ ROSARIO                       REDACTED                    REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   646832 EMMA LYDIA RIVERA PEREZ                     BO VILLA BORINQUEN BOX 1324                                                                                        VIEQUES             PR           00765
   646833 EMMA M BLANCO RIVERA                        URB VALENCIA                356 CALLE LERIDA                                                                       SAN JUAN            PR           00923

   646834 EMMA M CALZADA HERNANDEZ COND EL BILBAO                                 APT 101                                                                                SAN JUAN            PR           00917

   646835 EMMA M MARTINEZ MORALES                     PO BOX 522                                                                                                         SALINAS             PR           00751
   153394 EMMA M MUNOZ BUITRAGO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   153395 EMMA M QUERO TORRES                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   153396 EMMA M RAMIREZ LA TORRE                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED




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          EMMA M REIGOSA Y EMMA
   153397 CUELLO                                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646836 EMMA M ROBLES DE JESUS                      HC 1 BOX 2606                                                                                                       ARECIBO             PR         00612
   646837 EMMA M RUIZ LLANEZA                         P O BOX 1164                                                                                                        SABANA HOYOS        PR         00688

   646838 EMMA MARIE LOZADA RAMIREZ                   66 CALLE MAYAGUEZ                                                                                                   SAN JUAN            PR         00917‐5116
   153398 EMMA MARIN DE LEON                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   153399 EMMA MARRERO PAGAN                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   153400 EMMA MARTINEZ COLON                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   153401 EMMA MARTINEZ HERNANDEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   153402 EMMA MD , JOSEPH D                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   153403 EMMA MELENDEZ LABOY                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   153404 EMMA MING MING NG NG                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   153405 EMMA MORALES BARRIOS                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   153406 EMMA MORALES COLON                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   153407 EMMA MORALES ROMAN                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          EMMA MUNIZ GONZALEZ / ESC
   153408 SUP M CADILLA                               REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   153409 EMMA N COLON CAMACHO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   153410 EMMA N DIAZ ROLDAN                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646842 EMMA NIEVES DEIDA                           BDA SAN LUIS                 10 CALLE JENAZARETH                                                                    AIBONITO            PR         00705
   646844 EMMA ORTIZ CAEZ                             URB SANTA ELVIRA             J12 C SANTA ISABEL                                                                     CAGUAS              PR         00725
   646845 EMMA ORTIZ DE SOLERO                        VILLA FONTANA                4PN 8 VIA JOSEFINA                                                                     CAROLINA            PR         000983
   646846 EMMA ORTIZ RODRIGUEZ                        BO. BORINQUEN PRADERA        CARR. 763 KD 7                                                                         CAGUAS              PR         00725
   646848 EMMA ORTIZ SAAVEDRA                         P O BOX 112‐73                                                                                                      SAN JUAN            PR         00910
   153412 EMMA OTERO SANCHEZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   153413 EMMA OYOLA COLON                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   153414 EMMA P. ALTIERY ORTIZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646849 EMMA PABON DE JESUS                         PO BOX 328                                                                                                          CABO ROJO           PR         00623
   153415 EMMA PANTOJAS BENITEZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   153418 EMMA R ARZOLA CARABALLO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   646851 EMMA R BERBECIA RODRIGUEZ                   P O BOX 51754                                                                                                       TOA BAJA            PR         00950
   153419 EMMA R COLON PENA                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   153420 EMMA R DIAZ HERNANDEZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   646852 EMMA R HERNANDEZ FIGUEROA URB VILLA NUEVA                                T 12 CALLE 21                                                                          CAGUAS              PR         00727
   153421 EMMA R JIMENEZ ARROYO     REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646854 EMMA R PAGAN RIVERA       URB SANTA MARIA                                C 37 CALLE 23                                                                          GUAYANILLA          PR         00656

   153422 EMMA R RODRIGUEZ NEGRON                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   153423 EMMA R SANTOS QUILES                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   646855 EMMA RAMIREZ COLLAZO                        PO BOX 562                                                                                                          CABO ROJO           PR         00623
   646856 EMMA RAMIREZ RODRIGUEZ                      CAPARRA HILLS VILLAGE        B1 CALLE NOGAL APT H 12                                                                GUAYNABO            PR         00968

   646857 EMMA RAMOS PEREZ                            C 17 MIRADOR UNIVERSITARIO                                                                                          CAYEY               PR         00736
   646858 EMMA REYES AYALA                            P O BOX 6467                                                                                                        BAYAMON             PR         00960
   646859 EMMA RIVERA                                 PO BOX 21365                                                                                                        SAN JUAN            PR         00928‐1365
   646861 EMMA RIVERA ALVARADO                        BO SAN FELIPE                PAD 9 BOX 2004                                                                         AGUIRRE             PR         00704
   646862 EMMA RIVERA COLON                           ZENO GANDIA                  970 AVE FRANCISCO JIMENEZ                                                              ARECIBO             PR         00612
   646863 EMMA RIVERA RIVERA                          URB JOSE PH HERNANDEZ                                                                                               RIO GRANDE          PR         00745
   153424 EMMA ROCHET SANTORO                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  153426 EMMA RODAS MULERO                            REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  646866 EMMA ROSA MALDONADO                          URB VILLA COOPERATIVA       B12 CALLE 3                                                                      CAROLINA           PR         00985
  153427 EMMA S BEAUTY ACADEMY                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  153428 EMMA S CONDIE                                REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  646868 EMMA S MENDOZA RAMOS                         URB CIUDAD UNIVERSITARIA    B 11 CALLE A ESTE                                                                TRUJILLO ALTO      PR         00976

   646769 EMMA S PORTELA RODRIGUEZ                    PO BOX 195099                                                                                                SAN JUAN           PR         00919‐5099
   153429 EMMA SAMBOLIN QUINONES                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   646869 EMMA SANCHEZ QUESADA                        TORRES DE SABANA            EDIF F APT 307                                                                   CAROLINA           PR         00983
   153430 EMMA SANTIAGO SANTIAGO                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   646870 EMMA SANTOS ROSA                            528 CALLE VILLA                                                                                              PONCE              PR         00731
          EMMA SEPULVEDA &
   153432 MARKETING MIX INC                           COND WILSON PLAZA 1357      SUITE 602                                                                        SAN JUAN           PR         00907
   646872 EMMA SEVILLA RIVERA                         URB SANTA TERESITA          G 7 CALLE 12                                                                     BAYAMON            PR         00961
   646873 EMMA SILVA GONZALEZ                         PO BOX 712                                                                                                   AGUADA             PR         00602
   646875 EMMA SOSA                                   P O BOX 21365                                                                                                SAN JUAN           PR         00926
   153433 EMMA SUAREZ BERNIER                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   646876 EMMA TORRES MORALES                         URB VILLA CAROLINA          49 3 CALLE 42                                                                    CAROLINA           PR         00985
   646877 EMMA TORRES RIVERA                          HP ‐ SALA 2 ALTOS                                                                                            RIO PIEDRAS        PR         009360000
   646879 EMMA TORRES VELEZ                           PO BOX 3167                                                                                                  ARECIBO            PR         00613
   153434 EMMA V BERRIOS MARTINEZ                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   646880 EMMA V. CINTRON                             PO BOX 2547                                                                                                  SAN GERMAN         PR         00683
   646881 EMMA VALE RIVERA                            5605 FOURTH AVE APT 1 A                                                                                      BROKLIN            NY         11220
   646882 EMMA VAZQUEZ ABREU                          HC 03 BOX 11418                                                                                              YABUCOA            PR         00767
   646883 EMMA VAZQUEZ MARTINEZ                       P O BOX 327                                                                                                  OROCOVIS           PR         00720
   646884 EMMA VELEZ MORALES                          COND LOS OLMOS              APT 15E                                                                          SAN JUAN           PR         00924
   153435 EMMA, MELENDEZ                              REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   646885 EMMAIDALYS PEREZ TORRES                     PO BOX 274                                                                                                   VILLALBA           PR         00766
   153436 EMMALIND GARCIA GARCIA                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      COND TORRE DE ANDALUCIA I
   646887 EMMALY ALERS SANTANA                        APT 704                                                                                                      SAN JUAN           PR         00926

   153437 EMMANUEL A COLON FIGUEROA REDACTED                                      REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          EMMANUEL A HERNANDEZ
   153438 OCASIO                    REDACTED                                      REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          EMMANUEL A MORENO Y
   153439 LAURIE S RIVERA           REDACTED                                      REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          EMMANUEL ACEVEDO
   153440 GONZALEZ                  REDACTED                                      REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   646890 EMMANUEL AGUEDA SOTO      TERRA NOVA                                    183 CALLE 3                                                                      QUEBRADILLAS       PR         00678

   646891 EMMANUEL ALVARADO RIVERA                    URB STA ROSA                F 12 CALLE LORAINE                                                               CAGUAS             PR         00725
          EMMANUEL ANGELATOS
   153441 PIGNORI                                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          EMMANUEL ARROYO / MARY
   153443 LUZ ESPINELL                                REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   153444 EMMANUEL ARROYO GIRONA                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   153445 EMMANUEL ASIA RODRIGUEZ                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   646892 EMMANUEL AVILES SAEZ                        PO BOX 10                                                                                                    MANATI             PR         00674
   153446 EMMANUEL AYALA ROSADO                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   153447 EMMANUEL AYENDEZ                            REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   646893 EMMANUEL BERRIOS                            768 B URB VISTA VERDE                                                                                        AGUADILLA          PR         00603




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   646894 EMMANUEL BERRIOS DELGADO                    PO BOX 9021112                                                                                              SAN JUAN            PR           00902
   153448 EMMANUEL BOBE ROSARIO                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646896 EMMANUEL BURGOS VEGA                        PO BOX 984                                                                                                  YABUCOA             PR           00767
   153449 EMMANUEL CABRERA                            REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   153450 EMMANUEL CABRERA ROSARIO                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153451 EMMANUEL CALZADA PEREZ                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EMMANUEL CARDONA
   646898 CARDONA                                     HC 01 BOX 9444                                                                                              SAN SEBASTIAN       PR           00685

   153452 EMMANUEL CEDENO MADERA REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EMMANUEL CENTRO EDUCATIVO
   646899 INC                       90 CALLE PALMER                                                                                                               CANOVANAS           PR           00729
   153453 EMMANUEL CHEVERE RIVERA   REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   153455 EMMANUEL CINTRON GONZALEZ REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   153456 EMMANUEL CLAUDIO MORALES REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646900 EMMANUEL COLLAZO BACO    URB VILLA GERENA                           333 CALLE ARCANGEL                                                                  MAYAGUEZ            PR           00680

   646901 EMMANUEL COLLAZO MONTES                     PMB 154 BOX 10018                                                                                           GUAYAMA             PR           00785‐4018
   153457 EMMANUEL COLON PAGAN                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646902 EMMANUEL COLON SANCHEZ                      JARDINES DE SANTA ANA   G3                                                                                  COAMO               PR           00769
          EMMANUEL CORDOVA
   646903 MIRANDA                                     HC 2 BOX 7108                                                                                               RINCON              PR           00677

   646904 EMMANUEL CORREA VAZQUEZ                     URB EXT SAN ANTONIO     1938 AVE LAS AMERICAS                                                               PONCE               PR           00731
   646905 EMMANUEL CORTEZ GARCIA                      1814 VILLA MAGNA        CALLE 6 SO                                                                          SAN JUAN            PR           00901
   153459 EMMANUEL CRUZ ORTIZ                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646906 EMMANUEL CRUZ RAMOS                         BOX 216                                                                                                     TRUJILLO ALTO       PR           00976
   153460 EMMANUEL CRUZ ROMERO                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153461 EMMANUEL CUBERO JIMENEZ                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153462 EMMANUEL DELGADO PEREZ                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153463 EMMANUEL DIAZ DIAZ                          REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153464 EMMANUEL DIAZ MACHIN                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153465 EMMANUEL DIAZ RIVERA                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646907 EMMANUEL DIAZ ROBLES                        URB RIVIERA DE CUPEY    66 CALLE HORTENSIA                                                                  SAN JUAN            PR           00926

   153466 EMMANUEL E SANTIAGO ORTIZ                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153467 EMMANUEL EDMOND                             REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646908 EMMANUEL ESPINOSA CRUZ                      P O BOX 422                                                                                                 CIALES              PR           00638
   646909 EMMANUEL FELICIANO                          URB TURNKEY             26 CALLE 3                                                                          YAUCO               PR           00698

   646910 EMMANUEL FELICIANO TORRES                   HC 01 BOX 3408                                                                                              VILLALBA            PR           00766
          EMMANUEL FERNANDEZ
   153469 CORDOVA                                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EMMANUEL FIGUEROA / DBA/
   153471 JARDIN LA JALDA                             BO CAONILLAS            CARR 726 KM 2.2                                                                     AIBONITO            PR           00705

   153472 EMMANUEL FIGUEROA ROBLES                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   646911 EMMANUEL FLORES MIRANDA                     BO HAYALES              HC 02 BOX 4629                                                                      COAMO               PR           00769



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  153473 EMMANUEL FLORES VELEZ                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         EMMANUEL FONTANILLA
  153474 ESPINAL                                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   646912 EMMANUEL FREYRE FIGUEROA                    URB LOMA ALTA             C 16 CALLE 3                                                                      CAROLINA            PR         00987

   153475 EMMANUEL G PINERO CASTRO                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   153476 EMMANUEL GILBES MARTINEZ                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153477 EMMANUEL GOMEZ DEL RIO                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   153478 EMMANUEL GONZALEZ FLORES                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EMMANUEL GONZALEZ
   153479 MARRERO                                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EMMANUEL GONZALEZ
   646888 MARRERO                                     VILLA PALMERAS            325 CALLE TAPIA                                                                   SAN JUAN            PR         00912
   153480 EMMANUEL GONZALEZ PENA                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EMMANUEL H GONZALEZ
   646914 MORALES                                     HC 01 BOX 6260                                                                                              TOA BAJA            PR         00949

   153481 EMMANUEL HERNANDEZ DAVILA REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   153482 EMMANUEL HERNANDEZ PEREZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   153483 EMMANUEL HERNANDEZ SALAS                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EMMANUEL HERNANDEZ
   153484 URRUTIA                                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153486 EMMANUEL IRIZARRY SOTO                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EMMANUEL IZQUIERDO
   153487 CARRERO                                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153488 EMMANUEL J CRUZ TORRES                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   153490 EMMANUEL J MORALES ANDINO REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153491 EMMANUEL J SOTO VELEZ     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   153492 EMMANUEL J TARTAK PUJADAS                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EMMANUEL J VIERA
   646916 MALDONADO                                   URB PARCELAS FALU         295 CALLE 34 INT                                                                  SAN JUAN            PR         00924

   153493 EMMANUEL J.FREYRE FIGUEROA REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   153494 EMMANUEL JIMENEZ SANCHEZ                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   153495 EMMANUEL LEBRON DE JESUS                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153497 EMMANUEL LLAVONA VEGA                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646917 EMMANUEL LOPEZ                              P O BOX 1055                                                                                                BARRANQUITAS        PR         00794
   646918 EMMANUEL LOPEZ COLON                        BOX 670                                                                                                     CAGUAS              PR         00726
          EMMANUEL LOPEZ
   646920 FEBUX/ELIZABETH FEBUS                       RES LUIS LLORENS TORRES   EDIF 81 APT 1543                                                                  SAN JUAN            PR         00913

   153498 EMMANUEL LOPEZ GONZALEZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153499 EMMANUEL LOPEZ MARTINEZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   646921 EMMANUEL LOPEZ ROSARIO                      PO BOX 3597                                                                                                 AGUADILLA           PR         00605‐3597



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  646922 EMMANUEL LOPEZ RUIZ                          HC 01 BOX 10072                                                                                               SAN SEBASTIAN     PR         00685
  153502 EMMANUEL MARTIN ACOSTA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  646923 EMMANUEL MARTINEZ BAEZ                       F 3 PUEBLO NUEVO                                                                                              YAUCO             PR         00698
         EMMANUEL MARTINEZ
  153503 MARTINEZ                                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   153504 EMMANUEL MARTINEZ VAZQUEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   153505 EMMANUEL MATEO SANTIAGO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   646889 EMMANUEL MAYSONET MATIAS PO BOX 1134                                                                                                                      SABANA SECA       PR         00952
   153506 EMMANUEL MEDINA FLORES   REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   646924 EMMANUEL MEDINA ROSARIO                     VALLE ARRIBA HEIGHT         4 AN CALLE GUAMA                                                                  CAROLINA          PR         00983

   153507 EMMANUEL MEDINA VAZQUEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   153508 EMMANUEL MELENDEZ DIAZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   153510 EMMANUEL MENDEZ LOPEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   646925 EMMANUEL MENDEZ RIVERA                      PO BOX 73555 PUEBLO STA                                                                                       CAROLINA          PR         00986

   153511 EMMANUEL MENENDEZ RIVERA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          EMMANUEL MONTALVO
   153513 QUINONES                                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          EMMANUEL MONTALVO
   153514 QUINONEZ                                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   646926 EMMANUEL MONTILLA PEREZ                     HC 02 BOX 5023                                                                                                PENUELAS          PR         00624
   153515 EMMANUEL MORALES CRUZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   153516 EMMANUEL MORALES DE JESUS REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   646927 EMMANUEL MORALES MONTES URB STA CLARA                                   U 4 CALLE MALAYA                                                                  GUAYNABO          PR         00967
          EMMANUEL MORALES
   153517 SANTIAGO                REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   646928 EMMANUEL MORALES TOSADO                     PIEDRA GORDA SECT PALAZUELA CARR 119 INT 1B                                                                   CAMUY             PR         00627
   153518 EMMANUEL MUNIZ SOTO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   153520 EMMANUEL NIEVES FIGUEROA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   153522 EMMANUEL O LOPEZ SANTIAGO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   646929 EMMANUEL OJEDA VARGAS                       P O BOX 1501                                                                                                  JAYUYA            PR         00664
   153523 EMMANUEL OJEDA VEGA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   153524 EMMANUEL OQUENDO                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   646930 EMMANUEL ORTIZ CRUZ                         URB JARDINES DEL MAMEY      G 9 CALLE 2                                                                       PATILLAS          PR         00723
   153525 EMMANUEL ORTIZ DIAZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   153526 EMMANUEL ORTIZ LABOY                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   153527 EMMANUEL ORTIZ PIZARRO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   646931 EMMANUEL ORTIZ ROSARIO                      PO BOX 240                                                                                                    SANTA ISABEL      PR         00757
   153528 EMMANUEL ORTIZ TORRES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   153529 EMMANUEL OTERO CLASS                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          EMMANUEL OTERO
   153531 MORALES/NOEL OTERO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   153532 EMMANUEL PADILLA                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED



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  153533 EMMANUEL PADILLA ALICEA                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  153534 EMMANUEL PADIN TORRES                        REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  153535 Emmanuel Pagan Vazquez                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         EMMANUEL PEDROSA
  153536 QUINONES                                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  153540 EMMANUEL PIZARRO LEBRON                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  153541 EMMANUEL QUILES RIVERA                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  646933 EMMANUEL RAMIREZ PEREZ                       URB BORINQUEN          I 26 CALLE RENE MARQUEZ                                                              CABO ROJO           PR         00623
  153542 EMMANUEL RAMOS MERCED                        REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  646934 EMMANUEL RAMOS NIEVES                        ABRA SAN FRANCISCO     BOX 7053                                                                             ARECIBO             PR         00612
  153543 EMMANUEL RAMOS SANCHEZ                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  646936 EMMANUEL RAMOS VELEZ                         SAN GERARDO            1662 ALASKA                                                                          SAN JUAN            PR         00926
  646937 EMMANUEL REYES RIVERA                        HC 3 BOX 9463                                                                                               YABUCOA             PR         00767
  153544 EMMANUEL RIOS LOPEZ                          REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  153545 EMMANUEL RIOS MELENDEZ                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   153546 EMMANUEL RIVERA ALEJANDRO REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   646938 EMMANUEL RIVERA MAISONET                    PO BOX 739                                                                                                  MANATI              PR         00674
          EMMANUEL RIVERA
   646939 MALDONADO                                   HC 71 BOX 3556                                                                                              NARANJITO           PR         00719
   153547 EMMANUEL RIVERA ORTEGA                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153548 EMMANUEL RIVERA OTERO                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153549 EMMANUEL RIVERA RIOS                        REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   153550 EMMANUEL RIVERA RODRIGUEZ                   REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153552 EMMANUEL RIVERA VELEZ                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153553 EMMANUEL RODRIGUEZ                          REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153554 Emmanuel Rodriguez Alvarez                  REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   153555 EMMANUEL RODRIGUEZ BAUZO REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EMMANUEL RODRIGUEZ
   646942 HERNANDEZ                HC 63 BOX 4376                                                                                                                 PATILLAS            PR         00723

   646943 EMMANUEL RODRIGUEZ PADILLA PO BOX 414                                                                                                                   TOA ALTA            PR         00954
          EMMANUEL RODRIGUEZ
   153556 SANTIAGO                   REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EMMANUEL RODRIGUEZ
   153557 VAZQUEZ                    REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153559 EMMANUEL ROMERO COLON      REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153560 EMMANUEL ROSA BAEZ         REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153561 EMMANUEL RUIZ              REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153562 EMMANUEL SAEZ ROMAN        REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   153563 EMMANUEL SANCHEZ VALENTIN REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   153564 EMMANUEL SANTIAGO APONTE                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153565 EMMANUEL SANTIAGO SILVA                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EMMANUEL SERRANO
   646946 FERNANDEZ                                   BOX 3C C/ HOYO FRIO                                                                                         JAYUYA              PR         00664
   646947 EMMANUEL SOTO CRESPO                        PMB 363 P O BOX 3500                                                                                        CAMUY               PR         00627‐3500

   153566 EMMANUEL TOLEDO SEPULVEDA REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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                                                      2906 REPARTO GONZALEZ SAN
   646948 EMMANUEL TORRES                             ANTONIO                                                                                                          AGUADILLA           PR           00690
   646949 EMMANUEL TORRES DAVILA                      RES AMAPOLA                 EDIF 2 APT 17                                                                        SAN JUAN            PR           00926
   153567 EMMANUEL TORRES NEGRON                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EMMANUEL TOURS / HERIBERTO
   153569 MEDINA                     REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153570 EMMANUEL TRANSPORTE        REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153571 EMMANUEL TRINIDAD VELEZ    REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153572 EMMANUEL VALLE ORTIZ       REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646950 EMMANUEL VARGAS OCASIO     SAN GABRIEL                                  124 APT 403 AVE CONDADO                                                              SAN JUAN            PR           00907
          EMMANUEL VAZQUEZ
   153573 RODRIGUEZ                  REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153574 EMMANUEL VEGA DRUZ         REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646952 EMMANUEL VEGA TOSADO       PO BOX 5                                     OFIC SUPTE TOA BAJA 1                                                                TOA BAJA            PR           00949

   153575 EMMANUEL VELEZ CARABALLO                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153576 EMMANUEL VELEZ COLLAZO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153577 EMMANUEL VELEZ PEREZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153578 EMMANUEL VICENTE SANTOS                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153580 EMMANUEL ZAMOT REYES                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153581 EMMANUEL ZAYAS GONZALEZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153584 EMMANUELL MERLY RIVERA                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EMMANUELLE A R HIDALGO
   646953 RIVERA                                      106 DR GONZALEZ                                                                                                  AGUADA              PR           00602
          EMMANUELLE MALDONADO
   153585 SANTANA                                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646954 EMMANUELLI FINE OFFICE                      15 AVE SIMON MADERA         VILLA PRADES                                                                         RIO PIEDRAS         PR           00924
          EMMANUELLI RIVERA LORNA
   153620 ANGELIQUE                                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   153631 EMMANUELLI SOTO, VICTOR E                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153638 EMMANUELLI, INC                             15 SIMON MADERA AVE                                                                                              RIO PIEDRAS         PR           00924
          EMMARIE GONZALEZ
   153640 CARABALLO                                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646957 EMMARIE TORRES NORIEGA                      VILLAS DE CANEY             B 25 A CALLE TURABO                                                                  TRUJILLO ALTO       PR           00976

   153642 EMMARIE VALENZUELA COLON                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   646959 EMMARY ARROYO RODRIGUEZ                     PO BOX 359                                                                                                       SAN LORENZO         PR           00754

   646960 EMMAS FOOD & MEAT MARKET HC 1 BOX 4880                                                                                                                       AGUADILLA           PR           00603
          EMMAS FOOD & MEAT MARKET
   646961 Y/O RAMON RIOS           BO CAMASEYES CARR 467                          HC 01 BOX 4880                                                                       AGUADILLA           PR           00630

   153644 EMMERYS R DEYNES MORALES                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   646962 EMMETTE GASTON RAMOS                        A 50 URB MARBELLA                                                                                                AGUADILLA           PR           00603
   646963 EMMI RIVERA SANCHEZ                         PO BOX 1721                                                                                                      JUNCOS              PR           00777
   646964 EMMIL RAMOS LOPEZ                           4 SECTOR ZAMOT                                                                                                   ISABELA             PR           00662

   646965 EMMILIANE X LOPEZ SANTIAGO                  PO BOX 9021112                                                                                                   SAN JUAN            PR           00902‐1112
   646967 EMMILLE CANDAL ORTIZ                        5H 12 VALLE DEL REY                                                                                              PONCE               PR           00731

   153645 EMMMA R PADILLA RODRIGUEZ REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   153646 EMMNUEL GUADALUPE RIVERA                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   153647 EMMS TECHNICAL SERVICES INC PO BOX 3001 STE 235                                                                                                               RIO GRANDE          PR           00745
                                      COND LOS PINOS OESTE APTO 8
   646968 EMMY GARCIA SANTIAGO        E                                                                                                                                 CAROLINA            PR           00979

   153648 EMNA MARTINEZ HERNANDEZ                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153649 EMNEDIES DAVILA                             REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EMO PROMOTIONAL PRINTING
   646970 CORP                                        PO BOX 8834                                                                                                       PONCE               PR           00732‐8834
   153650 EMORY MILETE ROBLES                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EMORY UNIVERSITY HOSPITAL
   153651 MIDTOWN                                     PO BOX 19072                                                                                                      GREEN BAY           WI           54307‐9072
   153653 EMP DEL RIO REY INC                         PO BOX 2131                                                                                                       VEGA BAJA           PR           00694

   153597 EMP MARTINEZ VALENTIN CORP. PO BOX 1002                                                                                                                       SABANA GRANDE       PR           00637
          EMP. MOLINA + ROBLES DBA THE
   153654 OFFICE EMR                   PO BOX 3893                                                                                                                      BAYAMON             PR           00958‐0893
          EMPACADORA AVICOLA DEL
   646971 OESTE                        PO BOX 3010                                                                                                                      MAYAGUEZ            PR           00681

   646972 EMPACADORA HILL BROTHERS                    P O BOX 31303                                                                                                     SAN JUAN            PR           00929‐0303
   646973 EMPACADORA LA MONTANA                       HC 1 BOX 6396                                                                                                     COROZAL             PR           00783
   646975 EMPACADORA SANTA RITA                       PO BOX 609                                                                                                        LAJAS               PR           00667
   646976 EMPACADORA TAINOS INC                       PO BOX 362653                                                                                                     SAN JUAN            PR           00936
          EMPACADORA Y PROCESADORA
   153655 DEL SUR INC                                 BO IDELFONZO             CARR 14 CALLE PIEL CANELA                                                                COAMO               PR           00769
          EMPACADORA Y SUPERETTE
   646977 RAUL                                        499 PARCELAS TOA VACA                                                                                             VILLALBA            PR           00766
   153656 EMPARERADOS BORICUA                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EMPHASYS COMPUTER
   646978 SOLUTIONS                                   2325 SUMMIT PARK DRIVE                                                                                            PETOSKEY            MI           49770
   153658 EMPIRE COMPANY INC                          PO BOX 7066                                                                                                       PONCE               PR           00732‐7066
                                                                               AVE ISLA VERDE CASTILLO DEL
   646979 EMPIRE ENTERTAIMENT                         PMB 1455                 MAR                                                                                      CAROLINA            PR           00979
   646980 EMPIRE GAS CO INC                           PO BOX 363651                                                                                                     SAN JUAN            PR           00936
          EMPIRE GAS CO. INC.‐ NUM
  1256449 INCORRECTO VEA                              REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   153669 EMPIRE GAS COMPANY INC.                     PO BOX 363651                                                                                                     SAN JUAN            PR           00936‐3651
                                                                               100 GRAN BOULEVAR STE 112
   646981 EMPIRE LEARNING SYSTEMS INC PASEOS                                   264                                                                                      SAN JUAN            PR           00926
   646982 EMPIRE PLAZA INC              PO BOX 360983                                                                                                                   SAN JUAN            PR           00936‐0983
          Empleados Civiles Organizados
   153670 (ECO)                         Méndez Cotto, Jorge L.                 PO Box 190684                                                                            San Juan            PR           00919

   153673 EMPLEADOS GERENC HACIENDA HC 1 BOX 5293                                                                                                                       BARRANQUITAS        PR           00794
          EMPLEADOS GERENC HACIENDA,
   153674 USWA                       DEPARTAMENTO DE HACIENDA                                                                                                           SAN JUAN            PR           00902
          EMPLOYERS INSURANCE OF
   646983 WAUSAM/MUTUAL CO           PO BOX 8017                                                                                                                        WAUSAU              WI           54402‐8017

   646984 EMPLOYERS REASSURANCE CORP 5200 METCALF                                                                                                                       OVERLAND PARK       KS           66202‐1296



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          EMPLOYMENT SOLUTIONS PRO                                                   101 AVE SAN PATRICIO SUITE
   153685 INC                                         MARAMAR PLAZA                  1120                                                                                    GUAYNABO             PR           00968
                                                      3343 PEACHTREE RD NE SUITE
   153686 EMPOWER INC                                 510                                                                                                                    ATLANTA              GA           30326
          EMPOWERMRNT STRATEGIES
   153688 LLC                          COND VERDE LUZ APT 307                                                                                                                VEGA ALTA            PR           00692
          EMPRESA DESARROLLADORA
   646985 INSULAR INC                  CENTRO SEGUROS SUITE 313                      701 AVE PONCE DE LEON                                                                   SAN JUAN             PR           00907
          EMPRESA MUNICIPAL AREA
   153671 RECREATIVA                   MEDIA LUNA                                    HC 3 BOX 10606                                                                          COMERIO              PR           00782
          EMPRESA MUNICIPAL AREA
  1256450 RECREATIVA MEDIA LUNA        REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EMPRESA MUNICIPAL PISCINA DE
  1256451 AGUAS TERMALES               REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EMPRESA MUNICIPAL PISCINAS
   153690 AGUAS                        TERMALES                                      PO BOX 1875                                                                             COAMO                PR           00769
          EMPRESA MUNICIPAL SERVICIOS
   153691 DE SEGURIDAD                 PO BOX 1875                                                                                                                           COAMO                PR           00769
          EMPRESA MUNICIPAL TODO
   153692 DEPORTE                      PO BOX 1875                                                                                                                           COAMO                PR           00769
          EMPRESA PROYECTOS
   646986 INTEGRADOS INC               URB COUNTRY CLUB                              999 CALLE JAMES BOND                                                                    SAN JUAN             PR           00924
          EMPRESA R ABAD
   153693 RAMIREZ/ALMACENE OFI ART     PO BOX 1313                                                                                                                           CABO ROJO            PR           00623
   646987 EMPRESA VIEQUES SEPTICAL     URB REP METROPOLITANO                         1003 CALLE 30 S E                                                                       SAN JUAN             PR           00921
          EMPRESAS A CORDERO BADILLO
   153695 INC                          PLAZA DEL MAR                                 BO LAPA KM 3                                                                            SALINAS              PR           00751
   646988 EMPRESAS ACUARIO             HC 02 BOX 8356                                                                                                                        OROCOVIS             PR           00720
          EMPRESAS AGRICOLA ISAELIS,
  1256452 INC.                         REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   153699 EMPRESAS AGRICOLAS AULET     1000 ASHFORD AVENUE                           APARTMENT 8                                                                             SAN JUAN             PR           00907

   646990 EMPRESAS AGRICOLAS CRR INC                  PO BOX 140754                                                                                                          ARECIBO              PR           00614
          EMPRESAS AGRICOLAS DEL
   153701 CENTRO                                      PO BOX 1009                                                                                                            CASTANER             PR           00631
          EMPRESAS AGRICOLAS ISAELIS
   153702 INC                                         PO BOX 5144                                                                                                            SAN SEBASTIAN        PR           00685
          EMPRESAS AGRICOLAS
   153704 RUCAJOAN INC                                P O BOX 1165                                                                                                           SAN SEBASTIAN        PR           00685
          EMPRESAS AGRICOLAS SAN
   153705 PABLO                                       RD 129 K 11.3 SUR                                                                                                      LARES                PR           00669
          EMPRESAS AGRICOLAS SAN                      BO BUENOS AIRES CARR 129 KM
   153706 PABLO INC                                   11.3                                                                                                                   LARES                PR           00669
          EMPRESAS AGRICOLAS SAN
   153707 PABLO, INC.                                 PO BOX 1099                                                                                                            LARES                PR           00669
          EMPRESAS ALICEA CEBOLLERO
   153710 INC                                         PO BOX 1619                                                                                                            CANOVANAS            PR           00729

   153711 EMPRESAS ALVARADO TORRES                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   153712 EMPRESAS ALVARO TORRES                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EMPRESAS AMBIENTES &
   153713 EQUIPO                                      414 AVE MONOZ RIVERA PISO 10                                                                                           SAN JUAN             PR           00918
   153714 EMPRESAS ARR                                PO BOX 5373                                                                                                            CAGUAS               PR           00726



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 1256453 EMPRESAS ARR INC                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  153719 EMPRESAS ARR, INC.                           PO BOX 5373                                                                                                      CAGUAS              PR         00726
  646992 EMPRESAS BARRETO INC                         P O BOX 1344                                                                                                     ST JUST             PR         00978
                                                      A/C MANUEL MORALES
   646993 EMPRESAS BECHARA INC                        MORALES                     ADM FOMENTO COMERCIAL     P O BOX 4275                                               SAN JUAN            PR         00902‐4275
   646995 EMPRESAS BENITEZ                            P O BOX 29724                                                                                                    SAN JUAN            PR         00929 0724
   646996 EMPRESAS BENITEZ CORP                       PO BOX 70158                                                                                                     SAN JUAN            PR         00936
          EMPRESAS BERRIOS DBA
   646997 MUEBLERIAS BERRIOS                          BOX 674                                                                                                          CIDRA               PR         00939
   153721 EMPRESAS BERRIOS INC                        BO BAYAMON                  CARR 172 KM 49 7                                                                     CIDRA               PR         00739
          EMPRESAS BONILLA
   153723 MALDONADO INC                               P O BOX 113                 SAINT JUST STATION                                                                   TRUJILLO ALTO       PR         00978

   646998 EMPRESAS BORIGUA TERRAZO                    HC 5 BOX 52335                                                                                                   CAGUAS              PR         00725
   153724 EMPRESAS BORIQUE INC                        C 28 URB SIERRA LINDA                                                                                            CABO ROJO           PR         00623
   646999 EMPRESAS BRASSAN INC                        PO BOX 6969                                                                                                      BAYAMON             PR         00960
          EMPRESAS CABAN INC / DBA/
   647000 ENVCO                                       MSC 401 2135 ROAD 2 SUITE 15                                                                                     BAYAMON             PR         00959‐5259
   647002 EMPRESAS CARROUSEL                          VILLA FONTANA                1 CENTRO COMERCIAL                                                                  CAROLINA            PR         00983
   647003 EMPRESAS CASILLAS                           PO BOX 9322                                                                                                      CAGUAS              PR         00726
   647004 EMPRESAS CASO, INC.                         1225 PONCE DE LEON           PARADA 18                                                                           SANTURCE            PR         00907

   153727 EMPRESAS CATALINO SANCHEZ                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   647005 EMPRESAS CHIPI INC                          P O BOX 193497                                                                                                   SAN JUAN            PR         00919‐3497
   647006 EMPRESAS CODEL INC                          PO BOX 1263                                                                                                      CIALES              PR         00638
   153730 EMPRESAS COLIBRI INC                        PO BOX 536                                                                                                       NAGUABO             PR         00718
   647007 EMPRESAS CORDOVA                            107 CALLE BAILEN                                                                                                 DORADO              PR         00646

   153731 EMPRESAS CRECIENDO CR3, INC. CALLE MUNOZ RIVERA # 38                                                                                                         NAGUABO             PR         00718
   647010 EMPRESAS CRUZ ORTIZ INC      P O BOX 1053                                                                                                                    OROCOVIS            PR         00720
   647011 EMPRESAS CUCUYE INC          PO BOX 9715                                                                                                                     SAN JUAN            PR         00908
   646989 EMPRESAS D ALESSIO INC       PO BOX 171                                                                                                                      AIBONITO            PR         00705‐0171
   647012 EMPRESAS DANITO              PO BOX 644                                                                                                                      COAMO               PR         00769
          EMPRESAS DE DESARROLLO
   153733 ECON DE TIERRA A             REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

          EMPRESAS DE DESARROLLO
  1256454 ECONOMICO DE LA TIERRA ALTA                 REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   153734 EMPRESAS DE GAS CO                          PO BOX 1025                                                                                                      SABANA SECA         PR         00952‐1025
   647013 EMPRESAS DE GAS CO INC                      PO BOX 1025                                                                                                      SABANA SECA         PR         00952‐1025
   153735 EMPRESAS DE GAS CO, INC.                    PO BOX 1025                                                                                                      BAYAMON             PR         00952‐0000
          EMPRESAS DE INVERSIONES Y
   647014 DESARROLLO INC                              P O BOX 195288                                                                                                   SAN JUAN            PR         00919‐5288
   647015 EMPRESAS DE SOLDADURAS                      P O BOX 365047                                                                                                   SAN JUAN            PR         00936 3650
          EMPRESAS DOMINGO
   647016 DOMINGUEZ                                   P O BOX 193600                                                                                                   SAN JUAN            PR         00919‐3600
   647017 EMPRESAS E C                                PMB 296 B‐5                 CALLE TABONUCO STE A 9                                                               GUAYNABO            PR         00968‐3003
   153738 EMPRESAS ECHEVARRIA INC                     BO AMELIA 38                AVE PONCE DE LEON                                                                    GUAYNABO            PR         00965
   647018 EMPRESAS EL GAMO                            P O BOX 1646                CENTRO SUR DEL SHOPPING                                                              PONCE               PR         00733
   647019 EMPRESAS ENEAS                              2191 CALLE ESPERANZA                                                                                             PONCE               PR         00730
   647020 EMPRESAS FERHANNI                           BOX 8290                                                                                                         BAYAMON             PR         00960
   647021 EMPRESAS FONALLEDAS INC                     53 PALMERAS ST OFIC 1601                                                                                         SAN JUAN            PR         00901
   153742 EMPRESAS FORTIS                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  153743 EMPRESAS GIUSTI INC                          P O BOX 381                                                                                                  TOA BAJA            PR           00951
  647022 EMPRESAS GONZALEZ                            PO BOX 607061                                                                                                BAYAMON             PR           00960‐7061

   153744 EMPRESAS GONZALEZ BRIGNONI REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647023 EMPRESAS GONZALEZ INC      R P M 300                              5 CALLE ARZUAGA                                                                        SAN JUAN            PR           00925‐3701
   647028 EMPRESAS GONZALEZ S E      P O BOX 363062                                                                                                                SAN JUAN            PR           00936‐3062
   153745 EMPRESAS GUARIONEX INC     URB CASA LINDA COURT                   7 CALLE A                                                                              CAROLINA            PR           00959
          EMPRESAS GUILLERMO TORRES
   647029 INC                        URB ALTOS DE LA FUENTES                D18 CALLE 1                                                                            CAGUAS              PR           00725
          EMPRESAS GUTIERREZ DEL
   647030 ARROYO INC                 55 SECTOR LAS FLORES                                                                                                          RIO GRANDE          PR           00745
          EMPRESAS IBUYUMU INC DBA
   153747 DORADO ICE                 & WATER PLANT                          ROAD 693 425 PMB 227                                                                   DORADO              PR           00646
   647031 EMPRESAS INABON INC        PO BOX 970                                                                                                                    PONCE               PR           00780
   647032 EMPRESAS J C               PO BOX 8829                                                                                                                   HUMACAO             PR           00792
   153748 EMPRESAS J C INC           P O BOX 8829                                                                                                                  HUMACAO             PR           00792
          EMPRESAS J J MARTINEZ
   647033 GINORIO                    MARINA STATION                         BOX 3165                                                                               MAYAGUEZ            PR           00681
   831339 Empresas J.C. Inc.         P O Box 41147                                                                                                                 San Juan            PR           00926
   153749 EMPRESAS JAMAY INC         P O BOX 199                                                                                                                   CEIBA               PR           00735
   153750 EMPRESAS JBR INC           HC 3 BOX 8798                                                                                                                 BARRANQUITAS        PR           00794
   153751 EMPRESAS JIMMY FERRER INC  COND COLINAS DE BAYAMON                APT 1310                                                                               BAYAMON             PR           00956
          EMPRESAS JJ RIVE DBA
   153752 TECHNOLOGY PLUS INC        AREA DEL TESORO                        DIVISION DE RECLAMACIONES                                                              SAN JUAN            PR           00902‐4140
  1256455 EMPRESAS JJ RIVERA, INC.   REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   153754 EMPRESAS JULIAN INC        PO BOX 238                                                                                                                    MOCA                PR           00676
   153755 EMPRESAS JYG INC           801 TAURO VENUS GARDENS                                                                                                       SAN JUAN            PR           00926
   647035 EMPRESAS L R INC           PO BOX 144                                                                                                                    LAS PIEDRAS         PR           00771
   153756 EMPRESAS LA CUBANITA       REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          EMPRESAS LA CUBANITA DBA
   153759 SIXTO L LOPEZ              PMB 118                                PO BOX 4952                                                                            CAGUAS              PR           00726
  1256456 EMPRESAS LA CUBANITA INC   REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647037 EMPRESAS LA FAMOSA         PO BOX 51968                                                                                                                  TOA BAJA            PR           00950‐2270
          EMPRESAS LAS PIEDRAS
   153764 MEMORIAL                   P O BOX 1967                                                                                                                  LAS PIEDRAS         PR           00771
          EMPRESAS LEAF INC /DBA
   153765 FRUTATION EDIBLE           400 CALLE CALAF SUITE 69                                                                                                      SAN JUAN            PR           00918‐1314
   153766 EMPRESAS LEON MENDEZ INC   PO BOX 330                                                                                                                    BARCELONETA         PR           00617

   647038 EMPRESAS LOPEZ Y VALDEJULI                  PO BOX 1602                                                                                                  BAYAMON             PR           00960
   153767 EMPRESAS LORIE S E                          REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  1256457 EMPRESAS LOYOLA                             REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   153768 EMPRESAS LOYOLA I S EN C S E REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          EMPRESAS M F /D/B/A KOIN IND
   647039 SUPPLIES                     PO BOX 11380                                                                                                                SAN JUAN            PR           00922
   647040 EMPRESAS MALDONADO           PO BOX 851                                                                                                                  JUANA DIAZ          PR           00795

   647041 EMPRESAS MARCELINO SOLA INC PO BOX 1335                                                                                                                  GURABO              PR           00778
   647042 EMPRESAS MARDELIZ           RIO HONDO                             M 1 CALLE RIO BAYAMON                                                                  BAYAMON             PR           00961
          EMPRESAS MARTINEZ IBARRA
   153770 SERV Y SOLUCION             REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   153771 EMPRESAS MASSO              REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  153772 EMPRESAS MATIAS INC                          PO BOX 1747                                                                                                 JUNCOS              PR           00777

   153774 EMPRESAS MELENDEZ CRUZ INC PO BOX 718                                                                                                                   MAYAGUEZ            PR           00681‐0718
   647043 EMPRESAS MIRELLA           PO BOX 1212                                                                                                                  TOA ALTA            PR           00954
          EMPRESAS MOLINA & ROBLES
  1256458 DBA. THE OFFICE BY EMR     REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          EMPRESAS MOLINA & ROBLES
   153776 INC DBA                    PO BOX 3893                                                                                                                  BAYAMON             PR           00958‐0893
          EMPRESAS MOLINA & ROBLES,
   153777 INC.                       PO BOX 3893                                                                                                                  BAYAMON             PR           00958‐0893
   647044 EMPRESAS MONTECARLO        36 CALLE SEVERO ARANA                                                                                                        SAN SEBASTIAN       PR           00685
   153778 EMPRESAS MUÐOZ INC         SABANA REAL                               C 1 APDO 24                                                                        SAN LORENZO         PR           00754
          EMPRESAS MUNDO MOTOR IMP.
   153779 CORP                       PO BOX 6249                               MARINA STATION                                                                     MAYAGUEZ            PR           00681
          EMPRESAS MUNICIPAL AREA
  1256459 RECREATIVA MEDIA LUNA      REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          EMPRESAS MUNICIPAL DE
   153780 MANTENIMIENTO Y            ORNATO DE CARRETERAS                      PO BOX 1875                                                                        COAMO               PR           00769
   153781 EMPRESAS MUNICIPALES       APARTADO 1008                                                                                                                AGUADILLA           PR           00605‐0000
          EMPRESAS MUNICIPALES
   153783 TOALTENAS                  PO BOX 82                                                                                                                    TOA ALTA            PR           00954
   153784 EMPRESAS MUNOZ INC         SABANA REAL                               C 1 APDO 24                                                                        SAN LORENZO         PR           00754
   153785 EMPRESAS MUNOZ INC.        SABANA REAL C 1 APDO 24                   C 1 APDO 24                                                                        SAN LORENZO         PR           00754‐0000
   647045 EMPRESAS NORHEN INC        PO BOX 4365                                                                                                                  AGUADILLA           PR           00605
                                     BCO DESARROLLO ECONOMICO
   153786 EMPRESAS OMAJEDE INC       PR                                        P O BOX 2134                                                                       SAN JUAN            PR           00922‐2134
   647046 EMPRESAS ORTIZ BRUNET INC  PO BOX 1839                                                                                                                  GUAYNABO            PR           00970‐1839
   153788 EMPRESAS ORTIZ DIAZ CORP   PO BOX 1563                                                                                                                  COROZAL             PR           00783
   153789 EMPRESAS ORTZ BRUNET       PO BOX 1839                                                                                                                  GUAYNABO            PR           00970‐1839
   153790 EMPRESAS PARODI INC        PMB 226 819 AVE HOSTOS                                                                                                       PONCE               PR           00716‐1107
   647048 EMPRESAS PEREZ INC         PO BOX 372831                                                                                                                CAYEY               PR           00737
   153791 EMPRESAS PERORDI, INC.     PO BOX 191463                                                                                                                SAN JUAN            PR           00919‐1463
   153793 EMPRESAS PLAYA JOYUDA      HC 3 BOX 16310                                                                                                               CABO ROJO           PR           00623
          EMPRESAS PLAYA JOYUDA DBA
   153794 PARADOR PERICH             HC 02 BOX 16310                                                                                                              CABO ROJO           PR           00623
   153795 EMPRESAS PLAYA JOYUDA INC  HC 02 BOX 16310                                                                                                              CABO ROJO           PR           00623
   153796 EMPRESAS PUCHO INC.        P.O. BOX 991                                                                                                                 AGUADA              PR           00602

   647049 EMPRESAS PUERTORRIQUE¥AS                    P O BOX 366006                                                                                              SAN JUAN            PR           00936‐6006

          EMPRESAS PUERTORRIQUENAS
   153797 DE CONSERV INC                              URB SABANERA DE DORADO   495 CAMINO DEL YUNQUE                                                              DORADO              PR           00646

          EMPRESAS PUERTORRIQUENAS
   153798 DE DESARROLLO                               P O BOX 366006                                                                                              SAN JUAN            PR           00936‐6006

          EMPRESAS PUERTORRIQUENAS
   153799 DE DESARROLLO INC                           975 AVE HOSTOS           SUITE 420                                                                          MAYAGUEZ            PR           00680‐1255
   153800 EMPRESAS PUNTOFIJO INC                      1120 AVE PONCE DE LEON                                                                                      SAN JUAN            PR           00925
   647050 EMPRESAS PV INC                             132 AVE DR SUSONI                                                                                           HATILLO             PR           00659
   153801 EMPRESAS R A INC                            AVE LOMAS VERDES         3V‐8 ESQ JACINTO                                                                   BAYAMON             PR           00959 3309

   153802 EMPRESAS R ABAD RAMIREZ INC PO BOX 1313                                                                                                                 CABO ROJO           PR           00623



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          EMPRESAS R ABAD RAMIREZ
   153803 OFFICE ART INC                              PO BOX 1313                                                                                                          CABO ROJO            PR           00623
   647053 EMPRESAS RAMOS ESCLAVON                     ROUND HILLS                  1008 MARGARITA                                                                          TRUJILLO ALTO        PR           00976
   647054 EMPRESAS RC                                 GARDEN HILLS PLAZA           PMB 150 1353 CARR 19                                                                    GUAYNABO             PR           00966

   647055 EMPRESAS RICOMINI                           101 CALLE MENDEZ VIGO ESTE                                                                                           MAYAGUEZ             PR           00680
   647057 EMPRESAS RICOMINI BAKERY                    P O BOX 368                                                                                                          MAYAGUEZ             PR           00681
   647058 EMPRESAS RIOLLANOS INC                      P O BOX 7314                                                                                                         PONCE                PR           00732‐7314
   153804 EMPRESAS RIVERA SIACA                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   153806 EMPRESAS ROSANA                             REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   647060 EMPRESAS ROSARIO                            ESTANCIAS SAN FERNANDO       D 4 CALLE 6                                                                             CAROLINA             PR           00630

   647061 EMPRESAS RUEDAS DEL NORTE                   PO BOX 1527                                                                                                          TRUJILLO ALTO        PR           00977 1527
   647062 EMPRESAS RULLAN                             P O BOX 953                                                                                                          ADJUNTAS             PR           00601
          EMPRESAS SABON INC DBA
   153807 ECONO COAMO                                 PO BOX 789                                                                                                           RIO GRANDE           PR           00745
   647063 EMPRESAS SANABRIA INC                       PO BOX 1593                                                                                                          HORMIGUEROS          PR           00660‐1593
   647064 EMPRESAS SEPULVEDA INC                      PO BOX 1717                                                                                                          MAYAGUEZ             PR           00681

   153808 EMPRESAS SERVICIOS OPTIMOS                  P O BOX 2247                                                                                                         COAMO                PR           00769
          EMPRESAS SOLER & TITITO S
   153810 CATERING                                    PO BOX 296                                                                                                           CAGUAS               PR           00726
   153811 EMPRESAS SOLER , INC                        PO BOX 296                                                                                                           CAGUAS               PR           00726‐0296
          EMPRESAS STEWART /
   647065 FUNERARIA GONZALEZ                          157 CALLE VILLA SUITE 101                                                                                            PONCE                PR           00730
          EMPRESAS STEWART
   153812 FUNERARIAS                  157 CALLE VILLA SUITE 101                                                                                                            PONCE                PR           00730
   153816 EMPRESAS TERRAZAS           REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   647071 EMPRESAS TITO CASTRO        P O BOX 330589                                                                                                                       PONCE                PR           00733‐0589
   153817 EMPRESAS TOLEDO INC         1056 AVE MUNOZ RIVERA                        707 EDIF FIRST FEDERAL                                                                  SAN JUAN             PR           00927
   153818 EMPRESAS TORRES BATISTA     REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                      VEGA BAJA CENTRO SHOPPING
   153819 EMPRESAS TORRES BATISTA INC CENTER                                       CARR 2 INT 155                                                                          VEGA BAJA            PR           00693

   647073 EMPRESAS TREVINO & RAMIREZ                  PO BOX 2015                                                                                                          MAYAGUEZ             PR           00681
          EMPRESAS TREVINO & RAMIREZ
   647074 INC                                         PO BOX 2015                                                                                                          MAYAGUEZ             PR           00681
   153820 EMPRESAS VILLAGROSA                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   153821 EMPRESAS W RIOS INC                         PO BOX 1466                                                                                                          HATILLO              PR           00659
   153822 EMPRESAS WINEL                              PO BOX 4022                  BAYAMON GARDENS STATION                                                                 BAYAMON              PR           00959
   647075 EMPRESAS Y NUINA INC                        PO BOX 1661                                                                                                          CANOVANAS            PR           00729‐1673
   647076 EMPRESAS ZOMEL                              P O BOX 409                                                                                                          MANATI               PR           00674

   647077 EMPRESS OCEAN FRONT HOTEL                   2 CALLE AMAPOLA                                                                                                      CAROLINA             PR           00979
   153825 EMR ENTERPRISES                             PO BOX 362197                                                                                                        SAN JUAN             PR           00936‐2197
          EMR ENTERPRISES
   153826 CORPORATION                                 P O BOX 362197                                                                                                       SAN JUAN             PR           00936‐2197
   153827 EMR ENTERPRISES, CORP                       PO BOX 362197                                                                                                        SAN JUAN             PR           00936‐2197

   647078 EMRALDS TOURS                               URB SANTA ROSA               4 AVE AGUAS BUENAS BLK 310                                                              BAYAMON              PR           00959
          EMSER PORTABLE SOLUTIONS
   153828 CORP                                        COND VILLAS DEL MONTE        6050 CARR 844 SUITE 46                                                                  SAN JUAN             PR           00926
   647080 EMSOR ZABALA DIAZ                           HC 1 BOX 8315                                                                                                        AGUAS BUENAS         PR           00703



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  153830 EMY A. TOUSEF CASTELLAR                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  153831 EMY GUZMAN NOGUERAS                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  153832 EMY LEE ESCALERA ORTIZ                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  153833 EMYNETTE RAMIREZ SOTO                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  153835 EN EL NOMBRE DE JESUS INC                    PO BOX 50429                                                                                                    TOA BAJA          PR       00950‐0429
  647082 EN HONOR A LA VERDAD                         URB ROSA MARIA               F 5 CALLE 5                                                                        CAROLINA          PR       00983
  153837 ENA E RIVERA MELENDEZ                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  153838 ENA GUZMAN ROSARIO                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  153839 ENA I OCTAVIANI SANTANA                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  647083 ENA M OLIVERAS DIAZ                          CARR 313 KM 1 2 BOX 710                                                                                         CABO ROJO         PR       00623
  647084 ENA M VI¥AS MESTEY                           COND CHALET DEL PARQUE       CALLE ARBOLOTE BZN 85                                                              GUAYNABO          PR       00969
  647085 ENA POLAK DE TEICHBERG                       COND EL CORDOBES APT 5 B     AVENIDA SAN PATRICIO                                                               GUAYNABO          PR       00969
  153840 ENAIDA COLON GARCIA                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  647087 ENAIDA ROSADO FIGUEROA                       HC 01 BOX 17269                                                                                                 COAMO             PR       00769
  153841 ENALDO SANTOS SANCHEZ                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  153842 ENAMORADO, MAYRALIZ                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
                                                      252 AVE PONCE DE LEON CITY
   153844 ENATURA LLC                                 TOWERS                       SUITE 401                                                                          SAN JUAN          PR         00918
   153845 ENCANTADA SERVICE                           FERNANDEZ JUNCOS STATION     PO BOX 8375                                                                        SAN JUAN          PR         00910
   153847 ENCANTADA TRAVEL                            2057 CALLE LOIZA                                                                                                SAN JUAN          PR         00914
   153848 ENCANTO RESTAURANTS INC                     P O BOX 11858                                                                                                   SAN JUAN          PR         00922‐1858
   153849 ENCANTO SUNRISE INC                         P O BOX 11858                                                                                                   SAN JUAN          PR         00922
   647088 ENCANTOS MAUREEN INC                        SAGRADO CORAZON              350 CALLE SAN CLAUDIO                                                              SAN JUAN          PR         00926
          ENCARNACION ALVARADO
   153850 MARQUEZ                                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ENCARNACION ARROYO
   647089 MORALES                                     CASITAS DE LA FUENTE         623 CALLE TULIPAN                                                                  TOA ALTA          PR         00953

   153873 ENCARNACION CANCEL, ELBA I.                 REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ENCARNACION CANINO MD,
   153874 GASPAR                                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   153903 ENCARNACION CONCEPCION                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ENCARNACION CRUZ MD, JOSE
   153916 M                                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ENCARNACION DELGADO
   153940 QUINONES                                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   647090 ENCARNACION DIAZ MEDINA                     H C 01 BOX 7287                                                                                                 LAS PIEDRAS       PR         00771

   647091 ENCARNACION GOMEZ MATEU                     7302 AUTUMN ASPEN LANE                                                                                          RICHMOND          TX         77469
          ENCARNACION KUILAN MD,
   154010 EDWIN                                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ENCARNACION L QUINTANA
   647092 MARTINEZ                                    URB TORRIMAR 038 B           CALLE BRIDGEWOOD                                                                   GUAYNABO          PR         00966
          ENCARNACION L QUINTANA
   647093 MARTINEZ                                    URB TORRIMAR O               38 B CALLE BRIDGEWOOD                                                              GUAYNABO          PR         00966

   647094 ENCARNACION MARTINEZ AVILES BO AIBONITO                                                                                                                     HATILLO           PR         00659
   154040 ENCARNACION MD, BEVERLY     REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ENCARNACION MELENDEZ
   647095 ROSARIO                     PO BOX 21365                                                                                                                    SAN JUAN          PR         00926‐1365
          ENCARNACION MERCADO
   647096 CASADO                      E18 CALLE CRUZ ORTIZ STELLA                                                                                                     HUMACAO           PR         00791




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          ENCARNACION P ALICEA
   647097 MENDEZ                                      HC 5 BOX 92194                                                                                                 ARECIBO             PR           00612
          ENCARNACIÓN QUINONEZ
   154094 GONZÁLEZ                                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ENCARNACION RODRIGUEZ
   647098 CABEZUELO                                   PO BOX 1822                                                                                                    CIDRA               PR           00739
          ENCARNACION SIACA MD,
   154152 MARIA D                                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   647100 ENCARNACION TORRES COLLAZO HC 2 BOX 4701                                                                                                                   GUAYAMA             PR           00784
                                                                                 PMB 133 1353 AVE. LUIS
  1419626 ENCARNACIÓN VÁZQUEZ, BELKIS YARLENE JIMENEZ ROSARIO                    VIGOREAUX                                                                           GUAYNABO            PR           00966‐2700
   154168 ENCARNACION VEGA LOPEZ      REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154182 Encarnacion, Lersy          REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   647101 ENCARNITA CATALAN MARCHAN PO BOX 363809                                                                                                                    SAN JUAN            PR           00936
   154189 ENCARNITA PAREDES MORO      REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ENCICLOPEDIA BRITANICA EDUC
   647102 CO                          HEIDI STEIGER                              2019 CALLE CACIQUE                                                                  SAN JUAN            PR           00911

   647104 ENCICLOPEDIA BRITANICA USA                  ATT D BIVONA               310 S MICHIGAN AVE                                                                  CHICAGO             IL           60604
   154208 ENCIJAR HASSAN RIOS                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   154210 ENCO MANUFACTURING CORP.                    BALDORIOTY 43                                                                                                  CIDRA               PR           00739‐0000
          ENCO MANUFACTURING
   647106 CORPORATION                                 43 CALLE BALDORIOTY                                                                                            CIDRA               PR           00739
          ENCUADERNACION CESAR
   647107 RODRIGUEZ                                   URB VILLA CONTESA          K 10 AVE LOS MILLONES                                                               BAYAMON             PR           00956
          ENCUADERNACIONES CESAR
   154212 RODRIGUEZ                                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ENCUENTROVISION DBA
   647109 ENCUENTRO CHRISTIAN                         P O BOX 310                                                                                                    BAYAMON             PR           00960‐0310
   831343 Endeavor Systems Solutions                  P.O. Box 8431                                                                                                  New Haven           CT           06530
   154219 ENDER J VEGA CORREA                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647110 ENDERSON BELLO GARCIA                       COLINAS DE SAN JUAN        APT E 172 CALLE W BUSH                                                              SAN JUAN            PR           00924
   154223 ENDICIA                                     285 SHERMAN AVE                                                                                                PALO ALTO           CA           94306‐1864
   154224 ENDIX GROUP INC                             PO BOX 2205                                                                                                    VEGA BAJA           PR           00694

   154225 ENDOCRINE & DIABETES CENTER STE 250 2200 OPTIZ BLVD                                                                                                        WOODBRIDGE          VA           22191
   154226 ENDOCRINE ASSOCIATES LLC    MEDICAL RECORD                             3180 MAIN ST STE 105                                                                BRIDGEPORT          CT           06606

   154227 ENDOCRINOLOGY ASSOCIATION MEDICAL RECORDS                              9097 E DESERT COVE       STE 250                                                    SCOTTDALE           AZ           85251

          ENDOUROLOGICAL INSTITUTE                    TORRE DE AUXILIO MUTUO OFIC
   154228 INC                                         608 AVE PONCE DE LEON 735                                                                                      SAN JUAN            PR           00917
   154234 ENDY D TORRES CRUZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   154235 ENEDIGNA CARDONA VAZQUEZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154236 ENEDINA FANA ALCANTARA                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154237 ENEID ROUTTE GOMEZ                          PO BOX 9020058                                                                                                 SAN JUAN            PR           00902‐0058
   647117 ENEIDA APONTE                               PO BOX 21365                                                                                                   SAN JUAN            PR           00928
   647119 ENEIDA AVILES HERNANDEZ                     PO BOX 1184                                                                                                    CAYEY               PR           00737‐1184
   154238 Eneida Aviles Rodriguez                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  647120 ENEIDA C TORRES MORALES                      URB MONTE VERDE 3097                                                                                              MANATI             PR         00674
  154240 ENEIDA CAMACHO RAVELO                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  154241 ENEIDA COLON LARA                            REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  647122 ENEIDA COLON MELENDEZ                        HC 764 BOX 6707              BO BAJOS                                                                             PATILLAS           PR         00723
  647123 ENEIDA COLON ROLON                           HC 01 BOX 7207                                                                                                    SALINAS            PR         00751
  154242 ENEIDA CORDERO DELGADO                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  647124 ENEIDA CORTES ALICEA                         URB COUNTRY CLUB             1144 CALLE OLIVIA PAOLI                                                              SAN JUAN           PR         00924
  647125 ENEIDA COSME MARTINEZ                        JHC 02 4040                                                                                                       LAS PIEDRAS        PR         00771
  647126 ENEIDA COTTO VAZQUEZ                         HC 02 BOX 10608                                                                                                   GUAYNABO           PR         00971
         ENEIDA CRUZ CARRASQUILLO                     BO HIGUILLAR SECTOR SAN
  647127 GENESIS M CAST                               CARLOS                       246 CALLE 5                                                                          DORADO             PR         00646
  647128 ENEIDA CRUZ CASTRO                           PO BOX 7281                                                                                                       CAROLINA           PR         00985

   647130 ENEIDA CRUZADOS RODRIGUEZ                   H 4 PLAZA APT                                                                                                     MANATI             PR         00674
   647131 ENEIDA CUBANO MARTINEZ                      PO BOX 976                                                                                                        SABANA HOYOS       PR         00688
   647133 ENEIDA DE LEON                              P O BOX 890                                                                                                       HUMACAO            PR         00792‐0890
   154243 ENEIDA DELGADO BONILLA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154244 ENEIDA DIAZ MEDINA                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154245 ENEIDA DIAZ MORALES                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647134 ENEIDA DOSAL GONZALEZ                       HC 2 BOX 5387                                                                                                     LARES              PR         00669
   154246 ENEIDA E PADILLA AYALA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   154247 ENEIDA E. GONZALEZ GONZALEZ REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   647136 ENEIDA ENID MARTINEZ CRUZ                   URB MANSIONES DE LOS CEDRO   63 CALLE JACARANDA                                                                   CAYEY              PR         00736‐5623
   647137 ENEIDA ESCOBAR                              HC 01 BOX 5452                                                                                                    LOIZA              PR         00772
   154249 ENEIDA GALLOZA AVILES                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647138 ENEIDA GONZALEZ BAEZ                        PO BOX 927                                                                                                        CAYEY              PR         00737
   647139 ENEIDA GUZMAN AYUSO                         URB STA ISIDRA III           F 16 CALLE 2                                                                         FAJARDO            PR         00738
   154250 ENEIDA HERNANDEZ NIEVES                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154251 ENEIDA I SANTIAGO RIVERA                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154252 ENEIDA L ORTIZ VAZQUEZ                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647140 ENEIDA L SOTO CABAN                         HC 3 BOX 8040                                                                                                     LARES              PR         00669
   154253 ENEIDA LOPEZ GALARZA                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647142 ENEIDA LOPEZ HERNANDEZ                      HC 01 BOX 5240                                                                                                    BARRANQUITAS       PR         00705
   647115 ENEIDA LOPEZ ROJAS                          HC 1 BOX 17578                                                                                                    HUMACAO            PR         00791
   154254 ENEIDA LOZADA FLORES                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

  1419627 ENEIDA LUZ AYALA CARTAGENA                  HERIBERTO QUINONES           PO BOX 7041                                                                          CAGUAS             PR         00726 7041
   647143 ENEIDA M DUPREY DIAZ                        HC 4 BOX 46518                                                                                                    AGUADILLA          PR         00603‐9782
   154258 ENEIDA M MURIEL GARCIA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647145 ENEIDA MAISONET APONTE                      BO MAGUEYES 15               CARR 664                                                                             BARCELONETA        PR         00617 3154
   647146 ENEIDA MARCANO RIOS                         URB VILLA HUMACAO            H 37 CALLE 7                                                                         HUMACAO            PR         00791
   647147 ENEIDA MARQUEZ CRESPO                       URB SAN JOSE                 79 CALLE 9                                                                           SABANA GRANDE      PR         00637
   154259 ENEIDA MARTINEZ MULERO                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647148 ENEIDA MARTY MATIAS                         URB MONTECASINO              410 AUSUBO                                                                           TOA ALTA           PR         00953
   154260 ENEIDA MEDINA PINA                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   154261 ENEIDA MELENDEZ DE TORRES                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647149 ENEIDA MENDEZ CRUZ                          HC 03 BOX 10281                                                                                                   CAMUY              PR         00627
   154263 ENEIDA MOJICA NUNEZ                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          ENEIDA MOLINA & ASOCIADOS
   647150 INC                                         P O BOX 194000               PMB 388                                                                              SAN JUAN           PR         00919



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  154265 ENEIDA NIEVES                                REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  154266 ENEIDA NIEVES MARTIR                         REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  647152 ENEIDA NIEVES SERRANO                        RR 1 BOX 41435                                                                                                   SAN SEBASTIAN      PR         00685
  154268 ENEIDA ORTIZ RUIZ                            REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  647153 ENEIDA PABON                                 HC 02 BOX 13929          BO PALMAREJO                                                                            LAJAS              PR         00667
  647154 ENEIDA PADILLA PEREZ                         BDA BALDORIOTY           230 COTO CANAS                                                                          PONCE              PR         00731
  154269 ENEIDA PAGAN HERNANDEZ                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  647155 ENEIDA PEREZ OLAVARRIA                       URB VISTA AZUL           CALLE 23                                                                                ARECIBO            PR         00612
  154270 ENEIDA PEREZ ORTIZ                           REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  647156 ENEIDA PLAZA CRUZ                            URB LIRIOS DEL SUR       E 24 CALLE 6                                                                            PONCE              PR         00731
  154271 ENEIDA RAMOS REYES                           REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  154272 ENEIDA RIOS SANCHEZ                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  154273 ENEIDA RIVERA DEIDA                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  647159 ENEIDA RIVERA MELENDEZ                       REPTO METPNO             1190 CALLE 44 SE                                                                        SAN JUAN           PR         00921
  647161 ENEIDA RIVERA SANCHEZ                        P M B 104 PO BOX 4002                                                                                            VEGA ALTA          PR         00692

   154274 ENEIDA RODRIGUEZ CAMACHO                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   154275 ENEIDA RODRIGUEZ CARTAGENA REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   154276 ENEIDA RODRIGUEZ GALINDEZ                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   154277 ENEIDA RODRIGUEZ GONZALEZ                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647162 ENEIDA RODRIGUEZ PENA                       SUITE 345 P O BOX 4040                                                                                           JUNCOS             PR         00777

   154278 ENEIDA RODRIGUEZ QUINONES                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647163 ENEIDA ROMANY SERRANO                       COND ISLA VERDE          C 14 BUZON C 32                                                                         CAROLINA           PR         00979
   154279 ENEIDA ROSADO ALEJANDRO                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154280 ENEIDA ROSADO ROLON                         REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647165 ENEIDA ROSARIO RODRIGUEZ                    COOP VILLA DE NAVARRA    16D SANTA JUANITA                                                                       BAYAMON            PR         00956
   154281 ENEIDA S GARCIA QUINONES                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154282 ENEIDA S SIERRA LUGO                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154283 ENEIDA SANTANA COSME                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   647167 ENEIDA SANTANA MALDONADO                    PO BOX 1413                                                                                                      SAN GERMAN         PR         00683
   647169 ENEIDA SEPULVEDA ORTIZ                      C/O ANTONIA DE JESUS     DEPT SALUD                   PO BOX 70184                                               SAN JUAN           PR         00936‐8184
   647171 ENEIDA SOTO LOPEZ                           1105 F LIVINGSTON ST     TOWN HOUSE I BETHLEHEM                                                                  PENNSYLVANIA       PA         18017
   647173 ENEIDA TORRES LOPEZ                         BO JOBOS BOX 9‐27                                                                                                ISABELA            PR         00662
   647174 ENEIDA TORRES RAMOS                         BO COCO NUEVO            43 CALLE DONES                                                                          SALINAS            PR         00751
   647175 ENEIDA TOSSAS DIAZ                          RES LAGOS DE BLASINA     EDIF 2 APT 24                                                                           CAROLINA           PR         00985
   647176 ENEIDA TRAVERSO GONZALEZ                    HC 03 BOX 29800                                                                                                  AGUADA             PR         00602
   154285 ENEIDA TROCHE ALICEA                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                                               265 CALLE DUARTE FINAL APT
   647177 ENEIDA VALENTIN LOPEZ                       COND VILLAS EL PARAISO   133                                                                                     SAN JUAN           PR         00917
                                                                               2216 CALLE RITO MORELL
   647178 ENEIDA VALENTIN MERCED                      VILLA GRILLASCA          CAMPOS                                                                                  PONCE              PR         00731
   154286 ENEIDA VARGAS RODRIGUEZ                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647179 ENEIDA VAZQUEZ ORTIZ                        PO BOX 7606                                                                                                      CAGUAS             PR         00726
                                                                               SECT CHUCO RAMOSAPT 74 EDIF
   647181 ENEIDA VEGA MENDOZA                         URB BO PIEDRAS BLANCAS   13                                                                                      AGUADA             PR         00602
   647182 ENEIDA VEGA MOJICA                          VISTA MAR                923 AVE GALICIA                                                                         CAROLINA           PR         00983
   154287 ENEIDA VEGA RIVERA                          REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154288 ENEIDA VILLARUBIA RIVERA                    REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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   154289 ENEIDY B MERCADO NARVAEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154290 ENEL M PEREZ MONTE                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647183 ENEL VELEZ                                  518 B CALLE DAMAS                                                                                                SAN GERMAN          PR           00683
   647185 ENELIA M FIGUEROA RIVERA                    P O BOX 98                                                                                                       CAROLINA            PR           00986
   154294 ENELIDA JIMENEZ TERRON                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647186 ENELIDA RIOS SALAS                          P O BOX 438                                                                                                      HATILLO             PR           00659
   647187 ENELIDA RIVERA RIVERA                       PO BOX 21635                                                                                                     SAN JUAN            PR           00928
   647188 ENELIDA SANTIAGO LOPEZ                      PO BOX 13987                                                                                                     SAN JUAN            PR           00908
   647189 ENELLY RIVERA ROMERO                        557 CALLE BOURET            APTO 105                                                                             SAN JUAN            PR           00912

   154297 ENEMENCIO RECAREY PAYERO                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   154298 ENEMIAS MARQUEZ MELENDEZ REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154300 ENEMIAS SOTO CRUZ           REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647191 ENEMY CUSTODIO ORTIZ        PO BOX 140223                                                                                                                    ARECIBO             PR           00612
   154301 ENERALDO SERRANO GIRAL      REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154302 ENERCIDA MARTINEZ MENA      REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647192 ENEREIDA RIVERA BURGOS      28 BDA OTERO                                                                                                                     CIALES              PR           00638
          ENERGETIC PTO RICO BATTERY
   647193 MFG CO INC                  BO MEMBRILLO                                CARR 2 KM 92 6 BOX 2574                                                              CAMUY               PR           000627
   154304 ENERGIA 2000 INC            PO BOX 4295                                                                                                                      BAYAMON             PR           00958
          ENERGY & ENVIROMENTAL
   647194 CONSULTING SERVICE          URB ALTAMIRA                                560 CALLE ALDEBARAN                                                                  SAN JUAN            PR           00920
          ENERGY & ENVIROMENTAL
   647195 DYNAMIC                     URB VALENCIA                                305 CALLE BADAJOZ                                                                    SAN JUAN            PR           00923
   647196 ENERGY DINAMIC DE P R       PO BOX 4982                                                                                                                      SAN JUAN            PR           00919
          ENERGY ENGINEARING
   647197 TECHNOLOGIE                 PMB SUITE 318                               AVE 90                                                                               BAYAMON             PR           00961
   154306 ENERGY GAS STATION          PO BOX 21431                                                                                                                     SAN JUAN            PR           00928
   647198 ENERGY INFO SOURCE INC      575 UNION BLVD SUITE 107                                                                                                         LAKEWOOD            CO           80228
          ENERGY S LIGHTING SOLUTIONS
   647199 CORP                        PO BOX 1893                                                                                                                      CAROLINA            PR           00984‐1893
   647200 ENERGY SOLAR PRODUCTS       PO BOX 2407                                                                                                                      TOA BAJA            PR           00951
          ENERGY SYSTEMS OF CARIBBEAN
   154310 INC.                        CALLE 400 KALAF 351                                                                                                              SAN JUAN            PR           00918

   154311 ENERGY SYSTEMS OF CARIBBEGE PO BOX 1851                                                                                                                      SABANA SECA         PR           00952‐1851
   647201 ENERI SANTANA BEAUCHAMP     BO QUEBRADAS ARENAS                         29 CAMINO MANGUAL                                                                    SAN JUAN            PR           00926‐9522
          ENERIDA RIVERA VARGAS/
   647202 ISIDRA GONZALEZ             PO BOX 123                                                                                                                       SAN ANTONIO         PR           00690‐0123
   154312 ENERIS M MEDINA LLORENS     REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   647204 ENERIS VILLALTA RIVERA                      COND CONCORDIA GARDENS 2    APTO 9 E                                                                             SAN JUAN            PR           00924
   154313 ENERIS Y LOZADA PAGAN                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154314 ENERIS Y. RIOS VELEZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   647205 ENERIZ VAZQUEZ MALDONADO                    HC 3 BOX 7138                                                                                                    JUNCOS              PR           00777‐9725
   154316 ENERMECH PSC                                URB. SANTA JUANITA          CALLE 14 X‐11                                                                        CAGUAS              PR           00725
          ENEROLIZA PALMERO
   154317 COMPUSANO                                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154319 ENERSIDA TERRERO BURGOS                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154320 ENERSYS ENGINEERING CORP                    CARR 165 TORRE 90 STE 312                                                                                        GUAYNABO            PR           00968‐8058



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          ENERSYS ENGINEERING
   154321 CORPORATION                                 CARR. #165                   TORRE 90 SUITE 312                                                                    GUAYNABO             PR           00968‐8058
   647209 ENERY NAVARRETE                             69 CALLE ULISES MARTINEZ                                                                                           HUMACAO              PR           00791
   647210 ENERYS ACOSTA BURGOS                        COND RIVER PARK APT F 304                                                                                          BAYAMON              PR           00961

   154322 ENES EDUCATIONAL GROUP INC. PO BOX 19808                                                                                                                       SAN JUAN             PR           00910
          ENEYSHA CARRASQUILLO
   154324 LANZOT                      REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   154325 ENEYZA BARRETO GONZALEZ     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          ENFANT DIVIN CORP DBA
   154326 COMBAT ZONE                 PMB 10                                       PO BOX 9117                                                                           BAYAMON              PR           00960
   154327 ENFASIS                     5TA VILLA CAROLINA                           194‐20 CALLE 517                                                                      CAROLINA             PR           00985

   154328 ENFASIS INVESTIGACION SOCIAL                PO BOX 190113                                                                                                      SAN JUAN             PR           00919‐0113
   154330 ENFOCARTE INC                               COND MONTE NORTE             AVE HOSTOS 175 APT 720 A                                                              SAN JUAN             PR           00918
   154331 ENFOQUE FILM CORP                           URB BORINQUEN                Q 34 CALLE ANTONIA SAEZ                                                               CABO ROJO            PR           00623
          ENG G PADILLA REAL STATE
   647212 ACADEMY                                     BANCO COOP PLAZA SUITE 506   623 PONCE DE LEON                                                                     SAN JUAN             PR           00917
   154333 ENGEL RAMOS MD, ROBERT                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   154335 ENGELBERT PEREZ GARCIA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          ENGELBERTH RODRIGUEZ
   154336 BAUTISTA                                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   647213 ENGELNARDT AND ASSOC INC                    6400 GISHOLT DR SUITE 3                                                                                            MADISON              WI           53713
          ENGER ARMANDO SANTANA
   154340 ALVAREZ                                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   154341 ENGIE IRIZARRY MALDONADO                    P.O. BOX 561375                                                                                                    GUAYANILLA           PR           00656‐0000
          ENGINEERED PARTS & SERVICE,
   154343 INC.                                        P.O. BOX 1899                                                                                                      VEGA ALTA            PR           00692‐1899
          ENGINEERED PARTS AND
   154344 SERVICES INC                                PO BOX 1899                                                                                                        VEGA ALTA            PR           00692
          ENGINEERING &
   154347 COMMUNICATION GROUP                         P O BOX 526                                                                                                        CAROLINA             PR           00986
          ENGINEERING & PLANNING
   154348 SERVICES LLC                                PO BOX 79288                                                                                                       CAROLINA             PR           00984

   647215 ENGINEERING BUILDERS GROUP                  PO BOX 6689                                                                                                        CAGUAS               PR           00726
   647216 ENGINEERING COMPUTER INC                    PO BOX 3005                                                                                                        MAYAGUEZ             PR           00681
          ENGINEERING CONSULTING
   647214 GROUP                                       GALLARDO BLLDG STE 301       RECINTO SUR ST TANCA ST                                                               SAN JUAN             PR           00901
          ENGINEERING EXAMINATION
   154350 SERVICES                                    150 FOURTH                   AVE NORTH SUITE 800                                                                   NASHVILLE            TN           37219‐2417
          ENGINEERING METAL FORMS &
   647218 MANUFACTURING                               1 ARIZMENDI                                                                                                        FLORIDA              PR           00650‐2001

   154351 ENGINEERING PRODUCTS CO INC PO BOX 192079                                                                                                                      SAN JUAN             PR           00919
          ENGINEERING SOLUTION FIRM
   154355 INC                         PMB 332                                      PO BOX 4960                                                                           CAGUAS               PR           00726‐4960
          ENGINEERING SUPPORT
   647221 SYSTEMS                     PO BOX 9111                                                                                                                        SAN JUAN             PR           00908
          ENGINEERING SYSTEMS &
   647222 SERVICE                     PO BOX 3822                                                                                                                        SAN JUAN             PR           00936
   647223 ENGINEERS AT WORK           ALTURAS DEL ENCANTO                          N 5 CALLE BORIKEN                                                                     JUANA DIAZ           PR           00795
   154357 ENGIWORKS CORP              PO BOX 8728                                                                                                                        CAGUAS               PR           00726



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   154366 ENGLEWOOD HOSP & MED CTER PO BOX 48304                                                                                                                   NEWARK               NJ           07101
          ENGLEWOOD HOSPITAL AND
   154367 MEDICAL CENTER            P.O. BOX 452                                                                                                                   BOGOTA               NJ           07603
   647224 ENGRACIA COLON GARCIA     HC 01 BOX 7200                                                                                                                 SALINAS              PR           00751
   647225 ENGRACIA DISLA CABRERA    BO SANTA RITA                              C CALLE 14                                                                          VEGA ALTA            PR           00692
   647226 ENGRACIA ESCALERA         PO BOX 640086                                                                                                                  KENNER               LA           70065
   647227 ENGRACIA RAMOS RIVERA     VILLA PALMERA                              2206 CALLE HENNA                                                                    SAN JUAN             PR           00915

   647230 ENGRACIA TORRES RODRIGUEZ                   933 N 7TH ST                                                                                                 ALLENTOWN            PA           18102
   647231 ENGRACIAS MARTEL TORO                       BOX 4412 SALUD STATION                                                                                       MAYAGUEZ             PR           00680
   647232 ENGRACIO CORREA APONTE                      HC 645 BOX 6567                                                                                              TRUJILLO ALTO        PR           00976
   647233 ENGRACIO RIVAS                              PO BOX 11595                                                                                                 SAN JUAN             PR           00910
          ENGRAPH LEHIGH PRESS L P P R
   647234 INC                                         P O BOX 1469                                                                                                 JUNCOS               PR           00777
   647235 ENGTECH CORP                                P O BOX 4960 PMB 368                                                                                         CAGUAS               PR           00726
   647236 ENHACORE COMPUTER                           HC 83 BOX 6199           MONTE REY                                                                           VEGA BAJA            PR           00692
          ENHIL LOPEZ DE VICTORIA
   154368 MELENDEZ                                    REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   154369 ENHORABUENA INC                             P O BOX 2352                                                                                                 BAYAMON              PR           00960
   154370 ENIA E CAPO MORALES                         REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   647237 ENIB A VAZQUEZ DELFI                        URB LA ARBOLEDA          271 CALLE 16                                                                        SALINAS              PR           00751
   154371 ENIBETH FLORES VAZQUEZ                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   154372 ENID A CANCEL IRIZARRY                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   154373 ENID A ORTEGA PEREZ                         REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   154374 ENID A RODRIGUEZ GONZALEZ                   REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   154375 ENID A RODRIGUEZ VALENTIN                   REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   154376 ENID A VELEZ BAREA                          REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   647240 ENID AGOSTO PEREZ                           HC 5 BOX 10940                                                                                               COROZAL              PR           00783
   647241 ENID ALBALADEJO TORRES                      JOSE MERCADO             U 28 C CALLE LINACH                                                                 CAGUAS               PR           00725
   647242 ENID ALICEA MALAVE                          VILLA DEL REY            JJ 9 4TA SEC CALLE 18                                                               CAGUAS               PR           00725
   647243 ENID ALVAREZ CALIXTO                        URB VALLE ALTO           E 11 CALLE 4                                                                        PATILLAS             PR           00723
          ENID AMELIA RODRIGUEZ
   647244 NOGUERAS                                    ALT VILLA DEL REY        P3 CALLE PORTUGAL                                                                   CAGUAS               PR           00725
   647246 ENID ARCE REYES                             PO BOX 9021112                                                                                               SAN JUAN             PR           00902‐1112
   647247 ENID B MORALES MORALES                      B 28 URB EL CONVENTO                                                                                         SAN GERMAN           PR           00683
   154378 ENID BADILLO                                REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   154379 ENID BAEZ ACEVEDO                           REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   647238 ENID BARREIRO ROSARIO                       URB GOLDEN HILLS         1160 CALLE ESTRELLA                                                                 DORADO               PR           00646‐6927
   154380 ENID BERMUDEZ DE JESUS                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   154381 ENID BERMUDEZ TORRES                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          ENID BETHZAIDA RIVERA
   647248 CINTRON                                     36 COMUNIDAD JUDEA                                                                                           UTUADO               PR           00606
   154382 ENID BLASINI RUBERO                         REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   647249 ENID BURGOS RODRIGUEZ                       URB COUNTRY CLUB         959 CALLE BARBADOS                                                                  SAN JUAN             PR           00924
   154383 ENID C MALAVE QUINONES                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   154384 ENID C RODRIGUEZ                            REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   154385 ENID C. IRIZARRY GONZALEZ                   REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   647250 ENID CABRERA TORRES                         HC 3 BOX 322495                                                                                              HATILLO              PR           00659
   647251 ENID CALDERON RANGEL                        COND RIO VISTA           APT H 125                                                                           CAROLINA             PR           00987‐8784
                                                      ALTURAS DE BORINQUEN
   647252 ENID CANCIO SIERRA                          GARDENS                  00 12 CALLE LILLY                                                                   SAN JUAN             PR           00926



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          ENID CARDONA CARDONA /
   647253 SONIA CACHOLA                               VILLA LOS SANTOS            AA 14 CALLE 17                                                                         ARECIBO              PR         00612
   647254 ENID CARRASQUILLO CASALS                    URB PUNTO ORO               P 2 CALLE 14                                                                           PONCE                PR         00731
   647258 ENID COLON ANDUJAR                          JARDINES DE PALMAREJO       O 2 CALLE 20                                                                           CANOVANAS            PR         00729
   647260 ENID COLON JIMENEZ                          9 CALLE MARTI                                                                                                      BAYAMON              PR         00961
   647261 ENID COLON OTERO                            P O BOX 21365                                                                                                      SAN JUAN             PR         00928‐1365
   154387 ENID CRISTINA RIVERA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   647263 ENID CRUZ CASTRO                            P O BOX 471                                                                                                        SABANA GRANDE        PR         00637‐0471
   647264 ENID CRUZ FUENTES                           HC 02 BOX 9306                                                                                                     JUANA DIAZ           PR         00795
   647265 ENID CRUZ MIRABAL                           904 CALLE MARTI APT D5                                                                                             SAN JUAN             PR         00907
   647266 ENID CRUZ ZARAGOZA                          URB EL ARRENDADO            B6 BOX 120                                                                             SABANA GRANDE        PR         00637
   154388 ENID D FLORES RUIZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   647267 ENID D GARCIA VILLEGAS                      RR 9 BOX 5342                                                                                                      SAN JUAN             PR         00926
   154389 ENID D ORTIZ VAZQUEZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   154390 ENID D RODRIGUEZ TORRES                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   647268 ENID D TAVAREZ MARTINEZ                     BO SAN ANTONIO              CALLE JUAN PEREZ                                                                       QUEBRADILLAS         PR         00678
   154391 ENID D VARGAS DELGADO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   647270 ENID DE LA PAZ RODRIGUEZ                    URB CONTRY CLUB 2DA EXT     813 CALLE LEDRU                                                                        SAN JUAN             PR         00924
          ENID DEL CARMEN ORTIZ
   154392 RENOVALES                                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   154394 ENID DEL R VEGA QUINONES                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   647271 ENID DEL VALLE SANTIAGO                     B 23 CALLE 2                                                                                                       VEGA BAJA            PR         00693
   154396 ENID DIAZ NIEVES                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   647273 ENID DIEPPA RODRIGUEZ                       REPTO SAN JOSE              108 CALLE ZORZAL                                                                       CAGUAS               PR         00725
   154397 ENID DREVON PEREZ                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   154398 ENID E ALVARADO GUZMAN                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   647276 ENID E GARCIA ARROYO                        URB SAGRADO CORAZON         1619 CALLE SANTA PRAXEDES                                                              SAN JUAN             PR         00926
   154399 ENID E RIVERA FIGUEROA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   154400 ENID ELIAS ROJAS                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   154401 ENID ENCARNACION DE JESUS                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   154403 ENID ESPADA DAVILA                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   647277 ENID F ACOSTA RAMANAT                       COND TORRES DEL PARQUE      APT 306 EDIF SUR                                                                       BAYAMON              PR         00956
   647278 ENID FALU                                   P O BOX 7428                                                                                                       SAN JUAN             PR         00916
                                                      BUENA VENTURA 124 CALLE
   647279 ENID FEBRES MORALES                         GERANIO                     BOX 390                                                                                CAROLINA             PR         00987
   647280 ENID FLORES FERNANDEZ                       BO SUMIDERO                 SECTOR LAS VEGAS                                                                       AGUAS BUENAS         PR         00703
   154404 ENID FLORES INFANTE                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   647282 ENID GARCIA                                 URB DOS PINOS               410 CALLE ERNEST                                                                       SAN JUAN             PR         00928
   647284 ENID GARCIA ORTIZ                           PO BOX 3708771                                                                                                     CAYEY                PR         00737
   154406 ENID GOMEZ FERRER                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   647285 ENID GOMEZ REYES                            PO BOX 1660                                                                                                        TOA BAJA             PR         00951
   154407 ENID GONZALEZ                               REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   647290 ENID GONZALEZ DEIDA                         D 6 EXT DEL CARMEN                                                                                                 CAMUY                PR         00627
   154408 ENID GONZALEZ ORTIZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   647293 ENID GONZALEZ WALKER                        ALTURAS DE SAN PEDRO I      36 CALLE SAN LUCAS                                                                     FAJARDO              PR         00738
   647294 ENID H RIVERA RIVERA                        P O BOX 1446                                                                                                       COAMO                PR         00769

   647295 ENID H TROCHE PANETTO                       232 AVE ELEONOR ROOSEVELT                                                                                          SAN JUAN             PR         00907
   647297 ENID HERNANDEZ MORALES                      P O BOX 1776                                                                                                       LARES                PR         00669
   154409 ENID HERNANDEZ SERRANO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   154410 ENID I VEGA RODRIGUEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   154411 ENID IRIZARRY CRUZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   647300 ENID J CEPEDA RODRIGUEZ                     P O BOX 10007               SUITE 285                                                                              GUAYAMA              PR         00785



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  154413 ENID J FELICIANO FRATICELLI                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  154414 ENID J FIGUEROA COLON                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  647301 ENID J GARCIA RIVERA                          VILLA CAROLINA         13 BLQ 154 CALLE 419                                                              CAROLINA           PR         00985
  647302 ENID J MATOS                                  HC 2 BOX 4435                                                                                            LAS PIEDRAS        PR         00771 9613
  647303 ENID J RAMOS RIVERA                           HC 2 BOX 4523                                                                                            LUQUILLO           PR         00773
  647304 ENID J RIVERA FIGUEROA                        PO BOX 884                                                                                               LAS PIEDRAS        PR         00771
  647305 ENID J SANCHEZ RUIZ                           URRB SAN FRANCISCO     A 18 CALLE 1                                                                      HUMACAO            PR         00791
  647306 ENID J VARGAS RODRIGUEZ                       BOX 1246                                                                                                 CIDRA              PR         00739
  154416 ENID J. ARAMBARY MARRERO                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  154417 ENID J. FELICIANO FRATICELLI                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  154418 ENID J. GARCIA RIVERA                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  647308 ENID L ANAYA BAEZ                             JARD DEL CARIBE        X 13 CALLE 27                                                                     PONCE              PR         00728
  647309 ENID L ANGLERO GUZMAN                         HC 33 BOX 5034                                                                                           DORADO             PR         00646
  154419 ENID L RODRIGUEZ SOLTREN                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  154420 ENID L SERRANO IRIZARRY                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  647310 ENID LICIAGA DOWEL                            PARCELAS AMADEOS       BOX 12 CALLE F                                                                    VEGA BAJA          PR         00693
  647312 ENID LOPEZ                                    ALTOS DE TORRIMAR      C 25 CALLE BELIZE                                                                 BAYAMON            PR         00959‐8835
  154421 ENID LOPEZ GUZMAN                             REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  154422 ENID LOPEZ LOPEZ                              REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  154424 ENID M BLASCO REILLO                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  154426 ENID M CARMONA                                REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         ENID M CONCEPCION
  154428 RODRIGUEZ                                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  154429 ENID M COTTO RIOS                             REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  647316 ENID M DAVILA                                 PMB 93 PO BOX 605703                                                                                     AGUADILLA          PR         00605‐9002
  154430 ENID M DEL VALLE RUIZ                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  154431 ENID M FIGUEROA ROSARIO                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  154433 ENID M GIGLIOTTY LOPEZ                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   154434 ENID M GONZALEZ GONZALEZ                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154435 ENID M GONZALEZ MULERO                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154436 ENID M IGLESIAS DIAZ                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154437 ENID M LEBRON ROMERO                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647320 ENID M MARTINEZ SANCHEZ                      RES YAGUEZ             EDIF 18 APT 174                                                                   MAYAGUEZ           PR         00681
   154439 ENID M MELENDEZ FUENTES                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647321 ENID M NAZARIO LEZCANO                       PO BOX 361253                                                                                            SAN JUAN           PR         00936 1253
   154440 ENID M PEREZ DENIZA                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154441 ENID M PEREZ RODRIGUEZ                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647327 ENID M RIVERA ORTIZ                          RR 1 BOX 11479                                                                                           OROCOVIS           PR         00720
   154442 ENID M RIVERA PACHECO                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154443 ENID M RIVERA RIVERA                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154444 ENID M RODRIGUEZ RIVERA                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647329 ENID M RODRIGUEZ ROSA                        URB VILLA NUEVA        T 44 CALLE 24                                                                     CAGUAS             PR         00725
   647330 ENID M RODRIGUEZ SANTOS                      PO BOX 21715                                                                                             SAN JUAN           PR         00931‐1715
   154445 ENID M SANTOS CRUZ                           REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154446 ENID M VELEZ VALLE                           REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154447 ENID M. AGOSTO RIVERA                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647334 ENID MALDONADO TOSADO                        SIERRA BAYAMON         79‐16 CALLE 69                                                                    BAYAMON            PR         00961

   154449 ENID MARIE OSORIO MARCANO                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647335 ENID MARIE ROSARIO RAMOS                     URB ARBOLADA           G 7 CALLE ALMACIGO                                                                CAGUAS             PR         00727
   647336 ENID MARRERO GUTIERREZ                       COND TROPICAL          APT 5003A                                                                         CAROLINA           PR         00929
   154450 ENID MARTINEZ RIVERA                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  647337 ENID MEJIAS AVILES                           HC 2 BOX 46450                                                                                                      VEGA BAJA          PR         00693
  154452 ENID MERCADO DECLET                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  154453 ENID MERCADO SERRANO                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  647341 ENID MILLAND VIGIO                           COUNTRY CLUB                 MA 20 CALLE 401                                                                        CAROLINA           PR         00982
  647342 ENID MIRANDA MALDONADO                       P O BOX 21365                                                                                                       SAN JUAN           PR         00928
  647344 ENID MOLINA REYES                            MCS 69                       PO BOX 4020                                                                            ARECIBO            PR         00612
  154454 ENID MOLINARY CINTRON                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  154455 ENID MONTANEZ MARRERO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  154456 ENID MORALES ROMERO                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  647345 ENID MUNOZ PAGAN                             P O BOX 1283                 TMS 468                                                                                SAN LORENZO        PR         00754

   647346 ENID N ARIAS VEGA                           60 BAJOS CALLE DON CHEMARY                                                                                          MOCA               PR         00676
                                                      AVE MUNOZ MARIN URB
   647347 ENID N FIGUEROA ROQUE                       MARIOLGA                     W 2 CALLE 21                                                                           CAGUAS             PR         00725
   647349 ENID N VILLEGAS VILLEGAS                    URB PARQUE ECUESTRE          AB 17 CALLE 31                                                                         CAROLINA           PR         00987
   647351 ENID NEREIDA CORREA                         PARC FALU                    213 C/ 43                                                                              SAN JUAN           PR         00917
   647352 ENID ORTA LISOJO                            URB JARD DE BAYAMONTE        1 CALLE TUCAN                                                                          BAYAMON            PR         00956
   154457 ENID ORTIZ AGOSTINI                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   647353 ENID ORTIZ/OSVALDO VENEGAS                  SECTOR CAMASEYES             CARR 872 KM 3 SABANA SECA                                                              TOA BAJA           PR         00952
   154458 ENID PACHECO RUIZ                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647355 ENID PAGAN FONTAN                           COND ROSAMAR 220             CALLE ROSARIO APT 3 D                                                                  SAN JUAN           PR         00912
   647356 ENID PAGAN TORRES                           HC 1 BOX 25322                                                                                                      CAGUAS             PR         00725
   647357 ENID PARRILLA RIVERA                        URB JUAN MENDOZA             30 CALLE 1                                                                             NAGUABO            PR         00718
   647358 ENID PEREZ HERNANDEZ                        BDA CATALANA                 54 CALLE 4                                                                             BARCELONETA        PR         00617
   154461 ENID QUINONES GONZALEZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647360 ENID R SANTANA ORTIZ                        P O BOX 5198                                                                                                        MAYAGUEZ           PR         00681‐5198
   154463 ENID R TORO VEGA                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154464 ENID REYES CORREA                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154465 ENID REYES DOMINGUEZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647363 ENID RIVERA                                 HC 1 BOX 8226                                                                                                       SALINAS            PR         00751
          ENID RIVERA /NELVIS
   154466 RIVERA/JOSE RIVERA                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154467 ENID RIVERA JIMENEZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154468 ENID RIVERA MERCADO                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647366 ENID RIVERA OCASIO                          PO BOX 1334                                                                                                         CIDRA              PR         00739
   154469 ENID RIVERA TUBENS                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647368 ENID RODRIGUEZ                              PO BOX 878                                                                                                          SAN GERMAN         PR         00683
   647369 ENID RODRIGUEZ DE LEON                      PO BOX 3288                                                                                                         JUNCOS             PR         00777
   647370 ENID RODRIGUEZ GARCED                       HC 1 BOX 7845                                                                                                       AGUAS BUENAS       PR         00703
   647371 ENID RODRIGUEZ GEORSI                       BDA BORINQUEN                210 CALLE C 5 INT                                                                      PONCE              PR         00731
   647372 ENID RODRIGUEZ GONZALEZ                     RR 1 BOX 12990                                                                                                      TOA ALTA           PR         00953
   154470 ENID RODRIGUEZ LOPEZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647373 ENID RODRIGUEZ MOLINA                       PASEO REAL                   B 2 CALLE A                                                                            SAN JUAN           PR         00926
   154471 ENID RODRIGUEZ NEGRON                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154472 ENID RODRIGUEZ RODRIGUEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647379 ENID RODRIGUEZ SANTANA                      PO BOX 632                                                                                                          MOROVIS            PR         00687
   154474 ENID ROMAN MERCADO                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154476 ENID ROSADO NEGRON                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647380 ENID ROSARIO COLON                          3825 COLORADO DRIVE                                                                                                 HOPE MILLS         NC         28348
   647381 ENID ROSARIO GOMEZ                          HC 01 BOX 4446                                                                                                      NAGUABO            PR         00718‐9716
                                                                                EDIF 401 APT 402 UNIVERSITY
   647383 ENID RUIZ RODRIGUEZ                         CONDOMINIO COLUMBIA PLAZA GARDENS                                                                                   RIO PIEDRAS        PR         00927



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  647384 ENID RUIZ VERA                               URB MONTE BRISAS III          3P3 CALLE 106                                                                           FAJARDO            PR         00738
  154477 ENID S COLON LOPEZ                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  154480 ENID S RODRIGUEZ BINET                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  647387 ENID SANCHEZ VARGAS                          P O BOX 3252                                                                                                          GUAYNABO           PR         00970
  647388 ENID SANCHEZ VELEZ                           URB VILLA PINARES             422 CALLE PASEO CLARO                                                                   VEGA BAJA          PR         00693
                                                      715 CALLE FRANCISCO GARCIA
   647390 ENID SANTIAGO MORALES                       FARIA                                                                                                                 DORADO             PR         00646
   154481 ENID SANTIAGO SAEZ                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154482 ENID SERRANO FLAISHER                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647393 ENID SERRANO ORTIZ                          PARC PALMAS ALTAS             BZN 11 A CARR 140                                                                       BARCELONETA        PR         00617
   647394 ENID SOTO MENDEZ                            RR 2 BOX 184                                                                                                          SAN JUAN           PR         00926
   154483 ENID STEPANOF                               REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647396 ENID T PEREZ SOTO                           BOX 789                                                                                                               HUMACAO            PR         00792

   647397 ENID TORREGROSA DE LA ROSA                  78 CALLE KING COURT APTO 3B                                                                                           SAN JUAN           PR         00911‐1655
   154484 ENID TORRES LUGO                            REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647398 ENID TORRES RIVERA                          HC 71 BOX 3122                                                                                                        NARANJITO          PR         00719
   154485 ENID TORRES ROBLEDO                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647399 ENID V LOPEZ ORTIZ                          EXT CAMPO ALEGRE              F4 CALLE 16                                                                             BAYAMON            PR         00956
   154486 ENID V MADERA TORO                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647401 ENID V RIVERA LOPEZ                         SABANA LLANA                  438 CALLE CAMBAY                                                                        SAN JUAN           PR         00927
   154487 ENID V.MELENDEZ CORREA                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647402 ENID VALENTIN COLLAZO                       RR 3 BOX 2073                                                                                                         NAGUABO            PR         00718

   647403 ENID VANESSA NIEVES MENDEZ                  HC 5 BOX 54301                                                                                                        HATILLO            PR         00659
   154488 ENID VARGAS DEL VALLE                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154489 ENID VARGAS RIVERA                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647239 ENID VAZQUEZ ALVIRA                         URB VALLE ALTO                P 15 CALLE 24                                                                           PONCE              PR         00731
   154490 ENID VELAZQUEZ                              REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154491 ENID VERA ACEVEDO                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154492 ENID VILA RIVERA                            REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154493 ENID VILLAFANE FIGUEROA                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154494 ENID W DEGRO MARFISI                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      6401 CALLE DOLORES CRUZ STE
   647405 ENID X VAZQUEZ BATISTA                      70                                                                                                                    SABANA SECA        PR         00952
   647406 ENID Y CASTILLO BONILLA                     URB VISTA ALEGRE              204 CALLE AMAPOLA                                                                       VILLALBA           PR         00766
   647408 ENID Y GARCIA NIEVES                        URB BAYAMON GARDENS           Q 26 CALLE 13                                                                           BAYAMON            PR         00957
   647409 ENID Y LLABRES SANTANA                      5TA SECC LEVOTTOWN LAKE       BG 17 CALLE DR J.A. DAVILA                                                              TOA BAJA           PR         00949
   154495 ENID Y RIVERA HERNANDEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154496 ENID Y VILLEGAS HENRIQUEZ                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   154497 ENID Y. CANDELARIA WILLIAMS                 REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154500 ENID Z LACEN PIZARRO                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647411 ENID Z QUILES DIAZ                          URB VILLAS DE LOIZA           D25 CALLE 2                                                                             CANOVANAS          PR         00729
   154501 ENID Z.QUILES DIAZ                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   647412 ENID ZAVALA RODRIGUEZ                       HC 5 BOX 59193                                                                                                        CAGUAS             PR         00725
   154502 ENID ZURITA RODRIGUEZ                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154503 ENIDCILIA SOTO CAMACHO                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      BAYAMON GARDENS SANS
   647413 ENIDCY SANTIAGO MORALES                     SOUCCI                        F 6 CALLE 10                                                                            BAYAMON            PR         00957

   154504 ENIDSABEL TORRES RODRIGUEZ                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   154505 ENIEL RODRIGUEZ DIAZ                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  647417 ENIEL TORRES OJEDA                           PO BOX 456                                                                                                              SAN GERMAN        PR           00683

   154506 ENIGNA VIDEO SYSTEMS CORP                   PO BOX 79                                                                                                               CAYEY             PR           00737
   647418 ENILDA COLON SOSTRE                         P O BOX 4163                                                                                                            VEGA BAJA         PR           00693

   647422 ENILDA MARTINEZ RODRIGUEZ                   PO BOX 190994                                                                                                           SAN JUAN          PR           00919‐0994
   647424 ENILDA ORTIZ RODRIGUEZ                      VILLA INTERAMERICANA         A 29 CALLE 1                                                                               SAN GERMAN        PR           00683‐4267
   647425 ENILDA ROBLES VALENCIA                      URB SANTA ROSA               23 BLQ 23 CALLE 18                                                                         BAYAMON           PR           00959 6519
   154507 ENILDA RODRIGUEZ PAGAN                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   154509 ENILL MONTALVO MORALES                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   647426 ENIO MIRANDA SOTO                           URB SUMMITT HILLS            1758 CALLE ADAMS                                                                           SAN JUAN          PR           00920‐4367
   154511 ENIO R FERRIS TORRES                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   154512 ENIO R SUASNAVAR TORRES                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   154513 ENIO RAFAEL SEPULVEDA ORTIZ                 REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   154514 ENIO REFRIGERATOR SERVICES                  CARR 861 B 21 SIERRA LINDA                                                                                              BAYAMON           PR           00957
   154515 ENIO RUSSEN PENA                            REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   647429 ENIS CASTRO ALGARIN                         VILLA COOPERATIVA            7 1 CALLE 4                                                                                CAROLINA          PR           00985
   154516 ENITH A BANCHS VINAS                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   647431 ENITH M FONTANEZ VICENTE                    MANSIONES DE LOS CEDROS      BZN 16 K 7                                                                                 CAYEY             PR           00736
   154517 ENITH M VALDES ORTIZ                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   154518 ENITH MULERO ALGARIN                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   154519 ENITYASET RODRIGUEZ SANTOS                  REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   154520 ENITZA CABAN GONZALEZ                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   154521 ENITZA CRUZ CORREA                          REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   154522 ENITZA M CRUZ MEDINA                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   647432 ENITZA MIRANDA PAGAN                        HC 01 BOX 6872                                                                                                          CIALES            PR           00638
   647433 ENITZA ORTIZ VIERA                          RR 2 BOX 481                                                                                                            SAN JUAN          PR           00926‐9715
   154523 ENITZA TORRES ROSA                          REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   154524 ENIVELISSE VAZQUEZ BURGOS                   REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   154525 ENIVELYS BETANCOURT APONTE                  REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   154526 ENJOLRAS ALICEA CINTRON                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   647434 ENJOYMENT INC                               PO BOX 594                                                                                                              TRUJILLO ALTO     PR           00977
          ENLACE MERCANTIL
   154528 INTERNATIONAL                               REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   647437 ENMANUEL LOPEZ                              BO BORINQUEN                 2623 SECTOR PLAYUELA                                                                       AGUADILLA         PR           00603
   154530 ENMARCADOS ALEGRES                          REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
                                                                                   Calle 54 SE 1101 Esq. Americo
   831344 Enmarcados Sunemy                           Enmarcados Sunemy            Miranda                                                                                    San Juan          PR           00921
   647439 ENNA MALDONADO TORRES                       JARDINES DEL CARIBE          108 CALLE WEST MAIN                                                                        PONCE             PR           00728
   647440 ENNA NIGAGLIONI ACOSTA                      URB SAN FRANCISCO II         162 CALLE SAN JUAN                                                                         YAUCO             PR           00698
   154531 ENNA RODRIGUEZ VAZQUEZ                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   647441 ENNE FILM PRODUCTION INC                    URB CASTELLANA GARDENS       D4 CALLE 3                                                                                 CAROLINA          PR           00983
   647442 ENNEDY RODRIGUEZ COTTO                      PO BOX 7126                                                                                                             PONCE             PR           00732
   154532 ENNIE CARTAGENA MUNOZ                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   647443 ENNIE J HERNANDEZ ORTIZ                     PO BOX 533                                                                                                              TOA BAJA          PR           00951
   154533 ENNIO A GAUD FIGUEROA                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   154534 ENNIO BELLIA FIGHERA                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   154537 ENNIS APRN , KATHLEEN A                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  154540 ENNOVETION CORP                              LOIZA VALLEY                   A 55 CALLE ROSA                                                                       CANOVANAS        PR           00729

   647444 ENNRIQUE GUZMAN MELENDEZ                    PO BOX 11855                                                                                                         SAN JUAN         PR           00910‐3855
   154541 ENNY DE JESUS URENA                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   154542 ENNYS L LOPEZ RIVERA                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   154543 ENOC AYALA HERNANDEZ                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   154544 ENOC AYALA VILLANUEVA                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   154545 ENOC CRESPO ELLIN                           REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   154546 ENOC DANIEL CINTRON RIVERA                  REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   647446 ENOC DIAZ CRUZ                              PO BOX 70166                                                                                                         SAN JUAN         PR           00936‐8166
   647448 ENOC ECHEVARRIA RIVERA                      BOX 560273                                                                                                           GUAYANILLA       PR           00656
   647449 ENOC F RAMOS PEREZ                          P O BOX 40918                                                                                                        SAN JUAN         PR           00940
   154548 ENOC G RAMOS LIZARDI                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   647450 ENOC MENDEZ BORRERO                         BO DULCES LABIOS               119 CALLE RAFAEL CINTRON                                                              MAYAGUEZ         PR           00680
   154549 ENOC POMALES CASTELLANO                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   154550 ENOC RAMOS CANCEL                           REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   154551 ENOC TORRES ROBLES                          REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   154552 ENOCK CEDENO SANTIAGO                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   647452 ENOCK SANCHEZ MARTINEZ                      HC 3 BOX 13193                                                                                                       YAUCO            PR           00698
   647454 ENOEL GONZALEZ GONZALEZ                     P O BOX 646                                                                                                          MOCA             PR           00676
   154553 ENOEL SANCHEZ ROMAN                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   154554 ENORY HERNANDEZ RODRIGUEZ                   REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   154555 ENOS E PIZARRO HERNANDEZ                    REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   647456 ENOS RODRIGUEZ ROMAN                        HC 6 BOX 10044                                                                                                       HATILLO          PR           00659
   647458 ENRICO ARCE HERNANDEZ                       BAYAMON GARDENS STATION        PO BOX 4102                                                                           BAYAMON          PR           00958

   647459 ENRICO JOSE REYMUNDI ZAYAS                  CUPEY GARDENS                  J 1 CALLE 11                                                                          SAN JUAN         PR           00926
   154558 ENRICO SARTORI                              REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   154562 ENRIQUE A BALLADARES                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   647465 ENRIQUE A BECERRA                           COND PLAZA SUCHVILLE APT 222                                                                                         BAYAMON          PR           00957
          ENRIQUE A CABALLERO
   647466 BATISTINI                                   URB COUNTRY CLUB               QA25 CALLE 526                                                                        CAROLINA         PR           00982
   154563 ENRIQUE A COLLAZO SUAREZ                    REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   154565 ENRIQUE A DE JESUS SANCHEZ                  REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   154566 ENRIQUE A EMMANUELLI ORTIZ REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   647467 ENRIQUE A FIGUEROA VARGAS                   HC 1 BOX 9328                                                                                                        TOA BAJA         PR           00949
   154567 ENRIQUE A GONZALEZ TORO                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   647468 ENRIQUE A LAGUERRE                          UPR STATION                    PO BOX 22114                                                                          SAN JUAN         PR           00931
   154569 ENRIQUE A NANITA CASTILLO                   REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   647470 ENRIQUE A OGANDO                            A 5 CALLE ESPANA                                                                                                     BAYAMON          PR           00959
   154570 ENRIQUE A PAOLI ORTIZ                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   154571 ENRIQUE A PEREZ ACEVEDO                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   154572 ENRIQUE A RODRIGUEZ                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   154573 ENRIQUE A RODRIGUEZ ALAMO                   REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   647472 ENRIQUE A RODRIGUEZ SOSA                    PO BOX 781                                                                                                           ISABELA          PR           00662




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          ENRIQUE A ROSAS / RONALDO
   647473 RAMIREZ                                     PO BOX 202                                                                                                          SAN GERMAN          PR           00683
   647474 ENRIQUE A SANTIAGO PAGAN                    PO BOX 1335                                                                                                         CIALES              PR           00638
   647475 ENRIQUE A SILVA RODRIGUEZ                   PO BOX 5946                                                                                                         MAYAGUEZ            PR           00681
   647476 ENRIQUE A VICENS SASTRE                     PO BOX 870                                                                                                          PONCE               PR           00733
   154574 ENRIQUE A. CARDONA                          REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154576 ENRIQUE ABRUNA LOJO                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647478 ENRIQUE ACOSTA PASTRANA                     URB EL VIGIA 13            CALLE SANTA BEDA                                                                         SAN JUAN            PR           00926
   647479 ENRIQUE ACOSTA PEREZ                        P O BOX 1176                                                                                                        ADJUNTAS            PR           00601
   154577 ENRIQUE ADAMES SOTO                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647481 ENRIQUE ADORNO BONILLA                      VILLA ROCA                 I6 CALLE 23                                                                              MOROVIS             PR           00687
   647482 ENRIQUE ADORNO MARTINEZ                     359 PARQUE DEL SOL                                                                                                  BAYAMON             PR           00959

   647483 ENRIQUE AFANADOR AFANADOR CIUDAD JARDIN                                229 CALLE GUADALUPE                                                                      TOA ALTA            PR           00953

   647484 ENRIQUE AGRAMONTE ROBLES                    COND PONCE DE LEON         APT 703 VILLA CAPARRA                                                                    GUAYNABO            PR           00966
   154578 ENRIQUE ALCARAZ MICHELI                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647485 ENRIQUE ALFARO ACEVEDO                      AVE AGUSTIN RAMOS CALERO   BUZON 7097                                                                               ISABELA             PR           00662
   154579 ENRIQUE ALMEIDA ALONSO                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   647486 ENRIQUE ALMESTICA DUMENG                    VILLA EL SALVADOR          N 70 CALLE 4                                                                             SAN JUAN            PR           00921

   647487 ENRIQUE ALVARADO CAMACHO D 68 URB RIO HONDO                                                                                                                     BAYAMON             PR           000961

   154580 ENRIQUE ALVARADO HERNADEZ                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154581 ENRIQUE AMADOR BRAVO                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647488 ENRIQUE AMARO RIVAS                         URB BONNEVILLE HEIGHTS     15 10 CALLE VIEQUES                                                                      CAGUAS              PR           00725
   154582 ENRIQUE APONTE VALENTIN                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647489 ENRIQUE AQUINO SANTANA                      SANTIAGO IGLESIAS          1766 CALLE ALONSO                                                                        SAN JUAN            PR           00921
   154583 ENRIQUE ARIAS MALDONADO                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647490 ENRIQUE ARROYO VELEZ                        URB FOREST VIEW            N 144 CALLE UTUADO                                                                       BAYAMON             PR           00956
   154584 ENRIQUE ARVELO BRITO                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154585 ENRIQUE AYALA REYES                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   647494 ENRIQUE BAEZ GOMEZ                          LOS CEDROS                 168 CALLE SAN JORGE APT 401                                                              TRUJILLO ALTO       PR           00976
   154587 ENRIQUE BAEZ GONZALEZ                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ENRIQUE BALASQUIDE
   647495 CAMACHO                                     VILLA CAROLINA             174‐7 CALLE 443                                                                          CAROLINA            PR           00985

   154588 ENRIQUE BALLESTAS CASANOVA REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   154591 ENRIQUE BALLESTER MELENDEZ REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647496 ENRIQUE BATISTA            P O BOX 5236                                                                                                                         CAROLINA            PR           00984
   647497 ENRIQUE BCUEVAS RUIZ       HC 03 BOX 10206                                                                                                                      LARES               PR           00669

   154592 ENRIQUE BERNABE RODRIGUEZ                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ENRIQUE BIRLICKI
   154593 WYPYCHYNSSHI                                REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647498 ENRIQUE BLANCO COLON                        URB PARQUE SAN MIGUEL      I 20 CALLE 7                                                                             BAYAMON             PR           00956
          ENRIQUE BLANES PALMER
   647499 DBA/EBP                                     DESIGN GROUP               1750 AVE FERNANDEZ JUNCOS                                                                SAN JUAN            PR           00909
   647500 ENRIQUE BORIA ROMERO                        859 CALLE VICTOR LOPEZ     PARADA 24                                                                                SAN JUAN            PR           00909
   154594 ENRIQUE BOSCH GOSALVEZ                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  647501 ENRIQUE BOYA SANDOVAL                        URB CONSTANCIA              885 CALLE CORTADA                                                                PONCE               PR           00717‐2203

   154595 ENRIQUE BURGOS RODRIGUEZ                    REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647502 ENRIQUE CABRERA RAMOS                       URB LA POLICIA              557 CALLE LAVIANA                                                                SAN JUAN            PR           00923 2124
   647504 ENRIQUE CALDERON                            AVE LOMAS VERDES            IF 46 ROYAL PALM                                                                 BAYAMON             PR           00956

   647505 ENRIQUE CALDERON OLIVERO                    BO CAMBALACHE               HC 01 BOX 6170                                                                   CANOVANAS           PR           00729
   154596 ENRIQUE CALERO CARRION                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   154597 ENRIQUE CAMACHO HUERTAS                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          ENRIQUE CAMACHO
   647507 MOSERRATE                                   ALTO APOLO STATE            B 5 CALLE D                                                                      GUAYNABO            PR           00969
   647508 ENRIQUE CAMACHO TORRES                      PO BOX 29347                                                                                                 SAN JUAN            PR           00929‐0347
          ENRIQUE CARABALLO / LUZ
   154598 MARCANO                                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647509 ENRIQUE CARABALLO RESTO                     VILLA CAROLINA              7 7 CALLE 30                                                                     CAROLINA            PR           00985
   647510 ENRIQUE CARABALLO RIVERA                    URB LEVITTOWN               3024 PASEO CALAMAR                                                               TOA BAJA            PR           00949

   154599 ENRIQUE CARBONELL MAMERY                    REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647511 ENRIQUE CARDONA CORTES                      ADM SERV GENERALES          P O BOX 7428                                                                     SAN JUAN            PR           00985
   154600 ENRIQUE CARMOEGA QUIROS                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          ENRIQUE CARRETERO
   647512 MALDONADO                                   5 CALLE PADRE PYKOSZ                                                                                         ARECIBO             PR           00612
   154601 ENRIQUE CARRILLO ARROYO                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   154602 ENRIQUE CARRION SEGARRA                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   154603 ENRIQUE CASTILLO GOMEZ                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   154604 ENRIQUE CHAVIER                             REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   647515 ENRIQUE CINTRON HERNANDEZ                   JDNES DE CAROLINA           J 29 CALLE J                                                                     CAROLINA            PR           00987 7135
   647516 ENRIQUE CINTRON SOTO                        5 CALLE GOYCO                                                                                                NAGUABO             PR           00718
          ENRIQUE CLEMENTE
   647517 HERNANDEZ                                   HC 645 BOX 5015                                                                                              TRUJILLO ALTO       PR           00976
   154605 ENRIQUE COLLAZO PELIZ                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647522 ENRIQUE COLON RODRIG                        P O BOX 1361                                                                                                 AIBONITO            PR           00705

   647523 ENRIQUE COLON SANTIAGO                      COND NEW SAN JUAN APT 405   6471 AVE ISLA VERDE                                                              CAROLINA            PR           00979
   154606 ENRIQUE CORCINO FUENTE                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647525 ENRIQUE CORREA PADILLA                      C 5 URB LAS MARIAS                                                                                           SALINAS             PR           00751
   154607 ENRIQUE CORTES RIVERA                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          ENRIQUE CORTES Y DORIS
   154609 ANDUJAR                                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647527 ENRIQUE COSTAS OLIVERA                      US MIL GP UNIT 4329                                                                                          APO                              34034‐4329
   647528 ENRIQUE COTO MEDINA                         URB EL ESCORIAL             S6 11 CALLE 6                                                                    SAN JUAN            PR           00926
   647531 ENRIQUE CRUZ CRUZ                           PO BOX 307                                                                                                   SABANA GRANDE       PR           00952
   647532 ENRIQUE CRUZ GUTIERREZ                      90 CALLE MUNOZ RIVERA                                                                                        CIALES              PR           00638
   647533 ENRIQUE CRUZ MARTINEZ                       VILLA BORINQUEN             J10 CALLE GUATIBIRI                                                              CAGUAS              PR           00725
   647534 ENRIQUE CRUZ MEDINA                         BOX 5‐171                                                                                                    ISABELA             PR           00662
   647535 ENRIQUE CRUZ MERCADO                        PMB 1569                    243 CALLE PARIS                                                                  SAN JUAN            PR           00917
   647536 ENRIQUE CRUZ OCASIO                         A‐60 CALLE ROSA                                                                                              CANOVANAS           PR           00729
   647530 ENRIQUE CRUZ RODRIGUEZ                      PO BOX 481                                                                                                   FAJARDO             PR           00738‐0481
   154610 ENRIQUE CRUZ VALI                           REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647538 ENRIQUE D CASTRO SEGUI                      HC 5 BOX 10573                                                                                               MOCA                PR           00676
   647540 ENRIQUE DE JESUS ORTIZ                      PO BOX 804                                                                                                   PONCE               PR           00731



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  154611 ENRIQUE DE LEON CRUZ                         REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   647542 ENRIQUE DEL ROSARIO RAMOS                   PO BOX 1802                                                                                                         OROCOVIS            PR         00720
   154612 ENRIQUE DELGADO CUEVAS                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   647544 ENRIQUE DELGADO MONTES                      URB JAIME L DREW          298 CALLE 1                                                                               PONCE               PR         00731
   154613 ENRIQUE DIAZ                                REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   647545 ENRIQUE DIAZ ALEJANDRO                      URB PONCE DE LEON 135     CALLE 23                                                                                  GUAYNABO            PR         00969
   154614 ENRIQUE DIAZ DE JESUS                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   154616 ENRIQUE DIAZ GARCIA                         REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   647547 ENRIQUE DIAZ MALDONADO                      BOX 170                                                                                                             AGUAS BUENAS        PR         00703
   647548 ENRIQUE DIAZ RIVERA                         URB BAYAMON GARDENS       KK 10 BAYAMON                                                                             BAYAMON             PR         00957
   154617 ENRIQUE DIAZ VELAZQUEZ                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   647549 ENRIQUE DOMINGUEZ CHILLON                   PO BOX 360375                                                                                                       SAN JUAN            PR         00936‐0375
   647550 ENRIQUE E SILVA VELEZ                       P O BOX 598                                                                                                         MAYAGUEZ            PR         00681
   154618 ENRIQUE E VELEZ RIVE                        REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   647551 ENRIQUE ECHEVARRIA ALICEA                   URB JARDINES DEL CARIBE   205 CALLE 2                                                                               PONCE               PR         00731
          ENRIQUE ENRIQUEZ H/N/C PR
   647552 IND UNIFORM                                 1 B 35 URB SANTA ELENA                                                                                              SABANA GRANDE       PR         00637
          ENRIQUE ESCOBAR / EDUARDO
   154619 ESCOBAR                                     REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   154620 ENRIQUE ESCOBAR RESTO                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   154621 ENRIQUE ESCUTER LUQUIS                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   647553 ENRIQUE ESTEBAN                             QUINTA DE DORADO          G 7 CALLE 4                                                                               DORADO              PR         00646
   154622 ENRIQUE ESTRADA GUZMAN                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   154623 ENRIQUE F BARED ATAMPAR                     REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   154624 ENRIQUE F CLAUDIO RODRIGUEZ REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   154625 ENRIQUE F FELICIANO ALVAREZ                 REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   154626 ENRIQUE F GARAY RIVERA                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   154627 ENRIQUE F GELPI                             REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   647554 ENRIQUE F HORTA CRUZ                        RIO CANAS                 2836 CALLE AMAZONAS                                                                       PONCE               PR         00731
   647555 ENRIQUE FEBUS SANTIAGO                      HC 43 BOX 11947                                                                                                     CAYEY               PR         00736

   647556 ENRIQUE FELICIANO SANTIAGO                  APARTADO 942                                                                                                        ADJUNTAS            PR         00601
   647557 ENRIQUE FELIX                               PO BOX 81 CSTED                                                                                                     ST CROIX            VI         00821‐0081
   154628 ENRIQUE FELIZ MOREY                         REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   647558 ENRIQUE FERNANDEZ JAQUETE                   URB TORRIMAR              6 10 AVE RAMIREZ DE ARELLANO                                                              GUAYNABO            PR         00966
   647559 ENRIQUE FERRER SANCHEZ                      BO TIBURON                BZN 65 CALLE 3                                                                            BARCELONETA         PR         00694
   647560 ENRIQUE FERRER VALDES                       PO BOX 19‐1658                                                                                                      SAN JUAN            PR         00919‐1658

   647561 ENRIQUE FIGUEROA FIGUEROA                   HC 02 BOX 10027                                                                                                     COROZAL             PR         00783
          ENRIQUE FIGUEROA
   154629 HERNANDEZ/ A M ELETRIC                      PO BOX 1212                                                                                                         MAYAGUEZ            PR         00681
   647460 ENRIQUE FIGUEROA PEREZ                      PO BOX 80105                                                                                                        COROZAL             PR         00783‐8105
   154630 ENRIQUE FIGUEROA RIVERA                     REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   154631 ENRIQUE FIGUEROA SERRANO                    REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   647562 ENRIQUE FIGUEROA SUAREZ                     2204 GENERAL PATTON                                                                                                 SAN JUAN            PR         00913
   647563 ENRIQUE FLORES BELEN                        URB LAGOS DE PLATA        L 56 CALLE 11                                                                             TOA BAJA            PR         00949‐3226
   647564 ENRIQUE FLORES FONTANEZ                     PO BOX 9100                                                                                                         SAN JUAN            PR         00908



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  647565 ENRIQUE FONTANA LLOPIS                       P O BOX 193179                                                                                                       SAN JUAN            PR           00919

   647566 ENRIQUE FRANCESCHI GONZALEZ HC 3 BOX 13894                                                                                                                       JUANA DIAZ          PR           00795‐9519
   154632 ENRIQUE FREIRIA UMPIERRE    REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   154633 ENRIQUE G DE TORRES COLON                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647568 ENRIQUE G ESCALERA AYRA                     LAS VEREDAS                 B 5 VEREDAS DEL MAR                                                                      BAYAMON             PR           00961
   154634 ENRIQUE G PEREZ PRADO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          ENRIQUE GALARZA Y YOLANDA
   154636 GALARZA                                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   154637 ENRIQUE GARCIA CHAPARRO                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   154638 ENRIQUE GARCIA HERNANDEZ                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   154639 ENRIQUE GARCIA SERRANO                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647573 ENRIQUE GARCIA SOTO                         PLAZA DE LAS FUENTES        1223 FINLANDIA                                                                           TOA ALTA            PR           00953
   154640 ENRIQUE GARCIA TORRES                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647574 ENRIQUE GARCIA VALDES                       PO BOX 70250‐278                                                                                                     SAN JUAN            PR           00936‐8250
   154642 ENRIQUE GASCOT IZQUIERDO                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647576 ENRIQUE GENERO MAREIRA                      URB LAS MERCEDES            A17 CALLE 2                                                                              LAS PIEDRAS         PR           00771
   154643 ENRIQUE GERENA NUNEZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   154644 ENRIQUE GODINEZ MORALES                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647578 ENRIQUE GONZALEZ                            HC 2 BOX 34687                                                                                                       CAGUAS              PR           00725
   647579 ENRIQUE GONZALEZ MARTI                      PO BOX 372347                                                                                                        CAYEY               PR           00737
   154645 ENRIQUE GONZALEZ ORTIZ                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   154648 ENRIQUE GOZALEZ MARRERO                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   647580 ENRIQUE GUIETS FERNANDEZ                    COND BRISAMAR               706 CALLE JSOE MARTI APT 2B                                                              SAN JUAN            PR           00907
   647581 ENRIQUE GUTIERREZ COLON                     182 CALLE DOMINGO COLON                                                                                              AIBONITO            PR           00705
   647583 ENRIQUE GUZMAN TORRES                       P O BOX 2281                                                                                                         ISABELA             PR           00622

   647585 ENRIQUE H HERNANDEZ ORTIZ                   URB FLAMINGO HILLS          216 CALLE 7                                                                              BAYAMON             PR           00957

   154649 ENRIQUE HERNANDEZ CORTES                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   647587 ENRIQUE HERNANDEZ CRESPO                    EGIDA DEL ABOGADO APT 202                                                                                            SAN JUAN            PR           00918
   647588 ENRIQUE HERNANDEZ PAGAN                     BOX 180                                                                                                              FLORIDA             PR           00650
   154650 ENRIQUE HIDALGO GALARZA                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647589 ENRIQUE HUERTAS RIVERA                      HC 2 BOX 7957                                                                                                        CIALES              PR           00638
   647590 ENRIQUE HUGHET TIRADO                       PARCELAS ESTELAS            2505 CALLE 14                                                                            RINCON              PR           00677
   647591 ENRIQUE HUGUET VICENTE                      P O BOX 1259                                                                                                         RINCON              PR           00677
   154651 ENRIQUE I LOPEZ LOPEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   154652 ENRIQUE IRIZARRY SAN MIGUEL REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   647592 ENRIQUE J ARANA ADORNO                      232 AVE ELEONOR ROOSEVELT                                                                                            SAN JUAN            PR           00907
   154654 ENRIQUE J COLON MOJICA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   154655 ENRIQUE J LANDRON NAVAS                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          ENRIQUE J LOPEZ ORTIZ Y
   154656 CARMEN M GARCIA                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          ENRIQUE J MARTINEZ
   154657 BERMUDEZ                                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   154658 ENRIQUE J MENDOZA MENDEZ                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  647594 ENRIQUE J MORALES COLON                      URB REXVILLE CD            52 CALLE 21 A                                                                              BAYAMON             PR         00960
  154659 ENRIQUE J PEREZ ALVAREZ                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  647595 ENRIQUE J PRIETO GONZALEZ                    409 JARDS DE MONTEHIEDRA                                                                                              SAN JUAN            PR         00926
  154660 ENRIQUE J RIVERA ORTIZ                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         ENRIQUE J RODRIGUEZ
  154661 GONZALEZ                                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  647596 ENRIQUE J SALVAT ARAGON                      PO BOX 5132                                                                                                           CAROLINA            PR         00984‐5132
  154662 ENRIQUE J TORRES ROCHE                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  154663 ENRIQUE JARA PINO                            REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  154664 ENRIQUE JIMENEZ                              REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  647598 ENRIQUE JIMENEZ GONZALEZ                     BOX 1481                                                                                                              LARES               PR         00669
  647461 ENRIQUE JIMENEZ IV                           GALLARDO GARDENS           D 6 VILLA CAPARRA                                                                          GUAYNABO            PR         00966
  647600 ENRIQUE JIMENEZ RIVERA                       BO SAN FELIPE              PDA 10 BUZON 2190                                                                          AGUIRE              PR         00704
         ENRIQUE JOSE HERNANDEZ
  154665 ORTEGA                                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  154666 ENRIQUE JOVE JIMENEZ                         REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  154667 ENRIQUE JULIA RAMOS                          REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   154669 ENRIQUE JURADO RODRIGUEZ                    REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   154670 ENRIQUE L DOMINGUEZ NIEVES                  REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   647601 ENRIQUE L ORTIZ REYES                       URB VILLA DEL CARMEN       JJ 4 CALLE 14                                                                              PONCE               PR         00731
          ENRIQUE L RODRIGUEZ
   647602 RODRIGUEZ                                   BO QUEBRADA ARENAS         BOX 380                                                                                    TOA ALTA            PR         00953

   647603 ENRIQUE L SOTOMAYOR MATOS                   PO BOX 10346                                                                                                          PONCE               PR         00732
   647604 ENRIQUE LABOY COLON                         VILLAS DE BUENA VENTURA    241 CALLE LUQUILLO                                                                         YABUCOA             PR         00767‐9553
   647605 ENRIQUE LABOY MARTINEZ                      URB JAIME C RODRIGUEZ      L4 CALLE 6                                                                                 YABUCOA             PR         00767
   647606 ENRIQUE LAGUERRE                            PO BOX 22114                                                                                                          SAN JUAN            PR         00926

   647608 ENRIQUE LARACUENTE MERCED 39 CAMINO LOS FIGUEROA                                                                                                                  SAN JUAN            PR         00926
   154672 ENRIQUE LAUSELL CARRION   REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   647609 ENRIQUE LAZARO LEON                         COND ATRIUM PLAZA          230 ARTERIAL HOSTOS APT 206 E                                                              SAN JUAN            PR         00918
   647610 ENRIQUE LEFEVRE RAMOS                       1050 AVE LOS CORAZONES     SUITE 102                                                                                  MAYAGUEZ            PR         00680‐7042
   647611 ENRIQUE LIZARDI ORTIZ                       HC 7 BOX 2398                                                                                                         PONCE               PR         00731
   154673 ENRIQUE LLANOS RIVERA                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ENRIQUE LLANTIN RIVERA DBA
   154674 WEST PEST                                   CONTRO PR                  URB PUERTA DE COMBATE           BUZON 170                                                  BOQUERON            PR         00622‐1230
   154675 ENRIQUE LLUCH FRONTERA                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   154676 ENRIQUE LOPEZ MOLINA                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   647612 ENRIQUE LOPEZ REBOLLO                       RES LAS MARGARITAS         EDF 9 APTO 512                                                                             SAN JUAN            PR         00915
   647613 ENRIQUE LOPEZ ROMAN                         URB VILLA DEL RIO          B 3 CALLE 1                                                                                GUAYANILLA          PR         00656
   647462 ENRIQUE LOPEZ ROSARIO                       URB SANTA TERESA           2 CALLE PARIS                                                                              MANATI              PR         00674‐9800
   647614 ENRIQUE LOPEZ SUAREZ                        PO BOX 7004 STE 125                                                                                                   VEGA BAJA           PR         00694‐7004
   154677 ENRIQUE LOPEZ VARGAS                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   647615 ENRIQUE LUGO LUGO                           C345 URB PERLA DEL SUR                                                                                                PONCE               PR         00731
   154679 ENRIQUE LUIS PINEIRO                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   647616 ENRIQUE LUNA ACOSTA                         P O BOX 3361                                                                                                          CAYEY               PR         00737
   647617 ENRIQUE M ALMEIDA BERNAL                    P O BOX 191757                                                                                                        SAN JUAN            PR         00919‐1757
   154680 ENRIQUE M FERRER                            REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ENRIQUE M HERNANDEZ
   647619 BERRIOS                                     URB VALPARAISO             D 32 CALLE 9                                                                               TOA BAJA            PR         00949



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  154681 Enrique M. Lopez Perez                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  647620 ENRIQUE MACHIN                               URB LA MONSERRATE         D 13 CALLE MARGINAL                                                                      HORMIGUEROS       PR         00660
  154682 ENRIQUE MAESTRE VEGA                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         ENRIQUE MALDONADO
  154683 ANDUJAR                                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         ENRIQUE MALDONADO
  154684 HERNANDEZ                                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         ENRIQUE MALDONADO
  647625 MALDONADO                                    P O BOX 130                                                                                                        BARRANQUITAS      PR         00794
  154686 ENRIQUE MANGUAL FLORES                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   154687 ENRIQUE MANGUAL MORALES                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   154688 ENRIQUE MANUEL NAVARRETE                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   647627 ENRIQUE MARIN MERINO                        COND CAMINOS VERDES       1401 CARR 844 APT 607                                                                    SAN JUAN          PR         00926
   647463 ENRIQUE MARQUEZ CRUZ                        URB SANTA JUANITA         AE 39 CALLE 35                                                                           BAYAMON           PR         00956
   647629 ENRIQUE MARRERO VIRELLA                     URB MARIA DEL CARMEN      J 8 CALLE 10                                                                             CORZAL            PR         00783
   647631 ENRIQUE MARTIN CAMACHO                      GUANIQUILLA               CARR 307 KM 5 6 INT                                                                      CABO ROJO         PR         00622
   647632 ENRIQUE MARTINEZ AVILES                     PO BOX 951                                                                                                         SABANA GRANDE     PR         00637
   647633 ENRIQUE MARTINEZ BENITEZ                    RR 3 BOX 5230                                                                                                      SAN JUAN          PR         00928

   647634 ENRIQUE MARTINEZ CALDERON PO BOX 10525                                                                                                                         SAN JUAN          PR         00922
   647636 ENRIQUE MARTINEZ CORTES   PO BOX 5085                                                                                                                          CAROLINA          PR         00984‐5085

   647637 ENRIQUE MARTINEZ MARTINEZ                   URB COUNTRY CLUB          N 10 AVE COMANDANTE                                                                      CAROLINA          PR         00982

   647638 ENRIQUE MARTINEZ RODRIGUEZ URB HIPODROMO 1461                         CALLE HUMACAO                                                                            SAN JUAN          PR         00907

   154689 ENRIQUE MARTINO BERMUDEZ                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   647639 ENRIQUE MATTEI CINTRON                      PO BOX 1116                                                                                                        CABO ROJO         PR         00623
   647640 ENRIQUE MEDINA RAMOS                        RES LUIS LLORENS TORRES   EDIF 15 APT 31                                                                           SAN JUAN          PR         00915

   647641 ENRIQUE MELENDEZ                            PRO VENTAS                594 AVE HOSTOS URB BALDRICH                                                              SAN JUAN          PR         00918

   647643 ENRIQUE MELENDEZ CAMACHO                    RR 01 BOX 907                                                                                                      A¥ASCO            PR         00610
          ENRIQUE MELENDEZ
   154690 CARTAGENA                                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ENRIQUE MELENDEZ
   647644 FRANCISQUINI                                P O BOX 206                                                                                                        PUERTO REAL       PR         00740‐0206
   154691 ENRIQUE MELENDEZ GARCIA                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ENRIQUE MENDEZ LORENZO Y
   154692 JESSICA M ROMAN                             REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   154693 ENRIQUE MILLAN RAMOS                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   647645 ENRIQUE MIRANDA MARTINEZ                    PARC MARQUEZ              26 LOS PINOS                                                                             MANATI            PR         00674
   154694 ENRIQUE MOLINA CUEVAS                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   154695 ENRIQUE MONTES ROLDAN                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   647647 ENRIQUE MORALES MORALES                     COND LOMAS DE SANTA MARTA PISO 308                                                                                 SAN GERMAN        PR         00683
   154696 ENRIQUE MORALES NAVARRO                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   647648 ENRIQUE MORALES RIVERA                      PO BOX 41                                                                                                          MOCA              PR         00676
   154698 ENRIQUE N VELA COLON                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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   154699 ENRIQUE NASSAR & ASOCIADOS                  REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647464 ENRIQUE NASSAR RIZER                        PO BOX 19017                                                                                                 SAN JUAN            PR           00919 1017
   154700 ENRIQUE NAZARIO OLIVERAS                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647649 ENRIQUE NAZARIO ROSAS                       P O BOX 862                                                                                                  GUANICA             PR           00653
   154701 ENRIQUE NIEVES                              REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154702 ENRIQUE NIEVES HERNANDEZ                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154704 ENRIQUE NIGGEMANN                           REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   154705 ENRIQUE O FIGUEROA SANTIAGO REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647652 ENRIQUE OCASIO VELAZQUEZ    URB SAN ANTONIO                        F37 CALLE 6                                                                           CAGUAS              PR           00725‐2061
                                      COND TOWERS PLAZA SANTA
   647653 ENRIQUE OLIVERAS HUERTAS    CRUZ                                   10 CALLE LA ROSA APT 306                                                              BAYAMON             PR           00961
   154706 ENRIQUE ORENGO ANCIANI      REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647654 ENRIQUE ORIOL GONZALEZ      P O BOX 7428                                                                                                                 SAN JUAN            PR           00916
   154707 ENRIQUE ORTIZ GUERRA        REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647656 ENRIQUE ORTIZ KIDD          EXT SANTA MARIA                        85 CALLE LIMONCILLO                                                                   SAN JUAN            PR           00927‐6603
   647658 ENRIQUE ORTIZ NIEVES        VILLA DE CASTRO                        114A CALLE 7                                                                          CAGUAS              PR           00725
   154708 ENRIQUE ORTIZ RODRIGUEZ     REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647660 ENRIQUE ORTIZ TORRES        P O BOX 40302                                                                                                                SAN JUAN            PR           00940‐0302
   647662 ENRIQUE ORTIZ VEGA          HC 1 BOX 5120                                                                                                                ADJUNTAS            PR           00601

   154711 ENRIQUE OSORIO CONCEPCION                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154712 ENRIQUE OSORIO JULIO                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ENRIQUE PACHECO CAMACHO/
   154713 EP ENERGY LLC                               QUINTAS DE CABO ROJO   196 CALLE CANARIO                                                                     CABO ROJO           PR           00623
   154714 ENRIQUE PAGAN                               HC‐01 BOX 8001                                                                                               SANTA ISABEL        PR           00757

   154715 ENRIQUE PAGAN BEAUCHAMP                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647664 ENRIQUE PAGAN CARABALLO                     PLAYA GUAYANILLA       HC 01 BOX 5964                                                                        GUAYANILLA          PR           00656
   154716 ENRIQUE PAGAN ZAMBRANA                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154717 ENRIQUE PASARELL JULIAO                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647667 ENRIQUE PELAYO ROQUE                        LOMAS VERDES           3P 12 CALLE JOBOS                                                                     BAYAMON             PR           00956
   647668 ENRIQUE PELLOT CORDOVA                      PO BOX 21531           RIO PIEDRA STATION                                                                    SAN JUAN            PR           00928
   647670 ENRIQUE PEREZ CUBA                          HC 02 BOX ALONSO                                                                                             UTUADO              PR           00641
   647671 ENRIQUE PEREZ DE LA TORRE                   MSC 154 BOX 5103                                                                                             CABO ROJO           PR           00623
   647672 ENRIQUE PEREZ DIAZ                          P O BOX 394                                                                                                  RIO GRANDE          PR           00745
   154720 ENRIQUE PEREZ FIGUEROA                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647673 ENRIQUE PEREZ FLORES                        HC 04 BOX 49657                                                                                              CAGUAS              PR           00725 9644
   154721 ENRIQUE PEREZ QUIJANO                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647674 ENRIQUE PEREZ ROSADO                        URB ALTO APOLO         47 CALLE ESPARTA                                                                      GUAYNABO            PR           00969‐5053
   154722 ENRIQUE PEREZ VAZQUEZ                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647675 ENRIQUE PIMENTEL ABREU                      PO BOX 257                                                                                                   VIEQUES             PR           00765

   647676 ENRIQUE PINERO LOPEZ          COND EL GENERALIFE APTO 1001 AVE SAN PATRICIO                                                                              GUAYNABO            PR           00968
   154723 ENRIQUE PINET LANZO           REDACTED                     REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ENRIQUE PIOVANETTI PIETRI MD,
   154724 J                             REDACTED                     REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647677 ENRIQUE PIZARRO               RR 4 BOX 1473                                                                                                              BAYAMON             PR           00956
   647678 ENRIQUE PIZARRO ORTEGA        RR 1 BOX 1473                                                                                                              BAYAMON             PR           00956
          ENRIQUE PRIETO DBA
   647679 TROPICOOL                     1601 AVE JESUS T PINEIRO                                                                                                   SAN JUAN            PR           00921
   154725 ENRIQUE QUINONES AROCHO       REDACTED                     REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  647680 ENRIQUE QUIÑONES LEBRON                      HOSP. PSIQUIATRIA PONCE                                                                                     HATO REY            PR           00936

   154726 ENRIQUE QUINONES MAISONET                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   154727 ENRIQUE QUINONES MOLINA                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          ENRIQUE R ADAMES/ ERAS
   154728 LEGAL SERVICE CSP                           434 AVE HOSTOS                                                                                              SAN JUAN            PR           00918
   154729 ENRIQUE R CAPO TRUYOL                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          ENRIQUE R DE ORBETA
   154730 CONTRERAS                                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647681 ENRIQUE R DIAZ SILVA                        PO BOX‐629                                                                                                  AGUADILLA           PR           00605‐0629
   154731 ENRIQUE R LUGO VALENTIN                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   154732 ENRIQUE R LUIGGI LOPEZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647682 ENRIQUE R MARTINEZ LUGO                     PO BOX 9217                                                                                                 HUMACAO             PR           00792‐9217
   647683 ENRIQUE R ORTIZ RIVERA                      URB LA RAMBLA             435 CALLE 4                                                                       PONCE               PR           00731
   154733 ENRIQUE R PIOVANETTI                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647684 ENRIQUE R ROBLES                            URB JARDINES FAGOT        D 17 CALLE 4                                                                      PONCE               PR           00731
   154734 ENRIQUE R SIACA ESTEVES                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   154735 ENRIQUE RAMIREZ RODRIGUEZ                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   154736 ENRIQUE RAMOS                               REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647685 ENRIQUE RAMOS ALVAREZ                       2A CALLE C                                                                                                  PONCE               PR           00731
   154737 ENRIQUE RAMOS CASTILLO                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647686 ENRIQUE RAMOS DE JESUS                      HC 02 BOX 37763                                                                                             ARECIBO             PR           00612

   647687 ENRIQUE RAMOS HERNANDEZ                     BO LAS CUEVAS             CARR 850                                                                          TOA ALTA            PR           00976
   154738 ENRIQUE RAMOS ORTIZ                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   154739 ENRIQUE RAMOS QUINONES                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   154740 ENRIQUE RAMOS UMPIERRE                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   154741 ENRIQUE RAMOS VAZQUEZ                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   154742 ENRIQUE REBOLLO PORTELA                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647688 ENRIQUE RENTAS MARCANO                      COLINAS DE FAIR VIEW      4F 22 CALLE 203                                                                   TRUJILLO ALTO       PR           00976
   154743 ENRIQUE REYES CAMACHO                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647689 ENRIQUE REYES GONZALEZ                      HC 02 BOX 6777                                                                                              FLORIDA             PR           00650
   154744 ENRIQUE RIVAS MELENDEZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647690 ENRIQUE RIVERA                              PO BOX 195387                                                                                               SAN JUAN            PR           00919‐5387
   647693 ENRIQUE RIVERA ARROYO                       HC 02 BOX 300045                                                                                            CAGUAS              PR           00725
   154745 ENRIQUE RIVERA AYALA                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   154746 ENRIQUE RIVERA CALCANO                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647695 ENRIQUE RIVERA HERNANDEZ                    P O BOX 681                                                                                                 COMERIO             PR           00782
   647696 ENRIQUE RIVERA LUGO                         50 CALLE FORTALEZA                                                                                          SAN JUAN            PR           00901

   154747 ENRIQUE RIVERA MALDONADO                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647697 ENRIQUE RIVERA MASS                         URB LA VISTA              I 17 VIA PANORAMICA                                                               SAN JUAN            PR           00924
   154748 ENRIQUE RIVERA MATOS                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647699 ENRIQUE RIVERA PANTOJAS                     URB LAS PALMAS 500        CALLE MORELL CAMPOS                                                               SAN JUAN            PR           00915
   154750 ENRIQUE RIVERA PEREZ                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647700 ENRIQUE RIVERA RIVERA                       PO BOX 1051                                                                                                 GUAYAMA             PR           00785
   647701 ENRIQUE RIVERA RODRIGUEZ                    BOX 622                                                                                                     RIO GRANDE          PR           00745
   647702 ENRIQUE RIVERA RUIZ                         URB PONCE DE LEON         4 CALLE CAPARRA                                                                   MAYAGUEZ            PR           00680
   647703 ENRIQUE RIVERA SANTANA                      362 EDIF FLAMINGO                                                                                           SAN JUAN            PR           00907
          ENRIQUE ROBLES / MIGDALIA
   154752 ROBLES                                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   647705 ENRIQUE RODRIGUEZ                           PMB 206 SI P O BOX 4961                                                                                     CAGUAS              PR           00726



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  647706 ENRIQUE RODRIGUEZ ALICEA                     BOX 421                                                                                                       NARANJITO         PR           00719

   647707 ENRIQUE RODRIGUEZ BORRERO URB COUNTRY CLUB                           HW 2 AVE EL COMANDANTE                                                               CAROLINA          PR           00982

   154754 ENRIQUE RODRIGUEZ CACERES                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          ENRIQUE RODRIGUEZ
   647708 CARABALLO                                   2810 AVE MILITAR                                                                                              ISABELA           PR           00662‐4059
   154755 ENRIQUE RODRIGUEZ COLON                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   154756 ENRIQUE RODRIGUEZ CRUZ                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   154757 ENRIQUE RODRIGUEZ MARQUEZ REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   647711 ENRIQUE RODRIGUEZ PEDROZA                   CIUDAD UNIVERSITARIA     L 15 CALLE 17                                                                        TRUJILLO ALTO     PR           00796

   647712 ENRIQUE RODRIGUEZ QUIJANO                   URB ESTANCIA DE MANATI   84 CALLE CORALI                                                                      MANATI            PR           00674
   154759 ENRIQUE RODRIGUEZ RIVERA                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          ENRIQUE RODRIGUEZ
   647713 RODRIGUEZ                                   VILLA PALMERAS           207 BARTOLOME LAS CASAS                                                              SAN JUAN          PR           00915

   154760 ENRIQUE RODRIGUEZ ROSARIO                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   647714 ENRIQUE RODRIGUEZ SANTIAGO HC 1 BOX 6925                                                                                                                  GUAYANILLA        PR           00656‐9729
   154761 ENRIQUE RODRIGUEZ SUAREZ   REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   647716 ENRIQUE RODRIGUEZ TORRES                    PO BOX 2727                                                                                                   VEGA BAJA         PR           00694
          ENRIQUE RODRIGUEZ
   154762 VELAZQUEZ                                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   154764 ENRIQUE ROMAN MENA                          REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   154765 ENRIQUE ROSA MORALES                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   647718 ENRIQUE ROSA RIVERA                         P O BOX 680                                                                                                   TOA ALTA          PR           00951
   154766 ENRIQUE ROSADO BAEZ                         REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   647720 ENRIQUE ROSADO HERNANDEZ                    PO BOX 971                                                                                                    SABANA SECA       PR           00952
   154767 ENRIQUE ROSADO MATIAS                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   154768 ENRIQUE ROSARIO                             REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   647723 ENRIQUE ROSARIO ADORNO                      RES EL PRADO             EDIF 11 APT 59                                                                       SAN JUAN          PR           00924
   154769 ENRIQUE ROSARIO AVILLAN                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   154770 ENRIQUE ROSARIO FORTUNO                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   647724 ENRIQUE ROSARIO PAGAN                       HC 01 BOX 6486                                                                                                CIALES            PR           00638
   154771 ENRIQUE ROSSY FULLANA                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   647727 ENRIQUE RUIZ                                P O BOX 36077                                                                                                 SAN JUAN          PR           00936‐0977

   154772 ENRIQUE RUIZ & ASOCIADO PSC. P.O. BOX 360977                                                                                                              SAN JUAN          PR           00936‐0977
   154773 ENRIQUE RUIZ ASOCIADO        AVE AMERCO MIRANDA 1226                 REPTO. METROPOLITANO                                                                 SAN JUAN          PR           00921
   154774 ENRIQUE RUIZ MORALES         REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   647728 ENRIQUE RUIZ RUIZ            HC 2 BOX 16867                                                                                                               GURABO            PR           00778
   647729 ENRIQUE SAMPAYO MENDEZ       URB TINTILLO GARDENS                    HC 32 CALLE 5                                                                        BAYAMON           PR           00966
   647730 ENRIQUE SANABRIA RIOS        URB GUARICO E                           19 CALLE A                                                                           VEGA BAJA         PR           00693‐4004
   154776 ENRIQUE SANCHEZ GALLOZA      REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   154777 ENRIQUE SANCHEZ LOPEZ        REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   647731 ENRIQUE SANCHEZ PEREZ        PO BOX 1436                                                                                                                  CIALES            PR           00638

   154778 ENRIQUE SANCHEZ RODRIGUEZ                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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          ENRIQUE SANTIAGO &
   647732 ASOCIADOS C S P                             P O BOX 5252                                                                                              CAROLINA            PR           00984
   647733 ENRIQUE SANTIAGO ARROYO                     URB VILLA BORINQUEN    E 18 CALLE YAGUEZ                                                                  CAGUAS              PR           00725

   154779 ENRIQUE SANTIAGO CARDONA                    REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   647734 ENRIQUE SANTIAGO FELICIANO                  BOX 1073                                                                                                  COAMO               PR           00769
   154780 ENRIQUE SANTIAGO GREO                       REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647735 ENRIQUE SANTIAGO IRIZARRY                   BO BELGICA             2219 CALLE CAMPOS                                                                  PONCE               PR           00717 1667
   647736 ENRIQUE SANTIAGO PEREZ                      HC 71 BOX 2355                                                                                            NARANJITO           PR           00719
   647737 ENRIQUE SANTIAGO PRATTS                     BOX 4859                                                                                                  SALINAS             PR           00751
   154781 ENRIQUE SANTIAGO RAMOS                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154782 ENRIQUE SANTIAGO RIVERA                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647739 ENRIQUE SANTIAGO SOTO                       HC 03 BOX 33212                                                                                           AGUADA              PR           00602
   154783 ENRIQUE SANTIAGO TORRES                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ENRIQUE SEGARRA / LUIS E
   154785 SEGARRA                                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154786 ENRIQUE SERRANO CASTRO                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647742 ENRIQUE SIERRA GOURRIE                      PO BOX 29569                                                                                              SAN JUAN            PR           00929
   647743 ENRIQUE SILVA AVILES                        PO BOX 363507                                                                                             SAN JUAN            PR           00936‐3507

   154787 ENRIQUE SILVA AYALA MD, JOSE                REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647744 ENRIQUE SORIANO SILVA                       URB DORADO DEL MAR     P 12 CALLE SIRENA                                                                  DORADO              PR           00646
   154788 ENRIQUE SOTO BERMUDEZ                       REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ENRIQUE SOTO DBA KIKES
   154789 CATERION                                    PO BOX 1357                                                                                               AGUADA              PR           00602
   647746 ENRIQUE SOTO MANGUAL                        SABALO NUEVO 12        APT 117                                                                            MAYAGUEZ            PR           00680

   647748 ENRIQUE SOTOMAYOR MATOS                     URB CONTANCIA          122 CALLE L                                                                        PONCE               PR           00731
   647749 ENRIQUE SUAREZ MARTINEZ                     URB VISTA AZUL         L 43 CALLE 10                                                                      ARECIBO             PR           00612
   647750 ENRIQUE SUAREZ MERCADO                      BO PELLEJAS I                                                                                             OROCOVIS            PR           00720
   647752 ENRIQUE TEJADA SANTANA                      RODRIGUEZ OLMO         5 CALLE B                                                                          ARECIBO             PR           00612
   647753 ENRIQUE TIRADO SEMIDEY                      HC 64 BOX 6899                                                                                            PATILLAS            PR           00723
          ENRIQUE TOLCH CUEVAS/FIESTA
   647754 DE REYES                                    150 CALLE PAZ                                                                                             MAYAGUEZ            PR           00680
   647755 ENRIQUE TORRES GARCIA                       P O BOX 13844                                                                                             SAN JUAN            PR           00908
                                                      475 BOX CORAZON SECT
   647756 ENRIQUE TORRES MIR                          CANDELARIA                                                                                                GUAYAMA             PR           00784
   154791 ENRIQUE TORRES PEREZ                        REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   647758 ENRIQUE TORRES RODRIGUEZ                    PO BOX 5435                                                                                               CAGUAS              PR       00726‐5435
   154792 ENRIQUE TORRES TURELL                       REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   647759 ENRIQUE TRIGO TIO                           URB VALENCIA           589 PEREIRA LEAL                                                                   SAN JUAN            PR       00923‐1903
   154793 ENRIQUE TRINIDAD ADORNO                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   154794 ENRIQUE TRINIDAD APONTE                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   647760 ENRIQUE U PEREZ CARDONA                     P O BOX 120                                                                                               RIO GRANDE          PR       00745
   154795 ENRIQUE UBARRI BLANES                       REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   154796 ENRIQUE UMPIERRE SUAREZ                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   647762 ENRIQUE VADI ROMERO                         URB COUNTRY CLUB       1147 CALLE OLIV PL                                                                 SAN JUAN            PR       00924
   154797 ENRIQUE VALE VALE                           REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED

   647763 ENRIQUE VALENTIN RODRIGUEZ HC 05 BOX 51280                                                                                                            MAYAGUEZ            PR           00680
   647764 ENRIQUE VALLE VELEZ        HC 3 BOX 41431                                                                                                             CAGUAS              PR           00725‐9743



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  154798 ENRIQUE VARGAS MARTINEZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  647765 ENRIQUE VARGAS MOJICA                        HC 80 BOX 9263                                                                                                         DORADO              PR         00646

   647766 ENRIQUE VASALLO MOLINELLI                   232 AVE ELEONOR ROOSEVELT                                                                                              SAN JUAN            PR         00907
   154799 ENRIQUE VAZQUEZ CLAUDIO                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   647768 ENRIQUE VAZQUEZ INC                         P O BOX 331470                                                                                                         PONCE               PR         00733‐1470

   647769 ENRIQUE VAZQUEZ MANZANO                     URB SANTA ELENA               AA 14 CALLE G                                                                            BAYAMON             PR         00957

   154800 ENRIQUE VAZQUEZ PRESTAMO                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   154801 ENRIQUE VAZQUEZ ROBLES                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   647771 ENRIQUE VEGA MARRERO                        PO BOX 533                                                                                                             MARICAO             PR         00606
   154803 ENRIQUE VEGA RIOPEDRE                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   647773 ENRIQUE VELA COLON                          PO BOX 363805                                                                                                          SAN JUAN            PR         00936
   647774 ENRIQUE VELAZQUEZ COLON                     HC 63 BOX 3608                                                                                                         PATILLAS            PR         00723
   647776 ENRIQUE VELEZ FIGUEROA                      HC 02 BOX 6820                                                                                                         LARES               PR         00669
   647775 ENRIQUE VELEZ HERNANDEZ                     PO BOX 3                                                                                                               PALMER              PR         00721003
   154805 ENRIQUE VELEZ RODRIGUEZ                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   647777 ENRIQUE VELEZ VELEZ                         P O BOX 514                                                                                                            TRUJILLO ALTO       PR         00976‐4124
   647778 ENRIQUE VELEZ YUMET                         PENTHOUSE                     APT 157 CALLE PRIMAVERA                                                                  SAN JUAN            PR         00907
   647779 ENRIQUE VENTURA LOPEZ                       P O BOX 655                                                                                                            RINCON              PR         00677
   154806 ENRIQUE VIERA GUZMAN                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ENRIQUE VILLAZEVALLOS
   154807 RODRIGUEZ                                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ENRIQUE VILLEGAS/CENTRO
   647780 AYUDA A LA COM                              CARR 1 KM 20 HM 2                                                                                                      SAN JUAN            PR         00926
   647782 ENRIQUE VIRUET RIOS                         PO BOX 312                                                                                                             UTUADO              PR         00641
   647784 ENRIQUE WILLIAMS POULIS                     VILLA PALMERAS                3005 CALLE REPUBLICA                                                                     SAN JUAN            PR         00915
   154809 ENRIQUE ZAMOT MERCADO                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   647786 ENRIQUE` MERCADO                            25 CALLE MARIO BRASCHI                                                                                                 JUANA DIAZ          PR         00795
          ENRIQUETA HERNANDEZ
   154810 GONZALEZ                                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ENRIQUETA MONTANEZ
   154811 ROSARIO                                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   647789 ENRIQUETA RODRIGUEZ                         FERNANDEZ JUNCOS STATION      PO BOX 11855                                                                             SAN JUAN            PR         00910‐4225
   647790 ENRIQUETA TORRES LOPEZ                      SAGRADO CORAZON               209 CALLE ANAIDA                                                                         PONCE               PR         00731
   154842 ENRIQUEZ SEIDERS MD, ELISA                  REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   647791 ENRIQUEZ VELAQUEZ IRIGOYEN                  URB PUERTO NUEVO               1021 CALLE ALEJANDRIA                                                                   SAN JUAN            PR         00920
   154851 ENRIQUEZ, ZENAIDA                           REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   647792 ENRIUS COLLAZO GERENA                       HC 1 BOX 4078                                                                                                          LARES               PR         00669
                                                      452 AVE PONCE DE LEON STE 401‐
   154853 ENROLL NOW PR LLC                           A                                                                                                                      SAN JUAN            PR         00918
   154854 ENSCO CARIBE, INC.                          P O BOX 361282                                                                                                         SAN JUAN            PR         00936‐1282
          ENSING PEAK ADVISOR
   647794 INCC/OGLOBE TAX SERV                        90 BROAD ST 8 TH FLOOR                                                                                                 NEW YORK            NY         10004‐2205
                                                                                    805 CALLE LOLA RODRIGUEZ DE
   647795 ENSOR LUIS GOTAY LEDOUX                     URB COUNTRY CLUB              TIO                                                                                      SAN JUAN            PR         00924
   154856 ENSUENOS DE GABIAS INC                      PO BOX 1328                                                                                                            AIBONITO            PR         00705
   154857 ENSUENOS DE MUJER                           AVE JOBOS CARR 459 KM 11.5    BOX 8543                                                                                 ISABELA             PR         00662
   154859 ENSUENOS DE PUERTO RICO                     P O BOX 580                                                                                                            GUAYNABO            PR         00970
   647796 ENSYSA PRODUCTS                             PO BOX 365066                                                                                                          SAN JUAN            PR         00936




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   154860 ENT AND ALLERGY ASSOCIATES                  160 HAWLEY LANE             SUITE 202                                                                               TRUMBULL            CT           06611
   154861 ENT SPECIALTIES INC                         P O BOX 2111                                                                                                        GUAYNABO            PR           00970‐2111
   154862 ENT SPECIALTIES, INC                        PO BOX 361034                                                                                                       SAN JUAN            PR           00936‐1034
   647797 ENTEC CORP                                  P O BOX 8205                                                                                                        SAN JUAN            PR           00910‐8205
          ENTECH DESIGN AND PROJECT
   154864 MANAGEMENT                                  1665 VICTOR M LABIOSA AVE   STE304                                                                                  SAN JUAN            PR           00926
   647798 ENTECH ENGINEERING                          PO BOX 3824                                                                                                         GUAYNABO            PR           00970
   647799 ENTECH INSTRUMENT                           2207 AGATE CT                                                                                                       SIMI VALLEY         CA           93065
          ENTENZA CABRERA MD,
   154866 FERNANDO                                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647800 ENTER LIFE AMBULANCE                        76 CALLE GEORGETTI ALTOS                                                                                            SAN JUAN            PR           00928

   154867 ENTER LIFE AMBULANCES CORP                  76 CALLE GEORGETTI ALTOS                                                                                            SAN JUAN            PR           00928
          ENTERNAINMENT IN MOTION
   154868 LLC                                         URB LAGOS DE PLATA          N 9 CALLE 14                                                                            TOA BAJA            PR           00949

   154870 ENTERPRICE EVENTS INC                       CORPORATE OFFICE PARK       36 MARTINEZ NADAL HIGHWAY    SUITE 204 BOX 707                                          GUAYNABO            PR           00966
   154871 ENTERPRISE HOLDINGS INC                     P O BOX 405738                                                                                                      ATLANTA             GA           30384‐5738
          ENTERPRISE NETWORK
   154873 SOLUTIONS LLC                               PO BOX 13894                                                                                                        SAN JUAN            PR           00908
   154874 ENTERPRISE PLATINUM INC                     COTO LAUREL                 PO BOX 801081                                                                           PONCE               PR           00780
   154875 ENTERPRISE PLATINUM, INC                    PO BOX 801081                                                                                                       COTO LAUREL         PR           00780
          ENTERPRISE SERVICES CARIBE                  350 CHARDON AVE. CHARDON
   154881 LLC                                         TOWER                       SUITE 810                                                                               SAN JUAN            PR           00918
   647801 ENTERPRISE WHOS WHO                         4320 WINFIELD RD 200                                                                                                WARRENVILLE         IL           60555
   647802 ENTERTAIMENT WEEKLY                         1271 AVE OF THE AMERICAS                                                                                            NEW YORK            NY           10020
                                                                                                               SUITE 605‐D 623 AVE. PONCE DE
  1422563 ENTERTAINMENT CENTER INC.                   ANGEL E. GONZALEZ ORTIZ     BANCO COOPERATIVO PLAZA      LEON                                                       SAN JUAN            PR           00917‐4820
                                                                                                               SUITE 605‐D 623 AVE. PONCE DE
  1422564 ENTERTAINMENT CENTER INC.                   ANGEL E. GONZALEZ ORTIZ     BANCO COOPERATIVO PLAZA      LEON                                                       SAN JUAN            PR           00917‐4820
                                                                                                               SUITE 605‐D 623 AVE. PONCE DE
  1422565 ENTERTAINMENT CENTER INC.                   ANGEL E. GONZALEZ ORTIZ     BANCO COOPERATIVO PLAZA      LEON                                                       SAN JUAN            PR           00917‐4820
                                                                                                               SUITE 605‐D 623 AVE. PONCE DE
  1422566 ENTERTAINMENT CENTER INC.                   ANGEL E. GONZALEZ ORTIZ     BANCO COOPERATIVO PLAZA      LEON                                                       SAN JUAN            PR           00917‐4820

   647803 ENTRE AMIGOS INC                            VILLA FONTANA PARK          M 9 PARQUE DEL CONDADO 5                                                                CAROLINA            PR           00983
   647804 ENTREMESES Y ALGO MAS                       HC 03 BOX 18732                                                                                                     ARECIBO             PR           00612
   647805 ENTREMESES Y MAS                            BOX 205                                                                                                             SABANA SECA         PR           00952
   647806 ENTREPRENEUR                                PO BOX 58806                                                                                                        BOULDER             CO           80322
          ENTRERIOS CORRIENTES
   154886 HOMEOWNER ASSOC INC                         PMB 51 BOX 2500                                                                                                     TRUJILLO ALTO       PR           00977
                                                                                  1386‐B CALLE SAN JACNT URB
   154887 ENTRETENIMIENTO SIN LIMITE                  CENTRO COM.ALTAMESA         ALTAMESA                     RIO PIEDRAS                                                SAN JUAN            PR           00921‐0000
   154889 Entrust                                     P O Box 7483                Postal Station A                                                                        Toronto             ON           M5W 3C1       Canada
   154890 ENUDIO A COLON CEDENO                       HC 01 BOX 4217                                                                                                      VILLALBA            PR           00766‐9711
   154892 ENUT CORP                                   4TA SECC VILLA CAROLINA     143 8 CALLE 401                                                                         CAROLINA            PR           00985
   647809 ENVASADORA DE AZUCAR INC                    PO BOX 11946                                                                                                        SAN JUAN            PR           00922
   154893 ENVEJECER ARMONIA INC                       PO BOX 2400                                                                                                         AIBONITO            PR           00705
   154894 ENVEJECER EN ARMONIA INC                    P O BOX 2400                                                                                                        AIBONITO            PR           00705
          ENVIRO 2000 INTERNATIONAL
   647810 INC                                         P O BOX 142738                                                                                                      ARECIBO             PR           00614




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                                                      EDIF LA ELECTRONICA SUITE
   647811 ENVIRO CLEAN CORPORATION                    214A                          1608 CALLE BORI                                                            SAN JUAN             PR           00927
          ENVIRO SAFETY COMPLIANCE                    PONCE DE LEON AVENUE 623
   154896 ALTERNATIVE                                 OFFICE 703 B                                                                                             HATO REY             PR           00917
   154898 ENVIRO SOURE INC.                           P O BOX 4990                                                                                             San Sebastian        PR           00685‐4990
          ENVIRO TECH EXTERMINATING
   647812 CO                                          PO BOX 1513                                                                                              VEGA BAJA            PR           00694‐1513
          ENVIRO‐AMBIENTAL
   647813 CORPORATION                                 P O BOX 194202                                                                                           SAN JUAN             PR           00919‐4202
   154899 ENVIROMANAGERS CORP                         PALACIO IMPERIAL              1389 PERSIA ST                                                             TOA ALTA             PR           00953
          ENVIROMENTAL & PROJET
   154901 MANAGER CORP                                B 31 MONTE CARLO                                                                                         VEJA BAJA            PR           00693
   647814 ENVIROMENTAL ART                            1503 CALLE LOIZA                                                                                         SAN JUAN             PR           00911‐1803

   154902 ENVIROMENTAL ASSOCIATES INC AREA DEL TESORO                               DIVISION DE RECLAMACIONES                                                  SAN JUAN             PR           00902‐4140
          ENVIROMENTAL CONTROL
   647816 SYSTEM                      PMB 135                                       PO BOX 2000                                                                MERCEDITA            PR           00715
          ENVIROMENTAL HEALTH &
   647817 SAFETY SERVICES             400 CALAF SUITE 142                                                                                                      SAN JUAN             PR           00918‐1323
   647818 ENVIROMENTAL HEALTH LAB     110 SOUTH HILL STREET                                                                                                    SOUTH BEND           IN           46617

   647819 ENVIROMENTAL OPERATION INC PO BOX 11879                                                                                                              SAN JUAN             PR           00910

   647820 ENVIROMENTAL PLASTIC OF PR                  HC 71 BOX 7605                                                                                           CAYEY                PR           00736
   154904 ENVIROMENTAL POWER                          PO BOX 414                                                                                               MERCEDITA            PR           00715‐0414
                                                      LAS VEGAS FINANCE CENTER
          ENVIROMENTAL PROTECTION                     4220 S MARYLAND PKWY BLDG C
   154905 AGENCY                                      SU                                                                                                       LAS VEGAS            NV           89119
          ENVIROMENTAL QUALITY LAB/PV
   154906 PROPERTIES                    MINILLAS INDUSTRIAL PARK                    60 CALLE E                                                                 BAYAMON              PR           00959
          ENVIROMENTAL QUALITY
   154907 LABORATORIO                   PO BOX 11458                                SANTURCE                                                                   SAN JUAN             PR           00910‐1458
          ENVIROMENTAL RESOURCE
   647822 ASSOCIATES                    6000 WEST 54TH AVE ARVADA                                                                                              COLORADO             CO           80002
          ENVIROMENTAL RESOURCE
   154908 GROUP                         RR 8 BOX 2099                                                                                                          BAYAMON              PR           00956
          ENVIROMENTAL RESOURCES
   154909 MANAGEMENT                    PO BOX 192291                                                                                                          SAN JUAN             PR           00919‐2291
          ENVIROMENTAL RESOURCES
   647823 MANAGEMENT PR INC             PO BOX 192291                                                                                                          SAN JUAN             PR           00919‐2291
          ENVIROMENTAL SYSTEMS
   154910 RESEARCH INSTITUTE            FILE 54630                                                                                                             LOS ANGELES          CA           90074‐4630
          ENVIROMENTAL TRAINING
   647824 INSTITUTE                     PO BOX 190764                                                                                                          SAN JUAN             PR           00919‐0764
          ENVIROMENTAL XCHANGE
   154911 INFORMATION & TECHN           CUPEY PROFESIONAL MAIL                                                                                                 SAN JUAN             PR           00926
          ENVIRONIC ENGINERING GROUP
   154912 CORP                          P O BOX 29595                                                                                                          SAN JUAN             PR           00929
          ENVIRONIC RECYCLING SERVICES,
   154913 INC.                          PO BOX 29535                                                                                                           SAN JUAN             PR           00929‐0535
          ENVIRONICS ENGINEERING
   154914 GROUP CORP                    P.O. BOX 29535                                                                                                         SAN JUAN             PR           00929‐0535




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          ENVIRONICS ENGINERING
   154915 GROUP CORP                                  AREA DEL TESORO            DIVISION DE RECLAMACIONES                                                               SAN JUAN              PR           00902‐4140
   647826 ENVIRONICS RECYCLING                        PO BOX 29535                                                                                                       SAN JUAN              PR           00929

          ENVIRONMENT CONDITIONING
   647827 SERVICE CORP                                PO BOX 29833                                                                                                       SAN JUAN              PR           00929‐0833
          ENVIRONMENTA RESOURCE
   154917 TECHNOLOGIES                                PO BOX 195336                                                                                                      SAN JUAN              PR           00919‐5336
   647828 ENVIRONMENTAL ART                           P O BOX 9020539                                                                                                    SAN JUAN              PR           00902‐0539

          ENVIRONMENTAL ASSESSMENT
   154919 CONSULTING INC                              PO BOX 11                                                                                                          HORMIGUEROS           PR           00660
   647829 ENVIRONMENTAL CROSSING                      PO BOX 29920                                                                                                       SAN JUAN              PR           00929
          ENVIRONMENTAL EMERGEBCT
   647830 EXPERTS                                     PO BOX 3122                                                                                                        GUAYNABO              PR           00970
          ENVIRONMENTAL ENERGY
   647831 SOLUTIONS INC                               HC 1 BOX 8136                                                                                                      LOIZA                 PR           00772

   647832 ENVIRONMENTAL EXPRESS LTD                   490 WANDO PARK BLVD        P O BOX 669                                                                             MT PLEASONT           SC           29464
          ENVIRONMENTAL HEALTH &
   154921 SAFETY SERVICES                             PMB 142400 CALLE CALAF                                                                                             SAN JUAN              PR           00693‐0000
   647833 ENVIRONMENTAL INDUTRIES                     P O BOX 58485                                                                                                      RALEIGH               NC           27658
          ENVIRONMENTAL
          MANAGEMENT SERVS
   647834 C0RPEMSCO                                   P O BOX 2529                                                                                                       TOA BAJA              PR           00951‐2529
          ENVIRONMENTAL MECHANICAL
   647835 CONTRACTORS                                 PO BOX 6062                                                                                                        SAN JUAN              PR           00914‐6062
          ENVIRONMENTAL PROTECTION                    FEDERAL BUILDING 290
   647836 AGENCY                                      BROADWAY                                                                                                           NEW YORK              NY           10007‐1866
          ENVIRONMENTAL PROTECTION
  1259951 AGENCY (EPA)                                RIOS, ARIEL                1200 PENNSYLVANIA AVE., NW                                                              WASHINGTON            DC           20460
          ENVIRONMENTAL TRAINING &                    GUAYAMA ST AA‐38 SANTA
   154927 PROFESSIONAL                                GUANITA                                                                                                            BAYAMON               PR           00956
          ENVIROPMENTAL CONSULTING
   647837 GROUP                                       PO BOX 190064                                                                                                      SAN JUAN              PR           00919
   647838 ENVIRORECYCLING                             1508 PASEO FAGOR SUITE 3                                                                                           PONCE                 PR           00716
   154928 ENVIRORESOURCES INC                         HC 01 BOX 5595                                                                                                     BARRANQUITAS          PR           00794
   647839 ENVIROSURVEY                                PO BOX 361657                                                                                                      SAN JUAN              PR           00936‐1657
   154931 ENVIROTAB , INC                             HC ‐ 72 BOX 3766 PMB 316                                                                                           NARANJITO             PR           00719‐9788
   154932 ENVIROTAB INC                               PMB 316                    HC 72 BOX 3766                                                                          NARANJITO             PR           00719‐9788
   154933 ENVISION ENERGY CORP                        5 AVE APOLO                                                                                                        GUAYNABO              PR           00969
                                                      MSC 345 100 GRAN BOULEVARD
   154941 ENVISION TECHNOLOGIES                       PASEOS                     SUITE 112                                                                               SAN JUAN              PR           00926‐5955

   154942 ENYA ENID SANTIAGO FRANCO HC 43 BOX 11531                                                                                                                      CAYEY                 PR           00736
   154943 ENYBETTE RIVERA CATALA       APARTADO 211                                                                                                                      NARAJINTO             PR           00719
   647841 ENYELI REYES                 PMB 77                                    PO BOX 819                                                                              LARES                 PR           00669
          ENZO BERLINGERI PROFESSIONAL
   647842 WAITER SERV                  CAPARRA TERRACE                           1259 CALLE 18 SE                                                                        SAN JUAN              PR           00921
   154944 ENZO R VAZQUEZ LATIMER       REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   154945 ENZON PHARMACEUTICALS, INC PO BOX 15406                                                                                                                        NEWARK                NJ           07192‐5406
   647843 ENZON SUPPORT CENTER       4500 PROGRESS BLVD                                                                                                                  LOUISVILLE            KY           40218



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   154946 EONETT R RODRIGUEZ BONILLA REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154947 EOS EVENTS INC               50 PASEO COVADONGA                                                                                                            SAN JUAN            PR           00901
          EOUNTAIN CHRISTIAN BILINGUAL
   154948 SCHOOL                       PO BOX 1528                                                                                                                   VEGA BAJA           PR           00694
   647844 EPA                          P O BOX 360188M                                                                                                               PITTSBURGH          PA           15251
   154950 EPA INACTIVO                 P O BOX 979087                                                                                                                ST LOUIS            MO           63197‐9000

   154951 EPAFRODITO MELENDEZ RIVERA                  REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EPC EQUIPO PRO
   154952 CONVALESCENCIA INC                          URB EL PARAISO         107 CALLE GANGES EDIF JIHP                                                              SAN JUAN            PR           00926‐2915
   647845 EPG CORPORATION                             P O BOX 6017                                                                                                   CAROLINA            PR           00984
   154953 EPG INSURANCE INC                           P O BOX 171199                                                                                                 MEMPHIS             TN           38187
          EPHRATA COMMUNITY
   154955 HOSPITAL                                    169 MARTIN AVE         PO BOX 1002                                                                             EPHRATA             PA           17522‐1022
   154956 EPI A BIOMET CO                             P O BOX 1359                                                                                                   GUAYNABO            PR           00970
                                                                             2741 B PASEO ADONIS AVE
   647846 EPIC INVESTMENT CORP         URB LEVITOWN                          BOULEVAR                                                                                TOA BAJA            PR           00949
   154957 EPIC MEDICAL SUPPLY          4 EXT VILLA CAROLINA                  143‐8 CALLE 401                                                                         CAROLINA            PR           00985
   647849 EPIFANIA CRUZ TORRES         VILLAS DE LOIZA                       RR 10 CALLE 29                                                                          CANOVANAS           PR           00729
   647850 EPIFANIA DE JESUS            HC 45 BOX 13945                                                                                                               CAYEY               PR           00736
   154959 EPIFANIA DE JESÚS            REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EPIFANIA ESCOBAR Y/O AGUSTIN
   154960 SOTO                         REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647851 EPIFANIA FEBRES ROMERO       HC 2 BOX 15362                                                                                                                CAROLINA            PR           00985
   154961 EPIFANIA NEGRON PICART       REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   154962 EPIFANIA QUINONES RODRIGUEZ REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154963 EPIFANIA RALAT SANTIAGO     REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647854 EPIFANIA RAMIREZ AYALA      1 VILLA BENNY                          BO RIO HONDO                                                                            MAYAGUEZ            PR           00680
   647855 EPIFANIA RIVERA QUILES      HC 2 BOX 5151                                                                                                                  COMERIO             PR           00782

   647856 EPIFANIA RODRIGUEZ ROSADO                   PO BOX 213                                                                                                     GUAYNABO            PR           00970‐0213
   647857 EPIFANIA SANTA DE VIERA                     RR 10 BOX 10200                                                                                                SAN JUAN            PR           00926
   647858 EPIFANIA VAZQUEZ CALLETO                    RES MARQUEZ            EDIF 3 APT 35                                                                           ARECIBO             PR           00612
          EPIFANIO ALDAHONDO
   154965 DELGADO                                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154966 EPIFANIO BURGOS CALDERON                    REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154967 EPIFANIO CASANOVA FEBUS                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647859 EPIFANIO CONTRACTOR                         EXT FOREST HLS         714 CALLE URUGUAY                                                                       BAYAMON             PR           00959
   154968 EPIFANIO CORDERO RIVERA                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647860 EPIFANIO DAVILA RODRIGUEZ                   PO BOX 915                                                                                                     VILLALBA            PR           00766
   154969 EPIFANIO ESPARRA CARATTINI                  REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154970 EPIFANIO FELICIANO VEGA                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154971 EPIFANIO FLORES OYOLA                       REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   154972 EPIFANIO GONZALEZ CAMACHO                   REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   647861 EPIFANIO HERNANDEZ                          152 CALLE POMAROSA                                                                                             FAJARDO             PR           00738
   154973 EPIFANIO HERNANDEZ CRUZ                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154974 EPIFANIO HERNANDEZ NIEVES                   REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154975 EPIFANIO J POLANCO                          REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154976 EPIFANIO LOPEZ MARTINEZ                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   154977 EPIFANIO LORENZO ACEVEDO                    REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   647864 EPIFANIO MAUROSA ACEVEDO                    URB VISTA BELLA             U 31 CALLE DINUBA                                                                      BAYAMON              PR           00956
   154979 EPIFANIO MULERO SERRANO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   647865 EPIFANIO PEREZ HERNANDEZ                    PO BOX 160                                                                                                         RINCON               PR           00677
   647867 EPIFANIO REYES                              VANSCOY                     K 50 CALLE 6                                                                           BAYAMON              PR           00957
   647868 EPIFANIO RIVERA ACEVEDO                     PO BOX 1803                                                                                                        VEGA ALTA            PR           00692‐1803

   154981 EPIFANIO RODRIGUEZ FELICIANO REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   154982 EPIFANIO RUSSI RAMOS         REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   154983 EPIFANIO SANTANA DE LA ROSA REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   154984 EPIFANIO SOTO PEREZ         REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   647869 EPIFANIO TORRES MALAVE      BO COAMO ARRIBA                             HC 02 BOX 4180                                                                         COAMO                PR           00769

   154986 EPIFANIO TORRES RODRIGUEZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   647870 EPIFANIO VELEZ RUIZ                         150 BO CAMPO ALEGRE                                                                                                UTUADO               PR           00641

   154988 EPIFANIO VELEZ/ CARMEN VELEZ REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   154989 EPIPE ENGINEERING LLC        AREA DEL TESORO                            DIVISION DE RECLAMACIONES                                                              SAN JUAN             PR           00902‐4140
   154991 EPJ RENEWABLE                PO BOX 3636                                                                                                                       MAYAGUEZ             PR           00681
          EPOCA COMMUNICATIONS
   647871 SIGLO XXI INC                CORAL GABLES                               3413 MONTENEGRO STREET                                                                 FLORIDA              FL           33139
          EPPEDDORF NORTH AMERICA
   154992 INC.                         PO BOX 13275                                                                                                                      NEWARK               NJ           07101‐3275

          Eppendorf North America Puerto
   831345 Rico/Caribbean Division        102 Motor Parkway                                                                                                               Hauppauge            NY           11788
   647872 EPPIE BURGOS                   HC 1 BOX 1919                                                                                                                   MOROVIS              PR           00687

          EPR MARINE WILDONG                          CALLE MIRAFLORES ESQ. VILLA
   154994 CONSTRUCION SERVICES,                       VERDE MUELLE 15 Y 16 MIRAMA P.O BOX 13987                                                                          San Juan             PR           00907

   647873 EPR SPORT DEVELOPMENT CORP VILLA TABAIBA                                191 CALLE GUARANI                                                                      PONCE                PR           00716

   154995 EPSILON CONSTRUCTION CORP                   PMB 247 P O BOX 30500                                                                                              MANATI               PR           00674
                                                      200 SOUTH BISCAYNE
   154996 EPSTEIN BECKER & GREEN P C                  BOULEVARD                   STE 4300 W F C                                                                         MIAMI                FL           33131
   154998 EPUMPS SOLUTIONS LLC                        PO BOX 1357                                                                                                        BAYAMON              PR           00960

   154999 EPV GENERAL SERVICES INC.    AVENIDA DOCTOR SUSONI #132                                                                                                        HATILLO              PR           00659‐0000
          EQ BAL SUP FEM LAS
   647875 VALENCIANAS JUNCO INC        URB DIAMARIS               148 CALLE ALELI                                                                                        JUNCOS               PR           00777‐3924
          EQ BASEBALL LOS MARINERS 13‐
   647877 14 JOSE GRAU                 BOX 579                                                                                                                           JAYUYA               PR           00664
          EQ BASEBALL LOS PIRATAS
   647878 ERNESTO TORRES               P O BOX 739                                                                                                                       JAYUYA               PR           00664
          EQ BASEBALL LOS TIGRES JORGE
   647879 L SOTO                       BOX 236                                                                                                                           JAYUYA               PR           00664
          EQ BASEBALL SABAY JOSE COLON
   647880 MARTES                       PO BOX 373                                                                                                                        JAYUYA               PR           00664
          EQ BASEBALL SANTA CLARA 11‐
   647881 12 RAUL BENET                BOX 187                                                                                                                           JAYUYA               PR           00664




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          EQ BEISBALL PROF LOS CRIOLLOS
   647874 DE CAGUAS                     PO BOX 4956 SUITE 126                                                                                             CAGUAS              PR           00726‐4956
          EQ BEISBOL CLASE A BO AMELIA
   647882 GUAYNABO                      BO AMELIA                                   28 CALLE RUIZ BELVIS                                                  GUAYNABO            PR           00962
   647883 EQ INVESTIGATION SERV INC     PO BOX 1302                                                                                                       COROZAL             PR           00783
          EQ SANTA CLARA 13‐14 WILLIAM
   647884 COLON CRUZ                    HC 02 BOX 6986                                                                                                    FLORIDA             PR           00650‐6986
          EQ SOFTBALL MASC LOS
   155001 MONTANESES UTUADO             205 AVE ROLANDO CABANAS                                                                                           UTUADO              PR           00641
          EQ VOLEIBOL FEMENINO
   647885 GIGANTES CAROLINA             PO BOX 190722                                                                                                     SAN JUAN            PR           00919
          EQ VOLEIBOL MASCULINA
   647887 CRIOLLA CAGUAS                P O BOX 123                                                                                                       CAGUAS              PR           00726‐0123
   831346 Eqlab Environmental           P.O. Box 11458                                                                                                    Santurce            PR           00910
   155002 EQR Safety Fire Corp.         Quiñones, Emisael                           PMB 458 PO BOX 6022                                                   CAROLINA            PR           00984

   647888 EQUIFAX CREDIT             1550 PEACHTREE STREET H 12                                                                                           ATLANTA             GA           30309
          EQUIFAX CREDIT INFORMATION
   647889 SERVICES INC               1550 PEACHTREE STREET H 12                                                                                           ATLANTA             GA           30309
   647890 EQUIFAX SERV INC           PO BOX 4081                                                                                                          ATLANTA             PR           00302‐4081

   155003 EQUILIBRIUM                                 1101 FIFTH AVENUE SUITE 200                                                                         SAN RAFAEL          CA           94901
   155005 EQUINE ASSOCIATES OF P R                    PO BOX 1672                                                                                         CANOVANAS           PR           00729
          EQUIP AA SUP LOS
   155006 ANTESALISTAS DE CATANO                      PO BOX 715                                                                                          CATANO              PR           00963
          EQUIP DE NATACION GIGANTE
   647891 CAROLINA INC                                VILLA CAROLINA                196‐41 CALLE 529                                                      CAROLINA            PR           00985
          EQUIP LA PLATA CARLOS J
   647892 TORRES BERROCALE                            48 AVE QUILINCHINI                                                                                  SABANA GRANDE       PR           00637

   155007 EQUIPEX INTERNACIONAL PR INC LA CERAMICA INDUSTRIAL PARK B 2 UNIT 5                                                                             CAROLINA            PR           00985
   647893 EQUIPMENT DEPOT              3071 AVE ALEJANDRINO        SUITE 133                                                                              GUAYNABO            PR           00969
   155009 EQUIPMENT PLUSINC            PMB 614 HC 01 BOX 29030                                                                                            CAGUAS              PR           00725
          EQUIPMENT SALES &
   647894 ENGINEERING CORP             P O BOX 2094                                                                                                       SAN JUAN            PR           00929‐8872
   647895 EQUIPMENT SERVICE INC        BOX 71325 SUITE 7                                                                                                  SAN JUAN            PR           00936
   155011 EQUIPMENT SERVICES INC       BOX 71325 SUITE 7                                                                                                  SAN JUAN            PR           00936
   155012 EQUIPO                       RR #9 BOX 1870                                                                                                     SAN JUAN            PR           00926
          EQUIPO AA CARIDUROS DE
   155013 FAJARDO INC                  PO BOX 691                                                                                                         FAJARDO             PR           00738
          EQUIPO AA CARIDUROS DE
   647897 FAJARDO/ANTONIO              VILLA FONTANA               3 NS 19 4 VIA LOURDES                                                                  CAROLINA            PR           00983
          EQUIPO AA GIGANTES CAROLINA
   155015 CORP                         P O BOX 715                                                                                                        CATANO              PR           00963
          EQUIPO BAL GIGANTE DE
   647899 CAROLINA                     PO BOX 9023207                                                                                                     SAN JUAN            PR           00902‐3207
          EQUIPO BALONCESTO
   155016 CAPITANES DE ARECIBO         152 RODRIGUEZ IRIZARRY                                                                                             ARECIBO             PR           00612
          EQUIPO BALONCESTO ESC LOLA
   647902 RODRIGUEZ TIO                PO BOX 927                                                                                                         SAN GERMAN          PR           00683
          EQUIPO BALONCESTO
   647903 GANADEROS DE HATILLO         BOX 2506                                                                                                           ARECIBO             PR           00613




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          EQUIPO BALONCESTO JUV
   155017 EXPLOSIVOS MOCA                             P O BOX 372                                                                                               MOCA                PR           00676
          EQUIPO BALONCESTO PATRIOTA
   647904 DE LARES                                    URB VILLA BORINQUEN         BOX 317                                                                       LARES               PR           00669
          EQUIPO BALONCESTO SUP
   647905 CAPITANES ARECIBO                           H 1 VILLA CAPARRA NORTE                                                                                   GUAYNABO            PR           00966
   155018 EQUIPO BASEBALL JJ                          HC 09 58838                                                                                               CAGUAS              PR           00725
          EQUIPO BASEBALL LOS BRAVOS
   155019 CAT 9/10 ANOS                               P O BOX 1672                                                                                              UTUADO              PR           00641
          EQUIPO BASEBALL LOS BRAVOS
   647906 TONY HERNANDE                               PO BOX 1053                                                                                               UTUADO              PR           00641
                                                      CATEGORIA 11 Y 12 /CARLOS
   647896 EQUIPO BASEBALL LOS ORIOLES                 SOTO RUIZ                   HC 02 BOX 6868                                                                UTUADO              PR           00641
          EQUIPO BASEBALL LOS ORIOLES
   647907 JULIO RODZ                                  SAN ALBERTO GARDEN          EDIF 3 APT 32                                                                 UTUADO              PR           00641
          EQUIPO BASEBALL LOS
   647908 PATRIOTAS                                   BO SABANA GRANDE            CARR 611 KM 4 0                                                               UTUADO              PR           00641
          EQUIPO BASEBALL LOS PIRATAS
   155020 11/12 ANOS                                  J 14 URB JESUS M LAGO                                                                                     UTUADO              PR           00641
          EQUIPO BASEBALL LOS PIRATAS
   155021 15‐16                                       LOS PENAS                   1A CALLE SORRETO 10                                                           SAN JUAN            PR           00924
          EQUIPO BASEBALL LOS SONICS
   155022 7/8 ANOS                     BOX 546                                                                                                                  UTUADO              PR           00611
                                       CATEGORIA 13 Y 14 ANOS /LUIS               RES SAN ALBERTO GDENS EDIF 3
   155023 EQUIPO BASEBALL NEW YANKEES ORTIZ                                       APT 36                                                                        UTUADO              PR           00641
          EQUIPO BASEBALL OLD TIMER
   647909 UTUADO /MOISES               28 CALLE SAN ANTONIO                                                                                                     UTUADO              PR           00641
          EQUIPO BASEBALL SUB 21 C/O
   647911 JOSE RUIZ                    P O BOX 1964                                                                                                             ARECIBO             PR           00613
          EQUIPO BASEBALL SUB22 LOS
   647912 PIRATAS UTUADO               BOX 522                                                                                                                  UTUADO              PR           00641
          EQUIPO BEISBOL DOBLE A
   155024 PEREGRINOS INC               PO BOX 853                                                                                                               HORMIGUEROS         PR           00660
          EQUIPO BEISBOL DOBLE A
   647913 PESCADORES PLATA             P O BOX 111                                                                                                              COMERIO             PR           00782
          EQUIPO BEISBOL JUV TIBURONES
   155025 AGUADILLA                    PO BOX 4302                                                                                                              AGUADILLA           PR           00605
   647914 EQUIPO BEISBOL OLD JIMERS    URB LOS ROBLES                             H 1 CALLE 6                                                                   GURABO              PR           00778
          EQUIPO BEISBOL PAJAROS CLASE
   647915 A INC                        MONTE CASINO                               J 27 CALLE BAMBU                                                              TOA ALTA            PR           00953
          EQUIPO BEISBOL PETATEROS
   647916 DOBLE A                      URB VILLA ALBA                             H 6 CALLE 10                                                                  SABANA GRANDE       PR           00637
   647917 EQUIPO BLUE JAYS             91‐19V CALLE 90 A                                                                                                        CAROLINA            PR           00985
          EQUIPO BLUE YAYS RICHARD
   647918 COSBY LOPEZ                  CAPARRA TERRACE                            1563 CALLE 10 SO                                                              SAN JUAN            PR           00921
   647919 EQUIPO CLASE A DE MAGINAS    BO MAGINAS                                 283 CALLE PAPAYO                                                              SABANA GRANDE       PR           00637

   155026 EQUIPO CLASE A DE PINONES INC HC 01 BOX 7304                                                                                                          LOIZA               PR           00772
                                        51A C/ ANGEL GREGORIO
   647921 EQUIPO CLASE A DE SUSUA       MARTINEZ                                                                                                                SABANA GRANDE       PR           00637
          EQUIPO CLASE A LOS
   647922 GANDINGUEROS                  JARD DE GUATEMALA                         A 7 CALLE 1                                                                   SAN SEBASTIAN       PR           00685




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          EQUIPO CLASE A LOS INDIOS DE
   647923 DAGUAO                                      P O BOX 839                                                                                          NAGUABO             PR           00718
          EQUIPO CLASE A PARCELAS
   647920 MARTERAL                                    67 URB MENDEZ                                                                                        YABUCOA             PR           00767
   155027 EQUIPO CLASE A PASTILLO                     HC 02 BOX 10012                                                                                      JUANA DIAZ          PR           00795
          EQUIPO CLASE A PUNTA
   155028 SANTIAGO INC                                PO BOX 698                                                                                           PUNTA SANTIAGO      PR           00741
   647924 EQUIPO CLASE A SAN ISIDRO                   SAN ISIDRO                   PARC 40 CALLE 112                                                       CANOVANAS           PR           00729
   647925 EQUIPO COLISEBA JUVENIL                     EXT VILLA DE LOS SANTOS II   A 22 338                                                                ARECIBO             PR           00612
          EQUIPO CORRECAMINOS DE
   647926 BARCELONETA                                 PO BOX 9023207                                                                                       SAN JUAN            PR           00902‐3207
          EQUIPO CORRECAMINOS
   647928 PALMAS ALTAS                                PARCELA PALMAS ALTAS         BOX 49                                                                  BARCELONETA         PR           00617
                                                      URB MANSIONES DE SANTA
   155029 EQUIPO CREATIVO INC                         PAULA                        CALLE A 8                                                               GUAYNABO            PR           00969
          EQUIPO DE BALONCESTO
   647929 EXPLOSIVOS DE MOCA                          P O BOX 245                                                                                          MOCA                PR           00676

   647930 EQUIPO DE BALONCESTO SUB 20 LOMAS DE TRUJILLO ALTO                       C 15 CALLE 2                                                            TRUJILLO ALTO       PR           00976
          EQUIPO DE BASEBALL GUATIBIRI
   647931 CAT 5 Y 6                     MANUEL RIVERA                              B 42 URB CABRERA                                                        UTUADO              PR           00641
          EQUIPO DE BASEBALL LOS
   647932 BRUJOS GUAYAMA                PO BOX 9023207                                                                                                     SAN JUAN            PR           00902‐3207
          EQUIPO DE BASEBALL LOS
   647934 MARLIN                        23 PEREZ MATOS                                                                                                     UTUADO              PR           00641
          EQUIPO DE BASEBALL/ RAFAEL
   647935 GOMEZ RIVERA                  A 20 URB SAN MARTIN                                                                                                UTUADO              PR           00641
          EQUIPO DE BEISBOL AA JUVENIL
   155030 DE UTUADO                     187 AVE ESTEVEZ                                                                                                    UTUADO              PR           00641
          EQUIPO DE BEISBOL AA
   155031 MONTANESES UTUADO             P O BOX 27                                                                                                         UTUADO              PR           00641
          EQUIPO DE BEISBOL CLASE A DEL
   155032 BARRIO                        MARIANA DE HUMACAO INC                     HC 1 BOX 17135                                                          HUMACAO             PR           00791
          EQUIPO DE BEISBOL COLICEBA
   155033 ISABELA INC                   JARDINES DE MIRAMEZ                        F 8 CALLE CEREZAL                                                       ISABELA             PR           00662
          EQUIPO DE BEISBOL NACIONAL
   155034 DE P R                        PO BOX 191897                                                                                                      SAN JUAN            PR           00919‐1897
          EQUIPO DE BEISBOL NACIONAL
   155035 DE P R INC                    PO BOX 191897                                                                                                      SAN JUAN            PR           00918
          EQUIPO DE BEISBOL PIRATAS 21
   647936 INC                           RES LLORENS TORRES                         EDIF 52 APT 1036                                                        SAN JUAN            PR           00915
          EQUIPO DE LAS AGUILAS DE TOA
   647937 BAJA                          URB LEVITTOWN                              HN 15 C/ RAMON MORLA                                                    TOA BAJA            PR           00949
          EQUIPO DE NATACION PIRATAS
   647938 DE CAROLINA                   VILLAS DE LOIZA                            GA 4 CALLE 3                                                            CANOVANAS           PR           00729‐4268
          EQUIPO DE PRO
   155036 CONVALECENCIA                 RR 9 BOX 1870                                                                                                      SAN JUAN            PR           00926
   647940 EQUIPO DE SABRINA             MANSIONES REALES                           E 39 PASEO DE LA REINA                                                  GUAYNABO            PR           00969
          EQUIPO DE SOFTBALL DE
   647941 CARRAIZO ALTO                 PO BOX 20187                                                                                                       SAN JUAN            PR           00928
          EQUIPO DE SOFTBALL DE LAS
   155037 PIEDRAS                       LOS RETADORES INC                          HC 03 BOX 7861                                                          LAS PIEDRAS         PR           00771




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          EQUIPO DE SOFTBALL POLICIAS
   647942 DE SAN JUAN                                 URB METROPOLIS              F1 15 CALLE 4                                                        CAROLINA            PR           00987
          EQUIPO DE SOFTBOL SUPERIOR
   155038 FEMENINO LAS                                INDUSTRIALES INC                                                                                 BARCELONETA         PR           00617
          EQUIPO DE VOLLEYBALL
   647943 GIGANTES DE ADJUNTA                         P O BOX 820                                                                                      AJUNTAS             PR           00641
   647944 EQUIPO DEVIL RAYS                           RES SAN JOSE                EDIF 9 APT 323                                                       SAN JUAN            PR           00923
   155039 EQUIPO DIAMOND BACKS                        HC 03 BOX 20490                                                                                  RIO GRANDE          PR           00745
   647945 EQUIPO DIAMOND BACKS INC                    357 CALLE CANOVANAS                                                                              SAN JUAN            PR           00912
          EQUIPO DOBLE A GUERILLEROS
   647947 RIO GRANDE                                  PO BOX 9023207                                                                                   SAN JUAN            PR           00902‐3207
          EQUIPO DOBLE A JUVENIL DE
   647949 SABANA GRANDE                               20 CALLE SAN MIGUEL                                                                              SABANA GRANDE       PR           00637
          EQUIPO DOBLE A SUPERIOR
   155040 MASCULINO LOS                               PLATANEROS DE COROZAL INC   PO BOX 715                                                           CATANO              PR           00963
   647950 EQUIPO DOBLE AA JUVENIL                     URB LA HACIENDA             24 CALLE B                                                           COMERIO             PR           00782
          EQUIPO FAJARDO ROYALS JUAN
   647951 CARLOS ABREU                                P O BOX 9023207                                                                                  SAN JUAN            PR           00902‐3207
   647952 EQUIPO GIANTS 9 ‐ 10                        VILLA ANDALUCIA             123 CALLE RONDA                                                      SAN JUAN            PR           00926

          EQUIPO GINECOLOGICO
   155041 OBSTETRICO DE SALUD E G O S PO BOX 7375                                                                                                      CAGUAS              PR           00726
   155042 EQUIPO KNIGHTS               CIUDAD UNIVERSITARIA                       AA 9 CALLE 32                                                        TRUJILLO ALTO       PR           00976
          EQUIPO LA PLAYA A/C MIQUEL A
   647953 RODRIGUEZ                    HC 01 BOX 17135                                                                                                 HUMACAO             PR           00791
          EQUIPO LOS AMIGOS DE SAN
   647954 JUAN                         MIRA PALMERA                               A 6 A CALLE FAJARDO                                                  SAN JUAN            PR           00915
          EQUIPO LOS ANGELITOS PENA
   155043 POBRE                        HC 1 BOX 4552                                                                                                   NAGUABO             PR           00718‐9722
   647956 EQUIPO LOS ASTROS            URB EXPERIMENTAL                           35 A CALLE 2                                                         SAN JUAN            PR           00926
   155044 EQUIPO LOS BRAVOS JR INC     P O BOX 62                                                                                                      CIDRA               PR           00739
   647957 EQUIPO LOS GATOS             P O BOX 137                                                                                                     TOA BAJA            PR           00951
          EQUIPO LOS GATOS COLICEBA    21 CALLA KENNEDY BO
   647958 DORADO                       MAMEYAL                                                                                                         DORADO              PR           00646
          EQUIPO LOS INDIAN CATEGORIA
   647959 11 ‐ 12                      B 34 CABRERA                                                                                                    UTUADO              PR           00641

   647960 EQUIPO LOS LEONES CAT 9‐10                  ALTURAS DE RIO GRANDE     CALLE 14K BLOQ M215                                                    RIO GRANDE          PR           00745
          EQUIPO LOS MARLINS DEL                      CAMINO EL ZOOLOGICO BUZON
   647961 QUEMADO (MAYAGUEZ                           1555                                                                                             MAYAGUEZ            PR           00680
          EQUIPO LOS METS
   647962 BASEBALL/ANGEL C ROSADO                     BO PAJAROS KM 2 2                                                                                TOA BAJA            PR           00949
          EQUIPO LOS PIRATA DE VILLA
   647963 SOFIA INC                                   PO BOX 1142                                                                                      SAN SEBASTIAN       PR           00685
   647964 EQUIPO LOS ROOKIES                          H C 01 BOX 16438                                                                                 HUMACAO             PR           00791
          EQUIPO MARINERS DE PR Y/O
   647965 JESUS SANTAEL                               URB COUNTRY CLUB 4TA EXT    841 CALLE JAVAS                                                      SAN JUAN            PR           00924

   647966 EQUIPO MASCULINO WHITE SOX PO BOX 9454                                                                                                       SAN JUAN            PR           00936
   647967 EQUIPO MEDICO DE GURABO    PO BOX 1344                                                                                                       GURABO              PR           00778
          EQUIPO NACIONAL DE
   647968 BALONCESTO DE PR           P O BOX 70343                                                                                                     SAN JUAN            PR           00936‐8343




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          EQUIPO NACIONAL FEMENINO
   155045 JUVENIL DE POLO              ACUATICO DE PR INC              PO BOX 10528                                                         SAN JUAN            PR           00922
          EQUIPO NACIONAL TACKWON‐
   155046 DO PUERTO RICO               P O BOX 371893                                                                                       CAYEY               PR           00737‐1893
          EQUIPO NACIONAL TAEKWON
   155047 DO P R ANT CORP              PO BOX 371893                                                                                        CAYEY               PR           00737‐1883
          EQUIPO NATACION LLANEROS DE
   155048 TOA BAJA                     PO BOX 52320                                                                                         TOA BAJA            PR           00950
   647970 EQUIPO PADRES 11‐12          HC 1 BOX 5161                                                                                        ARECIBO             PR           00616
          EQUIPO PENA POBRE SOFTBALL
   155049 TEAM                         HC 02 BOX 4497                                                                                       LAS PIEDRAS         PR           00771
          EQUIPO PEQUENAS LIGAS BO
   155050 TUQUE                        SANTIAGO Y LIMA                 BOX 15                                                               NAGUABO             PR           00718
          EQUIPO RANGER LIGA INF Y JUV
   647971 LAS PIEDRAS                  HC 01 BOX 16011                                                                                      HUMACAO             PR           00791‐9722
          EQUIPO SOFTBALL EMPLEADOS
   647972 MUN INC                      HC 03 BOX 15590                                                                                      YAUCO               PR           00698‐9647

   647973 EQUIPO SOFTBALL LOS BRAVOS                  HC 01 BOX 3961                                                                        BARRANQUITAS        PR           00794‐9605
          EQUIPO SOFTBALL LOS
   155051 MAESTROS                                    P O BOX 645                                                                           YABUCOA             PR           00767

   647974 EQUIPO SOFTBALL LOS RANGER HC 02 BOX 5847                                                                                         LARES               PR           00667
          EQUIPO SOFTBALL TIBORONES
   647975 DE AGUADILLA                HC 1 BOX 17434                                                                                        AGUADILLA           PR           00603
          EQUIPO SUP. MASCULINO
   155052 SOFTBALL CA.CORP            PO BOX F‐15                                                                                           CATANO              PR           00967
   647976 EQUIPO TIGRES F C           128 E CALLE PARIS                                                                                     SAN JUAN            PR           00917
          EQUIPO VOLEYBALL FEMENINO
   647977 DE ADJUNTAS                 JOSE A PEREZ SANTIAGO            BOX 517                                                              ADJUNTAS            PR           00641
          EQUIPO VOLLEYBALL CARIDUROS
   647978 DE FAJARDO                  HC 66 BOX 7294                                                                                        FAJARDO             PR           00738
          EQUIPO Y CONSTRUCTORA RVD
   155053 INC                         LA MUDA CONSTRACT BRANCH                                                                              CAGUAS              PR           00725
          EQUIPO YABUCOA FC
   647979 AZUCARERA                   P O BOX 2039                                                                                          YABUCOA             PR           00767
          EQUIPO YANKEES CLUB
   647980 CAROLINA INC                BUENA VISTA                      34 CALLE LOS PINOS                                                   CAROLINA            PR           00987
   155054 EQUIPOS COMERCIALES INC     1029 AVE JESUS T PINERO                                                                               SAN JUAN            PR           00920
   647981 EQUIPOS DE BORINQUEN INC    PO BOX 3557                                                                                           CAROLINA            PR           00984
   155055 EQUIPOS DE CAROLINA CORP    PLAZA CAROLINA STA               PO BOX 9120                                                          CAROLINA            PR           00988
   647982 EQUIPOS MEDICOS DE LARES    PO BOX 369                                                                                            LARES               PR           00669
          EQUIPOS MEDICOS DEL
   155057 NOROESTE                    HC 4 BOX 15196                                                                                        MOCA                PR           00676
          EQUIPOS MEDICOS LA          CARR 891 KM 15.0 SALIDA DEL
   155059 MONTANA                     PUEBLO                                                                                                COROZAL             PR           00783
          EQUIPOS ORTOPEDICOS DEL
   647984 OESTE                       51 OESTE AVE MENDEZ VIGO                                                                              MAYAGUEZ            PR           00680

   155060 EQUIPOS PRO ‐ IMPEDIDOS , INC. P. O. BOX 9734                                                                                     CAGUAS              PR           00726‐0000
          EQUIPOS PRO CONVALECENCIA
   155061 INC                            RR 37 BOX 1870                                                                                     SAN JUAN            PR           00926‐9728




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   155062 EQUIPOS PRO IMPEDIDOS , INC BOX 9734                                                                                                                           CAGUAS               PR           00725
          EQUIPOS PRO IMPEDIDOS DE PR
   647985 INC                         PO BOX 9734                                                                                                                        CAGUAS               PR           00726
          EQUIPOS Y CONSTRUCTORA RVD
   155063 INC                         LA MUDA CONTRACT BRANCH                       CARR 1 KM 22 HM 3                                                                    CAGUAS               PR           00725
   155064 EQUISALES INC               P O BOX 270284                                                                                                                     SAN JUAN             PR           00927‐0284
   155065 EQUITECH CORP               138 AVE WINTON CHURCHILL                      PMB 927                                                                              SAN JUAN             PR           00926‐6023
   647987 EQUITRAC CORPORATION        PO BOX 25294                                                                                                                       MIAMI                FL           33102

   155067 EQUITY DE PUERTO RICO, INC.                 PO BOX 5415                                                                                                        SAN JUAN             PR           00906‐5415

   647988 EQUITY MORTAGAGE INC                        413 CALLE BOLIVAR PDA 23 1/2                                                                                       SAN JUAN             PR           00912
                                                      L 131 URB ALTURAS DE
   155068 ER ENGINEERING INC                          MIRADERO                                                                                                           CABO ROJO            PR           00623
                                                      4370 JOLLA VILLAGE DRIVE SUITE
   647989 ER MAPPER                                   900                                                                                                                SAN DIEGO            CA           92122‐1253
                                                      16341 TABLE MOUNTAIN
   155072 ERA A WATERS COMPANY                        PARKWAY                                                                                                            GOLDEN               CO           80403
   155074 ERA ORTHOPEDICS CORP.                       P.O. BOX 1449                                                                                                      LUQUILLO             PR           00773
   647990 ERADIN NEGRON BONILLA                       BO VACAS SECTOR MOGOTES        CARR 561 BOX 8030                                                                   VILLALBA             PR           00766
   155075 ERADIN ORTIZ                                REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   155076 ERAIDA SANCHEZ RIVERA                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   155077 ERALIS MORALES REYES                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   647991 ERAMIO ALBARRON GONZALEZ                    2010 CALLE PALAU                                                                                                   SAN ANTONIO          PR           00690
   155078 ERANIO COLLAZO OCASIO                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   155080 ERASMO COLON COLON                          RR01 BOX 10512                                                                                                     OROCOVIS             PR           00720‐9607
   647994 ERASMO COSME CINTRON                        HC 01 BOX 4049                                                                                                     JUANA DIAZ           PR           00795
   647995 ERASMO DE LOS SANTOS                        HC 5 BOX 58026                                                                                                     HATILLO              PR           00659
   647992 ERASMO DON ZABALA                           COND PLAZA ATLANTICO          AVE ISLA VERDE APT 1502                                                              CAROLINA             PR           00979

   155081 ERASMO GARCIA SOTOMAYOR                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   155082 ERASMO LEBRON MONCLOVA                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   647996 ERASMO LEON ROSARIO                         PO BOX 842                                                                                                         JUAN DIAZ            PR           00795
   647997 ERASMO LOPEZ COLLET                         PO BOX 21365                                                                                                       SAN JUAN             PR           00926‐1365
          ERASMO MALDONADO
   647998 RODRIGUEZ                                   BO JUAN DOMINGO               61 CALLE ROBLES                                                                      GUAYNABO             PR           00966‐3160

   155083 ERASMO MARTINEZ COUVERTIER REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   155084 ERASMO MEDERO GENARO       REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   648000 ERASMO MORALES PEREZ       1000 CALLE MANANTIALES                                                                                                              MAYAGUEZ             PR           00680
   648001 ERASMO PEREZ GARCIA        URB. BALBOA TOWN HOUSE                         NUM. K85 CALLE 515                                                                   CAROLINA             PR           00985
   648002 ERASMO RAMOS INC           URB CROWN HILL                                 1753 CALLE JAJOME                                                                    SAN JUAN             PR           00926
   155085 ERASMO RAMOS, INC          CALLE JAJOME                                   1753 URB CROWN HILL                                                                  SAN JUAN             PR           00926
   648003 ERASMO REXACH CRUZ         POLICIA DE PR                                  PO BOX 70166                                                                         SAN JUAN             PR           00936‐8166
   155086 ERASMO REYES PENA          REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   648005 ERASMO RIVERA BURGOS       HC 1 BOX 3335                                                                                                                       BARRANQUITAS         PR           00794

   648007 ERASMO RODRIGUEZ GUZMAN                     PO BOX 29156                                                                                                       SAN JUAN             PR           00929
   648008 ERASMO RODRIGUEZ PAGAN                      H C 01 BOX 8181                                                                                                    BAJADERO             PR           00616
   648009 ERASMO SANTIAGO RIVERA                      BO MOGOTE                     P O BOX 645                                                                          VILLALBA             PR           00766
   155089 ERASMO SERRANO SERRANO                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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   648010 ERASMO VAZQUEZ ALVARADO                     ALT BORINQUEN GARDENS        KK3 CALLE ORQUIDEA                                                                 SAN JUAN            PR           00925
                                                      1 RES E RAMOS ANTONINI APT
   648011 ERASMO VAZQUEZ BURGOS                       37                                                                                                              PONCE               PR           00716
   648015 ERASMO VAZQUEZ MADERA                       HC 43 BOX 9788                                                                                                  CAYEY               PR           00736
   648017 ERASTO APONTE ORTIZ                         PARCELA CARMEN 22            A CALLE AGUILA                                                                     VEGA BAJA           PR           00692‐5803
   648018 ERASTO ARROYO RIVERA                        PO BOX 751                                                                                                      CAGUAS              PR           00726
   155090 ERASTO FELICIANO                            REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155091 ERASTO FELICIANO DIAZ                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648019 ERASTO FERNANDEZ PERALES                    PO BOX 539                                                                                                      MAUNABO             PR           00707
   648020 ERASTO GONZALEZ DIAZ                        BO PASO PALMAS               HC 01 BOX 3677                                                                     UTUADO              PR           00641
   648023 ERASTO RODRIGUEZ GARCIA                     P O BOX 5077                                                                                                    AGUADILLA           PR           00605
   155092 ERASTO SANTIAGO AREVALO                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648024 ERASTO SYSTEMS CORP                         PO BOX 364228                                                                                                   SAN JUAN            PR           00936
   155093 ERAZMO A DAVILA MELTZ                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648025 ERAZO CHAIR RENTAL                          PO BOX 6468                  SANTA ROSA UNIT                                                                    BAYAMON             PR           00960‐9005

   648026 ERBIN PAGAN POLANCO                         URB COLINAS DE MONTECARLOS F 28 CALLE 40                                                                        SAN JUAN            PR           00924
          ERC COMMUNICATORS GROUP
   648027 INC                                         PO BOX 195465                                                                                                   SAN JUAN            PR           00919‐5465
   648029 ERC COMPUTER TRAINING                       PO BOX 190838                                                                                                   SAN JUAN            PR           00919‐0838
          ERC COMPUTER TRAINING &
   155178 SOFTWARE SERVICE                            PO BOX 190838                                                                                                   SAN JUAN            PR           00919‐0838
          ERC INTEGRATED
   155179 COMMUNICATIONS                              100 CARRETERA 165 SU                                                                                            GUAYNABO            PR           00968‐8052
   155180 ERC MANUFACTURING CORP                      HC 71 BOX 3150                                                                                                  NARANJITO           PR           00719
   155181 ERC SOLUTION, INC                           PO BOX 190877                                                                                                   SAN JUAN            PR           00919‐0877
   155182 ERC SOLUTIONS INC                           G 10 CALLE ONEILL                                                                                               SAN JUAN            PR           00918
   648031 ERCILIA FOURNIER                            P O BOX 11855                                                                                                   SAN JUAN            PR           00910‐4225
   155185 ERCILIA RIVERA RIVERA                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155186 ERCILIO NIEVES RIVERA                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155187 ERCILLA VALENTIN CALVENTE                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648032 ERDAS INCORPORATED                          2801 BUFORD HYGHWAY N E      SUITE 300                                                                          ATLANTA             GA           30329 2137
   648033 ERDIN CARDONA FELICIANO                     P O BOX 355                                                                                                     AGUADA              PR           00602
   155188 ERDIN VEGA GARCIA                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155189 ERDULFO SALCEDO PARES                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155150 EREDIA E SOTO VELEZ                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155191 ERENIA CONCEPCION                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155192 ERG A/C CONTRACTORS                         PMB 284                      PO BOX 7891                                                                        GUAYNABO            PR           00970‐7891
   155193 ERGAS MD, ENRIQUE                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155194 ERGO DIRECT .COM                            510 ELM STREET                                                                                                  SAN CARLOS          CA           94070
   155195 ERGO IN DEMAND INC                          4900 INDUSRY DRIVE                                                                                              CENTRAL POINT       OR           97502
   155196 ERGODY TORRES DAVILA                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155197 ERGON CARIBBEAN CORP                        PO BOX 832                                                                                                      GUAYNABO            PR           00970

   155198 ERHARD A VAZQUEZ MORALES                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155200 ERIANA RIVERA BROCO                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155201 ERIBERTO GONZALEZ VEGA                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648036 ERIBERTO RIVERA RIVERA                      HC 1 BOX 6484                                                                                                   CIALES              PR           00638
   155202 ERIC / AUTO COLLISION                       PO BOX 202                                                                                                      HATILLO             PR           00659
   155203 ERIC A ARROYO RAMIREZ                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648044 ERIC A AVILES IRIZARRY                      P O BOX 599                                                                                                     LAJAS               PR           00667 0599




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   155204 ERIC A BETANCOURT SANTAELLA REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155206 ERIC A CORDERO ALFONSO      REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648045 ERIC A CRUZ CAMACHO         HC 01 BOX 10924                                                                                                               LAJAS               PR           00667
   648046 ERIC A DAVID ESPARRA        PO BOX 357                                                                                                                    AIBONITO            PR           00735
   648047 ERIC A DIAZ                 HC 02 BOX 9165                                                                                                                COROZAL             PR           00783
   155207 ERIC A GARCIA MARRERO       REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   155208 ERIC A GONZALEZ ECHEVARRIA                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155209 ERIC A GOYCO VELEZ                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   648048 ERIC A GUILLERMETY PEREZ INC                PO BOX 9021606                                                                                                SAN JUAN            PR           00902
   155211 ERIC A MARQUEZ GUERRA                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155212 ERIC A MARRERO ARROYO                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155213 ERIC A MELENDEZ RAMOS                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648049 ERIC A RAMOS BAEZ                           URB ALTAMIRA               BOX 165                                                                            LARES               PR           00669
   155215 ERIC A REYES RODRIGUEZ                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648050 ERIC A RIOS FIGUEROA                        RR 7 BOX 7890                                                                                                 SAN JUAN            PR           00926
   648051 ERIC A RIVERA COLON                         HC 1 BOX 7008                                                                                                 GUAYAMA             PR           00784
   648052 ERIC A ROSADO FELICIANO                     LA MONSERRATE              31 AVE CENTRAL                                                                     SAN GERMAN          PR           00683
   155216 ERIC A SANTIAGO GUZMAN                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648053 ERIC A SORCHIK                              P O BOX 7068                                                                                                  NEW JERSEY          NJ           08628
          ERIC A VEGA RAMIREZ DE
   648054 ARELLANO                                    LOIZA STATION              P O BOX 6252                                                                       SAN JUAN            PR           00914
   155218 ERIC A VEGA REYES                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155219 ERIC A VELASCO ALVAREZ                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155220 ERIC A. GONZALEZ PEREZ                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155221 ERIC A. MARQUEZ GUERRA                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155222 ERIC A. OLIVERAS RIVERA                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155223 ERIC ADELAIDE GAMESS                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648055 ERIC ALBERTO RODRIGUEZ                      PLAYA PUERTO REAL          H 54 CALLE 1                                                                       FAJARDO             PR           00738
   155225 ERIC ALBINO RODRIGUEZ                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648056 ERIC ALEMAN DONES                           HC 61 BOX 4387                                                                                                TRUJILLO ALTO       PR           00976
   155227 ERIC ALONSO VEGA                            REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648058 ERIC ALVAREZ MENENDEZ                       URB VENUS GARDENS          AB 14 CALLE TAMAULIPA                                                              SAN JUAN            PR           00926
   155228 ERIC APONTE SANTIAGO                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155229 ERIC AQUINO GARCIA                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ERIC ARNALDO MARTINEZ
   648059 GARCIA                                      VILLA DE BUENA VISTA       G 14 CALLE HERMES                                                                  BAYAMON             PR           00957
          ERIC B CHANDLER HEALTH
   155231 CENTER                                      277 GEORGE ST                                                                                                 NEW BRUNSWICK       NJ           08901
   155232 ERIC BACHIER ROMAN                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155233 ERIC BADILLO BLAS                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648061 ERIC BAYALA PANTOJAS                        HC 52 BPX 3810                                                                                                BARCELONETA         PR           00652
   155234 ERIC BAYO VARGAS                            REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155235 ERIC BEACHAMP CINTRON                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648062 ERIC BERMUDEZ SNYDER                        I ALTOS DE LA COLINA       APT 509                                                                            SAN JUAN            PR           00926
   648063 ERIC BOCHERDING                             163 CALLE LABRA                                                                                               SAN JUAN            PR           00907
   155236 ERIC BOEDELIES DIAZ                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155237 ERIC BRANA KUILAN                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648064 ERIC BURGOS NEGRON                          BO ALMACIGO BAJO PARC 15                                                                                      YAUCO               PR           00698
   648065 ERIC C VEGA GUZMAN                          URB BROOKLY                297 CALLE LUIS LOZADA                                                              CAGUAS              PR           00725
   648066 ERIC CABALLIERY                             HC 4 BOX 41349                                                                                                MAYAGUEZ            PR           00680



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MML ID               NAME                                       ADDRESS 1                       ADDRESS 2              ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  155238 ERIC CAMANO DONES                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  155239 ERIC CANCEL ALGARIN                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  648068 ERIC CARMONA                                 P O BOX 9023786                                                                                                  SAN JUAN            PR         00902
  155241 ERIC CARRION RAMIREZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   648070 ERIC CARRO FIGUEROA                         73 EDIF MEDICAL SANTA CRUZ   SUITE 207                                                                           BAYAMON             PR         00959
   155242 ERIC CASTRO GIL                             REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155243 ERIC CASTRO ROSADO                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155244 ERIC COLON BERRIOS                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648074 ERIC COLON VASQUEZ                          P M B 290                    P O BOX 5075                                                                        SAN GERMAN          PR         00683
   648075 ERIC CONCEPCION SANTANA                     RANCHO GUAYAMA               L 5 JOSE MARTIN                                                                     GUAYAMA             PR         00784
   648076 ERIC CORREA RIVERA                          PO BOX 7493                  PUEBLO STATION                                                                      CAROLINA            PR         00986
   155245 ERIC CURBELO MENDEZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648077 ERIC D ACEVEDO CARTAGENA                    PO BOX 37                                                                                                        GURABO              PR         00778
   648078 ERIC D GUZMAN MERCADO                       EXT SAN NJOSE                11 CALLE A                                                                          GURABO              PR         00778

   155246 ERIC D MARTINEZ RODRIGUEZ                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155247 ERIC D NAGLE                                REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155248 ERIC D RIVERA APONTE                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648079 ERIC D RIVERA CRUZ                          URB VILLA LIZZETTE           D 15 CALLE DORA SOLER                                                               GUAYNABO            PR         00969

   155249 ERIC D RODRIGUEZ BUONOMO                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155250 ERIC D RYAN RODRIGUEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648080 ERIC D SERRANO ARZOLA                       PO BOX 9021112                                                                                                   SAN JUAN            PR         00902‐1112
   155251 ERIC D TORRES MARTINEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648082 ERIC D URRUTIA ECHEVARRIA                   PO BOX 790                                                                                                       RIO GRANDE          PR         00745‐0790
   648083 ERIC DANIEL RIOS ROSADO                     40 CALLE RAMON TORRES                                                                                            FLORIDA             PR         00650

   648084 ERIC DAVID MELENDEZ POLANCO JARD DE CAPARRA                              SS 10 CALLE 28                                                                      BAYAMON             PR         00959
   648086 ERIC DE JESUS PEREZ         URB PARQUE ECUESTRE                          J 20 CALLE GALLEGUITO                                                               CAROLINA            PR         00987
   155253 ERIC DE LA CRUZ IGLESIAS    REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155254 ERIC DEKONY VIERA           REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648088 ERIC DELGADO ALVAREZ        BOX 4445‐1                                                                                                                       NAGUABO             PR         00718
   648089 ERIC DELGADO LOZADA         LEVITTOWN LAKES                              E 1 CALLE MAGDA                                                                     TOA BAJA            PR         00949
   155255 ERIC DELGADO SANTIAGO       REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155256 ERIC DIEZ DE LA ROSA        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648090 ERIC E BARBOSA ORONA        URB MONTE ELENA                              114 CALLE POMARROSA                                                                 DORADO              PR         00646
   648091 ERIC E CORDERO MELENDEZ     PO BOX 1061                                                                                                                      BARCELONETA         PR         00617
   155260 ERIC E NIEVES COLON         REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155261 ERIC E PAGAN SOTO           REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648093 ERIC E RUIZ                 10489 NW 7TH ST APT 203                                                                                                          PEMBROKE            FL         33026
   155262 ERIC E SANTOS MEDINA        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155263 ERIC ESCALANTE DELGADO      REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155264 ERIC ESCOBAR MOREIRA        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155265 ERIC ESPONDA CABRERA        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648094 ERIC F MARQUEZ NORIEGA      PO BOX 97                                                                                                                        AGUADILLA           PR         00605
   648095 ERIC F RIVERA DELGADO       PMB 118 SUITE 140                            200 AVE RAFAEL CORDERO                                                              CAGUAS              PR         00725
   155266 ERIC F ROBLES OTERO         REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648096 ERIC F SERRANO ORTEGA       RR 3 BOX 4277                                                                                                                    SAN JUAN            PR         00926
   155267 ERIC F VAZQUEZ ORTIZ        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155268 ERIC F. VAZQUEZ ORTIZ       REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155269 ERIC FALCON RAMOS           REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155270 ERIC FIGUEROA               REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  648098 ERIC FIGUEROA SUAREZ                         VILLA VERDE                   F 12 CALLE 2                                                                        BAYAMON             PR           00959
         ERIC FRANCISCO GUZMAN
  648099 COLON                                        P O BOX 9808                                                                                                      SAN JUAN            PR           00908‐0808
  155271 ERIC FUENTES QUINONES                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  155273 ERIC G CARDONA VELEZ                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   155274 ERIC G GONZALEZ HERNANDEZ                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155275 ERIC G MARTINEZ TORRES                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155276 ERIC G ORTEGA RIVERA                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155277 ERIC G SANTIAGO GONZALEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   155278 ERIC G. GONZALEZ HERNANDEZ                  REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155279 ERIC GARCIA CONCEPCION                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155280 ERIC GARCIA RODRIGUEZ                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155281 ERIC GIL SANCHEZ SANTANA                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155282 ERIC GONZALEZ                               REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   648102 ERIC GONZALEZ HERNANDEZ                     CALLE MARIANA GONZALEZ 8                                                                                          MOCA                PR           00676
   648103 ERIC GONZALEZ MARTINEZ                      PMB 1014                      PO BOX 7999                                                                         MAYAGUEZ            PR           00681
   155283 ERIC GONZALEZ MORALES                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155284 ERIC GRAFALS SEMIDEL                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   648104 ERIC GUTIERREZ RIVERA                       URB ALTA VISTA                1950 CALLE AFRODITA                                                                 PONCE               PR           00716
   648105 ERIC GUZMAN COLON                           HC 2 BOX 7586                                                                                                     AIBONITO            PR           00705‐9601
   648106 ERIC H FRENCH CIRCUNS                       154 CALLE FORTALEZA                                                                                               SAN JUAN            PR           00901
   155285 ERIC HERNANDEZ BATALLA                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155287 ERIC HERRERA RIVERA                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155288 ERIC HONMA                                  REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   648110 ERIC I FELICIANO CINTRON                    PO BOX 2078                                                                                                       CEIBA               PR           00735
   155289 ERIC I FIGUEROA GONZALEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   648111 ERIC I REBOYRAS JIMENEZ                     URB VILLA LOS SANTOS          W 4 CALLE 19                                                                        ARECIBO             PR           00612
   648112 ERIC I SANCHEZ DE JESUS                     HC 3 BOX 10900                                                                                                    YABUCOA             PR           00762‐9704
          ERIC ICE CREAM (EDY'S ICE
   155290 CREAM)                                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   648113 ERIC IDIOT VAZQUEZ                          DORAL BANK CENTER SUITE 204   576 AVE CESAR GONZALEZ                                                              SAN JUAN            PR           00918
   155291 ERIC J ANDINO DEL VALLE                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155292 ERIC J BARRIOS LOPEZ                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155293 ERIC J BERRIOS BELTRAN                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   648116 ERIC J BURGOS ROSADO                        BDA STA CLARA                 30 CARR 144‐5                                                                       JAYUYA              PR           00664‐1520
   155294 ERIC J CALCANO CRUZ                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155295 ERIC J CARO BONILLA                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155296 ERIC J COLLAZO COLON                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155297 ERIC J COTTO MATOS                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155299 ERIC J DE JESUS SANTIAGO                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155300 ERIC J DELGADO BIAGGI                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   648117 ERIC J DIAZ SANTIAGO                        BOX 371273                                                                                                        CAYEY               PR           00737
          ERIC J DOMINGUEZ
   155301 MILLAN/GASPAR DOMINGUEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   155302 ERIC J FREYTES DE CHOUDENS                  REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   648118 ERIC J GOMEZ APONTE                         PO BOX 725                                                                                                        SAN LORENZO         PR           00754

   648119 ERIC J GONZALEZ BOCANEGRA                   URB LAS PALMAS                255 CALLE PALMA REAL                                                                MOCA                PR           00676
   155303 ERIC J GONZALEZ RIVERA                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  648039 ERIC J HEITMAN                               3 COWPEN DR                                                                                                    CEIBA               PR         00735
  648120 ERIC J HERNANDEZ CRUZ                        HC 2 BOX 8184                                                                                                  JAYUYA              PR         00664
  155304 ERIC J HERNANDEZ NIEVES                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  155305 ERIC J MALAVE APONTE                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  155306 ERIC J MARTINEZ CRUZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  155307 ERIC J MARTINEZ HERNANDEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  155309 ERIC J MARTINEZ LEON                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  648040 ERIC J MARTINEZ ROMAN                        RR 5 BOX 7975                                                                                                  BAYAMON             PR         00956

   155311 ERIC J MELENDEZ HERNANDEZ                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   648121 ERIC J MENDEZ CANDELARIA                    PMB 243 PO BOX 3080                                                                                            GURABO              PR         00778
   155312 ERIC J MILLAN                               REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   648122 ERIC J MORALES CRUZ                         PO BOX 1021                                                                                                    UTUADO              PR         00641
   155313 ERIC J OJEDA MARTINEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   155314 ERIC J OQUENDO RIVERA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   648123 ERIC J ORTIZ SANCHO                         URB PUERTO NUEVO             1231 CARDENA                                                                      SAN JUAN            PR         00920
   155316 ERIC J PABON MORALES                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   155317 ERIC J PACHECO CAMACHO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   155318 ERIC J PAGAN RIVERA                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   155320 ERIC J PIJUAN TORRES                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   648126 ERIC J RAMOS PADILLA                        BO PALMAREJUI APDO 793                                                                                         COAMO               PR         00769
   648114 ERIC J RIVERA GONZALEZ                      PO BOX 55                                                                                                      UTUADO              PR         00641
   155321 ERIC J RIVERA LLORENS                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          ERIC J RIVERA MATOS DBA ERIC
   155322 TRANSPORT S                                 HC 01 BOX 3854                                                                                                 SANTA ISABEL        PR         00757
   155323 ERIC J RIVERA SANTIAGO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   648129 ERIC J RIVERA VELEZ                         REPARTO SABANETAS            F 18 CALLE 5                                                                      PONCE               PR         00715
   648130 ERIC J ROBLES QUINTANA                      URB PTO NUEVO                1339 DENVER                                                                       SAN JUAN            PR         00920
   648131 ERIC J ROSADO SANTIAGO                      URB JARDINES                 128 CALLE 5                                                                       TOA ALTA            PR         00953
   155324 ERIC J RUIZ                                 REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   155325 ERIC J RUIZ VIZCARRONDO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   155326 ERIC J SANTIAGO CORREA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   155327 ERIC J SANTIAGO PIETRI                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   648132 ERIC J SANTOS SANCHEZ                       243 CALLE PARIS SUITE 1812                                                                                     SAN JUAN            PR         00917
   155328 ERIC J TORRES REYES                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   155329 ERIC J VAZQUEZ CORDERO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   155330 ERIC J VAZQUEZ ROSARIO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   155331 ERIC J. COLON CARRSQUILLO                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   155333 ERIC J. MEDINA MULERO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   155334 ERIC JAVIER ALEJANDRO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   155335 ERIC JOEL MARTINEZ RODRIGUEZ REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   648135 ERIC JOEL RIVERA FIGUEROA    PO BOX 188                                                                                                                    COROZAL             PR         00783
   648136 ERIC JOEL SERRANO AMBERT     BO MONTEBELLO                               CARR 641 KM 7                                                                     Florida             PR         00650
   155336 ERIC JOHNSON MD, GLEN        REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   155337 ERIC JOSUE ORTIZ MEDERO      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   648138 ERIC L AYALA VALENTIN        URB SANTA MARIA                             G 9 CALLE 6                                                                       SAN GERMAN          PR         00683
   155338 ERIC L IRIZARRY ELIAS        REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   648141 ERIC L NAVARRO TORRES        97 CALLE TORRES                                                                                                               PONCE               PR         00731
   648142 ERIC L RESTO LUNA            PO BOX 2421                                                                                                                   GUAYAMA             PR         00785
   155339 ERIC LABOY MAISONET          REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   155340 ERIC LABRADOR ROSA           REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   648144 ERIC LLUCH                   URB PASEO DOSEL                             LEVITTOWN 1791                                                                    TOA BAJA            PR         00949



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  648147 ERIC LOPEZ MURIENTE                          VALLE ARRIBA HEIGHTS         Z 9 CALLE YAGRUMO                                                                      CAROLINA            PR       00983
  155341 ERIC LUGO GOTAY                              REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED     REDACTED
  648148 ERIC LUGO MONTALVO                           SANTA TERESITA               G M 6 CALLE G                                                                          PONCE               PR       00731
  155342 ERIC LUGO RIOS                               REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED     REDACTED
  155343 ERIC M BAEZ PEREZ                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED     REDACTED
  648041 ERIC M CARRERO PEREZ                         PARQUE FLAMINCO              89 CALLE ZEUS T10                                                                      BAYAMON             PR       00959‐4890
  155344 ERIC M COLON APONTE                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED     REDACTED
  648149 ERIC M COTTO RIOS                            URB BORINQUEN VALLEY         127 CALLE MOLINILLO                                                                    CAGUAS              PR       00725
  648042 ERIC M FALCONER                              26 HORNET ROAD                                                                                                      CEIBA               PR       00735
  155345 ERIC M GONZALEZ LEBRON                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED     REDACTED
  155346 ERIC M GONZALEZ MEDINA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED     REDACTED
  648150 ERIC M JIMENEZ INC                           PO BOX 599                                                                                                          LAJAS               PR       00667
  155347 ERIC M JURADO LOPEZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED     REDACTED
  155348 ERIC M LLANOS LLANOS                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED     REDACTED
  155349 ERIC M PABON ROSADO                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED     REDACTED

   648152 ERIC M PARADIZO LUGO                        36 CALLE AMERICO RODRIGUEZ                                                                                          ADJUNTA             PR         00601
   155350 ERIC M RAMIREZ BELTRAN                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648153 ERIC M RIVERA SEPULVEDA                     P O BOX 9021962                                                                                                     SAN JUAN            PR         00902 1962
   648154 ERIC M SANCHEZ GONZALEZ                     ALT DE ADJUNTAS              APT 212                                                                                ADJUNTAS            PR         00601
   155351 ERIC M TORO GUERRIDO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648155 ERIC M TORRES CHEVERE                       RES SAN FERNANDO             EDF 18 APT 297                                                                         SAN JUAN            PR         00927
   648156 ERIC M VALLEJO FLORES                       URB SANTA JUAN II            D 35 CALLE 60                                                                          CAGUAS              PR         00725
   155352 ERIC M VIGOREAUX RIVERA                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155353 ERIC M. MARTINEZ COLON                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648157 ERIC MALDONADO VAZQUEZ                      FERNANDEZ JUNCOS STATION     PO BOX 19175                                                                           SAN JUAN            PR         00910
   648158 ERIC MANUEL RUIZ PEREZ                      P O BOX 142554                                                                                                      ARECIBO             PR         00614
   155355 ERIC MARTINEZ ACEVEDO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648159 ERIC MARTINEZ ARBONA                        P O BOX 68                                                                                                          ARECIBO             PR         00613
   648161 ERIC MARTINEZ OTERO                         18 CLIFF ST. APT. 2B                                                                                                WATERBURY           CT         06710
   155356 ERIC MARTINEZ PEREZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155357 ERIC MARTINEZ ROSARIO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155358 ERIC MARTINEZ SANTIAGO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648162 ERIC MATOS ORTIZ                            COND MADRE SELVA             APT 1001 07 CALLE EBANO                                                                GUAYNABO            PR         00968
   155359 ERIC MATTA COSTA                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155360 ERIC MEJIAS CAMACHO                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155361 ERIC MENDEZ CANCEL                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155362 ERIC MERCADO GONZALEZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155363 ERIC MERCADO MORALES                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155364 ERIC MIRANDA MUELLER                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155365 ERIC MORALES MORALES                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155366 ERIC MORALES MUNIZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648165 ERIC MORALES ROSAS                          PO BOX 613                                                                                                          CABO ROJO           PR         00623
   155367 ERIC MORALES TORRES                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648167 ERIC MUNIZ RODRIGUEZ                        HC 3 BOX 19979               BO HATO ARRIBA                                                                         ARECIBO             PR         00612
   155368 ERIC N COLON LUCCA                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155370 ERIC N COTTO CORREA                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   648168 ERIC N ESTRADA HERNANDEZ                    URB VILLA CAROLINA           23 8 AVE ROBERTO CLEMENTE                                                              CAROLINA            PR         00985
   648169 ERIC N FIGUEROA RIOS                        BO GAROCHALES                HC 52 BOX 4026                                                                         ARECIBO             PR         00652
   155371 ERIC N GIRON QUILINCHINI                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155372 ERIC N MATOS RODRIGUEZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155373 ERIC N TORRES ALMODOVAR                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  648171 ERIC N VELAZQUEZ ESPARRA                     BOX 22                                                                                                                GUAYNABO          PR         00969
  648173 ERIC NERIS CRUZ                              PMB 578                     PO BOX 1283                                                                               SAN LORENZO       PR         00754
  155375 ERIC NIEVES MAISONET                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155376 ERIC NOEL MOLINA CRUZ                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         ERIC O GONZ MORALES /
  648174 KARIDURO AUTO GLA                            P O BOX 266                                                                                                           FAJARDO           PR         00738

   648175 ERIC O LANDRON HERNANDEZ                    LOS MAESTROS                770 TEODORO AGUILAR                                                                       SAN JUAN          PR         00923
   155378 ERIC O NEGRON IRIZARRY                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   648177 ERIC O SOLER ZORRILLA                       218 CALLE LAS FLORES                                                                                                  SAN JUAN          PR         00912
   155379 ERIC O. JACKSON                             REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155380 ERIC O. RUIZ BELEN                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   155382 ERIC OMAR RODRIGUEZ MUNOZ REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   155383 ERIC OMAR VELAZQUEZ RAMOS                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155384 ERIC ORTIZ LLAVONA                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   648178 ERIC ORTIZ ROSARIO                          URB FAIRVIEW                G14 CALLE 11                                                                              SAN JUAN          PR         00926
   155385 ERIC ORTIZ SERRANO                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      1486 AVE FD ROOSEVELT APT
   648179 ERIC OTERO SANTIAGO                         1012                                                                                                                  SAN JUAN          PR         00920‐2740
   648181 ERIC PAGANI PADRO                           OFIC 203                    1104 CALLE BRUMBAUGH                                                                      SAN JUAN          PR         00925
   648182 ERIC PAMIAS FIGUEROA                        PO BOX 21365                                                                                                          SAN JUAN          PR         00928‐1365
   648183 ERIC PELLICIA VEGA                          P O BOX 672                                                                                                           LARES             PR         00669
   648184 ERIC PEREZ MARTINEZ                         PO BOX 2814                                                                                                           CAROLINA          PR         00984‐2814
   648185 ERIC PEREZ TORRES                           URB PUERTO NUEVO            311 CALLE 13 NE                                                                           SAN JUAN          PR         00920
   155386 ERIC PIMENTEL MEDINA                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155387 ERIC PINEIRO CARRERO                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155388 ERIC PORRATA CRUZ                           REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155389 ERIC QUETGLAS                               REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   771046 ERIC QUINONES                               REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   648186 ERIC R CALDERON SANTIAGO                    COND HATO REY PLAZA         APTO 19 K AVE JESUS T PINERO                                                              SAN JUAN          PR         00918

   155392 ERIC R CINTRON / RUTH E SOTO                REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155393 ERIC R COLLAZO TORRES                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155394 ERIC R FERNANDEZ FLORES                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155395 ERIC R FLORES ACOSTA                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   648187 ERIC R GARCIA / GLORIA E SOLIS HC 3 BOX 11508                                                                                                                     YABUCOA           PR         00767
   155397 ERIC R LOPEZ RODRIGUEZ         REDACTED                                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   648188 ERIC R MALDONADO FERNANDEZ URB ELEONOR ROOSEVELT                        279 CALLE JULIO LOPEZ LOPEZ                                                               SAN JUAN          PR         00918‐2809
   155398 ERIC R MUNOZ CANDANEDO     REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   648190 ERIC R ORTIZ MONGE         P O BOX 30461                                                                                                                          SAN JUAN          PR         00929‐1461
   155400 ERIC R ORTIZ TORRES        REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155401 ERIC R RODRIGUEZ ARROCHO   REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   648193 ERIC R VAZQUEZ MARTINEZ    URB JDNES DE NARANJITO                       C 14 CALLE 13                                                                             NARANJITO         PR         00719
   155402 ERIC R VERA SANCHEZ        REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155403 ERIC R. LOPEZ RODRIGUEZ    REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ERIC RAFAEL VELAZQUEZ
   155404 FONTANEZ                   REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   648194 ERIC RAMIREZ               PO BOX 5157 CUC STA                                                                                                                    CAYEY             PR         00737



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  648195 ERIC RAMIREZ CABRERA                         BUZON 962 CALLE GAVILAN                                                                                         ISABELA           PR         00662
  155405 ERIC RAMIREZ GUADALUPE                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  648196 ERIC RAMIREZ RODRIGUEZ                       PO BOX 1330                                                                                                     LAJAS             PR         00667
  648197 ERIC RAMOS BONILLA                           HC 2 BOX 5482                                                                                                   LARES             PR         00669
  155406 ERIC RAMOS RODRIGUEZ                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  648198 ERIC RAMOS TORRES                            BO ASOMANTE 149           SECCION LOS CUADRITOS                                                                 AIBONITO          PR         00705
  648199 ERIC RENE ROSARIO VELEZ                      PO BOX 1162                                                                                                     SABANA HOYOS      PR         00688
  648200 ERIC RESTO RIVERA                            HC 01 BOX 26901                                                                                                 CAGUAS            PR         00725‐8933
  155407 ERIC RIOS PLAZA                              REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155408 ERIC RIVERA CANDELARIO                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  648201 ERIC RIVERA CRUZ                             P STA P O BOX 163                                                                                               CAROLINA          PR         00986
  155409 ERIC RIVERA MARTINEZ                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  648204 ERIC RIVERA RIVERA                           P O BOX 683                                                                                                     GUAYAMA           PR         00785
  155410 ERIC RIVERA ROSARIO                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155411 ERIC RIVERA SANTOS                           REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155412 ERIC ROBLES RODRIGUEZ                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155413 ERIC RODRIGUEZ DIAZ                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155414 ERIC RODRIGUEZ PULIDO                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  648043 ERIC RODRIGUEZ PULIDO                        URB VILLA CAROLINA        157 20 CALLE 427                                                                      CAROLINA          PR         00985
  648205 ERIC RODRIGUEZ RIVERA                        10 A URB HERSON MORALES                                                                                         CABO ROJO         PR         00623
  648206 ERIC ROMERO DE LEON                          P O BOX 6951                                                                                                    CAGUAS            PR         00726
  648207 ERIC RONDA DEL TORO                          PO BOX 9023980                                                                                                  SAN JUAN          PR         00902‐3980
  648209 ERIC ROSA LOPEZ                              URB SAN ANTONIO           21 CALLE 3                                                                            AGUAS BUENAS      PR         00703
  155416 ERIC RUIZ RAMOS                              REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155417 ERIC S MARTINEZ PAGAN                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  648210 ERIC S QUIROS CRUZ                           PO BOX 197                                                                                                      LUQUILLO          PR         00773‐0197
  155418 ERIC S RIVERA LABOY                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  648213 ERIC SALGADO SANTIAGO                        938 CALLE JUAN BORIA                                                                                            DORADO            PR         00646
  155419 ERIC SANCHEZ SALGADO                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155420 ERIC SANTIAGO AGUAYO                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155421 ERIC SANTIAGO ALMESTICA                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155422 ERIC SANTIAGO RIVERA                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  648214 ERIC SANTIAGO TIRADO                         HC 09 BOX 4386                                                                                                  SABANA GRANDE     PR         00637
  648215 ERIC SANTIAGO VELAZQUEZ                      P O BOX 1076                                                                                                    OROCOVIS          PR         00720
         ERIC SCHOEN Y ELIZABETH
  648216 FUENTES                                      E 151 CALLE CARTAGENA                                                                                           BAYAMON           PR         00956
  648217 ERIC SCHROEDER VIVAS                         PO BOX 9022774                                                                                                  SAN JUAN          PR         00902‐2774
  648219 ERIC SERRANO FORTY                           URB LOMAS VERDES          A3 AVE LOMAS VERDES                                                                   BAYAMON           PR         00956
  648220 ERIC SIERRA CHARNECO                         URB ALTAMIRA              621 CALLE AUSTRAL                                                                     SAN JUAN          PR         00920
  155423 ERIC SNYDER DE LA VEGA                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155424 ERIC SOTO ORTIZ                              REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155425 ERIC T ADLER                                 REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  648221 ERIC TABALES VEGA                            SAN AGUSTIN               279 CALLE 8                                                                           SAN JUAN          PR         00928
  648222 ERIC TORRES CALCERRADA                       PO BOX 44                                                                                                       YAUCO             PR         00698‐0044
  155427 ERIC TORRES RODRIGUEZ                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155428 ERIC VAN RIVERA RIVERA                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155429 ERIC VARELA VARGAS                           REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155430 ERIC VAZQUEZ SANTIAGO                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155431 ERIC VEGA ROQUE                              REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155432 ERIC VEGA SANTANA                            REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155433 ERIC VELAZQUEZ JUST                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  648223 ERIC W RAMOS ORTIZ                           VILLA BLANCA              10 AVE JOSE GARRIDO                                                                   CAGUAS            PR         00725
  648224 ERIC WATLINGTON LINARES                      COND THE TERRACE          2306 CALLE LAUREL APT 9C                                                              SAN JUAN          PR         00913‐4620



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  155434 ERIC X MORALES SNYDER                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      MSC 104 CORREO
   648225 ERIC X ORTIZ ACEVEDO                        UNIVERSITARIO                                                                                                       HUMACAO             PR         00791
   155435 ERIC X PEREZ RODRIGUEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648226 ERIC X RODRIGUEZ BERIOS                     HC 4046 BDA MARTIN          SECTOR BUENA VISTA                                                                      ARROYO              PR         00714
   155436 ERIC Y PADRO RAMOS                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155437 ERIC Y SIERRA MULLER                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155438 ERICA A GARCIA MATOS                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155439 ERICA CANDELARIA DE JESUS                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155441 ERICA CARDONA LOPEZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648227 ERICA COLON ALVARADO                        BO QUEBRADA GRANDE          PO BOX 44                                                                               BARRANQUITAS        PR         00794
   648228 ERICA CORDERO SANTAELLA                     BO QUEBRADA ARENA           10 CAMINO MANGUAL                                                                       SAN JUAN            PR         00926‐9522
   155442 ERICA G NIEVES SANTIAGO                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ERICA GOODOFF MANAGING                      JOURNAL OFWILDLIFE          ALIANCE COMMUNICATIONS
   648230 EDITOR / THE                                MANAGEMENT                  GROUP                        810 EAST IO STREET                                         LAWRENCE            KS         66044‐3018
   648231 ERICA I VELEZ                               HC 02 BOX 13846                                                                                                     ARECIBO             PR         00612
   155443 ERICA I. REXACH DIAZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648232 ERICA INTERNATIONAL CORP                    PO BOX 145                                                                                                          FAJARDO             PR         00740
   648233 ERICA J RUIZ FIGUEROA                       EL CAFETAL II               0 5 CALLE MUNDO NUEVO                                                                   YAUCO               PR         00698
   155444 ERICA L MATA                                REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155446 ERICA M CLAUDIO RIVERA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   155447 ERICA M RODRIGUEZ CALDERON                  REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155448 ERICA M ROMAN HERNANDEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155449 ERICA MARTINEZ RIVERA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155450 ERICA NAVARRO CARRILLO                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155451 ERICA PINERO SIERRA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155452 ERICA RAMOS MERCED                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648236 ERICA RAMOS PEREZ                           URB EL CORTIJO              AB19 CALLE 21                                                                           BAYAMON             PR         00956

   648237 ERICA RUIZ GUZMAN                           BDA SAN MIGUEL CORREO GEN                                                                                           NARANJITO           PR         00719
   648238 ERICA SANTIAGO FIGUEROA                     PO BOX 609                                                                                                          NARANJITO           PR         00719
   155453 ERICA SANTOS MAS                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   648239 ERICA SANTOS RIVERA                         COND MARTINAL PLAZA         1414 CALLE WILSON APTO 603                                                              SAN JUAN            PR         00907
                                                                                  15 CALLE HIGUERA PARC
   648240 ERICA TRINIDAD VALENTIN                     COM MARQUEZ                 MARQUEZ                                                                                 MANATI              PR         00674
   648241 ERICA VAZQUEZ MARTINEZ                      HC 33 BOX 5483                                                                                                      DORADO              PR         00646
   648242 ERICA VELAZQUEZ TEXIDOR                     URB CABRERA                 A6                                                                                      UTUADO              PR         00641
   155454 ERICA VELEZ ROSADO                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155456 ERICARLOS MORALES LIZARDI                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   648243 ERICBAAN GONZALEZ TROCHE                    APARTADO 223                                                                                                        JAYUYA              PR         00664
          ERICBERTO SANTOS
   155458 MALDONADO                                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155459 ERICH G. RIVERA MURILLO                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155460 ERICHA ORTIZ RIVERA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ERICHA ORTIZ RIVERA /
   648244 RAMONITA ORTIZ                              RIACHUELO ENCANTADA         RD 32 CORRIENTES                                                                        TRUJILLO ALTO       PR         00976
   648245 ERICK A LUGO FIGUEROA                       P O BOX 1082                                                                                                        ADJUNTAS            PR         00601
   155461 ERICK A MELENDEZ REYES                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648246 ERICK A MORALES CASTELLA                    BO PITAHAYA                 CARR 924 KM 4 0                                                                         HUMACAO             PR         00791
   155462 ERICK A NATAL ZAYAS                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  648247 ERICK A NAVARRO RIVERA                       LA RAMBLA                 49 CALLE 3                                                                             PONCE                PR         00731
  155463 ERICK A NAVEDO CORREA                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  155465 ERICK A SANTIAGO LOPEZ                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  155466 ERICK A SOLA MORALES                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         ERICK ALBERTO CASANOVA
  155467 RIVERA                                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  648248 ERICK ALIGMENT                               TURABO GARDENS            M 16 CALLE 43                                                                          CAGUAS               PR         00725
  155468 ERICK ALMODOVAR SANTOS                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  648250 ERICK ALVAREZ NAZARIO                        PO BOX 1372                                                                                                      YAUCO                PR         00698
  155469 ERICK ALVAREZ ROMAN                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  155470 ERICK AMARO GARCIA                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  155471 ERICK APONTE GUZMAN                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  648251 ERICK ARROYO                                 VILLA FONTANA             VIA 42 4TS 6                                                                           CAROLINA             PR         00983
  155472 ERICK ASTASIO MARRERO                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  155473 ERICK B RODRIGUEZ ARROYO                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  648252 ERICK BARRETO GROFF                          URB VALLE REAL            1848 CALLE INFANTA                                                                     PONCE                PR         00716
  155474 ERICK BENITEZ BURGOS                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  648253 ERICK BERMUDEZ CARAMBOT                      BO FLORIDA                HC 01 BOX 8994                                                                         VIEQUES              PR         00765
  648254 ERICK BONES COLON                            HC 1 BOX 6252                                                                                                    ARROYO               PR         00714
  155475 ERICK CARABALLO MERCADO                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  648256 ERICK CARDONA DE JESUS                       ESTANCIAS DE SAN RAFAEL   NUM 14                                                                                 TRUJILLO ALTO        PR         00976
  155476 ERICK COURET RIOS                            REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   648257 ERICK D MALDONADO TORRES                    HC 2 BOX 46762                                                                                                   VEGA BAJA            PR         00693
   155477 ERICK D RAMOS SANCHEZ                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   155478 ERICK D RIVERA COLON                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   155479 ERICK D RIVERA OLIVIERI                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   648258 ERICK D ROBLES GARCIA                       URB VISTA ALEGRE          511 CALLE ORQUIDEA                                                                     VILLALBA             PR         00766
   155480 ERICK D. CEPEDA CRUZ                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   155481 ERICK DANIEL MONTANEZ VEGA                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   155482 ERICK DE JESUS ECHEVARRIA                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   648259 ERICK DIAZ ALBELO                           URB CAMINO REAL           44 COSTA REAL                                                                          JUANA DIAZ           PR         00795
   155485 ERICK E AGILAR JIMENEZ                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   155486 ERICK E KOLTHFF BENNER                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                                                364 CALLE SARGENTO MEDINA
   648260 ERICK E KOLTHOFF BENNERS                    COND MARIBEL I            SUITE 8                                                                                SAN JUAN             PR         00918‐3816

   155487 ERICK E MELENDEZ VILLALOBO                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   155488 ERICK E RODRIGUEZ RODRIGUEZ                 REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          ERICK EUGENIO COLLAZO
   648261 SANTIAGO                                    RR 1 BOX 3255                                                                                                    CIDRA                PR         00739
   155489 ERICK F MENDEZ COLON                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   648263 ERICK FLORES CALDERON                       BAIROA PARK               2C 8 CALLE PALEBO HERETER                                                              CAGUAS               PR         00727
          ERICK G JIMENEZ Y PATRICIA D
   648264 JIMENEZ                                     1329 CRYER AVENUE                                                                                                CINCINNATI           OH         45208
   155491 ERICK G LOPEZ NAZARIO                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   155493 ERICK G MARTINEZ VIDAL                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   155494 ERICK G NIEVES RIVERA                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   155495 ERICK G ROBLES BREA                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   155497 ERICK G VILLEGAS FONSECA                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED




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   155498 ERICK GABRIEL CARRASQUILLO                  REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155499 ERICK GALARZA CORNIER                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155500 ERICK GALVAN RODRIGUEZ                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648265 ERICK GARCIA AULET                          BOX 1441                                                                                                                JUANA DIAZ          PR           00795
   648266 ERICK GARCIA GALIANO                        PO BOX 1295                                                                                                             HORMIGUEROS         PR           00660
   155502 ERICK GARCIA ORTIZ                          REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155503 ERICK GONZALEZ CHEVERE                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648267 ERICK GONZALEZ RODRIGUEZ                    URB VILLA DEL SOL            E 3 C/ DR BARTOLOMEI                                                                       JUANA DIAZ          PR           00795

   155504 ERICK GONZALEZ VILLANUEVA                   REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648268 ERICK GREEN                                 115 FEDERAL ST 16TH FLOOR                                                                                               BOSTON              MA           02110
   155505 ERICK HADDOCK LOZADA                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      CALLE RAFAEL HERNANDEZ
   648269 ERICK HERNANDEZ LOPEZ                       LOPEZ                                                                                                                   SAN ANTONIO         PR           00690
   155506 ERICK HERNANDEZ SANTIAGO                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155507 ERICK I BELARDO CLAUDIO                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648270 ERICK I TORRES BABILONIA                    URB RIO PIEDRAS HEIGHTS      1711 CALLE SUNGARI                                                                         SAN JUAN            PR           00926‐3255
   648272 ERICK J BERRIOS RIOS                        URB VILLA CAROLINA           142 3 CALLE 409                                                                            CAROLINA            PR           00915
   155510 ERICK J CAMACHO DIAZ                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155511 ERICK J DIAZ BURGOS                         REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648273 ERICK J FRANCO CRUZ                         PO BOX 381                                                                                                              OROCOVIS            PR           00720
   155512 ERICK J GONZALEZ MENDEZ                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   648274 ERICK J HERRERA AVILES                      URB JARDINES DE SAN RAFAEL   71 CALLE SAN ISIDRO                                                                        ARECIBO             PR           00612‐2985

   648275 ERICK J MALDONADO MARTINEZ                  EXT SANTA TERESITA           BT 15 CALLE 33                                                                             PONCE               PR           00730
   648276 ERICK J MENDEZ COLON                        D 16 VILLA SERAL                                                                                                        LARES               PR           00669
   155513 ERICK J QUINONES DELGADO                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648277 ERICK J RIVERA COLON                        HC 01 BOX 4648                                                                                                          VILLALBA            PR           00766
   155514 ERICK J RIVERA VAZQUEZ                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648278 ERICK J RODRIGUEZ FELIX                     PO BOX 7319                                                                                                             CAGUAS              PR           00726‐7319

   155515 ERICK J RODRIGUEZ RODRIGUEZ REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155516 ERICK J ROSARIO TORRES      REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648279 ERICK J VEGA ROSARIO        16 CLALE HENNA                                                                                                                          CABO ROJO           PR           00623‐3531

   155519 ERICK JAMES SALCEDO CARVAJAL REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   155520 ERICK JAVIER GONZALEZ PEREZ                 REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155522 ERICK JOEL GARCIA RIVERA                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155523 ERICK JOEL VEGA SANCHEZ                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648280 ERICK JOSE FERNANDEZ                        614 ARAGON                                                                                                              SAN JUAN            PR           00920

   155524 ERICK L GONZALEZ MALDONADO REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648282 ERICK L NAVARRO RIVERA     CONSTANCIA                                    709 CALLE 9                                                                                PONCE               PR           00731

   648283 ERICK L RIJO MERCADO                        BO PALMER                    3 CALLE MARGINAL CARR 3 Y 955                                                              RIO GRANDE          PR           00745
   648284 ERICK L RIVERA JUSINO                       HC 01 BOX 6431                                                                                                          OROCOVIS            PR           00720
   155526 ERICK LUIS AYALA PEREZ                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155527 ERICK M ANDREW GONZALEZ                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648286 ERICK M CARABALLO SEDA                      REP UNIVERSIDAD              E 24 CALLE 11                                                                              SAN GERMAN          PR           00683
   648287 ERICK M HUERTAS                             BOX 756                                                                                                                 NARANJITO           PR           00719



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  648288 ERICK M QUETGLAS JORDAN                      P O BOX 16606                                                                                                      SAN JUAN           PR         00908‐6606
  155528 ERICK M QUINTANA ACEVEDO                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  155530 ERICK M SOTO AYALA                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  155531 ERICK M SURENS PADILLA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  155533 ERICK M TORRES NAVARRO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  155535 ERICK MARTINEZ                               REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  648290 ERICK MARTINEZ COLLAZO                       JARDINES DE CAPARRA          I 23 CALLE 11 APT1                                                                    BAYAMON            PR         00959
  648291 ERICK MARTINEZ COLON                         URB CHALETS DE DORADO        81 VILLA ESTE                                                                         DORADO             PR         00646‐2333
  155536 ERICK MARTY RULLAN                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  648293 ERICK MAYSONET NIEVES                        P O BOX 7126                                                                                                       PONCE              PR         00732
  155537 ERICK MCDONALD                               REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  155538 ERICK MELENDEZ BAEZ                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  155539 ERICK MEMORIAL SERV INC                      HC 02 BOX 7174                                                                                                     OROCOVIS           PR         00720
  648294 ERICK MENDEZ MENDEZ                          FLORAL PARK                  119 CALLE BETANCES                                                                    SAN JUAN           PR         00923
  648295 ERICK MIRANDA SANTIAGO                       URB SANTA JUANITA            QQ 18 CALLE 24 SUR                                                                    BAYAMON            PR         00957
  155540 ERICK MONSERRATE CRUZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  648296 ERICK MONTALVO ZARAGOZA                      APARTADO 243                                                                                                       SABANA GRANDE      PR         00637
  155541 ERICK MORALES PEREZ                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  155542 ERICK MYRTIL RENE                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  648297 ERICK N SOLA                                 URB PALMA DEL TURABO         68 CALLE CANARIAS                                                                     CAGUAS             PR         00727
  648298 ERICK NAVEDO SUAREZ                          URB MONTE ELENA              212 CALLE HORTENSIA                                                                   DORADO             PR         00646
  648299 ERICK NELSON OLAN VELEZ                      141 CALLE ELENA SEGARRA                                                                                            MAYAGUEZ           PR         00680
  155543 ERICK NIEVES RIVERA                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  155544 ERICK NOEL TORRES RAMOS                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  648300 ERICK O CORTES GARCIA                        URB METROPOLIS               2 G 38 CALLE 37                                                                       CAROLINA           PR         00987
  155546 ERICK O GUADALUPE                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  648301 ERICK O PEREZ MANZANO                        URB JDNS DE VEGA BAJA        P 47 CALLE C                                                                          VEGA BAJA          PR         00693
  155547 ERICK O RIVERA MUNIZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  155548 ERICK O RIVERA SOSTRE                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  648302 ERICK O TORRES ROSARIO                       URB BONNEVILLE HEIGHTS       25 CALLE GUAYNABO                                                                     CAGUAS             PR         00725
  155549 ERICK O. PINERO RIVERA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  155550 ERICK PAGAN MONERT                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  648303 ERICK PEREZ                                  PO BOX 2088                                                                                                        RIO GRANDE         PR         00745‐2088
  155551 ERICK PEREZ PADILLA                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   648304 ERICK PIZARRO CRUZ                          URB CIUDAD INTERAMERICANA    621 C/ DORADO                                                                         BAYAMON            PR         00956‐6854
   648305 ERICK R DIAZ LEON                           PO BOX 29611                                                                                                       SAN JUAN           PR         00926‐0611
   155552 ERICK R DIEPPA ALMODOVAR                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   648306 ERICK R GARCIA RODRIGUEZ                    P O BOX 2095                                                                                                       VEGA ALTA          PR         00692
   155553 ERICK R ORTIZ                               REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   155554 ERICK R TORRES GARCIA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   155556 ERICK RIVERA GARCIA                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   648309 ERICK RIVERA GOMEZ                          URB ESTANCIAS DE RIO HONDO II AT 35 CALLE RIO MOROVIS                                                              BAYAMàN            PR         00961
   648308 ERICK RIVERA OLIVERAS                       RR 6 BOX 9343                                                                                                      SAN JUAN           PR         00926
   648310 ERICK RIVERA PEREZ                          4TA EXT CONTRY CLUB           863 CALLE FILIPINAS                                                                  SAN JUAN           PR         00924
   648311 ERICK RIVERA VELEZ                          PO BOX 7126                                                                                                        PONCE              PR         00732

   155559 ERICK RODRIGUEZ RODRIGUEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   648312 ERICK RODRIGUEZ SANCHEZ                     HC 5 BOX 59777                                                                                                     CAGUAS             PR         00725
   648313 ERICK ROSALY TORRES                         P O BOX 7539                                                                                                       PONCE              PR         00732‐7539

   155561 ERICK S ALEJANDRO ALEJANDRO REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  155562 ERICK SANTIAGO PEREZ                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED     REDACTED
  648315 ERICK SERRANO GONZALEZ                       LA PERLA                       3 BAJADA ESCALERILLA                                                                SAN JUAN            PR       00901
  155563 ERICK SOTO ECHEVARRIA                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED     REDACTED
  648316 ERICK SUAREZ PAREZ                           URB PASEO LAS VISTAS           A 13 CALLE 1                                                                        SAN JUAN            PR       00926
  648317 ERICK TOMAS JORDAN VALLE                     COMINIDAD ESPECIAL MEMEY       226 SEGUNDO FELICIANO                                                               MOCA                PR       00676
  155564 ERICK TORRES PANTOJA                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED     REDACTED
  155565 ERICK TORRES RODRIGUEZ                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED     REDACTED
  648318 ERICK TRANSMISIONES                          VILLA DEL CARMEN               N 26 CALLE 11                                                                       GURABO              PR       00778
  155566 ERICK UJAQUE MARTINEZ                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED     REDACTED

   155567 ERICK V KOLTHOFF CARABALLO                  REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648319 ERICK VAZQUEZ RAMIREZ                       HC 01 BOX 5975                                                                                                     OROCOVIS            PR         00720‐9703
   155572 ERICK VELEZ GARCIA                          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155573 ERICK VIDAL VILLEGAS                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155574 ERICK W SANTOS OJEDA                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155575 ERICK X MAYO NIEVES                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155577 ERICK X SUAREZ SANTIAGO                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   155579 ERICK Y. MENDEZ CANDELARIA                  REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ERICK YAMIL WISCOVICH
   648321 HERNANDEZ                                   URB RAMIREZ                    32 SAN JOSE                                                                         CABO ROJO           PR         00622
   155580 ERICKA ALVERIO MORAN                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ERICKA DENNIS RIVERA
   155581 MANGUAL                                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155582 ERICKA LOPEZ CORTES                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155583 ERICKA MORALES GONZALEZ                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648324 ERICKA RIVERA CASTRO                        ASSMCA                                                                                                             HATO REY            PR         00936‐0000
          ERICKSON ROBERTO GARCIA
   155584 CABRERA                                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648325 ERICS PAGAN RIVERA                          URB SAN BENITO                 C 9 CALLE 3                                                                         PATILLAS            PR         00723
   648326 ERIC'S PRODUCTS                             PO BOX 8429                                                                                                        BAYAMON             PR         00960
          ERICS TRANSMISIONES
   155585 AUTOMATICAS                                 26 AVE GEORGETTI                                                                                                   CAGUAS              PR         00725

   155586 ERICSON MARTINEZ ACEVEDO                    REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155587 ERICSON SANCHEZ PREKS                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155588 ERIDA BERMUDEZ BURGOS                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   648328 ERIDANA M. VAZQUEZ ESPINAL                  PDA 25                         1704 CALLE VICTORIA                                                                 SAN JUAN            PR         00914
   155589 ERIDANIA COLON PEREZ                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   648329 ERIDANIA GUZMAN MARTINEZ                    PO BOX 9300157                                                                                                     SAN JUAN            PR         00930‐0157
   155590 ERIDANIA LOPEZ DIAZ                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   648330 ERIDANIA MARTINEZ MENDOZA BO OBRERO                                        117 CALLE 14                                                                        SAN JUAN            PR         00915
          ERIDANIA RODRIGUEZ
   648331 RODRIGUEZ                 PO BOX 55106                                                                                                                         BAYAMON             PR         00960
          ERIE COUNTY CORRECTIONAL
   155591 FACILITY                  11581 WALDEN AVE                                                                                                                     ALDEN               NY         14004

   155592 ERIE COUNTY MEDICAL CENTER                  925 NORTH POINT PKWY STE 350                                                                                       ALPHARETTA          GA         30005‐5214

   155593 ERIE FAMILY HEALTH CENTER                   ATTN MEDICAL RECORDS DEPT      1701 W SUPERIOR 2ND FL                                                              CHICAGO             IL         60622‐0000



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  648332 ERIE SCIENTIFIC CO OF PR                     PO BOX 5217                                                                                                       AGUADILLA         PR         00605
  155594 ERIED BENITEZ ORTIZ                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155595 ERIEL E RAMOS PIZARRO                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155596 ERIEL MERCADO NIEVES                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155597 ERIEL RAMOS PIZARRO                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155598 ERIEL VAZQUEZ PARDO                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155599 ERIEL VELEZ MALAVE                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155601 ERIER E DAVILA CARABALLO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155602 ERIER NEGRON BELTRAN                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155603 ERIEZER BATISTA RIVERA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  648335 ERIK ALVAREZ PAGAN                           HC 1 BOX 11732                                                                                                    COAMO             PR         00769‐9719
  155604 ERIK BENITEZ BURGOS                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155605 ERIK BORGES RODRIGUEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155606 ERIK C DELGADO AVILA                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  648336 ERIK CAMACHO CRUZ                            PO BOX 9023207                                                                                                    SAN JUAN          PR         00902‐3207
  155607 ERIK CASANAS FIGUEROA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155608 ERIK D COLLAZO SAN MIGUEL                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155609 ERIK DIAZ                                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   648338 ERIK DON SEGARRA                            385 FELISA RINCON GAUTIER   CONDOMINIO PUERTO PASEOS   APT. 2104                                                  SAN JUAN          PR         00926
   648339 ERIK F LUGO MEDINA                          HC 3 BOX 10650                                                                                                    CAMUY             PR         00627
   155611 ERIK FELICIANO LOPEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155612 ERIK G. MEDINA PI                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   648340 ERIK GUILLERMO MEDINA PI                    P O BOX 280                                                                                                       CABO ROJO         PR         00623
   155613 ERIK J RAMIREZ NAZARIO                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155614 ERIK JON RISOLVATO CARCIO                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   648342 ERIK LEON CRUZ                              P O BOX 3546                                                                                                      VEGA ALTA         PR         00692
   155615 ERIK M SANTIAGO FEBRES                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   648344 ERIK MARQUEZ SARRAGA                        PO BOX 40157 MINILLAS STA                                                                                         SAN JUAN          PR         00940
   648345 ERIK N COLON MARTINEZ                       HC 02 BOX 6075                                                                                                    COAMO             PR         00769
   648334 ERIK R DIAZ RODRIGUEZ                       HACIENDA SAN JOSE           88 VIA MATADERO                                                                       CAGUAS            PR         00727 3007

   648347 ERIK R RODRIGUEZ RODRIGUEZ                  PO BOX 171                                                                                                        PATILLAS          PR         00723
   648348 ERIK R SANCHEZ FUENTES                      35 CALLE BETANCES                                                                                                 COAMO             PR         00769
   648349 ERIK RIOS SANCHEZ                           HC 5 BOX 92090                                                                                                    ARECIBO           PR         00612
   155616 ERIK RIVERA MARCHAND                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   648350 ERIK RIVERA SANCHEZ                         PMB 179 BOX 3505                                                                                                  JUANA DIAZ        PR         00795
   648351 ERIK RODRIGUEZ SANTIAGO                     SAINT TROPE                 AVE ISLA VERDE APT 12 K                                                               CAROLINA          PR         00979
   648352 ERIK SANTANA MEDINA                         HC 71 BOX 2928                                                                                                    NARANJITO         PR         00719
   155617 ERIK X RIVERA PEREZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155618 ERIK X. RIVERA                              REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155619 ERIK X. RIVERA PEREZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155620 ERIKA A CALCANO CRUZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ERIKA A CARLO DE JESUS/
   155621 ARLENE DE JESUS                             REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155622 ERIKA A. RIVERA ACEVEDO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   648353 ERIKA ADORNO BERRIOS                        10719 GARDEN WOOD ROAD                                                                                            ORLANDO           FL         32837
   155623 ERIKA ADORNO DIAZ                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155624 ERIKA AGOSTO BURGOS                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155625 ERIKA ALCANTARA MARTNEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   648354 ERIKA ALICEA CRUZ                           BAYAMON GARDENS             DD 25 C/ C                                                                            BAYAMON           PR         00956
   155626 ERIKA AROCHO SANTOS                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155628 ERIKA BERRIOS BERRIOS                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  648355 ERIKA BONANO HERNANDEZ                       PO BOX 171                                                                                                 VIEQUES           PR         00765
  648356 ERIKA BRADSHAW LEES                          P O BOX 1503                                                                                               HORMIGUEROS       PR         00660
  648357 ERIKA CALDERON RAMIREZ                       EXT LA MILAGROSA         L 7 CALLE 9                                                                       BAYAMON           PR         00959
  155629 ERIKA CAMACHO OLMO                           REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  648358 ERIKA COLON DAVILA                           PO BOX 1023                                                                                                AIBONITO          PR         00705
  155631 ERIKA COLON NAVARRO                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  648359 ERIKA COLON SANTOS                           PO BOX 1379                                                                                                ARROYO            PR         00714
  155632 ERIKA CORIANO REYES                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  648360 ERIKA CRESPO                                 PO BOX 21365                                                                                               SAN JUAN          PR         009238
  648362 ERIKA D MATOS SANTIAGO                       HC 1 BOX 5263                                                                                              CIALES            PR         00638
  155633 ERIKA D. RIVERA RIVERA                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155634 ERIKA E FIGUEROA GARCIA                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  648365 ERIKA E FIGUEROA MARRERO                     URB SANTA JUANA II       D39 CALLE 6                                                                       CAGUAS            PR         00725
  648366 ERIKA E PEREZ MORALES                        URB OPEN LAND            578 CALLE CRUZ                                                                    SAN JUAN          PR         00923
  648367 ERIKA E PEREZ NIEVES                         4TA SECCION LEVITTOWN    AA 6 CALLE MELBA                                                                  TOA BAJA          PR         00949
  155635 ERIKA E VAZQUEZ PEREZ                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155636 ERIKA ENID VEGA MIRANDA                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   648368 ERIKA F CENTENO RODRIGUEZ                   HC 01 BOX 5939                                                                                             BAJADERO          PR         00616‐9715
   155638 ERIKA FERNANDEZ                             REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   648369 ERIKA FERNANDEZ MANGUAL                     URB LOS ARBOLES          162 CALLE GRANADA                                                                 RIO GRANDE        PR         00745
   155639 ERIKA FERNANDEZ ROSARIO                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   648370 ERIKA FIGUEROA RUIZ                         URB COLINAS DE HATILLO   8 CALLE COLINAS                                                                   HATILLO           PR         00659
   648371 ERIKA GARCIA LOPEZ                          HC 80 BOX 9360                                                                                             DORADO            PR         00646
   648372 ERIKA GARCIA RIVERA                         PO BOX 7741                                                                                                CAROLINA          PR         00987
          ERIKA GISSELLE VAZQUEZ
   155640 TORRES                                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155641 ERIKA GOMEZ ORTIZ                           REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155642 ERIKA GONZALEZ DELGADO                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155643 ERIKA GONZALEZ DIAZ                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   648374 ERIKA HUERTAS RIVERA                        RR 4 BOX 1159                                                                                              BAYAMON           PR         00956
   155644 ERIKA I ECHEVARRIA TORRES                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   648375 ERIKA I MARTINEZ SANTANA                    HC 1 BOX 8033                                                                                              LAS PIEDRAS       PR         00771
   155645 ERIKA I PEREZ DE JESUS                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   648376 ERIKA I RIVERA NIEVES                       CAPARRA TERRACE          1424 CALLE 34 SO                                                                  SAN JUAN          PR         00921

   155646 ERIKA I SEPULVEDA QUINONES                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155647 ERIKA I SOTO DE JESUS                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155648 ERIKA I. CRUZ ALVARADO                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155649 ERIKA IRIZARRY VILLANUEVA                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155650 ERIKA J MARTINEZ                            REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   648377 ERIKA J SANTIAGO VAZQUEZ                    JARD DEL CARIBE          5229 CALLE ROMBOIDAL                                                              PONCE             PR         00728

   155652 ERIKA J. JIMENEZ ARGUINZONI                 REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   155653 ERIKA JANICE RIOS RODRIGUEZ                 REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   648378 ERIKA L CONCEPCION GONZALEZ COND MAR DE ISLA VERDE                   APT 6 C                                                                           CAROLINA          PR         00979
                                      8101 BIRCHWOOD COURT SUITE
   648380 ERIKA LINDEN                N                                                                                                                          JOHNSTON          IA         50131
   648381 ERIKA LONGO FLORES          URB CAGUAS NORTE                         S 13 CALLE NEBRASKA                                                               CAGUAS            PR         00725
   155655 ERIKA LOPEZ MELENDEZ        REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155656 ERIKA LOZADA VEGA           REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  648383 ERIKA LYNN RAMOS JIMENEZ                     URB VENUS GARDENS           674 CALLE CUPIDO                                                                   SAN JUAN          PR         00926
  648384 ERIKA M ACOSTA FLORES                        RES FRANKLIN D ROOSEVELT    EDIF 26 APT 533                                                                    MAYAGUEZ          PR         00680
  155657 ERIKA M BENABE GONZALEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155658 ERIKA M MOLINA TORRES                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155659 ERIKA M MONTANEZ OLMEDA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155660 ERIKA M PEREZ GUZMAN                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155661 ERIKA M RIVERA ROMAN                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155662 ERIKA M RODRIGUEZ                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155663 ERIKA M RODRIGUEZ ORTIZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155664 ERIKA M ROSADO SALGADO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155665 ERIKA M TRAVIS AYALA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155666 ERIKA M VERA RIOS                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155667 ERIKA M. GANDIA SANCHEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155668 ERIKA M. LOPEZ COLON                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155669 ERIKA M. MUSSNER                             REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155670 ERIKA M. RIVERA CRUZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155671 ERIKA MALDONADO ROMAN                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155672 ERIKA MEDINA GARCIA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      COND JARD SAN FRANCISCO APT
   648388 ERIKA MENDEZ DELGADO                        205 B                                                                                                          SAN JUAN          PR         00927
   155674 ERIKA MENDEZ HERNANDEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   648389 ERIKA MILIBETH RIVERA                       COND UNIVERSAL PLAZA        APTO C 17 100 CALLE 5                                                              TRUJILLO ALTO     PR         00976
   155675 ERIKA MIRACH VEGA                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   648390 ERIKA MIRANDA ACEVEDO                       VILLAS DE LOIZA             AD 21 CALLE 24                                                                     CANOVANAS         PR         00729
   155676 ERIKA MOLINA VERGARA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   155677 ERIKA MONTANEZ                              REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   155678 ERIKA MONTANEZ RESTO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   648391 ERIKA MORALES                               HC 01 BOX 5560                                                                                                 LOIZA             PR         00772
   648392 ERIKA N CRUZ DELGADO                        HC 02 BOX 9886                                                                                                 JUNCOS            PR         00777
   155679 ERIKA N ESPADA SANTOS                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   155680 ERIKA NUNEZ RUBERT                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   155682 ERIKA OCASIO RIVERA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   648393 ERIKA OJEDA                                 516 CALLE ARABIA            PUERTO NUEVO                                                                       SAN JUAN          PR         00920
   648394 ERIKA PADILLA NEGRON                        VILLA KENNEDY               K 2 CALLE GUAJANA                                                                  TOA BAJA          PR         00952
   155683 ERIKA PAZOS CEVALLOS                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   155684 ERIKA PORRATA VAZQUEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   648395 ERIKA PORTALATIN MAYSONET                   AVE GUARICO                  HC 3 BOX 19314                                                                    VEGA BAJA         PR         00693
   155685 ERIKA QUINONES NAVEDO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   155686 ERIKA QUINONES PIZARRO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   155687 ERIKA REYES LEBRON                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   648396 ERIKA REYES RIVERA                          HC 2 BOX 10406                                                                                                 JUNCOS            PR         00777
   155688 ERIKA RIVERA FELICIE                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   155689 ERIKA RIVERA RAMIREZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   155690 ERIKA RODRIGUEZ OLMO                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   155691 ERIKA RODRIGUEZ PLAZA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   155692 ERIKA RODRIGUEZ RUIZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   648398 ERIKA RODRIGUEZ VAZQUEZ                     PARCELAS RODRIGUEZ OLMO      24 CALLE J                                                                        ARECIBO           PR         00612
          ERIKA ROLON LATORRE /
   155693 SANDRA LATORRE                              REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   155694 ERIKA ROLON PEREZ                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   648399 ERIKA ROMAN BERDECIA                        RES SIERRA BAYAMON           EDIF B 1 APT 2                                                                    BAYAMON           PR         00961
   155695 ERIKA ROSA RODRIGUEZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED



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  648400 ERIKA RUIZ EMMANUELLI                        URB DOS PINOS                 434 CALLE MIZAR                                                                        SAN JUAN           PR         00923
  648401 ERIKA S RIVERA VELEZ                         BOX 800561                                                                                                           COTTO LAUREL       PR         00780‐0561
  648402 ERIKA SALAMAN CABRERA                        3407 LIBRARY AVE                                                                                                     CLEVELAND          OH         44109
  648403 ERIKA SANCHEZ SANTIAGO                       PO BOX 240                                                                                                           SANTA ISABEL       PR         00757
  648404 ERIKA SANTIAGO DIAZ                          PO BOX 7905                                                                                                          CAGUAS             PR         00726
  155696 ERIKA SANTIAGO NEGRON                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  648405 ERIKA T CARDONA FELICIANO                    HC 01 BOX 10198                                                                                                      SAN SEBASTIAN      PR         00685
  155697 ERIKA TORRES BADILLO                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  155698 ERIKA VARGAS ROLON                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  648406 ERIKA VARGAS ROLON                           ALTURAS DE LUCHETI            K 34                                                                                   MANATI             PR         00674
  155699 ERIKA VELEZ ORTIZ                            REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  155701 ERIKA Y PELLOT CRESPO                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  155702 ERIKA Y. CORIANO REYES                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  648408 ERIKA YVETTE REYES MOLINA                    HC 3 BOX 29840                                                                                                       SAN SEBASTIAN      PR         00685
  648409 ERIKMAR INC                                  COSTA DE ORO                  B32 CALLE A                                                                            DORADO             PR         00646
  648410 ERIL A BURGOS COREANO                        URB LAS LOMAS                 1677 CALLE 24 SW                                                                       SAN JUAN           PR         00921‐1236
  155706 ERILIBETH RIBOT ESPADA                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  648412 ERINALDY AGOSTO MUJICA                       URB EL PILAR                  75 CALLE EUSEBIO ITURRINO                                                              CANOVANAS          PR         00729
         ERINN SHE MARTINEZ
  648413 HERNANDEZ                                    PASEO DE LAS BRUMAS           52 CALLE ROCIO                                                                         CAYEY              PR         00736
         ERIO D. QUINONES
  155708 VILLAHERMOSA                                 REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
  155709 ERIOMAR J RIVERA JUSINO                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
  155710 ERIONEXIS VIVES ROSA                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
  155711 ERIS M GONZALEZ CLAUSELL                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
  155712 ERISH K VEGA VIERA                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
  155713 ERISMARIS MILLAN BONILLA                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
  155714 ERISON CORTES MENDEZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED

   648416 ERISTOL TIRES                               CALLE VICTOR FIGUEROA # 759                                                                                          SANTURCE                      00908
   155715 ERITH T PENA JUAREZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   648419 ERITZA CRESPO VILLANUEVA                    BO ALEGRIA NORTE              EDIF 6 APT 402 APTO 48                                                                 BAYAMON            PR         00957
   155716 ERITZA M COLON BARBOSA                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   648420 ERIXANDER REYES                             1014 JARDINES DE CUENCA       195 AVE ALTERIAL HOSTOS                                                                SAN JUAN           PR         00918
          ERIZEL TORRES DBA GUADIANA
   155718 BUS LINE                                    AREA DEL TESORO               DIVISION DE RECLAMACIONES                                                              SAN JUAN           PR         00902‐4140
   155721 ERIZEL TORRES TORRES                        BOX 879                                                                                                              NARANJITO          PR         00719
          ERK CONSTRUCTION &
   155722 MANTENIANCE SERVICE                         RR 01 BOX 12107                                                                                                      MANATI             PR         00674
   155723 ERLEEN J MELENDEZ REYES                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   648421 ERLEEN ROSARIO                              MAMEYAL                       PARCELA 89 A CALLE 17                                                                  DORADO             PR         00646
   648422 ERLEN GARCIA MARIN                          P O BOX 400                                                                                                          BOQUERON           PR         00622

   155724 ERLIBERLISTH DELGADO BURGOS REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   155725 ERLIN MARTINEZ MARTINEZ     REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   155726 ERLINDA MARRERO MORALES     REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   155727 ERLINE M ALVAREZ RAMIREZ    REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   155728 ERLIS ORTIZ SERRANO         REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   155729 ERLYN RAMIREZ DIAZ          REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          ERM COPIER & BUSINESS
   155730 EQUIPMENT, INC.             136 CALLE VIVES                                                                                                                      PONCE              PR         00730‐3506
   648425 ERMA GUTIERREZ GOODON       HC 3 BOX 10838                                                                                                                       YABUCOA            PR         00787
   155733 ERMEL M RIVERA GUZMAN       REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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   155734 ERMELINDA ADORNO VALENTIN REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   648426 ERMELINDA AROCHO NIEVES   P O BOX 465                                                                                                                        LAS MARIA            PR           00670
   648427 ERMELINDA BONETA          ESTANCIAS DEL BOULEVARD                      APTO 1 A 1 BOX 69                                                                     SAN JUAN             PR           00926

   648429 ERMELINDA CASTILLO CARRASCO PO BOX 8007                                                                                                                      HUMACAO              PR           00792

   155735 ERMELINDA DIAZ/ ANIBAL VELEZ REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   648430 ERMELINDA ESQUILIN           BAYAMON GARDENS                           E18 CALLE 19                                                                          BAYAMON              PR           00957

   648431 ERMELINDA FELICIANO AVILES                  HC 1 BOX 4249                                                                                                    HATILLO              PR           00659

   648433 ERMELINDA GONZALEZ RAMOS                    URB TERRAZAS DE CUPEY      D 15 CALLE 4                                                                          TRUJILLO ALTO        PR           00976
   648434 ERMELINDA LLANOS SANCHEZ                    VALLE TOLIMA               B 12 CALLE CARLOS OSORIO                                                              CAGUAS               PR           00725
          ERMELINDA MARTINEZ
   648435 MORALES                                     COND LAGOS DEL NORTE       APTO 1413                                                                             TOA BAJA             PR           00949

   155737 ERMELINDA MIRANDA MENDEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   648436 ERMELINDA MORA MORA                         RES NEMESIO CANALES        EDIF 20 APTO 380                                                                      SAN JUAN             PR           00920

   648437 ERMELINDA MORALES MORALES HC 1 BOX 6951                                                                                                                      COROZAL              PR           00783

   648438 ERMELINDA MORALES RAMOS                     APARTADO 995                                                                                                     YABUCOA              PR           00767
   648439 ERMELINDA MORALES RIVERA                    BOX 509                                                                                                          ANGELES              PR           00611

   648440 ERMELINDA RIVERA RODRIGUEZ                  HC 1 BOX 8414                                                                                                    CANOVANAS            PR           00729
   155739 ERMELINDA ROMAN OCASIO                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   155741 ERMELINDA RUIZ TORRES                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   648442 ERMELINDA SALGADO PEREZ                     JARDINES DE COUNTRY CLUB   BT 9 CALLE 123                                                                        CAROLINA             PR           00983
   648443 ERMELINDA VEGA ZABALA                       URB EL PLANTIO             O 22 CALLE GUAYACAN                                                                   TOA BAJA             PR           00949
   648445 ERMELINDO BANCHS PLAZA                      P O BOX 334576                                                                                                   PONCE                PR           00733‐4576
          ERMELINDO CHARON
   648447 RODRIGUEZ                                   RES RAMON M SOLA           6 APT 535                                                                             ARECIBO              PR           00612
   648444 ERMELINDO FELICIANO                         URB MONTE VERDE            H 5 CALLE 1                                                                           TOA ALTA             PR           00953
          ERMELINDO GONZALEZ
   648448 MALDONADO                                   PO BOX 21365                                                                                                     SAN JUAN             PR           00928‐1365

   155745 ERMELINDO RIVERA MARQUEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   155746 ERMELINDO SALDANA RIVERA                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   155749 ERMELINDO SANCHEZ VELEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   648449 ERMELINDO ZAYAS TORRES                      CALLE 85 URB LA VEGA                                                                                             VILLALBA             PR           00766
   648450 ERMEN SANTIAGO CORNIER                      HC 37 BOX 7749                                                                                                   GUANICA              PR           00653‐9709

   648451 ERMENIA RODRIGUEZ MORALES                   MALPASO SECTOR LAMINA      HC 03 BOX 32106                                                                       AGUADA               PR           00602
   648452 ERMES MORALES MATOS                         PO BOX 379                                                                                                       CABO ROJO            PR           00623‐0379
   155750 ERMI O TORRES CAMACHO                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   648453 ERMIDA GARCIA VDA.ALBIZU                    COND TROPICANA 904C        AVE LOS GOBERNADORES                                                                  CAROLINA             PR           00979
   155751 ERMIDES CORREA QUINONES                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      THE RESIDENCES PARQUE
   648454 ERMIE ODETTE AQUINO PEREZ                   ECUESTRE                   3502 SOUTH AVE APT 210                                                                CAROLINA             PR           00987

   155752 ERMILA RODRIGUEZ CARDONA                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   155753 ERMIN RODRIGUEZ JORGE                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  155754 ERMIS M HERNANDEZ RUIZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155755 ERMITANIO GARCIA GARCIA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155756 ERMITANO MARTINEZ ALICEA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  155757 ERMITANO ORTIZ RUIZ                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  648456 ERN REFRIGERATOR                             HC 40 BOX 41702                                                                                                 SAN LORENZO       PR         00754
  155758 ERNA P OCASIO FIGUEROA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         ERNAMID FRANCESCHINI
  648457 GONZALEZ                                     URB SANTA ELENA             Q 3 CALLE 16                                                                        GUAYANILLA        PR         00656
  648458 ERNANDO MELERO MORALES                       URB SALINAS                 A 12 CALLE 1                                                                        SALINAS           PR         00751

   648459 ERNEL JOSE BONILLA SANTIAGO                 89 CALLE RUIZ BELVIS                                                                                            COAMO             PR         00769
   648460 ERNEST BRAVO                                135 PARK LANE                                                                                                   WEST HARRISON     NY         10604
   648461 ERNEST CASIANO ROSARIO                      P O BOX 9024274                                                                                                 SAN JUAN          PR         00902‐4274
   155761 ERNEST CRISSON CANCEL                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   648462 ERNEST CRUZ AND ASOCIADOS                   PO BOX 51920                                                                                                    TOA BAJA          PR         00950‐1920
   648463 ERNEST DEQUESADA ESPREO                     URB COUNTRY CLUB 3RE EXT    G5‐57 CALLE 210                                                                     CAROLINA          PR         00982

   155762 ERNEST GABRIEL PAGAN ORTIZ                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155763 ERNEST HEATH ALBERT                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155764 ERNEST INACAY MD                            701 W MILK BLVD STE 2                                                                                           TAMPA             FL         33603
   155765 ERNEST INACAY, MD                           701 W MLK BLVD ‐ STE 1                                                                                          TAMPA             FL         33603
                                                      ADVANCED TECHNOLOGY         DEPT OF ADMINISTRATIVE   200 PIEDMONT AVE SUITE 1406
   648465 ERNEST J MELTON                             PROJECTS UNITS              SERVICE                  WEST                                                       ATLANTA           GA         30334‐9010
          ERNEST L LOVELAND / NILSA I
   155766 VARGAS                                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   648466 ERNEST MEZA                                 141 CALLE TUIG TOLLER                                                                                           SAN JUAN          PR         00911
   648467 ERNEST PEREZ ALICEA                         COOP LOS ROBLES             APART 408 B                                                                         SAN JUAN          PR         00926
   155767 ERNEST SOTO RIVERA                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   155768 ERNEST VILLAFANE MORALES                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   648468 ERNESTA DEL RIO ALICEA                      P O BOX 2148                                                                                                    ARECIBO           PR         00613‐2148
   155769 ERNESTA RAMOS ORTIZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   648470 ERNESTI TORRES REYES                        PARK GARDENS                A1 7 ROSALEDA                                                                       SAN JUAN          PR         00926
                                                      MSC 509 WINSTON CHURCHILL
   648472 ERNESTINA CASANOVA RIVERA                   138                                                                                                             SAN JUAN          PR         00926‐6023
   648473 ERNESTINA CRUZ BURGOS                       BR 6 BOX 9912                                                                                                   SAN JUAN          PR         00926

   155770 ERNESTINA DE LA ROSA PORTES REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                      COND PUERTA DEL SOL APTO
   648475 ERNESTINA DELGADO AYALA     306                                         75 CALLE JUNIN                                                                      SAN JUAN          PR         00926‐2008
   648476 ERNESTINA FELICIANO AYALA   URB SAN JOSE 2                              T 2 CALLE 11                                                                        SABANA GRANDE     PR         00637
          ERNESTINA FERNANDEZ
   155772 COLLAZO                     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   648478 ERNESTINA FIGUEROA RIVERA   P O BOX 94                                                                                                                      ARECIBO           PR         00612
                                      RESIDENCIAL CAROLINA
   648479 ERNESTINA FIGUEROA VAZQUEZ HOUSING                                      EDIF 1 APT 5                                                                        CAROLINA          PR         00987
   648480 ERNESTINA LOPEZ LEDUC       P O BOX 678                                                                                                                     JUNCOS            PR         00777
          ERNESTINA MALDONADO
   648481 SANTIAGO                    MIRAMAR HOUSING                             BLQ 5 APT 67                                                                        PONCE             PR         00732

   648482 ERNESTINA MARTINEZ GUEVARA PO BOX 1013                                                                                                                      MANATI            PR         00674
   155773 ERNESTINA ORTIZ COLON      REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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   155774 ERNESTINA PACHECO ECHEVARIA REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   648483 ERNESTINA REYES CONDE       PO BOX 554                                                                                                                             PATILLAS             PR           00723
   648484 ERNESTINA ROCHE GUAL        HC 02 BOX 5120                                                                                                                         GUAYAMA              PR           00784
   648485 ERNESTINA RODRIGUEZ         VILLA VERDE                                   F 7 CALLE 6                                                                              BAYAMON              PR           000959

   155775 ERNESTINA RODRIGUEZ CONDE                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   648486 ERNESTINA RODRIGUEZ LEBRON HC 764 BOX 7920                                                                                                                         PATILLAS             PR           00723
   155777 ERNESTINA ROMAN VERGES     REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   648488 ERNESTINA SANCHEZ MORALES                   HILLS BROTHERS NORTE          CALLE 52                                                                                 SAN JUAN             PR           00929

   648489 ERNESTINA SANTOS ALICEA                     SECTOR GUARICO VIEJO BOX 76                                                                                            VEGA BAJA            PR           00693
   155779 ERNESTINA TORRES ADORNO                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          ERNESTINA VELAZQUEZ
   155781 RODRIGUEZ                                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   648490 ERNESTINA VELEZ ALMODOVAR                   COND JARDINES DE BERWIND      EDIF O APT 161                                                                           SAN JUAN             PR           00924
   648491 ERNESTO A ALMEYDA                           P O BOX 8000 SUITE 171                                                                                                 ISABELA              PR           00662
   155782 ERNESTO A ALONSO LABORI                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          ERNESTO A CORDERO
   155783 RODRIGUEZ                                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   648492 ERNESTO A CURIEL BARRERAS                   COOP TORRES DE CAROLINA       100 CALLE JOAQUINA APT 1009                                                              CAROLINA             PR           00987

   155784 ERNESTO A DOMINGUEZ LOZADA REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   648493 ERNESTO A FRONTERA ROURA                    205 PLAZA SUCHVILLE                                                                                                    GUAYNABO             PR           00966
          ERNESTO A FRONTERA
   648494 ROURA,MD                                    ASSMCA                                                                                                                 HATO REY             PR           009360000
          ERNESTO A GONZALEZ
   155785 MARTORELL                                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   155786 ERNESTO A LOMBAY ANDINO                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   648495 ERNESTO A MORALES ORTIZ                     SECT EL SECO                  53 CALLE MANUEL CORCHADO                                                                 MAYAGUEZ             PR           00682

   155789 ERNESTO A RIVERA UMPIERRE                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   155790 ERNESTO A SAVIN0N RODRIGUEZ REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   155791 ERNESTO A SMITH BRINGAS     REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   155793 ERNESTO A VELOZ SANTANA     REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   155794 ERNESTO A. ALONSO LABORI    REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   155795 ERNESTO ACEVEDO BAEZ        REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   155796 ERNESTO ACOSTA MATOS        REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   648497 ERNESTO ACOSTA RODRIGUEZ                    PO BOX 71325 SUITE 141                                                                                                 SAN JUAN             PR           00936‐7655
   155797 ERNESTO ACOSTA SANTANA                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   155798 ERNESTO ADAMES VELEZ                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   155799 ERNESTO ADORNO VELAZQUEZ                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   648498 ERNESTO AGOSTINI PASCUAL                    PO BOX 412                                                                                                             GUAYAMA              PR           00785
   648499 ERNESTO AGUAYO BORGES                       PO BOX 2367                                                                                                            SAN JUAN             PR           00922



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  648500 ERNESTO ALBARAN SALCEDO                      ALTURAS DE YAUCO           14 R 3                                                                            YAUCO               PR           00698
         ERNESTO ALEJANDRO
  648501 CARRASQUILLO                                 HC 1 BOX 6064                                                                                                JUNCOS              PR           00777
  648502 ERNESTO ALERS MARTINEZ                       2889 AVE MILITAR                                                                                             ISABELA             PR           00662

   648503 ERNESTO ALMODOVAR RAMOS                     B 21 CALLE SUGUNDA                                                                                           GUANICA             PR           00647
   648504 ERNESTO ALVAREZ LAZARANI                    PO BOX 12125                                                                                                 SAN JUAN            PR           00914
   155800 ERNESTO ALVERIO BAEZ                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   648506 ERNESTO APONTE RAMOS                        HC 40 BOX 41850                                                                                              SAN LORENZO         PR           00754
   648508 ERNESTO ARROYO QUILES                       CALL BOX 69001 SUITE 129                                                                                     HATILLO             PR           00659
   155803 ERNESTO AVEZUELA PEREZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   648509 ERNESTO AVILA                               PO BOX 3090                                                                                                  AGUADILLA           PR           00605
   648510 ERNESTO AYALA ORTIZ                         BO BUEN CONSEJO            1226 CALLE VALLEJO                                                                SAN JUAN            PR           00926
   648511 ERNESTO AYALA SANCHEZ                       BUEN CONSEJO               1226 CALLE VALLEJO                                                                SAN JUAN            PR           00926

   155805 ERNESTO BAEZ CARRASQUILLO                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155806 ERNESTO BAEZ FIGUEROA                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155807 ERNESTO BAEZ HERNANDEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155808 ERNESTO BAEZ MIRANDA                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155809 ERNESTO BAEZ ROSADO                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155811 ERNESTO BAEZ SAEZ                           REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   648513 ERNESTO BARRAL CUSIDO                       URB JARD DE BAYAMONTE      99 GORRION                                                                        BAYAMON             PR           00956
   648514 ERNESTO BASCO MORALES                       BOX 944                                                                                                      BARRANQUITAS        PR           00794
   155812 ERNESTO BATISTA MIRANDA                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   648516 ERNESTO BERRIOS ORTIZ                       PO BOX 2406                                                                                                  AIBONITO            PR           00705
   155814 ERNESTO BERRIOS SANTANA                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   648517 ERNESTO BERRIOS ZAYAS                       HC 2 BOX 6656                                                                                                BARRANQUITAS        PR           00794
   155815 ERNESTO BOLORIN                             REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   648519 ERNESTO CABRERA LORENZO                     HC 58 BOX 15290                                                                                              AGUADA              PR           00602
   155816 ERNESTO CAMACHO PAGAN                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   155817 ERNESTO CARABALLO BROOKS                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   648520 ERNESTO CARRASQUILLO ROQUE HC 2 BOX 32801                                                                                                                CAGUAS              PR           00726
   155818 ERNESTO CASTILLO MORALES   REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   155819 ERNESTO CASTRO CARABALLO                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155820 ERNESTO CINTRON CASADO                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155821 ERNESTO CLASS DIAZ                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155822 ERNESTO COLON CRESPO                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   648522 ERNESTO COLON ORTIZ                         SUITE 185                  PO BOX 1000                                                                       CAYEY               PR           00737
   155823 ERNESTO COLON PEREZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   155824 ERNESTO COLON RODRIGUEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   648523 ERNESTO CONCEPCION ROSADO URB BERWIND STATE                            K5 CALLE 9                                                                        SAN JUAN            PR           00924
   648525 ERNESTO CORTES OSTOLAZA   BO MAGINA                                    270 D CALLE PAPAYO                                                                SABANA GRANDE       PR           00637
   648526 ERNESTO CRESPO VARGAS     P O BOX 396                                                                                                                    AGUADILLA           PR           00605

   155825 ERNESTO D BORGES SARRAGA                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   648528 ERNESTO D MAISONET SOLER                    COND PLAYA DEL PARQUE      P O BOX 305                                                                       CAROLINA            PR           00983

   155826 ERNESTO D MORALES GONZALEZ REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED




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          ERNESTO D SANTIAGO
   155827 RODRIGUEZ                                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   648529 ERNESTO DE JESUS GUILFUA                    HC3 BOX 9177                                                                                                   JUNCOS               PR           00777‐9602
   648531 ERNESTO DE JONGH RAMOS                      PO BOX 1468                                                                                                    PONCE                PR           00733

   648532 ERNESTO DEL VALLE MERCADO                   URB ALTA VISTA             M 20 CALLE 15                                                                       PONCE                PR           00731
   648533 ERNESTO DELGADO CRESPO                      P O BOX 911                                                                                                    HATILLO              PR           00659
   648534 ERNESTO DELGADO DEIDA                       PARC IMBERRY               57 CALLE ACEROLA                                                                    BARCELONETA          PR           00617
   648535 ERNESTO DIAS TORRES                         BO CERCADILLO              HC 1 BOX 1081                                                                       ARECIBO              PR           00612
   155829 ERNESTO DIAZ ACEVEDO                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   155832 ERNESTO E GUERRA SOLTERO                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   648536 ERNESTO E VELEZ                             P O BOX 1377                                                                                                   BARCELONETA          PR           00617
   648537 ERNESTO ECHEANDIA TORRES                    URB CROWN HILLS            143 CALLE GUAJATACA                                                                 SAN JUAN             PR           00926
   155833 ERNESTO ESPADA CRUZ                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   648538 ERNESTO ESPADA SANTOS                       P O BOX 3000               SUITE 338                                                                           COAMO                PR           00769
   648539 ERNESTO ESPINO GALINDO                      URB PARAISO DEL CAROLINA   410 CALLE BESO DEL MAR                                                              CAROLINA             PR           00987
   648541 ERNESTO FELIX VAZQUEZ                       URB RIO HONDO 2            AH 25 CALLE RIO JAJOME                                                              BAYAMON              PR           00961‐3236
   155835 ERNESTO FERNANDEZ DURAN                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   155836 ERNESTO FERNANDEZ PEREZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   648543 ERNESTO FERNANDEZ SANTIAGO ESTANCIAS DEL BOULEVARD 207                 BOX 12                                                                              SAN JUAN             PR           00926
   648544 ERNESTO FIGUEROA           PO BOX 21365                                                                                                                    SAN JUAN             PR           00928
   648546 ERNESTO FIGUEROA OJEDA     BO RIO ABAJO                                5169 CALLE PRINCIPAL                                                                VEGA BAJA            PR           00693
   155837 ERNESTO FIGUEROA ORTIZ     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   155838 ERNESTO FIGUEROA ROMAN     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   648548 ERNESTO FLORES PAGAN       PO BOX 363648                                                                                                                   SAN JUIAN            PR           00936‐3648
   648549 ERNESTO GARAY CARRERAS     P O BOX 551                                                                                                                     CULEBRA              PR           00775
   648550 ERNESTO GARCIA             VALENCIA                                    A 13 CALLE 21                                                                       BAYAMON              PR           00959
   155840 ERNESTO GONZALEZ           REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          ERNESTO GONZALEZ / RAQUEL
   648551 RIVERA PEREZ               BOX 8489                                                                                                                        PONCE                PR           00732

   648554 ERNESTO GONZALEZ IRIZARRY                   BO SAN ISIDRO BOX 1920                                                                                         CANOVANAS            PR           00729

   648555 ERNESTO GONZALEZ LOUBRIEL                   SANTA CLARA                S 33 CAPALMA REAL ST                                                                GUAYNABO             PR           00969

   648556 ERNESTO GONZALEZ MARRERO                    URB LEVITTOWN              2209 PASEO ALPES APT 3                                                              TOA BAJA             PR           00949
   155842 ERNESTO GONZALEZ PINERO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   648557 ERNESTO GONZALEZ POLANCO                    URB LAS FLORES             40 CALLE BROMELIA                                                                   FLORIDA              PR           00650‐9715
   648558 ERNESTO GONZALEZ RUIZ                       PO BOX 9021112                                                                                                 SAN JUAN             PR           00902‐1112
   648559 ERNESTO GONZALEZ TORRES                     951 CALLE LAS PALMAS                                                                                           SAN JUAN             PR           00907

   155843 ERNESTO GUZMAN GUTIERREZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   648560 ERNESTO GUZMAN MACHADO                      RR 1 BOX 12057                                                                                                 MANATI               PR           00674
   648561 ERNESTO H PEREZ VELEZ                       HC 2 BOX 11862                                                                                                 YAUCO                PR           00698
   648562 ERNESTO H SANCHEZ ACOSTA                    HC 1 BOX 7655                                                                                                  SAN GERMAN           PR           00683

   155844 ERNESTO HERNANDEZ COLON                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   155845 ERNESTO I ARROYO SANCHEZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   155846 ERNESTO I RIVERA RIVERA                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   648566 ERNESTO J AYALA CRUZ                        PO BOX 1177                                                                                                    TOA ALTA             PR           00954



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  155847 ERNESTO J BARRAL CUSIDO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  648567 ERNESTO J BARRIOS COLLAZO                    PO BOX 911                                                                                                     VEGA BAJA          PR         00694‐0911
  648568 ERNESTO J ESCRIBANO                          HC 02 BOX 12102                                                                                                AGUAS BUENAS       PR         00703‐9601
         ERNESTO J HERNANDEZ
  648565 BARRERAS                                     P O BOX 1291                                                                                                   SAN LORENZO        PR         00754
         ERNESTO J HERNANDEZ
  648569 HERNANDEZ                                    HC 71 BOX 1113                                                                                                 NARANJITO          PR         00719
         ERNESTO J MALAVE SANTIAGO
  155848 DBA JM                                       MALAVE SERVICES             PO BOX 800804                                                                      COTO LAUREL        PR         00780

   648570 ERNESTO J MARQUEZ BAERGA                    PO BOX 1434                                                                                                    TRUJILLO ALTO      PR         00977
   648571 ERNESTO J MIRANDA FRANCO                    1416 CALLE FERIA            PDA 20 APO 8662                                                                    SAN JUAN           PR         00910‐0662
   648572 ERNESTO J ORTEGA ELIAS                      BO ACHIOTE                  HC 73 BOX 4533                                                                     NARANJITO          PR         00719

   648573 ERNESTO J PADILLA GUTIERREZ                 402 CALLE LUNA                                                                                                 SAN JUAN           PR         00901
   155849 ERNESTO J PANISSE NIEVES                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   648574 ERNESTO J PEREZ JIMENEZ                     32B CALLE RAMOS APARTADO 13                                                                                    COROZAL            PR         00783
   648575 ERNESTO J RIVERA OTERO                      URB SAN FRANCISCO           O 10 B CALLE GARDENIA                                                              SAN JUAN           PR         00927
          ERNESTO J RIVERA RODRIGUEZ/
   155850 ABAD BRITO                                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          ERNESTO J RODRIGUEZ
   648576 LAVERGNE                                    207 CALLE DEL PARQUE        3er PISO                                                                           SAN JUAN           PR         00912
   648577 ERNESTO J SANTANA FUENTES                   URB MADELAINE R 16          CALLE ESMERALDA                                                                    CAGUAS             PR         00725‐8900
   155851 ERNESTO J SANTIAGO FLORES                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   648578 ERNESTO J SERRANO CRUZ                      HC 01 BOX 5808                                                                                                 COROZAL            PR         00783
          ERNESTO J VEGA IRLANDA DBA
   155852 HTT SERVICES                                PO BOX 99                                                                                                      SAN GERMAN         PR         00683
   155853 ERNESTO J VEGA LEON                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          ERNESTO J. DE JESUS DBA EDJ
   155854 SALES                                       924 AVE. HOSTOS                                                                                                PONCE              PR         00716‐1113

   155855 ERNESTO J. MIRANDA FRANCO                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   155856 ERNESTO JIMENEZ MONTES                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   648579 ERNESTO JORGE LABOY                         CALLE D 99                  URB JAIME L DREW                                                                   PONCE              PR         00730
   648580 ERNESTO JOSE CABEZA                         562 MAXIMO GOMEZ ST                                                                                            SAN JUAN           PR         00918

   155857 ERNESTO JOSE NEGRON IRIZARRY REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   155858 ERNESTO JOSE ZAYAS GARCIA    REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   648582 ERNESTO JUAN CHEVRES DIAZ    BOX 164                                                                                                                       NARANJITO          PR         00719
   648583 ERNESTO L BELEN MORALES      URB MONTE VERDE                            G 20 CALLE 4                                                                       TOA ALTA           PR         00953
          ERNESTO L
          CABRERA/DBA/DESIGNERS &
   155860 CONTR                        CIM II 90 CARR 165 SUITE 310                                                                                                  GUAYNABO           PR         00968
   155861 ERNESTO L CHIESA APONTE      REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   155862 ERNESTO L DAVILA MARIN       REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   155863 ERNESTO L JUAN CHINEA        REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   648586 ERNESTO L MARTINEZ GOMEZ                    HC 7 BOX 2333                                                                                                  PONCE              PR         00731‐9304
   648587 ERNESTO L RAMIREZ TORRES                    105 CALLE COMERCIO                                                                                             JUANA DIAZ         PR         00795

   648588 ERNESTO L RODRIGUEZ MOJICA                  PMB 247 PO BOX 60401                                                                                           AGUADILLA          PR         00604‐4010




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          ERNESTO L RODRIGUEZ/ SANDRA
   155864 MARTINEZ                    REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155865 ERNESTO L SOTO APONTE       REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155866 ERNESTO L TOLEDO ALVERIO    REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155867 ERNESTO L TORRES BERMEJO    REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   648590 ERNESTO L VERGINE RODRIGUEZ VILLA DEL CARMEN                            2544 CALLE TERENIFE                                                                      PONCE               PR           00716
   155868 ERNESTO L VERGNE RAMOS      REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   771047 ERNESTO L. CORTES SOTO      REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   648593 ERNESTO LAMBERTY GALARZA                    HC 4 BOX 47158                                                                                                       MAYAGUEZ            PR           00680
   155869 ERNESTO LEBRON GONZALEZ                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155870 ERNESTO LOPEZ & ASOCIADO                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155872 ERNESTO LOPEZ DIAZ                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648594 ERNESTO LOPEZ SOLTERO                       PO BOX 6598                                                                                                          CAGUAS              PR           00726
   648595 ERNESTO LUCIANO LUGO                        28 FERNANDEZ GARCIA 19                                                                                               LUQUILLO            PR           00773
   155874 ERNESTO LUGO MOTA                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ERNESTO LUIS ANZIANI
   155875 GONZALEZ                                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648596 ERNESTO LUIS COLLAZO FELIX                  URB HACIENDA                AS 7 CALLE 44                                                                            GUAYAMA             PR           00784
          ERNESTO LUIS CORTES
   648597 GONZALEZ                                    URB VILLA DEL CARMEN        565 CALLE SALAMANCA                                                                      PONCE               PR           00716

   155876 ERNESTO LUIS MARTIN LOSADA                  REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   155877 ERNESTO M GONZALEZ CENTENO REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   155878 ERNESTO M OLIVARES GOMEZ                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155879 ERNESTO M ORTIZ RIVERA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648598 ERNESTO MALDONADO                           PO BOX 461                                                                                                           AGUAS BUENAS        PR           00703

   648600 ERNESTO MALDONADO MOREDA HC 1 BOX 4041                                                                                                                           SABANA HOYOS        PR           00688
                                                                                  501 CALLE GUAYANILLA APTO A
   648601 ERNESTO MARIN CASTILLO                      COND PARQUE SAN AGUSTIN     302                                                                                      SAN JUAN            PR           00923
   648602 ERNESTO MARRERO RIVERA                      URB VENUS GARDENS           1674 CALLE MANZANILLO                                                                    SAN JUAN            PR           00926
   155881 ERNESTO MARTINEZ RIVERA                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   155882 ERNESTO MARTINEZ RODRIGUEZ REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155883 ERNESTO MEDINA GONZALEZ    REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   648605 ERNESTO MELENDEZ FIGUEROA                   EMBALSE SAN JOSE            451 CALLE JARRADILLA                                                                     SAN JUAN            PR           00923
   648607 ERNESTO MELENDEZ RIVERA                     VILLA PALMERAS              305 CALLE FERRER                                                                         SAN JUAN            PR           00915
   648608 ERNESTO MERCED GARCIA                       HC 01 BOX 8284                                                                                                       CANOVANAS           PR           00729
   648609 ERNESTO MIDDELHOF AYALA                     COND BELLO HORISONTE        APT 212                                                                                  SAN JUAN            PR           00924
   648611 ERNESTO MOLINA SOTO                         HC 4 BOX 44101                                                                                                       LARES               PR           00669
   155884 ERNESTO MORALES CRUZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155885 ERNESTO MORALES RAMOS                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648614 ERNESTO MORALES SHETTINI                    1 CALLE ANTONIO R BARCELO                                                                                            MAUNABO             PR           00707
          ERNESTO NEGRON DBA
   155887 COROZAL AUTO SERVICE                        PMB 3011                    PO BOX 90000                                                                             COROZAL             PR           00783
   648616 ERNESTO NIEVES CORCHADO                     REPARTO MIRAFLORES          3 CALLE 2                                                                                ISABELA             PR           00662
   648617 ERNESTO NIEVES DEL LLANO                    URB DELGADO                 S 25 CALLE 6                                                                             CAGUAS              PR           00725
   155889 ERNESTO NIEVES GARCIA                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  648618 ERNESTO NOGUERAS                             HC 44 BOX 12928                                                                                                    CAYEY               PR         00736
  155890 ERNESTO NUNEZ CABAN                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  648619 ERNESTO OCASIO ARCE                          P O B OX 2277                                                                                                      UTUADO              PR         00641
  155892 ERNESTO OCHART RESTO                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   155893 ERNESTO ORTEGA HERNANDEZ                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648620 ERNESTO ORTEGA RESTO                        VERSALLES                  E 3 CALLE MARGINAL                                                                      BAYAMON             PR         00959
   155894 ERNESTO ORTEGA TOLEDO                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648621 ERNESTO ORTIZ AMARO                         URB JARDINES DE GUAMANI    B 2 CALLE 1                                                                             GUAYAMA             PR         00784
   155895 ERNESTO ORTIZ TORRES                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648622 ERNESTO OTERO MORALES                       PO BOX 3206                                                                                                        LAJAS               PR         00667

   648623 ERNESTO PACHECO MONTALVO                    3678 SECTOR LAS CUCHARAS                                                                                           PONCE               PR         00728‐1503
   155896 ERNESTO PACHECO PENA                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648624 ERNESTO PACHECO RIVERA                      URB VILLA FONTANA          3KN‐16 VIA 66                                                                           CAROLINA            PR         00984
   155897 ERNESTO PADILLA                             REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155898 ERNESTO PAGAN RODRIGUEZ                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155899 ERNESTO PELEGRINA                           REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155900 ERNESTO PENA                                REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ERNESTO PENA / D/B/A
   155901 ROTULOS PENA                                REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648626 ERNESTO PENA JIMENEZ                        PO BOX 2514                                                                                                        SAN SEBASTIAN       PR         00685
   648627 ERNESTO PEREZ ACEVEDO                       134 CALLE E                RAMEY                                                                                   AGUADILLA           PR         00604
   648628 ERNESTO PEREZ CRUZ                          P O BOX 1735                                                                                                       CAYEY               PR         00737
   648630 ERNESTO PEREZ NIEVES                        32 CALLE MUNOZ RIVERA                                                                                              ADJUNTAS            PR         00601
   648632 ERNESTO PEREZ OCASIO                        VILLA CAROLINA COURT       APT 1501                                                                                CAROLINA            PR         00985
   155904 ERNESTO PEREZ PENA                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155905 ERNESTO PEREZ RODRIGUEZ                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   648635 ERNESTO PEREZ TORRES                        URB EL VEDADO              122 CALLE ALMIRANTE PINZON                                                              SAN JUAN            PR         00918
   648636 ERNESTO PLANELL PONCE                       47 CALLE FELIX TIO ALTOS                                                                                           SABANA GRANDE       PR         00637
   648637 ERNESTO POLANCO                             URB UNIVERSITY GARDENS     J 27 CALLE 10                                                                           ARECIBO             PR         00612
   648638 ERNESTO POLL RIVERA                         HC 1 BOX 4684                                                                                                      LAS MARIAS          PR         00670
   648639 ERNESTO QUESADA OJEDA                       P O BOX 1421                                                                                                       PONCE               PR         00733
   648640 ERNESTO QUIDGLEY LOPEZ                      URB COLLEGE PARK           232 CALLE UPSALA                                                                        SAN JUAN            PR         00921
   155907 ERNESTO QUINONES JIMENEZ                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155908 ERNESTO QUINONES LEBRON                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648643 ERNESTO R IRIZARRY                          PO BOX 363331                                                                                                      SAN JUAN            PR         00936‐3331

   155909 ERNESTO R NEGRON MARRERO   REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648644 ERNESTO R OJEDA SANTINI    HC 2 BOX 9100                                                                                                                       AIBONITO            PR         00705
   155910 ERNESTO R RIVERA GANDIA    REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                     URB MANSIONES DE RIO
   648645 ERNESTO R RODRIGUEZ BORGOS PIEDRAS                                     1806 CALLE FLORES                                                                       SAN JUAN            PR         00926
   648646 ERNESTO R SARRIA NEGRON    URB CAPARRA TERRACE                         1220 CALLE CATALUNA                                                                     SAN JUAN            PR         00920

   155911 ERNESTO R TANTAO GONZALEZ                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648648 ERNESTO R VILLALBA ARANA                    VILLA DEL CARMEN           2225 CALLE TORRECILLAS                                                                  PONCE               PR         00716‐2217
   155912 ERNESTO R. QUILES MOLINA                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155913 ERNESTO RAICES MONTIJO                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   155914 ERNESTO RAMOS ECHEVARRIA                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155915 ERNESTO RAMOS FERNANDEZ                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  155917 ERNESTO RAMOS LIZARDI                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   155918 ERNESTO RAMOS MALDONADO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155919 ERNESTO RAMOS PEREZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648651 ERNESTO RAMOS RAMOS                         URB COVADONGA               1E28 CALLE 8                                                                        TOA BAJA            PR         00949
   155920 ERNESTO RAMOS RUIZ                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ERNESTO RENTAS Y NORMA
   155921 FERNANDEZ                                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155922 ERNESTO REYES GONZALEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   155923 ERNESTO REYES MONTESQUIEUS REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155924 ERNESTO RIOS ADORNO        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155925 ERNESTO RIVERA             REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648653 ERNESTO RIVERA ALEJANDRO   REPARTO ARENALES                             66 CALLE 5                                                                          LAS PIEDRAS         PR         00771
   155926 ERNESTO RIVERA FIGUEROA    REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155927 ERNESTO RIVERA GARCIA      REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648655 ERNESTO RIVERA PADILLA     PO BOX 133                                                                                                                       COROZAL             PR         00783
   155928 ERNESTO RIVERA RIVERA      REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155930 ERNESTO RIVERA RODRIGUEZ   REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155931 ERNESTO RIVERA ROSARIO     REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155933 ERNESTO RIVERA VARGAS      REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155934 ERNESTO ROCHER ROSA        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155935 ERNESTO RODAS              REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   648656 ERNESTO RODENA VAZQUEZ                      URB JARDINES DE BORINQUEN   V 43 CALLE GRANADA                                                                  CAROLINA            PR         00985
   648657 ERNESTO RODRIGUEZ ALICEA                    HC 75 BOX 1436                                                                                                  NARANJITO           PR         00719‐1502

   155936 ERNESTO RODRIGUEZ ALVARADO REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ERNESTO RODRIGUEZ
   155937 ALZUGARAY                  REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648658 ERNESTO RODRIGUEZ FARIA    PO BOX 407                                                                                                                       BAJADERO            PR         00614

   648660 ERNESTO RODRIGUEZ MORALES                   PO BOX 420                                                                                                      CAROLINA            PR         00986
   648661 ERNESTO RODRIGUEZ NIEVES                    HC 45 BOX 9786                                                                                                  CAYEY               PR         00736‐9801
   155938 ERNESTO RODRIGUEZ PEREZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648662 ERNESTO RODRIGUEZ RIVERA                    MANSIONES DE RIO PIEDRAS    1806 CALLE LAS FLORES                                                               SAN JUAN            PR         00926

   155940 ERNESTO RODRIGUEZ ROBLES                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   648663 ERNESTO RODRIGUEZ SANFELIZ                  HC 01 BOX 7357                                                                                                  COROZAL             PR         00783

   155942 ERNESTO RODRIGUEZ SANTANA REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648666 ERNESTO ROJAS             28 CALLE SANTA CRUZ                                                                                                               BAYAMON             PR         00956

   648667 ERNESTO ROMAN TRANSPORT                     RR 3 BOX 10925                                                                                                  TOA ALTA            PR         00953
   648669 ERNESTO ROSA                                PO BOX 5227                                                                                                     CAYEY               PR         00737
   155943 ERNESTO ROSA BIGIO                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155944 ERNESTO ROSARIO MARTINEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648672 ERNESTO ROSARIO MORALES                     HC 1 BOX 4935                                                                                                   BARCELONETA         PR         00617
   155945 ERNESTO ROVIRA GANDARA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ERNESTO RUIZ DE JESUS / CRUZ
   648674 LOPEZ CLAUD                                 URB RIVIERAS DE CUPEY       A 1 CALLE BEGONIA                                                                   SAN JUAN            PR         00926
   648675 ERNESTO RUIZ INC                            PO BOX 6068                                                                                                     SAN JUAN            PR         00914



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  155946 ERNESTO RUIZ LEBRON                          REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  155947 ERNESTO RUIZ ORTIZ                           REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                             45 CALLE ESTEBAN PDL URB
   648676 ERNESTO SANCHEZ                             EL DORADO FLOWER       SANTA CRUZ                                                                            BAYAMON             PR         00961
   155953 ERNESTO SANCHEZ CASTRO                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648678 ERNESTO SANCHEZ RIVERA                      17 PRINCIPAL                                                                                                 MOROVIS             PR         00687

   155954 ERNESTO SANCHEZ RODRIGUEZ                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

          ERNESTO SANCHEZ/CAFETERIA
   648679 BOULEVARD CAFE                              PO BOX 6543                                                                                                  CAGUAS              PR         00726
   648681 ERNESTO SANTIAGO CHICO                      H C BOX 172034                                                                                               CAMUY               PR         00627‐9701
   155955 ERNESTO SANTIAGO PEREZ                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155957 ERNESTO SANTINI CAISEDA                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   155959 ERNESTO SANTINI HERNANDEZ                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648686 ERNESTO SANTOS TORRES                       P O BOX 462                                                                                                  SALINAS             PR         00751
   648687 ERNESTO SERRANO GUZMAN                      RR 8 BOX 9499                                                                                                BAYAMON             PR         00956
   155960 ERNESTO SGROI HERNANDEZ                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648688 ERNESTO SILVA TORRES                        371 BALDORITY                                                                                                MAYAGUEZ            PR         00680

   155961 ERNESTO SOLTERO HARRINGTON REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648689 ERNESTO SOSA FALU          URB REPARTO VALENCIA                    A K 16 CALLE 12                                                                       BAYAMON             PR         00959
   155962 ERNESTO TAPIA DE JESUS     REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155963 ERNESTO TIRADO SANCHEZ     REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   155965 ERNESTO TORRES HERNANDEZ                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155966 ERNESTO TORRES MELENDEZ                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648692 ERNESTO TORRES MURPHY                       PO BOX 8166                                                                                                  MAYAGUEZ            PR         00681‐8166
   648694 ERNESTO TORRES ROBLES                       URB MORELL CAMPOS      C 15 CALLE VIVA LA PEPA                                                               PONCE               PR         00730
   155967 ERNESTO TORRES RUIZ                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155968 ERNESTO VALENTIN CRUZ                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648697 ERNESTO VALENTIN SERRANO                    VILLA DEL CARMEN       K 4 CALLE 10                                                                          GURABO              PR         00778
   648698 ERNESTO VALLE QUINTANA                      HC 2BOX 19097                                                                                                SAN SEBASTIAN       PR         00685
   648699 ERNESTO VAZQUEZ                             P O BOX 2021                                                                                                 GUAYAMA             PR         00785
   648701 ERNESTO VAZQUEZ BORRERO                     62 CALLE GUADALUPE                                                                                           PONCE               PR         00731
   648702 ERNESTO VAZQUEZ GOMEZ                       BO CORAZON             10‐7 SANTO TOMAS                                                                      GUAYAMA             PR         00784
   155969 ERNESTO VAZQUEZ ORTEGA                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   155970 ERNESTO VAZQUEZ RECCA                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648705 ERNESTO VELAZQUEZ                           BDA MARIN              175B CALLE 3                                                                          GUAYAMA             PR         00784

   648710 ERNESTO VELEZ MONSERRATE                    URB VERSALLES          C15 CALLE 3                                                                           BAYAMON             PR         00959
   155971 ERNESTO VELEZ REYES                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648711 ERNESTO VELEZ SANCHEZ                       MARIANA STATION        PO BOX 3384                                                                           MAYAGUEZ            PR         00681
   648712 ERNESTO VERA GARCIA                         HILL MANSIONS          B A 41 CALLE 65                                                                       SAN JUAN            PR         00926

   155973 ERNESTO VILLANUEVA MORALES REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648713 ERNESTO WEIL               P O BOX 3208                                                                                                                  LAJAS               PR         00667
          ERNESTO XAVIER MARRERO DE
   648714 GRACIA                     SANS SOUCI                              R 11 CALLE 2                                                                          BAYAMON             PR         00957
   155977 ERNESTO YUNES MENDEZ       REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   648715 ERNESTO ZAYAS LOPEZ        VILLA DE BUENA VISTA                    H 4 CALLE HERMES                                                                      BAYAMON             PR         00957




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   648716 ERNESTOR ACOSTA RODRIGUEZ                   BO MIRADERO          631 CALLE BONET                                                                        MAYAGUEZ            PR           00680
          ERNESTWILDA GARCIA
   648717 SANTIAGO                                    37 CALLE VELERO                                                                                             ENSENADA            PR           00647
   155978 ERNESTY VEGA ORTIZ                          REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155979 ERNEYS R. DEYNES MORALES                    REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648718 ERNFRID JOHNSON CRUZ                        PO BOX 442                                                                                                  PUERTO REAL         PR           00740
   155980 ERNIC BARRETO MARTINEZ                      REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648719 ERNIE AGUIAR GUZMAN                         P O BOX 572                                                                                                 QUEBRADILLAS        PR           00678
   155981 ERNIE ALGARIN RIVERA                        REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648721 ERNIE CABAN SANTIAGO                        MANSIONES DEL MAR    LEVITTOWN CARR 165                                                                     TOA BAJA            PR           00949
   648722 ERNIE E BERGOLLO                            P O BOX 168                                                                                                 CAMUY               PR           00627
   648723 ERNIE E ROSA COTTO                          HC 01 BOX 7348                                                                                              TOA BAJA            PR           00949
   155982 ERNIE ECHANDIA COLON                        REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648724 ERNIE H DE JESUS SIERRA                     BARRIO MAMEYAL       P 39 C                                                                                 DORADO              PR           00646

   648725 ERNIE J CASALDUC MONTALVO                   D 22 URB CABRERA                                                                                            UTUADO              PR           00641

   155983 ERNIE J RODRIGUEZ HERNANDEZ REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648726 ERNIE JOEL PACHECO            RES LOPEZ NUSSA                    13 APTO 144                                                                            PONCE               PR           00717
   648727 ERNIE MARTELL ORTA            COND LAGO VISTA 2                  200 BLVD MONROIG APT 244                                                               TOA BAJA            PR           00949‐4422
   155984 ERNIE MEJIAS DIAZ             REDACTED                           REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155985 ERNIE MELENDEZ HUERTA         REDACTED                           REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155986 ERNIE RODRIGUEZ MILLET        REDACTED                           REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155987 ERNIE ROLDAN MEDINA           REDACTED                           REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155988 ERNIE TORRES REYES            REDACTED                           REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155989 ERNIE VELAZQUEZ MUNOZ         REDACTED                           REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155990 ERNIE X ALBINO RODRIGUEZ      REDACTED                           REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155991 ERNIE X RIVERA COLLAZO        REDACTED                           REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155992 ERNIEL MARTINEZ SANCHEZ       REDACTED                           REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648728 ERNIER VIDAL GONZALEZ         COND BELEN J 5                     AVE SAN PATRICIO APT 307                                                               GUAYNABO            PR           00968‐4415
          ERNNIE H MARTINEZ
   155993 SOTOMAYOR                     REDACTED                           REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155996 ERNST & YOUNG LLP             PLAZA 273 PISO 10                  273 AVE PONCE DE LEON                                                                  SAN JUAN            PR           00917
   831760 Ernst & Young Puerto Rico LLC 1000 Scotiabank Plaza              273 Ponce De Leon Avenue                                                               San Juan            PR           00917‐1989
   155997 ERNST HUCKELHOFEN             REDACTED                           REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   155998 ERNST YOUNG LLP               1000 SCOTIABANK PLAZA              273 PONCE DE LEON AVE.                                                                 HATO REY            PR           00917‐1989
   155999 ERNY AGUILAR RODRIGUEZ        REDACTED                           REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   648730 ERO SHELL PUNTA LAS MARIAS                  EXT SAN MARTIN       1357 CALLE OLGA ESPERANZA                                                              SAN JUAN            PR           00924‐4449
   156000 EROHILDA NIEVES DIAZ                        REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   156001 EROHITA SUAREZ ALVARADO                     REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   156002 EROILDA CRESPO RUIZ                         REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648731 EROILDA MORENO VEGA                         HC 09 BOX 3040                                                                                              SABANA GRANDE       PR           00637‐9609
   648732 EROILDA RODRIGUEZ SOTO                      PO BOX 1016                                                                                                 LARES               PR           00669
   648733 EROILDA ROSADO RIVERA                       79 RES SANTA RITA                                                                                           CABO ROJO           PR           00623
   156004 EROILDO BONILLA BONILLA                     REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648735 EROILDO QUILES ARVELO                       HC 01 BOX 3473                                                                                              LARES               PR           00669
   648736 EROJAN REALTY INC                           PO BOX 367                                                                                                  CAGUAS              PR           00726

   648737 EROTIDO MALDONADO CINTRON PO BOX 219                                                                                                                    SANTA ISABEL        PR           00757

   156005 EROZ J RODRIGUEZ HERNANDEZ REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  648738 ERROL A WILKINSON                            P O BOX 1485                                                                                                   RIO GRANDE         PR         00745‐1485
  648739 ERROL M OLIVER RIVERA                        32 CALLE BETANCES                                                                                              COAMO              PR         00769
  156007 ERROLL COLON PARADISO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         ERS HOUSING ADMINISTRATION
  648740 SERV INC                                     MSC 409 2135                CARR 2 SUITE 15                                                                    BAYAMON            PR         00959‐5259
  156008 ERS OAKBROOK                                 AREA DEL TESORO             DIV DE RECLAMACIONES                                                               SAN JUAN           PR         00902‐4140
  648741 ERSILIA RODRIGUEZ ORTTIZ                     4TA SECC VILLA DEL REY      4 S 2 CALLE 8                                                                      CAGUAS             PR         00725
  648742 ERSPLAS INC                                  PO BOX 940                                                                                                     PUNTA SANTIAGO     PR         00741
  648744 ERTEC                                        PO BOX 192927                                                                                                  SAN JUAN           PR         00919‐2927
         ERTEC P S C ENVIRONMENTAL
  156009 CONSULTANTS                                  PO BOX 195336                                                                                                  SAN JUAN           PR         00919‐5336

          ERTEC‐ P S C ENVIRONMENTAL
   156010 CONSULTANTS                                 PO BOX 195336                                                                                                  SAN JUAN           PR         00919‐5336
   648746 ERUIN LEON                                  PO BOX 738                                                                                                     VILLALBA           PR         00766
   156011 ERVIN A RODRIGUEZ LABOY                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   648747 ERVIN COLON RODRIGUEZ                       URB JARDINES DE CAPARRA     J 14 CALLE 1                                                                       BAYAMON            PR         00959
   648748 ERVIN CUPRIL SERRANO                        URB MADELAINE               N 21 CALLE ESMERALDA                                                               TOA ALTA           PR         00953
   156012 ERVIN F ORTIZ ROLON                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          ERVIN ISAAC RODRIGUEZ
   156013 CONCEPCION                                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   156014 ERVIN J CHAPARRO SANCHEZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   156015 ERVIN L TORRES SIRRA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   156016 ERVIN LABOY CARABALLO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   648749 ERVIN O RIVERA RIOS                         URB SULTANA                 JJ 20 TENERIFE                                                                     MAYAGUEZ           PR         00680
   648750 ERVIN O RIVERA RODRIGUEZ                    URB SULTANA                 76 CALLE TENERIFE                                                                  MAYAGUEZ           PR         00680

   156017 ERVIN OCASIO / CHRISTIAN ARCE REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   648751 ERVIN ORTIZ ROSADO            HOGAR GRUPAL DE PONCE                                                                                                        Hato Rey           PR         00936
   156018 ERVIN PEREZ                   REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   156019 ERVIN R VEGA GARCIA           REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   156020 ERVIN RIVERA CASTELLAR        REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   156021 ERVIN RODRIGUEZ VELEZ         REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   156023 ERVIN ROSA RAMOS              REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   648752 ERVIN SANTIAGO ECHEVARRIA                   GLENVIEW GARDENS            E 12 M 21                                                                          PONCE              PR         00731
   156024 ERVIN ZAYAS ORTIZ                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   648754 ERVING FERNANDEZ PABON                      93 CALLE CARBONELL                                                                                             CABO ROJO          PR         00623
   648755 ERVING MARTINEZ FELICIANO                   BDA GALARZA B‐18 B                                                                                             YAUCO              PR         00698
   648756 ERVING RIVERA RIVERA                        URB LOS SAUCES              135 CALLE LAUREL                                                                   HUMACAO            PR         00791
   156025 ERVITA PEREZ                                REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   156026 ERWIN A MAYOL ROSADO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   156027 ERWIN BRUNO MENDEZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   156028 ERWIN D MORALES ROJAS                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   648757 ERWIN DESIGNS                               GQ 8 AVE CAMPO RICO                                                                                            CAROLINA           PR         00982
   648758 ERWIN J GONZALEZ COLL                       5‐5 EXT VILLA MILAGROS                                                                                         YAUCO              PR         00698
   648759 ERWIN J MERCED AMALBERT                     REP METROPOLITANO           965 CALLE 28 SE                                                                    SAN JUAN           PR         00921
   156029 ERWIN J RIEFKOHL MARTY                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   156030 ERWIN ORTIZ RIOS                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   156031 ERWIN PEREZ SANCHEZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   648762 ERWIN POU FERNANDEZ                         AVE JOHN F KENNEDY KM 7.5                                                                                      SANTO DOMINGO                              DOMINICAN REPUBLIC
   156032 ERWIN R SUAZO MARTINEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED




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          ERWIN U RODRIGUEZ & ASOC C S
   648763 P                            PARADA 23                       1519 PONCE DE LEON AVE                                                              SAN JUAN            PR           00908
   648765 ERWIN U RODRIGUEZ LAMPLE     617 DEL PARQUE PISO 4                                                                                               SAN JUAN            PR           00902
   156033 ERWIN V ORTIZ RODRIGUEZ      REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   156034 ERWING A PARRA DE JESUS      REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   156035 ERWING A. PARRA DE JESUS     REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   156037 ERWINS FELICIANO ECHEVARRIA                 REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256460 ES_AGMAC3                                   REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256461 ES_BDO                                      REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256462 ES_CAJAHERRAMIENTAS                         REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256463 ES_CARIBBE                                  REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256464 ES_CARIBBEAN                                REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256465 ES_CASESO                                   REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256466 ES_COMPUTERNETWORK                          REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256467 ES_DISTRIBUIDORABLANCO                      REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256468 ES_EDITORIAL                                REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256469 ES_EMPRESASARR                              REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256470 ES_EVERTEC                                  REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256471 ES_HASOLUTION                               REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256472 ES_INTERBARRANQUITAS                        REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256473 ES_LEARNING                                 REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256474 ES_MARILYNRODRIGUEZ                         REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256475 ES_MCGRAWHILL                               REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256476 ES_MRTCORP                                  REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256477 ES_MUNDI                                    REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256478 ES_NATIONALCOPIER                           REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256479 ES_OFFICEEMR                                REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256480 ES_OFFICEGALLERY                            REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256481 ES_PREMIUMSERVICE                           REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256482 ES_PRIM                                     REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256483 ES_PUCPR                                    REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256484 ES_RSMROC                                   REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   156040 ESAI RIVERA GOTAY                           REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648768 ESAM A HUSSEIN                              RIVERSIDE PARK   E11 FIRIST ARRENA                                                                   BAYAMON             PR           00961
   156041 ESAM A HUSSEIN HASSAN                       REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   156042 ESAN CONCRETE MIX                           SABANA BRANCH    P O BOX 949054                                                                      VEGA BAJA           PR           00694
   648769 ESAND GARCIA VELENTIN                       HC 2 BOX 22889                                                                                       AGUADILLA           PR           00603

   156043 ESANE GUADALUPE MARQUEZ                     REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648770 ESAU FELICIANO TALAVERA                     PARC MARQUEZ     13 CALLE PALMA                                                                      MANATI              PR           00674
   648771 ESAU MARQUEZ ORTIZ                          HC 1 BOX 4528                                                                                        NAGUABO             PR           00718

   156044 ESAU RODRIGUEZ BETANCOURT                   REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   156045 ESAU RUIZ MUNIZ                             REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648773 ESAUD RAMOS RAMOS                           HC 4 BOX 42683                                                                                       AGUADILLA           PR           00603
   648774 ESAUL PEREZ MARTINEZ                        HC 01 BOX 7974                                                                                       CANOVANAS           PR           00729
   156046 ESAUL RODRIGUEZ CRUZ                        REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   156047 ESAUU HERNANDEZ GOMEZ                       REDACTED         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   156048 ESB PUERTO RICO CORP                        PO BOX 4825                                                                                          CAROLINA            PR           00984‐4825
          ESB PUERTO RICO CORP/EXIDE
   648775 BATTERIES                                   PO BOX 1410                                                                                          CAROLINA            PR           00984‐1410




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   156049 ESB PUERTO RICO CORPORATION PO BOX 4825                                                                                                                         CAROLINA            PR           00987

   648777 ESC 20 SEPTIEMBRE 1988 BILB                 PO BOX 1528                                                                                                         VIEQUEZ             PR           00765
   156056 ESC ABELARDO DIAZ ALFARO                    REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   648783 ESC ABELARDO DIAZ MORALES                   PMB 353 P O BOX 4952                                                                                                CAGUAS              PR           00726
          ESC ABELARDO MARTINEZ
   648784 OTERO/LINDA VARGAS                          COTTO STA                         PO BOX 9059                                                                       ARECIBO             PR           00613
   648785 ESC ABRAHAM LINCON ELEM                     BOX 9023347                                                                                                         SAN JUAN            PR           00902‐3347
          ESC ACREDITADA S U ANTONIO
   648786 ACARON CORREA                               CARR 102 KM 2 2                                                                                                     CABO ROJO           PR           00623
          ESC ACREDITADA TOMAS
   648788 CARRION MADURO                              PO BOX 3501‐327                                                                                                     JUANA DIAZ          PR           00795
   156057 ESC ADOLFINA IRIZARRY                       REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESC ADOLFO BABILONIA LUIS A
   648789 COLON                                       PO BOX 163                                                                                                          MOCA                PR           00676
   648790 ESC ADOLFO VEVE FEREAU                      PO BOX 428                                                                                                          CEIBA               PR           00735
                                                      VILLA STATION SUITE 283 BA 3 26
   648791 ESC ADRIAN MEDINA                           ST                                                                                                                  HUMACAO             PR           00791‐4349
   648792 ESC AGRIPINA SEDA                           PO BOX 690                                                                                                          GUANICA             PR           00653
   648793 ESC AGUSTIN ORTIZ RIVERA                    PO BOX 1579                                                                                                         JAYUYA              PR           00664

   648794 ESC ALEJANDRINA RIOS BERNABE PO BOX 485                                                                                                                         LUQUILLO            PR           00773
          ESC ALFREDO DORRINGTON
   648795 FARRACCI                     VALLE HERMOSO SUR                                34 CALLE FLAMBOYAN                                                                HORMIGUEROS         PR           00660

   648796 ESC ALTINENSIA VALLE SANTANA BO CAMPANILLA                                    2 CALLE PALMA                                                                     TOA BAJA            PR           00949
   648797 ESC AMALIA LOPEZ DE AVILA    APT 159                                                                                                                            CAMUY               PR           00627

   648798 ESC ANA CATALINA RODRIGUEZ                  RES SANTA CATALINA                BOX 229                                                                           YAUCO               PR           00698
   648799 ESC ANA J CANDELAS                          P O BOX 660                                                                                                         CIDRA               PR           00739
   648800 ESC ANA ROQUE DE DUPREY                     PO BOX 21366                                                                                                        SAN JUAN            PR           00928

   648801 ESC ANDRES GRILLASCA SALAS                  PO BOX 119                                                                                                          MERCEDITA           PR           00715‐0119
          ESC ANGEL MALDONADO BUL
   648802 Y/O JAIME RIO                               BOX 1029                                                                                                            ADJUNTA             PR           00601
   648803 ESC ANGEL R ORTIZ                           PO BOX 3001 SUITE 283                                                                                               COAMO               PR           00769

   648804 ESC ANGELA CORDERO BERNARD PO BOX 7496                                                                                                                          PONCE               PR           006732
   648805 ESC ANTONIA SAEZ           PO BOX 8417                                                                                                                          HUMACAO             PR           00792
   648806 ESC ANTONIA SAEZ IRIZARRY  PMB 361 P O BOX 2400                                                                                                                 TOA BAJA            PR           00951‐2400
   648807 ESC ANTONIO A ROIG         BO MABU                                            PO BOX 8419                                                                       HUMACAO             PR           00791‐8419
   648808 ESC ANTONIO E PAOLI        PO BOX 336960                                                                                                                        PONCE               PR           00733
   648809 ESC ANTONIO RIOS           PO BOX 610                                                                                                                           RIO BLANCO          PR           00744
          ESC ANTONIO SARRIERA
   648810 EGOZCUE                    PO BOX 29752                                                                                                                         SAN JUAN            PR           00929‐0752
   156058 ESC ARISTIDES CALES QUIROS REDACTED                                           REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   648811 ESC ARTURO SOMOHANO        URB LOMAS LOMAS                                    50 CALLE 31                                                                       SAN JUAN            PR           00921
   648812 ESC ASUNCION LUGO          PO BOX 1514                                                                                                                          YABUCOA             PR           00767‐1514
          ESC ASUNCION RODRIGUEZ DE
   648813 SOLA                       PO BOX 560439                                                                                                                        GUAYANILLA          PR           00656




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   648814 ESC AUREA E QUILES CLAUDIO                  PO BOX 494                                                                                                        GUANICA              PR           00653

   648815 ESC AUREA E RIVERA COLLAZO                  URB EL MADRIGAL         P 33 CALLE 7                                                                              PONCE                PR           00730
          ESC BARTOLOME JAVIER
   648816 PETROVITCH                                  PO BOX 1306                                                                                                       CABO ROJO            PR           00623
          ESC BASILIO M
          HERNANDEZ/MARILYN                                                   AVE JOSE DE DIEGO ESQ SABANA
   648817 MARTINEZ                                    6TA SECCION LEVITTOWN   SECA                                                                                      TOA BAJA             PR           00950
   648818 ESC BENIGNA INES CARATINI                   PO BOX 358                                                                                                        COAMO                PR           00769
          ESC BENITA GONZALEZ
   156059 QUINONES                                    REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   648819 ESC BENJAMIN FRANKLIN                       P O BOX 406                                                                                                       COAMO                PR           00769

   648820 ESC BERTA ZALDUONDO CRUZ                    URB MONTE BRISAS        CALLE 104                                                                                 FAJARDO              PR           00738

   648821 ESC BOTIJAS UNO DE OROCOVIS                 PO BOX 379                                                                                                        OROCOVIS             PR           00720
          ESC CACIQUE AGUEYBANA
   648822 SUPERIOR                                    BMS PO BOX 607061                                                                                                 BAYAMON              PR           00960‐7061
   648823 ESC CARLOS ORAMA PADILLA                    BAYAMON BRANCH          PO BOX 1468                                                                               BAYAMON              PR           00960
   648824 ESC CARLOS RIVERA UFRET                     PO BOX 10194                                                                                                      HUMACAO              PR           00791
          ESC CARMEN ARZUAGA DE
   648825 RIVERA                                      PO BOX 1823                                                                                                       JUNCOS               PR           00777

   648826 ESC CARMEN BOZELLO DE HEYKE P O BOX 1100                                                                                                                      ARROYO               PR           00714

   648827 ESC CARMEN N PERAZA TOLEDO PO BOX 7                                                                                                                           HATILLO              PR           00659
          ESC CARMEN SANABRIA DE                                              1748 CALLE ARKANSAS Y
   648828 FIGUEROA                   URB SAN GERARDO                          ALABAMA                                                                                   SAN JUAN             PR           00926

   156060 ESC CARMEN VIGNALS ROSARIO                  REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   648829 ESC CEFERINA CORDERO                        P O BOX 951                                                                                                       ISABELA              PR           00662
   648830 ESC CELENIA MAESTRE                         PO BOX 100                                                                                                        UTUADO               PR           00641
   648831 ESC CERRO GORDO MEDINA                      PO BOX 2360                                                                                                       MOCA                 PR           00676
   648832 ESC CIRILO SANTIAGO PLAUD                   BOX 607                                                                                                           PATILLAS             PR           00723

          ESC CO FERNANDO
   648833 ROSARIO/CARMEN I CORIANO  PO BOX 1366                                                                                                                         VEGA BAJA            PR           00694
          ESC COM ANTONIO DOMINGUEZ
   648834 NIEVES                    PO BOX 9718                                                                                                                         CAGUAS               PR           00726‐9718
          ESC COM BARRIADA CABAN /
   648835 CLASE GRAD 2004           URB VISTA VERDE                           768 CALLE 24                                                                              AGUADILLA            PR           00603
          ESC COM CAMILO VALLES
   648837 MATIENZO CINTRON          P O BOX 1829                                                                                                                        JUNCOS               PR           00777

   648838 ESC COM CARLOS CONDE MARIN VALLE ARRIBA HGTS STA                    PO BOX 4099                                                                               CAROLINA             PR           00984
          ESC COM ESP EN DEP DEL
   156061 ALBERQUE OLIMPICO          PO BOX 2004                                                                                                                        SALINAS              PR           00751
   648839 ESC COM FRANCISCO COIRA    P O BOX 1339                                                                                                                       CIALES               PR           00638
          ESC COM INOCENCIO A
   648840 MONTERO CLASGRAD9NO        P O BOX 1853                                                                                                                       UTUADO               PR           00641
          ESC COM JUANA RODRIGUEZ
   648841 MUNDO                      URB LOIZA VALLEY                         CALLE DONIS                                                                               CANOVANAS            PR           00729



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  648843 ESC COM JULIO SELLES SOLA  VILLA NEVAREZ                                 CALLE 19 ESQ 20                                                                       SAN JUAN           PR           00923
  648844 ESC COM LA FERMINA         PO BOX 728                                                                                                                          LAS PIEDRAS        PR           00771
  648845 ESC COM PEDRO AMADOR       PO BOX 831                                                                                                                          CAMUY              PR           00627
  648847 ESC COM PEDRO ROSARIO      PO BOX 1183                                                                                                                         FAJARDO            PR           00738
         ESC COM REPUBLICA DE       CALLE MEXICO ALOMAR UBR
  648848 COLOMBIA                   SAN AGUSTIN                                                                                                                         SAN JUAN           PR           00923
         ESC COM S U MANUEL ORTIZ
  648849 SUYA                       PO BOX 38                                                                                                                           MAUNABO            PR           00707
         ESC COM SEGUNDA UNIDAD                                                   CARR 617 KM 3 HM 1 RAMAL
  648850 DAVID COLON VEGA           BO MORIDIS SUR                                6616                                                                                  MOROVIS            PR           00687
         ESC COM SEGUNDA UNIDAD
  648851 MARCOS SANCHEZ             P O BOX 1508                                                                                                                        YABUCOA            PR           00767
  648852 ESC COM VICTOR ROJAS II    PO BOX 142716                                                                                                                       ARECIBO            PR           00614
         ESC COMUNIDAD JESUS MANUEL
  648853 SUAREZ                     P O BOX 4099                                                                                                                        CAROLINA           PR           00984
         ESC COMUNIDAD JUAN DE DIOS
  648854 QUINONES                   PO BOX 4549                                                                                                                         AGUADILLA          PR           00605
  648856 ESC COMUNIDAD LA YUCA      HC 7 BOX 2615                                                                                                                       PONCE              PR           00731‐9607
         ESC COMUNIDAD LUIS MUNOS
  156062 MARIN                      PO BOX 3501‐274                                                                                                                     JUANA DIAZ         PR           00795
         ESC COMUNIDAD MARIA C
  648857 SANTIAGO                   P O BOX 1123                                                                                                                        COMERIO            PR           00782
         ESC COMUNIDAD ROSENDO
  648858 MATIENZO CINTRON           BO LAJAS ARRIBA                               CARR 117 KM 5 H 3                                                                     LAJAS              PR           00667
  648859 ESC CONRADO RODRIGUEZ      PO BOX 681                                                                                                                          RINCON             PR           00677
  648860 ESC CRUZ SALGUERO TORRES   PO BOX 20000 SUITE 151                                                                                                              CANOVANAS          PR           00729

   648861 ESC CSI LOLA RODRIGUEZ DE TIO               PO BOX 4921                                                                                                       CAROLINA           PR           00983
   648862 ESC CUESTA DE PIEDRAS                       MARINA STATION              PO BOX 8010                                                                           MAYAGUEZ           PR           00681
          ESC D LA COM MARIA VAZQUEZ
   648863 DE UMPIERRE                                 P O BOX 60‐7082                                                                                                   BAYAMON            PR           00960
   648864 ESC DAVID G FARRAGUT                        PO BOX 2201                                                                                                       MAYAGUEZ           PR           00681‐2201
          ESC DE BONBA Y PLENA DARIE
   156063 CARIDAD BRENS                               REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
          ESC DE COM HILDA RAGUEL
   648866 MATEO RODRIGUEZ                             BO PASTO SECTOR SANTA ANA   PO BOX 358                                                                            COAMO              PR           00769
          ESC DE COM SDA UNIDAD
   648867 ADRIENNE SERRANO                            PO BOX 1528                                                                                                       VIEQUES            PR           00765‐1528
          ESC DE COMUNIDA INTERMEDIA
   156064 SABANA LLANA                                REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
          ESC DE COMUNIDAD PEDRO C
   648869 TIMOTHER                                    URB PUERTO NUEVO            CALLE 5 NE                                                                            SAN JUAN           PR           00927
          ESC DE COMUNIDAD THOMAS
   648870 ARMSTRONG TORO                              C/O ISRAEL ACEVEDO          BOX 336921                                                                            PONCE              PR           00733‐6921
          ESC DE DESARROLLO
   648871 VOCACIONAL                                  PO BOX 669                                                                                                        NARANJITO          PR           00719‐0669
          ESC DE LA COM 2DA UNIDA
   648872 FEDERICO DEGETAU                            HC 3 BOX 8152                                                                                                     BARRANQUITAS       PR           00794
          ESC DE LA COM AGUSTIN
   648873 FERANDEZ COLON                              PO BOX 2040                                                                                                       CAYEY              PR           00737
          ESC DE LA COM AMALIA
   648874 EXPOSITO                                    CALLE GRANADA Y ROSALES                                                                                           CAROLINA           PR           00987




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          ESC DE LA COM ANGEL G
   648875 QUINTERO ALFARO              PO BOX 1571                                                                                                            MOROVIS              PR           00687
          ESC DE LA COM ANGEL P MILLAN
   648876 INTERMEDIA                   P O BOX 7769                                                                                                           CAROLINA             PR           00986
          ESC DE LA COM ANTERA ROSADO
   648877 FUENTES                      19 VILLAS DE RIO GRANDE                                                                                                RIO GRANDE           PR           00745
          ESC DE LA COM ANTONIA        BO HATO VIEJO SECTOR
   648879 SANCHEZ                      CALICHOZA                     CARR 626 KM 3 0                                                                          ARECIBO              PR           00612
          ESC DE LA COM ANTONIO GEIGEL
   648880 PAREDES                      P O BOX 545                   SECTOR LA CURVA                                                                          ISABELA              PR           00662
          ESC DE LA COM ANTONIO
   648881 VALERO DE BERNABE            PO BOX 953                                                                                                             FAJARDO              PR           00738
          ESC DE LA COM BARAHONA
   648882 ELEMENTAL MOROVIS            PO BOX 568                                                                                                             MOROVIS              PR           00687
          ESC DE LA COM CARMEN
   648883 BENITEZ                      PO BOX 98                                                                                                              LAS PIEDRAS          PR           00771
          ESC DE LA COM CARMEN Z VEGA
   648884 DE SANTOS                    PO BOX 161                                                                                                             AIBONITO             PR           00705
          ESC DE LA COM EDMUNDO DEL
   648885 VALLE CRUZ                   PO BOX 330                                                                                                             ARROYO               PR           00714
          ESC DE LA COM EMERITA LEON
   648886 INTERMEDIA                   PO BOX 370573                                                                                                          CAYEY                PR           00737
          ESC DE LA COM ERNESTINA
   156065 BRACERO PEREZ                REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          ESC DE LA COM ESPE PRE
   648887 TECNICA                      BARRIO OBRERO STA             PO BOX 7714                                                                              SAN JUAN             PR           00915
          ESC DE LA COM ESPERANZA
   648889 LINARES                      BO SONADORA ALTA CARR 834                                                                                              GUAYNABO             PR           00971
          ESC DE LA COM FRANCISCA
   648890 DAVILA SEMPRIT               SABANA SECA                   CARR 866 KM 3.5                                                                          TOA BAJA             PR           00952
          ESC DE LA COM FRANCISCO
   648891 FELICIE MARTINEZ             PO BOX 1507                                                                                                            VEGA ALTA            PR           00692
          ESC DE LA COM FRANCISCO
   648892 OLLER                        URB MAGNOLIA GARDENS          V 1 CALLE 20                                                                             BAYAMON              PR           00956
          ESC DE LA COM GENARO
   156066 CAUTINO VAZQUEZ              CALLE ASHFORD                 Y SAN AGUSTIN BOX 90                                                                     GUAYAMA              PR           00785
          ESC DE LA COM GEORGINA
   648893 ALVARADO                     ALLISON TORRES PEREZ          PO BOX 65                                                                                SAN GERMAN           PR           00683
          ESC DE LA COM GUSTAVO
   648894 ADOLFO BECQUER               EDELMIRA RIVERA               PO BOX 9300469                                                                           SAN JUAN             PR           00930‐0469
          ESC DE LA COM INST LOAIZA
   648895 CORDERO                      VANESSA PASTRANA              PO BOX 8622 FDEZ JUNCOS STA                                                              SAN JUAN             PR           00910
          ESC DE LA COM INTERMEDIA
   648896 PACHIN MARIN                 URB FLORAL PARK               243 PARIS SUTE 1893                                                                      SAN JUAN             PR           00917‐3632
          ESC DE LA COM JAIME A
   648897 COLLAZO DEL RIO              PO BOX 370                                                                                                             MOROVIS              PR           00687
          ESC DE LA COM JESUS MARIA
   156067 QUINONES                     VILLA PALMERAS                2212 AVE EDUARDO CONDE                                                                   SAN JUAN             PR           00915
   648898 ESC DE LA COM JOSE D ZAYAS   BO MONTONES 4                 CARR 917 KM 9 H 6                                                                        LAS PIEDRAS          PR           00771
          ESC DE LA COM JOSE MELENDEZ
   648899 AYALA I II                   BO BOQUILLAS                  1685 RAMAL                                                                               MANATI               PR           00674
          ESC DE LA COM JOSE ROBLES
   648900 OTERO                        PO BOX 51426                                                                                                           TOA BAJA             PR           00950



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          ESC DE LA COM JUAN ALEJO DE
   648901 ARIZMENDI                                   APARTADO 1555                                                                                       QUEBRADILLA         PR           00678

   648902 ESC DE LA COM JUAN B HUYKE                  P O BOX 1368                                                                                        ISABELA             PR           00662
          ESC DE LA COM LUIS MUNOZ
   156068 MARIN                                       PO BOX 1116                                                                                         ARECIBO             PR           00613
          ESC DE LA COM LUIS MUNOZ
   156069 RIVERA                                      PO BOX 98                                                                                           LAS PIEDRAS         PR           00771
          ESC DE LA COM LUIS SANTALIZ
   648903 CAPESTANY                                   134 CALLE MATIAS BRUGMAN                                                                            LAS MARIAS          PR           00670 2004
          ESC DE LA COM MANUEL MATIN
   648904 MONSERRATE                                  6 CALLE BALDORIOTY DE CASTRO                                                                        SANTA ISABEL        PR           00757

   648905 ESC DE LA COM MARIA I DONES                 HC 67 BOX 15866                                                                                     FAJARDO             PR           00738‐9711
          ESC DE LA COM MARIA M
   648906 SIMONS DE RIVERA                            PO BOX 1518                                                                                         VIEQUES             PR           00765
          ESC DE LA COM MARIA T
   648907 SERRANO                                     AMF STATION                    PO BOX 810127                                                        CAROLINA            PR           00981‐0127
          ESC DE LA COM MARIANO ABRIL
   648908 ELEMENTAL                                   PO BOX 1899                                                                                         GUAYNABO            PR           00970
          ESC DE LA COM MOISES
   648909 MELENDEZ/ NANCY COX                         BDA BUENA VISTA                222 B CALLE B                                                        SAN JUAN            PR           00917‐1511
          ESC DE LA COM NICANDRO
   648910 GARCIA                                      P O BOX 1491                                                                                        ISABELA             PR           00662
          ESC DE LA COM PARCELAS
   648912 SUAREZ                                      PO BOX 1450                                                                                         CANOVANAS           PR           00729‐1450

   648913 ESC DE LA COM PATRIA PEREZ                  PO BOX 5294                                                                                         YAUCO               PR           00698
          ESC DE LA COM PEDRO ALBIZU
   648914 CAMPOS                                      PO BOX 51901                                                                                        TOA BAJA            PR           00950‐1901
          ESC DE LA COM PEDRO
   648916 GUTIERREZ                                   PO BOX 1464                                                                                         CANOVANAS           PR           00729
          ESC DE LA COM PEDRO NELSON
   648917 COLBERG                                     PO BOX 1316                                                                                         CABO ROJO           PR           00623
          ESC DE LA COM RAFAEL
   156070 CORDERO                                     PO BOX 630217                                                                                       CATANO              PR           00963‐0217
          ESC DE LA COM RAFAEL
   648919 CORDERO INTERMEDIA                          PMB 21                         PO BOX 2510                                                          TRUJILLO ALTO       PR           00977
          ESC DE LA COM REXVILLE
   648920 ELEMENTAL                                   PO BOX 607082                                                                                       BAYAMON             PR           00620
          ESC DE LA COM ROSA COSTA
   648921 VALDIVIESO                                  PO BOX 2009                                                                                         YABUCOA             PR           00767
          ESC DE LA COM ROSENDO
   648922 MATIENZO CINTRON                            ELBA ZAYAS                     PO BOX 1006                                                          LUQUILLO            PR           00773
          ESC DE LA COM S U ANA DALILA
   648923 BURGOS                                      PO BOX 1841                                                                                         OROCOVIS            PR           00720
          ESC DE LA COM S U BONIFACIO
   648924 ALVARADO                                    PO BOX 1202                                                                                         OROCOVIS            PR           00720
          ESC DE LA COM S U GALO
   648925 ROSADO                                      PO BOX 65                                                                                           SAN GERMAN          PR           00683
          ESC DE LA COM S. U. CACIQUE
   648926 MAJAGUA                                     MSC 126 RR 8 BOX 1995          CARR 167 KM 14                                                       BAYAMON             PR           00956‐9676




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   648927 ESC DE LA COM SALVADOR BRAU ISRAEL ACEVEDO COLON             PO BOX 10000 SUITE 135                                                     CAYEY               PR           00736
          ESC DE LA COM SANTIAGO                                       EMBALSE SAN JOSE CALLE
   648928 IGLESIAS PANTIN              JUDITH PIZARRO                  URDIALES                                                                   SAN JUAN            PR           00923
          ESC DE LA COM SEVERO E
   156071 COLBERG RAMIREZ              PO BOX 1150                                                                                                CABO ROJO           PR           00623
          ESC DE LA COM SU MANUEL RUIZ
   648929 GANDIA                       COTTO STA                       PO BOX 9937                                                                ARECIBO             PR           00613
          ESC DE LA COM SUPERIOR DE
   648930 MARICAO                      HC 1 BOX 8112                                                                                              MARICAO             PR           00606
          ESC DE LA COM TOMAS CARRION
   648931 MADURO                       PO BOX 475                                                                                                 BAYAMON             PR           00960475
          ESC DE LA COMUN DR GUSTAVO
   156072 MUNOS DIAZ                   FINAL CALLE ROMAN ROSA                                                                                     AGUAS BUENAS        PR           00703
          ESC DE LA COMUNIDAD
   648932 ABRAHAM LINCOLN              PO BOX 135                                                                                                 COROZAL             PR           00783
          ESC DE LA COMUNIDAD AGUSTIN
   648933 BALSEIRO                     P O BOX 2048                                                                                               BARCELONETA         PR           00617
          ESC DE LA COMUNIDAD AMINA
   648934 TIO DE MALARET               JANETTE FERRER CRUZ             PO BOX 80                                                                  SAN GERMAN          PR           00683
          ESC DE LA COMUNIDAD ANDRES
   156073 SOTO QUINONES                P O BOX 128                                                                                                YABUCOA             PR           00767
          ESC DE LA COMUNIDAD ANGEL G
   648935 RIVERA                       PO BOX 2115                                                                                                OROCOVIS            PR           00720
          ESC DE LA COMUNIDAD ANGEL
   156074 RAMOS                        1RA EXT URB COUNTRY CLUB        CALLE SISONTE Y DENOTIERA                                                  SAN JUAN            PR           00924
          ESC DE LA COMUNIDAD ANGELES                                  CALLE LUIS PARDO ESQ JUAN
   648936 PASTOR                       URB SAN MARTIN                  BAEZ                                                                       SAN JUAN            PR           00924
          ESC DE LA COMUNIDAD
   648937 ANTONIO S PEDREIRA           URB PUERTO NUEVO                CALLE ARGEL ESQ ANDORRA                                                    SAN JUAN            PR           00920
          ESC DE LA COMUNIDAD AUREA
   648938 GINESTRE                     SECTOR PARMAREJO                CARR 149 KM 53                                                             VILLALBA            PR           00766
          ESC DE LA COMUNIDAD          URB COUNTRY CLUB 1RA
   648939 BERWIND SUPERIOR             SECCION                         CALLE VINYATER FINAL                                                       SAN JUAN            PR           00924
          ESC DE LA COMUNIDAD
   648940 CANDIDO BERRIOS              B A 3 VILLA UNIVERSITARIA       CALLE 26 SUITE 217                                                         HUMACAO             PR           00791
          ESC DE LA COMUNIDAD CARMEN
   156075 CASASUS MARTI                BOX CARRERAS                                                                                               ANASCO              PR           00623
          ESC DE LA COMUNIDAD
   648941 CRISTOBAL VICENS             CIALES                                                                                                     CIALES              PR           00638
          ESC DE LA COMUNIDAD DR
   648942 CESARIO ROSA                 URB VILLA PRADES                CALLE ANA OTERO FINAL                                                      SAN JUAN            PR           00924
          ESC DE LA COMUNIDAD EL
   648943 CONQUISTADOR                 P O BOX 631                                                                                                TRUJILLO ALTO       PR           00976
          ESC DE LA COMUNIDAD EL
   648944 PORTAL                       P O BOX 62                                                                                                 BARRANQUITAS        PR           00794
          ESC DE LA COMUNIDAD
   648945 FEDERICO DEGETAU II          PO BOX 2139                                                                                                AIBONITO            PR           00705
          ESC DE LA COMUNIDAD FELIPE
   648946 DIAZ GONZALEZ                PO BOX 1311                                                                                                TOA ALTA            PR           00954
          ESC DE LA COMUNIDAD
   648947 FRANCISCO RAMOS              BOX 1389                                                                                                   UTUADO              PR           00641




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          ESC DE LA COMUNIDAD GABINO
   648948 SOTO                        P O BOX 759                                                                                                 FAJARDO              PR           00738
          ESC DE LA COMUNIDAD JESUS T
   156077 PINEIRO                     PO BOX 3158                                                                                                 MANATI               PR           00674
          ESC DE LA COMUNIDAD JOAQUIN
   648949 FERRAN                      HC 07 BOX 3019                                                                                              PONCE                PR           00731‐9607
          ESC DE LA COMUNIDAD JOSE DE
   648951 DIEGO                       PO BOX 4396                                                                                                 VEGA BAJA            PR           00693
          ESC DE LA COMUNIDAD LA
   156079 ESPERANZA                   PUERTO NUEVO                   CALLE 19 N E                                                                 SAN JUAN             PR           00921
          ESC DE LA COMUNIDAD LA
   648952 PONDEROSA                   COM LA PONDEROSA               CALLE GARDENIA                                                               RIO GRANDE           PR           00745
          ESC DE LA COMUNIDAD
   648953 LADISLAO MARTINEZ           BOX 1778                                                                                                    VEGA ALTA            PR           00692
          ESC DE LA COMUNIDAD LAS
   648954 VIRTUDES                    URB LAS VIRTUDES               CALLE NOBLEZA ESQ CONFIANZA                                                  SAN JUAN             PR           00924
          ESC DE LA COMUNIDAD LLANOS
   648955 DEL SUR                     P O BOX 800839                                                                                              COTO LAUREL          PR           00780‐0839
          ESC DE LA COMUNIDAD LUIS
   648956 HERNAIZ VERONNE             PM 478                         PO BOX 10000                                                                 CANOVANAS            PR           00729
          ESC DE LA COMUNIDAD LUIS
   156080 MUNOZ RIVERA                58 CALLE MATIAS GONZALEZ                                                                                    GURABO               PR           00778
          ESC DE LA COMUNIDAD LUIS T
   156081 BALINAS                     BO MULAS                       P O BOX 68                                                                   AGUAS BUENAS         PR           00703
          ESC DE LA COMUNIDAD
   648957 MARCELINO CANINO            PO BOX 728                                                                                                  DORADO               PR           00646
          ESC DE LA COMUNIDAD
   648958 MIRADERO II                 BO MIRADERO                    1584 CARR 108                                                                MAYAGUEZ             PR           00680‐7504
          ESC DE LA COMUNIDAD
   648959 RABANAL                     PO BOX 1269                                                                                                 AIBONITO             PR           00705
          ESC DE LA COMUNIDAD RAFAEL
   648960 HERNANDEZ                   PMB 117 PO BOX 607071                                                                                       BAYAMON              PR           00960‐7071
          ESC DE LA COMUNIDAD RAFAEL SANDALIO ALONSO EXT LAS
   648961 RIVERA OTERO                LOMAS                                                                                                       SAN JUAN             PR           00921
          ESC DE LA COMUNIDAD RAMON
   648962 POWER Y GIRALT              PO BOX 1276                                                                                                 LAS PIEDRAS          PR           00771
          ESC DE LA COMUNIDAD RAUL
   648865 YBARRA                      8 AVE LUCHETTI                                                                                              MARICAO              PR           00603
          ESC DE LA COMUNIDAD S U
   648963 ADOLFO GARCIA               PMB 197                        PO BOX 1345                                                                  NARANJITO            PR           00953‐1345
          ESC DE LA COMUNIDAD S U
   648964 CUCHILLAS                   PO BOX 1672                                                                                                 MOCA                 PR           00676
          ESC DE LA COMUNIDAD S U
   648965 DIEGO BRAVO                 P O BOX 2284                                                                                                ARECIBO              PR           00613‐2284
          ESC DE LA COMUNIDAD S U
   648966 PLAYITA CORTADA             PO BOX 847                                                                                                  SANTA ISABEL         PR           00757
          ESC DE LA COMUNIDAD SU
   648967 ANTONIA SERRANO             PO BOX 578                                                                                                  JAYUYA               PR           00664
          ESC DE LA COMUNIDAD
   648968 TEODORO AGUILAR MORA        P O BOX 1990                                                                                                YABUCOA              PR           00767
          ESC DE LA COMUNIDAD VENUS
   156082 GARDENS                     PO BOX 1211 SA JUST STA                                                                                     SAN JUAN             PR           00978‐1211




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          ESC DE LA COMUNIDAD
   648969 VISITACION PAGAN A                          PO BOX 2115                                                                                                           OROCOVIS             PR           00720‐2115
          ESC DE LA COND JESUSA
   648970 VIZCARRONDO                                 PO BOX 587                                                                                                            LOIZA                PR           00772
          ESC DE MEDICINA SAN JUAN
   648971 BAUTISTA                                    P O BOX 4964                                                                                                          CAGUAS               PR           00726‐4964

          ESC DESAR Y ENTRENAMIENTO
   156083 VOL JUANA DIAZ                              URB LAS FLORES                CALLE 3‐14                                                                              JUANA DIAZ           PR           00795
   648972 ESC DIEGO VAZQUEZ                           P O BOX 4956                  SUITE 1271                                                                              CAGUAS               PR           00725‐4956
   648973 ESC DOLORES ALVAREZ                         PO BOX 4158                                                                                                           BAYAMON              PR           00958‐1158
   648974 ESC DOLORES GONZALEZ                        PO BOX 357                                                                                                            ARROYO               PR           00714

   648975 ESC DOMINGO APONTE COLLAZO ESC DIMINGO APONTE COLLAZO                                                                                                             LARES                PR           00669
   648976 ESC DR ALBIZU CAMPOS       P O BOX 1008                                                                                                                           QUEBRADILLAS         PR           00678
   648977 ESC DR FACUNDO BUEZO       PO BOX 900                                                                                                                             CAROLINA             PR           00985‐0900
   648978 ESC DR FRANCISCO SUSONI    ARECIBO GARDEN                                                          3                                                              ARECIBO              PR           00612
          ESC DR GILBERTO CONCEPCION
   648979 DE GRACIA                  PO BOX 3458                                                                                                                            CAROLINA             PR           00984‐3458
   648980 ESC DR HIRAM GONZALEZ      PMB 170                    PO BOX 607071                                                                                               BAYAMON              PR           00960
          ESC DR ISAAC GONZALEZ
   648981 MARTINEZ                   CAPARRA TERRACE            SE 175 CALLE 30                                                                                             SAN JUAN             PR           00920
   648982 ESC DR JOSE CELSO BARBOSA  APARTADO 4081                                                                                                                          PONCE                PR           00733‐4081
          ESC DR JOSE CELSO BARBOSA
   648983 CLAS GRAD NOVE             URB JONZALEZ SEIJO         16 CALLE LOMBARDIA                                                                                          SAN JUAN             PR           00924
   648984 ESC DR JOSE G PADILLA      BOX 1437                                                                                                                               VEGA BAJA            PR           00693
   648985 ESC DR JUAN S MARCHAND     RR 02 BZN 7023                                                                                                                         MANATI               PR           00674

   648986 ESC DR PEDRO ALBIZU CAMPOS                  PO BOX 698                                                                                                            CANOVANAS            PR           00729

   648988 ESC DR RAFAEL DEL VALLE INT                 PO BOX 475                                                                                                            AGUADILLA            PR           00605
          ESC DR RAMON EMETERIO
   648989 BETANCES                                    P O BOX 371095                                                                                                        CAYEY                PR           00737
   648990 ESC DR VICTOR RINCON                        PO BOX 912                                                                                                            HUMACAO              PR           00741

   648991 ESC EDUARDO GARCIA CARRILLO PO BOX 1636                                                                                                                           CANOVANAS            PR           00729

   648992 ESC EFRAIN SANCHEZ HIDALGO                  P O BOX 51740                                                                                                         TOA BAJA             PR           00949
   648993 ESC ELBA LUGO CARRION                       URB VILLA SERENA                                                                                                      ARECIBO              PR           00612
                                                      282 CALLE INGENIERO JULIO
   648994 ESC ELEANOR ROOSEVELT                       LOPEZ                                                                                                                 SAN JUAN             PR           00918‐2854
          ESC ELEM DE LA COM
   648995 ANASTACIO SANTIAGO                          PO BOX 358                                                                                                            COAMO                PR           00769
   648996 ESC ELEM JOSE D DIEGO                       PO BOX 728                                                                                                            DORADO               PR           00646
   648997 ESC ELEM NUESTRA SRA DE C                   SAINT JUST STA                PO BOX 1235                                                                             TRUJILLO ALTO        PR           00976
   156084 ESC ELEM PINAS ARRIBA                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   648998 ESC ELEMENTAL BERWIND                       JARDINES DE BERWIND           CALLE 1 FINAL                                                                           SAN JUAN             PR           00985
          ESC ELEMENTAL CRISTOBAL
   648999 COLON                                       P O BOX 8712                                                                                                          BAYAMON              PR           00960
          ESC ELEMENTAL DIEGO DE
   649000 TORRES VARGAS                               4TA SECCION STA JUANITA       CALLE ALAMEDA Y VISALI                                                                  BAYAMON              PR           00956
          ESC ELEMENTAL EMILIO DEL
   649001 TORO CUEVAS                                 1 CALLE CHILE ESQ QUISQUEYA                                                                                           SAN JUAN             PR           00919



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          ESC ELEMENTAL JOSE
   649002 RODRIGUEZ DE SOTO                           PO BOX 691                                                                                                  ENSENADA            PR           00647
          ESC ELEMENTAL JULIA DE
   649003 BURGOS                                      PO BOX 1659                                                                                                 CANOVANAS           PR           00729

   649004 ESC ELEMENTAL JULIO CANCEL PO BOX 1220                                                                                                                  SAN SEBASTIAN       PR           00685
          ESC ELEMENTAL JULIO CANCEL CLASE GRADUANDA/CARLOS
   649005 FACUNDO                      NEGRON                              PO BOX 1220                                                                            SAN SEBASTIAN       PR           00685
   649006 ESC ELEMENTAL LAS 400TAS     APTO 1794                                                                                                                  JUNCOS              PR           00777‐1794
          ESC ELEMENTAL LUIS RODRIGUEZ
   649007 CABRERA                      RES LUIS LLORENS TORRES             CALLE CORONA                                                                           SAN JUAN            PR           00913
          ESC ELEMENTAL MANUEL A
   649008 PEREZ                        RES MANUEL A PEREZ                  CALLE ELIZONDO ESQ 46                                                                  SAN JUAN            PR           00923
          ESC ELEMENTAL MATIN G
   649009 BRUMBAUGH                    PO BOX 847                                                                                                                 SANTA ISABEL        PR           00757
          ESC ELEMENTAL NUEVA JUAN DE
   649010 DIOS LOPEZ                   P O BOX 487                                                                                                                HUMACAO             PR           00791

   649011 ESC ELEMENTAL PESAS PARCELAS P O BOX 1436                                                                                                               CIALES              PR           00638
   649012 ESC ELVIRA M COLON           PO BOX 790                                                                                                                 SANTA ISABEL        PR           00757
          ESC EMILIANO FIGUEROA
   156085 TORRES                       REDACTED                            REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   649013 ESC EMILIO DEL TORO Y CUEBAS 1 CALLE CHILE Y QUISQUELLA                                                                                                 SAN JUAN            PR           00917
   649014 ESC EMILIO E HUYNE           URB ALTAMESA                        CALLE SANTA ROSA FINAL                                                                 SAN JUAN            PR           00793‐2502

   649015 ESC EMILIO SHARON RODRIGUEZ PO BOX 4691                                                                                                                 SAN SEBASTIAN       PR           00685
   649016 ESC ERNESTO JUAN FONFRIAS    SECT MACU BO CANDELARIA             CARR 2 KM 17 HECT 7                                                                    TOA BAJA            PR           00949
   649017 ESC ERNESTO VALDERAS         PO BOX 1436                                                                                                                CIALES              PR           00638
          ESC ESP LIBRE DE MUSICA DE
   649018 SAN JUAN                     400 JUAN CALAF SUITE 132                                                                                                   SAN JUAN            PR           00918‐1323
          ESC ESPECIALIZADA BILIGUE
   156086 JUAN P DE LEON               REDACTED                            REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESC ESPECIALIZADA DR JUAN
   649019 JOSE OSUNA                   PO BOX 191766                                                                                                              SAN JUAN            PR           00919‐1766
          ESC ESPECIALIZADA UNIVERSITY
   649020 GARDENS                      VILLA NEVAREZ                       3516 CALLE 32                                                                          SAN JUAN            PR           00927‐5110
          ESC EUGENIA M HOSTOS
   156087 MAYAGUEZ CLASE 59            BO PARIS                            78 CALLE MIGUEL A SANTINI                                                              MAYAGUEZ            PR           00680
   156089 ESC EUGENIO M DE HOSTOS      REDACTED                            REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   649021 ESC EUGENIO MARIA DE HOSTOS BOX 7                                                                                                                       HATILLO             PR           00659
          ESC EVA Y PATRIA CUSTODIO
   649024 FRANQUI                     163 CALLE MATIAS BNUGMAN                                                                                                    LAS MARIAS          PR           00670‐2016
   649025 ESC FEDERICO DEGETAU II     PO BOX 2139                                                                                                                 AIBONITO            PR           00705
   649026 ESC FEDERICO MATHEW BAEZ    PO BOX 1950                                                                                                                 YABUCOA             PR           00767‐1950
                                      CALLE JOSE CELSO BARBOSA
   649027 ESC FERNANDO ROIG           APTO 26                                                                                                                     LAS PIEDRAS         PR           00771
   649028 ESC FIDEL G PADILLA         PO BOX 916                                                                                                                  NARANJITO           PR           00719
          ESC FIDELINA MELENDEZ
   648778 MONSANTO                    7 LATERAL CALLE ANTONIO RIOS                                                                                                NAGUABO             PR           00718
   649029 ESC FLORENCIO SANTIAGO      BOX 1912                                                                                                                    COAMO               PR           00769




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          ESC FORMACION FUTBOLISTAS
   156090 ESPANOLA EFFE                REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          ESC FRANCISCA DAVILA SEMPRIT
   649030 INTERMEDIA                   P O BOX 311                                                                                                                   TOA BAJA              PR           00949
          ESC FRANCISCO GONZALO
   649031 MARIN                        PO BOX 142326                                                                                                                 ARECIBO               PR           00614‐2326
          ESC FRANCISCO JORDAN / CLASE
   649032 GRAD NOVENO                  PO BOX 1956                                                                                                                   UTUADO                PR           00641
          ESC FRANCISCO MARIANO
   156091 QUINONES                     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   649033 ESC FRANCISCO MATIAS LUGO                   PO BOX 3474                                                                                                    CAROLINA              PR           00984‐3474
          ESC FRANCISCO
   649034 MENDOZA/CLASE GRAD 2003                     BOX 808                                                                                                        ISABELA               PR           00662

   649036 ESC FRANCISCO PRADO PICART                  HC 01 BOX 4470                                                                                                 JUANA DIAZ            PR           00795‐9705
          ESC FRANCISCO RODRIGUEZ
   649037 LOPEZ                                       PO BOX 56075                                                                                                   GUAYANILLA            PR           00656‐0575
   649038 ESC FRANKLIN D ROOSEVELT                    P O BOX 1116                                                                                                   ARECIBO               PR           00613
          ESC FRAY PABLO BENIGOM
   649039 CARRION                                     P O BOX 373275                                                                                                 CAYEY                 PR           00737
          ESC GABRIELA MISTRAL
   156093 CASTANER                                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          ESC GENEROSO E MORALES
   649040 MUNOZ                                       PO BOX 1281                                                                                                    SAN JUAN              PR           00754
   649041 ESC GEORGINA BAQUERO                        PMB 20126                    PO BOX 35000                                                                      CANOVANAS             PR           00729‐0014
   649042 ESC GERARDO SELLES SOLA                     PO BOX 29272                                                                                                   SAN JUAN              PR           00929‐0272

   649043 ESC GILBERTO C DE GRACIA 1999 P O BOX 30288                                                                                                                SAN JUAN              PR           00929‐1288

   649044 ESC GLORIA GONZALEZ DE PEREZ P O BOX 545                                                                                                                   ISABELA               PR           00662
          ESC GREGORIO RODRIGUEZ
   649045 ORAMA                        APARTADO 1442                                                                                                                 AGUADA                PR           00602
   649046 ESC GUILLERMINA ROSADO       URB VILLAS DE LOIZA                         CALLE 23 ESQ 29                                                                   LOIZA                 PR           00772
   649047 ESC HENRRY W LONGFELLOW      P O BOX 65                                                                                                                    SAN GERMAN            PR           00683
   649048 ESC HIPOLITO CALDERO         P O BOX 1830                                                                                                                  COROZAL               PR           00783
   649049 ESC HIPOLITO GARCIA          BOX 560546                                                                                                                    GUAYANILLA            PR           00656
   156094 ESC HORACE MANN              REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   649050 ESC HOTELERA DE PR           PO BOX 37879                                                                                                                  SAN JUAN              PR           00937

   649051 ESC INDIERA FRIA DE MARICAO RR 1 BOX 6193                                                                                                                  MARICAO               PR           00606
          ESC INDUSTRIAL PARA MUJERES
   156095 VEGA ALTA                   ATT RECORD MEDICO                            PO BOX 1079                                                                       VEGA ALTA             PR           00762
   649052 ESC INES M MENDOZA          CAIMITO BAJO                                 CARR 842 KM 6 HM 2                                                                SAN JUAN              PR           00926

   156096 ESC INFANTIL CARITA DE ANGEL                REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   649053 ESC INT ANDRES VALCARCEL                    PO BOX 1203                                                                                                    SAINT JUST            PR           00978
          ESC INT APOLO SAN ANTONIO/
   649054 ANGEL A LOREN                               BOX 3257                                                                                                       VEGA ALTA             PR           00692
          ESC INT DE LA COM DR JOSE N
   649055 GANDARA                                     CALLE URDIAL Y FINAL EMBALSE SAN JOSE                                                                          SAN JUAN              PR           00923
          ESC INT ERNESTO RAMOS
   649056 ANTONINI                                    AVE BARBOSA FINAL                                                                                              YAUCO                 PR           00698



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          ESC INT JOSEFINA FERRERO VDA
   649058 DE ARAUJO                                   PO BOX 1106                                                                                                  FAJARDO             PR           00738
   649059 ESC INT NUEVA DE AGUADA                     P O BOX 547                                                                                                  AGUADA              PR           00602
   649060 ESC INT SABANA LLANA                        APARTADO 1156                                                                                                SALINAS             PR           00751
   649061 ESC INT SANTIAGO TORRES                     PO BOX 98                                                                                                    LAS PIEDRAS         PR           00771
   156097 ESC INT TALLABOA ALTA                       P O B OX 1010                                                                                                PENUELAS            PR           00624
          ESC INTERM NICOLAS AGUAYO
   649062 ALDEA                                       PMB 291 AVE RAFAEL CORDERO STATION 140                                                                       CAGUAS              PR           00725‐3757
          ESC INTERMEDIA CARMEN L
   649063 FELICIANO                                   PO BOX 848                                                                                                   RIO GRANDE          PR           00745
          ESC INTERMEDIA DR JOSE A
   649064 DAVILA                                      PO BOX 132                                                                                                   BAYAMON             PR           00960
          ESC INTERMEDIA FRANCISCO
   649065 ZAYAS SANTANA                               PO BOX 1504                                                                                                  VILLALBA            PR           00766
          ESC INTERMEDIA JOSE A LOPEZ
   649066 CASTRO                                      PO BOX 3154                                                                                                  JUNCOS              PR           00777
          ESC INTERMEDIA JUAN RAMON
   649067 JIMENEZ                                     BOX REB 60                                                                                                   BAYAMON             PR           00961

   649068 ESC INTERMEDIA PABLO CASALS                 PO BOX 607071 SUITE 12                                                                                       BAYAMON             PR           00960‐7071
          ESC INTERMEDIA RAFAEL M DE
   649069 LABRA                                       VILLA PALMERA              AVE SAGRADO CORAZON                                                               SAN JUAN            PR           00915
   649070 ESC ISAAC DEL ROSARIO                       PO BOX 86                                                                                                    CATA¥O              PR           00961
          ESC ISABEL M RIVERA / CLASE
   649071 GRAD 9 GRADO                                P O BOX 788                                                                                                  UTUADO              PR           00641
   156098 ESC JAIME CASTANER                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649072 ESC JESUS T PI¥ERO                          P O BOX 1542                                                                                                 CAGUAS              PR           00725
   156099 ESC JESUS T PINERO                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649073 ESC JOHN F KENNEDY                          2DA SECC VILLA DEL REY     CALLE KINGSTON                                                                    CAGUAS              PR           00725
   649075 ESC JOHNNY E LABOY TORRES                   MSC 244                    PO BOX 6004                                                                       VILLALBA            PR           00766
   649076 ESC JOSE A CASTILLO                         PO BOX 896                                                                                                   SABANA GRANDE       PR           00637
   649077 ESC JOSE ARCHILLA CABRERA                   APARTADO 926                                                                                                 NARANJITO           PR           00719
          ESC JOSE B BARC / ASOC NAC
   649078 FUT AGRICULT                                HC 03 BOX 28500            BO GUAJATACAS                                                                     SAN SEBASTIAN       PR           00685
   649079 ESC JOSE C ROSARIO                          PMB 106 BOX 80000                                                                                            ISABELA             PR           00662
   649080 ESC JOSE DE DIEGO                           P O BOX 4934                                                                                                 AGUADILLA           PR           00605
   156100 ESC JOSE EMILIO LUGO                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649085 ESC JOSE F CINTRON                          APARTADO 699                                                                                                 YABUCOA             PR           00767
   649086 ESC JOSE FACUNDO CINTRON                    P O BOX 7428                                                                                                 SAN JUAN            PR           00916
   649087 ESC JOSE FERNANDEZ RUBIAL                   P O BOX 82                                                                                                   COROZAL             PR           00783
   649088 ESC JOSE GONZALEZ RUIZ                      PO BOX 7000 SUITE 004                                                                                        AGUADA              PR           00602
   649089 ESC JOSE M MASSARI                          PO BOX 240                                                                                                   ARROYO              PR           00714
   649090 ESC JOSE PEPIN HERNANDEZ                    SECTOR PARC CAMUY ARRIBA                                                                                     CAMUY               PR           00627
   649091 ESC JOSE PILAR GONZALEZ                     HC 01 BOX 3012                                                                                               ADJUNTAS            PR           00601‐9701
   649092 ESC JOSE RAMON RODRIGUEZ                    PO BOX 3001 SUITE 180                                                                                        COAMO               PR           00769
   156101 ESC JOSE SANTOS QUINONEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   156102 ESC JOSE VIZCARRONDO ANESES REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESC JOSEFINA MUNOZ DE
   156104 BERNIER                     REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   649093 ESC JUAN CARDONA RODRIGUEZ PO BOX 4644                                                                                                                   SAN SEBASTIAN       PR           00685
   649094 ESC JUAN CUEVAS ABOY       P O BOX 7571                                                                                                                  PONCE               PR           00732‐7571



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  649095 ESC JUAN LINO SANTIAGO                       PO BOX 9000 SUITE 660                                                                                         AGUADA               PR           00602
  649096 ESC JUAN LUIS SANTIAGO                       BOX 9000 SUITE 660                                                                                            AGUADA               PR           00602
         ESC JUAN QUIRINDONGO
  649097 MORELL                        PO BOX 1618                                                                                                                  VEGA BAJA            PR           00694‐1618
  649098 ESC JUAN RUIZ PEDROZA         PO BOX 1546                                                                                                                  RINCON               PR           00677
  649099 ESC JUAN ZAMORA               HC 02 BOX 7206                                                                                                               COMERIO              PR           00782
                                       CAR 857 KM 4 9 INT 859
   649100 ESC JUANA RODRIGUEZ MUNDO CANOVANILLA                                                                                                                     CAROLINA             PR           00985
   649101 ESC JUANA SANCHEZ            PO BOX 1297                                                                                                                  JUNCOS               PR           00777‐1297
          ESC JUANITO RAMIREZ
   649102 GONZALEZ                     PO BOX 1167                                                                                                                  FLORIDA              PR           00650
   649103 ESC JULIA CORDERO NEGRON     PO BOX 7855                                                                                                                  PONCE                PR           00732‐7855
   649104 ESC JULIA DE BURGOS          BO TARRECILLA ALTA                                                                                                           CANOVANAS            PR           00729
          ESC KARATE INTERNACIONAL
   649105 SHOTO                        PO BOX 9100                                                                                                                  SAN JUAN             PR           00908‐0163
          ESC LA COM FELISA RINCON VDA
   649106 DE GAUTIER                   BO CAIMITO BAJO              SECT CANEJAS CARR 842 K 2 H 3                                                                   SAN JUAN             PR           00926
          ESC LA COM JOSE CORDERO
   649107 /CYNTHIA VIDOT               PO BOX 2051                                                                                                                  BARCELONETA          PR           00617
          ESC LA COM LUIS MUNOZ
   156105 RIVERA CAROLINA I            H 13 CALLE LUIS MUNOZ RIVERA                                                                                                 CAROLINA             PR           00986
          ESC LA COMUNIDAD ROSA
   649108 ACOSTA VALDIVIESO            PO BOX 2009                                                                                                                  YABUCOA              PR           00767
   649109 ESC LAS AMERICAS             URB PTO NUEVO                1210 CALLE CASINO                                                                               SAN JUAN             PR           00920
   649110 ESC LAURO GONZALEZ           P O BOX 233                                                                                                                  LAS MARIAS           PR           00670

   649111 ESC LCDO EUGENIO GONZALEZ                   PO BOX 519                                                                                                    AGUADA               PR           00602
   649112 ESC LEONCIO MELENDEZ                        PO BOX 1033                                                                                                   LAS PIEDRAS          PR           00771‐1033
   649113 ESC LIBRADO NET PEREZ                       RIO CANAS                   2010 CALLE DRAMA                                                                  PONCE                PR           00728
          ESC LIBRE DE MUSICA DE
   649114 ARECIBO                                     P P BOX 143052                                                                                                ARECIBO              PR           00614
   649115 ESC LINO PADRON RIVERA                      PO BOX 4096                                                                                                   VEGA BAJA            PR           00694
   649116 ESC LOLA RODRIGUEZ DE TIO                   PO BOX 206                                                                                                    SAN GERMAN           PR           00683
   649117 ESC LUIS A RIVERA                           P O BOX 90                                                                                                    GUAYAMA              PR           00785
          ESC LUIS FELIPE RODRIGUEZ
   649118 GARCIA                                      P O BOX 811                                                                                                   CAMUY                PR           00627
          ESC LUIS MELENDEZ RODRIGUEZ
   649119 /                                           BARR CAMPO ALEGRE HATILLO                                                                                     HATILLO              PR           00659
   156107 ESC LUIS MUðOZ RIVERA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   156109 ESC LUIS MUNOS RIVERA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   156110 ESC LUIS MUNOZ MARIN                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   156114 ESC LUIS MUNOZ RIVERA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   156120 ESC LUIS MUNOZ RIVERA II                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   649121 ESC LUZ AMERICA CALDERON                    PO BOX 3467                                                                                                   CAROLINA             PR           00984‐3467
   156121 ESC LUZ ENEIDA COLON                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   649122 ESC LYDIA M LOPEZ D NAGUABO HC 01 BOX 4693 A                                                                                                              NAGUABO              PR           00718‐9723
   649123 ESC MANUEL A DIAZ TORRES    OFICINA SUPERINTENDENTE                     5 AVE BUENA VISTA                                                                 MOROVIS              PR           00687
   649124 ESC MANUEL BOU GALI         PO BOX 1179                                                                                                                   COROZAL              PR           00783

   649125 ESC MANUEL CUEVAS BACENER                   BO OBRERO                   PO BOX 7624                                                                       SAN JUAN             PR           00916

   648779 ESC MANUEL FEBRES GONZALEZ PO BOX 3809                                                                                                                    CAROLINA             PR           00984



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          ESC MANUEL FERNANDEZ
   649126 JUNCOS                                      PO BOX 846                                                                                                    JUANA DIAZ           PR           00975
   649127 ESC MANUEL ORTIZ                            PO BOX 1064                                                                                                   YABUCOA              PR           00767
   649128 ESC MANUEL SURILLO                          HC 01 BOX 17412                                                                                               HUMACAO              PR           00791
   649129 ESC MANUELA TORO MORICE                     P O BOX 5759                                                                                                  CAGUAS               PR           00725
          ESC MARGARITA RIVERA DE
   649130 JANER                                       PO BOX 879                                                                                                    GURABO               PR           00778

   649131 ESC MARIA CADILLA/CLUB BECA BOX 1118                                                                                                                      ARECIBO              PR           00612
   649132 ESC MARIA DAVILA SEMIDEY    OFICINA SUP DE ESCUELAS                   PO BOX 607                                                                          PATILLAS             PR           00723

   649134 ESC MARIA E BAS DE VAZQUEZ                  PO BOX 1221                                                                                                   BAYAMON              PR           00960‐1221
   649135 ESC MARIA L JIMENEZ                         MCS 813 P O BOX 5000                                                                                          AGUADA               PR           00602
                                                                                12 CALLE CENTRO
   649136 ESC MARIA LIBERTAD GOMEZ                    SUITE 206                 GUBERNAMENTAL                                                                       UTUADO               PR           00641‐2225
          ESC MARIA T PINEIRO/CLASE                   CALLE LOS MARQUES FINAL
   156122 GRADUANDA 2004                              SABANA SECA                                                                                                   TOA BAJA             PR           00952
   649138 ESC MARIAS III                              BO MARIAS                 CARR 110 KM 5 7                                                                     MOCA                 PR           00676
          ESC MARTA LAFONTAINE/ CLASE
   649140 GRAD 9NO GDO                                PO BOX 314                                                                                                    UTUADO               PR           00641

   649141 ESC MARTA VELEZ DE FAJARDO                  URB CANA                  100 CALLE 11                                                                        BAYAMON              PR           00957
   649142 ESC MATEO HERNANDEZ                         PO BOX 545                                                                                                    ISABELA              PR           00662
   649143 ESC MATIAS RIVERA                           P M B 139 SUITE           P O BOX 2021                                                                        LAS PIEDRAS          PR           00771‐2021
   649144 ESC MAXIMINA MENDEZ                         BDA CAMPAMENTO            E CALLE 6 INT BOX 1359                                                              GURABO               PR           00778
   649145 ESC MAXIMO SALAS                            PO BOX 2855                                                                                                   SAN SEBASTIAN        PR           00685
   649147 ESC MEDIANIA ALTA                           PO BOX 1980 SUITE 201                                                                                         LOIZA                PR           00772
   156124 ESC MIGUEL A SANTRO                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   649148 ESC MIRABALES NIEVES                        PO BOX 1676                                                                                                   SAN SEBASTIAN        PR           00685
   649149 ESC MONSERRATE MORENO                       P O BOX 129                                                                                                   UTUADO               PR           00641
          ESC NARCISO RABELL / PROG ED
   156125 FISICA Y/O                                  REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   649151 ESC NARCISO RABELL CABRERO PO BOX 1619                                                                                                                    SAN SEBASTIAN        PR           00685
          ESC NARCISO RABELL CABRERO‐
   649152 SAN SEBASTIAN               GRISEL RUIZ ESTEVES                       HC 6 BOX 12128                                                                      SAN SEBASTIAN        PR           00685
   648780 ESC NEMESIO R CANALES       PO BOX 364671                                                                                                                 SAN JUAN             PR           00936‐4671

   649153 ESC NICOLAS SEVILLA GUEMAREZ PO BOX 1311                                                                                                                  TOA ALTA             PR           00953
   649154 ESC OFELIA DIAZ RODRIGUEZ    P O BOX 718                                                                                                                  VEGA BAJA            PR           00693

   649155 ESC PABLO ACOSTA DE CAMUY                   P O BOX 328                                                                                                   CAMUY                PR           00627

   649156 ESC PABLO CARDONA MARQUEZ PO BOX 4700                                                                                                                     SAN SEBASTIAN        PR           00685

   649157 ESC PADRE ANIBAL REYES BELEN PO BOX 69001 SUITE 275                                                                                                       HATILLO              PR           00659

   649158 ESC PADRE RUFO M FERNANDEZ JUANITA MAIL STATION                       PO BOX 104 STA                                                                      BAYAMON              PR           00956
          ESC PAPA JUAN XXIII
   649159 INTERMEDIA                 VILLA RICA                                 CALLE ISLA NENA                                                                     BAYAMON              PR           00959

   649160 ESC PATRIA LATORRE RAMIREZ                  P O BOX 5379                                                                                                  SAN SEBASTIAN        PR           00685




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          ESC PEDRO FIDEL COLBERG
   649161 BALLET RENACER                              CALLE RIUS RIVERA                                                                                            CABO ROJO            PR           00623
          ESC PEDRO J RODRIGUEZ
   649163 OQUENDO                                     PO BOX 1925                                                                                                  CAROLINA             PR           00984‐1925
   649164 ESC PEDRO LOPEZ CANINO                      CARR 2 KM 26 6 BOX 728                                                                                       DORADO               PR           00646
          ESC PRE‐TECNICA JOSE GAUTIER
   649166 BENITEZ                                     P O BOX 7997                                                                                                 MAYAGUEZ             PR           00681‐7997

   649167 ESC PRISCO FUENTES ALLENDE                  URB PARQUE ENCUESTRE      13 CALLE GROVISH                                                                   CAROLINA             PR           00979
   649168 ESC RAFAEL CORDERO                          CALLE AURORA ESQ LLOARE   PDA 15                                                                             SAN JUAN             PR           00907
   649169 ESC RAFAEL HERNANDEZ                        BOX 930‐0481                                                                                                 SAN JUAN             PR           00925‐0481

   649170 ESC RAFAEL HERNANDEZ MARIN P O BOX 355                                                                                                                   VEGA ALTA            PR           00692

   649171 ESC RAFAEL MARTINEZ NADAL                   PO BOX 966                                                                                                   GUAYNABO             PR           00970966
   156126 ESC RAFAEL QUINONES VIDAL                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   649173 ESC RAMON E BETANCES                        PO BOX 15                                                                                                    QUEBRADILLAS         PR           00678
          ESC RAMON E RODRIGUEZ /                     551 ESTANCIA DEL RIO
   649174 FESTIVAL CORO                               PORTUGUES                                                                                                    HORMIGUEROS          PR           00660

   649175 ESC RAMON M TORRES ANEXO                    PO BOX 5443                                                                                                  SAN SEBASTIAN        PR           00685
   156127 ESC RAMON MARIN SOLA                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          ESC RAMON QUINONES
   156128 PACHECO                                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   649176 ESC RAMON RODRIGUEZ                         APARTADO 5225                                                                                                AGUADILLA            PR           00605‐5225
   649177 ESC RAMON TORRES RIVERA                     PO BOX 1772                                                                                                  MOROVIS              PR           00687
   649178 ESC RAMON VALLE SEDA                        PO BOX 812                                                                                                   MAYAGUEZ             PR           00681
   649179 ESC RAUL JULIA ARCELAY                      PO BOX 8150                                                                                                  BAYAMON              PR           00959
          ESC REG BILINGUE RAMIREZ DE
   156129 ARELLANO                                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   649180 ESC REPUBLICA DE MEJICO                     LA RIVIERA                S E ESQ 5 CALLE 50                                                                 SAN JUAN             PR           00921
   649181 ESC REXVILLE INTERMEDIA                     URB REVILLE               41 CALLE BAUZA                                                                     BAYAMON              PR           00961
          ESC RICARDO ARROYO
   649182 LARACUENTE                                  PO BOX 589                                                                                                   DORADO               PR           00646
   649183 ESC RODULFO DEL VALLE                       301 C AVE TITO CASTRO     459 DRAWER                                                                         PONCE                PR           00731
          ESC ROMAN BALDORIOTY DE
   649184 CASTRO                                      PO BOX 33‐6504                                                                                               PONCE                PR           00733‐6504

   649185 ESC ROSA M ROSARIO DEL LEON PMB 170 PO BOX 851                                                                                                           HUMACAO              PR           00792‐0851
   649186 ESC ROSA P PARIS            URB FAJARDO GARDENS                       CALLE TABONUCO                                                                     FAJARDO              PR           00738
   649187 ESC RUFINO HUERTAS          PO BOX 358                                                                                                                   COAMO                PR           00769

   648781 ESC S U ADELA ROLON FUENTES                 COL DE PLATA TOA ALTA     71 CAMINO LAS RIBERAS                                                              TOA ALTA             PR           00953
          ESC S U ALFREDO BOCACHICA
   649190 LEON                                        HC 01 BOX 3948                                                                                               VILLALBA             PR           00766‐9710

   649191 ESC S U ANA MARIA NEGRON INT P M B 044                                P O BOX 5005                                                                       YAUCO                PR           00698
          ESC S U ANTONIA SERRANO
   649192 GONZALEZ                     PO BOX 578                                                                                                                  JAYUYA               PR           00664
   649188 ESC S U ANTONIO RIVERA       BARRIO NUEVO                             RR 5 BOX 5829 SUITE 6                                                              BAYAMON              PR           00956‐5829
   649193 ESC S U BARTOLO              PO BOX 1368                                                                                                                 LARES                PR           00669
          ESC S U FELISA RINCON DE
   649194 GAUTIER                      PO BOX 8650                                                                                                                 MAYAGUEZ             PR           00681‐8650



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          ESC S U HIGINIO FIGUEROA
   649196 VILLEGAS                                    HC 1 BOX 7000                                                                                              MAUNABO             PR           00707
   649197 ESC S U HIGINIO VILLEGAS                    HC 01 BOX 7000                                                                                             MAUNABO             PR           00707
          ESC S U IGNACIO DICUPE
   649189 GONZALEZ                                    PO BOX 769                                                                                                 LARES               PR           00669

   649198 ESC S U JOSE CALZADA FERRER                 P O BOX 10000           SUITE 272                                                                          CANOVANAS           PR           00729‐0000
   649199 ESC S U JOSE TORO RIOS                      PO BOX 944                                                                                                 HUMACAO             PR           00741
   649200 ESC S U JOSEFINA LINARES                    P O BOX 1236                                                                                               LARES               PR           00669
   649201 ESC S U JOSEFINA SITIRICHE                  P O BOX 38                                                                                                 GURABO              PR           00778
          ESC S U MANUEL CANDANEDO
   649202 DE COAMO                                    PO BOX 3001 SUITE 132                                                                                      COAMO               PR           00769
          ESC S U MANUEL TORRES
   156130 VILLAFANE                                   REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESC S U MARIA T DELGADO DE
   649203 MARCANO                                     PO BOX 811                                                                                                 SAN LORENZO         PR           00754
   649204 ESC S U PEDRO FERNANDEZ                     HC 71 BOX 3788                                                                                             NARANJITO           PR           00719‐9718
          ESC S U RAMON ALEJANDOR
   649205 AYALA                                       PO BOX 328                                                                                                 COMERIO             PR           00782
   649206 ESC S U RIO JUEYES                          P O BOX 358                                                                                                COAMO               PR           00769
   649207 ESC S U SANTIAGO R PALMER                   P O BOX 569                                                                                                CAMUY               PR           00627
   649208 ESC S U SILVERIO GARCIA                     PO BOX 639                                                                                                 NAGUABO             PR           00718
          ESC SALVADOR BRAU
   649209 INTERMEDIA                                  BO CACAO                CARR 853 KM 5 9                                                                    CAROLINA            PR           00985
   649210 ESC SANTA MARIA VIRGEN                      PO BOX 1991                                                                                                PONCE               PR           00733
   649211 ESC SANTA ROSA                              BOX 235                                                                                                    CEIBA               PR           00735
          ESC SECUNDARIA GERARDO
   156131 SELLES SOLA INC                             URB SAN PEDRO STATE     E 14 CALLE SAN PEDRO                                                               CAGUAS              PR           00725
          ESC SEGUNDA UNIDAD
   649214 ARISTIDES MAISONAVE                         BOX 529                                                                                                    MOCA                PR           00676
          ESC SEGUNDA UNIDAD
   649215 BAYAMONCITO                                 PO BOX 503                                                                                                 AGUAS BUENAS        PR           00703

   649212 ESC SEGUNDA UNIDAD BOTIJA II                P O BOX 136                                                                                                OROCOVIS            PR           00720
          ESC SEGUNDA UNIDAD JULIAN
   649217 MARRERO COROZA                              PO BOX 1041                                                                                                COROZAL             PR           00783
          ESC SEGUNDA UNIDAD OSCAR
   649218 PORRATA DORIA                               PO BOX 1123                                                                                                COMERIO             PR           00782
   649219 ESC SEGUNDA UNIDAD PASTO                    PO BOX 1211                                                                                                AIBONITO            PR           00705

   649220 ESC SEGUNDA UNIDAD SALTOS                   PO BOX 1573                                                                                                OROCOVIS            PR           00720‐1573
   649221 ESC SEGUNDO RUIZ BELVIS                     PO BOX 1317                                                                                                HORMIGUEROS         PR           00660
   649222 ESC SILVESTRE MARTINEZ                      HC 73 BOX 5548                                                                                             NARANJITO           PR           00719
   649223 ESC SIMON MORET GALLART                     PO BOX 7856                                                                                                PONCE               PR           00732
          ESC SU ANGELITA DELGADO
   649224 SELLA                                       PO BOX 1358                                                                                                LARES               PR           00669‐1358

   649225 ESC SU GERARDO SELLES SOLA                  PO BOX 6400 SUITE 455                                                                                      CAYEY               PR           00737
   649226 ESC SU JUAN STUBBE                          PO BOX 660                                                                                                 CIDRA               PR           00739
   649227 ESC SU MACAHA                               PO BOX 560514                                                                                              GUAYANILLA          PR           00656
   649228 ESC SU MARTIN HERNANDEZ                     PO BOX 519                                                                                                 AGUADA              PR           00602

   649229 ESC SU PEDRO RIVERA MOLINA                  HC 01 BOX 6544                                                                                             JUNCOS              PR           00777‐9716



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          ESC SUP ALFONSO CASTA
   649230 MARTINEZ                                    PO BOX 38                                                                                                   MAUNABO               PR           00707

   649231 ESC SUP BETHSAIDA VELAZQUEZ                 PO BOX 7636                                                                                                 PONCE                 PR           00732‐7636
          ESC SUP DR SANTIAGO VEVE
   649232 CALZADA                                     PO BOX 1027                                                                                                 FAJARDO               PR           00738
          ESC SUP EMILIO SHARON‐SAN                   CLASE GRADUANDA/CARMEN
   649233 SEBASTIAN                                   LISOJO                   BOX 4691                                                                           SAN SEBASTIAN         PR           00685
          ESC SUP FRANCISCO OLLER‐
   156132 CATANO                                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   156133 ESC SUP JOSEFA VELEZ BAUZA                  REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   649234 ESC SUP JOSEFINA LEON ZAYAS                 URB LA MONSERRATE        8 CALLE RAMON OQUENDO                                                              JAYUYA                PR           00664
          ESC SUP LUIS MUNOZ MARIN
   156134 CLASE EXTS 98                               REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          ESC SUP MONSERRATE LEON DE
   649235 IRIZARRY                                    LAS ARENAS               CARR 101 KM 16 2 INT                                                               BOQUERON              PR           00622
          ESC SUP PATRIA LA TORRE‐SAN                 CLASE GRADUANDA/ELBA
   649236 SEBASTIAN                                   GUZMAN                   BOX 5379                                                                           SAN SEBASTIAN         PR           00685
          ESC SUP RAMON QUINONES
   156135 MEDINA                                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   649237 ESC SUP TRINA PADILLA DE SAMS P O BOX 142672                                                                                                            ARECIBO               PR           00612
          ESC SUP VOCACIONAL ANTONIO
   649238 LUCHETTI                      PO BOX 9000 SUITE 660                                                                                                     AGUADA                PR           00602
          ESC SUP VOCACIONAL MANUEL
   649240 MENDEZ LICIAGA                PO BOX 1277                                                                                                               SAN SEBASTIAN         PR           00685‐1277
          ESC SUPERIOR ARSENIO
   649242 MARTINEZ                      PO BOX 519                                                                                                                AGUADA                PR           00602
          ESC SUPERIOR EUGENIO M DE
   649243 HOSTOS                        BOX 130                                                                                                                   MAYAGUEZ              PR           00681
          ESC SUPERIOR FERNANDO
   649241 CALLEJO Y FERRER              PO BOX 3355                                                                                                               MANATI                PR           00674
          ESC SUPERIOR FRANCISCO
   649244 GAZTAMBIDE VEGA               RR 5 BOX 7943 APARTADO 1                                                                                                  BAYAMON               PR           00956‐9718
          ESC SUPERIOR GABRIELA
   649245 MISTRAL                       PO BOX 16                                                                                                                 SAINT JUST            PR           00978
          ESC SUPERIOR INES MARIA
   649246 MENDOZA                       PO BOX 610                                                                                                                CABO ROJO             PR           00623
          ESC SUPERIOR JUAN PONCE DE
   649247 LEON                          BO LA CEIBA                            CARR 631 KM 0.7                                                                    FLORIDA               PR           00650
          ESC SUPERIOR JUAN SUAREZ
   156136 PELEGRINA                     REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   649250 ESC SUPERIOR JUANA COLON      53 CALLE GEORGETTI                                                                                                        COMERIO               PR           00782
          ESC SUPERIOR LUIS MUNOZ
   156137 MARIN                         REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          ESC SUPERIOR PATRIA
   156138 LATORRE/SOLIER MARTI          REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   649251 ESC SUPERIOR PETRA MERCADO PO BOX 9141                                                                                                                  HUMACAO               PR           00792‐9141
   649252 ESC SUPERIOR URBANA        PO BOX 784                                                                                                                   PATILLAS              PR           00723
   649253 ESC THOMAS JEFERSON        P M B 456 BOX 144035                                                                                                         ARECIBO               PR           00614




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   649254 ESC TIMOTEO (TITO) DELGADO                  PO BOX 69001 SUITE 182                                                                                        HATILLO             PR           00659

   649255 ESC TOMAS CARRION MADURO                    AVE TITO CASTRO          609 SUITE 102 PMB 477                                                                PONCE               PR           00716‐2232
          ESC TOMAS MASO RIVERA ( INT
   156139 PINAS)                                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649256 ESC TORIBIO RIVERA                          PO BOX 1322                                                                                                   CIALES              PR           00638
   649257 ESC TRINA PADILLA DE SANS                   P O BOX 142672                                                                                                ARECIBO             PR           00614
   649258 ESC VEGA ALEGRE                             P O BOX 2330                                                                                                  RIO GRANDE          PR           000745
   649259 ESC VILLA HUMACAO                           PO BOX 487                                                                                                    HUMACAO             PR           00971
          ESC VOC DEL AREA SANTIAGO
   649260 RIVERA GARCIA                               MSC 241 BOX 5004                                                                                              YAUCO               PR           00698
          ESC VOC EDUARDO GARCIA
   649261 CARRILLO                                    P O BOX 10000 PMB 474                                                                                         CANOVANAS           PR           00729
          ESC VOC SUP DR ALBERT
   649262 EINSTEIN                                    PO BOX 14185                                                                                                  SAN JUAN            PR           00916
   649263 ESC WALTER MCK JONES                        MSC 012                  PO BOX 6004                                                                          VILLALBA            PR           00766
   649264 ESC WILLIAM D BOYCE                         LAS LOMAS                100 CALLE 20 S O                                                                     SAN JUAN            PR           00921
   649265 ESC WOODROW WILSON                          PO BOX 609                                                                                                    AGUIRRE             PR           00704
          Esc. Medicina Y Ciencias Salud
   156140 Ponce                                       PO BOX 7004                                                                                                   PONCE               PR           00732‐0000
   156145 ESCABI PAGAN MD, RAFAEL E                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESCALA CORCHADO &
   649266 ASOCIADOS                                   PO BOX 190196                                                                                                 SAN JUAN            PR           00919‐0196
   156175 ESCALANTE ORTIZ, MARITZA                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   156242 ESCALERA CRUZ, ZURISHADAI                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   156264 ESCALERA FELICIANO, HILDA R                 REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   156294 ESCALERA MASSO, WANDA                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESCALERA SANTIAGO,
  1419628 FRANCISCO A.                                LUIS CABRERA MEDINA      DEMANDANTE: PO BOX 6648                                                              CAGUAS              PR           00726‐6648
          ESCALONA COLMENERO MD,
   156418 JAIME                                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESCALONA MARRERO MD,
   156425 CARMEN R                                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   156432 ESCAMBRON BEACH CLUB                        PO BOX 9023774                                                                                                SAN JUAN            PR           00902‐3774
   156439 ESCANELLAS & JUAN PSC                       204 AVE DOMENECH                                                                                              SAN JUAN            PR           00918
          ESCARFULLERY RIVERA,
   156446 BARBARA                                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   156450 ESCENA LATINA INC                           PMB 278                  PO BOX 20000                                                                         CANOVANAS           PR           00729‐0042
  1256485 ESCENA LATINA INC.                          REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESCENARIOS & ROTULOS DE
   649267 PUERTO RICO INC                             URB VILLAMIL             22 CALLE CAPARRA                                                                     SAN JUAN            PR           00906
   156451 ESCENAS LATINAS INC                         PMB 278 PO BOX 20,000                                                                                         CANOVANAS           PR           00729
          ESCHENBACH OPTIK OF
   649268 AMERICAN INC                                904 ETHAN ALLEN HWY                                                                                           RIDGGFIELD          CT           06877
   649269 ESCHOLACTIC‐LECTORUM                        1527 PONCE DE LEON       SUITE 210                                                                            SAN JUAN            PR           00926

   156459 ESCO EQUIPMEN RENTAL CORP                   PO BOX 4040                                                                                                   CAROLINA            PR           00984‐4040
          ESCO EQUIPMENT RENTALS
   156460 CORP (INTACO)                               PO BOX 4040                                                                                                   CAROLINA            PR           00984‐4040
   156461 ESCO GROUP INC                              P O BOX 3269                                                                                                  CAROLINA            PR           00987
   649270 ESCO GULF SERVICE STATION                   PO BOX 2018                                                                                                   GUAYNABO            PR           00970‐2018



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  649272 ESCO MANUFACTURING INC                       PO BOX 2331                                                                                                   TOA BAJA            PR         00951
  156462 ESCO MFG INC                                 PO BOX 2331                                                                                                   TOA BAJA            PR         00951
  156537 ESCOBAR CRUZ, ELSIE                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  156599 ESCOBAR MD, FERNANDO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  156705 ESCOBAR, MARIA                               REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   156712 ESCOLAR KRAYOLA ,CENTRO PRE REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   156714 ESCOLARA TRANSPORT, LLC     PMB 496 PO BOX 4952                                                                                                           CAGUAS              PR         00726‐4952
   649273 ESCOLASTICA RIVERA RIVERA   LA PERLA                                    42 SAN MIGUEL                                                                     SAN JUAN            PR         00901
          ESCORIAL DEVELOPMENT /
   156716 MAPFRE PRAICO               PMB 33                                      400 CALLE CALAF                                                                   SAN JUAN            PR         00918
          ESCORIAL MRI & CT IMAGING   SUITE 170 ESCORIAL OFFICE
   156717 CENTER                      BUILDING ONE AVE SUR 1400                                                                                                     CAROLINA            PR         00937
          ESCRIBANO MALDONADO,
   156754 MARIA D                     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   156802 ESCROGGIN CEDANO, ESTERVINA REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649275 ESCRUTINIO LEGISLATIVO      P O BOX 9066550                                                                                                               SAN JUAN            PR         00906‐6550
   649278 ESCUDERO CONSTRUCTION       SANTA JUANITA                               WI‐16 AVE HOSTOS                                                                  BAYAMON             PR         00956
   649279 ESCUDERO QUICK LUBE INC     P O BOX 362857                                                                                                                SAN JUAN            PR         00936‐2857

   156828 ESCUDERO RIVERA MD, IRIS M                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ESCUELA ACREDITADA S U
   649292 AGAPITO                                     URB VERDE MAR               CALLE 6 BOX 911                                                                   PUNTA SANTIAGO      PR         00741
          ESCUELA ADALBERTO SANCHEZ
   649293 MORALES                                     PO BOX 449                                                                                                    ARROYO              PR         00714
          ESCUELA ADELA BRENES
   649294 TEXIDOR                                     BO PUENTE DE JOBOS          CARR 3 KM 143 8                                                                   GUAYAMA             PR         00784
          ESCUELA ADRIAN MARTINEZ
   649280 GANDIA                                      PO BOX 1717                                                                                                   HATILLO             PR         00659
          ESCUELA AGUSTIN FERNANDEZ
   649295 COLON                                       PO BOX 37 2040                                                                                                CAYEY               PR         00737
          ESCUELA AGUSTIN RODRIGUEZ                   VALLE ARRIBA HGTS STATION   OFIC SUPERINTENDENTE
   649296 HERNANDEZ                                   APT 4099                    CAROLIN I                                                                         CAROLINA            PR         00984
   156842 ESCUELA ALCIDES FIGUEROA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ESCUELA ALEJANDRO TAPIA Y
   649297 RIVERA                                      VILLA PALMERAS              369 CALLE BELLEVUE                                                                SAN JUAN            PR         00915
          ESCUELA ALFARERIA EL CEMI
   649298 INC.                                        PO BOX 352                  BO CUCHILLA                                                                       MOROVIS             PR         00687
   649299 ESCUELA ALMACIGO ALTO II                    HC 2 BOX 11623                                                                                                YAUCO               PR         00698
          ESCUELA ANA PAGAN DE
   649300 RODRIGUEZ                                   COMUNIDAD SAN ROMUALDO      CARR 309 KM 0 6                                                                   HORMIGUEROS         PR         00660

   649301 ESCUELA ANTONIO R BARCELO                   PO BOX 1636                                                                                                   CANOVANAS           PR         00729

   649302 ESCUELA ANTONIO S PEDREIRA                  PO BOX 1221                                                                                                   MOCA                PR         00676
          ESCUELA AURELIA QUINTERO
   649281 LABOY                                       PO BOX 2198                                                                                                   COAMO               PR         00769

          ESCUELA AVANZADA DE ADM
   156843 REC HUMANOS Y LEGISLACION                   452 AVE PONCE DE LEON                                                                                         HATO REY            PR         00918
          ESCUELA BELLAS ARTES DE
   649303 PONCE                                       20 CALLE LOLITA TIZOL                                                                                         PONCE               PR         00731



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   649304 ESCUELA BENJAMIN HARRISON                   249 CALLE JOSE DE DIEGO                                                                                      CAYEY               PR           00736
          ESCUELA BONIFACIO SANCHEZ
   156844 JIMENEZ                                     119 CALLE SAN JOSE                                                                                           AIBONITO            PR           00705
          ESCUELA CARMEN GOMEZ
   649305 TEJERA                                      PO BOX 9466                                                                                                  BAYAMON             PR           00960‐9466
          ESCUELA CARMEN SALAS
   649306 TORRADO                                     PO BOX 398                                                                                                   JAYUYA              PR           00664
          ESCUELA CARMEN SOLA DE
   649307 PEREIRA                                     PO BOX 10685                                                                                                 PONCE               PR           00732‐0685

   156845 ESCUELA CATOLICA DE LA SALLE P O BOX 61                                                                                                                  ANASCO              PR           00610
          ESCUELA COLEEN VAZQUEZ
   649308 URRUTIA                       PO BOX 916                                                                                                                 NARANJITO           PR           00719
          ESCUELA COMUNIDAD
   649309 DOMINGO APONTE COLLAZO        PO BOX 820                                                                                                                 LARES               PR           00669
          ESCUELA COMUNIDAD LUIS
   156846 MUNOZ IGLESIAS                REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649310 ESCUELA DANIEL VELEZ SOTO     PO BOX 387                                                                                                                 LARES               PR           00669
   156847 ESCUELA DE ARTES PLASTICAS    PO BOX 9021112                                                                                                             SAN JUAN            PR           00902‐1112
          ESCUELA DE ARTES PLASTICAS DE
   156848 PUERTO RICO                   PO BOX 9021112                                                                                                             SAN JUAN            PR           00902‐1112
          ESCUELA DE BALONCESTO ORO
   156849 BASKET INC                    PO BOX 1979                                                                                                                OROCOVIS            PR           00720
          ESCUELA DE BASEBALL
   649311 MAYAGUEZANA INC               BO PARIS                                207 CALLE MUCARO ROSA                                                              MAYAGUEZ            PR           00580
          ESCUELA DE BELLAS
   649312 ARTES/PEDRO A VARGAS          BO LOS LLANOS                           LL 21 CALLE 15                                                                     ARECIBO             PR           00612‐0524
          ESCUELA DE CAPACITACION
   649314 LEGAL INC                     PO BOX 2400                             SUITE 163                                                                          AIBONITO            PR           00705
          ESCUELA DE COM S U JUAN I
   649315 VEGA                          PO BOX 846                                                                                                                 SABANA GRANDE       PR           00637
   649316 ESCUELA DE COSTURA INC        2054 CALLE LOIZA                                                                                                           SANTURCE            PR           00911
                                        DERECHO ‐APDO. POSTAL 23349
   156851 ESCUELA DE DERECHO UPR        EST. UNIVERSIDAD                                                                                                           RIO PIEDRAS         PR           00931
          ESCUELA DE FUTBOL TAURINOS
   156779 DE CAYEY                      PO BOX 10000 SUITE 233                                                                                                     CAYEY               PR           00737
          ESCUELA DE LA COM LUIS MUNIZ
   156852 SOUFFRONT                     PO BOX 10517                                                                                                               SAN JUAN            PR           00921
          ESCUELA DE LA COM LUZ A CRUZ
   649317 DE SANTANA                    CUH STATION                             PO BOX 10033                                                                       HUMACAO             PR           020791
          ESCUELA DE LA COM PEDRO
   649318 BOSCH SALGAS                  PO BOX 3061                                                                                                                JUNCOS              PR           00777
          ESCUELA DE LA COM S U
   649319 FEDERICO DEGETAU              103 CARR BOQUERON                       KM 119 BOX 359                                                                     CABO ROJO           PR           00623
          ESCUELA DE LA COMUN ELEM
   156853 DANIEL WEBSTER                APARTADO 549                                                                                                               PENUELAS            PR           00624
          ESCUELA DE LA COMUNIDAD
   156854 ANGEL RAMOS                   URB COUNTRY CLUB                        1 CALLE SINSONTE                                                                   SAN JUAN            PR           00924
          ESCUELA DE LA COMUNIDAD
   156855 ANTONIO RIVERA                PO BOX 80110                                                                                                               COROZAL             PR           00783
          ESCUELA DE LA COMUNIDAD
   649320 CALZADA                       PO BOX 1079                                                                                                                MAUNABO             PR           00707



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          ESCUELA DE LA COMUNIDAD
   649321 EASTON                       PO BOX 2058                                                                                                            BARCELONETA         PR           00617
          ESCUELA DE LA COMUNIDAD EL
   156856 SENORIAL                     URB EL SENORIAL                           CALLE PIO VAROJAS ESQ FEIJO                                                  SAN JUAN            PR           00926
          ESCUELA DE LA COMUNIDAD
   649322 JAIME L DREW                 PO BOX 7286                                                                                                            PONCE               PR           00732‐7286
          ESCUELA DE LA COMUNIDAD
   649324 JOSE DE DIEGO                PO BOX 1311                                                                                                            TOA ALTA            PR           00954
          ESCUELA DE LA COMUNIDAD
   649325 MALEZAS                      PO BOX 3050                                                                                                            MAYAGUEZ            PR           00681
          ESCUELA DE LA COMUNIDAD
   649326 MYRNA M FUENTES              PO BOX 4952                                                                                                            CAGUAS              PR           00725‐4952
          ESCUELA DE LA COMUNIDAD
   649327 PATRIA PEREZ                 P O BOX 5294                                                                                                           YAUCO               PR           00698
          ESCUELA DE LA COMUNIDAD
   649328 VOCACIONAL                   PO BOX 999                                                                                                             MANATI              PR           00674
          ESCUELA DE LAICOS SINODO DEL
   649329 CARIBE                       PMB 359 425 CARR 693 SUITE 1                                                                                           DORADO              PR           00646‐4802
          ESCUELA DE MEDICINA DENTAL
   156857 UNIVERSIDAD DE PR            PO BOX 365067                                                                                                          SAN JUAN            PR           00936
          ESCUELA DE MEDICINA SAN
   156858 JUAN BAUTISTA                AREA DE TESORO                            DIVISION DE CONCILIACION                                                     SAN JUAN            PR           00902‐4140
          ESCUELA DE NUEVO ENFOQUE
   649330 RENE MARQUEZ                 PO BOX 4099                                                                                                            CAROLINA            PR           00984

   156860 ESCUELA DE OPTOMETRIA                       UNIVERSIDAD INTERAMERICANA 500 AVE JOHN WILL HARRY                                                      BAYAMON             PR           00956‐3255
          ESCUELA DE TROQUELERIA Y
   156861 HERRAMENTAJE                                150 CARR #174              URB INDUSTRIAL MINILAS                                                       BAYAMON             PR           00959

   649282 ESCUELA DR AGUSTIN STAHL    P O BOX 1807 VICTORIA STATION                                                                                           AGUADILLA           PR           00605‐1807
          ESCUELA DR CLEMENTE
   649332 FERNANDEZ                   PUEBLO STATION                P O BOX 7460                                                                              CAROLINA            PR           00986
          ESCUELA DR HERIBERTO
   649333 DOMENECH                    PO BOX 540                                                                                                              ISABELA             PR           00662
          ESCUELA DR RAMON E
   156862 BETANCES                    URB LA PROVIEDENCIA           2229 CALLE SUCRE                                                                          PONCE               PR           00728
   649334 ESCUELA DR VICTOR RINCON    PO BOX 487                                                                                                              HUMACAO             PR           00791
          ESCUELA DRA ANTONIA
   649335 SAEZ/EDNA ENID SILVA        URB COUNTRY CLUB              2DA EXT CALLE AMALIO ROLDAN                                                               SAN JUAN            PR           00926
          ESCUELA ELEM URBANA DE
   649336 MOROVIS                     PO BOX 1671                                                                                                             MOROVIS             PR           00687
   649337 ESCUELA ELEMENTAL CEIBA     PO BOX 660                                                                                                              CIDRA               PR           00739
          ESCUELA ELEMENTAL DE VILLA
   156863 CAPRI                       URB VILLA CAPRI               1139 CALLE TOSCANIA                                                                       SAN JUAN            PR           00924
          ESCUELA ELEMENTAL JOHN F
   649338 KENNEDY                     PO BOX 1090                                                                                                             SANTA ISABEL        PR           00757
          ESCUELA ELEMENTAL PEPITA
   649339 ARENA                       PO BOX 4961 SUITE 140                                                                                                   CAGUAS              PR           00726
          ESCUELA ELEMENTAL RUFINO
   649340 VIGO                        MSC 240 VILLA UNIVERSITARIA BA 3 CALLE 26                                                                               HUMACAO             PR           00791‐4349
          ESCUELA ELEMENTAL STEPHEN S
   649341 HUSE                        HC 2 BOX 6112                                                                                                           BARRANQUITAS        PR           00794




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          ESCUELA ELEMENTAL URBANA
   649342 NUEVA                                       P O BOX 358                                                                                                          COAMO               PR           00769‐0358
   649343 ESCUELA EPIFANIO ESTRADA                    P O BOX 545                                                                                                          ISABELA             PR           00662
   156864 ESCUELA ESPECIAL NILMAR                     PO BOX 4878                                                                                                          SAN JUAN            PR           00905
          ESCUELA ESPECIALIZADA
   156865 AGROECOLOGICA                               LAURA MERCADO                PO BOX 588                                                                              SAN GERMAN          PR           00636
          ESCUELA EUGENIO MARIA DE
   156866 HOSTOS                                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   649345 ESCUELA FEDERICO DEGETAU I                  PO BOX 2126                                                                                                          AIBONITO            PR           00705

   649346 ESCUELA FEDERICO FROEBEL INC PO BOX 250641                                                                                                                       AGUADILLA           PR           00604

   156868 ESCUELA FEDERICO FUTBOL INC                 PO BOX 250641                                                                                                        AGUADILLA           PR           00604

   649347 ESCUELA FELIPE GUTIERREZ                    CALLE ARISTIDES CHAVIER      ESQ ANA OTERO VILLA PRADES                                                              SAN JUAN            PR           00924
          ESCUELA FELIPE RIVERA
   649348 CENTENO                                     PO BOX 578                                                                                                           CAGUAS              PR           00726
   649349 ESCUELA FELIX LUCAS BENET                   P O BOX 373362                                                                                                       CAYEY               PR           00736
   649283 ESCUELA FIDEL LOPEZ COLON                   P O BOX 623                                                                                                          COROZAL             PR           00783
   649350 ESCUELA FLORENCIA GARCIA                    P O BOX 1221                                                                                                         LAS PIEDRAS         PR           00771
          ESCUELA FRANCISCO FRIAS /
   649351 PROY CONEXION                               PO BOX 380                                                                                                           FLORIDA             PR           00650
          ESCUELA FRANCISCO MENDOZA
   649352 DE ISABELA                                  P O BOX 1776                                                                                                         ISABELA             PR           00662
          ESCUELA FRANCISCO ROQUE
   156869 MUNOZ                                       PO BOX 790                                                                                                           NARANJITO           PR           00719
   649353 ESCUELA GONZALEZ BELLO                      PO BOX 1759                                                                                                          LARES               PR           00669
          ESCUELA HERACLIO RIVERA
   649354 COLON                                       BO QUEBRADA CRUZ             PARCELAS CARR 165.K 5 3                                                                 TOA ALTA            PR           00954
   649284 ESCUELA HERMINIA GARCIA                     URB GLENVIEW GARDENS         E9 CALLE FINAL                                                                          PONCE               PR           00730
          ESCUELA HORACE MANN
   649285 TOWNER                                      BUZON HC 4 BOX 826                                                                                                   COMERIO             PR           00782
   156870 Escuela Hotelera de San Juan                229 Calle Guayama San Juan                                                                                           San Juan            PR           00917
          ESCUELA HOTELERA DE SAN
   156873 JUAN INC                                    229 CALLE GUAYAMA                                                                                                    SAN JUAN            PR           00917
          ESCUELA INFANTIL
   649356 JARDINLANDIA INC                            URB JARDINES DEL CARIBE      PP 8 C/ 40                                                                              PONCE               PR           00728

   649357 ESCUELA INT ERNESTO RAMOS                   PO BOX 14134                                                                                                         SAN JUAN            PR           00916‐4134
          ESCUELA INT JUAN RAMON
   156874 JIMENEZ                                     PO BOX 29856                                                                                                         SAN JUAN            PR           00929‐0556
          ESCUELA INTERMEDIA JUAN
   649358 SERRALLES                                   PO BOX 1073                                                                                                          COTO LAUREL         PR           00780‐2114
          ESCUELA INTERMEDIA SABANA
   649359 LLANA                                       ESQ DE DIEGO                 CALLE JUAN PENA REYES                                                                   SAN JUAN            PR           00924
   156875 ESCUELA ISABEL SUAREZ                       PO BOX 1874                                                                                                          ANASCO              PR           00610
   649360 ESCUELA JESUS SILVA                         P O BOX 1251                                                                                                         TRUJILLO ALTO       PR           00978

   649361 ESCUELA JOAQUIN R PARRILLA                  PO BOX 607                                                                                                           PATILLAS            PR           00723

   649362 ESCUELA JOSE CELSO BARBOSA                  PO BOX 9100                                                                                                          SAN JUAN            PR           00908‐0163
   649363 ESCUELA JOSE FELIPE ZAYAS                   PO BOX 3001 SUITE 183                                                                                                COAMO               PR           00769



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   649364 ESCUELA JOSE JULIAN ACOSTA                  PO BOX 9023487                                                                                            SAN JUAN            PR           00923
          ESCUELA JOSE MARIA RIVERA
   649286 SOLIS                                       138 AVE WINSTON CHURCHILL   MCS 445                                                                       SAN JUAN            PR           00926
                                                      RAMAR CARRETERA 165 SAN
   649365 ESCUELA JOSE NEVAREZ LOPEZ                  JOSE                                                                                                      TOA BAJA            PR           00949
   649367 ESCUELA JOSE R GAZTAMBIDE                   P O BOX 1033                CALLE SAN ISIDRO FINAL                                                        SABANA GRANDE       PR           00637
   649287 ESCUELA JOSE S ALEGRIA                      PO BOX 72 B                                                                                               DORADO              PR           00646
          ESCUELA JOSE SEVERO                                                     CALLE ULISES ORTIZ Y JOSE DE
   156876 QUINONES                                    URB JOSE SEVERO QUINONES    DIEGO                                                                         CAROLINA            PR           00985
   649368 ESCUELA JUAN B HUYKE                        PO BOX 12                                                                                                 YABUCOA             PR           00767
   156877 ESCUELA JUAN I VEGA                         PO BOX 9100                                                                                               SAN JUAN            PR           00908‐0163

   649370 ESCUELA JUAN MOREL CAMPOS PMB 235 P O BOX 607071                                                                                                      BAYAMON             PR           00960‐7071

   156878 ESCUELA JUAN PONCE DE LEON                  PO BOX 9252                                                                                               HUMACAO             PR           00792
          ESCUELA JUANA A MENDEZ
   649288 MELENDEZ                                    P O BOX 7709                                                                                              CAROLINA            PR           00986‐7709

   156879 ESCUELA JULIO MILLAN CEPEDA                 COMUNIDAD LA DOLORES        CALLE CHILE                                                                   RIO GRANDE          PR           00745
   649371 ESCUELA JULIO SEIJO                         HC 5 BOX 93680                                                                                            ARECIBO             PR           00912‐9612
   649372 ESCUELA LA FERMINA                          P O BOX 728                                                                                               LAS PIEDRAS         PR           00771‐0728
          ESCUELA LABORATORIO CARDI
   649373 BELL                                        PO BOX 362073               608 CALLE ALDEBARAN                                                           SAN JUAN            PR           00936‐2073
          ESCUELA LIBERATA IRALDO
   649374 MOLINA                                      PO BOX 40002 SUITE 491                                                                                    RIO GRANDE          PR           00745
          ESCUELA LIBRE DE MUSICA DE
   649375 HUMACAO                                     PO BOX 487                                                                                                HUMACAO             PR           00792
   156881 ESCUELA LOS CANOS                           651 BO TANAMA               CARR 10 RAMAL INT                                                             ARECIBO             PR           00612
   649376 ESCUELA LUCIANO RIOS                        PO BOX 487                                                                                                HUMACAO             PR           00791‐0487
   649377 ESCUELA LUIS FELIPE PEREZ                   PO BOX 140538                                                                                             ARECIBO             PR           00614

   649378 ESCUELA LUIS LLORENS TORRES                 PMB 1685900                 L 2 AVE ISLA VERDE                                                            CAROLINA            PR           00979‐4901
   156883 ESCUELA LUIS MUNOZ MARIN                    BO PINAS SECTOR LA MORA     BOX 1123                                                                      COMERIO             PR           00782
   156885 ESCUELA LUIS MUNOZ RIVERA                   124 CALLE DR CUETO                                                                                        UTUADO              PR           00641

   156887 ESCUELA LUIS MUNOZ RIVERA II                G 6 VILLA ESPERANZA                                                                                       PONCE               PR           00731
   649380 ESCUELA LUIS SANTAELLA                      PO BOX 407                                                                                                AGUAS BUENAS        PR           00703
          ESCUELA MANUEL CORCHADO Y
   649381 JUARBE                                      PO BOX 855                                                                                                ISABELA             PR           00662‐0855
          ESCUELA MANUEL MEDIAVILLA
   649382 NEGRON                                      P O BOX 8930 MSC 532                                                                                      HUMACAO             PR           00792‐8930
          ESCUELA MANUEL RAMOS
   649383 HERNANDEZ                                   P O BOX 561                                                                                               QUEBRADILLAS        PR           00678‐0561

   649384 ESCUELA MARIA CRUZ BUITRAGO PMB 646                                     PO BOX 1283                                                                   SAN LORENZO         PR           00754‐1283
          ESCUELA MARIA MONTANEZ
   156888 GOMEZ                       PO BOX 5475                                                                                                               CAGUAS              PR           00726‐5475
          ESCUELA MARIANA BRACETTI DE
   649385 MARICAO                     15 CALLE JOSE DE DIEGO                                                                                                    MARICAO             PR           00606
          ESCUELA MARTIN G
   649386 BRUMBAUGH                   401 CALLE BRUMBAUGH                                                                                                       SAN JUAN            PR           00901




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   156889 ESCUELA MERCEDES MORALES                    AVE. ESMERALDA 53          PMB 195                                                              GUAYNABO            PR           00969‐4429
          ESCUELA MONSERRATE
   649387 MORENO                                      174 AVE ESTEVEZ                                                                                 UTUADO              PR           00641
          ESCUELA NACIONAL DE
   156890 COOPERATIVISMO                              PMS 171                    PO BOX 191007                                                        SAN JUAN            PR           00919
          ESCUELA NINOS UNIENDO AL
   156892 MUNDO INC                                   PO BOX 871                                                                                      CAGUAS              PR           00726‐0871
          ESCUELA PARCELAS AGUAS
   649388 CLARAS                                      PO BOX 235                                                                                      CEIBA               PR           00735
          ESCUELA PEDRO MARIA
   649389 DOMINICCI                                   P O BOX 626                                                                                     CIDRA               PR           00739

   649390 ESCUELA PEDRO MILLAN RIVERA PMB 1111 P O BOX 4956                                                                                           CAGUAS              PR           00726‐4956

   649391 ESCUELA PERITOS ELECTRICISTA                PO BOX 457                                                                                      ISABELA             PR           00662
          ESCUELA PURIFICACION
   649289 RODRIGUEZ TORRES                            P O BOX 3001 SUITE 184                                                                          COAMO               PR           00769
          ESCUELA RAFAEL COLON
   649392 SALGADO                                     PO BOX 1244                                                                                     BAYAMON             PR           00960‐1244
   649393 ESCUELA RAFAEL MARTINEZ                     6 CALLE ECHEGARAY                                                                               LARES               PR           00669
          ESCUELA RAFAEL MARTINEZ
   649394 NADAL                                       PO BOX 5004                                                                                     YAUCO               PR           00698

   649395 ESCUELA RAMON JOSE DAVILA                   PO BOX 10                                                                                       COAMO               PR           00769
          ESCUELA RAMON T RIVERA /
   649396 LAJITAS                                     PO BOX 40                                                                                       BARRANQUITAS        PR           00794
          ESCUELA REPUBLICA DE
   649397 COLOMBIA                                    URB SAN AGUSTIN            CALLE MAXIMO LOMAR                                                   SAN JUAN            PR           00924
          ESCUELA ROMAN BALDORIOTY
   649398 DE CASTRO                                   BO PIEDRA GORDA CARR 119                                                                        CAMUY               PR           00627
          ESCUELA ROSA SANCHEZ
   649400 VARGAS                                      PO BOX 357                                                                                      YABUCOA             PR           00767
          ESCUELA ROSENDO MATIENZO
   649401 CINTRON                                     PO BOX 9100                                                                                     SAN JUAN            PR           00908‐0163
   649402 ESCUELA RVDO FELIX CASTRO                   VALLE ARRIBA HGTS          PO BOX 3629                                                          CAROLINA            PR           00984

   649403 ESCUELA S U AQUILINO CABAN                  PO BOX 9000 SUITE 673                                                                           AGUADA              PR           00602
          ESCUELA S U BERNARDO
   649404 MELENDEZ                                    PO BOX 16766                                                                                    SAN SEBASTIAN       PR           00685
   649405 ESCUELA S U CERTENEJAS                      PO BOX 1778                                                                                     CIDRA               PR           00739
          ESCUELA S U FRANCISCO
   649406 SERRENO                                     PO BOX 1431                                                                                     CIALES              PR           00638
          ESCUELA S U RAFAEL
   649407 HERNANDEZ                                   PO BOX 1899                                                                                     GUAYNABO            PR           00970
   649408 ESCUELA S U RAFAEL REXACH                   P O BOX 472                PALMER                                                               RIO GRANDE          PR           00721
   156893 ESCUELA SAN AGUSTIN                         URB SAN AGUSTIN            CALLE 6                                                              SAN JUAN            PR           00929
   649409 ESCUELA SAN VICENTE                         URB SAN VICENTE            82 CALLE 10                                                          VEGA BAJA           PR           00693
   649410 ESCUELA SANTA CLARA                         PO BOX 843                                                                                      CIDRA               PR           00739
          ESCUELA SANTO DOMINGO
   156894 SAVIO                                       P O BOX 14125                                                                                   SAN JUAN            PR           00916
          ESCUELA SEBASTIAN PABON
   156895 ALVES                                       PARC COROZO                CARR 301 KM 9                                                        CABO ROJO           PR           00623



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          ESCUELA SEGUNDA UNIDAD
   649411 BOTIJAS 1                                   PO BOX 2115                                                                                   OROCOVIS             PR           00720
          ESCUELA SEGUNDA UNIDAD
   649412 HELECHAL                                    TOMAS BERRIOS BERDECIA   P O BOX 69                                                           BARRANQUITAS         PR           00794
          ESCUELA SEGUNDARIA DE COM
   156896 AMALIA MARIN                                URB PARADISE HILLS       1648 CALLE PENASCO                                                   SAN JUAN             PR           00926

   649413 ESCUELA SEGUNDO RUIZ BELVIS PO BOX 34268                                                                                                  PONCE                PR           00734‐4268
   649414 ESCUELA SOFIA REXACH         PO BOX 14124                                                                                                 SAN JUAN             PR           00916‐4124
   649415 ESCUELA SUCESION TORRES      P O BOX 1269                                                                                                 AIBONITO             PR           00705
          ESCUELA SUP DER MANUEL DE
   649416 LA PILA‐                     IGLESIAS DR PILA                        BOX 238 ESTACION 6                                                   PONCE                PR           00732
          ESCUELA SUPERIOR BLANCA
   649291 MALARET                      HC 09 BOX 4219                                                                                               SABANA GRANDE        PR           00637
          ESCUELA SUPERIOR BLANCA
   649417 MALARET                      PO BOX 9100                                                                                                  SAN JUAN             PR           00908‐0163
          ESCUELA SUPERIOR CATOLICA DE
   649418 BAYAMON                      BAYAMON GARDENS                         P O BOX 4225                                                         BAYAMON              PR           00958
          ESCUELA SUPERIOR FRANCISCO
   649419 MORALES                      PO BOX 25                                                                                                    NARANJITO            PR           00719
          ESCUELA SUPERIOR MADAME
   649420 LUCHETTI                     70 CALLE CONDADO                                                                                             SAN JUAN             PR           00907
          ESCUELA SUPERIOR MEDARDO
   649421 CARAZO                       RR 2 BOX 20 A                                                                                                SAN JUAN             PR           00926‐9701
          ESCUELA SUPERIOR SANTIAGO R
   649422 PALMER                       PO BOX 158                                                                                                   CAMUY                PR           00627
   649423 ESCUELA SUPERIOR URBANA      P O BOX 33                                                                                                   PATILLAS             PR           00723
          ESCUELA SUPERIOR VOCACIONAL
   156897 DE CIDRA                     CARR 171 KM 0 7 BO SUD                                                                                       CIDRA                PR           00739
          ESCUELA SUPERIOR VOCACIONAL
   649424 DE FAJARDO                   PO BOX 1007                                                                                                  FAJARDO              PR           00738
   649425 ESCUELA SUSANA RIVERA        PO BOX 3001 SUITE 263                                                                                        COAMO                PR           00769
          ESCUELA TECNICA DE
   156898 ELECTRICIDAD INC             RECINTO SAN JUAN                        65 INT STATION       PO BOX 29743                                    SAN JUAN             PR           00929

   156899 Escuela Técnica de Electrididad Calle Villa #190                                                                                          Ponce                PR           00730
          ESCUELA TECNICA VOCACIONAL
   649426 INC                             767 AVE CAMPO RICO                                                                                        SAN JUAN             PR           00924
          ESCUELA TEODORO AGUILAR
   649427 MORA                            PO BOX 1990                                                                                               YABUCOA              PR           00767

   156900 ESCUELA TRINA PADILLA DE SANZ 950 AVE JESUS T PINERO                                                                                      SAN JUAN             PR           00921
   649428 ESCUELA VAZQUEZ PUEYO         PO BOX 9100                                                                                                 SAN JUAN             PR           00908‐0163
          ESCUELA VOCACIONAL
   156901 AGRICOLA SOLLER               P O BOX 840                                                                                                 CAMUY                PR           00627
          ESCUELA VOCACIONAL
   649429 RODRIGUEZ                     P O BOX 1346                                                                                                VEGA BAJA            PR           00694 1346
          ESCUELA WILLIAM RIVERA
   649430 PONCE                         BAYAMON STATION                        P O BOX 8663                                                         BAYAMON              PR           00960

          ESCUELA Y COMUNIDAD OPTIMA ESCUELA COMUNIDAD OPTIMA Y
   156902 Y                          SUSTENTABLE DEL PUEBLO, INC. PO BOX 837                                                                        MARICAO              PR           00606




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          ESCUELAS DE ARTES PLASTICAS
   649433 DE PR                                       PO BOX 1112                                                                                                        SAN JUAN            PR           00902
                                                                                    CALLE NOBLEZA ESQUINA
   649434 ESCUELAS LAS VIRTUDES                       URB LAS VIRTUDES              CONFIANZA                                                                            SAN JUAN            PR           00921
          ESCUELAS PAJAROS
   649435 AMERICANOS                                  CALL BOX 60‐7082                                                                                                   BAYAMON             PR           00960
   156904 ESCULTURAS TORRUELLAS                       COND. TENERIFE APT 1201       1507 AVE ASHFORD                                                                     SAN JUAN            PR           00911
          ESCUTISMO SECTOR SABANA/
   649436 JULIO GARCIA                                PO BOX 3109                                                                                                        GUAYNABO            PR           00963
   156911 ESDRAS M ORTIZ CRUZ                         BO PLAYA                      93 CALLE CALAMAR                                                                     PONCE               PR           00717
   649437 ESDRAS MACHINE SHOP                         HC 01 BOX 3304                                                                                                     JAYUYA              PR           00664
   156912 ESDRAS SANTIAGO MERCED                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649438 ESEBIO QUIJANO Y ASSOC                      P O BOX 611                                                                                                        ARECIBO             PR           00613
   156917 ESEMSE INC                                  PO BOX 1731                                                                                                        CABO ROJO           PR           00623
   156918 ESENCIAS                                    19 CALLE FLOR GERENA STE B                                                                                         HUMACAO             PR           00791
   649439 ESEQUIEL FONTANEZ LOPEZ                     VILLA 2000                    404 CALLE ESPERANZA                                                                  DORADO              PR           00646
   649440 ESEQUIER GUIBAS VAZQUEZ                     CAPETILLO                     1019 CALLE 7                                                                         SAN JUAN            PR           00925
          ESG CONSULTING UC/ESSENTIAL
   156919 SERV FOR                                    GOVERMENT LLC                                                                                                      SAN JUAN            PR           00907
   649441 ESG INC                                     PMB 191                       PO BOX 70171                                                                         SAN JUAN            PR           00936‐8171
   649442 ESHA RESEARCH                               PO BOX 13028                                                                                                       SALEM               OR           97309‐1028
   649443 ESHTAR VEGA GERENA                          URB MEDINA                    B 16 CALLE 3                                                                         ISABELA             PR           00662
   156920 ESI ACQUISITION INC                         823 BROAD STREET                                                                                                   AUGUSTA             GA           30901
          ESI ACQUISITION, INC / DBA
   156921 INTERMEDIX                                  6451 N. FEDERAL HWY           SUITE 1000                                                                           FT. LAUDERDALE      FL           33308
   649444 ESI SERVICES LLC                            3200 COMMONWEALTH BLVD        TALLAHASSEE                                                                          FLORIDA             FL           32303
   649445 ESIS MEDICAL INC                            URB VILLA DEL CARMEN          2732 CALLE VILLA TOLEDO                                                              PONCE               PR           00716‐2235
          ESJ RESORT LLC‐EL SAN JUAN
   156922 HOTEL                                       6063 AVENIDA ISLA VERDE                                                                                            CAROLINA            PR           00979

   156923 ESJ TOWERS INC                              6165 AVE ISLA VERDE SUITE 2200                                                                                     CAROLINA            PR           00979‐5729
                                                      2000, CARR. 8177, SUITE 26PMB
   156924 ESLI                                        #500                                                                                                               GUAYNABO            PR           00966
   649446 ESMACO PRINTERS CORP                        PO BOX 195275                                                                                                      SAN JUAN            PR           00919‐5275
   649447 ESMED INC                                   URB CIUDAD UNIVERSITARIA       D 17 AVE AA                                                                         TRUJILLO ALTO       PR           00976
   649448 ESMERALD TOURS                              AMD FOMENTO COMERCIAL          PO BOX 9024275                                                                      SAN JUAN            PR           00902‐4275

   649451 ESMERALDA ACEVEDO VARGAS                    HC 58 BOX 15076                                                                                                    AGUADA              PR           00602
   156926 ESMERALDA ARROYO CRESPO                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   156927 ESMERALDA BATISTA PEREZ                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649452 ESMERALDA BBQ                               67 AVE ESMERALDA                                                                                                   GUAYNABO            PR           00969
   649453 ESMERALDA BURGOS PEREZ                      RES PADRE RIVERA              EDIF 4 APT 18                                                                        HUMACAO             PR           00971
          ESMERALDA CONCEPCION
   649455 MATIAS                                      PO BOX 2954                                                                                                        BAYAMON             PR           00960
   156928 ESMERALDA CORREA QUILES                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649456 ESMERALDA CORTIJO                           MARTIN TRAVIESO               1555 APT 1201                                                                        SAN JUAN            PR           00911
   156929 ESMERALDA COTTO SANCHEZ                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   156930 ESMERALDA DE JESUS CRUZ                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   649457 ESMERALDA DELGADO RIVERA                    13 ENSANCHE CRUZ ROJA                                                                                              JAYUYA              PR           00767
          ESMERALDA EXPRESS DRY                       URB. P. LEON #13, AVE.
   156931 CLEANING                                    ESMERALDA                                                                                                          GUAYNABO            PR           00969




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          ESMERALDA EXPRESS DRY
   156932 CLEANING SASTRERIA                          URB PONCE DE LEON      13 AVE ESMERALDA                                                                    GUAYNABO            PR           00969
          ESMERALDA I GUADALUPE
   649450 TORRES                                      PMB 173 BOX 30000                                                                                          CANOVANAS           PR           00729

   649459 ESMERALDA LOPEZ MARTINEZ                    PO BOX 371411                                                                                              CAYEY               PR           00739‐1411
   649460 ESMERALDA LUNA                              COM AQUILINO           SOLAR 269                                                                           SALINAS             PR           00765
   649461 ESMERALDA MEDINA APONTE                     HC 3 BOX 8523                                                                                              JUNCOS              PR           00777
          ESMERALDA MELENDEZ
   649462 MELENDEZ                                    HC 02 BOX 5512                                                                                             MOROVIS             PR           00687
   156933 ESMERALDA MIRANDA LAMA                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   649464 ESMERALDA MORALES COLON                     RR 10 BOX 10173                                                                                            SAN JUAN            PR           00926
   649466 ESMERALDA NIEVES ROSARIO                    HC 30 BOX 33168                                                                                            SAN LORENZO         PR           00754‐9781
   649467 ESMERALDA PAGAN CARRION                     2261 CALLEJON LEBRON                                                                                       SAN JUAN            PR           00915

   649469 ESMERALDA PEREZ MAISONET                    VILLA PRADES           807 CALLE JOSE QUINTON                                                              SAN JUAN            PR           00924
   649470 ESMERALDA PEREZ VELEZ                       HC 2 BOX 7952                                                                                              CAMUY               PR           00627
          ESMERALDA PEREZ/ RAYMOND
   156935 HERNANDEZ                                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   156936 ESMERALDA QUINONES ROMAN REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   156937 ESMERALDA RIOS ACEVEDO   REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649471 ESMERALDA RIVERA CRUZ    BOX 2855                                                                                                                      GUAYNABO            PR           00971

   649472 ESMERALDA RIVERA GONZALEZ                   BO LEGUILLOW           BZN 1557                                                                            VIEQUES             PR           00765
          ESMERALDA RODRIGUEZ
   156938 GONZALEZ                                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   649473 ESMERALDA RODRIGUEZ ROBLES URB VILLA COSTESSA                      R 18 CALLE GLOUCESTER                                                               BAYAMON             PR           00956

   649474 ESMERALDA RODRIGUEZ TORRES 99 CALLE JOBOS FINAL                                                                                                        PONCE               PR           00780‐2107

   649475 ESMERALDA ROMAN CANALES                     PO BOX 7053                                                                                                CAGUAS              PR           00726
   649476 ESMERALDA ROSADO DAVILA                     P O BOX 362                                                                                                SAN LORENZO         PR           00754

   156939 ESMERALDA ROSADO ROSARIO                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   156940 ESMERALDA ROSARIO GARCIA                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649477 ESMERALDA SANTOS                            VALLE ARRIBA HEIGHT    DD 9 CALLE 213                                                                      CAROLINA            PR           00983

   649478 ESMERALDA SANTOS MELENDEZ 2DA SEC LEVITTOWN                        2252 PASEO AMAPOLA                                                                  TOA BAJA            PR           00949
  1256486 ESMERALDA SEDA SEPULVEDA  REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   649479 ESMERALDA SUAREZ MARTINEZ                   HC 3 BOX 6046                                                                                              HUMACAO             PR           00731

   156942 ESMERALDA VAZQUEZ ACEVEDO REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649482 ESMERALDA VILLAS QUIROS   HC 07 BOX 2342                                                                                                               PONCE               PR           00731‐9604
          ESMERALDA ZURRUTIA
   649483 MARQUEZ                   LAS COLINAS E 14 CALLE 3                                                                                                     TOA BAJA            PR           00949
   156943 ESMERALDO BAUZO PINTO     REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   156944 ESMERALDO NIEVES TORRES   REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   649484 ESMERALDO RAMOS ACEVEDO                     PO BOX 1014                                                                                                LARES               PR           00669



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  649485 ESMERALDO RIOS PEREZ             HC 6 BOX 520                                                                                                                      PONCE             PR         00730
  649486 ESMERALDO TORRES SANTOS          BDA LAS MONJAS                             102 CALLE PEPE DIAZ                                                                    SAN JUAN          PR         00917
  649487 ESMERALDO VELEZ VARGAS           PO BOX 142                                                                                                                        SAN GERMAN        PR         00683
  156945 ESMIRNA NEGRO IRLANDA            REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         Esmirna Puerta al Paraiso Eterno 2653 CARR. 459 K 8.1 SAN
  156946 Corp.                            ANTONIO                                                                                                                           AGUADILLA         PR         00690‐0000
         ESMIRNAPUERT AL PARAISO          BZN.2653 CARR.459 K8.1 SAN
  156947 ETERNO CORP                      ANTONIO                                                                                                                           AGUADILLA         PR         00690
  156948 ESMO CORP                        PO BOX 25297                                                                                                                      SAN JUAN          PR         00928
  649489 ESMO CORPORATION                 PO BOX 25297                                                                                                                      SAN JUAN          PR         00928‐5297

   156969 ESMURRIAS HERNANDEZ, IRAIDA REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   649490 ESOEC INC                   RR 1 BOX 6473                                                                                                                         GUAYAMA           PR         00784
   156973 ESOTERIX INC                22 BLOOMINGDALE DRIVE                                                                                                                 SCARSDALE         NY         10583
   156974 ESOV S VELAZQUEZ SUAREZ     REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   156955 ESOV SIUL VELAZQUEZ SUAREZ                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   649491 ESP AUTO ELECTRONICS                         PO BOX 9066244                                                                                                       SAN JUAN          PR         00906‐6244
   649492 ESPADA AUTO SALES INC                        PO BOX 5924                                                                                                          CAGUAS            PR         00726‐5924
   156988 ESPADA BERRIOS, LUIS R.                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   157136 ESPADA RODRIGUEZ, ALEXAIDA                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                       MICHELLE SILVESTRIZ
  1419629 ESPADA RODRÍGUEZ, NIKOLE                     ALEJANDRO                     PO BOX 13282                                                                           SAN JUAN          PR         00908
   157153 ESPADA SANTANA MD, JAVIER                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   157176 ESPADA Y ASSOCIADOS INC                      URB PARQUE DE BUCARE II       B 20 CALLE TUREY                                                                       GUAYNABO          PR         00969
   157180 Espada‐Martínez, Olga                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

  1419630 ESPAÑOL RODRÍGUEZ, MAGALY                    LUIS MADERA                   PO BOX 13695                                                                           SAN JUAN          PR         00908‐3695
   157195 ESPARA RIVERA & ASSOC                        COND CECILIA CALLE ROSA       SUITE 509                                                                              CAROLINA          PR         00979

   157248 ESPARZA RAZO MD, BOGART R                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   649493 ESPEDITO VAZQUEZ VAZQUEZ                     BO ACHIOTE                    PO BOX 309                                                                             NARANJITO         PR         00719
   157259 ESPER MD , WILLIAM A                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ESPERANZA A DE JESUS
   157260 HERNANDEZ                                    COND BAHIA A APT 1201                                                                                                SAN JUAN          PR         00907
   649494 ESPERANZA A VELEZ PORTELA                    PO BOX 564                                                                                                           YAUCO             PR         00698
          ESPERANZA ALONSO
   649496 MALDONADO                                    PO BOX 9570                                                                                                          ARECIBO           PR         00613‐9570

   649497 ESPERANZA ALVARADO                           URB COUNTRY CLUB 2DA SECC     1157 LUIS CORDOVA CHIRINO                                                              SAN JUAN          PR         00924
          ESPERANZA AM OR VIDA ADUL
   157261 INST.                                        RR‐4 BOX 530 BO CERRO GORDO                                                                                          BAYAMON           PR         00956

   157262 ESPERANZA AMOR VIDA ADULTO R.R. 4 BOX 530                                  BO. CERRO GORDO                                                                        BAYAMON           PR         00956
          ESPERANZA AMOR Y VIDA
   157263 ADULOS INC.                BAYAMON PR                                                                                                                             BAYAMON           PR         00956

   157264 ESPERANZA AMOR Y VIDA INST.                  RR‐4 2890                                                                                                            BAYAMON           PR         00956
   649498 ESPERANZA ARCE GALLEGO                       URB CONSTANCIA                671 CALLE 9                                                                            PONCE             PR         00731

   649499 ESPERANZA ARCHEVAL DURAN                     226 REC GANDARA                                                                                                      PONCE             PR         00717‐2716
   649500 ESPERANZA AUTO PARTS                         HC 03 BOX 21676                                                                                                      ARECIBO           PR         00612



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  157265 ESPERANZA BERMUDEZ LUNA                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  649502 ESPERANZA CASTRO RIVERA                      COM LOMAS VERDES              SOLAR 266                                                                          MOCA                PR         00676
  157266 ESPERANZA CEPEDA ONORO                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   649503 ESPERANZA CINTRON DE ARMAS URB VALLES DE GUAYAMA                          516 CALLE 10                                                                       GUAYAMA             PR         00784

   157267 ESPERANZA CORTES MORALES                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649504 ESPERANZA CUEBAS CASTILLO                   PO BOX 3827                                                                                                      SAN JUAN            PR         00919‐3827
   157268 ESPERANZA CUEVAS CASTILLO                   REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   157269 ESPERANZA DE AMOR, INC                      CARR.978 KM.1.4 PARCELA 238   BARRIO CHUPACALLOS                                                                 CEIBA               PR         00735
          ESPERANZA DE UN NUEVO
   157270 AMOR, INC.                                  PMB 14 BOX 70011                                                                                                 FAJARDO             PR         00738

   157271 ESPERANZA EN EL MANANA INC PO BOX 2959                                                                                                                       JUNCOS              PR         00777
          ESPERANZA ENCARNACION
   157272 MARTE                      REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   649505 ESPERANZA FALERO DELGADO                    RR 7 BOX 8297                                                                                                    TRUJILLO ALTO       PR         00926
          ESPERANZA FELICIANO
   649506 FELICIANO                                   HC1 BOX 3665                                                                                                     BAJADERO            PR         00612
   649507 ESPERANZA GAS                               118 CONCORDIA                                                                                                    MAYAGUEZ            PR         00680
   157274 ESPERANZA GONZALEZ LOPEZ                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   157275 ESPERANZA HEALTH CENTER                     2940 N 5TH ST                                                                                                    PHILADELPHIA        PA         19133

   157276 ESPERANZA HEALTH CENTER INC 1331 E WYOMING AVE                                                                                                               PHILADELPHIA        PA         19124
   157277 ESPERANZA HEALTLH CENTER    4417 NORTH 6TH STREET                                                                                                            PHILADELPHIA        PA         19140
          ESPERANZA HERNANDEZ
   649508 ROMERO                      PO BOX 2089                                                                                                                      RIO GRANDE          PR         00745
   649509 ESPERANZA IRON WORKS        PO BOX 2882                                                                                                                      GUAYNABO            PR         00970

   157278 ESPERANZA LINARES MELITON                   REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   157279 ESPERANZA LORENZO ALERS                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ESPERANZA M BATISTA
   157280 MARTINEZ                                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ESPERANZA MALDONADO
   649512 HIDALGO                                     RES BAIROA N 2                CALLE 34                                                                           CAGUAS              PR         000725
   157281 ESPERANZA MARTIN                            REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649513 ESPERANZA MARTINEZ RIOS                     BO GUAVATE                    BOX 22206                                                                          CAYEY               PR         00736

   157282 ESPERANZA MARTINEZ VAZQUEZ REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   157283 ESPERANZA MEDINA MEDINA    REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   649515 ESPERANZA MERCADO ADAMES                    HC 01 BOX 10477                                                                                                  SAN SEBASTIAN       PR         00685
   157284 ESPERANZA MESA RIJOS                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649516 ESPERANZA MOLINA ORTIZ                      RES GALATEO APARTMENTS        APT 229                                                                            RIO GRANDE          PR         00745
   649517 ESPERANZA MONTAZ TORRES                     PMB 4100 BOX 194                                                                                                 BOQUERON            PR         00622
   649518 ESPERANZA MONTES                            AVE LAS PALMAS                                                                                                   SAN JUAN            PR         00907

   649519 ESPERANZA OCASIO DE LA TORRE 98 BO CALICHE                                                                                                                   CIALES              PR         00638
   649520 ESPERANZA ORTIZ              VILLA DEL REY 4TA SECCION                    EE 22 CALLE 14                                                                     CAGUAS              PR         00725

   157285 ESPERANZA ORTIZ JUSTINIANO                  REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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                                                                                 10 CALLE PROLONGACION
   649521 ESPERANZA ORTIZ LOPEZ                       BDA ISRAEL                 FRANCIA                                                                                SAN JUAN            PR           00917
   157286 ESPERANZA PADIN REXACH                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   157287 ESPERANZA PAGAN ACEVEDO                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   157288 ESPERANZA PARA LA VEJEZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESPERANZA PASTRANA
   157289 GONZALEZ                                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   649523 ESPERANZA PEREZ MALDONADO ARD DEL CARIBE 48 ST V V 8                                                                                                          PONCE               PR           00731
   157290 ESPERANZA PEREZ PEREZ     REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   157291 ESPERANZA PEREZ RODRIGUEZ                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   157292 ESPERANZA QUINONES ORTIZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   649526 ESPERANZA RIVERA MELENDEZ                   HC 1 BOX 4502                                                                                                     YABUCOA             PR           00767
   649527 ESPERANZA RIVERA VALENTIN                   TRES TALLERES              954 CALLE SOLA                                                                         SAN JUAN            PR           00907

   649528 ESPERANZA RODRIGUEZ MARTE 252 CALLE PARQUE                                                                                                                    SAN JUAN            PR           00928
                                     180 CALLA # 22 URB. PONCE DE
   157294 ESPERANZA RODRIGUEZ TORRES LEON                                                                                                                               GUAYNABO            PR           00969

   649530 ESPERANZA RODRIGUEZ WALKER BUENA VISTA                                 PARC 86 CALLE ALELIS                                                                   CAROLINA            PR           00985
   157295 ESPERANZA ROLON RIVERA     REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   157296 ESPERANZA ROMAN CRUZ       REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649531 ESPERANZA ROSARIO          SOLAR 112 LA TEA                                                                                                                   SAN GERMAN          PR           00638
   649532 ESPERANZA RUIZ             107 CALLE LUNA APT 1 A                                                                                                             SAN JUAN            PR           00901
   649533 ESPERANZA RUIZ FIGUEROA    5 RES MONTE ISLE¨O                          APTO 50                                                                                MAYAGUEZ            PR           00680
          ESPERANZA S CASTRO
   649534 LUZUNARIS                  PO BOX 185                                                                                                                         HUMACAO             PR           00792
   649535 ESPERANZA SAEZ FIGUEROA    ESTANCIAS DORADA                            446 CALLE VILLA APT 211                                                                PONCE               PR           00728‐4504

   649537 ESPERANZA SANCHEZ GUZMAN                    LAS MONJAS                 115 (ALTOS) CALLE POPULAR                                                              SAN JUAN            PR           00925

   649538 ESPERANZA SANTANA BONILLA                   BO SANTANA                 PARC PEREZ CALLE C 20                                                                  ARECIBO             PR           00612

   649539 ESPERANZA SANTIAGO RAMIREZ HC 02 BOX 11774                                                                                                                    YAUCO               PR           00698‐9607
          ESPERANZA SANTIAGO
   649540 SANTIAGO                   41 CALLE GIMENEZ                                                                                                                   CABO ROJO           PR           00623

   649541 ESPERANZA SILVA RODRIGUEZ                   RES BARINAS                D 4 CALLE 1                                                                            YAUCO               PR           00698‐4708
   649543 ESPERANZA TORO PEREZ                        ESTANCIAS DORADAS          446 CALLE VILLA APT 215                                                                PONCE               PR           00728

   649545 ESPERANZA TORRES MARTINEZ                   PO BOX 21365                                                                                                      SAN JUAN            PR           00926‐1365
                                                      38 C/ HUCAR BO SABANETAS
   157298 ESPERANZA UNIDA INC                         MERCEDITA                                                                                                         PONCE               PR           00715
          ESPERANZA VELAZQUEZ
   157299 MORALES                                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   157300 ESPERANZA VELAZQUEZ ORTIZ                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649549 ESPERANZA VIDAL INFER                       PASEO DE LA ALAMEDA 16                                                                                            VALENCIA                         46010
   157301 ESPERANZO CRUZ MEDINA                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   157307 ESPIET MIRAY MD, JUAN A                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   157351 ESPINAL SURUN, JENNY                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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 1419631 ESPINO MARTÍNEZ, ELSA                        HILDA COLON RIVERA             PO BOX 219                                                                              BARRANQUITA       PR         00794
  649552 ESPINOSA & ESPINOSA                          PO BOX 20230                                                                                                           SAN JUAN          PR         00926‐0230
  157440 ESPINOSA AUTO GLASS                          P O BOX 6417                                                                                                           BAYAMON           PR         00959
 1419632 ESPINOSA BABILONIA, FELIX                    FERMIN L. ARRAIZA NAVAS        APARTADO 40473                                                                          SAN JUAN          PR         00940‐0473
  157482 ESPINOSA FIGUEROA, ALMA                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  157488 ESPINOSA GLASS SHOP                          PO BOX 6417                                                                                                            BAYAMON           PR         00960‐6417
 1419633 ESPINOSA ROSADO, EVYFLOR                     SUHAIL CABÁN LÓPEZ             PO BOX 1711                                                                             AGUADA            PR         00602‐1711
         ESPINOSA TEXACO SERVICE
  157590 CENTER                                       255 URB ALTAMONTE                                                                                                      CAMUY             PR         00627‐2612
  157617 ESPINOZA MD , LUIS R                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  157620 ESPIRAL MONTESSORI INC                       URB FLORAL PARK                119 C/ MATIENZO CINTRON                                                                 SAN JUAN          PR         00917
 1256487 ESPIRAL MONTESSORI, INC.                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         ESPIRITA POSADA DE LA
  157622 CARIDAD EGI D                                P. O. BOX 194668                                                                                                       SAN JUAN          PR         00919
  157624 ESPN REGIONAL TV INC                         11001 RUSHMURZ DRIVE                                                                                                   CHARLOTTE         NC         28277
  157631 ESPONJITAS DE LA MONTANA                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  157633 ESPRESSO VENDORS, INC                        PMB 176                        1357 AVE. ASHFORD                                                                       SAN JUAN          PR         00907
  157634 ESQ LEGAL SERVICES PSC                       P O BOX 193813                                                                                                         SAN JUAN          PR         00919‐3813
         ESQUEMA TALLER DE
  157544 ARQUITECTURA PSC                             1812 AVE PONCE DE LEON PISO 3                                                                                          SAN JUAN          PR         00909
  157636 ESQUERDO CRUZ MD, LUIS A                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         ESQUILIN GARCIA, LOAITZA
 1419634 ANAIS Y OTROS                                FERNANDO RODRIGUEZ             PO BOX 1291 SAN LORENZO PR                                                              SAN LORENZO       PR         00754

  1422867 ESQUILÍN RIVERA, JUAN JESÚS                 DINORAH BURGOS GARCÍA          ESTANCIAS DEL BOULEVARD 700 CARR. 844 APARTAMENTO 186                                   SAN JUAN          PR         00926
   649554 ESQUINA MINI MARKET                         CALLE G MARTINEZ 2                                                                                                     AIBONITO          PR         00705
   157828 ESSEN MEDICAL ASSOCIATES                    PO BOX 788                                                                                                             HARTSDALE         NY         10530
   157829 ESSENCE FOR LIFE INC                        URB COUNTRY CLUB               929 CALLE DURBEC                                                                        SAN JUAN          PR         00924
   157830 ESSENTIAL PHARMACIST SERV                   AVENIDA TITO CASTRO            301C DRAWER201                                                                          PONCE             PR         00731

   649555 ESSENTIAL PHARMACIST SERVICE AVE TITO CASTRO                               301 C DRAWER 201                                                                        PONCE             PR         00731
   649556 ESSENTIAL TECHNOLOGIES       966 HUNGERFORD DR STE 1                                                                                                               ROCKVILLE         MD         20850
                                       B‐5 TABONUCO ST., SUITE 216
   157832 ESSENTIUM GROUP, LLC         PMB 112                                                                                                                               GUAYNABO          PR         00968‐3022
   157833 ESSIE SARAH RUTH BRYANT      REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ESSILOR INDUSTRIES ESSILOR
   649558 INTERNACIONAL                SABANETA INDUSTRIAL PARK                                                                                                              MERCEDITA         PR         00715
   157834 ESSIS TRAINING INC           URB VILLA DEL CARMEN                          2732 CALLE TOLEDO                                                                       PONCE             PR         00716‐2032
   649559 ESSO BORINQUEN               CAPARRA HEIGHTS                               P O BOX 11503                                                                           SAN JUAN          PR         00922
   649560 ESSO BORINQUEN TOWER         P O BOX 11503                                                                                                                         SAN JUAN          PR         00922
   649561 ESSO CAR WASH                URB VILLA MAR                                 A O 22 CALLE MARGINAL                                                                   CAROLINA          PR         00979
   649562 ESSO CHAR MARI               PO BOX 9066366                                                                                                                        SAN JUAN          PR         00906‐6366
   649563 ESSO CHEO SERVICE STATION    VILLA TORRIMAR                                123 CALLE REINA MARGARITA                                                               GUAYNABO          PR         00965
   649564 ESSO CIUDAD UNIVERSITARIA    CARRETERA 846                                 KM 1 HM 1                                                                               TRUJILLO ALTA     PR         00976
          ESSO CUPEY/MONTECARLO
   649566 SHELL                        URB SAGRADO CORAZON                           373 AVE SAN CLAUDIO                                                                     SAN JUAN          PR         00926

   649567 ESSO DOCHO SERVICE STATION                  PO BOX 1594                                                                                                            SAN SEBASTIAN     PR         00685
   649568 ESSO FOOD SHOP                              PO BOX 1478                                                                                                            VEGA BAJA         PR         00694‐1478
   649569 ESSO GARAGE MONTALVO                        BOX 138                                                                                                                LAS MARIAS        PR         00670‐0138
   649570 ESSO HUNGRY TIGER                           1024 AVE JESUS T PINERO                                                                                                SAN JUAN          PR         00921

   649572 ESSO MOTOR POOL                             C/ CASIA # T‐29 LOMAS VERDES                                                                                           BAYAMON                      00956



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          ESSO REGIONAL SERVICES                      572 AVE SAN LUIS ESQ LOS
   649573 STATION                                     ROTARIOS                                                                                        ARECIBO             PR           00612
   649574 ESSO SAGITARIO                              MONTE VERDE                C 28 CALLE 2                                                         TOA ALTA            PR           00953
          ESSO SANTIAGO SERVICE
   649575 STATION                                     PO BOX 1059                                                                                     TRUJILLO ALTO       PR           00977
   649576 ESSO SERVICE CENTER                         PO BOX 9024275                                                                                  SAN JUAN            PR           00902‐4275
   649578 ESSO SERVICE STATION                        PO BOX 10704                                                                                    SAN JUAN            PR           00922
          ESSO SERVICENTRO/VELEZ ESSO
   157835 SERVICE                                     P O BOX 324                                                                                     ANASCO              PR           00610
   649579 ESSO STANDARD OIL                           P O BOX 364984                                                                                  SAN JUAN            PR           00936‐4984
   649582 ESSO STANDARD OIL CO                        P O BOX 364269                                                                                  SAN JUAN            PR           00936
   157836 ESSO STANDARD OIL CO.                       PO BOX 4369                                                                                     SAN JUAN            PR           00936‐4269

   649583 ESSO STANDARD OIL COMPANY P O BOX 70150                                                                                                     SAN JUAN            PR           00936 8150
          ESSO STANDARD OIL COMPANY
   157837 PR                            OLD SAN STATION                          PO BOX 50001                                                         SAN JUAN            PR           00902
   649585 ESSO SUMMIT HILLS             P O BOX 9694                                                                                                  SAN JUAN            PR           00908‐0694
   649586 ESSROC SAN JUAN               PO BOX 366698                                                                                                 SAN JUAN            PR           00936
          EST DEFENSA CIVIL Y LUZ M
   771048 CEDENO RIVERA                 PO BOX 9066597                                                                                                SAN JUAN            PR           00906‐6597
          EST ELECTRICAL CONTRACTOR &
   649587 ENGINEERS                     PO BOX 739                                                                                                    PONCE               PR           00715
   649588 EST TALENTOSOS INC            PO BOX 31070                                                                                                  SAN JUAN            PR           00929
          EST TALENTOSOS INC C/O
   157840 GLADYS PINEIRO                PO BOX 31070                                                                                                  SAN JUAN            PR           00929
          ESTABLO CARIEGO INC Y BANCO
   157841 DESARROLLO                    ECONOMICO PARA PTO RICO                  P O BOX 2134                                                         SAN JUAN            PR           00922‐2134
          ESTABLO LAS HERMANAS INC / G
   649589 MONTILLA                      GARDEN HILLS                             J 14 CALLE UNION                                                     GUAYNABO            PR           00966‐2844
   157842 ESTABLO PENSYLVANIA           PO BOX 361360                                                                                                 SAN JUAN            PR           00936‐1360
          ESTABLO RAICES INC / DBA/ THE
   649590 UPS STORE                     89 AVE DE DIEGO SUITE 105                                                                                     SAN JUAN            PR           00917
   157843 ESTACION CORA GUAL            PO BOX 1433                                                                                                   ARROYO              PR           00714

   649591 ESTACION DE SERVICIO ANIBAL                 P O BOX 327                                                                                     BARCELONETA         PR           00617

   649592 ESTACION DE SERVICIO AYALA    P O BOX 6446                                                                                                  CAGUAS              PR           00726
          ESTACION DE SERVICIO DE LLIME
   649593 RAMIREZ                       128 CALLE UNION                                                                                               LAJAS               PR           00667
          ESTACION DE SERVICIO DEL
   649594 PUEBLO                        150 CALLE COLON                                                                                               AGUADA              PR           00605
          ESTACION DE SERVICIO LA
   649595 MILAGROSA                     VISTA BELLA                              K 8 CALLE 7                                                          BAYAMON             PR           00619

   649597 ESTACION DE SERVICIO ROMAN                  PO BOX 2788                                                                                     SAN SEBASTIAN       PR           00685
   649598 ESTACION ESSO                               P O BOX 817                                                                                     CAYEY               PR           00737
          ESTACION EXPERIMENTAL DE
   157844 LAJAS                                       HC 2 BOX 11656                                                                                  LAJAS               PR           00667
          ESTACION FERROCARRIL MALL S
   649599 E                                           PO BOX 30256                                                                                    SAN JUAN            PR           00929
   649600 ESTACION GULF                               URB VILLA NEVAREZ          356 CALLE 32                                                         SAN JUAN            PR           00927‐5110
   649603 ESTACION GULF/ ZAILES                       BOX 669                                                                                         MANATI              PR           00674




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          ESTACION INSPECCION KOBY
   649604 BONILLA                                     10916 URB ALTURA DE ALBA                                                                           VILLALBA            PR           00765
   649605 ESTACION LOS ROBLES                         VILLA MARINA                A 24 CALLE BAHIA SUR                                                   GURABO              PR           00778
          ESTACION LOS ROBLES/RAMON
   649606 A CRUZ                                      HC 1 BOX 3990                                                                                      AIBONITO            PR           00705
   649607 ESTACION MARISOL                            PO BOX 272                                                                                         VIEQUES             PR           00765
          ESTACION SERVICIO FERNANDEZ
   649608 J                                           1607 AVE FERNANDEZ JUNCOS                                                                          SAN JUAN            PR           00909
   649609 ESTACION SHELL ASOMANTE                     HC 02 BOX 8146                                                                                     AIBONITO            PR           00705

   157845 ESTACION TEXACO GOMICENTRO 10 CALLE JESUS T PINERO                                                                                             PATILLAS            PR           00723
          ESTACIONAMIENTO NATAL
   157846 HERMANOS                   AVE. 65 INF. K 2.0                           SUITE 20                                                               SAN JUAN            PR           00927

   649610 ESTACIONAMIENTO NATAL HNOS EL TUNEL CAR CARE HALL       20‐65TH INF KM 2 0                                                                     SAN JUAN            PR           00926
   157847 ESTACY CONQUET REYES       CIUDAD UNIVERSITARIA         A1 9 AVE PERIFERIAL                                                                    TRUJILLO ALTO       PR           00976
   157867 ESTADIA FELIZ INC.         P. O. BOX 404                                                                                                       CAROLINA            PR           00986
          ESTADO LIBRE ASOCIADO DE                                BANCO COOPERATIVO PLAZA                AVE. PONCE DE LEON SUITE 705‐
  1422555 PUERTO RICO                CARLOS E. POLO, ERNESTO POLO 623                                    A                                               SAN JUAN            PR           00917
          ESTADO LIBRE ASOCIADO DE
  1419640 PUERTO RICO                JOSÉ R. VARELA FERNÁNDEZ     APARTADO 373301                                                                        CAYEY               PR           00737
          ESTADO LIBRE ASOCIADO DE
  1419641 PUERTO RICO                JUAN COBIAN                  APARTADO 9020567                                                                       SAN JUAN            PR           00902
          ESTADO LIBRE ASOCIADO DE
  1419643 PUERTO RICO                JOSÉ L. TORRES RODRÍGUEZ     G 614 NWE YORK AVE.                                                                    HAMPTON             VA           23661
          ESTADO LIBRE ASOCIADO DE                                URB EL PARAISO CALLE TIGRIS
  1419647 PUERTO RICO                SAURÍ ORTEGA, REBECCA        1600                                                                                   SAN JUAN            PR           00926
          ESTADO LIBRE ASOCIADO DE                                URB EL PARAISO CALLE TIGRIS
  1419648 PUERTO RICO                SAURÍ ORTEGA, REBECCA        1600                                                                                   SAN JUAN            PR           00926
          ESTADO LIBRE ASOCIADO DE                                URB EL PARAISO CALLE TIGRIS
  1419649 PUERTO RICO                SAURÍ ORTEGA, REBECCA        1600                                                                                   SAN JUAN            PR           00926
          ESTADO LIBRE ASOCIADO DE                                AVENIDA FERNANDEZ JUNCOS
  1419651 PUERTO RICO                VICTOR M. RIVERA TORRES      1502 ALTOS                                                                             SANTURCE            PR           00909
          ESTADO LIBRE ASOCIADO DE                                VIC TOWER SUITE 1005 1225
  1419652 PUERTO RICO                IGNACIO GORRIN MALDONADO AVENIDA PONCE DE LEON                                                                      SAN JUAN            PR           00907
          ESTADO LIBRE ASOCIADO DE
  1419656 PUERTO RICO                EDWIN RIVERA CINTRÓN         PO BOX 1098                                                                            LAS PIEDRAS         PR           00771
          ESTADO LIBRE ASOCIADO DE
  1419658 PUERTO RICO                NÉSTOR LÓPEZ VÁZQUEZ         PO BOX 19079                                                                           SAN JUAN            PR           00910
          ESTADO LIBRE ASOCIADO DE                                COND. DARLINGTON OFICINA
  1422796 PUERTO RICO                IVETTE LÓPEZ SANTIAGO        1103                                   AVE MUÑOZ RIVERA 1007                           SAN JUAN            PR           00925
          ESTADO LIBRE ASOCIADO DE
  1419635 PUERTO RICO                MANUEL BORGES MENDEZ         PO BOX 16673                                                                           SAN JUAN            PR           00908‐6673
          ESTADO LIBRE ASOCIADO DE                                1007 AVE. LUIS MUÑOZ RIVERA
  1419636 PUERTO RICO                FRANCISCO VALCARCEL MULERO SUITE 1200                                                                               SAN JUAN            PR           00926‐2725
          ESTADO LIBRE ASOCIADO DE
  1419637 PUERTO RICO                CARLOS CORREA RAMOS          PO BOX 546                                                                             NAGUABO             PR           00718‐0546
          ESTADO LIBRE ASOCIADO DE
  1419638 PUERTO RICO                MARIO R. ORONOZ RODRIGUEZ PO BOX 195473                                                                             SAN JUAN            PR           00919‐5473
          ESTADO LIBRE ASOCIADO DE
  1419639 PUERTO RICO                FERNANDO BARNES ROSICH       PO BOX 331031                                                                          PONCE               PR           00733‐1031
          ESTADO LIBRE ASOCIADO DE
  1419642 PUERTO RICO                CÉSAR A. MATOS BONET         PO BOX 362677                                                                          SAN JUAN            PR           00936‐2677



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          ESTADO LIBRE ASOCIADO DE
  1419644 PUERTO RICO                                 RODRÍGUEZ BENÍTEZ, PEDRO J.   PO BOX 1441                                                                                 HATILLO             PR           00659‐1441
          ESTADO LIBRE ASOCIADO DE
  1419645 PUERTO RICO                                 EDUARDO M. JOGLAR             403 CALLE DEL PARQUE SUITE 6                                                                SAN JUAN            PR           00912‐3710
          ESTADO LIBRE ASOCIADO DE
  1419646 PUERTO RICO                                 EDUARDO M. JOGLAR             403 CALLE DEL PARQUE SUITE 6                                                                SAN JUAN            PR           00912‐3710
          ESTADO LIBRE ASOCIADO DE                                                  EDIF. SANTOS VÉLEZ I 2770 AVE.
  1419650 PUERTO RICO                                 GEORGE M. UZDAVINIS VÉLEZ     HOSTOS SUITE 209                                                                            MAYAGUEZ            PR           00682‐6384
          ESTADO LIBRE ASOCIADO DE
  1419653 PUERTO RICO                                 CYNTHIA TORRES TORRES         PO BOX 79182                                                                                CAROLINA            PR           00984‐9182
          ESTADO LIBRE ASOCIADO DE
  1419654 PUERTO RICO                                 LUIS E. DUBON ARRAIZA         PO BOX 366123                                                                               SAN JUAN            PR           00936‐6123
          ESTADO LIBRE ASOCIADO DE
  1419655 PUERTO RICO                                 GRETCHEN CARLO YAMIN          PO BOX 368103                                                                               SAN JUAN            PR           00936‐8103
          ESTADO LIBRE ASOCIADO DE
  1419657 PUERTO RICO                                 SANDRA TORRES ALICEA          PO BOX 50329                                                                                TOA BAJA            PR           00950‐0329
   157868 ESTALI ORENGO CARABALLO                     URB HACIENDA CONCORDIA        11099 CALLE AZALEA                                                                          SANTA ISABEL        PR           00759
   157869 ESTAMPADO DEPORTIVO                         P.O. BOX 998                                                                                                              GUAYNABO            PR           00970
          ESTAMPADO DEPORTIVO
   649612 IMPRESOS Y BORDADOS                         PO BOX 998                                                                                                                GUAYNABO            PR           00970
   157870 ESTAMPADOS AZ                               VILLA UNIVERSITARIA           K‐26 CALLE 2                                                                                HUMACAO             PR           00791‐0000
   157871 ESTAMPADOS CARIBE                           ESQ ELEONOR ROOSEVELT         398 AVE MUNOZ RIVERA                                                                        SAN JUAN            PR           00918
   649614 ESTAMPADOS MODERNOS                         ESTACION 65 INFANTERIA        BOX 30717                                                                                   SAN JUAN            PR           00929
   157872 ESTAMPAS DE MI PAIS                         APARTADO 22808                UPR STATION                                                                                 SAN JUAN            PR           00931
   157873 ESTANCIA CORAZON                            AREA DEL TESORO               CONTADURIA GENERAL                                                                          SAN JUAN            PR           00902
   157875 ESTANCIA CORAZON INC                        AREA DEL TESORO               CONTADURIA GENERAL                                                                          SAN JUAN            PR           00902
   649616 ESTANCIA DE LOS INDIOS INC                  P O BOX 27                                                                                                                YAUCO               PR           00698
   157877 ESTANCIA SERENA, INC.                       PO BOX 271                                                                                                                JUNCOS              PR           00777
   649615 ESTANCIA SHELL ISABELA                      PO BOX 432                                                                                                                ISABELA             PR           00662
   649618 ESTANCIAS DE LAJAS INC                      24 ERLICH COURT                                                                                                           LAJAS               PR           00667

   649619 ESTANCIAS DE METROPOLIS S E                 P O BOX 13487                                                                                                             SAN JUAN            PR           00908
   649620 ESTANCIAS DE NAGUABO SE                     URB ROOSEVELT                 251 RODRIGO DE TRIANA                                                                       SAN JUAN            PR           00918‐2807
   157878 ESTANCIAS DE, SABANANA                      REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESTANCIAS DEL BOSQUE
   649621 DEVELOMENT CORP                             206 E ROOSEVELT SUITE C                                                                                                   SAN JUAN            PR           00918‐3033
   649622 ESTANCIAS EL MOLINO                         P O BOX 775                                                                                                               ARECIBO             PR           00613
   649617 ESTANCIAS MANUELIDA                         COTTO STATION                 P O BOX 9296                                                                                ARECIBO             PR           00613
   649623 ESTANCIAS REALES S E                        P O BOX 193487                                                                                                            SAN JUAN            PR           00919
   157879 ESTANCIAS VEMIR INC                         P O BOX 1367                                                                                                              TRUJILLO ALTO       PR           00977‐1367
                                                      COOP JARDINES DE TRUJILLO
   649624 ESTANISLAO DELGADO TORRES                   ALTO                          EDIF F APT 503                                                                              TRUJILLO ALTO       PR           00976

   649625 ESTANISLAO MORALES ROMAN URB VALLE ARRIBA HTS                             B Y 9 CALLE 126                                                                             CAROLINA            PR           00979‐3349
          ESTARELLAS ESTARELLAS, MARIA
   157882 M                            REDACTED                                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESTATE ANDRES DIAZ
   649626 SOTO/JESUS DIAZ              54 RUTGERS APT 1E                                                                                                                        NEW YORK            NY           10002
          ESTATE FELIPA ARROYO
   157888 GONZALEZ                     REDACTED                                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649627 ESTATE HUBER MCINTOSH        P O BOX 372                                                                                                                              FREDERISKSTED       VI           00841
          ESTATE NELSON TORRES Y SARA
   157889 TORRES                       REDACTED                                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  157890 ESTATE OF AHMED L SAWI                       REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  157891 ESTATE OF ALAN COWLISHAW                     REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  157893 ESTATE OF ALFRED HERGER                      REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         ESTATE OF ANN CORNELIA
  157895 MURDAUGH                                     REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   157896 ESTATE OF ANN STRZESZEWSKI                  REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ESTATE OF ANNA TORRES /
   649628 LOUIS A TORRES                              17984 BRIARCREST DR                                                                                                FLINT               TX         75762‐9507
   157897 ESTATE OF ANNE DOOLEY                       REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ESTATE OF ARTURO
   157898 CHRISTENSEN                                 REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   157899 ESTATE OF BERTRAND SHAFFER                  REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ESTATE OF BLAS HERNANDEZ
   157900 MARCANO                                     REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ESTATE OF BLNCHE GROSS
   157901 DECEASED                                    REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ESTATE OF CARL F H HENRY /
   649629 WILLIAM H                                   108 DALE VALLEY ROAD                                                                                               COLUMBIA            SC         29223‐5134
          ESTATE OF CARMEN ROCHESTER
   157903 RONNIE                                      REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   157904 ESTATE OF CATHERINE O WEIR                  REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   157905 ESTATE OF DAISY L SCHNEIDER                 REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   157906 ESTATE OF EDWARD P GIAIMO JR REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   157907 ESTATE OF EHEL J HERRON      REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   649630 ESTATE OF ERIC LLOYD CHANCE                 PO BOX 1183                                                                                                        ISABELA             PR         00662
   157909 ESTATE OF FERMIN IRIZARRY                   REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   157910 ESTATE OF FRANCESCA RIGAUD                  REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   649631 ESTATE OF FRANCIS J RAYMOND                 P O BOX 702                                                                                                        EAST GREENWICH      RI         02818
          ESTATE OF FRANK A Z
   649632 WILDASINN                                   P O BOX 1653                                                                                                       MOUNT JULIET        TN         37121‐1653
          ESTATE OF FREDDY GERSON
   157911 LEMMER                                      REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ESTATE OF FREEDERICK / LASSER
   649633 DUGGAN                                      14 EAST 60TH STREET SUITE 1001                                                                                     NEW YORK            NY         10022

   157912 ESTATE OF FRUCTUOSO LAMBOY REDACTED                                          REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   157913 ESTATE OF GENEVA B HEIPLEY REDACTED                                          REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ESTATE OF GILDA ARVIZU‐
   157914 HAYDEE ATILES              REDACTED                                          REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   157915 ESTATE OF HANS HEITKOENIG  REDACTED                                          REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   157916 ESTATE OF HAYDEE ATILES    REDACTED                                          REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ESTATE OF HERMINIO
   157917 HERNANDEZ MORENO           REDACTED                                          REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ESTATE OF HIRAM TORRES
   157918 RIGUAL                     REDACTED                                          REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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   649634 ESTATE OF ISABEL BIASCOCHEA                 URB SAN PATRICIO       6 CALLE CEREZO                                                                    SAN JUAN            PR           00920
   157919 Estate of Jeremiah Jochnowitz               REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESTATE OF JESUS VELAZQUEZ
   157920 ARROYO                                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   157921 ESTATE OF JOSE A BON MORALES REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESTATE OF JOSE L MOLINA
   157923 ALICEA                       REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   157924 ESTATE OF JOSE V CHANG       REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESTATE OF JOSE V CHANG Y ANA
   157925 G CHANG                      REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   157926 ESTATE OF JOSEPH QUINONES    REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESTATE OF JULIA MERCADO
   157928 MENDEZ                       REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESTATE OF LEOPOLDO SANTIAGO
   157929 MELENDEZ                     REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESTATE OF LUTCHMINPERSAD
   649635 RAMDAS                       AND ETWAIRE BETSY RAMDAS              PO BOX 227                                                                        PHILIPSBURG         PA                         ST MARTEN

   649636 ESTATE OF LYONA M FANCOURT 35 PINE MEADOWS DR                                                                                                        EXETER              NH           03833

   157930 ESTATE OF MANUEL GONZALEZ                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   157931 ESTATE OF MANUEL ROJAS                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   157932 ESTATE OF MANUEL VILLAFANE                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESTATE OF MARIA DE LOS
   157933 ANGELES BODDEN                              REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESTATE OF MARINA PRISCILLA
   157934 GEORGE                                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   649637 ESTATE OF MARTHA MORRISSEY 425 WALNUT STREET SUITE 1800                                                                                              CINCINNATI          OH           45202

   157935 ESTATE OF MARTIN CAVANAGH REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESTATE OF MICHAEL WOODBURY
   157936 CORNU                      REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   157937 ESTATE OF MIRTA CRUZ       REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   157941 ESTATE OF PAULINE LYONS    REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESTATE OF PORFIRIO ORTIZ
   157942 TORRES                     REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESTATE OF RAFAEL F
   157943 ECHAVARRIA                 REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESTATE OF RAFAEL LOPEZ
   649638 CORDOVA                    P O BOX 710                                                                                                               AGUAS BUENAS        PR           00703

   157944 ESTATE OF RANDALL E JENKINS                 REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   157945 ESTATE OF RICHARD J CUMMINS                 REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   157947 ESTATE OF VERA BRYANT                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649639 ESTATE OF VERA M BROOKS                     5816 EDMUND AVENUE                                                                                       LA CRESCENTA        CA           91214‐1514
          ESTATE OF WEATHERLY T
   157948 KAVANACH                                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   157949 ESTATE OF WILLIAM J VAFIADES REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   157950 ESTATE OF WILLIAM S POSTEN                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   649640 ESTATE OF YVONNE M STARKS                   4421 GRANADA APT 633                                                                                           WARRENSVILLE HEIGHT   OH           44128

   157951 ESTATE OF ZACHARIAH REUBEN                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   649641 ESTATE OR MORRIS FAIRHILL                   350 FIFTH AVE               SUITE 2412                                                                         NEW YORK              NY           10118

          ESTATEOF ANDRES
   157952 GUARDARRAMA Y EMMA COLON REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   157953 ESTATEXIA POLITICA CORP                     130 WINSTON CHURCHILL AVE   SUITE 1 PMB 210                                                                    SAN JUAN              PR           00926
   157955 ESTEBA VELEZ PEREZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
                                                      1221 WEST WASHINGTON APT
   649647 ESTEBAN ACEVEDO ACEVEDO                     10                                                                                                             MILWAKEE              WI           53204
   649648 ESTEBAN ACEVEDO CABRERA                     URB COSTA BRAVA             F98 CALLE 9                                                                        ISABELA               PR           00662

   649649 ESTEBAN ACEVEDO FIGUEROA                    URB VILLA CAROLINA          98‐13 CALLE 94                                                                     CAROLINA              PR           00985
   649650 ESTEBAN ALBINO MERCADO                      PO BOX 1865                                                                                                    COROZAL               PR           00783
   157957 ESTEBAN ALVARADO PEREZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   157958 ESTEBAN ALVAREZ MEDINA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   649653 ESTEBAN APONTE FEBLES                       HC 8 BOX 207                                                                                                   PONCE                 PR           00731
   157959 ESTEBAN ARZUAGA PEREZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   649655 ESTEBAN AUTO SALES                          P O BOX 152                                                                                                    BARRANQUITAS          PR           00794
   649654 ESTEBAN AUTO SALES CORP                     PO BOX 152                                                                                                     BARRANQUITAS          PR           00794
   157960 ESTEBAN AYALA LACEN                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   649656 ESTEBAN BELTRAN VARGAS                      P O BOX 210                                                                                                    MOCA                  PR           00676
   157961 ESTEBAN BERRIOS FEBO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   157963 ESTEBAN BUS LINE INC.                       HC 4 BOX 8306                                                                                                  JUANA DIAZ            PR           00795
   157964 ESTEBAN CABAN DE JESUS                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   649658 ESTEBAN CALDERON MERCADO                    HP ‐ Forense RIO PIEDRAS                                                                                       Hato Rey              PR           009360000
   157968 ESTEBAN CANEVARO JULIA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   157969 ESTEBAN CARDONA LOPEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   649659 ESTEBAN CARLE GARCIA                        PO BOX 334                                                                                                     VIEQUES               PR           00765
   649660 ESTEBAN CARRERO                             PO BOX 827                                                                                                     RINCON                PR           00677
   649661 ESTEBAN CASAS MARTINEZ                      P O BOC 2390                                                                                                   SAN JUAN              PR           00919
   649662 ESTEBAN CASIANO COLLAZO                     HC 02 BOX 5116                                                                                                 GUAYAMA               PR           00784
   649663 ESTEBAN CATALA BENITEZ                      PMB 174                     BOX 29030                                                                          CAGUAS                PR           00725
   649666 ESTEBAN CENTENO MEDINA                      PO BOX 507                                                                                                     BAJADERO              PR           00610
   649668 ESTEBAN COLLAZO RIVERA                      URB START LIGHT             3113 CALLE PERSEO                                                                  PONCE                 PR           00717
   157970 ESTEBAN COLON MARTINEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   157971 ESTEBAN COLON ORTIZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   649670 ESTEBAN CORDERO QUILES                      PO BOX 255                                                                                                     CABO ROJO             PR           00623
   649673 ESTEBAN CORTES CRUZ                         RES LLORENS TORRES          EDIF 21 APT 434                                                                    SAN JUAN              PR           00913
   649674 ESTEBAN CRESPO CARDONA                      HC 01 BOX 10831                                                                                                SAN SEBASTIAN         PR           00685
   157973 ESTEBAN CUEBAS IRIZARRY                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   157974 ESTEBAN CUEVAS IRIZARRY                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   157975 ESTEBAN CUEVAS PEREA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   649677 ESTEBAN DE JESUS CRUZ                       HC 2 BOX 6601               BO COLLORES                                                                        JAYUYA                PR           00664‐9606
   157976 ESTEBAN DE JESUS FLAZ FLAZ                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED



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MML ID               NAME                                       ADDRESS 1                     ADDRESS 2                 ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  649678 ESTEBAN DE LA CRUZ MARIA                     852 CALLE REPUBLICA PDA 22                                                                                        SAN JUAN            PR         00912
  157977 ESTEBAN DIAZ DIAZ                            REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   649679 ESTEBAN DOMINGUEZ CHINEA                    HC 2 BOX 31373                                                                                                    CAGUAS              PR         00725
   157978 ESTEBAN DORTA DORTA                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   649680 ESTEBAN E LOMBA RODRIGUEZ                   P O BOX 723                                                                                                       TOA ALTA            PR         00954
          ESTEBAN E RODRIGUEZ
   649681 RODRIGUEZ                                   URB VILLA ANDALUCIA          H 13 CALLE BEILEN                                                                    SAN JUAN            PR         00926
   157979 ESTEBAN ESCALERA PIZARRO                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   157980 ESTEBAN ESCUTE DAVILA                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649682 ESTEBAN FELICIANO ROSA                      HC 59 BOX 5639                                                                                                    AGUADA              PR         00602
   157981 ESTEBAN FELIX BULTRON                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   649684 ESTEBAN FERNANDEZ MERCED                    HC 43 BOX 9765                                                                                                    CAYEY               PR         00736
   157982 ESTEBAN FERNANDEZ PENA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ESTEBAN FERNANDEZ
   649685 RODRIGUEZ                                   URB EL CORTIJO               GG 13 CALLE 8 A                                                                      BAYAMON             PR         00956
   157983 ESTEBAN FIGUEROA                            REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   157984 ESTEBAN FLORES CARDONA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649642 ESTEBAN FRANQUI PEREZ                       PUERTO REAL                  18 CALLE 4                                                                           CABO ROJO           PR         00622
   157985 ESTEBAN FRIAS RUIZ                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649688 ESTEBAN GARCIA MALATRASI                    PO BOX 5321                                                                                                       SAN JUAN            PR         00919‐5321

   649689 ESTEBAN GONZALEZ CARMINELY URB SAN GERARDO                               1660 CALLE SANTA AGUADA                                                              SAN JUAN            PR         00926
   649643 ESTEBAN GONZALEZ CASTRO    HC 1 BOX 6139                                                                                                                      LAS PIEDRAS         PR         00771‐9712
   649690 ESTEBAN GUTIERREZ RIVERA   VENUS GARDENS                                 AC 3 CALLE TEHUACAN                                                                  SAN JUAN            PR         00926
          ESTEBAN HERNANDEZ
   157986 RODRIGUEZ                  REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   157987 ESTEBAN HERNANDEZ VERA     REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   157988 ESTEBAN I FERNANDEZ NODA   REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   649691 ESTEBAN I FIGUEROA DE LA CRUZ P O BOX 16004                                                                                                                   CAROLINA            PR         00987
   649692 ESTEBAN IRIZARRY PEREZ        P O BOX 396                                                                                                                     FAJARDO             PR         00738 0396
   649695 ESTEBAN J RAMALLO ROLON       ESTANCIAS TORRIMAR                         67 CALLE CAOBA                                                                       GUAYNABO            PR         00966
   157989 ESTEBAN J RUIZ RODRIGUEZ      REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ESTEBAN L RODRIGUEZ
   157990 VELAZQUEZ                     REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649696 ESTEBAN L ROMAN               P O BOX 504                                                                                                                     CIALES              PR         00638
   649698 ESTEBAN LA TORRE BLANCO       28A CALLE MANUEL CINTRON                                                                                                        FLORIDA             PR         00650
   157991 ESTEBAN LIMA                  REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   157992 ESTEBAN LINARES MARTIN        REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   157993 ESTEBAN LLOP RAMIREZ          REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649699 ESTEBAN LOPEZ GINES           APT. C‐122 VEREDAS DEL RIO                                                                                                      CAROLINA            PR         00987
   649701 ESTEBAN LOPEZ LOPEZ           HC 01 BOX 4426                             BO CALLEJONES                                                                        LARES               PR         00669

   157994 ESTEBAN LOPEZ MALDONADO                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649702 ESTEBAN LOPEZ MARTINEZ                      HC 1 BOX 5182                                                                                                     YABUCOA             PR         00767
   157995 ESTEBAN LOPEZ OLVARRIA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   157996 ESTEBAN LOPEZ PINEDA                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   157997 ESTEBAN LOPEZ ZAYAS                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   157998 ESTEBAN M JAIME ROCHE                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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          ESTEBAN MALDONADO
   157999 FELICIANO                                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   649705 ESTEBAN MARTINEZ MOLINA                     P O BOX 364214                                                                                                    SAN JUAN            PR         00936

   158001 ESTEBAN MARTINEZ SERRANO                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   649706 ESTEBAN MATIAS NEGRON                       SABANA SECA                   275 CALLE ALGARROBO                                                                 TOA BAJA            PR         00952
   158002 ESTEBAN MD, LOURDES                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   649707 ESTEBAN MELENDEZ RAMOS                      AVE FLOR DEL VALLE            115 BB                                                                              CATANO              PR         00962
   649708 ESTEBAN MENDEZ                              PO BOX 1261                                                                                                       MOCA                PR         00676
   158003 ESTEBAN MENDEZ LUCIANO                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   158004 ESTEBAN MENDEZ SOTO                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   649710 ESTEBAN MERCADO SANCHEZ                     HC 4 BOX 8306                                                                                                     JUANA DIAZ          PR         00795
   649711 ESTEBAN MIRANDA VALENTIN                    HC 09 BOX 4391                                                                                                    SABANA GRANDE       PR         00637
          ESTEBAN MONTES DBA AEM
   158005 ENTERPRISE                                  AVE ASHFORD                   1451 EDIF LA GALERIA                                                                SAN JUAN            PR         00907
   158006 ESTEBAN MORA DELGADO                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   158007 ESTEBAN MORALES DIAZ                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   158008 ESTEBAN MUJICA COTTO                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   158009 ESTEBAN NAVARRO ARCHILLA                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   649715 ESTEBAN NEGRON ROCHE                        P O BOX 51161                                                                                                     LEVITTOWN           PR         00950 1161
   158010 ESTEBAN NIEVES FIGUEROA                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   649717 ESTEBAN NUNEZ CAMACHO                       PO BOX 1251                                                                                                       AIBONITO            PR         00705
          ESTEBAN OLAVARRIA
   649718 RODRIGUEZ                                   PO BOX 34461                                                                                                      PONCE               PR         00734‐4461
   158011 ESTEBAN ORTIZ                               REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   158014 ESTEBAN ORTIZ CARTAGENA                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   158015 ESTEBAN ORTIZ LOPEZ                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   649719 ESTEBAN ORTIZ RIVEREA                       PO BOX 804                                                                                                        ARROYO              PR         00714 0804
   158016 ESTEBAN ORTIZ RODRIGUEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   649722 ESTEBAN PABON VELEZ                         BO MOSQUITO                   496 CALLE 33                                                                        GUAYAMA             PR         00784
   649723 ESTEBAN PADILLA TORRES                      BOX 1373                                                                                                          CABO ROJO           PR         00623
   158017 ESTEBAN PAGAN FIGUEROA                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   649724 ESTEBAN PARRA RIVERA                        COND TORRES DE CAROLINA       APT G 2 TORRE I                                                                     CAROLINA            PR         00982
   649725 ESTEBAN PEREZ HEMMINGER                     HYDE PARK                     280 RUIZ RIVERA ST                                                                  SAN JUAN            PR         00918
   649726 ESTEBAN PEREZ ORTIZ                         FARALLON                      27509 CALLE ORTIZ                                                                   CAYEY               PR         00736
   158019 ESTEBAN PEREZ PEREZ                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   158020 ESTEBAN PEREZ RIVERA                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   158021 ESTEBAN PEREZ SUAREZ                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   649728 ESTEBAN PIZARRO OSORIO                      PMB 389 P O BOX 1980                                                                                              LOIZA               PR         00772 1980

   158024 ESTEBAN QUINONES CENTENO                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          ESTEBAN RAFAEL BENITEZ
   158025 MERCADER                                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   649731 ESTEBAN RAMIREZ ROSARIO                     URB VILLA NUEVA               5 CALLE 19                                                                          CAGUAS              PR         00725
   649732 ESTEBAN RAMOS JURADO                        HC 09 BOX 58429                                                                                                   CAGUAS              PR         00726
   649735 ESTEBAN RIJOS LUHRING                       P O BOX 701                                                                                                       TOA BAJA            PR         00951
   158026 ESTEBAN RIVERA APONTE                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   158028 ESTEBAN RIVERA BONANO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   649736 ESTEBAN RIVERA CASADO                       19 CALLE SAN JOSE PATAGONIA                                                                                       HUMACAO             PR         00791
   158029 ESTEBAN RIVERA FONTANEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   158030 ESTEBAN RIVERA HIRALDO                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   158031 ESTEBAN RIVERA OCASIO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  649739 ESTEBAN RIVERA ORTIZ                         URB LOIZA VALLEY             264 CALLE COMERIO                                                                     CANOVANAS         PR         00725
  158032 ESTEBAN RIVERA RIVERA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  649741 ESTEBAN ROBLES RIVERA                        CSM San Patricio                                                                                                   Hato Rey          PR         00936

   649743 ESTEBAN RODRIGUEZ CARRION                   RES LOS LIRIOS               EDIF 1 APTO 4                                                                         SAN JUAN          PR         00907

   649745 ESTEBAN RODRIGUEZ ESTRELLA                  PLAZA ANTILLANA              APT 6204                                                                              SAN JUAN          PR         00918

   158033 ESTEBAN RODRIGUEZ GONZALEZ REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   158034 ESTEBAN RODRIGUEZ MARRERO REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   158035 ESTEBAN RODRIGUEZ MORALES REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   158036 ESTEBAN RODRIGUEZ VAZQUEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   158038 ESTEBAN ROMERO                              REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   158039 ESTEBAN ROSADO ORTIZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   649748 ESTEBAN ROSARIO GUZMAN                      URB DELGADO                  T 19 CALLE 5                                                                          CAGUAS            PR         00725
   649749 ESTEBAN RUIZ DE JESUS                       HC 06 BOX 4567                                                                                                     COTO LAUREL       PR         00780
   158040 ESTEBAN RUIZ RUIZ                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   649750 ESTEBAN S PONI RAVALI                       SOLIMAR 30 APARTAMENTO 2 D                                                                                         MAYAGUEZ          PR         00680

   649751 ESTEBAN SAAVEDRA BARRETO                    HC 02 BOX 16469                                                                                                    ARECIBO           PR         00612
   158041 ESTEBAN SANCHEZ ESPINOSA                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   649753 ESTEBAN SANCHEZ ROSA                        URB SANTA JUANITA            BB 23 AVE SANTA JUANITA                                                               BAYAMON           PR         00956
   158042 ESTEBAN SANTANA RIVERA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   649754 ESTEBAN SANTIAGO RODRIGUEZ PO BOX 11855                                                                                                                        SAN JUAN          PR         00910‐4225
   649756 ESTEBAN SOLER HERNANDEZ    SAN ANTON APT 154                             091 CALLE ERASMO CABRERA                                                              PONCE             PR         00717
   158046 ESTEBAN SOSA DIAZ          REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   649757 ESTEBAN SOTO ORTIZ         P O BOX 7126                                                                                                                        PONCE             PR         00732
   649761 ESTEBAN TORRES COLON       EXT SAN LUIS                                  20 CALLE EFESO                                                                        AIBONITO          PR         00705‐3129
   649762 ESTEBAN URRUTIA NU¥EZ      BOX 18669                                                                                                                           SAN SEBASTIAN     PR         00685
   649763 ESTEBAN VALDES ARZATE      P O BOX 22295                                                                                                                       SAN JUAN          PR         00931

   158050 ESTEBAN VALENTIN GUERRERO                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   649764 ESTEBAN VALENTIN LOPEZ                      PO BOX 1957                                                                                                        HATILLO           PR         00659

   158051 ESTEBAN VAN TOLL RODRIGUEZ REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   649765 ESTEBAN VARAS SANTISTEBAN                   PO BOX 194863                                                                                                      SAN JUAN          PR         00919‐4863
   158052 ESTEBAN VARGAS GIL                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   649766 ESTEBAN VAZQUEZ SANTIAGO                    P O BOX 710                                                                                                        JUNCOS            PR         00777
   649767 ESTEBAN VIDOT ROSARIO                       SECTOR SAN LUIS              APT 11                                                                                GARROCHALES       PR         00652
   158055 ESTEBAN WILLIAM CRUZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   158056 ESTEBAN ZAVALA PAGAN                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   649768 ESTEBANIA AVILES PADILLA                    PO BOX 7594                                                                                                        SAN JUAN          PR         00916
   158058 ESTEBANIA GARCIA DIAZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ESTEBANIA MARQUEZ
   158059 ALEJANDRO                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   158060 ESTEBANIA MELENDEZ RIVERA                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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   649772 ESTEBANIA MONTOYO RIVERA                    URB SANTA ANA             BLOQ O 10 CALLE 8                                                                    VEGA ALTA            PR           00695‐6013

   158061 ESTEBANIA RAMIREZ PALOMO                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   158062 ESTEBANIA SAEZ CASTRO                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   649773 ESTEBANIA VAZQUEZ BONILLA                   PARC VILLA ANGELINA       191 CALLE 2                                                                          LUQUILLO             PR           00773
   649774 ESTEBANIA VILLEGAS CASTRO                   LA CUMBRE                 497 AVE E POL SUITE 147                                                              SAN JUAN             PR           00926

   649775 ESTEBITA AUTO COR./DEAWOO                   P O BOX 1732                                                                                                   CANOVANAS            PR           00729‐1732
   158064 ESTEBITA MOTORS INC                         P.O. BOX 1663                                                                                                  CANOVANAS            PR           00729
   158066 ESTEFAN G SALAZAR RAMOS                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   649777 ESTEFANA SANTANA FRED                       ADM SERV GENERALES        PO BOX 7428                                                                          SAN JUAN             PR           00916‐7428

   649778 ESTEFANIA FIGUEROA GONZALEZ HC73 BOX 4871                                                                                                                  NARANJITO            PR           00719
   158069 ESTEFANIA P PIERAS HILERA   REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   158070 ESTEFANIA RODRIGUEZ BAEZ    REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          ESTEFANIE ROOF POOL SERVICE
   649779 INC                         CARR 887 KM 7 7                           CALLE SAN ANTON                                                                      CAROLINA             PR           00985
   158071 ESTEFANY M TORRES COLON     REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   649781 ESTELA CABRERA MORALES      HC 04 BOX 46493                                                                                                                AGUADILLA            PR           00603‐9782
   158075 ESTELA CRUZ, VIRGEN         REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

          ESTELA GARCIA
   158079 FERNANDEZ/NELSON A SANTANA REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   158081 ESTELA I VALLES ACOSTA     REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   649782 ESTELA I VELEZ MORALES     150 TRES HERMANOS                                                                                                               SAN JUAN             PR           00907
   158082 ESTELA INESTA QUINONES     REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   649783 ESTELA J DEL VALLE HERNANDEZ                URB VICTORIA              64 CALLE TULIPAN                                                                     AGUADILLA            PR           00603
   649784 ESTELA LANDERAS                             REC 471108MP8             COLONIA SAN GERONIMO      432 1 CALLE SANTIAGO                                       ETEX                                            MEXICO DF
   158083 ESTELA LOPEZ PEREZ                          REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   649785 ESTELA LOZADA ORTIZ                         HC 74 BOX 5108                                                                                                 NARANJITO            PR           00719
   158085 ESTELA M VEGA VAZQUEZ                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   158087 ESTELA MORALES                              REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   158093 ESTELA RIVAS NINA                           REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   649786 ESTELA RODRIGUEZ VELAZQUEZ                  COND TOWN HOUSE           APT 1707                                                                             SAN JUAN             PR           00923
   158096 ESTELA RUIZ PEREZ                           REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   649787 ESTELA SEVILLA MARRERO                      PO BOX 67                                                                                                      TOA ALTA             PR           00954
   158098 ESTELA SINTIAGO FIGUEROA                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                PMB‐133 1353 AVE. LUIS
  1419659 ESTELA TORRES, LOU                          YARLENE JIMENEZ ROSARIO   VIGOREAUZ                                                                            GUAYNABO             PR           00966‐2700

   649788 ESTELA VIDALIA VAZQUEZ LOPEZ COCO BEACH                               805 CALLE PALMA                                                                      RIO GRANDE           PR           00745
   649789 ESTELA VIRELLA               OLD SAN JUAN STATION                     PO BOX 50063                                                                         SAN JUAN             PR           00902
   158105 ESTELLA Y RIVERA RIVAS       REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   158107 ESTELLE L VILAR SANTOS       REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   649790 ESTELLE M NAZARIO GOMEZ      URB VILLA BUENAVENTURA                   98 CALLE LUQUILLO                                                                    YABUCOA              PR           00767
          ESTEPHANY MALDONADO
   158113 MORALES                      REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   158114 ESTEPHANY TORRES NAZARIO     REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   649791 ESTER GUASCH DIAZ            PO BOX 41148                                                                                                                  SAN JUAN             PR           00940



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MML ID               NAME                                       ADDRESS 1                     ADDRESS 2               ADDRESS 3                           ADDRESS 4            CITY          STATE    POSTAL CODE        COUNTRY
  649792 ESTER M CASTRO VAZQUEZ                       SABANA GARDENS                21 CALLE 15                                                                       CAROLINA          PR           00983
  649793 ESTER M. PEREZ OSORIO                        CALLE 14 PARCELA 348                                                                                            CANOVANAS         PR           00729
  649794 ESTER RIVAS SANCHEZ                          HC 04 BOX 7739                                                                                                  JUANA DIAZ        PR           00795‐7739
         ESTERAS CINTRON, LUIS
 1419660 ORLANDO Y OTROS                              HOSTOS GALLARDO               PO BOX 70244                                                                      SAN JUAN          PR           00936‐8244
  158125 ESTERAS MACIAS MD, JOSE V                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   158133 ESTERAS VAZQUEZ MD, DORIS                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
                                                      PARCELAS ELIZABETH PUERTO
   649795 ESTERBINA CONTRERAS                         REAL                          418 CALLE LA ROSA                                                                 CABO ROJO         PR           00623

   158134 ESTERBINA ESCROGGIN CEDANO REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   158135 ESTERBINA GARCIA JIMENEZ   REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   158136 ESTERBINA RAMOS DIAZ       REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   649797 ESTERBINA RIVERA PEREZ     PO BOX 472                                                                                                                       SAN ANTONIO       PR           00690
   158137 ESTERIS ISOMEDIC SERVICES  PO BOX 415                                                                                                                       VEGA ALTA         PR           00692
          ESTERRICH INDUSTRIAL SALES
   158138 CORP                       PO BOX 3844                                                                                                                      GUAYNABO          PR           00970‐3844
                                                                                                           SUITE 1110 #209 MUNOZ RIVERA
  1422572 ESTERRICH LOMBAY, GABRIEL                   JAVIER A. COLLAZO CORREA      BANCO POPULAR CENTER   AVE.                                                       SAN JUAN          PR           00918
   158144 ESTERVINA DE PENA DE PENA                   REDACTED                      REDACTED               REDACTED                     REDACTED                      REDACTED          REDACTED     REDACTED       REDACTED
   158145 ESTERVINA DIAZ GARCIA                       REDACTED                      REDACTED               REDACTED                     REDACTED                      REDACTED          REDACTED     REDACTED       REDACTED

   158146 ESTERVINA ESCROGGIN CEDANO REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   649802 ESTERVINA TRICOCHE ORTIZ   COM AGUILITA                                   SOLAR 117                                                                         JUANA DIAZ        PR           00795

   649803 ESTERVINA URBINA VELAZQUEZ                  BO RABANAL                    BZN 2384                                                                          CIDRA             PR           00739
   158151 ESTEVA BAEZ, JOSE E.                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   158162 ESTEVA HEAL MD, RAFAEL                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

  1419661 ESTEVA MARQUEZ, GLORIA M.                   JOSÉ A. HERNÁNDEZ LÁZARO      PO BOX 331041                                                                     PONCE             PR           00733‐1041
   158165 ESTEVA NADAL, MARIA                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   158178 ESTEVEN DIAZ MENDOZA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   158179 ESTEVEN FIGUEROA PAGAN                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   158191 ESTEVES BARRETO, JESUS                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
                                                                                    INSTITUCIÓN MÁXIMA     SECCIÓN C‐2 CELDA 2026 3699
  1422935 ESTEVES GONZALEZ, PABLO                     PABLO ESTEVES GONZÁLEZ        SEGURIDAD PONCE        PONCE BYP                                                  PONCE             PR           00728‐1500
                                                                                    INSTITUCIÓN MÁXIMA     SECCIÓN C‐2 CELDA 2026 3699
  1422936 ESTEVES GONZÁLEZ, PABLO                     PABLO ESTEVES GONZÁLEZ        SEGURIDAD PONCE        PONCE BYP                                                  PONCE             PR           00728‐1500
   649804 ESTEVES TOWING SERVICE                      URB VILLAS LOS SANTOS         Y 1 CALLE 15                                                                      ARECIBO           PR           00612
                                                                                    INSTITUCIÓN MÁXIMA     SECCIÓN C‐2 CELDA 2026 3699
  1422937 ESTEVEZ GONZÁLEZ, PABLO                     PABLO ESTEVES GONZÁLEZ        SEGURIDAD PONCE        PONCE BYP                                                  PONCE             PR           00728‐1500

  1419662 ESTEVEZ, AGUSTINA P.                        GRISSELLE GONZALEZ NEGRON     PO BOX 11155                                                                      SAN JUAN          PR           00922‐1155
   649806 ESTHER A MORENO BONET                       81 KINGS COURT APT 3 B                                                                                          SAN JUAN          PR           00911

   158303 ESTHER A ORTEGA RODRIGUEZ                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   649807 ESTHER A RUBIO                              AN‐84 VIA ANTILLANA                                                                                             TRUJILLO ALTO     PR           00976
   158304 ESTHER A. MORENO BONET                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   649808 ESTHER ABREU CLASS                          204 CALLE SANTIAGO IGLESIAS                                                                                     CAMUY             PR           00627
   649810 ESTHER ALVARADO OCASIO                      HC 71 BOX 5629                                                                                                  CAYEY             PR           00736
   649811 ESTHER APONTE SERRANO                       CAMPANILLA                    J 4 CALLE MARGARITA                                                               TOA BAJA          PR           00951



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MML ID               NAME                                       ADDRESS 1                     ADDRESS 2              ADDRESS 3                           ADDRESS 4             CITY        STATE    POSTAL CODE       COUNTRY
  649813 ESTHER ARBASETTI MEDINA                      HC 71 BOX 2170                                                                                                 NARANJITO          PR         00719
  649814 ESTHER AYENDE MARTINEZ                       HC 02 BOX 15053                                                                                                ARECIBO            PR         00612
  158306 ESTHER B ROSADO MORALES                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  649815 ESTHER BATISTA                               PO BOX 1534                                                                                                    JAYUYA             PR         00664
  158307 ESTHER BERRIOS ARROYO                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  649816 ESTHER BONAFOUX RIVERA                       P O BOX 1701                                                                                                   TRUJILLO ALTO      PR         00977

   649817 ESTHER BRAVO GARCIA                         1055 CALLE EDUARDO ALVAREZ                                                                                     SAN JUAN           PR         00907
   158308 ESTHER BURGOS CAMACHO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   158309 ESTHER CABALLERO FIGUEROA                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   158310 ESTHER CALDERON ASTACIO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   158311 ESTHER CAMACHO TORRES                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   649818 ESTHER CANCEL MARQUEZ                       31 BO CATALAN                                                                                                  BARCELONETA        PR         00617

   649820 ESTHER CINTRON TORRES                       301 DW 460 AVE TITO CASTRO                                                                                     PONCE              PR         00731
   649821 ESTHER COLLAZO SANTOS                       URB EL TORITO                C20 CALLE 4                                                                       CAYEY              PR         00736
   649822 ESTHER COLON                                830 SUTTER AVE APTO 2 C                                                                                        BROOKLYN           NY         11207
   649823 ESTHER COLON ALBALADEJOS                    HC 02 BOX 11169                                                                                                COROZAL            PR         00783
   158313 ESTHER COLON SUAREZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   649824 ESTHER CRESPIN CREDI                        GOLDEN GATE                  CALLE TURQUESA J‐190                                                              GUAYNABO           PR         00968
   158314 ESTHER CRESPIN CREDIT ESQ.                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   649826 ESTHER CRUZ QUILES                          P O BOX 4061                                                                                                   MAYAGUEZ           PR         00681‐4061
   158315 ESTHER CRUZ RAMOS                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   158318 ESTHER CRUZ SOJO                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   158319 ESTHER CUBANO MONAGAS                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   158320 ESTHER DE JESUS VILLAFANE                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   649831 ESTHER DIAZ TRUJILLO                        VILLAS DE RIO GRANDE         V 2 CALLE 14                                                                      RIO GRANDE         PR         00745
   649832 ESTHER DOMINICI                             BARRIO PALOMA                23 CALLE 11                                                                       YAUCO              PR         00698
   158321 ESTHER DUMENG ABREU                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   649834 ESTHER E GARCIA OCAMPO                      EXT EL COMANDANTE            166 CALLE NIZA                                                                    CAROLINA           PR         00982
   649836 ESTHER ECHEVARIA GARCIA                     URB SANTA ELVIRA             J16 SANTA ISABEL                                                                  CAGUAS             PR         00725
   649837 ESTHER ESPINOSA SANCHEZ                     HACIENDA LA MONSERRATE       K 40 CALLE 9                                                                      HORMIGUEROS        PR         00660
   649838 ESTHER FALCON OLIVERAS                      URB VILLAS DE CARRIZO        RR 7 BOX 362                                                                      SAN JUAN           PR         00926

   649839 ESTHER FEBRES LOPEZ                         159 W CALLE PEDRO ARZUAGA                                                                                      CAROLINA           PR         00985
   649840 ESTHER FELICIANO ROLDAN                     BASE RAIMEY                  101 AVE BORINQUEN                                                                 AGUADILLA          PR         00604
   649841 ESTHER FIGUEROA ALICEA                      P O BOX 388                                                                                                    LAJAS              PR         00667
   649842 ESTHER FIGUEROA ALVAREZ                     HC 06 BOX 64491                                                                                                AGUADILLA          PR         00603
          ESTHER FIGUEROA PARA
   158322 FRANKIE ALMODOVAR                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   158323 ESTHER FIGUEROA RIOS                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   649843 ESTHER FLORES DE NIEVES                     P O BOX 9065421                                                                                                SAN JUAN           PR         00906
   649844 ESTHER GARCIA RIVERA                        URB SYLVIA C 38 CALLE 8                                                                                        COROZAL            PR         00783
   158324 ESTHER GOMEZ TORRES                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   649846 ESTHER GONZALEZ GUZMAN                      PO BOX 8155                                                                                                    CAGUAS             PR         00726
   649847 ESTHER GONZALEZ IRIZARRY                    LOS NARANJALES               EDIF C 71 APT 372                                                                 CAROLINA           PR         00985
   158325 ESTHER GONZALEZ MORALES                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   649848 ESTHER GONZALEZ SOTO                        PO BOX 9867 COTO STA                                                                                           ARECIBO            PR         00613
   649850 ESTHER HERNANDEZ                            BO JOBOS                     BOX 9‐26                                                                          ISABELA            PR         00662

   158328 ESTHER HERNANDEZ RODRIGUEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED




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   649851 ESTHER I GONZALEZ MARTINEZ                  COSTA AZUL                  E 6 CALLE B                                                                           LUQUILLO            PR           00773
   158330 ESTHER I SANCHEZ PEREZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158331 ESTHER I. DE JESUS CASTRO                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158332 ESTHER J ORTIZ ORTIZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158333 ESTHER JIMENEZ RAMIREZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158334 ESTHER JUSINO SANTIAGO                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158335 ESTHER L AGUILA RIVERA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158336 ESTHER L SERRANO MATOS                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158337 ESTHER L. RIVERA PIMENTEL                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649852 ESTHER LARREGUI SOLA                        BO OBRERO                   418 CALLE LEBITT                                                                      SAN JUAN            PR           00915
   158338 ESTHER LEYRA‐BENITEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649853 ESTHER LOPEZ MEDINA                         PO BOX 36956                                                                                                      SAN JUAN            PR           00924
   649854 ESTHER LOPEZ MORA                           SANTA JUANA 2               H 2 CALLE 2                                                                           CAGUAS              PR           00725
   649855 ESTHER LOPEZ PEDRAZA                        HC 1 BOX 3149                                                                                                     ARROYO              PR           00714
   158339 ESTHER LOPEZ RODRIGUEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649856 ESTHER LOZANO CRUZ                          70 ARECIBO GARDENS                                                                                                ARECIBO             PR           00612

   158340 ESTHER LUISA GARAY CANABAL                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158342 ESTHER M COLOM MEDINA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158343 ESTHER M ESPONDA NUNEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   649860 ESTHER M FOLGUEIRA MARTINEZ ST MARYS PLAZA 2                            1485 AVE ASHRORD APT 703                                                              SAN JUAN            PR           00907
   158344 ESTHER M ITARA LOPEZ        REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158345 ESTHER M LOZADA             REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESTHER M MARTINEZ /JOSE
   158346 NICOLAU                     REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158347 ESTHER M NATER MAISONET     REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649861 ESTHER M PAGAN ACEVEDO      P O BOX 1161                                                                                                                      TRUJILLO ALTO       PR           00977
   158348 ESTHER M PAGAN BAYONA       REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158349 ESTHER M PAGAN SERRANO      REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158350 ESTHER M PEREZ ALERS        REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158351 ESTHER M PEREZ REYES        REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649862 ESTHER M RAMIS LOPEZ        URB ALTAMESA                                1659 CALLE SANTA JUANA                                                                SAN JUAN            PR           00921
   649863 ESTHER M RAMOS NATAL        HC 4 BOX 17336                                                                                                                    CAMUY               PR           00627
   158353 ESTHER M RAMOS REYES        REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158354 ESTHER M RENTAS ANCIANI     REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649864 ESTHER M REYES MAYMI        P O BOX 5957                                                                                                                      CAGUAS              PR           00726
   158355 ESTHER M RIVERA SANTIAGO    REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   649865 ESTHER M SANTOS RIVERA                      URB ALTURAS DE RIO GRANDE   530 CALLE 12                                                                          RIO GRANDE          PR           00745
   649866 ESTHER M SEPULVEDA DIAZ                     COND MAJAGUAL               EDIF 1 APTO 1902           P O BOX 1965                                               MAYAGUEZ            PR           00680

   649867 ESTHER M TERRON SOTO                        232 AVE ELEONOR ROOSEVELT                                                                                         SAN JUAN            PR           00907
   158356 ESTHER M VALENTIN NUNEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158357 ESTHER M. FONSECA ZAYAS                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   158359 ESTHER M. RIVERA MELENDEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158360 ESTHER MACHADO PEREZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   649871 ESTHER MALDONADO GONZALEZ 167 LOS PINOS                                                                                                                       UTUADO              PR           00641

   649872 ESTHER MALDONADO GUZMAN 8 PLAZA DE MERCADO                              CALLE DR LOPEZ                                                                        FAJARDO             PR           00738



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   158362 ESTHER MALDONADO SANTOS                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESTHER MALDONADO Y MARIA
   158363 MARTINEZ                                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158364 ESTHER MARIA VELEZ SALVA                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158365 ESTHER MARIE LOZADA CRUZ                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649873 ESTHER MARTINEZ                             P O BOX 50063                                                                                                   SANJUAN             PR           00902

   649874 ESTHER MARTINEZ RODRIGUEZ                   URB CAPARRA HTS              614 CALLE ESTOCOLMO                                                                SAN JUAN            PR           00920‐4714
   649875 ESTHER MARTINEZ SANCHEZ                     URB LA PROVIDENCIA           1P7 CALLE 9                                                                        TOA ALTA            PR           00953
   649876 ESTHER MATOS FERNANDEZ                      P O BOX 642                                                                                                     CAROLINA            PR           00986
   158367 ESTHER MEDINA HERNANDEZ                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158368 ESTHER MEJIAS CALDER                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158371 ESTHER MERCADO SANTANA                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649878 ESTHER MOLINA BERNAZAR                      75 CIUDAD DEL LAGO                                                                                              TRUJILLO ALTO       PR           00976‐5450
   158372 ESTHER MONTANEZ ORTIZ                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   158373 ESTHER MONTENEGRO BARRIOS                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158376 ESTHER N ROMAN TORO                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649880 ESTHER N TORRES SANTIAGO                    HC 02 BOX 7001                                                                                                  LAS PIEDRAS         PR           00771
          ESTHER N. MELENDEZ
   158377 HERNANDEZ                                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649881 ESTHER NEGRON RODRIGUEZ                     LLANOS DEL SUR               BOX 25‐687                                                                         COTO LAUREL         PR           00780
   649882 ESTHER NIEVES                               HC 04 BOX 15236                                                                                                 HUMACAO             PR           00791
   649883 ESTHER NOVELTY SHOP                         11 CALLE CORCHADO                                                                                               AGUADILLA           PR           00603
   649884 ESTHER OLIVARI ASENCIO                      EXT SANTA TERESITA           3827 CALLE ALODIA                                                                  PONCE               PR           00728
   158378 ESTHER OLMO RODRIGUEZ                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649885 ESTHER OQUENDO VELEZ                        PO BOX 11681                                                                                                    SAN JUAN            PR           00910
   649886 ESTHER PADILLA ROSA                         COND ACUAPARQUE              APT 24 B                                                                           LEVITTOWN           PR           00949
   649888 ESTHER PEDROZA                              SUMMIT HILLS                 582 BERWIN                                                                         SAN JUAN            PR           00920
   649889 ESTHER PEREZ OJEDA                          HC 2 BOX 6054                                                                                                   MOROVIS             PR           00687
   649890 ESTHER PEREZ QUILES                         URB VISTA AZUL               K 11 CALLE 11                                                                      ARECIBO             PR           00612

   158380 ESTHER QUINTERO CARTAGENA                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649892 ESTHER R CANDELARIA ORTIZ                   URB RIVIERAS DE CUPEY        6 CALLE LIRIO                                                                      SAN JUAN            PR           00926
   158381 ESTHER RAMIREZ MONTALVO                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158382 ESTHER RAMOS PAGAN                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158383 ESTHER RAMOS PEREZ                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649893 ESTHER RIOS CRESPO                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      BO BORINQUEN SECTOR
   649894 ESTHER RIOS LOPEZ                           PLAYERA                      BOX 2236 RUTA 9                                                                    AGUADILLA           PR           00603
   158385 ESTHER RIOS RODRIGUEZ                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649896 ESTHER RIVERA                               RR 01 BOX 4228                                                                                                  CIDRA               PR           00739
   649897 ESTHER RIVERA BONILLA                       MIRADOR ECHEVARRIA           B 6 CALLE FLAMBOYAN                                                                CAYEY               PR           00737
   649805 ESTHER RIVERA CRESPO                        PO BOX 520                                                                                                      HATILLO             PR           00659
   649898 ESTHER RIVERA DE LEON                       URB PARQUE ECUESTRE          N 25 CALLE PERLA FINA                                                              CAROLINA            PR           00987
   649899 ESTHER RIVERA ORTIZ                         URB TERRANOVA                H 16 CALLE B                                                                       GUAYNABO            PR           00969
   158386 ESTHER RIVERA RIVERA                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   158387 ESTHER RIVERA VEGA                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   649900 ESTHER RIVERA VICENTE                       BO RIO ABAJO                 BOX 2136                                                                           CIDRA               PR           00739

   649901 ESTHER ROBLES RIVERA                        RESIDENCIAL LAGOS DE BLASINA EDIF 2 APT21                                                                       CAROLINA            PR           00985
   649902 ESTHER RODRIGUEZ                            HC 3 BOX 14546                                                                                                  UTUADO              PR           00641



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  158388 ESTHER RODRIGUEZ COLON                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  649904 ESTHER RODRIGUEZ GUERRA                      PMB 12                 PO BOX 6400                                                                          CAYEY               PR         00737

   649906 ESTHER RODRIGUEZ MELENDEZ BO RABANAL                               RR 1 BOX 2910                                                                        CIDRA               PR         00739
   649909 ESTHER RODRIGUEZ RIVERA     URB BARINAS                            F 29 CALLE 4                                                                         YAUCO               PR         00648
          ESTHER RODRIGUEZ Y HERMINIA
   158390 SANTOS                      REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649911 ESTHER ROMAN REYES          HC 1 BOX 11407                                                                                                              ARECIBO             PR         00612
   649912 ESTHER ROSA DELGADO         BOX 685                                                                                                                     CANOVANAS           PR         00729
   158391 ESTHER ROSADO SANCHEZ       REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649914 ESTHER ROSARIO FERNANDEZ    HANIA MARIA APARTMENTS                 TORRE 1 APTO 101                                                                     GUAYNABO            PR         00969
   649915 ESTHER ROSARIO SANTOS       PO BOX 21635                                                                                                                SAN JUAN            PR         00928
   649916 ESTHER RUILAN PEREZ         P O BOX 727                                                                                                                 JUNCOS              PR         00777
   649917 ESTHER RUIZ ROSADO          BO PUENTE SEC ZARZA                    132 CALLE A                                                                          CAMUY               PR         00627
   649918 ESTHER SANCHEZ CALDERON     C 27 RES JAGUAS                                                                                                             CIALES              PR         00635
   649919 ESTHER SANCHEZ MENDEZ       REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649920 ESTHER SANTIAGO CABRERA     SECTOR CHEVIN ROMAN                    BNZ C B 20                                                                           ISABELA             PR         00662
   649921 ESTHER SANTIAGO RIVERA      BARRIO LA QUINTA                       258 CALLE BARBOA                                                                     MAYAGUEZ            PR         00680
   158392 ESTHER SANTOS PACHECO       REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   158393 ESTHER SERRANO OCASIO       REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649923 ESTHER SERRANO SALGADO      A 11 `URB SAN BENITO                                                                                                        PATILLA             PR         00723
   158394 ESTHER SOSA NIEVES          REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   158395 ESTHER SOTO IRIZARRY        REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   158396 ESTHER TIRADO               REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649924 ESTHER TIRADO MATOS         HC 11 BOX 12009                                                                                                             HUMACAO             PR         00791
   649925 ESTHER TORRES CORTES        VILLA PARAISO                          1306 CALLE TACITA                                                                    PONCE               PR         00728
   649926 ESTHER TORRES GONZALEZ      SAN AUGUSTO                            B 14 CALLE B                                                                         GUAYANILLA          PR         00656
   649927 ESTHER TORRES MARTINEZ      P O BOX 4312                                                                                                                VEGA BAJA           PR         00694
   158397 ESTHER TORRES MORALES       REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   158399 ESTHER V CASTILLO LOZANO    REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   158400 ESTHER VALENTIN MENDEZ      REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   158401 ESTHER VAQUER JULIA         REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649930 ESTHER VARGAS AYALA         URB PONCE DE LEON                      250 CALLE 23                                                                         GUAYNABO            PR         00969
   649931 ESTHER VARGAS GONZALEZ      HC 58 BOX 15087                                                                                                             AGUADA              PR         00602
   649932 ESTHER VARGAS RODRIGUEZ     PMB 1705 PARIS 243                                                                                                          SAN JUAN            PR         00917
   649933 ESTHER VEGA BARBOSA         URB SAN TOMAS                          19 CALLE BC PLAYA PONCE                                                              PONCE               PR         00731
   158402 ESTHER VELEZ CRUZ           REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   158403 ESTHER VELEZ SANTIAGO       REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649934 ESTHER VIDAL SANTIAGO       URB TOA ALTA HEIGHTS                   R 5 CALLE 21                                                                         TOA ALTA            PR         00953

   158405 ESTHER VILLARRUBIA GONZALEZ                 REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ESTHER Y AIDA ELENA
   649935 MACHARGO PEREIRA                            HIGHLAND PARK          744 CACTEES                                                                          SAN JUAN            PR         00924
   649936 ESTHER Y PORRATA COLON                      APARTADO 881                                                                                                GUAYAMA             PR         00785
   158406 ESTHER Y. BERRIOS DAVILA                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   158407 ESTHER Z MACEIRA JIRAU                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649937 ESTHER Z RAMIREZ CARRERO                    P O BOX 101474                                                                                              SAN JUAN            PR         00919‐1474
   158408 ESTHERMARIE RIVERA ORTIZ                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649938 ESTHERVINA ROLON FLORES                     PO BOX 1192                                                                                                 CIDRA               PR         00739

   649939 ESTHETIC AIR CONDITIONING INC 400 CALLE JUAN KALAF                                                                                                      SAN JUAN            PR         00918‐1314
          ESTHETICS
   649940 INTERNATIONAL(SOTHYS          404 CALLE CESAR GONZALEZ                                                                                                  SAN JUAN            PR         00918



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  649941 ESTIBALIZ ALOMAR MELERO                      EXT ALTA VISTA              VV 25 CALLE 27                                                                            PONCE                PR           00731

   649942 ESTILITO AYALA LOPEZ                        URB JARDINES DE BORINQUEN   R 15 CALLE CANARIA                                                                        CAROLINA             PR           00985
                                                                                  201 AVE ALGARROBO EDIF LOCAL
   649943 ESTILO IMPORTS INC                          CTRO COMERCIAL ALTURAS      7Y8                                                                                       MAYAGUEZ             PR           00680
   649945 ESTILO MODERNO INC                          PO BOX 11197                                                                                                          SAN JUAN             PR           00922
   649946 ESTRADA ARROYO ELMA                         405 CARACOLES 2             HC 2 BOX 672                                                                              PENUELAS             PR           00624
   158427 ESTRADA AUTO AIR                            BO APEADERO                 HC 764 BUZON 6214                                                                         PATILLAS             PR           00723
   649947 ESTRADA AVILA SANTIAGO                      URB MAGNOLIA GARDENS        R 20 CALLE 17                                                                             BAYAMON              PR           00958
  1419663 ESTRADA CANALES, VICTOR                     JOHNNY GARCIA TIRADO        P.O BOX 2204                                                                              RIO GRANDE           PR           00745
   158465 ESTRADA COLLAZO MD, FIDEL                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          ESTRADA FLORES, ZORAIDA Y
  1422537 OTROS                                       CARLOS VICKY MORELL BORRERO APARTADO 8247 CALLE PLAYERA #129 URB CONDADO MODERNO                                      CAGUAS               PR           00726
          ESTRADA MARQUEZ REILLOT
   649948 ASSOC INC                                   URB FAIRVIEW                B 4 CALLE 1                                                                               SAN JUAN             PR           00926
          ESTRADA MAYSONET,                                                       BANCO COOPERATIVO SUITE 404‐
  1422569 ALEJANDRO                                   IRIS Y. APONTE ANDINO       B                            623 AVE. PONCE DE LEÓN                                       HATO REY             PR           00917
                                                                                  EDIF. NATIONAL PLAZA OFIC.
  1422837 ESTRADA MERCADO, DAMARIS                    LUIS GERVITZ CARBONELL      1607                         431 AVE. PONCE DE LEON                                       SAN JUAN             PR           00917

   158614 ESTRADA MONTANEZ, IRMARYS                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   158618 ESTRADA MULERO, CARLOS E.                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          ESTRADA OCASIO, HECTOR L. Y
          ESTRADA OCASIO, DASHIRA                                                CALLE ARAGON # 2 URB.
  1419664 MARIE                                       GERARDO E. TIRADO MENENDEZ TERRALINDA                                                                                 CAGUAS               PR           00725
          ESTRADA PAGAN, ANTHONY B. Y
  1419665 OTROS                                       JOSÉ R. OLMO RODRÍGUEZ      EL CENTRO I OFICINA 215                                                                   SAN JUAN             PR           00918
  1419666 ESTRADA REYES, ERICK                        DIEGO LEDEE                 PO BOX 891                                                                                GUAYAMA              PR           00785
  1419667 ESTRADA RIVERA, VICTOR                      JOHNNY GARCIA TIRADO        P.O BOX 2204                                                                              RIO GRANDE           PR           00745
   158748 ESTRADA RUIZ, CRISTOPHER                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
                                                                                  AVE. DOMENECH 207 OFICINA
  1419668 ESTRADA SANTIAGO, ANTONIO                   PEDRO JOEL LANDRAU LOPEZ    106                                                                                       SAN JUAN             PR           00918
          ESTRATEGIA A
   158817 COMMUNICATIONS                              P O BOX 13267                                                                                                         SAN JUAN             PR           00908

   158781 ESTRELLA A VAN DERDYS VIDAL                 REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   649949 ESTRELLA ALICEA GONZALEZ                    BDA SANDIN                  60 CALLE MARTE                                                                            VEGA BAJA            PR           00693
   158823 ESTRELLA ANDINO, MYRNA                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   649953 ESTRELLA CRUZ CORTEZ                        BARTOLOME LAS CASAS         374 VILLA                                                                                 SAN JUAN             PR           00915
          ESTRELLA CRUZ, JONATHAN
  1419669 GONZALEZ                                    JAIME A. ALCOVER DELGADO    PO BOX 919                                                                                QUEBRADILLAS         PR           00678‐0919
   158835 ESTRELLA D SANTIAGO PEREZ                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   158838 ESTRELLA DIAZ SANCHEZ                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   158841 ESTRELLA ELECTRICAL SERVICE                 HC 05 BOX 27168                                                                                                       CAMUY                PR           00627
   158847 ESTRELLA GARCIA SOLER                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          ESTRELLA INSU FRANCHISING
   649958 CORP                                        3750 W FLAGLER STREET                                                                                                 MIAMI                FL           33014
   649959 ESTRELLA J CLASS RODRIGUEZ                  HC 4 BOX 14707                                                                                                        MOCA                 PR           00676

   158862 ESTRELLA JIMENEZ HERNANDEZ                  REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   649960 ESTRELLA LASSALLE VELAZQUEZ                 EXT EL PRADO                G 20 CALLE LUIS R PUMAREJO                                                                AGUADILLA            PR           00603



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  158866 ESTRELLA LOPEZ COLON                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  158870 ESTRELLA LUGO FELICIANO                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         ESTRELLA MARTIR / PRIMITIVA
  158875 LUGO                                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   770589 ESTRELLA MIRANDA MARRERO                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   158887 ESTRELLA NUNEZ CALDERO                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649963 ESTRELLA PEREZ                               PO BOX 21365                                                                                                        SAN JUAN            PR         00918
   158890 ESTRELLA PEREZ SANCHEZ                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   649965 ESTRELLA QUILES MALDONADO                    URB JARD DE GUAMANI           20AA CALLE 17                                                                         GUAYAMA             PR         00784
   649966 ESTRELLA RAMOS ADORNO                        PARC 240 MONTE VERDE          BZN 5001 CALLE 12                                                                     CANOVANAS           PR         00729
   649969 ESTRELLA RIVERA MURGA                        SANTIAGO IGLESIAS             1777 ALFONSO TORRES                                                                   RIO PIEDRAS         PR         00921
   158921 ESTRELLA SANTIAGO LUGO                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   158924 ESTRELLA SOTO                                REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   158925 ESTRELLA SOTO PEREZ                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   158926 ESTRELLA SOTO VALENTIN                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649971 ESTRELLA TORRES GONZALEZ                     BO TAMARINDO                  175 CALLE 4                                                                           PONCE               PR         00731
   158932 ESTRELLA TORRES, NILDA L                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   649972 ESTRELLA TRABAL DE ROCHET                    PO BOX 355                                                                                                          MARICAO             PR         00606

   649974 ESTRELLA VAZQUEZ FIGUEROA                    HC 1 BOX 5465                                                                                                       CIALES              PR         00638
          ESTRELLAS PARA EL
   649975 FIRMAMENTO INC                               FERNANDEZ JUNCOS STA          PO BOX 8761                                                                           SAN JUAN            PR         00910

   158945 ESTRELLITA ACEVEDO TRINIDAD                  REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   158946 ESTRELLITA B VELEZ SOTO                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649976 ESTRELLITA NIEVES RIVERA                     P O BOX 1387                                                                                                        RIO GRANDE          PR         00745
   649977 ESTRHER PLAZA SANTIAGO                       HC 03 BOX 40250                                                                                                     CAGUAS              PR         00725‐9732
   159057 ESTRUCTURAS AE PSC                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   649978 ESTRUCTURAS AMBIENTALES                      RPTO METROPOLITANO            1224 AVE AMERICO MIRANDA                                                              SAN JUAN            PR         00921

   649979 ESTUDIANTES TALENTOSOS INC                   P O BOX 31070                                                                                                       SAN JUAN            PR         00929
   649980 ESTUDIO 210 INC                              PO BOX 9023872                                                                                                      SAN JUAN            PR         00902 3872
          ESTUDIO DE ARTE "OH...QUE
   649981 BELLO!"                                      PO BOX 1899                                                                                                         COROZAL             PR         00783
          ESTUDIO DE ARTE Y CIENCIA DE
   649982 SAN JUAN                                     P O BOX 9022458                                                                                                     SAN JUAN            PR         00902‐2458
          ESTUDIO DE ARTE/ '!OH... QUE
   649983 BELLO!'                                      PO BOX 1899                                                                                                         COROZAL             PR         00783

   159060 ESTUDIO GRAFICO UNIVERSAL                    CALLE AIBONITO 1451 PDA. 20                                                                                         SANTURCE            PR         00909
          ESTUDIO GRAFICO UNIVERSAL
   649984 INC                                          1451 CALLE AIBONITO                                                                                                 SAN JUAN            PR         00909

   649987 ESTUDIO H                                    1850 AVE FERNANDEZ JUNCOS                                                                                           SAN JUAN            PR         00919
   649988 ESTUDIO H Y LAZARTE                          1850 AVE PONCE DE LEON                                                                                              SAN JUAN            PR         00909
   159061 ESTUDIO INTERLINEA CORP                      67 IER PISO CALLE LOS BANOS                                                                                         SAN JUAN            PR         00911

   649989 ESTUDIO JURIDICO ARLENE VIVES PO BOX 1126                                                                                                                        ISABELA             PR         00662
   159063 ESTUDIO LABORAL               APARTADO 1211                                                                                                                      LAS PIEDRAS         PR         00771




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          ESTUDIO LEGAL ECHEANDIA Y
   159065 ASOCIADOS                    PO BOX 140549                                                                                                                    ARECIBO             PR           00614‐0549
          ESTUDIO LEGAL LLAVINA‐CALERO
   649990 CSP                          PO BOX 1282                                                                                                                      GURABO              PR           00778‐1282
          ESTUDIO LEGAL MARRERO
   159066 ALCANTARA PSC                PO BOX 310                                                                                                                       MANATI              PR           00674
   159068 ESTUDIO TECNICOS INC         AREA DEL TESORO                           DIVISION DE RECLAMACIONES                                                              SAN JUAN            PR           00902‐4140
   159070 ESTUDIOS COMERCIALES INC     P O BOX 9021194                                                                                                                  SAN JUAN            PR           00902‐1194
          ESTUDIOS DE CLASIF Y
   649991 RETRIBUCION                  UPR STATION                               PO BOX 22686                                                                           SAN JUAN            PR           00931

   649992 ESTUDIOS PARA NEGOCIOS INC                  PO BOX 22703                                                                                                      SAN JUAN            PR           00931

   649993 ESTUDIOS POLITICA EXTERIOR SA PO BOX 1185                                                                                                                     VILLALBA            PR           00766
   159051 ESTUDIOS TECNICOS INC         PO BOX 12144                                                                                                                    SAN JUAN            PR           00914‐0144
  1256488 ESTUDIOS TECNICOS, INC.       REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ESWARD PROFESSIONAL
   649995 SERVICES                      URB OLIMPO                               432 AVE CRISTO REY                                                                     GUAYAMA             PR           00784
                                                                                 IK16 AVE NOGAL URB ROYAL
   159076 ET ENGRAVING                                ROYAL PALM                 PALM                                                                                   BAYAMON             PR           00956
                                                      HP ‐ SUPERVISION DE
   649997 ETANISLA SANCHEZ ALLENDE                    ENFERMERIA                                                                                                        RIO PIEDRAS         PR           009360000
   649999 ETANISLAO COLON RIVERA                      PO BOX 153                                                                                                        GUAYNABO            PR           00970
                                                      TORREVISTA APARTMENT APT
   649998 ETANISLAO G SEMPRIT                         1704                       210 AVE TRIO VEGABAJE¥0                                                                VEGA BAJA           PR           00693

   650000 ETANISLAO GONZALEZ MARQUEZ PO BOX 5374                                                                                                                        SAN SEBASTIAN       PR           00685
   159077 ETANISLAO MARTINEZ DIAZ    REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159078 ETANISLAO MAYMI SANTIAGO   REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650001 ETANISLAO MOLINA DE JESUS  URB SAN GERARDO                             1721 CALLE COLORADO                                                                    SAN JUAN            PR           00926‐3471
   159080 ETANISLAO RODRIGUEZ CRUZ   REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650004 ETCON INC                  P O BOX 190463                                                                                                                     SAN JUAN            PR           00919
          ETELVINA GARCIA/ ANDRES
   159082 VELASCO                    REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650005 ETERIO DE JESUS SANTIAGO   BDA SANTA ANA                               19 CALLE E PANEL                                                                       GUAYAMA             PR           00784
   159084 ETHAN A TEJADA SANCHEZ     REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650006 ETHEL C. LAMELA CARDONA    PO BOX 2598                                                                                                                        ISABELA             PR           00662
   650007 ETHEL COLON RODRIGUEZ      HC 06 BOX 10125                                                                                                                    HATILLO             PR           00659
   650008 ETHEL GASTON               JARDINES DE CAPARRA                         7F1                                                                                    BAYAMON             PR           00959
   650009 ETHEL L COSME FEBUS        HC 71 BOX 1823                                                                                                                     NARANJITO           PR           00719
   159085 ETHEL L JIMENEZ TULIER     REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650010 ETHEL L TULIER POLANCO     VISTA DEL MORRO                             108 PANORAMA VILLAGE                                                                   BAYAMON             PR           00957

   650011 ETHEL M SANTISTEBAN RIVERA                  COND FLORAL PARK           58 MATIENZO CINTRON APT 2                                                              SAN JUAN            PR           00917

   159087 ETHEL M. SANTIAGO FIGUEROA                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650014 ETHEL RULLAN                                PO BOX 8062                                                                                                       ARECIBO             PR           00613

   159088 ETHELDREDA MERCADO VIERA                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159089 ETHERIDGE MD , BARBARA A                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ETHERINGTON CONSERVATION
   650016 CENTER                                      7609 BUSINESS PRK DRIVE                                                                                           GREENSBORO          PR           27409
   650017 ETHERL G RUIZ FERNANDEZ                     P O BOX 426                                                                                                       CAGUAS              PR           00726



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  159090 ETHERLINDA RENTA ZAYAS                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  650018 ETHICON LLC                                   PO BOX 982                                                                                                           SAN LORENZO       PR         00754
  159091 ETHICON LLC/ SUNE WPRI LLC                    475 CALLE C                STE 401                                                                                   GUAYNABO          PR         00969
  159094 ETHIER SOTO GONZALEZ                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  650019 ETHLEN DE JESUS OCASIO                        URB CAMPO ALEGRE           C 25 CALLE ARECA                                                                          BAYAMON           PR         00956
  650020 ETHLYN SIMON                                  JOHNSON'S POINT                                                                                                      ANTIAGUA          WI         00001‐0000
  159095 ETHMARIE GONZALEZ RIVERA                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   159096 ETHOS PROGRAM INC / ETHOS                    CARIBBEAN MEDICAL CENTRE   2275 PONCE BY PASS SUITE 204                                                              PONCE             PR         00717
          ETIENNE MUNOZ Y EVELYN
   159099 LOPEZ                                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159100 ETIENNE ROLON                                REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650023 ETINNE APONTE OSORIO                         LA PONDEROSA               480 CALLE DELIA                                                                           RIO GRANDE        PR         000745
   159101 ETIONY ALDARONDO                             REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159102 ETMAR AWARDS                                 REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650025 ETMAR GRAVING INC                            ROYAL PALM                 IK 16 AVE NOGAL                                                                           BAYAMON           PR         00956

   159103 ETNA E. ALEJANDRO RODRIGUEZ REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159104 ETNA I RODRIGUEZ LEON        REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                       100 ENTERPRISE WAY SUITE
   159105 ETR ASSOCIATES               G300                                                                                                                                 SCOTTS VALLEY     CA         95066
          ETR CONSULTING ENGINERRS
   159106 PSC                          COND SENORIAL PLAZA                        1326 CALLE SALUD SUITE 510                                                                PONCE             PR         00717
   650027 ETS INC                      CAPARRA HEIGHT STA                         PO BOX 10758                                                                              SAN JUAN          PR         00922
   159108 ETS PAYPHONES INC            PO BOX 143209                                                                                                                        FAYETTEVILLE      GA         30214
   650029 ETTELISE BURGOS GARCIA       HC 01 BOX 4591                                                                                                                       JUANA DIAZ        PR         00795‐9706
          ETTER COMPUTER SERV / ERIC L
   650030 PEREZ                        PO BOX 1207                                                                                                                          YAUCO             PR         00698‐1207
   650031 ETTIENE CORCHADO DIAZ        P O BOX 7126                                                                                                                         PONCE             PR         00732
   650032 ETTIENE ESTREMERA SOTO       URB LA RAMBLA                              688 AVE B                                                                                 PONCE             PR         00731
   650033 ETTIENE GARCIA AGUAYO        URB ARBOLADO                               H 18 CALLE ALMACIGO                                                                       CAGUAS            PR         00727
   159109 ETTIENE LUGO GOTAY           REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159110 ETTIENNE ALICEA LOZADA       REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159111 ETTIENNE LUGO DELGADO        REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   650035 ETTY MARINA DEL VALLE PAGAN                  625 VIA GUAYABAL                                                                                                     CAGUAS            PR         00727
   650036 EUBALDO ENCHAUTEGUI                          URB VILLA MAR              G 22 CALLE PACIFICO                                                                       GUAYAMA           PR         00784
          EUCLID SPIRAL PAPER TUBE                     VALLE SAN LUIS VIA DE LA
   159113 CORP                                         MONTANA 325                                                                                                          CAGUAS            PR         00725‐0000
   159114 EUCLIDES BAEZ CRUZ                           REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EUCLIDES BRIGNONI
   650040 ECHEVARRIA                                   BO DOMINQUITO              HC 2 BOX 380014                                                                           ARECIBO           PR         00612
   159115 EUCLIDES BRIGNONI VERA                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650041 EUCLIDES CRUZ FIGUEROA                       URB VILLA RITA             B 1 CALLE 2                                                                               SAN SEBASTIAN     PR         00685
   159116 EUCLIDES FELICIANO MENDEZ                    REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159117 EUCLIDES PEREZ COLLAZO                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650042 EUCLIDES RESTO CAMACHO                       URB SIERRA BAYAMON         39 A 10 CALLE B                                                                           BAYAMON           PR         00961
   650037 EUCLIDES RIVERA TORRES                       BO OLIMPO                  261 CALLE 7                                                                               GUAYAMA           PR         00784
   650043 EUDALDO MERCADO                              5702 COLLEGE STATION                                                                                                 MAYAGUEZ          PR         00681‐5702
   650044 EUDALIA SABATER GUZMAN                       URB PUERTO NUEVO           431 CALLE CONSTANCIA                                                                      SAN JUAN          PR         00920
   159120 EUDE S HERNANDEZ SONERA                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159121 EUDEL RODRIGUEZ SANTIAGO                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159122 EUDELFIO REYES MUNIZ                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  650045 EUDELIO QUILES ROMAN                         HC 3 BOX 29066                                                                                                      SAN SEBASTIAN     PR           00685

   159123 EUDEMAR MALDONADO PEREZ                     REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159124 EUDEN RODRIGUEZ AQUINO                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159125 EUDES AUTO PARTS                            REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          EUDES AUTO PARTS PADUA
   650047 GOMEZ EUDES                                 PO BOX 542                                                                                                          JAYUYA            PR           00664
   650049 EUDES MERCADO DE JESUS                      JARDINES DE CANOVANAS     D 14 CALLE TERESA WALKER                                                                  CANOVANAS         PR           00729
   650050 EUDEZ PEREZ VALENTIN                        T21 SANTA JUANA III                                                                                                 CAGUAS            PR           00725
   650051 EUDEZ R CALDERON GABRIEL                    VILLA CAROLINA            BLQ 128‐6 CALLE 71                                                                        CAROLINA          PR           00985

   650052 EUDIE CRUZ                                  URB COUNTRY CLUB          S22 CALLE FRANCISCO SAUVALLE                                                              SAN JUAN          PR           00914
   650053 EUDINA GONZALEZ BONILLA                     HC 02 BOX 24828                                                                                                     MAYAGUEZ          PR           00680
   159127 EUDIS CEDE¥A CASTRO                         REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159128 EUDIS CEDEÐO CASTRO                         REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159129 EUDIS CEDENA CASTRO                         REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159130 EUDIS CEDENO CASTRO                         REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   650054 EUFACIA SERRANO MALDONADO BO ARENAS                                   70 GANDARAS BOX 5081                                                                      CIDRA             PR           00739
   159131 EUFEMIA CINTRON CORDERO   REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   650056 EUFEMIA COCHRAN RODRIGUEZ                   URB CONDADO MODERNO       G 25 CALLE 9                                                                              CAGUAS            PR           00725
          EUFEMIA HERNANDEZ
   650057 HERNANDEZ                                   BOX 2962                                                                                                            QUEBRADILLAS      PR           00678
   650059 EUFEMIA OQUENDO RIVERA                      URB LAS AMERICAS          10 BLOQUE HH CALLE 6                                                                      BAYAMON           PR           00959
   650060 EUFEMIA RAMOS DELGADO                       HC 05 BOX 8828                                                                                                      RIO GRANDE        PR           00745‐9603

   650061 EUFEMIA RAMOS PORTALATIN                    COND BORINQUEN TOWERS I   1484 FD ROOSEVELT APT 210                                                                 SAN JUAN          PR           00920‐2718
   159132 EUFEMIA RIVERA ORTIZ                        REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159133 EUFEMIA RODRIGUEZ SOTO                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   650063 EUFEMIA SANCHEZ GONZALEZ                    URB VALENCIA 321          CALLE GERONA APT 4                                                                        SAN JUAN          PR           00923

   159134 EUFEMIO ATANACIO OLIVERAS                   REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159135 EUFEMIO COLON MENDOZA                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159136 EUFEMIO DE LEON BERRIOS                     REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159137 EUFEMIO DIAZ HICIANO                        REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   650065 EUFEMIO FLORES NEGRON                       BOX 938                                                                                                             SAN GERMAN        PR           00683
   159138 EUFEMIO LOPEZ RODRIGUEZ                     REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   159139 EUFEMIO MARTINEZ CINTRON                    REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159140 EUFEMIO MEDINA SANCHEZ                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159141 EUFEMIO RODRIGUEZ                           REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159142 EUFEMIO RODRIGUEZ RUIZ                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   650067 EUFEMIO SALAS GONZALEZ                      HC 05 BOX 106171                                                                                                    MOCA              PR           00676

   159143 EUFEMIO SANTIAGO RODRIGUEZ REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   650068 EUFEMIO SANTOS RIVERA      PO BOX 194534                                                                                                                        SAN JUAN          PR           00919‐4534
   159144 EUFEMIO SIERRA GONZALEZ    REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159145 EUFEMIO VILLANUEVA         REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159146 EUFORIAS SALON             REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159148 EUFRACIA BERRIOS VALENTIN  REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   650069 EUFRACIO NIEVES MARTES     P O BOX 3988                                                                                                                         GUAYNABO          PR           00970



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  159149 EUFRANK CACERES PARRA                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  650071 EUFROCIO TORO IRIZARRY                       HC 01 BOX 22803                                                                                                   CABO ROJO         PR         00623
  650072 EUGEN LUIS ROSELL                            URB SANTA ROSA               51 19 ALTOS CALLE 25                                                                 BAYAMON           PR         00959
  159150 EUGENE A. FURSETH PEREZ                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  650073 EUGENE AROCHO RAMIREZ                        URB LA MONSERRATE            438 CALLE PILAR                                                                      MOCA              PR         00676
  159151 EUGENE AYERS TRINIDAD                        REDACTED                     REDACTED                  REDACTED                    REDACTED                       REDACTED          REDACTED   REDACTED     REDACTED
                                                                                                             COND. NEW CENTER PLAZA APT.
  1422580 EUGENE BARTON, SCOTT                        PEDRO L. BETANCOURT RIVERA   CALLE 210 JOSÉ OLIVER     204                                                        SAN JUAN          PR         00918
   650075 EUGENE CAMARA WEINRICH                      PO BOX 6219                                                                                                       PONCE             PR         00733
   650076 EUGENE D DEMPSEY                            LAS CROABAS                  HC 67 BOX 21551                                                                      FAJARDO           PR         00738
   650078 EUGENE HESTRES                              PO BOX 9024040                                                                                                    SAN JUAN          PR         00902‐4040
   159153 EUGENE J DU BIELAK                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650079 EUGENE K MPACKO                             P S O 814 BOX 331            FPO AE NAVAL SUPPORT                                                                 SOUDA BAY                    009865       GREECE
   159154 EUGENE RODRIGUEZ COLON                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159155 EUGENE SEGUIS MEDINA                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650081 EUGENE SPEAKES DIAZ                         COND EL MONTE SUR            180 APT B 117 AVE HOSTO                                                              SAN JUAN          PR         00918

   159156 EUGENE VAZQUEZ DOMINGUEZ REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EUGENE W SCOTT Y MILDRE AMY
   650082 PRESTON                     SAN FRANCISCO                                1650 LILAS                                                                           SAN JUAN          PR         00926
   650086 EUGENIA AVILA SANCHEZ       URB. VILLA CAROLINA 168‐18                   CALLE 436                                                                            CAROLINA          PR         00985

   650087 EUGENIA AYALA PACHECO                       VILLA SANTOS MEDIANIA ALTA   HC 01 BOX 5202                                                                       LOIZA             PR         00772
   159157 EUGENIA BELTRAN LAVIENA                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650089 EUGENIA CABAN HERNANDEZ                     56 CALLE PAVIA FERNANDEZ                                                                                          SAN SEBASTIAN     PR         00685
          EUGENIA CAMARENO
   159158 MONTANEZ                                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650090 EUGENIA CARBONELL ORTIZ                     8549 AVE JOBOS                                                                                                    ISABELA           PR         00662
   650092 EUGENIA DIAZ GONZALEZ                       BO OBRERO                    433 CALLE CORTIJO                                                                    SAN JUAN          PR         00915
   650093 EUGENIA DIAZ SOTO                           HC 3 BOX 11844                                                                                                    CAMUY             PR         00627 9715
   650094 EUGENIA GARCIA                              PO BOX 21365                                                                                                      SAN JUAN          PR         00928
   159160 EUGENIA HERENCIA GARCIA                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159162 EUGENIA IRIZARRY RIVERA                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650095 EUGENIA J SANTIAGO                          PO BOX 11850 SUITE 271                                                                                            SAN JUAN          PR         00922‐1850
   650083 EUGENIA LOPEZ VILLANUEVA                    BO ESPINAL                   BOX 52‐1 CALLE E                                                                     AGUADA            PR         00602
          EUGENIA M MARRERO
   650096 RODRIGUEZ                                   PO BOX 1535                                                                                                       VILLALBA          PR         00766

   159163 EUGENIA MAYORAL WIRSHING                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   650097 EUGENIA MORALES FIGUEROA                    URB VENUS GARDENS            AC 16 CALLE TAMAULIPAS                                                               SAN JUAN          PR         00926
   650099 EUGENIA ORENGO AVILEZ                       PO BOX 1038                                                                                                       YAUCO             PR         00698
   159164 EUGENIA ORTIZ GONZALEZ                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650100 EUGENIA PENA ROBLES                         URB DOS PINOS                B 5 CALLE 2                                                                          SAN JUAN          PR         00923
   650102 EUGENIA PEREZ CRUZ                          URN SANTIAGO IGLESIAS        1754 FERER Y FERRER                                                                  SAN JUAN          PR         00921
   650103 EUGENIA PEREZ MONTIJO                       URB VILLAMAR                 1 DOMINGO RUBIO                                                                      ARECIBO           PR         00612
   650104 EUGENIA PEREZ SANTOS                        RR 02 BOX 8018                                                                                                    TOA ALTA          PR         00953
   650105 EUGENIA RIVERA                              59 WAKEMAN AVENUE                                                                                                 NEWARK            NJ         07104
   159165 EUGENIA RIVERA COLLAZO                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650106 EUGENIA RIVERA GUZMAN                       SAINT JUST                   12 CALLE BETANIA FINAL                                                               TRUJILLO ALTO     PR         00976
   159166 EUGENIA RIVERA LOZADA                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   159167 EUGENIA RODRIGUEZ BARRERA                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  159169 EUGENIA ROMAN COLLAZO                        REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  650108 EUGENIA ROSARIO SEDA                         URB VENUS GARDENS              684 CALLE AGUAS CALIENTES                                                                 SAN JUAN             PR         00926
  650111 EUGENIA SANTIAGO RIVERA                      HC 3 BOX 38627                                                                                                           CAGUAS               PR         00726
  159170 EUGENIA SANTOS MARCANO                       REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  650114 EUGENIA SOLIS HERPIN                         VILLA FONTANA                  4 BN 10 VIA 31                                                                            CAROLINA             PR         00983
  650115 EUGENIA TAPIA ROSADO                         URB EL CORTIJO                 BB 17 CALLE 3                                                                             BAYAMON              PR         00957
  159171 EUGENIA V LOPEZ DROZ                         REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   650116 EUGENIA V PEREZ                             COND CONCORDIA GARDEN 2        APT 3L                                                                                    SAN JUAN             PR         00924
   650117 EUGENIA V RIVERA FAS                        6 CALLE SAN JORGE                                                                                                        SAN JUAN             PR         00911
   159172 EUGENIA VENTURA REYES                       REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   159174 EUGENIE BELFORT                             REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          EUGENIO A CABANILLAS                        110 CALLE ENRIQUE VAZQUEZ
   650122 GALIANO                                     BAEZ                                                                                                                     MAYAGUEZ             PR         00680
   159175 EUGENIO A CANO COREA                        REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   159176 EUGENIO A COLON PADILLA                     REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          EUGENIO A GUARDIOLA
   159177 WISCOVICH                                   REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   159178 EUGENIO A LOMBA ORTIZ                       REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   650124 EUGENIO A RIVERA ORTIZ                      URB HUYKE 403                  BENITO PEREZ GALDOS                                                                       SAN JUAN             PR         00918
   650125 EUGENIO ACOSTA ROSARIO                      LA RIVIERA                     971 CALLE 5 SO                                                                            SAN JUAN             PR         00921
   159179 EUGENIO ALEMANY                             REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          EUGENIO ALEXANDRINO
   159180 AMADOR                                      REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   159181 EUGENIO ALICEA                              REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   650128 EUGENIO ALVAREZ CRESPO                      PO BOX 6463                                                                                                              PONCE                PR         00733
   159182 EUGENIO AMARO RAMOS                         REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   650129 EUGENIO ANDINO CLEMENTE                     194 CALLE LAGUNA PLAYITA                                                                                                 SAN JUAN             PR         00913
   159183 EUGENIO APONTE FIGUEROA                     REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          EUGENIO APONTE FIGUEROA /
   159184 CRIM                                        REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   650130 EUGENIO APONTE RIQUELMI                     ESTANCIAS DE TORTUGUERO        545 TULIPA ST                                                                             VEGA BAJA            PR         00693
   159185 EUGENIO BABRBOSA BURGOS                     REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   650131 EUGENIO BAEZ LOPEZ                          RR 02 BOX 8021                                                                                                           TOA ALTA             PR         00953
   159186 EUGENIO BAEZ ROSADO                         REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          EUGENIO BEAUCHAMP
   650120 BEAUCHAMP                                   PO BOX 302                                                                                                               MAYAGUEZ             PR         00681‐0302
   159188 EUGENIO BERRIOS RIVERA                      REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          EUGENIO BETANCOURT
   650132 BETANCOURT                                  URB LEVITTOWN                  BA 10 CALLE DR JOAQUIN BOSCH                                                              TOA BAJA             PR         00949
   650133 EUGENIO BONILLA ALVAREZ                     URB SAN FELIPE                 L 56 CALLE 8                                                                              ARECIBO              PR         00612
   650134 EUGENIO BOSQUES SOTO                        BOX 742                        SAN ANTONIO                                                                               AGUADILLA            PR         00690
   650135 EUGENIO BRAC                                PO BOX 550                                                                                                               NAGUABO              PR         00718
                                                      208 AVE PONCE DE LEON SUITE
   650136 EUGENIO C ROMERO DE JUAN                    1568                                                                                                                     SAN JUAN             PR         00918‐1006
   159189 EUGENIO C VICENTE                           REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   650137 EUGENIO CAMACHO RODRIGUEZ PO BOX 362                                                                                                                                 BOQUERON             PR         00622‐0362
   159190 EUGENIO CARDONA OTERO     REDACTED                                         REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   159191 EUGENIO CARDONA V LOZADA                    REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   650138 EUGENIO CHOISNE SANCHEZ                     054 MANSIONES DE LAS PIEDRAS                                                                                             LAS PIEDRAS          PR         00771



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  159192 EUGENIO COLON MORENO                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  650140 EUGENIO COLON RESTO                          EL CONQUISTADOR             I 41 CALLE 5                                                                          TRUJILLO ALTO      PR         00976
         EUGENIO CONCEPCION
  650141 VILLANUEVA                                   URB ALTURAS DE SAN FELIPE   11 CALLE B                                                                            ARECIBO            PR         00612
  159193 EUGENIO COTTO QUINONES                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  650142 EUGENIO COTTO SURIEL                         4TA SECCION LEVITOWN        D 43 CALLE MARINA                                                                     TOA BAJA           PR         00949
  159194 EUGENIO CRUZ BRITO                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  159195 EUGENIO CRUZ CRUZ                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  159196 EUGENIO DIAZ RIVERA                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  650144 EUGENIO E GARCIA CARRION                     HC 2 BOX 5299                                                                                                     LUQUILLO           PR         00773
  159197 EUGENIO E GARCIA MOLINA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   159198 EUGENIO E GONZALEZ CASTILLO                 REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   650145 EUGENIO F RIOS PORTELA                      BO LARES BOX 1172           CARR 111 KM 24.8                                                                      LARES              PR         00669
   650146 EUGENIO FERNANDEZ                           PO BOX 3423                                                                                                       GUAYNABO           PR         00970
          EUGENIO FERNANDEZ LEBRON
   650147 D/BA                                        658 CAMINO PABLO MARTINEZ                                                                                         MAYAGUEZ           PR         00680
   650148 EUGENIO FIGUEROA RIVERA                     URB ROYAL TOWN              12‐23 CALLE 55                                                                        BAYAMON            PR         00956
   650149 EUGENIO FIOL JR                             PO BOX 6017 SUITE 241                                                                                             CAROLINA           PR         00984‐6017
   159199 EUGENIO G SOTO SANTANA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   650150 EUGENIO GARCIA ADORNO                       URB CIUDAD REAL             141 CALLE ALICANTE                                                                    VEGA BAJA          PR         00693
   159200 EUGENIO GARCIA CINTRON                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   650151 EUGENIO GARCIA DIAZ                         ADM SERV GEN                PO BOX 7428                                                                           SAN JUAN           PR         00916‐7428
   159201 EUGENIO GARCIA MARTINEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   650153 EUGENIO GARCIA VEGA                         URB VISTAS DEL MAR          3218 CALLE CAVIAR                                                                     PONCE              PR         00716‐0822
   650154 EUGENIO GOMEZ GARCIA                        PO BOX 60‐307                                                                                                     BAYAMON            PR         00960
   159202 EUGENIO GOMEZ MARTINEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   159203 EUGENIO GONZALEZ CARABALLO REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   159204 EUGENIO GONZALEZ CRUZ      REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   650155 EUGENIO GONZALEZ ESTRADA                    URB SANTA JUANITA           EM 34B CALLE ENCINA SUR                                                               BAYAMON            PR         00956

   650156 EUGENIO GONZALEZ GUTIERRE                   BO CORCOBADA                HC 1 BOX 7557                                                                         HATILLO            PR         00659
          EUGENIO GONZALEZ
   159205 HERNANDEZ                                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   159206 EUGENIO GONZALEZ JORGE                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   650158 EUGENIO GONZALEZ TIRADO                     HC 01 OX 4243                                                                                                     FLORIDA            PR         00650

   159207 EUGENIO H FONTANES SANTOS                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   159208 EUGENIO HERNANDEZ ORTIZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   650159 EUGENIO HERNANDEZ RAMOS                     PO BOX 2961                                                                                                       GUAYNABO           PR         00970
   650160 EUGENIO ILLIDGE MARRIAGA                    PO BOX 2065                                                                                                       PONCE              PR         00733‐2065
   650161 EUGENIO IRIZARRY IRIZARRY                   SANTA MARIA                 H 3 CALLE 28                                                                          GUAYANILLA         PR         00656
   159209 EUGENIO J GEIGEL FUENTES                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   650163 EUGENIO J TORO                              ALTO APOLO                  30 CALLE HOMERO                                                                       GUAYNABO           PR         00969
   650164 EUGENIO J TORRES OYOLA                      FERRAMAR BUILDING           SUITE 1 1060 ASHFORD AVE                                                              SAN JUAN           PR         00907
                                                      EDIF MANUEL A COLON APT
   650165 EUGENIO JIMENEZ AYALA                       1204                        50 CALLE BORINQUEN                                                                    AGUADILLA          PR         00603
   650166 EUGENIO L RIVERA RIVERA                     URB SAN MARTIN              B 12 CALLE 3                                                                          JUANA DIAZ         PR         00795
   650167 EUGENIO L SANTONI STOKES                    529 CALLE CABO H ALVERIO                                                                                          SAN JUAN           PR         00918




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          EUGENIO L VEGA/WANDA I
   159210 ARCHILLA                                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650170 EUGENIO LOPEZ ROBLES                        PO BOX 9914                                                                                                       CAROLINA            PR           00988‐9914
   650172 EUGENIO LOPEZ VAZQUEZ                       PO BOX 9914                                                                                                       CAROLINA            PR           00985
   650173 EUGENIO LUGO LUGO                           HC 01 BOX 6211                                                                                                    YAUCO               PR           00698

   159211 EUGENIO LUGO QUIRINDONGO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   159212 EUGENIO M SANTOS HUERTAS                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   159214 EUGENIO MALDONADO COLLAZO REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650174 EUGENIO MARRERO LOPEZ     BO CONTORNO                                   42 CALLE CUBA LIBRE                                                                   TOA ALTA            PR           00953

   650175 EUGENIO MARRERO MORALES                     URB LOMAS VERDES            7 CALLE HH                                                                            MAYAGUEZ            PR           00680
   650176 EUGENIO MARRERO PADILLA                     PO BOX 235                                                                                                        COROZAL             PR           00783
   650177 EUGENIO MARTINEZ                            PO BOX 367                                                                                                        BARCELONETA         PR           00617
   159215 EUGENIO MARTINEZ LOMBA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650178 EUGENIO MARTINEZ MENDEZ                     PO BOX 1                                                                                                          SABANA HOYOS        PR           00688
   159216 EUGENIO MARTINEZ NAZARIO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159217 EUGENIO MARTINEZ POZO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   650179 EUGENIO MARTINEZ RODRIGUEZ HC 01 BOX 2949                                                                                                                     MOROVIS             PR           00687
   650180 EUGENIO MEDINA             32 BETANCES                                                                                                                        CAGUAS              PR           00725
   650181 EUGENIO MEDINA NEGRON      853 CALLE RICARDO ARROYO                                                                                                           DORADO              PR           00646
   159218 EUGENIO MEDINA SOTO        REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   159219 EUGENIO MERCADO MERCADO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159220 EUGENIO MESTRE SUAREZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   650184 EUGENIO MONCLOVA VAZQUEZ                    URB ROOSEVELT               475 ANTOLIN NIN STE 1504                                                              SAN JUAN            PR           00918
   650185 EUGENIO MONTES SOTO                         PARC INBERY                 CALLE DEL MONTE BOX 18                                                                BARCELONETA         PR           00617
   650186 EUGENIO MORALES GARCIA                      URB EL SE¥ORIAL             271 CALLE A MARCADO                                                                   SAN JUAN            PR           00926
          EUGENIO MORALES
   159221 MALDONADO                                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   650187 EUGENIO MORALES RODRIGUEZ                   CARR 119 KM O HM 4 CUINBAYO APARTADO 1026                                                                         SAN GERMAN          PR           00683
   650188 EUGENIO MORALES ROMAN                       HC 02 BOX 7614                                                                                                    CAMUY               PR           00627
   159222 EUGENIO MULERO PORTELA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159223 EUGENIO MUNIZ MUNIZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159225 EUGENIO MUNOZ IRIZARY                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159227 EUGENIO N ROJAS PEREZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650190 EUGENIO NEGRON NEGRON                       SANTA OLAYA                 RR 04 BOX 1312                                                                        BAYAMON             PR           00956
   650191 EUGENIO NEGRON OTERO                        SARAH NEGRON (TUTOR)        URB EL PRADO               124 CALLE ROSITA VARGAS                                    AGUADILLA           PR           00603
   159228 EUGENIO NUNEZ SIERRA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650192 EUGENIO OJEDA SANTOS                        FERNANDEZ JUNCOS STATION    PO BOX 1855                                                                           SAN JUAN            PR           00910‐4225
   159229 EUGENIO ONEILL AVEZUELA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EUGENIO ORTIZ DBA ORTIZ EXT
   650194 SERVICE                                     PO BOX 4422                                                                                                       CAROLINA            PR           00984
          EUGENIO ORTIZ DBA ORTIZ
   159230 EXTERMINATING & GEN                         PO BOX 4422                                                                                                       CAROLINA            PR           00984
   650195 EUGENIO ORTIZ DEL VALLE                     PO BOX 19175                                                                                                      SAN JUAN            PR           00910
   159231 EUGENIO ORTIZ MATOS                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650196 EUGENIO ORTIZ RIVERA                        URB LA MARGARITA            22 E CALLE D                                                                          SALINAS             PR           00751



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          EUGENIO ORTIZ Y MARIA
   650197 BERNACET                                    URB VILLA DE LOIZA         A3 CALLE 2                                                                               CANOVANAS            PR           00729
   650121 EUGENIO OTERO SILVA                         P O BOX 367119                                                                                                      SAN JUAN             PR           00936
          EUGENIO OYOLA C/O ROSA
   159232 FERNANDEZ OYOLA                             REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   650198 EUGENIO P RAMOS SERRANO                     SAN PEDRO                  25 CALLE RAMON RIVERA CRUZ                                                               TOA BAJA             PR           00949
   650199 EUGENIO PAGAN SANTOS                        PO BOX 977                                                                                                          MANATI               PR           00674
          EUGENIO PALACIO
   650200 DISTRIBUTORS                                MANS DE RIO PIEDRAS        1135 CALLE HORTENSIA                                                                     SAN JUAN             PR           00926‐7208
   650119 EUGENIO PALACIO RAMIREZ                     URB REXVILLE               CA 3 CALLE 13                                                                            BAYAMON              PR           00957
   159233 EUGENIO PEREZ APONTE                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650201 EUGENIO PEREZ GONZALEZ                      PO BOX 238                                                                                                          VEGA ALTA            PR           00692
   650202 EUGENIO PEREZ HERNANDEZ                     HC 2 BOX 15453                                                                                                      ARECIBO              PR           00612
   159234 EUGENIO PEREZ LOPEZ                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650204 EUGENIO PEREZ ROSA                          URB VISTAS DEL CONVENTO    2 D4 CALLE 2                                                                             FAJARDO              PR           00738
   650205 EUGENIO PEREZ VILLANUEVA                    HC 59 BOX 4533                                                                                                      AGUADA               PR           00602
   159235 EUGENIO PRADO RODRIGUEZ                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159236 EUGENIO QUIÐONES VELEZ                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   159239 EUGENIO R PORTILLA SANCHEZ                  REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   159240 EUGENIO R QUITANA PIZARRA                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EUGENIO R RODRIGUEZ
   159241 MORALES                                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650206 EUGENIO RAMIREZ BALLAGAS                    URB ALTO APOLO             2115 CALLE LERNA                                                                         GUAYNABO             PR           00969
   159242 EUGENIO RAMOS BRACERO                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650207 EUGENIO RAMOS PARRILLA                      URB VILLA FONTANA          4 C S 2 VIA 53                                                                           CAROLINA             PR           00983
   159243 EUGENIO RIOS FANTAUZZI                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   650208 EUGENIO RIOS RIOS                           URB COLINAS METROPOLITANAS T 14 CALLE MONTE DEL ESTADO                                                              GUAYNABO             PR           00969
   650209 EUGENIO RIVERA CASTRO                       100 COAMO APTS APT 78                                                                                               COAMO                PR           00769
   159244 EUGENIO RIVERA COTTO                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159245 EUGENIO RIVERA LOZADA                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650211 EUGENIO RIVERA MARRERO                      RR 2 BOX 8490                                                                                                       TOA ALTA             PR           00953
   159247 EUGENIO RIVERA OLIVERA                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650212 EUGENIO RIVERA ORTIZ                        PO BOX 64000 PMB 191                                                                                                CAYEY                PR           00737
   159248 EUGENIO RIVERA RIOS                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159250 EUGENIO RODRIGUEZ LABOY                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159251 EUGENIO RODRIGUEZ MUNIZ                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                 465 CALLE CUEBAS
   650215 EUGENIO ROMAN TORRES                        PARQUE CENTRAL             BUSTAMANTE                                                                               SAN JUAN             PR           00918
   159252 EUGENIO ROMERO ORTIZ                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650216 EUGENIO ROSADO CALDERO                      URB SYLVIA                 F 27 CALLE 10                                                                            COROZAL              PR           00783

   650219 EUGENIO ROSADO VELAZQUEZ                    LA CANDELARIA              4343 PUNTO ORO                                                                           PONCE                PR           00728

   650220 EUGENIO ROSARIO ALVARADO                    RAMEY                      323 WING RD                                                                              AGUADILLA            PR           00603
                                                      URB ENCANTADA PARQUE DEL
   650221 EUGENIO ROSARIO MOJICA                      RIO                        P E 12 VIA DEL RIO                                                                       TRUJILLO ALTO        PR           00976
   159253 EUGENIO SANCHEZ AYMAT                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650224 EUGENIO SANCHEZ BAEZ                        BARRIO JUAN DOMINGO        5 CALLE LAS MARIAS                                                                       GUAYNABO             PR           00966
   650226 EUGENIO SANCHEZ GOMEZ                       PO BOX 426                                                                                                          HATILLO              PR           00659



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  650227 EUGENIO SANCHEZ SANCHEZ                      PO BOX 2920                                                                                                     MAYAGUEZ          PR         00681‐2920
  650229 EUGENIO SANTANA CASTILLO                     PO BOX 156                                                                                                      CEIBA             PR         00775
  159254 EUGENIO SANTIAGO CANCEL                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   159256 EUGENIO SANTIAGO MARRERO                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159257 EUGENIO SANTIAGO RIVERA                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159258 EUGENIO SANTIAGO ROSARIO                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   650230 EUGENIO SANTIAGO VALENTIN                   PO BOX 9023566                                                                                                  SAN JUAN          PR         00902‐3566
   159259 EUGENIO SERAFIN INC                         PO BOX 1409                                                                                                     BAYAMON           PR         00960

   650231 EUGENIO SERRANO FELICIANO                   VILLA RITA                E 1 CALLE 3                                                                           SAN SEBATIAN      PR         00685

   650232 EUGENIO SILVESTRINI GONZALEZ URB ROMANY GARDENS                       B 3 CALLE SANTA ANA                                                                   SAN JUAN          PR         00926
   650233 EUGENIO SOSA DIAZ            P O BOX 926                                                                                                                    RIO GRANDE        PR         00745
   650234 EUGENIO SOSTRE RIVERA        RAMON MERCADO TORRES                     PO BOX 41269                                                                          SAN JUAN          PR         00940‐1269
   650235 EUGENIO SUAREZ MELENDEZ      PO BOX 2703                                                                                                                    GUAYAMA           PR         00785
   650236 EUGENIO TIRADO MIRANDA       URB ROLLING HILLS                        263 CALLE GUATEMALA                                                                   CAROLINA          PR         00987
   650237 EUGENIO TORO MARTINEZ        HC 01 BOX 22551                                                                                                                CABO ROJO         PR         00623‐9723
   159261 EUGENIO TORRES COLON         REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159262 EUGENIO TORRES DIAZ          REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159263 EUGENIO TORRES TORRES        REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159264 EUGENIO TRINIDAD FLORES      REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650240 EUGENIO TRINIDAD OLIVERAS    HC 2 BOX 8258                                                                                                                  COROZAL           PR         00783
   650241 EUGENIO VALDES ABREU         VILLA PALMERAS                           341 RAFAEL CEPEDA ATILES                                                              SAN JUAN          PR         00915

   650242 EUGENIO VALENCIA D ACOSTA                   EXT FOREST HILLS          608 CALLE TRINIDAD                                                                    BAYAMON           PR         00959
   159265 EUGENIO VALENTIN MENDEZ                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650243 EUGENIO VARGAS IRIZARRRY                    PLAYA PUERTO REAL         1174 CALLE PRINCIPAL                                                                  CABO ROJO         PR         00623
   650244 EUGENIO VARGAS SOTO                         P O BOX 4325                                                                                                    MAYAGUEZ          PR         00681
   650245 EUGENIO VAZQUEZ GALARZA                     BO INDIERA BAJA           CARR 105 KM 41 2                                                                      MARICAO           PR         00606
   650247 EUGENIO VAZQUEZ SANCHEZ                     APARTDO 141                                                                                                     MARICAO           PR         00606

   650249 EUGENIO VELAZQUEZ RUPERTO                   URB VILLA CAROLINA        109 20 CALLE 82                                                                       CAROLINA          PR         00979

   650250 EUGENIO VENEZUELA MERCADO H C 1 BOX 4173                                                                                                                    RINCON            PR         00677
   650251 EUGENIO WALKER RIVERA     PARCELA 40 CALLE 12                                                                                                               CANOVANAS         PR         00629
   159266 EUGENIO YULIAN            REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   650253 EULALIA ACEVEDO RODRIGUEZ                   PO BOX 878                                                                                                      MANATI            PR         00674
   159268 EULALIA BERNARD ARROYO                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650254 EULALIA CABAN VEGA                          PO BOX 903                                                                                                      AGUADA            PR         00602
   650256 EULALIA COLON ROMERO                        BO RABANA SECTOR CORTES   BOX 2262                                                                              CIDRA             PR         00739
   650257 EULALIA CORDERO VALENTIN                    URB VILLA CAROLINA        15 21 CALLE 23                                                                        CAROLINA          PR         00985
   650258 EULALIA CRUZ AMEZQUITA                      PO BOX 9073                                                                                                     BAYAMON           PR         00960
   159269 EULALIA CRUZ QUINONES                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EULALIA GOMEZ HUERTAS /LA
   159270 COCINA GLADYS                               BO MARTIN GONZALEZ                                                                                              CAROLINA          PR         00987

   159271 EULALIA GONZALEZ FIGUEROA                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   159272 EULALIA GONZALEZ GONZALEZ                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650263 EULALIA LOPEZ GONZALEZ                      LOS ROBLES                25 CALLE FULLONA                                                                      CAYEY             PR         00736



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   650264 EULALIA MARQUEZ MARTINEZ                    HC 2 BOX 1173                                                                                                       JUNCOS              PR           00777
   650265 EULALIA MARTINEZ LUNA                       URB MACHIN                  11 CALLE A                                                                              CAGUAS              PR           00725
   159273 EULALIA MONGE RIVERA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      BO MONTE GRANDE EXT VILLA
   650266 EULALIA MONTALVO                            ALEGRE                      BOX 592                                                                                 CABO ROJO           PR           00623
   650267 EULALIA NAVEDO VEGA                         HC 2 BOX 40906                                                                                                      VEGA BAJA           PR           00693
   159274 EULALIA NEGRON ESPINET                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159275 EULALIA NIEVES FEBLES                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159276 EULALIA PIZARRO ANDINO                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159278 EULALIA RAMOS DE RIOS                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650268 EULALIA RAMOS SANTIAGO                      HC 02 BOX 12953                                                                                                     AGUAS BUENAS        PR           00703
   650269 EULALIA REYES LUGO                          RR 4 BOX 17099                                                                                                      TOA ALTA            PR           00953‐9815
   650270 EULALIA REYES TORRES                        HC 1 BOX 16501                                                                                                      HUMACAO             PR           00791‐9729
   159279 EULALIA RIVERA FERNANDEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159280 EULALIA RIVERA ORTEGA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159281 EULALIA RIVERA ROSARIO                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   650272 EULALIA RODRIGUEZ GONZALEZ PARC RODRIGUEZ OLMO                          3 CALLE E                                                                               ARECIBO             PR           00612

   650273 EULALIA S INFANZON ACEVEDO                  653 CALLE UNION APT 4                                                                                               SAN JUAN            PR           00907 3468
   650274 EULALIA TORRES RIVERA                       BO LA MESA K M 2 3                                                                                                  CAGUAS              PR           00725
   650275 EULALIA VALENTIN                            PO BOX 525                                                                                                          SAN ANTONIO         PR           00690

   650276 EULALIA VELEZ CASTRO                        URB VILLA GRILLASCA         J 18 B CALLE EDUARDO CUEVAS                                                             PONCE               PR           00731
   650277 EULALIA VELEZ ORTIZ                         BO BAYAMON                  BOX 6187                                                                                CIDRA               PR           00739
   650279 EULALIO CORREA CASADO                       URB. COUNTRY CLUB           761 CALLE FRAY A VAZQUEZ                                                                SAN JUAN            PR           00924
   650280 EULALIO CRUZADO PEREZ INC                   URB SANTA JUANITA           DC 2 AVE MINILLAS                                                                       BAYAMON             PR           00956 5300
   650281 EULALIO FOX SAPON                           COND CHALETS DE BAYAMON     50 AVE RAMON L RODRIGUEZ    APT 2412                                                    BAYAMON             PR           00959
   650278 EULALIO MARTINEZ ROSADO                     BO CAMARONES CARR 169       KM NUM. 4                   SECTOR ROGELIO GARCIA                                       GUAYNABO            PR           00970
   159283 EULALIO ORTIZ ORTOLAZA                      REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650283 EULALIO RIVERA AYALA                        BUENA VISTA SOLAR 117                                                                                               HUMACAO             PR           00791
   159284 EULALIO ROMAN CUBA                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650284 EULALIO ROMERO ARROYO                       PO BOX 619                                                                                                          LARES               PR           00669
   159285 EULANDO PINERO GAGO                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650285 EULER LOPEZ TIRADO                          PO BOX 7126                                                                                                         PONCE               PR           00732
   650286 EULERIA BONILLA ROMAN                       BO CERRO GORDO              HC 59 BOX 6055                                                                          AGUADA              PR           00602
   159288 EULICES A SUAREZ LOPEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159289 EULISES SANDOVAL ORTIZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650288 EULOGIA MALDONADO ROSS                      JARD DE CONCORDIA           EDIF 6 APT 80                                                                           MAYAGUEZ            PR           00680

   159290 EULOGIA OQUENDO OQUENDO                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650290 EULOGIA ORTIZ MARQUEZ                       RES PORTUGUEZ               EDIF G APT 77                                                                           PONCE               PR           00731
   650291 EULOGIA ROMAN MARTINEZ                      SAINT JUST                  PARC 105 CALLE 2                                                                        TRUJILLO ALTO       PR           00976
   650287 EULOGIA ROSA SANTANA                        PO BOX 518                                                                                                          SAN LORENZO         PR           00754
   159292 EULOGIA ROSARIO ORTIZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159293 EULOGIA VALLE                               REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650293 EULOGIO ACEVEDO MORALES                     HC 2 BOX 11947                                                                                                      MOCA                PR           00676
   650294 EULOGIO AYALA ROSA                          RR 03 BOX 10232                                                                                                     TOA ALTA            PR           00953

   159294 EULOGIO BERMUDEZ ROMERO                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   650295 EULOGIO C VARGAS MORALES                    BO COLOMBIA                 240 B CALLE CAPITAN ESPADA                                                              MAYAGUEZ            PR           00680



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  650296 EULOGIO CABAN CABAN                          BOX 1171                                                                                                              MOCA                PR           00676

   650298 EULOGIO CARABALLO FELICIANO PO BOX 2256                                                                                                                           YAUCO               PR           00698
   650299 EULOGIO CARDONA             C/O EULOGIO CARDONA                           BOX 1410                                                                                SAN SEBASTIAN       PR           00685
   159295 EULOGIO CRUZ MONTANEZ       REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159296 EULOGIO DIAZ FELIX          REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159297 EULOGIO GOMEZ BORRERO       REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   650300 EULOGIO LAGUNA MOLINA                       A‐6 CALLE LAS FLORES‐PUEBLO                                                                                           RIO GRANDE          PR           00745
   159299 EULOGIO NIEVES CRESPO                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   650301 EULOGIO RODRIGUEZ FLORES                    P O BOX 87                                                                                                            HORMIGUEROS         PR           00660

   650302 EULOGIO RODRIGUEZ SANTOS                    HC 1 BOX 6613                                                                                                         SALINAS             PR           00751
   650303 EULOGIO ROQUE                               URB SAN FRANCISCO             1672 CALLE VIOLETA                                                                      SAN JUAN            PR           00927
   159300 EULOGIO SOTO MANIZ                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   650306 EULOGIO VAZQUEZ MANGUAL                     HC 02 BOX 12444                                                                                                       MOCA                PR           00676
   650307 EUMARIE SALICRUP ZAYAS                      PO BOX 29                                                                                                             SAN JUAN            PR           00926
          EUMART MARTINEZ/JOSE
   650308 MARTINEZ                                    CARR 790 RAMAR 7790 KM 0 1                                                                                            AGUAS BUENAS        PR           00703
                                                      203 COND CIUDAD
   650310 EUNDIS I OSORIO                             UNIVERSITARIA                 2 AVE PERIFERAL                                                                         TRUJILLO ALTO       PR           00976
   770592 EUNICE A PAGAN VEGA                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159302 EUNICE A. VAZQUEZ SANTOS                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159303 EUNICE AYALA LATIMER                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   650314 EUNICE CALDERON AVILES                      RES LOS DOMINICOS             EDIF B8 APT 97                                                                          BAYAMON             PR           00957
   159304 EUNICE CENTENO SANCHEZ                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   650315 EUNICE COLON RIVERA                         URB BELLA VISTA               B 5 ‐ 153 CALLE 23                                                                      BAYAMON             PR           00957
   650316 EUNICE CUEVAS ACEVEDO                       PO BOX 298                                                                                                            ANGELES             PR           00611
   650317 EUNICE D PABON PANTOJAS                     JARDINES DE CAPARRA           K2 APT 3 CALLE 1                                                                        BAYAMON             PR           00956
   650318 EUNICE DELIZ MEDINA                         URB VILLA LYDIA               919 CALLE ODISEA                                                                        ISABELA             PR           00662
   650319 EUNICE DIAZ NEGRON                          HC 2 BOX 8120                                                                                                         CIALES              PR           00638
   159305 EUNICE DIAZ TORRES                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   650320 EUNICE ESQUILIN                             BO TORRECILLA ALTA            P 64 CALLE 12                                                                           CANOVANAS           PR           00729

   159306 EUNICE FERNANDEZ RODRIGUEZ REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   650321 EUNICE GARCIA              PO BOX 21365                                                                                                                           SAN JUAN            PR           00928‐1365
   650322 EUNICE GONZALEZ GUANG      PO BOX 9674                                                                                                                            CAGUAS              PR           00725
   159307 EUNICE H PIKE VELEZ        REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159308 EUNICE J MUNOZ RIVERA      REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   650324 EUNICE JIMENEZ EMMANUELLI                   COND GREEN VILLAGE            CALLE DE DIEGO APT 102 B                                                                SAN JUAN            PR           00923
   650325 EUNICE JUARBE VILLANUEVA                    HC 02 BOX 12412                                                                                                       ARECIBO             PR           00612
   159309 EUNICE L GUZMAN REYES                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159310 EUNICE LABOY MARRERO                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159311 EUNICE LOPEZ TRUJILLO                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   650326 EUNICE M CAUSSADE GARCIA                    URB ALTAMIRA                  630 CALLE AUSTRAL                                                                       SAN JUAN            PR           00920
   650327 EUNICE M RIOS MARQUEZ                       URB ALTAMARIA D 2             B2N 129                                                                                 LARES               PR           00669
   159312 EUNICE M RODRIGUEZ                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159313 EUNICE M. VALDEZ RAMIREZ                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159314 EUNICE MA. ZAYAS GRULLON                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   650328 EUNICE MALAVE DE LEON                       COND ADALIGIA                 1452 AVE ASHFORD SUITE 303                                                              SAN JUAN            PR           00907




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          EUNICE MALDONADO
   650329 RODRIGUEZ                                   URB LOS MAESTROS               499 CALLE JOSE F MUNDO                                                                 SAN JUAN            PR           00923
   650330 EUNICE MARTINEZ JIMENEZ                     BOX 9023                                                                                                              ARECIBO             PR           00613

   650331 EUNICE MARTINEZ LOPEZ                       SABANERA                       79 CAMINO DE LOS YAGRUMOS                                                              CIDRA               PR           00739
   650332 EUNICE MARTINEZ RAMOS                       RR 8 BOX 9529                                                                                                         BAYAMON             PR           00956
   159315 EUNICE MOLINA BERMUDEZ                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159316 EUNICE MUNOZ PEREZ                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159317 EUNICE N. VELEZ GONZALEZ                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159320 EUNICE PEREZ CRUZ                           REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650338 EUNICE PEREZ TORRES                         HC 56 BOX 4512                                                                                                        AGUADA              PR           00602‐9619
   650339 EUNICE POLLOCK MARRERO                      HERMANAS DAVILA                11 CALLE 4 E                                                                           BAYAMON             PR           00959

   159321 EUNICE R ECHEVARRIA MURILLO REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650341 EUNICE RIVERA ROSARIO       PO BOX 2846                                                                                                                           JUNCOS              PR           00777
   159322 EUNICE ROSADO CRESPO        REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650343 EUNICE S GOMEZ GARCIA       PO BOX 2135                                                                                                                           GUAYAMA             PR           00785

   650345 EUNICE SANTIAGO MALDONADO QUINTAS DEL SUR                                  4854 CALLE LANCEADA                                                                    PONCE               PR           00728‐3516
   650346 EUNICE SANTIAGO SANTIAGO  VILLA NEVARES                                    1038 CALLE 5                                                                           SAN JUAN            PR           00927
   650347 EUNICE SOTO RALAT         1RA SECCION LEVITTOWN                            Y 1777 PASEO DOSEL                                                                     TOA BAJA            PR           00949
   650348 EUNICE SUAREZ ELIAS       VILLA FONTANA PARK                               FF 3 PARQUE MARIA LUISA                                                                CAROLINA            PR           00953

   650349 EUNICE URRUTIA DE PONATA                    CASA LINDA DEL SUR APT S 408                                                                                          BAYAMON             PR           00959
   650350 EUNICE VARGAS                               URB LA ROSALEDA                EB 104 BLVD MONROIG                                                                    TOA BAJA            PR           00949
   159324 EUNIS CONTRERA MATOS                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   159325 EUNISE HERNANDEZ TAMARGO                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650357 EUNISSE COLON VEGA                          URB VILLA SULTANITA            703 CALLE 13                                                                           MAYAGUEZ            PR           00680‐7028

   650358 EUQUERIO MERCADO NEGRON                     BO SANTA ROSA BZN              3028 CALLE PAVO REAL                                                                   VEGA BAJA           PR           00693
   650360 EURAY MALDONADO CRUZ                        HC 8 BOX 1256                                                                                                         PONCE               PR           00731‐9707
   650361 EUREKA GAS                                  BO GLORIA                      PO BOX 1564                                                                            TRUJILLO ALTO       PR           00977
   650362 EUREKA GAS STATION                          PO BOX 2347                                                                                                           RIO GRANDE          PR           00745‐2384

   650364 EUREKA MARINE PRODUCTS CO                   PO BOX 735                                                                                                            DORADO              PR           00646‐0735

   159330 EUREMIO ALVARADO NEGRON                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159331 EURIDICE CRUZ CEDENO                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650365 EURIDICE FUGUET JIMENEZ                     BO CAIMITO BAJO                RR 6 BOX 9787                                                                          SAN JUAN            PR           00926
   650366 EURIDIS ESPINOSA DIAZ                       URB LAS LEANDRAS               RR 4 CALLE 3                                                                           HUMACAO             PR           00791
   159332 EURIEL ACEVEDO RODRIGUEZ                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650368 EURIPIDE RIOS LASALLE                       HC 02 BOX 12516                                                                                                       MOCA                PR           00676
   159333 EURIPIDES ABREU ALEMAR                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650369 EURIPIDES DIAZ                              PO BOX 5429                                                                                                           CAGUAS              PR           00726

   650370 EURIPIDES EXCLUSA DEL TORO                  URB SIERRA BAYAMON             66 1 CALLE 45                                                                          BAYAMON             PR           00961
          EURIPIDES LUGO Y/O OLGA
   159334 PEREZ                                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650371 EURIPIDES MACHADO LOPEZ                     PO BOX 122                     BO CAPAEZ                                                                              HATILLO             PR           00659
   650372 EURIPIDES RIVERA VEGA                       URB VILLA DEL MONTE            81 CALLE MONTE BLANCO                                                                  TOA ALTA            PR           00953

   650373 EURIPIDES RIVERA VELAZQUEZ                  ALTURAS DE FLAMBOYAN 2         13 CALLE 2                                                                             BAYAMON             PR           00959



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          EURIPIDES RODRIGUEZ
   650374 SANTIAGO                                    BOX 640                                                                                                  SANTA ISABEL         PR           00757
          EURO AMERICAN AUTO PARTS
   650375 INC                                         PO BOX 190788                                                                                            SAN JUAN             PR           00919 0788

   650376 EURO AMERICAN TEXTILLE INC  283 AVE DOMENECH                                                                                                         SAN JUAN             PR           00918
          EURO AMERICANA DE EDICIONES
   159336 CORP                        PO BOX 195697                                                                                                            SAN JUAN             PR           00919‐5697
   650377 EURO AUTO                   PO BOX 19536                                                                                                             SAN JUAN             PR           00910
   650378 EURO BOUTIQUE               SMALL PLAZA                                  CARR 343 KM 0 9                                                             HORMIGUEROS          PR           00660
   831347 Euro Car Inc.               Calle Segarra #5                             Industrial Bechara                                                          Puerto Nuevo         PR           00970
   650379 EURO CARIBE INC             65 INFANTERIA STA                            PO BOX 29046                                                                SAN JUAN             PR           00929
          EURO ENGINEERING
   159337 CONTRACTOR INC              PO BOX 9510                                                                                                              BAYAMON              PR           00960

   159338 EURO EQUIPMENT & SUPPLIES                   PO BOX 190588                                                                                            SAN JUAN             PR           00919‐0588
   650380 EURO KAR AUTO REPAIR                        BOX 13777                                                                                                RIO GRANDE           PR           00745
   159339 EURO KITCHENS INC                           PO BOX 4315                                                                                              BAYAMON              PR           00958
   650382 EURO MECANICA                               BOX 4015                                                                                                 MAYAGôEZ                          00681
   650383 EURO PARTS IMPORTS                          BO RINCON                    HC 02 BOX 16500                                                             GURABO               PR           00778
   159340 EURO RSCG INC                               PO BOX 191646                                                                                            SAN JUAN             PR           00919‐1646
   650384 EURO TECH                                   APARTADO 816                                                                                             BARCELONETA          PR           00617
   650385 EURO TECH PARTS & SERVICE                   PO BOX 187                                                                                               MANATI               PR           00674‐0187

   650386 EURO TECHNIQUES                             URB LEVITTOWN 5TA SECCION    BU 3 CALLE DR QUEVEDO BAEZ                                                  TOA BAJA             PR           00949
   650388 EURO WINDOWS                                PO BOX 3867                                                                                              SAN JUAN             PR           00902‐3867
          EUROAMERICA DE EDICIONES
   159341 CORP.                                       P. O. BOX 195697                                                                                         SAN JUAN             PR           00919‐5697

   159342 EUROAMERICANA DE EDICIONES PO BOX 195697                                                                                                             SAN JUAN             PR           00919‐5697
   159343 EUROBANK                   270 AVE MUNOZ RIVERA                                                                                                      SAN JUAN             PR           00917‐0917
   650394 EUROCLASS MOTORS           P O BOX 364252                                                                                                            SAN JUAN             PR           00936‐4252
   650395 EUROCLASS MOTORS INC       P O BOX 364252                                                                                                            SAN JUAN             PR           00936
   650396 EUROGARAGE AUTO CORP       PMB 550 200 AVE RAFAEL                        CORDERO STE 140                                                             CAGUAS               PR           00725

   159345 EUROJAPON DISTRIBUTORS INC                  2135 CARR 2 ST 15            PMB 234                                                                     BAYAMON              PR           00959‐5234

   159346 EUROKA AUTO PARTS INC                       GF 7 MARGINAL LAS MONJITAS                                                                               PONCE                PR           00731
   650397 EUROMANUFACTURING CORP                      PO BOX 98                                                                                                CAROLINA             PR           00986
   159347 EUROPA PINERO GONZALEZ                      CAMBRIDGE PARK               C 8 CALLE CHESTNUT                                                          SAN JUAN             PR           00926‐1431
                                                      URB ESTANCIAS DE
   159348 EUROPEAN AUTO XPERT                         TORTUGUERO                   CALLE TULIPA H 543                                                          VEGA BAJA            PR           00693

   159349 EUROPEAN DISTRIBUTORS, INC                  HC 05 BOX 7300                                                                                           GUAYNABO             PR           00971
   159328 EUROPEAN TUNNIG                             PUERTO NUEVO                 1366 CALLE8                                                                 SAN JUAN             PR           00920

   650399 EUROSEA OF LATIN AMERICA INC PO BOX 1120                                                                                                             COTTO LAUREL         PR           00780‐1120
   159350 EUROSPACE , INC.             P. O. BOX 79141                                                                                                         CAROLINA             PR           00984‐9141
   159351 EUROSTAGE INC                URB LAS VEGAS                               29 CALLE 16                                                                 CATANO               PR           00962
   650401 EUROTEK INC                  371 AVE ALEJANDRINO                         PMB 178                                                                     GUAYNABO             PR           00969
   650402 EUROTHORITY                  URB HORIZONTES                              H 10 CALLE ALEGRIA                                                          GURABO               PR           00778
   650403 EUROWHEELSN AUTO CORP        URB LA RIVIERA                              950 AVE DE DIEGO                                                            SAN JUAN             PR           00926
   650404 EUSEBIA ACEVEDO AVILES       BASE RAMEY                                  189 A CALLE 5                                                               AGUADILLA            PR           00882



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          EUSEBIA ACOSTA Y/O MIRTA
   159352 SANTIAGO                                    BO COCO NUEVO              59 CALLE JOSE DE DIEGO                                                              SALINAS              PR           00751
   159353 EUSEBIA ARIAS MALDONADO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650405 EUSEBIA LOPEZ REYES                         BO CEIBA                   RR 02 BZN 7871                                                                      CIDRA                PR           00739
   650406 EUSEBIA NARVAEZ MENDEZ                      BO PUERTO NUEVO            CALLE AMANECER BOX 5                                                                VEGA BAJA            PR           00693
   159354 EUSEBIA PERALTA RAMOS                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650407 EUSEBIA RODRIGUEZ ALICEA                    SENADO DE PR               PO BOX 50071                                                                        SAN JUAN             PR           00902‐6271
   159355 EUSEBIO ACEVEDO PEREZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159356 EUSEBIO ADAMES MUNIZ                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159358 EUSEBIO BARBOSA RIVERA                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650409 EUSEBIO BENITEZ GARCIA                      LAGO HORIZONTE             3011 ESMERALDA                                                                      COTTO LAUREL         PR           00780
   159359 EUSEBIO CORTIJO APONTE                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159361 EUSEBIO CRUZ SANTIAGO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650410 EUSEBIO CRUZ TIRADO                         BOX 372                                                                                                        HORMIGUEROS          PR           00660
   159362 EUSEBIO D AMARO DE JESUS                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650411 EUSEBIO DE JESUS MEDINA                     PO BOX 7126                                                                                                    PONCE                PR           00732
   650413 EUSEBIO ESPADA QUI¥ONES                     URB HYDE PARK              239 CALLE LAS MARIAS                                                                SAN JUAN             PR           00927
   650414 EUSEBIO FONTAN BURGOS                       BO PERCHAS BOX 1987                                                                                            MOROVIS              PR           00687
   159363 EUSEBIO GONZALEZ DUARTE                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   159364 EUSEBIO GONZALEZ VAZQUEZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159366 EUSEBIO J COLON LEBRON                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650415 EUSEBIO JIMENEZ DE JESUS                    HC 02 BOX 7501                                                                                                 OROCOVIS             PR           00720
   650417 EUSEBIO LEON SANTIAGO                       BOX 1556                                                                                                       SANTA ISABEL         PR           00757
   159368 EUSEBIO M MEJIA                             REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650418 EUSEBIO MARTE TAVARREZ                      PO BOX 37121                                                                                                   SAN JUAN             PR           00937‐0121
   650420 EUSEBIO MEDINA PICON                        582 CALLE VERONA APT A 6                                                                                       SAN JUAN             PR           00924
   159369 EUSEBIO MERCEDES DE PENA                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650421 EUSEBIO MOLINA APONTE                       PO BOX 503                                                                                                     BARRANQUITAS         PR           00794
   159370 EUSEBIO ORTEGA BENAZARIO                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650423 EUSEBIO ORTEGA RIVERA                       PO BOX 191                                                                                                     COMERIO              PR           00782
   650424 EUSEBIO ORTIZ DONES                         P O BOX 595                                                                                                    CAYEY                PR           00736
   650425 EUSEBIO PARIS TAPIA                         H C 01 BOX 7601                                                                                                VIEQUES              PR           00765
   159371 EUSEBIO PEREZ LLERAS                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650426 EUSEBIO PEREZ ZABALA                        BO ARENAS ALTOS            27 CALLE LAS DELICIAS                                                               ISABELA              PR           00662
   159372 EUSEBIO RAMOS ROSADO                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650427 EUSEBIO RECCI DOMINQUEZ                     BO BUEN CONSEJO            213 CALLE LEON                                                                      SAN JUAN             PR           00926
   650428 EUSEBIO RIVERA SANCHEZ                      LA QUINTA                  NUM 23                                                                              MAYAGUEZ             PR           00680

   650429 EUSEBIO RODRIGUEZ MERCADO PO BOX 401                                                                                                                       VIEQUES              PR           00765
   650430 EUSEBIO ROJAS RIVERA      PO BOX 1921                                                                                                                      GUAYAMA              PR           00785

   650431 EUSEBIO ROSADO RODRIGUEZ                    BO MACANA                  CARR 132                                                                            GUAYANILLA           PR           00656
   650432 EUSEBIO ROSARIO COTTO                       P O BOX 3110                                                                                                   GUAYNABO             PR           00967
          EUSEBIO SANTIAGO SANTANA Y
   159374 NELSON D SOTO                               REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650433 EUSEBIO TORRES LOPEZ                        HC 57 BOX 9642                                                                                                 AGUADA               PR           00602‐9790

   650434 EUSEBIO URBINA Y MARIA RIOS                 PO BOX 1324                                                                                                    VEGA ALTA            PR           00692
   159376 EUSEBIO URENA CEDENO                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159378 EUSEBIO VEGA MARRERO                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   650435 EUSEBIO VILLEGAS FRANQUI                    CAIMITO BAJO SECTOR ROMERO KM 1 9                                                                              SAN JUAN             PR           00926



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  159380 EUSEBIOS CATERING                            BO PINAS                       RR 01 BOX 11460                                                                         TOA ALTA            PR         00953‐9715
  159381 EUSELIO CARRION FELICIANO                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  650437 EUSKADY BURGOS RIVERA                        COND SIERRA DEL MONTE          120 AVE LA SIERRA STE 73                                                                SAN JUAN            PR         00926
  650439 EUSTACIA REYES                               53 CALLE GUAYAMA APT 4                                                                                                 SAN JUAN            PR         00918
  650440 EUSTACIA TIRADO CAMACHO                      BO ESPERANZA                   400 CALLE GERANIO                                                                       VIEQUES             PR         00765
  159382 EUSTACIO BAEZ QUINONES                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   650441 EUSTACIO ORTIZ SANTIAGO                     BO PUNTA BRAVA                 18 CALLE TERESA DE CALCUTA                                                              BAYAMON             PR         0096103886
   159383 EUSTACIO REYES ROLASCO                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650442 EUSTACIO RIVERA SANTIAGO                    HC 1 BOX 3978                                                                                                          LARES               PR         00669

   159384 EUSTACIO RODRIGUEZ RIVERA                   REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159385 EUSTACIO SANTIAGO ORTEGA                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650444 EUSTAQUIA RIVERA MILETTE                    HC 02 BOX 12130                                                                                                        ARECIBO             PR         00612

   650446 EUSTAQUIO GUARDIOLA SIMON 1RA SECC DE LEVITTOWN                            S 1515 PASEO DELTA                                                                      TOA BAJA            PR         00949

   650447 EUSTAQUIO SANCHEZ ROSARIO                   PARCELA FALU                   331 CALLE 37                                                                            SAN JUAN            PR         00924
   159388 EUSTAQUIO SANTIAGO ROSA                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159389 EUSTAQUIO VAZQUEZ ORTIZ                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159391 EUSTIQUIO VIERA SANCHEZ                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650448 EUTACIO CACERES CABRERA                     URB VILLA NEVARRA              617 CALLE DELGADO RIVERA                                                                SAN JUAN            PR         00924
   159392 EUTERPE CHARLES MEDINA                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EV LAW PSC /EVELYN ADE JESUS
   159394 RODRIGUEZ                                   MSC 1533                       HC 04 BOX 44374                                                                         CAGUAS              PR         00727
   159395 EVA A BETANCOURT PAGAN                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   650451 EVA A ORTIZ GOMEZ                           TRIBUNAL GENERAL DE JUSTICIA   PO BOX 190917                                                                           SAN JUAN            PR         00919‐0917
   650453 EVA A VELAZQUEZ REYES                       PO BOX 1157                                                                                                            CIDRA               PR         00739
  1256489 EVA ACUNA CRUZ                              REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650455 EVA APONTE                                  PO BOX 9023786                                                                                                         SAN JUAN            PR         00902‐3786
   159399 EVA ARAYA RAMIREZ                           REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159401 EVA ARROYO RODRIGUEZ                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650456 EVA B RAMIREZ                               GUAYAMA VILLEY C 12            CALLE AMBAR                                                                             GUAYAMA             PR         00784‐7622
   159402 EVA BAEZ GAUD                               REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159403 EVA BAEZ SANTANA                            REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650457 EVA BATISTA COLLAZO                         COND VIZCAYA APT 420                                                                                                   CAROLINA            PR         00985‐2301
   650458 EVA BELTRAN BELTRAN                         HC 01 BOX 17249                                                                                                        HUMACAO             PR         00791
   650459 EVA BERRIOS                                 MAGNOLIA GARDENS               H 33 CALLE 10                                                                           BAYAMON             PR         00956
   650460 EVA BOLIVAR PASARELL                        COND EL QUIJOTE                7 CALLE CERVANTE APT PH 2                                                               SAN JUAN            PR         00907
   650461 EVA BOSQUE TORRES                           CHALETS DE ROYAL PALM          100 CALLE F APT 302                                                                     BAYAMON             PR         00956
   650462 EVA BRUNO                                   URB VALLE DE YABUCOA           218 CALLE COABA                                                                         YABUCOA             PR         00767
   650463 EVA C MALDONADO CANCEL                      HC 01 BOX 7651                                                                                                         SAN GERMAN          PR         00683
   650464 EVA CABALLERO                               URB PARK GARDENS               E7 CALLE GENERALIFE                                                                     SAN JUAN            PR         00926
   650465 EVA CABAN COSTA                             TORRE DE ANDALUCIA             TORRE 1 APTO 606                                                                        SAN JUAN            PR         00926
   159404 EVA CALDERON SANTOS                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650466 EVA CAMACHO DETRES                          P O BOX 1396                                                                                                           LAJAS               PR         00667
   650467 EVA CASTRO GONZ                             BDA VISTA ALEGRE               1123 CALLE AMARILLO                                                                     SAN JUAN            PR         00926
   650468 EVA CINTRON VARGAS                          HC 1 BOX 3677                                                                                                          VILLALBA            PR         00766
   650469 EVA CLEMENTE CALDERON                       HC 1 BOX 7323                                                                                                          LOIZA               PR         00772
   159405 EVA CO DE JESUS COLLAZO                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650470 EVA CONCEPCION MELERO                       RES MONTE PARK                 EDIF T APT 281                                                                          SAN JUAN            PR         00924
   159406 EVA CORDERO CRUZ                            REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  650472 EVA CRISPIN DE JESUS                         BO EL VERDE               PO BOX 846                                                                            RIO GRANDE        PR         00745
  650473 EVA CRUZ GARCIA                              243 CALLE PARIS 1512                                                                                            SAN JUAN          PR         00917
  650474 EVA CRUZ GONZALEZ                            PO BOX 50006                                                                                                    LEVITTOWN         PR         00950
  159407 EVA D MATOS CORTES                           REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159409 EVA D ROBLES HERNANDEZ                       REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159410 EVA DE JESUS GONZALEZ                        REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159411 EVA DE JESUS VISCARRONDO                     REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   159412 EVA DEL C SIERRA RODRIGUEZ                  REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159413 EVA DEL RIO AGUILAR                         REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650482 EVA DIAZ ROSADO                             URB REXVILLE              CK21 CALLE 6A                                                                         BAYAMON           PR         00957
   159414 EVA DIAZ SOTO                               REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650484 EVA DORIS BUSANET                           BO TAMARINDO              188 CALLE 2                                                                           PONCE             PR         00731
   650485 EVA E ARZUAGA SANTIAGO                      PO BOX 914                                                                                                      CAGUAS            PR         00725
   159416 EVA E AVILA CUADRADO                        REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650487 EVA E DEL RIO BECEIRO                       J 77 SEVILLA BILTMORE                                                                                           GUAYNABO          PR         00969

   650489 EVA E MENDEZ PEREZ                          URB LA INMACULADA         237 CALLE MONSENOR BERRIOS                                                            VEGA ALTA         PR         00692
   159417 EVA E RIVERA VELEZ                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159419 EVA E TORO JIMENEZ                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159420 EVA E. DE JESUS CARRASCO                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   159421 EVA E. FIGUEROA HERNANDEZ                   REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EVA ENID FIGUEROA
   159422 HERNANDEZ                                   REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650491 EVA ENID SEPULVEDA TORRES                   1‐1 ARBOLADA GRANADILLO                                                                                         CAGUAS            PR         00725
   650493 EVA FIGUEROA LEON                           REPARTO MONTELLANO        F 27 CALE B                                                                           CAYEY             PR         00736
   159423 EVA FIGUEROA LOPEZ                          REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650492 EVA FIGUEROA REYES                          HC 1 BOX 4894                                                                                                   CAMUY             PR         00627‐9610
   159424 EVA FORTUNA RIVERA                          REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650494 EVA FUENTES DE COLàN                        PO BOX 371581                                                                                                   CAYEY             PR         00737‐1581
   650495 EVA FUENTES RUIZ                            URB SAN AGUSTIN           365 SOLDADO LIBRAN                                                                    SAN JUAN          PR         00923
   159426 EVA G. VENEGAS CARMONA                      REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159427 EVA GARCIA DAVILA                           REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650498 EVA GONZALEZ DE CAYERE                      URB EXT VILLAMAR          F 0 6 CALLE 5                                                                         CAROLINA          PR         00979
   650499 EVA GONZALEZ MONCLOVA                       URB SANTA MARIA           217 MIMOSA                                                                            SAN JUAN          PR         00927
   159430 EVA GONZALEZ PAONESSA                       REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650500 EVA GONZALEZ RIVERA                         HC 3 BOX 7502                                                                                                   CAMERIO           PR         00782
   650501 EVA GUADALUPE CASTRO                        HC 1 BOX 5901                                                                                                   JUNCOS            PR         00777
   159431 EVA H MORALES RIVERA                        REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159432 EVA H SANTIAGO ROSADO                       REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650504 EVA HENAO PEREZ                             19 CALLE DR CUETO                                                                                               UTUADO            PR         00641
   159433 EVA I BAEZ COSME                            REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159434 EVA I CALDERON VILLAFANE                    REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650506 EVA I GARCIA PEREZ                          URB MONTE BELLO           APT R 636                                                                             TRUJILLO ALTO     PR         00976
   650507 EVA I MATOS BORRERO                         HC 03 BOX 36653                                                                                                 AGUADILLA         PR         00603
   159435 EVA I MENDEZ BABILONIA                      REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650508 EVA I RAMIREZ CASTRO                        URB LAS LEANDRAS          P 7 CALLE 9                                                                           HUMACAO           PR         00791
   650509 EVA I ROBLES TORRES                         HC 02 BOX 7070                                                                                                  OROCOVIS          PR         00720
  1256490 EVA I. MILLAN BENITEZ                       REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159436 EVA IBARZABAL RODRIGUEZ                     REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650510 EVA IRIZARRY VDA TOLEDO                     URB EL VEDADO 237         CALLE ELEONOR ROOSEVELT                                                               SAN JUAN          PR         00918‐3010




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   650511 EVA ISABEL DIAZ TORRES                      COND INMACULADA II APT 505   1717 AVE PONCE DE LEON                                                                     SAN JUAN            PR           00909
   650512 EVA J ARROYO CORA                           URB JARDINES DEL MAMEY       7 CALLE 2                                                                                  PATILLAS            PR           00723
   159437 EVA J CRUZ DONES                            REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650514 EVA J GARCIA COLON                          7 CALLE GUANO                                                                                                           COTTO LAUREL        PR           00780
   650515 EVA J IRIZARRY NIEVES                       PMB 02                       PO BOX 1900                                                                                FLORIDA             PR           00650
   650516 EVA J IRIZARRY SOTO                         EXT MARIANI                  K 115                                                                                      PONCE               PR           00731
   650517 EVA J MARTINEZ CRUZ                         RES SANTIAGO IGLESIAS        BLQ 30 APT 243                                                                             PONCE               PR           00730
   650518 EVA J MARTINEZ RODRIGUEZ                    URB ALTURAS DE YAUCO         N14 CALLE 11                                                                               YAUCO               PR           00698
   650519 EVA J TORRES ORTIZ                          BDA MORALES                  213 CALLE H                                                                                CAGUAS              PR           00725
   159438 EVA J VALENTIN RIVERA                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159439 EVA J. ARROYO CORA                          REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159440 EVA JUSINO VAZQUEZ                          REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159441 EVA L ACEVEDO BONILLA                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159442 EVA L BAEZ MOJICA                           REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650523 EVA L BONILLA                               BARRIADA POLVORIN            65 CALLE 7                                                                                 CAYEY               PR           00736
   650524 EVA L CAJIGAS HERNANDEZ                     HC 1 BOX 5419                                                                                                           CAMUY               PR           00627
   650525 EVA L CALVENTE ROSA                         PO BOX 448                                                                                                              VEGA ALTA           PR           00692
   159443 EVA L CARTAGENA SANCHEZ                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650527 EVA L DELGADO                               URB REXVILLE                 BL 37 CALLE 41                                                                             BAYAMON             PR           00957
   650528 EVA L FERNANDEZ                             PO BOX 7891                                                                                                             CAGUAS              PR           00726
   159445 EVA L GARCIA ROSARIO                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650530 EVA L GRACIA CINTRON                        VALLE HERMOSO                M 3 CALLE MIRTOS                                                                           HORMIGUEROS         PR           00660
   159446 EVA L MARTINEZ ORTIZ                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650532 EVA L MENENDEZ JOY                          PO BOX 6559                                                                                                             SAN JUAN            PR           00914‐6559
   650533 EVA L MORALES RIVERA                        URB RIO HONDO 3              CE 21 CALLE EUCALIPTOS                                                                     BAYAMON             PR           00961‐3423
   650534 EVA L ORTIZ RIVERA                          PO BOX 9300‐00761                                                                                                       SAN JUAN            PR           00930
   650535 EVA L RAMIREZ MORALES                       RES VILLA FAJARDO I          APT B 30                                                                                   FAJARDO             PR           00738
   650522 EVA L RAMIREZ RODRIGUEZ                     AA 58 BO PLAYA                                                                                                          SALINAS             PR           00751
   650536 EVA L REYES GONZALEZ                        URB VISTAMAR                 450 CALLE PORTUGAL                                                                         CAROLINA            PR           00983
   650538 EVA L RODRIGUEZ RAMIREZ                     AA 58 BO PLAYA                                                                                                          SALINAS             PR           00751
   650539 EVA L RODRIGUEZ SERRANO                     HC 01 BOX 8664                                                                                                          AGUAS BUENAS        PR           00703
   650540 EVA L SANCHEZ VD CASTRO                     URB FLORAL PARK              12 CALLE GUAYAMA                                                                           SAN JUAN            PR           00917

   650541 EVA L SANCHEZ VDA DE CASTRO                 URB FLORAL PARK              12 CALLE GUAYAMA                                                                           SAN JUAN            PR           00917‐4425
   159450 EVA L SANTIAGO CINTRON                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159451 EVA L SANTIAGO PADILLA                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159452 EVA L SERRANO MUNOZ                         REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650543 EVA L TAMAYO MATOS                          VILLA ASTURIAS               30 28 CALLE PRAVIA                                                                         CAROLINA            PR           00983
   650545 EVA L TORRES PEREZ                          COND SANTA ANA APT 4E                                                                                                   GUAYNABO            PR           00966
   650546 EVA L TORRES REYES                          PO BOX 3312                                                                                                             GUAYNABO            PR           00970
   159455 EVA L. COLON MALDONADO                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159456 EVA L. HERNANDEZ DIAZ                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159458 EVA L. ORTIZ CAMACHO                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159459 EVA L. SOSTRE RODRIGUEZ                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159460 EVA LANDRON                                 REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159461 EVA LIZARDI RODRIGUEZ                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650549 EVA LOPEZ GARCIA                            HC 05 BOX 92165                                                                                                         ARECIBO             PR           00612‐9528
   650550 EVA LOPEZ SANTIAGO                          HC 763 BOX 3233                                                                                                         PATILLAS            PR           00723
   159462 EVA LUISA SANCHEZ ORTIZ                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   650552 EVA LUZ DIAZ ORTIZ                          URB COUNTRY CLUB             853 CALLE SARA ISABEL SPENCER                                                              SAN JUAN            PR           00924
   650553 EVA M CABAN GARCIA                          PO BOX 7331                                                                                                             PONCE               PR           00732



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  650554 EVA M COLON MORALES                          HC 02 BOX 7537                                                                                          CIALES              PR           00633

   159464 EVA M CONCEPCION OQUENDO                    REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159465 EVA M CRUZ ECHEVARRIA                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   650555 EVA M JIMENEZ MENDEZ                        118 CALLE HARRISON                                                                                      AGUADILLA           PR           00604
   159466 EVA M LARRAURI                              REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   650556 EVA M LUGO ACOSTA                           PO BOX 52                                                                                               SANTA ISABEL        PR           00757
   159467 EVA M MALDONADO CRUZ                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159468 EVA M MARQUEZ CRUZ                          REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159469 EVA M MORALES SANTIAGO                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159470 EVA M ORTIZ VAZQUEZ                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159471 EVA M PORTILLO OTAROLA                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159472 EVA M. CEDENO CORTES                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159473 EVA M. FLORES GONZALEZ                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   650559 EVA M. VELAZQUEZ                            P O BOX 553                                                                                             HUMACAO             PR           00792
   159474 EVA MACHADO PEREZ                           REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   650560 EVA MAJEWSKA MARTYNIAK                      PO BOX 9222982                                                                                          SAN JUAN            PR           00902‐2982
   159475 EVA MALDONADO DEL VALLE                     REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   650562 EVA MARGARITA TORO VAZQUEZ 40 A CALLE AMISTAD                                                                                                       LAJAS               PR           00667
   650563 EVA MARIA CRUZ ORTIZ       P O BOX 71                                                                                                               COMERIO             PR           00782

   159476 EVA MARIE MARRERO MARTINEZ REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   650564 EVA MARRERO MONTESINO       PMB 3110                              PO BOX 90000                                                                      COROZAL             PR           00783
   159477 EVA MARTI MENDEZ            REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159478 EVA MATIAS CAMACHO          REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159479 EVA MATOS PARDO             REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   650566 EVA MEDINA OLMO             HC 3 BOX 21978                                                                                                          ARECIBO             PR           00612
   159480 EVA MONTALVO VELEZ          REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159481 EVA N AYALA/ JOSE DIAZ      REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   650567 EVA N CASTRO BORRERO        SANTA CATALINA                        EDIF 28 APT 168                                                                   YAUCO               PR           00698
   159482 EVA N COLLAZO OTERO         REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   650568 EVA N CURET FEBUS           HC 1 BOX 6562                                                                                                           CIALES              PR           00638
          EVA N ECHEVARRY / MIGUEL A
   159483 OLIVO                       REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159485 EVA N LAMBOY LEBRON         REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159486 EVA N MORELL TOLEDO         REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          EVA N NIEVES QUINONES/ PURA
   159487 ENERGIA INC                 PO BOX 306                                                                                                              AGUADA              PR           00602
   159488 EVA N PEREZ QUINTANA        REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   650573 EVA N RIOS GONZALEZ         BO ESPINAR                            BUZON 1229                                                                        AGUADA              PR           00602
   159489 EVA N RODRIGUEZ MILLAN      REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159490 EVA NAZARIO SANTANA         REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   650577 EVA NEGRON MARRERO          LA PUNTILLA                           3 CALLE PASAJE                                                                    CATA¥O              PR           00962
   650578 EVA NEGRON SERRA            URB VALLE VERDE                       2009 CALLE CAUDAL                                                                 PONCE               PR           00716‐3604
   159491 EVA NEVAREZ CANDELARIA      REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          EVA NILDA ALVARADO
   159492 RODRIGUEZ                   REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   159493 EVA OCASIO QUINONES         REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   650579 EVA OCASIO RAMIREZ          HC 59 BOX 6544                                                                                                          AGUADA              PR           00602
   650580 EVA ORSINI CONDE            2754 AVE LAS AMERICAS                                                                                                   PONCE               PR           00717‐0300
   159494 EVA ORTIZ SERRANO           REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   650581 EVA P ORTIZ ROSARIO         URB CUPEY GDNS                        M18 CALLE 8                                                                       SAN JUAN            PR           00926 7326



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  159495 EVA P ROJAS PEREZ                            REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  650582 EVA PASTRANA GUADALUPE                       HC 01 BOX 12257                                                                                                    CAROLINA            PR         00987
  650583 EVA PE¥A LOPEZ                               AMSCA                     PO BOX 9065252                                                                           SAN JUAN            PR         00906
  650585 EVA PEREZ CORREA                             RES EL PRADO              EDF 43 APT 209                                                                           SAN JUAN            PR         00924
  159496 EVA PEREZ COSME                              REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  650586 EVA PEREZ DELIZ                              COM LOS PONCE             398 CALLE SIRENA                                                                         ISABELA             PR         00662
  650587 EVA PRADOS RODRIGUEZ                         P O BOX 40895                                                                                                      SAN JUAN            PR         00910‐0895
  159497 EVA R MARTINEZ TORRES                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  650589 EVA R TORRES SEPULVEDA                       PO BOX 21365                                                                                                       SAN JUAN            PR         00928‐1365
  650591 EVA RAMOS VAZQUEZ                            VILLA LA MARINA           J 10 CALLE 6                                                                             CAROLINA            PR         00979
  650593 EVA RIVERA                                   PO BOX 50063                                                                                                       SAN JUAN            PR         00902
  650594 EVA RIVERA GARCIA                            SAN JOSE                  CALLE BLANES                                                                             SAN JUAN            PR         00923
  650595 EVA RIVERA MIRANDA                           PO BOX 73                                                                                                          CIALES              PR         00638
  650598 EVA RIVERA VALLE                             BO ZANJAS                 CARR 486                                                                                 CAMUY               PR         00627
  650600 EVA RIVERA VIZCARRONDO                       ADM SERV GENERALES        P O BOX 7428                                                                             SAN JUAN            PR         00916‐7428
  650601 EVA ROBLES MULERO                            HC 66 BOX 5725                                                                                                     FAJARDO             PR         00738‐9614
         EVA ROCIO VAZQUEZ
  650602 CARABALLO                                    P O BOX 1191                                                                                                       CAYEY               PR         00737
  159499 EVA RODRIGUEZ CINTRON                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  650450 EVA RODRIGUEZ CINTRON                        URB VILLA DEL CARMEN      3132 ST TURPIAL                                                                          PONCE               PR         00716‐2251
  159500 EVA RODRIGUEZ GERONES                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  650605 EVA ROLON BONES                              HC 1 BOX 6830                                                                                                      SALINAS             PR         00751‐9730
  650606 EVA ROMAN DE ALBA                            URB VISTA DEL MAR         2537 CALLE NACAR                                                                         PONCE               PR         00716
  650607 EVA ROSA JUSINO                              REINA DE LOS ANGELES      2 CALLE 5                                                                                DORADO              PR         00778
  159501 EVA ROSADO LEBRON                            REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  650609 EVA ROSARIO FUENTES                          BOX 566                                                                                                            LUQUILLO            PR         00773

   650610 EVA S GIRAUD SOTO                           URB RIO HONDO 2           AJ 9 CALLE RIO JAJOME NORTE                                                              BAYAMON             PR         00961
   650611 EVA S LAGO ORSINI                           P O BOX 9020458                                                                                                    SAN JUAN            PR         00902‐0458
   650613 EVA S SOTO CASTELLO                         COND PARK TOWER APT 202   A 25 CALLE FRANCISCO SEIN                                                                SAN JUAN            PR         00917‐2411
   159504 Eva S. Lebrón Montes                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159505 EVA SANJURJO                                REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159506 EVA SANTIAGO CRUZ                           REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650614 EVA SANTOS ROSARIO                          URB ONEIL                 23 CALLE C                                                                               MANATI              PR         00674
   159507 EVA SEPULVEDA GONZALEZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159509 EVA TORRES HERNANDEZ                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650618 EVA TORRES VELEZ                            COOP VILLAS DE NAVARRA    SANTA JUANITA EDIF 24 APT B                                                              BAYAMON             PR         00956
   159510 EVA V PIZARRO CLAUDIO                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159511 EVA VALENTIN ESPINAL                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650619 EVA VALLE NIEVES                            PO BOX 1179                                                                                                        ISABELA             PR         00662

   650620 EVA VAZQUEZ                   COND VISTA VERDE                        1329 AVE SAN IGNACIO APT 506                                                             SAN JUAN            PR         00920
   650622 EVA VEGA IRIZARRY             BO MONTE GRANDE                         129 MARGARITA                                                                            CABO ROJO           PR         00623
   159512 EVA VELAZQUEZ CALZADA         REDACTED                                REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159514 EVA VELAZQUEZ SOUCHET         REDACTED                                REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650625 EVA VERDEJO OQUENDO           EL MIRADOR BO OBRERO                    EDIF 13 APT A 2                                                                          SAN JUAN            PR         00915
   650627 EVA VIZCARRONDO ROMAN         VILLA CAROLINA                          4‐35 CALLE 14 Q                                                                          CAROLINA            PR         00985
   650628 EVA Y CALDERON SANCHEZ        PO BOX 907                                                                                                                       CANOVANAS           PR         00729
   650629 EVA Y RADINSON PEREZ          P O BOX 2580                                                                                                                     MOCA                PR         00676
   159516 EVA Y. RADINSON PEREZ         REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650630 EVA YORRO MARCANO             PO BOX 50063                                                                                                                     SAN JUAN            PR         00902
          EVACION CONTRIBUTIV / VIOLA L
   159518 RODRIGUEZ                     REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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                                                      29 RANGEMORE ROAD
   159519 EVACUSLED, INC                              TORONTO                                                                                                            ONTARIO             ON           M8Z 5H8       Canada
   159520 EVADILIA CORDERO                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   650632 EVADNEY RICHARDSON ROSLYN PO BOX 12065                                                                                                                         ST THOMAS           VI           00801‐5065

   650633 EVALEEZ GONZALEZ DOMINICCI                  PO BOX 943                                                                                                         COAMO               PR           00769
   159521 EVALIX RESTO SUAREZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650635 EVALIZ MARTELL RIVERA                       HC 2 BOX 10262                                                                                                     LAS MARIAS          PR           00670‐9041
   159522 EVALIZ RIVERA MEDINA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EVALUACION TRATAMIENTO Y
   159523 SERVICIOS INT.                              PMB 673                     PO BOX 7105                                                                            PONCE               PR           00732
          EVALUATION AND RESEARCH
   159524 GROUP                                       AREA DEL TESORO             DIVISION DE RECLAMACIONES                                                              SAN JUAN            PR           00902‐4140
          EVALUATION SOFTWARE
   650638 PUBLISHING INCORP                           1510 WEST 34 STREET SUITE 200                                                                                      AUSTIN              TX           78703
   159528 EVALYN J BEAUCHAMP                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159529 EVAMARIE MENDEZ TORRES                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159530 EVAN E APONTE ROSA                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159531 EVAN J VENEGAS DIAZ                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159532 EVAN NICHOLS BOIRIE                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159533 EVANELIE RONDON DIAZ                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   650641 EVANESSA GONZALEZ FIGUEROA VILLA FONTANA                                3CN 18 VIA 62                                                                          CAROLINA            PR           00983
   650642 EVANGELICA RIVERA          LAS MARIAS                                   E 7 CALLE 4                                                                            SALINAS             PR           00751
          EVANGELICAL CHURCH &
   650643 CENTRE FOR THE DEAF        P O BOX 194175                                                                                                                      SAN JUAN            PR           00919‐4175
          EVANGELICAL COMMUNITY
   159534 HOSPITAL                   PO BOX 61507                                                                                                                        KING OF PRUSSIA     PA           19406
          EVANGELICAL SCHOOL FOR THE
   159535 DEAF                       HC 1 PO BOX 7111                                                                                                                    LUQUILLO            PR           00773‐9602
   650644 EVANGELINA APONTE SANTOS   LEVITOWN                                     FE 33 CALLE MARIA CADILLA                                                              TOA BAJA            PR           00950
          EVANGELINA B.OCASIO
   159536 RODRIGUEZ                  REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650645 EVANGELINA BERRIOS SIERRA  8133 ROYALTON RD                                                                                                                    ORLANDO             FL           32825

   159537 EVANGELINA CIFUENTES CASTRO REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   159538 EVANGELINA COLON FANTAUZZI                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650646 EVANGELINA COLON PAGAN                      BDA VIETNAM                 55 INT CALLE E                                                                         CATANO              PR           00962
   650647 EVANGELINA CRUZ BAEZ                        URB MONTERREY               1002 CALLE ARAMANA                                                                     MAYAGUEZ            PR           00680‐5187
   650648 EVANGELINA CRUZ CORTIJO                     BUENA VISTA                 146 CALLE PALMA REAL                                                                   CAROLINA            PR           00985
   650649 EVANGELINA DIAZ MARIN                       URB COLINAS MONTE CARLO     E 26 CALLE 39                                                                          SAN JUAN            PR           00924
          EVANGELINA ENCARNACION
   159539 SALDANA                                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   650650 EVANGELINA FIGUEROA PEREZ                   PO BOX 414                                                                                                         SAN LORENZO         PR           00754

   650653 EVANGELINA IRIZARRY RENAUD                  COND KINGS COURT            81 APT 11 A                                                                            SAN JUAN            PR           00911

   650654 EVANGELINA LEBRON BAYRON                    232 AVE ELEONOR ROOSEVELT                                                                                          HATO REY            PR           00907
          EVANGELINA LEBRON
   159540 HERNANDEZ                                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   159541 EVANGELINA LOPEZ PLAZA                      1373 CALLE LUCHETTI APT 1373                                                                                      SAN JUAN             PR           00907

   650655 EVANGELINA LUCIO CORDOVA                    COND PALMA REAL APT 15 E                                                                                          SAN JUAN             PR           00907
          EVANGELINA MALDONADO
   650656 MALDONADO                                   HC 01 BOX 10716                                                                                                   ARECIBO              PR           00612
          EVANGELINA MERCADO
   159542 MEDRANO                                     REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650657 EVANGELINA MIRANDA DAVID                    URB MANSIONES REALES           I‐3 CALLE CARLOS 1                                                                 GUAYNABO             PR           00969

   650659 EVANGELINA MORALES APONTE URB MONTE BRISAS                                 AA 25 CALLE 1                                                                      FAJARDO              PR           00738

   650661 EVANGELINA PADILLA MADERA                   HC 2 BOX 10535                                                                                                    YAUCO                PR           00698
   650662 EVANGELINA PADILLA PEREZ                    PO BOX 6243                                                                                                       SANTA ISABEL         PR           00757

   159543 EVANGELINA QUINONES LOPEZ                   REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159544 EVANGELINA RIVERA                           REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   650664 EVANGELINA RIVERA FUIGUEROA P O BOX 754                                                                                                                       MERCEDITAS           PR           00715‐0754

   159545 EVANGELINA RIVERA IRIZARRY                  REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650665 EVANGELINA RODRIGUEZ                        15 CALLE BALUARTE                                                                                                 COAMO                PR           00769
          EVANGELINA RODRIGUEZ
   650667 MOLINA                                      PO BOX 104                                                                                                        COMERIO              PR           00782
   650668 EVANGELINA SANTANA AYALA                    COOP VIVIENDA EDIF B 804       CIUDAD UNIVERSITARIA                                                               TRUJILLO ALTA        PR           00976 2123
                                                      COND PLAZA APT 903 SANTA
   650669 EVANGELINA SNOW                             CRUZ                                                                                                              BAYAMON              PR           00959
   159547 EVANGELINA TIRADO COLON                     REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EVANGELINA TORRES
   650670 VELAZQUEZ                                   PO BOX 320                                                                                                        LOIZA                PR           00772
   159548 EVANGELINA VALENTIN                         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   650672 EVANGELINA VALLES SIFRE                     URB COLINAS METROPOLITANAS K 26 CALLE TORRECILLAS                                                                 GUAYNABO             PR           00969
          EVANGELINE B OCASIO
   159549 RODRIGUEZ                                   REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   650673 EVANGELINE COLON FIGUEROA                   PASEO DEL REY                  APTO 2003                                                                          PONCE                PR           00731
          EVANGELINE FELICIANO
   650674 VAZQUEZ                                     615 B FENTON PL                                                                                                   ALTOMONTE SPRING     FL           32701
          EVANGELINE MARTINEZ
   650675 SANTIAGO                                    COM LAS 500TAS                 28 CALLE DIAMANTE                                                                  ARROYO               PR           00714

  1256491 EVANGELINE MEDINA GUARCH                    REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          EVANGELINE T GARLAND
   159551 GONZALEZ                                    REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   650677 EVANGELINE VARGAS FIGUEROA BO SANTA CRUZ                                   859 KM 1 7                                                                         CAROLINA             PR           00985
   650678 EVANGELINO COSME NIEVES    HC 83 BOX 6958                                                                                                                     VEGA ALTA            PR           00692

   650682 EVANGELIO NIEVES GONZANLEZ HC 3 BOX 41471                                                                                                                     CAGUAS               PR           00725‐9743

   650683 EVANGELIO RODRIGUEZ SOTO                    PO BOX 1111                                                                                                       ARROYO               PR           00714
   650679 EVANGELIO SANTIAGO                          URB VILLA PALMERAS             506 CALLE WILLIAMS                                                                 SAN JUAN             PR           00915‐4214



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  159552 EVANGELIO SANTOS NEGRON                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   650680 EVANGELIO SOTO RODRIGUEZ                    P O BOX 1438                                                                                                   ARROYO              PR         00714
   650684 EVANGELIS COLON LOPEZ                       1102‐2 AVE PERIFERAL                                                                                           TRUJILLO ALTO       PR         00976
          EVANGELISTA ALEJANDRO
   650686 VAZQUEZ                                     URB CAGUAX                   I 5 CALLE DUHO                                                                    CAGUAS              PR         00725

   159553 EVANGELISTA ARROYO ROSARIO REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650688 EVANGELISTA CALDERON       BO OBRERO                                     661 CALLE LIPPITT                                                                 SAN JUAN            PR         00915
   159555 EVANGELISTA COLON VARGAS   REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   650685 EVANGELISTA DEL C JUSINO                    232 AVE ELEONOR ROOSEVELT                                                                                      SAN JUAN            PR         00907
   159556 EVANGELISTA DIAZ TROCHE                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   650689 EVANGELISTA ELECTRIC MOTORS PO BOX 9024275                                                                                                                 SAN JUAN            PR         00902‐4275
   159557 EVANGELISTA FUENTES LOPEZ   REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159558 EVANGELISTA GARCIA          REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EVANGELISTA GAUTHIER
   159559 MONTANEZ                    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EVANGELISTA HERNANDEZ
   650691 VALENTIN                    PO BOX 328                                                                                                                     ISABELA             PR         00662
   650692 EVANGELISTA LOPEZ NIEVES    PO BOX 525                                                                                                                     SABANA SECA         PR         00952
          EVANGELISTA MALDONADO
   159561 ORTIZ                       REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159562 EVANGELISTA MD, THOMAS      REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650693 EVANGELISTA NIEVES PEREZ    P O BOX 807                                                                                                                    COROZAL             PR         00783

   650694 EVANGELISTA PEREZ RIVERA                    71 CALLE GUILLERMO ESTEVES                                                                                     JAYUYA              PR         00664
   650696 EVANGELISTA ROSARIO                         URB COUNTRY CLUB             MP 22 CALLE 426                                                                   CAROLINA            PR         00982
   650697 EVANGELISTA SIERRA RIVERA                   HC 43 BOX 10710                                                                                                CAYEY               PR         00736

   650698 EVANGELISTA TORRES FIGUEROA HC 1 BOX 7316                                                                                                                  SALINAS             PR         00751
   159565 EVANGELLIS RODRIGUEZ        REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159566 EVANGELY M PEREZ VAZQUEZ    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650699 EVANGELYN VEGA TORRES       PO BOX 1624                                                                                                                    BARCELONETA         PR         00617‐1624

   650701 EVANIDELMARY BONET TORRES                   HC 7 BOX 21059                                                                                                 MAYAGUEZ            PR         00680
   650702 EVANIE RIVERA CARDONA                       COTTO STATION                PO BOX 9642                                                                       ARECIBO             PR         00613
          EVANILDA FELICIANO
   159567 RODRIGUEZ                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159568 EVANNETTE SEDA PEREZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EVANS ALBIZU/ SENORA DE LA
   159569 VIRGEN MILAGR                               REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650703 EVANS L ALBIZU                              PARC AMALIA MARIN            3 CALLE 10 ANGUILA                                                                PONCE               PR         00715
   159571 EVANS MD , JOSEPH J                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159572 EVANS MD, ROBERT                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   159573 EVANS NEWTON INCORPORATED LAS CUMBRES, 667 CALLE TAFT                                                                                                      SAN JUAN            PR         00920
          EVARCIA Y ADALBERTA ROSARIO
   650704 OTERO                       214 CALLE RUIZ BELVIS                                                                                                          SAN JUAN            PR         00915
          EVARISTA CANDELARIA
   159577 SANTIAGO                    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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          EVARISTA ENCARNACION
   650705 CANALES                                     BO BUENA VISTA               182 CALLE CEREZO                                                                       CAROLINA            PR           00985
          EVARISTO A MALDONADO
   650708 GUZMAN                                      FIRST FED BLDG SUITE 1411    1519 AVE PONCE DE LEON                                                                 SAN JUAN            PR           00909
   650709 EVARISTO ALVAREZ                            URB MONTE TRUJILLO           B 5 CALLE 1                                                                            TRUJILLO ALTO       PR           00976

   650710 EVARISTO ALVAREZ CHIGLIOTTI                 ASESORES FORENSES DE PR      PO BOX 358                                                                             TRUJILLO ALTO       PR           00977‐0358

   650711 EVARISTO ALVAREZ GHIGLLIOTTI                P O BOX 358                                                                                                         TRUJILLO ALTO       PR           00977
   159578 EVARISTO CINTRON                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650712 EVARISTO COLON TOLEDO                       PO BOX 3234                                                                                                         ARECIBO             PR           00613
   650713 EVARISTO CRUZ COLON                         URB SANTA ELENA              EE 16 CALLE 3A                                                                         BAYAMON             PR           00957
   159579 EVARISTO CRUZ MORALES                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159580 EVARISTO DIAZ SERRANO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159582 EVARISTO FEBUS HUERTAS                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   159583 EVARISTO GARCIA MONTANEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650714 EVARISTO JIMENEZ TORRES                     URB VILLA CAROLINA           24 31 CALLE 5                                                                          CAROLINA            PR           00985
   650715 EVARISTO KUILAN CARMONA                     BO MACUN                     PARC 9 CALLE FLOR DE MAGA                                                              TOA BAJA            PR           00949

   650716 EVARISTO LOPEZ                              AVE CUPEY GARDENS SOLAR 1                                                                                           SAN JUAN            PR           00926
          EVARISTO LOPEZ RODRIGUEZ Y
   650717 NILDA R BORIA                               AVE CUPEY GARDENS SOLAR 1                                                                                           SAN JUAN            PR           00926
   650718 EVARISTO LOPEZ VARGAS                       VILLA DEL CARMEN             3386 CALLE TOSCANIA                                                                    PONCE               PR           00716‐2257
          EVARISTO M. ORENGO
   650719 SANTIAGO                                    PO BOX 194781                                                                                                       SAN JUAN            PR           00919
          EVARISTO MALDONADO
   159585 RODRIGUEZ                                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EVARISTO MARQUEZ
   650720 FERNANDEZ                                   COMUNIDAD DEL RETIRO         EDIF B 905                                                                             SAN JUAN            PR           00924
          EVARISTO MARRERO
   159587 MONTESINO                                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159588 EVARISTO MERCADO SOTO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159589 EVARISTO REYES MARTINEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159591 EVARISTO REYES RIVERA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   650726 EVARISTO RIVERA CHEUREMONT REST VISTA HERMOSA                            17 CALLE 58                                                                            SAN JUAN            PR           00921
   159592 EVARISTO RIVERA COLON      REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159593 EVARISTO RIVERA GONZALEZ   REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EVARISTO RODRIGUEZ
   159594 OQUENDO                    REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   650727 EVARISTO ROMAN CHEVALIER                    URB LEVITOWN LAKE 6TA SECC   FH 25 CALLE NEMESIO CANALES                                                            TOA BAJA            PR           00950
   159595 EVARISTO RONDON FEBUS                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159596 EVARISTO ROSARIO LOPEZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159597 EVARISTO ROSARIO ORTIZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650728 EVARISTO ROSAS                              PO BOX 21365                                                                                                        SAN JUAN            PR           00928
   159598 EVARISTO SALGADO ROBLES                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   159599 EVARISTO SCHETTINI NAVARRO                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650729 EVARISTO SIERRA TORRES                      HC 2 BOX 17901                                                                                                      RIO GRANDE          PR           00745
          EVARISTO TORRES A/C BCO DES
   650730 ECONOMICO                                   HC 04 BOX 15825                                                                                                     LARES               PR           00669



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  159603 EVAS INIFORM AND MORE                        URB MARIOLGA                R 9 AVE LUIS MUNOZ RIVERA                                                              CAGUAS            PR           00725
  650732 EVEGABY PRODUCTIONS                          VALLE ESCONDIDO ESTATES     F 8 CALLE 7                                                                            GUAYNABO          PR           00971
  650733 EVEL VELEZ RODRIGUEZ                         HC 04 BOX 14368                                                                                                    SAN SEBASTIAN     PR           00685
  650735 EVELI LAFONTAINE PAGAN                       MAGNOLIA GARDENS            S 12 CALLE 17                                                                          BAYAMON           PR           00956
  650736 EVELIA BAEZ SOTO                             P O BOX 1777                                                                                                       UTUADO            PR           00641
  650738 EVELIA RAMOS HERNANDEZ                       PO BOX 409                                                                                                         CIDRA             PR           00739

   159609 EVELIDZA VAZQUEZ DEL VALLE                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   650739 EVELIN COLON GUZMAN                         BO BAJO SECTOR PALMANAQUE   BOX 6859                                                                               PATILLAS          PR           00723
   650740 EVELIN DIAZ DIAZ                            VILLA ELSIE                 MARGINAL 9 BO AMELIA                                                                   GUAYNABO          PR           00965
   650741 EVELIN LOPEZ                                COLINAS DE BUENAS VISTA     SEC HORMIGAS                                                                           CAGUAS            PR           00725
   650743 EVELIN MORALES MARTINEZ                     20 COND VEREDAS DEL RIO     APT B 313                                                                              CAROLINA          PR           00986
   159610 EVELIN RAMOS BARBOSA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   650744 EVELINA FELICIANO SANTIAGO                  URB RIO GRANDE ESTATES      E 12 CALLE 6 A                                                                         RIO GRANDE        PR           00745
   159612 EVELINA RIVERA SANTIAGO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159613 EVELINA SOLER TORRES                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   650746 EVELINA TORRADO ANDUJAR                     451 CAMPO ALEGRE                                                                                                   UTUADO            PR           00641

   650747 EVELINA Y CAROLINA ORTIZ RUIZ P O BOX 364522                                                                                                                   SAN JUAN          PR           00936‐4522

   650748 EVELINDA MATEO RODRIGUEZ                    URB MONTESORIA I            105 AVE AGUMARINA                                                                      AGUIRRE           PR           00704

   159614 EVELIO A ROMAN NORMANDIA                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159615 EVELIO ACOSTA PIZARRO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   650749 EVELIO ARBONA CUSTODIO                      PO BOX 345                                                                                                         ANGELES           PR           00611
   159619 EVELIO AVILA VELEZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159620 EVELIO CARABALLO ORENGO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159621 EVELIO CORTES RODRIGUEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159622 EVELIO DROZ RAMOS                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   650751 EVELIO MARCIAL HERNANDEZ                    HC 5 BOX 25597                                                                                                     CAMUY             PR           00627
   650752 EVELIO OLIVERA MARTINEZ                     57 CALLE 1RO DE MAYO                                                                                               YAUCO             PR           00698
   159623 EVELIO PEREZ CENTENO                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159625 EVELIO PINA PEREZ                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   650756 EVELIO R COLON                              URB PUERTO NUEVO            527 CALLE ARTICO                                                                       SAN JUAN          PR           00920
   650757 EVELIO RIVERA MARTINEZ                      HC 01 BOX 3604                                                                                                     AIBONITO          PR           00705
   650758 EVELIO RUIZ RUIZ                            C 3 L 102 LAS PELAS                                                                                                YAUCO             PR           00698‐3476
   650759 EVELIO SANCHEZ GUZMAN                       VILLA COOPERATIVA           A 6 CALLE 1                                                                            CAROLINA          PR           00985
   650761 EVELIO SANTIAGO DAVID                       APARTADO 1789                                                                                                      COAMO             PR           00769
   650762 EVELIO SILVA DIAZ                           PO BOX 1001                                                                                                        FAJARDO           PR           00738
   650763 EVELIO VALEIRAS MINI                        URB VERSALLES               MARGINAL G 9                                                                           BAYAMON           PR           00960
   650764 EVELIS BERNIER VICENTE                      PO BOX 5923                                                                                                        CAGUAS            PR           00726
   650765 EVELIS VELAZQUEZ AVILES                     HC 04 BOX 14045                                                                                                    MOCA              PR           00676
   159627 EVELISA VELEZ CARDONA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159628 EVELISES VILAFANE GUZMAN                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159629 EVELISSA MEDINA FUENTES                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159630 EVELISSE COLON CARRERO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   159631 EVELISSE KETTERING MORALES                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   650767 EVELISSE MARTINEZ RAMOS                     URB BATISTA                 24 CALLE DOMINGO LAZA                                                                  CAGUAS            PR           00725
   159632 EVELISSE RIVERA AYALA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   159633 EVELIXSA MARTINEZ ALICEA                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  159634 EVELIZ E. TOMEI TORO                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  650768 EVELIZ JIMENEZ NIEVES                        PO BOX 863                                                                                                        OROCOVIS            PR         00720
  159635 EVELYDIS CABELLO RAMOS                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
 1419670 EVELYN                                       JAIME A. PICÓ NIEVES        PO BOX 70199                                                                          SAN JUAN            PR         00936
         EVELYN A QUINONES Y EVELYN
  159637 GARCIA                                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  650782 EVELYN A SUAZO ROSARIO                       VILLA CAROLINA              179‐26 CALLE 443                                                                      CAROLINA            PR         00983

   159639 EVELYN A. DE JESUS RODRIGUEZ                REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159640 EVELYN A. VIERA CORCHADO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650783 EVELYN ACEVEDO PUJOLS                       HC 7 BOX 32632                                                                                                    HATILLO             PR         00659‐9608
   159641 EVELYN ACOSTA VARGAS                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650785 EVELYN ADORNO RIVERA                        STA JUANITA                 D 28 CALLE CAMBODIA                                                                   BAYAMON             PR         00956

   650786 EVELYN AGOSTINI RODRIGUEZ                   EST DEL GOLF CLUB           455 CALLE JUAN H CINTRON                                                              PONCE               PR         00730
   650788 EVELYN AGOSTO CABEZUDO                      12023‐66 STREET NORTH                                                                                             WEST BEACH          FL         33412
   159642 EVELYN AGOSTO CRUZ                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650789 EVELYN ALEJANDRO JORGE                      RR 9 BOX 4947                                                                                                     SAN JUAN            PR         00926
   159645 EVELYN ALFONSO CINTRON                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650790 EVELYN ALICEA GONZALEZ                      BOX 568                                                                                                           CABO ROJO           PR         00623
   650791 EVELYN ALICEA RIVERA                        APARTADO 2448                                                                                                     ARECIBO             PR         00614
   650792 EVELYN ALMODOVAR RIVERA                     PO BOX 162                                                                                                        SABANA GRANDE       PR         00637
   159646 EVELYN ALVARADO BAEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159647 EVELYN ALVAREZ ADORNO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650793 EVELYN ALVAREZ TORRES                       BO OBRERO                   626 BARTOLOME LAS CASAS                                                               SAN JUAN            PR         00915
   650794 EVELYN AMARO DIAZ                           P O BOX 161                                                                                                       FAJARDO             PR         00738
   159648 EVELYN AMOROS RAMOS                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159649 EVELYN ANDRADES PEARSON                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159650 EVELYN ANDUJAR ANDUJAR                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159651 EVELYN ANDUJAR CORDERO                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   159652 EVELYN ANGULO ENCARNACION                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650796 EVELYN ANZUETA CRUZ                         280 CALLE CRISTOBAL CRUET                                                                                         CAYEY               PR         00736
   650797 EVELYN APONTE CORDOVA                       URB SAN PEDRO               J30 CALLE 2                                                                           TOA BAJA            PR         00949
   650798 EVELYN APONTE HERNANDEZ                     LOIZA VALLEY                G 255 CALLE MARGARITA                                                                 CANOVANAS           PR         00729
   650799 EVELYN APONTE TRINIDAD                      BONNEVILLE HEIGHTS          18 CALLE AGUAS BUENAS                                                                 CAGUAS              PR         00727
   159653 EVELYN AQUINO JIMENEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159654 EVELYN AQUINO ROSADO                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159655 EVELYN AROCHO ORTIZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650800 EVELYN ARROCHO AGUAYO                       URB SUNVILLE                S 12 CALLE 17                                                                         TRUJILLO ALTO       PR         00977
   650801 EVELYN ARROYO BORRERO                       BO SAN ISIDRO               368 CALLE 13                                                                          CANOVANAS           PR         00729
   159656 EVELYN ARROYO CORTES                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159657 EVELYN ARROYO ORTIZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159660 EVELYN AVILES SAEZ                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      HOSP. PSIQUIATRIA ‐ RIO
   650802 EVELYN AYALA COLON                          PIEDRAS                                                                                                           Hato Rey            PR         00936
   159661 EVELYN AYALA VEGA                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650804 EVELYN B BEY LOPEZ                          HC 01 BOX 3171                                                                                                    LAS MARIAS          PR         00670
   650805 EVELYN B MATIAS JIMENEZ                     RR3 BOX 20853                                                                                                     ANASCO              PR         00610
   159662 EVELYN B MUNIZ SUAREZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159663 EVELYN B. BURGOS ORTIZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159664 EVELYN BADILLO LOPEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   650806 EVELYN BAERGA MALDONADO                     B 1 193 PERLA DEL CARIBE                                                                                       PONCE                PR           00731
   159665 EVELYN BAEZ COLON                           REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650807 EVELYN BAEZ DE LEON                         URB LOS ANGELES            G 14 CALLE B                                                                        YABUCOA              PR           00767
   159667 Evelyn Baez Lopez                           REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650808 EVELYN BAEZ MENDEZ                          PO BOX 405                                                                                                     TOA ALTA             PR           00954
   159669 EVELYN BAEZ ROSADO                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650810 EVELYN BALLESTER ESTRADA                    URB LAS VIRTUDES           737 CALLE DIGNIDAD                                                                  SAN JUAN             PR           00924

   159670 EVELYN BARRIENTOS IDEFONSO REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159672 EVELYN BATISTA MATOS       REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159673 EVELYN BATISTA RODRIGUEZ   REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   650812 EVELYN BERMUDEZ DE PEDRO                    P O BOX 1049                                                                                                   PATILLAS             PR           00723
   650814 EVELYN BERRIOS DIAZ                         HC 3 BPX 5549                                                                                                  HUMACAO              PR           00791‐9525
   159675 EVELYN BERRIOS HERNANDEZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159676 EVELYN BERRIOS VEGA                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   650815 EVELYN BETANCOURT ROBLES                    PO BOX 838                                                                                                     VIEQUES              PR           00765
   650816 EVELYN BLANCO MELENDEZ                      HC 83 BUZON 7294                                                                                               VEGA ALTA            PR           00692
   650817 EVELYN BONETA TORRES                        C 2 SAN MARTIN                                                                                                 UTUADO               PR           00664
   650818 EVELYN BORRERO SANTIAGO                     HC 01 BOX 10644                                                                                                PENUELAS             PR           00624‐9204
   650820 EVELYN BRACERO HUERTAS                      BRISAS DEL ROSARIO         5026 CALLE PRINCIPAL                                                                VEGA BAJA            PR           00693
   159678 EVELYN BRACERO MARRERO                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159679 EVELYN BREGON GARCIA                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159680 EVELYN BURGOS HERNANDEZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159681 EVELYN BURGOS LUZUNARIS                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650821 EVELYN C BONET LORENZO                      BO TABLONAL BOX 1653                                                                                           AGUADA               PR           00602
   159682 EVELYN C GUENARD VARGAS                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159683 EVELYN C NAZARIO JUSINO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650822 EVELYN C RODRIGUEZ RIVERA                   URB LAS VEGAS              G 17 CALLE GARDENIA                                                                 CATA¥O               PR           00962
   159684 EVELYN CABRERA CRUZ                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650823 EVELYN CABRERA ROSARIO                      102 CALLE ISAMAR           CARR 112 KM 0 6                                                                     ISABELA              PR           00662
   650824 EVELYN CACERES ORTIZ                        URB VILLA BORINQUEN K 22   CALLE YAGUEZ                                                                        CAGUAS               PR           00725
   159686 EVELYN CAEZ FERNANDEZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159688 EVELYN CALDERON ALVAREZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   650825 EVELYN CALDERON FIGUEROA                    HC 20 BOX 25712                                                                                                SAN LORENZO          PR           00754‐9616

   650826 EVELYN CALDERON GUTIERREZ                   305 CALLE SALGADO                                                                                              SAN JUAN             PR           00912
   650827 EVELYN CALDERON LEON                        PARC GANDARA               20 CALLE 1                                                                          CIDRA                PR           00739
   159690 EVELYN CALDERON PARRILLA                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650828 EVELYN CALIXTO LOPEZ                        HC 2 BOX 9441                                                                                                  GUAYNABO             PR           00971
   650829 EVELYN CAMACHO ACOSTA                       URB RIO HONDO III          CO 16 CALLE EUCALIPTO                                                               BAYAMON              PR           00961
   650830 EVELYN CAMACHO CENTENO                      C 9 URB VILLA VERDE                                                                                            AIBONITO             PR           00705

   159691 EVELYN CAMACHO QUINONES                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650831 EVELYN CANALES GUERRIDO                     LOMAS VERDES               2 P12 CALLE GIRASOL                                                                 BAYAMON              PR           00958
   650833 EVELYN CANCEL                               P O BOX 7395                                                                                                   MAYAGUEZ             PR           00681
   650834 EVELYN CANCEL ACEVEDO                       URB VALLE HERMOSO          P 3 CALLE CLAVEL                                                                    HORMIGUEROS          PR           00660‐1440
   159692 EVELYN CANCEL PERAZA                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650837 EVELYN CARDE MENDEZ                         18 VILLA FLORENCIA                                                                                             CAMUY                PR           00627
   650838 EVELYN CARDONA EGIPCIACO                    PARCELA LOMAS VERDES       342 CALLE RUBI                                                                      MOCA                 PR           00676



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  650839 EVELYN CARDONA ROSA                          VILLAS DE RIO GRANDE        D 17 CALLE MILLAN                                                                   RIO GRANDE        PR         00745
  159693 EVELYN CARRILLO FUENTES                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   650842 EVELYN CASALDUC ALBARRAN                    COND DALIA HLS              K 20 CALLE 1 STE 52                                                                 BAYAMON           PR         00959
   650843 EVELYN CASIANO PEREZ                        PO BOX 1751                                                                                                     YAUCO             PR         00698
   650844 EVELYN CASILLA MARSH                        BO SALTO SECTOR LA TOSCA    RR 1 BOX 3121                                                                       CIDRA             PR         00739
   159694 EVELYN CASILLA TOLENTINO                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   650845 EVELYN CASILLAS HERNANDEZ                   HC 01 BOX 11887                                                                                                 CAROLINA          PR         00986

   650846 EVELYN CASTRO CARRASQUILLO                  HC 11 BOX 6894                                                                                                  LAS PIEDRAS       PR         00771
   159696 EVELYN CASTRO MATOS                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EVELYN CASTRO Y JANNA N
   159697 GALINDEZ                                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650848 EVELYN CATALA QUILES                        HC 33 BOX 4494                                                                                                  DORADO            PR         00646
   650849 EVELYN CEDE O ROMERO                        EXT PARQ ECUESTRE           A37 CALLE 35                                                                        CAROLINA          PR         00987
   159698 EVELYN CENTENO DE JESUS                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159701 EVELYN CINTRON ABREU                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   650851 EVELYN CINTRON MALDONADO                    PO BOX 246                                                                                                      HUMACAO           PR         00791

   650852 EVELYN CINTRON MERCADO                      URB LEVITTOWN 3RA SECCION   G 3225 PASEO CLARO                                                                  TOA BAJA          PR         00949‐3118
   650853 EVELYN CINTRON REYES                        MSG 91                      RR 8 BOX 1995                                                                       BAYAMON           PR         00956‐9676
   650854 EVELYN CINTRON RODRIGUEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159702 EVELYN COLLAZO MESTRE                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159703 EVELYN COLLAZO RIVERA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159704 EVELYN COLLAZO SANTIAGO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650855 EVELYN COLLAZO VEGA                         VILLA FONTANA               5GG 12 PARQUE M RIVERA                                                              CAROLINA          PR         00983
   650856 EVELYN COLON                                HC 01 BOX 5404                                                                                                  VILLALBA          PR         00766
   159706 EVELYN COLON FIGUEROA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159707 EVELYN COLON FORTI                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159709 EVELYN COLON LUNA                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EVELYN COLON MULERO /
   650859 GLENDALIZ RIVERA                            BOX 1091                                                                                                        PATILLAS          PR         00723
   159711 EVELYN COLON QUINTANA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650862 EVELYN COLON RIVERA                         NUEVA VIDA EL TUQUE         145 CALLE 12                                                                        PONCE             PR         00728
   650863 EVELYN COLON RODRIGUEZ                      ALTURAS DEL MADRIGAL        G 33 CALLE 5                                                                        PONCE             PR         00731
   159712 EVELYN COLON ROSA                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650864 EVELYN COLON ROSADO                         B 50 URB MONSERRATE                                                                                             SALINAS           PR         00751
   650865 EVELYN COLON SANTIAGO                       PO BOX 9036                                                                                                     HUMACAO           PR         00792

   159713 EVELYN CONCEPCION ABALOS                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   159714 EVELYN CONCEPCION CALDERA                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650868 EVELYN CORA VAZQUEZ                         HC 01 BOX 2163                                                                                                  MAUNABO           PR         00707
   650869 EVELYN CORDERO ALICEA                       BOX 1603                                                                                                        SAN ISABEL        PR         00757

   159716 EVELYN CORDERO CHAPARRO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650870 EVELYN CORDERO ROSARIO                      EL MIRADOR                  EDIF 17 APT B 2                                                                     SAN JUAN          PR         00915
   159717 EVELYN CORDOVA PABON                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159719 EVELYN CORREA CORREA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159720 EVELYN CORTES LABOY                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650872 EVELYN CORTES RSADO                         P O BOX 971                                                                                                     LUQUILLO          PR         00773 0971



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  159721 EVELYN CORTES VALLE                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  650873 EVELYN COTTO COTTO                           P O BOX 7428                                                                                                     SAN JUAN          PR       00916
  650875 EVELYN COTTO PADRO                           URB VILLA NUEVA              CALLE 15 E 14                                                                       CAGUAS            PR       00725
  650876 EVELYN CRESPO GONZALEZ                       TRASTELLERES                 62 CALLE SAN JOSE                                                                   MAYAGUEZ          PR       00680
  159722 EVELYN CRESPO IRRIZARY                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  650877 EVELYN CRESPO MENDEZ                         VILLA JUSTICIA               A 17 CALLE CLEMENTE                                                                 CAROLINA          PR       00985
  159725 EVELYN CRUZ ARCE                             REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  159727 EVELYN CRUZ CUMBA                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  650879 EVELYN CRUZ GOMEZ                            URB MANSIONES DEL SUR        SA 17 CALLE BABARIA                                                                 TOA BAJA          PR       00949
  159728 EVELYN CRUZ GONZALEZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  159729 EVELYN CRUZ GUTIERREZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  159730 EVELYN CRUZ GUZMAN                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  650882 EVELYN CRUZ LLOPEZ                           PO BOX 8875                                                                                                      CAGUAS            PR       00726
  159731 EVELYN CRUZ MONSERRATE                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  159732 EVELYN CRUZ RAMOS                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  650885 EVELYN CRUZ RUIZ                             URB BUENAVENTURA             5036 CALLE AHELI                                                                    MAYAGUEZ          PR       00682
  650886 EVELYN CRUZ SEGUINOT                         P O BOX 203                                                                                                      MAYAGUEZ          PR       00681‐0203
  650887 EVELYN CRUZ SOSA                             HC 01 BOX 11562                                                                                                  CAROLINA          PR       00987‐9629
  650888 EVELYN CRUZ SULLIVAN                         URB ALTURAS RIO GRANDE       Q 853 CALLE 15                                                                      RIO GRANDE        PR       00745
  159733 EVELYN CUADRA                                REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  650890 EVELYN CUMBA REYES                           PARADA 25                    CALLE CAROLINA                                                                      SAN JUAN          PR       00928
  159734 EVELYN D CORA SANTIAGO                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
         EVELYN D HERNANDEZ
  159735 TOLENTINO                                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  650893 EVELYN D ORTIZ GARCIA                        HC 03 BOX 16892                                                                                                  COROZAL           PR         00783

   159736 EVELYN D. FIGUEROA ROSARIO                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EVELYN DAVILA / CLASE
   159738 GRADUANDA DEL 1968                          P O BOX 187                                                                                                      CABO ROJO         PR         00623

   650896 EVELYN DE JESUS CAEZ                        45 CALLE VIZCARRONDO BAJOS                                                                                       CAGUAS            PR         00725
   159739 EVELYN DE JESUS CARABALLO                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159740 EVELYN DE JESUS DELGADO                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159741 EVELYN DE JESUS MONTALVO                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650898 EVELYN DE JESUS ROMAN                       CUH STATION                  P O BOX 10122                                                                       HUMACAO           PR         00792
   159742 EVELYN DE JESUS SOTO                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159743 EVELYN DE LEON ERAZO                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          EVELYN DEL PILAR CABRERA
   159744 SOTO                                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650901 EVELYN DELGADO DIAZ                         PO BOX 38                                                                                                        RIO BLANCO        PR         00744‐0038
   650902 EVELYN DELGADO GONZALEZ                     P O BOX 635                                                                                                      CANOVANAS         PR         00729
   159745 EVELYN DELGADO JURADO                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650903 EVELYN DIAZ                                 LOS PRADOS DEL SUR           113 CALLE PERIDOT                                                                   DORADO            PR         00646
   650770 EVELYN DIAZ ACOSTA                          URB VILLAS DEL BOSQUE        BZN 83 CALLE MARGARITA                                                              CIDRA             PR         00739
   650905 EVELYN DIAZ DAVILA                          COLINAS SAN FRANCISCO        73 CALLE MADELINE                                                                   AIBONITO          PR         00705
   650906 EVELYN DIAZ DIAZ                            URB REXVILLE                 B 2 4 CALLE 16 A                                                                    BAYAMON           PR         00957
   650904 EVELYN DIAZ HERNANDEZ                       URB MARIOLGA                 P 28 CALLE SAN MARCOS                                                               CAGUAS            PR         00725
   159747 EVELYN DIAZ LOPEZ                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159749 EVELYN DIAZ NIEVES                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   650908 EVELYN DIAZ RIVERA                          39 CALLE JOSE MERCADO                                                                                            CAGUAS            PR         00725
   650909 EVELYN DIAZ RODRIGUEZ                       PO BOX 372752                                                                                                    CAYEY             PR         00737
   159751 EVELYN DIAZ SANTANA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159752 EVELYN DIAZ TORRES                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  159753 EVELYN DIAZ VAZQUEZ                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         EVELYN E CENTENO/ ORLANDO
  159754 BURGOS                                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  159755 EVELYN E LUGO FLORES                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  650911 EVELYN E PANTOJA                             PO BOX 21365                                                                                                     SAN JUAN            PR         00928

   650912 EVELYN E RODRIGUEZ VERGARA URB BONEVILLE VALLEY                        17 CALLE SAGRADA FAMILIA                                                              CAGUAS              PR         00725
   650913 EVELYN E TORRES SANTIAGO   URB VENUS GARDEN                            679 CALLE ACUARIO                                                                     SAN JUAN            PR         00926

   159756 EVELYN E. VAZQUEZ VAZQUEZ                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650915 EVELYN ECHANDY LOPEZ                        BOX 2041                                                                                                         GUYAMA              PR         00785
   159757 EVELYN ENCHAUTEGUI CRUZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159758 EVELYN ESCOBAR RAMIREZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650917 EVELYN ESTEVES NATAL                        EL PLANTIO                 24 A CALLE NOGAL                                                                      TOA BAJA            PR         00949
   650918 EVELYN FALCON CRUZ                          URB TOA ALTA HEIGHTS       AR 27 CALLE 35                                                                        TOA ALTA            PR         00953
   650919 EVELYN FANTAUZZI LUGO                       PO BOX 20113                                                                                                     SAN JUAN            PR         00928
   650921 EVELYN FELICIANO FIGUEROA                   PO BOX 4546                                                                                                      AGUADILLA           PR         00605
   650922 EVELYN FERNADEZ SANTIAGO                    MARGINAL FLAMBOYAN         16 B OFICINA 1                                                                        MANATI              PR         00674
   650924 EVELYN FERNANDEZ MOLINA                     128 C CALLE 4B AL FINAL                                                                                          VEGA BAJA           PR         00693
   159760 EVELYN FERNANDEZ RIVERA                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159761 EVELYN FERNANDEZ ROSADO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159762 EVELYN FERRER ACEVEDO                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650771 EVELYN FERRER MU¥IZ                         PO BOX 560138                                                                                                    GUAYNABO            PR         00656
   159763 EVELYN FIGUEROA AYALA                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650926 EVELYN FIGUEROA BAEZ                        PO BOX 1101                                                                                                      RIO GRANDE          PR         00745‐1101
   650927 EVELYN FIGUEROA DEL VALLE                   HC 1 BOX 7963                                                                                                    CANOVANAS           PR         00729
   159764 EVELYN FIGUEROA DELGADO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159765 EVELYN FIGUEROA MARTINEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159766 EVELYN FIGUEROA RAMIREZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   159767 EVELYN FIGUEROA RODRIGUEZ                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650929 EVELYN FIGUEROA ROSARIO                     URB LOS ANGELES            WK 8 CALLE BEGONIA                                                                    CAROLINA            PR         00979‐1140
   650930 EVELYN FIGUEROA TOLEDO                      BO CEDRO ABAJO             HC 71 BOX 3036                                                                        NARANJITO           PR         00719
   159768 EVELYN FLORES COLON                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159769 EVELYN FLORES DEL TORO                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159770 EVELYN FLORES DIAZ                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650933 EVELYN FLORES MELENDEZ                      P O BOX 998                                                                                                      CIDRA               PR         00739
   159771 EVELYN FLORES PACHECO                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650934 EVELYN FLORES PEDRAZA                       BO BAYAMON                 BZN 6186                                                                              CIDRA               PR         00739
   650935 EVELYN FONSECA TORRES                       HC 8 BOX 39541                                                                                                   CAGUAS              PR         00725‐9671
   650936 EVELYN FONTANE SANCHEZ                      SECTOR EL RELINCHO         581 CALLE SAN SEBASTIAN                                                               SAN JUAN            PR         00917
   650937 EVELYN FONTANEZ GARCIA                      HC 02 BOX 4296                                                                                                   LAS PIEDRAS         PR         00771‐9612
   650938 EVELYN FOSSE DIAZ                           RR 03 BOX 3467                                                                                                   SAN JUAN            PR         00926
   159772 EVELYN FRAGOSA LASSALLE                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159773 EVELYN FREIJOMIL CEDENO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159774 EVELYN FUENTES TORRES                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650939 EVELYN GALARZA GONZALEZ                     URB VILLAS DE RIO GRANDE   AG 14 CALLE 23                                                                        RIO GRANDE          PR         00745
   650940 EVELYN GALARZA SANTANA                      BOX 113                                                                                                          HUMACAO             PR         00792
   650942 EVELYN GARCIA                               P O BOX 2917                                                                                                     JUNCOS              PR         00777
   159775 EVELYN GARCIA CASTILLO                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159776 EVELYN GARCIA GARCIA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650945 EVELYN GARCIA LOPEZ                         PO BOX 1065                                                                                                      GURABO              PR         00778
   650946 EVELYN GARCIA MALDONADO                     HC 6 BOX 4642                                                                                                    COTO LAUREL         PR         00780



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  650947 EVELYN GARCIA MARQUEZ                        PO BOX 717                                                                                                        SAINT JUST          PR         00978‐0717
  650948 EVELYN GARCIA OCASIO                         RES LAS MIRTOS                EDIF 13 APT 194                                                                     CAROLINA            PR         00987
  650949 EVELYN GARCIA OSORIO                         PO BOX 1456                                                                                                       HATILLO             PR         00659
  159777 EVELYN GARCIA PAGAN                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  159779 EVELYN GARCIA PUMAREJO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  650951 EVELYN GARCIA TORRAO                         HC 04 BOX 48903                                                                                                   HATILLO             PR         00659
  650952 EVELYN GELABERT FURET                        URB CIUDAD EL LAGO            BOX 64                                                                              TRUJILLO ALTO       PR         00976‐5450
  159780 EVELYN GOMEZ MARTINEZ                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  650953 EVELYN GOMEZ RIVERA                          P O BOX 7177                                                                                                      MAYAGUEZ            PR         00681
  159783 EVELYN GONZALEZ                              REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   650955 EVELYN GONZALEZ BERMUDEZ                    HC 01 BOX 11380‐10                                                                                                ARECIBO             PR         00612

   650956 EVELYN GONZALEZ CALDERON                    85 CALLE MAYAGUEZ APTO 404                                                                                        SAN JUAN            PR         00917
   650958 EVELYN GONZALEZ COLON                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650959 EVELYN GONZALEZ CORDERO                     HC 2 BOX 10098                                                                                                    MOCA                PR         00676
   650961 EVELYN GONZALEZ DIAZ                        HC 05 BOX 56417                                                                                                   AGUADILLA           PR         00603
   159784 EVELYN GONZALEZ GARCIA                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   159785 EVELYN GONZALEZ GONZALEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650962 EVELYN GONZALEZ HERRERA                     MONTERREY                     1006 ARAMAND                                                                        MAYAGUEZ            PR         00680
   650963 EVELYN GONZALEZ MARTINEZ                    HC 03 BOX 6199                                                                                                    HUMACAO             PR         00791
   159786 EVELYN GONZALEZ MEDINA                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650964 EVELYN GONZALEZ MENDEZ                      PO BOX 17654                                                                                                      SAN SEBASTIAN       PR         00685
   650965 EVELYN GONZALEZ MERCADO                     COND LOS ROBLES               APTO 301 B                                                                          SAN JUAN            PR         00927
   159787 EVELYN GONZALEZ ORTIZ                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650966 EVELYN GONZALEZ RIVERA                      PO BOX 5000 SUITE 388                                                                                             SAN GERMAN          PR         00683‐5000
          EVELYN GONZALEZ RIVERA &
   650967 LCDA YADIRA                                 ROSARIO ROSARIO               ST ROOSEVELT EXT         529 CABO H ALVERIO                                         SAN JUAN            PR         00918

   159790 EVELYN GONZALEZ RODRIGUEZ                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159792 EVELYN GONZALEZ SANCHEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EVELYN GONZALEZ SANCHEZ
   650968 HOGAR LAS MARIAS                            P O BOX 22767                 UPR STATION 5                                                                       SAN JUAN            PR         00926

   159795 EVELYN GUARDIOLA LA PUERTA                  REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EVELYN GUTIERREZ / CARMEN
   650970 ARROYO                                      609 PINEY BRANCH DR APT 103                                                                                       VIRGINIA BEACH      VA         23451‐6720
   650971 EVELYN GUZMAN RODRIGUEZ                     P O BOX 2465                                                                                                      COAMO               PR         00769
   650972 EVELYN HADDOCK SANTIAGO                     URB STA CLARA                 G 2 CALLE ROBLE BLANCO                                                              GUAYNABO            PR         00969‐9810
   650974 EVELYN HERNANDEZ CRUZ                       PO BOX 27606                                                                                                      CAYEY               PR         00736
   159797 EVELYN HERNANDEZ GARCIA                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EVELYN HERNANDEZ
   159798 HERNANDEZ                                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650977 EVELYN HERNANDEZ PEREZ                      URB LEVITTOWN                 P 21 CALLE LUZ OESTE                                                                TOA BAJA            PR         00949

   650978 EVELYN HERNANDEZ TALAVERA                   HC 5 BOX 53213                                                                                                    AGUADILLA           PR         00603
   650979 EVELYN HERNANDEZ TORO                       P O BOX 267                                                                                                       ARROYO              PR         00714
   159799 EVELYN HERNANDEZ VIVES                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159800 EVELYN HERRERA MARTINEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650981 EVELYN HOYA ROJAS                           HC 4 BOX 43310                                                                                                    HATILLO             PR         00659
   650982 EVELYN HUERTAS CORREA                       URB VILLA AVILA               B 2 CALLE PONCE                                                                     GUAYNABO            PR         00969
   650983 EVELYN HUERTAS OSTOLAZA                     URB FOREST HILLS              M 3 CALLE 27                                                                        BAYAMON             PR         00959



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   159801 EVELYN I CAMACHO IZQUIERO                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159802 EVELYN I CRESPO VADI                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650986 EVELYN I ESQUILIN ESQUILIN                  P O BOX 1568                                                                                                          FAJARDO              PR           00738‐1568

   159803 EVELYN I FIGUEROA FELICIANO                 REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159804 EVELYN I FLORES CORTES                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159805 EVELYN I LOPEZ CORTES                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650987 EVELYN I MATOS QUINTANA                     COND MONTECILLO 1            1504 VIA PEDREGAL                                                                        TRUJILLO ALTO        PR           00976
   159806 EVELYN I ORTIZ GARCIA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159808 EVELYN I RODRIGUEZ ROBLES                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159809 EVELYN I SANTIAGO                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   650988 EVELYN I VAZQUEZ SANTIAGO                   URB UZUA GRILLASCA           1438 CALLE EUSTAQUIO PUJALS                                                              PONCE                PR           00731
   650989 EVELYN IGLESIAS GONZALEZ                    P O BOX 27880                                                                                                         SAN SEBASTIAN        PR           00685
   159810 EVELYN IRENE CALDERON                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650990 EVELYN IRIZARRY ALVARADO                    URB ALTURAS DE PENUELAS II   B 22 CALLE 3                                                                             PENUELAS             PR           00624
   650991 EVELYN IRIZARRY SANTIAGO                    P O BOX 335205                                                                                                        PONCE                PR           00733‐5205
   159812 EVELYN J CHICO TORRES                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159813 EVELYN J CLEMENTE DIAZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650993 EVELYN J JIMENEZ                            CAMUNIDAD CAPIRO             2173 CALLE GOLONDRINAS                                                                   ISABELA              PR           00662
   159814 EVELYN J JOHSON ROSARIO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159815 EVELYN J KUILAN COSME                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   650995 EVELYN J MIRANDA DE JESUS                   URB LA PLATA                 A 39 CALLE TURQUESA                                                                      CAYEY                PR           00737
   650997 EVELYN J ROSARIO RESTO                      HC 1 BOX 8821                                                                                                         AGUAS BUENAS         PR           00703

   650998 EVELYN J SANCHEZ RIVERA                     RESIDENCIAL LAS ESMERALDAS   EDIF 1 APT 7                                                                             CAROLINA             PR           00985

   650999 EVELYN J SANCHEZ ROMERO                     G 12 URB LLANOS SANTA ISABEL BOX 1256                                                                                 SANTA ISABEL         PR           00757

   159816 EVELYN J. SERRANO QUINONES                  REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   159817 EVELYN JANNET GARCIA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   651002 EVELYN JANNET GARCIA LOPEZ                  PO BOX 1299                                                                                                           HORMIGUEROS          PR           00660
                                                      COND LIZZETTE APARTMENT APT
   651003 EVELYN JAQUEZ                               1112                                                                                                                  CAROLINA             PR           00987
   651005 EVELYN JIMENEZ DE LEON                      ENCANTADA URB PRIMAVERA     35 PASEO DE LAS FLORES                                                                    TRUJILLO ALTO        PR           00976‐6037
   651006 EVELYN JIMENEZ IRIZARRY                     URB ALTA VISTA              I 23 CALLE 11                                                                             PONCE                PR           00716‐4233
          EVELYN JOSEFINA ROSADO
   651007 BRUNET                                      P O BOX 3813                                                                                                          GUAYMABO             PR           00970‐3813
                                                      BO CAMPANILLA VILLA
   651008 EVELYN JUARBE ORTIZ                         ESPERANZA                    F 4 CALLE GIRASOL                                                                        TOA BAJA             PR           00951
   651009 EVELYN JUSINO ROSADO                        PO BOX 732                                                                                                            SABANA GRANDE        PR           00637

   159818 EVELYN L MELENDEZ GONZALEZ REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   159819 EVELYN L RODRIGUEZ BERNECER REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   651011 EVELYN L VELEZ SANTIAGO     URB MANSIONES DEL SUR                        SB5 PLAZA 9                                                                              TOA BAJA             PR           00949
   159820 EVELYN LA COSTA NIEVES      REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   651013 EVELYN LAGO CABRET          PO BOX 30216                                                                                                                          SAN JUAN             PR           00929‐1216
   651015 EVELYN LAUREANO NARVAEZ     11 CALLE CHILE                                                                                                                        VEGA BAJA            PR           00693
   159822 EVELYN LAUREANO OSORIO      REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   651016 EVELYN LAZU MELENDEZ        PO BOX 125                                                                                                                            JAYUYA               PR           00664



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  159823 EVELYN LEBRON SOTO                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159824 EVELYN LLAMAS MALAVE                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159825 EVELYN LOPEZ                                 REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159826 EVELYN LOPEZ ALAMO                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159827 EVELYN LOPEZ CARRION                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159828 EVELYN LOPEZ DIAZ                            REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  651021 EVELYN LOPEZ FUENTES                         URB COUNTRY CLUB              QF 1 CALLE 525                                                                     CAROLINA          PR         00982
  159829 EVELYN LOPEZ GARCIA                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  651022 EVELYN LOPEZ GORDILS                         PO BOX 2792                                                                                                      BAYAMON           PR         00960‐2792
  159830 EVELYN LOPEZ LEON                            REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159831 EVELYN LOPEZ MALDONADO                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  651023 EVELYN LOPEZ MATIAS                          HC 2 BOX 23525                                                                                                   AGUADILLA         PR         00603
  159832 EVELYN LOPEZ MINER                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159833 EVELYN LOPEZ NEGRON                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159834 EVELYN LOPEZ ORTIZ                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159835 EVELYN LOPEZ PEREZ                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159836 EVELYN LOPEZ PONS                            REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159837 EVELYN LOPEZ QUINONEZ                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159838 EVELYN LOPEZ SANTIAGO                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159839 EVELYN LOPEZ TORRES                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  651026 EVELYN LORENZO PEREZ                         58 BO ESPINAL                                                                                                    AGUADA            PR         00602
  159840 EVELYN LUGO DELGADO                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159841 EVELYN LUGO GUZMAN                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  651031 EVELYN LUGO MORALES                          PO BOX 250032 RAMEY                                                                                              AGUADILLA         PR         00604‐0032
         EVELYN M AYALA / ADRIANA P
  159842 COLON                                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159843 EVELYN M BAEZ DIAZ                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  651033 EVELYN M CALDERON DONES                      URB VILLAS FONTANA            URI VIA 17                                                                         CAROLINA          PR         00983
  651034 EVELYN M CRUZ PAGAN                          HC 1 BOX 2725                                                                                                    MOROVIS           PR         00687
  651035 EVELYN M GARCIA ROSA                         URB EL CONQUISTADOR           15 CALLE 5                                                                         TRUJILLO ALTO     PR         00976‐6434
  159845 EVELYN M GINES RIVERA                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  651036 EVELYN M GONZALEZ CUMBA                      PO BOX 24                                                                                                        CAYEY             PR         00736
  651037 EVELYN M HERNANDEZ CURT                      HC 03 BOX 39524                                                                                                  AGUADA            PR         00602
  159847 EVELYN M ORTIZ GOMEZ                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159848 EVELYN M PENALOZA FALU                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159849 EVELYN M REYES SANTIAGO                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159850 EVELYN M RIVERA SANTIAGO                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159851 EVELYN M RIVERA TORRES                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         EVELYN M RODRIGUEZ
  651038 MERCADO                                      EXT FOREST HILLS              C 102 CALLE ATENAS                                                                 BAYAMON           PR         00960

   159852 EVELYN M ROMAN MONTALVO                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159853 EVELYN M SALGADO VELEZ                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   651039 EVELYN M SANTIAGO ROBLES                    PO BOX 357                                                                                                       SANTA ISABEL      PR         00757
   159854 EVELYN M. COLON COLON                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159855 EVELYN M. GUILBE MORALES                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   159856 EVELYN M. RIOS CORPS                        VILLAS DE CASTRO C‐18 CALLE 4                                                                                    CAGUAS            PR         00725‐0000
   159857 EVELYN MALDONADO MATOS                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   651042 EVELYN MALDONADO PEREZ                      BO LLANADA                    226 A RUTA 475                                                                     ISABELA           PR         00662
   651044 EVELYN MANGUAL ALICEA                       COM MIRAMAR                   609‐51 CALLE AMARILIS                                                              GUAYAMA           PR         00784

   159858 EVELYN MANGUAL RODRIGUEZ                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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   651045 EVELYN MARIA MEDINA MEDINA HC 09 BOX 1656                                                                                                              PONCE               PR           00731
   159861 EVELYN MARTELL RIVERA      REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   651046 EVELYN MARTINEZ ALMODOVAR URB EL PLANTIO                            D 16 CALLE CEDRO                                                                   TOA BAJA            PR           00949
   651047 EVELYN MARTINEZ CRUZ      HC 4 BOX 19659                                                                                                               CAMUY               PR           00627
   159862 EVELYN MARTINEZ FUENTES   REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   651049 EVELYN MARTINEZ GUEVARA   URB SAN ANTONIO                           43 CALLE SAN ANTONIO                                                               SAN ANTONIO         PR           00690
   651053 EVELYN MARTINEZ RIOS      PO BOX 1748                                                                                                                  CANOVANAS           PR           00729
   159864 EVELYN MARTINEZ RIVERA    REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159866 EVELYN MARTINEZ ROMAN     REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   651056 EVELYN MATIAS CONCEPCION  HC 57 BOX 9349                                                                                                               AGUADA              PR           00602
   159869 EVELYN MATOS MELENDEZ     REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   651058 EVELYN MATOS REYES        PO BOX 132                                                                                                                   COMERIO             PR           00782
   159870 EVELYN MATOS RODRIGUEZ    REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   651059 EVELYN MEDINA GONZALEZ    HC 1 BOX 10468                                                                                                               AGUADILLA           PR           00603
   651060 EVELYN MEDINA PEREZ       PMB 802 P O BOX 5000                                                                                                         AGUADA              PR           00602
   159871 EVELYN MEJIAS RODRIGUEZ   REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   159873 EVELYN MELENDEZ MELENDEZ                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159874 EVELYN MELENDEZ ORTIZ                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159875 EVELYN MELIA MUNIZ                          REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   650772 EVELYN MENDEZ                               URB JARDINES DE CEIBA   M 9 CALLE 11                                                                       CEIBA               PR           00735
   651063 EVELYN MENDEZ ALICEA                        143 CALLE CIBAO                                                                                            SAN SEBASTIAN       PR           00685
   651064 EVELYN MENDEZ CAMACHO                       H C 645 BZ 7025                                                                                            TRUJILLO ALTO       PR           00976

   651066 EVELYN MENDEZ ECHEVARRIA                    RES TORMO DIEGO         10 APT 51                                                                          PONCE               PR           00731
   651067 EVELYN MENDEZ GONZALEZ                      5820 CALLE ESCORPION                                                                                       ISABELA             PR           00662
   650773 EVELYN MENDEZ GUZMAN                        HC 03 BOX 21936                                                                                            ARECIBO             PR           00612

   651068 EVELYN MENDEZ MALDONADO                     HC 02 BOX 15224                                                                                            ARECIBO             PR           00612
   159877 EVELYN MENDEZ MENDEZ                        REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   651069 EVELYN MENDEZ RIVERA                        BOX 3962                                                                                                   MAYAGUEZ            PR           00681
          EVELYN MENDEZ Y MARIANA
   159879 CUEVAS                                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159881 EVELYN MERCADO NIEVES                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159882 EVELYN MERCADO RIOS                         REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159883 EVELYN MERCADO SANTIAGO                     REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159884 EVELYN MERCED MIRABAL                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   651070 EVELYN MILLAN SOTO                          URB CELINA E 10         BOX 325                                                                            CEIBA               PR           00735
   159885 EVELYN MILLETE MENDEZ                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   651072 EVELYN MIRANDA MALDONADO                    VILLAS DE CASTRO        EE 4 CALLE 15                                                                      CAGUAS              PR           00725
   651073 EVELYN MIRANDA MARTINEZ                     P O BOX 537                                                                                                SABANA HOYOS        PR           00688
   159886 EVELYN MOLINA LABOY                         REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   651075 EVELYN MOLINA MORGADO                       URB VENUS GARDENS       1686 CALLE MORELIA                                                                 SAN JUAN            PR           00926
   651076 EVELYN MOLINA NEGRON                        LOS ANGELES             D 29 CALLE C                                                                       CAROLINA            PR           00979
   651077 EVELYN MONTALVO GOMEZ                       BO SANTANA              331 A CARR 2                                                                       ARECIBO             PR           00612
   651078 EVELYN MONTALVO MEDINA                      URB MONTE BRISA         5 A 10 CALLE 5‐1                                                                   FAJARDO             PR           00738
   159887 EVELYN MONTALVO ORTIZ                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159888 EVELYN MONTANEZ MEDINA                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159889 EVELYN MONTANEZ ROMAN                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   159890 EVELYN MORALES BENITEZ                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   159891 EVELYN MORALES HERNANDEZ                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   159893 EVELYN MORALES MARRERO                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   651079 EVELYN MORALES MEDINA                       PO BOX 1566                                                                                                   CAYEY               PR         00737
   651080 EVELYN MORALES ORTIZ                        HC 02 BOX 9553                                                                                                OROCOVIS            PR         00720
   651081 EVELYN MORALES RIVERA                       HC 2 BOX 15614                                                                                                CAROLINA            PR         00985
   159894 EVELYN MORALES ROBLES                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   159895 EVELYN MORALES RODRIGUEZ                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   651082 EVELYN MORALES SOTO                         URB DEL CARMEN            J51 CALLE 5                                                                         CAMUY               PR         00627
   159896 EVELYN MORALES VILA                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   159897 EVELYN MORENO ORTIZ                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   651085 EVELYN MOYA ROJAS                           H C 4 BOX 43310                                                                                               HATILLO             PR         00659
   159899 EVELYN MU¥OZ                                REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   159901 EVELYN MULERO SERRANO                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   651087 EVELYN MUNDO RIOS                           468 CALLE FRANCIA                                                                                             SAN JUAN            PR         00917
   159902 EVELYN MUNIZ TORRES                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   159904 EVELYN MUNOZ ARVELO                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   159905 EVELYN MUNOZ SANTIAGO                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   651088 EVELYN MUNOZ SOTO                           URB CONDADO MODERNO       J 18 CALLE 8                                                                        CAGUAS              PR         00725

   650775 EVELYN N RODRIGUEZ GUZMAN                   URB LAS MERCEDES          8 CALLE 5                                                                           SALINAS             PR         00751‐1631
   159907 EVELYN N. LLIRAN LOPEZ                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   159908 EVELYN NAZARIO LEDUC                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   651092 EVELYN NEGRON DIAZ                          RES KENNEDY EDIF          26 APT 230                                                                          MAYAGUEZ            PR         00680
   159910 EVELYN NEGRON NIEVES                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   159911 EVELYN NEGRON ORTIZ                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   159912 EVELYN NEGRON REYES                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   651094 EVELYN NEGRON RODRIGUEZ                     LAS AMAPOLAS              EDIF B 12 APT 184                                                                   TRUJILLO ALTO       PR         00976
   159913 EVELYN NEGRON RUIZ                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   159915 EVELYN NIEVES GARCIA                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   651096 EVELYN NIEVES LOPEZ                         112 ALBERTS ST                                                                                                OXFORD              NC         27565
   651097 EVELYN NIEVES MARRERO                       P O BOX 8815                                                                                                  CAGUAS              PR         00726
   159917 EVELYN NIEVES NIEVES                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   159918 EVELYN NIEVES SANTIAGO                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   651099 EVELYN O DIAZ KENT                          BO OBRERO                 610 CALLE 12                                                                        SAN JUAN            PR         00915

   651101 EVELYN OFARRILL CARTAGENA                   BOX 191                                                                                                       AGUIRRE             PR         00704
   651103 EVELYN OJEDA FLORES                         HC 1 BOX 8290                                                                                                 SAN GERMAN          PR         00683
   651104 EVELYN OJEDA PEREZ                          URB RIO GRANDE ESTATE     N26 CALLE 19                                                                        RIO GRANDE          PR         00745‐5102
   651105 EVELYN OJEDA VAZQUEZ                        PO BOX 1115                                                                                                   SAN GERMAN          PR         00683
   159919 EVELYN OLIVERAS ROMERO                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   651107 EVELYN OLIVERASN LEBRON                     COND VILLA PANAMERICANA   EDIF D APT 604                                                                      SAN JUAN            PR         00926
   159920 EVELYN OLMEDO BARRETO                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   651108 EVELYN OLMO SANCHEZ                         URB PEREZ MORRIS          80 B CALLE PONCE                                                                    SAN JUAN            PR         00917
   159921 EVELYN ORTEGA ORTIZ                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   651110 EVELYN ORTIZ ALVARADO                       URB SAN ANTONIO           D 3 CALLE 7                                                                         COAMO               PR         00769
   651111 EVELYN ORTIZ CARIDE                         138 PUERTA DEL MAR                                                                                            HATILLO             PR         00659
   159922 EVELYN ORTIZ CINTRON                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   159923 EVELYN ORTIZ COLON                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   651112 EVELYN ORTIZ CORTES                         BO BARAHONA               192A CALE MANUEL CACHO                                                              MOROVIS             PR         00687
   651113 EVELYN ORTIZ DELGADO                        APTO 1552                                                                                                     YABUCOA             PR         00767
   159929 EVELYN ORTIZ LOPEZ                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  651115 EVELYN ORTIZ MALAVE                          BO SUM                       HC 1 BOX 8327                                                                        AGUAS BUENAS       PR         00703
  159930 EVELYN ORTIZ MANGUAL                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  651117 EVELYN ORTIZ MORALES                         6 CALLE LIBERTAD                                                                                                  SAN GERMAN         PR         00683‐4013
  651118 EVELYN ORTIZ PANIAGUA                        PO BOX 9023349                                                                                                    SAN JUAN           PR         00902‐3349
  159933 EVELYN ORTIZ QUINONEZ                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  159934 EVELYN ORTIZ RIVERA                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  159935 EVELYN ORTIZ ROSADO                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  159936 EVELYN ORTIZ SUAREZ                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  159937 EVELYN OSORIO CAMACHO                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  159938 EVELYN OTERO                                 REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  159939 EVELYN OTERO FIGUEROA                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  159940 EVELYN OTERO NAZARIO                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  651122 EVELYN OTERO PABON                           PO BOX 314                                                                                                        VEGA BAJA          PR         00694
  651123 EVELYN PADRE CADAVONA                        10 CALLE LAS ROSAS PAT 903                                                                                        BAYAMON            PR         00961
  651124 EVELYN PAGAN HERMNIA                         PO BOX 393                                                                                                        CAMUY              PR         00627
  651125 EVELYN PAGAN SANCHEZ                         PO BOX 5831                                                                                                       CIDRA              PR         00739
  159941 EVELYN PAGAN VAZQUEZ                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  651127 EVELYN PENA RIVERA                           PO BOX 97                                                                                                         HUMACAO            PR         00792
  651128 EVELYN PEREA ESCOBAR                         EXT II SANTA ISIDRA          116 CALLE 1                                                                          FAJARDO            PR         00738
  651129 EVELYN PEREIRA ALMESTICA                     RR 6 BOX 9840                                                                                                     SAN JUAN           PR         00926
  651130 EVELYN PEREZ                                 10 URB CAMPO ALEGRE                                                                                               HUMACAO            PR         00791
  651133 EVELYN PEREZ BERNARDY                        HC 44 BOX 13359                                                                                                   CAYEY              PR         00736‐9759
  651134 EVELYN PEREZ CORTES                          RIVER GARDENS                C 13 CALLE FLOR DEL RIO                                                              CANOVANAS          PR         00772
  651136 EVELYN PEREZ DE CARRERO                      ADM SERV GEN                 P O BOX 7428                                                                         SAN JUAN           PR         00916‐7428
  651138 EVELYN PEREZ DIAZ                            PO BOX 148                                                                                                        GUAYNABO           PR         00971
  651139 EVELYN PEREZ GONZALEZ                        BO SUSUA BAJA                HC 9 BOX 5148                                                                        SABANA GRANDE      PR         00637
  651141 EVELYN PEREZ JUSINO                          HC 4 BOX 22141                                                                                                    LAJAS              PR         00667
  159942 EVELYN PEREZ RODRIGUEZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  159943 EVELYN PEREZ ROSA                            REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  651144 EVELYN PEREZ SEGARRA                         BO MANI                      319 CALLE BOQUILLA                                                                   MAYAGUEZ           PR         00680
  159945 EVELYN PEREZ TRINIDAD                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  159947 EVELYN PINERO BOIRA                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         EVELYN PLAZA GONZALEZ /
  159948 TROPHYS GALLERY                              REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  651145 EVELYN POMALES ROSA                          P O BOX 157                                                                                                       SANTA ISABEL       PR         00757
  651147 EVELYN PRATTS TAPIA                          P O BOX 1958                                                                                                      LARES              PR         00669
  651149 EVELYN QUILES IRIZARRY                       HC 4 BOX 15131                                                                                                    SAN SEBASTIAN      PR         00685
  159951 EVELYN QUILES ROSARIO                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
         EVELYN QUINONES
  159953 CARRASQUILLO                                 REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   159955 EVELYN QUINONES MELENDEZ                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   159956 EVELYN QUINONES SANCHEZ                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          EVELYN QUINONEZ Y JAVIER
   159957 HERNANDEZ                                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   159958 EVELYN R ACOSTA JEREZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   159959 EVELYN R CANCEL ALVARADO                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          EVELYN R GONZALEZ
   159960 ECHEVARRIA                                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   651152 EVELYN R VAZQUEZ DIAZ                       PO BOX 224                                                                                                        FLORIDA            PR         00650
          EVELYN R VELEZ GONZALEZ
   159961 WILSON GONZALEZ                             REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   159962 EVELYN RABELO DONES                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED



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  159963 EVELYN RAMIREZ ENRIQUE                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  651153 EVELYN RAMIREZ FALTO                         P O BOX 675                                                                                                    MAYAGUEZ          PR         00675
  159964 EVELYN RAMIREZ LOZANO                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  159965 EVELYN RAMIREZ LUGO                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  651154 EVELYN RAMIREZ MANZANO                       URB BUENA VENTURA            1103 CALLE MAGNOLIA                                                               MAYAGUEZ          PR         00682‐1284
  651157 EVELYN RAMIREZ ROSADO                        LA RIVIERA                   CALLE 1 SE 931                                                                    SAN JUAN          PR         00921
  651158 EVELYN RAMIREZ TORRES                        HC 03 BOX 29130                                                                                                AGUADA            PR         00602
  159966 EVELYN RAMIREZ VAZQUEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         EVELYN RAMIREZ Y/O MARLIN
  651159 ACOSTA                                       906 HATTERAS TERRACE SE                                                                                        PALM BAY          FL         32909‐5273

   651160 EVELYN RAMIREZ ZAPATA                       232 AVE ELEONOR ROOSEVELT                                                                                      SAN JUAN          PR         00907
   651163 EVELYN RAMOS FELICIANO                      HC 01 BOX 9263                                                                                                 HATILLO           PR         00659
   159967 EVELYN RAMOS LOPEZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   651164 EVELYN RAMOS RAMOS                          HC 1 BOX 4989                                                                                                  NAGUABO           PR         00718‐9729
   159968 EVELYN RAMOS RODRIGUEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159969 EVELYN RAMOS ROSADO                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159970 EVELYN REMIGIO LOPEZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159949 EVELYN REYES ALICEA                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   651165 EVELYN REYES ALMEIDA                        URB BAYAMON GARDENS          KK 8 CALLE ANTH                                                                   BAYAMON           PR         00957
   159971 EVELYN REYES COLON                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159972 EVELYN REYES DIAZ                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   651166 EVELYN REYES GARCIA                         PO BOX 957                                                                                                     BAJADERO          PR         00616
   651167 EVELYN REYES MARTINEZ                       HC 43 BOX 10896                                                                                                CAYEY             PR         00736
   159973 EVELYN REYES MERCED                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   651168 EVELYN REYES MORALES                        UNID. ALCOHOLISMO Y DESINT                                                                                     Hato Rey          PR         009360000
   159974 EVELYN REYES OLIVERAS                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159975 EVELYN REYES RODRIGUEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159976 EVELYN REYES TORRES                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   651170 EVELYN RIOLLANO GARCIA                      SAN GERARDO                  1636 CALLE COLORADO                                                               SAN JAUN          PR         00926
   159978 EVELYN RIOS DE JESUS                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159979 EVELYN RIOS HEREIDA                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   651172 EVELYN RIOS RODRIGUEZ                       418 VIERA JOSCO BO GALATEO                                                                                     TOA ALTA          PR         00953
   651173 EVELYN RIOS SERRANO                         PO BOX 7126                                                                                                    PONCE             PR         00732
   159980 EVELYN RIVERA                               REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   651176 EVELYN RIVERA AYALA                         URB VILLA BLANCA             18 CALLE ALEJANDRIN                                                               CAGUAS            PR         00725‐1901
   159981 EVELYN RIVERA BAEZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159982 EVELYN RIVERA CANCEL                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   651177 EVELYN RIVERA CINTRON                       HC 05 BOX 5049                                                                                                 YABUCOA           PR         00767‐9664
   159983 EVELYN RIVERA CLEMENTE                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159985 EVELYN RIVERA CORDERO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   651178 EVELYN RIVERA CRESPO                        PO BOX 8548                                                                                                    BAYAMON           PR         00960
   651180 EVELYN RIVERA DIAZ                          PO BOX 37151                                                                                                   SAN JUAN          PR         00937
   159986 EVELYN RIVERA FLORES                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159987 EVELYN RIVERA GARCIA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   159989 EVELYN RIVERA GONZALEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   651185 EVELYN RIVERA JUSINO                        APARTADO 620                                                                                                   COTO LAUREL       PR         00780‐0620
   651186 EVELYN RIVERA LOPEZ                         P O BOX 9664                                                                                                   COMERIO           PR         00782
   651187 EVELYN RIVERA LOZADA                        COND QUINTANA                EDIF B APTO 1102                                                                  SAN JUAN          PR         00917
   159991 EVELYN RIVERA LUGO                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   651188 EVELYN RIVERA MARQUEZ                       PO BOX 557                                                                                                     MAUNABO           PR         00707



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  651189 EVELYN RIVERA MASA                           HC 01 BOX 11805                                                                                                  CAROLINA            PR         00985
  651191 EVELYN RIVERA MORALES                        PO BOX 428                                                                                                       ANGELES             PR         00611
  159993 EVELYN RIVERA OLIVERO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  651192 EVELYN RIVERA ORTIZ                          HC 01 BOX 3740                                                                                                   FLORIDA             PR         00650
  159994 EVELYN RIVERA QUINONES                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   651193 EVELYN RIVERA REYES                         149 AVE LOS PATRIOTAS APTO 15                                                                                    LARES               PR         00669
   651194 EVELYN RIVERA RIVERA                        ESTANCIAS DE BORINQUEN        BOX 129                                                                            MANATI              PR         00674
   159996 EVELYN RIVERA ROSA                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   159997 EVELYN RIVERA ROSARIO                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651198 EVELYN RIVERA SOBRADO                       RR 1 BOX 12651                                                                                                   TOA ALTA            PR         00953
   159998 EVELYN RIVERA SOTO                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651199 EVELYN RIVERA TORRES                        350 CALLE FUERTE APT 9                                                                                           SAN JUAN            PR         00911
          EVELYN RIVERA TORRES/JOSE A
   651200 RIVERA                                      B 4 JARDINES DE ADJUNTAS                                                                                         ADJUNTAS            PR         00601
   160001 EVELYN RIVERA VIERA                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651201 EVELYN RIVERA ZAYAS                         HC 2 BOX 9779                                                                                                    BARRANQUITAS        PR         00794
   651202 EVELYN ROBLEDO MARTINEZ                     BOX 537                                                                                                          CEIBA               PR         00735
   160003 EVELYN ROBLES BARRIENTOS                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160004 EVELYN ROBLES BAUZA                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160005 Evelyn Robles Lozada                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651203 EVELYN ROBLES RIVERA                        PO BOX 21365                                                                                                     SAN JUAN            PR         00926‐1365
   160006 EVELYN ROBLES WILLIAMS                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160007 EVELYN RODRIGUEZ                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EVELYN RODRIGUEZ / ANGEL L
   160008 ALGARIN                                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651206 EVELYN RODRIGUEZ AJA                        PO BOX 2298                                                                                                      ISABELA             PR         00662
   651207 EVELYN RODRIGUEZ ALAMO                      PO BOX 22841                                                                                                     SAN JUAN            PR         00931‐2841

   160009 EVELYN RODRIGUEZ ANDUJAR                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651208 EVELYN RODRIGUEZ BONILLA                    CERRO GORDO                 RR 04 BOX 540                                                                        BAYAMON             PR         00956
                                                      PMB 423 220 WESTEN AUTO
   651209 EVELYN RODRIGUEZ BURGOS                     PLAZA                       STE 101                                                                              TRUJILLO ALTO       PR         00976

   160010 EVELYN RODRIGUEZ CALDERON                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160011 EVELYN RODRIGUEZ CINTRON                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160013 EVELYN RODRIGUEZ DAVILA                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   651214 EVELYN RODRIGUEZ DELGADO                    PO BOX 734                                                                                                       LAJAS               PR         00667
   651215 EVELYN RODRIGUEZ DIAZ                       URB RAFAEL BERMUDEZ         G 6 CALLE 9                                                                          FAJARDO             PR         00738

   651217 EVELYN RODRIGUEZ FIGUEROA                   BONNEVILLE HEIGHTS          36 CALLE LAS PIEDRAS                                                                 CAGUAS              PR         00725
   651222 EVELYN RODRIGUEZ LACOT                      191 CALLE MORSE                                                                                                  ARROYO              PR         00714
   160014 EVELYN RODRIGUEZ MOLINA                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   651225 EVELYN RODRIGUEZ MORALES                    ALT DE MONTE BRISAS         4G 21 CALLE 9                                                                        FAJARDO             PR         00738
   651227 EVELYN RODRIGUEZ OTERO                      URB VILLA CAROLINA          222‐9 CALLE 601                                                                      CAROLINA            PR         00985
   651228 EVELYN RODRIGUEZ PABON                      PO BOX 203                                                                                                       GURABO              PR         00778
          EVELYN RODRIGUEZ PARA
   160015 EDGARDO TAPIA                               REDACTED                   REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651229 EVELYN RODRIGUEZ PEREZ                      BDA VIETNAM                2 CALLE M                                                                             GUAYNABO            PR         00965
                                                      URB LOS ALAMOS AVE EMERITO
   651230 EVELYN RODRIGUEZ QUILES                     ESTRADA                    1 CALLE PROVIDENCIA BARRERO                                                           SAN SEBASTIAN       PR         00685



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  160016 EVELYN RODRIGUEZ REYES                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  160017 EVELYN RODRIGUEZ RIOS                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  651232 EVELYN RODRIGUEZ RIVERA                      PO BOX 194508                                                                                                      SAN JUAN            PR         00919‐4508
  160018 EVELYN RODRIGUEZ ROSADO                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  651234 EVELYN RODRIGUEZ ROSARIO                     PMB 425 PO BOX 2400                                                                                                TOA BAJA            PR         00951
  160019 EVELYN RODRIGUEZ RUIZ                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  651236 EVELYN RODRIGUEZ SANCHEZ                     HC 3 BOX 37379                                                                                                     CAGUAS              PR         00725
  160021 EVELYN RODRIGUEZ TORRES                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   651238 EVELYN RODRIGUEZ VAZQUEZ                    URB HACIENDA                  A T 10 CALLE 46                                                                      GUAYAMA             PR         00784

   651239 EVELYN ROHENA BETANCOURT                    COOP ROLLINGS HILLS APT B 2   BUZON 96                                                                             CAROLINA            PR         00787
   160022 EVELYN ROJAS SERRANO                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651240 EVELYN ROMAN BONILLA                        BO LA DOLORES                 127 CALLE COLOMBIA                                                                   RIO GRANDE          PR         00745
   651242 EVELYN ROMAN REYES                          PO BOX 711                                                                                                         GARROCHALES         PR         00652
   650777 EVELYN ROMAN VARGAS                         PO BOX 310                                                                                                         ISABELA             PR         00662
   651243 EVELYN ROMERO MATOS                         URB BAIROA                    DC 10 CALLE 13                                                                       CAGUAS              PR         00725
   160023 EVELYN ROMERO ROSARIO                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   650778 EVELYN ROSA ROJAS                           URB VILLAS DE RIO GRANDE      P 15 CALLE 8                                                                         RIO GRANDE          PR         00745
   651245 EVELYN ROSA VALLEJO                         URB CIUDAD MASSO              D 10 CALLE 7                                                                         SAN LORENZO         PR         00754
   651246 EVELYN ROSADO CANCEL                        RR 1 BOX 41290                                                                                                     SAN SEBASTIAN       PR         00685
   160024 EVELYN ROSADO ORTIZ                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651248 EVELYN ROSADO PASTRANA                      PMB 532                       BOX 2500                                                                             TOA BAJA            PR         00951
   160025 EVELYN ROSADO RESTO                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160026 EVELYN ROSADO VEGA                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651251 EVELYN ROSADO VERA                          HC R 2 BOX 4781                                                                                                    SABANA HOYOS        PR         00688
   651253 EVELYN ROSARIO CINTRON                      PO BOX 215                                                                                                         OROCOVIS            PR         00720
   651254 EVELYN ROSARIO CRUZ                         BARRIADA ISRAEL               18 CALLE CUBA                                                                        SAN JUAN            PR         00917
   651255 EVELYN ROSARIO DIAZ                         RIO BLANCO                    HC 01 BOX 4569                                                                       NAGUABO             PR         00718
   160027 EVELYN ROSARIO FIGUEROA                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651256 EVELYN ROSARIO GARCIA                       BO MANI                       90 CALLE ELENA SEGARRA                                                               MAYAGUEZ            PR         00680
   160029 EVELYN ROSARIO LOPEZ                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160030 EVELYN ROSARIO NUNEZ                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   651258 EVELYN ROSARIO RIVERA                       223 HORMIGUEROS APARTMENT                                                                                          HORMIGUEROS         PR         00660
   160031 EVELYN ROSARIO SERRANO                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160033 EVELYN ROSARIO VELEZ                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                ESC COMUNIDAD GONZALEZ
   651261 EVELYN ROSAS                                PO BOX 691                MELO                                                                                     RINCON              PR         00677
   651262 EVELYN ROSAS SOTO                           HC 02 BOX 23769                                                                                                    MAYAGUEZ            PR         00680‐9033
   160034 EVELYN RUBIO FERNANDEZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160036 EVELYN RUIZ CENTENO                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160037 EVELYN RUIZ HERNANDEZ                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160038 EVELYN RUIZ SANTIAGO                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160039 EVELYN RUTH PEREZ OCASIO                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   651266 EVELYN S ALMODOVAR PANTOJA URB RIO CANAS                                  2336 CALLE GUADALQUIR                                                                PONCE               PR         00728‐1889
   160040 EVELYN S GELY RAMOS        REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651267 EVELYN S GUZMAN SANTIAGO   EST DE RIO HONDO I                             D 73 CALLE RIO CIALITOS                                                              BAYAMON             PR         00961

   651268 EVELYN S IGLESIAS DE GONZALEZ PO BOX 364871                                                                                                                    SAN JUAN            PR         00936‐4871

   160041 EVELYN S OTERO CONCEPCION                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  651269 EVELYN S RAMOS ALVAREZ                       HC 1 BOX 4047                                                                                                  MAUNABO             PR           00707

   651270 EVELYN S RIVERA RIVERA                      COND MONTECILLO APTO 906                                                                                       TRUJILLO ALTO       PR           00976
          EVELYN S. ALMODOVAR
   160042 PUANTONG                                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   160043 EVELYN SALAS LOPEZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   651272 EVELYN SANABRIA LUGO                        30 CALLE VICTORIA                                                                                              SAN GERMAN          PR           00683
   651273 EVELYN SANCHEZ DAPENA                       URB SANTA MARIA              83 CALLE LIMONCILLO                                                               SAN JUAN            PR           00927

   651274 EVELYN SANCHEZ DIAZ                         JARD DE PALMAREJO SAN ISIDRO Y 16 CALLE 10                                                                     CANOVANAS           PR           00729
   160044 EVELYN SANCHEZ FERRER                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   160045 EVELYN SANCHEZ FLORES                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   651275 EVELYN SANCHEZ REYES                        PLAYITA                      3011 CALLE REPUBLICA                                                              SAN JUAN            PR           00913
   160046 EVELYN SANCHEZ RIVERA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   651276 EVELYN SANCHEZ ROSARIO                      BO CAROLA                    PARC 68 CALLE 4                                                                   RIO GRANDE          PR           00745
   160047 EVELYN SANCHEZ SANTIAGO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   160050 EVELYN SANCHEZ VIDAL                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   160051 EVELYN SANDOVAL MIRANDA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   160052 EVELYN SANTANA                              REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   160053 EVELYN SANTANA CACERES                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   651278 EVELYN SANTANA LUGO                         URB MONTE BELLO              B 17 CALLE DEL ANGEL                                                              SAN GERMAN          PR           00683
   160054 EVELYN SANTIAGO CRUZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   651282 EVELYN SANTIAGO DE RIVERA                   URB VILLA DE MOUNTAIN VIEW   K 15 CALLE 7                                                                      CAROLINA            PR           00987
   651283 EVELYN SANTIAGO FARIA                       HC 01 BOX 7515               BAJADER0                                                                          ARECIBO             PR           00616
   651284 EVELYN SANTIAGO JURADO                      PO BOX 7893                                                                                                    CIDRA               PR           00739
   160055 EVELYN SANTIAGO LEBRON                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   160056 EVELYN SANTIAGO LOPEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   651285 EVELYN SANTIAGO ORTIZ                       H C 01 BOX 7825                                                                                                VILLALBA            PR           00776
   160057 EVELYN SANTIAGO REYES                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   651286 EVELYN SANTIAGO RODRIGUEZ                   PO BOX 9154                                                                                                    BAYAMON             PR           00960
   160058 EVELYN SANTIAGO RUIZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   651289 EVELYN SANTIAGO SANABRIA                    PO BOX 1085                                                                                                    TOA BAJA            PR           00951
   651290 EVELYN SANTIAGO SIERRA                      PO BOX 30744                                                                                                   SAN JUAN            PR           00929‐1744
   160060 EVELYN SANTIAGO TORRES                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          EVELYN SANTO DOMINGO
   160062 NEGRON                                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   651292 EVELYN SANTOS                               P O BOX 19304                                                                                                  SAN JUAN            PR           00910‐1304
   651295 EVELYN SANTOS CAEZ                          ROYAL TOWN                   B 10 CALLE 13                                                                     BAYAMON             PR           00956
   160063 EVELYN SANTOS COLON                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   160064 EVELYN SANTOS MONTES                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   651296 EVELYN SANTOS NIEVES                        P O BOX 10788 SUITE 225                                                                                        PONCE               PR           00732‐0788
   651297 EVELYN SEGARRA TORRES                       URB BARAMAYA                 862 CALLE AREYTO                                                                  PONCE               PR           00728
   160066 EVELYN SEPULVEDA LOZADA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   650779 EVELYN SERANO VARGAS                        HC 01 BOX 5359                                                                                                 YABUCOA             PR           00767‐9609
   160067 EVELYN SERPA SOTO                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   160068 EVELYN SERRANO CASTRO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   651301 EVELYN SERRANO LOZADA                       HC 1 BOX 6767                                                                                                  LAS PIEDRAS         PR           00771
   651302 EVELYN SERRANO MANGUAL                      VILLA OLIMPICA               583 PASEO 5                                                                       SAN JUAN            PR           00924
   651303 EVELYN SERRANO SOTO                         BO HATO VIEJO CARR 626                                                                                         ARECIBO             PR           00612
   651304 EVELYN SIERRA BURGOS                        P O BOX 1034                                                                                                   GUAYNABO            PR           00970
   160069 EVELYN SIERRA TORRES                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  160070 EVELYN SILVA                                 REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  160071 EVELYN SOLER LAMBERTY                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  651305 EVELYN SOLER TORRES                          PMB 444                     PO BOX 7105                                                                        PONCE             PR         00732
  651306 EVELYN SOSA PEREZ                            URB SANS SOUCI              AA19 CALLE 20                                                                      BAYAMON           PR         00957
  651307 EVELYN SOSA VAZQUEZ                          PO BOX 1111                                                                                                    HORMIGUEROS       PR         00660‐1111
  651308 EVELYN SOTO                                  REPTO SAN JOSE              449 CALLE FERROL                                                                   SAN JUAN          PR         00923
  651309 EVELYN SOTO ACEVEDO                          HC 6 BOX 66842                                                                                                 AGUADILLA         PR         00603
  651310 EVELYN SOTO ALVAREZ                          EXT VILLA RITA              BB14 CALLE 26                                                                      SAN SEBASTIAN     PR         00685
  160072 EVELYN SOTO CABAN                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  160073 EVELYN SOTO GALARZA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  160074 EVELYN SOTO PLANTEN                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  651311 EVELYN SOTO RIVERA                           URB CAPARRA TERRACE         813 CALLE 13 SE                                                                    SAN JUAN          PR         00921
  651314 EVELYN SUAREZ PIZARRO                        EXT VILLA CAROLINA          70 N2 CALLE 57                                                                     CAROLINA          PR         00985
  651315 EVELYN SUAREZ RODRIGUEZ                      SANTA TERESITA              BT 33 CALLE MARGINAL                                                               PONCE             PR         00731
  160075 Evelyn T Marquez Escobar                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  160076 EVELYN TALAVERA OCASIO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  160077 EVELYN TAPIA TAPIA                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      URB LAS LOMAS DE TRUJILLO
   651317 EVELYN TEXIDOR PAGAN                        ALTO                        C 4 CALLE 2                                                                        TRUJILLO ALTO     PR         00976
   160078 EVELYN TIRADO PEREZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   651318 EVELYN TOLEDO FRANQUIZ                      URB ROOSEVELT               418 CALLE ANTOLIN NIN                                                              SAN JUAN          PR         00918

   160079 EVELYN TOLENTINO MARCANO                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   651320 EVELYN TORO RODRIGUEZ                       CARR BOQUERON               BUZON 453                                                                          CABO ROJO         PR         00623 4342
   651323 EVELYN TORRES                               C/O ANTONIA DE JESUS        DEPT SALUD              PO BOX 70184                                               SAN JUAN          PR         00936‐8184
   651325 EVELYN TORRES ALVARADO                      URB VILLAS DE LOIZA         AG 10 CALLE 30                                                                     CANOVANAS         PR         00729
   160081 EVELYN TORRES BECERRIL                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   651327 EVELYN TORRES BERNABE                       VILLA MARINA                F 18 CALLE 4                                                                       CAROLINA          PR         00979
   651328 EVELYN TORRES CLAUDIO                       HC 3 BOX 38555                                                                                                 CAGUAS            PR         00725‐9721
   651329 EVELYN TORRES CRESPO                        HC 1 BOX 4394                                                                                                  LAS MARIAS        PR         00670
   160082 EVELYN TORRES CRUZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   651330 EVELYN TORRES DOMINGUEZ                     BO LLANADAS BOX 29                                                                                             BARCELONETA       PR         00617
   160085 EVELYN TORRES MARQUEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   651336 EVELYN TORRES MARZAN                        PO BOX 796                                                                                                     TOA ALTA          PR         00954
   651337 EVELYN TORRES MENDEZ                        BARRIO PUERTOS              HC 01 BOX 9785                                                                     CAMUY             PR         00627
   160086 EVELYN TORRES MONTALVO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   651339 EVELYN TORRES MOORE                         BO CALICLOZA                SEC GUANA                                                                          ARECIBO           PR         00612
   651340 EVELYN TORRES OLMO                          P O BOX 1163                                                                                                   BAJADERO          PR         00616
   160087 EVELYN TORRES RODRIGUEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   160088 EVELYN TORRES RODRIGUEZF                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   651344 EVELYN TORRES ROMAN                         RR 2 BOX 8331                                                                                                  MANATI            PR         00674
   651345 EVELYN TORRES SANTIAGO                      PO BOX 206                                                                                                     NARANJITO         PR         00719‐0206
   651346 EVELYN TORRES TORRES                        PMB 127                     PO BOX 3505                                                                        JUANA DIAZ        PR         00795
   160089 EVELYN TORRESVALLES                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   651348 EVELYN TOSADO BUTLER                        BO COCOS                    HC 02 BOX 8634                                                                     QUEBRADILLAS      PR         00678
   160090 EVELYN TOSADO QUINONES                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   160092 EVELYN TRICOCHE                             REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   160093 EVELYN TRINIDAD BENITEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   160094 EVELYN TRUJILLO ORTIZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   651349 EVELYN TUA SALAS                            VILLA ESPERANZA I           C 68 A CALLE CLEMENTE                                                              CAROLINA          PR         00985
   650780 EVELYN V GAUD ALMODOVAR                     4TA EXT COUNTRY CLUB        QD 16 CALLE 530                                                                    CAROLINA          PR         00982
   160096 EVELYN VALENTIN COLON                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   160097 EVELYN VALENTIN CORTES                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  160098 EVELYN VALENTIN MARRERO                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         EVELYN VALENTIN Y RUBEN
  160100 GONZALEZ                                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  160101 EVELYN VALLELLANES AYALA                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  160102 EVELYN VARGAS MARTINEZ                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  651354 EVELYN VAZQUEZ                               P O BOX 830                                                                                                  SALINAS             PR         00751
  160103 EVELYN VAZQUEZ ALICEA                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  651355 EVELYN VAZQUEZ ARROYO                        BARRIADA POLVORIN      30 CALLE 12                                                                           CAYEY               PR         00736
  160104 EVELYN VAZQUEZ CABRERA                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  160105 EVELYN VAZQUEZ MEDINA                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  160106 EVELYN VAZQUEZ ORTIZ                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  651356 EVELYN VAZQUEZ ROSADO                        P O BOX 954                                                                                                  TOA BAJA            PR         00951‐0954
  651357 EVELYN VAZQUEZ VEGA                          PARQUE DE RETIRO III   CALLE MONTEVIDEO APT 488                                                              MOROVIS             PR         00687
  651358 EVELYN VAZQUEZ ZAYAS                         PO BOX 747                                                                                                   VEGA BAJA           PR         00694
  651359 EVELYN VEGA FREYRE                           74 CALLE MENDEZ VIGO                                                                                         PONCE               PR         00730
  160108 EVELYN VEGA ZAYAS                            REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  160109 EVELYN VEGUILLA FIGUEROA                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  651361 EVELYN VEGUILLA ZAYAS                        P O BOX 102                                                                                                  AGUAS BUENAS        PR         00703‐0102
  651362 EVELYN VELAZQUEZ                             VALLE TOLIMA           J 21 MIRNA VAZQUEZ                                                                    CAGUAS              PR         00725
  160110 EVELYN VELAZQUEZ CRUZ                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  650781 EVELYN VELEZ BORRES                          URB LA ROSALEDA I      EB 43 CALLE ROSA DE YORK                                                              TOA BAJA            PR         00949
  160113 EVELYN VELEZ DIAZ                            REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  651366 EVELYN VELEZ HERNANDEZ                       ROYAL TWN              D 13 CALLE 8                                                                          BAYAMON             PR         00957‐4540
  651367 EVELYN VELEZ LOPEZ                           PO BOX 821                                                                                                   LUQUILLO            PR         00773
  160114 EVELYN VELEZ RODRIGUEZ                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  651369 EVELYN VELEZ VEGA                            PO BOX 11068                                                                                                 JUNCOS              PR         00777
  160115 EVELYN VELEZ VELEZ                           REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  160116 EVELYN VELILLA MIRABAL                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         EVELYN VICENTE / GONZALO
  160117 VICENTE                                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         EVELYN VICENTE/ JUDITH
  160118 VICENTE                                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  160119 EVELYN VIERA SANTANA                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   651371 EVELYN VILLALOBOS MORAUDA                   P O BOX 845                                                                                                  CIALES              PR         00638
   651372 EVELYN VILLANUEVA AGOSTO                    LAS VEGAS              C 4 CALLE AMAPOLA                                                                     CATANO              PR         00962
   651373 EVELYN VILLEGAS CENTENO                     RR 11 BOX 5879                                                                                               BAYAMON             PR         00956‐9742
   651374 EVELYN VIRUET MEDINA                        HC 01 BOX 9899                                                                                               HATILLO             PR         00659

   651375 EVELYN W ALEJANDRO CABRERA HC 01 BOX 8764                                                                                                                GURABO              PR         00778‐9802
          EVELYN Y GIERBOLONI
   651376 MARTINEZ                   A 85 BO PLAYITA                                                                                                               SALINAS             PR         00751
   651378 EVELYN ZAMBRANA OYOLA      RR 05 BOX 7804                                                                                                                TOA ALTA            PR         00953
   160121 EVELYN ZAMBRANA ROSADO     REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160122 EVELYN ZAPATA CABRERA      REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651379 EVELYN ZAYAS CRUZ          URB SAGRADO CORAZON                     447 CALLE SAN LINO                                                                    SAN JUAN            PR         00928
   651380 EVELYN ZAYAS MARTINEZ      URB RIO PLATA                           24 CALLE B                                                                            COMERIO             PR         00782
   651383 EVEMILD TORO SOTO          PROG. SERA BAYAMON                                                                                                            Hato Rey            PR         009360000
   160123 EVEN E. COLON BURGOS       REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160124 EVEN M HERNANDEZ LAGUER    REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651384 EVENILDA NIEVES CORDERO    HC 3 BOX 32802                                                                                                                AGUADILLA           PR         00603
   651385 EVENT PLANNERS             65TH INF STATION                        PO BOX 29574                                                                          SAN JUAN            PR         00929
   651386 EVENT PLANNERS INC         65TH INF STATION                        BOX 29574                                                                             SAN JUAN            PR         00929



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   160125 EVENTOS GRAFICOS INC                        URB LOS INGENIEROS         504 CALLE FERNANDO CALDER                                                              SAN JUAN            PR           00918‐2753
   160126 EVENTO'S SIP INC                            COND GUANAJIBO STE 211 R                                                                                          MAYAGUEZ            PR           00680
   160127 EVENTS BY US                                URB VISTAMAR MARINA        B 11 C/ PONTEVEDRA                                                                     CAROLINA            PR           00983
   160128 EVENTS DESIGN GROUP INC                     800 CALLE DEL PARQUE                                                                                              SAN JUAN            PR           00909‐2852
   651387 EVENTS TROPICAL INC                         P O BOX 4219                                                                                                      FAJARDO             PR           00740‐4219
   651388 EVER A BURGOS CARABALLO                     HC 1 BOX 7430                                                                                                     YAUCO               PR           00698
   651389 EVER A BURGOS CARABALLO                     HC 01 BOX 7430                                                                                                    YAUCO               PR           00698‐9707
   160129 EVER A MADERA ATILES                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   160130 EVER CANCEL TORRES                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   160131 EVER CARDOZA SEDA                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   651393 EVER COOL AUTO AIR                          65 AVE BETANCES                                                                                                   BAYAMON             PR           00961
                                                      URB EXT TERRAZAS DE
   651394 EVER PADILLA RUIZ                           GUAYNABO                   E 5 CALLE FLORES                                                                       GUAYNABO            PR           00965
   651395 EVER RODRIGUEZ PABON                        PLAYA PONCE                59 CALLE LORENZA                                                                       PONCE               PR           00716
   651396 EVERA PADILLA CRUZ                          URB JARD COUNTRY CLUB      BA 16 CALLE 102                                                                        CAROLINA            PR           00983
   651397 EVERALDO JIMENEZ CRUZ                       HC 1 BOX 4683                                                                                                     CAMUY               PR           00627
          EVERANGEL ORENGO
   651398 CARABALLO                                   HC 01 BOX 7240                                                                                                    YAUCO               PR           00698
   651399 EVERARDO VELEZ ORTIZ                        58 CALLE BARBOSA                                                                                                  ISABELA             PR           00662
   160134 EVERARDO VELEZ PI¥ERO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   160135 EVERARDO VELEZ PINERO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   651401 EVEREADY P R INC                            P O BOX 2108                                                                                                      SAN JUAN            PR           00922‐2108
   160136 EVEREADY PR, INC                            CAPARRA HEIGHTS STATIONS   P O BOX 2108                                                                           SAN JUAN            PR           00922‐2108

   160137 EVEREDITH MALDONADO RIVERA REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   160143 EVERETTE WILLA R            REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          EVERGLADES BOATS /
   160144 DOUGHERTY SARAH             REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   160145 Evergreen Enterprises, Inc. 5915 Midlothian Turnpike                                                                                                          Richmond            VA           23225

   160146 EVERGREEN LANDSCAPING INC                   CALLE EL MORRO N 17        URB PARK GARDENS                                                                       SAN JUAN            PR           00926
                                                      CALLE EL MORRO N‐17 URB.
   160147 EVERGREEN LANDSCAPING INC.                  PARK GARDENS                                                                                                      SAN JUAN            PR           00926‐0000
          EVERGREEN NEUROSURGERY
   160148 CENTER                                      ATTN MEDICAL RECORDS       17070 RED OAK DR STE 507                                                               HOUSTON             TX           77090‐2617
   651404 EVERGREEN PROPETIES INC                     P O BOX 192572                                                                                                    SAN JUAN            PR           00919‐2572
   160149 EVERIDYS FIGUEROA JUSTINO                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   651405 EVERILDO GONZALEZ MOLINA                    PMB 22 PO BOX 1177                                                                                                LARES               PR           00669‐1177
   160150 EVERIS USA INC                              11921 FREEDON DRIVE        SUITE 720                                                                              RESTON              VA           20190
   651406 EVERLIDES CRUZ RODRIGUEZ                    URB VALLE DEL REY          4864 CALLE LANCIONDA                                                                   PONCE               PR           00728
   651407 EVERLIDES SEDA GONZALEZ                     RES SABADOS NUEVO          E 19 APT 190                                                                           MAYAGUEZ            PR           00680
          EVERLIDIS GONZALEZ
   160151 RODRIGUEZ                                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   651408 EVERLIDIS LIZASOAIN CUEVAS                  299 CALLE VILLA                                                                                                   PONCE               PR           00731
   160152 EVERLIDIS MILLAN MARTINEZ                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   160154 EVERLIDYS ROSSNER FIGUEROA                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   651412 EVERLYND PEREZ RODRIGUEZ                    PO BOX 890 MSC 610                                                                                                HUMACAO             PR           00792‐0890
   160155 EVERMEDIA INC.                              168 WINSTON CHURCHILL      AVE EL SENORIAL                                                                        SAN JUAN            PR           00926‐6013
   160164 EVERTEC                                     PO BOX 364527                                                                                                     SAN JUAN            PR           00910
   831761 Evertec Group LLC                           PO BOX 364527                                                                                                     San Juan            PR           00936‐4527



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  160167 EVERTEC INC                                  PO BOX 364527                                                                                                           SAN JUAN              PR           00936‐4527

   651413 EVERYBODY S FASHION                         URB LEVITTOWN                 Y 27 AVE BOULEVARD MONROIG                                                                TOA BAJA              PR           00949
   651414 EVERYDAY CONSTRUCION INC                    ESTANCIAS DEL GOLF CLUB       728 ENRIQUE LAGUERRE                                                                      PONCE                 PR           00731‐0545
   651415 EVERYDAY SERVICE                            383 CESAR GONZALEZ                                                                                                      SAN JUAN              PR           00918
   651416 EVETTE SANTOS NATAL                         HC 1 BOX 5851                                                                                                           OROCOVIS              PR           00720
   651417 EVEYLN NIEVES PEREZ                         URB LAS PALMAS                291 CALLE PALMA REAL                                                                      MOCA                  PR           00676
   651418 EVI FLOR LUGO CARLO                         VILLA NAVARRA                 620 FERNANDO G LEDESMA                                                                    SAN JUAN              PR           00924
   160171 EVIAN L ALBERT CAMACHO                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
          EVIAN LINETTE ALBERT
   160172 CAMACHO                                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
   831348 Evident Crime Scene Product                 739 Brooks Mill Rd                                                                                                      Union Hall            VA           24176
   160174 EVIDENTIA PUBLISHING BV                     ERICAWEG 2                                                                                                              HUIZEN                NL           1272 CT        Netherlands
   160175 EVIE COLON QUINTANA                         REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED

   160177 EVIE DEL C IRIZARRY DOMENECH REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
   651419 EVIE MALDONADO GONZALEZ      HC 6 BOX 66633                                                                                                                         AGUADILLA             PR           00603
   651420 EVILA COLON ROMAN            HC 2 BOX 22503                                                                                                                         SAN SEBASTIAN         PR           00685‐9262
   160178 EVILYS CARRION ESQUILIN      REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
   160179 EVIMIR BENABE RIVERA         REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
   160180 EVIN A ROMAN                 REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
   160182 EVINMOTORS P R INC           P O BOX 1770                                                                                                                           CAROLINA              PR           00984‐1770
   160183 EVITA TORRES SANTANA         REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
   160184 EV‐LOP CORPORATION           EDIFICIO DEL PARQUE 218                      CALLE DEL PARQUE APT 3A                                                                   SAN JUAN              PR           00912
   160185 EVLYN ALVAREZ ROSADO         REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
   651422 EVO E PALLOTO RIVERA         VILLA BORINQUEN                              411 CALLE DARIEN                                                                          SAN JUAN              PR           00920
   160189 EVOLUTION PRESS INC          P O BOX 2197                                                                                                                           GUAYNABO              PR           00970

   160190 EVOLUTION QUALITY GUARD INC AVENIDA ANDALUCIA                             3500 SUITE 4                                                                              SAN JUAN              PR           00926

   160191 EVOLUTION WIRELESS                          110 WING STREET, BASE RAMEY                                                                                             AGUADILLA             PR           00604
   160192 EVOLUZIONE CORP                             100 AVE SAN PATRICIO PLAZA  LOCAL A 4                                                                                   GUAYNABO              PR           00968
          EVT AIR CONDITIONING
   651423 SERVICES                                    COND CAPITOL HIOLL            154 CALLE SAN AGUSTIN APT A3                                                              SAN JUAN              PR           00901
   651424 EVT HOTEL INC                               HC 06 BOX 76000                                                                                                         CAGUAS                PR           00725
   160193 EVY M. RODRIGUEZ ROURA                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
   651426 EVY MARIE COLON LOPEZ                       P O BOX 299                                                                                                             ANGELES               PR           00611
   160194 EVYAN M FIGUEROA GALARZA                    REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
          EVYLEGNA M RODRIGUEZ
   651427 FLORES                                      BUENA VISTA SECTOR LA 4       202 CALLE LOS QUILES                                                                      CAYEY                 PR           00736
   160196 EVYLINDA NEGRON RUIZ                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
          EVYMERCY GAUTHIER
   651428 CHAPARRO                                    URB ROOSEVELT                 327 CALLE HECTOR SALAMAN                                                                  SAN JUAN              PR           00918
  1256492 EWCO                                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
   160197 EWCO INC                                    1639 AVE JESUS T PINERO                                                                                                 SAN JUAN              PR           00920
                                                      AVE. JESUS T. PINEIRO #1639
                                                      CAPARRA TERRACE PUERTO
   160198 EWCO INC.                                   NUEV                                                                                                                    San Juan              PR           00920
          EWCO INC. DBA ALTERNADORES
   160199 Y STARTERS                 CAPARRA HEIGHTS                                1639 AVE J T PINERO                                                                       SAN JUAN              PR           00920
   831349 Ewco, Inc.                 Ave. Jesus T. Pinero 1639                      Caparra Heights                                                                           San Juan              PR           00920
   160200 EWEND MD, MATTHEW          REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED




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   651430 EWSTERN COMPUTER SYSTEM                     PO BOX 890                   11 CALLE DON CHEMARY                                                                   MOCA                 PR           00676
   651431 EX LAX INC                                  HC 1 BOX 16629                                                                                                      HUMACAO              PR           00791
   160201 EXACTUS CONSULTING LLC                      452 AVE MUNOZ RIVERA                                                                                                SAN JUAN             PR           00918

   160202 EXAMINATION RESOURCES LLC                   3475 PIEDMONT ROAD STE 410                                                                                          ATLANTA              GA           30305

   160203 EXAN CANDELARIA MALDONADO REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   160204 EXCALIBUR HOTEL CASINO    3850 LAS VEGAS BLVD SOUTH                                                                                                             LAS VEGAS            NV           89109

   160205 EXCALIBUR TECHNOLOGIES COPR URB PASEO DEL PRADO                          156 CALLE PRADERA                                                                      CAROLINA             PR           00987

   160207 EXCALIBUR TECHNOLOGIES CORP URB PASEO DEL PRADO                                                                                                                 CAROLINA             PR           00987
                                      138 WINSTON CHURCHILL MSC
   651432 EXCAPE INC                  711                                                                                                                                 SAN JUAN             PR           00926
   651433 EXCAVACIONES FIGUEROA       PO BOX 759                                                                                                                          MAUNABO              PR           00707
   651434 EXCAVACIONES SOTO INC       P O BOX 666                                                                                                                         HATILLO              PR           00659
          EXCAVACIONES Y MOVIMIENTO
   651435 AR INC                      PO BOX 2058                                                                                                                         HATILLO              PR           00659
   651436 EXCEL CARIBBEAN INC         P O BOX 192215                                                                                                                      SAN JUAN             PR           00919‐2215
   651437 EXCEL ELECTRONICS           PO BOX 362407                                                                                                                       SAN JUAN             PR           00936‐2407
          EXCEL LEGAL PARTNERS AND
   160208 SERVICES                    35 JUAN C BORBON PSC                         SUITE 67 PMB 463                                                                       GUAYNABO             PR           00969
          EXCEL PROMOTIONAL PRODUCTS
   160210 LLC                         PO BOX 364983                                                                                                                       SAN JUAN             PR           00936‐4983

   160211 EXCEL REHABILITATION                        URB CONDADO MODERNO M 13                                                                                            CAGUAS               PR           00725

   651438 EXCELENT ADVERTISING         URB EL COMANDANTE                           1233 CALLE CONSUELO MATOS                                                              SAN JUAN             PR           00924
   651439 EXCELENT CLEANING GROUP      P O BOX 6400                                SUITE 437                                                                              CAYEY                PR           00737
          EXCELLENCE EATING EXPERIENCE
   160214 CORP                         PMB 2515                                    PO BOX 6400                                                                            CAYEY                PR           00737

   160215 EXCELLENCE INEDUCATION INC PO BOX 4956 SUITE 1192                                                                                                               CAGUAS               PR           00726
   651440 EXCELLENCE MEDICAL SUPPLY   ESTANCIAS DE LA FUENTE                       156 NARDO                                                                              TOA ALTA             PR           00953
          EXCELLENCE UNIFORMS /
   160216 GINNETTE RAMOS              URB VERSALLES                                Q‐15 CALLE 16                                                                          BAYAMON              PR           00959
          EXCELLENT AMBULANCE SERVICE PMB 680 , 138 AVE. WINSTON
   160217 , INC.                      CHURCHILL                                                                                                                           SAN JUAN             PR           00626‐6023
          EXCELLENT ENGINEERED
   651441 EQUIPMENT                   BO PARIS                                     115 FORESTIER                                                                          MAYAGUEZ             PR           00680
          EXCELLENT ENGINEERING
   160221 EQUIPMENT INC               PO BOX 6792                                                                                                                         MAYAGUEZ             PR           00681‐6792
                                      190 MUNOZ RIVERA AVE SUITE
   651442 EXCELLENT LIGHTING          227                                                                                                                                 PONCE                PR           00731
   160222 EXCELLENT PRINT             P. O. BOX 360885                                                                                                                    SAN JUAN             PR           00936‐0885
          EXCELLENT PRINT & SPORT
   651444 WEAR INC                    VILLA SAN ANTON                              E 6 AVE PRINCIPAL                                                                      CAROLINA             PR           00987
          EXCELLENTE ENGINEERING
   160224 EQUIPMENT, INC              PO BOX 6792                                                                                                                         MAYAGUEZ             PR           00681‐6791
   160225 EXCELLENTIA, INC.           URB. EL MIRADOR                              CALLE 7 I‐6                                                                            SAN JUAN             PR           00926
          EXCELLERE CONSULTING
   160226 ASSOCIATES                  CPG GALERIA PASEOS                           100 GRAN BULEVAR PASEOS                                                                SAN JUAN             PR           00926



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          EXCELLERE CONSULTING                                                       100 GRAN BULEVAR PASEOS STE
   160227 ASSOCIATES INC                              GALERIA PASEOS                 402                                                                          SAN JUAN            PR           00926
          EXCELLERE CONSULTING                                                       100 GRAN BULEVAR PASEOS STE
   160230 ASSOCIATES INC.                             CPG GALERIA PASEOS             402                                                                          SAN JUAN            PR           00926
          EXCELLERE CONSULTING                        GALLERIA PASEOS 100 GRAN
   160231 ASSOCIATES, INC.                            BULEVAR PASEOS SUITE 402                                                                                    SAN JUAN            PR           00926‐0000
   651445 EXCELSIOR TOWER INC                         PO BOX 362066                                                                                               SAN JUAN            PR           00936‐2066
          EXCELSIOR TRAVEL AND TOURS
   651446 INC                                         611 PONCE DE LEON                                                                                           SAN JUAN            PR           00917
          EXCEPTIONAL CHILDREN'S
   160232 CENTER                                      3702 MONTECILLO COURT                                                                                       TRUJILLO ALTO       PR           00976
   651447 EXCHUSIVE AUTO                              65TH INFANTERIA                KM 5 2                                                                       SAN JUAN            PR           00924

  1419671 EXCLUSA RIVERA, MARILYN                     LEONARDO DELGADO NAVARRO 8 CALLE ARECIBO OFICINA 1‐B                                                        SAN JUAN            PR           00917
   651448 EXCLUSIVE AUTO                              1123 65 INF SUITE 1                                                                                         SAN JUAN            PR           00924‐3489
   651449 EXCLUSIVE HAIR DESIGNERS                    6 CALLE PALMER NORTE                                                                                        GUAYAMA             PR           00784
          EXCLUSIVE MEDICAL SUPPLY &
   160247 RESP SERV INC                               P O BOX 1227                                                                                                CAROLINA            PR           00986
          EXCLUSIVE MEDICAL SUPPLY
   160248 AND RESPIRATORY                             P.O. BOX 1227                                                                                               CAROLINA            PR           00870
                                                      1479 ASHFORD CONDADO DEL
   651450 EXCLUSIVE TOURS INC.                        MAR                                                                                                         SAN JUAN            PR           00907
   651451 EXCLUSIVE UNIFORMS                          155 CALLE SAN JOSE                                                                                          AIBONITO            PR           00705
   651452 EXCO CONSTRUCTION                           ADM FOMENTO COMERCIAL          PO BOX 9024275                                                               SAN JUAN            PR           00902‐4275
   160249 EXCURSIONES ECO INC                         BDA ISRAEL 320 B               CALLE TEXIDOR                                                                SAN JUAN            PR           00917
   651454 EXCURSIONES FARINACI INC                    C 54 CALLE CASTILLO                                                                                         PONCE               PR           00730
   160251 EXCUTRAIN                                   THE ATRIUM OFFICE CENTER       530 AVE DE LA CONSTITUCI                                                     SAN JUAN            PR           00901
                                                      1925 FRANCISCO ZUNIGA FAIR
   160253 EXECUTIVE ADVERTISING                       VIEW                                                                                                        SAN JUAN            PR           00926
   160256 EXECUTIVE AIRLINES INC                      PO BOX 38082                                                                                                SAN JUAN            PR           00937
          EXECUTIVE AND PROFESSIONAL
   651455 RELATIONS                                   PO BOX 59948                                                                                                BOULDER             PR           80321‐9946
   651456 EXECUTIVE COFFEE BREAK                      P O BOX 363207                                                                                              SAN JUAN            PR           00936‐3207
          EXECUTIVE COFFEE BREAK /
   651457 GARRIDO Y CIA                               AROMA COFFE BREAK              PO BOX 363207                                                                SAN JUAN            PR           00936‐3207
   651458 EXECUTIVE COLLECTION                        257 AVE BARBOSA                                                                                             SAN JUAN            PR           00918
          EXECUTIVE COLLECTION /
   160258 FASHION GROUP INC                           257 AVE BARBOSA                                                                                             SAN JUAN            PR           00917
          EXECUTIVE EDUCATION
   160259 NETWORK                                     1406 PETERMAN DR                                                                                            ALEXANDRIA          LA           71301
          EXECUTIVE INTELLIGENCE
   651460 REVIEW                                      P O BOX 17390                                                                                               DASHINGTON          DC           20041 0390
   160261 EXECUTIVE LEADERSHIP                        CUSTOMER SERVICE               PO BOX 9070                                                                  McLEAN              VA           22102‐0070
          EXECUTIVE LIABILITY
   651461 UNDERWRITTERS                               ONE CONSTITUTION PLAZA         16TH FLOOR                                                                   HARTFORD            CT           06103

   651462 EXECUTIVE OFFICE EQUIPMENT                  PO BOX 605                                                                                                  SAN JUAN            PR           00926
   651463 EXECUTIVE OFFICE SUPPLY                     1566 AVE BOULEVARD                                                                                          TOA BAJA            PR           00950
          EXECUTIVE PROTECTION
   160262 INSTITUTE                                   PO BOX 802                                                                                                  BERRYVILLE          VA           22611
          EXECUTIVE RIDE SEDAN &                      7830 BACKLICK ROAD SUITE 404
   160263 LIMOUSINE SERVICES                          A                                                                                                           SPRINGFIELD         VA           22150




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   651466 EXECUTIVE RISK INDEMNITY INC 15 MOUNTAIN VIEW ROAD                                                                                                                WARREN              NJ           07059
          EXECUTIVE SERV GROUP
   651467 CONSULTANT CORP              PO BOX 370689                                                                                                                        CAYEY               PR           00737

   651468 EXECUTIVE SOFTWARE INTL 1                   7590 NORTH GLENOOKA BLVD                                                                                              EUROBANK            CA           91504
          EXECUTIVE TRANSPORTATION
   160266 INC                                         PO BOX 7091                                                                                                           SAN JUAN            PR           00916‐7091
   831351 Executive Uniform                           204 Calle Eleanor Roosevelt                                                                                           San Juan            PR           00918

   160267 EXECUTRAIN COMPUTER DE P R                  THE ATRIUM OFFICE CENTER      530 AVE PONCE DE LEON                                                                   SAN JUAN            PR           00901‐2304

   771049 EXECUTRAIN DE P R                           THE ATRIUM OFFICE CENTER      530 DE LA CONSTITUCION AVE                                                              SAN JUAN            PR           00901‐2304

   160268 EXECUTRAIN OF PUERTO RICO                   THE ATRIUM OFFICE CENTER      530 AVE DE LA CONSTITUCIO                                                               SAN JUAN            PR           00901‐2304

   160269 EXECUTRIAN DE PUERTO RICO                   530 AVE. LA CONSTITUCION                                                                                              SAN JUAN            PR           00901‐2304

   651470 EXEL                                        PMB 4465900 ISLA VERDE AVE L2                                                                                         CAROLINA            PR           00979
                                                      AVE. BETANCES J‐16 HERMANAS
   160270 EXEL CLASS CRUZ                             DAVILA                                                                                                                BAYAMON             PR           00959‐0000
   160273 EXEL IRIZARRY CASIANO                       URB VILLA UNIVERSITARIA       BD 9 C/ 31                                                                              HUMACAO             PR           00791
   160274 EXEL L SANTIAGO SERRANO                     PARCELAS LAS PELAS            F 61 CALLE 6                                                                            YAUCO               PR           00698

   160275 EXEL OFARRILL ENCARNACION                   URB VISTAMAR MARINA           B11 CALLE PONTEVEDRA                                                                    CAROLINA            PR           00983
   160276 EXELIX CONTRACCTOR CORP                     P O BOX 9224                                                                                                          SAN JUAN            PR           00908
                                                      GOOD SAMARITAN MEDICAL
   160277 EXEMPLA HEALTHCARE                          CENTER                        PO BOX 5303                                                                             DENVER              CO           80217‐5303

   160278 EXER NOEL GALARZA RODRIGUEZ HC 4 BOX 12454                                                                                                                        YAUCO               PR           00698
   160279 EXERTUS GROUP               PMB 359                                       PO BOX 4956                                                                             CAGUAS              PR           00726
   651471 EXHIBIT EXPRESS INC         P O BOX 362891                                                                                                                        SAN JUAN            PR           00936 2891

   651472 EXHIBIT UNLIMITED INC                       EL CONQUISTADOR Q7 CALLE 14                                                                                           TRUJILLO ALTO       PR           00976
   651473 EXHIBITION SERVICES INC                     PO BOX 29021                                                                                                          SAN JUAN            PR           00929‐0021
          EXHIBITOR EVENTS ALL MEDIA
   160282 INC                                         PO BOX 194421                                                                                                         SAN JUAN            PR           00919
   160283 EXHIBITS UNLIMITED INC                      EL CONQUISTADOR               Q7 CALLE 14                                                                             TRUJILLO ALTO       PR           00976
          EXIBICION DE BICICLETAS
   651474 ANTIGUAS                                    JARDINES DE TOA ALTA          363 CALLE 7                                                                             TOA ALTA            PR           00953
   651475 EXIDE BATTERY CORP OF PR                    PO BOX 1410                                                                                                           CAROLINA            PR           00984
   651476 EXIO E PEREZ DE JESUS                       HC 1 BOX 5851                                                                                                         OROCOVIS            PR           00720
   160287 EXIO M RIVERA MARRERO                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   160288 EXITO EMPRESARIAL AJC INC                   DORADO DEL MAR                JJ38 CALLE PLAYA                                                                        DORADO              PR           00646
   160289 EXITO MANAGEMENT INC                        AVE CONDADO                   607 SUITE 301                                                                           SAN JUAN            PR           00907
   160290 EXITO, INC.                                 PO BOX 1705                                                                                                           YABUCOA             PR           00767
   651477 EXODO SECURITY INC                          URB PUERTO NUEVO              1166 CALLE CANARIAS                                                                     SAN JUAN            PR           00920
   160292 EXOLOCK INC                                 URB BARALT                    H 2 AVE PRINCIPAL                                                                       FAJARDO             PR           00738
   651479 EXOTIC COMPUTERS ARTS                       URB SANTA CLARA               207 CALLE 5                                                                             SAN LORENZO         PR           00754

   651480 EXOTIC TASTE CATERING EVENTS CAPARRA TERRACE                              1419 CALLE 4 S O                                                                        SAN JUAN            PR           00921
   160294 EXOTIQUE SALON ESSENTIAL     700 CONDADO AVE                                                                                                                      SAN JUAN            PR           00907
   651481 EXPEC TEC                    PO BOX 30000 STE 137                                                                                                                 CANOVANAS           PR           00729



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  651482 EXPEDIA PRINTERS CORP                        PMB 510                      PO BOX 7891                                                                               GUAYNABO          PR           00970‐7891
  160295 EXPEDITER SERVICES INC                       PO BOX 29624                                                                                                           SAN JUAN          PR           00929
  651484 EXPEDITO LOPEZ VAZQUEZ                       HC 73 BOX 4423                                                                                                         NARANJITO         PR           00719‐9604
  651485 EXPEDITO ORTIZ DELGADO                       HC 1 BOX 14882                                                                                                         COAMO             PR           00769‐4746
  651486 EXPEDITORS INTERNATIONAL                     PO BOX 3747                                                                                                            CAROLINA          PR           00984‐3747
  651487 EXPER TEC                                    A 13 CALLE PIMENTEL                                                                                                    CANOVANAS         PR           00629
                                                                                   1‐A CALLE VIRTUD EDIFICIO
  1419672 EXPERIENCED CAR RENTAL, INC                 MARIO E. PEREZ TORRES        GARCIA                                                                                    PONCE             PR           00730‐3804
   651489 EXPERT ELECTRICIAN SERVICE                  URB VILLAS SAN AGUSTIN       M 29 CALLE 9                                                                              BAYAMON           PR           00959
   160299 EXPERT MECHANIC SERVICES                    BO BUENA VISTA               57 CALLE CORONEL SOTO                                                                     MAYAGUEZ          PR           00680
                                                                                   1519 AVE PONCE DE LEON SUITE
   651490 EXPERT RESOURCES INC       FIRST BANK BUILDING                           720                                                                                       SAN JUAN          PR           00920
   651491 EXPERT SYSTEMS INC         PO BOX 9024275                                                                                                                          SAN JUAN          PR           00902‐4275
          EXPERT TECHNICAL SERVICES
   160301 GROUP                      PMB 690                                       1353 AVE LUIS VIGOREAX                                                                    GUAYNABO          PR           00966
   160302 EXPERT TRANSMISSIONS       URB MAGNOLIA GARDENS                          N 29 AVE MAGNOLIA                                                                         BAYAMON           PR           00956
   651494 EXPERT TUNE UP             PO BOX 8004                                                                                                                             BAYAMON           PR           00960
   651495 EXPERT WINDOW TINT         REPTO METROPOLITANO                           915 AVE DE DIEGO                                                                          SAN JUAN          PR           00921
          EXPLORA CENTRO ACADEMICO Y
   160304 TERAPEUTICO                CALLE CARAZO # 110                                                                                                                      GUAYNABO          PR           00969

   160307 EXPLORER COMPANY LLP                        653 PONCE DE LEON OFICINA 2B                                                                                           SAN JUAN          PR           00908
   651496 EXPO 2000                                   PO BOX 363909                                                                                                          SAN JUAN          PR           00936‐3909
   651497 EXPO ADVANCE DETEC                          P O BOX 19461                                                                                                          SAN JUAN          PR           00910
   160309 EXPO CARIBE INC                             PO BOX 195457                                                                                                          SAN JUAN          PR           00927
   160310 EXPO CARIBE INC.                            P.O. BOX 195507                                                                                                        SAN JUAN          PR           00919‐0000
   160311 EXPO DESIGN INC                             CORUJO IND PARK              46 CALLE C                                                                                BAYAMON           PR           00961
   160312 EXPO DISPLAY CARIBBEAN                      PO BOX 195457                                                                                                          SAN JUAN          PR           00919

   651499 EXPO DISPLAY CARIBBEAN INC                  P O BOX 195457                                                                                                         SAN JUAN          PR           00919
   651500 EXPO DISPLAYS CARIBBEAN                     PO BOX 195457                                                                                                          SAN JUAN          PR           00919

   160314 EXPO DISPLAYS CARIBBEAN INC.                PO BOX 195457                                                                                                          SAN JUAN          PR           00919
   160315 EXPO GALLERY INC                            PMB 514 1353                 AVE LUIS VIGOREAUX                                                                        GUAYNABO          PR           00966‐2715
   160316 EXPO MEDIC INC                              P O BOX 321                                                                                                            FAJARDO           PR           00738
   651501 EXPO SYSTEMS CARIBBEAN                      PO BOX 195457                                                                                                          SAN JUAN          PR           00908
   651502 EXPOMEDIA NORMAN TOTTI                      268 AVE PONCE DE LEON        SUITE 901                                                                                 SAN JUAN          PR           00918

   651505 EXPOSITION TENT RENTAL INC                  PO BOX 3945                                                                                                            SAN JUAN          PR           00902‐3945
          EXPOSITO CARRASQUILLO MD,
   160317 ANTONIO                                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   651508 EXPRESO AUTO PART                           HP 18 AMALIA PAOLI                                                                                                     TOA BAJA          PR           00949
   160320 EXPRESO DEL TIO LUCAS                       BDA ESPERANZA CALLE A 22                                                                                               GUANICA           PR           00653
   651509 EXPRESO PLAZA                               6 NOYA Y HERNANDEZ                                                                                                     HUMACAO           PR           00791
   651510 EXPRESO READY MIX                           PO BOX 1343                                                                                                            HATILLO           PR           00659
   651511 EXPRESO SERVICE STATION                     RR 02 BOX 5701                                                                                                         MANATI            PR           00674
   651512 EXPRESS AIR CONDITIONING                    SANTA ROSA                   51‐55 CALLE MARGINAL                                                                      BAYAMON           PR           00959
   651513 EXPRESS AUTO                                PO BOX 113                                                                                                             RIO GRANDE        PR           00745
   651514 EXPRESS AUTO AIR SERVICE                    HC 2 BOX 13790                                                                                                         ARECIBO           PR           00612
   651515 EXPRESS AUTO GULF                           PO BOX 1670                                                                                                            CANOVANAS         PR           00729
   651516 EXPRESS AUTO REPAIR                         URB CARIBE                   1580 PONCE DE LEON                                                                        SAN JUAN          PR           00936
   651517 EXPRESS BEAUTY SUPPLY                       26 CALLE MAYAGUEZ                                                                                                      SAN JUAN          PR           00917
   651518 EXPRESS CATERING                            PO BOX 8881                                                                                                            CAGUAS            PR           00726



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  160322 EXPRESS COACH INC                            PMB 929                     267 CALLE SIERRA MORENA                                                              SAN JUAN            PR           00926‐5583
  160323 EXPRESS DIESEL                               BOX 4952                    SUITE 444                                                                            CAGUAS              PR           00725

   160324 EXPRESS FIRE PRODUCTS , INC.                P. O. BOX 870                                                                                                    BAYAMOM             PR           00960‐0000
   160325 EXPRESS FOOD MARKET INC                     PMB 562                     140 AVE RAFAEL CORDERO                                                               CAGUAS              PR           00725
   160326 EXPRESS GRAPHICS LLC                        1156 AVE JESUS T PINERO     CAPARRA TERRACE                                                                      SAN JUAN            PR           00921
   160328 EXPRESS LABELS                              PO BOX 3136                                                                                                      GUAYNABO            PR           00970
          EXPRESS MEDICAL & HOSP
   651521 SUPPLY                                      PO BOX 2817                                                                                                      BAYAMON             PR           00960

   160329 EXPRESS OFFICE PRODUCT, INC.                PO BOX 2120                                                                                                      BAYAMON             PR           00794
   160330 EXPRESS OFFICE PRODUCTS                     PO BOX 2120                                                                                                      BAYAMON             PR           00960

  1256493 EXPRESS OFFICE PRODUCTS INC                 REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   160332 EXPRESS OFFICE PRODUCTS, INC P.O. BOX 2120                                                                                                                   BAYAMON             PR           00960‐2120
   160333 EXPRESS OFFICE SUPPLY CORP   BOX 58                                                                                                                          SAN JUAN            PR           00926‐9778

   160335 EXPRESS OFFICE SUPPLY, CORP                 RR 2 BOX 58                                                                                                      TRUJILLO ALTO       PR           00926‐9778
   160336 EXPRESS PHARMACY INC                        HC 9 BOX 13327                                                                                                   AGUADILLA           PR           00603
   651522 EXPRESS PRINTS INC                          1205 AVE JESUS T PINERO                                                                                          SAN JUAN            PR           00920
   160337 EXPRESS REPAIR SERVICE INC                  CARR 198 KM 16.1            BO CEIBA NORTE                                                                       JUNCOS              PR           00777
   651523 EXPRESS SELLOS                              1156 AVE JESUS T PI¥ERO                                                                                          SAN JUAN            PR           00921

   651524 EXPRESS SUPPLIES & SALES INC                1156 AVE JESUS T PI¥EIRO                                                                                         SAN JUAN            PR           00920
   651525 EXPRESS TIRE                                PO BOX 29722                                                                                                     SAN JUAN            PR           00929‐0722
          EXPRESS TIRE AND AUTO
   651526 SERVICES                                    PO BOX 29722                                                                                                     SAN JUAN            PR           00929‐0722
          EXPRESS TITLE INSURANCE
   160339 AGENCY INC                                  PO BOX 364003                                                                                                    SAN JUAN            PR           00936‐4003
   160340 EXPRESS TOOL                                MSC 1004 HC 4 BOX 44374                                                                                          CAGUAS              PR           00725

   651527 EXPRESS WAY COMPUTER ZONE                   PO BOX 999                                                                                                       SAN SEBASTIAN       PR           00685
   160342 EXPRESSION ART & CRAFF                      BO PUEBLO                   CARR 2 KM 83.6                                                                       HATILLO             PR           00659
   160343 EXPRESSIONS FLOWERS                         PO BOX 4892                                                                                                      CAROLINA            PR           00984
   651528 EXPRESSIVE COMMERCIAL                       2373 PASEO ALEGRE                                                                                                TOA BAJA            PR           00949
   160345 EXPRESSO MUFFLERS                           CALLE 22 AA‐2 RIVERVIEW                                                                                          BAYAMON             PR           00961
   651530 EXPRESSWAY GRAPHIC INC                      HC 01 BOX 4462                                                                                                   LARES               PR           00669
   160347 EXQUISITECES DON PEDRO                      APARTADO 1818                                                                                                    CIDRA               PR           00739
   651531 EXQUISITESES DON PEDRO                      PO BOX 1818                                                                                                      CIDRA               PR           00739
   160349 EXTASY PRINTS                               PO BOX 608                                                                                                       CABO ROJO           PR           00623
   651532 EXTASY Q PRINTS                             PO BOX 608                                                                                                       CABO ROJO           PR           00623
   651533 EXTENDED SYSTEM INC                         577 NORTH MECKER AVE                                                                                             BIOSE               ID           83713
          EXTENSION AGRICOLA SABANA
   651534 GRANDE                                      PO BOX 9100                                                                                                      SAN JUAN            PR           00908‐0163
   651535 EXTERMINADOR ZORZAL                         PO BOX 3277                                                                                                      CAROLINA            PR           00984
   651536 EXTERMINADORA EL ZORZAL                     PO BOX 3277                                                                                                      CAROLINA            PR           00984
   160351 EXTERMINOW PEST CONTROL                     1706 URB BRISAS DEL PRADO                                                                                        SANTA ISABEL        PR           00757
   160352 EXTINGUIDORES DEL CARIBE                    CAPARRA TERRACE             1332 CALLE DORADO                                                                    SAN JUAN            PR           00920
   160354 EXTINTORES DEL CARIBE                       CAPARRA TERRACE             1332 CALLE DORADO                                                                    SAN JUAN            PR           00920‐0000
          EXTINTORES DEL CARIBE/
   651537 SPRINKLERS CARIBE                           CAPARRA TERRACE             1332 CALLE DORADO                                                                    SAN JUAN            PR           00920
   651538 EXTINTORES DEL ESTE                         PO BOX 9142                                                                                                      HUMACAO             PR           00792



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  771050 EXTINTORES RIVERA                            PO BOX 7850                                                                                                                PONCE              PR           00732
  160356 EXTRA BASES, INC.                            PO BOX 4996                                                                                                                AGUADILLA          PR           00605
  160357 EXTRA CLEAN MOTORS CORP                      URB CONDADO MODERNO             C 25 CALLE 3                                                                               CAGUAS             PR           00725
  651540 EXTRA GANGAS INC                             21 CALLE CELIS AGILERA                                                                                                     SANTA ISABEL       PR           00757

   160358 EXTRA SPACE MANAGEMENT INC 108 TRINIDAD ST                                                                                                                             SAN JUAN           PR           00917
   651542 EXTREME AUTO BODY          MANS GARDEN HILLS                                1353 CARR 19 STE 357                                                                       GUAYNABO           PR           00966
                                     95 MACADAMIA URB. JARDIN
   160359 EXTREME GRAPHICS , INC.    DEL ESTE                                                                                                                                    NAGUABO            PR           00718‐0000
   160360 EXTREME GRAPHICS INC       P.O BOX 25                                                                                                                                  NAGUABO            PR           00718
          EXTREME MASTER PERSONAL
   160362 TRAINING EMPT              LAS COLINAS                                      F 28 CALLE 6                                                                               TOA BAJA           PR           00949
          EXTREME SECURITY AND DATA, CAPARRA HEIGTHS 604 AVE.
   160363 INC.                       ESCORIAL                                                                                                                                    SAN JUAN           PR           00920‐0000
   651543 EXTREME TECHNOLOGY         623 AVE P DE LEON SUITE 900                                                                                                                 SAN JUAN           PR           00917

   651544 EXTREME TOURS                               352 AVE SAN CLAUDIO SUITE 107                                                                                              SAN JUAN           PR           00926

   651545 EXTREMELY EFFECTIVE AGENCY                  PO BOX 360470                                                                                                              SAN JUAN           PR           00936‐0470
          EXTRONA DE PR DBA JOSEFINA
   651546 CINTRON APONT                               PO BOX 761                                                                                                                 OROCOVIS           PR           00720
   651547 EXXO TECHNICAL                              PO BOX 8968                                                                                                                CAGUAS             PR           00725
   651548 EXXO TECNICAL CENTER                        PO BOX 6523                                                                                                                CAGUAS             PR           00726
   651549 EXXON CHEMICAL PR INC                       PO BOX 270262                                                                                                              SAN JUAN           PR           00927
   160364 EYAD ALI FARES                              REDACTED                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   160365 EYBETH CORTES MALDONADO     REDACTED                                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   651552 EYDA MONTALVO ORTIZ         PO BOX 1685                                                                                                                                SAN GERMAN         PR           00683
   160366 EYDA RIVERA MORALES         REDACTED                                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   160367 EYDALI HERNANDEZ GARCES     REDACTED                                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   160368 EYDIE M ARROYO BAEZ         REDACTED                                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   160369 EYDIN A RIVERA PORTES       REDACTED                                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   160370 EYE CARE OPTICAL            36 GAUTIER BENITEZ                              SUITE 101                                                                                  CAGUAS             PR           00725
   160372 EYE CARE SPECIALISTS SC     735 W WISCONSIN AVE 400                                                                                                                    MILWAUKEE          WI           53233
   160373 EYE CENTER                  CAROLINA SHOPPING COURT                                                                                                                    CAROLINA           PR           00985
   651553 EYE CENTER CAROLINA         PO BOX 210                                                                                                                                 CAROLINA           PR           00986‐0210
          EYE DESING OPTICAL‐COSUTORO
   160376 VISUAL                      68 CALLE BARCELO B                                                                                                                         BARRANQUITAS       PR           00794
   651555 EYE EXPRESS 20 20           P O BOX 938                                                                                                                                CANOVANAS          PR           00729
   651556 EYE GATE INC                PO BOX 11505                                                                                                                               SAN JUAN           PR           00910
   160378 EYE MART OPTICAS            RIO HONDO                                       B50 CALLE RIO BAYAMON                                                                      BAYAMON            PR           00960
   651558 EYE MEDICAL CENTER          PO BOX 46                                                                                                                                  HUMACAO            PR           00792‐0046
   160379 EYE PHYSICIANS SURGEONS     1207 N SCOTT ST                                                                                                                            WILMINGTON         DE           19806

   160380 EYE SURGERY SPECIALIST OF P R               CALL BOX 8407 FDEZ JUNCOS                                                                                                  SAN JUAN           PR           00910‐8407
   651560 EYE TECH CO                                 P O BOX 9370                                                                                                               CAROLINA           PR           00988
   160381 EYE TECH CO.                                PO BOX 9370                                                                                                                CAROLINA           PR           00988
   651561 EYE TECH COMPANY                            P O BOX 9320                                                                                                               CAROLINA           PR           00988
                                                      SAN SEBASTIAN SHOPPING
   651562 EYE ZONE                                    CENTER                          4100 AVE A ESTRADAL SUITE 283                                                              SAN SEBASTIAN      PR           00685
   651563 EYELAND TIME INC                            PO BOX 191394                                                                                                              SAN JUAN           PR           00919‐1394
   651564 EYERI CRUZ OTERO                            PUERTO NUEVO                    1104 CALLE BOHEMIA                                                                         SAN JUAN           PR           00920




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                                                      13529 BEACH BLVD SUITE 102
   160382 EYES EXAMINATIONS                           103                                                                                                                JACKSONVILLE        FL           32246
   651565 EYES GLASS FACTORY                          AMF FACILITIES               PO BOX 810237                                                                         CAROLINA            PR           00981‐0237
   160383 EYES OPTIC CLINICA VISUAL                   PO BOX 1137                                                                                                        TOA ALTA            PR           00954‐1137
   160384 EYESIHGT AND SURGERY                        299 CAREW STREET             SUITE 201                                                                             SPRINGFIELD         MA           01104
   651567 EYESTYLES OPTICAL X PRESS                   PO BOX 402                                                                                                         SAN GERMAN          PR           00683
   651568 EYESTYLES OPTICAL XPRESS                    105 EDIF ANTONGIORGI                                                                                               SAN GERMAN          PR           00683
   160386 EYLA VANESSA                                VALLE SAN LUIS 324                                                                                                 CAGUAS              PR           00725
   651569 EYLEEN CRUZ FLORES                          VALLE DE YABUCOA             701 CALLE JAZMIN                                                                      YABUCOA             PR           00767
   651570 EYLEEN CRUZ LEBRON                          URB JARDINES DE GUAMANI      13 CALLE 3D                                                                           GUAYAMA             PR           00784
   160387 EYLEEN J PAGAN GOMEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   651571 EYLEEN JISINO CRUZ                          HC 3 BOX 25307                                                                                                     LAJAS               PR           00667
   651572 EYLEEN MATIAS CORDERO                       PO BOX 2167                                                                                                        AGUADILLA           PR           00605

   160388 EYLEEN MERCADO RODRIGUEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   160389 EYLEEN MORALES DIAZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   160390 EYLIN ORTIZ CARTAGENA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   651573 EYMI S VAZQUEZ MORALES                      BO ESPINOSA                  62 A SECTOR MAVITO                                                                    DORADO              PR           00646
   160391 EYMY M OLMO DE JESUS                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   160392 EYRA D BARBOSA PINERO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   160393 EYRA DE LOS SANTOS                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   160394 EYRA I SANCHEZ CONDE                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   160396 EYRA PEREZ CALDERON                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      780 W ARMY TRAIL ROAD UNIT
   651574 EZ DUPLICATION                              249                                                                                                                CAROL STREAM        IL           60188
   160398 EZ REHAB SOLUTIONS                          7315 HANOVER PKWY                                                                                                  GREENBELT           MD           20770

   651575 EZEAGWULA CHIKWENDU EBUBE PO BOX 938                                                                                                                           CANOVANAS           PR           00729
   651576 EZEQUIEL ALAN ALMODOVAR   URB LA FRONTERA                                109 CALLE JULIO ALVARADO                                                              BAYAMON             PR           00956

   160400 EZEQUIEL ALVAREZ MELENDEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   160401 EZEQUIEL ANTHONY MANNERS                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   160402 EZEQUIEL AROCHO GONZALEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   651577 EZEQUIEL ARROYO MELENDEZ                    BO OBRERO 620                CALLE WILLIAM                                                                         SAN JUAN            PR           00916
   651578 EZEQUIEL BAEZ DELGADO                       PO BOX 2853                                                                                                        RIO GRANDE          PR           00745
   160403 EZEQUIEL BENITEZ RIVERA                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   160404 EZEQUIEL BERROCALES LUGO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   651581 EZEQUIEL COLLAZO FRANCO                     PO BOX 6407                                                                                                        CAGUAS              PR           00726
   651582 EZEQUIEL COLON LOPEZ                        PO BOX 1179                                                                                                        AIBONITO            PR           00705
          EZEQUIEL CONCEPCION
   160405 MARTINEZ                                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   651583 EZEQUIEL CORTES PAGAN                       P O BOX 79184                                                                                                      SAN JUAN            PR           00902
   160406 EZEQUIEL CRUZ ROBLES                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   160407 EZEQUIEL DOMENECH BADILLO                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   160408 EZEQUIEL FELICIANO MERCADO                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   651584 EZEQUIEL FIGUEROA CINTRON                   URB VILLA REAL               APT 9 EDIF 3                                                                          PATILLAS            PR           00723
   651586 EZEQUIEL GOMEZ VALENTIN                     URB LAGO ALTO                60 CALLE COROZO                                                                       TRUJILLO ALTO       PR           00976



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  160409 EZEQUIEL GONZALEZ                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  160412 EZEQUIEL GONZALEZ OZUNA                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  160413 EZEQUIEL GUZMAN ALICEA                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   160414 EZEQUIEL GUZMAN CLEMENTE                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160416 EZEQUIEL HERNANDEZ                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160417 EZEQUIEL JOSE NIEVES AYALA                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EZEQUIEL MALDONADO
   651588 GONZALEZ                                    URB VILLAS DE NAVARRA        20F CALLE IRLANDA                                                                   SAN JUAN            PR         00917
   160419 EZEQUIEL MATIAS PEREZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   160420 EZEQUIEL MEDINA RODRIGUEZ                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   160421 EZEQUIEL MIRANDA DELGADO                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   651591 EZEQUIEL MIRANDA SERRANO                    BO RIO JUEYES                9 SECTOR LA PICA                                                                    COAMO               PR         00769
   160422 EZEQUIEL MOLINA RAMOS                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651592 EZEQUIEL MORALES RUIZ                       152 CALLE BARBOSA                                                                                                MOCA                PR         00676
   651593 EZEQUIEL NIEVES VAZQUEZ                     PARCELA IMBERY               22 CALLE 3                                                                          BARCELONETA         PR         00617

   160423 EZEQUIEL OLAVARRIA GONZALEZ REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          EZEQUIEL OLIVENCIA
   651594 FERNANDEZ                   LOS ROSALES II 12 9NA AVE                                                                                                        MANATI              PR         00674
   160424 EZEQUIEL ORSINI RODRIGUEZ   REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160425 EZEQUIEL ORTIZ LANZO        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651595 EZEQUIEL OSORIO ALLENDE     HC 1 BOX 7107                                                                                                                    LOIZA               PR         00772
   160426 EZEQUIEL PENA PEREZ         REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160427 EZEQUIEL R MEDINA GOMEZ     REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   651596 EZEQUIEL R RODRIGUEZ                        CONDOMINIO PARKVILLE PLAZA   APT 306                                                                             GUAYNABO            PR         00969
   160428 EZEQUIEL RAMOS PIZARRO                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651597 EZEQUIEL RIVERA                             PMB 1725                     243 CALLE PARIS                                                                     SAN JUAN            PR         00917‐3632
   831353 Ezequiel Rivera Ramos                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   160429 EZEQUIEL RIVERA RODRIGUEZ                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   651598 EZEQUIEL RODRIGUEZ POLANCO                  PO BOX 45                                                                                                        LOIZA               PR         00772
   160431 Ezequiel Romero Visarden                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160432 EZEQUIEL RUIZ MILLAN                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651600 EZEQUIEL SAEZ ALBARRAN                      PO BOX 7126                                                                                                      PONCE               PR         00732
   160433 EZEQUIEL SAEZ SAEZ                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   160434 EZEQUIEL SANTIAGO ACEVEDO                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160435 EZEQUIEL SANTIAGO RIVERA                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160436 EZEQUIEL SOTO QUINONES                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651601 EZEQUIEL SUAREZ MIRANDA                     HC 01 BOX 5563                                                                                                   OROCOVIS            PR         00720
   160437 EZEQUIEL TORRES MANON                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   651602 EZEQUIEL TORRES RODRIGUEZ                   SAN FERNANDO                 N 11 CALLE 9                                                                        BAYAMON             PR         00957
   651603 EZEQUIEL TRINIDAD ORTIZ                     HC 03 BOX 19090                                                                                                  RIO GRANDE          PR         00745

   160439 EZEQUIEL VALENTIN GONZALEZ                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160441 EZEQUIER ABRIL ARCE                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  651605 EZEQUIER ROMAN TORRES                         HC 7 BOX 34001                                                                                                     HATILLO             PR         00659
  160443 EZER MORENO SOLER                             REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  651606 EZIO E MEDINA NAZARIO                         VILLA NAVARRA               874 CALLE JUAN PENA REYES                                                              SAN JUAN            PR         00924
  160444 E‐ZPASS NY                                    P.O. BOX 15185                                                                                                     ALBANY              NY         12212‐5185
  651607 EZRA MORGAN                                   REPARTO SANTA JUANITA       SS 27 28 CALLE ESTE                                                                    BAYAMON             PR         00956
  160446 EZRA S ELKAYAM                                REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  160447 EZRA S. ELKAYAM , MD                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         F & A PROFESSIONAL SERVICES
  160448 CORP.                                         RR‐8 BOX 1995 PMB 298                                                                                              BAYAMON             PR         00956
  160449 F & B CONSTUCCION CORP                        PMB 416 HC 01 BOX 29030                                                                                            CAGUAS              PR         00725‐8900
  160450 F & C ALL UNIFORMS INC                        2341 BOULEVARD              LUIS A FERRER SUITE 101                                                                PONCE               PR         00717‐2125
  651608 F & G FAULKNER & GRAY INC                     PEARL RIVER                 PO BOX 149                                                                             PEARL RIVER         NY         10965
  651609 F & G MAINTENANCE INC                         P O BOX 9265                                                                                                       SAN JUAN            PR         00907‐9265
  651611 F & G MANUFACTURING                           URB VILLA EL ENCANTO        S 14 CALLE 5                                                                           JUANA DIAZ          PR         00795
  160451 F & J M CARRERA INC.                          PO BOX 362589                                                                                                      SAN JUAN            PR         00936‐2589
         F & JM CARRERA INC Y BANCO
  160454 SANTANDER PR                                  PO BOX 364704                                                                                                      SAN JUAN            PR         00936‐4704
  651612 F & L DISTRIBUTOR                             PUERTO NUEVO                1327 CALLE 20                                                                          SAN JUAN            PR         00920
         F & M CONSTRUCTION
  651613 CORPORATION                                   URB SAN FRANCISCO           1705 CARDENIA                                                                          SAN JUAN            PR         00927
  160455 F & M CONTRACTORS INC                         260 COLL Y TOSTE ST                                                                                                SAN JUAN            PR         00918
  651614 F & M DISTRIBUTORS INC                        PO BOX 9024275                                                                                                     SAN JUAN            PR         00902‐4275
  651616 F & M ELECTRIC                                URB BALDRICH                260 CALLE COLL Y TOSTE                                                                 SAN JUAN            PR         00918
  651617 F & M SECURITY SERVICES INC                   PO BOX 1187                                                                                                        TRUJILLO ALTO       PR         00977
  160456 F & R CONSTRUCTION CORP                       PO BOX 9932                                                                                                        SAN JUAN            PR         00908‐9932
  651618 F & R CONTRACTOR CORP                         P O BOX 9932                                                                                                       SAN JUAN            PR         00908
  160457 F & S ACQUISITION SE                          BOX 11226                                                                                                          SAN JUAN            PR         00922‐1226
  651619 F & W PUBLICATIONS                            1507 DANA AVE                                                                                                      CINCINATTI          OH         45207
  651620 F A Q INVESTMENT CORP                         P O BOX 360008                                                                                                     SAN JUAN            PR         00936
  651621 F A SONS SE / FIRST BANK PR                   PO BOX 9146                                                                                                        SAN JUAN            PR         00908
  160458 F ALVIRA INC                                  AVE EDUARDO CONDE # 2301                                                                                           SAN JUAN            PR         00915‐0000

   160460 F BARAGAÐO PHARMACEUTICAL PO BOX 364421                                                                                                                         SAN JUAN            PR         00936‐4421

   160461 F BARAGANO PHARMACEUTICAL PO BOX 364421                                                                                                                         SAN JUAN            PR         00936 4421
   651626 F BERRIOS                    SANTA PAULA                                 3A 19 CALLE 5                                                                          GUAYNABO            PR         00969
   160462 F C A DEVELOPMENT INC        P O BOX 29758                                                                                                                      SAN JUAN            PR         00929
   651627 F C CORPORATION              PO BOX 190184                                                                                                                      SAN JUAN            PR         00918‐0184
   160463 F CASTILLO COMPANY INC       PO BOX 190432                                                                                                                      SAN JUAN            PR         00919‐0432
          F CASTILLO FAMILY PROPERTIES
   651628 INC                          PO BOX 2238                                                                                                                        GUAYNABO            PR         00970

   651629 F E F CONSULTORES CSP                        200 CALLE WINSTON CHURCHILL SUITE 500                                                                              SAN JUAN            PR         00919‐2639
   160464 F E M A                                      P O BOX 530217                                                                                                     ATLANTA             GA         30353

   651631 F F & CONSULTING GROUP INC                   URB VILLA CAROLINA          94 CALLE 89                                                                            CAROLINA            PR         00986

   651632 F F COMPUTER SUPPLIES CORP                   PO BOX 195373                                                                                                      SAN JUAN            PR         00919‐5373
   651633 F F F ENTERPRISES INC                        41093 COUNTY CENTER TRIVE                                                                                          TEMECULA            CA         92591
   651634 F G AUTO CORP                                PO BOX 8114                                                                                                        MAYAGUEZ            PR         00681
   160465 F G AUTO RETAILS INC                         1970 AVE EMERITO ESTRADA                                                                                           SAN SEBASTIAN       PR         00685
   651635 F I AUTO PAINT                               URB CASAMIA                 IC 12 CALLE 2                                                                          PONCE               PR         00731




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   160467 F I S INC                                   PO BOX 8526 FDEZ JUNCOS STA                                                                                         SAN JUAN            PR           00910‐8526
   651636 F IRIZARRY & ASSOCIATES                     BDA BELGICA                   2204 CALLE CAMPOS                                                                     PONCE               PR           00717‐1668
   651638 F J AUTO DIRTRIBUTORS                       PUERTO NUEVO                  421 AVE ANDALUCIA                                                                     SAN JUAN            PR           00920
   651637 F J BAEZ                                    HC 1 BOX 11018                                                                                                      CAROLINA            PR           00987
   651639 F L CONSTRUCTION                            PO BOX 1407                                                                                                         OROCOVIS            PR           00720

   651640 F M AIR CONDITIONING SERVICES BOX 515                                                                                                                           CANOVANAS           PR           00729
   651641 F M GARAGE                    REPARTO DE JESUS                            H 3 ALTOS                                                                             CABO ROJO           PR           00623
   651642 F M GROUP INC                 PO BOX 6686                                                                                                                       CAGUAS              PR           00726‐6686

   651643 F M REALTY                                  COND MUNDO FELIZ APT 1701                                                                                           CAROLINA            PR           00979

   651644 F MARRERO CONSTRUCTORES                     HC 02 BOX 6996                                                                                                      BARRANQUITAS        PR           00794
   651645 F MORALES Y ASOCIADOS INC                   PO BOX 623                                                                                                          QUEBRADILLAS        PR           00678‐0623
   651646 F N INDUSTRIAL SUPPLY                       190 AVE MU¥OZ RIVERA                                                                                                PONCE               PR           00731
   651648 F O B INC                                   PNB 317 P O BOX 7891                                                                                                GUAYNABO            PR           00970‐7891
   651649 F O R KIDS CORP                             VILLA FONTANA                 3K S 2 VIA MIRTA                                                                      CAROLINA            PR           00983
   771051 F OLAZABAL & CO INC                         PO BOX 2926                                                                                                         BAYAMON             PR           00960
   651650 F P M SERVICIOS TECNICOS                    URB TINTILLO GARDENS          E 15 CALLE 8                                                                          GUAYNABO            PR           00966‐1608
   651652 F P REMODELA INC                            104 CALLE LAS FLORES                                                                                                SAN JUAN            PR           00911
   651653 F PONT FLORES CORP                          PO BOX 51981                                                                                                        TOA BAJA            PR           00950‐1981
   651654 F R C MARKETING                             22446 DAVIS DRIVE             SUITE 166                                                                             STERLING            VA           20164
   160470 F R CONSULTING GROUP PS                     HACIENDA SAN JOSE             441 VIA CAMPINA                                                                       CAGUAS              PR           00727
   651655 F R JENKINS ESG                             49 MORNING STREET NO 2                                                                                              PORTLAND            ME           04104

   651656 F R WATER SYTEMS INC        AVE JOSE TONY SATENA                          WOLD CAYO AREA MODULO 11                                                              CAROLINA            PR           00983
   160471 F S MEDICAL INC.            PMB 149 PO BOX 6022                                                                                                                 CAROLINA            PR           00984
   160472 F S SURVEYING CORP          PO BOX 2075                                                                                                                         AIBONITO            PR           00705
   160474 F SANCHEZ LABOY INC         URB PANORAMA ESTATES                          A 1 CALLE 2                                                                           BAYAMON             PR           00957
   651657 F SOTO DISTRIBUTING INC     PO BOX 160                                                                                                                          GARROCHALES         PR           00652
   651658 F SOTO PUEBLO               335 AVE JUAN ROSADO                                                                                                                 ARECIBO             PR           00612
   651659 F T CONSULTANT              1350 BO ESPINAL                                                                                                                     AGUADA              PR           00602
   651660 F T O INC                   403 DEL PARQUE PISO 7                                                                                                               SAN JUAN            PR           00912‐3709
   651661 F W AUTO PARTS INC          PANORAMA ESTATES                              C 36 CALLE 1                                                                          BAYAMON             PR           00957
   651662 F&B CONSTRUCCION CORP       PMB 416                                       HC 01 BOX 29030                                                                       CAGUAS              PR           00725‐8900
                                      HARVARD 1010 ESQ.
                                      INTERAMERICANA UNIVERSITY
   160476 F&R CONSTRUCTION GROUP INC. RIO PIEDRA                                                                                                                          SAN JUAN            PR           00927
   160477 F. & J. M. CARRERA , INC.   P. O. BOX 4704                                                                                                                      SAN JUAN            PR           00922‐0000
   831354 F. Baragano Pharmaceutical  P O Box 384421                                                                                                                      San Juan            PR           00938
   160478 F. OLAZABAL & CO., INC.     PO BOX 2926                                                                                                                         BAYAMON             PR           00960
   651663 F. RODRIGUEZ DISTRIBUTING   PO BOX 273                                                                                                                          ARECIBO             PR           00613
   160479 F.E. CORP                   PO BOX 2000                                                                                                                         CATANO              PR           00963‐2000
   160480 F.L.A.M. CORP               PO BOX 172                                                                                                                          LAS PIEDRAS         PR           00771
   651664 F.M.A. REALTY S.E.          PO BOX 363227                                                                                                                       SAN JUAN            PR           00936
   651665 FAB TOPES DE YAUCO          P O BOX 1206                                                                                                                        YAUCO               PR           00698
   651666 FAB TOPES J L INC           HC 2 BOX 20456                                                                                                                      SAN SEBASTIAN       PR           00685
   651667 FABERCO DESIGNS INC         VALLE ARRIBA HEIGHTS                          CK 9 CALLE 140                                                                        CAROLINA            PR           00983‐3336
   160493 FABIAN A LOPEZ NIEVES       REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   160495 FABIAN ARCE MORALES         REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   651668 FABIAN ARROYO RODRIGUEZ     HC 01 BOX 3436                                                                                                                      LARES               PR           00669‐0000
   651670 FABIAN AYUSO BENITEZ        ALTURAS DE RIO GRANDE                         B 61 CALLE 1                                                                          RIO GRANDE          PR           00745



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  160500 FABIAN CARDONA COREANO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  651672 FABIAN CARO GOMEZ                            P O BOX 801                                                                                                     RINCON            PR         00677
  651673 FABIAN CARRION CORREA                        URB JARDINES PALMAREJO      W 3 CALLE 14                                                                        CANOVANAS         PR         00729
  651674 FABIAN COLON AYALA                           URB STA MARIA               H 11 CALLE 10                                                                       CEIBA             PR         00735
  651675 FABIAN CRESPO RUIZ                           HC 57 BOX 9833                                                                                                  AGUADA            PR         00602
  160501 FABIAN DEL VALLE MARTINEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  160502 FABIAN DIAZ HERNANDEZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  160504 FABIAN DUARTE BENTANCOR                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  160505 FABIAN ESPINA RIVERA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  651677 FABIAN F FIGUEROA RIVERA                     TOA ALTA HEIGHTS            J 24 CALLE 3                                                                        TOA ALTA          PR         00953
  160508 FABIAN G ASENCIO TORRES                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   160510 FABIAN GONZALEZ HERNANDEZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   651679 FABIAN GONZALEZ SANTIAGO                    PASEO DE SAN LORENZO        1018 CALLE CRISTAL                                                                  SAN LORENZO       PR         00754

   160515 FABIAN J ANTOMMARCHI LOPEZ REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   160517 FABIAN JIMENEZ, DIGNORA    REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   160518 FABIAN LOPEZ GONZALEZ      REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   651680 FABIAN M AVILES                             C/O LOGIA FARO DE BORINQUEN PO BOX 35                                                                           LARES             PR         00669
   651681 FABIAN MARCACCIO                            249 W 29 ST                                                                                                     NY                NY         10001
   160523 FABIAN MEDINA SANTORI                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   160525 FABIAN MENDEZ ROSADO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   651683 FABIAN MORALES GONZALEZ                     HC 2 BOX 6411                                                                                                   UTUADO            PR         00641
   160527 FABIAN N LEON MEDINA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          FABIAN NIEVES COLON Y
   651684 MONSERRATE RIVEA                            BO ESPINO APTO 3            CARR 124 K 3.8 INT 436                                                              LARES             PR         00897
   160529 FABIAN O VISBAL ORTIZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   651685 FABIAN ORTEGA DELGADO                       45 CALLE ARIZMENDI                                                                                              FLORIDA           PR         00650
   160530 FABIAN ORTIZ RODRIGUEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   651686 FABIAN OTERO ROJAS                          PO BOX 1103                                                                                                     TOA BAJA          PR         00951
   160531 FABIAN R LOPEZ ORTIZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   651687 FABIAN R TORRES CARABALLO                   HC 2 BOX 17657                                                                                                  RIO GRANDE        PR         00745
   160532 FABIAN RAMIREZ TORRES                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   160533 FABIAN RENTAS RODRIGUEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   160534 FABIAN REYES / MANUEL REYES                 REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   651688 FABIAN RIVERA RIVERA                        PO BOX 7126                                                                                                     PONCE             PR         00732
          FABIAN ROBERTO ORTIZ
   651689 SANCHEZ                                     URB VILLA CAROLINA          188‐6 CALLE 517                                                                     CAROLINA          PR         00985

   651691 FABIAN RODRIGUEZ HERNANDEZ PO BOX 9022 570                                                                                                                  SAN JUAN          PR         00902

   160535 FABIAN RODRIGUEZ RODRIGUEZ                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   160536 FABIAN RODRIGUEZ TORRES                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   160537 FABIAN RODRIGUEZ VAZQUEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          FABIAN ROMAN DE JESUS
   160538 /ANGELINA DE JESUS                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   651693 FABIAN RUIZ CASTRO                          HC 645 BOX 8091                                                                                                 TRUJILLO ALTO     PR         00976
   651694 FABIAN SANTANA RODRIGUEZ                    BO STA ROSA                 BOX 197                                                                             DORADO            PR         00646
   651699 FABIAN VELAZQUEZ DIAZ                       HC 44 BOX 14169                                                                                                 CAYEY             PR         00736
   160541 FABIAN VELAZQUEZ LOPEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED



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  651700 FABIAN VELEZ LOPEZ           URB MADELAINE                   L6 CALLE AMBAR                                                                   TOA ALTA            PR         00953
  160542 FABIAN VELEZ ORENGO          REDACTED                        REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  160543 FABIANA BARASORDA VIERA      REDACTED                        REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  651701 FABIANA CARRION RIVERA       P O BOX 261                                                                                                      CANOVANAS           PR         00729
         FABIANA DE JESUS SERRANO A/C
  160544 GUESELLA SE                  REDACTED                        REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  651702 FABIANA E NEVADO MORALES     URB VALLE SAN JUAN              SJ 89                                                                            TRUJILLO ALTO       PR         00976

   651703 FABIANA GARCIA DEL ROSARIO                   BDA ISRAEL     196 CALLE CUBA                                                                   SAN JUAN            PR         00917

   160545 FABIANA M ARROYO RODRIGUEZ REDACTED                         REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651704 FABIANA MENDEZ SANTIAGO    PO BOX 419                                                                                                        CIDRA               PR         00739
   160546 FABIANA NEVADO MORALES     REDACTED                         REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160547 FABIANA PEREZ LOPEZ        REDACTED                         REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160548 FABIANA W BALLE REY        REDACTED                         REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FABIANI RODRIGUEZ MD,
   160549 MIGUEL A                   REDACTED                         REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160550 FABIJAN CONSTRUCTION       REDACTED                         REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160552 FABIO A HERNANDEZ PAEZ     REDACTED                         REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651705 FABIO A PALACIO Y/O KOCLEK RR 05 BOX 8302                                                                                                    TOA ALTA            PR         00953
   160553 FABIO A QUINONES ZAYAS     REDACTED                         REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160554 FABIO C ALBA CONCEPCION    REDACTED                         REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160555 FABIO E VILLEGAS BERRIO    REDACTED                         REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651707 FABIO E VILLEGAS BERRIO    TURABO GARDENS                   Z 1 9 CALLE 20                                                                   CAGUAS              PR         00725
   160556 FABIO GARCIA PASSALACQUA   REDACTED                         REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651708 FABIO JIMENEZ LONDONO      P O BOX 616                                                                                                       MERCEDITA PONCE     PR         00715
   651709 FABIO OCHOA SALCEDO        URB HACIENDA DEL NORTE           AA 20 CALLE C                                                                    TOA BAJA            PR         00949

   651710 FABIO R HERNADEZ RODRIGUEZ PASEO SOL Y MAR                  609 CALLE ESMERALDA                                                              JUANA DIAZ          PR         00795

   651711 FABIO R HERNANDEZ RODRIGUEZ PASEO SOL Y MAR                 609 CALLE ESMERALDA                                                              JUANA DIAZ          PR         00795
   160558 FABIO R PEREZ MOLINA        REDACTED                        REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160559 FABIO TASSAN MAZZOCCO       REDACTED                        REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160560 FABIOLA A PLAZA PEREZ       REDACTED                        REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160561 FABIOLA A PLAZA VAZQUEZ     REDACTED                        REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FABIOLA ACARON PORRATA
   160562 DORIA                       REDACTED                        REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   651712 FABIOLA CAPO SURIA          PO BOX 70250                                                                                                     SAN JUAN            PR         00936‐8250
   160563 FABIOLA CASTRILLON MEJIAS   REDACTED                        REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FABIOLA D CARABALLO
   160564 HERNANDEZ                   REDACTED                        REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   160565 FABIOLA E BILLOCH CASTANERA                  REDACTED       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FABIOLA GRISELLE ARROYO
   160566 RAMIREZ                                      REDACTED       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160567 FABIOLA GUZMAN RIVERA                        REDACTED       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FABIOLA L COLLAZO
   160568 VAZQUEZ/MARTA VAZQUEZ                        REDACTED       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160569 FABIOLA M DAVILA FIGUEROA                    REDACTED       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160570 FABIOLA M MANFREDI BAEZ                      REDACTED       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   160571 FABIOLA M MARTINEZ RIVERA                    REDACTED       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FABIOLA M MIRANDARIOS/
   160572 VANESSA RIOS                                 REDACTED       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  160573 FABIOLA M RIVERA PEREZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  160574 FABIOLA M SEMIDEI ORTIZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  160575 FABIOLA M VELEZ CUMBA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   160576 FABIOLA M. OLIVARES TORRES                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   160577 FABIOLA MARTINEZ SANTANA                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   160578 FABIOLA NIEVES SANCHEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   160579 FABIOLA ORTIZ APARICIO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   651713 FABIOLA PEREZ BULA                          URB VISTA ALEGRE              2028 CALLE FORTUNA                                                                PONCE                PR         00717‐2306
          FABIOLA PLAZA VAZQUEZ /
   160580 NANCY VAZQUEZ                               REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   651714 FABIOLA RIVERA GONZALEZ                     PO BOX 454                                                                                                      HORMIGUEROS          PR         00660

   651715 FABIOLA SERRANO CARTAGENA                   BULEVARD DEL RIO II APT 108                                                                                     GUAYNABO             PR         00971
   651716 FABIOLA SOLE VARGAS                         PO BOX 12354                                                                                                    SAN JUAN             PR         00914
          FABIOLA T ACEVEDO A/C LUIS
   160581 ACEVEDO TORRE                               REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   160583 FABIOLA V. LEON                             REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   160584 FABIOLA VALLE IRIZARRY                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   160585 FABIOLA ZAYAS RODRIGUEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   651717 FABRAN VELEZ AGUILA                         URB SIERRA LINDA              Q 2 CALLE 11                                                                      BAYAMON              PR         00956
   651718 FABRE HARDWARE                              PO BOX 1606                                                                                                     YAUCO                PR         00698

  1419673 FABREGAS LAMBERTY, JOHN A.                  RAFAEL RAMIREZ VALENTIN       HC 02 BOX 7252                                                                    HORMIGUEROS          PR         00660
   651719 FABRES COMMERCIAL                           24 CALLE SANTIAGO VIVALDI                                                                                       YAUCO                PR         00698
   651720 FABRI INC                                   P O BOX 360983                                                                                                  SAN JUAN             PR         00936‐0983
   651721 FABRICA BLOQUES GREEN                       HC 02 BOX 16520               CARR 129 KM 35 9                                                                  ARECIBO              PR         00612
          FABRICA DE BLOQUES VEGA
   651722 BAJA INC                                    PO BOX 86                                                                                                       VEGA BAJA            PR         00694
   160609 FABRICA DE DULCE LA FE                      HC 01 BOX 20719                                                                                                 CAGUAS               PR         00725

   160610 FABRICA DE MUEBLES GINNETTE BOX 1315                                                                                                                        YAUCO                PR         00698
          FABRICA DE MUEBLES LA
   160611 CABORROJENA INC             PO BOX 87                                                                                                                       CABO ROJO            PR         00623

   160612 FABRICA DE MUEBLES LUGO INC PO BOX 1187                                                                                                                     YAUCO                PR         00698
          FABRICA DE PLACAS Y TROFEOS
   651724 PIPE                        PO BOX 1501                                                                                                                     OROCOVIS             PR         00720

   651725 FABRICA MUEBLES C A LEBRON                  PO BOX 3931                                                                                                     AGUADILLA            PR         00605
   160613 FABRICA MUEBLES GINNETTE                    CARRETERA 371 KM 3 4          ALMACIGO ALTO                                                                     YAUCO                PR         00698

   651726 FABRICA MUEBLES TORRES INC                  PO BOX 3989                                                                                                     TOA ALTA             PR         00958
          FABRICIANO A ESCOBAR
   160614 ARANGO                                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   160615 FABRICIANO PEREZ ORTIZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          FABRICIANO RODRIGUEZ
   651727 SANTIAGO                                    CONSTANCIA                    2395 CALLE EUREKA                                                                 PONCE                PR         00717‐2324
                                                      CONDOMINIO PLAZA DEL
   160618 FABRINEDITO INC                             PARQUE 288                                                                                                      TRUJILLO ALTO        PR         00976
          FAC DERECHO EUGENIO MA
   160620 HOSTOS                                      BARCO DE PAPEL                APARTADO 1900                                                                     MAYAGUEZ             PR         00681




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          FACCIO & PABON ROCA LAW                     URB HEYDE PARK 249 LAS
   160621 OFFICES                                     MARIAS                                                                                                              SAN JUAN            PR           00927
   651728 FACCIO PABON ROCA                           PO BOX 19387                                                                                                        SAN JUAN            PR           00910‐1387
   651729 FACCIO PIZZA                                300 AVE LAS SIERRA BOX 97                                                                                           SAN JUAN            PR           00926
          FACEBANK INTERNATIONAL                      CENTRO INTERNATIONAL
   160630 CORP                                        MERCADEO                     100 CARR 165 ST 202                                                                    GUAYNABO            PR           00968
   651730 FACETS MILTI‐MEDIA                          1517 W FULLERTON AVE                                                                                                CHICAGO             IL           60614

          FACF TRUST & FEDERICO                                                    THE AUTRIUM OFFICE CENTER
  1419674 CARDONA FIRPI                               JOSE A. HERNANDEZ VELEZ      530 AVE. CONSTITUCION                                                                  SAN JUAN            PR           00901‐2304
   651731 FACIAL FLEX CORP                            PO BOX 99                                                                                                           BLUE BEL            PA           19422
   160636 FACIL AUTO INC                              708 AVE 65TH DE INFANTERIA                                                                                          SAN JUAN            PR           00924
          FACILITIES ENGINEERING
   771052 SERVICES CORP                               400 CALAF SUITE 415                                                                                                 SAN JUAN            PR           00918
          FACILITIES ENGINEERING
   160637 SERVICES, CORP                              400 CALAF SUITE 415                                                                                                 SAN JUAN            PR           00918
          FACILITIES MANAGEMENT &
   651733 JANITORIAL                                  PO BOX 366586                                                                                                       SAN JUAN            PR           00936‐6586
   651734 FACILITY AIR CORP                           MSC 205                      202 CALLE SAN JUSTO                                                                    SAN JUAN            PR           00917
          FACOBRA INC ( SUBWAY PLAZA
   160638 DE ARMAS )                                  SOL 105 APT 201                                                                                                     SAN JUAN            PR           00901
   160639 Facsimile Paper Connection                  PO BOX 363122                                                                                                       SAN JUAN            PR           00936‐3122
          FACSIMILE PAPER CONNECTION
   160640 CORP                                        AREA DEL TESORO              DIVISION DE RECLAMACIONES                                                              SAN JUAN            PR           00902‐4140
          FACSIMILE PAPER CONNECTION
   771053 CORP                                        PO BOX 363122                                                                                                       SAN JUAN            PR           00936‐3122
   651735 FACTOR 7 OMNIMEDIA INC                      P O BOX 8061                                                                                                        BAYAMON             PR           00960
   651736 FACTORY MUTUAL INS CO                       1301 ATWOOD AVENUE                                                                                                  JOHNSTON            RI           02919
   651737 FACTORY PLUS AVIATION                       7955 CALLE DE GATO                                                                                                  REDDING             CA           96001
                                                      LIPPINCOTT WILLIAMS &
   651738 FACTS AND COMPARISONS C/O                   WILKINS                      P O BOX 1630                                                                           HAGERSTOWN          MD           21741‐9967
   651739 FACTS COMPANY INC.                          VALLE VERDE                  AS 20 CALLE OROCOVIS                                                                   BAYAMON             PR           00961

   160649 FACTUMED INC                                PMB 110 405 AVE ESMERALDA    SUITE 2                                                                                GUAYNABO            PR           00969‐4457
          FACULTAD DERECHO EUGENIO
   160651 MARIA DE HOSTOS                             PO BOX 1900                                                                                                         MAYAGUEZ            PR           00681
          FACULTY AND INSTITUTIONAL
   651740 DEV CORP                                    LA RAMBLA                    636 CALLE 6                                                                            PONCE               PR           00731
   651741 FACUNDO A SOTO PENA                         URB VILLA FONTANA            FL‐28 VIA 25                                                                           CAROLINA            PR           00983
          FACUNDO BOU, SALVADOR Y
  1419675 OTROS                                       AMABEL ESCALERA RIVERA       PO BOX 70244                                                                           SAN JUAN            PR           00936‐8244

   160652 FACUNDO DI MAURO VAZQUEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      BO GUANAJIBO SECT SABANA
   651743 FACUNDO TROCHE MOLINA                       ALTA                         BOX 255                                                                                CABO ROJO           PR           00623
   651744 FAD TORO INC                                PO BOX 368032                                                                                                       SAN JUAN            PR           00936
   651745 FADEL M SAID                                54 C/ COMERCIO                                                                                                      JUANA DIAZ          PR           00795

   160659 FAGET OLIVAR MD, GUILLERMO                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   160669 FAHED IÑIGO MD, GEORGE                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   160674 FAICA, MELVIN                               REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   160675 FAIERMAN MD, EIAL                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   160676 FAIR BANK                                   PO BOX 191265                                                                                                       SAN JUAN            PR           00919‐1265



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  1419676 FAIR CONSTRUCTION INC.                      CARRILLO DELGADO RICARDO E   403 CALLE DEL PARQUE STE 6                                                              SAN JUAN             PR           00912‐3709
          FAIR HAVEN COMMUNITY
   160678 HEALTH CENTER                               374 GRAND AVE                                                                                                        NEW HAVEN            CT           06513
          FAIRBANKS PSYCHIATRIC AND
   160679 NEUROLOGICAL CLINIC                         1919 LATHROP ST STE 220                                                                                              FAIRBANKS            AK           99701

   651746 FAIRCOUNT INTERNATIONAL INC 3816 W LINEBAUGH AVE STE 401                                                                                                         TAMPA                FL           33624

   651747 FAIRFAX COUNTY GOVERTMENT                   3900 JESMATOWN ROAD          SUITE 200                                                                               FAIRFAX              VA           22030
          FAIRVIEW BROOKLYN PARK
   160680 CLINIC                                      10000 ZANE AVE N                                                                                                     BROOKLYN PARK        MN           55443
   651748 FAIRVIEW COLLEGE                            BAG 3500 PEACE RIVER                                                                                                 ALBERTA              AB           T8S IV9       Canada
   160681 FAIRVIEW HEALTH SERVICES                    400 STINSON BLVD                                                                                                     MINNEAPOLIS          MN           55413
   651749 FAIRVIEW PHARMACY SUCS                      PO BOX 1450 D W 7429                                                                                                 MINNEAPOLIS          MN           55485‐7429
   160682 FAIRVIEW RIDGES HOSPITAL                    PO BOX 19072                                                                                                         GREEN BAY            WI           54307‐9072
          FAIRWAYS OWNERS
   651750 ASSOCIATION                                 PO BOX 1228                                                                                                          MANATI               PR           00674‐1228

   160685 FAISCA ROSADO MD, WILFREDO                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   160687 FAITH WALLACE                               REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   651752 FAJARDO BOAT GLASS INC                      PO BOX 4002                                                                                                          PUERTO REAL          PR           00740
   160701 FAJARDO FORD INC                            P O BOX 981                                                                                                          FAJARDO              PR           00738‐0981
   160702 FAJARDO FORD, INC                           PMB 194                      PO BOX 70005                                                                            FAJARDO              PR           00738‐7005
          FAJARDO GAINTS / JOSE
   651753 SERRANO                                     BRISAS DE FAJARDO            4 J 2 CALLE 414                                                                         FAJARDO              PR           00738
   651754 FAJARDO GIANTS                              PO BOX 9023207                                                                                                       SAN JUAN             PR           00902‐3207
   160707 FAJARDO IMAGING INC                         P O BOX 490                                                                                                          PUERTO REAL          PR           00740‐0490
   160710 FAJARDO INN                                 PO BOX 4309                                                                                                          FAJARDO              PR           00740
   160711 FAJARDO INN SE                              PO BOX 4309                                                                                                          PUERTO REAL          PR           00740
   160712 FAJARDO INN; SE                             #52 PARCELAS BELTRAN                                                                                                 FAJARDO              PR           00740‐0000
   651756 FAJARDO METROS CORP                         VILLA MARINA VILLAGE         APT 21 G                                                                                FAJARDO              PR           00738
   651757 FAJARDO MOTOR                               HC 66 BOX 8726                                                                                                       FAJARDO              PR           00738
          FAJARDO PRIVATE DETECTIVES
   651758 AND                                         PO BOX 1021                                                                                                          FAJARDO              PR           00738
   651759 FAJARDO RHF HOUSING INC                     EDIF ADM MONTE VISTA         CALLE 5                                                                                 FAJARDO              PR           00738
   651760 FAJARDO ROYALS                              PO BOX 9023207                                                                                                       SAN JUAN             PR           00902‐3207
          FAJARDO SCHOOL AND OFFICE                   COL EVANGELICO REV LUIS A
   160728 SUPPLY                                      CASILLAS                     1256 AVE LAURO PINERO                                                                   FAJARDO              PR           00738
   651762 FAJARDO SERVICE STATION                     URB SANTA ISIDRA             205 CALLE 1                                                                             FAJARDO              PR           00738
   651763 FAJARDO SUPER ESSO                          PO BOX 4268                                                                                                          PUERTO REAL          PR           00740

   651751 FAJARDO TEXACO SERVICE                      795 CALLE UNION BLOQUE 250                                                                                           FAJARDO              PR           00738
   651764 FAJARDO TEXACO SERVICE                      URB STA ISIDRO               250 CALLE UNION                                                                         FAJARDO              PR           00778
   651765 FAJARDO TROPHIES                            55 CALLE DR LOPEZ                                                                                                    FAJARDO              PR           00738
   160737 FAKHRI MUBARAK RAMOS                        ESTANCIAS VELAZQUEZ          50 CALLE MIRAMAR                                                                        ISABELA              PR           00662
   160748 FALCON AMBULANCE                            CALLE 12 SS ‐ 19 URB. CANA                                                                                           BAYAMON              PR           00957‐0000

  1419677 FALCÓN ANDINO, BETHZAIDA                    JOHANNA GILOT OPPENHEIMER    PO BOX 369                                                                              CATAÑO               PR           00963‐0369
   160766 FALCON CARO MD, GONZALO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
  1419678 FALCON COLON, LUZ ELIA                      ALONDRA FRAGA MELENDEZ       PO BOX 29074                                                                            SAN JUAN             PR           00929
   160800 FALCON DIAZ, DIANA 0                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
  1419679 FALCÓN FRANQUI, JANETTE                     ALONDRA FRAGA MELENDEZ       PO BOX 29074                                                                            SAN JUAN             PR           00929‐0074



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  651766 FALCON GONZALEZ JACKSON                      URB LOS ANGELES              W B 21 CALLE GERANIO                                                                     CAROLINA             PR           00979

   160865 FALCON MATOS MD, CARLOS A REDACTED                                       REDACTED                     REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   160895 FALCON PABON, LUZ M.        REDACTED                                     REDACTED                     REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   160900 FALCON PRINTING             RR 1 BUZON 11450                             BO PINAS                                                                                 TOA ALTA             PR           00953
   160952 FALCON SANCHEZ & ASSOC      P O BOX 366397                                                                                                                        SAN JUAN             PR           00936
          FALCON SANCHEZ & ASSOCIATES
   160953 PSC                         P O BOX 366397                                                                                                                        SAN JUAN             PR           00936‐6397

   160954 FALCON SANCHEZ CONSULTING                   P O BOX 366397                                                                                                        SAN JUAN             PR           00936
   651768 FALCON T SHIRT                              P O BOX 147                                                                                                           MERCEDITA            PR           00715
   160973 FALCON TORRES MD, FELIX A                   REDACTED                     REDACTED                       REDACTED                           REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
                                                                                   802 AVE. SAN PATRICIO URB. LAS
  1419680 FALCON, JOSE Y OTROS                        ALICIA M. SANTOS IRIZARRY    LOMAS                                                                                    SAN JUAN             PR           00921

   160999 FALCONERIS GUTIERREZ CORNIEL VALLE ARRIBA HEIGHTS              CALLE 204 DF 3                                                                                     CAROLINA             PR           00983
   651769 FALELO INC                      PMB 352                        HC 1 BOX 29030                                                                                     CAGUAS               PR           00725
   161023 FALERO LA, SANTA MARIA          REDACTED                       REDACTED                               REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   161062 FALIN M GONZALEZ MADERA         REDACTED                       REDACTED                               REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
  1419681 FALTO DE ROMAN, ELBA I          ISRAEL ROLDÁN GONZÁLEZ         49 BETANCES ST.                                                                                    AGUADILLA            PR           00603
   161066 FALTO DETRES MD, PEDRO C        REDACTED                       REDACTED                               REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          FALU FLOWERS & FUNERAL
   161098 HOME , CORP                     PO BOX 352                                                                                                                        TOA BAJA             PR           00954
          FALU FLOWERS & FUNERAL          CARR 865 KM 2.3 CANDELARIA
   161099 HOME CORP                       ARENAS                                                                                                                            TOA BAJA             PR           00949
   651772 FALU FUNERAL HOME               PO BOX 352                                                                                                                        TOA ALTA             PR           00954
   651773 FALU MUFFLERS SHOP CORP         925 AVE 65 INFANTERIA                                                                                                             SAN JUAN             PR           00924‐4624
   161132 FALU TRANSMISSION               PO BOX 2412                                                                                                                       TOA BAJA             PR           00951
          FAM VIOLENCE PREVENTION
   651775 FUND                            383 RHODE ISLAND STREET        SUITE 304                                                                                          SAN FRANCISCO        CA           94103‐5133
          Fam. y Com. en Accion Pro‐S. M.
   161138 de P.R.                         URB. VILLA ALEGRE G‐11 CALLE 8                                                                                                    GURABO               PR           00778‐0000
   161139 FAMA & ASSOCIATES INC           BOX 9298                                                                                                                          SAN JUAN             PR           00908‐9198
   161144 FAME TRAVEL                     URB HERMANAS DAVILA            I 14 AVE BETANCES                                                                                  BAYAMON              PR           00959

   161152 FAMILIA ROSARIO, TEODOCIA M REDACTED                                     REDACTED                     REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          FAMILIAS CAPACES INC
   651776 /PROYECTO DENIFAR           PO BOX 9021115                                                                                                                        SAN JUAN             PR           00902‐1115
          FAMILIAS UNIDAS EN
   651777 SUPERACION INC              HC 05 BOX 57108                                                                                                                       MAYAGUEZ             PR           00680

   651778 FAMILIES AND WORK INSTITUTE 330 7TH AVE                                                                                                                           NEW YORK             NY           10001

   651779 FAMILIES IN SOCIETY                         11700 WEST LAKE PARK DRIVE                                                                                            MILWAUKEE            WI           53224
          FAMILY CARE COUNSELING
   161155 CENTER                                      501 WASHINGTON               SUITE 700                                                                                READING              PA           19601
   161156 FAMILY CARE SPECIALIST                      MEDICAL RECORDS              10696 SE US HWY 441                                                                      BELLEVIEW            FL           34420‐2802
   651780 FAMILY CATERING                             BOX 976                                                                                                               OROCOVIS             PR           00720

          FAMILY EMERGENCY MEDICINE
   161157 REDHHOK FAMILY PRACTICE                     6500 REDHOOK                 PLAZA SUITE 205                                                                          ST THOMAS            VI           00802
   161158 FAMILY FABRIC INC                           PO BOX 576                                                                                                            AGUADA               PR           00602
   161159 FAMILY FABRICS, INC.                        CARR 2 KM 138.6                                                                                                       AGUADA               PR           00602



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  161160 FAMILY FOR YOU                               URB ROYAL TOWN             7 8 CALLE 50 A                                                                BAYAMON              PR           00956
         FAMILY HEALTH CARE AT NO
  161161 GEN                                          MEDICAL RECORDS            1879 MADISON AVE                                                              NEW YORK             NY           10035

   651781 FAMILY HEALTH CARE CENTER                   CARR 682 KM 40 2                                                                                         GARROCHALES          PR           00652
   161162 FAMILY HEALTH CENTER                        ATTN: MEDICAL RECORDS      2501 N ORANGE AVE STE 235                                                     ORLANDO              FL           32804
          FAMILY HEALTH CENTER OF
   161163 GREATER ORLANDO PA                          2911 RED BUG LAKE RD                                                                                     CASSELBERRY          FL           32707‐5929
          FAMILY HEALTH CENTER OF SAN
   161164 DIEGO                                       823 GATEWAY CENTER WAY                                                                                   SAN DIEGO            CA           92102‐4541
          FAMILY HEALTH CENTERS OF
   161165 SOUTHWEST FLORIDA INC                       MEDICAL RECORDS            PO BOX 1357                                                                   FT MYERS             FL           33901
   651782 FAMILY HEALTH GROUP                         P O BOX 5446                                                                                             SAN SEBASTIAN        PR           000685
          FAMILY HEALTH OF
   161167 GEORGETOWN                                  2 LEE AVE UNIT 103                                                                                       GEORGETOWN           DE           19947
   161168 FAMILY HEALTH SERVICES                      ATTN MEDICAL DERCORD       95 E CHAUTAUQUA ST                                                            MAYVILLE             NY           14757
          FAMILY HEALTH SERVICES OF
   161169 WEST                                        2057 N UNIVERSITY DR                                                                                     SUNRISE              FL           33322
          FAMILY HEALTH SOCIAL SERVICE
   161170 CENTER                                      26 QUEEN STREET                                                                                          WORCESTER            MA           01610

   161171 FAMILY HEARING CENTER                       COND SAN VICENTE           8169 CALLE CONCORDIA STE 205                                                  PONCE                PR           00717‐1564
   161180 FAMILY HOUSE MY NEW                         URB ROYAL TOWN C/48 I‐1                                                                                  BAYAMON              PR           00956
          FAMILY LIFE INSURANCE
   651783 COMPANY                                     6500 RIVER PLACE BLVD      BUILDING ONE                                                                  AUSTIN               TX           78730
   651784 FAMILY MEDIA GROUP                          P O BOX 52326                                                                                            TOA BAJA             PR           00950‐2326
   161181 FAMILY MEDICAL CENTER                       22 NORTH FRANKLYN AVE      1ST FLOOR                                                                     PLEASANTVILLE        NJ           08232
          FAMILY MEDICAL CENTER AT
   161183 DOVER                                       375 EAST MCFARLAN STREET   STE 2                                                                         DOVER                NJ           07801‐3628
   161184 FAMILY MEDICINE CENTER                      CARR. #3 KM. 151.4         BO. COQUI                                                                     AGUIRRE              PR           00704
          FAMILY OPTICAL CENTER DBA
   161185 FAMILY VISION                               623 YAUCO PLAZA II                                                                                       YAUCO                PR           00698
   651786 FAMILY PHOTO                                BOX 185                                                                                                  OROCOVIS             PR           00687
          FAMILY PHYSICIAN HEALTH
   161186 CENTER                                      5616 6TH AVE                                                                                             BROOKLYN             NY           11220

   161187 FAMILY PHYSICIAN OF CONWAY MEDICAL RECORDS                             3333 S CONWAY RD                                                              ORLANDO              FL           32812
          FAMILY PHYSICIANS OF HUNTERS
   161188 CREEK                        ATTN MEDICAL RECORDS                      14075 TOWN LOOP BLVD                                                          ORLANDO              FL           32837
          FAMILY PHYSICIANS OF LAKE
   161189 UNDERHILL                    ATTN MEDICAL RECORDS                      10829 DYLAN LOREN CIR                                                         ORLANDO              FL           32825
   161190 FAMILY PRACTICE              8344 CLAIREMONT MESA BLV                  SUITE 201                                                                     SAN DIEGO            CA           92111
   161191 FAMILY PRACTICE CENTER PC    131 JPM ROAD                                                                                                            LEWISBURG            PA           17837
   161193 FAMILY PRACTICE WEST INC     5212 W BROAD ST                                                                                                         COLUMBUS             OH           43228
          FAMILY PRESERVATION SERVICES
   161194 INC                          MEDICAL RECORDS                           11428 N 53RD ST                                                               TAMPA                FL           33617
                                       53 CALLE VALERIANO MUNOZ
   161195 FAMILY QUICK LUNCH           OESTE                                                                                                                   SAN LORENZO          PR           00754
   161196 FAMILY SECRET HELPERS INC    URB ROSA MARIA                            F18 CALLE 5                                                                   CAROLINA             PR           00985
   161197 FAMILY SERVICES              430 NORTH CANAL STREET                                                                                                  LAWRENCE             MA           01840
   161198 FAMILY SOLUTIONS INC         9016 RIVER CRESCENT                                                                                                     SOUFFLOK             VA           23433
   651787 FAMILY STORE                 BOX 576                                                                                                                 AGUADA               PR           00602




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          FAMILY SUPPORT AND HEALTH
   651788 PRESERVATION                                PO BOX 270007                                                                                                           SAN JUAN             PR           00927‐0007
   651789 FAMILY TIRE SERVICE                         P O BOX 1461                                                                                                            CIDRA                PR           00739
   161199 FAMILY VISION CENTER                        83 CALLE UNION                                                                                                          PONCE                PR           00664
                                                                                   EDIF. CARIBBEAN TOWERS, SUITE
   161204 FAMMA & ASSOCIATES                          670 AVE. PONCE DE LEON       22                                                                                         SAN JUAN             PR           00908
   161213 FANCISCO VILA OLIVERA                       P O BOX 131                                                                                                             CAGUAS               PR           00726
                                                      CALLE JESUS FIGUEROA LC‐10
   161214 FANCY BALLOONS                              URB. FRONTERA                                                                                                           BAYAMON              PR           00949
   651790 FANCY BALLOONS INC                          URB RIVER VIEW               AA5 CALLE 22                                                                               BAYAMON              PR           00961
   161226 FANG GUOYU                                  REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   161228 FANIXA RESTO OCASIO                         URB MIRAFLORES               38‐5 CALLE 49                                                                              BAYAMON              PR           00957
   651791 FANNI BONDA                                 RIVADAVIA 13867‐7B           1704 RAMOS MEJIA                                                                                                                           ARGENTINA
   161232 FANNY A. ORTIZ TORRES                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   161233 FANNY C. SANTANA PACHECO                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   651792 FANNY CORREAL WEBER                         TERRAZAS DE GUAYNABO         I 21 LAS FLORES BOULEVARD                                                                  GUAYNABO             PR           00969

   651793 FANNY CRUZADA ALBALADEJO                    COND LAS TENSAS II           APT 9 F                                                                                    SAN JUAN             PR           00924
   161234 FANNY DONE BRITO                            REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   651794 FANNY GARRIDO PUMARES                       RES LUQUILLO                 APT 45 F                                                                                   LUQUILLO             PR           00773
   651795 FANNY GONZALEZ COLLAZO                      COND TORRELINDA APTO 705     85 CALLE MAYAGUEZ                                                                          SAN JUAN             PR           00917
          FANNY GRISELLE MELENDEZ
   161235 MELENDEZ                                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   651796 FANNY L CRUZ VAZQUEZ                        BOX 302                                                                                                                 SABANA GRANDE        PR           00637
   651798 FANNY MELENDEZ PABON                        SOLAR 109 MARIA ANTONIA                                                                                                 GUANICA              PR           00653
   651800 FANNY OCASIO BARRETO                        URB MONTE VERDE              511 CALLE MONTE BLANCO                                                                     MANATI               PR           00674
   651801 FANNY PADILLA RUIZ                          HC 02 BOX 35205                                                                                                         CAGUAS               PR           00725
   161237 FANNY R LOPEZ GOMEZ                         MARINA STATION               PO BOX 8068                                                                                MAYAGUEZ             PR           00681‐8068
   651803 FANOVIDAL S.E.                              MSC 6152 ESTACION                                                                                                       BAYAMON              PR           00960
          FANTASTIC DRY CLEANER &                     625 AVE PONCE DE LEON
   161238 TAILOR                                      PARADA 11                                                                                                               SAN JUAN             PR           00907
   161239 FANTASTIC STABLE INC                        SANTA MARIA                  4 FLOR DE LIS                                                                              SAN JUAN             PR           00927‐6202
   161245 FANTAUZZI COTTO, IDALIA I.                  REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   161264 FANTAUZZI MORALES, MARIA D.                 REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FANTAUZZI PRODUCTS FOR
   651804 HOTEL &RESTAURANT                           Y 18 LADY ESTE STREET                                                                                                   LEVITOWN             PR           00949
          FARABEE REGIONAL MHMR,
   161294 HELEN                                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   651805 FARAH I PARET NATER                         URB LAS FLORES               E 4 CALLE D                                                                                VEGA BAJA            PR           00693
   651806 FARAH IBRAHIN ABU                           URB SAN AGUSTIN              381 CALLE SOLDADO LIBRAN                                                                   SAN JUAN             PR           00923

   161296 FARAH M MARTINEZ MENDOZA                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   651807 FARAH PAULINO REYES                         CAPARRA TERRACE              1573 CALLE 10 SO                                                                           SAN JUAN             PR           00921
   651808 FARAH REICH SEMPRIT                         URB COUNTRY CLUB             773 CALLE MERCEDES SOLA                                                                    SAN JUAN             PR           00924
   651809 FARAH RIVERA ROMAN                          COND PARK VIEW TERRACE       EDIF 11 APT 603                                                                            CANOVANAS            PR           00729
   651810 FARAH S RAMIREZ TORRES                      BO SABANA ENEAS              CALLE 22 SABANA ENEAS 594                                                                  SAN GERMAN           PR           00683
   651811 FARAHS DECORACIONES                         PO BOX 195123                                                                                                           SAN JUAN             PR           00919‐5123
   651812 FARAON IRIZARRY GONZALEZ                    HC 1 BOX 6501                                                                                                           GUAYANILLA           PR           00656

   651813 FARAYULISA ROSARIO COLLAZO                  HC 03 BOX 15206                                                                                                         JUANA DIAZ           PR           00795
   651814 FARDEL INC                                  NE 1002 CALLE 2                                                                                                         PUERTO NUEVO         PR           00969
   651815 FAREL S VELAZQUEZ CANCEL                    HC 3 BOX 17308                                                                                                          QUEBRADILLAS         PR           00678



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                                                      URB ESTANCIAS DE SANTA
   651816 FARELIN TORRES COLON                        ISABEL                       422 CALLE RUBI                                                                           SANTA ISABEL       PR           00757
                                                                                   2431 AVE LAS AMERICAS SUITE
   651817 FARES A CID MANSUR                          EDIF A PORRATA PILA          210                                                                                      PONCE              PR           00717‐2115
   651819 FARES FEHMI YASIN CERON                     PO BOX 602                                                                                                            SAN GERMAN         PR           00683
   651821 FARGAS IRON WORK                            PARCELA HILLS BROTHERS       404 CALLE 23                                                                             SAN JUAN           PR           00924
  1419682 FARGAS LLANOS, NANCY                        CESAR LUGO                   AEELA PO BOX 70199                                                                       SAN JUAN           PR           00936‐8190
   161335 FARGAS LLANOS, SANDRA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   161355 FARHA A. AJAJ                               REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   161361 FARIA ASTOR, SELEIDA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   161401 FARIAS MEDICAL CLINIC                       525 PENN ST                                                                                                           READING            PA           19601
   161407 FARID ABRAHAM                               REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   161408 FARID MD , AYMAN E                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   161409 FARIDE EL HAGE                              REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED

   651824 FARINACCI DISTRIBUTORS CORP                 URB LOS CAOBOS               1185 CALLE BAMBU                                                                         PONCE              PR           00716
   651825 FARINACCI KIDS                              O 15 AVE FAGOT                                                                                                        PONCE              PR           00731
   651826 FARINELI AND ASSOCIATES                     7979 BRADWICK VAY                                                                                                     MELBINNE           FL           32940
   651827 FARIS FASHIONS                              8 CALLE UNION                                                                                                         LAJAS              PR           00667
   651829 FARIS PEREZ SOTO                            HC 5 BOX 34201                                                                                                        SAN SEBASTIAN      PR           00685
   161428 FARIS SULAIMAN ATRA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   651830 FARM LA MILAGROSA                           PO BOX 907                                                                                                            AGUADILLA          PR           00605‐0907
   651832 FARM PRO INC                                PO BOX 7103                                                                                                           PONCE              PR           00732
   651833 FARM SAN MIGUEL                             54 CALLE BETANCES                                                                                                     VEGA ALTA          PR           00693
   161430 FARMACIA ADONAI INC                         21 CALLE DR ULISES CLAVELL                                                                                            PONCE              PR           00716
   161412 FARMACIA ALEXANDRA                          P O BOX 20375                                                                                                         SAN JUAN           PR           00928
   651839 FARMACIA ALIMAR                             URB MU¥OZ RIVERA             47 AVE ESMERALDA                                                                         GUAYNABO           PR           00969
   651840 FARMACIA AMERICANA                          1854 CALLE LOIZA                                                                                                      SAN JUAN           PR           00911
   651841 FARMACIA AMIGA                              URB VISTA DEL SOL            10 MARGINAL A                                                                            COAMO              PR           00716
                                                      MONSERRATE SHOPPING
   651842 FARMACIA AMIGA INC                          CENTER                       VILLA CAROLINA                                                                           CAROLINA           PR           00985
   651843 FARMACIA B 12                               OASIS GARDENS                1 CALLE ARGENTINA                                                                        GUAYNABO           PR           00969
   651844 FARMACIA B‐12                               OASIS GARDENS                1 CALLE ARGENTINA                                                                        GUAYNABO           PR           00969
   651845 FARMACIA BARCELONETA                        EDIF MONTIJO                 5 CALLE JUAN T PUIG                                                                      BARCELONETA        PR           00617
   651846 FARMACIA BELLA VISTA                        COMERCIAL BELLA VISTA        EDIF 1 LOCAL 1 A                                                                         BAYAMON            PR           00957
          FARMACIA BELMONTE
   161434 INC/ROBERTO D ACOSTA                        MARTIN                       PO BOX 1085                                                                              HORMIGUEROS        PR           00660
   651847 FARMACIA BORINQUEN                          268 ST 6 LMR                                                                                                          GUAYANILLA         PR           00656
   161435 FARMACIA CAGUAS INC                         #10 DR GOYCO                                                                                                          CAGUAS             PR           00725
  1256494 FARMACIA CAGUAS, INC.                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   161436 FARMACIA CALDAS                             PO BOX 1146                                                                                                           BOQUERON           PR           00622
                                                      7030 AVE AGUSTIN RAMOS
   651848 FARMACIA CARIMAR                            CALERO                                                                                                                ISABELA            PR           00662
          FARMACIA CDT DR. JAVIER J                   PLAZA DEL MERCADO RAFAEL
   161437 ANTON                                       HERNANDEZ LOTE 23                                                                                                     RIO PIEDRAS        PR           00928
   651849 FARMACIA CENTRAL                            100 CALLE ROMAN                                                                                                       ISABELA            PR           00662
                                                      1050 AVE LOS CORAZONES SUITE
   651850 FARMACIA CENTRO RENAL INC                   103                                                                                                                   MAYAGUEZ           PR           00680‐7042
   651851 FARMACIA CHAVES INC                         27 CALLE BARBOSA                                                                                                      ISABELA            PR           00662
   161439 FARMACIA CINTRON                            70 CALLE DR CUETO                                                                                                     UTUADO             PR           00641
   651852 FARMACIA COMERIO                            PO BOX 671                                                                                                            COMERIO            PR           00782

   651853 FARMACIA COOP DE CABO ROJO PO BOX 1126                                                                                                                            CABO ROJO          PR           00653



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          FARMACIA COOP SANTA
   651854 TERESITA                                    25 CALLE JOSE I QUINTON                                                                                     COAMO               PR           00769
   651855 FARMACIA CRISTINA                           REPARTO VALENCIA              200 AVE ORQUIDEA LOCAL 5                                                      BAYAMON             PR           00959
   651856 FARMACIA CUNDO ROVIRA                       PO BOX 601                                                                                                  MAYAGUEZ            PR           00681

   651857 FARMACIA CUPEY GARDENS                      CUPEY GARDENS PLAZA           200 AVE CUPEY GARDENS STE 1E                                                  SAN JUAN            PR           00926
   161440 FARMACIA CUQUIMARIC                         PO BOX 362                                                                                                  BOQUERON            PR           00622
   161441 FARMACIA DE TODOS INC                       P O BOX 1069                                                                                                GURABO              PR           00778
   651858 FARMACIA DEL CARMEN                         89 CALLE CORCHADO                                                                                           ISABELA             PR           00662
   651860 FARMACIA DEL CENTRO INC                     PO BOX 9024275                                                                                              SAN JUAN            PR           00902‐4275
   161443 FARMACIA DEL PUEBLO                         33 MUNOZ RIVERA                                                                                             RINCON              PR           00677
   651863 FARMACIA DEL PUEBLO I                       P O BOX 1279                                                                                                JUNCOS              PR           00777
   651864 FARMACIA DEL VALENCIANO                     P O BOX 1599                                                                                                JUNCOS              PR           00777

   161444 FARMACIA DIVINO NINO                        835 CALLE CONCEPCION VIERA                                                                                  MOCA                PR           00676
   651865 FARMACIA DORAL INC                          M 1 AVE STA JUANITA                                                                                         BAYAMON             PR           00956
                                                      CARR 181 KM. 9.1 BO DOS
   161445 FARMACIA DOS BOCAS                          BOCAS                                                                                                       TRUJILLO ALTO       PR           00976‐0000
   651866 FARMACIA EL AMAL                            39 MEDICAL CENTER                                                                                           MAYAGUEZ            PR           00681
                                                      #625 AVE. TITO CASTRO SUITE
   161446 FARMACIA EL APOTECARIO                      101                                                                                                         PONCE               PR           00716‐0000
   651867 FARMACIA EL EDEN                            PO BOX 1827                                                                                                 MOCA                PR           00676
   651868 FARMACIA EL JUNCO                           BO PUEBLO                     150 CALLE VIOLETA                                                             HATILLO             PR           00659
   651870 FARMACIA EL REY                             404 AVE BARBOSA                                                                                             SAN JUAN            PR           00917
   651872 FARMACIA ELDA INC                           BO CANTERA                    CARR 2 KM 44 6                                                                MANATI              PR           00674
   651874 FARMACIA ELENA                              130 CALLE COMERCIO                                                                                          JUANA DIAZ          PR           00795‐3529
   651875 FARMACIA FAMILIAR                           17 CALLE BARCELO                                                                                            MAUNABO             PR           00707
   651876 FARMACIA FATIMA                             URB BALDRICH                  224 AVE DOMENECH                                                              SAN JUAN            PR           00918
   651877 FARMACIA FELICIANO                          P O BOX 490                                                                                                 YABUCOA             PR           00767
   161448 FARMACIA FERRARI INC                        PO BOX 6                                                                                                    AGUADILLA           PR           00605
   651878 FARMACIA FREDDY INC                         19 CALLE MUNOZ RIVERA                                                                                       NAGUABO             PR           00718
   161449 FARMACIA GARCIA                             121 CALLE VIDAL FELIX                                                                                       HATILLO             PR           00659
   161451 FARMACIA GENESIS LLC                        59 CALLE DAGUEY                                                                                             ANASCO              PR           00610
   651879 FARMACIA GIUSTI INC                         VILLA RICA                    AJ 16 CALLE SONIA                                                             BAYAMON             PR           00959
   651880 FARMACIA GLORIANA                           HC 2 BOX 9879                                                                                               QUEBRADILLAS        PR           00678
   651881 FARMACIA GLORIEL                            BOX 399                                                                                                     MAYAGUEZ            PR           00681
   651882 FARMACIA GONZALEZ                           PO BOX 61                                                                                                   VILLALBA            PR           00766
   651883 FARMACIA GUADALUPE                          2 CALLE CALIMANO SUR                                                                                        GUAYAMA             PR           00784
   651884 FARMACIA HATO REY                           455 AVE PONCE DE LEON                                                                                       SAN JUAN            PR           00917
   651885 FARMACIA HEIDI                              260 CALLE COLON                                                                                             AGUADA              PR           00602‐2925
   161452 FARMACIA ILEANA                             905 CALLE MUNOZ RIVERA                                                                                      PENUELA             PR           00624
          FARMACIA INTERNATIONAL
   651887 DRUG                                        P O BOX 2087                                                                                                ARECIBO             PR           00613‐2087
   651888 FARMACIA IRIZARRY                           38 CALLE BARBOSA                                                                                            CABO ROJO           PR           00623
   651890 FARMACIA ISABELA DRUG INC                   PO BOX 765                                                                                                  ISABELA             PR           00662
   651891 FARMACIA JOMAR                              160 CALLE POST                                                                                              MAYAGUEZ            PR           00680
   161454 FARMACIA JOMARI INC                         18 CALLE MUNOZ RIVERA                                                                                       PATILLAS            PR           00723
   651892 FARMACIA KEILA                              62 CALLE BALDORIOTY                                                                                         SALINAS             PR           00751
          FARMACIA LA CANDELARIA INC/
   161456 SYNERLUTION                                 PO BOX 3590                                                                                                 LAJAS               PR           00667
   651893 FARMACIA LA CARIDAD                         HC 01 BOX 4004                                                                                              FLORIDAD            PR           00650
   651894 FARMACIA LA CONCEPCION                      PO BOX 1127                                                                                                 YAUCO               PR           00698
   161457 FARMACIA LA CURVA                           2916 AVE MILITAR                                                                                            ISABELA             PR           00662



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  161458 FARMACIA LA FAMILIA                          CAAR 174 KM4.6 CALLE 10          BAR. JUAN SANCHEZ                                                      BAYAMON              PR           00956
         FARMACIA LA FE REFORMADA
  651895 INC                                          108 CALLE VICTORIA                                                                                      PONCE                PR           00731
  161459 FARMACIA LA INMACULADA                       PO BOX 1753                                                                                             JUNCOS               PR           00777‐1753

   161460 Farmacia La Milagrosa                       Ave. San Carlos, Esq. Comercio                                                                          Aguadilla            PR           00603
   161461 FARMACIA LA MONSERRATE                      19 MUNOZ RIVERA                                                                                         SALINAS              PR           00751

   651898 FARMACIA LA NUEVA MARIANA URB REXVILLE                                       L 2 CALLE 9                                                            BAYAMON              PR           00957
   651899 FARMACIA LA RAMPLA        PO BOX 1911                                                                                                               YABUCOA              PR           00767

   651900 FARMACIA LA REFORMA                         33 CALLE MU¥OZ RIVERA BAJOS                                                                             SALINAS              PR           00751
   651901 FARMACIA LECHUGA                            PO BOX 1323                                                                                             HATILLO              PR           00659
   651902 FARMACIA LEDIS                              PMB 09                      PO BOX 3509                                                                 JUANA DIAZ           PR           00795
   651836 FARMACIA LEMAR                              PO BOX 5127                                                                                             YAUCO                PR           00698‐5127
          FARMACIA LOPEZ REFORMADA
   651904 INC                                         PO BOX 9024275                                                                                          SAN JUAN             PR           00902‐4275
                                                      I 11 URB VILLA FLORES
   161462 FARMACIA LORRAINE INC                       MARGINAL                                                                                                MERCEDITA            PR           00715
   161464 FARMACIA LOS ANGELES                        4406 AVE MILITAR                                                                                        ISABELA              PR           00662
          FARMACIA LUCIANO / PORTAL
   651906 INC                                         67 E CALLE MENDEZ VIGO ESTE                                                                             MAYAGUEZ             PR           00680

   651908 FARMACIA LUIS DE PR NO 4 INC                1501 AVE PONCE DE LEON                                                                                  SAN JUAN             PR           00909
   651909 FARMACIA LUMA                               255 CALLE SAN FRANCISCO                                                                                 SAN JUAN             PR           00901

   651910 FARMACIA MARENA             279 CALLE FERNANDEZ GARCIA                                                                                              LUQUILLO             PR           00773
   651911 FARMACIA MARIE              1 CALLE SAN MANUEL                                                                                                      COROZAL              PR           00783
          FARMACIA MEDICAL PLAZA DBA
   161467 DARYLIS PRAS                PMB 120                                          PO BOX 4972                                                            CAGUAS               PR           00726
   651912 FARMACIA MEGAR              PO BOX 250333                                                                                                           AGUADILLA            PR           00604‐0333
   651913 FARMACIA MELLYBER           49 CALLE SANTOS P AMADEO                                                                                                SALINAS              PR           00751
   651914 FARMACIA MENAY JR           16 CALLE BALDORIOTY                                                                                                     YAUCO                PR           00698
   651915 FARMACIA MERFI              12 CALLE PATRIOTA POZO                                                                                                  MANATI               PR           00674
   651916 FARMACIA MIR MAR            3 CALLE RIEFKHO                                                                                                         PATILLAS             PR           00723‐2915
   161468 FARMACIA MORELL             1 MUNOZ RIVERA OESTE                                                                                                    CAMUY                PR           00627
          FARMACIA NEREIDA/LYDIA LUNA
   651917 AGUAYO                      HC 2 BOX 7875                                                                                                           CAMUY                PR           00627
   161469 Farmacia Nogueras           Calle Muñoz Rivera #11                                                                                                  Ricon                PR           00677

   651918 FARMACIA NUESTRA FARMACIA URB ALTURAS DE VEGA BAJA                           B 4 CALLE A                                                            VEGA BAJA            PR           00693
   161471 FARMACIA NUEVA            5 CALLE CARRO                                                                                                             SAN GERMAN           PR           00683

   651922 FARMACIA NUEVA BORINQUEN                    P O BOX 64                                                                                              MOROVIS              PR           00266
   651923 FARMACIA NUEVA NUM 1                        12 CALLE MU¥OZ RIVERA                                                                                   BARRANQUITAS         PR           00794
   651924 FARMACIA ORTEGA                             13 GEORGETTI                                                                                            BARCELONETA          PR           00617
   651925 FARMACIA PADUA INC                          PO BOX 796                                                                                              JAYUYA               PR           00664
   651926 FARMACIA PAJUIL                             PO BOX 718                                                                                              HATILLO              PR           00659
   651927 FARMACIA PAVIA                              301 AVE JOSE DE DIEGO                                                                                   ARECIBO              PR           00612
          FARMACIA POST / HECTOR M
   651928 ALONSO GONZALEZ                             103 CALLE POST SUR               BOX 688                                                                MAYAGUEZ             PR           00681
   651930 FARMACIA PR                                 HOME MORTGAGE PLAZA              AVE PONCE DE LEON 268                                                  SAN JUAN             PR           00919




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   651931 FARMACIA PUERTA DE CAROLINA AVE MONSERRATE                             ESQ AVE MAIN CALDERON                                                                  CAROLINA            PR           00983
   651837 FARMACIA QUERRERO           BAYAMON GARDENS                            B 2 AVE CASTIGLIONI                                                                    BAYAMON             PR           00957
   651932 FARMACIA QUESADA            PO BOX 488                                                                                                                        GUANICA             PR           00653
                                      CALLE MUNOZ RIVERA 418 C/O
   161472 FARMACIA QUINONES           BOX 8                                                                                                                             PENUELAS            PR           00624‐0000
          FARMACIA RAISA INC/ MARIBEL
   161473 CANDELARIA                  PO BOX 516                                                                                                                        RINCON              PR           00677
   651933 FARMACIA REYES              653 AVE PONCE DE LEON                                                                                                             SAN JUAN            PR           00907
   651934 FARMACIA RINA               BOX 81                                                                                                                            GUAYAMA             PR           00784
   651835 FARMACIA ROBLES             URB PANORAMA                               C 27 CALLE 1                                                                           BAYAMON             PR           00956‐4378
   651935 FARMACIA ROMERO             PO BOX 671                                                                                                                        COMERIO             PR           00782
   161476 Farmacia San Antonio        Carr 113 Km. 3.6                                                                                                                  Quebradilla         PR           00678
   651937 FARMACIA SAN CARLOS 3       3 CALLE MORSE 2 12                                                                                                                ARROYO              PR           00714
   651938 FARMACIA SAN FELIPE         BOX 78                                                                                                                            ANGELES             PR           00611
   651939 FARMACIA SAN FRANCISCO      24 GEORGETTI                                                                                                                      BARRANQUITAS        PR           00617
   161481 FARMACIA SAN JOSE           APT 186                                                                                                                           LARES               PR           00669
   651838 FARMACIA SAN JOSE           P O BOX 1578                                                                                                                      MOCA                PR           00676 1578
          FARMACIA SAN MARTIN
   651947 BARCELONETA INC             9 GEORGETTI                                                                                                                       BARCELONETA         PR           00617‐2712
   161484 FARMACIA SAN MIGUEL         BOX 907                                                                                                                           HATILLO             PR           00659
   651949 FARMACIA SAN RAFAEL         851 CALLE LAFAYETTE                                                                                                               SAN JUAN            PR           00909
   651951 FARMACIA SANTA ANA          PO BOX 925                                                                                                                        PATILLAS            PR           00723
   651952 FARMACIA SERRANO            P O BOX 626                                                                                                                       MAYAGUEZ            PR           00681
   651953 FARMACIA SOLMARI            PO BOX 630                                                                                                                        CAMUY               PR           00627
          FARMACIA SONIA MUNOZ DE
   161485 TORO                        61 CALLE COMERCIO                                                                                                                 JUANA DIAZ          PR           00795
   651954 FARMACIA SUGGEILY           PO BOX 535                                                                                                                        GUANICA             PR           00653‐0535
   161486 FARMACIA TANON              AVE. NOGAL I ROYAL PALM                                                                                                           BAYAMON             PR           00956‐0000
   161487 FARMACIA TU FAMILIA CORP    P O BOX 6749                                                                                                                      CAGUAS              PR           00725
   161488 FARMACIA VARGAS             1000 AVE JESUS T PINEIRO                                                                                                          SAN JUAN            PR           00921

   161489 FARMACIA VILLA CARMEN                       URB VILLA CARMEN           AVE LUIS MUNOZ MARIN Q‐48                                                              CAGUAS              PR           00725
   651956 FARMACIA VILLALBA                           PO BOX 1542                                                                                                       VILLALBA            PR           00766
   651957 FARMACIA WATTO                              72 CALLE AUTONOMIA                                                                                                CANOVANAS           PR           00729
   651958 FARMACIA WILSONS                            URB LAS DELICIAS           934 AVE PONCE DE LEON                                                                  PONCE               PR           00728 3814
   161492 FARMACIAS ASTURIAS                          URB RIVER VIEW             BLOQ ZAL‐6 CALLE 36         AVE RAMON L RIVERA                                         BAYAMON             PR           00961
   651960 FARMACIAS BACO INC                          PO BOX 2271                                                                                                       MAYAGUEZ            PR           00681
   651961 FARMACIAS CARIBE                            P O BOX 1646                                                                                                      RIO GRANDE          PR           00745
   651962 FARMACIAS PUERTO RICO                       28 GARDEN HILL PLAZA                                                                                              GUAYNABO            PR           00966
   161494 FARO CONFERENCE                             102 LEMAY ST.                                                                                                     AGUADILLA           PR           00603
   831356 FARO Technologies, Inc.                     4790 SW Watson Ave.                                                                                               Beaverton           OR           97005

   651963 FARRAH A LILLY                              385 URB SABANERA           CAMINO DE LOS FLAMBOYANES                                                              CIDRA               PR           00739
          FARRAH M RODRIGUEZ DE LA
   161496 ROSA                                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   161497 FARRAH QUILES MASON                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   161498 FARRAH REICH SEMPRIT                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      654 AVE MU¥OZ RIVERA STE
   651964 FARRES OLIVER                               1837                                                                                                              SAN JUAN            PR           00918
   651965 FARYDE MAHMUD OCAMPO                        4TA EXT COUNTRY CLUB       956 CALLE BARBADOS                                                                     SAN JUAN            PR           00925
   161512 FARZAN MD, DAVID                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   651966 FAS AUDIO                                   BO BAJURAS                 CARR 103 KM 4 0                                                                        CABO ROJO           PR           00623



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  651967 FASCIMILE PAPER CONECTION       PO BOX 363122                                                                                                                     SAN JUAN            PR           00936
  161526 FASE III ARQUITECTURA CSP       URB LOMAS DE CAROLINA                        D‐15 CALLE YUNQUESITO                                                                CAROLINA            PR           00987
  651968 FASHION DE P R                  PO BOX 4156                                                                                                                       BAYAMON             PR           00958‐1156
  651969 FASHION DE PUERTO RICO          P O BOX 607061                                                                                                                    BAYAMON             PR           00960‐7061
  161527 FASHION GROUP                   257 AVE BARBOSA                                                                                                                   HATO REY            PR           00917
         Fashion Group Inc DBA Executive
  831763 Uniforms                        257 Avenida Barbosa                                                                                                               San Juan            PR           00917

   651970 FASHION INSTITUTE TECNOLOGY 236 WEST 27TH ST                                                                                                                     NEW YOR             NY           10001

   161528 FASHIONISTA INC                              MONTEHIEDRA OFFICE CENTRE      9615 AVE LOS ROMEROS                                                                 SAN JUAN            PR           00926‐0000

   161529 FAST & HEALTHY FODDS CORP                    URB LA CUMBRE                  106 CALLE LAS VEGAS                                                                  SAN JUAN            PR           00926
   651971 FAST APPRAISAL SERVICES INC                  COUNTRY CLUB                   PD 3 CALLE 275                                                                       CAROLINA            PR           00982
   161531 FAST COFFEE LLC                              PO BOX 8830                                                                                                         CAROLINA            PR           00988
   161533 FAST CRUZ AMBULANCE                          PO BOX 1591                                                                                                         SABANA SECA         PR           00952

   161534 FAST CRUZ AMBULANCE CORP                     PO BOX 1591                                                                                                         SABANA SECA         PR           00952

  1256495 FAST CRUZ AMBULANCE, CORP                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   161535 FAST ENTERPRISES LLC                         800 PARK BLVD SUITE 720                                                                                             BOISE               ID           83712
          FAST FIX COMMUNICATION
   651972 CORP                                         VILLA NUEVA                    E53 CALLE 13                                                                         CAGUAS              PR           00725
   161536 FAST FOOD MANAGEMENT                         FIRST BANK BUILDING SUITE      507 1519 PONCE DE LEON                                                               SAN JUAN            PR           00909
   651973 FAST LANE BARCELONETA                        BOULEVARD SUITE 962                                                                                                 BARCELONETA         PR           00617
   161537 FAST LANE FRACHISING INC.                    EDIFICIO FAST LANE             2501 CARR 177                                                                        GUAYNABO            PR           00969 5120
   651974 FAST LOCK                                    LOMAS DE CAROLINA              B 11 CALLE LOS PICACHOS                                                              CAROLINA            PR           00987

   651975 FAST LUBE DE TEXACO                          639 AVE SANTA TERESA JOURNET                                                                                        MAYAGUEZ            PR           00680
          FAST OFFICE & COMPUTER
   161539 SUPPLY, INC                                  CALLE AGUADILLA                #24                                                                                  HATO REY            PR           00917‐0000
          FAST OFFICE & COMPUTERS
   161540 SUPPLY INC.                                  24 CALLE AGUADILLA                                                                                                  SAN JUAN            PR           00917
          FAST OFFICE + COMPUTER
   161541 SUPPLIER                                     24 CALLE AGUADILLA                                                                                                  HATO REY            PR           00917
          FAST OFFICE + COMPUTER
   161542 SUPPLY                                       24 CALLE AGUADILLA                                                                                                  HATO REY            PR           00917
          FAST OFFICE AND COMPUTER
   161543 SUPPLY INC                                   24 CALLE AGUADILLA                                                                                                  SAN JUAN            PR           00917
          FAST OFFICE COMPUTER SUPPLY
   161544 INC                                          CALLE AGUADILLA 24                                                                                                  SAN JUAN            PR           00917
   651976 FAST OIL CORO                                HC 1 BOX 6643                                                                                                       GUAYANILLA          PR           00656
   651978 FAST PRINTING                                P O BOX 889                                                                                                         SAN SEBASTIAN       PR           00685
   161545 FAST PRO INTERNATIONAL                       PO BOX 250                                                                                                          BAYAMON             PR           00960‐0250
   651979 FAST SECURE SERVICE                          PO BOX 141073                                                                                                       ARECIBO             PR           00614
   161546 FAST SINGS                                   CARR #2 7.2                    BLDG#136                                                                             GUAYNABO            PR           00966
   161547 FAST STEEL                                   PO BOX 360827                                                                                                       SAN JUAN            PR           00936‐0827
                                                                                      AVE MAZZANISE 2 PUERTA
   651980 FAST TRACK S E                               306 PONCE DE LEON              TIERRA                                                                               SAN JUAN            PR           00901
   651981 FAST TRANSPORTATION INC.                     P O BOX 4430                                                                                                        CAROLINA            PR           00984
   161549 FAST V LLC                                   PTA LAS MARIAS                 21 FORTE                                                                             SAN JUAN            PR           00913‐4711
   651982 FAST.COPY CENTER INC.                        CAPARRA HEIGHTS STA.           PO BOX 11985                                                                         SAN JUAN            PR           00922
   651983 FASTEN PAK CORPORATION                       PO BOX 788                                                                                                          BAYAMON             PR           00960



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  161550 FASTENAL COMPANY                             2001 THEURER BLVD                                                                                                        WINONA              MN         55987
  651984 FASTMEDIA SUPPLY                             URB TOWN PARK                  F 24 CALLE SANTIAM                                                                        SAN JUAN            PR         00924

   651985 FASTRACK RECORDING STUDIO                   COUNTRY CLUB                   1100 CALLE CARMEN BUSELLO                                                                 SAN JUAN            PR         00924
   161553 FASTSIGNS                                   CARR # 2 KM 7.2                BLDG # 136                                                                                GUAYNABO            PR         00966
   161554 FASTVUE INC                                 5701 LONETREE BLVd             SUITE 220/221 J                                                                           ROCKLIN             CA         95765

   651986 FASYO REPORTERS                             1606 PONCE DE LEON SUITE 503                                                                                             SAN JUAN            PR         00909

   161556 FATIMA FARHAN RODRIGUEZ                     URB VILLA DEL CAFETAL II       K‐26 CALLE ANDRES SANTIAGO                                                                YAUCO               PR         00698
   651988 FATIMA FLAGGER PEREZ                        URB EL NARANJAL                B 1 CALLE 1                                                                               TOA BAJA            PR         00949
   161557 FATIMA MARTINEZ TORO                        REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED       REDACTED
   161558 FATIMA MARTINEZ TORRES                      REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED       REDACTED
   651991 FATIMA ROMERO NUDRANO                       URB VILLA CAROLINA             7 202 CALLE 533                                                                           CAROLINA            PR         00985

   651992 FATIMA S PEREZ AGRAMONTE                    LEVITTOWN URB EL NARANJAL      B 1 CALLE                                                                                 TOA BAJA            PR         00949
   161559 FATIMA SANTINI                              REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED       REDACTED
   161560 FATIMAH FEHMI IBRAHIM                       REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED       REDACTED
   161561 FATOH ASAD JOSEF                            REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED       REDACTED
   161562 FATZINGER CONSULTING INC                    35 WALKER TERRACE NE                                                                                                     ATLANTA             GA         30309
   161564 FAUDON MOVIES                               40 C ONE LINCOLN PLAZA                                                                                                   NEW YORK            NY         10023
   161569 FAURA CLAVELL MD, LUIS E                    REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED       REDACTED
          FAUSTINA BETANCOURT DE
   651993 LOZANO                                      URB REP METROPOLITANO          1166 CALLE 52 SE                                                                          SAN JUAN            PR         00921
   651994 FAUSTINA ROMERO BORGES                      URB VALLE ARRIBA HEIGHTS       E 2 CALLE CAOBA                                                                           CAROLINA            PR         00983
   651996 FAUSTINA SANTOS RUIZ                        SAINT JUST                     120 CALLE 2                                                                               TRUJILLO ALTO       PR         00976
   161574 FAUSTINO A RIVERA RIVERA                    REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED       REDACTED
   161575 FAUSTINO ALICEA MONGE                       REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED       REDACTED
          FAUSTINO ANDRADES
   161577 PORTALATIN                                  REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED       REDACTED
   651999 FAUSTINO APONTE PARES                       APARTADO 22                    51 CALLE FONT MARTELO                                                                     HUMACAO             PR         00792
   652000 FAUSTINO AULET MERCADO                      278 CALLE PESANTE                                                                                                        SAN JUAN            PR         00912
   161578 FAUSTINO AYALA DIAZ                         REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED       REDACTED
   652002 FAUSTINO DE JESUS BURGOS                    HC 01 BOX 3837                                                                                                           VILLALBA            PR         00766
   161579 FAUSTINO DE JESUS CASTILLO                  REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED       REDACTED
   161580 FAUSTINO DEL VALLE VEGA                     REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED       REDACTED

   161582 FAUSTINO DELGADO CAMACHO REDACTED                                          REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED       REDACTED

   652005 FAUSTINO ESPINOSA LABRADOR                  URB PUERTO NUEVO               1118 CALLE 8 SE                                                                           SAN JUAN            PR         00921
          FAUSTINO FERNANDEZ
   652006 MENENDEZ                                    URB TORRIMAR                   6 10 AVE RAMIREZ DE ARELLANO                                                              GUAYNABO            PR         00966‐3142
   652007 FAUSTINO GOMEZ PEREZ                        P O BOX 428                                                                                                              LOIZA               PR         00772
   652008 FAUSTINO HERNANDEZ AYALA                    250‐195 CALLE UNION                                                                                                      FAJARDO             PR         00738
   161583 FAUSTINO LOPEZ                              REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED       REDACTED
   161584 FAUSTINO LOPEZ MATOS                        REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED       REDACTED
   652009 FAUSTINO M DEL VALLE                        P O BOX 2632                                                                                                             MOCA                PR         00676
   652011 FAUSTINO OJEDA DELGADO                      HC 1 BOX 4203                                                                                                            NAGUABO             PR         00718
   161585 FAUSTINO ORTEGA ESPINELL                    REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED       REDACTED
   652012 FAUSTINO ORTIZ DELGADO                      URB APRIL GARDENS              E 10 CALLE 3                                                                              LAS PIEDRAS         PR         00771
   161586 FAUSTINO OTERO MONTES                       REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED       REDACTED

   161587 FAUSTINO POMALES POMALES                    REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED       REDACTED



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  161588 FAUSTINO RIVERA LOPEZ                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  161589 FAUSTINO RIVERA NEGRON                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  652014 FAUSTINO ROSARIO                             URB BUEN CONSEJO             1203 CALLE ASENJO                                                                  SAN JUAN             PR         00928
  652015 FAUSTINO ROSARIO REYES                       BO TORTUGO                   BZN RR 3505                                                                        SAN JUAN             PR         00926
  161590 FAUSTINO RUIZ RODRIGUEZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  652017 FAUSTINO SUSTACHE TIRADO                     HC 1 BOX 4184                                                                                                   YABUCOA              PR         00767
  161591 FAUSTINO TORRES DELGADO                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  161592 FAUSTINO TOSADO MEDINA                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  652018 FAUSTINO VIERA SANCHEZ                       HC 5 BOX 61396                                                                                                  CAGUAS               PR         00725
  161593 FAUSTO A. ARROYO IRIZARRY                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   652021 FAUSTO ALLENDE TIRADO                       E 22 URB FLAMBOYAN GARDENS                                                                                      MAYAGUEZ             PR         00680
   652022 FAUSTO BERMUDEZ ORTIZ                       HC 01 BOX 2070                                                                                                  MAUNABO              PR         00707

   161594 FAUSTO BORIA CARCANO, MD                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   161595 FAUSTO CARRASQUILLO DIAZ                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   652023 FAUSTO F CABRERA FELIPE                     608 CALLE MAYOR                                                                                                 SAN JUAN             PR         00909
   652024 FAUSTO J VERGES TORRES                      URB VILLA CAROLINA           214 13 CALLE 506                                                                   CAROLINA             PR         00985
   652025 FAUSTO JOSE RAMOS RUIZ                      RES DR PILA                  11 APT 171                                                                         PONCE                PR         00731
   161596 FAUSTO MARRERO BONILLA                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   652026 FAUSTO MOLINA                               257 ALTOS CALLE DE LA CRUZ                                                                                      SAN JUAN             PR         00902
   652027 FAUSTO MONTES AMARO                         1466 CALLE HUMACAO           PDA 20                                                                             SAN JUAN             PR         00909
   161597 FAUSTO N ABREU PENA                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   652028 FAUSTO PAGAN HERNANDEZ                      HC 2 BOX 1251                                                                                                   AGUAS BUENAS         PR         00703‐9601
   161598 FAUSTO R ESPAILLAT HENRY                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   652029 FAUSTO R MATOS VARGAS                       PO BOX 2832                                                                                                     GUAYNABO             PR         00970
   652030 FAUSTO R. BORIA CARCANO                     PO BOX 249                                                                                                      CAGUAS               PR         00726
   652031 FAUSTO RAMOS QUIROS                         P O BOX 192058                                                                                                  SAN JUAN             PR         00919‐2058
   161600 FAUSTO ROLDAN GARCIA                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   161601 FAUSTO SANCHEZ BODERO                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   652032 FAUSTO SANTIAGO                             PO BOX 1565                                                                                                     MAYAGUEZ             PR         00681
          FAUSTO SANTIAGO Y GLADYS
   161603 SANTIAGO                                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   652033 FAUSTO SANTINI BURGOS                       BOX 891                                                                                                         AIBONITO             PR         00705
   652034 FAUSTO VELEZ GONZALEZ                       BO SALTO ABAJO               PO BOX 1221                                                                        UTUADO               PR         00641
   652035 FAUTINO MARTINEZ RIVERA                     PO BOX 46622                                                                                                    VEGA BAJA            PR         00693
   652037 FAUZI NOFAL SERRANO                         QUINTAS DE FLAMINGO          A 1 CALLE 1                                                                        BAYAMON              PR         00957
   161607 FAVELA PRODUCTION LLC                       2167 GENERAL DEL VALLE                                                                                          SAN JUAN             PR         00913
   161608 FAVIAN HERNANDEZ VEGA                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   161609 FAVIAN SANTOS FLORES                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   161610 FAVIO G RAMOS BAEZ                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   161611 FAVIO LAUREANO LORA                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   161612 FAVIO T. RODRIGUEZ VELAZQUEZ REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                                                   100 MARGINAL MARTINEZ
   652038 FAVIOLA L MATOS                             COND GRANOLA PARK APT 309    NADAL                                                                              GUAYNABO             PR         00969‐0000
   161613 FAVIOLA LEON TORRES                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   652039 FAVIOLA MARTINEZ SANCHEZ                    HC 04 BOX 22148                                                                                                 LAJAS                PR         00667‐9506

   161614 FAVIOLA MELENDEZ RODRIGUEZ REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   161615 FAVIOLA VEGA DELGADO       REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   652040 FAVSEH NAIM HAMED          BERWIND ESTATES                               A7 CALLE 2                                                                         SAN JUAN             PR         00924
   161617 FAWZI T. MOHAMMAD          REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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 1419683 FAYEK SALE, JURIEH                           LUIS A. BURGOS RIVERA        APARTADO 2464                                                                            GUAYAMA            PR           00785
  161621 FAYETTEVILLE NEUROLOGY                       1766 METROMEDICAL DR                                                                                                  FAYETTEVILLE       NC           28304‐3861

   161622 FAZAA CORP                                  PMB 434 CALLE ENSENADA 366                                                                                            SAN JUAN           PR           00920‐3526
          FAZAA CORP / FAZAA FOOD
   161623 SERVICE                                     PO BOX 8690                  FERNANDEZ JUNCOS ST                                                                      SAN JUAN           PR           00910
   161624 FAZAA CORPORATION                           AREA DEL TESORO              DIVISION DE RECLAMACIONES                                                                SAN JUAN           PR           00902‐4140
   161628 FAZAA FOOD SERVICE                          PO BOX 8690                  FERNANDEZ JUNCOS STATION                                                                 SAN JUAN           PR           00910
   161630 FAZAA FOOD SERVICES                         PO BOX 8690                                                                                                           SAN JUAN           PR           00910
          FB MANAGEMENT HOTEL
   652041 RAMADA                                      1045 AVE ASHFORD                                                                                                      SAN JUAN           PR           00907
          FB MECHANICAL CONTRACTORS
   652042 INC                                         URB ALTO APOLO               82 CALLE ADONIS                                                                          GUAYNABO           PR           00969
   161631 FBI COMUNICACIONES                          P O BOX 194388                                                                                                        SAN JUAN           PR           00919‐4388
          FC BUSINESS CONSTRUCTION
   652043 D/B/A                                       P O BOX 10007                                                                                                         GUAYAMA            PR           00785
          FCB WORLDWIDE PUERTO RICO
   652044 INC                                         PO BOX 2123                                                                                                           SAN JUAN           PR           00922‐2123
   161634 FCM PRODUCTS INC                            13727 SW 152ND ST # 127                                                                                               MIAMI              FL           33177
          FCO PLANELL DOSAL MD,
   161635 CARLOS                                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   652045 FCT ENVIRONMENTAL VACUUM P O BOX 9023126                                                                                                                          SAN JUAN           PR           00902‐3126
          FCW GOVERNMENT
   652046 TECHNOLOGY GROUP         PRICE LAMPERT ASSOCIATES                        500 OLD CONNECTICUT PATH                                                                 FRAMINGHAM         MA           01701‐9375

   161636 FDA DENTAL PLAN FUND                        PLAZA LAS AMERICAS TOWERS    F D ROOSEVELT AVE STE 525                                                                SAN JUAN           PR           00918
          FDDS MANAGEMENT &                                                        15 200 CUPEY GARDENS AVE
   161638 ENGINEERING PSC                             PLAZA CUPEY GARDENS          SUITE 10 E                                                                               SAN JUAN           PR           00926
   652047 FDI CORP                                    PO BOX 15                                                                                                             AGUIRRE            PR           00704
   161639 FDIC RCVR 10229 EUROBANK                    AREA DE TESORO               DIVISION DE RECLAMACIONES                                                                SAN JUAN           PR           00902‐4140
          FDIC RCVR 10230 RG PREMIER
   161644 BANK                                        280 AVE JESUS T. PI¨EIRO                                                                                              SAN JUAN           PR           00918
          FDIC RCVR 10231 WESTERN
   161649 BANK P R                                    BACU MAIL STOP 17.1          PO BOX 971774                                                                            DALLAS             TX           75397‐1774

   161652 FDIC RCVR 10513 DORAL BANK                  1451 AVE FD ROOSEVELT                                                                                                 SAN JUAN           PR           00920

   652049 FE CARRASQUILLO DE MONTES                   VILLAS DE RIO GRANDE         P1 CALLE 8                                                                               RIO GRANDE         PR           00745

   652050 FE CEPEDA GAUTIER                           BO CIENAGA ALTA              CARR 959 SEC CORIANO CEPEDA                                                              RIO GRANDE         PR           00745
   652052 FE E FANTAUZZI ACEVEDO                      BOX 320                                                                                                               AGUADILLA          PR           00605
   652053 FE EMILIA ORTIZ LOPEZ                       PO BOX 4079                                                                                                           PUERTO REAL        PR           00740
   161658 FE EUNICE RAMOS DE ARMAS                    COND VISTA VERDE             150 B CARR 849                                                                           SAN JUAN           PR           00924
   652054 FE FE COPIAS                                A 3 AVE BARCELO                                                                                                       CAYEY              PR           00736
   652057 FE MILAGROS MORENO CORA                     SAINT JUST                   K3 A5 CALLE PRINCIPAL                                                                    CAROLINA           PR           00985

   652058 FE MILAGROS RIVERA MELENDEZ 3 C 7 ROMANY PARK                                                                                                                     SAN JUAN           PR           00926
   161659 FE POL, IRMA                REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   652059 FE R. TORRES DE LEON        SICOSOCIAL TRUJILLO ALTO                                                                                                              Hato Rey           PR           009360000
   652060 FE RI CONSTRUCTION INC      PO BOX 363136                                                                                                                         SAN JUAN           PR           00936‐0136
   161662 FEBALDO GUTIERREZ ZAYAS     REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   652063 FEBCO PAINT CENTER          PD 7 AVE CAMPO RICO                                                                                                                   CAROLINA           PR           00982



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  652064 FEBE LANTIAGA PEREZ                          BO CAPETILLO                262 CALLE 8                                                                              SAN JUAN            PR         00924
  652065 FEBIS MORALES RIVERA                         URB MELENDEZ                29 CALLE F                                                                               FAJARDO             PR         00738
  161686 FEBLES GONZALEZ, JOSUE                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   161690 FEBLES GUTIERREZ MD, VIDAL A REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FEBLES VALENTIN MD,
   161744 CELESTINA                    REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   161800 FEBO REYES MD, HORIDEL G     REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   161904 FEBRES GONZALEZ, EVELYN      REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FEBRES REFRIGERATION AND AIR
   161955 CONDITION                    HC 03 BOX 7842                                                                                                                      CANOVANAS           PR         00729‐0000
                                                                                  SIMONET SIERRA LAW OFFICE     SUITE 1120 #101 AVE. SAN
  1423046 FEBUS GARCIA, CRUZ E.                       PEDRO J. SANTANA GONZÁLEZ   MIRAMAR PLAZA                 PATRICIO                                                   GUAYNABO            PR         00968
          FED ARBITROS BALONCESTO PR
   652066 CAP CAGUAS                                  JARDINES DE CAGUAS          EDIF 27 CALLE A APT 2                                                                    CAGUAS              PR         00725
          FED ATLETISMO NACIONAL
   652067 ADAPTADA PR INC                             VILLA CAROLINA              108‐13 CALLE INOCENCIO CRUZ                                                              CAROLINA            PR         00985
          FED CANOA Y KAYAK DE PR C/O
   652068 VICTOR RUIZ                                 PO BOX 9065175                                                                                                       SAN JUAN            PR         00906‐5175
          FED CENTRAL TRAB CAP
   162152 HACIENDA                                    DEPARTAMENTO DE HACIENDA    EDIFICIO INTENDENTE RAMIREZ                                                              SAN JUAN            PR         00902
          FED DE MONTANISTAS P R /
   162154 FRANKLIN MORENO                             HC 02 BOX 7503                                                                                                       CAMUY               PR         00627
          FED DE MOTOCICLISMO DE P R
   652069 INC                                         PO BOX 112                                                                                                           SAN SEBASTIAN       PR         00685

   652070 FED DE TAIKWANDO DE PR INC                  VILLA CAROLINA              18 BLQ 208 CALLE S 10                                                                    CAROLINA            PR         00983
          FED DE TIRO ARMAS CORTAS Y
   652071 RIFLES DE P R                               PO BOX 9020008                                                                                                       SAN JUAN            PR         00902‐0008
          FED DE TRABAJADORES DE LA
   652072 CONST DE PR                                 P O BOX 8999                                                                                                         CAGUAS              PR         00726 8999
          FED DEL DEPORTE DE CABALLO
   162155 PASO FINO P R                               PMB 1736                    243 CALLE PARIS                                                                          SAN JUAN            PR         00917‐3632
          FED NACIONAL BALONCESTO
   652073 AMATEUR                                     HC 02 BOX 13999                                                                                                      GURABO              PR         00778‐9617
          FED NACIONAL BALONCESTO EN
   162156 SILLA RUEDAS                                P O BOX 12153                                                                                                        SAN JUAN            PR         00914‐2153
          FED NACIONAL DE DOMINO
   162157 PUERTO RICO INC                             HC 33 BOX 4466                                                                                                       DORADO              PR         00646
          FED OF NAT PHYSICIANS LIC
   652074 AUTHORITIES                                 75 5759 KUAKINI HWY         SUITE 202                                                                                KAILUA KONA         HI         96740
          FED OPERADORES MAQ
   652075 ENTRETENIMIENTO                             753 CALLE HIPODROMO                                                                                                  SAN JUAN            PR         00926
   652076 FED PLASTIC SURGERY                         3959 BROADWAY 1109 N                                                                                                 NEW YORK            NY         10032
          FED PNA DE JUDO JORGE L
   162158 NEGRON                                      P O BOX 8                                                                                                            SAN JUAN            PR         00902

   162159 FED PUERT POLICIA Y TEC SEG EDIFICIO INTENDENTE RAMIREZ                 DEPARTAMENTO DE HACIENDA                                                                 SAN JUAN            PR         00901
          FED PUERTORRIQUENA DE TENIS
   162160 DE MESA                     AREA DE TESORO                              DIVISION DE RECLAMACIONES                                                                SAN JUAN            PR         00902‐4140
   162163 FED. PUERT POLICIA TEC SEG  PO BOX 190684                                                                                                                        SAN JUAN            PR         00919‐0684
          FED.ASOCIACION PECUARIOS DE
   652077 PR                          PO BOX 2635                                                                                                                          MAYAGUEZ            PR         00681



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  162165 FEDEA PRANDY GALVEZ            HC 2 BOX 4503                                                                                                      SABANA HOYOS      PR           00668
  162166 FEDELTA INSURANCE CORP         PO BOX 195562                                                                                                      SAN JUAN          PR           00919‐5562
         FEDERACION AGRICULTORES DE
  652078 PR                             PO BOX 9191                                                                                                        SAN JUAN          PR           00908
         FEDERACION ATLETISMO
  652079 AFICIONADO PR                  PO BOX 3464                                                                                                        SAN JUAN          PR           00902‐3464
         FEDERACION BOXEO
  652080 AFICIONADO DE PR INC           PO BOX 19711                                                                                                       SAN JUAN          PR           00910
         FEDERACION CENTRAL DE
  652081 TRABAJADORES                   CAPITULO DE HACIENDA                   CAPARRA HEIGHTS STA         P O BOX 11542                                   SAN JUAN          PR           00922 1542
         FEDERACION CENTRAL DE                                                 SUITE 112‐225 100 GRAN
 1419684 TRABAJADORES                   PEDRO ROLDÁN CARRASQUILLO              BULEVAR PASEOS                                                              SAN JUAN          PR           00926‐5955
         Federación Central de
  162168 Trabajadores (FCT)             Acevedo Zambrana, Luisa                PO Box 11542                Caparra Heights Station                         San Juan          PR           00922‐1542
         Federación Central de
         Trabajadores (FCT)‐Comisión
  162170 Industrial de PR               AVENIDA BETANCES, #91,                 EXTENSIÓN HERMANAS DÁVILA                                                   BAYAMON           PR           00959
         Federación Central de
         Trabajadores (FCT)‐Compañía de
  162171 Turismo de PR                  Lloret, Andrés                         Urb. Hermanas Dávila        91 Ave. Betancez                                Bayamón           PR           00957
         FEDERACION DE AJEDREZ DE PR
  162172 INC                            PO BOX 9023182                                                                                                     SAN JUAN          PR           00902‐3182

  1419685 FEDERACION DE ALCALDES DE PR LUIS A. ORTIZ CARRASQUILLO              PO BOX 458                                                                  YABUCOA           PR           00767‐0458
          FEDERACION DE ALZHEIMER DE P
   652082 R INC                        PO BOX 71325 SUITE 236                                                                                              SAN JUAN          PR           00936
   652083 FEDERACION DE ARBIRTIOS      PO BOX 22265                                                                                                        SAN JUAN          PR           00931‐2265
          FEDERACION DE ARBITRIOS DE P
   652086 R                            URB LIRIOS DEL SUR                      G 41 CALLE GAVIAR                                                           PONCE             PR           00716
          FEDERACION DE ARBITROS
   162202 BALONCESTO                   CAPITULO DE CAGUAS                      P.O. BOX 4952               SUITE 292                                       CAGUAS            PR           00726‐4952
          FEDERACION DE ARBITROS
   162203 BALONCESTO DE PR             CAPITULO DE PONCE                       PO BOX 7828                                                                 PONCE             PR           00732

   652087 FEDERACION DE ARBITROS DE PR UPR STATION                             PO BOX 22265                                                                SAN JUAN          PR           00931‐3261
          FEDERACION DE ATLETISMO
   652088 AFICIONADO DE PR             PO BOX 3464                                                                                                         SAN JUAN          PR           00902‐3464
          FEDERACION DE BALONCESTO DE
   162204 PR                           JARDINES DE CAPARRAS                    3 AVE RUIZ SOLER                                                            BAYAMON           PR           00959

          FEDERACION DE BALONCESTO
   162206 SUPERIOR DE PR                               JARDINES DE CAPARRAS    3 AVE RUIZ SOLER                                                            BAYAMON           PR           00959
          FEDERACION DE BALONMANO
   652090 DE PR                                        1056 CALLE FERROCARIL                                                                               SAN JUAN          PR           00925
          FEDERACION DE BEISBOL
   652091 AFICIONADO DE P R                            PO BOX 191897                                                                                       SAN JUAN          PR           00919‐1897
          Federación de Camioneros de
   162211 Guaynabo                                     Machuca, Isaías         PO Box 3518                                                                 Guaynabo          PR           00970

   652092 FEDERACION DE CICLISMO DE PR PO BOX 194674                                                                                                       SAN JUAN          PR           00919
          FEDERACION DE CICLISMO DE PR
   162212 INC                          PO BOX 194674                                                                                                       SAN JUAN          PR           00919‐4674




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          FEDERACION DE CUICA DE
   652093 MAYAGUEZ INC                   URB MAYAGUEZ TERRACE              6012 RAFAEL MARTINEZ TORRES                                                   MAYAGUEZ            PR           00682‐6625
          FEDERACION DE DOMINO DE PR
   162214 INC                            HC 02 BOX 16520                                                                                                 ARECIBO             PR           00612‐9042
          Federación de Empleados
          Gerenciales de la ASEM (Centro
   162215 Médico)                        Cortés Fernández, Angel R.        RR 5 Box 8729                 Sector Los Acevedos                             Bayamón             PR           00956

          Federación de Empleados
          Gerenciales y Profesionales del
   162216 Fondo del Seguro del Estado                  Marrero, Awilda     Urb. El Cerezal               1701 Calle Orinoco                              San Juan            PR           00926

   652094 FEDERACION DE ESGRIMA DE P R PO BOX 30200                        65 INF STATION                                                                SAN JUAN            PR           00929
          FEDERACION DE
   162217 FISICOCULTURISMO Y FITNESS   PO BOX 4424                                                                                                       CAROLINA            PR           00784
          FEDERACION DE FUTVOLEIBOL
   652095 DE PR                        JARDINES DE COUNTRY CLUB            L 3 CALLE 19                                                                  CAROLINA            PR           00983
          FEDERACION DE KITBALL
   652096 AFICIONADOS PR               ALTURA DE MONTE BRISAS              B 8 CALLE 4                                                                   FAJARDO             PR           00738
          FEDERACION DE
   652097 LEVANTAMIENTO DE PESAS       PO BOX 9020008                                                                                                    SAN JUAN            PR           00902‐0008
          FEDERACION DE LUCHAS ASOC
   162198 DE PR INC                    URB CAPARRA TERRACE                 1530 CALLE 30 SO                                                              SAN JUAN            PR           00921
   652098 FEDERACION DE MAESTROS       URB EL CARIBE                       1572 AVE PONCE DE LEON                                                        SAN JUAN            PR           00926‐2710
          FEDERACION DE MAESTROS DE EDIFICIO PLAN DE SALUD DE LA
   162218 PR                           FMPR CALLE NAVARRO #6                                                                                             HATO REY            PR           00918
          Federación de Maestros de
   770593 Puerto Rico                  Martínez Padilla, Mercedes          Urb El Caribe                 1572 Ave Ponce de León                          San Juan            PR           00926‐2710
          FEDERACION DE MUNICIPIOS DE
   162219 PR                           CAPITAL CENTER BUILDING             PO BOX 805                                                                    SAN JUAN            PR           00918‐0805
          Federación de Oficiales de
   162220 Custodia de PR               Vega, Adalberto                     Edif La Electrónica Ste 326   1608 Calle Bori                                 San Juan            PR           00927
          FEDERACION DE POWERLIFTINEZ
   162221 DE PR INC                    PO BOX 3485                                                                                                       MAYAGUEZ            PR           00681
          FEDERACION DE POWERLIFTING
   652099 DE P R INC                   LAS VILLAS                          142 RAMEY CALLE PARK                                                          AGUADILLA           PR           00603

   162222 FEDERACION DE REMO DE PR INC VILLAS DE CUPEY                     C7 ZENOBIA                                                                    SAN JUAN            PR           00926
          FEDERACION DE SALVAVIDAS DE
   162223 PUERTO RICO                  PO BOX 55336 STA 1                                                                                                BAYAMON             PR           00960
          FEDERACION DE SOFTBOL DE P R
   162224 INC                          PMB 116                             PO BOX 7891                                                                   GUAYNABO            PR           00970‐7891

   652100 FEDERACION DE SURFING DE PR PO BOX 9023207                                                                                                     SAN JUAN            PR           00902‐3207

          FEDERACION DE TAEKWONDO
   162225 DE PUERTO RICO                   PMB 294                         PO BOX 607061                                                                 BAYAMON             PR           00960
          FEDERACION DE TIRO CON ARCO
   652102 DE P R                           P O BOX 4372                                                                                                  SAN JUAN            PR           00919
          Federación de Trabajadores de la
   162226 Empresa Privada‐CUTE             Villalba Rodríguez, Víctor M.   Urb Puerto Nuevo              1214 Calle Cádiz                                San Juan            PR           00920
          Federación de Trabajadores de
   162227 Puerto Rico (FTPR)               Rodríguez Baéz, José M.         PO Box 16989                                                                  San Juan            PR           00910‐1689



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   162229 FEDERACION DE VELA DE P R INC B 28 URB LA COLINA                                                                                       GUAYNABO            PR           00969
   652103 FEDERACION DEL MAESTROS       PO BOX 71336                                                                                             SAN JUAN            PR           00936
          FEDERACION DEL TRABAJO DE P
   652104 R                             REPARTO METROPOLITANO              1000 CALLE 42 SE                                                      SAN JUAN            PR           00921
          FEDERACION DEPORTE
   652105 ESCUESTRE                     GPO BOX 363206                                                                                           SAN JUAN            PR           00936‐3206

   162230 FEDERACION DIRECTOR LOCALES AREA DEL TESORO                      PAGADURIA                                                             SAN JUAN            PR           00902
          Federación Laborista Recinto de
   162232 Mayaguez                        Echevarria Moreno, Daniel        Bo Miradero           804 Carr 108                                    Mayagüez            PR           00680
          FEDERACION LEGISLADORES
   162233 MUNICIPALES PR                  P O BOX 367123                                                                                         SAN JUAN            PR           00936‐7123
          FEDERACION MUN DE ASOC
   652108 DEPORTES GUAYNABO               P O BOX 2021                                                                                           GUAYNABO            PR           00970
          FEDERACION MUNDIAL DE ORG
   652109 DE INGENIERIA                   PO BOX 362047                                                                                          SAN JUAN            PR           00936‐2047
          FEDERACION OLIMPICA DE
   652110 ESGRIMA DE PR INC               P O BOX 30200                                                                                          SAN JUAN            PR           00926
          FEDERACION PROTECTORA DE
   652111 ANIMALES INC                    PO BOX 6762                                                                                            MAYAGUEZ            PR           00681‐6762
          FEDERACION PTORRIQUENA
   162234 CLUB Y NEG PROF                 P O BOX 194643                                                                                         SAN JUAN            PR           00919‐4643
          FEDERACION PTORRIQUENA
   162235 DEPORTE ECUESTE                 PO BOX 363206                                                                                          SAN JUAN            PR           00902
          FEDERACION PUERT DE KARATE Y MARCIALES AFINES FEPUKA
   162236 ARTES                           CORP                             PO BOX 1844                                                           AIBONITO            PR           00705

          FEDERACION PUERTORIQUENA
   162237 DE JUDO INC                                 PO BOX 9020008                                                                             SAN JUAN            PR           00902‐0008

          FEDERACION PUERTORIQUENA
   162239 DE NATACION INC                             PO BOX 361249                                                                              SAN JUAN            PR           00936‐1249

          FEDERACION PUERTORRIQUENA
   162240 BADMINTON INC             SAN GERARDO                            1738 DALLAS                                                           SAN JUAN            PR           00926
          FEDERACION PUERTORRIQUENA
   162241 DE                        DEPORTISTAS CIEGOS                     URB INTERAMERICANA    AN 1 CALLE 29                                   TRUJILLO ALTO       PR           00976

          FEDERACION PUERTORRIQUENA
   162242 DE BALONMANO              INC                                    PO BOX 138                                                            RIO GRANDE          PR           00745

          FEDERACION PUERTORRIQUENA
   162243 DE BOXEO INC              PO BOX 9020396                                                                                               SAN JUAN            PR           00902‐0396

          FEDERACION PUERTORRIQUENA
   162244 DE CANOTAJE IN            PO BOX 9020008                                                                                               SAN JUAN            PR           00902‐0008

          FEDERACION PUERTORRIQUENA
   162245 DE FUTBOL                 P O BOX 360556                                                                                               SAN JUAN            PR           00936‐0556

          FEDERACION PUERTORRIQUENA
   162250 DE HOCKEY                 418 CALLE SUIZA APT 203                                                                                      SAN JUAN            PR           00917‐3621



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          FEDERACION PUERTORRIQUENA
   162251 DE JUDO                   PO BOX 9020008                                                                                                              SAN JUAN            PR           00902‐0008

          FEDERACION PUERTORRIQUENA
   162252 DE POLICIAS                  AREA DEL TESORO                              DIV DE RECLAMACIONES                                                        SAN JUAN            PR           00902
          Federación Puertorriqueña de
   162254 Policías (FPP)               Echevarría Hernández, Nelson                 PO Box 190684                                                               San Juan            PR           00936
          Federación Puertorriqueña de
   770594 Trabajadores (FPT)           Ufarry, Edward                               Urb Puerto Nuevo            516 Calle Dresde                                San Juan            PR           00920

          FEDERACION PUERTORRIQUENA
   162256 DE VOLEIBOL               PO BOX 363711                                                                                                               SAN JUAN            PR           00936‐3711

          FEDERACION PUERTORRIQUENA
   162258 DETRABAJADORES            PUERTO NUEVO                                    516 CALLE DRESDE                                                            SAN JUAN            PR           00920
          FEDERACION SERVIDORES
   162259 PUBLICOS                  PROFESIONALES DE PR INC                         PO BOX 11542                                                                SAN JUAN            PR           00922‐1542

   162260 FEDERACION TUJAN SPORT INC                  PO BOX 1154                                                                                               LAS PIEDRAS         PR           00771

   652112 FEDERAL ASSISTANCE MONITOR                  CD PUBLICATIONS               8204 FENTON ST                                                              SILVER SPRING       MD           20910
          FEDERAL AVIATION
   162261 ADMINISTRATION                              500 CARR 190                                                                                              CAROLINA            PR           00979
   652113 FEDERAL BAR ASSOCIATION                     2215 M STREET NW                                                                                          WASHINGTON          DC           20037
          FEDERAL BAR ASSOCIATION P R
   652114 CHAPTER                                     PO BOX 364225                                                                                             SAN JUAN            PR           00936‐4225

   652116 FEDERAL CLEANING SERVICE CO                 258 CALLE ELEONOR ROOSEVELT                                                                               SAN JUAN            PR           00918
          FEDERAL COMMUNICATIONS
  1259952 COMMISSION (FCC)                            PAI, AJIT                     445 12TH ST., SW                                                            WASHINGTON          DC           20554
          FEDERAL CORRECTIONAL
   162268 INSTITUTION FCI                             PO BOX 3933                                                                                               PENSACOLA           FL           32516
          FEDERAL DEPOSIT INSURANCE
   162269 CORPORATION                                 1601 BRYAN ST                                                                                             DALLAS              TX           75201
          FEDERAL EMERGENCY
  1259953 MANAGEMENT AGENCY                           FENTON, BOB                   500 C ST., SW                                                               WASHINGTON          DC           20472
          FEDERAL EMERGENCY
   162274 MANAGEMENT‐FEMA                             PO BOX 530217                                                                                             ATLANTA             GA           30353‐0217
   162276 FEDERAL EXPRESS                             AREA DEL TESORO               DIVISION DE RECLAMACIONES                                                   SAN JUAN            PR           00902‐4140
   652119 FEDERAL EXPRESS CORP                        PO BOX 371461                                                                                             PITTSBURGH          PA           15250‐7461
   162277 FEDERAL EXPRESS CORP.                       # 13773123‐1                  PO BOX 332                                                                  MEMPHIS             IN           38194‐4721

   652121 FEDERAL EXPRESS CORPORATION PO BOX 1140                                                                                                               MEMPHIS             TN           38101‐1140
   162278 FEDERAL FIRE SERVICES       7276 AVE AGUADILLA                                                                                                        ISABELA             PR           00662
          FEDERAL FLOOD HAZARD
   652124 RESEARCH OF P R             P O BOX 11599                                                                                                             SAN JUAN            PR           00922‐1599
          FEDERAL FUNDS INFORMATION
   652125 FOR STATES                  HALL OF STATE SUITE 642                       444 NORTH CAPITOL STREET                                                    WASHINGTON          DC           20000‐1151
   162279 FEDERAL INDUSTRIES INC      PMB 113                                       HC 1 BOX 29030                                                              CAGUAS              PR           00725‐8900
   652126 FEDERAL INSURANCE CO        PO BOX 191249                                                                                                             SAN JUAN            PR           00919‐1249
   652129 FEDERAL LAW ENFORCEMENT     TRAINING FINANCIAL                            OPERATIONS BUILDING 94                                                      BRUNSWICK           GA           31524
          FEDERAL LAW ENFORCEMENT
   162285 TRAINING CENTER             1131 CHAPEL CROSSING RD                                                                                                   GLYNCO              GA           31524



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          FEDERAL LAW ENFORCEMENT                     DEPARTMENT OF HOMELAND     1131 CHAPEL CROSSING RD
   162286 TRAINING CTER                               SECURITY                   FINANCE 66                                                                           GLYNCO               GA           31524
   652130 FEDERAL LOCK S                              URB PUERTO NUEVO           551 AVE DE DIEGO                                                                     SAN JUAN             PR           00920
   162287 FEDERAL MOGUL CORP                          1600 NORTHPARK                                                                                                  WESTON               FL           33326
          FEDERAL MOTOR CARRIER
   162288 SAFETY ADM                                  1200 NEW JERSEY AVE SE     WEST WING 6TJ FLOOR                                                                  WASHINGTON           DC           20590
   162290 FEDERAL PROBATION OFFICE                    FEDERAL BLDG               150 AVE CHARDON STE 400                                                              SAN JUAN             PR           00918‐1741

   162291 FEDERAL PROTECTIVE ADVISOR                  P O BOX 456                                                                                                     MERCEDITA            PR           00715
          FEDERAL TRANSIT
   652143 ADMINISTRATION                              PO BOX 360324                                                                                                   PITTSBURGH           PA           15251
   162292 FEDERAL TRAVEL REPORT                       8230 LESSBURG PIKE                                                                                              VIENA                VA           220182
   652144 FEDERATED INVESTORS                         FERNANDEZ JUNCOS STA       P O BOX 11855                                                                        SAN JUAN             PR           00910 4225
          FEDERATION OF PODIATRIC
   652145 MEDICAL BOARDS              P O BOX 880187                                                                                                                  BOCA RATON           FL           3348 0187
                                      7111 W. 151ST STREET, SUITE
   162296 FEDERATION OF STATE MASSAGE 356                                                                                                                             OVERLAND PARK        KS           66223
          FEDERATION OF STATE MEDICAL SUITE 300 400 FULLER WISER
   652146 BOARDS                      ROAD                                                                                                                            EULESS               TX           76039‐3855
          FEDERATION OF TAX
   162297 ADMINISTRATORS              444 N CAPITOL STREET                       NW STE 348                                                                           WASHINGTON           DC           20001
          FEDERATION OFSTATE BOARD
   652147 PHYSICALTHERAPY             509 WYTHE STREET                                                                                                                ALEXANDRIA           VA           22314
          FEDERICK BETANCOURT
   162298 RODRIGUEZ                   REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FEDERICK N SCHELLHORN
   162299 ROSARIO                     REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   652150 FEDERICO A CARDONA REYES    JARDINES DE RIO GRANDE                     AT 45 CALLE 38                                                                       RIO GRANDE           PR           00745
   652151 FEDERICO A CORDERO          PO BOX 1600                                                                                                                     JUNCOS               PR           00777
          FEDERICO A RIVERA Y LUIS A
   162300 RIVERA                      REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   652152 FEDERICO A SANTOS RAPOSO    3 REPARTO DE JESUS                                                                                                              CABO ROJO            PR           00623
   652153 FEDERICO AGUIRRE RIVERA     156 CALLE MAJAGUA                          PO BOX 6334                                                                          BAYAMON              PR           00960

   652154 FEDERICO ALBELO RODRIGUEZ                   VILLA CAROLINA             117 A 8 CALLE 73 B                                                                   CAROLINA             PR           00985
   652155 FEDERICO ALBERT COLON                       BO OBRERO                  622 CALLE WILLIAM                                                                    SAN JUAN             PR           00915
   162301 FEDERICO ARROYO VARGAS                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   162302 FEDERICO AYALA TORRES                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   652156 FEDERICO B GORDO GONZALEZ                   PO BOX 16871                                                                                                    SAN JUAN             PR           00908

   652157 FEDERICO BARREDA Y MONGE                    CAPARRA HEIGHTS            720 ELMER                                                                            SAN JUAN             PR           00920

   162303 FEDERICO BAUZO HERNANDEZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   162304 FEDERICO BORRERO QUINONES                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   162305 FEDERICO BRAVO SANTIAGO                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   652160 FEDERICO CABAN                              PO BOX 207                                                                                                      VEGA ALTA            PR           00692
   162306 FEDERICO CARDONA FIRPI                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   652161 FEDERICO CLAUDIO DIAZ                       HC 02 BOX 8506                                                                                                  YABUCOA              PR           00767

   652148 FEDERICO COLON BRACERO                      URB REPARTO METROPOLITANO 948 CALLE 25 SE                                                                       SAN JUAN             PR           00921
   652162 FEDERICO COLON GARCIA                       URB SAN MARTIN            82 CALLE B                                                                            PATILLAS             PR           00723



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  652163 FEDERICO COLON TORRES                        P O BOX 513                                                                                                  TRUJILLO ALTO      PR         00977
  162307 FEDERICO COLON ZAYAS                         REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   652164 FEDERICO COMAS MONTALVO                     PO BOX 44                                                                                                    MAYAGUEZ           PR         00681
   162308 FEDERICO CORREA LEON                        REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   652165 FEDERICO DEL MONTE GARRIDO                  URB RIACHUELO         34 CALLE CORRIENTES                                                                    TRUJILLO ALTO      PR         00976
   162309 FEDERICO DEL RIO VAZQUEZ                    REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   652166 FEDERICO DIAZ GONZALEZ                      HC 40 BOX 45603                                                                                              SAN LORENZO        PR         00754
   162310 FEDERICO DIAZ LAMBERTY                      REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          FEDERICO DOMINGUEZ
   652167 MENENDEZ                                    URB METROPOLIS        H 25 CALLE 12                                                                          CAROLINA           PR         00987

   652168 FEDERICO E ALBANDOZ                         EL COMANDANTE         927 CALLE CARMEN HERNANDEZ                                                             SAN JUAN           PR         00924
   162311 FEDERICO FUENTES MOLINA                     REDACTED              REDACTED                   REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          FEDERICO GARCIA BRAVO/ VIP
   162312 ENERGY                                      REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   652170 FEDERICO GERARDINO NIEVES                   URB METROPOLIS        A 16 CALLE 3                                                                           CAROLINA           PR         00987

   652171 FEDERICO GOMEZ BARRANTES                    P O BOX 10533                                                                                                SAN JUAN           PR         00922
                                                                            864 CALLE GARCILAZO DE LA
   652172 FEDERICO HERNANDEZ ARROYO URB EL COMANDANTE                       VEGA                                                                                   SAN JUAN           PR         00924

   162313 FEDERICO HERNANDEZ COLON                    REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   652174 FEDERICO HERNANDEZ DENTON 1469 TOSSA DEL MAR                                                                                                             SAN JUAN           PR         00907
          FEDERICO IRIZARRY ANDUJAR CALLE VALENCIA # 176
   162314 DBA BRUSH DIST            VISTAMAR                                                                                                                       CAROLINA           PR         00983‐0000

   162315 FEDERICO J BOLIVAR VILLAMIL                 REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   652175 FEDERICO J CERVONI RUIZ                     20 CALLE DELCASSE                                                                                            SAN JUAN           PR         00907

   162316 FEDERICO J GREGORY GONZALEZ REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   162317 FEDERICO J SANCHEZ ORTIZ    REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   652178 FEDERICO LOPEZ SANTIAGO     HC 1 BOX 5795                                                                                                                GUAYNABO           PR         00979‐9529
   162318 FEDERICO LOPEZ VILLAFANE    REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   652179 FEDERICO LUACES             PO BOX 270204                                                                                                                SAN JUAN           PR         00927‐0204
   652180 FEDERICO MAESTRE            160 AVE PONCE DE LEON                                                                                                        SAN JUAN           PR         00901
          FEDERICO MALDONADO
   162319 BARRETO                     REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          FEDERICO MALDONADO
   162320 ENCARNACION                 REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   162321 FEDERICO MARANGES           REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   652183 FEDERICO MARTINEZ CORTES    PO BOX 354                                                                                                                   LARES              PR         00669

   162322 FEDERICO MATHEU RODRIGUEZ                   REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          FEDERICO MORALES COLON
   652185 /JULITA VIDAL GIL                           URB BACO              51 CALLE 2                                                                             ENSENADA           PR         00647
   652186 FEDERICO MORALES JORDAN                     COND EL VERDE SUR     CALLE D A 2 APT 2 B                                                                    CAGUAS             PR         00725
   652187 FEDERICO NAZARIO MIRANDA                    RES YAGUEZ            EDIF 16 APT 157                                                                        MAYAGUEZ           PR         00680
   652188 FEDERICO NEDDERMANN                         P O BOX 11855                                                                                                SAN JUAN           PR         00910‐3855
   652189 FEDERICO ORTIZ CARTAGENA                    PO BOX 9                                                                                                     GUAYNABO           PR         00970



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  652190 FEDERICO PAGANI DREVON                       P O BOX 1086                                                                                                      LUQUILLO           PR         00773‐1086
  652191 FEDERICO PAGANI NOGUERAS                     URB COLLEGE PARK          1903 CALLE GLASGOW                                                                      SAN JUAN           PR         00921
  652192 FEDERICO PARRA                               URB BAHIA VISTAMAR        B 2 CALLE ATUN                                                                          CAROLINA           PR         00983
  162325 FEDERICO PELLOT                              REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  652193 FEDERICO PEREZ CARDONA                       PARCELAS NUEVAS ROMAN     338 CALLE 1                                                                             TRUJILLO ALTO      PR         001043
  652195 FEDERICO PEREZ RODRIGUEZ                     BO BAJADERO               P O BOX 399                                                                             ARECIBO            PR         00616
  162327 FEDERICO PEREZ SOTO                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   652196 FEDERICO PIZARRO SANTIAGO                   PO BOX 836                                                                                                        RIO GRANDE         PR         00745
   162328 FEDERICO PUIG CASERO                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   652197 FEDERICO PUIG RODRIGUEZ                     URB GUANAJIBO HOMES       721 CALLE DR AUGUSTO PEREA                                                              MAYAGUEZ           PR         00682‐1161
   652198 FEDERICO QUINONES ARTAU                     IMB BUILDING SUITE 801    AVE MUNOZ RIVERA                                                                        SAN JUAN           PR         00918
          FEDERICO R DUCOUDRAY
   652199 ACEVEDO                                     311 TERESA JORNET 1503                                                                                            SAN JUAN           PR         00926

   162329 FEDERICO R HERNANDEZ PICO                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   652201 FEDERICO RAMIREZ VELAZQUEZ                  MIRADOR DE BAIROA         2T 20 CALLE 27                                                                          CAGUAS             PR         00725‐1039
   652202 FEDERICO REYES MOYETT                       P O BOX 687                                                                                                       SAN LORENZO        PR         00754
   652203 FEDERICO RIOS VELEZ                         LOMAS DE TRUJILLO ALTO    F 14 CALLE 5                                                                            TRUJILLO ALTO      PR         00976
   652204 FEDERICO RIVERA ROSADO                      URB ONEILL                16 CALLE B                                                                              MANATI             PR         00674
   162330 FEDERICO RIVERA VIDAL                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   652205 FEDERICO RODRIGUEZ COLON                    URB RIO PIEDRAS HEIGHTS   204 CALLE WESER                                                                         SAN JUAN           PR         00926
   162331 FEDERICO RODRIGUEZ LOPEZ                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   652206 FEDERICO RODRIGUEZ MARTINEZ URB CIUDAD JARDIN III                     455 CALLE GRAN AUSUBO                                                                   TOA ALTA           PR         00953
          FEDERICO RODRIGUEZ
   652207 RODRIGUEZ                   COMUNIDAD LOS DOLORES                     ESTACION 1 BUZN 21                                                                      RIO GRANDE         PR         00745

   162332 FEDERICO RODRIGUEZ VARGAS                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   652208 FEDERICO ROJAS CRUZ                         PO BOX 316                                                                                                        LAS PIEDRAS        PR         00771
   162333 FEDERICO ROJAS MONDINI                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          FEDERICO ROSA VELDEZ Y
   162334 ROSELY PEREZ                                REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   162335 FEDERICO ROSARIO ESTRADA                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   652210 FEDERICO ROSARIO PEREZ                      URB REXVILLE              CD24 CALLE 24                                                                           BAYAMON            PR         00957
   652149 FEDERICO RUIZ RIVERA                        HC 08 BOX 984                                                                                                     PONCE              PR         00731‐9735

   652211 FEDERICO S PIMENTEL VARGAS                  P O BOX 50697                                                                                                     LEVITOWN           PR         00950
   652212 FEDERICO SANCHEZ ROLON                      HC 1 BOX 6599                                                                                                     AIBONITO           PR         00705
   652214 FEDERICO SISCO RIVERA                       PO BOX 8404                                                                                                       BAYAMON            PR         00960‐8404
   652215 FEDERICO SOTO FIERRO                        HC 1 BOX 2538                                                                                                     FLORIDA            PR         00650
   162336 FEDERICO STUBBE GONZALEZ                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   652216 FEDERICO TORO GOYCO                         BOX 198                                                                                                           CABO ROJO          PR         00623
          FEDERICO TORRES ADVERTISING
   652218 SPECIALTIES                                 ROYAL PALM                1D 5 CALLE ALMACIGO                                                                     BAYAMON            PR         00956
   652219 FEDERICO TORRES BODON                       URB EL CEREZAL            1712 CALLE ORINOCO                                                                      SAN JUAN           PR         00926

   652220 FEDERICO TORRES CARABALLO                   URB VILLAS DEL RIO        F 14 CALLE 2                                                                            GUAYNABO           PR         00656
   652221 FEDERICO TORRES ESTRADA                     COND PLAZA SUCHVILLE      1075 APT 329                                                                            BAYAMON            PR         00959




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   162337 FEDERICO TORRES FERNANDEZ                   REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652223 FEDERICO TORRES RIVERA                      URB ALTO APOLO               2070 CALLE ITACA                                                                           GUAYNABO            PR           00969
   652225 FEDERICO TRANSMISSION                       PO BOX 4292                                                                                                             CAROLINA            PR           00984
   652226 FEDERICO TURBI MALENA                       PO BOX 9022182                                                                                                          SAN JUAN            PR           00902 2182
   652228 FEDERICO VAZQUEZ                            P O BOX 410                                                                                                             UTUADO              PR           00641
   162341 FEDERICO VAZQUEZ ALEQUIN                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   162342 FEDERICO VEGUILLA APONTE                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652229 FEDERICO VELEZ SANTIAGO                     PARQUE MONTEBELLO            A 16 CALLE 1                                                                               TRUJILLO ALTO       PR           00976
   652230 FEDERIO A RIVERA RAMOS                      COND SEGOVIA APTO 1610                                                                                                  SAN JUAN            PR           00918‐3815
          FEDERT OF CHIROPRACTIC
   652231 LICENSIG BOARD                              901 54TH AVENUE              SUITE 101                                                                                  GREELEY             CO           80634
   162343 FEDEX                                       PO BOX 371461                                                                                                           PITTSBURGH          PA           15250‐7461
   162344 FEDEX CORPORATION                           1790 KIRBY PARKWAY STE 400                                                                                              MEMPHIS             TN           38138
   831358 FedEx Freight                               P. O. Box 840                                                                                                           Harrison            AZ           72602
   162350 FEDMEDICAL CARE                             100 CARR 165                 SUITE C 106                                                                                GUAYNABO            PR           00968
   652232 FEDORA DIEZ MC DOUGALL                      PO BOX 1016                                                                                                             MAYAGUEZ            PR           00681‐1016

   652233 FEED ADDITIVE COMPENDIUM                    PO BOX 4293                                                                                                             CAROL STREAM        IL           60197‐9793

   652234 FEELING FOREVER                             URB SAGRADO CORAZON          352 CALLE SAN CLAUDIO STE 263                                                              SAN JUAN            PR           00926‐4107
          FEHIDALYS CARTAGENA
   162351 FELICIANO                                   REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1419686 FEHMI IBRAHIM, IBRAHIM                      HAYDEE CALDERON MUÑOZ        PO BOX 963                                                                                 LUQUILLO            PR           00773
          FEI PROD DISTRIBUTORS BY
   162352 PARAGARD DIRECT                             3101 GAYLORD PKWY                                                                                                       FRISCO              TX           75034
   162367 FEIRIS SOTO SANTIAGO                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   162368 FEJ CARIBE PAINT CORP                       BO RIO CANAS KM 27 4                                                                                                    CAGUAS              PR           00726
   162371 FEJ CARIBE PAINTS CORP                      PO BOX 8757                  BO RIO CAAS KM 27 HM4                                                                      CACUAS              PR           00726
   652239 FEKIN F PAGAN IRIZARRY                      BOX 1441                                                                                                                JUANA DIAZ          PR           00795
          FELCHED MAINTENANCE &
   652241 CONSTRATORS                                 BOX 1752                                                                                                                YAUCO               PR           00698
   652242 FELCO INFORMATION SYSTEM                    PO BOX 9981                                                                                                             CAROLINA            PR           00981 998
   652244 FELCO PR INC                                PO BOX 4007                                                                                                             SAN JUAN            PR           00902‐4007
   162374 FELCOM AUTOMOTIVE INC                       P O BOX 3022                                                                                                            MAYAGUEZ            PR           00681‐3022

   162376 FELCON AUTOMOTIVE INC                       PO BOX 3022 MARINA STATION                                                                                              MAYAGUEZ            PR           00681‐3022
          FELCON AUTOMOTIVE INC DBA
   162377 MAYAGUEZ FORD                               PO BOX 3022                                                                                                             MAYAGUEZ            PR           00681
   162378 FELDMAN & SHEPHERD                          TRIB SUP DE NEW JERSEY                                                                                                  MERCER              NJ           08619
   652245 FELDSTEIN,GELPI & GOTAY                     P O BOX 71417                                                                                                           SAN JUAN            PR           00936 8517
   162381 FELI VAZQUEZ MAISONET                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652246 FELI X R SERRANO TORRES                     P O BOX 1021                                                                                                            UTUADO              PR           00641
   652247 FELIA Y RODRIGUEZ MARTE                     BO OBRERO                    633 CALLE MARTINO                                                                          SAN JUAN            PR           00915

   162383 FELIBERTI ALDEBOL MD, NORMA REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   162385 FELIBERTI IRIZARRY MD, ALICIA G REDACTED                                 REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652248 FELIBERTO ASENCIO CINTRON       PO BOX 1296                                                                                                                         CABO ROJO           PR           00623
   162388 FELIBERTO ASENCIO TORRES        REDACTED                                 REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   162389 FELIBERTO MALDONADO LOPEZ                   REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   652250 FELIBERTO PAGAN MATOS                       HORTALIZAS EL EDEN     22                                                                                     CABO ROJO           PR           00623

   162390 FELIBERTO RODRIGUEZ SANTANA REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   162391 FELIBERTO SANCHEZ MIRANDA                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   652251 FELIBERTO TORRES GONZALEZ                   URB LA QUINTA          J 1 CALLE 5                                                                            YAUCO               PR           00698
   652253 FELIBERTO VEGA VALENTIN                     URB VISTA VERDE 471                                                                                           AGUADILLA           PR           00603
   652254 FELIBERTY VEGA MONTALVO                     RES SABANA             E 16 CALLE COSTA RICA                                                                  SABANA GRANDE       PR           00637
   652255 FELICAR AUTO PARTS                          HC 02 BOX 20937                                                                                               MAYAGUEZ            PR           00680‐9003

   652256 FELICAR AUTO PARTS SERVICES                 PO BOX 1400                                                                                                   HORMIGUEROS         PR           00660
   652257 FELICIA A LOWE                              6575 COMMONWOOD PL                                                                                            COLLEGE PARK        GA           30349
   162426 FELICIA A ZAPATA CEBALLO                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   162427 FELICIA AVILES RIVERA                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652258 FELICIA BENITEZ                             URB BOURET             519 BARBE                                                                              SAN JUAN            PR           00912
   652259 FELICIA FIGUEROA                            LOS LIRIOS             EDIF 12 APT 40                                                                         CUPEY               PR           00918
   162429 FELICIA GUERRERO MARTE                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652260 FELICIA MEDINA MENDOZA                      PO BOX 14201                                                                                                  SAN JUAN            PR           00916
   162432 FELICIA REYES PEREZ                         REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   162433 FELICIA SANTANA RIVERA                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652261 FELICIA TORO SMITH                          PO BOX 913                                                                                                    GUANICA             PR           00653

   652262 FELICIANA SANTIAGO SANTIAGO BOX 223                                                                                                                       NARANJITO           PR           00719
          FELICIANO ACEVEDO MD,
   162439 WILKINS                     REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FELICIANO ALUMINIUM WORK
   652264 INC                         PO BOX 3084                                                                                                                   MAYAGUEZ            PR           00605

   652265 FELICIANO ALUMINUM WORKS                    PO BOX 9024275                                                                                                SAN JUAN            PR           00902‐4275

   162513 FELICIANO APOLINARIO, GLORIA REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   162522 FELICIANO AQUINO, ELIZABETH                 REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FELICIANO ASTACIO MD,
   162534 NEREIDA                                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652267 FELICIANO AUTO AIR                          BRISAS DEL MAR         ER 5 CALLE ACCESO                                                                      LUQUILLO            PR           00773

   162541 FELICIANO AVILES MD, EDUARDO REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   162551 FELICIANO AVILES, TERESA     REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FELICIANO AYALA
   652268 CARRASQUILLO                 6TA SECC VILLA CAROLINA               1 BLQ 240 CALLE 616                                                                    CAROLINA            PR           00985
   652269 FELICIANO BAES ROSA          PO BOX 5381                                                                                                                  CIDRA               PR           00739
  1419687 FELICIANO BOLET, JOSÉ        HERIBERTO GÜIVAS‐LORENZO              HC‐03 BOX 39605                                                                        AGUADA              PR           00602

   652270 FELICIANO CALDERON MARRERO PO BOX 874                                                                                                                     SABANA SECA         PR           00952‐0874

  1419688 FELICIANO CAMACHO, YESENIA                  HECTOR A. CASTRO       APARTADO 227                                                                           YABUCOA             PR           00767
   652271 FELICIANO CARRASQUILLO                      PO BOX 1931                                                                                                   JUNCOS              PR           00777
   162652 FELICIANO CARRERAS, LUIS A.                 REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   652272 FELICIANO COLON RODRIGUEZ                   PO BOX 688                                                                                                    ARROYO              PR           00714



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  162699 FELICIANO COLON, CARLOS J                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  162745 FELICIANO CORTES CARMEN                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  162770 FELICIANO CRUZ FERNANDO                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  162857 FELICIANO ELIAS CALDERON                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         FELICIANO FELICIANO,
 1419689 CHRISTOPHER                                   FÉLIX A. RODRÍGUEZ MEJÍA   253 CALLE CHILE 10‐B                                                                  SAN JUAN             PR         00917‐2111
  162881 FELICIANO FELICIANO, JOSLYN                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
 1419690 FELICIANO FELIÚ, ROSA M.                      JAIME PICÓ MUÑOZ           PO BOX 70199                                                                          SAN JUAN             PR         00936‐8190
  162927 FELICIANO FLORES SILVA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   163006 FELICIANO GONZALEZ, LOURDES REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          FELICIANO GUZMAN MD, EFRAIN
   163049 A                           REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   652275 FELICIANO HERNADEZ LANDRON P O BOX 4458                                                                                                                       VEGA BAJA            PR         00693
          FELICIANO HERNANDEZ MD,
   163055 MARIA                        REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          FELICIANO HERNANDEZ, MAYRA
   163083 L.                           REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   652276 FELICIANO HIDRAULIC          PO BOX 8679                                                                                                                      PONCE                PR         00732
   163101 FELICIANO HILL MD, NEREIDA   REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          FELICIANO JIMENEZ MD, CARLOS
   163115 A                            REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   652277 FELICIANO LA SANTA MORALES                   PO BOX 1119                                                                                                      COROZAL              PR         00783
          FELICIANO LASALLE, CARMEN Y                                             CALLE ARAGON EDIF 319
  1419691 OTROS                                        VIRGILIO GONZALEZ PEREZ    MARGINAL VICTOR ROJAS #1                                                              ARECIBO              PR         00612
   652278 FELICIANO LUGO GONZALEZ                      HC 01 BOX 4574                                                                                                   YABUCOA              PR         00767
   652279 FELICIANO LUNA REYES                         URB SANTIAGO IGLESIAS      1767 CALLE MANUEL OCASIO                                                              SAN JUAN             PR         00921

   163198 FELICIANO MAIZONET QUINONES REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                      HP‐PSIQUIATRICO FORENSE
   652280 FELICIANO MARCUCCI,ANDRES PONCE                                                                                                                               Hato Rey             PR         009360000
   163214 FELICIANO MARISELA NIEVES   REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   163264 FELICIANO MD, BENIGNO       REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   652282 FELICIANO MELENDEZ FELICIANO PO BOX 2390                                                                                                                      SAN JUAN             PR         00919
   163297 FELICIANO MENDEZ, MARIA P    REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   652283 FELICIANO MOLINA TOLENTINO                   HC 3 BOX 5904                                                                                                    HUMACAO              PR         00791
          FELICIANO MORALES MD,
   163342 WILLIAM                                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   652285 FELICIANO NAZARIO MIRANDA                    RR 2 BOX 4800                                                                                                    A¥ASCO               PR         00610
   652286 FELICIANO OLIVENCIA ISMAEL                   HC 04 BOX 15985                                                                                                  SAN SEBASTIAN        PR         00685

   163460 FELICIANO PADILLA BENJAMIN                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   163469 FELICIANO PAGAN, ANA                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   163488 FELICIANO PEREZ MD, JOSE M                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   163506 FELICIANO PEREZ, DULCIDIO                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   163558 FELICIANO QUINONES, EVELYN                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED




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   652287 FELICIANO QUINTERO MARTINEZ P O BOX 463                                                                                                                    VEGA ALTA            PR           00692
                                                                    18 CALLE LAJAS URB.
  1419692 FELICIANO RAMOS, MICHELLE M. FELICIANO RAMOS, MICHELLE M. BONNEVILLE                                                                                       CAGUAS               PR           00727
   652289 FELICIANO RIOS DISDIER       PO BOX 7126                                                                                                                   PONCE                PR           00732
   163628 FELICIANO RIVERA             REDACTED                     REDACTED                              REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FELICIANO RIVERA CARTAGENA
   163629 JR                           REDACTED                     REDACTED                              REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   163630 FELICIANO RIVERA MD, CELIA D                REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   652290 FELICIANO RIVERA MOYETT                     URB VILLA ESPERANZA    105 A CALLE AMOR                                                                        CAGUAS               PR           00725
   652291 FELICIANO RIVERA SOTO                       HC 02 BOX 6281                                                                                                 JAYUYA               PR           00664
   652292 FELICIANO RIVERA ZAYAS                      PO BOX 1833                                                                                                    CAGUAS               PR           00726

  1419693 FELICIANO RIVERA, BIENVENIDA JOSÉ R. RODRÍGUEZ RIVERA              PO BOX19236                                                                             SAN JUAN             PR           00910‐1236
   163727 FELICIANO RIVERA, YAMIRA     REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                             3051 AVE JUAN HERNANDEZ
  1419694 FELICIANO ROBLES, ROBERTO                   ALEXANDRA NOLLA        ORTIZ STE 202                                                                           ISABELA              PR           00662

   652263 FELICIANO RODRIGUEZ DELGADO HC 30 BOX 32006                                                                                                                SAN LORENZO          PR           00754
          FELICIANO RODRIGUEZ MD,
   163748 DAPHNE                      REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FELICIANO RODRIGUEZ,
  1419695 ROBERTO F.                  RAFAEL RAMIREZ VALENTIN                HC 02 BOX 7252                                                                          HORMIGUEROS          PR           00660
   163854 FELICIANO ROSA, KIARA L     REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   652293 FELICIANO ROSADO CARMEN     BO AMELIA                              8 CALLE ESMERALDA                                                                       GUAYNABO             PR           00965
   163910 FELICIANO SAEZ, OMAYRA      REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   163918 FELICIANO SANABRIA          REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   652294 FELICIANO SANTIAGO DEL VALLE PO BOX 7126                                                                                                                   PONCE                PR           00732
          FELICIANO SANTIAGO IRIS,
   163948 YOLANDA                      REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   163960 FELICIANO SANTIAGO, DIANA    REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   164001 FELICIANO SANTOS, MARIA J    REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FELICIANO SANTOS, WILFREDO
  1419696 ET ALS                       MANUEL DURAN RODRIGUEZ                1139 AVE. AMERICO MITRANDA                                                              SAN JUAN             PR           00921
          FELICIANO SEPULVEDA MD, JOSE
   164010 I                            REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   164062 FELICIANO TARAFA, MILAGROS                  REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   164069 FELICIANO TIRE DISTRIBUTOR INC HC 1 BOX 6600‐1                                                                                                             MOCA                 PR           00676
   652296 FELICIANO TORRES LOPEZ         URB VILLA FONTANA                   4 RN5 VIA 37                                                                            CAROLINA             PR           00983

   164109 FELICIANO TORRES, MARIA DEL C REDACTED                             REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   164154 FELICIANO VARGAS, GLADYS C    REDACTED                             REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   652297 FELICIANO VELAZQUEZ PEREZ     HC 02 BOX 4634                                                                                                               LAS PIEDRAS          PR           00771

   164198 FELICIANO VELAZQUEZ, DIANA I                REDACTED               REDACTED                   REDACTED                              REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                             URBANIZACIÓN VALLE HERMOSO
  1419697 FELICIANO, MARIA                            EDWIN AVILÉS PÉREZ     SA‐20 BUCARE                                                                            HORMIGUEROS          PR           00660
          FELICIANO, SEDA & ASSOCIATES
   164269 CPA P.S.C.                                  URB. LA ARBOLEDA       #100 STREET 18                                                                          SALINAS              PR           00751



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  164278 Feliciano‐Jiménez, María                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  164280 Feliciano‐Nieves, Gladys                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  164282 FELICIANOS MEDICAL                            HC 01 BOX 6670                                                                                                   MOCA                  PR         00676‐0000
  652298 FELICIDAD ANDRADES                            PO BOX 21365                                                                                                     SAN JUAN              PR         00928

   164284 FELICIDAD BERNARD ALEQUIN                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   164285 FELICIDAD L ROMERO                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
          FELICIDAD RODRIGUEZ
   652299 MARTINEZ                                     PO BOX 714                                                                                                       TOA ALTA              PR         00954

   652300 FELICIDAD VELAZQUEZ                          URB SANTA ROSA             AVE AGUAS BUENAS BOX 16 19                                                            BAYAMON               PR         00959
   164305 FELICINDO MEJIAS                             REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   164306 FELICINDO RIJO                               REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   652302 FELICITA ADORNO COLON                        PO BOX 491                                                                                                       NARANJITO             PR         00719
   164307 FELICITA ALICANO ESCALERA                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   652303 FELICITA ALICEA CRUZ                         HC 2 BOX 700004                                                                                                  COMERIO               PR         00782

   652304 FELICITA ALVAREZ RODRIGUEZ                   BO MAJAGUA SECTOR CORREA                                                                                         MAUNABO               PR         00707
   164308 FELICITA ANDINO LEMOIS                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   164309 FELICITA AVILES CURET                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   652305 FELICITA AYALA BAEZ                          VILLA PALMERA              311 CALLE LAGUNA                                                                      SAN JUAN              PR         00915
   164310 FELICITA AYALA MURIEL                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   652306 FELICITA AYALA RIVERA                        BO BENTURA                 260 CALLE CLAVEL BOX 657                                                              CAROLINA              PR         00987
   652307 FELICITA AYUSO BULTRON                       PMB 238 PO BOX 1981                                                                                              LOIZA                 PR         00772
   164311 FELICITA BARBOSA VALDES                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   164312 FELICITA BERMUDEZ CANCEL                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   164313 FELICITA BURGOS VELAZQUEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED

   164314 FELICITA CAMACHO HERNANDEZ REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   652310 FELICITA CAMPOS PEREZ        RES PORTUGUEZ                              EDIF Q APTO 147                                                                       PONCE                 PR         00731
                                       189 CALLE PEDRO ALBIZU
   652311 FELICITA CARABALLO RODRIGUEZ CAMPOS                                                                                                                           LARES                 PR         00669
   652312 FELICITA CARABALLO SUREN     SECTOR SAN FELIPE                          46 4 CALLE ARIZON                                                                     ARROYO                PR         00714

   164316 FELICITA CARCANO RODRIGUEZ                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   652314 FELICITA CARRION PEREIRA                     PO BOX 534                                                                                                       FAJARDO               PR         00738
   652316 FELICITA CASILLAS REYES                      RES DR PALOU               EDIF 10 APT 78                                                                        HUMACAO               PR         00792
          FELICITA CASTILLO
   652317 ENCARNACION                                  HC 01 BOX 12146                                                                                                  SAN JUAN              PR         00987
          FELICITA CINTRON DE
   652318 RODRIGUEZ                                    VILLA CAPRI                564 CALLE FERRARA                                                                     SAN JUAN              PR         00924
   164318 FELICITA CINTRON SANTANA                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   652320 FELICITA CINTRON TORRES                      B 8 URB RIVERA DONATO                                                                                            HUMACAO               PR         00791
   652322 FELICITA COLON                               SOLAR 81 PLANA                                                                                                   ISABELA               PR         00602
   164319 FELICITA COLON ROHENA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED

   652324 FELICITA CORDERO MARQUEZ                     PO BOX 138                                                                                                       SAINT JUST            PR         00978
   164320 FELICITA CORDERO RIVERA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   652325 FELICITA CORSINO CATALA                      HC 1 P O BOX 8349                                                                                                LUQUILLO              PR         00773

   652326 FELICITA CORTEZ MONTEZUMA                    COUNTRY CLUB               JF 1 CALLE 247                                                                        CAROLINA              PR         00982
   164321 FELICITA COTTO FIGUEROA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   164322 FELICITA COTTO GONZALEZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED



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                                                      EGIDA DANIEL LUIS FLORES 2000‐
   652328 FELICITA COTTO RUIZ                         1                              APTO 501                                                                           CAROLINA            PR           00958‐5964
   652329 FELICITA CRUZ                               SANTA MARTA                    C 40 CALLE 3                                                                       JUANA DIAZ          PR           00795
   164323 FELICITA CRUZ DIAZ                          REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   164324 FELICITA DEL VALLE DEL VALLE                REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652332 FELICITA DELGADO                            CUIDAD MASSO                  B 29 CALLE 4                                                                        SAN LORENZO         PR           00754
   652334 FELICITA DIAZ DIAZ                          URB CONDADO VIEJO             C3 CALLE MAGNOLIA                                                                   CAGUAS              PR           00725
   652335 FELICITA DIAZ GOMEZ                         HC 2 BOX 4774                                                                                                     LAS PIEDRAS         PR           00771
   164325 FELICITA DIAZ LOPEZ                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164327 FELICITA DIAZ VIERA                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FELICITA E ALVARADO
   652337 BERMUDEZ                                    PO BOX 158                                                                                                        LA PLATA            PR           00786
   164328 FELICITA FALCON GUZMAN                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652338 FELICITA FELICIANO ROSADO                   PO BOX 1592                                                                                                       MOROVIS             PR           00687
   652339 FELICITA FELIX GARAY                        URB VILLA TURABO              B 24 CALLE CEDRO                                                                    CAGUAS              PR           00725
          FELICITA FIGUEROA / LILLIAN
   164329 CAMARENO                                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652342 FELICITA FLORES BONILLA                     DUEY BAJO                     CARR 2 KM 167 3                                                                     SAN GERMAN          PR           00660

   652344 FELICITA FONTANEZ RODRIGUEZ URB LEVITTOWN                                 AK 40 CALLE LISA OESTE                                                              TOA BAJA            PR           00949
   164330 FELICITA GALVEZ SANTOS       REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652345 FELICITA GARAY DE MIRABAL    LITHDA HEIGHTS                               572 CALLE ECHE GARAY                                                                SAN JUAN            PR           00986
   164331 FELICITA GARCIA RAMOS        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652347 FELICITA GONZALEZ            PO BOX 50063                                 OLD SAN JUAN STA                                                                    SAN JUAN            PR           00902
          FELICITA GONZALEZ CAEZ &LCDA
   652348 IDALIA LEON                  VILLA DEL REY                                4 G 18 CALLE 2                                                                      CAGUAS              PR           00727

   164332 FELICITA GONZALEZ CALDERON                  REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652349 FELICITA GONZALEZ CLAUDIO                   P O BOX 20598                                                                                                     SAN JUAN            PR           00928 0598
   164333 FELICITA GONZALEZ FLORES                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652351 FELICITA GONZALEZ GARCIA                    HC 1 BOX 6325                                                                                                     MOCA                PR           00676

   652352 FELICITA GONZALEZ GONZALEZ                  HC 5 BOX 54704                                                                                                    HATILLO             PR           00669
   652353 FELICITA GONZALEZ ORTIZ                     14 CALLE IDILIO                                                                                                   COROZAL             PR           00783
   652355 FELICITA GOTAY CRUZ                         PMB 913                       497 AVE EMILIANO POL                                                                SAN JUAN            PR           00926
   164334 FELICITA GUZMAN ALMENAS                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   652356 FELICITA HERNANDEZ FUENTES                  PO BOX 937                                                                                                        AIBONITO            PR           00705
   164335 FELICITA HERNANDEZ RIVERA                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FELICITA HERNANDEZ
   164336 RODRIGUEZ                                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652358 FELICITA HERNANDEZ TORRES                   BO DAMIAN ARRIBA              PO BOX 472                                                                          OROCOVIS            PR           00720‐0472

   652359 FELICITA HERNANDEZ TURABO                   HC 66 BOX 8772                                                                                                    FAJARDO             PR           00738

   652360 FELICITA HUERTAS OCASIO                     1818 SPRING GARDEN ST APT 9 J                                                                                     PHILADELFIA         PA           19130
   652361 FELICITA ILARRAZA ESQUILIN                  HC 1 BUZON 48522                                                                                                  RIO GRANDE          PR           00745
   652362 FELICITA ILARRAZA PANTOJAS                  RES MANUEL A PEREZ            EDIF B 4 APT 39                                                                     SAN JUAN            PR           00923
   652363 FELICITA ISAAC CANALES                      BO SABANA BAJO                CARR 190 KM 2 HM 2                                                                  CAROLINA            PR           00983
   652365 FELICITA LAURIANO ARROYO                    P O BOX 334331                                                                                                    PONCE               PR           00733‐4331
   164337 FELICITA LEBRON GONZALEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164340 FELICITA LEBRON MUNOZ                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  164341 FELICITA LLANOS CARMONA                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  164342 FELICITA LOPEZ AQUINO                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  652367 FELICITA LOPEZ COLON                         RR 2 BOX 5073                                                                                                   CIDRA               PR         00739

   652371 FELICITA M RAMIREZ SANTIAGO RIO HONDO                                    BZN M 30                                                                           MAYAGUEZ            PR         00680
                                                                                   FC 99 CALLE BOULEVARD
   652372 FELICITA MAGRIS                             LA ROSALEDA 1                MONGROIG                                                                           TOA BAJA            PR         00951
   652373 FELICITA MALAVE CRUZ                        96 CALLE PADIAL ALTOS                                                                                           CAGUAS              PR         00725

   164343 FELICITA MANGUAL SANTIAGO                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   164344 FELICITA MANSO SANJURJO                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   164345 FELICITA MARRERO PARRILLA                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652374 FELICITA MARRERO RIVERA                     PO BOX 1404                                                                                                     QUEBRADILLAS        PR         00678
   652301 FELICITA MARTINEZ LOPEZ                     PUERTO NUEVO                 632 CALLE APENINOS                                                                 SAN JUAN            PR         00920
   652375 FELICITA MARTINEZ NEGRON                    464 40 ST APT 3                                                                                                 BROOKLYN            NY         11232
   652377 FELICITA MARTINEZ ORTIZ                     JARDINES DE CAPARRA          BB 17 CALLE 49                                                                     BAYAMON             PR         00960

   652378 FELICITA MARTINEZ PACHECO                   RES BARTOLOME DE LAS CASAS   EDIF 19 APTO 226                                                                   SAN JUAN            PR         00915

   652380 FELICITA MARTINEZ SANTIAGO                  REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   164347 FELICITA MARTINEZ SANTOS                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652381 FELICITA MARTINEZ TORRES                    PO BOX 1536                                                                                                     SANTA ISABEL        PR         00757

   164348 FELICITA MELENDEZ HABOUSH                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652383 FELICITA MELENDEZ ROSADO                    ALTS DE BUCARABONES          3V 10 CALLE 40                                                                     TOA ALTA            PR         00953

   164349 FELICITA MELENDEZ VAZQUEZ                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652385 FELICITA MERCADO PABON                      PMB 1385                     243 CALLE PARIS                                                                    SAN JUAN            PR         00917‐3632
   164350 FELICITA MIRANDA MUðOZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   652386 FELICITA MONCLOVA NEGRON                    PO BOX 1091                                                                                                     MAUNABO             PR         00707

   164354 FELICITA MONTANEZ FIGUEROA REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   652387 FELICITA MONTERO RODRIGUEZ PO BOX 560627                                                                                                                    GUAYANILLA          PR         00656
   652388 FELICITA MORALES OLMEDA    PO BOX 284                                                                                                                       PUNTA SANTIAGO      PR         00741

   652389 FELICITA MORALES RODRIGUEZ                  BO LIZAS                     HC 02 BOX 3195                                                                     MAUNABO             PR         00707
   164355 FELICITA MORALES SANTIAGO                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   164356 FELICITA MUNIZ COSME                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   164357 FELICITA NEGRON RIVERA                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652390 FELICITA NIEVES ALVAREZ                     HC 3 BOX 9458                                                                                                   YABUCOA             PR         00767‐9701
   652391 FELICITA NIEVES ERAZO                       RES BRISAS DE BAYAMON        EDIF 5 APT 34                                                                      BAYAMON             PR         00961
   164358 FELICITA NIEVES RAMOS                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   164359 FELICITA NU¥EZ ROSADO                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652392 FELICITA OCACIO CORREA                      HC 67 BOX 16174                                                                                                 BAYAMON             PR         00956‐9523

   652393 FELICITA OCASIO RODRIGUEZ                   COND TORRES DE ANDALUCIA     EDIF 1 APT 1102                                                                    SAN JUAN            PR         00926
   652394 FELICITA OLIVERAS LOPEZ                     PO BOX 8800                                                                                                     PONCE               PR         00732‐8800
   164360 FELICITA OLIVERO NEGRON                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652395 FELICITA ORTIZ                              VILLA DEL PARQUE             EDIF 10E PDA 26                                                                    SAN JUAN            PR         00908
   652396 FELICITA ORTIZ APONTE                       URB LAS ALONDRAS             5 CALLE B14                                                                        VILLALBA            PR         00766
   164361 FELICITA ORTIZ PASTRANA                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  164362 FELICITA ORTIZ RIVERA                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         FELICITA OTERO AND MARIA
  164364 OTERO                                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   164365 FELICITA PACHECO CARABALLO                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164366 FELICITA PAGAN SANCHEZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164367 FELICITA PARRA MORELL                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164368 FELICITA PENA DE JESUS                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164369 FELICITA PENA ROQUE                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   652399 FELICITA PEREZ                              E 35 URB VEVE CALZADA                                                                                              FAJARDO             PR         00738
   164370 FELICITA PEREZ MARTINEZ                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   652401 FELICITA PEREZ OLIVENCIA                    PO BOX 1247                                                                                                        HATILLO             PR         00659
   652402 FELICITA PEREZ RODRIGUEZ                    RES GANDARA                EDIF 3 APT 18                                                                           MOCA                PR         00676
   164372 FELICITA POLANCO PEREZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164373 FELICITA POMALES REYES                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   652405 FELICITA QUINTANA VELAZQUEZ                 PO BOX 1593                                                                                                        JUNCOS              PR       00777
   652406 FELICITA RAMOS                              SAINT JUST                 30 CALLE BETANIA                                                                        TRUJILLO ALTO       PR       00978
   164374 FELICITA RAMOS REYES                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   652408 FELICITA REYES TORRES                       RES LUIS LLOREN TORRES     EDIF 92 APT 1747                                                                        SAN JUAN            PR       00913
   164378 FELICITA RIOS VAZQUEZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   652412 FELICITA RIVERA BONILLA                     4TA EXT VILLA CAROLINA     147‐10 CALLE 415                                                                        CAROLINA            PR       00985
   652413 FELICITA RIVERA CORNIER                     PO BOX 888                                                                                                         VILLALBA            PR       00766
   652415 FELICITA RIVERA DE JESUS                    PO BOX 210                                                                                                         LOIZA               PR       00772
   652416 FELICITA RIVERA DIAZ                        FERNANDEZ JUNCOS STATION   PO BOX 11855                                                                            SAN JUAN            PR       00910‐4225
   652418 FELICITA RIVERA ESPADA                      VILLA TURABO               E 46 CALLE LAUREL                                                                       CAGUAS              PR       00725
   652420 FELICITA RIVERA GONZALEZ                    VILLA CALMA BO INGENIO     599 CALLE 3                                                                             TOA BAJA            PR       00951
   164379 FELICITA RIVERA LOZADA                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   164380 FELICITA RIVERA MARRERO                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   164381 FELICITA RIVERA MARTINEZ                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   652422 FELICITA RIVERA RODRIGUEZ                   HC 01 BOX 8453                                                                                                     AGUAS BUENAS        PR       00703‐9723

   164382 FELICITA RIVERA VIZCARRONDO                 REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164383 FELICITA RIVERA ZAYAS                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   652423 FELICITA ROBERTO PONCE                      HC‐01 BOX 8598                                                                                                     LUQUILLO            PR         00773
   652424 FELICITA RODRIGUEZ                          PO BOX 791                 COTTO LAUREL                                                                            JUANA DIAZ          PR         00780

   652426 FELICITA RODRIGUEZ LEGRAND                  BDA LEGUILLOW              P O BOX 927                                                                             VIEQUES             PR         00765

   164385 FELICITA RODRIGUEZ PRINCIPE                 REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   652427 FELICITA RODRIGUEZ RODRIGUEZ PO BOX 1060                                                                                                                       SALINAS             PR         00751

   652428 FELICITA RODRIGUEZ ROSARIO                  BO LAS MAREAS              BOX 4952                                                                                SALINAS             PR         00751
   652429 FELICITA ROMAN CRUZ                         EXT COQUI                  358 CALLE PITIRRE                                                                       AGUIRRE             PR         00704
   652430 FELICITA ROMAN GUERRERO                     HC 1 P O BOX 10771                                                                                                 SAN SEBASTIAN       PR         00685
   652431 FELICITA ROMAN LOPEZ                        BARRIO NARANJO             CARR 110 R4419 KM 1 H9 INT                                                              MOCA                PR         00676
   164388 FELICITA ROMAN RAMOS                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   652432 FELICITA ROMAN VELAZQUEZ                    URB HACIENDA FLORIDA       490 CALLE GERANIO                                                                       YAUCO               PR         00698
   164389 FELICITA ROSA RODRIGUEZ                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164391 FELICITA ROSARIO ALVAREZ                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   652433 FELICITA ROSARIO ORTIZ                      URB LEVITTOWN              BR 11 J JOSE CASTELAR                                                                   TOA BAJA            PR         00949




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   164392 FELICITA RVIERA VIZCARRONDO                 REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164393 FELICITA SANABRIA PERAZA                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164375 FELICITA SANTA TORRES                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652435 FELICITA SANTANA SANTIAGO                   RES LAS MARGARITAS          EDIF 6 APT 540                                                                         SAN JUAN            PR           00915
   164396 FELICITA SANTIAGO BAEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164397 FELICITA SANTIAGO DE JESUS                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652436 FELICITA SANTIAGO MOJICA                    RES SAN AGUSTIN             EDIF Y 497                                                                             SAN JUAN            PR           00901
   164399 FELICITA SEGARRA REYES                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   652441 FELICITA SEPULVEDA MORALES                  BO OBRERO                   727 CALLE 10                                                                           SANTURCE            PR           00915
   652442 FELICITA SERRANO FLORES                     URB HORIZONTES              D 7 CALLE AURORA                                                                       GURABO              PR           00778
   164400 FELICITA SEVILLA CASTRO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652444 FELICITA SIERRA VIERA                       RR 7 BUZON 8049                                                                                                    SAN JUAN            PR           00926
   164401 FELICITA SOLIS MARTINEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652446 FELICITA SOTO PEREZ                         HC 01 BOX 4910                                                                                                     LAS MARIAS          PR           00670

   164402 FELICITA TANTAO ECHEVARRIA                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652448 FELICITA TORRES                             HC 04 BOX 15413                                                                                                    LARES               PR           00669‐9401
   164403 FELICITA TORRES CARABALLO                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164404 FELICITA TORRES GONZALEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652450 FELICITA TORRES MARTINEZ                    COOP VILLA EL SALVADOR      A 20 CALLE 1                                                                           SAN JUAN            PR           00921
   652451 FELICITA TORRES OCASIO                      SIERRA BAYAMON              56‐30 CALLE 44                                                                         BAYAMON             PR           00961
   164405 FELICITA TORRES OSORIO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652452 FELICITA TORRES QUILES                      P O BOX 343                                                                                                        LAS MARIAS          PR           00670
   652453 FELICITA TORRES SANTIAGO                    RR 4 BOX 765 CALLE 830      SECT LA CEIBA SANTA OLAYA                                                              BAYAMON             PR           00829
   164407 FELICITA TORRES VELEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FELICITA VALENTIN Y/O LUZ E
   652454 VELEZ                                       CARR 342 BOX 320                                                                                                   MAYAGUEZ            PR           00680
   164408 FELICITA VAZQUEZ ALEQUIN                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164409 FELICITA VAZQUEZ BAEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652455 FELICITA VAZQUEZ CASTRO                     HC 2 BOX 7357                                                                                                      CAMUY               PR           00627
   164410 FELICITA VAZQUEZ MIRANDA                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652456 FELICITA VAZQUEZ ORTIZ                      LAS MONJAS                  198 CALLE B                                                                            SAN JUAN            PR           00917

   652458 FELICITA VAZQUEZ RODRIGUEZ                  PO BOX 1106                                                                                                        COMERIO             PR           00782
   164411 FELICITA VEGA CRUZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164413 FELICITA VEGA FIGUEROA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652459 FELICITA VEGA FRANCESTY                     BO SAN ASLON                115 CALLE ERASMO CABRERA                                                               PONCE               PR           00717
   652460 FELICITA VEGA LOPEZ                         VILLA DEL REY               3 B 10 CALLE BORGONA                                                                   CAGUAS              PR           00726
   652461 FELICITA VEGA ORTIZ                         HC 764 BOX 6875                                                                                                    PATILLAS            PR           00723
   652462 FELICITA VEGA PEREZ                         CAMINO LOS COTTO            CARR 842 KM 5 6                                                                        SAN JUAN            PR           00926
   164414 FELICITA VEGA RIVERA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164415 FELICITA VENDRELL VALENTIN                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   164416 FELICITA VILLAFANE VILLAFANE                REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652465 FELICITIA MOYA FIGUEROA                     BO MONTE GRANDE             21 CALLE SOL                                                                           CABO ROJO           PR           000623
   652466 FELICITO DANOIS FIGUEROA                    PO BOX 25192                                                                                                       SAN JUAN            PR           00928‐5192
   652467 FELICITO DOMINGUEZ VALLES                   HC 01 BOX 5349                                                                                                     BARCELONETA         PR           00617

   652468 FELICITO RIOS ARRIAGA                       URB ALTURAS DE BUCARABONES 3 G 4 CALLE 46                                                                          TOA ALTA            PR           00953

   652469 FELICITOS EMANUELLI IRIZARRY                HC 01 BOX 6984                                                                                                     GUAYANILLA          PR           00656



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   652470 FELIDA NAZARIO ACEVEDO                      URB MAYAGUEZ TERRACE        M 3 B CALLE CARMELO ALEMAR                                                              MAYAGUEZ            PR           00680

   652471 FELIKAR AUTO BODY AND PARTS PO BOX 2161                                                                                                                         SAN JUAN            PR           00922‐2161

   652473 FELINA FRED SALGADO                         URB ALTURAS DE RIO GRANDE   M 554 CALLE 12                                                                          RIO GRANDE          PR           00745
   652474 FELINA IRIZARRY TORRES                      HC 1 BOX 6818                                                                                                       CABO ROJO           PR           00623
                                                                                  MCS PLAZA SUITE 804 AVE.
  1419698 FELINO CORPORATION                          JOSE L. VILLAMIL CASANOVA   PONCE DE LEÓN NÚM. 255                                                                  HATO REY            PR           00917
   652475 FELIPA BENJAMIN ACOSTA                      RES. MUJERES SAN JUAN                                                                                               Hato Rey            PR           009360000
   164421 FELIPA CASTILLO CALDERON                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652476 FELIPA CRUZ HERNANDEZ                       HC 2 BOX 17729                                                                                                      SAN SEBASTIAN       PR           00685
          FELIPA CRUZ VDA DE
   652477 HERNANDEZ                                   HC 2 BUZON 17729            BO SALTOS                                                                               SAN SEBASTIAN       PR           00685
   164422 FELIPA DE JESUS MIESES                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652478 FELIPA F CONTRERAS ORTIZ                    201 CALLE FELIPE                                                                                                    ARECIBO             PR           00612
   164423 FELIPA FAJARDO CANALES                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652480 FELIPA LARREGUI VELEZ                       URB FLAMBOYAN               H 16 CALLE 14                                                                           MANATI              PR           00674
          FELIPA MARTINEZ Y NORMA
   164424 PEREZ                                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164425 FELIPA N MERCADO GARCIA                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652481 FELIPA PADILLA PADILLA                      HC 01 BOX 3930                                                                                                      SALINAS             PR           00751

   164426 FELIPA PORTALATIN MONTANEZ                  REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652482 FELIPA RODRIGUEZ MENDEZ                     PO BOX 50063                                                                                                        SAN JUAN            PR           00902
   164427 FELIPA SANTIAGO ORTIZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164430 FELIPE A ALGARIN ECHANDI                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652493 FELIPE A ARES ALBERIO                       PO BOX 1947                                                                                                         CAGUAS              PR           00726
   652494 FELIPE A CAMARA LOPEZ                       URB SAN GERARDO             333 CALLE NEBRASKA                                                                      SAN JUAN            PR           00926
   652495 FELIPE A CASTILLO DIAZ                      PO BOX 570                                                                                                          TRUJILLO ALTO       PR           00977
   164431 FELIPE A COLON ALONSO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652496 FELIPE A COLON MU¥OZ                        MSC 715                     138 AVE W CHURCHILL                                                                     SAN JUAN            PR           00926‐6023
   652497 FELIPE A COLON VARGAS                       BO VOLADORA                 HC 4 BOX 13615                                                                          MOCA                PR           00676
   652498 FELIPE A CUESTA                             704 CATALPA PLACE                                                                                                   BRENDON             FL           33510
   652499 FELIPE A LEBRON LUGO                        115 SAN FELIPE                                                                                                      GUAYANILLA          PR           00656
   652500 FELIPE A PAGAN ROSARIO                      PO BOX 212                                                                                                          CIALES              PR           00638
   164432 FELIPE A RIVERA DESSUS                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164433 FELIPE A RIVERA TORRES                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FELIPE A RODRIGUEZ Y AIXA M
   164434 RODRIGUEZ                                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FELIPE A SANTIAGO
   164435 MALDONADO                                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164436 FELIPE A VARGAS BARRETA                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652501 FELIPE A VARGAS NIEVES                      URB VILLA DEL CARMEN        B 2 CALLE MANUEL ALCAIDE                                                                HATILLO             PR           00659
   652502 FELIPE ACEVEDO QUI¥ONES                     BO OBRERO                   692 CALLEJON EL NENE                                                                    SAN JUAN            PR           00915

   652504 FELIPE ALEJANDRO GONZALEZ                   PARQUE SAN MIGUEL           H 25 CALLE 6                                                                            BAYAMON             PR           00959‐4217
   164438 FELIPE ALICEA HORRACH                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164439 FELIPE ALVERIO MERCADO                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   652507 FELIPE ANDUJAR MALDONADO                    HC 20 BOX 26398                                                                                                     SAN LORENZO         PR           00754

   164440 FELIPE ANTONIO CAMPOS DIAZ                  REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  652484 FELIPE APONTE RIVERA                         URB LA MILAGROSA      C 4 CALLE EUGENIO DUARTE                                                              BAYAMON           PR         00959
  164441 FELIPE ARES SOLIS                            REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  164442 FELIPE ARROYO LEBRON                         REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  164443 FELIPE ARVELO MUNIZ                          REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  164444 FELIPE BAEZ GUTIERREZ                        REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  164445 FELIPE BAEZ LUGO                             REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  164446 FELIPE BENICIO SANCHEZ                       REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  164447 FELIPE BERRIOS LOPEZ                         REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  652513 FELIPE BRITO MARTINEZ                        HC 01 BOX 3443                                                                                              MAUNABO           PR         00707
  652485 FELIPE BURGOS MORALES                        URB RAFAEL BERMUDEZ   F 11 CALLE 3                                                                          FAJARDO           PR         00738
  652514 FELIPE C MATOS RIVERA                        BO CASTILLO           E 45 CALLE LAS NARDES                                                                 MAYAGUEZ          PR         00680

   652515 FELIPE CALDERON VELAZQUEZ     HC 6 BOX 75877                                                                                                            CAGUAS            PR         00725
   164448 FELIPE CANDELARIA CEPEDA      REDACTED                            REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164449 FELIPE CANDELARIA SANTOS      REDACTED                            REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652516 FELIPE CARIRE LOPEZ           PO BOX 3030                                                                                                               AGUADILLA         PR         00605
          FELIPE CARRASQUILLO
   164450 MALDONADO                     REDACTED                            REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652518 FELIPE CARRO RIVERA           PO BOX 1620                                                                                                               BAYAMON           PR         00960
   164451 FELIPE CASIANO CARABALLO      REDACTED                            REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164452 FELIPE CASTILLO PEREZ         REDACTED                            REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652519 FELIPE CASTILLO VEGA          HC 1 BOX 3886                                                                                                             QUEBRADILLAS      PR         00678
   652520 FELIPE CASTRO DELGADO         P O BOX 1591                                                                                                              TRUJILLO ALTO     PR         00977
   652521 FELIPE CASTRO QUILES          BOX 2904                                                                                                                  TRUJILLO ALTO     PR         00976
   164453 FELIPE CASTRO REYES           REDACTED                            REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652522 FELIPE CASTRO ROMAN           BOX 1441                                                                                                                  JUANA DIAZ        PR         00795
   652524 FELIPE CINTRON RAMOS          ALTURAS DE BUCARABONES              3W 33 CALLE 40                                                                        TOA ALTA          PR         00953
   652525 FELIPE COLON                  PO BOX 1293                                                                                                               RIO GRANDE        PR         00745
   164454 FELIPE COLON BORGES           REDACTED                            REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652527 FELIPE COLON COTTO            URB TURABO GARDENS                  Z68 CALLE 14                                                                          CAGUAS            PR         00725‐0000
   652528 FELIPE COLON DOMINGUEZ        VBARRIO PUNTA PALMA                 BZN 83                                                                                BARCELONETA       PR         00617
   652529 FELIPE COLON VARGAS           PO BOX 211                                                                                                                CAGUAS            PR         00726‐0211
   164455 FELIPE COLON VITALI           REDACTED                            REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          FELIPE COLON Y MIGDALIA
   164456 CINTRON                       REDACTED                            REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652530 FELIPE CONDE NIEVES           PO BOX 628                                                                                                                AGUIRRE           PR         00704
   164457 FELIPE COTTO Y DIANA L RIOS   REDACTED                            REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652532 FELIPE CRUZ CORDERO           85 COND PAVILLON COURT                                                                                                    SAN JUAN          PR         00918
   164459 FELIPE CRUZ HERNANDEZ         REDACTED                            REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652533 FELIPE CRUZ VAZQUEZ           REDACTED                            REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652534 FELIPE CUEVAS ALONSO          HC 3 BOX 20670                                                                                                            ARECIBO           PR         00612
   652535 FELIPE CUEVAS VERGARA         URB SANTA JUANITA                   NM3 CALLE KERMEN                                                                      BAYAMON           PR         00956‐5133
   164462 FELIPE D RODRIGUEZ MATOS      REDACTED                            REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652536 FELIPE D ROSA MATOS           URB BRISAS DE CANOVANAS             57 CALLE ZUMBADOR                                                                     CANOVANAS         PR         00729
   652537 FELIPE D RUIZ SOSA            PO BOX 69001 SUITE 377                                                                                                    HATILLO           PR         00659
          FELIPE DE JESUS OLIVERAS
   652538 RODRIGUEZ                     PO BOX 938                                                                                                                BOQUERON          PR         00622‐0938
          FELIPE DE LEON TORRES / GRUPO
   652539 LOS                           TERRIBLISSIMOS                      BOX 8543                                                                              HUMACAO           PR         00792
   164463 FELIPE DEIDA VARGAS           REDACTED                            REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652540 FELIPE DIAZ MOLINA            H C 645 BOX 8167                                                                                                          TRUJILLO ALTO     PR         00976
   164467 FELIPE E EFRECE MORENO        REDACTED                            REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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   652541 FELIPE E LAHOZ RODRIQUEZ                    COND MANS DE GARDEN HILLS   8J TORRE SUR                                                                            GUAYNABO            PR           00965
   652542 FELIPE E TEXIDOR MARIN                      JARD DE CAPARRA             H9 CALLE 11                                                                             BAYAMON             PR           00959
          FELIPE EMMANUEL CASTRO
   164468 BERASTAIN                                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164469 FELIPE ESPINEL                              REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652544 FELIPE ESQUILIN OSORIO                      HC 01 BOX 12935                                                                                                     RIO GRANDE          PR           00745
   652546 FELIPE F GANDARA                            163 CALLE VILLAMIL APT 2                                                                                            SAN JUAN            PR           00911
   652547 FELIPE F IRIARTE COLLAZO                    URB FOREST HILLS            306 CALLE 2                                                                             BAYAMON             PR           00959
   164470 FELIPE F PLA BAQUERO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FELIPE FEBLES CENTENO / NEW
   652548 KING CREAM                                  2 RUIZ BELVIS               SUITE 1                                                                                 MOROVIS             PR           00687
   652549 FELIPE FEBO MENDEZ                          URB RIO GRANDE ESTATES      11310 CALLE REINA VICTORIA                                                              RIO GRANDE          PR           00745
   652550 FELIPE FEBRES RIVERA                        URB EDUARDO SALDANA         C 1 AVE RODRIGUEZ EMMA                                                                  CAROLINA            PR           00630

   652551 FELIPE FELICIANO CARRABALLO                 P O BOX 2390                                                                                                        SAN JUAN            PR           00919
   164473 FELIPE FERRER ADRIEL                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652552 FELIPE FLORES MERCED                        PO BOX 1104                                                                                                         AGUAS BUENAS        PR           00703
   652553 FELIPE FLORES PEREZ                         PO BOX 1424                                                                                                         HORMIGUEROS         PR           00660‐1424
   164474 FELIPE FLORES TIRADO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652554 FELIPE FONTANEZ REYES                       BO CERCADILLO               BOX 1070                                                                                ARECIBO             PR           00612

   652555 FELIPE FRATICELI RUIZ                       URB FAIRVIEW                1884 CALLE SEBASTIAN OLANO                                                              SAN JUAN            PR           00926
          FELIPE GARCIA BUIL Y WESTERN
   164476 BANK                                        AREA DE TESORO              DIVISION DE CONCILIACION                                                                SAN JUAN            PR           00902
   652557 FELIPE GARCIA RODRIGUEZ                     HC 01 BOX 3879                                                                                                      MAUNABO             PR           00707
   652558 FELIPE GIULFUCHI RAMOS                      URB MARIOLGA                B9 CALLE SAN ANTONIO                                                                    CAGUAS              PR           00725‐6422
   652559 FELIPE GOMEZ ANDUJAR                        HC 1 BOX 8953                                                                                                       HATILLO             PR           00659
   164478 FELIPE GOMEZ CALCANO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164479 FELIPE GONZALEZ GONZALEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   652561 FELIPE GONZALEZ RODRIGUEZ                   URB MARIA OLGA              SAN JOAQUIN CALLE A Y B                                                                 CAGUAS              PR           00725
   652562 FELIPE GONZALEZ ROLDAN                      URB CIUDAD MASSO            F 214 CALLE 10                                                                          SAN LORENZO         PR           00754
   164480 FELIPE GONZALEZ SANCHEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652563 FELIPE GONZALEZ SANTOS                      P.O. BOX 11991                                                                                                      TOA ALTA            PR           00954
   164482 FELIPE GUZMAN RIVERA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   164483 FELIPE HERNANDEZ MERCADO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   164484 FELIPE I DEL VALLE ALMODOVAR                REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164485 FELIPE III SANTIAGO ORTIZ                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164486 FELIPE ILLAS VELAZQUEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164487 FELIPE IZQUIERDO TOUZET                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164488 FELIPE J ARIAS QUINONES                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652566 FELIPE J FERNANDEZ                          PO BOX 362044                                                                                                       SAN JUAN            PR           00936‐2044
   652567 FELIPE J ORTIZ RODRIGUEZ                    URB SANTA ELENA             F 36 CALLE 8                                                                            BAYAMON             PR           00957
   164490 FELIPE J RODRIGUEZ NIETO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652568 FELIPE J SANTIAGO ZAYAS                     URB VENUS GARDENS 1677      CALLE NUEVO LAREDO                                                                      SAN JUAN            PR           00926
   164491 FELIPE LOPEZ ANTONETTY                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652572 FELIPE LOPEZ MALAVE                         PO BOX 814                                                                                                          CAYEY               PR           00737‐0814
   652573 FELIPE LUGO MARIN                           HC 1 BOX 5912                                                                                                       UTUADO              PR           00631
   164492 FELIPE LUYANDO FIGEROA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652576 FELIPE MARIN                                PO BOX 21365                                                                                                        SAN JUAN            PR           00928



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  652578 FELIPE MARTINEZ RODRIGUEZ                    BOX 828                                                                                                          COAMO               PR           00769
  652580 FELIPE MARTINEZ SIERRA                       BOX 6959                                                                                                         CIDRA               PR           00739
  652582 FELIPE MEDINA AULET                          P O BOX 248                                                                                                      MANATI              PR           00674
  652583 FELIPE MEDINA CINTRON                        HC 3 BOX 9906                                                                                                    YABUCOA             PR           00767
  652584 FELIPE MEDINA LIMA                           HC 02 BOX 14912                                                                                                  ARECIBO             PR           00612
                                                      HACIENDA SAN JOSE‐VILLA
   652585 FELIPE MELENDEZ                             CARIBE                     VC 71 VIA CUNDEAMOR                                                                   CAGUAS              PR           00725
   164493 FELIPE MELENDEZ DE LEON                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   652586 FELIPE MELENDEZ ROMAN                       PARCELA IMBERY             39 CALLE 4                                                                            BARCELONETA         PR           00617
   652587 FELIPE MENDEZ LAMA                          MINILLAS STATION           BOX 41013                                                                             SAN JUAN            PR           00940
          FELIPE MENDEZ PEREZ Y NELSON
   164494 D SOTO                       REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   164495 FELIPE MERCADO ROSARIO       REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   652588 FELIPE MERCADO VILLALBA      URB CIUDAD UNIVERSITARIA                  P46 CALLE 16                                                                          TRUJILLO ALTO       PR           00976
   164496 FELIPE MESTRE SERRANO        REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   652486 FELIPE MIRANDA LOPEZ         PO BOX 1212                                                                                                                     CAGUAS              PR           00726
   652589 FELIPE MIRANDA ROMAN         URB PUENTE NUEVO                          271 CALLE 1 NE                                                                        SAN JUAN            PR           00920‐2303
   164498 FELIPE MONTALVO BETANCES     REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   164499 FELIPE MORALES ADORNO        REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   652594 FELIPE MORALES DEL RIO       CALLE RAMON RIVERA                        BUZN 25504                                                                            CAYEY               PR           00736
   652596 FELIPE MORALES NIEVES        257 CALLE ADUANA STE 292                                                                                                        MAYAGUEZ            PR           00680
   652599 FELIPE MOREAU GUERRERO       PO BOX 664                                                                                                                      RIO GRANDE          PR           00745
   652600 FELIPE MUNOZ RODRIGUEZ       HC 763 BOX 4122                                                                                                                 PATILLAS            PR           00723
   164502 FELIPE N TORRES LAMARQUE     REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   164503 FELIPE NARVAEZ MARRERO       REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   652601 FELIPE NAZARIO & ASOCIADOS                  PO BOX 3871                                                                                                      GUAYNABO            PR           00984
   164460 FELIPE NEGRON COLON                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   652604 FELIPE NIEVES MELENDEZ                      RR 4 BOX 951                                                                                                     BAYAMON             PR           00956
   652605 FELIPE NOVA BARROS                          PO BOX 7126                                                                                                      PONCE               PR           00732
   164504 FELIPE NUNEZ BONILLA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   652606 FELIPE O BORGES HERNANDEZ                   P O BOX 163                                                                                                      QUEBRADILLAS        PR           00678
   652607 FELIPE O CRESPO RODRIGUEZ                   HC 20 BOX 23014                                                                                                  SAN LORENZO         PR           00754 9610

   164506 FELIPE O HERNANDEZ TORRES                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   164507 FELIPE OLMEDA AVILES                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   164508 FELIPE ORTEGA MUNIZ                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   652608 FELIPE ORTIZ ARTAUN                         PO BOX 363007                                                                                                    SAN JUAN            PR           00936‐3007

   652609 FELIPE ORTIZ DE JESUS                       URB ALTURAS DE FLAMBOYAN   MO 33 CALLE 2 BLOQUE 507                                                              BAYAMON             PR           00960
   652610 FELIPE ORTIZ DIAZ                           BO GUAVATE                 21904 SECTOR MIGUEL DIAZ                                                              CAYEY               PR           00636
   652487 FELIPE ORTIZ QUI¥ONES                       URB SABANA GARDENS         2 9 CALLE 6                                                                           CAROLINA            PR           00983
   652611 FELIPE ORTIZ QUI¥ONES                       URB SABANA GRANDE          2 9 CALLE 6                                                                           CAROLINA            PR           00983
   164509 FELIPE ORTIZ VALENTIN                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   164510 FELIPE OSONAS MORELL                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   652612 FELIPE OTERO                                PO BOX 506                                                                                                       MANATI              PR           00674
   164511 FELIPE OTERO BAEZ                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   652613 FELIPE PACHECO PACHECO                      HC 01 BOX 6484                                                                                                   COROZAL             PR           00783
   652614 FELIPE PAGAN                                564 CALLE ARUZ                                                                                                   SAN JUAN            PR           00917
   164512 FELIPE PAGAN BERROCALES                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   652618 FELIPE PEREZ FUENTES                        P O BOX 242                                                                                                      LOIZA               PR           00772
   652619 FELIPE PEREZ GURIBE                         VILLA DEL CARMEN           938 CALLE SAMARIA                                                                     PONCE               PR           00716



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  164513 FELIPE PEREZ ROSARIO                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  652621 FELIPE PIAZZA MORESCHI                       APARTADO 571                                                                                                         YAUCO               PR         00698
  164514 FELIPE PITRE MONTALVO                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  652622 FELIPE QUILES                                HC 02 BOX 14295                                                                                                      ARECIBO             PR         00612

   164515 FELIPE QUINONES MALDONADO REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   164516 FELIPE QUINONEZ BATISTA       REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652623 FELIPE R JIMENEZ MARCELL      SUMMIT HILLS                                1678 CALLE BELEN APTO 3                                                                SAN JUAN            PR         00920
   652624 FELIPE R TORRES VAZQUEZ       PO BOX 10005                                                                                                                       GUAYAMA             PR         00785
   164517 FELIPE RALAT                  REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   164518 FELIPE RAMIREZ IRIZARRY       REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FELIPE RAMOS PEREZ/ ELIZABETH
   164520 PEREZ                         REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652625 FELIPE RELANT TORRES          PO BOX 7145                                                                                                                        PONCE               PR         00732
   164521 FELIPE RIJO RIJO              REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652626 FELIPE RIOS RODRIGUEZ         HC 02 BOX 44319                                                                                                                    VEGA BAJA           PR         00683
   652627 FELIPE RIVERA ALICEA          CIUDAD MASSO                                B 18 CALLE 2                                                                           SAN LORENZO         PR         00754
   652628 FELIPE RIVERA ALVERIO         HC 03 BOX 12220                                                                                                                    YABUCOA             PR         00767

   652629 FELIPE RIVERA AMARO                         BUZON 81 BO SANTAIGO Y LIMA                                                                                          NAGUABO             PR         00718
   652630 FELIPE RIVERA BERGOLLO                      P O BOX 155                                                                                                          FLORIDA             PR         00650
   652631 FELIPE RIVERA COLON                         URB EL PILAR                  123 CALLE PEPITA ALBANDOS                                                              CANOVANAS           PR         00729
   652632 FELIPE RIVERA ENCARNACION                   URB SABANA GARDENS            9‐25 CALLE 13                                                                          CAROLINA            PR         00983
   164522 FELIPE RIVERA ESTREMERA                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652633 FELIPE RIVERA ORTIZ                         PO BOX 861                                                                                                           OROCOVIS            PR         00720‐0861
   652635 FELIPE RIVERA RIVERA                        RES SULTANA                   62 CALLE GIRALDA                                                                       MAYAGUEZ            PR         00680
   652636 FELIPE RIVERA ROSARIO                       10 1‐15 SAN FELIPE                                                                                                   ARECIBO             PR         00612
   164523 FELIPE RIVERA SANCHEZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652637 FELIPE RIVERA VERDEJO                       ALT DE RIO GRANDE             N 671 CALLE MAIN                                                                       RIO GRANDE          PR         00917
   652488 FELIPE RODRIGUEZ                            HC 2 BOX 10658                                                                                                       JUNCOS              PR         00777
   164525 FELIPE RODRIGUEZ GARAY                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   164526 FELIPE RODRIGUEZ GROUP                      URB VILLAS DEL CARMEN         B10 CALLE 3                                                                            GURABO              PR         00778
   164527 FELIPE RODRIGUEZ LEBRON                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652638 FELIPE RODRIGUEZ LEON                       P O BOX 2593                                                                                                         GUAYNABO            PR         00969
   164528 FELIPE RODRIGUEZ LOPEZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652640 FELIPE RODRIGUEZ MORALES                    CARR 102 KM 18 5              BOX 114                                                                                CABO ROJO           PR         00623
   652641 FELIPE RODRIGUEZ PEREZ                      URB MARISOL                   D 14 CALLE 5                                                                           ARECIBO             PR         00612‐2934

   164529 FELIPE RODRIGUEZ RODRIGUEZ                  REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   164530 FELIPE ROMAN CABAN                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652645 FELIPE ROMAN GARCIA                         PO BOX 261                                                                                                           AGUADA              PR         00602
   652646 FELIPE ROMAN RIVERA                         URB VENUS GARDENS             A24 CALLE ENEAS                                                                        SAN JUAN            PR         00926
   652647 FELIPE ROSADO CALDERON                      URB VILLA DEL NORTE           704 CALLE JADE                                                                         MOROVIS             PR         00687
          FELIPE ROSARIO GARCIA / LINDA
   164532 E RIVERA                                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   164533 FELIPE ROSARIO PINERO                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   652649 FELIPE RUIZ FIGUEROA                        LOIZA STATION                 91 PO BOX 12383                                                                        SAN JUAN            PR       0091483
   652489 FELIPE RUIZ MORALES                         PO BOX 404                                                                                                           HUMACAO             PR       00792‐0404
   164535 FELIPE S BAEZ QUINONES                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   652650 FELIPE S MARINEZ SILVESTRE                  AVE BARBOSA                   311 ALTOS                                                                              SAN JUAN            PR       00917
   652651 FELIPE S MARINEZ SOTO                       BDA ISRAEL                    311 AVE BARBOSA ALTOS                                                                  SAN JUAN            PR       00917
   164536 FELIPE S SANTANA RAMIREZ                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   164537 FELIPE S. ORTIZ                             REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED



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  164538 FELIPE SANABRIA QUINONES                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  164539 FELIPE SANCHEZ SANTIAGO                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  164540 FELIPE SANTIAGO MARTINEZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  652483 FELIPE SANTIAGO ORTIZ                        PO BOX 672                                                                                                           COAMO             PR         00769
  164541 FELIPE SANTIAGO RIOS                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  164542 FELIPE SANTIAGO RODRIGUEZ                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  652655 FELIPE SANTIAGO SANTIAGO                     BDA SAN JOSE                  5 CALLE D                                                                              MANATI            PR         00674
  652656 FELIPE SANTOS RODRIGUEZ                      URB CAGUAX                    C 30 CALLE ARANAX                                                                      CAGUAS            PR         00725
  164543 FELIPE SANTUCHI FELICIANO                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  652657 FELIPE SEDA LUCENA                           HC 01 BOX 7613                                                                                                       CABO ROJO         PR         00623
  164544 FELIPE SERRANO ROSARIO                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  652658 FELIPE SILVERIO HELENA                       P O BOX 29633                 65 INFANTERIA STA                                                                      SAN JUAN          PR         00929
                                                      URB VALLE ARRIBA HGHT
   652659 FELIPE SOTO SERRANO                         STATION                       PO BOX 4966                                                                            CAROLINA          PR         00984
   652660 FELIPE SUAREZ ALVARADO                      URB COUNTRY CLUB              NA 36 CALLE 415                                                                        CAROLINA          PR         00982
   652661 FELIPE SUERO JIMENEZ                        ALT DE BAYAMON                77 PASEO C                                                                             BAYAMON           PR         00956
   652662 FELIPE TANON BERMUDEZ                       HC 03 BOX 5866                                                                                                       NARANJITO         PR         00719
   652663 FELIPE TIRADO DAVILA                        201 URB LAS PALMAS                                                                                                   SABANA GRANDE     PR         00637
   652664 FELIPE TORRES                               1306 AVE MONTECARLO 182                                                                                              SAN JUAN          PR         00924
   164546 FELIPE TORRES HERNANDEZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164547 FELIPE TORRES LEON                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652665 FELIPE TORRES LUGO                          PO BOX 702                                                                                                           LAJAS             PR         00667
   652666 FELIPE TORRES PEREZ                         PO BOX 120                                                                                                           AIBONITO          PR         00705
   652490 FELIPE TORRES RODRIGUEZ                     HC 3 BOX 15610                                                                                                       UTUADO            PR         00641
   652667 FELIPE TORRES TORREGROSA                    TRUJILLO ALTO STATION         PO BOX 138                                                                             TRUJILLO ALTO     PR         00976
   652668 FELIPE TRINIDAD RODRIGUEZ                   PO BOX 4151                                                                                                          CAROLINA          PR         00984
   652491 FELIPE VALENTIN CRUZ                        RES YAGUEZ                    EDIF 18 APT 175                                                                        MAYAGUEZ          PR         00680
   652669 FELIPE VARGAS FIGUEROA                      BO CAPA                                                                                                              MOCA              PR         00603
          FELIPE VARGAS SANTOS DBA
   164549 WESTERN PAPER                               P. O. BOX 2528                                                                                                       MOCA              PR         00676‐0000
   652670 FELIPE VAZQUEZ FLORES                       BO JUAN SANCHEZ              237‐318 CALLE 2                                                                         BAYAMON           PR         00959
   652671 FELIPE VAZQUEZ MORALES                      HC 71 BOX 1587                                                                                                       NARANJITO         PR         00719
   164552 FELIPE VAZQUEZ SANTOS                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652672 FELIPE VEGA                                 COM OLIMPO SOLAR 135                                                                                                 GUAYAMA           PR         00784
   164553 FELIPE VEGA HERNANDEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652673 FELIPE VEGA SAMOL                           BO LEGUISAMO                 CARR 108 KM 6 6                                                                         MAYAGUEZ          PR         00680
   164554 FELIPE VELEZ MUNIZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652676 FELIPE VELLON REYES                         HC 01 BOX 6984                                                                                                       LAS PIEDRAS       PR         00771
   652677 FELIPE VILCHES REYES                        PO BOX 505                                                                                                           AGUAS BUENAS      PR         00703
                                                      1400 CALLE AMERICO SALAS PDA
   652679 FELIPE'S PLUMBING SERVICE                   20                           APT 201                                                                                 SANTURCE          PR         00907
   652681 FELIRIA GARCIA DIAZ                         PUERTO NUEVO                 1053 ANDORRA                                                                            SAN JUAN          PR         00920
   164557 FELISA COLON ORTIZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164558 FELISA CORTES QUILES                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652686 FELISA DEL VALLE                            49 RAHOLISA GARDENS                                                                                                  SAN SEBASTIAN     PR         00685
   652687 FELISA DEL VALLE MELENDEZ                   URB RIVIERAS DE CUPEY        F 11 CALLE MONTE BRITON                                                                 SAN JUAN          PR         00926
   164559 FELISA MADERA RENTAS                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652689 FELISA MIRANDA AVILES                       HC 02 BOX 14283                                                                                                      ARECIBO           PR         00612
   652691 FELISA RAMIREZ SEGARRA                      LEVITTOWN LAKES              ED 24 CALLE JOSE G BENITEZ                                                              TOA BAJA          PR         00949
   164560 FELISA VAZQUEZ RODRIGUEZ                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164561 FELITO CEDENO RIJO                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164562 FELITO F LOPEZ ALICEA                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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   164593 FELIU ROSADO MD, DOMINGO                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164602 FELIUT GUZMAN DEL VALLE                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164603 FELIX A ACOSTA CRUZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164604 FELIX A ANDINO RODRIGUEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652708 FELIX A BAEZ MERCADO                        PO BOX 187                                                                                                      SABANA GRANDE       PR           00637‐0187
   164605 FELIX A BETANCES REXACH                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164606 FELIX A BONNET ALVAREZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652711 FELIX A BRITO GATON                         RES EL FLAMBOYAN            EDIF 14 APT 105                                                                     SAN JUAN            PR           00924
   652712 FELIX A CABAN RAMOS                         119 COM MORA GUERRERO                                                                                           ISABELA             PR           00662
   164607 FELIX A CAMACHO MENA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164608 FELIX A CAMACHO ORTIZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164609 FELIX A CASIANO RODRIGUEZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652715 FELIX A CEPEDA LIRIANO                      URB VIERAS                  417 CALLE SAN AGUSTIN                                                               FAJARDO             PR           00738
   164610 FELIX A COLON ARRIETA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   652716 FELIX A COLON MIRO                          80 CALLE RODOLFO GONZALEZ                                                                                       ADJUNTAS            PR           00601

   164611 FELIX A CONCEPCION SANTANA                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652718 FELIX A CORDERO PEREZ                       URB CORCHADO                148 CALLE GARDENIA                                                                  ISABELA             PR           00662
   164612 FELIX A CORTES ORTIZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652720 FELIX A COSME MOJICA                        COTTO STA                   PO BOX 9024                                                                         ARECIBO             PR           00613
   164613 FELIX A COTTO FEBO                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164614 FELIX A COTTO GARCIA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652721 FELIX A CRUZ CASTRO                         HC 15 BOX 15150                                                                                                 HUMACAO             PR           00791
   652722 FELIX A CRUZ RIVERA                         PO BOX 907                                                                                                      CIDRA               PR           00739
   652723 FELIX A CRUZ ROMAN                          HC 04 BOX 30474                                                                                                 HATILLO             PR           00659
   652724 FELIX A CURET COLON                         URB ENRAMADA                PO BOX 661                                                                          CATA¥O              PR           00963
   652725 FELIX A DE LEON VALENTIN                    COMUNIDAD MIRAMAR           676‐47 CALLE GARDENIA                                                               GUAYAMA             PR           00784
   164616 FELIX A DI CRISTINA MIRANDA                 REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652726 FELIX A ESTRADA GARCIA                      URB SANTA TERESITA          6122 CALLE SAN CLAUDIO                                                              PONCE               PR           00730
   164617 FELIX A FALCON RIVERA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652727 FELIX A FALCON ROMAN                        URB PARKVILLE               I 15 CALLE HARDING                                                                  GUAYNABO            PR           00969

   652729 FELIX A FLORES CARRASQUILLO                 BOX 212                                                                                                         CIDRA               PR           00739
   652730 FELIX A GARCIA                              BO CAPETILLO 1013           CALLE WILLIAM JONES                                                                 SAN JUAN            PR           00925
   652731 FELIX A GARCIA ARROYO                       URB COUNTRY CLUB            J B 5 CALLE 227                                                                     CAROLINA            PR           00982

   164619 FELIX A GONZALEZ CARABALLO                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652732 FELIX A GONZALEZ GONZALEZ                   URB TERESITA                T 9 CALLE 20                                                                        BAYAMON             PR           00961

   652733 FELIX A GONZALEZ HERNANDEZ                  PARCELAS HILL BROTHER       49 CALLE 15                                                                         SAN JUAN            PR           00924
   652734 FELIX A GONZALEZ RIVERA                     PO BOX 863                                                                                                      CIALES              PR           00638
   164620 FELIX A GORBEA ORTIZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652735 FELIX A GRANA RAFFUCCI                      1619 ANTONSANTI ST APT 2                                                                                        SAN JUAN            PR           00912
   164621 FELIX A HERNANDEZ MILLAN                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652736 FELIX A HERNANDEZ ORTIZ                     URB LAS ALONDRAS            F 35 CALLE 5                                                                        VILLALBA            PR           00766
   164622 FELIX A IRIZARRY NIEVES                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164623 FELIX A LASALLE LASALLE                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164624 FELIX A LEBRON PENA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FELIX A LEBRON SALDANA / ANA
   164625 R DE LEBRON                                 REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164626 FELIX A LIZASUAIN MARTINEZ                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  652737 FELIX A LOPEZ                                HC 20 BOX 26435                                                                                                SAN LORENZO       PR         00754‐9620
  164628 FELIX A LOPEZ CALDERON                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  164629 FELIX A LOPEZ FRANQUI                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         FELIX A MALDONADO
  652739 BENGOCHEA                                    VILLA CAROLINA             161 14 CALLE 422                                                                    CAROLINA          PR         00979
         FELIX A MALDONADO RIVERA/
  164630 LEILA A RIVERA                               REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  652740 FELIX A MARTINEZ                             HC 43 BOX 10715                                                                                                CAYEY             PR         00736
  164631 FELIX A MARTINEZ CUEVAS                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  164632 FELIX A MARTINEZ MOLIGAN                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      PMB 094 CORREO ESMERALDA
   652741 FELIX A MARTINEZ RODRIGUEZ                  53                                                                                                             GUAYNABO          PR       00969‐4429
   164633 FELIX A MEDINA ORTIZ                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   164634 FELIX A MENDEZ BRAVO                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   164635 FELIX A MENDEZ PINERO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   164636 FELIX A MERCADO IRIZARRY                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   652742 FELIX A MIELES ESTREMERA                    HC 1 BOX 9866                                                                                                  HATILLO           PR       00659
   164637 FELIX A MOLINA ESCOBALES                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   652743 FELIX A MORALES                             PO BOX 623                                                                                                     QUEBRADILLAS      PR       00678
   164638 FELIX A MORALES IGLESIAS                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   164639 FELIX A MORALES MANGUAL                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   164640 FELIX A MORALES SANCHEZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   652745 FELIX A MU¥OZ TORRES                        PO BOX 842                                                                                                     JUANA DIAZ        PR       00795
   164641 FELIX A NEGRON CANCEL                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   652747 FELIX A OCASIO GONZALEZ                     URB VEVE CALZADA           374 CALLE 19                                                                        FAJARDO           PR       00738
   652748 FELIX A ORFILA ROMAN                        P O BOX 143351                                                                                                 ARECIBO           PR       00614
   652749 FELIX A ORTIZ COLON                         PO BOX 351                                                                                                     CANOVANAS         PR       00729
   164642 FELIX A OTERO QUINONES                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   164643 FELIX A PABON OCASIO                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   164644 FELIX A PADILLA ROMERO                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   652751 FELIX A PADRO VAZQUEZ                       P O BOX 1930                                                                                                   CAGUAS            PR       00726 1930
   652752 FELIX A PAGAN CENTENO                       PO BOX 1650                                                                                                    LARES             PR       00669
   164645 FELIX A PAGAN GONZALEZ                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   164646 FELIX A PELLICIER FIGUEROA                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   164647 FELIX A PENA YAPOR                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   652753 FELIX A PEREZ                               PO BOX 34394                                                                                                   FORT BUCHANAN     PR       00934
   164648 FELIX A RAMOS AYALA                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   652754 FELIX A RIVERA                              MANSIONES SUR              SD 58 PLAZA 5                                                                       LEVITTWON         PR       00949
   164649 FELIX A RIVERA DORAN                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   164650 FELIX A RIVERA GONZALEZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   164651 FELIX A RIVERA PIZARRO                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   164652 FELIX A RIVERA RIVERA                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   164653 FELIX A RIVERA SAEZ                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   164654 FELIX A ROBLES ALOYO                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   652707 FELIX A RODON ALGARIN                       HC 3 BOX 15212                                                                                                 PONCE             PR       00732
          FELIX A RODRIGUEZ /DBA
   652755 PAPOLO BUSLINE                              BO CERRO GORDO             105 ANEXO                                                                           SAN LORENZO       PR         00754
   652756 FELIX A RODRIGUEZ DE LEON                   BOX 975                                                                                                        BAJADERO          PR         00616
   164655 FELIX A RODRIGUEZ MEJIA                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652758 FELIX A ROMAN TIRADO                        EXT VILLA RICA             DF CALLE 5                                                                          BAYAMON           PR         00959
   652759 FELIX A ROSA GORDIAN                        PO BOX 293                                                                                                     SAN LORENZO       PR         00754 0293
   652760 FELIX A ROSADO ALICEA                       BO CEIBA PARCELAS HEUVIA   BOX 7886                                                                            CIDRA             PR         00739
   652761 FELIX A RUIZ ALAMEDA                        URB SANTA TERESITA         BD 3 CALLE 17                                                                       PONCE             PR         00730



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  164659 FELIX A SALAS ADORNO                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  652762 FELIX A SANTIAGO FIGUEROA                    HC 01 BOX 5068                                                                                                   BARRANQUITAS      PR         00794
  652764 FELIX A SCHMIDT COLON                        HC 03 BOX 13366                                                                                                  JUANA DIAZ        PR         00795
  164660 FELIX A SILVA ROSADO                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  164661 FELIX A SOTOMAYOR RAMOS                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  164663 FELIX A TORRES HERNANDEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  652765 FELIX A VALENTIN                             PO BOX 1517                                                                                                      SAN SEBASTIAN     PR         00685

   652766 FELIX A VAZQUEZ CARRASQUILLO HC 07 BOX 33771                                                                                                                 CAGUAS            PR         00727
   164664 FELIX A VEGA GARCIA          REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164665 FELIX A VELEZ                REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164667 FELIX A ZAMOT RODRIGUEZ      REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652769 FELIX A ZAPATA SANTALIZ      P O BOX 5802                                                                                                                    MAYAGUEZ          PR         00681
   164668 FELIX A ZAYAS COLON          REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652770 FELIX A ZEPEDA               HC 91 BOX 8563                                                                                                                  VEGA ALTA         PR         00692
   164669 FELIX A. ACEVEDO MUNIZ       REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164670 FELIX A. AVILEZ SANTIAGO     REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164671 FELIX A. MATIAS LOPEZ        REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164672 FELIX A. MEDINA              REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164673 FELIX A. MERCEDES NARANJO    REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164674 FELIX A. MIGENIS LOPEZ       REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   652771 FELIX A. MONSERRATE CLAUDIO                 SICOSOCIAL TRUJILLO ALTO                                                                                         Hato Rey          PR         009360000
          FELIX A. RIOS LOPEZ/DBA TONIN
   164675 DISTRIBUTO                                  APARTADO 922                                                                                                     BARRANQUITAS      PR         00794
   164676 FELIX A. RIVERA ALBARRACIN                  REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164677 FELIX A. RIVERA RIVERA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164679 FELIX ABRAMS GANDIA                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652772 FELIX ABREU MONTILLA                        URB LAS ANTILLAS           E 24 CALLE PUERTO RICO                                                                SALINAS           PR         00751‐1172
   652773 FELIX ACEVEDO SANTIAGO                      HATO ARRIBA BZN 98         CALLE A                                                                               ARECIBO           PR         00612
   652774 FELIX ACOSTA MERCADO                        MONTE GRANDE               89 CRUCE VEGA                                                                         CABO ROJO         PR         00623
   652775 FELIX ADORNO GONZALEZ                       BO MARICAO                 APT 5076                                                                              VEGA ALTA         PR         00692
   652776 FELIX ADORNO LOPEZ                          BO CANDELARIA              BOX 882                                                                               VEGA ALTA         PR         00962
   652777 FELIX ADORNO NATAL                          PO BOX 5103                                                                                                      VEGA ALTA         PR         00692
   652779 FELIX AGOSTO BECERRIL                       PO BOX 70166                                                                                                     SAN JUAN          PR         00936‐8166
   652780 FELIX AGOSTO GONZ                           34 BDA BORINQUEN                                                                                                 SAN JUAN          PR         00921
   164682 FELIX AGOSTO REYES                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652781 FELIX AGOSTO ROSARIO                        34 BDA BORINQUEN                                                                                                 SAN JUAN          PR         00921
   652783 FELIX AGUILAR MORALES                       HC 04 BOX 47646                                                                                                  MAYAGUEZ          PR         00680‐9435
   652784 FELIX AGUILU DIAZ                           URB MADELINE               L 10 CALLE 18                                                                         TOA ALTA          PR         00953
   164684 Felix Alan Castro Burgos                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652785 FELIX ALBALADEJO RIOS                       PO BOX 452                                                                                                       TOA ALTA          PR         00954
   652786 FELIX ALBERTO COTTO FEBO                    PO BOX 21385                                                                                                     SAN JUAN          PR         00926‐1365
   652789 FELIX ALGARIN PLAZA                         JARD DE PALMAREJO          H 4 CALLE 4                                                                           CANOVANAS         PR         00729
   652790 FELIX ALICEA FIGUEROA                       PARC JAUCA                 12 CALLE 3                                                                            SANTA ISABEL      PR         00757
   652791 FELIX ALICEA MIRANDA                        1300 WEST 53 RD STREET     APT 33                                                                                HIALEAH           FL         33012‐9012
   164687 Felix Almodovar Almodovar                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164689 FELIX ALVARADO MORALES                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164690 FELIX ALVARADO RIVERA                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652792 FELIX ALVAREZ RAMOS                         VILLA PALMERAS             205 ALTOS CALLE PALACIOS                                                              SAN JUAN          PR         00915
   652794 FELIX ALVAREZ SANTAELLA                     URB VILLA CAROLINA         121 H6 CALLE 64                                                                       CAROLINA          PR         00986
   652795 FELIX ALVELO                                60 CALLE JOSE C VAZQUEZ                                                                                          AIBONITO          PR         00705
   164691 FELIX ALVERIO JIMENEZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  652796 FELIX ANDINO                                 PO BOX 924                                                                                                          CAROLINA            PR         00986
  164692 FELIX ANDINO GONZALEZ                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   164696 FELIX ANGEL RODRIGUEZ GOTAY                 REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652797 FELIX APONTE DELGADO                        BONEVILLE VALLEY           48 CALLE AGUAS BUENAS                                                                    CAGUAS              PR         00725
   164698 FELIX APONTE GONZALEZ                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652798 FELIX AQUINO GARAY                          SICOSOCIAL TRUJILLO ALTO                                                                                            Hato Rey            PR         009360000
   652799 FELIX ARCAY RODRIGUEZ                       408 CALLE VICTORIA                                                                                                  PONCE               PR         00731
   164699 FELIX ARCE DIAZ                             REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652800 FELIX AREVALO MARTINEZ                      URB VENUS GARDENS NORTE    1688 CALLE SALTILLO                                                                      SAN JUAN            PR         00926
   652801 FELIX ARIAS CARBONELL                       URB COSTA DE ORO           I 190 CALLE E                                                                            DORADO              PR         00646

   652803 FELIX ARNALDO CRUZ VAZQUEZ                  PO BOX 907                                                                                                          CIDRA               PR         00739
   652804 FELIX AROCHO ROSADO                         P O BOX 1358                                                                                                        SAN SEBASTIAN       PR         00685
   652805 FELIX ARROYO DELGADO                        RR 6 BOX 9390                                                                                                       SAN JUAN            PR         00926
   164700 FELIX ARROYO NIEVES                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   652807 FELIX ARZOLA ROSADO                         URB SANTA MARIA            515 CALLE FERROCARRIL STE 1                                                              PONCE               PR         00717‐1111
   164708 FELIX AUTO PARTS                            PO BOX 190876                                                                                                       SAN JUAN            PR         00919‐0876
   164709 FELIX AVILES                                REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652808 FELIX AVILES GONZALEZ                       BO PUEBLO NUEVO            18 CALLE 6                                                                               VEGA BAJA           PR         00693‐4918
   164710 FELIX AVILES MEJIAS                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652810 FELIX AYALA CORREA                          PO BOX 24                                                                                                           LOIZA               PR         00772
   652813 FELIX AYALA RIOS                            HC 1 BOX 2376                                                                                                       COMERIO             PR         00782
   164716 FELIX B CORDERO ROCA                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652815 FELIX B FLORES RODRIGUEZ                    HC 01 BOX 8756                                                                                                      VEGA ALTA           PR         00692
   652816 FELIX B RAMOS SOLER                         HC 05 BOX 50509                                                                                                     MAYAGUEZ            PR         00680
   164718 FELIX B SANTIAGO SANTIAGO                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   164721 FELIX BARBOSA RAMOS                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   164722 FELIX BARBOSA ROMAN                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   164723 FELIX BARRERAS ACOSTA                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   164725 FELIX BELLO DE LA CRUZ                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652820 FELIX BELTRAN TORRES                        BO BORINQUEN               110 CALLE B 2                                                                            PONCE               PR         00731
   652821 FELIX BERGOLLO ROBLES                       URB FLAMINGO HILLS         232 CALLE 8                                                                              BAYAMON             PR         00956
   164726 FELIX BERMUDEZ VAZQUEZ                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652822 FELIX BERRIOS MARTINEZ                      HC 43 BOX 10840                                                                                                     CAYEY               PR         00736‐9620
   652694 FELIX BERRIOS ORTIZ                         PMB 79 HC 71 BOX 3766                                                                                               NARANJITO           PR         00719
   652823 FELIX BERRIOS SANTIAGO                      P O BOX 211                                                                                                         BARRANQUITAS        PR         00794

   652824 FELIX BERRIOS VALENTIN                      BO CORAZON                 169 CALLE MILAGROS PANEL 11                                                              GUAYAMA             PR         00784

   652826 FELIX BERTO RAMIREZ GARCIA                  PO BOX 7126                                                                                                         PONCE               PR         00732
   164727 FELIX BOBE VEGA                             REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652827 FELIX BONET SANTIAGO                        VICTORIA HEIGHTS           J 5 CALLE 3                                                                              BAYAMON             PR         00959‐4119
   652828 FELIX BONILLA                               BOX 975                                                                                                             CATA¥O              PR         00963
   652829 FELIX BONILLA TORRES                        PO BOX 745                                                                                                          VILLALBA            PR         00766
   164728 FELIX BOU NEVAREZ                           REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652831 FELIX BURGOS MORALES                        57 CALLE LA DIEZ                                                                                                    HUMACAO             PR         00791
   652832 FELIX BURGOS ORTIZ                          HC 01 BOX 3313                                                                                                      JAYUYA              PR         00664‐9737
   652833 FELIX C COLON MONTANEZ                      SABANA SECA                7342 CALLE ROJAS BOX 148                                                                 TOA BAJA            PR         00952‐4356
   164729 FELIX C CRUZ RODRIGUEZ                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   652835 FELIX C PADRO SANTIAGO                      P O BOX 1930                                                                                                        CAGUAS              PR         00726
   652838 FELIX C RIVERA LLANOS                       PO BOX 2957                                                                                                         CAROLINA            PR         00984‐2957



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  164730 FELIX C SALAS SANCHEZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  652839 FELIX C SANTIAGO RAMOS                       PARC AMALIA MARIN           5 CALLE F                                                                          PONCE             PR         00731
  164731 FELIX C. RODRIGUEZ ALAYON                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  652842 FELIX CABRERA GONZALEZ                       PO BOX 654                                                                                                     SAN GERMAN        PR         00683‐0654
  164732 FELIX CABRERA ROSARIO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  652844 FELIX CALDERON CRUZ                          URB HERMANAS DAVILA         J 31 CALLE 4                                                                       BAYAMON           PR         00959
  164737 FELIX CALDERON RODRIGUEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  652845 FELIX CAMACHO CORTES                         SIERRA BAYAMON              81‐26 CALLE 68                                                                     BAYAMON           PR         00961
  652846 FELIX CAMPOS SANTIAGO                        PO BOX 1068                                                                                                    PATILLAS          PR         00723
  652847 FELIX CANCEL MEDINA                          URB VEVE CALZADA            N 17 CALLE 17                                                                      FAJARDO           PR         00738
  652848 FELIX CANO VILLEGAS                          PO BOX 7126                                                                                                    PONCE             PR         00732
  164739 FELIX CARABALLO                              REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  652849 FELIX CARABALLO JUSINO                       PO BOX 657                                                                                                     ENSENADA          PR         00647
  652850 FELIX CARABALLO ORTIZ                        HC 03 BOX 11952                                                                                                YABUCOA           PR         00767
  652851 FELIX CARABALLO SANTOS                       P O BOX 61                                                                                                     LUQUILLO          PR         00773
  652852 FELIX CARATINI ESPADA                        HC 01 BOX 14335                                                                                                COAMO             PR         00769
  652853 FELIX CARDE VARGAS                           CARR 435 KM 0 6             HC 4 BOX 14139                                                                     SAN SEBASTIAN     PR         00685
  164740 FELIX CARMONA CRUZ                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  652855 FELIX CARPENA COLON                          PO BOX 1672                                                                                                    AIBONITO          PR         00705‐1672
  164742 FELIX CARRASQUILLO COLON                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  164743 FELIX CARRASQUILLO LOPEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  652860 FELIX CARRASQUILLO ORTIZ                     MINILLAS STATION            P O BOX 41269                                                                      SAN JUAN          PR         00940‐1269

   164744 FELIX CARRASQUILLO PIZARRO                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652861 FELIX CARRERA ROSADO                        VILLAS DE CASTRO            T 8 CALLE 19                                                                       CAGUAS            PR         00725
   652864 FELIX CARRION ROLON                         P O BOX 792                                                                                                    VEGA BAJA         PR         00693
   652865 FELIX CASIANO COLLAZO                       BARRIO GUILARTE             HC 02 BOX 5122                                                                     GUAYAMA           PR         00784
   164747 FELIX CASIANO MERCADO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164748 FELIX CASTRO CARRION                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652868 FELIX CASTRO SANTIAGO                       PO BOX 7126                                                                                                    PONCE             PR         00732
   164750 FELIX CEPEDA ORTIZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652869 FELIX CHEVERE COLON                         URB MONTE TRUJILLO          D 13 CALLE 4                                                                       TRUJILLO ALTO     PR         00976
   652870 FELIX CLEMENTE GONZALEZ                     12 A PLAZA VISTA MAR                                                                                           SAN JUAN          PR         00912
   652873 FELIX COLON                                 URB VISTA POINT EL MONTE    3 CALLE B                                                                          PONCE             PR         00731
   164753 FELIX COLON ANDALUZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652875 FELIX COLON COLON                           P O BOX 14                                                                                                     VILLALBA          PR         00766
   652876 FELIX COLON CORREA                          APARTADO PMB1128            P O BOX 7038                                                                       CAGUAS            PR         00726‐7038
   652877 FELIX COLON HERNANDEZ                       P O BOX 2747                                                                                                   VEGA BAJA         PR         00693
   652696 FELIX COLON MEDINA                          URB REPARTO SEVILLA         923 CALLE VERDI                                                                    SAN JUAN          PR         00924
   652878 FELIX COLON MORERA                          COND LEMANS OFIC 801                                                                                           SAN JUAN          PR         00918

   652695 FELIX COLON PEREZ                           BO MAGUAYO SECTOR EL COTO   BUZON G                                                                            DORADO            PR         00646
   164757 FELIX COLON SIERRA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164758 FELIX COLON TORRES                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164764 FELIX CONDE TORRES                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652880 FELIX CORDERO                               PO BOX 9020720                                                                                                 SAN JUAN          PR         00902‐0720
   652881 FELIX CORDERO REYES                         M 14 AVE G BENITEZ                                                                                             CAGUAS            PR         00725
   652882 FELIX CORREA RIVERA                         BO CIENAGA ALTA             BOX 17789                                                                          RIO GRANDE        PR         00745
   652885 FELIX CORTES OLIVO                          URB VISTA AZUL              H28 CALLE 6                                                                        ARECIBO           PR         00612
   652886 FELIX CORTEZ REVERON                        PO BOX 928                                                                                                     QUEBRADILLAS      PR         00678
   652887 FELIX COTTE MARTINEZ                        VAN SCOY                    DD 37 VIA REXVILLE                                                                 BAYAMON           PR         00957‐5800
   164767 FELIX COTTO FLORES                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164768 FELIX COTTO LOPEZ                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  164770 FELIX CRESPO COLON                            REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  652889 FELIX CRUZ BAEZ                               HC 2 BOX 6982                                                                                                      ADJUNTAS          PR         00601
  652890 FELIX CRUZ FELICIANO                          PO BOX 59                                                                                                          GARROCHALES       PR         00652
  164772 FELIX CRUZ LAGUER                             REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  164774 FELIX CRUZ ORTIZ                              REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  652894 FELIX CRUZ OYOLA                              62 Calle A                                                                                                         Gurabo            PR         00778‐2038
  164775 FELIX CRUZ PADILLA                            REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                     DE LA COMUNIDAD DE HILL
   652895 FELIX CRUZ RIOS                              ESTRUCTURA 96 SUR             BROTHERS                                                                             SAN JUAN          PR         00928
   652896 FELIX CRUZ ROMERO                            BOX 6107 STA 1                                                                                                     BAYAMON           PR         00961

   652897 FELIX CRUZ ROSADO                            URB CIUDAD JARDIN DE BAIROA   78 CALLE BARCELONA                                                                   CAGUAS            PR         00725
   164776 FELIX CRUZ SANTOS                            REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164777 FELIX CRUZ TORRES                            REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164779 FELIX CRUZ, CARMEN                           REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652898 FELIX CUADRADO CABRERA                       UNIVERSITY GARDENS            304 CALLE HOWARD                                                                     SAN JUAN          PR         00927
   652899 FELIX CUEVAS                                 P O BOX 3000 SUITE 32                                                                                              ANGELES           PR         00611
   652900 FELIX CUSTODIO VELEZ                         HC 05 BOX 50240                                                                                                    MAYAGUEZ          PR         00680
   652901 FELIX D ALICEA SOTO                          URB STAR HIGHT                4643 CALLE RIGET                                                                     PONCE             PR         00717‐1443
   652903 FELIX D CARTAGENA MONTES                     370 CALLE VISTA DEL COBRE     APT 16                                                                               PONCE             PR         00728

   164787 FELIX D DELGADO MONTALVO                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   164788 FELIX D ECHEVARRIA QUINONES                  REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652904 FELIX D FRANCO TORRES                        SIERRA BERDECIA               C 15 CALLE CANCIO                                                                    GUAYNABO          PR         00969
   652905 FELIX D MARTINEZ CRESPO                      HC 01 BOX 12324                                                                                                    CAROLINA          PR         00987
   164789 FELIX D REYES ZAVALA                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164790 FELIX D RIVERA ROCHE                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164791 FELIX D ROQUE OSORIO                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652906 FELIX D SERRANO RODRIGUEZ                    P O BOX BOX 44                                                                                                     FLORIDA           PR         00650
   164792 FELIX D TORRES ROSARIO                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652907 FELIX D VEGA MORALES                         URB JARDINES DE TOA ALTA      239 CALLE 9                                                                          TOA ALTA          PR         00953

   164794 FELIX DAVID FRANCO LUYANDO                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652908 FELIX DE JESUS MARTINEZ                      PO BOX 1657                                                                                                        LAS PIEDRAS       PR         00771‐1657
   164796 FELIX DE JESUS NIEVES                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  1419699 FÉLIX DE JESÚS, MIGUEL A.                    ROGER A. LEYBA RODRIGUEZ      PO BOX 873                                                                           HORMIQUEROS       PR         00660‐0873
  1419700 FÉLIX DE JESÚS, MIGUEL A.                    ROGER A. LEYBA RODRIGUEZ      PO BOX 873                                                                           HORMIQUEROS       PR         00660‐0873
  1419701 FÉLIX DE JESÚS, MIGUEL A.                    ROGER A. LEYBA RODRIGUEZ      PO BOX 873                                                                           HORMIQUEROS       PR         00660‐0873
   652910 FELIX DE LEON ORTIZ                          URB BUENA VISTA               EE 15 CALLE RAMOS                                                                    BAYAMON           PR         00957
   164812 FELIX DELGADO                                REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652912 FELIX DELGADO CABALLERO                      BOX 447                                                                                                            SAN LORENZO       PR         00754
   164813 FELIX DELGADO RODRIGUEZ                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652913 FELIX DELGADO ROSA                           PO BOX 458                                                                                                         SAN LORENZO       PR         00754
   164814 FELIX DELGADO VAZQUEZ                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652914 FELIX DENISAC MENDEZ                         PO BOX 352                                                                                                         ARECIBO           PR         00613
   652916 FELIX DIAZ                                   PDA 22 1/2                    853 CALLE CARRIO MADURO                                                              SAN JUAN          PR         00909
   164816 FELIX DIAZ AVILES                            REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164817 FELIX DIAZ CASTILLO                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652919 FELIX DIAZ RIVERA                            P O BOX 21365                                                                                                      SAN JUAN          PR         00928
   164818 FELIX DIAZ VAZQUEZ                           REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   164819 FELIX DIAZ VEGA                              REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   652921 FELIX DOMINGUEZ CARMONA                      HC 1 BOX 11189                                                                                                     CAROLINA          PR         00985



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  164826 FELIX DONES VELAZQUEZ                        REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  164827 FELIX E APONTE SANCHEZ                       REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   652922 FELIX E CARRASQUILLO                        PAISAJES DEL ESCORIAL APT 404                                                                                           CAROLINA            PR         00987
   164828 FELIX E FERRER LIBRAN                       REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164830 FELIX E GARDON ALVAREZ                      REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164831 FELIX E GONZALEZ MELENDEZ                   REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   652923 FELIX E LATORRE GUZMAN                      URB LOS DOMINICOS               M 243 CALLE SAN GREGORIO                                                                BAYAMON             PR         00957
   164833 FELIX E MALDONADO SANTOS                    REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164835 FELIX E MARRERO RAMOS                       REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164836 FELIX E MARTINEZ MEDINA                     REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164837 FELIX E MOLINA DIAZ                         REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   652928 FELIX E MOLINA ORTIZ                        EL MONTE SUR PH 1               180 AVE DE HOSTOS                                                                       SAN JUAN            PR         00918
   164838 FELIX E RIVERA TORRES                       REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164839 FELIX E RODRIGUEZ AGUIRRE                   REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   164840 FELIX E RODRIGUEZ FELICIANO                 REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164841 FELIX E ROMERO MARSHALL                     REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   652929 FELIX E ROSADO ORAMA                        P O BOX 1332                                                                                                            BAYAMON             PR         00960
   164843 FELIX E ROSARIO CORDERO                     REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   652930 FELIX E SANCHEZ PIZARRO                     URB RIVER GARDENS               3 CALLE FLOR DEL YUNQUE                                                                 CANOVANAS           PR         00729
   164844 FELIX E SERRANO ROMAN                       REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164845 FELIX E TORRES SANTIAGO                     REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
                                                                                      66 C/PRUDENCI0 RIVERA
   652931 FELIX E UBIERA ENCARNACION                  BDA LA MONJAS                   MARTINEZ                                                                                SAN JUAN            PR         00917
   164846 FELIX E ZAYAS COLON                         REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164847 FELIX E. COLON BANOS                        REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164848 FELIX E. FUENTES LATORRE                    REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164849 FELIX ECHEVARIA MARTINEZ                    REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   164850 FELIX ECHEVARRIA AFANADOR                   REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164851 FELIX ELIAS DE JESUS                        REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164852 FELIX ENCARNACION GARCIA                    REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   652934 FELIX ENCARNACION OSORIO                    COM HILL BROTHERS               401 CALLE 23                                                                            SAN JUAN            PR         00924

   164853 FELIX ENCARNACION PASTRANA REDACTED                                         REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164855 FELIX ESCALERA ANDINO      REDACTED                                         REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   652936 FELIX ESPINOSA BABILONIA   PO BOX 7126                                                                                                                              PONCE               PR         00732

   652938 FELIX F COLLAZO VAZQUEZ                     COND GADENS HILL                PLAZA 1 1248 CARR 19 APT 1002                                                           GUAYNABO            PR         00966
   164857 FELIX F FLORES CARRION                      REDACTED                        REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164858 FELIX F GARAYALDE                           REDACTED                        REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164859 FELIX F MORALES BAEZ                        REDACTED                        REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   652939 FELIX F RODRIGUEZ BASSATT                   HC 01 BOX 5187                                                                                                          BARRANQUITAS        PR         00794
   652940 FELIX FALU MARTE                            P O BOX 2390                                                                                                            SAN JUAN            PR         00919
   652941 FELIX FEBUS CRUZ                            URB SASNTA ELENA                DD 4 CALLE 3A                                                                           BAYAMON             PR         00956
   164860 FELIX FELICIANO                             REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164861 FELIX FELICIANO ARRIETA                     REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164862 FELIX FELICIANO QUINONES                    REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   652942 FELIX FERNANDEZ COLON                       QUINTAS II                      854 CALLE ESMERALDA                                                                     CANOVANAS           PR         00729
   652943 FELIX FERNANDEZ LOPEZ                       PO BOX 2052                                                                                                             CIDRA               PR         00739
   164864 FELIX FERNANDEZ VAZQUEZ                     REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   164865 FELIX FERRER MIRANDA                        REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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MML ID                NAME                                      ADDRESS 1                     ADDRESS 2                ADDRESS 3                           ADDRESS 4             CITY        STATE    POSTAL CODE       COUNTRY
  652946 FELIX FIGUEROA CARDONA                       URB COUNTRY CLUB             GT 56 CALLE 207                                                                     CAROLINA           PR         00982
  652947 FELIX FIGUEROA GALLARDO                      55 BO POZUELO                PO BOX 642                                                                          GUAYAMA            PR         00785
  164866 FELIX FIGUEROA TORRES                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  652949 FELIX FLORES LUNA                            URB TREASURE VALLEY          L 5 AVE LAS AMERICAS                                                                CIDRA              PR         00739
  652950 FELIX FLORES SANTANA                         PARCELAS JUAN DEL VALLE      RR 2 BOX 6189                                                                       CIDRA              PR         00739
  652953 FELIX FONT CUENCAS                           BA ISRAEL                    175 CALLE PALESTINA                                                                 SAN JUAN           PR         00917
  652954 FELIX FONTANEZ OLMO                          PO BOX 577                                                                                                       TRUJILLO ALTO      PR         00977
  164870 FELIX FONTANEZ, JUAN C.                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   164871 FELIX FUENTES Y ROSA VAZQUEZ PO BOX 2752                                                                                                                     GUAYNABO           PR         00970
   652956 FELIX FUMERO PUGLIESSI       EXT SAN AGUSTIN                             281 CALLE 8 E                                                                       SAN JUAN           PR         00906
   164873 FELIX G ACEVEDO RUIZ         REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   164874 FELIX G ALEJANDRO PEREZ      REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   164875 FELIX G AVILES SANTOS        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   652958 FELIX G BAEZ CAMACHO         EX MABU                                     B 6 CALLE 6                                                                         HUMACAO            PR         00791
   164876 FELIX G DEL RIO RODRIGUEZ    REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          FELIX G DELGADO VARGAS /
   164877 FELIX R DELGADO              REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   164878 FELIX G ECHEVARRIA SANTIAGO                 REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   652959 FELIX G FERNANDEZ TORRES                    20 CALLE FRANCISCO ALVAREZ                                                                                       MANATI             PR         00674
   652960 FELIX G FIGUEROA                            HC 01 BOX 7610                                                                                                   SALINAS            PR         00751
   652961 FELIX G GUARDIOLA                           P O BOX 8862                                                                                                     CAROLINA           PR         00988‐8862
   164879 FELIX G GUARDIOLA DIAZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   164880 FELIX G MIRANDA BERRIOS                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   652962 FELIX G RODRIGUEZ CASTILLO                  REPARTO UNIVERSIDAD          G 2 CALLE 7                                                                         SAN GERMAN         PR         00683
                                                                                   956 CALLE LUIS CORDOVA
   652963 FELIX G URENA ALMONTE                       URB COUNTRY CLUB             CHIRINO                                                                             SAN JUAN           PR         00924
   164881 FELIX G VERDEJO SANCHEZ                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   164882 FELIX G. LOPEZ DIAZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   164883 FELIX G. LOPEZ LISOJO                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   164884 FELIX G. ROSADO RAMOS                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   164885 FELIX GABRIEL LEON MARTINEZ                 REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   164886 FELIX GALARZA ALVAREZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   652968 FELIX GARCIA                                PO BOX 533                                                                                                       CULEBRA            PR         00775
   652969 FELIX GARCIA ALBELO                         HC 2 BOX 46790                                                                                                   VEGA BAJA          PR         00693
   164887 FELIX GARCIA BERMUDEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   164888 FELIX GARCIA DIAZ                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   652972 FELIX GARCIA FELIX                          URB FOREST HILLS             H 3 CALLE 3                                                                         BAYAMON            PR         00956
   652973 FELIX GARCIA GALAN                          REPTO MARQUEZ                E 23 CALLE 7                                                                        ARECIBO            PR         00612
   164889 FELIX GARCIA RAMOS                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   652975 FELIX GARCIA ROMAN                          HC 7 BOX 2164                                                                                                    PONCE              PR         00731
   652976 FELIX GAS                                   HC 6 BOX 69694                                                                                                   CAGUAS             PR         00725
   652977 FELIX GASCOT VAZQUEZ                        PARC VAN SCOY                1‐11 CALLE 5 ESTE                                                                   BAYAMON            PR         00957
   652978 FELIX GERALDO SANTOS                        URB STA ELENA                A 16 CALLE 8                                                                        BAYAMON            PR         00954
   652693 FELIX GONZALEZ ALAMO                        PARCELAS SAN ISIDRO          367 CALLE 13                                                                        CANOVANAS          PR         00729
   164897 FELIX GONZALEZ ALVAREZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   652979 FELIX GONZALEZ ANGLERO                      P O BOX 1938                                                                                                     CABO ROJO          PR         00623

   652981 FELIX GONZALEZ CANDELARIO                   BARRIADA ISRAEL              159 CALLE NUEVA                                                                     SAN JUAN           PR         00917
   652982 FELIX GONZALEZ CARABALLO                    PO BOX 7126                                                                                                      PONCE              PR         00732



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   164900 FELIX GONZALEZ CARRASQUILLO REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652983 FELIX GONZALEZ COLLAZO        PO BOX 593                                                                                                                  LARES               PR           00669
   164901 FELIX GONZALEZ CORTES         REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652984 FELIX GONZALEZ DE JESUS       BO SANTANA                                18 SAN GERONIMO                                                                   ARECIBO             PR           00612
   164902 FELIX GONZALEZ GUERRIDO       REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164903 FELIX GONZALEZ MARTINEZ       REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652989 FELIX GONZALEZ MOLINA         HC 05 BOX 27799                                                                                                             CAMUY               PR           00627
   652993 FELIX GONZALEZ RIVERA         GLENVIEW GARDENS                          K13 CALLE E7B                                                                     PONCE               PR           00731
   164904 FELIX GONZALEZ RODRIGUEZ      REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164905 FELIX GONZALEZ ROSARIO        REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652994 FELIX GONZALEZ VIVALDI        URB PALMAS REALES                         52 CALLE PLAYERA                                                                  HUMACAO             PR           00791
          FELIX GUILLERMO GUZMAN
   164917 MOYETT                        REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FELIX GUTIERREZ PARA ALIVETTE
   164918 CRUZ                          REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652998 FELIX GUZMAN FELICIANO        P O BOX 1181                                                                                                                SAN SEBASTIAN       PR           00685
   652999 FELIX H ALEJANDRO GARCIA      ALT DE SAN LORENZO                        G 37 CALLE 5                                                                      SAN LORENZO         PR           00754
   653000 FELIX H DELGADO ALVALLE       P O BOX 239                                                                                                                 SALINAS             PR           00751
   653001 FELIX H GONZALEZ GONZALEZ     URB PANORAMA                              C 16 CALLE 1                                                                      BAYAMON             PR           00957

   653002 FELIX HERNANDEZ                             AGUADILLA SHOPPING CENTER   PO BOX 4965                                                                       AGUADILLA           PR           00605
          FELIX HERNANDEZ CASADO/
   164919 HOGAR LA PAZ                                REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   164920 FELIX HERNANDEZ DOMENECH REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653003 FELIX HERNANDEZ FELICIANO   PARC JAUCA                                  467 CALLE 5                                                                       SANTA ISABEL        PR           00757
   653004 FELIX HERNANDEZ LOPEZ       HC 03 BOX 41462                                                                                                               CAGUAS              PR           00725
   164921 FELIX HERNANDEZ MENDEZ      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653005 FELIX HERNANDEZ OLIVO       SECTOR PLAYUELA                             BUZON 2492                                                                        AGUADILLA           PR           00603
   653006 FELIX HERNANDEZ ROMAN       HC 59 BOX 6079                                                                                                                AGUADA              PR           00602
          FELIX HERNANDEZ VAZQUEZ/4TO
   653007 REY MAGO IN                 COUNTRY CLUB                                859 CALLE EIDEE                                                                   SAN JUAN            PR           00924
   653008 FELIX HERPIN RODRIGUEZ      BARRIO LOS POLLOS                           PO BOX 11                                                                         PATILLAS            PR           00723
   653009 FELIX I APONTE ORTIZ        URB LA CUMBRE                               418 CALLE CAGUAS                                                                  SAN JUAN            PR           00926‐5559
   653010 FELIX I BAEZ HERNANDEZ      URB SAN JOSE                                266 CALLE CANILLAS                                                                SAN JOSE            PR           00926
   164929 FELIX I CORTES VAZQUEZ      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164930 FELIX I LEON LEON           REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164931 FELIX I MARTINEZ LOPEZ      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164932 FELIX I RIVERA CINTRON      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164912 FELIX I ROJAS FORERO        REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653011 FELIX IRIZARRY HORNEDO      URB PUERTO NUEVO                            372 CALLE BALEARES                                                                SAN JUAN            PR           00920
   164934 Felix Irizarry Martinez     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653012 FELIX IVAN LEON RIVERO      PO BOX 192054                                                                                                                 SAN JUAN            PR           00919‐2054
   164935 FELIX IVAN PENA             REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653015 FELIX J ACEVEDO RIVERA      BO ESPERANZA                                HC 03 BOX 28004                                                                   ARECIBO             PR           00612‐9162
   164936 FELIX J ARROYO VALCARCE     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653018 FELIX J BELTRAN VELEZ       HC 01 BOX 5470                                                                                                                YABUCOA             PR           00767‐9609
   653019 FELIX J BONILLA BARNECET    HC 09 BOX 4677                                                                                                                SABANA GRANDE       PR           00637
   164937 FELIX J CAPELES ROSADO      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   652698 FELIX J CARRASQUILLO OSORIO                 HC 01 BOX 4663                                                                                                LOIZA               PR           00772
   164938 FELIX J CHINEA GARCIA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  164939 FELIX J COLON ALVARADO                       REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   653021 FELIX J CRUZ DIAZ                           URB LA ROSALEDA II      FB14 CALLE ANTONIO P PIERRET                                                              TOA BAJA            PR         00949
   653022 FELIX J CRUZ RODRIGUEZ                      HC 04 BOX 7340                                                                                                    JUANA DIAZ          PR         00798
   164940 FELIX J CRUZ SOTO                           REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653023 FELIX J DEL VALLE TORRES                    HC 02 BOX 10625                                                                                                   GUAYNABO            PR         00971
   653024 FELIX J FANTAUZZI FONTANEZ                  HC 3 BOX 11818                                                                                                    YABUCOA             PR         00767
   164941 FELIX J FEBUS TORRES                        REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653025 FELIX J FELICIANO MARTINEZ                  PARC SABANA ENEAS       316 CALLE 16                                                                              SAN GERMAN          PR         00683
   653026 FELIX J FELICIANO VALEDON                   HC 1 BOX 9209                                                                                                     PE¥UELAS            PR         00624
   653027 FELIX J FIGUEROA RODRIGUEZ                  HC 61 BOX 4418                                                                                                    TRUJILLO ALTO       PR         00976
   164942 FELIX J FUENTES TORRES                      REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653028 FELIX J GARCIA NEGRON                       PO BOX 733                                                                                                        COTO LAUREL         PR         00780
   164943 FELIX J GARCIA OTERO                        REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653029 FELIX J GONZALEZ CENTENO                    PO BOX 9648                                                                                                       ARECIBO             PR         00613

   653030 FELIX J HERNANDEZ HERNANDEZ PO BOX 432                                                                                                                        MOCA                PR         00676
          FELIX J IRIZARRY/ROSNNY
   164944 MORALES                     REDACTED                                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653031 FELIX J LEON SASTRE         HC 2 BOX 8871                                                                                                                     JUANA DIAZ          PR         00795
   164945 FELIX J LOPEZ REYES         REDACTED                                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653032 FELIX J LUGO SOTO           URB VERSAILLES                          E 11 CALLE 4                                                                              BAYAMON             PR         00959
   164946 FELIX J MADERA MADERA       REDACTED                                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   164947 FELIX J MALDONADO MARRERO REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653033 FELIX J MONTA¥EZ MIRANDA       PO BOX 364131                                                                                                                  SAN JUAN            PR         00936
          FELIX J MORET MEDINA / LEYLA I
   164949 MEDINA                         REDACTED                             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653034 FELIX J MU¥IZ MALDONADO        PO BOX 1039                                                                                                                    PE¥UELAS            PR         00624
   164950 FELIX J MUNOZ RODRIGUEZ        REDACTED                             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   164952 FELIX J NUNEZ MOLINA           REDACTED                             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   164953 FELIX J PEREZ CHINEA           REDACTED                             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653037 FELIX J QUILES ROMAN           HC 73 BOX 4770                                                                                                                 NARANJITO           PR         00719
          FELIX J QUINONES SEGUI/
   164954 MARIBEL SEGUI                  COM LAS FLORES                       BUZON 37 CALLE LAS FLORES                                                                 AGUADA              PR       00602
   164955 FELIX J RAMOS FLORES           REDACTED                             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   653038 FELIX J RIVERA LUPIANEZ        100 CALLE SAN JOSE E                                                                                                           AIBONITO            PR       00705
   164956 FELIX J RIVERA PEREZ           REDACTED                             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   653040 FELIX J RIVERA ROMERO          243 CALLE PARIS STE 1657                                                                                                       SAN JUAN            PR       00917
   164957 FELIX J RIVERA VEGA            REDACTED                             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   164958 FELIX J RIVERA/ NILSA TORRES   REDACTED                             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   653041 FELIX J RODRIGUEZ              PO BOX 1424                                                                                                                    MAYAGUEZ            PR       00681‐1424
   164959 FELIX J RODRIGUEZ AGUIRRE      REDACTED                             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   164960 FELIX J RODRIGUEZ ALAYON       REDACTED                             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   164961 FELIX J RODRIGUEZ APONTE       REDACTED                             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   164962 FELIX J RODRIGUEZ VAZQUEZ      REDACTED                             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED

   653042 FELIX J ROMAN CARRASQUILLO                  P O BOX 8778                                                                                                      SAN JUAN            PR         00910‐0778
   164964 FELIX J SALGADO CORREA                      REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653043 FELIX J SALGADO RODRIGUEZ                   ALTURAS DE RIO GRANDE   K 489 CALLE 10 APT 145                                                                    RIO GRANDE          PR         00745
   164965 FELIX J SANTIAGO DE JESUS                   REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   164966 FELIX J SANTIAGO GARCIA                     REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   164967 FELIX J SANTIAGO SOLIVAN                    REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  653044 FELIX J SANTOS OTERO                          URB SANTA MONICA            AL 46 CALLE 6                                                                          BAYAMON             PR           00959

   653045 FELIX J SEPULVEDA DOMINGUEZ                  28 BO GUAYANEY                                                                                                     MANATI              PR           00674
   164968 FELIX J TORO HERNANDEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   653046 FELIX J TORRES BARRETO                       P O BOX 795                                                                                                        JUANA DIAZ          PR           00795
   164969 FELIX J TORRES RODRIGUEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   164971 FÉLIX J. MELÉNDEZ MARTINEZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   164972 FELIX J. ORTIZ ADDARICH                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   164973 FELIX J. SANTA COLON                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   164974 FELIX JAVIER MORALES LOPEZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   653047 FELIX JIMENEZ AMARO                          BOX 4047                                                                                                           CIDRA               PR           00739

   653048 FELIX JOEL MEDINA SANTIAGO                   PO BOX 928                                                                                                         CAMUY               PR           00627

   164976 FELIX JOHAN ARROYO NAZARIO                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   164978 FELIX JORGE GONZALEZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   164979 FELIX JOSUE PEREZ CHINEA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   653049 FELIX JUAN RAMOS PEREZ                       BDA FERRAN                  59 CALLE A                                                                             PONCE               PR           00731
   653050 FELIX JURADO                                 VILLA ESPERANZA             47 CALLE FE                                                                            CAGUAS              PR           00725
   164980 FELIX KITCHEN DECOR                          HC‐01 BOX 4083                                                                                                     COROZAL             PR           00783

   653052 FELIX L AGOSTO ALGARIN                       URB LOS MONTES MONTE VERDE 271 RUISE¥OR                                                                            DORADO              PR           00646

   653053 FELIX L ALVAREZ CARRASQUILLO P O OB X 660                                                                                                                       SALINAS             PR           00751
   653054 FELIX L ARROYO VALLE         URB EL CONQUISTADOR                         M 11 AVE DIEGO VELAZQUEZ                                                               TRUJILLO ALTO       PR           00976‐6429

   653055 FELIX L BURGOS                               SAN CLAUDIO MALL STA STE 194 352 SAN CLAUDIO                                                                       SAN JUAN            PR           00926
   164981 FELIX L CALDERON NEVAREZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   164982 FELIX L CANDELARIO VENTURA                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   653056 FELIX L CARDONA CAPRE                        P O BOX 1690                                                                                                       RIO GRANDE          PR           00745
   653057 FELIX L COLON CORTES                         HC 7 BOX 24036                                                                                                     PONCE               PR           00731‐9647
   164983 FELIX L DAVILA RODRIGUEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   653058 FELIX L DIAZ ALVAREZ                         PO BOX 6536                                                                                                        SAN JUAN            PR           00914
   653059 FELIX L DIAZ RODRIGUEZ                       PO BOX 982                                                                                                         PATILLAS            PR           00723
   164984 FELIX L ESPADA ORTIZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   164985 FELIX L FLORES FIGUEROA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   653061 FELIX L GONZALEZ                             PO BOX 21365                                                                                                       SAN JUAN            PR           00928
          FELIX L GONZALEZ
   653062 CARRASQUILLO                                 PO BOX 936                                                                                                         SAN GERMAN          PR           00683‐0936
   164986 FELIX L GONZALEZ RIVERA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   164987 FELIX L LATIMER ALVAREZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   653064 FELIX L MARTINEZ SANTIAGO                    HC 1 BOX 5801                                                                                                      JUANA DIAZ          PR           00795
   164988 FELIX L MATIAS ORTIZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   653065 FELIX L MATOS OCASIO                         P O BOX 1256                                                                                                       COAMO               PR           00769
   653066 FELIX L MATOS ROSARIO                        HC 1 BOX 17340                                                                                                     COAMO               PR           00769
   164989 FELIX L NEGRON GONZALEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   653067 FELIX L NEGRON MARTINEZ                      127 CARR CENTRAL                                                                                                   COTO LAUREL         PR           00780‐2103
   653069 FELIX L NEGRON ORTIZ                         HC 01 BOX 5225                                                                                                     SANTA ISABEL        PR           00757
   652699 FELIX L OCASIO URRUTIA                       259 CALLE SANTA CECILIA                                                                                            SAN JUAN            PR           00912
   653070 FELIX L ORTIZ ORTIZ                          33 CALLE CONSTITUCION                                                                                              SANTA ISABEL        PR           00757
   653071 FELIX L PAGAN RIVERA                         HC 1 BOX 5600                                                                                                      CIALES              PR           00638
   653072 FELIX L PAGAN VALENTIN                       BARRIO OBRERO               404 CALLE MARTINO APT 1 A                                                              SAN JUAN            PR           00915



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          FELIX L REXACH Y SARA
   164990 OLIVENCIA                                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653073 FELIX L REYES ZAMBRANA                      PO BOX 893                                                                                                 GUAYNABO            PR           00970‐0893
   653074 FELIX L RIVERA CARTAGENA                    URB LAS VIRTUDES         734 CALLE BONDAD                                                                  SAN JUAN            PR           00924‐1227
   164991 FELIX L RIVERA MILLAN                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653075 FELIX L RIVERA PAGAN                        15 CALLE GEORGETTI                                                                                         BARCELONETA         PR           00617

   653076 FELIX L RODRIGUEZ MARTINEZ                  HC 03 BOX 13924                                                                                            JUANA DIAZ          PR           00795
   653077 FELIX L RODRIGUEZ ORTIZ                     HC 2 BOX 9486                                                                                              JUANA DIAZ          PR           00795

   164992 FELIX L RODRIGUEZ RODRIGUEZ                 REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164993 FELIX L RUIZ ORTIZ                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653078 FELIX L SALDA¥A SANCHEZ                     BDA BORINQUEN            146 CALLE B 3                                                                     PONCE               PR           00731
   164994 FELIX L SANTIAGO                            REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164995 FELIX L TORRES RODRIGUEZ                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164996 FELIX L VALLE AVILES                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   164997 FELIX L VARGAS GONZALEZ                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      CALLE SANTA CRUZ #74
   164998 FELIX L VAZQUEZ ORTIZ                       RIVERSIDE PLAZA 16‐E                                                                                       BAYAMON             PR           00961
   164999 FELIX L. CALDERON NEVAREZ                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165001 FELIX LA SANTA ROBLES                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165002 FELIX LARACUENTE                            REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165003 FELIX LARACUENTE COLON                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653083 FELIX LATIMER ALVAREZ                       HC 40 BOX 43610                                                                                            SAN LORENZO         PR           00754‐9886
   165004 FELIX LAUGIER                               REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653084 FELIX LAUREANO RODRIGUEZ                    P M B 306                P O B9X 4002                                                                      VEGA ALTA           PR           00692‐4002
   653086 FELIX LEMOIS SOTO                           URB ALTURAS DE BAYAMON   T 18 CALLE 11                                                                     BAYAMON             PR           00959‐0000
   165010 FELIX LISOJO MUNOZ                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165011 FELIX LIZAZOAIN ORTIZ                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165012 FELIX LLORENS SANTINI                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165013 FELIX LOPEZ FELICIANO                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653089 FELIX LOPEZ LEBRON                          P O BOX 20441                                                                                              SAN JUAN            PR           00928
   165014 FELIX LOPEZ MENDOZA                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165015 FELIX LOPEZ PEREZ                           REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165016 FELIX LOPEZ RIVERA                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653091 FELIX LOPEZ ROJAS                           PO BOX 3346                                                                                                SAN JUAN            PR           00902
   165025 FELIX LUGO RIVERA                           REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653093 FELIX LUIS ESTRADA                          BUENA VISTA              137 CALLE 4                                                                       SAN JUAN            PR           00906
   653094 FELIX LUIS FELIX CABRERA                    OFICINA DEL GOBERNADOR   LA FORTALEZA                                                                      SAN JUAN            PR           00922

   165027 FELIX LUIS MARTINEZ BERRIOS                 REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653096 FELIX LUIS RIOS MORALES                     URB LA PROVIDENCIA       2331 CALLE SUCRE                                                                  PONCE               PR           00728‐3136

   165028 FELIX LUIS RODRIGUEZ DE JESUS REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1419702 FELIX LUIS, MERCADO Y OTROS                 GAMALIEL RODRÍGUEZ       PO BOX 331646                                                                     PONCE               PR           00733‐1646
   652700 FELIX M AVILES FRANCO                       PO BOX 7863                                                                                                PONCE               PR           00732
   653098 FELIX M BLANCHIROT RIVERA                   PO BOX 7126                                                                                                PONCE               PR           00732
   165029 FELIX M BURGOS SANTIAGO                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653099 FELIX M CARRILLO ROTGER                     PO BOX 30836                                                                                               SAN JUAN            PR           00929‐1836
   653100 FELIX M CIFREDO CAMACHO                     PO BOX 1751                                                                                                BAYAMON             PR           00960
   165030 FELIX M CINTRON SERRANO                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          FELIX M COLLAZO A/C GLADYS
   165031 NOGUERA                                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653101 FELIX M CORTES LOPEZ                        2225 EDIF PARRA               PONCE BY PASS SUITE 506                                                               PONCE               PR           00717‐1322
   165032 FELIX M CRIQUIT JIUS                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165033 FELIX M CRUZ DE ALBA                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653104 FELIX M CRUZ NEGRON                         EXT COUNTRY CLUB              H A 105 CALLE 219                                                                     CAROLINA            PR           00982
   165034 FELIX M CRUZ SANTIAGO                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653106 FELIX M CRUZ Y MARAYDA CRUZ 1081 PRINCETON COURT                                                                                                                CLARKVILLE          TN           37042
   653107 FELIX M DAVILA RODRIGUEZ    URB JARDINES DE TOA ALTA                      CALLE 5                                                                               TOA ALTA            PR           00953
   653108 FELIX M DE JESUS BERRIOS    P O BOX 812                                                                                                                         ARROYO              PR           00714

   653109 FELIX M DE LA CRUZ BARRIENTOS PO BOX 570                                                                                                                        TOA BAJA            PR           00951
   653110 FELIX M ESQUILIN ROJAS        PO BOX 703                                                                                                                        SAN JUAN            PR           00921
   165035 FELIX M FELIZ ACOSTA          REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653111 FELIX M FIGUEROA LEBRON       BO CACAO ALTO                               HC 763 BZN 3339                                                                       PATILLAS            PR           00723
   165036 FÉLIX M FIGUEROA LORENZO      REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165037 FELIX M FUENTES               REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165038 FELIX M GAGO BARRETO          REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653112 FELIX M JIMENEZ CURBELO       PO BOX 51                                                                                                                         QUEBRADILLAS        PR           00678
          FELIX M LLANOS Y HILDA I
   165039 GEREDA                        REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653113 FELIX M LOICANO               4204 PRATT STREET                                                                                                                 METAIRLE            LA           70001
   653114 FELIX M LOPEZ CRUZ            HC 01 BOX 10005                                                                                                                   SAN GERMAN          PR           00683
   653115 FELIX M MANZANO OTERO         HC 1 BOX 6941                                                                                                                     CIALES              PR           00638
                                                                                    51 APTO 5A PH 1300 PASEO
   653116 FELIX M MARIANI                             BEACH RESORT                  PALMA                                                                                 ARROYO              PR           00714
   653117 FELIX M MATOS CLOQUELL                      B10 URB CABRERA                                                                                                     UTUADO              PR           00641
   165041 FELIX M MELENDEZ RAMOS                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653118 FELIX M MELENDEZ RODRIGUEZ                  BO MAGUEYES                   272 CALLE CANDIDO                                                                     PONCE               PR           00728

   653119 FELIX M MERCED DIAZ                         URB ESTANCIA DE STA BARBARA   9 CALLE AZALEA                                                                        GURABO              PR           00778
   165042 FELIX M NEGRON                              REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165043 FELIX M ODIOTT‐SANCHEZ                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653120 FELIX M PEREZ TORRES                        103 CALLE COMERCIO                                                                                                  MAYAGUEZ            PR           00680
   653121 FELIX M POLANCO VIDAL                       VILLA EVANGELINA              S 199 CALLE 1                                                                         MANATI              PR           00674
   653122 FELIX M REBOLLAR                            191 CALLE VILLA                                                                                                     PONCE               PR           00731
   165044 FELIX M RENTAS CORONADO                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165045 FELIX M REYES MARQUEZ                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FELIX M RIVERA
   165046 BORGES/SYNERLUTION INC                      P O BOX 3181                                                                                                        MAYAGUEZ            PR           00681
   653123 FELIX M RIVERA RIOS                         A 1 JARDINES DE BUBOA                                                                                               UTUADO              PR           00641
   165048 FELIX M RODRIGUEZ RIOS                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165049 FELIX M RODRIGUEZ VARGAS                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653125 FELIX M ROLLET BETANCOURT                   APARTADO 1926                                                                                                       RIO GRANDE          PR           00745
   653126 FELIX M ROSARIO                             FAIRVIEW                      4‐E20 CALLE 202                                                                       TRUJILLO ALTO       PR           00976
   165050 FELIX M SANTOS                              REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165052 FELIX M SANTOS SANTIAGO                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165053 FELIX M TOYENS FERNANDEZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165054 FELIX M VARGAS SANTOS                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   165055 FELIX M VELAZQUEZ RODRIGUEZ REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   165056 FELIX M VELAZQUEZ SANCHEZ   REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   165062 FELIX M. REYES REYES        REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   165063 FELIX M. RODRIGUEZ VARGAS   REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   165064 FELIX MADERA RAMOS          REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   653132 FELIX MAISONET MARTEL       PARCELAS LOARTE 90                                                                                                               BARCELONETA          PR           00617
   653133 FELIX MALDONADO             BO BAYAMON                                8 CALLE BRISAS DEL CAMPO                                                               CIDRA                PR           00739
   653134 FELIX MALDONADO DE JESUS    PO BOX 658                                                                                                                       PUERTO REAL          PR           00740‐0658

   653135 FELIX MALDONADO HERNANDEZ BO TORRECILLAS                              214 CALLE HORACIO RIVERA                                                               MOROVIS              PR           00687
          FELIX MALDONADO
   653136 MALDONADO                 HC 02 BOX 16375                                                                                                                    ARECIBO              PR           00612

   165065 FELIX MALDONADO MELENDEZ                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   653137 FELIX MALDONADO ORTIZ                       HC 1 BOX 9022                                                                                                    TOA BAJA             PR           00949
   653138 FELIX MALDONADO PADILLA                     P O BOX 325                                                                                                      VEGA BAJA            PR           00694
   653139 FELIX MALDONADO RIVERA                      VILLA CAPARRA PLAZA       225 CARR 2 APTO 1201                                                                   GUAYNABO             PR           00966

   653140 FELIX MALDONADO RODRIGUEZ                   URB JARDINES DEL CARIBE   JJ 9 CALLE 35                                                                          PONCE                PR           00731
   165066 FELIX MALDONADO ROQUE                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   653141 FELIX MALDONADO TORRES                      PO BOX 1101                                                                                                      VILLALBA             PR           00766
   653142 FELIX MANTILLA RODRIGUEZ                    BO GALATEO BAJO           CARR 475 KM 2 8 BZN 5 177                                                              ISABELA              PR           00662

   653143 FELIX MANUEL IRIZARRY GARCIA P O BOX 783                                                                                                                     SAN SEBASTIAN        PR           00685‐0783

   653144 FELIX MANUEL MOLINA RIVERA                  COND TROPICAL COURTS      APTO 904                                                                               SAN JUAN             PR           00926

   165068 FELIX MANUEL PENA CASTILLO                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FELIX MANUEL RESTO
   165069 RODRIGUEZ                                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FELIX MANUEL RIVERA
   165070 MERCADO                                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   652701 FELIX MANUEL TORRES TORRES                  23 CALLE JOSE E VELLON                                                                                           GUAYAMA              PR           00784
   653146 FELIX MARIN SERRANO                         RR 6 BOX 9545                                                                                                    SAN JUAN             PR           00926
   165071 FELIX MARQUEZ DREW                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   653148 FELIX MARRERO GOMEZ                         URB ALTURAS DE YAUCO      R 28 CALLE 5                                                                           YAUCO                PR           00698
   165072 FELIX MARRERO NAZARIO                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   653153 FELIX MARTIN GRACIA                         HC 2 BOX 9343                                                                                                    COROZAL              PR           00783
   165076 FELIX MARTINEZ MORALES                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   165077 FELIX MARTINEZ PEREZ                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   653158 FELIX MARTINEZ SANTANA                      URB ALTAMESA              1422 AVE SAN IGNACIO                                                                   SAN JUJAN            PR           00921
   653159 FELIX MARTINEZ TAVARES                      P O BOX 30000             P M B 687                                                                              CANOVANAS            PR           00729
          FELIX MARTINEZ/EQUIPO
   653160 ISLANDERS CAROLINA                          LAS MONJAS                67 CALLE POPULAR                                                                       SAN JUAN             PR           00917
   165083 FELIX MATEO TORRES                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   165084 FELIX MATIAS PARDO                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   653161 FELIX MATIAS RODRIGUEZ                      URB LA ALAHAMBRA                                                                                                 BAYAMON              PR           00957
   652702 FELIX MATIAS RODRIGUEZ                      PO BOX 1549                                                                                                      MOCA                 PR           00676‐1549
   653162 FELIX MATOS APONTE                          PO BOX 952                                                                                                       DORADO               PR           00646
   165085 FELIX MATOS ARROYO                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   652703 FELIX MATOS MAYSONET                        38 CALLE PLUTON                                                                                                  VEGA BAJA            PR           00693



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  165086 FELIX MATOS PENA                             REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  165088 FELIX MATOS RIVERA                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  165089 FELIX MATOS SANTANA                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  653163 FELIX MATOS VILLEGAS                         RR 06 BOX 92543                                                                                             SAN JUAN           PR         00926
  653164 FELIX MATTA RODRIGUEZ                        SANTIAGO IGLESIAS         1436 CALLE CAPETILLO                                                              SAN JUAN           PR         00921
  653165 FELIX MEDINA DIAZ                            PO BOX 11                                                                                                   GUAYNABO           PR         00970
  653167 FELIX MELENDEZ                               PO BOX 9501                                                                                                 CAGUAS             PR         00726
  653168 FELIX MELENDEZ MIRANDA                       ALTURAS DE FLAMBOYAN      L 7 CALLE 4                                                                       BAYAMON            PR         00959
  165095 FELIX MELENDEZ VARGAS                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  653169 FELIX MENDEZ MILLAN                          URB VEGA BAJA LAKES       J 10 CALLE 10                                                                     VEGA BAJA          PR         00693
  165098 FELIX MENDEZ ORTIZ                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  165099 FELIX MENDOZA ACOSTA                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  165100 FELIX MENDOZA BENITEZ                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  653170 FELIX MENDOZA ROSA                           PO BOX 2918                                                                                                 CAYEY              PR         00737
  653171 FELIX MENENDEZ TORRES                        URB VILLA CAROLINA        18 CALLE 70 BLQ 129                                                               CAROLINA           PR         00985
  653172 FELIX MERCADO ALVALLE                        HC BOX 7871                                                                                                 JUANA DIAZ         PR         00795
  653173 FELIX MERCADO CASTRO                         P O BOX 1637                                                                                                SAN LORENZO        PR         00754‐1637
         FELIX MERCED DIAZ DBA
  165104 DIDACTICOS                                   URB PRECIOSA GURABO       X 7 CALLE VERDE LUZ                                                               GURABO             PR         00778
         FELIX MIGUEL GONZALEZ
  165105 SANTIAGO                                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  653178 FELIX MINRANDA ROBLES                        RR 1 BOX 12035                                                                                              TOA ALTA           PR         00953
  165107 FELIX MIRANDA FRASQUERI                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  653179 FELIX MIRANDA MELENDEZ                       BO SANTA ANA              109‐14 CALLE C                                                                    GUAYAMA            PR         00784
  653180 FELIX MIRANDA MORALES                        COM LAS 500               369 CALLE TOPICA                                                                  ARROYO             PR         00714
  653182 FELIX MIRANDA MURIEL                         SECTOR OJO DE AGUA        15 CALLE BEGONIA                                                                  VEGA BAJA          PR         00693
         FELIX MOLINA FLORES DBA PR
  165108 SOLUTIONS                                    PO BOX 50090                                                                                                TOA BAJA           PR         00950
         FELIX MONROIG /TECHNICAL
  652704 SERVICES                                     VILLA BLANCA              7 CRISOLITA                                                                       CAGUAS             PR         00725
  165109 FELIX MONTALVO CANINO                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  165110 FELIX MONTANEZ ROSA                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  165113 FELIX MONTES ENCARNACION                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  653184 FELIX MONTES MALDONADO                       HC 07 BOX 25875                                                                                             PONCE              PR         00731
  653185 FELIX MORALES                                URB JARDINES DE CAPARRA   2 6 CALLE 47                                                                      BAYAMON            PR         00959
         FELIX MORALES / ELIZABETH
  653186 CONTRERAS                                    URB MIRADOR DE BAIRO      2N 68 CALLE 22                                                                    CAGUAS             PR         00725
  165115 FELIX MORALES BRITO                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  165117 FELIX MORALES MARIN                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  653187 FELIX MORALES QUILES                         BO BEATRIZ                BOX 5765                                                                          CIDRA              PR         00739
  653188 FELIX MORALES SANTIAGO                       P O BOX 979                                                                                                 TOA ALTA           PR         00954
  653189 FELIX MORALES TORRES                         HC 91 BZN 9040                                                                                              VEGA ALTA          PR         00692
  165118 FELIX MORALES VIERA                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  165122 FELIX MORENO QUINONES                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   165123 FELIX N BERMUDEZ RODRIGUEZ                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   653190 FELIX N GONZALEZ RODRIGUEZ                  PO BOX 291                                                                                                  PATILLAS           PR         00723
   165124 FELIX N LEAL LOPEZ                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   165125 FELIX N MELENDEZ LUNA                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   165126 FELIX N NEGRON RIVERA                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   165128 FELIX N PEREZ TORO                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED




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          FELIX N ROMAN Y O MFS
   165129 CONSULTING ENGIN                            URB SUSAN COURT             1 CALLE PATRICIA                                                                       GUAYNABO            PR         00966
   165130 FELIX N VARGAS SANTOS                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   653191 FELIX N VEGA CORDERO                        URB LA MILAGROSA            E 2 CALLE DIAMANTE                                                                     SABANA GRANDE       PR         00637
   653193 FELIX NATAL REYES                           HC 01 BOX 11431                                                                                                    ARECIBO             PR         00612
   165131 FELIX NAVARRO COSME                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   653194 FELIX NAVARRO GONZALEZ                      HC 1 BOX 6762                                                                                                      CANOVANAS           PR         00729
   165132 FELIX NAVARRO SANCHEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   653195 FELIX NEGRON                                PO BOX 2357                                                                                                        BAYAMON             PR         00958
          FELIX NEGRON / WANDA
   653196 HERNANDEZ                                   URB SAN THOMAS              G 30 CALLE PRINCIPAL                                                                   PONCE               PR         00716
   165133 FELIX NEGRON ACOSTA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   165134 FELIX NEGRON BURGOS                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   165135 FELIX NEGRON LAUREANO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   165136 FELIX NEGRON LOPEZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   653197 FELIX NIEVES CRUZ                           RES JUAN C CORDERO DAVILA   EDIF 10 APT 89                                                                         SAN JUAN            PR         00917
   653199 FELIX NIEVES DIAZ                           PO BOX 487                                                                                                         HUMACAO             PR         00791
   653200 FELIX NIEVES MOLINA                         COND LAGUNA GARDENS         1 APT 3 K                                                                              CAROLINA            PR         00979
   653201 FELIX NIEVES RIVERA                         HC 03 BOX 1107039                                                                                                  COROZAL             PR         00783
   653203 FELIX NORAT SAYAS                           HC 8 BOX 52103                                                                                                     HATILLO             PR         00659
   165140 FELIX NUNEZ RUIZ                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   165141 FELIX O BONILLA MELENDEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   653204 FELIX O CINTRON DAVILA                      BO LA CENTRAL               CARR 874 BZN 424 H                                                                     CANOVANAS           PR         00729
   653205 FELIX O CRUZ                                BDA BUENA VISTA             CALLE TOITA SUR                                                                        CAYEY               PR         00736
   165142 FELIX O MALDONADO                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   653206 FELIX O MARTINEZ BERMUDEZ                   RR 2 BOX 7836                                                                                                      CIDRA               PR         00739
   653207 FELIX O MARTINEZ RIVERA                     HC 01 BOX 4042                                                                                                     UTUADO              PR         00641
   653208 FELIX O MELENDEZ ANDUJAR                    P O BOX 191                                                                                                        FLORIDA             PR         00650
   165143 FELIX O PACHECO SANTOS                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   165144 FELIX O QUINTANA LUGO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   653210 FELIX O RIVERA BORGES                       P O BOX 178                                                                                                        MAYAGUEZ            PR         00681‐0178
   653211 FELIX O SANTIAGO CINTRON                    HC 02 BOX 15104                                                                                                    AIBONITO            PR         00705
   165145 FELIX O SOTO FLORES                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   653212 FELIX O TIRADO MENENDEZ                     PO BOX 3441                                                                                                        VEGA ALTA           PR         00692
   165146 FELIX O. BONILLA MELENDEZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   653214 FELIX OCASIO CALO                           URB JOSE MERCADO            A 145 CALLE KENNEDY FINAL                                                              CAGUAS              PR         00725
   653215 FELIX OCASIO MEDINA                         PARCELAS NUEVAS             671 CALLE 40                                                                           GURABO              PR         00778
   653216 FELIX OCASIO PRINCIPE                       JARDINES DE ARECIBO         K 1 CALLE K                                                                            ARECIBO             PR         00612
   165148 FELIX OCASIO VARGAS                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   165150 FELIX OLMO CALDERON                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   653218 FELIX OLMO HERNANDEZ                        BO HATO ARRIBA              21 CALLE F                                                                             ARECIBO             PR         00612
          FELIX OLMO Y PATRICIA
   165151 CASTILLO                                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   165152 FELIX OMAR SANTIAGO RAMOS                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   653219 FELIX OMAR VELEZ SOTO                       JARDINES DE GUAMANI         F 9 CALLE 14                                                                           GUAYAMA             PR         00784
   165153 FELIX ONEILL GRACIA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   653220 FELIX ORAZCO RODRIGUEZ                      355 CALLE ISABELA                                                                                                  SAN JUAN            PR         00912
   165156 FELIX ORTIZ ABRAHAM                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   653221 FELIX ORTIZ BERRIOS                         JARDINES DE BORRINQUEN      S 3 CALLE JAZMIN                                                                       CAROLINA            PR         00985
   653222 FELIX ORTIZ DIAZ                            RR 1 BOX 3202                                                                                                      CIDRA               PR         00739
   653223 FELIX ORTIZ FERNANDEZ                       BONNEVILLE HEIGHT           8 CALLE GUAYANILLA                                                                     CAGUAS              PR         00727



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  165157 FELIX ORTIZ GONZALEZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  653224 FELIX ORTIZ GRACIA                           PO BOX 1324                                                                                                      ARROYO             PR         00714
  653225 FELIX ORTIZ RIVERA                           PO BOX 1552                                                                                                      SANTA ISABEL       PR         00757
  165158 FELIX ORTIZ ROSADO                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  165159 FELIX ORTIZ RUIZ                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  653228 FELIX OSORIO GARAY                           BDA MORALES                 747 CALLE K ALTOS                                                                    CAGUAS             PR         00725
  653229 FELIX OSORIO NEGRON                          BDA MORALES                 747 CALLE K                                                                          CAGUAS             PR         00725
  653230 FELIX OYOLA FLORES                           HC 02 BOX 12383                                                                                                  AGUAS BUENAS       PR         00703
  165170 FELIX P SANTIAGO SANTOS                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  165171 FELIX PAGAN RIVERA                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  653231 FELIX PAGAN SANDOVAL                         PMB 270 PO BOX 2400                                                                                              TOA BAJA           PR         00949
  165172 Felix Pares Hernandez                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  653233 FELIX PASTRANA MANGUAL                       EST DE SAN FERNANDO         D11 CALLE 6                                                                          CAROLINA           PR         00985
  653235 FELIX PEDRAZA RODRIGUEZ                      P O BOX 1431                                                                                                     JUNCOS             PR         00777
  653236 FELIX PEREIRA DIAZ                           URB DOS PINOS               783 CALLE DIANA                                                                      SAN JUAN           PR         00923‐2315
  653238 FELIX PEREZ ACEVEDO                          PO BOX 1257                                                                                                      AGUADA             PR         00602
  653241 FELIX PEREZ LASALLE                          URB LAS CUMBRES             287 CALLE LOS ROBLES                                                                 SAN JUAN           PR         00926‐5532
  653242 FELIX PEREZ NIEVES                           P O BOX 114                                                                                                      SABANA SECA        PR         00952‐0114
         FELIX PITRE ROIG / TERESA
  653246 CUEVAS ARCE                                  PO BOX 443                                                                                                       UTUADO             PR         00641
  653247 FELIX PIZARRO                                RR 8 BOX 1473                                                                                                    BAYAMON            PR         00956‐9611
  653248 FELIX PLAZA GONZALEZ                         HC 3 BOX 9679                                                                                                    LARES              PR         00669
  165177 FELIX PLUMEY                                 REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  653249 FELIX PORRATA DOMINGUEZ                      PARC PALMAS ALTAS           BZN 24‐1                                                                             BARCELONETA        PR         00617
  165178 FELIX PREIRA GONZÁLEZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  165179 FELIX PUYARENA PABON                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  653250 FELIX QUILES CORTES                          URB LOMAS DE CAROLINA       A 28 CALLE LOS PICACHOS                                                              CAROLINA           PR         00987
  165180 FELIX QUINONES CARTAGENA                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  165182 FELIX QUINONES RAMIREZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  165183 FELIX QUINONES RUIZ                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   165184 FELIX QUIRINDONGO SANTIAGO                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   165185 FELIX R ACEVEDO COTTO                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   653251 FELIX R BELLO ACEVEDO                       URB MILAVILLE               139 CALLE MORADILLA                                                                  SAN JUAN           PR         00926
   653252 FELIX R CANCEL MACHUCA                      P O BOX 361872                                                                                                   SAN JUAN           PR         00936
   165186 FELIX R DE JESUS MELENDEZ                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          FELIX R DELGADO /FELIX
   165187 DELGADO                                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   165188 FELIX R DIAZ ROSADO                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   165189 FELIX R EGIPCIACO FIGUEROA                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   165190 FELIX R FALERO ALCANTARA                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   165191 FELIX R GOMEZ / EMILSIE PEREZ REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   653255 FELIX R HERNANDEZ CASADO                    COND VILLA MAGNA APT 1007   1783 CARR 21                                                                         SAN JUAN           PR         00921
   653257 FELIX R HUERTAS GONZALEZ                    URB HORIZONTES              4 CALLE CELESTE                                                                      GURABO             PR         00778
   165192 FELIX R JIMENEZ SERRANO                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   165193 FELIX R JOSEPH RODAS                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   165194 FELIX R MALDONADO ROBLES                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   653260 FELIX R MATOS HERNANDEZ                     BDA SANDIN                  20 AVE SATURNO                                                                       VEGA BAJA          PR         00693
   165196 FELIX R MELENDEZ OCASIO                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   165197 FELIX R MONTERO ALVAREZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   165198 FELIX R MONTES VELEZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  165199 FELIX R MORALES GONZALEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  165200 FELIX R MORALES LOPEZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  165201 FELIX R MORALES NEGRON                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  165202 FELIX R ORTIZ GARCIA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  653261 FELIX R ORTIZ HERNANDEZ                      CAPARRA TERRACE             1417 CALLE 165‐O                                                                       SAN JUAN            PR         00921
  653263 FELIX R PASSALACQUA RIVERA                   P O BOX 194943                                                                                                     SAN JUAN            PR         00919‐4943
  165203 FELIX R PENA ABAD                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  165204 FELIX R PERDOMO SILVERA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  165205 FELIX R RAMOS DE JESUS                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  165206 FELIX R RIVERA AVILES                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  653264 FELIX R RIVERA CAMACHO                       PO BOX 672                                                                                                         AIBONITO            PR         00705
  653265 FELIX R RODRIGUEZ                            RESIDENCIAL LAS MAGARITAS   EDIFICIO 6 APT 550                                                                     SAN JUAN            PR         00915
  653266 FELIX R SAEZ MARTINEZ                        BO CAMPO ALEGRE             J5 CALLE ACACIA                                                                        PONCE               PR         00731

   165207 FELIX R SANTIAGO RODRIGUEZ                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653267 FELIX R TORRES DIAZ                         F 8 CALLE RIVERA DONATO                                                                                            HUMACAO             PR         00791
   165208 FELIX R VAZQUEZ LUGO                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165209 FELIX R VEGA SALA                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653268 FELIX R VELAZQUEZ                           HC 02 BOX 4226                                                                                                     LUQUILLO            PR         00773
   653269 FELIX R VILLAR AGUIRRE                      URB BELINDA                 F 6 CALLE 2                                                                            ARROYO              PR         00714
   165210 FELIX R. AGOSTO MELENDEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165211 FELIX R. BAEZ AQUINO                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165212 FELIX R. GOMEZ VELAZQUEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165213 FELIX R. VELAZQUEZ RIOS                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165215 FELIX RAMIREZ DIAZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165216 FELIX RAMIREZ RUIZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653271 FELIX RAMIREZ SOSA                          PARCELAS HILL BROTHERS      85 B CALLE 7                                                                           SAN JUAN            PR         00924
   165217 FELIX RAMOS BERRIOS                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653273 FELIX RAMOS DE JESUS                        HC 03 BOX 11225                                                                                                    YABUCOA             PR         00767
   165218 FELIX RAMOS GONZALEZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   653276 FELIX RAMOS RODRIGUEZ                       HC 763 BZN 3106             CARR 181 KM 90 6 BO CACAO                                                              PATILLAS            PR         00723

   653277 FELIX RAMOS SANTIAGO                        URB GONZALEZ                55 CALLE DOMINGO CABRERA                                                               SAN JUAN            PR         00925 2416
   653279 FELIX RAMOS SANTOS                          PO BOX 7126                                                                                                        PONCE               PR         00732
   653280 FELIX RAMOS TORO                            HC1 BOX 3112                                                                                                       BOQUERON            PR         00622‐9710
   165219 FELIX RAMOS TORRES                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165222 FELIX RAUL LOPEZ GONZALEZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653281 FELIX REYES FERRER                          BO SUD SECTOR LOS VALLES    CARR 171 KM 0 9                                                                        CIDRA               PR         00739
   653282 FELIX REYES RAVELO                          COND PORTEZUELA             EDIF B 3 APT 3H                                                                        CAROLINA            PR         00983
   653283 FELIX REYES REYES                           PO BOX 410                                                                                                         COAMO               PR         00769
   165225 FELIX REYES ROSADO                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653284 FELIX REYNOSO                               CAPARRA TERRACE             822 CALLE 15 S O                                                                       SAN JUAN            PR         00921
   653285 FELIX RIBOT                                 URB FOREST HILLS            I 18 CALLE 1                                                                           BAYAMON             PR         00959
   165227 FELIX RIOS JIMENEZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653288 FELIX RIOS NEGRON                           1 H 34 URB PUNTO ORO                                                                                               PONCE               PR         00732
   165228 FELIX RIVAS OTERO                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165229 FELIX RIVAS ROSADO                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165230 FELIX RIVERA                                REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165231 FELIX RIVERA ALICEA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165233 FELIX RIVERA CARABALLO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165234 FELIX RIVERA CINTRON                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165235 FELIX RIVERA CLEMENTE                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  165236 FELIX RIVERA COLON                           REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  165237 FELIX RIVERA DE JESUS                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  653291 FELIX RIVERA ESTRADA                         PO BOX 735                                                                                                            QUEBRADILLAS       PR         00678
  653295 FELIX RIVERA MEDINA                          PO BOX 168                                                                                                            CIALES             PR         00638
  165239 FELIX RIVERA MORALES                         REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  653299 FELIX RIVERA NEGRON                          GL NOGAL CAPARRA HILLS                                                                                                GUAYNABO           PR         00968
  165240 FELIX RIVERA PEREZ                           REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  165241 FELIX RIVERA QUINONES                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  653300 FELIX RIVERA QUINTERO                        HC 02 BOX 47044                                                                                                       VEGA BAJA          PR         00693
  653302 FELIX RIVERA RESTO                           LOMAS VERDES               4Q 54 AVEZINIA                                                                             BAYAMON            PR         00956
  165243 FELIX RIVERA RODRIGUEZ                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  165246 FELIX RIVERA ROSA                            REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  653304 FELIX RIVERA ROSARIO                         HC 1 BOX 6562                                                                                                         CIALES             PR         00638

   653305 FELIX RIVERA SANTIAGO                       URB LEVITOWN LAKES         BD 49 CALLE DR JOSE ESPAILLAT                                                              TOA BAJA           PR         00949‐3422
   653306 FELIX RIVERA SANTOS                         407 CALLE AMERICA                                                                                                     SAN JUAN           PR         00917
   653307 FELIX RIVERA VAZQUEZ                        URB PUERTO NUEVO           1368 CALLE 16 NO                                                                           SAN JUAN           PR         00920
   165247 FELIX RIVERA VILLALOBOS                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   653308 FELIX ROCHE DIAZ                            PDA 38                     17 CALLE OROCOVIS                                                                          SAN JUAN           PR         00925
   165260 FELIX RODRIGUEZ                             REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   165261 FELIX RODRIGUEZ ALICEA                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   165262 FELIX RODRIGUEZ ARCHEVAL                    REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   653310 FELIX RODRIGUEZ COLLAZO                     PO BOX 1096                                                                                                           VILLALBA           PR         00766
   165264 FELIX RODRIGUEZ COLON                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   165265 FELIX RODRIGUEZ CORTES                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   653311 FELIX RODRIGUEZ CRUZ                        URB SANTA ELVIRA           C 8 CALLE SANTA CECILIA                                                                    CAGUAS             PR         00725
          FELIX RODRIGUEZ CRUZ/NILDA
   653312 VELAZQUEZ                                   RES ERNESTO RAMOS ANTONINI EDIF B 5 ATPO 39                                                                           PLAYA PONCE        PR         00716
   653313 FELIX RODRIGUEZ DIAZ                        P O BOX 9813                                                                                                          SAN JUAN           PR         00908‐0813
   653315 FELIX RODRIGUEZ FIGUEROA                    6 CALLE ANTONIO CONDE                                                                                                 ADJUNTAS           PR         00601
   653317 FELIX RODRIGUEZ GONZALEZ                    BO MANI                    708 CALLE CARACOL                                                                          MAYAGUEZ           PR         00680

   653318 FELIX RODRIGUEZ HERNANDEZ                   PO BOX 9021‐271                                                                                                       SAN JUAN           PR         00902‐1271
   653320 FELIX RODRIGUEZ LOPEZ                       HC 9 BOX 3154                                                                                                         SABANA GRANDE      PR         00637‐9610

   653321 FELIX RODRIGUEZ LORENZANA                   BOX 1441                                                                                                              JUANA DIAZ         PR         00795
   165268 FELIX RODRIGUEZ LUGO                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   653322 FELIX RODRIGUEZ MARTINEZ                    27 URB ALAMEIN             65 TH INFANTERIA                                                                           SAN JUAN           PR         00926
   165270 FELIX RODRIGUEZ MATOS                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   165271 Felix Rodriguez Medina                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   653326 FELIX RODRIGUEZ NEGRON                      URB JARDINES DEL CARIBE    17 BLOQ 11 CALLE 36                                                                        PONCE              PR         00731
   165272 FELIX RODRIGUEZ ORTIZ                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   653328 FELIX RODRIGUEZ PADILLA                     71 CALLE RIOS                                                                                                         CABO ROJO          PR         00623
   165273 FELIX RODRIGUEZ PEREZ                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   165274 FELIX RODRIGUEZ PORTALATIN                  REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   165275 FELIX RODRIGUEZ RIVERA                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   653331 FELIX RODRIGUEZ RODRIGUEZ                   HC 1 BOX 7704                                                                                                         CANOVANAS          PR         00729
   653333 FELIX RODRIGUEZ ROSADO                      URB RIO CRISTAL            500 CALLE ROBERTO COLE                                                                     MAYAGUEZ           PR         00680
   653334 FELIX RODRIGUEZ SCHMIDT                     PO BOX 361765                                                                                                         SAN JUAN           PR         00936‐1765
   165276 FELIX RODRIGUEZ VEGA                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED




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          FELIX RODRIGUEZ Y MIGDALIA
   165277 RAMOS                                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   165293 FELIX RODRIGUEZ, ISIDRO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   165305 FELIX ROJAS                                 REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   165306 FELIX ROJAS, IVETTE L                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   165307 FELIX ROLANDO SOTO RIOS                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   165308 FELIX ROLDAN DIAZ                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   165310 FELIX ROMAN CARRASQUILLO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   653335 FELIX ROMAN FLORES                          BOX 560274                                                                                                        GUAYANILLA           PR         00656
   165311 FELIX ROMERO CRUZ                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   165313 FELIX ROQUE ARZOLA                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   653336 FELIX ROSA GONZALEZ                         PO BOX 7769                                                                                                       SAN JUAN             PR         00916‐7769
   653338 FELIX ROSA RODRIGUEZ                        HP ‐ SALA 5 BAJOS VARONES                                                                                         RIO PIEDRAS          PR         009360000
   653339 FELIX ROSADO ALMODOVAR                      PO BOX 5146                                                                                                       CAGUAS               PR         00726
   165314 Félix Rosado Marquez                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   653341 FELIX ROSADO PANTOJAS                       BO MARICAO                  BOX 5029                                                                              VEGA ALTA            PR         00692

   165315 FELIX ROSADO Y ANA M NUNEZ                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   653342 FELIX ROSARIO AVILES                        RR 1 BOX 10595                                                                                                    OROCOVIS             PR         00720
   165317 FELIX ROSARIO COLON                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   653343 FELIX ROSARIO DEFAUS                        PO BOX 208                                                                                                        COMERIO              PR         00782
   653344 FELIX ROSARIO MELENDEZ                      RR 3 BOX 4151                                                                                                     SAN JUAN             PR         00926
   165318 FELIX ROSARIO PENA                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   653345 FELIX ROSARIO RIOS                          BO SABANA HOYOS             PO BOX 1320                                                                           ARECIBO              PR         00688
          FELIX RUBEN SERRANO
   165321 ORLANDO                                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   165322 FELIX RUIZ RODRIGUEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   653348 FELIX RUIZ VARGAS                           BO ASOMANTE BOX 1023                                                                                              AGUADA               PR         00602
   165302 FELIX S MIRANDA MARRERO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   653349 FELIX S OCASIO CRUZ                         URB GUARICO                 P 13 CALLE E                                                                          VEGA BAJA            PR         00963
   653350 FELIX S RODRIGUEZ APONTE                    HC 7 BOX 2273                                                                                                     PONCE                PR         00731
   165323 FELIX SABATER TORRES                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   653351 FELIX SALAS ADORNO                          VILLA PALMERAS              328 CALLE ERNESTO VIGOREAUX                                                           SAN JUAN             PR         00915
   165324 FELIX SALAS QUINONES                        REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   165325 FELIX SAN MIGUEL LOPEZ                      REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   165326 FELIX SANCHEZ                               REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   653353 FELIX SANCHEZ COLLAZO                       LEVITOWN                    2862 PASEO AURIA                                                                      TOA BAJA             PR         00949
   653355 FELIX SANCHEZ CRUZ                          URB RIO GRANDE ESTATES      9 A CALLE 7                                                                           RIO GRANDE           PR         00745
   165327 FELIX SANCHEZ REYES                         REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   165329 FELIX SANDOVAL PIZARRO                      REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   165330 FELIX SANTANA LOPEZ                         REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   653356 FELIX SANTIAGO                              PO BOX 139                                                                                                        SAN LORENZO          PR         00754
   653357 FELIX SANTIAGO ANDUJAR                      HC 2 BOX 7977‐1                                                                                                   BARCELONETA          PR         00617
   653358 FELIX SANTIAGO CRESPO                       R R 3 BOX 3369                                                                                                    SAN JUAN             PR         00928
   653363 FELIX SANTIAGO HERNANDEZ                    BOX 3257                                                                                                          CIDRA                PR         00739
   653364 FELIX SANTIAGO JUSINO                       HC 01 BOX 8962                                                                                                    SAN GERMAN           PR         00683
   653365 FELIX SANTIAGO LEON                         SECTOR TOCADILLA                                                                                                  JUANA DIAZ           PR         00795
   165332 FELIX SANTIAGO ORTIZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   165333 FELIX SANTIAGO RIVERA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   165334 FELIX SANTIAGO ROMAN                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   165335 FELIX SANTIAGO SANTOS                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   165340 FELIX SANTOS GONZALEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED



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  165342 FELIX SANTOS LUIS BELLARDO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  165343 FELIX SANTOS SEPULVEDA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   653366 FELIX SARITA                                 1050 AVE FERNANDEZ JUNCOS                                                                                     SANTURCE            PR         00907
   653367 FELIX SEDA DIAZ                              PO BOX 362707                                                                                                 SAN JUAN            PR         00936‐2707
   653368 FELIX SEMIDEY                                PO BOX 367182                                                                                                 SAN JUAN            PR         00936
   165344 FELIX SEPULVEDA CANCEL                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165345 FELIX SEPULVEDA MEDINA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165346 FELIX SEPULVEDA OQUENDO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653371 FELIX SERRANO MATOS                          HC 05 BOX 27559                                                                                               CAMUY               PR         00627
   653372 FELIX SERRANO PEREZ                          HC 5 BOX 27559                                                                                                CAMUY               PR         00607
   165348 FELIX SEVILLA CEDENO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653373 FELIX SIERRA OCASIO                          RES VIRGILIO DAVILA         EDIF 39 APT 368                                                                   BAYAMON             PR         00961
   653374 FELIX SOLER RAMOS                            P O BOX 598                                                                                                   CABO ROJO           PR         00623
   653375 FELIX SOLER VEGA                             PO BOX 598                                                                                                    CABO ROJO           PR         00623
   653376 FELIX SOLIVAN COLON                          HC 01 BOX 8186                                                                                                SALINAS             PR         00751
   165351 FELIX SOTO QUINONEZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653377 FELIX SOTO TORRES                            PO BOX 7126                                                                                                   PONCE               PR         00732
   165352 FELIX SOTO VALENTIN                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653378 FELIX SOTO VELAZQUEZ                         HC 040 BOX 15636                                                                                              HUMACAO             PR         00791
   653380 FELIX SUERO VALOY                            PO BOX 2089                                                                                                   SAN JUAN            PR         00902
   165356 FELIX T QUINONES VAZQUEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165357 FELIX T SANTOS SIERRA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165358 FELIX TAPIA VELAZQUEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653381 FELIX TARRATS LEANDY                         2218 CALLE CAMPOS                                                                                             PONCE               PR         00717‐1668
   653382 FELIX TEXIDOR DELGADO                        PO BOX 7126                                                                                                   PONCE               PR         00732
   653383 FELIX TOLEDO RIVERA                          PO BOX 308                                                                                                    ARECIBO             PR         00613
   165364 FELIX TORO ARROYO                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165365 FELIX TORO RODRIGUEZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653384 FELIX TORRES ADORNO                          URB TOA ALTA HEIGHTS        R 1 CALLE 19                                                                      TOA ALTA            PR         00953
   653385 FELIX TORRES AVILES                          CANTERA                     2452 CONDADITO FINAL                                                              SAN JUAN            PR         00915
   165368 FELIX TORRES DE LA CRUZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165369 FELIX TORRES ECHEVARRIA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653386 FELIX TORRES FIGUEROA                        BDA RIO PLANTATION          19 ESTE CALLE 2                                                                   BAYAMON             PR         00961
   165370 FELIX TORRES FUENTES                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653388 FELIX TORRES GARCIA                          P O BOX 7814                                                                                                  PONCE               PR         00732
   653389 FELIX TORRES ORTIZ                           3 CALLE SUNNY VILLAGE                                                                                         CAYEY               PR         00736
   653390 FELIX TORRES PEREZ                           BO ABRAS                    HC 2 BOX 7661                                                                     COROZAL             PR         00783
   653391 FELIX TORRES RIVERA                          VILLA CAROLINA              3 12 CALLE 29                                                                     CAROLINA            PR         00985
   165371 FELIX TORRES RODRIGUEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653392 FELIX TORRES SANTIAGO                        BUZON 5565                                                                                                    LOIZA               PR         00772
   165373 FELIX TORRES TAVAREZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165374 FELIX TORRES VAZQUEZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165375 FELIX TORRES VILLAFANE                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165378 FELIX TORRES, LUZ CELENIA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653393 FELIX TORRUELLA LUGO                         PO BOX 7126                                                                                                   PONCE               PR         00732
   653394 FELIX TROCHE ECHEVARRIA                      BO. CUCHILLA                CARR 351 BUZON 3340                                                               MAYAGUEZ            PR         00680

   165380 FELIX TRULLENQUE FERNANDEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653396 FELIX V ACEVED0 FELICIANO                    PO BOX 1458                                                                                                   VIEQUES             PR         00765
   165383 FELIX V CABAN ACEVEDO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653397 FELIX V CARATINI SOTO                        ESTANCIAS DE LA FUENTES     128 CALLE GARDENIA                                                                TOA ALTA            PR         00953
   653398 FELIX V MATOS RODRIGUEZ                      SANTA MARIA                 1916 CALLE PETUNIA                                                                SAN JUAN            PR         00927



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          FELIX V MELENDEZ
   165384 CARRASQUILLO                                REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   652706 FELIX V OTERO TORRES                        PO BOX 3135                                                                                                  SAN JUAN            PR           00970
   165388 FELIX V SANTOS ORTIZ                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653400 FELIX VALENTIN MATOS                        HC 02 BOX 6680                                                                                               UTUADO              PR           00641
   653401 FELIX VALLE DOMINGUEZ                       URB JARDINES DE MONACO    30 CALLE HOLANDA                                                                   MANATI              PR           00674
   653402 FELIX VARGAS                                URB VILLA NORMA           D 4 CALLE 3                                                                        QUEBRADILLAS        PR           00678
   165390 FELIX VARGAS LUGO                           REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165391 FELIX VARGAS MORISCO                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653403 FELIX VARGAS RIVERA                         VILLA TAINA               P O BOX 1018                                                                       CABO ROJO           PR           00622
   165392 FELIX VAZQUEZ ALICEA                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165393 FELIX VAZQUEZ BURGOS                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653405 FELIX VAZQUEZ CRUZ                          RR 12 BOX 1211            BO SANTA OLAYA                                                                     BAYAMON             PR           00956
   165394 FELIX VAZQUEZ MERCADO                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653408 FELIX VAZQUEZ RODRIGUEZ                     PO BOX 692                                                                                                   SAINT JUST          PR           00978
   165395 FELIX VAZQUEZ ROSARIO                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FELIX VEGA DE JESUS Y BETSY
   653409 RIVERA                                      HC 01 BOX 5258                                                                                               HORMIGUEROS         PR           00660
   653411 FELIX VEGA MIRANDA                          850 CALLE SANCHEZ                                                                                            SAN JUAN            PR           00909
   653412 FELIX VEGA RAMOS                            VILLA CERAL               17 CALLE A                                                                         LARES               PR           00669
   653414 FELIX VEGA RODRIGUEZ                        BARRIO CEDRO              BOX 28801                                                                          CAYEY               PR           00736
   165408 FELIX VEINTIDOS VICENTE                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653415 FELIX VELAZQUEZ CORDOVA                     MIRAMAR TOWER APT H 6     721 CALLE HERNANDEZ                                                                SAN JUAN            PR           00907

   653416 FELIX VELAZQUEZ LARACUENTE                  CONSTANCIA                2609 AVE LAS AMERICAS                                                              PONCE               PR           00731
   653417 FELIX VELAZQUEZ OLIVENCIA                   CERRO DE LA LIBERTAD 2                                                                                       SAN GERMAN          PR           00683
   165410 FELIX VELEZ LAMBOY                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653418 FELIX VENDRELL RUIZ                         PO BOX 3616                                                                                                  GUAYNABO            PR           00970
   653419 FELIX VERA HERNANDEZ                        URB JARD DE GUATEMALA     E 23 CALLE 1                                                                       SAN SEBASTIAN       PR           00685
   165411 FELIX VERDEJO CRUZ                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165412 FELIX VICENTE MELENDEZ                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653420 FELIX VILELLA SUAU                          COND PLAZA REAL CAPARRA   APTO 309 187 CARR 2                                                                GUAYNABO            PR           00966
   653423 FELIX VIRUET MAESTRE                        PO BOX 2078                                                                                                  UTUADO              PR           00641
   165417 FELIX W NEGRON BRIZUELA                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653425 FELIX W ORTIZ                               EL PLANTIO                E 28 CALLE LAUREL                                                                  TOA BAJA            PR           00949
   653426 FELIX W RIVERA SYLVESTRY                    PO BOX 72                                                                                                    FAJARDO             PR           00738‐0072

   653427 FELIX W SANTIAGO RODRIGUEZ                  URB VILLA DEL CARMEN      4338 AVE CONSTANCIA                                                                PONCE               PR           00716‐2143
   165418 FELIX X RODRIGUEZ APONTE                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FELIX X. MALDONADO D/B/A
   165419 UNIVERSAL SALES                             HC 03 BOX 16730                                                                                              COROZAL             PR           00783

   165420 FELIX X. MALDONADO TORRES                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FELIX Y MERCEDES MARTINEZ /
   165421 LUZ MARTINEZ                                REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653429 FELIX ZABALA                                8518 SW 8TH STREET                                                                                           MIAMI               FL           33144
   165422 FELIX ZAMBRANA RIVERA                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FELIXANDER RIVERA DBA
   165430 FONTANEZ BUS LINE                           RR 10 BOX 10201                                                                                              SAN JUAN            PR           00926
   653430 FELIXBERTO FLORES SANCHEZ                   HC 2 BOX 10807                                                                                               SAN JUAN            PR           00777
   653432 FELIZ A BAEZ                                ALTURAS DE BUCARABONES    3T 34 CALLE 42                                                                     TOA ALTA            PR           00953
   165436 FELIZ BELEN LATIMER                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165437 FELIZ CABAN PEREZ                           REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  653433 FELIZ CUEVAS DE LOS SANTOS                    VILLA PALMERA               364 CALLE BETANCES                                                                   SAN JUAN          PR         00915
  165441 FELIZ DIAZ RODRIGUEZ                          PO BOX 982 PATILLAS                                                                                              PATILLAS          PR         00723
  653431 FELIZ DUCLOS PESANTE                          URB BRISAS DE A¥ASCO        E 13 CALLE 8                                                                         A¥ASCO            PR         00610
  165449 FELIZ LEBREAULT MD, RAFAEL                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  165453 FELIZ M ORTIZ ORTIZ                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  653434 FELIZ MARTIN PELLOT                           BO GALATEO ALTO             160 RUTA 5                                                                           ISABELA           PR         00662
  165457 FELIZ MD , MARCOS A                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  653435 FELIZ MENDEZ GONZALEZ                         RES ROBERTO CLEMENTE E      EDIF B2 APT 4 BOX 16014                                                              CAROLINA          PR         00987
  165462 FELIZ MENDEZ MD, NESTOR J                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  165466 FELIZ R NIEVES MARTIR                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  653437 FELIZ R SANTANA PORRATA                       LOMAS VERDES RIO HONDO      48 CALLE 11                                                                          MAYAGUEZ          PR         00680
  165473 FELLEX OMAR RODRIGUEZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         FELL'S SCHOOL TRANSPORT,
  165474 CORP.                                         PO BOX 308                                                                                                       COROZAL           PR         00783

   165475 FELMARIE DEL C CRUZ MORALES                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          FELMARIE DEL CARMEN CRUZ
   165476 MORALES                                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   165477 FELOS AUTO SALES                             HC 3 BOX 9677                                                                                                    LARES             PR         00669
   165479 FELSI THANNER MD, ANNA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   165481 FELSPEN MD, REBECA                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   165484 FELUMAR CONSTRUCCION                         HC 02 BOX 6996                                                                                                   BARRANQUITAS      PR         00794
   165485 FELVIO ROSARIO DIAZ                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                       963 CALLE ANTONIO DE LOS
   653438 FELWIN RIVERA LEBRON                         REYES                                                                                                            CAROLINA          PR         00924
   165486 FEMBPUR CORP                                 P O BOX 3171                                                                                                     BAYAMON           PR         00960
          FEMINO DUCEY QUELER
   165489 ORTHOPAEDIC                                  45 FRANKLIN AVE                                                                                                  NUTLEY            NJ         07032‐0000
   165490 FEMKE BAKKER MANK                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   653439 FENDALYN INC                                 URB SANTA CRUZ              75 CALLE SANTA CRUZ                                                                  BAYAMON           PR         00961
   165491 FENDER ANDINO HERNANDEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   165492 FENDI J CRUZ DIAZ                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   653440 FENDI WHOLESALE FLOWERS                      202 CALLE LAS FLORES                                                                                             SANTURCE          PR         00912
                                                       7090 PEACHTREE INDUSTRIAL
   653441 FENESTRAE INC                                BLVD                                                                                                             NORCROSS          GA         30071
   653442 FENEX TORRES TORRES                          URB SANTA ROSA 12           28 AVE AGUAS BUENAS                                                                  BAYAMON           PR         00959
   165499 FENG NUA SHENG                               REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   653443 FENG SHU Q                                   RR 2 BOX 4072                                                                                                    A¥ASCO            PR         00610
   165507 FENSTER SCHOOL                               8505 E OCOTILLO DRIVE                                                                                            TUCSAN            AZ         85750
   165508 FENWAL INC                                   FENWAL AVENUE               CARR 122 KM 0.5                                                                      SAN GERMAN        PR         00683
   165510 FENWAL INC.                                  3 CORPORATE DRIVE                                                                                                LAKE ZURICH       IL         60047
   165511 FENWAL INTERNATIONAL INC                     PO BOX 832                                                                                                       MARICAO           PR         00606
          FEQUIERE GARDERE MD,
   165516 CHARLES J                                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   653444 FER CEN INC                                  PO BOX 3947                                                                                                      BAYAMON           PR         00958‐0947
   653446 FER CONSTRUCTION SE                          P O BOX 9932                                                                                                     SAN JUAN          PR         00908‐0932
   165517 FER GIO CORP.                                URB VALLE DE ANDALUCIA      2921 CALLE LORCA                                                                     PONCE             PR         00728
   653447 FERBAD OFFICE SUPPLY INC                     CAPARRA HEIGHTS STATION     P O BOX 11325                                                                        SAN JUAN          PR         00922‐1265
   653448 FERDIAN A BERRIOS GUZMAN                     HC 02 BOX 9185                                                                                                   COROZAL           PR         00783
   653450 FERDIN J SERRANO FIGUEROA                    ALTURAS DE FLORIDA          H 6 CALLE 5                                                                          FLORIDA           PR         00650
   653451 FERDINAD MORALES                             URB. CARIBE GOLDEN          C/LIRIO F‐11                                                                         CAGUAS            PR         00725
   165519 FERDINAD SANABRIA RAMOS                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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   165520 FERDINAD SANTIAGO IRIZARRY                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165521 FERDINAN ACEVEDO COLON                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165522 FERDINAN MARIN RIVERA                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165523 FERDINAN NUNEZ VELEZ                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   165524 FERDINAN SANTIAGO MELENDEZ REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165525 FERDINAND A DE JESUS SELLA REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165526 FERDINAND A GAROFALO       REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165527 FERDINAND ABADIA CANALES   REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165529 FERDINAND ACOSTA VIDAL     REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653453 FERDINAND ALEMAN ARCE      HC 3 BOX 27996                                                                                                                     SAN SEBASTIAN       PR           00685
                                                                                 U 31 SANTIAGO OPPENHINMER
   653454 FERDINAND ALMESTICA                         URB LAS DELICIAS           ST                                                                                     PONCE               PR           00731
                                                      URB. MONTERREY 902 CALLE
   165530 FERDINAND ARROYO DEL RIO                    OTOAO                                                                                                             MAYAGUEZ            PR           00680‐5186
   653455 FERDINAND AUTO CENTER                       417 CARR 14 KM 3 4                                                                                                PONCE               PR           00731
   165531 FERDINAND BAEZ TIRADO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   165532 FERDINAND BATIZ CHAMORRO                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERDINAND BERMUDEZ
   653456 PACHECO                                     URB LAS DELICIAS           BI 8 CALLE 4                                                                           PONCE               PR           00731
   653457 FERDINAND BERRIO ORTIZ                      P O BOX 5200                                                                                                      CAROLINA            PR           00984

   165533 FERDINAND C MONTALVO VILLA REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERDINAND CAMACHO
   653458 MORALES                    RES DR PEDRO S PALAU                        EDF 9 APT 73                                                                           HUMACAO             PR           00971
          FERDINAND CAMACHO
   653459 RODRIGUEZ                  HC 1 BOX 7776                                                                                                                      YAUCO               PR           00698

   165534 FERDINAND CARTAGENA SOSA                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653460 FERDINAND CASTILLO RIVERA                   BO MARIANA                                                                                                        HUMACAO             PR           00791

   165535 FERDINAND CASTRO FERNANDEZ REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165536 FERDINAND CEDENO RIVERA    REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165537 FERDINAND CENTENO PAGAN    REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165539 FERDINAND CRUZ CUEVAS      REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653461 FERDINAND DIAZ TORRES      P O BOX 7126                                                                                                                       PONCE               PR           00732
   165541 FERDINAND FERRER CRUZ      REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653462 FERDINAND FERRER ESCOBAR   URB LEVITTOWN LAKES                         BB 70 CALLE CABAL                                                                      TOA BAJA            PR           00949

   165542 FERDINAND FIGUEROA POMALES REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653463 FERDINAND FRATICELLI SAEZ  MOTBLANC GARDEN                             EDIF 3 APT 36                                                                          YAUCO               PR           00698
   165543 FERDINAND FUENTES MOLINA   REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERDINAND GARRIGA
   653464 RODRIGUEZ                  66 BDA FELICIA                                                                                                                     SANTA ISABEL        PR           00757
   653465 FERDINAND GONZALEZ ORTIZ   JARDINES DE BORINQUEN                       J 21 CALLE ALELI                                                                       CAROLINA            PR           00985
          FERDINAND GONZALEZ
   165544 RODRIGUEZ                  REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653466 FERDINAND GUILLOTY NAVARRO PO BOX 61                                                                                                                          LAS MARIAS          PR           00670

   653467 FERDINAND GUTIERRES NU¥EZ                   REPARTO MONTELLANO         D 2 CALLE B                                                                            CAYEY               PR           00736



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  653468 FERDINAND GUZMAN MATIAS                      HC 01 BOX 4131                                                                                                     UTUADO               PR           00641

   653469 FERDINAND HERNANDEZ ROSA                    P O BOX 2274                                                                                                       GUAYNABO             PR           00970

   165545 FERDINAND IRIZARRY SANTIAGO REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   653470 FERDINAND LANDRAU TORRES                    URB REPTO LANDRAU           1450 CALLE FRASER                                                                      SAN JUAN             PR           00921

   653472 FERDINAND LIARD ECHEVARRIA                  VILLA DEL REY               LC 3 CALLE 29                                                                          CAGUAS               PR           00725
   165547 FERDINAND LOPEZ CRUZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   653473 FERDINAND LOPEZ VALLE                       364 CALLE SAN JORGE APT 5                                                                                          SAN JUAN             PR           00912
   165549 FERDINAND LUGO GONZALEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          FERDINAND MALDONADO
   165550 ECHEVARRIA                                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   653477 FERDINAND MARTINEZ RIVERA                   PO BOX 1380                                                                                                        LUQUILLO             PR           00773

   653478 FERDINAND MARTINEZ SANCHEZ JARDINES DE CAYEY 1                          F 10 CALLE 11                                                                          CAYEY                PR           00736

   653479 FERDINAND MARTINEZ VARGAS                   P O BOX 7126                                                                                                       PONCE                PR           00732

   653480 FERDINAND MEDIANA                           MSC 774                     138 WINSTON CHURCHILL AVE                                                              SAN JUAN             PR           00926‐6023
   165553 FERDINAND MEDINA                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   653481 FERDINAND MEDINA & FINANCO P O BOX 13026                                                                                                                       SAN JUAN             PR           00908‐9999

   165554 FERDINAND MEJIAS MERCADO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   165555 FERDINAND MELENDEZ APONTE REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   653482 FERDINAND MELENDEZ OTERO                    P O BOX 1241                                                                                                       VEGA BAJA            PR           00694
   653483 FERDINAND MENA TROCHE                       PO BOX 857                                                                                                         LAJAS                PR           00667
          FERDINAND MENENDEZ
   653484 CORDOVES                                    URB BALDRICH                500 AVE DOMENECH 202                                                                   SAN JUAN             PR           00918
   653485 FERDINAND MERCADO                           URB LA VISTA                G 15 VIA CUMBRES                                                                       SAN JUAN             PR           00924‐4475

   653486 FERDINAND MERCADO RAMOS                     COND EL CENTRO 1 SUITE      220 AVE MU¥OZ RIVERA                                                                   HATO REY             PR           00918

   165558 FERDINAND MOLINA SERRANO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          FERDINAND MONTERO
   165559 HERNANDEZ                                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   165560 FERDINAND MUNICH PALACIOS                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   165561 FERDINAND MUNIZ GONZALEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   165562 FERDINAND NAZARIO VAZQUEZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   165564 FERDINAND NEGRON NEGRON                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          FERDINAND NEGRON/ ERIKA
   165565 FELICIANO                                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   165566 FERDINAND OCASIO RIVERA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   165567 FERDINAND OCASIO VELEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED



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  653489 FERDINAND OJEDA CRUZ                         HC 01 BOX 8259                                                                                                  SAN GERMAN        PR         00683
  653490 FERDINAND ORTIZ CABRERA                      HC 73 BOX 5251                                                                                                  NARANJITO         PR         00719
  165568 FERDINAND ORTIZ ORTIZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  653492 FERDINAND PADRO JIMENEZ                      HC 01 BOX 10431                                                                                                 ARECIBO           PR         00612‐9786
  653452 FERDINAND PEREZ RIVERA                       HC 04 BOX 20800                                                                                                 LAJAS             PR         00667
  165569 FERDINAND PEREZ VAZQUEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      COM CALLE DEL AGUA SOLAR
   653493 FERDINAND PLAZA PLAZA                       227 B                                                                                                           ADJUNTAS          PR         00601
   653494 FERDINAND PONCE MEDINA                      280 CALLE SOL                                                                                                   SAN JUAN          PR         00901

   653496 FERDINAND RAMOS GONZALEZ                    HC 01 BOX 5190                                                                                                  UTUADO            PR         00641

   653497 FERDINAND RIOS MALDONADO                    URB SANTA ROSA                11‐21 CALLE 24                                                                    BAYAMON           PR         00959
   653498 FERDINAND RIOS MORALES                      HC 03 BOX 12750                                                                                                 COROZAL           PR         00783
   165571 FERDINAND RIVERA ARCE                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   165572 FERDINAND RIVERA ORTIZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   653501 FERDINAND RIVERA VALLELANES COND GRANADA PARK                             100 MARGINAL 5 A 217                                                              GUAYNABO          PR         00969
          FERDINAND RODRIGUEZ
   165573 RODRIGUEZ                   REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   165574 FERDINAND ROMAN             REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   653502 FERDINAND ROSA ARCE         PO BOX 477                                                                                                                      ADJUNTAS          PR         00601
   653503 FERDINAND ROSA SOTO         RR S BOX 8418 SUITE 29                                                                                                          BAYAMON           PR         00956

   653504 FERDINAND ROSADO DE JESUS                   BDA SANTA CLARA 30            APTDO 8 CARR 144                                                                  JAYUYA            PR         00664‐1520
   165575 FERDINAND RUIZ CARABALLO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   653506 FERDINAND SANTIAGO IRIZARRY HC 3 BOX 13951                                                                                                                  UTUADO            PR         00641

   653507 FERDINAND SANTIAGO MATOS                    BO LEGISAMO                   CARR 354 KM 9 4                                                                   MAYAGUEZ          PR         00680

   653509 FERDINAND SANTIAGO QUESTELL HC 03 BOX 58509                                                                                                                 MAYAGUEZ          PR         00680

   653511 FERDINAND SOTO SOTOMAYOR                    LA PROVIDENCIA                3C14 CALLE 25                                                                     TOA ALTA          PR         00953
   165576 FERDINAND TORRES PADILLA                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   165577 FERDINAND VARGAS VARGAS                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   165578 FERDINAND VARGAS VELAZQUEZ REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   653515 FERDINAND VAZQUEZ RUIZ     PO BOX 10613                                                                                                                     PONCE             PR         00732
          FERDINAND VEGA / AURORA
   165579 MARQUEZ                    REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   653516 FERDINAND VEGA RAMIREZ     BEVERLY EXT SAN ISIDRO                         107 CALLE MARTIN A                                                                SABANA GRANDE     PR         00637
   653518 FERDINAND VELEZ FIGUEROA   HC 02 BOX 6852                                                                                                                   LARES             PR         00669
   653519 FERDINAND VELEZ GONZALEZ   HC 2 BOX 12230                                                                                                                   LAJAS             PR         00667‐9672
   653520 FERDINAND VIVIER LAMBOY    172 PROLONGACION VADI                                                                                                            MAYAGUEZ          PR         00680
   165580 FERDINANDO TORRES DAVILA   REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   653522 FERDINARD CABRERA RUIZ     URB JARDINES DE ARECIBO                        B 11 CALLE A                                                                      ARECIBO           PR         00612

   653523 FERDINNAND CINTRON TORRES                   URB REXVILLE                  DC 5 CALLE 6                                                                      BAYAMON           PR         00956
   653524 FERDY I ALVAREZ RIVERA                      PO BOX 821                                                                                                      COMERIO           PR         00782
   653525 FERDY MACHADO MORALES                       P O BOX 8554                                                                                                    BAYAMON           PR         00960

   653526 FERGUSON ENTERPRISES INC                    VICTORIA IND PARK STA PAULA   372 ROAD 887                                                                      CAROLINA          PR         00987



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  165585 FERI                         PO BOX 363136                                                                                                                         SAN JUAN            PR           00936‐3136
  831359 Fe‐Ri Construction           P.O.Box 363136                                                                                                                        San Juan            PR           00936
  165586 FE‐RI CONSTRUCTION, INC.     PO BOX 363136                                                                                                                         SAN JUAN            PR           00936‐3136
         FERIA DEL MILENIO/WILSON
  653527 GALARZA                      P O BOX 7428                                                                                                                          SAN JUAN            PR           00928
         FERIA INTERNACIONAL DEL
  165588 LIBRO PR INC                 658 CALLE HOARE                                                                                                                       SAN JUAN            PR           00907
         FERIA Y CARNAVAL TURISMO P R
  165593 DEL CARIBE                   PO BOX 30513                                                                                                                          SAN JUAN            PR           00929‐1513
  165594 FERICELLI CASTILLO PAUL J    REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  165597 FERICO P. GIRARDI, MD        523 EAST 72ND STREET                                                                                                                  NEW YORK            NY           10021
  165598 FERLY J CASTELLANO COSME     REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  653528 FERMAIN MATOS BURGOS         HC 1 BOX 4719                                                                                                                         CAMUY               PR           00627
  653529 FERMAIN RIOS LOPEZ           C.S.M. BAYAMON                                                                                                                        Hato Rey            PR           00936
  165627 FERMARIE ESTRADA VAZQUEZ     REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
         FERMARYLISE Y QUINONES
  165628 GARCIA                       REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
         FERMENTATION CONSULTANTS
  165629 INC                          PO BOX 2439                                                                                                                           COAMO               PR           00769

   653530 FERMIN A BASORA BORDALLO                     OCEAN PARK 2                CALLE SANTA CRUZ APT 3 B                                                                 SAN JUAN            PR           00911
   653532 FERMIN A TORRES CABAN                        URB VILLA GRANADA 495       CALLE TERUEL                                                                             SAN JUAN            PR           00923
   165630 FERMIN A.LOPEZ RIVERA                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   653533 FERMIN BATISTA ORTIZ                         PO BOX 1424                                                                                                          TRUJILLO ALTO       PR           00977‐1423

   165632 FERMIN C MIRANDA HERNANDEZ REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   653534 FERMIN CLEMENTE ESCALERA   HC 01 BOX 7518                                                                                                                         LOIZA               PR           00772
   165633 FERMIN COLON COLON         REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          FERMIN COMAS CASTILLO Y
   165634 ALTAGRACIA SOTO            REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   653535 FERMIN CONTRERAS BORDALLO PO BOX 3074                                                                                                                             MAYAGUEZ            PR           00681‐3074
   653536 FERMIN DE JESUS SOTO      HC 2 BOX 13005                                                                                                                          MOCA                PR           00676
          FERMIN DEL VALLE Y ANA H
   653538 CARRASQUILLO              HC 03 BOX 36535                                                                                                                         CAGUAS              PR           00725
                                                                                   INTITUCIÓN BAYAMON 501
  1419703 FERMIN DISLA, FRANCISCO                      FRANCISCO FERMIN DISLA      EDIFICIO 1‐B BOX 607073                                                                  BAYAMON             PR           00960
   653542 FERMIN FIGUEROA COLON                        PO BOX 484                                                                                                           GUAYNABO            PR           00970
   653541 FERMIN FIGUEROA FIGUEROA                     HC 646 BOX 6329                                                                                                      TRUJILLO ALTO       PR           00976
   165641 FERMIN FIGUEROA GONZALEZ                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   165642 FERMIN FRACINETTI CAPO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   653543 FERMIN GONZALEZ INC                          PO BOX 2522                                                                                                          BAYAMON             PR           00960‐2522
   165624 FERMIN HERNANDEZ ABAD                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   653544 FERMIN I FRACINETTI CAPO                     URB PARK BLVD 2212          CALLE GENERAL DEL VALLE                                                                  SAN JUAN            PR           00913
   653545 FERMIN J CRUZ VELEZ                          URB SANTA ELENA             B 26 CALLE 2                                                                             SABANA GRANDE       PR           00637
   653546 FERMIN J SAGARDIA                            PO BOX 29266                                                                                                         SAN JUAN            PR           00929

   653548 FERMIN L ARRAIZA NAVAS                       EDIF MERCANTIL PLAZA        2 AVE PONCE DE LEON STE 720                                                              SAN JUAN            PR           00918‐1611
   165645 FERMIN LASALLE JORDAN                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   165647 FERMIN LEBRON NIEVES                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   165648 FERMIN LOPEZ PADILLA                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   653550 FERMIN M CONTRERAS GOMEZ                     LOS ARBOLES DE MONTEHIEDRA 600 BLVRD DE LOS ARBOLES 376                                                              SAN JUAN            PR           00926



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  165650 FERMIN MENDEZ NIEVES                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   165652 FERMIN NARVAEZ ALEJANDRO                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165653 FERMIN NIEVES ROMAN                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653552 FERMIN ORTIZ FUENTES                        HC 1 BOX 13107                                                                                                   JUANA DIAZ          PR         00795

   653553 FERMIN P GUERRA DE LA FUENTE PO BOX 1908                                                                                                                     CAROLINA            PR         00984
   653554 FERMIN PEREZ MEDINA          PO BOX 637                                                                                                                      ISABELA             PR         00662
   165656 FERMIN QUINONEZ SANCHEZ      REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165657 FERMIN RIOS FLORES           REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653555 FERMIN RIVERA COLLAZO        PO BOX 730                                                                                                                      GARROCHALES         PR         00652
   165658 FERMIN RIVERA RAMOS          REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653556 FERMIN ROMERO                URB SULTANA                                MALLORCA NUM 53                                                                      MAYAGUEZ            PR         00680

   165661 FERMIN SANTIAGO BERMUDEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165662 FERMIN SEGARRA VAZQUEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653558 FERMIN SUAREZ SOTO                          HC 763 BOX 3878                                                                                                  PATILLAS            PR         00723
   165663 FERMIN TORRES RIVERA                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653559 FERMIN VEGA YOURMET                         URB DORAVILLE               4‐3 LOTE 15                                                                          DORADO              PR         00646

   653561 FERMINA LEBRON                              CASERIO F MODESTO CINTRON   EDF 6 APT 46                                                                         SALINAS             PR         00751
   653562 FERMINA PEREZ PEREZ                         HC 37 BOX 6133                                                                                                   GUANICA             PR         00653
   165667 FERMINA VAZQUEZ                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165668 FERMINA VELEZ MOSQUEDA                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   165669 FERMINA VIDRO/ ADRIAN VELEZ REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165679 FERNADO PEREZ GONZALEZ      REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653565 FERNADO PINEDA MORENO       PO BOX 9129                                                                                                                      MAYAGUEZ            PR         00681‐9129

          FERNAN PLUMBINGC/OEFRAIN
   653566 FERNANDEZ CORDO                             URB VICTORIA HEIGHTS        I 5 CALLE 4                                                                          BAYAMON             PR         00959
   165681 FERNAN R VARGAS LA SANTA                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653567 FERNAN RODRIGUEZ RIVERA                     P O BOX 9022512                                                                                                  SAN JUAN            PR         00902‐2512
   165682 FERNAND GRACIA VAZQUEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165683 FERNAND MD, ROBERT                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FERNAND Y MARCELLE
   653569 CHALONEC                                    ESTACION FERNANDEZ JUNCOS   PO BOX 11855                                                                         SAN JUAN            PR         00910‐3855
   653570 FERNANDA AULET MERCADO                      P O BOX 661                                                                                                      CIALES              PR         00638
   165684 FERNANDA BENITEZ CRUZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653571 FERNANDA GURZA                              ISLA VERDE                  16 CALLE AMAPOLA                                                                     CAROLINA            PR         00979

   165685 FERNANDA I OLVERA POLANCO                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653572 FERNANDA OSORIO PLAZA                       HC 1 BOX 2105                                                                                                    LOIZA               PR         00772‐9702
   165665 FERNANDA VIERA AYALA                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   165686 FERNANDE L ROMAN CUEVAS                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FERNANDEO M GONZALEZ
   165688 HERNANDEZ                                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   653575 FERNANDEZ & GUTIERREZ INC   PO BOX 29174                                                                                                                     SAN JUAN            PR         00929
   165698 FERNANDEZ AGUILA, YADIRA    REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FERNANDEZ ALMEDINA, NEFTALI
          Y FERNANDEZ MALDONADO,
  1419704 EFRAIN                      LUIS RIVERA MARTINEZ                        RR 17 BOX 11358                                                                      SAN JUAN            PR         00926‐9499



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          FERNANDEZ ALMEDINA, NEFTALI
          Y FERNANDEZ MALDONADO,
  1419705 EFRAIN                      LUIS RIVERA MARTINEZ                       RR 17 BOX 11358                                                                          SAN JUAN            PR           00926‐9499

   165734 FERNANDEZ APONTE, YESSENIA                  REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1419706 FERNANDEZ ARIAZA, FABIAN                    ANGEL RODRIGUEZ GARALLARDE PMB 170 PO BOX 194000                                                                    SAN JUAN            PR           00919‐4000
          FERNANDEZ BARBOSA MD,
   165760 KENEL                                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1419707 FERNANDEZ BONILLA, DEYANIRA OSVALDO BURGOS                             PO BOX 194211                                                                            SAN JUAN            PR           00919‐4211
          FERNANDEZ BRITO MD, BEATRIZ
   165795 H                           REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653576 FERNANDEZ CAEZ CAR          1 URB VEVE CALZADA                                                                                                                  FAJARDO             PR           00738
          FERNANDEZ CAMAÑO MD,
   165815 HOSTOS                      REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   165851 FERNANDEZ CASAS, RAFAEL     REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDEZ COLLINS & RIVERO
   165870 VERGNE                      REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   165904 FERNANDEZ CORDERO, HECTOR REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDEZ CORDERO, MANUEL
   165908 J.                        REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   165960 FERNANDEZ CUEVAS MD, JOSE O REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDEZ DEMORIZI MD,
   166000 DAYRA                       REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653578 FERNANDEZ EDITORES DE PR    FERNANDEZ JUNCOS                           PO BOX 11660                                                                             SAN JUAN            PR           00910
          FERNANDEZ ENCARNACION MD,
   166039 NOE                         REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   166141 FERNANDEZ GARCIA MD, DIANA REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653579 FERNANDEZ GARRIDO & CO INC                  PO BOX 2154                                                                                                         BAYAMON             PR           00960
          FERNANDEZ GONZALEZ MD,
   166181 RICARDO                                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   166188 FERNANDEZ GONZALEZ, DALISA                  REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                 URB. SAN SALVADOR A8 CALLE
  1419708 FERNANDEZ HERNANDEZ, JUAN                   CARLOS M. MORALES VELEZ    MARGINAL                                                                                 MANATÍ              PR           00674
          FERNANDEZ JIMENEZ MD,
   166261 JONATHAN                                    REDACTED                   REDACTED                       REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                 EDIFICIO JULIO BOGORICÍN SUITE
  1422852 FERNANDEZ JORGE, EMMANUEL EILEEN LANDRÓN GUARDIOLA                     501                            #1606 AVE. PONCE DE LEÓN                                  SAN JUAN            PR           00909

   653580 FERNANDEZ JUNCOS SER.STA.  1607 AVE FERNANDEZ JUNCOS                   PDA 23 1/2                                                                               SAN JUAN            PR           00911
   166278 FERNANDEZ LEBRON, ALEX Y.  REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDEZ LOPEZ MD, SAMUEL
   166300 A                          REDACTED                                    REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNÁNDEZ MARCHESE, HÉCTOR EDUARDO H. MARTÍNEZ                         701 AVE. PONCE DE LEÓN SUITE
  1419709 M. Y SLG                   ECHEVARRÍA                                  4013                                                                                     SAN JUAN            PR           00907
          FERNANDEZ MARIÑO MD,
   166357 VICENTE                    REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          FERNÁNDEZ MARRERO, MARTA
  1419710 B.                                          GLORIA E. BORGES FERANDEZ   PO BOX 69                                                                                  COAMO               PR           00769
   166325 FERNANDEZ MD , JULIE M                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDEZ MEDERO MD,
   166396 ROSANGELA                                   REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDEZ MUÑOZ MD,
   166485 AMANDA                                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDEZ MUÑOZ MD,
   166486 BRENDA                                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDEZ NUÑEZ MD,
   166516 LOURDEZ                                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   166555 FERNANDEZ PACHECO, MARLENE REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDEZ PADILLA MD,
   166556 CLARISSA                   REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653581 FERNANDEZ PEREZ GUTIERREZ                   URB LA RAMBLA               1302 CALLE CASTELLANA                                                                      PONCE               PR           00730‐4049
                                                                                  LCDA. MARYSE ROLDÁN RUIZ
  1419711 FERNÁNDEZ PÉREZ, YESENIA                    MARYSE ROLDÁN RUIZ          BETANCES #43 BOX 514                                                                       CAGUAS              PR           00726

   166674 FERNANDEZ RAMOS, MILAGROS REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   166708 FERNANDEZ RIOS MD, MILITZA                  REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   166724 FERNANDEZ RIVERA, ELIZABETH                 REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   166737 FERNANDEZ RIVERA, JUAN A                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDEZ RODRIGUEZ MD,
   166767 PEDRO J                                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDEZ RODRIGUEZ,
   166816 KATIMAR                                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDEZ RODRIGUEZ,
   166820 MAGGIE                                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDEZ ROMANELLI,
  1419712 EDUARDO                                     RAMÓN ORTIZ CORTÉS          APARTADO 9009                                                                              PONCE               PR           00732‐9009

   166873 FERNANDEZ ROSA MD, CARLOS A REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1419713 FERNANDEZ ROSARIO, GINNETTE TANIA SERRANO GONZALEZ                      PO BOX 7041                                                                                CAGUAS              PR           00726‐7041
   166896 FERNANDEZ ROSARIO, LUIS D.  REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDEZ SANTIAGO,
   166947 LOURDES                     REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1419714 FERNANDEZ SANZ, RAQUEL                      AXEL A. VIZCARRA ‐ PELLOT   AVE. ISLA VERDE # 5900 L2/362                                                              CAROLINA            PR           00979

   166983 FERNANDEZ SIFRE MD, CARLOS                  REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   166984 FERNANDEZ SIFRE MD, LUIS                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDEZ SOLTERO MD,
   167002 RAFAEL M                                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   167003 FERNANDEZ SOSA MD, ISABEL R                 REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDEZ SOTO MD, HECTOR
   167011 M                                           REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167013 FERNANDEZ SOTO, CARMEN                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          FERNANDEZ TAMAYO MD,
   167024 MARIA E                                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDEZ TORRES MD,
   167032 ALBERTO                                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653582 FERNANDEZ VAZQUEZ                           URB VILLA BLANCA           22 CALLE TURQUESA                                                                 CAGUAS              PR           00725
          FERNANDEZ VAZQUEZ MD, LUIS
   167086 C                                           REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDEZ VENTURA AND
   653583 ASOCIADOS                                   P O BOX 8805                                                                                                 SAN JUAN            PR           00910
          FERNANDEZ VILLARONGA MD,
   167130 ZULMA M                                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDEZ Y REGAL INC / LA
   653584 GRAN VIA 3                                  167 AVE JOSE DE DIEGO                                                                                        ARECIBO             PR           00612
  1419715 FERNANDEZ, MYRA Y.                          JAIME A. ALCOVER DELGADO   PO BOX 919                                                                        QUEBRADILLAS        PR           00678‐0919
   167194 FERNANDO A BAERGA IBANEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDO A CASABLANCA
   167195 TORRES                                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653594 FERNANDO A CERPA                            P O BOX 724                                                                                                  COMERIO             PR           00782

   167196 FERNANDO A COLON RODRIGUEZ REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDO A FERNANDEZ
   167197 ROSARIO                    REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167199 FERNANDO A FERRER CRUZ     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167200 FERNANDO A FRIAS           REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   167201 FERNANDO A GONZALEZ SUKIE                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDO A HERNANDEZ
   653595 RIVERA                                      URB ISLANDA HEIGHTS        FB 29 CALLE ARIES                                                                 BAYAMON             PR           00956
   653596 FERNANDO A LEO PE¥A                         200 SW 79HT AVE                                                                                              MIAMI               FL           33144‐2224
   167202 FERNANDO A MATEO MATEO                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167203 FERNANDO A MENDEZ VEGA                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDO A MOSCOSO
   653597 ALVAREZ                                     PO BOX 367151                                                                                                SAN JUAN            PR           00936‐7151
   653598 FERNANDO A NIEVES                           PO BOX 1941                                                                                                  GUAYAMA             PR           00785

   167204 FERNANDO A PINERO AMARAL                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167205 FERNANDO A RIVERA ARTILES                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDO A RIVERA
   167206 HERNANDEZ                                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   167207 FERNANDO A RIVERA ZAMBRANA REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDO A RODRIGUEZ
   653585 RODRIGUEZ                  PO BOX 35032                                                                                                                  PONCE               PR           00734‐5032
          FERNANDO A
          RODRIGUEZ/EDUARDO
   167208 ARREDONDO                  REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167209 FERNANDO A ROIG GARCIA     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653600 FERNANDO A TAVERAS RAMOS                    BO BUEN CONSEJO 214        CALLE COLON                                                                       SAN JUAN            PR           00926

   653601 FERNANDO A TRONCOSO FELIZ                   BO OBRERO                  621 RIO DE JANEIRO                                                                SAN JUAN            PR           00915
          FERNANDO A VAZQUEZ
   167212 MARRERO                                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  167213 FERNANDO A. CRUZ GARCIA                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   167214 FERNANDO ABRUNA CHARNECO REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   653602 FERNANDO ACEVEDO CRUZ    PO BOX 7126                                                                                                                              PONCE                PR         00732

   653603 FERNANDO ACEVEDO NEGRON                     PO BOX 6206                                                                                                           BAYAMON              PR         00960
   653604 FERNANDO ACEVEDO NIEVES                     URB JARD DE GUATEMALA       C 15 CALLE 3                                                                              SAN SEBASTIAN        PR         00685
   167216 FERNANDO ACEVEDO SANTOS                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   167217 FERNANDO ACOSTA PARDO                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   653605 FERNANDO ALBINO TROCHE                      PO BOX 7126                                                                                                           PONCE                PR         00732

   167219 FERNANDO ALVARADO CINTRON REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          FERNANDO ALVARADO
   653606 GUADALUPE                 URB VIVES                                     133 CALLE C                                                                               GUAYAMA              PR         00785

   167220 FERNANDO ALVARADO MUNOZ                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   653607 FERNANDO ALVARADO ORTIZ                     P O BOX 7126                                                                                                          PONCE                PR         00732

   653608 FERNANDO ALVAREZ FONSECA                    HC 04 BOX 48333                                                                                                       CAGUAS               PR         00725‐9632

   653609 FERNANDO ALVAREZ IGLESIAS                   EXT LA INMACULADA           EE 32 CALLE SANTA FE STE 303                                                              TOA BAJA             PR         00949
   167221 FERNANDO ALVAREZ LOMBA                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   167222 FERNANDO AMADOR PARES                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   167223 FERNANDO AMARO MARTINEZ                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   167224 FERNANDO AMARO RIVERA                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          FERNANDO ANAVITATE
   653611 CORDERO                                     NUEVA VIDA EL TUQUE         N 46 CALLE G                                                                              PONCE                PR         00731
   167225 FERNANDO ANDINO PIZARRO                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   653613 FERNANDO APONTE MORALES                     PMB 122 PO BOX 12383                                                                                                  SAN JUAN             PR         00914

   653614 FERNANDO APONTE VAZQUEZ                     URB LAS AGUILAS             B 16 CALLE 5                                                                              COAMO                PR         00769
   653615 FERNANDO ARCO                               P O BOX 29824                                                                                                         SAN JUAN             PR         00929

   653616 FERNANDO ARROCHO ABADIA                     RR 2 BOX 5607                                                                                                         CIDRA                PR         00739

   653617 FERNANDO ARROYO GONZALEZ                    URB LA HACIENDA             AR 16 CALLE PRINCIPAL                                                                     GUAYAMA              PR         00784
   653618 FERNANDO ARVELO RUIZ                        P O BOX 603                                                                                                           LARES                PR         00669
          FERNANDO ARZUAGA CUEVAS
   653619 DBA ARZUAGA ELEC                            PO BOX 3000                                                                                                           JUNCOS               PR         00777
   653586 FERNANDO AULET CASTRO                       PO BOX 2332                                                                                                           VEGA BAJA            PR         00694
   653621 FERNANDO AUTO AIR                           COUNTRY CLUB                M C 6 CALLE 400                                                                           CAROLINA             PR         00982

   653622 FERNANDO AYBAR FULLADOSA                    URB LADERAS DE PALMA REAL   W7‐49 CALLE TIRSO DE MOLINA                                                               SAN JUAN             PR         00926
   653623 FERNANDO AYBAR SOLTERO                      UNIVERSITY GARDENS          318 B CALLE CLAMSON                                                                       SAN JUAN             PR         00927
          FERNANDO BALMORI DBA
   167227 BALMORI VIDEO LIGHT                         URB. TERRAZAS DE CAROLINA   AD ‐ 7 CALLE 32                                                                           CAROLINA             PR         00987

   653624 FERNANDO BALMORI GONZALEZ URB CUPEY GARDENS                             L 3 CALLE 6                                                                               SAN JUAN             PR         00926
   167229 FERNANDO BARNES VELEZ     REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   167230 FERNANDO BARRON           REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   167231 FERNANDO BARRON GUERIN    REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  653626 FERNANDO BARROS                              URB MUNOZ RIVERA          54 CRISALIDA                                                                          GUAYNABO         PR           00969

   167232 FERNANDO BATISTA MORALES                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   167233 FERNANDO BATISTA RIVERA                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   167234 FERNANDO BATISTA VELEZ                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   653627 FERNANDO BAYRON VELEZ                       PMB 1102434 CALLE LOIZA                                                                                         LOIZA            PR           00913‐4745

   653628 FERNANDO BELTRAN MORALES                    PARC NUEVAS MAYAGUEZ      339 AVE ROCHDALE PONCE                                                                PONCE            PR           00731
   167235 FERNANDO BELTRAN PEREZ                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   167236 FERNANDO BELTRAN RODRIGUEZ REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   653629 FERNANDO BERIO MU¥IZ       PO BOX 22680                                                                                                                     SAN JUAN         PR           00931‐2680
          FERNANDO BERMUDEZ
   653630 MARCANO                    JARD DE PALMAREJO                          A Q 12 CALLE 11                                                                       CANOVANAS        PR           00729
   653631 FERNANDO BERMUDEZ SOTO     VILLA ANDALUCIA SUITE 1                    702 CALLE RONDA APTO 702                                                              SAN JUAN         PR           00926‐2360
   653633 FERNANDO BERRIOS RIVERA    BOX 689                                                                                                                          BAYAMON          PR           00960

   653634 FERNANDO BERRIOS SANTIAGO                   REPARTO RUBLE             B 106 CALLE ESMERALDA                                                                 AIBONITO         PR           00705

   167237 FERNANDO BERRIOS VAZQUEZ                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   167238 FERNANDO BETANCOURT                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
          FERNANDO BETANCOURT
   167239 GOMEZ                                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   167241 FERNANDO BODON MUNIZ                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   167242 FERNANDO BONNET MERCIER                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   653635 FERNANDO BOTERO                             25 RUE DU DRAGON                                                                                                PARIS                         75006          FRANCE
   167243 FERNANDO BRAVO LABOY                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   167244 FERNANDO BUESO PEREZ                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   653636 FERNANDO BURGOS GARCIA                      PO BOX 523                                                                                                      GUANICA          PR           00653
   653638 FERNANDO C COTERA                           URB EL SE¥ORIAL           2010 CALLE EDUARDO DORS                                                               SAN JUAN         PR           00926

   167245 FERNANDO CABAN BALAGUER                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
          FERNANDO CABANILLAS
   167246 ESCALONA                                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   653640 FERNANDO CALDERON PADILLA                   VILLA CAROLINA            B 100‐28 CALLE 102                                                                    CAROLINA         PR           00985
   167247 FERNANDO CALOCA TORRES                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   167248 FERNANDO CAMPOAMOR REDIN REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   653642 FERNANDO CANCEL MARIN      URB VALLE DE CERRO GORDO                   AA 7 CALLE PERLA                                                                      BAYAMON          PR           00956
          FERNANDO CAPELES
   167249 HERNANDEZ                  REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
          FERNANDO CARABALLO Y MAITE
   653644 SANTIAGO                   BARRIO CUATRO                              9 CALLE BERDUN                                                                        PONCE            PR           00731
   653645 FERNANDO CARMONA DIAZ      EXT VILLA MARINA                           66 A CALLE 6                                                                          GURABO           PR           00778

   167252 FERNANDO CARMONA RIVERA                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
          FERNANDO CARRASQUILLO
   653646 AGOSTO                                      RR 1 BOX 2379                                                                                                   CIDRA            PR           00739
          FERNANDO CARRASQUILLO
   653647 POMALES                                     PO BOX 445                                                                                                      SALINAS          PR           00751




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   653648 FERNANDO CARRERO CARMONA BO RIO HONDO                                    706 CAMINO GUAYO STE 1                                                                 MAYAGUEZ            PR           00680

   653650 FERNANDO CASANOVA SERRANO P O BOX 294                                                                                                                           VIEQUES             PR           00765

   653651 FERNANDO CASTILLO BARAHONA PO BOX 191294                                                                                                                        SAN JUAN            PR           00919‐1224

   653652 FERNANDO CASTILLO GONZALEZ URB LAS MERCEDES                              4 CALLE A 2                                                                            LAS PIEDRAS         PR           00771
   653653 FERNANDO CASTRO URRUTIA    COND CONDADO DEL MAR                          APT 1401                                                                               SAN JUAN            PR           00907
   167253 FERNANDO CHICO AGUILAR     REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   167254 FERNANDO CHOLLET BRIGNONI                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   167255 FERNANDO CINTRON MADERO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653654 FERNANDO CINTRON MONGE                      JARDINES DE RIO GRANDE       AQ 12 CALLE 36                                                                         RIO GRANDE          PR           00745

   167256 FERNANDO CINTRON ONATIVIA                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653655 FERNANDO CLAUDIO COLON                      VILLA ESPERANZA              160 CALLE NOBLEZA                                                                      CAGUAS              PR           00725
   653657 FERNANDO COGLEY CIRINO                      4 CALLE DOLORES                                                                                                     RIO GRANDE          PR           00745

   653658 FERNANDO COLLAZO GALARZA                    URB BANKER                   210 CALLE PANAMA                                                                       CAGUAS              PR           00725
   167257 FERNANDO COLON                              REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167258 FERNANDO COLÓN GARCIA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167259 FERNANDO COLON MALAVE                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653661 FERNANDO COLON MORALES                      BO LOS LLANOS                HC 01 BOX 4306                                                                         SANTA ISABEL        PR           00757
   653662 FERNANDO COLON RAMOS                        CALDERON DE LA BARCA         W3‐33 CALLE HUCARES                                                                    SAN JUAN            PR           00926

   653663 FERNANDO COLON RODRIGUEZ                    BOX 1441                                                                                                            JUANA DIAZ          PR           00795
   167260 FERNANDO COLON ROSADO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653664 FERNANDO COLONDRES MEDINA URB BARAMAYA                                   914 CALLE GURIONEX                                                                     PONCE               PR           00728‐2524
   167263 FERNANDO CORDERO SOTO     REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDO CORRETERO
   653666 SANCHEZ                   URB APOLO                                      L 3 A CALLE ADONIS                                                                     GUAYANBO            PR           00969

   653667 FERNANDO CORTES FLORES                      68 CALLE FRANCISCO ALVAREZ                                                                                          MANATI              PR           00674
   653668 FERNANDO CORTES MEDINA                      HC 4 BOX 16072                                                                                                      MOCA                PR           00676
   653669 FERNANDO COSME PRIETO                       RES JARDINES DE CAPARRA      EDIF 5 APT 101                                                                         BAYAMON             PR           00959

   167264 FERNANDO COSTAS SANTIAGO                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653670 FERNANDO COTTO DIAZ                         URB VISTAMAR 1211            CALLE GERONA                                                                           CAROLINA            PR           00983
   653671 FERNANDO COUSO DIAZ                         PRADERA ALMIRA               17 CALLE AS 6                                                                          TOA BAJA            PR           00948

   653672 FERNANDO CRESPO FELICIANO                   HC 1 BOX 7060                                                                                                       MOCA                PR           00676
   167266 FERNANDO CRESPO NEGRON                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653675 FERNANDO CRUZ MORALES                       HC 04 BOX 7660                                                                                                      JUANA DIAZ          PR           00795‐9602
   653676 FERNANDO CRUZ PAGAN                         RIO GRANDE STATE             N 45 CALLE 20                                                                          RIO GRANDE          PR           00745
   653677 FERNANDO CRUZ RAMOS                         RR 4 BOX 581                                                                                                        BAYAMON             PR           00956
                                                      EDIF PETROAMERICA PAGAN DE   392 CALLE SARGENTO MEDINA
   653678 FERNANDO CRUZ RODRIGUEZ                     COLON                        APT 1413                                                                               SAN JUAN            PR           00918
   653587 FERNANDO CUEVAS ALONSO                      2 VICTOR ROJAS               100 CALLE 6                                                                            ARECIBO             PR           00612

   653680 FERNANDO CUEVAS RODRIGUEZ EL MIRADOR                                     EDIF 8 APT B 2                                                                         SAN JUAN            PR           00915



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   653681 FERNANDO CURRAS HADDOCK                     15 CALLE GARDEL                                                                                                     SAN JUAN             PR           00917
          FERNANDO D RODRIGUEZ
   653682 WEBER                                       PO BOX 403                                                                                                          SABANA GRANDE        PR           00637‐0403
   653684 FERNANDO DAVILA RIOS                        PO BOX 250351                                                                                                       AGUADILLA            PR           00604‐0351
   653685 FERNANDO DE JESUS GARCIA                    HC 1 BOX 7372                                                                                                       LUQUILLO             PR           00773

   653687 FERNANDO DE JESUS ROMERO                    REPARTO CAGUAX             Q 19 CALLE COLSEIBI                                                                      CAGUAS               PR           00725
          FERNANDO DE LA CRUZ
   653688 MARTINEZ                                    URB JARDINES DE GUAYNABO   B 47 CALLE 1                                                                             GUAYNABO             PR           00969

   167268 FERNANDO DE LEON DEFENDINI REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   653689 FERNANDO DE LEON RODRIGUEZ URB SANTA ELVIRA                            K 10 SANTA LUCIA                                                                         CAGUAS               PR           00725

   653690 FERNANDO DEL MORAL PARES                    COND VISTA DEL RIO         8 CALLE 1 APT 1C                                                                         BAYAMON              PR           00959‐8868
          FERNANDO DESCARTES VAN
   653691 DERDYS                                      PUNTA LAS MARIAS           26 CALLE BUCARE                                                                          SAN JUAN             PR           00913
   653692 FERNANDO DIAZ COTTO                         URB BAIROA                 DN 1 CALLE 40                                                                            Caguas               PR           00725
   653588 FERNANDO DIAZ OYOLA                         PO BOX 1493                                                                                                         GUAYNABO             PR           00970
   653694 FERNANDO DIAZ RIOS                          270 CALLE CANALS                                                                                                    SAN JUAN             PR           00907

   167270 FERNANDO DOMINGUEZ RIVERA REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   653695 FERNANDO E ESPINAL MENA   LEVITTOWN                                    BK 6 CALLE DR FERMICEDO                                                                  TOA BAJA             PR           00949
   167271 FERNANDO E FAGUNDO        REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FERNANDO E LEDUC
   653697 MALDONADO                 BARRIADA ROOSEVELT                           162 CALLE JOSE JULIA AGOSTO                                                              FAJARDO              PR           00738
          FERNANDO E MERCADO
   653699 BELENDEZ                  7420 BALTIC ST                                                                                                                        SAN DIEGO            CA           92111
   167272 FERNANDO E ORTIZ ARBONA   REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   167273 FERNANDO E OTERO          REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FERNANDO E OTERO
   653700 SOTOMAYOR                 URB SAGRADO CORAZON                          404 CALLE SAN JACOBO                                                                     SAN JUAN             PR           00926‐4109
   653701 FERNANDO E PEREZ TORRES   PO BOX 963                                                                                                                            JUANA DIAZ           PR           00795
   167274 FERNANDO E PINEIRO CADIZ  REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   167275 FERNANDO E PLA BARBY      REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FERNANDO E RODRIGUEZ
   167276 MARTINEZ                  REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   167277 FERNANDO E ROURA RIZZO    REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   167278 FERNANDO E. AGRAIT        REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   167279 FERNANDO E. ROURA RIZZO   REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FERNANDO E. SAGARDIA
   167280 VAZQUEZ                   REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FERNANDO ECHAVARRIA /
   653703 ISABEL ACOSTA             221 NORTH WEST 85 PLACE                                                                                                               MIAMI                FL           33126
   167281 FERNANDO ECHEANDIA        REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   167282 FERNANDO ECHEANDIA FUSTER                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FERNANDO ECHEGARAY
   653705 DALECCIO                                    PO BOX 171                                                                                                          AIBONITO             PR           00705
   167283 FERNANDO EMANUELLI SILVA                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   653707 FERNANDO ESCOBAR NOGUERAS 23 AVE ESCOBAR                                                                                                                        BARCELONETA          PR           00617



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   653708 FERNANDO ESGUERRA PADILLA                   URB COUNTRY CLUB             1145 CALLE ANA LANZO                                                              SAN JUAN            PR           00924
   653709 FERNANDO ESTEVES NAZARIO                    129 CALLE 65 DE INFANTERIA   BOX 315                                                                           ANASCO              PR           00610
          FERNANDO ESTRONZA
   653710 RODRIGUEZ                                   HC 3 BOX 21685                                                                                                 LAJAS               PR           00667
   653711 FERNANDO F TORO                             PO BOX 71340                                                                                                   SAN JUAN            PR           00936‐8440
   653713 FERNANDO FALCON NEGRON                      PO BOX 129                                                                                                     COMERIO             PR           00782

   167285 FERNANDO FELICIANO AGUIAR                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDO FERNADEZ
   653715 HERNANDEZ                                   CIUDAD JARDIN                291 CALLE ORQUIDEA                                                                CAROLINA            PR           00987

   167286 FERNANDO FERNANDEZ AGUILO REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653717 FERNANDO FERNANDEZ FRANCO PO BOX 8215                                                                                                                      SAN JUAN            PR           00910

   167287 FERNANDO FERNANDEZ MARIN                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDO FERNANDEZ
   167288 RODRIGUEZ                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167289 FERNANDO FERRE VERA                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653720 FERNANDO FERRER VARGAS                      HC 2 BOX 22316                                                                                                 MAYAGUEZ            PR           00680
   653721 FERNANDO FIGUEROA                           BOX 30522 INF STA                                                                                              SAN JUAN            PR           00929
          FERNANDO FIGUEROA
   167290 ALMODOVAR                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   167291 FERNANDO FIGUEROA ARGUESO REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   167292 FERNANDO FIGUEROA MARRERO REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   167293 FERNANDO FIGUEROA MARTINEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653722 FERNANDO FIGUEROA REYES    JARDINES DE COUNTRY CLUB                      AE 12 CALLE 35                                                                    CAROLINA            PR           00983

   653723 FERNANDO FIGUEROA VAZQUEZ                   URB VILLA DEL CARMEN         Y 9 CALLE 23                                                                      PONCE               PR           00731
   167294 FERNANDO FLORES ROSARIO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653589 FERNANDO FONT LEE                           URB MONTE CLARO ESTATES      M E 48 PLAZA 15                                                                   BAYAMON             PR           00961
          FERNANDO FONT LEE LAW
   653724 OFFICES                                     PO BOX 8328                                                                                                    SAN JUAN            PR           00910‐0328
          FERNANDO FRAGOSO
   167295 VILLANUEVA                                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167296 FERNANDO FRANCO RIVERA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   167297 FERNANDO FRANCO RODRIGUEZ REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167298 FERNANDO G ALICEA BATISTA REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167299 FERNANDO G COTTO ROQUE    REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653725 FERNANDO G SALAZAR GARCIA                   P O BOX 1169                                                                                                   MAYAGUEZ            PR           00681
   167301 FERNANDO GALARZA CRUZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653726 FERNANDO GARCIA BARBON                      44 CALLE BENTANCES                                                                                             SAN SEBASTIAN       PR           00685
   167302 FERNANDO GARCIA GARCIA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167303 FERNANDO GARCIA IRIZARRY                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653728 FERNANDO GARCIA LUGO                        HC‐01 BOX 6239                                                                                                 YAUCO               PR           00698
   653729 FERNANDO GARCIA RIVERA                      PO BOX 7470                                                                                                    PONCE               PR           00732‐7470
   167304 FERNANDO GARCIA SANTOS                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  653730 FERNANDO GARCIA SOTO                         PO BOX 2061                                                                                                   CAYEY               PR         00737
  167305 FERNANDO GARCIA VALENTIN                     REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  167306 FERNANDO GATTORNO JIRAU                      REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  653731 FERNANDO GERMAN                              URB ALTAGRACIA        C 4 CALLE 1                                                                             TOA BAJA            PR         00949
  653733 FERNANDO GILORMINI HEVIA                     BOX 518                                                                                                       YAUCO               PR         00698
  167307 FERNANDO GIRALDEZ YABRA                      REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   653734 FERNANDO GOMEZ RODRIGUEZ 64 CALLE QUISQUEYA ESQ CHILE                                                                                                     SAN JUAN            PR         00918
   653735 FERNANDO GONZALEZ        T VILLE                      8 CALLE PLUTON                                                                                      TOA BAJA            PR         00951

   653737 FERNANDO GONZALEZ BERRIOS                   HC 03 BOX 13673                                                                                               COROZAL             PR         00783
          FERNANDO GONZALEZ DEL
   653738 VALLE                                       BDA ARIZONA BOX 24                                                                                            LARES               PR         00669

   653739 FERNANDO GONZALEZ DUARTE                    COND LA PUNTILLA      EDIF D1 APT 16                                                                          SAN JUAN            PR         00901
          FERNANDO GONZALEZ
   653740 GONZALEZ                                    TOA VILLE             8 CALLE PLUTON                                                                          TOA BAJA            PR         00949

   653745 FERNANDO GONZALEZ QUILES                    SECTOR PUEBLO NUEVO   1121 CALLE PROGRESO                                                                     ISABELA             PR         00662
          FERNANDO GONZALEZ
   167309 RODRIGUEZ                                   REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   167310 FERNANDO GONZALEZ TROCHE                    REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   167311 FERNANDO GONZALEZ VEGA                      REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FERNANDO GONZALEZ Y/O
   167312 HECTOR RIVERA RUSS                          REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   167313 FERNANDO GRAJALES QUINONES REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   167314 FERNANDO GRAJALES TEJERAS                   REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   167315 FERNANDO GREGORY PEREZ                      REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   167316 FERNANDO GUERRERO COTTOS                    REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FERNANDO GUERRERO
   167317 QUINONEZ                                    REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FERNANDO GUILLIANI
   653747 RODRIGUEZ                                   BO VISTA ALEGRE       1726 CALLE RAMON GONZALEZ                                                               SAN JUAN            PR         00926

   653748 FERNANDO GUILLOTY MIRANDA PO BOX 1505                                                                                                                     MAYAGUEZ            PR         00681
   653749 FERNANDO GUZMAN COLON     HC 01 BOX 2286                                                                                                                  LAS MARIAS          PR         00670‐9702

   167319 FERNANDO GUZMAN ESQUILIN                    REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FERNANDO H CASTRO
   653751 HERNANDEZ                                   URB LAS DOS CEIBAS    5 CALLE VICENTE DELIZ                                                                   QUEBRADILLAS        PR         00678

   653752 FERNANDO H CRUZ TOLINCHE                    PO BOX 362683                                                                                                 SAN JUAN            PR         00936‐2683
          FERNANDO H GONZALEZ
   167320 RODRIGUEZ                                   REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   167321 FERNANDO H PRADO                            REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   167322 FERNANDO H SANCHEZ RIOS                     REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   167323 FERNANDO H SOTO PINA                        REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                            30 CALLE JUAN C BORBON APT
   653753 FERNANDO HADDOCK NIEVES                     COND PARQUE REAL      422                                                                                     GUAYNABO            PR         00969



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          FERNANDO HEREDINA
   653754 MARCANO                                     3038 CALLE LOS PADRES                                                                                                SAN JUAN             PR           00915

   653755 FERNANDO HERNANDEZ APONTE URB LAS COLINAS                              M 8 CALLE COLINA BUENA VISTA                                                              TOA BAJA             PR           00949

   653756 FERNANDO HERNANDEZ COIRA                    PO BOX 2620                                                                                                          VEGA BAJA            PR           00694
          FERNANDO HERNANDEZ DBA
   167324 UNIQUE PROMOTIONS                           DOS PINOS TOWN HOUSES      CALLE 3‐I‐18                                                                              SAN JUAN             PR           00923
          FERNANDO HERNANDEZ
   167325 GONZALEZ                                    REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FERNANDO HERNANDEZ
   653757 LANCARA                                     URB LEVITOWN               AV 20 CALLE LEONOR                                                                        TOA BAJA             PR           00949

   653758 FERNANDO HERNANDEZ ROMAN 23 REPARTO LOS ROBLES                                                                                                                   SAN ANTONIO          PR           00690
   167326 FERNANDO HOLGUIN REED    REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   653761 FERNANDO I CARRERO INC A15                  RIO HONDO                  706 CAMINO EL GUAYO STE 1                                                                 MAYAGUEZ             PR           00680
   167327 FERNANDO I JIMENEZ BELVIS                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   167328 FERNANDO I MEDINA CEDENO                    REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FERNANDO I MONLLOR
   167329 PACHECO                                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   167330 FERNANDO I PONT MARCHESE                    REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FERNANDO I SALDANA
   167331 RODRIGUEZ                                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                 1056 AVE MUNOZ RIVERA STE
   653763 FERNANDO IGLESIAS RODRIGUEZ FIRST FEDERAL BLDG                         708                                                                                       SAN JUAN             PR           00927
          FERNANDO IRIZARRY
   653765 ARCHITECTS PSC              PO BOX 195199                                                                                                                        SAN JUAN             PR           00919
   167332 FERNANDO IRIZARRY MUNOZ     REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   653766 FERNANDO J AGUDO NIDO       PO BOX 10000 STE 241                                                                                                                 CAYEY                PR           00737

   167333 FERNANDO J ALVAREZ GABRIEL                  REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   167334 FERNANDO J ALVAREZ MORALES REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   167335 FERNANDO J BILLOCH RIOS    REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   167336 FERNANDO J BIRD PICO       REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FERNANDO J BORRERO
   167337 CARABALLO                  REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   653768 FERNANDO J CABRERA         73 EDIF MEDICO SANTA CRUZ                   SUITE 307                                                                                 BAYAMON              PR           00981‐8910

   167338 FERNANDO J CASTRO ROSARIO                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FERNANDO J CINTRON
   653769 GONZALEZ                                    URB VILLA GRILLASCA        A CALLE 29                                                                                PONCE                PR           00731
   167339 FERNANDO J COLON NUNEZ                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   167340 FERNANDO J COLON SUAREZ                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      URB LAS PALMAS DE CERRO
   653770 FERNANDO J CRESPO DIAZ                      GORDO                      155 CALLE REAL                                                                            VEGA ALTA            PR           00692
          FERNANDO J CRESPO
   653771 RODRIGUEZ                                   CUARTA SECCION DE LEVITOWN AH 6 CALLE MAGALY                                                                         TOA BAJA             PR           00949
   653772 FERNANDO J CUYAR FREITES                    P O BOX 3351                                                                                                         CAROLINA             PR           00983
   167341 FERNANDO J DAVILA LOPEZ                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  167342 FERNANDO J GANDIA RIVERA                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  167343 FERNANDO J GONZALEZ VEGA                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  167345 FERNANDO J LAGO LOPEZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         FERNANDO J LAVANDERO
  653773 LATIMER                                      MERCANTIL PLAZA STE 816                                                                                        SAN JUAN            PR         00918
  653774 FERNANDO J LOPEZ MALPICA                     URB RIO PIEDRAS HEIGHTS     1728 CALLE SEGRE                                                                   SAN JUAN            PR         00926
  167346 FERNANDO J LOPEZ SANTANA                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   167347 FERNANDO J MARCELLAN PEREZ REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   653775 FERNANDO J MARQUEZ LOYOLA PO BOX 140878                                                                                                                    ARECIBO             PR         00614

   167348 FERNANDO J MARTINEZ RIVERA                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   167349 FERNANDO J MAYORAL GARCIA                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FERNANDO J MERCADO
   167350 RODRIGUEZ                                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FERNANDO J MOLINI
   167351 VIZCARRONDO                                 REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653776 FERNANDO J MONTALVO                         URB LA MILAGROSA            F 22 CALLE RUBI                                                                    SABANA GRANDE       PR         00637
   653777 FERNANDO J MONTILLA                         Y 3 HASTINGS GARDEN HILLS                                                                                      GUAYNABO            PR         00966

   653778 FERNANDO J NAVARRO MEDINA                   URB LA MERCED               385 CESAR SILVA                                                                    SAN JUAN            PR         00918
   167352 FERNANDO J NAZARIO                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FERNANDO J ORONOZ
   167353 RODRIGUEZ                                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653779 FERNANDO J ORTIZ CARDONA                    URB GRAN VISTA              1 174 CALLE FLAMBOYAN                                                              GURABO              PR         00778
   653780 FERNANDO J RAMIREZ ORTIZ                    P O BOX 743                                                                                                    FLORIDA             PR         00650
   167354 FERNANDO J RAMOS RIVERA                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FERNANDO J RODRIGUEZ/ NELIA
   167356 M PADILLA                                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FERNANDO J TORRES
   167357 EMMANUELLI                                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   167358 FERNANDO J VAZQUEZ COLLAZO REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   653781 FERNANDO J VAZQUEZ MEDINA                   PO BOX 361372                                                                                                  SAN JUAN            PR         00936‐1372
   167359 FERNANDO J VEGA PANETO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653782 FERNANDO J VEGA RIVERA                      COTTO LLANADAS              BZN 4‐59                                                                           ISABELA             PR         00662
   653783 FERNANDO J YSERN BORRAS                     PO BOX 8969                                                                                                    CAGUAS              PR         00726
          FERNANDO J. ECHEGARAY
   167360 ROMERO                                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653784 FERNANDO J. FLORES VELEZ                    PO BOX 264                                                                                                     SABANA GRANDE       PR         00637
   653786 FERNANDO JIMENEZ RIJOS                      PUERTO REAL                 EDIF I APT 1                                                                       FAJARDO             PR         00740

   167361 FERNANDO JUARBE GONZALEZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653789 FERNANDO L ARZOLA                           AVE SAN PATRICIO            BELEN 201                                                                          GUAYNABO            PR         00968
          FERNANDO L ARZUAGA
   167362 RODRIGUEZ                                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   167363 FERNANDO L ATILES FRANCESCHI REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653790 FERNANDO L BAEZ TORRES       PO BOX 8536                                                                                                                   PONCE               PR         00732




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          FERNANDO L BATISTA VELEZ DBA
   167364 BATISTA BUS                  91 SECT CAMPO ALEGRE                                                                                                               UTUADO              PR           00641
   653791 FERNANDO L BOISSEN VEGA      URB VILLA PALMERA                            324 CALLE FAJARDO                                                                     SAN JUAN            PR           00915

   653792 FERNANDO L BORGES DE JESUS PONCE DE LEON GUN CLUB INC                     715 AVE 65 DE INFANTERIA                                                              SAN JUAN            PR           00924
          FERNANDO L CALVO IRIZARRY / F
   653793 C SPORTS                      COSTA SUR                                   I 22 CALLE VELERO                                                                     YAUCO               PR           00698

   653794 FERNANDO L CARRERAS COELLO                  P O BOX 1528                                                                                                        JAYUYA              PR           00664
   653795 FERNANDO L CARTY OTERO                      URB ESTANCIA                  G 3 PLAZA III                                                                         BAYAMON             PR           00961
   653796 FERNANDO L CERDA RIVERA                     HC 6 BOX 4105                                                                                                       COTTO LAUREL        PR           00780
   167365 FERNANDO L CERDA SOTO                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   167366 FERNANDO L CHANZA GONZALEZ REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653798 FERNANDO L COLLAZ GONZALEZ URB SANTA JUANITA                              EC 26 CALLE PARANA                                                                    BAYAMON             PR           00956 5210
          FERNANDO L COLLAZO
   167367 RODRIGUEZ                  REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653799 FERNANDO L COLON                            364 CALLE SAN JORGE APT PHH                                                                                         SAN JUAN            PR           00912

   167368 FERNANDO L COLON CINTRON                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167370 FERNANDO L COLON PEREZ                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653800 FERNANDO L COMAS SOSA                       PO BOX 928                                                                                                          CABO ROJO           PR           00623

   167371 FERNANDO L CONDE CASIANO                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   167372 FERNANDO L CORREA SUAREZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653801 FERNANDO L CORTES SANTIAGO                  PO BOX 1557                                                                                                         CABO ROJO           PR           00623
   167373 FERNANDO L CRUZ MARTES                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167374 FERNANDO L CRUZ NEGRON                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653803 FERNANDO L CRUZ RIVERA                      RES MANUEL A PEREZ            EDIF A 27 APTO 303                                                                    SAN JUAN            PR           00925

   653804 FERNANDO L DAVID DELGADO                    SOLAR 441 CUYON                                                                                                     COAMO               PR           00769
          FERNANDO L DE JESUS
   653805 MARTINEZ                                    1055 AVE JF KENNEDY           SUITE 303                                                                             SAN JUAN            PR           00902‐1713
   653807 FERNANDO L DIAZ CANALES                     URB CAPARRA TERRACE           1270 AVE JESUS T PI¥EIRO                                                              SAN JUAN            PR           00921
          FERNANDO L DIAZ LENTINI/
   167375 NICOLE MARIE                                REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167376 FERNANDO L DIAZ RIVERA                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDO L FERNANDEZ
   653808 CORREA                                      HC 01 BOX 6627                                                                                                      GUAYANILLA          PR           00656
          FERNANDO L FIGUEROA
   167377 SANTIAGO                                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653809 FERNANDO L GALLARDO                         PO BOX 193600                                                                                                       SAN JUAN            PR           00919‐3600

   167378 FERNANDO L GARRIGA FRANCO                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDO L GHIGLIOTTI
   167379 LAGARES M                                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDO L GONZALEZ
   653810 ALVAREZ                                     URB PRADERAS                  AU 25 CALLE 20                                                                        TOA BAJA            PR           00949




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          FERNANDO L GONZALEZ
   167380 MORALES                                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      CONDOMINIO CAMELOT APT
   653812 FERNANDO L GONZALEZ PEREZ                   4406                       140 CARR 842                                                                      SAN JUAN            PR           00926‐9760

   167381 FERNANDO L GONZALEZ ZAYAS                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   167382 FERNANDO L JIMENEZ COLLAZO                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167383 FERNANDO L LEVANDE LOPEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDO L MARTINEZ /
   167384 MARTINEZ AMBULANCE                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653814 FERNANDO L MARTINEZ AVILES                  PO BOX 8461                                                                                                  PONCE               PR           00732
          FERNANDO L MARTINEZ
   653815 FELICIANO                                   95 CALLE JOSE I QUINTON                                                                                      COAMO               PR           00957
   653816 FERNANDO L MATHEU VERA                      CHALETS DE BAIROA          126 CALLE REINITA                                                                 CAGUAS              PR           00725

   167385 FERNANDO L MELENDEZ LOPEZ                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDO L MELENDEZ
   167386 SANTIAGO                                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDO L MONLLOR
   653818 RODRIGUEZ                                   URB QUINTA DE MONSERRATE   E 3 CALLE ZURBARAN                                                                PONCE               PR           00731
   167388 FERNANDO L NATAL RIOS                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653819 FERNANDO L NIEVES BARRETO                   HC 01 BOX 10323                                                                                              PE¥UELAS            PR           00731
   167390 FERNANDO L ORSINI SANTOS                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167391 FERNANDO L ORTIZ ALICEA                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167392 FERNANDO L ORTIZ IRIZARRY                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653820 FERNANDO L PAGAN ELENO                      EL SE¥ORIAL                2058 CALLE GANIVET                                                                SAN JUAN            PR           00926
   167393 FERNANDO L PENA MIRABAL                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   167394 FERNANDO L PEREZ RODRIGUEZ REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653821 FERNANDO L RAMOS CORDERO                    HC 2 BOX 9050                                                                                                GUAYANILLA          PR           00656‐9767
   653822 FERNANDO L REGIS BONILLA                    BOX 3878                                                                                                     AGUADILLA           PR           00605‐3878
   167395 FERNANDO L RIVERA                           REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653824 FERNANDO L RIVERA ARROYO                    & BERNICE RIVERA VAZQUEZ   PO BOX 211                                                                        JAYUYA              PR           00664‐0211

   167396 FERNANDO L RIVERA MONTANEZ REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653825 FERNANDO L RIVERA RAMOS    HC 01 BOX 15066                                                                                                               COAMO               PR           00769
          FERNANDO L RODRIGUEZ
   167397 MERCADO                    REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   167398 FERNANDO L RODRIGUEZ MUNIZ REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDO L RODRIGUEZ
   653826 OCASIO                     P O BOX 193430                                                                                                                SANJUAN             PR           00919‐3430
   167399 FERNANDO L ROSA DE JESUS   REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167400 FERNANDO L ROSA MIRABAL    REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   167401 FERNANDO L ROSARIO CARDONA REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653827 FERNANDO L ROSARIO TIRADO                   317 CANTERA                                                                                                  MANATI              PR           00674
   653828 FERNANDO L SANTIAGO ARCE                    HC 01 BOX 3446                                                                                               ADJUNTAS            PR           00601



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  653829 FERNANDO L SANTIAGO CRUZ                     URB EL VALLE          182 CALLE BUCAYO GIGANTE                                                              CAGUAS              PR           00727‐3214

   167402 FERNANDO L SANTIAGO ORTIZ                   REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   653830 FERNANDO L SANTOS ORTIZ                     PO BOX 1128                                                                                                 COROZAL             PR           00783
   167404 FERNANDO L SANTOS RIVERA                    REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   653831 FERNANDO L SEPULVEDA                        BOX 202                                                                                                     CABO ROJO           PR           000623
   653832 FERNANDO L SERRANO                          P O BOX 21365                                                                                               SAN JUAN            PR           00928

   167405 FERNANDO L SIERRA GONZALEZ                  REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   167406 FERNANDO L SOSTRE GONZALEZ                  REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          FERNANDO L SUMAZA &
   653833 COMPANY                                     P O BOX 3006                                                                                                MAYAGUEZ            PR           00681
   653834 FERNANDO L SUMAZA DIAZ                      P O BOX 3971                                                                                                MAYAGUEZ            PR           00681‐3971
   653835 FERNANDO L TORRES RUIZ                      PO BOX 121                                                                                                  AGUIRRE             PR           00704

   653836 FERNANDO L VAZQUEZ IRIZARRY                 HC 03 BOX 11008                                                                                             JUANA DIAZ          PR           00795
   653838 FERNANDO L VELEZ PICO                       URB VILLAMAR          59 CALLE 1                                                                            CAROLINA            PR           00979
          FERNANDO L VELEZ Y HILDIANA
   167408 RODRIGUEZ                                   REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   167409 FERNANDO L VILLAR ROBLES                    REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   167410 FERNANDO L. ALVAREZ ORTIZ                   REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  1256496 FERNANDO L. TORO TORRES                     REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   167411 FERNANDO L. TORRES RAMIREZ                  REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   167413 FERNANDO L.VILLAR ROBRES                    REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   167414 FERNANDO LABOY COLON                        REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   653841 FERNANDO LABOY MERCADO                      HC 66 BOX 12548                                                                                             YABUCOA             PR           00767
   167415 FERNANDO LACOT GONZALEZ                     REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   167416 FERNANDO LASSALLE ESTRADA                   REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          FERNANDO LAURIANO
   653843 RODRIGUEZ                                   URB SANTA JUANITA     AB 25 CALLE 43                                                                        BAYAMON             PR           00956
   167417 FERNANDO LEDUC DEL VALLE                    REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   167418 FERNANDO LLAVONA RAMIA                      REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   653844 FERNANDO LONGO RODRIGUEZ                    401 CAPARRA CLASIC                                                                                          GUAYNABO            PR           00969
   653845 FERNANDO LOPEZ GARCIA                       P O BOX 742                                                                                                 CAMUY               PR           00627
   653846 FERNANDO LOPEZ GONZALEZ                     VILLA JUSTICIA        K 35 CALLE RIVERA                                                                     CAROLINA            PR           00985
   167420 FERNANDO LOPEZ IRIZARRY                     REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   653847 FERNANDO LOPEZ MATOS                        BO MONTE GRANDE       15 CAMINO LAVERGNE                                                                    CABO ROJO           PR           00623
   167421 FERNANDO LOPEZ PATINO                       REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   653848 FERNANDO LOPEZ RIVERA                       VILLA CONTESSA        M25 CALLE YORK                                                                        BAYAMON             PR           00956
   653849 FERNANDO LOPEZ TORRES                       PO BOX 722                                                                                                  JUANA DIAZ          PR           00795
   653851 FERNANDO LOPEZ VELEZ                        PO BOX 9023884                                                                                              SAN JUAN            PR           00902‐3884
   653853 FERNANDO LUGO CASTRO                        LITHEDA APARTMENTS    EDIF 210 APT A 3                                                                      SAN JUAN            PR           00926
   167422 FERNANDO LUGO LAVIENA                       REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   167424 FERNANDO LUGO TORRES                        REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   167425 FERNANDO LUIS TORRES TORRES REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   653855 FERNANDO M CALERO           PO BOX 905                                                                                                                  AGUADILLA           PR           00605

   167426 FERNANDO M CRUZ MORALES                     REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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          FERNANDO M MARTINEZ
   167428 SCHMIDT                                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167429 FERNANDO M NUNEZ ROBLES                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653857 FERNANDO M PADILLA PADILLA                  HC 1 BOX 2186                                                                                              BOQUERON            PR           00622
          FERNANDO M RABELL
   167430 ECHEGARAY                                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   167432 FERNANDO M RODRIGUEZ ISAAC REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653858 FERNANDO M TORRES ORRACA                    140 VIA DEL ROCIO C 16                                                                                     CAGUAS              PR           00725

   167433 FERNANDO M. CARDONA RIVERA REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDO MACHADO
   653859 ECHEVARRIA                 SANTA ROSA STA                            PO BOX 6667                                                                       BAYAMON             PR           00960
   653861 FERNANDO MAISONET DIAZ     RES MANUEL A PEREZ                        EDIF 6 APT 84                                                                     SAN JUAN            PR           00923
   653862 FERNANDO MALDONADO         277 CALLE DEL BREY                                                                                                          SAN JUAN            PR           00912
          FERNANDO MALDONADO
   167435 RODRIGUEZ                  REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653863 FERNANDO MARRERO COLON     URB MAGNOLIA GARDENS                      A 16 CALLE 2                                                                      BAYAMON             PR           00956

   653864 FERNANDO MARRERO CORDERO PO BOX 7126                                                                                                                   PONCE               PR           00732
                                                                               N 7 CALLE MADELINE
   653865 FERNANDO MARRERO GONZALEZ EXT VALLE TOLIMA                           WILLEMSEN                                                                         CAGUAS              PR           00725
   167436 Fernando Marrero Laureano REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653866 FERNANDO MARRERO SANTIAGO QUEBRADA ARENAS CERCA DE                   NEGOCIO DE JUAN                                                                   TOA ALTA            PR           00953

   653867 FERNANDO MARTELL VAQUERO RES COLUMBUS LANDIG                         EDIF 23 APT 243                                                                   MAYAGUEZ            PR           00680
   653868 FERNANDO MARTIN          URB SUMMIT HILLS                            613 CALLE TORRESILLA                                                              SAN JUAN            PR           00920

   653869 FERNANDO MARTINEZ RAMOS                     JARD DE CONTRY CLUB      BY14 CALLE 129                                                                    CAROLINA            PR           00983

   653870 FERNANDO MARTINEZ SANCHEZ URB LA MILAGROSA                           F 21 CALLE RUBI                                                                   SABANA GRANDE       PR           00637

   653872 FERNANDO MATOS GONZALEZ                     HC 2 BOX 31160                                                                                             CAGUAS              PR           00725
   167438 FERNANDO MATTINA                            REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167439 FERNANDO MEDINA                             REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   167440 FERNANDO MEDINA MARTINEZ                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653874 FERNANDO MEDINA RIVERA                      HC 3 BOX 7580                                                                                              MOCA                PR           00676
   653875 FERNANDO MEDINA TORRES                      HC 1 BOX 615                                                                                               YAUCO               PR           00698
   653876 FERNANDO MEJIAS SOTO                        APARTADO 758                                                                                               AGUADILLA           PR           00605
          FERNANDO MELENDEZ
   167441 GONZALEZ                                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDO MELENDEZ
   167442 SANTIAGO                                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   167443 FERNANDO MENDEZ CINTRON                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDO MERCADO
   167445 CAMACHO                                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653879 FERNANDO MERCADO TORRES                     MONT BLANC GARDENS       H15 CALLE G                                                                       YAUCO               PR           00698



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   653880 FERNANDO MERCADO VARGAS                     COOPERATIVA VILLA KENNEDY   EDIF 34 APT 519                                                                   SAN JUAN             PR           00915
   653881 FERNANDO MERCED OLMEDA                      RR 10 BOX 10047                                                                                               SAN JUAN             PR           00926
   167446 FERNANDO MININO                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   167447 FERNANDO MIRANDA                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   167448 FERNANDO MIRANDA ALBARRAN REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   653590 FERNANDO MIRANDA RIVERA   561 PARCELAS SOLEDAD                                                                                                            MAYAGUEZ             PR           00680
   653884 FERNANDO MIRANDA ROBLES   HC 1 BOX 5329                                                                                                                   CIALES               PR           00638
   167449 FERNANDO MIRANDA ROMAN    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   167451 FERNANDO MOJICA O NEILL   REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   653886 FERNANDO MONEILO CHINEA   URB JARDINES DE TOA ALTA                      100 CALLE 2                                                                       TOA ALTA             PR           00953
   653887 FERNANDO MONTALVO         J 16 AZULES DEL MAR                                                                                                             BAYAMON              PR           00961
          FERNANDO MONTANEZ
   167453 DELERME                   REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   167454 FERNANDO MONTANO VERA     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FERNANDO MORA/HILDA
   167455 RIVERA/YADIRAROSARIO      REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   653888 FERNANDO MORALES CAQUIAS                    PO BOX 10392                                                                                                  PONCE                PR           00732

   167456 FERNANDO MORALES FOURNIER REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   653889 FERNANDO MORALES ORENGO                     HC 37 BOX 6791                                                                                                GUANICA              PR           00653‐9707

   653891 FERNANDO MORAN SANTIAGO                     BO SANTA ROSA               BZN 3032                                                                          VEGA BAJA            PR           00963
   167457 FERNANDO MORELL CORTES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   167458 FERNANDO MORENO ORAMA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   167459 FERNANDO MUNIZ JUSTINIANO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FERNANDO MUNOZ &
   167460 ASOCIADOS                                   APARTADO 9657                                                                                                 CAGUAS               PR           00726
   167461 FERNANDO MUNOZ OCASIO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   167463 FERNANDO NATAL ASENCIO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   167464 FERNANDO NAVARRO PEREZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   653892 FERNANDO NEGRON GONZALEZ PO BOX 921                                                                                                                       VILLALBA             PR           00766
   653893 FERNANDO NEGRON ORTIZ    HC 01 BOX 11636                                                                                                                  TOA BAJA             PR           00949
   167465 FERNANDO NERIS FLORES    REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   167466 FERNANDO NICHOLLS PIZARRO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   653894 FERNANDO NIEVES CAMACHO                     BOX 4215                                                                                                      MAYAQUEZ             PR           00681‐4215
          FERNANDO O MARRERO
   167469 HERNANDEZ                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   167470 FERNANDO O ZAMBRANA AVILES REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FERNANDO O. RODRIGUEZ
   167471 AMSTRONG                   REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   167472 FERNANDO OCASIO BLANCO     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   167473 FERNANDO OCASIO VILLA      REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   653895 FERNANDO OLAVARRIA PEREZ                    HC 02 BOX 17451                                                                                               SAN SEBASTIAN        PR           00685




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   167474 FERNANDO OLIVERO BARRETO                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167476 FERNANDO OLIVERO LORA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167477 FERNANDO OLIVO GONZALEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653896 FERNANDO OLMEDA FERNANDEZ PO BOX 2749                                                                                                                      ARECIBO             PR           00613
          FERNANDO OLMO (TUTOR)
   653897 BLANCA OLMO               PO BOX 42003                                                                                                                     SAN JUAN            PR           00940‐2003
   167478 FERNANDO ONEIL CAMPOS     REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653899 FERNANDO OQUENDO ROMERO LUIS LLORENS TORRES                              EDIF 120 APTO 2230                                                                SAN JUAN            PR           00913

   167479 FERNANDO OROZCO GONZALEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167480 FERNANDO ORSINI RIVERA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167482 FERNANDO ORTEGA ALVAREZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167483 FERNANDO ORTIZ                              REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDO ORTIZ / FRANCES I
   653900 RUIBAL                                      PO BOX 1725                                                                                                    JUNCOS              PR           00777
   167485 FERNANDO ORTIZ BAEZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653902 FERNANDO ORTIZ COTTO                        URB VAN SCOY                 J 23 CALLE 5 OESTE                                                                BAYAMON             PR           00957
   653903 FERNANDO ORTIZ DIAZ                         PO BOX 240                                                                                                     SANTA ISABEL        PR           00757
   653904 FERNANDO ORTIZ FLORES                       PO BOX 5613                                                                                                    CAGUAS              PR           00726
   653906 FERNANDO ORTIZ GONZALEZ                     HC 4 BOX 41895                                                                                                 MAYAGUEZ            PR           00680
   167486 FERNANDO ORTIZ ORTIZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653908 FERNANDO OTERO SANCHEZ                      BOX 40062                                                                                                      BAYAMON             PR           00960
   653910 FERNANDO PAGAN PABON                        HC 02 BOX 8727                                                                                                 CIALES              PR           00638
   653911 FERNANDO PAGAN QUIONEZ                      HP ‐ Forense RIO PIEDRAS                                                                                       Hato Rey            PR           009360000
          FERNANDO PAONESSA
   653591 RODRIGUEZ                                   PO BOX 1813                                                                                                    BAYAMON             PR           00960‐1813
          FERNANDO PASCUAL                            8512 HAMPTON CROSSING
   653912 STERENBERG                                  PLACE                                                                                                          CHESTERFIELD        VA           23832
   653913 FERNANDO PERALTA LIZ                        PO BOX 30103                                                                                                   SAN JUAN            PR           00929
   653914 FERNANDO PEREZ ARROYO                       PO BOX 4742                                                                                                    CAROLINA            PR           00984‐4742
   653592 FERNANDO PEREZ BURGOS                       URB LA VEGA 53               CALLE PRINCIPAL                                                                   VILLALBA            PR           00766
   167489 FERNANDO PEREZ DEL VALLE                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167491 FERNANDO PEREZ ESPINA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167492 FERNANDO PEREZ NEGRON                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653916 FERNANDO PEREZ RAMIREZ                      SUITE 118 PO BOX 10000                                                                                         CANOVANAS           PR           00729
   653917 FERNANDO PEREZ SERRANO                      PO BOX 763                                                                                                     PUERTO REAL         PR           00740‐0763
   653918 FERNANDO PIERAS GARCIA                      QUINTAS DE CUPEY             1 CALLE 14 APT F 106                                                              SAN JUAN            PR           00926

   653919 FERNANDO PINTADO DEL MORAL H C R 67 BOX 15094                                                                                                              BAYAMON             PR           00956
   653920 FERNANDO POL MARRERO       URB VILLA NEVAREZ                             111 CALLE 3                                                                       SAN JUAN            PR           00927
   167494 FERNANDO PONCE MALAVE      REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653921 FERNANDO PONCE QUINONES                     RES MARISOL                  EDIF 12 APT 72                                                                    MAYAGUEZ            PR           00680

   167495 FERNANDO PORTELA GUEVARA                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653922 FERNANDO PRIETO CASTRO                      21 CALLE RAMON RIVERA CRUZ                                                                                     TOA BAJA            PR           00949
   167496 FERNANDO PRIETO MELECIO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653923 FERNANDO PUJALS ESTREMERA                   PO BOX 364752                                                                                                  SAN JUAN            PR           00936



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   167499 FERNANDO QUINONES MUNOZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   167500 FERNANDO QUINONEZ COLON                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167501 FERNANDO QUINTANA                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167503 FERNANDO R FERNANDEZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   167504 FERNANDO R FORTUNO COLON                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERNANDO R HERNANDEZ
   653924 POMALES                                     BO CELADA CARRETERAS         59 CALLE 1                                                                        GURABO              PR           00778
   167505 FERNANDO R MUNIZ PEREZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653925 FERNANDO R PEREZ GOMEZ                      URB TOA VILLE                90 CALLE UNIVERSO                                                                 TOA BAJA            PR           00949
   167506 FERNANDO R RIVERA ROMAN                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167507 FERNANDO R. RAMOS ROSA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653926 FERNANDO RAMIREZ                            URB SAN JUAN GARDENS         6 CALLE SAN RICRD                                                                 SAN JUAN            PR           00926
          FERNANDO RAMIREZ
   653927 ENCARNACION                                 URB PLAZA DE LAS FUENTES     1208 CALLE BRAZIL                                                                 TOA ALTA            PR           00953
   167508 FERNANDO RAMIREZ GOMEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653928 FERNANDO RAMOS                              PO BOX 21365                                                                                                   SAN JUAN            PR           00928
   653929 FERNANDO RAMOS AULET                        RESIDENCIAL LOS ROSALES      EDIF 3 APT 23                                                                     TRUJILLO ALTO       PR           00976

   167510 FERNANDO RAMOS RODRIGUEZ REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653934 FERNANDO RAPPA SANCHEZ   PO BOX 249                                                                                                                        ARECIBO             PR           00613
   653935 FERNANDO RECIO MANDES    PO BOX 362802                                                                                                                     SAN JUAN            PR           00936

   167511 FERNANDO REYES RODRIGUEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653937 FERNANDO RIJOS COLON                        HC 71 BOX 1430                                                                                                 NARANJITO           PR           00719
   167512 FERNANDO RINCON URIGUEN                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167513 FERNANDO RIOS LEBRON                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167514 FERNANDO RIOS LOPEZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   653939 FERNANDO RIVAS BARBOUR                      136 JOSE A AYBAR CASTELLANOS                                                                                   SANTO DOMINGO                                  DOMINICAN REPUBLIC
   653940 FERNANDO RIVERA                             PO BOX 361013                                                                                                  SAN JUAN            PR           00936‐1013
   653943 FERNANDO RIVERA & ASSOC                     PO BOX 572                                                                                                     BARCELONETA         PR           00617
   653944 FERNANDO RIVERA AYALA                       P O BOX 1707                                                                                                   BAYAMON             PR           00960
   653942 FERNANDO RIVERA BURGOS                      URB PANORAMA VILLAGE         177 VISTA DEL MAR                                                                 BAYAMON             PR           00957

   653945 FERNANDO RIVERA CARBALLO                    URB HIGHLAND PARK            735 CALLE CAFETO                                                                  SAN JUAN            PR           00924
   653946 FERNANDO RIVERA CORTES                      VALLE ARRIBA HEIGTHS         CR 2 ALMEDRO                                                                      CAROLINA            PR           00983
   653947 FERNANDO RIVERA DAVILA                      HC 04 BOX 48531                                                                                                COMERIO             PR           00782
   653948 FERNANDO RIVERA DIAZ                        COQUI AGUIRRE                176 CALLE LA FABRICA                                                              SALINAS             PR           00704
   653949 FERNANDO RIVERA FIGUEROA                    D‐23 URB VISTA ALEGRE                                                                                          HUMACAO             PR           00791

   167515 FERNANDO RIVERA GONZALEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   167516 FERNANDO RIVERA HERNANDEZ                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167519 FERNANDO RIVERA MATOS                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   167520 FERNANDO RIVERA NIEVES                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653593 FERNANDO RIVERA RIVERA                      URB JARDINES DEL MAMEY       C 19 CALLE 3                                                                      PATILLAS            PR           00723

   167521 FERNANDO RIVERA RODRIGUEZ                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   653953 FERNANDO RIVERA ROIG                        PUERTO REAL                  729 CALLE AGUEYBANA                                                               CABO ROJO           PR           00623
   653954 FERNANDO RIVERA ROSADO                      VALLE ARRIBA HGTS            CI 10 CALLE 140                                                                   CAROLINA            PR           00983



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  167522 FERNANDO RIVERA RUIG                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  167523 FERNANDO RIVERA SANTIAGO                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         FERNANDO RIVERA TORRES &
  653955 JANET RODRIGUEZ                              PMB SUITE 220             90 AVE RIO HONDO                                                                    BAYAMON             PR         00961
  653956 FERNANDO RIVERA VAZQUEZ                      URB MONTE SORIA II        41 CALLE ARENAS                                                                     AGUIRRE             PR         00704‐7024
         FERNANDO ROBERTO REBOLLO
  653957 CARRATO                                      VILLA CAROLINA            172 2 CALLE 401                                                                     CAROLINA            PR         00985
  653958 FERNANDO ROCA LOPEZ                          URB SYLVIA                K 17 CALLE 5                                                                        COROZAL             PR         00783
  167524 FERNANDO RODRIGUEZ                           REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   653960 FERNANDO RODRIGUEZ AGOSTO BDA ALDEA SOSTRE 22                                                                                                             COROZAL             PR         00783

   653961 FERNANDO RODRIGUEZ ARROYO QUINTA DE MONSERRATE                        3 CALLE A                                                                           PONCE               PR         00731
   653962 FERNANDO RODRIGUEZ CRUZ   P O BOX 342                                                                                                                     SABANA HOYOS        PR         00688

   653964 FERNANDO RODRIGUEZ DE LEON PO BOX 606                                                                                                                     SAN LORENZO         PR         00754
          FERNANDO RODRIGUEZ
   167525 FELICIANO                  REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   167526 FERNANDO RODRIGUEZ FELIZ   REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FERNANDO RODRIGUEZ
   653965 FIGUEROA                   HC 8 BOX 121                                                                                                                   PONCE               PR         00731

   653966 FERNANDO RODRIGUEZ FLORES                   MANSIONES DE MONTESINOS   657 CALLE COLIBRI                                                                   TOA ALTA            PR         00953
          FERNANDO RODRIGUEZ
   167527 MARTINEZ                                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   167528 FERNANDO RODRIGUEZ MATEO REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   167529 FERNANDO RODRIGUEZ NAVEDO REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   167531 FERNANDO RODRIGUEZ SOTO   REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   653968 FERNANDO RODRIGUEZ TORRES P O BOX 3278                                                                                                                    MANATI              PR         00674

   653969 FERNANDO RODRIGUEZ WEBER                    PO BOX 403                                                                                                    SABANA GRANDE       PR         00637
   167532 FERNANDO ROJAS DIAZ                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653970 FERNANDO ROLDAN BURGOS                      RIO GRANDE INT            SECTOR EL NUDO APT 294                                                              JAYUYA              PR         00664
   167533 Fernando Rolón Vázquez                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   167534 FERNANDO ROMAN LOPEZ                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653973 FERNANDO ROMAN MIRO                         RIO HONDO II              AE 7                                                                                BAYAMON             PR         00961

   653974 FERNANDO ROMAN RODRIGUEZ                    URB SIERRA BAYAMON        93 45A CALLE 79                                                                     BAYAMON             PR         00961
   167535 FERNANDO ROMAN SARRAGA                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FERNANDO ROMERO
   167536 RODRIGUEZ                                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653975 FERNANDO ROSA BENITEZ                       RES PUERTA DE TIERRA      APT 466 EDF P                                                                       SAN JUAN            PR         00901
   653978 FERNANDO ROSA RODRIGUEZ                     BO PAJUIL                 BZN P 2                                                                             CAROLINA            PR         00983
   167537 FERNANDO ROSADO ARROYO                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   653980 FERNANDO ROSARIO MELENDEZ PO BOX 641                                                                                                                      CAYEY               PR         00737

   653982 FERNANDO ROSARIO RODRIGUEZ URB LEVITTOWN                              2273 PASEO AMAPOLA                                                                  TOA BAJA            PR         00949
   167539 FERNANDO ROURE FALCO       REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   167541 FERNANDO RUIZ JR           REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  167542 FERNANDO RUIZ RODRIGUEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  167543 FERNANDO RUIZ ROSADO                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  167544 Fernando Ruiz Torres                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   167545 FERNANDO S DESCARTES SOLER REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   167546 FERNANDO S LOPEZ SANTOS    REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FERNANDO SABINO CASTRO
   653984 MACHIN                     URB RIO PIEDRAS HEIGHT                        1718 CALLE SEGRE                                                                    SAN JUAN            PR         00926
   167548 FERNANDO SALAZAR GARCIA    REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653986 FERNANDO SALGADO DIAZ      BO GUZMAN ABAJO                               KM 4 5 BOX 501                                                                      RIO GRANDE          PR         00745

   653987 FERNANDO SALICHS VELAZQUEZ PO BOX 37439                                                                                                                      SAN JUAN            PR         00937‐0439
          FERNANDO SANCHEZ / ORLANDO
   653988 SANCHEZ                    P M B 132                                     P O BOX 7105                                                                        PONCE               PR         00731
   167550 FERNANDO SANCHEZ LOPEZ     REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FERNANDO SANCHEZ
   167551 RODRIGUEZ                  REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653990 FERNANDO SANTIAGO          HC 1 BOX 40100                                                                                                                    COMERIO             PR         00782

   653991 FERNANDO SANTIAGO CARRION RES RAMOS ANTONINI                             EDIF 6 APTO 52                                                                      SAN JUAN            PR         00924

   653992 FERNANDO SANTIAGO DE JESUS P O BOX 928082                                                                                                                    HUMACAO             PR         00792‐8082

   167552 FERNANDO SANTIAGO DELGADO REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FERNANDO SANTIAGO
   653993 GONZALEZ                  VILLA PALMERAS                                 CALLE PROF VIGOREAUX                                                                SAN JUAN            PR         00916

   653995 FERNANDO SANTIAGO MORALES PO BOX 377                                                                                                                         NARANJITO           PR         00719
   167553 FERNANDO SANTIAGO ORTIZ   REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653996 FERNANDO SANTIAGO PAGAN   BO SALUD                                       209 CALLE SAN RAFAEL                                                                MAYAGUEZ            PR         00681
   167554 FERNANDO SANTIAGO PEREZ   REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FERNANDO SANTIAGO
   167556 RODRIGUEZ                 REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   653998 FERNANDO SANTOS MORALES   RES MANUEL A PEREZ                             EDIF B 5 APT 66                                                                     SAN JUAN            PR         00923
   653999 FERNANDO SANTOS RAMIREZ   EXT VILLA RICA                                 V 19 CALLE 15                                                                       BAYAMON             PR         00959
   654000 FERNANDO SANTOS SANTOS    827 CALLE RICARDO ARROYO                                                                                                           DORADO              PR         00646
   654002 FERNANDO SANTOS VEGA      HC 2 BOX 2                                                                                                                         GUAYNABO            PR         00971
   167559 FERNANDO SEDA AGUILA      REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FERNANDO SEDANO ROMAN /
   167560 ELIZABETH ROMAN           REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   167561 FERNANDO SEMIDEY MONTANEZ REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   654003 FERNANDO SEMIDEY RIVERA                     COOP CIUDAD UNIVERSITARIA    1011 B 2 AVE PERIFERAL                                                              TRUJILLO ALTO       PR         00976

   654004 FERNANDO SERRANO ACEVEDO                    BO CORDILLERA                HC 02 BOX 7380                                                                      CIALES              PR         00638
   654005 FERNANDO SILVA                              URB COLLEGE PARK             281 CALLE SALERNO                                                                   SAN JUAN            PR         00921
   167562 FERNANDO SILVA TORRES                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   167563 FERNANDO SOTO CLAUDIO                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   167564 FERNANDO SOTO MERCADO                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   654006 FERNANDO SOTO RIVERA                        BO PARIS                     212 CALLE BETANCES                                                                  MAYAGUEZ            PR         00680

   654007 FERNANDO SOTOMAYOR                          URB ALTURA DE SANTA ISABEL   D 21 CALLE 5                                                                        SANTAN ISABEL       PR         00757



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  167565 FERNANDO SUAREZ HUERTAS                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  167566 FERNANDO SULLIVAN REYES                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  654008 FERNANDO SULSONA NIEVES                      URB COUNTRY CLUB             1120 CALLE CARLOS BERTERO                                                               SAN JUAN             PR         00924‐3442

   167567 FERNANDO SUMAZA LABORDE                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          FERNANDO SUREDA
   167568 MALDONADO                                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   167569 FERNANDO TARAFA PEREZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   167570 FERNANDO TILO CHACON                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   654009 FERNANDO TONOS BARLUCEA                     LOMAS DE TRUJILLO ALTO       C 31 CALLE 4                                                                            TRUJILLO ALTO        PR         00976

   654010 FERNANDO TONOS FLORENZAN                    URB VILLA ANDALUCIA          R 8 CALLE FIGUERAS                                                                      SAN JUAN             PR         00928
   654011 FERNANDO TORO COLON                         URB PUERTO NUEVO             613 CALLE CONSTITUCION                                                                  SAN JUAN             PR         00920
   654012 FERNANDO TORRES                             PO BOX 633                                                                                                           VILLALBA             PR         00766

   167573 FERNANDO TORRES MELENDEZ                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   654014 FERNANDO TORRES PADUA                       60 CALLE SANTA ISABEL ALTO                                                                                           MAYAGUEZ             PR         00680
   167574 FERNANDO TORRES PIETRI                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   654015 FERNANDO TORRES RIVERA                      159 PAR JUAN J CLAVEROL      BO. CUCHICHAS                                                                           MOROVIS              PR         00687

   167577 FERNANDO TORRES SANTIAGO                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   654016 FERNANDO TORRES VARGAS                      RES LUIS LLORENS TORRES      EDIF 8 APT 160                                                                          SAN JUAN             PR         00913
   167578 FERNANDO TORRES ZAPATER                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   167579 FERNANDO TROCHE RIVERA                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   654017 FERNANDO URRUTIA                            PO BOX 630248                                                                                                        HUSTON               TX         77263‐0248
   654018 FERNANDO VALDERRABANO                       PASEO DEL PRADO              C 25 CALLE LA PALMAS                                                                    SAN JUAN             PR         00926

   654021 FERNANDO VARGAS ARROYO                      WESTERNLAKE VILLAGE          177 AVE ALGARROBO APT 2205                                                              MAYAGUEZ             PR         00682

   167580 FERNANDO VARGAS MARTINEZ                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   654022 FERNANDO VAZQUEZ CONDE                      HC 91 BOX 9283                                                                                                       VEGA ALTA            PR         00692‐9608
   654024 FERNANDO VAZQUEZ RUIZ                       TIBES TOWN HOUSE             8 APT 43                                                                                PONCE                PR         00731
   654025 FERNANDO VAZQUEZ SOTO                       HC 01 BOX 533                                                                                                        LAS PIEDRAS          PR         00771
   654028 FERNANDO VEGA ZAYAS                         EXT VALLE ALTO               2236 CALLE SABANA                                                                       PONCE                PR         00730‐4142
          FERNANDO VELAZQUEZ
   167582 GONZALEZ                                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          FERNANDO VELAZQUEZ
   654029 MORALES                                     803 ESTANCIAS DEL REY                                                                                                CAGUAS               PR         00725
   654031 FERNANDO VELEZ ACOSTA                       1114 SECTOR CUBA                                                                                                     MAYAGUEZ             PR         00680
   654032 FERNANDO VELEZ BORELL                       PUNTO ORO 2DA EXT            6521 CALLE CRISTON                                                                      PONCE                PR         00728
   654033 FERNANDO VELEZ LOPEZ                        HC 02 BOX 6249                                                                                                       LARES                PR         00669‐9713

   167583 FERNANDO VELEZ MONTANEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   654034 FERNANDO VELEZ MORALES                      BOX 314                                                                                                              MOCA                 PR         00676
   654035 FERNANDO VELEZ RIVERA                       URB FAIRVIEW D 6             CALLE 2 APT 2B                                                                          SAN JUAN             PR         00926
   654036 FERNANDO VELEZ SANCHEZ                      LA PONDEROSA                 654 CALLE CISCO                                                                         PONCE                PR         00730
   167584 FERNANDO VERA SERRANO                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   654037 FERNANDO VERGES COTAL‐                      PO BOX 9066600                                                                                                       SAN JUAN             PR         00906‐6600
   654038 FERNANDO VILLA                              127 CYPRESS POINT DR                                                                                                 PALM BEACH GARDENS   FL         33418

   167588 FERNANDO VILLARINI QUINONES REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED




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   654042 FERNANDO VILLEGAS ESTRADA                   RR 3 BOX 3212                                                                                                       SAN JUAN             PR           00928
   167589 FERNANDO VIVES GONZALEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FERNANDO X RIVERA
   167591 MALDONADO                                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   167592 FERNANDO Y DE JESUS NEGRON                  RES BELLA VISTA HEIGHT       EDIF G 3 APTO 2                                                                        BAYAMON              PR           00957
          FERNANDO YAMIL GARCIA
   167593 SIERRA                                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   167594 FERNANDO ZALACAIN GARCIA                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   654044 FERNANDO ZEDA RIESTRA                       HC 1 BOX 3127                                                                                                       SABANA HOYOS         PR           00688
   167596 FERNANDO, RODRIGUEZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   654045 FERPAJ INC                                  PO BOX 1355                                                                                                         HATILLO              PR           00659
   654046 FERR AGRICOLA JAGUAL                        HC 40 BOX 46611                                                                                                     SAN LORENZO          PR           00754
   167607 FERR AGRICOLA PENA                          HC 20 BOX 20792                                                                                                     SAN LORENZO          PR           00754‐9601
   167608 FERR ALMACENES ARILOPE                      PO BOX 4003                                                                                                         AGUADILLA            PR           00605
          FERR AQUILINO MONTEVERDE
   654047 INC                                         PO BOX 451                                                                                                          MAYAGUEZ             PR           00681
   654048 FERR BLAS Y ARCHILLA                        P O BOX 129                                                                                                         OROCOVIS             PR           00720
          FERR CAGUAS COMMERCIAL CO
   167609 INC                                         PO BOX 8819                                                                                                         CAGUAS               PR           00726
   654049 FERR CASHIDAO                               HC 01 BOX 4396                                                                                                      VILLALBA             PR           00766‐9713
          FERR COMERCIAL AGUAS
   654050 BUENAS                                      HC 2 BOX 14949                                                                                                      AGUAS BUENAS         PR           00703‐9612
          FERR COMERCIAL CAMARONES
   654051 INC                                         PO BOX 2787                                                                                                         GUAYNABO             PR           00970

   654052 FERR COMERCIAL LOS POLEOS                   PO BOX 66                                                                                                           SALINAS              PR           00751
   654053 FERR COMERCIAL SAN JOSE                     44 CALLE MAYOR CANTERA                                                                                              PONCE                PR           00731

   167610 FERR COMERCIAL SAN JOSE INC                 44 CALLE MAYOR CANTERA                                                                                              PONCE                PR           00730‐3023
   654054 FERR ENEAS CASH & CASH                      PO BOX 2754                                                                                                         SAN SEBASTIAN        PR           00685
   654055 FERR GREENHILLS                             P O BOX 2160                                                                                                        GUAYAMA              PR           00784
   654056 FERR HIJOS DE JUAN                          HC 02 BOX 4684                                                                                                      COAMO                PR           00769

   654057 FERR LEDESMA                                HS 30 AVE GREGORIO LEDESMA                                                                                          LEVITTOWN            PR           00949

   654058 FERR LOS PRIMOS DE GUAYNABO PO BOX 1134                                                                                                                         GUAYNABO             PR           00970
   654059 FERR PAPOS COMMERCIAL       HC 72 BOX 7235                                                                                                                      CAYEY                PR           00736‐9513
   654060 FERR SOTO EXTRA INC         BOX 441                                                                                                                             ARECIBO              PR           00612

   654063 FERR SUPERMERCADO CARRERO PO BOX 111                                                                                                                            JAYUYA               PR           00664
   654064 FERR TESORO DEL EBANISTA  251 CALLE GUAYAMA                                                                                                                     SAN JUAN             PR           00917

   654065 FERR VEGA BAJA LUMBER YARD                  PO BOX 1398                                                                                                         VEGA BAJA            PR           00694

   654066 FERR Y ALMACENES HERNANDEZ PO BOX 620                                                                ADJUNTAS                                                   ADJUNTAS             PR           00601
                                                                                   PONCE DE LEON AVENUE 4TH
   167625 FERRAIUOLI LLC                              221 PLAZA BUILDING           FLOOR                                                                                  SAN JUAN             PR           00917
   167633 FERRAN RHEDER MD, JUAN                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
  1419716 FERRAN RIVERA, JOSE R.                      HÉCTOR MAURÁS                51 CALLE VIRGILIO SÁNCHEZ                                                              ARROYO               PR           00714
   654067 FERRARI ENTERPRISES INC                     PO BOX 6                                                                                                            AGUADILLA            PR           00605
   167653 FERRARI LAW PSC                             PO BOX 988                                                                                                          AGUADILLA            PR           00605‐0988



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  167654 FERRARI LUGO MD, CRISTINA                     REDACTED                         REDACTED                      REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  167655 FERRARO MD, LISA                              REDACTED                         REDACTED                      REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                                                        CAPITAL CENTER BUILDING SUITE
  1419717 FERRAU RIVERA, ROLANDO                       ALLAN RIVERA FERNÁNDEZ           401                                                                                     HATO REY             PR         00918
   654068 FERRE INVESTMENT FUND INC                    PO BOX 363566                                                                                                            SAN JUAN             PR         00936‐3566
   167704 FERRER ACEVEDO, EVELYN                       REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   167737 FERRER ARROYO, WANDA I                       REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   654069 FERRER BADILLO ASOCIADOS                     P O BOX 363503                                                                                                           SAN JUAN             PR         00936‐3503
   654070 FERRER BENITEZ & ASSOC                       PMB 411                          2434 CALLE LOIZA                                                                        SAN JUAN             PR         00913‐4745

  1419718 FERRER CARABALLO, DAVID R.                   YOLANDA CAPPAS RODRIGUEZ         11 CALLE BETANCES                                                                       YAUCO                PR         00698
  1419719 FERRER CORDERO, RAÚL                         JOSE A. CANDELARIO LAJARA        RR‐03 BOX 3724                                                                          RIO PIEDRAS          PR         00926
   654071 FERRER CORP INC                              PO BOX 190632                                                                                                            SAN JUAN             PR         00919
   167799 FERRER CORPORATION                           PO BOX 190632                                                                                                            SAN JUAN             PR         00919‐0632
   168035 FERRER RAMOS, LUZ                            REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   654072 FERRER SERVICE STATION                       PO BOX 6400 STE 120                                                                                                      CAYEY                PR         00737‐6400

   168152 FERRER SONS DEVELOPMENT INC HC 02 BOX 4028                                                                                                                            LUQUILLO             PR         00773
   168168 FERRER TORRES MD, DIMAS     REDACTED                                          REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   168183 FERRER URBINA MD, BELEN     REDACTED                                          REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   168214 FERRER VIVES, MILAGROS      REDACTED                                          REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          FERRERIS VAZQUEZ MD,
   168235 MANUEL                      REDACTED                                          REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   168239 FERRERO CHAPERO MD, JOSE V                   REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   654074 FERRERO INC                                  P O BOX 5580                                                                                                             CAGUAS               PR         00726‐5580
   168241 FERRERTERIA AMADOR                           CARR. #2 KM 88.3                                                                                                         HATILLO              PR         00659

   168242 FERRES CORDERO MD, ANGEL R                   REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   654076 FERRETARIA MENDEZ                            P O BOX 9066505                                                                                                          SAN JUAN             PR         00906‐6505
          FERRETERIA & AGROCENTRO EL
   168245 SIETE                                        RR 3 BOX 10168                                                                                                           TOA ALTA             PR         00953
   654078 FERRETERIA 2001                              PO BOX 51293                                                                                                             TOA BAJA             PR         00950
   654079 FERRETERIA 3C                                P O BOX 11279                                                                                                            SAN JUAN             PR         00922

   168248 Ferreteria ACE Berrios, Inc.                 Alturas de Brisas. 81‐94 Num25                                                                                           Bayamon              PR         00961

   168249 Ferreteria ACE Comercial Berrios Carr. 172, Calle Barcelo 64                                                                                                          Cidra                PR         00739

   168250 FERRETERIA ACE TORTUGUERO                    PO BOX 404                                                                                                               VEGA BAJA            PR         00694

   168251 FERRETERIA ACE VALOIS PAGAN 1478 TITO CASTRO AVE.                                                                                                                     PONCE                PR         00716‐4712

   654080 FERRETERIA ACEROS DEL OESTE                  BO VOLADORAS                     CARR 111 KM 8 1                                                                         MOCA                 PR         00676

   654083 FERRETERIA AGRICOLA ASA INC                  P O BOX 499                                                                                                              MARICAO              PR         00606
   654084 FERRETERIA ALVAREZ                           PO BOX 3328                                                                                                              CAROLINA             PR         00984
   168254 FERRETERIA AMADOR                            CARR 2 KM 88.3 BUZON 94                                                                                                  HATILLO              PR         00659
          FERRETERIA AMADOR
   168256 INC/ENERGIA Y SOL PR                         CARR 2 KM 88.3 BUZON 94                                                                                                  HATILLO              PR         00659
   654087 FERRETERIA ANGIE                             PO BOX 374                                                                                                               MANATI               PR         00674
   654088 FERRETERIA ANIBAL                            PO BOX 31                                                                                                                CIDRA                PR         00739
   654089 FERRETERIA ARENAS                            PO BOX 1237                                                                                                              GUANICA              PR         00653



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   654090 FERRETERIA AVILES COMERCIAL                 PO BOX 598                                                                                                      CAMUY               PR           00627
   654091 FERRETERIA BAEZ                             P O BOX 513                                                                                                     ADJUNTAS            PR           00601
   654093 FERRETERIA BARRETO                          HC 2 BOX 12248                                                                                                  MOCA                PR           00676

   654094 FERRETERIA BENITEZ GONZALEZ                 BOX 381                                                                                                         ARECIBO             PR           00613
   654095 FERRETERIA BERDECIA                         URB VILLA MADRID             Q 10 CALLE 19                                                                      COAMO               PR           00769
          FERRETERIA BERIO HERMANOS
   654096 INC.                                        PO BOX 406                                                                                                      COROZAL             PR           00783
   168257 FERRETERIA BERRIOS                          ADM DE CORRECCION            PO BOX 29086                                                                       SAN JUAN            PR           00928‐0086
   654097 FERRETERIA BERRIOS E HIJOS                  HC 2 BOX 7183                                                                                                   COMERIO             PR           00782
          FERRETERIA BERRIOS INC/PURA
   168259 ENERGIA INC                                 81‐4 25 ALTURAS DE BRISAS                                                                                       BAYAMON             PR           00961
   654098 FERRETERIA BLAS Y ARCHILLA                  PO BOX 129                                                                                                      OROCOVIS            PR           00720
   654099 FERRETERIA BONNIN                           72 CALLE 25 DE JULIO         5 ESQUINA CAMPECHE                                                                 PONCE               PR           00731

   654101 FERRETERIA CAGUAS COMERCIAL P O BOX 8819                                                                                                                    CAGUAS              PR           00726
          FERRETERIA CAGUAS
  1256497 COMMERCIAL CO. INC.         REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   654102 FERRETERIA CAIMITO          BO MANGO SECT CAIMITO                        HC 01 BOX 6482                                                                     JUNCOS              PR           00777‐9716

   168261 FERRETERIA CAMPAMENTO INC                   PO BOX 172                                                                                                      CIALES              PR           00638
   654103 FERRETERIA CANDELARIA                       PO BOX 1326                                                                                                     BAYAMON             PR           00960
          FERRETERIA CANDELARIA MD
   168262 TRADINGN CORP                               PO BOX 1326                                                                                                     BAYAMON             PR           00960‐1326
   654104 FERRETERIA CAPARRA                          PO BOX 1734                                                                                                     ARECIBO             PR           00613
          FERRETERIA CARINO DE
   654105 NAGUABO                                     PO BOX 39                                                                                                       NAGUABO             PR           00718
   168263 Ferreteria Casa Agricola                    HC 02, Box 7510                                                                                                 Camuy               PR           00627
   654106 FERRETERIA CEDRO ABAJO                      OSCAR VAZQUEZ                CORREO GENERAL          BARRIO ACHIOTE                                             NARANJITO           PR           00719
   654108 FERRETERIA CENTRO HOGAR                     PO BOX 445                                                                                                      MANATI              PR           00674
   654110 FERRETERIA CERRO GORDO                      HC 83 BOX 7603                                                                                                  VEGA ALTA           PR           00692
   654111 FERRETERIA CESAR                            HC 1 BOX 357                                                                                                    AGUADILLA           PR           00603
   654112 FERRETERIA CHEO PAPA                        36 N CALLE DR VEVE                                                                                              COAMO               PR           00769
   654113 FERRETERIA CHRISTIAN                        HC 2 BOX 7631                                                                                                   CAMUY               PR           00627‐9114
   168264 FERRETERIA CHRISTIAN, INC.                  Carr. 455, Km. 3.2                                                                                              Camuy               PR           00627
   654114 FERRETERIA CHU GARCIA                       PO BOX 391                                                                                                      VIEQUES             PR           00765
   654115 FERRETERIA CINTRON                          CARR 3 KM 55 HM 7            PARCELAS AGUAS CLARAS                                                              CEIBA               PR           00735
   654117 FERRETERIA COLON ELECTRIC                   39 CALLE SANTO DOMINGO                                                                                          YAUCO               PR           00698
   168265 FERRETERIA COLOR Y DISENO                   43 MORELL CAMPOS             CARR 10 KM 7 3                                                                     PONCE               PR           00731
          FERRETERIA COMERCIAL
   654118 ANGELES INC                                 P O BOX 491                                                                                                     ANGELES             PR           00611
          FERRETERIA COMERCIAL
   654119 BERRIOS                                     PO BOX 2456                                                                                                     BARRANQUITAS        PR           00794
          FERRETERIA COMERCIAL
   168266 CARABALLO INC                               1072 AVE FERNANDEZ JUNCOS                                                                                       SAN JUAN            PR           00907
          FERRETERIA COMERCIAL EL
   654120 COCO                                        BO COCO NUEVO                117 DIOSDADO DONES                                                                 SALINAS             PR           00751

   168267 FERRETERIA COMERCIAL JJ, INC                CARR 492 KM 0.1 BO LECHUGA                                                                                      HATILLO             PR           00659
          FERRETERIA COMERCIAL LA
   654121 GLORIA                                      HC 61 BOX 5006                                                                                                  TRUJILLO ALTO       PR           00976
   168268 Ferreteria Comercial Lechuga                PO BOX 1742                                                                                                     Arecibo             PR           00613



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   654122 FERRETERIA COMERCIAL PARDO                  PO BOX 202                                                                                         CATA¥O              PR           00963
          FERRETERIA COMERCIAL
   654123 RODRIGUEZ                                   BO RABANAL                 BOX 3044                                                                CIDRA               PR           00639
          FERRETERIA COMERCIAL SOTO
   654124 EXTRA                                       PO BOX 279                                                                                         MOROVIS             PR           00687
          FERRETERIA COMERICAL LA
   654125 GLORIA                                      BO LA GLORIA               HC 61 BOX 5006                                                          TRUJILLO ALTO       PR           00976
   654126 FERRETERIA CORDOVA                          328 CALLE MENDEZ VIGO                                                                              DORADO              PR           00646
   654127 FERRETERIA COSME                            BO PALMAS                  CARR 3 KM 126.8                                                         ARROYO              PR           00714

   654129 FERRETERIA COTTO LAUREL INC                 COTTO LAUREL               5 AVE FLAMBOYAN                                                         PONCE               PR           00780
          FERRETERIA CUATRO ESQUINA
   654130 GOBAR INC                                   PO BOX 365047                                                                                      SAN JUAN            PR           00936‐5047

   654131 FERRETERIA CUESTA DEL GUAMA HC 3 BOX 30156                                                                                                     HATILLO             PR           00659
   654132 FERRETERIA D T SULIVERAS    PO BOX 1632                                                                                                        GUAYAMA             PR           00785
                                      CARR 3 KM 59 9 DAGUAO BZN
   654133 FERRETERIA DAGUAO           192                                                                                                                NAGUABO             PR           00718

   168269 FERRETERIA DAVID RODRIGUEZ                  BO PINA                    CARR 829 KM 2.4                                                         TOA ALTA            PR           00953
   654135 FERRETERIA DAVILA INC                       36 AVE LOS VETERANOS                                                                               GUAYAMA             PR           00784
          FERRETERIA DE DIEGO/DBA DE
   654136 DIEGO RENTAL                                1230 CALLE CAMPECHE                                                                                SAN JUAN            PR           00920
   168270 FERRETERIA DEL CENTRO                       HC 02 BOX 7300                                                                                     OROCOVIS            PR           00720
   654138 FERRETERIA DEL ESTE INC                     HC 2 BOX 11771                                                                                     HUMACAO             PR           00791
   168271 Ferreteria Delgado                          Carr. 119, Km. 5.5                                                                                 Camuy               PR           00627
   654139 FERRETERIA DOMINGUITO                       H C BOX 16929                                                                                      ARECIBO             PR           00612
   654140 FERRETERIA DONALD BUSIGO                    HC 09 BOX 2551                                                                                     SABANA GRANDE       PR           00637
   654141 FERRETERIA EL ABANICO                       PO BOX 521                                                                                         TRUJILLO ALTO       PR           00977
   654142 FERRETERIA EL BAMBU                         HC 01 BOX 7370                                                                                     MOCA                PR           00676
   654143 FERRETERIA EL CABLE                         7 MA SEC LEVITTOWN         SE 12 AVE AMALIA PAOLI                                                  TOA BAJA            PR           00949
   654144 FERRETERIA EL CAMPESINO                     HC 2 BOX 7352                                                                                      OROCOVIS            PR           00720
   168273 FERRETERIA EL CANON                         APARTADO 762                                                                                       BARRANQUITAS        PR           00794
   168274 FERRETERIA EL CENTRO                        PO BOX 517                                                                                         NAGUABO             PR           00718
   168278 FERRETERIA EL COMETA                        ESQ WEBB BO OBRERO         2201 AVE BORINQUEN                                                      SAN JUAN            PR           00915‐0000
                                                      AVE. BORINQUEN 2201 BO.
   168281 FERRETERIA EL COMETA , INC.                 OBRERO                                                                                             SAN JUAN            PR           00915‐0000
   168282 FERRETERIA EL COMETA INC                    AVE BORINQUEN 2201                                                                                 SAN JUAN            PR           00915
                                                      2201 AVE. BORINQUEN, ESQ
   168284 FERRETERIA EL COMETA, INC.                  WEBB                                                                                               SAN JUAN            PR           00915
   168285 FERRETERIA EL COROZO                        BO SABANA HOYOS            CARR 690 KM 3.2                                                         VEGA ALTA           PR           00962
   654146 FERRETERIA EL CRUCE                         HC 4 BOX 16937                                                                                     SAN SEBASTIAN       PR           00685
   654147 FERRETERIA EL FLAMBOYAM                     HC 1 BOX 4790                                                                                      JAYUYA              PR           00664
   168286 FERRETERIA EL GIGANTE                       LA OLIMPIA C ‐ 41                                                                                  ADJUNTAS            PR           00601‐0000
   654148 FERRETERIA EL GUARETO                       CARR152 KM 20.8            PO BOX 273                                                              NARANJITO           PR           00719
   654149 FERRETERIA EL LLANO                         HC 2 BOX 10460                                                                                     AIBONITO            PR           00705

   654150 FERRETERIA EL NUEVO MINI MAS PO BOX 495                                                                                                        CULEBRA             PR           00775‐0495
   654151 FERRETERIA EL NUEVO ROLO     PO BOX 1319                                                                                                       HORMIGUEROS         PR           00660
   168287 Ferreteria El Pajuil         PO BOX 1355                                                                                                       Hatillo             PR           00659
   168288 FERRETERIA EL PALACIO        PO BOX 1811                                                                                                       ANASCO              PR           00610




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                                                      12 CALLE CONCEPCION VERA
   654152 FERRETERIA EL PALACIO 2                     AYALA                                                                                              MOCA                 PR           00676
   654154 FERRETERIA EL PARAISO INC                   PO BOX 9024275                                                                                     SAN JUAN             PR           00902‐4275
   168289 Ferreteria El Pare                          Hc 02, Box 7510                                                                                    Camuy                PR           00627
          FERRETERIA EL PARE DE CAMUY
   168290 CORP                                        HC 2 BOX 7415                                                                                      CAMUY                PR           00627
   654155 FERRETERIA EL PEPINIANO                     HC 01 BZN 5578                                                                                     OROCOVIS             PR           00720
   654156 FERRETERIA EL RESUELVE                      HC 55 BOX 8001                                                                                     CEIBA                PR           00735
   168291 Ferreteria El Rey                           Carr. 119, Km 11.7                                                                                 Camuy                PR           00627
   654157 FERRETERIA EL ROLO                          PO BOX 1319                                                                                        HORMIGUEROS          PR           00660
   654158 FERRETERIA EL SOL INC                       RR 06 BOX 9625                                                                                     SAN JUAN             PR           00926
          FERRETERIA EL TESORO DEL
   168292 EBANISTA                                    251 CALLE GUAYAMA                                                                                  SAN JUAN             PR           00917‐4202
   654077 FERRETERIA EL TRIANGULO                     HC‐2 BUZON 10975                                                                                   SAN JUAN             PR           00777
   654159 FERRETERIA EL YUNQUE                        P O BOX 500                                                                                        PALMER               PR           00721

   654160 FERRETERIA EMILIO DAVILA INC                PO BOX 294                                                                                         VEGA ALTA            PR           00692
   654161 FERRETERIA EMPALME                          HC 02 BOX 9963                                                                                     COROZAL              PR           00783
          Ferreteria Felix Lopez Figueroa
   168293 Inc.                                        Po Box 37                                                                                          Las Piedras          PR           00771
   654162 FERRETERIA FELIX LOPEZ INC                  PO BOX 37                                                                                          LAS PIEDRAS          PR           00771
          FERRETERIA FIGUEROA
   654163 HARDWARE INC                                2 CALLE BARBOSA                                                                                    MAUNABO              PR           00707
   654164 FERRETERIA FLORIDA                          PO BOX 656                                                                                         VIEQUES              PR           00765
   168294 FERRETERIA FONTAN INC                       CARR 2 KM 56.5                                                                                     BARCELONETA          PR           00617
   168295 FERRETERIA FRAGOSA                          CASA BLANCA                CARR 988 313                                                            LUQUILLO             PR           00773
   654165 FERRETERIA FRANCISCO                        PO BOX 8914                                                                                        CAROLINA             PR           00988‐8914
   654166 FERRETERIA GALLEGO INC                      HC 1 BOX 6574                                                                                      CANOVANAS            PR           00729
   654167 FERRETERIA GIUSTI INC                       PO BOX 381                                                                                         TOA BAJA             PR           00951‐0381
   654168 FERRETERIA GOMEZ HNOS                       BO CORAZON                 15 CALLE SANTO TOMAS                                                    GUAYAMA              PR           00784
   654169 FERRETERIA GOMEZ RENTAS                     PO BOX 911                                                                                         GUAYNABO             PR           00970
   168296 FERRETERIA GONZALEZ                         17 CALLE MUNOZ RIVERA                                                                              ADJUNTAS             PR           00601
   654173 FERRETERIA GONZALITO INC                    HC 3 BOX 8181                                                                                      BARRANQUITAS         PR           00794
   654174 FERRETERIA GREEN HILLS                      P O BOX 2160                                                                                       GUAYAMA              PR           00784
   654175 FERRETERIA GREGORI INC.                     264 CALLE VILLA                                                                                    PONCE                PR           00731
   654176 FERRETERIA GUAYABAL INC                     URB ALT DEL ALBA           10719 CALLE SOL                                                         VILLALBA             PR           00766
   654177 FERRETERIA GURABO                           PO BOX 1313                                                                                        GURABO               PR           00778
   168297 FERRETERIA H FORTIZ INC                     APARTADO 1552                                                                                      VEGA BAJA            PR           00694
   654178 FERRETERIA HANSY INC                        185 AVE NOEL ESTRADA                                                                               ISABELA              PR           00662
          FERRETERIA HERMANOS
   168298 BARRETO                                     PO BOX 140328                                                                                      ARECIBO              PR           00612
   654181 FERRETERIA HERMANOS DIAZ                    BDA ISRAEL                 87 CALLE 6                                                              SAN JUAN             PR           00917
          FERRETERIA HERMANOS
   654182 SANCHEZ INC                                 PO BOX 714                                                                                         DORADO               PR           00646‐0714
          FERRETERIA HERNANDEZ PEREZ
   654183 INC                                         P O BOX 620                                                                                        ADJUNTAS             PR           00601‐0620

   168299 FERRETERIA HNOS. SANCHEZ INC. P.O. BOX 714                                                                                                     DORADO               PR           00646‐0000

   168300 FERRETERIA INTERNATIONAL INC 14 2DA AVE NOGAL                                                                                                  BAYAMON              PR           00956
          FERRETERIA ISABELA STEEL
   168302 SERVICES                     AVE MILITAR                               BOX 4110                                                                ISABELA              PR           00662
   654185 FERRETERIA ISLA              PO BOX 29066                                                                                                      SAN JUAN             PR           00929



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  654186 FERRETERIA J DETRES          PO BOX 102                                                                                                            MARICAO             PR           00606
  654187 FERRETERIA JAGUAS            HC 2 BOX 8654                                                                                                         CIALES              PR           00638
  654188 FERRETERIA JAHAYRA           HC 1 BOX 3638                                                                                                         FLORIDA             PR           00650
  654189 FERRETERIA JAIME INC         156 BDA F CORDOVA DAVILA                                                                                              MANATI              PR           00674
  654190 FERRETERIA JIMENEZ           PO BOX 1029                                                                                                           CIDRA               PR           00739
         FERRETERIA JOE'S HOME CENTER
  168303 INC                          CARR 2 KM 34.4                                                                                                        VEGA BAJA           PR           00693
  654191 FERRETERIA JOSE J MARTINEZ   PO BOX 3165                                                                                                           MAYAGUEZ            PR           00681
  168304 Ferreteria JW                Carr. 129 Km 8.3                                                                                                      Hatillo             PR           00659
  654192 FERRETERIA KAYUKO            PO BOX 524                                                                                                            MOCA                PR           00676
  654193 FERRETERIA LA 31 INC         PO BOX 240                                                                                                            JUNCOS              PR           00777
  168305 FERRETERIA LA CHIMENEA       HC 2 BOX 5859                                                                                                         PENUELAS            PR           00624
  654194 FERRETERIA LA CUESTA         PO BOX 2600                              SUITE 13                                                                     MOCA                PR           00675
                                                                               2 B AVE CASIANO CPD PARC LA
   654196 FERRETERIA LA DOLORES                       COM LA DOLORES           DOLORES                                                                      RIO GRANDE          PR           00745
   654197 FERRETERIA LA ECONOMIA                      HC 1 BOX 4791                                                                                         JAYUYA              PR           00664‐9710
   654199 FERRETERIA LA ESPECIAL                      BO BUENA VISTA           RR 5 BOX 8379                                                                BAYAMON             PR           00956
   168306 FERRETERIA LA FAMA                          AVE BORINQUEN 2216                                                                                    SANTURCE            PR           00915
   654202 FERRETERIA LA FAMILIA                       BDA QUEBRADA             CARR 127 INT 377                                                             GUAYANILLA          PR           00677
   654206 FERRETERIA LA FAVORITA                      PO BOX 63                                                                                             FLORIDA             PR           00650
   168307 Ferreteria La Feria                         Ave. Barbosa #727                                                                                     Santurce            PR           00915
                                                      BO OBRERO 2114 AVE
   168308 FERRETERIA LA FERIA #2                      BORINQUEN                                                                                             SANTURCE            PR           00920
   654207 FERRETERIA LA MARGINAL                      CARR 2 NUM 4034          SUITE 1                                                                      VEGA BAJA           PR           00694
   168309 FERRETERIA LA MONTANA                       PO BOX 94                                                                                             NARANJITO           PR           00719
   654208 FERRETERIA LA NUEVA ERA                     BO GARROCHALES           PO BOX 42                                                                    ARECIBO             PR           00652

   168310 FERRETERIA LA NUEVA EUROPA                  1501 AVE PONCE DE LEON                                                                                SANTURCE            PR           00909
   654210 FERRETERIA LA PESA                          PO BOX 657                                                                                            CIALES              PR           00638
   654211 FERRETERIA LA PETATERA                      116 AVE 5 DE DICIEMBRE                                                                                SABANA GRANDE       PR           00637
   654212 FERRETERIA LA PLATA                         RR 5 BOX 5395                                                                                         BAYAMON             PR           00956

   654213 FERRETERIA LAGOS DE PLATA INC PO BOX 51137                                                                                                        TOA BAJA            PR           00950
          FERRETERIA LATORRE & IRON
   654214 WORK                          HC 01 BOX 6012                                                                                                      YAUCO               PR           00698
   654215 FERRETERIA LAUSELL            PO BOX 938                                                                                                          BAYAMON             PR           00619
   654216 FERRETERIA LAZU INC           PO BOX 350                                                                                                          YABUCOA             PR           00767
   654217 FERRETERIA LIVIO PUIG INC.    PO BOX 1208                                                                                                         CAGUAS              PR           00726
   654218 FERRETERIA LOS BIGIOS         AVE. EMILIANO POLL                     1994 AVE BORINQUEN                                                           SAN JUAN            PR           00915

   168311 FERRETERIA LOS CAMIONEROS                   HC 3 BOX 9899                                                                                         LARES               PR           00669

   654220 FERRETERIA LOS MUCHACHOS                    173 CALLE COLON                                                                                       AGUADA              PR           00602
   168312 FERRETERIA LOS NIETOS                       3962 CARR 2                                                                                           VEGA BAJA           PR           00694
   654222 FERRETERIA LOS PRIMOS                       PO BOX 668                                                                                            BARRANQUITAS        PR           00794
   654223 FERRETERIA LUIMAR                           45 CALLE MU¥OZ RIVERA                                                                                 LARES               PR           00669
   654224 FERRETERIA LUMBER YARD                      PO BOX 1398                                                                                           VEGA BAJA           PR           00693
          FERRETERIA M. OTERO Y CIA,
   168313 INC.                                        APARTADO 848                                                                                          MANATI              PR           00674
   654225 FERRETERIA MADEDERA 2000                    CAPARRA STATION          PO BOX 11279                                                                 SAN JUAN            PR           00922
   168314 FERRETERIA MADERAS 3 C                      PO BOX 11279                                                                                          SAN JUAN            PR           00922
   654226 FERRETERIA MADERERA 2000                    PO BOX 470                                                                                            TRUJILLO ALTO       PR           00978
   654227 FERRETERIA MALDONADO                        BO LLANADA               R R 4 BOX 176                                                                ISABELA             PR           00662



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  654229 FERRETERIA MANATI INC.                       PO BOX 1148                                                                                                      MANATI              PR           00674
  168315 FERRETERIA MARGIE                            280 AVE LAURO PINERO                                                                                             CEIBA               PR           00735
  654230 FERRETERIA MARIAS                            URB LA VEGA               BOX 1516                                                                               VILLALBA            PR           00766

   168316 FERRETERIA MARTIN GONZALEZ                  URB ALTO APOLO            2124 CALLE ONFALA                                                                      GUAYNABO            PR           00969
   168317 FERRETERIA MARTINEZ                         O DOS BOCA                CARR 181 KM 9.6                                                                        TRUJILLO ALTO       PR           00979
   654233 FERRETERIA MARTORELL                        PO BOX 4891                                                                                                      YABUCOA             PR           00767
   831360 Ferreteria Masso                            P O Box 446                                                                                                      Caguas              PR           00725
   654234 FERRETERIA MASSO INC                        PO BOX 446                                                                                                       CAGUAS              PR           00726
   654235 FERRETERIA MC TORRES INC.                   PO BOX 512                                                                                                       VEGA BAJA           PR           00694
   654236 FERRETERIA MEDINA INC.                      4180 AVE MILITAR                                                                                                 ISABELA             PR           00662
  1256498 FERRETERIA MENDEZ INC                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          FERRETERIA MENDEZ INC‐ NUM
   168323 PATRONAL INC                                PO BOX 9066505                                                                                                   SAN JUAN            PR           00906‐6505
   168324 FERRETERIA MERINO INC                       PO BOX 9627                                                                                                      SANTURCE            PR           00910‐0000
   654239 FERRETERIA MI CASITA                        HC 1 BOX 4842                                                                                                    SABANA HOYOS        PR           00688
   654240 FERRETERIA MIKE                             HC 01 BOX 2289                                                                                                   BOQUERON            PR           00622
   654241 FERRETERIA MINILLA                          PO BOX 4100                                                                                                      BAYAMON             PR           00958
   654242 FERRETERIA MINILLAS                         PO BOX 9024275                                                                                                   SAN JUAN            PR           00902‐4275
   168327 FERRETERIA MINILLAS INC                     PO BOX 4100                                                                                                      BAYAMON             PR           00958
          FERRETERIA MIRAMAR DBA A
  1256499 GARCIA & CO                                 REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   654243 FERRETERIA NALES                            HC 01 BOX 8728                                                                                                   VIEQUES             PR           00765 9201
   654244 FERRETERIA NIEVES                           HC 1 BOX 12050                                                                                                   SAN SEBASTIAN       PR           00685
   168332 FERRETERIA NIEVES LUMBER                    12 CALLE JESUS T PINERO                                                                                          PATILLAS            PR           00723
   654245 FERRETERIA OLA INC                          PO BOX 94                                                                                                        NARANJITO           PR           00719
   654246 FERRETERIA OROCOVIS                         PO BOX 132                                                                                                       OROCOVIS            PR           00720
   168333 FERRETERIA ORONOZ                           P. O. BOX 1581                                                                                                   SAN SEBASTIAN       PR           00685‐0000

   654247 FERRETERIA PABLO MELENDEZ                   PO BOX 66                                                                                                        VEGA BAJA           PR           00694
   654248 FERRETERIA PAGAN HNOS                       BOX 3000 SUITE 559                                                                                               CANOVANAS           PR           00729
   654249 FERRETERIA PAJUIL                           PO BOX 1355                                                                                                      HATILLO             PR           00659
   168335 FERRETERIA PALOMAS #2                       BO CAMASEYES                                                                                                     AGUADILLA           PR           00602
   654250 FERRETERIA PAPO                             HC 2 BOX 6529                                                                                                    BARRANQUITAS        PR           00794
   168336 FERRETERIA PAPO PINA                        HC 01 BOX 10275                                                                                                  TOA BAJA            PR           00949
   654251 FERRETERIA PARANA                           URB EL PARAISO            54 CALLE PARANA                                                                        SAN JUAN            PR           00926
   654252 FERRETERIA PI¥EIRO                          15 CALLE BARBOSA                                                                                                 ISABELA             PR           00662
   654253 FERRETERIA PIPO                             PO BOX 482                                                                                                       MOCA                PR           00676
   654254 FERRETERIA PITAHAYA                         HC03 BOX 5610                                                                                                    HUMACAO             PR           00791
   654255 FERRETERIA PLAZA                            PO BOX 675                                                                                                       SANTA ISABEL        PR           00757
                                                                                1002 FRANKLIN D ROOSEVELT
   654256 FERRETERIA PLUM PLAS                        URB PUERTO NUEVO          AVE                                                                                    SAN JUAN            PR           00920
   654257 FERRETERIA POETA LUMBER                     PO BOX 927                                                                                                       JUANA DIAZ          PR           00795
   654258 FERRETERIA PUENTE JOBOS                     264 CALLE VILLA                                                                                                  PONCE               PR           00731
   654259 FERRETERIA PUERTO REAL                      PO BOX 188                                                                                                       FAJARDO             PR           00738
   168337 FERRETERIA RABANAL                          PO BOX 510                                                                                                       AIBONITO            PR           00705
   654260 FERRETERIA RAMOS E HIJOS                    P O BOX 455                                                                                                      LAS MARIAS          PR           00670
   654261 FERRETERIA RENE                             1204 AVE MIRAMAR                                                                                                 ARECIBO             PR           00612
   654262 FERRETERIA RG INC                           BOX 3002 SUITE 178                                                                                               RIO GRANDE          PR           00745‐3002
   654263 FERRETERIA RINCON CRIOLLO                   PLAYA SALINAS             18 CALLE E BO PLAYA                                                                    SALINAS             PR           00751
   654264 FERRETERIA RIO PIEDRAS                      1088 AVE MUNOZ RIVERA                                                                                            SAN JUAN            PR           00927
   654265 FERRETERIA RIVERA                           PO BOX 656                                                                                                       YABUCOA             PR           00767




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          FERRETERIA RIVERA LUPIANEZ ,
   168339 INC.                                        CALLE SAN JOSE # 100 OESTE                                                                           AIBONITO            PR           00705‐0000
          FERRETERIA RIVERA LUPIANEZ
   654266 INC                                         100 CALLE SAN JOSE E                                                                                 AIBONITO            PR           00705
          FERRETERIA RIVERAS
   654267 COMMERCIAL                                  213 AVE MUNOZ RIVERA S                                                                               CAYEY               PR           00736
   654268 FERRETERIA RODRIGUEZ                        PO BOX 2324                                                                                          SAN JUAN            PR           00909‐2324
   168340 FERRETERIA ROMAN                            CALLE BETANCES # 28                                                                                  UTUADO              PR           00641‐0000
   654271 FERRETERIA ROSA NIEVES                      P O BOX 1019                                                                                         MOCA                PR           00676
   654272 FERRETERIA ROVIN                            PO BOX 3381                                                                                          AGUADILLA           PR           00605
   654274 FERRETERIA SALAMANCA                        PO BOX 586                                                                                           LUQUILLO            PR           00773
   168341 Ferreteria San Jose                         HC 05 Box 18064                                                                                      Arecibo             PR           00612
   654275 FERRETERIA SAN LUIS                         BO GARROCHALES                   P O BOX 162                                                         ARECIBO             PR           00652
   654276 FERRETERIA SANTA ANA                        24 CALLE RAFAEL LASA                                                                                 AGUAS BUENAS        PR           00703
   168342 FERRETERIA SANTA ISABEL                     43 CALLE BETANCES                                                                                    SANTA ISABEL        PR           00757
   654277 FERRETERIA SANTA RITA                       PO BOX 341                                                                                           VEGA ALTA           PR           00692
   654278 FERRETERIA SANTA ROSA                       PO BOX 323                                                                                           GUAYNABO            PR           00970
   168343 FERRETERIA SANTANA INC                      HC 01 BOX 8526                                                                                       SAN GERMAN          PR           00683
   654279 FERRETERIA SANTIAGO                         P O BOX 1533                                                                                         FAJARDO             PR           00738

   168345 FERRETERIA SANTIAGO LOPEZ                   URB. EL VALLE 94, CALLE MIRTOS                                                                       LAJAS               PR           00667
          FERRETERIA SANTIAGO LOPEZ
   168346 INC                                         URB EL VALLE                     94 CALLE MIRTOS                                                     LAJAS               PR           00667
   654280 FERRETERIA SANTOS                           PO BOX 50089                                                                                         TOA BAJA            PR           00950

   654281 FERRETERIA SANTURCE            1072 AVE FERNANDEZ JUNCOS                                                                                         SAN JUAN            PR           00907
   654282 FERRETERIA SILVA               PO BOX 1540                                                                                                       CABO ROJO           PR           00623
   654283 FERRETERIA SOLA                PO BOX 2330                                                                                                       SALINAS             PR           00751
          FERRETERIA SOLAR EL ALMACIGO
   168347 INC                            DEPT DE LA VIVIENDA               606 AVE BARBOSA                                                                 SAN JUAN            PR           00926
   654284 FERRETERIA SOLAS               PO BOX 2330                                                                                                       SALINAS             PR           00751
   654285 FERRETERIA SOSO                9 CARR 702                                                                                                        COAMO               PR           00769
   654286 FERRETERIA SOTO                BO PUEBLO VIEJO                   HC 1 BOX 441                                                                    FLORIDA             PR           00650
   654288 FERRETERIA TAVAREZ             BO LLANADAS                       43 CALLE VARSOVIA                                                               ISABELA             PR           00662
          FERRETERIA TESORO EN
   168351 MADERAS                        HC 645 BOX 6265                                                                                                   TRUJILLO ALTO       PR           00976
   654289 FERRETERIA TORES HIJOS         BOX 15                            SEC ALVAREZ                                                                     HATILLO             PR           00659
   168352 FERRETERIA TORRES              SUMMIT HILLS                      1747 JESUS T PINERO                                                             SAN JUAN            PR           00920
   168353 FERRETERIA TORRES E HIJOS      CARR 130 KM 1.1                                                                                                   HATILLO             PR           00659
   654290 FERRETERIA TOWN HILL INC       TIERRALTA 2                       F 19 CALLE GAVILANES                                                            GUAYNABO            PR           00969
   654291 FERRETERIA TRUE VALUE          VIEJO SAN JUAN                    208 CALLE SAN FRANCISCO                                                         SAN JUAN            PR           00901
   654293 FERRETERIA VARGAS              PO BOX 10301                                                                                                      SAN JUAN            PR           00922‐0301
   831361 Ferreteria Vargas, Inc.        PO Box 10301                                                                                                      San Juan            PR           00922
   168354 FERRETERIA VEGA ALTA , INC.    P. O. BOX 219                                                                                                     VEGA ALTA           PR           00692‐0000
   168355 FERRETERIA VEGA ALTA, IC.      PO BOX 219                                                                                                        VEGA ALTA           PR           00692
   654295 FERRETERIA VICTORIA            PO BOX 75                                                                                                         VIEQUES             PR           00765
   654296 FERRETERIA WILLIAM             P O BOX 654                                                                                                       JAYUYA              PR           00664
   654297 FERRETERIA WITO                PO BOX 331                                                                                                        MOROVIS             PR           00687
   654298 FERRETERIA Y AGROCENTRO        HC 83 BOX 7741                                                                                                    VEGA ALTA           PR           00692
          Ferreteria Y Casa Agricola San
   168356 Miguel                         Carr. Pipo Crespo, Sect Las Vegas                                                                                 Camuy               PR           00627
          FERRETERIA Y CENTRO AGRICOLA
   654299 EL SIETE                       RR 3 BOX 10168                                                                                                    TOA ALTA            PR           00953



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   654300 FERRETERIA Y CTRO AGRICOLA                  PO BOX 810                                                                                                           MOCA                PR           00676
          FERRETERIA Y GARAGE
   654301 GONZALEZ                                    BO CAGUANA                     HC 03 BOX 13235                                                                       UTUADO              PR           00761

   654302 FERRETERIA Y GARAJE GONZALEZ HC 03 BOX 13235                                                                                                                     UTUADO              PR           00641

   654303 FERRETERIA Y GRAVERO C & S                  26 SANTA BARBARA                                                                                                     JAYUYA              PR           00664
          FERRETERIA Y GRAVERO
   654304 HERNANDEZ                                   PO BOX 591                                                                                                           HUMACAO             PR           00792
          FERRETERIA Y GRAVERO LAS
   654305 AMERICAS                                    ESQ SAN JOSE                   45 CALLE MORSE                                                                        ARROYO              PR           00615
          FERRETERIA Y GRAVERO LOS
   654308 ANGELES                                     BO RINCON                      PO BOX 305                                                                            GURABO              PR           00778
          FERRETERIA Y GRAVERO SAINT
   168357 JUST                                        CARR 848 SAINT JUST            KM 2 HM 2 205                                                                         TRUJILLO ALTO       PR           00978
   654309 FERRETERIA Y SUP CARRERO                    PO BOX 111                                                JAYUYA                                                     JAYUYA              PR           00664
   654310 FERRETERIA YUYO GONZALEZ                    HC 03 BOX 19638                                                                                                      ARECIBO             PR           00612‐9400
   654312 FERRETERIAS PLUM PLAS                       1002 AVE FD ROOSEVELT                                                                                                SAN JUAN            PR           00920
   168358 FERRETERIAS PLUM‐PLAS                       1002 AVE FD ROOSEVELT                                                                                                SAN JUAN            PR           00920
   168373 FERRO HOLDING CORP                          URB SABANERA DORADO            429 CAMINO DEL SUSUA                                                                  DORADO              PR           00646‐0000
   168374 FERRO, SEGUNDO J.                           REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FERROCARRIL SERVICE STATION
   654313 TEXACO                                      PO BOX 7449                                                                                                          PONCE               PR           00732‐7749
   168375 FERROVIAL AGROMAN LLC                       1250 AVE P DE LEON             SUITE 901                                                                             SAN JUAN            PR           00907
   654315 FERSENE PEIGNE                              BARRIO ALCOA                   11 CALLE ANTONIO DUOERGE                                                              PEDERNALES                                     DOMINICAN REPUBLIC
   654316 FERTI LAND                                  PO BOX 370                                                                                                           GARROCHALES         PR           00652
   654317 FERVILL CO INC                              PO BOX 235                                                                                                           ST JUST             PR           00978
   168376 FESCO INC                                   PO BOX 608                                                                                                           MAYAGUEZ            PR           00681‐0608
   654318 FESISLA INC                                 RR 3 BOX 3962                                                                                                        SAN JUAN            PR           00926‐9614
   654319 FESS OF PUERTO RICO INC                     P O BOX 143673                                                                                                       ARECIBO             PR           00614‐3673
          FEST FAMILIAR DEL CENTRO INC
   654320 DE MOROVIS                                  BOX 245                                                                                                              MOROVIS             PR           00687
   654321 FESTI VITY CORP                             URB LA CUMBRE SUITE 209        271 CALLE SIERRA MORENA                                                               SAN JUAN            PR           00926
          FESTIVAL AZUCAR GUARAPO Y
   654322 MELAO                                       P O BOX 525                                                                                                          YABUCOA             PR           00767
          FESTIVAL BOMBA Y PLENA INC /
   654323 PLENARIUM                                   URB COUNTRY CLUB               1100 CALLE BUSELLO                                                                    SAN JUAN            PR           00924
          FESTIVAL CETI C/O AGUSTIN
   654324 SERRANO                                     PO BOX 1912                                                                                                          ARECIBO             PR           00613
          FESTIVAL CINE INTERNACIONAL                 PMB 374 1507 AVE PONCE DE
   168382 DE SAN JUAN                                 LEON                                                                                                                 SAN JUAN            PR           00909

   654325 FESTIVAL CUEVAS DE LA MORA                  HC 01 BOX 4305                                                                                                       COMERIO             PR           00782
          FESTIVAL DE LA COCOLIA DE
   654326 MAYAGUEZ                                    BO EL SECO                     52 JOSE ACOSTA                                                                        MAYAGUEZ            PR           00681
   654327 FESTIVAL DE LA COCOLIA INC                  VALLE HERMOSO                  S O 9 CIPRESS                                                                         MAYAGUEZ            PR           00680
          FESTIVAL DE LA ESPERANZA
   168383 CORP                                        HC 22 BOX 9614                                                                                                       JUNCOS              PR           00777
          FESTIVAL DE LA LONGANIZA
   168384 RECRE CULTURAL                              PO BOX 627                                                                                                           OROCOVIS            PR           00720

   654328 FESTIVAL DE MANGO                           3 CAMINO LAS GRACIAS APT 201                                                                                         MAYAGUEZ            PR           00680



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  654329 FESTIVAL DE REYES                             54 CALLE COULT                                                                                             SAN SEBASTIAN     PR           00685
         FESTIVAL DEL ANON DE
  654330 NARANJITO INC                                 HC 71 BOX 1750                                                                                             NARANJITO         PR           00719
         FESTIVAL DEL PASTEL DE
  654331 OROCOVIS                                      P O BOX 1545                                                                                               OROCOVIS          PR           00720
  654332 FESTIVAL DEL PETATE                           2 CALLE DR TIO                                                                                             SABANA GRANDE     PR           00637
         FESTIVAL DEL VOLANTIN
  654333 MAYAGUEZANO INC                               105 CALLE DR VADI                                                                                          MAYAGUEZ          PR           00680
  168385 FESTIVAL EL JOBO INC                          BOX 682                                                                                                    COMERIO           PR           00782

   654334 FESTIVAL FAMILIAR DEL CENTRO                 P O BOX 245                                                                                                MOROVIS           PR           00687
          FESTIVAL INT DE LA GUITARRA
   654335 DE PR INC                                    ESTACION UPR                PO BOX 21402                                                                   SAN JUAN          PR           00931
          FESTIVAL MUSICAL LATINO
   168386 AMERICANO INC                                P O BOX 9020137                                                                                            SAN JUAN          PR           00902‐0137
          FESTIVAL NACIONAL DEL CAFE
   168387 FRE                                          PO BOX 3059                                                                                                YAUCO             PR           00698
          FESTIVAL NAVIDE¥O FAMILAR
   654336 INC                                          RAMIREZ DE ARELLANO         8 CALLE CAMPECHE JARDAN                                                        MAYAGUEZ          PR           00680
          FESTIVAL Y MARATON MUJER
   168388 PUERTORRIQUENA                               BO SABANA ENEAS             355 CALLE 12                                                                   SAN GERMAN        PR           00683
   654337 FESTIVITIES BASKET SHOP                      URB LA CUMBRE               603 CALLE WASHINGTON                                                           SAN JUAN          PR           00926
   168389 FESTIVO INC                                  361 SAN JORGE                                                                                              SAN JUAN          PR           00912
   168390 FESTIVO PR COM, INC.                         357 CALLE SAN JORGE                                                                                        SAN JUAN          PR           00912
   168391 FESTIVOL CORP                                VILLA NEVARES               1073 CALLE 3                                                                   SAN JUAN          PR           00927‐5124
   168392 FESTNA TRADING CORP.                         P. O. BOX 13392                                                                                            SAN JUAN          PR           00908‐0000
   654338 FESTNA TRAIDING CORP                         PO BOX 13392                                                                                               SAN JUAN          PR           00908
   654339 FFEMC CORP                                   PO BOX 364229                                                                                              SAN JUAN          PR           00936‐4229
   168397 FFP NEW MEDIA PR LLC                         364 CALLE SAN JORGE         APTO 2 H                                                                       SAN JUAN          PR           00911
   168399 FG CONTRACTOR INC                            P O BOX 857                                                                                                SAN ANTONIO       PR           00690
   168400 FGE & ASSOCIATES PSC                         PMB 772                     1353 AVE LUIS VIGOREAUX                                                        GUAYNABO          PR           00966
   168402 FGR MEDIA LLC                                URB SABANERA DEL RIO                                  497                                                  GURABO            PR           00778
          FHC CSCO ESC MEDICINA DE                     FHC‐CENTRO SALUD
   168404 PONCE AGUADILLA                              CONDUCTUAL (AGUADILLA)     PO BOX 7004                                                                     PONCE             PR           00732
          FHC CSCO ESC MEDICINA DE                     FHC‐CENTRO SALUD           132 JOSE I QUINTON (ALTOS) STE
   168405 PONCE COAMO                                  CONDUCTUAL(CESCO)          1                                                                               COAMO             PR           00769
   168406 FHC HEALTH SYSTEM                            URB CARIBE                 1549 CALLE ALDA                                                                 SAN JUAN          PR           00926‐2709
   168407 FHCHS OF PUERTO RICO                         17 CALLE 2                 SUITE 520                                                                       GUAYNABO          PR           00968‐1750
   168409 FHP WEST VALLEY CENTER                       ATTN MEDICAL RECORDS       3730 W 4700 S                                                                   W VALLEY          UT           84118
                                                                                  EDIFICIO 10A LOCAL 3 Y 4
   168410 FHS FIRST HEALTH SYSTEM                      CENTRO COMERCIAL HUMACAO AVENIDA                          FONT MARTELO                                     HUMACAO           PR           00791
   654340 FHT INC                                      PO BOX 7814                                                                                                PONCE             PR           00732‐7814
   168411 FI 413 CORP                                  PO BOX 9026                                                                                                CAGUAS            PR           00726
   654341 FIBRA IMAGING SYSTEM CORP                    PMB 317                    667 AVE PONCE DE LEON                                                           SAN JUAN          PR           00907
   654342 FICHELLE INVESTMENT CORP                     243 CALLE PARIS SUITE 1855                                                                                 SAN JUAN          PR           00917‐3632
   654343 FICO COLLADO FERRER                          HC 1 BOX 5475                                                                                              CIALES            PR           00638
                                                                                  555 CALLE MONSERRATE APT
   168416 FICUS PRODUCTIONS CORP                       COND COSMOPOLITAN          203                                                                             SAN JUAN          PR           00907
          FID DE CONSERVACION E
   168417 HISTORIA VIEQUEZ                             138 CALLE FLAMBOYAN                                                                                        VIEQUES           PR           00765
   168425 FIDALGO DIAZ 411 SE                          URB EL ALAMO                A 8 CALLE LAREDO                                                               GUAYNABO          PR           00969
          FIDDLER GONZALEZ &
   168428 RODRIGUEZ                                    PO BOX 363507                                                                                              SAN JUAN          PR           00936‐3507



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          FIDDLER GONZALEZ Y
   168429 RODRIGUEZ PSC                               ORIENTAL CENTER 254   AVE MUNOZ RIVERA P1                                                        SAN JUAN            PR           00918
   654344 FIDE JANINE FONALLEDAS                      PO BOX 71450                                                                                     SAN JUAN            PR           00936‐8550
   654345 FIDE JOAQUIN A VILLAMIL                     PO BOX 366006                                                                                    SAN JUAN            PR           00936‐6006
          FIDE JOSE R ALVAREZ & GLORIA
   654346 FIGUERAS                                    PO BOX 3348                                                                                      SAN JUAN            PR           00936

   654347 FIDE LUIS ALBERTO ROMAN                     EXT ROOSEVELT         391 CALLE SARGENTO MEDINA                                                  SAN JUAN            PR           00918‐3823

   654348 FIDE M E SABATER & SABATER  P O BOX 9023332                                                                                                  SAN JUAN            PR           00902‐3332
          FIDE MARGARITA FONALLEDAS
   654349 RUBERT                      P O BOX 71450                                                                                                    SAN JUAN            PR           00936‐1450
          FIDE MARIA SOLEDAD FREIRIA
   654350 GONZALEZ                    PO BOX 4412                                                                                                      SAN JUAN            PR           00902
   654351 FIDE PATRICIA VILLAMIL      PO BOX 366006                                                                                                    SAN JUAN            PR           00936‐6006
          FIDEICOMISO A AURORA M
   654352 GARCIA                      VILLA CAPARRA                         CARR 2 KM 6 M243                                                           GUAYNABO            PR           00966
          FIDEICOMISO CARLOS A UNANUE
   654353 LOPEZ                       P O BOX 601467                                                                                                   BAYAMON             PR           00960
          FIDEICOMISO
          CONSERVACION/HISTORIA
   168487 VIEQUE                      CALLE FLAMBOYAN #138                                                                                             VIEQUES             PR           00761‐0138
          FIDEICOMISO DE BALLETS DE
   168493 SAN JUAN                    P O BOX 79769                                                                                                    CAROLINA            PR           00984
          FIDEICOMISO DE CIENCIA
   168495 TECNOLOGIA E INVE           CIA DE FOMENTO                        355 AVE ROOSEVELT PISO 4                                                   SAN JUAN            PR           00918
          FIDEICOMISO DE CONSERVACION
   168498 DE P R                      PO BOX 9023554                                                                                                   SAN JUAN            PR           00902‐3554
          FIDEICOMISO DE INMUEBLES
   654354 SILVA TULLA                 URB EXT ROOSEVELT                     452 CALLE RAFAEL LAMAR                                                     SAN JUAN            PR           00918‐2631
   168499 FIDEICOMISO DE JESUS PENA   PO BOX 6902                                                                                                      CAGUAS              PR           00726‐6902
          FIDEICOMISO ESCUELA DE
   168504 DERECHO                     PO BOX 23349                                                                                                     SAN JUAN            PR           00931
          FIDEICOMISO ESCUELA DE
   654355 DERECHO /U P R              PO BOX 23349                                                                                                     SAN JUAN            PR           00931‐3349
          Fideicomiso Hernandez
   168525 Castrodad                   HC‐06 Box 72502                                                                                                  Caguas              PR           00725
          FIDEICOMISO LA ESCUELA DE
   168543 DERECHO UPR                 PO BOX 23349                                                                                                     SAN JUAN            PR           00931
   168544 FIDEICOMISO LA FAMILIA      3 SECTOR SANTA TERESITA                                                                                          NARANJITO           PR           00719‐8739
          FIDEICOMISO LEBRON
   168548 RODRIGUEZ                   COND PARQUE DE LOYOLA                 500 AVE PINERO SUITE 1205                                                  SAN JUAN            PR           00918
          FIDEICOMISO MANGUAL
   168554 CARDONA                     PO BOX 1673                                                                                                      CANOVANAS           PR           00729
          FIDEICOMISO MARIA E FLORES
   168556 RAMIREZ                     URB GARDEN VILLE                      D 8 CALLE BRAZIL                                                           GUAYNABO            PR           00966
   654357 FIDEICOMISO OLIMPICO        PO BOX 2004                                                                                                      SALINAS             PR           00751

   168568 FIDEICOMISO OLIMPICO DE PR  P O BOX 2004                                                                                                     SALINAS             PR           00751
          FIDEICOMISO OLIMPICO DE
   168569 PUERTO RICO                 APARTADO 2004                                                                                                    SALINAS             PR           00751‐0000
          FIDEICOMISO PARA ESCUELA DE
   168575 DERECHO                     PO BOX 23349                                                                                                     SAN JUAN            PR           00931‐3349



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          FIDEICOMISO PARA LA ESC
   654358 DEREC                                       PO BOX 23349                                                                                                       SAN JUAN            PR           00931
          FIDEICOMISO PARA LA ESCUELA
   168576 DE DERECHO                                  PO BOX 23349                                                                                                       SAN JUAN            PR           00931‐3349
          FIDEICOMISO PERPETUO
   654359 COMUNIDADES ESPECIA                         PO BOX 42001                                                                                                       SAN JUAN            PR           00940‐2001
   654360 FIDEICOMISO SHAH                            251 CALLE CHILE 2DO PISO                                                                                           SAN JUAN            PR           00917
          FIDEICOMISO YOLANDA
   654361 VILLAMIL PASSALACQUA                        PO BOX 360120                                                                                                      SAN JUAN            PR           00936‐0120
   168600 FIDEL A COLLAZO SANTIAGO                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   654362 FIDEL A GARCIA LOZADA                       SANTA JUANITA              AE19 CALLE 33 ESTE                                                                      BAYAMON             PR           00956
   168601 FIDEL A IRIZARRY IRIZARRY                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   168602 FIDEL A SANTANA MARRERO                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   168603 FIDEL AUTO                                  H C 3 BOX 33526                                                                                                    AGUADA              PR           00602
   654364 FIDEL AUTO GLASS                            HC 59 BOX 6701                                                                                                     AGUADA              PR           00602
   654367 FIDEL COLON VELEZ                           URB REXVILLE AA            39 CALLE 49                                                                             BAYAMON             PR           00957
   168606 FIDEL CRUZADO VEGA                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   654368 FIDEL DE FRIAS JIMENES                      PO BOX 5183                                                                                                        AGUADILLA           PR           00603
   168610 FIDEL DE GRACIA COLON                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   654369 FIDEL E DIAZ NAZARIO                        PO BOX 464                                                                                                         YABUCOA             PR           00767
   168611 FIDEL E RIVERA ALVARADO                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   168612 FIDEL ESTRADA COLLAZO                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   654370 FIDEL F TREJO ERAZO                         P O BOX 467                                                                                                        TRUJILLO ALTO       PR           00978‐0467
   168613 FIDEL FIGUEROA RIVERA                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   168614 FIDEL GONZALEZ ALMENAS                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   654371 FIDEL HERNANDEZ MARTINEZ                    URB LOS ARBOLES            202 CALLE VERDE DEL PARQUE                                                              CAROLINA            PR           00987
   654372 FIDEL LATIMER ANDINO                        HP ‐ Forense RIO PIEDRAS                                                                                           Hato Rey            PR           009360000
   654373 FIDEL LEBRON CUEVAS                         URB VILLA CLEMENTE         J 20 CALLE BILBAO                                                                       GUAYNABO            PR           00969
   654374 FIDEL LOZADA GUTIERREZ                      PO BOX 287                                                                                                         TOA ALTA            PR           00954‐0287
   168617 FIDEL LOZANO GALLARDO                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   168618 FIDEL MUNIZ HERNANDEZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FIDEL N SANTANA ORTIZ/C R
   654375 AMBULANCE SERV                              PO BOX 266                                                                                                         CABO ROJO           PR           00623
   654376 FIDEL ORTEGA FIGUEROA                       RR 5 BOX 9262                                                                                                      TOA ALTA            PR           00953
   168619 FIDEL ORTIZ LABOY                           REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   168620 FIDEL PADILLA SANTOS                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FIDEL RODRIGUEZ /
   654377 ESTAMPADOS GERONIMO                         URB BAIROA                 AP 5 CALLE 30                                                                           CAGUAS              PR           00725

   168621 FIDEL RODRIGUEZ ARGUINZONI                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   168622 FIDEL RODRIGUEZ DE JESUS                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   654378 FIDEL RODRIQUEZ ALICEA                      URB DORAVILLE              13C BLOQUE 3 CALLE 5                                                                    DORADO              PR           00646
          FIDEL ROMAN /DBA/ ROMAN
   654379 MACHINE SHOP                                PO BOX 117                                                                                                         JUANA DIAZ          PR           00795
   654380 FIDEL ROMAN GONZALEZ                        HC 2 BOX 8860                                                                                                      QUEBRADILLA         PR           00678
   654381 FIDEL ROMERO ORTIZ                          PLAYA STATION              123 CALLE A                                                                             SALINAS             PR           00751
   168623 FIDEL SANTIAGO TORRES                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   654385 FIDEL TORRES RIOS                           BO LA MESA                 HC 05 BOX 59778                                                                         CAGUAS              PR           00725

   654387 FIDEL TORRES RIVERA / LE MUST HC 02 BOX 7916                                                                                                                   JAYUYA              PR           00664
   168625 FIDEL VAZQUEZ ROSADO          REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   168626 FIDEL VELEZ RODRIGUEZ         REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  654388 FIDELA ARCE MELECIO            PO BOX 913                                                                                                                     VEGA BAJA         PR         00694
  654389 FIDELA COLON LOPEZ             40 CALLE ESTRELLA                                                                                                              PONCE             PR         00730
  654390 FIDELA GUEVAREZ ORTIZ          HC 1 BOX 1816                                                                                                                  MOROVIS           PR         00687
  168627 FIDELA PINET DE PIZARRO        REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  654391 FIDELA ROBLES                  VILLA DEL CARMEN                          2648 CALLE TETUAN                                                                    PONCE             PR         00716‐2225
  168628 FIDELA SOTO NIEVES             REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  168629 FIDELINA DEL VALLE TIRADO      REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  654394 FIDELINA LEBRON CARRERO        URB CAMINO DEL MAR                        3006 VIA CARACOLES                                                                   TOA BAJA          PR         00949
  168630 FIDELINA LOZANO ARBOLEDA       REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  654395 FIDELINA ORTIZ NAZARIO         PO BOX 2000                               PMB 231                                                                              CANOVANAS         PR         00729
  168631 FIDELINA RODRIGUEZ ORTIZ       REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         FIDELINA VELAZQUEZ
  168633 VELAZQUEZ                      REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         FIDELITY ADVISOR
  654399 INTERMEDIATE BOND FUND         82 DEVONSHIRE STREET F 8 G                                                                                                     BOSTON            MA         02109
         FIDELITY ADVISOR MINICIPAL INC
  654400 FUND CLAS                      82 DEVONSHIRE STREET F 8 G                                                                                                     BOSTON            MA         02109
         FIDELITY ADVISOR STRATEGIC
  654401 INCOME FUND                    82 DEVONSHIRE STREET F8G                                                                                                       BOSTON            MA         02109
         FIDELITY AND DEPOSIT                                                     GERMAN RIECKEHOFF CALLE
 1422878 COMPANY OF MARYLAND            GERMAN A. RIECKEHOFF                      URUGUAY                   273 CENTRUM PLAZA 5A                                       SAN JUAN          PR         00917
         FIDELITY DEPOSIT COMPANY
  654402 MARYLAND                       300 ST PAUL PLACE                                                                                                              BALTIMORE         MD         21202
         FIDELITY NATIONAL INSURANCE
  168654 COMPANY                        601 RIVERSIDE                             AVE BLDG 5 SUITE 200                                                                 JACKSONVILLE      FL         32204
         FIDELITY PROPERTY INCOME
  168662 TRUST                          EXCHANGE PLACE                                                                                                                 BOSTON            MA         02109‐2881
  168664 FIDENCIA GONZALEZ              REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  654403 FIDENCIA OTERO RUIZ            URB VENUS GARDENS 1756                    CALLE PAFOS                                                                          SAN JUAN          PR         00924
  168665 FIDENCIO MENDEZ CORDERO        REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   654404 FIDENCIO MENDEZ GONZALEZ                     HC 01 BOX 3780                                                                                                  QUEBRADILLAS      PR         00678
   654405 FIDENCIO QUILES FERRER                       URB MAGNOLIA GARDENS       R13 CALLE 18                                                                         BAYAMON           PR         00956

   654406 FIDENCIO RODRIGUEZ TORRES                    RES DR PALOU EDIF 08       APT 63                                                                               HUMACAO           PR         00791
   168667 FIDES LAW GROUP LLC                          PO BOX 153                                                                                                      CABO ROJO         PR         00623
   168668 FIDIA A ARIAS PIMENTEL                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   168669 FIDIAS H. MORENO ALVALLE                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   654407 FIDIAS M. GARABITO GUERRERO CUIDAD UNIVERSITARIA                        K 12 CALLE 5                                                                         TRUJILLO ALTO     PR         00976
   654408 FIDIAS RUIZ DELGADOQ        URB LAS CUMBRES                             296 CALLE LOS ROBLES                                                                 SAN JUAN          PR         00926
   654409 FIDILA A ACEVEDO            PO BOX 50063                                                                                                                     SAN JUAN          PR         00902

   168673 FIEDLER & FRIAS ARQUITECTOS                  CALLE CESAR GONZALEZ 356                                                                                        SAN JUAN          PR         00918‐2114
   168677 FIELD & PERMITS PSC                          URB LOS ANGELES            46 CALLE TAURO                                                                       CAROLINA          PR         00979
   654410 FIESTA CAKE                                  55 CALLE DIEGO ZALDUONDO                                                                                        FAJARDO           PR         00738
   654411 FIESTA CATERING                              PO BOX 250                                                                                                      GUANICA           PR         00653
          FIESTA DEL PESCAO PUERTO
   654412 REAL CABO ROJO                               PUERTO REAL                38 CALLE 5                                                                           CABO ROJO         PR         00623
   654413 FIESTA RENTAL                                PO BOX 270383                                                                                                   SAN JUAN          PR         00927‐0383
          FIESTECITA DBA SUZBEIDAD
   168683 RIVERA MURPHY                                VILLA BLANCA               22 AVE MUNOZ MARIN                                                                   CAGUAS            PR         00725




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          FIETO AUTO / RUIZ ASENCIO
   654416 PERFECTO                                    HC 01 BOX 9586                                                                                                       TOA ALTA            PR           00949
   654417 FIETO MOTORS IMPORT                         JARDINES DE LA FUENTE #245   CALLE CERVANTE                                                                          TOA ALTA            PR           00953
   654418 FIFA CONSULTING GROUP                       PLAZA ALTA SUITE 59          274 AVE SANTA ANA                                                                       GUAYNABO            PR           00969‐3304
                                                      MCS 549 WINSTON CHURCHILL
   168684 FIFA CORP                                   138                                                                                                                  SAN JUAN            PR           00926

   168685 FIFTH MATE PRODUCTION INC                   500 S BUENA VISTA STREET                                                                                             BURBANK             CA           91521
   654420 FIFTH PUERTO RICAN FILM                     P O BOX 1010                                                                                                         CHICAGO             IL           60610
                                                      MD 1090F8‐38 FOUNTAIN
   654421 FIFTH THIRD BANK                            SQUARE PLAZA                                                                                                         CINCINNATI          OH           45263
   654422 FIFTIES COMMUNICATIONS                      187 ONEILL ST                                                                                                        SAN JUAN            PR           00918
   654423 FIGHT FAX INC                               PO BOX 896                                                                                                           SICKLERVILLE        NY           08081
   654424 FIGMAR CLEANERS                             VILLA DE SAN FRANCISCO       89 DE DIEGO SUITE 107                                                                   SAN JUAN            PR           00927
                                                                                   URB. ROOSEVELT 315 JUAN B.
  1419720 FIGUERAO MARTÍNEZ, NILSA                    CARLOS L. CLAUSELL REYES     RODRÍGUEZ                                                                               SAN JUAN            PR           00918
   654425 FIGUERAS & DEL VALLE PSC                    AVE HOSTOS # 511             204 SUITE                                                                               SAN JUAN            PR           00917
   654426 FIGUERAS & PADILLA INC.                     1529 AVE JESUS T PINERO                                                                                              SAN JUAN            PR           00920
   168700 FIGUERAS ALVAREZ & ASSOC.                   AVE HOSTOS # 511             204 SUITE                                                                               SAN JUAN            PR           00917
          FIGUERE ENTERPRISE
   168710 CORPORATION                                 URB MUNOZ MARIN              4 CALLE 2                                                                               SAN LORENZO         PR           00754
   168715 FIGUEREO MD, SANTIAGO                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   654427 FIGUEROA & FIGUEROA                         CUPEY GARDENS PLAZA          AVE CUPEY GARDENS SUITE 9E                                                              SAN JUAN            PR           00926
          FIGUEROA ALMODOVAR,
   168815 HERIBERTO                                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   168860 FIGUEROA ALVAREZ, NOELIA                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   168918 FIGUEROA ARJENIS, J                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   168979 FIGUEROA BAEZ, EDUARDO                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1419721 FIGUEROA BERRIOS, ANGEL F.                  CATALINA ROSARIO SUARÉZ      PO BOX 1368                                                                             OROCOVIS            PR           00720

   169075 FIGUEROA BOLIO MD, SIEGFRIED REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   169127 FIGUEROA BURGOS, LINNELYS    REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   169130 FIGUEROA BURGOS, OLGA        REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                       HP‐PSIQUIATRICO FORENSE
   654428 FIGUEROA BURGOS,EDWIN        PONCE                                                                                                                               Hato Rey            PR           009360000
          FIGUEROA CARRASQUILLO MD,
   169228 WANDA M                      REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   169238 FIGUEROA CARRER MD, JUAN     REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   169239 FIGUEROA CARRER PHD, JUAN                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   169240 FIGUEROA CARRER PSYD, JUAN G REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   169311 FIGUEROA CHIMELIS, ROSA M.                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   CANCIO NADAL RIVERA & DIAZ
  1422585 FIGUEROA COLON, RICARDO                     ANGEL J. VALENCIA‐GATELL     P.S.C.                       403 MUNOZ RIVERA AVE.                                      SAN JUAN            PR           00918‐3345
          FIGUEROA CORDERO MD,
   169454 OSVALDO                                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   PMB 133 1353 AVE. LUIS
  1419722 FIGUEROA CORREA, MARÍA E.                   YARLENE JIMÉNEZ ROSARIO      VIGOREAUX                                                                               GUAYNABO            PR           00966‐2700

   169532 FIGUEROA CRUZ MD, WANDA L                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  169533 FIGUEROA CRUZ MD, WILDA    REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  169542 FIGUEROA CRUZ, ANTONIO     REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  169622 FIGUEROA CRUZ, SOLMARI     REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         FIGUEROA DELGADO MD, EDWIN
  169727 O                          REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  169749 FIGUEROA DIAZ MD, IVAN     REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  169759 FIGUEROA DIAZ, AWILDA      REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                   URB. BONNEVILLE GARDENS
  1419723 FIGUEROA DÍAZ, GILBERTO Z.                  FIGUEROA DÍAZ, GILBERTO Z.   CALLE 6 K‐7                                                                          CAGUAS              PR         00725
   169821 FIGUEROA DIEZ MD, MARIO                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   169856 FIGUEROA ESTELA, KARLA M                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FIGUEROA FERNANDEZ, RAMON
   169912 A.                                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   169954 FIGUEROA FIGUEROA, DAISY M.                 REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FIGUEROA FIGUEROA, SHIRLEY
  1419724 ANN Y OTROS                                 RAFAEL RIVERA SANCHEZ        PO BOX 191884                                                                        SAN JUAN            PR         00919‐1884
   170016 FIGUEROA FIGUEROA, YAMILA                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   170052 FIGUEROA FUENTES STHENCEF                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FIGUEROA FULLADOZA,
   170058 FRANCHESKA                                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   170110 FIGUEROA GARCIA, JUDITH                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1419725 FIGUEROA GARRIGA, JORGE                     IVONNE M. OLMO RÍOS          PMB 178 PO BOX 6400                                                                  CAYEY               PR         00737

  1419726 FIGUEROA GIBSON, LOREE                      FEDERICO TORRES MONTALVO     CALLE CADIZ 1214                                                                     PUERTO NUEVO        PR         00920
   170170 FIGUEROA GOMEZ, LYDIA                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   170180 FIGUEROA GONZALEZ MD, ARIEL REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   170248 FIGUEROA GONZALEZ, MAYRA L REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

  1419727 FIGUEROA GONZÁLEZ, MELISSA                  GAILY BULTRÓN                PMB 291 #1353 RD. 19                                                                 GUAYNABO            PR         00966‐2700

   170302 FIGUEROA GUZMAN MD, LUZ D                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FIGUEROA HERNANDEZ MD,
   170332 DAVID                                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FIGUEROA HIDRAULIE Y/O
   654429 RAFAEL FIGUEROA                             PO BOX 2133                                                                                                       GUAYNABO            PR         00970
   170473 FIGUEROA JIMENEZ, YOLIMAR                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   170474 FIGUEROA JR MD, LEORNARDO                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   170486 FIGUEROA LABORDE MARY, LUZ REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   170494 FIGUEROA LAMBOY, LILLIAM   REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   170536 FIGUEROA LOPEZ MD, WALTER                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1419728 FIGUEROA LUGO, YADIRA                       WILMARIE DIAZ NARVAES        PO BOX 13270                                                                         SAN JUAN            PR         00929‐2270

  1419729 FIGUEROA MALDONADO, EDWIN ROGER A. LEYBA RODRIGUEZ                       PO BOX 873                                                                           HORMIQUEROS         PR         00660‐0873
          FIGUEROA MARRERO,
   170757 MARIVETTE                 REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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          FIGUEROA MARTÍNEZ, JULIO
  1419730 ARTURO                                      WILLIAM VEGUILLA DE JESUS   PO BOX 1395                                                                                  SALINAS               PR           00751
   170861 FIGUEROA MD, NOEL                           REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          FIGUEROA MELENDEZ MD,
   170898 VICTOR                                      REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   170907 FIGUEROA MELENDEZ, IRIS                     REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
                                                                                  CENTRO INTERNACIONAL DE
  1422782 FIGUEROA MELENDEZ, OSVALDO KIMBERLY SANDERS ARROYO                      MERCADEO                          100 CARR. 165 SUITE 509                                    GUAYNABO              PR           00968‐8052
   170942 FIGUEROA MENDEZ, JOSE E    REDACTED                                     REDACTED                          REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   170997 FIGUEROA MOLINA, CARMEN M. REDACTED                                     REDACTED                          REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          FIGUEROA MONTANEZ                                                       438 CALLE 39 PARC HILL
   654430 FRANCISCA                  HILLS BROTHERS                               BROTHERS                                                                                     RIO PIEDRAS           PR           00924

   171109 FIGUEROA MORALES, RAFAEL N                  REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   171133 FIGUEROA MUÑIZ MD, EDGARDO REDACTED                                     REDACTED                          REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   171171 FIGUEROA NAZARIO, OMAR     REDACTED                                     REDACTED                          REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   171202 FIGUEROA NEVARES, FERNANDO REDACTED                                      REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          FIGUEROA NOGUES MD, FANNY
   171245 G                          REDACTED                                      REDACTED                      REDACTED                               REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
                                                                                   224 AVE. DOMENECH‐SUITE
  1419731 FIGUEROA OCASIO, ARIEL                      ANTONIO RODRÍGUEZ FRATICELLI NÚMERO 1                                                                                    SAN JUAN              PR           00918
                                                                                   PO BOX 8051 REPARTO
  1419732 FIGUEROA ORTIZ, ALEXIS G.                   PABLO LUGO LEBRON            MENDOZA A‐1                                                                                 HUMACAO               PR           00792
   171338 FIGUEROA ORTIZ, DENISE                      REDACTED                     REDACTED                      REDACTED                               REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
  1419733 FIGUEROA ORTIZ, JOSUE                       FERMIN ARRAIZA               PO BOX 9023951 ‐                                                                            SAN JUAN              PR           00902
   171365 FIGUEROA ORTIZ, LYDIA                       REDACTED                     REDACTED                      REDACTED                               REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
                                                                                   310 CALLE SAN FRANCISCO SUITE
  1419734 FIGUEROA ORTIZ, MYRNA I.                    HECTOR FIGUEROA VINCENTY     32                                                                                          SAN JUAN              PR           00901
                                                                                   310 CALLE SAN FRANCISCO SUITE
  1419735 FIGUEROA ORTIZ, NYRMA                       HECTOR FIGUEROA VINCENTY     32                                                                                          SAN JUAN              PR           00901
                                                                                   310 CALLE SAN FRANCISCO SUITE
  1419736 FIGUEROA ORTIZ, NYRNA M.                    HECTOR FIGUEROA VINCENTY     32                                                                                          SAN JUAN              PR           00901
   171421 FIGUEROA OTERO MD, IVAN                     REDACTED                     REDACTED                      REDACTED                               REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   171426 FIGUEROA OTERO, IVELISSE                    REDACTED                     REDACTED                      REDACTED                               REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   171428 FIGUEROA OTERO, MANUEL                      REDACTED                     REDACTED                      REDACTED                               REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
  1419737 FIGUEROA PAGÁN, ISNERY M.                   FIGUEROA PAGÁN, ISNERY M.    PO BOX 16216 MONTEBELLO                                                                     RIO GRANDE            PR           00745

   171520 FIGUEROA PEREZ MD, FELIX M                  REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
                                                      GUSTAVO R. CARTAGENA
  1419738 FIGUEROA PEREZ, RICARDO                     CARAMÉS                     PO BOX 364966                                                                                SAN JUAN              PR           00936‐4966
   171708 FIGUEROA RAMOS, DAMARIS                     REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

  1419739 FIGUEROA RAMOS, HENRY       PRO SE                                      50 CARR. 5 UNIT A 501 EDIF. 3‐J                                                              IND. LUCHETTI BAY     PR           00961‐7403
          FIGUEROA RAMOS, KENELMA
  1419740 685‐944                     ISRAEL ROLDAN                               CALLE BETÁNCES #49                                                                           AGUADILLA             PR           00603
   171812 FIGUEROA RIOS MD, ERIC N    REDACTED                                    REDACTED                          REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          FIGUEROA RIVERA MD, ANTONIO
   171849 L                           REDACTED                                    REDACTED                          REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          FIGUEROA RIVERA MD,
   171850 ARMSTRONG                   REDACTED                                    REDACTED                          REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED



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   171851 FIGUEROA RIVERA MD, RAMON L REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   172026 FIGUEROA RIVERA, NEREIDA    REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   172101 FIGUEROA RODRGUEZ, JESSICA                  REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   654432 FIGUEROA RODRIGUEZ HECTOR                   EMBALSE, SAN JOSE           237 CALLE CANILLAS                                                                        SAN JUAN            PR           00923

  1419741 FIGUEROA RODRÍGUEZ, GEISHA                  SAÚL ROMÁN SANTIAGO         PO BOX 191739                                                                             SAN JUAN            PR           00919‐1736
                                                      KARLA BEATRIZ ÁLVAREZ
  1419742 FIGUEROA RODRÍGUEZ, JOEL                    NEGRÓN                      PO BOX 2307                                                                               GUAYAMA             PR           00785
          FIGUEROA ROMÁN, WILFREDO
  1419743 M.                                          JAIME PICÓ MUÑOZ            PO BOX 70199                                                                              SAN JUAN            PR           00936‐8190

   172437 FIGUEROA ROURE MD, MYRNA S REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FIGUEROA ROVIRA MD,
   172439 FRANCISCO J                REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1419744 FIGUEROA RUIZ, NATALIO     GRACE FIGUEROA IRIZARRY                      PO BOX 193813                                                                             SAN JUAN            PR           00919‐3813

          FIGUEROA SANTIAGO, OSVALDO
  1419745 / FIGUEROA BONILLA, JOSEAN                  ANSELMA CABRERA MARTE       PO BOX 515                                                                                AGUADA              PR           00602
          FIGUEROA SEPULVEDA MD,
   172682 MAGALY                                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   172722 FIGUEROA SIERRA, YADIRA                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FIGUEROA SOLIS, JACKELINE Y
          UNIVERSAL INSURANCE                                                     650 PLAZA BUILDING SUITE 502
  1419746 COMPANY                                     LUIS CARRION TAVAREZ        650 AVE. MUÑOZ RIVERA                                                                     SAN JUAN            PR           00918
          FIGUEROA SOLIS, JACKELINE Y
          UNIVERSAL INSURANCE                                                     650 PLAZA BUILDING SUITE 502
  1419747 COMPANY                                     LUIS CARRION TAVAREZ        650 AVE. MUÑOZ RIVERA                                                                     SAN JUAN            PR           00918
          FIGUEROA TORRES MD,
   172788 YOLANDA                                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   172898 FIGUEROA TORRES, NATIVIDAD                  REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   172899 FIGUEROA TORRES, NILDA                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   654433 FIGUEROA TRASMISSION                        RR 1 BOX 10843 BOX SABANA                                                                                             OROCOVIS            PR           00720
   172934 FIGUEROA TRAVEL                             PLAZA PENUELA               165 CARR 385 SUITE B 60                                                                   PENUELA             PR           00624‐7502

   654434 FIGUEROA TRAVEL & TOURS INC CARR 887 KM 1 2                                                                                                                       CAROLINA            PR           00987

   172973 FIGUEROA VARGAS MD, SANDRA REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   173062 FIGUEROA VEGA, JAVIER A.   REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   173092 FIGUEROA VELAZQUEZ, EMERITA REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   173213 Figueroa, Daryes Rodriguez  REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   173257 Figueroa‐Calderón, Miguel   REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   654435 FIKA NU LAIF INC            PO BOX 2480                                                                                                                           BAYAMON             PR           00960‐2480
   654436 FILARMONICA DE P R          SANTURCE STA                                PO BOX 9113                                                                               SAN JUAN            PR           00908
   654437 FILDALICIA FARIA CASTOR     URB MANSIONES AZTECAS                       6 CALLE MONTEREY                                                                          ARECIBO             PR           00612
   831362 FileMaker                   5201 Patrick Henry Drive                                                                                                              Santa Clara         CA           95054
   654438 FILEMON RIVERA ORTIZ        P O BOX 245                                                                                                                           NARANJITO           PR           00719
   173279 FILEONE LLC                 5520 DILLARD DRIVE STE 280                                                                                                            CARY                NC           27518‐9237
   654439 FILGENIO GUEVAREZ PEREZ     PO BOX 1194                                                                                                                           MOROVIS             PR           00687



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  654440 FILIBERTO ARNIELLA                            PO BOX 2482                                                                                                   GUAYNABO          PR           00970
  654441 FILIBERTO AVILES PADILLA                      PO BOX 833                                                                                                    TOA ALTA          PR           00954
  654442 FILIBERTO BONILLA RIVERA                      URB BERWIND ESTATE      K 8 CALLE 9                                                                           SAN JUAN          PR           00924

   173280 FILIBERTO CARTAGENA COLON                    REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   173225 FILIBERTO COLON MARTINEZ                     REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   654443 FILIBERTO DESA CINTRON                       P O BOX 991 SUITE 576                                                                                         AGUADA            PR           00602
   173281 FILIBERTO DESA PENA                          REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   173282 FILIBERTO GONZALEZ PEREZ                     REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   173283 FILIBERTO GUZMAN ALVARADO                    REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   654444 FILIBERTO HERNANDEZ ORTIZ                    HC 2 BOX 5938                                                                                                 RINCON            PR           00677

   173284 FILIBERTO HERNANDEZ TORRES                   REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   173285 FILIBERTO LAGARES DIAZ                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   654445 FILIBERTO LEBRON SALDANA                     PO BOX 594                                                                                                    CAGUAS            PR           00726
   654446 FILIBERTO MELENDEZ RIVERA                    URB LAS MARGARITAS      1564 CALLE SYLVIA REXACH                                                              PONCE             PR           00731
   173286 FILIBERTO MUNIZ SOULETTE                     REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   654449 FILIBERTO NIEVES ROJAS                       HC 1 BOX 20100                                                                                                COMERIO           PR           00782

   654450 FILIBERTO OLIVO SOTOMAYOR                    7670 B 48               CALLE NORTE                                                                           SABANA SECA       PR           00952
          FILIBERTO PEREZ PEREZ / FINE
   654451 WOODWORKING                                  PO BOX 2692                                                                                                   MAYAGUEZ          PR           00681
   173287 FILIBERTO RIVERA CENTENO                     REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   654452 FILIBERTO RIVERA LLENZA                      PO BOX 919                                                                                                    BARCELONETA       PR           00617
   173288 FILIBERTO RIVERA REYES                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   654453 FILIBERTO RODRIGUEZ PAGAN                    HC 1 BOX 8574                                                                                                 CABO ROJO         PR           00623

   654456 FILIBERTO VELAZQUEZ TORRADO PO BOX 107                                                                                                                     JAYUYA            PR           00664
   654457 FILIBERTO VIERA SANCHEZ     RR 6 BOX 9290                                                                                                                  SAN JUAN          PR           00926
   173290 FILIBERTO ZAYAS MATEO       REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   173292 FILIGRANA CSP               P O BOX 41307                                                                                                                  SAN JUAN          PR           00940
   654458 FILIPENSES 4 13             P O BOX 9192                                                                                                                   CAROLINA          PR           00988‐9192
   654459 FILIPO TIRADO MEDINA        COND TORRELINDA                          APTO 1104                                                                             SAN JUAN          PR           00917
   173314 FILIPPI MD, MATTHEW         REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   173317 FILM PRODUCTION SERVICES INC 304 NEWBURY STREET 463                                                                                                        BOSTON            MA           02115
   654460 FILMO LOPEZ ANAYA            RR 6 BOX 9743                                                                                                                 SAN JUAN          PR           00926
   654461 FILM‐O‐TAPE                  URB LA CUMBRE                           490 CALLE ROOSEVELT                                                                   SAN JUAN          PR           00926
   173319 FILMOTECA NACIONAL INC       355 FD ROOSEVELT AVE                    SUITE 106                                                                             SAN JUAN          PR           00918
          FILMS FOR HUMANITIES &
   654462 SCIENCE                      PO BOX 2053                                                                                                                   PRINCETON         NJ           08543
          FILMS FOR THE HUMANITIES
   654463 AND SCIENCE                  PO BOX 2053                                                                                                                   PRINCETON         NJ           08543‐2053
   173320 FILMS MEDIA PRO HD INC       P35 CALLE 18                            URB EL CORTIJO                                                                        BAYAMON           PR           00956
   654464 FILMWORKS INC                181 FD ROOSEVELT AVE                                                                                                          SAN JUAN          PR           00918
   654465 FILOMENA ALVAREZ VELEZ       APARTADO 279                                                                                                                  ARECIBO           PR           00613
   173321 FILOMENA DE JESUS MENDEZ     REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   173322 FILOMENA DE LA CRUZ POLANCO REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   654466 FILOMENA GARCIA             URB LAS LOMAS 1697                       CALLE 30 SO                                                                           SAN JUAN          PR           00921
   173323 FILOMENA LASALLE BOSQUES    REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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          FILOMENA MONTALVO / ANDRES
   173324 MONTALVO                   URB FLORAL PARK                                62 CALLE JUAN P DUARTE                                                                  SAN JUAN             PR           00917‐3504
   654467 FILOMENA OTERO FELICIANO   HC 73 BOX 5358                                                                                                                         NARANJITO            PR           00719
   654468 FILOMENA PACHECO LABOY     ALTURAS DE YAUCO                               C 3 CALLE 2                                                                             YAUCO                PR           00698
   654469 FILOMENA RAMIREZ DIAZ      COND ALAMEDA TOWERS I                          1782 CARR 21 APT 1404                                                                   SAN JUAN             PR           00921
   654470 FILOMENA RIOS TORRES       HC 1 BOX 4722                                                                                                                          ADJUNTAS             PR           00601‐9718
   173325 FILOMENA RIVERA MARTINEZ   REDACTED                                       REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   654471 FILOMENA SHARON SEGUINOT                    BO INGENIO                    PARC 13 A CALLE ALELI                                                                   TOA BAJA             PR           00949
   173326 FILOMENA SUED JIMENEZ                       REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   771055 FILOMENA TORRES ZAYAS                       REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   173331 FILOMENO CASTRO, NAYDA                      REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   173335 FILOMENO MONTALVO PEREZ                     REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   173341 FILOMENO RIVERA PEREZ                       REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   654475 FILOMENO ROMAN CORTES                       P O BOX 346                                                                                                           AGUADA               PR           00602
   173355 FILS LAMOUR MD, FEROL                       REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   654476 FILT & COMPRESORES                          PMB SUITE 390                 90 AVE RIO HONDO                                                                        BAYAMON              PR           00961 3113
   173356 FILTERTEK DE PUERTO RICO                    REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   654477 FILTRACIONES INST SPECIALIST                PO BOX 8526 FDEZ JUNCOS STA                                                                                           SAN JUAN             PR           00910‐8526
          FIMEC MEDICAL SERVICES PSC /
   654478 OCCU MEDICS                                 PO BOX 29586                                                                                                          SAN JUAN             PR           00923
   173361 FINALVA PEREZ RESTO                         REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   654479 FINAMEL FUENTES TORRES                      HC 75 BOX 1303                                                                                                        NARANJITO            PR           00719
   173363 FINAN MD , WILLIAM F                        REDACTED                      REDACTED                      REDACTED                           REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                    GLS LEGAL SERVICES LLC PO BOX
  1419748 FINANCE OF AMERICA REVERSE                  JOEL A. FIGUEROA RIVERA       367308                                                                                  SAN JUAN             PR           00936
          FINANCIAL ACCOUNTING
   173367 FOUNDATION                                  PO BOX 30800                                                                                                          HARTFORD             CT           06150‐0800

   654480 FINANCIAL ACCOUNTING GROUP P O BOX 605                                                                                                                            COROZAL              PR           00783
          FINANCIAL ACCOUNTING
   173368 STANDARD BOARD               401 MERRITT 7                                PO BOX 5116                                                                             NORWALK              CT           06856‐5116
          FINANCIAL GAP ADMINISTRATOR
   173370 LLC                          1670 FENPARK DRIVE                                                                                                                   FENTON               MO           63026
          FINANCIAL GUARANTY
  1256244 INSURANCE COMPANY            ATTN LANCIA, MICHAEL                         1 MANHATTANVILLE ROAD       SUITE 301                                                   PURCHASE             NY           10577
          FINANCIAL GUARANTY
   173371 INSURANCE COMPANY            125 PARK AVENUE                                                                                                                      NEW YORK             NY           10017
          FINANCIAL INDUSTRY
   173377 REGULATORY AUTHORITY         FINANCE TAX                                  9509 KEY WEST AVE                                                                       ROCKVILLE            MD           20850
          FINANCIAL SECURITY ASSURANCE
   173378 INC                          31 WEST 52ND STREET                                                                                                                  NEW YORK             NY           10019
   173379 FINANCIAL TIMES              PO BOX 1627                                                                                                                          NEWBURGH             NY           12551‐9976
          FINANCIAL TIMES/WORLD
   654481 BUSINESS NEWSPAPER           PO BOX 1329                                                                                                                          NEWBURGH             NY           12551‐1329
   654482 FINANXIAL IT CORP            1563 PONCE DE LEON                                                                                                                   SAN JUAN             PR           00926
   173380 Finanxial, Corp.             PO BOX 23063                                                                                                                         SAN JUAN             PR           00931‐3063
   654483 FINCA ADELA INC              URB PUERTO NUEVO                             1003 AMBERES                                                                            SAN JUAN             PR           00920‐5354
          FINCA AGRICOLA LUIS I
   173381 MELENDEZ                     HC 02 BOX 6876                                                                                                                       BARRANQUITAS         PR           00794
                                       PO BOX 3169 HATO ARRIBA
   173382 FINCA ALMA ADENTRO INC       STATION                                                                                                                              SAN SEBASTIAN        PR           00685



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  173383 FINCA BERNAL INC                             PO BOX 3092                                                                                                  SAN SEBASTIAN     PR         00685
 1256500 FINCA BERNAL, INC                            REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  654484 FINCA CAJOBAS                                PO BOX 847                                                                                                   SABANA HOYOS      PR         00668
  654485 FINCA CONSTANCIA                             PO BOX 941                                                                                                   MOROVIS           PR         00687
  173384 FINCA ENCARNACION INC                        HC 5 BOX 23862                                                                                               LAJAS             PR         00667
  173385 FINCA ERMITA PICON INC                       PO BOX 79876                                                                                                 CAROLINA          PR         00984
  654486 FINCA LA EULALIA INC                         P O BOX 782                                                                                                  QUEBRADILLAS      PR         00662
  654487 FINCA LA LIMONADA INC                        PMB 1736                   CALLE PARIS 243                                                                   SAN JUAN          PR         00917
  173386 FINCA LA PERLA INC                           PO BOX 140039                                                                                                ARECIBO           PR         00614‐0039
  654488 FINCA MAGDALENA                              P O BOX 217                                                                                                  AGUIRRE           PR         00704
 1419749 FINCA MATILDE, INC.                          CESAR HERNÁNDEZ COLÓN      PO BOX 3312041                                                                    PONCE             PR         00733‐1041
 1419750 FINCA MATILDE, INC.                          ALONDRA FRAGA MELÉNDEZ     PO BOX 29074                                                                      SAN JUAN          PR         00929‐0074
  654489 FINCA NILAVI INC.                            PO BOX 4380                                                                                                  COAMO             PR         00769‐1380
  173390 FINCA PENONES INC                            112 CALLE MCKINLEY E                                                                                         MAYAGUEZ          PR         00680‐5059
  654490 FINCA RESTAURACION                           BOX 5177                                                                                                     AGUADILLA         PR         00603
  654491 FINCA SANTA ROSA                             P O BOX 41175                                                                                                SAN JUAN          PR         00940 1175
  173391 FINCA SOREC INC                              URB LUCHETTY               83 SIRRA BERDECIA                                                                 MANATI            PR         00674
  654492 FINCA VIVERO BAYAMON                         235 CALLE DUARTE                                                                                             SAN JUAN          PR         00917
  173392 FINCH MATEO MD, ANA D                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  654493 FINDA BAUZA GONZALEZ                         2206 PARK BOULEVARD                                                                                          SAN JUAN          PR         00913

   173394 FINE ART CINEMA CORPORATION P O BOX 19116                                                                                                                SAN JUAN          PR         00910‐9116
   654495 FINE DECORATION             CAPARRA TERRACE               1137 AVE A MIRANDA                                                                             SAN JUAN          PR         00921
   654496 FINE SWEETS                 PO BOX 341754                                                                                                                PLAYA PONCE       PR         00731‐0175
   654497 FINES FERRER CARLOS         331 CALLE COMERIO                                                                                                            BAYAMON           PR         00959
                                      497 EMILIANO POL STREET SUITE
   654498 FINMETRIX CONSULTING GROUP 435                                                                                                                           SAN JUAN          PR         00926‐5636
   654499 FIOL D ROBLES ROMAN         HC 03 16677                                                                                                                  QUEBRADILLAS      PR         00685
   173421 FIOL SILVA MD, ZORAIDA      REDACTED                      REDACTED                            REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          FIOLDALIZA MEDINA
   654500 MALDONADO                   65 AVE ESTEVES                                                                                                               UTUADO            PR         00641

   173425 FIOLDALIZA MUNIZ AMARANTE                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   654501 FIOR DALIZA PEGUERO MATEO                   LA MARINA                  F3 CALLE GARDENIA                                                                 CAROLINA          PR         00979
          FIOR DE ACHECAR DE SOTO
   654502 MAYOR                                       URB LA ALAMEDA             823 CALLE DIAMANTE                                                                SAN JUAN          PR         00926
   173426 FIOR DELIZ COLON SENQUIZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   173427 FIOR SANTANA ORTIZ                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   173428 FIOR SANTIAGO TORRES                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   173430 FIORDALIZA CARTY BOYER                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   654503 FIORDALIZA Z ADAMS ERAZO                    ALTURAS DE VILLA FONTANA   G 15 CALLE 5                                                                      CAROLINA          PR         00983
   654504 FIORENTINA CRUZ GARCIA                      URB OJO DE AGUA            7 CALLE GERANIO                                                                   VEGA BAJA         PR         00693‐4150
   654507 FIORI DI CLASSE INC                         P O BOX 30252                                                                                                PONCE             PR         00734‐3252
   654508 FIORIDELLA                                  103 AVE DE DIEGO                                                                                             SAN JUAN          PR         00911
          FIRE AND SECURITY PREVETION
   173439 SY                                          HC 6 BOX 66261                                                                                               AGUADILLA         PR         00603
   654509 FIRE BUSTER INC                             PO BOX 7165                                                                                                  CAGUAS            PR         00726
   654510 FIRE CONTROL CORP                           PO BOX 192076                                                                                                SAN JUAN          PR         00919‐2076

   173442 FIRE CONTROL CORPORATION                    PO BOX 192076                                                                                                SAN JUAN          PR         00919
   654511 FIRE E M S FREQUENCY                        PO BOX 1513                                                                                                  PROVIDENCE        RI         02901
   654512 FIRE FACILITIES INC                         350 BUSINESS PARK DRIVE                                                                                      SUN PRAIRIE       WI         53590



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   654513 FIRE FIGHTERS EQUIPMENT CO                  PO BOX 60189                                                                                                        JACKSONVILLE        FL           32236‐0189
   654514 FIRE FOE INC                                P O BOX 4656                                                                                                        CAROLINA            PR           00984

   654515 FIRE PREVENTION SYSTEMS INC                 PO BOX 6017 SUITE 241                                                                                               CAROLINA            PR           00983
   654516 FIRE PROTECTION CENTER                      PO BOX 7719                                                                                                         SAN JUAN            PR           00915
   654517 FIRE PROTECTION GUZMAN                      P O BOX 38050                                                                                                       SAN JUAN            PR           00937

   173443 FIRE PROTECTION SERVICES                    AVE CAMPO RICO BLQ 3 NUM 1                                                                                          SABANA GARDENS      PR           00630
   654518 FIRE PROTECTION SYSTEMS                     PO BOX 69                                                                                                           HORMIGUEROS         PR           00660
   654519 FIRE SAFE INC                               P O BOX 592                                                                                                         SAINT JUST          PR           00978‐0592
   831363 Fire Safe Inc.                              P.O. Box 592                                                                                                        Saint Just          PR           00978
   173444 FIRE SAFE, INC                              PO BOX 592                                                                                                          SAINT JUST          PR           00978‐0592
   173445 FIRE SAFE, INC.                             P O BOX 592, SAINT JUST                                                                                             RIO PIEDRAS         PR           00978‐0592
   173446 FIRE SAFETY FLOW INC                        URB PARAISO DE COAMO        709 CALLE AMISTAD                                                                       COAMO               PR           00769
   654520 FIRE SAFETY SUPPLIES                        PO BOX 361184                                                                                                       SAN JUAN            PR           00936
                                                      6727 MISSION CLUB BOULEVARD
   173447 FIRE SCHOOL USA CORP                        101                                                                                                                 ORLANDO             FL           32821
          FIRE SPRINKLER DESIGN GROUP
   654522 INC                                         13285 S W 103 TERRACE                                                                                               MIAMI               FL           33186

   654523 FIRE WORKS GIRONE DE P R INC. PO BOX 1658                                                                                                                       COAMO               PR           00769
   654524 FIREBELLE PRODUCTS            PO BOX 110848                                                                                                                     CAMPBELL            CA           95011‐0848

   654525 FIREFIGHTERS NATIONAL SPORT PO BOX 5521                                                                                                                         CAGUAS              PR           00725
          FIREGUARD SERVICES &
   654526 PREVENTION SYSTEMS          P O BOX 1111                                                                                                                        BAYAMON             PR           00960

   173448 FIREHOUSE BURGERS AND FRIES                 PO BOX 14394                                                                                                        SAN JUAN            PR           00916
          FIREMANS FUND INSURANCE
   654527 COMPANY                                     777 SAN MARINO DRIVE                                                                                                NOVATO              PR           94998
   654528 FIRESTONE                                   PO BOX 4838                                                                                                         CAROLINA            PR           00984
   173455 FIREWORKS OF PUERTO RICO                    PO BOX 16350                                                                                                        SAN JUAN            PR           00908

   654529 FIREWORKS OF THE CARIBBEAN PO BOX 29832                                                                                                                         SAN JUAN            PR           00929‐0832
   173456 FIROUZTALE MD, EDWARD          REDACTED                                 REDACTED                    REDACTED                            REDACTED                REDACTED            REDACTED     REDACTED      REDACTED
   173468 FIRST ADVANTAGE LNS OCC.       HEALTH SOLUTIONS INC.                    P.O. BOX 404064                                                                         ATLANTA             GA           30384‐4064
          FIRST ALLMERICA FINANCIAL LIFE
   654532 INSURANCE                      440 LINCOLN STREET                                                                                                               WORCESTER           MA           06153
   654533 FIRST AMERICAN TITLE INS CO    1 FIRST AMERICAN WAY                                                                                                             SANTA ANA           CA           92707
          FIRST AMERICAN TITLE
   173469 INSURANCE                      1 FIRST AMERICAN WAY                                                                                                             SANTA ANA           CA           92707
   654534 FIRST BANK                     CALL BOX 10005                                                                                                                   GUAYAMA             PR           00785
                                                                                                              AMERICAN AIRLINE BUILDING
  1422457 FIRST BANK                                  FRANCIS T. PAGAN            1509 CALLE LOPEZ LANDRON    SUITE 1200                                                  SAN JUAN            PR           00911
                                                                                  AMERICAN AIRLINES BUILDING
  1422517 FIRST BANK                                  KEILA ORTEGA                PISO 10                     1509 CALLE LOPEZ LANDRON                                    SAN JUAN            PR           00911
                                                                                  CARRION TAVAREZ LAW OFFICES
  1422671 FIRST BANK                                  LUIS A. CARRIÓN TAVÁREZ     PSC                         650 PLAZA SUITE 204                 650 AVE. MUÑOZ RIVERA   SAN JUAN            PR           00918
                                                                                  CARRION TAVAREZ LAW OFFICES
  1422672 FIRST BANK                                  LUIS A. CARRIÓN TAVÁREZ     PSC                         650 PLAZA SUITE 204                 650 AVE. MUÑOZ RIVERA   SAN JUAN            PR           00918
                                                                                  CARRION TAVAREZ LAW OFFICES
  1422673 FIRST BANK                                  LUIS A. CARRIÓN TAVÁREZ     PSC                         650 PLAZA SUITE 204                 650 AVE. MUÑOZ RIVERA   SAN JUAN            PR           00918



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                                                                                    650 PLAZA BUILDING SUITE 502
  1419751 FIRST BANK                                  IVAN APONTE                   650 AVE. MUNOZ RIVERA                                                                      SAN JUAN            PR           00918
                                                      DAVID RODRIGUEZ
  1419752 FIRST BANK                                  ENCARNACIÓN PO BOX 29477                                                                                                 SAN JUAN            PR           00929‐0477
          FIRST BANK INSURANCE AGENCY
   173483 INC                         PO BOX 9146                                                                                                                              SAN JUAN            PR           00908‐0146
   173484 FIRST BANK PR               1130 AVE. MUNOZ RIVERA                                                                                                                   SAN JUAN            PR           00927
                                      C/TETUAN 206 EDIF BANCO
   173506 FIRST BANK PUERTO RICO      POPULAR SUITE 501                                                                                                                        SAN JUAN            PR           00901
          FIRST BANK QBE OPTIMA
          INSURANCE CO. Y MEDINA                                                              # 129 URB. CONDADO
  1422535 PAGAN, MARIA M.             CARLOS VICKY MORELL BORRERO APARTADO 8247 CALLE PLAYERA MODERNO                                                                          CAGUAS              PR           00726
          FIRST BANK QBE OPTIMA
          INSURANCE CO. Y MEDINA                                                              # 129 URB. CONDADO
  1422536 PAGAN, MARIA M.             CARLOS VICKY MORELL BORRERO APARTADO 8247 CALLE PLAYERA MODERNO                                                                          CAGUAS              PR           00726
          FIRST BANK Y CARIBBEAN                                  CARRION TAVAREZ LAW OFFICES
  1422674 ALLIANCE INSURANCE CO.      LUIS A. CARRIÓN TAVÁREZ     PSC                         650 PLAZA SUITE 204                                      650 AVE. MUÑOZ RIVERA   SAN JUAN            PR           00918
          FIRST BANK Y OPTIMA         FRANCISCO SAN MIGUEL
  1419753 INSURANCE COMPANY           FUXENCH                     PO BOX 190406                                                                                                SAN JUAN            PR           00919
                                      FRANCIS T. PAGÁN Y KEILA M.
  1419754 FIRST BANK Y OTROS          ORTEGA                      1509 LÓPEZ LANDRÓN PISO 12                                                                                   SAN JUAN            PR           00911
          FIRST BANK Y UNIVERSAL                                                              1509 LOPEZ LANDRON 10 TH
  1422513 INSURANCE COMPANY           ANNETTE M. PRATS PALERM     AMERICAN AIRLINES BUILDING FLOOR                                                                             SAN JUAN            PR           00911
          FIRST BANK Y UNIVERSAL                                  CARRION TAVAREZ LAW OFFICES
  1422675 INSURANCE COMPANY           LUIS A. CARRIÓN TAVÁREZ     PSC                         650 PLAZA SUITE 204                                      650 AVE. MUÑOZ RIVERA   SAN JUAN            PR           00918
          FIRST BANK Y UNIVERSAL                                  CARRION TAVAREZ LAW OFFICES
  1422676 INSURANCE COMPANY           LUIS A. CARRIÓN TAVÁREZ     PSC                         650 PLAZA SUITE 204                                      650 AVE. MUÑOZ RIVERA   SAN JUAN            PR           00918
          FIRST BANK Y UNIVERSAL                                  CARRION TAVAREZ LAW OFFICES
  1422677 INSURANCE COMPANY           LUIS A. CARRIÓN TAVÁREZ     PSC                         650 PLAZA SUITE 204                                      650 AVE. MUÑOZ RIVERA   SAN JUAN            PR           00918
          FIRST BANK Y UNIVERSAL                                  CARRION TAVAREZ LAW OFFICES
  1422678 INSURANCE COMPANY           LUIS A. CARRIÓN TAVÁREZ     PSC                         650 PLAZA SUITE 204                                      650 AVE. MUÑOZ RIVERA   SAN JUAN            PR           00918
          FIRST BANK Y UNIVERSAL
  1419755 INSURANCE COMPANY           KILMARIS MALDONADO PEREZ    PO BOX 11155                                                                                                 SAN JUAN            PR           00922‐1155
          FIRST BANK‐CUENTA ESPECIAL
   173516 CONFINADOS                  P.O.BOX 8318                                                                                                                             SAN JUAN            PR           00910‐0318
   654536 FIRST BOOK PUBLISHING       PO BOX 195275                                                                                                                            SAN JUAN            PR           00919‐5275

   654537 FIRST BRANDS PUERTO RICO INC P O BOX 194508                                                                                                                          SAN JUAN            PR           00919
          FIRST CARIBBEAN EDUCATIONAL
   173520 GROUP                        PMB 204                                      B‐5 CALLE TABONUCO, SUITE A‐9                                                              GUAYNABO            PR           00968
   173522 FIRST CHOICE ARMOR           209 YELTON STREET                                                                                                                       SPINDALE            NC           28160

   173523 FIRST CHOISE PROSTHETIC                     909 AVE TITO CASTRO STE 714                                                                                              PONCE               PR           00716‐4722
   173525 FIRST CLASS AMBULANCE INC                   RR 1 BOX 37154                                                                                                           SAN SEBASTIAN       PR           00685
   173526 FIRST CLASS INSURANCE INC                   URB LOMAS VERDES              3B2 CALLE LIRIO                                                                            BAYAMON             PR           00956
   173527 FIRST CLASS PARAMEDICS                      PO BOX 931                                                                                                               JUANA DIAZ          PR           00795
   654538 FIRST CLINICAL LABS INC                     COND DARLINGTON L13           1007 MU¥OZ RIVERA                                                                          SAN JUAN            PR           00925

   173528 FIRST COAST PRIMARY CARE                    ATTN MEDICAL RECORDS          1201 MONUMENT RD STE 201B                                                                  JACKSONVILLE        FL           32225
          FIRST COAST SERVICE OPTIONS,
   173529 INC.                        532 RIVERSIDE AVENUE ROC 17T                                                                                                             JACKSONVILLE        FL           32202
                                      1776 AMERICAN HERITAGE LIFE
   654539 FIRST COLONIAL INSURANCE CO DRIVE                                                                                                                                    JACKSONVILLE        FL           32224‐6688



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  654540 FIRST CONTRACTORS C R INC                     CARR 102                     KM 17 0 INT JOYUDAS                                                           CABO ROJO           PR           00623
                                                       240 CORPORATE BOULEVARD
   654541 FIRST CORRECTION PR INC                      THIRD FLOOR                                                                                                NORFOLK             VA           23502
   654542 FIRST CREDIT SOLUCTION INC                   AVE FAGOT                    2944 SUITE 4                                                                  PONCE               PR           00716‐3600
   173530 FIRST DATA CORPORATION                       6200 S QUEBEC ST STE 270 A                                                                                 GREENWOOD VILLAGE   CO           80111
          FIRST DATA GOVERNMENT
   173531 SOLUTIONS INC                                PC BOX 2086                                                                                                ENGLEWOOD           CO           80150‐2086
          FIRST DATA INVESTOR SERVICES
   654543 GROUP INC                                    PO BOX 11855                                                                                               SAN JUAN            PR           00910385
   654544 FIRST ENVIRONMENT                            P O BOX 2793                                                                                               SAN JUAN            PR           00902
   173532 FIRST HEALTH CALL CORP                       COTTO STATION                PO BOX 9976                                                                   ARECIBO             PR           00613
   173533 FIRST HEALTH SYSTEMS FHC                     CALLE COMERCIO 55                                                                                          YAUCO               PR           00698
   654545 FIRST HOME FINANCIAL SERV                    AND MORTGAGE BROKERS         667 AVE P DE LEON SUITE 262                                                   SAN JUAN            PR           00907

   654546 FIRST HOSPITAL PANAMERICANO PO BOX 1400                                                                                                                 CIDRA               PR           00739‐1400
          FIRST IND TECHNOLOGICAL
   173536 COLLEGE INC                 181 URB LOS PINOS                                                                                                           ARECIBOS            PR           00612
          FIRST LEASING RENTAL
   654547 CORPORATION                 P O BOX 2489                                                                                                                TOA BAJA            PR           00951‐2662

          FIRST LEASING Y UNIVERSAL                                                                               AMERICAN AIRLINE BUILDING
  1422441 INSURANCE COMPANY, ET. ALS.                  KEILA ORTEGA CASALS          1509 CALLE LOPEZ LANDRON      SUITE 1200                                      SAN JUAN            PR           00911
          FIRST LEASING, FIRST LEASING &
          RENTAL CORP Y UNIVERSAL                                                   CALLE JIMENEZ GARCIA # 28
  1419756 INSURANCE COMPANY                            ANA L. GONZALEZ CABRERA      URB. PLA                                                                      CAGUAS              PR           00725
   173540 FIRST MEDICAL                                P O BOX 144090                                                                                             ARECIBO             PR           00614‐4090
   173548 FIRST MEDICAL HEALTH PLAN                    PO BOX 191580                                                                                              SAN JUAN            PR           00919‐1580
          FIRST MEDICAL HEALTH PLAN ,
   173552 INC.                                         EXT. VILLA CAPARRA MARGINAL BUCHANAN 530 GUAYNABO                                                          SAN JUAN            PR           00966
   173561 FIRST MEDICAL INC.                           BOX 191580                                                                                                 SAN JUAN            PR           00919‐1580
          FIRST NATIONAL
   173562 REHABILITATION SERVICES                      114 OLD COUNTRY RD LL76                                                                                    MINEOLA             NY           11501
   654551 FIRST OPTIONS CORP                           URB CARIBE                   1549 ALDA STREET                                                              SAN JUAN            PR           00926
          FIRST POINT HEALTHCARE
   654552 GROUP INC                                    SAN ALBERTO BUILDING         605 CALLE CONDADO SUITE 611                                                   SAN JUAN            PR           00907‐3811
          FIRST POINT HEALTHCARE                       605 CONDADO ST. SUITE 611
   770475 GROUP INC.                                   SAN ALBERTO BLDG.                                                                                          SAN JUAN            PR           00907‐3811
   654553 FIRST RENTAL & MORE                          3RA SECCION DE VILLA REY     B 13 CALLE BORGONA                                                            CAGUAS              PR           00726
          FIRST RESP EMERGENCY MED
   654554 SERVICES                                     P O BOX 10832                                                                                              SAN JUAN            PR           00922 0832
   173563 FIRST SCHOOL BILINGUAL                       112 CALLE PAJAROS            HATO TEJAS                                                                    BAYAMON             PR           00956
   173564 FIRST SCHOOL BILINQUIE                       112 CALLE PAJAROS            HATO TEJAS                                                                    BAYAMON             PR           00658

   654530 FIRST SECURITY MORTGAGE INC FERNANDEZ JUNCOS STATION                      PO BOX 11693                                                                  SAN JUAN            PR           00910
   654555 FIRST SERVICE STATION/GULF  PO BOX 8188                                                                                                                 BAYAMON             PR           00960

   654531 FIRST STEPS DAY CARE CENTER                  URB PURPLE TREE              1733 CARR 844 CUPEY BAJO                                                      SAN JUAN            PR           00926

   654556 FIRST STEPS DAY CARE CENTER                  URB PURBLE CUPEY BAJO        1733 TREE CARR 844                                                            SAN JUAN            PR           00926
   654557 FIRST STOP                                   VIEJO SAN JUAN               262 CALLE FORTALEZA                                                           SAN JUAN            PR           00901
   654558 FIRST TITLE CLOSING CORP                     255 AVE PONCE LEON           SUITE 1200                                                                    SAN JUAN            PR           00917‐1912
          FIRST TRANSIT OF PUERTO RICO,
   173567 INC.                                         PO BOX 195576                                                                                              SAN JUAN            PR           00919‐5576



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          FIRST TROPICAL CONSULTING
   654560 INC                         PO BOX 107                                                                                                                          PERRY                FL           32348
   173568 FIRST TRUCK LEASE CORP      PO BOX 2489                                                                                                                         TOA BAJA             PR           00953
   654562 FIRST UNION INVESTMENT      URB FLORAL PARK                              187 CALLE DUARTE                                                                       SAN JUAN             PR           00917
          FIRSTAR MUTUAL FUNDS        LLC 615 E MICHIGAN STREET LC
   654563 SERVICES                    2                                                                                                                                   MILWAKEE             WI           53202
  1256236 FIRSTBANK                   ATTN LEBRON, FELIPE                          P.O.9146                                                                               SAN JUAN             PR           00908‐0146
                                      8344 CLAIREMONT MESA BLVD
   173572 FIRSTCARE MISSION CROSSOVER SUITE 201                                                                                                                           SAN DIEGO            CA           92111
   173573 FIRUZEH SHOKOOH VALLE       REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   654564 FIS INC                     FERNANDEZ JUNCOS STATION                     PO BOX 8526                                                                            SAN JUAN             PR           00910‐8526
   654565 FISA S E                    P O BOX 2286                                                                                                                        GUAYAMA              PR           00785‐2286
  1256501 FISA, SE                    REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   654566 FISCAL PLANNING SERVICES INC                7315 WISCONSIN AVE STE 230                                                                                          BETHESDA             MD           20814
   173579 FISCHER MD, MICHAEL                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FISH & WILDLIFE REFERENCE                   5430 GROSVENOR LANE SUITE
   654567 SERVICES                                    110                                                                                                                 BETHESDA             MD           20814
   654568 FISHBEIN THOMAS                             1 GUSTAVE LEVY PL            BOX 1263                                                                               NEW YORK             NY           10029
   173580 FISHEADS PRINTS INC                         OCEN PARK                    2055 COND ESPANA APT 402                                                               SAN JUAN             PR           00911
   831364 Fisher Scientific                           PO Box 8500                                                                                                         Cayey                PR           00737
   173581 FISHER SCIENTIFIC CO                        2000 PARK LANE                                                                                                      PITTSBURGH           PA           15275
   173585 FISHER SCIENTIFIC CO.                       BO MONTELLANO 1 STATE RD                                                                                            CAYEY                PR           00737
   654573 FISHERIES INF MAG SYSTEMS                   500 DUMAS DRIVE                                                                                                     AUBURN               AL           36830
                                                      2324 CALLE LOIZA PUNTA LAS
   173586 FISHERMANS WHARF                            MARIAS                                                                                                              SANTURCE             PR           00913
          FISHKILL CORRECTIONAL
   173587 FACILITY                                    MED RECORDS                  BOX 307                                                                                BEACON               NY           12508
   173589 FISIOTERAPIA DEL NORTE                      350 CARR 2                                                                                                          VEGA ALTA            PR           00692

   173590 FISIOTERAPIA EN LA MONTAÐA                  PO BOX 1854                                                                                                         MOROVIS              PR           00687

   173591 FISIOTERAPIA EN LA MONTANA                  PO BOX 1854                                                                                                         MOROVIS              PR           00687
   654574 FIST PHARMACY                               426 AVE BARBOSA                                                                                                     SAN JUAN             PR           00917
                                                      260 AVE JESUS T PINERO
   173593 FITNESS WAREHOUSE                           UNIVERSITY GARDENS                                                                                                  SAN JUAN             PR           00927
   654576 FITNESS WORLD 2003                          406 CALLE STA TERESITA                                                                                              ARECIBO              PR           00612‐9504
   654577 FITS FURNITURE CORP                         RR 11 BOX 5829 SUITE 5                                                                                              BAYAMON              PR           00956
   654578 FITTIPALDI JUNKER                           EXTANCIAS VILLA RICA         Y 32 CALLE 7                                                                           BAYAMON              PR           00959‐4908

   654579 FITZ ROY DEAR BORN PUBLISHER 919 NORTH MICHIGAN AVE                      SUITE 760                                                                              CHICAGO              IL           60611
   173597 FITZERALD E COUTINHO         REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   173598 FITZPATRICK MD , CARMEN A    REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   173601 FIVE DEVELOPMENT CORP        235 PMB                                     3071 ALEJANDRINO AVE                                                                   GUAYNABO             PR           00969
   654580 FIVE REALTY INVESTMENT INC   PO BOX 191705                                                                                                                      SAN JUAN             PR           00919‐1705
                                       MEDICAL RECORD
   173602 FIVE RIVERS MEDICAL CENTER   ADMINISTRATOR                               2801 MEDICAL CENTER DRIVE                                                              POCAHONTAS           AR           72455
   654581 FIVE STAR CATERING           SANTA JUANITA SECCION 10                    DT 52 AVE IRLANDA                                                                      BAYAMON              PR           00960
   654582 FIVE STAR CLUB CORP          230 GAUTIER BENITEZ                         SUITE 101                                                                              CAGUAS               PR           00725
   654583 FIVE STAR CORP               PO BOX 695                                                                                                                         BOQUERON             PR           00602
          FIVE STAR DEVELOPMENT
   173603 GROUP INC                    PO BOX 11976                                                                                                                       SAN JUAN             PR           00922‐1976




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          FIVE STARS EDUCATIONAL
   173604 CASTLE                                      359 PARQUE DEL SOL                                                                                                    BAYAMON               PR           00959
  1256502 FIVESENCES LLC                              REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   173605 FIVESENSES LLC                              103 CALLE SAN JORGE                                                                                                   SAN JUAN              PR           00911
   173606 FJ BUS SERVICE INC                          PO BO X1258                                                                                                           AIBONITO              PR           00705
   173608 FJ SUPPLY INC                               PASEO AMBAR                  J 2734 LEVITTWN                                                                          TOA BAJA              PR           00949
   173609 FJ SUPPLY, INC.                             PASEO AMBAR J 2734           2DA. SECC. LEVITTOWN                                                                     TOA BAJA              PR           00949‐3307
   654584 FJ WELDING AND SERVICES                     P O BOX 2752                                                                                                          GUAYNABO              PR           00970
   654585 FJL DEVELOPMENT CORP                        7 MUNOZ BARRIOS                                                                                                       CIDRAS                PR           00739
   173611 FL HOSPITAL CENTRA CARE                     MEDICAL RECORDS              15701 STATE RD 50 STE 101                                                                CLERMONT              FL           34711
          FL HOSPITAL FISH MEMORIAL                   1061 MEDICAL CENTER DR STE
   173612 PSYCHIATRIC SERVICES                        205                                                                                                                   ORANGE CITY           FL           32763
          FL HOSPITAL SPORTS MEDICINE
   173613 AND REHAB                                   ATTN MEDICAL RECORDS         400 CELEBRATION PL STE C200                                                              CELEBRATION           FL           34747
   654586 FLACO SHINE SHOP                            URB CASAMIA                  F C 38 CALLE 3                                                                           PONCE                 PR           00731
   654587 FLAD & ASSOCIATES                           P O BOX 44977                                                                                                         MADISON               WI           53744‐4977
   173615 FLAGG BROTHER PR INC                        PO BOX 17                                                                                                             NASHVILLE             TN           37202
   654588 FLAGHOUSE                                   601 FLAGHOUSE DRIVE                                                                                                   HOSBROUCK HEIGHTS     NJ           07604
   173616 FLAGSHIP RESORT                             8020 TARTAK STREET                                                                                                    CAROLINA              PR           00979
          FLAGSHIP RESORT PROPERTIES
   173617 D/B/A                                       HOLIDAY INN SAN JUAN         8020 CALLE TARTAK                                                                        CAROLINA              PR           00979
          FLAGSHIP RESORT PROPERTIES
   173619 S.E.                                        CALLE TARTAK 8020                                                                                                     CAROLINA              PR           00979‐0000
          FLAGSHIP RESORT
   173620 PROPERTIES,S.E.D/B/A                        CALLE TARTAK #8020                                                                                                    CAROLINA              PR           00979
   654589 FLAIRA V RONDON DERIEUX                     HC 2 BOX 33081                                                                                                        CAGUAS                PR           00725
   173623 FLAMBOYAN SANTOS INC                        PO BOX 1723                                                                                                           CAYEY                 PR           00737
   173624 FLAMBOYAN TRANSPORT                         APARTADO 596                 QUEBRADA CEIBA                                                                           PENUELAS              PR           00624
   654590 FLAMBOYAN VIDEO                             1 AVE BUENA VISTA                                                                                                     MOROVIS               PR           00687
   173626 FLAMENCO AIR                                PO BOX 810352                                                                                                         CAROLINA              PR           00981
   654591 FLAMENCO AIRWAYS INC                        PO BOX 224                                                                                                            CULEBRA               PR           00775
   654592 FLAMINGO MUFFLER CENTER                     94 CALLE COLON                                                                                                        AGUADA                PR           00602
   654593 FLANES ACEVEDO                              P O BOX 726                                                                                                           AGUADA                PR           00602
   654594 FLANES ACEVEDO INC                          BOX 726                                                                                                               AGUADA                PR           00602
   173631 FLAQUE COMAS MD, JOSE                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   654595 FLARINDA RIVERA RODRIGUEZ                   BO PATRON                    BOX 2716                                                                                 MOROVIS               PR           00687
   173635 FLASH BACK GROUP INC                        GPO BOX 195154                                                                                                        SAN JUAN              PR           00919‐5154
   654596 FLASH CUBE & WASH INC                       PO BOX 1195                                                                                                           COTTO LAUREL          PR           00780 1195
   173640 FLATLEY MD , MICHAEL C                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   654597 FLAVIA A MU¥OZ DELVALLE                     URB IRLANDA HTS              FN2 CALLE RIGEL                                                                          BAYAMON               PR           00956
   173641 FLAVIA ALTAMIRANO GOMEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   654598 FLAVIA E BAYRON FLORES                      PO BOX 22514                                                                                                          SAN JUAN              PR           00931
   173642 FLAVIA E. CASTRO GONZALEZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   173643 FLAVIA GARCIA TIRADO                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   654600 FLAVIA HERNANDEZ PEREZ                      PO BOX 251                                                                                                            HORMIGUEROS           PR           00660
   173644 FLAVIA LUGO DE MARICHAL                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          FLAVIA M MORALES
   654603 BEAUCHAMP                                   10 CALLE DR VAZQUEZ COLON                                                                                             FLORIDA               PR           00650
   654605 FLAVIA MARRERO MARRERO                      P O BOX 2697                                                                                                          MAYAGUEZ              PR           00681‐2697
   173645 FLAVIA MENDEZ                               REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   173646 FLAVIA RIVERA VELAZQUEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   654606 FLAVIA T LIVOLSI RIVERA                     PO BOX 360292                                                                                                         SAN JUAN              PR           00936



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  173647 FLAVIA Z ACEVEDO ORTIZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   173648 FLAVIO A MONSEGUR CASTILLO                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   654608 FLAVIO ALVAREZ                              35 CALLE MARINA              4 EDIFICIO MARINA                                                                     PONCE               PR         00731
   654610 FLAVIO E CUMPIANAO                          URB VILLA LISSETTE           C 5 CALLE PABLO MARTINEZ                                                              GUAYNABO            PR         00919

   173649 FLAVIO E HERNANDEZ RAMIREZ                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   654611 FLAVIO G LUGO MERCADO                       PO BOX 9386                                                                                                        CAROLINA            PR         00988
   654612 FLAVIO HERNANDEZ RAMIREZ                    PO BOX 9020482                                                                                                     SAN JUAN            PR         00901
   173650 FLAVIO J CARRENO                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   654614 FLAVIO MONTIEL                              SQS 405 BL‐O AP 201                                                                                                BRASILIA DF                    70239170

   173678 FLECHA DE JESUS MD, MIGUEL                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173683 FLECHA DEL VALLE, SANDRA                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173731 FLEET CAR WASH                              REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FLEET CAR WASH &
   654615 MAINTENANCE SERV GROUP                      200 AVE RAFAEL CORDERO       PMB 524 SUITE 140                                                                     CAGUAS              PR         00725
          FLEET CAR WASH AND
   173732 MAINTENANCE SERVICE G                       PMB 524 RAFAEL CORDERO 200   STE 140                                                                               CAGUAS              PR         00725
   654616 FLEET MARK                                  2838 HICKORY HILL SUITE 25                                                                                         MEMPHIS             TN         38115
          FLEETS EQUIMENT &
   173733 EMERGENCY SYSTEM                            250 MUOZ RIVERA ST.                                                                                                Fajardo             PR         00738
   654617 FLEISHMAN HILLARD INC                       P O BOX 71102                                                                                                      SAN JUAN            PR         00936‐8002
   654618 FLEMING CASTILLO ALFARO                     PO BOX 51611                                                                                                       TOA BAJA            PR         00950
   173737 FLEPAK SHARED                               P O BOX 4321                                                                                                       BAYAMON             PR         00958
   173738 FLERIDA I PICHARDO ARIAS                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173739 FLERIDA MARIE PERALTA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173740 FLERIDA MARTE PERALTA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173741 FLERIDA TORRES PUYARENA                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FLEX DECK CORP/ANCHOR                       951 FERNANDEZ JUNCOS AVE
   654619 FUNDING INC                                 SUITE 202                                                                                                          SAN JUAN            PR         00907
          FLEXIBLE & INTEGRATED
   173743 TECHNICAL SERVICES                          PO BOX 666                                                                                                         DORADO              PR         00646‐0666
   654620 FLEXIBLE PACKAGING CO INC                   PO BOX 4321                  BAY GARDENS STATION                                                                   BAYAMON             PR         00958‐1321
   654621 FLEXITANK                                   PO BOX 51928                                                                                                       TOA BAJA            PR         00950‐1928
   654622 FLEXO PACK INC                              P O BOX 9009                                                                                                       CAROLINA            PR         00988‐9009
          FLI CHI AUTO PARTS INC/SOLE
   173745 OWNER                                       4080 AVE MILITAR                                                                                                   ISABELA             PR         00662
   173746 FLICHI AUTO PARTS                           CARR 2 KM 110‐6              4080 AVE MILITAR                                                                      ISABELA             PR         00662

   173747 FLIEGELMAN MD , LAWRENCE J                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   654623 FLIGHT SUITS LTD                            1675 PIONEER WAY                                                                                                   EL CAJON            CA         92020‐1642
   173748 FLIR RADIATION INC                          100 MIDLAND RD                                                                                                     OAK RIDGE           TN         37830
   173749 FLIR SURVELLANCE INC                        25 ESQUIRE ROAD                                                                                                    N BILLERICA         MA         001862
   654624 FLIR SYSTEMS INC                            16505 SW 72 ND AVE                                                                                                 PORTANDAD           OR         97224
   173750 FLL CONSTRUCTION INC                        P O BOX 798                                                                                                        SAN SEBASTIAN       PR         00685
          FLOBASKET CORP AC/ FELIX JR
   173753 RAMIREZ                                     PO BOX 580                                                                                                         FAJARDO             PR         00738
   654625 FLOIRAM RIVERA REYES                        BOX 861                                                                                                            CIDRA               PR         00739
   173754 FLOIRAN COLON NIEVES                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173756 FLOOR PLAN COPR                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   654627 FLOORS & ACOUSTINGS INC.                    PO BOX 13606                                                                                                       SAN JUAN            PR         00908
   173758 FLOR A DEL RIO                              REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  654628 FLOR A DIAZ CASTRO                           RES LAS CAROLINA             EDIF 4 APT 38                                                                           CAROLINA            PR         00985
  173759 FLOR A FELIX CONCEPCION                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  173760 FLOR A ILLAS SERRANO                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  654629 FLOR A MORALES ROLON                         HC 02 BOX 6830                                                                                                       SALINAS             PR         00751
                                                      VISTA DEL RIO APARTAMENTS
   654630 FLOR A PRINCE ESTRELLA                      345                          CARR 8860 C 1297                                                                        TRUJILLO ALTO       PR         00976
   654631 FLOR A RODRIGUEZ NAZARIO                    URB MONTE REY C‐7                                                                                                    CIALES              PR         00638
   173761 FLOR ALVAREZ LOPEZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173762 FLOR APONTE VALENTIN                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   654634 FLOR ARTE                                   URB ANTOSANTI                CALLE BORI ESQ BREMA                                                                    SAN JUAN            PR         00927
   173763 FLOR BELTRAN MORALES                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   654635 FLOR C CINTRON DE JESUS                     COND VENTURA                 APT 5703                                                                                TRUJILLO ALTO       PR         00976
   173764 FLOR CASIANO BAEZ                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173765 FLOR CENTENO CALIZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173767 FLOR COLON NEGRON                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173769 FLOR COSME TORRES                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   654639 FLOR CRUZ SANTIAGO                          RES LOS ROSALES              EDIF 4 APT 25                                                                           TRUJILLO ALTO       PR         00976
   654640 FLOR D MERCADO RIVERA                       URB CORALES                  C 4 CALLE 3                                                                             HATILLO             PR         00659
   654641 FLOR D RIVERA HERNANDEZ                     HC 03 BOX 14465                                                                                                      AGUAS BUENAS        PR         00703

   654642 FLOR D ROMAN FIGUEROA                       RES IGNACIO MORALES DAVILA   EDIF 13 APT 95                                                                          NAGUABO             PR         00718
   173770 FLOR D SANCHEZ SEGARRA                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173771 FLOR D. ORTIZ RAMOS                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173773 FLOR DE CAHILLO INC                         PO BOX 526                                                                                                           LOIZA               PR         00772
   654644 FLOR DE E PASCUAL PEREZ                     PDA 19 PONCE DE LEON                                                                                                 SAN JUAN            PR         00936

   173774 FLOR DE MARIA DIAZ GONZALEZ REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   654646 FLOR DEL C CARTAGENA ROLON                  PO BOX 5223                                                                                                          CAYEY               PR         00737
   654648 FLOR DEL R ANDREU ALICEA                    MANSION DEL SUR              26 CALLE CEIBA                                                                          COTO LAUREL         PR         00780‐2078
   173775 FLOR DEL R. ANDREU ALICEA                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FLOR DEL ROSARIO OSORIO
   173776 HENRIQUEZ                                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FLOR DEL ROSARIO OSSORIO
   173777 HENRIQUEZ                                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   654649 FLOR DEL VALLE LOPEZ                        PO BOX 302                                                                                                           LOIZA               PR         00772
   173778 FLOR DELIZ ROJAS GUZMAN                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173779 FLOR E MATTOS DE JESUS                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173780 FLOR E TORO CAMACHO                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173781 FLOR E. NARCISO FARIAS                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173782 FLOR G SURITA ACOSTA                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173783 FLOR GARCIA ORTIZ                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   654651 FLOR GOMEZ ORTIZ                            PO BOX 664                                                                                                           SAN LORENZO         PR         00754
   654652 FLOR GONZALEZ                               PO BOX 1106                                                                                                          JAYUYA              PR         00664
          FLOR I CIRIACO/CAROLINA                                                  14 CALLE PEDRO E URENA APT
   173784 WESSIN                                      EVELYN WESSIN                201                                                                                     GAZCUE                         10205        DOMINICAN REPUBLIC
   173785 FLOR I JORDAN ALBERT                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173786 FLOR I SOTO ACEVEDO                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   654655 FLOR IVAN CAMACHO MARTINEZ URB HILL MANSIONS                             BC 26 CALLE 63                                                                          SAN JUAN            PR         00926
   654656 FLOR J NEGRON SOTO         PUERTO REAL                                   12 CALLE 6                                                                              CABO ROJO           PR         00623
   654657 FLOR L CUELLO              PO BOX 8753                                                                                                                           PONCE               PR         00732
   654658 FLOR L CUELLO DE BORRERO   152 CALLE CLARISAS                                                                                                                    PONCE               PR         00731



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  173787 FLOR LOPEZ BURGOS                            REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   654661 FLOR M ABOLAFIA MALDONADO HC 01 BOX 10704                                                                                                            ARECIBO             PR         00612
   654663 FLOR M COLON MARIN        HC 1 BOX 5012                                                                                                              CIALES              PR         00638
   654664 FLOR M COLON SANTIAGO     PO BOX 6097 ESTACION 1                                                                                                     BAYAMON             PR         00960
   654665 FLOR M CORREA OSORIO      P O BOX 3590                                                                                                               LOIZA               PR         00772
   654667 FLOR M ESQUILIN           VILLAS DE LOIZA                          AD 21 CALLE 24                                                                    CANOVANAS           PR         00729
   173788 FLOR M FELICIANO ROMAN    REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   654668 FLOR M FIGUEROA GARCIA    VILLA PALMERA                            257 INT CALLE LAGUNA                                                              SAN JUAN            PR         00915
   654669 FLOR M FONTANEZ ADORNO    QUINTAS DE VILLAMAR                      H 14 CALLE 2                                                                      DORADO              PR         00646
   654670 FLOR M GALARZA MENDEZ     G P O BOX 660                                                                                                              BARCELONETA         PR         00617
   654671 FLOR M GARCIA PEREZ       COND RIJO                                APARTAMENTO 10         1700 CALLE LEONACUNA                                       SAN JUAN            PR         00911
   654672 FLOR M GONZALEZ RIOS      HC 1 BOX 3673                                                                                                              FLORIDA             PR         00650
   654673 FLOR M GONZALEZ SERRANO   HC 02 BOX 18038                                                                                                            SAN SEBASTIAN       PR         00685
   654674 FLOR M GUERRA JIMENEZ     PO BOX 2001                                                                                                                RIO GRANDE          PR         00745
   654675 FLOR M HERNANDEZ ARROYO   URB LAS GARDENIAS                        68 CALLE VIOLETA                                                                  MANATI              PR         00674
   654676 FLOR M LIMA COLON         PARC AGUAS CLARAS                        CALLE AMAPOLA                                                                     CEIBA               PR         00735
   173791 FLOR M LOPEZ RIVERA       REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   654677 FLOR M MARQUEZ MORALES    PO BOX 21414                                                                                                               SAN JUAN            PR         00928‐1414
   654682 FLOR M MIRANDA RESTO      HC 03 BOX 8559                                                                                                             LARES               PR         00669
   654683 FLOR M MORALES SOTO       PO BOX 2087                                                                                                                AGUADILLA           PR         00605
   654684 FLOR M OCASIO             PO BOX 21635                                                                                                               SAN JUAN            PR         00928
   173792 FLOR M ORTIZ VARGAS       REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173793 FLOR M PENA GUZMAN        REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   654685 FLOR M PRIETO             1 SECC SANTA JUANITA                     JJ 11 CALLE 22                                                                    BAYAMON             PR         00956
   173794 FLOR M RIVERA ALMODOVAR   REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173795 FLOR M RIVERA VAZQUEZ     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173797 FLOR M SUAREZ RIVERA      REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173798 FLOR M TOLEDO ESCALANTE   REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173799 FLOR M. BENITEZ TORRES    REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173800 FLOR M. SANCHEZ RAMOS     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173801 FLOR MARIA ALVAREZ PEREZ  REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   770476 FLOR MARIA DIAZ FONTAN    REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   654687 FLOR MARIA ORTIZ RUIZ     VILLAS SAN AGUSTIN                       P 17 CALLE 10                                                                     BAYAMON             PR         00959
   173802 FLOR MARIA SANTRE CEPEDA  REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173803 FLOR MARQUEZ              REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173806 FLOR MELENDEZ MONTANEZ    REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   654688 FLOR MELENDEZ PEREZ       HC 03 BOX 15773                                                                                                            COROZAL             PR         00783
          FLOR MERCADO / MARIA
   654689 SOLDEVILA                 VENUS GARDENS                            684 MANZANILLO                                                                    SAN JUAN            PR         00926
   654690 FLOR MOYA SANTANA         P O BOX 1841                                                                                                               CABO ROJO           PR         00623
   173808 FLOR MUNIZ YORDAN         REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173810 FLOR N VELEZ DIAZ         REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                    URB JARDINES DE COUNTRY
   654691 FLOR O NIEVES CARTAGENA   CLUB                                     A 28 CALLE 2                                                                      CAROLINA            PR         00983
   173811 FLOR ORTIZ QUIROS         REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173812 FLOR PINA SOLERO          REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173814 FLOR RODRIGUEZ MENDEZ     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   654693 FLOR S RODRIGUEZ LOZADA   P O BOX 507                                                                                                                TOA ALTA            PR         00954
   173816 FLOR SAENZ CARRION        REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   173817 FLOR SAENZ RAMOS          REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   654694 FLOR SEMPRIT VAZQUEZ      SABANA SECA STA.                         P.O. BOX 831                                                                      TOA BAJA            PR         00952
   654695 FLOR SERRANO SERRANO      RES MONTE PARK                           EDF A 1 APTO 4                                                                    RIO PIEDRAS         PR         00924



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   654696 FLOR TORRES CRUZ                            COND TORRELINDA               85 CALLE MAYAGUEZ APT 1205                                                              SAN JUAN             PR           00917
   654697 FLOR VAZQUEZ                                P O BOX HC 07 2300                                                                                                    PONCE                PR           00731
          FLOR VAZQUEZ AIR CONDITION,
   173818 INC.                                        HC 6 BOX 2300                                                                                                         PONCE                PR           00731
   654698 FLOR VAZQUEZ COLON                          PAQUE SAN MIGUEL              GO 28 CALLE 5                                                                           BAYAMON              PR           00959
   654699 FLOR VELAZQUEZ AYALA                        CAMINO LOS BENITEZ            CARR 842 KM 5 6                                                                         SAN JUAN             PR           00926
   654701 FLOR YESENIA NIEVES BAEZ                    P O BOX 1155                                                                                                          MOROVIS              PR           00687
   654703 FLORA AMADOR                                MSC 6172 ESTACION 1                                                                                                   BAYAMON              PR           00960
   173819 FLORA ANDINO CATALAN                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   654704 FLORA ANDINO CATALON                        PARC FALU SABANA LLANA        162 CALLE 45                                                                            SAN JUAN             PR           00924

   654705 FLORA BETANCOURT FELICIANO CERCADILLO BOX 1081                                                                                                                    ARECIBO              PR           00612
   173820 FLORA BRANE GARCET         REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   173821 FLORA BY ARQUETIPO         REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   654707 FLORA CLEMENTE FIGUEROA                     BO SAN ANTON CUESTA QUILES    K 4 H 2 CALLE EULOGIO                                                                   CAROLINA             PR           00986
   173823 FLORA COLON HERNANDEZ                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   654708 FLORA COMMUNICATIONS INC                    857 AVE PONCE DE LEON         NEW YORK OFFICE CENTER                                                                  SAN JUAN             PR           00907
   173824 FLORA DAVILA PINERO                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   654710 FLORA DEL CARIBE                            PO BOX 1056                                                                                                           JUNCOS               PR           00777
   654711 FLORA E GONZALEZ ROMAN                      URB JARDINES DE ARECIBO       R 6 CALLE Q                                                                             ARECIBO              PR           00612
   654712 FLORA E MERCADO                             PO BOX 21365                                                                                                          VEGA ALTA            PR           00692
   173825 FLORA E MUNOZ RIVERA                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   173826 FLORA E VEGA ALMODOVAR                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   173827 FLORA FAGET LOPEZ                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   173829 FLORA L MANON HERRERA                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   654715 FLORA LOPEZ DE SOSA                         LA CUMBRE                     497 AVE POL SUITE 106                                                                   SAN JUAN             PR           00926
   654716 FLORA LOPEZ ROSARIO                         PARK GARDENS                  U12 CALLE HOT SPRINGS                                                                   SAN JUAN             PR           00926‐2137
   173830 FLORA M HERRERO DE LEE                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   654717 FLORA M MARQUEZ BULTRON                     COND CIUDAD UNIVERSITARIA     1 AVE PERIFERAL 1202 A                                                                  TRUJILLO ALTO        PR           00976
   654718 FLORA MALDONADO TORRES                      PO BOX 559                                                                                                            JUANA DIAZ           PR           00795

   654719 FLORA MATOS LOPEZ                           COND KINGS COURT 76 APT 204                                                                                           SAN JUAN             PR           00902
   654723 FLORA RODRIGUEZ ALVIRA                      CAPARRA TERRACE               778 CALLE 5 SO                                                                          SAN JUAN             PR           00921
   173833 FLORA SANCHEZ SANTIAGO                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   654727 FLORA TORES MARTES                          CUPEY BAJO                    CAMINO LOS GONZALEZ                                                                     SAN JUAN             PR           00926
   173837 FLORA Y ADIANTUM                            REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   173838 FLORABEL R TORO RODRIGUEZ                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   654728 FLORAMA                                     URB VALPARAISO                E 13 CALLE 9                                                                            LEVITTOWN            PR           00949
   173860 FLORANGEL GERMOSO PENA                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   654730 FLORDALIZA FELIZ RODRIGUEZ                  URB VALLE ARRIBA HEIGTS       B H 20 CALLE 110                                                                        CAROLINA             PR           00983 3309

   654731 FLORDALIZA JIMENEZ TRINIDAD                 CLUB MANOR                    A 6 CALLE TOMAS AGRAIT                                                                  SAN JUAN             PR           00924

   654732 FLORECITA QUILES GIOVANNETTI PO BOX 180                                                                                                                           LARES                PR           00669
   173862 FLORELIS DUQUE QUINONES      REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   654733 FLORENCE C RODRIGUEZ FLORES URB VILLE BLANCA                              9 CALLE RUBEN                                                                           CAGUAS               PR           00725



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          FLORENCE CHILD GUIDANCE
   173863 CENTER                                      402 N FULTON ST                                                                                             ALLENTOWN           PA           18102

   654735 FLORENCE VARGAS GONZALEZ                    HC 03 BOX 31466                                                                                             SAN SEBASTIAN       PR           00685
   173864 FLORENCIA MERCADO LABOY                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   173871 FLORENCIO A PAYANO MEJIA                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   173872 FLORENCIO ARROYO IRIZARRY                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FLORENCIO BERRIOS
   173873 CASTRODAD                                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   654738 FLORENCIO BURGOS LOYO                       HC 3 BOX 8180                                                                                               BARRANQUITAS        PR           00794
   654739 FLORENCIO CENTENO ALICEA                    PMB 504                 HC 01 BOX 29030                                                                     CAGUAS              PR           00725‐8900
   654740 FLORENCIO COLON RIVERA                      URB SAGRADO CORAZON     388 AVE SAN CLAUDIO                                                                 SAN JUAN            PR           00926
   654741 FLORENCIO DE ARCE ORTIZ                     ESTANCIAS DE BAIROA     D 10 CALLE TULIPAN                                                                  CAGUAS              PR           00727

   654743 FLORENCIO DE JESUS DE JESUS                 RES LA CEIBA            EDIF B 4 APTO 43                                                                    PONCE               PR           00731
   173874 FLORENCIO DIAZ DIAZ                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FLORENCIO FERNANDEZ /
   654744 SECURITY PLASTICS                           P O BOX 910                                                                                                 RIO GRANDE          PR           00745

   654745 FLORENCIO FIGUEROA LAGUNA                   75 CALLE ANTONOMIA                                                                                          CANOVANAS           PR           00729
          FLORENCIO GONZALEZ
   654746 CARTAGENA                                   PARC JAUCA              91 CALLE 2                                                                          SANTA ISABEL        PR           00757

   654747 FLORENCIO GONZALEZ GARCIA                   URB PEREZ MORRIS        1 CALLE COMERIO                                                                     SAN JUAN            PR           00918

   654749 FLORENCIO H. VELEZ SANTIAGO                 COND THE TOWER PLAZA    10 CALLE LAS ROSAS                                                                  BAYAMON             PR           00961
   654750 FLORENCIO LOPEZ CONDE                       9638 CHELMSFORD DRIVE                                                                                       SAN ANTONIO         TX           78239‐2308
   654751 FLORENCIO MALAVE LOPEZ                      BOX 3735                BAYAMON GARDENS                                                                     BAYAMON             PR           00936

   654753 FLORENCIO MARRERO COLON                     URB SANTIAGO APOSTOL    H 20 CALLE 4 BOX 1482                                                               SANTA ISABEL        PR           00757

   654754 FLORENCIO MORALES MORALES BO LAS PELAS                              F 119 CALLE 1                                                                       YAUCO               PR           00698
   654756 FLORENCIO ORTIZ NIEVES    WILLIAM JONES 531                                                                                                             SANTURCE            PR           00915
   654759 FLORENCIO PEREZ SOTO      PO BOX 463                                                                                                                    SAN SEBASTIAN       PR           00685

   654761 FLORENCIO RIVERA RODRIGUEZ                  PO BOX 7532                                                                                                 CAROLINA            PR           00986
          FLORENCIO RODRIGUEZ
   654762 MELENDEZ                                    URB VENUS GARDENS       1673 CALLE CUERNAVACA                                                               SAN JUAN            PR           00926
   654764 FLORENCIO S VELEZ SANTOS                    URB LIRIO DEL SUR       A 44 CALLE 3 PLAYA                                                                  PONCE               PR           00731
   654765 FLORENCIO SANCHEZ LABOY                     PANORAMA ESTATES        A 1 CALLE 2                                                                         BAYAMON             PR           00957
          FLORENCIO SANTIAGO
   173876 SESENTON                                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   654766 FLORENCIO SANTIAGO VAZQUEZ URB VILLAS DE CASTRO                     O 11 CALLE 9                                                                        CAGUAS              PR           00725

   173877 FLORENCIO SUAREZ MORCIGLIO                  REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   173878 Florencio Torres Torres                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   173879 FLORENCIO VELEZ HERVAS                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   654767 FLORENS FLOWER SHOP                         PO BOX 817                                                                                                  ARECIBO             PR           00613
          FLORENTINA DE JESUS
   173880 CARRASQUILLO                                REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   173881 FLORENTINA DIAZ SANTOS                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  654768 FLORENTINA INC                               174 CALLE POMARROSAS        Y BALDORIOTY DE CASTRO                                                              SAN JUAN             PR           00911

   654769 FLORENTINA MATOS RODRIGUEZ URB VILLAS CONTESA                           P2 CALLE KENT                                                                       BAYAMON              PR           00956
          FLORENTINA OTERO/ JOSE E
   173882 RIVERA                     REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   654770 FLORENTINA PADILLA OTERO   208 PARCELAS PUNTA PALMA                                                                                                         BARCELONETA          PR           00617
   173883 FLORENTINA REYES SOTO      REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   654771 FLORENTINA SANTIAGO        PO BOX 1506                                                                                                                      VILLALBA             PR           00766

   173884 FLORENTINA TIRADO SANTIAGO REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          FLORENTINA VAZQUEZ
   173885 FIGUEROA                   REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   654772 FLORENTINA VEGA SEPULVEDA                   HC 4 BOX 24309                                                                                                  LAJAS                PR           00667

   173887 FLORENTINO ALVAREZ LOZADA                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   654775 FLORENTINO AVILA LUGO                       VERSALLES                   B 21 CALLE2                                                                         BAYAMON              PR           00959
   173888 FLORENTINO BAEZ BAEZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   654777 FLORENTINO BAEZ CARILLO                     PO BOX 842                                                                                                      GUAYNABO             PR           00970

   173889 FLORENTINO BELTRAN CARDONA REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   654778 FLORENTINO BERRIOS AMARO                    HC 01 BOX 4201                                                                                                  NAGUABO              PR           00718‐9707
   173890 FLORENTINO BLANCO                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   173891 FLORENTINO CALCANO PIZARRO REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          FLORENTINO CASTRO Y CARMEN
   173892 N PAGÁN                    REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   173893 FLORENTINO CINTRON CINTRON REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   654782 FLORENTINO CRUZ MERCED     P O BOX 9669                                                                                                                     CIDRA                PR           00739

   654783 FLORENTINO FELICIANO ROLON                  BO OBRERO 716               CALLE BUENOS AIRES                                                                  SAN JUAN             PR           00915

   654784 FLORENTINO FIGUEROA                         232 AVE ELEONOR ROOSEVELT                                                                                       SAN JUAN             PR           00907
   654786 FLORENTINO LONGO                            URB SUSAN COURT             8A CALLE SUSAN COURT                                                                GUAYNABO             PR           00966
   654787 FLORENTINO LOPEZ                            CIUDAD DE ORO 225           522‐6B CALLE BIENESTAR                                                              ISABELA              PR           00662

   173894 FLORENTINO LOZADA MERCADO REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   654789 FLORENTINO MULERO MULERO                    RR 4 BOX 1125                                                                                                   BAYAMON              PR           00956
   654790 FLORENTINO PEREZ CHEVERE                    URB STA JUANITA             DG 9 CALLE BABILONIA                                                                BAYAMON              PR           00956
   654792 FLORENTINO RAMOS LUNA                       PO BOX 1341                                                                                                     VEGA BAJA            PR           00694
   654773 FLORENTINO RIVERA                           PO BOX 21365                                                                                                    SAN JUAN             PR           00928
          FLORENTINO RODRIGUEZ
   654794 FALERO                                      PO BOX 268                                                                                                      CAROLINA             PR           00986
          FLORENTINO RODRIGUEZ
   173895 IRIZARRY                                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   654774 FLORENTINO RODRIGUEZ RAMOS RR 1 BOX 10221                                                                                                                   TOA ALTA             PR           00953
   654795 FLORENTINO ROSADO          BO HIGUILLAR SEC LA ALDEA                    PARCELA 22                                                                          DORADO               PR           00646

   173896 FLORENTINO ROSARIO TEBERA                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED



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   654797 FLORENTINO SANTIAGO RIVERA                  HC 03 BOX 15542                                                                                                      COROZAL             PR           00783

   173897 FLORENTINO VARGAS SANCHEZ                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   173898 FLORENTINO VILLEGAS CATALA                  REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   654798 FLORENTNO GONZALEZ FUENTES HC 01 BOX 3566                                                                                                                        LOIZA               PR           00772

   173900 FLORES A ACEVEDO GONZALEZ                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   173922 FLORES ADORNO, LUZ V                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FLORES ALMODOVAR MD,
   173941 HECTOR                                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   173935 FLORES APONTE MD, HECTOR L                  REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   654799 FLORES AUTO PARTS                           HC 645 BOX 4414                                                                                                      TRUJILLO ALTO       PR           00976
   654800 FLORES AUTO REPAIR                          P O BOX 1204                                                                                                         CAROLINA            PR           00986
   654801 FLORES AUTO SERVICE                         HC‐01 BOX 12203                                                                                                      CAROLINA            PR           00987
   174007 FLORES BETANCOURT, LESLIE                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   654802 FLORES BUS LINE                             PO BOX 1645                                                                                                          CIDRA               PR           00739
   174029 FLORES BUS LINE INC.                        PO BOX 1193                                                                                                          LAJAS               PR           00667
   174032 FLORES CABAN MD, LUIS                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   174043 FLORES CAMACHO MD, AXEL D                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FLORES CAR CARE/ IRIS ORTIZ
   654803 ORTIZ                                       3 H 1 AVE LOMAS VERDES                                                                                               BAYAMON             PR           00956

   174096 FLORES CASAS MARGARITA INC PO BOX 1527                                                                                                                           LAS PIEDRAS         PR           00771
   174101 FLORES CASTILLO, BLANCA R.  REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FLORES CATERING Y/O MARIANO
   654804 FLORES                      HC 67 BOX 13505                                                                                                                      BAYAMON             PR           00956
   174110 FLORES CENTENO, YARELISE    REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   174114 FLORES CHEVERE MD, VICTOR L                 REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                  URB. RINCÓN ESPAÑOL CALLE 7
  1419757 FLORES CUADRADO, ANA M.                     SRA. ANA M. FLORES CUADRADO G‐3                                                                                      TRUJILLO ALTO       PR           00976

   174252 FLORES DE HOSTOS MD, EDDY                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1419758 FLORES DE JESUS, VILMA                      ALBERTO COURET                PO BOX 268                                                                             CAROLINA            PR           00986‐0286

                                                                                    THE TOWER AT CONDADO 1473
  1419759 FLORES DEL VALLE, JUAN C.                   MARIANA BULA                  AVENIDA WILSON SUITE 304                                                               SAN JUAN            PR           00907
  1419760 FLORES DEL VALLE, MARÍA                     SYLVIA LUGO SOTOMAYOR         #7 CALLE BAYAMÓN                                                                       SAN JUAN            PR           00918
  1419761 FLORES DEL VALLE, MARÍA                     SYLVIA LUGO SOTOMAYOR         #7 CALLE BAYAMÓN                                                                       SAN JUAN            PR           00918
                                                                                    AVE. DOMENECH 207 OFICINA
  1419762 FLORES DIAZ, OMAR                           PEDRO JOEL LANDARU LOPEZ      106                                                                                    SAN JUAN            PR           00901
  1419763 FLORES FLORES, AMARILYS                     FLORES FLORES, AMARILYS       PO BOX 177                                                                             COMERIO             PR           00782

  1419764 FLORES FLORES, AMARILYS                     SRA. AMARILYS FLORES FLORES   PO BOX 177                                                                             COMERÍO             PR           00782
   174401 FLORES FLORES, NAOMI L.                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   174462 FLORES GAYA VICTOR                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   654805 FLORES GONZALEZ CAJIGAS                     PO BOX 623                                                                                                           AGUADA              PR           00602
  1419765 FLORES GONZALEZ, CARLOS                     ELIS O. POMALES POMALES       AVE. JOSE VILLARES # 21                                                                CAGUAS              PR           00725



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                                                                                 URB. VILLA DEL CARMEN 2736
  1419766 FLORES GONZÁLEZ, FREDERICK                  BRENDAIRIN CRUZ SANTIAGO   CALLE TOLEDO                                                                             PONCE               PR           00716‐0223

  1422969 FLORES GONZÁLEZ, JOSÉ M.                    RUTH E. AQUINO GARCÍA      LCDA. RUTH E. AQUINO GARCÍA   CALLE FLOR GERENA #51 (ALTOS)                              HUMACAO             PR           00791
   174516 FLORES GUEVARA, JOSE A                      REDACTED                   REDACTED                      REDACTED                      REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED

   174537 FLORES HERNANDEZ, MARIA A   REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   174547 FLORES HOME CARE INC        CARR 963 PMB 184425                                                                                                                 DORADO              PR           00646
   174566 FLORES JAY CORTES CORTES    REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   654806 FLORES LEON RIVERA          C 62 SECTOR PLAYITA                                                                                                                 SALINAS             PR           00751
   174592 FLORES LOPEZ MD, REGINO     REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                      SR. CARLOS FLORES
  1419767 FLORES MALDONADO, CARLOS L. MALDONADO                                  BOX 3350                                                                                 JUNCOS              PR           00777
   174651 FLORES MARRERO, ALEXIS      REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FLORES MARRERO, HOMMY Y
  1419768 OTROS                       GILBERTO E. PADUA TRABAL                   AVE. JESUS T.PIÑERO #1111                                                                SAN JUAN            PR           00920‐5605
   174662 FLORES MARTELL, LAURA       REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   174697 FLORES MD , MARIA S         REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   174701 FLORES MEDINA, ISABEL       REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   174714 FLORES MEDINA, SARA         REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FLORES MÓJICA, DANIEL;
  1419769 JACKELINE SOTO PÉREZ        NORA CRUZ MOLINA                           PO BOX 2795                                                                              ARECIBO             PR           00613‐2795
   174822 FLORES MUNOZ ELIGIO         REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   654807 FLORES OFFICE SUPPLIES      PO BOX 29495                                                                                                                        SAN JUAN            PR           00929
   174877 FLORES OLAN, CARMEN E       REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   174891 FLORES OQUENDO, RAMON       REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   654808 FLORES PADOVANI TOMAS       VILLA INTERAMERICANA                       C14 CALLE 5                                                                              SAN GERMAN          PR           00683
   174949 FLORES PAGAN, JAIME E       REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   175014 FLORES PIZARRO, CRISTINA R. REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   175076 FLORES REYES, MYRNA L       REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   175078 FLORES RIOS MD, RAMON       REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   175137 FLORES RIVERA, MARIA        REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   175267 FLORES ROMAN CRESPO         REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   175275 FLORES ROMAN, JOSE L        REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1422815 FLORES SANTIAGO, CARLOS                     ALBERTO RIVERA RAMOS       CONDOMINIO PLAZA DEL MAR      APT. 305 3001 AVE. ISLA VERDE                              CAROLINA            PR           00979
          FLORES SEWING MACHINE
   654809 REPAIR                                      2 TOMAS DE CASTRO          SECTOR LOS FLORES KM 1 7                                                                 CAGUAS              PR           00726
          FLORES SOFTWARE &
   654810 CONSULTING                                  186 CALLE DUARTE                                                                                                    SAN JUAN            PR           00917
   654811 FLORES TELECOM INC                          P O BOX 1076                                                                                                        SAN LORENZO         PR           00754
   175466 FLORES TIRE CENTER                          LA GLORIA                  HC 61 BOX 4414                                                                           TRUJILLO ALTO       PR           00976
   654812 FLORES TORRES MARIO                         URB ALTA VISTA             1992 CALLE AFRODITA                                                                      PONCE               PR           00716
   175553 FLORES VASQUEZ, RAYMOND                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   175554 FLORES VAZQUEZ MD, NESTOR J REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                 CALLE ESTEBAN PADILLA 60‐E‐
  1419770 FLORES VELLIDO, EFREN                       HECTOR SANTIAGO RIVERA     ALTOS                                                                                    BAYAMON             PR           00959
   175608 FLORES VERGARA, IDALIA                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   175616 FLORES VIERA, PETRA D                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   654814 FLORES Y ALGO MAS                           RR 01 BZN 11958                                                                                                     MANATI              PR           00674
          FLORES Y ALGO MAS / FUN Y
   175628 CAPILLA PEDRO                               20 JESUS T PINERO                                                                                                   PATILLAS            PR           00723



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   654815 FLORES Y MANUALIDADES JESSY 78 CALLE COMERCIO                                                                                                                  JUANA DIAZ            PR           00795

   654816 FLORES Y REGALOS MIRIANGIE                  URB FOREST HLS              A2 CALLE MARGINAL                                                                      BAYAMON               PR           00959
                                                                                  173 CALLE SAN JORGE
   654817 FLORES Y SERVICIOS                          ESQ BALDORIOTY              MARGINAL                                                                               SAN JUAN              PR           00920
   654818 FLOREX FLOWER                               PO BOX 872                                                                                                         MANATI                PR           00674
   175670 FLOREZ ORTIZ, FRANCISCO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   654819 FLORIA ALFARO DE OQUENDO                    URB HYDE PARK               274 CALLE PERU                                                                         SAN JUAN              PR           00918
          FLORIA CRESPO                               RODRIGUEZ & JOSE PEREZ
   654820 ROSAS,NORBERTO CARRERO                      VILLANUEVA                  129 CALLE COLON                                                                        AGUADA                PR           00602
   654821 FLORIAN MARTINEZ TAMAYO                     PO BOX 7474                                                                                                        CAGUAS                PR           00726‐7474

   175674 FLORIAN PEÑA MD, GANIMEDES                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   175675 FLORIBERT PEREZ GONZALEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          FLORIDA ARTHRITIS &
   175676 RHEUMATISM INC                              ATTN MEDICAL RECORDS        201 HILDA ST STE 22                                                                    KISSIMMEE             FL           34741
   175677 FLORIDA BAKERY INC                          PO BOX 336119                                                                                                      PONCE                 PR           00733
   654823 FLORIDA BUSINESS MACHINES                   416 AVE ANDALUCIA                                                                                                  SAN JUAN              PR           00920
   175678 FLORIDA CANCER SPECIALIST                   ATTN MEDICAL RECORDS        2401 60TH STREET CT W                                                                  BRADENTON             FL           34209

   175679 FLORIDA CANCER SPECIALISTS                  8344 CLAIREMONT MESA BLVD   SUITE 201                                                                              SAN DIEGO             CA           92111
          FLORIDA COUNCIL ON
   654825 ECONOMIC EDUCATION                          B11 N WESSHORE BLVD STE 101                                                                                        TAMPA                 FL           33607‐4615
   175681 FLORIDA EPILEPSY CENTER                     615 E PRINCETON STREET      SUITE 540                                                                              ORLANDO               FL           32803
   654826 FLORIDA ESSO                                PO BOX 1136                                                                                                        SABANA HOYOS          PR           00888
   654827 FLORIDA ESSO SERVICE                        P O BOX 780                                                                                                        FLORIDA               PR           00650
   175682 FLORIDA EYE CENTER                          1515 9TH AVENUE NORTH                                                                                              ST PETERSBURG         FL           33705
   175683 FLORIDA EYE CLINIC                          160 BOSTON AVE                                                                                                     ALTAMONTE SPRINGS     FL           32701

          FLORIDA GULF STATION/JESUS
   654829 GUZMAN GERENA                               HC 1 BOX 3026A                                                                                                     CAMUY                 PR           00627
   175684 FLORIDA HEART ASSOCIATES                    1550 BARKLEY CIR                                                                                                   FORT MYERS            FL           33907
          FLORIDA HEART VASCULAR
   175685 CENTER                                      511 MEDICAL PLAZA DRIVE     SUITE 101                                                                              LEESBURG              FL           34748
   654831 FLORIDA HOSP MED CENTER                     PO BOX 862304                                                                                                      ORLANDO               FL           32886‐2304
   175686 FLORIDA HOSPITAL                            545 JOHN CARPENTER PWY      STE 700                                                                                IRVING                TX           75062
          FLORIDA HOSPITAL CANCER
   175689 INSTITUTE                                   ATTN MEDICAL RECORDS        2501 N ORANGE AV STE 689                                                               ORLANDO               FL           32804
          FLORIDA HOSPITAL
   175690 CARROLLWOOD                                 PO BOX 409669                                                                                                      ATLANTA               GA           30384‐9669

   175691 FLORIDA HOSPITAL CELEBRATION PO BOX 409822                                                                                                                     ATLANTA               GA           30384‐9822

   175692 FLORIDA HOSPITAL CENTRA CARE MEDICAL RECORDS                            2301 SAND LAKE RD                                                                      ORLANDO               FL           32809‐7639
          FLORIDA HOSPITAL FISH
   175694 MEMORIAL                     PO BOX 409822                                                                                                                     ATLANTA               GA           30384‐9822

   654832 FLORIDA HOSPITAL HEARTLAND P O BOX 862306                                                                                                                      ORLANDO               FL           32886‐2306
          FLORIDA HOSPITAL TRANSPLANT
   175695 CENTER                      MEDICAL RECORDS                             2415 N ORANGE AVE STE 700                                                              ORLANDO               FL           32804




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          FLORIDA HOSPITAL WINTER
   175696 PARK                                        PO BOX 152472                                                                                       IRVING              TX           75015‐2472

   175697 FLORIDA HOSPITAL ZEPHYRHILLS                PO BOX 15082                                                                                        BROOKSVILLE         FL           34604
          FLORIDA INFUSION / NATIONS
   654833 DRUG                                        1053 PROGRESS COURT            PALM HARBOR                                                          FLORIDA             FL           34683
          FLORIDA INSTITUTE FOR
   175698 NEUROLOGIC REHAB                            ATTN MEDICAL RECORDS           PO BOX 1348                                                          WAUCHULA            FL           33873
          FLORIDA INSTITUTE FOR
   654834 NEUROLOGIC REHABIL                          P O BOX 1348                                                                                        WAUCHULA            FL           33873‐1348
   654835 FLORIDA LIME CORP                           PO BOX 364487                                                                                       SAN JUAN            PR           00936
          FLORIDA MEDICAL CENTER
   175699 HOSPITAL                                    PO BOX 19058                                                                                        GREEN BAY           WI           54307
   654836 FLORIDA MEDICAL PRACTICE                    P O BOX 918025                                                                                      ORLANDO             FL           32891
   654837 FLORIDA MOTORS INC                          PO BOX 6750                                                                                         CAGUAS              PR           00726

   654838 FLORIDA NEUROVASCULAR INST                  P O BOX 388                                                                                         TAMPA               FL           33601‐0388
          FLORIDA ORTHOPAEDIC ASSOC
   175700 PA                                          PO BOX 403747                                                                                       ATLANTA             GA           30384‐3747
          FLORIDA ORTHOPAEDIC
   175701 ASSOCIATES PA                               740 W PLYMOUTH AVENUE                                                                               DELAND              FL           32720
   654839 FLORIDA PEDIATRIC ASSOC                     P O BOX 1960                                                                                        ST PETERSBURG       FL           33731

   654840 FLORIDA PHYSICIANS MEDICAL                  PO BOX 538600                                                                                       ORLANDO             FL           32853‐8600

   654841 FLORIDA PRADO VDA CARRERO                   URB FLAMINGO HILLA             316 CALLE 11A                                                        BAYAMON             PR           00957
          FLORIDA READING & VISION
   175702 TECH INC                                    P O BOX 519                                                                                         FORT LAUDARDSLE     NY           33302‐0519
   175703 FLORIDA REALTY                              7 CALLE JOSE DE DIEGO                                                                               FLORIDA             PR           00650
          FLORIDA SCHOOL FOR THE DEAF
   654842 AND BLIND                                   207 NORTH SAN MARCO AVE                                                                             ST AUGUSTINE        FL           32084 2799
   175704 FLORIDA SPINE CARE CENTER                   ATTN MEDICAL RECORDS           PO BOX 568008                                                        ORLANDO             FL           32856‐8008
   654843 FLORIDA STATE UNIVERSITY                    FSU COLLEGE OF LAW R47                                                                              TALLAHASSEE         FL           32306
   654844 FLORIDA STORE INC                           P O BOX 11910                                                                                       SAN JUAN            PR           00922‐1910
   654845 FLORIDALIA CRUZ RABASSA                     URB JACAGUAY                   57 CALLE 2                                                           JUANA DIAZ          PR           00795
   654846 FLORILDA FORESTIER DIAZ                     1149 CALLE BAHIA                                                                                    SAN JUAN            PR           00920
   175709 FLORIMAR ENTERPRISE INC                     PO BOX 2130                                                                                         VEGA BAJA           PR           00694
   654847 FLORINDA ALMONTE PEREZ                      COUNTRY CLUB                   JG 20 CALLE 243                                                      CAROLINA            PR           00982
   654848 FLORIPE MARTINEZ VILLODAS                   BO CALZADOS 167                                                                                     MAUNABO             PR           00707
   654849 FLORISOL GARAY ACOSTA                       VILLA PALMERA                  128 CALLE UNION                                                      SAN JUAN            PR           00915
   654850 FLORIST NOVIA                               11 O MCKINLEY                                                                                       MAYAGUEZ            PR           00680
   654851 FLORIST NOVIAS                              11 CALLE MCKINLEY OESTE                                                                             MAYAGUEZ            PR           00680
          FLORISTERIA & CASA NOVIA
   654852 RIVERA                                      PO BOX 9024275                                                                                      SAN JUAN            PR           00902‐4275
   654855 FLORISTERIA ALEJITA                         PO BOX 779                                                                                          AGUAS BUENAS        PR           00703

   654856 FLORISTERIA ANNIE                           137 CALLE JOSE CELSO BARBOSA                                                                        LAS PIEDRAS         PR           00771
   654857 FLORISTERIA AVE DE PARAISO                  PO BOX 619                                                                                          OROCOVIS            PR           00720
          FLORISTERIA BLOOMINGDALES
   654858 INC                                         PO BOX 79137                                                                                        CAROLINA            PR           00984‐9137
   654859 FLORISTERIA BONNYS                          PO BOX 9024275                                                                                      SAN JUAN            PR           00902‐4275
          FLORISTERIA BRENDY JOHN &
   654861 GIFT SHOP                                   PO BOX 467                                                                                          CEIBA               PR           00735



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  654862 FLORISTERIA CARIBE                           URB CARIBE                    1067 CALLE GILA                                                                          SAN JUAN          PR           00926
  654863 FLORISTERIA CARMENCITA                       50 CALLE GEORGETTI                                                                                                     BARCELONETA       PR           00617
                                                      34 CALLE MUNOZ RIVERA BOX
   175710 FLORISTERIA CASA MARINA                     571                                                                                                                    MAUNABO           PR           00707
   654864 FLORISTERIA CUPIDO                          297 MENDEZ VIGO                                                                                                        DORADO            PR           00646
   654865 FLORISTERIA D YITA                          EXT SANTA TERESITA            BM 5 CALLE C                                                                             PONCE             PR           00731
   654866 FLORISTERIA ELBA                            BOX 531                                                                                                                OROCOVIS          PR           00720
   654867 FLORISTERIA ESENCIA                         35 CALLE CULTO                                                                                                         COROZAL           PR           00783
   654868 FLORISTERIA EV JA DI                        URB VILLA NEVAREZ             1052 CALLE 5                                                                             SAN JUAN          PR           00927

   654869 FLORISTERIA EXPRESSION                      VILLA FONTANA                 2 UR 629 AVE SANCHEZ OSORIO                                                              CAROLINA          PR           00983
   654871 FLORISTERIA GLORALIZ                        50 BETANCES                                                                                                            AIBONITO          PR           00705

   654872 FLORISTERIA HERMANAS DAVILA RR 4 BOX 489                                                                                                                           BAYAMON           PR           00956
   654873 FLORISTERIA HNAS DAVILA     PO BOX 662                                                                                                                             BAYAMON           PR           00960
          FLORISTERIA KLARY/JAVIER
   654874 MENDEZ                      4360 AVE MILITAR SUITE 1                                                                                                               ISABELA           PR           00662‐4157
   175711 FLORISTERIA LA CAMPINA      CIUDAD UNIVERSITARIA                          B 1 5 AVE PERIFERAL                                                                      TRUJILLO ALTO     PR           00976
   654876 FLORISTERIA MADELINE        47 CALLE ANGEL G MARTINEZ                                                                                                              SABANA GRANDE     PR           00637
   654877 FLORISTERIA MAYRA           PO BOX 552                                                                                                                             RIO GRANDE        PR           00745
   654878 FLORISTERIA MIOSOTIS        N 7 AVE FAGOT                                                                                                                          PONCE             PR           00731

   654879 FLORISTERIA MUNDO DE AMOR                   37 CALLE ANGL G MARTINEZ                                                                                               SABANA GRANDE     PR           00637
   654880 FLORISTERIA NEREIDA                         PO BOX 841                                                                                                             MAYAGUEZ          PR           00681

   175712 FLORISTERIA OCACIONES                       CARR 159 KM 16 4 BO MAVILLA                                                                                            COROZAL           PR           00783
   175713 FLORISTERIA PENA POBRE                      HC 1 BOX 4633                                                                                                          NAGUABO           PR           00718
   654883 FLORISTERIA PRISCILA                        PO BOX 495                                                                                                             VEGA BAJA         PR           00694
          FLORISTERIA RI ASTRID/JULIO
   654884 FERRER                                      63 NORTE CALLE HOSTOS                                                                                                  GUAYAMA           PR           00784
   654885 FLORISTERIA RIVERA                          19 CALLE BALDORIOTY                                                                                                    SABANA GRANDE     PR           00637
                                                      CARR 864 MARGINAL 49 HATO
   654886 FLORISTERIA RIVERVIEW                       TEJAS                                                                                                                  BAYAMON           PR           00759
   654887 FLORISTERIA ROCAMAR                         RR 2 BOX 1832                                                                                                          SAN JUAN          PR           00926
   654889 FLORISTERIA SAN ANDRES                      HC 1 BOX 5315                                                                                                          BARRANQUITAS      PR           00794
   654890 FLORISTERIA TERESA                          HC 52 BOX 2833                                                                                                         GARROCHALES       PR           00652

   654891 FLORISTERIA VELAZQUEZ EMIR                  PO BOX 10189                                                                                                           SAN JUAN          PR           00908
   175714 FLORISTERIA VINAS                           RES LUIS LIOREN TORRES        EDIF 22 APT 466                                                                          SAN JUAN          PR           00913

   654892 FLORISTERIA VINAS CORP                      22 RES LLORENS TORRES APT 466                                                                                          SAN JUAN          PR           00913
   654893 FLORISTERIA XIOMARA                         HC 01 BOX 8705                                                                                                         VIEQUES           PR           00765‐9200
   654894 FLORISTERIA YARI                            URB PLA                       1 CALLE FERNANDO PLA                                                                     CAGUAS            PR           00725
   654895 FLORITA FIGUEROA SANTOS                     HC 1 BOX 5376                                                                                                          CIALES            PR           00638
   175715 FLORITA L NOGUERAS RUIZ                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   175716 FLORITA MASSAS MASSAS                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          FLORITA MORALES Y RAFAEL
   175717 GONZALEZ                                    COND FIRST FEDERAL            AVE MUNOZ RIVERA STE 601                                                                 SAN JUAN          PR           00927
   654896 FLORITA POLANCO GERENA                      34 CALLE ARIZMENDI                                                                                                     FLORIDA           PR           00650
   654897 FLORITA ROSA AROCHO                         URB ESTEVES                   6016 CALLE GUAMAN                                                                        AGUADILLA         PR           00603

   175718 FLORITA SUSTACHE SUSTACHE                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED




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   175719 FLORMARI RODRIGUEZ ATILES                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   175720 FLORSIDA GARCIA CARBONELL                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   654899 FLORYS GARCIA RIVERA                        PO BOX 1061                                                                                                         GUAYAMA              PR           00785‐1061

   654900 FLOSHILDA ORENGO DE TORRES PARCELA JAUCA                                  246 CALLE 3                                                                           SANTA ISABEL         PR           00757

   175721 FLOUR DANIEL CARIBBEAN INC                  PO BOX 70364                                                                                                        SAN JUAN             PR           00936‐3640
                                                      URB. LAGO HORIZONTE 2517
   175722 FLOWER & FLORIST SERVICES                   CALLE RUBI COTO LAUREL                                                                                              PONCE                PR           00780‐2418

   654902 FLOWER & WEDDING DESIGNER 2 PLAZA SUCHVILLE SUITE 104                                                                                                           GUAYNABO             PR           00966
   654903 FLOWER EXPRESS            SANTA TERESA                                    689 AVE JOURNET                                                                       MAYAGUEZ             PR           00680
                                                                                    992 CALLE ALMONTE VILLA
   654904 FLOWER MARKET DIST.                         EXP TRUJILLO ALTO             GRANADA                                                                               SAN JUAN             PR           00923
   654905 FLOWERS & GALLERY                           259 CALLE CRISTO                                                                                                    SAN JUAN             PR           00901
   654906 FLOY TAG MANUFACTURING                      4616 UNION BAY PLACE NE                                                                                             SEATTLE              WA           98105
   175725 FLP SERVICES CORP                           250 CALLE MUNOZ RIVERA                                                                                              FAJARDO              PR           00738

   654907 FLUID ENGINEERING CORP                      352 AVE SAN CLAUDIO STE 367                                                                                         SAN JUAN             PR           00926
          FLUSHING HOSPITAL MEDICAL
   175727 CENTER                                      45TH AVE AT PARSONS BLVD                                                                                            FLUSHING             NY           11355‐2100
   175728 FLY MD , ERIN M                             REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   654908 FLYNN PUBLICATIONS                          P O BOX 2530                                                                                                        DECATUR              GA           30031‐2530
   175735 FM VAMC                                     113 COMMANCHE RD                                                                                                    FT MEADE             SD           57741
          FMC DIALYSIS SERVICES OF
   175736 CANOVANAS                                   CARR 3 KM 19.9                PO BOX 1604                                                                           CANOVANAS            PR           00729‐1604
                                                                                    3306 AVE SANTIAGO DE LOS
   654909 FMC DISTRIBUTORS INC                        PLAYA DE PONCE                CABALLEROS                                                                            PONCE                PR           00716‐2007
   175737 FMG TRADING LLC                             PO BOX 194062                                                                                                       SAN JUAN             PR           00919‐4062

   175738 FMS ADVANCE SYSTEMS GROUP 8150 LEESBURG PIKE                              SUITE 1150                                                                            VIENNA               VA           22182
          FMT INC Y/O BANCO DES                                                     100 GRAND BOULEVARD LOS
   175739 ECONOMICO PR               SUITE 112 PMB 396 100                          PASEOS                                                                                SAN JUAN             PR           00926
                                     1575 AVE MUNOZ RIVERA SUITE
   175740 FN INDUSTRIAL SUPPLY       271                                                                                                                                  PONCE                PR           00717‐0211
   175741 FNC CONSULTANTS P S C      P O BOX 299                                                                                                                          AGUADILLA            PR           00605
   654911 FOAM CEM CARIBE INC        PO BOX 13000                                                                                                                         SAN JUAN             PR           00908
   175743 FOAM CEM CARIBE, INC.      CARR 831 KM 2.5                                SECTOR LA LOMITA                                                                      BAYAMÓN              PR           00956
   654912 FOAM PACK                  PO BOX 363633                                                                                                                        SAN JUAN             PR           00936
   654913 FOAM PACK INC              PO BOX 363633                                                                                                                        SAN JUAN             PR           00936633
   175744 FOAMCEN CARIBE INC         PO BOX 13000                                                                                                                         SAN JUAN             PR           00908
   175745 FOCAL POINT INC            PMB 731                                        1353 AVE LUIS VIGOREAUX                                                               GUAYNABO             PR           00966
          FOCUS BUSINESS
   654914 COMMUNICATION INC          PO BOX 11856                                                                                                                         SAN JUAN             PR           00922‐1856
   654915 FOCUS ENVIRONMENTAL INC    9050 EXECUTIVE PARK DRIVE                      SUITE A 2002                                                                          KNOXVILLE            TN           37923
          FOCUS RISK MANAGEMENT                                                     AUSTRAL 1353 AVE LUIS
   175747 SPECIALIST                 PMB 592                                        VIGOREAUX                                                                             GUAYNABO             PR           00966
          FOCUS RISK MANAGEMENT
   175748 SPECIALISTS, CORP          AVE LUIS VIGOREAUX 1353                        PMB 592                                                                               GUAYNABO             PR           00966
   175749 FOCUS RM SPECIALIST, CORP. AVE. LUIS VIGOREAUX                            PMB 582 1353                                                                          GUAYNABO             PR           00966
   175750 FOCUS RM SPECIALISTS CORP  PMB 592                                        1353 AVE LUIS VIGOREAUX                                                               GUAYNABO             PR           00966



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  175751 FOFUCHAS INC                                 PUERTO NUEVO                268 AVE DE DIEGO                                                                 SAN JUAN            PR           00920

   175752 FOGEL CARIBBEAN CORP                        170 AVE PEDRO ALBIZU CAMPOS                                                                                  AGUADILLA           PR           00603
          FOGEL CARIBBEAN                             170 AVE. PEDRO ALBIZU
   175753 CORPORATION                                 CAMPOS                                                                                                       AGUADILLA           PR           00603‐0000
   654916 FOLCH                                       173 CALLE SAN JORGE SUITE 6                                                                                  SAN JUAN            PR           00913
   175756 FOLCH COLON, ALMA L                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   175769 FOLDER PRINTERS                             5920 BOWCROFT ST.                                                                                            LOS ANGELES         CA           90016
                                                                                  SECTOR ANICETO CRUZ
   175770 FOLEI                                       CALLE RUPERTO BURGOS        CANDELERO                                                                        HUMACAO             PR           00791‐9646
   175771 FOLEI GROUP INC                             HC 11 BOX 12806                                                                                              HUMACAO             PR           00791‐9646
   175772 FOLEY & LARDNER LLP                         300 K STREET NW SUITE 500                                                                                    WASHINGTON          DC           20007
   654917 FOLIO BOOKS                                 11 RIVERBEND DRIVE SOUTH    PO BOX 4284                                                                      STAMFORD            CT           06907‐0949
   654918 FOLKLORE DE PR                              9 CALLE MODESTO SOLA                                                                                         CAGUAS              PR           00725
          FOLKSAMARICA REINSURANCE
   654919 COMPANY                     ONE LYBERTY PLAZA                           19TH FLOOR                                                                       NEW YORK            NY           10006‐1404
   654920 FOLLY PRINT                 510 AVE ANDALICIIA                                                                                                           SAN JUAN            PR           00920
          FOMENTO DE EMPRESAS
   175773 TRABAJADORES DUENOS         RR 36 BZN 6137                                                                                                               SAN JUAN            PR           00926
   175779 FONDITA DIVINO NINO JESUS   REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   654921 FONDITA SANTA MARTA         PO BOX 10                                                                                                                    UTUADO              PR           00641
          FONDO DE AYUDA SOCIAL DEL
   175780 LEONISMO D 51               AVE. FERNANDEZ JUNCOS # 953                                                                                                  SAN JUAN            PR           00936
          FONDO DE BENEFICIOS AL
   175781 TRABAJADOR                  P O BOX 11542                                                                                                                SAN JUAN            PR           00692
          FONDO DE EXCELENCIA
   654922 MAGISTERIAL PR              PO BOX 71396                                                                                                                 SAN JUAN            PR           00936‐8396
          FONDO DE INVERSION Y
   654923 DESARROLLO COOPERAT         EDIF PONDEROSA                              C 20 CALLE EBANO                                                                 GUAYNABO            PR           00968‐3107
   654925 FONDO EDITORIAL ERGOS       17B ALTOS MARINA                                                                                                             PONCE               PR           00731
          FONDO FOMENTO INDUSTRIA DE
   175782 HUEVOS / ASDA               P O BOX 126                                                                                                                  CAGUAS              PR           00726‐0126
          FONDO FOMENTO INDUSTRIA
   175784 DEL HUEVOS                  P O BOX 126                                                                                                                  CAGUAS              PR           00726 0126
          FONDO FOMENTO INDUSTRIA
   175786 LECHERA                     PO BOX 360454                                                                                                                SAN JUAN            PR           00936
          FONDO INTEGRAL PARA EL
   654926 DESARROLLO                  AGRICOLA DE PUERTO RICO INC                 PO BOX 9745                                                                      SAN JUAN            PR           00908
          FONDO PARA EL DESARROLLO
   654927 DEL TURISMO                 PO BOX 42001                                                                                                                 SAN JUAN            PR           00940‐2201
          FONDO PARA EL FOMENTO DE LA
   175787 INDUSTRIA                   DE CARNE DE CERDO DE PR                     P O BOX 9254                                                                     SAN JUAN            PR           00908

   654928 FONDO PRO CANCHA ESCUELA                    PO BOX 327                                                                                                   SAN LORENZO         PR           00754
   175788 FONDO SEGURO ESTADO                         DEPT HACIENDA                                                                                                SAN JUAN            PR           00901
   175791 FONDOS BENEFICOS UNIDOS                     PO BOX 191914                                                                                                SAN JUAN            PR           00919‐1914
          FONDOS PRO CAPILLA LA
   654929 CHANGA                                      HC 05 BOX 56029                                                                                              CAGUAS              PR           00725‐9219
   175792 FONDOS UNIDOS                               INTENDENTE RAMIREZ                                                                                           SAN JUAN            PR           00901
  1256503 FONDOS UNIDOS DE PR                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          FONDOS UNIDOS DE PUERTO
   175794 RICO                                        P.O. BOX 191914                                                                                              SAN JUAN            PR           00919‐1914
   654930 FONSECA COMMUNATIONS                        URB SAN GERARDO             335 CALLE NEVADA                                                                 SAN JUAN            PR           00926



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          FONSECA COMUNICATIONS A/C
   654931 MARVIN FONSECA                              URB APOLO                     2061 CALLE CLOTO                                                                        GUAYNABO             PR           00969
   175982 FONSECA ORTIZ, ALVIN                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

  1419771 FONSECA RODRÍGUEZ, NILSA I.                 HAROLD A. VÁZQUEZ PEDRAZA     PO BOX 8832                                                                             CAGUAS               PR           00726‐8832
   654932 FONSEKA COMUNICATIONS                       URB SAN GERARDO               335 CALLE NEVADA                                                                        SAN JUAN             PR           00926
                                                      DMTE‐ JOSE M. FONT DE
  1419772 FONT DE SANTIAGO, JOSE                      SANTIAGO                      360 AVE. DOMENECH APT. 314                                                              SASN JUAN            PR           00918

  1419773 FONT DE SANTIAGO, JOSE M.                   DR. JOSE M. FONTDE SANTIAGO 360 DOMENECH APT 314                                                                      SAN JUAN             PR           00918

  1419774 FONT DE SANTIAGO, JOSE M.                   DR. JOSE M. FONTDE SANTIAGO 360 DOMENECH APT 314                                                                      SAN JUAN             PR           00918

  1419775 FONT DE SANTIAGO, JOSÉ M.                   DR. JOSE M. FONTDE SANTIAGO 360 DOMENECH APTO 314                                                                     SAN JUAN             PR           00918

   176148 FONT DE SANTIAGO, OSVALDO E                 REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   176157 FONT INSURANCE INC                          PO BOX 1641                                                                                                           SAN SEBASTIAN        PR           00685
   654933 FONT INTERNATIONAL                          3330 WILKINS DR                                                                                                       FALLS CHURCH         VA           22041
   176162 FONT LOPEZ MD, FREDERICK                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   176167 FONT MARTELO HOME CARE                      P O BOX 9206                                                                                                          HUMACAO              PR           00792

   176175 FONT ORONOZ MD, YVONNE M                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   654934 FONT RIVERA JULIO                           PO BOX 373121                                                                                                         CAYEY                PR           00737
   654935 FONT SHOP                                   74 TEHAMA STREET                                                                                                      SAN FRANCISCO        CA           94105
   176209 FONT TRANSLATIONS                           CALLE CALAF 400, SUITE 268,                                                                                           San Juan             PR           00918‐1314
          FONTAINEBLEU PLAZA
   176221 DEVELOPMENT                                 PO BOX 194000                                                                                                         SAN JUAN             PR           00919‐0000
   176222 FONTAINEBLEU PLAZA S E                      PO BOX 194000                                                                                                         SAN JUAN             PR           00919
   654936 FONTAMEC CORP                               1117 CALLE WILLIAM JONES                                                                                              SAN JUAN             PR           00925
   176236 FONTAN FORTIS, MANUELA                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
  1419776 FONTAN ROSARIOS, JOSE. ELA                  MARIA DEL MAR DAVILA          PO BOX 8538                                                                             SAN JUAN             PR           00910‐0538
          FONTANET AVILES MD,
   176299 FRANCISCO J                                 REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   176301 FONTANET GRANA MD, RICARDO REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FONTANET SANCHEZ MD,
   176309 RICARDO                    REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FONTÁNEZ DÍAZ, MARÍA M. Y                                                 LCDA. MELBA DEL C. RAMOS
  1419777 OTROS                      MELBA DEL C. RAMOS APONTE                      APONTE APARTADO 945                                                                     SAN LORENZO          PR           00754
   654937 FONTANEZ ELECTRICAL SERV   PO BOX 9300100                                                                                                                         SAN JUAN             PR           00930‐0100

   176439 FONTANEZ FONTANEZ MD, JULIO REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FONTANEZ LOPEZ, YAHAIRA
   176491 IVETTE                      REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   176535 FONTANEZ NIEVES MD, LINNETTE REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                       TERESITA MERCADO
  1419778 FONTÁNEZ RAMOS, ANA          VIZCARRONDO                                  PO BOX 70244                                                                            SAN JUAN             PR           00936‐8244

   176607 FONTANEZ REYES MD, NYDIA E                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   176740 FONTANILLAS MD , JOSE A                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   176747 FOOD ADVENTURE CORP                         P O BOX 9362                                                                                                          SAN JUAN             PR           00907




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   176748 FOOD ANALYTICAL SERVICES INC                PO BOX 1154                                                                                                   JUNCOS              PR           00777
          FOOD CITY / MIGUEL VELEZ
   176749 QUINONES                                    P O BOX 775                                                                                                   LAJAS               PR           00667
   654938 FOOD GROUPLE INC                            P O BOX 907                                                                                                   MT PROSPECT         IL           60056
          Food Safety Certification &
   176750 Consulting                                  P.O BOX 648                                                                                                   BAYAMON             PR           00960‐0648
          FOOD SAFETY CERTIFICATION
   176751 CORP                                        P O BOX 648                                                                                                   BAYAMÓN             PR           00960‐0648
          FOODS & BEVERANGE
   654939 APPLIANCE                                   PO BOX 648                                                                                                    COROZAL             PR           00783
          FOOT & ANKLE CENTER OF
   176754 PHILADELPHIA                                CENTER CITY OFFICE              235 NORTH BROAD ST SUITE 300                                                  PHILADELPHIA        PA           19107
   176755 FOOT LOCKER                                 233 BROADWAY                                                                                                  NEW YORK            NY           10279‐0099
   176756 FOOT LOCKER INC                             3543 SIMPSON FERRY RD                                                                                         CAMP HILL           PA           17011
   176757 FOOT LOCKER RETAIL INC                      PO BOX 2731                                                                                                   HARRISBURG          PA           17105
   176758 FOOT LOCKER SPECIALTY INC                   HATO REY TOWER SUITE 805        268 MUNOZ RIVERA AVE                                                          SAN JUAN            PR           00918
   176759 FOOTSTAR CORPORATION                        933 MCARTHUR BLVD                                                                                             MAHWAH              NJ           07430
   176760 FOR MEDIA GROUP                             PO BOX 1928                                                                                                   CAROLINA            PR           00984‐1928
   176761 FOR MEDIA GROUP INC                         PO BOX 1928                                                                                                   CAROLINA            PR           00984‐1928
   831365 FOR Roofing Contractor                      Urb. Reparto Metropolitano      Calle 11SE #1014                                                              San Juan            PR           00921
   176762 FOR Roofing Contractors, Inc.               Urb. Reparto Metropolitano      Calle 11 SE #1014                                                             San Juan            PR           00921
   176767 FORCE LINK CORP                             PO BOX 16143                                                                                                  SAN JUAN            PR           00907
          FORCE TEMPORARY SERVICES
   654940 INC                                         PO BOX 195013                                                                                                 SAN JUAN            PR           00919‐5013
   176770 FORCULUS LLC                                P O BOX 10560                   CAPARRA STATION                                                               SAN JUAN            PR           00922‐0560
   654941 FORD AUTO PARTS                             PO BOX 3141                                                                                                   BAYAMON             PR           00960‐3141
   654942 FORD DEL OESTE                              P O BOX 789                                                                                                   HORMIGUEROS         PR           00660
   176771 FORD DEL SUR                                P O BOX 7365                                                                                                  PONCE               PR           00732‐7365

          FORD DELNORTE & DELNORTE
   654943 LINCOLN MERCURY                             P O BOX 1712                                                                                                  ARECIBO             PR           00659

   176773 FORD INTERNATIONAL BUSINESS PO BOX 11957                                                                                                                  SAN JUAN            PR           00922‐1957
   176774 FORD MOTOR COMPANY          PO BOX 724016                                                                                                                 ATLANTA             GA           31139‐9998
   176775 FORD MOTOR CREDIT           PO BOX 364189                                                                                                                 SAN JUAN            PR           00936‐4189
   654945 FORD MOTOR CREDIT OF P R    PO BOX 364189                                                                                                                 SAN JUAN            PR           00936 4189
   654946 FOREEVER YOUNG              884 B ASHFORD AVE                                                                                                             SAN JUAN            PR           00907 1000
          FORENSIC ENGINEERING
   176778 SERVICES                    PO BOX 5544                                                                                                                   CAGUAS              PR           00726
   176779 FORENSIC STORE INC          695 ALDERMAN ROAD                                                                                                             PALM HARBOR         FL           34683
   831367 Forensic Technology, Inc.   5844 Deer Trail Circle                                                                                                        Woodbury            MN           55129
   176780 FORENSICS INC               PO BOX 13267                                                                                                                  SAN JUAN            PR           00908

   654947 FORESIGHT TECHNOLOGIES INC                                               107 CALLE ISABEL ANDREW AGUILAR                                                  HATO REY            PR           00918
   654948 FOREST FARM INC                             P O BOX 863                                                                                                   YABUCOA             PR           00767

   176784 FOREST HILL FAM HLTH ASSOC                  MEDICAL RECORDS                 465 MT PROSPECT AVE                                                           NEWARK              NJ           07104
                                                                                      C 33 CALLE MARGINAL ESQ LA
   654949 FOREST HILL GULF                            EXT FOREST HILL                 PAZ                                                                           BAYAMON             PR           00959
   654950 FOREST HILLS ELECTRONICS                    PO BOX 8070                                                                                                   BAYAMON             PR           00960
          FOREST HILLS GULF/DBA A
   654951 SERVICE STATION                             PO BOX 524                                                                                                    BAYAMON             PR           00960



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  176785 FOREST HILLS HOSPITAL                        207‐05 76TH AVE                                                                                                    NEW HYDE PARK     NY         11040
  654952 FOREST PRESS OCLC                            6565 FRANTZ RD                                                                                                     DUBLIN            OH         43017
         FOREST VIEW PSYCHIATRIC
  176786 HOSPITAL                                     ATTN MEDICAL RECORDS         1055 MEDICAL PARK DR SE                                                               GRAND RAPIDS      MI         49546‐3671
  654953 FORESTRY SUPPLIERS INC                       205 W RANKIN STREET          PO BOX 8397                                                                           JACKSON           MS         39284‐8397
  654954 FORESTRY SUPPLIES INC                        205 WES RANKIN STREET        PO BOX 8397                                                                           JACKSON           MS         39284‐8397
         FORETHOUGHT LIFE INSURANCE
  176812 COMPANY                                      ONE FORETHOUGHT CENTER       PO BOX 151                                                                            BATESVILLE        IN         47006‐9997
                                                                                   30 CALLE MANUEL RIVERA
   176813 FOREVER LEARNING INC                        URB SAN PATRICIO             FERRER                                                                                GUAYNABO          PR         00968
          FORJANDO UN NUEVO
  1256504 COMIENZO                                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED       REDACTED
          FORJANDO UN NUEVO
   654955 COMIENZO CORP                               PMB 312                      PO BOX 7886                                                                           GUAYNABO          PR         00970‐7886
   654956 FORM CENTER                                 210 S PROGRESS DRIVE EAST                                                                                          KENDALLVILLE      IN         46755
   176815 FORM WORX                                   1601 TRAPELO RD                                                                                                    WALTHAM           MA         02154
   176816 FORMADOR INC                                PMB 648                      CARR PR 19‐1353                                                                       GUAYNABO          PR         00966
          FORMAL TRAINING & LERNING
   654957 CENTER                                      PO BOX 12111                                                                                                       SAN JUAN          PR         00914‐0111
   654958 FORMARIZ Y JIMENEZ SE                       PUNTA LAS MARIAS             2425 CALLE LOIZA                                                                      SAN JUA           PR         00913‐4805
   176820 FORNARIS MD , IGNACIO H                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED       REDACTED
                                                                                   URB. RAMIREZ DE ARELLANO
  1419779 FORNES RODRIGUEZ, ROSA                      DERECHO PROPIO               CALLE J. VISCARRONDO #2                                                               MAYAGUEZ          PR         00680
   654959 FORO MUNDIAL                                OLD SAN JUAN STATION         PO BOX 5878                                                                           SAN JUAN          PR         00902
  1419780 FORST GARCIA, MAYRA L                       JAIME PICO MUÑOZ             AEELA PO BOX 70199                                                                    SAN JUAN          PR         00936‐8190
          FORT BUCHANAN CHILD
   654960 DEVELOPMETN CENTER                          DEPT OF THE ARMY ATTN IMSE   BUC MWR 218 BROOK ST                                                                  FORT BUCHANAN     PR         00934
          FORT BUCHANAN COMMUNITY
   654961 CLUB                                        P O BOX 34245                                                                                                      GUAYNABO          PR         00934
   176849 FORT CAMPBELL HOSPITAL                      650 JOEL DR                                                                                                        FORT CAMPBELL     KY         41223
   176866 FORTALEZA REHAB CENTERS                     133 W HUNTING PARK AVE                                                                                             PHILADELPHIA      PA         19140
   176876 FORTI ISALES MD, LUIS R                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED       REDACTED
   654962 FORTIFLEX INC                               PO BOX 364523                                                                                                      SAN JUAN          PR         00936
   176895 FORTIS FONTAN, JOSE A.                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED       REDACTED
   176908 FORTIS RIVERA, YARIMAR                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED       REDACTED
   176914 FORTO CHEMICAL CORP                         PO BOX 910                                                                                                         GUAYNABO          PR         00970
   176915 FORTO SALES CORPORATION                     PO BOX 910                                                                                                         GUAYNABO          PR         00970
   654963 FORTUNA AUTO PARTS INC                      P O BOX 190788                                                                                                     SAN JUAN          PR         00919‐0788
   654964 FORTUNA GULF                                PO BOX 769                                                                                                         LUQUILLO          PR         00773
   654965 FORTUNA ICE PLANT                           PO BOX 931                                                                                                         RIO GRANDE        PR         00745
   176923 FORTUNA PEREZ AYALA                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED       REDACTED
   654966 FORTUNADA ACEVEDO                           VICTORIA STA                 PO BOX 1079                                                                           AGUADILLA         PR         00603

  1419781 FORTUNADO IRIZARRY, VICTOR                  CANDIDA R. RENTAS ANCIANI    CARR 506 SUITE 203                                                                    COTO LAUREL       PR         00780‐2925
          FORTUNATO BENITEZ
   176927 RODRIGUEZ                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED       REDACTED

   654967 FORTUNATO COLON PARRILLA                    PARCELAS FORTUNA             BOX 3720 CALLE 8                                                                      LUQUILLO          PR         00773

   654968 FORTUNATO COSME CALDERON BO GALATEO CENTRO                               KM 1 HM 0                                                                             TOA ALTA          PR         00953

   654969 FORTUNATO CRUZ HERNANDEZ                    CARR 477 1694                                                                                                      QUEBRADILLAS      PR         00678




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   654970 FORTUNATO DELGADO DELGADO RES FELIPE SANCHEZ OSORIO                          EDF 27 APTO 83                                                                          CAROLINA            PR           00987
          FORTUNATO FRONTERA
   176929 GONZALEZ                  REDACTED                                           REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

                                                      SR. VICTOR FORTUNATO             INSTITUCIÓN MÁXIMA
  1419782 FORTUNATO IRIZARRY, VICTOR                  IRIZARRY                         SEGURIDAD SECCIÓN D‐2‐1022                                                                                  PR
   176932 FORTUNATO MD , JULIE M                      REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FORTUNATO NAVARRO
   654971 VILLANUEVA                                  P O BOX 369                                                                                                              LOIZA               PR           00772
   654973 FORTUNE MAGAZINE                            PO BOX 10451                                                                                                             NEWARK              NJ           07193
          FORTUÑO PADILLA MD,
   176947 ARMANDO                                     REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   654974 FORUM FUND SERVICES                         TWO PORTLAND SQUARE                                                                                                      PORTLAND            ME           04101
   176996 FORWARD HOLDING CO LLC                      PO BOX 363051                                                                                                            SAN JUAN            PR           00936

   176997 FORWARD INTERNATIONAL                       KRYMSKA 13 100 00 PRAHA 10                                                                                               CZECH REPUBLIC                                 CZECH REPUBLIC
   654975 FOSS AMERICA                                7628 EXECUTIVE DRIVE                                                                                                     EDEN PRAIRIE        MN           55344
   176999 FOSS NORTH AMERICA                          8091 WALLACE ROAD                                                                                                        EDEN PRAIRIE        MN           55344
   177000 FOSS NORTH AMERICA , INC                    3006 SOLUTIONS CENTER                                                                                                    CHICAGO             IL           60677‐3000

   177003 FOSSAS LOPECEPERO MD, JOSE L REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   831368 Foster & Freeman USA Inc.                   46030 Manekin Plaza, Suite 170                                                                                           Sterling            VA           20166
   654976 FOSTER JARVIS PRESTON                       1353 AVE ROOSELVELT                                                                                                      SAN JUAN            PR           00920
   654978 FOTO FAX SCHOOL SUPPLY                      42 A CALLE ARCHILLA                                                                                                      UTUADO              PR           00641
   177021 FOTO HEAVY INC                              URB VENUS GARDENS NORTE          1681 CALLE SALTILLO                                                                     SAN JUAN            PR           00926‐4641
   654979 FOTO IMAGEN INC                             65 INFANTERIA                                                                                                            LAJAS               PR           00669
   654980 FOTO MATIC                                  975 AVE HOSTO STATION 330                                                                                                MAYAGUEZ            PR           00680‐1261
                                                      65 INFANTERIA SHOPPING
   177023 FOTO MAX                                    CENTER                                                                                                                   SAN JUAN            PR           00923
   654981 FOTOGRABADO PACO                            URB CAPARRA HTS                  368 CALLE ENSENADA                                                                      SAN JUAN            PR           00920
          FOTOGRAFIA SUVENIR Y ALGO
   654982 MAS                                         P O BOX 973                                                                                                              JAYUYA              PR           00664
   654983 FOTOLAMINADOS DE PR                         PO BOX 192710                                                                                                            SAN JUAN            PR           00919‐2710
                                                      65TH INFANTERIA SHOPPING
   177024 FOTOMAX INC                                 CENTER                                                                                                                   RIO PIEDRAS         PR           00923‐0000
          FOUNDATION ENGINEERING
   654985 COMPANY INC                                 714 CALLE HOARE                                                                                                          SAN JUAN            PR           00907

   177027 FOUNDATION FOR PUERTO RICO PO BOX 366578                                                                                                                             SAN JUAN            PR           00936‐6578
          FOUNDATION PROFESSIONAL
   177028 DEVELOPMENT                CENTER/PURA ENERGIA INC                           PO BOX 4365                                                                             AGUADILLA           PR           00605

   654986 FOUNDATION PROPERTIES INC    PO BOX 362408                                                                                                                           SAN JUAN            PR           00936
          FOUNTAIN CHRISTIAN BILING
   654987 SCHOOL HUMACAO               P O BOX 9018                                                                                                                            HUMACAO             PR           00792
          FOUNTAIN CHRISTIAN BILINGUAL
   177031 SCHOOL                       GUAYAMA, INC.                                   PO BOX 1705                                                                             GUAYAMA             PR           00785
          FOUNTAIN CHRISTIAN BILINGUAL
   177034 SCHOOL GUAY                  PO BOX 1705                                                                                                                             GUAYAMA             PR           00785‐1705

   177035 FOUNTAIN POWERBOATS INC                     1653 WHICHARDS BEACH ROAD                                                                                                WASHINGTON          WA           NC 27889



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          FOUR AS KIDS CORP ‐ KIDS
   177037 PLANET                                      MONTE CARLO                  1267 AVE MONTE CARLO                                                                      SAN JUAN            PR           00924

   177038 FOUR DIAMOND TRADING INC                    PLAZA CAROLINA STA           PO BOX 8756                                                                               CAROLINA            PR           00988‐8756
          FOUR POINTS BY SHERATON                     50 C ALAMBRA EN GRANADA
   177039 CAGUAS REAL                                 BLVD                                                                                                                   CAGUAS              PR           00726
   177041 FOUR POINTS SHERATON                        LOIZA STATION                                                                                                          SAN JUAN            PR           00914

   654988 FOUR SEASONS GREEHOUSE                      1663 AVE FERNANDEZ JUNCOS                                                                                              SAN JUAN            PR           00909

   654989 FOUR SEASONS HOTEL TORONTO 21 AVENUE ROAD                                                                                                                          TORONTO             OH           M5R261        Canada
   654990 FOUR STAR AIR TRANSPORT    PO BOX 37750                                                                                                                            SAN JUAN            PR           00937
   177042 FOUR STAR AVIATION INC     AIRPORT STATION                               PO BOX 37750                                                                              SAN JUAN            PR           00937
                                                                                   130 WINSTON CHURCHIL AVE
   177045 FOURNIER ARQUITECTURA CPS                   PMB 336                      SUITE 1                                                                                   SAN JUAN            PR           00926‐6018
  1419783 FOURNIER PADILLA, NADYA                     TANIA SERRANO GONZALEZ       PO BOX 7041                                                                               CAGUAS              PR           00726‐7041

   177075 FOURNIER REBOLLO MD, JOSE R                 REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FOURTH FLOOR MANAGEMENT
   177092 CORP                                        268 AVE PONCE DE LEON        SUITE 402                                                                                 SAN JUAN            PR           00918
          FOURTH FLOOR MANAGEMENT
   177093 INC                                         268 PONCE DE LEON AVENUE     SUITE 402                                                                                 HATO REY            PR           00918
   177095 FOWLER LANGUAGE SERVICE                     PO BOX 921                                                                                                             GUAYNABO            PR           00970

   654992 FOWLER RODRIGUEZ & CHALOS                   FLINT & BOOTH PLCE ST.CHARLES 36TH FLOOR 201 CHARLES AVE.                                                              NEW ORLEANS         LA           70120
   654994 FOX RENTAL INC                              PO BOX 2334                                                                                                            TOA BAJA            PR           00951
   177101 FOX TRAILERS INC                            PO BOX 2334                                                                                                            TOA BAJA            PR           00951
   177102 FOXMAEL ESCALERA FLORES                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177104 FP+1,LLC                                    URB MUNOZ RIVERA              CALLE ACUARELA A‐11,L‐1‐3                                                                GUAYNABO            PR           00969
   654995 FPC / COMISION MTB DE P R                   HC 3 BOX 24052                                                                                                         LAJAS               PR           00667
          FPC Business Form & Systems                 PO Box 9366 Plaza Carolina
   831764 Corp                                        Station                                                                                                                Carolina            PR           00988‐9366
   177105 FPC BUSINESS FORMS                          PO BOX 9366                   PLAZA CAROLINA STATION                                                                   CAROLINA            PR           00988‐9366
          FPC BUSINESS FORMS &                        PO BOX 9366 PLAZA CAROLINA
   177106 SYSTEMS                                     STATION                                                                                                                CAROLINA            PR           00988
          FPC BUSINESS FORMS &                        P.O.BOX 9366 PLAZA CAROLINA
   177107 SYSTEMS CORP                                STATION                                                                                                                CAROLINA            PR           00988‐9366
          FPMG DBA ORLANDO NEURO
   177109 SURGERY                                     1605 W FAIRBANKS AVENUE                                                                                                WINTER PARK         FL           32789
          FPMG DBA RADIOLOGY
   177110 SPECIALISTS                                 PO BOX 864414                                                                                                          ORLANDO             PR           33886‐4414

   177111 FPMG‐DBA ORLANDO SURGERY                    1605 W FAIRBANKS AVENUE                                                                                                WINTERPARK          FL           32789
          FPMG‐DBA RADIOLOGY
   177112 SPECIALIST                                  PO BOX 864414                                                                                                          ORLANDO             FL           32886‐4414
   654996 FPV & CO CPAs P S C                         P O BOX 364152                                                                                                         SAN JUAN            PR           00936 4152
   177113 FPV & GALINDEZ CPA                          P O BOX 364152                                                                                                         SAN JUAN            PR           00936‐4152
   177114 FPV & GALINDEZ, CPA, PSC                    PO BOX 364152                                                                                                          SAN JUAN            PR           00936‐4152
   177115 FPV GALINDEZ CPAS PSC                       PO BOX 364152                                                                                                          SAN JUAN            PR           00936
   654997 FRABRICAS DE TOPES J L INC                  HC 2 BOX 20456                                                                                                         SAN SEBASTIAN       PR           00685
          FRACHAR JOEL NEUMANN
   654998 ANGLADA                                     URB VILLA ANDALUCIA          M 13 CALLE TOLOY                                                                          SAN JUAN            PR           00929
   654999 FRACHESKA CORP INC                          7043 CARR 187 APT 108                                                                                                  CAROLINA            PR           00979‐7044



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                                                      COND PLAZA DE DIEGO, 310 AVE.
   177116 FRACINETTI ARQUITECTOS, CSP                 DE DIEGO STE 103                                                                                                        SAN JUAN            PR           00909

   177118 FRACISCA FIGUEROA MARTINEZ                  REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177137 FRAGA BERRIOS MD, IVONNE                    REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177142 FRAGA MILLAN MD, CARLOS J                   REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177157 FRAGOSA RESTO, JEANNETTE M.                 REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177190 FRAGRADA NUNEZ, ADAIN                       REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRAGUADA CARRASQUILLO,
  1419784 RENE                                        OSCAR GONZALEZ BADILLO          1055 AVE. JF KENNEDEY STE 303                                                           SAN JUAN            PR           00920‐1723
   177203 FRAGUADA NUNEZ, ADAIN                       REDACTED                        REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177204 FRAGUADA PEREZ MD, LUIS A                   REDACTED                        REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177205 FRAGUADA REYES MD, ANGEL L                  REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRAIGCOMAR BASKETBALL
   177225 ACADEMY CORP                                URB MUNIZ RIVERA                1112 CALLE LOS FRAILES                                                                  GUAYNABO            PR           00969
   655001 FRAJOVI ENTERPRISES S E                     URB EL VEDADO                   460 AVE HOSTO                                                                           SAN JUAN            PR           00918
   177228 FRAKLIN W VIDAL SANCHEZ                     REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177230 FRALIA RIVERA DIAZ                          REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655002 FRAMA CONSTRUCTION CO. INC. CAPARRA HEIGHTS STATION                         PO BOX 11935                                                                            SAN JUAN            PR           00922‐1935
   655003 FRAMA DEVELOPMENT CORP      P O BOX 193899                                                                                                                          SAN JUAN            PR           00919‐3899

   177231 FRAMAR DISTRIBUTORS CORP                    AVE SIMON MADERA LOCAL #13                                                                                              SAN JUAN            PR           00924
   177233 FRAME MD , EDWARD L                         REDACTED                   REDACTED                         REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655004 FRAMES                                      19 CALLE ACOSTA                                                                                                         MANATI              PR           00674
   177236 FRAMIN Z GONZALEZ MELON                     REDACTED                   REDACTED                         REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRAMINGHAM STATE COLLEGE
   655005 /INTL EDUC PROG                             100 STATE STREET PO BOX 9101                                                                                            FRAMINGHAM          MA           01701‐9101
   177237 FRAN ENCARNACION                            REDACTED                     REDACTED                       REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177238 FRAN J PEREZ GALARZA                        REDACTED                     REDACTED                       REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655006 FRANCARMICK INC                             PO BOX 1178                                                                                                             ARECIBO             PR           00612
  1256505 FRANCARMICK, INC.                           REDACTED                     REDACTED                       REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177240 FRANCE AZUR COMMUNICATION 4 RUE DU MARECHAL FOCH                                                                                                                    CANNES                           06400         FRANCE
   655007 FRANCE TORRES             P O BOX 10842                                                                                                                             SAN JUAN            PR           00922 8042
   177242 FRANCEL MILLET TORRES     REDACTED                                          REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177243 FRANCELIN PADILLA ORTIZ   REDACTED                                          REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655009 FRANCELIZ RIVERA VALCARCEL                  RR 6 BOX 11168                                                                                                          SAN JUAN            PR           00926
   655010 FRANCELO O BURGOS DAVILA                    ALTURAS DE OROCOVIS             C 24                                                                                    OROCOVIS            PR           00720
          FRANCELYN DE JESUS
   177245 RODRIGUEZ                                   REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177246 FRANCELYS GONZALEZ ACEVEDO REDACTED                                         REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177248 FRANCENE D ANDINO ACEVEDO                   REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655014 FRANCES / MARRERO CALVO                     18 JOSE I QUINTON INT.                                                                                                  COAMO               PR           00769
   655015 FRANCES A CARRO NIEVES                      URB FLAMINGO HILLS              325 CALLE 12                                                                            BAYAMON             PR           00957‐1761
   177249 FRANCES A CRUZ IRIZARRY                     REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177250 FRANCES A GALAN TORRES                      REDACTED                        REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   177251 FRANCES A GONZALEZ FERRER                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655016 FRANCES A LOPEZ OQUENDO                     BOX 956                                                                                                           SABANA SECA         PR           00952

   655017 FRANCES A MAISONAVE OCASIO                  2192 ARENALES ALTOS ISABELA                                                                                       ISABELA             PR           00662
   655018 FRANCES A MALAVE TROCHE                     PUERTO REAL                 481 CALLE AMAPOLA                                                                     CABO ROJO           PR           00623
          FRANCES A RODRIGUEZ
   655019 FONTANES                                    PO BOX 523                                                                                                        CAGUAS              PR           00726
   177252 FRANCES A SOTO RIVERA                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177253 FRANCES A TORRES CONTRERAS REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655020 FRANCES A TORRES FELICIANO                  ALTURAS DE VILLALBA          239 CALLE PAULITE GOMEZ                                                              VILLALBA            PR           00766
   177254 FRANCES ACEVEDO TORANO                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655021 FRANCES AJENJO COLON                        LA ALBORADA                  CARR 2 APT 1611                                                                      SAN JUAN            PR           00959
   177256 Frances Alebrande                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177257 FRANCES ALVAREZ CANDELARIO REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177258 FRANCES APELLANIZ ARROYO   REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177259 FRANCES APONTE TRAVIESO    REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177260 FRANCES B GONZALEZ ARVELO                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655022 FRANCES BAERGAS RODRIGUEZ                   P O BOX 7519                                                                                                      PONCE               PR           00732
   655023 FRANCES BAEZ CARRION                        URB IDAMARIS GARDENS         E 40 AVE RICKY SEDA                                                                  CAGUAS              PR           00725
   177261 FRANCES BATISTA OQUENDO                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655025 FRANCES BEAUCHAMP FELIX                     BUENA VENTURA                5013 CALLE ALELI                                                                     MAYAGUEZ            PR           00681
   655026 FRANCES BEAUTY PARLO                        201 CALLE SAN FELIPE                                                                                              ARECIBO             PR           00612
   177262 FRANCES BERMUDEZ MOLINA                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177264 FRANCES BONAPARTE DURAN                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655027 FRANCES BORRERO CARRERO                     COM STELLA                   2692 CALLE 15                                                                        RINCON              PR           00677

   655029 FRANCES BURGOS CLAUDIO                      URB ESTANCIAS DE RIO HONDO   D 66 CALLE RIO CIALITO                                                               BAYAMON             PR           00961
   655030 FRANCES CARABALLO PIETRI                    PO BOX 354                                                                                                        TRUJILLO ALTO       PR           00977‐0354
          FRANCES CARRASQUILLO
   177270 PERALES                                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177271 FRANCES CASIANO ORTIZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177272 FRANCES CINTRON FIGUEROA                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177273 FRANCES CINTRON LOPEZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177274 FRANCES CLORIE TARDY RIVERA                 REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177275 FRANCES CO & VAZQUEZ OYOLA                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177276 FRANCES COLLAZO DE LEON                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177277 FRANCES COLON BAEZ                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655034 FRANCES COLON LOZADA                        HC 1 BOX 5944                                                                                                     CIALES              PR           00638
   655035 FRANCES CORREA CRUZ                         HC 1 BOX 7328                                                                                                     GURABO              PR           00778
   655036 FRANCES CRUZ MENDOZA                        URB LOS LEANDROS             B 16 CALLE 7                                                                         HUMACAO             PR           00791
   655037 FRANCES CUADRADO SUAREZ                     HC 01 BOX 9210                                                                                                    LOIZA               PR           00772
   177279 FRANCES D HANES LOPEZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177280 FRANCES D JIMENEZ FIGUEROA                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655038 FRANCES D RIVERA PADILLA                    URB SANTA ROSA               1715 CALLE 10                                                                        BAYAMON             PR           00959



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  177281 FRANCES DAVILA SUAREZ                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  655039 FRANCES DE LA CRUZ                           PO BOX 9020897                                                                                                     SAN JUAN            PR         00902
         FRANCES DEL CARMEN ORTIZ
  177283 RODRIGUEZ                                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  177284 FRANCES DELANO COLLAZO                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  177285 FRANCES DIAZ URRUTIA                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   177286 FRANCES E CANDELARIA SOTO                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   177287 FRANCES E DIAZ DELGADO                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   177288 FRANCES E FUENTES TORRES                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   655040 FRANCES E HERNANDEZ ORTIZ                   HC 4 BOX 43350                                                                                                     MAYAGUEZ            PR         00680
   655041 FRANCES E JORGE FRADERA                     URB GARDENS 47                CALLE VIOLETA                                                                        MANATI              PR         00624

   655042 FRANCES E MORALES SANCHEZ                   PO BOX 2                                                                                                           LAS PIEDRAS         PR         00771
   655043 FRANCES E PEREZ LOPEZ                       URB SANTIAGO APOSTOL          I 2 CALLE 8                                                                          SANTA ISABEL        PR         00757

   177289 FRANCES E TORRES MARTINEZ                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   655044 FRANCES E VALCARCEL ROSARIO                 URB MONTE CARLO               1256 CALLE 4                                                                         SAN JUAN            PR         00924
   177290 FRANCES E. CRUZ ORELLANA                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   177292 FRANCES ELIESER CRUZ                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   177294 FRANCES ESQUILIN MARQUEZ                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   655045 FRANCES F CRUZ PACHECO                      PO BOX 418                                                                                                         SABANA GRANDE       PR         00637
   655046 FRANCES FIGARELLA GARCIA                    URB APOLO                     PP 22 CALLE MINERVA                                                                  GUAYNABO            PR         00969

   655047 FRANCES FRANCESCHI NAZARIO COND PALMA REAL                                2 CALLE MADRID APT 2 H                                                               SAN JUAN            PR         00907

   177295 FRANCES G AVILES ZENGOTITA                  REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   177296 FRANCES G TARDY RIVERA                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   177297 FRANCES G VALENTIN GONZALEZ REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   177299 FRANCES GALLARDO            REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   177300 FRANCES GARAYUA CARTAGENA REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   177301 FRANCES GARCIA DE JESUS   REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   177303 FRANCES GLORIE TARDY RIVERA                 REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   655051 FRANCES GONZALEZ                            4055 W KFARNEY BLVD                                                                                                FRESNO              CA         93706
   177304 FRANCES GONZALEZ CANTRES                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   655052 FRANCES GONZALEZ JIMENEZ                    RES ZORRILLA                  EDIF 28 APT 248                                                                      MANATI              PR         00674

   177305 FRANCES GONZALEZ MARTINEZ                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   177306 FRANCES GONZALEZ RAMOS                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   177307 FRANCES GONZALEZ ROMERO                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   177308 FRANCES GUZMAN BERRIOS                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
                                                      5100 PARK CENTRAL DRIVE APT
   655053 FRANCES H TORO                              812                                                                                                                ORLANDO             FL         32839
   655054 FRANCES HERNANDEZ                           EXT FOREST HILLS              C 22 CALLE MARGINAL                                                                  BAYAMON             PR         00959

   177309 FRANCES HERNANDEZ MUNOZ                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED




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          FRANCES HERNANDEZ
   177311 RODRIGUEZ                                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655055 FRANCES HERNENDEZ TORO                      9945 SW 64 ST                                                                                                MIAMI               FL           33173‐0000
   655056 FRANCES I ALVARADO RIVERA                   HC 4 BOX 12373                                                                                               HUMACAO             PR           00791

   655011 FRANCES I BERRIOS MELENDEZ                  RIO GRANDE ESTATE          1418 REY LUIS 15                                                                  RIO GRANDE          PR           00745
   177313 FRANCES I GONZALEZ CRESPO                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177314 FRANCES I GONZALEZ FELICIANO REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655057 FRANCES I ORTIZ RIVERA       HC 30 BOX 7748                                                                                                              DORADO              PR           00646
   655058 FRANCES I RIVERA LOPEZ       URB COLINAS DEL ESTE                      E 1 CALLE 1                                                                       HUMACAO             PR           00791

   177315 FRANCES I RODRIGUEZ MORALES REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655059 FRANCES I VALENTIN RODRIGUEZ URB PUERTO NUEVO                          608 CALLE BALLARES                                                                SAN JUAN            PR           00920

   655060 FRANCES IZQUIERDO DE SUAREZ                 URB JACARANDA              D 8 CALLE B                                                                       PONCE               PR           00731
   177316 FRANCES J BURGOS ROBLES                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177317 FRANCES J JIMENEZ TRINIDAD                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCES J MARTINEZ
   655061 VIZCARRONDO                                 RES MJARDINES DE CAPARRA   EDF 7 APT 141                                                                     BAYAMON             PR           00959
   177318 FRANCES J PONCE MORALES                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177319 FRANCES J SANTIAGO ORTIZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177320 FRANCES J. PIZARRO RIVERA                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177321 FRANCES J. SANTIAGO ORTIZ                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCES JEROMIE ALVARO
   655062 TORRES                                      563 CUEVILLAS ST APT 3 B                                                                                     SAN JUAN            PR           00907
   655063 FRANCES JIMENEZ POUPART                     JARD DE GUAYNABO           B 31 CALLE 2A                                                                     GUAYNABO            PR           00959
          FRANCES JOANNE RODRIGUEZ
   177322 BLASINI                                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177323 FRANCES K SANCHEZ DE LEON                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177324 FRANCES L ADORNO HERNANDEZ REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655064 FRANCES L BRAGAN VALLDEJULY PONCE BY PASS                              OFFIC 909 2225                                                                    PONCE               PR           00717‐1322
          FRANCES L CARABALLO
   655012 LANDRAU                     SECTOR LA PRA 114 RAMAL 4                                                                                                    TRUJILLO ALTO       PR           00976
   177325 FRANCES L CARRERO ROMAN     REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177327 FRANCES L FUENTES ORTIZ     REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655065 FRANCES L GONZALEZ TORRES                   81 CALLE NUEVO NORTE                                                                                         PONCE               PR           00731
   655066 FRANCES L NARVAEZ PEREZ                     PO BOX 816                                                                                                   NARANJITO           PR           00719
   655067 FRANCES L OLIVER CORREA                     PO BOX 1178                                                                                                  ARECIBO             PR           00613

   655068 FRANCES L OPPENHEIMER DIAZ                  URB SANTA RITA             1002 CALLE PEREGRINA                                                              SAN JUAN            PR           00925
   177328 FRANCES L REYES PAGAN                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177330 FRANCES L SANCHEZ ROSS                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177331 FRANCES L SOTO RAMOS                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCES L SOTOMAYOR
   177332 RODRIGUEZ                                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655069 FRANCES L TAPIA MELENDEZ                    URB LA HACIENDA            AW 3 CALLE 43                                                                     GUAYAMA             PR           00784

   177333 FRANCES L. CARABALLO ARROYO REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  655070 FRANCES LABORDE                              TORRIMAR                   1715 ALHAMBRA                                                                         GUAYNABO          PR         00966
  655071 FRANCES LAUSELL DIAZ                         254 CALLE LUNA APT B 1                                                                                           SAN JUAN          PR         00901
  177334 FRANCES LOPEZ QUINONES                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  177335 FRANCES LOPEZ ROMAN                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  655072 FRANCES LOPEZ VELAZQUEZ                      PO BOX 605‐703 SUITE 195                                                                                         AGUADILLA         PR         00605
         FRANCES LORELLE DE JESUS
  177336 CRESPO                                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  177337 FRANCES LOREY GONZALEZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  177338 FRANCES LUGO ROMAN                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  655073 FRANCES LUGO VEGA                            PO BOX 716                                                                                                       SAN GERMAN        PR         00683
  177339 FRANCES M ACOSTA PIZARRO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  177340 FRANCES M ANDUJAR RIVERA                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  655074 FRANCES M ARZOLA RUIZ                        HC 01 BOX 6029                                                                                                   GUAYANILLA        PR         00656 9734

   177341 FRANCES M BARTOLOMEI RUIZ                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   655076 FRANCES M BERRIOS                           HC 44 BOX 12807                                                                                                  CAYEY             PR         00736
   177342 FRANCES M BRAVO NEGRON                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   177343 FRANCES M CALDERAS MORENO REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   177345 FRANCES M CIFUENTES GOMEZ                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   655078 FRANCES M COLON GARCIA                      COND LAS CARMELITAS        PH H CALLE SAN JORGE                                                                  SAN JUAN          PR         00911
          FRANCES M CONCEPCION DE
   177346 CONINCK                                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   655079 FRANCES M CRUZ ROSADO                       URB COUNTRY CLUB           1045 CALLE ALEJO CRUZADO                                                              SAN JUAN          PR         00924

   655080 FRANCES M CUBANO ALVAREZ                    E 31 URB SAN MARTIN                                                                                              UTUADO            PR         00641
   655081 FRANCES M DIAZ FOSSE                        PO BOX 2175                                                                                                      ARECIBO           PR         00613

   177347 FRANCES M FELICIANO TARAFA                  REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   177348 FRANCES M FELIX MORALES                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          FRANCES M FIGUEROA
   655083 MARTINEZ                                    URB URSULA MILLAN          2 CARR 149 KM 1 4 INT                                                                 JUANA DIAZ        PR         00795

   655084 FRANCES M FOURNIER CINTRON PO BOX 1609                                                                                                                       JUANA DIAZ        PR         00795
   177349 FRANCES M GONZALEZ VELEZ   REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   655085 FRANCES M HERRERA ROSARIO                   BO CAIMITAL BAJO           CARR 2 KM 124 3                                                                       AGUADILLA         PR         00603

   655013 FRANCES M LEBRON CHEVERE                    BOX 697                                                                                                          JUNCOS            PR         00777
   177351 FRANCES M LIND RIVERA                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   177352 FRANCES M LOPEZ NARVAEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   177353 FRANCES M MELENDEZ ALICEA                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   655087 FRANCES M MELENDEZ RIVERA                   8 AVE LOS VETERANOS                                                                                              GUAYAMA           PR         00784

   177354 FRANCES M MERCED ACEVEDO                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   177355 FRANCES M MORELL COLBERG                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   655089 FRANCES M PEREZ RODRIGUEZ                   COND AVILA APT 10E         159 CALLE COSTA RICA                                                                  SAN JUAN          PR         00917
   655090 FRANCES M REYES VARGAS                      HC 01 BOX 14878                                                                                                  COAMO             PR         00769



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  177357 FRANCES M RIVERA RIVAS                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   177358 FRANCES M RODRIGUEZ NUNEZ                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   177359 FRANCES M RODRIGUEZ RIVERA REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   177360 FRANCES M ROMERO OLIVERAS                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   177361 FRANCES M ROSARIO RIVERA                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   177362 FRANCES M ROURA VEGA                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   177363 FRANCES M SALICHS POU                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   177364 FRANCES M TORRES GREEN                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   177365 FRANCES M ZAYAS CASTILLO                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          FRANCES M. CARTAGENA
   177366 OLIVIERI                                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   177367 FRANCES M. HERNANDEZ FUSTER REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   177368 FRANCES M. MARCANO RAMOS                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   177369 FRANCES M. RAMOS VELAZQUEZ REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   655094 FRANCES MALAVE PEREZ       PO BOX 46                                                                                                                   OROCOVIS            PR         00720
   655095 FRANCES MALPICA SANTANA    HC 33 BOX 5142                                                                                                              DORADO              PR         00646

   177370 FRANCES MARIE CATALA CHINEA REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   177371 FRANCES MARIE LEON SANTIAGO REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   177372 FRANCES MARIE TORRES GREEN REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          FRANCES MARIEL GONZALEZ
   655096 ECHEVARRIA                 PO BOX 9626                                                                                                                 JUANA DIAZ          PR         00798
   177373 FRANCES MARTINEZ           REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   177374 FRANCES MARTINEZ CARDONA                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   655099 FRANCES MARTINEZ SANCHEZ                    RR 1 BOX 17087                                                                                             TOA ALTA            PR         00953
   655100 FRANCES MARTY VAZQUEZ                       RIO CRISTAL            859 CALLE JULIO BALOIZ                                                              MAYAGUEZ            PR         00680
   655101 FRANCES MATOS BLANCO                        ALT DE RIO GRANDE      O 740 CALLE MAIN                                                                    RIO GRANDE          PR         00745
   177375 FRANCES MATTER COSTAS                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          FRANCES MATTHEW Y
   177376 CHAYANNE L ORTA                             REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   655104 FRANCES MENENDEZ MARTINEZ                   URB BAHIA VISTA MAR    1418 CALLE ROBALO                                                                   CAROLINA            PR         00983
   655105 FRANCES MIRANDA AMADEO                      SANTA TERESITA         H 13 CALLE 5                                                                        BAYAMON             PR         00961
   655106 FRANCES MOJICA PAGAN                        JARDINES DE CAPARRA    MM 12 CALLE 22                                                                      BAYAMON             PR         00959
   177377 FRANCES MOJICA SEPULVEDA                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   655107 FRANCES N RODRIGUEZ                         PO BOX 1393                                                                                                CANOVANAS           PR         00729
   177381 FRANCES N TAPIA LEBRON                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   655108 FRANCES N TORRES                            PO BOX 151                                                                                                 MAYAGUEZ            PR         00681
   177382 FRANCES NATER PINEIRO                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   177383 FRANCES NEGRON MUNTANER                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   655109 FRANCES NEGRON RAMOS                        EXT EL COMANDANTE      319 CALLE KELLY                                                                     CAROLINA            PR         00982
   655110 FRANCES NIEVES RODRIGUEZ                    PASEO REAL             D 27 CALLE TOPACIO                                                                  DORADO              PR         00646
   177384 FRANCES NUNEZ VENTURA                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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  177385 FRANCES OJEDA IRIZARRY                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   655111 FRANCES OLAVARIA SANTIAGO                   URB VIVES                282 CALLE H                                                                            GUAYAMA             PR         00784
   177386 FRANCES OLIVER ROMAN                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   177387 FRANCES OLIVERAS DIAZ                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655112 FRANCES OLIVERES MAYMI                      VILLA PALMERA            307 CALLE DEGETAU                                                                      SAN JUAN            PR         00915
   177388 FRANCES OLIVIERI CASILLAS                   REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   177389 FRANCES ORTEGA PEREZ                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   177390 FRANCES ORTIZ CARRASQUILLO                  REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   177391 FRANCES ORTIZ FERNANDEZ                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   177392 FRANCES ORTIZ GONZALEZ                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   177393 FRANCES ORTIZ MORALES                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   177394 FRANCES P COLON ORTIZ                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   177395 FRANCES P RIVERA SANTIAGO                   REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   177396 FRANCES P VELEZ BARTOLOMEI                  REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   655114 FRANCES PANIAGUA PIMENTEL                   URB VILLA PRADES         848 CALLE ALTURAS PASAREL                                                              SAN JUAN            PR         00924
   655115 FRANCES PASCUAL                             COND PARQUE MONACILLOS   APT 508                                                                                SAN JUAN            PR         00901

   655116 FRANCES PER OSSENKOPP ZAYAS URB MONTE CLARO                          ME 58 PLAZA 13                                                                         BAYAMON             PR         00961
   655117 FRANCES PEREZ MEDINA        HC 08 BOX 1553                           SECTOR LA ZARZA                                                                        PONCE               PR         00731 9712
   655118 FRANCES PEREZ RODRIGUEZ     PO BOX 366269                                                                                                                   SAN JUAN            PR         00936‐6269
   655119 FRANCES PLACERES BENITEZ    BAYAMON GARDEN STATION                   PO BOX 3724                                                                            BAYAMON             PR         00958
          FRANCES PORTOCARRERO
   177398 BALDRICH                    REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   177399 FRANCES QUINONES AYALA      REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655120 FRANCES R COLON RIVERA      1357 AVE ASHFORD                         SUITE 2                                                                                SAN JUAN            PR         00907‐1420
          FRANCES R VERGNE
   177401 SOTOMAYOR                   REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FRANCES RAMIREZ/YOLANDA
   177402 COTARELO                    REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655121 FRANCES RESTO RIVERA        URB CARIBE GDNS                          D1 CALLE AZUCENA                                                                       CAGUAS              PR         00725
   177403 FRANCES REYES VELEZ         REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655122 FRANCES RIOS GONZALEZ       BO DOMINGUITO P MATEI                    79 CALLE G                                                                             ARECIBO             PR         00612
   177404 FRANCES RIVERA OYOLA        REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655123 FRANCES RIVERA RAMOS        P O BOX 423                                                                                                                     YAUCO               PR         00698
   655124 FRANCES RIVERA TORRES       40 CALLE RAMON PARES                                                                                                            MOROVIS             PR         00687
   655125 FRANCES RODRIGUEZ AVILES    PO BOX 994                                                                                                                      MOCA                PR         00676

   655126 FRANCES RODRIGUEZ CANSOBRE 232 AVE ELEONOR ROOSEVELT                                                                                                        SAN JUAN            PR         00907
   655128 FRANCES RODRIGUEZ COLON    APARTADO 645                                                                                                                     JUANA DIAZ          PR         00795
   655129 FRANCES RODRIGUEZ DIAZ     EXT SAN ISIDRO                            94 CALLE FIDEL VELEZ                                                                   SABANA GRANDE       PR         00637
   655130 FRANCES RODRIGUEZ MILLAN   4762 RIVERTON DRIVE                                                                                                              ORLANDO             PR         32817
   177405 FRANCES RODRIGUEZ ORTIZ    REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   655132 FRANCES RODRIGUEZ SANTIAGO PO BOX 6520                                                                                                                      GUAYANILLA          PR         00656

   655134 FRANCES ROSARIO CASTELLANO                  PMB 504                  PO BOX 2500                                                                            TOA BAJA            PR         00951
   177408 FRANCES RUIZ VEGA                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   177410 FRANCES S ORTEGA SANTOS                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   177411 FRANCES S SANTOS MARRERO                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  177412 FRANCES SANCHEZ CANCIO                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  177413 FRANCES SANCHEZ CRUZ                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  177414 FRANCES SANTANA SANTIAGO                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         Frances Santiago & Asociado
  177415 Bufete Legal                                  PMB 273                 352 Ave. San Claudio                                                              San Juan            PR         00926
  655137 FRANCES SANTIAGO AGOSTO                       SAINT JUST              70 CALLE 8                                                                        TRUJILLO ALTO       PR         00978
  177416 FRANCES SEDA SEDA                             REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
 1256506 FRANCES SEDA SEDA                             REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  177417 FRANCES SOLA SANTIAGO                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  177418 FRANCES SUAREZ IZQUIERDO                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  177419 FRANCES T PEREZ ARIAS                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   177420 FRANCES T VAZQUEZ RODRIGUEZ REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   177421 FRANCES TORRES ALEJANDRO    REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   177422 FRANCES TORRES SAEZ         REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   655139 FRANCES TROCHE OJEDA        URB VILLA ESPA¥A                         C 1 CALLE DE LA VERA                                                              BAYAMON             PR         00961
   655140 FRANCES V ANES RIVERA       EL PALMAR C 1                            CALLE 2                                                                           ARROYO              PR         00714
   177423 FRANCES V CASTRO PARRILLA   REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   655142 FRANCES VALENTIN RODRIGUEZ URB PUERTO NUEVO                          608 CALLE BALLARES                                                                SAN JUAN            PR         00920
   177424 FRANCES VAZQUEZ AYALA      REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   177425 FRANCES VELAZQUEZ ROMERO                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   655144 FRANCES VIDAL RODRIGUEZ                      P O BOX 418                                                                                               ARECIBO             PR         00613
   177427 FRANCES X PRESTIA DIAZ                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   177428 FRANCES Y HERNANDEZ ORTIZ                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   655146 FRANCES Y PEREZ RIVERA                       COND LUCERNA            EDIF A 3 APT 2B                                                                   CAROLINA            PR         00983
   177429 FRANCES Y RIVERA AVILES                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          FRANCES ZOE W SOTO
   177431 MELENDEZ                                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   177432 FRANCES, COOTS                               REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   177433 FRANCESC J. BADIA MUR                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   655147 FRANCESCA M VELEZ FIGUEROA URB VILLA CAROLINA                        100‐8 CALLE 102                                                                   CAROLINA            PR         00985
          FRANCESCA N. SAMPAYO
   177434 GONZALEZ                   REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   177435 FRANCESCA TESTANI VAZQUEZ                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   655148 FRANCESCA TESTANI VAZQUEZ                    URB REPTO UNIVERSIDAD   E 34 CALLE 10                                                                     SAN GERMAN          PR         00683

   177445 FRANCESCHI CONDE MD, RAUL REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          FRANCESCHI GUADALUPE, ALVIN
   177460 J                           REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          FRANCESCHI NAZARIO MD,
   177467 IVETTE                      REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          FRANCESCHINI CARLO MD, JOSE
   177496 A                           REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          FRANCESCHINI CARLO, M.D.,
   177497 F.A.P.A, JOSE A.            REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   177533 FRANCESCHKA DE LEON LOPEZ                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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   177534 FRANCESCO RODRIGUEZ ROMAN REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   177540 FRANCESKA GANDIA QUINONES                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177541 FRANCESKA TORRES PEREZ                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCESSCHINI GONZALEZ,
  1419785 EDDA E.                                     GENOVEVA VALENTÍN SOTO   PO BOX 13695                                                                      SAN JUAN             PR           00908‐3695
          FRANCESSCHINI GONZALEZ,
  1419786 EDDA E.                                     GENOVEVA VALENTÍN SOTO   PO BOX 13695                                                                      SAN JUAN             PR           00908‐3695
          FRANCESSCHINI GONZALEZ,
  1419787 EDDA E.                                     GENOVEVA VALENTÍN SOTO   PO BOX 13695                                                                      SAN JUAN             PR           00908‐3695

   177542 FRANCETTE J THOMAS GOMEZ                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177543 FRANCHE DE LEON ZAPATA                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177545 FRANCHELIES ALVIRA CRUZ                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655149 FRANCHELLE SALON                            P O BOX 5338                                                                                               CAGUAS               PR           00725

   177547 FRANCHELY RODRIGUEZ ORTIZ                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   655150 FRANCHESCA A BARJAM ALEMAR PO BOX 2925                                                                                                                 RIO GRANDE           PR           00745
          FRANCHESCA BELLEROSES
   177548 RODRIGUEZ                  REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177549 FRANCHESCA CRUZ PEREZ      REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCHESCA DEL PILAR CRUZ
   177550 PEREZ                      REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCHESCA FERNANDEZ
   177551 CALZADA                    REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCHESCA L MELETICHE
   177552 PEREZ                      REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   655151 FRANCHESCA L RIVERA SANTANA URB BRASILIA                             C 23 CALLE 2                                                                      VEGA BAJA            PR           00693
          FRANCHESCA LEE MELETICHE
   177553 PEREZ                       REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655152 FRANCHESCA LOPEZ SANCHEZ    HILL BROTHERS                            CALLE 15 NUM 41                                                                   SAN JUAN             PR           00924

   177554 FRANCHESCA M LABOY RIVERA                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCHESCA MOLINA
   177556 MALDONADO                                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   177557 FRANCHESCA NUNEZ MELENDEZ REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   177558 FRANCHESCA VALDES ORTEGA                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177559 FRANCHESCA VARGAS LOPEZ                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177560 FRANCHESCO PENA                             REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   177562 FRANCHESKA BARBARA RAMOS                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   177563 FRANCHESKA BARBIERI MILLAN                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177564 FRANCHESKA BAYRON RIVERA                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177565 FRANCHESKA BENABE RIOS                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   177567 FRANCHESKA CABAN TRINIDAD                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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   177568 FRANCHESKA CEDENO GOMEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177510 FRANCHESKA CINTRON BOU                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655153 FRANCHESKA COLON MARTINEZ PMB 306                                        CANDELARIA P 353                                                                  TOA BAJA            PR           00951

   655154 FRANCHESKA FEBRES FIGUEROA 2DA EXT COUNTRY CLUB                          770 C/ AMALIO ROLDAN                                                              SAN JUAN            PR           00924

   177569 FRANCHESKA GARCIA CORUJO                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCHESKA GONZALEZ
   177570 VAZQUEZ                                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCHESKA HERNANDEZ
   655156 HERMINIA                                    HC 03 BOX 12348                                                                                                CAMUY               PR           00627
          FRANCHESKA HERNANDEZ
   177571 ROSARIO                                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCHESKA I AMADEO
   177573 DELGADO                                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCHESKA J CRESPO
   655157 FIGUEROA                                    HC 02 BOX 8280                                                                                                 CIALES              PR           00638
   177574 FRANCHESKA L RIVERA CRUZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCHESKA L VILLANUEVA
   655158 MENDEZ                                      PARCELA FALU                 316 B CALLE 37 A                                                                  SAN JUAN            PR           00924
          FRANCHESKA LEE MOREU
   177575 GONZALEZ                                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177576 FRANCHESKA LUEGO GANDIA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177577 FRANCHESKA M AGOSTO ROJAS REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCHESKA M AVILES
   177578 MELENDEZ                  REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCHESKA M CARABALLO
   655159 VEGA                      P O BOX 985                                                                                                                      YAUCO               PR           00698

   177579 FRANCHESKA M CASAS RIVERA                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177580 FRANCHESKA M FUENTES MUNIZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCHESKA M GONZALEZ
   177581 SEPULVEDA                  REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCHESKA M PICHARDO
   177584 VARGAS                     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655160 FRANCHESKA M RIVERA LOPEZ                   TORRENCILLA ALTA SECCION A   BOX 2184                                                                          CANOVANAS           PR           00729
          FRANCHESKA M RIVERA
   177585 RODRIGUEZ                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177586 FRANCHESKA M ROLDAN MARIN REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177587 FRANCHESKA M RUIZ FELICIANO REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177588 FRANCHESKA M SANTIAGO       REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177589 FRANCHESKA M TORRES RIVERA REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177592 FRANCHESKA M.PINTADO VEGA REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          FRANCHESKA MARIE PEREIRA
   177593 RIVERA                                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177594 FRANCHESKA MATOS ADORNO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177595 FRANCHESKA MELENDEZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177596 FRANCHESKA MENDEZ RIVERA                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCHESKA MONSERRATE
   655162 CANALES                                     UNIDAD DE CUENTAS TPI SALA   SUP DECAROLINA P O BOX 0267                                                              CAROLINA            PR           00986‐0267
   177597 FRANCHESKA N RUIZ AVILES                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177598 FRANCHESKA ORTIZ TORRECH                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177599 FRANCHESKA PADUA GUZMAN                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655164 FRANCHESKA PELLOT CESTERO                   PARK GARDENS                 O 11 ACADIA                                                                              SAN JUAN            PR           00926

   177601 FRANCHESKA PEREZ MARTINEZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177603 FRANCHESKA QUINONES RIVERA REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177604 FRANCHESKA REYES ACEVEDO   REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177605 FRANCHESKA REYES MARTINEZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177606 FRANCHESKA RIVERA FRAGOSO                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177607 FRANCHESKA RIVERA RUIZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177608 FRANCHESKA ROCHE RIVERA                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177609 FRANCHESKA RODRIGUEZ ORTIZ                  REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCHESKA RODRIGUEZ
   177610 VARGAS                                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177611 FRANCHESKA ROLON ROLON                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177612 FRANCHESKA SENERIS VEGA                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655165 FRANCHESKA SOLIS ORTIZ                      CONDOMINIO MONTE SUR         UGB 22 AVE HOSTOS 180                                                                    SAN JUAN            PR           00918

   177613 FRANCHESKA TORRES SANCHEZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177615 FRANCHESKA VALDES CIRINO                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177616 FRANCHESKA VAZQUEZ AVILES                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177617 FRANCHESKA VEGA GONZALEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177618 FRANCHESKA YARI RIVERA                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCHESKA ZAYAS A/C ROSA
   655167 RAMOS                                       525 COND CHALETS SEVILLANOS CARR 8860 BOX 2773                                                                        TRUJILLO ALTO       PR           00976
          FRANCHESKAM PACHECO
   177619 CAMACHO                                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177620 FRANCHEZKA COLON JIMENEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655168 FRANCIA AUTO PARTS INC                      C/ FRANCIA 450                                                                                                        HATO REY            PR           00917
   655169 FRANCIA BAEZ                                VILLA PALMERAS               373 BUENAVENTURA                                                                         SAN JUAN            PR           00915
                                                      RE GRACE FLOWER AND GIFT
   655170 FRANCIA C LOPEZ COLLAZO                     SHOP                         16 CALLE COMERCIO                                                                        LARES               PR           00669
   655171 FRANCIA D MEDINA MATEO                      JARD DE CAROLINA             H 18 CALLE 1                                                                             CAROLINA            PR           00987
   177621 FRANCIA E GIL RODRIGUEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          FRANCIANNETTE PINEIRO
   177625 COLLAZO                                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177626 FRANCIASCO GIL GARRIGA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177627 FRANCIBETH GOMEZ PIZARRO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655172 FRANCICO ONEILL MILLAN                      URB COUNTRY CLUB             919 CALLE HALCON                                                                      SAN JUAN            PR           00924
   177628 FRANCIELIZ VELAZQUEZ VALE                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177629 FRANCINE L HENRY NIEVES                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCINE M IDELFONSO
   177630 SANCHEZ                                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177631 FRANCINE M REYES VEGA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655173 FRANCINE M WALLE ROSADO                     RR 6 BOX 9707                                                                                                      SAN JUAN            PR           00926
   655175 FRANCINE RAE SANTIAGO                       BO ISLOTE                    HC 1 BOX 11343 1                                                                      ARECIBO             PR           00612

   177632 FRANCINETTI ARQUITECTOS CSP                 COND PLAZA DE DIEGO          310 AVE DE DIEGO STE 103                                                              SAN JUAN            PR           00909‐1716
   655177 FRANCIS A ACOSTA FRANQUI                    PUERTO REAL                  28 CALLE 5                                                                            CABO ROJO           PR           00623
   177633 FRANCIS A ALVAREZ ROSARIO                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655178 FRANCIS A GARCIA TROCHE                     C 18 EXT VILLA NAVARRO                                                                                             MAUNABO             PR           00701
   655179 FRANCIS A PEREZ RIVERA                      10 CALLE 65 INFANTERIA SUR                                                                                         LAJAS               PR           00667
   655180 FRANCIS A PRZYGODA                          222 GARDEM STREET                                                                                                  HOBOKEN             NJ           07030
   655181 FRANCIS A VALENTIN ROSADO                   P O BOX 2005                                                                                                       BARCELONETA         PR           00617
   177634 FRANCIS ACOSTA PEREZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCIS ADLIN COLLAZO
   655182 MANDES                                      URB ALGARROBOS               B 6 CALLE A                                                                           GUAYAMA             PR           00781
          FRANCIS ANTHUAN MORALES
   177636 GONZALEZ                                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177637 FRANCIS AYALA LOPERA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177639 FRANCIS BELTRAN                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177640 FRANCIS BERNARD CRUZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177641 FRANCIS BERRIOS LOPEZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655185 FRANCIS CARRASQUILLO NIEVES P O BOX 526                                                                                                                        CANOVANAS           PR           00729

   655186 FRANCIS CARRASQUILLO SAEZ                   CAMINO DE LEON CUPEY ALTO                                                                                          SAN JUAN            PR           00926
   177642 FRANCIS COLBERG PAGAN                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCIS COLLAZO/ SONIA
   177643 FUENTES                                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655187 FRANCIS COLON LOPEZ                         URB EXT LAS FLORES           H 21 CALLE 4                                                                          JUANA DIAZ          PR           00795
   655188 FRANCIS COLON RIVERA                        URB VILLA LOS SANTOS         FF 10 CALLE 22                                                                        ARECIBO             PR           00612
   177645 FRANCIS CORDERO RIVERA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177646 FRANCIS CORTES LAJARA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177647 FRANCIS D ECHEVARRIA TORRES REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177648 FRANCIS DANIEL NINA ESTRELLA                REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655190 FRANCIS DEL RIO MIRANDA                     PO BOX 690                                                                                                         CIALES              PR           00638
   655191 FRANCIS E RIVERA VELEZ                      PO BOX 825                                                                                                         SABANA GRANDE       PR           00637
   177653 FRANCIS E RODRIGUEZ VEGA                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177654 FRANCIS E RUIZ RAMIREZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177655 FRANCIS E VELEZ JIMENEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655192 FRANCIS EMMANUELLI COSME                    URB COLINAS                  Q 16 CALLE 16                                                                         TOA BAJA            PR           00974
   177656 FRANCIS F NEGRON ALVAREZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   177657 FRANCIS FIGUEROA MARTINEZ                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177659 FRANCIS GARCIA RIVERA                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   655194 FRANCIS GONZALEZ DELGADO                    HC 1 BOX 6455                                                                                                 LAS PIEDRAS          PR           00771‐9736
   177660 FRANCIS I DIAZ MEDINA                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177661 FRANCIS IRIZARRY COLON                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177662 FRANCIS J CORDERO COLON                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177663 FRANCIS J DE JESUS FALERO                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177664 FRANCIS J MATEO DIAZ                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177665 FRANCIS J RENTAS CASIANO                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   177667 FRANCIS JAVIER COLON ADAMES REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCIS JAVIER GALICIA
   177668 FELICIANO                   REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655196 FRANCIS L CABAN ARCE        COND METROMONTE                            ST 135 APT 207B                                                                    CAROLINA             PR           00987
   177671 FRANCIS L STACKPOOLE        REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655197 FRANCIS LAVIERA RAMOS       HILLS BROTHERS                             656 CALLE 13                                                                       SAN JUAN             PR           00924

   655198 FRANCIS M ALICEA RODRIGUEZ                  P O BOX 1217                                                                                                  OROCOVIS             PR           00720

   177672 FRANCIS M GONZALEZ TORRES                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177673 FRANCIS M ORTIZ PEREZ                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655199 FRANCIS M RIVERA ROSADO                     C 11 CALLE SUR                                                                                                VEGA ALTA            PR           00692
   177674 FRANCIS M SANTOS DIAZ                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177675 FRANCIS M TORRES REYES                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCIS M. BURGADO
   177676 SANTIAGO                                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCIS M. ENCARNACION
   177677 OSORIO                                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCIS MARIE GONZALEZ
   177680 REYES                                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177682 FRANCIS MATOS VAZQUEZ                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177683 FRANCIS MILORD CALDERON                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655202 FRANCIS N PEREZ SOTO                        431 COND FRENCH PLZ                                                                                           SAN JUAN             PR           00917
   177686 FRANCIS OCASIO                              REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177687 FRANCIS ORTIZ HUERTAS                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655176 FRANCIS ORTIZ RODRIGUEZ                     URB BUENA VENTURA          5035 CALLE ALELI                                                                   MAYAGUEZ             PR           00682
   655206 FRANCIS R FEBO TIRADO                       LOIZA VALLEY               Y 948 C/ UCAR                                                                      CANOVANAS            PR           00729
   177688 FRANCIS R MALDONADO                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177689 FRANCIS RAMIREZ PADOVANI                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655208 FRANCIS RIVERA                              BO ALGARROBO               325 CALLE LAS CAISEAS                                                              MAYAGUEZ             PR           00682
   655209 FRANCIS RIVERA CINTRON                      3 CALLE CELIS ALTOS                                                                                           NAGUABO              PR           00718

   655211 FRANCIS RIVERA TORRES                       SABANA HOYOS PARC NUEVAS   328 CALLE C                                                                        ARECIBO              PR           00688

   177691 FRANCIS RODRIGUEZ MERCADO REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   177693 FRANCIS ROLDAN HERNANDEZ                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177697 FRANCIS RUIZ PINEYRO                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655212 FRANCIS SANTIAGO DEL RIO                    CORREO CARIBE              PO BOX 2510 SUITE 134                                                              TRUJILLO ALTO        PR           00976

   177699 FRANCIS SANTIAGO GONZALEZ                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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   655213 FRANCIS SANTIAGO MARTINEZ                   URB LOMAS DE CAROLINA     P 11 CALLE CERRO MARAVILLA                                                                 CAROLINA             PR           00987
          FRANCIS SOSTRE MALDONADO
   177700 ASOC                                        REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   177701 FRANCIS SOTO DE JESUS                       REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   655214 FRANCIS SOTO GAY                            URB BELLO MONTE           L 20 CALLE 10                                                                              GUAYNABO             PR       00969
   177702 FRANCIS SOTO MELENDEZ                       REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   177703 FRANCIS T PAGAN MARTINEZ                    REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   177705 FRANCIS TORRES IBANEZ                       REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   177707 FRANCIS V CANALES ORTIZ                     REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   655215 FRANCIS VARGAS LEYRO                        64 CALLE RIERA PALMER                                                                                                MAYAGUEZ             PR       00680
   177708 FRANCIS VAZQUEZ MERCADO                     REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
          FRANCIS W MARTINEZ
   177709 FERNANDEZ                                   REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177711 FRANCIS Y MORALES PEREZ                     REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655216 FRANCIS YASIRA BELLO SILVA                  PO BOX 4396               SUPTE. DE ESCUELAS                                                                         VEGA BAJA            PR           00693
   177712 FRANCIS Z RAMOS VALENTIN                    REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655217 FRANCIS Z VAZQUEZ OSORIO                    VILLA VERDE               A 12 CALLE 1                                                                               BAYAMON              PR           00959

   177714 FRANCISBET GONZALEZ BURGOS                  REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177715 FRANCISC0 MANZANO OTERO                     REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177716 FRANCISCA A RAYA TROCHE                     REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655221 FRANCISCA ACOSTA PEREZ                      URB LOS ANGELES           BOLQ K 19 CALLE H                                                                          CAROLINA             PR           00979
   177717 FRANCISCA ADORNO NATAL                      REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655222 FRANCISCA ALBINO                            HC 05 BOX 9837                                                                                                       COROZAL              PR           00783
   655223 FRANCISCA ALICEA SANTANA                    COND BORINQUEN GARDENS    APT A304                                                                                   CABO ROJO            PR           00623

   655225 FRANCISCA APONTE LABRADOR                   COND SAN ANTONO           D 73 CALLE 8 APT 203                                                                       PONCE                PR           00728
                                                      C/O OFIC ASUNTOS DE LA
   655227 FRANCISCA APONTE NASSAR                     JUVENTUD                  252 CALLE SAN JOSE                                                                         SAN JUAN             PR       00901
   177718 FRANCISCA ARRACHE FERRER                    REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   177719 FRANCISCA ARZUAGA DAVILA                    REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   655229 FRANCISCA ATILES PEZ                        PO BOX 9222                                                                                                          CAROLINA             PR       00986
   177720 FRANCISCA AVILES APONTE                     REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   655230 FRANCISCA AYALA                             RES EL TORITO             K 7 CALLE 8                                                                                CAYEY                PR       00736
   177721 FRANCISCA AYALA MARCANO                     REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   655231 FRANCISCA BENITEZ BENITEZ                   RES FELIPE S OSORIO       EDIF 11 APT 58                                                                             CAROLINA             PR       00985
   177722 FRANCISCA BONILLA MOREL                     REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED

   177723 FRANCISCA BRITO MIRAMBEAU                   REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   655232 FRANCISCA C RAMIREZ MARTE                   CANTERA 2353 VILLA REAL                                                                                              SAN JUAN             PR           00915

   177724 FRANCISCA CARABALLO RIVERA                  REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655233 FRANCISCA CARDONA RAMOS                     URB TOA ALTA HGTS         AB 4 CALLE 24                                                                              TOA ALTA             PR           00953

   655234 FRANCISCA CARDONA VAZQUEZ URB TERRAZAS DEL TOA                        2G 8 CALLE 13                                                                              TOA ALTA             PR           00953
   655235 FRANCISCA CASTILLO        VILLA HUGO I                                PARC 749                                                                                   CANOVANAS            PR           00911
   177725 FRANCISCA CASTILLO AYALA  REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   655236 FRANCISCA CASTILLO ROJAS                    BO SAN ISIDRO             SECTOR VILLA HUGO 1‐ PARC 749                                                              CANIVANAS            PR           00911
   655238 FRANCISCA CASTRO VIERA                      PO BOX 6342                                                                                                          CAGUAS               PR           00726




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   177726 FRANCISCA CASTRO VILLANUEVA REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655240 FRANCISCA CLAUDIO COLON     CSM San Patricio                                                                                                                Hato Rey            PR           00936
          FRANCISCA CONCEPCION
   655242 RODRIGUEZ                   PO BOX 21456                                                                                                                    SAN JUAN            PR           00931
   655245 FRANCISCA CRESPO SANCHEZ    URB CIUDAD CRISTIANA                         408 AVE BOLIVIA                                                                    HUMACAO             PR           00791
   655246 FRANCISCA CRUZ ALCALA       P O BOX 9342                                                                                                                    SAN JUAN            PR           00908
   655247 FRANCISCA CRUZ DIAZ         193 MENAHAN ST APT 2R                                                                                                           BROOKLYN            NY           11237
   655248 FRANCISCA CRUZ FONTANEZ     P O BOX 50                                                                                                                      COMERIO             PR           00782
   655249 FRANCISCA CRUZ GONZALEZ     HC 01 BOX 13180                                                                                                                 AGUADILLA           PR           00603
   655252 FRANCISCA CRUZ SANTIAGO     P O BOX 3103                                                                                                                    ARECIBO             PR           00613
   177728 FRANCISCA DAVILA COLON      REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655253 FRANCISCA DAVILA CRUZ       BAYAMON GARDENS                              J 13 CALLE 14                                                                      BAYAMON             PR           00957
   655254 FRANCISCA DE JESUS COLON    6441 SW 17TH ST                                                                                                                 POMPANO BEACH       FL           33068

   177729 FRANCISCA DE JESUS MONCLOVA REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655255 FRANCISCA DE LA PAZ GOTAY   PO BOX 810                                                                                                                      TRUJILLO ALTO       PR           00977
   655256 FRANCISCA DE LEàN           BOX 1725                                                                                                                        JUANA DIAZ          PR           00795
   177730 FRANCISCA DE LOS SANTOS     REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655257 FRANCISCA DELGADO           BO CEIBA                                     74 PARCELAS HEVIA                                                                  CIDRA               PR           00739
   177731 FRANCISCA DELGADO GARCIA    REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655258 FRANCISCA DELGADO RUIZ      HP ‐ SALA 1 ALTO                                                                                                                RIO PIEDRAS         PR           00936‐0000
   655262 FRANCISCA DIAZ DIAZ         PMB 337 PO BOX 6400                                                                                                             CAYEY               PR           00737
   655264 FRANCISCA DIAZ MARTIR       VILLA CAROLINA                               5GG 8 PARQUE SAN JOSE                                                              CAROLINA            PR           00982
   655265 FRANCISCA ERAZO BAEZ        RES. VIRGILIO DAVILA                         EDIF 40 APTO 379                                                                   BAYAMON             PR           00619
   177733 FRANCISCA ESTRADA BONILLA   REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177735 FRANCISCA FERNANDEZ LOPEZ                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177736 FRANCISCA FIGUEROA GARCIA                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655268 FRANCISCA FIGUEROA TORRES                   HERMANAS DAVILA              211 CALLE 2                                                                        BAYAMON             PR           00959

   655269 FRANCISCA FLORES ROJAS                      BARRIO LIRIOS SECTOR 4 CALLES P O BOX 3237                                                                      JUNCOS              PR           00777

   177737 FRANCISCA FRONTERA OLIVER                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655270 FRANCISCA FUENTES VAZQUEZ                   PO BOX 101                                                                                                      CAYEY               PR           00737
   655272 FRANCISCA GARCIA MEDINA                     URB SANTA CRUZ               C 4 CALLE 3 APT 4                                                                  BAYAMON             PR           00961
   655273 FRANCISCA GARCIA RIVERA                     RR 3 BOX 10398                                                                                                  TOA ALTA            PR           00953
   655274 FRANCISCA GARCIA TOLEDO                     HC 01 BOX 7692                                                                                                  CANOVANAS           PR           00729
   655276 FRANCISCA GONZALEZ                          BOX 167                                                                                                         PALMER              PR           00721
   177738 FRANCISCA GONZALEZ CRUZ                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655278 FRANCISCA GONZALEZ DIAZ                     HC 03 BOX 9612                                                                                                  JUNCOS              PR           00777
   655280 FRANCISCA GONZALEZ SOLA                     BOX 1035 FACTOR 2                                                                                               ARECIBO             PR           00612
   177739 FRANCISCA GUEVARA FELIZ                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655284 FRANCISCA GUZMAN RUIZ                       BO CANTERA                   331 CALLE CANTERA                                                                  MAYAGUEZ            PR           00680
   655285 FRANCISCA HAU                               COND EL FALANSTERIO          C 4 PTA TIERRA                                                                     SAN JUAN            PR           00912

   177741 FRANCISCA HERNANDEZ JIMENEZ REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177743 FRANCISCA I RAMOS CRUZ      REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655286 FRANCISCA JIMENEZ EUSEBIO   URB SABANA GARDENS                           17‐3 CALLE SOUTH MAIN                                                              CAROLINA            PR           00983
   655288 FRANCISCA LAGO              P O BOX 2390                                                                                                                    SAN JUAN            PR           00919



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  177744 FRANCISCA LEON DAVILA                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  177745 FRANCISCA LOPEZ QUI¥ONEZ                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  177746 FRANCISCA LOPEZ RAMOS                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         FRANCISCA M ECHEVARRIA
  655289 NADAL                                        URB SANTA RITA              114 CALLE JANER                                                                          SAN JUAN             PR         00927

   177747 FRANCISCA M POMALES SUAREZ REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   655290 FRANCISCA MADERA RAMIREZ                    ALT DE VEGA BAJA            4 C/ E                                                                                   VEGA BAJA            PR         00693
   177748 FRANCISCA MAESTRE TORRES                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          FRANCISCA MAISONET
   655291 GONZALEZ                                    HC 1 BOX 2819                                                                                                        FLORIDA              PR         00650
   177749 FRANCISCA MALAVE                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   655218 FRANCISCA MALDONADO                         URB BAHIA                   63 CALLE CENTRAL                                                                         CATA¥O               PR         00962
   177750 FRANCISCA MARRERO MARTE                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   655294 FRANCISCA MARTINEZ ARROYO                   P O BOX 1856                                                                                                         COROZAL              PR         00783
   655295 FRANCISCA MARTINEZ COLON                    BO VEGA                                                                                                              CAYEY                PR         00736
   177751 FRANCISCA MARTINEZ RIOS                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   655296 FRANCISCA MASTACHE LOPEZ                    PO BOX 785                                                                                                           BARCELONETA          PR         00617

   655297 FRANCISCA MEDINA DELGADO                    HC 01 BOX 5018                                                                                                       YABUCOA              PR         00767‐9607
   655298 FRANCISCA MELEDEZ COLON                     HC 02 BOX 10199                                                                                                      GUAYNABO             PR         00971‐9783

   655299 FRANCISCA MELENDEZ CATALA                   SEC JULITO                  460 CALLE COTTO                                                                          SAN JUAN             PR         00928

   655300 FRANCISCA MENDEZ MARTINEZ                   LA PERLA                    1 SAN MIGUEL                                                                             SAN JUAN             PR         00901
   655219 FRANCISCA MIRANDA OTERO                     APARTADO 390                                                                                                         LAS MARIAS           PR         00670

   655304 FRANCISCA MONTALVO ROSADO PO BOX 947                                                                                                                             DORADO               PR         00646‐0947
   177752 FRANCISCA MORA COREANO    REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   655305 FRANCISCA MORALES PEREZ   1 CALLE LIPPITT                                                                                                                        SAN JUAN             PR         00915
          FRANCISCA MURIENTE
   655306 HERNANDEZ                 COND PARK BOULEVARD                           2305 CALLE LAUREL APT 611                                                                SAN JUAN             PR         00913

   655307 FRANCISCA NARVAEZ SANTIAGO HC 75 BOX 1144                                                                                                                        NARANJITO            PR         00719
   177753 FRANCISCA NAZARIO PINERO   REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   177754 FRANCISCA NIEVES MOLINA    REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   655308 FRANCISCA OCASIO                            BO MONACILLO                KM 3 CARR 21 CALLEJON COREA                                                              SAN JUAN             PR         00921

   177756 FRANCISCA OQUENDO ROQUE                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          FRANCISCA ORTEGA Y/O
   655310 LOURDES RODRIGUEZ                           P O BOX 249                                                                                                          TOA ALTA             PR         00954‐0249
                                                      COM VILLA CRISTIANA SOLAR
   655311 FRANCISCA ORTIZ CARRION                     391                                                                                                                  LOIZA                PR         00876
   655313 FRANCISCA ORTIZ SANTIAGO                    HC 01 BOX 7224                                                                                                       SALINAS              PR         00751
          FRANCISCA ORTIZ SANTIAGO/
   655314 MUNDO NUEVO                                 PO BOX 740                                                                                                           AIBONITO             PR         00705
   655315 FRANCISCA OTERO FILIBERTY                   RES HECTOR RUIZ             ED 2 APT 10                                                                              BARCELONETA          PR         00617
          FRANCISCA OTERO Y/O ISRAEL
   177758 TRAVIESO                                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED




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   655316 FRANCISCA OYOLA RIVERA                      BO ESPINOSA SECT ABALLARDE   PARC 21                                                                               DORADO              PR           00646
   655317 FRANCISCA PADILLA RIVERA                    RES MONTE HATILLO            EDIF 55 APT 683                                                                       SA JUAN             PR           00926
   655318 FRANCISCA PAGAN DIEPPA                      PO BOX 997                                                                                                         SAN LORENZO         PR           00754

   655319 FRANCISCA PEDRERO RIBALTA                   URB GEORGETOWN               B12 CALLE GREEN VALLEY                                                                GUAYNABO            PR           00966
   177759 FRANCISCA PENA LOPEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655220 FRANCISCA PEREZ BRANUELA                    URB SAN FERNANDO             E 2 CALLE 1                                                                           BAYAMON             PR           00957
   177760 FRANCISCA PEREZ LOPEZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655320 FRANCISCA PEREZ ORTIZ                       PO BOX 86                                                                                                          TOA BAJA            PR           00951
   177762 FRANCISCA PEREZ ROSARIO                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177763 FRANCISCA QUINONEZ OTERO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655325 FRANCISCA RAMOS RODRIGUEZ                   HC 3 BOX 12443                                                                                                     CAROLINA            PR           00987
   177764 FRANCISCA REYES FERRER                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCA REYNOSO / HENRY E
   177765 REYNOSO                                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCA RICHIEZ
   655326 VILLAVICENCIO                               PO BOX 2040                                                                                                        CANOVANAS           PR           00729
   655327 FRANCISCA RIOS RIOS                         EXT ZENO GANDIA              EDF C 10 APT 288                                                                      ARECIBO             PR           00612
   655328 FRANCISCA RIVERA                            PO BOX 976                                                                                                         SAN LORENZO         PR           00754
   655330 FRANCISCA RIVERA DIAZ                       BO CARRASQUILLO              115 CALLE DR VILLA NUEVA                                                              CAYEY               PR           00736
          FRANCISCA RODRIGUEZ DE
   655333 LOPEZ                                       439 MEDINA ST                                                                                                      STATEN ISLAND       NY           10306

   655335 FRANCISCA RODRIGUEZ RAMIREZ 1755 URB SANTIAGO IGLESIAS                                                                                                         SAN JUAN            PR           00921

   655336 FRANCISCA RODRIGUEZ RAMOS                   BRISAS DE CUPEY              EDIF 10 APT 142                                                                       SAN JUAN            PR           00926

   177766 FRANCISCA ROHENA SANCHEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655339 FRANCISCA ROIG MARTINEZ                     7 ALTURAS DEL PRADO                                                                                                CAYEY               PR           00736
   655340 FRANCISCA ROMAN                             HC 1 BOX 5154                                                                                                      HATILLO             PR           00659‐9702

   655341 FRANCISCA ROMAN RODRIGUEZ HC 763 BOX 3728                                                                                                                      PATILLAS            PR           00723

   655342 FRANCISCA ROMERO MAYSONET RES NEMECIO R CANALES                          EDIF 34 APT 637                                                                       SAN JUAN            PR           00919
   177768 FRANCISCA ROSA DE JESUS   REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177769 FRANCISCA ROSA GUZMAN     REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655344 FRANCISCA ROSADO MENDEZ   P O BOX 1060                                                                                                                         ARECIBO             PR           00616

   655345 FRANCISCA ROSADO RODRIGUEZ H C 05 BOX 94356                                                                                                                    ARECIBO             PR           00612
   177770 FRANCISCA RUIZ VEGA        REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655346 FRANCISCA SANCHEZ GONZALEZ PARC MAGUEYES                                 BUZON 21 CALLE 3                                                                      BARCELONETA         PR           00617
   655347 FRANCISCA SANCHEZ LUGO     RR 6 BOX 10662                                                                                                                      SAN JUAN            PR           00926
   655348 FRANCISCA SANCHEZ ORTIZ    HC 2 BOX 12253                                                                                                                      GURABO              PR           00778

   655349 FRANCISCA SANCHEZ SANTANA                   PO BOX 6848                                                                                                        YABUCOA             PR           00767‐9502

   177771 FRANCISCA SANTAELLA BONILLA REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655352 FRANCISCA SANTIAGO PLAZA    PARC FALU                                    500 CALLE 21                                                                          SAN JUAN            PR           00924‐1201
   655356 FRANCISCA SANTIAGO SIERRA   URB VILLA FONTANA                            2 JR 670 VIA 4                                                                        CAROLINA            PR           00983



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  655357 FRANCISCA SANTIAGO VEGA                      URB LA HACIENDA      AW 11 CALLE 43                                                                            GUAYAMA             PR           00784

   655358 FRANCISCA SIERRA CONCEPCION 7 OBRIEN TERRACE APT 474                                                                                                       LOWELL              MA           01854
   177772 FRANCISCA SOTELO            REDACTED                             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   655360 FRANCISCA TORRES LAO        BOX 7586                                                                                                                       PONCE               PR           00732
                                                                           784 CALLE TAURO URB VENUS
   655361 FRANCISCA TORRES OTERO                      VENUS GARDENS        GDNS                                                                                      SAN JUAN            PR           00926
   655362 FRANCISCA TORRES RAMOS                      PO BOX 2694                                                                                                    JUNCOS              PR           00777
   655363 FRANCISCA TORRES TORRES                     RES EL CEMI          EDIF 3 APT 15                                                                             SANTA ISABEL        PR           00757
          FRANCISCA VALLESCORBO
   177773 MERCEDES                                    REDACTED             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   177774 FRANCISCA VARGAS HERRERA                    REDACTED             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   177775 FRANCISCA VAZQUEZ                           REDACTED             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   177776 FRANCISCA VAZQUEZ FIGUEROA                  REDACTED             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   655364 FRANCISCA VAZQUEZ FLORES                    HC 40 BOX 44303                                                                                                SAN LORENZO         PR           00754‐9891
   177777 FRANCISCA VEGA                              REDACTED             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   177778 FRANCISCA VELEZ ORTIZ                       REDACTED             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   655367 FRANCISCA VELEZ PADILLA                     RR 01 BOX 13219                                                                                                TOA ALTA            PR           00953
   177779 FRANCISCA VIVO COLON                        REDACTED             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   177780 FRANCISCO A ARRIETA PLA                     PO BOX 364481                                                                                                  SAN JUAN            PR           00936‐4481
   177781 FRANCISCO A BAEZ ESPINEL                    REDACTED             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          FRANCISCO A BARRIOS
   177782 QUINONEZ                                    REDACTED             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   177783 FRANCISCO A BEJARANO LOPEZ                  REDACTED             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          FRANCISCO A CAPPAS
   655396 RODRIGUEZ                                   COND ROYAL           273 CALLE HONDURAS APT 501                                                                SAN JUAN            PR           00917

   177784 FRANCISCO A CATALA MIGUEZ                   REDACTED             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          FRANCISCO A CEDENO
   177785 LARACUENTE                                  REDACTED             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          FRANCISCO A CINTRON
   177786 GUTIERREZ                                   REDACTED             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          FRANCISCO A COLON
   177787 RODRIGUEZ                                   REDACTED             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   177788 FRANCISCO A CRUZ ROMERO                     REDACTED             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   177789 FRANCISCO A DE JESUS AVILES                 REDACTED             REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   655399 FRANCISCO A ESPIET CABRERA                  HC 5 BOX 57100                                                                                                 HATILLO             PR           00659

   655400 FRANCISCO A ESTRADA TRUJILLO COND VENUS PLAZA C                  160 CALLE COSTA RICA APT 201                                                              SAN JUAN            PR           00917

   177790 FRANCISCO A FELICIANO VARGAS REDACTED                            REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   655402 FRANCISCO A FERNANDEZ        OCEAN PARK                          1961 CALLE CACIQUE                                                                        SAN JUAN            PR           00911
          FRANCISCO A FIGUEROA
   177791 RAMIREZ                      REDACTED                            REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          FRANCISCO A FLORIMON
   177792 PAREDES                      REDACTED                            REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          FRANCISCO A GALLOZA
   177793 REGALADO                     REDACTED                            REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED




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   177794 FRANCISCO A GONZALEZ VELEZ                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO A HERNANDEZ
   177795 GARCIA                                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   655404 FRANCISCO A LORENZO FAMILIA ESTACION FERNANDEZ JUNCOS                   PO BOX 11855                                                                      SAN JUAN             PR           00910‐3855

   177796 FRANCISCO A LUGO CARDONA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   655405 FRANCISCO A LUGO SANTIAGO                   36 COM CABAN                CALLE DEL PARQUE                                                                  AGUADILL             PR           00603
          FRANCISCO A MARCANO
   177797 VAZQUEZ                                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO A MARQUEZ
   655406 HADDOCK                                     P O BOX 9023786                                                                                               SAN JUAN             PR           00902‐3786
          FRANCISCO A MARRERO
   177798 GONZALEZ                                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655408 FRANCISCO A MAYO AGUAYO                     URB SUMMITT HILLS           639 CALLE GREENWOOD                                                               SAN JUAN             PR           00920
   655409 FRANCISCO A MOLINA RIVERA                   URB CAGUAS NORTE            F‐2 CALLE FLORENCIA                                                               CAGUAS               PR           00725‐2261
   655410 FRANCISCO A MONROIG                         PO BOX 223                                                                                                    GUAYNABO             PR           00970
   655411 FRANCISCO A OJEDA DIEZ                      BAYSIDE COVE BOX 202        105 ARTERIAL HOSTOS                                                               SAN JUAN             PR           00918

   655412 FRANCISCO A ORTIZ BORRERO                   PO BOX 8421                                                                                                   PONCE                PR           00732

   655413 FRANCISCO A ORTIZ GONZALEZ                  9 CALLE CANITAS                                                                                               LAJAS                PR           00667‐2606
   177799 FRANCISCO A ORTIZ IRIZARRY                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177800 FRANCISCO A ORTIZ PADUA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177801 FRANCISCO A ORTIZ RIVERA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655414 FRANCISCO A ORTIZ ROCA                      RR 1 BOX 4738                                                                                                 MARICAO              PR           00606‐9707
   655416 FRANCISCO A PIETRI MORI                     URB LA RAMBLA 1381          CALLE CASTELLANA                                                                  PONCE                PR           00730
          FRANCISCO A POUERIET
   177802 RODRIGUEZ                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177805 FRANCISCO A RESTO TORRES                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   177806 FRANCISCO A RIVERA LOZANO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO A RIVERA
   655419 MALDONADO                                   URB BELLOMONTE              E15 CALLE 14                                                                      GUAYNABO             PR           00969

   177807 FRANCISCO A RIVERA QUIJANO                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   655421 FRANCISCO A RODRIGUEZ                       232 AVE ELEONOR ROOSEVELT                                                                                     SAN JUAN             PR           00907

   177808 FRANCISCO A RODRIGUEZ ALICEA REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO A SERRANO          478 CALLE INGENIERO JOSE A
   655426 CORDERO                      CANALS                                                                                                                       SAN JUAN             PR           00919

   655427 FRANCISCO A TORRES FONTANEZ PO BOX 9266                                                                                                                   CAGUAS               PR           00726‐9266
          FRANCISCO A TRAVERZO
   655428 CARDONA                        P O BOX 160                                                                                                                LAS MARIA            PR           00670
          FRANCISCO A VARGAS
   655429 TOMASSINI                      P O BOX 10120                                                                                                              SAN JUAN             PR           00922‐0120
   177811 Francisco A. Figueroa Molinari REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655432 FRANCISCO ABREU RIVERA         VIEJO SAN JUAN                           PO BOX 9023899                                                                    SAN JUAN             PR           00902‐3899
   177812 FRANCISCO ACEVEDO              REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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   655434 FRANCISCO ACEVEDO ACEVEDO                   JARDINES DE CAROLINA   32 CALLE E                                                                          CAROLINA             PR           00987‐7117
   177813 FRANCISCO ACEVEDO GARCIA                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655435 FRANCISCO ACEVEDO NIEVES                    HC 5 BOX 10861                                                                                             MOCA                 PR           00676
  1256507 FRANCISCO ACEVEDO RIVERA                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   655436 FRANCISCO ACEVEDO SANTIAGO URB TORRES MOLINO                       H 4 CALLE D                                                                         GUAYNABO             PR           00969
          FRANCISCO ADORNO/ ANTONIA
   177816 SANTIAGO                   HC 7 BOX 3509                                                                                                               PONCE                PR           00731
   177818 FRANCISCO ADROVER FUEYO    REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO AFANADOR
   655439 MONTALVO                   L 8 URB JESUS M LAGO                                                                                                        UTUADO               PR           00641
   655440 FRANCISCO AGALIANO PEREA   HC 1 BOX 3590                                                                                                               HORMIGUEROS          PR           00660
   655441 FRANCISCO AGOSTO BERRIOS   VILLA DAGMARITA                         RR 7 BOX 15                                                                         SAN JUAN             PR           00926
   655442 FRANCISCO AGOSTO CRUZ      RR 4 BOX 70184                                                                                                              BAYAMON              PR           00956
   177820 FRANCISCO AGOSTO ROSADO    REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655445 FRANCISCO AGRAIT OLIVERAS  P O BOX 192195                                                                                                              SAN JUAN             PR           00919
          FRANCISCO AGUEDA / RAMONA
   177821 RODRIGUEZ                  REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655448 FRANCISCO AGUILAR ROLON    BO CARMELITA                            BOX 47 CALLE 9                                                                      VEGA BAJA            PR           00693
   177822 FRANCISCO AGUIRRE MIGOYA   REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177823 FRANCISCO ALBA MOURIZ      REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO ALBERTO MUNOZ
   177824 LOPEZ                      REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655451 FRANCISCO ALBINO SAEZ      HC 37 BOX 7014                                                                                                              GUANICA              PR           00653
   655452 FRANCISCO ALBINO SANTOS    PO BOX 561304                                                                                                               GUAYANILLA           PR           00656
  1256508 FRANCISCO ALICEA MARTINEZ  REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655454 FRANCISCO ALICEA MORALES   PO BOX 393                                                                                                                  ARROYO               PR           00714
   177826 FRANCISCO ALICEA RIVERA    REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177827 FRANCISCO ALMEIDA LEON     REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655455 FRANCISCO ALMODOVAR JR     HC 645 BOX 4340                                                                                                             TRUJILLO ALTO        PR           00976

   655456 FRANCISCO ALOMAR TORRES    URB LLANOS DE PROVIDENCIA               C 3 CALLE 2                                                                         SALINAS              PR           00751
   655458 FRANCISCO ALSINA RIOS      PO BOX 9065239                                                                                                              SAN JUAN             PR           00906
          FRANCISCO ALVARADO A/C BCO
   655460 DES ECONOMICO              HC 01 BOX 5515                                                                                                              OROCOVIS             PR           00720

   177828 FRANCISCO ALVARADO JIMENEZ REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655461 FRANCISCO ALVARADO LOPEZ   P O BOX 492                                                                                                                 MAYAGUEZ             PR           00681

   177829 FRANCISCO ALVARADO MOLINA REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   177830 FRANCISCO ALVAREZ MARTINEZ REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177831 FRANCISCO AMADOR ORTIZ     REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   177832 FRANCISCO AMADOR RAMIREZ                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655465 FRANCISCO AMARO ORTIZ                       BDA MARIN              138 A CALLE 5                                                                       GUAYAMA              PR           00784

   655466 FRANCISCO ANDINO VAZQUEZ                    HC 3 BOX 9973                                                                                              YABUCOA              PR           00767
          FRANCISCO ANDRADES
   177834 PANIAGUA                                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655467 FRANCISCO ANGULO                            REXVILLE               BI 5 CALLE 35                                                                       BAYAMON              PR           00957
   655468 FRANCISCO ANSA TORO                         PO BOX 1796                                                                                                CAGUAS               PR           00726



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  655471 FRANCISCO APONTE APONTE                      PO BOX 174                                                                                                         YABUCOA             PR         00767
  177836 FRANCISCO APONTE AYALA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  177837 FRANCISCO APONTE BERRIOS                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   177838 FRANCISCO APONTE HERNANDEZ REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655470 FRANCISCO APONTE LAABES    400 CALLE CALAF                               STE 168                                                                               SAN JUAN            PR         00918

   177839 FRANCISCO APONTE SUSTACHE                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   177840 FRANCISCO ARCE CUEVAS                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   177841 FRANCISCO ARENCIBIA ALBITE                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655475 FRANCISCO ARIAS BONETA                      PO BOX 140821                                                                                                      ARECIBO             PR         00614

   655476 FRANCISCO AROCHO SERRANO                    URB PEPINO                   59 CALLE C                                                                            SAN SEBASTIAN       PR         00685

   655477 FRANCISCO ARQUER CORDERO                    HC 01 BOX 5707                                                                                                     ARROYO              PR         00714
   655370 FRANCISCO ARRIVI SILVA                      667 AVE PONCE DE LEON        PMB 206                                                                               SAN JUAN            PR         00907

   177842 FRANCISCO ARROYO CARRERA                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   177843 FRANCISCO ARROYO FIGUEROA                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   177844 FRANCISCO ARROYO GONZALEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655478 FRANCISCO ARROYO RIVERA                     PO BOX 362052                                                                                                      SAN JUAN            PR         00936‐2052

   177845 FRANCISCO ARROYO RODRIGUEZ REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655480 FRANCISCO ARROYO ROLDAN    PO BOX 164                                                                                                                          LAS PIEDRAS         PR         00771

   655481 FRANCISCO ARROYO VEGA                       COOP DE VIVIENDA LOS ROBLES EDIF A APT 108                                                                         SAN JUAN            PR         00927

   655482 FRANCISCO ARROYO VELEZ                      104 C JOSE G PADILLA SUITE 104 ESQ GONZALEZ CLEMENTE                                                               MAYAGUEZ            PR         00680
   655483 FRANCISCO ARTES FLORES                      URB SAN IGNACIO                1800 CALLE SAN RODOLFO                                                              SAN JUAN            PR         00927

   655484 FRANCISCO ARZUAGA TORRES                    PO BOX 372                                                                                                         BARRANQUITAS        PR         00794
   177846 FRANCISCO AVILES MARTINEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655371 FRANCISCO AVILES VALLE                      HC 56 BOX 35735                                                                                                    AGUADA              PR         00602
   655486 FRANCISCO AVILES ZAPATA                     HC 01 BOX 1593               CARR P R 101 KM 16 HM 3                                                               BOQUERON            PR         00622

   655487 FRANCISCO AYALA MALDONADO PO BOX 2164                                                                                                                          COAMO               PR         00769
   177847 FRANCISCO AYENDE          REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   177848 FRANCISCO AYENDE DE JESUS REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655489 FRANCISCO AYUSO FARGAS    BARRIO MARTIN GONZALEZ                         HC 02 BOX 14350                                                                       CAROLINA            PR         00987
   177849 FRANCISCO BAEZ IRIZARRY   REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   177850 FRANCISCO BAEZ LOPEZ      REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   177851 FRANCISCO BAEZ NAZARIO    REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   177852 FRANCISCO BAEZ SANTIAGO   REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   177853 FRANCISCO BAEZ SOTO       REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655490 FRANCISCO BARBA           13 HOLLY OAK DRIVE                                                                                                                   VOORHEES            NJ         08043
   177855 FRANCISCO BARRIENTOS      REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FRANCISCO BARRIONUEVO
   655491 SANTOS                    PO BOX 101                                                                                                                           CIDRA               PR         00739
   655492 FRANCISCO BARROSO         PO BOX 51544                                                                                                                         TOA BAJA            PR         00950




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          FRANCISCO BARTOLOMEI
   177856 NAZARIO                                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO BATISTA DBA                       URB. SIERRA BAYAMON 70‐3
   177857 BATISTA OFFICE                              CALLE 60                                                                                                          BAYAMON             PR           00961‐0000
   177858 FRANCISCO BATISTA RAMOS                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655493 FRANCISCO BATISTA TORRES                    HC 1 BOX 2699                                                                                                     MOROVIS             PR           00687
   177859 FRANCISCO BAYO VEGA                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO BECERRA
   177860 FERNANDEZ                                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655494 FRANCISCO BELLAFLORES                       CORREO AMERICO MIRANDA 179 BOX 70359                                                                              SAN JUAN            PR           00936
   177861 Francisco Beltran Berrios                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655495 FRANCISCO BELTRAN CINTRON                   HC 02 BOX 7200                                                                                                    YABUCOA             PR           00767
   655497 FRANCISCO BELTRAN LABOY                     PO BOX 591                                                                                                        HUMACAO             PR           00792‐0591

   655498 FRANCISCO BELTRAN MORALES                   E 29 URB VILLA ROSALES                                                                                            AIBONITO            PR           00705

   177863 FRANCISCO BELTRAN RAMIREZ                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655499 FRANCISCO BENGOA PERAZA                     CAMINO WARLINGTON          CARR 176 KM 5 2                                                                        SAN JUAN            PR           00926

   655500 FRANCISCO BENITEZ VAZQUEZ                   URB GLENVIEW GARDENS       T 37 CALLE 17                                                                          PONCE               PR           00731
          FRANCISCO BENTANCOURT
   655502 TORRES                                      MSC 794                    138 AVE WINSTON CHURCHILL                                                              SAN JUAN            PR           00926
   177864 FRANCISCO BERGES BUISAC                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655504 FRANCISCO BERRIOS MARRERO                   HC 1 BOX 5427                                                                                                     BARRANQUITAS        PR           00794
          FRANCISCO BETANCOURT
   655505 ACOSTA                                      URB SANTA MARIA            134 CALLE MIMOSA                                                                       SAN JUAN            PR           00927
                                                                                 BF11 CALLE 24 VALLE
   655506 FRANCISCO BETANCOURT IBERN                  URB VILLA UNIVERSITARIA    UNIVERSITARIO                                                                          HUMACAO             PR           00791
   655507 FRANCISCO BIGAS                             PO BOX 7738                                                                                                       PONCE               PR           00732
   177867 FRANCISCO BILLOCH                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177868 FRANCISCO BIRRIEL DE JESUS                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655508 FRANCISCO BLANCO MENA                       P O BOX 140518                                                                                                    ARECIBO             PR           00614
   177869 Francisco Blanco Rodriguez                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655509 FRANCISCO BONET DE JESUS                    PMB 1442 CALLE PARIS 243                                                                                          SAN JUAN            PR           00917
   177870 FRANCISCO BONET RIVERA                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177871 FRANCISCO BONILA FELICIANO                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177872 FRANCISCO BONILLA                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655372 FRANCISCO BONILLA PEREZ                     URB REPARTO VALENCIANO     J 33 CALLE ROBLES                                                                      JUNCOS              PR           00777
          FRANCISCO BRUNO
   177873 MALDONADO                                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177874 FRANCISCO BRUNO ORELLANO                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177876 FRANCISCO BURGOS LOPEZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655513 FRANCISCO BURGOS ORAMA                      HC 02 BOX 4876                                                                                                    VILLALBA            PR           00766
   655514 FRANCISCO C FUSTER VIGIER                   ALTURAS DE FLAMBOYAN       II 9 CALLE 2                                                                           BAYAMON             PR           00959
   655516 FRANCISCO C RIVERA SOTO                     PO BOX 5109                                                                                                       CAROLINA            PR           00739
   655517 FRANCISCO CABALLERO                         146 CALLE FOGOS                                                                                                   PONCE               PR           00731

   655518 FRANCISCO CABALLERO ALVAREZ PO BOX 1463                                                                                                                       MANATI              PR           00674



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  655519 FRANCISCO CABAN RAMIREZ                      VICTORY STATION       PO BOX 2069                                                                       AGUADILLA         PR           00605
  655520 FRANCISCO CABAN SANCHEZ                      HC 3 BOX 11112                                                                                          JUANA DIAZ        PR           00795‐9502

   177878 FRANCISCO CABANAS SEIDEDOS                  REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          FRANCISCO CABELLO
   177879 DOMINGUEZ                                   REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   177881 FRANCISCO CACERES                           REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   655522 FRANCISCO CACERES GARCIA                    PO BOX 944                                                                                              PE¥UELAS          PR           00624
   655523 FRANCISCO CAIROL MAS                        PO BOX 350                                                                                              MAYAGUEZ          PR           00681
          FRANCISCO CALDERON
   177882 SANTIAGO                                    REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   655524 FRANCISCO CALIMANO RAMOS                    URB EL PARAISO        1606 CALLE ORINOCO                                                                SAN JUAN          PR           00926
   655525 FRANCISCO CALO PASTRANA                     P O BOX 1382                                                                                            LUQUILLO          PR           00773

   655526 FRANCISCO CALZADA BARREIRO VILLA CAROLINA                         48‐4 CALLE 40                                                                     CAROLINA          PR           00985
   177883 FRANCISCO CAMACHO BAEZ     REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   655373 FRANCISCO CAMACHO CANALES URB VILLA CAROLINA                      237 CALLE 613                                                                     CAROLINA          PR           00985

   177884 FRANCISCO CAMACHO TORRES                    REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   177885 FRANCISCO CANABAL LOPEZ                     REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   655528 FRANCISCO CANCEL                            PO BOX 763                                                                                              AIBONITO          PR           00705
   655529 FRANCISCO CANCEL SOTO                       P O BOX 1240                                                                                            LAS PIEDRAS       PR           00771‐1240
          FRANCISCO CARABALLO
   177887 BORRERO                                     REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   655532 FRANCISCO CARABALLO SANTOS RES FRANKLIN D ROOSEVELT               EDIF 22 APT 484                                                                   MAYAGUEZ          PR           00680

   177888 FRANCISCO CARBAJAL DELGADO REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   655534 FRANCISCO CARBONELL ESTEVA PO BOX 535                                                                                                               UTUADO            PR           00641

   177889 FRANCISCO CARDONA FIGUEROA REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   655535 FRANCISCO CARDONA LOPEZ    URB SAN ANTONIO                        C 16 CALLE B                                                                      ARROYO            PR           00714

   177891 FRANCISCO CARRERA MIRANDA REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   177892 FRANCISCO CARRERAS MIRANDA REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   655536 FRANCISCO CARRERO ORSINI   BO ATALAYA                             HC 02 BOX 6073                                                                    RINCON            PR           00677
   655537 FRANCISCO CARRERO RUIZ     PO BOX 293                                                                                                               RINCON            PR           00677
   177893 FRANCISCO CARRILLO BRITO   REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   655538 FRANCISCO CARRION JORDAN   HC 52 BOX 4068                                                                                                           GARROCHALES       PR           00652

   655539 FRANCISCO CARRO ANZALOTA                    URB MANSION DEL SUR   FA 24 CALLE BALVARIA                                                              CATA¨O            PR           00962
          FRANCISCO CARTAGENA
   177894 MORALES                                     REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   177895 FRANCISCO CASTELLO ESPINO                   REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   655541 FRANCISCO CASTILLO GOMEZ                    PO BOX 66                                                                                               TOA BAJA          PR           00949
          FRANCISCO CASTILLO
   655543 VILLAVICENCIO                               PO BOX 810233                                                                                           CAROLINA          PR           00981‐0233
   655544 FRANCISCO CASTRO COLON                      PO BOX 1988                                                                                             JUNCOS            PR           00777‐1988
   177896 FRANCISCO CASTRO LABOY                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  655546 FRANCISCO CASTRO RIVERA                      HC 1 BOX 8676                                                                                                      GURABO              PR           00778

   655548 FRANCISCO CATALA GONZALEZ                   CAIMITO BAJO              RR 6‐9454                                                                                SAN JUAN            PR           00926
   177897 FRANCISCO CATALA RONDON                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   655549 FRANCISCO CAVEDA RODRIGUEZ COND GRANADA PARK 100                      BOX 374 CALLE MARGINAL                                                                   GUAYNABO            PR           00969
   655550 FRANCISCO CEDENO CASTRO    EXT COSTA SUR                              H 36 CALLE E                                                                             YAUCO               PR           00698
          FRANCISCO CEDENO
   177898 VILLANUEVA                 REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   177899 FRANCISCO CHAVEZ CASTELLON REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   177900 FRANCISCO CHIROQUE BENITES                  REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   655552 FRANCISCO CHOUDENS JUARBE                   COND LOS LIROS            CALLE FLORES APT 6 A                                                                     SAN JUAN            PR           00907
   655553 FRANCISCO CINTRON DIAZ                      URB VALLES DE GUAYAMA     1‐15 CALLE 8                                                                             GUAYAMA             PR           00784
   655554 FRANCISCO CINTRON MEDINA                    URB COUNTRY CLUB          JB 34 CALLE 27                                                                           CAROLINA            PR           00982
   655555 FRANCISCO CINTRON RIVERA                    HC 73 BOX 5751                                                                                                     NARANJITO           PR           00719
   177902 FRANCISCO CIRINO FUENTES                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   177904 FRANCISCO CLAUDIO CLAUDIO                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   655556 FRANCISCO CLAUDIO MORALES                   HC 2 BOX 37996                                                                                                     CAGUAS              PR           00725

   177905 FRANCISCO CLAUDIO RAMIREZ                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   655559 FRANCISCO CLAUDIO RIVERA                    BO CORAZON                154 CALLE SAN FELIPE                                                                     GUAYAMA             PR           00784

   177906 FRANCISCO CLAUDIORAMIREZ                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   655562 FRANCISCO COLLAZO GONZALEZ HC 3 BOX 8121                                                                                                                       LARES               PR           00669

   655564 FRANCISCO COLLAZO MEDINA   HC‐01 BOX 2774                                                                                                                      FLORIDA             PR           00650
          FRANCISCO COLLAZO Y AMPARO
   655566 BAEZ                       PO BOX 7055                                                                                                                         SAN JUAN            PR           00916
   655567 FRANCISCO COLON            475 10TH AVENUE                                                                                                                     NEW YORK            NY           10018
   655568 FRANCISCO COLON ALICEA     HC 02 BOX 1222                                                                                                                      QUEBRADILLA         PR           00678 9802
   177907 FRANCISCO COLON BONILLA    REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   655570 FRANCISCO COLON FLORES     HC 2 BOX 13593                                                                                                                      GURABO              PR           00778

   655571 FRANCISCO COLON JUSTINIANO                  15 BDA WILLIAM IRIZARRY                                                                                            MAYAGUEZ            PR           00680

   655572 FRANCISCO COLON MARTINEZ                    HC 01 BOX 2859                                                                                                     MOROVIS             PR           00687
   655573 FRANCISCO COLON MOYERO                      P O BOX 546               SABANA HOYOS                                                                             ARECIBO             PR           00688
   655574 FRANCISCO COLON PE¥A                        URB FAIR VIEW 696         CALLE MARTIN GUILUZ                                                                      SAN JUAN            PR           00926
   655575 FRANCISCO COLON RAMOS                       PO BOX 341                                                                                                         AIBONITO            PR           00705

   655577 FRANCISCO COLON RIVERA                      URB EL VEDADO             168 CALLE RODRIGO DE TRIANA                                                              SAN JUAN            PR           00918
   655579 FRANCISCO COLON ROSADO                      URB PUERTO NUEVO          1227 CALLE 18 NE                                                                         SAN JUAN            PR           00920
   655580 FRANCISCO COLON SELLES                      VILLA DEL REY             T11 CALLE BOUCKINHAM                                                                     CAGUAS              PR           00725
   177908 FRANCISCO COLON VALE                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   177909 FRANCISCO COLON VALENTIN                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   177910 FRANCISCO COLON VIERA                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED




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          FRANCISCO COLON/ASOC CIVICA
   655582 REC CULTURAL                COMUNIDAD BUEN CONSEJO                     PO BOX 9023207                                                                         SAN JUAN            PR           00902‐3207
          FRANCISCO CONCEPCION
   177911 CINTRON                     REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO CONCEPCION
   655585 GONZALEZ                    BO CAIMITO ALTO                            AVELINO LOPEZ KM 3 9                                                                   SAN JUAN            PR           00924
          FRANCISCO CONCEPCION
   177912 RODRIGUEZ                   REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655587 FRANCISCO CORDERO PADRO                     BO ANGELES SECTOR EL CORCHO                                                                                       UTUADO              PR           00611
   177914 FRANCISCO CORDERO PEREZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177915 FRANCISCO COREANO NEGRON                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177916 FRANCISCO CORNELIO ROSA                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177917 FRANCISCO CORNELIO SOSA                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655588 FRANCISCO CORREA GABRIEL                    868‐A‐FACTOR‐1                                                                                                    ARECIBO             PR           00612
   177918 FRANCISCO CORTES COLON                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO CORTES
   655590 MALDONADO                                   PO BOX 584                                                                                                        UTUADO              PR           00641

   177919 FRANCISCO COSME MARTINEZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177920 FRANCISCO COSTAS RIVERA                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177921 Francisco Cotto Ortiz                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655374 FRANCISCO COTTO RIVERA                      HC 43 BOX 12084                                                                                                   CAYEY               PR           00736
   177922 FRANCISCO COTTO SOSTRE                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655592 FRANCISCO CRESPO RIOS                       PO BOX 6645                                                                                                       MAYAGUEZ            PR           00681‐6645
   177923 FRANCISCO CRESPO SANTOS                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177924 FRANCISCO CRUZ                              REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655594 FRANCISCO CRUZ ALVAREZ                      SUMMIT HILLS               1663 CALLE ATLAS                                                                       SAN JUAN            PR           00920
   655595 FRANCISCO CRUZ COCHRAN                      MIRADOR DE BAIROA          2S 38 CALLE 27                                                                         CAGUAS              PR           00727‐1037
   655596 FRANCISCO CRUZ COLON                        RR 2 BOX 7129                                                                                                     CIDRA               PR           00739
   655597 FRANCISCO CRUZ FIGUEROA                     BOX 4446                                                                                                          NAGUABO             PR           00718
   655598 FRANCISCO CRUZ MARTINEZ                     SAINT JUST                 87 CALLE BETANIA 2                                                                     TRUJILLO ALTO       PR           00976
   655599 FRANCISCO CRUZ PEREZ                        PO BOX 302                                                                                                        LAS MARIAS          PR           00670
   655600 FRANCISCO CRUZ PIZARRO                      LA PERLA                   132 CALLE T REYES                                                                      SAN JUAN            PR           00901
   177928 FRANCISCO CRUZ SANTOS                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177929 FRANCISCO CRUZ SERRANO                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177930 FRANCISCO CRUZ VAZQUEZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655605 FRANCISCO CRUZ VEGA                         SANTA JUANITA              MM 3 CALLE 32                                                                          BAYAMON             PR           00960
   177931 FRANCISCO CUEBAS ARBONA                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655606 FRANCISCO CUETO BERNARDO                    COND LAGUNA TOWER          503 PH CALLE CERRA                                                                     SAN JUAN            PR           00907
          FRANCISCO CULBELO/EQUIP
   655608 PANTERA HATILLO                             OLD TIME                   PARC STA ROSA 144 CALLE B                                                              HATILLO             PR           00659

   177932 FRANCISCO D GONZALEZ RUIZ                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177934 Francisco D Rivera Maldonado                REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655610 FRANCISCO DAVILA                            URB GARCIA                 7 CALLE A                                                                              SAN JUAN            PR           00923
   177935 FRANCISCO DAVILA TORO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177936 FRANCISCO DAVILA VARGAS                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO DE ASIS TORO
   177937 OSUNA                                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          FRANCISCO DE BOKJA JIMENEZ
   177938 CRESPO                                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO DE CHOUDENS
   655611 FELICIANO                                   URB SANTIAGO IGLESIA          1864 CALLE SANCHEZ LOPEZ                                                              SAN JUAN             PR           00921
   177939 FRANCISCO DE JESUS                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   177940 FRANCISCO DE JESUS DELGADO                  REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   655613 FRANCISCO DE JESUS GUTIERREZ P O BOX 203                                                                                                                        NAGUABO              PR           00718
   177941 FRANCISCO DE JESUS RIOS      REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655614 FRANCISCO DE LA CRUZ         VILLA PALMERAS                               261 CALLE CASTRO VI¥A                                                                 SAN JUAN             PR           00912
          FRANCISCO DE LA CRUZ Y JULIA
   177943 CRUZ                         REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO DE LA ROSA
   655615 PEGUERO                      URB METROPOLIS                               O 31 A CALLE 22                                                                       CAROLINA             PR           00987
   177944 FRANCISCO DE LA TORRE        REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO DE LA TORRE
   655616 MADRAZO                      SUITE 509                                    400 AVE DOMENECH                                                                      SAN JUAN             PR           00918
          FRANCISCO DE LA TRORRE
   655618 CANCEL                       PO BOX 2422                                                                                                                        VEGA BAJA            PR           00694
   177945 FRANCISCO DE LEON            REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   177946 FRANCISCO DE PENA RAMIREZ                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO DEL MORAL
   655619 FERNANDEZ                                   URB EXTENCION SAN ANTONIO     1824 AVE LAS AMERICA                                                                  PONCE                PR           00731

   177947 FRANCISCO DEL OLMO COLLADO REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   655620 FRANCISCO DEL ROSARIO                       1082 CALLE PADRE CAPUCHINO                                                                                          SAN JUAN             PR           00925
   655621 FRANCISCO DEL VALLE                         URB CORCHADO                  55 CALLE ALEGRIA                                                                      ISABELA              PR           00662

   655622 FRANCISCO DELGADO CANABAL PO BOX 6                                                                                                                              LARES                PR           00669

   655625 FRANCISCO DELGADO MARTINEZ PO BOX 487                                                                                                                           JAYUYA               PR           00664‐0487
   655626 FRANCISCO DELGADO ROQUE    CIUDAD JARDIN                                  20 CALLE HORTENSIA                                                                    CAROLINA             PR           00987

   655627 FRANCISCO DEODATTI SANCHEZ URB VALLE DE ANDALUCIA                         3335 CALLE JAEN                                                                       PONCE                PR           00728
   655628 FRANCISCO DIAZ             15 E 208 ST APT SUPER                                                                                                                BRONX                NY           10467

   655629 FRANCISCO DIAZ DE LA TORRE                  URB CAGUAS NORTE              AC25 CALLE HAWAII                                                                     CAGUAS               PR           00725
   655630 FRANCISCO DIAZ FELICIANO                    P O BOX 83                                                                                                          ARECIBO              PR           00613
   655631 FRANCISCO DIAZ FERNANDEZ                    HC 40 BOX 40688                                                                                                     SAN LORENZO          PR           00754
   655632 FRANCISCO DIAZ FIGUEROA                     URB JARD DE PALMAREJO         K 10 CALLE 8                                                                          CANOVANAS            PR           00729
   177948 FRANCISCO DIAZ GARCIA                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655633 FRANCISCO DIAZ GUZMAN                       HC 07 BOX 32935                                                                                                     CAGUAS               PR           00727‐6461
   177949 FRANCISCO DIAZ HERNANDEZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      BANCO COOPERATIVO PLAZA
   655635 FRANCISCO DIAZ HERRERO                      SUITE 1103B                   623 PONCE DE LEON                                                                     SAN JUAN             PR           00917‐4819
   177950 FRANCISCO DIAZ MARTINEZ                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO DIAZ MASSO /
   177951 BERMUDE                                     P O BOX 192596                                                                                                      SAN JUAN             PR           00919

   655639 FRANCISCO DIAZ MORALES                      BG18 CALLE DR JOSE A DAVILA                                                                                         LEVITTOWN            PR           00949



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  177952 FRANCISCO DIAZ RODRIGUEZ                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  177954 FRANCISCO DIAZ SILVA                         REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  655642 FRANCISCO DIAZ SOTO                          RR 1 BOX 6519                                                                                                GUAYAMA             PR         00784‐9640
 1419788 FRANCISCO DÍAZ, ARTURO                       ARIEL FÉLIX CINTRÓN     ACT PO BOX 42007                                                                     SAN JUAN            PR         00940
  655643 FRANCISCO DOMINGUEZ                          P O BOX 21365                                                                                                SAN JUAN            PR         00928
         FRANCISCO DOMINGUEZ
  177955 ORTEGA                                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         FRANCISCO DOMINGUEZ
  177956 VILLAFAðE                                    REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         FRANCISCO DOMINGUEZ
  177957 VILLAFANE                                    REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  177958 FRANCISCO DOX MILLAN                         REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  655644 FRANCISCO DUQUE COLON                        HC 02 BOX 7350                                                                                               YABUCOA             PR         00767
  655645 FRANCISCO DURAN ACEVEDO                      URB LOMAS VERDES        360 CALLE CALSEDONIA                                                                 MOCA                PR         00676

   655646 FRANCISCO E ALVAREZ ROSARIO VILLA CLEMENTINA                        F17 CALLE NUEVA                                                                      GUAYNABO            PR         00969
   177959 FRANCISCO E ALVAREZ RUIZ    REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

          FRANCISCO E BACO/FARMACIA
   655647 CEN MAYAGUEZ                                ESQUINA PERAL           50 CALLE RAMOS ANTONINI                                                              MAYAGUEZ            PR         00680
   177960 FRANCISCO E BALL ROSA                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   655649 FRANCISCO E COLOM MEDINA                    HACIENDAS DE CARRAIZO   F 21 CALLE 6                                                                         SAN JUAN            PR         00926
          FRANCISCO E DANIELSEN
   655651 ECHEGAR                                     URB VILLA CAROLINA      15‐2 CALLE 24                                                                        CAROLINA            PR         00987
   177961 FRANCISCO E GUZMAN INC                      PO BOX 1042                                                                                                  SABANA SECA         PR         00952

   177962 FRANCISCO E LOPEZ RODRIGUEZ REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   655652 FRANCISCO E MARTINEZ APONTE P O BOX 22454                                                                                                                SAN JUAN            PR         00931‐2454
   177963 FRANCISCO E POL MARIN        REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655375 FRANCISCO E REYES ESTRADA    HC 3 BOX 13633                                                                                                              JUANA DIAZ          PR         00795‐9516
                                       CONDOMINIO JARDIN
   655653 FRANCISCO E RIVERA RODRIGUEZ UNIVERSITARIO                          APT 201                                                                              SAN JUAN            PR         00925
   177964 FRANCISCO E ROSARIO ORTIZ    REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   177965 FRANCISCO E VALDEZ MORALES                  REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   177966 FRANCISCO E. DUARTE PENA                    REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655654 FRANCISCO E. GIBOYEAUX                      PO BOX 634                                                                                                   COAMO               PR         00769

   177967 FRANCISCO ECHEVARRIA RIVERA REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   177968 FRANCISCO ELIAS AYALA       REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655655 FRANCISCO ELIAS BAUZA       EDIF ANGELI I APT 809                                                                                                        CATANO              PR         00962
   177969 FRANCISCO ELIAS CANCEL      REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FRANCISCO ENCARNACION
   655656 HERNANDEZ                   HC 2 BOX 15629                                                                                                               CAROLINA            PR         00985‐9741

   655657 FRANCISCO ESCOBAR GALINDEZ 11 BO CANTO MARINO                                                                                                            MANATI              PR         00674
          FRANCISCO ESCOBAR
   177970 HERNANDEZ                  REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   177971 FRANCISCO ESTARELLAS QUILES                 REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   655658 FRANCISCO ESTRADA BIBILONI                  GARDEMAYO EL CONDADO                                                                                          CAGUAS               PR           00725
   177972 FRANCISCO ESTRADA RUIZ                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177973 FRANCISCO EXCIA GONZALEZ                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   655660 FRANCISCO F GARCIA MARTINEZ M 9 URB LAS MERCEDES                                                                                                          ARROYO               PR           00714
   655661 FRANCISCO F NOEL IRIZARRY   PO BOX 109                                                                                                                    SAN GERMAN           PR           00683
   655663 FRANCISCO FALCON            P O BOX 252                                                                                                                   TOA BAJA             PR           00951

   655664 FRANCISCO FARRARO SANTIAGO PO BOX 2497                                                                                                                    GUAYAMA              PR           00785
          FRANCISCO FARRERO
   655665 CAPBLANCA                  P O BOX 60‐075                                                                                                                 BAYAMON              PR           00960

   655666 FRANCISCO FEBLES GONZALEZ                   URB LAS AMERICAS       989 CALLE PUERTO PRINCIPE                                                              SAN JUAN             PR           00921
   177974 FRANCISCO FEBLES SANTIAGO                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655667 FRANCISCO FEBRES DELGADO                    URB ROSA MARIA         A 13 CALLE P VELAZQUEZ                                                                 CAROLINA             PR           00985
   177976 FRANCISCO FEBUS RIVERA                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   177977 FRANCISCO FELIBERTY IRIZARRY                REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655670 FRANCISCO FELICIANO AVILES                  HC 56 BOX 4755                                                                                                AGUADA               PR           00602
          FRANCISCO FELICIANO CRUZ Y
   177978 LUZ P CRUZ                                  REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO FELICIANO
   655671 GONZALEZ                                    CIUDAD CENTRO          51 CALLE GUAMANI                                                                       CAROLINA             PR           00987

   655672 FRANCISCO FELICIANO IRIZARRY RES FRANKLIN D ROOSEVELT              EDIF 6 APT 147                                                                         MAYAGUEZ             PR           00680

   177979 FRANCISCO FELICIANO MIRANDA REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655376 FRANCISCO FELIU             PO BOX 20122                                                                                                                  SAN JUAN             PR           00928
   655673 FRANCISCO FERNANDEZ         COND ALTOS DE LA COLINA                1600 RAMAL 842 APT 806                                                                 SAN JUAN             PR           00926
          FRANCISCO FERNANDEZ
   177980 ALVAREZ                     REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   655674 FRANCISCO FERNANDEZ BANZO                   PO BOX 4581                                                                                                   VEBA BAJA            PR           00694‐4581
          FRANCISCO FERNANDEZ
   655676 CARABALLO                                   URB MONTE CARLO        19 CALLE A                                                                             VEGA BAJA            PR           00693
          FRANCISCO FERNANDEZ
   177981 CHIQUES LLC                                 PO BOX 9748                                                                                                   SAN JUAN             PR           00908
          FRANCISCO FERNANDEZ
   177982 DELGADO                                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   177983 FRANCISCO FERNANDEZ DIAZ                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO FERNANDEZ
   177985 HUGGINS                                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO FERNANDEZ
   655677 RODRIGUEZ                                   309 CALLE JAGUA TUNA                                                                                          GUAYANILLA           PR           00656

   177986 FRANCISCO FERNANDEZ TORRES REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO FERNANDINI
   655369 RODRIGUEZ                  HC 4 BOX 15590                                                                                                                 SAN SEBASTIAN        PR           00685

   177988 FRANCISCO FERRAIUOLI SUAREZ REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655678 FRANCISCO FERRER VAZQUEZ    URB VERSALLES                          D26 CALLE 4                                                                            BAYAMON              PR           00959




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          FRANCISCO FERRER Y NILDA C
   177989 MARCANO                                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177990 FRANCISCO FIGUEROA                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177991 FRANCISCO FIGUEROA ANDINO                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO FIGUEROA
   177992 CAMACHO                                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655680 FRANCISCO FIGUEROA DE JESUS BO QUEBRADA ARENA                          CARR 181                                                                          SAN LORENZO         PR           00754

   655682 FRANCISCO FIGUEROA FERREIRA PO BOX 471                                                                                                                   NARANJITO           PR           00719

   655684 FRANCISCO FIGUEROA LUCIANO JARDINES DE CAPARRA                         I 18 CALLE 11                                                                     BAYAMON             PR           00959
          FRANCISCO FIGUEROA
   177993 MELENDEZ                   REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   177994 FRANCISCO FIGUEROA PAGAN   REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   177995 FRANCISCO FIGUEROA PIðERO                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178000 FRANCISCO FIGUEROA TOLINCHE REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655685 FRANCISCO FLORES FALERO     PO BOX 1210                                                                                                                  JUNCOS              PR           00777
   655686 FRANCISCO FLORES GARCIA     26A CALLE TOMAS MESTRE                                                                                                       CIDRA               PR           00739

   655687 FRANCISCO FLORES HERNANDEZ PO BOX 1112                                                                                                                   FAJARDO             PR           00738

   655688 FRANCISCO FLORES ORENGO      URB ALTURAS DE RIO GRANDE                 N 652 CALLE 11                                                                    RIO GRANDE          PR           00745
          FRANCISCO FLORES Y GLENDALIZ
   655689 SANCHEZ                      URB COLINAS DE YAUCO                      A 5 CALLE 1                                                                       YAUCO               PR           00698

   655690 FRANCISCO FONSECA SANCHEZ                   RR 4 BZN 2826                                                                                                BAYAMON             PR           00956

   178002 FRANCISCO FONTANEZ RIVERA                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655691 FRANCISCO FOURNIER                          URB EL CEREZAL             1642 CALLE PARANA                                                                 SAN JUAN            PR           00926

   178003 FRANCISCO FRANCES, MIOSOTIS REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178005 FRANCISCO FRANCO GAUTIER    REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655694 FRANCISCO FRANQUIZ ZAMORA P O BOX 366121                                                                                                                 SAN JUAN            PR           00936‐6121

   178006 FRANCISCO FREIRIA ESCUDERO                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655696 FRANCISCO FREIRIA GARRATON                  URB GARDENS HILLS ESTATE   16 CALLE 4                                                                        GUAYNABO            PR           00966
   655697 FRANCISCO FRET SANCHEZ                      COND LOS NARANJALES        EDIF D 45 APT 214                                                                 CAROLINA            PR           00985
   178007 FRANCISCO FRIAS PEREZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655698 FRANCISCO FUENTE SCHWARTS                   HC 03 BOX 13573                                                                                              COROZAL             PR           00783
   655699 FRANCISCO FUENTES                           PO BOX 94                                                                                                    NAGUABO             PR           00718
   178008 FRANCISCO FUENTES RIVERA                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO FUENTES/ AZ
   178010 ENERGY LLC                                  M 17 URB CERRO REAL                                                                                          GUAYNABO            PR           00969

   178011 FRANCISCO G ARTEGA MARTINEZ REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178012 FRANCISCO G COLON COLON     REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  178013 FRANCISCO G GARCIA RIVERA                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   178014 FRANCISCO G JIMENEZ ADORNO                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   178015 FRANCISCO G PADRO PEREZ                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FRANCISCO G RAMIREZ
   655701 CEBOLLERO                                   APARTADO 718                                                                                                      BOQUERON            PR         00622
   178017 FRANCISCO G RIVERA CRUZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   178019 FRANCISCO GALAN RIVERA                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655703 FRANCISCO GALVEZ CASTILLO                   URB PUERTO NUEVO              1317 CALLE 20 NW                                                                    SAN JUAN            PR         00920
   655704 FRANCISCO GARAY VELEZ                       RR 6 BOX 11382                                                                                                    SAN JUAN            PR         00926
   655706 FRANCISCO GARCIA                            PLAZA CAROLINA STA            PO BOX 8951                                                                         CAROLINA            PR         00988
   178020 FRANCISCO GARCIA ALONSO                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655707 FRANCISCO GARCIA ALVERIO                    BO GUAVATE 22550                                                                                                  CAYEY               PR         00736
   655708 FRANCISCO GARCIA ARROYO                     HC 8 BOX 49429                                                                                                    CAGUAS              PR         00725
                                                      COND VILLAS DEL SOL 137 CALLE
   655710 FRANCISCO GARCIA BAERGA                     PRINC                                                                                                             TRUJILLO ALTO       PR         00976
   178021 FRANCISCO GARCIA COLON                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655711 FRANCISCO GARCIA DELGADO                    URB PARAISO A‐8 BOX 108       BRISAS DE CAROLINA                                                                  CAROLINA            PR         00987
   178023 FRANCISCO GARCIA KREIDLER                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655712 FRANCISCO GARCIA MENDEZ                     URB PUERTO NUEVO              437 AVE ANDALUCIA                                                                   SAN JUAN            PR         00920
   655713 FRANCISCO GARCIA MONTES                     URB RIO GRANDE ESTATE         E 13 CALLE 6 A                                                                      RIO GRANDE          PR         00745
   178024 FRANCISCO GARCIA NUNEZ                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655715 FRANCISCO GARCIA RIOS                       URB LOS MAESTROS              9 CALLE A                                                                           RIO GRANDE          PR         00745
          FRANCISCO GAZTAMBIDE
   655716 SANTANA                                     HC 02 BOX 8809                                                                                                    LAS MARIAS          PR         00670‐9016

   655717 FRANCISCO GENDES/GENDES INC URB PUERTO NUEVO                             525 AVE ANDALUCIA                                                                    SAN JUAN            PR         00920
          FRANCISCO GERARDO AYALA
   178028 ALVAREZ                     REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655718 FRANCISCO GINES BATISTA     URB O'NELL                                   B 42 CALLE B                                                                         MANATI              PR         00674
   655719 FRANCISCO GODEN RIVERA      SECTOR LA CUCHILLA                           27 A PACHIN MARIN                                                                    MARICAO             PR         00606

   178029 FRANCISCO GOMEZ HERNANDEZ REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   178030 Francisco Gómez Pagan     REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   178031 FRANCISCO GOMEZ PAULINO   REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   178032 FRANCISCO GOMEZ RIVERA    REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655722 FRANCISCO GOMEZ ROSARIO   HC 01 BOX 9169                                                                                                                      GURABO              PR         00778
          FRANCISCO GONZAGA
   655723 RODRIGUEZ                 SANTA ISABEL                                   45 GORGE ZAYAS PEDROGO                                                               SANTA ISABEL        PR         00757
   655724 FRANCISCO GONZALES SOTO   P O BOX 1386                                                                                                                        SAN SEBASTIAN       PR         00685
   178033 FRANCISCO GONZALEZ        REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   655726 FRANCISCO GONZALEZ ALEJO  BARRIADA LA 15                                 191/2 INT CALLE REGUERO                                                              AGUADILLA           PR         00605
   655727 FRANCISCO GONZALEZ AYALA  COND EL TAINO                                  EDIF 0 APT 302                                                                       SAN JUAN            PR         00923

   178034 FRANCISCO GONZALEZ BENITEZ                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FRANCISCO GONZALEZ
   655728 CAMACHO                                     PO BOX 747                                                                                                        JAYUYA              PR         00774
          FRANCISCO GONZALEZ
   655730 COLOMBANI                                   HC 02 BOX 5787                                                                                                    RINCON              PR         00677

   655732 FRANCISCO GONZALEZ CUMBA                    COND SAN IGNACIO APT A 8     1325 AVE SAN IGNACIO                                                                 SAN JUAN            PR         00921‐3801
          FRANCISCO GONZALEZ DBA
   655733 FRANK'S CENTRAL S                           URB BAIROA PARK              B2 PARQUE DE LA LUNA                                                                 CAGUAS              PR         00725‐0000



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          FRANCISCO GONZALEZ
   655734 FELICIANO                                   HC 58 BOX 12689                                                                                           AGUADA              PR           00602
          FRANCISCO GONZALEZ
   655735 FIGUEROA                                    URB LAS AMERICAS       807 CALLE GUATEMALA                                                                SAN JUAN            PR           00921

   178036 FRANCISCO GONZALEZ IBARRA                   REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178037 FRANCISCO GONZALEZ MALAVE                   REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO GONZALEZ
   178038 MARRERO                                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655737 FRANCISCO GONZALEZ MEDINA                   SANTANA                42 REPRESA                                                                         ARECIBO             PR           00612

   655738 FRANCISCO GONZALEZ MENDEZ 110 CALLE COMERIO                                                                                                           LARES               PR           00669

   178040 FRANCISCO GONZALEZ MORALES REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178041 FRANCISCO GONZALEZ NEVAREZ REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655740 FRANCISCO GONZALEZ ORTEGA                   HC 67 BOX 13327                                                                                           BAYAMON             PR           00956
   655741 FRANCISCO GONZALEZ ORTIZ                    BO CALABAZAS                                                                                              YABUCOA             PR           00767

   655742 FRANCISCO GONZALEZ PAGAN                    URB BONNEVILLE HGTS    17 CALLE BARRANQUITAS                                                              CAGUAS              PR           00725
   178042 FRANCISCO GONZALEZ PEREZ                    REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO GONZALEZ
   178043 QUINONES                                    REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178044 FRANCISCO GONZALEZ ROCHE                    REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO GONZALEZ
   178046 RODRIGUEZ                                   REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178047 FRANCISCO GONZALEZ ROSADO                   REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178048 FRANCISCO GONZALEZ SANCHEZ REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655744 FRANCISCO GONZALEZ SOLA    411 CALLE TAMARINDO                                                                                                        ARECIBO             PR           00612

   655745 FRANCISCO GONZALEZ TORRES                   71 LA GRANJA                                                                                              UTUADO              PR           00641
          FRANCISCO GONZALEZ Y PURA
   178049 ALDREY GONZALE                              REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655746 FRANCISCO GORDILS TORRES                    RES CARMEN             EDIF 1 APT 9                                                                       MAYAGUEZ            PR           00680
   178050 FRANCISCO GOYTIA MORALES                    REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655747 FRANCISCO GRACIA VELAZQUEZ HC 04 BOX 22110                                                                                                            LAJAS               PR           00667

   178051 FRANCISCO GRANADO MORALES REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178052 FRANCISCO GRILLO GONZALEZ                   REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO GUADALUPE
   178053 ARROYO                                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178054 FRANCISCO GUERRA SANTIAGO                   REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655750 FRANCISCO GUEVARA MADERA                    2177 AVE REXACH                                                                                           SAN JUAN            PR           00915



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          FRANCISCO GUILLOTY
   655752 JUSTINIANO                                  P O BOX 101                                                                                                           LAS MARIAS          PR           00670‐0101
   178055 FRANCISCO GUTIERREZ                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178057 FRANCISCO GUTIERREZ JIMENEZ REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO GUTIERREZ
   178058 MONTANEZ                    REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178059 FRANCISCO GUTIERREZ RIVERA                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO GUZMAN
   178060 HERNANDEZ                                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                    2053 AVE PEDRO ALBIZU
   655754 FRANCISCO H JAIME BOSCIO                    PMB 105                       CAMPOS STE 2                                                                            AGUADILLA           PR           00603
   655755 FRANCISCO H ORTIZ SCHMIDT                   HC 3 BOX 13366                                                                                                        JUANA DIAZ          PR           00795

   655756 FRANCISCO H QUETELL VILARINO URB RIO CANAS                                H16 CALLE 8                                                                             PONCE               PR           00731

   655757 FRANCISCO H RIOS RODRIGUEZ                  URB CAPARRA HEIGHTS           619 CALLE ESTOCOLMO                                                                     SAN JUAN            PR           00920
   655753 FRANCISCO H ZAYAS MARTEN                    HC 02 BOX 4640                                                                                                        COAMO               PR           00769

   655758 FRANCISCO HEREDIA BONILLA                   VILLA PRADES                  834 CALLE ANTONIO PASARELL                                                              SAN JUAN            PR           00924
          FRANCISCO HERMINIO FUSTER
   178061 ARROYO                                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655760 FRANCISCO HERNANDEZ                         BRONX AVE 2924 SEYMOUR                                                                                                NEW YORK            NY           10469
          FRANCISCO HERNANDEZ
   655761 CINTRON                                     HC 2 BOX 5402                                                                                                         GUAYAMA             PR           00784

   655762 FRANCISCO HERNANDEZ CRUZ                    HC 01 BOX 6747                                                                                                        OROCOVIS            PR           00720
          FRANCISCO HERNANDEZ DE
   655763 JESUS                                       41 CALLE BALDORIOTY STE 321                                                                                           JUNCOS              PR           00777

   178063 FRANCISCO HERNANDEZ FALCON REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655766 FRANCISCO HERNANDEZ ROSA                    HC 01 BOX 6729                                                                                                        AGUAS BUENAS        PR           00703

   655767 FRANCISCO HERNANDEZ VARGAS RAMON MARIN SOLA                               EDIF 13 APT 459                                                                         ARECIBO             PR           00612

   655377 FRANCISCO HERNANDEZ VEGA                    BO RIO ABAJO                  5006 CALLE PRINCIPAL                                                                    VEGA BAJA           PR           00693
   655768 FRANCISCO HERRERA                           VILLA CAPARRA                 38 CALLE J                                                                              GUAYNABO            PR           00966
   655769 FRANCISCO HERRERA NIEVES                    HC 01 BOX 4764                                                                                                        ADJUNTAS            PR           00601
          FRANCISCO HERRERA
   655770 RODRIGUEZ                                   136 CARRETERA 2               VILLA CAPARRA                                                                           GUAYNABO            PR           00966
   178064 FRANCISCO HERRERO ROVIRA                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178065 FRANCISCO HUERTAS RIVERA                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178068 FRANCISCO I AVILES MORRIS                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178069 FRANCISCO I BERMUDEZ ZENON REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178070 FRANCISCO I DE LEON        REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178071 FRANCISCO I IRRIZARRY MEJIAS                REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178072 FRANCISCO I LACOMBA ROMAN REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178073 FRANCISCO I ROSADO DURAN  REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          FRANCISCO I TORRES
   655771 FERNANDEZ                                   JARDINES DE COUNTRY CLUB   CP 4 CALLE 155                                                                       CAROLINA             PR           00983
          FRANCISCO I VALENTIN
   178074 RODRIGUEZ                                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO I VILARINO
   178075 RODRIGUEZ                                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   655773 FRANCISCO INOSTROZA LABOY                   P O BOX 11855                                                                                                   SAN JUAN             PR           00910‐4225

   655775 FRANCISCO IRIZARRY DELGADO                  HC 01 BOX 7994                                                                                                  GUAYANILLA           PR           00656
   178076 FRANCISCO IRIZARRY DIAZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655776 FRANCISCO IRIZARRY LOPEZ                    URB METROPOLIS             HI 55 CALLE 1                                                                        CAROLINA             PR           00987
   655777 FRANCISCO IRIZARRY PEREZ                    URB EXT DE CERRO GORDO     J 5 CALLE 6                                                                          BAYAMON              PR           00957
   178077 FRANCISCO IRON WORKS Y/O                    URB REXVILLE               B1‐5 CALLE 35                                                                        BAYAMON              PR           00957
   178078 FRANCISCO IV RIOS VEGA                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178079 FRANCISCO IVAN PRADA                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178081 FRANCISCO J AGUILA NUNEZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178082 FRANCISCO J ALICEA CRESPO                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   655782 FRANCISCO J ALVAREZ ROMERO PO BOX 194383                                                                                                                    SAN JUAN             PR           00919‐4383

   655784 FRANCISCO J ALVAREZ SANTIAGO PO BOX 331541                                                                                                                  PONCE                PR           00733‐1541

   655785 FRANCISCO J ALVAREZ VALENTIN URB NOTRE DAME                            H 19 CALLE SAN CLEMENTE                                                              CAGUAS               PR           00725‐3916

   655787 FRANCISCO J ALVAREZ VALLEDOR ESTANCIAS DEL RIO                         54 CALLE YAGUEZ                                                                      CAGUAS               PR           00703
   178084 FRANCISCO J AMIEIRO          REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178085 FRANCISCO J APONTE TORRES    REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO J ARMSTRONG
   178086 TORRES                       REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178087 FRANCISCO J AVILES APONTE    REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178088 FRANCISCO J AYALA BARCELO    REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655790 FRANCISCO J BAEZ TINOCO      COND LAGOMAR APT GC                       7 AVE LAGUNA                                                                         CAROLINA             PR           00979

   178090 FRANCISCO J BARBOSA ALVAREZ REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   178091 FRANCISCO J BATISTA FRATICELLI REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655791 FRANCISCO J BELLO SILVA        PO BOX 4396                             OFIC SUPTE DE ESCUELAS                                                               VEGA BAJA            PR           00693
   178092 FRANCISCO J BENITEZ COTTO      REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   655793 FRANCISCO J BERRIOS SANTIAGO URB LAS ALONDRAS                          D20 CALLE 3                                                                          VILLALBA             PR           00766

   178093 FRANCISCO J BIAGGI LANDRON                  REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO J BLANCO
   655795 RODRIGUEZ                                   URB EL PARAISO             CALLE ARCANGEL 7                                                                     ARECIBO              PR           00612
   655796 FRANCISCO J BONILLA JORGE                   1157 S WEBB RD APTO 212                                                                                         WICHITA              KS           67207
   178094 FRANCISCO J BONILLA PADIN                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO J BOTIFOLL
   178095 MERENTES                                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   655797 FRANCISCO J BURGOS FIGUEROA URB LAS COLINAS                            1G 3 CALLE 3                                                                         TOA BAJA             PR           00949
          FRANCISCO J BURGOS
   178096 HERNANDEZ                   REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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   655798 FRANCISCO J BUXO Y ASOC P E                 P O BOX 191599                                                                                                  SAN JUAN            PR           00919‐1599
   655799 FRANCISCO J CABAN VALE                      REPTO METROPOLITANO    868 CALLE 57 SE                                                                          SAN JUAN            PR           00921

          FRANCISCO J CAMPOS/FRANKIE
   655800 PROFESSIONAL                                RR 06 BOX 11469                                                                                                 SAN JUAN            PR           00926
          FRANCISCO J CARABALLO
   655801 SANTIAGO                                    HC 37 BOX 7825                                                                                                  GUANICA             PR           00653
          FRANCISCO J CARDONA
   178097 MARTINO                                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655802 FRANCISCO J CARRILLO PEREZ                  SAN RAFAEL VILLAGE     29 CALLE RUBI                                                                            TRUJILLO ALTO       PR           00976

   655803 FRANCISCO J CARRILLO VAZQUEZ AVE ISLA VERDE                        5900 L2 255                                                                              CAROLINA            PR           00979 4901
   178098 FRANCISCO J CASALDUC         REDACTED                              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO J CASALDUC
   178099 DELGADO                      REDACTED                              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178100 FRANCISCO J CASTANER PADRO                  REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655804 FRANCISCO J COLLAZO                         URB ALGARROBOS         CALLE AB 6                                                                               GUAYAMA             PR           00784
          FRANCISCO J COLLAZO
   178102 MELENDEZ                                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178103 FRANCISCO J COLON BERRIOS                   REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178104 FRANCISCO J COLON FERRER                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655806 FRANCISCO J COLON OQUENDO                   ISLOTE II              162 CALLE 2                                                                              ARECIBO             PR           00612
   655807 FRANCISCO J COLON RAMOS                     BO ISLOTE II           50 CALLE 7                                                                               ARECIBO             PR           00612
   178106 FRANCISCO J CORA CASADO                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655808 FRANCISCO J CORDERO VARGAS HC 3 BOX 13544                                                                                                                   YAUCO               PR           00698

   655809 FRANCISCO J CORREA ARIAS                    VILLA SAN ANTON        Q 13 CALLE LEOPALDO JIMENEZ                                                              CAROLINA            PR           00987

   655810 FRANCISCO J COTTO GONZALEZ                  COND VILLA DEL SOL     PO BOX 110                                                                               TRUJILLO ALTO       PR           00976
   655811 FRANCISCO J CRUZ AGUILAR                    COND LAS GLADIOLAS     EDIF 301 APT 1109                                                                        SAN JUAN            PR           00917

   178109 FRANCISCO J CRUZ GONZALEZ                   REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178110 FRANCISCO J CRUZADO CARRION REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655816 FRANCISCO J DAVILA TORO     URB GARCIA                             7 CALLE A                                                                                SAN JUAN            PR           00926
   178111 FRANCISCO J DE JESUS        REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178113 FRANCISCO J DEL OLMO ARROYO REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178114 FRANCISCO J DELGADO LA LUZ                  REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178115 FRANCISCO J DIAZ CORTIJO                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178116 FRANCISCO J DIAZ DIAZ                       REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655817 FRANCISCO J DIEPPA CRUZ                     HC 40 BOX 44820                                                                                                 SAN LORENZO         PR           00754
   178118 FRANCISCO J DOELTER BAEZ                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655820 FRANCISCO J FELICIANO                       P O BOX 19717                                                                                                   SAN JUAN            PR           00910‐1717
          FRANCISCO J FERRER PEIRANO Y
   655821 BRUNHILDE B                                 PO BOX 41175                                                                                                    CANOVANAS           PR           00940
   178119 FRANCISCO J FRANCO MOJICA                   REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   655823 FRANCISCO J FRANCO TORRES                   EXT DEL CARMEN              C 17 CALLE 8                                                                       JUANA DIAZ          PR           00795

   178120 FRANCISCO J GARCIA RODRIGUEZ REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO J GIERBOLINI
   178121 BERMUDEZ                     REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178122 FRANCISCO J GONZALEZ MAGAS REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178123 FRANCISCO J GONZALEZ MAGAZ REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178125 FRANCISCO J GONZALEZ RIOS  REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178126 FRANCISCO J GONZALEZ TORRES REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO J GRAJALES
   178127 FERNANDEZ                   REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178128 FRANCISCO J GRAU VELAZQUEZ                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655827 FRANCISCO J GREGORY PEREZ                   URB PLAZA DE LAS FUENTES    1108 CALLE FRANCIA                                                                 TOA ALTA            PR           00953
          FRANCISCO J GUADAMURO
   655828 GONZALEZ                                    VILLA BLANCA                38 CALLE RUBI                                                                      CAGUAS              PR           00725
          FRANCISCO J GUTIERREZ
   655830 FERNANDEZ                                   PO BOX 363824                                                                                                  SAN JUAN            PR           00936
          FRANCISCO J GUTIERREZ
   655829 TABANICO                                    P O BOX 2781                                                                                                   SAN LUIS            AZ           85349
   178129 FRANCISCO J GUZMAN AYALA                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178131 FRANCISCO J GUZMAN RIVERA                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO J HERNANDEZ /
   178132 NOELIA HERNANDEZ                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178133 FRANCISCO J HERNANDEZ CRUZ                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO J HERNANDEZ
   655831 FIGUEROA                                    P O BOX 824                                                                                                    SAN LORENZO         PR           010754
          FRANCISCO J IGLESIAS
   178134 SEVILLANO                                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655833 FRANCISCO J IRLANDA PACHECO COND COLLEGE PARK                           APT 902 A                                                                          SAN JUAN            PR           00921

   178135 FRANCISCO J JIMENEZ ALVAREZ                 REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178136 FRANCISCO J JORGE NEGRON                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655378 FRANCISCO J LA LUZ SIMONET                  URB VILLAS DE BUENA VISTA   J 13 CALLE JUNO                                                                    BAYAMON             PR           00956

   178137 FRANCISCO J LEBRON DE ALBA                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655834 FRANCISCO J LOPEZ BATISTA                   VILLA FONTANA               VIA 24 V‐L3                                                                        CAROLINA            PR           00983
   178138 FRANCISCO J LOPEZ DUENO                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655835 FRANCISCO J LOPEZ GONZALEZ                  PO BOX 19782                                                                                                   SAN JUAN            PR           00910 1782

   655836 FRANCISCO J LOPEZ MARTINEZ                  HC 01 BOX 8693                                                                                                 GURABO              PR           00778
   178139 FRANCISCO J LOPEZ RIVERA                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178140 FRANCISCO J LOPEZ RODRIGUEZ REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   178141 FRANCISCO J LOPEZ VINCENTY                  REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178142 FRANCISCO J LUGO RIVERA                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178143 FRANCISCO J LUNA CRUZ                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO J MALDONADO
   178144 MORALES                                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO J MARQUEZ
   655838 RODRIGUEZ                                   URB VILLA BLANCA        72 CALLE RUBI                                                                          CAGUAS              PR           00725
          FRANCISCO J MARRERO
   178145 RODRIGUEZ                                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178146 FRANCISCO J MARTINEZ CRESPO REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO J MARTINEZ
   655839 MARTINEZ                    URB JARDINES DE CAPARRA                 V21 CALLE 23                                                                           BAYAMON             PR           00959

   178147 FRANCISCO J MARTINEZ OTERO                  REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178148 FRANCISCO J MATIAS RAMOS                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178149 FRANCISCO J MATOS                           REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655840 FRANCISCO J MEDINA AYALA                    14 CALLE SAN MIGUEL                                                                                            GUANICA             PR           00653

   178150 FRANCISCO J MEDINA CARDONA                  REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO J MELENDEZ
   178151 BARRERA                                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO J MELENDEZ
   655841 QUI¥ONES                                    PO BOX 6807                                                                                                    BAYAMON             PR           00960‐5807
          FRANCISCO J MELENDEZ
   178152 QUINONES                                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO J MENENDEZ
   178154 CAMPOS                                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO J MERCED
   178156 HERNANDEZ                                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655842 FRANCISCO J MILLER COLON                    P O BOX 1322                                                                                                   AIBONITO            PR           00705
          FRANCISCO J MIRANDA DEL
   178157 VALLE                                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO J MIRANDA
   655843 GONZALEZ                                    PO BOX 16028                                                                                                   SAN JUAN            PR           00086028
   655844 FRANCISCO J MOJER DIAZ                      HC 4 BOX 4530                                                                                                  HUMACAO             PR           00719‐9507
          FRANCISCO J MONSERRATE
   178158 RODRIGUEZ                                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO J MONTENEGRO
   655845 POBLETE                                     CAPARRA HEIGHTS         APT 2 B 369 CALLE ESCOCIA                                                              SAN JUAN            PR           00920
          FRANCISCO J MORALES
   655846 MORALES                                     H C 01 BOX 6750                                                                                                SABANA GRANDE       PR           00637
          FRANCISCO J MORALES
   178159 SANTIAGO                                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO J MORGANTI
   178160 HERNANDEZ                                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655848 FRANCISCO J NATALI MUNERA                   URB PASEO SOL Y MAR     581 CALLE ESMERALDA                                                                    JUANA DIAZ          PR           00795
   655849 FRANCISCO J NIEVES FREYRES                  URB ATENAS              K 28 CALLE FRANCISCO VEGA                                                              MANATI              PR           00674
          FRANCISCO J NIEVES                                                  650 CALLE SERGIO CUEVAS
   655850 GARRASTEGUI                                 COND SEGOVIA APT 1506   BASTAMANTE                                                                             SAN JUAN            PR           00918
   178162 FRANCISCO J NOGUE RUIZ                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655851 FRANCISCO J NOVA VELEZ                      URB REPARTO SEVILLA     874 CALLE PAGANINI                                                                     SAN JUAN            PR           00924



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          FRANCISCO J OLIVERA
   178163 MAGRANER                                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178164 FRANCISCO J ORTIZ                           REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178165 FRANCISCO J ORTIZ BERRIOS                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178166 FRANCISCO J ORTIZ BONILLA                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178167 FRANCISCO J ORTIZ ESTRADA                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   178169 FRANCISCO J ORTIZ MELENDEZ                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655854 FRANCISCO J ORTIZ OLIVERAS                  URB VENUS GDNS OESTE   BF 13 CALLE F                                                                     SAN JUAN             PR           00926

   655855 FRANCISCO J ORTIZ RODRIGUEZ                 PO BOX 1112                                                                                              GUAYNABO             PR           00970
          FRANCISCO J PACHECO
   655856 GONZALEZ                                    40 W ORANGEWOOD        APARTAMENTO K 102                                                                 ANAHEIM              CA           92802
   178170 FRANCISCO J PADILLA SERPA                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178171 FRANCISCO J PAGAN PAGAN                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655857 FRANCISCO J PANIAGUA                        URB VILLA FONTANA      5 E4 VIA 64                                                                       CAROLINA             PR           00983
   178172 FRANCISCO J PEGUERO                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178173 FRANCISCO J PEREZ FONSECA                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178174 FRANCISCO J PEREZ GIL                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178175 FRANCISCO J PEREZ MEDINA                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655858 FRANCISCO J PEREZ MILLAN                    HC 1 BOX 16727                                                                                           YABUCOA              PR           00767
   655859 FRANCISCO J PEREZ MU¥IZ                     P O BOX 1311                                                                                             VEGA ALTA            PR           00692
   178176 FRANCISCO J PEREZ NEUMAN                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178177 FRANCISCO J PEREZ RIVERA                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   655861 FRANCISCO J PEREZ RODRIGUEZ                 URB MARISOL            D 10 CALLE 5                                                                      ARECIBO              PR           00612
   178178 FRANCISCO J PEREZ VEGA                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO J PETERSON
   655864 MONTIJO                                     PO BOX 21063                                                                                             SAN JUAN             PR           00928
          FRANCISCO J PORTALATIN
   178179 MATOS                                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   178180 FRANCISCO J PUMAREJO GARCIA REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   178181 FRANCISCO J QUI¥ONEZ RIERA                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178182 FRANCISCO J QUINTANA                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO J RAMOS &
   178183 ASOCIADOS C S P                             PO BOX 191993                                                                                            SAN JUAN             PR           00919
   178184 FRANCISCO J RAMOS CORERO                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178185 FRANCISCO J RAMOS NIEVES                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178186 FRANCISCO J RAMOS ORTIZ                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   178188 FRANCISCO J RAMOS VELAZQUEZ REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178189 FRANCISCO J REYES           REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178190 FRANCISCO J REYES VALE      REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178191 FRANCISCO J RIOS OTERO      REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655870 FRANCISCO J RIVERA          P O BOX 30256                                                                                                            SAN JUAN             PR           00929

   178192 FRANCISCO J RIVERA ALVAREZ                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178193 FRANCISCO J RIVERA BERRIOS                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO J RIVERA DBA F.J.
   178194 BUS SERVICE                                 PO BOX 1258                                                                                              AIBONITO             PR           00705




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   178195 FRANCISCO J RIVERA DELGADO                  REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   178196 FRANCISCO J RIVERA FONTANET REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655872 FRANCISCO J RIVERA LOPEZ    27 CALLE CORREO                                                                                                            CAMUY                PR           00627‐2342
   178197 FRANCISCO J RIVERA MATOS    REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   178198 FRANCISCO J RIVERA MORALES                  REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178199 FRANCISCO J RIVERA NEGRON                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178200 FRANCISCO J RIVERA PEREZ                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   655874 FRANCISCO J RIVERA RIVERA                   P O BOX 12                                                                                                 LARES                PR           00669‐0012

   178201 FRANCISCO J RIVERA SANTIAGO                 REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   178202 FRANCISCO J RIVERA SERRANO                  REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178203 FRANCISCO J RIVERA VEGA                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO J RODRIGUEZ
   655875 BERRIOS                                     HC 01 BOX 5559                                                                                             BARRANQUITAS         PR           00794
          FRANCISCO J RODRIGUEZ
   178204 BONILLA                                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO J RODRIGUEZ
   178205 CINTRON                                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO J RODRIGUEZ
   178207 GONZALEZ                                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO J RODRIGUEZ
   178208 HERNANDEZ                                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO J RODRIGUEZ
   178209 MICHEL                                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO J RODRIGUEZ
   655879 MOJICA                                      URB MONTE CARLO        15 CALLE A                                                                          VEGA BAJA            PR           00693‐5220
          FRANCISCO J RODRIGUEZ
   178210 OLIVIERI                                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO J RODRIGUEZ
   178211 RODRIGUEZ                                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   655881 FRANCISCO J RODRIGUEZ ROSA                  PO BOX 356                                                                                                 ENSENADA             PR           00647‐0356
          FRANCISCO J RODRIGUEZ
   178212 SANCHEZ                                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   655882 FRANCISCO J ROSARIO NEVAREZ HC 3 BOX 12442                                                                                                             COROZAL              PR           00783
   655883 FRANCISCO J RUIZ VAZQUEZ    BO ARENAS                              HC 2 BOX 4655                                                                       LAS PIEDRAS          PR           00771

   178214 FRANCISCO J RULLAN CAPARROS REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO J SALCEDO
   655884 RODRIGUEZ                   HC 01 BOX 5474                                                                                                             ADJUNTAS             PR           00601
   178215 FRANCISCO J SALICHS         REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO J SANCHEZ
   178216 SANTIAGO                    REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO J SANTIAGO
   178217 SANJURJO                    REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   655780 FRANCISCO J SANTIAGO TORRES P O BOX 32110                                                                                                              PONCE                PR           00731




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   655886 FRANCISCO J SANTOME CLARS                   URB LAS CUMBRE             303 CALLE LOS ROBLES                                                               SAN JUAN            PR           00927
   178218 FRANCISCO J SENERIZ                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178219 FRANCISCO J SERRANO ROMAN                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655887 FRANCISCO J SIFRE CESTERO                   EL MIRADOR                 C 8 CALLE 5                                                                        SAN JUAN            PR           00926
   178221 FRANCISCO J SOTO ALICEA                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178222 FRANCISCO J SOTO SANTIAGO                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178223 FRANCISCO J TEVENAL CRESPO                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655889 FRANCISCO J TIRADO CRUZ                     HC 4 BOX 16491                                                                                                MOCA                PR           00676

   178225 FRANCISCO J TIRADO VEQUILLA                 REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO J TORRADO
   655890 MARTINEZ                                    P O BOX 141462                                                                                                ARECIBO             PR           00614

   655891 FRANCISCO J TORRADO TAPIAS                  URB FLORAL PARK            129 F CALLE PARIS                                                                  SAN JUAN            PR           00917
   178227 FRANCISCO J TORRES                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655893 FRANCISCO J TORRES AFANADOR P O BOX 351                                                                                                                   TOA BAJA            PR           00951

   178228 FRANCISCO J TORRES BORRERO                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655892 FRANCISCO J TORRES MARTINEZ PO BOX 7203                                                                                                                   PONCE               PR           00732
   655895 FRANCISCO J TORRES SIERRA   URB CIUDAD JARDIN I                        5 CALLE ACASIA                                                                     TOA ALTA            PR           00953
          FRANCISCO J UMPIERRE
   655896 ZARAGOZA                    COND MIDTOWN APT 510                       420 AVE PONDE DE LEON                                                              SAN JUAN            PR           00918

   655897 FRANCISCO J URIARTE OTHEGUY                 3A CALLE LUNA 315                                                                                             SAN JUAN            PR           00917
   178229 FRANCISCO J VALENTIN                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO J VALENTIN
   178230 RODRIGUEZ                                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO J VAZQUEZ
   655899 FIGUEROA                                    HC 763 BOX 3581                                                                                               PATILLAS            PR           00723
   178232 FRANCISCO J VEGA CENTENO                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655902 FRANCISCO J VELEZ                           VILLA LUISA                A‐119 TURQUESA                                                                     CABO ROJO           PR           00623
   178233 FRANCISCO J VELEZ LOZADA                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178234 FRANCISCO J VELEZ RAMOS                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178235 FRANCISCO J VELEZ ROBLES                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO J VERGES
   178238 HERNANDEZ                                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO J VILANOVA
   655903 MONTALVO                                    PO BOX 2530                                                                                                   SAN GERMAN          PR           00683
   178240 FRANCISCO J VILLAFANE                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178241 FRANCISCO J VILLAFANE GARCIA                REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO J VILLARRUBIA                     1498 PORTAL LAS CUMBRES APT
   655904 GARCIA                                      G10                                                                                                           SAN JUAN            PR           00926
          FRANCISCO J VIZCARRONDO
   178242 TORRES                                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178243 FRANCISCO J. CASTRO OLIVERAS REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   178244 FRANCISCO J. COLON COLLAZO                  REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178245 FRANCISCO J. CRESPO QUINONES REDACTED                              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178246 FRANCISCO J. DIAZ COLON      REDACTED                              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178247 FRANCISCO J. DIAZ CORTIJO    REDACTED                              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178248 FRANCISCO J. ESCOTO GARCIA                  REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178249 FRANCISCO J. GOMEZ                          REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178250 FRANCISCO J. MARTINEZ CRESPO REDACTED                              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178251 Francisco J. Morales Santiago REDACTED                             REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178252 FRANCISCO J. PLAZA ORTIZ      REDACTED                             REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178253 FRANCISCO J. RIVERA TORRES    REDACTED                             REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178254 FRANCISCO J. SOTO ALICEA      REDACTED                             REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO JANNIEL ROSARIO
   178255 CARRAQUILLO                   REDACTED                             REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655907 FRANCISCO JAVIER BERGA        PMB 478 STE 140                      200 AVE R CORDERO                                                                        CAGUAS PR           PR           00725
          FRANCISCO JAVIER BONILLA
   178256 GONZALEZ                      REDACTED                             REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO JAVIER GONZALEZ
   178257 PARES                         REDACTED                             REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO JAVIER HERNANDEZ
   178258 MENDEZ                        REDACTED                             REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   771056 FRANCISCO JAVIER LEON COFINO REDACTED                              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO JAVIER LUPIANEZ
   178259 VELEZ                        REDACTED                              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO JAVIER MARRERO
   178260 MARTINEZ                     REDACTED                              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO JAVIER MARTINEZ
   178261 RODRIGUEZ                    REDACTED                              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655911 FRANCISCO JAVIER ORTIZ GARCIA PO BOX 363928                                                                                                                 SAN JUAN            PR           00936‐3928
   655912 FRANCISCO JAVIER PARGA        CALLE 37 EE 12                       JARDINES DE CAPARRA                                                                      BAYAMON             PR           00959
          FRANCISCO JAVIER PARGA
   178262 MIRANDA                       REDACTED                             REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655913 FRANCISCO JAVIER RIVERA       EXT ROOSEVELT                        471 RAFAEL LAMAR                                                                         SAN JUAN            PR           00918
          FRANCISCO JAVIER SANCHEZ
   655914 CRUZ                          LAS MONJAS                           154 CALLE POPULAR                                                                        SAN JUAN            PR           00917
          FRANCISCO JAVIER TORRES
   178264 COLON                         REDACTED                             REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO JAVIER VEGA
   655916 VAZQUEZ                       URB VILLANUEVA                       X 2 CALLE 19                                                                             CAGUAS              PR           00725

   655917 FRANCISCO JAVIER VELEZ LUGO                 URB SAN JOSE           1213 CALLE MANUEL A BARRETO                                                              MAYAGUEZ            PR           00682

   178265 FRANCISCO JEREMIAS DELGADO                  REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178266 FRANCISCO JIMENEZ BONILLA                   REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655918 FRANCISCO JIMENEZ GARCIA                    URB VILLA MARINA       A 39 CALLE ENSENADA                                                                      GURABO              PR           00778
          FRANCISCO JIMENEZ
   178267 MONTEMAR                                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          FRANCISCO JIMENEZ NEGRON/
   655920 LUIS O JIMENEZ                              CARR 1 R 873             K 19 H 4 P 2 SEC 4 SIERRA BRAVA                                                              SAN JUAN            PR           00926
   655921 FRANCISCO JIMENEZ QUILES                    BOX 186                                                                                                               LARES               PR           00669
   178268 FRANCISCO JIMENEZ ROSADO                    REDACTED                 REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655922 FRANCISCO JIMENEZ VARGAS                    HC 01 BOX 4463                                                                                                        UTUADO              PR           00641

   178269 FRANCISCO JOGLAR PESQUERA                   REDACTED                 REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178270 FRANCISCO JORGE MONTALVO                    REDACTED                 REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO JOSE CORTES
   655923 RODRIGUEZ                                   P O BOX 142138                                                                                                        ARECIBO             PR           00614

   178271 FRANCISCO JOSE DE JESUS CRUZ REDACTED                                REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO JOSE DEL OLMO
   178272 ARROYO                       REDACTED                                REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO JOSE FIGUEROA
   655924 JIMENEZ                      COND THE FALLS F 6                      APTO 308 AVE LOS FILTROS                                                                     GUAYNABO            PR           00969

   655925 FRANCISCO JOSE JIMENEZ DIAZ                 P O BOX 1006                                                                                                          GURABO              PR           00778

   178273 FRANCISCO JOSE MARTIN CASO                  REDACTED                 REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO JOSE RODRIGUEZ
   178274 MICHEL                                      REDACTED                 REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178275 FRANCISCO JOUBERT CANALES                   REDACTED                 REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655927 FRANCISCO JOURBERT LUGO                     PO BOX 22945                                                                                                          SAN JUAN            PR           00931
   655928 FRANCISCO JUSINO FERRER                     EL MADRIGAL              N 34 CALLE 15                                                                                PONCE               PR           00731
   655380 FRANCISCO JUSINO PEREZ                      URB SOMBRAS DEL REAL     308 CALLE TACHUELO                                                                           COTTO LAUREL        PR           00780
   655929 FRANCISCO JUSINO RIVERA                     PO BOX 366853                                                                                                         SAN JUAN            PR           00936‐6853
   655930 FRANCISCO KORTRIGHT                         PMB 180 CALL BOX 20000                                                                                                CANOVANAS           PR           00729
          FRANCISCO L ACEVEDO
   178276 NOGUERAS                                    REDACTED                 REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178278 FRANCISCO L BONET TORRES                    REDACTED                 REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO L GUEVARRA
   655933 DOMENECH                                    PO BOX 784                                                                                                            SAN ANTONIO         PR           00690
          FRANCISCO L MARTINEZ
   178279 SANCHEZ                                     REDACTED                 REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178280 FRANCISCO L PEREZ                           REDACTED                 REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655934 FRANCISCO L PEREZ SOTO                      152 CALLE BARBOSA                                                                                                     MOCA                PR           00676
                                                      COND MAGDALENA TOWERS
   655935 FRANCISCO L REYES LUGO                      PENTHO                   361 CALLE DEL PARQUE                                                                         SAN JUAN            PR           00912

   655936 FRANCISCO L RIVERA MARRERO                  BO CUCHILLOS HC          1 BOX 3705                                                                                   MOROVIS             PR           00687

   178281 FRANCISCO L RIVERA MENDEZ                   REDACTED                 REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178282 FRANCISCO L RIVERA TORRES                   REDACTED                 REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655938 FRANCISCO L SANTIAGO SANTOS BO AMELIA                                34 CALLE COLL Y TOSTE                                                                        GUAYNABO            PR           00965
          FRANCISCO LA FONTAINE
   178283 MONTERO                     REDACTED                                 REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655939 FRANCISCO LA LUZ ALVARADO                   BALCONES DE MONTE REAL   C 2105                                                                                       CAROLINA            PR           00987
   655940 FRANCISCO LABORDE BOSCH                     URB SUMMITHILLS          571 CALLE HILLSIDE                                                                           SAN JUAN            PR           00920‐4353



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   178284 FRANCISCO LAFONTAINE COLON REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178286 FRANCISCO LAGUER MARTINEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655942 FRANCISCO LANDRAU FERRE                     B 4 APT 1 C                                                                                                        CAROLINA            PR           00983‐0000

   178287 FRANCISCO LAPORTE MONTANEZ REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655943 FRANCISCO LARA HERNANDEZ                    URB TERRALINDA               15 CALLE ZARAGOZA                                                                     CAGUAS              PR           00725

   655944 FRANCISCO LAUREANO                          CALLE LUIS MUNOZ RIVERA NO 6                                                                                       VEGA ALTA           PR           00692
   655945 FRANCISCO LAVIENA SILVA                     HC 01 17186                  BO MARIANA III                                                                        HUMACAO             PR           00791
   655946 FRANCISCO LEBRON COLON                      VALLES DE GUAYAMA            K 9 CALLE 9                                                                           GUAYAMA             PR           00784
   178288 FRANCISCO LEBRON DIAZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655947 FRANCISCO LEBRON TROCHE                     PO BOX 202                                                                                                         SAN GERMAN          PR           00683

   178289 FRANCISCO LEDESMA JIMENEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655948 FRANCISCO LEON BARBOSA                      PARC JAUCA                   469 CALLE 5                                                                           SANTA ISABEL        PR           00757
   655949 FRANCISCO LEON COLON                        PO BOX 226 SAINT JUST                                                                                              TRUJILLO ALTO       PR           00978
   655950 FRANCISCO LEON CRUZ                         VILLA DEL CARMEN             1109 CALLE SACRA                                                                      PONCE               PR           00716
   178290 FRANCISCO LEON CUMBA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO LEVIS /STAR MIX DJS
   655951 AUD VISUAL                                  P O BOX 1679                                                                                                       RINCON              PR           00677
   655952 FRANCISCO LEVY HIJO INC                     PO BOX 2708                                                                                                        SAN JUAN            PR           00902
   655953 FRANCISCO LIBRAN ROSAS                      BOX 312                                                                                                            MAYAGUEZ            PR           00681

   178292 FRANCISCO LIZARDI MONTA¥EZ                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655954 FRANCISCO LLAURADOR CRUZ                    URB SIERRA LINDA             A 5 CALLE A                                                                           CABO ROJO           PR           00623
   655955 FRANCISCO LLERAS ORTIZ                      P O BOX 10000                SUITE 2                                                                               CAYEY               PR           00737
   655956 FRANCISCO LOJO VAZQUEZ                      VALLE VERDE                  AQ53 CALLE RIO PORTUGES                                                               BAYAMON             PR           00961
   655957 FRANCISCO LOPEZ APONTE                      PO BOX 190917                                                                                                      SAN JUAN            PR           00919‐0917
   655381 FRANCISCO LOPEZ AYENDES                     URB MARBELLA                 20 CALLE A                                                                            AGUADILLA           PR           00603

   655960 FRANCISCO LOPEZ DE VICTORIA                 URB TURABO GARDENS           R 9 3 7 CALLE G                                                                       CAGUAS              PR           00725
   178293 FRANCISCO LOPEZ DIAZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178294 FRANCISCO LOPEZ LLERA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655961 FRANCISCO LOPEZ MALAVE                      BRISAS DE MARAVILLA          D 46 CALLE VISTA ALEGRE                                                               MERCEDITA           PR           00715
   178296 FRANCISCO LOPEZ MEDINA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178297 FRANCISCO LOPEZ MENDOZA                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655962 FRANCISCO LOPEZ MORENO                      102 AVE ESTACION                                                                                                   ISABELA             PR           00662
   655963 FRANCISCO LOPEZ MUJICA                      COND PINE GROVE              APT 11 A                                                                              CAROLINA            PR           00979
   655965 FRANCISCO LOPEZ ORTIZ                       REPTO MONTELLANO             J54 CALLE C                                                                           CAYEY               PR           00736‐4130
   655966 FRANCISCO LOPEZ PONS                        URB TORRIMAR                 32 CALLE VALENCIA                                                                     GUAYNABO            PR           00966
   178298 FRANCISCO LOPEZ QUINONES                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655967 FRANCISCO LOPEZ RAMIREZ                     URB CAPARRA HEIGHT           606 CALLE ESTOCOLMO                                                                   SAN JUAN            PR           00920‐4714
   655968 FRANCISCO LOPEZ RENTAS                      BO BEATRIZ                   HC 71 BOX 7648                                                                        CAYEY               PR           00736
   655382 FRANCISCO LOPEZ RIVERA                      URB EL TORITO                K4 CALLE 8                                                                            CAYEY               PR           00736

   655969 FRANCISCO LOPEZ RIVERA                      URB LEVITTOWN                200 LAGO VISTA BLVD MONROIG APT 206                                                   TOA BAJA            PR           00949
   178299 FRANCISCO LOPEZ ROSA                        REDACTED                     REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178300 FRANCISCO LOPEZ TORRES                      REDACTED                     REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   655970 FRANCISCO LORENZO LERENZO                   HC 57 BOX 12140                                                                                                         AGUADA              PR           00602 9860

   178301 FRANCISCO LORENZO LORENZO                   REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178302 FRANCISCO LORENZO ORAMA                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655971 FRANCISCO LORENZO PEREZ                     URB EL CONQUISTADOR          SB 3 CALLE 11                                                                              TRUJILLO ALTO       PR           00976
          FRANCISCO LOTTI PIAZZA /
   655972 BLANCA I QUILES                             URB LOS CAOBOS               3119 CALLE CAIMITO                                                                         PONCE               PR           00716‐2741

   655973 FRANCISCO LOZADA MARTINEZ                   P O BOX 11855                                                                                                           SAN JUAN            PR           00910‐3855
   178303 FRANCISCO LOZADA MERCED                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178304 Francisco Lozada Vazquez                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178305 FRANCISCO LUGO LUNA                         REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655976 FRANCISCO LUGO MELENDEZ                     URB SANTO DOMINGO            26 CALLE B                                                                                 CAGUAS              PR           00725
   178306 FRANCISCO LUNA SANCHEZ                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655979 FRANCISCO LUZUNARIS                         MARIA PIZARRO                                                                                                           SAN JUAN            PR           00902
          FRANCISCO M ALVARADO
   178307 EMANUELLI                                   REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO M BEAUCHAMP
   178308 SANCHEZ                                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO M FRIAS Y CARMEN
   178309 M LOPEZ                                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655981 FRANCISCO M GARCIA BETTE                    A 11 URB VILLAS DEL PARQUE                                                                                              GUAYNABO            PR           00969
          FRANCISCO M LOPEZ
   178311 GONZALEZ/ECO ENERGY AG                      MONTEHIDRA                   225 TURPIAL                                                                                SAN JUAN            PR           00926
   178312 FRANCISCO M LOPEZ ROMO                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO M NEGRON
   178314 SANTIAGO                                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178315 FRANCISCO M ORTIZ DE ALBA                   REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655983 FRANCISCO M ORTIZ RIVERA                    PO BOX 1343                                                                                                             PATILLAS            PR           00723

   178316 FRANCISCO M RAMIREZ RIVERA                  REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178317 FRANCISCO M ROSA MARRERO                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   444 CAL RY LS URB LA VILLA DE
   655985 FRANCISCO M SANTIAGO VELEZ                  LA VILLA DE TORRIMAR         TORRI                                                                                      GUAYNABO            PR           00969
   178318 FRANCISCO M SCALLEY BIRD                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655987 FRANCISCO M VARGAS RAMOS                    BDA ESPERANZA                16 CALLE 4                                                                                 GUANICA             PR           00653

   178321 FRANCISCO M. ROMERO CRUZ                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178322 FRANCISCO MALDONADO BRAVO REDACTED                                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO MALDONADO
   178323 FRONTERA                  REDACTED                                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO MALDONADO
   655989 GUZMAN                    LOS ANGELES                                    WK 26 CALLE CAMELIAS                                                                       CAROLINA            PR           00978
          FRANCISCO MALDONADO
   655990 MEDINA                    BOX 573                                                                                                                                   PONCE               PR           00780

   178324 FRANCISCO MALDONADO PEREZ REDACTED                                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO MALDONADO
   655991 RODRIGUEZ                 URB MUNOZ RIVERA                               29 CALLE ACERINA                                                                           GUAYNABO            PR           00969



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          FRANCISCO MALDONADO
   655992 VAZQUEZ                                     PO BOX 51099                                                                                                  TOA BAJA            PR           00950

   655993 FRANCISCO MANZANO ACEVEDO 5 BO GUAYANEY BOX 8                                                                                                             MANATI              PR           00674
   655996 FRANCISCO MARCANO DIAZ    PO BOX 1195                                                                                                                     LAS PIEDRAS         PR           00771
   178327 FRANCISCO MARIN CRUZ      REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   655997 FRANCISCO MARIN RODRIGUEZ                   PO BOX 777                                                                                                    UTUADO              PR           00641

   178328 FRANCISCO MARQUEZ LOZADA                    REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   655998 FRANCISCO MARQUEZ ORTIZ                     URB SUCHVILLE           R 16 CALLE 16                                                                         TRUJILLO ALTO       PR           00976
   655383 FRANCISCO MARRERO                           BO SANTA TERESITA       BOX 6 FINAL                                                                           CIDRA               PR           00739
   655999 FRANCISCO MARRERO GALI                      PO BOX 1340                                                                                                   COROZAL             PR           00783

   178329 FRANCISCO MARRERO MOTTA                     REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656000 FRANCISCO MARRERO SOTO                      PO BOX 711                                                                                                    JAYUYA              PR           00664
   656001 FRANCISCO MARTES VIERA                      PARC 301 COM BAJANDAS                                                                                         HUMACAO             PR           00791
   656003 FRANCISCO MARTINEZ                          HC 1 BOX 16923                                                                                                HUMACAO             PR           00791‐9733

   656005 FRANCISCO MARTINEZ ALVAREZ PO BOX 9381                                                                                                                    SAN JUAN            PR           00908

   656006 FRANCISCO MARTINEZ APONTE                   PO BOX 118                                                                                                    LAS MARIAS          PR           00670‐0118
   656007 FRANCISCO MARTINEZ ARIAS                    GARDENS HILLS           D15 RAMIREZ DE ARELLANOS                                                              GUAYNABO            PR           00966
   178332 FRANCISCO MARTINEZ AVILES                   REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO MARTINEZ
   178333 CONTRERAS                                   REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178334 FRANCISCO MARTINEZ LUGO                     REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO MARTINEZ
   656009 MARQUEZ                                     APARTADO 443                                                                                                  AGUAS BUENAS        PR           00703

   178335 FRANCISCO MARTINEZ MARRERO REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO MARTINEZ
   178337 MARTINEZ                   REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO MARTINEZ
   655384 MARTINEZ                   PARC HILL BROTHERS                       337 CALLE 1                                                                           SAN JUAN            PR           00924
          FRANCISCO MARTINEZ
   656011 MELENDEZ                   URB COUNTRY CLUB                         QC 23 CALLE 251                                                                       CAROLINA            PR           00982
          FRANCISCO MARTINEZ
   178341 MENDOZA                    REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO MARTINEZ
   178342 MERCADO                    REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   656012 FRANCISCO MARTINEZ MURPHY PO BOX 7126                                                                                                                     PONCE               PR           00732
   178343 FRANCISCO MARTINEZ ORTIZ  REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178345 FRANCISCO MARTINEZ RIVERA                   REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178346 FRANCISCO MARTINEZ ROSADO                   REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656014 FRANCISCO MARTINEZ SEDA                     PO BOX 882                                                                                                    SAN GERMAN          PR           00683

   178348 FRANCISCO MARTORELL NIEVES REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178349 FRANCISCO MATIAS ALVAREZ   REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   178350 FRANCISCO MATOS FERNANDEZ REDACTED                                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   656016 FRANCISCO MATOS RODRIGUEZ LA ALAMBRA                                      EDF 1 APTO 1                                                                        BAYAMON             PR           00957
   178351 FRANCISCO MATOS VAZQUEZ   REDACTED                                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO MEDERO
   178330 FERNANDEZ                 REDACTED                                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   656017 FRANCISCO MEDERO RODRIGUEZ PO BOX 217                                                                                                                         AGUAS BUENAS        PR           00703‐0217

   656019 FRANCISCO MEDINA FIGUEROA                   18 AVE PEDRO MORA                                                                                                 ARECIBO             PR           00612‐1546

   655385 FRANCISCO MEDINA MARTINEZ                   VILLA PALMERAS                377 CALLE BUENAVENTURA                                                              SAN JUAN            PR           00915
   656020 FRANCISCO MEDINA VEGA                       P O BOX 1002                                                                                                      SAN GERMAN          PR           00683
   656021 FRANCISCO MEDINA VIRUET                     HC 30 BOX 35805                                                                                                   SAN LORENZO         PR           00754

   178352 FRANCISCO MEJIAS RODRIGUEZ                  REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   656023 FRANCISCO MELENDEZ JIMENEZ PO BOX 1634                                                                                                                        TRUJILLO ALTO       PR           00977
          FRANCISCO MELENDEZ
   656024 MELENDEZ                   HC 02 BOX 5209                                                                                                                     MOROVIS             PR           00612

   178353 FRANCISCO MELENDEZ MERLY                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO MELENDEZ
   178354 RODRIGUEZ                                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656025 FRANCISCO MELENDEZ SOTO                     BO TIBURON II                 26 CALLE 14                                                                         BARCELONETA         PR           00617

   178355 FRANCISCO MELENDEZ VILLEGAS REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656026 FRANCISCO MENDEZ ACOSTA     PO BOX 3034                                                                                                                       SAN SEBASTIAN       PR           00685
   178356 FRANCISCO MENDEZ RIVERA     REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656027 FRANCISCO MENDOZA           COM ARCADIO MALDONADO                         SOLAR 72                                                                            SALINAS             PR           00824
   178357 FRANCISCO MENDOZA PEREZ     REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178359 FRANCISCO MERCADO MENDEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178361 FRANCISCO MERCADO NIEVES                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656031 FRANCISCO MERCADO ORTIZ                     87 VILLANUEVA ST                                                                                                  ISABELA             PR           00662

   656032 FRANCISCO MERCADO RIVERA                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO MERCADO
   178362 RODRIGUEZ                                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   656033 FRANCISCO MERCADO TORRES                    RR 36 BOX 8075                                                                                                    CUPEY ALTO          PR           00926

   656034 FRANCISCO MERCADO VARGAS                    RESIDENCIAL CUSTA LAS PIEDRAS EDF 23 APT 139                                                                      MAYAGUEZ            PR           00680
   656035 FRANCISCO MERCADO VELEZ                     TERRAZAS DE GUAYNABO          H 25 CALLE LAS FLORES                                                               GUAYNABO            PR           00969
   656038 FRANCISCO MILIAN                            URB VILLA CAROLINA            119 20 CALLE 67                                                                     CAROLINA            PR           00985
   656040 FRANCISCO MIRANDA                           COND JARDINES DE FRANCIA      APT 101                                                                             SAN JUAN            PR           00917‐6071
   656041 FRANCISCO MIRANDA GOTAY                     APARTAMENTOS LITHEDA          214 APT 03                                                                          SAN JUAN            PR           00926
   178364 Francisco Miranda Manzano                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178365 FRANCISCO MIRANDA ORTIZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO MIRANDA
   656043 RODRIGUEZ                                   URB IRLANDA HEIGHTS           FJ 2 CALLE DENED                                                                    BAYAMON             PR           00956




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   178366 FRANCISCO MIRANDA ROSADO                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178367 FRANCISCO MIRANDA SANCHEZ                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178368 FRANCISCO MIRANDA VALLES                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178369 FRANCISCO MIRANDA VITALI                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656044 FRANCISCO MIRO JUSTINIANO                   RR 1 BOX 3717                                                                                               MARICAO             PR           00606
   178370 FRANCISCO MOJICA NUNEZ                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656045 FRANCISCO MOJICA PAGAN                      P O BOX 1241                                                                                                TOA ALTA            PR           00954‐1241
   178371 FRANCISCO MOLINA GARCIA                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO MONTALVO
   178373 DUMONT                                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656046 FRANCISCO MONTALVO FIOL                     MONTE CLARO             ME 10 PLAZA 20                                                                      BAYAMON             PR           00961
          FRANCISCO MONTALVO
   656047 MORALES                                     HC 02 BOX 15735                                                                                             LAJAS               PR           00667
          FRANCISCO MONTALVO Y/O
   178374 NILDA PEREZ                                 REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178377 FRANCISCO MONTANEZ MATOS                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178378 FRANCISCO MONTES RIVERA                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656050 FRANCISCO MORALES                           BDA SANTA ANA           63 CALLE D                                                                          GUAYAMA             PR           00784

   178379 FRANCISCO MORALES ACEVEDO REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   656051 FRANCISCO MORALES BENITEZ                   P O BOX 6                                                                                                   GURABO              PR           00778

   178380 FRANCISCO MORALES BURGOS                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO MORALES
   178381 CANDELARIA                                  REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   656052 FRANCISCO MORALES CORDOVA LOMAS VERDES                              4 P 8 CALLE PASCUA                                                                  BAYAMON             PR           00956

   656053 FRANCISCO MORALES GONZALEZ P O BOX 4296                                                                                                                 AGUADILLA           PR           00605
          FRANCISCO MORALES GONZALEZ
   178382 / EDISON                   ENERGY ENGINEERING                       URB EL ALAMO             B6 VERACRUZ                                                GUAYNABO            PR           00969

   656054 FRANCISCO MORALES MARTINEZ QUINTAS DEL SUR                          J 30 C ALLE 9                                                                       PONCE               PR           00728‐1011
   656056 FRANCISCO MORALES REYES    P O BOX 9023899                          VIEJO SAN JUAN                                                                      SAN JUAN            PR           00902‐3899
   656058 FRANCISCO MORALES RIVERA   HC 2 BOX 15727                                                                                                               LAJAS               PR           00667
   656060 FRANCISCO MORALES ROSA     URB VALLE PUERTO REAL                    H 21 CALLE 7                                                                        PUERTO REAL         PR           00740

   178383 FRANCISCO MORALES TORRES                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178384 FRANCISCO MORENO COLON                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   656062 FRANCISCO MOSCOSO CASTRO                    URB MUNOZ RIVERA        15 CALLE BALDOMAR                                                                   GUAYNABO            PR           00969

   178385 FRANCISCO MOYETT MERCEDES                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178387 FRANCISCO MUNOZ                             REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO N ALVARADO
   656064 MELENDEZ                                    URB VISTAMAR            C14 CALLE 16                                                                        GUAYAMA             PR           00784
          FRANCISCO N DE LEON
   656065 HERNANDEZ                                   EXT EL COMANDANTE       657 CALLE PRINCIPE                                                                  CAROLINA            PR           00982
   178389 FRANCISCO NARVAEZ RIVERA                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   656066 FRANCISCO NAVARRO BARREDA H/N/C AMERICAN FIRST AID                       PO BOX 1210                                                                        CAGUAS               PR           00726
          FRANCISCO NAVARRO
   656067 BETANCOURT                HC 646 BOX 6406                                                                                                                   TRUJILLO ALTO        PR           00976
          FRANCISCO NAVARRO DEL
   656068 PRADO                     VILLA FONTANA                                  FR 9 VIA 15                                                                        CAROLINA             PR           00983

   656069 FRANCISCO NAVARRO SALINAS                   BO TUMBAS CARNE              KM 7.59 APT 194                                                                    MAUNABO              PR           00707
   656070 FRANCISCO NAZARIO LOZADA                    URB ESTANCIA DE SAN PEDRO    F 5 CALLE SAN MATEO                                                                FAJARDO              PR           00738

   178392 FRANCISCO NEGRON FERNANDEZ REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   656071 FRANCISCO NEGRON GONZALEZ                   CONDOMINIO GENERALIFE        APTO 101                                                                           PONCE                PR           00716
          FRANCISCO NEGRON
   656072 HERNANDEZ                                   URB CANA                     TT 6 CALLE 14                                                                      BAYAMON              PR           00957
   656073 FRANCISCO NEGRON LOPEZ                      BO BUENA VISTA               129 CALLE PALMA REAL                                                               CAROLINA             PR           00985
   178393 FRANCISCO NEGRON MUNOZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   656074 FRANCISCO NERIS NERIS                       URB VILLA DEL REY            209 CALLE CARLO MAGNO                                                              CAGUAS               PR           00725
   656075 FRANCISCO NEVAREZ DIAZ                      BO MARICAO                   210 CARR 677                                                                       VEGA ALTA            PR           00692
   656076 FRANCISCO NIEVES CHRISTIE                   ROLLING HILLS                297 CALLE ISRAEL                                                                   CAROLINA             PR           00987
   656077 FRANCISCO NIEVES CORDERO                    HC 3 BOX 11014                                                                                                  CAMUY                PR           00627
   656078 FRANCISCO NIEVES OCASIO                     HC 1 BOX 9055                                                                                                   CANOVANAS            PR           00729
   656079 FRANCISCO NIEVES PADILLA                    P O BOX 60075                                                                                                   BAYAMON              PR           00960
   178394 FRANCISCO NIEVES RIVERA                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178395 FRANCISCO NIEVES ROBLES                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   656080 FRANCISCO NIEVES SANTIAGO                   URB SAN AUGUSTO              C 1 CALLE A                                                                        GUAYANILLA           PR           00656
   178396 FRANCISCO NIEVES TORRES                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178397 FRANCISCO NIEVES VALLE                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178398 FRANCISCO NOBLE GARCIA                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   656083 FRANCISCO NOBLE LLANOS                      PO BOX 384                                                                                                      PUERTO REAL          PR           00740
   178399 FRANCISCO NORIEGA COLON                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   178400 FRANCISCO O ALVAREZ CANALES REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO O CABRERA
   178401 GUERRIDO                    REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO O CASTRO
   178402 HERNANDEZ                   REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO O HOYOS
   656084 MALDONADO                   P O BOX 36                                                                                                                      CASTANER             PR           00631
   656085 FRANCISCO O LEON IRIZARRY   HC 7 BOX 21353                                                                                                                  MAYAGUEZ             PR           00680
          FRANCISCO O OTERO
   656086 RODRIGUEZ                   P O BOX 1076                                                                                                                    CIALES               PR           00638
   656087 FRANCISCO O RIVERA DIAZ     URB LAS LOMAS                                1604 CALLE 16 S 0                                                                  SAN JUAN             PR           00921

   178403 FRANCISCO O RUIZ HERNANDEZ REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   656088 FRANCISCO O RUIZ ROBLES    BO PUEBLO NUEVO                               CALLE 3 BOX 21 A                                                                   VEGA BAJA            PR           00693

   178404 FRANCISCO O. ORTIZ CABRERA                  REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   178405 FRANCISCO OCASIO FIGUEROA                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178406 FRANCISCO OCASIO ORTIZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   656090 FRANCISCO OLAZABAL                          403 TORRE DE AUXILIO MUTUO   735 AVE PONCE DE LEON                                                              SAN JUAN             PR           00917‐5025



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   656092 FRANCISCO OLIVERA BERMUDEZ                  P O BOX 1647                                                                                                   UTUADO              PR           00641
   656093 FRANCISCO OLIVERA RIVERA                    RES NEMECIO CANALES      EDF 11 APT 209                                                                        SAN JUAN            PR           00918
   656094 FRANCISCO OLIVERAS                          315 CALLE MONTE DE ORO                                                                                         CAMUY               PR           00627
   656095 FRANCISCO OLIVIERI OLIVIERI                 PO BOX 13                                                                                                      FLORIDA             PR           00650

   656096 FRANCISCO OLMEDA RODRIGUEZ HC 01 BOX 2466                                                                                                                  MAUNABO             PR           00707
   178407 FRANCISCO OLMO ESCOBAR     REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656097 FRANCISCO ONEILL SUSONI    URB UNIVERSITY GARDENS                    311 CALLE INTERAMERICANA                                                              SAN JUAN            PR           00927‐4011
   656098 FRANCISCO ORAMA RUIZ       REPTO ANTILLANO                           308 CALLE 3                                                                           MAYAGUEZ            PR           00680

   656099 FRANCISCO ORAMAS IRIZARRY                   666‐1 CALLE MCKINLEY     SANTURCE                                                                              SAN JUAN            PR           00902
   178410 FRANCISCO ORAMAS RUIZ                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656100 FRANCISCO ORTEGA COTTES                     P O BOX 746                                                                                                    SAN ANTONIO         PR           00690

   656101 FRANCISCO ORTIZ BERLINGERI                  C 2 URB COAMO GARDENS                                                                                          COAMO               PR           00769
   656102 FRANCISCO ORTIZ BERMUDEZ                    BO OLIMPO                371 CALLE 9                                                                           GUAYAMA             PR           00784
   656103 FRANCISCO ORTIZ CINTRON                     URB LA ARBOLEDA          240 CALLE 22                                                                          SALINAS             PR           00751
   178412 FRANCISCO ORTIZ DEL VALLE                   REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656104 FRANCISCO ORTIZ DIAZ                        HC 02 BOX 9386                                                                                                 COROZAL             PR           00783
   656105 FRANCISCO ORTIZ ESPADA                      URB LEVITTOWN LAKES      AN 35 BLVD MONROIG                                                                    TOA BAJA            PR           00949
   178413 FRANCISCO ORTIZ FEBUS                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178414 FRANCISCO ORTIZ FLORES                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656110 FRANCISCO ORTIZ GONZALEZ                    P O BOX 243                                                                                                    COROZAL             PR           00783

   178415 FRANCISCO ORTIZ HERNANDEZ                   REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178416 FRANCISCO ORTIZ JUSTINIANO                  REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656111 FRANCISCO ORTIZ MARTINEZ                    PO BOX 1154                                                                                                    SANTA ISABEL        PR           00757

   656112 FRANCISCO ORTIZ McWILLIAMS                  APARTADO 1786                                                                                                  JUNCOS              PR           00777‐1786
   656113 FRANCISCO ORTIZ MORALES                     PO BOX 11855                                                                                                   SAN JUAN            PR           00910‐4225
   656114 FRANCISCO ORTIZ NAVARRO                     BO CARMEN                HC 02 BOX 4335                                                                        GUAYAMA             PR           00784
   656115 FRANCISCO ORTIZ OTERO                       HC 02 BOX 8046                                                                                                 CIALES              PR           00638
   178419 FRANCISCO ORTIZ POLANCO                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656116 FRANCISCO ORTIZ RIVERA                      QUINTAS DE HUMACAO       F 11 CALLE C                                                                          HUMACAO             PR           Q00791

   178420 FRANCISCO ORTIZ RODRIGUEZ                   REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178421 FRANCISCO ORTIZ ROMAN                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178422 FRANCISCO ORTIZ ROSADO                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178423 FRANCISCO ORTIZ ROSARIO                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656120 FRANCISCO ORTIZ SANTIAGO                    URB LAS PRADERAS 1278                                                                                          BARCELONETA         PR           00617
   178424 FRANCISCO ORTIZ SANTINI                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656121 FRANCISCO ORTIZ SUED                        URB LA RIVIERA           704 COND WHITE TOWER                                                                  SAN JUAN            PR           00921
   656122 FRANCISCO ORTIZ TORRES                      HC 3 BOX 14999                                                                                                 COROZAL             PR           00783‐9801

   656123 FRANCISCO ORTIZ TRUCKING INC PO BOX 352                                                                                                                    SALINAS             PR           00751
   656124 FRANCISCO ORTIZ VELEZ        URB BUENAVENTURA                        5035 ALLE ALHELI                                                                      MAYAGUEZ            PR           00680
          FRANCISCO ORTIZ Y/O CAF PACO
   656125 JR                           309 AVE DE DIEGO                                                                                                              SAN JUAN            PR           00940
   656126 FRANCISCO OSORIO CASTILLO    VILLA PANAMERICANA                      EDIF D APT 307                                                                        SAN JUAN            PR           00924
          FRANCISCO OTERO DBA LINDSAY
   656127 CLEANERS                     VILLA NEVAREZ                           1041 CALLE 18                                                                         SAN JUAN            PR           00927



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  178427 FRANCISCO OTERO LOPEZ       REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  656129 FRANCISCO OTERO SANCHEZ     PO BOX 342                                                                                                                              CIALES              PR         00638
         FRANCISCO OTERO TAVAREZ DBA
  178428 MI COCINA                   61 CALLE JOSE DE DIEGO                                                                                                                  CIALES              PR         00638
  656130 FRANCISCO OTERO VALENTIN    HC 01 BOX 2328                                                                                                                          MOROVIS             PR         00687

   178429 FRANCISCO P GONZALEZ PAGAN                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   656131 FRANCISCO PABON FEBUS                        EL POLVORIN                   24 C/ 25                                                                                CAYEY               PR         00736
          FRANCISCO PACHECO Y MARIA
   178431 ALVAREZ                                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   656132 FRANCISCO PADILLA FERRER                     URB REXVILLE                  CD 31 CALLE 22                                                                          BAYAMON             PR         00957

   178432 FRANCISCO PADILLA HERNANDEZ REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   656133 FRANCISCO PADILLA VELEZ     VILLA OLIMPIA                                  A 8 CALLE 2                                                                             YAUCO               PR         00698
   656134 FRANCISCO PADRO             BOX 7711                                                                                                                               LUQUILLO            PR         00773
                                                                                     30 CALLE JUAN C BORBON APT
   656135 FRANCISCO PADRON GARAY                       COND PARQUE REAL              410                                                                                     GUAYNABO            PR         00969

   656136 FRANCISCO PAGAN ALVARADO                     HC 01 BOX 11629                                                                                                       COAMO               PR         00769
   178434 FRANCISCO PAGAN DOMENA                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   656137 FRANCISCO PAGAN MANZANO                      BO FRONTON CENTRO             SECTOR TORBIO RIVERA         HC02 BOX 7822                                              CIALES              PR         00638

   178435 FRANCISCO PAGAN RODRIGUEZ                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   656138 FRANCISCO PAGAN SANTIAGO                     RES COLUMBUS LANDING          EDIF 37 APT 399                                                                         MAYAGUEZ            PR         00680

   178436 FRANCISCO PAREDES LUCIANO                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   656139 FRANCISCO PARET LUGO                         PO BOX 16783                                                                                                          SAN JUAN            PR         00908
   656140 FRANCISCO PARIS POUPART                      HC 03 BOX 7350                                                                                                        HUMACAO             PR         00791

   178437 FRANCISCO PASCACIO MENDEZ                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   178438 FRANCISCO PAZ VILARINO                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   178441 FRANCISCO PELLICIER DE JESUS                 REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   178442 FRANCISCO PENA BAEZ                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   178443 FRANCISCO PENA CRUZ                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   178445 FRANCISCO PENA MENDEZ                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   178446 FRANCISCO PENA VAZQUEZ                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   656142 FRANCISCO PEREIRA RUIZ                       BOX 643                                                                                                               JUNCOS              PR         00777
   178449 FRANCISCO PEREYO DIAZ                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   178450 FRANCISCO PEREZ                              REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   656144 FRANCISCO PEREZ BERRIOS                      URB LEVITTVILLE SB            13 CALLE VENUS                                                                          TOA BAJA            PR         00949
   178451 FRANCISCO PEREZ BLAIR                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   656145 FRANCISCO PEREZ BURGOS                       URB ENCANTADA                 2706 CALLE MONTECILLO 2                                                                 TRUJILLO ALTO       PR         00976
          FRANCISCO PEREZ                              772 INT CALLE BALDORIOTY DE
   656146 CARRASQUILLO                                 CASTRO                                                                                                                SAN JUAN            PR         00925
   656147 FRANCISCO PEREZ CRUZ                         P O BOX 159                                                                                                           GARROCHALES         PR         00652
   656148 FRANCISCO PEREZ ESCOBAR                      VILLA DEL CARMEN              3419 CALLE TROPICAL                                                                     PONCE               PR         00716
   178452 FRANCISCO PEREZ GONZALEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   656150 FRANCISCO PEREZ LOPEZ                        PO BOX 46                                                                                                             JUNCOS              PR         00777
   178453 FRANCISCO PEREZ MEDINA                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   656153 FRANCISCO PEREZ MELENDEZ                     BOX 83                                                                                                                CIDRA               PR         00739




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   656154 FRANCISCO PEREZ MONTALVO                    227 SAN RAFAEL                                                                                             MAYAGUEZ             PR           00680
   178454 FRANCISCO PEREZ NIEVES                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178457 FRANCISCO PEREZ RAMOS                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178458 FRANCISCO PEREZ RIVERA                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   656158 FRANCISCO PEREZ ROBLES                      HC 6 BOX 75864                                                                                             CAGUAS               PR           00725
   656159 FRANCISCO PEREZ SOLA                        PO BOX 360749                                                                                              SAN JUAN             PR           00936‐0749
   656160 FRANCISCO PEREZ TORRADO                     PO BOX 8774                                                                                                PONCE                PR           00732
   178460 FRANCISCO PEREZ VARELA                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   178461 FRANCISCO PEREZ VELAZQUEZ                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO PICHARDO
   178465 HENRIQUEZ                                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   656162 FRANCISCO PICHARDO LOPEZ                    PO BOX 2716                                                                                                MAYAGUEZ             PR           00681‐2716
   656163 FRANCISCO PIETRI RIVERA                     10 VALLE VERDE HOUSING                                                                                     ADJUNTAS             PR           00601

   656165 FRANCISCO PIZARRO MAYSONET HC 3 BOX 2999 C                                                                                                             VEGA BAJA            PR           00693

   178466 FRANCISCO PIZARRO MELENDEZ                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   656166 FRANCISCO PIZARRO SUAREZ                    URB ROSA MARIA           E 23 CALLE 4                                                                      CAROLINA             PR           00985
          FRANCISCO POLANCO
   656167 HERNANDEZ                                   URB ALTA VISTA           K 2 CALLE 13                                                                      PONCE                PR           00716
   656168 FRANCISCO POMALES RIVERA                    PO BOX 2137                                                                                                CEIBA                PR           00735
   656169 FRANCISCO PONCE NIEVES                      URB LA INMACULADA        A 2 CALLE 3                                                                       TOA BAJA             PR           00949

   178467 FRANCISCO PORTILLA GONZALEZ REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO PUJOL LAW OFFICE
   178468 PSC                         COND PLAZA ATLANTICO                     APT 1101                                                                          CAROLINA             PR           00979
          FRANCISCO QUIÐONES
   178470 CARABALLO                   REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178474 FRANCISCO QUINONES ORTIZ    REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178475 FRANCISCO QUINONES SISCO    REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO QUINONEZ
   178476 GONZALEZ                    REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   656170 FRANCISCO QUINONEZ HIDALGO 353 CALLE QUINONEZ                                                                                                          SAN JUAN             PR           00912
   178477 FRANCISCO QUINTANA LOPEZ   REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   656171 FRANCISCO QUINTERO TORRES                   PO BOX 7126                                                                                                PONCE                PR           00732

   178478 FRANCISCO R AGUAYO COLON                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO R ARENAS
   178479 RODRIGUEZ                                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   178480 FRANCISCO R BAERGA VAZQUEZ REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   178481 FRANCISCO R CINTRON TORRES                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   656172 FRANCISCO R FARRES                          PO BOX 12251                                                                                               SAN JUAN             PR           00914
          FRANCISCO R FELICIANO
   656173 GONZALEZ                                    BO VIGRA                 H 25 ISLOTE                                                                       ARECIBO              PR           00613

   178482 FRANCISCO R GONZALEZ COLON REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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   656174 FRANCISCO R GONZALEZ RIVERA                 PO BOX 1691                                                                                                 UTUADO              PR           00641
          FRANCISCO R HERNANDEZ
   178484 MORALES                                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO R HERNANDEZ
   178485 ROSARIO                                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178486 FRANCISCO R KLEIN MOYA                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO R LABORDE
   178487 GONZALEZ                                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178489 FRANCISCO R MORENO JIMENEZ                  REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178490 FRANCISCO R ORTIZ BELLO                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178491 FRANCISCO R PINEIRO LOPEZ                   REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656176 FRANCISCO R SIFRE MENDEZ                    PO BOX 9013                                                                                                 SAN JUAN            PR           00909

   656177 FRANCISCO R VAZQUEZ LOPEZ                   1472 CALLE AIBONITO                                                                                         SAN JUAN            PR           00909
          FRANCISCO R. ARENAS
   178492 RODRIGUEZ                                   REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO RADINSON
   178493 CARABALLO                                   REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178494 FRANCISCO RADINSON PEREZ                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656179 FRANCISCO RAMIREZ COLON                     URB VALLE COSTERO        3873 CALLE ALGAS                                                                   SANTA ISABEL        PR           00757‐3220
   656180 FRANCISCO RAMIREZ GARCIA                    URB EL CORTIJO           11‐16 CALLE 9 B                                                                    BAYAMON             PR           00956
   178495 FRANCISCO RAMIREZ RIOS                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO RAMIREZ
   656181 RODRIGUEZ                                   URB ENCANTADA            MONTECILLO AC 5                                                                    TRIJILLO ALTO       PR           00976

   178496 FRANCISCO RAMIREZ SANTIAGO                  REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656182 FRANCISCO RAMON ORTIZ                       PO BOX 6942                                                                                                 CAGUAS              PR           00725
   656184 FRANCISCO RAMOS CANALES                     RES EL MIRADOR           EDIF 11 APT D 3                                                                    SAN JUAN            PR           00915
   656185 FRANCISCO RAMOS CORREA                      PO BOX 1622                                                                                                 UTUADO              PR           00641
   656186 FRANCISCO RAMOS COTTO                       RR 10 BZN 10096                                                                                             SAN JUAN            PR           00926
   656187 FRANCISCO RAMOS CRUZ                        RR 2 BOX 141                                                                                                SAN JUAN            PR           00926
   656188 FRANCISCO RAMOS DAVILA                      RR 7 BOX 7574                                                                                               SAN JUAN            PR           00926‐0000
   656189 FRANCISCO RAMOS DIAZ                        HC 01 BOX 12443                                                                                             CAROLINA            PR           00985
   656190 FRANCISCO RAMOS FUENTES                     P O BOX 785                                                                                                 LUQUILLO            PR           00773
   178498 FRANCISCO RAMOS GALARZA                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   656191 FRANCISCO RAMOS HERNANDEZ PARC SELGAS                                54 CALLE MANUEL COLON                                                              FLORIDA             PR           00650

   178499 FRANCISCO RAMOS LAUREANO                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656194 FRANCISCO RAMOS MATOS                       MANSIONES DEL SUR        PLAZA 7 SD 45                                                                      TOA BAJA            PR           00949
   656195 FRANCISCO RAMOS MORALES                     HC 4 BOX 14283                                                                                              SAN SEBASTIAN       PR           00685
   178500 FRANCISCO RAMOS PEREZ                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656196 FRANCISCO RAMOS RAMOS                       PO BOX 99                                                                                                   FAJARDO             PR           00738

   656197 FRANCISCO RAMOS RODRIGUEZ                   PO BOX 11485                                                                                                SAN JUAN            PR           00910‐2585
   656199 FRANCISCO RAMOS SANTANA                     PMB 244 BOX 4956                                                                                            CAGUAS              PR           00726
   178501 FRANCISCO RAMOS TORRES                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656203 FRANCISCO RAMOS VILLAR                      URB QUINTAS DE FAJARDO   G 31 CALLE 6                                                                       FAJARDO             PR           00738
   656204 FRANCISCO RAMOS ZAYAS                       HC 5 BOX 61990                                                                                              CAGUAS              PR           00725
          FRANCISCO RENE MORALES
   178502 CRUZ                                        REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  656206 FRANCISCO RENTAS                              APARTADO 1764                                                                                                     JUANA DIAZ        PR           00795
         FRANCISCO RESTO / LITZA T
  178503 OCASIO                                        URB MIRAFLORES             38‐5 CALLE 49                                                                          BAYAMON           PR           00957‐3803
  656207 FRANCISCO RESTO AGOSTO                        P O BOX 1454                                                                                                      VEGA ALTA         PR           00692
  178504 FRANCISCO RESTO FLORES                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  656209 FRANCISCO RESTO PEREZ                         URB BAIROA                 BY 10 CALE 1                                                                           CAGUAS            PR           00725
  656210 FRANCISCO REXACH PADILLA                      JARD DE CANOVANAS          E20 CALLE PEPITA ALBANDOZ                                                              CANOVANAS         PR           00729
  178505 FRANCISCO REYES ALICEA                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  655386 FRANCISCO REYES COLON                         HC 67 BOX 15331                                                                                                   BAYAMON           PR           00956
  178507 FRANCISCO REYES GOMEZ                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   178508 FRANCISCO REYES HERNANDEZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   178509 FRANCISCO REYES SANCHEZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   178510 FRANCISCO REYES VALDES                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   178511 FRANCISCO REYES, CLARA                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   656212 FRANCISCO RIOS DDDM                          PO BOX 364261                                                                                                     SAN JUAN          PR           00936
   656213 FRANCISCO RIOS LA LUZ                        PO BOX 7011                                                                                                       PONC              PR           00732
   656215 FRANCISCO RIOS MARTINEZ                      HC 03 BOX 8575                                                                                                    LARES             PR           00669
   656216 FRANCISCO RIOS RAMOS                         URB ALTURAS                CC 30 CALLE BB                                                                         VEGA BAJA         PR           00693
   656217 FRANCISCO RIOS RIVERA                        BO FACTOR I                412 CALLE 26                                                                           ARECIBO           PR           00612
   178514 FRANCISCO RIVERA                             REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   656221 FRANCISCO RIVERA ADORNO                      RR 4 BOX 3028                                                                                                     BAYAMON           PR           00956
   656222 FRANCISCO RIVERA ALVAREZ                     EMBALSE SAN JOSE           19 C/ ALOZAINA                                                                         SAN JUAN          PR           00923
   178516 FRANCISCO RIVERA AQUINO                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   656223 FRANCISCO RIVERA BAYRON                      CARR 357 KM 2 5                                                                                                   MARICAO           PR           00606

   655388 FRANCISCO RIVERA BIZCOCHEA                   25 C/ JULIAN BLANCO SOSA                                                                                          VEGA BAJA         PR           00693
   656224 FRANCISCO RIVERA BURGOS                      PO BOX 107                                                                                                        RIO GRANDE        PR           00745
          FRANCISCO RIVERA
   656226 CASTELLANOS                                  HC 73 BOX 5900                                                                                                    NARANJITO         PR           00719
   656227 FRANCISCO RIVERA COLON                       BUENA VISTA                102 CALLE ROBLE                                                                        CAROLINA          PR           00985
   178517 FRANCISCO RIVERA CRUZ                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   178518 FRANCISCO RIVERA DE JESUS                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   656228 FRANCISCO RIVERA DIAZ                        P O BOX 79                                                                                                        MOCA              PR           00676

   656229 FRANCISCO RIVERA ECHEVARRIA PO BOX 1226                                                                                                                        AGUADA            PR           00602
   178519 FRANCISCO RIVERA ESTRADA    REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   178521 FRANCISCO RIVERA FIGUEROA                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   656230 FRANCISCO RIVERA FILOMENO                    BO PLAYA HUCARES           BUZON 94                                                                               NAGUABO           PR           00718

   656231 FRANCISCO RIVERA GOMEZ                       URB JARDINES DE ORIENTE    34 CALLE RAMON E BETANCES                                                              LAS PIEDRAS       PR           00771
   656232 FRANCISCO RIVERA GUZMAN                      PO BOX 9505                                                                                                       BAYAMON           PR           00960

   178523 FRANCISCO RIVERA HERNANDEZ REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   656233 FRANCISCO RIVERA IRIZARRY  URB JUAN MORELL CAMPOS                       3 ALMA SUBLIME                                                                         PONCE             PR           00730

   178525 FRANCISCO RIVERA LABRADOR                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   656234 FRANCISCO RIVERA LOPEZ                       HC 01 BOX 2135                                                                                                    BARRANQUITAS      PR           00794
   656236 FRANCISCO RIVERA MARERO                      I 8 URB MONTE BELLO                                                                                               HORMIGUEROS       PR           00660

   656237 FRANCISCO RIVERA MARTINEZ                    HC 2 BOX 14077                                                                                                    GURABO            PR           00778



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  178526 FRANCISCO RIVERA MAYOL                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   178527 FRANCISCO RIVERA MERCADO                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   178528 FRANCISCO RIVERA MONROIG                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656238 FRANCISCO RIVERA MORALES                    P O BOX BOX                                                                                                  BAYAMON             PR         00960
   178530 FRANCISCO RIVERA ORTIZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656240 FRANCISCO RIVERA PACHECO                    PO BOX 740                 BARRIO DAGUAO                                                                     NAGUABO             PR         00718
   178531 FRANCISCO RIVERA PAGAN                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   178532 FRANCISCO RIVERA QUIANEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656241 FRANCISCO RIVERA REYES                      PO BOX 2023                                                                                                  UTUADO              PR         00641
   178533 FRANCISCO RIVERA RIVERA                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   178534 FRANCISCO RIVERA RODRIGUEZ                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FRANCISCO RIVERA
   656246 RODRIGUEZ/CAFE PLAZA                        PO BOX 384                                                                                                   JAYUYA              PR         00664
   655387 FRANCISCO RIVERA ROSA                       PO BOX 638                                                                                                   SANTA ISABEL        PR         00757
   656247 FRANCISCO RIVERA ROSADO                     SIERRA BAYAMON             86‐5 CALLE 69                                                                     BAYAMON             PR         00959
   178535 FRANCISCO RIVERA RUIZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656249 FRANCISCO RIVERA RUSSE                      URB SABANA GARDENS         18‐8 CALLE 18                                                                     CAROLINA            PR         00983
   178536 FRANCISCO RIVERA SANCHEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   178537 FRANCISCO RIVERA SANTIAGO                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   178538 FRANCISCO RIVERA SOTO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656255 FRANCISCO RIVERA STELLA                     URB REPARTO VALENCIA       AE 12 CALLE 7                                                                     BAYAMON             PR         00959
   178539 FRANCISCO RIVERA TORRES                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   178540 FRANCISCO RIVERA VARGAS                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   178541 FRANCISCO RIVERA VELAZQUEZ                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   178542 FRANCISCO RIVERA VELEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   656256 FRANCISCO RIVERA Y ELSA LOPEZ 410 W IDLEWILD AVE                                                                                                         TAMPA               FL         33604
   656258 FRANCISCO RODRIGUEZ           PO BOX 9367                                                                                                                ARECIBO             PR         00613

   656260 FRANCISCO RODRIGUEZ COLON                   P O BOX 1363                                                                                                 BARCELONETA         PR         00617‐1363
   656262 FRANCISCO RODRIGUEZ CRUZ                    TMS 232                    PO BOX 1283                                                                       SAN LORENZO         PR         00754
          FRANCISCO RODRIGUEZ DE LA
   178543 OBRA                                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FRANCISCO RODRIGUEZ DE LA
   655389 OBRA                                        PMB 353 400 CALAF STREET                                                                                     SAN JUAN            PR         00918‐1314
   656264 FRANCISCO RODRIGUEZ DIAZ                    HC 63 BOX 4130                                                                                               PATILLAS            PR         00723
          FRANCISCO RODRIGUEZ
   656261 ECHEVARRIA                                  PO BOX 173                                                                                                   AGUADA              PR         00602
          FRANCISCO RODRIGUEZ
   656266 GALARZA                                     PARC NUEVAS                192 BO TOITA                                                                      CAYEY               PR         00736

   656267 FRANCISCO RODRIGUEZ GERENA URB VALPARAISO                              B 23 CALLE 10                                                                     TOA BAJA            PR         00949
          FRANCISCO RODRIGUEZ
   656269 GONZALEZ                   HC 71 BOX 1346                                                                                                                NARANJITO           PR         00719‐9725

   656270 FRANCISCO RODRIGUEZ GORDILS URB LA RAMBLA                              1211 CALLE CLARISAS                                                               PONCE               PR         00730
          FRANCISCO RODRIGUEZ
   178545 GUZMAN                      REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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          FRANCISCO RODRIGUEZ
   178546 LEGRAND                                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   656271 FRANCISCO RODRIGUEZ LOPEZ                   HC 1 BOX 6422                                                                                                      CIALES              PR           00638
          FRANCISCO RODRIGUEZ
   656273 MALDONADO                                   369 EXT PUNTA PALMA                                                                                                BARCELONETA         PR           00617
          FRANCISCO RODRIGUEZ
   178548 MARRERO                                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO RODRIGUEZ
   656274 MORALES                                     UNIVERSITY GARDENS        CALLE 6 E 55                                                                             ARECIBO             PR           00612
          FRANCISCO RODRIGUEZ
   656276 NAPOLEONI                                   C 581 URB MARIA ANTONIA                                                                                            GUANICA             PR           00653

   656278 FRANCISCO RODRIGUEZ NIEVES                  HC 3 BOX 32068                                                                                                     AGUADILLA           PR           00603

   178551 FRANCISCO RODRIGUEZ PEREZ                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO RODRIGUEZ
   178552 PETANAS                                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO RODRIGUEZ
   656280 RAMIREZ                                     URB SANTIAGO IGLESIAS                            1755                                                              SAN JUAN            PR           00921

   178553 FRANCISCO RODRIGUEZ RIVERA                  REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO RODRIGUEZ
   178554 RODRIGUEZ                                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178555 FRANCISCO RODRIGUEZ RUIZ                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO RODRIGUEZ
   178556 SACRISTAN                                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO RODRIGUEZ
   178557 SALLABERRY                                  REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   656287 FRANCISCO RODRIGUEZ TORRES P O BOX 560477                                                                                                                      GUAYANILLA          PR           00656‐0477

   178558 FRANCISCO RODRIGUEZ VARGAS REDACTED                    REDACTED                                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                 315 MEDIA LUNA BOULEVARD
   656288 FRANCISCO RODRIGUEZ ZAVALA COND BRISAS PARQUE ESCORIAL APT 2301                                                                                                CAROLINA            PR           00987
          FRANCISCO RODRIGUEZ‐EMA
   178559 CORDERO                    REDACTED                    REDACTED                                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178560 FRANCISCO ROJAS ROJAS      REDACTED                    REDACTED                                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656289 FRANCISCO ROLON DELGADO    PARQUES DE BONNEVILLE       EDIF 1 APT 1G                                                                                           CAGUAS              PR           00725

   656290 FRANCISCO ROLON MARTINEZ                    SANTA ELENA               KK20 CALLE J                                                                             BAYAMON             PR           00957

   178561 FRANCISCO ROLON ORTOLAZA                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178562 FRANCISCO ROMAN                             REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178563 FRANCISCO ROMAN ACEVEDO                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178565 FRANCISCO ROMAN HERNANDEZ REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178566 FRANCISCO ROMAN MARTINEZ                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656292 FRANCISCO ROMAN MEDINA                      HC 01 BOX 11599                                                                                                    SAN SEBASTIAN       PR           00685
          FRANCISCO ROMAN MEDINA
   178567 DBA COMERCIAL ROM                           HC‐01 BOX 11624                                                                                                    SAN SEBASTIAN       PR           00685‐0000



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   656293 FRANCISCO ROMAN OQUENDO                     URB SANTA RITA            G 25 CALLE 13                                                                      VEGA ALTA            PR           00692

   655390 FRANCISCO ROMAN SANTIAGO                    P O BOX 29947                                                                                                SAN JUAN             PR           00929‐0947
   655391 FRANCISCO ROMAN SOTO                        HC 1 BOX 11599                                                                                               SAN SEBASTIAN        PR           00685
   656294 FRANCISCO ROMAN SOTO                        HC 01 BOX 11599                                                                                              SAN SEBASTIAN        PR           00685‐9752

   656296 FRANCISCO ROMERO LLAVONA                    COND PLAYA DORADA         APT 606 B                                                                          CAROLINA             PR           00979
   656297 FRANCISCO ROSA ALVARADO                     HC 01 BOX 4317                                                                                               SALINAS              PR           00751
                                                      C/O GLORIA RIVERA DIV
   656298 FRANCISCO ROSA CASTILLO                     PAGADURIA                 COLINAS DE FAIRVIEW                                                                TRUJILLO ALTO        PR           00976‐0000
   178568 FRANCISCO ROSA FLORES                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   178569 FRANCISCO ROSA RIOS                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   656300 FRANCISCO ROSA ROSA                         HC 4 BOX 4593                                                                                                QUEBRADILLAS         PR           00678
   178570 FRANCISCO ROSA SERRANO                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   656301 FRANCISCO ROSADO BATISTA                    ALTAGRACIA                G 8 CALLE GORRION                                                                  TOA BAJA             PR           00949

   178571 FRANCISCO ROSADO COLOMER                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   656302 FRANCISCO ROSADO HIDRAULIC PO BOX 8499                                                                                                                   BAYAMON              PR           00960

   178572 FRANCISCO ROSADO MARTINEZ                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   656304 FRANCISCO ROSADO MONTALVO URB LAS LOMAS                               1773 CALLE 24SO                                                                    SAN JUAN             PR           00921

   178573 FRANCISCO ROSADO MONTANEZ REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   656305 FRANCISCO ROSARIO ALFONSO                   BO TIERRA NUEVAS          CARR 616 KM 0 HM 3                                                                 MANATI               PR           00674

   656307 FRANCISCO ROSARIO BONILLA                   URB LAS GUADALUPE         E1 CALLE LA MILAGROSA                                                              PONCE                PR           00730‐2405
   178574 FRANCISCO ROSARIO BRULL                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANCISCO ROSARIO
   656308 CONCEPCION                                  HC 58 BOX 13546                                                                                              AGUADA               PR           00602
   656310 FRANCISCO ROSARIO FELIX                     PO BOX 7126                                                                                                  PONCE                PR           00732

   656311 FRANCISCO ROSARIO FIGUEROA VILLA FLORES                               B 1 CALLE JOSE ROMERO                                                              CEIBA                PR           00735

   656312 FRANCISCO ROSARIO GONZALEZ P O BOX 355                                                                                                                   HORMIGUEROS          PR           00660

   656315 FRANCISCO ROSARIO OLIVERAS                  URB MONTEBELLO            D 33 CALLE LIRIO                                                                   RIO GRANDE           PR           00745
   655392 FRANCISCO ROSARIO OTERO                     PO BOX 1701                                                                                                  CIALES               PR           00638

   656316 FRANCISCO ROSARIO PACHECO                   HC 01 BOX 8280                                                                                               LUQUILLO             PR           00773‐9614
   656320 FRANCISCO ROSARIO RIVERA                    URB SAN ANTONIO           B 29 CALLE D                                                                       ARROYO               PR           00714
   178575 FRANCISCO ROSARIO ROMAN                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   656321 FRANCISCO ROSAS GONZALEZ                    URB MONTE CLARO           M F 7 PLAZA 23                                                                     BAYAMON              PR           00961

   656323 FRANCISCO RUIZ ALMODOVAR                    URB JAIME L DREW          145 CALLE C                                                                        PONCE                PR           00731
   656325 FRANCISCO RUIZ GONZALEZ                     URB FLAMBOYAN GARDENS     T 7 CALLE 15                                                                       BAYAMON              PR           00959
          FRANCISCO RUIZ LEBRON /
   656326 GOMA GRANDE                                 231 CALLE CONCORDIA                                                                                          MAYAGUEZ             PR           00680
   656327 FRANCISCO RUIZ LORENZO                      HC 56 BOX 34286 1                                                                                            AGUADA               PR           00602‐9773
   655393 FRANCISCO RUIZ MORENO                       506 CALLE VILLA FONTANA                                                                                      MAYAGUEZ             PR           00680



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  656329 FRANCISCO RUIZ NIEVES                        P O BOX 7                                                                                                        UTUADO               PR         00641
  178577 FRANCISCO RUIZ PEREZ                         REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  656330 FRANCISCO RUIZ RUIZ                          BO MONTELLANO            PO BOX 7728                                                                             CIDRA                PR         00739
         FRANCISCO RUSCALLEDA
  178578 GONZALEZ                                     REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  178580 FRANCISCO SABAT CARMONA                      REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         FRANCISCO SABATIER
  656333 DISTRIBUTORS                                 CARR 10 LOCAL 31                                                                                                 PONCE                PR         00731
  178581 FRANCISCO SAENZ CASTRO                       REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  656334 FRANCISCO SAEZ RIVERA                        BO JERUSALEN             C 11 CALLE 1                                                                            FAJARDO              PR         00738
  656335 FRANCISCO SAGARDIAS                          PO BOX 4785                                                                                                      AGUADILLA            PR         00603
  178582 FRANCISCO SALDANA ALAMO                      REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         FRANCISCO SALGADO
  656336 HERNANDEZ                                    HC 33 BOX 5945                                                                                                   DORADO               PR         00646

   178583 FRANCISCO SALINAS VALENCIA                  REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   178584 FRANCISCO SAMALOT SOLER                     REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          FRANCISCO SANCHEZ / CARMEN
   178586 MARSHAL                                     COND EL GENERALIFE       G 4 AVE SAN PATRICIO APT 1204                                                           GUAYNABO             PR         00968‐3222
   178587 FRANCISCO SANCHEZ AVILES                    REDACTED                 REDACTED                      REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   656341 FRANCISCO SANCHEZ CRUZ                      HC 02 BOX 14001                                                                                                  GURABO               PR         00778‐9617

   656342 FRANCISCO SANCHEZ FELICIANO RES AGUADA GARDENS                       EDIF 3 APTO 22                                                                          AGUADA               PR         00602
   656343 FRANCISCO SANCHEZ MILLAN    HC 02 BOX 11181                                                                                                                  YAUCO                PR         00698

   656344 FRANCISCO SANCHEZ POLANCO                   HC 58 BOX 9417                                                                                                   AGUADA               PR         00602
   656345 FRANCISCO SANCHEZ REYES                     PO BOX 1261                                                                                                      VEGA ALTA            PR         00621‐1261
   656347 FRANCISCO SANCHEZ URBINO                    VILLA CAROLINA 6TA EXT   2 BLQ 229 CALLE 609                                                                     CAROLINA             PR         00985

   656348 FRANCISCO SANCHEZ VAZQUEZ                   P O BOX 1327                                                                                                     COAMO                PR         00769
   178589 FRANCISCO SANCHEZ VIDAL                     REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   656349 FRANCISCO SANTAELLA CONDE                   URB SAN IGNACIO          1793 CALLE SAN RODULFO                                                                  SAN JUAN             PR         00927
          FRANCISCO SANTIAGO /
   656353 FRANCES SANTIAGO                            PO BOX 2893                                                                                                      GUAYNABO             PR         00970

   656354 FRANCISCO SANTIAGO ACEVEDO 19 URB SAN FELIPE                                                                                                                 ADJUNTAS             PR         00601
          FRANCISCO SANTIAGO
   656356 BUSTAMAR                   PO BOX 7126                                                                                                                       PONCE                PR         00732
          FRANCISCO SANTIAGO
   178590 CARRASCO                   REDACTED                                  REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          FRANCISCO SANTIAGO
   178591 FELICIANO                  REDACTED                                  REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   656357 FRANCISCO SANTIAGO GARCIA                   PO BOX 127                                                                                                       ENSENADA             PR         00647
          FRANCISCO SANTIAGO
   178592 GONZALEZ                                    REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   656358 FRANCISCO SANTIAGO LEGRAND PO BOX 1555                                                                                                                       VIEQUES              PR         00765
          FRANCISCO SANTIAGO
   656360 MARTINEZ                   URB CIUDAD CRISTIANA                      BOX 418 AVE BOLIVIA                                                                     HUMACAO              PR         00791

   656361 FRANCISCO SANTIAGO MIRANDA HC 763 BOX 3221                                                                                                                   PATILLAS             PR         00723



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   656362 FRANCISCO SANTIAGO MORALES VILLA ESPERANZA                              77 CALLE ESPERANZA                                                                  CAGUAS              PR           00725

   178595 FRANCISCO SANTIAGO PACHECO REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   656363 FRANCISCO SANTIAGO PAGAN                    COND TORRE DE ANDALUCIA 1   APT 1608                                                                            SAN JUAN            PR           00926
          FRANCISCO SANTIAGO
   656352 QUI¥ONES                                    PO BOX 155                                                                                                      SABANA GRANDE       PR           00637
   656364 FRANCISCO SANTIAGO RIVAS                    PO BOX 708                                                                                                      TOA ALTA            PR           00954

   656365 FRANCISCO SANTIAGO RIVERA                   31 CLIPTON PH                                                                                                   JERSEY CITY         NY           007304
          FRANCISCO SANTIAGO
   178599 RODRIGUEZ                                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178600 FRANCISCO SANTIAGO SANJURJO REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178602 FRANCISCO SANTIAGO SOTO     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656367 FRANCISCO SANTIAGO TIRU     BO FUIG                                     145 CALLE 1                                                                         GUANICA             PR           00653

   656369 FRANCISCO SANTIAGO VAZQUEZ                  URB JOSE MERCADO            132 A CALLE KENNEDY                                                                 CAGUAS              PR           00725
   656370 FRANCISCO SANTIAGO ZAYAS                    PMB 547 PO BOX 100                                                                                              BARRANQUITAS        PR           00794
   656371 FRANCISCO SANTOS                            5 PARCELAS VAZQUEZ                                                                                              SALINA              PR           00751
   656372 FRANCISCO SANTOS CRESPO                     HC 02 BOX 10180                                                                                                 YAUCO               PR           00698
   656373 FRANCISCO SANTOS FALCON                     URB FERNANDEZ               5 CALLE MODESTO FERRER                                                              CIDRA               PR           00739
   656374 FRANCISCO SANTOS GUZMAN                     BO SANDIN                   9 CALLE MERCURIO                                                                    VEGA BAJA           PR           00693

   178604 FRANCISCO SANTOS MARTINEZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656375 FRANCISCO SANTOS RIVERA                     VILLA DE RIO VERDE          XX 33 CALLE 26                                                                      CAGUAS              PR           00725

   656376 FRANCISCO SANTOS VELAZQUEZ                  BO LAS CUEVAS               CORREO GENERAL                                                                      LOIZA               PR           00772
   656377 FRANCISCO SANTOS ZAYAS                      URB SANTA MONICA            I‐17 CALLE 8                                                                        BAYAMON             PR           00957
   178605 FRANCISCO SCHMIDT TORRES                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656378 FRANCISCO SEDA FELICIANO                    URB LAS VIRTUDES            755 CALLE CONSOLACION                                                               SAN JUAN            PR           00924
   656379 FRANCISCO SEISE GARCIA                      PO BOX 827                                                                                                      MANATI              PR           00674
   656380 FRANCISCO SELLA                             PO BOX 1277                                                                                                     COAMO               PR           00769
   656381 FRANCISCO SENDRA CALERO                     TIERRA ALTA 1               D 1 CALLE LOS MIRTOS                                                                GUAYNABO            PR           00969

   178607 FRANCISCO SEPULVEDA GARCIA REDACTED                   REDACTED                                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178608 FRANCISCO SERRANO          REDACTED                   REDACTED                                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                     COND GOLDEN VIEW PLAZA APT
   656384 FRANCISCO SERRANO JIMENEZ 1704                                                                                                                              SAN JUAN            PR           00924

   656385 FRANCISCO SERRANO ROSADO                    URB BUNKER                  155 CALLE ARGENTINA                                                                 CAGUAS              PR           00725
   656386 FRANCISCO SERRANO VELEZ                     URB BUENA VISTA             1194 CALLE MAGNOLIA                                                                 MAYAGUEZ            PR           00682‐1260

   656388 FRANCISCO SIERRA FERNANDEZ                  CHALETS DE ROYAL PARK       100 CALLE F APT 201                                                                 BAYAMON             PR           00956
   656389 FRANCISCO SIERRA MENDEZ                     PO BOX 3010                                                                                                     JUNCOS              PR           00777‐3010
   178609 FRANCISCO SILVA MARIANI                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO SINIGAGLIA
   178611 CARABALLO                                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178612 FRANCISCO SOLER TANCO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178613 FRANCISCO SOLIS FIGUEROA                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178614 FRANCISCO SOLIS SCHARON                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   178615 FRANCISCO SOMOZA MARTINEZ REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178616 FRANCISCO SOTO FRANCESHI  REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   656393 FRANCISCO SOTO HERNANDEZ                    BO SALTOS 1              CARR 445 KM 4 2 INTERIOR                                                                SAN SEBASTIAN       PR           00685
   656392 FRANCISCO SOTO LOPEZ                        URB VISTAMAR             477 CALLE PORTUGAL                                                                      CAROLINA            PR           00979
   656394 FRANCISCO SOTO LUNA                         URB LEVITOWN             AQ29 CALLE LYDIA                                                                        TOA BAJA            PR           00949
   656395 FRANCISCO SOTO MARTINEZ                     HC 4 BOX 17806                                                                                                   CAMUY               PR           00627
   656396 FRANCISCO SOTO OTERO                        HC 71 BOX 2499                                                                                                   NARANJITO           PR           00719
   656397 FRANCISCO SOTO RIVERA                       RR 8 BOX 9631                                                                                                    BAYAMON             PR           00957

   656398 FRANCISCO SOTO SANCHEZ JR                   URB EXT SAN JOSE 7                                                                                               AGUADA              PR           00602
   178617 FRANCISCO SOTO TOMASINY                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656399 FRANCISCO SOTO TORRES                       PO BOX 350                                                                                                       PUERTO REAL         PR           00740‐0350

   656400 FRANCISCO SOUFFRONT NIEVES URB VIATA AZUL                            C 15 CALLE 3                                                                            RINCON              PR           00677

   656401 FRANCISCO SUAREZ MARTINEZ                   COND MONTE SUR           190 AVE HOSTOS APTO UAB 30                                                              SAN JUAN            PR           00918
   656402 FRANCISCO SUERO ALGARIN                     PO BOX 3012                                                                                                      JUNCOS              PR           00777
   656403 FRANCISCO T COLON FALCON                    URB COLLEGE PARK         280 CALLE SAN ALFONSO                                                                   SAN JUAN            PR           00921‐4730
          FRANCISCO T DEL VALLE
   178618 VIZCARRONDO                                 REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656406 FRANCISCO TAPIA BENITEZ                     HC 2 BOX 15248                                                                                                   CAROLINA            PR           00987
   656407 FRANCISCO TAPIA VIERA                       HC 02 15599                                                                                                      CAROLINA            PR           00985
   656408 FRANCISCO TAVERAS PENA                      HC 01 BOX 13077                                                                                                  RIO GRANDE          PR           00745
   656409 FRANCISCO TENORIO REYES                     HC 01 BOX 10659                                                                                                  ARECIBO             PR           00612
   656410 FRANCISCO TIRADO BAEZ                       APARTADO 296                                                                                                     RINCON              PR           00677
   656411 FRANCISCO TIRADO RUIZ                       PO BOX 316                                                                                                       SAN ANTONIO         PR           00690

   656412 FRANCISCO TOLEDO GONZALEZ                   SANTA JUANITA            N A 6 CALLE ABAD                                                                        BAYAMON             PR           00956
   178619 FRANCISCO TORAL MUNOZ                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO TORANODBA                         TORANO/GREEN ENERGY &
   178620 VAQUERIA FRANCISCO                          FUELS INC                HC 3 BOX 12096                                                                          UTUADO              PR           00641
   656413 FRANCISCO TORO DEL VALLE                    URB EL CEREZAL 1659      CALLE SALUEN                                                                            SAN JUAN            PR           00926
   178622 FRANCISCO TORO GONZALEZ                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656414 FRANCISCO TORO HURTADO                      URB PERLA DEL SUR        2811 CARNAVAL                                                                           PONCE               PR           00717
   178623 FRANCISCO TORO OSUNA                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178624 FRANCISCO TORRES BONILLA                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656416 FRANCISCO TORRES BURGOS                     BO PALMAREJO             HC 2 BOX 5483                                                                           COAMO               PR           00769
   656417 FRANCISCO TORRES CRUZ                       HC 764 BOX 6479                                                                                                  PATILLAS            PR           00723
   656418 FRANCISCO TORRES GRACIA                     VILLAS DE BUENA VISTA    J‐4 CALLE ISIS                                                                          BAYAMON             PR           00956‐5952

   656419 FRANCISCO TORRES LAUREANO                   COND BORINQUEN TOWER I   1484 AVE ROOSEVELT APT 811                                                              SAN JUAN            PR           00920‐2721
   655394 FRANCISCO TORRES LUGO                       PO BOX 29857                                                                                                     SAN JUAN            PR           00929

   656420 FRANCISCO TORRES MARRERO                    HC 2 BOX 8620                                                                                                    YABUCOA             PR           00767

   656422 FRANCISCO TORRES MIRANDA                    JARDINES DE SANTA ANA    D 4 CALLE 4                                                                             COAMO               PR           00769
   656423 FRANCISCO TORRES OLIVERO                    PO BOX 1073                                                                                                      UTUADO              PR           00641‐1073
   178628 FRANCISCO TORRES ORTIZ                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178629 FRANCISCO TORRES QUIJANO                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178630 FRANCISCO TORRES QUILES                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656424 FRANCISCO TORRES RAMIREZ                    URB LEVITTOWN            HS 51 CALLE ROSARIO ATUTI                                                               TOA BAJA            PR           00949



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  656425 FRANCISCO TORRES RIOS                        URB VISTA AZUL          P30 CALLE 18                                                                         ARECIBO             PR         00612
  178631 FRANCISCO TORRES RIVERA                      REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   656427 FRANCISCO TORRES RODRIGUEZ                  PO BOX 560                                                                                                   SAN GERMAN          PR         00683
   656429 FRANCISCO TORRES ROLON                      URB COLINAS FAIR VIEW   4 G 82 CALLE 219                                                                     TRUJILLO ALTO       PR         00976
   656430 FRANCISCO TORRES ROMAN                      PLAYA PONCE             135 LORENZO BUO                                                                      PONCE               PR         00716‐8046
   656431 FRANCISCO TORRES SANTANA                    BO SABANA BAJA          207A CALLE AMAPOLA                                                                   SABANA GRANDE       PR         00637

   655395 FRANCISCO TORRES SANTIAGO                   BDA TAMARINDO           135 CALLE 3                                                                          PONCE               PR         00730
          FRANCISCO TORRES SANTOS
   178633 RETIREMENT PLAN                             REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   178634 FRANCISCO TORRES TORRES                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656432 FRANCISCO TORRES VAZQUEZ                    BO COROZAL              141 CALLE SAN FELIPE                                                                 GUAYAMA             PR         00784
   656434 FRANCISCO TOSTE SANTANA                     URB EL VEDADO           414 CALLE BONAFOUX                                                                   SAN JUAN            PR         00918‐3021
   178635 FRANCISCO UMPIERRE VELA                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656436 FRANCISCO URBINA MERCED                     140 CALLE CARAZO                                                                                             GUAYNABO            PR         00968
   178636 FRANCISCO URQUIA DIAZ                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FRANCISCO V AQUINO
   656437 HERNANDEZ                                   URB OASIS GARDENS       F 3 CALLE NORUEGA                                                                    GUAYNABO            PR         00961

   656438 FRANCISCO V CASTRO VAZQUEZ COND SEGOVIA APT 707                     650 S CUEVAS BUSTAMANTE                                                              SAN JUAN            PR         00918‐3822

   178637 FRANCISCO V HERNANDEZ PEREZ REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   178638 FRANCISCO VALCARCEL MULERO REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656440 FRANCISCO VALDES           PO BOX 4956                                                                                                                   CAGUAS              PR         00726‐4956
   656442 FRANCISCO VALDES ORTIZ     URB BONNEVILLE GARDENS                   L 24 CALLE 6                                                                         CAGUAS              PR         00725
   656443 FRANCISCO VALENTIN         E 92 URB JAIME L DREW                                                                                                         PONCE               PR         00730

   178639 FRANCISCO VALENTIN ALEQUIN                  REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   656444 FRANCISCO VALENTIN CORREA                   PO BOX 697                                                                                                   MAYAGUEZ            PR         00681
          FRANCISCO VALENTIN
   656445 MELENDEZ                                    URB EL CONQUISTADOR     25 AVE DIEGO VELAZQUEZ                                                               TRUJILLO ALTO       PR         00976

   178640 FRANCISCO VALENTIN MORALES REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FRANCISCO VALLADARES DEL
   178642 VALLE                      REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   656446 FRANCISCO VALLEJO MORALES                   BO JAGUAR               PO BOX 206                                                                           SAN LORENZO         PR         00754
   656447 FRANCISCO VALLS FERRERO                     VILLA ANDALUCIA         L 34 AVE FRONTERA                                                                    SAN JUAN            PR         00926

   656448 FRANCISCO VARELA DELGADO                    URB SANTA ROSA 36 23    CALLE 10                                                                             BAYAMON             PR         00959
   656449 FRANCISCO VARGAS DE LEON                    P O BOX 576                                                                                                  JAYUYA              PR         00664
   178643 FRANCISCO VARGAS RAMIREZ                    REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   178644 FRANCISCO VAZQUE MOJICA                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   178645 FRANCISCO VAZQUEZ                           REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          FRANCISCO VAZQUEZ / ELSA M
   178646 MARTINEZ                                    REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656451 FRANCISCO VAZQUEZ COLON                     PO BOX 2053                                                                                                  BARCELONETA         PR         00617

   178647 FRANCISCO VAZQUEZ DE LEON                   REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656452 FRANCISCO VAZQUEZ LOPEZ                     PO BOX 21385                                                                                                 SAN JUAN            PR         00926‐1365



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   656453 FRANCISCO VAZQUEZ MONAGAS BO MANI                                   25 CALLE LA VIA                                                                   MAYAGUEZ            PR           00680
          FRANCISCO VAZQUEZ
   656454 MONSANTO                  URB CONSTANCIA                            625 CALLE 8                                                                       PONCE               PR           00731

   656455 FRANCISCO VAZQUEZ MORGADO HC 03 BOX 11993                                                                                                             COROZAL             PR           00783
   178648 FRANCISCO VAZQUEZ MUNOZ   REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656456 FRANCISCO VAZQUEZ NIEVES  HC 4 BOX 43160                                                                                                              AGUADILLA           PR           00603‐9753
   178649 FRANCISCO VAZQUEZ RIVERA  REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656459 FRANCISCO VAZQUEZ RUIZ    URB ALTO APOLO                            2100 CALLE ANTIOQUIA                                                              GUAYNABO            PR           00969

   178651 FRANCISCO VAZQUEZ TAVAREZ                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656461 FRANCISCO VAZQUEZ ZAYAS                     HC 01 BOX 22260                                                                                           CAGUAS              PR           00725‐8907
   656462 FRANCISCO VEGA                              PO BOX 267                                                                                                RINCON              PR           00677

   178652 FRANCISCO VEGA ALDARONDO                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656463 FRANCISCO VEGA ALICEA                       HC 4 BOX 26254                                                                                            LAJAS               PR           00667
   178653 FRANCISCO VEGA COLLAZO                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656464 FRANCISCO VEGA COLON                        HC 05 BOX 52203                                                                                           HATILLO             PR           00659
   656466 FRANCISCO VEGA OTERO INC                    PO BOX 175                                                                                                CAGUAS              PR           00726
   656468 FRANCISCO VEGA RIOS                         BO SAN ISIDRO           347 CALLE 14                                                                      CANOVANAS           PR           00729
   178654 FRANCISCO VEGA SANTELL                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178655 FRANCISCO VELAZQUEZ IRIZARRY REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO VELAZQUEZ
   178656 VELAZQUEZ                    REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178657 FRANCISCO VELAZQUEZ VELEZ                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656469 FRANCISCO VELEZ ACEVADO                     URB BRISAS DE HATILLO   C 20 CALLE R GARCIA                                                               HATILLO             PR           00659
   178658 FRANCISCO VELEZ MALAVE                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178659 FRANCISCO VELEZ PEREZ                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   656471 FRANCISCO VELEZ RODRIGUEZ                   CAPARRA TERRACE         SO 1571 CALLE 34                                                                  SAN JUAN            PR           00921
   178660 FRANCISCO VELEZ SILVA                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178661 FRANCISCO VELEZ VALENTIN                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   656472 FRANCISCO VICENTE FONSECA                   URB EL REMANSO          F 4 CALLE CALZADA                                                                 SAN JUAN            PR           00926
   178662 FRANCISCO VICENTE ORTIZ                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178663 FRANCISCO VIDAL ANCIANI                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656474 FRANCISCO VIEJO RULLAN                      TINTILLO GARDENS        D 1 41 CALLE 5                                                                    GUAYNABO            PR           00966

   178664 FRANCISCO VILLALOBOS PINEIRO REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656476 FRANCISCO VILLAREAL DIAZ     HC 05 BOX 10688                                                                                                          COROZAL             PR           00783

   656477 FRANCISCO VILLEGAS BURGOS                   1ERA SECC LEVITTOWN     1590 PASEO DIANA                                                                  TOA BAJA            PR           00949

   178665 FRANCISCO VIRELLA MELENDEZ                  REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178667 FRANCISCO X SENDRA FIGUEROA REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178668 FRANCISCO X SERBIA QUEIPO   REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCISCO XAVIER BURGOS
   656478 FIGUEROA                    URB LAS COLINAS                         G 3 CALLE 3                                                                       TOA BAJA            PR           00949




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          FRANCISCO XAVIER GONZALEZ
   656479 CALDERON                                    PO BOX 363507                                                                                                          SAN JUAN            PR           00936‐3507
          FRANCISCO Y JUAN ROMAN
   656480 CRUZ MARTINEZ                               COUNTRY CLUB                811 CALLE MOLUCAS                                                                          SAN JUAN            PR           00924

   656481 FRANCISCO ZAMORA MIRANDA                    33 URB SAN JOSE                                                                                                        SABANA GRANDE       PR           00637
   656482 FRANCISCO ZAYAS ALVELO                      BO SAN LUIS                 9 CALLE EMAUS                                                                              AIBONITO            PR           00705
   656483 FRANCISCO ZAYAS PEREZ                       PO BOX 2120                                                                                                            AIBONITO            PR           00705
   656484 FRANCISCO ZAYAS SEIJO                       P O BOX 9022228                                                                                                        SAN JUAN            PR           00902‐2228

   656486 FRANCISCO ZOQUIEL CONTRERA                  750 CALLE SAN JUAN PDA 15                                                                                              SAN JUAN            PR           00907
   178669 FRANCISCO, ARMESTICA                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178670 FRANCISCUS PRODUCTIONS                      68 OJEDA STREET                                                                                                        SAN JUAN            PR           00907
          FRANCISGELICA RIVERA
   656487 RODRIGUEZ                                   URB CIUDAD CRISTIANA        41 AVE PUERTO RICO                                                                         HUMACAO             PR           00791
   178671 FRANCISOCO RESTO GOMEZ                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178676 FRANCKIE CRUZ ROSARIO                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656489 FRANCKIE ROSA MOYA                          PO BOX 1070                                                                                                            HATILLO             PR           00659
   178677 FRANCO A LEBRON                             REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178683 FRANCO ALVAREZ BERRIOS                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178686 FRANCO AQUINO, CRISTINA                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656491 FRANCO BARRANCO RIVERA                      15 SAN CARLOS                                                                                                          UTUADO              PR           00641
   656492 FRANCO CABAN VALENTIN                       PO BOX 3667                                                                                                            SAN SEBASTIAN       PR           00685
                                                                                  1606 AVE. PONCE DE LEÓN SUITE
  1419789 FRANCO FIGUEROA, MANUEL L                   EDUARDO VERA RAMÍREZ        501 EDIF. BOGORICIN                                                                        SAN JUAN            PR           00909

   178778 FRANCO GINORIO, DAWILMAR                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   178792 FRANCO H BIAGGI DE CASENAVE                 REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178798 FRANCO J CATALA DIAZ                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178802 FRANCO LEBRON ORTIZ                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656493 FRANCO LUIS AUTO PARTS                      HC 01 BOX 10318                                                                                                        HATILLO             PR           00659

   656494 FRANCO M ZENON MELENDEZ                     URB LOS MAESTROS            CALLE A X                                                                                  HUMACAO             PR           00791
                                                                                  INTITUCIÓN BAYAMON
  1422963 FRANCO MATEO, LUIS                          LUIS FRANCO MATEO           BAYAMON 501                     EDIF SECC C P.O BOX 607073                                 BAYAMON             PR           00960

  1419790 FRANCO MATEO, LUIS A Y OTROS JOHANNA GILOT OPPENHEIMER                  PO BOX 369                                                                                 SAN JUAN            PR           00936‐0369
   178838 FRANCO MATTA MD, AWILDA      REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178840 FRANCO MATTA, AWILDA         REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178843 FRANCO MD , LUIS A           REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   178896 FRANCO QUILES MARIANI        REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANCO QUILES MARIANI LAW
   178897 OFFICE PSC                   PO BOX 366829                                                                                                                         SAN JUAN            PR           00936
          FRANCO QUILES‐MARIANI LAW
   178898 OFFICE                       PO BOX 366829                                                                                                                         SAN JUAN            PR           00936
   178911 FRANCO RENTAS MD, RAFAEL     REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656497 FRANCO ROLON CARDONA         COL DE FAIR VIEW                           4T 18 CALLE 214                                                                            TRUJIJO ALTO        PR           00976
          FRANCO ROSALY PEREZ /
   178957 MAXIMO SOLAR                 INDUSTRIES                                 URB EXT SANTA MARIA             Q 5 CALLE PETUNIA                                          SAN JUAN            PR           00927
   656498 FRANCO SCIENTIFIC INC        REPTO METROPOLITANO                        1029 AVE AMERICO MIRANDA                                                                   SAN JUAN            PR           00921
   656499 FRANCO SEWING SUPPLY         317 AVE JUAN ROSADO                                                                                                                   ARECIBO             PR           00612
   179008 FRANCO W PIETRI LEITH        REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   656502 FRANCO WEAR CORPORATION                     PO BOX 373291                                                                                                     CAYEY               PR           00737‐3291

   179009 FRANCO YAMBO MD, GLORIAN                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179011 FRANCO, CARLA                               REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656503 FRANCOIS PALOU MORALES                      URB BALDRICH              211 CALLE TOUS SOTO                                                                     SAN JUAN            PR           00918
   179017 FRANCOIS R EDROOZ                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   179018 FRANCOIS S VELEZ HERNANDEZ                  REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   179019 FRANCOIS STEVEN VELEZ VELEZ                 REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   179020 FRANCOISE GILORMINI MERLE                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179021 FRANCOISE N LUGO TORRES                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179023 FRANDK QUINONES LEBRON                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656504 FRANELOS PIZZA PALACE                       LAGUNA GARDENS            SHOPPING CENTER SUITE 1‐01                                                              CAROLINA            PR           00979
   656505 FRANGEMARIE DAVILA LLOPIZ                   HC03 BOX 8146             LOS FILTROS                                                                             GUAYNABO            PR           00971
   179027 FRANK A BUSTELO ALVARADO                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656510 FRANK A DALMAU GOMEZ                        EDIF CARIBE STE 1002      53 CALLE PALMERAS                                                                       SAN JUAN            PR           00901
   656512 FRANK A LABOAS OTERO                        RES ANTULIO LOPEZ         E 5 APT 53                                                                              JUNCOS              PR           00777
   656514 FRANK A LOPEZ CHAVEZ                        URB CORCHADO              67 CALLE TRINITARIA                                                                     ISABELA             PR           00662
          FRANK A POUEYMIROU                          URB PARQUE DE
   656516 RODRIGUEZ                                   TORREMOLINOSA             A 2 CALLE 1                                                                             GUAYNABO            PR           00969‐3625

   656517 FRANK A RODRIGUEZ COLLAZO                   SANTA TERESITA            AN 7 CALLE 11                                                                           PONCE               PR           00731
   656518 FRANK ACEVEDO BARBOSA                       RES COLUMBUS LANDING      EDIF 2 APTO 21                                                                          MAYAGUEZ            PR           00680
   179028 FRANK ACEVEDO IRIZARRY                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656519 FRANK AGUIRRE RIOS                          VILLAMAR                  112 CALLE 5                                                                             CAROLINA            PR           00979
   656520 FRANK ALBERT ARNOULD                        PALMAS DEL MAR            PO BOX 888 SUITE 160                                                                    HUMACAO             PR           00792
          FRANK ALEJANDRO ROSARIO
   179029 OCASIO                                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656521 FRANK ALEXANDER MARTINEZ                    HC 02 BOX 6623                                                                                                    BARRANQUITAS        PR           00794

   179030 FRANK ANDREW HEFFELFINGER                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   656522 FRANK ANTONETTI                             ISLA VERDE                4123 AVE ISLA VERDE                                                                     CAROLINA            PR       00979
   656523 FRANK APONTE TORO                           PO BOX 498                                                                                                        PUNTA SANTIAGO      PR       00741
   179031 FRANK AQUINO LUGO                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   179032 FRANK ARAN SERRANO                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   656525 FRANK ARROYO NIEVES                         HC 02 BOX 5406                                                                                                    COAMO               PR       00769
   656526 FRANK AUTO SALES INC                        PO BOX 9505                                                                                                       BAYAMON             PR       00960‐5050
   179034 FRANK BILLICK                               REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   656529 FRANK C TORRES                              107 B CALLE 22 DE JULIO                                                                                           MOCA                PR       00676
                                                      UNIDAD EMERGENCIA
   656530 FRANK CALDERON PIZZARRO                     ALCOHOLISMO                                                                                                       RÍO PIEDRAS         PR           00936
   656531 FRANK CAMACHO                               HC 01 BOX 11069                                                                                                   CAROLINA            PR           00987
   656532 FRANK CAMPOS LOPEZ                          HC 2 BOX 7151                                                                                                     CIDRA               PR           00638
   179036 FRANK CATALA MORALES                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179037 FRANK CERAMIC                               REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179039 FRANK CERAMIC SHOP                          AREA DEL TESORO           DIVISION DE RECLAMACIONES                                                               SAN JUAN            PR           00902‐4140
   179042 FRANK COLLAZO ASOCIATE                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656533 FRANK COLON COLON                           HC 1 BOX 166500           RIO HONDO 1                                                                             COMERIO             PR           00782
   179044 FRANK CORA PENA                             REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179045 FRANK CORTES AMARAL                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  656535 FRANK CRUZ SUAREZ                            BELINDA                      A 3 CALLE 1                                                                       ARROYO              PR           00714
         FRANK D INSERNI MILAM/
  179046 ECOLOGIC ALL                                 B 12 GREEN VALLEY                                                                                              GUAYNABO            PR           00966
  179047 FRANK D RODRIGUEZ ROBLES                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  179048 FRANK DAVILA COLON                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  179050 FRANK DELGADO NAZARIO                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  179051 FRANK DIAZ VASCONCELLOS                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  771057 FRANK E DOBEK                                REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  179054 FRANK E GONZALEZ IRIZARRY                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   656539 FRANK E HIGGINBOTHAM ALGER COND SKY TOWERS                               APT 1 1                                                                           SAN JUAN            PR           00926‐6407
   656540 FRANK E LABOY BLANC        PO BOX 6147                                                                                                                     CAGUAS              PR           00726‐6147

   179055 FRANK E MALDONADO TORRES                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   656543 FRANK E MARTINEZ CALZADA                    URB ARTAMIRA EXT             A 5 CALLE IGUALDAD                                                                FAJARDO             PR           00738‐3610
   179056 FRANK E RIVERA VELEZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   656544 FRANK E TROGOLO IRIZARRY                    PARQUE MONTERREY II          APT 313                                                                           PONCE               PR           00731
   179057 FRANK E. MORALES BARRETO                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   179058 FRANK ELECTRIC SERVICES INC                 1005 AVE HOSTOS                                                                                                PONCE               PR           00716 1101
          FRANK ENCARNACION DBA
   656546 CAFETERIA EL CHICO                          URB. IRLANDA HEIGHT          FK 57 CALLE RIGEL                                                                 BAYAMON             PR           00956
   179060 FRANK ESCOBAR ROGER                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          FRANK ESTEBAN MORALES
   656547 BARRETO                                     URB LAS AMERICAS             966 PUERTO PRINCIPE                                                               SAN JUAN            PR           00921
   656549 FRANK FEBO HERNANDEZ                        PARCELAS SAN ISIDRO 543      CALLE 21                                                                          CANOVANAS           PR           00729
          FRANK FERNANDEZ
   656506 MONTEAGUDO                                  PHB 195 PO BOX 7999                                                                                            MAYAGUEZ            PR           00681
          FRANK FERNANDO MARTINEZ
   179061 ORTIZ                                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   656550 FRANK FIGUEROA ALVAREZ                      BALBOA TOWN HOUSES           252 CALLE 435 APT 70                                                              CAROLINA            PR           00985
   656551 FRANK FIGUEROA CORTES                       URB JARDINES DE GUAMANI      13 CALLE 8 1                                                                      GUAYAMA             PR           00784
   179062 FRANK FIGUEROA ROCHE                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   179063 FRANK FIGUEROA RODRIGUEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          FRANK FOURNIER INSURANCE
   656552 BOKERS                                      PO BOX 1376                                                                                                    SAN JUAN            PR           00904
   656553 FRANK FRANCO BELTRAN                        URB MUNOZ RIVERA             9 CALLE ARPEGIO                                                                   GUAYNABO            PR           00969
   179064 FRANK FUENTES ORTIZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   656554 FRANK G RIVERA DE HOYOS                     PARC MAGUEYES                266 CALLE ZAFIRO                                                                  PONCE               PR           00728
   179065 FRANK G RUIZ RIVERA                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   179066 FRANK G SOLIVAN SERRANO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   656555 FRANK GANDIA MU¥IZ                          40 CAMINO DEL VALLE                                                                                            ARECIBO             PR           00612‐9678
   656556 FRANK GARCIA SOLER                          PPO BOX 589                                                                                                    ARECIBO             PR           00613
   656558 FRANK GONZALEZ                              HC 3 BOX 14616                                                                                                 UTUADO              PR           00641
   656559 FRANK GONZALEZ GONZALEZ                     BELLA VISTA                  F7 CALLE GARDENIA                                                                 AIBONITO            PR           00705
   656560 FRANK GONZALEZ VANGA                        PO BOX 190695                                                                                                  SAN JUAN            PR           00919
   656561 FRANK GOTAY BARQUET                         PO BOX 9022552                                                                                                 SAN JUAN            PR           00902‐2552
                                                      3071 AVE ALEJANDRINO SUITE
   656563 FRANK H BENITEZ CRUZ                        211                                                                                                            GUAYNABO            PR           00969‐7035
   656564 FRANK H BENITEZ RIVERA                      URB PARKVILLE                B 29 CALLE ADAMS                                                                  GUAYNABO            PR           00969
   656566 FRANK H NAZARIO FIGUEROA                    URB PUERTO NUEVO             411 AVE ANDALUCIA                                                                 SAN JUAN            PR           00920
   179068 FRANK H. BENITEZ CRUZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   656568 FRANK HERNANDEZ CAPELES                     URB FARRA                    H 5 CALLE 1                                                                       SAN LORENZO         PR           00754



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  179069 FRANK HERNANDEZ FLORES                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  656569 FRANK HERNANDEZ LLANOS                       RES LUIS LLORENS TORRES     EDIF 202 APT 1948                                                                       SAN JUAN            PR         00913
  179070 FRANK J LOPEZ MORALES                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   179072 FRANK J SANTIAGO VELAZQUEZ                  REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179073 FRANK J. ESPINAR JUSTINIANO                 REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656572 FRANK JIMENEZ GERENA                        URB ROSSY VALLEY            556 CALLE JULIAN RIVERA                                                                 CEIBA               PR         00735
   656575 FRANK JIRAU & ASSOCIATES                    PURPLE TREE                 505 PIRANDELLO                                                                          SAN JUAN            PR         00926‐4406
   656576 FRANK JOSEPH POMPEI                         20 AMES STREET E 15 401                                                                                             CAMBRIDGE           MA         02139
   179074 FRANK L CRESCIONI COLON                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179075 FRANK L MARIN                               REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179076 FRANK L RODRIGUEZ GARCIA                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179077 FRANK LA TORRE VARELA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656579 FRANK LEBRON MARTINEZ                       P O BOX 663                                                                                                         SALINAS             PR         00751

   656580 FRANK LOCK & KEY                            VILLA CAROLINA              99‐45 AVE ROBERTO CLEMENTE                                                              CAROLINA            PR         00984
   656581 FRANK LOPERENA                              HC 05 BOX 107910                                                                                                    MOCA                PR         00676
   179079 FRANK LOPEZ GONZALEZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179080 FRANK LOPEZ ORTIZ                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179081 FRANK LOPEZ PAGAN                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656582 FRANK LOPEZ RIOS                            URB TINTILLO GARDENS        528 CALLE TINTILLO                                                                      GUAYNABO            PR         00966 0000
   656583 FRANK LOZADA DIAZ                           PO BOX 825                                                                                                          BOQUERON            PR         00622
   179083 FRANK M ARROYO                              REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   179084 FRANK M BONNELLY SAGREDO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656585 FRANK M CROSE                               421 AMSTERDAM AVENUE                                                                                                ROSELLE PARK        NJ         07204

   179085 FRANK M FERNANDEZ ROSARIO                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656587 FRANK M RAMIREZ FAGUNDO                     532 COLLEGE GARDENS                                                                                                 MAYAGUEZ            PR         00682‐7445
                                                      209E CALLE RAMOS ANTONINI
   656588 FRANK M RAMIREZ RAMIREZ                     APT 1C                                                                                                              MAYAGUEZ            PR         00680
          FRANK MACHIN MIRANDES / SAN
   656589 LUIS BAKERY                 PO BOX 2077                                                                                                                         AIBONITO            PR         00705
   179087 FRANK MANCIONE              REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656590 FRANK MARCHANY MARQUEZ      PO BOX 223                                                                                                                          CABO ROJO           PR         00623
   179088 FRANK MARIN                 REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656591 FRANK MARTIN RODRIGUEZ      JARDINES DEL CARIBE                         F 4 CALLE ORQUIDEA                                                                      MAYAGUEZ            PR         00681
   656593 FRANK MARTINEZ ACEVEDO      PO BOX 9332                                                                                                                         BAYAMON             PR         00960‐9332
   656594 FRANK MARTINEZ ANDUJAR      HC 2 BOX 16091                                                                                                                      ARECIBO             PR         00612
   656595 FRANK MARTINEZ CARMONA      VILLA CAROLINA                              161‐24 CALLE 422                                                                        CAROLINA            PR         00985
   656598 FRANK MIRANDA RODRIGUEZ     BO BOTIJAS II                               RFI BOX 11574                                                                           OROCOVIS            PR         00720
   656599 FRANK MONSERRATE FLECHA     HC 1 BOX 6516                                                                                                                       LAS PIEDRAS         PR         00771
   179090 FRANK MONTES RAMOS          REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656602 FRANK MORALES CRUZ          P O BOX 364466                                                                                                                      SAN JUAN            PR         00936‐4466
   179091 FRANK MORALES LUGO          REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656603 FRANK MORALES MORALES       URB SAN GERARDO                             329 PASADENA                                                                            SAN JUAN            PR         00926
   179092 FRANK MORALES RODRIGUEZ     REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179093 FRANK MORALES VAZQUEZ       REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656604 FRANK MORO PICART           PO BOX 9065733                                                                                                                      SAN JUAN            PR         00906
   179095 FRANK MUNIZ ROSADO          REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179097 FRANK NAZARIO ORSINO        REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656605 FRANK NEGRON RODRIGUEZ      VILLA CASTRO                                EE 21 CALLE 25                                                                          CAGUAS              PR         00725
   656606 FRANK NIEVES ROLON          URB BERWIND ESTATES                         G2 CALLE 4                                                                              SAN JUAN            PR         00924



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  179098 FRANK O VELEZ CUBIAN                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  179099 FRANK OCHOA SALINAS                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         FRANK ONESIMO CAMACHO
  179100 SALDANA                                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  656607 FRANK ORLANDO                                1621 S E 10TH STREET                                                                                                  FORT LAUDERDALE     FL         33316
  179101 FRANK ORTIZ MERCADO                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  656610 FRANK P HUERTAS GONZALEZ                     2850 FAIRVIEW ST                                                                                                      BETHLEHEM           PA         18070
  179102 FRANK PABEY CARABALLO                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   179103 FRANK PADILLA CARRASQUILLO                  REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   656507 FRANK PALAZZO CAMPANELLA                    PO BOX 2843                                                                                                           BAYAMON             PR         00960
   179104 FRANK PEREZ CIRIACO                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656611 FRANK PEREZ CONCEPCION                      ISLAZUL                      J 1 CALLE C                                                                              ISABELA             PR         00662
   656612 FRANK PEREZ IRIZARRY                        P O BOX 6816                                                                                                          MAYAGUEZ            PR         00681‐6816
   656613 FRANK PEREZ JIMENEZ                         COND ALBORADA                1225 CARR 2 APTO 4231                                                                    BAYAMON             PR         00953
   179105 FRANK PEREZ LOPEZ                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179108 FRANK POLA RODRIGUEZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179109 FRANK QUINONES JIMENEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   656614 FRANK QUINTANA VELAZQUEZ                    URB MOCA GARDENS             561 CALLE PASCUA                                                                         MOCA                PR         00676
   179111 FRANK R ACEVEDO ACEVEDO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   656615 FRANK R ALVAREZ RODRIGUEZ                   URB SAN FELIPE               G 18 CALLE 1                                                                             ARECIBO             PR         00612

   179112 FRANK R ARMSTRONG ANSELMI                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656616 FRANK R BRAGA VALLDEJULLY                   URB EL ROSARIO               137 CALLE 6                                                                              YAUCO               PR         00698
   656617 FRANK R DELGADO BURGOS                      TOA ALTA HEIGTHS             K 32 CALLE 4                                                                             TOA ALTA            PR         00759
   656618 FRANK R FIGUEROA PEREZ                      URB VILLA CAPRI              5 CALLE SIRACUSA                                                                         SAN JUAN            PR         00924
   179113 FRANK R PABEY VELEZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656619 FRANK R RIVERA                              P O BOX 2390                                                                                                          SAN JUAN            PR         00919

   179115 FRANK R RODRIGUEZ CALDERON REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179116 FRANK R RODRIGUEZ RIVERA   REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179117 FRANK R SERRANO BONILLA    REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179118 FRANK R SMITH ROMERO       REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   656620 FRANK R SOTO CRUZ                           PASEO DE LOS ARTESANOS 169   CALLE ANA MARIA SOTO                                                                     LAS PIEDRAS         PR         00771

   179119 FRANK R VELAZQUEZ ACEVEDO                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179120 Frank R. Goyco Cruz                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656623 FRANK RAMIREZ ANGLADA                       P O BOX 363266                                                                                                        SAN JUAN            PR         00936
   656624 FRANK RAMIREZ COLON                         PO BOX 2706                                                                                                           MAYAGUEZ            PR         00681
   179121 FRANK RAMIREZ HENRIQUEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179122 FRANK RAMOS MARTINEZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656625 FRANK RAMOS SILVA                           URB EXT MANSIONES            C 4 CALLE 1                                                                              SAN GERMAN          PR         00683
   179123 FRANK RIOS ZAYAS                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179124 FRANK RIVERA ORTIZ                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   656626 FRANK RIVERA QUINTANA                       BO SABANA SECA               5320 CALLE LA GALLERA BZN 4                                                              TOA BAJA            PR         00952‐4405
   656627 FRANK RIVERA RODRIGUEZ                      RES PUERTA DE TIERRA         EDIF O APT 431                                                                           SAN JUAN            PR         00901
   656628 FRANK ROBLES LARSEN                         URB VALLE ARRIBA HGTS        AN12 CALLE NOGAL                                                                         CAROLINA            PR         00938




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          FRANK ROCHA /HNC MAYAGUEZ
   656629 BAKERY                    120 RAMOS ANTONINI ESTE                                                                                                          MAYAGUEZ             PR           00680

   656630 FRANK RODRIGUEZ CALDERON                    PO BOX 876                                                                                                     CANOVANAS            PR           00729
   179125 FRANK RODRÍGUEZ CORREA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   179126 FRANK RODRIGUEZ FELICIANO                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   656631 FRANK RODRIGUEZ GARCIA                      ALT DE RIO GRANDE           M 555 CALLE 12                                                                     RIO GRANDE           PR           00745
   179127 FRANK RODRIGUEZ LEON                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANK RODRIGUEZ
   656508 MALDONADO                                   VILLA FONTANA               6 VIA 44 4QS                                                                       CAROLINA             PR           00983

   179128 FRANK RODRIGUEZ MARCUCCI                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANK RODRIGUEZ MENENDEZ
   656632 /DIGI TEC SERV                              PO BOX 191193                                                                                                  SAN JUAN             PR           00919‐1193

   656509 FRANK RODRIGUEZ RODRIGUEZ                   COND PRUDENCIO R MARTINEZ   APT 311                                                                            SAN JUAN             PR           00924
   179129 FRANK RODRIGUEZ SANABRIA                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   656633 FRANK RODRIGUEZ SUAREZ                      BOX 1857                                                                                                       TRUJILLO ALTO        PR           00977
   656635 FRANK ROLDAN                                248 CENTRE AVE APT 4F                                                                                          NEW ROCHELLE         NY           10805
   656636 FRANK ROMAN MELENDEZ                        P O BOX 79                                                                                                     VEGA BAJA            PR           00693
   179130 FRANK ROMAN TORRES                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRANK RULLAN & ASSOCIATES
   656638 CO                                          PO BOX 11163                                                                                                   SAN JUAN             PR           00910
          FRANK RUSSELL GROUP OF
   656639 COMPANY                                     P O BOX 1616                                                                                                   TACOMA               WA           98401
   179131 FRANK S CENTRAL SERVICE                     B2 ALLE PARQUE DE LA LUNA                                                                                      BAIROA PARK CAGUAS   PR           00725
   656641 FRANK S LUIS                                PO BOX 362352                                                                                                  SAN JUAN             PR           00936‐2352
   656642 FRANK SANCHEZ RUIZ                          URB SIERRA RIO              M6 CALLE 4                                                                         SAN JUAN             PR           00926
   179132 FRANK SANFILIPPO AIXALA                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      591 C/ MAXIMO GOMEZ
   656643 FRANK SANFILIPPO RUGGIERI                   BALDRICH                                                                                                       SAN JUAN             PR           00918
   656644 FRANK SANTIAGO SOLIVAN                      VILLAS DEL CARMEN           C 20 CALLE 8                                                                       GURABO               PR           00778
   656646 FRANK SANTOS DIAZ                           RR 2 BOX 7715                                                                                                  CIDRA                PR           00739
   656647 FRANK SARRABEZOLLES                         P O BOX 986                                                                                                    VIEQUES              PR           00765
   179133 FRANK SENERIZ VEGA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   179134 FRANK SEPULVEDA MARRERO                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   656649 FRANK SOTO RIVERA                           P O BOX 514                                                                                                    SAN SEBASTIAN        PR           00685
   179137 FRANK SUAREZ PEREZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   179138 FRANK SUGDEN CASTILLO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   179139 FRANK TORRES ORTIZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   656651 FRANK TORRES RIVERA                         BO MAMEYAL                  BZN 147 A                                                                          DORADO               PR           00646
   179140 FRANK TOTTI VIZCARRONDO                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   656654 FRANK VALENTIN GONZALEZ                     P O BOX 621                                                                                                    JUNCOS               PR           00777
   656655 FRANK VALENTIN SILVA                        PO BOX 621                                                                                                     JUNCOS               PR           00777
   656656 FRANK VAZ MERCADO                           HC 1 BOX 7411                                                                                                  JUNCOS               PR           00777
   179141 FRANK VAZQUEZ SANCHEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   656657 FRANK VIDAL RODRIGUEZ                       232 AVE ELEONOR ROOSEVELT                                                                                      SAN JUAN             PR           00907

   656659 FRANK VILLANUEVA MARTINEZ                   URB JARD DE COUNTRY CLUB    C E 22 CALLE 139                                                                   CAROLINA             PR           00983
          FRANK W RUIZ ROSARIO &
   656660 MARIA RIVERA                                URB BELLA VISTA             T173 CALLE 22                                                                      BAYAMON              PR           00957



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  179143 FRANK X FERRER GONZALEZ                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  656661 FRANK ZORRILLA                               P O BOX 191783                                                                                                SAN JUAN            PR         00919‐1783

   656662 FRANK ZORRILLA MALDONADO                    PO BOX 191783                                                                                                 SAN JUAN            PR         00919‐1783
          FRANKFORD HOSPITAL CANCER
   179146 CTR                                         3998 RED LION RD SU 130                                                                                       PHILA               PA         19114
   179147 FRANKI CABAN BADILLO                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179148 FRANKI MARTINEZ COLON                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656663 FRANKI TORREGROSA                           PO BOX 364124                                                                                                 SAN JUAN            PR         00936
   656666 FRANKIE A GALARZA DAVILA                    PO BOX 750                                                                                                    JUANA DIAZ          PR         00795
   656667 FRANKIE A LOPEZ BONANO                      ALTURAS DEL PARQUE        501 CALLE DULCE                                                                     CAROLINA            PR         00986
   179149 FRANKIE A RODRIGUEZ RIVAS                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656668 FRANKIE AIR CONDITIONER                     EST SAN MIGUEL            885 CALLE L BUZON 29                                                                GUAYAMA             PR         00784
   656669 FRANKIE ALMODOVAR PAGAN                     BO PALOMAS                4 CALLE 8                                                                           YAUCO               PR         00698

   179150 FRANKIE AMADOR RODRIGUEZ                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656673 FRANKIE AUTO REPAIR                         P O BOX 1895                                                                                                  CAYEY               PR         00634
   179151 FRANKIE BAERGA CASTRO                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656674 FRANKIE BORRERO LUCERO                      HC 1 BOX 4860                                                                                                 JUANA DIAZ          PR         00795
   179152 FRANKIE CARVAJAL TUFINO                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656675 FRANKIE CASTRO GONZALEZ                     407 SECTOR VILLA OLGA                                                                                         TOA BAJA            PR         00949
   656676 FRANKIE CLEMENTE CASTRO                     BO OBRERO STATION         PO BOX 7853                                                                         SAN JUAN            PR         00916
   656677 FRANKIE COLLAZO REYES                       BARRIO CERCADILLO         BUZON 1047‐3                                                                        ARECIBO             PR         00612
   656664 FRANKIE CORDERO CRUZ                        HC 1 BOX 6759                                                                                                 TOA BAJA            PR         00949
   656678 FRANKIE D ROLDAN SOTO                       38 CIUDAD DEL LAGO                                                                                            TRUJILLO ALTO       PR         00976‐5449
   179153 FRANKIE DIAZ CASTRELLO                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179154 FRANKIE DIAZ OTERO                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179155 FRANKIE E BAERGA MERCADO                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179156 FRANKIE G PINEIRO RIVERA                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179158 FRANKIE GUADALUPE TORO                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656680 FRANKIE GUERRA MORALES                      RIO GRANDE ESTATES        R 45 AVE B                                                                          RIO GRANDE          PR         00745
          FRANKIE HERNANDEZ
   656681 RODRIGUEZ                                   ALTURAS INTERAMERICANAS   M 17 CALLE 9                                                                        TRUJILLO ALTO       PR         00976
   656682 FRANKIE J BLAS GONZALEZ                     BOX 7428                                                                                                      SAN JUAN            PR         00918
   179159 FRANKIE J CASTRO ROJAS                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656684 FRANKIE JIMENEZ FIGUEROA                    HC 03 BOX 6102                                                                                                HUMACAO             PR         00791
   656685 FRANKIE JIMENEZ SANTONI                     529 CABO H ALVERIO EXT    AVE ROOSVELT                                                                        SAN JUAN            PR         00918
          FRANKIE JOVE MATOS Y SONIA
   179160 ACEVEDO                                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   656686 FRANKIE L. ROSADO MORALES                   HC‐02 BOX 7195                                                                                                BARRANQUITAS        PR         00794
   656687 FRANKIE LOPEZ MELENDEZ                      URB FAIR VIEW             C 17 CALLE 9                                                                        SAN JUAN            PR         00926

   179161 FRANKIE MONTALVO AMONES                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179162 FRANKIE MORALES BERRIOS                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656689 FRANKIE MORALES ROMAN                       HC 1 BOX 6451                                                                                                 BARCELONETA         PR         00674
   656690 FRANKIE NAVARRO RUIZ                        URB CIUDAD MASSO          B 21 CALLE 2                                                                        SAN LORENZO         PR         00754
   656693 FRANKIE ORTEGA GONZALEZ                     P O BOX 1426                                                                                                  SANTA ISABEL        PR         00757‐1426
   656694 FRANKIE ORTIZ CRUZ                          HC 1 BOX 16431                                                                                                COAMO               PR         00769
   179163 FRANKIE ORTIZ MALDONADO                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179164 FRANKIE OZORES SANTIAGO                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   179165 FRANKIE PAGAN RODRIGUEZ                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   656665 FRANkIE PE¥A RAMIREZ                        URB LOS MONTES            416 CALLE MARTINETE                                                                 DORADO              PR         00646



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  179166 FRANKIE PEREZ CRUZ                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  656696 FRANKIE PEREZ MEDINA                         HC 01 BOX 4538                                                                                                  UTUADO             PR         00641
  656697 FRANKIE RAMOS COLON                          LA VEGA                      138 CALLE B                                                                        VILLALBA           PR         00766‐1705
  179168 FRANKIE RAMOS MONTANEZ                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  656698 FRANKIE RAMOS RAMOS                          LA PONDEROSA                 186 CALLE 5                                                                        VEGA ALTA          PR         00696
  656699 FRANKIE RIVERA                               5223 SUNRISE BLVD                                                                                               DELRAY BEACH       FL         33484
  656700 FRANKIE RIVERA MILLAN                        PO BOX 7126                                                                                                     PONCE              PR         00732
  179171 FRANKIE RIVERA ROMAN                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  656702 FRANKIE RODRIGUEZ COLON                      BOX 63                                                                                                          ANGELES            PR         00611

   656704 FRANKIE RODRIGUEZ SANTIAGO                  BOX 1186                                                                                                        TOA ALTA           PR         00954
   656705 FRANKIE RODRIGUEZ TOLEDO                    HC 2 BOX 16711                                                                                                  ARECIBO            PR         00612
   656706 FRANKIE ROMERO NIEVES                       URB STA MARTHA               106 CALLE CEDRO                                                                    AGUADILLA          PR         00603
   179172 FRANKIE SANTIAGO PACHECO                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   179173 FRANKIE SANTIAGO SANTIAGO                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   179174 FRANKIE SANTO RIVERA                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          FRANKIE Y RODRIGUEZ
   179176 ALVARADO                                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   179177 FRANKIE ZAYAS CORDERO                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   179178 FRANKIN PEREZ GONZALEZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   179179 FRANKLIN A HERRERA MELO                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   179180 FRANKLIN A MATHIAS                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   656711 FRANKLIN A OLMO IRIZARRY                    URB SULTANA                  89 CALLE GIRALDA                                                                   MAYAGUEZ           PR         00680
   656712 FRANKLIN A RIVERA LINARES                   PO BOX 548                                                                                                      ADJUNTAS           PR         00601
          FRANKLIN A ROCAFORT
   179181 MALDONADO                                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          FRANKLIN A ROCAFORT
   179182 MALDONADO DBA                               ROCAFORD GROUP               PO BOX 366281                                                                      SAN JUAN           PR         00936
   179183 FRANKLIN A VALOY NUNEZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   179184 FRANKLIN ALEQUIN VEGA                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   656713 FRANKLIN B RIVAS MARTINEZ                   URB VILLA DEL CARMEN         1136 CALLE SACRA                                                                   PONCE              PR         00916 2133
   179185 FRANKLIN BROWN MD, PAUL                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   656716 FRANKLIN CABAN MENDEZ                       HC 02 BOX 20242                                                                                                 AGUADILLA          PR         00603
   656718 FRANKLIN CASUL SANCHEZ                      BO QUEBRADAS                 HC 02 BOX 7632                                                                     CAMUY              PR         00627

   656719 FRANKLIN CORDERO RODRIGUEZ HC 0645 BOX 6320 G                                                                                                               TRUJILLO ALTO      PR         00976
          FRANKLIN COUNTY MENTAL
   179187 HEALTH                     107 INDUSTRIAL DR STE B                                                                                                          LOUISBURG          NC         27549

   656720 FRANKLIN COVEY C L C P R INC                165 AVE PONCE DE LEON        SUITE 102                                                                          SAN JUAN           PR         00917‐1233
          FRANKLIN COVEY PUERTO RICO
   771058 INC                                         MONTE CLARO                  PLAZA 30 MN‐34                                                                     BAYAMON            PR         00961
   179190 FRANKLIN CRESPO RUIZ                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   656722 FRANKLIN D ROOSEVELT                        182 CALLE PROLONGACION VADI                                                                                     MAYAGUEZ           PR         00680
   656723 FRANKLIN DIAZ FONSECA                       URB VILLA ROSA              B 24 CALLE 3                                                                        GUAYAMA            PR         00784
   179192 FRANKLIN DIAZ GARCIA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          FRANKLIN DIAZ GARCIA Y
   656724 DAMARY L GOMEZ                              BERWIND ESTATE               E 24 CALLE 15A                                                                     SAN JUAN           PR         00924
   179193 FRANKLIN DOMENECH BLAS                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   179194 FRANKLIN F ROSADO VAZQUEZ                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  656725 FRANKLIN FELICIANO                           SOLAR 64 C MANTILLA                                                                                                ISABELA             PR           00662
  656726 FRANKLIN FONTAN MORALES                      EL CORTIJO                 K 13 CALLE 13                                                                           BAYAMON             PR           00956
         FRANKLIN FORTUNET
  656727 CARABALLO                                    RIO CRISTAL                APT 10 CALLE USTER                                                                      MAYAGUEZ            PR           00680
  656728 FRANKLIN FRIAS LINO                          URB VISTAMAR 425           CALLE PORTUGAL                                                                          CAROLINA            PR           00983
  656729 FRANKLIN FUSTER                              ALTURAS DE TORRIMAR        BLOQUE 6 CALLE 2                                                                        GUAYNABO            PR           00969
  179195 FRANKLIN FUSTER VENEGAS                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  179196 FRANKLIN GARCIA VALENTIN                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  179197 FRANKLIN GOMEZ                               REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  656730 FRANKLIN GONZALEZ ACOSTA                     SAN GERARDO                327 CALLE OKLAHOMA                                                                      SAN JUAN            PR           00926

   656731 FRANKLIN GONZALEZ TAVAREZ                   URB ORIENTE                283 CALLE HIRAM BITHORN                                                                 LAS PIEDRAS         PR           00771

   656732 FRANKLIN GUERRERA SALCEDO                   HC 03 BOX 18408                                                                                                    QUEBRADILLAS        PR           00678
   656733 FRANKLIN GUZMAN ALMONTE                     PO BOX361184                                                                                                       SAN JUAN            PR           00936
          FRANKLIN H BEARDSLEY
   179198 RODRIGUEZ                                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          FRANKLIN H BEARDSLEY
   656734 SOTOMAYOR                                   SAN SOUCIE                 Q 15 CALLE 1                                                                            BAYAMON             PR           00957
                                                      URB JARDINES DE COUNTRY
   656735 FRANKLIN HERRERA GUANTE                     CLUB                       CL 4 CALLE 147                                                                          CAROLINA            PR           00983
                                                                                 EDIF 33 CALLE JULIO ANDINO
   656736 FRANKLIN HILARIO                            RES EL PRADO               APT 159                                                                                 SAN JUAN            PR           00924
   656737 FRANKLIN I AVILES SANTA                     URB FAIRVIEW               723 CALLE MARTIN GUILUZ                                                                 SAN JUAN            PR           00926
   656709 FRANKLIN J AVILES SANTA                     URB FAIR VIEW              723 CALLE MARTIN GUILUZ                                                                 SAN JUAN            PR           00926
   179199 FRANKLIN J RIVERA VEGA                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   179200 FRANKLIN J ROMAN MARTINEZ                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   656710 FRANKLIN KEITH BROWN                        PO BOX 34536                                                                                                       FORT BUCHANAN       PR           00934
   179201 FRANKLIN LANTIGUA FERMIN                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   179202 FRANKLIN LANZO PIZARRO                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   179203 FRANKLIN LUGO MENDEZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   656740 FRANKLIN MARTINEZ                           HC 08 BUZON 1471                                                                                                   PONCE               PR           00731‐9712
   656741 FRANKLIN MARTINEZ MONGE                     URB LA MERCED              522 CALLE H ALVERIO                                                                     SAN JUAN            PR           00918
          FRANKLIN MARTINEZ
   656742 RODRIGUEZ                                   PO BOX 51807                                                                                                       TOA BAJA            PR           0095051807
   656743 FRANKLIN MENDEZ SILVA                       HC 10 BOX 7991                                                                                                     SABANA GRANDE       PR           00637

   179204 FRANKLIN PACHECO PIERANTONI REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   179205 FRANKLIN PADILLA ORTIZ      REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   179206 FRANKLIN PAZ PERALTA        REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   179207 FRANKLIN R CASADO CRUZ      REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          FRANKLIN RIVERA
   179208 CARRASQUILLO                REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   179210 FRANKLIN RIVERA CONCEPCION                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   656744 FRANKLIN RIVERA GARCIA                      PO BOX 1766                                                                                                        GUAYAMA             PR           00785‐1766
   179211 FRANKLIN RIVERA MARTINEZ                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   656745 FRANKLIN RIVERA MORENO                      PO BOX 364                                                                                                         MAYAGUEZ            PR           00681
   179212 FRANKLIN RIVERA RIVERA                      CALLE 10 #508 BO. OBRERO                                                                                           SANTURCE            PR           00915
   656746 FRANKLIN RIVERA SANTIAGO                    HC 5 BOX 56380                                                                                                     CAGUAS              PR           00725

   656747 FRANKLIN RODRIGUEZ GRAULAU VILLA DEL CARMEN                            490 CALLE SOLIMAR                                                                       PONCE               PR           00716



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          FRANKLIN RODRIGUEZ
   179213 MANGUAL                                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656748 FRANKLIN RODRIGUEZ MASSO                    P O BOX 1396                                                                                                      CIDRA               PR           00739 1396
   179215 FRANKLIN SANZ ACOSTA                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   656749 FRANKLIN SENCION                            COND TORRES PARQUE SUR    FEDERICO MONTILLO APT 1201                                                              BAJADERO            PR           00959
   179216 FRANKLIN SIFRE GONZALEZ                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179217 FRANKLIN SIFRE IRIZARRY                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179218 FRANKLIN SILVERIO PIMENTEL                  REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179219 FRANKLIN TEJADA                             REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656753 FRANKLIN TORRES LOPEZ                       P O BOX 18                                                                                                        ANGELES             PR           00611
   656751 FRANKLIN TORRES LUGO                        URB EL PARAISO            607 AVE LOS MORA                                                                        ARECIBO             PR           00612‐9692
   179220 FRANKLIN TROCHE DUCOT                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179221 FRANKLIN VALDEZ                             REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656754 FRANKLIN VELILLA                            3142 AVE JUAN HERNANDEZ                                                                                           ISABELA             PR           00662
   179222 Franklin Vidal Soto                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656755 FRANKLYN ALICEA PEREZ                       PO BOX 1556                                                                                                       CAROLINA            PR           00984
   179223 FRANKLYN AYALA TIRADO                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   656756 FRANKLYN DE LA ROSA DE JESUS                URB SAN ALFONSO           G 13 CALLE 6                                                                            CAGUAS              PR           00725
          FRANKLYN FIGUEROA
   656757 BENCOSME                                    URB SANTA ROSA            30 26 CALLE 20                                                                          BAYAMON             PR           00959
   179224 FRANKLYN FUENTES FUENTES                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179225 FRANKLYN GERENA NEGRON                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179226 FRANKLYN GONZALEZ LUGO                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   179227 FRANKLYN I IRIZARRY CUADRADO REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656758 FRANKLYN LOPEZ CRUZ          FAIRVIEW                                 C 17 CALLE 9                                                                            SAN JUAN            PR           00926
   179228 FRANKLYN LUGO VALENTIN       REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179229 FRANKLYN MARTINEZ GARCIA     REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179230 FRANKLYN MATOS CAMARGO       REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656759 FRANKLYN ORTIZ CORREA        RES BRISAS DEL MAR                       APT 90 EDIF 10                                                                          SALINAS             PR           00751
   656761 FRANKLYN PAGAN OLIVENCIA     URB VILLA GRILLOSA                       919 CALLE BIAGGI                                                                        PONCE               PR           00717‐0566
   179232 FRANKLYN RIVERA JIMENEZ      REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179233 FRANKLYN RIVERA TORRES       REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                       450 AVE PONCE DE LEON
   656762 FRANKLYN ROMERO              APT160                                                                                                                           SAN JUAN            PR           00901
   656763 FRANKLYN SAMPOLL CORREA      1 24 BDA SALAZAR                                                                                                                 PONCE               PR           00731

   656764 FRANKLYN SEPULVEDA VALENTIN HC 1 BOX 1361                                                                                                                     ADJUNTAS            PR           00601‐9702
   656765 FRANKLYN SIERRA             CAGUAS NORTE                              AK 5 CALLE 10                                                                           CAGUAS              PR           00725
   179235 FRANKLYN SOTO VEGA          REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   179236 FRANKLYN VALDIVIESO LUCIANO REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179239 FRANKS CERAMICS SHOP        URB SABANA GDNS                           4‐2 CALLE 8 AVE CAMPO RICO                                                              CAROLINA            PR           00983
   179241 FRANK'S CONSTRUCCION INC.   PO BOX 1622                                                                                                                       UTUADO              PR           00641‐1622
   656767 FRANKS CONSTRUCTION         P O BOX 1622                                                                                                                      UTUADO              PR           00641
   656768 FRANK'S CONSTRUCTION INC    P O BOX 1622                                                                                                                      UTUADO              PR           00641
   179242 FRANKS MD , ERIC H          REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRANKWENSLEE RODRIGUEZ
   656769 CARRASQUILLO                BALCONES DE MONTREAL                      APT 6902                                                                                CAROLINA            PR           00987
   656770 FRANKY CARABALLO RIVERA     G I 23 EXT COSTA SUR                                                                                                              YAUCO               PR           00698
   179243 FRANKY IRIZARRY LLERAS      REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  656771 FRANKY MARTINEZ DIAZ                         BO SABANA                     13 CALLE DESEMBARCADERO                                                                GUAYNABO          PR         00963
  656772 FRANKY MEDINA ARCE                           AVE NOEL ESTRADA              BNZ 352 A                                                                              ISABELA           PR         00662
  179245 FRANKY ORTIZ PEREZ                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  179246 FRANKY RAMOS NEGRON                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  656774 FRANKY X ARROYO RUBIO                        URB LOS CEDROS                7 CALLE JACARANDA                                                                      CAYEY             PR         00736‐5579
  179248 FRANLIZ GARCIA MARTINEZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  656775 FRANOEL                                      11 AVE BARBOSA                                                                                                       CATANO            PR         00962
  656776 FRANQUI AND ASSOCIATES                       DORADO DEL MAR                R 17 MARINA ST                                                                         DORADO            PR         00646

   179275 FRANQUI FLORES MD, PORFIRIO REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   179299 FRANQUI MOLINA, ROSA J      REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   179307 FRANQUI PAGAN MD, WILSON    REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                                                PONCE BY PASS EDIF. 3K CELDA
  1422887 FRANQUI PÉREZ, CARLOS A.                    DERECHO PROPIO                INST. ADULTOS 1000 3793     220                                                        PONCE             PR         00732
  1419791 FRANQUI, IVELISSE                           JOSÉ C. MARTÍNEZ TOLEDO       PO BOX 362132                                                                          SAN JUAN          PR         00936‐2132
          FRANQUIZ MATOS MD,
   179351 ALEXANDER                                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   179352 FRANQUIZ MATOS MD, JOSE M                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   179359 FRANSHELY RAMOS SANTOS                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   179360 FRANSHESCA COLON DAVILA                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          FRANSHESCA M GONZALEZ
   179361 RODRIGUEZ                                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          FRANSHESKA ALEJANDRO
   179362 MARTINEZ                                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          FRANSHESKA ROSADO
   179363 TOLENTINO                                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   656777 FRANSHESKA TIRADO MADERA                    APT 2652                                                                                                             SAN GERMAN        PR         00683
          FRANSISCO MARCANO
   656778 BETANCOURT                                  URB OCEAN PARK                2069 CALLE CACIQUE                                                                     SAN JUAN          PR         00911
   179364 FRANSKELIZ SIERRA                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   656779 FRANTZ ART GLASS & SUPPLIES                 130 WEST CORPORATE ROAD                                                                                              SHELTON           WA         98584
   656780 FRANTZ CASSAGNOL                            URB SANTA PAULA               C 9 CALLE 2                                                                            GUAYNABO          PR         00969

   656781 FRANTZ CYRILLE                              URB SANTIAGO IGLESIAS         1350 CALLE ANTONIO ARROYO                                                              SAN JUAN          PR         00921
   656782 FRANVAL INC                                 PO BOX 360866                                                                                                        SAN JUAN          PR         00936‐0866
   179365 FRANVAL, INC.                               PO BOX 360866                                                                                                        SAN JUAN          PR         00936
          FRANZET HERNANDEZ /
   179368 ULBALDO DUANY                               REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   656783 FRANZISKA M MELENDEZ                        URB VALLE DE TIERRAS NUEVAS   3 CALLE CAOBO                                                                          MANATI            PR         00674
          FRAT ALTA BETA CHI                          132 CALLE UNIVERSIDAD
   656784 CONSEJOSUP                                  CATOLICA                                                                                                             AGUADILLA         PR         00603
   179377 FRAT OFIC CUSTODIA                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          FRATERNIDAD ALPHA SIGMA
   656785 GAMMA                                       PO BOX 50                                                                                                            CAGUAS            PR         00725
          FRATERNIDAD BONAFIDE
   656786 OFICIALES CUSTODIA                          URB EL PARAISO                114 CALLE AMAZONAS                                                                     SAN JUAN          PR         00919

   656787 FRATERNIDAD ETA DELTA ALPHA PO BOX 244                                                                                                                           AIBONITO          PR         00705
   656788 FRATERNIDAD FRANCISCANA     SABANA SECA                                   PO BOX 173                                                                             TOA BAJA          PR         00952



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          FRATERNIDAD GAMMA PHI RHO
   179379 INC                       PO BOX 265                                                                                                                   GUANICA             PR           00653
          FRATERNIDAD LAMBDA ALPHA
   656789 TAU INC                   HC 06 BOX 174135                                                                                                             SAN SEBASTIAN       PR           00685
          FRATERNIDAD MISIONERA
   656790 JUVENIL INC               PO BOX 336                                                                                                                   CAGUAS              PR           00726‐0336

   656791 FRATERNIDAD NU ZETA CHI INC                 P O BOX 560339                                                                                             GUAYANILLA          PR           00656

   179380 FRATERNIDAD OMICRON PHI CHI REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRATERNIDAD SOCIO CULTURAL
   656792 BARCELONETA                 PO BOX 92                                                                                                                  BARCELONETA         PR           00617‐0092

   179416 FRATICELLI NIEVES MD, ANGEL L REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179446 FRATICELLI TRUCKING CO INC    529 FIRM DELIVERY                                                                                                        PENUELAS            PR           00624

   179457 FRATICHELLI SANTIAGO, NINETTE REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   179459 FRAU & ASOCIADOS              PO BOX 331150                                                                                                            PONCE               PR       00733‐1150
   656793 FRAU & ASSOCIATES             PO BOX 1888                                                                                                              BAYAMON             PR       00960
   656794 FRAU CATASUS LAW OFFICES      LA RAMBLA PLAZA SUITE 125              606 AVE TITO CASTRO                                                               PONCE               PR       00716‐0205
   179472 FRAWING J JUSINO PEREZ        REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   179473 FRAY L PELLOT CRUZ            REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   179474 FRAY L RAMIREZ VELAZQUEZ      REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED

   179475 FRAY LOUIS MARTINEZ HODGES                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FRAY LUIS CAMACHO
   179476 RODRIGUEZ                                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656795 FRAYA SE                                    PO BOX 366742                                                                                              SAN JUAN            PR           00936
   179480 FRED A VILLAFANE SANTIAGO                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656796 FRED AQUINO MORALES                         PO BOX 800‐625                                                                                             COTTO LAUREL        PR           00780‐0625
   656797 FRED B ROTHMAN & CO                         10368 W CENTENNIAL RD                                                                                      LITTLETON           CO           80127
   656798 FRED C GRANJA FALCON                        URB VILLA NEVAREZ        1035 CALLE 15                                                                     SAN JUAN            PR           00923
   656799 FRED G ALBERTY AVILES                       159 EDIF FORT BUCHANAN                                                                                     SAN JUAN            PR           00934
   656800 FRED G REICHARD CORREA                      614 CALLE OLIMPO                                                                                           SANTURCE            PR           00910
  1419792 FRED GARCIA, ANGEL L.                       GENOVEVA VALENTÍN SOTO   PO BOX 13695                                                                      SAN JUAN            PR           00908‐3695
   179505 FRED HERNANDEZ SANTIAGO                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656801 FRED HUTCHINSON CENTER                      PO BOX 34440                                                                                               SEATTLE             WA           98124‐1440
   179510 FRED MENDEZ ABRAHAM                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179519 FRED PRYOR SEMINARS                         REMITTANCE PAYMENT       PO BOX 410498                                                                     KANSAS CITY         MO           64141‐0498
   179534 FRED ROSARIO RIOS                           REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   179540 FRED SANTANA MD, ROBERTO                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   656804 FRED V SOLTERO HARRINGTON                   URB ENSANCHE RAMIREZ     295 CALLE MIRAMAR                                                                 MAYAGUEZ            PR           00680
   179545 FREDALEX MOTOCYCLE                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   179546 FREDALYS ROSARIO CONTRERAS REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179547 FREDASI ROSARIO REYES      REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   179549 FREDDIE A CAJIGAS CHAPARRO                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179550 FREDDIE A DIAZ MORAN                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656805 FREDDIE A FALU                              PO BOX 240                                                                                                 SANTA ISABEL        PR           00757
   656806 FREDDIE A NIEVES FALERO                     ALT DE RIO GRANDE        J 170 CALLE 14                                                                    RIO GRANDE          PR           00745



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  656807 FREDDIE A SANCHEZ                             PO BOX 363562                                                                                                 SAN JUAN            PR           00936‐3562
  656811 FREDDIE ABREU GARCIA                          URB COUNTRY CLUB           MD 12 CALLE 402                                                                    CAROLINA            PR           00982
         FREDDIE AGRAIT FELICIANO
  179552 H/N/C AGRAIT                                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   656812 FREDDIE ALVARADO SANTIAGO                    EXT ALTS DE PE¥UELAS       102 CALLE ESMERALDA                                                                PE¥UELAS            PR       00624
   656814 FREDDIE ALVAREZ PADILLA                      VILLA AIDA                 F12 CALLE 6                                                                        CABO ROJO           PR       00623
   179553 FREDDIE ANDINO VILLEGAS                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   179554 FREDDIE APONTE CRUZ                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   179555 FREDDIE APONTE LOZADA                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   656817 FREDDIE ARROYO DEL VALLE                     604 URB SAN JOSE EXT 111                                                                                      SABANA GRANDE       PR       00637
   656818 FREDDIE ARROYO VIOLANO                       HC 01 BOX 5565                                                                                                BARRANQUITAS        PR       00749
   179556 FREDDIE AYALA DIAZ                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   179557 FREDDIE AYUSO ROSA                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   179558 FREDDIE BARRETO REYES                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   656819 FREDDIE CANALES                              PO BOX 362726                                                                                                 SAN JUAN            PR       00936‐2726
   179560 FREDDIE CINTRON PAGAN                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   179561 FREDDIE COLON MORENO                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   656822 FREDDIE COLON PAUNETO                        VILLAS DE CIUDAD JARDIN    APT 201 E                                                                          BAYAMON             PR       00957
   656823 FREDDIE COSME GUZMAN                         HC 1 BOX 7641                                                                                                 AGUAS BUENAS        PR       00703
   771059 FREDDIE CRUZ VELEZ                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   656824 FREDDIE DE JESUS LEON                        LEVITTOWN                  2303 PASEO ALEGRE                                                                  TOA BAJA            PR       00949
   179564 FREDDIE E MERCADO LOPEZ                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   179565 FREDDIE E TORRES DIAZ                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED

   179566 FREDDIE E VELAZQUE FELICIANO                 REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   179567 FREDDIE FALCON REYES                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          FREDDIE FERNANDEZ
   179568 RODRIGUEZ                                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   656826 FREDDIE FIGUEROA APONTE                      URB REPARTO VALENCIA       AH 42 CALLE 11                                                                     BAYAMON             PR           00959
          FREDDIE FIGUEROA
   656827 MALDONADO                                    HC 1 BOX 6688                                                                                                 GUAYANILLA          PR           00656

   179569 FREDDIE FIGUEROA MELENDEZ                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   179570 FREDDIE G ORTIZ LLINAS                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   179571 FREDDIE GALARZA MARTINEZ                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   656829 FREDDIE GONZALEZ RODRIGUEZ VALLES DE MANATI                             C 6 C/ 41                                                                          MANATI              PR           00674

   179573 FREDDIE GUADALUPE DELGADO                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   179574 FREDDIE H CORREA CUBANO                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   179575 FREDDIE H ROMAN AVILES                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   179576 FREDDIE H. ROMAN                             REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          FREDDIE HERNANDEZ
   179577 RODRIGUEZ                                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   179579 FREDDIE I ACEVEDO COLL                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   656830 FREDDIE IRIZARRY SANTOS                      EXT LA RAMBLA              3127 EMILIO FAGOT                                                                  PONCE               PR           00730‐4000

   179580 FREDDIE JOVAN MEDINA CRUZ                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   656832 FREDDIE LEON MALDONADO                       URB BARINAS                F 38 CALLE 4                                                                       YAUCO               PR           00698
   179581 FREDDIE LORENZO DE JESUS                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   179582 FREDDIE LUGO GINES                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED




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          FREDDIE M CASTILLO
   179583 HERNANDEZ                                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   179584 FREDDIE MARCANO GONZALEZ                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656835 FREDDIE MARRERO VAZQUEZ                     944 CALLE VERDEJO         TRASTALLERES                                                                      SAN JUAN            PR           00907
   656836 FREDDIE MARTINEZ DE JESUS                   HC 01 BUZON 3860                                                                                            SANTA ISABEL        PR           00757
   656837 FREDDIE MATOS LOPEZ                         URB SANTA ELENITA         A2‐18 CALLE A                                                                     BAYAMON             PR           00957
   656838 FREDDIE MATOS TORRES                        HC 1 BOX 6835                                                                                               CABO ROJO           PR           00623‐9705

   656839 FREDDIE MERCADO VELAZQUEZ PO BOX 578                                                                                                                    LAS PIEDRAS         PR           00771

   656841 FREDDIE MIRANDA MELENDEZ                    HC O5 BOX 9702                                                                                              COROZAL             PR           00783
   656842 FREDDIE MOJICA ROSARIO                      HC 645 BOX 80154                                                                                            TRUJILLO ALTO       PR           00976
          FREDDIE MONTANEZ LOPEZ /
   179588 MAYDA CASTRO                                REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179589 FREDDIE MORALES TORRES                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179590 FREDDIE MUNIZ RAMIREZ                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179591 FREDDIE NEGRON SANCHEZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   179592 FREDDIE OSCAR TORRES GOMEZ                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656843 FREDDIE PEREZ GONZALEZ                      PO BOX 193729                                                                                               SAN JUAN            PR           00919‐3729
   656844 FREDDIE PEREZ SERRANO                       HC 02 BOX 28058                                                                                             CAGUAS              PR           00725‐9401
   656846 FREDDIE RAMOS DUMAS                         PMB 402                   PO BOX 6017                                                                       CAROLINA            PR           00984‐6017
   179593 FREDDIE RODRIGUEZ                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   656848 FREDDIE RODRIGUEZ MAISONET HC 61 BOX 5418                                                                                                               TRUJILLO ALTO       PR           00976
   179594 FREDDIE RODRIGUEZ PAGAN    REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                B 26 CALLE MALDONADO
   656849 FREDDIE RODRIGUEZ RAMIREZ                   URB ATENAS                MORALES                                                                           MANATI              PR           00674
   179595 FREDDIE RODRIGUEZ RIVERA                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656850 FREDDIE ROJAS VEGA                          HC 02 BOX 6167                                                                                              FLORIDA             PR           00650
   179596 FREDDIE RUIZ RODRIGUEZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656851 FREDDIE SANCHEZ SANTINI                     URB REPTO METROPOLITANO   1221 CALLE 44 SE                                                                  SAN JUAN            PR           00921
          FREDDIE SANTIAGO ROSADO /
   656852 ROSA ORTIZ                                  URB HACIENDAS EL ZORZAL   C 18 CALLE 13                                                                     BAYAMON             PR           00956

   179597 FREDDIE SEPULVEDA SANTIAGO                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656853 FREDDIE SOTO                                URB SAN THOMAS            G21 CALLE PRINCIPAL                                                               PONCE               PR           00731
   656854 FREDDIE STORER DIAZ                         VILLA ANDALUCIA           O 33 CALLE UTRERA                                                                 SAN JUAN            PR           00926
   656855 FREDDIE VAZQUEZ                             URB SABANA GRANDE 409     CALLE JEREZ EMBALSE                                                               SAN JUAN            PR           00923
   656856 FREDDIE W NIEVES REYES                      BOX 256                                                                                                     NARANJITO           PR           00719
   179598 FREDDIE W VELEZ SANTIAGO                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656857 FREDDIE'S AUTO SERVICE                      433 CALLE POST SUR                                                                                          MAYAGUEZ            PR           00680‐1712
   656859 FREDDY A BERMUDEZ RIVERA                    PARC SUSUA                F11 CALLE MARGINAL                                                                SABANA GRANDE       PR           00637
          FREDDY A HERNANDEZ
   179599 MARTINEZ                                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179600 FREDDY A RAYMOND CORREA                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179601 FREDDY A RODRIGUEZ ORTIZ                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656860 FREDDY A SANTANA                            PO BOX 889                                                                                                  GURABO              PR           00778‐0889
   656861 FREDDY A SUAREZ VELEZ                       HC 1 BOX 6615                                                                                               HORMIGUEROS         PR           00660
   656858 FREDDY ANDUJAR MORENO                       SECTOR LOS MORAS          5 CALLE AZALEA                                                                    ARECIBO             PR           00612
          FREDDY ARBELO LOPEZ Y ADA E
   656862 RIVERA                                      BO PILETAS ARCE           CARR 129                                                                          LARES               PR           00897



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  656863 FREDDY AUTO PART                             P O BOX 1612                                                                                                     MOCA               PR         00676
  656864 FREDDY BAEZ ROSADO                           URB PALACIOS DEL RIO I      BOX 500                                                                              TOA ALTA           PR         00953
  179603 FREDDY BARBOSA COLON                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  656865 FREDDY BENITEZ GONZALEZ                      REPTO DAGUEY                A 2 CALLE 7                                                                          A¥ASCO             PR         00610
  656866 FREDDY BERMUDEZ                              PARC SUSUA                  F 11 CALLE MARGINAL                                                                  SABANA GRANDE      PR         00637
  656867 FREDDY BERMUDEZ RIVERA                       BO SOUSA                    CALLE MARGINAL BOX F 11                                                              SABANA GRANDE      PR         00637
  179605 FREDDY BLANCO SANTANA                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  179606 FREDDY BURGOS BAEZ                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  656868 FREDDY CANCEL GONZALEZ                       210 CALLE SAN SEBASTIAN                                                                                          SAN JUAN           PR         00901
  656869 FREDDY CARIBBEAN PAINT                       A 150 CALLE ORTIZ SAEZ                                                                                           VEGA BAJA          PR         00694
  656870 FREDDY CESPEDES GAMBOA                       P.O. BOX 1691                                                                                                    VEGA BAJA          PR         00694
  179607 FREDDY COCA ALMANZAR                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  179608 FREDDY CRANE SERVICE INC                     PMB 198 HC 01 BOX 29030                                                                                          CAGUAS             PR         00725
  656871 FREDDY CRESPO                                BOX 2002 56                                                                                                      CEIBA              PR         00735
  179611 FREDDY CRUZ BONILLA                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         FREDDY DECIMA DIAZ/REST EL
  656872 BUEN SAMARITA                                255 CALLE LUNA                                                                                                   SAN JUAN           PR         00901
  656874 FREDDY ESTEVES TAVAREZ                       URB LA MARINA               P 31 CALLE BEGONIA                                                                   CAROLINA           PR         00979
  656875 FREDDY FELICIANO RIVERA                      BO MANI                     CARR 64 KM 2 5 BOX 5116                                                              MAYAGUEZ           PR         00682
  179614 FREDDY FIGUEROA                              REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  179615 FREDDY FLORES FUENTES                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  179616 FREDDY G MORALES ORTIZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  179617 FREDDY GARCIA GONZALEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  656876 FREDDY GARRIDO                               PO BOX 1946                                                                                                      CAROLINA           PR         00984
  656877 FREDDY GOMAS                                 P O BOX 159                                                                                                      CIDRA              PR         00739
  179618 FREDDY GONZALEZ SERRANO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  179619 FREDDY H GARCIA HIDALGO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  179620 FREDDY HERNANDEZ BELLON                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  656881 FREDDY HERNANDEZ LOPEZ                       PO BOX 1618                                                                                                      MOCA               PR         00676‐0168
  179621 FREDDY IDONA FERNANDEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   179624 FREDDY J CARRERAS ALVARADO REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   656882 FREDDY J GONZALEZ GONZALEZ                  URB LOMAS VERDES RIO HONDO 6 CALLE CC                                                                            MAYAGUEZ           PR         00680
   179625 FREDDY J ORTIZ DIAZ                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   656883 FREDDY J RUIZ RAMIREZ                       HC 01 BOX 5270                                                                                                   JAYUYA             PR         00664

   179626 FREDDY J. CARRERAS ALVARADO REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   656884 FREDDY JUSINO PEREZ         11 CALLE COFRESI                                                                                                                 CABO ROJO          PR         00623
   656885 FREDDY L ACOSTA BERRIOS     PARCELAS AMALIA MARIN                       4976 CALLE BALLENA                                                                   PONCE              PR         00716
   656886 FREDDY L FUENTES FUENTES    BO MI¥I MI¥I                                CARR 187 KM 6 HM 1                                                                   LOIZA              PR         00772
   179627 FREDDY L GARCIA ESQUILIN    REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   179628 FREDDY LUIS VELEZ SANTIAGO                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   179629 FREDDY M PEREZ RAMIREZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   179630 FREDDY MALDONADO PEREZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   656887 FREDDY MARTINEZ ANAYA                       VILLA DEL RIO BAYAMON       B16 CALLE 13                                                                         BAYAMON            PR         00959

   179632 FREDDY MARTINEZ GONZALEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   179633 FREDDY MARTINEZ RIVERA                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   179634 FREDDY MAS VARGAS                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   179635 FREDDY MEDINA RAMOS                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   179637 FREDDY MORALES CASILLAS                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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   179638 FREDDY MORALES MONTALVO                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656892 FREDDY MORELL GONZALEZ                      446 PARC MORA GUERRERO                                                                                            ISABELA             PR           00662
   179639 FREDDY MURIEL CINTRON                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656894 FREDDY MURIEL DIAZ                          SANTA BARBARA              414 CALLE PEDRO DIAZ                                                                   SAN JUAN            PR           00923

   656895 FREDDY N NEGRON SANTIAGO                    HC 1 BOX 5104                                                                                                     CIALES              PR           00638
                                                                                 210 CALLE JOSE OLIVERAS APTO
   656898 FREDDY O JACOBO VILATO                      COND NEW CENTER PLAZA      170                                                                                    SAN JUAN            PR           00918
   179640 FREDDY O VAZQUEZ DIAZ                       REDACTED                   REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179641 FREDDY ORTIZ DE JESUS                       REDACTED                   REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179642 FREDDY ORTIZ RIVERA                         REDACTED                   REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FREDDY PEREZ /MARIA S
   179643 SALCEDO                                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179644 FREDDY PFIGUEROA SALAZAR                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   656899 FREDDY R MEDINA RODRIGUEZ                   VILLA FONTANA              2JL 461 VIA 14                                                                         CAROLINA            PR           00983
   656901 FREDDY RIJO                                 228 CALLE JUNCOS                                                                                                  SAN JUAN            PR           00915
   656902 FREDDY RIVERA RUIZ                          URB RAMIREZ DE ARELLANO    17 CALLE ENRIQUE KOPICH                                                                MAYAGUEZ            PR           00680

   179646 FREDDY RODRIGUEZ DE LA CRUZ                 REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656905 FREDDY ROJAS RODRIGUEZ                      HC 01 BOX 3687                                                                                                    COROZAL             PR           00783 9628
   656906 FREDDY ROSARIO                              RES YAGUEZ                 EDIF 10 APT 102                                                                        MAYAGUEZ            PR           00680
   179648 FREDDY RUIZ MARTINEZ                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179649 FREDDY RUIZ MONTANEZ                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179650 FREDDY SALLENT AQUINO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656909 FREDDY SALVADOR MATIAS                      BOX 1441                                                                                                          JUANA DIAZ          PR           00795
   179651 FREDDY SAMPOLL INC                          P O BOX 9046                                                                                                      PONCE               PR           00732
          FREDDY SAMPOLL PEREZ /CRUZ
   656910 M CORREA                                    PO BOX 9046                                                                                                       PONCE               PR           00732‐9046
   179652 FREDDY SANCHEZ LABOY                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656911 FREDDY SANCHEZ MARTINEZ                     PO BOX 7126                                                                                                       PONCE               PR           00732

   179653 FREDDY SANTIAGO RODRIGUEZ                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179654 FREDDY SANTOS SANTIAGO                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                 J2 AVE BETANCES URB HNAS
   656912 FREDDY SCREEN & VERTICAL                    HNAS DAVILA                DAVILA                                                                                 BAYAMON             PR           00959
          FREDDY SEDA Y/O SANDRA I
   179655 ANAYA                                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179656 FREDDY SERVICE STATION INC                  PO BOX 3502 7                                                                                                     JUANA DIAZ          PR           00795
   656913 FREDDY SIERRA SALGADO                       HP ‐ Forense RIO PIEDRAS                                                                                          Hato Rey            PR           009360000
   656914 FREDDY TORRES BATISTA                       BO VENEZUELA               8 CALLE GUADALCANAL APT 3                                                              SAN JUAN            PR           00926
   179659 FREDDY TORRES DOMINGUEZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656915 FREDDY TORRES JUARBE                        21 PARC JOBOS                                                                                                     ISASBELA            PR           00662‐2111
   179660 FREDDY TORRES RODRIGUEZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179661 FREDDY TRINIDAD MURIEL                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179662 FREDDY VARELA BERRIOS                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179664 FREDDY VARGAS RODRIGUEZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656920 FREDDY VAZQUEZ MORALES                      URB HACIENDA CONCORDIA     145 CALLE JASMIN                                                                       SANTA ISABEL        PR           00757

   179666 FREDDY VELAZQUEZ FIGUEROA                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179667 FREDDY VELEZ LLITERAS                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656922 FREDDY VELEZ SERRANO                        VILLA CAROLINA             193 17 CALLE 526                                                                       CAROLINA            PR           00985



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  179668 FREDDY VILLAMIZAR                            REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  179669 FREDDY ZAYAS LOPEZ                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  656923 FREDDY`S RENTALS                             PO BOX 470                                                                                                      PONCE                PR         00780
                                                      150 A CALLE HERMANOS ORTIZ
   656924 FREDDYS GLOBAL PAINT                        SAEZ                                                                                                            VEGA BAJA            PR         00693
   656926 FREDDYS SPORT SHOP                          PO BOX 42                                                                                                       AIBONITO             PR         00705
   656927 FREDEBINDA CARABALLO                        608 CALLE OLIMPO 15 B                                                                                           SAN JUAN             PR         00909
   656928 FREDERIC CHARDON DUBOS                      HC 3 BOX 9551                                                                                                   MOCA                 PR         00676‐9556
   179670 FREDERIC ROCAFORT                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   179671 FREDERICK A CORTES RIVEA                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          FREDERICK BEDER DAB FDB
   179672 SERVICES                                    352 AVE SAN CLAUDIO PMB 104                                                                                     SAN JUAN             PR         00926
          FREDERICK C BRIAN/JENNIFER
   656930 MICHAEL                                     SABANA SECA                   111 PROGRESO                                                                      TOA BAJA             PR         00949
   179673 FREDERICK CHASE                             REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   179674 FREDERICK COLL GUERRERO                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   179675 FREDERICK CORDERO RIVERA                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   179676 FREDERICK CRUZ NUNEZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          FREDERICK D BEDER DBA FDB
   179677 SERVICES                                    352 AVE SAN CLAUDIO PMB 104                                                                                     SAN JUAN             PR         00926‐4117
          FREDERICK E PENN INSURANCE
   656931 AGENCY INC                                  50 CABOT ST                                                                                                     NEEDHAM              MA         02492
   179678 FREDERICK E WENDT HUGHES                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   656929 FREDERICK FLORES CORDERO                    URB COVADONGA                 2‐K9 CALLE 2                                                                      TOA BAJA             PR         00949

   179679 FREDERICK FLORES GONZALEZ                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   179680 FREDERICK GARCIA ARRYO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   179681 FREDERICK GAUTHIER HERRERA                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   179682 FREDERICK GAUTIER HERRERA                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   656933 FREDERICK L KURR MATTA                      JARD DE CAPARRA               AE6 CALLE 47A                                                                     BAYAMON              PR         00959
   656934 FREDERICK LEE INC                           MARINA STATION                PO BOX 3287                                                                       MAYAGUEZ             PR         00681

   179683 FREDERICK MARTINEZ NEGRON                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   656935 FREDERICK NATAL                             BO MIRAFLORES                 CARR 638 KM 4 3                                                                   ARECIBO              PR         00612
          FREDERICK RODRIGUEZ
   179685 RODRIGUEZ                                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   656936 FREDERICK VARGAS CARDOZA                    PUERTO REAL 743               CALLE OTOAO                                                                       CABO ROJO            PR         00623

   179686 FREDERICK VAZQUEZ MARTINEZ                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   179687 FREDERICK Y RIOS GONZALEZ                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   179689 FREDERIK ITHIER COLON                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          FREDERIKSTED MENTAL HEALTH
   179690 CLINIC                                      516 STRAND ST                 FREDERIKSTED                                                                      ST CROIX             VI         00840
   656937 FREDES WILDA FEBUS                          VILLA OLIMPIA                 B 29 CALLE 3                                                                      YAUCO                PR         00698

   656938 FREDESVINDA COLON CORDERO PO BOX 453                                                                                                                        ANGELES              PR         00611
          FREDESVINDA RAMIREZ Y AIDA
   179692 LUNA                       REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   179693 FREDESVINDA REYES RODRIGUEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED




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   656940 FREDESWILDA SANTIAGO RIVERA E6 TH ST 2631                                                                                                             BROOKLYN            NY           11235
   656941 FREDESWIN PEREZ RENTA       URB VILLA DEL REY                      N 28 CALLE GLOUCESTER                                                              CAGUAS              PR           00725
   179695 FREDESWINDA BAEZ            REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   179698 FREDESWINDA CARRAU ACOSTA REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   656947 FREDESWINDA FLORES MATOS SALAMANCAS                                110 MADRID                                                                         SAN GERMAN          PR           00683
          FREDESWINDA GARCÍA RAMIREZ
   179699 DE ARELLANO                REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FREDESWINDA JIMENEZ
   656942 LARACUENTE                 VILLA ASTURIAS                          B 24 2 CALLE 35                                                                    CAROLINA            PR           00983
          FREDESWINDA LOPEZ
   656948 ALMODOVAR                  HC 09 BOX 2935                                                                                                             SABANA GRANDE       PR           00637
   656949 FREDESWINDA LUCENA VELEZ   URB FEAR VIEW                           B 29 ALTO CALLE 5                                                                  TRUJILLO ALTO       PR           00976
   179700 FREDESWINDA MUðIZ CABAN    REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656951 FREDESWINDA REYES ORTIZ    BOX 304                                                                                                                    COMERIO             PR           00782
          FREDESWINDA RODRIGUEZ
   179704 LOPEZ                      REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FREDESWINDA SANCHEZ
   179705 RODRIGUEZ                  REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   179706 FREDESWINDA SANTOS PIZARRO REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   656953 FREDIE F CABRERA VELEZ     BO CAPIRO                               CALLE CANARIO BOX 130                                                              ISABELA             PR           00662
   656954 FREDIE GUTIERREZ BAEZ      PO BOX 2616                                                                                                                GUAYNABO            PR           00970
   656955 FREDIE NAVARRO DELGADO     VILLA CAROLINA                          6‐1 CALLE 29                                                                       CAROLINA            PR           00985
          FREDIMBERT TRAVEL AGENTS   EDIF SAN JUAN HEALTH CENTER
   656956 INC                        OFIC 11                                 150 AVE DE DIEGO                                                                   SAN JUAN            PR           00907
          FREDISBERTO MEDINA         COND BALCONES DE MONTE
   656957 TOLENTINO                  REAL                                    EDIF A APT 1901                                                                    CAROLINA            PR           00987
   179710 FREDIVEL PEREZ FUENTES     REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   179711 FREDIVERTO ACEVEDO MORALES REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179712 FREDRICK VEGA LOZADA       REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FREDRIK WILHELM HAENSCH
   179713 MUDRACK                    REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179714 FREDY E MONTES DIPP        REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FREDY E VARELA LOPEZ DBA
   179716 DIRSTRIBUIDORA             VARELA                         HC 04 BOX 6641                                                                              COROZAL             PR           00783
          FREDY ORTIZ RODRIGUEZ Y/O
   179717 LUIS M CRESPO              REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179718 FREDY VARELA BERRIOS       REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179720 FREDY VARELA LOPEZ         REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FREDY VARELA/ DISTRIBUDORA
   179721 VARELA                     HC 04 BOX 6641                                                                                                             COROZAL             PR           00783
          FREDY VARELA/DBA/AGRO
   179722 CAMPO DE PR                BO. PALES BLANCA 4.3 CARR. 803                                                                                             COROZAL             PR           00783
   179723 FREDYSWINDA TORRES DROZ    REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   179724 FREDYWILDA REYES GONZALEZ                   REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179725 FREE 2 VOICE LLC                            161 PANORAMA VILLAGE                                                                                      BAYAMON             PR           00957

   179726 FREE CLINIC OF ALLENTOWN AT                 224 N 6TH ST                                                                                              ALLENTOWN           PA           18102‐4129



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  179728 FREEDA JUSINO SIERRA                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   656962 FREEMAN AND ASSOCIATES INC                  5161 IMHOFF AVE SW                                                                                              HOWARD LAKE          MN         55349
          FREEMAN DECORATING
   179732 SERVICES INC                                P O BOX 660613                                                                                                  DALLAS               TX         75266‐0613
   179734 FREEMAN EXPOSITIONS INC                     PO BOX 660613                                                                                                   DALLAS               TX         75266‐0613
   179737 FREESE SUAREZ MD, RAMON                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   179739 FREEZE SUAREZ, RAMON                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   179740 FREIDA GONZALEZ TORRES                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   179741 FREIDA RENTAS ARCE                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   656963 FREIDA RIVERA GONZALEZ                      PO BOX 1510                                                                                                     ARECIBO              PR         00613‐1510
          FREIGHTLINER TRUCK & SERVICE
   179743 INC                                         PALMAS INDUSTRIAL PARK       CARR 869 KM 1 5                                                                    CATANO               PR         00962
   179747 FREIMOT TOMEL AFANADOR                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   179769 FREIRE, LUIS                                REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   656965 FREIRIA & CO INC                            PO BOX 364165                                                                                                   SAN JUAN             PR         00936‐4165
   179771 FREIZA LLC                                  PO BOX 486                                                                                                      DORADO               PR         00646
   656966 FREMAIN ANDUJAR RIVERA                      298 CALLE MANUEL BLANCO                                                                                         MAYAGUEZ             PR         00680
   656967 FREMIO A MEJIAS JIMENEZ                     URB PRADERA                  AU3 CALLE 18                                                                       TOA BAJA             PR         00949
   656968 FREMIO B PEGUERO CONTIN                     3RA EXT VILLA CAROL          B 11‐122 CALLE A                                                                   CAROLINA             PR         00985
   656969 FREMIOT RAMIREZ                             P.O. BOX 70344                                                                                                  SAN JUAN             PR         00936‐8344
   656970 FREMIUD OTERO TORRES                        HC 02 BOX 6366                                                                                                  ADJUNTAS             PR         00601
   179781 FRENCHYS AMBULANCE INC                      PO BOX 735                                                                                                      JUNCOS               PR         00777
   179762 FRENIS W HOFFMAN                            REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          Frente Amplio de Camioneros y
   179782 sus afiliadas                               Rodríguez Figueroa, Victor   Lago Alto               A3 Calle Carite                                            Trujillo Alto        PR         00976
          Frente Unido de Policías
   179783 Organizados (FUPO)                          Figueroa Torres, Diego       PO Box 5261                                                                        Carolina             PR         00984‐5261
          FRENTE UNIDO DE POLICÍAS
          ORGANIZADOS DE PR, (FUPO), X
  1419793 SÍ Ý EN REP.                                NYDIA E. RODRIGUEZ MARTINEZ PO BOX 4155                                                                         CAROLINA             PR         00984‐4155
          FRENTE UNIDO POLICIAS
   656971 ORGANIZADOS                                 PO BOX 3349                                                                                                     CAROLINA             PR         00984‐3349
   656973 FRENZI STORES INC                           CAPARRA HEIGHTS STATION      PO BOX 11910                                                                       SAN JUAN             PR         00922‐1910
   656974 FRESCOPAN                                   PO BOX 332026                                                                                                   PONCE                PR         00733
   179794 FRESENIO MEDICAL CARE                       1072 AVE MIRAMAR             CARR NO 2 KM 78.5                                                                  ARECIBO              PR         00612

   179797 FRESENIUS KIDNEY CARE CAYEY                 PO BOX 371057                                                                                                   CAYEY                PR         00737
   179798 FRESENIUS MEDICAL CARE                      461 CALLE FRANCIA                                                                                               SAN JUAN             PR         00917
          FRESENIUS MEDICAL CARE
   179801 DIALYSIS CENTER                             PO BOX 364663                                                                                                   SAN JUAN             PR         00936‐4663
          FRESENIUS MEDICAL CARE
   179802 HOLDINGS INC                                920 WINTER ST                                                                                                   WALTHAM              MA         02451‐1457
          FRESENIUS MEDICAL CARE
   179803 NORTH AMERICA                               7309 RAMON POWER                                                                                                PONCE                PR         00717‐1501
          FRESENIUS MEDICAL CARE RIO
   179805 PIEDRAS                                     1535 AVE PONCE DE LEON       BARRIO EL CINCO                                                                    SAN JUAN             PR         00926
          FRESH AIR PULMONARY
   656976 SERVICES                                    URB SANTIAGO IGLESIAS        1388 AVE PAZ GRNL                                                                  SAN JUAN             PR         00921
   656977 FRESH AIR ZONE INC                          P M B 338                    P O BOX 607071                                                                     BAYAMON              PR         00956
   179806 FRESH ALTERNATIVES INC                      VILLA CARMEN                 Q 43 AVE LUIS M MARIN                                                              CAGUAS               PR         00725
          FRESH BAKERY
   656978 MANUFACTURING                               P O BOX 9024275                                                                                                 SAN JUAN             PR         00902



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          FRESH POINT + A ONE PRODUCE
   179807 DAIRY                                       2300 N W 19 STREET          POMPANO BEACH                                                                     FLORIDA             FL           33069
   179809 FRESH START CLINIC                          1725 EAST 12 TH ST          SUITE 201                                                                         BROOKLYN            NY           11229
   656980 FREY SCIENTIFIC COMPANY                     PO BOX 29991                C/O MANUEL HERNANDEZ                                                              SAN JUAN            PR           00924
   179850 FREYDA DELGADO                              REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   179863 FREYRE GONZALEZ MD, NILSA I                 REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179869 FREYRE PAGAN, LIZMARIE                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179870 FREYRE PEREZ MD, JOSE M                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   179895 FREYTES DEL RIO MD, RODRIGO                 REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179900 FREYTES EURO IMPORTS INC                    URB MUNOZ RIVERA            21 CALLE ACUARELA                                                                 GUAYNABO            PR           00969 5040
   179854 FREYTES LUGO MD, LUIS                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1419794 FRÍAS SANTANA, FELIPE                       LUIS A GIERBOLINI           PO BOX 364567                                                                     SAN JUAN            PR           00936‐4567
   656982 FRIDA ACOSTA GRAJALES                       469 PLAZA ESMERALDA         PH 206 AVE ESMERALDA                                                              GUAYNABO            PR           00969‐4284

   656983 FRIDAS MEXICAN RESTAURANT                   URB BALDRICH                552 MAXIMO GOMEZ                                                                  SAN JUAN            PR           00918
          FRIDMA CORP & GENERAL
   179994 CONTRACTORS                                 PO BOX 31                                                                                                     MERCEDITA           PR           00715
   656984 FRIEDA MEDIN OJEDA                          146 CALLE VASSALLO                                                                                            SAN JUAN            PR           00911
   179996 FRIEDA RAMIREZ HERNANDEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179997 FRIEDA V MORALES SEDA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179998 FRIEDBERG PA , SCOTT L                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   179999 FRIEDEL INVESTMENT INC                      PMB 370 1353                CARR 19                                                                           GUAYNABO            PR           00966‐2700
   656985 FRIEDLI WOLF & PASTORE INC                  1735 EYE STREET             NW SUITE 920                                                                      WASHINGTON D C      WA           20006
                                                      221 PONCE DE LEON AVE STE
   180000 FRIEDMAN & FEIGER LLC                       1202                                                                                                          SAN JUAN            PR           00917
   180002 FRIEND & SMITH CO INC                       PO BOX 366206                                                                                                 SAN JUAN            PR           00936‐6206
   656986 FRIEND & SMITH CO.                          PO BOX 366206                                                                                                 SAN JUAN            PR           00936‐6206
   656987 FRIENDLY RENTAL                             HC 01 BOX 8505                                                                                                COMERIO             PR           00782
   656988 FRIENDS CAFE                                9 CALLE PATRIOTA POZO                                                                                         MANATI              PR           00674
   180003 FRIENDS HOSPITAL                            PO BOX 4356                                                                                                   WILMINFTON          DE           19807
          FRIENDSHIP PLACE DAY CARE
   180004 CENTER, INC                                 PO BOX 3593                                                                                                   JUNCOS              PR           00777
          FRIENDSHIP PLACE DAY CARE
   180005 INC.                                        PO BOX 3593                                                                                                   JUNCOS              PR           00777
   656989 FRIENDSHIP TRAVEL                           URB EL PARAISO              1539 CALLE PARANA                                                                 SAN JUAN            PR           00926
          FRIGOFICO ALMACEN MENDEZ
   656990 COMERCIAL                                   URB PEREZ MORRIS            6 CALLE CARMEN                                                                    SAN JUAN            PR           00917
          FRIGORIFICO ALMACEN CASH &
   656992 CAR                                         PO BOX 270                                                                                                    GUAYAMA             PR           00785
          FRIGORIFICO ALMACEN PEREZ
   656993 HERMANOS                                    P O BOX 2080                                                                                                  CAYEY               PR           00737
          FRIGORIFICO HATO REY MEAT
   180006 MARKET                                      URB FLORAL PARK             153 CALLE GUAYAMA                                                                 SAN JUAN            PR           00917‐4511
   180009 FRIGORIFICO MARIN INC                       URB SIERRA BAYAMON          CALLE 3 BLOQUE 2                                                                  BAYAMON             PR           00959
          FRIGORIFICO PEREZ Y
   656995 HERMANOS                                    PO BOX 2080                                                                                                   CAYEY               PR           00737
          FRIGORIFICO PLAZA/WILLIAM
   656996 GONZALEZ                                    PO BOX 9024275                                                                                                SAN JUAN            PR           00902‐4275
   656998 FRIGORIFICO TEISSONNIERE                    22 CALLEJON COMERCIO                                                                                          PONCE               PR           00731
   656999 FRIGORIFICO VALLEJO INC                     P O BOX 21237                                                                                                 SAN JUAN            PR           00928‐1327




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          FRIGORIFICO Y ALMACEN DEL
   180011 TURABO INC                                  P O BOX 5906                                                                                                           CAGUAS               PR           00726
          FRIGORIFICO Y ALMACEN DEL
   180013 TURABO, INC                                 APARTADO 7919                                                                                                          CAGUAS               PR           00725‐0000
   180015 FRINGE AREA IV, LLC                         PO BOX 71450                                                                                                           SAN JUAN             PR           00936‐8550
   657000 FRINGO AUTO KOOL                            BO HOYA MALA                     HC 1 BOX 10810                                                                        AGUADILLA            PR           00685
   657001 FRIOCENTRO MAX                              325 CALLE POST S                                                                                                       MAYAGUEZ             PR           00680
   657002 FRIOLIN                                     PMB 330                                                                                                                GUAYNABO             PR           00970
          FRITO LAY SNACKS CA Y/O FRITO
   180016 LAY QUAKER                                  668 CUBITA ST                                                                                                          GUAYNABO             PR           00969‐2801
   657003 FRITZ A ORTIZ                               BO PARIS                         68 CALLE FLORIDA                                                                      MAYAGUEZ             PR           00680
   657004 FRITZY ALONSO VAZQUEZ                       REPARTO METROPOLITANO            1201 CALLE44 SE                                                                       SAN JUAN             PR           00921
   657006 FRITZY SOUND                                REPARTO METROPOLITANO            1201 CALLE 44 SE                                                                      SAN JUAN             PR           00921
   180019 FRITZY SOUND GROUP                          REPARTO METROPOLITANO            1201 CALLE44 SE                                                                       SAN JUAN             PR           00921
   180021 FROILAN ALFOMBRAS                           FERNANDEZ JUNCOS PDA 26                                                                                                SANTURCE             PR           00100
   180022 FROILAN AVILES PAGAN                        REDACTED                         REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   657011 FROILAN CORDOVA RIVERA                      VISTA AZUL                       B 21 CALLE 4                                                                          ARECIBO              PR           00612
   657012 FROILAN CORREA CANCEL                       CAPARRA TERRACE                  1210 CALLE 18 SE                                                                      SAN JUAN             PR           00921
   657014 FROILAN M CORREA CANCEL                     P O BOX 9065482                                                                                                        SAN JUAN             PR           00906
   180025 FROILAN MALPICA GONZALEZ                    REDACTED                         REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   180026 FROILAN NEGRON MARRERO                      REDACTED                         REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   657016 FROILAN PAGAN COLON                         URB TREASURE VALLEY              L 5 AVE LAS AMERICAS                                                                  CIDRA                PR           00739
                                                                                       BOX 8610 CALLEJON COREA KM
   657017 FROILAN R FALERO COLLAZO     BO MONACILLOS                                   3H4                                                                                   RIO PIEDRAS          PR           00971
          FROILAN REAL ESTATE HOLDINGS
   657018 / FROILAN I                  LOS CAOBOS INDUSTRIAL PARK                      MERCEDITA                                                                             PONCE                PR           00715
   657008 FROILAN RODRIGUEZ PADILLA    HC 1 BOX 2611                                                                                                                         BOQUERON             PR           00622

   180027 FROILAN ROSARIO RODRIGUEZ                   REDACTED                         REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   657009 FROILAN VARELA PALLIN                       REPOSTERIA KASALTA               1966 CALLE MC LEARY                                                                   SAN JUAN             PR           00911
   657019 FROILO SANTOS RODRIGUEZ                     P O BOX 470                                                                                                            VIEQUES              PR           00765

   657020 FROKEN R RODRIGUEZ CINTRON COND CAMPO REAL                                   780 CARR 8860 BOX 2842                                                                TRUJILLO ALTO        PR           00976
   180029 FROMETA INC                PO BOX 2246                                                                                                                             GUAYAMA              PR           00785
   180032 FRONCA INC                 HC 8 BOX 64052                                                                                                                          ARECIBO              PR           00612

   657021 FRONT SIGHT ANESTHESIA PSC   PO BOX 5080 SUITE 114                                                                                                                 AGUADILLA            PR           00605
          FRONTERA COLON SUAREZ
   657022 RADIOLOGOS PSC               PO BOX 6470                                                                                                                           MAYAGUEZ             PR           00681‐6470
          FRONTERA PHILIPPI MD, MIGUEL
   180070 A                            REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRONTERA RODRIGUEZ MD,
   180071 HERMINIO                     REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRONTERA ROURA MD, ERNESTO
   180074 A                            REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   180079 Frontera Suau Law Offices PSC               Capital Center Building Suite 305 Ave Arterial Hostos 239                                                              San Juan             PR           00918‐1476

   180086 FRONTERAS VARGAS MD, MARIA REDACTED                                          REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRONTIER COMMUNICATIONS
   180087 NORTHWEST INC              63 STONE ST                                       3RD FLOOR UCP                                                                         ROCHESTER            NY           14604

   657023 FRONTIER INSURANCE COMPANY PO BOX 8000                                                                                                                             ROCK HILL            NY           12775‐9983



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          FRONTIER PEST MANAGEMENT
   657024 COR                                         PO BOX 1108                                                                                                     VEGA ALTA            PR           00692

   180088 FRONTRUNNERS PUERTO RICO                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   180089 FROYO METRO LLC                             URB EL VALLE               363 ESPINO REAL                                                                      CAGUAS               PR           00727‐3232
   180091 FRRERICO MONTANANA                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   657025 FRUCTUOSO COLON                             HC 01 BOX 8663                                                                                                  AGUAS BUENAS         PR           00703
          FRUCTUOSO FERNANDEZ
   657026 RODRIGUEZ                                   HC 3 BOX 12385                                                                                                  CAROLINA             PR           00987

   657027 FRUCTUOSO NEGRON GRAULAU                    JARD DE RIO GRANDE         BZ 497 CALLE 78                                                                      RIO GRANDE           PR           00745
   657028 FRUIT OF THE LOOM                           PO BOX 51520                                                                                                    CATA¥O               PR           00950‐1520
   657029 FRUIT PARADISE INC                          PO BOX 9143                                                                                                     HUMACAO              PR           00792
   657030 FRUITS INTERNATIONAL                        PO BOX 500                                                                                                      COTTO LAUREL         PR           00780‐0500
   657031 FRUTAS TROPICALES INC                       PO BOX 963                                                                                                      SALINAS              PR           00751
  1256509 FRUTAS Y VEG. LOPEZ ORTIZ                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FRUTAS Y VEGETALES
   657032 BORINQUEN                                   PLAZA DEL MERCADO          CALLE CAPITOL LOCAL 1                                                                SAN JUAN             PR           00907
          FRUTAS Y VEGETALES LOPEZ
   180092 ORTIZ, INC                                  BOX 1030                                                                                                        COROZAL              PR           00783
          FRUTAS Y VEGETALES LOS                      PLAZA NUEVA DEL MERCADO
   657033 PRIMOS INC                                  NAVE 5                                                                                                          CAGUAS               PR           00725
   657034 FRUTIPUTI CORPORATION                       HC 59 BOX 6879                                                                                                  AGUADA               PR           00602
   657035 FRUTO COLON CARRILLO                        237 CALLE CENTRAL                                                                                               COTTO LAUREL         PR           00780
   180093 FRUTO DIAZ FALCON                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   657036 FRUTO FRESCO DEL PAIS INC                   URB DOS PINOS              811 CALLE DIANA                                                                      SAN JUAN             PR           00923
   657037 FRUTO HERNANDEZ BELEN                       HC 5 BOX 57713                                                                                                  CAGUAS               PR           00725

   180094 FRUTOS DE LA MONTANA LARES                  REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   180095 FRUTOS DEL GUACABO INC                      P O BOX 178                                                                                                     MANATI               PR           00674
   180096 FRUTTERY BARN                               REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   180097 FRUTTERY BARN ALTAMIRA                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   180098 FRUTTERY BERRY BOYS CO                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
  1419795 FRYE PINA, MILLIE                           ARTURO O. RIOS ESCRIBANO   PO BOX 29146                                                                         SAN JUAN             PR           00929‐0146
  1419796 FRYE PIÑA, MILLIE                           INEABELLE SOLA ALBINO      PO BOX 367991                                                                        SAN JUAN             PR           00936
          FS AND T (FIRST SECURITY &
   657038 TELECOM)                                    AVE JOBOS BZN 8544                                                                                              ISABELA              PR           00662
   657039 FS CONSULTING GROUP INC.                    PO BOX 192639                                                                                                   SAN JUAN             PR           00919
   180104 FSD CONTRACTORS INC                         PO BOX 1209                                                                                                     TRUJILLO ALTO        PR           00977‐1201
          FSR CONSTRUCTION
   180105 ENGINEERING CORP                            PMB STE 149                90 AVE PLAZA RIO HONDO                                                               BAYAMON              PR           00961
          FTD INTERIOR CONTRACTORS
   180106 INC                                         SUITE 112 MSC 296          100 GRAN BULEVAR PASEOS                                                              SAN JUAN             PR           00926
   831369 FTD Interiors Contractor, Inc.              Suite 112                  MSC 296 Gran Boulevard                                                               San Juan             PR           00926
   180107 FTI CONSULTING INC                          909 COMMERCE ROAD                                                                                               ANNAPOLIS            MD           21401
   180109 FU WA CHINA INC                             URB VILLA DEL SOL          213 CALLE MARBELLA                                                                   CAROLINA             PR           00983
   180110 FU YIU INC                                  61 AVE ESMERALDA                                                                                                GUAYNABO             PR           00969
   180113 FUCILLE ASSOCIATES                          PO BOX 3466                                                                                                     SAN JUAN             PR           00904
   180114 FUCOL                                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          FUCOL UPR RECINTO RIO
   657040 PIEDRAS                                     P O BOX 23326                                                                                                   SAN JUAN             PR           00931‐3326
   180115 FUEL @ SITE                                 REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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                                                      COND PARQUE SAN ANTONIO 1
   657042 FUEL INJECTION USA INC                      APTO 1204                                                                                                           CAGUAS              PR           00725
   657043 FUEL SYSTEM PRODUCTS                        QUINTAS DE CUPEY            C 21 CALLE 17                                                                           SAN JUAN            PR           00926
   180121 FUENTES , HECTOR RAMOS                      REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   180150 FUENTES APONTE MD, ANSELMO REDACTED                                     REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1419797 FUENTES APONTE, CLEMENTE   RUBÉN BONILLA MARTÍNEZ                       PO BOX 2758                                                                             GUAYAMA             PR           00785‐2758
   657045 FUENTES AUTO PINTURAS      PO BOX 819                                                                                                                           JAYUYA              PR           00664
   657046 FUENTES BUS LINE           PO BOX 935                                                                                                                           BAYAMON             PR           00960
   657047 FUENTES CATERING           PO BOX 656                                                                                                                           SAN SEBASTIAN       PR           00685
                                                                                  APONTE LAW OFFICES HC 04.
  1419798 FUENTES COLÓN, LUIS M.                      ORLANDO APONTE ROSARIO      BOX 3000                                                                                BARRANQUITA         PR           00794

   180330 FUENTES ECHEVARRIA, SONIA I. REDACTED                   REDACTED                                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FUENTES FERNANDEZ &
   657048 COMPANY                      PO BOX 194669                                                                                                                      SAN JUAN            PR           00919‐4669
          FUENTES FERNANDEZ AND                                   239 AVE ARTERIAL HOSTOS STE
   657044 COMPANY                      CAPITAL CENTER SOUTH TOWER 704                                                                                                     SAN JUAN            PR           00918‐1476
   180439 FUENTES INGUENZA MD, JOSE    REDACTED                   REDACTED                                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   180530 FUENTES MD , JOSE N          REDACTED                   REDACTED                                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   180440 FUENTES MD, ERNESTO          REDACTED                   REDACTED                                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   180561 FUENTES MOLINA HECTOR        REDACTED                   REDACTED                                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   180575 FUENTES MOLINA, LUZ N.       REDACTED                   REDACTED                                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   180664 FUENTES ORTIZ, MINERVA       REDACTED                   REDACTED                                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   180674 FUENTES ORTIZ, SANDRA I      REDACTED                   REDACTED                                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FUENTES RIVERA, KAREN ODALYS                                                                        CALLE JOSÉ A. CANALS SUITE 1A
  1423067 Y OTROS                      IVÁN A. COLÓN MORALES      URB. ROOSEVELT 478                          (ALTOS)                                                     SAN JUAN            PR           00918‐2723
   180844 FUENTES RIVERA, SHIRLEY      REDACTED                   REDACTED                                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   180900 FUENTES ROMERO, SANDRA L.                   REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   180942 FUENTES SANTIAGO MD, YAZMIN REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   180958 FUENTES SERVICE STATION INC                 BO SALDINERA                1 CARR 693                                                                              DORADO              PR           00646

  1419799 FUENTES VIERA, THANIANA                     GUSTAVO CARTAGENA CARAMÉS PO BOX 364966                                                                             SAN JUAN            PR           00936‐4966
   181052 FUENTES, DALIA I                            REDACTED                  REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1419800 FUENTES, EMANUEL                            MICHAEL CORONA              110 CALLE BORINQUEN SUITE 4‐1                                                           TRUJILLO ALTO       PR           00976
   181079 FUERTES BBQ                                 REDACTED                    REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181084 FUERTES PLANAS MD, JOSE M                   REDACTED                    REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   657049 FUERZA AREA DOMINICANA                      BASE AEREA SAN ISIDRO       SANTO DOMINGO ESTE                                                                      SANTO DOMINGO                                  DOMINICAN REPUBLIC
          FUJIFILM North America
   831370 Corp./Depto de Hacienda                     200 Summit Lake Drive                                                                                               Vallhalla           NY           10595
   657050 FUJINON INC                                 10 HIGH POINT DRIVE                                                                                                 WAYNE               NJ           07470‐7434
   657051 FUJIREBIO DIAGNOSTICS                       PO BOX 8500‐4335                                                                                                    PHILADELPHIA        PA           19178‐4335
   657052 FULBRIGHT JAWORSKI                          1301 MCKINNEY               SUITE 5100                                                                              HOUSTON             TX           77010
   181093 FULCRO INSURANCE INC                        PO BOX 9024048                                                                                                      SAN JUAN            PR           00936‐4048
          FULGENCIO DOMINGUEZ
   657053 MORALES                                     URB ONELL                   38 CALLE B                                                                              MANATI              PR           00674
   657054 FULGENCIO MU¥IZ MAYOL                       URB VILLA ANDALUCIA         K 4 CALLE FARAGON                                                                       SAN JUAN            PR           00926
   657055 FULGENCIO RULLAN RULLAN                     HC 03 BOX 8953                                                                                                      LARES               PR           00669
   181096 FULL ADVERTISING EXPRESS                    P O BOX 1745                                                                                                        CAROLINA            PR           00984



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  657057 FULL COLOR CORP                               URB BRISAS DE LOIZA         40 CALLE GEMINIS                                                                       CANOVANAS        PR           00729

   181097 FULL HOUSE DEVELOPMENT INC REPTO METROPOLITANO                           1311 AVE AMERICO MIRANDA                                                               SAN JUAN         PR           00921

   181098 FULL POWER ELECTRICAL CORP                   PO BOX 3873                                                                                                        CAROLINA         PR           00984

  1256510 FULL POWER GENERATOR CORP REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   181099 FULL POWER GENERATOR CORP. P.O. BOX 3873                                                                                                                        CAROLINA         PR           00984
   831371 Full Power Testing           P.O. Box 3873                                                                                                                      Carolina         PR           00984
   181100 FULL POWER TESTING CORP      PO BOX 3873                                                                                                                        CAROLINA         PR           00984‐3873
   181101 FULL POWER TESTING CORP.     P O BOX 3873                                                                                                                       Carolina         PR           00984‐0000
   181102 FULL SAIL UNIVERSITY         REDACTED                                    REDACTED                  REDACTED                       REDACTED                      REDACTED         REDACTED     REDACTED       REDACTED
  1419801 FULLADOSA LOPEZ, NESTOR      ENRIQUE ALCARÁZ MICHELLI                    APDO. POSTAL 1408                                                                      MAYAGUEZ         PR           00681‐1408
          FULLANA FRATICELLI, ISABEL Y FORASTIERI MALDONADO, JUAN                  AVENIDA PONDE LEÓN NÚMERO
  1422551 OTROS                        J                                           250                       EDIFICIO CITY TOWERS SUITE 402                               SAN JUAN         PR           00918

   181105 FULLANA HEAVY WORKS CORP                     P O BOX 1634                                                                                                       VEGA BAJA        PR           00964
   181109 FULLER BRUSH                                 PO BOX 362617                                                                                                      SAN JUAN         PR           00936
   181110 FULLER BRUSH CO PR INC                       AREA DEL TESORO             DIVISION DE RECLAMACIONES                                                              SAN JUAN         PR           00902‐4140
   657059 FULLER BRUSH OF P R INC                      PO BOX 362617                                                                                                      SAN JUAN         PR           00936‐2617
   657061 FULLMAILERS CORP                             PO BOX 361140                                                                                                      SAN JUAN         PR           00936‐1140
          FULMORE & ASSOC
   181114 CHIROPRACTIC HEALTH                          ATTN MEDICAL RECORDS        1500 W GORE                                                                            ORLANDO          FL           32805
          FULTON COUNTY HEALTH
   181115 CENTER                                       725 S SHOOP AVE                                                                                                    WAUSEON          OH           43567
   181116 FULTON MD, MICHAEL                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   657062 FULVIA A CALZUDES SANTOS                     CORREO GENERAL                                                                                                     NARANJITO        PR           00719
  1419802 FUMERO BERGOLLO, NELSON                      TANIA E. BABILONIA GERBER   PO BOX 2789                                                                            BAYAMON          PR           00960

   181127 FUMERO PEREZ MD, ILEANA M REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   181128 FUMERO PEREZ MD, JAIME F         REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   181129 FUMERO PEREZ MD, JOSE R          REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   181130 FUMERO PEREZ MD, JUAN J          REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   181145 FUMIGACION LC                    REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   181146 FUMIGACION LC, INC.              PO BOX 367267                                                                                                                  SAN JUAN         PR           00936‐7267
   657064 FUMIGEX                          P O BOX 29252                                                                                                                  SAN JUAN         PR           00929
   657065 FUN CITY                         506 CALLE TRUNCADO                                                                                                             HATILLO          PR           00659
   181147 FUN EL BUEN PASTOR CEIBA         REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   181148 FUN ENTERPRISES INC              PO BOX 7                                                                                                                       CATANO           PR           00936
   657066 FUN FOR KIDS INC                 P O BOX 233                                                                                                                    SAN ANTONIO      PR           00690
   181149 FUN JAYUYA MEMORIAL              REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
          FUN PUERTORRIQUENA
   181150 SINDROME DOWN                    REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   181151 FUN VALLEY PARK                  REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   181154 FUN VALLEY PARK INC              P O BOX 93                                                                                                                     CAMUY            PR           00627‐0093
          FUN. SANTO CRISTO DE LA
   181155 SALUD                            REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
          Fun. Y Capilla Morovis Memorial,
   831372 Inc.                             Carr. 6622, Sector La Línea                                                                                                    Morovis          PR           00687
   181156 FUN.TONITO FLORES                REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
          FUNCTIONAL CAPACITY AND
   181157 EVALUATION CENTER                GALERIA PASEO MALL                      112 SUITE 161                                                                          SAN JUAN         PR           00926



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          FUNCTIONAL CAPACITY
   657067 EVALUATION CENTER IN                        GALERIA LOS PASEOS MALL        SUITE 112‐161                                                               SAN JUAN             PR           00926
          FUNCTIONAL CAPACITY
   657068 EVALUATION CTER INC                         GALERIA PASEOS MAIL            SUITE 112‐161                                                               SAN JUAN             PR           00926
          FUND ACCION SOCIAL REFUGIO
   181158 ETERNO INC                                  P O BOX 8388                                                                                               BAYAMON              PR           00960
          FUND CHANA
   181159 GODSTEIN/SAMUEL LEVIS INC                   776 AVE PONCE DE LEON STE 20                                                                               SAN JUAN             PR           00923
          FUND DE ACCION SOCIAL
   181160 RESPLANDOR INC                              PO BOX 29401                                                                                               SAN JUAN             PR           00929‐0401
          FUND DE ARTE PICTORICO
   657069 ALFONSO ARANA                               PO BOX 9023035                                                                                             SAN JUAN             PR           00902‐3035
          FUND DE ESCLEROSIS MULTIPLE
   181161 DE PR INC                                   AREA DEL TESORO                DIVISION DE RECLAMACIONES                                                   SAN JUAN             PR           00902‐4140
          FUND DR MANUEL DE LA PILA                   3 VILLA PONCE HOUSING
   657071 IGLESIAS                                    ADMINISTRATIO                                                                                              PONCE                PR           00730

          FUND EDUCATIVA CONCEPCION
   181163 MARTIN/SONIFEL              P O BOX 70006                                                                                                              FAJARDO              PR           00738
          FUND JOSE SANCHEZ, SOCIEDAD
   181164 HUMANITARIA                 CALLE MEERHOFF NERI 343                        VILLA PALMERAS                                                              SAN JUAN             PR           00915
          FUND LATINO AMERICANA PARA
   657072 MUSICA CONTEM               JARDINES METROPOLITANO                         977 VOLTA 977                                                               SAN JUAN             PR           00927
          FUND PRO MUSEO BIBLTCA JUAN
   657073 A CORRETJER                 PO BOX 307                                                                                                                 CIALES               PR           00638
          FUND PUERTORRIQUEÐA DES
   181165 INT EMOCIONAL               P O BOX 8265                                                                                                               CAGUAS               PR           00726
          FUND PUERTORRIQUEÐA INV
   181166 PREV SUICIDIO               P O BOX 20938                                                                                                              SAN JUAN             PR           00928‐0938
          FUND PUERTORRIQUENA DES
   181167 INT EMOCIONAL               P O BOX 8265                                                                                                               CAGUAS               PR           00726
          FUND PUERTORRIQUENA INV
   181168 PREV SUICIDIO               P O BOX 20938                                                                                                              SAN JUAN             PR           00928‐0938
          FUND PUERTORRIQUENO PRO
   181169 DESARROLLO DEPOR            P O BOX 4770                                                                                                               CAROLINA             PR           00984‐4770
          FUND SOCIO EDUCATIVA DE
   181170 CAGUAS                      PO BOX 4952                                    SUITE 238                                                                   CAGUAS               PR           00725
          FUND UNIDOS POR EL NUEVO
   181171 SIGLO INC                   PLAZA JARDINES 4012                            SUITE 15                                                                    VEGA BAJA            PR           00693
          FUND. CHANA GOLDSTEIN &
   181172 SAMUEL LEVIS                776 PONCE DE LEON BOX 20                                                                                                   SAN JUAN             PR           00925
   181174 FUNDACION 4 INC             PO BOX 801469                                                                                                              COTO LAUREL          PR           00780‐1469
   181175 FUNDACION A.M.A.R., INC.    P.O. BOX 361173                                                                                                            SAN JUAN             PR           00936
   181176 FUNDACION ACCION SOCIAL     PO BOX 8388                                                                                                                BAYAMON              PR           00960
          FUNDACION ACCION SOCIAL EL
   181177 SHADDAI                     PO BOX 1389                                                                                                                CAROLINA             PR           00986‐1389
          FUNDACION ACCION SOCIAL EL
   181178 SHADDAI INC                 AREA DEL TESORO                                DIVISION DE RECLAMACIONES                                                   SAN JUAN             PR           00902‐4140
          FUNDACION AGENDA
   181179 CIUDADANA                   CITY VIEW PLAZA                                SUITE 510                   NUMERO 48 CARRETERA 16                          GUAYNABO             PR           00968‐3000
          FUNDACION AJEDREZ RAFAEL
   181181 ORTIZ PR INC                PO BOX 1803                                                                                                                CAGUAS               PR           00726‐1803




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          FUNDACION ALAS A LA MUJER
   181182 INC                        PO BOX 360205                                                                                                           SAN JUAN            PR           00936‐0205
          FUNDACION ALAS A LA MUJER
  1256511 INC.                       REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FUNDACION ALAS A LA MUJER,
   181183 INC.                       PMB 495                         89 DE DIEGO AVE. SUITE 105                                                              SAN JUAN            PR           00922
   181184 FUNDACION ALS, INC.        P.O. BOX 2672                                                                                                           BAYAMON             PR           00960
   657076 FUNDACION ALZHEIMER INC    PO BOX 4200                                                                                                             SAN JUAN            PR           00919‐4200
          FUNDACION A‐MAR PARA NINOS
   181185 QUEMADOS, INC              P.O. BOX 13399                                                                                                          SAN JUAN            PR           00908

   181186 FUNDACION AMIGOS DEL CINE P O BOX 5426 100                                                                                                         SAN JOSE                                       COSTA RICA
          FUNDACION AMIGOS DEL PADRE 26 CALLE HERMINIO DIAZ
   657077 DAMIAN INC                 NAVARRO                                                                                                                 GUAYNABO            PR           00970
          FUNDACION AMIGOS PARA UN
   657079 MEJOR AMBIENTE             PO BOX 19585                                                                                                            SAN JUAN            PR           00910
          FUNDACION ANTONIO REYES
   657080 DELGADO                    1 CALLE VICENS                                                                                                          JAYUYA              PR           00664

   181187 FUNDACION ARTE EN CONCRETO PO BOX 364487                                                                                                           SAN JUAN            PR           00936‐4487
          FUNDACION ARTURO
   181188 SOMOHANO                    APARTADO 9113                SANTURCE STATION                                                                          SANTURCE            PR           00908
          FUNDACION ARTURO
   181189 SOMOHANO INC                ORQUESTA FILARMONICA DE PR AREA DEL TESORO                  CONTADURIA GENERAL                                         SAN JUAN            PR           00902
          FUNDACION BANCO POPULAR
   181191 INC                         PO BOX 71563                                                                                                           SAN JUAN            PR           00936‐8663
          FUNDACION BENEFICA POSADA
   657083 DEL ANGEL                   P O BOX 6322                                                                                                           SAN JUAN            PR           00914‐6322
          FUNDACION BIBLIOTECA RAFAEL
   181192 HERNANDEZ                   BOX 2030                                                                                                               PONCE               PR           00733‐2030
          FUNDACIÓN BIBLIOTECA RAFAEL
  1256512 HERNÁNDEZ                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FUNDACION CARLOS MANUEL
   657084 AMADOR ACUSM                11601 ROOSEVELT BLVD DP 8125                                                                                           PHILADEPHIA         PA           19154
          FUNDACION CARLOS MANUEL
   657085 AMADOR GUZMAN               P O BOX 192291                                                                                                         SAN JUAN            PR           00919‐2291
          FUNDACION CARMEN B
   657086 RICHARDSON                  GOLDEN GATE                  94 CALLE AMATISTA                                                                         GUAYNABO            PR           00968

          FUNDACION CASA
   657087 COLOMBIA/CARLOS BARBERENA PO BOX 79042                                                                                                             CAROLINA            PR           00984
                                     HC 01 BOX 1895 BO. MOROVIS
   181195 FUNDACION CASA HOGAR INC. SUR                                                                                                                      MOROVIS             PR           00687
   181196 FUNDACION CASA JOSE INC    PO BOX 6567                                                                                                             CAGUAS              PR           00726‐6567
          FUNDACION CAUSA EN ACCION
   181197 INC                        URB LAS LEANDRAS              CALLE 5 Q 11                                                                              HUMACAO             PR           00791
          FUNDACION CAUSA EN ACCION, URB. LAS LEANDRAS. CALLE 5 Q‐
   181198 INC.                       11                                                                                                                      HUMACAO             PR           00791
   657088 FUNDACION CENA INC         SAINT JUST                    B 100 CALLE 2                                                                             TRUJILLO ALTO       PR           00976
          FUNDACION CENTRO
   181199 PEDIATRICO DE DIABETES     PO BOX 6453 LOIZA STATION                                                                                               SAN JUAN            PR           00914‐6453
          FUNDACION CENTRO
   181200 PEDRIATICO DE DIABETES     PO OX 6453                                                                                                              SAN JUAN            PR           00914‐6453



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          FUNDACION CHANA & SAMUEL
   181201 LEVIS INC                   776 PONCE DE LEON BOX 20                                                                                                          SAN JUAN            PR           00925
          FUNDACION CHANA GOLDSTEIN
   181202 Y SAMUEL LEVIS              776 PONCE DE LEON BZN.20                                                                                                          SAN JUAN            PR           00925‐0000
          FUNDACION COAMENOS POR LA
   181203 NINEZ INC                   22 CALLE BALDORIOTY                            CALLE CARRION MADURO                                                               COAMO               PR           00769
          FUNDACION CONDICIONES DE LA
   181205 TIROIDE INC                 CARR 21 SO LAS LOMAS U‐3‐19                                                                                                       SAN JUAN            PR           00921

   181206 FUNDACION COSTA DEL SOL INC                 URB VILLA LOS OLMOS            7 CALLE 3                                                                          SAN JUAN            PR           00927
          FUNDACION COSTQ DEL SOL,                    URB. VILLA LOS OLMOS CALLE 3
   181207 INC.                                        #7                                                                                                                SAN JUAN            PR           00927
   657089 FUNDACION D A R INC                         PO BOX 360648                                                                                                     SAN JUAN            PR           00936‐0648
   657090 FUNDACION DE AUTISMO                        P O BOX 9023793                                                                                                   SAN JUAN            PR           00936‐3793
   657091 FUNDACION DE CULEBRA INC                    PO BOX 331                                                                                                        CULEBRA             PR           00775‐0331
   181208 FUNDACION DE CULEBRA INC.                   APARTADO 331                                                                                                      CULEBRA             PR           00775‐0331
          FUNDACION DE ESCLEROSIS
   181209 MULTIPLES                                   PMB 196                        PO BOX 194000                                                                      SAN JUAN            PR           00919
          FUNDACION DE ESCLEROSIS
  1256513 MULTIPLES DE PUERTO RICO                    REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FUNDACION DE HOGARES PARA
   181210 TRABAJADORES                                P O BOX 11798                                                                                                     SAN JUAN            PR           00910‐1798
          FUNDACION DEPORTIVA INDIOS
   181211 MAYAGUEZ INC                                URB SULTANA                    802 CALLE LISBOA                                                                   MAYAGUEZ            PR           00680‐1607
          FUNDACION DEPORTIVA PONCE
   181212 LEONES INC                                  URB JARD DE PONCE              D 9 CALLE C                                                                        PONCE               PR           00730
          FUNDACION DESARROLLO
   181213 HOGAR PROPIO                                PO BOX 5250                                                                                                       CAGUAS              PR           00726‐5250
   181214 FUNDACION DIEGO LIZARDI                     PO BOX 360485                                                                                                     SAN JUAN            PR           00936‐0485

   657092 FUNDACION DR ANGEL E JUAN                   PO BOX 493                                                                                                        BAYAMON             PR           00960‐0493
          FUNDACION DR GARCIA RINALDI
   657093 INC                                         PO BOX 8816                                                                                                       SAN JUAN            PR           00910
          FUNDACION EDDIE RIOS
   181216 MELLADO INC                                 P O BOX 191715                                                                                                    SAN JUAN            PR           00917‐1715
          FUNDACION EDUCATIVA ANA G
   181217 MEN                                         APARTYADO 21345                                                                                                   RIO PIEDRAS         PR           00928
   181218 FUNDACION EDUCATIVA CAF                     PMB 9023565                                                                                                       SAN JUAN            PR           00902‐3565

   181219 FUNDACION EDUCATIVA CAF INC PMB 9023565                                                                                                                       SAN JUAN            PR           00902
          FUNDACION EDUCATIVA
   181220 CONCEPCION MARTIN IN        CALL BOX 70006                                                                                                                    FAJARDO             PR           00738
          FUNDACION EDUCATIVA HIMA
   181221 SAN P                       PO BOX 4980                                                                                                                       CAGUAS              PR           00726
          FUNDACION EDUCATIVA HIMA
   181222 SAN PABLO                   PO BOX 4980                                                                                                                       CAGUAS              PR           00726
          FUNDACION EDUCATIVA ISIDRO
   181223 A. SANCHEZ                  PO BOX 193782                                                                                                                     SAN JUAN            PR           00919

   657094 FUNDACION EL AMOR ES INC                    57 CALLE MU¥OZ MARIN STE 2                                                                                        HUMACAO             PR           00791
          FUNDACION EL ANGEL DE
   181224 MGUEL COTTO, INC                            PO BOX 5160                                                                                                       CAGUAS              PR           00726
   657095 FUNDACION EMAUS                             220 STATION 6 PUCPR                                                                                               PONCE               PR           00732



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          FUNDACION ESPERANZA CRIOLLA
   181225 INC                         URB IDAMARIS GARDENS       B 30 CALLE ANGELINO FUENTES                                                             CAGUAS              PR           00727
          FUNDACION ESPERANZA CRIOLLA
   181226 INC.                        URB IDAMARIS GARDENS       CALLE ANGELINO FUENTES B#30                                                             CAGUAS              PR           00727
          FUNDACION ESPOSAS DE                                   PMB 483‐89AVE DE DIEGO STE
   181227 ROTARIOS                    PRO NINOS CON IMPEDIMENTOS 105                                                                                     SAN JUAN            PR           00927‐6348
   657096 FUNDACION FALU              UPR STATION                PO BOX 22976                                                                            SAN JUAN            PR           00931‐2976
          FUNDACION FATIMA RIVERA
   181228 RUIZ INC                    PO BOX 364847                                                                                                      SAN JUAN            PR           00936‐4847
          FUNDACIÓN FELISA RINCÓN DE
  1256514 GAUTIER INC                 REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FUNDACION FERNANDO
   657098 MARTINEZ CAULA              P O BOX 367246                                                                                                     SAN JUAN            PR           00936
   181229 FUNDACION FIST INC          120 CARR 693                                                                                                       DORADO              PR           00646
          FUNDACION FOLKLORICA CULT PO BOX 3324 VALLE ARRIBA
   181230 RAFAEL CEPEDA               HGTS                                                                                                               CAROLINA            PR           00984‐3324
          FUNDACION FONDO ACCESO A
   181231 LA JUSTICIA,INC             AREA DEL TESORO            DIVISION CONTADURIA GENERAL                                                             SAN JUAN            PR           00920
          FUNDACION FORJADORES DE
   181232 ESPERANZAS INC              PO BOX 1638                                                                                                        CANOVANAS           PR           00729‐1638
          FUNDACION GE RIATRICA CASA
   181233 DE CAMP O                   P.O.BOX 40511                                                                                                      SAN JUAN            PR           00940
          FUNDACION GENERAL DE LA
   657099 UNIV DE ALCALA              CALLE LIBREROS 10          28801 ALCALA DE HENARES                                                                 MADRID                                         SPAIN
          FUNDACION GERIATRICA CASA
   657100 DE CAMPO INC                PO BOX 40511                                                                                                       SAN JUAN            PR           00940‐0511
   657101 FUNDACION GOGUI INC         PO BOX 192336                                                                                                      SAN JUAN            PR           00919‐2336
   657102 FUNDACION HIJOS DE LA PAZ   P O BOX 16460                                                                                                      SAN JUAN            PR           0090286460
          FUNDACION HIMA SAN PABLO,
   181234 INC.                        PO BOX 2060                                                                                                        BAYAMON             PR           00960‐2060
          FUNDACION HOGAR ELISA
   181236 MARIA LAZALA                POLO INC                   PARK GARDENS GETTYSBURG T‐3                                                             SAN JUAN            PR           00926
          FUNDACION HOGAR NINITO
   657103 JESUS INC                   PO BOX 192503                                                                                                      SAN JUAN            PR           00919‐2503
          FUNDACION INTERGRACION Y
   181237 FORT DE FAMILIA             JARD DE CAGUAS             16 CALLE A                                                                              CAGUAS              PR           00725
          FUNDACION INTERNACIONAL
   181238 JOSE SANCHEZ                SOCIEDAD HUMANITARIA INC   COND LEOPOLDO FIGUEROA I    364 DE DIEGO APT 815                                        SAN JUAN            PR           00923
          FUNDACION INTERNATIONAL
   181239 BALTAZAR GARZON             5 CALLE DEL CODO                                                                                                   MADRID                           00000         SPAIN
          FUNDACION INTERNATIONAL
   181240 JOSE SANCHEZ                SOCIEDAD HUMANITARIA       CALLE MERHOFF #343          VILLA PALMERAS                                              SAN JUAN            PR           00915
          FUNDACION INVESTIGACION     PALAU DE PINEDA PLAZA DEL
   657104 AUDIOVISUAL                 CARMEN                     4 46003                                                                                 VALENCIA                                       SPAIN
          FUNDACION INVESTIGACION DE
   181241 DIEGO                       998 AVE MUÑOZ RIVERA                                                                                               RIO PIEDRAS         PR           00927

   657105 FUNDACION ISMAEL RIVERA INC ESTACION CALLE LOIZA           P O BOX 6546                                                                        SAN JUAN            PR           00914‐6546
   657106 FUNDACION JIMMY OLSEN       PO BOX 360238                                                                                                      SAN JUAN            PR           00936‐0238
          FUNDACION JOSE CHEGUI
   181242 TORRES                      PO BOX 2006                                                                                                        AIBONITO            PR           00705




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          FUNDACION LATINOAMERICANA                                        URB JARDINES
   181243 PARA LA MUSICA            CONTEMPORANEA                          METROPOLITANOS                 977 CALLE VOLTA                                            SAN JUAN            PR           00927
   181244 FUNDACION LEGADO AZUL     2305 CALLE CACIQUE                                                                                                               SAN JUAN            PR           00913
          FUNDACION LEOPOLDO
   657107 SANABRIA INC              BO PLENA                                                                                                                         SALINAS             PR           00751
          FUNDACION LIONS QUEST DE
   181245 PUERTO RICO, IN           109 ESTE MENDEZ VIGO                                                                                                             MAYAGUEZ            PR           00680

   181246 FUNDACION LUCIERNAGAS INC                   PO BOX 4441                                                                                                    AGUADILLA           PR           00605
          FUNDACION LUIS MIRANDA
   181247 CASANAS                                     PO BOX 71338                                                                                                   SAN JUAN            PR           00936‐8438

   181253 FUNDACION LUIS MUNOZ MARIN SABANA LLAN WARD                      STATE ROAD 877 KM 0.4                                                                     SAN JUAN            PR           00926
          FUNDACION LUIS RIVERA SIACA
   657108 INC                         BUCHANAN OFFICE CENTER               40 RD 165 SUITE 304                                                                       GUAYNABO            PR           00968‐8001
   657109 FUNDACION LUISA CAPETILLO   BOX 301                                                                                                                        ARECIBO             PR           00613
          FUNDACION MARELSY           INSTITUTO FILIOS JARDIN
   181254 HERNANDEZ                   BOTANICO                             CALLE CEIBA                                                                               SAN JUAN            PR           00936
          FUNDACION MAYAGUEZ 2010
   181255 INC                         PO BOX 3248                          58 CALLE RAMOS ANTONINI ESTE                                                              MAYAGUEZ            PR           00681

   657110 FUNDACION MERCEDES RUBI INC PO BOX 193539                                                                                                                  SAN JUAN            PR           00919‐3539
          FUNDACION MIGUEL ANGEL
   181256 ALVAREZ                     356 CALLE CESAR GONZALEZ                                                                                                       HATO REY            PR           00918
          FUNDACION MISION PUERTO
   181257 RICO INC                    CALLE HOGAR DEL NINO                 CARR 176 KM 4 BOX 1722                                                                    SAN JUAN            PR           00926

   181258 FUNDACION MODESTO GOTAY BO LAS CUEVAS                            CARR 876 KM 4 6                                                                           TRUJILLO ALTO       PR           00926
          FUNDACION MOVIMIENTO ETICO
   181260 INC                        P O BOX 195445                                                                                                                  SAN JUAN            PR           00919‐5445

   181261 FUNDACION MUSICA Y PAIS INC                 URB BALDRICH         252 TOUS SOTO                                                                             SAN JUAN            PR           00918

  1256515 FUNDACIÓN MÚSICA Y PAÍS, INC. REDACTED                           REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          FUNDACION MUSICAL DE PONCE
   181262 INC                           6 CALLE VIRTUD                                                                                                               PONCE               PR           00730‐3806
          FUNDACION NACIONAL CULTURA
   181263 POPULAR INC                   P O BOX 9023971                                                                                                              SAN JUAN            PR           00902‐3971
          FUNDACION NACIONAL RAFAEL
   657111 CEPEDA INC                    VILLA PALMERAS                     332 CALLE RAFAEL CEPEDA                                                                   SAN JUAN            PR           00915
          FUNDACION NILITA VIENTOS      8 CALLE RODRIGUEZ SERRA APT
   657112 GASTON                        2B                                                                                                                           SAN JUAN            PR           00907
          FUNDACION NUEVOS TALENTOS
   657114 INC                           EMBLALSE SAN JOSE                  458 CALLE HUESCA                                                                          SAN JUAN            PR           00923
          FUNDACION PARA EL
   181264 DESARROLLO DE PR INC          URB SAN IGNACIO                    1711 CALLE SAN EDMUNDO                                                                    SAN JUAN            PR           00927‐6541
          FUNDACION PARA EL
   657115 DESARROLLO HUMANO             PO BOX 7410                                                                                                                  PONCE               PR           00732‐7410
          FUNDACION PARA EL
   181265 DESARROLLO Y FORMACION        AGUAS BONENSE                      4 CALLE PEDRO ALBIZU                                                                      AGUAS BUENAS        PR           00703
          FUNDACION PARA EL ESTUDIO
   657116 DE DERECHO                    PO BOX 11275                                                                                                                 SAN JUAN            PR           00910 2375



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          FUNDACION PARA LA LIBERTAD
   657117 INC                                         VILLA NEVAREZ PROF CENTER     OFIC 302                                                                     SAN JUAN            PR           00927
          FUNDACION PARA LA
   181266 RECREACION                                  LA EDUCACION Y EL DEPORTE   URB MONTEBELLO               781 CALLE COLLARINA                               DORADO              PR           00960
          FUNDACION PARA LA                           CASCO URBANO DE RIO PIEDRAS
   181267 RESTAURACION DEL                            INC                         898 MUNOZ RIVERA AVE STE 300                                                   SAN JUAN            PR           00927
          FUNDACION PARA LA                           221 AVE PONCE DE LEON STE
   657118 UNIVERSIDAD DE PR                           1402                                                                                                       SAN JUAN            PR           00917
          FUNDACION PEDIATRICA DE
   181268 DIABETES                                    PO BOX 6453                                                                                                SAN JUAN            PR           00914‐6453

   657119 FUNDACION PEDRO COLOMBANI HC 02 BOX 6247                                                                                                               RINCON              PR           00677
          FUNDACION PEDRO ROSELLO
   181269 GONZALEZ                  31‐A PINE GROVE CONDO                                                                                                        CAROLINA            PR           00979
   657120 FUNDACION PEOPLE INC      PO BOX 366511                                                                                                                SAN JUAN            PR           00936

   181270 FUNDACION PEPE H RODRIGUEZ                  700 COND MIRANDA STE 302                                                                                   SAN JUAN            PR           00907
          FUNDACION PONY BEISBOL
   181271 LLORENS TORRES IN                           RES LLORENS TORRES            EDIF 52 APT 1036                                                             SAN JUAN            PR           00913
          FUNDACION PRO AYUDA CIUD
   657121 AGUAS BUENAS                                4 CALLE PEDRO ALBIZU CAMPOS                                                                                AGUAS BUENAS        PR           00703
          FUNDACION PRO DEPTO
   657122 PEDIATRIA ONCOLOGIC                         FERNANDEZ JUNCOS STA          P O BOX 19600                                                                SAN JUAN            PR           00910

          FUNDACION PRO DESARROLLO
   181272 COL SANTA CRUZ                              BOX 1809                                                                                                   TRUJILLO ALTO       PR           00977
          FUNDACION PRO NINOS
   181273 IMPEDIDOS DE ORIENTE                        URB VILLA HUMACAO             A 8 CALLE 14                                                                 HUMACAO             PR           00661
          FUNDACION PRO‐AYUDA DE                                                    22 CALLE GONZALEZ GIUTI STE
   181274 PUERTO RICO                                 CAPARRA OFFICE CENTER         204                                                                          GUAYNABO            PR           00968

          FUNDACION PUERTORRIQUENA
   657123 DE CONSERVACION                             527 AVE ANDALUCIA STE 75                                                                                   SAN JUAN            PR           00920 4131

          FUNDACION PUERTORRIQUENA
   181275 DE PARKINSON                                PO BOX 365031                                                                                              SAN JUAN            PR           00936‐5031

          FUNDACION PUERTORRIQUENA
   181276 DEL RINON INC                               PO BOX 29793                                                                                               SAN JUAN            PR           00929‐9793

          FUNDACION PUERTORRIQUENA
   181277 HUMANIDADES                                 PO BOX 9023920                                                                                             SAN JUAN            PR           00902

          FUNDACION PUERTORRIQUENA
   657124 PRO SALUD MENTA                             P O BOX 9022569                                                                                            SAN JUAN            PR           00902‐2569

          FUNDACION PUERTORRIQUENA
   181278 ZARZUELA Y OPER                             PO BOX 192881                                                                                              SAN JUAN            PR           00919‐2881
          FUNDACION RICHIE ROMANO
   181279 INC                                         P O BOX 25307                                                                                              SAN JUAN            PR           00902
          FUNDACION ROBERTO SANCHEZ
   181280 VILELLA                                     APARTADO 9024152                                                                                           SAN JUAN            PR           00902‐4152
   657125 FUNDACION SALEM INC                         PO BOX 2270                                                                                                ARECIBO             PR           00613



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  657126 FUNDACION SAN PEDRO                          PO BOX 4985                                                                                                        CAGUAS               PR           00726‐4985
         FUNDACION SANTA MARIA DE
 1256516 LOS ANGELES                                  REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
  657127 FUNDACION SANTO CRISTO                       P O BOX 1967                                                                                                       SAN JUAN             PR           00902
  657128 FUNDACION SIDA DE P R                        PO BOX 364842                                                                                                      SAN JUAN             PR           00936

   181284 FUNDACION SILA M CALDERON                   URB SANTA RITA                CALLE GONZALEZ 1012                                                                  SAN JUAN             PR           00925
          FUNDACION SILA M CALDERON
   181285 INC                                         URB SANTA RITA                1012 CALLE GONZALEZ                                                                  SAN JUAN             PR           00925

   181286 FUNDACION SILA M. CALDERON URB SANTA RITA                                 1012 CALLE GONZALEZ                                                                  SAN JUAN             PR           00925
   657129 FUNDACION TODOS A LEER         P O BOX 8639                                                                                                                    SAN JUAN             PR           00910‐0639
          FUNDACION TOMAS RODRIGUEZ
   181287 MEDINA                         JARDINES DE RIO GRANDE                     CALLE 46, AZ‐116                                                                     RIO GRANDE           PR           00745
          FUNDACION U P E N S INC / CTRO
   657130 EL CANINO                      BO ALGOROBO                                CARR 2 KM 40.2 SUITE 15                                                              VEGA BAJA            PR           00693
   181288 FUNDACION U.P.E.N.S., INC.     P.O. BOX 4157                                                                                                                   VEGA BAJA            PR           00694‐0000
   181289 FUNDACION UHS                  P O 23319                                                                                                                       SAN JUAN             PR           00931‐3304
          FUNDACION WILNELIA MERCED
   181290 FORSYTH                        PO BOX 194000 PMB 367                                                                                                           SAN JUAN             PR           00919‐4000
          FUNDACION WILNELIA MERCED
   181292 FORSYTH INC                    PO BOX 9066234                                                                                                                  SAN JUAN             PR           00906‐6234

   657132 FUNDACIONES PERLA 2000 INC                  VILLAS DE CARAIZO             RR 07 BOX 310                                                                        SAN JUAN             PR           00926
   657133 FUNDADOR ANGLERO PAGAN                      P O BOX 1039                                                                                                       BOQUERON             PR           00622‐1039
   657134 FUNDADOR BONET RIOS                         HC 80 BOX 8286                                                                                                     DORADO               PR           00646

   657135 FUNDADOR DE JESUS DE LEON                   HC 03 BOX 11081                                                                                                    YABUCOA              PR           00767
   657136 FUNDADOR DE LEON RIVERA                     BOX 828                                                                                                            HATILLO              PR           00659
   657137 FUNDADOR FLORES BONILLA                     PO BOX 1193                                                                                                        LAJAS                PR           00667
   181293 FUNDADOR GARCIA SOTO                        HC 1 BOX 6485                                                                                                      SANTA ISABEL         PR           00757
          FUNDADOR RIVERA Y/O GLORIA
   181294 RIVERA                                      132 CALLE CECILIA DOMINGUEZ                                                                                        GUAYAMA              PR           00784
   657139 FUNDADOR RODRIGUEZ                          HC 01 BOX 3152                                                                                                     SALINAS              PR           00751
   657140 FUNDADOR SANTIAGO VIDAL                     EXT EL PRADO F 78                                                                                                  AGUADILLA            PR           00603
          FUNDADORA VELAZQUEZ
   657141 HERNANDEZ                                   HC 2 BOX 12909                                                                                                     MOCA                 PR           00676

   181295 FUNDADORES DE ANASCO INC                    PO BOX 2414                                                                                                        ANASCO               PR           00610
          FUNDAMENTAL PRODUCTS
   181296 CORP.                                       100 CARR. 165                 OFICINA 504                                                                          GUAYNABO             PR           00968‐8052
          FUNDATION PUERTORIQUENA
   181297 SINDROME DOWN                               PO BOX 195273                                                                                                      SAN JUAN             PR           00919‐5273
   181298 FUNDESCO                                    P O BOX 6300                                                                                                       CAGUAS               PR           00726‐6300
   181299 FUNDESCO, INC.                              POBOX 6300                                                                                                         CAGUAS               PR           00726‐6300

   657142 FUNENARIA MONTE SANTO INC                   HC 1 BOX 5988                                                                                                      AGUAS BUENAS         PR           00708‐9701

   181302 FUNERARIA ACEVEDO BUITRAGO PO BOX 93                                                                                                                           MAUNABO              PR           00707

   657146 FUNERARIA ACEVEDO BULTRAGO CALLE CALIMANO                                 9 APT 93                                                                             MAUNABO              PR           00707

   657147 FUNERARIA ADAMES MEMORIAL PO BOX 29665                                                                                                                         SAN JUAN             PR           00929‐0665



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          FUNERARIA AGUAS BUENAS
   657148 MEMORIAL                                    PO BOX 211                                                                                                  AGUAS BUENAS        PR           00703
          FUNERARIA AGUAS BUENAS
   181303 MEMORIAL INC                                PO BOX 211                                                                                                  AGUA BUENAS         PR           00703
          FUNERARIA AIBONITO
   181304 MEMORIAL                                    PO BOX 2033                                                                                                 AIBONITO            PR           00705‐2033
          FUNERARIA ALMODOVAR                         CALLE GENERAL DE VALLE #1011
   181305 MONTILLA                                    URB.LAS DELICIAS                                                                                            RIO PIEDRAS         PR           00924‐0000
          FUNERARIA ALTERNATIVE
   181306 CREMATION                                   P O BOX 56210                                                                                               BAYAMON             PR           00960
   181307 FUNERARIA AMADOR                            #152 CALLE DE JESUS CORTES                                                                                  ARECIBO             PR           00612

   181309 FUNERARIA AMELIA MEMORIAL ESQ DIEGO VEGA BO AMELIA                          48 CALLE BALDORIOTY                                                         CATANO              PR           00962
          FUNERARIA ANASCO
   181310 MEMORIAL/ RUBEN RIVERA    35 CALLE VICTORIA                                                                                                             ANASCO              PR           00610
   657149 FUNERARIA ANAYA CORP      204 CALLE MORSE                                                                                                               ARROYO              PR           00714

   657150 FUNERARIA ARECIBO MEMORIAL PO BOX 141747                                                                                                                ARECIBO             PR           00614‐1747

   657151 FUNERARIA ASCENCIO          AVE SANTA JUANITA                               W A 2 HOSTOS SANTA JUANITA                                                  BAYAMON             PR           00960
   181311 FUNERARIA ASENCIO           SANTA JUANITA                                   WA 2 AVE SANTA JUANITA                                                      BAYAMON             PR           00956
   657153 FUNERARIA AVELLANET         33 CALLE SAN ISIDRO                                                                                                         SABANA GRANDE       PR           00637
          FUNERARIA AVELLANET FUNERAL
   181312 HOME                        33 CALLE ISIDRO                                                                                                             SABANA GRANDE       PR           00637
   181313 FUNERARIA AVILES            PO BOX 775                                                                                                                  SAN GERMAN          PR           00683
   181314 FUNERARIA BELMAR            118 AVE BARBOSA                                                                                                             CATANO              PR           00962
          FUNERARIA BONETA GONZALEZ
   181316 INC                         1 RAMON DE JESUS SIERRA                                                                                                     LARES               PR           00669
          FUNERARIA BORINQUEN
   181317 FUNERAL HOME                PO BOX 14245                                                                                                                SAN JUAN            PR           00916
          FUNERARIA BORINQUEN
   657154 MEMORIAL HOME               PO BOX 1148                                                                                                                 CAGUAS              PR           00726‐1148
          FUNERARIA BOULEVARD
   657155 MEMORIAL INC                LEVITTOWN                                       2724 AVE BOULEVARD                                                          TOA BAJA            PR           00949
          FUNERARIA CAMPO RICO
   181319 MENORIAL                    AVE. CAMPO RICO #PA‐15                          COUNTRY CLUB                                                                CAROLINA            PR           00982‐0000
          FUNERARIA CANATORIO LOPEZ
   181320 MEMORIAL                    SECTOR MORELL CAMPOS                            20 CALLE VICTORIA                                                           PONCE               PR           00730
   657156 FUNERARIA CAPILLA SAN BLAS  44 NORTE DR VEVE                                                                                                            COAMO               PR           00640

   181321 FUNERARIA CARLITOS ROMAN                    P O BOX 211                                                                                                 AGUAS BUENAS        PR           00703‐0211
          FUNERARIA CAROLINA
   181322 MEMORIAL                                    25 SAN ANTONIO                                                                                              RIO GRANDE          PR           00745
          FUNERARIA CARRASCO
   657157 MEMORIAL                                    107 AVE CRUZ ORTIZ STELLA SUR                                                                               HUMACAO             PR           00791
          FUNERARIA CASTRO VAZQUEZ
   657158 MEMORIAL                                    PO BOX 7589                     257 CALLE MUNOZ RIVERA                                                      CAROLINA            PR           00986

   181324 FUNERARIA CAYEY MEMORIAL                    AVE. JOSE DE DIEGO 209          OESTE                                                                       CAYEY               PR           00736
          FUNERARIA CEIBA FUNERAL
   181325 HOME                                        PO BOX 473                                                                                                  CEIBA               PR           00735
   657159 FUNERARIA CEMI MEMORIAL                     P O BOX 771                                                                                                 SANTA ISABEL        PR           00757
   657160 FUNERARIA CHARLES                           6 CALLE 13 DE MARZO                                                                                         GUANICA             PR           00653



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          FUNERARIA CHARY &
   181326 HERNANDEZ                                   HC 1 BOX 4497                                                                                        COROZAL               PR           00783
          FUNERARIA CIDRA MEMORIAL
   657161 INC                                         PO BOX 1721                                                                                          CIDRA                 PR           00739

   181327 FUNERARIA COAMENA                           15 CALLE FLORENCIO SANTIAGO                                                                          COAMO                 PR           00769

   181329 FUNERARIA COLON MEMORIAL                    PO BOX 157                                                                                           PENUELAS              PR           00624
   181330 FUNERARIA CONCEPCION                        P O BOX 3446                                                                                         MANATI                PR           00674
                                                      CALLE BENITEZ GUZMAN BOX
   657163 FUNERARIA CONDE ESQUILIN                    1361                                                                                                 VIEQUES               PR           00765
   181332 FUNERARIA CORREA                            PO BOX 2082                                                                                          MOROVIS               PR           00687
   181333 FUNERARIA CORREA HIJO                       PO BOX 3235                                                                                          MANATI                PR           00674

   181334 FUNERARIA CRESPO & ALONSO                   P O BOX 1522                                                                                         MOCA                  PR           00676
   181335 FUNERARIA CRISTO REY                        PO BOX 3372                                                                                          ARECIBO               PR           00613‐3372

   657165 FUNERARIA DE JESUS MEMORIAL PO BOX 591                                                                                                           JAYUYA                PR           00664
   181336 FUNERARIA DE PEDRO          ESQUINA ENRIQUE GONZALEZ                       7 CALLE DUQUES NORTE                                                  GUAYAMA               PR           00784
   181337 FUNERARIA DEL CARMEN        33 CALLE WILSON                                                                                                      CATANO                PR           00962
          FUNERARIA DEL CARMEN
   181341 MEMORIAL                    4 MUNOZ RIVERA                                 APARTADO 27                                                           ADJUNTAS              PR           00601
   657166 FUNERARIA DEL NOROESTE      PO BOX 1375                                                                                                          ISABELA               PR           00662‐1375

   181342 FUNERARIA DEL NOROESTE INC                  PO BOX 1375                                                                                          ISABELA               PR           00662
   181343 FUNERARIA DIAZ                              72 CALLE MUNOZ RIVERA                                                                                TOA ALTA              PR           00953
   181344 FUNERARIA DIAZ ALCANTARA                    CALLE SAN ANTONIO 25                                                                                 RIO GRANDE            PR           00745
          FUNERARIA DIAZ C/O MANUEL
   657167 DIAZ                                        PO BOX 9024275                                                                                       SAN JUAN              PR           00902‐4275

   181345 FUNERARIA EBENEZER                          158 SANTIAGO IGLESIAS PANTIN                                                                         FAJARDO               PR           00738
   181346 FUNERARIA EHRET INC                         PO BOX 19086                                                                                         SAN JUAN              PR           00910‐1086
   657170 FUNERARIA EL BUEN PASTOR                    132 EXT BETANCES                                                                                     VEGA BAJA             PR           00693
   181347 FUNERARIA EL REPOSO                         P O BOX 109                                                                                          CAYEY                 PR           00737
   657171 FUNERARIA EMANUEL                           PO BOX 107                                                                                           FLORIDA               PR           00650
   181349 FUNERARIA ESCARDILLE                        111 CALLE ROBLES                                                                                     SAN JUAN              PR           00925

   181350 FUNERARIA FAJARDO MEMORIAL P O BOX 4138                                                                                                          CAROLINA              PR           00984
                                       CALLE TOMAS CARRION
   181351 FUNERARIA FERMIN RIVERA INC MADURO                                         Y DEGETAU                                                             JUANA DIAZ            PR           00795
                                       Calle Tomas Carrion Maduro,
   831373 Funeraria Fermin Rivera inc. Esq. Dejetau                                                                                                        Juana Diaz            PR           00795
   181352 FUNERARIA FERNANDEZ          PO BOX 1844                                                                                                         ANASCO                PR           00610

   181353 FUNERARIA FERNANDEZ BADILLO AVE LOMAS VERDES 1H ‐ 1                                                                                              BAYAMON               PR           00956
          FUNERARIA FERREIRA          146 AVE UNIVERSIDAD
   181354 MEMORIAL                    INTERAMERICANA                                                                                                       SAN GERMAN            PR           00683
          FUNERARIA FLORES RODRIGUEZ
   657143 INC                         152 CALLE PASTEUR                                                                                                    SAN JUAN              PR           00925

   181355 FUNERARIA FRANKIE MEMORIAL PO BOX 2178                                                                                                           RIO GRANDE            PR           00745

   181357 FUNERARIA FUENTES DE JESUS                  BOX 819                                                                                              JAYUYA                PR           00664



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   657176 FUNERARIA GARCIA MEMORIAL                   35 CALLE RUIZ BELVIS                                                                                CAGUAS              PR           00725
   657178 FUNERARIA GONZALEZ                          3 CALLE FRANCISCO G BRUNO                                                                           GUAYAMA             PR           00784
   657179 FUNERARIA GONZALEZ ARTUS                    98 PASEO DEL ATENA                                                                                  MANATI              PR           00674
   657180 FUNERARIA GONZALEZ ARTUZ                    104 CALLE MCKINLEY                                                                                  MANATI              PR           00674
   181359 FUNERARIA GONZALEZ INC                      PO BOX 615                    169 SAN FELIPE                                                        ARECIBO             PR           00613
          FUNERARIA GONZALEZ
   657181 MARRERO                                     PO BOX 212                                                                                          SABANA HOYOS        PR           00688

   181360 FUNERARIA GUERRA GONZALEZ                   HC‐01                         BOX 6153                                                              GUAYNABO            PR           00971

   657182 FUNERARIA GURABO MEMORIAL N 10 CALLE ANGEL MORALES                                                                                              GURABO              PR           00778
   657183 FUNERARIA GUTIERREZ       2 AVE ANTONIO R BARCELO                                                                                               CAYEY               PR           00736
   181361 FUNERARIA HERNANDEZ       HC‐03, BOX 11754                                                                                                      COROZAL             PR           00783
          FUNERARIA HERNANDEZ
   657184 CORDERO                   BO GUAYDIA 139                                                                                                        GUAYANILLA          PR           00656

   181362 FUNERARIA HERNANDEZ RIVERA P O BOX 3991                                                                                                         AGUADILLA           PR           00605
   181363 FUNERARIA IRIZARRY         PO BOX 875                                                                                                           LARES               PR           00669

   181364 FUNERARIA ISABELA MEMORIAL                  AVE. JUAN HERNANDEZ ORTIZ     #3308                                                                 ISABELA             PR           00662
          FUNERARIA J AVILES MEMORIAL
   181365 INC                                         97 AVE 5 DE DICIEMBRE                                                                               SABANA GRANDE       PR           00637‐1934
          FUNERARIA J G PEREZ
   657188 MEMORIAL                                    10 CALLE CARLOS DEL ROSARIO                                                                         GUANICA             PR           00653
   657189 FUNERARIA J OLIVER                          VILLA DEL CARMEN              3451 CALLE TROPICAL                                                   PONCE               PR           00716
                                                      32 CALLE MANUEL HERNANDEZ
   181366 FUNERARIA JALVIN                            ROSA                                                                                                ANASCO              PR           00610
   657190 FUNERARIA JARAVIZ INC                       PO BOX 1317                                                                                         AGUADILLA           PR           00605
   657191 FUNERARIA JARDIN DEL EDEN                   PO BOX 775                                                                                          CIDRA               PR           00739
   657192 FUNERARIA JAVARIZ                           PO BOX 1022                                                                                         ISABELA             PR           00662
   657193 FUNERARIA JAVARIZ INC                       39 CALLE STAHL                                                                                      AGUADILLA           PR           00603

   657194 FUNERARIA JUNIOR MEMORIAL                   38 CALLE CHEMARY                                                                                    MOCA                PR           00676
   181368 FUNERARIA LA CRUZ                           PO BOX 19086                                                                                        SAN JUAN            PR           00910‐1086
   181369 FUNERARIA LA MONSELLATE                     PO BOX 464                                                                                          SALINAS             PR           00751
   181370 FUNERARIA LA MONSERRATE                     BOX 442                                                                                             HORMIGUEROS         PR           00660
   181371 FUNERARIA LA PAZ                            CALLE GEORGETTI #123                                                                                COMERIO             PR           00782

   657196 FUNERARIA LA RESURRECCION                   PO BOX 530                                                                                          LAS MARIAS          PR           00670
   181372 FUNERARIA LANDRON                           RR 06 BOX 6456                                                                                      TOA ALTA            PR           00953
   657197 FUNERARIA LARES MEMORIAL                    30 CALLE MOLINOS                                                                                    LARES               PR           00669
          FUNERARIA LAS PIEDRAS
   181373 MEMORIAL                                    P O BOX 1967                                                                                        LAS PIEDRAS         PR           00771
          FUNERARIA LEVITTOWN
   657144 MEMORIAL                                    LEVITTOWN STATION             P O BOX 50496                                                         TOA BAJA            PR           00950
   181374 FUNERARIA LOIZA MEMORIAL                    BOX 503                                                                                             LOIZA               PR           00772
   657200 FUNERARIA LOPEZ                             PO BOX 1350                                                                                         LARES               PR           00669

   657201 FUNERARIA LOPEZ MEMORIAL                    P O BOX 7363                                                                                        PONCE               PR           00732
          FUNERARIA LOS SAUCES
   657202 MEMORIAL                                    4407 AVE MILITAR                                                                                    ISABELA             PR           00662




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          FUNERARIA MALDONADO
   657204 MEMORIAL                                    8 CALLE BALDORIOTY                                                                                NAGUABO              PR           00718
   657205 FUNERARIA MARTELL                           306 CALLE POST SUR                                                                                MAYAGUEZ             PR           00680‐2367
   657207 FUNERARIA MARTINEZ                          CALLE BALBOA                                                                                      MAYAGUEZ             PR           00680
          FUNERARIA MAYAGUEZ
   657208 MEMORIAL                                    PO BOX 1264                                                                                       MAYAGUEZ             PR           00681

   181375 FUNERARIA MENDEZ MEMORIAL 804 CALLE MUNOZ RIVERA                                                                                              PENUELAS             PR           00624
                                    CALLE SANTIAGO RIERA PALMER
   181376 FUNERARIA MENDEZ VIGO     #51                         ESQUINA PABLO CASALS                                                                    MAYAGUEZ             PR           00680

   181378 FUNERARIA MERCADO FRANCIS                   252 MUNOZ RIVERA                                                                                  FAJARDO              PR           00738
   657209 FUNERARIA MIRANDA                           PO BOX 202                                                                                        JUNCOS               PR           00777
   181380 FUNERARIA MIRANDA INC.                      PO BOX 202                                                                                        JUNCOS               PR           00777

   181381 FUNERARIA MOCA MEMORIAL                     APARTADO 475                                                                                      MOCA                 PR           00676
   181383 FUNERARIA MONTALVO                          28 CALLE QUINONES                                                                                 CABO ROJO            PR           00623

   181384 FUNERARIA MONTE SANTO INC                   HC 2 BOX 13493                                                                                    AGUAS BUENAS         PR           00703‐9607

   657210 FUNERARIA MONTE SANTO INC. HC 02 BOX 13493                                                                                                    AGUAS BUENAS         PR           00703‐9607
   181385 FUNERARIA MONTEHIEDRA      107 CAMINO CARRAU ATABEY                                                                                           MAYAGUEZ             PR           00680

   181387 FUNERARIA MUNOZ MEMORIAL HC 645 BOX 6622                                                                                                      TRUJILLO ALTO        PR           00976
          FUNERARIA NALDY AMADOR
   181389 CORP                     150 AVE MUNOZ RIVERA ESTE                                                                                            CAMUY                PR           00627
   657212 FUNERARIA NAZARIO        3 CALLE UNION                                                                                                        LAJAS                PR           00667

   657213 FUNERARIA ORION MEMORIAL                    PO BOX 3439                                                                                       GUAYNABO             PR           00970
          FUNERARIA OROCOVIS
   181390 MEMORIAL INC                                PO BOX 302                                                                                        OROCOVIS             PR           00720
   657215 FUNERARIA ORTIZ                             P O BOX 580                                                                                       YAUCO                PR           00698
   181391 FUNERARIA PACHECO                           CALLE MEJIAS #26                                                                                  YAUCO                PR           00698

   181392 FUNERARIA PAGAN MEMORIAL                    PO BOX 8808                                                                                       BAYAMON              PR           00960‐8808
   181393 FUNERARIA PALIN NIETO                       P O BOX 4057                                                                                      VEGA BAJA            PR           00693

   181394 FUNERARIA PATILLAS MEMORIAL PO BOX 686                                                                                                        PATILLAS             PR           00723
   657216 FUNERARIA PEPINO            PO BOX 270                                                                                                        SAN SEBASTIAN        PR           00685

   181395 FUNERARIA PEPINO MEMORIAL                   PEPINO PARK & FUNERAL HOME                                                                        SAN SEBASTIAN        PR           00685
   181396 FUNERARIA PEREZ LLAVONA                     CALLE GEORGETTI # 23                                                                              COMERIO              PR           00782
                                                      2111 AVE PEDRO ALBIZU
   181397 FUNERARIA PEREZ SANTONI                     CAMPOS                                                                                            RINCON               PR           00677

   181398 FUNERARIA PI¥ERO MEMORIAL                   4‐13 AVE MUNOZ RIVERA                                                                             TRUJILLO ALTO        PR           00760

   181399 FUNERARIA PINERO MEMORIAL                   4 CALLE MUNOZ RIVERA                                                                              TRUJILLO ALTO        PR           00977

   181400 FUNERARIA PONCE MEMORIAL                    BO CUATRO CALLES             593 AVE LA CEIBA                                                     PONCE                PR           00717‐1911

   657218 FUNERARIA PUERTA DEL CIELO                  100 CALLE GEORGETTI                                                                               SAN JUAN             PR           00924
   181401 FUNERARIA RAMOS                             PO BOX 142464                                                                                     ARECIBO              PR           00614‐2464



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          FUNERARIA RIO GRANDE
   181402 MEMORIAL                                    62 SAN ANTONIO                                                                              RIO GRANDE          PR           00745
   657222 FUNERARIA RIOS                              10 W CALLE CARRERAS                                                                         HUMACAO             PR           00791
          FUNERARIA RIPOLL MEMORIAL
   657223 INC                                         HC 1 BOX 9086                                                                               TOA BAJA            PR           00949‐9086
          FUNERARIA RIPOLL MEMORIAL,
   181405 INC                                         HC‐01                 BOX 9086                                                              TOA BAJA            PR           00949‐9086

   181406 FUNERARIA RODOX MEMORIAL                    CARR RAMAL 2          448 SECT PAMPANOS                                                     PONCE               PR           00717
   657226 FUNERARIA RODRIGUEZ                         P O BOX 119                                                                                 VILLALBA            PR           00766

   181407 FUNERARIA RODRIGUEZ OSORIO HC 01 BOX 6171                                                                                               CANOVANAS           PR           00729
   181409 FUNERARIA ROLON            PO BOX 430                                                                                                   COROZAL             PR           00783

   181410 FUNERARIA ROSSY MEMORIAL                    PO BOX 1559                                                                                 JAYUYA              PR           00664

   181411 FUNERARIA SAGRADO CORAZON CALLE COLON #123                                                                                              AGUADA              PR           00602
   657228 FUNERARIA SALCEDO         BOX 403                                                                                                       LARES               PR           00669
   181412 FUNERARIA SAN ANDRES      HC 01 BOX 5183                                                                                                BARRANQUITAS        PR           00794
          FUNERARIA SAN ANDRES
   181413 ENTERPRISES               HC 01 BOX 5183                                                                                                BARRANQUITAS        PR           00794
   181414 FUNERARIA SAN ANTONIO     26 AVE. LULIO SAAVEDRA                                                                                        ISABELA             PR           00662
   657233 FUNERARIA SAN BLAS        44 BOBBY CAPO                                                                                                 COAMO               PR           00769
   657236 FUNERARIA SAN CRISTOBAL   HC 01 BOX 5987                                                                                                AGUAS BUENAS        PR           00703
   657237 FUNERARIA SAN FRANCISCO   98 CALLE PAZ                                                                                                  AGUADA              PR           00602
          FUNERARIA SAN ISIDRO
   181417 MEMORIAL                  CALLE #5 PARCELAS 73                    SAN ISIDRO                                                            CANOVANAS           PR           00729
   657238 FUNERARIA SAN JOAQUIN     CARR 123 LOS LIRIOS 47                                                                                        ADJUNTAS            PR           00601
   181418 FUNERARIA SAN JOSE        P.O. BOX 1784                                                                                                 OROCOVIS            PR           00720‐0000
          FUNERARIA SAN JUAN
   657241 MEMORIAL CORP             SANTIAGO IGLESIAS                       CARR 833‐1493                                                         SAN JUAN            PR           00921
          FUNERARIA SAN LORENZO
   181419 MEMORIAL                  155 CALLE JOSE SOUS                                                                                           SAN LORENZO         PR           00754
          FUNERARIA SAN MIGUEL
   181420 MEMORIAL                  BO SAN ISIDRO                           CARR 188 KM 1.4                                                       CANOVANAS           PR           00927
          FUNERARIA SAN PABLO
   657242 MEMORIAL                  BO SAN ISIDRO                           CARR 188 KM 1.3                                                       CANOVANAS           PR           00729
          FUNERARIA SAN SEBASTIAN
   181421 MEMORIAL, INC.            EXPRESO 111, BO. GUATEMALA                                                                                    SAN SEBASTIAN       PR           00685
   181422 FUNERARIA SANTA MARIA INC P O BOX 5157                                                                                                  PONCE               PR           00733‐5157
   657244 FUNERARIA SANTA MARTA     P O BOX 837                                                                                                   SAN GERMAN          PR           00683
   657245 FUNERARIA SANTA ROSA      PO BOX 2911                                                                                                   RINCON              PR           00677
   181423 FUNERARIA SANTA TERESA    713 CALLE DR LOYOLA                                                                                           PENUELAS            PR           00624

   181424 FUNERARIA SANTA TERESA INC                  713 CALLE DR LOYOLA                                                                         PENUELAS            PR           00624

   657246 FUNERARIA SANTIAGO           111 CALLE GEORGETTI BOX 392                                                                                COMERIO             PR           00782
          FUNERARIA SANTO CRISTO DE LA
   181425 SALUD                        QUEBRADA CEIBA #901                                                                                        PENUELAS            PR           00624

   181426 FUNERARIA SENDERO DE LUZ INC 140 CALLE LUIS MUNOZ RIVERA                                                                                GUAYANILLA          PR           00656

   657145 FUNERARIA SENDEROS DEL CIELO 1011 CALLE GEORGETTI                                                                                       JUNCOS              PR           00777



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          FUNERARIA SENORIAL
   181427 MEMORIAL                                    CALLE VILLA SUITE 134                                                                                   PONCE                PR           00730

   181428 FUNERARIA SHALOM MEMORIAL 1646 BO SABANETAS                                                                                                         PONCE                PR           00716‐2975

   181430 FUNERARIA SOTO RODRIGUEZ                    URB CRISTAL              70 CALLE A                                                                     AGUADILLA            PR           00603
          FUNERARIA TOA ALTA
   657250 MEMORIAL                                    RR 2 BOX 6147                                                                                           TOA ALTA             PR           00953
   181432 FUNERARIA TOAVILLE                          CARR. 867 BUZON 10                                                                                      TOA BAJA             PR           00949
                                                      CARR. 31 SALIDA HACIA
   181433 FUNERARIA TONITO FLORES                     NAGUABO                                                                                                 JUNCOS               PR           00777
          FUNERARIA TORRES CARMEN L
   657252 FIGUEROA                                    P O BOX 7428                                                                                            SAN JUAN             PR           00916

   181435 FUNERARIA UTUADO MEMORIAL PO BOX 66                                                                                                                 UTUADO               PR           00641
          FUNERARIA VALENTIN
   181436 MEMORIAL                  CALLE PEDRO ROSARIO #8                                                                                                    AIBONITO             PR           00705

   657254 FUNERARIA VILLA NEVAREZ INC                 P O BOX 2301                                                                                            BAYAMON              PR           00960
   657255 FUNERARIA VINER                             PO BOX 969                                                                                              BAYAMON              PR           00960‐0969
          FUNERARIA Y CAPILLA AVILES
   181437 RAMOS                                       CALLE VICTOR CURBELO                              1835                                                  QUEBRADILLAS         PR           00678
          FUNERARIA Y CAPILLA CARRION
   181438 MEMORIAL                                    102 CALLE MUNOZ RIVERA                                                                                  CANOVANAS            PR           00729

   181439 FUNERARIA Y CAPILLA CORDERO                 PO BOX 998                                                                                              BARCELONETA          PR           00617
          FUNERARIA Y CAPILLA DEL
   181440 CENTRO                                      BO CEDRO ARRIBA          HC 72 BOX 4080                                                                 NARANJITO            PR           00719
          FUNERARIA Y CAPILLA ETERNA
   181441 LUZ                                         PO BOX 508                                                                                              BARCELONETA          PR           00617
          FUNERARIA Y CAPILLA FUENTE
   657257 DE LUZ                                      BO COLLAZO               PO BOX 2706                                                                    VEGA BAJA            PR           00694

   657258 FUNERARIA Y CAPILLA GALVEZ                  52 CALLE VARONA SUAREZ   P O BOX 432                                                                    SAN LORENZO          PR           00754
          FUNERARIA Y CAPILLA
   657259 HERNANDEZ ALVARADO                          BO SAN ISIDRO            73 CALLE 5                                                                     CANOVANAS            PR           00729
          FUNERARIA Y CAPILLA LAS
   657260 MERCEDES                                    PO BOX 1185                                                                                             SAN LORENZO          PR           00754
          FUNERARIA Y CAPILLA
   657261 NARANJITO                                   HC 71 BOX 4080                                                                                          NARANJITO            PR           00719
          FUNERARIA Y CAPILLA PATIN
   657262 HIJOS INC                                   P O BOX 4057                                                                                            VEGA BAJA            PR           00694
          FUNERARIA Y CAPILLA VEGA
   657263 ALTA MEMORIAL                               P O BOX 1736                                                                                            VEGA ALTA            PR           00692

   657265 FUNERARIA Y CAPILLAS AVILES                 PO BOX 775                                                                                              SAN GERMAN           PR           00683

   181444 FUNERARIA Y CAPILLAS BERRIOS PO BOX 1649                                                                                                            COROZAL              PR           00783
          FUNERARIA Y CAPILLAS
   181445 CARRASCO                     252 MUNOZ RIVERA                                                                                                       FAJARDO              PR           00738

   657266 FUNERARIA Y CAPILLAS CARRION 102 CALLE MUNOZ RIVERA                                                                                                 CANOVANAS            PR           00729




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          FUNERARIA Y CAPILLAS CENTRAL
   657267 INC                          25 CALLE SAN ANTONIO                                                                                                    RIO GRANDE           PR           00745

   657268 FUNERARIA Y CAPILLAS CHARLES P O BOX 502                                                                                                             GUANICA              PR           00653

   657269 FUNERARIA Y CAPILLAS CORREA P O BOX 1402                                                                                                             CIALES               PR           00638
          FUNERARIA Y CAPILLAS CRISTO
   657270 REY                         HC 1 BOX 3186                                                                                                            ARECIBO              PR           00688
   657271 FUNERARIA Y CAPILLAS CRUZ   46 JUAN R GARZOT                                                                                                         NAGUABO              PR           00718

   657272 FUNERARIA Y CAPILLAS CRUZ INC 46 CALLE JUAN R GARZOT                                                                                                 NAGUABO              PR           00718
   181446 FUNERARIA Y CAPILLAS DIAZ     72 CALLE MUNOZ RIVERA                                                                                                  TOA ALTA             PR           00693‐2426
          FUNERARIA Y CAPILLAS EL BUEN
   181447 PASTOR INC                    HC 08 BOX 89060                              BARRIO HOYAMALA                                                           SAN SEBASTIAN        PR           00685
          FUNERARIA Y CAPILLAS JUNIOR
   181448 MEMORIAL                      CALLE DON CHEMARY #38                                                                                                  MOCA                 PR           00676

   181449 FUNERARIA Y CAPILLAS LA FE                  54 CALLE CRISTOBAL COLON INT                                                                             YABUCOA              PR           00767
          FUNERARIA Y CAPILLAS LA
   657273 MONSERRATE                                  PO BOX 464                                                                                               SALINAS              PR           00751
          FUNERARIA Y CAPILLAS LAS
   181450 MERCEDES                                    BOX 1185                                                                                                 SAN LORENZO          PR           00754

   181451 FUNERARIA Y CAPILLAS MALAVE 89 CALLE 65 DE INF                                                                                                       ANASCO               PR           00610
          FUNERARIA Y CAPILLAS
   657274 MARRERO                     CARR 2 KM 39 1                                                                                                           VEGA BAJA            PR           00693

   657275 FUNERARIA Y CAPILLAS MEDINA                 URB VALENCIA                   601 AVE BARBOSA                                                           SAN JUAN             PR           00924
          FUNERARIA Y CAPILLAS MELVIN
   181452 AMADOR                                      282 AVE. MU¥OZ RIVERA                                                                                    CAMUY                PR           00627
          FUNERARIA Y CAPILLAS MUNOZ
   181453 LABOY                                       61 CALLE LUIS MUNOZ RIVERA                                                                               YABUCOA              PR           00767
          FUNERARIA Y CAPILLAS
   181454 NARANJITO MEMORIAL                          PO BOX 274                                                                                               NARANJITO            PR           00719

   181455 FUNERARIA Y CAPILLAS NEVAREZ P O BOX 3013                                                                                                            VEGA ALTA            PR           00692
          FUNERARIA Y CAPILLAS OTERO
   657276 AMEZAGA                      PO BOX 84                                                                                                               MOROVIS              PR           00687
   657277 FUNERARIA Y CAPILLAS PEREZ   5 CALLE JUAN P AVILES                                                                                                   LAJAS                PR           00667
          Funeraria y Capillas Ramirez
   831376 Memorial, Inc.               Calle Gerogetty #30                                                                                                     Barceloneta          PR           00617
   657278 FUNERARIA Y CAPILLAS RIOS    P O BOX 303                                                                                                             SAN SEBASTIAN        PR           00685
          FUNERARIA Y CAPILLAS ROBERTO
   657279 MENENDEZ                     23 CALLE PADIAL                                                                                                         MANATI               PR           00674

   181457 FUNERARIA Y CAPILLAS SAN BLAS 44 CALLE BOBBY CAPO                                                                                                    COAMO                PR           00769
          FUNERARIA Y CAPILLAS SAN
   181458 JORGE                         CAPARRA TERRACE                              1595 AVE AMERICO MIRANDA                                                  SAN JUAN             PR           00921

   657285 FUNERARIA Y CAPILLAS SAN JOSE P O BOX 176                                                                                                            OROCOVIS             PR           00720

   657264 FUNERARIA Y CAPILLAS SAN LUIS P O BOX 971                                                                                                            ARECIBO              PR           00612




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          FUNERARIA Y CAPILLAS SAN
   181459 RAMON                                       43 CALLE LUIS FELIPE DESSU                                                                                            JUANA DIAZ           PR           00795

   657286 FUNERARIA Y CAPILLAS STEIDEL                43 A R BARCELO                                                                                                        MAUNABO              PR           00707‐2141
          FUNERARIA Y CAPILLAS STEIDEL
   657287 INC                                         A R 43 BARCELO                                                                                                        MAUNABO              PR           00707
   657288 FUNERARIA Y CAPILLAS VILA                   MAGUEYES                      CALLE 3 BOX 12                                                                          BARRANQUITAS         PR           00617
          FUNERARIA Y CEMENTERIO
   181460 FUENTE DE LUZ                               CALLE 5                       BDA. COLLAZO                                                                            VEGA BAJA            PR           00693
          FUNERARIA Y FLORISTERIA
   181461 CARRASCO                                    252 MUNOZ RIVERA                                                                                                      FAJARDO              PR           00738
          FUNERARIA Y FLORISTERIA
   657291 MOCA MEMORIAL                               PO BOX 475                                                                                                            MOCA                 PR           00676
          FUNERARIA YABUCOA
   657292 MEMORIAL                                    2 CATALINA MORALES                                                                                                    YABUCOA              PR           00767
          FUNERARIA YABUCOA
   181463 MEMORIAL INC                                2 CALLE CATALINA MORALES                                                                                              YABUCOA              PR           00767
          FUNERARIAS MONTE DE SION
   657293 INC                                         P O BOX 1279                                                                                                          SAN LORENZO          PR           00754‐1279
          FUNERARIAS Y CAPILLAS
   657295 CORDERO                                     PO BOX 31                                                                                                             BARCELONETA          PR           00617
  1419803 FUNG RIVERA, MERINE                         JAIME PICÓ MUÑOZ              PO BOX 70199                                                                            SAN JUAN             PR           00936‐8190
   657296 FUNG ZHENY                                  REST LA MURALLA CHINA         753 CALLE ANDALUCIA                                                                     SAN JUAN             PR           00921
   181474 FUNITURE MEDIC                              PO BOX 360058                                                                                                         SAN JUAN             PR           00936‐0058
          FUNNY FARMS PARTY RENTAL
   657297 INC                                         PO BOX 1099                                                                                                           LAS PIEDRAS          PR           00771‐1099
   181475 FUPO                                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   657298 FURIEL AUTO CORP                            PO BOX 8159                                                                                                           CAGUAS               PR           00726
                                                                                    URB. VISTALAGO #102 CIUDAD
  1419804 FURIEL AUTO CORP                            JOSE RESTO HUERTAS            JARDIN                                                                                  GURABO               PR           00778
   181478 FURIPACA INC                                P O BOX 1244                                                                                                          COAMO                PR           00769
   657299 FURMI INC                                   VILLAS DE LOIZA               A 32 CALLE 11                                                                           CONOVANAS            PR           00729
          FURNITURE & TURNING WOOD
   657300 INC                                         COTO LAUREL                   PO BOX 71                                                                               PONCE                PR           00780‐0071
          FURNITURE MEDIC OF PUERTO
   657301 RICO INC                                    PO BOX 360058                                                                                                         SAN JUAN             PR           00936‐0058
          FURNITURE WAREHOUSE
   181479 OUTLET                                      P O BOX 69                    PUEBLO STATION                                                                          CAROLINA             PR           00936‐0069
   657302 FUSER DE PUERTO RICO INC                    PO BOX 21980                                                                                                          SAN JUAN             PR           00931‐1980

   181485 FUSION CONSULLING GROUP                     1353 AVE LUIS VIGOREAUX 574                                                                                           GUAYNABO             PR           00966
   181487 FUSION WORKS INC                            COND PICO CENTER              120 AVE CONDADO SUITE 102                                                               SAN JUAN             PR           00907
   770486 FUSIONWORKS INC                             PICO CENTER 120 SUITE 102     CONDADO AVE                                                                             SAN JUAN             PR           00907‐2755
          FUSTER BERLINGERI MD,
   181503 ROBERTO                                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   657303 FUSTER INC                                  PO BOX 9023509                                                                                                        SAN JUAN             PR           00902
   181552 FUTAGO BONSAI, INC.                         21 CAMINO TOMAS MORALES                                                                                               SAN JUAN             PR           00926
   181553 FUTANGO BONSAI INC                          21 CAMINO TOMAS MORALES                                                                                               SAN JUAN             PR           00926
   657304 FUTONES POR SANGIT                          RR 6 BOX 11435                                                                                                        SAN JUAN             PR           00926‐9502
          FUTURA DEVELOPMENT OF
   181554 PUERTO RICO                                 TETUAN 207                                                                                                            OLD SAN JUAN         PR           00901
   657306 FUTURE AVIATION INC                         14111 JETPORT LOOP                                                                                                    FORT MYERS           FL           33913
   657307 FUTURE BLINDS                               PO BOX 1303                                                                                                           CABO ROJO            PR           00623



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  657308 FUTURE DATA VISION                           PO BOX 6907                                                                                                            BAYAMON                PR           00960
  657309 FUTURE DSS                                   PUERTO NUEVO                  511 AVE ANDALUCIA                                                                        SAN JUAN               PR           00918
         FUTURE FISHERMAN
  657310 FOUNDATION                                   225 REINEKERS LANE            SUITE 420                                                                                ALEXANDRIA             VA           22314
         FUTURE HOME ASSISTANCE
  657311 PROGRAM                                      JARD DE BARCELONA             I 7 CALLE 7                                                                              JUNCOS                 PR           00777

   181555 FUTURE LEARNING FLC CORP                    EXT MARISOL CALLE 3 BZN 106                                                                                            ARECIBO                PR           00612
   657312 FUTURE OF EARTH INC                         PMB 176 P O BOX 704                                                                                                    YABUCOA                PR           00167
   657313 FUTURE OF PUERTO RICO                       PO BOXN 9024095                                                                                                        SAN JUAN               PR           00902‐4095
   657314 FUTURE PACK CORP                            PO BOX 363633                                                                                                          SAN JUAN               PR           00936‐3600
   657315 FUTURE PRODUCTOS CORP                       LOIZA VALLEY                  A 4 CALLE ACACIA                                                                         CANOVANAS              PR           00729

   181558 FUTURE PUBLISHING LTD                       TOWER HOUSE SOVEREIGN PARK LATHKILL STREET MARKET                                                                      LEICESTERSHIRE                      LE16 9EF       UNITED KINGDOM
          FUTURE TECH TRAINING Y
   657316 BANCO POPULAR PR             CLAVE 340                                    PO BOX 362708                                                                            SAN JUAN               PR           00936‐2708
   657317 FUTUROE COM INC              P O BOX 2137                                                                                                                          SAN JUAN               PR           00922
   657318 FUTUROS INC.                 PO BOX 70344                                                                                                                          SAN JUAN               PR           00936
   181560 FUXENCH LOPEZ MD, ZAIDA Z    REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED               REDACTED     REDACTED       REDACTED
   181562 FV ADVERTISING & ADVISORS    PO BOX 889                                                                                                                            FAJARDO                PR           00738
   657319 FYC INFORMATION GROUP        1519 PONCE DE LEON AVE                       SUITE 1408                                                                               SAN JUAN               PR           00909
   657320 FYS CONSTRUCTION             PO BOX 13487                                                                                                                          SAN JUAN               PR           00908
                                       PMB 299, SUITE 2 405
   181567 G ‐ CONTRACTORS GROUP , INC. ESMERALDA AVE                                                                                                                         GUAYNABO               PR           00969‐0000

   657323 G & G COMMUNICATIONS INC. EST DE SAN FERNANDO                             C26 CALLE 1                                                                              CAROLINA               PR           00985
   181570 G & G CONSULTING, CORP       HC‐5 BOX 28450                                                                                                                        UTUADO                 PR           00641
          G & G ENGINEERING &
   657324 CONSTRUCTION CORP            P O BOX 204                                                                                                                           MANATI                 PR           00674‐0204
          G & J ENTERPRISES / DBA
   657325 SECURITY DOOR                PO BOX 9054                                                                                                                           SAN JUAN               PR           00908‐0054
          G & M BUILDERS AND INTERIORS
   181571 DESIGN                       PO BOX 1035                                                                                                                           DORADO                 PR           00646
   657326 G & M NATIONAL SUPPLY        PO BOX 930173                                                                                                                         SAN JUAN               PR           00930‐0173
          G & N MECHANICAL
   657329 CONTRACTORS INC              HC 02 BOX 12559                                                                                                                       AGUAS BUENAS           PR           00703

   657330 G & P ADVISORY GROUP CORP                   22 CALLE SOL                                                                                                           PONCE                  PR           00730‐3820
   657331 G & S CORP                                  URB DEL CARMEN                421 CALLE DE DIEGO                                                                       SAN JUAN               PR           00923‐3016
   831377 G & S Embroidery                            Andalucia 527, Suite 98                                                                                                Rio Piedras            PR           00920
          G 8 INC GRUPOS DE LOS OCHO                                                LAS MONJAS 162 CALLE PACHIN
   181573 COM ALEDANAS                                AL CANO MARTIN PENA           MARIN                                                                                    SAN JUAN               PR           00917
   657332 G A DE PUERTO RICO                          URB BELISA                    1532 CALLE BORI                                                                          SAN JUAN               PR           00927‐6116
   657333 G A DEL CARIBE                              STATION 1                     PO BOX 6244                                                                              BAYAMON                PR           00961‐9998
          G A F ELECTRIC GENERAL
   657334 CONTRACTOR                                  BOX 441                                                                                                                GURABO                 PR           00778
   181574 G A INVESTORS S E                           PO BOX 6359                                                                                                            CAGUAS                 PR           00726‐6359
          G A N E AUTO ENTERPRISES
   657335 CORP                                        PMB 520 MONTE LLANO MALL                                                                                               CAYEY                  PR           00736
   181575 G AND G CONSULTING CORP                     URB SABANERA DEL RIO          237 CALLE GUARAGUAO                                                                      GURABO                 PR           00778
   181578 G AND T AUTO SERVICE INC                    PO BOX 767                                                                                                             TOA BAJA               PR           00951‐0767
          G B CONSTRUCTION AND
   657337 ARCHITECTURAL DESI                          P M B SUITE 200               90 AVE RIO HONDO                                                                         BAYAMON                PR           00961



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  181579 G B CONTRACTOR                               REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   657339 G B TITLE SEARCH CORPORATION OFICINA 901 COND EL CENTRO                                                                                                   SAN JUAN              PR         00918
   657340 G C COMPANY CORP             PO BOX 860                                                                                                                   GUAYNABO              PR         00970
   657341 G C RECICLAJE INC P T        P O BOX 690                                                                                                                  PUNTA SANTIAGO        PR         00741
   181557 G CODE LLC                   PARK GARDENS                          E 43 MARACAIBO                                                                         SAN JUAN              PR         00926
   181581 G CONTRACTORS GROUP INC      PMB 299 SUITE 2                       405 ESMERALDA AVE                                                                      GUAYNABO              PR         00969
   657342 G D TIRE REPAIR EQUIPMENT    PO BOX 29618                                                                                                                 SAN JUAN              PR         00929
          G E APPLIANCE CARIBBEAN AND
   181582 CO                           PO BOX 9                                                                                                                     CAROLINA              PR         00986
   657343 G E CAPITAL CORP             CAPARRA HEIGHTS STATION               PO BOX 11902                                                                           SAN JUAN              PR         00922 1902
   181583 G E D ANNUAL CONTRACT        REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   181584 G E FLEET SERVICE OF PR      PO BX 11902                                                                                                                  SAN JUAN              PR         00922
   657344 G E PENSION TRUST            STATES STREET TRUST CO                POST OFFICES BOX 5615                                                                  BOSTON                MA         02206‐5615
          G E POWER PROTECTION DE P R
   657346 INC                          PO BOX 362709                                                                                                                SAN JUAN              PR         00936‐2709
                                       AMELIA DISTRIBUTION CTR
   657347 G E SUPPLY DEL CARIBE        CALLE DIANA                                                                                                                  GUAYNABO              PR         00968
   657348 G F REFRIGERATION SALES      URB SAN ANTONIO                       3 A CALLE 3                                                                            AGUAS BUENAS          PR         00703
   657349 G FERNANDEZ CO               PO BOX 1537                                                                                                                  CAROLINA              PR         00984

   657350 G G DEVELPERS & CONTRACTORS PMC B 2                                406 CALLE TABONUCO                                                                     GUAYNABO              PR         00968 3004
   181586 G H B CORP‐H/N/C TINO GAS   PO BOX 70205                                                                                                                  SAN JUAN              PR         00936‐8205
          G I PROFESIONAL CLEANING
   657351 SERVICES CORP               URB VILLA ANDALUCIA                    N 43 CALLE ALORA                                                                       SAN JUAN              PR         00926
   657321 G IMAGEN                    P O BOX 9023040                                                                                                               SAN JUAN              PR         00902
   181589 G LADY E PEREZ BRUNET       REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   181590 G LLINAS Y CIA S EN C       PO BOX 25                                                                                                                     YAUCO                 PR         00698
   657353 G M D AIRLINE SERVICES INC  AIRPORT STA                            P O BOX 37667                                                                          SAN JUAN              PR         00937‐7667
   657354 G M D P R CONSULTANT        PMB 43                                 382 AVE SAN CLAUDIO                                                                    SAN JUAN              PR         00926‐9910
   657355 G M MULTI SYSTEMS CORP      PMB 267 PO BOX 70158                                                                                                          SAN JUAN              PR         00936‐3158
   657357 G M ONLY AUTO PARTS         CARR 6685                                                                                                                     MANATI                PR         00674
   657358 G MANAGEMENT CORP           P O BOX 276                                                                                                                   SAINT JUST            PR         00978‐0276
   657359 G MASSA ESSO                PO BOX 1742                                                                                                                   JUNCOS                PR         00777
   657360 G MAY CORP                  PO BOX 386                                                                                                                    LARES                 PR         00669
   657361 G MAY CORPORATION           PO BOX 386                                                                                                                    LARES                 PR         00669
   657362 G MED PRODUCTS              VALLE ARRIBA HGTS                      B F 9 CALLE NOGAL                                                                      CAROLINA              PR         00983
   181595 G NAVAS & ASOCIADOS INC     CONDOMINIO PICO                        120 AVE CONDADO SUITE 303                                                              SAN JUAN              PR         00907
   181596 G P ELECTRICAL SERVICES     HC 15 BOX 16160                                                                                                               HUMACAO               PR         00791
   657363 G P K INC                   535 FLOYD SMITH DR                                                                                                            EL CAJON              CA         92020
          G P MENTAL HEALTH
   657364 ASSOCIATES                  COND MADRESELVA APT 602                I 7 CALLE ALBANO                                                                       GUAYNABO              PR         00968
          G P S TECHNICAL CONSULTANTS
   181597 INC                         URB VILLA ESPANA                       R24 CALLE CORDOVA                                                                      BAYAMON               PR         00961
   657365 G PH MOTORS CORP            PO BOX 29468                                                                                                                  SAN JUAN              PR         00929
   657366 G R CASH & CARRY            PO BOX 9024275                                                                                                                SAN JUAN              PR         00902‐4275
   657367 G R FABRICS                 SAN AGUSTIN                            465 CALLE MARGINAL                                                                     BAYAMON               PR         00959
   657368 G R TRANSPORT INC           39 BO SABANETAS                                                                                                               MERCEDITA             PR         00715
   657369 G REPAIR SHOP INC           P O BOX 8788                                                                                                                  CAROLINA              PR         00988
   657370 G RIVERA ZAYAS STATION      PO BOX 374                                                                                                                    SALINAS               PR         00751
                                      100 GRAND BOULEVARD PASEO
   657371 G S P CORP                  STE G 1                                                                                                                       SAN JUAN              PR         00926




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   657372 G S W RADIOLOGY GROUP INC                    PO BOX 9020893                                                                                                       SAN JUAN            PR           00902
          G T A GONZALEZ TORRES &
   657373 ASSOCIATES                                   530 AVE PONCE DE LEON                                                                                                SAN JUAN            PR           00901
   657374 G T CONSTRUCTION                             HC 02 BOX 7314                                                                                                       OROCOVIS            PR           00720
   657375 G T E INFORMATION SYSTEMS                    PO BOX 641055                                                                                                        PITTSBURGH          PA           15264
   657376 G T SERVICES INC                             PO BOX 6205                                                                                                          CAGUAS              PR           00726
   657377 G T TRAVEL INC                               URB PUERTO NUEVO            257 AVE DE DIEGO                                                                         SAN JUAN            PR           00920
   657378 G V SYSTEM                                   VILLA CAROLINA              108‐21 AVE CENTRAL                                                                       CAROLINA            PR           00985
   181598 G V SYSTEM CORP                              PO BOX 361622                                                                                                        SAN JUAN            PR           00936

   657379 G W MEDICAL PUBLICHING INC                   77 WESPORT PLAZA            SUITE 366 ST LOUIS MO 63146                                                              ST LOUIS            MO           63146
   181599 G WORKS INC                                  TORREMOLINOS                A 13 CALLE L                                                                             GUAYNABO            PR           00969
   181600 G WORKS, INC.                                TORREMOLINOS                CALLE L A‐13                                                                             GUAYNABO            PR           00969
   657380 G X CONSTRACTOR INC                          RR 2 BOX 6224                                                                                                        TOA ALTA            PR           00953
   657381 G.B. CONTRACTOR                              URB. SAN JUAN GARDENS       CALLE SAN BRUNO E‐1                                                                      RIO PIEDRAS         PR           00926
   657382 G.B. NURSERY INC                             PO BOX 1954                                                                                                          SAN JUAN            PR           00936
                                                       131 AVE ELEANOR ROOSEVELT
   181604 G.D.V. GROUP INC                             STE 1                                                                                                                SAN JUAN            PR           00918
   657383 G.J. GODREAU ASSOCIATES                      PO BOX 361342                                                                                                        SAN JUAN            PR           00936
   657384 G.J. NIZZO INC.                              PO BOX 489                                                                                                           SAN JUAN            PR           00902
   657385 G.M. GROUP INC.                              PO BOX 364527                                                                                                        SAN JUAN            PR           00936
   657386 G.NEIL COMPANIES                             720 INTERNATIONAL PKWY      PO BOX 450939                                                                            SUNRISE             FL           33345
   657387 G.R.C. ENGINEERING                           P.O. BOX 6728                                                                                                        BAYAMON             PR           00920
   657388 G.S. DISTRIBUTORS                            P.O. BOX 1979                                                                                                        LAS PIEDRAS         PR           00771‐1979
          G.T. Corp./División González
   831378 Trading                                      PO Box 364884                                                                                                        San Juan            PR           00936
   657389 G/C COMPANY D/B/A                            PO BOX 860                                                                                                           GUAYNABO            PR           00970
          G4S SECURE SOLUTIONS
   181606 (PUERTO RICO), INC.                          PO BOX 3952                                                                                                          GUAYNABO            PR           00970‐3952
   181607 G4S SECURITY SERVICES INC                    P O BOX 3952                                                                                                         GUAYNABO            PR           00970‐3952
   657390 G‐77 INC                                     PO BOX 4227                                                                                                          BAYAMON             PR           00958‐4227

   181608 GA AIRCRAFT ACCESSORIES CORP 203 CALLE GUAYAMA ALTOS                                                                                                              SAN JUAN            PR           00917
   181610 GA CHEE CHEN CHEN            REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   181612 GA CONSULTING ASSOCIATES LLC 212 REGAN LANE                                                                                                                       VOORHEES            NJ           08043
   181613 GA DEVELOPERS SE             P O BOX 19400 PMB 369                                                                                                                SAN JUAN            PR           00919
   181615 GA PRODUCTS & CO INC         P O BOX 363294                                                                                                                       SAN JUAN            PR           00936‐3294
   657391 GABERTO VELEZ VIRELA         BZN 6374                                                                                                                             LARES               PR           00669

   181617 GABIANGIE BERRIOS RODRIGUEZ REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   657392 GABINA OCASIO RODRIGUEZ     SAINT JUST                                   38 CALLE BETONIA                                                                         TRUJILLO ALTO       PR           00976
   657393 GABINA TORRES DE JESUS      P O BOX 843                                                                                                                           ARROYO              PR           00714
   657394 GABINETES BUTERA            VALENCIA                                     P 20 AVE ORQUIDEA                                                                        BAYAMON             PR           00957
   657395 GABINETES RODRIGUEZ         HC‐01 BOX 11725                                                                                                                       CAROLINA            PR           00981
   181619 GABINO CARRILLO             REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   181620 GABINO CEDENO MALDONADO                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181624 GABINO DIAZ RODRIGUEZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181625 GABINO FELICIANO SOTO                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   657397 GABINO FIGUEROA AYALA                        RR 36 BOX 11554                                                                                                      SAN JUAN            PR           00926
   657398 GABINO FORTY FORTY                           HC 1 BOX 6410                                                                                                        CANOVANAS           PR           00729



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  181626 GABINO GARCES                                REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  181627 GABINO GARCIA DAVILA                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   657399 GABINO IRIZARRY SORRENTINI                  PO BOX 240                                                                                                   SAN GERMAN          PR         00623
   657400 GABINO LOPEZ PAGAN                          URB ALTAMIRA           E 7 CALLE 9                                                                           FAJARDO             PR         00738
          GABINO MORALES PUMPING
   657401 SERVICE                                     PO BOX 275                                                                                                   TRUJILLO ALTO       PR         00977
   657402 GABINO OLIVERCIA RIVERA                     HC 03 BOX 9115                                                                                               LARES               PR         00669
   657403 GABINO PLANELL MOLINA                       URB TORRIMAR EST       B1 CALLE PARK                                                                         GUAYNABO            PR         00969
   181634 GABINO VELEZ VALENTIN                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   657404 GABO STAY KOOL AIR                          URB COCO BEACH         218 CALLE MANATI                                                                      RIO GRANDE          PR         00745
          GABRIEL A AGUIRRE
   181636 VILLARONGA                                  REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   181637 GABRIEL A ARMAIZ PENA                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GABRIEL A COLACIOPPO
   181638 ALVAREZ                                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GABRIEL A COLON PEREIRA /
   181640 ENID A PEREIRA                              REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   181641 GABRIEL A CORREA COLON                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GABRIEL A COTTO /FELIX A
   181642 COTTO FEBO                                  REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   657412 GABRIEL A CRESPO AVILA                      COTTO STATION          PO BOX 9518                                                                           ARECIBO             PR         00613
   181643 GABRIEL A DELGADO                           REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GABRIEL A FERNANDEZ
   657413 RODRIGUEZ                                   BO CAPETILLO           314 CALLE ROBLES                                                                      SAN JUAN            PR         00923

   181644 GABRIEL A FONSECA RODRIGUEZ REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   181645 GABRIEL A GARCIA LOPEZ      REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   657414 GABRIEL A GARCIA RIVERA     PO BOX 153                                                                                                                   CIDRA               PR         00739
   181646 GABRIEL A GOMEZ SANTIAGO    REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   657415 GABRIEL A GONZALEZ SALAZAR                  RR 01 BOX 23057                                                                                              ANASCO              PR         00610
          GABRIEL A GRILLASCA
   657416 HERNANDEZ                                   EXT EL COMANDANTE      536 CALLE SANDAMIAN                                                                   CAROLINA            PR         00982
   657419 GABRIEL A INFANTE MENDEZ                    URB LAS DELICIAS       3437 CALLE JOSEFINA MOLL                                                              PONCE               PR         00728
   181647 GABRIEL A IRIZARRY LOZADA                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   181648 GABRIEL A MALDONADO                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GABRIEL A MALDONADO
   181649 ROSARIO                                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GABRIEL A MARRERO
   181650 BETANCOURT                                  REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   181651 GABRIEL A MATOS SALAS                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   657405 GABRIEL A MEDAL DIAZ                        RR 9 BOX 1626                                                                                                SAN JUAN            PR         00926‐9742
   181653 GABRIEL A MELENDEZ COLON                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   181654 GABRIEL A MERCADO                           REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   657420 GABRIEL A MIRANDA                           URB MARIA DEL CARMEN   F 13 CALLE 5                                                                          COROZAL             PR         00783

   181655 GABRIEL A MOLINA BACHILLER                  REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   657421 GABRIEL A MONTERO TORRES                    71 AR RAMOS                                                                                                  UTUADO              PR         00641

   657422 GABRIEL A MORENO SANTIAGO                   P O BOX 9022593                                                                                              SAN JUAN            PR         00902
   181658 GABRIEL A OLIVERAS TORRES                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  181659 GABRIEL A ORTIZ REDONDO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  181660 GABRIEL A PANTOJAS FLORES                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   181661 GABRIEL A PEREIRA TORRELLAS                 REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   657424 GABRIEL A PEREZ PEREZ                       COLINAS DE FAIR VIEW         4K 32 CALLE 214                                                                       TRUJILLO ALTO       PR         00976
   181662 GABRIEL A RAMOS ROSA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   657425 GABRIEL A RESTO LOPEZ                       PMB SUITE 279                90 AVE RIO HONDO                                                                      BAYAMON             PR         00961‐3100
   181663 GABRIEL A RIVERA MARTINEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   657426 GABRIEL A RIVERA RIVERA                     BOX 3048                                                                                                           CIDRA               PR         00739
   181664 GABRIEL A RIVERA SANCHEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   181665 GABRIEL A RIVERA SANTIAGO                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   657427 GABRIEL A ROBLES GUZMAN                     HC 1 BOX 7044                                                                                                      AGIAS BUENAS        PR         00703

   657428 GABRIEL A RODRIGUEZ RIVERA                  HC 01 BOX 1405                                                                                                     BOQUERON            PR         00622
          GABRIEL A RODRIGUEZ
   181667 VELAQUEZ                                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   181668 GABRIEL A RUSSE ROSADO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   181669 GABRIEL A SANCHEZ FLORES                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   181670 GABRIEL A SANTIAGO ALICEA                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   181671 GABRIEL A SANTIAGO ORTIZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   181672 GABRIEL A SEDA GONZALEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   657430 GABRIEL A SEGINOT RIVERA                    RR 1 BOX 14178                                                                                                     OROCOVIS            PR         00720‐9521
   181673 GABRIEL A TORRES FEBUS                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   181674 GABRIEL A VARGAS                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   181676 GABRIEL A VEGA RODRIGUEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   657431 GABRIEL A. GARCIA PEAGUDO                   MADRE SELVA 1141             MANSIONES DE RIO PIEDRAS                                                              SAN JUAN            PR         00926
   181677 GABRIEL A. RIVERA RIVERA                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   657432 GABRIEL ACEVEDO MOTORS INC BO CAIN BAJO                                  CARR 2 KM 17 9                                                                        SAN GERMAN          PR         00683
   181678 GABRIEL ACEVEDO ROMAN      REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   181680 GABRIEL AGOSTO RESTO       REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   657434 GABRIEL ALDARONDO BARADA                    BO GALATEO ALTO              BZN 5 ‐ 180                                                                           ISABELA             PR         00662

   657435 GABRIEL ALEJANDRO ANDALUZ                   HC 09 BOX 59014                                                                                                    CAGUAS              PR         00725
          GABRIEL ALEJANDRO GIL
   181683 MIRANDA                                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   181685 GABRIEL ALICEA ALVERIO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   657436 GABRIEL ALICEA RIVERA                       BO HATO TEJAS                29 CALLE ABRA ESTRECHA                                                                BAYAMON             PR         00958
   181686 GABRIEL ALMEDINA                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   181687 GABRIEL ALVAREZ MEDINA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GABRIEL AMILL DBA
   181688 PUBLICACIONES YUQUIYU                       1131 AVE. JESUS T. PINEIRO                                                                                         SAN JUAN            PR         00920
          GABRIEL AMILL MILLAN DBA
   657437 PUBLICACIONES Y                             URB MONTEHIEDRA              288 CALLE JIGUERO                                                                     SAN JUAN            PR         00926‐7109
   181689 GABRIEL ANDINO BAEZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GABRIEL ANDRES PEREIRA
   181690 TORRELLAS                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   181691 GABRIEL ANGLERO GONZALEZ  REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GABRIEL ANTONIO DOMINGUEZ
   181692 DE JESUS/                 METZY DE JESUS                                 PO BOX 522                                                                            TRUJILLO ALTO       PR         00926




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          GABRIEL ARMANDO PEREZ
   181693 FERRER                                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   181694 GABRIEL AVILES GONZALEZ                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   657439 GABRIEL AVILES ORTIZ                        HC 3 BOX 7786                                                                                              BARRANQUITAS         PR         00794
                                                      HOSPITAL VETERINARIO
   657440 GABRIEL B CASTRO FERRER                     CONDADO                73 AVE CONDADO                                                                      SAN JUAN             PR         00907
   181695 GABRIEL B VELEZ SUAU                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   657441 GABRIEL BAEZ FIGUEROA                       PO BOX 10452                                                                                               OROCOVIS             PR         00720
   181696 GABRIEL BARRETO FIGUEROA                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   181699 GABRIEL BIRRIEL RAMOS                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   181700 GABRIEL BONILLA VALEDON                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   181701 GABRIEL BUENDIA MORALES                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   657406 GABRIEL BURGOS ESQUILIN                     HC 01 BOX 4334                                                                                             NAGUABO              PR         00718‐9712
   181703 GABRIEL CABEZAS MARRERO                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   181704 GABRIEL CABRERA COLON                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   181705 GABRIEL CARABALLO CARABALLO REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   181706 GABRIEL CARABALLO OVALLES                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   181707 GABRIEL CARTAGENA                           REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   181708 GABRIEL CASTRO GONZALEZ                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   657443 GABRIEL CEPEDA PIZARRO                      BOX 185                                                                                                    LOIZA                PR         00772
   181710 GABRIEL COLLAZO BURGOS                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   657444 GABRIEL COLLAZO VAZQUEZ                     PO BOX 284                                                                                                 UTUADO               PR         00641
   181711 GABRIEL COLON                               REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   181712 GABRIEL COLON CABALLERO                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   657445 GABRIEL COLON FIGUEROA                      PO BOX 21999                                                                                               SAN JUAN             PR         00931‐1999
   657446 GABRIEL COLON PEREZ                         PO BOX 911                                                                                                 CIDRA                PR         00739
   181714 GABRIEL COLON RIVERA                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   181715 GABRIEL CORDERO VEGA                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   181716 GABRIEL CORTES HERNANDEZ                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   181718 GABRIEL COSME CONCEPCION                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   657448 GABRIEL COTTO GONZALEZ                      HC 01 BOX 5420                                                                                             ARROYO               PR         00714
   657449 GABRIEL COTTO RIVERA                        BO VEGA REDONDA        BOX 680                                                                             COMERIO              PR         00782
   181719 GABRIEL CRUZ DIAZ                           REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   657452 GABRIEL CRUZ GERENA                         PARC HILL BROTHERS     23 CALLE 15                                                                         SAN JUAN             PR         00924
   657453 GABRIEL CRUZ ROMAN                          HC 01 BOX 5531                                                                                             CIALES               PR         00638
   181721 GABRIEL CRUZ SALGADO                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   657454 GABRIEL CURET SOTO                          RES KENNEDY            EDIF 29 APTO 258                                                                    MAYAGUEZ             PR         00680
   657455 GABRIEL CUYAR ALVAREZ                       PO BOX 16554                                                                                               SAN JUAN             PR         00908‐6554

   657456 GABRIEL D NARVAEZ CENTENO                   URB SAN DEMETRIO       393 CALLE PEZ VELA                                                                  VEGA BAJA            PR         00693
   181723 GABRIEL D RAMOS PINERO                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   657457 GABRIEL D SERRANO                           JARDINES DE PONCE      A 13 CALLE A                                                                        PONCE                PR         00731
   181724 GABRIEL D SERRANO VELEZ                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   657458 GABRIEL DAVILA CINTRON                      HC 01 BOX 4065                                                                                             VILLALBA             PR         00766
   181725 GABRIEL DE GRACIA ORTIZ                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
          GABRIEL DE JESUS ANTONIO
   657459 QUEZADA                                     VILLA PRADES           678 CALLE JULIO ANDINO                                                              SAN JUAN             PR         00924‐2205
   181726 GABRIEL DE JESUS PEREZ                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   657460 GABRIEL DE JESUS RIOS                       PO BOX 141836                                                                                              ARECIBO              PR         00614




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   181727 GABRIEL DE JESUS RODRIGUEZ                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181728 GABRIEL DE JESUS TORO                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181729 GABRIEL DE JESUS TORRES                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181731 GABRIEL DEL RIO SOLA                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      53 CALLE PEDRO ARZUAGA
   657462 GABRIEL DELGADO OSORIO                      OESTE                                                                                                      CAROLINA            PR           00985
   181732 GABRIEL DELGADO ROSADO                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   657407 GABRIEL DOMINGUEZ FLORES                    HC 3 BOX 39304                                                                                             CAGUAS              PR           00725

   181738 GABRIEL E ALVAREZ MARTINEZ                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181740 GABRIEL E ANDINO ACEVEDO                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GABRIEL E CASILLAS
   181741 MALDONADO                                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   181742 GABRIEL E CORCHADO MENDEZ                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   657465 GABRIEL E CRUZ HERNANDEZ                    URB METROPOLIS           M 3 CALLE 18                                                                      CAROLINA            PR           00987

   657466 GABRIEL E EMANUELLI RIVERA                  COND UNIVERSITY PLAZA    CALLE TULANE APT 51                                                               SAN JUAN            PR           00927‐4922
          GABRIEL E FERRER Y MARIA DEL
   181743 ROSARIO                                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181745 GABRIEL E LOPEZ ORTIZ                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   181746 GABRIEL E LOYOLA HERNANDEZ                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181747 GABRIEL E LUGO RODRIGUEZ                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   181748 GABRIEL E MOJICA RODRIGUEZ                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181749 GABRIEL E MOYA VAZQUEZ                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181750 GABRIEL E MUNOZ KLINGER                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181751 GABRIEL E PAGAN CORDERO                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181753 GABRIEL E RIVERA APONTE                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   657467 GABRIEL E ROVIRA TIRADO                     URB MEDINA               C 1 CALLE 3                                                                       ISABELA             PR           00662
   181754 GABRIEL E SANCHEZ IRIZARRY                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   657468 GABRIEL E SOTO PEREZ                        SAN JOSE                 433 CALLE ARANJUEZ                                                                RIO PIEDRAS         PR           00923
          GABRIEL E SOTO PEREZ Y/O
   657469 ANTONIA PEREZ                               SAN JOSE                 433 CALLE ARANJUEZ                                                                SAN JUAN            PR           00923

   181755 GABRIEL E TERRON CANDELARIA REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   181756 GABRIEL E VAZQUEZ GONZALEZ                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181757 GABRIEL E. ANDINO ACEVEDO                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181758 GABRIEL E. LUGO RODRIGUEZ                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181759 GABRIEL E. PRIETO RIVERA                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GABRIEL E. RODRIGUEZ
   181760 RODRIGUEZ                                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   657470 GABRIEL ENCARNACION OSORIO EST DEL ATLANTICO LUQUILLO                B 1 C/2 APDO 420                                                                  LUQUILLO            PR           00773
          GABRIEL ENGRAVING CENTER
  1256517 INC                        REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GABRIEL ENGRAVING CENTER
   181762 INC.                       PO BOX 192184                                                                                                               SAN JUAN            PR           00919

   181765 GABRIEL F GUZMAN BHAGGAN                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  181766 GABRIEL F LABOY RIVERA                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  657474 GABRIEL FELIX RIVERA                         HC 5 BOX 57714                                                                                                    HATILLO             PR         00659
  657475 GABRIEL FERNANDEZ ORTIZ                      1513 CALLE LOPEZ LANDRON                                                                                          SAN JUAN            PR         00911

   657476 GABRIEL FERNANDEZ ROMAN                     COND NORTE PLAZA SUITE 703   219 CALLE ROSARIO                                                                    SAN JUAN            PR         00912
   657477 GABRIEL FERRER FUSTER                       URB VILLA CAROLINA           74‐2 CALLE 61                                                                        CAROLINA            PR         00985‐4945
          GABRIEL FERRER/ MIGUEL
   181767 FERRER /                                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   657478 GABRIEL FIGUEROA HERNADEZ                   HC 1 BOX 5810                                                                                                     CIALES              PR         00638
   657479 GABRIEL FIGUEROA HERRERA                    URB VISTA VERDE              H 203 CALLE ATLANTICA                                                                MOROVIS             PR         00687
   181768 GABRIEL FIGUEROA RAMIREZ                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   181770 GABRIEL FIGUEROA SANTIAGO                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   181771 GABRIEL FLORES                              REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   657481 GABRIEL FUENTES JR CONST CO                 PO BOX 363825                                                                                                     SAN JUAN            PR         00936
   657482 GABRIEL FUENTES SASTRE                      AMELIA                       38 CALLE MARTINEZ NADAL                                                              GUAYNABO            PR         00965
   181772 GABRIEL G DEL TORO FERRER                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GABRIEL G QUINONEZ
   181774 ZAMBRANA                                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   657483 GABRIEL GARCIA CANA                         URB VILLAS DE CANEY          E 22 CALLE ARACIBO                                                                   TRUJILLO ALTO       PR         00926
   657484 GABRIEL GARCIA FLORES                       P O BOX 352                                                                                                       NAGUABO             PR         00718 0352
   181777 GABRIEL GARCIA GARCIA                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   181778 GABRIEL GARCIA GUEVARA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   657485 GABRIEL GARCIA MAYA                         BOX 1389                                                                                                          MAYAGUEZ            PR         00681
          GABRIEL GARCIA ROSADO A/C
   181779 JESSICA ROSADO                              REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   181781 GABRIEL GARCIA VEGA                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   181782 GABRIEL GARCIA VILELLA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   657486 GABRIEL GARCOA SOTO                         HC 1 BOX 3717                SAN ANTONIO                                                                          QUEBRADILLAS        PR         00678
   181783 GABRIEL GIRALDO SANTIAGO                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   657487 GABRIEL GONZALEZ HERNANDEZ BO BAJADERO                                   96 GARDENS APT D 2                                                                   LARES               PR         00669

   657488 GABRIEL GONZALEZ MONTALVO URB LAS ALONDRAS                               A 1 CALLE 1                                                                          VILLALBA            PR         00766

   657489 GABRIEL GONZALEZ OLAVARRIA                  URB VICTOR ROJA              II 81 CALLE 11                                                                       ARECIBO             PR         00612
   657490 GABRIEL GONZALEZ REYES                      RR 5 BOX 8418 SUITE 12                                                                                            BAYAMON             PR         00957
   181784 GABRIEL GONZALEZ RIVERA                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   657493 GABRIEL GONZALEZ ROSA                       COND QUINTANA B              APT B 02                                                                             SAN JUAN            PR         00917
   657494 GABRIEL H FRAGODT                           500 CARR 177 BOX 123                                                                                              BAYAMON             PR         00959‐8938
   657495 GABRIEL H ROSADO VAZQUEZ                    30 SANTA CLARA               CARR 144 APT 9                                                                       JAYUYA              PR         00664‐1520
   181786 GABRIEL H SOTO IRIZARRY                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   181788 GABRIEL HERNANDEZ JIMENEZ                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   657496 GABRIEL HERNANDEZ SANCHEZ                   URB ALTAMESA 1696            CALLE SANTA CATALINA                                                                 SAN JUAN            PR         00921
   181789 GABRIEL HERNANDEZ VELEZ                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   181791 GABRIEL HIRAM PEREZ RIVERA                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   657497 GABRIEL HUERTA GONZALEZ                     INTERIOR BO AMELIA           6 CALLE BOLIVAR                                                                      CATANO              PR         00962
   181792 Gabriel Huertas Gonzalez                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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MML ID                NAME                                      ADDRESS 1                 ADDRESS 2              ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  181793 GABRIEL I DIAZ VAZQUEZ                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  657498 GABRIEL I RIVERA RIVERA                       PO BOX 1165                                                                                               MOROVIS           PR         00687
  657499 GABRIEL IRIZARRY MARRERO                      URB ESTANCIAS DEL RIO   858 CALLE CERRILLOS                                                               HORMIGUEROS       PR         00660
  181794 GABRIEL IRIZARRY QUINONEZ                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  181795 GABRIEL IRIZARRY VILLAFANE                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  181796 GABRIEL IRIZARRY VILLATONE                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  657500 GABRIEL ISAAC GONZALEZ                        TORRES DE ANDALUCIA     EDIF 2 P 5 APT 511                                                                SAN JUAN          PR         00926
  181797 GABRIEL J ALONSO SERRA                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  181799 GABRIEL J BELARDO DEL RIO                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  181800 GABRIEL J CRUZ FLORES                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   181801 GABRIEL J HERNANDEZ ACOSTA                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   657503 GABRIEL J IRIZARRY PEREZ                     PO BOX 1307                                                                                               ARECIBO           PR         00613
   181802 GABRIEL J LOPEZ ARRIETA                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   181803 GABRIEL J MORALES JORDAN                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   181804 GABRIEL J ORTIZ GARCIA                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   181805 GABRIEL J PADILLA GARCIA                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   181806 GABRIEL J PALERN MARTINEZ                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   181807 GABRIEL J RAMIREZ RAMOS                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   181808 GABRIEL J RAMOS VELEZ                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   181809 GABRIEL J RIVERA MORALES                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   657504 GABRIEL J ROSARIO PEREZ                      PO BOX 424                                                                                                BARRANQUITAS      PR         00794
   657505 GABRIEL J SANCHEZ SERRANO                    COND COSTA DE SOL       BOX 6104 APT F 4                                                                  CAROLINA          PR         00979
   657506 GABRIEL J SANTOS ROMERO                      VILLA ESPERANZA         177 CALLE IGUALDAD                                                                CAGUAS            PR         00725

   181810 GABRIEL J TORRES HERNANDEZ                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   657507 GABRIEL J VICENTS RIVERA                     FOREST VIEW             B 39 CALLE ANDORRA                                                                BAYAMON           PR         00956
   181811 GABRIEL J VIVONI GALLART                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   181812 GABRIEL J. CASTRO HERNANDEZ REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   181813 GABRIEL J. FUENTES ROMAN    REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   181814 GABRIEL J. MANZANARES CAINAS REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          GABRIEL J. MARTINEZ
   181815 RODRIGUEZ                    REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   181816 GABRIEL J. SICARDO OCASIO    REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   657508 GABRIEL JIMENEZ NIEVES       URB REPTO METROP                        1210 C/ 62 SE                                                                     SAN JUAN          PR         00921
   181818 GABRIEL JOEL FIGUEROA        REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   181819 GABRIEL JOSE AGUAYO DIAZ     REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   181820 GABRIEL JOSE RAMOS GONZALEZ REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   181823 GABRIEL L PENAGARICANO      REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   657510 GABRIEL LEAVITT OJEDA       F 1 PUERTA DE TIERRA                     152 SAN AGUSTIN                                                                   SAN JUAN          PR         00901
   657511 GABRIEL LEON PAGAN          HC 01 BOX 3970                                                                                                             MAUNABO           PR         00707
   181825 GABRIEL LEON RODRIGUEZ      REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   657512 GABRIEL LOPEZ CATAQUET      BO CAMASELLES                            CARR 467 KM 3 3                                                                   AGUADILLA         PR         00603
   657513 GABRIEL LOPEZ DE JESUS      BO GUANAJIBO CASTILLO                    703 CALLE POST SUR                                                                MAYAGUEZ          PR         00680
   657514 GABRIEL LOPEZ ESQUERDO      URB FOREST VIEW                          N118 CALLE TOLEDO                                                                 BAYAMON           PR         00956
   181826 GABRIEL LOPEZ PACHECO       REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   181827 GABRIEL LOPEZ RODRIGUEZ     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   181829 GABRIEL LOPEZ SANCHEZ       REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   181830 GABRIEL LOPEZ SERRANO       REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   181831 GABRIEL LUCIANO BAEZ        REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED



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  181832 GABRIEL M COLON VAZQUEZ                      REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  657516 GABRIEL M CRUZ MONTERO                       42 C/ AR RAMOS                                                                                             UTUADO               PR         00641

   181833 GABRIEL M ESTERAS SERRANO                   REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   181834 GABRIEL M HERNANDEZ JUSINO                  REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181835 GABRIEL M NIEVES SIERRA                     REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181836 GABRIEL M RAMOS                             REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          GABRIEL MALDONADO DBA AIR
   657518 CONDITIONING                                P O BOX 2282                                                                                               RIO GRANDE           PR         00745
          GABRIEL MALDONADO
   181838 MARTINEZ                                    REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181839 GABRIEL MALDONADO RIOS                      REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   181840 GABRIEL MALDONADO TORRES                    REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181841 GABRIEL MANGUAL COSME                       REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181843 GABRIEL MANZANO ORTIZ                       REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   657519 GABRIEL MARTINEZ BERMUDEZ                   BOX 682                                                                                                    COMERIO              PR         00782
   181844 GABRIEL MARTINEZ GRUEIRO                    REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   657521 GABRIEL MARTINEZ RODRIGUEZ                  PO BOX 34239                                                                                               PONCE                PR         00734‐0239
   181845 GABRIEL MATOS ORTIZ                         REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181846 GABRIEL MATOS TOLEDO                        REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   657523 GABRIEL MEDINA GARAY                        RES MANUEL A PEREZ    EDIF E 10 APT 72                                                                     SAN JUAN             PR         00923
   657524 GABRIEL MEDINA LUNA                         MATIENZO CINTRON      508 CALLE LINARES ALTOS                                                              SAN JUAN             PR         00923
   181847 GABRIEL MEDINA TORRES                       REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181848 GABRIEL MELENDEZ AVILA                      REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   181849 GABRIEL MELENDEZ GUADALUPE REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181851 GABRIEL MENDEZ CRUZ        REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181852 GABRIEL MENDEZ TORRES      REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   657525 GABRIEL MENDEZ VALLE       URB EL ROSARIO 2                       M 1 CALLE D                                                                          VEGA BAJA            PR         00693
   181853 GABRIEL MERCADO PEREZ      REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   657526 GABRIEL MERCADO RIVERA     HC 03 BOX 9508                                                                                                              COMERIO              PR         00782
   181855 GABRIEL MERCED SERRANO     REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181856 GABRIEL MIRABAL RAMOS      REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181857 GABRIEL MIRANDA BRAVO      REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181858 GABRIEL MIRANDA RAMIREZ    REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          GABRIEL MIRANDA
   657528 SCHWENDIMANN               URB LOS ANGELES                        2 WB CALLE JAZMIN                                                                    CAROLINA             PR         00979
   657529 GABRIEL MOLINA GUZMAN      STE 363                                PO BOX 1600                                                                          CIDRA                PR         00739
   657531 GABRIEL MONTES DELGADO     BDA BORINQUEN                          11 CALLE A 1                                                                         PONCE                PR         00732
   181859 GABRIEL MORA QUINTERO      REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181864 GABRIEL MORENO OQUENDO     REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181865 GABRIEL MULERO GLAS        REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181866 GABRIEL MUNIZ RIVERA       REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181867 GABRIEL MUNOZ KLINGER      REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   181868 GABRIEL N RODRIGUEZ FLECHA                  REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   181869 GABRIEL NEGRON RODRIGUEZ                    REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   657532 GABRIEL NEGRON SANTIAGO                     HC 01 BOX 4192                                                                                             FLORIDA              PR         00650



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MML ID               NAME                                       ADDRESS 1                    ADDRESS 2                   ADDRESS 3                           ADDRESS 4               CITY        STATE    POSTAL CODE       COUNTRY
  657534 GABRIEL NIEVES AYUSO                         URB VILLA CAROLINA           16 BLQ 232 CALLE 611                                                                  CAROLINA             PR         00985
  181870 GABRIEL NIEVES COLLAZO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  181871 GABRIEL NOGUERA COLBERG                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  657536 GABRIEL NOVOA MARRERO                        1142 CALLE LOS ALMENDROS                                                                                           HATILLO              PR         00659
  181872 GABRIEL O BASS RIVERA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  181873 GABRIEL O MEDINA RIVERA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  181875 GABRIEL O MERCEDES LUCAS                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  657537 GABRIEL O ORTIZ BARRETO                      RIO HONDO II                 AT 26 CALLE RIO MOROVIS                                                               BAYAMON              PR         00961
  181876 GABRIEL O RAMOS DIAZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   181878 GABRIEL O REDONDO MIRANDA                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181879 GABRIEL O RIVERA RESTO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181880 GABRIEL O SANTOS LOPEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          GABRIEL O SERRANO PENA / SIRI
   181881 PENA PEREZ                                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          GABRIEL O. RUBERO
   181882 ENTERPRISES                                 PO BOX 1346                  CARR 566 KM 1 BO. SALTOS                                                              OROCOVIS             PR         00720
   657538 GABRIEL OCASIO VAZQUEZ                      URB PUERTO NUEVO             415 CALLE ADENINOS                                                                    SAN JUAN             PR         00926
   181883 GABRIEL OJEDA QUEVEDO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          GABRIEL OLAVARRIA
   181884 HERNANDEZ                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181885 GABRIEL OLIVERAS IRIZARRY                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181886 GABRIEL OLMEDA                              REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   657540 GABRIEL OQUENDO ADORNO                      PO BOX 1465                                                                                                        TOA BAJA             PR         00951‐9707
   181887 GABRIEL ORTA MARTINEZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   657541 GABRIEL ORTA TORRES                         HC 05 BOX 52678                                                                                                    CAGUAS               PR         00725
   657542 GABRIEL ORTEGA PANTOJA                      HC 02 BOX 44528                                                                                                    VEGA BAJA            PR         00693
   181888 GABRIEL ORTIZ LAGUERRE                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          GABRIEL PAGAN COLON MD,
   181889 ANGEL                                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181890 GABRIEL PAGAN LLORENS                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   657545 GABRIEL PAIZY                               EL VALLE                     338 PASEO DEL PARQUE                                                                  CAGUAS               PR         00727
   181891 GABRIEL PASTRANA                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   657408 GABRIEL PE¥A FIGUEROA                       URB VILLA FONTANA            3JS 21 VIA 56                                                                         CAROLINA             PR         00985
   181892 GABRIEL PEDRAZA COLLAZO                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   657546 GABRIEL PEREZ PADILLA                       PO BOX 22063                                                                                                       SAN JUAN             PR         00931
   181894 GABRIEL PEREZ RODRIGUEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181899 GABRIEL PLACIDO ROMAN                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   657547 GABRIEL POMALES RODRIGUEZ                   URB DOS PINOS                404 CALLE HERMES                                                                      SAN JUAN             PR         00923

   181901 GABRIEL QUINONES SANTIAGO                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181902 GABRIEL R AVILES APONTE                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181903 GABRIEL R CANALES ESTRADA                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   657548 GABRIEL R CINTRON FUSSA                     PO BOX 2415                                                                                                        GUAYNABO             PR         00970
   181904 GABRIEL R FLORES SOTO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181905 GABRIEL R NIN SUAREZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181906 GABRIEL R REYES VAZQUEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181907 GABRIEL R SANTIAGO MUNOZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181909 GABRIEL RAMOS                               REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181910 GABRIEL RAMOS CORDERO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   657550 GABRIEL RAMOS CORTES                        81 CALLE MAYAGUEZ APTO 409                                                                                         SAN JUAN             PR         00917



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  181911 GABRIEL RAMOS CRUZ                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  181912 GABRIEL RAMOS DONATE                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

          GABRIEL REYES ALBANDOZ/FISRT PRESTAMOS HIPOTECARIOS Y
   657551 FEDERAL SAV                  COMERCIAL                                 PO BOX 9146                                                                        SAN JUAN             PR         00908‐9146
   181913 GABRIEL REYES HERNANDEZ      REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   657553 GABRIEL REYES RIVERA                        66 CALLE MAESTRO CORDERO                                                                                      SAN JUAN             PR         00917
   657554 GABRIEL RIVERA BORRERO                      67 BDA CLAUSSELLS                                                                                             PONCE                PR         00730
   181915 GABRIEL RIVERA CINTRON                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181916 GABRIEL RIVERA DIAZ                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181917 GABRIEL RIVERA LOPEZ                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181918 GABRIEL RIVERA OLIVENCIA                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181919 GABRIEL RIVERA ORTEGA                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181920 GABRIEL RIVERA PACHECO                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   657409 GABRIEL RIVERA PIETRI                       URB RIO CA¥AS              2633 CALLE NILO                                                                    PONCE                PR         00728
   181921 GABRIEL RIVERA SANTIAGO                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   657556 GABRIEL RIVERA SANTOS                       BDA SANDIN                 7 CALLE HERCURIO                                                                   VEGA BAJA            PR         00693
   657557 GABRIEL RIVERA SEPULVEDA                    HC 1 BOX 5727                                                                                                 OROCOVIS             PR         00720
   181923 GABRIEL RIVERA VARGAS                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181925 GABRIEL ROBLES VILLALOBOS                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181926 GABRIEL RODRIGUEZ                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   657558 GABRIEL RODRIGUEZ ACNE                      URB RIO PIEDRAS HTS        1654 CALLE PEDERNALES                                                              SAN JUAN             PR         00926
          GABRIEL RODRIGUEZ
   181928 CARRASQUILLO                                REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   657560 GABRIEL RODRIGUEZ DIAZ                      BO OBRERO                  BOX 7233                                                                           SAN JUAN             PR         00915
   181929 GABRIEL RODRIGUEZ GINES                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   181930 GABRIEL RODRIGUEZ GONZALEZ REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   657563 GABRIEL RODRIGUEZ LOPEZ    BAYAMON GARDENS                             Q 14 CALLE 14                                                                      BAYAMON              PR         00957

   657564 GABRIEL RODRIGUEZ MACHADO P O BOX 69001                                STE 285                                                                            HATILLO              PR         00659

   657565 GABRIEL RODRIGUEZ MERCADO PO BOX 936                                                                                                                      NAGUABO              PR         00718

   181932 GABRIEL RODRIGUEZ SALDANA                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   181933 GABRIEL RODRIGUEZ SANTIAGO                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   657566 GABRIEL RODRIGUEZ VELEZ                     HC 2 BOX 10950                                                                                                YAUCO                PR         00698
   181937 GABRIEL ROLDAN GARCIA                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181938 GABRIEL ROLDAN ROSARIO                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181939 GABRIEL ROMAN ANDUJAR                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   657567 GABRIEL ROMAN CHIMELIS                      URB CIUDAD UNIVERSITARIA   U 39 CALLE 27                                                                      TRUJILLO ALTO        PR         00976‐2107
   181940 GABRIEL ROMERO FRANQUI                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181941 GABRIEL ROSA DELGADO                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   657568 GABRIEL ROSADO FELIX                        PO BOX 9066617                                                                                                SAN JUAN             PR         00906‐6617
   657569 GABRIEL ROSARIO CORDERO                     HC 01 BOX 2793                                                                                                MOROVIS              PR         00687
          GABRIEL RUBERO ENTERPRISES
   181942 INC                                         PO BOX 1346                                                                                                   OROCOVIS             PR         00720
   181943 GABRIEL RUBIO COLON                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181944 GABRIEL RUIZ MELENDEZ                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   181945 GABRIEL RUIZ TOLLINCHI                      VILLA DEL CAFETAL          I 128 CALLE 13                                                                     YAUCO                PR         00698
   181947 GABRIEL S SANTIAGO APONTE                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  657570 GABRIEL SAEZ ORTIZ                           URB JARNINES BARCELONA       F 6 CALLE 2                                                                            JUNCOS             PR         00777
  657571 GABRIEL SALGADO TORRES                       URB COUNTRY CLUB             MD 10 402                                                                              CAROLINA           PR         00982‐0000
  181948 GABRIEL SANCHEZ MARTINEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  181949 GABRIEL SANCHEZ ROMAN                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  181950 GABRIEL SANTANA BATISTA                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  657572 GABRIEL SANTANA VARELA                       P O BOX 690                                                                                                         TRUJILLO ALTO      PR         00977
  181951 GABRIEL SANTIAGO ACEVEDO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  657573 GABRIEL SANTIAGO BAEZ                        301 AVE FONT MARTELO                                                                                                HUMACAO            PR         00791
  657575 GABRIEL SANTIAGO RIVERA                      URB SANS SOUCI               2‐10 C/ 19                                                                             BAYAMON            PR         00957
  657576 GABRIEL SANTOS LOPEZ                         HC 01 BOX 5451                                                                                                      LOIZA              PR         00772
  657410 GABRIEL SOTO TORRES                          PO BOX 826                                                                                                          CIALES             PR         00638‐0826
         GABRIEL SUAREZ A/C MARTA
  657578 MARTINEZ                                     BOX 7883                                                                                                            CAROLINA           PR         00986
  181954 GABRIEL SUREN BONES                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  181955 GABRIEL T FIGUEROA TORRES                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  657579 GABRIEL TABOADA SILVEIRA                     URB LAGO DE PLATA            E 30 CALLE 2                                                                           TOA BAJA           PR         00949

   657580 GABRIEL TEJADA AGUINO                       190 TURABO CLUSTERS CD 202                                                                                          CAGUAS             PR         00727‐2548
   181956 GABRIEL TERRON JIMENEZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   181958 GABRIEL TORRES ALVARADO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   657581 GABRIEL TORRES MARTINEZ                     SANTA JUANA                  G 11 CALLE 9                                                                           CAGUAS             PR         00725
   657582 GABRIEL TORRES MORALES                      URB LOMAS DE CAROLINA        N 8 CALLE CERRO MARAVILLA                                                              CAROLINA           PR         00987
          GABRIEL TORRES NIEVES DBA
   657583 SONIA NIEVES                                110 CALLEJON CHARDON                                                                                                PONCE              PR         00716‐1102
   181959 GABRIEL TORRES PEREZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   181960 GABRIEL TORRES PUJOLS                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   181961 GABRIEL TORRES RIVERA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   657584 GABRIEL VANDO SARKIS                        60 CALLE TAFT APT 2                                                                                                 SAN JUAN           PR         00911
   657586 GABRIEL VAZQUEZ ESPINELL                    CIUDAD UNIVERSITARIA         1 AVE PERIFERAL 410 COOP                                                               TRUJILLO ALTO      PR         00976‐2122
   181962 GABRIEL VAZQUEZ RAMOS                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   181963 GABRIEL VAZQUEZ SEGARRA                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          GABRIEL VELAZQUEZ
   657587 HERNANDEZ                                   URB PUERTO NUEVO             1301 AVE FD ROOSEVELT                                                                  SAN JUAN           PR         00920‐2810
   181964 GABRIEL VELAZQUEZ RIVERA                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   181965 GABRIEL VELEZ RIOS                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   657590 GABRIEL VELEZ RIVERA                        PO BOX 5457                                                                                                         BAYAMON            PR         00956
   657591 GABRIEL VELEZ TORRES                        PO BOX 577                                                                                                          LARES              PR         00669
   657592 GABRIEL VERA CUEVAS                         URB SAN THOMAS               10 CALLE A                                                                             PONCE              PR         00731
   181966 GABRIEL VERGARA SOTO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          GABRIEL VIERA CARMONA Y
   657593 SANDRA ESQUILIN                             URB VILLA CLARITA            B10 CALLE 6                                                                            FAJARDO            PR         00738
   657594 GABRIEL VIROLA RODRIGUEZ                    B 20 URB LA RIVIERA                                                                                                 ARROYO             PR         00714
   181967 GABRIEL X MESTRE TORRES                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   181968 GABRIEL Y MORALES NAVARRO                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   181972 GABRIEL, ALCIDES DENIS                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   181975 GABRIELA A CRUZ FELICIANO                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   181976 GABRIELA A LOPEZ ROSA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   181977 GABRIELA A LUGO LOYOLA                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          GABRIELA A PINTADO DEL
   657596 MORAL                                       HC 67 BOX 15094                                                                                                     BAYAMON            PR         00956
   657597 GABRIELA A RUIZ PEREZ                       C 2 URB JDNES DE LARES                                                                                              LARES              PR         00669




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   657599 GABRIELA BENITEZ MENENDEZ                   PO BOX 1813                                                                                                        MOROVIS             PR           00687
   181978 GABRIELA C ESCALERA ORTIZ                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   181979 GABRIELA CASTILLO BENCOSME                  REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GABRIELA CORONADO
   657600 DOMINGUEZ                                   PO BOX 363128                                                                                                      SAN JUAN            PR           00936‐3128

   657601 GABRIELA DE J NIETO ESCOBAR                 URB SIERRA LINDA          E 1 CALLE 8                                                                              CABO ROJO           PR           00623
   181980 GABRIELA DIAZ GONZALEZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      URB JARDINES DE COUNTRY
   657595 GABRIELA DIAZ SANCHEZ                       CLUB                      CX 12 CALLE 161                                                                          CAROLINA            PR           00983
   657603 GABRIELA FELICIANO AVILES                   PO BOX 360104                                                                                                      SAN JUAN            PR           00936 0104

   181981 GABRIELA FERNANDEZ CABRERA REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181982 GABRIELA FIRPI MORALES      REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GABRIELA FONTANEZ/ GABRIELA
   181983 GONZALEZ                    REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181984 GABRIELA GATA GARCIA        REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GABRIELA GENOVEVA PAREDES
   181985 ZERTUCHE                    REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   181986 GABRIELA GONZALEZ IZQUIERDO REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181987 GABRIELA I DE JESUS TORRES  REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   657605 GABRIELA INDUSTRIAL INC     400 CALAF SUITE                                                                                                                    SAN JUAN            PR           00918
          GABRIELA IVETTE FARINACCI
   181988 PONS                        REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181989 GABRIELA J RIVERA SANCHEZ   REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181990 GABRIELA J TORRES           REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181992 GABRIELA LOPEZ MORALES      REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   657606 GABRIELA LOPEZ ORTIZ        96 CALLE BETANCES ALTOS                                                                                                            BAYAMON             PR           00961

   181993 GABRIELA M CARRERO CRESPO                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

          GABRIELA M OQUENDO/ANNIE
   181994 RIVERA CANALES                              REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GABRIELA M RODRIGUEZ
   657607 NIELSEN                                     URB PRIMAVERA ENCANTADA   55 CALLE PASEO DE ORQUIDEAS                                                              TRUJILLO ALTO       PR           00976
          GABRIELA M. RODRIGUEZ
   181995 NIELSEN                                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181996 GABRIELA MEDINA CAMACHO                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   181997 GABRIELA MONTALVO MEDINA                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181998 GABRIELA MORA LLORENS                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   181999 GABRIELA N COLON ORTIZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   182000 GABRIELA N RAMOS DIAZ                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GABRIELA N SANTIAGO
   182001 RODRIGUEZ                                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GABRIELA P OPPENHEIMER
   182002 LUGARO                                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   182003 GABRIELA P SANGUINET LOZADA REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          GABRIELA PADILLA MUNOZ /
   182004 FRANCES MUNOZ                               REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   657608 GABRIELA PEREZ SANTIAGO                     PO BOX 7827                                                                                                       VIEQUES             PR         00765
   657609 GABRIELA PLA GONZALEZ                       URB EL ESCORIAL              S6 8 CALLE 6                                                                         SAN JUAN            PR         00926
   182005 GABRIELA RIVERA RIVERO                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   182006 GABRIELA ROLON AYALA                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   182007 GABRIELA ROMAN COLON                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          GABRIELA ROSARIO / ROSARIO
   182009 RODRIGUEZ                                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   657610 GABRIELA S LLENIN FIGUEROA                  PO BOX 319                                                                                                        MERCEDITA           PR         00715‐0319
   182010 GABRIELA SIFRE                              REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   657611 GABRIELA SOSA DAWSON                        PO BOX 1319                                                                                                       GURABO              PR         00778
          GABRIELA T CRESPO
   182011 PENAGARICANO                                REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   182012 GABRIELA TORRES AROCHO                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   182013 GABRIELA TORRES RODRIGUEZ                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   182014 GABRIELA V ORTIZ VAZQUEZ                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          GABRIELA VAGUER RIVERA /
   182015 NOELIA C RIVERA                             REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   182016 GABRIELLA CASTIEL FOLCH                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   182017 GABRIELLA RIVERA RIVERO                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   182018 GABRIELLE A RUIZ TUDO                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   182019 GABRIELLE M RIVERA RIVERA                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          GABRIELLE M RODRIGUEZ
   182020 FRANCO                                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   182021 GABRIELLE M. FONTANEZ PEREZ REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   182022 GABRIELYS ROSADO RODRIGUEZ                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   657612 GABRIER J JOUBERT NEGRON                    E 11 EL MADRIGAL ST 1                                                                                             PONCE               PR         00731
   182023 GABRYEL R.FLORES LUGO                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   657613 GABSO INC                                   739 CALLE LOS INGENIEROS                                                                                          MAYAGUEZ            PR         00680
   182024 GABY A CECILIO GONZALEZ                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   182026 GABY PEREZ CINTRON                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   182028 GAC & ASOCIADOS PSC                         URB BARALT                   I 31 AVE PRINCIPAL                                                                   FAJARDO             PR         00738
   657614 GAC BUILDERS INC                            P O BOX 11124                                                                                                     SAN JUAN            PR         00910‐2224

   182029 GACIA PEREZ ROBERTO CARLOS                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   657615 GADA SULEIMAN SULEIMAN                      SANTIAGO IGLESIAS            1441 C/ FERRER & FERRER                                                              SAN JUAN            PR         00921
   182030 GADAM CONFERENCES                           URB VERSALLES S‐3 CALLE 17                                                                                        BAYAMON             PR         00959‐2137
   182031 GADDIEL A MARTINEZ COLON                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   657616 GADDIEL AYALA MONGES                        HC 01 BOX 6492                                                                                                    CANOVANAS           PR         00729
   182032 GADDIEL E TRINIDAD SOTO                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   182033 GADDIEL MORALES OLIVERA                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   657618 GADDIEL PADILLA ARROYO                      BO LAS GRANJAS               939 CALLE LOS PADILLAS                                                               VEGA BAJA           PR         00693
   182034 GADDIEL SANTANA LOPEZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   657619 GADDIER DE JESUS ZAVALA                     URB VILLA FONTANA            4 CS VIA 52                                                                          CAROLINA            PR         00983
   182035 GADDIER GARCIA GARCIA                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   657620 GADDIER ROSARIO CASTRO                      LOIZA VALLEY                 K 392 CALLE LAUREL                                                                   CANOVANAS           PR         00729

   182048 GADIEL A RIVERA VILLANUEVA                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED




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   182049 GADIEL A RODRIGUEZ ROBLES                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   657621 GADIEL CARRION                              PO BOX 215                                                                                                            LUQUILLO            PR           00773
   182050 GADIEL E. MERCED ALVAREZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   182051 GADIEL FRANCO NEGRON                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   182052 GADIEL I RIOS SOTO                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   182053 GADIEL J FIGUEROA ROBLES                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   657623 GADIEL J PADILLA PADILLA                    BRISAS DE BAYAMON            EDIF 4 APT 29                                                                            BAYAMON             PR           00961
   182055 GADIEL MELENDEZ ZAYAS                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   182056 GADIEL MIRANDA ACEVEDA                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   657625 GADIEL MORALES MORALES                      P O BOX 272                                                                                                           NARANJITO           PR           00719‐0272
   182057 GADIEL PAGAN CRUZ                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   182058 GADIEL PEREZ VAZQUEZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   182059 GADIEL SANTIAGO GUZMAN                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   182060 GADIEL SANTIAGO NEGRON                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   182061 GADYMEL MENDEZ LOPEZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   182062 GAED REALTY INC                             PO BOX 1662                                                                                                           CANOVANAS           PR           00729
          GAF ELECTRIC & GENERAL
   182078 CONTRACTOR, CORP.                           P.O. BOX 441                                                                                                          GURABO,             PR           00778‐0000

   657626 GAIL QUI¥ONEZ CARMONA                       232 AVE ELEONOR ROOSEVELT                                                                                             SAN JUAN            PR           00907
   182092 GAIL RAMOS MARTINEZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   182093 GAIL RIORDAN                                REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   182094 GAIN COORDINATING CENTER                    LIGHHOUSE INST CENTER        CHESTNUT HEAITH SYSTEMS 448                                                              WYLIE DR NORMAL     IL           61761
          GAITTHER INT1 / PR INC DBA
   657628 CASTOR BARNER                               P O BOX 70211                                                                                                         SAN JUAN            PR           00936‐8211
   182103 GALA M ROMERO ALICEA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   182104 GALA RIVERA DELGADO                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   657629 GALABEL MONSERRATE TORRES URB SANTA JUANITA                              EE 9 CALLE 35                                                                            BAYAMON             PR           00956
   182201 GALARZA AIR CONDITIONING  A 21 URB VILLA ROSA III                                                                                                                 GUAYAMA             PR           00784
          GALARZA ALMODOVAR MD,
   182169 RUBEN                     REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   182209 GALARZA ARBONA MD, JOSE L                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   CIUDAD UNIVERSITARIA Z‐7
  1419805 GALARZA BAEZ, MIGUEL                        DERECHO PROPIO               CALLE 27                                                                                 TRUJILLO ALTO       PR           00976
  1419806 GALARZA CINTRON, JESSICA                    EITON ARROYO MUÑIZ           153 VALLE E. VAZQUEZ BAEZ                                                                MAYAGUEZ            PR           00680
   657631 GALARZA CRUZ RIVERA                         URB VILLA ESPERANZA          61 CALLE BONANZA                                                                         CAGUAS              PR           00725

   182286 GALARZA ESCOBAR MD, LUIS S                  REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   182330 GALARZA GONZALEZ, ANA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   182337 GALARZA GONZALEZ, GLORIBEE                  REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   182374 GALARZA LOPEZ, MERCEDES                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   PMB‐133 1353 AVE. LUIS
  1419807 GALARZA LOPEZ, SANDRA                       YARLENE JIMENEZ ROSARIO      VIGOREAUZ                                                                                GUAYNABO            PR           00966‐2700

  1419808 GALARZA MARTÍNEZ, FREDDIE                   SR. FREDDIE GALARZA MARTÍNEZ HC 02 BOX 343                                                                            YAUCO               PR           00698
   182522 GALARZA ROJAS, OSCAR                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   182525 GALARZA RUIZ, ARCANGEL                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   398076 GALARZA RUIZ, PELEGRINA                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  182569 GALARZA VAZQUEZ, SOL A                       REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  657632 GALAS                                        URB MILAVILLE                   85 CALLE MAMEY                                                                       SAN JUAN            PR         00926
  657633 GALATEO DAIRY INC                            PO BOX 161                                                                                                           HATILLO             PR         00659
  657634 GALAXY SECURITY                              PO BOX 8772                                                                                                          SAN JUAN            PR         00910‐0772

   657635 GALDYS E FIGUEROA MELENDEZ                  HC 01 BOX 7460                                                                                                       LAJAS               PR         00667
   182645 GALE                                        REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   657636 GALEB CURET GOMEZ                           PO BOX 42                                                                                                            ARROYO              PR         00714
   657637 GALEERIA MIGUEL ANGEL                       EXT VILLA CAROLINA              26 AVE ROBERTO CLEMENTE                                                              CAROLINA            PR         00985
   182647 GALEN H GONZALEZ NUNEZ                      REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      MEDICINA DE FAMILIA Y
   182648 GALENOS                                     DEPORTIVA                       PO BOX 4952 STE 93                                                                   CAGUAS              PR         00726‐4952
          GALEPHAR PHARMACENTICAL
   657638 RESEAR                                      JUNCOS INDUSTRIAL PARK          100 CARR 198                                                                         JUNCOS              PR         00777
   657639 GALERIA                                     367 CALE MENDEZ VIGO                                                                                                 DORADO              PR         00646
          GALERIA & LAMINADOS
   657640 EMMANUEL                                    PO BOX 19436                                                                                                         SAN JUAN            PR         00910‐1436
   182651 GALERIA 100 ESTATE CORP.                    PO BOX 6447                                                                                                          MAYAGUEZ            PR         00681‐6447
   182652 GALERIA AQUAMARINA                          APARTADO 194021                                                                                                      SAN JUAN            PR         00919‐4021
   657641 GALERIA CASTILLO                            URB CAPARRA TER                 812 AVE DE DIEGO                                                                     SAN JUAN            PR         00921
          GALERIA DE ARTE MIGUEL
   657642 ANGEL                                       SABANA GARDENS                  4‐15 CALLE 9                                                                         CAROLINA            PR         00983
          GALERIA DE INMORTALES DEL
   182653 FUTBOL                                      REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   182654 GALERIA DE REGALOS                          REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   657643 GALERIA DEL PARQUE                          1514 CALLE LOIZA Y DEL PARQUE                                                                                        SAN JUAN            PR         00911
   657644 GALERIA EMANUEL                             132 CALLE CARAZO                                                                                                     GUAYNABO            PR         00969
          GALERIA INMORTALES DEPORTE
   182655 CABORROJENO                                 REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   182656 GALERIA KIUT                                REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   182657 GALERIA LA CASA DEL MARCO                   AVE. CENTRAL 1765                                                                                                    San Juan            PR         00920
   182658 GALERIA ONATE                               REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   182659 GALERIA PETRUS                              REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   657645 GALERIA PUERTAS Y VENTANAS                  P O BOX 1751                                                                                                         MOROVIS             PR         00687
   657646 GALERIA SAN JUAN INC                        204 CALLE NORZAGARAY                                                                                                 SAN JUAN            PR         00902
   182660 GALERIA SANRA ROSA INC                      PO BOX 19134                                                                                                         SAN JUAN            PR         00910‐1134
   182661 GALERIA SOTO                                UNIVERSITY GARDENS              266A AVE PINERO ESTE                                                                 SAN JUAN            PR         00927
   182662 GALERIA VICENTE                             461 AVE HOSTOS                                                                                                       SAN JUAN            PR         00925
   657649 GALERIA W LABIOSA                           ESQ SAN FRANCISCO               200 CALLE CRISTO                                                                     SAN JUAN            PR         00901

   657650 GALERIK                                     URB QUINTAS DE CANOVANAS        202 CALLE 2                                                                          CANOVANAS           PR         00729
   657651 GALERIK EQUIP                               HC 01 BOX 8519                                                                                                       CANOVANAS           PR         00729
   182704 GALIB FRAMGII MD, HAMID                     REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   182705 GALIBER MD, DANTE                           REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   182712 GALICIA BONILLA, EDDIE                      REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   657652 GALICIA SHELL                               AVE. CAMPO RICO CALLE122        URB. JARD. COUNTRY CLUB                                                              CAROLINA            PR         00983

   182715 GALICIA SHELL SERVICE STATION AVE CAMPO RICO CALLE 122                      JARDINES DE CONTRY CLUB                                                              CAROLINA            PR         00983 RT55
   657654 GALIMPORT INC.                URB BAHIA VISTAMAR                            1513 CALLE BARCD                                                                     CAROLINA            PR         00983

   182717 GALINALDIS VEGA MD, CINTHIA                 REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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          GALINDEZ HERNANDEZ MD,
   182742 NELLY                                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   182745 GALINDEZ MATOS MD, LAURA I                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   657655 GALINDEZ RODRIGUEZ                          URB LAS GARDENIAS             38 CALLE AZUCENA                                                                        MANATI              PR           00674
   182771 GALINDEZ, JOSE A                            REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   182810 GALION AUTO PARTS                           HC 02 BOX 5297                                                                                                        PENUELAS            PR           00624
   657656 GALISSE M ORTIZ RAMIREZ                     78 CALLE EVARISTO VAZQUEZ                                                                                             CAYEY               PR           00736

   657657 GALLANT STORE / 19 WORLD                    LOCAL B 26 PLAZA JUANA DIAZ                                                                                           JUANA DIAZ          PR           00795
   657658 GALLARD LAW FIRM                            COND MIDTOWN SUITE 304        420 PONCE DE LEON                                                                       SAN JUAN            PR           00918

   657659 GALLARDO CORDOVA & ASSO.                    P O BOX 9400                                                                                                          SAN JUAN            PR           00908

   182828 GALLARDO MENDEZ MD, RAFAEL REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   182850 GALLARDO, CRUZ & TORRES, INC CALLE BARCELO #7                                                                                                                     CIDRA               PR           00739
   657660 GALLAUDET UNIVERSITY         800 FLORIDA AVE                                                                                                                      NE WASHINGTON       DC           20002
   182861 GALLEGO QUILES, YAMILKA      REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   182862 GALLEGO REYES, CONSUELO      REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   182863 GALLEGO TRANSPORT DIST       HC 01 BOX 5780                                                                                                                       AIBONITO            PR           00705
   182867 GALLERY CUISENE INC          URB SAN SALVADOR                             B3 MARGINAL MANATI                                                                      MANATI              PR           00674
                                       CALLE CHILE 255‐A LA MILLA DE
   182868 GALLERY DETAIL CENTER        ORO                                                                                                                                  HATO REY            PR           00919
   657662 GALLERY HAIR SALON           P O BOX 29196                                                                                                                        SAN JUAN            PR           00929
   182869 GALLERY INSTITUTION INC      PO BOX 333                                                                                                                           MANATI              PR           00674

   182870 GALLERY MARBLE & STONE CO                   PO BOX 363388                                                                                                         SAN JUAN            PR           00936‐3388
          GALLERY MODE AND SCHOOL
   657663 SUPPLY                                      PO BOX 129                                                                                                            OROCOVIS            PR           00720
   657664 GALLERY SALON                               HACIENDA CONCORDIA            11273 CALLE LIRIO                                                                       SANTA ISABEL        PR           00757
   657665 GALLERY SPOILER                             VILLA FONTANA                 FR 12 AVE MONSERRATE                                                                    CAROLINA            PR           00983
   182872 GALLERY VERTICAL                            URB SIERRA LINDA              M16 CALLE 6                                                                             BAYAMON             PR           00957
   182884 GALLICK MD , GREGORY S                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   182885 GALLINA MD, JESSICA                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   657666 GALLIPOT INC                                2020 SILVER BELL ROAD                                                                                                 ST PAUL             MN           55122
   182895 GALLITOS DE ISABELA INC                     P O BOX 1470                                                                                                          ISABELA             PR           00662
   657667 GALLOZA AUTO BODY SHOP                      137 CALLE MERCADO                                                                                                     AGUADILLA           PR           00603‐4931
   657668 GALL'S INC                                  2680 PALUMBO DRIVE            P O BOX 55208                                                                           LEXINGTON           KY           40555‐5208
   657669 GALO DIAZ RIVERA                            HC 5 BOX 54997                                                                                                        CAGUAS              PR           00725
   182975 GALO E BORGES BERDECIA                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   657670 GALO HERNANDEZ CABAN                        HC 1 BOX 5214                                                                                                         MOCA                PR           00676
          GALO I LEGUILLOU
   182976 ENCARNACION                                 REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   182977 GALO SERVICES LLC                           PO BOX 10007                                                                                                          GUAYAMA             PR           00785
   657671 GALOFFIN S TOWING                           10 CALLE SERAFIN MENDEZ                                                                                               MOCA                PR           00676
          GALVA RODRIGUEZ MD,
   182984 ROBERTO A                                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   657672 GALVIN J HERNANDEZ HEREDIA                  URB PERLA DEL SUR             4117 CALLE MODESTO ROUBERT                                                              PONCE               PR           00717
                                                                                                                 SUITE 1133 208 PONCE DE LEÓN
  1423036 GAM REALTY LLC                              MARIANO A. MIER ROMEU         POPULAR CENTER BUILDING      AVE.                                                       SAN JUAN            PR           00918
   657673 GAM REALTY SC SE                            PO BOX 363609                                                                                                         SAN JUAN            PR           00936‐3609



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  657674 GAM SERVICE CORPORATION                      PO BOX 15095                                                                                                         SAN JUAN            PR           00902‐8595
  183031 GAMA ENGINEERIN CORP                         PO BOX 360453                                                                                                        SAN JUAN            PR           00936
  183032 GAMA GROUP INC                               PO BOX 8631                                                                                                          BAYAMON             PR           00960‐8631
  657676 GAMA OIL SERVICES INC                        LOS PASEOS                  SUITE 112 BOX 286             100 GRAN BLVD                                              SAN JUAN            PR           00926

  1419809 GAMA QUALITY CONTRACTORS                    CARLOSE. ARROYO GRAULAU     CALLE PERSEO 501 APT. 5B                                                                 SAN JUAN            PR           00920
   183034 GAMA RENTAL CORP                            PO BOX 9022974                                                                                                       SAN JUAN            PR           00902
   657677 GAMAIRE REFRIGERATION                       P O BOX 3973                                                                                                         GUAYNABO            PR           00970
   657678 GAMAIRE REGRIGERATION                       PO BOX 3973                                                                                                          GUAYNABO            PR           00970‐3973
   657679 GAMAL GONZALEZ FELIX                        PO BOX 29506                                                                                                         SAN JUAN            PR           00929‐0506
   657680 GAMALIEL BAEZ MORALES                       P O BOX 287                                                                                                          BARCELONETA         PR           00617
   657681 GAMALIEL BAEZ TRINIDAD                      TEPT TERESITA               C‐56 BB 18                                                                               BAYAMON             PR           00961
   183035 GAMALIEL DE JESUS PEREZ                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   183036 GAMALIEL DIAZ MALDONADO                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   183037 GAMALIEL GALAN RIVERA                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   657684 GAMALIEL LEON CONTRERAS                     RES JARD COUNTRY CLUB       EDIF 10 APT 60                                                                           SAN JUAN            PR           00924
   657685 GAMALIEL LUGO ESCOBAR                       PO BOX 364062                                                                                                        SAN JUAN            PR           00936‐4062

   183038 GAMALIEL MONTANO MERCADO REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   657686 GAMALIEL MORALES MENDEZ  BARRIO CANTERA 39                                                                                                                       MANATI              PR           00674
   183039 GAMALIEL NAVARRO RAMOS   REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   657691 GAMALIEL NIEVES RODRIGUEZ                   APARTADO 83                                                                                                          NARANJITO           PR           00719

   657692 GAMALIEL ORTIZ GUARDIOLA                    URB JARDINES DE LA FUENTE   443 CALLE JARDIN MAGALLANES                                                              TOA ALTA            PR           00953
   657693 GAMALIEL ORTIZ ORTIZ                        P O BOX 4012                                                                                                         GUAYNABO            PR           00970
   183042 GAMALIEL RAMOS SOLER                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GAMALIEL RODRIGUEZ
   183044 BALLESTER                                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   657695 GAMALIEL RODRIGUEZ DIAZ                     PO BOX 9021112                                                                                                       SAN JUAN            PR           00902‐1112
   183045 GAMALIEL RODRIGUEZ LOPEZ                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   657696 GAMALIEL TROCHE                             839 COND PLAZA                                                                                                       SAN JUAN            PR           00925
   183047 GAMALIEL VAZQUEZ FLORES                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   183048 GAMALIEL VEGA DE JESUS                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   183049 GAMALIEL VEGA RUIZ                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   183050 GAMALIEL VERA MENDEZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   183051 GAMALIER A MATIAS CAY                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   657700 GAMALIER ALICEA NEGRON                      MANSIONES DEL SOL           MS68 VIAS ARCOIRIS                                                                       SABANA SECA         PR           00952
   657701 GAMALIER ARCELAY RUIZ                       HC 3 BOX 9706                                                                                                        LARES               PR           00669
   657702 GAMALIER AREIZAGA TORRES                    HC 01 BOX 4570              LA PARQUERA                                                                              LAJAS               PR           00667
   183052 GAMALIER AYALA GONZALEZ                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   657703 GAMALIER BENNETT MOLINA                     PO BOX 187                                                                                                           JAYUYA              PR           00664‐0187
   183053 GAMALIER BERMUDEZ RUIZ                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   657704 GAMALIER CEDENO                             VILLAS DEL CAFETAL          J12 CALLE ANTONIO RODRIGUE                                                               YAUCO               PR           00698
   657705 GAMALIER COLON ROLON                        HC 1 BOX 5012                                                                                                        CIALES              PR           00638
   657708 GAMALIER DE JESUS CRUZ                      BO DAJAS                    RR8 BOX 9288                                                                             BAYAMON             PR           00956
   657709 GAMALIER DIAZ LOPEZ                         URB BAIROA                  2013 A CALLE 17                                                                          CAGUAS              PR           00725
   657710 GAMALIER DUMENG GOMEZ                       267 CALLE RAMAL                                                                                                      ISABELA             PR           00662

   657711 GAMALIER ESCRIBANO RIVERA                   PO BOX 1156                                                                                                          AGUAS BUENAS        PR           00703
   657712 GAMALIER GALINDEZ                           HC 1 BOX 9890                                                                                                        TOA BAJA            PR           00949
   657713 GAMALIER GARAY FIGUEROA                     HC 8 BOX 49181                                                                                                       CAGUAS              PR           00725963



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  657698 GAMALIER GONZALEZ RIVERA   6983 B 124 CALLE CANARIO                                                                                                          SABANA SECA       PR           00952
         GAMALIER GONZALEZ TRUCKING
  657714 INC                        PO BOX 1133                                                                                                                       SABANA SECA       PR           00952

   183054 GAMALIER LOPEZ CARRASQUILLO REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   657716 GAMALIER MACHUCA MEJIAS     SABANA BRACH APD 8891                                                                                                           VEGA BAJA         PR           00693
   657717 GAMALIER MARTINEZ           PO BOX 6387                                                                                                                     PONCE             PR           00733
   657720 GAMALIER MORANT ROBLES      PO BOX 799                                                                                                                      LAS PIEDRAS       PR           00771
   183056 GAMALIER ORTIZ MERCADO      REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   183057 GAMALIER OTERO PEREZ        REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   183058 GAMALIER OTERO RODRIGUEZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   183059 GAMALIER PAGAN MARIN                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   657724 GAMALIER PEREZ ROLON                        APARTADO 916                                                                                                    NARANJITO         PR           00719
   183062 GAMALIER RAMOS SERRANO                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   183063 GAMALIER RIVERA FONTAN                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   183064 GAMALIER RODRIGUEZ ACEVEDO REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          GAMALIER RODRIGUEZ
   657699 MERCADO                    P O BOX 362463                                                                                                                   SAN JUAN          PR           00936‐2463
   183065 GAMALIER ROSALY ALERS      REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   657725 GAMALIER SANTANA BATISTA   193 BARRIADA ACUEDUTO                                                                                                            ADJUNTAS          PR           00601
   657726 GAMALIER TORRES ARROYO     HC 01 BOX 11234                                                                                                                  TOA BAJA          PR           00949
   183066 GAMALIER TRICOCHE ORTIZ    REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   657727 GAMALY VELEZ SANTIAGO      BO GALATEO PARC 39                                                                                                               TOA ALTA          PR           00953
   657728 GAMAR                      EL CINCO INDUSTRIAL                         1525 AVE PONCE DE LEON                                                               SAN JUAN          PR           00926
   183068 GAMAR L ZARAGOZA GARCIA    REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   183080 GAMBINO MD, CALOGERO       REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   183085 GAMELEE A ACOBE VAZQUEZ    REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          GAMES AND SPORT
   657729 ENTERTAIMENT               P O BOX 194576                                                                                                                   SAN JUAN          PR           00919‐4576
   657730 GAMES WORSHOP              6721 BAYMEADOW DRIVE                                                                                                             GLE BURNIE        MD           21060 6401

   657731 GAMIL TRAVEL CENTER & TOUR                  PO BOX 9024275                                                                                                  SAN JUAN          PR           00902‐4275
   183092 GAMILY GONZALEZ RIVERA                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          GAMING LABORATORIES
   657732 INTERNATIONAL INC                           600 AIRPORT ROAD                                                                                                LAKEWOOD          NJ           08701
   183093 GAMIOLY B GREEN                             REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   657733 GAMS DEVELOPMENT CORP                       WASHINGTON D C             1217 POTOMAC STREET N W                                                              WASHINGTON        WA           20007
   657734 GAN EDEN FARM INC                           PO BOX 848                                                                                                      SANTA ISABEL      PR           00757
   657735 GANADERIA JAIME ORTIZ                       HC 03 BOX 11358                                                                                                 JUANA DIAZ        PR           00665
   657736 GANADERIA SANTIAGO INC                      PO BOX 7382                                                                                                     PONCE             PR           00732
                                                      A/C MANUEL MORALES
   657737 GANADEROS ALVARADO INC                      MORALES                    ADM FOMENTO COMERCIAL     P O BOX 4275                                               SAN JUAN          PR           00902‐4275
   183097 GANADEROS BORGES INC                        P O BOX 1037                                                                                                    NAGUABO           PR           00718‐1037
   183098 GANADEROS DE HATILLO                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   657740 GANDELL SERVICE                             1173 AVE COMERIO MIRANDA                                                                                        PUERTO NUEVO      PR           00920

   657741 GANDENICIA RIVERA ROMERO                    VILLA JUSTICIA             A 27 CALLE LA ROSA                                                                   CAROLINA          PR           00984

   657742 GANDIA FRAMING STUDIO INC                   118 POMAROSA                                                                                                    SAN JUAN          PR           00911




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   183139 GANDIA MANTARAS MD, LUIS T                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   183156 GANDIA PIZARRO, ALEXANDER                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   183181 GANDULLA CASIANO, NEFTALI                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   183186 GANJOO MD , DIDA K                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   657743 GANSK & ASSOCIATES                          BOULEVARD 609              120 OCEAN PARK BLVD                                                                    SANTA MONICA        CA         90405
   183192 GAP PUERTO RICO LTD                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   657744 GAPO S TIRES                                HC 01 BOX 11229                                                                                                   PE¥UELAS            PR         00624
   657745 GAR 931DR                                   PO BOX 9023228                                                                                                    SAN JUAN            PR         00902‐3228
   657749 GARAGE & JUNKER ORISINI                     RR 1 BOX 2080                                                                                                     ANASCO              PR         00610
   657750 GARAGE ACEVEDO                              650 AVE EMERITO ESTRADA                                                                                           SAN SEBASTIAN       PR         00685
   657751 GARAGE ACOSTO SHELL                         P O BOX 546                                                                                                       CABO ROJO           PR         00623
   183198 GARAGE ADORNO                               REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   657752 GARAGE ALERS                                2989 AVE MILITAR                                                                                                  ISABELA             PR         00662
   657753 GARAGE ALFONSO                              PO BOX 1129                                                                                                       JAYUYA              PR         00664
   657746 GARAGE ALICEA                               ESTANCIA DE CERRO GORDO    19 CALLE 6 J                                                                           BAYAMON             PR         00957
   657754 GARAGE ALICEA                               URB SIERRA LINDA           GG 32 CALLE 14                                                                         BAYAMON             PR         00957
   657755 GARAGE ALLENDE                              COOP. TORRE DE CAROLINA    EDIF A APT407 LOS ANGELES                                                              CAROLINA            PR         00985
   657756 GARAGE ANDALUCIA                            P O BOX 467                                                                                                       TRUJILLO ALTO       PR         00977
   657757 GARAGE ANGEL                                P O BOX 70359 249                                                                                                 SAN JUAN            PR         00936
   657758 GARAGE AQUIAR                               AVE DE DIEGO               950 LA RIVIERA                                                                         SAN JUAN            PR         00921
   657759 GARAGE ARCO INC                             624 AVE BARBOSA                                                                                                   SAN JUAN            PR         00917
   657760 GARAGE ARMANDO                              PO BOX 607061                                                                                                     BAYAMON             PR         00960
   657761 GARAGE ARZUAGA                              HC 1 BOX 11969                                                                                                    CAROLINA            PR         00985
   657762 GARAGE ARZUAGA INC                          HC 01 BOX 11969                                                                                                   CAROLINA            PR         00985
          GARAGE ASOMANTE SERVICE
   183199 STATION                                     HC 2 BOX 8146                                                                                                     AIBONITO            PR         00705
   657763 GARAGE BACO Y AUTO PARTS                    ESQ STO DOMINGO            9 CALLE 25 DE JULIO                                                                    YAUCO               PR         00698
   657764 GARAGE BERRIOS                              LOMAS VERDES               U 16 CORAL                                                                             BAYAMON             PR         00956
   183200 GARAGE BETANCES                             REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   657765 GARAGE BONET                                1794 BO ASOMANTE           CARR 115 KM 125 5                                                                      AGUADA              PR         00602
   657766 GARAGE BONILLA                              CAPARRA HEIGHTS            PO BOX 10986                                                                           SAN JUAN            PR         00922
   657767 GARAGE BRACERO                              URB EL VALLE               247 CALLE DALIAS                                                                       LAJAS               PR         00667
          GARAGE CABAN/FRANCISCO
   657768 CABAN DOMENECH                              PO BOX 345                                                                                                        MOCA                PR         00676
   183201 GARAGE CABASSA                              REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   657769 GARAGE CABASSA ESSO                         PO BOX 569                                                                                                        HORMIGUEROS         PR         00660

   657770 GARAGE CAMACHO                              75 CALLE MAESTRO CORDERO                                                                                          SAN JUAN            PR         00917‐1120
   657771 GARAGE CAMARONES                            BO CAMARONES               PO BOX 1068                                                                            GUAYNABO            PR         00970‐1068
   657772 GARAGE CANO                                 URB VILLA DEL CARMEN       A 6 CALLE 3                                                                            CIDRA               PR         00739
   657747 GARAGE CARIBE                               HC‐02 BOX 11071                                                                                                   MOCA                PR         00676
   657775 GARAGE CARIBE                               20 AVE AGUADILLA                                                                                                  ISABELA             PR         00662
   183202 GARAGE CARLITOS                             REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   657777 GARAGE CARLOS P R 100                       P O BOX 772                                                                                                       CABO ROJO           PR         00623
   657778 GARAGE CARLOS SUAREZ                        PO BOX 520                                                                                                        LOIZA               PR         00772‐0520
   183203 GARAGE CARRAU                               REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   657779 GARAGE CASILLAS                             URB SAN FRANCISCO          6 AVE DIEGO                                                                            SAN JUAN            PR         00927‐5831
   657780 GARAGE CASTRO                               PO BOX 1238                                                                                                       RIO GRANDE          PR         00745
   657782 GARAGE CATA                                 HC 02 BOX 5243                                                                                                    COMERCIO            PR         00782
   657783 GARAGE CELIN                                PO BOX 8909                                                                                                       BAYAMON             PR         00960
   657784 GARAGE CERRA                                807 CALLE ERNESTO CERRA                                                                                           SAN JUAN            PR         00907



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  657785 GARAGE CESTERO                               PO BOX 1182                                                                                                        BAYAMON                PR           00960
  657786 GARAGE CHAGO                                 PO BOX 3653                                                                                                        MAYAGUEZ               PR           00681
  657787 GARAGE CHALIE                                HC 09 BOX 2596                                                                                                     SABANA GRANDE          PR           00637
  657788 GARAGE CHARLIE                               HC 9 BOX 2596                                                                                                      SABANA GRANDE          PR           00637
  657789 GARAGE CHU                                   PO BOX 153                                                                                                         MOROVIS                PR           00687
  657791 GARAGE CHUCHO                                1550 CALLE 305               ESQ 13 CAPARRA TERRACE                                                                SAN JUAN               PR           00921
  657793 GARAGE CINTRON                               PO BOX 100                                                                                                         GUAYNABO               PR           00970
  657794 GARAGE CLAUDIO INC                           519 CALLE CUBA                                                                                                     SAN JUAN               PR           00917
  657795 GARAGE COLON BODY SHOP                       RR 2 BOX 6032                                                                                                      MANATI                 PR           00674
  657796 GARAGE COQUI                                 RR 6 BOX 9985                                                                                                      SAN JUAN               PR           00928

   657797 GARAGE COTTO LAUREL TEXACO COTTO LAUREL                                  71 CALLE CENTRAL                                                                      PONCE                  PR           00780
   657798 GARAGE CRESP0              BO RIO ABAJO                                  HC 2 BOX 40938                                                                        VEGA BAJA              PR           00693
   657799 GARAGE CRUZ                PO BOX 607061                                                                                                                       BAYAMON                PR           00960
   657802 GARAGE CUNIN               BOX 99                                                                                                                              BARRANQUITAS                        00794
                                     URB. MONTE CARLO MF‐ 43
   183204 GARAGE CURCIO              PLAZA 15                                                                                                                            BAYAMON                PR           00961
   657804 GARAGE CURSIO              MONTE CLARO STATE                             ME 43 PLAZA 15                                                                        BAYAMON                PR           00961
   657805 GARAGE DAMIAN              BOX 992                                                                                                                             LAJAS                  PR           00667
   657806 GARAGE DANNY VARGAS        JARD DE MONACO                                15 CALLE BRASIL                                                                       MANATI                 PR           00674
   657807 GARAGE DAVILA              8573 AVE JOBOS                                                                                                                      ISABELA                PR           00662
   657808 GARAGE DEL VALLE ESSO      PO BOX 892                                                                                                                          CIDRA                  PR           00739
   657809 GARAGE DOBLE L INC         HC 01 BOX 4398                                                                                                                      GURABO                 PR           00778
   657810 GARAGE EDISON              4 CALLE SANTO TOMAS                                                                                                                 MAYAGUEZ               PR           00680
   657811 GARAGE EDWIN               URB SANTA TERESITA                            H10 CALLE 5                                                                           BAYAMON                PR           00961
   657812 GARAGE EDWIN VIDAL INC     184 CALLE VILLA                                                                                                                     PONCE                  PR           00730
   657814 GARAGE EL DEPORTIVO        PO BOX 335609                                                                                                                       PONCE                  PR           00733
   657815 GARAGE ELIAS               855 CALLE ERNESTO CERRA                                                                                                             SAN JUAN               PR           00907
   657816 GARAGE ERNESTO PUIG        P O BOX 334093                                                                                                                      PONCE                  PR           00733
   657817 GARAGE ESPINAL             1413 AVE LOMAS VERDES                         SUITE 116                                                                             BAYAMON                PR           00956
   183205 GARAGE ESSO                REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED               REDACTED     REDACTED       REDACTED
          GARAGE ESSO / CARLOS M
   657819 RIVERA                     HC 01 BOX 23619                                                                                                                     VEGA BAJA              PR           00693
   657821 GARAGE ESSO COMERCIO       PARQUE LAS HACIENDAS                          J1 CALLE CAYNIABON                                                                    CAGUAS                 PR           00725

   657822 GARAGE ESSO COMERIO                         CALE COMERIO CALLE 5 ESQ 5   BO BELGICA                                                                            PONCE                  PR           00731
   657823 GARAGE ESSO ISLA VERDE                      P O BOX 4458                                                                                                       CAROLINA               PR           00984
   657824 GARAGE ESSO MEDINA                          GARRUCHALES                  HC 01 BOX 5161                                                                        BARCELONETA            PR           00617
   657825 GARAGE ESTEBAN                              PO BOX 51029                                                                                                       SAN JUAN               PR           00950
   657826 GARAGE FAVAL SHELL                          PO BOX 367                                                                                                         GUAYAMA                PR           00785
   657827 GARAGE FEBUS                                URB SANTA CATALINA           N 4 CALLE 2                                                                           BAYAMON                PR           00959
   657828 GARAGE FELIX MATOS                          HC 2 BOX 5251                                                                                                      COMERIO                PR           00782
   657829 GARAGE FELOMAR                              P OBOX 3877                                                                                                        BAYAMON                PR           00958
   657830 GARAGE FERNANDITO 0RTIZ                     HC 71                                                                                                              NARANJITO              PR           00719
   657831 GARAGE FIGUEROA                             HC 06 BOX 70580                                                                                                    CAGUAS                 PR           00725
                                                      TAPICERIA PARIS AVE.
   183206 GARAGE FRANK                                FERNANDEZ JUNCOS 1263                                                                                              PDA. 18 ‐ SANTURCE     PR           00907
   183211 GARAGE FRANKS INC                           PO BOX 19026                 FERNANDEZ JUNCOS STATION                                                              SAN JUAN               PR           00908‐0000
   657833 GARAGE GALLOZA                              137 CALLE MERCADO                                                                                                  MAYAGUEZ               PR           00680
   183213 GARAGE GAMALIER                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED               REDACTED     REDACTED       REDACTED
   657834 GARAGE GIERBOLINI SHELL                     PO BOX 2121                                                                                                        OROCOVIS               PR           00720‐2121
   657836 GARAGE GILITO                               PO BOX 9024275                                                                                                     SAN JUAN               PR           00902‐4275
   657837 GARAGE GIRAU                                CAPARRA TERRACE              818 CALLE 7 SO                                                                        SAN JUAN               PR           00920



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  183214 GARAGE GONZALEZ                              REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  657839 GARAGE GUATEMALA                             APARTADO 89                                                                                                             SAN SEBASTIAN       PR         00685
  657840 GARAGE GUILLAMA                              2500 CARR 4491 STE 2                                                                                                    CAMUY               PR         00627
  183215 GARAGE GUINCHA                               PO BOX 488                                                                                                              MARICAO             PR         00606
  657841 GARAGE GULF                                  URB LUCKETTI                 72 AVE VIRGILIO DEL POU                                                                    MANATI              PR         00674
  657843 GARAGE GULF BUCARE                           URB SANTA PAULA              100 AVE LAS CUMBRES             ESQ REGINA MEDINA                                          GUAYNABO            PR         00969
  657844 GARAGE GULF SAN MARTIN                       PO BOX 1260                                                                                                             UTUADO              PR         00641
  657845 GARAGE GUZMAN                                BARRIO TRASTALLERES          72 CALLE SAN JOSE                                                                          MAYAGUEZ            PR         00680
  183216 GARAGE HENRY E HIJO                          REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  657847 GARAGE HERMANOS OCASIO                       FELIX CARDONA DAVILA         SUITE 125 A                                                                                MANATI              PR         00674
  657848 GARAGE HERNANDEZ                             RR‐1 BOX 10511                                                                                                          OROCOVIS            PR         00720
  183217 GARAGE HILGO , INC.                          P. O. BOX 72 SAINT JUST                                                                                                 SAINT JUST          PR         00978‐0072
  183219 GARAGE HILGO INC                             REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  183220 GARAGE HILGO, INC.                           PO BOX 72                    CARR 2 #112                                                                                SAINT JUST          PR         00978‐0072
  657849 GARAGE HNOS RUIZ                             200 CALLE SAN RAFAEL                                                                                                    MAYAGUEZ            PR         00680
  183221 GARAGE HUMBERTO                              REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   657850 GARAGE ISIDRO                               754 CALLE LOS ANGELES PDA 24                                                                                            SAN JUAN            PR         00909
   657851 GARAGE ISLA                                 HC 01 BOX 5002                                                                                                          QUEBRADILLA         PR         00678
   657852 GARAGE ISLA FLORES                          P O BOX 60                                                                                                              COAMO               PR         00769
   657853 GARAGE ISLA‐ LAS PIEDRAS                    URB. LAS MERCEDES            F‐131 CALLE 5                                                                              LAS PIEDRAS         PR         00771
   657854 GARAGE ISLA MARESUA                         K 8 URB RIVERSIDE                                                                                                       SAN GERMAN          PR         00683
   657855 GARAGE ISLA MAUNABO                         PO BOX 146                                                                                                              MAUNABO             PR         00707
   657856 GARAGE ISLA PR                              BOX 830                                                                                                                 VILLALBA            PR         00766
   183224 GARAGE ISLA VERDE INC                       BO MANI                      2915 CARR 2                                                                                MAYAGUEZ            PR         00680
          GARAGE ISLA/GASOLINAS
   657857 PUERTO RICO                                 BOX 1897                                                                                                                YAUCO               PR         00698
          GARAGE ISLA\ SHELL CUATRO
   657858 CALLES                                      PO BOX 1205                                                                                                             ARROYO              PR         00714
   657859 GARAGE J R                                  HC 646 BOX 6421                                                                                                         TRUJILLO ALTO       PR         00976
   657860 GARAGE JACINTO                              243 CALLE PARIS STE 1027                                                                                                SAN JUAN            PR         00917
   183227 GARAGE JIMENEZ                              REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   657861 GARAGE JOE                                  PO BOX 1478                                                                                                             MANATI              PR         00674
   657863 GARAGE JORGE                                PARC AMADEO                  1 A AVE ARMAIZ                                                                             VEGA BAJA           PR         00693
   183228 GARAGE JOSE A RAMOS INC                     PO BOX 582                                                                                                              PENUELAS            PR         00624
   657864 GARAGE JOSE ANTONIO INC                     5 CALLE MERCURIO                                                                                                        PONCE               PR         00731
   657865 GARAGE JOSE PALAU                           HC 5 BOX 50000                                                                                                          AGUADILLA           PR         00603
   657866 GARAGE JR RAMIREZ                           BO LUCES LABIOS              27 CALLE SAN JUAN                                                                          MAYAGUEZ            PR         00680
   657867 GARAGE JUAN                                 RR 1 BOX 14430                                                                                                          MANATI              PR         00674‐9763
   657869 GARAGE JUANO                                HC 06 BOX 76450                                                                                                         CAGUAS              PR         00725‐9520
   657870 GARAGE JULIANA                              165 CALLE VICTORIA                                                                                                      PONCE               PR         00731
   657872 GARAGE JUNIOR                               HC 2 BOX 14595                                                                                                          CAROLINA            PR         00987‐9721
   657876 GARAGE JUNITO                               509 AVE MIRAMAR                                                                                                         ARECIBO             PR         00612
   657877 GARAGE KIKE                                 PO BOX 235                                                                                                              CAYEY               PR         00737
   657878 GARAGE KIKE SHELL                           CALLE DE DIEGO # 111                                                                                                    SAN LORENZO                    00754
   657879 GARAGE KING                                 PO BOX 521                                                                                                              BARRANQUITAS        PR         00794
          GARAGE KING / KING
   657880 TRANSMISSION                                DORADO DEL MAR               A 19 CALLE NINFA DEL MAR                                                                   DORADO              PR         00646
   657881 GARAGE LA COMPETENCIA                       PO BOX 2187                                                                                                             MAYAGUEZ            PR         00681

   657882 GARAGE LA FAMILIA                           SANTA JUANITA                BU 6 VE STA JUANITA ESQ INDIA                                                              BAYAMON             PR         00956
   657883 GARAGE LA VEGA                              PO BOX 119                                                                                                              HATILLO             PR         00659
   183229 GARAGE LEBRON                               REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  657884 GARAGE LEO                                   1 J BO SANTANA                                                                                                ARECIBO            PR         00612
  657885 GARAGE LOPEZ                                 CARR 174 KM 20 8                                                                                              AGUAS BUENAS       PR         00703
  657888 GARAGE LOS CU¥ADOS                           PO BOX 3594                                                                                                   AGUADILLA          PR         00605
  183230 GARAGE LOS CUADOS                            REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  657889 GARAGE LOS LLANOS                            HC 01 BOX 1 4312                                                                                              SANTA ISABEL       PR         00757
         GARAGE LOS MUCHACHOS/L
  657891 RAMOS PONCE                                  BOX 27 BO JOBOS                                                                                               ISABELA            PR         00662
  183231 GARAGE LUCAS                                 REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   657893 GARAGE LUCAS / GARAGE L L INC HC 01 BOX 6085                                                                                                              GURABO             PR         00778‐9731
   657894 GARAGE LUCHO                  HC 1 BOX 39713                                                                                                              CABO ROJO          PR         00623
   657895 GARAGE LUGO                   PO BOX 58                                                                                                                   HORMIGUEROS        PR         00660
   657896 GARAGE LUIS                   HC 1 BOX 6691                                                                                                               CIALES             PR         00638
   657897 GARAGE LUIS IRIZARRY          312 CALLE POST SUR                                                                                                          MAYAGUEZ           PR         00680
   657898 GARAGE MANGUAL                BOX 3439                                                                                                                    CAMUY              PR         00627‐9605
   657899 GARAGE MANSO                  BUENA VISTA                         65 CALLE MAGNOLIA                                                                       CAROLINA           PR         00985
   657900 GARAGE MARIN                  APARTADO 2128                                                                                                               CAYEY              PR         00737
   657901 GARAGE MARIO                  HC 3 BOX 14437                                                                                                              UTUADO             PR         00641
   183232 GARAGE MARTINEZ               REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   657748 GARAGE MATEO                  URB LUCHETTI                        60 CALLE VIRGILIO DEL POZO                                                              MANATI             PR         00674
   657904 GARAGE MECANICA MANUEL        PO BOX 75                                                                                                                   LA PLATA           PR         00786‐0075
   657905 GARAGE MECANICA RUBEN         BOX 454                                                                                                                     MOROVIS            PR         00687
   657906 GARAGE MEDINA                 PO BOX 142313                                                                                                               ARECIBO            PR         00614
   657907 GARAGE MEJIAS                 REPARTO MEJIAS                      BOX 1038                                                                                MANATI             PR         00674
   657908 GARAGE MELERO INC             URB GOLDEN GATE                     158 CALLE ZAFIRO                                                                        GUAYNABO           PR         00968
   657909 GARAGE MERCADO                BO SABANA                           RR 1 BOX 11117                                                                          OROCOVIS           PR         00720
   657910 GARAGE MERGAL                 HC 3 BOX 17411                                                                                                              COROZAL            PR         00783
   657911 GARAGE MICKEY                 35 AVE SAN MIGUEL                                                                                                           UTUADO             PR         00641
          GARAGE MIRANDA BODY SHOP
   657912 INC                           PMB 491 BOX 7891                                                                                                            GUAYNABO           PR         00970‐7891
   657913 GARAGE MOI                    URB EL PRADO                        514 A CALLE ITALIA                                                                      SAN JUAN           PR         00917
   183233 GARAGE MOLINA                 REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   657915 GARAGE MOLLY                  HC 02 BOX 6323                                                                                                              BARRANQUITAS       PR         00794
   183234 GARAGE MONACO INC             PMB 143                             1353 RD 19                                                                              GUAYNABO           PR         00966‐2700
   657916 GARAGE MONTALVO               P O BOX 138                                                                                                                 LAS MARIAS         PR         00670‐0138
   657917 GARAGE MONTAN                 URB PUERTO NUEVO                    401 CALLE APENINOS                                                                      SAN JUAN           PR         00920
   657918 GARAGE MORALES                HC 6 BOX 75615                                                                                                              CAGUAS             PR         00725
   657920 GARAGE MUSTANG                HC‐73 BOX 6068                                                                                                              NARANJITO          PR         00719
   657921 Garage Nano                   HC‐71 Box 1227                                                                                                              Naranjito                     00719
          GARAGE NARY Y/O AUTO PIEZAS
   657922 COROZAL                       P O BOX 104                                                                                                                 COROZAL            PR         00783
   657923 GARAGE NAZARIO                327 SAN IGNASIO                                                                                                             MAYAGUEZ           PR         00680
   657924 GARAGE NUEVO                  PO BOX 899                                                                                                                  MAYAGUEZ           PR         00681
   183236 GARAGE OCASIO                 REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                        STE 125A FELIX CORDOVA
   183176 GARAGE OCASIO INC             DAVILA                                                                                                                      MANATI             PR         00674
   657925 GARAGE OQUENDO                P O BOX 172                                                                                                                 JAYUYA             PR         00664
   657926 GARAGE PADOVANI               PO BOX 785                                                                                                                  SAN GERMAN         PR         00683
   657927 GARAGE PALOMO                 PMS 605                             P O BOX 4952                                                                            CAGUAS             PR         00725
   657928 GARAGE PAPO                   URB CIBUCO                          C 8 CALLE 1                                                                             COROZAL            PR         00783
   657929 GARAGE PAPO DIANA             URB MIRA FLORES                     49‐14 CALLE 59                                                                          BAYAMON            PR         00957
   657930 GARAGE PEDRO J TORRES         HC‐01 BOX 4110                                                                                                              MAUNABO            PR         00707
   657931 GARAGE PEPE LINEA             PO BOX 1118                                                                                                                 TRUJILLO ALTO      PR         00977‐1118



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  657932 GARAGE PICO                                  APT 547                                                                                                                  MARICAO              PR           00606
  657933 GARAGE PIPE                                  RR 5 BOX 6010                                                                                                            BAYAMON              PR           00956
  657934 GARAGE PIRY & AUTO PARTS                     HC 1 BOX 5207                                                                                                            CIALES               PR           00638
                                                      CARR AGUAS BUENAS A
   657935 GARAGE PLANA AND HIJOS                      BAYAMON                         KM 21 1                                                                                  AGUAS BUENAS         PR           00703
   657936 GARAGE PONTEZUELA                           PO BOX 1851                                                                                                              CAROLINA             PR           00983
   657937 GARAGE PUCHO                                BOX 37484                                                                                                                CAYEY                PR           00737

   657938 GARAGE PUEBLO NUEVO SHELL                   PO BOX 847                                                                                                               CABO ROJO            PR           00622
   657939 GARAGE PUPY MATOS                           BOX 438                                                                                                                  FAJARDO              PR           00738438
   657940 GARAGE QUIQUE                               HC 5 BOX 51401                                                                                                           HATILLO              PR           00659
   657941 GARAGE QUIQUE PUIG                          VILLA TURABO                    F 8 CALLE ROBLES                                                                         CAGUAS               PR           00725
   657942 GARAGE QUIQUE SHELL                         111 CALLE JOSE DE DIEGO                                                                                                  SAN LORENZO          PR           00754
   657943 GARAGE RAFA ORTIZ                           URB TOA ALTA HEIGHTS            AN 37 CALLE 33                                                                           TOA ALTA             PR           00959
   657944 GARAGE RAFI                                 HC 2 BOX 32005                                                                                                           CAGUAS               PR           00726
   183238 GARAGE RAFY                                 REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   657947 GARAGE RAICES                               HC 02 BOX 7874                                                                                                           CAMUY                PR           00627
   657949 GARAGE RAIMUNDI                             BOX 1204                                                                                                                 VEGA BAJA            PR           00694
   657950 GARAGE RALPH                                PO BOX 8667                                                                                                              SAN JUAN             PR           00910
   183240 GARAGE RAMOS                                REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   183242 GARAGE RENATO BERDUT                        AVE PONCE DE LEON 510                                                                                                    HATO REY             PR           00917
   657955 GARAGE RENE                                 HC 03 BOX 9673                                                                                                           BARRANQUITAS         PR           00794‐9804
   183243 GARAGE REPARTO FLAMINGO                     REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   183244 GARAGE REY                                  REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   657957 GARAGE RICHARD                              KM 42 1                         CARR 2 BO ALGARROBO                                                                      VEGA BAJA            PR           00696
   183246 GARAGE RICHIE                               REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   183247 GARAGE RICHIE & FRANK                       AVE. EDUARDO CONDE              2115 VILLA PALMERAS                                                                      SANTURCE             PR           00915
          GARAGE RICKY ‐ LILLIAN LOPEZ
   183249 CEPERO                                      REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   657959 GARAGE RIOS                                 HC 3 BOX 14462                                                                                                           UTUADO               PR           00641

   657960 GARAGE ROBERT                               BO DULCES LABIOS                250 CALLE BENIGNO CONTRERAS                                                              MAYAGUEZ             PR           00681
   657961 GARAGE ROBERTO FALCON                       HC 02 BOX 5211                                                                                                           COMERIO              PR           00782
   657962 GARAGE ROBERTO ROBERT                       EXT VILLA RICA                  B 27 CALLE 2                                                                             BAYAMON              PR           00956
   183250 GARAGE ROBLES                               REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   657963 GARAGE ROCA GULF                            650 AVE MIRAMAR                                                                                                          ARECIBO              PR           00612
   657964 GARAGE ROMAN                                URB EL CORTIJO                  007 CALLE 3 A                                                                            BAYAMON              PR           00956
   657965 GARAGE ROMERO                               PO BOX 31340                                                                                                             SAN JUAN             PR           00929‐1340

   183251 GARAGE ROMERO, INC.                         65 INF. STATION, PO BOX 31340                                                                                            SAN JUAN             PR           00924
   657966 GARAGE ROSADO                               PO BOX 1156                                                                                                              VEGA ALTA            PR           00692
          GARAGE ROVEL MALDONADO
   657968 FIGUEROA                                    BO BARAHONA                     BOX 324 CALLE MARGINAL                                                                   MOROVIS              PR           00687
   657969 GARAGE SANCHEZ                              URB REXVILLE                    AJ 41 CALLE 51                                                                           BAYAMON              PR           00957
   657970 GARAGE SANTIAGO                             13 BO GARZAS                                                                                                             ADJUNTAS             PR           00601
   657972 GARAGE SEGARRA                              169 CALLE VILLA                                                                                                          PONCE                PR           00731
   657973 GARAGE SENDITO                              BO JOBOS                        66 RUTA 10                                                                               ISABELA              PR           00662
   657974 GARAGE SHELL                                PO BOX 363                                                                                                               BOQUERON             PR           00622‐0363
   657978 GARAGE SHELL FIGUEROA                       79 CALLE MAYOR CANTERA                                                                                                   PONCE                PR           00731
   657979 GARAGE SOTOMAYOR                            BOX 138                                                                                                                  VEGA BAJA            PR           00694
   657980 GARAGE TALLER CARIBE                        HC 02 BOX 24760                                                                                                          AGUADILLA            PR           00603
   657981 GARAGE TEXACO                               28 BO GARZAS                                                                                                             ADJUNTAS             PR           00601 2108
   657991 GARAGE TILO                                 PO BOX 2072                                                                                                              OROCOVIS             PR           00720



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  657992 GARAGE TITIN                                 HC 103 BOX 25977                                                                                                          LAJAS                PR           00667

   657993 GARAGE TITO                                 SECTOR CAMASEY SABANA SECA KM 2.0 CARR 872                                                                                TOA BAJA             PR           00952‐4454
   657995 GARAGE TITO BARRETO                         PO BOX 133                                                                                                                FAJARDO              PR           00738
   657996 GARAGE TOLEDO                               HC 5 BOX 27657                                                                                                            CAMUY                PR           00627‐9860
   657997 GARAGE TOMAS SERRANO                        P O BOX 30299                                                                                                             PONCE                PR           00734 0299
   657998 GARAGE TOMASIN                              PO BOX 441                                                                                                                CAYEY                PR           00737
   657999 GARAGE TONAN                                BUZON 620‐12A                                                                                                             CABO ROJO            PR           00623
                                                      PARC SAN ANTONIO BO
   658000 GARAGE TONY                                 HIGUILAR                   151 A CALLE 2                                                                                  DORADO               PR           00646
   658001 GARAGE TORRES                               P O BOX 50735                                                                                                             LEVITOWN             PR           00950‐0735
   183252 GARAGE TOTY                                 REDACTED                   REDACTED                            REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   658004 GARAGE UNION                                950 AVE FRANKLIN D ROOSEVELT                                                                                              SAN JUAN             PR           00920

   658005 GARAGE UNIVERSITARIO GULF                   PO BOX 9807                                                                                                               CAGUAS               PR           00726
   658006 GARAGE VAN CAR                              PUERTO NUEVO                     514 AVE ANDALUCIA                                                                        SAN JUAN             PR           000920
   658007 GARAGE VARGAS                               PO BOX 287                                                                                                                AIBONITO             PR           00705
   658008 GARAGE VEGA                                 7 BDA LA PRA APT 11                                                                                                       MANATI               PR           00674
   658009 GARAGE VELAZQUEZ                            PO BOX 365                                                                                                                NAGUABO              PR           00744
   658010 GARAGE VICTOR RODRIGUEZ                     BO SABANA                        CARR 664 BZN 49                                                                          BARCELONETA          PR           00617
   658011 GARAGE VIERZ                                VILLA PALMERA                    369 AVE EDUARDO CONDE         ESQ. MANUEL CONCHADO                                       SAN JUAN             PR           00915
   658012 GARAGE VILLEGAS ROBLES                      707 CALLE HOARE                                                                                                           SAN JUAN             PR           00907
   658013 GARAGE VIRI                                 HC 1 BOX 18610                                                                                                            CABO ROJO            PR           00623
   658014 GARAGE WILLIAM RIVERA                       64 QUISQUEYA ESQ CHILE                                                                                                    SAN JUAN             PR           00917

   658015 GARAGE WILLY AIR CONDITION                  PO BOX 956                                                                                                                RINCON               PR           00677
   658016 GARAGE WITO                                 URB VILLA CAROLINA               11‐84 CALLE 88                                                                           CAROLINA             PR           00985
   658017 GARAGE Y JUNKER RAUL                        BO CEIBA                         CARR 782 BOX 1826                                                                        CIDRA                PR           00739
   658019 GARAGE YUNQUE                               PO BOX 505                                                                                                                JUANA DIAZ           PR           00795
                                                                                       868 CALLE BORNEO URB
   658022 GARAJE & AUTO PARTS NARVAEZ COUNTRY CLUB                                     COUNTRY CLUB                                                                             SAN JUAN             PR           00924
   658023 GARAJE 2000                 HC 02 BOX 13790                                                                                                                           ARECIBO              PR           00612
   183253 GARAJE ALBERTO              REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   658024 GARAJE ALEX                                 CALLE BARBOSA 2061               ESQ BETANCES VILLA PALMERAS                                                              SAN JUAN             PR           00915
   658025 GARAJE ANGEL                                BARAHONA                         190 B CALLE MANUEL CACHO                                                                 MOROVIS              PR           00687
   658020 GARAJE BAIROA                               BOX 161                          BARRIO BAIROA                                                                            AGUAS BUENAS         PR           00703
   658026 GARAJE BAIROA                               BOX 161 BO BAIROA                                                                                                         AGUAS BUENAS         PR           00703
   183254 GARAJE BENIQUEZ                             REDACTED                         REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   658027 GARAJE BENO                                 URB APONTE                       A 19 CALLE 1                                                                             CAYEY                PR           00736
   658028 GARAJE CALIFORNIA                           PO BOX 3344                                                                                                               MANATI               PR           00674‐3344
   183255 GARAJE CAMILO                               REDACTED                         REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   183256 GARAJE CAMILO INC                           ALTOS DE LA FUENTE               CALLE 1D‐12                                                                              CAGUAS               PR           00725

   183257 GARAJE CAMILO INC.                          CALLE I D‐12 ALTO DE LA FUENTE                                                                                            CAGUAS               PR           00725
          GARAJE CANO ‐ ANTONIO
   658029 MIRANDA VEGA                                URB VEGA BAJA LAKES              G 26 CALLE 7                                                                             VEGA BAJA            PR           00693
   658030 GARAJE CARLOS                               RR 4 BOX 3520                                                                                                             BAYAMON              PR           00956
   183258 GARAJE CARLOS A ZAPATERO                    REDACTED                         REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   658031 GARAJE CASILLAS                             URB SAN FRANCISCO                6 AVE DE DIEGO                                                                           SAN JUAN             PR           00927
   658032 GARAJE CASTILLO                             ESQ BETANCES                     100 CALLE CORONA                                                                         SAN JUAN             PR           00911
   658033 GARAJE CESAR                                LAS MONJAS                       1 CALLE CHILE                                                                            SAN JUAN             PR           00917



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  658034 GARAJE CHAMBER ESSO                          PO BOX 1130                                                                                             CABO ROJO         PR         00623
  658035 GARAJE CHICO                                 HC 72 BOX 6752                                                                                          CAYEY             PR         00736
  658036 GARAJE COFRESI SHELL                         URB BORINQUEN         C 9 CALLE 2                                                                       CABO ROJO         PR         00623
  658037 GARAJE COLON                                 SANTA ROSA            24‐32 CALLE 9                                                                     BAYAMON           PR         00659
  658039 GARAJE COLON HIJO                            HC 5 BOX 52166                                                                                          CAGUAS            PR         00625‐9203
  658040 GARAJE CONKY                                 URB VETURINI          D 11 CALLE 2                                                                      SAN SEBASTIAN     PR         00685
  658041 GARAJE COOPERATIVO                           PO BOX 816                                                                                              SABANA GRANDE     PR         00637
  658042 GARAJE CRUZ                                  HC 1 BOX 8601                                                                                           GURABO            PR         00778
  658044 GARAJE CUBA                                  URB LAS PERLAS        211 CALLE CORROZO                                                                 MOCA              PR         00676
  658045 GARAJE CUNIN                                 PO BOX 99                                                                                               BARRANQUITAS      PR         00794‐0099
  658046 GARAJE EDWIN VIDAL                           322 CALLE VILLA                                                                                         PONCE             PR         00731
  658047 GARAJE EL MAGO                               PO BOX 459                                                                                              CIALES            PR         00638
  183259 GARAJE EL REY                                REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  658048 GARAJE EMILIANO                              HC 3 BOX 11544                                                                                          A¥ASCO            PR         00610

   658049 GARAJE ESSO / LA CASA DEL JEEP HC 01 BOX 2110                                                                                                       LAS MARIAS        PR         00670
   658050 GARAJE FELIPE SANCHEZ          PO BOX 436                                                                                                           ARROYO            PR         00714
   658051 GARAJE FUSTER                  HC 3 BOX 8121                                                                                                        LARES             PR         00669
   658053 GARAJE GILBERT                 PO BOX 1505                                                                                                          UTUADO            PR         00641
   658054 GARAJE GUELO                   HC 2 BOX 12810                                                                                                       LAJAS             PR         00667
   658055 GARAJE GULF LAS MARIAS         PO BOX 373                                                                                                           LAS MARIAS        PR         00670
   658056 GARAJE HANCE                   P O BOX 2782                                                                                                         CAROLINA          PR         00984
   183261 GARAJE HILGO                   REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   183262 Garaje Hilgo Inc.              PO BOX 72                                                                                                            SAINT JUST        PR         00978
          GARAJE HOJALATERIA Y PINTURA
   658058 NAZARIO                        PMB 125 PO BOX 607061                                                                                                BAYAMON           PR         00960
   658059 GARAJE ISLA                    PO BOX 991                                                                                                           BOQUERON          PR         00622
   658063 GARAJE JAIME                   URB SANTA JUANITA                  NI 11 CALLE NINFA                                                                 BAYAMON           PR         00956
   658064 GARAJE JIMMY                   BO SABALOS                         28 BDA NADAL                                                                      MAYAGUEZ          PR         00680
   658065 GARAJE JUAN                    HNAS DAVILA                        O 36 CALLE 9                                                                      BAYAMON           PR         00956
   658066 GARAJE JUNIOR                  HC 01 BOX 5291                                                                                                       BARRANQUITAS      PR         00794
   658067 GARAJE KING                    PO BOX 521                                                                                                           BARRANQUITAS      PR         00794
   183263 GARAJE LA VICTORIA CORP        P M B 166                          P O BOX 80000                                                                     ISABELA           PR         00662
   658068 GARAJE LAUREANO                159 CALLE PARIS                                                                                                      SAN JUAN          PR         00917
   658069 GARAJE LOS AMIGOS              164281 VILLA EVANGELINA                                                                                              MANATI            PR         00674
   658070 GARAJE LOS FUENTES             HC 03 BOX 8815                                                                                                       BARRANQUITAS      PR         00794
   658071 GARAJE LUIS                    306 CALLE FRANCIA                                                                                                    SAN JUAN          PR         00917
   658072 GARAJE MALDO                   PO BOX 1077                                                                                                          UTUADO            PR         00641
   658073 GARAJE MANSO INC               URB SABANA GARDENS                 14 12 CALLE 26                                                                    CAROLINA          PR         00983
   658074 GARAJE MARTINEZ                PO BOX 251                                                                                                           JUANA DIAZ        PR         00795‐0251
   658077 GARAJE MATEO                   URB SANTA JUANITA                  M 20 CALLE FORMOSA                                                                BAYAMON           PR         00956
   183264 GARAJE MATTEI                  REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   658078 GARAJE MEDINA                  P O BOX 142313                                                                                                       ARECIBO           PR         00614
   658079 GARAJE MERCADO INC             RR 1 BOX 11117                                                                                                       OROCOVIS          PR         00720
   658021 GARAJE MIRANDA                 PMB 491 P O BOX 7891                                                                                                 GUAYNABO          PR         00970‐7891
          GARAJE MIRANDA TIRE CENTER/
   183265 CHARLIE                        PO BOX 6761                        SANTA ROSA UNIT                                                                   BAYAMON           PR         00960
   658080 GARAJE MORALES                 42 CALLE SAN AGUSTIN ESTE                                                                                            GUAYAMA           PR         00784
                                         CARR. 668 KM. 0.1 FELIX
   658081 GARAJE OCASIO                  CORDOVA                            DAVILA # 125‐A                                                                    MANATI                       00674
   183266 GARAJE PALMAR SHELL            REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   658082 GARAJE PAOPEI                  CALLE DE DIEGO 469                                                                                                   RIO PIEDRAS       PR         00923
   658083 GARAJE PAQUITO                 P.O. BOX 6400 SUITE 296                                                                                              CAYEY                        00737



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  658084 GARAJE PASCUAL                               PARADA 13 1 2 MIRAMAR         816 AVE FERNANDEZ JUNCOS                                                                   SAN JUAN            PR           00907

   658085 GARAJE PASO REAL AUTO PARTS PO BOX 575                                                                                                                               MANATI              PR           00674
   183268 GARAJE PICHON, INC.         BOX 225                                                                                                                                  HATILLO             PR           00659
   658086 GARAJE PIRY INC             HC 1 BOX 5207                                                                                                                            CIALES              PR           00638
                                                                                    245 CALLE CALMA VILLA
   658087 GARAJE POLDIN                               LA MISMA                      PALMERA                                                                                    SANTURCE            PR           00912
   658089 GARAJE PROGRESO                             BO PARIS                      103 CALLE DR ESCABI                                                                        MAYAGUEZ            PR           00680
   658090 GARAJE RAFA                                 34 BARRIO CANTERA                                                                                                        MANATI              PR           00674
          GARAJE RICKY/LILLIAM LOPEZ
   183269 CEPERO                                      PEDRO MARQUEZ # 3 BOX 157                                                                                                CULEBRA             PR           00775‐0000
   658091 GARAJE RIVERA                               BO SABANA                     BOX 142                                                                                    OROCOVIS            PR           00720
          GARAJE RIVERA AND MACHINE
   183270 SHOP                                        RR 11 BOX 3815                                                                                                           BAYAMON             PR           00956
   658092 GARAJE RODRIGUEZ                            PO BOX 188                                                                                                               SAN LORENZO         PR           00754
   183271 GARAJE RUBEN                                CALLE GUAYAMA #229                                                                                                       HATO REY            PR           00917
   183272 GARAJE RUBEN INC                            PMB 487 SUITE 140             200 AVE. RAFAEL CORDERO                                                                    GAGUAS              PR           00725
   658094 GARAJE RULLAN                               5 BO GARZAS                                                                                                              ADJUNTAS            PR           00601
   658095 GARAJE SHELL                                111 CALLE DE DIEGO W                                     SAN LORENZO                                                     SAN LORENZO         PR           00754
   658096 GARAJE SHELL 4 CALLES                       P.O. BOX 1205                                                                                                            ARROYO                           00714
   183274 GARAJE TANAN                                REDACTED                      REDACTED                   REDACTED                            REDACTED                    REDACTED            REDACTED     REDACTED       REDACTED

   658098 GARAJE TANAN INCORPORADO                    PO BOX 620                                                                                                               CABO ROJO           PR           00623
   658099 GARAJE TEXACO PLAZA                         CALLE POST SUR 255                                                                                                       MAYAGUEZ            PR           00680
   658100 GARAJE TITO                                 P O BOX 107                                                                                                              SABANA GRANDE       PR           00637
   658101 GARAJE TOMAS SERRANO                        PO BOX 30299                                                                                                             PONCE               PR           00734‐0299
   658102 GARAJE UNIVERSITARIO GULF                   PO BOX 1184                                                                                                              GURABO              PR           00778
   658103 GARAJE VALLE                                1 AVE QUEBRADILLAS                                                                                                       ISABELA             PR           00662
   658104 GARAJE VALLE DE LAJAS                       P O BOX 1376                                                                                                             LAJAS               PR           00667
   658105 GARAJE VARGAS                               REPTO SAN JOSE                413 CALLE BELMONTE                                                                         SAN JUAN            PR           00923

   658106 GARAJE VARO DBA CARLOS RUIZ                 URB HILL BROTHERS             118 A CALLE 17                                                                             SAN JUAN            PR           00924
   658107 GARAJE VELAZQUEZ                            PO BOX 365                                                                                                               RIO BLANCO          PR           00744
   183275 GARAJE Y JUNKER ORSINI                      RR 01 BOX 2080                                                                                                           ANASCO              PR           00610
   658108 GARAJE YAHUECAS                             BO YAHUECAS                   HC 01 BOX 3800                                                                             ADJUNTAS            PR           00601
   183279 GARAU DIAZ MD, PRISCILA                     REDACTED                      REDACTED                   REDACTED                            REDACTED                    REDACTED            REDACTED     REDACTED       REDACTED
   183280 GARAU DIAZ, IVAN                            REDACTED                      REDACTED                   REDACTED                            REDACTED                    REDACTED            REDACTED     REDACTED       REDACTED
   831379 Garay Electric Inc.                         Urb. Villa Madrid C‐15                                                                                                   Coamo               PR           00769
   658109 GARAY ELECTRIC PSC                          C 15 URB VILLA MADRID                                                                                                    COAMO               PR           00769
   183346 GARAY LOPEZ, ELISABET                       REDACTED                      REDACTED                   REDACTED                            REDACTED                    REDACTED            REDACTED     REDACTED       REDACTED
   183372 GARAY MORALES, HILDA                        REDACTED                      REDACTED                   REDACTED                            REDACTED                    REDACTED            REDACTED     REDACTED       REDACTED
                                                                                    CELDA 3‐K 106‐A DE LA      CORRECCIONAL BAYAMON 501
  1422779 GARAY PICÓN, JOSÉ M.                        SR. JOSÉ MIGUEL GARAY PICÓN   INSTITUCIÓN                CARR. #5                            AVE. ENTRAL JUANITA FINAL   BAYAMÓN             PR           00960

  1419810 GARAY ROJAS, MARIA CECILIA                  CRISTINA B. MARTÍNEZ GUZMÁN PO BOX 70244                                                                                 SAN JUAN            PR           00936‐8244
   183430 GARAY SANTIAGO, JENNIFER                    REDACTED                    REDACTED                     REDACTED                            REDACTED                    REDACTED            REDACTED     REDACTED       REDACTED
          GARAYALDE COTRONEO MD,
   183457 GLENN J                                     REDACTED                      REDACTED                   REDACTED                            REDACTED                    REDACTED            REDACTED     REDACTED       REDACTED
   658110 GARAYUAS COMPUTER PRINT                     LEVITTOWN LAKES               B G C/ DR. J.A. DAVILA                                                                     LEVITTOWN           PR           00949‐3412
   183542 GARCIA & ASSOCIATES INC                     37193 ADAMS GREEN LANE                                                                                                   MIDDLEBERG          VA           20117
   658111 GARCIA & GARCIA                             120 BARCELONA                 PDA 16 1/2                                                                                 SAN JUAN            PR           00907
   183547 GARCIA ACEVEDO MD, OBED                     REDACTED                      REDACTED                   REDACTED                            REDACTED                    REDACTED            REDACTED     REDACTED       REDACTED




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   183548 GARCIA ACEVEDO MD, OBED R                   REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   183648 GARCIA ALICEA, LUZ                          REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      FERNANDO JOSÉ RIVERA                                         SUITES 228‐229 AVE. MUÑOZ
  1422798 GARCÍA ALVARADO, FELIX L.                   CASELLAS                    COND. EL CENTRO II               RIVERA 500                                                 SAN JUAN            PR           00918
   183711 GARCIA AMARO, ELBA I.                       REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   183734 GARCIA ANGULO, JESSIE                       REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GARCIA APONTE & QUINONES
   183741 LLC                                         PO BOX 9295                                                                                                             SAN JUAN            PR           00908
   183761 GARCIA ARANA, JASON                         REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   183789 GARCIA ARREGUI & FULLANA                    CITIBANK TOWERS STE 1101    252 AVE. PONCE DE LEON                                                                      HATO REY            PR           00918
   658112 GARCIA ARREGUI & FULLANA                    P O BOX 11579                                                                                                           SAN JUAN            PR           00910

   183478 GARCIA ARROYO MD, MADELINE REDACTED                                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1419811 GARCÍA ARZOLA, CARMEN JULIA                 BÁRBARA J. NIEVES MERCADO   PO BOX 2198                                                                                 CAYEY               PR           00737
   658113 GARCIA AUTO BODY SHOP                       HC 1 BOX 3069                                                                                                           FLORIDA             PR           00650
   658114 GARCIA AUTO PARTS                           PO BOX 697                                                                                                              MANATI              PR           00674
   658115 GARCIA AUTO SUPPLY                          BOX 3547                                                                                                                BAYAMON             PR           00958
   658116 GARCIA AUTOMATIC                            URB VILLA ROSA              I A 15                                                                                      GUAYAMA             PR           00784
   183896 GARCIA BARRETO MD, LUIS                     REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   184011 GARCIA BRUNO, GLADYS                        REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   184015 GARCIA BURGOS MD, JOSE O                    REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658117 GARCIA BUS LINE INC                         HC 03 BOX 18310                                                                                                         RIO GRANDE          PR           00745
   184041 GARCIA BUS LINE INC.                        HC‐03 BUZON 18310                                                                                                       RIO GRANDE          PR           00745
          GARCÍA CABALLERO, MARIA
  1419812 ELENA                                       OSVALDO TOLEDO              PO BOX 190938                                                                               SAN JUAN            PR           00919
                                                      FRANCISCO J. VIZCARRONDO‐
  1419813 GARCIA CABEZA, MARIA T                      TORRES                      PO BOX 195642                                                                               SAN JUAN            PR           00919‐5642
   184116 GARCIA CAMACHO, YAIZA                       REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658118 GARCIA CAR CARE                             HC 01 BOX 4189                                                                                                          FAJARDO             PR           00718‐9706
                                                                                  CAPITAL CENTER BUILDING SUITE
  1419814 GARCIA CARRASQUILLO, TOMAS ALLAN RIVERA FERNÁNDEZ                       401                                                                                         HATO REY            PR           00918

   184249 GARCIA CASTELLANO, ANNETTE                  REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   184275 GARCIA CATALAN MD, NALIX                    REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GARCIA CESPEDES INSURANCE
   184289 INC                                         P O BOX 191628                                                                                                          SAN JUAN            PR           00919‐1628
          GARCIA CHAMORRO LAW
   184292 GROUP PSC                                   1606 AVE PONCE DE LEON      EDIF JULIO BOGORICIN SUITE 900                                                              SAN JUAN            PR           00909

  1419815 GARCIA CHAPARRO, SIGFREDO                   EITON ARROYO MUÑIZ          153 VALLE E. VAZQUEZ BAEZ                                                                   MAYAGUEZ            PR           00680
   184314 GARCIA CINTRON, YAMILETTE                   REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   184337 GARCIA COLON MD, MARIBEL                    REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   184338 GARCIA COLON MD, RAFAEL                     REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658119 GARCIA COMERCIAL, INC.                      PO BOX 13914                                                                                                            SAN JUAN            PR           00908
   658120 GARCIA COMMERCIAL SIGNS                     PO BOX 362982                                                                                                           SAN JUAN            PR           00936
   658122 GARCIA CONCRETE INC.                        APARTADO 494                                                                                                            ISABELA                          00662
                                                                                  M.L. & R.E. LAW FIRM 513 JUAN
  1419816 GARCIA CONZALEZ, MANUEL                     JORGE MARTINEZ LUCIANO      J. JIMENEZ ST.                                                                              SAN JUAN            PR           00918

   184560 GARCIA CRUZ MD, FERNANDO A REDACTED                                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1419817 GARCIA CRUZ, SAMUEL        CARLOS E ARROYO GRAULAU                      CALLE PERSEO 50 APT 5B                                                                      SAN JUAN            PR           00920



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  1419818 GARCÍA CRUZ, SAMUEL                         CARLOS E. ARROYO GRALAU    CENTRO DE ALTAMIRA APT 5B                                                                       SAN JUAN            PR           00920
   184660 GARCIA CUEVAS MD, IVAN                      REDACTED                   REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED

   184661 GARCIA CUEVAS MD, MILLAN J                  REDACTED                   REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED
   184715 GARCIA DE JESUS, FELIX O                    REDACTED                   REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED
                                                                                 28 CALLE JIMENEZ GARCIA URB.
  1419819 GARCIA DELGADO, JULIO A.                    JAMES REYES FIGUEROA       PLA                                                                                             CAGUAS              PR           00725

   184975 GARCIA ESCROGGIN, LOURDES                   REDACTED                   REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED
          GARCIA FIGUEROA & COMPANY
   658123 PSC                                         P O BOX 25069                                                                                                              SAN JUAN            PR           00928‐5069
   185079 GARCIA FIGUEROA, AISHA                      REDACTED                   REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED
   185087 GARCIA FIGUEROA, DIDY                       REDACTED                   REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED

   185094 GARCIA FIGUEROA, FRANCISCA                  REDACTED                   REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED
   185102 GARCIA FIGUEROA, JOSE                       REDACTED                   REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED
   185195 GARCIA GALARZA, DAISY                       REDACTED                   REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED
   185208 GARCIA GARCIA MD, DAVID                     REDACTED                   REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED
   185209 GARCIA GARCIA MD, JOSE M                    REDACTED                   REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED
   185210 GARCIA GARCIA MD, JUAN C                    REDACTED                   REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED
   185254 GARCIA GARCIA, ELBA                         REDACTED                   REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED
  1419820 GARCÍA GARCÍA, JASON J.                     ALEJANDRO SALGADO RIVERA   PO BOX 201                                                                                      ARROYO              PR           00714
  1419821 GARCIA GARCIA, JEANNETTE                    DENNIS J. CRUZ             PO BOX 10720                                                                                    PONCE               PR           00732

   658124 GARCIA GOMEZ & ASOCIADOS                    PO BOX 361174                                                                                                              SAN JUAN            PR           00936‐1174
   185518 GARCIA GONZALEZ, MARIBEL                    REDACTED                   REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED
   185574 GARCIA GREGORY MD, JOSE L                   REDACTED                   REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED

   185602 GARCIA GUZMAN MD, MILTON E REDACTED                                    REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED

          GARCIA HAGHVEDIAN, FRANCES
  1419822 Y GARCIA ALONSO, FRANCISCO ROBERTO ALONSO SANTIAGO                     APARTADO 913                                                                                    GUAYNABO            PR           00970
          GARCIA HERNANDEZ MD,
   185636 SANTOS                     REDACTED                    REDACTED                    REDACTED                                               REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED
                                                                 CENTRO CORRECCIONAL DE
  1422780 GARCIA HERNANDEZ, CARLOS M. CARLOS M. GARCIA HERNANDEZ BAYAMON                     INSTITUCION ANEXO 292                                  EDIFICIO 8C5 PO BOX 60‐700   BAYAMON             PR           00960
                                                                 REPARTO ALHAMBRA A‐11 CALLE
  1419823 GARCÍA HERNÁNDEZ, EDWIN     RAMÓN A. NEVÁREZ ORTIZ     GRANADA                                                                                                         BAYAMÓN             PR           00957
   185657 GARCIA HERNANDEZ, ELBA      REDACTED                   REDACTED                    REDACTED                                               REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED

  1419824 GARCÍA IBARRA, TANYA 685‐958                MINHELLA RIVERA            PO BOX 3773                                                                                     BAYAMÓN             PR           00958
   185758 GARCIA JANITORIAL SALES                     URB VILLAS DEL CARMEN      K 26 CALLE 11                                                                                   GURABO              PR           00778
   185762 GARCIA JIMENEZ MD, JOSE J                   REDACTED                   REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED
   185773 GARCIA JIMENEZ, LISA M                      REDACTED                   REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED
          GARCIA JOSE A GARCIA SERVICE
   658125 STATION                                     HC 3 BOX 16888                                                                                                             COROZAL             PR           00783
   185786 GARCIA JUNARENA MD, LUIS                    REDACTED                   REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED

   185846 GARCIA LLORENS MD, MIGUEL A                 REDACTED                   REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED
   185852 GARCIA LOPEZ MD, LUIS F                     REDACTED                   REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED
   185922 GARCIA LOPEZ, SARA                          REDACTED                   REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED
   185926 GARCIA LOPEZ, SUSANA                        REDACTED                   REDACTED                       REDACTED                            REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED



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                                                                               PMB 688 1353 AVE. LUIS
  1419825 GARCIA LOPEZ, VICTOR                        MORAIMA S. RÍOS ROBLES   VIGOREAUX                                                                               GUAYNABO            PR           00966

   185938 GARCIA LOZADA MD, HERMES R REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                      GUILLERMO SOMOZA
  1419826 GARCÍA LOZADA, CHRISTIAN J. COLOMBANI                                PO BOX 36603                                                                            SAN JUAN            PR           00936
   185950 GARCIA LUGO MD, JOSE        REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   185986 GARCIA LUGO, RICARDO        REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658126 GARCIA MACHINE SHOP         BO HATO ARRIBA                           HC 02 BOX 19058                                                                         SAN SEBASTIAN       PR           00685
   658127 GARCIA MACHINERY            PO BOX 3368                                                                                                                      SAN JUAN            PR           00936
   186001 GARCIA MACIA DBA, JOSE      REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658128 GARCIA MALAVE & CO          PO BOX 363788                                                                                                                    SAN JUAN            PR           00936‐3788
   186130 GARCIA MARTINEZ, EDGARDO    REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   186208 GARCIA MATEO MD, JOSE M     REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   186239 GARCIA MD , LAUREANO P      REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   186240 GARCIA MD , RAFAEL G        REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   186241 GARCIA MD, CARLOS           REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   186242 GARCIA MD, EFRAIN           REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   186243 GARCIA MD, PEDRO            REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GARCIA MEDICAL EQUIPMENT
   658129 CORP                        97 CALLE BETANCES                                                                                                                CAGUAS              PR           00725
          GARCIA MELENDEZ JOMAR
   186302 ENRIQUE                     REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                               1454 AVENIDA FERNÁNDEZ
  1419827 GARCIA MELENDEZ, JARIDA                     HARRY ANDUCE MONTAÑO     JUNCOS                                                                                  SAN JUAN            PR           00909

  1419828 GARCIA MELENDEZ, JARIDA    HARRY ANDUZE                              1454 AVE. FERNÁNDEZ JUNCOS                                                              SAN JUAN            PR           00909
   186420 GARCIA MOJICA, CARMEN G.   REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GARCIA MORALES MD, ROBERTO
   186495 F                          REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1419829 GARCÍA MORALES, JAVIER     ROGER A. LEYBA RODRIGUEZ                  PO BOX 873                                                                              HORMIQUEROS         PR           00660‐0873
  1419830 GARCÍA MORALES, MIGUEL A   ROGER A. LEYBA RODRIGUEZ                  PO BOX 873                                                                              HORMIQUEROS         PR           00660‐0873
   658130 GARCIA MOTOR SERVICE       PO BOX 363181                                                                                                                     SAN JUAN            PR           00936
          GARCIA MOTOR SERVICE       AVE. JESUS T. PINERO 1200,
   186572 SERVICE, INC.              CAPARRA, PR 00921                         P.O. BOX 363181                                                                         San Juan            PR       00921
   658131 GARCIA MOTORS SERVICE INC  PO BOX 363181                                                                                                                     SAN JUAN            PR       00936‐3181
   186580 GARCIA MUðIZ BRUNILDA      REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   186594 GARCIA MUNOZ, ANA          REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   186666 GARCIA NIEVES MD, RAFAEL   REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED

   186722 GARCIA OCAMPO MD, ESTHER E                  REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   186782 GARCIA ORTIZ MD, OSCAR                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   186710 GARCIA ORTIZ MD, SYLVIA                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   186905 GARCIA OTANO, DORIS M                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   186906 GARCIA OTERO MD, PEDRO                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   186930 GARCIA PABON, MARIA T                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   187023 GARCIA PEÑA MD, ANETTE                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   187024 GARCIA PEÑA MD, ZINNIA                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   187134 GARCIA PEREZ, MERCEDES                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   187163 GARCIA PEREZ, SILVIA M.                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1419831 GARCÍA PIÑERO, ARIANA                       ARIANA GARCÍA PIÑERO     9 CALLE COSTA                                                                           JUNCOS              PR           00777
   658132 GARCIA PLAJA Y ASOCIADOS                    PO BOX 1234                                           HATO REY                                                   SAN JUAN            PR           00919‐1234




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          GARCIA PRADO Y ASOCIADOS C S
   187212 P                            PO BOX 458                                                                                                                            YABUCOA              PR           00767
   187229 GARCIA QUILES, RAUL          REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GARCIA QUINONES Y ASOCIADOS
   187231 INC                          HC 61 BOX 4171                                                                                                                        TRUJILLO ALTO        PR           00976
   187268 GARCIA RAMAZA, YOLANDA       REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   187269 GARCIA RAMIREZ MD, LIBET Y   REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   187296 GARCIA RAMIREZ, ROSA M       REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   658133 GARCIA REFRIGERATION SERVICE PO BOX 1464                                                                                                                           VIEQUES              PR           00765
   183541 GARCIA RIVERA , LUZ E        REDACTED                                    REDACTED                    REDACTED                               REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                   1151 CALLE CAIRO URB PUERTO
   658134 GARCIA RIVERA JOSE A.                       PUERTO NUEVO                 NUEVO                                                                                     SAN JUAN             PR           00920

   187452 GARCIA RIVERA MD, ARMANDO F REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   187453 GARCIA RIVERA MD, LESLIE    REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   187454 GARCIA RIVERA MD, LUIS      REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   187455 GARCIA RIVERA MD, ROBERTO                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   187488 GARCIA RIVERA, CARMEN M                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   187522 GARCIA RIVERA, EMELINDA                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

  1419832 GARCIA RIVERA, LUIS RAUL                    ORLANDO J. APONTE ROSARIO    HC 04 BOX 3000                                                                            BARRANQUITAS         PR           00794

   187668 GARCIA RIVERA, MONSERRATE                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   187736 GARCIA RIVERA, YOMAIRA                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   187759 GARCIA RODRIGUEZ MD, CARLOS REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   187763 GARCIA RODRIGUEZ, AILEEN    REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   187800 GARCIA RODRIGUEZ, EDGARDO                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

  1419833 GARCIA RODRIGUEZ, GERARDO                   YADIRA MANFREDY RAMOS                                2905                                                              PONCE                PR           00716‐3616
   187845 GARCIA RODRIGUEZ, IRENES L                  REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

  1419834 GARCIA RODRIGUEZ, JAIME R.                  SR. JAIME GARCIA RODRIGUEZ   PO BOX 3355                                                                               VEGA ALTA            PR           00692
  1419835 GARCÍA RODRÍGUEZ, JAIME R.                  GARCÍA RODRÍGUEZ, JAIME R.   PO BOX 3355                                                                               VEGA ALTA            PR           00692

   187917 GARCIA RODRIGUEZ, MARIA M                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   187981 GARCIA RODRIGUEZ, WALESKA                   REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   187993 GARCIA RODZ, MARIA I.                       REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   188027 GARCIA ROMAN MD, OSCAR                      REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   188036 GARCIA ROMAN, EGLOINA                       REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                   CAPITAL CENTER BUILDING SUITE
  1419836 GARCIA ROMAN, JOSE                          ALLAN RIVERA FERNÁNDEZ       401                                                                                       HATO REY             PR           00918
   188048 GARCIA ROMAN, MARIA L.                      REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   188065 GARCIA RONDON MD, MARI T                    REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   188066 GARCIA RONDON MD, MARITERE REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   188082 GARCIA ROSA, CARMEN M        REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GARCÍA ROSALY, GIOVANNA 685‐                                             COND. VENUS PLAZA C APTO.
  1419837 965                          GIOVANA GARCIA                              803                                                                                       SAN JUAN             PR           00917



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  188151 GARCIA ROSARIO MD, IOLANI                    REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                    750 CALLE PIEDRAS NEGRAS #2
  1419838 GARCIA ROSARIO, BRENDA                      HAROLD J. RIVERA VAZQUEZ      PORTICOS DE VENUS                                                                          SAN JUAN            PR         00926
   188172 GARCIA ROSARIO, EMILIO                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   188222 GARCIA RUIZ, ASTRID M.                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                    PMB 247 AVE TITO CASTRO 609
  1419839 GARCIA RUIZ, NORBERTO                       JOSE G SANTIAGO MEDINA        STE 102                                                                                    PONCE               PR         00716

  1419840 GARCIA SAIS, JORGE R.                       ISMAEL PAGAN MORALES          CALLE JOSE M.TORO BASORA #7                                                                LAJAS               PR         00667
   188340 GARCIA SANTANA MD, FILIA S                  REDACTED                      REDACTED                    REDACTED                                REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   188358 GARCIA SANTIAGO MD, ERNESTO REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   188359 GARCIA SANTIAGO MD, JOSE    REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   188415 GARCIA SANTIAGO, MARIA T    REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

  1419841 GARCIA SANTIAGO, YESINETTE                  NELSON RAMOS HERNÁNDEZ        PO BOX 8455                                                                                PONCE               PR         00732‐8455
   188460 GARCIA SANTOS, INGRID                       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   658135 GARCIA SELVA & RAMIREZ                      PO BOX 195017                                                                                                            SAN JUAN            PR         00919‐5017
   658136 GARCIA SERVICE STATION                      HC‐03 BOX 16888                                                                                                          COROZAL                        00783
   658137 GARCIA SIGNS INC                            PO BOX 29538 65TH INF. STA.                                                                                              SAN JUAN            PR         00929‐9538

   188562 GARCIA SOBERAL MD, MADELINE REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   188564 GARCIA SOLER MD, FELIPE A   REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                    #2 PORTICOS DE VENUS 750
  1419842 GARCIA SOSTRE, WANDA                        HAROLD RIVERA VAZQUEZ         CALLE PIEDRAS NEGRAS                                                                       SAN JUAN            PR         00926
          GARCIA SOTO AGAPITO Y/O
   658138 FELICITA LOPEZ                              HC 03 BOX 8004                                                                                                           MOCA                PR         00676
   188601 GARCIA SOTO, ELIZABETH                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GARCIA TALAVERA MD, GABRIEL
   188648 J                                           REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   188697 GARCIA TORRES MD, WANDA                     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1419843 GARCIA TORRES, AWILDA                       MARTIN GONZÁLEZ VÁZQUEZ       PO BOX 591                                                                                 MERCEDITA           PR         00715‐0591
                                                      INSTITUCIÓN PONCE ADULTOS     UNIDAD 4 MOD 5 CELDA 210
  1419844 GARCIA TORRES, JESUS                        1000                          3793 PONCE BY PASS                                                                         PONCE               PR         00728‐1504
                                                                                    PO BOX 10005 C‐ C#250 INST.
  1419845 GARCÍA TORRES, JESÚS          JESÚS D. GARCÍA TORRES                      ANEXO 500                                                                                  GUAYAMA             PR         00785
  1419846 GARCÍA TORRES, JESÚS D.       NILDA RAMÓN APONTE                          PMB 462 P. O. BOX 6400                                                                     CAYEY               PR         00737
   188792 GARCIA TORRES, MYRNA          REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                        PO BOX 10016 CAPARRA HGTS
   658139 GARCIA TRUCKING SERVICES INC. STA                                                                                                                                    SAN JUAN            PR         00922
   188827 GARCIA URBINA, MARIA L        REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

  1419847 GARCIA URBINA, TOMAS                        MICHAEL CORONA MUNOZ          110 CALLE BORINQUEN SUITE 4‐1                                                              TRUJILLO ALTO       PR         00976
  1419848 GARCÍA VARELA, ESTHER M.                    LUIS MADERA                   PO BOX 13695                                                                               SAN JUAN            PR         00908‐3695

                                                                                    COND. EL CENTRO I SUITE 220
  1419849 GARCÍA VÁZQUEZ, REYNALDO                    LUIS E. GERVITZ CARBONELL     AVE. MUÑOZ RIVERA #500                                                                     HATO REY            PR         00918
                                                                                    PO BOX 9465 PLAZA CAROLINA
  1419850 GARCÍA VEGA, EDWIN LUIS                     VICTOR A. RAMOS RODRIGUEZ     STA.                                                                                       CAROLINA            PR         00988‐9465
   188978 GARCIA VELAZQUEZ, DORIS                     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   188995 GARCIA VELEZ MD, JUAN R                     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   189036 GARCIA VELEZ, MILDRED Y.                    REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   189039 GARCIA VELEZ, MILTON J.                     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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          GARCIA VERA Y OTROS,
  1419851 KARENJELLYS                                 BRUNILDA FIGUEROA NATER        PO BOX 70244                                                                          SAN JUAN            PR           00936‐8244
   189056 GARCIA VERA, EDGAR                          REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   189057 GARCIA VERGNE MD, MANUEL A REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   189058 GARCIA VICARIO MD, JOSE A  REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GARCIA, APONTE & QUINONES,
   189153 LLC                        PO BOX 9295                                                                                                                           SAN JUA             PR           00908
                                                                                     644 AVE. ANDALUCIA ALTOS
  1419852 GARCIA, MARTIN                              CARMEN M. QUINONES NUNEZ       PUERTO NUEVO                                                                          SAN JUAN            PR           00920
          GARCIA, QUINONES Y
   189197 ASOCIADOS INC                               PMB 191 PO BOX 2500                                                                                                  TRUJILLO ALTO       PR           00977

  1419853 GARCIA, ZORAIDA J           ALEXANDER MEDINA MELÉNDEZ 1575 MUÑOZ RIVERA PMB 185                                                                                  PONCE               PR           00717‐0211
   189222 Garcia‐Beltran, Ana         REDACTED                  REDACTED                                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   189010 García‐Figueroa, Lynette    REDACTED                  REDACTED                                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GARCIA‐QUINONES Y ASOCIADOS
   771060 INC                         PMB 191 PO BOX 2500                                                                                                                  TRUJILLO ALTO       PR           00977
          GARCIA‐QUINONES Y
   189234 ASOCIADOS, INC.             PO BOX 1924                                                                                                                          TRUJILLO ALTO       PR           00977‐1924
   771063 GARCIA'S ELECTRIC           1065 Las Palmas                                                                                                                      San Juan            PR           00907

   189100 GARCIA'S TRANSPORTATION INC HC 02 BOX 3799                                                                                                                       PENUELAS            PR           00624
                                      AVE PONCE DE LEON 306
   658143 GARCICON CORPORATION        2DO.PISO                                       PUERTA DE TIERRA                                                                      SAN JUAN            PR           00901
   189247 GARCINOX CORP               RR 6 BOX 9213                                                                                                                        SAN JUAN            PR           00926‐9400

   189248 GARDAN DEVELOPMENT CORP                     URB BELISA                     10 CALLE DETROIT                                                                      SAN JUAN            PR           00926
          GARDEN DESIGN AND
   658144 CONTRACTORS INC                             URB JARD DE VALENCIANO         A7 CALLE JAZMIN                                                                       JUNCOS              PR           00777
   189253 GARDEN GOODS SALES INC                      P.O. BOX 29453                                                                                                       SAN JUAN            PR           00929‐0453
   189254 GARDEN HILL FLOWERS                         PO BOX 10143                                                                                                         SAN JUAN            PR           00922
   658145 GARDEN HILLS FLOWER                         PO BOX 10143                                                                                                         SAN JUAN            PR           00922
   658146 GARDEN HILLS FLOWERS                        PO BOX 10143                                                                                                         SAN JUAN            PR           00922
          GARDEN MAX & POWER
   189255 EQUIPMENT                                   PO BOX 948                                                                                                           GUAYNABO            PR           00970‐0948
          GARDENS OF DAISYS
   189257 COMMUNITY HOME, INC.                        HC 02 BOX 12519                                                                                                      AGUA S BUENAS       PR           00703
          GARDENS UNLIMITED
   658147 LANDSCAPING & DESIGN                        PO BOX 37094 INT AIRPORT STA                                                                                         SAN JUAN            PR           00937‐0094
   189260 GARDINER MD, JOSEPH                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   189261 GARDINER MD, WALTER                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   189262 GARDNER MD, TIMOTHY                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   189264 GARDY L ORONA CORTES                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   189268 GARIB GARCIA MD, MAGALY                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GARIBALDI FIORENTINO
   658148 HOFFMAN                                     VILLA FONTANA                  4 DN 2 VIA 31                                                                         CAROLINA            PR           00983

   658149 GARIBALDI LAMBOGLIA PEREZ                   PO BOX 52                                                                                                            GUAYAMA             PR           00784
   658150 GARIMAR TORRES NAVARRO                      RPTO VALENCIA                  P 21 CALLE A                                                                          BAYAMON             PR           00959
          GARIN STRATEGIC RESEARCH
   658151 GROUP LLC                                   1724 CONNECTICUT AVE N W                                                                                             WASHINGTON          DC           20009




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          GARIN STRATEGIC RESEARCH                    PETER D HART RESEARCH
   189271 GROUP LLC/DBA                               ASSOCIATES IN                  1724 CONNECTICUT AVENUE NW                                                              WASHINGTON          DC           20009
   189273 GARITO FILMS LLC                            URB MONTE ALVERNIA             2 CALLE SAN GABRIEL                                                                     GUAYNABO            PR           00969

   189278 GARLAND NEUROLOGICAL CLINIC 315 N SHILOH RD STE 103                                                                                                                GARLAND             TX           75042‐0000
   189284 GARLAV CONSTRUCTION         P O BOX 849                                                                                                                            BARRANQUITAS        PR           00794
   658152 GARLEM                      APTO 5C                                        COND DUERO                                                                              HATO REY            PR           00917
   658153 GARMAC INC                  PO BOX 363368                                                                                                                          SAN JUAN            PR           00936
          GARNELL MEDICAL EQUIPMENT
   658154 CORP                        PO BOX 7313                                                                                                                            MAYAGUEZ            PR           00681‐7313
  1419854 GARNET FOJO, AARÓN L.       ROGER A. LEYBA RODRIGUEZ                       PO BOX 873                                                                              HORMIQUEROS         PR           00660‐0873
   658155 GARPI CONSTRUCTION          BOX 67 EXT PALMER                                                                                                                      CIALES              PR           00638
   189342 GARRETT L VEGA VALENTIN     REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   189343 GARRIDO & COMPANIA INC      PO BOX 363207                                                                                                                          SAN JUAN            PR           00936‐3207
          GARRIDO & COMPANIA, INC DBA
   189344 AROMA COFFFE BREAK          P.O. BOX 363207                                                                                                                        SAN JUAN            PR           00936‐3207
   189351 GARRIDO DIAZ, JOSU          REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   189362 GARRIDO Y COMPAÐIA INC      EDIF ORBIT KITCHEN                             SECT IND EL CINCO            1537 PONCE DE LEON                                         SAN JUAN            PR           00926‐0000
   189366 GARRIDO Y COMPANIA INC      EDIF ORBIT KITCHEN                             SECT IND EL CINCO            1537 PONCE DE LEON                                         SAN JUAN            PR           00926
   189372 GARRIGA & MARINI PSC        PO BOX 16593                                                                                                                           SAN JUAN            PR           00908‐6593
                                      PMB 261 220 WESTERN AUTO
   189387 GARRIGA INDUSTRIAL INC.     PLAZA                                          SUITE 101                                                                               TRUJILLO ALTO       PR           00976‐3607
   189388 GARRIGA INDUSTRIAL, INC.    PMB 261 220                                    WESTERN AUTO PLAZA                                                                      TRUJILLO ALTO       PR           00976
   189401 GARRIGA PAPER               P.O. BOX 364862                                                                                                                        SAN JUAN            PR           00936‐4862
   189410 GARRIGA SALES               AREA DEL TESORO                                DIVISION DE RECLAMACIONES                                                               SAN JUAN            PR           00902‐4140
   189413 GARRIGA SALES CORP          1717 AVE PONCE DE LEON                         COND PLAZA INMACULADA II                                                                SANTURCE            PR           00909‐1932
   658157 GARRIGA TRADING CO          G P O BOX 4862                                                                                                                         SAN JUAN            PR           00936
   771064 GARRIGA TRADING CO INC      P O BOX 364862                                                                                                                         SAN JUAN            PR           00936‐4862
   189418 GARRIGUES COLOMBIA SAS      REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658160 GARROCHALES ESSO SERVICES                   PO BOX 784                                                                                                             GARROCHALES         PR           00652
   189419 GARRY M JONES MARTINEZ                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   189420 GARRY TORRES MATOS                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658161 GARTNER INC                                 P O BOX 60179                  12600 GATEWAY BLVD                                                                      FORT MYERS          FL           33906‐6179
   189422 GARVEY J MALDONADO GIL                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658162 GARVIN J SIERRA VEGA                        COLINAS DE CUPEY               A6 CALLE 1                                                                              SAN JUAN            PR           00926
   658163 GARWIN ZAMORA SANCHEZ                       PO BOX 9021112                                                                                                         SAN JUAN            PR           00902‐1112

   658164 GARY A DIAZ SACARERELLO                     VILLAS DE ISLA VERDE APT A17   121 AVE LAGUNAS                                                                         CAROLINA            PR           00979
   189423 GARY A HIDALGO BODRE                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658165 GARY AUTO PART                              P.O. BOX 90                                                                                                            CABO ROJO           PR           00623
   189424 GARY BONILLA RIVERA                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658166 GARY CRUZ DE JESUS                          EF 8 CALLE EUGENIO A BUSATTI                                                                                           TOA BAJA            PR           00949
   189425 GARY D BELL BRADFORD                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                     1133 BAL HARBOR BLVD STE
   658167 GARY D HARRELL                              PMB 154                        1139                                                                                    PUNTA GORDA         FL           33950
   189426 GARY DECLET TORRES                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   189427 GARY E MORALES GERALDINO                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   189428 GARY E. MORALES GERALDINO                   REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   189429 GARY G. ARBELO GONZALEZ                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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                                                      7670 NORTH PORT
   658168 GARY HOFFMAN                                WASHINGTON ROAD               SUITE 102                                                                          MILWAUKEE           WI           53217

   189430 GARY I CARABALLO RODRIGUEZ                  REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658169 GARY KING                                   12 ANZIO LANE                                                                                                    CEIBA               PR           00735 2508
   658170 GARY L CHIQUE SANCHEZ                       PMB 2209                      PO BOX 6400                                                                        CAYEY               PR           00737
   658172 GARY LEE SCHNABEL                           241 E DESERT LANE                                                                                                GILBERT             AZ           85234
   189431 GARY MONTALVO PETOVICH                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   189432 GARY NAZARIO RODRIGUEZ                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   189433 GARY P KOERNER                              REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   189434 GARY RODRIGUEZ                              REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658175 GARY S                                      CALLE BARBOSA 23                                                                                                 ISABELA             PR           00662
   189435 Gary S. Vazquez Davila                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658176 GARY SCHORR                                 1112 DALE DRIVE                                                                                                  SILVER SPRING       MD           20910
   189436 GARY W. EHLERT BIRRIEL                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658177 GARYMID ORTIZ HERNANDEZ                     BO LOMAS GARCIA               HC 71 BOX 2405                                                                     NARANJITO           PR           00719
   658178 GAS CASTILLO                                41 MAYOR CANTERA                                                                                                 PONCE               PR           00731
          GAS CONTROL PRODUCTS OF PR
   658179 INC                                         PMB 354                       PO BOX 2400                                                                        TOA BAJA            PR           00951‐2400
   189439 GAS ESCALERA                                REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658180 GAS PRODUCTS INDUSTRIES                     PO BOX 363302                                                                                                    SAN JUAN            PR           00936
   658181 GAS REPAIR EQUIPMENT                        URB PUERTO NUEVO              332 CALLE 7 NE                                                                     SAN JUAN            PR           00920‐2406
          GAS REPAIR EQUIPMENT &
   658183 PARTS                                       PO BOX 1453                                                                                                      TRUJILLO ALTO       PR           00977
   189440 GAS WELDING STORE CORP                      JARDINES DE COUNTRY CLUB      785 AVE CAMPO RICO                                                                 SAN JUAN            PR           00710‐7404

   658184 GAS WHOLESALE DIVISION INC                  283 CALLE GUAYAMA                                                                                                SAN JUAN            PR           00917
   189441 GASB                                        PO BOX 5116                   401 MEERIT                                                                         NORWALK             CT           0068565116
   658185 GASCO INDUSTRIAL CORP                       P O BOX 1360                                                                                                     GURABO              PR           00778
   658186 GASCO QUALITY M F C                         HC 1 BOX 5843                                                                                                    TOA BAJA            PR           00949
          GASCO QUALITY
   658187 REMANUFACTURING                             HC 1 BOX 5843                                                                                                    TOA BAJA            PR           00949
   189442 GASCOM & GUAYNABO AUTO                      PO BOX 896                                                                                                       GUAYNABO            PR           00970
          GASCOM & GUAYNABO AUTO
   189443 SOUND                                       PO BOX 896                                                                                                       GUAYNABO            PR           00970
          GASCOM & GUAYNABO AUTO
   189444 SOUND , INC.                                P. O. BOX 896                                                                                                    GUAYNABO            PR           00970‐0000
          Gascom & Guaynabo Auto
   831380 Sound, Inc.                                 PO Box 896                                                                                                       Guaynabo            PR           00970

   658188 GASCOT AUTO ELECTRIC SERV                   PO BOX 51686                                                                                                     TOA ALTA            PR           00950‐1686
   189482 GASCOT RODRIGUEZ, JOSUE                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658190 GASJEN BENEJAM                              PO BOX 1804                                                                                                      AGUADILLA           PR           00605
   658191 GASOLINA DE P R CORP                        RR‐2 BOX 7938                                                                                                    CIDRA               PR           00739
   658192 GASOLINA DE PUERTO RICO                     HC 2 BOX 6094                                                                                                    CAMUY               PR           00627‐9105
   658193 GASOLINA P.R.                               HC‐40 Box 40410                                                                                                  San Lorenzo                      00754
   658194 GASOLINA PR 2141                            AVE SAN IGNACIO               1385 URB ALTAMESA                                                                  SAN JUAN            PR           00925
   658195 GASOLINAS ALEJANDRO INC                     PO BOX 647                                                                                                       SAN LORENZO         PR           00754

   658196 GASOLINAS DE P.R.                           APARTADO 10672 CAPARRA STA.                                                                                      SAN JUAN                         00922
   658198 GASOLINAS DE PR                             CARR 3 KM 108 9                                                                                                  MAUNABO             PR           00707
   658200 GASOLINAS PUERTO RICO                       HC 2 BOX 10185                                                                                                   COROZAL             PR           00783
   658202 GASOLINERA COROZAL                          P O BOX 454                                                                                                      COROZAL             PR           00783



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  658201 GASOLINERA COROZAL SHELL                     URB MARIA DEL CARMEN       N 16 CALLE 10                                                                              COROZAL           PR           00783
  658203 GASOLINERA COROZAL SHELL                     URB MARIA DEL CARMEN       N‐6 CALLE 10                                                                               COROZAL           PR           00783
  658204 GASOLINERA DE P.R.                           HC‐01 BOX 6850                                                                                                        LAJAS             PR           00667‐9704
  658205 GASOLINERA GULF                              PO BOX 165                                                                                                            NARAJITO          PR           00719
  658206 GASOLINERA LOS CHOBAS                        HC 2 BOX 11374                                                                                                        COROZAL           PR           00783
  658207 GASOLINERA RIO BLANCO                        PO BOX 603                                                                                                            RIO BLANCO        PR           00744‐0603
         GASOLINERA TEXACO DEL ESTE
  189497 INC                                          HC 1 BOX 4912                                                                                                         NAGUABO           PR           00718
         GASOLINERA Y AUTO PIEZAS DE
  658208 FLORIDA                                      PO BOX 144                                                                                                            FLORIDA           PR           00650
  658209 GASOLINERIA MALECON                          739 INGENIERO                                                                                                         MAYAGôEZ          PR           00680
  189498 GASPAR APONTE RIVERA                         REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  658212 GASPAR BERIO                                 PO BOX 2345                                                                                                           BAYAMON           PR           00960
  189499 GASPAR CANTRES OCASIO                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  189500 GASPAR CODESAL GUZMAN                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  189501 GASPAR COLON RIVERA                          REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  658213 GASPAR FEBUS MORALES                         RES SEVILLA                897 CALLE TURINA                                                                           SAN JUAN          PR           00924
  658214 GASPAR FELICIANO RIVERA                      HC 01 BOX 5340                                                                                                        ADJUNTA           PR           00601
  658216 GASPAR FUENTES                               VILLA PALMERAS             257 CALLE COLTON                                                                           SAN JUAN          PR           00915‐2214
  658217 GASPAR IRIZARRY                              MONTHBLANC HOUSING         J 16 CALLE E                                                                               YAUCO             PR           00698
  658218 GASPAR LOPEZ CASTRO                          PO BOX 729                                                                                                            GUAYNABO          PR           00970‐0729

   189503 GASPAR MARRERO HERNANDEZ                    REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   189504 GASPAR MARRERO NEGRON                       REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   658220 GASPAR MARTINEZ MANGUAL                     PO BOX 194422                                                                                                         SAN JUAN          PR           00919‐4422
   189506 GASPAR MUNIZ VILLALBA                       REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
                                                      CON EMILIANO POW MAYAGUEZ
   658224 GASPAR OLIVO DIAZ                           129                                                                                                                   SAN JUAN          PR           00926
   658225 GASPAR ORENGO AVILES                        PO BOX HC 02              BOX 12497                                                                                   YAUCO             PR           00698
   189507 GASPAR PABON NEGRON                         REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   658227 GASPAR PAGAN CHEVERRE                       URB VILLA FONTANA         3K S 1 CALLE MIRTA                                                                          CAROLINA          PR           00983
   658211 GASPAR RUIZ DUPREY                          URB SAWS SOUCI            CALLE 7 K 13                                                                                BAYAMON           PR           00957

   189511 GASPAR SANTIAGO RODRIGUEZ                   REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   189512 GASPAR SANTIAGO SOTO                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   189513 GASPAR SOTO ROMAN                           REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   658229 GASPAR TABALES SANTANA                      PO BOX 2428                                                                                                           JUNCOS            PR           00777
   189514 GASPAR TORO SANTIAGO                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   658231 GASPAR TORRES TORRES                        PO BOX 9023207                                                                                                        SAN JUAN          PR           00902‐3207

   189515 GASPAR VELAZQUEZ BABILONIA REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          GASPAR VERA / MYRNA M
   189516 GONZALEZ                   URB VILLA ESPANA                            A3 CALLE DE LA VERA                                                                        BAYAMON           PR           00961
   658233 GASPARD AND SONS INC.      PO BOX 838                                                                                                                             CAYEY             PR           00737
          GASPARD AND SONS MAYAGUEZ
   189517 INC                        PO BOX 1432                                                                                                                            HORMIGUERO        PR           00660‐1432
   189532 GASTON CAPOTE              REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   189536 GASTON E NOGALES ESFAKIS   REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   658234 GASTON MACHINE             133 CALLE COMERCIO                                                                                                                     MAYAGUEZ          PR           00680

   189544 GASTON MORALES, MINERVA E                   REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
                                                      COND TORRE DEL AUXILIO
   189562 GASTRO 2000                                 MUTUO                      735 AVE PONCE DE LEON STE 809                                                              SAN JUAN          PR           00917‐5031



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  658235 GASTRO MED CSP                                PO BOX 411                                                                                                    ARECIBO              PR           00613
         GASTROENTEROLOGIA
  658236 AVANZADA                                      P O BOX 3146                                                                                                  MAYAGUEZ             PR           00681
  658237 GASTROENTEROLOGY ASSOC                        6140 SW 70 TH ST                                                                                              SOUTH MIAMI          FL           33143
         GASTROENTEROLOGY
  189566 ASSOCIATES OF OSCEOLA                         710 OAK COMMONS BLVD                                                                                          KISSIMMEE            FL           34741
         GASTROENTEROLOGY CENTRE
  658238 CSP                                           PO BOX 268                                                                                                    GUAYAMA              PR           00785‐0268
         GASTROENTEROLOGY
  189567 INTESTINAL PHYSICIANS                         55 HIGHLAND AVE STE 304                                                                                       SALEM                MA           01970‐2100
         GASTROENTEROLOGY
  189569 THRAPEUTIC ENDOS COPY                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
  658240 GASTROMED DEL SUR PSC                         PO BOX 7437                                                                                                   PONCE                PR           00732

  1256518 GASTRONOMÍA MEJICANA, LLC                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          GASTRONOMIA MEJICANA, LLC
   189570 DBA 5 DE MAYO                                CARR 693 ESQ JOSE EFRM     LOCAL 6                                                                            DORADO               PR           00693
   658241 GATE & DOOR SYSTEMS INC                      CARR 114 KM 1 7 INT                                                                                           MAYAGUEZ             PR           00680
   658242 GATE ENGINEERING CORP.                       CALLE MARGINAL D 44        EXT. FOREST HILLS                                                                  BAYAMON              PR           00959
   189572 GATE WAY 2000                                PO BOX 2000                610 GATEWAY AVE                                                                    NORT SOUS CITY       SD           0557049
   658243 GATEC INC                                    PO BOX 771                                                                                                    GURABO               PR           00778
   658244 GATEWAY 2000                                 PO BOX 2000                                                                                                   NORTH SIOUX CITY     SD           57049‐2000
   658245 GATEWAY COMPANIES INC                        PO BOX 31012                                                                                                  HARTFORD             CT           06150‐1012
   189575 GATEWAY COMPANIES INC.                       PO BOX 8255                                                                                                   DES MOINES           IA           50301
          GATEWAY SECURITY
   189576 SOLUCTIONS , INC.                            DRIVE IN PLAZA MSC # 106                                                                                      BAYAMON              PR           00959‐0000
          GATEWAY SECURITY SOLUTIONS
   189577 INC                                          106 DRIVE IN PLAZA MSC                                                                                        BAYAMON              PR           00959

   831381 Gateway Security Solutions, Inc. Drive in Plaza MSC # 106                                                                                                  Bayamon              PR           00959
          GATORS ACADEMY BASEBALL
   189578 CLUB INC                         PO BOX 1327                                                                                                               TRUJILLO ALTO        PR           00977
   658246 GAUDELYN SANCHEZ MEJIAS          PO BOX 366603                                                                                                             SAN JUAN             PR           00936‐6603

   189625 GAUDIER GONZALEZ RODRIGUEZ REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   189627 GAUDIER MD , JOSE A        REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
                                                                                  308 CALLE NEVADA ,SAN
  1419855 GAUDIER PÉREZ, JONATHAN                      AUREA M AVILES GAUDIER     GERARDO                                                                            SAN JUAN             PR           00926
   189634 GAUDIO MD , PAUL A                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   658248 GAUDIUM INC.                                 ESJ TOWER                  SUITE 2200                                                                         CAROLINA             PR           00979
   189635 GAUDY GOMEZ FAJARDO                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   189638 GAUSS RESEARCH LABORATORY                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          GAUSS RESEARCH LABORATORY
   658249 INC                                          PO BOX 21613                                                                                                  SAN JUAN             PR           00931
          GAUSS RESEARCH                               UPR‐RP FACUNDO BUESO
   189639 LABORATORY,INC                               BUILDING OFFICE FB‐265                                                                                        RIO PIEDRAS          PR           00931
   658250 GAUTIER & DE TORRES ARQ                      PO BOX 19357                                                                                                  SAN JUAN             PR           00910
          GAUTIER & GAUTIER
   189660 ARQUITECTOS                                  PO BOX 11591                                                                                                  SAN JUAN             PR           00910‐2691
   658251 GAVINO MORALES TRUCKING                      P.O. BOX 275                                                                                                  TRUJILLO ALTO        PR           00977
   189772 GAYA MERCADO, NANCY                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   658252 GAYLE JULSRUD                                4534 PAGEANT WAY                                                                                              ORLANDO              FL           32808‐2731



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  189778 GAYLE W GRIGGS WILSON                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  658253 GAYLORD BROTHERS                             PO BOX 4901                                                                                                          SYRACUSE             NY         13221‐4901
  658254 GAYTA MOTORS INC                             PO BOX 1655                                                                                                          YAUCO                PR         00698
  189787 GAZI MD , GOLAM R                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         GAZTAMBIDE LORENZO, DIANA
  189808 M                                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  831382 GB Advisors                                  Urb. Villa Clementina        J‐47 Camino Alejandrino                                                                 Guaynabo             PR         00969
  189820 GB ADVISORS INC                              URB VILLA CLEMENTINA         J 47 CAMINO ALEJANDRINO                                                                 GUAYNABO             PR         00969
  189821 GB ADVISORS, INC.                            URB VILLAS DEL RIO           D24 CALLE 15                                                                            BAYAMON              PR         00959
  189822 GBC INC                                      B7 CALLE TABANUCO STE 806                                                                                            GUAYNABO             PR         00968

   658255 GBM EDUCATIONAL MARKETING PO BOX 3531                                                                                                                            GUAYNABO             PR         00970‐3531
  1256519 GBP CREAMERY              REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   189824 GBP CREAMERY INC          URB RAMIREZ DE ARELLANO                        CALLE SALVADOR BRAU 6                                                                   MAYAGUEZ             PR         00682
   189827 GC LAW OFFICES            COND EL CENTRO I                               AVE MUNOZ RIVERA STE 220                                                                SAN JUAN             PR         00918
   658256 GC LIGA BASEBALL CORP     URB COUNTRY CLUB                               MR 6 CALLE 430                                                                          CAROLINA             PR         00982

   189828 GC SERVICES                                 DEPARTAMENTO DE HACIENDA                                                                                             SAN JUAN             PR         00901
   189829 GCI WEB SOLUTIONS INC                       CAPITOLIO PLAZA              APT I‐907 CALLE DEL MUELLE                                                              SAN JUAN             PR         00901‐2636

   189831 GDC OF FLORIDA IMPORTS INC                  4815 NW 79 TH AVE SUITE 15                                                                                           DORAL                FL         33166
   189833 GDJA LAW OFFICE PSC                         COND MONTE BLANCO            APT 301                                                                                 SAN JUAN             PR         00926
   189834 GDJCS INC                                   PO BOX 140208                                                                                                        ARECIBO              PR         00614
   189835 GDL INC                                     PO BOX 373190                                                                                                        CAYEY                PR         00737‐3190
   189836 GDV CORP                                    PO BOX 6419                                                                                                          BAYAMON              PR         00960
   189837 GDV GROUP INC                               131 AVE ELEANOR ROOSVELT                                                                                             SAN JUAN             PR         00918

   658257 GE APPLIANCES CARIBBEAN INC                 PO BOX 9                                                                                                             CAROLINA             PR         00986‐0009

   658260 GE CAPITAL CORPORATION OF PR TORRE DE LA REINA                           450 AVE PONCE DE LEON                                                                   SAN JUAN             PR         00901

   658261 GE CONSTRUCTION INDUSTRIAL                  147 EL TUQUE INDUSTRIAL PARK                                                                                         PONCE                PR         00731
          GE HEALTHCARE PUERTO RICO                   792 AVE. SAN PATRICIO URB. LAS
   189839 CORP.                                       LOMAS                                                                                                                SAN JUAN             PR         00921
   189840 GE INDUSTRIAL OF PR                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   189841 GE INDUSTRIAL OF PR, LLC                    PO BOX 144080                                                                                                        ARECIBO              PR         00612
          GE INTERNATIONAL CONTROLS
   658262 CO                                          PO BOX 328 RD KM 30 1                                                                                                VEGA ALTA            PR         00692
          GE TECNICAL SERVICES
   189842 COMPANY                                     ROAD 5 KM 27 4               BLDG 1 PALMAS WARD                                                                      CATANO               PR         00962
          GEA CARIBBEAN EXPORT                                                     1590 AVE PONCE DE LEON SUITE
   658265 MEDICAL SYSTEMS DIV                         GM GROUP PLAZA               214B                                                                                    SAN JUAN             PR         00926
   189845 GEANNETTE SOTO MENDOZA                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   189846 GECHA J RODRIGUEZ CABRERA                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          GEDALIAS CASILLAS RODRIGUEZ
   189847 DBA PURE SOU                                PO BOX 1115                                                                                                          BAYAMON              PR         00950‐0000
          GEDALIAS CASILLAS VEGA DRIVE
   658269 SOUND STUDI                                 URB REXVILLE                 F 10 CALLE 6                                                                            BAYAMON              PR         00957
   189848 GEÐITOS CATERING                            AREA DEL TESORO              DIVISION DE RECLAMACIONES                                                               SAN JUAN             PR         00902‐4140
   189850 GEEMARIS PEREZ BAEZ                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   658270 GEF EMBROIDERY                              527 ANDALUCIA                SUITE 98                                                                                SAN JUAN             PR         00920
   189851 GEFFREY KENNEDY                             REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  189852 GEHIELY ROSADO MORALES                       REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  189853 GEIDI MELENDEZ HERNANDEZ                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  658272 GEIGEL REALTY CO INC                         PO BOX 9902                                                                                                    SAN JUAN             PR         00908
  658273 GEIGER BROS INC                              P O BOX 712144                                                                                                 CINCINATI            OH         45271‐2144

   658274 GEIGER GROUP INTERNATIONAL                  1135 SUMMER LAKES DR                                                                                           ORLANDO              FL         32835
   658275 GEIGER INTERNATIONAL                        5 CALLE ONEILL                                                                                                 SAN JUAN             PR         00918
          GEIGER INTL D/B/A THE
   658276 BRANDRICH CO INC                            PO BOX 191856                                                                                                  SAN JUAN             PR         00919‐1856
   189879 GEILY DELGADO MARTINEZ                      REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   189880 GEIMAR FLORES CEDENO                        REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   658278 GEINER L SANTANA VAZQUEZ                    URB VISTA ALEGRE       1719 CALLE AMARILLO                                                                     SAN JUAN             PR         00926
   658279 GEIRY FRANCISCA PEREZ                       URB SANTA RITA         14 CALLE JORGE ROMANI                                                                   SAN JUAN             PR         00925

   658280 GEISA M MARRERO MARTINEZ                    GOLDEN GATE II         E 8 CALLE H                                                                             CAGUAS               PR         00727
   189881 GEISHA E. BURGOS JIMENEZ                    REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   658281 GEISHA L ORELLANA RENOVALES 102 CALLE SANCHEZ                                                                                                              SAN JUAN             PR         00907
   658282 GEISHA M LEBRON RAMOS       HC 09 BOX 62209                                                                                                                CAGUAS               PR         00725
   189882 GEISHA M RENTAS DE JESUS    REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   189883 GEISHA M SALCEDO RONERO     REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   189884 GEISHA M. RAMOS AYALA       REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   189885 GEISHA PLAZA MATIAS         REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   189886 GEISHA SANTIAGO BORGES      REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   189887 GEISHA V FIGUEROA RODRIGUEZ REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   189888 GEISHA VILLEGAS DAVILA      REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                      ASOC DE CHOFERES DE RIO
   658283 GELACIO FELICIER RIVERA     PIEDRAS                                1085 CALLE PADRE CAPUCHINO                                                              SAN JUAN             PR         00925
          GELASIO MORALES / VIOLETA
   189914 ROSARIO                     URB MIRAFLORES                         47‐11 CALLE 56                                                                          BAYAMON              PR         00957‐3847
   189915 GELATOMANIA                 REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   658284 GELECIS MENDEZ ORTIZ        HC 61 BOX 4357                                                                                                                 TRUJILLO ALTO        PR         00976
   658285 GELICAS AUTO SERVICE        439 CALLE PROGRESO                                                                                                             AGUADILLA            PR         00603
   658286 GELIDA R HERNANDEZ          VILLAS DE CASTRO                       PP 22 CALLE 600                                                                         CAGUAS               PR         00725
   189920 GELIMAR VILLALBA ROSADO     REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   189921 GELITZA VELEZ VILLAMIL      REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   189923 GELLIANN APONTE COSS        REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   658287 GELLIE M SANTIAGO NEGRON    VILLAS DEL CAFETAL                     L 19 CALLE 14                                                                           YAUCO                PR         00698
   658288 GELMARIS MELENDEZ GIRON     URB JARDINES DEL CARIBE                X 4 CALLE 27                                                                            PONCE                PR         00728
   189924 GELMARY RIVERA SANCHEZ      REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   658289 GELO CONSTRUCTION           HC 02 BOX 6975                                                                                                                 AADJUNTAS            PR         00601
   658290 GELPI BROTHER INC           PO BOX 363808                                                                                                                  SAN JUAN             PR         00936‐3808

   189936 GELPI MERHEB MD, ENRIQUE F                  REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   189947 GELSON DE JESUS SOTO                        REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   658291 GELSON MELENDEZ MERLY                       HC 43 BOX 10492                                                                                                CAYEY                PR         00736
   658292 GELSON PACHECO ACOSTA                       P O BOX 1761                                                                                                   YAUCO                PR         00698
   189949 GELSON ROSA NIEVES                          REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   658294 GELTRUDIS DIAZ                              AVE LAS PALMAS                                                                                                 SAN JUAN             PR         00907

   189950 GELVER J ESPINOSA RODRIGUEZ REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   189953 GELY LATALLADI MD, LUIS M   REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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                                       AND MECHANICAL CONTRACTOR
   658295 GEM AIR CONDITIONING SERVICE INC                       1417 LAS PALMAS                                                                                         SAN JUAN            PR           00909
   658296 GEM CARIBBEAN INC            PO BOX 185                                                                                                                        CAGUAS              PR           00726‐0185

   189966 GEM LLC                                     COND PRILA KINGS COURT ST 70 APT 3‐C                                                                               SAN JUAN            PR           00911
   658297 GEM PLUS                                    101 PARK DR                                                                                                        MONTGOMERYVILLE     PA           18936
   658298 GEMA CELESTE TORRES                         P O BOX 9023891                                                                                                    SAN JUAN            PR           00902‐3891
          GEMA CLEARING &
   658299 MAINTENANCE INC                             SAINT JUST                   57 CALLE 7                                                                            TRUJILLO ALTO       PR           00976
   658300 GEMA CONSTRUCTION                           SAINT JUST #57 CALLE 7                                                                                             TRUJILLO ALTO       PR           00976
          GEMA DE LOS A. BENITEZ
   189967 NEGRON                                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658301 GEMAIRE CARIBE                              HERMANAS DAVILA              195 AVE BETANCES                                                                      BAYAMON             PR           00959
   658302 GEMAIRE DISTRIBUTORS INC                    2031 M W 79TH AVE                                                                                                  MIAMI               FL           33122
   658303 GEMALY MARTINEZ                             HC 01 BOX 6021                                                                                                     LAS PIEDRAS         PR           00771
   189968 GEMARILYS JIMENEZ ORTIZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658304 GEMASCO                                     P.O. BOX1408                                                                                                       JUANA DIAZ          PR           00795
   658305 GEMELYS OJEDA ANDUJAR                       HC 2 BOX 46624                                                                                                     VEGA BAJA           PR           00693
   189971 GEMINELLY RODRIGUEZ RUIZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   189972 GEMINI CRUZ TORRES                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658306 GEMPLER'S INC                               P O BOX 270                  100 COUNTRYSIDE DRIVE                                                                 BELLEVILLE          WI           53508
   189975 GEMSA MORALES CEDENO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658307 GEN BARRY R MCCAFFREY                       1800 DIAGONAL ROAD SUITE 600                                                                                       ALEXANDRIA          VA           22314
   189976 GEN PROBE                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GENAO ENCARNACION MD,
   189980 MAXWELL                    REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                     URB. LEVITOWN BR‐25 C/DR.
   658308 GENAR0 R. MARRERO SALGADO. EMIGDIO                                       ANTIQUE                                                                               TOA BAJA            PR           00949‐3417
   658309 GENARA FUENTES RIVERA      P O BOX 9022026                                                                                                                     SAN JUAN            PR           00902‐2026
   658310 GENARA GARCIA              URB LOS ANGELES WH 19                         CALLE CRISANTEMOS                                                                     CAROLINA            PR           00979
          GENARA RODRIGUEZ DE
   658312 LEON/HOSPITAL LAFAYE       BDA MARIN                                     11 CALLE LOS MILLONARIOS                                                              ARROYO              PR           00714
   658313 GENARA TORRES              PO BOX 50063                                                                                                                        SAN JUAN            PR           00902
   189987 GENARI DEVELOPMENT CORP    P O BOX 1123                                                                                                                        GURABO              PR           00778
   189988 GENARO A REYES PAGAN       REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   189989 GENARO BATISTA BATISTA     REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658317 GENARO BETANCOURT COLON                     VILLA PALMERA                293 CALLE RIO GRANDE                                                                  SAN JUAN            PR           00915
   658318 GENARO BOU UMPIERRE                         17 CALLE NUEVA                                                                                                     COROZAL             PR           00783
   658319 GENARO BRIGANTY ORTIZ                       99 COLONIA ESPERANZA                                                                                               SALINAS             PR           00751
   189990 GENARO COLLAZO ROSARIO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658315 GENARO COLON RODRIGUEZ                      50 CALLE ADRIANO GONZALEZ                                                                                          ARECIBO             PR           00612
   658320 GENARO CRUZ SANTIAGO                        HC 1 BOX 16235                                                                                                     HUMACAO             PR           00791
   658321 GENARO D OZUNA TAVERAS                      1505 MARTIN TRAVIESO                                                                                               SAN JUAN            PR           00911
   658322 GENARO DIAZ LUGO                            BO NARANJALES                CARR 106 KM 13.8                                                                      MAYAGUEZ            PR           00680
   189991 GENARO F LUGO SANTIAGO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658323 GENARO GAROFALO RIVERA                      HC 20 BOX 11064                                                                                                    JUNCOS              PR           00777

   189994 GENARO L GARCIA ECHEVARRIA                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   189996 GENARO MALDONADO LOPEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658324 GENARO MALDONADO ORTIZ                      PO BOX 230                                                                                                         SALINAS             PR           00751



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   658325 GENARO MANZANARES PADILLA                   PO BOX 1974                                                                                                              MAYAGUEZ            PR           00681
   658326 GENARO MARCIAL CONTY                        184 B CALLE NORTH EAT                                                                                                    RAMEY               PR           00604
   189997 Genaro Mendez Mercado                       REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   189998 GENARO MERCADO VARGAS                       REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658327 GENARO MESTRE FLECHA                        HC 02 PO BOX 11131                                                                                                       HUMACAO             PR           00791‐9602
   658328 GENARO ORTIZ CORTES                         112 AGUSTINE ST APT Z           391 CLAY AVENUE                                                                          ROCHESTER           NY           14613
   658329 GENARO ORTIZ MARRERO                        150 CALLE DR VEVE                                                                                                        BAYAMON             PR           00961
   658316 GENARO ORTIZ RIVERA                         PO BOX 375122                                                                                                            CAYEY               PR           00737
          GENARO ORTIZ Y ANGELA
   189999 CUZME                                       262 DAVIDSON AVE APT 1                                                                                                   PERTH AMBOY         NJ           00861‐3942

   658330 GENARO OYOLA NIEVES                         C/O DIV.CONCILIACION (99‐497)                                                                                            SAN JUAN            PR           00902
   190000 GENARO PAGAN SOTO                           REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190001 GENARO PENA FONSECA                         REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190002 GENARO PEREZ SOTO                           REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658331 GENARO POLANCO DIFO                         BO SAVARONA 21                  CALLE CRISTOBAL COLON                                                                    CAGUAS              PR           00725
   190003 GENARO QUINONES SOTO                        REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190004 GENARO RAMOS MONTA¥EZ                       REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658334 GENARO RIVERA FIQUEROA                      PO BOX 1701                                                                                                              CAYEY               PR           00737
   658335 GENARO RODRIGUEZ                            BO TORRECILLA ALTA              CARR 874 KM 14 5                                                                         CANOVANAS           PR           00729

   190005 GENARO RODRIGUEZ DELGADO                    REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658336 GENARO RODRIGUEZ DIAZ                       HC 63 BOX 4130                                                                                                           PATILLAS            PR           00723

   658337 GENARO RODRIGUEZ GENOVA                     BO FACTOR I                     10 CALLE F                                                                               ARECIBO             PR           00612
   190007 GENARO RODRIGUEZ PABON                      REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658338 GENARO RODRIGUEZ ZAYAS                      HC 01 BOX 3170                                                                                                           ARROYO              PR           00714‐9747
   658339 GENARO ROSADO SANTIAGO                      PO BOX 5265 MARICAO STA                                                                                                  VEGA ALTA           PR           00692
   190008 GENARO SABALIER TORRES                      REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190009 GENARO SILVA ORTIZ                          REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658340 GENARO SOTO GONZALEZ                        URB SAN GERARDO                 1619 COLORADO                                                                            SAN JUAN            PR           00926
   658341 GENARO TIRADO CASTILLO                      CIUDAD DEL RETIRO               70 AVE BORINQUEN APT 301                                                                 MAYAGUEZ            PR           00680
   190010 GENARO TORRES LEON                          REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190011 GENARO VALDES RIVERA                        REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658343 GENARO VAZQUEZ NIEVES                       BOX 387                                                                                                                  AGUAS BUENAS        PR           00703
   658344 GENARO VAZQUEZ RIVERA                       APARTADO 387                                                                                                             AGUAS BUENAS        PR           00703
   190013 GENCY L BONET ORTIZ                         REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GENDER VIOLENCE INSTITUTE
   658345 INC                                         15510 HUBER AVENUE NW                                                                                                    MINNESOTA           MN           55320
   658346 GENE & ASOCIADOS                            ETENZA 332                                                                                                               BARCELONA 08029                                SPAIN
   658347 GENE CRUZ ORTIZ                             URB VALLE SAN JUAN              4 VIA SAN JUAN                                                                           TRUJILLO ALTO       PR           00976‐6122
   190015 GENE MOORE                                  REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658349 GENECO                                      ANDALUCIA 527 SUITE 57                                                                                                   RIO PIEDRAS         PR           00920
                                                      652 AVE MUNOZ RIVERA SUITE
   190016 GENENTECH PR INC                            3115                                                                                                                     SAN JUAN            PR           00918‐4261
   190017 GENEPHARMA CORP                             VILA DE PARANA                  S1‐2 CALLE 11                                                                            SAN JUAN            PR           00926

   190019 GENERA FIGUEROA MONTANEZ                    REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                      200 AVE JESUS T PINEIRO APT
   190021 GENERA SPECIFIC MARKETING                   COND HATO REY PLAZA             8M                                                                                       SAN JUAN            PR           00918
   190022 GENERAL ACCIDENT                            DEPTO DE HACIENDA               DIVISION DE PAGADURIA                                                                    SAN JUAN            PR           00922
   190023 GENERAL ACCIDENT LIFE                       AREA DEL TESORO                 PAGADURIA                                                                                SAN JUAN            PR           00902



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          GENERAL ADMINISTRATION
   190025 SERVICES INC                                URB SAGRADO CORAZON 462     AVE SAN CLAUDIO                                                        SAN JUAN            PR           00926
   658351 GENERAL AGGREGATES INC                      BOX 536                                                                                            ARECIBO             PR           00613
          GENERAL AIR CONDITIONING
   658352 SERV                                        PO BOX 10368                                                                                       SAN JUAN            PR           00922
          GENERAL ALL CONTRACTORS
   190026 INC.                                        URB. REPARTO METROPOLITANO CALLE 11 SE 31012                                                       SAN JUAN            PR           00921

   658354 GENERAL AMERICAN LIFE INS CO 4100 BOY SCOUT BLVD                                                                                               TAMPA               FL           33607
   658355 GENERAL AUTO SUPPLIES        PO BOX 25008                                                                                                      SAN JUAN            PR           00928
          GENERAL AUTO SUPPLIES DE
   658356 PONCE                        209 CALLE VILLA                                                                                                   PONCE               PR           00731

   190036 GENERAL BUILDING SOLUTIONS P 67 AVE SANTA JUANITA                                                                                              BAYAMON             PR           00956
   658357 GENERAL CANDY IMPORTS      PO BOX 9418                                                                                                         CAGUAS              PR           00726‐9418
   658358 GENERAL CASUALTY CO        ONE GENERAL DRIVE                                                                                                   SUN PRAIRIE         WI           53596
          GENERAL CLAIMS ADJUSTMENTS
   190041 INC                        PO BOX 7999 STE 353                                                                                                 MAYAGUEZ            PR           00681
          GENERAL COATING PRODUCTS
   658359 CORP                       MINILLAS INDUSTRIAL PARK                     315 STREET D SUITE 2                                                   BAYAMON             PR           00959‐1906
                                     ADMINISTRACION DE LOS
   190043 GENERAL DE JUSTICIA        TRIBUNALES                                   AREA DEL TESORO        CONTADURIA GENERAL                              SAN JUAN            PR           00902
   658360 GENERAL DECOR II           PO BOX 3069                                                                                                         MAYAGUEZ            PR           00681
   190046 GENERAL ELECTRIC           PO BOX 471306                                                                                                       SAN JUAN            PR           00940
   658362 GENERAL ELECTRIC CAPITAL   PO BOX 11902                                                                                                        SAN JUAN            PR           00902‐1902
          GENERAL ELECTRIC CAPITAL
   190047 CORP                       901 MAIN AVENUE                                                                                                     NORWALK             CT           06851
   190050 GENERAL ELECTRIC CO        4211 METRO PARKWAY                                                                                                  FORT MYERS          FL           33916

   658363 GENERAL ELECTRIC DEL CARIBE PO BOX 9                                                                                                           CAROLINA            PR           00986‐0009
   658366 GENERAL EQUIPMENT GROUP     QUINTAS ALTAMIRA              28 HUCARES                                                                           JUANA DIAZ          PR           00795
   190051 GENERAL GASES               PO BOX 363868                                                                                                      SAN JUAN            PR           00936
          GENERAL GASES & SUPPLIES
   658368 CORP                        PO BOX 363868                                                                                                      SAN JUAN            PR           00936‐6785
          GENERAL HOSPITAL CENTER AT
   190052 PASSAIC                     PO BOX 452                                                                                                         BOGOTA              NJ           07603
          GENERAL INSURANCE BROKERS
   190053 INC                         1510 1510 FD ROOSEVELT AVE                                                                                         GUAYNABO            PR           00968
          GENERAL INSURANCE COMPANY
   190062 OF AMERICA                  SAFECO PLAZA                                                                                                       SEATTLE             WA           98185
                                      1590 PONCE DE LEON AVE. SUITE
   190063 GENERAL INVESTMENT S.E.     213                                                                                                                SAN JUAN            PR           00926
   658371 GENERAL INVESTMENT SE       PO BOX 365051                                                                                                      SAN JUAN            PR           00936‐5051
          GENERAL MACHINERY AND
   658372 SUPPLIE                     PO BOX 877                                                                                                         JUANA DIAZ          PR           00795
          GENERAL MACHINERY           URB. COVADONGA PLAZA DON
   190064 CONTRACTORS, INC            PELAYO LOCAL #1                                                                                                    TOA BAJA            PR           00949
   658373 GENERAL MEAT TRADING        PO BOX 364564                                                                                                      SAN JUAN            PR           00936‐4564
          GENERAL MECHANICAL &
   190065 PLUMBING SERV INC           HC 6 BOX 66718                                                                                                     AGUADILLA           PR           00603
                                      CARR. NUM.2 KM.121.8INT.
          GENERAL MECHANICAL AND      CARR.LASROSAS BO. CAIMITAL
   190067 PLUMBING SERVICES           ALT                                                                                                                AGUADILLA           PR           00603



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  658374 GENERAL MECHANICAL CORP   PO BOX 3348                                                                                                                             CAROLINA            PR         00984‐3348
  658375 GENERAL METAL WORKS       8368 BRIDGETOWN RD                                                                                                                      CLEVES              OH         45002
         GENERAL MOTORS ACCEPTANCE
  658376 CORP.                     207 CALLE DEL PARQUE                                                                                                                    SANTURCE            PR         00912
  190068 GENERAL MOTRIZ INC        URB AGUSTIN STAHL                               CARR 174 A‐5                                                                            BAYAMON             PR         00956
  190069 GENERAL NUTRITION         300 SIXTH AVE                                                                                                                           PITTSBURGH          PA         15222
  658377 GENERAL OFFICE INDUSTRIES PO BOX 3214                                                                                                                             SAN JUAN            PR         00902

   658378 GENERAL OFFICE SUPPLIES                     URB CROWN HLS                132 AVE WINSTON CHURCHILL                                                               SAN JUAN            PR         00926
   658380 GENERAL OFFSHORE                            PO BOX 404                                                                                                           CEIBA               PR         00735‐0404

   658381 GENERAL PLASTIC PUERTO RICO PO BOX 3069                                                                                                                          MAYAGUEZ            PR         00681

   658382 GENERAL POLYPLASTICS CORP                   PMB 432                      138 AVE WINSTON CHURCHILL                                                               SAN JUAN            PR         00926
   658383 GENERAL POWER INC.                          PO BOX 51925                                                                                                         TOA BAJA            PR         00950
   658384 GENERAL PRINTING SUPPLY                     CAPARRA TERRACE              792 A AVE DE DIEGO                                                                      SAN JUAN            PR         00921

   190071 GENERAL PROCUREMENT OF PR                   511 AVE ANDALUCIA            SUITE 1A URB                 PUERTO NUEVO                                               SAN JUAN            PR         00920
          GENERAL PROD ASBETOS
   658385 ABATEMENT DIV IN                            P O BOX 7610                                                                                                         PONCE               PR         00732‐7610
   658386 GENERAL PROPULSION INC                      4153 MATTHEW LANE                                                                                                    PALM SPRINGS        CA         92264
          GENERAL REFRIGERATION
   658387 CENTER                                      PO BOX 6050                                                                                                          MAYAGUEZ            PR         00681

   190078 GENERAL REVENUE CORP      DEPARTAMENTO DE HACIENDA                                                                                                               SAN JUAN            PR         00901
          GENERAL REVENUE CORP WAGE
   190080 WITHHOLDING               PO BOX 49599                                                                                                                           CINCINNATI          OH         45249‐5999

   658388 GENERAL SECURITY AND LOCK                   URB VALLE ARRIBA HEIGHT      AC 4 CALLE TULIPAN                                                                      CAROLINA            PR         00983
                                                      VALLE ARRIBA HEIGHTS AC4 AVE
   190084 GENERAL SECURITY LOCK                       MONSERRATE                                                                                                           CAROLINA            PR         00983
          GENERAL SECURITY NATIONAL
   190085 INS COMPANY                   199 WATER ST SUITE 2100                                                                                                            NEW YORK            NY         10038‐3526
          GENERAL SERVICE
   658389 ADMINISTRATION                3007 TH STREET SW                          REPORTS BUILDING SUITE 101                                                              WASHINGTON          DC         20407
          GENERAL SERVICES
  1256520 ADMINISTRATION                REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED       REDACTED
          GENERAL SEWER &               PMB 359 1575 AVE. MUNOZ
   190088 CONTRACTOR SERV. CORP         RIVERA                                                                                                                             PONCE               PR         00728‐0000
          GENERAL SUPPLY & SERVICES P R
   658392 LLC                           P O BOX 14306                              MINILLAS STATION                                                                        SAN JUAN            PR         00940‐1306
          GENERAL SYSTEMS
   658393 CORPORATION                   1704 PONCE DE LEON AVE                     1ST FLOOR                                                                               SAN JUAN            PR         00909

   658394 GENERAL TELECOM SERVICES INC 2135 CARR 2 SUITE 15 PMB 133                                                                                                        BAYAMON             PR         00957
   190098 GENERAL TIRE                 GPO BOX 3645                                                                                                                        SAN JUAN            PR         009365
   658395 GENERAL TIRE OF P.R. INC.    PO BOX 363645                                                                                                                       SAN JUAN            PR         00936
   658396 GENERAL TRANSMISION          VILLA PALMERA #334                          CALLE DEGETAU                                                                           SANTURCE            PR         00915
          GENERAL WELDING & MECHANIC
   190099 CORP                         HC 11 BOX 11980                                                                                                                     HUMACAO             PR         00791‐9433
   190100 GENERAL WHOLESALES INC       PO BOX 1739                                                                                                                         TRUJILLO ALTO       PR         00977‐1739
   190101 GENERALI U S BRANCH          ONE LIBERTY PLAZA                                                                                                                   NEW YORK            NY         10006
   658397 GENERATION CD ROM            URB SANTA ROSA                              34 9 CALLE 25                                                                           BAYAMON             PR         00959



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          GENERATIONS FAMILY HEALTH
   190105 CENTER                                      1315 MAIN ST STE 2                                                                                            WILLIMANTIC          CT           06226
          GENERATOR E ELECTRIC TECHN
   658398 CORP                                        JARD DE BORINQUEN       Q 22 CALLE CANARIA                                                                    CAROLINA             PR           00628‐3088
          GENERATOR POWER SOLUTION
   190107 INC                                         HC 1 BOX 6990                                                                                                 AIBONITO             PR           00705‐9718

   658399 GENEROSA BONILLA RODRIGUEZ PO BOX 1251                                                                                                                    LARES                PR           00669
   658401 GENEROSA BUENO TAVERA      RES. VARONES S.J.                                                                                                              Hato Rey             PR           009360000
   190108 GENEROSA COLON RIOS        REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   190090 GENEROSA COSS LOZADA       REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   190109 GENEROSA HERNADEZ VELEZ    REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   658404 GENEROSA MALDONADO VALLE 68 ANIMAS SUR                                                                                                                    ARECIBO              PR           00612

   190110 GENEROSA MELENDEZ FUENTES                   REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   658407 GENEROSA QUILES ALVAREZ                     BO BORINQUEN            3017 SECTOR EL COBO                                                                   AGUADILLA            PR           00603
   190111 GENEROSA RIVERA TORO                        REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GENEROSA SANTIAGO DE
   190112 TORRES                                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   190113 GENEROSA V RABELL RAMIREZ                   REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   190114 GENEROSO DELILLO GUIDE                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   658409 GENEROSO GOTAY                              713 MU¨OZ RIVERA                                                                                              PE¨UELAS             PR           00624
                                                      URB ROOSEVELT 379 AVE
   658410 GENEROSO RIVERA RODRIGUEZ                   HOSTOS                                                                                                        SAN JUAN             PR           00918
   658411 GENEROSO SOTO GARCIA                        URB EL ROSARIO1         BLOQ H 21 CALLE C                                                                     VEGA BAJA            PR           00693
   658412 GENESIS                                     HC 02 BOX 13744                                                                                               ARECIBO              PR           00612
   190116 GENESIS A SEGARRA BERRIOS                   REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GENESIS ALTERNATIVE HEALTH
   190117 CENTER                                      172 STATE ST STE 4                                                                                            NEWBURYPORT          MA           01950
   190119 GENESIS BOUTIQUE                            P.O. BOX 1532                                                                                                 JUNCOS               PR           00777
   190120 GENESIS CASTILLO LOPEZ                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   190121 GENESIS COLON CINTRON                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   190123 GENESIS COMMUNICATIONS INC PO BOX 2457                                                                                                                    MOCA                 PR           00676
                                                                              MF63 PLAZA 21 URB MARINA
   658413 GENESIS CONSULTING SERVICES                 MARINA BAHIA            BAHIA                                                                                 CATANO               PR           00962
   190125 GENESIS DIAZ QUILES                         REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   190126 GENESIS FLOWER                              REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   190127 GENESIS HERNANDEZ GARCIA                    REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   658414 GENESIS INS CO                              PO BOX 10350                                                                                                  STAMFORD             CT           06904‐2350
          GENESIS INST DE SERVICIOS
   190128 MULTIDISCIPLINARIOS                         URB CONDADO MODERNO     A4 CALLE 1                 SUITE 7                                                    CAGUAS               PR           00725

   190136 GENESIS L ANDINO HERNANDEZ REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   190137 GENESIS L JAVIER POLANCO   REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   190138 GENESIS LEARNIN CENTER     PO BOX 8614                                                                                                                    PONCE                PR           00732‐8614

   190139 GENESIS M MELENDEZ NEGRON REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   190140 GENESIS M RIVERA MELENDEZ                   REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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   190141 GENESIS M RODRIGUEZ ROSARIO REDACTED                                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GENESIS M ROMAN RIVERA /
   190142 HAYDEE RIVERA               REDACTED                                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190143 GENESIS M SOLIVAN PLAUD     REDACTED                                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GENESIS MARIE CASANOVA
   190145 ROJAS                       REDACTED                                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GENESIS MARIE MARTINEZ
   190146 SANTIAGO                    REDACTED                                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190147 GENESIS MARTINEZ QUINONES                   REDACTED                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190148 GENESIS MAYMI POLANCO                       REDACTED                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190150 GENESIS MEDICAL GROUP                       22 CRISTOBAL COLON                                                                                                        YABUCOA             PR           00767
   190151 GENESIS MILLAN SERRANO                      REDACTED                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190152 GENESIS MOLINA AGUIRRE                      REDACTED                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190153 GENESIS MURPHY VAZQUEZ                      REDACTED                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190154 GENESIS N AYALA ORTIZ                       REDACTED                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190155 GENESIS NAVEIRA RIVERA                      REDACTED                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GENESIS NICOLE ABRANTE
   190156 HERNANDEZ                                   REDACTED                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190157 GENESIS OCASIO NIEVES Y/O                   JOSE M OCASIO RIVERA              URB CAMPAMENTO               BZ 11 CALLE E                                              GURABO              PR           00778
   190158 GENESIS ORTIZ RAMOS                         REDACTED                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190159 GENESIS PAGAN ALICEA                        REDACTED                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658415 GENESIS PHARMACY INC                        PO BOX 986                                                                                                                PATILLAS            PR           00723
   190160 GENESIS RIVERA DE JESUS                     REDACTED                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190161 GENESIS RIVERA VAZQUEZ                      REDACTED                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190162 GENESIS RODRIGUEZ FRANCO                    REDACTED                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190163 GENESIS RODRIGUEZ STEIDEL                   REDACTED                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658416 GENESIS RUIZ CLAUDIO                        URB LA MONSERRATE                 3 K CALLE 15                                                                            HORMIGUEROS         PR           00660
   658417 GENESIS SANCHEZ ZAYAS                       HC 09 BOX 5892                                                                                                            CAGUAS              PR           00725

   190164 GENESIS SANTIAGO MARTINEZ                   REDACTED                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190165 GENESIS SANTIAGO ORTIZ                      REDACTED                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658418 GENESIS SANTIAGO RUIZ                       URB SAN AGUSTIN                   1159 CALLE RAFAEL CASTILLO                                                              SAN JUAN            PR           00923

   190173 GENESIS SECURITY SERVICES INC               P O BOX 1158                                                                                                              YABUCOA             PR           00767‐1158
          GÉNESIS SECURITY SERVICES,                  AGRAIT BETANCOURT,
  1422826 INC.                                        FERNANDO                          EDIF CENTRO DE SEGUROS       701 AVE PONCE DE LEON STE 414                              SAN JUAN            PR           00907
          GÉNESIS SECURITY SERVICES,                  AGRAIT BETANCOURT,
  1422827 INC.                                        FERNANDO                          EDIF CENTRO DE SEGUROS       701 AVE PONCE DE LEON STE 414                              SAN JUAN            PR           00907
   658420 GENESIS SOLAR SYSTEM                        PO BOX 193243                                                                                                             SAN JUAN            PR           00919‐3243
   190179 GENESIS TOLEDO RODRIGUEZ                    REDACTED                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190180 GENESIS TORRES CAMACHO                      REDACTED                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190181 GENESIS VIDAL SANTOS                        REDACTED                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190182 GENESIS W PEREZ DELGADO                     REDACTED                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190183 GENESIS Y RAMIREZ RODRIGUEZ HC 3 BOX 6289                                                                                                                             RINCON              PR           00677
   190184 GENESIS Y VAZQUEZ GARCIA    REDACTED                                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190185 GENESIS Z MEDINA GONZALEZ                   REDACTED                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190186 GENESOFT LABS CORP                          AREA DEL TESORO                   DIVISION DE RECLAMACIONES                                                               SAN JUAN            PR           00902‐4140

   190188 GENESOFT LABS, CORP.                        CALLE LOIZA EDIF 1959 SUITE 207                                                                                           SAN JUAN            PR           00936



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   190189 GENESSIS MEDICAL EQUIPMENT                  AVE PRINCIPAL G 10          SUITE 1 URB BARALT                                                                    FAJARDO              PR           00738
   190190 GENESSIS VELEZ TORRES                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   190191 GENESYS MOJICA PAGAN                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   190192 GENESYS TECHNOLOGIES INC                    COLINAS DE PLATA            51 LAS RIBERAS                                                                        TOA ALTA             PR           00953
   190193 GENESYS TECHNOLOGIES INC.                   CAMINO LAS RIVERAS 51       COLINAS DEL PLATA                                                                     TOA ALTA             PR           00653
   658421 GENETIC DIAGNOSTIC GROUP                    PO BOX 87                                                                                                         MAYAGUEZ             PR           00681

   190195 GENEVA COMMUNITY HEALTH                     601 W WASHINGTON                                                                                                  GENEVA               NY           14456 2119
   190196 GENEVETTE PADILLA CASTRO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   658422 GENEVIEVE E MARTINEZ                        PO BOX 10197                                                                                                      SAN JUAN             PR           00922
   770524 GENEVIEVE LOPEZ STIPES                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GENEVIVE MELENDEZ
   658424 ROCHABRON                                   BDA SANDIN                  75 CALLE JUPITER                                                                      VEGA BAJA            PR           00693

   190199 GENEZARET CASTILLO ROMAN                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   658425 GENGHIS VIROLA RODRIGUEZ                    PO BOX 7126                                                                                                       PONCE                PR           00732
          GENGRAS AMBULATORY CARE
   190200 CENTER                                      8344 CLAIREMONT MESA BLVD   SUITE 201                                                                             SAN DIEGO            CA           92111
          GENIBEL GLORIAN ROSADO
   658426 POTALATIN                                   PO BOX 456                                                                                                        FLORIDA              PR           00650
   658427 GENIBERT LECUCAY                            VILLA CLEMENTINA            A 1 CALLE MARGARITA                                                                   GUAYNABO             PR           00969
                                                      F 5 CALLE DEL MAR URB
   658429 GENIS PEREZ RIVERA                          JARDINES                                                                                                          RINCON               PR           00677
   190202 GENITOS CATERING                            PO BOX 578                                                                                                        SAN GERMAN           PR           00683
   190203 GENIUM GROUP INC.                           PO BOX 46                                                                                                         NEW YORK             NY           12010
          GENNETTE M MANZANET
   190204 HOMAR                                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   190205 GENO GAS                                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   658432 GENOA GROUP                                 7304 S ALTON WAY SUITE A                                                                                          ENGLEWOOD            CO           80112
   658433 GENOL RAMOS RAMOS                           JARDINES DEL NORESTE        BUZON 80                                                                              ISABELA              PR           00662
   190207 GENOVA MILANO CORP                          PO BOX 1111                                                                                                       ANASCO               PR           00610
          GENOVA RODRIGUEZ, ANGEL
  1419856 MANUEL                                      ANGEL PADRO MARINA          PO BOX 140843                                                                         ARECIBO              PR           00614
   190213 GENOVA Z QUILES COLON                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GENOVE SANTIAGO / JULIA
   658435 SANTIAGO                                    H 01 BOX 4302                                                                                                     SABANA HOYOS         PR           00688

   658436 GENOVEBA IRIZARRY MONTALVO COND JARDINES DE SAN IGNACIO 913 B                                                                                                 RIO PIEDRAS          PR           00927
   658437 GENOVEBA ROSA              PO BOX 21635                                                                                                                       SAN JUAN             PR           00928

   658439 GENOVES GUTIERREZ RIOS                      URB SABANERA DEL RIO        293 CAMINO DE LAS ORQUIDEAS                                                           GURABO               PR           00778
   190215 GENOVES ROSARIO SOTO                        REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   190216 GENOVEVA A ROSADO ROSARIO                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   658441 GENOVEVA ALEQUIN                            PO BOX 6230 HC01                                                                                                  CABO ROJO            PR           00623
   190217 GENOVEVA ANDINO PENA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   658442 GENOVEVA ARNAU PEDRAZA                      PO BOX 21365                                                                                                      SAN JUAN             PR           00928
          GENOVEVA BETANCOURT
   658443 BENITEZ                                     P O BOX 949                                                                                                       SABANA SECA          PR           00952
   190218 GENOVEVA BINES LOPEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   658446 GENOVEVA CARDONA VAZQUEZ BO SAN JOSE                                    PARC 612                                                                              TOA BAJA             PR           00951



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          GENOVEVA CHARON Y GRACE
   190219 RODRIGUEZ                                   BO JAREALITOS          264 CALLE 2                                                                            ARECIBO             PR           00612
   658447 GENOVEVA CINTRON                            ROYAL TOWN             E 2 CALLE 8                                                                            BAYAMON             PR           00956
   658448 GENOVEVA COLON                              PO BOX 6070                                                                                                   BAYAMON             PR           00960 7061

   190221 GENOVEVA DE LUNA MARTINEZ REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GENOVEVA DOMINGUEZ
   190223 HERNANDEZ                 REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658450 GENOVEVA ECHEVARRIA LOPEZ                   HC 59 BOX 4639                                                                                                AGUADA              PR           00602
          GENOVEVA ESTREMERA DE
   658451 JESUS                                       BO CACAO               CALLE 8 BOX 1888                                                                       QUEBRADILLAS        PR           00678
   658452 GENOVEVA GARAY DE JESUS                     HC 00867 BOX 21617                                                                                            FAJARDO             PR           00738
   190224 GENOVEVA GARCIA DELGADO                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658453 GENOVEVA GONZALEZ ORTIZ                     NEMESIO R CANALES      EDIF 46 APT 854                                                                        SAN JUAN            PR           00918
          GENOVEVA GUZMAN DE
   190225 FIGUEROA                                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GENOVEVA HERNANDEZ
   190226 AGOSTO                                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GENOVEVA HERNANDEZ
   190227 HERNANDEZ                                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658454 GENOVEVA HILERIO ALVAREZ                    BO BORINQUEN           HC 1 BOX 16566                                                                         AGUADILLA           PR           00603
   190228 GENOVEVA IRIZARRY                           REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658455 GENOVEVA LABOY GONZµLEZ                     PO BOX 37‐2677                                                                                                CAYEY               PR           00737‐2677
   658456 GENOVEVA LLANTIN LUGO                       HC 01 BOX 10008                                                                                               SAN GERMAN          PR           00683‐9723
   658457 GENOVEVA LOPEZ MORALES                      VILLA PALMERAS         222 CALLE GAUTIER BENITEZ                                                              SAN JUAN            PR           00915
   190229 GENOVEVA LOPEZ SOTO                         REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658458 GENOVEVA LUGO VAZQUEZ                       PO BOX 178                                                                                                    CABO ROJO           PR           00623

   190230 GENOVEVA MERCADO MENDEZ                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190231 GENOVEVA MORALES TORRES                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658459 GENOVEVA MORALES VEGA                       P O BOX 72                                                                                                    COMERIO             PR           00782
   658461 GENOVEVA ORTIZ                              BO MARRERO BOX 1576    SECTOR LAS MALANGAS                                                                    NAGUABO             PR           00715
   658462 GENOVEVA ORTIZ CINTRON                      BOX 504                                                                                                       CULEBRA             PR           00775

   190232 GENOVEVA ORTIZ HERNANDEZ                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190233 GENOVEVA OSORIO QUINONES                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658463 GENOVEVA PADILLA DE GILBERT                 VILLA PALMERAS 164     CALLE DIEZ DDDE ANDINO                                                                 SAN JUAN            PR           00911
   190234 GENOVEVA PAGAN PEREZ                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GENOVEVA PALMIERI
   658464 VILLANUEVA                                  2922 NORTH 11TH ST                                                                                            TAMPA               FL           33605
   190235 GENOVEVA PEREZ GONZALEZ                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GENOVEVA RAMIREZ / ERIC
   190237 RAMIREZ                                     HC 1 BOX 1501                                                                                                 BOQUERON            PR           00622

   658465 GENOVEVA RAMIREZ FELICIANO URB SANTA ROSA                          49 15 CALLE 23                                                                         BAYAMON             PR           00959
   658466 GENOVEVA RAMOS BRAVO       BO BAJADURAS                            CARR 466 KM 5.3                                                                        ISABELA             PR           00663

   190238 GENOVEVA RAMOS VELAZQUEZ                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190239 GENOVEVA REYES RIVERA                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658469 GENOVEVA RIVERA                             PO BOX 21365                                                                                                  SAN JUAN            PR           00928



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  658470 GENOVEVA RIVERA ARROYO                       P O BOX 1295                                                                                                   RINCON            PR           00677
  658472 GENOVEVA RIVERA SANCHEZ                      URB MUNOZ RIVERA             38 CALLE QUIMERA                                                                  GUAYNABO          PR           00969
  658473 GENOVEVA RIVERA TORRES                       RR 03 BOX 10828‐1            BO PINAS                                                                          TOA ALTA          PR           00953
         GENOVEVA RODRIGUEZ DE LOS
  658474 SANTOS                                       1056 CALLE EDUARDO ALVAREZ                                                                                     SAN JUAN          PR           00907‐2617
  190240 GENOVEVA ROSAS MORENO                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  658476 GENOVEVA ROSAS ZAPATA                        URB MANSIONES DEL SUR        SF 23 ZARZUELA                                                                    TOA BAJA          PR           00949
         GENOVEVA SOSA / AIDA
  190241 FERNANDEZ                                    URB LAS VISTA                L 1 VIA DEL PARQUE                                                                SAN JUAN          PR           00924
         GENOVEVA TORRES / IVETTE
  658478 MARTINEZ                                     PARQUE DE SAN IGNACIO        D 18 CALLE 3                                                                      SAN JUAN          PR           00921

   190242 GENOVEVA TORRES HERNANDEZ REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   190243 GENOVEVA TORRES RIVERA    REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   658480 GENOVEVA VALENTIN SOTO    PO BOX 13695                                                                                                                     SAN JUAN          PR           00908‐3695
   658481 GENOVEVA VERA DIAZ        PO BOX 169                                                                                                                       QUEBRADILLAS      PR           00678
   190244 GENOVEVA YACE SANTOS      REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   190245 GENOVIE M CARDONA RIVERA                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   658482 GENTE ESPECIAL                              5 E COND LOS OLMOS                                                                                             SAN JUAN          PR           00927
   658483 GENTE JOVEN FOTO                            2350 BY PASS SUITE 111 CMV                                                                                     PONCE             PR           00717‐0340
   658484 GENTECH BIOMEDICAL INC                      PO BOX 192438                                                                                                  SAN JUAN          PR           00919‐2438
                                                      PO BOX 192438 URB. LA RIVERA
   190247 GENTECH BIOMEDICAL, INC.                    D‐6                                                                                                            SAN JUAN          PR           00976‐0000
                                                      7345 AIRPORT FREEWAY
   658485 GENTIVA HEALTH SERVICES                     FORTHWORTH                                                                                                     TEXAS             TX           76118
   658486 GENUS GROUP CORP                            PO BOX 361609                                                                                                  SAN JUAN          PR           00936‐1609
          GENWORTH MORGAGE                            6620 W BROAD ST BLDG 2 MS
   190253 INSURANCE CORP                              1037                                                                                                           RICHMOND          VA           23230
          GENZYME GENETIC COUNSELING
   190255 LLC                        22 BLOOMINGDALE DRIVE                                                                                                           SCARSDALE         NY           10583
   658487 GEO AMBIENTE 2000          URB PARK VILLE                                G 6 AVE WASHINGTON                                                                GUAYNABO          PR           00969
   658488 GEO BUILDERS INC           PO BOX 2842                                                                                                                     GUAYNABO          PR           00970
   658489 GEO CARIBE INC             PO BOX 3426                                                                                                                     MAYAGUEZ          PR           00681‐3426
   190256 GEO ENGINEERING INC        PO BOX 270328                                                                                                                   SAN JUAN          PR           00927‐0328
   190257 GEO ENGINEERS PSC          PO BOX 2842                                                                                                                     GUAYNABO          PR           00970

   190258 GEO MACHINE GENERAL CONT.                   CARR. 861 KM. 6.7 BO. PINA                                                                                     TOA BAJA          PR           00950
   658491 GEO SANDERS Y CO. INC.                      PO BOX 3965                                                                                                    AGUADILLA         PR           00605

   190260 GEO SERVICES & ENGINEERING                  PMB 586                      PO BOX 4952                                                                       CAGUAS            PR           00726
          GEO TELECOMUNICATION
   658492 GROUP                                       SANTA ROSA                   31‐47 MAIN AVE                                                                    BAYAMON           PR           00959

   658493 GEOAMBIENTE DEL CARIBE INC                  131 ELEANOR ROOSEVELT                                                                                          SAN JUAN          PR           00918
   658494 GEO‐CIM                                     PO BOX 10872                 CAPARRA HEIGHTS STA                                                               SAN JUAN          PR           00920
   658495 GEOCISA                                     1710 WESTCHESTER DR                                                                                            WHEATON           MD           20902‐3547
   190261 GEOCONSULT                                  PO BOX 362040                                                                                                  SAN JUAN          PR           00936‐2040

   190262 GEOFFREY UYEHARA UYEHARA                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   658496 GEOGINA DELGADO OQUENDO                     HC 03 BOX 40503                                                                                                CAGUAS            PR           00725
   190263 GEOGLEY J PEREZ                             REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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          GEOGRAPHIC MAPPING
   190266 TECHNOLOGIES                                FRENCH PLAZA                APT 310‐81 CALLE MAYAGUEZ                                                              SAN JUAN            PR           00917
   658497 GEOINFORMATICA INC                          BA 6 VILLAS DE CAPARRA                                                                                             GUAYNABO            PR           00966
   658498 GEOKON INC                                  48 SPENCER STREET                                                                                                  LEBANON             NH           03766
   658499 GEOLOGISTICS AMERICAS INC                   PO BOX 37190                                                                                                       SAN JUAN            PR           00937
   658500 GEOMARY PATRON IRIZARRY                     CAMPO ALEGRE                6 CALLE ORQUIDEAS                                                                      LARES               PR           00669

   190268 GEOMATIC SURVEY GROUP INC                   PO BOX 3674                                                                                                        JUNCOS              PR           00777‐6674
   190270 GEOMEDIX GROUP                              139 CALLE GEORGETTI STE 1                                                                                          NARANJITO           PR           00719

   190271 GEORALYS M GONZALEZ RIVERA REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658503 GEORGE A BUNDER SOLER      COND MAR CHIQUITA                            100 CARR 648 APT 31                                                                    MANATI              PR           00674‐9788

   190272 GEORGE A GONZALEZ GUZMAN                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GEORGE A MALDONADO
   658504 FIGUEROA                                    URB COUNTRY CLUB            901 SINSONTE                                                                           SAN JUAN            PR           00924

   190273 GEORGE A MORALES ACEVEDO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190274 GEORGE A POLO ORTIZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190276 GEORGE A RIVERA VEGA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190277 GEORGE A SMITH                              REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658501 GEORGE A WILLIAMS ROUSS                     PO BOX 19361                                                                                                       SAN JUAN            PR           00910
   190279 GEORGE ARZENO LOPEZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190280 GEORGE B MALDONADO CORTES REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190282 GEORGE CHAAR              REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190283 GEORGE CLIFFORD GREENIDGE                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658507 GEORGE D MCCLINTOCK                         URB SAGRADO CORAZON         1716 CALLE SANTA EDUVIGIS                                                              SAN JUAN            PR           00926‐4226
   190284 GEORGE D PACHECO                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658508 GEORGE D. CUSHANICK HRICAK SAINT JUST                                   171 CALLE 3 URB VILLAMAR                                                               CAROLINA            PR           00979
   190285 GEORGE DE LA ROSA CORTES     REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658509 GEORGE DEL VALLE             780 CALLE JOSE ROMERO                                                                                                             CEIBA               PR           00735
   190288 GEORGE DIAZ ROSADO           REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658510 GEORGE DICUPE RUIZ           PO BOX 432                                                                                                                        WILLINGBORO         NJ           08046‐0432
          GEORGE DIESEL /JORGE CINTRON
   658511 RODRIGUEZ                    P.O. BOX 1502                                                                                                                     JUANA DIAZ          PR           00795
   658512 GEORGE DIESEL SERVICE        BOX 1502                                                                                                                          JUANA DIAZ          PR           00795
   190289 GEORGE DUNTLEY REYES         REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190290 GEORGE E BONILLA AGOSTO      REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658513 GEORGE E GREEN RODRIGUEZ                    PO BOX 364966                                                                                                      SAN JUAN            PR           00936‐4966
   658514 GEORGE E MC COIN OBREIN                     P O BOX 157                                                                                                        ARECIBO             PR           00613
   658515 GEORGE E ROQUE                              COND TORRE PLATA DEL SUR    APT 8 A                                                                                PONCE               PR           00731

   190292 GEORGE F VELAZQUEZ GRILLO                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

          GEORGE FERNANDEZ/MANUEL
   190293 FERNANDEZ                                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190294 GEORGE FIGUEROA COLON                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658516 GEORGE GARIB CORREA                         VISTAMAR MARINA             E 12 MALAGA ST                                                                         CAROLINA            PR           00983
   190296 GEORGE GARIB GURREA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  190302 GEORGE J POIANI MAYO                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  190303 GEORGE J. KONING MEDINA                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  190304 GEORGE K RIVERA MERCADO                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  190305 GEORGE K. CARLE MIRANDA                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         GEORGE KAMARINOS
  190306 RODRIGUEZ                                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  190307 GEORGE L BONET ORTIZ                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  190308 GEORGE L FLORES MASSAS                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  190309 GEORGE L MAYMI                               REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  190310 GEORGE L PEREZ FIGUEROA                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  658518 GEORGE L SANCHEZ BAEZ                        P O BOX 60075                                                                                                           BAYAMON             PR         00960
  190311 GEORGE L. PEHARPRE                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         GEORGE LOUIS EDWARDS
  190314 RODRIGUEZ                                    REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  190315 GEORGE LUGO TORRES                           REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      NAIC 444 NORTHCAPITALSTREET
   658519 GEORGE M BRADY                              NW                                                                                                                      WASHINGTON          DC         20001

   190316 GEORGE M MUNIZ ALVARADO                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   658520 GEORGE M UZDAVINES VELEZ                    127 CALLE PABLO CASALS         SUITE 102                                                                                MAYAGUEZ            PR         00680

   190317 GEORGE MARRERO MARRERO                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   658521 GEORGE MCDOUGALL                            COND TORRE DE LA REINA         450 AVE CONSTITUCION APT 7B                                                              SAN JUAN            PR         00901‐2301

   658522 GEORGE MONTA¥EZ CABALLERO HC BOX 4657 1                                                                                                                             NAGUABO             PR         00718‐9723
   190320 GEORGE MORALES VILA       REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190321 GEORGE MOTTLEY FLORES     REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190322 GEORGE MUNOZ              REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190324 GEORGE NELSON VILA        REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190325 GEORGE NESTE BOSCH        REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   658502 GEORGE OTERO CALERO       PO BOX 732                                                                                                                                BAYAMON             PR         00960
   190326 GEORGE P RIVERA GONZALEZ  REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190327 GEORGE PAUL FAHED INIGO   REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   190328 GEORGE PEREIRA HERNANDEZ  REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190330 GEORGE PEREZ TORRES       REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GEORGE R BOLHWELL MORALES
   190331 DBA                       CARR 172 CERTENEJAS KM 7.5                                                                                                                CIDRA               PR         00739

   190332 GEORGE R. BOTHWELL MORALES REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GEORGE R. BOTHWELL MORALES PO BOX URB. HAC. PRIMAVERA
   190333 DBA REFRIW                 BUZON 14                                                                                                                                 CIDRA               PR         00739‐0000
   190338 GEORGE RIVERA PEREZ        REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190339 GEORGE ROLON MOJICA        REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190340 GEORGE ROLON MORA          REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   658524 GEORGE SANCHEZ BADILLO     URB VILLA CAROLINA                              71‐21 CALLE 58                                                                           CAROLINA            PR         00983
   190341 GEORGE SANCHEZ JR          REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190343 GEORGE SEPULVEDA ACABEO    REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   658525 GEORGE SMOLEN STEFANIC     703 GLENGARRY DRIVE                             MELBOURNE                                                                                BREVARD COUNTY      FL         32940
   190344 GEORGE STEIDEL NAVARRO     REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   658526 GEORGE STEWART DIAZ                         252 CALLE FORTALEZA APTO 301                                                                                            SAN JUAN            PR         00901



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  658527 GEORGE STIEGLITZ                             11562 LOSANO DR                                                                                                 BOYNTON BEACH         FL           33437
  658528 GEORGE T HAYES RIVERA                        CALLE MORELL CAMPOS          524 BO OBRERO                                                                      SAN JUAN              PR           00915
  658529 GEORGE T MODESTO RAMOS                       P O BOX 292                                                                                                     MAUNABO               PR           00707
  658530 GEORGE TORRES CUESTA                         P O BOX 3878                                                                                                    AGUADILLA             PR           00605‐3878

   658531 GEORGE TORRES DOUGHERTY                     URB SANTA ROSA AVE BONDORI   22‐5 CALLE 18 APTO 6                                                               BAYAMON               PR           00959
   658532 GEORGE TSU                                  URB LAS LOMAS                801 CALLE 45 SO                                                                    SAN JUAN              PR           00921
   658533 GEORGE VEGA CACERES                         VILLA CAROLINA               F 20 CALLE 3                                                                       CAROLINA              PR           00985
   190345 GEORGE VELEZ VELEZ                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
   658534 GEORGE W BUCK                               PO BOX 7081                                                                                                     ST PETERSBURG         FL           33734
          GEORGE W RODRIGUEZ
   190346 RODRIGUEZ                                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
   658535 GEORGE YOUNG RODRIGUEZ                      RR 2 BOX 693 A                                                                                                  SAN JUAN              PR           00926
   190348 GEORGE ZEPEDA CRUZ                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
   658536 GEORGES I ELDAHR                            VILLAS LOIZA                 D‐1 CALLE 1                                                                        CANOVANAS             PR           00729
          GEORGESHUA ECHEVARRIA
   190350 CUEVAS                                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
   190351 GEORGETOWN SLEEP CENTER                     MEDICAL RECORDS              3121 NORTHWEST BLVD                                                                GEORGETOWN            TX           78628‐4225
   658537 GEORGETTE BAEZ VAZQUEZ                      LA RAMBLA                    672 CALLE B                                                                        PONCE                 PR           00731
          GEORGETTE RODRIGUEZ
   190352 FIGUEROA                                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED

   658538 GEORGETTE RODRIGUEZ VEGA                    UB TURABO GARDENS            D 11 CALLE 5                                                                       CAGUAS                PR           00725
   658539 GEORGETTI ELECTRONIC                        69 CALLE GEORGETTI                                                                                              CAGUAS                PR           00725
   658540 GEORGETTI IMAGING CENTER                    P O BOX 366684                                                                                                  SAN JUAN              PR           00936‐6684
   190358 GEORGIA CARDONA RUIZ                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
          GEORGIANA ORTIZ DEXTER Y
   190359 MBCD                                        AREA DEL TESORO              CONTADURIA GENERAL                                                                 SAN JUAN              PR           00902
   190360 GEORGIANNA SOSA ROMERO                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
   190361 GEORGIANNE OCASIO                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
   658542 GEORGIE AUTO AIR                            RR 9 BOX 5227                                                                                                   SAN JUAN              PR           00926
   658543 GEORGIE DE JESUS DE JESUS                   P O BOX 6                    SUPTE DE ESC YABUCOA                                                               YABUCOA               PR           00767
   658544 GEORGIE DIESEL SERVICE                      P O BOX 1502                                                                                                    JUANA DIAZ            PR           00795
   658541 GEORGIE EUROPEAN PARTS                      AVE. LOMAS VERDES N‐4                                                                                           BAYAMON, P.R. 00956   PR           00956
   658545 GEORGIE FLORESMENDEZ                        PO BOX 1390                                                                                                     MAYAGUEZ              PR           00681

   190364 GEORGIE J ROSARIO QUINONES REDACTED                     REDACTED                                 REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
   658546 GEORGIE S                   2062 CALLE LOIZA                                                                                                                SAN JUAN              PR           00911
          GEORGIE ZAMBRANA / PABON
   658547 ARTS GALLERY                URB HILL SIDE               J 32 CALLE 7                                                                                        SAN JUAN              PR           00926
          GEORGIES EXTERMINATING SERV
   658548 INC                         325 CALLE ANTONIO G MELLADO                                                                                                     VIEQUES               PR           00765
   658549 GEORGIE'S PIZZA             P.O. BOX 1882                                                                                                                   COROZAL               PR           00783
   658550 GEORGILIO MAYA AGUAYO       PO BOX 362642                                                                                                                   SAN JUAN              PR           00936‐2642
   190365 GEORGINA AGUIAR RIVERA      REDACTED                    REDACTED                                 REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED

   658555 GEORGINA ALEJANDRO RAMOS                    C 21 BO MANSION DEL SAPO                                                                                        FAJARDO               PR           00860
   190366 GEORGINA ANDINO PENA                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED

   658556 GEORGINA ANDRADA MORALES 247 CALLE SORIANO                                                                                                                  SAN JUAN              PR           00912
   658557 GEORGINA APONTE GARAY    HC 30 BOX 33032                                 BO ESPINO                                                                          SAN LORENZO           PR           00754

   190367 GEORGINA AQUINO MAISONET                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED



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          GEORGINA AUFFANT HOME
   190368 CENTER                                      URB COUNTRY CLUB           784 AVE CAMPO RICO                                                                 SAN JUAN            PR           00924
   658559 GEORGINA BELTRAN RIVERA                     PO BOX 1376                                                                                                   MOCA                PR           00676
   190370 GEORGINA BONILLA ORTIZ                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658560 GEORGINA BORRI DIAZ                         COLLEGE PARK               1782 CALLE COMPOSTELA                                                              SAN JUAN            PR           00921‐4329
                                                      URB MANSIONES DE RIO
   658561 GEORGINA BRAVO PEREZ                        PIEDRAS                    489 CALLE LIRIOS                                                                   SAN JUAN            PR           00926

   658562 GEORGINA BURGOS ABREU                       URB COMUNIDAD LA DOLORES   356 CALLE ARGENTINA                                                                RIO GRANDE          PR           00745
   658563 GEORGINA BURGOS FUENTES                     URB EL CORTIJO             E 48 CALLE 10                                                                      BAYAMON             PR           00956
   658564 GEORGINA CAMPOS RAMIREZ                     BOX 109                                                                                                       SAINT JUST          PR           00978
          GEORGINA CANDELARIO
   190372 OQUENDO                                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GEORGINA CARRASQUILLO
   190373 FALERO                                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190374 GEORGINA CARTAGENA BENITEZ REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190335 GEORGINA CASTILLO POLANCO                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190375 GEORGINA CLEMENTE GARCIA                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190376 GEORGINA COLON GARCIA                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GEORGINA CONCEPCION
   190377 CLEMENTE                                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190378 GEORGINA CORTES CORDERO                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658569 GEORGINA CRUZ RODRIGUEZ                     COM SAN MARTIN             902‐20 CALLE K                                                                     GUAYAMA             PR           00784
   190379 GEORGINA DE JESUS CRUZ                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190380 GEORGINA DELGADO OQUENDO REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658570 GEORGINA DIAZ LOPEZ      HC 04 BOX 12572                                                                                                                  HUMACAO             PR           00791

   658571 GEORGINA E IRIZARRY SANTIAGO EDIF COBIAN PLAZA APT 1509                1607 PONCE DE LEON                                                                 SAN JUAN            PR           00909

   658572 GEORGINA ENRIQUE MORALES                    PO BOX 1102                                                                                                   MAYAGUEZ            PR           00681
   190381 GEORGINA ESPINAL PEREZ                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190382 GEORGINA ESTRADA RAMOS                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658573 GEORGINA FLORES CARABALLO                   HC 1 BOX 10781                                                                                                AGUADILLA           PR           00603

   190383 GEORGINA FONTANEZ MURIEL                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658574 GEORGINA G BARROS                           BO ARENAS                  HC 02 BOX 4666                                                                     LAS PIEDRAS         PR           00677 9616
   658575 GEORGINA GARCIA CARLO                       COND LA CEIBA              EDIF 100 APT 603                                                                   PONCE               PR           00731
   658576 GEORGINA GARCIA CARLOS                      COND LA CEIBA              EDIF 100 APT 603                                                                   PONCE               PR           00731

   658551 GEORGINA GARCIA RODRIGUEZ                   SAINT JUST                 46 A CALLE BETANIA P                                                               TRUJILLO ALTO       PR           00976
   658577 GEORGINA GOMEZ GARCIA                       RES PUERTA DE TIERRA       EDF K APT 261                                                                      SAN JUAN            PR           00901

   190384 GEORGINA GONZALEZ GONZALEZ REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658578 GEORGINA HERNANDEZ APONTE PO BOX 2563                                                                                                                     GUAYAMA             PR           00785
   190385 GEORGINA IVALDI           REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658580 GEORGINA JIMENEZ OSORIO   PARC PEREZ 23                                CALLE A                                                                            ARECIBO             PR           00612
   658581 GEORGINA KALAITZIDIS      VISTA BELLA                                  U 29 CALLE LAREDO                                                                  BAYAMON             PR           00956



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  658583 GEORGINA LAZARO LEON                         CARR 139 KM 0.3                                                                                                PONCE               PR         00731
  190386 GEORGINA LOPEZ RIVERA                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         GEORGINA M SERRANO
  190387 FRASGUET                                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  658584 GEORGINA MALDONADO                           COM RIO ABAJO              SOLAR 169                                                                           HUMACAO             PR         00792
         GEORGINA MARRERO
  658586 MONTESINO                                    HC 3 BOX 17277                                                                                                 COROZAL             PR         00783
  658587 GEORGINA MARTINEZ                            HC 04 BOX 15415                                                                                                SAN SEBASTIAN       PR         00685
  658589 GEORGINA MARTINEZ CRUZ                       BO MIRABALES               HC 4 BOX 15415                                                                      SAN SEBASTIAN       PR         00685

   658590 GEORGINA MELENDEZ SANTIAGO PARC SAN ISIDRO                             112 CALLE 1                                                                         CANOVANAS           PR         00729
   190389 GEORGINA MERCADO           REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   658594 GEORGINA MORALES ROSSY     COUNTRY CLUB                                928 ESPIONZELA                                                                      SAN JUAN            PR         00924
          GEORGINA MUNIZ / CARMEN M
   190390 PADIN                      REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190391 GEORGINA NEGRON FRANCO     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   658552 GEORGINA NIDO GELABERT     PMB 263 1353 RD 19                                                                                                              GUAYNABO            PR         00966
   190392 GEORGINA NIEVES GARCIA     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   658597 GEORGINA OCASIO NIEVES     103 CALLE ESTEBAN PADILLA                                                                                                       ARECIBO             PR         00612

   658598 GEORGINA OLAVAMA FRANCO                     EXT SANTA TERESITA         CS‐20 CALLE N                                                                       PONCE               PR         00730
   658599 GEORGINA ORTIZ ORTIZ                        COND LAGUNA TERRACE        6 CALLE JOFRE APT 5 B                                                               SAN JUAN            PR         00907
   658600 GEORGINA PADILLA RAMOS                      HC 03 BOX 8299                                                                                                 GUAYNABO            PR         00971
   190393 GEORGINA PAGAN MARQUEZ                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   658553 GEORGINA PE¥A ALGARIN                       PO BOX 2621                                                                                                    JUNCOS              PR         00777
   658601 GEORGINA PEREZ FIGUEROA                     HC 2 BOX 3859                                                                                                  LUQUILLO            PR         00773
   190394 GEORGINA PLANELL ENSENAT                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   658602 GEORGINA QUILES HERNANDEZ                   HC 2 BOX 5025                                                                                                  COMERIO             PR         00782
   658603 GEORGINA REYES ARCE                         URB BAYAMON GARDENS        D 22 CALLE 28                                                                       BAYAMON             PR         00957
   190395 GEORGINA RIVERA GONZALEZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190396 GEORGINA RIVERA MORENO                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   658604 GEORGINA RIVERA RIVERA                      155 CALLE LA LUZ                                                                                               SAN LORENZO         PR         00754
   658606 GEORGINA ROBLES RIVERA                      PARCELAS GANDARA           19 CALLE 3                                                                          CIDRA               PR         00739
   190397 GEORGINA RODRIGUEZ                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   190398 GEORGINA RODRIGUEZ FEBUS                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   658608 GEORGINA RODRIGUEZ RIVERA                   URB VILLA TABAIBA          365 CALLE TAINO                                                                     PONCE               PR         00731‐7489

   190399 GEORGINA RODRIGUEZ ROMAN                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GEORGINA RODRIGUEZ
   658609 SALAMAN                                     LA RIVIERA                 SE 1275 CALLE 48                                                                    SAN JUAN            PR         00921
   658610 GEORGINA RUIZ ROSARIO                       PO BOX 443                                                                                                     QUEBRADILLA         PR         00976
   190400 GEORGINA SANCHEZ SUAREZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   658612 GEORGINA SANCHEZ VEGA                       719 CALLE VICTOR LOPEZ                                                                                         SAN JUAN            PR         00916
          GEORGINA SANTIAGO
   190402 RODRIGUEZ                                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   658614 GEORGINA SILVA SUAREZ                       143 MORADILLA URB MILAVILLE                                                                                    SAN JUAN            PR         00926
   658615 GEORGINA SOTO GONZALEZ                      HC‐03 BOX 29950                                                                                                AGUADA              PR         00602
   190403 GEORGINA TORREGROSA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   658617 GEORGINA VEGA MARTINEZ                      379 RES. PONCE DE LEON                                                                                         PONCE               PR         00717‐0276



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  658618 GEORGINA VELAZQUEZ ORTIZ                     RES DIEGO ZALDUONDO         APT 41 EDIF 5                                                                          LUQUILLO          PR         00773
  190404 GEORGINA VELEZ CORTES                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  190405 GEORGINA VELEZ RIVERA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  658619 GEORGINA VELEZ ROMAN                         URB QUINTO CENTENARIO       911 REY FERNANDO ARAGAN                                                                MAYAGUEZ          PR         00680
         GEORGINA VENCE DBA                           AVE. CAIMITO A ‐ 2 URB.
  190406 EBANISTERIA FERRER                           HILLSIDE                                                                                                           SAN JUAN          PR         00926‐5201
  658620 GEORGINO BERRIOS TORRES                      PO BOX 1122                                                                                                        BARRANQUITAS      PR         00794

   658621 GEORGINO MARTINEZ VAZQUEZ PO BOX 373233                                                                                                                        CAYEY             PR         00737
   658622 GEORGINO MULERO           URB SAN PEDRO                                 135 CALLE TIMOTEO SALAS                                                                TOA BAJA          PR         00949
                                    URB SAN PEDRO 135 CALLE
   658623 GEORGINO MULERO SILVA     TIMOTEO                                                                                                                              TOA BAJA          PR         00949
   658624 GEORGINO SANTANA DIAZ     HC 03 BOX 10433                                                                                                                      COMERIO           PR         00782

   658625 GEORGINO VILLANUEVA APONTE P O BOX 364466                                                                                                                      SAN JUAN          PR         00936‐4466
   658626 GEORGIOS N GIANNIODHS      URB CASTELLANA GARDENS                       W 4 CALLE 20                                                                           CAROLINA          PR         00983
   658627 GEORGYS J DIAZ RODRIGUEZ   URB SAN SOUCI                                W 16 CALLE 17                                                                          BAYAMON           PR         00957
          GEORLINE CARRASQUILLO
   190407 CARMONA                    REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   190408 GEORMARY GONZALEZ BAREA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   658628 GEORNAN PAINT SERVICES INC                  PO BOX 421                                                                                                         JUANA DIAZ        PR         00795
   658629 GEOSAN DORADO TROPHY                        304 PASEO MENDEZ VIGO                                                                                              DORADO            PR         00646

          GEOSAN TROPHY EMBRODERY & URB TOA ALTA HEIGHTS P8
   190409 FRAME SHOP INC               CALLE 19                                                                                                                          TOA ALTA          PR         00953
   658630 GEOSAN TROPHYS               PO BOX 9023207                                                                                                                    SAN JUAN          PR         00902‐3207
          GEOSAN TROPHY'S &
   658632 EMBROIDERY                   PO BOX 9023207                                                                                                                    SAN JUAN          PR         00902‐3207
   190410 GEOSISTEMAS INC              PO BOX 22540                                                                                                                      SAN JUAN          PR         00931‐2540
                                       200770 HIGWAY 281 NORTH
   190411 GEOSPATIAL TRAINING SERVICES #108‐135                                                                                                                          SAN ANTONIO       TX         78258
          GEOSPATIAL TRAINING SERVICES
   190412 LLC                          215 W BANDRA 114‐104                                                                                                              BOERNE            TX         78006
          GEOTECHNICAL ENGINEERING     MCS 343 WINSTON CHURCHILL
   658634 SERVICES PSC                 138                                                                                                                               SAN JUAN          PR         00926

   658635 GEOTRUST INC                                117 KENDRICK STREET SUITE 350                                                                                      NEEDHAM           MA         02494
   190414 GEOVAN ORTIZ DE JESUS                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   190415 GEOVANI ARCE ROSALES                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   190416 GEOVANIE AROCHO PAGAN                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   190419 GEOVANIE DIAZ SERRANO                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          GEOVANIE RODRIGUEZ
   658636 CAMACHO                                     URB SAN MARTIN              36 CALLE CORONEL IRIZARRY                                                              CAYEY             PR         00736
   190420 GEOVANNA DE CASTRO                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   658637 GEOVANNA GOMEZ BERRIOS                      EST DE LA FUENTE            74 CALLE CONDE                                                                         TOA ALTA          PR         00953
   190421 GEOVANNA GONZALEZ CRUZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   190422 GEOVANNA M. FIGUEROA LOPEZ REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   190423 GEOVANNE ORTIZ SANTIAGO    REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   190424 GEOVANNI A CRESPO PENA     REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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          GEOVANNI A FERNANDEZ DEL
   190425 VALLE                                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GEOVANNI A TORRES
   190426 ESTREMERA                                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190427 GEOVANNI ANDUJAR ACOSTA                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658638 GEOVANNI LOPEZ ROLDAN                       JARD DE BORINQUEN         P 37 CALLE GARDENIA                                                                    CAROLINA            PR           00985
   190428 GEOVANNI MEDINA RIVERA                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190429 GEOVANNI PAGAN HERNANDEZ REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190430 GEOVANNI PEREZ ANTONETI  REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658639 GEOVANNI PEREZ ROBLEDO   BOX 21‐314                                                                                                                          COTTO LAUREL        PR           00780
   658640 GEOVANNI VIRELLA REYES   PO BOX 473                                                                                                                          JUNCOS              PR           00777
   658641 GEOVANNI ZAYAS GUZMAN    PO BOX 42                                                                                                                           TRUJILLO ALTO       PR           00977
   190432 GEOVANNIE COTTO TRINIDAD REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658643 GEOVANNIE JIMENEZ MEDINA PO BOX 745                                                                                                                          MANATI              PR           00674
          GEOVANNIE MARCANO
   658642 CENTENO                  ESTANCIAS DE BOULEVARD                       BOX 62                                                                                 SAN JUAN            PR           00926
   190433 GEOVANNIE N TANON ORTIZ  REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190434 GEOVANNIE NIEVES FIGUEROA                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190435 GEOVANNIE PAGAN ROGER                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GEOVANNIE S SERRANO
   190436 MONTALVO                                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658644 GEOVANNIE TORRES PADOVANI                   CARRETERA 101             KM 4. 5 BUZON 84                                                                       LAJAS               PR           00667
   658645 GEOVANNIE VEGA SANTIAGO                     7043 CALLE MENDEZ VIGO                                                                                           PONCE               PR           00717‐1250
   658646 GEOVANNY ALVAREZ DAVILA                     PO BOX 528                                                                                                       VEGA BAJA           PR           00693
   658647 GEOVANNY CORDOVA DEIDA                      PO BOX 7126                                                                                                      PONCE               PR           00732
   658648 GEOVANNY DIARZA FLORES                      COMUNIDAD LOS DORAOS      633 CALLE ARGENTINA                                                                    RIO GRANDE          PR           00745

   190437 GEOVANNY MALDONADO CRUZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190438 GEOVANNY MARTINEZ PENA                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658649 GEOVANNY MARTIR GARCIA                      PO BOX 7126                                                                                                      PONCE               PR           00732
   658650 GEOVANNY ORTIZ PEREZ                        URB. RIO BLANCO HEIGHTS   K‐13 CALLE 1                                                                           NAGUABO             PR           00718
          GEOVANNY R VILLANUEVA
   190440 HERNANDEZ                                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GEOVANNY RODRIGUEZ
   658651 IRIZARRY                                    URB VILLA BORINQUEN       4 D 10 BOX 377                                                                         LARES               PR           00669
   190441 GEOVANNY ROMAN BELLIDO                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190442 GEOVANY CRUZ VILLAFANE                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658652 GEOVANY GONZALEZ REYNOSO                    VILLA PRADES              707 CALLE FRANCISCO P CORTES                                                           SAN JUAN            PR           00924
   190443 GEOVANY PEREZ BORGES                        REDACTED                  REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658653 GEOVANY RIVERA ALBINO                       PO BOX 7126                                                                                                      PONCE               PR           00732

   658654 GEOVARRIE M LOPEZ FIGUEROA 365 CALLE RAMEY                                                                                                                   SABANA SECA         PR           00952
   190447 GERALD A ALBERT CRUZ         REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERALD A CEBALLOS ROSA/ AIDA
   190448 ROSA                         REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190449 GERALD A RIVERA GARCIA       REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190450 GERALD A ROSADO ROSARIO      REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658656 GERALD A TORRES NOGUERAS                    PO BOX 9024275                                                                                                   SAN JUAN            PR           00902‐4275



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  190451 GERALD ALVARADO LOPEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   658659 GERALD AUTO AIR AND PARTS                   P O BOX 2495                                                                                                  GUAYAMA             PR         00785
   190452 GERALD C MAZO CRUZADO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190453 GERALD COLON TORRES                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   658660 GERALD FRAZIER                              1519 PEBBLE BEACH                                                                                             BRUNSWICK           OH         44212
   190454 GERALD FUENTES RODRIGUEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   658661 GERALD GOITIA RIVERA                        HC 1 BOX 7247                                                                                                 CANOVANAS           PR         00729
          GERALD J SULLIVAN &
   190456 ASSOCIATES                                  800 W 6TH STREET STE 1800                                                                                     LOS ANGELES         CA         90017
   658662 GERALD L LIEUW SANCHEZ                      PO BOX 9231                                                                                                   BAYAMON             PR         00960‐8041
   190457 GERALD LATORRE VARELA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190458 GERALD LAUBER                               REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   658655 GERALD LOPEZ CEPERO                         701 PARQUE SAN ANTONIO                                                                                        CAGUAS              PR         00725
   658663 GERALD M BACA                               URB CAMINO DEL MAR          7001 VIA CANGREJOS                                                                TOA BAJA            PR         00949
   190459 GERALD MUNIZ ALICEA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   658664 GERALD NOBLE CIRINO                         URB COUNTRY CLUB            CJ 31 CALLE 201                                                                   CAROLINA            PR         00983

   190461 GERALD QUINTERO QUINTERO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   190462 GERALD RODRIGUEZ CARMONA REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190463 GERALD SANCHEZ FUENTES   REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190464 GERALD SOTO NIEVES       REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190465 GERALD TORRES NIEVES     REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   190466 GERALD VILLANUEVA SOLIVAN                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190467 GERALD WOODS HERNANDEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190468 GERALD X SANTIAGO OCASIO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   658666 GERALDA VEGA                                BO TIBES SECTOR LA ZARZA    PR 503 KM 8 3                                                                     PONCE               PR         00731
   658669 GERALDINA FELIX                             P O BOX 2053                                                                                                  SAN GERMAN          PR         00683
   658670 GERALDINA PEREZ MELENDEZ                    RES SANCHEZ OSORIO          EDIF 22 APTO 158                                                                  CAROLINA            PR         00985

   190470 GERALDINA TORRES RODRIGUEZ                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190471 GERALDINE COLON ORTIZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190472 GERALDINE FELIU RABASSA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190473 GERALDINE FRIEDMAN                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190474 GERALDINE GUAL BONILLA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GERALDINE J FERNANDEZ
   190476 GIRONA                                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   658672 GERALDINE LUNA MORALES                      HC 2 BOX 7242                                                                                                 YABUCOA             PR         00767
   658673 GERALDINE M BLAY                            PO BOX 9022575                                                                                                SAN JUAN            PR         00902‐2575

   190477 GERALDINE M. ALVARADO CRUZ                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GERALDINE M. FARRULLA
   190478 ROSARIO                                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GERALDINE MAYO
   190479 ALBUQUERQUE                                 REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GERALDINE MAYO
   190480 ALBURQUERQUE                                REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190481 GERALDINE NIEVES FUENTES                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   190483 GERALDINE RAMOS VAZQUEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GERALDINE RODRIGUEZ
   190484 VIZCARRONDO                                 REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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   658675 GERALDINE RODRÖGUEZ RUÖZ                    122 BRISAS DEL CARIBE                                                                                           PONCE               PR           00728‐5306

   190485 GERALDINE ROSARIO BORRERO                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190486 GERALDINE SANTANA BURGOS                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190487 GERALDINE TOLLINCHE MAS                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658676 GERALDINE TOSTE                             102 ESCALINATA DE LAS MONJAS                                                                                    SAN JUAN            PR           00901
   190489 GERALDINE ZERE BOGUHET                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERALDINO MALDONADO
   190491 MALAVE                                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190493 GERALDINO MUÑIZ MD, JULIO E REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190496 GERALDITA GONZALEZ RIVERA  REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERALDO A BENCOSME / SONIA
   658680 SANCHEZ                    URB MANSIONES DE CAROLINA                    FF‐18 MARQUESA                                                                      CAROLINA            PR           00987

   190497 GERALDO ALVARADO MALAVE                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658682 GERALDO BARRETO COLON                       P O BOX 2403                                                                                                    MOCA                PR           00676
   190499 GERALDO CARLO MUNIZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190500 GERALDO COLON TORRES                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190501 GERALDO COLON VELAZQUEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658685 GERALDO CRUZ SANTIAGO                       PO BOX 314                                                                                                      JUANA DIAZ          PR           00795
   658678 GERALDO D VELEZ CARLO                       CONDOMINIO BEL AIR 1103                                                                                         GUAYNABO            PR           00968
   190502 GERALDO DAVILA TRABAL                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190503 GERALDO E MEDINA RIVERA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190504 GERALDO FIDALGO DOMINGUEZ REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658688 GERALDO GONZALEZ COLLAZO                    RES PTA DE TIERRA           EDIF F APT 29                                                                       SAN JUAN            PR           00901
   658690 GERALDO GONZALEZ RIVERA                     LLAMOS DEL SUR              38 A 722 CALLE GIRASOL                                                              COTTO LAUREL        PR           00780‐2839
   658691 GERALDO HERNANDEZ SOTO                      P O BOX 5296                                                                                                    AGUADILLA           PR           00605
   190507 GERALDO J LOPEZ ROMAN                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190508 GERALDO J NIEVES MONTANEZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERALDO JAVIER FIGUEROA
   190509 CINTRON                                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERALDO JOSE ANDRES
   658679 MARTINEZ IZQUIERDO                          URB HERMANOS SANTIAGO       D SO CALLE I                                                                        JUANA DIAZ          PR           00975

   190510 GERALDO L GARCIA RODRIGUEZ                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658693 GERALDO L. GARCIA RAMIS                     P.O. BOX 1651                                                                                                   CANOVANAS           PR           00729
          GERALDO LUIS MEDINA
   658694 MORALES                                     URB VILLA LOS OLMO          18 CALLE 2                                                                          SAN JUAN            PR           00927
   190511 GERALDO M BISBAL MELERO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERALDO M SANTIAGO
   190512 CORDERO                                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658695 GERALDO MALDONADO CUBI                      PO BOX 1065                                                                                                     VILLALBA            PR           00766
          GERALDO MALDONADO
   658696 GUZMAN                                      BDA LA PERLA                250 CALLE SAN MIGUEL                                                                SAN JUAN            PR           00901




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   658698 GERALDO MALDONADO RIVERA 90 BDA LOS PINOS                                                                                                                      UTUADO              PR           00641

   190514 GERALDO MARTINEZ CAMACHO REDACTED                                           REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190515 GERALDO MEDINA MARTINEZ  REDACTED                                           REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190516 GERALDO MIRANDA MORALES                     REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658700 GERALDO MONTES SILVEIRA                     PARQUE DEL MONTE                AA 30 CALLE CIBUCO                                                                 CAGUAS              PR           00727
   190517 GERALDO MUNIZ                               REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190518 GERALDO NEGRON FOSSE                        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      RES.CUESTA VIEJA EDIF.3 APART
   658703 GERALDO NIEVES LOPEZ                        41                                                                                                                 AGUADILLA           PR           00603
   190519 GERALDO NUNEZ APONTE                        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190520 GERALDO OLAN MARTINEZ                       REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658705 GERALDO ORTIZ CUADRA                        PO BOX 547                                                                                                         HUMACAO             PR           00792
   190521 GERALDO ORTIZ MELENDEZ                      REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190523 GERALDO P RODRIGUEZ LEON                    REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658707 GERALDO QUIRINDONGO RIVERA BO SALISTRAL                                     3 B CALLE SANTA MARTA                                                              PONCE               PR           00716
   190524 GERALDO R SANTOS RIVERA    REDACTED                                         REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190526 GERALDO RIVERA CRUZ        REDACTED                                         REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190527 GERALDO RODRIGUEZ FIGUEROA REDACTED                                         REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190528 GERALDO RODRIGUEZ GALARZA REDACTED                                          REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190529 GERALDO RODRIGUEZ QUILES  REDACTED                                          REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190530 GERALDO RODRIGUEZ RAMOS                     REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190532 GERALDO RODRIGUEZ TORRES                    REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658709 GERALDO ROJAS ORTIZ                         SAINT JUST                      105 BETANIA                                                                        TRUJILLO ALTO       PR           00976
   658710 GERALDO ROMAN QUI ONES                      HC 2 BOX 3450                                                                                                      PENUELAS            PR           00624
   658711 GERALDO SANCHEZ PIERLUISI                   URB PORTAL LOS PINOS            2 CALLE B 17                                                                       SAN JUAN            PR           00926
   658712 GERALDO SANTA OCASIO                        PO BOX 7126                                                                                                        PONCE               PR           00732
   190533 GERALDO SANTOS RIVERA                       REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658713 GERALDO SILVA RIVERA                        BO LOMAS                        I 16 CALLE 5                                                                       JUANA DIAZ          PR           00795‐9511
   658715 GERALDO TORRES CORREA                       HC 07 BOX 3035                                                                                                     PONCE               PR           00731

   658716 GERALDO TORRES HERNANDEZ                    P O BOX 3001 APT 147                                                                                               RIO GRANDE          PR           00745
   190535 GERALDO TORRES SANTIAGO                     REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190536 GERALDO VALENTIN ROMAN                      REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190537 GERALDO VEGA PINA                           REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190538 GERALDO VELAZQUEZ GONZALEZ REDACTED                                         REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190539 GERALDO VILLANUEVA CORTES                   REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658719 GERALDO ZAYAS COLON                         7 PUERTO ARTURO                                                                                                    COAMO               PR           00769
   190540 GERALEE VEGA MORALES                        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190542 GERANID PAGAN ASTACIO                       REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190543 GERANNIE SANCHEZ FERREIRA                   REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   658721 GERARD DE LEON FRANCESCHI                   URB VISTA AZUL                Q 14 CALLE 15                                                                       ARECIBO             PR           00612
   658722 GERARD DUVERGLAS ELIE                       URB RESIDENCIAL BAIROA        C M 18 CALLE 9                                                                      CAGUAS              PR           00725
   190544 GERARD F ACROWS JEAN                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190545 GERARD FRANZ ACLOQUES JEAN                  REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658723 GERARD R AIME JEROME                        URB LA RAMBLA                 1324 CALLE CASTELLANA                                                               PONCE               PR           00717
   190546 GERARD R. AIME JEROME                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658724 GERARD R. DAVIS                             PO BOX 1424                                                                                                       WOONSOCKET          RI           02895
   190547 GERARD RAMOS MARTIN                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190548 GERARD RIVERA DIAZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190549 GERARD SANCHEZ MAISONET                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190550 GERARD VEGA COTTY                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658725 GERARDA FELICIANO BAEZ                      HC 01 BOX 7412                                                                                                    YAUCO               PR           00698
          GERARDA I ANDUJAR
   190551 RODRIGUEZ                                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658726 GERARDA NEGRON SANCHEZ                      HC 01 BOX 7752                                                                                                    YAUCO               PR           00698
          GERARDINA BERMUDEZ DE
   190552 LOPEZ                                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERARDINA CABASQUINI
   190553 FELICIANO                                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190554 GERARDINA NIEVES CRUZ                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658728 GERARDINA RIVERA CARDONA                    167 CALLE NORTE                                                                                                   DORADO              PR           00646

   190555 GERARDINA TORRES CAMACHO                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658729 GERARDINO CABASQUINI                        PO BOX 867 VICTORIA STATION                                                                                       AGUADILLA           PR           00603
                                                                                    454 AVE. LUIS MÑOZ
                                                                                    SOUFFRONT URB. LOS
  1419857 GERARDINO NARVÁEZ, LIZA M.                  MOISES ABREU CORDERO          MAESTROS                                                                            RIO PIEDRAS         PR           00923
   190562 GERARDO A ALVAREZ CARDIN                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190563 GERARDO A BARTOLOMEI BALAY REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERARDO A BONILLA
   190564 MALDONADO                  REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658735 GERARDO A BORGES CRUZ      SANTA JUANITA                                  DD 34 CALLE 37                                                                      BAYAMON             PR           00956
   190565 GERARDO A CARLO ALTIERI    REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658736 GERARDO A COLON GRAU       P O BOX 266                                                                                                                        JAYUYA              PR           00664
   190567 GERARDO A CRUZ BERRIOS     REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658737 GERARDO A CRUZ DIAZ        URB LOS CAOBOS                                 2901 CALLE TABANUCO                                                                 PONCE               PR           00716
          GERARDO A DE JESUS
   658739 VELAZQUEZ                  HC 01 BOX 9368                                                                                                                     TOA BAJA            PR           00949

   190568 GERARDO A DELGADO FLORES                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658740 GERARDO A FIGUEROA TORRES                   RAMOS ANTONINI                APT 320 BLQ 32                                                                      PONCE               PR           00731
   658741 GERARDO A FLORES GARCIA                     P O BOX 190768                                                                                                    SAN JUAN            PR           00919‐0768
   658742 GERARDO A LEON CRUZ                         VILLA ESPERANZA               23 CALLE 3                                                                          PONCE               PR           00716
   190570 GERARDO A MEDINA SONERA                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190572 GERARDO A MULERO ZAPATA                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658743 GERARDO A PEREZ PADILLA                     URB LAS AMERICAS              810 HABANA                                                                          SAN JUAN            PR           00921
   658744 GERARDO A QUIROS LOPEZ                      COBIANS PLAZA OFIC 201        1607 AVE PONCE DE LEON                                                              SAN JUAN            PR           00909



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          GERARDO A RODRIGUEZ
   658746 COLLAZO                                     GLENVIEW GARDENS          CC 3 CALLE N 14                                                                   PONCE               PR           00731
          GERARDO A RODRIGUEZ
   190573 NEGRON                                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658747 GERARDO A TORO COLLAZO                      URB LA LULA               E 10 CALLE 4                                                                      PONCE               PR           00731

   190575 GERARDO A. GOMEZ CORDOVA                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERARDO ALBERTO
   190576 BARTOLOMEI                                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190577 GERARDO ALMENAS TORRES                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190578 GERARDO ALONZO CRUZ                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERARDO ANTONIO ROMERO
   190579 MARCANO                                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERARDO ANTONIO TORRES
   190580 MALDONADO                                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658748 GERARDO APONTE                              ALTURAS DE RIO GRANDE     I 148 CALLE 14 H                                                                  RIO GRANDE          PR           00745
   190581 GERARDO APONTE RIVERA                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190583 GERARDO ARISTUD CORREA                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658749 GERARDO AVILES RIVERA                       PO BOX 842                                                                                                  UTUADO              PR           00641
   658750 GERARDO AYALA                               URB VILLA MATILDE         C 26 CALLE 7                                                                      TOA ALTA            PR           00953
   658751 GERARDO AYALA LARA                          URB MIRADOR BAIROA        2725 CALLE 27                                                                     CAGUAS              PR           00727‐1039
   190586 GERARDO BAEZ MONTANEZ                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658753 GERARDO BARRETO MARTINEZ                    PO BOX 7378                                                                                                 MAYAGUEZ            PR           00681
          GERARDO BASILIO GUZMAN
   658754 MIESES                                      PUERTO NUEVO              558 CALLE DUNAS                                                                   SAN JUAN            PR           00920
   658756 GERARDO BATISTA SANTIAGO                    COND MALAGA PARK APT 7E                                                                                     GUAYNABO            PR           00969

   658757 GERARDO BENITEZ HARDCASTLE HC 01 BOX 11023                                                                                                              CAROLINA            PR           00987

   190587 GERARDO BERMUDEZ CAPACETTI REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190588 GERARDO BERRIOS RIOS       REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658759 GERARDO BERRIOS SCREEN     PO BOX 224                                                                                                                   YABUCOA             PR           00767

   658760 GERARDO BOSQUES HERNANDEZ P O BOX 9023431                                                                                                               SAN JUAN            PR           00902‐3431
   190589 GERARDO BURGOS AVILES     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658761 GERARDO BURGOS RIVERA     BO MAMBICHE BLANCO                          HC 03 BOX 6525                                                                    HUMACAO             PR           00791‐9546
   658762 GERARDO C MARQUEZ ROSA    RES RINCON TAINO                            EDIF 5 APT 46                                                                     SANTA ISABEL        PR           00757

   190590 GERARDO C MARTINEZ SANTINI                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190591 GERARDO C PEREZ GARCIA                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190592 GERARDO CANUELAS VEGA                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190593 Gerardo Capielo Colon                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190594 GERARDO CARINO MANCILLA                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERARDO CARRASQUILLO
   190595 ALVAREZ                                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERARDO CARRASQUILLO
   658763 CALDERON                                    PARCELAS SUAREZ           MEDIANA BAJA LOIZA                                                                LOIZA               PR           00772

   190596 GERARDO CARTAGENA COLON                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190597 GERARDO CARTAGENA MONTES REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658765 GERARDO CASTRO SANTIAGO  22 BO GARZAS                                                                                                                   ADJUNTAS            PR           00601



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  658766 GERARDO CERRA ORTIZ                          3L URB LOS ROSALES                                                                                                HUMACAO             PR           00791

   190598 GERARDO CHARRIEZ VAZQUEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   658768 GERARDO CINTRON PEREZ                       PO BOX 1174                                                                                                       MAYAGUEZ            PR           00691
   658769 GERARDO CLAUDIO LEBRON                      CUPEY BAJO                    RR 7 BOX 7223                                                                       SAN JUAN            PR           00926
   190599 GERARDO CLAUDIO VELEZ                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   658770 GERARDO COLON LUNA                          HC 8 BOX 197                                                                                                      PONCE               PR           00731‐9703
   658771 GERARDO COLON NIEVES                        BRISAS DE CAMPO ALEGRE        EDIF 1 APT 12                                                                       MANATI              PR           00674
   190601 GERARDO COLON SERRANO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   658773 GERARDO CONTRERAS LOPEZ                     HC 4 BOX 46619                                                                                                    SAN LORENZO         PR           00754
   658774 GERARDO CORA                                BO YAUREL HC 16318                                                                                                ARROYO              PR           00714
   658776 GERARDO COSME                               EXT FOREST HILLS              T 524 VALPARAISO                                                                    BAYAMON             PR           00959
          GERARDO CRUZ ORTIZ / ESTELA
   190602 ORTIZ                                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   190603 GERARDO CRUZ QUESADO                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GERARDO CRUZADA
   190604 MALDONADO                                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   190605 GERARDO CUBANO CALDERON                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   658779 GERARDO CUEVAS EFRE                         HC 1 BOX 9345                                                                                                     CABO ROJO           PR           00623
   190606 GERARDO D. CASTRODAD                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   190607 GERARDO DAVILA GONZALEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   658730 GERARDO DAVIS PADOVANI                      PO BOX 3546                                                                                                       MAYAGUEZ            PR           00681‐3546
   658782 GERARDO DE JESUS ANONNI                     PO BOX 195055                                                                                                     SAN JUAN            PR           00919‐5055
   190609 GERARDO DE JESUS SANCHEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   190610 GERARDO DE JESUS VERDEJO                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   658783 GERARDO DE LA CRUZ                          URB SANTA MARIA               D 12 CALLE 4                                                                        SAN GERMAN          PR           00683
   658785 GERARDO DIAZ                                HC 01 BOX 7082                                                                                                    AGUAS BUENAS        PR           00703
   658786 GERARDO DIAZ COLON                          URB VISTA VERDE 27                                                                                                CAMUY               PR           00627
   658788 GERARDO DIAZ GONZALEZ                       HC 1 BOX 10952                                                                                                    LAJAS               PR           00667
   190611 GERARDO DIAZ MELENDEZ                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   658789 GERARDO DIAZ MENDEZ                         PO BOX 1418                                                                                                       CAGUAS              PR           00725‐1418
   658791 GERARDO DIAZ RIVERA                         PO BOX 256                                                                                                        NARANJITO           PR           00719
   190612 GERARDO E ALEMAN RIVERA                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   658793 GERARDO E APONTE NADAL                      PO BOX 670 VICTORIA STATION                                                                                       AGUADILLA           PR           00605

   190613 GERARDO E CHARRIEZ FRANCO                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   658794 GERARDO E PEREZ LEBRON                      IDAMARIS GARDENS B/15         CALLE SALASTIANA COLON                                                              CAGUAS              PR           00725

   658796 GERARDO E SANCHEZ DUVERGE                   P O BOX 3109                                                                                                      CAROLINA            PR           00984‐3109
   190614 GERARDO E TIRADO                            REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GERARDO ECHEVARRIA
   190615 ECHEVARRIA                                  REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   190616 GERARDO ESTRADA FERRER                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   658800 GERARDO EXIA QUINTANA                       COND MAJAGUAL                 EDIF 2 APTO 813                                                                     MAYAGUEZ            PR           00680
   190617 GERARDO F CEDENO                            REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   658801 GERARDO FELICIANO ACEVEDO                   SUITE 163                     PO BOX 7000                                                                         AGUADA              PR           00602
   658802 GERARDO FERNANDEZ AMY                       PMB 413 CALAF ST 400                                                                                              SAN JUAN            PR           00918
          GERARDO FERNANDEZ
   658803 GONZALEZ                                    URB TIERRA ALTA               E 3 CALLE GAVIOTA                                                                   GUAYNABO            PR           00969




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   658804 GERARDO FERNANDEZ MARTELL 366 CALLE POST S                                                                                                                 MAYAGUEZ            PR           00680
   658805 GERARDO FERRACANE         PO BOX 5590                                                                                                                      MAYAGUEZ            PR           00681

   190618 GERARDO FERRAO IZQUIERDO                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658806 GERARDO FIGUEROA GONZALEZ                   PO BOX 202                                                                                                     OROCOVIS            PR           00720
   190621 GERARDO FIGUEROA VALLEJO                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658809 GERARDO FLORES COLON                        PO BOX 9066600                                                                                                 SAN JUAN            PR           00906‐6600
   190624 GERARDO FLORES GARCIA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190626 GERARDO G SOTOMAYOR LUGO                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERARDO G. GONZALEZ
   190627 RODRIGUEZ                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190628 GERARDO G. JOVET TOLEDO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190629 GERARDO G. SANCHEZ TELLO                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190630 GERARDO GARCIA MARQUEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190632 GERARDO GARCIA ROSA                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190633 GERARDO GEORGI RODRIGUEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190634 GERARDO GONZALEZ BERRIOS                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658731 GERARDO GONZALEZ CLAUDIO                    58 E CALLE JOSE DE DIEGO                                                                                       SAN LORENZO         PR           00754

   190635 GERARDO GONZALEZ DELGADO                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190636 GERARDO GONZALEZ MIRANDA                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658813 GERARDO GONZALEZ PAGAN                      801 CALLE MULUCAS                                                                                              SAN JUAN            PR           00924
   190639 GERARDO GONZALEZ PALAU                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658814 GERARDO GONZALEZ RIVERA                     PO BOX 30717                 65 INF STATION                                                                    SAN JUAN            PR           00929‐1717
   190641 GERARDO GONZALEZ ROMAN                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658816 GERARDO GUZMAN COLON                        URB JARDINES DE ARROYO       CALLE 2                                                                           ARROYO              PR           00714

   658817 GERARDO GUZMAN SANTIAGO                     PMB 111 P O BOX 3505                                                                                           JUANA DIAZ          PR           00795
   658818 GERARDO GUZMANRENTAS                        PO BOX 34624                                                                                                   FORT BUCHANAN       PR           00934‐0624
   658819 GERARDO H PEREZ VALENTIN                    BO COLOMBIA                  221 CALLE CONDE                                                                   MAYAGUEZ            PR           00680
   190642 GERARDO H TIRADO TORRES                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190644 GERARDO IRIZARRY PEREZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190645 GERARDO J ACEVEDO CLAUDIO                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190646 GERARDO J ARRIBAS RIVERA                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658820 GERARDO J CORONADO ARCE                     PO BOX 9300734                                                                                                 SAN JUAN            PR           00930‐0734

   658823 GERARDO J CUADRADO GARCIA                   CORREO VILLA SUITE 259                                                                                         HUMACAO             PR           00791
   190647 GERARDO J DIAZ VAZQUEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190648 GERARDO J MATIAS ECHEVARRIA REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658824 GERARDO J ORTIZ RIVERA                      URB ESTANCIA DE SANTA ISABEL 310 CALLE RUBI                                                                    SANTA ISABEL        PR           00757
   190649 GERARDO J PAGAN MARTINEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERARDO J RIVERA
   190651 SANTIAGO/WANDA SANTIAGO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          GERARDO J RODRIGUEZ
   658825 MALDONADO                                   PO BOX 332067                                                                                                PONCE               PR           00731

   190652 GERARDO J TORRES FENANDEZ                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190653 GERARDO J TORRES NEGRON                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190654 GERARDO J TORRES ORTEGA                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190655 GERARDO J. RUIZ SANTIAGO                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190656 GERARDO JIMENEZ SANTIAGO                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERARDO JOSE AMADOR
   658827 LLORENS                                     PO BOX 1465                                                                                                  HATILLO             PR           00659

   658828 GERARDO JOSE MAESO AQUINO HC 2 BOX 14697                                                                                                                 CAROLINA            PR           00987
   190657 GERARDO JOSE VEGA         REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658830 GERARDO L CINTRON CINTRON                   HC 3 BOX 11795                                                                                               JUANA DIAZ          PR           00795
   190658 GERARDO L COLON CRUZ                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190659 GERARDO L FIGUEROA ROSADO                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERARDO L HERNANDEZ
   658829 MARTINEZ                                    PO BOX 1532            10 BORINQUEN                                                                          VILLALBA            PR           00766
   190661 GERARDO L PEREZ LOPEZ                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190662 GERARDO L RAMIREZ BAEZ                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERARDO L SANTIAGO
   190663 RODRIGUEZ                                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190664 GERARDO L VELAZQUEZ VERA                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERARDO L. MARTINEZ
   190665 CARRASQUILLO                                REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190666 GERARDO L. ROSADO RUBERTE                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERARDO L. SANTIAGO
   190667 RODRIGUEZ                                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658831 GERARDO LANZO MONTOYO                       PO BOX 734                                                                                                   LUQUILLO            PR           00773

   190668 GERARDO LANZOT MONTOYO                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190669 GERARDO LAZARO MUNOZ                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190670 GERARDO LEBRON ELUGARDO                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190671 GERARDO LEYRO RAMOS                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658832 GERARDO LOPEZ                               CALLE PASEO ROCIO      138 MANSION DEL SOL                                                                   SABANA SECA         PR           00952
   190672 GERARDO LOPEZ DEL VALLE                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190673 GERARDO LOPEZ MARTINEZ                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190674 GERARDO LOPEZ MORALES                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658833 GERARDO LOPEZ PAOLI                         BOX 1730                                                                                                     LARES               PR           00669
   658836 GERARDO LOPEZ SALAS                         BO BORINQUEN           REPTO RAMOS BOX 16                                                                    AGUADILLA           PR           00603
   658837 GERARDO LOPEZ SANCHEZ                       URB NOTRE DAME         B 13 CALLE SAN BARTOLOME                                                              CAGUAS              PR           00725
   190675 GERARDO LOPEZ VALE                          REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190676 GERARDO LOZADA CRUZ                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658838 GERARDO LOZANO COTTO                        P O BOX 1425                                                                                                 CIDRA               PR           00739‐1425
   190677 GERARDO LUGO PORTALIN                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERARDO LUIS COLLAZO /DBA
   658839 GLC AUTO GLASS                              PO BOX 140537          1085 AVE MIRAMAR                                                                      ARECIBO             PR           00612

   658841 GERARDO M GUENARD IRIZARRY CAMINO EL GUAYO                         305 QUINTAS DEL BAMBU                                                                 MAYAGUEZ            PR           00680‐8118



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  658842 GERARDO M ORTIZ                              SECTOR JUEGO DE BOLA      BO DOMINGUITO                                                                           ARECIBO             PR           00612

   658843 GERARDO M PASTRANA VIERA                    URB LAS PALMAS DE CERRO   GORDO 49                                                                                VEGA ALTA           PR           00692

   190680 GERARDO M PAVIA CABANILLAS REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GERARDO M PLAZA
   190681 MALDONADO                  REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   658844 GERARDO M RIVERA SANTIAGO                   HC 01 BOX 3216                                                                                                    VILLALBA            PR           00766
   658845 GERARDO M TORO OJEDA                        URB SULTANA               61 CALLE TOLOSA                                                                         MAYAGUEZ            PR           00680‐1431
   190682 GERARDO M. DIAZ MERCADO                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   190683 GERARDO MALAVE GONZALEZ                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GERARDO MALAVE VELAZQUEZ
   190684 POLOS & MORE                                URB COUNTRY CLUB          G‐06‐2 AVE SANCHEZ VILELLA                                                              CAROLINA            PR           00982
          GERARDO MALDOMNADO
   190685 MUNOZ                                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   658846 GERARDO MALDONADO CORREA P O BOX 614                                                                                                                          JUANA DIAZ          PR           00795

   190686 GERARDO MALDONADO MUNOZ REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   190687 GERARDO MARCUCCI ACOBES                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   190688 GERARDO MARTINEZ QUINONES REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   190689 GERARDO MARTINEZ QUINONEZ REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GERARDO MARTINEZ
   190690 RODRIGUEZ                 REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   658849 GERARDO MARTINEZ VARGAS   BO RIO HONDO                                449 CAMINO MARTELL                                                                      MAYAGUEZ            PR           00680
   190691 GERARDO MASS QUINONES     REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   658850 GERARDO MATOS GONELLE     VILLA ESPANA Q 36 A                         CALLE PIRINEOS                                                                          BAYAMON             PR           00961
   190692 GERARDO MEAUX CARDONA     REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   190693 GERARDO MEAUX PEREDA      REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   190694 GERARDO MEDINA ALBINO     REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   190695 GERARDO MEDINA CINTRON    REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   658851 GERARDO MEDINA SANTIAGO   1006 CALLE AURORA                                                                                                                   SAN JUAN            PR           00907
                                    URB. CAGUAS NORTE AM‐4
   658852 GERARDO MEJIAS REYES      C/FLORENCIA                                                                                                                         CAGUAS              PR           00725
   658853 GERARDO MELENDEZ CAEZ     HC 2 BOX 12763                                                                                                                      AGUAS BUENAS        PR           00703
   658854 GERARDO MELENDEZ COLON    BOX 416                                                                                                                             CAYEY               PR           00737
   658855 GERARDO MELENDEZ PEREZ    HC 2 BOX 4149                                                                                                                       COAMO               PR           00769
   658856 GERARDO MENDEZ PONCE      103 CALLE EMILIO GONZALEZ                                                                                                           ISABELA             PR           00662

   658858 GERARDO MERCADO SANTIAGO                    URB MEDINA Q 5            CALLE 12                                                                                ISABELA             PR           00662
   190696 GERARDO MILAN SANCHEZ                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   658861 GERARDO MOJICA ONEILL                       VILLA CAROLINA            132‐40 CENTRAL BOULEVARD                                                                SAN JUAN            PR           00985
   190697 GERARDO MONTANEZ                            REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GERARDO MONTANEZ
   190698 CARTAGENA                                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   190699 GERARDO MONTANEZ MARRERO REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   190700 GERARDO MORA PAGAN       REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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   190701 GERARDO MORALES CARMONA                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658862 GERARDO MORALES ROSARIO                     EL SECO                      53 LABIOSA                                                                                MAYAGUEZ            PR           00680
   190702 GERARDO MORALES SOTO                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190703 GERARDO MORELL MARRERO                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190704 GERARDO MORERA DEL CAMPO                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658863 GERARDO NAVAS RIVERA                        URB SABANERA DEL RIO         52 A CALLE LOS BUCARES                                                                    GURABO              PR           00778
   658864 GERARDO NAZARIO SUAREZ                      URB HACIENDA LA MATILDE      5249 CALLE INGENIO                                                                        PONCE               PR           00728‐2432
   190706 GERARDO NIEVES ORTIZ                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190707 GERARDO NUNEZ MAYO L                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190708 GERARDO O NEILL GARAY                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERARDO OLIVENCIA
   190710 ALMODOVAR                                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190711 GERARDO OLIVERAS VALLE                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190712 GERARDO ORTEGA BETANCOURT REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658865 GERARDO ORTIZ                               BO SANTANA CARR 363 KM 3 1   SECTOR LA MAQUINA                                                                         SABANA GRANDE       PR           00637
   190713 GERARDO ORTIZ COLON                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658867 GERARDO ORTIZ FERNANDEZ                     RR 1 BOX 3429                                                                                                          CIDRA               PR           00739
   190714 GERARDO ORTIZ LEON                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658868 GERARDO ORTIZ LOZANO                        URB PASEO LAS BRISAS         29 CALLE NIZA                                                                             SAN JUAN            PR           00926
   658869 GERARDO ORTIZ MERCADO                       METADONA PONCE                                                                                                         Hato Rey            PR           00936
   190715 GERARDO ORTIZ QUILES                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658871 GERARDO ORTIZ RODRIGUEZ                     HC 01 BOX 5196                                                                                                         OROCOVIS            PR           00720‐9700
   658872 GERARDO ORTIZ TORO                          HC 10 BOX 7681                                                                                                         SABANA GRANDE       PR           00637
   658873 GERARDO OTERO CORTES                        PO BOX 357                                                                                                             MANATI              PR           00707
   190716 GERARDO PACHECO LOPEZ                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658874 GERARDO PAVIA CABANILLAS                    PO BOX 366066                                                                                                          SAN JUAN            PR           00936
   658875 GERARDO PE¥A                                1470 CALLE AIBONITO                                                                                                    SAN JUAN            PR           00909
   190717 GERARDO PENA LANUZA                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERARDO PEREZ / DACHO
   190719 SERV.STA.                                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190720 GERARDO PEREZ LOPEZ                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658878 GERARDO PEREZ MALDONADO                     URB SIERRA BAYAMON           6‐82 CALLE 70                                                                             BAYAMON             PR           00961
   190721 GERARDO PEREZ RIVERA                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190722 GERARDO PEREZ ROMAN                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658876 GERARDO PEREZ ROMAN                         576 DORAL BANK CENTER        AVE CESAR GONZALEZ SUITE 402                                                              SAN JUAN            PR           00918
   658879 GERARDO PEREZ VALENTIN                      BO COLOMBIA                  221 CALLE CONDE                                                                           MAYAGUEZ            PR           00680

   658880 GERARDO PICO DEL ROSARIO                    MILAVILLE                    60 CALLE JAGUAS URB MILAVILLE                                                             SAN JUAN            PR           00926
   190723 GERARDO PLAZA LUCIANO                       REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190724 GERARDO QUINONES RAMIREZ                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERARDO QUINTERO
   658881 RODRIGUEZ                                   JARDINES DEL PARAISO         EDIF 25 APTO 183                                                                          SAN JUAN            PR           00926
          GERARDO QUIRINDONGO
   658882 RIVERA                                      BO SALISTRAL                 3 B CALLE STA MARTA                                                                       PONCE               PR           00716

   190725 GERARDO R ACOSTA RODRIGUEZ REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          GERARDO R ALVAREZ
   190726 MALDONADO                                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658883 GERARDO R AMADOR DE JESUS 181 AVE ESTANCIAS DEL LAGO                                                                                                        CAGUAS              PR           00725‐3365
          GERARDO R DIAZ Y ANA M SANES
   658884 MARTINEZ                     HC 01 BOX 8988                                                                                                                 VIEQUES             PR           00765‐9214
   190727 GERARDO R LOZANO MOJICA      REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658885 GERARDO R ROSA DE LEON       URB SAN GERARDO                             308 CALLE MONTANA                                                                  SAN JUAN            PR           00926‐3313
   190728 GERARDO R ROSA FELICIANO     REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190729 GERARDO RAMIREZ APONTE       REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658886 GERARDO RAMIREZ PEREZ        URB MONTE GRANDE                            34 CALLE 35                                                                        CABO ROJO           PR           00623

   658887 GERARDO RAMIREZ RODRIGUEZ HC 01 BOX 1115                                                                                                                    BOQUERON            PR           00622‐9701

   658888 GERARDO RAMOS BETANCOURT                    PO BOX 566                                                                                                      AGUAS BUENAS        PR           00703
   190731 GERARDO RAMOS DIAZ                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658891 GERARDO RAMOS OTERO                         2 CALLE SAN MARTIN APT 6F                                                                                       GUAYNABO            PR           00968
   658892 GERARDO RAMOS RIVERA                        HUCARES II                   APTO G 17                                                                          NAGUABO             PR           00718

   190733 GERARDO REMESAL SANTIAGO                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190734 GERARDO RESTO QUINONES                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190735 GERARDO RIVEA ORTIZ                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658894 GERARDO RIVERA                              HC BOX 3300                                                                                                     SALINAS             PR           00757‐9702
   658896 GERARDO RIVERA BAEZ                         HC 02 BOX 34383                                                                                                 CAGUAS              PR           00725 9420
   190736 GERARDO RIVERA BARRETO                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190737 GERARDO RIVERA DIAZ                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658897 GERARDO RIVERA FONTANEZ                     H C 2 BOX 31332                                                                                                 CAGUAS              PR           00725
   190740 GERARDO RIVERA PABON                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190741 GERARDO RIVERA RAMOS                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190742 GERARDO RIVERA RIVERA                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   190743 GERARDO RIVERA ROMAN                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERARDO RIVERA SANTIAGO /
   190746 WANDA SANTIAGO                              REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERARDO RIVERA TIRO /
   190747 EXTINTORES RIVERA                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERARDO RIVERA TIRO DBA
   190748 EXTINTORES RIVER                            PO BOX 7850                                                                                                     PONCE               PR           00732‐7850

   658902 GERARDO RIVERA TORRES                       106 E CALLE RAMOS ANTONINI                                                                                      MAYAGUEZ            PR           00680
   190750 GERARDO ROBLES RIVERA                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658903 GERARDO RODRIGUEZ                           URB LAS LOMAS                1603 CALLE 36 SO                                                                   SAN JUAN            PR           00921
   190751 GERARDO RODRIGUEZ AYALA                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190752 GERARDO RODRIGUEZ CARRERAS REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658904 GERARDO RODRIGUEZ FLORES                    P O BOX 9678                                                                                                    CAGUAS              PR           00726
   190754 GERARDO RODRIGUEZ LUGO                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658906 GERARDO RODRIGUEZ RIVERA                    HC 764 BOX 7884                                                                                                 PATILLAS            PR           00723
          GERARDO RODRIGUEZ
   190756 RODRIGUEZ                                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   190757 GERARDO RODRIGUEZ TORRES                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  658907 GERARDO RODRIGUEZ VEGA                       HC 1 BOX 6493                                                                                                    CIALES             PR         00638
  190758 GERARDO ROMAN COLON                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  658908 GERARDO ROMAN FELICIANO                      COND PLAZA DEL PARQUE       55 CALLE 848 BZN 218                                                                 TRUJILLO ALTO      PR         00976 3014
  658909 GERARDO ROSA CARDONA                         P O BOX 5042                                                                                                     AGUADILLA          PR         00609
  658910 GERARDO ROSA COTTO                           BDA JURUTUNGO 135           CALLE ARUZ                                                                           SAN JUAN           PR         00917
  190760 GERARDO ROSA FELICIANO                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      5852 URB HACIENDA LA
   658912 GERARDO ROSADO TORRES                       MATILDE                                                                                                          PONCE              PR         00728
   190761 GERARDO ROSAS GALLOZA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   190762 GERARDO RUIZ GONZALEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   658732 GERARDO RUIZ LOPEZ                          HC 02 BOX 12215                                                                                                  MOCA               PR         00676
   190763 GERARDO RUIZ RAMIREZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   190764 GERARDO RUIZ SANCHEZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   658913 GERARDO SALDA FELICIANO                     EXT LA RAMBLA 963           CALLE ZARAGOZA                                                                       PONCE              PR         00730
   658914 GERARDO SANCHEZ AYALA                       1281 CALLE W BOSCH                                                                                               SAN JUAN           PR         00924

   658915 GERARDO SANCHEZ DUVERGE                     PO BOX 3109                                                                                                      CAROLINA           PR         00984
   658916 GERARDO SANCHEZ GARCIA                      CONDOMINIO VIZCAYA 314                                                                                           CAROLINA           PR         00985
   658917 GERARDO SANCHEZ ORTA                        VILLA CAROLINA              30 CALLE 67 BLQ 119                                                                  CAROLINA           PR         00985

   658918 GERARDO SANTIAGO MELENDEZ BDA BUENA VISTA                               259 CALLE D                                                                          SAN JUAN           PR         00917
                                                                                  1111 CALLE LUIS CORDOVA
   658920 GERARDO SANTIAGO MIRABAL                    URB COUNTRY CLUB            CHIRINO                                                                              SAN JUAN           PR         00924

   658733 GERARDO SANTIAGO MORETA                     PO BOX 19851                                                                                                     SAN JUAN           PR         00910
   190765 GERARDO SANTIAGO ORTIZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   190766 GERARDO SANTIAGO PADILLA                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          GERARDO SEPULVEDA
   658921 RODRIGUEZ                                   85 URB LA MONSERRATE                                                                                             SAN GERMAN         PR         00683
   190769 GERARDO SERRANO ROSA                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   190770 GERARDO SERRANO SERRANO                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   658923 GERARDO SOLA ZAYAS                          PO BOX 8205                                                                                                      CAGUAS             PR         00726
   190771 GERARDO SOTO RODRIGUEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   658924 GERARDO SOTOMAYOR RIVERA                    HC BOX 6021                                                                                                      UTUADO             PR         00641‐9501
   190772 GERARDO SUAZO ANDREU                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   190774 GERARDO TEJEDOR GONZALEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   190775 GERARDO TORO RIOS                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   658926 GERARDO TORRES                              P O BOX 1158                                                                                                     VEGA ALTA          PR         00692

   190776 GERARDO TORRES MALDONADO REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   190777 GERARDO TORRES MELENDEZ  REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   190779 GERARDO TORRES MUNIZ     REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   658928 GERARDO TORRES PAZO      URB PASEOS DE JACARANDA                        15515 CALLE MAGA                                                                     SANTA ISABEL       PR         00757
   658929 GERARDO TORRES RAMIREZ   URB SANTA ANA                                  A 5 CALLE 6                                                                          VEGA ALTA          PR         00962
   190781 GERARDO TORRES RIVERA    REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   658930 GERARDO TORRES RODRIGUEZ                    1300 PORTALES DE SAN JUAN   APT 196                                                                              SAN JUAN           PR         00924
   190782 GERARDO TORRES ROLDAN                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   190783 GERARDO TOSADO HERNANDEZ REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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   658931 GERARDO TRAVERSO GONZALEZ HC 3 BOX 29841                                                                                                                      AGUADA               PR           00602
   658932 GERARDO TRINIDAD          PO BOX 7415                                                                                                                         SAN JUAN             PR           00912

   658934 GERARDO VALAZQUEZ MENDEZ                     PO BOX 2280                                                                                                      MOCA                 PR           00676
   190784 GERARDO VALENTIN RIVERA                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   658935 GERARDO VALENTIN RODRIGUEZ HC 1 BOX 15845                                                                                                                     AGUADILLA            PR           00603
   190785 GERARDO VALLE MOLINA       REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   658936 GERARDO VARGAS DIAZ        PO BOX 86                                                                                                                          LAS MARIAS           PR           00670
   658937 GERARDO VAZQUEZ CASTRO     1902 CALLE LOIZA                          PISO 3 APT 7                                                                             SAN JUAN             PR           00911
   190786 GERARDO VAZQUEZ GOMEZ      REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   190789 GERARDO VAZQUEZ VARGAS     REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   658938 GERARDO VEGA               PARADISE HILLS                            1645 CALLE PECOS                                                                         SAN JUAN             PR           00926‐2985
   190790 GERARDO VEGA MARTINEZ      REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   658939 GERARDO VEGA MIRANDA                         COND PLAZA INMACULADA   11 AVE PONCE DE LEON APT 306                                                             SAN JUAN             PR           00909
   190791 GERARDO VEGA ORTIZ                           REDACTED                REDACTED                     REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   190794 GERARDO VELAZQUEZ OLIVERA                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GERARDO VELAZQUEZ
   190795 RODRIGUEZ                                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   658940 GERARDO VELAZQUEZ VARGAS                     BDA LAS MONJAS          133 CALLE 5                                                                              SAN JUAN             PR           00917
   658941 GERARDO VELEZ ROSADO                         HC 02 BOX 43154                                                                                                  VEGA BAJA            PR           00693
          GERARDO, JAVIER FUXMAN Y
   658944 IRMA RIVEIRO                                 PO BOX 11855                                                                                                     SAN JUAN             PR           00910‐3855
          GERBER LIFE INSURANCE
   658946 COMPANY                                      1311 MAMARONECK AVE                                                                                              WHITE PLAINS         NY           10605
   190806 GERBER PRODUCTS                              PO BOX 1769                                                                                                      CAROLINA             PR           00984
   190808 GERDA FIGUEROA                               REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   190809 GERDELIZ FIGUEROA                            REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   190810 GERECKUS LEON TELVI                          REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   190811 GERELYS A SANCHEZ REYES                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   190812 GEREMY ROMAN RAMOS                           REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   190814 GEREMY SAEZ COLON                            REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   658948 GERENA & ASOCIADOS                           PO BOX 6017 PMB 144                                                                                              CAROLINA             PR           00985‐6017
   658950 GERENA AUTO REPAIR                           HC 02 BOX 9502                                                                                                   QUEBRADILLA          PR           00678

  1419858 GERENA COLON, JUAN ANTONIO ALEXIS ACEVEDO COLON                      PO BOX 1376                                                                              GUAYNABO             PR           00970

   190866 GERENA DELGADO MD, RAMON REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   190868 GERENA DIAZ MD, JOSE I   REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                               PMB 262,352 SAN CLAUDIO,STE
  1419859 GERENA GADEA, ENRIQUE                        ALFREDO CRUZ RESTO      1                                                                                        SAN JUAN             PR           00926‐4136
   190905 GERENA IRIZARRY, DAISY I.                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   190918 GERENA LEBRON, MARGARITA                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   190961 GERENA NIEVES MD, ARNALDO                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   190962 GERENA NIEVES MD, FERNANDO REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   190976 GERENA ORTIZ, YADIRA M     REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  190981 GERENA QUILES MD, LUIS                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   190991 GERENA RAMIREZ MD, GRISELLE REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   191067 GERENA TOLEDO, EDITH        REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
                                      URB MILEVILLE 75 CALLE
   658951 GERERDO R. PICO ROSARIO     QUENEPA                                                                                                                               SAN JUAN            PR         00926
   658952 GERHARD LAHME               URB SAGRADO CORAZON                         1627 SANTA PRAXEDES                                                                       SAN JUAN            PR         00926

   658953 GERHIL MEDINA BAEZ                          LEVITTOWN LAKES             FP 10 CALLE LUIS PALES MATOS                                                              TOA BAJA            PR         00949
   191094 GERIEK ALVAREZ VILLARINI                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          GERIEL CIRINO RODRIGUEZ,
   191095 JUAN                                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   658954 GERINALDO ACEVEDO VAZQUEZ HC 01 BOX 3324                                                                                                                          SABANA HOYOS        PR         00688

   658955 GERINALDO SOTO MALDONADO                    URB SIERRA BAYAMON          60 13 CALLE 56                                                                            BAYAMON             PR         00961
          GERINIMO SANTIAGO
   191096 MONTANEZ                                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          GERLYN MARIE LOPEZ
   191097 RODRIGUEZ                                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   191098 GERLYSA ROSARIO PEREZ                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   658957 GERMµN PEDROZA MORALES                      BOX 614                                                                                                               ADJUNTAS            PR         00601
   191099 GERMAIN FIGUEROA ROSADO                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   658958 GERMAINE A FLORES NEGRON                    SAN GERMAN APARTMENT        149 CALLE GOLONDRINA APT 230                                                              SAN GERMAN          PR         00683
   658959 GERMAINE BAEZ FERNANDEZ                     MANSION DEL MAR             MM 25 VIA AZURE                                                                           TOA BAJA            PR         00949
   658960 GERMAINE MADURO PADIN                       STA ROSA                    10 ‐ 15 CALLE 8                                                                           BAYAMON             PR         00959
   658961 GERMAINE NIEVES APONTE                      P O BOX 650734                                                                                                        GUAYANILLA          PR         00656
   191104 GERMAINE Y VELEZ RAMIREZ                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   658962 GERMALIZ DIAZ MARTINEZ                      P O BOX 340                                                                                                           TOA BAJA            PR         00948

   658963 GERMAN A ALVAREZ FELICIANO                  COND LOS ALMENDROS PLZ II   703 CALLE EIDER APT 704                                                                   SAN JUAN            PR         00924

   658964 GERMAN A APONTE RODRIGUEZ P.O. BOX 2626                                                                                                                           SAN GERMAN          PR         00683
   191105 GERMAN A COLON DAVILA     REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   658965 GERMAN A NOVOA RODRIGUEZ                    VILLAS DE PLAYA 1           APT I‐1                                                                                   DORADO              PR         00646
   658966 GERMAN A SILVA RODRIGUEZ                    URB BORINQUEN T 13          CALLE 11                                                                                  CABO ROJO           PR         00623
          GERMAN A. LOGRONO
   191106 PICHARDO                                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   191107 GERMAN ACEVEDO DELGADO                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   658967 GERMAN ADAMES ROMAN                         URB SAN GERARDO             1665 CALLE ALASKA                                                                         SAN JUAN            PR         00926

   658968 GERMAN ALAMO CORTES                         URB CAMPO ALEGRE            H63 CALLE ROBERTO CLEMENTE                                                                PONCE               PR         00731
   658969 GERMAN ALICEA LOPEZ                         BDA CANTERA                 2408 CALLE SAN JOSE                                                                       SAN JUAN            PR         00915
   658970 GERMAN ALICEA MUNOZ                         URB LEVITTOWN               PASEO CONCORDIA # 3147                                                                    TOA BAJA            PR         00949
   191109 GERMAN ARCELAY PABON                        REDACTED                    REDACTED                   REDACTED                                REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   658972 GERMAN ARROYO RIVERA                        HC 02 BOX 5471                                                                                                        RINCON              PR         00677
   658973 GERMAN BENITEZ LLANOS                       URB SABANA LLANAS           1188 CALLE LOS PE¨AS                                                                      SAN JUAN            PR         00929
   658974 GERMAN BERMUDEZ                             286 LENOX ST                                                                                                          NEW HAVEN           CT         06513
   658975 GERMAN BLANCO VARGAS                        PO BOX 271                                                                                                            LAJAS               PR         00667

   191110 GERMAN BRUGUERAS DELGADO REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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   191090 GERMAN CABRERA BETANCOURT REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   191111 GERMAN CAMACHO MARTINEZ                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658976 GERMAN CAMACHO VEGA                         BO BAJURAS                   CB 233 CARR 4466                                                                     ISABELA             PR           00662
          GERMAN CANDELARIA PARA
   191112 BRYANT CANDELARIA                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191113 GERMAN CARABALLO INGLES                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658977 GERMAN CARABALLO IRIZARRY                   HC 1 BOX 5921                                                                                                     GUAYANILLA          PR           00656
   658979 GERMAN CASTRO                               PO BOX 422                                                                                                        SAN ANTONIO         PR           00690
   658980 GERMAN CHAVEZ MUNOZ                         PO BOX 801196                                                                                                     COTTO LAUREL        PR           00780
   191114 GERMAN CHICO DIAZ                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191115 GERMAN COLON CORNIER                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191116 GERMAN COLON DAVILA                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   658981 GERMAN COLON MALDONADO                      HC 02 BOX 8653                                                                                                    JUANA DIAZ          PR           00796
   191117 GERMAN CORDERO BRANA                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658982 GERMAN CORDERO GARCIA                       BOX 132                                                                                                           ANGELES             PR           00641
                                                                                   120 AVE VIZCARRONDO APT
   658983 GERMAN CORDERO RODRIGUEZ VILLA CAROLINA COURT                            2402                                                                                 CAROLINA            PR           00985

   658984 GERMAN CORDERO VALENTIN                     PO BOX 41269                                                                                                      SAN JUAN            PR           00940‐1269
   658985 GERMAN CRUZ MARTINEZ                        HC‐6 BOX 4135                                                                                                     COTTO LAUREL        PR           00780
   191118 GERMAN CRUZ OLMO                            REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191119 GERMAN CRUZ QUINONES                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191120 GERMAN DAVID LOPEZ                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERMAN DEL RIO / ELADIO DEL
   658986 RIO                                         27 WEYBOSSETT ST                                                                                                  NEW HAVEN           CT           06513
   658988 GERMAN DEVORA ROSARIO                       QUINTO CENTENARIO            828 CALLE DIEGO SALCEDO                                                              MAYAGUEZ            PR           00680
   191122 GERMAN DIAZ FIGUEROA                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191123 GERMAN DIAZ MALDONADO                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658989 GERMAN DIAZ RIOS                            APARTADO 14401                                                                                                    SAN JUAN            PR           00916

   658992 GERMAN E ACEVEDO PERALES                    PO BOX 9354                                                                                                       ARECIBO             PR           00613
   658993 GERMAN E IRIZARRY SANTOS                    URB SANTA ELENA              I 6 CALLE 1                                                                          GUAYANILLA          PR           00656
   658991 GERMAN E ROZO NUNEZ                         HC 3 BOX 38730                                                                                                    CAGUAS              PR           00725

   658994 GERMAN E TRENCHE OLIVERO                    PO BOX 7747                  BO OBRERO STA                                                                        SAN JUAN            PR           00916

   658996 GERMAN ESQUILIN MARIN                       1715 CALLE CAROLINA PDA 25                                                                                        SAN JUAN            PR           00912
   191125 GERMAN FERREIRA, VICTORIA                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   658997 GERMAN FIGUEROA VAZQUEZ                     SANTA JUANITA                C3 CALLE BERNARDINO                                                                  BAYAMON             PR           00956
          GERMAN FONTANEZ
   658998 MALDONADO                                   PO BOX 3000                  SUITE 317                                                                            COAMO               PR           00769‐6000

   658999 GERMAN FRAGOSO VILLANUEVA P O BOX 81                                                                                                                          SAN GERMAN          PR           00683
   659000 GERMAN G TORRES RIVERA `  MAGUEYES BOX 1144                              CARR 123 KM 10 4                                                                     PONCE               PR           00728
   191127 GERMAN GARCIA MERCADO     REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191128 GERMAN GOBAIRA GOMEZ      REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659001 GERMAN GONZALEZ ALVAREZ   PO BOX 140204                                                                                                                       ARECIBO             PR           00614‐0204
   191129 GERMAN GONZALEZ GUZMAN    REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191130 GERMAN GONZALEZ LUGO      REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  659002 GERMAN GONZALEZ SALAS                        HC 02 BOX 12702                                                                                                      MOCA                PR           00676

   191131 GERMAN GONZALEZ SANCHEZ                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GERMAN GUMERCINDO
   659003 TIBURCIO                                    EXT VILLA RITA              KK 4 CALLE 32                                                                            SAN SEBASTIAN       PR           00685
   659004 GERMAN HAU COLON                            P O BOX 623                                                                                                          MAYAGUEZ            PR           00681

   191134 GERMAN HERNANDEZ FIGUEROA REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   659008 GERMAN J VAZQUEZ VAZQUEZ                    HC 1 BOX 7146                                                                                                        AGUAS BUENAS        PR           00703
   659009 GERMAN L AVILES ORTIZ                       BO HELECHA                  CARR 162 K 7 4                                                                           BARRANQUITAS        PR           00794
   191135 GERMAN L GARCIA RIVERA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   191136 GERMAN L OLIVERO LEON                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   191138 GERMAN L PARODI                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   191139 GERMAN L SANTIAGO                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   191140 GERMAN L. GARCIA RIVERA                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   659013 GERMAN LANDRAU ARROYO                       PO BOX 41269                                                                                                         SAN JUAN            PR           00940‐1269
   659014 GERMAN LAUREANO ORTEGA                      URB O"NEILL A‐22                                                                                                     MANATI              PR           00674
   191142 GERMAN LIBOY ACEVEDO                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GERMAN LOPEZ ABAD & ELENA
   191143 ACOSTA MUNOZ                                REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   191145 GERMAN LUIS PEREZ MATOS                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GERMAN M RODRIGUEZ DE
   659019 JESUS                                       B 27 VILLA JAUCA                                                                                                     SANTA ISABEL        PR           00757

   659020 GERMAN MARRERO RODRIGUEZ                    HC 1 BOX 4120                                                                                                        COROZAL             PR           00783
   659021 GERMAN MARTINEZ SANCHEZ                     IF 10 JARDINES DE CAYEY                                                                                              CAYEY               PR           00736
   191146 GERMAN MEDINA COLON                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   191147 GERMAN MENA                                 REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   191148 GERMAN MONTALVO BONILLA                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   191149 GERMAN MONTALVO SOTO                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   659024 GERMAN MORALES COSME                        RES RAMON PEREZ RODRIGUEZ   EDIF 12 APT 73                                                                           TOA ALTA            PR           00953
   191150 GERMAN MORALES SANTOS                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   659025 GERMAN MUÃIZ BERNABE                        PUERTA DEL SOL              54 CARR 2 SUITE 4                                                                        MANATI              PR           00674
   659027 GERMAN N FELIX MORALES                      ROUND HILL                  122 CALLE GARDENIA                                                                       TRUJILLO ALTO       PR           00976
   659028 GERMAN NIEVES LOPEZ                         HC 1 BOX 5006                                                                                                        QUEBRADILLAS        PR           00678

   659030 GERMAN OJEDA BRACERO                        MSC 501                     138 AVE WINSTON CHURCHILL                                                                SAN JUAN            PR           00926‐6023
   659031 GERMAN OLIVER PADILLA                       URB LAS AMERICAS            804 CALLE MONTEVIDEO                                                                     SAN JUAN            PR           00921

   191151 GERMAN OQUENDO OQUENDO                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   659032 GERMAN ORTIZ TORRES                         HC 2 BOX 9930                                                                                                        BARRANQUITAS        PR           00794
   659035 GERMAN PANTOJA                              126 WALDO ST                                                                                                         HOLKE               MA           01040
   659036 GERMAN PELLOT                               HC‐04 BOX 44751                                                                                                      AGUADILLA           PR           00603
   191153 GERMAN PENA FONTANEZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   659037 GERMAN PEREZ DIAZ                           URB SIERRA LINDA            G 9 CALLE 3                                                                              BAYAMON             PR           00957
   191154 GERMAN PEREZ MONTES                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

  1419860 GERMAN PERÉZ, CONY J.                       GERMAN PERÉZ, CONY J.       CALLE PAJAROS 93 HATO TEJAS                                                              BAYAMÓN             PR           00959
   191158 GERMAN PIMENTEL LUIGGI                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   659039 GERMAN R ROMAN VELEZ                        HC 7 BOX 32635                                                                                                       HATILLO             PR           00659‐9610



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  659040 GERMAN RAMOS ORTIZ                           PO BOX 595                                                                                                   CAYEY               PR           00736
         GERMAN RAUL GONZALEZ
  191159 ESCOBAR                                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  191160 GERMAN RENGEL FLORES                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  191161 GERMAN REYES OLIVERO                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  191163 GERMAN RIOS VELEZ                            REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  659041 GERMAN RIVERA                                CALLE CANOVANILLAS #72     BONNEVILLE HEIGHTS                                                                CAGUAS              PR           00725
  659042 GERMAN RIVERA AUTO PARTS                     PO BOX 662                                                                                                   LAS PIEDRAS         PR           00771
         GERMAN RIVERA AUTO PARTS
  659043 INC                                          PO BOX 662                                                                                                   LAS PIEDRAS         PR           00771
  191164 GERMAN RIVERA BURGOS                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  191165 GERMAN RIVERA CABALLERO                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  659045 GERMAN RIVERA ORTIZ                          HC 72 BOX 3968                                                                                               NARANJITO           PR           00719
  659046 GERMAN RIVERA RIVERA                         BDA ISRAEL                 183 CALLE PACHECO                                                                 SAN JUAN            PR           00917
  191167 GERMAN RIVERA RODRIGUEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  659047 GERMAN RIVERA TORRES                         BOX 398                                                                                                      CIDRA               PR           00739
  191168 GERMAN RIVERA VILLAFANE                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  191169 GERMAN RIVERA ZAMBRANA                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  659049 GERMAN RODRIGUEZ COLON                       URB HACIENDA FLORIDA       681 CALLE JAZMIN                                                                  YAUCO               PR           00698
         GERMAN RODRIGUEZ
  659051 LAFONTAINE                                   736 URB JESUS MARIA LAGO                                                                                     UTUADO              PR           00641

   659052 GERMAN RODRIGUEZ RAMIREZ URB SABANA GARDENS            23 11 CALLE 16                                                                                    CAROLINA            PR           00983
          GERMAN RODRIGUEZ Y CRUZ M
   191170 COLON                     REDACTED                     REDACTED                               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                    ALTURA RIO GRANDE A 27 CALLE
   659053 GERMAN ROHENA MONZON      14 B                                                                                                                           RIO GRANDE          PR           00745
   191173 GERMAN ROMAN MORALES      REDACTED                     REDACTED                               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   191174 Germán Román Morales      REDACTED                     REDACTED                               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   659054 GERMAN RONDON OCASIO      HC 3 BOX 7103                                                                                                                  GUAYNABO            PR           00971
                                                                 1603 AVE PONCE DE LEON URB
   659055 GERMAN RUIZ               STE 407 COBIAN PLAZA         CARIBE                                                                                            SAN JUAN            PR           00926
   191175 GERMAN RUIZ ROMERO        REDACTED                     REDACTED                               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   659056 GERMAN SAAVEDRA ESCORIAZA HC 2 BOX 9217                                                                                                                  QUEBRADILLAS        PR           00678

   191177 GERMAN SAAVEDRA RODRIGUEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   191178 GERMAN SALDANA OCASIO     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   191180 GERMAN SANCHEZ PEREZ      REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   659058 GERMAN SANTIAGO QUILES    HC 2 BOX 10186                                                                                                                 COROZAL             PR           00783
   659057 GERMAN SANTIAGO SERPA     19 CALLE 512 COUNTRY CLUB                                                                                                      CAROLINA            PR           00982
   191181 GERMAN SANTOS RIVERA      REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   659059 GERMAN SEDA RIVERA        108 CALLE GEORGETTY                                                                                                            MAYAGUEZ            PR           00680
   191183 GERMAN SOTO LORENZANA     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   659060 GERMAN SOTO ORTIZ         HC 02 BOX 6503                                                                                                                 MOROVIS             PR           00687
   191184 GERMAN SUAREZ SIERRA      REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   191185 GERMAN TORRES BERRIOS     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                    COM CALLE DEL AGUA SOLAR
   659062 GERMAN TORRES HERNANDEZ   320                                                                                                                            ADJUNTAS            PR           00601
   659063 GERMAN VARELA             PO BOX 1941                                                                                                                    ISABELA             PR           00662
   659064 GERMAN VARGAS IRIZARRY    PO BOX 344                                                                                                                     MARICAO             PR           00606
   659065 GERMAN VAZQUEZ            BDA POVORIN                                  14 CALLE 11                                                                       CAYEY               PR           00736
   659066 GERMAN VAZQUEZ ALVAREZ    URB VISTAS DEL ATLANTICO                     CALLE MARLIN A‐6                                                                  ARECIBO             PR           00612



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  191187 GERMAN VAZQUEZ AVILES                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  659067 GERMAN VAZQUEZ CINTRON                       PO BOX 203                                                                                                  TOA ALTA             PR         00954‐0203

   659068 GERMAN VAZQUEZ GONZALEZ                     LAS VEREDAS             B 7 VEREDA DEL MONTE                                                                BAYAMON              PR         00961
   659069 GERMAN VAZQUEZ TAVAREZ                      VILLA DEL RIO           RR 01 BOX 13881                                                                     TOA ALTA             PR         00953
          GERMAN VELEZ ALICEA /
   659070 MARILYN ALICEA                              3RA SECCION LEVITTOWN   3161 CALLE CRESTA                                                                   TOA BAJA             PR         00949
   191188 GERMAN VELLON CRUZ                          REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   659071 GERMAN VILLALONGA                           PO BOX 1337                                                                                                 CANOVANAS            PR         00729

   191189 GERMANIA A LOPEZ CAPELLAN                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   659072 GERMANIA ANTONIA MARTINEZ                   COM ARCADIO MALDONADO   SOLAR 334                                                                           SALINAS              PR         00751
   191190 GERMARIE MENDEZ NEGRON                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   191191 GERMARILIS RIOS RIOS                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   191192 GERMARIS MADERA RIVERA                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   191193 GERMARIS RIOS RODRIGUEZ                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   659073 GERMARITZ CRUZ                              P O BOX 21365                                                                                               SAN JUAN             PR         00918

   191194 GERMARY HERNANDEZ ESPADA                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          GERMIE MARIE CORUJO
   659074 MARTINEZ                                    URB SAN RAMON           1974 CALLE SAUCO                                                                    GUAYNABO             PR         00969
   191195 GERMIN BAEZ GUZMAN                          REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   191198 GERNAIDA M. RIVERA LOPEZ                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   191199 GERONEMUS MDPC , ROY G                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   659076 GERONIMO ACEVEDO DIAZ                       PO BOX 1775                                                                                                 MANATI               PR         00674
   659077 GERONIMO BAEZ GARCIA                        HC 6 BOX 73397                                                                                              CAGUAS               PR         00725
          GERONIMO CANDELARIA
   659078 SANTIAGO                                    R RAMOS                 76 CALLE A                                                                          UTUADO               PR         00641
   191200 GERONIMO COLLAZO RAMOS                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          GERONIMO CONCEPCION
   191201 LAGUER                                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   659081 GERONIMO CRUZ LOPEZ                         2DA EXT PUNTO ORO       6502 CRIPTON                                                                        PONCE                PR         00728
   191202 GERONIMO GUZMAN RAMOS                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   659082 GERONIMO JIMENEZ ROMAN                      B 14 CALLE 1                                                                                                VEGA BAJA            PR         00694
   659083 GERONIMO LOPEZ LOPEZ                        HC 2 BOX 106                                                                                                CIALES               PR         00638
          GERONIMO MELENDEZ
   659084 SANTIAGO                                    URB MIRAFLORES25 16     CALLE 32                                                                            BAYAMON              PR         00957
          GERONIMO ORTIZ Y ERNESTO
   191204 ORTIZ                                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   659085 GERONIMO PEREZ QUEZADA                      URB PARK GARDENS        N 12 GETTYSBURG                                                                     SAN JUAN             PR         00926
   191205 GERONIMO PEREZ, KRISTAL                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   191206 GERONIMO ROSARIO REYES                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   659086 GERONIMO SERRANO SERRANO RR 2 BOX 7017                                                                                                                  TOA ALTA             PR         00953
   659087 GERONIMO TORRES CRUZ     PO BOX 21365                                                                                                                   SAN JUAN             PR         00928‐1365

   659089 GERONIMO TORRES ZARZUELA                    SANTA CATALINA          A 13 CALLE 1                                                                        BAYAMON              PR         00957
   659091 GERONIMO VERA GONZALEZ                      PO BOX 760                                                                                                  MOCA                 PR         00676

   191209 GERONTOLOGIA EDUCACIONAL                    PO BOX 4742                                                                                                 AGUADILLA            PR         00605
          GERONTOLOGICAL SOCIETY OF
   659092 AMERICA                                     PO BOX 79151                                                                                                BALTIMORE            MD         21279‐0151



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  659093 GERORGIE AUTO TECHNIC                         BO SABANA                    42 AVE PONCE DE LEON                                                                    GUAYNABO           PR         00962
  659094 GERRY A LORENZO NIEVES                        P O BOX 94                                                                                                           LAS MARIA          PR         00670
  659095 GERRY AUTO AIR                                PO BOX 1040                                                                                                          COAMO              PR         00769
  659096 GERRY ESSO SERVICE                            P O BOX 1119                                                                                                         YABUCOA            PR         00767
  659097 GERRY J CARISSADE VIGLIO                      URB PACIFICA ENCANTADA       PG 63 CALLE PLAZA ISLENA                                                                TRUJILLO ALTO      PR         00976
  191213 GERRY L CRUZ POMALES                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  191214 GERRY LYN PELET NIEVES                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  191215 GERRY ROSADO RAMIREZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  191217 GERRY SALCEDO AYALA                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  191218 GERRY WALQUIST                                REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  191219 GERRYTZA SOTO FLORES                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                                                    CTR DE BANCO COMERCIAL SAN
   191222 GERSH INTERNATIONAL PR LLC                   Y BANCO POPULAR DE PR        JUAN                         PO BOX 362708                                              SAN JUAN           PR         00936‐2708
   659098 GERSIPO SANTIAGO ESPADA                      SAN PEDRO                    147 CALLE T SALAS                                                                       TOA BAJA           PR         00959
   191224 GERSOM ORTIZ ORTIZ                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   659100 GERSON CARABALLO IRIGOYEN                    URB VILLA LYDIA              916 CALLE ODISEA                                                                        ISABELA            PR         00662
   191225 GERSON CASTILLO CASTILLO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   191226 GERSON D ESPADA FIGUEROA                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   191227 GERSON DAVID COLLAZO                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   191228 GERSON FLORES CINTRON                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   659101 GERSON J COLON NELSON                        PO BOX 609                                                                                                           SAN LORENZO        PR         00754
   191230 GERSON L ARDILA SIERRA                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          GERSON LISANDRO ARDILA
   191231 SIERRA                                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   659102 GERSON PINTADO RIVERA                        RR 7 BOX 7185                                                                                                        SAN JUAN           PR         00926
   191233 GERSON RIVERA ORTIZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   659103 GERSON RODRIGUEZ BAEZ                        P O BOX 6966 STA ROSA UNIT                                                                                           BAYAMON            PR         00960
   659104 GERSON RODRIGUEZ RIVERA                      PO BOX 51284                                                                                                         LEVITTOWN          PR         00950
   191234 GERSON SANTOS MARTINEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   191236 GERSON TORRES VILLANUEVA                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   191237 GERSTEIN MD , HOWARD J                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   191238 GERSTEL                                      701 DIGITAL DRIVE SUITE J                                                                                            LINTHICUM MD       MD         210909
   191240 GERSTEL INC.                                 701 DIGITAL DRIVE, SUITE J                                                                                           LINTHICUM,         MD         21090

   191241 GERSY H GUZMAN RODRIGUEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   659105 GERTRAUD KLIMA WIRTH                         SILBERGASSE 15 4A            1190 WIEN                                                                               SILBERGASSE                                GERMANY

   659106 GERTRUDE H ANDREWS DE SOTO HC 83 BOX 7592                                                                                                                         VEGA ALTA          PR         00762
   191244 GERTRUDES CHICO ALONSO     REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          GERTRUDIS ALVARADO
   659108 RODRIGUEZ                  HC 01 BOX 3646                                                                                                                         VILLALBA           PR         00766
          GERTRUDIS CALDERON
   191245 HERNANDEZ                  REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   659110 GERTRUDIS DAVILA FUENTES   VILLA SANTOS                                   49 C 2 MEDIANIA ALTA                                                                    LOIZA              PR         00772

   659111 GERTRUDIS FELICIANO COLON                    PO BOX 9262                                                                                                          ARECIBO            PR         00613
   659112 GERTRUDIS GARCIA MORALES                     HC 1 BOX 3574                                                                                                        MAUNABO            PR         00707
   191246 GERTRUDIS GARCIA RIVERA                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   191247 GERTRUDIS LOPEZ LUGO                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          GERTRUDIS MALDONADO
   191248 ARROYO                                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED




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   659114 GERTRUDIS MALDONADO RIOS                    COND EL MONTE NORTE          APT 234                                                                                 SAN JUAN            PR           00918
          GERTRUDIS MARCANO
   191249 GONZALEZ                                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   191250 GERTRUDIS MURATTI FRANCO                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191253 GERTRUDIS RIVERA                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191255 GERTRUDIS SANTOS ROBLES                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GERTRUDIS TRINIDAD
   659117 MALDONADO                                   108 CALLE BARCELO INT                                                                                                TOA ALTA            PR           00953
   659118 GERTRUDIS VEGA                              PO BOX 6523                                                                                                          MAYAGUEZ            PR           00681
   191256 GERTRUDIS VELEZ CRUZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191257 GERTRUDIS VELEZ VELEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659119 GERTRUDIZ PEREZ GUZMAN                      P O BOX 462                  BAJADERO                                                                                ARECIBO             PR           00616
                                                      148 BARBOSA ESQUINA
   659120 GERTRUDIZ ROMAN                             ROOSVELT                                                                                                             SAN JUAN            PR           00923

   659121 GERTULIO GRACIANO ADORNO   URB REPRESO #231                                                                                                                      ARECIBO             PR           00612
   191258 GERTY QUINONES CORDOVA     REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659122 GERVACIA BRITO MORENO      71 NEWTON ST                                                                                                                          HARTFORD            CT           06106
                                     VILLA OLIMPICA CALLE
   659123 GERVACIA ROSARIO RODRIGUEZ CONFIANZA                                     EDIF 591 NUM 4 C                                                                        SAN JUAN            PR           00926
   659124 GERVACIO DIAZ RESTO        HC 01 BOX 7630                                                                                                                        LUQUILLO            PR           00773
   659125 GERVACIO ROMAN AVILES      CARR 616 BZN 24                                                                                                                       MANATI              PR           00674
   659126 GERVASIA RUIZ OCHANDO      PO BOX 1361                                                                                                                           CAGUAS              PR           00726

   659127 GERVASIO MARTINEZ GONZALEZ CORREO GENERAL 1                                                                                                                      CAGUAS              PR           00726
   659129 GERVASIO RIVERA FLORES     URB MONTE BRISAS 4TA                          4K 14 LOTE 15                                                                           FARJADO             PR           00738
   659130 GERY FIGUEROA              FORTUNATO VIZCARRONDO                         CARR 845 UNIT 22 V 04                                                                   SAN JUAN            PR           00926
          GES AMBULANCE HEALTH
   191259 SERVICES , INC.            P.O. BOX 193044                                                                                                                       SAN JUAN            PR           00919‐0000
          GES AMBULANCE HEALTH
   191260 SERVICES INC               PO BOX 363447                                                                                                                         SAN JUAN            PR           00936
   191261 GES AMBULANCE SERVICE      PO BOX 363447                                                                                                                         SAN JUAN            PR           00936‐3447
   191262 GESSELY VAZQUEZ TORRES     REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GESSWEIN PAUL H GESSWEIN &
   659131 CO INC                     255 HANCOCK AVE                               P O BOX 3998                                                                            BRIDGEPORT          CT           0066053953
   659132 GESTA INC                  416 AVE PONCE DE LEON                                                                                                                 SAN JUAN            PR           00918

   659134 GESTETNER                                   CAPARRA HILLS IND PARK       2 CALLE TABONUCO SUITE 100                                                              GUAYNABO            PR           00968
          GESTETNER CORP NRG DIST
   659135 CORP                                        2 CALLE TABONUCO SUITE 100   CAPARRA HILLS IND. PARK                                                                 GUAYNABO            PR           00968‐3098
                                                      CALLE ORTEGON C‐22 CAPARRA
   191263 GESTETNER CORPORATION                       HILLS                                                                                                                SAN JUAN            PR           00936
   191264 GESTORIA BATIZ INC                          PO BOX 8404                                                                                                          CAGUAS              PR           00725
   191265 GESTORIA DEL CARMEN                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   1743 CALLE PARANA URB
   659141 GET PHYSICAL AEROBITC & DAN WEAR BOUTIQUE                                CROWN HLS                                                                               SAN JUAN            PR           00926
   191273 GET SHOPPED PR INC          URB FUENTE BELLA                             1537 CALLE PORTOFINO                                                                    TOA ALTA            PR           00953
   659142 GETHREMANE HOME CARE        P O BOX 427                                                                                                                          PALMER              PR           00721

   659143 GETRONICS (PUERTO RICO) INC                 EDIF ENERGIZER SUITE G 1     544 CALLE ALDEBARRAN                                                                    SAN JUAN            PR           00920




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          GETSEMANI CHRISTIAN
   191274 ACADEMY                                     PO BOX 6186                                                                                                    MAYAGUEZ            PR           00681
   659146 GETTINGE USA INC                            1777 ESST HEURIETTA RD                                                                                         ROCHESTER           NY           14623‐3133
          GETTY TRUST PUBLICATION
   659147 BOOK DIST CENTER                            P O BOX 49659                                                                                                  LOS ANGELES         CA           90049‐0659
   659148 GETULIO GUERRA RUIZ                         HC 5 BOX 39820                                                                                                 SAN SEBASTIAN       PR           00685

   659149 GETULIO RODRIGUEZ GONZALEZ                  P O BOX 1523                                                                                                   MOROVIS             PR           00687
   659150 GETZAIDA MONTIJO CABIYA                     STA ROSA STATION            PO BOX 6635                                                                        BAYAMON             PR           00957
   659152 GEYSA CASTRO SEDA                           HC 02 BOX 12115                                                                                                YAUCO               PR           00698
   191275 Geysa D. Villarubia Rivera                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659153 GEYSA MORALES HILERIO                       PO BOX 1114                                                                                                    AGUADILLA           PR           00605
   191277 GEYTSON AGOSTO AYALA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191278 GEYZA N MORALES LOPEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191279 GEZZELA ALGARIN LLORENS                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   191281 GF FARM MANAGEMENT CORP                     LOS CAMINOS                 60 CALLE ASTROMELIA                                                                SAN LORENZO         PR           00754
  1256521 GF SOLUTIONS INC                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191282 GF SOLUTIONS, INC.                          HACIENDA LA MATILDE         CALLE BAGAZO 5311                                                                  PONCE               PR           00728
          GFG APPLIANCE & GARDEN
   659155 CENTER                                      PO BOX 52092                                                                                                   TOA BAJA            PR           00950
   191288 GFOA                                        180 MICHIGAN AVE.                                                                                              CHICAGO             IL           60601
  1256522 GFR MEDIA LLC                               REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191302 GFR Media, LLC                              PO Box 71476                                                                                                   San Juan            PR           00939‐1476
          GGF CORP DBA GGF INDUSTRIAL
   659156 SUPPLY                                      P O BOX 29506                                                                                                  SAN JUAN            PR           00923‐0506
   191308 GHADIALLY MD , JAMES A                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191309 GHALY MD, NADER                             REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191314 GHIA M PABON BONILLA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659157 GHIOTTO                                     ROYAL BANK BLDG             255 AVE PONCE DE LEON                                                              SAN JUAN            PR           00917

   191338 GHISELE FIGUEROA RODRIGUEZ                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   659158 GHISLAINE C COLON GAILLARD                  URB EL CONQUISTADOR         9 AVE HERNAN CORTES                                                                TRUJILLO ALTO       PR           00976

   191339 GHISLAINE HENRIQUEZ PAGAN                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191340 GHISLAINE RIVERA JIMENEZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659159 GHISLAINE TORRES TROCHE                     BO LAVADERO                 235 CALLE PARQUE                                                                   HORMIGUERO          PR           00660
                                                      2801 W KINNICKINNIC RIVER
   191342 GI ASSOCIATES                               PKWY STE                                                                                                       MILWAUKEE           WI           53215‐3669
   659160 GI IRON WORK                                BO ESPERANZA                431 CALLE MAGNOLIA                                                                 VIEQUES             PR           00765

   191343 GI SERVICES LATIN AMERICA LLC 201 SOUTH BISCAYNE BLVD                   28TH FLOOR                                                                         MIAMI               FL           33131
   659161 GIA LEE PEREZ MOLINA          URB VILLA GRANADA                         973 CALLE ASTURIAS                                                                 SAN JUAN            PR           00925
          GIA SOFIA GONZALEZ
   659162 HERNANDEZ                     COND PLAZA ANTILLANA                      EDIF 2 APT 6903                                                                    SAN JUAN            PR           00918
   191344 GIACOPELLI MD , JOSEPH A      REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GIAMBARTOLOMEI MOLINA MD,
   191346 ELVIRA                        REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191348 GIAMPIERO ROSATI              REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191349 GIAN A. GARCIA GARCIA         REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   191350 GIAN ANTONIO GARCIA GARCIA                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  659164 GIAN C SILVA DE JESUS       PO BOX 9021112                                                                                                                     SAN JUAN            PR           00902‐1112
         GIAN CANDY/EL MUNDO DE LOS
  659166 DULCES                      1 CALLE GEORGETTI                                                                                                                  CAGUAS              PR           00725
  659167 GIAN CARLOS AMENTA          PO BOX 9022970                                                                                                                     SAN JUAN            PR           00902
  191351 GIAN CARLOS RIVERA CRUZ     REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
         GIAN E GOMEZ AGOSTO / GRACE
  191352 M AGOSTO                    REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  191353 GIAN E. DIAZ RODRIGUEZ      REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  191354 GIAN F MARQUEZ GERENA       REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  191356 GIAN P GOMEZ RIVERA         REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  191357 GIAN VILLAMIL OTERO         REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   770527 GIANCARLA M SAMBO VAZQUEZ                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   659169 GIANCARLO CAPELLI SANTOS                    URB FRANCISCO OLLER          C 8 CALLE 2                                                                          BAYAMON             PR           00956
   659170 GIANCARLO CRUZ ACOSTA                       P O BOX 6933                                                                                                      PONCE               PR           00733
          GIANCARLO DE JESUS
   659171 RODRIGUEZ                                   PO BOX 752                                                                                                        LARES               PR           00669
   191358 GIANCARLO GONZALEZ                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   659172 GIANCARLO MILLAN ROSARIO                    URB MONTECARLO               1327 CALLE 25                                                                        SAN JUAN            PR           00926
   659173 GIANCARLO MIRANDA RIVERA                    URB LAGO ALTO                B 36 CALLE LAS CURIAS                                                                TRUJILLO ALTO       PR           00976
          GIANCARLO O
          FERNANDEZ/CARLOS A
   659174 FERNANDEZ                                   EXT PARQUE ECUESTRE          H 42 CALLE 38                                                                        CAROLINA            PR           00987
   191359 GIANCARLO PABON MEDINA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GIANCARLO PESTARINO
   191361 FIGUEROA                                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   659175 GIANCARLO POLITI EDITORES                   VIA CARLO FARINI 68                                                                                               MILANO 20159                                    ITALY
   659176 GIANCARLO TORRES PABON                      HC 01 BOX 4824                                                                                                    JUNCOS              PR           00664

   659177 GIANCARLO VELEZ RODRIGUEZ                   URB SIERRA BAYAMON           65 16 CALLE 44                                                                       BAYAMON             PR           00961

   659178 GIANFI COMMUNICATIONS INC                   1406 CALLE GEORGETTI                                                                                              SAN JUAN            PR           00910
   659180 GIANFI INC                                  1406 CALLE GEORGETTI                                                                                              SAN JUAN            PR           00910

   659181 GIANFRANCO DISTRIBUTOR                      SANTA JUANITA MAIL STATION   PMB 148 UU1 CALLE 39                                                                 BAYAMON             PR           00956

   191363 GIANFRANCO GARLOBO TORRES                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   191364 GIANGELIS RIVERA VAZQUEZ                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   659182 GIANINA GONZALEZ DUPORT                     EXT ALAMAR                   LT 2 CALLE M                                                                         LUQUILLO            PR           00773
   191365 GIANINA RUIZ                                REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   659183 GIANIRA LOPEZ HERNANDEZ                     232 AVE ELEONOR ROOSEVELT                                                                                         SAN JUAN            PR           00907

   191366 GIANNA C RODRIGUEZ GRAULAU REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GIANNA CORALI RODRIGUEZ
   659185 GRAULAU                    P O BOX 143775                                                                                                                     ARECIBO             PR           00614‐3775
          GIANNA DE TAVERAS / JUAN A
   659186 TAVERAS                    PO BOX 025577                                                                                                                      MIAMI               FL           33102‐5577
   659184 GIANNA I. CASTRO MUNIZ     ESTANCIA REALES 116                           CALLE PRINCESA CRISTINA                                                              GUAYNABO            PR           00969
   659187 GIANNA JUSINO HERNANDEZ    PO BOX 366853                                                                                                                      SAN JUAN            PR           00936‐6853
   191367 GIANNA M CANALES VERDEJO   REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   659188 GIANNA M VAZQUEZ ESTEVA    163 CALLE DR SALAS                                                                                                                 ARECIBO             PR           00612




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   191368 GIANNA PANDOLFI DE RINALDIS REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191369 GIANNA UBINAS DAVILA        REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   191370 GIANNIE I RAMIREZ HERNANEZ                  REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191371 GIANNINA MEDINA TOLEDO                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659191 GIANNINA RUIZ                               URB LIRIOS DEL SUR          A 8 CALLE 1                                                                              PONCE               PR           00731
   659192 GIANS CAFE                                  URB ALTAMESA                1372 AVE SAN IGNACIO                                                                     SAN JUAN            PR           00921
   659193 GIANT DEPT STORE                            9 CALLE CARRION MADURO                                                                                               JUANA DIAZ          PR           00795
   191378 GIANTONNI TORRES SANTA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191379 GIARA T CARDOZA DIAZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191380 GIB DEVELOPMENT LLC                         PO BOX 2399                                                                                                          TOA BAJA            PR           00951
  1256523 GIBARO DE PUERTO RICO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191381 GIBARO DE PUERTO RICO INC                   PMB 177                     362 AVENIDA ANDALUCIA                                                                    SAN JUAN            PR           00920
   659194 GIBBS PLANNING GROUP INC                    148 PIERCE STREET                                                                                                    BIRMINGHAM          MI           48009

   191386 GIBERT MIRANDA RODRIGUEZ    REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191400 GIBRAN GARCIA GUIVAS        REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191402 GIBSON E NEAVES PIZARRO     REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659196 GICELA COLON ARENAS         URB MONTE BELLO                             C 35 CALLE REINA                                                                         HORMIGUEROS         PR           00660
   191405 GICELIZ LEBRON CORTIJO      REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191406 GICELLE CASANVA TORRES      REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659197 GIDDEL J GALLISA BENITEZ    COND ARANGUEZ APT 204                                                                                                                SAN JUAN            PR           00917
   191408 GIELLAM M ELIAS RIVERA      REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191409 GIELLIAM M. ELIAS RIVERA    REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GIELOY J RODRIGUEZ/ CARMEN
   191410 CORDERO                     REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191411 GIEMAR RIVERA COLON         REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GIERBOLINI CONSULTING GROUP
   191429 CORP                        P O BOX 364567                                                                                                                       SAN JUAN            PR           00936‐4567
          GIERBOLINI RODRIGUEZ,
  1419861 RAMOND A                    HÉCTOR E. PEDROSA LUNA                      PO BOX 9023963                                                                           SAN JUAN            PR           00902‐3963
                                                                                  200 AVE. RAFEL CORDERO STE.
  1419862 GIERBOLINI TORRES, WILMA                    MICHELLE M. SILVA MARRERO   140 PMB 263                                                                              CAGUAS              PR           00725‐4303
   659198 GIFT ACKNOWLEDGEMENT                        PO BOX 615                  SUSCRIPTION DEPARMENT                                                                    HOLMES              PA           19043
   659199 GIFT AMORE EMBRODERY                        PO BOX 5390                                                                                                          MAYAGUEZ            PR           00681
          GIGA BYTE COMPUTERS
   191493 SERVICES                                    68 COMERCIO                                                                                                          YAUCO               PR           00698
   191494 GIGANTE BAEZ MD, ARTURO                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659200 GIGANTE FISHING CLUB INC                    P O BOX 555                                                                                                          ADJUNTAS            PR           00601
          GIGANTES CAROLINA AA
   191497 BASEBALL CLUB INC                           PMB 217                     PO BOX 6022                                                                              CAROLINA            PR           00984
          GIGANTES PUERTORRIQUENA
   191498 MASCULINO CORP                              PO BOX 20936                                                                                                         SAN JUAN            PR           00928
          GIGI ROSE MARIE CRUZ
   659201 HERNANDEZ                                   PARK GARDENS                A 33 TRIANON                                                                             SAN JUAN            PR           00926
   659203 GIL A CERPA CERPA                           PO BOX 2707                                                                                                          GUAYNABO            PR           00970
   659206 GIL A FIGUEROA SANCHEZ                      HC 73 4893                                                                                                           NARANJITO           PR           00719
   659207 GIL A HERMIDA PEREZ                         URB LA RAMBLA               2007 CALLE EXTREMADURA                                                                   PONCE               PR           00730‐4079
   659208 GIL A JORGE CANALES                         PO BOX 7126                                                                                                          PONCE               PR           00732
   191501 GIL A MADURO NEGRON                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191502 GIL A MALAVE ALVAREZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191503 GIL A MARTINEZ DONATO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  191504 GIL A MERCADO NIEVES                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  659209 GIL A MORALES RIVERA                          PO BOX 624                                                                                                       AGUADILLA         PR         00605‐0624
  191505 GIL A ORTIZ CALDERON                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  191506 GIL A PADILLA FLORES                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  191507 GIL A PEREZ RIVERA                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  659210 GIL A RODRIGUEZ RAMOS                         EXT ONEILL                  DD 60 CALLE 2                                                                        MANATI            PR         00701
         GIL A RODRIGUEZ VEGA / NEW
  191508 ENERGY                                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  191509 GIL A SUAREZ AMADOR                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  659211 GIL A SUAREZ CASIANO                          URB FAIRVIEW                1938 CALLE PEDRO MEJIAS                                                              SAN JUAN          PR         00926
  659212 GIL A TIRADO VEGA                             HC 72 BOX 7048                                                                                                   CAYEY             PR         00736‐9205
  191510 GIL A. DIAZ CRUZ                              REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  191511 GIL ACOSTA MALAVE                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  659213 GIL AGOSTO SANTIAGO                           PO BOX 10163                                                                                                     SAN JUAN          PR         00908
         GIL ALBERTO NIEVES DIAZ /
  191512 FARMACIA DENIK                                REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         GIL ALBERTO NIEVES DIAZ DBA
  191513 FCIA DENIRKA                                  P O BOX 850                                                                                                      FAJARDO           PR         00738
  191514 GIL ALBERTO ORTIZ CABRERA                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         GIL BURGOS AND PARTNERS                       PMB 459 200 AVE RAFAEL
  191519 CORP                                          CORDERO                     SUITE 140                                                                            CAGUAS            PR         00725‐3757
  191527 GIL CHRISTOPHER BORRERO                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  191398 GIL COLLAZO CRUZ                              REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  659215 GIL CONSTRUCTION                              RR 1 BOX 37438                                                                                                   SAN SEBASTIAN     PR         00685
  659216 GIL CRUZ TRUJILLO                             HC 1 BOX 6105                                                                                                    JUNCOS            PR         00777
  659217 GIL D FRATICELLI                              HC 01 BOX 6792                                                                                                   GUAYANILLA        PR         00656
  191530 GIL D FRATICELLI SANTIAGO                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  659218 GIL DE LEON SOTO                              HC 1 BOX 6916                                                                                                    LAS PIEDRAS       PR         00771
  191549 GIL DELGADO MD, CARLOS A                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  191550 GIL DELGADO, CARLOS                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  191552 GIL DIAZ GONZALEZ                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  659219 GIL E CRUZ CRUZ                               HC 1 BOX 7802                                                                                                    YAUCO             PR         00698
  191556 GIL E RIVERA CORNIER                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  659220 GIL E VALENTIN CRUZ                           PO BOX 49                                                                                                        SAN SEBASTIAN     PR         00685
  659221 GIL ENGINEERING GROUP                         823 SANTANA                                                                                                      ARECIBO           PR         00612
  191559 GIL ESCUDERO MD, ALCIDES                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  659222 GIL FERRER SANTIAGO                           BO LOMAS                    HC 71 BOX 2416                                                                       NARANJITO         PR         00719
  191561 GIL G LOPEZ PEREZ                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  191562 GIL G MORALES MORALES                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                       C\ A ESTE B‐13 CIUDAD
   659223 GIL GARCIA CHARRIEZ                          UNIVERSITARIA                                                                                                    TRUJILLO ALTO     PR         00976
   659224 GIL J COURET DASTAS                          BARRIO PALOMAS 2 CALLE‐12                                                                                        YAUCO             PR         00698
   191571 GIL J ORTIZ CAMPOS                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   191573 GIL JUSINO MENDEZ                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   191575 GIL M FERNANDEZ SANTIAGO                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   191576 GIL M FIGUEROA NEGRON                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   659226 GIL M SERRANO SANTIAGO                       URB TOA ALTA HGTS           F 6 CALLE 1                                                                          TOA ALTA          PR         00953
   191578 GIL MARRE LOPEZ                              REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   659202 GIL MARTINEZ GUZMAN                          11015 ELGIN BLVD                                                                                                 SPRING HILL       FL         34608 1934
   191587 GIL MUÑOZ MD, BETTY                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   191588 GIL NEGRON GONZALEZ                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   659228 GIL ORTIZ ARROYO                             HC 4 BOX 44859                                                                                                   AGUADILLA         PR         00603
   659229 GIL P GAUD                                   PO BOX 460                                                                                                       MERCEDITA         PR         00715‐6913



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  191592 GIL PEREZ GRAJALES                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  659231 GIL PHARMACEUTICAL INC                       PO BOX 1645                                                                                                   PONCE               PR         00733
  191595 GIL PINEIRO                                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  659232 GIL R RIVERA HERNANDEZ                       RR 7 BZN 10285                                                                                                TOA ALTA            PR         00953‐8168
  659233 GIL R RODRIGUEZ                              8 CALLE CERVANTES PH 4                                                                                        SAN JUAN            PR         00907
  659234 GIL RALDIRIS                                 P O BOX 9022300                                                                                               SAN JUAN            PR         00902‐2300
  191597 GIL RESTO SALGADO                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  659236 GIL ROMAn ROCA                               65 VALLE COMERCIO                                                                                             YAUCO               PR         00598
         GIL ROOFING & PAINTING
  659238 CONTRACTORS INC                              EL CONQUISTADOR             I 48 CALLE 5                                                                      TRUJILLO ALTO       PR         00976
                                                      33 ALTOS CALLE TOMAS
   659239 GIL ROSARIO RAMOS                           CARRION MADURO                                                                                                JUANA DIAZ          PR         00795
   191612 GIL RPT, JULIA                              REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659241 GIL SANABRIA RAMOS                          URB COSTA AZUL              Q 10 CALLE 29                                                                     GUAYAMA             PR         00784
   191615 GIL SANTOS NEVAREZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   659243 GIL SERRANO TORRES                          11 CALLE VENTURA MONGROIG                                                                                     FLORIDA             PR         00650
   191620 GIL VAZQUEZ MORALES                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   191623 GIL X URBINA PEREZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   191625 GIL, ELIZABETH                              REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   191627 GIL, JUANA                                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659246 GILA D RAMOS RAMOS                          URB SANTA ISIDRA III        C20 CALLE 4                                                                       FAJARDO             PR         00738
   191629 GILARY ACEVEDO LOPEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   191631 GILBEN CAMACHO IZQUIERDO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659247 GILBERT APONTE VELEZ                        BO MARAVILLA ESTE BOX 147                                                                                     LAS MARIAS          PR         00670
   659248 GILBERT AROCHO MARTINEZ                     PO BOX 4565                                                                                                   VEGA BAJA           PR         00694

   191633 GILBERT BAHAMUNDI BERNARD REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659249 GILBERT BONILLA MARTINEZ  URB VILLA BLANCA                              48 CALLE ESMERALDA                                                                CAGUAS              PR         007255

   191634 GILBERT CARRASQUILLO PINERO                 REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659251 GILBERT CASTRO ORTIZ                        EXT CAGUAX R 14             CALLE TUREY                                                                       CAGUAS              PR         00725
   191635 GILBERT CORP                                PO BOX 194527                                                                                                 SAN JUAN            PR         00919‐4527
   191636 GILBERT COTTO HERNANDEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   659252 GILBERT DE LA CRUZ ROSARIO                  EXT PARQUE EQUESTRE         H 35 CALLE 38                                                                     CAROLINA            PR         00987

   191639 GILBERT J MERCED RODRIGUEZ                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   659254 GILBERT MALDONADO CANCEL                    EL MIRADOR                  M1 CALLE 10                                                                       SAN JUAN            PR         00926
   191642 GILBERT MEDINA LEBRON                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659255 GILBERT MERCADO ROMAN                       HC 1 BOX 5481                                                                                                 SABANA HOYOS        PR         00688
   191644 GILBERT MUðOZ GELABERT                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GILBERT O DE LA CRUZ
   191647 RODRIGUEZ                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   191648 GILBERT PABON MORA                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659257 GILBERT PEREZ OCASIO                        HC 01 BOX 5023                                                                                                CAMUY               PR         00627
   191649 GILBERT RAMOS NIEVES                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   191650 GILBERT RIVERA MOLINA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659258 GILBERT RIVERA PEREZ                        JARD DE COUNTRY CLUD        CJ 37 CALLE 147                                                                   CAROLINA            PR         00983
   659259 GILBERT S ARTS & GRAPHICS                   PO BOX 41243                                                                                                  SAN JUAN            PR         00940
   659260 GILBERT S WEINER SCHAFFER                   653 C/ HIPODROMO STE 101                                                                                      SAN JUAN            PR         00909



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   191652 GILBERT S. ANGLERO GUZMAN                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659261 GILBERT TORO VENTURA                        PO BOX 8330                                                                                                   PONCE               PR           00732
   659262 GILBERT TORRES CARABALLO                    PO BOX 15494           HC 3                                                                                   YAUCO               PR           00698
   659263 GILBERT TORRES DELGADO                      HC 03 BOX 17504                                                                                               SAN SEBASTIAN       PR           00685
   659264 GILBERT VIERA PASTRANA                      PO BOX 361906                                                                                                 SAN JUAN            PR           00936
   659265 GILBERT VIRUET ROMAN                        URB LEVITTOWN          2352 PASEO ALEGRE                                                                      TOA BAJA            PR           00949‐4308
   191655 GILBERT Y QUINONES MATIAS                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191656 GILBERT ZACHEUS SANCHEZ                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1419863 GILBERT, PATRICIA                           EDUARDO DIAZ DIAZ      CALLE COLITOSTE NUM. 5473                                                              SAN JUAN            PR           00917
   659276 GILBERTO A CARRION LOPEZ                    URB VILLA CONTESSA     B 10 CALLE BORBON                                                                      BAYAMON             PR           00956
   191658 GILBERTO A COLON VEGA                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   659277 GILBERTO A CORDERO SOLIVAN                  2074 WEVERLY CIRCLE    HENDEWN                                                                                NEVADA              NV           89014
   659280 GILBERTO A DA SILVA                         P O BOX 667                                                                                                   SABANA HOYOS        PR           00688 0667

   659281 GILBERTO A LAGARES CHACON                   URN SAN FRANCISCO      149 CALLE SAN MIGUEL                                                                   YAUCO               PR           00698
   191659 GILBERTO A MARTINEZ REYES                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191661 GILBERTO A VELEZ DELGADO                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659282 GILBERTO A VERAS                            COND BAHIA 1048        AVE LAS PALMAS APT 1007                                                                SAN JUAN            PR           00907
   191662 GILBERTO A VICENTE CRUZ                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191663 GILBERTO A. VICENTE CRUZ                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659283 GILBERTO ACERVEDO VEGA                      PO BOX 250352                                                                                                 AGUADILLA           PR           00604‐0352
   659284 GILBERTO ACEVEDO GOTAY                      RR 06 BOX 10941                                                                                               SAN JUAN            PR           00926‐9518
   191453 GILBERTO ACEVEDO MENDEZ                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191471 GILBERTO ACEVEDO RAMOS                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659286 GILBERTO AGRON RIVERA                       PO BOX 1487                                                                                                   RINCON              PR           00677
   191664 GILBERTO AGUILAR NIEVES                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191665 GILBERTO ALEMAN MORALES                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   191666 GILBERTO ALEQUIN MERCADO                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191667 GILBERTO ALFARO BERRIOS                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191668 GILBERTO ALICEA                             REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   191669 GILBERTO ALVARADO SANTIAGO REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659290 GILBERTO ALVAREZ RIVERA    BO TIBURON 1                            CALLE 12                                                                               BARCELONETA         PR           00617
   659291 GILBERTO APONTE ARROYO     1023 A KELLY STREET                     2ND FLOOR                                                                              BRONX               NY           10459

   191670 GILBERTO APONTE GUTIERREZ                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191671 GILBERTO APONTE MACHIN                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659292 GILBERTO APONTE TORRES                      617 CALLE ARGENTINA                                                                                           SAN JUAN            PR           00915
   659293 GILBERTO ARROYO LUCENA                      HC 5 BOX 58601                                                                                                HATILLO             PR           00659
   191672 GILBERTO ASENCIO                            REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659294 GILBERTO ASTACIO MASS                       PO BOX 1423                                                                                                   CABO ROJO           PR           00623

   659295 GILBERTO ASTACIO RODRIGUEZ                  PO BOX 908                                                                                                    CABO ROJO           PR           00623
   191673 GILBERTO AVILA HERNANDEZ                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659298 GILBERTO AYALA RAMOS                        P O BOX 334117                                                                                                PONCE               PR           00733 4117
   659299 GILBERTO BADILLO MORALES                    HC 1 BOX 14741                                                                                                AGUADILLA           PR           00603‐9340
   191674 GILBERTO BAEZ MENDEZ                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659300 GILBERTO BAEZ MONTALVO                      HC 5 BOX 53471                                                                                                MAYAGUEZ            PR           00680

   191675 GILBERTO BARRETO HERNANDEZ REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          GILBERTO BARRIONUEVO
   191676 CASABLANCA                                  REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   191677 GILBERTO BATISTA RIVERA                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   659301 GILBERTO BENITEZ & SONS INC                 PO BOX 1105                                           ISABELA                                                    ISABELA              PR           00662
   659302 GILBERTO BENITEZ REYES                      PO BOX 1105                                                                                                      ISABELA              PR           00662
   191679 GILBERTO BENITEZ RUIZ                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659303 GILBERTO BERENGUER FILIPPI                  URB VILLA DEL CARMEN    2434 CALLE TURIN                                                                         PONCE                PR           00716

   659304 GILBERTO BERMUDEZ CENTRO                    HC 1 BOX 4857                                                                                                    COMERIO              PR           00782
   659305 GILBERTO BERRIOS                            LA HACIENDA             17 CALLE A                                                                               COMERIO              PR           00782
   659306 GILBERTO BERRIOS BLANCO                     PMB 117 P O BOX 1999                                                                                             BARRANQUITAS         PR           00794
   191680 GILBERTO BETANCOURT DIAZ                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659307 GILBERTO BONET BONET                        HC 01 BOX 20531                                                                                                  CABO ROJO            PR           00623‐9721
   191681 GILBERTO BONILLA                            REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   191682 GILBERTO BONILLA VICENTE                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   191683 GILBERTO BORGES GARCIA                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659308 GILBERTO BRACERO BURGOS                     30 CALLE YAGUER                                                                                                  GUANICA              PR           00653

   191684 GILBERTO BRUGMAN MERCADO REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659310 GILBERTO BURGOS MIRANDA  HC 83 BOX 6258                                                                                                                      VEGA ALTA            PR           00692

   659311 GILBERTO C VILA PEREZ                       EL VEDADO               244 CALLE RODRIGO DE TRIANA                                                              SAN JUAN             PR           00918
          GILBERTO CABALLERO
   191685 HERNANDEZ                                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   191686 GILBERTO CABALLERO MARTINEZ REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659313 GILBERTO CABRERA SANCHEZ    PO BOX 2973                                                                                                                      BAYAMON              PR           00960‐2973

   659314 GILBERTO CALDERON GALARZA                   P O BOX 1077                                                                                                     GUAYNABO             PR           00970
   191687 GILBERTO CALDERON GARCIA                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   659269 GILBERTO CAMACHO MARTINEZ BO AMELIA #29 CALLE SENDERO                                                                                                        CATA¥O               PR           00962
   659315 GILBERTO CAMACHO PEREZ    PO BOX 1532                                                                                                                        VEGA ALTA            PR           00692
   191688 GILBERTO CAPACCETTI DIAZ  REDACTED                    REDACTED                                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   191689 GILBERTO CARABALLO ACOSTA                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   191690 GILBERTO CARDONA ORTEGA                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GILBERTO CARRERAS
   659316 ECHEVARRIA                                  BOX 4 209 BO LLANADAS                                                                                            ISABELA              PR           00662

   191692 GILBERTO CARRERO SANCHEZ                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   659317 GILBERTO CARTAGENA FALCON                   HC 02 BOX 14623                                                                                                  AIBONITO             PR           00705
   659319 GILBERTO CASILLAS CASILLAS                  26 CALLE PATILLAS                                                                                                SAN JUAN             PR           00917
   659320 GILBERTO CASTRO VELEZ                       HC 6                    BOX 4400                                                                                 PONCE                PR           00780
   191693 GILBERTO CEDENO VIERA                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GILBERTO CHAPARRO
   191694 ECHEVARRIA                                  REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659322 GILBERTO CINTRON                            1‐35 PALOMAS                                                                                                     YAUCO                PR           00698

   191696 GILBERTO CLAUDIO MARRERO                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659323 GILBERTO COLLAZO ACOSTA                     URB COUNTRY CLUB        764 CALLE BELEN ZEQUEIRA                                                                 SAN JUAN             PR           00924



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   659324 GILBERTO COLOMBANI RIVERA                   HC 2 BOX 6244                                                                                                   RINCON               PR           00677
   659325 GILBERTO COLON ACEVEDO                      HC 91 BOX 8823                                                                                                  VEGA ALTA            PR           00692
   191697 GILBERTO COLON FLECHA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   659326 GILBERTO COLON HERNANDEZ                    PO BOX 1560                                                                                                     SABANA SECA          PR           00952
   191699 GILBERTO COLON LEBRON                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   191700 GILBERTO COLON RIVAS                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   659331 GILBERTO CONCEPCION SUAREZ PO BOX 20304                                                                                                                     SAN JUAN             PR           00928
   659332 GILBERTO CORCINO ORTIZ     BO ESPERANZA                                 189 CALLE ALMENDRO                                                                  VIEQUES              PR           00765

   191702 GILBERTO CORDERO NAZARIO                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659333 GILBERTO CORDERO PAGAN                      MONTE BRISAS                5H 26 CALLE 6                                                                       FAJARDO              PR           00738
   659334 GILBERTO CORREA PIZARRO                     PO BOX 240                                                                                                      SANTA ISABEL         PR           00757
   191704 GILBERTO CORREA RIVERA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   191705 GILBERTO CORTES FIGUEROA MD REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   659336 GILBERTO COTTO RIOS                         604 COND CHATTEAU LAGOON                                                                                        SAN JUAN             PR           00907
   191706 GILBERTO COUNTIN                            REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GILBERTO COUVERTIER
   191707 MORALES                                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659337 GILBERTO CRUZ COLON                         VILLA PALMERAS              271 CALLE RAFAEL ALERS                                                              SAN JUAN             PR           00912
   191708 GILBERTO CRUZ DELGADO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   191710 GILBERTO CRUZ FIGUEROA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   191712 GILBERTO CRUZ NIEVES                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659341 GILBERTO CRUZ PAGAN                         HC 01 BOX 3605                                                                                                  MOROVIS              PR           00687
   191713 GILBERTO CRUZ RODRIGUEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659343 GILBERTO CRUZ TOLEDO                        BO RIO CHIQUITO             BOX 8027                                                                            LUQUILLO             PR           00773
   191714 GILBERTO D RIVERA VELEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GILBERTO DAVILA
   191715 DBA/BANANERA PAGAN                          URB LUCHETTI                E 1 CALLE GUAYACAN                                                                  YAUCO                PR           00698
   191716 GILBERTO DAVILA MARCANO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   191721 GILBERTO DE LEON SANCHEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   191722 GILBERTO DE LEON SOTO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GILBERTO DEL CASTILLO
   659344 GONZALEZ                                    UBB LOS ANGELES             K2 CALLE D                                                                          CAROLINA             PR           00979

   659270 GILBERTO DEL VALLE OROZCO                   PO BOX 594                                                                                                      SAN LORENZO          PR           00754
   659345 GILBERTO DEL VALLE ROMAN                    CONDOMINIO MUNDO FELIZ      APT 1501                                                                            CAROLINA             PR           00979
   191723 GILBERTO DELGADO PEREZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   659346 GILBERTO DELGADO ZAVALETA                   URB TRUJILLO GARDENS        H 38 CALLE 5                                                                        GUAYNABO             PR           00965
                                                      EXT. SANTA ANA C‐24 CALLE
   659347 GILBERTO DIAZ CARABALLO                     GRANATE                                                                                                         VAGA ALTA            PR           00692
   659349 GILBERTO DIAZ GALARZA                       PO BOX 696                                                                                                      JUNCOS               PR           00777
   659350 GILBERTO DIAZ LUGO                          EXT SANTA TERESITA          CL 10 CALLE L                                                                       PONCE                PR           00731
   659351 GILBERTO DIAZ MARTINEZ                      PO BOX 5043                                                                                                     PONCE                PR           00733
   191724 GILBERTO DIAZ PAGAN                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   191725 GILBERTO DIAZ RIOS                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GILBERTO DOMINGUEZ
   659352 MARTINEZ                                    CARR 162 BUZON 35                                                                                               MANATI               PR           00674



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  191726 GILBERTO DONES DIEPPA                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  191727 GILBERTO E DEL VALLE LOPEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  191728 GILBERTO E PADUA TRABAL                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  191729 GILBERTO ESCOBAR                              REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   191730 GILBERTO ESPINOSA FELICIANO                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659355 GILBERTO ESQUILIN DIAZ                       RR 9 BOX 1692                                                                                                     SAN JUAN            PR         00928

   659356 GILBERTO F ARGUEZO MOJICA                    PO BOX 104                                                                                                        LAS PIEDRAS         PR         00771

   659357 GILBERTO FABERLLE MARTINEZ                   URB VILLA ARRIBA HEIGHTS    CK 9 CALLE 140                                                                        CAROLINA            PR         00983‐3336
   659358 GILBERTO FAISCA MENDEZ                       PO BOX 51839                                                                                                      TOA BAJA            PR         00950‐1839
   191731 GILBERTO FALCON OLIVERAS                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   191732 GILBERTO FARGAS DAVILA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   191733 GILBERTO FELICIANO MATTEI                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   659359 GILBERTO FERNANDEZ RIVERA                    URB SANTA JUANITA           FF 14 CALLE 35                                                                        BAYAMON             PR         00956

   191734 GILBERTO FERNANDEZ SEVILLA                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659360 GILBERTO FIGUEROA                            URB NETRE DAME              E 25 AVE MU¨OZ MARIN                                                                  CAGUAS              PR         00725
   191735 GILBERTO FIGUEROA ANAYA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   191736 GILBERTO FIGUEROA CORREA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   191737 GILBERTO FIGUEROA DIAZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   191739 GILBERTO FIGUEROA NIEVES                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   191740 GILBERTO FIGUEROA ORTIZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659363 GILBERTO FIGUEROA RIOS                       UNION PLAZA BUILDING 1420   416 PONCE DE LEON                                                                     SAN JUAN            PR         00918

   659364 GILBERTO FIGUEROA SANTIAGO                   URB SAN JOSE 431            CALLE JARANDILLA                                                                      SAN JUAN            PR         00923‐3000
   191741 GILBERTO FIGUEROA VEGA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   191742 GILBERTO FLORES ACOSTA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   191743 GILBERTO FLORES MARTINEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   191744 GILBERTO FRAGOSO LEDESMA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   191745 GILBERTO FRAGUADA RIVERA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   191746 GILBERTO G COSTA SANDIN                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659366 GILBERTO GARCIA                              VILLAS DEL SOL              C5 CALLE 7                                                                            TRUJILLO ALTO       PR         00976
   659367 GILBERTO GARCIA CAMACHO                      HC 2 BOX 9729                                                                                                     COROZAL             PR         00783

   659368 GILBERTO GARCIA CONTRERAS                    BARRIO SAN JOSE             463 PARCELAS NUEVAS                                                                   TOA BAJA            PR         00949
   659369 GILBERTO GARCIA NIEVES                       URB SAN AGUSTIN             374 CALLE SOLDADO LIBRAN                                                              SAN JUAN            PR         00923
   659370 GILBERTO GARCIA RIVERA                       JARD DE COUNTRY CLUB        A 31 CALLE 2                                                                          CAROLINA            PR         00983‐1668
   659371 GILBERTO GARCIA SIERRA                       URB ROYAL TOWN              S 11 CALLE 17                                                                         BAYAMON             PR         00956
   191747 GILBERTO GARCIA VEGA                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659372 GILBERTO GEIGEL CERVONI                      P O BOX 362254                                                                                                    SAN JUAN            PR         00936‐2254
          GILBERTO GERENA / DESFILE DE
   659373 LOS PUEBLOS                                  PO BOX 169                                                                                                        LARES               PR         00669
   659375 GILBERTO GIL FIGUEROA                        URB ALTOS DE LA FUENTE      C 4 CALLE 6                                                                           CAGUAS              PR         00725
   659376 GILBERTO GOMEZ GONZALEZ                      BOX 1441                                                                                                          JUANA DIAZ          PR         00795

   659377 GILBERTO GOMEZ HERNANDEZ                     URB DELGADO                 P 7 CALLE 9                                                                           CAGUAS              PR         00725

   659378 GILBERTO GOMEZ MENLENDEZ                     HC 01 BOX 5907                                                                                                    JUNCOS              PR         00777
   191749 GILBERTO GOMEZ ORTIZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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   191751 GILBERTO GONZALEZ ALVAREZ                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   659379 GILBERTO GONZALEZ BARRETO                   PO BOX 3353              BAYAMON GARDENS STATION                                                              BAYAMON             PR           00958
                                                                               M 5 CALLE CIUDAD DE LAS
   659380 GILBERTO GONZALEZ FIGUEROA REPTO FLAMINGO                            LOMAS                                                                                BAYAMON             PR           00959‐4957

   659381 GILBERTO GONZALEZ GONZALEZ P O BOX 934                                                                                                                    ISABELA             PR           00662

   191752 GILBERTO GONZALEZ LEBRON                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659383 GILBERTO GONZALEZ PAGAN                     HC 6 BOX 13346                                                                                                HATILLO             PR           000659
   659384 GILBERTO GONZALEZ PEREZ                     PO BOX 1169                                                                                                   SAN SEBASTIAN       PR           00685

   659385 GILBERTO GONZALEZ QUINTERO URB VILA DEL REY                          C 23 CALLE WORCESTER 3                                                               CAGUAS              PR           00725

   659386 GILBERTO GONZALEZ ROSADO                    RES SABANA               E 48 CALLE CUBA                                                                      SABANA GRANDE       PR           00637

   659387 GILBERTO GONZALEZ SANCHEZ                   URB JAIME L DREW         190 CALLE 7                                                                          PONCE               PR           00731
   659388 GILBERTO GONZALEZ VELEZ                     PLAZA CAROLINA STATION   P O BOX 9825                                                                         CAROLINA            PR           00988

   659389 GILBERTO GUERRERO BENAVIDE VILLA NEVAREZ                             1136 CALLE 9                                                                         SAN JUAN            PR           00927

   659390 GILBERTO GUEVARA VELAZQUEZ URB ANTONSANTI                            1511 CALLE FAURE                                                                     SAN JUAN            PR           00927

   191753 GILBERTO GUZMAN HERNANDEZ REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GILBERTO GUZMAN RAMOS Y/O
   659392 ANGEL SOFTBALL            PO BOX 1275                                                                                                                     COROZAL             PR           00783

   659393 GILBERTO GUZMAN RODRIGUEZ                   PO BOX 84                                                                                                     MERCEDITA           PR           00715
   191754 GILBERTO HANKE                              REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GILBERTO HENRIQUEZ
   659394 VELAZQUEZ                                   P O BOX 37886                                                                                                 SAN JUAN            PR           00937
          GILBERTO HERNANDEZ
   191755 CARDONA                                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191756 GILBERTO HERNANDEZ DIAZ                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GILBERTO HERNANDEZ
   659395 GONZALEZ                                    PO BOX 1499                                                                                                   MOCA                PR           00676‐1499

   659396 GILBERTO HERNANDEZ HUERTAS URB VILLA HUMACAO                         L 40 CALLE 3                                                                         HUMACAO             PR           00791
          GILBERTO HERNANDEZ
   191758 MONTANEZ                   REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659397 GILBERTO HERNANDEZ RUIZ    URB LOMAS VERDES                          642 CALLE ESTERLINA                                                                  MOCA                PR           00676

   191759 GILBERTO HERRERA SERRANO                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659398 GILBERTO HERRERA SILVA                      PO BOX 3328                                                                                                   AGUADILLA           PR           00605
   191760 GILBERTO I LUGO SANTOS                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   659399 GILBERTO I RAMIREZ RODRIGUEZ PO BOX 3663 MARINA STATION                                                                                                   MAYAGUEZ            PR           00680
   659400 GILBERTO J CORTEZ JIMENEZ    UNIVERSITY GARDEN                       306 CALLE HOWARD                                                                     SAN JUAN            PR           00927

   659401 GILBERTO J FUENTES RODRIGUEZ 11 CALLE SAN PATRICIO APT 5                                                                                                  LOIZA               PR           00772
   191761 GILBERTO J LOPEZ VILA        REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   191762 GILBERTO J LUCIANO GONZALEZ REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GILBERTO J MALDONADO
   191763 MANZANET                    REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   659402 GILBERTO J MORALES ARCAIDE                  PO BOX 124                 BO CAPAEZ CARR 130 KM 2 9                                                              HATILLO              PR           00659
   191765 GILBERTO J PEREZ HUNT                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   191766 GILBERTO J RECIO GOMEZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659405 GILBERTO J SERPA PEREZ                      PO BOX 61                                                                                                         CAGUAS               PR           00726‐0061
   659406 GILBERTO JIMENEZ MORFI                      CENTRO MEDICO MAYAGUEZ     410 AVE HOSTO CANCHA 2                                                                 MAYAGUEZ             PR           00680
                                                                                 23 CALLE GUILLERMO
   659407 GILBERTO L AVILES MARIN                     URB LA MONSERRATE          HERNANDEZ                                                                              JAYUYA               PR           00664
          GILBERTO L BETANCOURT
   659408 GOMEZ                                       PO BOX 29243                                                                                                      SAN JUAN             PR           00929
          GILBERTO L CALDERO
   191767 VILLANUEVA                                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GILBERTO L MERCADER
   191768 ANTUNEZ                                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   191769 GILBERTO L MIELES BERRIOS                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   191770 GILBERTO L RODRIGUEZ ORTIZ                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   191771 GILBERTO L SANTIAGO FRANCO                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   191772 GILBERTO L TORRES REYES                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   659409 GILBERTO L. MONTANEZ CRUZ                   C/O LCDO. MARCELINO RUIZ   URB. SANTA ROSA             107#1 CALLE ESTEBAN PADILLA                                BAYAMON              PR           00959
   659412 GILBERTO LAJARA GONZALEZ                    URB LEVITTOWN              AB9 C\MARGARITA CENTRAL                                                                SAN JUAN             PR           00902
   191773 GILBERTO LASSALLE OLIVERO                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659414 GILBERTO LEON CRUZ                          URB DIAMARIS               405 CALLE DALIA                                                                        JUNCOS               PR           00777
          GILBERTO LEON/ELIZABETH
   659415 ORTIZ                                       SUITE 341 P.O. BOX 11850                                                                                          SAN JUAN             PR           00922
   191774 GILBERTO LICIAGA MARTINEZ                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   191775 GILBERTO LIMARDO RODRIGUEZ                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   191777 GILBERTO LOPEZ ALVAREZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   191778 GILBERTO LOPEZ DE LEON                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659417 GILBERTO LOPEZ DELGADO                      BO MIRADERO 560            CALLE BONET                                                                            MAYAGUEZ             PR           00682
   659418 GILBERTO LOPEZ DIAZ                         VILLAS DE CASTRO           EE 2 CALLE 600                                                                         CAGUAS               PR           00725
   191780 GILBERTO LOPEZ GONZALEZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659419 GILBERTO LOPEZ LOPEZ                        HC 03 BOX 9893                                                                                                    LARES                PR           00669

   191781 GILBERTO LÓPEZ MALDONADO                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659420 GILBERTO LOPEZ MERCED                       HC 01 BOX 6169                                                                                                    AGUAS BUENAS         PR           00703
   659422 GILBERTO LOPEZ TORRES                       HC 2 BOX 33758                                                                                                    CAGUAS               PR           00725‐9417
   659423 GILBERTO LOPEZ ZENON                        PO BOX 272                                                                                                        HUMACAO              PR           00792
   191782 GILBERTO LOZADA RAMIREZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   659426 GILBERTO LUCIANO HERNANDEZ COND BAHIA A APT 707                                                                                                               SAN JUAN             PR           00907

   191783 GILBERTO LUCIANO SANTIAGO                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659427 GILBERTO LUCIANO VAZQUEZ                    BO PONDEROSA               I 232 CALLE 7                                                                          VEGA ALTA            PR           00692

   191784 GILBERTO LUGO MALDONADO                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  659429 GILBERTO LUGO MARTINEZ                       PO BOX 10444                                                                                                     PONCE             PR           00731
  659430 GILBERTO LUGO OCASIO                         HC‐02 BOX 10318             BO COCO SECTOR EL VERDE                                                              QUEBRADILLA       PR           00678

   191785 GILBERTO LUIS REYES GONZALEZ REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   659431 GILBERTO LUNA HERNANDEZ      277 CALLE RUIZ RIVERA                                                                                                           AIBONITO          PR           00705
   659432 GILBERTO LUNA NUNEZ          BRISAS DE LAGO BZN 1                                                                                                            CIDRA             PR           00739

   191786 GILBERTO M CHARRIEZ ROSARIO REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   191788 GILBERTO M MARTINEZ RIVERA                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   659433 GILBERTO M SOLER CARMONA                    URB MIRADEO HILLS           203 CALLE SIERRA NEVADA                                                              MAYAGUEZ          PR           00682‐7807
   191789 Gilberto M. Martinez Ortiz                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   191790 GILBERTO MAISONAVE ARCE                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   659435 GILBERTO MAISONET IRIZARRY                  2035 N E 20 TERRACE                                                                                              CAPE CORAL        FL           33909
          GILBERTO MALDONADO /
   659436 LOURDES PADIN                               URB METROPOLIS              H 16 CALLE 1                                                                         CAROLINA          PR           00987

   659437 GILBERTO MALDONADO ALBIZU URB PUNTA LAS MARIAS                          118 CALLE BUCARET                                                                    SAN JUAN          PR           00911
          GILBERTO MALDONADO
   659438 CORREA/EQ BIG LEAQUE      JARDINES DE ARECIBO                           QR 31                                                                                ARECIBO           PR           00612

   659439 GILBERTO MALDONADO LOPEZ                    BARRIO LOMAS F‐25 CALLE 3                                                                                        JUANA DIAZ        PR           00795
                                                                                  HW 12 CALLE DOMINGO
   659440 GILBERTO MALDONADO OCASIO 7MA SECCION DE LEVITTOWN                      DELGADO                                                                              TOA BAJA          PR           00949
   659441 GILBERTO MANGUAL RIVERA   VILLA CAROLINA                                148 CALLE 417                                                                        CAROLINA          PR           00985
   659442 GILBERTO MARQUEZ          FM‐11 P.H. HERNANDEZ                          LEVITTOWON                                                                           TOA BAJA          PR           00949

   659443 GILBERTO MARQUEZ MARTINEZ PO BOX 275                                                                                                                         MARICAO           PR           00606

   659444 GILBERTO MARQUEZ POUPORT                    P O BOX 8874                                                                                                     SAN JUAN          PR           00910

   191792 GILBERTO MARRERO ALVARADO REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   191793 GILBERTO MARRERO VAZQUEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   191794 GILBERTO MARTINEZ                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   191795 GILBERTO MARTINEZ BURGOS                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   659448 GILBERTO MARTINEZ COSME                     P O BOX 60‐075                                                                                                   BAYAMON           PR           00960

   659449 GILBERTO MARTINEZ MARTINEZ URB SAN FRANCISCO                            1720 CALLE GERANIO                                                                   SAN JUAN          PR           00927

   191796 GILBERTO MARTINEZ NAVARRO                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   191797 GILBERTO MARTINEZ SANTIAGO REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   191798 GILBERTO MARTINEZ SEPULVEDA REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   659451 GILBERTO MARTINEZ TORRES    P O BOX 1662                                                                                                                     GUAYNABO          PR           00970

   191799 GILBERTO MARXUACH GINORIO REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   659452 GILBERTO MATEO FERNADEZ   PO BOX 5098                                                                                                                        CAYEY             PR           00737




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   191800 GILBERTO MATOS RODRIGUEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   191801 GILBERTO MATOS VELAZQUEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   191802 GILBERTO MEDINA CUBANO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659453 GILBERTO MEDINA DAVILA                      PO BOX 21365                                                                                                        SAN JUAN             PR           00928‐1365

   659454 GILBERTO MEDINA GONZALEZ                    RR 3 BOX 10147                                                                                                      TOA ALTA             PR           00953
   191803 GILBERTO MEDINA NATER                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659456 GILBERTO MEJIAS BLAS                        278 CALLE SAN NARCISO                                                                                               AGUADA               PR           00602
   659457 GILBERTO MEJIAS SANCHEZ                     PO BOX 408333                                                                                                       SAN JUAN             PR           00940
   659460 GILBERTO MELENDEZ AVILES                    RR 01 BUZON 15253                                                                                                   MANATI               PR           00674
          GILBERTO MELENDEZ
   659458 CASTRODAD                                   PO BOX 1711                                                                                                         CIDRA                PR           00739

   659461 GILBERTO MELENDEZ PANTOJA                   BO RIO ARRIBA                CARR 646 KM 1 5 BOX 43190                                                              VEGA BAJA            PR           00693
   659462 GILBERTO MENDEZ RAMOS                       P O BOX 281                                                                                                         CIALES               PR           00638
   191804 GILBERTO MENDEZ VALENTIN                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GILBERTO MENDOZA
   659463 VILLAHERMOSA                                PMB 194 35                   H 67 JUAN C BARBON                                                                     GUAYNABO             PR           00969‐5375
   191805 GILBERTO MERCADO                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659464 GILBERTO MERCADO BAEZ                       PO BOX 562                                                                                                          HORMIGUEROS          PR           00660

   659465 GILBERTO MERCADO RODRIGUEZ PUNTA DIAMANTE                                Q 26 CALLE 10                                                                          PONCE                PR           00731
   659466 GILBERTO MERCADO TORRES    URB JAIME L DREW                              102 CALLE D                                                                            PONCE                PR           00730
   191806 GILBERTO MILLAN SANCHEZ    REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GILBERTO MIRANDA &
   659467 ASOCIADOS                  P O BOX 851                                                                                                                          GUAYNABO             PR           00970
   659468 GILBERTO MIRANDA LOPEZ     VALLE TOLIMA                                  D 29 CALLE JUAN R MORALES                                                              CAGUAS               PR           00725

   191807 GILBERTO MIRANDA ROMERO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659469 GILBERTO MONROIG                            URB MANUEL CARCHADO          48 CALLE MIRTO                                                                         ISABELA              PR           00662
   659470 GILBERTO MONTAVO MATOS                      5162 CHARDONNAY DRIVE                                                                                               CORAL SPRINGS        FL           33067
   191808 GILBERTO MONTERO ROSSY                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659472 GILBERTO MONZON SEGURA                      A 4 PARK LANE GARDEN HILLS                                                                                          GUAYNABO             PR           00966
   191809 GILBERTO MORALES LEBRON                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   191810 GILBERTO MORALES PACHECO                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659474 GILBERTO MORALES PEREZ                      BO TABLONALL                 BOX 1089                                                                               AGUADA               PR           00602
   191812 GILBERTO MORALES RIVERA                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659475 GILBERTO MORELL MENDEZ                      413 CALLE LA CEIBA                                                                                                  CAMUY                PR           00627

   659478 GILBERTO MULER RODRIGUEZ                    TURABO GARDENS               Q 2 AVE CHUMLEY                                                                        CAGUAS               PR           00725
   191813 GILBERTO MUNIZ CRUZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   191814 GILBERTO MUNIZ RIVERA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   191815 GILBERTO MUNIZ VEGA                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   659479 GILBERTO NARVAEZ RODRIGUEZ RIO PIEDRAS HEIGHTS                           1666 CALLE URAL                                                                        SAN JUAN             PR           00926

   659480 GILBERTO NEGRON CANDELARIA HC2 BOX 7541                                                                                                                         BARCELONETA          PR           00617
                                                                                   D 3 CALLE 12 SECTOR MONTE
   659481 GILBERTO NEGRON MARTINEZ                    BO HIGUILLAR                 LINDO                                                                                  DORADO               PR           00646
   191816 GILBERTO NIEVES LEBRO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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   659483 GILBERTO NIEVES MALDONADO                   8090 AVE JOBOS                                                                                               ISABELA             PR           00662
   659484 GILBERTO NIEVES RAMOS                       RR 7 BUZON 8052                                                                                              SAN JUAN            PR           00926
          GILBERTO NUNES DA CUNHA
   191817 FILHO                                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191819 GILBERTO OCASIO CRUZ                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191820 GILBERTO OLIVER DAVILA                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659486 GILBERTO OLIVER SIERRA                      1RA EXT COUNTRY CLUB   903 CALLE URANETA                                                                     SAN JUAN            PR           00924
   191821 GILBERTO OLIVER VAZQUEZ                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659488 GILBERTO OLMO TORRES                        HC 01 BOX 11335        ISLOTE SECTOR BIBORA                                                                  ARECIBO             PR           00612
   191822 GILBERTO ORTIZ GARRAFA                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659491 GILBERTO ORTIZ LOPEZ                        HC 30 BOX 33004                                                                                              SAN LORENZO         PR           00754
   191823 GILBERTO ORTIZ LUGO                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659492 GILBERTO ORTIZ RIVERA                       URB LOS CEDROS         29 CALLE FICUS                                                                        CAYEY               PR           00737
   659493 GILBERTO ORTIZ ROLON                        URB FERNANDEZ          19 CALLE PEDRO D FONSECA                                                              CIDRA               PR           00739
   191824 GILBERTO OTERO LIBRAN                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659494 GILBERTO OTERO RIVERA                       PO BOX 1311                                                                                                  CIALES              PR           00638‐1311

   191825 GILBERTO P ESCRIBANO MEDINA REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191826 GILBERTO PACHECO PADILLA    REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191827 GILBERTO PADILLA NUNEZ      REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659496 GILBERTO PADILLA PELLOT     PMB 151                                PO BOX 2020                                                                           BARCELONETA         PR           00617
   191828 GILBERTO PADILLA RAMIREZ    REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659497 GILBERTO PAEZ REYES         URB LOS DOMINICOS                      N 265 CALLE SAN PEDRO                                                                 BAYAMON             PR           00957
   659499 GILBERTO PAGAN ACEVEDO      BOX 936                                                                                                                      CAMUY               PR           00627‐0936
   659500 GILBERTO PAGAN ACOSTA       P O BOX 8444                                                                                                                 CAGUAS              PR           00726
   191829 GILBERTO PAGAN MELENDEZ     REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659498 GILBERTO PAGAN OLIVIERI     URB EL PLANTIO D 17                    CALLE CEDRO                                                                           TOA BAJA            PR           00949
   191830 GILBERTO PAGAN SANTIAGO     REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191831 GILBERTO PAGAN SIERRA       REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659502 GILBERTO PARRILA APONTE     PO BOX 21365                                                                                                                 SAN JUAN            PR           00928‐1365
   659503 GILBERTO PASTRANA AYALA     URB VILLA BLANCA                       51 CALLE TURQUESA                                                                     CAGUAS              PR           00725

   191832 GILBERTO PELLOT RODRIGUEZ                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191834 GILBERTO PENA CAMACHO                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191835 GILBERTO PENA ORTIZ                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659505 GILBERTO PEREZ APONTE                       CARR LOS FAGUNDO       BZN 41 C                                                                              CABO ROJO           PR           00623
   191839 GILBERTO PEREZ BENITEZ                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191840 GILBERTO PEREZ CABAN                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191841 GILBERTO PEREZ HERNANDEZ                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191842 GILBERTO PEREZ LAMBOY                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191843 GILBERTO PEREZ PEREZ                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659509 GILBERTO PEREZ RIVERA                       BOX 15                                                                                                       LAS MARIAS          PR           00670
   191845 GILBERTO PEREZ ROMAN                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191846 GILBERTO PEREZ SANTIAGO                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191848 GILBERTO PEREZ TALAVERA                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659510 GILBERTO PEREZ TORRES                       HC 02 BUZON 10337                                                                                            YAUCO               PR           00698
   659511 GILBERTO PEREZ VALENTIN                     PO BOX 1419                                                                                                  ARECIBO             PR           00613
   659512 GILBERTO PEREZ VARGAS                       HC 04 BOX 22058                                                                                              JUANA DIAZ          PR           00795
          GILBERTO PESQUERA
   191850 GUILLERMETY                                 REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191851 GILBERTO PIETRI MARIANI                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191853 GILBERTO PRATS REYES                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          GILBERTO PROFESSIONAL
   659514 CARPET                                      URB STA JUANITA              FK 19 CALLE SIRIO                                                                 BAYAMON             PR           00956
                                                      SAN JORGE MEDICAL BLDG SUITE
   659516 GILBERTO PUIG RAMOS                         406                          258 CALLE SAN JORGE                                                               SAN JUAN            PR           00912
          GILBERTO QUI¥ONES
   191854 HERNANDEZ                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   191855 GILBERTO QUI¥ONEZ RODRIGUEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   659517 GILBERTO QUILES LORENZANA                   RES LAS CASAS                EDIF 9 APT 99                                                                     SAN JUAN            PR           00915
   191856 GILBERTO QUINONES                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191857 GILBERTO QUINONES OSORIO                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191858 GILBERTO QUINONES REYES                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   659518 GILBERTO R FERNANDEZ ROMAN PO BOX 94                                                                                                                       JAYUYA              PR           00664
   191859 GILBERTO R QUINONES SILVA  REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191861 Gilberto Ramos             REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659519 GILBERTO RAMOS ARZUAGA     PO BOX 769                                                                                                                      TRUJILLO ALTO       PR           00978
   191863 GILBERTO RAMOS PADILLA     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   659521 GILBERTO RAMOS RIVERA                       P O BOX 6251 LOIZA STATION                                                                                     SANTURCE            PR           00914
   659522 GILBERTO RAMOS VALENCIA                     CORDOBA PARK                 APTO 18 400 TORTUGO                                                               SAN JUAN            PR           00926
   659523 GILBERTO RAMOS VALLE                        CARR LOS INGENIEROS          468 BO ALGARROBO                                                                  MAYAGUEZ            PR           00680
   191864 GILBERTO RENDON CLAVIJO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659524 GILBERTO REYES                              PO BOX 685                                                                                                     MAUNABO             PR           00707
   191865 GILBERTO REYES ORTIZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191866 GILBERTO REYES PINERO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191867 GILBERTO REYES RIVERA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191868 GILBERTO RIOS CORIANO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191869 GILBERTO RIOS RIVERA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GILBERTO RIOS TIRADO DBA
   659527 AUTO AIR SPECIA                             URB METROPOLIS               213 CALLE 63                                                                      CAROLINA            PR           00987
   191870 GILBERTO RIVERA                             REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659528 GILBERTO RIVERA AYALA                       PO BOX 219                                                                                                     JAYUYA              PR           00664
   659529 GILBERTO RIVERA COLON                       RES LIBORIO ORTIZ            EDIF 12 APT 54                                                                    AIBONITO            PR           00705
   191871 GILBERTO RIVERA CRUZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659530 GILBERTO RIVERA CUCHI                       DEL CRUZE POSTAL             SUITE 59                                                                          BARCELONETA         PR           00617
   659531 GILBERTO RIVERA LOZADA                      RES PLAZUELAS CATALINA       EDIF 108 APT 65                                                                   BARCELONETA         PR           00617
   191872 GILBERTO RIVERA MEDINA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659533 GILBERTO RIVERA MENDEZ                      JARDINES DE COUNTRY CLUB     CX 4 CALLE 161                                                                    CAROLINA            PR           00983
   659534 GILBERTO RIVERA MENDOZA                     PO BOX 7126                                                                                                    PONCE               PR           00732
   659535 GILBERTO RIVERA NEGRON                      BOX 6248                                                                                                       SABANA SECA         PR           00952
   659536 GILBERTO RIVERA ORTIZ                       PO BOX 9031                                                                                                    HUMACAO             PR           00792
   659538 GILBERTO RIVERA ROSARIO                     PO BOX 53                                                                                                      LA PLATA            PR           00786
   659539 GILBERTO RIVERA SILVA                       URB TURABO GARDENS           R 15 28 CALLE 34                                                                  CAGUAS              PR           00727
   191873 GILBERTO RIVERA TORRES                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GILBERTO RIVERA Y/O ORSETTE
   659541 RIVERA                                      VILLA NEVAREZ                301 CALLE 20                                                                      SAN JUAN            PR           00927
   659542 GILBERTO ROBLES ALVAREZ                     PO BOX 40036                                                                                                   SAN JUAN            PR           00940‐0036
   659543 GILBERTO ROBLES BELFOR                      PARC NUEVAS CELADA           668 CALLE 40                                                                      GURABO              PR           00778
   659544 GILBERTO ROBLES MARTINEZ                    HC 22 DOMINGO ANDINO                                                                                           LEVITTOWN           PR           00949
   191875 GILBERTO ROBLES MILLAN                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659546 GILBERTO ROCHE CORTES                       BZ 218 C 475                                                                                                   ISABELA             PR           00662



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  191876 GILBERTO RODRIGUEZ                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   659549 GILBERTO RODRIGUEZ BONET                    P O BOX 75                                                                                                     SABANA GRANDE        PR         00637
   191877 GILBERTO RODRIGUEZ CRUZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   191878 GILBERTO RODRIGUEZ DIAZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   191880 GILBERTO RODRIGUEZ FELICIANO REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          GILBERTO RODRIGUEZ
   191881 HERNANDEZ                    REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   191882 GILBERTO RODRIGUEZ MORALES REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   659556 GILBERTO RODRIGUEZ OTERO                    CBI BOX 21 PARC AMADEO                                                                                         VEGA BAJA            PR         00675

   659557 GILBERTO RODRIGUEZ PACHECO VALLE DE ANDALUCIA                            3331 CALLE JAEN                                                                   PONCE                PR         00728‐3127

   191883 GILBERTO RODRIGUEZ QUILES                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   659271 GILBERTO RODRIGUEZ RIVERA                   41 CALLE RETIRO ESTE                                                                                           GUAYAMA              PR         00784

   659559 GILBERTO RODRIGUEZ RIVERA                   PO BOX 390                                                                                                     SABANA SECA          PR         00952

   191884 GILBERTO RODRIGUEZ ROBLES / REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          GILBERTO RODRIGUEZ
   191885 RODRIGUEZ                   REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   659560 GILBERTO RODRIGUEZ ROSADO                   EXT VALLE ALTO 1796          CALLE LLANURA                                                                     PONCE                PR         00730

   191886 GILBERTO RODRIGUEZ SANTIAGO REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   191887 GILBERTO RODRIGUEZ SOLIVAN                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   659561 GILBERTO RODRIGUEZ SOTO                     PO BOX 1805                                                                                                    CAYEY                PR         00737

   191888 GILBERTO RODRIGUEZ TORRES                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   191889 GILBERTO RODRIGUEZ VAZQUEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          GILBERTO RODRIGUEZ
   659562 VELAZQUEZ                  URB VILLA FONTANA                             GR 21 VIA 15                                                                      CAROLINA             PR         00983‐0000

          GILBERTO RODRIGUEZ/MARISOL
   659563 RODRIGUEZ                  URB LA RAMBLA                                 1253 CALLE CLARISA                                                                PONCE                PR         00730‐4045

   659272 GILBERTO ROMAN                              BO. MALPASO SEC VILLARUBIA   HC 03 BOX 31307                                                                   AGUADA               PR         00602
   659565 GILBERTO ROMAN GONZALEZ                     PO BOX 619                                                                                                     ADJUNTAS             PR         00601
   191890 GILBERTO ROMAN MERCADO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   191891 GILBERTO ROMAN MIRO                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   659566 GILBERTO ROMAN MONTIJO                      PO BOX 721                                                                                                     LARES                PR         00669

   191892 GILBERTO ROMAN RODRIGUEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   659568 GILBERTO ROSA GARCIA                        HC 1 BOX 11244                                                                                                 TOA BAJA             PR         00949

   659569 GILBERTO ROSADO GONZALEZ                    BO PASTO                     HC 1 BOX 6433                                                                     AIBONITO             PR         00705
   659570 GILBERTO ROSADO NEGRON                      HC 71 BOX 3637                                                                                                 NARANJITO            PR         00719



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   659573 GILBERTO ROSARIO HERNANDEZ                  P O BOX 1067                                                                                                  GURABO              PR           00778
   191896 GILBERTO RUIZ CORDERO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191897 GILBERTO RUIZ MORALES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191899 GILBERTO RUIZ SANTA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191900 GILBERTO SALINAS GARCIA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   191901 GILBERTO SANCHEZ CENTENO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659575 GILBERTO SANCHEZ FRANQUI                    VILLLA ESPERANZA            25 CALLE VIRTUD                                                                   CAGUAS              PR           00725
          GILBERTO SANCHEZ
   659574 MALDONADO                                   URB VILLA FONTANA           VIA 3 LR 616                                                                      CAROLINA            PR           00983
   191902 GILBERTO SANCHEZ ORTIZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659576 GILBERTO SANCHEZ RAMOS                      PO BOX 389                                                                                                    ARROYO              PR           00714
          GILBERTO SANCHEZ/ HECTOR
   191903 SANCHEZ                                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659578 GILBERTO SANTA ROSA                         URB COUNTRY CLUB            OB10 CALLE 502                                                                    CAROLINA            PR           00982
                                                      PARCELAS PALMAS ALTAS BOX
   659579 GILBERTO SANTANA OTERO                      154                                                                                                           BARCELONETAS        PR           00617
   659581 GILBERTO SANTIAGO BENITEZ                   HC 1 BOX 7953                                                                                                 LUQUILLO            PR           00773

   659580 GILBERTO SANTIAGO LUCIANO                   URB SYLVIA                  C 38 CALLE 8                                                                      COROZAL             PR           00783‐1308
   659583 GILBERTO SANTIAGO RIOS                      EXT ZENO GANDIA             EDIF B 10 APT 341                                                                 ARECIBO             PR           00612
   191907 GILBERTO SANTIAGO RIVERA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GILBERTO SANTIAGO RIVERA /
   659584 COM TETUAN II                               HC 01 BOX 4280                                                                                                UTUADO              PR           00641

   659585 GILBERTO SANTIAGO RODRIGUEZ HC 01 BOX 7953                                                                                                                LUQUILLO            PR           00773

   659586 GILBERTO SANTIAGO ROSADO    HC 02 BOX 6974                                                                                                                LARES               PR           00669
                                      PO BOX 19175 FERNANDEZ
   659587 GILBERTO SANTIAGO VELAZQUEZ JUNCOS STA                                                                                                                    SAN JUAN            PR           00910
   659588 GILBERTO SANTOS GONZALEZ    URB ALTAGRACIA                              J 13 CALLE PALOMA                                                                 TOA BAJA            PR           00949
   659589 GILBERTO SERRANO GARCIA     PO BOX 10163                                                                                                                  SAN JUAN            PR           00908
   191908 GILBERTO SERRANO NEGRON     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                      URB.FRONTERAS 126 C/JULIO
   659590 GILBERTO SILVER             ALVARADO                                                                                                                      BAYAMON             PR           00961
          GILBERTO SOLIVAN / NILDA
   659591 ALVINO                      URB SANS SOUCI                              F 7 CALLE 10                                                                      BAYAMON             PR           00957
   191911 GILBERTO SOLIVAN ROMAN      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659592 GILBERTO SOSTRE RIVERA      HC 73 BOX 6186                                                                                                                NARANJITO           PR           00719
   659593 GILBERTO SOTO COLLAZO       URB ESTANCIAS DE BAIROA                     A4 CALLE BROMELIA                                                                 CAGUAS              PR           00727‐1257
   191912 GILBERTO SOTO CORALI        REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659594 GILBERTO SOTO FUENTES       P O BOX 191118                                                                                                                SAN JUAN            PR           00919‐1118
   659595 GILBERTO SOTO JIMENEZ       BO CANTERA                                  BUZON 200                                                                         MANATI              PR           00674
   191913 GILBERTO SOTO MONTALVO      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191914 GILBERTO SUAREZ NIEVES      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   659597 GILBERTO TABALES GONZALEZ                   PO BOX 3058                                                                                                   JUNCOS              PR           00777
   191915 GILBERTO TIRADO ROMAN                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191916 GILBERTO TOLEDO DELGADO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191917 GILBERTO TORRES                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   191919 GILBERTO TORRES ALVARADO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  659599 GILBERTO TORRES APONTE                       URB VALLE HUCARES             A 5 CALLE A                                                                            JUANA DIAZ        PR         00795
  659600 GILBERTO TORRES FELICIANO                    URB EL TUQUE 94 B CALLE 1                                                                                            PONCE             PR         00731
  191921 GILBERTO TORRES GARCIA                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  191922 GILBERTO TORRES GONZALEZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  659602 GILBERTO TORRES MEDINA                       BO MIRASOL                    HC 04 BOX 15685                                                                        LARES             PR         00669
  191923 GILBERTO TORRES MORALES                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  659603 GILBERTO TORRES NIEVES                       URB JARD DE TOA ALTA          124 C/ 5                                                                               TOA ALTA          PR         00953
  659273 GILBERTO TORRES TORRES                       HC 40 BOX 43326                                                                                                      SAN LORENZO       PR         00754

   659606 GILBERTO TORRES ZAMBRANA                    H C 02 BOX 14602                                                                                                     ARECIBO           PR         00613
          GILBERTO TRISTANI SERRANO
   191925 DBA                                         GTS ADVERTISING               PMB 451 CALLE CALAF 400                                                                SAN JUAN          PR         00918
   191927 GILBERTO URBINA URBINA                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   191928 GILBERTO VALENTIN FELIX                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   659607 GILBERTO VALENTIN SERRANO                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   191929 GILBERTO VALENZUELA E HIJOS                 REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   191930 GILBERTO VALLE PENA                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   191931 GILBERTO VALLS TORRES                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   659608 GILBERTO VARGAS                             HC 58 BOX 12252                                                                                                      AGUADA            PR         00602

   659609 GILBERTO VARGAS CHAPARRO                    PO BOX 423                                                                                                           AGUADA            PR         00662
   659610 GILBERTO VAZQUEZ ARROYO                     HC 37 BOX 6028                                                                                                       GUANICA           PR         00653
   659611 GILBERTO VAZQUEZ BAEZ                       URB ESTANCIA                  F‐5 VIA BOGOTA                                                                         BAYAMON           PR         00961 3087

   659613 GILBERTO VAZQUEZ PEREZ                      ESTANCIAS DE SAN FERNANDO     D 1 CALLE 6                                                                            CAROLINA          PR         00985
   659614 GILBERTO VAZQUEZ SIERRA                     JARDINES COUNTRY CLUB         BU 12 CALLE 18                                                                         CAROLINA          PR         00987

   659615 GILBERTO VAZQUEZ VAZQUEZ                    BO PALMAS                     HC 2 BOX 7001                                                                          COMERIO           PR         00782
   659616 GILBERTO VEGA AVILA                         PO BOX 584                                                                                                           ARECIBO           PR         00613
   191932 GILBERTO VEGA BRACIALE                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   659617 GILBERTO VEGA COSME                         BARRIO TIBE SECTOR LA ZARZA   HM8 H2 CARR 503                                                                        PONCE             PR         00731
   659618 GILBERTO VEGA MATEO                         PO BOX 348                                                                                                           TRUJILLO ALTO     PR         00977

   191935 GILBERTO VELAZQUEZ MORALES REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   191937 GILBERTO VELEZ ORTIZ       REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   659624 GILBERTO VELEZ RAMOS       URB JARDINES DEL CARIBE                        JJ5 CALLE 35                                                                           PONCE             PR         00731
   659274 GILBERTO VELEZ VALENTIN    URB LEVITTOWN LAKES                            AA 35 CALLE MARGARITA SUR                                                              TOA BAJA          PR         00949
   659275 GILBERTO VIANA DIAZ        URB PARKVILLE                                  5 AVE LINCOLN                                                                          GUAYNABO          PR         00969
   659625 GILBERTO VIANA SERRANO     HC 73 BOX 1530                                                                                                                        NARANJOTO         PR         00782
   659626 GILBERTO VIDAL MARTINEZ    URB VILLA CADIZ                                431 CALLE URDUNA                                                                       SAN JUAN          PR         00923
   659627 GILBERTO VIGO PEREZ        80 CALLE LAS CAISEAS                                                                                                                  MAYAGUEZ          PR         00682
   191939 GILBERTO VILA MALDONADO    REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   191940 GILBERTO VILLEGAS AGOSTO   REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   659628 GILBERTO W RODRIGUEZ UTSET                  HC 06 BUZON 4784                                                                                                     COTTO LAUREL      PR         00731
   191941 GILBERTO X SANTIAGO                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   191942 GILBERTO ZAPATA RAMIREZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   659629 GILBERTO ZAYAS PLAZA                        A 10 ALTO APOLO ESTATE                                                                                               GUAYNABO          PR         00969
   659630 GILBERTO ZAYAS RIOS                         PO BOX 1197                                                                                                          GURABO            PR         00778‐1197




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          GILBERTS TRUCKING COMPANY
   659631 INC                                         PO BOX 607071                                                                                                    BAYAMON             PR           00960‐7071
          GILBRALTAR CONSTRUCTION CO
   659632 INC                                         P O BOX 13975                                                                                                    SAN JUAN            PR           00908‐3975
   659633 GILCA RIVERA O'FERRAL                       URB LAS COLINAS           J 1 CALLE 12                                                                           TOA BAJA            PR           00949
   659634 GILCELIA TORRES RODRIGUEZ                   JARD DE CAROLINA          C 22 CALLE D                                                                           CAROLINA            PR           00987
   659635 GILCIA C BRADON                             COND PONTEZUELA           EDIF B 1 APT 3C                                                                        CAROLINA            PR           00983
   659638 GILDA A PESANTE                             URB LA ALAMBRA            9 CALLE SEVILLA                                                                        PONCE               PR           00716
   191960 GILDA ABAD CARO                             REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191961 GILDA CRUZ MASBERNAT                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191962 GILDA D CRESCIONI ORTIZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191963 GILDA D PADILLA RODRIGUEZ                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659640 GILDA DEL C CRUZ MARTINà                    PO BOX 9023875                                                                                                   SAN JUAN            PR           00902‐3875
   659641 GILDA DEL C CRUZ MARTINO                    PO BOX 9023875                                                                                                   SAN JUAN            PR           00902‐3875
   191964 GILDA DIAZ RIVERA                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191966 GILDA E CRUZ RUIZ                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659642 GILDA E FRANQUI PORTELA                     HC 3 BOX 4485                                                                                                    GURABO              PR           00778
   191967 GILDA E GRAJALES RAMIREZ                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659643 GILDA E OLIVER MARI                         COND PASEO DEL BOSQUE     APT 1102                                                                               SAN JUAN            PR           00926
   191968 GILDA E RIVERA AYALA                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659645 GILDA F VENEGAS LAFFITTE                    COND PLAZA DEL SUR D 14                                                                                          PONCE               PR           00731
   659636 GILDA G GARCIA                              URB VILLA CAROLINA        99 20 CALLE 93                                                                         CAROLINA            PR           00985
   191969 GILDA GARCIA PORRAS                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191971 GILDA GONZALEZ LOPEZ                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659646 GILDA I FIGUEROA                            BDA NUEVA                 57 CALLE MALAVE                                                                        CAYEY               PR           00736
   659647 GILDA I ZARAGOZA COLON                      ALTURAS DE FAIR VIEW      C 24 CAM LOS AQUINOS                                                                   TRUJILLO ALTO       PR           00976
   659648 GILDA I. OCASIO                             RIO CASEY E‐13            RIO HONDO                                                                              BAYAMON             PR           00956
   191973 GILDA M ACOSTA GUERRERO                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191974 GILDA M BOBE RAMOS                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659650 GILDA M CABRERA GONZALEZ                    PO BOX 9021112                                                                                                   SAN JUAN            PR           00902‐1112
   659651 GILDA M NOLASCO NARDEN                      11‐143 CALLE 401                                                                                                 CAROLINA            PR           00985
   191976 GILDA M SANTOS SEVERINO                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659654 GILDA M TORRES LUCENA                       P O BOX 560622                                                                                                   GUAYANILLA          PR           00656
   191977 GILDA M VILLAFANE TORRES                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659655 GILDA MADERO CRUZ                           SAN ANTONIO               3016 AVE EDUARDO RUBERTE                                                               PONCE               PR           00728
   191978 GILDA MALDONADO TORRES                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   659656 GILDA ORLANDI SANCHEZ                       COND ALTURAS DEL PARQUE   202 BLVD MEDIA LUNA APT 1404                                                           CAROLINA            PR           00987‐5087
   191979 GILDA RIVERA ALICEA                         REDACTED                  REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659658 GILDA RODRIGUEZ                             PO BOX 865                                                                                                       BARRANQUITAS        PR           00794
   659659 GILDA RODRIGUEZ CRUZ                        COND MIDTOWN OFIC 307     AVE PONCE DE LEON 420                                                                  SAN JUAN            PR           00918
   659661 GILDA SCLAFANI                              7 REVERE DRIVE                                                                                                   SAYVILLE            NY           11782
   659662 GILDA VALLE SANDOVAL                        COOP VILLA BORINQUEN      70 CALLE 4                                                                             SAN JUAN            PR           00902
   191980 GILDA VELEZ ARIAS                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   191981 GILDA VILLAMIL MATOS                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659663 GILDA WILSON BERRIOS                        31 CALLE MAYOR                                                                                                   PONCE               PR           00731
   659664 GILDA X COLON RIVERA                        520 AVE PONCE DE LEON                                                                                            SAN JUAN            PR           00901
   659665 GILDEN MATOS ORENSE                         CAMINO GABINO RODRIGUEZ   BOX 2                                                                                  SAN JUAN            PR           00926
   659666 GILDO VERA GAS SERVICE                      HC 08 BOX 77                                                                                                     PONCE               PR           00731
   659667 GILDREN GONZALEZ RIVERA                     CIENAGA ALTA              12 CALLE 1                  LUZBELLA KM 3.2 CARR 959                                   RIO GRANDE          PR           00745
   191986 GILDREN S CARO PEREZ                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   191987 GILDRETH V PEREZ GONZALEZ                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  191988 GILDRETTE GONZALEZ SOTO                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  191992 GILES TORO MD, RICHARD                       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  659669 GILFREDO DIAZ RODRIGUEZ                      PMB 115                       PO BOX 40000                                                                               ISABELA             PR         00662

   659670 GILFREDO FIGUEROA NARVAEZ                   HC 73 BOX 5600                                                                                                           NARANJITO           PR         00719 7485
   191999 GILFREDO GOMEZ BUENO                        REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   192000 GILFREDO NIEVES HERNANDEZ                   REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659671 GILFREDO PEREZ VELEZ                        PO BOX 202                                                                                                               MOCA                PR         00676
   659672 GILFREDO SAAVEDRA DURAN                     HC 01 BOX 4753                                                                                                           QUEBRADILLAS        PR         00678
   192001 GILKEM TORRES PEREZ                         REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659673 GILLERMO CRUZ/DBA/                          BILL'S TV REPAIR              141 CALLE VICTORIA                                                                         PONCE               PR         00731
   192006 GILLERMO ROSADO VEGA                        REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659674 GILLETTE DE PUERTO RICO                     PO BOX 11960                                                                                                             SAN JUAN            PR         00922
   659675 GILLIANNE ROSARIO AMBERT                    URB VALLE DE MANATI           D 12 C/ 5                                                                                  MANATI              PR         00674
                                                      C/O ADMIN DE INSTITUCIONES
   659676 GILLIGAN'S PLUMBING                         JUVENILE                      APARTADO 19175                                                                             SAN JUAN            PR         00910‐9175
   659677 GILLIGANS S E                               PO BOX 7615                                                                                                              PONCE               PR         00732
                                                      C/O GUARDIA NACIONAL DE
   659678 GILLIGANS S.E.                              PUERTO RICO                   APARTADO 3786                                                                              SAN JUAN            PR         00902‐3786
                                                                                    1311 AVE PONCE DE LEON OFIC
   192010 GILLIGUIA INC                               MARCOM TOWER BLD STE 403      603                                                                                        SAN JUAN            PR         00907
                                                      MARIANA G. IRIARTE
  1419864 GILLILAND, SUSAN                            MASTRONARDO                   PO BOX 1904                                                                                SAN JUAN            PR         00919‐0412
   659679 GILMA ACOSTA COLLADO                        BOX 96                                                                                                                   GUANICA             PR         00653
   192014 GILMA I ORTIZ AMARO                         REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659680 GILMA M HERNANDEZ SOTO                      QTA DEL RIO                   N12 SENDA DE LA POSADA                                                                     BAYAMON             PR         00961
   659681 GILMAR BAHAMUNDI                            HC 02 BOX 6176                                                                                                           ADJUNTAS            PR         00601
   192015 GILMAR J RUIZ BERGOLLO                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659682 GILMAR RIVERA VEGA                          JC 10 CARMELO DIAZ SOLER                                                                                                 TOA BAJA            PR         00949
          GIL‐MAR ROOFING & PAINTING
   192016 CONTRACTORS ,                               EL CONQUISTADOR 1 ‐ 48C / 5                                                                                              TRUJILLO ALTO       PR         00976‐0000
   192017 GILMARI BLAS RODRIGUEZ                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   192018 GILMARIE D. CALDERON SANTOS REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192021 GILMARIE GARCIA PENA        REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192002 GILMARIE MERCADO PEREZ      REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659683 GILMARIE SANTIAGO ORTIZ     URB LA MONSERRATE                             E 19 CALLE 7                                                                               HORMIGUERO          PR         00660

   659684 GILMARY VEGA NEGRON                         PMB 572                       609 AVE TITO CASTRO SUITE 102                                                              PONCE               PR         00716
   659685 GILMORE GOMPANY INC                         URB PACIFICA                  PG 78 VIA HORIZONTE                                                                        TRUJILLO ALTO       PR         00976
   659687 GILVERTO FIGUEROA                           URB NOTRE DAME                E 25 AVE MU¨OZ MARIN                                                                       CAGUAS              PR         00725
   659688 GIMAR INC GULF                              BOX 242                                                                                                                  BARCELONETA         PR         00617
   192030 GIMAR MARTINEZ COLON                        REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192031 GIMARY RODRIGUEZ RIVERA                     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192053 GINA C VENCE PACHECO                        REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659691 GINA CAVALLERO                              PO BOX 6454                                                                                                              SAN JUAN            PR         00914
   192054 GINA FONSECA CRESCIONI                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GINA FRANCHESCA
   659692 ANTONGIORGI ZENON                           BO MARIANA                    BOX 255                                                                                    NAGUABO             PR         00718

   659693 GINA FRANCO RUIZ                            JARDINES CONDADO MODERNO D CALLE 45                                                                                      CAGUAS              PR         00725
   192056 GINA I PEREIRA LEON                         REDACTED                 REDACTED                             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  192057 GINA I RIVERA ORTIZ                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  659695 GINA I SAEZ RIVERA                           P O BOX 3037                                                                                                         JUNCOS               PR         00777
  659696 GINA JIMENEZ SANTIAGO                        RR 9 BOX 1578                                                                                                        SAN JUAN             PR         00926

   192058 GINA L HERNANDEZ GONZALEZ                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   192059 GINA LEE CANMAN                             REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   192060 GINA LOPEZ JAVIER                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   192061 GINA M CARRILLO GARCIA                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   659697 GINA M CEPEDA FEBRES                        BOX 391‐86                                                                                                           TOA ALTA             PR         00954

   659698 GINA M JIMENEZ RODRIGUEZ                    217 SIERRA MORENA SUITE 174                                                                                          SAN JUAN             PR         00926
   192063 GINA M LOPEZ QUILES                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   192065 GINA M MONTANEZ VILLAFANE                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   659699 GINA M MONTES ALBINO                        PO BOX 1895                                                                                                          TRUJILLO ALTO        PR         00977‐1895
   659700 GINA M ORTIZ EVHEVARRIA                     CIUDAD UNIVERSITARIA          Z 1‐14 CALLE 25                                                                        TRUJILLO ALTO        PR         00976
   192067 GINA M SALADO ESMURDOC                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   192068 GINA M SOTO RODRIGUEZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   192069 GINA M. CARRILLO GARCIA , PE                CALLE SALDANA # 356                                                                                                  SAN JUAN             PR         00912‐0000
   192071 GINA MARIA JOVE MATOS                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          GINA MARIE BETANCOURT
   659701 MANGUAL                                     PO BOX 7865                                                                                                          CAROLINA             PR         00986

   659702 GINA PAOLA RODRIGUEZ COLON PO BOX 111                                                                                                                            MANATI               PR         00674
   192072 GINA R MENDEZ MIRO         REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   192073 GINA ROSA CILLO            REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   659703 GINA S ENCARNACION         AVE EDUARDO CONDE                              2265 V P                                                                               SAN JUAN             PR         00915
   659704 GINA VALLE ROMAN           6779 AVENIDA ISLA VERDE                        APT 406                                                                                CAROLINA             PR         00979‐7334
   659705 GINA VENGOECHEA            PO BOX 997                                                                                                                            SABANA SECA          PR         00952‐0997
   192074 GINALEE GUZMAN HERRERA     REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   192076 GINAMARIS SANTOS TIRADO    REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          GINARIS SAMALY FLORES
   192081 FONTANEZ                   REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   659706 GINAS BABY CENTER          23 CARRION MADURO                                                                                                                     JUANA DIAZ           PR         00795
   659707 GINAS TRAVEL & TOURS       SANTA ROSA                                     3151 AVE MAIN                                                                          BAYAMON              PR         00959
   659708 GINEA RAMOS MARRERO        HC 2 BOX 5365                                                                                                                         MOROVIS              PR         00687
   192085 GINED MALDONADO LUGO       REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   192086 GINEIMA I OJEDA RICHARDSON                  REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   192088 GINEL CEPEDA RIVERA                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   192094 GINELLE RODRIGUEZ GONZALEZ REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   659709 GINER MORALES GUZMAN       BO PUEBLO SECTOR COREA                                                                                                                RINCON               PR         00677
   659710 GINES ARVELO CARMEN        621 AVE FERNANDEZ JUNCOS                                                                                                              SANTURCE             PR         00907
                                                                                    AVE. JOSE A. CEDEÑO
  1419865 GINES CRUZ, JUAN C.                         HECTOR CORTES BABILONIA       RODRÍGUEZ #545 PO BOX 896                                                              ARECIBO              PR         00613
   192133 GINES RIVAS INC                             URB VISTA DEL RIO             APT 40A                                                                                BAYAMON              PR         00959
   659711 GINES TROPHY CENTER                         URB VILLA REAL                D 41 MARGINAL                                                                          VEGA BAJA            PR         00693

   192161 GINESKA M AMBERT GONZALEZ                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   192162 GINESSA ARCELAY GONZALEZ                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   192167 GINET ABREU FERNANDEZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  659713 GINET CLIVILLES RIVERA                        COND CONCORDIA GARDENS      570 CALLE NAPOLES APT 15 J                                                                SAN JUAN            PR         00923
  192169 GINET PEREZ MADERA                            REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  192172 GINETTE BURGOS MILLAN                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  192173 GINETTE FRATICELLI TORRES                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  659714 GINETTE H BLANES MONTES                       PASEOS DE LAS FUENTES       E 3 CALLE NEPTURNO                                                                        SAN JUAN            PR         00926

   192174 GINETTE M RIVERA RODRIGUEZ                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   192175 GINETTE ORAMA BURGOS                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   192176 GINETTE PIZARRO PIZARRO                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   192177 GINETTE REYES NEGRON                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   192178 GINETTE ROSA DE JESUS                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   659717 GINETTE SANTIAGO SANCHEZ                     PO BOX 71325                                                                                                          SAN JUAN            PR         00936
   192179 GINEYRA PAULINO REYES                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   192181 GINGER FILMS & TV INC                        CHALETS DE CUPEY 200        AVE LOS CHALETS APT 56                                                                    SAN JUAN            PR         00926
   192182 GINGER SANTIAGO CABRERA                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   192183 GINGY BUS LINE CORP                          URB SILVIA CALLE 5 K12                                                                                                COROZAL             PR         00783
   659719 GINIA ORTIZ MONTALVO                         JARDINES DE COUNTRY CLUB    BW 17 CALLE 125                                                                           CAROLINA            PR         00983
   659720 GINIA Y RAMOS MARRERO                        HC 02 BOX 5365                                                                                                        MOROVIS             PR         00687
   192184 GINMARI VARGAS PAGAN                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   659721 GINNA GISSELT VEGA ABREGO                    LOS LAURELES APARTMENTS     EDIF 21 APTO 2103                                                                         BAYAMON             PR         00956
   192185 GINNA M IRIZARRY IRIZARRY                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   659722 GINNELIZ TORRES MORALES                      URB SANTA ELENA             B 7 CALLE 5                                                                               GUAYANILLA          PR         00656
   659723 GINNET SANTIAGO NIEVES                       42 MILL ST APT 2 B                                                                                                    MERIDEN             CO         06450

   659724 GINNETTE DELGADO GONZALEZ                    ALTURAS DE INTERAMERICANA   P 5 CALLE A                                                                               TRUJILLO ALTO       PR         00976
   192187 GINNETTE M MATOS MOLINA                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   192188 GINNETTE MATOS MOLINA                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   192189 GINNETTE NIEVES AGUILAR                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   659725 GINNETTE NIEVES TORRES                       URB LAS CUMBRES             4 CALLE LAS VEGAS                                                                         SAN JUAN            PR         00926
   192190 GINNETTE PENA DEODATTI                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   659726 GINNETTE TORRES RODRIGUEZ                    HC 3 BOX 13427                                                                                                        YAUCO               PR         00698

   659727 GINNY RODRIGUEZ NEGRON                       COND LAS TORRES             3 CALLE ISLETA APTO 10 F SUR                                                              BAYAMON             PR         00959

   192192 GINNYVETTE DIAZ RODRIGUEZ                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   659728 GINO B PICART MONTERO                        PUERTO NUEVO                36 C/ I NE                                                                                SAN JUAN            PR         00920
   192193 GINO LUIS TORRES LUGO                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   192194 GINO TORRES BARBOSA                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   192205 GINORIO DOMINQUEZ MAXIMO REDACTED                                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   659729 GINORIS E GARCIA ALEJANDRO                   PO BOX 752                                                                                                            JUNCOS              PR         00777
          GINOS APPLIANCEN & PARTS
   659730 STORE                                        URB LOMAS VERDES            3H 15 AVE LOMAS VERDES                                                                    BAYAMON             PR         00956
                                                                                   315 AVE LOMAS VERDES URB
   659731 GINOS APPLIANCES & PARTS                     LOMAS VERDES                HYDE PARK                                                                                 SAN JUAN            PR         00927
   192225 GINOS AUTO PAINT INC                         URB MORELL CAMPOS           3 PONCENA                                                                                 PONCE               PR         00731
   659732 GINSENG L VIDRO VEGA                         PARC MINILLAS               147 CALLE PERLA                                                                           SAN GERMAN          PR         00683

   192226 GIOAKIM A MURATI FERNANDEZ REDACTED                       REDACTED                                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
                                     CALLE ACASIA #3 OFIC. 101 ESQ.
   192227 GIOBAL VIDEO CALLS CORP.   MONTERREY                                                                                                                               SAN JUAN            PR         00920



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  192229 GIOIRANAI RODRIGUEZ RIOS                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  192230 GIOL CARROGGIO, JUAN                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  192231 GIOMAR A GRACIA GARCIA                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  192232 GIOMAR A. DIAZ LEBRON                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      BZN 7482 AVE AGUSTIN RAMOS
   659733 GIOMAR ALDARONDO VEGA                       CALERO                                                                                                           ISABELA             PR         00662
   192234 GIOMARA ROBLES PENA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192235 GIOMAS EN EL GIGANTE                        4 B CALLE MUNOZ RIVERA                                                                                           ADJUNTAS            PR         00601

   659734 GIOMAYRA OLIVERAS MEDINA                    STA. CLARA                   COLLINS 43                                                                          JAYUYA              PR         00664
   192236 GIONABY DIAZ RODRIGUEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   659735 GIONCARLOS GOMEZ BURGOS                     PO BOX 796                                                                                                       MANATI              PR         00674
   659736 GIONEL DESPIAU PEREZ                        PO BOX 148                                                                                                       UTUADO              PR         00641

   192237 GIONIRA A BLANCO HERNANDEZ REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659737 GIONOVISA CAKE DESIGNER    312 LAS LOMAS                                 CARR 21 U                                                                           SAN JUAN            PR         00920
   659738 GIOR INDHIRA MOLINA        LA PROVIDENCIA                                K‐7 CALLE 1                                                                         TOA AITA            PR         00953
          GIORDANNY LOPEZ MELENDEZ /
   192238 MARIBEL                    REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   659739 GIORDANO R SAN AOTNIO TORT EL MONTE                                      3137 CALLE MEMBRILLO                                                                PONCE               PR         00716
   192239 GIORDANO SAN ANTONIO       REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1419866 GIORGIE RIVERA, JORGE      ARMANDO PIETRI                                1225 AVE. MUÑOZ RIVERA                                                              PONCE               PR         00717

   659741 GIORGINA MARTINEZ VIGO                      15 CALLE RIVERA CHEVREMONT                                                                                       MAYAGUEZ            PR         00682
          GIORGIO A SANTERINI
   192247 TOMAZZOLLY                                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GIORLANDO VILLALONGA
   192248 SEOANE                                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   659742 GIORMANY PELUYERA POLLACK                   HC 1 BOX 5993                                                                                                    TOA BAJA            PR         00949
   192249 GIOTNIEL ORTIZ ORTIZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192251 GIOVANA F. CORREA NIEVES                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659743 GIOVANA MORALES MORALES                     RR 3 BOX 9203                                                                                                    TOA ALTA            PR         00953
   192252 GIOVANA VELEZ FIGUEROA                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659744 GIOVANI A LOPEZ FELICIANO                   PO BOX 1067                                                                                                      SAN SEBASTIAN       PR         00685
          GIOVANI APONTE
   192257 CARRASQUILLO                                REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192258 GIOVANI GARCIA CHEVERE                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GIOVANI J RODRIGUEZ
   192259 MARTINEZ                                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192260 GIOVANI MERCADO LABOY                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192262 GIOVANI ROSELLO AVILES                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192263 GIOVANI TORRES PEREZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659746 GIOVANIA RODRIGUEZ                          PO BOX 561026                                                                                                    GUAYANILLA          PR         00656
   659747 GIOVANIE CORDERO                            ALT DE CANA                  26 CALLE A                                                                          BAYAMON             PR         00957
                                                      COND VILLAS DEL MAR ESTE APT
   659748 GIOVANNA C PIETRI                           12 G                         4745 AVE ISLA VERDE                                                                 CAROLINA            PR         00979‐5442

   192264 GIOVANNA COLON ALMODOVAR REDACTED                                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   192265 GIOVANNA COLON MONTALVO                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  192266 GIOVANNA CRUZ JIMENEZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  192267 GIOVANNA GARCIA ROSALY                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         GIOVANNA GUASCH SANTOS                       C/ MAR CARIBE #577 PASEO LOS
  192269 DBA UNLIMITED SPE                            CORALES                                                                                                               DORADO              PR         00646

   659749 GIOVANNA I FUENTES SANTIAGO PO BOX 9065317                                                                                                                        SAN JUAN            PR         00906‐5317
          GIOVANNA M VAZQUEZ
   192270 MARCANO                     REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   192271 GIOVANNA M. DIAZ MASSANET                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659751 GIOVANNA MEDINA COLON                       BALCONES DE MONTE REAL      EDIF E APTO 3805                                                                          CAROLINA            PR         00987
   659752 GIOVANNA RODRIGUEZ                          154 CALLE CUESTA VIEJA                                                                                                AGUADILLA           PR         00603
   192273 GIOVANNA ROSARIO SOTO                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   659754 GIOVANNA SANCHEZ CINTRON                    SABANAS ENEAS               CALLE I BUZON 369                                                                         SAN GERMAN          PR         00683
          GIOVANNA SANTIAGO
   192274 MELENDEZ                                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659755 GIOVANNA VAZQUEZ COTTE                      P O BOX 197                                                                                                           COMERIO             PR         00782

   192275 GIOVANNA Z RIVERA ROSARIO                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   659756 GIOVANNA'S CREATIVE CUISINE                 171 CARR NUM. 2             VILLA CAPARRA                                                                             GUAYNABO            PR         00966
   192284 GIOVANNI A ALEMAN COUTO                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192285 GIOVANNI A GELPI ARROYO                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   192286 GIOVANNI A SOLLA DEL CAMPO                  REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659758 GIOVANNI AGUILA RIVERA                      COL DE FAIRVIEW AD 12       CALLE 202                                                                                 TRUJILLO ALTO       PR         00976
   659759 GIOVANNI ALICEA ROLON                       MAGNOLIA GARDENS            CALLE 20 1                     DIST SUPTE BAYAMON 4                                       BAYAMOM             PR         00956
   659760 GIOVANNI ALOMAR SASTRE                      HC 04 BOX 7771                                                                                                        JUANA DIAZ          PR         00795
   192287 GIOVANNI APONTE AVILES                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192288 GIOVANNI APONTE SANTIAGO                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659761 GIOVANNI BARBOSA COLON                      HC 764 BOX 6356                                                                                                       PATILLAS            PR         00723
   192289 GIOVANNI BATISTA ZARRAGA                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   659762 GIOVANNI BERNARD TIRADO                     URB LEVITTOWN               ER 28 CALLE LUIS PALES MATOS                                                              TOA BAJA            PR         00949
          GIOVANNI CASTRO A/C LESLY H
   192290 IRIZARRY                                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659764 GIOVANNI CASTRO MARTINEZ                    RES SAN FERNANDO            EDF 3 APT 86                                                                              SAN JUAN            PR         00927

   192291 GIOVANNI CHEVRES SANTIAGO                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659766 GIOVANNI CHIMERA                            RES FRANKLIN D ROOSEVELT    EDF 21 APT 471                                                                            MAYAGUEZ            PR         00680

   192292 GIOVANNI CINTRON RODRIGUEZ REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192293 GIOVANNI COLBERG LUCIANO   REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659767 GIOVANNI D CHOUDENS        URB EL DORADO                                B 25 CALLE A                                                                              SAN JUAN            PR         00926
          GIOVANNI D PACHECO
   192294 FERNANDEZ                  REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192295 GIOVANNI DE LEON BORRAS    REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192296 GIOVANNI E LA RUSSA        REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192297 GIOVANNI F FLORES RIVERA   REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   192298 GIOVANNI F MERCADO PLUQUEZ REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659769 GIOVANNI FEBUS MARTINEZ    PO BOX 224                                                                                                                             COAMO               PR         00769



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   192299 GIOVANNI FERRER HERNANDEZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659770 GIOVANNI FRANCO                             URB VILLA FONTANA           FR 8 VIA 15                                                                         CAROLINA             PR           00983

   659772 GIOVANNI G LUIGI SANCHEZ                    232 AVE ELEONOR ROOSEVELT                                                                                       SAN JUAN             PR           00907
   659773 GIOVANNI GONZALEZ COLON                     G 6 PARQUE DE GUACIMA                                                                                           ARROYO               PR           00714

   659774 GIOVANNI GONZALEZ QUINTANA HC 2 BOX 43503                                                                                                                   VEGA BAJA            PR           00693

   192301 GIOVANNI HERNANDEZ RIVERA                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192302 GIOVANNI I GARCIA GOMEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GIOVANNI J FIGUEROA
   192303 RODRIGUEZ                                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      Urb Caparra Terrace 1328
   659775 Giovanni J. Cordero Bonini                  Calle20 SO                                                                                                      San Juan             PR           00920
   192304 GIOVANNI J. ROSARIO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659776 GIOVANNI JIMENEZ MEDINA                     P O BOX 745                                                                                                     MANATI               PR           00674
          GIOVANNI LESLIE Y ROSALLY
   192306 MIRANDA                                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   659779 GIOVANNI LLORENS MERCADO                    CENTRO GUB SUITE 301        50 CALLE NENADICH WEST                                                              MAYAGUEZ             PR           00680‐3660
   192307 GIOVANNI LUIGI SANCHEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659781 GIOVANNI MALDONADO                          NUEVA VIDA EL TUQUE         Q43 CALLE 6                                                                         PONCE                PR           00731
          GIOVANNI MALDONADO
   192308 MERCADO                                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192310 GIOVANNI MARQUEZ GARAY                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   192311 GIOVANNI MENDEZ CANDELARIA REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192312 GIOVANNI MIRANDA AYALA     REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192314 GIOVANNI MUNIZ GONZALEZ    REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192315 GIOVANNI NAZARIO SALGADO   REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192316 GIOVANNI O CRUZ GARCIA     REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   192317 GIOVANNI O'FARRIL MAYSONET REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   192318 GIOVANNI OLIVERAS SIRAGUSA                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192319 GIOVANNI ORTIZ ALVARADO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659782 GIOVANNI ORTIZ CLAUDIO                      HC 20 BOX 20286                                                                                                 SAN LORENZO          PR           00754
   192320 GIOVANNI P GUZMAN ORTIZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659783 GIOVANNI PADILLA MORA                       PO BOX 2080                                                                                                     HATILLO              PR           00659

   192322 GIOVANNI PESANTE HERNANDEZ REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659785 GIOVANNI PICORELLI         130 ELEANOR ROOSVELT AVE                                                                                                         SAN JUAN             PR           00918‐3105

   192323 GIOVANNI R BLACKMAN PEREZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   192324 GIOVANNI RIVERA BERROCALES                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192325 GIOVANNI RIVERA BORRERO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659786 GIOVANNI RIVERA GALLOZA                     HC 3 BOX 32562                                                                                                  AGUADA               PR           00602
          GIOVANNI RODRIGUEZ
   192326 MELENDEZ                                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   659787 GIOVANNI RODRIGUEZ SOSTRE                   61 URB CALIMANO                                                                                                 MAUNABO              PR           00707



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   659788 GIOVANNI RODRIGUEZ VAZQUEZ COLINAS METROPOLITANA                      X 2 CALLE CERILLO                                                                   GUAYNABO            PR           00969

   192327 GIOVANNI ROSARIO CHAPARRO                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192328 GIOVANNI RUIZ CANDELARIO                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659789 GIOVANNI SALERMO ORTIZ                      COND TORRE DE CERVANTES   240 CALLE 49 APT 1002A                                                              SAN JUAN            PR           00924‐3167
   192330 GIOVANNI SANTIAGO GARCIA                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192331 GIOVANNI SANTOS ALICEA                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192332 GIOVANNI SILVA AVILES                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192333 GIOVANNI TORO RIVERA                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192334 GIOVANNI U BONILLA COLON                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   192335 GIOVANNI VALENTIN MERCADO REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   659791 GIOVANNI VAZQUEZ MORALES                    COND VILLA DEL PARQUE     APT 5 H PDA 26                                                                      SAN JUAN            PR           00909
   192336 GIOVANNI VAZQUEZ RAMOS                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659792 GIOVANNI VAZQUEZ RUIZ                       9812 WILLOW MAY           3 LAKES MOBILE HOME                                                                 TAMPA               FL           33635
   659793 GIOVANNI VELEZ CARABALLO                    PARCELA SUSUA             9 CALLE CEIBA                                                                       SABANA GRANDE       PR           00637
   192337 GIOVANNI VELOZ IRIZARRY                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192338 GIOVANNIE ANAYA DE JESUS                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   192339 GIOVANNIE CENTENO SANTIAGO REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   192341 GIOVANNIE RIVERA GONZALEZ                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   659795 GIOVANNIE SANCHEZ GONZALEZ B 16 URB JARDINES DE CIALES                                                                                                    CIALES              PR           00638

   192342 GIOVANNIE SOTO RODRIGUEZ                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192343 GIOVANNIE VEGA LOPEZ                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659797 GIOVANNI'S BAKERY                           HC 80 BOX 7525H                                                                                               DORADO              PR           00646

   659798 GIOVANNY A TORRES ADROVET                   PO BOX 75                                                                                                     MOROVIS             PR           00687
   192345 GIOVANNY ANAYA DE JESUS                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   659799 GIOVANNY ARCHEVAL TORRES                    COND LA CEIBA             EDIF 250 APT 202                                                                    PONCE               PR           00717
   659800 GIOVANNY BORRERO CRUZ                       URB SANTA MARIA           O 8 C/ 6                                                                            TOA BAJA            PR           00949

   192346 GIOVANNY J QUINONES ORTIZ                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192347 GIOVANNY MALDONADO                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   192348 GIOVANNY MARTINEZ HODGES                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GIOVANNY MORALES
   659801 VILLANUEVA                                  BDA COLL Y TOSTE          EDIF 14 APT 53                                                                      ARECIBO             PR           00612
   192350 GIOVANNY NIEVES RIVERA                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192351 GIOVANNY P COLON COLON                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192352 GIOVANNY RIVERA LUGO                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192353 GIOVANNY RIVERA VAZQUEZ                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   659802 GIOVANNY RODRIGUEZ LUCIANO 204 AVE PADRE NOE                                                                                                              PONCE               PR           00716
   192354 GIOVANNY ROSA MONTERO      REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192356 GIOVANNY SOTO ACEVEDO      REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192357 GIOVANNY SOTO ARROYO       REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192358 GIOVANY G CHAPARRO SOTO    REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   192359 GIOVANY J MALDONADO ORTIZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192360 GIOVANY L COLON TORRES                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   659804 GIOVANY MERCADO ESCOBOR                     35 BO CANTO MARINO                                                                                                    MANATI               PR           00674
   192361 GIOVANY VEGA VIERA                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GIPSSY SUHAIL FILOMENO
   192366 MARRERO                                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      HP ‐ SUPERVISION DE
   659805 GIRA LLANOS HERNANDEZ                       ENFERMERIA                                                                                                            RIO PIEDRAS          PR           009360000
   659806 GIRAIDA DIAZ BERMUDEZ                       PO BOX 77                                                                                                             COMERIO              PR           00782
   192372 GIRALD J ORTIZ OXIO                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GIRALDEZ CASASNOVAS MD,
   192378 LAUREANO                                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192381 GIRALDO FERRA BARRERA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192383 GIRALDO MD , HERNAN D                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192387 GIRARD INTERNATIONAL                        P O BOX 10378                                                                                                         SAN JUAN             PR           00922‐0378

   659807 GIRARD INTERNATIONAL INC                    A.A.PUBLIC FINANCE CO.INC.   SUITE 604 ARTERIAL HOSTOS 3                                                              SAN JUAN             PR           00918

   771068 GIRARD MANUFACTURING INC                    PO BOX 10378                                                                                                          SAN JUAN             PR           00922‐0378
   831383 Girard Manufacturing. Inc.                  P O Box 10378                                                                                                         San Juan             PR           00922

  1419867 GIRARD MANUFACURING, INC.                   CARDONA ROSADO, CARLOS J.    PO BOX 79                                                                                SAN SEBASTIÁN        PR           00685
          GIRARD OFFICE EQUIPMENT
   659808 CORP.                                       PO BOX 10378                                                                                                          SAN JUAN             PR           00922
   192396 GIRAU CRUZ, MARILYN                         REDACTED                     REDACTED                     REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192399 GIRAU MEDICAL CENTER                        SABANA GRANCH                PO BOX 948718                                                                            VEGA BAJA            PR           00694
   192400 GIRAU NIEVES MD, EDWIN                      REDACTED                     REDACTED                     REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192417 GIRAUD MD, CATHERINE                        REDACTED                     REDACTED                     REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                   URB SAN ANTONIO 1939 AVE LAS
  1419868 GIRAUD, DAISY                               AMELIA M CINTRON             AMERICAS                                                                                 PONCE                PR           00728‐1815
   192436 GIRO Y SU ORQUESTA INC                      URB CAGUAS NORTE             R 3 CALLE MONTREAL                                                                       CAGUAS               PR           00725

   192439 GIROD MORALES MD, CARLOS E REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192446 GIRON MOREL MD, JESSIE     REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   659809 GIS OF PR INC / LICELIS NEGRON              CATALA BLDG                  2 CARAZO                                                                                 GUAYNABO             PR           00969
   192471 GISAEL VEGA MANGUAL                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GISCHLAINETT QUINONEZ
   192472 MARTINEZ                                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192473 GISEL DIAZ CASTRO                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192475 GISEL H LANDRON RIVERA                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192476 GISEL LARACUENTE LUGO                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192477 GISEL M FERNANDEZ LUNA                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659810 GISEL MENDEZ GONZALEZ                       HC 2 BOX 10135                                                                                                        MOCA                 PR           00676
   659811 GISEL RIOS LEDESMA                          RES COVADONGA                EDF 9 APRT 141                                                                           TRUJILLO ALTO        PR           00976
   192478 GISELA A CRESPO NEGRON                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   192479 GISELA A FIGUEROA FERNANDEZ                 REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659816 GISELA ALVAREZ PEREZ                        PO BOX 191032                                                                                                         SAN JUAN             PR           00919
   192480 GISELA BAEZ TORO                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   659818 GISELA BARRETO                              SAN ANTONIO                  1725 REPARTO LOS PINOS                                                                   AGUADILLA            PR           00690



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  659813 GISELA BLONDET JIMENEZ                       EDIF DARLINGTON 1007         AVE MU¥OZ RIVERA APT 1205                                                              SAN JUAN           PR         00925
  659819 GISELA CABAN RIVERA                          MANSION DEL MAR              181 AZURE                                                                              TOA BAJA           PR         00949
  192481 GISELA CANDELARIA MEDINA                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  659820 GISELA CARRION                               URB. GOLDEN HILLS            CALLE ANICETO DIAZ D16                                                                 TRUJILLO ALTO      PR         00976
                                                      2701 GRAND CONCOURSE APT 6
   659821 GISELA CASTILLO DE FELIZ                    J                                                                                                                   BRONX              NY         10468

   192482 GISELA CHERVONY GANDULLA                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   659822 GISELA CIARES RIVERA                        URB LOIZA VALLEY             Q 563 CALLE BEGONIA                                                                    CANOVANAS          PR         00729
   659823 GISELA COLON NAVARRO                        HC 1 BOX 3526                                                                                                       MOROVIS            PR         00687
   192483 GISELA COSME MARRERO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   659824 GISELA COSTAS OCASIO                        SANTA MARIA                  C 6 CALLE 21                                                                           GUAYANILLA         PR         00656
   659825 GISELA CRESPO ROMAN                         PO BOX 651                                                                                                          ISABELA            PR         00662
   192485 GISELA CRUZ ORTIZ                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   192486 GISELA CRUZ SANTANA                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   192488 GISELA D. LOUBRIEL ORTIZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   192489 GISELA DAVILA BERRIOS                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   192490 GISELA DAVILA NEGRON                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   192491 GISELA DAVILA VENDRELL                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          GISELA DEL ROSARIO FLORES
   659826 RIVERA                                      URB RIO CANAS                J 10 CALLE 10                                                                          PONCE              PR         00731

   192492 GISELA DENICE PUIG CARRION                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   192493 GISELA DENISE PUIG CARRION                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   659827 GISELA DIAZ                                 LOS BRAVOS                   118 CALLE CORREA                                                                       SABANA SECA        PR         00949
   659828 GISELA DIAZ CARMOUSE                        URB REPARTO MACIAS           149 AVE PORVENIR                                                                       MAYAGUEZ           PR         00680
   659830 GISELA DIAZ RIVERA                          HP ‐ Forense RIO PIEDRAS                                                                                            Hato Rey           PR         009360000
   192494 GISELA DIAZ SOLA                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   192495 GISELA ELLIS                                REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   659833 GISELA ESPADA MATOS                         VENUS GARDENS NORTE          AW3 PIEDRA NEGRA                                                                       SAN JUAN           PR         00926
   192496 GISELA FELICIANO DIAZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   192497 GISELA FIGUEROA FERNANDEZ                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      URB SAN LORENZO VALLEY NUM
   659835 GISELA G MALAVE AMILL                       49                         CALLE FLAMBOYAN                                                                          SAN LORENZO        PR         00754‐9810
   659836 GISELA GARCIA HERNANDEZ                     PO BOX 985                                                                                                          JUNCOS             PR         00777
   192499 GISELA GONZALEZ CORALIZ                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   192500 GISELA GONZALEZ ELIAS                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   192501 GISELA GONZALEZ LOPEZ                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   659838 GISELA GONZALEZ MORALES                     URB VILLA DEL CARMEN       2528 CALLE TENERIFE                                                                      PONCE              PR         00716
   192502 GISELA I RIVERA SANTIAGO                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   192503 GISELA J CORDERO MENDEZ                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   659840 GISELA JACA IRIZARRY                        HC 3 BOX 15142             BO GUAJATACA                                                                             QUEBRADILLA        PR         00678
   659841 GISELA JIMENEZ VELEZ                        URB SAN FELIPE             I 10 CALLE 9                                                                             ARECIBO            PR         00612
   659842 GISELA M GARCIA ORTIZ                       URB LAS LOMAS              1768 CALLE 14 SO                                                                         SAN JUAN           PR         00921

   659843 GISELA M GONZALEZ MORENO                    10551 NW 52 TERRACE                                                                                                 MIAMI              FL         33178
   659845 GISELA M PEREZ MEDINA                       CUPEY GARDENS                F 10 CALLE 9                                                                           RIO PIEDRAS        PR         00926
   192504 GISELA M ROSARIO RAMOS                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   192506 GISELA M VEGA ECHEVARRIA                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   192507 GISELA M. AVILES ALVAREZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   192508 GISELA MARICHAL VILLAFUENTE REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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   659846 GISELA MARICHAR VILLAFUENTE                 URB BLONDET                  52 CALLE MARCIAL                                                                      SAN JUAN            PR           00928
   192509 GISELA MARTINEZ QUINONES                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192510 GISELA MARTINEZ RIVERA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192511 GISELA MENCHACA ROIG                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659848 GISELA MERCED DIAZ                          COND GENARO CORTES           APT 908                                                                               SAN JUAN            PR           00918
   659849 GISELA MERCED PACHECO                       P O BOX 261                                                                                                        CANOVANAS           PR           00729
   659851 GISELA MOLINA CRESPO                        URB EL ROSARIO 2             16 CALLE AJ                                                                           VEGA BAJA           PR           00693

   192512 GISELA MOLINUEVO MORALES                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192513 GISELA MONTES MARTINEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659852 GISELA MORALES VELAZQUEZ                    RR 3 BOX 3534                                                                                                      SAN JUAN            PR           00926
                                                                                   180 CALLE HOSTOS APTO #SGB‐
   659853 GISELA MULERO GONZALEZ                      CONDOMINIO EL MONTE SUR      11                                                                                    SAN JUAN            PR           00918
                                                                                   1464 CALLE ELBA URB CAPARRA
   659855 GISELA OFERRAL IRIZARRY                     CAPARRA HEIGHTS              HTS                                                                                   SAN JUAN            PR           00920
   192515 GISELA ORTIZ GONALES                        REDACTED                     REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192516 GISELA ORTIZ REYES                          REDACTED                     REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659858 GISELA PACHECO FELICIANO                    HC 1 BOX 6389                                                                                                      COROZAL             PR           00783
   192518 GISELA PAGAN TOLEDO                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659859 GISELA PERALLON BAUTISTA                    410 CALLE SAN JORGE APT 2E                                                                                         SAN JUAN            PR           00909
   659861 GISELA PEREZ RODRIGUEZ                      HC 3 BOX 334333                                                                                                    MOCA                PR           00676
   192519 GISELA RAMOS CARABALLO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192521 GISELA RIVERA QUINONES                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192522 GISELA RIVERA RAMIREZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659863 GISELA RIVERA SUAREZ                        BO DAGUAO                    PO BOX 5030A                                                                          NAGUABO             PR           00718
   192523 GISELA RIVERA TORRES                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192524 GISELA RODRIGUEZ COLON                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659864 GISELA RODRIGUEZ PEREZ                      DG5 CALLE 28                                                                                                       BAYAMON             PR           00957
   192525 GISELA RODRIGUEZ ROSADO                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659865 GISELA ROIG ALVAREZ                         VILLAS SAN SOUCI             T 4 CALLE 15                                                                          BAYAMON             PR           00957
   192527 GISELA ROLON COLON                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659866 GISELA ROMAN VELAZQUEZ                      PARC FALU                    217 CALLE 45                                                                          SAN JUAN            PR           00924
   192528 GISELA ROSADO RODRIGUEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1419869 GISELA RULLAN, IVIS                         GLORIA M. IAGROSSI BRENES    78‐D CALLE PONCE                                                                      SAN JUAN            PR           00917
   659868 GISELA SANCHEZ MUNIZ                        PO BOX 298                                                                                                         DORADO              PR           00646
   659869 GISELA SERRANO PEREZ                        HC 2 BOX 6529                                                                                                      UTUADO              PR           00641
   192529 GISELA TORRES COLON                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192532 GISELA UFRET CASTILLO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659871 GISELA VARELA GUZMAN                        PO BOX 80                                                                                                          ISABELA             PR           00662
   192535 GISELA VELEZ RAMIREZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659873 GISELA Y NIEVES FIGUEROA                    CAMINO LOS FIGUEROA 26                                                                                             SAN JUAN            PR           00926
   659874 GISELA ZAMBRANA CRUZ                        ADM SERV GENERALES           PO BOX 7428                                                                           SAN JUAN            PR           00916‐7428
   659876 GISELDA D RAMIREZ VELEZ                     JARDINES DEL CARIBE          I 23 CALLE LOS ROBLES                                                                 MAYAGUEZ            PR           00680
   192536 GISELDA DE LEON DE LEON                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192537 GISELE SANCHEZ FRANCO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659878 GISELIS ARVELO LOPEZ                        URB PERLA DEL SUR            2657 CALLE LAS CAROZAS                                                                PONCE               PR           00717‐0411
   192538 GISELIZ MERCADO DIAZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   192539 GISELLA BETANCOURT SANTIAGO REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192540 GISELLA M ADORNO RUIZ       REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   192541 GISELLA SERRANO MALDONADO REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  659880 GISELLE A PARADIZO LUGO                       URB REPTO TERESITA        AQ 6 CALLE 37                                                                            BAYAMON             PR         00959
  192542 GISELLE A. CORTES SALGADO                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  659881 GISELLE AGOSTO CLEMENTE                       HC 1 BOX 7327                                                                                                      LOIZA               PR         00772‐9742

   659882 GISELLE ARLENE JIMENEZ LOPEZ                 URB LEVITTOWN             1784 PASEO DOSEL                                                                         TOA BAJA            PR         00949
   659883 GISELLE C RIVERA                             URB VILLAS PARKVILLE      57 AVE LOPATEGUI              APT 69                                                     GUAYNABO            PR         00969
   192544 GISELLE CALCANO                              REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192545 GISELLE CANCEL ORTIZ                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659884 GISELLE CARDONA SOTO                         URB COUNTRY CLUB          775 CALLE MERCEDES SOLA                                                                  SAN JUAN            PR         00924
   192546 GISELLE CASTRO ECHEVARRIA                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                       PSIQUIATRIA FORENSE RIO
   659885 GISELLE CHEVRES DESARDEN                     PIEDRAS                                                                                                            SAN JUAN            PR         00914‐0000
   192547 GISELLE CORDERO CORDERO                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GISELLE CRUZ PEREZ Y/O
   659886 MARCELINA PEREZ                              EXT FOREST HILLS          Z‐630 CALLE BRAZIL                                                                       BAYAMON             PR         00959
   659887 GISELLE CRUZ VEGA                            PO BOX 1669                                                                                                        JUANA DIAZ          PR         00795
   192548 GISELLE D RIVERA AVILES                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192552 GISELLE DENISHA DIAZ ORTA                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   659889 GISELLE E CUADRADO ROSARIO                   PO BOX 8802                                                                                                        HUMACAO             PR         00792

   192553 GISELLE FERNANDEZ CASTILLO                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192554 GISELLE FIGUEROA CRUZ                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192555 GISELLE FIGUEROA FEBO                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192557 GISELLE FLORES ALVAREZ                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659890 GISELLE GONZALEZ VALENTIN                    PO BOX 2582                                                                                                        SAN SEBASTIAN       PR         00685
   192558 GISELLE IRIZARRY NORIEGA                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659891 GISELLE JIMENEZ PEREZ                        RB 5 224                                                                                                           ISABELA             PR         00662
   659893 GISELLE L RAMOS ALVAREZ                      URB VILLA CAROLINA        209 10 CLLE 512                                                                          CAROLINA            PR         00985 3029

   659895 GISELLE M ADORNO DELGADO                     VILLA SAN ANTONNIO        G 10 CALLE FLORENTINO ROMAN                                                              CAROLINA            PR         00987
          GISELLE M ALVAREZ DE LA
   192560 CAMPA LAUREL                                 REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192561 GISELLE M CRUZ DELGADO                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192562 GISELLE M GARCIA GONZALEZ                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   659896 GISELLE M GONZALEZ GONZALEZ SIERRA BERDECIA                            E 27 CALLE FAGOT                                                                         GUAYNABO            PR         00969
          GISELLE M JIMENEZ
   192563 MALDONADO                   REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192564 GISELLE M LAFFITTE ROSSY    REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192565 GISELLE M MARTINEZ          REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659897 GISELLE M MARTINEZ TORRES   RIO GRANDE STATE IV                        12003 REY CARLOS I                                                                       RIO GRANDE          PR         00745
          GISELLE M MARTINEZ
   659898 VELAZQUEZ                   URB STA CLARA                              N 9 CALLE FLAMBOYAN                                                                      GUAYNABO            PR         00969

   192566 GISELLE M MUNOZ GONZALEZ                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192567 GISELLE M NIEVES ROMERO                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659899 GISELLE M QUINTANA AVILES                    BOX 112                                                                                                            LARES               PR         00631
   192568 GISELLE M RIVERA VELEZ                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   192569 GISELLE M RODRIGUEZ OCASIO                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   659900 GISELLE M SANCHEZ SANTIAGO                   P O BOX 1922                                                                                                       YAUCO               PR         00698



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   192570 GISELLE M SANTIAGO SANTIAGO REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192571 GISELLE M SANTINI RIVERA    REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659901 GISELLE M TORRES ROBLES     PO BOX 33                                                                                                                         JAYUYA              PR           00664

   192573 GISELLE M VELOZ MALDONADO                   REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192574 GISELLE M. GARCIA RIVERA                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   192575 GISELLE M. MARTINEZ FRANJUL                 REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192576 GISELLE M. RIVERA VELEZ                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192577 GISELLE M. SUAREZ GUILLEN                   REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   192578 GISELLE MARIE LAFFITTE ROSSY                REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   659902 GISELLE MARIE ROSADO RIVERA                 PO BOX 800186                                                                                                     COTO LAUREL         PR           00780‐0186
          GISELLE MARIE TIRADO DE LA
   659903 CRUZ                                        BO TRASTALLERES          308 AVE LUIS LLORENS TORRES                                                              MAYAGUEZ            PR           00680
   659904 GISELLE MARIE ZAYAS PRIETO                  URB SANTA CLARA          S 25 CALLE PALMA REAL                                                                    SAN JUAN            PR           00969
   659905 GISELLE MARRERO DIAZ                        BOX 177                                                                                                           TOA ALTA            PR           00954
   192579 GISELLE MARRERO OLIVO                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659906 GISELLE N MENDEZ BUFFIT                     URB HACIENDA CONCORDIA   11043 CALLE TULIPAN                                                                      SANTA ISABEL        PR           00757
   192580 GISELLE N. MENDEZ BUFFIT                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659907 GISELLE NAVARRO PASTOR                      HP ‐ FARMACIA                                                                                                     RIO PIEDRAS         PR           009360000
   192582 GISELLE NEVAREZ RIVERA                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659908 GISELLE NIEVES OTERO                        3‐14 MONTE VERDE                                                                                                  MANATI              PR           00674

   192583 GISELLE PANTOJA MALDONADO                   REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192584 GISELLE PICART GARCIA                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192585 GISELLE RAMOS MORALES                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659909 GISELLE RAMOS PERALES                       8 CALLE PADRE SERCUS                                                                                              AGUAS BUENAS        PR           00703
   192586 GISELLE REYES LOPEZ                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192587 GISELLE RIVERA QUINTANA                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659910 GISELLE RIVERA TIRADO                       PRADO ALTO               K 19 CALLE 6                                                                             GUAYNABO            PR           00966
   192588 GISELLE RODRIGUEZ PEREZ                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192589 GISELLE ROSARIO ZAYAS                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192590 GISELLE RUIZ SOLER                          REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659913 GISELLE SANTI GRAPHICS                      PO BOX 54                                                                                                         TRUJILLO ALTO       PR           00977
   659915 GISELLE SANTIAGO SANABRIA                   RES VILLAS DEL CARIBE    BOLQ 6 APT 64                                                                            PONCE               PR           00730
   659916 GISELLE TORRES CRUZ                         PO BOX 488                                                                                                        COAMO               PR           00769

   192592 GISELLE TORRES EMMANUELLI                   REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192594 GISELLE TRINIDAD                            REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192595 GISELLE VARGAS RUBIO                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192596 GISELLMARIE CRUZ VELEZ                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659917 GISELLY RINCON                              VISTAMAR                 531 ZAMORA                                                                               CAROLINA            PR           00983
   192597 GISET FIGUEROA LOPEZ                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192599 GISSEL SANABRIA VAZQUEZ                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GISSELA DEL ALBA CASANOVA
   192601 RAMOS                                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192602 GISSELA M. CARRERO ULMO                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659920 GISSELA VARGAS                              PO BOX 1918                                                                                                       JUANA DIAZ          PR           00795‐1918
   659921 GISSELIT MADERA LUGO                        HC 02 BOX 6218                                                                                                    PENUELAS            PR           00624




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   192603 GISSELLE CINTRON RODRIGUEZ                  REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GISSELLE E MOCTEZUMA
   659922 BERRIOS                                     URB SAN GERARDO              1716 CALLE AUGUSTA                                                                        SAN JUAN            PR           00924
   659923 GISSELLE GONZALEZ CORUJO                    12‐10 CALLE 28                                                                                                         CAROLINA            PR           00987
   659924 GISSELLE M CINTRON TORRES                   HC 01 BOX 3303                                                                                                         VILLALBA            PR           00766
   192604 GISSELLE M MORALES SOTO                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192605 GISSELLE M ORTIZ BURGOS                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192606 GISSELLE TORRES ALVARADO                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GISSELLE Z MARTINEZ
   192607 HERNANDEZ                                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192608 GITOGO                                      PO BOX 11074                 CAPARRA HEIGHTS                                                                           SAN JUAN            PR           00922

   659925 GITOGO SOLAR CONTROL CORP. PO BOX 11074                                                                                                                            SAN JUAN            PR           00922
   659926 GITSEL DEL MAR SALINAS        VILLA PALMERAS                             212 CALLE AMPARO                                                                          SAN JUAN            PR           00915
   659927 GITSELLE OJEDA PEREZ          URB ALTO APOLO                             55 CALLE ESPARTA                                                                          GUAYNABO            PR           00969
   192609 GITTEL M ALMONTE DULUC        REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659928 GITTY`S TOYS, INC.            P O BOX 21365                                                                                                                        SAN JUAN            PR           00928‐1365
   659929 GITZA NIEVES PRIETO           HC 2 BOX 14552                                                                                                                       CAROLINA            PR           00985
   659930 GIUILIANO DE PORTU            1504 ASHFORD AVE APT 5 A                                                                                                             SAN JUAN            PR           00911
          GIULIA INSOLIA BERARDI / ALMA
   192614 INZOLIA                       REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GIULIANO A MONTANEZ /
   192619 HAROLD MONTANEZ               REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192620 GIUSEPPE I SABATER RIVERA     REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                        LOT EK 55 LITTLE WEST 12TH
   659932 GIUSEPPE LIGNANO              STREET                                                                                                                               NEW YORK            NY           10014
                                                                                   120 CALLE RODRG D TRN URB EL
   659933 GIUSEPPE PANDOLI DE RINALDIS                EL VEDADO                    VEDADO                                                                                    SAN JUAN            PR           00918
   659936 GIUSEPPE PINCHERA                           1625 CALLE CAROLINA                                                                                                    SAN JUAN            PR           00912‐3840
   192622 GIUSTI CASUALS INC                          PO BOX 607                                                                                                             CAGUAS              PR           00726
   192640 GIVANNA R RUIZ DEL VALLE                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   659937 GIZEL ORENGO MORALES                        P O BOX 7428                                                                                                           SAN JUAN            PR           00916

   659938 GIZELA J DELGADO DAVILA                     URB MANSIONES DEL RIO 1794   CALLE FLORES                                                                              SAN JUAN            PR           00926
   192642 GIZETTE PEREZ GONZALEZ                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192643 GIZMO DIGITAL MEDIA INC                     P O BOX 6421                                                                                                           CAGUAS              PR           00726

   659939 GIZZELLE RODRIGUEZ CASADO                   URB ROOSEVELT                389 CALLE JOSE R ACOSTA                                                                   SAN JUAN            PR           00918‐2335
          GJ FIRE BURGLARY EQUIPMENT
   659940 INC                                         PO BOX 367173                                                                                                          SAN JUAN            PR           00936‐7173
   192644 GJM CSP                                     URB DOS PINOS                823 CALLE DIANA                                                                           SAN JUAN            PR           00923
   192645 GJM SOUND                                   BOX 5000 SUITE 940                                                                                                     AGUADA              PR           00602
   192647 GK FILMS                                    1540 2ND STREET 200                                                                                                    SANTA MONICA        CA           90401

   192649 GK PROFESSIONAL SERVICES INC                EXT TERRAZAS DE GUAYNABO     E 9 CALLE LAS FLORES                                                                      GUAYNABO            PR           00969
          GK PROFESSIONAL SERVICES,                   E9 LAS FLORES EXT TERRAZAS
   192650 INC.                                        GUAYNABO                                                                                                               GUAYNABO            PR           00969
   192651 GKC, INC                                    AVE ANA G MENDEZ             CARR 176 KM 1.1                                                                           SAN JUAN            PR           00926
   192652 GKL INC                                     CORAL GABLES                 PO BOX 140417                                                                             FLORIDA             FL           33114
   192653 GKL, INC.                                   P O BOX 140417                                                                                                         CORAL GABLES        FL           00114
   659942 GL AUTO ALARM                               PO BOX 1247                                                                                                            BAYAMON             PR           00960
   192654 GL CONSULTING INC                           URB ANTILLANA 33             PLAZA SAN VICENTE                                                                         TRUJILLO ALTO       PR           00976‐6128



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  659943 GLADDEN I VELEZ FLAQUER                      EXT SAN ANTONIO               J 21 CALLE 10                                                                     HUMACAO             PR           00791
  659944 GLADDING MCBEAN                              601 7TH ST PO BOX 97                                                                                            LINCOLN             PR           95648

   659945 GLADIANIS TRINIDAD FONTANEZ RR 10 BOX 10090                                                                                                                 SAN JUAN            PR           00926‐9512
   659946 GLADIANN LUGO RODRIGUEZ     LA PLATA                                      9 CALLE 4                                                                         COMERIO             PR           00782

   659947 GLADIARYS FIGUEROA CARRION                  MEDIANIA BAJA                 CARR 187 SECT LA 23                                                               LOIZA               PR           00772
   192655 GLADIBELIS RIVERA FUENTES                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192658 GLADILUZ BAYON SANCHEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GLADIMAR H RODRIGUEZ
   192659 TORRES                                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192660 GLADIMAR LOPEZ CUADRA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192661 GLADIMER MELENDEZ CRUZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   192662 GLADIMINET LOPEZ FIGUEROA                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   659948 GLADIMIRO DAVILA                            PO BOX 1043                                                                                                     LAS PIEDRAS         PR           00771
   192663 GLADINELL NEGRON VIRELLA                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   659949 GLADINELL NIEVES BAEZ                       URB ALTURAS DE BUCARABONES 3 R1 AVE PRINCIPAL                                                                   TOA ALTA            PR           00953

   192664 GLADIOLA MATTA RODRIGUEZ                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   659950 GLADIS CASTRODAD ISOBALS                    URB DUARCA 615 C/MILAN                                                                                          SAN JUAN            PR           00923
   192665 GLADIS FERNANDEZ DE RUIZ                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192666 GLADISA CRUZ PEREZ                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192667 GLADITZA NAZARIO DIAZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   192668 GLADIUS LLC                                 260 AVE LAS CUMBRES STE 202                                                                                     GUAYNABO            PR           00969‐7209

   659953 GLADMAR I MELENDEZ PAGAN                    CANDARAS 2 BO BAYAMON         BZN G 19                                                                          CIDRA               PR           00739
   192669 Gladmar I. Melendez Pagan                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GLADSTONE MANAGEMENT                        1521 WESTBRANCH DRIVE STE
   192672 CORP                                        200                                                                                                             MCLEAN              VA           22102

   659954 GLADY VELISSE MCINNIS LOPEZ                 URB VISTA BELLA               A 23 CALLE 2                                                                      BAYAMON             PR           00956
   192676 GLADYBELLE RIOS AYALA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   192677 GLADYMAR ADORNO BERRIOS                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   659955 GLADYMAR BONANO VALLE                       PO BOX 382                                                                                                      SAN GERMAN          PR           00683
   192678 GLADYMAR RODRIGUEZ                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   659956 GLADYMAR VEGA TORRES                        VILLA GUADALUPE               FF 50 CALLE 23                                                                    CAGUAS              PR           00725
   192679 GLADYMID RIVERA DAVILA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GLADYNEEL COUVERTIER
   192680 MATIAS                                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   192682 GLADYNEL COUVERTIER MATIAS REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192683 GLADYNEL PADILLA NAZARIO   REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   659958 GLADYNEL ROMAN TORRES                       38 CALLE BETANCES SUITE 229                                                                                     BAYAMON             PR           00961
   192684 GLADYNEL SAEZ RODRIGUEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   659959 GLADYNELL ORTEGA                            URB STA JUANITA               LL 5 CALLE 30                                                                     BAYAMON             PR           00956
   659960 GLADYNELLE BENABE GARCIA                    160 CALLE FLORIDA                                                                                               LUQUILLO            PR           00773

   192686 GLADYRELL RODRIGUEZ ALICEA                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  192687 GLADYS A BONILLA JIMENEZ                     REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  659972 GLADYS A CAMPOS NAZARIO                      NORTH COAST VILLAGE      APT 632                                                                             VEGA ALTA            PR         00692

   192688 GLADYS A CARRERAS BARRIOS                   REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   659974 GLADYS A DELGADO ACOSTA                     2DA EXT EL VALLE         553 CALLE AMAPOLA                                                                   LAJAS                PR         00667
   659975 GLADYS A GREEN GONZALEZ                     URB VILLAS DEL RIO       J 13 CALLE RIO JUMBO                                                                HUMACAO              PR         00791
   659977 GLADYS A MATTA BENEDETTY                    BO TRASTALLERES          71 CALLE MANUEL M SAMA                                                              MAYAGUEZ             PR         00680
   659978 GLADYS A MORALES LOPEZ                      PO BOX 910                                                                                                   SAN JUAN             PR         00771
   659979 GLADYS A ROCA SILVEIRA                      URB PASEOS REALES        263 CALLE CONDESA                                                                   ARECIBO              PR         00612
   659980 GLADYS A SANCHEZ GUZMAN                     PO BOX 713                                                                                                   SALINAS              PR         00751
   659981 GLADYS A SANCHEZ RIVERA                     HC 1 BOX 5304                                                                                                CIALES               PR         00638
          GLADYS A. MALDONADO
   192690 RODRIGUEZ                                   REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   192691 GLADYS ACEVEDO                              REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   192692 GLADYS ACOSTA TORRES                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   659984 GLADYS ALEJANDRO FIGUEROA                   P O BOX 4                                                                                                    LOIZA                PR         00772
   192693 GLADYS ALEMANY GOYCO                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   659985 GLADYS ALVARADO SANTIAGO                    URB SAN ANTONIO          XG CALLE 1                                                                          PONCE                PR         00731
   659987 GLADYS ALVARADO VILA                        P O BOX 336058                                                                                               PONCE                PR         00733‐6058
   659989 GLADYS ALVAREZ CRUZ                         HC 01 BOX 11117                                                                                              ARECIBO              PR         00612
   192694 GLADYS ANDINO CINTRON                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   192695 GLADYS ARCE CRUZ                            REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   192696 GLADYS ARNIELLA MACHADO                     REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   659991 GLADYS AROCHE COLON                         HC 01 BOX 6442                                                                                               AGUAS BUENAS         PR         00703
   659992 GLADYS AROCHO MARQUEZ                       PO BOX 1512                                                                                                  SAN SEBASTIAN        PR         00685
   192697 GLADYS ARROYO CANALES                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   659995 GLADYS ARROYO GAUD                          BO SABALOS               609 CALLE POST                                                                      MAYAGUEZ             PR         00680
   660000 GLADYS AYALA OQUENDO                        HC 4 BOX 15686                                                                                               CAROLINA             PR         00987
   660001 GLADYS AYALA VALENTIN                       BO SEBORUCO              BNZ 578                                                                             BARCELONETA          PR         00617
          GLADYS B IZQUIERDO
   192698 ALMODOVAR                                   REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   660002 GLADYS B NIEVES VAZQUEZ                     URB MILAVILLE            183 CALLE PINA                                                                      SAN JUAN             PR         00926
   660004 GLADYS B RODRIGUEZ CABAN                    323 BRISAS DEL CARIBE                                                                                        PONCE                PR         00731
   192700 GLADYS BAEZ TORRES                          REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          GLADYS BARRETO / KELVIN Y
   192701 ABDIEL BARRETO                              REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   192702 GLADYS BASTARDO VELAZQUEZ                   REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   660005 GLADYS BEAUCHAMP PENZARD                    34 CALLE BALBOA                                                                                              MAYAGUEZ             PR         00680
                                                      INTERAMERICANA GARDENS
   660006 GLADYS BELEN SANTIAGO                       APARTMENTS               EDIF A17 APT 1A                                                                     TRUJILLO ALTO        PR         00976
   660007 GLADYS BENEDETTY RIVERA                     MANUEL M SOMAS 71                                                                                            MAYAGUEZ             PR         00680
   660008 GLADYS BENITEZ JAIME                        P O BOX 318                                                                                                  FAJARDO              PR         00738
   660011 GLADYS BERRIOS RAMOS                        HC 1 BOX 4028                                                                                                NAGUABO              PR         00718
   192703 Gladys Betancourt Colon                     REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   192704 GLADYS BONILLA CARMONA                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   192706 GLADYS BONILLA QUINONES                     REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   192707 GLADYS BONILLA SOLIVAN                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   660013 GLADYS BOSCIO CATERING                      URB LA RAMBLA            416 CALLE 4                                                                         PONCE                PR         00731
   660014 GLADYS BOURDON MARQUEZ                      HC 02 BOX 18772                                                                                              SAN SEBASTIAN        PR         00685



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  660015 GLADYS BURGOS GUZMAN                         RES BARTOLOME LAS CASAS   EDIF 26 APT 311                                                                      SAN JUAN            PR           00915
  660017 GLADYS BURGOS RODRIGUEZ                      APT 414                                                                                                        SALINAS             PR           00751

   192709 GLADYS CABALLERO MENDOZA                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660018 GLADYS CABAN CRUZ                           PO BOX 3825                                                                                                    AGUADILLA           PR           00605 3825
   192710 GLADYS CABAN ESTRADA                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660019 GLADYS CABRERA VAZQUEZ                      HC 73 BOX 5647                                                                                                 NARANJITO           PR           00719‐9621
   660020 GLADYS CACHOLA BURGOS                       ALT DE RIO GRANDE         R 896 CALLE 16                                                                       RIO GRANDE          PR           00745
   660021 GLADYS CALDER BRACERO                       HC 1 BOX 5285                                                                                                  MOCA                PR           00676

   192711 GLADYS CALDERON GONZALEZ                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660022 GLADYS CALERO RODRIGUEZ                     PO BOX 873                                                                                                     ISABELA             PR           00662
   660023 GLADYS CAMACHO ARROYO                       PO BOX 593                                                                                                     YABUCOA             PR           00767
   660024 GLADYS CAMARENO ESTELA                      BO RIO                    CARR 1 RAMAL 834 KM 0 3                                                              GUAYNABO            PR           00725
          GLADYS CARABALLO
   192713 MALDONADO                                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   192714 GLADYS CARABALLO PEDRAZA                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   192715 GLADYS CARABALLO VAZQUEZ                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192716 GLADYS CARDONA TORRES                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660027 GLADYS CARLO SEDA                           HC 01 BOX 1030                                                                                                 CABO ROJO           PR           00622‐9701

   660028 GLADYS CARRASQUILLO LOPEZ                   85 CALLE CORCHADO                                                                                              CANOVANAS           PR           00729
   660029 GLADYS CARRERO JUSINO                       HC 02 BOX 8552                                                                                                 JAYUYA              PR           00664

   192717 GLADYS CARRILLO RODRIGUEZ                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660030 GLADYS CARRION                              URB RIO PIEDRAS HTS       1674 CALLE URAL                                                                      SAN JUAN            PR           00926
   660031 GLADYS CARRION PEREZ                        RES NEMESIO R CANALAES    42 APT 797                                                                           SAN JUAN            PR           00918
   660032 GLADYS CARTAGENA                            PO BOX 50063                                                                                                   SAN JUAN            PR           00902
   660033 GLADYS CASIANO RIVERA                       VILLA INTERAMERICANA      C 11 CALLE 5                                                                         SAN GERMAN          PR           00683
   660034 GLADYS CASILLAS RIVERA                      PO BOX 562                                                                                                     CANOVANAS           PR           00729

   192718 GLADYS CASTELLANO MONTA¥EZ REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192719 GLADYS CASTILLO PEREZ      REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192720 GLADYS CASTRO FUENTES      REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660035 GLADYS CASTRO MARRERO      BO ESPINAL                                 2112 CALLE CLUSTER                                                                   AGUADA              PR           00602
   660036 GLADYS CATERING            127 MARIA CAMPILLO                                                                                                              QUEBRADILLAS        PR           00678
   192721 GLADYS CATERING INC        HC 05 BOX 34924‐3                                                                                                               SAN SEBASTIAN       PR           00685
          GLADYS CATERING Y/O MIGUEL
   660037 MARIN                      P OBOX 682                                                                                                                      UTUADO              PR           00641

   192723 GLADYS CEDENO MALDONADO                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660039 GLADYS CHEVERE SANTOS                       JARDINES DE JACAGUAX      E 18 CALLE B                                                                         JUANA DIAZ          PR           00795
   192724 GLADYS CHRISTIAN ROMERO                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192725 GLADYS CINTRON CINTRON                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192726 GLADYS CINTRON ROSARIO                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192727 GLADYS CIRILO RIVERA                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660040 GLADYS CIRINO CIRILO                        VILLA CRISTINA            BOX 7705                                                                             LOIZA               PR           00772
   192729 GLADYS CLAUDIO GARCIA                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192731 GLADYS CLEMENTE PARIS                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                      271 CALLE CALMA VILLA
   660042 GLADYS COLON                                PALMERAS                                                                                                       SAN JUAN            PR           00912



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  192732 GLADYS COLON DE JESUS                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  192733 GLADYS COLON FLORES                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  660043 GLADYS COLON GARCIA                          VILLA PALMERAS               271 CALLE ISMAEL RIVERA                                                                SAN JUAN          PR         00912
  660044 GLADYS COLON MARRERO                         URB BAYAMON GARDENS          W36 CALLE 18                                                                           BAYAMON           PR         00957
  192734 GLADYS COLON MEDINA                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  660046 GLADYS COLON ORTIZ                           HC 3 BOX 38930                                                                                                      CAGUAS            PR         00725‐9724
  660047 GLADYS COLON RIVERA                          COND CONCORDIA GARDENS       EDF 2 APT 5 J RIO PIEDRAS                                                              SAN JUAN          PR         00924
  660048 GLADYS CONTRERAS FLORES                      HC 04 BOX 46805                                                                                                     SAN LORENZO       PR         00754‐9905

   192735 GLADYS CORCHADO BABILONIA                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   192736 GLADYS CORDERO RIVERA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   192738 GLADYS CORDERO SERRANO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   192739 GLADYS CORDERO VAZQUEZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   660056 GLADYS CORTES CALO                          COND ENCANTADA MONTECILLO I 1804                                                                                    TRUJILLO ALTO     PR         00976
   660057 GLADYS CORTES NIEVES                        URB VENUS GARDENS         1730 CALLE ASTER                                                                          SAN JUAN          PR         00926‐4827
   192740 GLADYS CORTES RODRIGUEZ                     REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   660058 GLADYS COSME                                BARRIO TIBE SECTORLA ZARZA   KM8 H2 CARR 503                                                                        PONCE             PR         00731
   660059 GLADYS COSME COTTO                          URB TORITO                   B 2‐9 CALLE 1                                                                          CAYEY             PR         00736
   192741 GLADYS CRUZ ESTRADA                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                   F42 CALLE 17 URB BAYAMON
   660062 GLADYS CRUZ GARCIA                          BAYAMON GARDENS              GDNS                                                                                   BAYAMON           PR         00957
   660063 GLADYS CRUZ MALDONADO                       120 CALLE GUAYAMA                                                                                                   SAN JUAN          PR         00917
   192742 GLADYS CRUZ MARTINEZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   660065 GLADYS CRUZ MEDINA                          VILLA LINDA                  166 AVE INTERAMERICANA                                                                 AGUADILLA         PR         00603
   660067 GLADYS CRUZ REBOYRAS                        URB VISTA AZUL               C 34 CALLE 12                                                                          ARECIBO           PR         00612
   192743 GLADYS CRUZ VILLEGAS                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   660068 GLADYS CUBILLAN TORRES                      0PO BOX 30456                                                                                                       SAN JUAN          PR         00926
   192744 GLADYS CUEBAS GOTY                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   660069 GLADYS D ACEVEDO                            PO BOX 1534                                                                                                         GUAYNABO          PR         00970
          GLADYS D HERNANDEZ
   192745 SANTIAGO                                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   192746 GLADYS D MILLAN BONILLA                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          GLADYS D VELAZQUEZ
   660070 GUTIERREZ                                   HC 02 BOX 8778                                                                                                      YABUCOA           PR         00767
   660071 GLADYS DALECCIO TORRES                      A 7 URB VILLA CARIBE                                                                                                SANTA ISABEL      PR         00757
   660072 GLADYS DAVILA HERNANDEZ                     EL PLANTIO                   M 8 CALLE ROBLE                                                                        TOA BAJA          PR         00949
   192747 GLADYS DE JESUS                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   192748 Gladys de Jesus Chabriel                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   192749 GLADYS DE JESUS CRUZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   660074 GLADYS DE LEON ROHENA                       VILLAS DE LOIZA              AF 17 CALLE 24                                                                         CANOVANAS         PR         00729
   192750 GLADYS DEL TORO URDAZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   660077 GLADYS DEL VALLE SANCHEZ                    URB JARD DE BAYAMONTE        46 CALLE GUACAMAYO                                                                     BAYAMON           PR         00956
   660078 GLADYS DELGADO MARTINEZ                     PARADA 19                                                                                                           SAN JUAN          PR         00908
   660080 GLADYS DELIZ DE REUTIER                     P O BOX 2209                                                                                                        MOCA              PR         00676
   192752 GLADYS DENIZARD                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   660081 GLADYS DIAZ                                 PO BOX 5752                                                                                                         CAGUAS            PR         00725
   192753 GLADYS DIAZ DE JESUS                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   660082 GLADYS DIAZ DIAZ                            FLORISTERIA GLOMOUR          URB NOTREDAME               E25 LUIS MUNOZ MARIN                                       CAGUAS            PR         000725
   660084 GLADYS DIAZ MARQUEZ                         URB BOSQUE VERDE             56 CALLE FAISON                                                                        CAGUAS            PR         00727
   660085 GLADYS DIAZ RIVERA                          5TA SECC LEVITTOWN           BR 3 CALLE DR CASTELAR                                                                 TOA BAJA          PR         00949
   660086 GLADYS DUVERGE GUERRERO                     C.S.M. BAYAMON                                                                                                      Hato Rey          PR         00936



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  192754 GLADYS E COLON VELAZQUEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  660092 GLADYS E CORDERO JIMENEZ                     HC 2 BOX 9459                                                                                                QUEBRADILLAS       PR         00678‐9611
  660093 GLADYS E CRUZ TORRES                         RES PUERTA DE TIERRA       EDIF H APT 132                                                                    SAN JUAN           PR         00901
  659961 GLADYS E CRUZ VARGAS                         URB SAN RAMON SIMPLICIO    C 21 DAVID                                                                        HATILLO            PR         00659
  660094 GLADYS E DIAZ ROMAN                          URB GUARICO                T 5 CALLE 9                                                                       VEGA BAJA          PR         00693
  660095 GLADYS E EXCLUSE OLIVO                       URB PARQUE ECUESTRE        M 4 CALLE IMPERIAL                                                                CAROLINA           PR         00907‐8539

   660096 GLADYS E FIGUEROA RODRIGUEZ LA PLATA                                   B 16 CALLE TURQUIA                                                                CAYEY              PR         00736
   192755 GLADYS E GALVEZ VALENTIN    REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   192756 GLADYS E GREO MONTALVO      REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   660099 GLADYS E HERNANDEZ LIZARDI HC 2 BOX 31332                                                                                                                CAGUAS             PR         00725
          GLADYS E HERNANDEZ Y GLADYS
   192757 COLON                       REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   192758 GLADYS E HUERTA MONTANEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   660100 GLADYS E LOPEZ RIVERA                       BO OBRERO                  748 C/ 11                                                                         SAN JUAN           PR         00915
   660101 GLADYS E LOPEZ SANTOS                       URB DELGADO                G 18 CALLE 1                                                                      CAGUAS             PR         00725

   192759 GLADYS E MONTANEZ GONZALEZ REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   660103 GLADYS E NIEVES GONZALEZ   PO BOX 653                                                                                                                    ISABELA            PR         00662
   192760 GLADYS E ORTA RODRIGUEZ    REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   192761 GLADYS E PACHECO MARTES    REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   660104 GLADYS E PENA AVILES       524 CALLE RIERA                             PARADA 25 Y MEDIA                                                                 SAN JUAN           PR         00909
   660105 GLADYS E PEREZ ALDEA       QUEBRADA GRANDE                             HC 02 BOX 21691                                                                   MAYAGUEZ           PR         00680
   192764 GLADYS E PEREZ OCASIO      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   192765 GLADYS E PINERO FAJARDO    REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          GLADYS E PONCE DE LEON
   660107 BARRETO                    BO BARRAZAS                                 HC 3 BOX 12465                                                                    CAROLINA           PR         00987
                                     BO MED BAJA SECTOR
   660108 GLADYS E RIVERA GARCIA     HONDURAS                                    BOX 46                                                                            LOIZA              PR         00772
   192767 GLADYS E RIVERA MORALES    REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   660109 GLADYS E RIVERA TORRES     BOX 474                                                                                                                       SAN LORENZO        PR         00754
   660110 GLADYS E RIVERA VAZQUEZ    HC 71 BOX 2765                                                                                                                NARANJITO          PR         00719‐9709
   192769 GLADYS E RODRIGUEZ MATOS   REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   660112 GLADYS E RODRIGUEZ MERCADO URB ALTURAS DE BUCARABONES 3 Q 11 CALLE 40                                                                                    TOA ALTA           PR         00953

   192770 GLADYS E RODRIGUEZ TORRES                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   660113 GLADYS E ROJAS BERNARD                      SANTA JUANITA NH 8         CALLE PANCA                                                                       BAYAMON            PR         00956
   660114 GLADYS E ROLDAN CORTES                      155 REPARTO SAN JUAN       CALLE B                                                                           ARECIBO            PR         00613
          GLADYS E ROSADO PARA ETHAN
   192771 L MILLAN                                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   660116 GLADYS E ROSARIO GONZALEZ                   PO BOX 186                                                                                                   TOA ALTA           PR         00953
   660117 GLADYS E SANCHEZ SANCHEZ                    PO BOX 6001 SUITE 053                                                                                        SALINAS            PR         00751

   660118 GLADYS E SANTANA FERNANDEZ                  CONDOMINIO COLUMBIA PLAZA APTO 301 CALLE COMBIA   UNIVERSITY GARDENS                                         RIO PIEDRAS        PR         00927
          GLADYS E SEPULVEDA /INST
   660119 INVESTIGACION C                             917 AVE TITO CASTRO                                                                                          PONCE              PR         00731
   192772 GLADYS E SIERRA MONTANEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   192773 GLADYS E SOTO TORRES                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED




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   660121 GLADYS E TAVAREZ GONZALEZ                   238 LAWRENCE              AVE MAMARONECK                                                                        MAMARONECK          NY           10543
   192774 GLADYS E TORRES RIVERA                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660122 GLADYS E VAZQUEZ ALONSO                     URB CAGUAS NORTE          AC‐38 CALLE NEBRASKA                                                                  CAGUAS              PR           00725

   660123 GLADYS E VAZQUEZ SANTIAGO                   URB PORTAL DE LOS PINOS   C 46 CALLE 2                                                                          SAN JUANQ           PR           00926
   192775 GLADYS E VEGA RODRIGUEZ                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192776 GLADYS E VELEZ LOPEZ                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660125 GLADYS E. MENDEZ                            HC 1 BOX 5746                                                                                                   CAMUY               PR           00627
   192778 GLADYS E. RAMOS CLAUDIO                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192780 GLADYS E. RODRIGUEZ PEREZ                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GLADYS E. TOLEDO
   192781 CARRASQUILLO                                REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   660126 GLADYS E. VARGAS RODRIGUEZ                  PMB 109 PO BOX 6017                                                                                             CAROLINA            PR           00984 6017

   192782 GLADYS ECHEVARRIA GUTIERREZ REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   660127 GLADYS ECHEVARRIA ROSADO                    P O BOX 9718                                                                                                    CIDRA               PR           00739
   192783 GLADYS ESTEVES CASIANO                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GLADYS ESTHER ACEVEDO
   660128 ROBLES                                      URB TORRIMAR              1422 CALLE GRANADA                                                                    GUAYNABO            PR           00966
          GLADYS ESTHER CARPIO
   192784 HIDALGO                                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192785 GLADYS ESTHER MALAVE                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192786 GLADYS ESTRADA LOPEZ                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192787 GLADYS F GREVI LLANOS                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660130 GLADYS F RIVERA RIVERA                      COND WINDSOR TOSER        410 AVE DE DIEGO APT 607                                                              SAN JUAN            PR           00923
   660131 GLADYS F. DE MU±IZ                          F15 CALLE ELEMI           URB ALT DE SANTA MARIA                                                                GUAYNABO            PR           00965
   192788 GLADYS FELICIANO AYALA                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   192789 GLADYS FELICIANO FRATICELLI                 REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   192790 GLADYS FELICIANO GONZALEZ                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660135 GLADYS FELICIANO ROSARIO                    PO BOX 493                                                                                                      TOA BAJA            PR           00951
   192792 GLADYS FELIX HERNANDEZ                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192793 GLADYS FERNANDEZ ALVAREZ                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192794 GLADYS FERNANDEZ GINORIO                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   192795 GLADYS FERNANDEZ GONZALEZ                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660136 GLADYS FERNANDEZ ROSADO                     HC 43 BOX 11056                                                                                                 CAYEY               PR           00736
   660138 GLADYS FERRER CLEMENTE                      CARRETERA 887 KM 4 H 2                                                                                          CAROLINA            PR           00985
   660140 GLADYS FIGUEROA                             14 CALLE CESARI                                                                                                 YAUCO               PR           00698‐3503
   660143 GLADYS FIGUEROA RIVERA                      HC 02 BOX 7973                                                                                                  CIALES              PR           00638
   192797 GLADYS FIGUEROA SANCHEZ                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192798 GLADYS FIGUEROA VELEZ                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660144 GLADYS FLECHA DELGADO                       URB CONDADO MODERNO       K 4 CALLE 8                                                                           CAGUAS              PR           00725
   192799 GLADYS FLORES                               REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192800 Gladys Flores Garcia                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192801 GLADYS FLORES RODRIGUEZ                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660145 GLADYS FLORES RUIZ                          HC 04 BOX 49735                                                                                                 CAGUAS              PR           00725
   660146 GLADYS FLORES SERRANO                       JARDINES DE BARCELONA     B 13 CALLE 6                                                                          JUNCOS              PR           00777
   192802 GLADYS FORNARIS AGUILU                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          GLADYS FRANCIS Y/O FUNERARIA
   660147 VALENTIN                     BO INGENIO                                359 CALLE BUENOS AIRES                                                                    TOA BAJA            PR           00949
   192803 GLADYS FRANCISQUINI CRUZ     REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192805 GLADYS G GONZALEZ            REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192806 GLADYS G MEDINA VAZQUEZ      REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   192808 GLADYS G RODRIGUEZ CASIANO                  REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192809 GLADYS G ROSARIO OTERO                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192811 GLADYS GALARZA QUILES                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660150 GLADYS GARAY FIGUEROA                       PO BOX 175                                                                                                           CULEBRA             PR           00775
   660151 GLADYS GARAY SANCHEZ                        HC 02 BOX 30434                                                                                                      CAGUAS              PR           00725‐9405
   660152 GLADYS GARCIA DIAZ                          H C 5 BOX 54542                                                                                                      CAGUAS              PR           00725 9211

   660154 GLADYS GARCIA MALDONADO                     PO BOX‐1052                                                                                                          TOA ALTA            PR           00954
   659962 GLADYS GARCIA MORALES                       URB VILLA DE SAN ANTON     I 8 CALLE ECOLASTICO DIAZ                                                                 CAROLINA            PR           00987
   192814 GLADYS GARCIA MUNOZ                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192815 GLADYS GARCIA PENA                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192816 GLADYS GARCIA REYES                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192817 GLADYS GERENA CUEVAS                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192818 GLADYS GOITIA SANTIAGO                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660158 GLADYS GOLBERG DAVILA                       504 CALLE LAS FLORES                                                                                                 CABO ROJO           PR           00823
          GLADYS GONZALEZ / BRENDA A
   192819 MALARET                                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660159 GLADYS GONZALEZ AGRONT                      PO BOX 923                                                                                                           ISABELA             PR           00662
   660160 GLADYS GONZALEZ CARDONA                     PO BOX 1675                                                                                                          TOA BAJA            PR           00951
   660161 GLADYS GONZALEZ CASTRO                      BO MAMEYAL                                                                                                           DORADO              PR           00612
   660162 GLADYS GONZALEZ COLON                       HC 2 BOX 12326                                                                                                       MOCA                PR           00676
   192820 GLADYS GONZALEZ CRUZ                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192821 GLADYS GONZALEZ GARCIA                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   660163 GLADYS GONZALEZ GONZALEZ                    COND PLAZA DE TORRIMAR I   AVE LOS FILTROS APT B 1                                                                   BAYAMON             PR           00959

   660164 GLADYS GONZALEZ HERNANDEZ HC 5 BOX 10480                                                                                                                         MOCA                PR           00676

   660165 GLADYS GONZALEZ LIZARDI                     BAIROA                     AR7 CALLE 29 URB RESIDENCIAL                                                              CAGUAS              PR           00725

   660166 GLADYS GONZALEZ MARTINEZ                    239 CALLE TAMARINDO                                                                                                  ARECIBO             PR           00612
   192822 GLADYS GONZALEZ MENDEZ                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   192823 GLADYS GONZALEZ RODRIGUEZ                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660168 GLADYS GONZALEZ TORRES                      URB LOS CERROS             D6                                                                                        ADJUNTAS            PR           00601

   660170 GLADYS GONZALEZ VELAZQUEZ                   URB VALLE ALTO             G 39 CALLE 14                                                                             PONCE               PR           00731
   660171 GLADYS GONZALEZ VIERA                       19 CALLE PERU                                                                                                        AGUADILLA           PR           00606 5218
                                                      PSIQUIATRIA FORENSE RIO
   660172 GLADYS GRACIA ROMERO                        PIEDRAS                                                                                                              San Juan            PR           00936
   660175 GLADYS GUINDIN                              UNIVERSITY GARDENS         H 18 CALLE 4                                                                              ARECIBO             PR           00612
   660176 GLADYS GUTIERREZ                            VENUS GARDENS              1769 PEGASO                                                                               SAN JUAN            PR           00926
   192824 GLADYS GUTIERREZ PEREZ                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660177 GLADYS GUTIERREZ SANTOS                     HC 44 BOX 12807                                                                                                      CAYEY               PR           00736
   660178 GLADYS GUZMAN                               SIERRA BAYAMON             78‐12 CALLE 45                                                                            BAYAMON             PR           00961
   192825 GLADYS GUZMAN GARCIA                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   192826 GLADYS GUZMAN GONZALEZ                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  192828 GLADYS HEBEN ROMAN                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  660180 GLADYS HERNANDEZ                             URB PUERTO NUEVO            411 CALLE ARAGON                                                                      SAN JUAN            PR         00920

   659963 GLADYS HERNANDEZ DELGADO                    PO BOX 858                                                                                                        JUNCOS              PR         00777
          GLADYS HERNANDEZ
   660181 HERNANDEZ                                   HC 2 BOX 11435                                                                                                    MOCA                PR         00676
   660182 GLADYS HERNANDEZ ORTIZ                      PO BOX 1330                                                                                                       MAYAGUEZ            PR         00681

   660184 GLADYS HERNANDEZ PIZARRO                    VILLA CAROLINA              3‐3 CALLE 29                                                                          CAROLINA            PR         00985
   660185 GLADYS HERNANDEZ RAMOS                      BO CAMASEYES                HC 01 BUZON 11837                                                                     AGUADILLA           PR         00603
   660186 GLADYS HERNANDEZ RIVERA                     PO BOX 194051                                                                                                     SAN JUAN            PR         00919‐4051
   660187 GLADYS HERNANDEZ SUAREZ                     415 PEDRO DIAZ CORREA                                                                                             SAN JUAN            PR         00923
   660188 GLADYS HUERTA RIVERA                        PO BOX 1864                                                                                                       BAYAMON             PR         00956
   660189 GLADYS HUERTAS RIVERA                       P M B 164                   BOX 2400                                                                              TOA BAJA            PR         00951‐2400
   192831 GLADYS HUERTAS TORRES                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192833 GLADYS I AVILES SANTIAGO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660190 GLADYS I CARO                               COND FATIMA APT 2 A         1406 CALLE ALDEA                                                                      SAN JUAN            PR         00907
   192834 GLADYS I CINTRON CINTRON                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192835 GLADYS I CUBERO SANCHEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192836 GLADYS I DELGADO IRIZARRY                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660192 GLADYS I FIGUEROA GARCIA                    URB VILLA DE LOIZA          TT 23 CALLE 28A                                                                       CANOVANAS           PR         00729
   192838 GLADYS I IZQUIERDO GARCIA                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192839 GLADYS I OLIVERAS                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660193 GLADYS I PADILLA SANTOS                     2221 PASEO AMAPOLA          LEVITTOWN                                                                             TOA BAJA            PR         00649

   660194 GLADYS I SEPULVEDA TRINIDAD                 4TA SECCION VILLA DEL REY   NN 5 CALLE 18                                                                         CAGUAS              PR         00725
   660195 GLADYS I SNEED SUAREZ                       PMB 11 PO BOX 2510                                                                                                TRUJILLO ALTO       PR         00977
   192840 GLADYS I VIDAL RODRIGUEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   659964 GLADYS IGLESIAS RODRIGUEZ                   PO BOX 192113                                                                                                     SAN JUAN            PR         00919
   192845 GLADYS IZQUIERDO CENTENO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192846 GLADYS J ARROYO DE JESUS                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192847 GLADYS J CASTRO VEGA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660197 GLADYS J GARCIA RODRIGUEZ                   COND INTERAMERICANA         EDIF B 29 APT 3 B                                                                     TRUJILLO ALTO       PR         00976
   192849 GLADYS J RAMOS VALENTIN                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660198 GLADYS J ROSADO                             PO BOX 3042                                                                                                       ARECIBO             PR         00613
   660199 GLADYS J SANTOS SANCHEZ                     BO PLAYA SECTOR CONUCO                                                                                            AGUIRRE             PR         00704
   192850 GLADYS JIMENEZ ALVARADO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660201 GLADYS JUANITA CRUZ DIAZ                    JARDINES DEL CARIBE         7 CALLE E                                                                             CAYEY               PR         00736
   660202 GLADYS L CRESPO ALEQUIN                     BO PARIS                    61 CALLE MIGUEL A SANTIN                                                              MAYAGUEZ            PR         00680
   192851 GLADYS L ESPADA PINEIRO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192852 GLADYS L FERRER URBINA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   192853 GLADYS L JORGE TORRES                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660203 GLADYS L MSURIS ROSA                        URB LOS CAOBOS              2439 CALLE PENDULA                                                                    PONCE               PR         00716‐2718
   660204 GLADYS L TORRES SANTIAGO                    P O BOX 194393                                                                                                    SAN JUAN            PR         00919‐4393
   660206 GLADYS LABOY LABOY                          URB MENDEZ NUM 94                                                                                                 YABUCOA             PR         00767
   660207 GLADYS LEBRON FIGUEROA                      3RA EXT COUNTRY CLUB        HF 14 CALLE 224                                                                       CAROLINA            PR         00982
          GLADYS LINETTE RODRIGUEZ
   660209 GONZALEZ                                    COND GALIA MIRAMAR APT 41   700 CALLE ROOSEVELT                                                                   SAN JUAN            PR         00907
          GLADYS LISETTE RODRIGUEZ
   192856 GONZALEZ                                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660211 GLADYS LIZ CATERING                         HC 01 BOX 7911                                                                                                    LOIZA               PR         00772
   192857 GLADYS LIZARDI RIVERA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660212 GLADYS LLANOS ESQUILIN                      URB SANTIAGO                56 CALLE B                                                                            LOIZA               PR         00772



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  660213 GLADYS LOPEZ CASTILLO                        PO BOX 1015                                                                                                        HATILLO               PR         00659
  192858 GLADYS LOPEZ QUINONEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  660214 GLADYS LOPEZ RIVERA                          RUTA 10 BOX 59                                                                                                     ISABELA               PR         00662
  660217 GLADYS LOPEZ RODRIGUEZ                       ROSALEDA                     RG 7 NUM 2 CALLE JASMIN                                                               LEVITOWN TOA BAJA     PR         00949
  192859 GLADYS LOPEZ SIERRA                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  192860 GLADYS LOZADA DIAZ                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  660218 GLADYS LUGO CRUZ                             P O BOX 51948                                                                                                      TOA BAJA              PR         00950‐1948
  660219 GLADYS LUGO LAVIENA                          HC 02 BOX 8809                                                                                                     YABUCOA               PR         00767

   660220 GLADYS LUNA RIVERA                          URB JARDINES METROPOLITANO 301 CALLE 32                                                                            SAN JUAN              PR         00927
   660221 GLADYS M ABREU                              P O BOX 607                                                                                                        ISABELA               PR         00662
   660222 GLADYS M AGOSTO SANCHEZ                     URB VILLA CLARITA          B 4 CALLE REBOLLO                                                                       FAJARDO               PR         00738
   660223 GLADYS M ALBAN DURAN                        URB COSTA AZUL             S 21 CALLE 28                                                                           GUAYAMA               PR         00784
   192861 GLADYS M ALEMAN PACHECO                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   192862 GLADYS M BENITEZ DIAZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   660225 GLADYS M CANALS PORTALATIN                  HC 5 BOX 25172                                                                                                     CAMUY                 PR         00629
          GLADYS M CANTERO
   660226 HERNANDEZ                                   URB JARD DE DORADO           E 14 CALLE 2                                                                          DORADO                PR         00646
   192863 GLADYS M CARAZO                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   192864 GLADYS M CESINO HAURON                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   660227 GLADYS M CIURO DIAZ                         CARR 856 KM 9 5 BO CARRUZO                                                                                         CAROLINA              PR         00987
   192865 GLADYS M DIAZ PEDROGO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   660229 GLADYS M ESPADA ORTIZ                       BO BIO JUEYES PARC NUEVAS    533 CALLE 1                                                                           COAMO                 PR         00769

   192866 GLADYS M GONZALEZ FIGUEROA REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   660230 GLADYS M GONZALEZ MARTINEZ 413 CUMBRE MIRADEROS                                                                                                                MAYAGUEZ              PR         00682
   192867 GLADYS M GONZALEZ ORTIZ    REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   660232 GLADYS M HERNANDEZ                          ESCUELA PEDRO PEREA FAJARDO P O BOX 1050                                                                           MAYAGUEZ              PR         00680
                                                                                  151 CESAR GONZALEZ APT 2‐
   660233 GLADYS M JIMENEZ NIEVES                     COND PLAZA ANTILLANA        1603                                                                                   SAN JUAN              PR         00918‐1463
   192868 GLADYS M LAURA CORREA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   192870 GLADYS M LOPEZ SANTIAGO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   192872 GLADYS M MEDIINA COLLAZO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
          GLADYS M OLAVARRIA
   660234 MARCANO                                     ISLOTE 2                     151 CALLE 4                                                                           ARECIBO               PR         00612

   660236 GLADYS M OLIVERA RODRIGUEZ                  RES MANUEL A PEREZ           EDIF D‐7 APT 89                                                                       SAN JUAN              PR         00923
   192873 GLADYS M ORTIZ DIAZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   192874 GLADYS M OTERO LOPEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   660237 GLADYS M PEREZ BADILLO                      BO PILETAS ARCE              HC 1 BOX 3672                                                                         LARES                 PR         00669
   660238 GLADYS M PEREZ CRUZ                         7023 B REPTO DOMENECH        AVE AGUSTIN RAMOS CALERO                                                              ISABELA               PR         00662
   660239 GLADYS M PEREZ LABOY                        URB ALTURAS VILLAS DEL REY   L 32 CALLE HOLANDA                                                                    CAGUAS                PR         00725
   192875 GLADYS M RIOS ORTIZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   660240 GLADYS M RIVERA CASTRO                      FLAMBOYAN GARDENS            A 39 CALLE 3                                                                          BAYAMON               PR         00959
   192876 GLADYS M RIVERA GONZALEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   192877 GLADYS M RIVERA NARVAEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
          GLADYS M RIVERA Y JOSE A
   660241 RIVERA                                      URB LAS CAROLINAS III        BOX 207                                                                               CAGUAS                PR         00727‐7912




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   192878 GLADYS M RODRIGUEZ VALENTIN REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   660242 GLADYS M ROMAN FELICIANO     RES LA CEIBA                                 30 APT 251                                                                                 PONCE                PR           00716
   660243 GLADYS M ROSA TORRES         HC 01 BOX 5866                                                                                                                          HORMIGUEROS          PR           00660
          GLADYS M ROSARIO / BONIFACIA
   192879 GONZALEZ                     REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192880 GLADYS M TORRES DE JESUS     REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   660247 GLADYS M VALENTIN CUBERO                    13 CALLE J MOLINA RODRIGUEZ                                                                                              SAN SEBASTIAN        PR           00685
   192881 GLADYS M VEGA QUINONES                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192882 GLADYS M VELEZ PARRILLA                     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192883 GLADYS M. ACEVEDO NIEVES                    REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GLADYS M. BASTARDO
   192884 VELAZQUEZ                                   REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GLADYS M. RODRIGUEZ
   192885 MARRERO                                     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192886 GLADYS MAISONET MARTINEZ                    REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192887 GLADYS MALAVE RODRIGUEZ                     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   660251 GLADYS MALDONADO                            HC 01 BOX 2814                                                                                                           MAROVIS              PR           00687

   660252 GLADYS MALDONADO CABRERA PO BOX 2684                                                                                                                                 VEGA BAJA            PR           00694‐2684
                                                                                    H 6 CARR 694 K 1 SEC MAYSONET
   660255 GLADYS MALDONADO OQUENDO BO MAGUAYO                                       I                                                                                          DORADO               PR           00646
   660257 GLADYS MALDONADO REYES   HC 2 BOX 7284                                                                                                                               UTUADO               PR           00641‐9507
   660258 GLADYS MALDONADO RIVERA  PO BOX 737                                                                                                                                  COMERIO              PR           00782

   660259 GLADYS MALDONADO ROSADO                     URB VICTOR ROJAS II           63 CALLE 10                                                                                ARECIBO              PR           00612
   660261 GLADYS MALTES MARTIR                        URB VILLA SERAL B 11          CALLE 3                                                                                    LARES                PR           00669‐3004

   660262 GLADYS MAR SANTIAGO PAGAN ALTURAS DE BAYAMON                              8 CALLE 1                                                                                  BAYAMON              PR           00956
          GLADYS MARCANO CRUZ DBA
   660263 PAYASA MIA MIA             TOA ALTA HEIGHTS                               J 33 CALLE 3                                                                               TOA ALTA             PR           00953
   660264 GLADYS MARCANO RIVERA      VILLA 2000                                     478 CALLE CARIDAD                                                                          DORADO               PR           00646
          GLADYS MARGARITA RODRIGUEZ
   192889 GONZALEZ                   REDACTED                                       REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   660267 GLADYS MARIA FIGUEROA      PO BOX 507                                                                                                                                COTO LAUREL          PR           00780

   192890 GLADYS MARIA VAZQUEZ NIEVES REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   660268 GLADYS MARRERO SANTIAGO     BOX 2201                                                                                                                                 MOROVIS              PR           00687
                                                                                    302 C/PROF ERNESTO
   660269 GLADYS MARTINEZ CRUZ                        VILLA PALMERA                 VIGOREAUX                                                                                  SAN JUAN             PR           00915
   660271 GLADYS MARTINEZ DAVID                       BDA POLVORIN                  10 CALLE 6                                                                                 CAYEY                PR           00736
          GLADYS MARTINEZ PARA
   660273 VIVIANYJESUSTORRES                          URB LAS MONJITAS              CALLE FATINA 155                                                                           PONCE                PR           00730‐3915
   192891 GLADYS MARTINEZ PIZARRO                     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192892 GLADYS MARTINEZ RIVERA                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   660274 GLADYS MATOS                                124 GALE PLACE APT 4C                                                                                                    BRONX                NY           10463
   192894 GLADYS MATOS NIEVES                         REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   192895 GLADYS MATOS PEREZ                          REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   660277 GLADYS MEAUX CORREA                         COLLEGE PARK                  1828 CALLE GLASGOW                                                                         SAN JUAN             PR           00921
   192896 GLADYS MEDINA ACEVEDO                       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   660278 GLADYS MEDINA ANDUJAR                       HC 2 BOX 13850                                                                                                           ARECIBO              PR           00612
   192897 GLADYS MEDINA FELICIANO                     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  660279 GLADYS MEDINA HERNANDEZ                      P O BOX 431                                                                                                     BARCELONETA       PR           00617‐0431
  660280 GLADYS MEDINA TORRES                         SANTA CLARA               W 6 CALLE ANAMU                                                                       GUAYNABO          PR           00969
  660283 GLADYS MELENDEZ MORALES                      PO BOX 34421                                                                                                    PONCE             PR           00734‐4421
  660284 GLADYS MELENDEZ ORTIZ                        RIO CANAS                 2329 CALLE YAGUEZ                                                                     PONCE             PR           00728‐1838

   660285 GLADYS MELENDEZ SANTIAGO                    PO BOX 37242                                                                                                    SAN JUAN          PR           00937
   660287 GLADYS MENDEZ COLLAZO                       FLORAL PARK               508 CALLE ITALIA                                                                      SAN JUAN          PR           00917
   660288 GLADYS MERCADO BINET                        HC 01 BOX 27411                                                                                                 CABO ROJO         PR           00623‐9723
   660289 GLADYS MERCADO BONILLA                      HC 01 BOX 3779                                                                                                  VILLALBA          PR           00766

   192900 GLADYS MERCADO GANDULLA                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   660290 GLADYS MERCADO RODRIGUEZ                    VALLE HERMOSO             SZ3 CALLE CIRCULO MAGICO                                                              HORMIGUEROS       PR           00660
   192901 GLADYS MERCADO ROSA                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   192902 GLADYS MOJICA CAMACHO                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   660291 GLADYS MOJICA MARTINEZ                      URB. VILLA CAROLINA       132‐39 INOCENCIO CRUZ                                                                 CAROLINA          PR           00985
   192905 GLADYS MONGE PIZARRO                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   192906 GLADYS MONTALVO MENDEZ                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   660294 GLADYS MONTERO MATOS                        COND CHALETS BAYAMON      EDIF 15 APTO 1512                                                                     BAYAMON           PR           00959
   192907 GLADYS MORALES APONTE                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          GLADYS MORALES
   660295 CARRASQUILLO                                CND JARDINES FRANCIA      APT 205 CALLE FRANCIA                                                                 SAN JUAN          PR           00917
   660296 GLADYS MORALES GONZALEZ                     741 BEACON CIRCLE                                                                                               SPRINGFIELD       MA           01119
   660297 GLADYS MORALES MENDEZ                       VILLAS DE LOIZA           CALLE 19                                                                              CANOVANAS         PR           00729
   660299 GLADYS MOREL PAULINO                        JARDINES DE BUENA VISTA   A 11 CALLE B                                                                          CAROLINA          PR           00985
   192908 GLADYS MORENO DIAZ                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   660300 GLADYS MORENO RODRIGUEZ                     BO QUEBRADA NEGRITO       CARR 181 KM 10 8                                                                      TRUJILLO ALTO     PR           00976
   660301 GLADYS MULERO ALICEA                        URB VILLA BLANCA 30       CALLE DIAMANTE                                                                        CAGUAS            PR           00725
   660302 GLADYS MULERO JOUBERT                       EXT SANTA ELENA           B2‐5 CALLE A                                                                          BAYAMON           PR           00957
   192909 GLADYS MUNIZ DIAZ                           REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   192910 GLADYS MUNIZ SANTOS                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   660303 GLADYS N ABREU                              2018 AVE BORINQUEN                                                                                              SAN JUAN          PR           00916

   192913 GLADYS N CENTENO RODRIGUEZ REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   192914 GLADYS N COLON ROSADO      REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   660304 GLADYS N COLON VEGA        8 CALLE LAS FLORES                                                                                                               MOROVIS           PR           00687
   192915 GLADYS N PADILLA ORTIZ     REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   192916 GLADYS N QUINONES CRESPO   REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   660305 GLADYS N RAMOS RIVERA      HC 71 BOX 2483                                                                                                                   NARANJITO         PR           00719
                                     BO BUENOS AIRES SECTOR LA
   660306 GLADYS N RIVERA ALICEA     MATILDE                                    HC 02 BOX 6546                                                                        LARES             PR           00609
   660307 GLADYS N TORRES DIAZ       URB ALTO APOLO                             2115 CALLE ARCADIA                                                                    GUAYNABO          PR           00969

   192917 GLADYS N. GARCIA SOTOMAYOR                  REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   660309 GLADYS NATAL GUTIERREZ                      PO BOX 4020                                                                                                     ARECIBO           PR           00612
   660311 GLADYS NAVARRO DEL VALLE                    PARCELAS CARMEN           36G CALLE AVESTRUZ                                                                    VEGA ALTA         PR           00692
   192918 GLADYS NAVARRO MIRANDA                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   660312 GLADYS NEGRON                               PO BOX 874                                                                                                      VILLALBA          PR           00766‐0874

   660314 GLADYS NEGRON CARRASQUILLO URB VILLAS DE LOIZA                        S 5 CALLE 19                                                                          CANOVANAS         PR           00729
   660315 GLADYS NEGRON FRANCO       VILLAS DE FLORIDA                          F1                                                                                    FLORIDA           PR           00650
   192919 GLADYS NEGRON MOLINA       REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  660317 GLADYS NELIDA DIAZ DIAZ                       PO BOX 7428                                                                                                    SAN JUAN            PR           00916

   660323 GLADYS NIEVES CEPERO                         F 6 CALLE MAIN SANTA MARIA                                                                                     TOA BAJA            PR           00949
   192920 GLADYS NIEVES LOPEZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660324 GLADYS NIEVES MATOS                          P O BOX 183                                                                                                    NARANJITO           PR           00719
          GLADYS NOEMI GUADARRAMA
   192921 AYALA                                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GLADYS O DUCOUDRAY
   192922 ACEVEDO                                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192923 GLADYS O NIEVES TORRES                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192924 GLADYS O RESTO CUADRADO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192925 GLADYS OCASIO TORRES                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660325 GLADYS OJEDA LINARES                         RES SANTA RITA               EDIF 1 APT 68                                                                     CABO ROJO           PR           00623

   192926 GLADYS OQUENDO MONTANEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660326 GLADYS OROZCO                                HC 20 BOX 26303                                                                                                SAN LORENZO         PR           00754
   660327 GLADYS ORTIZ                                 HC 5 BOX 35555                                                                                                 SAN SEBASTIAN       PR           00655
   192927 GLADYS ORTIZ ALBINO                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660328 GLADYS ORTIZ APONTE                          JARDINES DE CAYEY 1          C 46 CALLE 7                                                                      CAYEY               PR           00736
   660329 GLADYS ORTIZ BERRIOS                         HC 3 BOX 14073                                                                                                 COROZAL             PR           00783

   660330 GLADYS ORTIZ DE JESUS                        COND LAS AMERICAS TORRE II   APT 807                                                                           SAN JUAN            PR           00921
   192928 GLADYS ORTIZ GARCIA                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660331 GLADYS ORTIZ GONZALEZ                        HC 4 BOX 41901                                                                                                 HATILLO             PR           00659
   192929 GLADYS ORTIZ SANCHEZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GLADYS ORTIZ SANCHEZ /
   660332 GLADYS J FIGUEROA                            URB LEVITTOWN                AK 25 CALLE LISA                                                                  TOA BAJA            PR           00949
   660333 GLADYS ORTIZ SUAREZ                          RES VISTA HERMOSA            EDIF 58 692                                                                       SAN JUAN            PR           00921
   192930 GLADYS ORTIZ ZAYAS                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192932 GLADYS OTERO CRISTOBAL                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660334 GLADYS OTERO FLORES                          PO BOX 605                                                                                                     MOROVIS             PR           00687
   192933 GLADYS OTERO ROBLES                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192934 GLADYS OTERO VAZQUEZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   659965 GLADYS P GONZALEZ APONTE                     URB PRADO ALTO               L 8 CALLE 6                                                                       GUAYNABO            PR           00966
   660335 GLADYS PABON ROBLES                          VILLAS DE CASTRO             B 32 CALLE 5                                                                      CAGUAS              PR           00725
   192936 GLADYS PACHECO GONZALEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660336 GLADYS PADIN BERMUDEZ                        HC 03 BOX 10819                                                                                                CAMUY               PR           00627
   660337 GLADYS PAGAN COSME                           HC 2 BOX 5605                                                                                                  MOROVIS             PR           00687
   192937 GLADYS PAGAN JUSTINIANO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192938 GLADYS PAGAN MEDINA                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660339 GLADYS PARRILLA ORTIZ                        P O BOX 6072                                                                                                   LOIZA               PR           00772
   192939 GLADYS PENA                                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192940 GLADYS PENA NEGRON                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192941 GLADYS PERALES RIVERA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660341 GLADYS PEREZ DELGADO                         HC 61 BOX 4439                                                                                                 TRUJILLO ALTO       PR           00976
   660342 GLADYS PEREZ ESPINOSA                        HC 08 BOX 54104                                                                                                HATILLO             PR           00659‐9803
   192942 GLADYS PEREZ LEBRON                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192943 GLADYS PEREZ ORTIZ                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192944 GLADYS PEREZ RODRIGUEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   659966 GLADYS PEREZ RODRIQUEZ                       ADM SERV GENERALES           PO BOX 7428                                                                       SAN JUAN            PR           00916‐7428
   192945 GLADYS PEREZ SEGUI                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660345 GLADYS PEREZ TORRES                          HC 01 BOX 6602                                                                                                 AGUAS BUENAS        PR           00703
   192947 GLADYS PINERO RIVERA                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  660347 GLADYS PINET PIZARRO                         EXT ALAMAR                    BLQ M‐20 CALLE M                                                                 LUQUILLO            PR           00773

   192948 GLADYS POLANCO MALDONADO REDACTED                                         REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GLADYS PORTUONDO
   192949 DOMINICCI                REDACTED                                         REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660348 GLADYS QUILES ROSADO     HC 02 BOX 25952                                                                                                                   MAYAGUEZ            PR           00680‐9053
   192950 GLADYS QUINONES IRIZARRY REDACTED                                         REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192952 GLADYS QUINONES LUCIANO  REDACTED                                         REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   192953 GLADYS QUINONES RODRIGUEZ                   REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   660349 GLADYS QUINTANA MARRERO                     COND VISTA DEL RIO APT 26 A   8 CALLE 1                                                                        BAYAMON             PR           00959
   660350 GLADYS R CAPELLA NOVA                       PO BOX 8133                                                                                                    ARECIBO             PR           00613
   660351 GLADYS R MENDEZ MIRANDA                     COND FLAMBOYAN APT 310        864 AVE ASHFORD                                                                  SAN JUAN            PR           00907
   660352 GLADYS R REYES RODRIGUEZ                    PO BOX 1731                                                                                                    COAMO               PR           00769
   660353 GLADYS RAMIREZ DE LA ROSA                   VILLA BORINQUEN               1321 CALLE DANUBIO                                                               SAN JUAN            PR           00920
   192954 GLADYS RAMIREZ LUGO                         REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   659968 GLADYS RAMIREZ MALDONADO                    PO BOX 367085                                                                                                  SAN JUAN            PR           00936
   192955 GLADYS RAMOS CAMACHO                        REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660354 GLADYS RAMOS GARCIA                         PO BOX 8                                                                                                       CAYEY               PR           00737
   192956 GLADYS RAMOS ORTIZ                          REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   660355 GLADYS RAMOS PONCE DE LEON SUITE 621 BOX 2500                                                                                                              TOA BAJA            PR           00949
   660356 GLADYS RAMOS RIVERA        P O BOX 30000                                  SUITE 371                                                                        CANOVANAS           PR           00729
   660357 GLADYS RAMOS RODRIGUEZ     URB RIVER VIEW                                 E 11 CALLE 7                                                                     BAYAMON             PR           00961
   660362 GLADYS RAMOS VILLARON      PO BOX 20                                                                                                                       BAJADERO            PR           00616
   660363 GLADYS REVEROL LOPEZ       VISTA AZUL                                     G 28 CALLE 7                                                                     ARECIBO             PR           00612
   192957 GLADYS REYES CORREA        REDACTED                                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192958 GLADYS REYES CRUZ          REDACTED                                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   192959 GLADYS REYES Y/O MIGUEL DIAZ REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GLADYS RIOS & KEISHLA
   192960 ECHEVARIAS RIOS              REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660365 GLADYS RIOS COLON            HC 1 BOX 2624                                                                                                                 FLORIDA             PR           00650
   660366 GLADYS RIOS CRUZ             PO BOX 9020710                                                                                                                SAN JUAN            PR           00902‐0710
   660367 GLADYS RIOS RIVERA           URB VILLA DEL REY                            4 AN 1 CALLE 6                                                                   CAGUAS              PR           00725
   660368 GLADYS RISAFI CRUZ           PO BOX 766                                                                                                                    CULEBRA             PR           00775
   660370 GLADYS RIVERA                89 METROPOLITAN OVAL                         APTO 4F                                                                          BRONX               NY           10462‐6408
          GLADYS RIVERA / MARISELA I
   192961 MARRERO                      REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   660372 GLADYS RIVERA ALVAREZ                       SECTOR CIELITO BO CONTORNO                                                                                     TOA ALTA            PR           00953
   192962 GLADYS RIVERA ANDINO                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192963 GLADYS RIVERA ANTONETTI                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192964 GLADYS RIVERA CAMACHO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660373 GLADYS RIVERA CARDONA                       URB LOS CAOBOS             2533 CALLE BAMBU                                                                    PONCE               PR           00716‐2722
   192965 GLADYS RIVERA CASILLAS                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   192968 GLADYS RIVERA COLON                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660371 GLADYS RIVERA DE RONDON                     BDA VIETNAM                11 CALLE B                                                                          GUAYNABO            PR           00965
   192970 GLADYS RIVERA DIAZ                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   660376 GLADYS RIVERA DOMINGUEZ                     VILLA PALMERA              3D‐C CALLE FAJARDO                                                                  SAN JUAN            PR           00915
   660377 GLADYS RIVERA FELICIANO                     HC 1 BOX 2188                                                                                                  MOROVIS             PR           00687



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  659969 GLADYS RIVERA GARCIA       URB VILLA PRADES 681                          FRANCISCO P CORTES                                                                      SAN JUAN          PR         00924
  660378 GLADYS RIVERA GONZALEZ     118 CALLE LANDRON                                                                                                                     ARECIBO           PR         00612
  660379 GLADYS RIVERA HERNANDEZ    COM VILLA CRISTIANA                           SOLAR 419                                                                               LOIZA             PR         00962
  192972 GLADYS RIVERA MARRERO      REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  660380 GLADYS RIVERA MARTINEZ     2N COND SAN IGNACION                                                                                                                  SAN JUAN          PR         00921
  660381 GLADYS RIVERA MEDINA       QUINTO CENTENARIO                             766 CALLE REINO ISABEL                                                                  MAYAGUEZ          PR         00680
  192974 GLADYS RIVERA MEJIAS       REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  192975 GLADYS RIVERA NEGRON       REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  660382 GLADYS RIVERA OLIVERAS     P O BOX 4185                                                                                                                          UTUADO            PR         00641
  192976 GLADYS RIVERA REYES        REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  660383 GLADYS RIVERA RIOS         URB VILLA CRIOLLO                             F 10 CALLE GUAYAMA                                                                      CAGUAS            PR         00725
  192977 GLADYS RIVERA RIVERA       REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  660385 GLADYS RIVERA RODRIGUEZ    P O BOX 331226                                                                                                                        PONCE             PR         00733‐1226
  660386 GLADYS RIVERA VEGA         2 BO BAYAMON GANDARAS                         2 BZN 22A                                                                               CIDRA             PR         00739
  192980 GLADYS ROBLEDO FONTANEZ    REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  192981 GLADYS ROBLES RUSSE        REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  192982 GLADYS RODRIGUEZ           REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                    URB JARDINES DE COUNTRY
   660390 GLADYS RODRIGUEZ ALVARADO CLUB                                          A S 19 CALLE 1                                                                          CAROLINA          PR         00983

   660391 GLADYS RODRIGUEZ ANDUJAR                    PASEO DEL PRINCIPE          110 MARGINAL D                                                                          PONCE             PR         00716

   660394 GLADYS RODRIGUEZ CONTRERAS INSTITUCIONES FINANCIERAS                    PO BOX 11855                                                                            SAN JUAN          PR         00910‐3851
   192984 GLADYS RODRIGUEZ DE JESUS  REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   660396 GLADYS RODRIGUEZ DUE O     HC 80 BOX 8104                                                                                                                       DORADO            PR         00646
   660398 GLADYS RODRIGUEZ FLORES    HC 2 BOX 12681                                                                                                                       GURABO            PR         00778

   660399 GLADYS RODRIGUEZ GONZALEZ                   6TA SECC LEVITTOWN          EE 14 CALLE JOSE S ALEGRIA                                                              TOA BAJA          PR         00949

   660401 GLADYS RODRIGUEZ MARRERO                    P O BOX 3802                                                                                                        BAYAMON           PR         00958

   192985 GLADYS RODRIGUEZ MORALES                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   192986 GLADYS RODRIGUEZ NAZARIO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   192987 GLADYS RODRIGUEZ ORTIZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   192988 GLADYS RODRIGUEZ POLANCO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   192989 GLADYS RODRIGUEZ QUINONES                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   192990 GLADYS RODRIGUEZ RAMOS                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   660404 GLADYS RODRIGUEZ RIOS                       SABALOS                     23 CALLE CARRAU                                                                         MAYAGUEZ          PR         00680‐7022
   192991 GLADYS RODRIGUEZ RIVERA                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   660406 GLADYS RODRIGUEZ RODRIGUEZ URB CAPARRA TERRACE                          1574 CALLE 16 SW                                                                        SAN JUAN          PR         00921‐1435
   192993 GLADYS RODRIGUEZ ROMAN     REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   660408 GLADYS RODRIGUEZ ROSA      PO BOX 1802                                                                                                                          ARECIBO           PR         00613
   660409 GLADYS RODRIGUEZ ROSARIO   HC 02 BOX 9131                                                                                                                       GUAYNABO          PR         00971

   192995 GLADYS RODRIGUEZ SANCHEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   192996 GLADYS RODRIGUEZ TORRES                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   660410 GLADYS RODRIGUEZ VALENTIN                   COOP CIUDAD UNIVERSITARIA                                                                                           TRUJILLO ALTO     PR         00717
          GLADYS ROIG CABRER ELDERLY
   192998 LP SE                                       PMB 140 53 AVE ESMERALDA                                                                                            GUAYNABO          PR         00969‐4429



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  192999 GLADYS ROMAN MARTINEZ                        REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  193000 GLADYS ROMAN ORTIZ                           REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  660412 GLADYS ROMAN PIZARRO                         APARTADO 450                                                                                                       LOIZA               PR         00772
         GLADYS ROMERO Y CHAMARIE
  193001 PAGAN                                        REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         GLADYS ROSA FIGUEROA Y/O
  193002 GLADYS I SURIS                               REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  660414 GLADYS ROSADO BERIO                          VILLA 2000                 339 CALLE FLOR                                                                          DORADO              PR         00646
  660415 GLADYS ROSADO FIGUEROA                       PO BOX 195                                                                                                         BAJADERO            PR         00616
  660416 GLADYS ROSADO MERCADO                        VILLA DEL CARMEN           K7 AVE CONSTANCIA                                                                       PONCE               PR         00731
  660417 GLADYS ROSADO TORRES                         URB LEVITTOWN              C2216 PASEO ALPES                                                                       TOA BAJA            PR         00949
  193003 GLADYS ROSARIO CRUZ                          REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  660419 GLADYS ROSARIO DIAZ                          BO BORINQUEN               BOX 7831                                                                                CAGUAS              PR         00725
  193004 GLADYS ROSARIO ORTEGA                        REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  193007 GLADYS ROSARIO RIOS                          REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  660420 GLADYS ROSARIO RIVERA                        HC 1 BOX 6747                                                                                                      OROCOVIS            PR         00720
  660421 GLADYS ROSAS GONZALEZ                        HC 2 BOX 25361                                                                                                     MAYAGUEZ            PR         00680
  660423 GLADYS ROSTAD                                1411 SIXTH AVENUE                                                                                                  GRAFTON             WI         53024
  660425 GLADYS RUIZ BEZARES                          HC 20 BOX 21791                                                                                                    SAN LORENZO         PR         00754
  193008 GLADYS RUIZ CANCEL                           REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  193009 GLADYS RUIZ DIAZ                             REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  660426 GLADYS RUIZ MENDOZA                          P O BOX 1320                                                                                                       VEGA BAJA           PR         00694
  660427 GLADYS RUIZ NIEVES                           RR 7 BOX 7782                                                                                                      SAN JUAN            PR         00926
  660428 GLADYS RUIZ RODIGUEZ                         HC 01 BOX 4148‐D                                                                                                   NAGUABO             PR         00718‐9704
  193010 GLADYS RUIZ RODRIGUEZ                        REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  193011 GLADYS RUIZ VILLANUEVA                       REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  193012 GLADYS S. PAGAN FERRER                       REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   660430 GLADYS SABALA DE LOS SANTOS                 1403 CALLE LATIMER                                                                                                 SAN JUAN            PR         00907
   660431 GLADYS SAETON VEGA                          HC 08 BOX 108                                                                                                      PONCE               PR         00731‐9702
   193013 GLADYS SALDANA ROSA                         REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660433 GLADYS SANCHEZ                              P O BOX 1026                                                                                                       SALINAS             PR         00751
   660434 GLADYS SANCHEZ BERMUDEZ                     JARDINES DE PALMAREJO      MM 15 CALLE 28                                                                          CANOVANAS           PR         00729
   660435 GLADYS SANCHEZ CASTRO                       PUERTO NUEVO               1218 CALLE 6 NE                                                                         SAN JUAN            PR         00920
   193014 GLADYS SANCHEZ CRUZ                         REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193016 GLADYS SANCHEZ RODRIGUEZ                    REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   660436 GLADYS SANCHEZ SANCHEZ                      URB VILLAS DE RIO GRANDE   A 7 CALLE GARCIA DE LA NOCEDA                                                           RIO GRANDE          PR       00745
   660437 GLADYS SANDOVAL GAUTIER                     LUIS LLORENS TORRES        EDIF 52 APT 1032                                                                        SAN JUAN            PR       00913
   193017 GLADYS SANTA TRINIDAD                       REDACTED                   REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   193018 GLADYS SANTALIZ PORRATA                     REDACTED                   REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   660439 GLADYS SANTANA DIAZ                         P O BOX 1303                                                                                                       TRUJILLO ALTO       PR       00977
   660440 GLADYS SANTANA NIEVES                       PO BOX 141791                                                                                                      ARECIBO             PR       00614
   660441 GLADYS SANTANA ORTIZ                        P O BOX 419                                                                                                        HORMIGUEROS         PR       00660
   193019 GLADYS SANTANA PEREZ                        REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   660445 GLADYS SANTANA SANTIAGO                     RR3 BOX 9712                                                                                                       TOA ALTA            PR       00953
   660446 GLADYS SANTANA SOTO                         HC 02 BOX 11140                                                                                                    YAUCO               PR       00698
   193021 GLADYS SANTIAGO                             REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   193022 GLADYS SANTIAGO BECERRA                     REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   660447 GLADYS SANTIAGO BERRIOS                     HC 06 BOX 12643                                                                                                    COROZAL             PR       00783
   193023 GLADYS SANTIAGO BONILLA                     REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   193024 GLADYS SANTIAGO BURGOS                      REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED REDACTED       REDACTED



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  193025 GLADYS SANTIAGO MARTINEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  660448 GLADYS SANTIAGO MEDINA                       APARTADO 284                 BO SABANA HOYOS                                                                        ARECIBO             PR         00680
  193026 GLADYS SANTIAGO NEGRON                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  660451 GLADYS SANTIAGO SOTO                         URB VERSALLES                E 9 CALLE 4                                                                            BAYAMON             PR         00959‐2110
  193027 GLADYS SANTIAGO TORRES                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193028 GLADYS SANTIAGO VELAZQUEZ                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193029 GLADYS SANTIAGO/ JOSE OTERO REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660453 GLADYS SANTOS GONZALEZ      URB VERDE MAR                                951 CALLE 31                                                                           PUNTA SANTA         PR         00741
   660454 GLADYS SANTOS PEREZ         HC 1 BOX 7880                                                                                                                       AGUAS BUENAS        PR         00703
   660455 GLADYS SANTOS RIVERA        BO LA MARINA                                 MONACILLOS CARR 19 KM 0 8                                                              SAN JUAN            PR         00921
   660456 GLADYS SANTOS ROSARIO       VILLAS DE BUENA VISTA                        C7 CALLE ARCES                                                                         BAYAMON             PR         00956
   193030 GLADYS SANTOS TORRES        REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660457 GLADYS SASTRE DE AGUILA     257 CALLE TRAVERIS                                                                                                                  SAN JUAN            PR         00921
   660458 GLADYS SEDA CARDONA         URB LAS AMERICAS                             979 PUERTO PRINCIPE                                                                    SAN JUAN            PR         00921

   660459 GLADYS SEDA PAGAN                           RES BRISAS DE CAMPO ALEGRE   EDIF 9 APTO 135                                                                        MANATI              PR         00674
   660460 GLADYS SEPULVEDA                            PUNTO DE ORO                 26 CALLE 230                                                                           PONCE               PR         00731

   193031 GLADYS SEPULVEDA SANTIAGO                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660462 GLADYS SERRANO BERRIOS                      EL CONQUISTADOR              B 23 CALLE 2                                                                           TRUJILLO ALTO       PR         00976
   193032 GLADYS SILVA BATISTA                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193033 GLADYS SMART AGUILAR                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   660463 GLADYS SOTO COLLAZO                         C/O:ROSA DE LOS A GONZALEZ   PO BOX 5626                                                                            PONCE               PR         00733
   193034 GLADYS SOTO SANTIAGO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660464 GLADYS SOTO SOTO                            HC 5 BOX 92191                                                                                                      ARECIBO             PR         00612‐9536
   660465 GLADYS SOTOMAYOR JIRAU                      PASEO CALAMAR 3033                                                                                                  LEVITTOWN           PR         00949
   660466 GLADYS SOTOMAYOR NIEVES                     URB SAN FRANCISCO            1717 CALLE GARDENIA                                                                    SAN JUAN            PR         00927
   193035 GLADYS SUAREZ DE LEON                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193036 GLADYS SUAREZ DELGADO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660467 GLADYS SUAREZ SUAREZ                        COND MARBELLA DEL OESTE      OESTE 901                                                                              CAROLINA            PR         00979
   660468 GLADYS SUAREZ VILA                          CIUDAD JARDIN                25 CALLE MANZANILLA                                                                    GURABO              PR         00778
   660470 GLADYS T FELICIANO RIVERA                   URB ROUND HILLS 1217         CALLE AZUCENA                                                                          TRUJILLO ALTO       PR         00976
   660471 GLADYS TABOADA SALCEDO                      RR 01 BOX 13455                                                                                                     TOA ALTA            PR         00953‐9731
                                                      URB ALTURAS DE VILLA
   660472 GLADYS TAPIA CRUZ                           FONTANA                      G 7 CALLE 5                                                                            CAROLINA            PR         00982‐1601
   660473 GLADYS TAPIA RODRIGUEZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193037 GLADYS TAVAREZ REYES                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660474 GLADYS TORRES BORRERO                       HC 1 BOX 3136                                                                                                       UTUADO              PR         00641
   193038 GLADYS TORRES CORTES                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660475 GLADYS TORRES DE LEON                       RR 3 BOX 3630                                                                                                       SAN JUAN            PR         00926
   193039 GLADYS TORRES GARCIA                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660476 GLADYS TORRES LAVOY                         RES MONTE HATILLO            EDIF 1 APT 5                                                                           SAN JUAN            PR         00924
   660477 GLADYS TORRES LOZADA                        HC 02 BOX 7606                                                                                                      COROZAL             PR         00783
   193040 GLADYS TORRES MENDEZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660478 GLADYS TORRES RAMOS                         RR 4 BOX 610                                                                                                        BAYAMON             PR         00956
   660479 GLADYS TORRES RENTAS                        BO SAN ISIDRO                C10 VT BUZON 2016                                                                      CANOVANAS           PR         00739
   193042 GLADYS TORRES RIVERA                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660481 GLADYS TORRES RODRIGUEZ                     VILLAS DEL PARQUE            B 2 APT 69                                                                             JUANA DIAZ          PR         00795
   660482 GLADYS TORRES ROSADO                        RR 1 BOX 3711                                                                                                       CIDRA               PR         00739




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          GLADYS TORRES VEGA & ASSOC
   193043 PSC                                         PO BOX 192928                                                                                                 SAN JUAN            PR           00919‐2928
   193044 GLADYS TRINIDAD VAZQUEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193045 GLADYS UNIFORM WORLD                        URB ESTEVEZ                 3015 CALLE IMPERIAL                                                               AGUADILLA           PR           00603
   660484 GLADYS V LOPEZ                              P O BOX 34394                                                                                                 FORT BUCHANAN       PR           00934 0394
   193047 GLADYS V MORALES ORTIZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660486 GLADYS V RIVERA                             URB VALENCIA                303 CALLE GUIPOSCOA                                                               SAN JUAN            PR           00923
   193048 GLADYS V SIFONTES SMITH                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193049 GLADYS V SILVA RIVERA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660487 GLADYS V SUAREZ MIRANDA                     HC 3 BOX 16730                                                                                                COROZAL             PR           00783
   660488 GLADYS V VELEZ ORTIZ                        HC 2 BOX 14528                                                                                                CAROLINA            PR           00987

   660490 GLADYS VALCOURT REINHARDT                   COND PARK BLVD 411                                                                                            SAN JUAN            PR           00913

   660491 GLADYS VALENTIN CONCEPCION                  URB JARDINES DE VEGA BAJA   P 49 CALLE C                                                                      VEGA BAJA           PR           00693
   659970 GLADYS VARELA MEJIA                         HC 01 BOX 9136                                                                                                SAN SEBASTIAN       PR           00685
   660492 GLADYS VARGAS CRUZ                          PO BOX 562                                                                                                    CAROLINA            PR           00986
   660493 GLADYS VARGAS VELEZ                         RR 02 BZN 5158                                                                                                CIDRA               PR           00739
   193052 GLADYS VARIE PARIS LOPEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660494 GLADYS VAZQUEZ LOPEZ                        URB VILLA UNIVERSIDAD       B F 2 CALLE 22                                                                    HUMACAO             PR           00791
   193055 GLADYS VAZQUEZ OCASIO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193056 GLADYS VEGA BONILLA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193057 GLADYS VEGA LOPEZ                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660497 GLADYS VEGA ROSA                            HC 1 BOX 4095                                                                                                 QUEBRADILLAS        PR           00678
   660498 GLADYS VELAZQUEZ GALARZA                    URB JARDINES DEL CARIBE     EE 10 CALLE 31                                                                    PONCE               PR           00728
   193058 GLADYS VELAZQUEZ ROJAS                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256524 GLADYS VELEZ CARABALLO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660500 GLADYS VELEZ CRUZ                           P O BOX 11850 PMB 561                                                                                         SAN JUAN            PR           00922
   660501 GLADYS VELEZ DE JESUS                       COND LA ARBOLEDA            APT 1001                                                                          GUAYNABO            PR           00966
   193060 GLADYS VELEZ MONTALVO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660502 GLADYS VELEZ TORRES                         PO BOX 73                                                                                                     SALINAS             PR           00751
   193061 GLADYS VIANA DIAZ                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193062 GLADYS VILA BARNES                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193063 GLADYS VILLEGAS VILA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193064 GLADYS W CINTRON NIEVES                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193065 GLADYS W. BAEZ NEGRONI                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660504 GLADYS Y ABREU                              P O BOX 333                                                                                                   MANATI              PR           00674

   660505 GLADYS Y CARRABALLO ACOSTA URB JARDINES DEL CARIBE                      EE 3 CALLE 31                                                                     PONCE               PR           00731
          GLADYS Y MONTESINO
   193066 MARTINEZ                   REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   660506 GLADYS Y RODRIGUEZ MARTIR                   BO LA SALUD                 227 CALLE SAN RAFAEL                                                              MAYAGUEZ            PR           00680
   193067 GLADYS Y RODRIGUEZ RIVERA                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193068 GLADYS Y. MARCANO FLORES                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GLADYS YAMIRA DE LEON
   193069 PAGAN                                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193070 GLADYS YUMET CHACON                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660509 GLADYS Z CUADRADO FLORES                    6 URB EL MAESTRO                                                                                              GURABO              PR           00778

   193071 GLADYS ZAIRA GIRONA LOZADA                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660512 GLADYS ZAYAS SANTOS                         CALL BOX 51992                                                                                                TOA BAJA            PR           00950‐1992
   193072 GLADYS, GARCIA                              REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  193073 GLADYSBELL ESPINAL                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         GLADYSBETH AGOSTO
  193074 MALDONADO                                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  660513 GLADYSEL MELENDEZ RIVERA                     URB SAN FRANCISCO            155 CALLE VIOLETA                                                                       SAN JUAN            PR         00927
 1256525 GLADYSSA COLON MENDEZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  193075 GLADYVETTE ESTEVEZ VELEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  193076 GLADYVETTE FLORES RIOS                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   660514 GLADYVETTE VARGAS NAZARIO                   LOMA ALTA                    C 20 CALLE 3                                                                            CAROLINA            PR         00987

   660515 GLADYZ MEDINA SOTOMAYOR                     COND UNIVERSITY PLAZA APT 7 CALLE BAYLOR ESQ TULANE       URB SANTA ANA                                              SAN JUAN            PR         00927
   193077 GLAM CONTRACTORS                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193078 GLAMALIS SEPULVEDA MEJIAS                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193079 GLAMARI BURGOS RODRIGUEZ                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193080 GLAMARIE NUNEZ OTERO                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193082 GLAMARIE SOTO RIVERA                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193083 GLAMARIS APONTE GARCIA                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660517 GLAMARY DIAZ CORTEZ                         URB EL CONQUISTADOR          Q 12 CALLE 13                                                                           TRUJILLO ALTO       PR         00976
   660518 GLAMARY PEREZ PEDROZA                       URB LA CUMBRE                654 CALLE TAFT                                                                          SAN JUAN            PR         00926
                                                      103 CALLE GERONIMO
   660519 GLAMOUR ES LA MIA                           MARTINEZ                     SUITE 1                                                                                 AIBONITO            PR         00705
   660520 GLAMOUR FLORISTERIA                         PO BOX 9749                                                                                                          CAROLINA            PR         00988

   193086 GLANNY BERRIOS CONCEPCION                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660522 GLANVILLE PUBLISHERS,INC                    DOBBS FERRY                                                                                                          NEW YORK            NY         10522

   660523 GLARIBEL CARDONA HERNANDEZ P O BOX 7003                                                                                                                          ARECIBO             PR         00612

   193087 GLARILYS RODRIGUEZ ARROYO                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193088 GLARIMIL VELEZ CRUZ                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193089 GLARISEL RUIZ MOJICA                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193090 GLARYS E ORTIZ CINTRON                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GLASS & MIRROR
   660524 CONSTRUCTION GROUP INC                      COND MIRAMAR PLAZA           AVE PONCE DE LEON APT 19 E                                                              SAN JUAN            PR         00907
   193092 GLASS ART & MOSAIC                          JARD METROPOLITANOS          304 CALLE FARADAY                                                                       SAN JUAN            PR         00927
   660525 GLASS MAGAZINE                              647 FULTON ST                                                                                                        BROOKLYN            NY         11217
   660526 GLASS R C SERVICE                           BOX 1361                                                                                                             SAN SEBASTIAN       PR         00685
   193095 GLASSTRA ALUMINUM INC                       PO BOX 146                                                                                                           CATANO              PR         00963
   660527 GLASSTRA MANUFACTURING                      PO BOX 146                                                                                                           CATA¨O              PR         00962
                                                      COND TORRES DEL PARQUE 906
   660528 GLAUCO A PUIG                               SUR                                                                                                                  BAYAMON             PR         00956
   660529 GLAUCO A PUIG COVIOI                        URB LOMAS VERDES             CALLE LOTO BOX 27                                                                       BAYAMON             PR         00956
   660530 GLAUCO RIVERA                               URB MONTE CARLO              1387 CALLE 20                                                                           SAN JUAN            PR         00924
   660531 GLAUSMIRES REYES GARCIA                     RR 1 BOX 12227                                                                                                       TOA ALTA            PR         00953
   660532 GLAXO DE P.R.                               PO BOX 363461                                                                                                        SAN JUAN            PR         00936
   193096 GLAXO SMITHKLINE                            PO BOX 13398 STH D2230                                                                                               DURHAM              NC         27709
   660533 GLAXO SMITHKLINE P R INC                    PO BOX 70138                                                                                                         SAN JUAN            PR         00936‐7138
   193099 GLAXO SMITHKLINE P.R. INC                   P.O. BOX 363461                                                                                                      SAN JUAN            PR         00968‐0000
   660534 GLAXOWELLCOME PR INC                        PO BOX 363461                                                                                                        SAN JUAN            PR         00936‐3461
   193100 GLAXYS ORTIZ MAIZ                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660536 GLAYSA GARCIA VILLEGAS                      VILLA FONTANA                NL 4 VIA 22                                                                             CAROLINA            PR         00983
   660537 GLBERTO RIVERA DEL VALLE                    135‐13 URB VILLA CAROLINA                                                                                            CAROLINA            PR         00985



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  660538 GLECEDALIZ FERNANDEZ                         BO GALATEO                    CARR 804 KM 1 1                                                                       TOA ALTA            PR         00953
  193104 GLEIDY M IRIZARRY CASTRO                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  193105 GLEISHALYN N PAGAN RIVERA                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   660539 GLEMBY INTERNATIONAL PR INC 5000 NORMANDALE CT                                                                                                                  MINNEAPOLIS         MN         55436‐2421

   660540 GLEMENTE RAMIREZ ARELLANO                   P O BOX 506                                                                                                         MANATI              PR         00674
   193106 GLEMIF MUFFLERS                             18 CRUCE DAVILA               CARR 2 KM 56 9                                                                        BARCELONETA         PR         00617
   193108 GLEMIF MULTI SERVICE                        CARR #2 1835                                                                                                        BARCELONETA         PR         00617
   193109 GLEMIF MULTISERVICE                         18 CRUCE DAVILA                                                                                                     BARCELONETA         PR         00617
  1256526 GLEMIF MULTISERVICE CORP                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193112 GLEMIF MULTISERVICE CORP.                   1835 CARR. # 2                                                                                                      BARCELONETA         PR         00617
   193113 GLEMIF MULTISRVICE                          18 CRUCE DAVILA                                                                                                     BARCELONETA         PR         00617
   193114 GLEN ALLEN & CO INC                         PO BOX 9657                                                                                                         SANTURCE            PR         00908
   193115 GLEN DAVID ALVARADO                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193116 GLEN MIRANDA CORDERO                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193117 GLEN ROLDAN ARROYO                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   660543 GLENBROOK LIFE & ANNUITY CO                 PO BOX 3033 TAX DEP STE G2B                                                                                         NORTHBROOK          IL         60065‐3033
   660544 GLENCA RODRIGUEZ ACOSTA                     HC 2 BOX 20728                                                                                                      MAYAGUEZ            PR         00680
   193119 GLENDA ALVAREZ LOPEZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660546 GLENDA ANDINO DIAZ                          ESTANCIAS DEL MAYORAL         12013 CALLE GUAJANE                                                                   VILLALBA            PR         00766
   660547 GLENDA AROCHO MOLINA                        COND EL MONTE SUR             190 AVE HOSTOS APT 135 B                                                              SAN JUAN            PR         00918
   660548 GLENDA AVILA BURGOS                         MAGNOLIA GARDENS              W 4 CALLE 21                                                                          BAYAMON             PR         00956
   660549 GLENDA AVILES BURGOS                        RES LUIS LLORENS TORRES       EDIF 119 APTO 2209                                                                    SAN JUAN            PR         00915
   660550 GLENDA AYALA SALCEDA                        PO BOX 800                                                                                                          NAGUABO             PR         00718
   660551 GLENDA BATISTA                              RES ZORRILLA                  EDIF 4 APT 29                                                                         MANATI              PR         00674
   193120 GLENDA BERRIOS VELEZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193121 GLENDA BORGES DEL VALLE                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193122 GLENDA BOU SANTIAGO                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193123 GLENDA BUS LINE INC                         HC 73 BOX 4418                                                                                                      NARANJITO           PR         00719
   193124 GLENDA BUS LINE, INC.                       HC‐73 BOX 4418                                                                                                      NARANJITO           PR         00719‐9604
   193125 GLENDA CASADO SANTANA                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193126 GLENDA CASTRO GUTIERREZ                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   660553 GLENDA CORA                                 PARQUE SAN ANTONIO APT 1804                                                                                         CAGUAS              PR         00725
   660554 GLENDA CORTES BURGOS                        URB VILLAS DEL BOSQUE       133 C/ 10                                                                               CIDRA               PR         00739
                                                      BOX SUD SECTOR PORDO
   660555 GLENDA COTTO RIVERA                         ESCRIBANO                   BUZON 3734                                                                              CIDRA               PR         00739
   660556 GLENDA D TORRES POMALES                     P O BOX 2013                                                                                                        GUAYAMA             PR         00785
   193127 GLENDA DE JESUS RAMOS                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GLENDA DEL C DOMINGUEZ
   660557 OTERO                                       P O BOX 1955                                                                                                        MOROVIS             PR         00687
   660558 GLENDA DIAZ MALDONADO                       7 CALLE SANTIAGO                                                                                                    FAJARDO             PR         00738
   660559 GLENDA DIAZ MARTINEZ                        P O BOX 1038                                                                                                        OROCOVIS            PR         00720

   660560 GLENDA E ACEVEDO GONZALEZ                   429 CALLE JESUS RAMOS                                                                                               MOCA                PR         00676

   193128 GLENDA E ORTIZ MALDONADO                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193129 GLENDA E. PONCE MENDOZA                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193130 GLENDA FIGUEROA RODRIGUEZ                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   193131 GLENDA G SANCHEZ FERNANDEZ REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193132 GLENDA GARCIA DIEP         REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660564 GLENDA GARCIA RIVERA       HC 02 BOX 16134                                                                                                            ARECIBO             PR           00612
   660565 GLENDA GARCIA TORRES       LEVITTOWN                               DK 6 CALLE LAGO CIDRA                                                              TOA BAJA            PR           00949
   193133 GLENDA H ROSA CASTRO       REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660568 GLENDA HERNANDEZ FERRER    ADM SERV GENERALES                      PO BOX 7428                                                                        SAN JUAN            PR           00916‐7428
   193134 GLENDA I ANDINO REYES      REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660569 GLENDA I BARROSO PEREZ     PARC VAN SCOY                           B 19 CALLE 2                                                                       BAYAMON             PR           00957
   193135 GLENDA I COLON COLON       REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660570 GLENDA I COLON ORTIZ       EXT JARD DE COAMO                       H 34 CALLE 11                                                                      COAMO               PR           00769
   193136 GLENDA I CRUET GORDILS     REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660571 GLENDA I DAVILA MALAVE     P O BOX 798                                                                                                                SALINAS             PR           00751

   193137 GLENDA I DE LA TORRE RIVERA                 REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193138 GLENDA I FIRPI NIEVES                       REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GLENDA I HERNANDEZ
   660572 HERNANDEZ                                   HC 2 BOX 14567                                                                                            CAROLINA            PR           00987
   193139 GLENDA I LOMAURT VELEZ                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   660573 GLENDA I MORALES RODRIGUEZ URB MONTE OLIVO                         7 CALLE HERRA                                                                      GUAYAMA             PR           00784
   660574 GLENDA I ORTIZ RODRIGUEZ   MONTBLANC GARDENS                       EDF 3 APT 42                                                                       YAUCO               PR           00698
   193140 GLENDA I RIVERA RIVERA     REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193141 GLENDA I RODRIGUEZ GALLETTI                 REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   660575 GLENDA I SANTIAGO FIGUEROA                  HC 2 BOX 8620                                                                                             JUANA DIAZ          PR           00795
   193142 GLENDA I SOTO DIAZ                          REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193143 GLENDA I VEGA DE JESUS                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193144 GLENDA I. CABALLERO PENDAZ                  REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193145 GLENDA I. MUNIZ BADILLO                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193149 GLENDA IRIZARRY MOLINA                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660577 GLENDA J ORTIZ SEPULVEDA                    P O BOX 202                                                                                               YABUCOA             PR           00767
   193152 GLENDA JUSINO NAZARIO                       REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193153 GLENDA K. VAZQUEZ DE JESUS                  REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193154 GLENDA L ALICEA RODRIGUEZ                   REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GLENDA L ALVARADO
   193156 HERNANDEZ                                   REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193157 GLENDA L ANDINO ROLDON                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193158 GLENDA L AYALA RIVERA                       REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   660578 GLENDA L BETANCOURT RIVERA PO BOX 10000 SUITE 362                                                                                                     CANOVANAS           PR           00729

   193159 GLENDA L BONILLA MERCADO                    REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193160 GLENDA L CANCHANI FRATICELLI REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193161 GLENDA L CARABALLO FLORES                   REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660580 GLENDA L COLON DE JESUS                     PO BOX 527                                                                                                MANATI              PR           00674‐0527
   193163 GLENDA L COLON ESCALANTE                    REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193164 GLENDA L CORREA PADILLA                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  660581 GLENDA L DAVILA CORTES                       PO BOX 83                                                                                                     LA PLATA            PR         00786
  193165 GLENDA L DIAZ DE JESUS                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  193166 GLENDA L FELIX FUENTES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  193167 GLENDA L FIGUEROA LOPEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193168 GLENDA L GARCIA RODRIGUEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660583 GLENDA L GERENA RIOS                        HC 3 BOX 6505                                                                                                 HUMACAO             PR         00791‐9518

   193169 GLENDA L GONZALEZ AROCHO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   660586 GLENDA L GUEVARA MARTINEZ                   PO BOX 1722                                                                                                   ISABELA             PR         00662
   193170 GLENDA L GUZMAN GARCIA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193171 GLENDA L HIRALDO CRUZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193172 GLENDA L LEON ORTIZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193173 GLENDA L LOPEZ AVILES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   660588 GLENDA L LOPEZ CARRASQUILLO SUITE 172 BOX 1980                                                                                                            LOIZA               PR         00772
   660589 GLENDA L MARRERO TORRES     COND JARD DE SAN IGNACIO  APT 1406 B                                                                                          SAN JUAN            PR         00921
   193175 GLENDA L MATTA RIVERA       REDACTED                  REDACTED                                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                      URB CONDADO MODERNO CALLE
   660592 GLENDA L MAYMI FLORES       5 B 35                                                                                                                        CAGUAS              PR         00725
   193176 GLENDA L MIRANDA SAEZ       REDACTED                  REDACTED                                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660595 GLENDA L NIEVES             HC 33 BOX 2232                                                                                                                DORADO              PR         00646
   660596 GLENDA L ORTIZ RAMIREZ      1408 SAN RAFAEL                                                                                                               SAN JUAN            PR         00909

   193179 GLENDA L OTERO CONCEPCION                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193181 GLENDA L PEREZ PEREZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660597 GLENDA L RAMOS COLON                        URB VISTA DEL SOL           F 12 CALLE 6                                                                      GUAYAMA             PR         00784
   660598 GLENDA L RAMOS REYES                        HC 01 BOX 6871                                                                                                LAS PIEDRAS         PR         00771
   193182 GLENDA L REYES SANTINI                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660599 GLENDA L RIVAS RODRIGUEZ                    PO BOX 1281                                                                                                   SAN LORENZO         PR         00754
   193183 GLENDA L RIVERA LOPEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193184 GLENDA L RIVERA MALDONADO REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193185 GLENDA L RODRIGUEZ COLON                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193186 GLENDA L RODRIGUEZ FIGUEROA REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193188 GLENDA L ROJAS FONSECA      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193189 GLENDA L ROMAN VILLEGAS     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193190 GLENDA L ROSARIO FELICIANO                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   660600 GLENDA L SUSTACHE SUSTACHE P O BOX 1358                                                                                                                   YABUCOA             PR         00767

   660545 GLENDA L TREMOLS CALDERON                   URB ALTURAS DE RIO GRANDE   J 153 CALLE 14 H                                                                  RIO GRANDE          PR         00745
   193192 GLENDA L VELEZ FLAQUER                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193193 GLENDA L. COLON ROSADO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193194 GLENDA L. FUENTES TORRES                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193195 GLENDA L. HERNANDEZ ALAMO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193196 GLENDA L. MORALES CRUZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193197 GLENDA L. SANTIAGO PABON                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  193198 GLENDA L. TORRES LOPEZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  193199 GLENDA L. VELEZ FLAQUER                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                    103 AVE ARTERIAL HOSTOS APT
   660601 GLENDA LABADIE JACKSON                      COND BAISEDE COVE             210                                                                                      SAN JUAN            PR         00918‐2984
   193200 GLENDA LAUREANO SUAREZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193201 GLENDA LEE FIGUEROA LOPEZ                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660605 GLENDA LEE GUEVARA LOPEZ                    HC 11 BOX 12618                                                                                                        HUMACAO             PR         00791
   193203 GLENDA LEE PEREZ NEGRON                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193204 GLENDA LEE RIVERA MARTINEZ                  REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193205 GLENDA LEE RODRIGUEZ CRUZ                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193206 GLENDA LIZ GARCIA RIVERA                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660607 GLENDA LIZ LOPEZ FIGUEROA                   AVE AGUSTIN RAMOS CALERO      BOX 7293                                                                                 ISABELA             PR         00662
   193207 GLENDA LIZ LOPEZ GARCIA                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GLENDA LIZ QUINONES
   193208 VELAZQUEZ                                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   660608 GLENDA LIZ RIVERA MARTINEZ                  513 CALLE BERBE APT 3                                                                                                  SAN JUAN            PR         00912
   193209 GLENDA LIZ SILVA ROBLES                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193210 GLENDA LOPEZ DEL TORO                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193211 GLENDA LOPEZ RODRIGUEZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193213 GLENDA M BENITEZ SANTOS                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193214 GLENDA M CRESPO CORDERO                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      608 B COOP JARDINES DE SAN
   660611 GLENDA M MIRANDA TIRADO                     IGNACIO                                                                                                                SAN JUAN            PR         00927
   193217 GLENDA M NIEVES DE JESUS                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193218 GLENDA M PEREZ BAERGA                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193219 GLENDA M REYES RODRIGUEZ                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660612 GLENDA M ROSADO ORTIZ                       BO CUCHILLAS                                                                                                           COROZAL             PR         00783
   660613 GLENDA M ROVIRA ALOSNO                      HC 03 BOX 29596                                                                                                        AGUADA              PR         00602

   660614 GLENDA M TORRES VELAZQUEZ                   PO BOX 153                                                                                                             AGUAS BUENAS        PR         00703
   193220 GLENDA M VEGA RODRIGUEZ                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   660615 GLENDA M VIERA RIVERA                       BOX 9012 PLAZA CAROLINA STA                                                                                            CAROLINA            PR         00988‐9012
   193221 GLENDA M. COLON SIEMER                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193222 GLENDA M. MIRANDA TIRADO                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193223 GLENDA M. RIVERA TRICOCHE                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   660616 GLENDA MARCANO MONTALVO COND PARQUE ARCOIRIS                              227 CALLE 2 APT C 134                                                                    TRUJILLO ALTO       PR         00976
   193224 GLENDA MARTINEZ COLON   REDACTED                                          REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   660618 GLENDA MARTINEZ OTERO                       BAYALO APARTMENTS             1447 CALLE ESTRELLA APT 1404 B                                                           SAN JUAN            PR         00907
   193225 GLENDA MAYOL ALICEA                         REDACTED                      REDACTED                       REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   660620 GLENDA MERCADO FIGUEROA                     P O BOX 172                                                                                                            ARECIBO             PR         00652

   193226 GLENDA MERCADO RODRIGUEZ                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   660621 GLENDA MIRANDA BERMUDEZ                     URB VISTA DEL SOL             16 CALLE B                                                                               COAMO               PR         00769



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  193227 GLENDA MORALES CASIANO                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  193228 GLENDA MORALES ROSARIO                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  660622 GLENDA N VAZQUEZ RIVERA                      HC 3 BOX 18124                                                                                           COAMO               PR         00765
         GLENDA OMAYRA DAVILA
  193229 TORRES                                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  193230 GLENDA ORTIZ MERCADO                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  193231 GLENDA ORTIZ SANCHEZ                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  660623 GLENDA PEREIRA MATOS                         URB BRISAS DEL MAR     JJ 4 CALLE H                                                                      LUQUILLO            PR         00773
  193232 GLENDA PEREZ                                 REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  660624 GLENDA PEREZ DOMINGUEZ                       PO BOX 1093                                                                                              HORMIGUEROS         PR         00660
  193233 GLENDA POMALES KERCADO                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  660625 GLENDA POMALES RESTO                         HC 3 BOX 7017                                                                                            JUNCOS              PR         00777
  193235 GLENDA RAMIREZ VELEZ                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  193236 GLENDA RESTO LUNA                            REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  193237 GLENDA RIVERA DE JESUS                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  660627 GLENDA RIVERA ESQUILIN                       URB VILLA FONTANA      JR 6 VIA 16                                                                       CAROLINA            PR         00983
  193238 GLENDA RIVERA LUGO                           REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  660628 GLENDA RIVERA MARTINEZ                       RES EL BATEY           EDIF G APT 64                                                                     VEGA ALTA           PR         00692
  660629 GLENDA RIVERA PEPEN                          URB VILLAS DE CASTRO   B 13 CALLE 5                                                                      CAGUAS              PR         00725
  660630 GLENDA RIVERA RIVERA                         BOX 1384                                                                                                 UTUADO              PR         00641
  193239 GLENDA RODRIGUEZ MEDINA                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  660631 GLENDA RODRIGUEZ RAMOS                       PO BOX 4278                                                                                              CIDRA               PR         00739

   660632 GLENDA RODRIGUEZ RODRIGUEZ HC 01 BOX 11732                                                                                                           CAROLINA            PR         00985
   193241 GLENDA S SOLIS GONZALEZ    REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   660633 GLENDA SANCHEZ DIAZ        A5 JARDINES DE CIALES                                                                                                     CIALES              PR         00638
   193242 GLENDA SANTINI RODRIGUEZ   REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   660636 GLENDA SANTOS VALENTIN     HC 5 BOX 54608                                                                                                            HATILLO             PR         00659
   193244 GLENDA SOTO MOLINA         REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          GLENDA T RODRIGUEZ
   660637 SANTIAGO                   413 URB VILLA TOLEDO                                                                                                      ARECIBO             PR         00612

   193245 GLENDA V MARTINEZ BOLORIN                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   193246 GLENDA VELAZQUEZ RODRIGUEZ REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   660639 GLENDA VENTURA COTTO       HC 4 BOX 8580                                                                                                             AGUAS BUENAS        PR         00703
          GLENDA Y CAMACHO
   660640 RODRIGUEZ                  H C 1 BOX 6132                                                                                                            YAUCO               PR         00698
          GLENDA Y HERNANDEZ
   660641 HERNANDEZ                  PO BOX 516                                                                                                                ARROYO              PR         00714
   660642 GLENDA Y RIVERA            PO BOX 517                                                                                                                OROCOVIS            PR         00720

   660643 GLENDA Y RODRIGUEZ GARAYRIA 12 CALLE CONDADO                                                                                                         SABANA GRANDE       PR         00637
   193247 GLENDA Y. RIVERA ORTIZ      REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   660644 GLENDALEE LOPEZ ORTIZ       URB TEASURE VALLEY                     B 26 CALLE HONDURAS                                                               CIDRA               PR         00739
   660645 GLENDALEE LUGO NIEVES       884 CALLE ESTACION                                                                                                       QUEBRADILLAS        PR         00678

   193248 GLENDALEE SANTIAGO MORALES REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   660648 GLENDALEE VAZQUEZ VIROLA   GIANNA LAURA                            1509 APT ED 2                                                                     PONCE               PR         00731
   193250 GLENDALIE BOU ROSARIO      REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   193251 GLENDALIS BON MILLAN       REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   193252 GLENDALIS FELICIANO        REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   193254 GLENDALIS FIGUEROA REYES   REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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  660653 GLENDALIS FLORES SANTIAGO                    PO BOX 8112                                                                                                           SAN JUAN             PR           00910

   660654 GLENDALIS IRENE AGUILA                      URB ALTURAS DE BUCARABONES 3 R 2 CALLE PRINCIPAL                                                                      TOA ALTA             PR           00953
          GLENDALIS MALDONADO
   193255 MALDONADO                                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          GLENDALIZ C CHAPARRO
   660659 IRIZARRY                                    PO BOX 2676                                                                                                           SAN SEBASTIAN        PR           00685
          GLENDALIZ CORREA
   660660 CARRASQUILLO                                VENEGAS DEL PARQUE           504 BLVD MEDIA LUNA APT 504                                                              CAROLINA             PR           00987
   193259 GLENDALIZ CRESPO RIVERA                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   193260 GLENDALIZ DIAZ VALENTIN                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   193261 GLENDALIZ GALARZA AROCHO                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   193262 GLENDALIZ GALARZA ARROCHO                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   660661 GLENDALIZ GALIANO SANTANA                   URB EL RETIRO               11 CALLE SANTIAGO                                                                         SAN GERMAN           PR           00683
   193263 GLENDALIZ GOMEZ AMADOR                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   193264 GLENDALIZ GONZALEZ ORTIZ                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   660662 GLENDALIZ LABOY GARCIA                      4 URB VILLA CARIBE                                                                                                    GUAYAMA              PR           00784
   660663 GLENDALIZ LOPEZ ROSA                        PO BOX 9000 STE 240                                                                                                   CAYEY                PR           00737
   660664 GLENDALIZ MARTINEZ                          HC 01 BOX 4197                                                                                                        RINCON               PR           00677

   193265 GLENDALIZ MATOS GONZALEZ                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   193266 GLENDALIZ MATOS SOTO                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   660665 GLENDALIZ MENDEZ COLON                      HC 55 BOX 25407                                                                                                       CEIBA                PR           00735‐9765

   660658 GLENDALIZ MORALES CORREA                    P O BOX 353                 SABANA HOYOS                                                                              ARECIBO              PR           00688

   660666 GLENDALIZ OCASIO MELENDEZ                   HC 2 BOX 44372                                                                                                        VEGA BAJA            PR           00963
   193267 GLENDALIZ ORTIZ RUBERO                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   660667 GLENDALIZ RIVERA GONZALEZ                   BO SANTA OLAYA               RR 4 BOX 1188                                                                            BAYAMON              PR           00956
          GLENDALIZ RODRIGUEZ
   193268 RODRIGUEZ                                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   660668 GLENDALIZ RUIZ GONZALEZ                     URB EL PARAISO               56 CALLE PARONA                                                                          SAN JUAN             PR           00926
   193269 GLENDALIZ SANTIAGO CRUZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   193270 GLENDALIZ SANTIAGO ROSADO                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   660669 GLENDALIZ TORRES ARROYO                     BUZON 27 370                                                                                                          COTTO LAUREL         PR           00780
   193271 GLENDALY AYALA CABAN                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   193272 GLENDALY CRUZ RAMOS                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   660671 GLENDALY FERNANDEZ PERZ                     RR 03 BOX 9237                                                                                                        TOA ALTA             PR           00953
   193273 GLENDALY FRANCO RASARIO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   193274 GLENDALY GOMEZ CRUZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   193276 GLENDALY LARACUENTE AVILES                  REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   193277 GLENDALY LOPEZ QUINONES                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   193278 GLENDALY LUGO CINTRON                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   660673 GLENDALY NIEVES MENDEZ                      HC 05 BOX 10603                                                                                                       MOCA                 PR           00676
   193279 GLENDALY PITRE SANTIAGO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   660674 GLENDALY RAMOS RIOS                         PO BOX 3733                                                                                                           MAYAGUEZ             PR           00681




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   193281 GLENDALY RAMOS RODRIGUEZ                    REDACTED                REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193282 GLENDALY REYES RIVERA                       REDACTED                REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   660675 GLENDALY ROBLES MELENDEZ                    PO BOX 239                                                                                                     VIEQUES             PR           00765
          GLENDALY RODRIGUEZ
   193283 ALMODOVAR                                   REDACTED                REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193284 GLENDALY ROSARIO VAZQUEZ                    REDACTED                REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193285 GLENDALY RUSSE MELENDEZ                     REDACTED                REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GLENDALY SEPULVEDA
   660678 HERNANDEZ                                   HC 2 BOX 22020                                                                                                 RIO GRANDE          PR           00745
          GLENDALY SOTOMAYOR
   193286 FUENTES                                     REDACTED                REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   660680 GLENDALY VAZQUEZ ACEVEDO                    206 CALLE RAMAL                                                                                                ISABELA             PR           00662
   660681 GLENDALYS GONZALEZ ORTIZ                    RES. MUJERES SAN JUAN                                                                                          Hato Rey            PR           009360000
   660682 GLENDALYS LOPEZ SERRANO                     URB COSTA AZUL          K 24 CALLE 17                                                                          GUAYAMA             PR           00784
   193287 GLENDALYS PEDRAZA TORRES                    REDACTED                REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   660683 GLENDALYS RIVERA HERNANDEZ HC 67 BOX 16202                                                                                                                 BAYAMON             PR           00956

   193288 GLENDALYS RODRIGUEZ FIGUERA REDACTED                                REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193289 GLENDALYS SOTO RODRIGUEZ                    REDACTED                REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   660684 GLENDALYZ CHICON SANTANA                    URB VISTA HERMOSA       G 2 CALLE 7                                                                            HUMACAO             PR           00791
          GLENDAMAR MERCADO
   193290 AMADOR                                      REDACTED                REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660685 GLENDAMID TORRES TORRES                     PO BOX 689                                                                                                     OROCOVIS            PR           00720
   660686 GLENDIS Y CRUZ CAMPOS                       H C 763 BUZON 3674                                                                                             PATILLAS            PR           00723
   193292 GLENDY A CORREA RIOS                        REDACTED                REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660687 GLENDY AUTO SALES                           BO. GUZMAN ABAJO        HC‐02 BUZON 18002                                                                      RIO GRANDE          PR           00745
   193295 GLENIVER PORRATA COTTO                      REDACTED                REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193296 GLENIVETTE ZAYAS VAZQUEZ                    REDACTED                REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193297 GLENIZ W PEREZ VELAZQUEZ                    REDACTED                REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193298 GLENMARY VARGAS RODRIGUEZ REDACTED                                  REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193299 GLENN A GONZALEZ MENDEZ   REDACTED                                  REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   660688 GLENN CARL JAMES HERNANDEZ PMB 501 1353 RD 19                                                                                                              GUAYNABO            PR           00966‐2700

   660691 GLENN G VAZQUEZ CARTAGENA BO OLIMPO                                 154 CALLE CRISTO REY                                                                   GUAYAMA             PR           00784

   660692 GLENN GARAYALDE COTRONEO                    PO BOX 361976                                                                                                  SAN JUAN            PR           00936‐1976
   193300 GLENN HARDING ABBOTT                        REDACTED                REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660693 GLENN INTERNATIONAL INC                     P O BOX 3500                                                                                                   CAROLINA            PR           00984‐3500
   193302 GLENN LEE SCHILLY                           REDACTED                REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660694 GLENN M RUIZ GONZALEZ                       URB LA LULA J 13        CALLE 9                                                                                PONCE               PR           00731
   193303 GLENN MALDONADO PENA                        REDACTED                REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GLENN MILLER ADMINISTRATOR
   193305 ALEXANDER                                   JOHNSON JR ESTATE       130 EAST WASHINGTON STREET SUITE 105                                                   HARTFORD            KY           42347
   660695 GLENN O RIVERA PIZARRO                      P O BOX 104                                                                                                    FAJARDO             PR           00738



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  660696 GLENN SANTANA RIVERA                         PMB 131                        PO BOX 7997                                                                              MAYAGUEZ          PR         00681
  193306 GLENN SANTIAGO PENA                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  193307 GLENN SARIOL RODRIGUEZ                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   660697 GLENNIS I MATOS OTERO                       444 CALLE DE DIEGO APTO 1903                                                                                            SAN JUAN          PR         00923‐3057

   660698 GLENNY ABREU LEON                           AVE.D‐2 T #8 URB. METROPOLIS                                                                                            CAROLINA          PR         00987
   193310 GLENNYS CASADO GUZMAN                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   193311 GLENNYS M ROSA MANCEBO                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          GLENNYS W. ALVARADO
   193312 VAZQUEZ                                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   193313 GLENY A BAUTISTA ANTONIO                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   193314 GLENYS ROSA VELEZ                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   660700 GLENYS TORRES REYES                         P O BOX 1731                                                                                                            COAMO             PR         00769

   193315 GLESSWINDA COLON MENDEZ                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          GLET MARIE MALDONADO
   660701 ROMAN                                       HC 01 BOX 11382‐6                                                                                                       ARECIBO           PR         00612
   660702 GLEWYNDALIZ LEON PAGAN                      PO BOX 3501                                                                                                             JUANA DIAZ        PR         00795

   193317 GLFHC                                       73 D WINTHROP AVE RTE 114                                                                                               LAWRENCE          MA         01843
                                                                                     J12 CALLE 13 URB CASTELLANA
   660703 GLIBERTO R GAYO NAVARRETE                   CASTELLANA GARDENS             GDN                                                                                      CAROLINA          PR         00983
   660704 GLICELIO TORRES VELEZ                       CB 112 PLAYA JOBOS                                                                                                      ISABELA           PR         00662
   193318 GLICELLY MATOS ROMAN                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   193319 GLIDALIS MONTANEZ MORALES                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   193320 GLIDDEN ARROYO PEREZ                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   660705 GLIDDEN COMPANY                             PO BOX 366273                                                                                                           SAN JUAN          PR         00936‐6273

   660706 GLIDDEN M MALDONADO RUIZ                    URB HACIENDA LA MATILDE        5492 CALLE SURCOS                                                                        PONCE             PR         00728‐2440
   660707 GLIDDEN PAINT                               PO BOX 6273                                                                                                             SAN JUAN          PR         00936
   660708 GLIDDEN PAINTS                              PO BOX 366273                                                                                                           SAN JUAN          PR         00936
                                                      BANCO DESARROLLO
   660709 GLIDDEN R MARTINEZ A/C                      ECONOMICO                      BOX 400                                                                                  UTUADO            PR         00641
          GLIDDEN VAZQUEZ H/N/C
   660710 PROFESSIONAL SOUND                          URB SAN ANTINIO A4 CALLE 7                                                                                              PONCE             PR         00731
   660711 GLIDEN R MARTINEZ RIVERA                    BOX 4000                                                                                                                UTUADO            PR         00641
   193321 GLILMARIE MERCADO VILA                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          GLIMARIS BATISTA Y JOSE R
   193322 GONZALES                                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   660712 GLIMARYS ORTIZ MARTINEZ                     PO BOX 9062                                                                                                             MAYAGUEZ          PR         00681
   193323 GLINETTE MORALES MATOS                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   660714 GLISEL GARCIA RODRIGUEZ                     216 CALLE CUBA LIBRE                                                                                                    CAYEY             PR         00736‐4501
   193324 GLISELLE M CASTRO RIVERA                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   193325 GLISELLE QUINONES BAEZ                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          GLISELLETH NAZARIO
   193327 CARABALLO                                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   193328 GLISETTE ESTRELLA                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   193329 GLISSETTE V MARTINEZ RIVAS                  REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   193332 GLIZETTE ALICEA CHETRANGOLO REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   193333 GLIZETTE CRESPO MERCADO     REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  193334 GLM ENGINEERING COOP                         PO BOX 9024157                                                                                           SAN JUAN            PR           00902
  660717 GLO CONTRACTORS INC                          PO BOX 941                                                                                               NAGUANO             PR           00718

   660718 GLO MAR DAY CARE CENTER INC PO BOX 433                                                                                                               CAGUAS              PR           00726
   660719 GLOARIA PARRA MERCEDES      4TA EXT MONTE BRISAS                         J 21 CALLE 21                                                               FAJARDO             PR           00738‐3921
                                                                                   MARGINAL J F KENNEDY SUITE
   193335 GLOBA TECH CENTER CORP                      EDIFICIO ILA 1055            908                                                                         SAN JUAN            PR           00920
   193336 GLOBAL ADVISORS GROUP                       COND PARQUE REAL APT 408                                                                                 GUAYNABO            PR           00969‐5320

   193337 GLOBAL AEROSPACE INC                        ONE SYLVAN WAY PARSIPPANY                                                                                NEW JERSEY          NJ           07054
                                                      7211 SOUTH PEORIA ST SUITE
   660720 GLOBAL AIR CHARTER INC                      200                                                                                                      ENGLEWOOD           CO           80112
          GLOBAL AUTO GALLERY Y/O
   193338 FELIX CALDERON                              177 URB LA SERRANIA                                                                                      CAGUAS              PR           00725

   660721 GLOBAL AVIATION PARTS CORP PO BOX 41268                                                                                                              SAN JUAN            PR           00940
          GLOBAL BUSINESS FORMS
   660722 SYSTEMS                    PO BOX 721                                                                                                                BAYAMON             PR           00960
          GLOBAL BUSINESS TECHNOLOGY
   193339 SOLUTION INC               URB JARD DE MEDITERRANEO                      467 CALLE JARDIN DON JUAN                                                   TOA ALTA            PR           00953‐3651

   193341 GLOBAL COMMUNICATION INC                    URB BOSQUE VERDE             CALLE AGUILA 100                                                            CAGUAS              PR           00727
   660723 GLOBAL COMPUTER SUPPLIES                    120 A SATELLITE BLVD         DEPT BQ SWANEE                                                              GEORGIA             GA           30024

   660725 GLOBAL COMPUTER TECNOLOGY PO BOX 362642                                                                                                              SAN JUAN            PR           00936‐2642
          GLOBAL CONCEPT
   660726 ORGANIZATION INC           URB LA CUMBRE                                 497 CALLE E POL SUITE 625                                                   SAN JUAN            PR           00926‐5636
          GLOBAL CONSTRUCTION &
   193343 GENERAL CONTRACTOR         HC 2 BOX 12590                                                                                                            GURABO              PR           00778‐9613
          GLOBAL CONSULTAS ASOCIADOS
   193344 INC                        PMB 434                                       PO BOX 70344                                                                SAN JUAN            PR           00936‐8344
   660727 GLOBAL CONSULTING GROUP    PO BOX 193922                                                                                                             SAN JUAN            PR           00919‐3922
   660728 GLOBAL DATA SSYSTEMS       P O BOX 270005                                                                                                            SAN JUAN            PR           00927 0005
   193345 GLOBAL DIAGNOSTIC          848 AVE HOSTOS                                                                                                            SAN JUAN            PR           00927‐4216
   193347 GLOBAL DISTRIBUTORS INC    PMB 594                                       PO BOX 29005                                                                SAN JUAN            PR           00929‐9005

   193349 GLOBAL DOSIMETRY SOLUTIONS 2652 MCGAW AVENUE                                                                                                         IRVINE              CA           92614
          GLOBAL DOSIMETRY SOLUTIONS
   193350 INC                        DBA QUANTUM PRODUCTS                          2652 MC GAW AVE                                                             IRVINE              CA           92614
          GLOBAL ECONOMIC &
   193351 MARKETING SERVICES         PO BOX 360240                                                                                                             SAN JUAN            PR           00936‐0240

          GLOBAL EDUC & INSTRUCTIONAL
   193352 TECH CONSULT                COND. GREEN VILLAGE 503B                     CALLE DE DIEGO 472                                                          SAN JUAN            PR           00923
          GLOBAL EDUCATION EXCHANGE
   193353 OPPORT INC                  PO BOX 937                                                                                                               MANATI              PR           00674
          GLOBAL EDUCATIONAL
   193354 EXCHANGE OPPORTUNITIE       PO BOX 937                                                                                                               MANATI              PR           00674
   660730 GLOBAL ELECTION SYSTEMS     1611 WILMETH ROAD                                                                                                        MCKINNEY            TX           75069‐8250

   660731 GLOBAL ENTERPRISES SERV INC                 3 INDEPENDENCE WAY                                                                                       PRINCETON           NJ           08540
   193356 GLOBAL FOOD FRUITS CORP                     REPTO FLAMINGO               G9 CALLE CENTRAL                                                            BAYAMON             PR           00959




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   193358 GLOBAL HEALTH SERVICES LLC                  URB SAN RAMON                 148 CALLE NOGAL                                                                GUAYNABO             PR           00969
   660732 GLOBAL HEALTHCARE                           PO BOX 16031                                                                                                 SAN JUAN             PR           00908 6031
   660733 GLOBAL IMAGING INC                          BOX 375 LOS ARBOLES                                                                                          SAN JUAN             PR           00926
   660734 GLOBAL INFO CENTRES                         6303 BLUE LAGOON DRIVE        SUITE 370                                                                      MIAMI                PR           33126
   193360 GLOBAL INS AGENCY INC                       PO BOX 9023918                                                                                               SAN JUAN             PR           00902‐3918
   193361 GLOBAL INSTITUTE                            P O BOX 361290                                                                                               SAN JUAN             PR           00936‐1290
   193362 GLOBAL INSURANCE                            PO BOX 9023918                                                                                               SAN JUAN             PR           00902‐3918
          GLOBAL INSURANCE AGENCY
   660735 INC.                                        PO BOX 9023918                                                                                               SAN JUAN             PR           00902‐3918
          GLOBAL INSURANCE AGENCY,
   193363 INC.                                        257 RECINTO SUR 2ND FLOOR                                                                                    SAN JUAN             PR           00901
   660736 GLOBAL INT                                  4TA EXT VILLA CAROLINA        171‐19 CALLE 435                                                               CAROLINA             PR           00985
          GLOBAL KNOWLEDGE LINK
   193364 (GLK)., INC.                                PO BOX 824093                                                                                                PEMBROKE PINES       FL           33082‐4093
          GLOBAL LEARNING &
   193365 CONSULTING CORP.                            PMB 151 BOX 70171                                                                                            SAN JUAN             PR           00936‐8171
          GLOBAL LEARNING AND
   193366 CONSULTING                                  PMB 151                       PO BOX 70171                                                                   SAN JUAN             PR           00936‐8171
   660737 GLOBAL LEARNING CORP                        PO BOX 270022                                                                                                SAN JUAN             PR           00927‐0022
   660738 GLOBAL LEASING CORP.                        PO BOX 6685                                                                                                  CAGUAS               PR           00726
          GLOBAL MAINTENANCE SERV &                                                 623 PONCE DE LEON AVE STE
   193367 CONSULTANS LLC                              BANCO COOP PLAZA              1204B                                                                          SAN JUAN             PR           00917

          GLOBAL MAINTENANCE SERVICE
   193368 & CONSULTANTS, LLC                          PO BOX 7055                   SANTURCE STATION                                                               SAN JUAN             PR           00916‐7055
          GLOBAL MAINTENANCE                          CALLE 12 DE OCTUBRE # 412
   193369 SERVICES , CORP.                            URB. EL VEDADO                                                                                               SAN JUAN             PR           00918‐0000
          GLOBAL MANAGEMENT &
   193370 CONSULTANS INC                              2000 AVE KENNEDY              EDIFICIO MAI CENTER SUITE 316                                                  SAN JUAN             PR           00920
   193374 GLOBAL MARINE SYSTEMS                       P O BOX 433                                                                                                  MERCEDITA            PR           00715

   193376 GLOBAL MARITEK SYSTEMS INC                  P O BOX 433                                                                                                  MERCEDITA            PR           00715
                                                      CARR 2 PLAZA DEL NORTE
   193378 GLOBAL MATTRESS                             HATILLO                                                                                                      HATILLO              PR           00659
          GLOBAL NEURO AND SPINE
   193381 INSTITUTE                                   MEDICAL RECORDS               12381 S ORANGE BLOSSOM TRL                                                     ORLANDO              FL           32837
   193382 GLOBAL ONE LLC                              PO BOX 1864                                                                                                  BAYAMON              PR           00960

   193383 GLOBAL PAINT AND TOOLS INC                  150 A CALLE HNOS ORTIZ SAEZ                                                                                  VEGA BAJA            PR           00693
                                                      CARR 127 SECTOR CUATRO
   660740 GLOBAL PAINT INC                            CALLES 536                                                                                                   YAUCO                PR           00698
   660741 GLOBAL PRODUCTS INC                         VALLE DE SAN LUIS             131 VIA DEL ROCIO                                                              CAGUAS               PR           00725‐3349
   660744 GLOBAL PROTECTION GROUP                     PMB 625 P O BOX 29029                                                                                        SAN JUAN             PR           00929‐0029
   660745 GLOBAL SERVICE                              MANSIONES SANTA BARBARA       C 45 CALLE AZABACHE                                                            GURADO               PR           00778

   193386 GLOBAL SERVICES GROUP CORP                  PO BOX 30970                                                                                                 SAN JUAN             PR           00929
   193388 GLOBAL SERVICES PROVIDERS                   P O BOX 801235                                                                                               COTO LAUREL          PR           07801235
          GLOBAL SERVICES PUERTO RICO
   193389 INC                                         CENTRO INTL DE MERCADEO       TORRE 1 SUITE 404                                                              GUAYNABO             PR           00968
   660747 GLOBAL SIGN USA LLC                         204 SECOND AVENUE                                                                                            WALTHAM              MA           02451

   193390 GLOBAL SPORTS INITIATIVE LLC                PO BOX 441                                                                                                   PATILLAS             PR           00723



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          GLOBAL STRATEGIC MANAGE,
   193391 INC                                         18141 SAXON DRIVE              BEVERLY HILLS                                                                             MICHIGAN             MI           48025

   660748 GLOBAL TECHNOLOGIES INC                     1227 OLD WALT WHITMAN RD                                                                                                 MELVILLE             NY           11747
   193393 GLOBAL TELEPHONE                            CARR 2 SUITE 15                                                                                                          BAYAMON              PR           00959‐5259

   660749 GLOBAL TELEPHONE COMM                       PMB 373‐2135 CARR 2 SUITE 15                                                                                             BAYAMON              PR           00959‐5259
   193394 GLOBAL TRADING ALLIANCE                     PMB 179 PO BOX 2500                                                                                                      TRUJILLO ALTO        PR           00977‐2500

   193395 GLOBAL TURNKEY SERVICES                     CENTRO INT DE MERCADEO         90 CARR 165 TORRE II STE 702                                                              GUAYNABO             PR           00968
   660750 GLOBALSTAR                                  P O BOX 79348                  CITY OF INDUSTRY                                                                          CITY OF INDUSTRY     CA           91716‐9348

   193398 GLOBALTEK PUERTO RICO LTD                   530 PONCE DE LEON AVE                                                                                                    SAN JUAN             PR           00901‐2304
   660751 GLOBE BUSINESS PUBLISHING                   NEW HIBERNIA HOUSE             WINCHESTER WALK                                                                           LONDON BRIGE                      SE19AG        UNITED KINGDOM
          GLOBE GUZMAN & COLON
   660752 GONZALEZ                                    PO BOX 192021                                                                                                            SAN JUAN             PR           00919 2021

   660753 GLOBELLE TECHNICAL INSTITUTE URB MONTE CARLO                               114 MARGINAL                                                                              VEGA BAJA            PR           00692
  1256527 GLODICOM                     REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                       161 AVE. PONCE DE LEON SUITE
   660754 GLODICOM, LLC                201                                                                                                                                     SAN JUAN             PR           00917
   660755 GLOELMA NAZARIO CINTRON      PO BOX 3512                                                                                                                             MAYAGUEZ             PR           00681
          GLOMARIANY DUPEROX
   660756 MARTINEZ                     UNIVERSITY GARDENS                            D 3 CALLE 3                                                                               ARECIBO              PR           00613
   193400 GLOMARIE VEGA MARTINEZ       REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   660757 GLONILDA AVILES CURET        HC 2 BOX 9709                                                                                                                           HORMIGUEROS          PR           00660

   193401 GLOONARK TECHNOLOGIES, INC. 2050 calle 2                                                                                                                             HUMACAO              PR           00920
   193402 GLORAN INC                  PO BOX 8610                                                                                                                              BAYAMON              PR           00960
   193403 GLORANGELY ROBLES VIERAS    REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   193404 GLORENY RAMOS RODRIGUEZ                     REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GLOREY CHAIR REPAIR /
   660758 TAPESTRI                                    PO BOX 1643                                                                                                              CAGUAS               PR           00726
   660760 GLORI E RIVERA CAEZ                         VALLE TOLIMA                   P 38 CALLE JOSSIE PEREZ                                                                   CAGUAS               PR           00727
   660761 GLORI W BADILLO CORDERO                     HC 4 BOX 15176                                                                                                           MOCA                 PR           00676
   660772 GLORIA A ALONSO BADILLO                     PO BOX 443                                                                                                               SAN SEBASTIAN        PR           00685

   193406 GLORIA A DELGADO MARTINEZ                   REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   193407 GLORIA A DIAZ GALARZA                       REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   660775 GLORIA A NUNEZ PICON                        VILLA LOS SANTOS               18 CALLE 11                                                                               ARECIBO              PR           00612
   660776 GLORIA A OLIVIERI PEREZ                     URB JARD DE CAPARRA            E 17 C/ 15                                                                                BAYAMON              PR           00959
   193409 GLORIA A PADILLA CINTRON                    REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GLORIA A QUINONES
   193410 CARTAGENA                                   REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GLORIA A RIVERA
   193411 COLLAZO/INTEC SOLAR PR                      REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   660777 GLORIA A RIVERA FIGUEROA                    COLINAS FAIR VIEW              4 D 12 CALLE 202                                                                          TRUJILLO ALTO        PR           00719

   660779 GLORIA A VERNAZA CONTRERAS                  PO BOX 191212                                                                                                            SAN JUAN             PR           00919‐1212
   193412 GLORIA A. JOSE ESPINAL                      REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   660780 GLORIA ACEVEDO GARIBAY                      HC 01 BOX 6128                                                                                                           JUNCOS               PR           00777‐9710
   660782 GLORIA AGOSTO ROSARIO                       BDA. BORINQUEN 02                                                                                                        SAN JUAn             PR           00921



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  193413 GLORIA AGOSTO VELAZQUEZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  193414 GLORIA ALICEA PADRON                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  193415 GLORIA ALMESTICA LUYANDA                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  193417 GLORIA AMADEO ORTIZ                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  193418 GLORIA ANDINO AYALA                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193419 GLORIA ANGELINA CIEZA COLLAS REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   660783 GLORIA ANNETTE REYES PEREZ                  P O BOX 143235                                                                                              ARECIBO             PR         00614
   193420 GLORIA APONTE RANGEL                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660762 GLORIA AQUINO TUBENS                        63 CALLE ACOSTA SUITE 3                                                                                     CAGUAS              PR         00725‐3604
   193421 GLORIA ARGUINZONI PEREZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660785 GLORIA AROCHO SEQUINOT                      URB VISTA VERDE           468 CALLE 11                                                                      AGUADILLA           PR         00603
   193422 GLORIA ARROYO DE JESUS                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193423 GLORIA ARROYO SANCHEZ                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660787 GLORIA ARZOLA ROSADO                        URB VILLA DEL REY         C 19 WINDSOR ST                                                                   CAGUAS              PR         00725
   193424 GLORIA ASTACIO DAVILA                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660789 GLORIA AYALA GOMEZ                          HC 04 BOX 48181                                                                                             CAGUAS              PR         00725‐9631

   193425 GLORIA B ALDAHONDO RIVERA                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   193426 GLORIA B DELGADO DE VEGA                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   193427 GLORIA B HERNANDEZ PEREZ                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   193428 GLORIA B. DE JESUS RIVERA                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   660790 GLORIA BAEZ COLON                           PO BOX 23                                                                                                   FAJARDO             PR       00738
   193429 GLORIA BARRETO                              REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   193430 GLORIA BENIQUES MIRANDA                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   193431 GLORIA BENITEZ APONTE                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   660791 GLORIA BENITEZ ZENO                         PO BOX 7121                                                                                                 ARECIBO             PR       00612
   660792 GLORIA BERMUDEZ VARGAS                      P O BOX 807                                                                                                 CIDRA               PR       00739
   660793 GLORIA BERRIOS GONZALEZ                     MIRAFLORES                33 39 CALLE 48                                                                    BAYAMON             PR       00957
   660795 GLORIA BETANCOURT SIERRA                    BOX 509                                                                                                     TRUJILLO ALTO       PR       00977
   193432 GLORIA BLANCO ORTEGA                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   193433 GLORIA BLAS LOPEZ                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   660796 GLORIA BONET                                PO BOX 668                                                                                                  RINCON              PR       00677‐0668
   660797 GLORIA BONET TRINIDAD                       URB VILLA CAROLINA        26 15 CALLE 6                                                                     CAROLINA            PR       00985

   660798 GLORIA BONILLA / LUIS BONILLA               VALLE ARRIBA HGTS         B X 2 CALLE 115                                                                   CAROLINA            PR         00983
   660799 GLORIA BONILLA RAMOS                        PO BOX 1608                                                                                                 RINCON              PR         00677
   660800 Gloria Borrero Mercado                      ASSMCA                    METADONA PONCE                                                                    Hato Rey            PR         009360000
   660801 GLORIA BORRERO OLIVERAS                     PO BOX 560361                                                                                               GUAYANILLA          PR         00656
   660802 GLORIA BOU FUENTES                          P O BOX 1531                                                                                                COROZAL             PR         00783
   193434 GLORIA BURGOS MORALES                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660804 GLORIA BURGOS RAMOS                         78 SATURNO EL VERDE                                                                                         CAGUAS              PR         00725‐6368

   660805 GLORIA C MARTINO GONZALEZ                   RR 5 BOX 8382                                                                                               BAYAMON             PR         00956

   193435 GLORIA C RODRIGUEZ GONZALEZ REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193436 GLORIA C RODRIGUEZ MARTINEZ REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193437 GLORIA C TORRES ROMERO      REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193438 GLORIA C VAZQUEZ SUAREZ     REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193439 GLORIA C. MARTINO GONZALEZ                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  193440 GLORIA CABALLER VINAS                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  193441 GLORIA CABAN                                 REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  660807 GLORIA CABRERA LOPEZ                         HC 02 BOX 7579                                                                                                    COMERIO           PR         00782 9612
  660808 GLORIA CALDERON SANTOS                       P O BOX 7428                                                                                                      SAN JUAN          PR         00916
  660809 GLORIA CALIZ PABELLON                        URB BALDORIOTY                4130 CALLE GALLARDIA                                                                PONCE             PR         00728
  660810 GLORIA CAMACHO CASTRO                        PO BOX 2876                                                                                                       GUAYNABO          PR         00970

   660811 GLORIA CARABALLO GONZALEZ                   HC 1 BOX 4651                                                                                                     GURABO            PR         00778

   193443 GLORIA CARDONA ALDARONDO REDACTED                                         REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   660813 GLORIA CARO GONZALEZ     60 BO CORCEL                                                                                                                         AGUADILLA         PR         00603

   660814 GLORIA CARRASQUILLO BONILLA URB VILLA CAROLINA                            10‐11 CALLE 28                                                                      CAROLINA          PR         00985
   660815 GLORIA CARRION ESCOBAR      RES MANUEL A PEREZ                            EDIF K 38 APTO 358                                                                  SAN JUAN          PR         00923
          GLORIA CARTAGENA
   660816 CARTAGENA                   P O BOX 9000307                                                                                                                   CAYEY             PR         00736
   193445 GLORIA CASTRO TORRES        REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   660817 GLORIA CATERING             M S C 108 RR 8 BOX 1995                                                                                                           BAYAMON           PR         00956
   660818 GLORIA CHABRIER GONZALEZ    443 MAXIMINO BARBOSA                                                                                                              MAYAGUEZ          PR         00680
   193446 GLORIA CHAN HO              REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   660820 GLORIA CINTRON              PO BOX 52376                                                                                                                      GUAYNABO          PR         00971

   193447 GLORIA CINTRON/ CARLOS LEON REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   193448 GLORIA CLAUDIO MOLINA       REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   193449 GLORIA COLLAZO MEDINA       REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   660822 GLORIA COLLAZO SANTIAGO     REPARTO BELLA VISTA                           2 CALLE MIOSOTIS                                                                    AIBONITO          PR         00705
   660823 GLORIA COLON                URB ALTAMIRA 77                                                                                                                   LARES             PR         00669
   193450 GLORIA COLON COLON          REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   660825 GLORIA COLON RAMOS          HC 33 BOX 5277                                                                                                                    DORADO            PR         00644

   660826 GLORIA COLON RIVERA                         BO PESAS PARCELAS MARIAS 29                                                                                       CIALES            PR         00638
   660830 GLORIA COLON SANTIAGO                       URB SANTA ROSA              26‐26 CALLE 15                                                                        BAYAMON           PR         00959
   193452 GLORIA COLON SUAREZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   193453 GLORIA COLON TORRES                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   193454 GLORIA CONCEPCION LEBRON                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   660831 GLORIA CONTRERAS HERNANDEZ PO BOX 1167                                                                                                                        SAN LORENZO       PR         00754
   660832 GLORIA CORDERO             URB BALDRICH                                   208 TOUS SOTO                                                                       SAN JUAN          PR         00918
   193455 GLORIA CORDERO GONZALEZ    REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   660833 GLORIA CORTES OCASIO       75 CALICHE                                                                                                                         CIALES            PR         00638
   660834 GLORIA COSME FRANCO        JARDINES DE TOA ALTA                           28 CALLE 1                                                                          TOA ALTA          PR         00953

   660835 GLORIA COTTO                                COND PARQUE DE BONNEVILLE     EDIF A APT 1B                                                                       CAGUAS            PR         00725

   660836 GLORIA COTTO ADORNO                         URB VILLAS DE TRUJILLO ALTO   M2‐8 CALLE 2                                                                        TRUJILLO ALTO     PR         00976
   193457 GLORIA COTTO VILLEGAS                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   660837 GLORIA COYA VILLARAOS                       PO BOX 7953                                                                                                       PONCE             PR         00732
   193458 GLORIA CRESCIONI BENITEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   660838 GLORIA CRESPO CARABALLO                     P O BOX 7428                                                                                                      SAN JUAN          PR         00916
   193459 GLORIA CRUZ NU¥EZ                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   660839 GLORIA CRUZ REYES                           P O BOX 7428                                                                                                      SAN JUAN          PR         00916
   193460 GLORIA CRUZ RUIZ                            REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED



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  193461 GLORIA CRUZ SAEZ                             REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  193462 GLORIA CRUZ SEVILLA                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  193463 GLORIA CUBA MENDEZ                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  660840 GLORIA CUEVAS MARRERO                        URB VILLA NEVAREZ            1047 CALLE 18                                                                      SAN JUAN             PR         00927

   660841 GLORIA CUEVAS RIOS                          ABRA SAN FRANCISCO APT 7114                                                                                     ARECIBO              PR         00612
   660842 GLORIA D ALVAREZ SANTANA                    HC 1 BOX 12655                                                                                                  RIO GRANDE           PR         00745‐9612
   193464 GLORIA D CAEZ DE JESUS                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   660843 GLORIA D FARRE RIVERA                       URB HILLSIDE                D 4 CALLE 1                                                                         SAN JUAN             PR         00926

   193466 GLORIA D LAUREANO MOLINA                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   660844 GLORIA D RIOS SANTOS                        B 1 URB TIERRA SANTA                                                                                            VILLALBA             PR         00766
   660845 GLORIA DAVILA RAMOS                         QDA ARENAS                   CARR 645                                                                           VEGA BAJA            PR         00693
   660846 GLORIA DE JESUS DIAZ                        HC 1 BOX 5664                                                                                                   SALINAS              PR         00751
   193467 GLORIA DE JESUS SANTIAGO                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          GLORIA DE JESUS Y ANA L
   193468 ALGARIN                                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   193469 GLORIA DE L BEZARES SALINAS                 REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   193470 GLORIA DE L. BEZARES SALINAS                REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   193471 GLORIA DE LA CRUZ                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   660850 GLORIA DE LEON APONTE                       P O BOX 982                                                                                                     TRUJILLO ALTO        PR         00977

   193472 GLORIA DE LLOVIO DOMINGUEZ REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                       COND CLUB COSTA MARINA I
   660851 GLORIA DE LOS A CHAVES VALES APT                                                                                                                            CAROLINA             PR         00984
   660852 GLORIA DE LOURDES ROMAN      12 VEREDA DEL RIO                                                                                                              BAYAMON              PR         00959
                                       URB SAN GERARDO 317 C/
   660853 GLORIA DEL C DE LA ROSA      ARKANSAS                                                                                                                       SAN JUAN             PR         00926

   193473 GLORIA DEL C FERNANDEZ DIAZ                 REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          GLORIA DEL C GARCIA
   660854 ECHEVARRIA                                  URB VALLE HUCARES            101 CALLE EL GUAYACAN                                                              JUANA DIAZ           PR         00795

   193474 GLORIA DEL C. MUNOZ FUENTES REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          GLORIA DEL CARMEN MEDINA
   193475 ROSA                        REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   660855 GLORIA DEL R CRESPO ACEVEDO URB MARINES                                  A 19 CALLE 2                                                                       FAJARDO              PR         00738

   193476 GLORIA DELGADO FERNANDEZ                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   660856 GLORIA DENI COLON RAMOS                     EXT VILLAS DE LOIZA          HH 33 CALLE 40                                                                     CANOVANAS            PR         00729‐4111
   193477 GLORIA DIAZ CONTRERAS                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   660859 GLORIA DIAZ DIAZ                            PO BOX 7545                                                                                                     CAGUAS               PR         00726
   193478 GLORIA DIAZ RAMOS                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   660861 GLORIA DIAZ RUIZ                            BLOOMFEEL 10600 DRIVE 1911                                                                                      ORLANDO              FL         32825
   660862 GLORIA DIAZ URBINA                          COND GREEN VILLAGE         APT56 B AVE DE DIEGO                                                                 SAN JUAN             PR         00924
   193479 GLORIA DURAN                                REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   660865 GLORIA E ACEVELO CAMACHO                    BOX 140                                                                                                         AGUAS BUENAS         PR         00703
   193480 GLORIA E ALMESTICA                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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          GLORIA E ALVARADO
   660867 JUSTINIANO                                  BUENA VISTA              106 RAMON ROQUE VALENTIN                                                              MAYAGUEZ            PR           00681
          GLORIA E ALVAREZ/DBA
   660868 LOGOTIQUE PROMOTION                         PMB 385                  1353 RD 19                                                                            GUAYNABO            PR           00966
   193481 GLORIA E APONTE CLAUDIO                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193482 GLORIA E ARES SOTO                          REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660871 GLORIA E ARGUELLES COLON                    RES MONTE HATILLO        EDIF 40 APT 489                                                                       SAN JUAN            PR           00924
   193483 GLORIA E ARROYO COLON                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193484 GLORIA E ARROYO MALDONADO REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660872 GLORIA E AVILES MEDINA    BO CERRO GORDO                             P O BOX 459                                                                           MOCA                PR           00676
   193485 GLORIA E AYALA CORIS      REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660873 GLORIA E AYALA FALCON     HC 2 BOX 7201                                                                                                                    COMERIO             PR           00782
   193486 GLORIA E BAEZ ROLDAN      REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   660875 GLORIA E BERNADI CARDENALES                 PO BOX 1048                                                                                                    BARRANQUITAS        PR           00794
   660876 GLORIA E BONILLA RIVERA                     PO BOX 2341                                                                                                    GUAYAMA             PR           00785
   193487 GLORIA E BORGES VALERO                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660877 GLORIA E BURGOS                             BDA POLVORIN             C 11 CALLE VILLA CANONA                                                               CAYEY               PR           00736
   660878 GLORIA E CALDERON                           BALLAJA BOX 676 A                                                                                              CABO ROJO           PR           00623
   660880 GLORIA E CARDONA CADIZ                      P O BOX 72               BO MAJAGUAS                                                                           MAUNABO             PR           00707
   660881 GLORIA E CASERES ROSADO                     HC 01 BOX 5931                                                                                                 CAMUY               PR           00627
   660882 GLORIA E COLON LEON                         HC 72 BOX 5887                                                                                                 CAYEY               PR           00736
   193489 GLORIA E COLON RODRIGEZ                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193490 GLORIA E CORALES ALAMEDA                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   660763 GLORIA E CORDERO FERNANDEZ                  RR 2 BOX 6038                                                                                                  BARCELONETA         PR           00953
   660885 GLORIA E CRESPO LLORENS                     PO BOX 1338                                                                                                    RINCON              PR           00677
   660887 GLORIA E CRUZ COLON                         P O BOX 70                                                                                                     VIEQUEZ             PR           00765
   660889 GLORIA E CRUZ ESPINOSA                      P O BOX 13813                                                                                                  SAN JUAN            PR           00908
   660890 GLORIA E CRUZ GONZALEZ                      PARCELAS NIAGARAS        917 CALLE JOSE SANTIAGO                                                               COAMO               PR           00769
   193491 GLORIA E CRUZ LUGO                          REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193492 GLORIA E CRUZ NUNEZ                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660891 GLORIA E CRUZ PEREZ                         STA JUANITA II           EP 8 OLIVA                                                                            BAYAMON             PR           00959

   660892 GLORIA E CUADRADO CORDERO HC 4 BOX 4027                                                                                                                    HUMACAO             PR           00791
   660893 GLORIA E DAVILA RIVERA    URB PASEO LAS BRISAS                       39 CALLE CAPRI                                                                        SAN JUAN            PR           00926

   660894 GLORIA E DELGADO NOGUERAS                   PMB 637 PO BOX 1283                                                                                            SAN LORENZO         PR           00754
   660895 GLORIA E DIAZ FRANCO                        40 CALLE PALMER                                                                                                CIDRA               PR           00739
   193493 GLORIA E DIAZ LEON                          REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193494 GLORIA E DIAZ ORTA                          REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193495 GLORIA E DIAZ QUINONEZ                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660897 GLORIA E DONATE LOPEZ                       P O BOX 141711                                                                                                 ARECIBO             PR           00614‐1711
   193496 GLORIA E ESTRADA SANTOS                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660900 GLORIA E FALU TORRES                        HACIENDA EL CARRIZO 2    A 4 CALLE 3                                                                           TRUJILLO ALTO       PR           00976
   660902 GLORIA E FEBRES SANCHEZ                     BRISAS DE BORINQUEN II   EDIF B APT 101                                                                        CAROLINA            PR           00985
          GLORIA E FIGUEROA / LUIS A
   193497 CARMONA                                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193498 GLORIA E FIGUEROA LATORRE                   REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660905 GLORIA E FIGUEROA RAMOS                     URB VILLA E NEVAREZ      1094 CALLE 7                                                                          SAN JUAN            PR           00927
   193499 GLORIA E FIGUEROA SANTOS                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  193500 GLORIA E FLORES ANDINO                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  193501 GLORIA E FLORES BERMUDEZ                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  660906 GLORIA E FLORES SANDOVAL                     HC 1 BOX 5235                                                                                                        JUANA DIAZ        PR         00795‐9714
  193502 GLORIA E GARCIA COLLAZO                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  193503 GLORIA E GARCIA ROSA                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  193504 GLORIA E GIMENEZ                             REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   193505 GLORIA E GIRONA FONALLEDAS REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   660907 GLORIA E GONZALEZ            BUENA VISTA                               176 AVE CALDERON                                                                          CAROLINA          PR         00985
          GLORIA E GONZALEZ / GLORIA M
   660908 TORRES                       CAPARRA TERRACE                           1615 CALLE 4 SO                                                                           SAN JUAN          PR         00920

   193506 GLORIA E GONZALEZ CINTRON                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   193507 GLORIA E GONZALEZ COLON                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          GLORIA E GONZALEZ GLORIA E
   660909 GONZALEZ SOTO                               RES LLORENS TORRES         EDIF 93 APT 1780                                                                          SAN JUAN          PR         00913
   660911 GLORIA E GONZALEZ SOTO                      RES LUIS LLORENS TORRES    EDIF 93 APT 1780                                                                          SAN JUAN          PR         00913
   660912 GLORIA E HERNANDEZ PEREZ                    HC 5 BOX 25448                                                                                                       CAMUY             PR         00627
   660913 GLORIA E HERNANDEZ PIRELA                   URB VILLA ELSIE            BO AMELIA 5 MARGINAL                                                                      GUAYNABO          PR         00945
          GLORIA E HERNANDEZ
   660914 RODRIGUEZ                                   HC 02 BOX 8514                                                                                                       QUEBRADILLAS      PR         00678

   660916 GLORIA E LAUREANO CAMPOS                    BOX 119                                                                                                              BARCELONETA       PR         00617
   193510 GLORIA E LEBRON AYALA                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   660917 GLORIA E LOPEZ                              PO BOX 802                                                                                                           JUANA DIAZ        PR         00795
   660918 GLORIA E LOPEZ BERRIOS                      HC 01 BOX 5212                                                                                                       BARRANQUITAS      PR         00794
   660919 GLORIA E LOPEZ GONZALEZ                     COND PASEO MONTE FLORES    CARR 860 APT 210                                                                          CAROLINA          PR         00987
   193511 GLORIA E LOPEZ REYES                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   193512 GLORIA E LOPEZ RIVERA                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   660921 GLORIA E LOZADA RODRIGUEZ                   HC 01 BOX 7223                                                                                                       LAS PIEDRAS       PR         00771
   660923 GLORIA E LUGO ORENGO                        351 CALLE DEL VALLE                                                                                                  SAN JUAN          PR         00705
   193513 GLORIA E MADERA RIVERA                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   660924 GLORIA E MALDONADO CRESPO COND PUERTA DEL SOL                          2000 75 CALLE JUNIN APT 1409                                                              SAN JUAN          PR         00926
          GLORIA E MALDONADO DE
   660925 SOSTRE                    URB LEVITTOWN DU                             9 CALLE LAGO ICACO                                                                        TOA BAJA          PR         00949
          GLORIA E MALDONADO
   193514 NARVAEZ                   REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   193515 GLORIA E MALDONADO NEGRON REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   193516 GLORIA E MARCANO RIOS     REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   660926 GLORIA E MARTINEZ AGOSTO  BO MARINA                                    BZN 1107 G                                                                                NAGUABO           PR         00718
   660927 GLORIA E MARTINEZ DIAZ    URB VISTA MONTE                              E 23 CALLE 5                                                                              CIDRA             PR         00739
   660928 GLORIA E MARTINEZ GORDILS HC 05 BOX 53456                                                                                                                        MAYAGUEZ          PR         00680
   660929 GLORIA E MARTINEZ QUILES  HC 43 BOX 11813                                                                                                                        CAYEY             PR         00736
   193518 GLORIA E MATOS ARCHILLA   REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   193520 GLORIA E MATOS DE MARTINEZ                  REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   660931 GLORIA E MAYMI SANTOS                       62 CALLE CRISTOBAL COLON                                                                                             TOA BAJA          PR         00949
   193521 GLORIA E MEDINA VARGAS                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   660932 GLORIA E MENDEZ MATOS                       126 CALLE GUAYAMA                                                                                                    SAN JUAN          PR         00917
   660933 GLORIA E MERCADO CRUZ                       3RA SECC VILLA CAROLINA    45 66 CALLE 54                                                                            CAROLINA          PR         00985



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  193522 GLORIA E MOLINARY ROJAS                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   660934 GLORIA E MONTALBAN ANDINO                   PO BOX 230                                                                                                       SABANA SECA         PR         00952
   660936 GLORIA E MONTERO PLAZA                      230 CALLE RAMOS ANTONINI                                                                                         MAYAGUEZ            PR         00680
   660937 GLORIA E MONTES ROSADO                      BO GUARDARRAYA              BOX 8556                                                                             PATILLAS            PR         00723
   660938 GLORIA E MORALES CASADO                     URB JARD DE TOA ALTA        187 CALLE 6                                                                          TOA ALTA            PR         00953
   193523 GLORIA E MORALES MIRANDA                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193525 GLORIA E NEGRON                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193526 GLORIA E OLIVO MIRANDA                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   660942 GLORIA E OLMO CARRASQUILLO                  RES RAMOS ANTONINI          EDIF 81 APT 827                                                                      SAN JUAN            PR         00924
   193528 GLORIA E ORTIZ CASANOVA                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193529 GLORIA E ORTIZ GONZALEZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193531 GLORIA E ORTIZ MARTINEZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660947 GLORIA E PAGAN VERGNE                       COND GOLDEN TOWER PH 2                                                                                           CAROLINA            PR         00983‐1899
   193533 GLORIA E PEREFONT GARCIA                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660948 GLORIA E PEREZ CORDERO                      RR 4 BOX 252A                                                                                                    ISABELA             PR         00662
   193534 GLORIA E PEREZ PLAZA                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193535 GLORIA E PLAZA QUINONEZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193536 GLORIA E PORTELA GARCIA                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193537 GLORIA E RAMIREZ BUSTILLO                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660951 GLORIA E RAMIREZ ESCOBAR                    RIO GRANDE ESTATES          V 9 CALLE 21                                                                         RIO GRANDE          PR         00745
          GLORIA E RAMOS Y MARIA L
   193538 RAMOS                                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660953 GLORIA E REYES CASTILLO                     AB JARD DE ESPERANZA                                                                                             NAGUABO             PR         00718
   660955 GLORIA E RIVERA ALVAREZ                     P O BOX 625                                                                                                      COMERIO             PR         00782
   660959 GLORIA E RIVERA ORTIZ                       URB SAN LORENZO VALLEY      45 CALLE FLAMBOYAN                                                                   SAN LORENZO         PR         00754‐9810

   660961 GLORIA E RIVERA RIOS                        URB PARQUE DE SAN IGNACIO   J 3 CALLE 3                                                                          SAN JUAN            PR         00921
   193539 GLORIA E RIVERA RIVERA                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193540 GLORIA E RIVERA SOTO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660963 GLORIA E RIVERA TORRES                      HC 6 BOX 70417                                                                                                   CAGUAS              PR         00725
   660964 GLORIA E ROCHE LABOY                        PO BOX 5419                                                                                                      VILLALBA            PR         00766
   660965 GLORIA E RODRIGUEZ                          PARQUE ARCOIRIS             227 CALLE 2 APT 239                                                                  TRUJILLO ALTO       PR         00976‐2857

   660966 GLORIA E RODRIGUEZ AMARO                    TORRES DE SABANA            EDIF E APT 302                                                                       CAROLINA            PR         00983
   193541 GLORIA E RODRIGUEZ DAVILA                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193542 GLORIA E RODRIGUEZ GUZMAN                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193543 GLORIA E RODRIGUEZ LAMOURT REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   660968 GLORIA E RODRIGUEZ MARTINEZ PO BOX 337                                                                                                                       MARICAO             PR         00606‐0337
          GLORIA E RODRIGUEZ MORALES
   193544 &                           REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   660970 GLORIA E RODRIGUEZ ROMERO                   PO BOX 872                                                                                                       HATILLO             PR         00659

   660971 GLORIA E RODRIGUEZ TORRES                   RES MALTEI 3APT 1                                                                                                JAYUYA              PR         00664
   660972 GLORIA E ROLON SANTIAGO                     URB BELLO MONTE             V21 CALLE 3                                                                          GUAYNABO            PR         00965
   660973 GLORIA E ROMAN RIVERA                       BO SAN FRANCISCO            BOX 7098                                                                             ARECIBO             PR         00612
   193546 Gloria E Rosa Jimenez                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660974 GLORIA E ROSADO BONILLA                     P O BOX 4621                                                                                                     PONCE               PR         00733



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  193547 GLORIA E ROSADO MENDEZ        REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  660975 GLORIA E ROSADO VIRELLA       REPTO VALENCIA                             AK 8 CALLE 12                                                                            BAYAMON            PR         00959
  660976 GLORIA E ROSARIO MEDINA       URB RADIOVILLE                             109 AVE ATLANTICO                                                                        ARECIBO            PR         00612
  193548 GLORIA E ROSARIO ROSARIO      REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  660979 GLORIA E RUIZ HUERTAS         URB JARD DE ORIENTE                        BOX 232                                                                                  LAS PIEDRAS        PR         00771
  660977 GLORIA E RUIZ RODRIGUEZ       URB EXT CAGUAX                             T 48 CALLE 20                                                                            CAGUAS             PR         00725
  660981 GLORIA E SALQUIDES STGO       URB COUNTRY CLUB 2DA EXT                   861 CALLE SARA I SPENCER                                                                 SAN JUAN           PR         00724
         GLORIA E SANCHEZ / DBA TALLER
  660982 RIVERA                        RR 11 BOX 3815                                                                                                                      BAYAMON            PR         00956
  660983 GLORIA E SANCHEZ DE JESUS     HC 02 BOX 4112                                                                                                                      COAMO              PR         00769‐9601
  660984 GLORIA E SANCHEZ GINES        PO BOX 1375                                                                                                                         VEGA BAJA          PR         00694

   193549 GLORIA E SANCHEZ HERNANDEZ REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   193550 GLORIA E SANCHEZ PASTRANA & REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          GLORIA E SANCHEZ SALGADO /
   660985 TALLER RIVERA               RR 11 BOX 3815                                                                                                                       BAYAMON            PR         00956
   660988 GLORIA E SANTIAGO DAVID     URB JARD DE COAMO                           G 15 CALLE 8                                                                             COAMO              PR         00769

   660989 GLORIA E SANTIAGO SANTIAGO                   LEVITTOWN                  3544 PASEO CONDE                                                                         TOA BAJA           PR         00949
   660990 GLORIA E SANTOS ARGUELLES                    RES MONTE HATILLO          EDIF 4 APT 489                                                                           SAN JUAN           PR         00924
   193551 GLORIA E SANTOS REYES                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   660992 GLORIA E SEDA GUTIERREZ                      HC 2 BOX 8480                                                                                                       JUANA DIAZ         PR         00795
   660993 GLORIA E SEGUI BOISSEN                       PO BOX 1348                                                                                                         VEGA BAJA          PR         00694‐1348

   660764 GLORIA E SERRANO HERNANDEZ                   PO BOX 143992                                                                                                       ARECIBO            PR         00614
   660994 GLORIA E SERRANO SOBERAL                     HC 01 BOX 10099                                                                                                     ARECIBO            PR         00612
   193552 GLORIA E SOSTRE DEL VALLE                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   660996 GLORIA E SOTO GARAY                          URB FERRY BARRANCA         305 CALLE CRISANTEMO II                                                                  PONCE              PR         00716
   660864 GLORIA E SOTO SANCHEZ                        P O BOX 1576                                                                                                        YABUCOA            PR         00767
   660998 GLORIA E VALENTIN NIEVES                     COND GARDENS HILLS PLAZA   TORRE 1 APTO 803                                                                         GUAYNABO           PR         00966
   660999 GLORIA E VARGAS RIVERA                       7552 CALLE BALLESTER                                                                                                SABANA SECA        PR         00952‐4122

   661000 GLORIA E VARGAS RODRIGUEZ                    APRT CALLE 3                                                                                                        CAMUY              PR         00627
   661001 GLORIA E VAZQUEZ COLON                       BDA SANTA ANA              CALLE D 152 PANEL 18                                                                     GUAYAMA            PR         00784
   193553 GLORIA E VAZQUEZ ORTEGA                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   661002 GLORIA E VEGA ROSADO                         HC 03 BOX 28413                                                                                                     ARECIBO            PR         00612
   193554 GLORIA E VEGA SANTIAGO                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   193555 GLORIA E VELEZ SANTOS                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   193556 GLORIA E VILCHEZ PAZ                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   661004 GLORIA E VIZCARRONDO                         PO BOX 21365                                                                                                        SAN JUAN           PR         00928

   661005 GLORIA E ZAYAS RUNKEL                        CON CRYSTAL HOUSE          368 CALLE DE DIEGO APT 1112                                                              SAN JUAN           PR         00926
   193558 GLORIA E. ALOMAR RIGUAL                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   661006 GLORIA E. ALVARADO TORRES                    CONDGALERIA I APT1003      AVE ARTERIAL HOSTOS A 201                                                                SAN JUAN           PR         00918
   193559 GLORIA E. CASTRO TORRES                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                       APT 201 COND MAGDALENA
   661007 GLORIA E. CENTENO BURGOS                     PARK                       1202 AVE MAGDALENA                                                                       CONDADO            PR         00907

   193560 GLORIA E. CONCEPCION LOZADA REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   193561 GLORIA E. CRUZ ARRIAGA      REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   193562 GLORIA E. CRUZ COLON        REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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   661009 GLORIA E. DAVILA MORAN                      URBANIZACION VILLAS DE LOIZA AI 33 CALLE 32                                                                            CANOVANAS            PR           00729
   661011 GLORIA E. GONZALEZ USUA                     60 CALLE BOLIVIA                                                                                                       SAN JUAN             PR           00917

   193563 GLORIA E. IRIZARRY SANTIAGO                 REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   193564 GLORIA E. LOZADA NIEVES                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   193565 GLORIA E. MEJIA ORREGO                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   193566 GLORIA E. MENDEZ RUIZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   193567 GLORIA E. NIEVES LOPEZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                    390 CALLE SLDD LBRN URB SAN
   661016 GLORIA E. RODRIGUEZ COLON                   SAN AGUSTIN                   AGUSTIN                                                                                  SAN JUAN             PR           00923

   661017 GLORIA E. RODRIGUEZ NIEVES                  PMB 35000 STE 20020                                                                                                    CANOVANAS            PR           00729
   193569 GLORIA E. ROJAS BRUNO                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   193570 GLORIA E. SANTANA SANTIAGO                  REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   661021 GLORIA E. TORRES NEGRON                     URB LA ESPERANZA              N8 CALLE 6                                                                               VEGA ALTA            PR           00692
   661022 GLORIA E. VELAZQUEZ                         1127 CALLE PICCIONI           CONDADO                                                                                  SAN JUAN             PR           00907
                                                      CARR 842 K.M 5.6 CAMINO LOS
   661023 GLORIA E. VILLEGAS                          COTTTO                                                                                                                 SAN JUAN             PR           00926

   193571 GLORIA EDNA RAMOS CARRION                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GLORIA ENCARNACION
   661025 ENCARNACION                                 EL CORAL                      EDIF 6 APT 93                                                                            CAROLINA             PR           00985
          GLORIA ENCARNACION
   661026 MARQUEZ                                     RES LOS MIRTOS                EDIF 16 APT 255                                                                          CAROLINA             PR           00987
          GLORIA ENID GONZALEZ
   193572 GONZALEZ                                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GLORIA ENID MARTINEZ
   661027 ACEVEDO                                     PO BOX 451                                                                                                             GARROCHALES          PR           00652
   770533 GLORIA ESCUDERO MORALES                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   661028 GLORIA ESTELA BURGOS                        RES ENUDIO NEGRON             2 APT 38                                                                                 VILLALBA             PR           00766
          GLORIA ESTHER APONTE
   193574 GARAYUA                                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   193575 GLORIA ESTHER AULET RIVERA                  REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GLORIA ESTHER CASTILLO
   193576 BERDECIA                                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   661029 GLORIA ESTHER COLON THOMAS URB VILLA DEL CARMEN                           4706 CALLE TURINA                                                                        PONCE                PR           00716
   660765 GLORIA ESTHER LUGO         HC 1 BOX 7455                                                                                                                           AGUAS BUENAS         PR           00703

   193577 GLORIA ESTHER PAGAN PAGAN                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   661030 GLORIA ESTHER RODRIGUEZ                     COM OLIMPO                    SOLAR 135                                                                                GUAYAMA              PR           00784
   661031 GLORIA ESTHER VAZQUEZ                       COM MOSQUITO                  SOLAR 76                                                                                 SALINAS              PR           00694

   661032 GLORIA ESTHER VAZQUEZ AYALA BO PALMAS                                     89 SECTOR PARCELAS VIEJAS                                                                COMERIO              PR           00782
   661033 GLORIA ESTRADA              VILLA DEL REY                                 3B 18 DALMACIA                                                                           CAGUAS               PR           00725
   661034 GLORIA FELICIANO            12 CALLE LAUREL                                                                                                                        YAUCO                PR           00698
   661035 GLORIA FELIX HERNANDEZ      BO BEATRIZ                                    BZN 5702                                                                                 CIDRA                PR           00739

   661036 GLORIA FERNANDEZ ESTEBANEZ 711 UNION TOWER                                APT 75 MIRAMAR                                                                           SAN JUAN             PR           00907
   661037 GLORIA FERREIRA GARCIA     BOX 22153 UPR STATION                                                                                                                   SAN JUAN             PR           00931



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  661039 GLORIA FERRER CORDERO                        HC 02 BOX 24554                                                                                                       AGUADILLA         PR         00603
  193579 GLORIA FIDALGO CORDOVA                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  661040 GLORIA FIGUEROA                              URB METROPOLIS              2F 7 AVE C                                                                                CAROLINA          PR         00987
  661041 GLORIA FIGUEROA DE VALDES                    VILLA CAROLIAN              25 ‐89 CALLE 98                                                                           CAROLINA          PR         00985
  661042 GLORIA FIGUEROA LUGO                         BO SANTANA SEC LOS LLANOS   B 8 CALLE 3                                                                               ARECIBO           PR         00613
  661043 GLORIA FIGUEROA MARRERO                      HC 01 BOX 17552                                                                                                       COMERIO           PR         00782
  193580 GLORIA FONTANEZ                              REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  193582 GLORIA FONTANEZ BORGES                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   661047 GLORIA FRAGOSO RODRIGUEZ                    PARADA 20                   1460 CALLE SAN RAFAEL                                                                     SAN JUAN          PR         00909
   661048 GLORIA FRANCO RODRIGUEZ                     C/O ANTONIA DE JESUS        DEPT SALUD                     PO BOX 70184                                               SAN JUAN          PR         00936‐8184
   661050 GLORIA FRONTERA JORGE                       URB MONTERREY               822 CALLE ABACOA                                                                          MAYAGUEZ          PR         00680
   661051 GLORIA FUENTE RIVAS                         COOP VIVIENDAS JARDINES     DE VALENCIA APT 709                                                                       SAN JUAN          PR         00923
   661052 GLORIA FUENTES FIGUEROA                     P O BOX 154                                                                                                           PALMER            PR         00721
   193583 GLORIA FUENTES ORTIZ                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   193584 GLORIA G GOMEZ FRAGUADA                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   661054 GLORIA G RIVERA                             PO BOX 10435                                                                                                          PONCE             PR         00732
          GLORIA GANDARILLA DE
   193585 CARDONA                                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   661055 GLORIA GARAYALDE VAZQUEZ                    URB SIERRA BAYAMON          33‐7 CALLE 31                                                                             BAYAMON           PR         00961

   661056 GLORIA GARCIA CARRASQUILLO                  HC 01 BOX 5741                                                                                                        GUAYNABO          PR         00971
   193586 GLORIA GARCIA CRESPO                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   193587 GLORIA GARCIA ECHEVARRIA                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   193588 GLORIA GARCIA PADILLA                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   193589 GLORIA GARCIA PEREZ                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   661058 GLORIA GARCIA RODRIGUEZ                     HC 67 BOX 16567                                                                                                       FAJARDO           PR         00738
          GLORIA GIL DE LAMADRID Y
   193590 SUCESION PEDRO                              REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                  36 CALLE CAPRI URB PASEO LAS
   661059 GLORIA GOENAGA                              CALLE PALERMO               BRISAS                                                                                    SAN JUAN          PR         00926
   661060 GLORIA GOMEZ                                BO OBRERO                   963 CALLE CARIBE                                                                          ARECIBO           PR         00612
   661061 GLORIA GOMEZ TORRES                         C/O MYRNA SOTO NAVEDO       PO BOX 42003                                                                              SAN JUAN          PR         00940‐2003
   193591 GLORIA GOMEZ ZUNIGA                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   193592 GLORIA GONZALEZ                             REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   193593 GLORIA GONZALEZ ACOSTA                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   661062 GLORIA GONZALEZ AYALA                       VILLA PALMERAS              361 CALLE COLTON                                                                          SAN JUAN          PR         00915‐2228
   193594 GLORIA GONZALEZ CRUZ                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   661065 GLORIA GONZALEZ GARAY                       BDA VENEZUELA               1206 CALLE IZCOA DIAZ                                                                     SAN JUAN          PR         00926

   193595 GLORIA GONZALEZ GONZALEZ                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   661067 GLORIA GONZALEZ LUCIANO                     URB VILLA DEL CARMEN        816 CALLE SAUCO                                                                           PONCE             PR         00716‐2123

   661068 GLORIA GONZALEZ NAVEDO                      MIRAMAR                     APT 2 ‐ 703 CALLE ROOSEVELT                                                               SAN JUAN          PR         00907
   661069 GLORIA GONZALEZ PEREZ                       HC 2 BOX 5057                                                                                                         LARES             PR         00669
   661070 GLORIA GONZALEZ RIVERA                      P O BOX 7804                                                                                                          CAGUAS            PR         00726

   193597 GLORIA GONZALEZ RODRIGUEZ                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   661071 GLORIA GONZALEZ SOLER                       316 C/SALGADO ALTOS                                                                                                   SAN JUAN          PR         00907
   193598 GLORIA GOYCO AMADOR                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   193599 GLORIA GRAU SANTIAGO                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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   193600 GLORIA GUERRERO MONTALVO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661073 GLORIA GUTIERREZ LOPEZ                      HC 43 BOX 9788                                                                                                     CAYEY               PR           00737
   661075 GLORIA GUTIERREZ ORTIZ                      PO BOX 561038                                                                                                      GUAYANILLA          PR           00656‐3038
   193601 GLORIA GUZMAN HENAO                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193602 GLORIA GUZMAN PEREZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661076 GLORIA GUZMAN RAMOS                         BO INGENIO                   PARCELA 72 CALLE AMAPOLA                                                              TOA BAJA            PR           00951
   193604 GLORIA H DIEPPA RODRIGUEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   661078 GLORIA H MARTINEZ ALVAREZ                   BOX 62                                                                                                             ISABELA             PR           00662
   661079 GLORIA H MU¥OZ PEREZ                        URB RIO PIEDRAS HEIGHTS      130 CALLE SALVEN                                                                      SAN JUAN            PR           00926

   193606 GLORIA H NAVARRO VAZQUEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GLORIA H PADILLA O FELIPE
   193607 FELICIANO                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193608 GLORIA H PEREZ SANABRIA                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193609 GLORIA H VELEZ VILLARAN                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193610 GLORIA H. OLIVERAS MORALES                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661080 GLORIA HEREDIA BROSSIN                      RES PUERTA DE TIERRA         EDIF N APT 393                                                                        SAN JUAN            PR           00924
   661081 GLORIA HERNANDEZ                            HC 1 BOX 3513                                                                                                      ARROYO              PR           00714

   193612 GLORIA HERNANDEZ DE JESUS                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193614 GLORIA HERNANDEZ MOJICA                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661084 GLORIA HERNANDEZ RAMOS                      PO BOX 429                                                                                                         GUAYNABO            PR           00970‐0429

   193616 GLORIA I ALVARADO GONZALEZ                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193617 GLORIA I BERRIOS CRUZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   661085 GLORIA I CABRERA VELAZQUEZ                  HC 02 BOX 6322                                                                                                     YABUCOA             PR           00767
   193618 GLORIA I CAMPO CANEL                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   661086 GLORIA I CARABALLO MIRANDA                  PO BOX 1886                                                                                                        JUNCOS              PR           00777
          GLORIA I CARTAGENA
   661087 HERNANDEZ                                   PLAYITA C‐62                                                                                                       SALINA              PR           00751
   661088 GLORIA I CENTENO CRUZ                       BO ARENAS                    BOX 1068                                                                              CIDRA               PR           00739

   193619 GLORIA I CHAPARRO OLIVERAS                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193620 GLORIA I COLON ESTELA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193621 GLORIA I CRUZ PEREZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661089 GLORIA I DE JESUS DE JESUS                  6974 CALLE GIRASOL BUZ 116                                                                                         SABANA SECA         PR           00952
   193623 GLORIA I DIAZ ACEVEDO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193624 GLORIA I FLORES RAMOS                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193626 GLORIA I GONZALEZ RIVERA                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   661093 GLORIA I GONZALEZ VAZQUEZ                   URB BELLOMONTE               L 19 CALLE 10                                                                         GUAYNABO            PR           00970
   193627 GLORIA I MARTINEZ MATOS                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      BO GUAVATE SECTOR
   661094 GLORIA I MEDINA                             INOCENCIO CRUZ               BOX 21401                                                                             CAYEY               PR           00736
   193628 GLORIA I MIRANDA APONTE                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   660766 GLORIA I MIRANDA APONTE                     PO BOX 1112                                                                                                        BARRANQUITAS        PR           00794

   661095 GLORIA I MONTALVO ORTEGA                    URB DOS PINOS                786 CALLE VESTA                                                                       SAN JUAN            PR           00923



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  193629 GLORIA I ORTIZ RODRIGUEZ                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  193631 GLORIA I RAMIREZ                              REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  661097 GLORIA I RAMIREZ DE FKANK                     RES CLEMENTINA                C30 RUFINO RODRIGUEZ                                                                      GUAYNABO          PR         00969

   661099 GLORIA I RIVERA MARTINEZ                     URB REPTO FLAMINGO            I 31 CALLE SULTANA DEL OESTE                                                              BAYAMON           PR         00959
   193633 GLORIA I RIVERA PEREZ                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   661100 GLORIA I RODRIGUEZ GONZALEZ 11 CALLE VILLAMIL                                                                                                                        SAN JUAN          PR         00907

   661101 GLORIA I ROMERO RODRIGUEZ                    VALLE ARRIBA HEIGHTS          AS‐ 2 CALLE 46                                                                            CAROLINA          PR         00983
   661102 GLORIA I RUIZ ROMAN                          URB CORCHADO                  32 CALLE GARDENIA                                                                         ISABELA           PR         00662
   661104 GLORIA I TORRENS ROSA                        HC 2 BOX 5930                                                                                                           LUQUILLO          PR         00773
   193635 GLORIA I YAMBO TORRES                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   661105 GLORIA I. BONILLA                            PO BOX 21365                                                                                                            SAN JUAN          PR         00928

   193636 GLORIA I. ESCUDERO MORALES                   REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   193637 GLORIA I. IRIZARRY VALENTIN                  REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          GLORIA I. MULERO DE
   661106 MELENDEZ                                     URB. VILLA DEL PILAR          B 37 CALLE SAN JORGE                                                                      CEIBA             PR         00735
   193639 GLORIA I. NEGRON CRUZ                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          GLORIA I. ZAMBRANA
   193640 GIERBOLINI                                   REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   193641 GLORIA IRIS RUIZ RODRIGUEZ                   REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   661107 GLORIA IRIZARRY MORALES                      URB STA JUANITA               N J 21 CALLE NINFA                                                                        BAYAMON           PR         00957
          GLORIA IVETTE GONZALEZ
   661108 GONZALEZ                                     RES FELIPE SANCHEZ OSORIO     EDIF 27 APT 82                                                                            CAROLINA          PR         00985

   661109 GLORIA IVETTE PEREZ TORRES                   5TA SECCION                   BC 10 DR JOAQUIN BOSH                                                                     TOA BAJA          PR         00949
          GLORIA IVETTE RODRIGUEZ
   193643 CUADRADO                                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   661110 GLORIA J ALICEA RUIZ                         COND TURABO CLUSTER           PO BOX 189                                                                                CAGUAS            PR         00725
   193644 GLORIA J FLECHA BURGOS                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   661111 GLORIA J GONZALEZ ORTIZ                      BO JUAN DOMINGO               10 C/ SAN MIGUEL                                                                          GUAYNABO          PR         00966
   661112 GLORIA J MARTINEZ ORTIZ                      EXT VILLA SANTA CATALINA      HC 01 BOX 10025                                                                           COAMO             PR         00769
          GLORIA J NADAL CORDERO/
   193645 FERRER ELECTRICA                             REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   661113 GLORIA J ORTIZ                               URB LA RIVIERA                COND WHITE TOWER APT 408                                                                  SAN JUAN          PR         00921

   193646 GLORIA J RODRIGUEZ VILANOVA                  REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   661115 GLORIA J TORRES CUBERO                       PO BOX 1072                                                                                                             QUEBRADILLAS      PR         00678
   193647 GLORIA J VAZQUEZ SANTIAGO                    REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   193648 GLORIA J. ORTIZ COLON                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   193649 GLORIA JANET ESTREMERA RIOS REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   193650 GLORIA JIMENEZ / NEIDA PAGAN REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   661118 GLORIA JIMENEZ ADORNO        PUNTAS LAS MARIAS                             117 CALLE BUCARE                                                                          SAN JUAN          PR         00913
   661117 GLORIA JIMENEZ MELENDEZ      URB VILLA FONTANA                             U R 14 VIA 16                                                                             CAROLINA          PR         00983

   661119 GLORIA JIMENEZ MORALES                       HC 02 BOX 9388 DOS BOCAS II                                                                                             CAROZAL           PR         00783
          GLORIA KUILAN
   193651 CLAUDIO/PEQUENAS LIGAS                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED



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   193652 GLORIA L GONZALEZ DE AGUILAR REDACTED                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661122 GLORIA L MIRANDA TORRES      P O BOX 250                                                                                                             ANASCO              PR           00610
   661123 GLORIA L ORTIZ ORTIZ         REPARTO ROBLES A 86       CALLE 11                                                                                      AIBONITO            PR           00705
   193653 GLORIA L RIVERA MARCANO      REDACTED                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                       ADMINISTRACION DE
   661124 GLORIA L ROSADO ORTIZ        TRIBUNALES                PO BOX 190917                                                                                 SAN JUAN            PR           00919‐0917
   193654 GLORIA L. LEBRON NIEVES      REDACTED                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193655 GLORIA LAGO MACHADO          REDACTED                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661125 GLORIA LAMBERTY RIVERA       EXT VILLA DE CAFETAL      C 34 CALLE 3                                                                                  YAUCO               PR           00698
   661126 GLORIA LASALLE COLON         PO BOX 701                                                                                                              MOCA                PR           00676
   661127 GLORIA LEBRON                P O BOX 30                                                                                                              ARROYO              PR           00714
          GLORIA LETICIA LEDUC         ST MAYAGUEZ COND MAYAGUEZ
   661128 MARQUEZ                      COURT                     APT 206 EDIF 137                                                                              SAN JUAN            PR           00917
          GLORIA LLOMPART DANZA
   661130 CONTACTO                     417 CALLE INMACULADA                                                                                                    SAN JUAN            PR           00915
   193656 GLORIA LOPEZ LOPEZ           REDACTED                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661131 GLORIA LOPEZ SANTIAGO        HC 4 BOX 30266                                                                                                          HATILLO             PR           00659
   661132 GLORIA LORENZO ACEVEDO       HC 58 BOX 12270                                                                                                         AGUADA              PR           00602
   193657 GLORIA LORENZO VAZQUEZ       REDACTED                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661134 GLORIA LOUBRIEL MORALES      BO GALATEO                SECTOR LOUBRIEL PARC 133                                                                      TOA ALTA            PR           00953
   661135 GLORIA LOYO LOPEZ            PO BOX 723                                                                                                              BARRANQUITAS        PR           00794
   193658 GLORIA M AGOSTO CLAUDIO      REDACTED                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193659 GLORIA M AGUAYO SENERIZ      REDACTED                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193660 GLORIA M APONTE LOPEZ        REDACTED                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661138 GLORIA M AQUINO MULERO       P O BOX 867                                                                                                             SAINT JUST          PR           00978‐0867

   193661 GLORIA M ARROYO RODRIGUEZ                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GLORIA M BADILLO / ABRAHAM
   193662 ACEVEDO                                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661140 GLORIA M BOSQUE GALARZA                     PO BOX 140806                                                                                            ARECIBO             PR           00614
   193663 GLORIA M BOSQUES MEDINA                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661141 GLORIA M CARTAGENA ORTIZ                    PARC VAZQUEZ           A 154 CALLE 1                                                                     SALINAS             PR           00751
   193664 GLORIA M CASASUS URRUTIA                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193665 GLORIA M CASTILLO COSME                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   661142 GLORIA M CINTRON BERMUDEZ PO BOX 32                                                                                                                  RIO GRANDE          PR           00745
   661143 GLORIA M CINTRON LOPEZ    PO BOX 40055                                                                                                               SAN JUAN            PR           00940‐0055

   661144 GLORIA M CINTRON MORALES                    PO BOX 661                                                                                               JUNCOS              PR           00777
   193666 GLORIA M COLLAZO RIVERA                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193667 GLORIA M COLON                              REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661146 GLORIA M COLON DIAZ                         BO BUENAVISTA          188 CALLE CEREZO                                                                  CAROLINA            PR           00985
   193668 GLORIA M COLON MARTINEZ                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661149 GLORIA M CRUZ                               TOA ALTA HEIGHTS       AH 10 CALLE 28                                                                    TOA ALTA            PR           00953
   661150 GLORIA M CRUZ RIVERA                        TRR DE GUAYNABO        E 1 CALLE LAS FLORES                                                              GUAYNABO            PR           00969
   661151 GLORIA M DE CORRAL                          130 ELEONOR ROOSVELT                                                                                     SAN JUAN            PR           00918‐3105
   661152 GLORIA M DE JESUS CRUZ                      RR 1 BOX 6834                                                                                            GUAYAMA             PR           00784
   193669 GLORIA M DE JESUS DIAZ                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193671 GLORIA M DE LEON                            REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193672 GLORIA M DEL VALLE JIMENEZ                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   661154 GLORIA M FEBO SANTIAGO                      URB ALTURAS DE RIO GRANDE     H 339 CALLE7                                                                          RIO GRANDE          PR           00745
          GLORIA M FELICIANO
   193673 RODRIGUEZ                                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661158 GLORIA M FRET                               COM VILLA REALIDAD            SOLAR 5                                                                               RIO GRANDE          PR           00739
   661160 GLORIA M GARCIA RAMIREZ                     313 PIO BAROJA                URB EL SENORIAL                                                                       SAN JUAN            PR           00926
   193674 GLORIA M GARCIA TORRES                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      400 AVE F D ROOSEVELT SUITE
   661162 GLORIA M GONZALEZ TERESA                    410                                                                                                                 SAN JUAN            PR           00918
   661163 GLORIA M GUZMAN RAMOS                       BO INGENIO                    72 CALLE AMAPOLA PARC 72                                                              TOA BAJA            PR           00951
          GLORIA M HERNANDEZ Y
   193676 MARITZA SANTIAGO                            REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661165 GLORIA M LOPEZ                              HC 80 BOX 6512                                                                                                      DORADO              PR           00646
   193677 GLORIA M LORENZO SOTO                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661166 GLORIA M LUGO SANCHEZ                       102 CALLE ESTACION                                                                                                  MAYAGUEZ            PR           00680
          GLORIA M MARRERO
   193678 HERNANDEZ                                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193679 GLORIA M MARTINEZ CALDERON REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193680 GLORIA M MARTINEZ FIGUEROA REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   661168 GLORIA M MARTINEZ FONTAN                    CAMINO LAS ROSAS              B 15 PASEO DEL PRADO                                                                  SAN JUAN            PR           00926
          GLORIA M MATOS
   193681 VIZCARRONDO                                 REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661169 GLORIA M MEDINA LOPEZ                       RES PUERTA DE TIERRA          EDFI 1 APT 186                                                                        SAN JUAN            PR           00901

   193682 GLORIA M MELENDEZ ANGULO                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193683 GLORIA M MELENDEZ OSORIO                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661172 GLORIA M MORALES                            URB SANTIAGO                  14 CALLE CH                                                                           LOIZA               PR           00772
   193684 GLORIA M MORILLO CABAN                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193685 GLORIA M NAZARIO MUNOZ                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661176 GLORIA M ORTIZ                              P O BOX 27710                                                                                                       CAYEY               PR           00736
   661178 GLORIA M ORTIZ COLON                        JARD DE JAYUYA                170 CALLE GLADIOLAS                                                                   JAYUYA              PR           00664‐1610
   661179 GLORIA M ORTIZ COTTO                        HC‐72 BOX‐7028                                                                                                      CAYEY               PR           00736
   661180 GLORIA M ORTIZ LUGO                         PO BOX 9023934                                                                                                      SAN JUAN            PR           00902‐3934
   193687 GLORIA M ORTIZ RAMIREZ                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661182 GLORIA M OTERO                              GOLDEN GATE II                E 13 CALLE H                                                                          CAGUAS              PR           00725
   661183 GLORIA M PABON                              HC 04 BOX 7972                                                                                                      JUANA DIAZ          PR           00795
   661184 GLORIA M PAGAN GARCIA                       359 VILLA PALMERA                                                                                                   SAN JUAN            PR           00912
   193688 GLORIA M PELLOT GARCIA                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661187 GLORIA M PEREZ ORTIZ                        BOX 1509                                                                                                            SANTA ISABEL        PR           00757
   193689 GLORIA M PEREZ RIVERA                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661189 GLORIA M PI PASCUAL                         URB LOS ANGELES               V 9 CALLE L                                                                           CAROLINA            PR           00979
   193690 GLORIA M PIZARRO CANCEL                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661190 GLORIA M RAMOS ADORNO                       COLINAS DE MONTE CARLO        BLQ A 2 13 CALLE 23A                                                                  SAN JUAN            PR           00924

   661192 GLORIA M RAMOS RODRIGUEZ                    HC 20 BOX 26103                                                                                                     SAN LORENZO         PR           00754
   661193 GLORIA M REYES PAGAN                        URB ROOSEVELT                 259 CALLE HECTOR SALAMAN                                                              SAN JUAN            PR           00918‐2307
   193691 GLORIA M REYES TORRES                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   661194 GLORIA M RIVERA CARABALLO                   URB SANTA MARIA               H 21 CALLE 6                                                                          TOA BAJA            PR           00949



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  193693 GLORIA M RIVERA CENTENO                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193694 GLORIA M RIVERA HERNANDEZ                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661197 GLORIA M RIVERA MENDEZ                      P O BOX 1196                                                                                              COAMO               PR         00769

   661198 GLORIA M RODRIGUEZ ERAZO                    JARD DE CATANO          Z17 CALLE ROBLES                                                                  CATANO              PR         00962

   661199 GLORIA M RODRIGUEZ RIVERA                   URB ROOSEVELT           384 JUAN A DAVILA                                                                 SAN JUAN            PR         00918
   661201 GLORIA M ROJAS HERNANDEZ                    HC 02 BUZON 17381       BO MALPICA                                                                        RIO GRANDE          PR         00745
   661202 GLORIA M ROQUE NAZARIO                      PO BOX 6022                                                                                               PONCE               PR         00731
   661203 GLORIA M ROSA VIERA                         4TA SECC METROPOLIS     H 1‐44 CALLE 1                                                                    CAROLINA            PR         00987
   193696 GLORIA M RUIZ CORRALIZA                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193697 GLORIA M RUIZ DONES                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   661206 GLORIA M SANCHEZ ACEVEDO                    RR 6 BOX 10669                                                                                            SAN JUAN            PR         00926
   193698 GLORIA M SANTAELLA                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193699 GLORIA M SEDA RODRIGUEZ                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661208 GLORIA M SERRANO ALVAREZ                    RES NEMESIO CANALES     EDIF 16 APTO 3114                                                                 SAN JUAN            PR         00920
   193701 GLORIA M TAPIA ROMERO                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193702 GLORIA M TORO AGRAIT                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193703 GLORIA M TORRES ACEVEDO                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660767 GLORIA M TORRES PINTO                       3011 AVE ALEJANDRINO    APT 1303                                                                          GUAYNABO            PR         00969‐7039
          GLORIA M TORRUELLA
   661212 HERNANDEZ                                   398 BRISAS DEL CARIBE                                                                                     PONCE               PR         00728‐5319

   661213 GLORIA M VAZQUEZ HERNANDEZ BOX 591                                                                                                                    MOCA                PR         00676

   661214 GLORIA M VAZQUEZ TRAVERSO                   URB CAPARRA HEIGHTS     V 606 CALLE ESTUARIO                                                              SAN JUAN            PR         00920
   661216 GLORIA M VEGA SILVA                         ALT DE SAN PEDRO        Q 50 CALLE MIGUEL                                                                 FAJARDO             PR         00738
   661217 GLORIA M VELEZ BARRIOS                      P O BOX 71325           SUITE 245                                                                         SAN JUAN            PR         00936
   193705 GLORIA M VERDEJO DAVILA                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   661218 GLORIA M VILLANUEVA MOLINA URB SANS SOUCH                           H 12 CALLE 9                                                                      BAYAMON             PR         00957
   193707 GLORIA M. COLON SUAREZ     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193708 GLORIA M. CUSTODIO MENDEZ                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193709 GLORIA M. DIAZ FORTIS                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193711 Gloria M. Lopez Gonzalez                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661222 GLORIA M. MERCADO MORA                      PO BOX 140202                                                                                             ARECIBO             PR         00614
   193712 GLORIA M. PARIS POUPART                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193713 GLORIA M. REYES PEREZ                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193715 GLORIA M. RUIZ CORRALIZA                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193716 GLORIA M. SOTO RODRIGUEZ                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193717 GLORIA M. VICENTE REYES                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661224 GLORIA M. VIDAL ACEVEDO                     HC 67 PO BOX 17863                                                                                        FAJARDO             PR         00738
   771069 GLORIA MA ORTIZ ORTIZ                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661227 GLORIA MADERA LEBRON                        B 149‐10 BO STA ANA                                                                                       GUAYAMA             PR         00784
   661228 GLORIA MADINA SOTO                          PO BOX 1264                                                                                               SABANA HOYOS        PR         00688‐1264
   661229 GLORIA MADRAZO VICENS                       EL CEREZAL              1685 LENA                                                                         SAN JUAN            PR         00926
   661230 GLORIA MALDONADO                            RES CATONI              EDIF 10 APT 76                                                                    VEGA BAJA           PR         00693

   193718 GLORIA MALDONADO NEGRON                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661231 GLORIA MALDONADO RAMOS                      1791 LITHEDA HEIGHTS                                                                                      SAN JUAN            PR         00926



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  661232 GLORIA MALDONADO VEGA                        URB TORREMOLINOS               E 1 CALLE CRISALIDA                                                               GUAYNABO          PR           00969
  661233 GLORIA MARCANO ESTRADA                       URB LA POLICIA                 556 CALLE LAVIANA                                                                 SAN JUAN          PR           00923
         GLORIA MARIA CASIANO
  661234 MEDINA                                       SIERRA BAYAMON                 B19 9 CALLE 21                                                                    BAYAMON           PR           00959
         GLORIA MARIA MARTINEZ
  193719 VAZQUEZ                                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   661235 GLORIA MARIA MIRANDA VEGA                   PO BOX 603                                                                                                       AIBONITO          PR           00705‐0603
   193720 GLORIA MARIA ORTIZ CRUZ                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   193722 GLORIA MARRERO ALEMAN                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   661236 GLORIA MARRERO COLON                        PO BOX 96                                                                                                        CIDRA             PR           00739
   193723 GLORIA MARTINEZ REYES                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   661238 GLORIA MATIAS VARGAS                        3006 CALLE REPUBLICA PLAYITA                                                                                     SAN JUAN          PR           00913
   661239 GLORIA MATOS VELEZ                          HC 1 BOX 4775                                                                                                    CAMUY             PR           00627
   661240 GLORIA MAYNARD SALGADO                      P O BOX 6958                                                                                                     BAYAMON           PR           00960
   193724 GLORIA MEDINA MEDINA                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   661242 GLORIA MEDINA SANTIAGO                      VILLA CAROLINA                 56 CALLE 50                                                                       CAROLINA          PR           00985
   193725 GLORIA MEDINA SOTO                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   193405 GLORIA MEJIAS BASE                          RAMEY CALLE PARK                                                                                                 AGUADILLA         PR           00604
   193726 GLORIA MELENDEZ COTTO                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   661243 GLORIA MELENDEZ DIAZ                        BDA SANDIN                     BOX 8 CALLE PLUTON                                                                VEGA BAJA         PR           00693
   661244 GLORIA MELENDEZ PABON                       SOLAR 109 MARIA ANTONIA                                                                                          GUANICA           PR           00653
   193727 GLORIA MENDEZ AVILES                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          GLORIA MENDEZ DLORENZI Y
   193728 ROBERTO LORENZI                             REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   193729 GLORIA MENDEZ REYES                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   193730 GLORIA MENDEZ RIVERA                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   193731 GLORIA MERCEDES CARO SERBIA REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   661247 GLORIA MERCEDES SAAVEDRA                    BO SAN ANTONIO                 PO BOX 148                                                                        QUEBRADILLAS      PR           00678
   660768 GLORIA MILAGROS MARRERO                     URB VILLA RETIRO NORTE         A1A CALLE 1                                                                       SANTA ISABEL      PR           00757
   661248 GLORIA MIRACH VEGA                          ADM SERV GEN                   PO BOX 7428                                                                       SAN JUAN          PR           00916‐7428
   661251 GLORIA MOCK SIRAGUSA                        COND MONTE BELLO               APT N 527 CALLE 14                                                                TRUJILLO ALTO     PR           00976‐2318
   661252 GLORIA MOLINA GAUD                          17 A B 2‐48 REXVILLE                                                                                             BAYAMON           PR           00957
   661253 GLORIA MONCLOVA PEREZ                       COND LAGUNA GARDENS            4 APTO 4 1                                                                        CAROLINA          PR           00979
   193737 GLORIA MONGE NUNEZ                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
                                                      RES SAN MARTIN EDIF 22 APT
   661254 GLORIA MONGE SOTO                           265                                                                                                              SAN JUAN          PR           00925
   661255 GLORIA MONJE AYALA                          VILLA CARIDAD                  B 55 CALLE LAUREL                                                                 CAROLINA          PR           00985

   193738 GLORIA MONTANEZ QUINONES                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   193739 GLORIA MONTANEZ RODRIGUEZ                   REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   193740 GLORIA MONTIJO FIGUEROA                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   661256 GLORIA MONTIJO MONTIJO                      HC 04 BOX 18078                                                                                                  CAMUY             PR           00627
   661258 GLORIA MORALES PIZARRO                      PLAYITA                        223 CALLE CAROLINA                                                                SAN JUAN          PR           00913
   193741 GLORIA MORELL                               REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   661259 GLORIA MUNDO OROZCO                         255 CALLE ROSARIO                                                                                                SAN JUAN          PR           00936
   193742 GLORIA MUNIZ MENDEZ                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   193743 GLORIA MUNOZ BLANCO                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED




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   661260 GLORIA N COLON CARTAGENA                    PO BOX 231                                                                                                       OROCOVIS            PR         00720
   193746 GLORIA N MARTINEZ LOPEZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   193747 GLORIA N MENDOZA VAZQUEZZ REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   661261 GLORIA N ROSA TOSADO      HC 05 BOX 27624                                                                                                                    CAMUY               PR         00627
   661262 GLORIA N VAZQUEZ          PO BOX 570                                                                                                                         MOCA                PR         00676

   193748 GLORIA N. CARRILLO GONZALEZ                 REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   661264 GLORIA NAZARIO                              20 CC SANTA ELENA                                                                                                BAYAMON             PR         00957
   661265 GLORIA NAZARIO SANTANA                      VILLA FONTANA             4 MS 8 VIA LUCIA                                                                       CAROLINA            PR         00983
   661266 GLORIA NEGRON VEGA                          P.O. BOX 1007                                                                                                    GUAYNABO            PR         00970

   193749 GLORIA NIEVES / TONY CARRION REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   661267 GLORIA NIEVES CASTRO         URB LOMAS VERDES                         329 CALLE RUBI                                                                         MOCA                PR         00676
   661269 GLORIA NIEVES MENDEZ         HC 01 BOX 4656                                                                                                                  CAMUY               PR         00627
   193751 GLORIA NIEVES SANTIAGO       REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   193752 GLORIA O FIGUEROA ROURE      REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   661270 GLORIA OLIVERAS FIGUEROA     URB VILLA PARAISO                        2111 CALLE TENZA                                                                       PONCE               PR         00716
   661272 GLORIA ORAMA                 PO BOX 21365                                                                                                                    SAN JUAN            PR         00918
   661273 GLORIA ORTEGA OTERO          400 CALLE JUAN KALAF                     SUITE 148                                                                              SAN JUAN            PR         00918‐1323
   193754 GLORIA ORTIZ LARA            REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   661274 GLORIA ORTIZ MARIN           812 CALLE MANATIALES                                                                                                            MAYAGUEZ            PR         00630
   661275 GLORIA ORTIZ MARTINEZ        HC 02 BOX 22486                                                                                                                 MAYAGUEZ            PR         00680
   193755 GLORIA ORTIZ SANCHEZ         REDACTED                                 REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   661277 GLORIA ORTIZ TORRES          3RA EXT COUNTRY CLUB                     HP 2 CALLE 236                                                                         CAROLINA            PR         00983
   193756 GLORIA OTERO PAGAN           REDACTED                                 REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
                                                                                47 CALLE ESTEBAN PADILLA APT
   661280 GLORIA PALERMO MORALES                      URB SANTA CRUZ            C                                                                                      BAYAMON             PR         00961‐6700
   661281 GLORIA PARRA MERCEDES                       4TA EXT MONTE BRISAS      J 21 CALLE 21                                                                          FAJARDO             PR         00738‐3921
   661282 GLORIA PARRILLA GARCIA                      RR10 BOX 10149                                                                                                   SAN JUAN            PR         00926
   193760 GLORIA PENA COLON                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   661283 GLORIA PERAZA                               PO BOX 1324                                                                                                      BAYAMON             PR         00984
          GLORIA PEREZ / CLUB GIGANTES
   661284 DE CAROLINA                                 ÙRB VILLA CAROLINA        222‐21 CALLE 603                                                                       CAROLINA            PR         00985
   661285 GLORIA PEREZ DE RIVERA                      URB PARK GARDENS          O 6 CALLE ARCADIA                                                                      SAN JUAN            PR         00926
   193761 GLORIA PEREZ DIAZ                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          GLORIA PINERO / YOLANDA
   193762 GOMEZ                                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   661287 GLORIA PIZARRO ARROYO                       RES LUIS LLORENS TORRES   EDIF14 APT305                                                                          SAN JUAN            PR         00915
   661288 GLORIA PLA MARTINEZ                         PO BOX 527                                                                                                       ANGELES             PR         00611
   193763 GLORIA PONCE TUA                            REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   661289 GLORIA QUI ONES ALAMO                       URB BROOKLYN              280 CALLE LUIS LOZADA                                                                  CAGUAS              PR         00725
   661290 GLORIA QUI¥ONES BAEZ                        URB METROPOLIS            2 A 29 CALLE 33                                                                        CAROLINA            PR         00987
   193765 GLORIA QUINONES LANZO                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   193766 GLORIA QUINONES ROSARIO                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   193767 Gloria QuiNonez Rosario                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   661291 GLORIA R LEBRON RODRIGUEZ                   HC 01 BOX 4445                                                                                                   YABUCOA             PR         00767
   661293 GLORIA R ROMAN RIVERA                       VILLA MATILDE             G8 CALLE 1                                                                             TOA ALTA            PR         00953
   193768 GLORIA RABELO FIGUEROA                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   193769 GLORIA RAMIREZ                              REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   661296 GLORIA RAMOS ADORNO                         COLINAS DE MONTE CARLO    A‐2 CALLE 23 A                                                                         SAN JUAN            PR         00924



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  661298 GLORIA RAMOS OSORIO                          URB LOS ANGELES               R 17 CALLE F                                                                             CAROLINA           PR         00979
  193770 GLORIA RAMOS PEREZ                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  193771 GLORIA RAMOS TORRES                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  661300 GLORIA RAQUEL PUMAREJO                       URB COUNTRY CLUB              871 CALLE QUEZAL                                                                         SAN JUAN           PR         00915
  661301 GLORIA RESTO                                 HC 1 BOX 825                                                                                                           CAGUAS             PR         00725
  661302 GLORIA RETAMAR FLORES                        471 CALLE SOL                                                                                                          DORADO             PR         00646
  660769 GLORIA REY RODRIGUEZ                         PO BOX 360682                                                                                                          SAN JUAN           PR         00936‐0682
  661303 GLORIA REYES AYALA                           RR 8 BOX 2626                                                                                                          BAYAMON            PR         00956
  661304 GLORIA REYES BAEZ                            COND MONTE SUR                180 AVE HOSTOS APT 1118                                                                  SAN JUAN           PR         00918
  661305 GLORIA REYES FERNANDEZ                       COM ALMIRNTITO                                                                                                         MOCA               PR         00694
  661306 GLORIA REYMUNDI COLLAZO                      P O BOX 3564                                                                                                           VEGA ALTA          PR         00692
  661307 GLORIA RIEFKOHL                              310 WESTBURY LANE                                                                                                      ALPHARETTA         GA         30005
  661308 GLORIA RIOS CABAN                            HC 2 BOX 16419                                                                                                         ARECIBO            PR         00612
  661309 GLORIA RIOS LASALLE                          HC 01 BOX 6311                                                                                                         BARCELONETA        PR         00617
  193773 GLORIA RIOS SERRANO                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         GLORIA RIOS SOTO Y LEONOR
  661310 CLASS                                        20 CALVIN ST                                                                                                           OLD BRIDGE         NJ         00857
  661311 GLORIA RIVERA                                RES NEMESIO R CANALES         EDIF 2 APT 29                                                                            SAN JUAN           PR         00970

   661312 GLORIA RIVERA CARRERO                       VISTA AZUL                    R30 CALLE 19 URB VISTA AZUL                                                              ARECIBO            PR         00612
   661314 GLORIA RIVERA CARRILLO                      HC‐01 BOX 6541                                                                                                         CANOVANAS          PR         00729
   193774 GLORIA RIVERA GUTIERREZ                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   661316 GLORIA RIVERA MARQUEZ                       PO BOX 14561                                                                                                           SAN JUAN           PR         00916
   661317 GLORIA RIVERA MATEO                         BO LA TORRE                   14 CALLE FLORIDA                                                                         BARRANQUITAS       PR         00794
   193775 GLORIA RIVERA RIVERA                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   661323 GLORIA RIVERA RODRIGUEZ                     A 5 URB VILLA JAUCA                                                                                                    SANTA ISABEL       PR         00757
   193777 GLORIA RIVERA ROSADO                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   661324 GLORIA RIVERA VAZQUEZ                       HC 03 BOX 3309                                                                                                         HATILLO            PR         00659
   661325 GLORIA ROBISON                              ALT DE SAN PATRICIO           H15 CALLE ACASIA                                                                         GUAYNABO           PR         00968
   661326 GLORIA RODRIGUEZ                            85 RES VALLE VERDE                                                                                                     ADJUNTAS           PR         00601

   661329 GLORIA RODRIGUEZ CARTAGENA PO BOX 1493                                                                                                                             SANTA ISABEL       PR         00757
   661331 GLORIA RODRIGUEZ DE JESUS  JARDINES DE BORINQUEN                          Y 12 CALLE VIOLETA                                                                       CAROLINA           PR         00985

   661333 GLORIA RODRIGUEZ GONZALEZ                   URB SANTA ELVIRA              N 32 CALLE SANTA LUCIA                                                                   CAGUAS             PR         00725
   661334 GLORIA RODRIGUEZ MATEO                      PO BOX 968                                                                                                             DORADO             PR         00646
   661335 GLORIA RODRIGUEZ ORTIZ                      183 URB VILLA DEL BOSQUE      D 25 CALLE TULIPAN                                                                       CIDRA              PR         00739
   661336 GLORIA RODRIGUEZ RAMIREZ                    BOX 60                        458 CALLE FELIPE R                                                                       SAN JUAN           PR         00915

   660770 GLORIA RODRIGUEZ RODRIGUEZ URB REXVILLE A C 6                             CALLE 49                                                                                 BAYAMON            PR         00957
   661337 GLORIA RODRIGUEZ SIERRA    11 C/ VILLAMIL                                                                                                                          SAN JUAN           PR         00907
   661340 GLORIA ROLDAN SANTANA      ALT DE SAN LORENZO                             A13 CALLE 1                                                                              SAN LORENZO        PR         00754
                                     BO CALICHOZA SECTOR
   661341 GLORIA ROMAN RIVAS         SERRAME                                                                                                                                 Arecibo            PR         00613
   193779 GLORIA ROMAN TORRES        REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   661344 GLORIA ROMERO FIGUEROA     VILLAS FIGUEROA                                2268 AVE PR                                                                              SAN JUAN           PR         00915
   661345 GLORIA ROMERO REYES        BO COCO NUEVO 401                              CALLE CANDIDO PAGAN                                                                      SALINAS            PR         00751
   193780 GLORIA ROSA BARRIOS        REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   193781 GLORIA ROSA BERDECIA       REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   661346 GLORIA ROSA MONTALVO       PO BOX 1238 VICTORIA STA                                                                                                                AGUADILLA          PR         00605
   661347 GLORIA ROSADO MOLINA       URB LOMAS VERDES                               V 33 CALLE CORALILLO                                                                     BAYAMON            PR         00956

   661348 GLORIA ROSADO MORALES                       60 CALLE CARIBE CASTILLO 2B                                                                                            SAN JUAN           PR         00907



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  661350 GLORIA ROSADO ROSADO                         HC 3 BOX 11285                                                                                                     JUANA DIAZ        PR         00795‐9505
  661351 GLORIA RUIZ KUILAN                           REPTO VALENCIA                 AE 37 CALLE 9                                                                       BAYAMON           PR         00959
  193783 GLORIA S ALMONTE                             REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   661353 GLORIA S GONZALEZ SAMPERA                   CUESTA LAS PIEDRAS             24 CIELITO                                                                          MAYAGUEZ          PR         00680
   661354 GLORIA S HERNANDEZ LOPEZ                    HC 05 BOX 25832                                                                                                    CAMUY             PR         00627
   193784 GLORIA S SUAREZ DURAN                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   193786 GLORIA SANABRIA                             REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   193787 GLORIA SANCHEZ GONZALEZ                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   661359 GLORIA SANCHEZ OSORIO                       RES NEMESIO CANALES            EDF 64 APT 1121                                                                     SAN JUAN          PR         00918
   193788 GLORIA SANCHEZ SERRANO                      REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   661360 GLORIA SANES RODRIGUEZ                      PUERTO REAL                    PO BOX 4080                                                                         FAJARDO           PR         00740
   661361 GLORIA SANOUQUEL SURITA                     HC 01 BOX 2123                                                                                                     BAYAMON           PR         00622‐9707
   661363 GLORIA SANTIAGO                             SABANA HOYOS                   APT 602                                                                             ARECIBO           PR         00688
   661366 GLORIA SANTIAGO BONILLA                     21 REAGAN LINE VOOHEES                                                                                             NEW JERSEY        NJ         08043
   661367 GLORIA SANTIAGO GONZALEZ                    HC 1 BOX 2720                                                                                                      ARECIBO           PR         00612
   661368 GLORIA SANTIAGO NAVEDO                      PO BOX 814                                                                                                         CIALES            PR         00638
   193791 GLORIA SANTIAGO SANTIAGO                    REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          GLORIA SANTIAGO VDA. DE
   661371 MOLINA                                      P O BOX 633                                                                                                        BARRANQUITAS      PR         00794
   661372 GLORIA SANTOS DAVILA                        PUERTO NUEVO                   500 CALLE APENINO                                                                   SAN JUAN          PR         00920
   661373 GLORIA SANTOS SANTIAGO                      P O BOX 336                                                                                                        BAYAMON           PR         00960
   661374 GLORIA SEGARRA FALCON                       URB ROUND HILLS                183 CALLE GARDENIA                                                                  TRIJILLO ALTO     PR         00976
   661375 GLORIA SEPULVEDA PEREZ                      PARCELAS SAN ROMUALDO          586 CALLE G                                                                         HORMIGUEROS       PR         00660
   661376 GLORIA SERRANO COLON                        14 REPARTO HORIZONTE                                                                                               YABUCOA           PR         00767
   193793 GLORIA SERRANO QUINONES                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   661377 GLORIA SERRANO RIOS                         A 2 VILLA DE FLORIDA                                                                                               FLORIDA           PR         00650
   193794 GLORIA SERRANO SANTIAGO                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   661379 GLORIA SOLTERO CALDERO                      OASIS GARDENS                  L3 CALLE BOLIVIA                                                                    GUAYNABO          PR         00969
   661380 GLORIA SONFRA JIMENEZ                       102 CALLE DEGETAU                                                                                                  SAN JUAN          PR         00911

   661381 GLORIA SOTO DE VALDELLULY                   AVE PONCE DE LEON              1409 PDA 20                                                                         SAN JUAN          PR         00908

   193795 GLORIA T CONCEPCION AMBERT                  REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          GLORIA T DE MORALES
   661384 RODRIGUEZ                                   URB MONTECARLO                 1338 CALLE 8                                                                        SAN JUAN          PR         00924‐5261
   661385 GLORIA T MONGE RESTO                        INTERAMERICANA GARDENS         EDIF B5 APT 3A                                                                      TRUJILLO ALTO     PR         00976
   661386 GLORIA TAVAREZ PINOTT                       RES LOS PENA                   EDIF 1 APT 35                                                                       SAN JUAN          PR         00926
          GLORIA TEREZA CONDE
   661387 RODRIGUEZ                                   HC 1 BOX 2140                                                                                                      BOQUERON          PR         00622
   193796 GLORIA TIRADO SUPULVEDA                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   661388 GLORIA TORO IRIZARRY                        HC 1 BOX 4495                                                                                                      HORMIGUEROS       PR         00660
   661389 GLORIA TORO RIVERA                          BONNEVILLE APARTMENTS          EDIF B APTO 1                                                                       CAGUAS            PR         00725

   661390 GLORIA TORRES                               HOSP PSIQUIATRIA RIO PIEDRAS   ASSMCA                                                                              Hato Rey          PR         00914‐0000
   661391 GLORIA TORRES GARCIA                        PO BOX 887                                                                                                         VILLALBA          PR         00766
   193797 GLORIA TORRES MAESTRE                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   661392 GLORIA TORRES ORTIZ                         URB ENCANTADA                  5403 AVENTURA                                                                       TRUJILLO ALTO     PR         00976
   193798 GLORIA TORRES RIVERA                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   193799 GLORIA TORRES TORRES                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   661393 GLORIA TOSADO GUZMAN                        P O BOX 98                                                                                                         QUEBRADILLAS      PR         00678
   661394 GLORIA TURELL RIVERA                        URB JAIME L DREW               93 AVE E                                                                            PONCE             PR         00730
   661396 GLORIA V MEDINA GONZALEZ                    URB SAN FERNANDO               D 17 CALLE D                                                                        BAYAMON           PR         00957



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  193800 GLORIA V RIVERA RIVERA                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   661397 GLORIA V VAZQUEZ GONZALEZ                    P O BOX 8125                                                                                                      CAGUAS              PR         00725‐8125
   193801 GLORIA VALENTIN GONZALEZ                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193802 GLORIA VALIENTE MALDONADO                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193803 GLORIA VARGAS BURGOS                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   660771 GLORIA VARGAS ROBLES                         PO BOX 930247                                                                                                     SAN JUAN            PR         00928
   661398 GLORIA VAZQUEZ                               PO BOX 11855                                                                                                      SAN JUAN            PR         00910‐3855
          GLORIA VAZQUEZ / MARIBEL
   193804 SOTO                                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193805 Gloria Vázquez González                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193806 GLORIA VAZQUEZ PASTRANA                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193807 GLORIA VAZQUEZ ROSA                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661400 GLORIA VEGA OYOLA                            BO OBRERO                 747 A CALLE 11                                                                          SAN JUAN            PR         00915
   193808 GLORIA VEGA PAGAN                            REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661401 GLORIA VEGA ROSA                             HC 01 BOX 7006                                                                                                    LAS PIEDRAS         PR         00771
   661402 GLORIA VEGA RUIZ                             URB ROYAL TOWN            L S CALLE 11                                                                            BAYAMON             PR         00960
   661403 GLORIA VEGA SANTIAGO                         PO BOX 337                                                                                                        CIALES              PR         00531
   661404 GLORIA VELASQUEZ                             URB MIRAVILLE 135         CALLE MORADILLA                                                                         SAN JUAN            PR         00926
   661405 GLORIA VELEZ CORTES                          COND PARQUE CENTRO EDIF   CEDRO APT K8                                                                            SAN JUAN            PR         00918
   193809 GLORIA VELEZ MILLAN                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193810 GLORIA VELEZ MIRANDA                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193811 GLORIA VELEZ RODRIGUEZ                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661407 GLORIA VELEZ TORRES                          HC 1 BOX 4734                                                                                                     ADJUNTAS            PR         00601
   661408 GLORIA VELEZ VALLS                           PO BOX 835                                                                                                        TOA ALTA            PR         00692
   661409 GLORIA VIANA DELGADO                         HC 1 BOX 11403                                                                                                    CAROLINA            PR         00985
   193812 GLORIA VILCHES PAZ                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193813 GLORIA VILLEGAS LOZADA                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193814 GLORIA W PEREZ MORENO                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661411 GLORIA Y COLON MERCED                        PARQUE LAS AMERICAS       B 14                                                                                    GURABO              PR         00778
   193815 GLORIA Y LORENZO MORENO                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   661412 GLORIA Y MERCADO DELGADO                     BOX 236                                                                                                           HATILLO             PR         00659

   193816 GLORIA Y MONTALVO PERALTA                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193817 GLORIA ZAYAS SAAVEDRA                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193818 GLORIALYS PENA TORRES                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193819 GLORIALYS ROMAN TOSADO                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193820 GLORIAM SOTO MOLINA                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   661414 GLORIAN M MAYSONET MENDEZ BO HIGUILLAR SECT VILLA SANTA BZN 291 CALLE 1                                                                                        DORADO              PR         00646

   661415 GLORIAN MORALES GONZALEZ                     C.S.M. BAYAMON                                                                                                    Hato Rey            PR         00936
   193821 GLORIAN ORTIZ RODRIGUEZ                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   661416 GLORIAN SANCHEZ GONZALEZ                     HC 2 BOX 22971                                                                                                    AGUADILLA           PR         00603
          GLORIANA RODRIGUEZ
   661419 MARTINEZ                                     1304 WILSON AVENUE        APT. PH‐N                                                                               SAN JUAN            PR         00907

   661421 GLORIANA SANCHEZ ALFONSO                     URB HUCARES               W3‐39 CALDERON DE LA BARCA                                                              SAN JUAN            PR         00926‐6801

   193822 GLORIANA SANTIAGO SANTIAGO REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  193824 GLORIANN INGEMI RIOS                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         GLORIANN M TORRES
  193826 HERNANDEZ                                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  661423 GLORIANNA VEGA DE JESUS                      URB EXTENSION CAGUAY   V 30 CALLE TUREY                                                                      CAGUAS              PR         00725

   661424 GLORIANNE GARCIA GONZALEZ                   PO BOX 2782                                                                                                  ARECIBO             PR         00613
          GLORIANNE M DONATE
   661425 RODRIGUEZ                                   HC 8 BOX 51601                                                                                               HATILLO             PR         00659

   193827 GLORIANNE M LOTTI RODRIGUEZ REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193828 GLORIANY BABA               REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661427 GLORIBBE LOPEZ RIVERA       BO CORTES                              392 PARC NUEVAS                                                                       MANATI              PR         00674
   661430 GLORIBEL ALVARADO TORRES    COND JARD DE CAPARRA                   APTO 1401                                                                             BAYAMON             PR         00961
   193830 GLORIBEL ARROYO MENDEZ      REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661431 GLORIBEL CINTRON DEJESUS    HC 02 BOX 4403                                                                                                               VILLALBA            PR         00766
   193832 GLORIBEL CRUZ MONTANEZ      REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   661432 GLORIBEL DELGADO ESQUILIN                   SANTA RITA             15 CALLE SANTANDER                                                                    SAN JUAN            PR         00927
   193833 GLORIBEL ESPADA VARGAS                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661433 GLORIBEL FEBUS MOLINA                       HC 01 BOX 5615                                                                                               BARRANQUITAS        PR         00794
   193834 GLORIBEL FELICIANO RIVERA                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193835 GLORIBEL FELICIANO RODRIGUEZ REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   193839 GLORIBEL LEBRON              REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   193840 GLORIBEL LOPEZ IBANEZ        REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   193841 GLORIBEL LOPEZ LABOY         REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   193842 GLORIBEL MEDINA ORTIZ        REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   193843 GLORIBEL NEGRON SOLIVAN      REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   661437 GLORIBEL ORTIZ               BDA MORALES                           115 CALLE C                                                                           CAGUAS              PR       00725
   193844 GLORIBEL ORTIZ MUNOZ         REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   193845 GLORIBEL RABELO FIGUEROA     REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   661438 GLORIBEL RAMOS CASANOVA      REPTO SAN JOSE                        10 CALLE JULIO N MATOS                                                                MAYAGUEZ            PR       00680
   193846 GLORIBEL RAMOS DEL VALLE     REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   193847 GLORIBEL RAMOS RIVERA        REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   661428 GLORIBEL RIVERA GALLARDO     PASEO DEL BOSQUE 340                  AVE LAS CUMBRES STE 2607                                                              SAN JUAN            PR       00926
   193848 GLORIBEL RIVERA VARGAS       REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
          GLORIBEL RODRIGUEZ
   661439 CARRASQUILLO                 VILLA MARIA                           R 3 CALLE 17                                                                          CAGUAS              PR         00725

   661440 GLORIBEL RODRIGUEZ GALARZA HC 43 BOX 10861                                                                                                               CAYEY               PR         00736‐9620
   193849 GLORIBEL SOTO SOTO         REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661442 GLORIBEL TORRES ROSARIO    HC 15 BOX 16359                                                                                                               HUMACAO             PR         00791

   193850 GLORIBELL DE LA VEGA ORTEGA                 REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GLORIBELL HERNANDEZ
   193851 VELAZQUEZ                                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193852 GLORIBELL RIVERA ROSARIO                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661443 GLORIBELLE ACABA COLLAZO                    A 19 URB BELLA VISTA                                                                                         UTUADO              PR         00641
          GLORIBELLYS ATILANO
   193853 MELENDEZ                                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661444 GLORIBER GOMEZ ROQUE                        HC 1 BOX 7526                                                                                                LAS PIEDRAS         PR         00771

   661445 GLORIBERT RAMOS GONZALEZ                    URB MEDINA             D 5 CALLE 13                                                                          ISABELA             PR         00662



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   661446 GLORIBERTH REYES SANTIAGO                   COCO VIEJO                    113 CALLE PALES MATOS                                                                   SALINAS             PR           00751
   193854 GLORIBETH ALICEA LINARES                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193855 GLORIBI COSME GONZALEZ                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661448 GLORIBIT APONTE MARRERO                     6 LYMAN ST                                                                                                            LYNN                MA           01902
   661449 GLORIBY MARTINEZ PAGAN                      HC 01 BOX 6088                                                                                                        JUANA DIAZ          PR           00795
   661450 GLORICEL ESCRIBANO LEAL                     PO BOX 30480 HC 30                                                                                                    SAN LORENZO         PR           00754
   661451 GLORICEL ORTIZ ORTIZ                        JARDINES DE COUNTRY CLUB      BX22 CALLE 129                                                                          CAROLINA            PR           00983
   661452 GLORICEL VELEZ TORO                         URB ALTA VISTA                CALLE 16‐04                                                                             PONCE               PR           00731
   661453 GLORICELA COLON VELEZ                       243 CALLE PARIS SUITE 1613                                                                                            SAN JUAN            PR           00917
   193856 GLORICELA CRUZ ORTIZ                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193857 GLORICELA FIGUEROA VAZQUEZ                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661454 GLORICELA LEBRON RIVERA                     HC 763 BOX 3344                                                                                                       PATILLAS            PR           00723
   193858 GLORICELIS VISALDEN COLON                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661455 GLORIE CRUZ ROMAN                           CARR 119 INT RURAL 456 K 14                                                                                           CAMUY               PR           00627
   193862 GLORIE M FIGUEROA TORRES                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193863 GLORIEL SANTANA SANCHEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193864 GLORIELA MUNOZ ARJONA                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   661456 GLORIELBY TROCHE GUTIERREZ                  HC 02 BOX 10608                                                                                                       YAUCO               PR           00698
   193865 GLORIELIE SANTIAGO RIVERA                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193866 GLORIELY MERCED GONZALEZ                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661458 GLORIEMY RIVERA MOLINA                      URB METROPOLIS                B 10 CALLE 1                                                                            CAROLINA            PR           00987
   193869 GLORIENE GONZALEZ RUIZ                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   661459 GLORIGUEL DEL VALLE DE JESUS                HC 01 BOX 3600                                                                                                        LOIZA               PR           00772
   661460 GLORILIZ CARRERO RESTO                      BOX 543                                                                                                               NAGUABO             PR           00718
   193870 GLORILUZ HERNANDEZ FELIX                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193871 GLORILY BARROSO MUNOZ                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193872 GLORILYN NIEVES MAISONET                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193874 GLORILYS E. IRRIZARRY SANTOS                REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193875 GLORIMAR AGUIRRE VAZQUEZ                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GLORIMAR ALGARIN
   193876 CARRASQUILLO                                REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   661461 GLORIMAR ALMODOVAR TORRES URB SANTA MARIA                                 47 CALLE B                                                                              SABANA GRANDE       PR           00637
   661463 GLORIMAR ANIBARRO SOTO    URB EL VERDE                                    49 CALLE NEPTUNO                                                                        CAGUAS              PR           00725

   661464 GLORIMAR APONTE SANTIAGO                    PO BOX 285                                                                                                            BARRANQUITAS        PR           00794
   661465 GLORIMAR ARCHILLA CASTRO                    CORREO GENERAL                                                                                                        NARANJITO           PR           00719

   661466 GLORIMAR ARROYO SERRANO                     HC 1 BOX 3376 7                                                                                                       CAMUY               PR           00627

   661467 GLORIMAR AVILES MALDONADO ALTURAS DE ROBLEGAR                                                     14                                                              UTUADO              PR           00641

   193877 GLORIMAR AYUSO HERNANDEZ                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193878 GLORIMAR BELAVAL HERNANDEZ REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193881 GLORIMAR BERRIOS BONILLA   REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   193882 GLORIMAR BETANCOURT LOPEZ REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193883 GLORIMAR BONILLA GUTIERREZ REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193884 GLORIMAR CALERO ALVAREZ    REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GLORIMAR CAMACHO
   193885 ALEJANDRO                  REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193886 GLORIMAR CARABALLO VELEZ                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193887 GLORIMAR CIRINO CARABALLO                   REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193889 GLORIMAR COLON VAZQUEZ                      REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   661471 GLORIMAR CORAZON CARMONA 65 INF STA                                BOX 30179                                                                                SAN JUAN            PR           00929

   193890 GLORIMAR CORREA QUIðONES                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193894 GLORIMAR CORTES AREIZAGA                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661472 GLORIMAR COSME PACHECO                      REPARTO VALENCIA       AE 4 CALLE 7                                                                             BAYAMON             PR           00959

   193895 GLORIMAR CRUZ MALDONADO                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661473 GLORIMAR DE JESUS HEREDIA                   HC 1 BOX 3141                                                                                                   JAYUYA              PR           00664
   193896 GLORIMAR DE JESUS PASCUAL                   REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661474 GLORIMAR DIAZ MORALES                       PARC FALU              332 CALLE 37                                                                             SAN JUAN            PR           00924
   193897 GLORIMAR ESCABI GARCIA                      REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   193899 GLORIMAR FERNANDEZ NIEVES                   REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   661477 GLORIMAR FERNANDEZ REYES                    PO BOX 21505                                                                                                    SAN JUAN            PR           00919

   193900 GLORIMAR FIGUEROA MARRERO REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193901 GLORIMAR GARCIA RIOS      REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661478 GLORIMAR GODREAU OCASIO   52 CALLE MONSERRATE                                                                                                               SALINAS             PR           00751
   661479 GLORIMAR GONZALEZ AYALA   COND VIZCAYA                             APT 523                                                                                  CAROLINA            PR           00985
   193902 GLORIMAR GONZALEZ LOPEZ   REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   661482 GLORIMAR GONZALEZ TORRES                    110 CALLE VILLA REAL                                                                                            SAN JUAN            PR           00923
                                                                             E 2 PALO HINCADO CALLE
   661483 GLORIMAR GREEN RODRIGUEZ                    ALT DE TORRE           JAZMIN                                                                                   BARRANQUITAS        PR           00794
   661484 GLORIMAR GUZMAN BERRIOS                     REPT ARENALES          21 CALLE 1                                                                               LAS PIEDRAS         PR           00771

   661485 GLORIMAR HERRAN MONTERO                     HC 02 BOX 6739                                                                                                  UTUADO              PR           00641
   193903 GLORIMAR IRIZARRY PEREZ                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   661487 GLORIMAR L DAVILA REYES                     URB MONACO 1           G 2 CALLE CARMELO DIAZ SOLER                                                             MANATI              PR           00674
   193904 GLORIMAR LOPEZ LOZADA                       REDACTED               REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193905 GLORIMAR LUGO TORRES                        REDACTED               REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GLORIMAR MALDONADO
   193906 ROSARIO                                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   193907 GLORIMAR MARQUEZ JARVIS                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   661491 GLORIMAR MARRERO SANCHEZ                    COND MONTE NORTE       165 AVE DE HOSTOS APT A 740                                                              SAN JUAN            PR           00918
   661493 GLORIMAR MEDINA AYOLA                       BO CERCADILLO          BZN 1083                                                                                 ARECIBO             PR           00612
   193908 GLORIMAR MIRANDA DIAZ                       REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  193912 GLORIMAR MOLINA PENA                         REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   661494 GLORIMAR MONTALVO CASTRO 1953 CALLE DOS PALMAS                                                                                                              SAN JUAN            PR         00912

   193913 GLORIMAR MONTANEZ FEBRES                    REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   193914 GLORIMAR MORALES LOPEZ                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   193915 GLORIMAR MUNOZ BERLY                        REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   193917 GLORIMAR NEGRON NEGRON                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   193918 GLORIMAR ORTIZ LOPEZ                        REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   193919 GLORIMAR ORTIZ MARRERO                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   193921 GLORIMAR ORTIZ MELENDEZ                     REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   661499 GLORIMAR ORTIZ RIOS                         COLINAS SAN FRANCISCO   C 24 CALLE GABRIELA                                                                     AIBONITO            PR         00705
   193922 GLORIMAR OTERO BURGOS                       REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   193923 GLORIMAR PABON BALLESTER                    REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   193925 GLORIMAR PAGAN VAZQUEZ                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   193926 GLORIMAR PANOS                              REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   661503 GLORIMAR PEREZ COLON                        HC 01 BOX 10936                                                                                                 GURABO              PR         00778
   193927 GLORIMAR PEREZ VARGAS                       REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   661504 GLORIMAR PEREZA ACOSTA                      BRAZIL LA DOLORES                                                                                               RIO GRANDE          PR         00745
   661505 GLORIMAR PUIG DIAZ                          BOX 156                                                                                                         CAGUAS              PR         00926
   661506 GLORIMAR QUILES GALARZA                     BARTOLOME LAS CASAS     EDIF 10 APT 114                                                                         SAN JUAN            PR         00915
   661507 GLORIMAR RAMIREZ RIVERA                     SANTA ROSA              35‐2 CALLE 24                                                                           BAYAMON             PR         00959
   661508 GLORIMAR RIVERA APONTE                      BDA MARIN               72 A CALLE 9                                                                            GUAYAMA             PR         00784
   193928 GLORIMAR RIVERA COLON                       REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   193929 GLORIMAR RIVERA FIGUEROA                    REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   193930 GLORIMAR RIVERA RIVERA                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   193931 GLORIMAR RIVERA RODRIGUEZ                   REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   193932 GLORIMAR RIVERA ROSADO                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          GLORIMAR RIVERA
   193933 VIZCARRONDO                                 REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   661513 GLORIMAR ROBLES CRUZ                        RR 2 BOX 6561                                                                                                   MANATI              PR         00674
   193934 GLORIMAR ROBLES ORTIZ                       REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   193935 GLORIMAR RODRIGUEZ COLON                    REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   193936 GLORIMAR RODRIGUEZ RAMOS                    REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          GLORIMAR RODRIGUEZ
   661515 VAZQUEZ                                     HC 01 BOX 5795                                                                                                  BARRANQUITAS        PR         00794
   193937 GLORIMAR ROMAN ROSARIO                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   193938 GLORIMAR ROSADO REYES                       REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   193939 GLORIMAR ROSARIO FELICIANO                  REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   193940 GLORIMAR ROSARIO LOPEZ                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   661516 GLORIMAR RUIZ HERNANDEZ                     73 CALLE M J CABRERO                                                                                            SAN SEBASTIAN       PR         00685
   193941 GLORIMAR SAMALOT RIVERA                     REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   193942 GLORIMAR SANES GARAY                        REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   661519 GLORIMAR SANTIAGO RUIZ                      URB SAN AGUSTIN         1159 CALLE RAFAEL CASTILLO                                                              SAN JUAN            PR         00923

   661520 GLORIMAR SANTINI HERNANDEZ VILLA CAPARRA                            67 CALLE WILSON                                                                         GUAYNABO            PR         00966

   661521 GLORIMAR SANTOS DOMINGO                     PO BOX 347                                                                                                      OROCOVIS            PR         00720



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  193944 GLORIMAR SANTOS LLANOS                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  193946 GLORIMAR SEGARRA MEDINA                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  661522 GLORIMAR SERRANO SOLER                       P O BOX 494              SABANA HOYOS                                                                         ARECIBO             PR         00613
  193948 GLORIMAR SURILLO SOTO                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  193949 GLORIMAR TORRES COLON                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  661523 GLORIMAR VALETTE PARIS                       URB ALTAMESA             1666 CALLE SANTA LUISA                                                               SAN JUAN            PR         00921

   193951 GLORIMAR VAZQUEZ COLLAZO                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193952 GLORIMAR VAZQUEZ ROSADO                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661524 GLORIMAR VEGA                               6 EL YESO                                                                                                     PONCE               PR         00731
   661525 GLORIMAR VEGA MEDINA                        CUH STATION              P O BOX 10009                                                                        HUMACAO             PR         00792
   661526 GLORIMAR VEGA SANCHEZ                       URB BONNEVILLE HTS       81 CALLE AGUAS BUENAS                                                                CAGUAS              PR         00725
   193953 GLORIMAR VIERA SERRANO                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193956 GLORIMARI JIMENEZ RODRIGUEZ REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193958 GLORIMARY PEREZ LABOY       REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   193959 GLORIMARY SANTIAGO FRANCO REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   661527 GLORIMARYS RIVERA MARTINEZ                  HC 1 BOX 7355                                                                                                 AGUAS BUENAS        PR         00703
   193960 GLORIMEL VEGA SANTIAGO                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661529 GLORIMER SANCHEZ SOLIS                      B 25 URB MENDEZ                                                                                               YABUCOA             PR         00767
   193963 GLORIMIL VELEZ CRUZ                         REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193964 GLORIMILDA ROSA RUIZ                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661530 GLORIMY CAMACHO GOMEZ                       RR 8 BOX 9489                                                                                                 BAYAMON             PR         00956
   193965 GLORIMYR REYES DELBREY                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661531 GLORINDA DIAZ                               HC 2 BOX 9675                                                                                                 QUEBRADILLAS        PR         00678‐9524
   193966 GLORISA CANINO JORDAN                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193967 GLORISA CORDERO CABRERA                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661533 GLORISA VELEZ LOPEZ                         8012 AVE JOBOS                                                                                                ISABELA             PR         00662
   661535 GLORISEL GASCOT CRUZ                        URB LA PROVIDENCIA       IE 12 CALLE 5                                                                        TOA ALTA            PR         00953
   193968 GLORISEL MATOS GONZALEZ                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   661538 GLORISEL RODRIGUEZ VILLEGAS                 ALMIRA                   AA 6 CALLE 1                                                                         TOA BAJA            PR         00949
          GLORISELA CARRASQUILLO
   193969 CINTRON                                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193970 GLORISELA OLIVO COTTO                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GLORISELLE NEGRON
   661540 /CARRIBBEAN URBAN FORR                      PO BOX 21120                                                                                                  SAN JUAN            PR         00928‐1120
   661542 GLORISET MIRANDA RIVERA                     VICTOR ROJAS 1           11 CALLE 7                                                                           ARECIBO             PR         00612

   661543 GLORISOL HERNANDEZ TORRES                   URB SANTIAGO IGLESIAS    1423 CALLE BELEN BURGOS                                                              SAN JUAN            PR         00921

   193972 GLORISSA RODRIGUEZ FELICIANO REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661546 GLORISSA STEVES GUZMAN       URB JARDINES DE LA FUENTE               407 CALLE J HABANA                                                                   TOA ALTA            PR         00953

   193973 GLORITZA BERRIOS GONZALEZ                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   193974 GLORITZA CRUZ LOPEZ                         REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661548 GLORITZA RODRIGUEZ                          P O BOX 1055                                                                                                  BARRANQUITAS        PR         00794

   193975 GLORIVA PINA/ FABIAN G PINA                 REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661549 GLORIVE BADILLO REICES                      350 EXT VISTA DE CAMUY                                                                                        CAMUY               PR         00627



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  661550 GLORIVEE AVILES RIVERA                       HC 03 BOX 13748                                                                                                         COROZAL            PR         00783
  193976 GLORIVEE CINTRON RIVERA                      REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  661552 GLORIVEE GARAY DIAZ                          HC 01 BOX 16162                                                                                                         LAS PIEDRAS        PR         00771
  661553 GLORIVEE GARCIA                              PO BOX 561                                                                                                              AGUADILLA          PR         00605
  193977 GLORIVEE GUZMAN PARRILLA                     REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  661554 GLORIVEE GUZMAN RIVERA                       RES NEMESIO CANALES              EDIF 63 APT 1108                                                                       SAN JUAN           PR         00918

   661555 GLORIVEE IRIZARRY SANTIAGO                  URB LAS DELICIAS BK 7 CALLE 11                                                                                          PONCE              PR         00731

   193980 GLORIVEE MALDONADO BURGOS REDACTED                                           REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                    381 AVE FELISA RINCON DE
   661556 GLORIVEE MARTINEZ RIVERA  GAUTIER                                            PASEO MONTE APT 1104                                                                   SAN JUAN           PR         00926‐6665
   193981 GLORIVEE MEDINA SOLER     REDACTED                                           REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   661557 GLORIVEE MELENDEZ SALGADO                   URB BRISAS DEL NORTE             512 CALLE ARGENTINA                                                                    MOROVIS            PR         00687
   661558 GLORIVEE MOJICA CASTRO                      PO BOX 1344                                                                                                             CAROLINA           PR         00986
   661559 GLORIVEE MORALES SAEZ                       HC 2 BOX 4624                                                                                                           COAMO              PR         00769

   661560 GLORIVEE NIEVES MALDONADO P O BOX 264                                                                                                                               UTUADO             PR         00641

   193982 GLORIVEE PEREZ ECHEVARRIA                   REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   193983 GLORIVEE QUINONES VEGA                      REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   193985 GLORIVEE RODRIGUEZ                          REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   661563 GLORIVEE RODRIGUEZ VELEZ                    BOX 119                                                                                                                 VEGA ALTA          PR         00692
   661564 GLORIVEE ROSA LABOY                         SECTOR SAGRADO CORAZON           APT A 20                                                                               ARROYO             PR         00714
   193986 GLORIVEE TORO CHARRIEZ                      REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   193987 GLORIVEE VELEZ VELEZ                        REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   193988 GLORIVEL LUGO RAMOS                         REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   193990 GLORIVER COLON                              REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   193992 GLORIVETTE CRESPO VARGAS                    REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   661567 GLORIVETTE FIGUEROA CORTES                  COND PLAZA DEL PARQUE            CALLE DEL PARQUE APTO 602                                                              SAN JUAN           PR         00912
   193993 GLORIVETTE ORTEGA CRUZ                      REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   193994 GLORIVETTE PEREZ VALENTIN                   REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   193995 GLORIVETTE RODRIGUEZ ORTIZ                  REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   193996 GLORIVIMARY VIERA ORTIZ                     REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   193997 GLORIXEL CRUZ PADILLA                       REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   193998 GLORY A CARABALLO MARTINEZ                  REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   193999 GLORY A CEPEDA ASTACIO                      REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   661569 GLORY ANN TORRES TORRES                     P O BOX 1432                                                                                                            BAYAMON            PR         00960
   661570 GLORY C NEGRON RIVERA                       URB JARD DE COAMO                G 7 CALLE 7                                                                            COAMO              PR         00769
   661571 GLORY GASTON PASCUALLI                      PARK GARDENS                     F 16 CALLE INDEPENDENCE                                                                SAN JUAN           PR         00926

   194002 GLORY I FIGUEROA VELAZQUEZ                  REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   194003 GLORY I OTERO MATOS                         REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   194004 GLORY L IRIZARRY SAEZ                       REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   194005 GLORY L VAZQUEZ DELGADO                     REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   661573 GLORY LU CARTAGENA COLON                    390 MACHUELO LAJES                                                                                                      PONCE              PR         00731
   194007 GLORY M. ALICEA COLON                       REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED




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   661574 GLORY MAR MONTALVO PAGAN ALTURAS DE RIO GRANDE                           O 756 CALLE 14                                                                    RIO GRANDE           PR           00745
   661575 GLORY USA INC            URB GRAN VISTA                                  174 CALLE FLANBOYAN                                                               GURABO               PR           00778

   661576 GLORY VANESSA MALDONADO                     F 249 COND VEREDAS DEL RIO                                                                                     CAROLINA             PR           00987
   661577 GLORYANN CRUZ CARDERO                       5TA LEVITTOWN                PC 10 CALLE LAGO                                                                  TOA BAJA             PR           00949

   194008 GLORYANN TORRES HERNANDEZ REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   194010 GLORYBEE ORTIZ RAMOS      REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   661579 GLORYBELL GOTAY PAGAN     VILLAS DE LOIZA                                I 15 CALLE 4                                                                      LOIZA                PR           00772
   661578 GLORYBELL ROSADO RAMOS    URB BRISAS DE LOIZA                            198 CALLE ESCORPION                                                               CANOVANAS            PR           00729
   661580 GLORYCELIS CASTRO ROSA    PO BOX 430002 SUITE 208                                                                                                          RIO GRANDE           PR           00745
   194011 GLORYCER FLORES CABASSA   REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   194012 GLORYLEE FIGUEROA PABON   REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   661581 GLORYLEE MOJICA ESCRIBANO                   MONSERRATE TOWERS I          APT 802                                                                           CAROLINA             PR           00983

   661582 GLORYLEE SANTIAGO POMALES                   P O BOX 713                                                                                                    JUNCOS               PR           00777
          GLORYLIN CASASNOVA
   194013 MARTINEZ                                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   661583 GLORYMAR ALBINO DELGADO                     VILLA CAROLINA               110‐14 CALLE 80                                                                   CAROLINA             PR           00985
   661584 GLORYMAR BERRIOS ORTIZ                      P O BOX 890                                                                                                    AIBONITO             PR           00705
   771071 GLORYMAR BURGOS RIVERA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   194014 GLORYMAR COLON BERMUDEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   661585 GLORYMAR DAVILA HERNANDEZ 3 CALLE J J ACOSTA                                                                                                               VEGA BAJA            PR           00693
   194015 GLORYMAR MANSO            REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   194016 GLORYMAR ORTA RODRIGUEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   194017 GLORYMAR ORTIZ TORO                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   194018 GLORYMAR RIVERA BAEZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   194019 GLORYMAR SAEZ RODRIGUEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   194020 GLORYMAR SANTIAGO MORALES REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   194021 GLORYMIL SEPULVEDA PADILLA                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   194023 GLORYSOL MERLE CANCEL                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   194024 GLORYVE CASTANER VELEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   661587 GLORYVEE AGOSTO DE JESUS                    URB FLORAL PARK              148 CALLE JOSE MARTI                                                              SAN JUAN             PR           00917

   194025 GLORYVEE BERNABE SANTIAGO                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   661589 GLORYVEE DIAZ SANCHEZ                       PO BOX 82                                                                                                      SAN LORENZO          PR           00754

   661590 GLORYVEE GONZALEZ TORRES                    HC 5 BOX 104762                                                                                                MOCA                 PR           00676
   194026 GLORYVEE MERCADO RUIZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   194027 GLORYVEE RIVERA RODRIGUEZ                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   661592 GLORYVEE ROMAN ORTIZ                        HC 67 BOX 15959                                                                                                FAJARDO              PR           00738
   661593 GLORYVEE ROSADO MEDINA                      BOX 1889                                                                                                       LAS PIEDRAS          PR           00771
   194028 Gloryvee Rosario Arocho                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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   194029 GLORYVETTE ARROYO AROCHO                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661594 GLORYVETTE COLON COREA                      P O BOX 635                                                                                               COAMO               PR           00769
   661595 GLORYVETTE PEREZ ROBLES                     URB CLY CLUB            967 N AGUAYO                                                                      SAN JUAN            PR           00924
          GLORYVILLE INC EDITORIAL
   661596 /SERVICIOS EDUC                             HC 67 BOX 17863                                                                                           FAJARDO             PR           00738

   194030 GLORYVONNE ORTEGA LOZADA                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   661597 GLOSSER SOFTWARE ASSOCIATES 2175 FRANCISCO BLVD E STE A4                                                                                              SAN RAFAEL          CA           94901
   661599 GLOTILDE RODRIGUEZ          PO BOX 86                                                                                                                 MOROVIS             PR           00687

   661600 GLOVAL RESERVATIONS        1300 WALNUT HILL LANE STE 251                                                                                              IRVING              TX           75038
   661601 GLOVE BAG DISTRIBUTORS     PO BOX 3570                                                                                                                CAROLINA            PR           00984
   661602 GLOVY MALDONADO RIVERA     SULTANA                       HH 5 CALLE TENERIFE                                                                          MAYAGUEZ            PR           00680
   194032 GLS CONTRACTOR INC         P O BOX 303                                                                                                                YABUCOA             PR           00767‐0303
   661603 GLS STATION                PO BOX 1117                                                                                                                AIBONITO            PR           00743
   194035 GLYADIS DE JESUS           REDACTED                      REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661605 GM CHEMICAL PRODUCTS       COLINAS DE MONTECARLO         F 19 CALLE 44                                                                                SAN JUAN            PR           00924
   661606 GM ENGINEERING CORP        PO BOX 1256                                                                                                                SAINT JUST          PR           00978
   661607 GM GROUP INC MCS           PO BOX 361697                                                                                                              SAN JUAN            PR           00936
          GM LAW FIRM AND CONSULTING
   194039 GROUP CSP                  P O BOX 770                                                                                                                COROZAL             PR           00783
   661609 GM ONLY AUTO PARTS         CARR 113 BUZON 2938                                                                                                        QUEDRADILLAS        PR           00678
   194042 GM PARTS EXPRESS           G1 AVE CAMPO RICO                                                                                                          CAROLINA            PR           00985
   194043 GM SECURITY TECHNOLOGIES   1590 AVE PONCE DE LEON        OFICINA 104                                                                                  SAN JUAN            PR           00926
   194047 GMC MOUNT POCONO           21 COMMERCE COURT                                                                                                          MOUNT POCONO        PA           18344
  1419870 GMG MENOR DE EDAD          JUAN JAIME SIERRA TORRES      PO BOX 1819                                                                                  VEGA ALTA           PR           00692
          GMR SAFETY AND HEALTH
   194050 CONSULTANT SERVICES        URB. RIO GRANDE ESTATE III    CALLE REY DAVID 10322                                                                        RIO GRANDE          PR           00745
                                                                   1503 CAMINO ALEJANDRINO
   194053 GMT CONTRACTORS CORP       COND. VIEW POINT              3011                                                                                         GUAYNABO            PR           00969
   661610 GMTS CORP                  PO BOX 195374                                                                                                              SAN JUAN            PR           00919‐5374
   194054 GMUE INC                   VILLA STATION                 216 VILLA UNIVERSITARIA                                                                      HUMACAO             PR           00791
   661612 GN NET COM INC             77 NORTHEASTERN BLVD                                                                                                       NASHUA              NH           03062
   194057 GO FOR IT FOUNDATION INC   HC 1 BOX 5142                                                                                                              CANOVANAS           PR           00729‐9745

   194058 GO GOGO FOUNDATION CORP                     PO BOX 801530                                                                                             COTO LAUREL         PR           00780
   661613 GO LETTER                                   3936 N MIAMI AVE                                                                                          MIAMI               FL           33127
   194059 GO PRINT                                    1318 AVE ROOSEVELT                                                                                        SAN JUAN            PR           00920
   194061 GOAL LAW GC PSC                             PMB 358                 HC 1 BOX 29030                                                                    CAGUAS              PR           00725
   194062 GOAR BLANCO BLASCO                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   194063 GOAS AND ASSOCIATES INC                     PO BOX 360020                                                                                             SAN JUAN            PR           00936

          GOAS PSC, CERTIFIED PUBLIC
   194064 ACCOUNTANTS & CONSULTAN                     PO BOX 191779                                                                                             SAN JUAN            PR           00919‐1779

   661614 GOB MUNICIPAL BARCELONETA                   EDIF MULTI‐USO PISO 2                                                                                     BARCELONETA         PR           00617
   194065 GOBBEE MD, ROBERT                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GOBIERNO MUNICIPAL
   194066 AUTONOMO DE PONCE                           PO BOX 331709                                                                                             PONCE               PR           00733‐1709
          GOBIERNO MUNICIPAL DE
   194067 AGUADA                                      APARTADO 517                                                                                              AGUADA              PR           00602



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          GOBIERNO MUNICIPAL DE                       OF. CONTRIBUCIONES E
   194068 CAROLINA                                    INGRESOS                   APARTADO 8                                                                              CAROLINA             PR           00986‐0008

   194069 GOBIERNO MUNICIPAL DE CIDRA PO BOX 729                                                                                                                         CIDRA                PR           00739‐0729

   194070 GOBIERNO MUNICIPAL DE LAJAS                 121 CALLE UNION                                                                                                    LAJAS                PR           00667
          GOBIERNO MUNICIPAL DE LAS
   194073 PIEDRAS                                     PO BOX 0068                                                                                                        LAS PIEDRAS          PR           00771
          GOBIERNO MUNICIPAL DE VEGA
   194074 ALTA                                        PO BOX 1390                                                                                                        VEGA ALTA            PR           00692
          GOBIERNO MUNICIPAL DE VEGA
  1419871 BAJA Y DRNA                                 JOSÉ A MARTÍNEZ OQUENDO    PO BOX 363394                                                                           SAN JUAN             PR           00936‐3394
          GOBIERNO MUNICIPAL VEGA
   661619 ALTA                                        PO BOX 1390                                                                                                        VEGA ALTA            PR           00692
          GOBLE & GUZMAN, LAW OFFICE
   194077 LLC                                         1510 AVE E D ROOSEVELT     EDIFICIO TRIPLE S OFIC 6‐B                                                              GUAYNABO             PR           00968

   661621 GOD AND ME CATERING SERVICE JARD DE MAYAGUEZ                           EDIF 13 APTO 1301                                                                       MAYAGUEZ             PR           00680
   194080 GODA SOFTWARE INC           2111 WILSON BLVD                           SUITE 600                                                                               ARLINGTON            VA           22201
   194081 GODADDY                     14455 N HAYDEN RD STE 226                                                                                                          SCOTTSDALE           AZ           85260
   194105 GODINEZ LAW OFFICE PSC      PO BOX 360518                                                                                                                      SAN JUAN             PR           00936‐0518
                                      233 CALLE ORQUIDIA BO
   661623 GODOFREDO ACOSTA ORTIZ      OLIVARES                                                                                                                           LAJAS                PR           00667
   194106 GODOFREDO AYALA PERLOT      REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   661624 GODOFREDO CONDE VIERA       PO BOX 14462                                                                                                                       SAN JUAN             PR           00916
          GODOFREDO MAURY
   661626 VELAZQUEZ                   BO ROBLES                                  HC 01 BOX 11885                                                                         SAN SEBASTIAN        PR           00685
          GODOFREDO RODRIGUEZ
   194107 GRACIA/ PURA ENERGIA        REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   661628 GODOFREDO RUIZ SANTIAGO     BDA NUEVA                                  43 CALLE MALAVE                                                                         CAYEY                PR           00736
          GODOFREDO SANCHEZ
   194108 MERCADO                     REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   661629 GODOHALDO PEREZ TORRES      SANTA JUANA 4                              X6 CALLE 10A                                                                            CAGUAS               PR           00725
          GODWIN & GONZALES SPECIALTY
   661630 EQUIPMENT                   P O BOX 9065148                                                                                                                    SAN JUAN             PR           0090865148
                                      EDIF ESQUIRE SUITE 701 2 CALLE
   661631 GODWIN ALDARONDO GIRALD VELA                                           AVE PONCE DE LEON                                                                       SAN JUAN             PR           00918‐3606
   661632 GODWIN IRIZARRY PEREZ       HC 02 BOX 26678                                                                                                                    MAYAGUEZ             PR           00680

   194130 GODWIN OLIVENCIA MORALES                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   194131 GOEL A VELAZQUEZ ROSA                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   194132 GOEL ARCHANA                                HERITAGE PRIMARY CARE SC   1435 N RANDALL RD STE 210                                                               ELGIN                IL           60123‐0000

   661634 GOERGE CASTILLO HERNANDEZ                   SANTA JUANITA              CC 4 CALLE 25                                                                           BAYAMON              PR           00956

   194033 GOERGE VELAZQUEZ IRIZARRY   REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   661635 GOFER TRADING CORP          BO OBRERO                                  2201 AVE BORINQUEN                                                                      SAN JUAN             PR           00915‐4416
          GOFER TRADING CORP DBA FERR                                            2201 AVE BORINQUEN EQN
   194136 EL COMETA                   BO OBRERO                                  WEBB                                                                                    SAN JUAN             PR           00915

   194146 GOFREDO PAGAN DBA PHANCO BOX 10464                                                                                                                             PONCE                PR           00732
   194173 GOITIA RIOS MD, DARIO    REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   661636 GOIVANNI CLEMENTE PEREZ  RR 03 BOX 10726                                                                                                                       TOA ALTA             PR           00953



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  661637 GOLD CITY                                    CANTON MALL                   LOCAL C 2B 2ND FLOOR                                                                 BAYAMON             PR           00961
  661638 GOLD CLASS AUTO INC                          SAN CLAUDIO MAIL STA          PO BOX 300                                                                           SAN JUAN            PR           00926‐9998

   194180 GOLD EFECTS LLC                             13100 56 TH COURT SUITE 701                                                                                        CLEAR WATER         FL           33760X
          GOLD LINE TELEMANAGEMENT                    300 ALL STATE PARK WAY
   194181 INC                                         MARKHAM                                                                                                            ONTARIO             ON           L3R 0P2
   194182 GOLD MD , STEPHEN F                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   661639 GOLDEN AMBULANCE INC                        URB VIVES                     83 CALLE ESTEBAN B CRUZ                                                              GUAYAMA             PR           00785
   661640 GOLDEN CARE INC                             LAS AMERICAS PRO              400 AVE DOMENECH                                                                     SAN JUAN            PR           00918
   661644 GOLDEN CORNER INC                           PO BOX 9146                                                                                                        SAN JUAN            PR           00908
   194184 GOLDEN COURT 1                              PO BOX 366209                                                                                                      SAN JUAN            PR           00936‐6209
   194185 GOLDEN CROSS                                APARTADO 1727                                                                                                      OLD SAN JUAN        PR           00902
   194186 GOLDEN CROSS HEALTH                         PO BOX 12330                                                                                                       SAN JUAN            PR           00914‐2330
   194189 GOLDEN CROSS HMO CORP                       P O BOX 9021727                                                                                                    SAN JUAN            PR           00902‐1727
          GOLDEN CROSS HMO HEALTH
   661646 PLAN                                        P O BOX 9021727                                                                                                    SAN JUAN            PR           00902‐1727
          GOLDEN CROSS HMO HEALTH                     EDIF. SAN JUAN HEALTH CENTRE DE DIEGO 150 OFIC.504
   194190 PLAN CORP.                                  AVE.                         SANTURCE                                                                              SAN JUAN            PR           00940
   661647 GOLDEN DISTRIBUTORS INC                     PO BOX 85                                                                                                          SAN JUAN            PR           00920
   661648 GOLDEN ENGINEERING INC                      PO BOX 185                                                                                                         CENTERVILLE         IN           47330

   661649 GOLDEN ENVIRONMENTAL CORP URB JARD DE TOA ALTA                            47 CALLE 4                                                                           TOA ALTA            PR           00953‐6602
   661650 GOLDEN FLOWER             188 CALLE PEREZ                                                           SANTURCE                                                   SAN JUAN            PR           00911
   661651 GOLDEN FRESH FLOWERS      ESQ BALDORIOTY DE CASTRO                        188 CALLE PEREZ                                                                      SAN JUAN            PR           00911

   194192 GOLDEN HILLS GAS STATION INC URB ROYAL TOWN                               A 21 CALLE 13                                                                        BAYAMON             PR           00956
          GOLDEN HOME TEKURE CORP/
   194193 PROFESSIONAL                 ENGINEERING CONCEPTS INC                     PO BOX 1561                                                                          SAN SEBASTIAN       PR           00685
   194194 GOLDEN IMPORTS CORP          405 AVE ESMERALDA                            STE 102‐404                                                                          GUAYNABO            PR           00969

   661652 GOLDEN INDUSTRIAL LAUNDRY PO BOX 7696                                                                                                                          PONCE               PR           00732‐0000
   661653 GOLDEN KEY                  PO BOX 8659                                                                                                                        BAYAMON             PR           00960
          GOLDEN MED SUPPLY /CARLOS F
   194197 RIVERA                      67 CALLE 65 INFANTERIA                                                                                                             ANASCO              PR           00610
   661654 GOLDEN MICNSYSTEMS CORP     P O BOX 847                                                                                                                        COROZAL             PR           00783

   194198 GOLDEN MILE DEVELOPMENT SE PO BOX 10153                                                                                                                        SAN JUAN            PR           00922‐0153
          GOLDEN MILES DEVELOPMENT PO BOX 10153 C\O BCO. CNL
   661655 S.E.                       HISPANO                                        CAPARRA HEIGHTS                                                                      SAN JUAN            PR           00922
   194200 GOLDEN RICH INC            URB GABLE BREEZE 7 B                           CALLE WASHINGTON DRIVE                                                               DORADO              PR           00646
                                     600 MANUEL FERNANDEZ
   661656 GOLDEN TRIANGLE REALTY S E JUNCOS AVE                                                                                                                          SAN JUAN            PR           00907

   661657 GOLDEN WHIPP CORPORATION                    405 AVE ESMERALDA             BOX 138                                                                              GUAYNABO            PR           00969
          GOLDEROS RODRIGUEZ MD,
   194205 CARMEN G                                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GOLDMAN ANTONETTI &                         AMERICAN INTERNATI PLAZA 250
   194216 CORDOVA                                     STE 15                       AVE MUNOZ RIVERA                                                                      SAN JUAN            PR           00918
          GOLDMAN ANTONETTI &
   194217 CORDOVA, PSC                                PO BOX 70364                                                                                                       SAN JUAN            PR           00936
   194218 GOLDMAN MD, LAWRENCE                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GOLDMAN, ANTONETTI Y
   194219 CÓRDOVA                                     P O BOX 70364                                                                                                      SAN JUAN            PR           00936‐8364



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  194220 GOLDSMITH MD , DONALD P                      REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  194221 GOLDSTEIN MD , RICHARD A                     REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  194222 GOLDSTOCK MD, LEORNARD                       REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                                                      VILLA NEVAREZ SHOPPING
   661659 GOLDY BAGS                                  VILLA NEVAREZ                   CENTER                                                                              SAN JUAN             PR         00927
   194223 GOLF CARR PUERTO RICO                       SAN VICENTE                     247 CALLE 12                                                                        VEGA BAJA            PR         00693
   194225 GOLFO INVESTMENTS CORP                      P O BOX 194384                                                                                                      SAN JUAN             PR         00926‐4685
                                                                                      4000 WARNER BULEVARD
   194226 GOLIATH PRODUCTION PR LLC                   SILVER PICTURES                 BUILDING 90                                                                         BURBANK              CA         91522
   661660 GOLO ESSO SERVICE                           C/ CRISTOBAL COLON #65                                                                                              YABUCOA              PR         00767
   661661 GOLO ESSO SERVICE STATION                   PO BOX 1309                                                                                                         YABUCOA              PR         00767
   194227 GOLOMBEK MD, STEVE                          REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   661662 GOMAS EL CORDOVES INC.                      P O BOX 867                     CARR 1 KMM 26 8                                                                     CAGUAS               PR         00726
          GOMAS IMPORTACIONES LA
   661663 SIERRA, INC                                 PO BOX 1804                                                                                                         CIDRA                PR         00739‐1804
   194228 GOMAS MULERO                                HC 71 BOX 5500                                                                                                      CAYEY                PR         00736
   194229 GOMAS Y PIEZAS                              1090 TABLONES SUITE 3                                                                                               AGUADA               PR         00602
   194230 GOMAS Y PIEZAS JL                           1090 TABLONAL STE 3                                                                                                 AGUADA               PR         00602
   661664 GOMBAL PRATTS                               URB. L'ANTIGUA                  73 CALLE 3                                                                          TRUJILLO ALTO        PR         00976

   661665 GOMBAL SUAREZ BETANCOURT                    URB EL PRADO ALTO               K 46 CALLE 6                                                                        GUAYNABO             PR         00966
          GOMECA RENTAL HEAVY
   661666 EQUIPMENT                                   HC 83 BUZON 6462                BO BAJURA                                                                           VEGA ALTA            PR         00692
   661670 GOMERA BORINQUEN                            SUITE 14 P.O.Box 4952                                                                                               CAGUAS               PR         00726
   661668 GOMERA CANDELARIA                           P O BOX 8475                                                                                                        BAYAMON              PR         00960
   661671 GOMERA CEDENO                               PO BOX 557                                                                                                          AGUIRRE              PR         00704 0557
   661672 GOMERA DEL OESTE                            HC 2 BOX 12387                                                                                                      SAN GERMAN           PR         00683
   194232 GOMERA EL NENE DE PAPA                      REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   661673 GOMERA EL PUENTE                            P O BOX 657                                                                                                         TRUJILLO ALTO        PR         00977‐0657
          GOMERA FELICIANO Y AUTO
   661675 PARTS                                       HC 01 BOX 6440                                                                                                      MOCA                 PR         00676
   194233 GOMERA GOVI                                 REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   661676 GOMERA GOVI INC                             P O BOX 29618                                                                                                       SAN JUAN             PR         00929 0618
                                                      PO BOX 29618 65TH INFANTERIA
   661678 GOMERA GOVI UNO INC                         STA                                                                                                                 SAN JUAN             PR         00929‐0618
   661679 GOMERA GUARDIOLA                            HC‐33 BOX 2046                                                                                                      DORADO                          00646
   661680 GOMERA HERNANDEZ                            PARQUE DE ISLAVERDE          LOS ANGELES                 C‐7 CALLE AGUAMARINA                                       CAROLINA             PR         00972
   661681 GOMERA LA CHANGA                            HC 1 BOX 2779                                                                                                       JAYUYA               PR         00664
   194234 GOMERA LA GIGANTE LLC                       P O BOX 6040                 MARINE STATION                                                                         MAYAGUEZ             PR         00680
   661682 GOMERA LA GOYA                              80 CORRALES                                                                                                         AGUADILLA            PR         00603
   661683 GOMERA LOS VANES                            HC 59 BOX 6483                                                                                                      AGUADA               PR         00602
   661684 GOMERA METRO AUTO                           PO BOX 8117                                                                                                         BAYAMON              PR         00960
   661685 GOMERA POZO HONDO                           RR 1 BOX 70                                                                                                         ANASCO               PR         00610
   661687 GOMERA RODRIGUEZ                            BOX 815                                                                                                             AGUADA               PR         00602
   661689 GOMERA TRINIDAD                             HC 2 BOX 10223                                                                                                      GUAYNABO             PR         00971

   661669 GOMERA VALENTIN                             URB SOL Y MAR VISTAS MEDINA 20 PASEO ARENAS 15                                                                      ISABELA              PR         00662
                                                      BUZON 20‐15 A ARENALES
   661690 GOMERA VALENTIN                             ALTOS                                                                                                               ISABELA              PR         00662

   661691 GOMERA VELEZ                                A 166 CALLE CRUZ ORTIZ STELLA                                                                                       HUMACAO              PR         00971
   661692 GOMERA YUYO                                 HC‐1 BOX 6380                                                                                                       MOCA                 PR         00676
   661693 GOMERIA DE JESUS                            HC 01 BOX 7371                                                                                                      LUQUILLO             PR         00773‐7371



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  661695 GOMERIA LA JOYA                              URB CRISTAL               80 COMUNIDAD CERRALES                                                                     AGUADILLA          PR         00603‐6306
  661696 GOMERIA LOS AMIGOS                           URB COUNTRY CLUB          925 CALLE EIDER                                                                           SAN JUAN           PR         00924
  661697 GOMERIA PARADISE                             PO BOX 2462                                                                                                         VEGA BAJA          PR         00694
  661698 GOMERIA TRINIDAD                             HC 2 BOX 10223                                          GUAYNABO                                                    GUAYNABO           PR         00971
  194250 GOMEZ ADROVER, NANCY                         REDACTED                  REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  194263 GOMEZ ALBA MD, JOSE R                        REDACTED                  REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  194277 GOMEZ AMADEO, BRENDA                         REDACTED                  REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  194278 GOMEZ AMADOR MD, JORGE                       REDACTED                  REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   194279 GOMEZ AMALBERT MD, NICOLAS REDACTED                                   REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   194284 GOMEZ ARCE, VIOLA          REDACTED                                   REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                                                CALLE ISMAEL RIVERA ESQ.
   661699 GOMEZ AUTO ELECTRIC                         VILLA PALMERAS            ESQUILIN                                                                                  SAN JUAN           PR         00915
   194350 GOMEZ BUS LINE                              HC 6 BOX 2225                                                                                                       PONCE              PR         00731‐9602
   194351 GOMEZ BUS LINE INC                          HC 06 BOX 2225                                                                                                      PONCE              PR         00731
          GOMEZ CARRASCO, MIRNA
  1419872 YOLANDA                                     ANGEL DIAZ PALENQUE       PO BOX 5159                                                                               CAGUAS             PR         00726
   194407 GOMEZ CHACON, GLORIA I.                     REDACTED                  REDACTED                        REDACTED                           REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                                                ALB PLAZA STE. 400 16 CARR. 199
  1419873 GÓMEZ CRUZ, CARLOS M.                       SIMONE CATILDE MALPICA    AVE. LAS CUMBRES                                                                          GUAYNABO           PR         00969

   194489 GOMEZ CUELLAR MD, MARTHA                    REDACTED                  REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   194527 GOMEZ DELGADO, NYDIA                        REDACTED                  REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   194533 GOMEZ DIAZ, CARMEN                          REDACTED                  REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   194536 GOMEZ DIAZ, FRANCISCA                       REDACTED                  REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  1419874 GÓMEZ DIAZ, YAJAIRA                         GÓMEZ DIAZ, YAJAIRA       URB.DELGADO P‐7 CALLE 9                                                                   CAGUAS             PR         00725
   194568 GOMEZ EMBROIDERY                            AVE LUIS MUNOZ MARIN      M 18 CALLE 18                                                                             CAGUAS             PR         00725
          GOMEZ FORTUNA MD,
   194611 MAIRALISA                                   REDACTED                  REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   194634 GOMEZ GARCIA MD, EUGENIO                    REDACTED                  REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   194650 GOMEZ GARCIA, MARIA                         REDACTED                  REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   194659 GOMEZ GOMEZ MD, RENE C                      REDACTED                  REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                                                PMB 133 1353 AVE. LUIS
  1419875 GOMEZ GONZALEZ, ALBA L.                     YARLENE JIMENEZ ROSARIO   VIGOREAUX                                                                                 GUAYNABO           PR         00966‐2700
                                                                                PMB 133 1353 AVE. LUIS
  1419876 GÓMEZ GONZÁLEZ, ALBA L.                     YARLENE JIMENEZ ROSARIO   VIGOREAUX                                                                                 GUAYNABO           PR         00966‐2700
                                                                                PMB 133 1353 AVE. LUIS
  1419877 GÓMEZ GONZÁLEZ, ALBA L.                     YARLENE JIMENEZ ROSARIO   VIGOREAUX                                                                                 GUAYNABO           PR         00966‐2700
                                                                                PMB 133 1353 AVE. LUIS
  1419878 GÓMEZ GONZÁLEZ, ALBA L.                     YARLENE JIMENEZ ROSARIO   VIGOREAUX                                                                                 GUAYNABO           PR         00966‐2700
   194692 GOMEZ GONZALEZ, JESSICA                     REDACTED                  REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   194712 GOMEZ GONZALEZ, NYDIA M.                    REDACTED                  REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          GOMEZ HERMANOS KENNEDY
   661700 INC                                         P O BOX 2127                                                                                                        SAN JUAN           PR         00922‐2127

   194737 GOMEZ HERNANDEZ MD, JUAN S REDACTED                                   REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   661701 GOMEZ HOLDINGS INC         70 MENDEZ VIGO OESTE                                                                                                                 MAYAGUEZ           PR         00680
   194777 GOMEZ JOSE NORE            REDACTED                                   REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          GÓMEZ LAZANEY, NELLY                                                  65 CALLE MANUEL CORCHADO
  1419879 HERMELINDA, ET ALS         EDUARDO VILLANUEVA MUÑOZ                   OTERO STE 1                                                                               ISABELA            PR         00662
   194803 GOMEZ LOPEZ MD, JUAN R     REDACTED                                   REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED




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                                                                                     EDIF. FIRST BANK 1519 AVE.
  1419880 GÓMEZ MARRERO, DANIEL                       ILEANA FONTANEZ FUENTES        PONCE DE LEON STE.520                                                                     SAN JUAN            PR           00909‐1715
   194909 GOMEZ MD , JOSE R                           REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   194910 GOMEZ MD, HIRAM                             REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   194959 GOMEZ MORALES, MARIANGELIE REDACTED                                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   194999 GOMEZ NUNEZ, DANIEL        REDACTED                                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   195120 GOMEZ PUCHE MD, JESUS V    REDACTED                                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GÓMEZ RAMÍREZ, GLORIA Y
  1419881 OTROS                      JOAQUÍN NIEVES MARRERO                          PO BOX 1760 PO BOX 1760                                                                   JUNCOS              PR           00777‐1760

   661703 GOMEZ REFRIGERATION SERVICE HC 2 BOX 9217                                                                                                                            GUAYNABO            PR           00971

   195162 GOMEZ REYNOSO MD, MARCOS                    REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   195169 GOMEZ RIVERA MD, CESAR G                    REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   195170 GOMEZ RIVERA MD, JOSE                       REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   195172 GOMEZ RIVERA, ANA D                         REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   195191 GOMEZ RIVERA, KEILA                         REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   195192 GOMEZ RIVERA, KEYLA                         REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GOMEZ SALDAÑA MD,
   195326 WILFREDO                                    REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661704 GOMEZ SAMPERA ARQUITECS                     277 CALLE SAN JORGE                                                                                                      SANTURCE            PR           00912

  1419882 GOMEZ SANTANA, JOSÉ LUIS                    ROSA WARD CID                  AVE MUÑOZ RIVERA NÚM. 500                                                                 SAN JUAN            PR           00918
   195373 GOMEZ SANTOS, HECTOR E                      REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661705 GOMEZ SERVICE STATION                       PO BOX 1502                                                                                                              ARROYO              PR           00714
  1419883 GÓMEZ SOLIS, ABNER                          ZORAIDA LANAUSSE SOTO          PO BOX 434                                                                                AGUIRRE             PR           00704‐0434
   195392 GOMEZ SOTO MD, NORMA                        REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GOMEZ STAR ELECTRIC MOTOR
   661706 INC                                         SABANA LLANA                   598 CALLE DE DIEGO                                                                        SAN JUAN            PR           00925
   195417 GOMEZ TORO, GLADYS                          REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   195481 GOMEZ VELAZQUEZ MD, JOSE A REDACTED                                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   195536 GOMEZ, ROXANA              REDACTED                                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   661707 GOMICENTRO BAEZ                             BDA BUEN SAMARITANO            12 CALLE BUEN SAMARITANO # A                                                              GUAYNABO            PR           00966
   661708 GOMICENTRO BORICUA                          PO BOX 351                                                                                                               LAS PIEDRAS         PR           00771

   661709 GOMICENTRO BY PASS                          IND SAN RAFAEL PONCE BY PASS   9 MARGINAL LOTE                                                                           PONCE               PR           00731
   661710 GOMICENTRO CANO                             31 CALLE MALDONADO                                                                                                       CAMUY               PR           00627
   661711 GOMICENTRO CARLOS                           RIO GRANDE ESTATE              CC8 CALLE 28                                                                              RIO GRANDE          PR           00745
   661712 GOMICENTRO CARMELO                          Carr.167 Ramza829                                                                                                        Bayamon             PR           00956
   661715 GOMICENTRO DEL CARIBE                       URB VILLA VERDE                CALLE 01 A 20                                                                             BAYAMON             PR           00959‐0000
   661717 GOMICENTRO FLORES                           HC 645 BOX 4414                BO LA GLORIA KM 3 3                                                                       TRUJILLO ALTO       PR           00976‐9716
   661718 GOMICENTRO FUENTES                          LEVITTOWN                      D 34 CALLE MARINA                                                                         TOA BAJA            PR           00949
   195547 GOMICENTRO LLERA                            PO BOX 1834                                                                                                              CAYEY               PR           00737
   195548 GOMICENTRO LLERAS                           PO BOX 1834                                                                                                              CAYEY               PR           00737
   661719 GOMICENTRO MALPICA                          P O BOX 421                                                                                                              RIO GRANDE          PR           00745
   195549 GOMICENTRO MONSERRATE                       URB LOMA ALTA                  F‐7 CALLE 1                                                                               CAROLINA            PR           00987
   195550 GOMICENTRO PIPO                             ROUND HILLS                    100 ORQUIDEAS E8                                                                          TRUJILLO ALTO       PR           00976‐2766
   661721 GOMICENTRO RIVERA                           APRIL GARDENS CALLE 16 J‐36                                                                                              LAS PIEDRAS                      00771
   661722 GOMICENTRO SANTA ROSA                       AVE AGUAS BUENAS               BLQ. 10 NO 11 SANTA ROSA                                                                  BAYAMON             PR           00959
   661723 GOMICENTRO TEXACO                           P O BOX 690                                                                                                              VEGA ALTA           PR           00692



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  1419884 GOMILA ROHENA, MARÍA ENID                   NELLYMARIE LÓPEZ DÍAZ      PO BOX 11155                                                                           SAN JUAN             PR           00922‐1155

   195560 GOMILA ROMERO PHD, RAFAEL                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   195563 GON AIR CONDTIONING SERVICE 1265 CALLE CANADA                                                                                                                 SAN JUAN             PR           00921
                                      808 AVE PONCE DE LEON PDA 11
   661725 GON MEL MANAGEMENT CORP 1/2                                                                                                                                   SAN JUAN             PR           00902
          GON PER EQUIPMENT SERVICE
   661726 INC                         PMB 401 BOX 20000                                                                                                                 CANOVANAS            PR           00729

   661727 GON REFRIGERATION SERVICES                  VILLAS DE CASTRO           S 22 CALLE 15                                                                          CAGUAS               PR           00725
                                                      COND MARBELLA DEL CARIBE
   661728 GON RES CORP                                ESTE                       APTO 812E                                                                              CAROLINA             PR           00979
                                                                                 URB VELOMAR 62 C CALLE
  1419885 GONALEZ RAMOS, MARISOL     MARISOL GONALEZ RAMOS                       CAMBALACHE                                                                             VEGA ALTA            PR           00692
   195582 GONGOE INVESTMENT CORP     PO BOX 364643                                                                                                                      SAN JUAN             PR           00936‐4643
   195595 GONSUA REALTY INC          AREA DEL TESORO                             DIVISION DE RECLAMACIONES                                                              SAN JUAN             PR           00902‐4140
   661729 GONYRA                     P O BOX 10069                                                                                                                      PONCE                PR           00732‐0069
          GONZ MART& ASSOC ELECT &
   661730 GEN CONT CORP              HC 02 BOX 7053                                                                                                                     LARES                PR           00669
   195634 GONZALES SANTOS, JOSE G    REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   661733 GONZALEZ & GOENAGA INC     PO BOX 364643                                                                                                                      SAN JUAN             PR           00936‐4643
          GONZALEZ & SAMPAYO PROD DE
   195645 SEGUROS CORP               P O BOX 10213                               CAPARRA HEIGTS STATION                                                                 SAN JUAN             PR           00922
   195646 GONZALEZ & TEXIDOR PSC     P O BOX 6030 PMB 205                                                                                                               CAROLINA             PR           00984
   661734 GONZALEZ & TORRES P S C    1719 AVE PONCE DE LEON                                                                                                             SAN JUAN             PR           00909‐1905
          GONZÁLEZ ACEVEDO, RAFAEL Y
  1419886 OTROS                      RAMÓN COLÓN OLIVO                           PO BOX 464                                                                             TOA BAJA             PR           00951‐0464
          GONZALEZ ADORNO MD,
   195766 ZORELIZA                   REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GONZALEZ AGRICULTURAL CO
   195792 INC                        PO BOX 278                                                                                                                         SALINAS              PR           00704

   195793 GONZALEZ AGRONT MD, NELIDA REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GONZALEZ ALBERT TRANSPORT
   195828 SERVICES                   INCORPORATED                                HC 7 BOX 25121                                                                         PONCE                PR           00731

   195838 GONZALEZ ALDAÑA MD, SHEILA REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   195855 GONZALEZ ALGARIN, SIXTO L. REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   195894 GONZALEZ ALONSO MD, LUIS A REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   661735 GONZALEZ ALUMINIUM INC      URB BO OBRERO                              969 CALLE LEDESMA                                                                      ARECIBO              PR           00612
          GONZALEZ ALVAREZ, DAMARIS Y
  1419887 OTROS                       GRISEL HERNANDEZ ESTEVES                   HC 05 BOX 56673                                                                        CAGUAS               PR           00725‐9227
          GONZALEZ AMADOR
   195980 DISTRIBUTOR INC.            #35JC‐D BOURBON SUITE 67                                                                                                          GUAYNABO             PR           00969‐5375
          GONZALEZ AMADOR             PMB 312 35 JC DE BORBON
   195981 DISTRIBUTORS                SUITE 67                                                                                                                          GUAYNABO             PR           00969‐5375
          GONZALEZ AND GONZALEZ
   195997 PRODUCTS INC                HC 05 BOX 10733                                                                                                                   MOCA                 PR           00676
   196050 GONZALEZ APONTE, ELVIRA     REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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   196070 GONZALEZ AQUINO MD, CARLOS REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   196087 GONZALEZ ARCE MD, ISMAEL   REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   196144 GONZALEZ ARROYO MD, EFRAIN REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   196195 GONZALEZ ARVELO, ANNABELLE                  REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661736 GONZALEZ AUGUSTO L.                         URB LOS CAOBOS               AB15 CALLE 34                                                                           PONCE               PR           00731
   661737 GONZALEZ AUTO                               1001 C/ GENERAL DEL VALLE                                                                                            RIO PIEDRAS                      00926
   661739 GONZALEZ AUTO PARTS                         AVE. PONCE DE LEON 1383                                                                                              RIO PIEDRAS         PR           00928
   661740 GONZALEZ AUTO SERVICE                       URB ALTURA VILLA DEL REY     F 14 CALLE DAMASCO                                                                      CAGUAS              PR           00725
                                                      KARLA DANNETTE SANTIAGO
  1419888 GONZALEZ AYALA, JOSE                        RODRÍGUEZ                    PO BOX 9020192                                                                          SAN JUAN            PR           00902‐0191
          GONZALEZ BADILLO MD,
   196296 ORLANDO                                     REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   196348 GONZALEZ BARRETO MD, JORGE REDACTED                                      REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ BEAUCHAMP,                                                      1606 AVE. PONCE DE LEON SUITE
  1419889 AUGUSTO                    EDUARDO VERA                                  501 EDIF. BOGORICIN                                                                     SAN JUAN            PR           00909
          GONZÁLEZ BEAUCHAMP,                                                      1606 AVE. PONCE DE LEÓN SUITE
  1419890 AUGUSTO                    EDUARDO VERA                                  501 EDIF. BORORICIN                                                                     SAN JUAN            PR           00909

  1419891 GONZALEZ BENITEZ, LINA I.                   LILIANA MORELL BERGANTIÑOS   PO BOX 79191                                                                            CAROLINA            PR           00984‐9191
          GONZALEZ BERDECIA MD,
   196447 CARLOS A                                    REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   196480 GONZALEZ BERRIOS MD, PEDRO REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ BONILLA / GONZALEZ
   196543 FERRER LAW                   PO BOX 13285                                                                                                                        SAN JUAN            PR           00908
          GONZÁLEZ BONILLA, MADELINE Y
  1419892 OTROS                        MADELINE GONZALEZ BONILLA                   POBOX 883                                                                               AIBONITO            PR           00705
   196563 GONZALEZ BONILLA, MARTA J    REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ BOSQUES MD, MARIA
   196587 L                            REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661742 GONZALEZ BUS LINE            PO BOX 546                                                                                                                          JAYUYA              PR           00664
   196647 GONZALEZ BUS SERVICE         BO HATO VIEJO                               HC 2 BOX 14339                                                                          ARECIBO             PR           00612

   196649 GONZALEZ BUS SERVICES, INC.                 PO BOX 546                                                                                                           JAYUYA              PR           00664
   196657 GONZALEZ CABAN, CARMEN                      REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ CAMACHO MD,
   196715 CARLOS                                      REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   196716 GONZALEZ CAMACHO MD, LUIS                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   URB ROOSEVELT 478 CALLE JOSE
  1419893 GONZALEZ CAMPOS, MARIA A.                   IVÁN A. COLÓN MORALES        A CANALS STE 1A                                                                         SAN JUAN            PR           00918‐2723
          GONZALEZ CARMONA,
   196855 MARGARITA                                   REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   196890 GONZALEZ CARRERO, VERONICA REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1419894 GONZÁLEZ CARRILLO, CARMEN                   CENTENO RODRÍGUEZ, ALEIDA    PO BOX 1927                                                                             ARECIBO             PR           00613

   196895 GONZALEZ CARRILLO, DAWN M. REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  661743 GONZALEZ CASH & CARRY      PO BOX 1630                                  50 HIPOLITO CASTRO                                                                         SAN SEBASTIAN     PR           00685
         GONZALEZ CASTANER, MORALES
 1256528 & GUZMAN, C.S.P            REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   196965 GONZALEZ CASTRO MD, MELISSA REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   196968 GONZALEZ CASTRO, AIDA       REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   196993 GONZALEZ CASTRO, MARIA      REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          GONZALEZ CEBOLLERO MD,
   197011 ERNESTO                     REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          GONZALEZ CHACON MD,
   197040 NORMAN                      REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   197042 GONZALEZ CHAEZ, BRUNILDA    REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   197060 GONZALEZ CHAVEZ MD, JOSE R                  REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   195641 GONZALEZ COLON , VERONICA                   REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   661745 GONZALEZ COLON ANA LYDIA                    SANTA ROSA                 26‐25 CALLE 15 URB SANTA ROSA                                                              BAYAMON           PR           00959
          GONZALEZ COLON JOSE
   197185 GIOVANY                                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   197186 GONZALEZ COLON MD, ANITZA O REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   197187 GONZALEZ COLON MD, LUIS R                   REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   197188 GONZALEZ COLON MD, ROBERTO REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   197189 GONZALEZ COLON MD, SANDY M REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          GONZALEZ COLON MEDICAL
   197190 SERVICES                   51 AVE LA MOCA                                                                                                                         MOCA              PR           00676
  1419895 GONZALEZ COLON, LUIS F     ARTEMIO RIVERA RIVERA                       90 CARR. 165 SUITE 309                                                                     GUAYNABO          PR           00968
   197294 GONZALEZ COLON, MARIA      REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   197349 GONZALEZ COMPRE, JONEL J   REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          GONZALEZ CONCEPCION MD,
   197350 JUAN                       REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   661746 GONZALEZ CONCRETE PUMP     JARDINES DE CAMUY                           HC 04 BOX 18467                                                                            CAMUY             PR           00627
   197373 GONZALEZ CONSTRUCTION      PO BOX 174                                                                                                                             ANASCO            PR           00610

   661747 GONZALEZ CONTRACTORS CORP PMB 302                                      HC 71 BOX 3766                                                                             NARANJITO         PR           00719
          GONZALEZ CORDERO,
   197433 MONSERRETE                REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   197488 GONZALEZ CORTES, DALIA I. REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

  1419896 GONZÁLEZ CRESPO, ANABEL                     SAMUEL FIGUEROA GONZALEZ   POBOX 771                                                                                  BOQUERON          PR           00622
   197584 GONZALEZ CRESPO, MARIA T                    REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          GONZALEZ CRUZ & ASOCIADOS
   661748 INC                                         197 O'NEIL                                                                                                            HATO REY          PR           00918
   197606 GONZALEZ CRUZ MD, ISRAEL                    REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   197607 GONZALEZ CRUZ MD, JUAN                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   197608 GONZALEZ CRUZ MD, RENIER                    REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

  1419897 GONZÁLEZ CRUZ, ALFREDO                      ELDA MAGALI RODRIGUEZ CORA PO BOX 716                                                                                 TRUJILLO ALTO     PR           00977‐0716




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          GONZALEZ CRUZ, ELOY
  1419898 ALEJANDRO                                   JOSE JUAN BERNAL VERGES       PO BOX 676 MERCEDITA                                                                    MERCEDITA           PR           00715‐0676
   197691 GONZALEZ CRUZ, JOSE L.                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   197697 GONZALEZ CRUZ, JUAN G                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   197701 GONZALEZ CRUZ, KATHERINE                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   197723 GONZALEZ CRUZ, MARIA                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   197735 GONZALEZ CRUZ, MARTA                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   197840 GONZALEZ DASTA, HAZEL M.                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   197964 GONZALEZ DE LEON, FERNANDO REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   197985 GONZALEZ DE, BLANCA I.     REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ DEL ROSARIO MD,
   198009 SEGUNDO                    REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   198012 GONZALEZ DEL VALLE MD, JULIO REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                    876 CALL RSND VTRB URB
   661749 GONZALEZ DIAZ ISRAEL                        COUNTRY CLUB                  COUNTRY CLUB                                                                            RIO PIEDRAS         PR           00924
   198102 GONZALEZ DIAZ MD, JUAN                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   198103 GONZALEZ DIAZ MD, MERBIL R                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   198104 GONZALEZ DIAZ MD, MILAGROS REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1419899 GONZALEZ DIAZ, JOSE LUIS   CESAR E. MOLINA APONTE :                       PO BOX 334254                                                                           PONCE               PR           00733‐4254

   198265 GONZALEZ DUENAS MD, ANDREA REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   198273 GONZALEZ DURIEUX MD, CESAR REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ ELECTRICAL A/C
   661750 SERVICES                   PO BOX 9836                                                                                                                            CAROLINA            PR           00988
   198297 GONZALEZ ELECTRICAL INC    PO BOX 363567                                                                                                                          SAN JUAN            PR           00936‐3567
          GONZALEZ ENGINEERING &
   198311 DESIGN CORP                PMB 83                                         HC 72 BOX 3766                                                                          NARANJITO           PR           00719‐9788
          GONZALEZ ESCLAVON MD, EDNA
   198323 L                          REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ ESTEBAN MD,
   198344 IVELISSE                   REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   198360 GONZALEZ FALCON ABNER      REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   198397 GONZALEZ FELICIANO, FRANCES REDACTED                                      REDACTED                     REDACTED                      REDACTED                     REDACTED            REDACTED     REDACTED      REDACTED
                                                                                    FACILIDAD CORRECCIONAL 224   3793 PONCE BY PASS NARANJA C‐
  1422870 GONZALEZ FELICIANO, JUAN C.                 GONZALEZ FELICIANO, JUAN C.   PONCE:                       109 A                                                      PONCE               PR           00728‐1504

   198415 GONZALEZ FELICIANO, LARISSA                 REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ FERNANDEZ MD,
   198442 MODESTO J                                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ FERNANDEZ MD,
   198443 ROBERT                                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   198482 GONZALEZ FIGUERA, AMY                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ FIGUEROA, BLANCA
  1419900 IRIS                                        AMABEL M. ESCALERA RIVERA     PO BOX 70244                                                                            SAN JUAN            PR           00936‐8244

   198536 GONZALEZ FIGUEROA, JOSE A.                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   198576 GONZALEZ FIGUEROA, NEREIDA                  REDACTED  REDACTED                                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   198642 GONZALEZ FLORES, SHEILA                     REDACTED  REDACTED                                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                BARRIO LAS CUEVAS CARR. 876
  1419901 GONZALEZ FONTANEZ, MARIBEL GONZALEZ FONTANEZ, MARIBEL KM 1 HM 4 BUZÓN 45                                                                                      TRUJILLO ALTO       PR           00976

  1419902 GONZALEZ FONTANEZ, MARIBEL                  PANTOJA OQUENDO, JOSEFINA   PO BOX 21370                                                                          SAN JUAN            PR           00928
          GONZALEZ GALICIA MD,
   198729 DAMARYS                                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   198736 GONZALEZ GALLOSA, LUCAS                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   198751 GONZALEZ GARAY, LYDIA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   198753 GONZALEZ GARCIA , LILLY E                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661753 GONZALEZ GARCIA MANUEL                      PARC SAINT JUST             181 CALLE 8 FINAL                                                                     TRUJILLO ALTO       PR           00976
   198897 GONZALEZ GERENA, RUTH                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   198900 GONZALEZ GERENA, ZORAIDA 0                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   198922 GONZALEZ GOMEZ MD, ALFREDO REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ GONZALEZ MD,
   198958 GERMAN L                   REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ GONZALEZ MD,
   198959 GIOVANI                    REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ GONZALEZ MD,
   198960 ROBERTO                    REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ GONZALEZ, CARMEN
   199049 S                          REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ GONZALEZ,
   199103 ELIZABETH                  REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   199146 GONZALEZ GONZALEZ, GLORIA M REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   199195 GONZALEZ GONZALEZ, JESSICA                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1419903 GONZÁLEZ GONZÁLEZ, LUIS                     JOSE M CASSANOVA EDELMANN DOMENECH 224 SUITE 2                                                                    SAN JUAN            PR           00918

   199357 GONZALEZ GONZALEZ, MINERVA REDACTED                    REDACTED                                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                 CALLE RAMON EMETERIO
  1419904 GONZALEZ GONZALEZ, RAMON I. VICTOR M SOUFFRONT CORDERO BETANCES #150                                                                                          ALTOS MAYAGUEZ      PR           00680

  1419905 GONZÁLEZ GONZÁLEZ, REINALDA ERNESTO JOSÉ MIRANDA MATOS PO BOX 361058                                                                                          SAN JUAN            PR           00936‐1058

   199463 GONZALEZ GONZALEZ, XAVIER                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   199465 GONZALEZ GONZALEZ, XIOMARA REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   199475 GONZALEZ GONZALEZ, YOLANDA REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                  URB. MORELL CAMPOS CALLE
  1419906 GONZÁLEZ GUAL, OSCAR                        LIZETTE M. ALVARADO BAUZÁ   FÍGARO #2                                                                             PONCE               PR           00730‐2764
   199543 GONZALEZ GUZMAN, ALANNY                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   199589 GONZALEZ HERMANOS INC                       COLMADO ASTURIAS            PO BOX 1826                                                                           SAN JUAN            PR           00902‐1826
          GONZALEZ HERMANOS
   661754 INC/COLMADO ASTURIAS                        PO BOX 9021826                                                                                                    SAN JUAN            PR           00902‐1826




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   661755 GONZALEZ HERNANDEZ CARLOS                   REXVILLE                     DB31 CALLE 31 URB REXVILLE                                                                 BAYAMON             PR           00957
          GONZALEZ HIDALGO MD,
   199773 HAYDEE                                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ HIRZEL, MIRIAM Y
  1419907 OTROS                                       OSVALDO BURGOS PEREZ         PO BOX 194211                                                                              SAN JUAN            PR           00919‐4211
          GONZALEZ HOLGAD MD,
   199786 MANUEL                                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ INDUSTRIAL SALES
   661756 INC                                         P O BOX 366345                                                                                                          SAN JUAN            PR           00936
  1419908 GONZALEZ JIMENEZ, MARIA I.                  FRANCISCO DÁVILA VARGAS      PO BOX 1236                                                                                JAYUYA              PR           00664

   199929 GONZALEZ JOVE MD, EDUARDO                   REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   199971 GONZALEZ LAGUER, NILDA I                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661757 GONZALEZ LAMELA INC                         COND KINGS COURT APT 6E                                                                                                 SAN JUAN            PR           00911‐1130
   200024 GONZALEZ LEBRON, RUTH                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   200056 GONZALEZ LLANOS, MIGUEL                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZÁLEZ LÓPEZ, AIRA G. Y                                                VILLA ANDALUCIA A‐22 CALLE
  1419909 OTROS                                       VICTOR BERMUDEZ PEREZ        RONDA                                                                                      SAN JUAN            PR           00926
  1419910 GONZALEZ LOPEZ, BELKYS                      BÁMILY LÓPEZ‐ORTIZ           PO BOX 635                                                                                 RÍO GRANDE          PR           00745
   200121 GONZALEZ LOPEZ, EDNA R.                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1419911 GONZALEZ LOPEZ, EDWIN                       PABLO COLON SANTIAGO         1739 PASEO DE LAS COLONIAS                                                                 PONCE               PR           00717‐2234
                                                                                   COND. EL JARDÍN APT. 5‐F AVE.
  1419912 GONZÁLEZ LÓPEZ, ISABEL                      SRA. ISABEL GONZÁLEZ LÓPEZ   SAN PATRICIO                                                                               GUAYNABO            PR           00968
                                                                                   COND. EL JARDÍN APT. 5‐F AVE.
  1419913 GONZÁLEZ LÓPEZ, ISABEL                      SRA. ISABEL GONZÁLEZ LÓPEZ   SAN PATRICIO                                                                               GUAYNABO            PR           00968
  1419914 GONZÁLEZ LÓPEZ, NELSON                      ROGER A. LEYBA RODRIGUEZ     PO BOX 873                                                                                 HORMIQUEROS         PR           00660‐0873
   200256 GONZALEZ LOPEZ, WANDA I                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1419915 GONZÁLEZ LÓPEZ, WILLIAM                     CALDERON LITHGOW, JUAN O     PO BOX                                                                                     VEGA BAJA           PR           00694‐1710
   200305 GONZALEZ LUGO, ADA I                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ MACHADO & ROIG
   200338 LLC                                         PO BOX 193077                                                                                                           SAN JUAN            PR           00919‐3077
   661758 GONZALEZ MACHINE SHOP                       PO BOX 3656                                                                                                             MAYAGUEZ            PR           00680

   200355 GONZALEZ MAISONET, DANIEL                   REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   200362 GONZALEZ MALAVE, ANA M                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ MALDONADO &
   200375 TORRES ROSADO                               REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ MALDONADO,
  1422479 ADRIANA                                     EDGARDO SANTIAGO LLORENS     1925 BLV. LUIS A. FERRÉ AVE.    LAS AMÉRICAS SAN ANTONIO                                   PONCE               PR           00728‐1815
          GONZALEZ MALDONADO,
   200406 GLADYS                                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ MALDONADO,
  1419916 GLORIBEL                                    ALMA R. PEDRO MONTES         ANTIGUO CENTRO JUDICIAL                                                                    CAGUAS              PR           09999
          GONZALEZ MALDONADO,
   200418 JOSIEBETH                                   REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ MARCANO MD,
   200476 SAMUEL                                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1419917 GONZALEZ MARI, DANIEL                       WANDA I. MARIN LUGO          1225 AVE. MUÑOZ RIVERA                                                                     PONCE               PR           00717‐0635
          GONZALEZ MARQUES MD,
   200509 PALOMA                                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          GONZALEZ MARTINEZ MD,
   200568 EDGARDO L                                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ MARTINEZ MD,
   200569 REINALDO                                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ MARTINEZ MD,
   200570 YARITSA                                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ MARTINEZ,
   200600 ELIZABETH                                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   200627 GONZALEZ MARTINEZ, IRMA                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   200648 GONZALEZ MARTINEZ, JUAN M                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1419918 GONZÁLEZ MARTÍNEZ, THAMARI ANTONIO MARRERO                             PO BOX 191781                                                                            SAN JUAN            PR           00919
  1419919 GONZALEZ MASS, VANESSA     RAFAEL RAMIREZ VALENTIN                     HC‐02 BOX 7252                                                                           HORMIGUEROS         PR           00660
   200737 GONZALEZ MATEO, IVETTE     REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   200785 GONZALEZ MD , JOSE G       REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   200786 GONZALEZ MD , MARIA D      REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   200787 GONZALEZ MD, ANGELA        REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   200788 GONZALEZ MD, CARLOS        REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   200789 GONZALEZ MD, NORBERTO      REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   200790 GONZALEZ MD, ROGELIO       REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   200872 GONZALEZ MEDINA, YOLANDA                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                 1675 CALLE VIOLET URB SAN
   661759 GONZALEZ MEDRANO IVONNE                     SAN FRANCISCO              FRANCISCO                                                                                RIO PIEDRAS         PR           00927
   200875 GONZALEZ MEDRANO, JOSE E                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ MENDEZ,
   200964 BIENVENIDO                                  REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      SR. BRYANT GONZALEZ
  1419920 GONZALEZ MERCADO, BRYANT                    MERCADO                    QPO BOX 1785 QPO BOX 1785                                                                RIO GRANDE          PR           00745
          GONZÁLEZ MERCADO,                                                      SERVICIOS LEGALES DE PO BOX
  1419921 YALISHETH                                   ALEIDA CENTENO RODRÍGUEZ   1927                                                                                     ARECIBO             PR           00613‐1927
   661760 GONZALEZ METAL TRAIDING                     PO BOX 9041                                                                                                         SAN JUAN            PR           00909‐9041
                                                                                 INSTITUCIÓN CORRECCIONAL
  1422908 GONZALEZ MILIAN, DAVID                      NO TIENE (PRO SE)          GUERRERO 304                  ANEXO B PO BOX 3999                                        AGUADILLA           PR           00603
          GONZALEZ MIRANDA &
   201131 GONZALEZ ABELLA                             REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ MONSERRATE MD,
   201213 EVELYN                                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ MONTALVO,
  1422538 GRACIELA                                    JOSE RAUL PEREZ AYALA      ASOCIACIÓN DE EMPLEADOS       OFICINA DE ASUNTOS LEGALES          PO BOX 70199           SAN JUAN            PR           00936‐8190
          GONZALEZ MONTANEZ,
   201244 DAMARIS                                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   201269 GONZALEZ MONTES MD, JESSICA REDACTED                  REDACTED                                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   201286 GONZALEZ MORALES & CO       CAPARRA TERRACE           1327 AVE JESUS T PINERO                                                                                   SAN JUAN            PR           00921
          GONZALEZ MORALES LAW
   201287 OFFICES PCS                 PO BOX 10242                                                                                                                        HUMACAO             PR           00792
          GONZALEZ MORALES MD,
   201288 ORLANDO                     REDACTED                  REDACTED                                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ MORALES,
  1419922 LEONARDO                    LEONARDO GONZALEZ MORALES PO BOX 10005                                                                                              GUAYAMA             PR           00785




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          GONZALEZ MORALES,
  1419923 LEONARDO                                    ALFREDO ORTIZ ORTIZ          83 CALLE BALDORIOTY W.                                                                    GUAYAMA             PR           00784‐5139
   201404 GONZALEZ MORALES, SILVIA                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   661761 GONZALEZ MORENO ADALBERTO BO CAGUANA                                     HC 3 BOX 13751                                                                            UTUADO              PR           00641

   201425 GONZALEZ MORENO MD, JOSE REDACTED                                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   201448 GONZALEZ MOSQUEA, JUANA    REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ MUNOZ LAW OFFICES
   201480 PSC                        PO BOX 9024055                                                                                                                          SAN JUAN            PR           00902‐4055
   201503 GONZALEZ MURIEL MD, ITZIA  REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ MUSIC AND
   661731 REFRIGERATION              1 CALLE ESTACION                                                                                                                        AGUADA              PR           00602

   201602 GONZALEZ NIEVES MD, IVETTE                  REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   201603 GONZALEZ NIEVES, ABIGAIL                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1419924 GONZALEZ NIEVES, IVETTE                     ATABEY Y. LAMELA GANDIA      PO BOX 194829                                                                             SAN JUAN            PR           00919
   201695 GONZALEZ NILKA MARIELA                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   201704 GONZALEZ NUNEZ, CARMEN                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   201722 GONZALEZ NUNEZ, MARK                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   AVENIDA DOMENECH 207
  1419925 GONZALEZ OCASIO, MIGDALIA                   PEDRO LANDRAU                OFICINA 106,                                                                              SAN JUAN            PR           00901
          GONZALEZ OLIVER & MARTINEZ
   201774 LAW OFFICES                                 PMB 315 SUITE 112            100 GRAND BOULEVARD PASEOS                                                                SAN JUAN            PR           00926‐5955
          GONZALEZ OPPEHEIMER MD,
   201819 CARLOS A                                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ ORTIZ LAW OFFICES
   201865 PSC                                         EDIF MERCANTIL PLAZA         PH 1616 2 AVE PONCE DE LEON                                                               SAN JUAN            PR           00918
   201866 GONZALEZ ORTIZ MD, DORIS                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   201867 GONZALEZ ORTIZ MD, ELENA                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   201868 GONZALEZ ORTIZ MD, EVELYN                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   201953 GONZALEZ ORTIZ, ISAAC                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   202003 GONZALEZ ORTIZ, LUCILA                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   202024 GONZALEZ ORTIZ, MARIBEL                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   URB. CAGUAS NORTE #J‐3 CALLE
  1419926 GONZALEZ ORTIZ, VICTORIA                    VICTORIA GONZALEZ ORTIZ      ISRAEL                                                                                    CAGUAS              PR           00725‐2225
          GONZALEZ PADIN REALTY &
   661762 CO.INC                                      PO BOX 9024076                                                                                                         SAN JUAN            PR           00902
   661763 GONZALEZ PAGAN & CO P S C                   URB VILLA NEVAREZ CALLE 32                                                                                             SAN JUAN            PR           00927
          GONZALEZ PANTALEON MD,
   202231 BALTAZAR                                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   202247 GONZALEZ PARES MD, ESTHER                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   202248 GONZALEZ PARES MD, ESTHER N REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   202267 GONZALEZ PEDROZA MD, OSCAR REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   202272 GONZALEZ PELLOT, MIGDALIA  REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   202288 GONZALEZ PERAMO, ELENA M  REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ PEREZ MANAGEMENT URB. FUENTEBELLA 1593 CALLE
   202297 INC.                      TORINO                                                                                                                                   TOA ALTA            PR           00953‐0000



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   202298 GONZALEZ PEREZ MD, MIGUEL                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

  1419927 GONZÁLEZ PÉREZ, ALEJANDRO                   SR. ALEJANDRO GONZÁLEZ PÉREZ HC 2 BOX 12263                                                                          MOCA                 PR           00676‐8397
   202502 GONZALEZ PEREZ, MICHAEL                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   202500 GONZALEZ PONS MD, CARLOS A                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GONZALEZ PORTALATIN
   202631 CONSULTING                                  352 CALLE SAN CLAUDIO        STE 1 PMB 346                                                                           SAN JUAN             PR           00926‐4144
          GONZALEZ PORTALATIN
   661764 CONSULTING CORP                             352 SAN CLAUDIO AVENUE       SUITE 346                                                                               SAN JUAN             PR           00926
   661765 GONZALEZ POWER ELECTRIC                     PO BOX 1737                                                                                                          UTUADO               PR           00641

          GONZALEZ POWER ELECTRICAL                   MSC 883 138 WINSTON
   661766 CONTRACTORS IN                              CHURCHILL AVE                                                                                                        SAN JUAN             PR           00926‐6023
   202651 GONZALEZ PUMAREJO, SONIA                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   202652 GONZALEZ PUMPS OF P.R. INC.  PO BOX 8853                                                                                                                         CAROLINA             PR           00988
  1419928 GONZALEZ QUILES, LUIS J.     IVANDELUIS MIRANDA VELEZ                    APARTADO 565                                                                            AGUADILLA            PR           00605
                                       MARIA EUGENIA ROSAS
  1419929 GONZALEZ QUIÑONES, SANDRA I. DELGADO;                                    PO BOX 95 VICTORIA STATION                                                              AGUADILLA            PR           00603
   202725 GONZALEZ QUINONEZ, ANA       REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   202801 GONZALEZ RAMIREZ, MARIBEL                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   202818 GONZALEZ RAMOS, ANITA                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   202898 GONZALEZ RAMOS, LUIS A.                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      SRA. MARISOL GONZALEZ
  1419930 GONZÁLEZ RAMOS, MARISOL                     RAMOS                        PO BOX 5259                                                                             VEGA ALTA            PR           00692
   202954 GONZALEZ RAMOS, VIDAL                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   202957 GONZALEZ RAMOS, WANDA I.                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   202970 GONZALEZ RECIO MD, AILED                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   203057 GONZALEZ REYES, MARIA T.                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   203079 GONZALEZ RIOS MD, EDIL                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   661767 GONZALEZ RIVERA JUAN                        BO BUENA VISTA               RR 5 BOX 8185                                                                           BAYAMON              PR           00956
          GONZALEZ RIVERA MD,
   203142 GRETCHEN                                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   203143 GONZALEZ RIVERA MD, HENRY                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   203144 GONZALEZ RIVERA MD, NORMAN REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   203224 GONZALEZ RIVERA, CANDELARIO REDACTED                                     REDACTED       REDACTED                                          REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                                  FASE 2 CONTROL Q SEC ROJA
  1422962 GONZALEZ RIVERA, CARLOS LUIS GONZALEZ RIVERA, CARLOS LUIS INSTITUCIÓN PONCE PRINCIPAL, 129: 3699 PONCE BY PASS                                                   PONCE                PR           00728‐1500
                                                                    URB SANFELIZ CALLE 5 #2 ALTOS
  1419931 GONZALEZ RIVERA, CARLOS LUIS BLAS MARRERO                 LOCAL #2                                                                                               COROZAL              PR           00783‐3038
   203341 GONZALEZ RIVERA, HIRANIEL    REDACTED                     REDACTED                      REDACTED                                          REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   203348 GONZALEZ RIVERA, INC.        PO BOX 9699                  PLAZA CAROLINA STATION                                                                                 CAROLINA             PR           00988
   203444 GONZALEZ RIVERA, JULIO       REDACTED                     REDACTED                      REDACTED                                          REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   203478 GONZALEZ RIVERA, LUZ         REDACTED                     REDACTED                      REDACTED                                          REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   203520 GONZALEZ RIVERA, MARTA       REDACTED                     REDACTED                      REDACTED                                          REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   203524 GONZALEZ RIVERA, MARTHA      REDACTED                     REDACTED                      REDACTED                                          REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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   203544 GONZALEZ RIVERA, NATIVIDAD                  REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1419932 GONZALEZ RIVERA, WILLIAM                    CESAR E. CEREZO TORRES   525 AVENIDA JOSE A. CEDEÑO                                                              ARECIBO             PR           00612
   203692 GONZALEZ ROBLES, JULIE                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   203704 GONZALEZ ROCHE, CARMEN A.                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ RODRIGUEZ &
   661769 RODRIGUEZ PSC                               PO BOX 16872                                                                                                     SAN JUAN            PR           00908‐6872
          GONZALEZ RODRIGUEZ MD,
   203708 JORGE                                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ RODRIGUEZ MD,
   203709 JULIO A                                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ RODRIGUEZ MD,
   203710 MANUEL                                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ RODRIGUEZ MD,
   203711 MANUEL A                                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ RODRIGUEZ MD,
   203712 NESTOR M                                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ RODRIGUEZ MD,
   203713 OMAYRA L                                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ RODRIGUEZ MD,
   203714 SAMUEL                                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ RODRIGUEZ MD,
   203715 SAMUEL A                                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ RODRIGUEZ MF,
   203716 JULIO A                                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   203722 GONZALEZ RODRIGUEZ, ADRIAN REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ RODRIGUEZ, CARMEN
   203792 I.                         REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   204136 GONZALEZ RODRIGUEZ, ROSA   REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ RODRIGUEZ,
   204166 STEPHANIE                  REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   204177 GONZALEZ RODRIGUEZ, WANDA REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   204259 GONZALEZ ROMAN, BRENDA E                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   204265 GONZALEZ ROMAN, CARMEN M REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ ROMERO MD,
   204335 EDGARDO                  REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZÁLEZ RONDÓN, SUSANNE                                             PMB 133 1353 AVE. LUIS
  1419933 D.                       YARLENE JIMENEZ ROSARIO                     VIGOREAUX                                                                               GUAYNABO            PR           00966‐2700

   204365 GONZALEZ ROSA MD, WILLIAM                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   204420 GONZALEZ ROSADO, GLORIA                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      JAIME B. GONZALEZ
  1419934 GONZALEZ ROSADO, VERONICA                   MALDONADO                PO BOX 777                                                                              ARECIBO             PR           00613
  1419935 GONZALEZ RUIZ, FRANCISCA                    GENOVEVA VALENTIN SOTO   PO BOX 13695                                                                            SAN JUAN            PR           00908‐3695
   204590 GONZALEZ RUIZ, JOE                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   204629 GONZALEZ RUIZ, WANDA                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   204656 GONZALEZ SALAS, ELSA                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  204714 GONZALEZ SANCHEZ, EVELYN                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   204765 GONZALEZ SANCHEZ, MARILYN                   REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   204775 GONZALEZ SANCHEZ, RAMONITA REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

          GONZALEZ SANTIAGO, ANTHONY
  1419936 Y RIVERA RIVERA, HECTOR L. MARCELINO RUIZ CORUJO                   101 ESTEBAN PADILLA OFIC. 7                                                              BAYAMÓN             PR         00959
   204967 GONZALEZ SANTIAGO, JUAN L  REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   205029 GONZALEZ SANTIAGO, NURBIA                   REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GONZALEZ SANTONI MD,
   205095 RICARDO E                                   REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GONZALEZ SANTOS MD,
   205097 ANTONIO R                                   REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   205098 GONZALEZ SANTOS MD, JORGE L REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GONZALEZ SEGARRA MD,
   205157 NAGGAI J                    REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   205179 GONZALEZ SEMIDEY, ANGIE I   REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661770 GONZALEZ SERVICE STATION    HC‐01 BOX 5357                                                                                                                  COROZAL             PR         00783
   205272 GONZALEZ SILVA, ANABELLE    REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   205326 GONZALEZ SOTO MD, KELVIN    REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   205332 GONZALEZ SOTO, CARLOS       REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   205395 GONZALEZ SOTO, MIGUEL A     REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   205397 GONZALEZ SOTO, ORLANDO      REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GONZALEZ SOTOMAYOR MD,
   205420 ANTONIO                     REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GONZALEZ                    HP‐PSIQUIATRICO FORENSE
   661771 SOTOMAYOR,CONFESORA         PONCE                                                                                                                           Hato Rey            PR         009360000
          GONZALEZ TABOADA, JOSE
   205458 ANTONIO                     REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GONZALEZ TEJERA MD, GLORIA
   205472 M                           REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   661772 GONZALEZ TELE ELECTRIC INC                  PO BOX 202                                                                                                      LAS MARIAS          PR         00670

   205482 GONZALEZ TIGERA WAREHOUSE                   PO BOX 366457                                                                                                   SAN JUAN            PR         00936
          GONZALEZ TIGERA WAREHOUSE
   661773 DIST                                        PO BOX 366457                                                                                                   SAN JUAN            PR         00936
   205495 GONZALEZ TIRADO, MARIA T.                   REDACTED               REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GONZALEZ TIRE & CAR CARE                                           AVE TRUJ ALTO CALLE GRAL DEL
   661774 CENTER                                      URB DELICIAS           VALLE                                                                                    SAN JUAN            PR         00924
   205503 GONZALEZ TOBI, JUAN E.                      REDACTED               REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661775 GONZALEZ TOOLS                              757 AVE MIRAMAR                                                                                                 ARECIBO             PR         00612
          GONZALEZ TORRADO ADA,
   205524 LEYDA                                       REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   205525 GONZALEZ TORRADO, ADA L                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   661776 GONZALEZ TORRES & CO C S P URB SIERRA DEL RIO                      300 AVE LA SIERRA APT 78                                                                 SAN JUAN            PR         00926‐4330
   205528 GONZALEZ TORRES & CO. PSC  BOLIVIA 22 SUITE 301                                                                                                             SAN JUAN            PR         00917‐2014
          GONZALEZ TORRES GONZALEZ P
   661777 S C                        1719 AVE PONCE DE LEON                                                                                                           SAN JUAN            PR         00909‐1905



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   205529 GONZALEZ TORRES MD, EMILIO R REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   205534 GONZALEZ TORRES, ADALIS      REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1419937 GONZÁLEZ TORRES, ÁNGEL                      SR. ÁNGEL GONZÁLEZ TORRES   RR 1 BOX 2107                                                                          CIDRA               PR           00739
          GONZALEZ TORRES,
  1419938 BERNARDINO                                  ANGEL JUARBE DE JESÚS       PO BOX 1907                                                                            UTUADO              PR           00641
   205588 GONZALEZ TORRES, DERVIS                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   205658 GONZALEZ TORRES, JORGE                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   205711 GONZALEZ TORRES, MARIA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   205774 GONZALEZ TORRES, ROSARIO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661778 GONZALEZ TRADING                            P O BOX 364884                                                                                                     SAN JUAN            PR           00936‐4884

   205822 GONZALEZ TRADING / GT CORP                  PO BOX 364884                                                                                                      SAN JUAN            PR           00936‐4884
   661779 GONZALEZ TRANSPORT                          HC‐ 01 BOX 1045                                                                                                    AGUADILLA                        00603
  1256529 GONZÁLEZ TRANSPORTATION                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ TRANSPORTATION,
   205824 INC.                                        PO BOX 18                                                                                                          QUEBRADILLAS        PR           00678

   205865 GONZALEZ VALENTIN, ASHLEY M REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   205881 GONZALEZ VALENTIN, LETICIA  REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                      LUIS DANIEL GONZÁLEZ                                                    MÁXIMA SEGURIDAD A‐5 NÚM.
  1423028 GONZÁLEZ VALENTÍN, LUIS     VALENTÍN                                    PO BOX 10786 INSTITUCIÓN    5015                                                       PONCE               PR           00732

   205892 GONZALEZ VALENTIN, NESTOR J.                REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   205851 GONZALEZ VALLE, EMILIANO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ VARGAS, WILLIAM
  1419939 JOSE                                        WILLIAM MARINI ROMAN        PO BOX 1688                                                                            LARES               PR           00669
          GONZALEZ VAZQUEZ MD,
   205969 ORLANDO                                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   206042 GONZALEZ VAZQUEZ, JUANA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   206109 GONZALEZ VEGA INC                           PO BOX 1275                                                                                                        AGUADA              PR           00602

   206209 GONZALEZ VELAZQUEZ, ARIS D                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   206253 GONZALEZ VELAZQUEZ, RAQUEL                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ VELEZ LAW OFFICE
   206268 PSC                                         PMB 131                     LA CUMBRE                   273 SIERRA MORENA                                          SAN JUAN            PR           00926
   206293 GONZALEZ VELEZ, EDGARDO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   206336 GONZALEZ VELEZ, NORBERTO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   206386 GONZALEZ VIERA MD, LILYBETH                 REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   206409 GONZALEZ VILLAMIL PH, JORGE L REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   206460 González y Martínez           REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                        EDIF.BANCO COOPERATIVO                    623 AVE.PONCE DE LEON
   206462 GONZALEZ Y MORA CSP           PLAZA                                     OFIC.606‐B                                                                             SAN JUAN            PR           00917
   206464 GONZALEZ YANEZ MD, OMAR       REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ ZAMORA MD,
   206471 YOLANDA E                     REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   206498 GONZALEZ, A M                 REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                  URB. ASOMANTE 114 VIA DEL
  1419940 GONZALEZ, ANGEL G.                          MARTIN CORTES IRIZARRY      GUAYABAL                                                                               CAGUAS              PR           00727‐3070



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                                                                                INSTITUCIÓN PONCE PRINCIPAL Q‐ROJA‐129 SECTOR LAS
  1422961 GONZALEZ, CARLOS                            SR. CARLOS GONZÁLEZ       FASE 5                       CUCHARAS 3793 PONCE BY PASS                                PONCE               PR           00728‐1504
                                                                                URB SAN ANTONIO 1939 AVE LAS
  1419941 GONZALEZ, EVELYN                            AMELIA M CINTRON          AMERICAS                                                                                PONCE               PR           00728‐1815
  1419942 GONZALEZ, HECTOR M.                         WENDEL H. MERCADO         119 ESTE PO BOX 59                                                                      MAYAGÜEZ            PR           00681
                                                      FRANCISCO SAN MIGUEL‐
  1419943 GONZALEZ, HOMMY                             FUXENCH                   PO BOX 190406                                                                           SAN JUAN            PR           00919‐0406
   206608 GONZALEZ, OSCAR G.                          REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GONZALEZ, REGINA
   206614 M.ALMESTICA                                 REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1419944 GONZALEZ, WILLIAM                           AMANCIO ARIAS GUARDIOLA   PO BOX 13727                                                                            SAN JUAN            PR           00908‐3727

  1419945 GONZÁLEZ, WILMARIE Y OTROS EDUARDO J. COBIÁN ROIG                     PO BOX 9478                                                                             SAN JUAN            PR           00908‐9478
          GONZALEZ‐NIETO GARCIA BAREA
   661780 & BALZAC                    MCS PLAZA SUITE 1414                      255 AVENIDA PONCE DE LEON                                                               SAN JUAN            PR           00917‐1914
          GONZALEZ‐NIETRO GARCIA
   206673 BAREA & BALZAC              MCS PLAZA SUITE 514                       255 AVENIDA PONCE DE LEON                                                               SAN JUAN            PR           00917
   206680 González‐Santiago, Lillian  REDACTED                                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   206681 González‐Santiago, Zaida    REDACTED                                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   206684 GONZALO A BLASCO            REDACTED                                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661783 GONZALO ANDINO BENITEZ      TRINA PADILLA DE SANZ                     EDIF 1 APT 653                                                                          ARECIBO             PR           00612
   206686 GONZALO APONTE OTERO        REDACTED                                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661784 GONZALO APONTE RIVERA       PO BOX 51693                                                                                                                      TOA ALTA            PR           00950
   661786 GONZALO ARROYO CORTES       PO BOX 1692                                                                                                                       TRUJILLO ALTO       PR           00977
   206687 GONZALO ARZUAGA ROLDAN      REDACTED                                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   206688 GONZALO B SANTIAGO BENITEZ                  REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   206689 GONZALO BURES FERNANDEZ                     REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661788 GONZALO BURES POLO                          URB PURPLE TREE CUPEY     530 JACINTO BENAVENTE                                                                   PONCE               PR           00926

   206690 GONZALO CARDONA IRIZARRY                    REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661789 GONZALO COMBAS CABRERA                      1200 COND VISTA VERDE     APT 318                                                                                 SAN JUAN            PR           00924
   661790 GONZALO COMBAS SANCHO                       PO BOX 362583                                                                                                     SAN JUAN            PR           00936
   661792 GONZALO COTTO DELGADO                       CAGUAX                    CALLE 22 ED 10 APT 19                                                                   CAGUAS              PR           00725
   661793 GONZALO CRUZ LEBRON                         URB SANTA JUANITA         AK 76 CALLE HIDALGO                                                                     BAYAMON             PR           00956
   661794 GONZALO CRUZ REBOYRAS                       HC 07 BOX 33176                                                                                                   HATILLO             PR           00659

   661795 GONZALO DIAGO BETANCOURT                    HATO REY STATION          BOX 1832                                                                                SAN JUAN            PR           00919
   206691 GONZALO E GANDIA FABIAN                     REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   206693 GONZALO F RODRIGUEZ DE LEON REDACTED                                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   206694 GONZALO FABIAN              REDACTED                                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   206695 GONZALO FERRER VISCASILLAS                  REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661781 GONZALO GONZALES PAGAN                      URB ALTAMESA              CALLE SANTA JUANA #1647                                                                 SAN JUAN            PR           00921
          GONZALO GONZALEZ & ASSOC
   206696 INC                                         PO BOX 11850, SUITE 140                                                                                           SAN JUAN            PR           00922‐1850
   206697 GONZALO GONZALEZ CRUZ                       REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661798 GONZALO GONZALEZ LOPEZ                      PARK BOULEVARD            2214 CALLE GEN PATTON                                                                   SAN JUAN            PR           00913
   661799 GONZALO GONZALEZ ROMAN                      P O BOX 195413                                                                                                    SAN JUAN            PR           00919‐5413

   661800 GONZALO GONZALEZ SANTIAGO PO BOX 192983                                                                                                                       SAN JUAN            PR           00919



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          GONZALO IGUINA ABOGADO
   206698 NOTARIO                                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661801 GONZALO IGUINA MELLA                        VISTA AZUL             F8 CALLE 3                                                                           ARECIBO             PR           00612
   661803 GONZALO J ARANIBAR BRAVO                    69 CALLE JAGUAS                                                                                             SAN JUAN            PR           00926
   661804 GONZALO JARA SALAZAR                        URB PUERTO NUEVO 762   CALLE ANDALUCIA                                                                      SAN JUAN            PR           00920

   661805 GONZALO LEBRON SOTOMAYOR                    BAYAMON GARDENS STA    PO BOX 4122                                                                          BAYAMON             PR           00958‐7122
   661806 GONZALO M RODRIGUEZ LAIZ                    1 GUSTAVO LEVY PL      BOX 1263                                                                             NEW YORK            NY           10029
   206699 GONZALO MANDRY ALICEA                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661807 GONZALO MATIAS RIVERA                       P O BOX 4163                                                                                                MAYAGUEZ            PR           00681
   661808 GONZALO MENDEZ RIVERA                       HC 01 BOX 11848                                                                                             SAN SEBASTIAN       PR           00685

   661809 GONZALO MONTALCO MORALES PARC MANI                                 CARR 341 BOX 6426                                                                    MAYAGUEZ            PR           00680
   206700 GONZALO MONTALVO AVILES  REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661810 GONZALO NIEVES NIEVES    RR 11 BOX 5375                                                                                                                 BAYAMON             PR           00956

   206702 GONZALO O GARCIA RODRIGUEZ REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   206703 GONZALO OTERO BRUNO        REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661812 GONZALO RESTO FELICIANO    CALLE 12 H 24 VEVE CALZADA                                                                                                   FAJARDO             PR           00738
   661814 GONZALO RIVERA             COM 804                                 INTERIOR GALATEO CENTRO                                                              TOA ALTA            PR           00953
   661815 GONZALO RIVERA BERMUDEZ    URB LAS LOMAS                           771 CALLE 31 S O                                                                     SAN JUAN            PR           00921
   661816 GONZALO RIVERA RIDRIGUEZ   68 CALLE BALDORIOTY                                                                                                          SABANA GRANDE       PR           00637
   206704 GONZALO ROBLES GERENA      REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   206705 GONZALO RODRIGUEZ FELICIANO REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   206706 GONZALO RODRIGUEZ LOPEZ     REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                      URB UNIVERSITY GARDEN 764
   661817 GONZALO ROSA RIVERA         CALLE DUK                                                                                                                   SAN JUAN            PR           00927
   661819 GONZALO RUIZ COLON          R R 32 BOX 8367                                                                                                             SAN JUAN            PR           00926
   661820 GONZALO SANTANA CORREA      HC 2 BOX 14633                                                                                                              ARECIBO             PR           00612
   661821 GONZALO SANTOS RIVERA       URB LAS LOMAS                          776 CALLE 27 SO                                                                      SAN JUAN            PR           00921
   661822 GONZALO SERVICE STATION     P.O.BOX 208                                                                                                                 CAGUAS              PR           00726
   206707 GONZALO TORRES MORALES      REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   206708 GONZALO TORRES TORRES       REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   206709 GONZALO VARGAS RODRIGUEZ                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   206710 GONZALO VAZQUEZ OTERO                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   661782 GONZALO VELAZQUEZ IRIZARRY BO RIO HONDO                            4 VILLA BENNY                                                                        MAYAGUEZ            PR           00680‐6865
          GONZALO VELAZQUEZ
   661823 MONTALVO                    BO RIO HONDO                           12 CALLE VILLA GRACIA                                                                MAYAGUEZ            PR           00681
          GONZALO ZUBIETA/ PAULA
   206712 ZUBIETA                     REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661824 GONZAY REALTY INC           PO BOX 1161                                                                                                                 CAGUAS              PR           00726
          GOOD CARE & SERVICES HEALTH
   661825 CORPORATION                 PO BOX 29763                                                                                                                SAN JUAN            PR           00929
   661826 GOOD CARE AMBULANCE         P O BOX 194000 STE 293                                                                                                      SAN JUAN            PR           00919
   206716 GOOD CHOICE AIBONITO INC    HC 03 BOX 14966                                                                                                             AGIAS BUENAS        PR           00703

          GOOD CHOICE INC
   661827 /DBA/SUPERMERCADOS ECONO HC 03 BOX 14966                                                                                                                PONCE               PR           00703
                                   C/50 A FINAL BLOQ.7 #8 ROYAL
   206717 GOOD MORNING FOUNDATION TOWN                                                                                                                            BAYAMON             PR           00956



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          GOOD MORNING FOUNDATION                     C/50 A FINAL BLOQUE 7 #8
   206718 CORP                                        ROYAL TOWN                                                                                                        BAYAMON              PR           00956
          GOOD MORNING FOUNDATION                     C/50 A FINAL BLOQUE 7 #8 URB.
   206719 CORP.                                       ROYAL TOWN                                                                                                        BAYAMON              PR           00956
          GOOD MORNING FOUNDATION                     C/50 A BLOQ. 7 URB. ROYAL
   206720 INST.                                       TOWN                                                                                                              BAYAMON              PR           00956

   206721 GOOD MORNING, FOUNDATION REDACTED                                           REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   206727 GOOD PR PRODUCTIONS LLC                     500 SOUTH BUENA VISTA STREET                                                                                      BURBANK              CA           91521
                                                      MEDICAL RECORDS
   206729 GOOD SAMARITAN HOSPITAL                     DEPARTMENT                   PO BOX 1281                                                                          LEBANON              PA           17042
          GOOD SAMARITAN MEDICAL
   206730 CENTER                                      PO BOX 19072                                                                                                      GREEN BAY            WI           54307‐9072

   661831 GOOD SERVICE REFRIGERATION                  PO BOX 954                                                                                                        LUQUILLO             PR           00773
   206731 GOOD TECHNOLOGY INC.                        4250 BURTON DRIVE                                                                                                 SANTA CLARA          CA           95054
                                                      44 CENTRO COMERCIAL VILLAS
   206732 GOOD VISION                                 DE RIO GRANDE                                                                                                     RIO GRANDE           PR           00745
          GOOD VISION INTERNATIONAL,
   206733 INC.                                        CALLE GARRIDO MORALES #15                                                                                         FAJARDO              PR           00730
          GOOD WILL MEDICAL
   661832 EQUIPMENT                                   PO BOX 1495                                                                                                       QUEBRADILLAS         PR           00678
          GOODHEART WILLCOX
   661833 PUBLISHER                                   18604 WEST CREEK DRIVE                                                                                            TINLEY PARK          IL           60477‐6243
   206735 GOODMAN, BILL                               REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   661835 GOODYEAR WESTERN                            PO BOX 29146                                                                                                      SAN JUAN             PR           00929

   206746 GORBEA LANDRON MD, MARIA H REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   661836 GORBEA SAFE & VAULT        PO BOX 194148                                                                                                                      SAN JUAN             PR           00919‐4148
   206752 GORBEA, JOSE               REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GORDIAN RODRIGUEZ, CARLOS
  1419946 M                          LUIS APONTE                                      PO BOX 151                                                                        YABUCOA              PR           00767
   206790 GORDILS AYALA, EDGARDO     REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   206791 GORDILS AYALA, PEDRO       REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   206793 GORDILS CASTRO, JOMAYRA    REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   206805 GORDILS ROSARIO, HECTOR L  REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   661837 GORDO CRANE RENTAL CORP    CIUDAD REAL                                      518 CALLE ANDALUCIA                                                               VEGA BAJA            PR           00693
          GORDO GONZALEZ MD, VICTOR
   206812 M                          REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   206815 GORDON AMSBARY             REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   206821 GORDON MD , HARRY F        REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   206825 GORDON STEWART MARINO      REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   206829 GORETTI TORRES SANCHEZ     REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   661838 GORGE GONZALEZ BARRETO     PO BOX 264                                                                                                                         MANATI               PR           00674
   206843 GORGE L MATOS MEDERO       REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   661839 GORGINA RIVERA SANTOS      BO SANTA BARBARA                                 18 SECT CAMBIJA                                                                   BAYAMON              PR           00961
   206844 GORGONIO AYALA FLORAN      REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   661841 GORIMAR BENITEZ PEREZ      URB METROPOLIS                                   F1‐24 CALLE 4                                                                     CAROLINA             PR           00982
   206847 GORIS BISONO, PEDRO J      REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   661842 GORITZIA CARMONA RODRIGUEZ VILLA CAROLINA                                   10 BLQ 174 CALLE 435                                                              CAROLINA             PR           00985
   206852 GORKA INAQUI MENESES       REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  206882 GOSEN FACILITY HOUSE CORP                    URB ROYAL TOWN                 BLOQUE 7 8 CALLE 50 A                                                                 BAYAMON                PR         00956
  206883 GOSHEM MEDIEVAL CENTER                       1200 HARGETT ST                                                                                                      JACKSONVILLE           NC         28540‐5933
  206986 GOTIAN MD, AMNON                             REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
  661844 GOTIKA IMAGEN ESTILO                         P O BOX 143752                                                                                                       ARECIBO                PR         00614
  206987 GOTITAS DE AMOR INC                          URB COLINAS DEL OESTE          G 5 CALLE 9                                                                           HORMIGUEROS            PR         00662
                                                      CALLE LOLA RODRIGUEZ DE TIO
   206988 GOTITAS DE AMOR INC.                        NUM 3612                                                                                                             PONCE                  PR         00728
   206989 GOTITAS DEL ALMA INC                        URB VALLE VERDE                AS‐2 CALLE RIO PORTUGUES                                                              BAYAMON                PR         00961
          GOURMET CENTER/CORONA
   661845 LOTUS                                       PO BOX 330077                                                                                                        SAN FRANCISCO          CA         94133‐0077
   661846 GOURMET SERVICE                             URB CIUDAD JARDIN III          53 CALLE SAUCE                                                                        TOA ALTA               PR         00953
          GOURMET SERVICE AND                         URB. CIUDAD JARDIN III CALLE
   206997 CATERING, INC.                              SAUCE #53                                                                                                            TOA ALTA               PR         00916‐0000
   206998 GOURMET SERVICES                            CIUDAD JARDIN                  CALLE LLAN LLAN                                                                       TOA ALTA               PR         00953
                                                      AVE. CAMPO RICO #756
   207001 GOURMET TO GO                               COUNTRY CLUB                                                                                                         RIO PIEDRAS            PR         00924

   207002 GOURT 1 INC                 PMB 366 #90 AVE RIO HONDO                                                                                                            BAYAMON                PR         00961‐3105
   207004 GOV JUAN LUIS HOSPITAL      4007 ESTATE DIAMOND RUBY                                                                                                             CHRISTIANSTED          VI         00821
   207006 GOVANNI TORRES BENITEZ      REDACTED                   REDACTED                                       REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   661849 GOVCONNECTION               706 MILFORD ROAD                                                                                                                     MERRIMACK              NH         03054
   207007 GOVCONNECTION, INC.         PO BOX 536477                                                                                                                        PITTSBURGH             PA         15253‐5906
   207008 GOVE CORP                   P O BOX 4003 PMB 122                                                                                                                 MOCA                   PR         00676
   661850 GOVEO AND SONS INC          P O BOX 6467                                                                                                                         BAYAMON                PR         00960
          GOVERMENT DATA PUBLICATION
   661852 INC                         1155 CONNECTICUT AVE NW                                                                                                              WASHINGTON             DC         20036
   661853 GOVERMENT INSTITUTES        4 RESEARCH PL STE 200                                                                                                                ROCKVILLE              MD         20850
          GOVERNMENT ACCOUNTING
   207021 STANDARD                    P.O. BOX 30784                                                                                                                       HARTFORD               CT         06150
          GOVERNMENT CAPITAL          CRESTWOOD 1200 WALNUT HILL
   661854 CORPORATION                 LANE                                                                                                                                 SUITE 3400, IRVING     TX         75038
          GOVERNMENT CONSULTING
   207022 GROUP                       121 AVE DE DIEGO                                                                                                                     SAN JUAN               PR         00927
          GOVERNMENT DEVELOPMENT
   207023 BANK                        POX 21414 C/O ASSMCA                                                                                                                 San Juan               PR         00928‐0000
          GOVERNMENT FINANCE OFFICER
   207024 ASSO                        203 N. LaSALLE STREET      SUITE 2700                                                                                                CHICAGO                IL         60601
          GOVERNMENT INF. SYSTEMS
   661857 INC.                        HATO REY                   654 AVE MUNOZ RIVERA                                                                                      SAN JUAN               PR         00918
          GOVERNMENT INFORMATION
   661858 SERVICE                     4301 FAIRFAX DR STE 875                                                                                                              ARLINGTON              VA         22203
          GOVERNMENT INSTITUTES A DIV
   661860 OF ABS GROUP                4 RESEARCH PLACE SUITE 200                                                                                                           ROCKVILLE              TX         20850‐3226
   661861 GOVERNMENT LEASING CORP     PO BOX 70268                                                                                                                         SAN JUAN               PR         00936
          Government Security Guards
   207025 Association                 Flores, Wanda              RR 01 Box 16001                                                                                           Toa Alta               PR         00953
   661864 GOVERNMENT SYSTEMS INC      985 OLD EAGLE RD SCHOOL    7131 SUITE 506                                                                                            WAYNE                  PA         19087 0000

   661865 GOVERNMENTAL ACCOUNTING                     PO BOX 30816                                                                                                         HARTFORD               CT         06150
   207026 GOVI CORP                                   PO BOX 29618                                                                                                         SAN JUAN               PR         00929
   661867 GOVIND S NADATHUR                           PO BOX 1665                                                                                                          LAJAS                  PR         00667
   661868 GOYA DE PUERTO RICO INC                     PO BOX 60‐1467                                                                                                       BAYAMON                PR         00619‐6067




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   207038 GOYCO CORREA MD, EDWIN D   REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1419947 GOYCO CORTÉS, JAVIER JOSÉ  OSVALDO BURGOS PÉREZ                    PO BOX 194211                                                                            SAN JUAN            PR           00919‐4211
   661870 GOYCO RODRIGUEZ NUNEZ      URB GARDENIA                            6 CALLE ROSA                                                                             MANATI              PR           00674
   207061 GOYCO VELEZ MD, PEDRO      REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207112 GP FAMILY CARE             157 MONTAUK AVE                                                                                                                  NEW LONDON          CT           06320
   661871 GP INDUSTRIES INC          P O BOX 363302                                                                                                                   SAN JUAN            PR           00936
   661873 GP REALTY SAN JUAN INC     PO BOX 9024076                                                                                                                   SAN JUAN            PR           00902‐4076
   207114 GPC CARIBBEAN INC          URB MIRADERO                            6 CAMINO DEL MIRADERO                                                                    HUMACAO             PR           00791
   207115 GPH MOTOR CORP             PO BOX 29468                                                                                                                     SAN JUAN            PR           00929‐0468
          GPI GENERAL PROCUREMENT OF
   207116 PR INC                     URB PUERTO NUEVO                        511 AVE ANDALUCIA SUITE 1 A                                                              SAN JUAN            PR           00920‐4132
          GPY ELECTRIC & CONTRACTORS
   207118 CORP.                      RR 1 BOX 12162                                                                                                                   MANATI              PR           00674
   207121 GR OFFICE SERVICES         2165 TNTE LAVERGNE ST                                                                                                            SAN JUAN            PR           00913
   661874 GR OFFICE SERVICES INC     2165 TNTE LAVERGNE                                                                                                               SAN JUAN            PR           00913
   661875 GRABADOS EL TAINO /        LUIS A ROMAN                            151 CALLE VILLA                                                                          PONCE               PR           00731
   661876 GRABADOS EXPOSE            URB BARALT                              I 7 AVE PRINCIPAL                                                                        FAJARDO             PR           00738
   206992 GRABIEL RODRIGUEZ ANAYA    REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661878 GRACE AYALA                PO BOX 50063                                                                                                                     SAN JUAN            PR           00902
   207125 GRACE AYALA CASTRO         REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207126 GRACE BENITEZ ORTIZ        REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207127 GRACE BLANCO ROSARIO       REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207129 GRACE CEDENO LOPEZ         REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661879 GRACE COLON JIMENEZ        HC 01 BOX 4508                                                                                                                   YABUCOA             PR           00767
   661880 GRACE D RODRIGUEZ SIERRA   RIO CRISTA ENCANTADA                    RD 4 PLAZA 3                                                                             TRUJILLO ALTO       PR           00976
   661881 GRACE DE LA VEGA CASTRO    TORRES DE CAROLINA                      EDIFICIO B‐303                                                                           CAROLINA            PR           00979

   661883 GRACE E MEGUINOFF ANDREU                    PO BOX 90207‐61                                                                                                 SAN JUAN            PR           00902‐0761
   661884 GRACE E SILVA MONTALVO                      BOX 1054                                                                                                        SAN GERMAN          PR           00683
   661885 GRACE ESQUILIN MENDEZ                       HC 06 BOX 2124                                                                                                  PONCE               PR           00731‐9611

   661886 GRACE FELICIANO RODRIGUEZ                   ESTANCIA DEL SOL       27 CALLE ALMENDRO                                                                        RIO GRANDE          PR           00745
   661887 GRACE FERMAINT DIAZ                         RES SAN MARTIN         EDIF 17 APT 197                                                                          SAN JUAN            PR           00924
          GRACE FONTECHA Y ASOCIADOS
   207132 INC                                         RIO HONDO III          CE‐25 CALLE EUCALIPTO                                                                    BAYAMON             PR           00961
   207133 GRACE GOMEZ DEL VALLE                       REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207134 GRACE GONZALEZ CORTES                       REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   207136 GRACE IRIZARRY ZALDUONDO                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207137 GRACE J LORAN PINEIRO                       REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207138 GRACE J LUCCA CORTEZ                        REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661890 GRACE L BLANDINO OLIVERA                    URB EL MIRADOR         G 8 CALLE 8                                                                              SAN JUAN            PR           00926‐7577
   207140 GRACE L. TORRES ROBLES                      REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661891 GRACE LEBRON PEREZ                          CARR 914 KM 47.6       BO JAGUAS                                                                                GURABO              PR           00778
   207141 GRACE LUGO MARQUEZ                          REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   207142 GRACE M ARROYO RODRIGUEZ                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207143 GRACE M CARRION LEBRON                      REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207144 GRACE M CEDENO LOPEZ                        REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207146 GRACE M CORREA RIVERA                       REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207147 GRACE M DE JESUS PENA                       REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207148 GRACE M DELBREY TORRES                      REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  207149 GRACE M GOMEZ TORRES                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  661892 GRACE M GONZALEZ RAMOS                       URB VILLA PINANES        339 CALLE PASEO CIPRES                                                                   VEGA BAJA          PR         00693
  207150 GRACE M LOPEZ SOSA                           REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  661893 GRACE M MATOS CROSAS                         HC‐03 BOX 16040                                                                                                   AGUA BUENAS        PR         00703
  661895 GRACE M MEJIAS OTERO                         URB BUNKER               194 CALLE BRASIL                                                                         CAGUAS             PR         00725
  207152 GRACE M MORALES PELLOT                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  661897 GRACE M NOVEL LAMBERTY                       EXT OLLER                D11 CALLE 4                                                                              BAYAMON            PR         00956
  207153 GRACE M PERDOMO PILLOT                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  207154 GRACE M RIVERA CALDERAS                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  207155 GRACE M RIVERA MARTINEZ                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   207156 GRACE M RODRIGUEZ QUINONES REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   207157 GRACE M ROSADO PEREZ       REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   207158 GRACE M SANCHEZ PENA       REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   207159 GRACE M SANCHEZ VEGA       REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          GRACE M SANDOVAL
   207160 RODRIGUEZ                  REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   207161 GRACE M SANTANA BALADO     REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   207162 GRACE M VAZQUEZ DEL ORBE                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   207163 GRACE M VAZQUEZ VIANA                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   207164 GRACE M VEGA SANTANA                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   661898 GRACE M. DIAZ PASTRANA                      URB EL VEDADO            129 CALLE RODRIGO DE TRIANA                                                              SAN JUAN           PR         00918

   207167 GRACE M. GONZALEZ MENDEZ                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   207168 GRACE M. VAZQUEZ SANTIAGO                   REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   207169 GRACE M. VIVALDI ARROYO                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   207170 GRACE MARIE RIVERA                          REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   661900 GRACE MARINI ROMAN                          6 E CALLE MOREL CAMPOS                                                                                            MAYAGUEZ           PR         00680
   207171 GRACE MONTALVO                              REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   661902 GRACE MORALES PAGAN                         CAMINO LA CUCHILLA       BZN 1137 CARR 348                                                                        MAYAGUEZ           PR         00680
   661904 GRACE N FUENTES DIAZ                        URB RIVERVIEW F5         CALLE 7                                                                                  BAYAMON            PR         00961
   207172 GRACE P CASANOVA CASTRO                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   207173 GRACE PALMER QUINONES                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   207176 GRACE QUINTANA FUENTES                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   661906 GRACE R CORDOLIANI FREYRE                   URB VALLE REAL           1762 CALLE MARQUESA                                                                      PONCE              PR         00719
   207177 GRACE RAI                                   REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   207178 GRACE RAMIREZ MARTI                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   207179 GRACE RIVERA DONES MACJ                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      RES JARDINES DE MONTE
   661908 GRACE RODRIGUEZ RODRIGUEZ                   HATILLO                  EDIF 48 APT 505                                                                          SAN JUAN           PR         00924
   661909 GRACE RUIZ COTTO                            URB VILLA VICTORIA       B 10 CALLE 1                                                                             CAGUAS             PR         00725
   661910 GRACE RULLAN                                PRADO ALTO               B 13 CALLE 5                                                                             GUAYNABO           PR         00966
   207180 GRACE SWEENEY BRACERO                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   207181 GRACE VAZQUEZ ACEVEDO                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   661911 GRACE VAZQUEZ PEREIRA                       URB DOS PINOS            788 CALLE DIANA                                                                          SAN JUAN           PR         00923
   207182 GRACE VELEZ NATALI                          REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   661912 GRACELA BASORA DE GARCIA                    EXT LA RAMBLA            1743 SIERVAS DE MARIA                                                                    PONCE              PR         00730‐4065
   661913 GRACELYN RIVERA SANTANA                     ESTANCIAS LA SIERRA      3 D 45                                                                                   CAGUAS             PR         00725




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   207184 GRACEMARIE HERNANDEZ VELEZ REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GRACEMARIE VELAZQUEZ
   207185 MELENDEZ                   REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   207186 GRACENALYS SANCHEZ GARCIA                   REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661914 GRACIA & MARIN CORP                         P O BOX 29227                                                                                                  SAN JUAN            PR           00929‐0227

   207190 GRACIA ALVAREZ MD, ANABELLE REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207239 GRACIA I. ARCELAY LOPEZ     REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207241 GRACIA L ROMAN VALENTIN     REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207246 GRACIA M BERRIOS CABAN      REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   207247 GRACIA M GARCIA CARABALLO                   REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GRACIA M SANCHEZ DE LA
   207249 TORRE                                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661915 GRACIA M VELEZ UGARTE                       JARD DE COUNTRY CLUB     D A8 CALLE 165                                                                        CAROLINA            PR           00983
  1419948 GRACIA RIVERA, DAINA                        CARLOS RODRÍGUEZ MARÍN   PO BOX 8052                                                                           BAYAMÓN             PR           00960‐8052

   207324 GRACIANA ACEVEDO CARDONA                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GRACIANA HERNANDEZ
   661919 ITURREGUI                                   URB LA ALHAMBRA          2414 C/ DE DIEGO                                                                      PONCE               PR           00716‐3832

   207325 GRACIANI BETANCOURT PEREZ                   REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   207340 GRACIANI MARRERO PEDROSA                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207353 GRACIANO LOPEZ                              REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661922 GRACIANO LUGO CABAN                         RR 02 BUZON 3075                                                                                               ANASCO              PR           00610
   207354 GRACIANO NIEVES CRESPO                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   207355 GRACIANO NIEVES MALDONADO REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   207359 GRACIANO SANTOS GONZALEZ                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661924 GRACIAS A TI FLORISTERIA                    PO BOX 192808                                                                                                  SAN JUAN            PR           00919‐2808
   207361 GRACIAS AMBULANCE                           P.O. BOX 795                                                                                                   HORMIGUEROS         PR           00660‐0795
   207364 GRACIE SQUARE HOSPITAL                      420 E 76TH ST                                                                                                  NEW YORK            NY           10021
   661928 GRACIELA ALICEA CRUZ                        BO ZANJAS                                                                                                      CAMUY               PR           00627‐9101
   661929 GRACIELA C LODEIRO RIVERO                   URB LAS AMERICAS         803 MONTEVIDEO                                                                        SAN JUAN            PR           00921
   661930 GRACIELA CALO DELGADO                       URB METROPOLIS 2M56      CALLE 56 3RA EXTENSION                                                                CAROLINA            PR           00987

   661931 GRACIELA CARRASQUILLO RVERA URB MANSIONES DE CAROLINA                NN 41 CALLE 58                                                                        CAROLINA            PR           00987
   207365 GRACIELA CRESPO PENA        REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661933 GRACIELA CRUZ CORTEZ        P O BOX 867                                                                                                                    MANATI              PR           00674
   207366 GRACIELA CRUZ GARCIA        REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207367 GRACIELA CRUZ MARCUCCI      REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   661934 GRACIELA DE LOS REYES FREIXAS URB MONTE OLIMPO                       A 3 CALLE ACROPOLIS                                                                   GUAYNABO            PR           00969

   207368 GRACIELA DEL VALLE GONZALEZ                 REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207369 GRACIELA DIAZ                               REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661935 GRACIELA DIAZ CRUZ                          BO TORTUGO               KM 19 5 INTERSECCION 873                                                              SAN JUAN            PR           00926
   207370 GRACIELA DIAZ MARQUEZ                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207371 GRACIELA DIAZ ROSADO                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  207372 GRACIELA E. MARRERO                          REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   661936 GRACIELA FLORES RODRIGUEZ                   RES ZENO GANDIA         EDIF A 4 APT 72                                                                      ARECIBO             PR         00612
   661940 GRACIELA JIMENEZ SANTIAGO                   RES PUERTA DE TIERRA    EDIF M APT 374                                                                       SAN JUAN            PR         00901
   661941 GRACIELA JOSEFINA DIXON                     473 BALBOA ANCON                                                                                                                                         PANAMA

   661942 GRACIELA L ARBUTTI CARROLL                  COND LAGUNA GARDENS     APT 4 K                                                                              CAROLINA            PR         00979

   207373 GRACIELA M CANTO DE SALCEDO REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661943 GRACIELA M DEYA MARTELL     RIO HONDO I                             D69 CALLE RIO CIALITOS                                                               BAYAMON             PR         00961

   661926 GRACIELA M GALARZA PACHECO REPARTO ESPERANZA                        M 10 CALLE 4                                                                         YAUCO               PR         00698
          GRACIELA M GOICOECHEA
   207374 LAMOUTTE                   REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661945 GRACIELA M LEIJA MARTINEZ  FORESTVIEW                               I 14 CALLE FRESNO                                                                    BAYAMON             PR         00956

   207375 GRACIELA M MARGOLLA COLL                    REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661946 GRACIELA MARRERO GERENA                     HC 3 BOX 10272                                                                                               CAMUY               PR         00627
   661947 GRACIELA MARTINEZ                           PO BOX 797                                                                                                   ADJUNTAS            PR         00601
   661949 GRACIELA MENDEZ DALMAU                      HC 05 BOX 2373                                                                                               MAYAGUEZ            PR         00680
   661950 GRACIELA MERCADO                            B 20 BELLA VISTA                                                                                             UTUADO              PR         00641
   207376 GRACIELA MONTALVO LOPEZ                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661951 GRACIELA ORTIZ PAGAN                        123 CALLE LAS PALOMAS                                                                                        SAN JUAN            PR         00911
   207377 GRACIELA PERELES FALU                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   207378 GRACIELA PEREZ ROLON                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   207379 GRACIELA PEROZA CARILLO                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   207380 GRACIELA PLAUD SANCHEZ                      REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   207382 GRACIELA QUINONES ORTIZ                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661952 GRACIELA RIOS VALENTIN                      URB PUNTO ORO I 7       CALLE 8                                                                              PONCE               PR         00731
   207383 GRACIELA RIVERA DE LEON                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   207384 GRACIELA RIVERA DE QUINONEZ REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GRACIELA RODRIGUEZ
   661953 CANUELAS                    D 7 URB CAMPO REY                                                                                                            AIBONITO            PR         00705

   207385 GRACIELA RODRIGUEZ LUCRET                   REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   661954 GRACIELA RODRIGUEZ MARTINO URB OCEAN PARK                           52 CALE SOLDADO SERRANO                                                              SAN JUAN            PR         00911
   661955 GRACIELA RODRIGUEZ PAGAN   HC 02 BOX 6917                                                                                                                FLORIDA             PR         00650
   661956 GRACIELA ROSA CONCEPCION   A 102 COND BAHIA                                                                                                              SAN JUAN            PR         00907
   207386 GRACIELA ROSARIO RAMOS     REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661958 GRACIELA SANABRIA SOTO     HC 1 BOX 11040                                                                                                                TOA BAJA            PR         00949
   661927 GRACIELA SANCHEZ NADAL     BO LA CUARTA 92                          CALLE PRINCIPAL                                                                      MERCEDITA           PR         00715

   207387 GRACIELA SANTIAGO GONZALEZ                  REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661959 GRACIELA SANTIAGO ROLON                     PO BOX 739                                                                                                   AIBONITO            PR         00705
   207388 GRACIELA SANTIAGO VEGA                      REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GRACIELA SERRANO
   661960 FRANCHESCHI                                 P O BOX 536                                                                                                  ANGELES             PR         00611
   661961 GRACIELA SHELL                              PO BOX 1148                                                                                                  JUNCOS              PR         00777
   661962 GRACIELA SUAREZ RIVERA                      HC 1 BOX 4638                                                                                                COROZAL             PR         00783‐9610
   207391 GRACIELA TORRES FIGUEROA                    REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661963 GRACIELA TORRES PACHECO                     P O BOX 39                                                                                                   LUQUILLO            PR         00773



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   661965 GRACIELA VALCARCEL MULERO                    PO BOX 2467                                                                                                    GUAYNABO            PR           00970
          GRACIELA VAZQUEZ
   207392 LAGOMARSINI                                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661966 GRACIELA VAZQUEZ RIVERA                      URB LAS MONJITAS             336 CALLE NOVICIA                                                                 PONCE               PR           00731
   207393 GRACIELA VEGA BOSCANA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207394 GRACIELA VELEZ RAMIREZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207395 GRACIELA VILLEGAS M                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661967 GRACIELI VILLEGAS OCASIO                     RR 3 BOX 3634                                                                                                  SAN JUAN            PR           00928
   207396 GRACIELYS MORA NIN                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GRACILIANA RODRIGUEZ
   207397 GONZALEZ                                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   207398 GRACILIANO ODIOTT GUTIERREZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   661970 GRACILIANO RIVERA COLLAZO                    URB LA VEGA                  1333 CALLE 3                                                                      VILLALBA            PR           00766
          GRACILLIANA MARTINEZ
   661971 MERCADO                                      CALLE ALGAVER 363            EMBALSE SAN JOSE                                                                  RIO PIEDRAS         PR           00923

   207399 GRACIRIS Y ESTRADA RODRIGUEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207400 GRACY ROLDAN RODRIGUEZ       REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207401 GRADUATE SCHOOL USA          600 MARYLAND AVENUE,                         SW, rOOM 180                                                                      WASHINGTON          DC           20024
   661972 GRADUATE SCHOOL USDA         600 MARYLAND AVE SW                                                                                                            WASHINGTON          DC           20024
   661973 GRADUITON PRODUCTS           BOX 373038                                                                                                                     CAYEY               PR           00737‐3038
   207402 GRADY MEMORIAL HOSPITAL      PO BOX 409822                                                                                                                  ATLANTA             GA           30384‐9822

   207425 GRAFALS VILLANUEVA, OMAYRA REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   661975 GRAFHICS SUPPLY INC.       223 ELEONOR ROOSEVELT                                                                                                            HATO REY            PR           00919

   207426 GRAFICA                                      504 CALLE FERNANDO CALDER                                                                                      SAN JUAN            PR           00918‐2753
   661977 GRAFICA 03                                   504 FERNANDO CALDER                                                                                            SAN JUAN            PR           00918
   661978 GRAFICA METROPOLITANA                        PO BOX 9023129                                                                                                 SAN JUAN            PR           00902‐3129
                                                       AVE LAS PALMAS 951 ESQ
   207427 GRAFICENTRO                                  HOARE PDA 14                                                                                                   MIRAMAR             PR           00907
          GRAFICO DBA JUAN A SILVA
   661980 RIVERA                                       P O BOX 291                                                                                                    VIEQUES             PR           00765
   207428 GRAFICOM                                     P O BOX 9206                                                                                                   SAN JUAN            PR           00908‐0206
   661981 GRAFICOM INC                                 PO BOX 9206                                                                                                    SAN JUAN            PR           00908‐0206

   661982 GRAFICOS INC P T                             P M B 211 CENTRO 1 LOCAL15   500 MUNOZ RIVERA AVE                                                              SAN JUAN            PR           00918‐3311
   207429 Graficos Shakti, Inc.                        Po Box 6331                                                                                                    Mayaguez            PR           00681
   207430 GRAFIK ARTE                                  BO HATO ARRIBA               490 CARR 129 INT                                                                  ARECIBO             PR           00612

   207431 GRAFOR, INC.                                 1360 CASTELLANA, LA RAMBLA                                                                                     PONCE               PR           00730‐4054
   661983 GRAHAM A CASTILLO                            PO BOX 29156                                                                                                   SAN JUAN            PR           00929

   207444 GRAHAM UROLOGICAL CENTER                     MEDICAL RECORDS              35 CASTLE COAKLEY      STE 5                                                      CHRISTIANSTED       VI           00820
   661984 GRAHAM WICKENS                               LA INMACULADA PLAZA 2        APT 2307                                                                          SAN JUAN            PR           00909
   207446 GRAICY ROSADO MENDEZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207447 GRAINGER                                     AVE LOS CONQUISTADORES                                                                                         CATANO              PR           00962
                                                       BOX 105 AVE LOS
   207448 GRAINGER CARIBE                              CONQUISTADORES                                                                                                 CATANO              PR           00962
   207449 GRAINGER CARIBE CO                           105 AVE CONQUISTADORES                                                                                         CATAÐO              PR           00962‐6774



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 1256530 GRAINGER CARIBE INC                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         GRAINGER INDUSTRIAL SEC SOC
  207455 INC                                          2 AVE MARTINEZ NADAL                                                                                                GUAYNABO            PR         00968‐0000
  207488 GRAJALES LOPEZ, HILDA                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  207491 GRAJALES MD, BENJAMIN                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         GRAJALES NIGLIAGLONI,
 1419949 JOSEFINA Y OTROS                             650 PLAZA SUITE 204           AVE MUÑOZ RIVERA                                                                      SAN JUAN            PR         00918
  207530 GRALDINE A VIDAL COVAS                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  661985 GRAMA MIA                                    PO BOX 30286                                                                                                        PONCE               PR         00734‐0286
  661986 GRAMA TECH 2000                              PO BOX 652                                                                                                          LAS PIEDRAS         PR         00771
  661987 GRAMA Y PLANTAS NATIVA                       PO BOX 1035                                                                                                         GUANICA             PR         00653
  661988 GRAMAS DE BORIQUEN INC                       RR 142 BOX 908                                                                                                      CAGUAS              PR         00725
  207532 GRAMAS DEL VALLE                             PO BOX 353                                                                                                          ANASCO              PR         00610
  207533 GRAMAS LINDAS SE                             PO BOX 190476                                                                                                       SAN JUAN            PR         00919‐0476

   661990 GRAMCO DEVELOPMENT                          CARR 167 KM 16 2 OF           ADM BAYAMON COUNTRY CLUB                                                              BAYAMON             PR         00957
   207534 GRAMEEN PUERTO RICO LLC                     1500 AVE. PONCE DE LEON       PDA. 22 BUILDING                                                                      SAN JUAN            PR         00909

   661991 GRAMELIA HERNANDEZ LOPEZ                    P O BOX 474                                                                                                         CAYEY               PR         00736
   207535 GRAMIE RULLAN MELENDEZ                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   207536 GRAMIED RIVERA ROMAN                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661992 GRAN AIRPORT SERVICES INC                   PO BOX 3338                                                                                                         CAROLINA            PR         00984
   661993 GRAN AUTO PARTS                             P O BOX 786                                                                                                         BAYAMON             PR         00960

   207537 GRAN CENTRAL AUTO SALES INC P O BOX 2500                                                                                                                        TOA BAJA            PR         00951‐2500
   661994 GRAN ENCICLOPEDIA DE P.R.   PO BOX 22291                                                                                                                        SAN JUAN            PR         00931
   661995 GRAN FEMENINA IV INC        PO BOX 7367                                                                                                                         SAN JUAN            PR         00916‐7367

   207517 GRAN LOGIA SOBERANA DE PR                   PO BOX 6088                                                                                                         AGUADILLA           PR         00604

   207538 GRAN MELIA RESORT                           URB COCO BEACH 200 CARR 968                                                                                         RIO GRANDE          PR         00745‐4660
          GRAN POWER GENERAL
   207539 CONSTRUCTION                                P O BOX 334012                                                                                                      PONCE               PR         00733
   661996 GRAN VISTA INC                              PO BOX 1274                                                                                                         GURABO              PR         00778
          GRANADOS GONZALEZ MD,
   207562 PEDRO                                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   661997 GRAND AUTO PARTS                            PO BOX 786                                                                                                          BAYAMON             PR         00960
   661998 GRAND CORSAIR                               PO BOX 867                                                                                                          CABO ROJO           PR         00623
   661999 GRAND CORSAIR MFG                           PO BOX 867                                                                                                          CABO ROJO           PR         00623
   207568 GRAND CUISINE                               PO BOX 10803                                                                                                        SAN JUAN            PR         00922
          GRAND NEW OFFICE INDUSTRY
   207570 INC                                         PO BOX 3060                                                                                                         CAROLINA            PR         00984
          GRAND POWER GENERAL
   207571 CONSTRUCTION CORP.                          CALLE 12 DE OCTUBRE # 48                                                                                            PONCE               PR         00731‐0000
   207572 GRAND RIVER HEALTH                          501 AIRPORT RD                                                                                                      RIFLE               CO         81650
   662001 GRAND STORE                                 167 CALLE DE DIEGO                                                                                                  SAN JUAN            PR         00925
          GRAND STRAND SPINE AND
   207573 NEURO CTR                                   MEDICAL RECORDS               8170 ROURK STREET                                                                     MYRTLE BEACH        SC         29572
   207574 GRAND VIEW HOSPITAL                         7000 LAWN AVE                                                                                                       SELLERSVILLE        PA         18960‐1576

   207587 GRANELL RODRIGUEZ, GLORIA                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662002 GRANERO INC                                 PUERTO NUEVO                  264 AVE DE DIEGO                                                                      SAN JUAN            PR         00920
   207600 GRANIELLY E FELIZ SAGRANEZ                  REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  662004 GRANITE STONE DESIGN                         PO BOX 2518                                                                                                    BAYAMON           PR           00960
  662005 GRANJA ASOMANTE                              P O BOX 444                                                                                                    AIBONITO          PR           00705
  207602 GRANJA AVICOLA COLON                         PO BOX 188                                                                                                     AIBONITO          PR           00612
  662006 GRANJA AVICOLA LA FAMILIA                    CEDRO ARRIBA                 CARR 802 KM 5 7                                                                   NARANJITO         PR           00719

   207603 GRANJA AVICOLA PUJOLS CORP                  P O BOX 2916                                                                                                   SAN SEBASTIAN     PR           00685
   662007 GRANJA BETANCOURT                           PMB 499 P O BOX 20000                                                                                          CANOVANAS         PR           00729
   662008 GRANJA LA ESPERANZA                         PO BOX 337                                                                                                     CAMUY             PR           00627
   662009 GRANJA LOS CAOBOS INC                       CHALETS DE BAYAMON           APT 1911                                                                          BAYAMON           PR           00960

   662010 GRANJA Y CARNICERIA FAVORITA 110 CALLE DR LOPEZ                                                                                                            FAJARDO           PR           00738
   662011 GRANJA Y JARDIN LA FAMILIA   HC 03 BOX 9016                                                                                                                BARRANQUITAS      PR           00794
   662012 GRANO SLAM                   W 22 BT 25 GLENVIEW                                                                                                           PONCE             PR           00730‐1656
   662013 GRANOSA CORP.                PO BOX 11433                                                                                                                  SAN JUAN          PR           00922
          GRANT MANAGEMENT
   662014 CONSULTANTS INC              EDIF JULIO BOGORIAN SUITE L 05 1606 AVE PONCE DE LEON                                                                         SAN JUAN          PR           00909
   207614 GRANT MD, CATHAL             REDACTED                       REDACTED                            REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   207619 GRAPE CORPORATION            P O BOX 70171 PMB 351                                                                                                         SAN JUAN          PR           00936‐8171
   662016 GRAPHCO SIGN INC             P O BOX 900                                                                                                                   BAYAMON           PR           00960

   662017 GRAPHI CREATIONS                            1616 AVE FERNANDEZ JUNCOS    PARADA 24                                                                         SAN JUAN          PR           00909
   662018 GRAPHIC ARTS INC                            1357 AVE ASHFORD SUITE 351                                                                                     SAN JUAN          PR           00907
   207620 GRAPHIC ARTTIZ                              VILLA TURABO                 G 15 CALLE FLAMBOYAN                                                              CAGUAS            PR           00725
   662019 GRAPHIC CENTER                              1133 PADRE CAPUCHINO                                                                                           SAN JUAN          PR           00925
   662020 GRAPHIC CHEMICAL & INK CO                   URB FLORAL PARK              1 CALLE JAMAICA                                                                   SAN JUAN          PR           00917‐3430
          GRAPHIC FORMS INDUSTRIES
   662022 CORP.                                       PO BOX 191793                                                                                                  SAN JUAN          PR           00919‐1793
   662024 GRAPHIC ONE                                 PO BOX 11491                                                                                                   SAN JUAN          PR           00922
                                                      PMB 325 35 JUAN C DE BORBON
   207621 GRAPHIC PRINTING & DESIGN                   67                                                                                                             GUAYNABO          PR           00969
   207622 GRAPHICS ART PRINTING INC                   LAS LOMAS                   856 CALLE 31 SO                                                                    SAN JUAN          PR           00921
                                                      76 URB ESTANCIAS DE
   207623 GRAPHITEK                                   PUMAREJO                                                                                                       COROZAL           PR           00783
   662025 GRAS SERVICE STATION                        BO LIRIOS                   CARR 929 KM 0 3                                                                    JUNCOS            PR           00777
   662027 GRASEBY / ANDERSEN                          500 TECHNOLOGY COURT                                                                                           SMYRNA            GA           30082‐5211
   662029 GRASON STADLER INC                          1 WESTCHESTER DRIVE                                                                                            MILFORD           NH           03055‐3056
          GRASSETTE MELENDEZ MD,
   207624 WILLIAM                     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   662030 GRAU ADVERTISING INC        PO BOX 363421                                                                                                                  SAN JUAN          PR           00936‐3421
  1419950 GRAU GRAU, MARIA IVETTE     NYDIA GONZALEZ ORTIZ                         11 CALLE BETANCES                                                                 YAUCO             PR           00698
   207665 GRAU PABON MD, IRIS         REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   207705 GRAULAU RODRÍGUEZ JOSUÉ     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          GRAVERO & FERRETERIA NALES,
   207713 INC.                        Hc 01 Box 8728                                                                                                                 VIEQUES           PR           00765
   662031 GRAVERO BARRANCAS           HC 2 BOX 6550                                                                                                                  BARRANQUITAS      PR           00794
   662032 GRAVERO DEL CENTRO          P O BOX 10000 SUITE 329                                                                                                        CAYEY             PR           00737
   662033 GRAVERO DONATO              PO BOX 487                                                                                                                     YABUCOA           PR           00767
  1419951 GRAVERO DONATO, INC.        JOSE R. GONZALEZ RIVERA                      PO BOX 10242                                                                      HUMACAO           PR           00792
          GRAVERO INVERSIONES DEL TOA
   207715 INC                         PO BOX 2435                                                                                                                    BAYAMON           PR           00960
   662034 GRAVERO VAZQUEZ INC         PO BOX 1327                                                                                                                    ARECIBO           PR           00613‐1327
          GRAVERO Y FERRETERIA
   662035 VILLEGAS                    PO BOX 870                                                                                                                     YABUCOA           PR           00767



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  207717 GRAVIC, INC                                  17 GENERAL WARREN BLVD                                                                                                   MALVERN              PA           19355

   207718 GRAVOGRAPH NEW HERMES                       A 16 COND VILLAS ISLA VERDE                                                                                              CAROLINA             PR           00979
   207722 GRAY BAR INT`L                              GPO BOX 366261                                                                                                           SAN JUAN             PR           00936‐6261
   207684 GRAY MD, MARLENE                            REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
                                                                                    LMM Airport (Cargo Area) Base
   831385 Graybar Electric Corp.                      Besthree Bldg. Lot A          Muñíz                                                                                      Carolina             PR           00979
   207724 GRAYBAR INTERNATIONAL                       FINANCIAL REPORTING           34 N MERAMEC AVENUE                                                                        CLAYTON              MO           63105

   662036 GRAYBAR INTERNATIONAL P R                   PO BOX 366261                                                                                                            SAN JUAN             PR           00936‐6261
   207725 GRAYLLIE FLORES RONDON                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   207726 GRAYS AYALA CASTRO                          REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   662037 GRAZIELA FUENTES                            HC 9 BOX 3311                                                                                                            SABANA GRANDE        PR           00637
   662038 GRAZIELLA AGOSTO LEDUC                      COND LA VILLA GARDEN          APT 1124                                                                                   GUAYNABO             PR           00971‐9009
   662039 GREAD M DIAZ ORTIZ                          HC‐01 BOX 7113                                                                                                           BARRANQUITAS         PR           00794
          GREAT AMERICAN INSURANCE
   207738 COMPANY                                     PO BOX 2575                                                                                                              CINCINNATI           OH           42501‐2575
          GREAT AMERICAN LIFE
   207739 ASSURANCE                                   PO BOX 363786                                                                                                            SAN JUAN             PR           00936‐3786
          GREAT AMERICAN LIFE
   662040 ASSURANCE CO. OF PR                         PO BOX 363786                                                                                                            SAN JUAN             PR           00936‐3786
          GREAT AMERICAN LIFE
   207740 INSURANCE COMPANY                           PO BOX 5420                                                                                                              CINCINNATI           OH           45201‐5420
   662041 GREAT BAY CO OF PR                          P O BOX 29682                                                                                                            SAN JUAN             PR           00929‐0682
          GREAT CARIBBEAN INVESTMENT
   662043 INC                                         PONCE MALL OFFICE             2475 PONCE BY PASS SUITE 190                                                               PONCE                PR           00731‐6294
          GREAT CARIBBEAN
   207741 INVESTMENTS                                 PO BOX 195196                                                                                                            SAN JUAN             PR           00919‐5196
          GREAT EDUCATIONAL SERVICES,
   207742 CORP.                                       AVE PINERO 1580                                                                                                          SAN JUAN             PR           00922
                                                      PMB 285 JUAN CARLOS DE
   662044 GREAT LAKES                                 BORBON                        SUITE 67                                                                                   GUAYNABO             PR           00969
                                                                                    35 JUAN CARLOS DE BORBON
   662045 GREAT LAKES & DOCK CO                       PMB 285                       SUIT 67                                                                                    GUAYNABO             PR           00969‐5315

   207747 GREAT LAKES HIGHER ED.                      DEPARTAMENTO DE HACIENDA                                                                                                 SAN JUAN             PR           00901
          GREAT LAKES HIGHER
   207753 EDUCATION                                   CORPORATION & AFFILIATES      P O BOX 7860                                                                               MADISON              WI           53707‐7860
   662046 GREAT LAKES HYDRIDS INC                     P O BOX 1784                                                                                                             JUANA DIAZ           PR           00795
   207754 GREAT LAKES PATHOLOGISTS                    P O BOX 78420                                                                                                            MILWAUKEE            WI           53278‐0420
          GREAT PACK OF PUERTO RICO
   207756 INC                                         P O BOX 11967                                                                                                            SAN JUAN             PR           00922
          GREAT SOURCE EDUCATION
   662047 GROUP                                       181 BALLARDVALE STREET                                                                                                   WILMINGTON           MA           01887
          GREAT WEST LIFE & ANNUITY
   207757 INSURANCE CO                                PO BOX 38699                                                                                                             COLORADO SPRINGS     CO           80937
   207758 GREAT WORLD EVENTS                          PO BOX 9009                                                                                                              SAN JUAN             PR           00908
          GREATER ATLANTA
   207759 NEUROSURGERY PC                             550 PEACHTREE STREET NE       SUITE 1577                                                                                 ATLANTA              GA           30308‐2254
          GREATER BRIDGEPORT COM
   207760 MENTAL HEALTH CTR                           1635 CENTRAL AVE                                                                                                         BRIDGEPORT           CT           06610
          GREATER CHESAPEAKE HANDS
   207761 SPECIALISTS PA                              600 N. JACKSON STREET         SUITE 104                                                                                  MEDIA                PA           19063



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          GREATER HARTFORD
   207762 ORTHOPEDIC GROUP                            113 ELM STREET            SUITE 203                                                                                 ENFIELD               CT           06082
          GREATER HOUSTON
   662048 ANESTHESIOLOGY                              PO BOX 200535                                                                                                       HOUSTON               TX           77216
          GREATER LAWRANCE FAMILY
   207763 HEALTH CENTER INC                           439 SOUTH UNION STREET    SUITE 212                      MEDICAL RECORDS DEPT                                       LAWRENCE              MA           01843
          GREATER LAWRENCE FAMILY
   207764 HEALTH CENTER                               150 PARK ST                                                                                                         LAWRENCE              MA           01841
                                                                                                               2350 SCHILLINGUER ROAD
   207766 GREATER MOBILE URGENT CARE MEDICAL RECORDS                            SUITE A                        SOUTH                                                      MOBILE                AL           36695‐4177
          GREATER NEW BEDFORD
   207767 COMMUNITY HEALTH CENTER    PO BOX 409822                                                                                                                        ATLANTA               GA           30384‐9822

   207768 GREATER ORLANDO HOSPITALIST MEDICAL RECORDS                           478 E ALTAMONTE DR STE 108                                                                ALTAMONTE SPRINGS     FL           32701
          GREATER ROCHESTER
   207769 ORTHOPAEDICS                30 HAGEN DR STE 220                                                                                                                 ROCHESTER             NY           14625
   207770 GREATER SA ER PHYSICIANS    PO BOX 2540                                                                                                                         SAN ANTONIO           TX           78299‐2540
   662049 GRECHEN OSORIO              HC 01 BOX 5254                                                                                                                      LOIZA                 PR           00772

   207783 GRECHENMARIE BERIOS TORRES REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   662050 GRECIA AYALA FUENTES       P O BOX 442                                                                                                                          LOIZA                 PR           00772

   662051 GRECIA HEREIDA ECHEVARRIA                   166 CALLRE CAMPO ALEGRE                                                                                             SAN JUAN              PR           00907
   662052 GRECIA M ANTRON AVILA                       PO BOX 143532                                                                                                       ARECIBO               PR           00614‐3532
                                                                                1706 CALLE AMARILL BDA VISTA
   662055 GRECIA M MOJICA SANTANA                     VISTA ALEGRE              ALEGRE                                                                                    SAN JUAN              PR           00926
          GRECIA M RODRIGUEZ
   207784 QUIRINDONGO                                 REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   207785 GRECIA N TORRES OTERO                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   207786 GRECIA PICHARDO                             REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   207787 GRECIA SANTIAGO RIVERA                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   662056 GRECIA V GONZALEZ EDNA GONZ MANSIONES DE VILLA NOVA                   4 CALLE E G‐1                                                                             SAN JUAN              PR           00926
   207788 GRECIA Y. SOSA COTES        REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   207789 GRECIA Z ORTIZ ARROYO       REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          GRECIN D MARTINEZ DE
   207790 DELGADO                     REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   662058 GREDA M LOPEZ COLLAZO       HC 1 BOX 9811                                                                                                                       TOA BAJA              PR           00949
   207793 GREDUVEL DURAN GUZMAN       REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   207794 GREEENE , THOMAS E          REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          GREEN AGE CONSTRUCTION      MCS 865,134 AVE WINSTON
   662061 CORP                        CHURCHILL                                                                                                                           SAN JUAN              PR           00926
                                      AVE MANUEL FERNANDEZ
   207810 GREEN CORNER INC            JUNCOS                                                             600                                                              SAN JUAN              PR           00907
  1256531 GREEN CORNER INC.           REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          GREEN EARTH LEAD ASBESTOS
   662062 CONSULTANTS                 PO BOX 930‐0734                                                                                                                     SAN JUAN              PR           00930‐0734
   207816 GREEN ENERGY & FUELS INC    PO BOX 1157                                                                                                                         QUEBRADILLAS          PR           00678

   207817 GREEN ENERGY SYSTEMS CORP                   P O BOX 2017 PMB 189                                                                                                LAS PIEDRAS           PR           00771

   207818 GREEN FIELD MEDICAL FARM LLC PO BOX 3187                                                                                                                        MAYAGUEZ              PR           00681
   662063 GREEN HILLS SPIRIG WATER     PO BOX 34103                                                                                                                       FT BUCHANAN           PR           00934



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          GREEN HOUSE CARE AND
   207825 MANAGEMENT SERV INC                         COMUNIDAD ESTELA            3261 CALLE 2                                                                              RINCON               PR           00677
          GREEN HOUSE CARE AND
   207826 MANAGEMENT SERVICES                         COM. ESTELA 3261            CALLE 2                                                                                   RINCON               PR           00677
   207831 GREEN LIGHT INC.                            CALLE ESTACION 1‐B PMB‐85                                                                                             VEGA ALTA            PR           00692‐0000

   207832 GREEN LIGHT PICTURES LLC                    COND WINDMILLS              CALLE CERVANTES 11 SUITE 1 A                                                              CONDADO              PR           00907
          GREEN LIVING TECHNOLOGIES
   207833 INC                                         PMB 554 1353 RD 19                                                                                                    GUAYNABO             PR           00966
   207844 GREEN MD, SCOTT                             REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   662064 GREEN MILE CONTRACTORS INC VILLA CAPRI                                  J 1 CALLE TURIN                                                                           SAN JUAN             PR           00924
   207855 GREEN PACK OF PR INC       PO BOX 11967                                                                                                                           SAN JUAN             PR           00922‐1967
          GREEN PLANET AIR
   207860 CONTRACTOR                 PO BOX 1278                                                                                                                            GURABO               PR           00778
   207892 GREEN TIRE RECYCLING INC   PO BOX 1708                                                                                                                            SABANA SECA          PR           00952
   662065 GREEN WASTE DISPOSAL       P O BOX 192743                                                                                                                         SAN JUAN             PR           00919‐2743
   207904 GREEN WAY EXPRESS CORP     PO BOX 3006                                                                                                                            CAGUAS               PR           00726‐3006
   207906 GREEN WORLD INC            PMB 111                                      PO BOX 1999                                                                               BARRANQUITAS         PR           00794
   662066 GREEN YARD                 GARDEN HILLS                                 Z15 HASTINGS                                                                              GUAYNABO             PR           00966
   207909 GREENBERG MD, JEFFREY      REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   207910 GREENBERG MD, JONATHAN     REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662067 GREENBERG TRAULIC LLP      MET LIFE BUILDING                            200 PARK AVENUE                                                                           NEW YORK             NY           10166
          GREENBERG TRAURING         AT LAW 1300 CONNETICUT AVE
   662068 ATTORNEYS                  NW                                                                                                                                     WASHINGTON           DC           20036
   207913 GREENE MD , PAUL E         REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   207919 GREENHOUSE CAFE DORADO     COSTA DE ORO                                 CARR 693 KM 8.20 STE 5                                                                    DORADO               PR           00646
   207920 GREENLINK VENTURES LLC     BO VENEZUELA                                 5 GUARACANAL                                                                              SAN JUAN             PR           00976
          GREENMAR CORP/PEDRO GREEN
   662069 ORTIZ                      PO BOX 178                                                                                                                             NAGUABO              PR           00718‐0178
   207921 GREENOVATION CORP          URB FINCA ELENA                              CALLE CEREZO #58                                                                          GUAYNABO             PR           00971

   207922 GREENSBURG FAMILY PRACTICE                  721 W KANSAS AVE                                                                                                      GREENSBURG           KS           67054 1998
   207923 GREENSCAPE                                  PO BOX 693                                                                                                            TOA BAJA             PR           00949
          GREENWAY INTERNATIONAL
   207925 CORP                                        G P O BOX 360762                                                                                                      SAN JUAN             PR           00936‐0762
          GREENWICH MEDICAL
   662071 ANESTHESIA                                  P O BOX 270                                                                                                           MASSAPEQUA PARK      NY           11762‐0270
   662072 GREENWOOD PUBLISHING                        PO BOX 5007                                                                                                           WESTPORT             CT           06881‐5007
   662073 GREG MARKIM INC                             BOX 13245                                                                                                             MILWAUKEE            WI           53213
   207941 GREGG EYFFE TOTKA                           REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   207942 GREGG WARE RODRIGUEZ                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   207943 GREGMARYS GARCIA VELAZQUEZ REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   207944 GREGMAT, INC               PO BOX 336223                                                                                                                          PONCE                PR           00733
   207948 GREGORI CRUZ FIGUEROA      REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662074 GREGORI L MORRIS           PO BOX 9024157                                                                                                                         SAN JUAN             PR           00902‐4157
   207951 GREGORI PEREZ DE, FRANK A  REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GREGORIA ACEVEDO
   662075 CANDELARIA                 VILLAS DE SAN MIGUEL                         50 CALLE SAN MIGUEL                                                                       BAYAMON              PR           00959

   662078 GREGORIA BAEZ                               TURABO GARDENS M8 CALLE 9                                                                                             CAGUAS               PR           00725
   662079 GREGORIA CEPEDA RAMOS                       BO MEDIANIA BAJA            P O BOX 177                                                                               LOIZA                PR           00772



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   662080 GREGORIA CINTRON MARTINEZ                   HC 04 BOX 7973                                                                                             JUANA DIAZ           PR           00795‐9604
   662082 GREGORIA CORTES VEGA                        HC 2 BOX 6167                                                                                              RINCON               PR           00677
          GREGORIA CRUZ LOPEZ /HOGAR
   207954 GENESIS                                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662083 GREGORIA CRUZ ROSADO                        BO COLO BOX C1                                                                                             CAROLINA             PR           00982
   207955 GREGORIA DIAZ RIVERA                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   207956 GREGORIA E SALGADO ANDUJAR REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662084 GREGORIA FEBRES SANCHEZ    BRISAS DE BORINQUEN 2                   EDIF B APT 102                                                                      CAROLINA             PR           00985
   662085 GREGORIA FEBUS RODRIGUEZ   RES VILLA ESPA¥A                        EDIF 32 APTO. 321                                                                   RIO PIEDRAS          PR           00921
          GREGORIA FIGUEROA
   662086 CARMOAGA                   PO BOX 3845                                                                                                                 CAROLINA             PR           00984‐3845
          Gregoria Jusino Negrón/ LA
   207957 BELLA UNION                REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662088 GREGORIA LANDRAU SUAREZ    RR 7 BOX 6933                                                                                                               SAN JUAN             PR           00926
   207958 GREGORIA LOPEZ MERCADO     REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662089 GREGORIA LUGO CARABALLO    PMB 900 P O BOX 2500                                                                                                        TOA BAJA             PR           00951
   662091 GREGORIA MALDONADO         HC 01 BOX 4794                                                                                                              BARCELONETA          PR           00617‐9704

   207959 GREGORIA MALDONADO SUAREZ REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GREGORIA MARQUEZ
   662092 MALDONADO                  URB VICTORIA HEIGHTS                    J6 CALLE 3                                                                          BAYAMON              PR           00959
   662093 GREGORIA MEDINA OLIVERO    ALTURAS DE RIO GRANDE                   X1287 24                                                                            RIO GRANDE           PR           00745
          GREGORIA MERCADO / MARISOL
   207962 ORTIZ                      REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662094 GREGORIA MONSO TORRES      BUENA VISTA                             14 CALLE LAUREL                                                                     CAROLINA             PR           00985

   662095 GREGORIA MONTIJO RODRIGUEZ PO BOX 1287                                                                                                                 MANATI               PR           00674
   207963 GREGORIA NIEVES ROSARIO    REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662096 GREGORIA NIEVES SANCHEZ    REPARTO VALENCIA                        U 6 CALLE 2                                                                         BAYAMON              PR           00959
   662097 GREGORIA ORSINES LORENZO   E 5 URB MOROGO                                                                                                              AGUADA               PR           00602
   662098 GREGORIA OTERO SANTANA     BO PUEBLO NUEVO                         CALLE ARMONIA BOX 15                                                                VEGA VAJA            PR           00693
   207964 GREGORIA P FUENTE DE PE¥A  REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   207929 GREGORIA PELLOT FERRER     REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662099 GREGORIA PEREZ TORRES      RR 1 BOX 13932                                                                                                              OROCOVIS             PR           00720‐9630
   207965 GREGORIA REYES RIOS        REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662101 GREGORIA ROSADO            PO BOX 21365                                                                                                                SAN JUAN             PR           00926‐1365

   207966 GREGORIA ROSARIO VENTURA                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   662102 GREGORIA SANTOS MARTINEZ                    PO BOX 190154                                                                                              SAN JUAN             PR           00919‐0154
   662103 GREGORIA TORRES                             HC 01 BOX 4223                                                                                             ARROYO               PR           00714
   662104 GREGORIA TORRES BRUNO                       HC 02 BOX 44331                                                                                            VEGA BAJA            PR           00763

   662105 GREGORIA TORRES MALDONADO PO BOX 546                                                                                                                   VILLALBA             PR           00766
   207967 GREGORIA TORRES MENDEZ    REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662106 GREGORIA TORRES PEREZ     PARC PALENQUE                            CALLE 2 BOX 6                                                                       BARCELONETA          PR           00617
   662107 GREGORIA TORRES ROSARIO   HC‐1‐BOX 10414                                                                                                               TOA BAJA                          00759

   662108 GREGORIA TORRES VELAZQUEZ                   RES LAS MARGARITAS     EDIF 14 APT 128                                                                     SAN JUAN             PR           00915
   662109 GREGORIA VARGAS GUZMAN                      P O BOX 1091                                                                                               ARECIBO              PR           00616
   207968 GREGORIA VAZQUEZ TIRADO                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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   662076 GREGORIA VELAZQUEZ RIVERA                   ADM SERV GENERALES       PO BOX 7428                                                                            SAN JUAN            PR           00916‐7428
   662111 GREGORIA VIERA FALERO                       HC 02 BOX 15800                                                                                                 CAROLINA            PR           00985
   662112 GREGORIA VILA FIGUEROA                      HC 5 BOX 48431                                                                                                  LAS PIEDRAS         PR           00771

   207969 GREGORIE MEDINA CUADRADO                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207970 GREGORIO A CORTES                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207971 GREGORIO A GARCIA MARTE                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   207972 GREGORIO A. CORTES MAISONET REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662115 GREGORIO ACOSTA             PMB 127                                  PO BOX 20000                                                                           CANOVANAS           PR           00729
   662116 GREGORIO ALVAREZ            203 CALLE ARZUAGA                                                                                                               SAN JUAN            PR           00925

   662117 GREGORIO ALVAREZ RECAREY                    PARCELAS FALU 250 B      CALLE 30                                                                               SAN JUAN            PR           00924
          GREGORIO AQUINO
   662118 MALDONADO                                   URB VENUS GARDENS        AB 38A CALLE TAMAULIPAS                                                                SAN JUAN            PR           00926
                                                                               100 CALLE ARNALDO BRISTOL
   662119 GREGORIO ARROYO JUSINO                      RES VALLE DE GUAYAMA     APT                                                                                    GUAYAMA             PR           00784

   207973 GREGORIO BARRETO BARRETO                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662120 GREGORIO BONILLA RIVERA                     PO BOX 1765                                                                                                     SAN SEBASTIAN       PR           00685
   207974 Gregorio Boria Gaston                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662121 GREGORIO BRIGNONI VELEZ                     PMB 574                  P O BOX 8700                                                                           CAROLINA            PR           00988‐8700
   207975 GREGORIO CALCANO MATOS                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662122 GREGORIO CAMACHO VAZQUEZ BO RABANAL RR 1 BOX 2373                                                                                                           CIDRA               PR           00739‐9607
   662123 GREGORIO CASILLA CRUZ    P O BOX 562                                                                                                                        CANOVANAS           PR           00729‐0562

   662124 GREGORIO CASONOVA GARCIA                    OFIC SUPTE DE ESCUELAS   PO BOX 4                                                                               MAUNABO             PR           00707
   662127 GREGORIO CINTRON MOLINA                     EL MIRADOR               EDIF 7 APT A 1                                                                         SAN JUAN            PR           00915
   662128 GREGORIO CRUZ ALICEA                        P O BOX 240                                                                                                     SABANA GRANDE       PR           00637
   207977 GREGORIO CRUZ GARCIA                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662129 GREGORIO CRUZ MATOS                         HC 1 BOX 4702                                                                                                   CAMUY               PR           00627
   662130 GREGORIO CRUZ ORTIZ                         PO BOX 21                                                                                                       TRUJILLO ALTO       PR           00977
   207978 GREGORIO CRUZ RAMOS                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662132 GREGORIO CRUZ SANTIAGO                      URB VILLA DEL REY        4TA SECC EE 3 CALLE 13                                                                 CAGUAS              PR           00725

   207980 GREGORIO DE JESUS ROSARIO                   REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GREGORIO DEL VALLE
   662134 CUADRADO                                    HC 1 BOX 17613                                                                                                  HUMACAO             PR           00791
          GREGORIO DEL VALLE Y EVELYN
   207981 TORRES                                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662137 GREGORIO DELGADO CRUZ                       RES SAN MARTIN           EDIF 2 APT 14                                                                          SAN JUAN            PR           00924
          GREGORIO DELGADO
   662135 MONTALVO                                    HC‐01 BOX 5613                                                                                                  HATILLO             PR           00659
   662138 GREGORIO DELGADO RESTO                      HC 3 BOX 16887                                                                                                  COROZAL             PR           00783‐9220
   207982 GREGORIO DIAZ                               REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662139 GREGORIO DIAZ LOPEZ                         88 CALLE PRINCIPAL                                                                                              PUNTA SANTIAGO      PR           00741
   662140 GREGORIO DIAZ MATOS                         URB LAS ALONDRAS         G 13 CALLE 7                                                                           VILLALBA            PR           00766
   207983 GREGORIO DIAZ SANTIAGO                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207984 GREGORIO E TERC SOTO                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   207985 GREGORIO FEBRES ROSA                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   662113 GREGORIO FELICIANO MARTINEZ URB VILLA CAROLINA                          70 15 CALLE 57                                                                    CAROLINA              PR           00985

   662142 GREGORIO FERNANDEZ PEREZ                    PO BOX 397                                                                                                    SAINT JUST            PR           00978
   662143 GREGORIO FIGUEROA GARCIA                    PO BOX 507                                                                                                    LUQUILLO              PR           00773‐0004
   662147 GREGORIO GARAY MARQUEZ                      COND. ANDALUCIA 1 APT.705                                                                                     SAN JUAN              PR           00926
   207987 GREGORIO GARCIA DIAZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   662148 GREGORIO GAVILAN VEGA                       URB LAS CUMBRES             3 CALLE KENNEDY                                                                   SAN JUAN              PR           00926
   207988 GREGORIO GONZALEZ DIAZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   207989 GREGORIO GONZALEZ GONZALEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          GREGORIO GONZALEZ
   207990 HERNANDEZ                  REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   662149 GREGORIO GONZALEZ ROMAN                     URB SANTA ROSA              17‐25 CALLE 9                                                                     BAYAMON               PR           00959

   207992 GREGORIO HERNANDEZ LOPEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   207993 GREGORIO HERNANDEZ NIEVES                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   662150 GREGORIO HERNANDEZ VERA                     P O BOX 72                                                                                                    QUEBRADILLAS          PR           00678
   207994 GREGORIO I CASAR                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   207995 GREGORIO I CASAR, MD                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   207996 GREGORIO IGARTUA DE LA ROSA REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   662151 GREGORIO IZQUIERDO CRESPO                   PO BOX 314                                                                                                    SAN LORENZO           PR           00754

   207998 GREGORIO J HUERTA MONTANEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   207999 GREGORIO J IGARTUA ARBONA                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   208000 GREGORIO J SALCEDO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   662152 GREGORIO JORGE MELENDEZ                     RES ALEJANDRINO             EDIF 6 APT 75                                                                     GUAYNABO              PR           00969
          GREGORIO LAUREANO
   662153 SANTIAGO                                    BARIO CAMPO ALEGRE          HC 05 BOX 58318                                                                   HATILLO               PR           00659
   208001 GREGORIO LOPEZ FIGUEROA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   662154 GREGORIO LOZANO BAEZ                        URB DELGADO                 V 5 CALLE 2                                                                       CAGUAS                PR           00725

   208004 GREGORIO MALDONADO GARCIA REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          GREGORIO MALDONADO
   208005 MARTINEZ                  REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   662156 GREGORIO MATOS COLON      HC 3 BOX 12427                                BO BARRAZAS                                                                       CAROLINA              PR           00985
   662157 GREGORIO MEDINA LEBRON    PO BOX 6017                                   PMB 320                                                                           CAROLINA              PR           00984‐6017

   662158 GREGORIO MEJIAS VELAZQUEZ                   PMB 326 BOX 4956                                                                                              CAGUAS                PR           00726

   208007 GREGORIO MERCADO MORALES                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          GREGORIO MORALES
   662161 CASTELLANO                                  PO BOX 1110                                                                                                   RIO GRANDE            PR           00745
   662162 GREGORIO MORALES VELEZ                      HC 3 BOX 41316                                                                                                CAGUAS                PR           00725‐9742
          GREGORIO MUNIZ /GENARA
   208008 SOTO                                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
                                                      URB. ESTEVES 108‐2 CALLE
   662114 GREGORIO MUNOZ GARCIA                       KARITE                                                                                                        AGUADILLA             PR           00603



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  662163 GREGORIO NIEVES BAEZ                         URB SIERRA BAYAMON            BLQ 3 CASA 14 CALLE 3                                                              BAYAMON             PR         00961
  662164 GREGORIO NIEVES NIEVES                       HC 5 BOX 11064                                                                                                   MOCA                PR         00676
  208009 GREGORIO NIEVES RUIZ                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  208011 GREGORIO ORTIZ VAZQUEZ                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   662168 GREGORIO PADILLA HERNANDEZ PO BOX 257                                                                                                                        HATILLO             PR         00659
   208013 GREGORIO PADIN NIEVES      REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GREGORIO PEREZ / DORIS
   662169 JIMENEZ                    PO BOX 29890                                                                                                                      SAN JUAN            PR         00929
   662170 GREGORIO PEREZ BRIGNONI    BO HATO ARRIBA                                 HC 02 BOX 19725                                                                    SAN SEBASTIAN       PR         00685
   662173 GREGORIO PIZARRO CIRINO    9 BO LAS FLORES                                                                                                                   RIO GRANDE          PR         00745
   208014 GREGORIO REYES FLORES      REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208015 GREGORIO RIVERA CEBALLOS   REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   662174 GREGORIO RIVERA LABOY                       BO CACAO ALTO SECT LA LINEA   HC 763 BZN 3742                                                                    PATILLAS            PR         00723

   208016 GREGORIO RIVERA RODRIGUEZ                   REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662175 GREGORIO RIVERA ROLON                       URB COLINAS VERDES            B28 CALLE 2                                                                        SAN JUAN            PR         00924 5310
   662176 GREGORIO RIVERA SOTO                        HC 01 BOX 3860                                                                                                   LARES               PR         00669
   208017 GREGORIO RIVERA VILLAFAðE                   REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GREGORIO RIVERA/ DYNAMIC
   208021 SOLAR SOLUTIONS                             PO BOX 29155                                                                                                     SAN JUAN            PR         00929‐0115

   208022 GREGORIO RODRIGUEZ COLLET                   REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   208023 GREGORIO RODRIGUEZ CONDE                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GREGORIO RODRIGUEZ
   662178 HERNANDEZ                                   P O BOX 1185                                                                                                     JUNCOS              PR         00777

   662179 GREGORIO RODRIGUEZ LOPEZ                    P O BOX 1380                                                                                                     MAYAGUEZ            PR         00681

   208024 GREGORIO RODRIGUEZ RIVERA                   REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   662180 GREGORIO RODRIGUEZ VAZQUEZ C/O DIV CONCILIACION ( 99‐525 )                                                                                                   SAN JUAN            PR         00902‐4140
   662181 GREGORIO ROMAN ROMAN       HC 01 BOX 7236                                                                                                                    GURABO              PR         00708

   662182 GREGORIO ROSADO CARMONA                     HC 04 BOX 4370                                                                                                   LAS PIEDRAS         PR         00771
   208025 GREGORIO ROSADO GALARZA                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662184 GREGORIO RUSSE CORDERO                      HC 02 BOX 6030                                                                                                   MOROVIS             PR         00681
   662185 GREGORIO SANCHEZ GOMEZ                      HC 3 BOX 10925                                                                                                   YABUCOA             PR         00767
          GREGORIO SANCHEZ
   208026 HERNANDEZ                                   REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662186 GREGORIO SANCHEZ LEBRON                     HC 02 5279                                                                                                       GUAYAMA             PR         00784

   208027 GREGORIO SANCHEZ VAZQUEZ                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   662187 GREGORIO SANCHEZ VELAZQUEZ PO BOX 965                                                                                                                        SAN SEBASTIAN       PR         00685

   662188 GREGORIO SANTANA SERRANO                    HC 04 BOX 41374                                                                                                  MAYAGUEZ            PR         00680
          GREGORIO SANTIAGO
   208028 MONTALVO                                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662190 GREGORIO SANTIAGO ORTIZ                     COM COCO I                    SOLAR 117                                                                          SALINAS             PR         00751
   208029 GREGORIO SANTIAGO PEREZ                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  208030 GREGORIO SANTIAGO SOTO                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  662191 GREGORIO SEGARRA ROMAN                       PO BOX 40655                                                                                                      SAN JUAN            PR         00940‐0655
  208031 GREGORIO SOTO RAMOS                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   662192 GREGORIO SOTO RIVERA                        URB VISTAS DEL OCEANO 8268   CALLE MARGARITA                                                                      LOIZA               PR         00772‐9754
   662193 GREGORIO T. DIAZ GONZALEZ                   PO BOX 4302                                                                                                       CAROLINA            PR         00984
   662194 GREGORIO TOLEDO INC                         BOX 1338                                                                                                          HATILLO             PR         00659
   208032 GREGORIO TORRES GARCIA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   208033 GREGORIO TORRES HERNANDEZ REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662197 GREGORIO TORRES ISAAC     VILLA CAROLINA                                 13 17 CALLE 26                                                                       CAROLINA            PR         00985
   208035 GREGORIO TORRES RIVERA    REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   208037 GREGORIO VARGAS SANTIAGO                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208040 GREGORIO VAZQUEZ VELEZ                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662199 GREGORIO VEGA GONZALEZ                      HC 08 BOX 38874                                                                                                   CAGUAS              PR         00725
          GREGORIO VELAZQUEZ
   662200 MORALES                                     BO TIBES                     KM 8 2 SECTOR LA ZORRA                                                               PONCE               PR         00731
   662201 GREGORIO VERA JIMENEZ                       PO BOX 531                                                                                                        GARROCHALES         PR         00652
   662202 GREGORIO VIZCARRONDO                        PO BOX 341                                                                                                        TRUJILLO ALTO       PR         00977‐0341
          GREGORIOS RIOS DBA GRAMAS
   662203 DE CIDRA                                    RR 02 BZN 6682                                                                                                    CIDRA               PR         00739

   208044 GREGORY A ELIAS RODRIGUEZ                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208045 GREGORY ALAMEDA, DELIA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      URB VILLA HUMACAO F‐25 CALLE
   662206 GREGORY B. LABA0 ROSA                       11                                                                                                                HUMACAO             PR         00791
   662207 GREGORY BOSH ORTIZ                          SAINT JUST                   CALLE LAS CRUCES BOX 35                                                              TRUJILLO ALTO       PR         00976
   662208 GREGORY CASTRO CASTRO                       RES BAIROA                   AV‐12 CALLE 27                                                                       CAGUAS              PR         00725

   662209 GREGORY COLON RODRIGUEZ                     VILLA BORINQUEN              469 CALLE DRESDE                                                                     SAN JUAN            PR         00920
   662210 GREGORY D SIMPSON                           PO BOX 34063                                                                                                      FORT BUCHANAN       PR         00934
   208054 GREGORY DIAZ IZQUIERDO                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208055 GREGORY E DAVISON                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   208056 GREGORY FIGUEROA ROSARIO                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662211 GREGORY FLECHA TORRES                       HC 01 BOX 16901                                                                                                   HUMACAO             PR         00791
                                                      COND PLAYA GRANDE S ONE
   662212 GREGORY J KORWEK MOSHER                     TAFT ST                      SUITE 10 F                                                                           SAN JUAN            PR         00911

   662213 GREGORY JACKSON WAINSCOTT                   P O BOX 1876                                                                                                      RIO GRANDE          PR         00745
   662214 GREGORY L MORRIS & ASSOC                    265 CALLE SAN FRANCISCO                                                                                           SAN JUAN            PR         00902‐4157
          GREGORY L MORRIS
   208061 ENGINEERING                                 CITY VIEW PLAZA              48 CARR 165 SUITE 2000                                                               GUAYNABO            PR         00968‐8000
   208062 GREGORY LOPEZ CLASS                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   208063 GREGORY M ALVAREZ SERRANO REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   662204 GREGORY M ALVAREZ SERRANO                   PARCELAS FALU                250B CALLE 30                                                                        SAN JUAN            PR         00924
   662216 GREGORY M SUFTIN                            URB SOLIMAR                  1 PLAZA PALOMINO                                                                     LUQUILLO            PR         00773
   662217 GREGORY MATHERS                             P O BOX 34577                                                                                                     FT BUCHANAN         PR         00934 0577
   208065 GREGORY NIEVES RAMIREZ                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   208071 GREGORY RAMOS RODRIGUEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208072 GREGORY RIVERA RIOS                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208073 GREGORY RIVERA ROJAS                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662218 GREGORY RIVERA VALENTIN                     URB SAN FRANCISCO            A 7 CALLE 1                                                                           HUMACAO             PR           00791
          GREGORY RODRIGUEZ
   208074 CONCEPCION                                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208076 GREGORY SANABRIA ALERS                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662219 GREGORY SOTO NIEVES                         MANSIONES DE CAROLINA        DD 10 CALLE LOS PICACHOS                                                              CAROLINA            PR           00987

   208080 GREGORY T USERA MACFARLANE REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   208086 GREIGHTON RIVERA RODRIGUEZ                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208088 GREIMER M VILLEGAS CRUZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208089 GREISHA I PI ARBONA                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208090 GREISHA M. ORTIZ ROBLEDO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   208091 GREISHEN E. MALDONADO DIAZ                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208092 GREISKA VIRUET MARTIN                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662221 GREISSA Y RIVERA CRUZ                       URB TOA ALTA HEIGHT          I 26 CALLE 3                                                                          TOA ALTA            PR           00953
   662222 GREIZA M ROSADO BAEZ                        URB VILLAS DE CARRAIZO       RR 07 BOX 344                                                                         SAN JUAN            PR           00926
          GREKCHY MELENDEZ
   208094 HERNANDEZ                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662223 GREKORY EQUIPMENT CORP                      PO BOX 192384                                                                                                      SAN JUAN            PR           00919‐2384
   662224 GRENDA BONILLA JUMENEZ                      URB VILLA DEL CARMEN         43 C ‐ CALLE 2                                                                        CABO ROJO           PR           00623

   208095 GRENDA I. RODRIGUEZ VAZQUEZ REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662226 GRENDALI GALLOZA RUIZ       APARTADO 1220                                                                                                                      AGUADA              PR           00602

   208096 GRENDALY A CRUZ RODRIGUEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662227 GRESCHKA FLORES ORTIZ                       PO BOX 566                                                                                                         AGUIRRE             PR           00704
   208098 GRESHEN MARTIN NIEVES                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208100 GRESHKA BONILLA SANCHEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208101 GRESHKA L ROLDAN SOLANO                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GRESTCHEN M BRUNO
   208104 OQUENDO                                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662229 GRET CAR INC                                PO BOX 9364                                                                                                        SAN JUAN            PR           00908
   662230 GRETA M GONZALEZ                            PO BOX 335                                                                                                         A¥ASCO              PR           00610
   208105 GRETCHEL DIAZ RODRIGUEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   208106 GRETCHELL                                   PO BOX 307 MINOMONII FALLS                                                                                         MINOMI FALLS        WI           53052
   208107 GRETCHELY TORRES GOMEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662231 GRETCHEN A GRAJALES VELEZ                   132 CALLE MARINA                                                                                                   ISABELA             PR           00662
   208108 GRETCHEN A RIVERA GANDIA                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662232 GRETCHEN AVILES ROSARIO                     VALLE ARRIBA                 BC 4 CALLE YAGRUMO                                                                    CAROLINA            PR           00983
   662233 GRETCHEN B GUZMAN                           TORREMOLINOS                 A 13 CALLE 1                                                                          GUAYNABO            PR           00969
   662234 GRETCHEN BAYRON SOTO                        URB EL ARENDADO              C 14 BUZON 215                                                                        SABANA GRANDE       PR           00637
          GRETCHEN CAMACHO
   208109 CABEZUDO                                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208110 GRETCHEN CAMACHO ROSSY                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   1626 CALLE SAN MATEO APT
   662235 GRETCHEN COLL MARTI                         COND SAN MATEO PLAZA         1004                                                                                  SAN JUAN            PR           00912




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          GRETCHEN COLLAZO
   208113 CARRASQUILLO                                REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GRETCHEN D PRIMERO
   662237 MIRANDA                                     RES EL PRADO                 EDIF 11 APT 59                                                                          SAN JUAN            PR           00924

   662238 GRETCHEN DELGADO ANDINO                     EMBALSE SAN JOSE             449 C/JARANDILLA                                                                        SAN JUAN            PR           00923
   208114 GRETCHEN E ALEMAN LUGO                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GRETCHEN E DAUBON
   208115 FERNANDEZ                                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208116 GRETCHEN E VALLE RIEFKOHL                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208117 GRETCHEN G LAGARES PIEVE                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   208118 GRETCHEN G RIVERA ARROYO                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GRETCHEN GARRIDO
   208119 HERNANDEZ                                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GRETCHEN GONZALEZ
   662239 CANDELARIO                                  URB FRONTERAS                221 CALLE JUAN LINES RAMOS                                                              BAYAMON             PR           00961
   208120 GRETCHEN HUYKE NICOLE                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GRETCHEN I GARCIA HNC
   208121 PENUELAS MAIL SERV                          P O BOX 600                                                                                                          PENUELAS            PR           00624
          GRETCHEN I LOPEZ TORRES /
   208122 EDGA LOPEZ                                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GRETCHEN I QUINONES
   208123 SERRANO                                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208124 GRETCHEN I. FERRA TIRADO                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208125 GRETCHEN L CRUZ SANCHEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662243 GRETCHEN L DE JESUS RUIZ                    URB PUERTO NUEVO             1120 CALLE BAHIA                                                                        SAN JUAN            PR           00920
          GRETCHEN LAFONTAINE
   208126 SERRANO                                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662244 GRETCHEN LOPEZ                              PO BOX 9021112                                                                                                       SAN JUAN            PR           00902‐1112
   208127 GRETCHEN M CARLO YAMIN                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GRETCHEN M CARRASQUILLO
   208128 RAMOS                                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662245 GRETCHEN M CHIQUES TORRES                   PO BOX 9163                                                                                                          MAYAGUEZ            PR           00681
          GRETCHEN M DUMONT
   208129 GAZTAMBIDE                                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   208130 GRETCHEN M ESPADA SANTIAGO REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208131 GRETCHEN M GARCIA RIVERA   REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208132 GRETCHEN M GELPI RIVERA    REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   208133 GRETCHEN M IRIZARRY ALBINO                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208134 GRETCHEN M MARRERO RUIZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662248 GRETCHEN M MATIAS                           3 EXT VILLA CAROLINA         16 BLQ 115 C/ 73                                                                        CAROLINA            PR           00785

   208135 GRETCHEN M OQUENDO GARCIA REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GRETCHEN M RODRIGUEZ
   208136 RIVERA                    REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   208137 GRETCHEN M ROMERO APONTE REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662250 GRETCHEN M SOTO ALAMO                       LA ESMERALDA VILLA CAROLINA EDIF 1 APTO 21                                                                           CAROLINA            PR           00985



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          GRETCHEN M. ENRIQUEZ
   208138 FIGUEROA                                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662251 GRETCHEN MANZANET HOMAR                     URB METROPOLIS               V 21 CALLE 28                                                                         CAROLINA            PR           00987
          GRETCHEN MARIE GONZALEZ
   208140 CANDELARIA                                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   208141 GRETCHEN MARTINEZ ALAYON                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   208142 GRETCHEN MARTINEZ ARAYON                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662252 GRETCHEN MONET CASILLAS                     CELINA CALLE 1‐ E‐27                                                                                               CEIBA               PR           00735

   208143 GRETCHEN MONLLOR ARZOLA                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GRETCHEN MORALES
   662253 HERNANDEZ                                   PO BOX 274                                                                                                         MOROVIS             PR           00687

   662254 GRETCHEN MORALES SANCHEZ                    1311 PONCE DE LEON STE 506                                                                                         SAN JUAN            PR           00907
          GRETCHEN N. RAMOS
   208144 BEAUCHAMP                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208146 GRETCHEN NUNEZ GARCIA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208147 GRETCHEN OLIVENCIA ORTIZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662256 GRETCHEN ORTIZ SANCHEZ                      ALT DE RIO GRANDE            D 156 CALLE 4                                                                         RIO GRANDE          PR           00745
   662257 GRETCHEN PEREZ CATINCHI                     JARD DE LA FUENTE            176 CALLE WASHINGTON                                                                  TOA ALTA            PR           00953
   662258 GRETCHEN RIEFKOHL MOLINA                    154 COND TAFT APTO 704                                                                                             SAN JUAN            PR           00911
   208148 GRETCHEN RIVERA BRACERO                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662259 GRETCHEN RIVERA RIGAU                       URB RAMIREZ                  82 CALLE SAGRADO CORAZON                                                              CABO ROJO           PR           00623
   662260 GRETCHEN RODRIGUEZ ASAD                     P O BOX 3446                                                                                                       MAYAGUEZ            PR           00681‐3446
          GRETCHEN RODRIGUEZ
   208149 VELAZQUEZ                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   208150 GRETCHEN S GARCIA MORALES                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662261 GRETCHEN SAN MIGUEL RIVERA URB PASEO LAS BRISAS                          2 CALLE COSTA AZUL                                                                    SAN JUAN            PR           00926

   208151 GRETCHEN SANTIAGO VAZQUEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208152 GRETCHEN SOTO ORTIZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208153 GRETCHEN STUBBE SEGARRA                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208154 GRETCHEN VALLADARES                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GRETCHEN VIZCARRONDO
   208155 RODRIGUEZ                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662265 GRETCHER CABRERA MARTINEZ                   URB SIERRA BAYAMON           BLQ 77 8 CALLE 65                                                                     BAYAMON             PR           00961
   662266 GRETCHER J BARNES PICO                      MANSIONES DE RIO PIEDRAS     472 CALLE LIRIO                                                                       SAN JUAN            PR           00926
   662267 GRETCHER M GONZALEZ                         936 CLUB SYLVAN DR APT F                                                                                           ORLANDO             FL           32825
   208156 GRETEL M CATHIARD                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208157 GRETELL BAEZ BENITEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208158 GRETSHEN J. CAMPOS LOPEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208159 GRETSY SALINAS AQCEVEDO                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208160 GRETTEL OJEDA ROJAS                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208161 GRETTZA ORTIZ RIVERA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662270 GRETZA M MARTINEZ CASTRO                    PASEO ALTO                   75 LOS PASEOS                                                                         SAN JUAN            PR           00926



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  208162 GRETZA M MERCED CRUZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  208163 GRETZA O CASTRO CURET                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   208164 GRETZA O. CASTRO CURET, MD                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208165 GRETZCHAISKA M. LAUREANO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   208168 GRETZEL RODRIGUEZ VALENTIN                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GRETZIE J BENITEZ / JARED A
   662272 ROSADO                                      EXT LAGOS DE PLATA          P 38 C/ 14                                                                        TOA BAJA            PR         00949‐3234
   208169 GREXIA ROIG SILVA                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662273 GREYCHEN REYES OTERO                        SANTA TERESITA              W S 3 CALLE FRESNO                                                                BAYAMON             PR         00956
   662274 GREYSA M AMEZAGA                            COND MAR DE ISLA            VERDE APT 12 F                                                                    CAROLINA            PR         00979
   662275 GREYSON COLON ROSADO                        PO BOX 7126                                                                                                   PONCE               PR         00732
   208178 GREYSSI CAMPOS MILLAN                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GREYSTEEL BODIES & PARTS
   662276 CORP                                        PO BOX 2444                                                                                                   TOA BAJA            PR         00951
   662277 GRH ANESTHESIA GROUP                        PO BOX 195095                                                                                                 SAN JUAN            PR         00919‐5095
   662278 GRICEL APONTE DANOIS                        COOP VILLA KENNEDY          EDIF 2 APT 23                                                                     SANTURCE            PR         00915
   208179 GRICEL COTTO ROQUE                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208180 GRICEL DIAZ GARCIA                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208181 GRICEL GARCIA GREGORY                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   662280 GRICEL MAMERY                               MONTE CLARO PLAZA 35 MP 8                                                                                     BAYAMON             PR         00956
   208182 GRICEL MARRERO SOLIS                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   208183 GRICEL MONTALVO MONTALVO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GRICEL MORENO & ERNESTO
   662283 LUCIANO                                     28 FDEZ GARCIA 19                                                                                             LUQUILLO            PR         00773‐2213
   208184 GRICEL RAMIREZ RODRIGUEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662284 GRICEL RODRIGUEZ                            PO BOX 496                                                                                                    LAS MARIAS          PR         00670

   662285 GRICEL VILLEGAS GINES                       COND JARD METROPOLITANOS    TORRES 1 APT 14 E                                                                 RIO PIEDRAS         PR         00927
   662286 GRICELA E MORALES LLANOS                    LA PONDEROSA                553 CALLE ALELI                                                                   RIO GRANDE          PR         00745

   208185 GRICELA FRANCESCHI GALLARDO REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662287 GRICELA TORRES DEL VALLE    HC 02 BOX 7681                                                                                                                CAMUY               PR         00627‐9115
   208187 GRICELIA PAGAN GARCIA       REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662289 GRICELL BUDUEN              URB RIO CANAS                               A 9 CALLE 3                                                                       PONCE               PR         00731
   662290 GRICELL COLON               P O BOX 334597                                                                                                                PONCE               PR         00733‐4597
   208189 GRICELL FIGUEROA VAZQUEZ    REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   208190 GRICELLE IRIZARRY GONZALEZ                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662291 GRICELLE LUGO SANTIAGO                      PASEO MAYOR                 C 14 CALLE 8                                                                      SAN JUAN            PR         00926
   208191 GRICELLE ORTIZ                              REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662292 GRICELLE ORTIZ SANTAPAU                     PUERTO REAL                 30 CALLE 4                                                                        CABO ROJO           PR         00623
                                                      311 CALLE SAN AGUSTIN APT
   662293 GRICELLE QUETELL PABON                      101A                                                                                                          SAN JUAN            PR         00901

   208195 GRIFFIN BERRIOS, JENNIFER M.                REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208197 GRIFFIN MD , JAMES H                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662295 GRIJALBO PUERTO RICO, INC.                  PO BOX 23025                CORREO UPR                                                                        SAN JUAN            PR         00931

   208215 GRILLASCA PALAU MD, JORGE E                 REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  208229 GRIMALDI CASTRO VAZQUEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  208230 GRIMALDI FIGUEROA COLÓN                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         GRIMALDI MALDONADO
  662296 MALDONADO                                    PO BOX 1574                                                                                                       BAYAMON             PR         00960‐1574
         GRIMALDI MALDONADO
  662297 RENOVALES                                    COND PASEO RIO HONDO        1000 AVE BOULEVARD APT 1603                                                           TOA BAJA            PR         00949
  208231 GRIMALDI OYOLA PEREZ                         REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         GRIMALDY GONZALEZ
  662298 MALDONADO                                    BO JAREALITO                263 CALLE 2                                                                           ARECIBO             PR         00612
  208233 GRIMALDY PAGAN MATOS                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  662299 GRIMALDYS ALAYON SANTOS                      HC 2 BOX 11432                                                                                                    HUMACAO             PR         00791‐9611

   208234 GRIMARY BERRIOS BERMUDEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   208235 GRIMARY CARABALLO APONTE                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208236 GRIMARY SANTOS LOPEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208238 GRIMILDA GONZALEZ MUNIZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208239 GRIMILDA MUNIZ RAMOS                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662301 GRINALDI GARCIA ALFONSO                     URB SAN IGNACIO             1717 SAN ETANISLAO                                                                    SAN JUAN            PR         00927
   662302 GRINELL CORPORATION                         PO BOX 29455                                                                                                      SAN JUAN            PR         00929
   662304 GRISALY GREEN MATOS                         HC 01 BOX 2389                                                                                                    BARRANQUITAS        PR         00794
   662306 GRISDELLY MEJIAS VEGA                       RR 1 BOX 13552                                                                                                    MANATI              PR         00674

   662307 GRISEEL RODRIGUEZ REYES                     232 AVE ELEONOR ROOSEVELT                                                                                         SAN JUAN            PR         00907
   208244 GRISEL A RAMOS DE JESUS                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662311 GRISEL ACEVEDO FERNANDEZ                    PO BOX 9175                                                                                                       BAYAMON             PR         00960‐8040
   208245 GRISEL ACEVEDO GONZALEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208247 GRISEL ALVAREZ RODRIGUEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208248 GRISEL ALVELO ORTIZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208249 GRISEL ANDUJAR GUZMAN                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GRISEL ARACELIS RAMOS
   208250 RODRIGUEZ                                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208251 GRISEL AYALA MALDONADO                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662309 GRISEL AYALA RIVERA                         URB LAS TUNAS               12 CALLE E                                                                            SABANA GRANDE       PR         00637
   208252 GRISEL BAEZ RAMOS                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   208253 GRISEL BARTOLOMEI NAZARIO                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208254 GRISEL BENIQUEZ GRAJALES                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   662314 GRISEL CANDELARIA CARABALLO URB CANA                                    RR 18 CALLE 11                                                                        BAYAM0N             PR         00957
   208255 GRISEL CARABALLO CORTES     REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   208256 GRISEL CARRASQUILLO VAZQUEZ REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208259 GRISEL CONTRERAS SUERO      REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662317 GRISEL CORDERO              PO BOX 1030                                                                                                                       ISABELA             PR         00662
                                      CALLE SHADAI 124 AVE
   662318 GRISEL CORDERO GUTIERREZ    ESTACION                                                                                                                          ISABELA             PR         00662
   208260 GRISEL CORDERO RAMOS        REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662319 GRISEL CRUZ APONTE          HC 01 BOX 17292                                                                                                                   HUMACAO             PR         00791‐9739
   208261 GRISEL CRUZ LOPEZ           REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662320 GRISEL CRUZ MARTINEZ        PO BOX 132                                                                                                                        NARANJITO           PR         00719
   208262 GRISEL DELGADO RAMIREZ      REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208263 GRISEL DROZ LOPEZ           REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  662322 GRISEL E VEGA FIGUEROA                       COND COLLEGE PARK           APT 100‐2A LA TORRE A                                                                   SAN JUAN            PR         00921
  662310 GRISEL ESTRADA CARMONA                       RES LAGOS DE BLASINA        EDIF 3 APT 34                                                                           CAROLINA            PR         00985
  662324 GRISEL FIGUEROA SANTIAGO                     URB SAN THOMAS              9 CALLE D                                                                               PONCE               PR         00716
  208265 GRISEL GARCIA CRUZ                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  208267 GRISEL GONZALEZ BAUZO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  208268 GRISEL GONZALEZ FELICIANO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  208269 GRISEL GRUVIS VALENTIN                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  208270 GRISEL HERNANDEZ AROCHO                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  662325 GRISEL HERNANDEZ ESTEVES                     HC 5 BOX 56673                                                                                                      CAGUAS              PR         00725
  662326 GRISEL J BALDRICH MALAVE                     BO CEDRO 28908                                                                                                      CAYEY               PR         00736
  662329 GRISEL LUGO TORRES                           PO BOX 30947                                                                                                        SAN JUAN            PR         00929‐1947
         GRISEL LYNETTE BETANCOURT
  662331 COLON                                        URB LOS ROBLES              D 33 CALLE 3                                                                            GURABO              PR         00778
  662332 GRISEL M CASTRO ALCARAZ                      EXT PARQUE ECUESTRE         G 10 CALLE 37                                                                           CAROLINA            PR         00987

   662333 GRISEL M DELGADO QUEZADA                    URB BRISAS DEL PADRO        126 CALLE NILO                                                                          JUNCOS              PR         00777
   208271 GRISEL M ESCALERA CRUZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208273 GRISEL M TORRES TOMASINI                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662334 GRISEL M VEGA AGOSTO                        URB BUZO                    C 11 CALLE 2                                                                            HUMACAO             PR         00791
   208274 GRISEL M. TORRES TOMASINI                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208275 GRISEL MATOS COLON                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208278 GRISEL MEDINA DAVILA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208279 GRISEL MERCADO RIVERA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662338 GRISEL MIRANDA GONZALEZ                     G 11 URB VILLA ROSALES                                                                                              AIBONITO            PR         00705
   208281 GRISEL MUNOZ RIVERA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208282 GRISEL OCASIO MARTINEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662339 GRISEL OLAN ORTIZ                           230 GENERAL DEL VAVALLE                                                                                             MAYAGUEZ            PR         00680
   662340 GRISEL ORENGO VELEZ                         HC 1 BOX 6328                                                                                                       YAUCO               PR         00698
   208283 GRISEL ORTIZ SANTIAGO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662341 GRISEL OTERO CARABALLO                      P O BOX 583                                                                                                         TOA ALTA            PR         00951
   662342 GRISEL PADILLA MOLINA                       RR 02 BOX 7197                                                                                                      TOA ALTA            PR         00953
   662343 GRISEL PAGAN ROCHE                          COND CHALETS DE CUPEY       200 AVE LOS CHALETS APT 52                                                              SAN JUAN            PR         00926
   662347 GRISEL PINEIRO ANGUEIRA                     99 CARIDAD                                                                                                          ISABELA             PR         00662
   662348 GRISEL RIVERA                               LLANOS DEL SUR              R 36 CALLE PABONA                                                                       COTO LAUREL         PR         00780
   208284 GRISEL RIVERA ALEMAN                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662349 GRISEL RIVERA CIRINO                        HC 1 BOX 7018                                                                                                       LOIZA               PR         00772
   662350 GRISEL RIVERA CRUZ                          HC 02 BOX 4124                                                                                                      COAMO               PR         00769
   208285 GRISEL RIVERA DIAZ                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208286 GRISEL RIVERA GONZALEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   662351 GRISEL RIVERA MIRANDA                       APARTADO 2175               VOLADORA CONTRAC STATION                                                                MOCA                PR         00676
   662352 GRISEL RODRIGUEZ CODE                       BO MAGUEYES                 CALLE 11                                                                                BARCELONETA         PR         00617
   662353 GRISEL RODRIGUEZ FERRER                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   208288 GRISEL RODRIGUEZ FLORES                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662354 GRISEL RODRIGUEZ LOPEZ                      EXT REXVILLE                N 12 CALLE 13 A K‐21                                                                    BAYAMON             PR         00957
   662355 GRISEL RODRIGUEZ ROLDAN                     URB VILLAS DE RIO GRANDE    L 3 CALLE 4                                                                             RIO GRANDE          PR         00745
   662356 GRISEL ROMAN CARDONA                        HC 02 BOX 18727                                                                                                     SAN SEBASTIAN       PR         00685
   662357 GRISEL ROSARIO DE JESUS                     URB MONTE SOL               E2 CALLE 3                                                                              TOA ALTA            PR         00953

  1419952 GRISEL RUIZ, GOMEZ                          FRANCISCO JAVIER TORRES DÍAZ PO BOX 874                                                                             CAGUAS              PR         00726‐0874
   208291 GRISEL SANTOS MALAVE                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   662358 GRISEL SOTO ROSA                            HC 58 BOX 15225                                                                                                     AGUADA              PR         00602
   662359 GRISEL TORO MERCADO                         H C 02 BOX 12106                                                                                                    LAJAS               PR         00667



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  662360 GRISEL VAZQUEZ NEGRON                        JARD DE CAYEY I                 I 24 CALLE 15                                                                         CAYEY               PR         00736
  208293 GRISEL VAZQUEZ NIEVES                        REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         GRISEL VELAZQUEZ
  208294 CARRASQUILLO                                 REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  662361 GRISEL VELAZQUEZ VARGAS                      HC 3 BOX 29474                                                                                                        AGUADA              PR         00602
  662362 GRISELA ALVAREZ DEL RIO                      RR 02 BOX 8875                  BO CORTES                                                                             MANATI              PR         00674

   662363 GRISELA RODRIGUEZ SANCHEZ                   HP ‐ OFICINA SERVS. LEY # 408                                                                                         RIO PIEDRAS         PR         009360000
   208295 GRISELDA CALIZ CORDERO                      REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   662364 GRISELDA CARTAGENA                          P O BOX 7428                                                                                                          SAN JUAN            PR         00916
   662365 GRISELDA CRUZ ROSADO                        BO COCO NUEVO                   315 CALLE RAMOS ANTONINI                                                              SALINAS             PR         00751
   662366 GRISELDA M VIERA RIVERA                     HC 5 BOX 58602                                                                                                        HATILLO             PR         00659
   208296 GRISELDA MOLL MARTINEZ                      REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   662368 GRISELDA PAGAN LUGO                         PO BOX 3704                                                                                                           MAYAGUEZ            PR         00681

   208298 GRISELEYDA RIVERA FANTAUZZI                 REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   662371 GRISELIA CRUZ MERCADO                       HC 1 BOX 4480                                                                                                         LOIZA               PR         00772
   662372 GRISELL ACOSTA GARCIA                       URB EL SECO                     53 CALLE FIDEL CASTILLO                                                               MAYAGUEZ            PR         00682
   208299 GRISELL ALVILES CABRERA                     REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   662374 GRISELL ANGLERO FREYTES                     PASEO LOS ROBLES                1304 DR RAMIREZ QUILWS                                                                MAYAGUEZ            PR         00680
   208301 GRISELL BATISTA COLON                       REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   662376 GRISELL CORTES CRUZ                         VILLA FONTANA                   4 TS VIA 42                                                                           CAROLINA            PR         00985
   662377 GRISELL COSS SANTIAGO                       P O BOX 3411                                                                                                          JUNCOS              PR         00777
   662378 GRISELL D MARQUEZ RIVERA                    HC 3 BOX 10309                                                                                                        COMERIO             PR         00782
   208303 GRISELL DIAZ PEREZ                          REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   208304 GRISELL GARAY MARQUEZ                       REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   208305 GRISELL GONZALEZ VALENTIN                   REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   662380 GRISELL LOPEZ RAMOS                         URB LOS ANGELES                 F8 CALLE C                                                                            YABUCOA             PR         00767

   662381 GRISELL M BARRIOS FONTAINE                  19 CALLE CEMENTERIO                                                                                                   JAYUYA              PR         00664
   208306 GRISELL M CASTILLO DAVILA                   REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   208307 GRISELL M PAGAN SANCHEZ                     REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   208308 GRISELL M RAMOS NIEVES                      REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   208309 GRISELL MALDONADO MEDINA                    REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   662382 GRISELL MORALES MORENO                      84 CALLE RETIRO OESTE                                                                                                 GUAYAMA             PR         00784
   662383 GRISELL OCASIO COLON                        HC 2 BOX 7827                                                                                                         CIALES              PR         00638
   208312 GRISELL RODRIGUEZ REYES                     REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   662385 GRISELL ROSARIO CARTAGENA                   P O BOX 607071 PMB 327                                                                                                BAYAMON             PR         00960
   662386 GRISELL SANTIAGO ACOSTA                     BO DOMINGUITO                   114 CALLE A                                                                           ARECIBO             PR         00612

   662387 GRISELL SANTIAGO FONTANEZ                   SANTA JUANITA                   JJ 21 CALLE 26                                                                        BAYAMON             PR         00956
   662388 GRISELL SANTIAGO LOPEZ                      HC 9 BOX 4519                                                                                                         SABANA GRANDE       PR         00637
   662389 GRISELL SOTO LUCIANO                        PO BOX 805                                                                                                            ADJUNTAS            PR         00601
   662390 GRISELL SUSTATACHE FLORES                   PLAYA GUAYAMES                  APT 1256                                                                              YABUCOA             PR         00767
   208313 GRISELL TORRES QUIROS                       REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   662391 GRISELLA AYALA                              PO BOX 21365                                                                                                          SAN JUAN            PR         00928

   662394 GRISELLE ANDINO GARCED                      232 AVE ELEONOR ROOSEVELT                                                                                             SAN JUAN            PR         00907
   208314 GRISELLE BATISTA AMBERT                     REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   662396 GRISELLE BERMUDEZ                           P O BOX 2464                                                                                                          BAYAMON             PR         00960
   662397 GRISELLE BERRIOS NEGRON                     BAYAMON HILLS                   D 6 CALLE 1                                                                           BAYAMON             PR         00956



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  662398 GRISELLE BRUNO MARTINEZ                      PUEBLO NUEVO             BOX 7 CALLE 7                                                                        VEGA BAJA            PR         00693
  662399 GRISELLE BURGOS RESTO                        HC 5 BOX 56674                                                                                                CAGUAS               PR         00725
  208315 GRISELLE CAMACHO                             REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  208316 GRISELLE CARBONELL RIVERA                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   208318 GRISELLE CARRION MALDONADO REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   208319 GRISELLE CARTAGENA RIVERA  REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   208320 GRISELLE CASTRO ECHEVARRIA                  REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   208321 GRISELLE CASTRO ENCARNACION REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   771072 GRISELLE COLLAZO COLON      REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   662401 GRISELLE CRESPO LUCIANO     BO AIBONITO BELTRAN                                                                                                           SAN SEBASTIAN        PR         00685
   662402 GRISELLE CRESPO RIVERA      BO MAMEYAL                               BUZON 102 A CALLE 13                                                                 DORADO               PR         00646
   662403 GRISELLE CRESPO VISSEPO     803 JARD DE CUENCA                       APT 1 A                                                                              SAN JUAN             PR         00918

   208322 GRISELLE D HERNANDEZ MUNIZ                  REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   662405 GRISELLE DEL VALLE                          P O BOX 81                                                                                                    LARES                PR         00669
   662406 GRISELLE DURAN PADIN                        PO BOX 3473                                                                                                   CAROLINA             PR         00984

   208324 GRISELLE E VINALES HERNANDEZ REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   208325 GRISELLE FEBRES MELENDEZ     REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   662407 GRISELLE FELICIANO ALICEA    1047 AVE TITO CASTRO                                                                                                         PONCE                PR         00731

   662408 GRISELLE FIGUEROA ALVARADO                  JARDINES DE DORADO       C 11 CALLE 7                                                                         DORADO               PR         00646
   662409 GRISELLE FORTUNA MORALES                    SULTANA PARK             429 CALLE ALAMEDA                                                                    MAYAGUEZ             PR         00680
   662410 GRISELLE GARCIA DELGADO                     PO BOX 160                                                                                                    HUMACAO              PR         00792

   662411 GRISELLE GERENA CANDELARIA                  HC 2 BOX 6416                                                                                                 UTUADO               PR         00641
   208327 GRISELLE GOMEZ RAMOS                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   662412 GRISELLE GONZALEZ MELENDEZ                  P O BOX 435                                                                                                   CIDRA                PR         00739

   208329 GRISELLE GONZALEZ VALENTIN                  REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   662413 GRISELLE HERNANDEZ BATALLA                  P O BOX 841                                                                                                   AGUAS BUENAS         PR         00703
          GRISELLE HERNANDEZ
   208330 CARRUCINI                                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   208331 GRISELLE HERNANDEZ RIVERA                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   208334 GRISELLE HERNANDEZ VINAS                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   208335 GRISELLE I LUNA DAVILA                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   662414 GRISELLE J RIOS RIVERA                      P O BOX 748                                                                                                   VEGA BAJA            PR         00694

   662415 GRISELLE J VARGAS RODRIGUEZ                 PMB 302 P O BOX 607071                                                                                        BAYAMON              PR         00960‐7071
   662416 GRISELLE L PINET DAVILA                     BO MEDIANIA BAJA         CARR 187 KM 10 HM 0 INT                                                              LOIZA                PR         00772
   208337 GRISELLE LABADIE JACKSON                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   662418 GRISELLE LAUSELL GONZALEZ                   PO BOX 3                                                                                                      AGUADILLA            PR         00605
   208338 GRISELLE LEON MORALES                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   662419 GRISELLE LLOVET CARDONA                     PO BOX 361122                                                                                                 SAN JUAN             PR         00936‐1122
   662420 GRISELLE LOPEZ BATISTA                      RR 2 BOX 256                                                                                                  SAN JUAN             PR         00928
   662421 GRISELLE LOPEZ CORDERO                      HC 1 BOX 5320                                                                                                 MOCA                 PR         00676
   662422 GRISELLE LUGO MONTALVO                      RES VILLA ESPERANZA      EDIF 3 APR 53                                                                        SAN JUAN             PR         00927




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          GRISELLE M FERNANDEZ
   208339 ROSARIO                                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   208340 GRISELLE M GARCIA PACHECO                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208341 GRISELLE M GINES ERAZO                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   208342 GRISELLE M ORTIZ MALDONADO REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662424 GRISELLE M PAGAN MILLAN    HC 2 BOX 10042                                                                                                                 YAUCO               PR           00698

   662425 GRISELLE MARQUEZ GONZALEZ                   VILLA DE CANEY             B 42 CALLE ARECIBO                                                                 TRUJILLO ALTO       PR           00976
   662426 GRISELLE MEDINA VELEZ                       P O BOX 165                                                                                                   BAJADERO            PR           00616
   662427 GRISELLE MENDEZ NIEVES                      BELLA VISTA                N 24 CALLE 17                                                                      BAYAMON             PR           00957
          GRISELLE MILAGROS OTERO
   208343 CLAUZEL                                     REDACTED                   REDACTED                REDACTED                        REDACTED                   REDACTED            REDACTED     REDACTED      REDACTED
          GRISELLE MILAGROS OTERO                                                                        COLECTOR I LIC 2251044 V 10‐10‐
   662428 CLAUZEL                                     COLECTURIA DE PUERTO NUEVO UBICADA EN CAROLINA     2010                                                       CAROLINA            PR           00987

   662429 GRISELLE MIRABAL RODRIGUEZ                  BOX 9023899                                                                                                   SAN JUAN            PR           00902‐3899

   662430 GRISELLE MIRANDA CABALLERO HILL MANSIONS                               BA 36 CALLE 64                                                                     SAN JUAN            PR           00926
   662431 GRISELLE MIRANDA NEGRON    RR 2 BOX 6319                               BO PUGNADO                                                                         MANATI              PR           00674
   662433 GRISELLE MORALES SANCHEZ   PO BOX 717                                                                                                                     YAUCO               PR           00698

   662434 GRISELLE MULERO RODRIGUEZ                   URB VISTA DEL MORRO        A 17 CALLE GUARAGUAO                                                               CATANO              PR           00962
   208344 GRISELLE NAVEDO ORTIZ                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662435 GRISELLE NAZARIO CORDERO                    BO MANI                    281 B CALUDIO CARRERO                                                              MAYAGUEZ            PR           00680
   662436 GRISELLE NAZARIO ORTIZ                      URB INTERAMERICANA         NO E 7 CALLE 3                                                                     SAN GERMAN          PR           00683

   662437 GRISELLE NEGRON RODRIGUEZ                   SAN IDELFONSO APARTMENTS   EDIF B APT 27                                                                      COAMO               PR           00769
   208345 GRISELLE NIEVES ROSA                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662438 GRISELLE ORTIZ RIVERA                       LAS AMAPOLAS               EDIF B 11 APTO 160                                                                 COROLINA            PR           00979
   208347 GRISELLE ORTIZ TRINIDAD                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662439 GRISELLE OTERO CLAUSEL                      P O BOX 364472                                                                                                SAN JUAN            PR           00936
   208348 GRISELLE PENA REYES                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662440 GRISELLE PEREIRA CINTRON                    EXT EL VERDE               31 CALLE VENUS                                                                     CAGUAS              PR           00725‐6317
   662441 GRISELLE RAMIREZ DE VILLA                   VILLAS DE SAN FRANCISCO    B20 CALLE 3                                                                        SAN JUAN            PR           00927
   662442 GRISELLE RAMIREZ MARRERO                    RES. ROBERTO CLEMENTE      EDIF B‐14 APTL 2 C 6                                                               CAROLINA            PR           00987
   208349 GRISELLE REYES                              REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662444 GRISELLE REYES HERNANDEZ                    VILLAS DE CARRAIZO         RR 7 BOX 242                                                                       SAN JUAN            PR           00926
   208350 GRISELLE RIOLLANO                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208351 GRISELLE RIVERA AYALA                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662445 GRISELLE RIVERA CANDELARIO    URB VILLA LOS SANTOS                     P 20 CALLE 13                                                                      ARECIBO             PR           00612
   208352 GRISELLE RIVERA DOMENECH      REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GRISELLE RIVERA/RIVERAS RIVAS
   208354 ROOFING CO                    REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208355 GRISELLE ROBLES ORTIZ         REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   208356 GRISELLE RODRIGUEZ ACEVEDO                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   208357 GRISELLE RODRIGUEZ GALARZA                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   208358 GRISELLE RODRIGUEZ GONZALEZ REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   208359 GRISELLE RODRIGUEZ QUINTANA REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
          GRISELLE RODRIGUEZ
   208360 RODRIGUEZ                   REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   208361 GRISELLE RUIZ CANDELARIO    REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   662449 GRISELLE SANCHEZ GADIAN     URB COUNTRY CLUB                       J E 21 CALLE 242                                                                        CAROLINA             PR         00982
   662450 GRISELLE SANJURJO SOLIS     JARD DE RIO GRANDE                     78 CB 571                                                                               RIO GRANDE           PR         00745

   208363 GRISELLE SERRANO RODRIGUEZ                  REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   662451 GRISELLE SOTO ENCARNACION                   RESIDENCIAL QUINTANA   EDIF 24 APT 326                                                                         SAN JUAN             PR         00917
   662452 GRISELLE SOTO VELEZ                         HC 01 4232                                                                                                     LARES                PR         00669
   208364 GRISELLE T RIVERA TORRES                    REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   662453 GRISELLE TARDI ORTIZ                        URB LUCHETTI           A 4 CALLE 3 FLAMBOYAN                                                                   YAUCO                PR         00698
   208366 GRISELLE TORRES FELICIANO                   REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   662454 GRISELLE TORRES MORALES                     PO BOX 44                                                                                                      CABO ROJO            PR         00623
   208367 GRISELLE TORRES TORRES                      REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   208368 GRISELLE VARELA LOZADA                      REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   208369 GRISELLE VAZQUEZ RIVERA                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   662455 GRISELLE VELEZ GONZALEZ                     MINILLAS STATION       PO BOX 40549                                                                            SAN JUAN             PR         00940‐0549
   208370 GRISELLE Y RIVERA COLON                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   208371 GRISELLES ACOSTA HERNANDEZ REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   208372 GRISELLYS RIVERA FIGUEROA   REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   662456 GRISELT GARCIA MORALES      FAIR VIEW                              1 CALLE 17 URB SAN AGUSTIN                                                              SAN JUAN             PR         00926
   662457 GRISELY SOTO ORTIZ          HC 01 BOX 5702                                                                                                                 BARRANQUITAS         PR         00794
   662458 GRISELYS SOTO RAMIREZ       P O BOX 1525                                                                                                                   LARES                PR         00669
   662459 GRISER FIGUEROA GOMEZ       BAIROA                                 BY 6 CALLE 2                                                                            CAGUAS               PR         00725
          GRISES DE HUMACAO BEIBOL AA
   208373 INC                         MANSIONES DEL CARIBE                   1 CALLE APALO                                                                           HUMACAO              PR         00791
   208374 GRISET AMARO GARCIA         REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   662460 GRISET MARTIR VALENTIN      HC‐02 BOX 8419                                                                                                                 LAS MARIAS           PR         00670
   662461 GRISETH DE JESUS VEGA       RR 1 BOX 36                                                                                                                    CAROLINA             PR         00983
   208375 GRISETH MOJICA GONZALEZ     REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   208376 GRISETTE CANCEL PENA        REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   208377 GRISETTE DIAZ APONTE        REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   208378 GRISETTE RODRIGUEZ TORRES                   REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   662462 GRISHELL GARCUA GUZMAN                      URB STA MARIA          K 30 CALLE 8                                                                            TOA BAJA             PR         00949
   208379 GRISSEL COLLAZO BERRIOS                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   208380 GRISSEL CRESPO RODRIGUEZ                    REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   662463 GRISSEL D NIEVES SIERRA                     PO BOX 1648                                                                                                    VEGA BAJA            PR         00694
   208381 GRISSEL JIMENEZ MEDINA                      REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   208382 GRISSEL M NEGRON GONZALEZ                   REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   208383 GRISSEL M. SANTIAGO MARQUEZ REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   208384 GRISSEL MARRERO SOTOMAYOR REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   208385 GRISSEL MESTEY ORTIZ      REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   208386 GRISSEL MORALES RAMIREZ   REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   208389 GRISSEL SANTIAGO MARQUEZ  REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   662464 GRISSEL VAZQUEZ DIAZ      HC 02 BOX 33771                                                                                                                  CAGUAS               PR         00725‐9416



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  662465 GRISSEL ZAYAS CINTRON                        HC 1 BOX 7823                                                                                                         VILLABAL            PR           00766

   208393 GRISSELLE A RODRIGUEZ CRUZ                  REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   208395 GRISSELLE AGOSTO CASTILLO                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GRISSELLE BERMUDEZ
   662467 RODRIGUEZ                                   BUCAHANAN OFFICE CENTER     40 CARR 165 SUITE 304                                                                     GUAYNABO            PR           00968
   662468 GRISSELLE CASTILLO IGARTUA                  BO SAN ANTONIO              CARR 113 KM 5 H 4                                                                         QUEBADILLAS         PR           00678

   208396 GRISSELLE CORDERO MENDEZ                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   208397 GRISSELLE CORDOVA RIVERA                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   208398 GRISSELLE COTTO BURGOS                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   662470 GRISSELLE FALU CALDERON                     BUENA VISTA                 61 CALLE CEREZO URB VISTAMAR                                                              CAROLINA            PR           00983

   208399 GRISSELLE HERNANDEZ ROSADO                  REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   662472 GRISSELLE I NAVARRO MATOS                   PO BOX 24                                                                                                             TRUJILLO ALTO       PR           00977‐0024
   208400 GRISSELLE LEON MORALES                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   208401 GRISSELLE M BURES BERRY                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GRISSELLE M MACHADO
   208403 CORDERO                                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   208404 GRISSELLE M SANTIAGO ROSADO REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   208405 GRISSELLE MARTINEZ OCASIO   REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   662474 GRISSELLE MELENDEZ JORGE                    M 11 CALLE MOLAGROS CABEZA                                                                                            CAROLINA            PR           00987
   208406 GRISSELLE ORTIZ SANTIAGO                    REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   662475 GRISSELLE PENA MERCADO                      RES VISTAS DEL MAR         EDIF 4 APT 55                                                                              FAJARDO             PR           00738
   662476 GRISSELLE RIVERA ORTIZ                      PO BOX 2282                                                                                                           GUAYNABO            PR           00970‐2282

   208408 GRISSELLE RIVERA RODRIGUEZ                  REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   662477 GRISSELLE ROSA                              VALLE SAN LUIS              174 VIA DEL ROCIO                                                                         CAGUAS              PR           00725
   208409 GRISSELLE ROSADO SOTO                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   662478 GRISSELLE SALABERRIOS CUEVAS SAN FCO                                    11 EL TANQUE                                                                              ARECIBO             PR           00612
   208410 GRISSELLE SANTANA VARELA     REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   208411 GRISSELLE SANTOS HERNANDEZ                  REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   662479 GRISSELLE TORRES DEL VALLE                  2 BO MARIANA                HC 1 BOX 16861                                                                            HUMACAO             PR           00791
   662480 GRISSELLLE MORALES                          VILLA DE ANDALUCIA          J 8 CALLE CON APT 2                                                                       SAN JUAN            PR           00926
   208412 GRISSETTE DIAZ ALEMAN                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   208414 GRIVEJ MD, PAUNEL                           REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   662481 GRIZEL BETANCOURT                           HC 645 BOX 6394                                                                                                       TRUJILLO ALTO       PR           00976
   208415 GRIZEL GONZALEZ BONILLA                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GRIZEL MARTINEZ PACHECO/
   208416 CLASE GRADUANDA                             REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   662482 GRIZEL T BONNET DIAZ                        COND VILLAS DEL SOL         1 EDIF 1 APT A1                                                                           TRUJILLO ALTO       PR           00976
   208417 GRIZELLE RAMIREZ AULET                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   208418 GRIZZELLE MELENDEZ TORRES                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   208419 GRIZZETTE E DAVILA TORRES                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   208425 GROGAN MD , THOMAS J                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   662483 GROIF CLEANING SERVICES INC                 PO BOX 30158                                                                                                          SAN JUAN            PR           00929



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          GROMING MACHINE
   208427 CORPORATION                                 P O BOX 3825                                                                                                        MAYAGUEZ            PR           00681‐3825
   662484 GROMON WORKSHOP                             1015 N CAHVENGA BLVD                                                                                                HOLLYWOOD           CA           90038‐2616
          GROOMER'S HOUSE                             CALLE ARRIBA HEIGHTS BH‐18
   208428 DISTRIBUTOR                                 AVE MONSERRATE                                                                                                      CAROLINA            PR           00987

   662485 GRORIA M ARROYO RODRIGUEZ URB LOS CAOBOS                                  1477 CALLE JAGUEY                                                                     PONCE               PR           00716‐2360
   662486 GRORISELMA SOTO ROLON     PO BOX 2904                                                                                                                           CAROLINA            PR           00984
   208432 GROSS MD, MICHAEL         REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   208439 GROSSMONT HOSPITAL                          5555 GROSSMONT CENTER DR                                                                                            LA MESA             CA           91942
                                                      3100 EL CAMINO REAL
   208440 GROUND CONTROL                              ATASCADERO                                                                                                          CALIFORNIA          CA           93422

   662487 GROUP 5 INC.                                4 #24 GARDENS HILLS ESTATES                                                                                         GUAYNABO            PR           00966
          GROUP ASSOCIASTES LINKUP
   208441 ORGANIZATION                                SERVICES CORP                 1133 BROADWAY SUITE 1125                                                              NEW YORK            NY           10010‐2007
   662488 GROUP ASSOCIATES INC                        24175 NORTHWESTERN            HWY STE 200                                                                           SOUTHFIELD          MI           48075
   208442 GROUP INC CTPA                              57 CALLE NAVARRO                                                                                                    SAN JUAN            PR           00918
   208444 GROUP INCLUSION CORP                        PO BOX 190717                                                                                                       SAN JUAN            PR           00919
          GROUP INSURANCE SERVICES
   208445 INC                                         359 CUPEY PROFESSIONAL MALL AVE SAN CLAUDIO SUITE 308                                                               SAN JUAN            PR           00926
   208446 GROUP M/MEC GLOBAL                          B7 TABONUCO STREET          STE. 1506                                                                               GUAYNABO            PR           00968‐3028
          GROUP MANAGEMENTSERVICE
   208447 INC                                         EDIF SANTANA CRUZ 73          OFICINA 409                                                                           BAYAMON             PR           00959
   662490 GROUP SERVICES INC                          COND SAN ALBERTO              605 CONDADO ST SUITE 721                                                              SAN JUAN            PR           00907
   208448 GROUP TRADING                               B7 TABONUCO STREET            SUITE 1506                                                                            GUAYNABO            PR           00968‐3028
   208449 GROVAS ABAD MD, DAMIAN                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208451 GROVE HILL CLINIC                           300 KENSINGTON AVE                                                                                                  NEW BRITAIN         CT           06051
          GROVER DATA DEVICES
   208452 INTERNATIONAL INC, PATTY                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      PMB 253 AVE ESMERALDA 405
   662492 GROVER GUTIERREZ ONEILL                     STE 2                                                                                                               GUAYNABO            PR           00969‐4457
   662493 GROW & LEARN SOCIETY                        PMB 516                       PO BOX 819                                                                            LARES               PR           00669
          GROWING MINDS EARLY
   208455 LEARNING CENTER INC                         URB PALACIOS REALES           185 CALLE ZARZUELA                                                                    TOA ALTA            PR           00953
   208456 GRU MED CIDRENO                             PO BOX 1810                                                                                                         CIDRA               PR           00739
   208457 Grúas de Ponce, Inc.                        HC 2 Box 8001                                                                                                       Santa Isabel        PR           00757
   662494 GRUAS GONZALEZ                              481 CALLE JOSE B ACEVEDO                                                                                            SAN JUAN            PR           00923
   662495 GRUAS JISSIE ORTA                           COMUNIDAD CRISTIANA           BOX 77                                                                                JUANA DIAZ          PR           00795
   662496 GRUAS PAGAN                                 HC 01 BOX 8001                                                                                                      SANTA ISABEL        PR           00757
   208460 GRUAS PAGAN INC                             HC ‐ 02 BOX 8001                                                                                                    SANTA ISABEL        PR           00757
   208462 GRUAS PAGAN INC.                            HC 02 BOX 8001                                                                                                      SANTA ISABEL        PR           00757
   662497 GRUEROS DEL NORTE                           BOX 1129                                                                                                            VEGA ALTA           PR           00692‐1129
   662498 GRUMATECH DE PR                             PO BOX 3359                                                                                                         SAN JUAN            PR           00919
   208491 GRUPO ALVIRA PEREZ INC                      2301 AVE EDUARDO CONDE                                                                                              SAN JUAN            PR           00915
          GRUPO ANESTESIOLOGOS DE
   662499 OJOS                                        PO BOX 364089                                                                                                       SAN JUAN            PR           00936‐4089
          GRUPO APOYO NINOS Y ADOL.
   208492 COND. REUMAT.                               P.O. BOX 195206                                                                                                     SAN JUAN            PR           00919‐5206
          GRUPO APOYO UNIDOS EN
   208493 AMOR COLOSENSES 22                          PMB 40 P.O. BOX 2300                                                                                                AIBONITO            PR           00705




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          GRUPO AYUDA A LOS ANIMALES
   662500 INC                        PO BOX 141                                                                                                              FAJARDO             PR           00738‐0141
          GRUPO CACHO INC DBA INFRA  IRS ‐ ARIEL I. SANCHEZ / INFRA          CITY VIEW PLAZA II 48 CARR 165
   208494 LIMITED S E                LIMITED                                 STE 2000                                                                        GUAYNABO            PR           00968‐8000

   208495 GRUPO CARDIOLOGIA ATENAS    PO BOX 1150                                                                                                            MANATI              PR           00674
          GRUPO CONSULTORIO
   662501 FINANCIERO                  MSC 315                                202 A SAN JUSTO                                                                 SAN JUAN            PR           00901
          GRUPO COOP A/C MOP DE
   208497 PUERTO RICO                 URB PUERTO NUEVO                       450 AVE DE DIEGO                                                                SAN JUAN            PR           00920‐3707
          GRUPO COOP ACAP/ESCUELA                                            BO CAGUITAS CARR 156 KM 52
   208498 EZEQUIEL RAMOS              LA SANTA                               HC 2                                                                            AGUAS BUENAS        PR           00703
          GRUPO DE APOYO PARA NINOS Y CON CONDICIONES
   208500 ADOLECENTES                 REUMATOLOGICAS                         P O BOX 195206                                                                  SAN JUAN            PR           00919‐5206

   208501 GRUPO DE CIRUJANOS          CIRUGIA ORAL Y MAXILOFACIAL PO BOX 29736 65TH INF STA                                                                  SAN JUAN            PR           00929
          GRUPO DE CONSULTORIA EN
   662502 SERV PLANIF                 PO BOX 9021320                                                                                                         SAN JUAN            PR           00902‐1320
          GRUPO DE EX EMPLEADOS DEL ROBERTO O. MALDONADO           URB PUERTO NUEVO 344 CALLE
  1419953 HOTEL WESTIN                NIEVES                       7 NE STE 1A                                                                               SAN JUAN            PR           00920‐2405
          GRUPO DE MEDICINA FAMILIA Y                              611 CALLE MANUEL PAVIA SUITE
   662503 GERIATRIA                   DE SAN JUAN /D/B/A/ INDUMED 213                                                                                        SAN JUAN            PR           00910
          GRUPO DE ORNATO LOS
   208504 TALADORES DE MARIANA        BO MARIANA 2                 HC 01 BOX 17077                                                                           HUMACAO             PR           00791
          GRUPO DE SERVICIOS          EL PSICOLOGIA E INTEGRATIVOS
   208505 ESPECIALIZADOS              CORP                         P O BOX 3563                                                                              GUAYNABO            PR           00970‐3563
          GRUPO DENTAL AYALA DEL RIO
   208506 CSP                         PO BOX 9150                                                                                                            HUMACAO             PR           00792
          GRUPO DENTAL PASEO DE DIEGO
   662504 C S P                       8 PASEO DE DIEGO                                                                                                       SAN JUAN            PR           00925
          GRUPO DESARROLLADOR DE
   662505 DIEGO INC                   PO BOX 362823                                                                                                          SAN JUAN            PR           00936‐3823

   662506 GRUPO EDITORIAL CIRCULO INC                 URB FLAMINGO TERRACE   B 9 MARGINAL                                                                    BAYAMON             PR           00957

   662507 GRUPO EDUCATIVO AMBIENTAL PO BOX 190764                                                                                                            SAN JUAN            PR           00919‐0764
                                     EXT. SAN AGUSTIN Z‐28 CALLE
   208509 GRUPO EFEZETA,LLC          13                                                                                                                      SAN JUAN            PR           00926‐0000
   208510 GRUPO EGOS                 PO BOX 1028                                                                                                             FAJARDO             PR           00738
          GRUPO EMPRESAS DE SALUD DE
   662508 SAN JUAN                   PO BOX 193044                                                                                                           SAN JUAN            PR           00919‐3044

   662509 GRUPO EN TANDEM                             COND SAN RAFAEL        561 CALLE ENSENADA APTO 10 B                                                    SAN JUAN            PR           00907‐0190
          GRUPO ENANTONIO &
   208511 ASOCIADOS CORP                              URB FLORAL PARK        61 CALLE JOSE MARTI                                                             SAN JUAN            PR           00919
   208512 GRUPO EPEM CORP                             PO BOX 4212                                                                                            BAYAMON             PR           00958
          GRUPO ERANTONIO &
   208513 ASOCIADOS, CORP.                            PO BOX 190894                                                                                          SAN JUAN            PR           00919‐0894
   662510 GRUPO EXTASIS                               SABANERAS DEL RIO      35 CAMINO AZUCENAS                                                              GURABO              PR           00778

   662511 GRUPO FISIATRICO DE BAYAMON 301 INSTITUTO SAN PABLO                66 CALLE SANTA CRUZ                                                             BAYAMON             PR           00959
          GRUPO FISIATRICO DE RIO
   208517 GRANDE                      SAN FRANCISCO                          225 CALLE VIOLETA                                                               SAN JUAN            PR           00927



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          GRUPO FISIATRICO VILLA
   208518 CARMEN                                      PO BOX 9328                                                                                               CAGUAS              PR           00726‐9328
          GRUPO FISIATRICO Y TERAPIA
   662512 FISICA                                      PO BOX 3390                                                                                               MAYAGUEZ            PR           00681

          GRUPO GASTROENTREOLOGICO
   208522 DEL CARIBE                                  URB LA VISTA                 E‐6 DIAZ LADERA                                                              SAN JUAN            PR           00924
   662513 GRUPO GENESIS                               TERRAZA DEL TOA              IP 23 CALLE 9                                                                TOA ALTA            PR           00953
   208523 GRUPO GIGANTES INC                          1027 AVE J T PINERO                                                                                       SAN JUAN            PR           00920
   208525 GRUPO GINECOLOGIA RCM                       PO BOX 365067                                                                                             SAN JUAN            PR           00936
          GRUPO GUAYACANES DE SAN
   662514 ANTON INC                                   URB CONSTANCIA               3235 LAFAYETTE                                                               PONCE               PR           00717‐2240
   208526 GRUPO HIMA SAN PABLO INC                    P O BOX 4980                                                                                              CAGUAS              PR           00726
   662515 GRUPO INESTABLE INC                         URB LA MERCED                467 CALLE ARRIGOITIA                                                         SAN JUAN            PR           00918
          GRUPO INFECTOLOGICO DEL
   208527 TURABO                                      PO BOX 7157                                                                                               CAGUAS              PR           00726
          GRUPO INTENSIVO PEDIATRICO                  SAN JORGE MEDICAL BLDG SUITE
   208528 CSP                                         406                          252 CALLE SAN JORGE                                                          SAN JUAN            PR           00912

          GRUPO INTERVENCIONAL PARA
   208529 EL CONTROL DEL DOLOR                        PO BOX 2548                                                                                               BAYAMON             PR           00960‐2548
   662516 GRUPO MANIA                                 PO BOX 3030                                                                                               GUAYNABO            PR           00970
          GRUPO MANUFACTURERO
   208530 VAZQUEZ INC                                 PMB 134                      PO BOX 30400                                                                 MANATI              PR           00674
          GRUPO MASSON EDITORIAL
   662517 GARSI                                       RONDA GENERAL MITRE 149                                                                                   BARCELONETA                      08022
          GRUPO MEDICO ALBERGUE
   208532 OLIMPICO RCM                                PO BOX 2004                                                                                               SALINAS             PR           00751
   208533 GRUPO MEDICO CASTANER                       13 CALLE NATTEI LLUBERAS                                                                                  YAUCO               PR           00698
   208534 GRUPO MEDICO CASTAÑER                       PO BOX 383                                                                                                LARES               PR           00669
          GRUPO MEDICO CASTAÑER
   208535 YAUCO                                       13 MATTEI LLUBERAS                                                                                        YAUCO               PR           00698

   208537 GRUPO MEDICO DEL NORESTE                    PMB 147                      PO BOX 1981                                                                  LOIZA               PR           00772
   208540 GRUPO MEDICO EMMANUEL                       APARTADO 489                                                                                              BARRANQUITAS        PR           00794
   208543 GRUPO MEDICO LA AMISTAD                     HC 1 BOX 8017                                                                                             TOA BAJA            PR           00949
   208545 GRUPO MEDICO LAFAYETTE                      AC1 JARDINES DE LAFAYETTE                                                                                 ARROYO              PR           00714
   208549 GRUPO MEDICO SAN PABLO                      ATT RECORD MEDICOZ           B7 CALLE SANTA CRUZ                                                          BAYAMON             PR           00961

   208550 GRUPO MEDICO SANTA CRUZ                     EDIF SANTA CRUZ              73 CALLE SANTA CRUZ STE 314                                                  BAYAMON             PR           00961
   208552 GRUPO MENTE INC                             PMB 847 P O BOX 7891                                                                                      GUAYNABO            PR           00970‐7891
          GRUPO MUSICAL TRUCO Y
   662519 ZAPEROKO                                    CAMINO DE VELARDE            NH 19 MANSION DEL NORTE                                                      TOA BAJA            PR           00949
          GRUPO NEUMOLOGICO DE
   662520 CAGUAS                                      PO BOX 9240                                                                                               CAGUAS              PR           00726‐4900
                                                                                   2 CALLE MUNOZ RIVERA OFIC
   208554 GRUPO NEUROLOGIA AVANZADA COND PROFESIONAL                               213                                                                          CAGUAS              PR           00725
          GRUPO NEUROLOGICO SANTOS
   208556 DELIZ                     1400 AVE SUR STE 160                           ESCORIAL BUILDING                                                            CAROLINA            PR           00987
          GRUPO NEUROQUIRURGICO DEL
   662521 OEST                      S 101 EDIF MEDICAL EMPIRE                                                                                                   MAYAGUEZ            PR           00680
   208557 GRUPO NIX LLC             SAN JUSTO 1204                                                                                                              SAN JUAN            PR           00901
   208558 GRUPO NORTE INC           PO BOX 361669                                                                                                               SAN JUAN            PR           00936‐1669



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                                                      130 WINSTON CHURCHILL SUITE
   208559 GRUPO NOVEL , INC                           PMB‐248                                                                                                    SAN JUAN            PR           00926‐6018
          GRUPO NOVEL INC/BANCO                       130 WINSTON CHURCHILL AVE
   208560 FINANCIERO DE PR                            130                         SUITE 1 PMB 248                                                                SAN JUAN            PR           00926‐6018
          GRUPO OB GIN MAYAGUEZ /
   662522 ANGELICA GUZMAN                             PO BOX 1496                                                                                                MAYAGUEZ            PR           00681
          GRUPO ONCOLOGICO
   208561 COMUNITARIO DE SAN JUAN                     PMB 320                     PO BOX 70344                                                                   SAN JUAN            PR           00983‐7344
          GRUPO
          OTORRINOLARINGOLIGICO UPR
   208562 PSC                                         PO BOX 6494                                                                                                MAYAGUEZ            PR           00681
          GRUPO
          OTORRINOLARINGOLOGICO DE                    BAYAMON MEDICAL PLAZA STE
   208563 PR                                          105                                                                                                        BAYAMON             PR           00960
   208564 GRUPO PEDIATRICO CIDREÑO                    PO BOX 6030                                                                                                CAGUAS              PR           00726
          GRUPO PEDIATRICO CIUDAD
   208565 UNIVERSITARIA                               MANS DE RIO PIEDRAS         1795 CALLE GARDENIA                                                            SAN JUAN            PR           00926

   208568 GRUPO PEDIATRICO SAN MIGUEL PO BOX 1596                                                                                                                TRUJILLO ALTO       PR           00977
          GRUPO PEDIATRICO SAN
   662523 PATRICIO                    PMB 204 P O BOX 7891                                                                                                       GUAYNABO            PR           00970‐7891
   208570 GRUPO PEIRONA INC           PO BOX 250164                                                                                                              AGUADILLA           PR           00604
   208571 GRUPO PENOLANO DE SALUD     PO BOX 8                                                                                                                   PEÐUELAS            PR           00624

   208573 GRUPO PERIODISTICO NDC CORP P O BOX 9023025                                                                                                            SAN JUAN            PR           00902‐3025
          GRUPO PRO DERECHOS
   662524 REPRODUCTIVOS               P O BOX 191622                                                                                                             SAN JUAN            PR           00919
   208575 GRUPO PSICOLOGICO INC.      CALLE ASHFORD 61 SUR                                                                                                       GUAYAMA             PR           00784

   208576 GRUPO PSICOLOGICO INTEGRAL                  PO BOX 878                                                                                                 BAYAMON             PR           00960‐0878
   662525 GRUPO PSIQUIATRICO C S P                    PO BOX 19234                                                                                               SAN JUAN            PR           00910
          GRUPO QUINONES
   208578 SUPERMERCADO INC/                           DBA SELECTOS PALACIOS       2000 CARR 8177 PMB 216 STE 26                                                  TOA ALTA            PR           00966‐3762
          GRUPO QUIRUGICO BETANCES C
   662526 S P                                         P O BOX 2636                                                                                               MAYAGUEZ            PR           00681‐2636

   662527 GRUPO QUIRURGICO DEL ESTE                   9 CALLE FLOR GERENA                                                                                        HUMACAO             PR           00791
          GRUPO RADIOTERAPIA DEL
   208580 NORTE                                       PMB 298 BOX 30500                                                                                          MANATI              PR           00674
   208581 GRUPO REAL                                  URB LIRIO ESCALA            549 CALLE SAN MATEO                                                            JUNCOS              PR           00777
   208582 GRUPO REDBORICUA                            AREA DEL TESORO             DIVISION DE RECLAMACIONES                                                      SAN JUAN            PR           00902‐4140
   662530 GRUPO RITMICO CRIOLLO                       HC 1 BOX 8482                                                                                              AGUAS BUENAS        PR           00703
   208584 GRUPO RODAS, MDP, INC.                      PO BOX 629                                                                                                 DORADO              PR           00646‐0629
   208585 GRUPO SAN ANTONIO INC                       P O BOX 7891 PMB 210                                                                                       GUAYNABO            PR           00970‐7491
   662531 GRUPO SAN LORENZO S E                       P O BOX 2080                                                                                               CAYEY               PR           00737
   208586 GRUPO SERRAMAL, INC                         PO BOX 881                                                                                                 OROCOVIS            PR           00720
   208588 GRUPO SOMOS INC                             P O BOX 0396                                                                                               BAYAMON             PR           00960‐0396
   208589 GRUPO TERAPEUTICO OASIS                     124 CALLE JOSE I QUINTON    ANTIGUO HOSPITAL                                                               COAMO               PR           00769
          GRUPO VISION EMPRESARIAL                                                URB RIVER PLANTATION 98 C/
   208590 DBA CELESTINO                               RIVERA LOPEZ                GUMANI                                                                         CANOVANAS           PR           00729‐4322
   662532 GRUPO X TASIS                               VILLA CAROLINA              39‐17 CALLE 37                                                                 CAROLINA            PR           00985

   662533 GRYMARYS DE JESUS AFANADOR COND ALTOS DE LA COLINA 508                                                                                                 SAN JUAN            PR           00926



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   208591 GS ENTERPRISES LLC                          CALLE ESTEBAN PADILLA #60 E                                                                                           BAYAMON             PR           00959
   208592 GS3 CORPORATION                             206 SAN FRANCISCO STREET                                                                                              SAN JUAN            PR           00901
   208593 GSA LAW LLC                                 P O BOX 363505                                                                                                        SAN JUAN            PR           00936‐3505
   662534 GSA SAN JUAN                                GSA CENTER 651                FEDERAL SUITE 118‐03                                                                    GUAYNABO            PR           00965
          GSS GLOBAL SERVICES
   208595 SOLUTIONS, INC                              P O BOX 141617                                                                                                        ARECIBO             PR           00614
   662535 GT BONDRED BRAKE DIST                       HC 03 BOX 13987                                                                                                       COROZAL             PR           00783

   208596 GT BUSINESS CONSULTING PSC                  PMB 317                       200 RAFAEL CORDERO STE 140                                                              CAGUAS              PR           00725
   208597 GT CORP                                     AREA DE TESORO                DIVISION DE CONCILIACION                                                                SAN JUAN            PR           00902‐4140
          GT CORP GONZALEZ TRANDING
   208600 DIV.                                        PO BOX 364884                                                                                                         SAN JUAN            PR           00936‐4884
                                                      CALLE PARANA #1716 EL
   208602 GT CORPORATION                              CEREZAL                                                                                                               RIO PIEDRAS         PR           00923‐0000
   208604 GT GONZALEZ TRADING                         PO BOX 364884                                                                                                         SAN JUAN            PR           00936‐4884
   662536 GT MUSIC                                    PLAZA RIO HONDO               ZMS SUITE 491                                                                           BAYAMON             PR           00961‐3100
                                                      IBM BUILDING SUITE 1114654
   208605 GT SERVICES , INC.                          AVE. MUNOZ RIVERA                                                                                                     SAN JUAN            PR           00918‐0000
   208606 GT SOFTWARE                                 235 PEACHTOREE STREET         NE SUITE 1400                                                                           ATLANTA             GA           30303
          GT TELECOM AND ELECTRICAL
   662537 SOLUTIONS CO                                PO BOX 6017 SUITE 328                                                                                                 CAROLINA            PR           00984‐6017

   662538 GTE EDUCATION SERVICES INC                  PO BOX 911527                                                                                                         DALLAS              TX           75391

   662539 GTE INTERNATIONAL INC                       METRO SQUARE BLDG SUITE 101                                                                                           GUAYNABO            PR           00968‐1724
   208607 GTECH                                       RR 4 BOX 537 BO ORTIZ                                                                                                 TOA ALTA            PR           00953
   662541 GTECH CORPORATION                           MERCANTIL PLAZA SUITE 807                                                                                             SAN JUAN            PR           00918

   208608 GTP ACQUISITION PARTNERS II LL BOCA RATON                                 PO BOX 811510                                                                           BOCA RATON          FL           33481
   662542 GTS MANAGEMENT INC             PO BOX 270010                                                                                                                      SAN JUAN            PR           00927‐0010
   208609 GUACOSO AUTO SALES INC         PMB 524                                    HC 1 BOX 29030                                                                          CAGUAS              PR           00725
   208610 GUADALAJARA INC                AVE CHARDON ESQ OLIVER                     PLAZA CHARDON 5                                                                         SAN JUAN            PR           00918
          GUADALUPE A RODRIGUEZ
   208611 GUEDE                          REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUADALUPE AMADOR MD,
   208624 YADIRA                         REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   208626 GUADALUPE ANABITARTE CRUZ                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662543 GUADALUPE ANDINO CUBA                       HC 02 BOX 7913                                                                                                        CAMUY               PR           00627

   662544 GUADALUPE APONTE BURGOS                     HC 01 BOX 2418                                                                                                        BARRANQUITAS        PR           00794

   662545 GUADALUPE AVILA RAMOS                       URB ALTURAS DE MONTE BRISAS 4 E 33 CALLE 4 8                                                                          FAJARDO             PR           00985
  1419954 GUADALUPE BAEZ, RAUL                        JAVIER MORALES RAMOS        PO BOX 36277                                                                              SAN JUAN            PR           00936‐2677
          GUADALUPE BERDECIA
   208638 MARTINEZ                                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   208641 GUADALUPE BERNARD MATOS                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUADALUPE BUTLER &
   208652 MARGARITA BUTLER                            REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662546 GUADALUPE C CABRERA                         URB QUINTAS REALES            Q 1 CALLE REY JORGE V                                                                   GUAYNABO            PR           00969
   662547 GUADALUPE CORA ANGULO                       SAINT JUST                    K3 H5 CALLE PRINCIPAL                                                                   CAROLINA            PR           00985



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                                                      251 CALLE BARTOLOME LAS
   662548 GUADALUPE CRUZ DEL VALLE                    CASAS                                                                                                             SAN JUAN              PR           00915

   208671 GUADALUPE CRUZ MD, MIRIAM REDACTED                                          REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          GUADALUPE ESPINOSA
   662549 GONZALEZ                  HDA SAN NICOLAS TOLENTINO                         97 ECHEGARAY                                                                      NAUCALPAN                          53300

   662550 GUADALUPE FIGUEROA PAGAN                    SAN AGUSTIN                     378 SOLDADO LIBRAN                                                                SAN JUAN              PR           00923
   662551 GUADALUPE FRET BARRETO                      PO BOX 1899                                                                                                       VEGA BAJA             PR           00694
          GUADALUPE GONZALEZ
   662552 HERNANDEZ                                   HC 3 BOX 16144                                                                                                    QUEBRADILLAS          PR           00678
   662554 GUADALUPE LOPEZ LOPEZ                       P O BOX 141                                                                                                       BARRANQUITAS          PR           00749
          GUADALUPE MANZANERO
   208735 BRICENO                                     REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   208747 GUADALUPE MATOS JUSINO                      REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   662556 GUADALUPE MEDINA CARRERO                    PO BOX 336801                                                                                                     PONCE                 PR           00733‐6801
   662557 GUADALUPE MONTERO DIAZ                      HC 37 BOX 3627                                                                                                    GUANICA               PR           00653
          GUADALUPE MORALES
   662558 MARTINEZ                                    PO BOX 740                                                                                                        YAUCO                 PR           00698

   208772 GUADALUPE PACHECO RAMIREZ REDACTED                                          REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   662559 GUADALUPE PEREZ SANCHEZ     PO BOX 481                                                                                                                        VEGA BAJA             PR           00694
   662560 GUADALUPE PRADO RUIZ        BDA SANDIN                                      15 CALLE MERCURIO                                                                 VEGA BAJA             PR           00693
          GUADALUPE QUINONES Y JOSE E
   208791 QUINONES F                  REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   662561 GUADALUPE REINOSO RAMOS     BO OBRERO                                       659 CALLE 10                                                                      SAN JUAN              PR           00915
          GUADALUPE RODRIGUEZ DE
   662562 LEON                        URB COLINAS VERDES                              D 20 CALLE 2                                                                      SAN JUAN              PR           00924
   662564 GUADALUPE ROSADO ROMAN      JARDINES COUNTRY CLUB                           CALLE 133 CW 8                                                                    CAROLINA              PR           00983
          GUADALUPE ROSARIO
   662565 CARMONA                     PO BOX 487                                                                                                                        NAGUABO               PR           00744
   208863 GUADALUPE SOTO LOPEZ        REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   662567 GUADALUPE TORRES REYES      PO BOX 1287                                                                                                                       SAINT JUST            PR           00976

   662568 GUADALUPE VALENTIN ROSA                     EDIF 21 APT 98, RES. EL PRADO                                                                                     SAN JUAN              PR           00926
   208915 GUADAWED AMBULANCE INC                      HC 02 BOX 12142                                                                                                   GURABO                PR           00778

   208917 GUAILI ANTONIO SOSA PASCUAL                 REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   208918 GUAJASOFT INC                               PO BOX 1345                                                                                                       QUEBRADILLAS          PR           00678
          GUAJATACA CHRISTIAN
   208919 ACADEMY                                     PO BOX 246                                                                                                        CAMUY                 PR           00627
          GUAJATACA CONSTRUCTION
   208920 CORP                                        PO BOX 78                                                                                                         SAN SEBASTIAN         PR           00685

   662570 GUALBERTO BUSIGO ALVAREZ                    URB VILLAS DEL MADRIGAL         A 6 CALLE 1                                                                       CAROLINA              PR           00987
   662573 GUALBERTO CLAUDIO BVAEZ                     RR 7 BOX 7761                                                                                                     SAN JUAN              PR           00926

   208934 GUALBERTO DEL TORO COLBERG REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   662574 GUALBERTO DIAZ PEREZ       HC 03 BOX 6206 1                                                                                                                   HUMACAO               PR           00791

   208935 GUALBERTO GARCIA OQUENDO                    REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED




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   662575 GUALBERTO GONZALEZ CENATI                   VILLA CAROLINA              116‐10 CALLE 74                                                                    CAROLINA            PR           00985

   662571 GUALBERTO HERNANDEZ LOPEZ URB LOS PINOS G 13                                                                                                               HUMACAO             PR           00791

   662576 GUALBERTO HUERTAS ALVAREZ                   8 CALLE WILSON                                                                                                 UTUADO              PR           00641
   208936 GUALBERTO INGLES AMARO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   208937 GUALBERTO IRIZARRY ZAPATA                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208938 GUALBERTO J MENDEZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUALBERTO L BORRERO
   662577 ALDAHONDO                                   COND BORINQUEN TOWERS III   1482 AVE FD ROOSEVELT                                                              SAN JUAN            PR           00920‐2735

   208939 GUALBERTO L DE LEON GARCIA                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662572 GUALBERTO L DE LEON GARCIA                  PO BOX 192835                                                                                                  SAN JUAN            PR           00919‐2835
          GUALBERTO MARTINEZ
   208940 SANTIAGO                                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662578 GUALBERTO MEDINA BRUNO                      P O BOX 1880                                                                                                   MANATI              PR           00674
          GUALBERTO MELENDEZ
   662579 MARTINEZ                                    17 CALLE ANTONIO ARROYO                                                                                        MAUNABO             PR           00707

   662580 GUALBERTO MENENDEZ LUGO                     P O BOX 399                                                                                                    MANATI              PR           00674

   208941 GUALBERTO NEGRON MARTINEZ REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662582 GUALBERTO OQUENDO LAJARA                    URB SANTA CLARA             A10 CALLE MAGA # 2                                                                 GUAYNABO            PR           00969

   208942 GUALBERTO PEDROZA SERRANO REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662583 GUALBERTO PEREZ LARACUENTE BO BALBOA                                    79 CALLE DULIEBRE                                                                  MAYAGUEZ            PR           00680‐5211
          GUALBERTO R RODRIGUEZ / ARIS
   208943 FELICIANO                    REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208944 GUALBERTO RIVAS DELGADO      REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   208946 GUALBERTO ROSARIO FERREIRA REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662585 GUALBERTO SANCHEZ MARRERO HC 01 BOX 5668                                                                                                                   CIALES              PR           00628
   662587 GUALBERTO SANTANA         10 COUCH ST 1                                                                                                                    NORWALK             CT           06854 2026
          GUALBERTO SANTANA
   208948 MONTANEZ                  REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   208949 GUALBERTO VEGA CORTES     REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   208952 GUALDARRAMA PEREZ, BRYAN                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662588 GUAMANI AUTO SALES                          HC‐03 P.O. BOX 13367                                                                                           JUANA DIAZ          PR           00795‐9513
   662589 GUAMANI ESSO                                P O BOX 892                                                                                                    GUAYAMA             PR           00785
          GUAMANI ESSO SERVICE
   662590 STATION                                     PO BOX 1897                                                                                                    CAYEY               PR           00737
          GUANABACOA LLC H/N/C
   208954 SUBWAY                                      P O BOX 16665                                                                                                  SAN JUAN            PR           00908665

   208955 GUANABO LLC H/N/C/ SUBWAY                   P O BOX 16665                                                                                                  SAN JUAN            PR           00908‐6665
   662591 GUANAGIBO GULF                              P O BOX 796                                                                                                    PONCE               PR           00732



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  662592 Guanami Auto Sales                            apartado 2004                                                                                                        Guayama             PR           00785

   662594 GUANERGES JIMENEZ CABRERA                    URB MONTE BRISAS              3 R 23 CALLE 106                                                                       FAJARDO             PR           00738

   662595 GUANI E ROSADO RIVERA                        29 CALLEJON PROGRESO PDA 20                                                                                          SAN JUAN            PR           00909
   662596 GUANICA LUMBER YARD                          BOX 207                                                                                                              GUANICA             PR           00653
   662597 GUANICA SERVICE STATION                      76 CALLE 25 DE JULIO                                                                                                 GUANICA             PR           00653
   208957 GUANIN FOURNIER VAZQUEZ                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   208959 GUANINA BIRRIEL QUILES                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   662598 GUANINA ILLAS MORALES                        453 CALLE PROGRESO                                                                                                   AGUADILLA           PR           00603
          GUANTE VERA, ALBERTO Y
  1419955 OTROS                                        DANIEL R. MARTÍNEZ AVILÉS     1113 AVE. JESÚS T. PIÑERO                                                              SAN JUAN            PR           00920‐5605
   208965 GUARA BI                                     P. O. BOX 6581                                                                                                       CAGUAS              PR           00726‐0000
   208966 GUARA BI INC                                 AREA DEL TESORO               DIVISION DE RECLAMACIONES                                                              SAN JUAN            PR           00902‐4140
   208969 GUARAGUAO TRUCK SALES                        PO BOX 3177                                                                                                          BAYAMON             PR           00960

   208970 GUARAGUAO TRUCK SALES INC                    PO BOX 3177                                                                                                          BAYAMON             PR           00960‐3177
          GUARANTEE TRUST LIFE
   208971 INSURANCE CO                                 1275 MILWAKE AVENUE                                                                                                  GLENVIEW            IL           60025‐2489
          GUARANTY NATIONAL                            9300 ARROWPOINT BLVD M/S
   662599 INSURANCE COMPANY                            2210                                                                                                                 CHARLOTTE           NC           28273
   208979 GUARDABOSQUE 7‐13                            QUINTAS DE DORADO             L 3 C/ FICUS                                                                           DORADO              PR           00646
          GUARDARRAYA SERVICE
   662600 STATION                                      HC 764 BUZON 8275                                                                                                    PATILLAS            PR           00723
          GUARDERIA INFANTIL CARRUSEL
   662601 INC                                          URB VILLA ORIENTE             49 CALLE A                                                                             HUMACAO             PR           00791
          GUARDIA NACIONA/WILBERT
   208989 ORTIZ RODRIGUEZ                              PO BOX 9023786                                                                                                       SAN JUAN            PR           00902‐3786
          GUARDIA NACIONAL DE P R
   662602 OFICIAL PAGADOR                              PO BOX 9023786                                                                                                       SAN JUAN            PR           00902‐3787
          GUARDIAN ELECTRONIC
   208994 SECURITY                                     P O BOX 13966                                                                                                        SAN JUAN            PR           00908
          GUARDIAN ELECTRONIC
   208995 SECURITY SERVICES                            P O BOX 13966                                                                                                        SAN JUAN            PR           00908‐3966
          GUARDIAN ELECTRONIC
   208996 SECURITY SERVICES, INC.                      PO BOX 13966                                                                                                         SAN JUAN            PR           00908
          GUARDIAN ELECTRONIC
   208997 SEGURITY                                     P O BOX 13966                                                                                                        SAN JUAN            PR           00908‐3966
          GUARDIAN INSURANCE
   208998 COMPANY                                      PO BOX 9109                                                                                                          ST THOMAS           VI           00801
          GUARDIANES DE DORADO
   209002 BASEBALL CLUB INC                            425 CARR 6963 SDE 1 PMB 341                                                                                          DORADO              PR           00646‐4817
          GUARDIOLA CRUZADO MD,
   209006 ARMANDO                                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GUARDIOLA DOMINGUEZ MD,
   209009 ALBERTO                                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GUARIN RODRIGUEZ
   662603 HERNANDEZ                                    BO CUCHILLA LOS RAMOS         30 CALLE JUAN VALENTIN                                                                 MAYAGUEZ            PR           00680
   662604 GUARINA BAKERY                               URB EL MADRIGAL               1 CALLE 8 1                                                                            PONCE               PR           00730
   662605 GUARIOL MARIA CASTRO                         URB RIO GRANDE ESTATES        V 35 CALLE 24                                                                          RIO GRANDE          PR           00745‐5105

   209044 GUARIONEX CANDELARIA RIVERA REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED




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          GUARIONEX DE LOS SANTOS
   209045 OZUNA                                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUARIONEX FERNANDEZ DE
   662607 LEON                                        18 SANTIAGO R PALMER ESTE                                                                                             MAYAGUEZ            PR           00680

   662608 GUARIONEX GALARZA GONZALEZ HC 2 BOX 11928                                                                                                                         YAUCO               PR           00698

   209046 GUARIONEX JIMENEZ TRINIDAD                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   209047 GUARIONEX LIZARDI BARBOSA                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   209048 GUARIONEX LLINAS                            REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   209049 GUARIONEX ORTIZ COLON                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662609 GUARIONEX POURIET OLI                       BO OBRERO 2268 CALLE LIMA                                                                                             SAN JUAN            PR           00915
   209050 GUARIONEX RIVERA COLON                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   209051 GUARIONEX RIVERA ORTIZ                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUARIONEX SANCHEZ
   662611 VELAZQUEZ                                   COMUNIDAD LA DOLORES          169 CALLE TAINO                                                                         RIO GRANDE          PR           00745

   208870 GUARIONEX VERDEJO SANTANA                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662612 GUARO'S TIRE CENTER                         CARR 189                      HC 1 BOX 9470                                                                           GURABO              PR           00778
          GUASP & PARTNER
   662613 COMMUNICATIONS                              SUITE 112 MSC 358             100 GRAND BOULEVARD PASEOS                                                              SAN JUAN            PR           00926‐5955
          GUASTELLA FILM PRODUCERS
   662614 INC                                         PO BOX 366221                                                                                                         SAN JUAN            PR           00936 6221
   209079 GUASTELLA MARINO                            REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUATEQUE TALLER FOLKLORICO
   209080 DE P R INC                                  HC 4 BOX 6894                                                                                                         COROZAL             PR           00783
   209082 GUATUS PAPA                                 REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662615 GUAVATE ESSO SERVICE                        BO GUAVATE                    21701 SECC RIVERA                                                                       CAYEY               PR           00736
   662616 GUAYABAL AUTO CORP.                         PO BOX 1898                                                                                                           JUANA DIAZ          PR           00795
          GUAYACAN FUND OF FUNDS II L
   662617 P                                           36 CORPORATE OFFICE PARK      CARR 20 SUITE 707                                                                       GUAYNABO            PR           00966
   662618 GUAYAMA AUTO AIR                            PO BOX 211                                                                                                            GUAYAMA             PR           00785
   662619 GUAYAMA AUTO ELECT                          URB COSTA AZUL                A 2 CALLE 3                                                                             GUAYAMA             PR           00781
   209084 GUAYAMA AUTO REPAIR                         PO BOX 1019                                                                                                           GUAYAMA             PR           00785
          GUAYAMA AUTO REPAIR/ DBA
   209085 EDUARDO CINTRON                             PO BOX 1019                                                                                                           GUAYAMA             PR           00785‐0000
   662620 GUAYAMA BABY CENTER                         10 CALLE MC ARTHUR                                                                                                    GUAYAMA             PR           00785
   662621 GUAYAMA BEAUTY SUPPLY                       12 CALLE HOSTOS                                                                                                       GUAYAMA             PR           00784
          GUAYAMA BROADCASTING
   662622 COMP.INC.                                   PO BOX 1590                                                                                                           GUAYAMA             PR           00785
   662624 GUAYAMA CASH & CARRY INC                    P O BOX 2895                                                                                                          GUAYAMA             PR           00785‐2895
                                                      URB BELLO HORIZONTE CALLE 7
   209086 GUAYAMA CATERING SERVICE                    C‐3                                                                                                                   GUAYAMA             PR           00784

   209087 GUAYAMA CATERING SERVICES URB BELLO HORIZONTE                             C 3 CALLE 7                                                                             GUAYAMA             PR           00784
          GUAYAMA DE LA ASOCIACION DE
   209089 MAESTROS                    PO BOX 907                                                                                                                            GUAYAMA             PR           00785‐0907
          GUAYAMA DELMAR ELDERLY
   209090 LIMITEDPARNERSHIP           P O BOX 195288                                                                                                                        SAN JUAN            PR           00919‐5288
   662625 GUAYAMA DENTAL CENTER       5 AVE LOS VETERANOS                                                                                                                   GUAYAMA             PR           00784
   662627 GUAYAMA DEPORTIVO           P O BOX 2970                                                                                                                          GUAYAMA             PR           00785
   662628 GUAYAMA DIAGNOSTICS         P O BOX 11126                                                                                                                         SAN JUAN            PR           00910‐2226



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  209091 GUAYAMA F.C INC             PO BOX 3365                                                                                                             GUAYAMA             PR           00785
         GUAYAMA FLEET CARE          CARRETERA NUM.3 KM.140.5
  209092 SERVICE,INC                 BOX 2742                                                                                                                GUAYAMA             PR           00784
         GUAYAMA FLEET CARE SERVICES
  209093 INC                         PO BOX 2742                                                                                                             GUAYAMA             PR           00785
  662629 GUAYAMA FUTBOL CLUB INC     LOS ALGARROBOS                              H‐5 CALLE A                                                                 GUAYAMA             PR           00784
         GUAYAMA HOUSING
  209094 DEVELOPMENT INC             PO BOX 195288                                                                                                           SAN JUAN            PR           00919
  662630 GUAYAMA IRON WORKS          915 CALLE SAN CIPRIAN                                                                                                   GUAYAMA             PR           00784
  209095 GUAYAMA MOTORS              AREA DEL TESORO                             DIVISION DE RECLAMACIONES                                                   SAN JUAN            PR           00902‐4140
  662631 GUAYAMA OFFICE SUPPLIES     PO BOX 238                                                                                                              GUAYAMA             PR           00785

   662632 GUAYAMA OFFICE SUPPLIES INC. P O BOX 238                                                                                                           GUAYAMA             PR           00785
   662634 GUAYAMA OIL                  P O BOX 431                                                                                                           ARROYO              PR           00714
   662635 GUAYAMA SPORT SHOP           25 FRANCISCO G. BRUNO                                                                                                 GUAYAMA             PR           00784
   662636 GUAYAMA SUPER GULF           P O BOX 1047                                                                                                          GUAYAMA             PR           00785
   662637 GUAYAMA UNIFORMS             11 MC ARTHUR                                                                                                          GUAYAMA             PR           00784
   662638 GUAYANILLA AUTO AIR          URB SANTA ELENA                           J 16 CALLE 1                                                                GUAYANILLA          PR           00656
   662639 GUAYANILLA AUTO PAINTS       76 MUNOZ RIVERA                                                                                                       GUAYANILLA          PR           00656

   662640 GUAYANILLA BABY FOOD CENTER 1 CALLE JOSE DE DIEGO                                                                                                  GUAYANILLA          PR           00656
   209098 GUAYANILLA CAR CARE INC     29 CALLE ISABELA                                                                                                       GUAYANILLA          PR           00656
   662641 GUAYANILLA DRY CLEANING     PO BOX 561179                                                                                                          GUAYANILLA          PR           00656
   662642 GUAYANILLA ELECTRONICS      BOX 560309                                                                                                             GUAYANILLA          PR           00656
   662643 GUAYANILLA GAS SERVICE      PO BOX 284                                                                                                             GUAYANILLA          PR           00656

   662644 GUAYANILLA HEAVY EQUIPMENT HC‐01 BOX 6778                                                                                                          GUAYANILLA                       00656

   662645 GUAYANILLA SERVICE STA. SHELL PO BOX 544                                                           GUAYANILLA                                      GUAYANILLA          PR           00656
   662646 GUAYANILLA SERVICES SHELL     P O BOX 544                                                                                                          GUAYANILLA          PR           00656

   209100 GUAYANILLA TRACK & FIELD INC                PO BOX 560398                                                                                          GUAYANILLA          PR           00656
          GUAYNABO AL DIA DBA IVETTE
   662647 TORO SANTIAGO                               148 CALLE CARAZO                                                                                       GUAYNABO            PR           00969
          GUAYNABO AUTO PARTS/ L.
   662648 SILVA                                       HC‐58 BOX 9481             BO GUAYABO                                                                  AGUIRRE             PR           00602
   209101 GUAYNABO AUTO SOUND INC                     PO BOX 896                                                                                             GUAYNABO            PR           00970
          GUAYNABO BASKETBALL
   209104 ACADEMY INC                                 URB SAGRADO CORAZON        434 C/ SAN JULIAN                                                           SAN JUAN            PR           00924
          GUAYNABO CITY CHRISTMAS
   209105 TREES                                       CARR 199 AVE LAS CUMBRES                                                                               GUAYNABO            PR           00969
   209106 GUAYNABO DAY CARE LLC                       PO BOX 1078                                                                                            GUAYNABO            PR           00970‐1078
   662649 GUAYNABO DESTAPE INC                        PO BOX 1217                                                                                            GUAYNABO            PR           00970

   662650 GUAYNABO DISTRIBUTORS INC                   P O BOX 360629                                                                                         SAN JUAN            PR           00936‐0629
   662651 GUAYNABO DULCES                             142A CALLE CARAZO                                                                                      GUAYNABO            PR           00969
          GUAYNABO DULCES FIESTAS Y
   209107 MAS                                         PO BOX 3735                                                                                            GUAYNABO            PR           00970
          GUAYNABO EXPRESS IMPORTS
   662652 CORP.                                       PO BOX 117                                                                                             GUAYNABO            PR           00970
   209108 GUAYNABO EYE EAR GROUP                      CAPARRA GALLERY            107 AVE GONZALEZ GIUSTI                                                     GUAYNABO            PR           00966

   209109 GUAYNABO HEALTH PROVIDER                    PMB 205                    PO BOX 70344                                                                SAN JUAN            PR           00936‐8344



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          GUAYNABO HEALTH PROVIDERS
   209110 CORP                      140 AVE LAS CUMBRES STE 210                                                                                                           GUAYNABO             PR           00969

   209111 GUAYNABO HOME CARE                          DPTO FACTURACION Y RECORDS PO BOX 3828                                                                              GUAYNABO             PR           00970‐3828
          GUAYNABO HOME CARE
   209112 PROGRAM INC                                 PO BOX 3828                                                                                                         GUAYNABO             PR           00970‐3828
   209113 GUAYNABO MEDICAL MALL                       GUAYNABO MEDICAL MALL       PO BOX 7885                                                                             GUAYNABO             PR           00970
   209114 GUAYNABO METS BSN INC                       P O BOX 2259                                                                                                        GUAYNABO             PR           00970‐2259
          GUAYNABO REFRIGERATION
   209115 SERVICES                                    HC 02 BOX 9658                                                                                                      GUAYNABO             PR           00971
          GUAYNABO REFRIGERATION
   209116 SERVICES INC                                HC‐2 BOX 9658                                                                                                       GUAYNABO             PR           00971
          GUAYNABO REFRIGERATION                      CARR. 169 KM 6.9 BO.
   209117 SERVICES, INC.                              CAMARONES                                                                                                           GUAYNABO             PR           00971‐0000
          GUAYNABO SHEET METAL
   209119 WORKS INC                                   PO BOX 966                                                                                                          GUAYNABO             PR           00970‐0966
          GUAYNABO
   662654 TELECOMUNICATIONS                           HC 02 BOX 10107                                                                                                     GUAYNABO             PR           00971
          GUAYNABO VOLLEYBOL CLUB
   209120 INC                                         URB SANTA RITA              118 DOMINGO CABRERA                                                                     GUAYNABO             PR           00925
   209122 GUDELIA BURGOS MOLINA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662655 GUDELIA COLLAZO TORRES                      HC 1 BOX 7404                                                                                                       SANTA ISABEL         PR           00757
   662657 GUDELIA QUI¥ONES                            BOX 742                                                                                                             GUANICA              PR           00653
   209125 GUDELIA RIVERA RODRIGUEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   662658 GUDELIA RODRIGUEZ MELENDEZ BO RABANAL                                   BOX 3052                                                                                CIDRA                PR           00739

   662659 GUDELIA RODRIGUEZ MORALES                   RES MODESTO CINTRON         EDIF 1 APT 1                                                                            SALINAS              PR           00751
   209127 GUDELIA ROSA HERNANDEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   209128 GUDELIA SERRA GIMENEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662660 GUDSTART                                    URB JARD DE VEGA BAJA       1 CALLE A                                                                               VEGA BAJA            PR           00693

   209132 GUEDDY RODRGUEZ RODIGUEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662661 GUEDE FILMS                                 PO BOX 194140                                                                                                       SAN JUAN             PR           00919‐4140
   662662 GUEICHA AMEL PEREZ ORTIZ                    ESTANCIAS DE SAN GERMAN     APTO 304 C                                                                              SAN GERMAN           PR           00683

   209137 GUEISHA I BERMUDEZ TORRES    REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GUEITS & TORRES / COOP AH CR
   662664 JUANA DIAZ                   PO BOX 230                                                                                                                         JUANA DIAZ           PR           00795
   209164 GUELBA M ROBLES GOMEZ        REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                  URB. SAN ANTONIO 1939 AVE.
  1419956 GUELEN, KEYLA M.                            AMELIA M. CINTRON VELAZQUEZ LAS AMÉRICAS                                                                            PONCE                PR           00728‐1815

   209170 GUELLIENT C. TRINIDAD DAVILA                REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   209171 GUELMARIE LLOP RAMIREZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   209172 GUELMARIE VAZQUEZ MESTRE                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   209173 GUELMI GONZALEZ VIRUET                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662665 GUELO WHEEL ALIGNMENT                       URB SAN AGUSTO              6‐13 CALLE A                                                                            GUAYANILLA           PR           00656
  1419957 GUENARD OTERO, YITZA                        WILMER RIVERA ACOSTA        2567 CARR 100 STE 102                                                                   CABO ROJO            PR           00623
   662666 GUERNICA FILMS PROD                         LA ROSALEDA I               140 ROSA DE FRANCIA EF                                                                  LEVITTOWN            PR           00949
   209200 GUERRA BADILLO, UBALDO                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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          GUERRA CARDONA MD, RUDDY
   209204 A                                           REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GUERRA CASTELLANOS MD,
   209206 JULIA                                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   209211 GUERRA CHIESA Y RIVERA INC                  EDIF DARLINGTON OFIC 704   1007 AVE MUNOZ RIVERA                                                                    SAN JUAN             PR           00926
   209212 GUERRA CINCO INC                            1039 AVE JESUS T PINERO                                                                                             SAN JUAN             PR           00921
   662668 GUERRA CONTRA EL HAMBRE                     PO BOX 8698                                                                                                         CAGUAS               PR           00726
  1419958 GUERRA GORGOS, JOHEL O.                     ALEXIS ALVAREZ DEL VALLE   PO BOX 681                                                                               SAIN JUST            PR           00978‐0681
   209287 GUERRA RIVERA MD, IVETTE                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   209296 GUERRA SANTIAGO MD, CARLOS REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   209304 GUERRA TORRES MD, ANGEL R                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662669 GUERRERO AIR CONDITIONIG                    PO BOX 895                                                                                                          TOA BAJA             PR           00951
   209341 GUERRERO DE LEON, JOSE R                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GUERRERO MANZANO,
   209376 GUALBERTO                                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   209392 GUERRERO PADUA, VIOLETA                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      FRANCISCO VIZCARRONDO‐
  1419959 GUERRERO POCHE, CLAUDIA                     TORRES                     PO BOX 195642                                                                            SAN JUAN             PR           00919‐5642
                                                                                 URB. LOMAS DE CAROLINA A‐10
  1419960 GUERRERO RIVERA, JESSICA                    RAMÓN MENDOZA ROSARIO      CALLE YUNQUESITO                                                                         CAROLINA             PR           00987
          GUERRERO RODRIGUEZ MD,
   209413 ANDRES                                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GUERRERO RODRIGUEZ MD,
   209414 LEONEL                                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GUERRERO RODRIGUEZ MD,
   209415 LEONEL E                                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   209419 GUERRERO ROSA MARTIRES                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GUERRERO SIERRA, GIOVANNI
          RAFAEL COOP. DE SEGUROS
          MULTIPLES Y VAPR FEDERAL                    ARMANDO FRANCESCHI         PMB 360 SUITE 216 CALLE
  1419961 CREDIT UNION                                FIGUEROA                   TABONUCO B‐5                                                                             GUAYNABO             PR           00968‐3029
          GUERRERO SIERRA, GIOVANNI
          RAFAEL COOP. DE SEGUROS
          MULTIPLES Y VAPR FEDERAL                    ARMANDO FRANCESCHI         PMB 360 SUITE 216 CALLE
  1419962 CREDIT UNION                                FIGUEROA                   TABONUCO B‐5                                                                             GUAYNABO             PR           00968‐3029
   209472 GUERRIER DUGUE MD, MAX                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   662670 GUERRILLEROS RIO GRANDE INC PO BOX 3001                                                                                                                         RIO GRANDE           PR           00745
   209482 GUERRY FAUSTIN              REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662671 GUERSOM BAEZ FONSECA        HC 7 BOX 34386                                                                                                                      CAGUAS               PR           00727

   209486 GUETZAIDA TORRES RODRIGUEZ REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                 CCB 501 UNIDAD 3K PO BOX
  1419963 GUEVARA ORTIZ, JOSE A.                      SR. JOSÉ GUEVARA ORTIZ     607073                                                                                   BAYAMÓN              PR           00960
   209580 Guevara‐Mateo, Rubén                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

  1256532 GUEVAREZ & GUEVAREZ CORP                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   771076 GUEVAREZ & GUEVAREZ, CORP                   PO BOX 1708                                                                                                         COROZAL              PR           00783
   209583 Guevarez & Guevarez, Corp.                  PO BOX 1708                                                                                                         COROZAL              PR           00783




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                                                                                       601 CALLE DEL PARQUE SUITE
  1419964 GUEVARRA ORTIZ, JOSE A.                     LEONARDO M. ALDRIDGE             700                                                                                     SAN JUAN             PR           00909
   662672 GUEX TOOLING INC                            P O BOX 657                                                                                                              VEGA ALTA            PR           00692‐0000
          GUI MER FE PEDIATRIC HOME
   209623 CARE                                        CALLE C BLOQUE J3            URB JARDINES DE CAGUAS                                                                      CAGUAS               PR           00727‐2515
                                                      1311 AVE PONCE DE LEON SUITE
   662674 GUIA DEL AUTOMOVILISTA INC                  408                                                                                                                      SAN JUAN             PR           00907‐4014
          GUIAS ECOTURISTICOS DEL
   662675 ABACOA INC                                  HC 02 BOX 15113                                                                                                          ARECIBO              PR           00612
   209630 GUIDA M LEON ORTIZ                          REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   209631 GUIDANCE SOFTWARE                           215 N. MARENGO AVE               2ND FLOOR PASADENA                                                                      CALIFORNIA           CA           91101

   831387 Guidance Software, Inc.                     215 N. Marengo Ave., 2nd Floor                                                                                           Pasadena             CA           91101
   209632 GUIDANCE SOFWARE INC                        1055 E COLORADO BLVD.                                                                                                    PASADENA             CA           91106‐2375

   209633 GUIDANT                                     TORRE CHARDON BLDG               350 CHARDON AVE SUITE 1001                                                              SAN JUAN             PR           00918
   662677 GUIDANT CPI                                 12 ROAD 698                                                                                                              DORADO               PR           00646
   209635 GUIDARTHY REYES GUZMAN                      REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   209636 GUIDE POD                                   URB BALDRICH                     202 PINTOR CAMPECHE                                                                     SAN JUAN             PR           00918
   209637 GUIDE, INC.                                 REPARTO MINERVA #6                                                                                                       AGUADA               PR           00602

   209638 GUIDED THERAPEUTICS INC                     5835 PEACHTREE CORNERS EAST SUITE D                                                                                      NORCROSS             GA           30092
   209643 GUIDO DELLA ZOPPA                           REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   209644 GUIDO E LUGO MODESTO                        REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662678 GUIDO JAVIER URENA                          SANTA JUANITA               NF 11 CALLE QUINS                                                                            BAYAMON              PR           00956
   662679 GUIDO PORTELA PORTELA                       BO CERRO GORDO              CARR 183 KM 3 3                                                                              SAN LORENZO          PR           00754
   209648 GUIDO REFRIGERATION                         BOX 1915                                                                                                                 CABO ROJO            PR           00623
   662681 GUIDO SANTIAGO ASTACIO                      JARD DEL CARIBE             DD 27 CALLE 30                                                                               PONCE                PR           00731
   662682 GUIDO VRENA                                 SANTA JUANITA               NF 11 CALLE QUIN                                                                             BAYAMON              PR           00956
   209656 GUIFRE TORT ORTIZ                           REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   209692 GUILBEE PEREZ MD, LILLIAM M                 REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   209694 GUILBERT ARROYO, PABLO R                    REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662683 GUILBERT TROCHE ROSA                        VILLA COOPERATIVA                G 61 CALLE 6                                                                            CAROLINA             PR           00985
          GUILERMO CALZADILLA DEL
   209699 LLANO                                       REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GUILFORD INTERNAL MEDICINE
   209702 GROUP                                       385 CHURCH STREET                                                                                                        GUILFORD             CT           06437

   662685 GUILFORD PHARMACEUTICALS                    PO BOX 64247                                                                                                             BALTIMORE            MD           21264‐4247

   662686 GUILFORD PUBLICATIONS INC.                  72 SPRING ST                                                                                                             NEW YORK             NY           10012

   209729 GUILLAMA ORAMA, CARMEN I.                   REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662687 GUILLE ANN ORTIZ MARTINEZ                   BOX 212                                                                                                                  RIO BLANCO           PR           00744

   209737 GUILLEN FIGUEROA MD, JUAN A REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   209748 GUILLEN PHOTO & VIDEO       1115 AVE PINERO                                                                                                                          SAN JUAN             PR           00920
   209752 GUILLEN, ANDRES             REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   209753 GUILLERMARIE MANSO DAVILA                   REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GUILLERMETY & KELLY PROFIT
   209754 SHARING PLAN                                TRUST                            P O BOX 19295                                                                           SAN JUAN             PR           00910



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   209758 GUILLERMINA ACEVEDO JIMENEZ REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662688 GUILLERMINA ACEVEDO PEREZ                   BO MIRADERO                  CALLE BONET BUZON 610                                                               MAYAGUEZ            PR           00680
          GUILLERMINA AGOSTO Y/O
   209759 RAMON J GARCIA                              REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662690 GUILLERMINA ALICEA ROMAN                    HC 05 BOX 55013                                                                                                  HATILLO             PR           00659
          GUILLERMINA ARROYO DEL
   662691 MORAL                                       VILLA CAROLINA               32‐15 CALLE 12                                                                      SAN JUAN            PR           00985
   662692 GUILLERMINA AYALA PEREZ                     PARC FALU                    264 A CALLE 45A                                                                     SAN JUAN            PR           00926
          GUILLERMINA BURGOS Y AIDA
   209760 CARRASQUILLO                                REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   209761 GUILLERMINA CALDERO PEREZ REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMINA CARDONA /
   209762 EDWIN A CUBERO               REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662699 GUILLERMINA COTTO ALICEA     CALLE 5 F 10                                URB ALTOS DE LA FUENTE                                                              CAGUAS              PR           00725
          GUILLERMINA DAVILA
   662701 RODRIGUEZ                    P O BOX 375                                                                                                                     GURABO              PR           00778
          GUILLERMINA DE JESUS
   662702 SANCHEZ                      RIVIERAS DE CUPEY                           CALLE GALLEGO I 19                                                                  SAN JUAN            PR           00926
   662704 GUILLERMINA DELIZ NIEVES     URB CORCHADO                                10 MILTON SREET                                                                     ISABELA             PR           00662
   662705 GUILLERMINA DIAZ AYALA       HC 01 BOX 7499                                                                                                                  CIDRA               PR           00703‐9301
          GUILLERMINA DIAZ CASTRO JOSE
   209763 L ORTIZ                      REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMINA DIAZ QUINONEZ,
   209764 NEFTALI GALAN                REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMINA DOMINGUEZ
   662707 VAZQUEZ                      HC 1 BOX 3300                                                                                                                   BARCELONETA         PR           00617‐9702
   662708 GUILLERMINA ENCARNACION      PO BOX 261                                                                                                                      CAROLINA            PR           00986

   209765 GUILLERMINA ESTRADA VELEZ                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662709 GUILLERMINA EXCLUSA TORRES                  2014 PEDRO ALBIZU CAMPOS                                                                                         AGUADILLA           PR           00603
          GUILLERMINA FIGUEROA
   209766 SANTIAGO                                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMINA GOMEZ
   209767 PERULLERO                                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662711 GUILLERMINA GONZALEZ                        PO BOX 1658                                                                                                      MOCA                PR           00676

   662715 GUILLERMINA GONZALEZ REYES URB VILLA GRANADA                             957 CALLE ALCAZAR                                                                   SAN JUAN            PR           00923
   662716 GUILLERMINA JAQUEZ         H6 BOX 12220                                                                                                                      SAN SEBASTIAN       PR           00685

   662717 GUILLERMINA LOPEZ DEL VALLE                 PARCELAS HILLS BROTHER 389   CALLE 11                                                                            SAN JUAN            PR           00924
          GUILLERMINA LUCIANO
   209768 HERNANDEZ                                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMINA MORALES
   209769 HERNANDEZ                                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   209770 GUILLERMINA ORTIZ MEDINA                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662718 GUILLERMINA PEREZ SANTIAGO                  RR 1 BOX 11527                                                                                                   TOA ALTA            PR           00953
   662719 GUILLERMINA PEREZ VEGA                      BO JOVITOS                   PO BOX 562                                                                          VILLALBA            PR           00766




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   662720 GUILLERMINA PIZARRO FUENTES PLAYITA                                50 CALLE UNION                                                                    SAN JUAN            PR           00913
   662721 GUILLERMINA REYES ALAMO     BO CEIBA SUR                           SECT EL GANDUL                                                                    JUNCOS              PR           00777

   209772 GUILLERMINA REYES QUINONES                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   209773 GUILLERMINA RIOS CASTRO                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   209774 GUILLERMINA RIOS SANTIAGO                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMINA RIVERA
   662722 CONCEPCION                                  312 CALLE VIZCARONDO                                                                                     SAN JUAN            PR           00907
   662723 GUILLERMINA RIVERA RIJOS                    VILLA CAROLINA         BLQ 98 14 CALLE 94                                                                CAROLINA            PR           00985

   662724 GUILLERMINA RIVERA ROSARIO                  RES NEMESIO CANALES    EDIF 51 APT 936                                                                   SAN JUAN            PR           00970
   662725 GUILLERMINA RODRIGUEZ                       HC 1 BOX 3025                                                                                            MAUNABO             PR           00707
          GUILLERMINA RODRIGUEZ
   662726 NARVAEZ                                     BOX 519                                                                                                  TOA ALTA            PR           00954
          GUILLERMINA RODRIGUEZ
   662727 RAMOS                                       5 NORTE CALLE RIO                                                                                        MAYAGUEZ            PR           00680
          GUILLERMINA SANCHEZ
   662728 ROSARIO                                     HC 01 BOX 6293                                                                                           YAUCO               PR           00698

   662730 GUILLERMINA SANTIAGO CAEZ JARD DE CAGUAS                           C 13 CALLE B                                                                      CAGUAS              PR           00725‐2507
   662731 GUILLERMINA SERRANO          HC 01 BOX 4884                                                                                                          SABANA HOYOS        PR           00688
          GUILLERMINA TORRES / JORGE L
   662732 BUONOMO                      HC 01 BOX 5008                                                                                                          ORCOVIS             PR           00720

   209775 GUILLERMINA VALDIVIESO ORTIZ REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMINA VELAZQUEZ
   209776 CALDERON                     REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   209777 GUILLERMO A APONTE           REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMO A ARBONA
   209778 FERNANDEZ                    REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662743 GUILLERMO A BONET            PO BOX 475                                                                                                              MAYAGUEZ            PR           00681

   209779 GUILLERMO A CARRION ENJUTO REDACTED                   REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   209780 GUILLERMO A CRUZ GARCIA    REDACTED                   REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMO A GRULLON
   209781 MENDOZA                    REDACTED                   REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662745 GUILLERMO A LOUBRIEL       VILLA RICA                 AE 19 SUSANA                                                                                   BAYAMON             PR           00959
          GUILLERMO A MARQUEZ
   209782 VALEDON                    REDACTED                   REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662747 GUILLERMO A MEJIAS         URB SANTA MARTA            D16 CALLE 6                                                                                    SAN GERMAN          PR           00759
          GUILLERMO A MUGNANO
   662748 ESTRELLA                   URB COLINAS METROPOLITANAS F3 CALLE LA SANTA                                                                              GUAYNABO            PR           00969
   209783 GUILLERMO A NIGAGLIONI     REDACTED                   REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMO A RODRIGUEZ
   209784 SANTIAGO                   REDACTED                   REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   209786 GUILLERMO A VALEDON PINA   REDACTED                   REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMO A VAZQUEZ
   209787 MACHARGO                   REDACTED                   REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   209788 GUILLERMO A VERA GARCIA    REDACTED                   REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMO ACEVEDO & NORMA
   662752 I FUSTER PSC               P O BOX 3000 SUITE 257 C                                                                                                  COAMO               PR           00769‐6000




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   209789 GUILLERMO ACEVEDO AQUILERA REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   209790 Guillermo Acosta Rodriguez REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   209791 GUILLERMO ALVARADO ABAD    REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GUILLERMO ALVARADO
   662753 SANTIAGO                   HC 2 BZN 4280                                                                                                             COAMO                PR           00769

   662754 GUILLERMO ALVAREZ MENOCAL                   PARADISE HILLS         1638 CALLE PECOS                                                                  SAN JUAN             PR           00926
   662755 GUILLERMO AMADO BASTOS                      APARTADO 51272         LEVITTOWN                                                                         TOTA BAJA            PR           00950
          GUILLERMO AMELY/ ANA
   209792 CANDELARIA                                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662757 GUILLERMO ANTONIO PEREZ                     PO BOX 293                                                                                               CULEBRA              PR           00775
   662758 GUILLERMO AVILES VARGAS                     BO AMELIA              87 CALLE RUIZ BELVIS                                                              GUAYNABO             PR           00963
   662759 GUILLERMO BAEZ ARTACHE                      MAGNOLIA GARDENS       V 11 CALLE 20                                                                     BAYAMON              PR           00956
   662760 GUILLERMO BARBOSA                           PO BOX 190051                                                                                            SAN JUAN             PR           00919‐0051
   662762 GUILLERMO BATLLE CABRERA                    URB LEVITOWN 3433      PASEO COQUI                                                                       TOA BAJA             PR           00949
   209793 GUILLERMO BENITEZ VEGA                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   209794 GUILLERMO BERRIOS MELENDEZ REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GUILLERMO BLANCO DE LA
   662764 TORRES                     URB ESTANCIA DE TORRIMAR                44 CALISTEMON                                                                     GUAYNABO             PR           00966
   209795 GUILLERMO BOLANOS AVILA    REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662765 GUILLERMO BUTLER CRUZ      PO BOX 933                                                                                                                QUEBRADILLAS         PR           00698

   209797 GUILLERMO CALDERON BENITEZ REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   662767 GUILLERMO CALDERON VALLE                    PO BOX 21365                                                                                             SAN JUAN             PR           00928‐1365
          GUILLERMO CAMACHO
   209800 RODRIGUEZ                                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   209801 GUILLERMO CANCEL MENDEZ                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   209802 GUILLERMO CANDELARIO                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   209803 GUILLERMO CARDONA NUNEZ                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   662769 GUILLERMO CARMONA RIVERA                    LA ALHAMBRA COURT      2706 CALLE ASTURIAS                                                               PONCE                PR           00716
   662770 GUILLERMO CARTAYAS DIAZ                     HC 55 BOX 8209                                                                                           CEIBA                PR           00735

   209805 GUILLERMO CASTRO SANCHEZ                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   662771 GUILLERMO CINTRON MARTINEZ 13 10 CALLLE ALFONSO                                                                                                      TOA ALTA             PR           00953
   209806 GUILLERMO CINTRON RIVERA   REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662772 GUILLERMO COLON BURGOS     PO BOX 5689                                                                                                               MAYAGUEZ             PR           00681‐5689
   209807 GUILLERMO COLON COLON      REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GUILLERMO COLON
   209808 MALDONADO                  REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   209809 GUILLERMO COLON OLIVIERI   REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   662773 GUILLERMO COLON VALENTIN                    BO MARIN               CALLE 2 BZN 20 B                                                                  GUAYAMA              PR           00784

   662774 GUILLERMO COLON VELAZQUEZ 10 JOSE I QUINTON INT                                                                                                      COAMO                PR           00769

   662775 GUILLERMO CORA CARABALLO                    PO BOX 2435                                                                                              GUAYAMA              PR           00785‐2435




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   209811 GUILLERMO COTTO GUADALUPE REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   662734 GUILLERMO COTTO GUADALUPE URB FRONTERAS JUAN LINES                     30 CALLE 11                                                                          TOA BAJA              PR           00949
   662776 GUILLERMO CRISTIAN JEFFS  105 CALLE FORTALEZA                                                                                                               SAN JUAN              PR           00901
   209814 GUILLERMO CRUZ BATISTA    REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   662777 GUILLERMO CRUZ CORREA     URB VILLA CAROLINA                           23 CALLE 64 BLQ 121                                                                  CAROLINA              PR           00985
   662778 GUILLERMO CRUZ MENDEZ     PO BOX 240                                                                                                                        SANTA ISABEL          PR           00757
   209815 GUILLERMO CRUZ ORTIZ      REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   662779 GUILLERMO CRUZ SEMIDEY    3 B CUESTA DE LOS JUDIOS                                                                                                          YAUCO                 PR           00698
   662780 GUILLERMO CRUZ SOTO       HC 3 BOX 12800                                                                                                                    CAMUY                 PR           00627
   209816 GUILLERMO DAVILA VAZQUEZ  REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   662782 GUILLERMO DE JESUS DIAZ   URB COUNTRY CLUB                             NB 7 CALLE 417                                                                       CAROLINA              PR           00982
          GUILLERMO DE JESUS
   209817 RODRIGUEZ                 REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   662784 GUILLERMO DE LEMOS        PO BOX 795                                                                                                                        SAINT JUST            PR           00978
   662785 GUILLERMO DIAZ DELGADO    3 EXT VILLA CAROLINA                         16 C/ 73 BLQ 115                                                                     CAROLINA              PR           00785

   209818 GUILLERMO DIAZ ECHEVARRIA                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   662787 GUILLERMO DIAZ RIVERA                       RR 2 BOX 5965                                                                                                   TOA ALTA              PR           00953
   209819 GUILLERMO DOMINGUEZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   662788 GUILLERMO E ARAGON LOPEZ    TWO POLO CLUB DRIVE                                                                                                             DENVER                CO           80209
          GUILLERMO E CALIXTO /MIRIAM
   209820 RUIZ                        REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   209821 GUILLERMO E DE JESUS RAMOS                  REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   662791 GUILLERMO E MENA GRILLASCA URB VILLA CAPRI                             568 CALLE FERRARRA                                                                   SAN JUAN              PR           00924

   209825 GUILLERMO E. MORALES MU¥IZ REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   209826 GUILLERMO E. VALERO        REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          GUILLERMO ECHEVARRIA
   662793 CORDOVES                   URB STARLIGHT                               3609 CALLE HIDIA                                                                     PONCE                 PR           00717

   662794 GUILLERMO ECHEVARRIA PEREZ                  PO BOX 9021112                                                                                                  SAN JUAN              PR           00902‐1112
          GUILLERMO EFRAIN MORA
   209827 GARCIA                                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          GUILLERMO ENCARNACION
   209828 BELTRAN                                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   662795 GUILLERMO ESCOBAR ROCA                      PLAZA SAN LAZARO 2.5DCHA                                                                                        PALENCIA                           34001

   662796 GUILLERMO ESQUERRA LLANOS                   URB VALLE VERDE 1          AR 19 CALLE RIO SONADOR                                                              BAYAMON               PR           00961
   662735 GUILLERMO F CRUZ AGOSTO                     URB PASEO DEL PRADO        98 CALLE PLATINO                                                                     CAROLINA              PR           00987
   662797 GUILLERMO FAGET OLIVAR                      TERRS DE TINTILLO          21 AVE WALL                                                                          GUAYNABO              PR           00966

   662798 GUILLERMO FALCON MELENDEZ HC 01 BOX 6870                                                                                                                    AGUAS BUENAS          PR           00607
   662805 GUILLERMO FERNANDEZ       PO BOX 9131                                                                                                                       SAN JUAN              PR           00908

   662807 GUILLERMO FIGUEROA BONILLA HC 58 BOX 13470                                                                                                                  AGUADA                PR           00602

   662808 GUILLERMO FIGUEROA PADUA                    PO BOX 761                                                                                                      LARES                 PR           00669




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   209829 GUILLERMO FIGUEROA PRIETO                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   662809 GUILLERMO FLORES SANTIAGO                   HC 1 BOX 5280                                                                                                 JUANA DIAZ           PR           00795
          GUILLERMO FONTANEZ
   209830 FIGUEROA                                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   209831 GUILLERMO FONTANEZ TORRES                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   209832 GUILLERMO FORTUNO COSIMI    REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GUILLERMO FUERTES Y MARIA L
   209833 YUMET                       REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GUILLERMO G ALVAREZ
   209834 MARTINEZ                    REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   209835 GUILLERMO G LOPEZ HADDOCK                   REDACTED               REDACTED                     REDACTED                           REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662810 GUILLERMO GALAY ZABALETA                    URB ESPERANZA          I‐2 CALLE 9                                                                            VEGA ALTA            PR           00692
   209836 GUILLERMO GALINDO POGGI                     REDACTED               REDACTED                     REDACTED                           REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                             1519 AVE PONCE DE LEON SUITE
   662811 GUILLERMO GARAU DIAZ                        EDIF FIRST BANK        719                                                                                    SAN JUAN             PR           00909

   209837 GUILLERMO GARCIA DELGADO                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   209838 GUILLERMO GARCIA TORRES                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   662813 GUILLERMO GARICIA MARRERO                   URB BAY VIEW           17 CALLE CANAL                                                                         CATANO               PR           00962
   209839 GUILLERMO GOMEZ ALVAREZ                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   209840 GUILLERMO GOMEZ FOURNIER                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   662815 GUILLERMO GONZALEZ ALCAZAR PO BOX 11185                                                                                                                   SAN JUAN             PR           00910‐2285

   662816 GUILLERMO GONZALEZ DE JESUS HC 30 BOX 36045                                                                                                               SAN LORENZO          PR           00754
          GUILLERMO GONZALEZ
   662817 MARRERO                     QUINTAS DEL RIO                        PLAZA 6 B 8                                                                            BAYAMON              PR           00961

   209841 GUILLERMO GONZALEZ MARTIN REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   662818 GUILLERMO GONZALEZ MATOS                    HC 01 BOX 560120                                                                                              GUAYANILLA           PR           00656

   209842 GUILLERMO GONZALEZ NIEVES                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   662819 GUILLERMO GONZALEZ ROSARIO URB ALTURAS DE MAYAGUEZ                 H 29 CALLE ALMIRANTE                                                                   MAYAGUEZ             PR           00682

   209844 GUILLERMO GSOTTSCHNEIDER                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   662821 GUILLERMO GUEVARA CARDONA APARTADO 245                                                                                                                    HUMCAO               PR           00792

   662822 GUILLERMO H. VAZQUEZ PEREZ                  PO BOX 8601                                                                                                   SAN JUAN             PR           00910
          GUILLERMO HERNANDEZ
   662823 ADORNO                                      BO BARAHONA            23 CALLE JOSE CORDERO                                                                  MOROVIS              PR           00687
          GUILLERMO HERNANDEZ
   662824 BERMUDEZ                                    HC 3 BOX 12099                                                                                                UTUADO               PR           00641




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          GUILLERMO HERNANDEZ
   662825 BRUNET                                      CAPARRA GILLS             F 11 CEDRO                                                                             GUAYNABO              PR           00968

   662826 GUILLERMO HERNANDEZ RIOS                    URB COLLEGE PARK          CALLE COLONIA 1811                                                                     RIO PIEDRAS           PR           00921

   662827 GUILLERMO HERNANDEZ RIVERA PO BOX 83                                                                                                                         JAYUYA                PR           00664
          GUILLERMO HERNANDEZ
   662828 RODRIGUEZ                  PO BOX 9020655                                                                                                                    SAN JUAN              PR           00901
          GUILLERMO HERNANDEZ/ AZ
   209846 ENERGY LLC                 PMB 206 390                                CARR 853 STE 1                                                                         CAROLINA              PR           00987

   662829 GUILLERMO HUERTAS DE JESUS                  PO BOX 21365                                                                                                     SAN JUAN              PR           00928

   662830 GUILLERMO IRANZO BERROCAL                   135 COND BOSQUE DEL RIO                                                                                          TRUJILLO ALTO         PR           00976
          GUILLERMO IRIZARRY
   662831 RODRIGUEZ                                   PO BOX 7929                                                                                                      PONCE                 PR           00732‐7929
   662832 GUILLERMO IRIZARY NEGRON                    HC 03 BOX 20605                                                                                                  LAJAS                 PR           00667
          GUILLERMO J BOADA
   662736 SANTAMARIA                                  PO BOX 179                                                                                                       TOA BAJA              PR           00951 0179
   209849 GUILLERMO J CABEZA ORTIZ                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   662835 GUILLERMO J DIAZ POMALES                    PO BOX 677                                                                                                       SAINT JUST            PR           00978
   209851 GUILLERMO J FELICIANO                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          GUILLERMO J FIGUEROA
   209852 GONZALEZ                                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   209853 GUILLERMO J HOYOS                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   209854 GUILLERMO J MONTOTO SELLES REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   209855 GUILLERMO J MORALES MARCO REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   662737 GUILLERMO J PEREZ COLON   COND PAISAJES DEL ESCORIAL                  110 BLVD DE LA MEDIA LUNA   APT 702                                                    CAROLINA              PR           00987‐4893
   209856 GUILLERMO J RAMOS LUNA    REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   209857 GUILLERMO J RODRIGUEZ ANAYA REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          GUILLERMO J RODRIGUEZ
   209858 CARRASQUILLO                REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          GUILLERMO J TORRES
   209859 RODRIGUEZ                   REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   209860 GUILLERMO J TORRES SANTANA REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          GUILLERMO J TORRUELLA
   209861 FARINACCI                  REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   662836 GUILLERMO J. COLON COLON   PO BOX 303                                                                                                                        BARRANQUITAS          PR           00794

   209863 GUILLERMO J. HOYOS PRECSSAS                 REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          GUILLERMO J. MARTINEZ
   209864 CAMACHO                                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   662838 GUILLERMO JIMENEZ PABON                     MANS DE CAROLINA          2B 23 CALLE 57                                                                         CAROLINA              PR           00987
   209865 GUILLERMO JOSE RODRIGUEZ                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   662839 GUILLERMO JOSE TORRES                       P O BOX 1493                                                                                                     CAGUAS                PR           00726‐1493
          GUILLERMO JUSTINIANO
   662841 SANCHEZ                                     BO QUEBRADA GRANDE        2308 CARR 348                                                                          MAYAGUEZ              PR           00680
   662842 GUILLERMO L CRUZ RAMOS                      PO BOX 96                                                                                                        COAMO                 PR           00769
   662843 GUILLERMO L DAVILA PEREZ                    HC 2 BOX 14010                                                                                                   GURABO                PR           00778



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          GUILLERMO LLAVONA
   662845 CARTAGENA                                   P O BOX 9252                                                                                             CAGUAS              PR           00726
   662846 GUILLERMO LLOREDA DIAZ                      P O BOX 17551                                                                                            AUSTIN              TX           78760

   209866 GUILLERMO LOPERENA LOPEZ                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662847 GUILLERMO LOPEZ AFANADOR                    HC 05 BOX 92408                                                                                          ARECIBO             PR           00612

   662848 GUILLERMO LOPEZ CANDELARIA PO BOX 365                                                                                                                MOROVIS             PR           00687
   662849 GUILLERMO LOPEZ DEL VALLE  P O BOX 8156                                                                                                              HUMACAO             PR           00792

   209867 GUILLERMO LOPEZ GONZALEZ                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662852 GUILLERMO LOPEZ PEREZ                       PO BOX 792                                                                                               CIDRA               PR           00739

   662853 GUILLERMO LOPEZ VELAZQUEZ                   PO BOX 560863                                                                                            GUAYANILLA          PR           00656
   662854 GUILLERMO LUGO LEBRON                       URB BELLO MONTE        P 20 CALLE 5 A                                                                    GUAYNABO            PR           00969
          GUILLERMO M FONTANEZ
   209870 RIVERA                                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662856 GUILLERMO M RIERA AYALA                     P O BOX 276                                                                                              UTUADO              PR           00641
   209871 GUILLERMO M TORRES CRUZ                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMO MALDONADO
   209872 VELAZQUEZ                                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   209873 GUILLERMO MANSUR ARROYO                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      CONDOMINIO TORRES DE
   662858 GUILLERMO MARENGO GARCIA                    CERVANTES              APARTAMENTO 707                                                                   CAROLINA            PR           00984

   209874 GUILLERMO MARQUEZ LIZARDI                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   209875 GUILLERMO MARQUEZ MUNOZ                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   209877 GUILLERMO MARRERO RAMOS                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   209878 GUILLERMO MARRERO TORRES                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMO MARTINEZ
   209879 ALEMANY                                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662860 GUILLERMO MARTINEZ CINTRON BO DOMINGUITO                           SECT GREEN                                                                        ARECIBO             PR           00612
          GUILLERMO MARTINEZ
   209880 MALDONADO                  REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMO MARTINEZ
   662861 MONTANO                    LEVITTOWN                               AI 22 CALLE MAGALY                                                                TOA BAJA            PR           00949
   662862 GUILLERMO MARTINEZ RIOS    EDIF MEDICO HNAS DAVILAS                16 CALLE B                                                                        BAYAMON             PR           00959

   209881 GUILLERMO MARTINEZ RIVERA                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMO MARTINEZ
   209882 SANTIAGO                                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   209883 GUILLERMO MARTINEZ SERRANO REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   209884 GUILLERMO MARTINEZ VAZQUEZ REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662863 GUILLERMO MARTORELL & ASOC PO BOX 365002                                                                                                             SAN JUAN            PR           00936‐5002



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   209885 GUILLERMO MARTORELL MILLAN REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   209886 GUILLERMO MATIAS           REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   209887 GUILLERMO MATOS OCASIO     REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   209888 GUILLERMO MATTA GONZALEZ                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662866 GUILLERMO MEDINA MONTILLA                   URB VILLA GAMAL        327 CALLE CORAL                                                                     ISABELA             PR           00662
   209889 GUILLERMO MEDINA RIVERA                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662867 GUILLERMO MENA IRIZARRY                     HUCARES                W3 17 CALLE PIO BAROJA                                                              SAN JUAN            PR           00926
   662868 GUILLERMO MENDEZ                            PO BOX 21635                                                                                               SAN JUAN            PR           00928
   209890 GUILLERMO MENDEZ GARCIA                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMO MENENDEZ
   209891 RODRIGUEZ                                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMO MERCADO                           63 PRUDENCIO RIVERA
   662870 FERNANDEZ                                   MARTINEZ                                                                                                   SAN JUAN            PR           00917

   662871 GUILLERMO MERCADO SIERRA                    URB VILLA CAROLINA     165‐10 CALLE 419                                                                    CAROLINA            PR           00985
   209892 GUILLERMO MERCED RAMOS                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMO MIRANDA
   662872 GONZALEZ                                    URB CONDADO MODERNO    G 22 CALLE 9                                                                        CAGUAS              PR           00725‐2435
          GUILLERMO MOJICA
   209893 FRANCESCHI                                  REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMO MOJICA
   209895 MALDONADO                                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   209898 GUILLERMO MOLINA                            REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMO MOLINA DBA
   209899 MOLINAS DISTRIBUTO                          14 SECTOR FARALLON                                                                                         BARRANQUITAS        PR           00794

   209901 GUILLERMO MOLINA SANTIAGO                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMO MONSERRATE
   209903 NIEVES                                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMO MONTALVO
   662874 VAZQUEZ                                     60 CALLEJON PROGRESO                                                                                       SAN JUAN            PR           00909
   209904 GUILLERMO MONTES PEREZ                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662875 GUILLERMO MORALES DE JESUS CONDOMINIO CAGUAS TOWERS APT 1004                                                                                           CAGUAS              PR           000725

   662738 GUILLERMO MORALES DE JESUS COND CAGUAS TOWER                       APT J 00 A                                                                          CAGUAS              PR           00725‐5602

   662876 GUILLERMO MORALES VARGAS                    HC 80 BOX 7609                                                                                             DORADO              PR           00646
          GUILLERMO N SOSA / EQUIPO
   662877 CACHORROS                                   PO BOX 203                                                                                                 CAROLINA            PR           00986
          GUILLERMO NAVARRO
   209905 CABALLERO                                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662878 GUILLERMO NAZARIO SOTO                      BO CUCHILLAS           HC 01 BOX 2477                                                                      MOROVIS             PR           00687
          GUILLERMO NEGRON
   662879 RODRIGUEZ                                   BO CANTA GALLO         BUZON C 6                                                                           JUNCOS              PR           00777
   209908 GUILLERMO NIEVES RIVERA                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662881 GUILLERMO NIEVES SANTIAGO                   URB REPARTO FLAMINGO   H6 CALLE CENTRAL                                                                    BAYAMON             PR           00957
   209909 GUILLERMO O NIEVES                          REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   209910 GUILLERMO OLMO RIVERA                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   209911 GUILLERMO ONEILL FIGUEROA                   REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662883 GUILLERMO ORTIZ                             PO BOX 699                                                                                                  OROCOVIS            PR           00720

   662739 GUILLERMO ORTIZ DIAZ                        URB FAIR VIEW 1936     CALLE MELCHOR MALDONADO                                                              SAN JUAN            PR           00926
   662884 GUILLERMO ORTIZ GARCIA                      VILLA PALMERA          B 3 B CALLE FAJARDO                                                                  SANTURCE            PR           00901
   209913 GUILLERMO ORTIZ ORTIZ                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMO ORTIZ PARA MARTA
   209914 M ORTIZ                                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   209915 GUILLERMO ORTIZ PARIS                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   209916 GUILLERMO ORTIZ RIVERA                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662886 GUILLERMO ORTIZ TORRES                      PO BOX 1164                                                                                                 MANATI              PR           00674
   662887 GUILLERMO ORTIZ ZAPATA                      PO BOX 30215                                                                                                SAN JUAN            PR           00929
   209917 GUILLERMO OTERO PAGAN                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662888 GUILLERMO PADILLA OLIVO                     PO BOX 412                                                                                                  LOIZA               PR           00772
   209918 GUILLERMO PEREIRA TIRADO                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   209919 GUILLERMO PEREZ RAMIREZ                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   209920 GUILLERMO PEREZ VILLANUEVA                  REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   209921 GUILLERMO PETERSON                          REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662892 GUILLERMO PINTADO RIVERA                    HC 1 BOX 8097                                                                                               LUQUILLO            PR           00773
          GUILLERMO PLAZA
   662893 AVILES/DALMA RAMOS                          CAMPANILLA             86‐A CALLE DEL PARQUE                                                                TOA BAJA            PR           00949
   209922 GUILLERMO PORTALATIN                        REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662894 GUILLERMO PRADO PADILLA                     HC 01 BOX 5008                                                                                              OROCOVIS            PR           00720

   209924 GUILLERMO QUILES CALDERON                   REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   209925 GUILLERMO QUINONES ROSARIO REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   209926 GUILLERMO QUINONES SIERRA                   REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   209927 GUILLERMO QUINONEZ TORRES REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   662895 GUILLERMO R BROWN PACORA                    AIRPORT STATION        PO BOX 37422                                                                         SAN JUAN            PR           00937
          GUILLERMO R IRIZARRY
   209928 RODRIGUEZ                                   REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUILLERMO R QUIANES
   209929 GALINDEZ                                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   209930 GUILLERMO R SOTO CARRION                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   209931 GUILLERMO R. IRIZARRY ORTIZ                 REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   209935 GUILLERMO RAMOS LUINA                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   209936 GUILLERMO RAMOS MORALES                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   209937 GUILLERMO RAMOS MURIEL                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   209938 GUILLERMO RAMOS RIVERA                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662740 GUILLERMO REYES RIOS                        P O BOX 302                                                                                                 GARROCHALES         PR           00652
   209939 GUILLERMO REYES VAZQUEZ                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   662897 GUILLERMO RIOS SANCHEZ                      BOX 4204                                                                                                    BAYAMON             PR           00956
   662901 GUILLERMO RIVERA CRUZ                       BO 16                  COND VISTA DEL RIO                                                                   CAGUAS              PR           00727

   209941 GUILLERMO RIVERA ECHEVARRIA REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  209942 GUILLERMO RIVERA ESCOBAR                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  209943 Guillermo Rivera Gil                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  209944 GUILLERMO RIVERA JIMENEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  209945 GUILLERMO RIVERA LOPEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   209946 GUILLERMO RIVERA MARRERO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   209947 GUILLERMO RIVERA PACHECO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   662902 GUILLERMO RIVERA TEXIDOR   URB COSTA AZUL K‐4 CALLE14                                                                                                     GUAYAMA              PR         00784
   662905 GUILLERMO RIVERA VEGA      HC 2 BOX 46760                                                                                                                 VEGA BAJA            PR         00693‐9661
          GUILLERMO ROBERTO MARTINEZ
   662906 ORTIZ                      RIVERSIDE PARK                               D 6 CALLE 6                                                                       BAYAMON              PR         00961

   662907 GUILLERMO ROBLES SALGADO                    URB MIRA FLORES             32‐4 CALLE 39                                                                     BAYAMON              PR         00957
   209949 GUILLERMO ROCA FORT                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          GUILLERMO RODRIGUEZ
   662908 ALMODOVAR                                   HC‐04 BOX 45500                                                                                               CAGUAS               PR         00725
          GUILLERMO RODRIGUEZ
   209950 CUELLAR                                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          GUILLERMO RODRIGUEZ DE LA
   209951 CRUZ                                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   662909 GUILLERMO RODRIGUEZ ESPADA URB COSTA SUR                                A 19 CALLE B                                                                      YAUCO                PR         00698

   662910 GUILLERMO RODRIGUEZ LOPEZ                   BOX 1206                                                                                                      PE¨UELAS             PR         00624
          GUILLERMO RODRIGUEZ
   209952 MALDONADO                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   209953 GUILLERMO RODRIGUEZ ORTIZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   209954 GUILLERMO RODRIGUEZ RIVERA REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          GUILLERMO RODRIGUEZ
   662911 SAMBRANA                   422 CALLE JUAN RODRIGUEZ                     BO EL MANI                                                                        MAYAGUEZ             PR         00680

   209955 GUILLERMO ROMERO GABRIEL                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   662912 GUILLERMO ROSA GUZMAN                       HP ‐ SALA 5 BAJOS VARONES                                                                                     RIO PIEDRAS          PR         009360000
   209956 GUILLERMO ROSA MANDRY                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   209957 GUILLERMO ROSADO DAVILA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   209958 GUILLERMO ROSARIO FELICIANO REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   662741 GUILLERMO ROSARIO FLORES    URB LA VISTA                                I 9 VIA PANORAMICA                                                                SAN JUAN             PR         00924

   662913 GUILLERMO ROSARIO SANTIAGO HC 1 BOX 4350                                                                                                                  AIBONITO             PR         00705
   209959 GUILLERMO ROSSELLO         REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          GUILLERMO RUIZ / EP ENERGY
   209960 LLC                        SAGRADO CORAZON                              1711 SANTA BRIGIDA                                                                SAN JUAN             PR         00926
   662915 GUILLERMO RUIZ SIERRA      BO CANTERA 91                                                                                                                  MANATI               PR         00674
   662916 GUILLERMO S OLIVER PREFASI BOX 25                                                                                                                         YAUCO                PR         00698
                                                                                  956 CALLE AZORES URB
   662917 GUILLERMO SALGADO REYES                     COUNTRY CLUB                COUNTRY CLUB                                                                      RIO PIEDRAS          PR         00924

   209961 GUILLERMO SAN ANTONIO ACHA REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  662918 GUILLERMO SANCHEZ                            URB BELMONTE             CALLE CORDOVA 44                                                                          MAYAGUEZ         PR           00680
         GUILLERMO SANCHEZ DE LA
  209962 CRUZ                                         REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
  662920 GUILLERMO SANCHEZ RIVERA                     P O BOX 1085                                                                                                       BARCELONETA      PR           00617‐1085

   662921 GUILLERMO SANTANA SANCHEZ P O BOX 683                                                                                                                          LAS PIEDRAS      PR           00771

   662922 GUILLERMO SANTIAGO ESPADA                   PO BOX 190                                                                                                         COAMO            PR           00769
   209965 Guillermo Santiago Martinez                 REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
          GUILLERMO SANTIAGO
   662923 RODRIGUEZ                                   BO PLAYITA               3 CALLE B                                                                                 SALINAS          PR           00751
   662924 GUILLERMO SANTOS                            BO PLAYA PONCE           337 PASEO ROMANCE                                                                         PONCE            PR           00731
          GUILLERMO SANTOS
   662925 HERNANDEZ                                   URB PRADERA NORTE        AX 10 CALLE 2                                                                             TOA BAJA         PR           00949

   662926 GUILLERMO SELVA RODRIGUEZ                   P.O. BOX 688                                                                                                       SAN LORENZO      PR           00754

   662927 GUILLERMO SERRANO ORTEGA                    F 25 CALLE QUINTERO                                                                                                TOA BAJA         PR           00951

   662928 GUILLERMO SERRANO SERRANO HC 1 BOX 4740                                                                                                                        SABANA HOYOS     PR           00688
   209967 GUILLERMO SILVA OTERO     REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   209968 GUILLERMO SORTILLON TENA  REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   662929 GUILLERMO SOSA RODRIGUEZ                    PO BOX 203                                                                                                         CAROLINA         PR           00986
   662930 GUILLERMO SUAREZ COLON                      631 CALLE PEREIRA LEAL   APT 1503                                                                                  SAN JUAN         PR           00923

   209969 GUILLERMO SULIVERAS CASTRO REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   662931 GUILLERMO TELLO            12615 LYNCHBUREGT                                                                                                                   ORLANDO          FL           32837‐5027
   662932 GUILLERMO TIRADO DE JESUS  SABANA ABAJO                              EDIF 60 APT 461                                                                           CAROLINA         PR           00982

   209970 GUILLERMO TOLEDO CASASUS                    REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   662933 GUILLERMO TOLEDO RODRIGUEZ HC 01 BOX 10558                                                                                                                     HATILLO          PR           00659
   209971 GUILLERMO TORO ROSADO      REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   662934 GUILLERMO TORRES           PO BOX 219                                                                                                                          CAGUAS           PR           00726
   209972 GUILLERMO TORRES AVALO     REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   209973 GUILLERMO TORRES CARMONA                    REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   662935 GUILLERMO TORRES FLORES                     COND MIRAMAR TOWER       APT 14 K                                                                                  SAN JUAN         PR           00907

   662936 GUILLERMO TORRES MARRERO                    URB GLEMVIEW GARDENS     M 22 CALLE A                                                                              PONCE            PR           00730
   209974 GUILLERMO TORRES MUNIZ                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   209975 GUILLERMO TORRES NUNEZ                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   662937 GUILLERMO TORRES RAMOS                      PO BOX 357                                                                                                         AGUADILLA        PR           00690
   662938 GUILLERMO TORRES RIVERA                     BUZON 2779               CALLE ROMANA                                                                              QUEBRADILLA      PR           00678

   662939 GUILLERMO TORRES VALENTIN                   VICTOR ROJAS 2           68 CALLE 11                                                                               ARECIBO          PR           00612
   209978 GUILLERMO TOUS OLIVER                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   662941 GUILLERMO TRINIDAD FIGUEROA RR 10 BOX 10362                                                                                                                    SAN JUAN         PR           00926 9514

   662942 GUILLERMO VALENTIN GARCIA                   COND ALCAZAR             1802 CALLE ALCAZAR SUITE 504                                                              PONCE            PR           00717‐3803
   662943 GUILLERMO VALENTIN MORA                     REPTO ANTONIA L          5 CALLE CORICUA                                                                           MANATI           PR           00674



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  662944 GUILLERMO VARGAS LOPEZ                       BO BORINQUEN                  50 CALLE ANEXO                                                                         AGUADILLA                      00603

   662945 GUILLERMO VAZQUEZ MARTINEZ HP ‐ Forense RIO PIEDRAS                                                                                                              Hato Rey          PR           009360000

   662946 GUILLERMO VAZQUEZ MORALES                   P O BOX 2732                                                                                                         SAN GERMAN        PR           00683
   662947 GUILLERMO VAZQUEZ RIVERA                    COND QUINTANA                 EDIF A APTO 1309                                                                       SAN JUAN          PR           00917
   662948 GUILLERMO VEGA FIGUEROA                     CANAS HOUSING                 73 CALLE 1                                                                             PONCE             PR           00731
   662950 GUILLERMO VELEZ RIVERA                      PO BOX 604                                                                                                           CABO ROJO         PR           00623
   662951 GUILLERMO VERA SEPULVEDA                    PO BOX 713                                                                                                           ADJUNTAS          PR           00601‐0713
   209979 GUILLERMO VICENTY CORTES                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   662952 GUILLERMO VILAR SANTOS                      VILLA NEVAREZ                 1025 CALLE 3                                                                           SAN JUAN          PR           00927

   662953 GUILLERMO VILLODA TEXIDOR                   PO BOX 21365                                                                                                         SAN JUAN          PR           00928‐1365
   662955 GUILLERMO WATTLEY DIJOL                     URB PUERTO NUEVO              261 CALLE 3 NO                                                                         SAN JUAN          PR           00920
          GUILLERMO WILLLIAM TORRES
   209980 ALICEA                                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   662956 GUILLERMO WITTE BOURHENNE PASEO LAS OLAS                                  317 CALLE DELFIN                                                                       DORADO            PR           00646
   662957 GUILLERMO ZAYAS MARTINEZ  CAPARRA HEIGHTS                                 548 C/ ELMA                                                                            SAN JUAN          PR           00920

   662958 GUILLERMO ZEGARRA MOLINA                    RR 2 BOX 5600                                                                                                        CIDRA             PR           00739
   662959 GUILLERMO ZUNIGA LOPEZ                      PO BOX 50071                                                                                                         SAN JUAN          PR           00902
   209981 GUILLERMO, AVILES                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

  1419965 GUILLERMO, NEGRON STGO.                     JUAN C. RODRÍGUEZ LÓPEZ‐DTE   4024 CALLE AURORA                                                                      PONCE             PR           00717‐1513
          GUILLERSINDO MALDONADO
   662960 CRUZ                                        URB LEVITONW LAKES            DP 15 CALLE LAGO CERRILLO                                                              TOA BAJA          PR           00949
   662962 GUILLIAN ORTIZ                              19 CALLE MIRAMAR                                                                                                     PONCE             PR           00731
          GUILLONT JUARBE MD,
   209996 SADIASEPT                                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   662963 GUILLOTY GULF STATION                       P O BOX 69                                                                                                           MAYAGUEZ          PR           00680

   662964 GUILLOTY NAVARRO WILFREDO                   URB VALLE HERMOSO             T 18 CALLE PINO                                                                        HORMIGUERO        PR           00660
  1419966 GUILLOTY PÉREZ, AMILCAR                     MIGUEL RIVERA MEDINA          RR‐3 BOX 3724                                                                          RIO PIEDRAS       PR           00926
          GUILLOTY SERV STATION
   662965 /REYNALDO GUILLOTY                          PO BOX 88                                                                                                            LAS MARIAS        PR           00670

   662967 GUIMALYS MEDINA MELENDEZ                    HC 2 BOX 17013                                                                                                       RIO GRANDE        PR           00745
   210041 GUIMARIE SANCHEZ TORRES                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   210046 GUIMERFE INC                                CALLE C BLOQUE J #3           JARDINES DE CAGUAS                                                                     CAGUAS            PR           00727‐2515

   210057 GUINDIN CUEVAS MD, RAFAEL E REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   662968 GUIRIMAR CONSTRUCTION CORP PO BOX 195395                                                                                                                         SAN JUAN          PR           00919‐5395

   662969 GUISELL LARREGUI CANDELARIA URB MONTE BELLO                               781 CALLE COLLARINA                                                                    DORADO            PR           00646

   662970 GUISELLE J FELICIANO BURGOS                 URB VILLA MARIA               R 5 CALLE 17                                                                           CAGUAS            PR           00725
   662972 GULBRANDSEN MFG‐INC.                        P.O. BOX 25117                                                                                                       SAN JUAN          PR           00928

   210096 GULBRANDSEN PUERTO RICO INC HC 3 BOX 6787                                                                                                                        DORADO            PR           00646
   662974 GULF ALTAMESSA              ALTAMESSA                                     1460 AVE SAN IGNACIO                                                                   SAN JUAN          PR           00921




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          GULF AND CARIBBEAN FISHERIES
   210099 INSTITUTE                    PO BOX 21655 SOUTH CAROLINA                                                                                                           CHARLESTON           SC           29413
   662975 GULF CAMPO RICO              P.O. BOX 3022611                                                                                                                      SAN JUAN             PR           00902
          GULF CARIBBEAN POLLUTION
   662976 GROUP                        PO BOX 910                                                                                                                            CABO ROJO            PR           00623‐0910
   662977 GULF CENTRAL STATION         URB SANTIAGO IGLESIAS       1437 CALLE FERRER Y FERRER                                                                                SAN JUAN             PR           00921
          GULF CENTRAL
   662978 STATION/O.ABELJOWAD          URB SANTIAGO IGLESIAS       1437 CALLE FERRER FERRER                                                                                  CAPARRA HEIGTHS      PR           00921

   662979 GULF CENTRALSTATION                         ESQ SAN PATRICIO               1652 AVE CENTRAL LAS LOMAS                                                              SAN JUAN             PR           00921
   210100 GULF CHEMICAL CORP                          FIRM DELIVERY                                                                                                          PENUELA              PR           00624‐7500
          GULF COAST DERMATOLOGY
   210101 SKIN                                        ATTN MEDICAL RECORDS           6701 AIRPORT BLVD STE D232                                                              MOBILE               AL           36608‐6757

   210102 GULF COAST HEALTH CENTER INC MEDICAL RECORDS                               2548 MEMORIAL BLVD                                                                      PORT ARTHUR          TX           77640‐2825
   662980 GULF COAST PATHOLOGYS        PO BOX 947                                                                                                                            HOUSTON              TX           77001‐0947

   662981 GULF COAST TREATMET CENTER 1015 MAR WALT DRIVE FOR                         FOR WALTON BEACH                                                                        FLORIDA              PR           32547
   662982 GULF INSURANCE COMPANY     4600 FULLER DRIVE                                                                                                                       IRVING               TX           75038
                                                                                     AVE DE LAS POSAS ESQ
   662983 GULF LOS ANGELES                            LOS ANGELES                    MARGINAL                                                                                CAROLINA             PR           00979
   210103 GULF LUMBER INC                             BOX 364931                                                                                                             SAN JUAN             PR           00921‐0000
   210104 GULF LUMBER, INC.                           PO BOX 70161                                                                                                           SAN JUAN             PR           00913

   210105 GULF OF MEXICO FOUNDATION                   PMB 51 5403 EVERHART ROAD                                                                                              CORPUS CHRISTI       TX           78411
   210106 GULF PETROLEUM CORP                         PO BOX 361988                                                                                                          SAN JUAN             PR           00936
   662985 GULF PLAZA 1                                PO BOX 52242                                                                                                           TOA BAJA             PR           00950‐2242
   210107 GULF PLAZA INC                              PO BOX 270004                                                                                                          SAN JUAN             PR           00928
   662986 GULF PLAZA LEVITTOWN                        LEVITTOWN                      1260 PASEO TURIAN                                                                       TOA BAJA                          00949
   210108 GULF SABANA LLANA                           MONTE TRUJILLO                 E 4 CALLE 3                                                                             TRUJILLO ALTO        PR           00976
   210109 GULF SABANA LLANA INC                       MONTE TRUJILLO CALLE 3 E‐4                                                                                             TRUJILLO ALTO        PR           00976
   210110 GULF SAN MARTIN                             PO BOX 1260                                                                                                            UTUADO               PR           00641
   662987 GULF SERVICE CENTER                         HC 2 BOX 10094                                                                                                         QUEBRADILLAS         PR           00678
   210111 GULF SERVICE STATION                        HACIENDA MARGARITA             BUZON 185                                                                               LUQUILLO             PR           00773
   831388 Gulf Super Sta. Inc.                        Carr. 190 KM 8                 Urb. Vistamar                                                                           Carolina             PR           00987
          GULF SUPER STA. LA
   662991 CERAMICA/G.CEBALLOS                         AMF FACILITY P.O. BOX 810004                                                                                           CAROLINA             PR           00981‐0004
   662993 GULF SUPER STATION                          PO BOX 4618                                                                                                            VEGA BAJA            PR           00694
   210113 GULF SUPER STATION INC                      PO BOX 810004                                                                                                          CAROLINA             PR           00981‐0004

   662994 GULF TO BAY ANESTHESIOLOG                   PO BOX 861512                                                                                                          ORLANDO              FL           32886
   662995 GULF TRADING CORP                           PO BOX 70161                                                                                                           SAN JUAN             PR           00936‐8161
   662973 GULF TREATING INC                           PO BOX 70161                                                                                                           SAN JUAN             PR           00936

   662997 GULF TURABO SERVICE STATION P O BOX 1975                                                                                                                           CAGUAS               PR           00726
          GULF VERSALLES/JPR GULF
   662998 SERVICE STATION             PO BOX 2083                                                                                                                            BAYAMON              PR           00960‐2083

   210114 GULIANA N IZQUIERDO COLON                   REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   662999 GULIF CORP                                  PO BOX 41282                                                                                                           SAN JUAN             PR           00940
   210117 GULLERMO MOLINA                             REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   210126 GULU PR BRANCH INC                          PO BOX 9658                                                                                                            SAN JAUN             PR           00908
   663000 GUMA & ASSOC INC                            P O BOX 145110                                                                                                         ARECIBO              PR           00614 5110



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  210128 GUMA MD, MICHAEL                             REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  210138 GUMDROP BOOKS                                PO BOX 505                                                                                                     BETHANY           MO         64424‐0505
  663002 GUMERCINDA ROSARIO                           RES MARTINEZ NADAL          EDIF C APT 25                                                                      GUAYNABO          PR         00966

   663003 GUMERCINDO LOPEZ                            63 BEACH STREET PATTERSON                                                                                      PATTERSON         NY         0571

   210139 GUMERCINDO ROMERO CEPEDA REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   210140 GUMERSINDA BONILLA PABEY REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663006 GUMERSINDA CARABALLO     HC 1 BOX 5612                                                                                                                     YABUCOA           PR         00767

   663008 GUMERSINDA PLAZA MONTALVO PO BOX 557 MERCEDITA                                                                                                             PONCE             PR         00717
   210141 GUMERSINDA REYES NUNEZ    REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          GUMERSINDA RODRIGUEZ
   663009 MARTINEZ                  HC 1 BOX 8259                                                                                                                    AGUAS BUENAS      PR         00703‐9721
   663011 GUMERSINDO APONTE         HC 02 BOX 12953                                                                                                                  AGUAS BUENAS      PR         00703

   210142 GUMERSINDO APONTE GARCIA REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          GUMERSINDO ARGUELLES
   663012 FRESNO                      PO BOX 361416                                                                                                                  SAN JUAN          PR         00936
          GUMERSINDO BRAVO
   210143 VILLANUEVA                  REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          GUMERSINDO CLAUDIO / ISABEL
   210144 FIGUEROA                    REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663014 GUMERSINDO ORTIZ ORTIZ      HC 71 BOX 1821                                                                                                                 NARANJITO         PR         00719
   663015 GUMERSINDO PEREZ            HC 2 BOX 7337                                                                                                                  CAMUY             PR         00627

   663016 GUMERSINDO RIVERA ROMERO                    JARDINES DE QUINTANA        EDIF C APTO 12                                                                     SAN JUAN          PR         00917
          GUMERSINDO RODRIGUEZ
   663017 RODRIGUEZ                                   P O BOX 839                                                                                                    CATANO            PR         00962

   210146 GUMERSINDO TORRES ADORNO                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663018 GUMERSINDO VALDEZ DIAZ                      HC 04 BOX 48628                                                                                                CAGUAS            PR         00725
   663019 GUMERSINDO VELEZ PEREZ                      URB ALTURAS DEL MAR         72 CALLE PUERTO                                                                    ISABELA           PR         00662
   210147 GUMI CO DE MIRO                             PO BOX 800676                                                                                                  COTO LAUREL       PR         00780
   663020 GUMITAS                                     318 STOP 22 DE DIEGO                                                                                           SANTURCE          PR         00909
   831389 Guns Magazine                               PO Box 85201                                                                                                   San Diego         CA         92186
   210154 GUO MD, XIAOGING                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   210155 GUR MEAT INC                                P O BOX 534                                                                                                    GARROCHALES       PR         00652
   210156 GURABO BAKERY                               URB FLAMBOYAN               32 CALLE SAUCE                                                                     GURABO            PR         00778
          GURABO COMMUNITY HEALTH
   663023 CENTER                                      P O BOX 1277                                                                                                   GURABO            PR         00778
          GURABO COMMUNITY HEALTH
   210157 CENTER INC.                                 P.O. BOX 1277                                                                                                  GURABO            PR         00778‐0000
          GURABO ELDERLY APARTMENT
   210158 LLC                                         P O BOX 8479                                                                                                   SAN JUAN          PR         00910‐0479

   210159 GURABO FUNERAL HOME                         152 CALLE ANDRES CRUZ RIVERA                                                                                   GURABO            PR         00778
   663024 GURABO FUNERAL HOMME                        152 CALLE ANDRES ARUZ                                                                                          GURABO            PR         00778
   210160 GURABO HEALTH CENTER                        PO BOX 1263                                                                                                    GURABO            PR         00778
   210161 GURAYOAN RIVERA                             REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          GURLEY PRECISION
   663025 INSTRUMENTS                                 514 FULTON ST                                                                                                  TROY              NY         12180




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          GURYS CATERING SERV Y/O
   663026 MARGARITA LOPEZ                             HC 56 BOX 5130                                                                                                 AGUADA               PR           00602
   663028 GUSBERTO TORRES TORRES                      URB LEVITOWN 1749      CALLE DARSENA                                                                           TOA BAJA             PR           00949
   210165 GUSTABO RAMIREZ ARVELO                      REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GUSTAVO A ALMODOVAR
   210167 ALMODOVAR                                   REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   210168 GUSTAVO A BARBOSA AYALA                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   663031 GUSTAVO A CASTRO CASTRO                     HC 01 BOX 3647                                                                                                 ADJUNTAS             PR           00601‐9704
          GUSTAVO A COLBERG
   210169 MENENDEZ                                    REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   210170 GUSTAVO A COTTO RODRIGUEZ                   REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GUSTAVO A DEL TORO
   663033 BERMUDEZ                                    PO BOX 366338                                                                                                  SAN JUAN             PR           00936‐6338
   663034 GUSTAVO A DIAZ CARABALLO                    PO BOX 3479                                                                                                    VEGA ALTA            PR           00687

   210171 GUSTAVO A FIGUEROA RAMOS                    REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   663035 GUSTAVO A FIGUEROA SUAREZ                   ALT DE VEGA ALTA       AA 55 CALLE W                                                                           VEGA BAJA            PR           00693
   210172 GUSTAVO A GRANA                             REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   210173 GUSTAVO A LARRAURI MARTE                    REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   210174 GUSTAVO A MARIN MENDEZ                      REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   663037 GUSTAVO A MARTNEZ TRISTANI PO BOX 195011                                                                                                                   SAN JUAN             PR           00919‐5011
   663038 GUSTAVO A MELENDEZ AVILA   3RA SEC LEVITTOWN                       3052 CALAMAR                                                                            TOA BAJA             PR           00949

   210175 GUSTAVO A MONTALVO SOTO                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   210176 GUSTAVO A MUNIZ GAYA                        REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   210177 GUSTAVO A ORTEGA                            REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   663039 GUSTAVO A ORTIZ BERNARDY                    RR 1 BOX 3235                                                                                                  CIDRA                PR           00739
   663040 GUSTAVO A ORTIZ DIAZ                        URB CAMBIDGE PARK      14 OXFORD                                                                               SAN JUAN             PR           00926

   663041 GUSTAVO A PEREZ RODRIGUEZ                   P O BOX 194604                                                                                                 SAN JUAN             PR           00919
   210178 GUSTAVO A QUINONES PINTO                    REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   210179 GUSTAVO A QUINONEZ PINTO                    REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   663042 GUSTAVO A REYES HERNANDEZ                   RR 2 BOX 775                                                                                                   SAN JUAN             PR           00928
          GUSTAVO A RODRIGUEZ
   210180 CORSINO                                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GUSTAVO A RODRIGUEZ
   663043 FERNANDEZ                                   ALTURAS DE FLAMBOYAN   LL 17 CALLE 31                                                                          BAYAMON              PR           00959

   663044 GUSTAVO A SANTIAGO NEGRON ALTURAS DEL ENCANTO                      G 27 CALLE 9                                                                            JUANA DIAZ           PR           00795

   210181 GUSTAVO A SEPULVEDA MATTEI REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   210182 GUSTAVO A SERRANO ALVAREZ                   REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          GUSTAVO A VALCARCEL
   663045 DELGADO                                     VILLA CAROLINA         CALLE 47 BLOQUE 62 NO 8                                                                 CAROLINA             PR           00985
   663046 GUSTAVO A VELEZ ACEVEDO                     TERRAZAS DE GUAYNABO   J 3 CALLE PASCUA                                                                        GUAYNABO             PR           00969

   663048 GUSTAVO A. BURES GARCIA                     EST DEL LAGO           146 AVE ESTANCIAS DEL LAGO                                                              CAGUAS               PR           00725
   210188 GUSTAVO A. RIVERA PEREZ                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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   663047 GUSTAVO A. SANCHEZ SANTIAGO CALLE MESTRE 39                                                                                                                 CABO ROJO           PR           00623

   210189 GUSTAVO A. SEPULVEDA MATTEI REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663050 GUSTAVO ADOLFO CABRERA      URB. SIERRA LINDA                         D‐21 BAJOS CALLE 2                                                                    BAYAMON             PR           00957
   210191 GUSTAVO APONTE VELEZ        REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   210192 GUSTAVO BARBA NICIENZA      REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUSTAVO BERMUDEZ
   210193 RODRIGUEZ                   REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   210195 GUSTAVO BERRIOS RAMIREZ     REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   210196 GUSTAVO BRAUN REIMERS       REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   210197 GUSTAVO C FIGUEROA VARGAS                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663053 GUSTAVO CABARROUY                           COND UNION NORTE          664 CALLE UNION APT 1006                                                              SANTURCE            PR           00907
   663054 GUSTAVO CAR CLENING                         PO BOX 132                                                                                                      CAMUY               PR           00627

   210198 GUSTAVO CARABALLO MERCADO REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663056 GUSTAVO CASANOVA RIVERA   P O BOX 1213                                                                                                                      CABO ROJO           PR           00623

   663057 GUSTAVO CHACON IZQUIERDO                    URB EL COMANDANTE         962 CALLE CECILIO LEBRON                                                              SAN JUAN            PR           00924‐3512
   210199 GUSTAVO CLASSE MIRANDA                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663058 GUSTAVO COLLADO ORTA                        URB LA RAMBLA             383 B CALLE E                                                                         PONCE               PR           00731
   663059 GUSTAVO COLLAZO                             PMB 174 PO BOX 2510                                                                                             TRUJILLO ALTO       PR           00977
   663060 GUSTAVO COLON ANDUJAR                       HC 2 BOX 6981                                                                                                   FLORIDA             PR           00650‐9106
   210200 GUSTAVO CORDOVA BENGOA                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663061 GUSTAVO CORTES NUNEZ                        P O BOX 1293                                                                                                    RIO GRANDE          PR           00745‐1293
   663062 GUSTAVO CRUZ GRAJALES                       PMB 365                   90 AVE RIO HONDO                                                                      BAYAMON             PR           00961

   663064 GUSTAVO DELANUVOY BRUNO                     ALT DE RIO GRANDE         H 338 CALLE 7                                                                         RIO GRANDE          PR           00745
   663065 GUSTAVO DIAZ PAGANI                         REPTO LANDRAU             1442 CALLE DUINA                                                                      SAN JUAN            PR           00921
   663066 GUSTAVO DIAZ PARRILLA                       URB COSTA BRAVA           22 CALLE FALCON                                                                       ISABELA             PR           00662
   663067 GUSTAVO DOMINGUEZ PINO                      1560 CALLE PARANA         APT 6‐C                                                                               SAN JUAN            PR           00926
   663068 GUSTAVO E BELLO ROJAS                       PO BOX 361390                                                                                                   SAN JUAN            PR           00936

   210201 GUSTAVO E FELICIANO RIVERA                  REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   210202 GUSTAVO E FLORES BAUER                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   210203 GUSTAVO E HAEDO CASTRO                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   210205 GUSTAVO E LEON SANTIAGO                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   210206 GUSTAVO E LUIS MARTIN                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   210207 GUSTAVO E NEGRON MARTINEZ REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   210208 GUSTAVO E NEGRONI FORTIS  REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   210210 GUSTAVO E RAMIREZ ORTIZ   REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   210211 GUSTAVO E RODRIGUEZ CRESPO                  REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUSTAVO E WAREHOUSE C/O
   663069 JANDELIZE PEREZ                             HC 05 BOX 36720                                                                                                 SAN SEBASTIAN       PR           00685
   210212 GUSTAVO E. LEON SANTIAGO                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663070 GUSTAVO E. TORO RAMOS                       EXT LA MILAGROSA          T14 CALLE K                                                                           BAYAMON             PR           00959
          GUSTAVO ENRIQUE RAMOS
   210213 ALBINO                                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   663071 GUSTAVO FADHEL                              CUADRANGLE MEDICAL CENTER 50 AVE MUNOZ MARIN                                                                    CAGUAS              PR           00725



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  210214 GUSTAVO FLORES ORTIZ                         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  210215 GUSTAVO GARAY FUENTES                        REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  210216 GUSTAVO GARCIA LOPEZ                         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   663072 GUSTAVO GARCIA MORALES                      MANSIONES DE CAROLINA DD I     CALLE LOS PICACHOS                                                                 CAROLINA            PR         00987
   663073 GUSTAVO GOMEZ QUINTANA                      URB VILLA CAROLINA             109‐35 CALLE 82                                                                    CAROLINA            PR         00985
   210217 GUSTAVO GONZALEZ LUGO                       REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   210218 GUSTAVO GONZALEZ RAMOS                      REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   210219 GUSTAVO GONZALEZ ROSA                       REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      URB VILLA NEVAREZ 1095 CALLE
   663074 GUSTAVO GRACIA DIAZ                         13                                                                                                                SAN JUAN            PR         00927‐5317
   210220 GUSTAVO GRANA MARTINEZ                      REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   210221 GUSTAVO GUEVARA GARISOAIN REDACTED                                         REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   210222 GUSTAVO GUZMAN LOYZAGA    REDACTED                                         REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663076 GUSTAVO GUZMAN ORTIZ      PO BOX 6778                                                                                                                         COROZAL             PR         00783

   663077 GUSTAVO H VAZQUEZ VAZQUEZ HC 01 BOX 3779                                                                                                                      FLORIDA             PR         00650
   210223 GUSTAVO I BRACERO REYES   REDACTED                                         REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663078 GUSTAVO IRIZARRY          ESTANCIAS                                        A 3 CALLE VIA CARACAS                                                              BAYAMON             PR         00959

   663079 GUSTAVO J ORTIZ RODRIGUEZ                   P O BOX 440                                                                                                       CAMUY               PR         00627‐0440

   210224 GUSTAVO J QUINONES RIVERA                   REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   210226 GUSTAVO J UMPIERRE PONTON REDACTED                                         REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   210228 GUSTAVO J. NOGALES PEREZ  REDACTED                                         REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GUSTAVO JAVIER GASTRODAD
   663080 RODRIGUEZ                 URB SAN IGNACIO                                  1702 C/ SAN GUILLERMO                                                              SAN JUAN            PR         00927

   210230 GUSTAVO JUARBE DE LA ROSA                   REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   663082 GUSTAVO LECTORA LARRAURI                    THE RESIDENCES                 3514 AVE SUR APT 8‐30                                                              CAROLINA            PR         00987‐5027
   663084 GUSTAVO LUGO JIMENEZ                        URB ROMANY PARK                D 7 CALLE 3                                                                        SAN JUAN            PR         00926
          GUSTAVO LUIS SANTIAGO
   210231 TORRES                                      REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   210232 GUSTAVO MARTINEZ                            REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663087 GUSTAVO MARTINEZ CANCEL                     PO BOX 8770                                                                                                       CAROLINA            PR         00988
   210233 GUSTAVO MEDINA SANTIAGO                     REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GUSTAVO MELENDEZ
   663088 RODRIGUEZ                                   URB LA MONSERRATE 5            CALLE RAMON OQUENDO                                                                JAYUYA              PR         00664
                                                      FLORES DE MONTEHIEDRA BOX
   663089 GUSTAVO MELERO GIGANTE                      643                                                                                                               SAN JUAN            PR         00926
   663091 GUSTAVO MENDEZ ROSA                         HC 04 BOX 13930                                                                                                   MOCA                PR         00676
   663092 GUSTAVO MIRABAL                             JARD DE PONCE                  H22 CALLE D                                                                        PONCE               PR         00731
   663094 GUSTAVO MONTES MILLAN                       HC 1 BOX 8083                                                                                                     LAS PIEDRAS         PR         00771
   663095 GUSTAVO MORALES LOPEZ                       PO BOX 132                                                                                                        CAMUY               PR         00627
   210234 GUSTAVO N GARCIA MULERO                     REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663097 GUSTAVO ORTIZ RODRIGUEZ                     URB EL CONVENTO                A 50 CALLE 3                                                                       SAN GERMAN          PR         00683
   210235 GUSTAVO P. BRITO BRU                        REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          GUSTAVO P. CORRETJER
   210236 ARZUAGA                                     REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   210237 GUSTAVO PABON RIVERA                        REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  210239 GUSTAVO PEDRO BRITO                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  210241 GUSTAVO QUESADA COSTA                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  663098 GUSTAVO QUILES MORALES                       HC 01 BOX 4891                                                                                                     CAMUY               PR         00627
                                                                                 20 CALLE DEL CASSE APT 603
   663099 GUSTAVO R CARTAGENA                         COND DEL MAR               CONDADO                                                                                 SAN JUAN            PR         00907
   663100 GUSTAVO R HALLEY JULIA                      PO BOX 5027                                                                                                        AGUADILLA           PR         00605
   663101 GUSTAVO R LORA DE LEON                      JARDINES DE COUNTRY CLUB   BN 24 CALLE 113                                                                         CAROLINA            PR         00973
   663102 GUSTAVO R MENDEZ LOPEZ                      PO BOX 240                                                                                                         SANTA ISABEL        PR         00757
   210242 GUSTAVO R. ALBIZU ANGULO                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   210244 GUSTAVO RAMOS PERALES                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663104 GUSTAVO REYES SANCHEZ                       PMB 1572                   243 CALLE PARIS                                                                         SAN JUAN            PR         00917‐3632
   663105 GUSTAVO RIVERA SOTO                         5‐7 BO GUAYANEY                                                                                                    MANATI              PR         00674

   210245 GUSTAVO RODRIGUEZ APARICIO REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   663029 GUSTAVO RODRIGUEZ BLANCO                    URB BAHIA VISTAMAR         1501 CALLE MARTIN                                                                       CAROLINA            PR         00983

   663106 GUSTAVO RODRIGUEZ NAVARRO COND MONTE SUR APT 1107                      180 AVE HOSTOS                                                                          SAN JUAN            PR         00918
   210246 GUSTAVO RUIZ VALLE        REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   210247 GUSTAVO S ALVARADO        REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663107 GUSTAVO SALGADO SANCHEZ   HC 01 BOX 6223                                                                                                                       LOIZA               PR         00772
   210249 GUSTAVO SANCHEZ CRUZ      REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663108 GUSTAVO SANCHEZ SERRANO   157 CALLE O DONNEILL                         APT 3                                                                                   SAN JUAN            PR         00902

   663109 GUSTAVO SANTIAGO CANTRES                    PO BOX 118                                                                                                         CANOVANAS           PR         00729
          GUSTAVO SEDA SEPULVEDA /
   663110 ROSA SEPULVEDA                              ALT DE FLAMBOYAN           D 13 CALLE 11                                                                           BAYAMON             PR         00959
   210250 GUSTAVO SERRANO BERRIOS                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   210251 GUSTAVO SIERRA GARCIA                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663111 GUSTAVO SOTO RODRIGUEZ                      PO BOX 199                                                                                                         FLORIDA             PR         00650
   663112 GUSTAVO SUAREZ DELGADO                      COND PARQUE MONACILLO      APT 1701                                                                                SAN JUAN            PR         00927
   663113 GUSTAVO TOLEDO TOLEDO                       HC 4 BOX 46301                                                                                                     HATILLO             PR         00659
   210252 GUSTAVO TORRES RAMOS                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   210253 GUSTAVO TORRES ROSARIO                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663114 GUSTAVO TUA TORRES                          PO BOX 9536                                                                                                        ARECIBO             PR         00613

   663115 GUSTAVO VALENTIN GONZALEZ                   URB EL CULEBRINAS          U7 CALLE UCAR                                                                           SAN SEBASTIAN       PR         00685

   210254 GUSTAVO VAZQUEZ FIGUEROA                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   210255 GUSTAVO VAZQUEZ HERNANDEZ REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663116 GUSTAVO VELEZ NIEVES          BO OBRERO                                702 CALLE LIPPIT                                                                        SAN JUAN            PR         00915
   663117 GUSTAVO VELEZ PIZARRO         CAPARRA TERRACE                          832 CALLE 9 SO                                                                          SAN JUAN            PR         00921
   663118 GUSTAVO VIDAL QUILES          URB LUCHETTI                             92 CALLE VIRGILIO DEL POZO                                                              MANATI              PR         00674
   663119 GUSTAVO WARNER PEREZ          URB LOMAS VERDES                         G 7 CALLE ALHELI                                                                        BAYAMON             PR         00956
   210256 GUSTAVO ZEPEDA ALVAREZ        REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663121 GUSTITO CRIOLLO               PO BOX 361010                                                                                                                    SAN JUAN            PR         00936‐1010
          GUSTOS COFFEE CO. / CAFÉ CASA MARIO JULIA IND. PARK 635 C/B
   210257 GRANDE                        STE 2                                                                                                                            SAN JUAN            PR         00920
   663123 GUTH LABORATORIES INC         590 NORTH 67TH STREET                                                                                                            HARRISBURG          PA         17111
   210261 GUTHRIE CLINIC OWEGO          PO BOX 558                                                                                                                       PUEBLO              CO         81002
   663124 GUTIERREZ & GUTIERREZ         PO BOX 13171                                                                                                                     SAN JUAN            PR         00908
   663125 GUTIERREZ & LATIMER           PO BOX 13171                                                                                                                     SAN JUAN            PR         00908‐3171



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  1419967 GUTIERREZ BARRIOS, OSVALDO                  RICARDO J. GOYTÍA DÍAZ      PO BOX 360381                                                                             SAN JUAN            PR           00936
   210329 GUTIERREZ COLON JOSE R                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   210341 GUTIERREZ COLON, JUAN                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUTIERREZ DORRINGTON MD,
   210393 JORGE H                                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   210412 GUTIERREZ FRANCO, NILKA I                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663126 GUTIERREZ GAS                               165 CALLE BETANCES                                                                                                    ARECIBO             PR           00612
          GUTIERREZ HERNANDEZ MD,
   210447 MANUEL                                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   210467 GUTIERREZ JOVET MD, SIRO                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   210502 GUTIERREZ MARTINEZ, SARA                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   210513 GUTIERREZ MD, ENRIQUE                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUTIERREZ MONTAÑEZ MD,
   210533 JOSE R                                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   210538 GUTIERREZ MUNIZ, IVELISSE                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   210555 GUTIERREZ ORTIZ MD, MARIA                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   210610 GUTIERREZ REYES, JOSHUA                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUTIÉRREZ RODRÍGUEZ,
  1419968 NEREIDA                                     OSVALDO BURGOS PEREZ        PO BOX 194211                                                                             SAN JUAN            PR           00919
   210742 GUTIERREZ SOTO, RAFAEL                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1419969 GUTIERREZ VALLE, ALAN ALEXIS                IVANDELUIS MIRANDA VELEZ    APARTADO 565                                                                              AGUADILLA           PR           00605
  1419970 GUTIERREZ, DENISE                           OSVALDO BURGOS PEREZ        PO BOX 194211                                                                             SAN JUAN            PR           00919‐4211
   663127 GUY BALDASSARRE                             113 MERRELL RD                                                                                                        SYRACUSE            NY           13219‐3223
   663129 GUY P MILLIEN                               COND GOLDEN TOWER           APT 1213                                                                                  CAROLINA            PR           00983
          GUZMAN & GONZALEZ
   210797 MANAGEMENT                                  606 TITO CASTRO AVE         SUITE 401                                                                                 PONCE               PR           00716‐0218
          GUZMAN & GONZALEZ
   210798 MANAGEMENT INC                              400 CALAF STREET PMB 136                                                                                              SAN JUAN            PR           00918
   210804 GUZMAN ACEVEDO, MANUEL                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663130 GUZMAN AGRICULTURE INC                      ROLANDO GUZMAN ORTIZ        PO BOX 157                                                                                COAMO               PR           00769
                                                      170 CALLE JOSE SANTIAGO
   663131 GUZMAN ALUMINUM                             BARRETO                                                                                                               FAJARDO             PR           00738
          GUZMAN ALVARADO MD,
   210834 WILBERTO                   REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUZMAN APONTE, CATHERINE
   210856 DEL C                      REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUZMÁN ARIZMENDI, MANUEL ‐
  1419971 685‐933                    MANUEL GUZMÁN                                PO BOX 367787                                                                             SAN JUAN            PR           00936‐7787
          GUZMÁN ARIZMENDI, MANUEL ‐
  1419972 685‐933                    MANUEL GUZMÁN                                PO BOX 367787                                                                             SAN JUAN            PR           00936‐7787
          GUZMÁN ARIZMENDI, MANUEL ‐
  1419973 685‐933                    MANUEL GUZMÁN                                PO BOX 367787                                                                             SAN JUAN            PR           00936‐7787
          GUZMÁN ARIZMENDI, MANUEL ‐
  1419974 685‐933                    MANUEL GUZMÁN                                PO BOX 367787                                                                             SAN JUAN            PR           00936‐7787
  1419975 GUZMAN AVILES, EDGARDO     MICHELLE JIMENEZ BREA                        PO BOX6416                                                                                BAYAMON             PR           00960‐5416

   210955 GUZMAN CALDERON, MALTIDE                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          GUZMAN CASTRO & CO CPA S
   210998 PSC                                         COSVI BUIDING THRID FLOOR   400 AMERICO MIRANDA AVE                                                                   SAN JUAN            PR           00927
                                                                                  URB. VISTAS DE LUQUILLO B‐10
  1419976 GUZMAN CINTRON, HECTOR J.                   HECTOR J. GUZMÁN CINTRÓN    CALLE V I                                                                                 LUQUILLO            PR           00773



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          GUZMAN CONCEPCION, MARIA
   211060 M                                           REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   211081 GUZMAN COTTO, KATY                          REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
                                                                                                          EDIFICIO BANCO COOPERATIVO
  1422500 GUZMAN CRESPO, JOSE A. V AC                 KARLA VIRELLA SIERRA     623 AVE PONCE DE LEON      STE 1006                                                   SAN JUAN              PR           00917
  1419977 GUZMAN DAVILA, ANNIELLY                     GENOVEVA VALENTÍN SOTO   PO BOX 13695                                                                          SAN JUAN              PR           00908‐3695
   211146 GUZMAN DEL VALLE, MARISEL                   REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   211148 GUZMAN DEL VALLE, VIONNETTE REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   663132 GUZMAN ELECTRIC SHOP        879 AVE CAMPO RICO                                                                                                             SAN JUAN              PR           00918
          GUZMAN ESQUILIN MD, ANGEL
   211186 M                           REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   663133 GUZMAN FIGUEROA GONZALEZ                    HC 01 BOX 15911                                                                                                CABO ROJO             PR           00623

   663134 GUZMAN FIRE PROTECTION INC 2059 AVE EDUARDO CONDE                                                                                                          SAN JUAN              PR           00915
   211276 GUZMAN GARCIA, LILLIAM     REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   210805 GUZMAN GOMES, HILDA        REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   211293 GUZMAN GONELL, VILMA J     REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          GUZMÁN JUANITA, MALDONADO                                            PMB 270 1353 AVE. LUIS
  1419978 Y OTROS                    JUAN B. SOTO BALBÁS                       VIGOREAUX                                                                             GUAYNABO              PR           00966
          GUZMAN LUGO MD, FRANCISCO
   211453 J                          REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   211454 GUZMAN LUGO MD, LUIS A     REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          GUZMAN MALDONADO,
  1419979 MIGDALIA                   PEDRO FORNARIS PARAVISINI                 AVE. COLON 9 SUITE 2                                                                  MANATI                PR           00674

   211529 GUZMAN MATIAS, ERMELINDO                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   211542 GUZMAN MD , PEDRO J                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   211543 GUZMAN MD, NILMARIE                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   211596 GUZMAN MONTES, LETICIA                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   211597 GUZMAN MONTES, LETICIA 5                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   211605 GUZMAN MORALES MD, AILEEN REDACTED                                   REDACTED                    REDACTED                           REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   211616 GUZMAN MORALES, LESLIE E  REDACTED                                   REDACTED                    REDACTED                           REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
                                                                               REPARTO ALHAMBRA A‐11 CALLE
  1419980 GUZMAN NIEVES, CARLOS LUIS                  JULIO GIL DE LA MADRID   GRANADA                                                                               BAYAMÓN               PR           00957
                                                                               REPARTO ALHAMBRA A 11 CALLE
  1419981 GUZMAN NIEVES, CARLOS LUIS                  JULIO GIL DE LA MADRID   GRANADA                                                                               BAYAMÓN               PR           00957
   211697 GUZMAN OJEDA, AIDA                          REDACTED                 REDACTED                    REDACTED                           REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   211700 GUZMAN OJEDA, KATHERINE                     REDACTED                 REDACTED                    REDACTED                           REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   211755 GUZMAN OTERO, FLOR                          REDACTED                 REDACTED                    REDACTED                           REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   211919 GUZMAN RIVERA, GLORIA                       REDACTED                 REDACTED                    REDACTED                           REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   211951 GUZMAN RIVERA, NOEMI                        REDACTED                 REDACTED                    REDACTED                           REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          GUZMAN RODRIGUEZ,
  1419982 FRANCISCA                                   HECTOR PEÑA DE LEÓN      PO BOX 788                                                                            SAINT JUST            PR           00978
   663136 GUZMAN S RAMIREZ                            HC 02 BOX 12330                                                                                                LAJAS                 PR           00667
          GUZMAN SERRANO MD,
   212156 MANUEL                                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   212171 GUZMAN SOLIS MD, MANUEL A REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          GUZMAN TENNANT MD, MARIA
   212200 R                         REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED



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  212203 GUZMAN TORRES & CO PSC                       COSVI BUILDING 3RD FLOOR     400 AVE AMERICO MIRANDA                                                                  SAN JUAN            PR           00926
                                                      400 AMERICO MIRANDA AVE.
   212204 GUZMAN TORRES & CO, PSC                     3ER FLOOR                                                                                                             SAN JUAN            PR           00927

   212205 Guzmán Torres Castro & Díaz PSC 400 Americo Miranda                      Cosvi Building floor 3                                                                   San Juan            PR           00926

  1419983 GUZMÁN TORRES, JOSÉ Y OTROS GUZMÁN TORRES, JOSÉ Y OTROS ANEXO 500 PO BOX 10005 BB                                                                                 GUAYAMA             PR           00785
   212254 GUZMAN VALIDO MD, PAUL      REDACTED                    REDACTED                                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   212333 GUZMAN VIRELLA MD, JOSE R   REDACTED                    REDACTED                                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   212350 GUZMAN, ALIDA               REDACTED                    REDACTED                                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   212386 Guzmán‐Negrón, Virginia     REDACTED                    REDACTED                                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   212395 GVA VOLLEYBALL CORP         PO BOX 13928                                                                                                                          SAN JUAN            PR           00908‐3928

   212397 GVELOP LLC                                  EL CARIBE BUILDING           53 PALMERAS STREET STE 1600                                                              SAN JUAN            PR           00902
   212398 GVG BUILDERS INC                            ALTURA DE TORRIMAR           BLOQ 5H 28 CALLE 9                                                                       GUAYNABO            PR           00969

   663138 GWEENDOLYNE SOTO MARTINEZ PO BOX 560239                                                                                                                           GUAYANILLA          PR           00656‐0239

   663139 GWEN FERNANDEZ DIRREU                       502 CALLE NORZAGARAY APT 5                                                                                            SAN JUAN            PR           00901
          GWENDALINA SANTAELLA
   663140 MANGUAL                                     BO QUEBRADA ARENA            10 CAMINO MANGUAL                                                                        SAN JUAN            PR           00926
   212400 GWENDELIA CEDENO                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   212401 GWENDELINA CEDENO                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   663141 GWENDOCYN ROLFES                            195 HOLT AVE                                                                                                          MECON               GA           31201

   212402 GWENDOLLYN FELICIANO REYES                  PO BOX 760                                                                                                            CAROLINA            PR           00729
          GWENDOLYN M CASANOVA
   663143 FELIX                                       EL MONTE                     3278 CALLE TAITA                                                                         PONCE               PR           00716
          GWENDOLYN M. CASANOVA
   212403 FELIX                                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   212404 GWENDOLYN MOYER ALMA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   663144 GWENDOLYNE MEJIAS CHAVES                    PO BOX 2463                                                                                                           ISABELA             PR           00662

   663145 GWENDOLYNE SOTO MARTINEZ                    HC 02 BOX 9053                                                                                                        GUAYANILLA          PR           00656
   212405 GWINNETT MEDCIAL CENTER                     1000 MEDICAL CENTER BLVD     MEDICAL RECORDS                                                                          LAWRENCEVILLE       GA           30045‐0348
   212406 GWU CENTER CLINIC                           2300 M STREET NW             SUITE 910                                                                                WASHINGTON          DC           20037
   212407 GYC,LLC                                     NORTH COAST VILLAGE # 614                                                                                             VEGA ALTA           PR           00692
   212408 GYNESS M ROBLES BENITEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   212411 GYNNA A HERNANDEZ CABAN                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   663146 GYOUNG JAE PARK                             TURABO GARDEN                Z 9‐7 CALLE 13                                                                           CAGUAS              PR           00725
   212412 GYPSUM BOARD SYSTEMS INC                    149 CALLE BENITEZ CASTANO                                                                                             SAN JUAN            PR           00912

   212413 GYPSUM BORRAD SYSTEMS INC                   149 CALLE BENITEZ CASTANO                                                                                             SAN JUAN            PR           00912
   212414 GYRUS SYSTEMS INC                           5400 GLENDSIDE DRIVE         SUITE B                                                                                  HENRICO             VA           23228
   212415 GYSELLE GOMEZ DEL VALLE                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   212416 GYSELLE M TORRES SEISE                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   212417 GYSENIA SEDA SEPULVEDA                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   212418 GYSSEL M GARCIA HERNANDEZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          GYSSELLE J OJEDA Y WANDA M
   212419 OJEDA                                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   663148 H & A SUBS INC                              P O BOX 1186                                                                                                          SAN SEBASTIAN       PR           00685



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  212422 H & E DEVELOPMENT CORP.                      AVE. SAN CLAUDIO # 358                                                                                                  SAN JUAN             PR           00926

   663149 H & H PUBLISHING CO. INC.                   1231 DAPP DRIVE CLEARWATER                                                                                              CLEARWATER           FL           34625‐2116
   663150 H & M CONSTRUCION                           PO BOX 61                                                                                                               GUAYNABO             PR           00970
   663151 H & M OFFICE SUPPLIES                       PO BOX 7754                                                                                                             MORENO VALLEY        CA           92557
   212423 H & P CONTRACTORS                           HC 2 BOX 7415                                                                                                           CAMUY                PR           00627
   663152 H & R BLOCK                                 P O BOX 541                                                                                                             LUQUILLO             PR           00773
   212424 H & R CONSTRUCTION CORP.                    HC 07 BOX 35881                                                                                                         CAGUAS               PR           00727
   212425 H A CONSULTING INC                          PO BOX 1186                                                                                                             SAN SEBASTIAN        PR           00685
   663153 H A RENTAL INC                              PO BOX 10000 SUITE 241                                                                                                  CAYEY                PR           00737

  1256533 H A SOLUTION & SERVICES INC                 REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          H AND C YABUCOA AUTO PARTS
   663154 INC                                         P O BOX 675                                                                                                             HUMACAO              PR           00792‐0675
   663156 H AND H FIRE EXTINGUISHERS                  VISTA AZUL                    X 21 CALLE 29                                                                             ARECIBO              PR           00612
   663157 H AYALA ESTUDIO                             CAPARA TERRANCE               AVE DE DIEGO 908                                                                          SAN JUAN             PR           00921
   663158 H B DISTRIBUTORS                            1612 PONCE DE LEON            PISO 4 OFIC 402                                                                           SAN JUAN             PR           00909
   663159 H B FULLER CO                               P.O. BOX 71455                                                                                                          SAN JUAN             PR           00936‐8555
   663162 H B HARDWARE INC                            199 CALLE VILLA                                                                                                         PONCE                PR           00730

   663163 H B PRODUCT INCORPORATED     PO BOX 464                                                                                                                             DEERFIELD            IL           60015
          H C C FACILITY & UTILITIES
   212427 SERVICE                      DIVISION INC                                 PO BOX 250060                                                                             AGUADILLA            PR           00604
          H C CARRIBBEAN CHEMICAL INC/ PONCE COMERCIAL BANKING
   663164 SCOTIABANK                   CENTER                                       2053 CENTRO CARIBE SUITE 105                                                              PONCE                PR           00717‐1307
   663167 H C CHEMICALS                BOX 596                                                                                                                                COTTO LAUREL         PR           00780
                                                                                    B 1 CALLE W FERNANDEZ
   212428 H C GEMELAS TRAVEL CORP                     URB MARIA                     JUNCOS                                                                                    CAROLINA             PR           00985
   212429 H C HARDWARE                                CARR 132 KM 8 9                                                                                                         PENUELAS             PR           00624
   663168 H C I A INC                                 300 EST LOMBARD STREET                                                                                                  BALTIMORE            MD           21298
          H CALERO CONSULTING GROUP
   212430 INC                                         416 PONCE DE LEON AVE         SUITE 1111                                                                                SAN JUAN             PR           00918
   663170 H COLOMBANY                                 JARD DE BORINQUEN             D 14 CALLE 1                                                                              AGUADILLA            PR           00603
   663171 H D E GROUP CORP                            PMB 155 405                   AVE ESMERALDA STA 2                                                                       GUAYNABO             PR           00969‐4457
          H F CONSTRUCTION / HIPOLITO
   663172 FONTAN                                      HC 01 BOX 2184                                                                                                          MOROVIS              PR           00687
   663173 H G AIR CONDITIONING INC                    PO BOX 8756                                                                                                             BAYAMON              PR           00960
   212432 H G CONSTRUCTION , INC.                     P.O. BOX 1086 COTO LAUREL                                                                                               PONCE                PR           00766‐0000
   663174 H G ESSO SERVICENTRO                        P O BOX 9043                                                                                                            CAGUAS               PR           00726
   663175 H G G CONTRACTOR INC                        P O BOX 6561                                                                                                            CAGUAS               PR           00726
          H G JONES & ASSOC/ HENRY
   212433 JONES C E O                                 211 W WACKER DRIVE STE 1230                                                                                             CHICAGO              IL           60606

   663176 H G PROFESSIONAL FORMS CO                   2000 CALIFORNIA STREET                                                                                                  OMAHA                NE           68102

   663177 H G SERVICES & SOLUTIONS INC PO BOX 193714                                                                                                                          SAN JUAN             PR           00919‐3714
   663178 H H FUELS INC                PO BOX 2081                                                                                                                            ISABEL               PR           00662
          H H S PROGRAM SUPPORT
   212434 CENTER                       AREA DEL TESORO                              CONTADURIA GENERAL                                                                        SAN JUAN             PR           00902
          H I DEVELOPMENT PUERTO RICO 1004 ROBERTO H TOOD 3 RD
   663179 CORP                         PISO                                                                                                                                   SAN JUAN             PR           00907
   663180 H I REFRI AUTO               P O BOX 1131                                                                                                                           CAGUAS               PR           00726
   212442 H J R REEFSCAPING            PO BOX 1126                                                                                                                            HORMIGUEROS          PR           00660



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  663181 H KELLER TRADING CORP.                       PO BOX 3696                                                                                             MAYAGUEZ          PR           00681
  663182 H L AUTO SERVICE                             AVE. BOULEVARD 2756        ESQ. DOS PALMAS                                                              LEVITTOWN         PR           00949
  663183 H L C ELECTRICAL SERVICE                     HC 5 BOX 54540                                                                                          CAGUAS            PR           00725
  663185 H L ELECTRICAL                               PO BOX 935                                                                                              SALINAS           PR           00751
  663186 H L G CONSTRUCTION S E                       PO BOX 443                                                                                              SAN LORENZO       PR           00754
  212443 H L RENTAL CO                                PO BOX 267                                                                                              PATILLAS          PR           00723
  212444 H L SUAREZ TRANSPORT INC                     PO BOX 250‐427                                                                                          AGUADILLA         PR           00604

   663187 H LEE MOFFITT CANCER CENTER P O BOX 20667                                                                                                           TAMPA             FL           33622 0667

          H LEE MOFFITT CANCER CENTER
   212445 AND RESEARCH INSTITUTE                      12902 MAGNOLIA DRIVE                                                                                    TAMPA             FL           33612‐9497
          H LEGRAND BEAUTY AND NAILS
   663188 SUPPLY                                      33 YAUCO PLAZA                                                                                          YAUCO             PR           00698
          H M ACCOUNTING &
   663189 CONSULTING ASSO                             9 CALLE PALMER ALTOS                                                                                    CIDRA             PR           00739
   212447 H M ESSO SERVICE STATION                    PO BOX 2171                                                                                             RIO GRANDE        PR           00745
   663190 H M G                                       P O BOX 1176                                                                                            COTTO LAUREL      PR           00780‐1176
          H M G MANAGMENT &
   212448 CONSULTING GROUP CORP                       PO BOX 1523                                                                                             MAYAGUEZ          PR           00681
   663191 H M SECURITY CORPORATION                    1080 PADRE CAPUCHINO                                                                                    SAN JUAN          PR           00925‐3213
   663192 H N CONSTRUCTION                            HC 73 BOX 6073             BO NUEVO                                                                     NARANJITO         PR           00719
                                                                                 224 CALLE VIENA URB COLLEGE
   663194 H N PRODUCE                                 COLLEGE PARK               PARK                                                                         SAN JUAN          PR           00921
   663195 H O DISTRIBUTORS                            REXVILLE                   BN 13 CALLE 42                                                               BAYAMON           PR           00957
   663196 H O M E R INC                               P O BOX 8782                                                                                            HUMACAO           PR           00792
          H O P NEW YORK
   212449 ENTERTAINMENT LLC DBA                       SLATE MEDIA GROUP NEW YORK P O BOX 417412                                                               BOSTON            MA           02241‐7412
   212450 H O S E C                                   PO BOX 1778                                                                                             GUAYNABO          PR           00970‐1778
   663197 H P ONLY                                    MINILLAS STATION           PO BOX 41105                                                                 SAN JUAN          PR           00940
   212451 H P PUERTO RICO LLC                         P O BOX 70193                                                                                           SAN JUAN          PR           00936

   663198 H P RENTAL & REPAIR CENTER                  P O BOX 41105                                                                                           SAN JUAN          PR           00940
   663199 H PEREZ CARRASQUILLO                        P O BOX 202                                                                                             SAINT JUST        PR           00978‐0202
          H R AUTO BODY SERVICES
   663200 CENTER                                      PO BOX 11013                                                                                            SAN JUAN          PR           00910
          H R DIRECT DBA / BALDWING
   663202 COOKE CO                                    PO BOX 3082                                                                                             NOTHBROOK         IL           60065‐9681
   663206 H R ENGINEERING                             HC 73 BOX 5912                                                                                          NARANJITO         PR           00719
   663207 H R GULF                                    HC‐71 BOX 3415                                                                                          NARANJITO         PR           00719
          H R INC / DBA RINCON OF THE
   212452 SEAS                                        PO BOX 1850                                                                                             RINCON            PR           00677
   663208 H R MACHINE SHOP INC                        BDA CARMEN                 82 CALLE A SEMIDEY                                                           SALINAS           PR           00751

   663209 H R MAINTENANCE & SERVICES                  FAIR VIEW 1910 JUAN GIL                                                                                 SAN JUAN          PR           00926‐7635
   663210 H R PARTY RENTALS                           URB HERMANOS DAVILA        411 CALLE 1                                                                  BAYAMON           PR           00959‐5436
   663211 H R PLUMBING S E                            HC 2 BOX 14626                                                                                          CAROLINA          PR           00985
   212453 H R SYSTEMS INC                             PO BOX 366857                                                                                           SAN JUAN          PR           00936‐6857
   663212 H R T TRUCKING INC                          PMB 1736 243 CALLE PARIS                                                                                SAN JUAN          PR           00917
   663213 H R U DATA CENTER INC                       PO BOX 9024275                                                                                          SAN JUAN          PR           00902‐4275
   663214 H S B C                                     16 KINGS STREET                                                                                         LONDON            NC           2E 8JF UR      UNITED KINGDOM
          H S BC FRANCE SUCCURSALE
   663215 LAFAYETTE HAUSM                             14 BOULEVARD HAUSMANN                                                                                   PARIS                          75009          FRANCE



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  663216 H S REPORTERS                                P O BOX 4302                                                                                                       CAROLINA          PR           00984
  663217 H VAZQUEZ CONSTRUCTION                       HC 03 BOX 80962                                                                                                    BARRANQUITAS      PR           00794
  212455 H Y P INC                                    PO BOX 720                                                                                                         MAYAGUEZ          PR           00681‐0720

   663218 H Y R ELECTRIC CONSTRUCTION                 SANTA JUANITA                  BK 12 CALLE LAREDO                                                                  BAYAMON           PR           00956‐4914
   212456 H. DIAZ SANTINI                             REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   212457 H. Keller Trading Corp.                     PO BOX 3696, MARINA STATION                                                                                        MAYAGUEZ          PR           00681
          H. SUSTITUTO GONZALEZ DE                    URB. VILLA CALIZ I C/RIQUEZA
   212458 LEON                                        #34                                                                                                                CAGUAS            PR           00725

   212459 H.A. SOLUTION & SERVICES, INC. PO BOX 9005                                                                                                                     HUMACAO           PR           00792

   663219 H.E.COMMUNICATIONS                          URB.BELLOMONTE S‐9 CALLE 2                                                                                         GUAYNABO          PR           00969
   663220 H.G.CONSTRUCTION INC.                       PO BOX 1086                                                                                                        PONCE             PR           00780
   212460 H.I. MAYAGUEZ, INC.                         2701 AVE HOSTOS                                                                                                    MAYAGUEZ          PR           00682‐0000
   663221 H.J.G. PACKAGING INC.                       PO BOX 9715                                                                                                        SAN JUAN          PR           00908
   212461 H.M.H.,INC.                                 191 CARR. #2                                                                                                       HATILLO           PR           00659
   212462 H.O.S.E.C.                                  P.P BOX 1778                                                                                                       GUAYNABO          PR           00970‐1778
   663222 H.Q. CONSTRUCTION CORP.                     PO BOX 7843                                                                                                        PONCE             PR           00732
          H.R. GENERAL CONTRACTORS
   663223 INC.                                        P.O. BOX 29452                 65 TH INF.STA.                                                                      SAN JUAN          PR           00929
   212463 H.R. PROPERTIES, INC.                       P O BOX 12112                                                                                                      SAN JUAN          PR           00979‐0000
   212464 H.R.T. TRUCKING, INC.                       CLLE PARIS 243                 PMB 1736                                                                            SAN JUAN          PR           00917
   663224 H2A COMMUNICATIONS                          1019 BORDER LANE                                                                                                   MOSCOW IDAHO      ID           83843‐8737
   212465 H8 CORPORATION                              P.O.BOX 13630                                                                                                      SAN JUAN          PR           00908‐3630
   212471 HABIB MASSARI DIAZ                          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
                                                      MARIE ANGELES ROMAN
  1419984 HABIBE ARRIAS, TOMMY R                      NEGRON                         PO BOX 9446                                                                         BAYAMON           PR           00960‐9446
   663225 HABIBE COMPUTER                             P O BOX 8205                                                                                                       SAN JUAN          PR           00910‐8205
          HABIBE COMPUTER
   212472 CORPORATION                                 PO BOX 8205                                                                                                        SANTURCE          PR           00910‐8205
          HABITAT FOR HUMANITY OF PR,
  1256534 INC.                                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          HABITAT FOR HUMANITY OF
   663227 PUERTO RICO                                 PMB 135                        AVE ASHFORD 1357                                                                    SAN JUAN          PR           00907
          HABITAT URBANO                                                             CALLE ESTEBAN GONZALEZ
   663228 PLANIFICADORES Y ARQUITEC                   111 AVE UNIVERSIDAD            LOCAL 4                                                                             SAN JUAN          PR           00924

          HABLEMOS CENTRO DE
   212476 HABILITACION Y REHABILITACION URB SAN GERARDO                              1768 CALLE ALABAMA                                                                  SAN JUAN          PR           00926
          HABLEMOS CENTRO               REHABILITACION DEL HABLA‐
   212477 HABILITACION Y                LENGUAJE, INC                                BARCELO #55                                                                         CIDRA             PR           00739
   212480 HACER INC                     BO JOBOS                                     79 RUTA 10                                                                          ISABELA           PR           00662
          HACIENDA / GLORIA E SANTOS
   212481 RODRIGUEZ                     PO BOX 9024140                                                                                                                   SAN JUAN          PR           00902‐4140
          HACIENDA / SANDRA I VEGA DE
   212482 JESUS                         PO BOX 9024140                                                                                                                   SAN JUAN          PR           00902‐4140
          HACIENDA / WILMA I BURGOS
   212483 CASANOVA                      PO BOX 9024140                                                                                                                   SAN JUAN          PR           00902‐4140
   663230 HACIENDA ANA COFFE STATE      URB VALDRICH                                 560 PEDRO BIGAY                                                                     SAN JUAN          PR           00918
          HACIENDA ANDREA
   212484 CORPORATION                   PMB 190                                      PO BOX 4960                                                                         CAGUAS            PR           00726‐4960



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  663231 HACIENDA BRAVO                               RR 4 BOX 27765                                                                                       TOA ALTA          PR           00953
  212485 HACIENDA BRISA FRESCA INC                    PO BOX 2072                                                                                          AGUADILLA         PR           00605
         HACIENDA BUENOS AIRES DAIRY
  663232 FARMS INC                                    PO BOX 1675                                                                                          RINCON            PR           00677
         HACIENDA BUERNOS AIRES
  212486 RANCH                                        RESORTS LLC               P O BOX 1675                                                               RINCON            PR           00677
         HACIENDA CASCADA
  663233 MANANTIAL INC                                URB COLLEGE PARK          300 CALLE SIERRA                                                           SAN JUAN          PR           00921 4353
  212487 HACIENDA CENTRAL                             HC 20 BOX 10715                                                                                      JUNCOS            PR           00777‐9607
  212488 HACIENDA CENTRAL INC                         HC 20 BOX 10715                                                                                      JUNCOS            PR           00777‐9607
  663234 HACIENDA CORSEGA                             PO BOX 192678                                                                                        SAN JUAN          PR           00919
  663235 HACIENDA COUNTRY CLUB                        PO BOX 1898                                                                                          GUAYNABO          PR           00970‐1898
         HACIENDA DON ANTONIO
  212489 COMAR CORP                                   HC 02 BOX 12519                                                                                      AGUAS BUENAS      PR           00703
  663236 HACIENDA DON MAYO                            P O BOX 1014                                                                                         ADJUNTAS          PR           00601
  212490 HACIENDA DONA EMMA INC                       PO BOX 250488                                                                                        AGUADILLA         PR           00604‐0488
  212491 HACIENDA DONA MINGA                          PO BOX 9091                                                                                          ARECIBO           PR           00613‐9091
  663237 HACIENDA DORADA                              N 1 VILLAS DE PLAYA II                                                                               DORADO            PR           00646
  663238 HACIENDA EL BOHIQUE INC                      VILLA LISSETTE            B 15 CALLE BENITEZ                                                         GUAYNABO          PR           00969
  212492 HACIENDA EL JIBARITO                         PO BOX 3210                                                                                          SAN SEBASTIAN     PR           00685

   212493 HACIENDA EL PARAISO GROUP                   URB SANTA ROSA            CASA 16 BLOQUE 5 CALLE 24                                                  BAYAMON           PR           00959
   212494 HACIENDA EL SHADDAI INC                     HC 1 BOX 6323                                                                                        AGUAS BUENAS      PR           00703
   212495 HACIENDA EL TABLADO INC                     PO BOX 189                                                                                           CAGUAS            PR           00726
   212496 HACIENDA EL VASCO INC                       PO BOX 195625                                                                                        SAN JUAN          PR           00919
   663239 HACIENDA ELENA INC                          PO BOX 9506                                                                                          SAN JUAN          PR           00908‐0506
          HACIENDA ELNEGRO/ LUIS M
   212497 NEGRON GONZALEZ                             HC 71 BOX 2015                                                                                       NARANJITO         PR           00719‐9733
   212498 HACIENDA EUGENIA INC                        P O BOX 9915                                                                                         CAROLINA          PR           00988‐9915
   663240 HACIENDA FLORIDA INC                        EDIF PESQUERA SUITE 603   601 CALLE DEL PARQUE                                                       SAN JUAN          PR           00909‐2315
   212499 HACIENDA GUAYANEI                           P O BOX 310                                                                                          MANATI            PR           00674
   663241 HACIENDA IGUALDAD INC                       PO BOX 9986                                                                                          SAN JUAN          PR           00908
   663242 HACIENDA LA ALDEA                           HC 2 BOX 7320                                                                                        CIALES            PR           00638

   663243 HACIENDA LA HERRADURA INC                   PO BOX 3632                                                                                          BAYAMON           PR           00958
  1419985 HACIENDA LA HUECA, INC.                     JULIO DIAZ ROSADO         1499 CARR 2 STE 4                                                          BAYAMON           PR           00959‐6701
   212500 HACIENDA LA QUINTA                          HC 02 BOX 6284                                                                                       ADJUNTA           PR           00601‐9616
   663244 HACIENDA LAS CAROLINAS SE                   PO BOX 71385                                                                                         SAN JUAN          PR           00936
   212502 HACIENDA LOMA ALTA INC                      HC 03 BOX 8714                                                                                       LARES             PR           00669
          HACIENDA LOS AMIGOS
   212503 CORPORATIVO                                 PO BOX 667                                                                                           AIBONITO          PR           00705
   212504 HACIENDA LOS EUCALIPTOS                     HC 03 BOX 8714                                                                                       LARES             PR           00669
   212505 HACIENDA LOS NIETOS INC                     P O BOX 801510                                                                                       COTTO LAUREL      PR           00780‐1510
          HACIENDA LOTERIA EDDIE
   212506 DAVILA DEL VALLE                            139 AVE CHARDON                                                                                      SAN JUAN          PR           00918‐0902
   212507 HACIENDA MARAMGELI INC                      PO BOX 993                                                                                           SAN LORENZO       PR           00754‐0993
   212508 HACIENDA ML INC                             PO BOX 1602                                                                                          BAYAMON           PR           00960
   212509 HACIENDA MONTE ALTO INC                     PO BOX 619                                                                                           ADJUNTAS          PR           00601
   663245 HACIENDA NEGRON                             HC 01 BOX 3732                                                                                       VILLALBA          PR           00786
   663246 HACIENDA NINA BONITA                        FERNANDEZ JUNCOS STA      P O BOX 11800                                                              SAN JUAN          PR           00910

   212510 HACIENDA OCHOA GARCIA INC                   PO BOX 1255                                                                                          JUNCOS            PR           00777
   663247 HACIENDA RAMIREZ INC                        PO BOX 5286                                                                                          SAN SEBASTIAN     PR           00685‐5286



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          HACIENDA RIVERA/GREEN
   212511 ENERGY AND                                  FUELS INC                  3 SECT SANTA TERESITA                                                                  NARANJITO            PR           00719‐8739
   212512 HACIENDA ROLON INC                          PO BOX 8052 UPRA STATION                                                                                          ARECIBO              PR           00613
          HACIENDA SAN JOSE
   212513 HOMEOWNERS ASSOC INC                        HACIENDA SAN JOSE          200 VIA MEDIEVAL                                                                       CAGUAS               PR           00727
   212514 HACIENDA SAN MARTIN INC                     10 CARR 693                                                                                                       DORADO               PR           00646
   663248 HACIENDA SANTA MARIA INC                    PMB 137                    405 AVE ESMERALDA SUITE 2                                                              GUAYNABO             PR           00969‐4457
   212515 HACIENDA SEPULVEDA INC                      HC 1 BOX 2000                                                                                                     JAYUYA               PR           00664
   212516 HACIENDA SIESTA ALEGRE                      PO BOX 1876                                                                                                       RIO GRANDE           PR           00745
   663250 HACIENDA SODEVILA                           BOX 1377                                                                                                          GUAYNABO             PR           00971
   663251 HACIENDA TAMARINDO                          PO BOX 1569                                                                                                       VIEQUES              PR           00765
   663252 HACIENDA TOLEDO INC                         PO BOX 11918               CAPARRA HEIGHT STATION                                                                 SAN JUAN             PR           00922‐1918
          HACIENDA TORO ALDIETE &
   212517 STEAK HOUSE INC                             BO CAIMITO                 CARR 31 KM 19.6                                                                        JUNCOS               PR           00777
   663229 HACIENDA TRES HERMANOS                      P O BOX 9986                                                                                                      SAN JUAN             PR           00908
   663253 HACIENDA TRINITARIA                         P O BOX 801                                                                                                       NAGUABO              PR           00744‐0801
          HACIENDA WILMARI
   212518 COMMUNITY , INC                             HC ‐ 02 BOX 44539                                                                                                 VEGA BAJA            PR           00693
   212519 HACIENDA WILMARI I II                       HC 02 BOX 44539                                                                                                   VEGA BAJA            PR           00693
          HACIENDA Y O VICTOR M.                      INTENDENTE ALEJANDRO
   212520 TORRES CINTRON                              RAMIREZ                    10 PASEO COVADONGA                                                                     SAN JUAN             PR           00902‐4140
          HACIENDA Y RESTAURANTE
   663254 CAMPO ALEGRE                                BOX 1720                                                                                                          PONCE                PR           00732‐0811
   212524 HADA I ORTEGA NUNEZ                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   663255 HADA L COLON                                16 MANSIONES DE ALEJANDRINO                                                                                       GUAYNABO             PR           00969
   212525 HADA ORTEGA NUNEZ                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   212526 HADAVELL SALTAR MATOS                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   212528 HADDAD ZOUAIN MD, MARIO A                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   212574 HADESMAN MD , WILLIAM M                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   663256 HADI SHELL                                  CALLE PARQUE #6                                                                                                   BAYAMON              PR           00961

   212575 HADIOMAR RIVERA MELENDEZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   212577 HADRIEL D CAJIGAS NIEVES                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   663258 HADRONIGS INC                               4570 STEEL PLACE                                                                                                  CINCINATI            OH           45209
   663259 HADY FLORES TORRES                          P O BOX 604                                                                                                       TOA BAJA             PR           00951
   212578 HAELY WEBSTER SANTANA                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      CONDOMINIO TORRES PLAZA
   663260 HAFEEZ UR REHMAN BEGUM                      DEL SUR                    APT6 A                                                                                 PONCE                PR           00731

   212582 HAGE CONSULTING GROUP PSC                   1122 AVE PONCE DE LEON                                                                                            SAN JUAN             PR           00925
          HAHNEMANN FAMILY HEALTH
   212594 CENTER                                      279 LINCOLN ST                                                                                                    WORCESTER            MA           01605
   663261 HAIDEILIA AYALA GUTIERREZ                   HC 43 BOX 11900                                                                                                   CAYEY                PR           00736
   212598 HAILE AYALA DAVILA                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   663262 HAILIE RIVERA FELIX                         PO BOX 9021112                                                                                                    SAN JUAN             PR           00902‐1112
   212601 HAINES MD , JAMES F                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   663263 HAIR DIMENSIONS                             55 CALLE CORCHADO                                                                                                 ISABELA              PR           00662
   212602 HAIRORD MEJIAS ZAYAS                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   212603 HAIRY L GUZMAN SOTO                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   212604 HAISMAN MD, JOAN                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   663265 HAITIAN GALLERY                             206 CALLE FORTALEZA                                                                                               SAN JUAN             PR           00901



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  663266 HAL DEVELOPMENT CORP                         PO BOX 360417                                                                                                     SAN JUAN          PR         00936‐0417
  663267 HAL INC.LAS CASCADAS                         PO BOX 5257                                                                                                       AGUADILLA         PR         00605
  212606 HALAIS GROUP, INC.                           PO BOX 5519                                                                                                       CAGUAS            PR         00726
  212607 HALAIS KAREH, ROBERTO                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  663268 HALCO SALES INC                              PO BOX 4820                                                                                                       CAROLINA          PR         00984
  212608 HALE HOSPITAL                                PO BOX 88                                                                                                         MILTON            MA         02186
  663269 HALE PUBLISHING                              1712 N FOREST                                                                                                     AMARILLO          TX         79106
  212609 HALE PUBLISHING, LP                          1712 N,FOREST                                                                                                     AMARILLO          TX         79106

   663270 HALF MOON BAY INC                           1452 AVE FERNANDEZ JUNCOS                                                                                         SAN JUAN          PR         00909
   663271 HALICHI GUZMAN CLEMENTE                     PO BOX 8692                                                                                                       BAYAMON           PR         00960‐8692
   212611 HALIFAX MEDICAL CENTER                      IPN NETWORK                 PO BOX 2830                                                                           DAYTONA BEACH     FL         32120‐2830
   663273 HALIMA L LEDEE SERRANO                      HC 05 BOX 54713                                                                                                   MAYAGUEZ          PR         00680
   663272 HALIMA MARTINEZ LEDEE                       VISTA DEL OCEANO            HC 1 BOX 8354                                                                         LOIZA             PR         00772
          HALL GARCIA CARDIOLOGY
   663274 ASSOC                                       PO BOX 1759 DEPT 951                                                                                              HOUSTON           TX         11251‐1759
   212617 HALL P.R. INC.                              M 228 VILLA CAPARRA         CARR 2                                                                                GUAYNABO          PR         00966
   212622 HALLEGADO MD, ARLENE                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          HALLIE S GHIGLIOTTI
   212624 GUADALUPE                                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   212626 HALLMAN NAVARRO MD, DIANA REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663276 HALLOWS REST              HC 1 BOX 11228                                                                                                                      ARECIBO           PR         00612
   663277 HALLYMA M GAUTHIER        URB DOS PINOS                                 783 CALLE LINCE                                                                       SAN JUAN          PR         00923

   212631 HALVIN JERONIL DEL VALLE CRUZ REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          HAMAQUEROS DE PEPINO LIGA
   212633 PUERTORRIQUENA                REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663278 HAMBERGER DISPLAYS INC        3150 BORDENTOWIN AVE                      OLD BRIDGE                                                                            NEW JERSEY        NJ         08857
          HAMBURGO LAGARES MD,
   212634 ANGEL                         REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          HAMDALLAH RASHID MD,
   212635 KADIJAH                       REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   212636 HAMDAN FIGUEROA MD, SAHAR REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663280 HAMED CORP                P O BOX 910                                                                                                                         BAYAMON           PR         00960
   212640 HAMED SANTAELLA BONANO    REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   663281 HAMEL JOSE BORGES GUERRA                    PO BOX 194251                                                                                                     SAN JUAN          PR         00919‐4251
          HAMELIN PEST CONTROL THE
   212642 EXTERMINATION                               MSC 616 EL SENORIAL         138 AVE WISTON CHURCHILL                                                              SAN JUAN          PR         00926‐6023
   663282 HAMID GALIB FRANGIE CAPO                    URB SAN IGNACIO             16 CALLE SAN ROBERTO                                                                  SAN JUAN          PR         00927
   212643 HAMID J SANCHEZ GONZALEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663284 HAMILCAR RODRIGUEZ                          PO BOX 417                                                                                                        SABANA GRANDE     PR         00637 0417
   212646 HAMILTON AYALA LUGO                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663285 HAMILTON COLON SILVA                        PO BOX 2017 PMB 145                                                                                               LAS PIEDRAS       PR         00771
   212650 HAMILTON CRUZ AYALA                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   212651 HAMILTON HEALTH CENTER                      1821 FULTON ST              PO BOX 5098                                                                           HARRISBURG        PA         17102
   663286 HAMILTON IRIZARRY FLORES                    PO BOX 1196                                                                                                       SAN GERMAN        PR         00683
          HAMILTON K SANTOS
   663287 GONZALEZ/AIDA R GONZAL                      SABANA SECA                 459 CALLE MARGINAL OESTE                                                              TOA BAJA          PR         00952
   212655 HAMILTON ORTIZ QUINONES                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663288 HAMILTON PADILLA NEGRON                     PO BOX 7126                                                                                                       PONCE             PR         00732



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  663289 HAMILTON SCHOOL                              210 CALLE MORSE                                                                                                       ARROYO             PR           00714
  212657 HAMILTON SUNDSTRAND                          PO BOX 2805                                                                                                           SANTA ISABEL       PR           00757
         HAMILTON SUNDSTRAND DE
  663290 PUERTO RICO                                  PO BOX 19                                                                                                             SANTA ISABEL       PR           00757
  212658 HAMILTON TODD DAVIS                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
  212659 HAMILTON VAZQUEZ ARVELO                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
  212660 HAMILTON, ALEXANDER                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
  663291 HAMIR MOJICA MOJICA                          PO BOX 1537                                                                                                           JUNCOS             PR           00777

   212662 HAMLET C CASTRODAD RIVERA                   REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   663292 HAMLET SANTOS GARCIA                        P O BOX 9300513                                                                                                       SAN JUAN           PR           00928

   663293 HAMMER E OREJUELA BARONA                    URB REXVILLE                   C 2 ‐10 CALLE 17 A                                                                     BAYAMON            PR           00957
   663294 HAMMER VIDEOS                               PO BOX 2059                                                                                                           WOBURN             MA           01801
   212664 HAMMIL ALVAREZ MONGE                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   212666 HAMMOND MD, MATTHEW                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   212667 HAMOT MEDICAL CENTER                        201 STATE ST                                                                                                          ERIE               PA           16550‐0001
          HAMPTON BEHAVIORAL HLTH
   212668 CTR                                         MEDICAL RECORDS                650 RANCOCAS ROAD                                                                      WESTAMPTON TWP     NJ           08060
   663295 HAMSCO CARIBBEAN CORP.                      PO BOX 363783                                                                                                         SAN JUAN           PR           00936
   663296 HAN CREAM REST                              URB MARIA DEL CARMEN           C 10 M 2                                                                               COROZAL            PR           00783
   663297 HANA MELUZIN                                PO BOX 594                                                                                                            SAN GERMAN         PR           00683
   663298 HANA Y LOPEZ TORRES                         RIO GRANDE ESTATE              R 42 AVE B                                                                             RIO GRANDE         PR           00745
   212670 HANABERGH MD, ENRIQUE                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   212688 HANCE GARCIA, MIGDALIA                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

  1419986 HANCE RODRIGUEZ, ELIZABETH                  GILBERTO E. PADUA TRABAL       1111 AVE. JESUS T. PIÑERO                                                              SAN JUAN           PR           00920‐5605
   663299 HAND D CARIBBEAN INC                        PO BOX 2318                                                                                                           TOA BAJA           PR           00951‐2318
   212709 HANDANGO                                    305 NE LOOP 820                SUITE 200                                                                              HURTS              TX           76053
          HANDERSON MARTINEZ
   212710 ALVARADO                                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
          HANDICAPPED DRIVER SERVICES                 1255 KENNESTONE CIRLCLE STE
   212711 INC                                         240                                                                                                                   MARIETTA           GA           30066
   212712 HANDLER MD , LAWRENCE J                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   212714 HANDY ANDY                                  CALLE 17 N‐46 EXT VILLA RICA                                                                                          BAYAMON            PR           00959
          HANDY MAN & ELECTRICAL
   212715 SERVICES                                    HC 01 BOX 5019                                                                                                        VILLALBA           PR           00766
   663301 HANDYMAN SERVICES                           PO BOX 29177                                                                                                          SAN JUAN           PR           00929
   212717 HANDYMAN SERVICES INC                       PO BOX 29177                                                                                                          SAN JUAN           PR           00929
   212718 HANES DE PUERTO RICO                        P O BOX 335                                                                                                           CATANO             PR           00963
   212719 HANES MENSWEAR INC                          PO BOX 224                                                                                                            PONCE              PR           00732

   663307 HANIA RODRIGUEZ VELAZQUEZ                   URB TURABO GARDENS             K 7 CALLE 40                                                                           CAGUAS             PR           00725
   212722 HANIEL MORALES                              REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   663308 HANIEL MORALES ALGARIN                      RIO GRANDE STATE               B 18 CALLE 2                                                                           RIO GRANDE         PR           00745
   212724 HANIN INC                                   ALTURAS DE VEGA BAJA           GG1 CALLE AA                                                                           VEGA BAJA          PR           00693
   663310 HANLEY & BELFUS INC                         210 SOUTH 13TH STREET                                                                                                 PHILADELPHIA       PA           19107
   212726 HANLEY DNP PA, JENNIFER A                   REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   663311 HANNA I MARTINEZ OLIVERAS                   P O BOX 1154                                                                                                          ISABELA            PR           00662

   212727 HANNA K RODRIGUEZ MORALES REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   212728 HANNA M ZAMBRANA DIAZ     REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED




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   663312 HANNA MEDICAL PRODUCTS INC. PO BOX 3302                                                                                                                          GUAYNABO            PR           00970

   663313 HANNA TRADING CORPORATION P O BOX 3302                                                                                                                           GUAYNABO            PR           00970‐0000
          HANNA TRADING Y BCO
   212729 DESARROLLO ECONOMICO      P O BOX 2134                                                                                                                           SAN JUAN            PR           00922‐2134
   212731 HANNALLAH MD, B           REDACTED                                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   212734 HANNELORE CALDERON BERRIOS REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   212735 HANNIA B RIVERA DIAZ       REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   212736 HANNIBAL SIERRA LLANOS     REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   212743 HANOI SOTO GARCIA          REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   212744 HANOVER GENERAL HOSPITAL                    PO BOX 1872 AVE                                                                                                      ALPHARETTA          GA           30005‐9901
          HANOVER HOSPITAL REHAB
   212745 CENTERS                                     400 YORK STREET                                                                                                      HANOVER             PA           17331‐3357
          HANS CHRISTIAN LAFONT
   663315 RODRIGUEZ                                   URB JARDINES DE SAN LORENZO F 8B CALLE 4                                                                             SAN LORENZO         PR           00754
   663316 HANS DIETER HILL SAMER                      LA CASITAS DEL SOL          APTO 424 CALLE 2 DE JUNIO                                                                BOCA CHICA                                     DOMINICAN REPUBLIC
   212746 HANS H ADOLFF                               REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HANS LOPEZ STUBBE / SINDICO
   663317 COLONIAL                                    PO BOX 10118                                                                                                         SAN JUAN            PR           00922
   212747 HANS N. RIVERA COLON                        REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663318 HANS P RODRIGUEZ FUENTES                    PO BOX 9024211                                                                                                       SAN JUAN            PR           00902‐4211

   212748 HANS R MERCADO Y ASOCIADOS PO BOX 1523                                                                                                                           MAYAGUEZ            PR           00681
   663319 HANS ULRICH OBRIST         P O BOX 9021112                                                                                                                       SAN JUAN            PR           00902‐1112
   212749 HANSEL RIVERA ORTIZ        REDACTED                                      REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   212751 HANSEN MD, DWIGHT          REDACTED                                      REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   212752 HANSY AUTO PARTS           URB LOMAS VERDES                              3D 30 AVE NOGAL                                                                         BAYAMON             PR           00956
   212753 HANUCH MD, OMAR            REDACTED                                      REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   212754 HANZEL & COMPANY INC       EDIF BANCO POPULAR                            SUITE 906                                                                               SAN JUAN            PR           00902
                                                                                   14 CALLE HIJA DEL CARIBE APTO
   663322 HAOYUAN HUANG               LOS MAESTROS                                 A                                                                                       SAN JUAN            PR           00917
          HAPPINESS WELL BEING MENTAL
   212755 HEALTH                      PO BOX 52232                                                                                                                         TOA BAJA            PR           00950
   212756 HAPPY ADS INC               PMB 612                      89 AVE DE DIEGO SUITE 105                                                                               SAN JUAN            PR           00927‐6346
   212757 HAPPY ANGEL DAY CARE INC    HC 5 BOX 5458                                                                                                                        YABUCOA             PR           00767
          HAPPY ANGELS LEARNINING
   212758 CENTER, LLC                 HC 03 BOX 1                  LOS ROBLES                                                                                              HUMACAO             PR           00791‐9713
   663323 HAPPY BAKERY                7 CALLE RAMON FLORES                                                                                                                 AIBONITO            PR           00705
          HAPPY BRAINS PSYCHOLOGY
   212760 THERAPY AND LEAR            P.O. BOX 429                                                                                                                         GURABO              PR           00778
                                      EXT SAN ANTONIO VILLA BLANCA
   212761 HAPPY CHILDREN DAY          1                            J 12 CALLE 9                                                                                            CAGUAS              PR           00725
   212763 HAPPY ENDINGS ADOPTIONS     P O BOX 9374                                                                                                                         BAYAMON             PR           00960‐9374
   212764 HAPPY FACE                  LOS MONTES                   491 CALLE GARZA                                                                                         DORADO              PR           00645
   212766 HAPPY FACE HUMACAO LLC      PO BOX 894                                                                                                                           PUNTA SANTIAGO      PR           00741
          HAPPY HARVEST FOOD SERVICES
   212768 INC                         URB VILLA DEL CARMEN         4199 AVE CONSTANCIA                                                                                     PONCE               PR           00716
   663324 HAPPY KIDS                  HC‐02 BOX 11408                                                                                                                      MOCA                PR           00676
                                      MONTE CASINO HEIGHTS 189
   212769 HAPPY KIDS DAY CARE         RIO GUAJATACA                                                                                                                        TOA ALTA            PR           00953



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  212770 HAPPY KIDS VILLAGE                           URB SAN FRANCISCO           173 AVE DE DIEGO                                                                     SAN JUAN            PR           00927
  212772 HAPPY KIDS ZONE INC                          HC 61 BOX 5397                                                                                                   AGUADA              PR           00602
         HAPPY LAND DAY CARE AND
  212773 SCHOOL, INC.                                 MARIA DEL CARMEN            PLAZA 50 CARR 164         SUITE 17                                                   COROZAL             PR           00783
  212774 HAPPY PRODUCTIONS                            APARTADO 19569                                                                                                   SAN JUAN            PR           00910
 1256535 HAPPY PRODUCTIONS CORP.                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  212776 HAPPY PRODUCTS INC                           SAINT JUST STATION          PO BOX 908                                                                           SAINT JUST          PR           00984
  663326 HAPPY SHOPPING                               30 CALLE HOSTOS                                                                                                  SANTA ISABEL        PR           00757

   212777 HAPPY SOUND & LIGHTS CORP                   PO BOX 142514                                                                                                    ARECIBO             PR           00614
   212778 HARAS DON JORGE                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   212779 HARAS NORTENA                               REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   212780 HARAS SANTA ISABEL INC.                     PO BOX 13398                                                                                                     SAN JUAN            PR           00908‐3398
   212782 HARBOR BUNKERING CORP.                      PO BOX 9023111                                                                                                   SAN JUAN            PR           00902‐3111
   212783 HARBOR BUNKERING INC                        PO BOX 90231111                                                                                                  SAN JUAN            PR           00902‐3111
   212785 HARBOR ENG CONST CORP                       PO BOX 2020                 PMB 259                                                                              BARCELONETA         PR           00617
   212786 HARBOR FUEL SERVICES INC.                   PO BOX 270262                                                                                                    SAN JUAN            PR           00902
   663328 HARBOR LIFT SERVICE                         P O BOX 9021855             69 AVE FERNANDEZ JUNCOS                                                              SAN JUAN            PR           00905
          HARBOR MID CAP GROWHT
   663329 FUND                                        ONE SEAGATE 14 TH FLOOR                                                                                          TOLEDO              OH           43604‐1572

   212788 HARBOR SIDE FINANCIAL CENTER 201 PLAZA THREE                                                                                                                 JERSEY CITY         NJ           07311‐3881
          HARBOUR HOLDINGS
   663330 OPERATION                    PO BOX 9021033                                                                                                                  SAN JUAN            PR           00902‐1033
          HARBOUR INSURANCE
   212789 CORPORATION                  PO BOX 9023992                                                                                                                  OLD SAN JUAN        PR           00902‐3992
                                       ORLANDO 6277 SEA HARBOR
   212794 HARCOURT BRACE CO            DRIVE                                                                                                                           ORLANDO             FL           32887
          HARCOURT BRACE
   212797 JAVANOVICH,INC.              P.O.BOX 620110                                                                                                                  ORLANDO             FL           32862‐0110

   663331 HARCOURT BRACE PROFESIONAL 6277 SEA HARBOR DRIVE                                                                                                             ORLANDO             FL           3288
   212798 HARCOURT BROWN LLC         6327 S OLIVE ST                                                                                                                   CENTENNIAL          CO           80111
          HARD HITS INTERNATIONAL
   212800 CORP                       550 AVE CONSTITUCION APT 209                                                                                                      SAN JUAN            PR           00901
          HARDFORD CONTRY HEALTH
   663332 DEPT                       C OMARYLAND BRAST TEEDING PO BOX 979                                                                                              BEL AIR             MD           21014
   663333 HARDING LOPEZ RAMOS        HC 02 BOX 5295                                                                                                                    LARES               PR           00669

   212803 HARDWARE DISTRIBUTORS LLC                   COLINAS DE FAIRVIEW         4G 10 CALLE 205                                                                      TRUJILLO ALTO       PR           00976
          HARDWARE/HOUSEWARES
   663335 SHOW                                        PO BOX 29021                                                                                                     SAN JUAN            PR           00929
   663336 HARDWAVE PLUS INC                           PO BOX 10773                                                                                                     SAN JUAN            PR           00922
  1256536 HAREN LOPEZ ALZOLAS                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          HARFORD LIFE & ACCIDENT INS                 200 HOPMEADOW ST TAX DEPT
   663337 CO                                          A3                                                                                                               SIMSBURY            CT           06089
                                                      200 HOPMEADOW ST TAX DEPT
   663338 HARFORD LIFE INSURANCE CO                   A3                                                                                                               SIMSBURY            CT           06089
   212805 HARFORD MD, LEAH                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   212807 HARIANI ZAYAS COLLAZO                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   663339 HARIBE COMPUTER CORP.                       URB CARIBE                  1603 AVE PONCE DE LEON                                                               SAN JUAN            PR           00926
   663340 HARID LOPEZ TORRES                          HC 3 BOX 7013                                                                                                    HUMACAO             PR           00791
   663341 HARIETTE L PEREZ MARTINEZ                   URB VILLA SOL               57 CALLE SAN ALFONSO                                                                 MAYAGUEZ            PR           00680



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  212810 HARIM J FARDONK CAJIGAS                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  663342 HARLAN AUTO AIR                              HC 83 BOX 7474                                                                                                         VEGA ALTA            PR         00692
  212811 HARLEM HOSPITAL CENTER                       506 LENOX AVE                                                                                                          NEW YORK             NY         10037‐1894
  212812 HARLEM MEDICAL GROUP                         1001 GRAND CONCOURSE         #1 B                                                                                      BRONX                NY         10452
  212813 HARLEY J LIZARDO PINA                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         HARLEYN DALBERTO ECHANDY
  663343 NIEVES                                       RES YAGUEZ EDIF 3 APT 130                                                                                              MAYAGUEZ             PR         00680
  663344 HARMONIE                                     1103 CALLE DEL CARMEN                                                                                                  SAN JUAN             PR         00925
  663345 HARMONY COMPUTERS                            1801 FLATBUSH AVE                                                                                                      BROOKLYN             NY         11210
  212814 HAROBED PEREZ FERRER                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   212815 HAROLD A ALEJANDRO BAYRON REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   663347 HAROLD A CHACON                             URB LAS MONJAS 163 CALLE B                                                                                             SAN JUAN             PR         00917

   663348 HAROLD A FRYE MALDONADO                     COND VENUS TOWER             101 CALLE COSTA RICA APT 504                                                              SAN JUAN             PR         00917

   663349 HAROLD A MORELL HERNANDEZ BO ABRA HONDA HC 05                            BOX 27137                                                                                 CAMUY                PR         00627
   212816 HAROLD A PADILLA RIVERA   REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   212817 HAROLD A VAZQUEZ PEDRAZA                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   663350 HAROLD AGUADO SALAZAR                       PO BOX 143                                                                                                             AGUADILLA            PR         00605
   212819 HAROLD ALCOVER ELIAS                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   212820 HAROLD ALEQUIN VALENTIN                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   212821 HAROLD AUTO IMPORT                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   663353 HAROLD AVILES RODRIGUEZ                     COND GRANADA PARK STE 373    100 CALLE MARGINAL APT 10 M                                                               GUAYNABO             PR         00969
   212822 HAROLD BADILLO MERCADO                      REDACTED                     REDACTED                    REDACTED                               REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   663354 HAROLD BADILLO SANTIAGO                     SANTURCE STATION             PO BOX 10049                                                                              SAN JUAN             PR         00908‐0049
   212823 HAROLD BATISTA ACOSTA                       REDACTED                     REDACTED                    REDACTED                               REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          HAROLD BERRIOS
   663355 CHARLEMAGNE                                 BOX 474                                                                                                                YABUCOA              PR         00767
   212824 HAROLD BONILLA DELGADO                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   663356 HAROLD BORRERO BORRERO                      PO BOX 7126                                                                                                            PONCE                PR         00732
   663357 HAROLD BRENES MARTINEZ                      REPTO METROPOLITANO          SE 1032 CALLE 30                                                                          SAN JUAN             PR         00921
   663358 HAROLD BRUNO MENDEZ                         PARCELA FALU                 250 D CALLE 30                                                                            SAN JUAN             PR         00924
   663359 HAROLD BUSCHMAN                             1 RODRIGUEZ EMA APT 1402                                                                                               CAROLINA             PR         00979
   663360 HAROLD CASIANO JUSINO                       PO BOX 168                                                                                                             MARICAO              PR         00606
   663361 HAROLD CASTRO PEREZ                         URB LOS ARBOLES              CALLE 1‐2                                                                                 TOA ALTA             PR         00953
   212825 HAROLD CEDENO ORTIZ                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   212826 HAROLD COMULADA ORTIZ                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          HAROLD CORNIER RIOS/ GREEN
   212827 SOLAR                                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   212828 HAROLD CUADRADO SILVA                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   212829 HAROLD CUVAS GALARZA                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   212830 HAROLD D CUADROS CAMPO                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   212831 HAROLD D GARCIA CRUZ                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   212833 HAROLD DELGADO DIAZ                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   212834 HAROLD E ARROYO MERCADO                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   663363 HAROLD E BUSIGO BORRAS                      PO BOX 9023256                                                                                                         SAN JUAN             PR         00902

   663365 HAROLD E HERNANDEZ GIRAU                    PMB 036 P O BOX 8901                                                                                                   HATILLO              PR         00659



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  212835 HAROLD E HOPKINS                             REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  212836 HAROLD ESPENDEZ GIMENEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  212837 HAROLD F MILLAN BONILLA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  212838 HAROLD FERNANDEZ VEGA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  212839 HAROLD FUENTES PERDOMO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   663367 HAROLD G RAMIREZ CARTAGENA URB COSTA AZUL                               I 5 CALLE 15                                                                        GUAYAMA             PR         00784
   212841 HAROLD GONZALEZ AVILES     REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212842 HAROLD GONZALEZ SOSA       REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663346 HAROLD GONZALEZ SUAREZ     BO BARRONCAS 22 CALLE 4                                                                                                          GUAYAMA             PR         00784
   212843 HAROLD GONZALEZ TRUJILLO   REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663370 HAROLD GRACIANI MORALES    23 CALLE ARIZONA                                                                                                                 ARROYO              PR         00714
   663371 HAROLD H ORTIZ LUNA        PO BOX 930‐0048                                                                                                                  SAN JUAN            PR         00930‐0048
   663372 HAROLD HERNANDEZ LUGO      PO BOX 7126                                                                                                                      PONCE               PR         00732
   212844 HAROLD HOPSON CAMPBELL     REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663373 HAROLD I REICHEL           410 EAST JERICO TURNPIKE                                                                                                         MINEOLA             NY         11501
   212845 HAROLD I. TORRES GARCIA    REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663374 HAROLD J CARNEY            2828 LIVSEY CT                                                                                                                   TURKES              CA         30084
   212846 HAROLD JAMIL APONTE        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   663376 HAROLD JIM RIVERA VAZQUEZ                   URB. MIRAFLORES 15‐1 CALLE 25                                                                                   BAYAMON             PR         00957‐0000
   212849 HAROLD JR BONILLA TORRES                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   663378 HAROLD K FIGUEROA MERCADO                   232 AVE ELEONOR ROOSEVELT                                                                                       SAN JUAN            PR         00907
   663379 HAROLD KELLY BROOKS                         P O BOX 729                                                                                                     PATILLAS            PR         00723
   663380 HAROLD L COLON COLON                        HC 03 BOX 11986                                                                                                 JUANA DIAZ          PR         00795
   663381 HAROLD MARRERO OTERO                        HC 7 BOX 20500                                                                                                  MAYAGUEZ            PR         00680‐9067
   212850 HAROLD MARTINEZ PAGAN                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663382 HAROLD MARTINEZ ROBLES                      BOX 1441                                                                                                        JUANA DIAZ          PR         00795
   212852 HAROLD MATIAS ENGLAND                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663383 HAROLD MONTILLA SANCHEZ                     106 CALLE APONTE                                                                                                SAN JUAN            PR         00911
   663385 HAROLD N STODDARD                           COND COLINAS DE BAYAMON     BOX 506                                                                             BAYAMON             PR         00956
   212854 HAROLD N. RIVERA MEDINA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   212855 HAROLD N. RODRIGUEZ RIVERA                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663386 HAROLD NIEVES                               PO BOX 9788R                                                                                                    SAN JUAN            PR         00908

   212857 HAROLD NORMANDIA GONZALEZ REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212858 HAROLD ORTIZ AMADEO       REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663387 HAROLD ORTIZ CLASS        LOIZA VALLEY                                  C 160 CALLE AZUCENA                                                                 CANOVANA            PR         00729
   212859 HAROLD ORTIZ HERNANDEZ    REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212860 HAROLD ORTIZ VELEZ        REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212861 HAROLD PEREZ PEREZ        REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663388 HAROLD POLA               PMB SUITE 261                                 90 AVE RIO HONDO                                                                    BAYAMON             PR         00961 3113
   663389 HAROLD PRATTS COLON       HC 1 BOX 4261                                                                                                                     VILLALBA            PR         00766
   663390 HAROLD R CUTLER           165 LANDHAM ROAD                                                                                                                  SUDBURY             MA         01776

   663391 HAROLD R SANTIAGO BERRIOS                   P O BOX 878                                                                                                     GUAYAMA             PR         00785‐0875
   663394 HAROLD RIVERA LEBRON                        PO BOX 1962                                                                                                     GUAYAMA             PR         00785
   212863 HAROLD RIVERA ORTIZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   663395 HAROLD RODRIGUEZ GALARZA                    271 CALLE PESANTE                                                                                               SAN JUAN            PR         00912
   212864 HAROLD RODRIGUEZ ORTIZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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   663396 HAROLD ROSARIO RODRIGUEZ                    COND GOLDEN COURT i    APT T 1                                                                                  SAN JUAN            PR           00923
   212865 HAROLD SANCHEZ FLORES                       REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663397 HAROLD SANCHEZ ORTIZ                        EXT SALAZAR            1907 CALLE SACRISTIA                                                                     PONCE               PR           00717
   212866 HAROLD SANTIAGO PINERO                      REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663399 HAROLD SOTO ARROYO                          PO BOX 5371                                                                                                     SAN JUAN            PR           00919
   212867 HAROLD TORRES FIGUEROA                      REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663400 HAROLD TORRES ROMAN                         URB SANTA ROSA         42 19 CALLE 25                                                                           BAYAMON             PR           00959
   212868 HAROLD VAZQUEZ REAL                         REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   663401 HAROLD VELAZQUEZ RODRIGUEZ RIO PLANTATION                          BOX 12 CALLE COREA                                                                       BAYAMON             PR           00961
   212869 HAROLD VELEZ FEBRES        REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   212870 HAROLD W MONTANEZ COLON                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663402 HAROLD W REYES GONZALEZ                     P O BOX 435                                                                                                     FLORIDA             PR           00650

   212871 HAROLD W RODRIGUEZ GALARZA REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   212872 HAROLD Y GARCIA AYABARRENO REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HAROLIZ M HERNANDEZ
   212873 VELAZQUEZ                  REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   663403 HAROLYN COLON RODRIGUEZ                     HC 2 BOX 13837                                                                                                  GURABO              PR           00778‐9617
   212874 HARONID J ROSA RODRIGUEZ                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663404 HARPER COLLINS PUBLISCHER                   1506 BARI STREET       URB ANTONSANTI                                                                           RIO PIEDRAS         PR           00926
   212875 HARPINDER S AJMANI                          1431 N CLAREMONT AVE                                                                                            CHICAGO             IL           60622
          HARRIMAR MONTALVO
   663406 SANTANA                                     PARC LA TEA            1743 CALLE H                                                                             SAN GERMAN          PR           00683
          HARRINGTON MEMORIAL
   212879 HOSPITAL                                    100 SOUTH ST                                                                                                    SOUTHBRIDGE         MA           01550
   663407 HARRIS COMMUNICATIONS                       6541 CITY WEST PKWY                                                                                             EDEN PRAIRIE        MN           55344
          HARRIS CORP \ HARRIS LAW
   663408 ENFORMENT PROD                              P O BOX 91000                                                                                                   MELBOURNE           FL           32902
          HARRIS COUNTY PSYCHIATRIC
   212881 CENTER                                      PO BOX 20249                                                                                                    HOUSTON             TX           77225‐0249
          HARRIS FAMILY MEDICAL
   212882 CENTER                                      MEDICAL RECORDS        1800 W HIBISCUS AVE STE 101                                                              MELBOURNE           FL           32901

   212883 HARRIS GONZALEZ, GUADALUPE REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   212891 HARRIS MD, DAVID           REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   212892 HARRIS METHODIST H E B                      MEDICAL RECORDS        HEALTH INFORMATION SERVICES 1600 HOSPITAL PKWY                                           BEDFORD             TX           76022‐6913
   212893 HARRIS PAINT NOSE UTILIZA                   PO BOX 364723                                                                                                   SAN JUAN            PR           00936‐4723
   663409 HARRIS PAINTS CORP                          PO BOX 364723                                                                                                   SAN JUAN            PR           00936‐4723
          HARRISA HERNANDEZ
   663410 BARTOLOMEY                                  EXT SANTA MARIA        M10 CALLE 10                                                                             SAN GERMAN          PR           00683
   663411 HARRISON BERRIOS RIVERA                     PO BOX 7126                                                                                                     PONCE               PR           00732
   663412 HARRISON BURGOS PAGAN                       HC 1 BOX 4370                                                                                                   CIALES              PR           00638

   663413 HARRISON CONSULTING GROUP P O BOX 0567                                                                                                                      BAYAMON             PR           00960

   212895 HARRISON CONTRERAS FLORES                   REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   212897 HARRISON CRUZ, MARTINA                      REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  212902 HARRISON MD, DREW                            REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  663414 HARRISON PEREZ COLLAZO                       PO BOX 334297                                                                                                      PONCE               PR         00731
  212903 HARRISON PEREZ TIRADO                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  212906 HARRISON RIVERA SANTIAGO                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  212909 HARRISON VARGAS SOLER                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  212910 HARRISON W FLORES ORTIZ                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         HARRISONBURG MEDICAL
  212912 ASSOCIATES                                   PO BOX 409822                                                                                                      ATLANTA             GA         30384‐9822
         HARRISONBURG/ROCKINGHAM
  212913 FREE CLINIC                                  ATTN MEDICAL RECORDS          25 WEST WATER STREET                                                                 HARRISONBURG        VA         22801
  663420 HARRY A JIMENEZ PEREZ                        URB VILLAS DE CANEY           R3 A CALLE 21                                                                        TRUJILLO ALTO       PR         00976

   663415 HARRY A MARTINEZ HERNANDEZ HC 1 BOX 25910                                                                                                                      VEGA BAJA           PR         00693
   212915 HARRY A NEGRON COLON       REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663421 HARRY A SILVA LOPEZ        PO BOX 1459                                                                                                                         YAUCO               PR         00698
   212916 HARRY A VARGAS CAPELLA     REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212917 HARRY ACEVEDO MELENDEZ     REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663423 HARRY ACOSTA MARTINEZ      HC 04 BOX 12585                                                                                                                     HUMACAO             PR         00791
   212918 HARRY AGRONT GARCIA        REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212919 HARRY ALVERIO RODRIGUEZ    REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   663424 HARRY ANDUZE MONTANO                        1225 AVE PONCE DE LEON PH 1                                                                                        SAN JUAN            PR         00907‐3921
          HARRY ANTONIO RIVERA
   212920 SEPULVEDA                                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663425 HARRY APONTE ALICEA                         URB JAIME L DREW              267 CALLE B                                                                          PONCE               PR         00730
   212921 HARRY APONTE DE JESUS                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      7414 AVE AGUSTIN RAMOS
   663426 HARRY AUTO ELECTRICS                        CALERO                                                                                                             ISABELA             PR         00662
   663427 HARRY AUTO KOOL                             H C 1 BOX 7420                                                                                                     LUQUILLO            PR         00773
   663428 HARRY AYALA AYALA                           PO BOX 5401                                                                                                        YAUCO               PR         00698‐5401

   212922 HARRY B MENDOZA MENDOZA                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212923 HARRY B SMITH MILAN                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                    EXT WILSON BLOQUEM APTO
   663416 HARRY BELLO PAGAN                           RES PONCE DE LEON             193                                                                                  PONCE               PR         00731
   212924 HARRY BELTRAN FERRER                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663429 HARRY BERNARD GARCIA                        HC 01 BOX 5478                                                                                                     ADJUNTAS            PR         00601‐9721
   663430 HARRY BOSQUES MARTINEZ                      PMB 603 PO BOX 2500                                                                                                TOA BAJA            PR         00951
   212925 HARRY BRUGMAN MERCADO                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663431 HARRY C MARTINEZ ACOSTA                     BO EL SECO                    12 RAFAEL NAZARIO                                                                    MAYAGUEZ            PR         00682
   663432 HARRY CAEZ ROMAN                            URB STA JUANITA               N 18 CALLE ESTONIA                                                                   BAYAMON             PR         00956

   212926 HARRY CASTRO ENCARNACION                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663434 HARRY CINTRON MARTINEZ                      HC BOX 6144                                                                                                        YAUCO               PR         00698
   663435 HARRY COLON BURGOS                          LAS MARGARITAS                CALLE A H 11                                                                         SALINAS             PR         00751
   212927 HARRY COLON COLLAZO                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212928 HARRY COLON TORRES                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212929 HARRY COLON VAZQUEZ                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212931 HARRY CORNIER GONZALEZ                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212932 HARRY CORREA MARTINEZ                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663436 HARRY COSTAS DELGADO                        PO BOX 7126                                                                                                        PONCE               PR         00732
   212933 HARRY COTTO MONTALVO                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212934 HARRY CRUZ                                  REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  212935 HARRY CRUZ COLON                             REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  663437 HARRY CRUZ RAMOS                             URB VILLA PALMERAS            328 CALLE FAJARDO                                                                 SAN JUAN          PR         00915
  663438 HARRY D BREVAN                               PO BOX 21365                                                                                                    SAN JUAN          PR         00928
  212937 HARRY D MONTY VIGO                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  212938 HARRY E GARCIA CRUZ                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  663439 HARRY E MERCADO ORTIZ                        P O BOX 9460                  PLAZA CAROLINA STA                                                                CAROLINA          PR         00988 9460
  663442 HARRY E PEREZ ACEVEDO                        URB VILLA EL ENCANTO          F 12 CALLE 1                                                                      JUANA DIAZ        PR         00795

   663443 HARRY E RODRIGUEZ GUEVARA                   VILLAS DE MONTE ATENAS II     APARTAMENTO 805                                                                   SAN JUAN          PR         00926

   663444 HARRY E RODRIGUEZ JIMENEZ                   URB LA HACIENDA               AT 12 CALLE 46                                                                    GUAYAMA           PR         00784
   212939 HARRY E VARGAS ROMAN                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          HARRY ENCARNACION
   212940 VILLALONGO                                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   212941 HARRY ESPINO FUENTES                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   212942 HARRY FELICIANO RIOS                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   212943 HARRY FELICIANO VERA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   663445 HARRY FIGUEROA HERNANDEZ                    URB VILLA FONTANA PARK        5X4 PARQUE BOLONIA                                                                CAROLINA          PR         00983

   663446 HARRY FIGUEROA MALDONADO                    PO BOX 1686                                                                                                     JUANA DIAZ        PR         00795
   663447 HARRY FIGUEROA OJEDA                        URB BAYAMON GARDENS           G‐48 AVE CASTIGLIONI                                                              BAYAMON           PR         00957
   212944 HARRY FUMERO VILLANUEVA                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   212945 HARRY G RAMIREZ DIAZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   212946 HARRY G. LUGO RAMOS                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   212947 HARRY GOMEZ BERRIOS                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663451 HARRY GOMEZ NAVEDO                          RES JARDINES DE CAPARRA       EDIF 9 APT 195                                                                    BAYAMON           PR         00759
   663417 HARRY GONZALEZ BRUNO                        PO BOX 1212                                                                                                     VEGA ALTA         PR         00692

   663453 HARRY GONZALEZ RODRIGUEZ                    PO BOX 195624                                                                                                   SAN JUAN          PR         00919
   212948 HARRY GONZALEZ ROSA                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663455 HARRY H PADILLA                             PO BOX 2131                                                                                                     MAYAGUEZ          PR         00681
          HARRY H TORRES GONZALEZ/
   212949 JENERGY CORP                                COTTO STATION                 PO BOX 9244                                                                       ARECIBO           PR         00613
          HARRY HAMPTON MEMORIAL
   212950 WILDLIFE FUND INC                           P O BOX 2641                                                                                                    COLUMBIA          SC         29202
   212951 HARRY HANSEN LOPEZ                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   663456 HARRY HERINGTON                             100 PLACHTREE 57 SUITE 1440                                                                                     ATLANTA           GA         30303
   212952 HARRY HERNANDEZ ALBINO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   212953 HARRY I RODRIGUEZ CONDE                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663459 HARRY IRIZARRY MORIS                        URB ROOSEVELT NUM 20                                                                                            YAUCO             PR         00698
   212954 HARRY J BURGOS DELGADO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   212955 HARRY J IRIZARRY RIVERA                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663460 HARRY J RIVERA LUGO                         151 CALLE CESAR GONZALEZ      APT 602                                                                           SAN JUAN          PR         00918‐1467
   212956 HARRY J RIVERA VALENTIN                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   212957 HARRY J RODRIGUEZ DEL VALLE                 REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663461 HARRY J ROMAN VAZQUEZ                       PO BOX 6355                                                                                                     MAYAGUEZ          PR         00681‐6355
   212958 HARRY J. DIAZ MARRERO                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   212959 HARRY JAMES DELGADO                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   212960 HARRY JR RAMIREZ ORTIZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   212961 HARRY L LOPEZ AROZCO                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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MML ID               NAME                                       ADDRESS 1                    ADDRESS 2                 ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  212962 HARRY L SUTTON                               REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  663462 HARRY L TURNER                               9920 CHERRY TREE LN                                                                                              SILVER SPRING       MD         20901
  663463 HARRY LACOURT MARTINEZ                       URB RIO CRISTAL 5335        CALLE ROBERTO COLE                                                                   MAYAGUEZ            PR         00680
  212963 HARRY LAMOURT                                REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  212964 HARRY LIND LUZUNARIS                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  663464 HARRY LLERAS NOGUERAS                        URB EL RETIRO               3 CALLE LOMA DEL VIENTO                                                              HUMACAO             PR         00791‐3763
  212965 HARRY LOPEZ CRUZ                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  212966 HARRY LOPEZ IRIZARRY                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  212967 HARRY LOPEZ RODRIGUEZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  212968 HARRY LOVE RODER                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  212971 HARRY LUIS PEREZ RIVERA                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  663468 HARRY M TORO PEREZ                           RAMIREZ DE ARRELLANO        44 CALLE TOSTE                                                                       MAYAGUEZ            PR         00682
  663469 HARRY M. STEVENS INC.                        PO BOX 746                                                                                                       CANOVANAS           PR         00729
  212972 HARRY MALDONADO RIVERA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  663472 HARRY MANDES BORRERO                         URB LA HACIENDA             AS6 CALLE 44                                                                         GUAYAMA             PR         00784
  663473 HARRY MARRERO PHILIPPI                       URB LOMAS VERDES            4 P 19 CALLE PETUNIA                                                                 BAYAMON             PR         00956
  663474 HARRY MARTINEZ BRUGAL                        604 CALLE PEDRO DE CASTRO                                                                                        SAN JUAN            PR         00909
  663475 HARRY MASSANET PASTRANA                      ENCANTADA                   85 PRIMAVERAS                                                                        TRUJILLO ALTO       PR         00976
  212973 HARRY MATTHEW PELAEZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  212974 HARRY MENDEZ TORRES                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  212975 HARRY MERCADO PEREZ                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  663476 HARRY MERCADO ROSARIO                        PO BOX 3001‐167                                                                                                  RIO GRANDE          PR         00745

   663477 HARRY MONTALVO DE JESUS                     RES RAMOS ANTONINI GARDENS 32 APT 312                                                                            PONCE               PR         00731
   663480 HARRY MONTALVO SANTANA                      PO BOX 1957                                                                                                      SAN GERMAN          PR         00683
   663481 HARRY MONTALVO TORRES                       HC 30 BOX 33900                                                                                                  SAN LORENZO         PR         00754 9740
   212976 HARRY MONTALVO VEGA                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212977 HARRY MUNIZ CORDERO                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212978 HARRY MUNIZ JIMENEZ                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212979 HARRY MUNIZ VALLADARES                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212980 HARRY MUNOZ RIOS                            REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663483 HARRY N LOPEZ GARCIA                        P O BOX 733                                                                                                      AGUADA              PR         00602
   663484 HARRY N MARTINEZ TORRES                     PO BOX 451                                                                                                       BAJADERO            PR         00616
   663485 HARRY N ROSA ALVAREZ                        C 8 URB BRISAS DE CAMUY                                                                                          CAMUY               PR         00627
   212982 HARRY N VELAZQUEZ CIRINO                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212983 HARRY NADAL RODRIGUEZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212984 HARRY NATAL OCANA                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663486 HARRY NATAL RIVERA                          URB EXT SAN ANTONI         1104 CALLE EL YUNQUE                                                                  PONCE               PR         00732
   212985 HARRY NATAL SANTIAGO                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212986 HARRY NEGRON JUDICE                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212987 HARRY NEGRON MORALES                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212988 HARRY NEVAREZ MEDINA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212989 HARRY NIEVES BURGOS                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212990 HARRY O MERCADO LUGO                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212991 HARRY O PEREZ TORRES                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212992 HARRY O REYES ABRANTE                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212993 HARRY O ROSARIO GUZMAN                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212994 HARRY O VEGA DIAZ                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212995 HARRY OCASIO HENRIQUEZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212997 HARRY OCASIO SOTERO                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   212998 HARRY OLIVERA GALINDEZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663489 HARRY OLIVERO RODRIGUEZ                     PMB 57                     HC 01 BOX 29030                                                                       CAGUAS              PR         00725‐8900
   213000 HARRY P GULL                                REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  663490 HARRY PADILLA ORTIZ                          CARR 300 KM 0.2 BZN 6 A                                                                                             CABO ROJO         PR         00623
  213001 HARRY PAGAN SUAREZ                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  213002 HARRY PELUYERA FONTANEZ                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  213003 HARRY PENA SANCHEZ                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  213004 HARRY PEREZ                                  REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  663494 HARRY PEREZ RAMIREZ                          PO BOX 1285                                                                                                         CABO ROJO         PR         00623
  663495 HARRY PEREZ SOLER                            P O BOX 348                                                                                                         MARICAO           PR         00606‐0348

   663496 HARRY PESANTE SANCHEZ                       BELLA VISTA C 1 REPTO ROBLE   10 CALLE FLAMBOYAN                                                                    AIBONITO          PR         00705
   663497 HARRY R PORTER                              11228 TIPSICO LAKE RD                                                                                               FENTON            MI         48430

   663498 HARRY RAMIREZ MALDONADO                     PO BOX 10354                                                                                                        PONCE             PR         00732‐0354
   663499 HARRY RAMIREZ RODRIGUEZ                     HC 03 BOX 6790                                                                                                      HUMACAO           PR         00791‐9523
   213005 HARRY RAMOS RIVERA                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   213006 HARRY RIVAS RIVERA                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   213007 HARRY RIVERA ROMAN                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   663501 HARRY RODRIGUEZ FIGUEROA                    URB CONSTANCIA                984 CALLE BOCACHICA                                                                   PONCE             PR         00717‐2201
   213008 HARRY RODRIGUEZ GARCIA                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   213009 HARRY RODRIGUEZ GONZÄLEZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   663502 HARRY RODRIGUEZ HERNANDEZ 233 CALLE SAN JOSE                                                                                                                    AGUADA            PR         00602
          HARRY RODRIGUEZ
   213010 MALDONADO                 REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   663503 HARRY RODRIGUEZ MARTINEZ                    P O BOX 1264                                                                                                        GUANICA           PR         00653
          HARRY RODRIGUEZ MONTALVO
   213012 Y MARIA Z ORTIZ                             REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   213013 HARRY RODRIGUEZ MORALES                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663507 HARRY RODRIGUEZ NAZARIO                     PMB 272 2135                  CARR 2 STE 15                                                                         BAYAMON           PR         00959
   213014 HARRY RODRIGUEZ RIVERA                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   213016 HARRY RODRIGUEZ VAZQUEZ                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   213017 HARRY ROMAN                                 REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   213018 HARRY ROMAN CRUZ                            REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   213019 HARRY ROMAN ROMAN                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663508 HARRY ROSADO PEREZ                          COND CONDADO DEL MAR          1479 AVE ASHFORD APT 616                                                              SAN JUAN          PR         00907
   213020 HARRY ROSADO RIVERA                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663509 HARRY ROSARIO CRUZ                          VISTA AZUL                    H 31 CALLE 6                                                                          ARECIBO           PR         00612
   213021 HARRY RUIZ FELICIANO                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   213022 HARRY SANABRIA FIGUEROA                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663510 HARRY SANTANA LOPEZ                         PARQUE DEL MONTE              DD 9 CALLE DAGUAO                                                                     CAGUAS            PR         00727
   663511 HARRY SANTIAGO ALICEA                       BDA LOPEZ BOX 2458                                                                                                  AGUIRRE           PR         00704
   213023 HARRY SANTIAGO COTT                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   213025 HARRY SANTIAGO FIGUEROA                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   213026 HARRY SANTIAGO ROSARIO                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663512 HARRY SANTOS BERRIOS                        PMB 570                       HC 01 BOX 29030                                                                       CAGUAS            PR         00725
   213027 HARRY SEDA PEREZ                            REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   663513 Harry Sotomayor Mulero      U 14 Calle 20 Reparto Teresita                                                                                                      Bayamýn           PR         00961
          HARRY T PABON / HARRY PABON
   213028 TORRES                      REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663514 HARRY TORRES FRANQUIS       109 DURHAM PL                                                                                                                       KISSIMMEE         FL         34758



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  663515 HARRY TORRES ROCHE                           PO BOX 1402                                                                                                         YABUCOA           PR         00767
  213030 HARRY VALCARCEL BAEZ                         REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  213032 HARRY VALDIVIERO LUCIANO                     REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  771077 HARRY VAZQUEZ RODRIGUEZ                      REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  663517 HARRY VELAZQUEZ ALVAREZ                      PO BOX 720                                                                                                          YAUCO             PR         00698
  213033 HARRY VELEZ CANDELARIO                       REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  663419 HARRY VELEZ PENA                             PARC VANS SCOY           J 21 CALLE PRINCIPAL                                                                       BAYAMON           PR         00957
  213036 HARRY VIDAL NIEVES                           REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  213038 HARRY VIERA VILLENEUVE                       REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  663521 HARRY W AGOSTO DE JESUS                      HC 1 BOX 6491                                                                                                       GUAYNABO          PR         00971
  663522 HARRY W BONHOMME                             61 CALLE LOS LIMONES                                                                                                MANATI            PR         00674
  213039 HARRY W FIGUEROA ARCE                        REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  663523 HARRY W GONZALEZ SANTOS                      PO BOX 711                                                                                                          DORADO            PR         00646
  213041 HARRY W IRIZARRY NAZARIO                     REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  663524 HARRY W IRIZARRY NEGRON                      REPARTO MARQUEZ          K 6 CALLE 7                                                                                ARECIBO           PR         00612
  663525 HARRY W MARRERO VERA                         COOP TORRE DE CAROLINA   EDIF A 1104                                                                                CAROLINA          PR         00979
  213042 HARRY W ROBLES LAUSELL                       REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  663526 HARRY W ROSARIO BURGOS                       HC 1 BOX 3061                                                                                                       MOROVIS           PR         00687
  213043 HARRY W ROSARIO PEREZ                        REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  213044 HARRY W ROSARIO RIVERA                       REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  213045 HARRY W TORRES LOPEZ                         REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  213046 HARRY W. MEJIAS ALVARADO                     REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         HARRY WILLIAM OCASIO
  663528 CACERES                                      BARRIADA ISRAEL          162 CALLE NUEVA                                                                            SAN JUAN          PR         00917
  663529 HARRY X FELIU RODRIGUEZ                      PO BOX 1152                                                                                                         LAJAS             PR         60667
  213047 HARRY Y GONZALEZ DE JESUS                    REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  213048 HARRYLIS DAVILA                              REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         HARRY'S AUTO PARTS R&T
  213049 ENTERPRISES INC                              P.O BOX 686                                                                                                         AÑASCO            PR         00610
                                                                               239 AVE ARTERIAL HOSTOS SUITE
   663530 HARRYS DELI & BAR INC                       EDIF CAPITAL CENTER      103                                                                                        SAN JUAN          PR         00918
   663531 HARRY'S METAL RECYCLING                     415 AVE JUAN ROSADO                                                                                                 ARECIBO           PR         00612
          HARSCO INFRASTRUCTURE P.R.
   213050 CORP.                                       PO BOX 4040                                                                                                         CAROLINA          PR         00984‐4040
   213054 HART MD , DAVID J                           REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          HARTFORD ACCIDENT AND
   213060 INDEMNITY CO                                200 HOPMEADOW ROAD                                                                                                  WEATOGUE          CT         06089‐9793

   213070 HARTFORD BEHAVIORAL HEALTH 1 MAIN ST                                                                                                                            HARTFORD          CT         06103
          HARTFORD FIRE INSURANCE
   663532 COMPANY                    200 HOPMEADOW STREET                                                                                                                 SIMSBURY          CT         06089
   213082 HARTFORD HOSPITAL          80 SEYMOUR ST                                                                                                                        HARTFORD          CT         06102‐5037
          HARTFORD LIFE AND ANNUITY
   663534 INS CO                     PO BOX 2999                                                                                                                          HARTFORD          CT         07104‐2999
          HARTSDILLE MEMORIAL
   213105 HOSPITAL                   1380 EATERN RD                                                                                                                       WARRINGTON        PA         18976
   213106 HARTSHORN MD, SCOTT        REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   213079 HARVARD BUSINESS REVIEW    PO BOX 52621                                                                                                                         BOULDER           CO         80321‐2621
   663538 HARVARD LAW REVIEW         1511 GANNETT HOUSE                        MASSACHUSETTS AVE                                                                          CAMBRIDGE         MA         02138
          HARVARD LAW REVIEW
   213111 ASSOCIATION,               GANNETT HOUSE                             1511 MASSACHUSETTS, AVE                                                                    CAMBRIDGE         MA         002138
          HARVARD MANAGEMENT
   213112 UPDATE                     PO BOX 2088                                                                                                                          DANBURY           CT         06813‐2088



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          HARVARD UNIVERSITY‐CRISIS
   663540 MANG PROGRAM                                PO BOX 1851                   SUBSCRIBER SERV DEPT                                                              NEW YORK             NY           101116‐185
   213113 HARVARD VANGUARD                            291 INDEPENDENCE DRIVE                                                                                          WEST ROXBURY         MA           02467
          HARVARD VANGUARD MEDICAL
   213114 ASSOCIATES                                  133 BROOKLYN AVE                                                                                                BOSTON               MA           02215
   663542 HARVEY AUTO DESIGN                          BM 18 ESQ LAREDO                                                                                                BAYAMON              PR           00956
   663543 HARVEY HUBBELL CARIBE INC                   P O BOX 4138                                                                                                    VEGA BAJA            PR           00694‐4138
   213115 HARVEY PENA SALABERRIOS                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   213116 HARVEY ROMAN PEREZ                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      URB VALLE ARRIBA HGTS E‐8
   663547 HARVEY SANTOS RIVERA                        C/CAOBA                                                                                                         CAROLINA             PR           00983
   663548 HARVEY SOTO ALMODOVAR                       6051 WHITE SAILS DR                                                                                             WESLEY CHAPEL        FL           33544
   663549 HARVEY VAZQUEZ BARRETO                      BO NARANJITO                  BUZON 48007                                                                       HATILLO              PR           00659
   663550 HARVISH A NAZARIO CRUZ                      3 CALLE UNION                                                                                                   LAJAS                PR           00667
   663551 HARVY MATIAS ENGLAND                        RES MANUEL A PEREZ            EDIF C 10 APT 119                                                                 SAN JUAN             PR           00923
          HARWOOD INTERNATIONAL
   213118 CORP                                        100 NORTHSHORE OFFICE PARK                                                                                      CHATTANOOGA          TN           37343
          HARY CUPELES / LUZ E
   213119 RODRIGUEZ                                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   213120 HARY FELICIANO MALDONADO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   663552 HARY GERMAN VALENTIN MORA REPTO ANTONIA L VIGO                            6 CALLE BORICUA                                                                   MANATI               PR           00674

   213121 HAS MEDICAL CENTER                          CARR 153 CALLE HOSTOS FINAL                                                                                     SANTA ISABEL         PR           00757

   213122 HASAN SHUAIB CASTELBLANCO                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   663553 HASANY RODRIGUEZ RIVERA                     BO JARIALITOS                 1306 CALLE F                                                                      ARECIBO              PR           00612
   663554 HASARDS RESEARCH CORP                       200 VALLEY RD STE 301                                                                                           MOUNT ARLINGTON      NJ           07856
   213123 HASBANI MD, MOSHE                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HASCHEL CARIBE MARKETING &
   663555 DISTR CO                                    PO BOX 1605                                                                                                     CANOVANAS            PR           00729‐1605
   663556 HASHA G ORTIZ BENITEZ                       P O BOX 30180                                                                                                   SAN JUAN             PR           00929‐1180
   213128 HASHEMI MD, SEYED                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   213129 HASHMI MD, MASOOD                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   663557 HASHMI SHOAIB                               P O BOX 9024136                                                                                                 SAN JUAN             PR           00902‐4136
   213130 HASLER INC                                  PO BOX 3808                                                                                                     MILFORD              CT           06460‐8708
   213131 HASLER INC.                                 PO BOX 3808                                                                                                     MILFORD              PR           06460‐8708
   663558 HASNAIN ZAIDI ALLEN                         VILLA DEL RIO                 B 6 CALLE 3                                                                       GUAYANILLA           PR           00656
   663559 HASSAN HAIFA SHALABE                        PO BOX 25101                                                                                                    SAN JUAN             PR           00928
   213134 HASSAN PEREZ LEON                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   213137 HASSANIEN MD, GAMMAL                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   663560 HATCREEK OUTFIT                             PO BOX 1239                                                                                                     PEMBROKE             MA           02359‐1239
   213148 HATICOOP                                    PO BOX 95                                                                                                       HATILLO              PR           00659
   213149 HATILLO AUTO PARTS INC                      P O BOX 939                                                                                                     HATILLO              PR           00659
   213151 HATILLO CASH & CARRY INC                    PO BOX 906                                                                                                      HATILLO              PR           00659
   663561 HATILLO OLD TIMERS INC                      BO SANTA ROSA                 144 CALLE B                                                                       HATILLO              PR           00659
   213153 HATILLO OPTICAL                             63 JOSE PH HERNANDEZ                                                                                            HATILLO              PR           00659
   663562 HATILLO SERVICE STATION                     DR. SUSONI #123                                                                                                 HATILLO                           00659
   663563 HATILLO SPORT CENTER                        CARR 2 KM 84 3                                                                                                  HATILLO              PR           00659
          HATIMED AMBULANCE SERVICE,
   213154 CORP.                                       B1 CALLE MIGUEL GONZALEZ      HATILLO DEL MAR                                                                   HATILLO              PR           00659




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   213155 HATMILL G MORALES FIGUEROA REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   663564 HATO REY AUTO SERVICES INC                  CAGUAS NORTE                AC 31 CALLE HAWAII                                                                        CAGUAS               PR           00725
          HATO REY COMMUNITY
   663565 HOSPITAL                                    435 AVE PONCE DE LEON                                      HATO REY                                                   SAN JUAN             PR           00917
          HATO REY FLOOR FINISHING/
   663566 D/B/A                                       URB EL PLANTIO VILCA        A 148 ICACO                                                                               TOA BAJA             PR           00951
   213157 HATO REY HEALTH CLINIC                      380 CALLE JUAN CALAF        SUITE 3                                                                                   SAN JUAN             PR           00918‐1325

   663567 HATO REY HEMA ONCO ASSOC                    PO BOX 11965                                                                                                          SAN JUAN             PR           00922
          HATO REY HEMATOLOGY
   213158 ONCOLOGY GROUP                              CAPARRA HEIGHTS STATION     PO BOX 11965                                                                              SAN JUAN             PR           00922‐1965
   663568 HATO REY MEDICAL CENTER                     PO BOX 19150                                                                                                          SAN JUAN             PR           00910

   663569 HATO REY MEDICAL SUPPLIES                   URB EL PILAR                D 20 CALLE QUEBRADA ARENAS                                                                SAN JUAN             PR           00926
   663570 HATO REY OFFICE SUPPLY                      P O BOX 330                                                                                                           SAN JUAN             PR           00919
          HATO REY ORTHOPEDIC
   213159 ASSOCIATES                                  CLINICA LAS AMERICAS        400 AVE FD ROOSEVELT STE 406                                                              SAN JUAN             PR           00918‐1156
          HATO REY PATHOLOGY
   663571 ASSOCIATES                                  PO BOX 366527                                                                                                         SAN JUAN             PR           00936‐6527
          HATO REY PSYCHIATRIC
   663572 HOSPITAL INC                                PO BOX 600089                                                                                                         BAYAMON              PR           00960‐0089
   663573 HATO REY REFRIGERATION                      URB FLORAL PARK             61 CALLE GUAYAMA                                                                          SAN JUAN             PR           00917
                                                      255 AVE PONCE DE LEON STE
   213161 HATO REY TITLE INS AGENCY                   809                                                                                                                   SAN JUAN             PR           00917
   663575 HATO REY TRANSPORT INC.                     PMB 1736                    CALLE PARIS                                                                               SAN JUAN             PR           00917‐3632
   663577 HATO TEJAS CONSTRUCTION                     PO BOX 51982                                                                                                          TOA BAJA             PR           00950
   663578 HATO TEJAS ICE PLANT                        PO BOX 1602                                                                                                           BAYAMON              PR           00960
          HATRFORD STEAM BOILER
   663579 INSPECTION INS CO         ONE STATE STREET                              PO BOX 5024                                                                               HARTFORD             CT           06102‐5024
   663580 HATZLACHH SUPPLY INC      935 BROADWAY                                                                                                                            NEW YORK             NY           10010‐6009
   213164 HAU ROSA MD, MARTA D      REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   213165 HAU ROSA MD, ROBERTO H    REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   663582 HAUGER MARTI HAU          P O BOX 2081                                                                                                                            ISABELA              PR           00662
          HAUPPAUGE COMPUTER WORKS
   663583 INC                       91 CABOT COURT                                                                                                                          HAUPPAUGE            NY           11788‐3706
   663584 HAVANA BAKERY INC         6 J 8 AVE CAMPO RICO                                                                                                                    CAROLINA             PR           00982
   663585 HAVECO CORPORATION        PO BOX 826                                    CARR. MACHETE                                                                             GUAYAMA              PR           00784
   663586 HAWAYECK FREEPORT         516 EDIF MERCANTIL PLZ                                                                                                                  SAN JUAN             PR           00918
          HAWTHORN MEDICAL
   213177 ASSOCIATES                8344 CLAIRMONT MESA BLVD                      SUITE 201                                                                                 SAN DIEGO            CA           92111
          HAWTHORNE EDUCATIONAL
   663587 SERVICES INC              800 GRAY OAK DRIVE                                                                                                                      COLUMBIA             MO           65201
   213179 HAYAZIN P ARCE CALDERON   REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   213180 HAYBED RIVERA ORTIZ       REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                    182 CALLE JUAN ARROYO
   663588 HAYCEE CRUZ ROMAN         MESTRE                                                                                                                                  MAYAGUEZ             PR           00680
   213181 HAYDA TORRES SALINAS      REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   213183 HAYDE J. JURADO QUINONEZ  REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   663589 HAYDE ZENO BOSQUE         B 9 URB VILLA SERAL                                                                                                                     LARES                PR           00669
   663591 HAYDEE ADAMES CRUZ        P O BOX 4558                                                                                                                            SAN SEBASTIAN        PR           00685
   213184 HAYDEE ADORNO BONILLA     REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  213185 HAYDEE AGOSTO IZAGAS                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  213186 HAYDEE ALICEA PAGAN                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  213187 HAYDEE ALVARADO APONTE                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  663594 HAYDEE ANAYA NIEVES                          PO BOX 10007 SUITE 231                                                                                             GUAYAMA            PR         00785
  663595 HAYDEE ANDALUZ PAGAN                         HC 01 BOX 6724                                                                                                     AGUAS BUENAS       PR         00703
  663596 HAYDEE ANGUEIRA IGUINA                       HC 01 BOX 8537                                                                                                     HATILLO            PR         00659
  213188 HAYDEE AQUINO ROMAN                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  663597 HAYDEE ARBELO DELGADO                        BO LOS ANGELES            BOX 390                                                                                  UTUADO             PR         00611
  213189 HAYDEE ARROYO FELICIANO                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  663598 HAYDEE AVILES MOLINA                         URB LAS FLORES            F‐15 CALLE D                                                                             VEGA BAJA          PR         00693
  663599 HAYDEE AVILES RIVERA                         BARRIO CANTERAS           BUZON #126                                                                               MANATI             PR         00674
  663601 HAYDEE BALAY NIEVES                          GLENVIEW GARDEN           F 14 CALLE S3                                                                            PONCE              PR         00731
  213190 HAYDEE BATISTA RIOS                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  663602 HAYDEE BATISTA ROSARIO                       URB COUNTRY CLUB          822 CALLE FLAMINGO                                                                       SAN JUAN           PR         00924
  213170 HAYDEE BELTRAN MARTINEZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  663603 HAYDEE BONILLA VAZQUEZ                       BOX 1752                                                                                                           RIO GRANDE         PR         00745
  663605 HAYDEE CABAN PEREZ                           ESTANCIAS DORADAS         446 VILLA APT 602                                                                        PONCE              PR         00728
  663606 HAYDEE CABRAL VELEZ                          URB VILLA UNIVERSITARIA   V 19 CALLE 2                                                                             HUMACAO            PR         00791
  213191 HAYDEE CACHO COELLO                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  663607 HAYDEE CAGUIAS ALIERS                        NUEVA VIDA EL TUQUE       Q 118 CALLE 5 E                                                                          PONCE              PR         00731

   663608 HAYDEE CAMACHO CONCEPCION SECTOR INTERNA BO ESPINSA                   HC 80 BOX 8044                                                                           DORADO             PR         00646
   663610 HAYDEE CARABALLO ROBLES   PO BOX 1365                                                                                                                          UTUADO             PR         00641
          HAYDEE CARRASQUILLO
   663611 VELAZQUEZ                 PO BOX 7126                                                                                                                          PONCE              PR         00732
   213193 HAYDEE CASTAING SILVA     REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   213195 HAYDEE CHARRIEZ RIVERA    REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   663616 HAYDEE CLAUDIO NIEVES     SAVARONA                                    12 CALLE MIGUEL F CHIQUES                                                                CAGUAS             PR         00725
   663618 HAYDEE COLON LEDESMA      RES LOS ROSALES                             EDIF 6 APT 61                                                                            TRUJILLO ALTO      PR         00976
   663620 HAYDEE COMAS RIVERA       PO BOX 471                                                                                                                           CABO ROJO          PR         00623

   663621 HAYDEE CORCHADO GONZALEZ                    RES ALTURAS DE ISABELA    EDIF 4 APT 17                                                                            ISABELA            PR         00662
   663622 HAYDEE CORREA BARBEZ                        BO PUERTO REAL 1179       CALLE PRINCIPAL                                                                          CABO ROJO          PR         00623
   663623 HAYDEE COSME                                LLORENS TORRES            445 CALLE 9                                                                              FAJARDO            PR         00917
   213196 HAYDEE COSS DIAZ                            REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   213197 HAYDEE COSTAS SUAREZ                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   663624 HAYDEE CRESPO RIOS                          P O BOX 21                                                                                                         ANASCO             PR         00610
   213198 HAYDEE CRUZ MARTINEZ`                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   213199 HAYDEE CRUZ RIVERA                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   663626 HAYDEE CRUZ SOTO                            HC 03 BOX 13395                                                                                                    UTUADO             PR         00641

   663627 HAYDEE CRUZ TORRES                          URB LAS DELICIAS          2233 CALLE JUAN J CARTAGENA                                                              PONCE              PR         00782‐3834
   663628 HAYDEE DASTAS                               PO BOX 560633                                                                                                      GUAYANILLA         PR         00656
          HAYDEE DASTAS/HILMA DASTAS
   213200 / ALIDA DASTA                               REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   213201 HAYDEE DE JESUS BURGOS                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          HAYDEE DOMINGUEZ
   213203 RODRIGUEZ                                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   213205 HAYDEE E BUXO JANER                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   663629 HAYDEE E GUZMAN CABRERA                     URB STA ELENA             N 52 CALLE A                                                                             BAYAMON            PR         00957
   213206 HAYDEE FEBO ENCARNACION                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   213207 HAYDEE FERNANDEZ RIVERA                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   213209 HAYDEE FIGUEROA CASTRO                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  213210 HAYDEE FRED AVILES                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  663631 HAYDEE GARCIA DIAZ                           PO BOX 9066600                                                                                                    SAN JUAN            PR         00906‐6600
  213211 HAYDEE GARCIA GONZALEZ                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  663634 HAYDEE GARCIA SANTOS                         BONNEVILLE HEIGHTS         19 CALLE GUAYANILLA                                                                    CAGUAS              PR         00725
  663635 HAYDEE GOMEZ MARRERO                         BO HATO VIEJO CUMBRE       BOX 4095                                                                               CIALES              PR         00638
  663636 HAYDEE GONZALEZ ALVAREZ                      PO BOX 9023423                                                                                                    SAN JUAN            PR         00902‐3423

   213213 HAYDEE GONZALEZ CONCEPCION REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HAYDEE GONZALEZ HIDALGO
   213214 MD, ROSA                   REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663638 HAYDEE GONZALEZ MORALES    BO CANDELERO ARRIBA                                                                                                                HUMACAO             PR         00792
   663639 HAYDEE GONZALEZ PRATTS     URB PARQUE ECUESTRE                         P 10 CALLE DAWN GLORY                                                                  CAROLINA            PR         00987
   213215 HAYDEE GONZALEZ RIVERA     REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213216 HAYDEE GRATEROLE ROA       REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213217 HAYDEE GREGORY CASTRO      REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663640 HAYDEE HERNANDEZ CORTES    URB BRISAS DEL MAR                          FF 15 CALLE K                                                                          LUQUILLO            PR         00773‐0000
   213219 HAYDEE HERNANDEZ LOPEZ     REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663642 HAYDEE HERNANDEZ SOTO      1 CALLE MADRESELVA                                                                                                                 ISABELA             PR         00662
   663643 HAYDEE HORTA INFANTE       PO BOX 221                                                                                                                         SAN SEBASTIAN       PR         00685
   213220 HAYDEE IRIZARRY NEGRON     REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213221 HAYDEE J LEON VEGA         REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213222 HAYDEE J. VAZQUEZ GRACIA   REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213223 HAYDEE JIMENEZ RIVERA      REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663644 HAYDEE JUARBE PICON        BO PALENQUE                                 CALLE 1 BOX 39                                                                         BARCELONETA         PR         00617

   663645 HAYDEE L COLLAZO SANTIAGO                   PO BOX 691                                                                                                        PATILLA             PR         00723
   663646 HAYDEE L MASSO PEREZ                        PO BOX 2581                                                                                                       GUAYAMA             PR         00785
   663647 HAYDEE LANDING GORDON                       SANTA RITA                 982 APT 1 CALLE MADRID                                                                 SAN JUAN            PR         00925
   663648 HAYDEE LEBRON GARCIA                        URB VALLE ARRIBA HTS       DK13 CALLE 201                                                                         CAROLINA            PR         00983

   663649 HAYDEE LLERA RIVERA                         BO VEGAS                   25004 CALLE REMIGIO COLON                                                              CAYEY               PR         00736
   663650 HAYDEE LOPEZ                                HC 04 BOX 7829                                                                                                    JUANA DIAZ          PR         00795
   213226 Haydee López Burgos                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213227 HAYDEE LOPEZ E INES LOPEZ                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213228 HAYDEE LOPEZ PEREZ                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663652 HAYDEE LOPEZ RIVERA                         PASEO DEGETAU APTO 2603                                                                                           CAGUAS              PR         00727
   663590 HAYDEE M ALONSO DIAZ                        COND EL ALCAZAR 500        CALLE VALCARCEL APT 8H                                                                 SAN JUAN            PR         00923
   663653 HAYDEE M AYALA OSORIO                       URB TOA ALTA HEIGHTS       AG 6 CALLE 28                                                                          TOA ALTA            PR         00953
   663655 HAYDEE M NUNEZ VARGA                        PO BOX 364132                                                                                                     SAN JUAN            PR         00936‐4132
   213229 HAYDEE M VEGA LOPEZ                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213230 Haydee M. Rosado Leon                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213231 HAYDEE MALDONADO BAEZ                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   663657 HAYDEE MALDONADO MOLINA                     HP ‐ SALA 5 BAJO MUJERES                                                                                          RIO PIEDRAS         PR         009360000

   213232 HAYDEE MALDONADO SANABRIA REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213234 HAYDEE MARRERO DAVID      REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HAYDEE MARTINEZ / ELAINE
   213235 BERRIOS                   REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213236 HAYDEE MARTINEZ BARRETO   REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663659 HAYDEE MARTINEZ CLAUDIO   PO BOX 469                                                                                                                          GUANICA             PR         00653
   213237 HAYDEE MARTINEZ FIGUEROA  REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213238 HAYDEE MARTINEZ GARCIA    REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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   663660 HAYDEE MARTINEZ HERNANDEZ BO LA QUINTA                                    14 WILLIAM IRIZARRY                                                                  MAYAGUEZ            PR           00680
          HAYDEE MARTINEZ
   663661 MALDONADO                 PO BOX 21365                                                                                                                         SAN JUAN            PR           00926‐1365

   213239 HAYDEE MARTINEZ MONTANEZ                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663662 HAYDEE MARTINEZ RIOS                        HC 01 BOX 4589                                                                                                     LAS MARIAS          PR           00670
   213240 HAYDEE MARTINEZ SANTIAGO                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663663 HAYDEE MARTINEZ TIRADO                      MARI OLGA                     C 16 CALLE SAN FCO                                                                   CAGUAS              PR           00725
   663664 HAYDEE MEDINA FIGUEROA                      PO BOX 7126                                                                                                        PONCE               PR           00732
   213241 HAYDEE MEDINA MONTANEZ                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   663665 HAYDEE MELENDEZ SANTIAGO                    URB FAIRVIEW                  697 CALLE MARTIN QUILUZ                                                              SAN JUAN            PR           00926
          HAYDEE MENDEZ MERCADO
   213242 ZAHIDEE RUIZ MENDE                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213243 HAYDEE MERLO IRIZARRY                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213244 HAYDEE MIRANDA ROSADO                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213245 HAYDEE MONTANEZ COTTO                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213247 HAYDEE MORALES DIAZ                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213249 HAYDEE MORENO TIRADO                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213250 HAYDEE MUNIZ GONZALEZ                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213252 HAYDEE MUNIZ MUNIZ                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213254 HAYDEE N MUNOZ                              REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213255 HAYDEE NEGRON                               REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   663668 HAYDEE NEGRON SANTIAGO                      183 CALLE LUIS MUNOZ RIVERA                                                                                        GUAYANILLA          PR           00656
   213256 HAYDEE NIEVES CRESPO                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663669 HAYDEE NIEVES GONZALES                      URB MATIENZO                  153 CALLE DR SALAS                                                                   ARECIBO             PR           00612
          HAYDEE NORMANDIA
   663670 RODRIGUEZ                                   MANS DEL NORTE                NF15 CAMINO DE VELARDE                                                               TOA BAJA            PR           00949
   663671 HAYDEE OCASIO GRACIA                        HC 3 BOX 12032                                                                                                     COROZAL             PR           00783
   663672 HAYDEE OCASIO RODRIGUEZ                     PARC FALU                     207 C/ 43                                                                            SAN JUAN            PR           00924
          HAYDEE OCASIO,MANUEL
   213257 OCASIO,FELIX OCASIO                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663673 HAYDEE ONEILL MARTINEZ                      HC 03 BOX 9037                                                                                                     GUAYNABO            PR           00971
   663674 HAYDEE ORENGO MONTES                        HC 01 BOX 6337                                                                                                     YAUCO               PR           00698
   663675 HAYDEE ORTIZ GONZALEZ                       144 A JOSE MERCADO FINAL                                                                                           CAGUAS              PR           00725
   663676 HAYDEE ORTIZ MARTINEZ                       195 AVE ARTERIAL HOSTOS       APT 7036                                                                             SAN JUAN            PR           00918
   663677 HAYDEE ORTIZ RIVERA                         PO BOX 2390                                                                                                        SAN JUAN            PR           00919
   213258 HAYDEE OTERO CORDOVA                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663678 HAYDEE PACHECO MATOS                        PO BOX 844                                                                                                         LAJAS               PR           00667‐0844
   213259 HAYDEE PAGAN SANCHEZ                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213260 HAYDEE PEREZ LUGO                           REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HAYDEE PIOVANETTI DE
   213261 MORALES                                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213262 HAYDEE PIRIS MEDINA                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663681 HAYDEE QUILES LEBRON                        BO PERCHAS 1                  HC 04 BOX 8173                                                                       SAN SEBASTIAN       PR           00685
   213263 HAYDEE QUINONES MONZON                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213264 HAYDEE QUINONES MORALES                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213265 HAYDEE R COLON BERRIOS                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663683 HAYDEE RAMIREZ RUIZ                         P O BOX 364466                                                                                                     SAN JUAN            PR           00936‐4466
   663684 HAYDEE RAMOS HERNANDEZ                      PO BOX 802                                                                                                         SAN SEBASTIAN       PR           00685
   213266 HAYDEE RAMOS RIVERA                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  213267 HAYDEE RENTAS GUEITS                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  663686 HAYDEE RESTO COLON                           URB VILLA NEVAREZ          1112 C/ 7                                                                               SAN JUAN          PR         00927
  213268 HAYDEE REYES GONZALEZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  213269 HAYDEE RIVERA CUADRADO                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  663687 HAYDEE RIVERA HERNANDEZ                      PO BOX 514                                                                                                         CIALES            PR         00638
  663688 HAYDEE RIVERA RAMOS                          HC 06 BOX 45036                                                                                                    COTO LAUREL       PR         00780
  213270 HAYDEE RIVERA RIVERA                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  213272 HAYDEE RIVERA ROSA                           REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   213273 HAYDEE RODRIGUEZ FELICIANO                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   663692 HAYDEE RODRIGUEZ SANCHEZ                    BRISAS DE RIO HONDO        CALLE A 16                                                                              MAYAGUEZ          PR         00680

   663694 HAYDEE RODRIGUEZ VALENTIN                   URB RAMIREZ DE ARELLANO    24 CALLE JULIO VIZCARRONDO                                                              MAYAGUEZ          PR         00680
   213276 HAYDEE ROMAN RIVERA                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663696 HAYDEE ROSA ESCALERA                        VILLA PALMERA              2021 CALLE BARBOSA                                                                      SAN JUAN          PR         00912
   663697 HAYDEE ROSADO GUERRIOS                      PO BO 5803                                                                                                         CAGUAS            PR         00726
   663699 HAYDEE ROSARIO GONZALEZ                     URB JARDINES RIO GRANDE    BP 280 CALLE 64 BAJOS                                                                   RIO GRANDE        PR         00745

   213278 HAYDEE ROSARIO RODRIGUEZ                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663701 HAYDEE RUPERT                               C/3 #33 BDA VISTA ALEGRE                                                                                           SAN JUAN          PR         00926
   663702 HAYDEE SANCHEZ SANTIAGO                     BO LA LUNA                 133 CALLE 2                                                                             GUANICA           PR         00653
          HAYDEE SANTANA CRUZ &
   213280 PABLO OLLER LOPEZ                           REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   213281 HAYDEE SANTIAGO                             REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663705 HAYDEE SANTIAGO CANCEL                      CONDOMINIO EL MONTE        EDIF 165 APT 225 A                                                                      SAN JUAN          PR         00919
          HAYDEE SANTIAGO
   213282 MALDONADO                                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   213283 HAYDEE SANTIAGO SOTO                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   213284 HAYDEE SANTOS RIVERA                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663706 HAYDEE SEGARRA ROSADO                       LARES GARDENS APT 044                                                                                              LARES             PR         00669
   213285 HAYDEE SERRANO SERRANO                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663708 HAYDEE SOTO                                 41 LOS HEROES                                                                                                      ARECIBO           PR         00612
   213286 HAYDEE TIRADO ORTIZ                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663709 HAYDEE TORRES BORRERO                       ESTANCIAS SANTA ISABEL     621 CALLE PERLA                                                                         SANTA ISABEL      PR         00757‐2088
   213287 HAYDEE TORRES ROSA                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663712 HAYDEE TORRES VELAZQUEZ                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   213288 HAYDEE TUBENS GONZALEZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663713 HAYDEE VALENTIN FIGUEROA                    VILLA CORTESSA             PP 41 CALLE PERU                                                                        BAYAMON           PR         00956
   663714 HAYDEE VALENTIN GONZALEZ                    BOX 1641                                                                                                           MOCA              PR         00676
   213289 HAYDEE VELEZ CRESPO                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663715 HAYDEE VELEZ DELGADO                        VILLA CAROLINA             7 BLQ 178 CALLE 442                                                                     CAROLINA          PR         00985
   663716 HAYDEE VELEZ RIOS                           P O BOX 1446                                                                                                       MAYAGUEZ          PR         00681
   213290 HAYDEE VELEZ SANTIAGO                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663717 HAYDEE VELEZ TORRES                         PO BOX 10526                                                                                                       PONCE             PR         00732

   213291 HAYDEE W RAMIREZ RAMIREZ                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   213292 HAYDEE ZAYAS RAMOS                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663720 HAYDEE ZAYAS ROSARIO                        URB BORIQUEN GARDENS       S303 ROMANACH                                                                           SAN JUAN          PR         00926
   213293 HAYDEELINN CERDA LEON                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   663721 HAYDEELIZ MELENDEZ BURGOS                   P O BOX 1476                                                                                                       CIALES            PR         00638‐1476
   663722 HAYDELIN RONDA TORRES                       BO MONTE GRANDE            88 CALLE PARQUE OESTE                                                                   CABO ROJO         PR         00623



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  213294 HAYDELIS MEDINA GONZALEZ                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         HAYDELISSE MALDONADO
  213296 RIVERA                                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  663723 HAYDELIZ CRUZ RAMOS                          NUEVAS VILLAS DEL MANATI     BOX 192 APT P 102                                                                   MANATI              PR         00674
         HAYDELIZ GONZALEZ
  213297 HERNANDEZ                                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  213299 HAYDEN R RIVERA VALENTIN                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  663724 HAYDEN RIVERA CASTILLO                       11‐25 COM LOMAS VERDES                                                                                           MAYAGUEZ            PR         00680

   213300 HAYDERLYN SANCHEZ ACEVEDO REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   213301 HAYDIMAR TORRENS DE JESUS                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HAYDY MAN & ELECTRICAL
   213303 SERVICES                                    HC 01 BOX 5019                                                                                                   VILLALBA            PR         00766
   213309 HAYES MD, ROBERT                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663725 HAYESA NOVA ARIAS                           55 CALLE GUAYAMA APT 9                                                                                           SAN JUAN            PR         00919
   213316 HAYLEY M RALDIRIS AGUAYO                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213317 HAYLEY RODRIGUEZ RALDIRIS                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213318 HAYMEE PARES CRUZ                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   213321 HAYNA NELLY DE JESUS CLAUDIO REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213322 HAYNEL ORTIZ FIGUEROA        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213323 HAYR GUTIERREZ HERRERA       REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   663727 HAYUYA GULF SERVICE STATION                 76 CALLE GUILLERMO ESTEVEZ                                                                                       JAYUYA              PR         00664
   663728 HAYWARD BAKER                               PO BOX 560457                                                                                                    GUAYANILLA          PR         00656
          HAYXANAIR HERNANDEZ
   213325 SANCHEZ                                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213326 HAZ SERVICES INC                            PO BOX 1766                  PMB 202                                                                             CIDRA               PR         00739

   663729 HAZAEL MENDEZ HERNANDEZ                     517 CALLE GABRIEL CARDONA                                                                                        MOCA                PR         00676
   663731 HAZARMARTH VEGA FRANKI                      PO BOX 6186                                                                                                      MAYAGUEZ            PR         00681‐6186
   213328 HAZEL COLON VAZQUEZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663733 HAZEL GONZALEZ RUIZ                         VENUS GARDENS                1686 CALLE JALAPA                                                                   SAN JUAN            PR         00926
   213329 HAZEL I JUSTIZON DIAZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213331 HAZEL M GONZALEZ MILLAN                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663734 HAZEL MENDEZ ROBLES                         VILLAS DE CAPARRA            B 16 AVE DR RUIZ SOLER                                                              BAYAMON             PR         00959
   213335 HAZEL N PADRO FIGUEROA                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663735 HAZEL TOLEDO                                PO BOX 142531                                                                                                    ARECIBO             PR         00614‐2531
   663736 HAZELDEN EDUCATION                          PO BOX 176                                                                                                       CENTER CITY         MN         55012‐0266
   213336 HAZELDEN PUBLISHING                         PO BOX 176                                                                                                       CENTER CITY         MN         55012
   663737 HAZELL ZAMOTT COLON                         COND CAMELOT                 APT 3202                                                                            SAN JUAN            PR         00926
   213338 HBA CONTRACTORS INC                         PO BOX 9220                                                                                                      SAN JUAN            PR         00983
   213339 HBH CONTRACTORS INC                         PO BOX 9                                                                                                         SAN GERMAN          PR         00683

   213340 HBJ MILLER ACCOUNTING PUB.                  6277 SEA HARBOR DR                                                                                               ORLANDO             FL         32821‐9816
   663739 HC DISTRIBUTORS INC.                        PO BOX 29429 65 INF STA                                                                                          RIO PIEDRAS         PR         00929
   213341 HC GEMELAS TRAVEL CORP                      JARDINES DE BORRINQUEN       43 CALLE 1 BLQ O                                                                    CAROLINA            PR         00985
   663741 HC INSPECTION BUREU INC.                    PO BOX 51392                                                                                                     TOA BAJA            PR         00950
   663742 HC IRON WORK                                PO BOX 836                                                                                                       COTTO LAUREL        PR         00780
   213344 HCD DAISY NUNEZ NUNEZ                       URB LOMA ALTA                E 6 CALLE 1                                                                         CAROLINA            PR         00987
                                                      URB MIRAFLORES CALLE 46 BLOQ
   213345 HCD JUAN VELEZ HILDA L PEREZ                40 #14                                                                                                           BAYAMON             PR         00957



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                                                      CALLE NENADICH #29 ESTE BO.
   213346 HCD MARIA I. SANTIAGO VEGA                  BUENA VISTA                                                                                                      MAYAGUEZ            PR           00680
                                                      URB.LA GUADALUPE 872 CALLE
   213347 HCD NELLY RIVERA ARIAS                      AMAPOLA                                                                                                          PONCE               PR           00730
   213348 HCM CONSTRUCTION CORP                       268 PASEO DEL PUERTO                                                                                             PENUELAS            PR           00624
   213350 HCO Guayama Auto Air                        P O Box 211                                                                                                      Guayama             PR           00785

   213351 HCPRO , INC.                                200 HOODS LANE P.O. BOX 1168                                                                                     MARBLEHEAD          MA           01945‐0000
   213352 HCV DIST INC                                PO BOX 599                                                                                                       MOCA                PR           00676
          HD TELECOMMUNICATION                        318 AVE PONCE DE LEON SUITE
   663743 CONSULTANS INC                              300                                                                                                              SAN JUAN            PR           00901
          HDAD DE EMPLEADOS DE LA
   663745 RAMA JUDICIAL                               505 AVE MUNOZ RIVERA                                                                                             SAN JUAN            PR           00919
          HDAD DE TRABAJADORES SERVS
   213355 SOCIALES                                    1000 AVE MUNOZ RIVERA          OFICINA 304                                                                       SAN JUAN            PR           00927

   213357 HDAD TEC TRA SER SOC                        1000 AVENIDA MUNOZ RIVERA SUITE 304                                                                              SAN JUAN            PR           00927‐5019
   213358 HDF CONTRACT FURNITURE                      RIO VISTA                   SUITE J 344                                                                          CAROLINA            PR           00983
          HDI GERLING AMERICA                         161 N CLARK STREET 48TH
   213359 INSURANCE COMPANY                           FLOOR                                                                                                            CHICAGO             IL           60601
   663746 HDI INC                                     URB ALHAMBRA                C 69 CALLE GRANADA                                                                   BAYAMON             PR           00957‐2328
   663747 HDR CORP                                    PO BOX 9811                                                                                                      SAN JUAN            PR           00908‐0811
                                                      3001 SOUTH LAMAR BLVD SUITE
   213368 HDR SYSTEMS LLC                             300                                                                                                              AUSTIN              TX           78704
          HDT CORP DBA LAB CLINICO
   213370 BACT VIOR                                   15 CALLE BETANCES                                                                                                AGUADILLA           PR           00603
   213371 HE JIANG M                                  REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213372 HE PETER                                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   663748 HEAD START LOS FLAMBOYANES                  PO BOX 30807                                                                                                     SAN JUAN            PR           00929
   213374 HEAL BARBOSA MD, DAVID                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213375 HEAL BARO MD, DAVID D                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663749 HEALTH & MEDICAL SUPPLY                     PO BOX 9367 COTTO STA                                                                                            ARECIBO             PR           00613
   663750 HEALTH & WEALTH                             1353 GARDEN HILLS PLAZA                                                                                          GUAYNABO            PR           00966
          HEALTH ADMINISTRATION
   663751 SERVICES INC                                115 CARR 592                                                                                                     JUANA DIAZ          PR           00795‐2872
          HEALTH ALLIANCE HOSPITAL
   213377 LEOMINSTER CAMPUS                           60 HOSPITAL RD                                                                                                   LEOMINSTER          MA           01453‐8004
          HEALTH AMBULATORY SERVICES
   213378 HAS                                         24 PLAZA DEL CARMEN MALL                                                                                         CAGUAS              PR           00725
          HEALTH CARE CONS SERV /
   213379 BANCO POPULAR PR                            P O BOX 192032                                                                                                   SAN JUAN            PR           00919‐2032
  1419987 HEALTH CARE CONSULTING                      CARLA ARRAIZA GONZALEZ         PO BOX 9023525                                                                    SAN JUAN            PR           00902
          HEALTH CARE CONSULTING
   663752 SERVICES INC                                P O BOX 192032                                                                                                   SAN JUAN            PR           00919‐2032
          HEALTH CARE FACILITIES
   663753 MAINTENANCE                                 320 CALLE ELEANOR ROOSEVELT                                                                                      SAN JUAN            PR           00918
   663754 HEALTH CARE LOGISTICS                       PO BOX 25                                                                                                        CIRCLEVILLE         OH           43113‐0025
   663755 HEALTH CARE PLUS CORP                       PMB 161 274 AVE             SANTA ANA                                                                            GUAYNABO            PR           00969 9074
          HEALTH CARE PROFESSIONAL
   213381 BOOKSTORE CO                                PO BOX 194261                                                                                                    SAN JUAN            PR           00919‐4261
          HEALTH CENTER FAMILY
   213382 MEDICAL OFFICE                              773 9TH AVE                                                                                                      NEW YORK            NY           10019



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  213383 HEALTH CENTRAL                               PO BOX 152472                                                                                    IRVING               TX           75015‐2472

   663756 HEALTH CONSULTANTSERVICE                    LEVITTOWN LAKE            2681 AVE BOULEVARD                                                     TOA BAJA             PR           00949
          HEALTH DISTILLERS
   213385 INTERNATIONAL                               PO BOX 363885                                                                                    SAN JUAN             PR           00936‐3885
          HEALTH DISTILLERS
   663757 INTERNATIONAL INC                           P O BOX 363885                                                                                   SAN JUAN             PR           00936‐8885

   213386 HEALTH EAST MEDICAL CENTER                  ATTN MEDICAL RECORDS      54 SOUTH DEAN ST                                                       ENGLEWOOD            NJ           07631
   213387 HEALTH FINANCIAL SYSTEMS                    8109 LAGUAN BLVD                                                                                 ELK GROVE            CA           95758
                                                      3600 AMERICAN BOULEVARD
   213389 HEALTH FITNES CORPORATION                   WEST                      SUITE 560                                                              MINNEAPOLIS          MN           55431

   213392 HEALTH MAGNETIC STORE INC   1053 JESUS T PINERO                                                                                              SAN JUAN             PR           00920
          HEALTH MANAGEMENT ASSOC 120 NORTH WASHINGTON
   213393 OF MICHIGAN INC             SQUARE                       STE 705                                                                             LANSING              MI           48933
          HEALTH MANAGEMENT
   213396 SERVICES ( HMS )            165 A WISTON CHURCHIL AVE                                                                                        SAN JUAN             PR           00926
          HEALTH OCCUPATION STUDENTS
   663758 F AMERICA INC               6021 MORRIS ROAD SUITE 111                                                                                       FLOWER MOUND         TX           75028
   213398 HEALTH POINT MEDICAL GRP    ATTN MEDICAL RECORDS         4726 HABANA AVE STE 103                                                             TAMPA                FL           33614‐7144
                                      MARGINAL 301 C LA RAMBLA STE
   663759 HEALTH RESOURCES GROUP      380                                                                                                              PONCE                PR           00731
   663760 HEALTH SOUTH HOSPITAL       500 INIVERSITY DRIVE                                                                                             CORAL GABLES         FL           33146‐2094
   663761 HEALTH SOUTH REH HOSP       3ER PISO UDH                                                                                                     SAN JUAN             PR           00923
   213402 HEALTH SOUTH REHAB          PMB 340                      PO BOX 70344                                                                        SAN JUAN             PR           00936‐8344
   663763 HEALTH SOUTH SUNRISE        4399 N NOB HILL RD                                                                                               SUNRISE              FL           33351‐5813
   663764 HEALTH SUPPLIES DIST.       3 AVE LOS ROBLES                                                                                                 AGUADILLA            PR           00603
                                      368 CALLE SARGENTO LUIS
   663765 HEALTH WILKIE PR INC.       MEDINA                                                                                                           SAN JUAN             PR           00918
   213403 HEALTHCARE 360              P O BOX 192213                                                                                                   SAN JUAN             PR           00926
   213404 HEALTHCARE 360, LLC         PO BOX 8899                                                                                                      BAYAMON              PR           00960‐6089
          HEALTHCARE INF PARTNER DBA 339 ALMACIGO ARBOLES
   663766 R MEDICAL INF               MONTEHIEDRA                                                                                                      SAN JUAN             PR           00926
          HEALTHCARE LAW EDUCATIONAL
   213407 INSTITUTE, IN               416 PONCE DE LEON AVE.       16TH FLOOR SUITE 1600                                                               SAN JUAN             PR           00918
          HEALTHCARE UNDERWRITERS     8 BRITISH AMERICAN
   663767 MUTUAL INS CO               BOULEVARD                                                                                                        LATHAMN              NY           12110‐1415
   663768 HEALTHLINE INC              PO BOX 825                                                                                                       VEGA ALTA            PR           00692
   213408 HEALTHPOINT FAMILY CARE     4307 WINSTON AVE                                                                                                 LATONIA              KY           41015
          HEALTHPOINT MEDICAL GROUP
   213409 ADULT ONCOLOGY              925 NORTH POINT PKWY STE 350                                                                                     ALPHARETTA           GA           30005‐5214
                                      120 BLUEGRASS VALLEY
   213410 HEALTHPORT TECHNOLOGIES LLC PARKWAY                                                                                                          ALPHARETTA           GA           30005
   213411 HEALTHREACH OF ST MARY S    89 GENESEE STREET                                                                                                ROCHESTER            NY           14611‐3285
          HEALTHSERVE COMMUNITY
   213412 HEALTH CLINIC               1002 S EUGENE ST                                                                                                 GREENSBORO           NC           27406

          HEALTHSOUTH CHATTANOOGA
   213413 REHABILITATION                              2412 MCCALLIE AVE                                                                                CHATTANOOGA          TN           37404
          HEALTHSOUTH READING
   213414 REHABILITATION HOSPITAL                     1623 MORGANTOWN RD                                                                               READING              PA           19607




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   213415 HEALTHSOUTH REHAB CENTER 120 BLUEGRASS VALLEY PKWY                                                                                                             ALPHARETTA          GA           30005
          HEALTHSOUTH REHABILITATION
   213416 HOSPITAL                   PMB 340, PO BOX 70344                                                                                                               SAN JUAN            PR           00936‐8344

          HEALTHSOUTH REHABILITATION
   213418 HOSPITAL MANATI            PO BOX 473                                                                                                                          MANATI              PR           00674
                                     W175N11117 STONEWOOD DR
   213419 HEALTHSTYLE PRESS          SUITE 110                                                                                                                           GERMANTOWN          WI           53022
   213420 HEALTHTRACK SERVICES, INC  M15 CALLE 6 URB.BRASILIA                                                                                                            VEGA BAJA           PR           00693
          HEALTHY CHILDREN 2000
   663769 PROJECT                    8 JAN SEBASTIAN WAY UNIT 13                                                                                                         SANDWICH            MA           02563‐9989
   213421 HEALTHY EYES OPTICAL       13 AVE BUENA VISTA                                                                                                                  MOROVIS             PR           00687
   213422 HEALTHY KITCHEN            URB. SABANA GARDENS                          CALLE 4 BLQ 1 #28                                                                      CAROLINA            PR           00983
   213424 HEARING ASSOCIATES         PO BOX 192075                                                                                                                       SAN JUAN            PR           00919‐7496
   663770 HEARING ASSOCIATES INC     PO BOX 192075                                                                                                                       SAN JUAN            PR           00919‐2075
   213425 HEARING SYSTEM INC.        PO BOX 2115                                                                                                                         RIO GRANDE          PR           00745
   213426 HEARING TEC                CENTRAL PLAZA                                1645 AVE PIÑERO                                                                        SAN JUAN            PR           00920
   213427 HEARING TEC CENTRAL PLAZA  1645 AVE PINERO                                                                                                                     SAN JUAN            PR           00920
   213428 HEARING TECH               AVE. PINERO 1645                             CENTRAL PLAZA                                                                          SAN JUAN            PR           00920

   213429 HEART CENTER OF CHESTER                     HEART CTR CHESTER CO BLDG A 915 OLD FERN HUKK RD SU 5                                                              WEST CHESTER        PA           19380

   213430 HEART FAILURE CENTERS OF P R VILLA CAPARRA EXECUTIVE                    229 CARR 2 APT 15 F                                                                    GUAYNABO            PR           00966
                                       120 BLUEGRASS VALLEY
   213432 HEART GROUP                  PARKWAY                                                                                                                           ALPHARETTA          GA           30005
          HEART OF FLORIDA MEDICAL
   213433 CENTER                       PO BOX 67                                                                                                                         HAINES CITY         FL           33845
          HEART OF FLORIDA REGIONAL
   213434 MEDICAL CENTER               PO BOX 152472                                                                                                                     IRVING              TX           75015 2472
   663771 HEARTBERT MEDICAL            PO BOX 31089                                                                                                                      SAN JUAN            PR           00929‐3085
   663772 HEATH CONSULTANTS            9030 MONROE RD                                                                                                                    HOUSTON             TX           77061
   663773 HEATHER CRICHFIELD           COND EL MONTE NORTE                        175 AVE HOSTOS APT 617                                                                 SAN JUAN            PR           00918
   663774 HEATHER J TIRADO AVILES      PUERTO REAL                                27 CALLE 4                                                                             CABO ROJO           PR           00623
          HEATHER M SEPULVEDA
   213436 MORALES                      REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213437 HEATHER MARSHALL             REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663775 HEAVENLY KIDS INC            G P O BOX 7560                                                                                                                    PONCE               PR           00732
          HEAVY DUTY CLEANER
   663776 PRODUCTS                     435 CALLE COMERIO                                                                                                                 BAYAMON             PR           00959
   663777 HEAVY DUTY CLEANING          URB FLAMINGO HLS                           127 CALLE 3                                                                            BAYAMON             PR           00957

   663778 HEAVY EQUIPMENT PARTS INC.                  PO BOX 443                                                                                                         GUAYNABO            PR           00657
   663779 HEAVY PARTS CENTER INC                      PO BOX 3158                                                                                                        BAYAMON             PR           00960
   663780 HEBE LLAURADOR SANTOS                       PO BOX 762                                                                                                         GUAYAMA             PR           00785
          HEBE NILDA RIVERA
   663782 MARTINEZ/TIENDA EVELYN                      B 25 URB VILLA DEL CARMEN                                                                                          CABO ROJO           PR           00623
   663783 HEBE RAMIREZ CUEVAS                         EXT ROOSEVET                406 RAFAEL RAMAR                                                                       SAN JUAN            PR           00918
   663784 HEBE VEGA ROSARIO                           PO BOX 721                                                                                                         SABANA GRANDE       PR           00637
   213440 HEBEE SEMIDEY DE JESUS                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663785 HEBEL OLMEDA VARGAS                         HC 02 BOX 12546                                                                                                    LAJAS               PR           00667
   213446 HEBER CRUZ CANDELARIA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   213447 HEBER E HERNANDEZ RAMIREZ                   REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663786 HEBER J GARCIA                              VILLA DEL RIO             F26 CALLE 6                                                                               GUAYANILLA          PR           00656
          HEBERLEDYS MALDONADO
   213448 MARIN / IVU LOTO                            REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663788 HEBERTO COFRESI PABON                       URB VALLE DE ANDALUCIA    3505 CALLE LINARES                                                                        PONCE               PR           00728‐3132

   213449 HEBERTO MORALES BENGOCHEA REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663789 HEBERTO MORALES MONTES    URB SANTA CLARA                             V 4 MALAGA                                                                                GUAYNABO            PR           00969

          HEBERTO R. DE VIZCARRONDO
   213450 LOPEZ MOLINA                                REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213452 HEBERTO VARGAS PENA                         REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213454 HECA FARM CORP                              PASEO DEL RIO 500         BLVD DEL RIO APT 5001                                                                     HUMACAO             PR           00791
   663790 HECBEL CORREA VAZQUEZ                       URB JARDINES DEL CARIBE   133 CALLE 17                                                                              PONCE               PR           00728
   663791 HECDALIS VARGAS LOPEZ                       BO LIMON                                                                                                            VILLALBA            PR           00766
          HECDIEL JHADRIAN HIRALDO
   663792 ROVERA                                      COND LAGUNA VIEW TOWER    TORRE 1 APARTAMENTO 703                                                                   SAN JUAN            PR           00904
   213455 HECHO EN CASA                               REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   663793 HECHOS DE AMOR INC                          CONDOMINIO MADRE SELVA    CALLE EBANO 1‐7 APTO 801‐901                                                              GUAYNABO            PR           00968
                                                      COND. MADRE SELVA CALLE
   213456 HECHOS DE AMOR, INC.                        EBARIO 1‐7 APT. 801‐901                                                                                             GUAYNABO            PR           00968
   213457 HECHT MD , GARY D                           REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663794 HECIA INC                                   MSC 379                   PO BOX 4956                                                                               CAGUAS              PR           00726‐4956
          HECIRIS V VIZCARONDO
   663795 SANCHEZ                                     URB VILLA CAROLINA        17 ‐ 11 CALLE 22                                                                          CAROLINA            PR           00985
   213458 HECKSAN HEYLIGER CORTES                     REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213460 HECMAR NIEVES NIEVES                        REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   663796 HECMARELYS RIVERA GARARZA                   HC 06 BOX 4336                                                                                                      COTTO LAUREL        PR           00780‐9505
   663797 HECMARIE ORTIZ RAMOS                        RR 1 BOX 13821                                                                                                      OROCOVIS            PR           00720
   213461 HECMARIE SANCHEZ COLON                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECMARIE ZAKIRA SANTIAGO
   213462 ROMERO                                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213463 HECMARY GONZALEZ SOTO                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECMARY N GUADALUPE
   213464 AGOSTO                                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663798 HECMARY NIEVES ALVARADO                     HC 2 BOX 6197                                                                                                       MOROVIS             PR           00687
   213465 HECNARY OCASIO RIVERA                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213466 HECNER SANTIAGO PEREZ                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663800 HECNID ESCOTTO ORTIZ                        BO INGENIO                149 D CALLE MATIAS                                                                        TOA BAJA            PR           00949
   213467 HECNIRIS ROSARIO DE LEON                    REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663801 HECOR INC                                   P O BOX 455                                                                                                         MAYAGUEZ            PR           00681‐0455
   663802 HECSON OF P.R.                              PO BOX 7889                                              CAROLINA                                                   CAROLINA            PR           00986

   213468 HECSOR A SERRANO DELGADO                    REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663803 HECSOR SERRANO ZAYAS                        HC 1 BOX 3898                                                                                                       SANTA ISABEL        PR           00757

   663804 HECTAMARIE HUERTAS JIMENEZ URB LOS CAOBOS                             1273 CALLE BAMBU                                                                          PONCE               PR           00716

   213469 HECTMARIE RIVERA SANTIAGO                   REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663805 HECTOE F AYALA LANDRON                      COND MIRAMAR 610 APT                                                                                                SAN JUAN            PR           00907



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   213470 HECTOR A . HERNANDEZ RIVERA                 REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   213471 HECTOR A . SOTO COLON                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   213472 HECTOR A ACEVEDO GAUD                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   663854 HECTOR A AGOSTO OTERO                       PO BOX 587                                                                                                      CIALES              PR         00638
   213473 HECTOR A AGUAYO PEREZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   663855 HECTOR A AGUILAR ROMERO                     HC 04 BOX 45703                                                                                                 HATILLO             PR         00659

   213474 HECTOR A ALBERTORIO BLONDET REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   663856 HECTOR A AMAYA RAMIREZ      URB PUERTO NUEVO                              1394 CALLE 20                                                                     SAN JUAN            PR         00920‐2241

   663857 HECTOR A APONTE ALEQUIN                     URB JARDINES DE CASA BLASCA   105 CALLE ROOSEVELT                                                               TOA ALTA            PR         00953
   213475 HECTOR A AROCHO ROSARIO                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   663858 HECTOR A ARROYO                             URB VALLE ALTO                B 11                                                                              CAYEY               PR         00736
   663859 HECTOR A ARTIGA LORENZO                     URB LA LULA                   J22 CALLE 9                                                                       PONCE               PR         00730
   213476 HECTOR A BARROS LOPEZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   213477 HECTOR A BERMUDEZ ROBLES                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          HECTOR A BETANCOURT
   213478 BATERCOURT                                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   213479 HECTOR A BONILLA TOLENTINO                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   213480 HECTOR A CALDERON MATOS                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   213481 HECTOR A CANCEL NEGRON                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   213482 HECTOR A CARABALLO GUZMAN REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   213483 HECTOR A CARTAGENA COLON                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   663862 HECTOR A CASTRO PEREZ                       P O BOX 227                                                                                                     YABUCOA             PR         00767

   663863 HECTOR A COLLAZO ACEVEDO                    PO BOX 54                                                                                                       MAUNABO             PR         00707
   213484 HECTOR A COLON AVILES                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   663864 HECTOR A COLON MATOS                        URB FRANCISCO OLLER           G 10 CALLE 5                                                                      BAYAMON             PR         00956

   213486 HECTOR A COLON RODRIGUEZ                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   213487 HECTOR A CORREA DIAZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   213488 HECTOR A CORTEZ BABILONIA                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   213489 HECTOR A CRUZ CRUZ                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   213490 HECTOR A CRUZ LOPEZ                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   213491 HECTOR A CRUZ MARIANI                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   213492 HECTOR A CRUZ SANCHEZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   663867 HECTOR A DE JESUS APONTE                    PARC NUEVA OLIMPO             522 CALLE G                                                                       GUAYAMA             PR         00784‐4121
   663868 HECTOR A DE JESUS BENITEZ                   URB JARD DE ARECIBO           X 3 CALLE 5                                                                       ARECIBO             PR         00612
   213493 HECTOR A DEL RIO RIVERA                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   213494 HECTOR A DELIZ BARRERA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   213495 HECTOR A DELIZ CANDELARIA                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
                                                      URB LOS ALMENDROS D 15
   663869 HECTOR A DIAZ CHARRIEZ                      CALLE 4                                                                                                         MAUNABO             PR         00707
   213496 HECTOR A DIAZ GONZALEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   213497 HECTOR A DIAZ RODRIGUEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   213498 HECTOR A DILAN CARO                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED




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   663870 HECTOR A ESCALERA RAMOS                     THE RESIDENCES PARQ ESCORIAL 3502 SOUTH AVE APT 210                                                              CAROLINA             PR           00987
   663872 HECTOR A FOURNIER LEON                      214 CALLE MORSE                                                                                                  ARROYO               PR           00714
   213500 HECTOR A GARCIA                             REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   213501 HECTOR A GARCIA MILLAN                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   213505 HECTOR A GONZALEZ QUINONES REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   663808 HECTOR A LABOY LAMBOY      URB COUNTRY CLUB                              JF 54 CALLE 246                                                                     CAROLINA             PR           00902

   663873 HECTOR A LAFUENTE MARRERO 30 URB CALIMANO                                                                                                                    MAUNABO              PR           00707
   663875 HECTOR A LOPEZ MOLINA     66 INT CALLE LICEO                                                                                                                 MAYAGUEZ             PR           00680
   663874 HECTOR A LOPEZ RIVERA     35 CALLE HW SANTAELLA                                                                                                              COAMO                PR           00769

   213506 HECTOR A MARMOL LANTIGUA                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   213507 HECTOR A MARTINEZ FIGUERAS                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   663876 HECTOR A MARTINEZ VEGA                      HC 2 BOX 46483                                                                                                   VEGA BAJA            PR           00693
   213508 HECTOR A MILLAR MARTINEZ                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   213509 HECTOR A MORALES MARTINEZ                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   663878 HECTOR A NEGRON PEREZ                       URV VILLA SANTA              285 CALLE 5                                                                         DORADO               PR           00646

   213510 HECTOR A NEVAREZ MARRERO                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   213511 HECTOR A NOLLA OLMO                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   213512 HECTOR A OCASIO CEDENO                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   663880 HECTOR A ORTIZ BOSCH                        43 CALLE VIRTUD                                                                                                  PONCE                PR           00731
   663881 HECTOR A ORTIZ COLON                        URB LOMAS VERDES 2 G 28      CALLE ELODEA                                                                        BAYAMON              PR           00956
   663879 HECTOR A ORTIZ RAMIREZ                      URB JARDINES DE CAPARRA      RR 11 CALLE 24                                                                      BAYAMON              PR           00959
   213514 HECTOR A PEREZ GRAN                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   213516 HECTOR A PICHARDO MARTINEZ                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   213517 HECTOR A RAMIREZ RAMIREZ                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   663883 HECTOR A RAMOS BAEZ                         HC 01 BOX 4577                                                                                                   ADJUNTAS             PR           00601
   213518 HECTOR A RIVERA FIGUEROA                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   663885 HECTOR A RIVERA INS CORP                    PO BOX 3128                                                                                                      MAYAGUEZ             PR           00681
   663886 HECTOR A RIVERA LOPEZ                       ALTS DE INTERAMERICANA       W9 CALLE 17                                                                         TRUJILLO ALTO        PR           00976
   213519 HECTOR A RIVERA RAMOS                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   663891 HECTOR A RIVERA RIVERA                      COM MIRAMAR                  690‐46 CALLE GARDENIA                                                               GUAYAMA              PR           00784
   213520 HECTOR A RIVERA ROMAN                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   213521 HECTOR A RIVERA ROSADO                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   663892 HECTOR A RODRIGUEZ ALVAREZ PO BOX 724                                                                                                                        MANATI               PR           00674‐0729

   213522 HECTOR A RODRIGUEZ BURGOS                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HECTOR A RODRIGUEZ
   213523 GONZALEZ                                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   663893 HECTOR A RODRIGUEZ PEREZ                    HC 06 BOX 13914                                                                                                  HATILLO              PR           00659

   213524 HECTOR A RODRIGUEZ QUILES                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   213525 HECTOR A RODRIGUEZ RESTO                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   213526 HECTOR A ROMAN GONZALEZ                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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   663895 HECTOR A ROSARIO OSORIO                     MEDIANIA ALTA VILLA SANTOS    C2 PARCELA 50                                                                       LOIZA               PR           00772
   213527 HECTOR A ROSARIO PLAUD                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   663809 HECTOR A ROSARIO SANTIAGO                   BO GUAVATE                    21624 CALLE APONTE                                                                  CAYEY               PR           00736

   213528 HECTOR A SANTIAGO GONZALEZ REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   663898 HECTOR A SANTIAGO ROMERO                    221 AVE PONCE DE LEON         SUITE 1406                                                                          SAN JUAN            PR           00917‐1814
   213530 HECTOR A SANTOS PEREZ                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663811 HECTOR A SANTOS ROALES                      PO BOX 372346                                                                                                     CAYEY               PR           00737

   213531 HECTOR A SERRANO DELGADO                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663899 HECTOR A SERRANO RIVERA                     HC 02 BOX 6858                                                                                                    FLORIDA             PR           00650
   213532 Hector A Sosa Gonzalez                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663900 HECTOR A SOSTRE BOU                         URB SIERRA BAYAMON            1 22 CALLE 1                                                                        BAYAMON             PR           00961
   213533 HECTOR A SOSTRE NARVAEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213534 HECTOR A SOTO COLON                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663902 HECTOR A TORRES COLON                       PARQUE ECUESTRE               L 15 CALLE 15                                                                       CAROLINA            PR           00987
   213535 HECTOR A TORRES VAZQUEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   663812 HECTOR A URDAZ HERNANDEZ                    URB ESTANCIAS DE LA CEIBA     BLOQUE H NUM H‐18                                                                   HATILLO             PR           00659
   213537 HECTOR A VALLE GONZALEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663904 HECTOR A VANOLLI COSTAS                     600 AVE MIRAMAR               APT 2 A                                                                             SAN JUAN            PR           00907

   663905 HECTOR A VARGAS GONZALEZ                    3374 STERLINLAKE CIR OVIEDO                                                                                       OVIEDO              FL           32765
   213538 HECTOR A VAZQUEZ AGOSTO                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213539 HECTOR A VAZQUEZ ROBLES                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663810 HECTOR A VAZQUEZ VALLE                      URB VILLA CAROLINA            117 28 CALLE 75                                                                     CAROLINA            PR           00985

   213540 HECTOR A VELEZ CARRASQUILLO REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213541 HECTOR A VELEZ MALAVE       REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   663906 HECTOR A VILLANUEVA PEREZ                   P O BOX 1947                                                                                                      LARES               PR           00669
   213542 HECTOR A VILLANUEVA RUIZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213543 HECTOR A ZAMBRANA LOPEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663908 HECTOR A. RIVAS ORTIZ                       25 CALLE DR UMPIERRE          PO BOX 1208                                                                         OROCOVIS            PR           00720
   663909 HECTOR ABREU DELGADO                        PO BOX 721                                                                                                        UTUADO              PR           00641
   213547 HECTOR ACABA DEL VALLE                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213548 HECTOR ACEVEDO INTANTE                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663910 HECTOR ACEVEDO MEDINA                       URB LA RAMBLA                 53 CALLE 1                                                                          PONCE               PR           00731
   663911 HECTOR ACEVEDO MORENO                       123 CALLE MANUEL RUIZ                                                                                             AGUADILLA           PR           00602
   663912 HECTOR ACEVEDO PADILLA                      GLENUCO GARDENS               DD 22 CALLE E 7 B                                                                   PONCE               PR           00730
   663914 HECTOR ACOSTA HERNANDEZ                     PO BOX 1317                                                                                                       GUAYAMA             PR           00985
   663915 HECTOR ADAMES ROMAN                         2736 CALLE LA ROMANA                                                                                              QUEBRADILLA         PR           00678
   663916 HECTOR ADROVET MOLINA                       URB VISTA VERDE               308 CALLE PACIFICO                                                                  MOROVIS             PR           00687
   213551 HECTOR AGOSTO RODRIGUEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213552 HECTOR AGOSTO VAZQUEZ                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213553 HECTOR AIR CONDITIONING                     URB MATIENZO CINTRON          518 CALE RIAZA                                                                      SAN JUAN            PR           00923‐2120

   213554 HECTOR AIR CONDITIONING INC CALLE RIAZA 518                               MATIENZO CINTRON                                                                    SAN JUAN            PR           00923
   213557 HECTOR ALBALADEJO NIEVES    REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          HECTOR ALBARRAN
   663917 MALDONADO                                   OFICINA DEL GOBERNADOR      LA FORTALEZA                                                                        SAN JUAN            PR           00902‐0082
          HECTOR ALBERTO RODRIGUEZ
   213558 VEGA                                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663920 HECTOR ALDEA MARRERO                        R R 3 BOX 4790                                                                                                  SAN JUAN            PR           00926
          HECTOR ALDORONDO
   213559 RODRIGUEZ                                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   213560 HECTOR ALEJANDRO CESTARYS                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663922 HECTOR ALEJANDRO RIVERA                     PO BOX 849                                                                                                      GURABO              PR           00778
          HECTOR ALEMAN / MYRTEA
   213561 LUGO                                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663923 HECTOR ALEMAN CUADRO                        PO BOX 1013                                                                                                     DORADO              PR           00646‐1013
   663924 HECTOR ALEMAN HUERTAS                       URB LOS MAESTROS            758 CALLE COSTAS DIAZ                                                               PONCE               PR           00717
   663925 HECTOR ALEMAN RODRIGUEZ                     HC 645 BOX 6252                                                                                                 TRUJILLO ALTO       PR           00976‐9747
          HECTOR ALEX QUINONES
   213562 ROMAN                                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   663926 HECTOR ALMESTICA BRACERO                    METADONA PONCE                                                                                                  Hato Rey            PR           00936

   213563 HECTOR ALMODOVAR GARCIA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663927 HECTOR ALMONTE CAPELLAN                     CAPARRA TERRACE             1576 CALLE 2 SE                                                                     SAN JUAN            PR           00921
   663928 HECTOR ALVARADO CEBALLO                     PO BOX 240                                                                                                      SANTA ISABEL        PR           00757

   663929 HECTOR ALVARADO GONZALEZ                    P O BOX 332100                                                                                                  PONCE               PR           00733 2100
   663930 HECTOR ALVAREZ CORTES                       URB LOS ROSALES II          AVE 9 3                                                                             MANATI              PR           00674

   663931 HECTOR ALVAREZ HERNANDEZ                    HC 03 BOX 6470                                                                                                  HUMACAO             PR           00791
                                                                                  527 CALLE ANGEL RIVERO
   663932 HECTOR ALVAREZ LUGO                         URB CIUDAD CENTRAL II       MENDEZ                                                                              CAROLINA            PR           00987
   213566 HECTOR ALVAREZ MARTINEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663934 HECTOR ALVAREZ PAGAN                        HC 03 BOX 9905              BO PUEBLO                                                                           LARES               PR           00669
   663935 HECTOR ALVAREZ PAREDES                      URB JARDINES DE GURABO      203 CALLE 10                                                                        GURABO              PR           00778
   663936 HECTOR ALVAREZ PEGUERO                      SAN AGUSTIN                 1162 CALLE GASPAR RIOS                                                              SAN JUAN            PR           00924

   663937 HECTOR ALVAREZ ROSARIO Y/O                  JARDINES DEL CARIBE         203 CALLE 15                                                                        PONCE               PR           00731
   663813 HECTOR ALVERIO VALENTIN                     URB PARK GARDENS            22 CALLE IGUAZO                                                                     SAN JUAN            PR           00926
   663939 HECTOR AMADOR MARTINEZ                      PO BOX 1027                                                                                                     CAMUY               PR           00627
   213567 HECTOR AMBERT SANCHEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663940 HECTOR AMELY AYALA                          PARC SOLEDAD                BOX 513 CARR 342                                                                    MAYAGUEZ            PR           00680

   213568 HECTOR AMEZQUITA COLLAZO                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213569 HECTOR ANDINO ARROYO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   663941 HECTOR ANEUDY ORSINI PAGAN                  URB LA MONSERRATE           8 JUAN DE JESUS LOPEZ                                                               JAYUYA              PR           00664
   213570 HECTOR ANGEL RIOS PEREZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663943 HECTOR APONTE FELICIANO                     URB JARDINES DE LAFAYETTE   CALLE I E‐4                                                                         ARROYO              PR           00714
   663944 HECTOR APONTE LOPEZ                         BO RABANAL                  BOX 2364                                                                            CIDRA               PR           00739
   663945 HECTOR APONTE MARTINEZ                      RIVER VIEW                  JJ‐22 CALLLE 27                                                                     BAYAMON             PR           00961
   663946 HECTOR APONTE ORTIZ                         BO OBRERO STATION           PO BOX 14427                                                                        SAN JUAN            PR           00916‐4427
   663948 HECTOR ARCE ARQUITECTO                      667 AVE P DE LEON 102                                                                                           SAN JUAN            PR           00907‐3201
   663949 HECTOR ARCE MORALES                         HC‐01 BOX 10511                                                                                                 GUAYANILLA          PR           00656




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                                                      667 AVE PONCE DE LEON SUITE
   663950 HECTOR ARCE QUINTERO                        102                                                                                                              SAN JUAN            PR           00907‐3201
   213574 HECTOR ARROYO MORALES                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   663952 HECTOR ARROYO RODRIGUEZ                     PO BOX 7126                                                                                                      PONCE               PR           00732
   663953 HECTOR ASENCIO MEDINA                       URB VISTAMAR                  525 CALLE SEGOVIA                                                                  CAROLINA            PR           00983
   213575 HECTOR ASTACIO MANGUAL                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213576 HECTOR AULET RIVERA                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   663954 HECTOR AUTO COMPRESORES                     PO BOX 1172                                                                                                      SAN LORENZO         PR           00754

          HECTOR AUTO PARTS/HECTOR
   663955 NIEVES RODIGUEZ                             PO BOX 192                                                                                                       MOCA                PR           00676
   663956 HECTOR AVAREZ PEQUERO                       SAN AGUSTIN                   1162 ALLE GASPAR RIOS                                                              SAN JUAN            PR           00924
   663958 HECTOR AVILA POVERIET                       URB CAPARRA TERRACE           1409 CALLE4 SO                                                                     SAN JUAN            PR           00921
   213577 HECTOR AVILA RIVERA                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213578 HECTOR AVILES ACEVEDO                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213579 HECTOR AVILES LOPEZ                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663959 HECTOR AVILES RAMIREZ                       PO BOX 775                                                                                                       SAN GERMAN          PR           00683‐0775
   663961 HECTOR AYALA BELTRAN                        677 SOLAR LA DOLORES                                                                                             RIO GRANDE          PR           00745
   213580 HECTOR AYALA BENITEZ                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213581 HECTOR AYALA COLON                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663962 HECTOR AYALA LLAUGER                        P O BOX 977                                                                                                      COROZAL             PR           00783
   213582 Hector Ayala Oyola                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663963 HECTOR AYALA VALLE                          COM PITAHAYA                  SOLAR 246                                                                          ARROYO              PR           00271
   213584 HECTOR AYALA VAZQUEZ                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR B ALBA SANCHEZ HNC
   213585 JOY EL CORAL                                REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213586 HECTOR B BURGOS DE ASIS                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   213587 HECTOR B CATAL COLONDRES                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213588 HECTOR B CRESPO BUJOSA                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   663966 HECTOR B CRESPO QUINONES                    PO BOX 925                                                                                                       LARES               PR           00669

   213589 HECTOR B FELICIANO MORALES                  REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663967 HECTOR B RIVERA NIEVES                      P O BOX 8963                                                                                                     CAGUAS              PR           00725
          HECTOR B VELAZQUEZ
   663968 HERNANDEZ                                   LAS MONJAS                    167 CALLE B                                                                        SAN JUAN            PR           00917
   663969 HECTOR B. VARGAS VIDAL                      COND INTER SUITE              APT 7 J ISLA VERDE                                                                 CAROLINA            PR           00979

   663814 HECTOR BABILONIA PANZARDI                   URB APOLO                     38 CALLE CLOTO                                                                     GUAYNABO            PR           00969
   213590 HECTOR BADILLO CORDERO                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213591 HECTOR BAEZ CESAREO                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213592 HECTOR BAEZ CRUZ                            REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213593 HECTOR BAEZ HERNANDEZ                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213594 HECTOR BAEZ IRIZARRY                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663971 HECTOR BAEZ MORA                            URB SAN TOMAS                 D 2 CALLE C                                                                        PONCE               PR           00734

   663972 HECTOR BAEZ VALENTIN                        C 1 PARCEL 452 LA CENTRAL                                                                                        CANOVANAS           PR           00729

   213595 HECTOR BALAGUER ECHEVARRIA REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663973 HECTOR BALBUENA VARGAS     COND LAGUNA GDNS                               1 APT 1 J                                                                          CAROLINA            PR           00979



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   213596 HECTOR BARRETO RODRIGUEZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   213597 HECTOR BARTOLEMEI REGUERA                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213598 HECTOR BELTRAN CINTRON                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663974 HECTOR BELTRES                              1085 C/ PADRE CAPUCHINO                                                                                           SAN JUAN            PR           00925
   663975 HECTOR BERMUDEZ CAINS                       URB ENCANTADA              MONTECILLO 1 BOX 201                                                                   TRUJILLO ALTO       PR           00976

   663976 HECTOR BERMUDEZ MARTINEZ                    P O BOX 1696                                                                                                      GUAYAMA             PR           00785

   213599 HECTOR BERMUDEZ MARTIONEZ REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   213600 HECTOR BERMUDEZ OLAVARRIA                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213601 HECTOR BERNARDO                             REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213602 HECTOR BERRIOS                              REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213603 Hector Berrios Colón                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663977 HECTOR BERRIOS DIAZ                         VILLA CAROLINA             17‐16 CALLE 22                                                                         CAROLINA            PR           00985
   213605 HECTOR BERRIOS RAMOS                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213606 HECTOR BERRIOS TORRES                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663978 HECTOR BERROCALES RAMOS                     PO BOX 1619                                                                                                       GUANICA             PR           00653
   663979 HECTOR BETANCOURT                           HC 645 BOX 8043                                                                                                   TRUJILLO ALTO       PR           00976

   213607 HECTOR BEZAREZ HERNANDEZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   663980 HECTOR BLADUELL VIERA                       PARADA 26                  469 CALLE SAGRADO CORAZON                                                              SAN JUAN            PR           00915
          HECTOR BLANCHERO DBA HG
   213608 PARTY RENTAL                                URB VALLE HERMOSO ABAJO    SO22 CALLE LIMA                                                                        HORMIGUERO          PR           00660
   663981 HECTOR BLONDET TEXIDOR                      URB DOS PINOS              826 CALLE VESTA                                                                        SAN JUAN            PR           00923
   663815 HECTOR BONET GUTIERREZ                      PO BOX 809                                                                                                        BARCELONETA         PR           00617
   663982 HECTOR BONILLA FIGUEROA                     URB PUERTO NUEVO           1200 CALLE CARDENIA                                                                    SAN JUAN            PR           00920
   213609 HECTOR BONILLA GALLOZA                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213611 HECTOR BORIA QUINONES                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663984 HECTOR BORRERO MEDINA                       HC 02 BOX 15491                                                                                                   ARECIBO             PR           00612
          HECTOR BRAVO PINOS DE
   213612 OTONO ZENO GANDIA                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663985 HECTOR BRITO APONTE                         FAIR VIEW                  1901 CALLE 46                                                                          SAN JUAN            PR           00926
   213613 HECTOR BRITO DIAZ                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213614 HECTOR BRUNET RODRIGUEZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213616 HECTOR BRUNO BONILLA                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213618 HECTOR BURGOS CASTRO                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663987 HECTOR BURGOS CRUZ                          PO BOX 2209                                                                                                       AGUADILLA           PR           00605
   663988 HECTOR BURGOS DE JESUS                      3 URB JOSE P H HERNANDEZ                                                                                          RIO GRANDE          PR           00745
   663989 HECTOR BURGOS FIGUEROA                      URB VISTA BELLA            K 16 C/ 8                                                                              BAYAMON             PR           00956
   663990 HECTOR BURGOS LASANTA                       118 BO PATRON                                                                                                     MOROVIS             PR           00687
   213619 HECTOR BURGOS REYES                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213620 HECTOR BUS LINE INC                         P O BOX 1383                                                                                                      SABANA GRANDE       PR           00637
   663991 HECTOR BUSIGO MARTINEZ                      URB SAN ANTONIO            86 CALLE 1                                                                             AGUAS BUENAS        PR           00703
   663992 HECTOR C AMARO ACEVEDO                      267 PATRICIO CORA                                                                                                 CAYEY               PR           00736
   663993 HECTOR C COLON SERRANO                      HERMANAS DAVILA            K 22 CALLE 5                                                                           BAYAMON             PR           00956
   213621 HECTOR C LOPEZ JIMENEZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213622 HECTOR C MORALES REYES                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663995 HECTOR C REYES LOPEZ                        RR5 BOX 4999 SUITE 144                                                                                            BAYAMON             PR           00956
   663996 HECTOR C ROSARIO                            PO BOX 10000 SUITE 210                                                                                            CANOVANAS           PR           00729



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  213624 HECTOR C VELAZQUEZ AVILES                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  213625 HECTOR C VELAZQUEZ CALES                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  213627 HECTOR C. ROMAN TORRES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  663998 HECTOR CABA GONZALEZ                         PO BOX 202                                                                                                    ADJUNTAS             PR         00601
  663999 HECTOR CABALLERO                             P O BOX 7682                                                                                                  PONCE                PR         00737

   664000 HECTOR CABALLERO SANCHEZ                    HC 02 BOX 7410                                                                                                CAMUY                PR         00627
   213629 HECTOR CABAN ABRAHAM                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   213630 HECTOR CABAN GONZALEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   213631 HECTOR CABAN MUNIZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   213632 HECTOR CABAN QUINONES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   664001 HECTOR CABAN RUIZ                           URB VISTAMAR                524 CALLE SEGOVIA                                                                 CAROLINA             PR         00983
   664002 HECTOR CABAN VEGA                           PO BOX 235                                                                                                    AGUADA               PR         00602
   213633 HECTOR CABRERA CEDENO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   213636 HECTOR CALDERON ARROYO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   664005 HECTOR CALDERON TORRES                      LOIZA VALLEY                B 94 CALLE GLADIOLA                                                               CANOVANAS            PR         00729

   664006 HECTOR CALDERON ZAMBRANA LA TROCHA 195 CALLE ROBLE                                                                                                        VEGA BAJA            PR         00693
   664007 HECTOR CAMACHO DE JESUS  PO BOX 1106                                                                                                                      SALINAS              PR         00751

   213637 HECTOR CAMACHO MARTINEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   664008 HECTOR CAMACHO RAMOS                        C/O HILDA O' NEILL          PO BOX 21414                                                                      SAN JUAN             PR         00928‐1414
   664010 HECTOR CANALES                              PO BOX 2694                                                                                                   SAN JUAN             PR         00902‐2694
          HECTOR CANALES
   213638 CARRASQUILLO                                REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   664011 HECTOR CANALES GARCIA                       BOX 30600 BUZON 294                                                                                           CANOVANAS            PR         00729
   213639 HECTOR CANCEL NUNEZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   664013 HECTOR CANDELARIA ANDUJAR                   URB VEGAS DE FLORIDA        D 16                                                                              FLORIDA              PR         00650
   664014 HECTOR CANDELARIO CARO                      PARQUE SAN AGUSTIN APT 24   CALLE GUAYANILLA 501                                                              SAN JUAN             PR         00923
   213640 HECTOR CANMAN TORRES                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   213641 Hector Caquias Morales                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   213642 HECTOR CARABALLO PEREZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   664016 HECTOR CARABALLO VELEZ                      PO BOX 7631                                                                                                   SAN JUAN             PR         00916
   213643 HECTOR CARBIA FERNANDEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   664017 HECTOR CARDONA                              PO BOX 354                                                                                                    AGUAS BUENAS         PR         00703
   664019 HECTOR CARDONA CRUZ                         BOX 567                                                                                                       AGUAS BUENAS         PR         00703
   664020 HECTOR CARDONA GRAJALES                     HC 2 BOX 24522                                                                                                AGUADILLA            PR         00603
   664021 HECTOR CARDONA LOPEZ                        PO BOX 354                                                                                                    AGUAS BUENAS         PR         00703
                                                      BO HOYAMALA SECTOR
   664022 HECTOR CARDONA SALAS                        TOSQUERO                    HC 01 BUZON 10198                                                                 SAN SEBASTIAN        PR         00685
   664023 HECTOR CARDONA SANTANA                      HC 80 6770                                                                                                    DORADO               PR         00646
   213644 HECTOR CARRADERO TORRES                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   664024 HECTOR CARRASCO SANTIAGO                    HC 40 BOX 43148                                                                                               SAN LORENZO          PR         00754
          HECTOR CARRASQUILLO
   213645 LAPORTE                                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          HECTOR CARRASQUILLO
   213646 RODRIGUEZ                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   664027 HECTOR CARRASQUILLO ZAYAS                   P O BOX 7804                                                                                                  CAGUAS               PR         00926

   213648 HECTOR CARRERAS SANTIAGO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  213649 HECTOR CARRION GUZMAN                        REDACTED             REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  664030 HECTOR CARRION MEDINA                        VICTOR ROJA I        27 CALLE ATOCHA                                                                  ARECIBO             PR         00612

   213650 HECTOR CARRUCINI BERMUDEZ                   REDACTED             REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664031 HECTOR CARTAGENA GERENA                     BO GUAVATE 22550                                                                                      CAYEY               PR         00736

   213651 HECTOR CARTAGENA MELENDEZ REDACTED                               REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664032 HECTOR CASTILLO FELIX     P O BOX 5044                                                                                                            CAROLINA            PR         00984
   213652 HECTOR CASTILLO MORALES   REDACTED                               REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   664034 HECTOR CASTILLO MORRAZANI P O BOX 60075                                                                                                           BAYAMON             PR         00960
   664035 HECTOR CASTRO               HC 04 BOX 556                                                                                                         CAGUAS              PR         00725
   213653 HECTOR CASTRO RIVERA        REDACTED                             REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213654 HECTOR CASTRO ROSARIO       REDACTED                             REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664036 HECTOR CASTRO VAZQUEZ       PO BOX 461                                                                                                            MAYAGUEZ            PR         00681
          HECTOR CATERING SERV /      VILLA GERENA CALLE ARCANGEL
   213655 HECTOR PEREZ CRUZ           #305                                                                                                                  MAYAGUEZ            PR         00680
   213656 HECTOR CATERING SERVICES    URB VILLA SULTANERA                  891 EDIF IRIZARRY                                                                MAYAGUEZ            PR         00680‐7031
   664039 HECTOR CENTENO BENZORT      ALT DE MONTE BRISAS                  AF 13 CALLE 6                                                                    FAJARDO             PR         00738
   664040 HECTOR CEPEDA               PO BOX 343                                                                                                            LOIZA               PR         00772
   664041 HECTOR CEPERO MORALES       HC 01 BOX 9326                                                                                                        HATILLO             PR         00659
   213659 HECTOR CERRA QUINONEZ       REDACTED                             REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213661 HECTOR CHACON GRAULAU       REDACTED                             REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664043 HECTOR CHAPARRO BADILLO     P O BOX 1062                                                                                                          RINCON              PR         00677
   664044 HECTOR CINTRON PACHECO      P.O. BOX 1411                                                                                                         YAUCO               PR         00698
   213663 HECTOR CINTRON PINERO       REDACTED                             REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213664 HECTOR CINTRON PRINCIPE     REDACTED                             REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664045 HECTOR CINTRON TORRES       P O BOX 247                                                                                                           TOA ALTA            PR         00954
   213665 HECTOR CINTRON TORRUELA     REDACTED                             REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213666 HECTOR CLAUDIO              REDACTED                             REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664046 HECTOR CLAVELL SANTIAGO     URB JARD DEL CARIBE                  NN 14 CALLE 40                                                                   PONCE               PR         00731
   664050 HECTOR COLLAZO              P O BOX 472                                                                                                           LOIZA               PR         00772
   213667 HECTOR COLLAZO SANTIAGO     REDACTED                             REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HECTOR COLON / SUP EL
   664053 FLAMBOYAN                   BOX 78                                                                                                                ANGELES             PR         00611
   213669 HECTOR COLON CRUZ           REDACTED                             REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HECTOR COLON DIAZ/
   213670 GEORGINA RAMOS              REDACTED                             REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664054 HECTOR COLON FIGUEROA       PO BOX 336111                                                                                                         PONCE               PR         00733‐6111
   213671 HECTOR COLON JORDAN         REDACTED                             REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664055 HECTOR COLON LOPEZ          HC 3 BOX 9653                                                                                                         LARES               PR         00669
   213673 HECTOR COLON NAVARRO        REDACTED                             REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213674 HECTOR COLON NUNEZ          REDACTED                             REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213675 HECTOR COLON OLAVARRIA      REDACTED                             REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664057 HECTOR COLON OQUENDO        PO BOX 753                                                                                                            UTUADO              PR         00641
   213676 HECTOR COLON ROLDAN         REDACTED                             REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664058 HECTOR COLON SANCHEZ        60 CALLE MAYOR CANTERA                                                                                                PONCE               PR         00731
   664059 HECTOR COLON SANTIAGO       PARCELA FALU                         164 CALLE 39                                                                     SAN JUAN            PR         00924
   213677 HECTOR COLON TORRES         REDACTED                             REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HECTOR COLON VEGA ( ROSARIO
   213678 & ROSARIO)                  REDACTED                             REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664060 HECTOR COLON VELAZQUEZ      PO BOX 2052                                                                                                           TRENTON             PR         32693
   213679 HECTOR CONDE LEON           REDACTED                             REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  664063 HECTOR CONTY CABAN                           BO PALMAR                    HC 02 BOX 6902                                                                           AGUADILLA         PR         00603
  213680 HECTOR CONTY MARCIAL                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  213681 HECTOR CORA MORET                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  213683 HECTOR CORA SANTIAGO                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   664065 HECTOR CORDERO QUI¥ONES                     URB STA ROSA                 48‐J2 CALLE 23                                                                           BAYAMON           PR         00959
   213685 HECTOR CORDERO RIVERA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   213686 HECTOR CORREA                               REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   664069 HECTOR CORREA DIAZ                          VILLA DEL PARQUE ESCORIAL    EDIF G APT 1707                                                                          CAROLINA          PR         00982

   664070 HECTOR CORREA DOMINGUEZ                     URB LOIZA VALLEY             2968 CALLE ALMENDRO                                                                      CANOVANAS         PR         00729
   213688 HECTOR CORREA OQUENDO                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   213691 HECTOR CORREA ORTEGA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   213693 Hector Correa Santiago                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   213695 HECTOR CORTES TORRES                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   213696 HECTOR CORTES VARGAS                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          HECTOR CRESPO /DBA/
   213697 NEUMATICOS PITY                             PO BOX 925                                                                                                            LARES             PR         00669
   213699 HECTOR CRESPO RIVERA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   213701 HECTOR CRUZ ARROYO                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   664074 HECTOR CRUZ COLON                           URB VILLA SAN ANTON          Q 11 CALLE LEOPOLDO JIMENEZ                                                              CAROLINA          PR         00987
   664075 HECTOR CRUZ GUZMAN                          PO BOX 427                                                                                                            QUEBRADILLAS      PR         00678

   664076 HECTOR CRUZ MARRERO                         A 18 CALLE PEDRO PABLO COLON                                                                                          COAMO             PR         00769
   664077 HECTOR CRUZ PAGAN                           URB EL MADRIGAL              M 7 CALLE 12                                                                             PONCE             PR         00731
   664079 HECTOR CRUZ RAMOS                           BO OBRERO 1060               CALLE CRUZ ROJA                                                                          ARECIBO           PR         00612
   664080 HECTOR CRUZ ROMAN                           PO BOX 194824                                                                                                         SAN JUAN          PR         00919

   663816 HECTOR CRUZ Y ANGEL L CRUZ                  RR 2 BOX 755                                                                                                          SAN JUAN          PR         00926
          HECTOR CRUZ Y MICHELLE
   213703 VAZQUEZ                                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   213704 HECTOR CUADRADO TOLENTINO REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   213705 HECTOR CUADRO RUIZ        REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   213708 HECTOR D BARVIEVA TORRES  REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   664082 HECTOR D BERNARDY VIDAL   PO BOX 372846                                                                                                                           CAYEY             PR         00737
   213710 HECTOR D BURGOS OCASIO    REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   213711 HECTOR D CORREA COLON     REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   213712 HECTOR D DAVILA ORTEGA    REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   664083 HECTOR D DAVILA PEREZ     3 ALTO DEL CABRO                                                                                                                        MANATI            PR         00674
          HECTOR D FRANCES
   664084 BETANCOURT                PO BOX 891                                                                                                                              TRUJILLO ALTO     PR         00976
   664085 HECTOR D JIMENEZ GARCIA   P O BOX 1236                                                                                                                            CIALES            PR         00638
   213714 HECTOR D LOPEZ RIJOS      REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   664086 HECTOR D LOPEZ SEGUI      BOX 733                                                                                                                                 AGUADA            PR         00602
   664087 HECTOR D MARIN ALVAREZ    HC 1 BOX 3844                                                                                                                           UTUADO            PR         00641
                                    D 13 CALLE 1 URB SAN
   664088 HECTOR D MELENDEZ CUBERO FRANCISCO                                                                                                                                HUMACAO           PR         00791
   213715 HECTOR D MOJICA SANTANA   REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   213716 HECTOR D MONGE CALVO      REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   664089 HECTOR D MORALES LOPEZ    SANTA CLARA                                    192 CALLE C                                                                              PONCE             PR         00731
   213717 HECTOR D MORALES SOTO     REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED



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  213718 HECTOR D MUNOZ MARRERO                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   664090 HECTOR D ORTIZ MONTESINO                    URB MONTECASINO            A29 CALLE ALMENDRO                                                                        TOA ALTA             PR         00953
   664091 HECTOR D ORTIZ TORRES                       HC 2 BOX 6885                                                                                                        BARRANQUITAS         PR         00794
   664092 HECTOR D PELLOT COLON                       CARIBE GARDENS             11 CALLE VIOLETA                                                                          CAGUAS               PR         00725
   213719 HECTOR D PEREZ RAMOS                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   664094 HECTOR D PEREZ TORRES                       COND EL MONTE SUR APT G    505 AVE HOSTOS                                                                            SAN JUAN             PR         00918‐3005
   213720 HECTOR D PINEIRO ROSADO                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   213721 HECTOR D RAMOS PAGAN                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   213722 HECTOR D RIVERA RAMIREZ                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   213723 HECTOR D RIVERA RIVERA                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   664096 HECTOR D RIVERA ROSADO                      P O BOX 1012                                                                                                         BARRANQUITAS         PR         00794
   664097 HECTOR D ROBLES PLAZA                       HC 1 BOX 3505                                                                                                        ADJUNTAS             PR         00601
   664098 HECTOR D ROSSY                              PO BOX 51906                                                                                                         TOA BAJA             PR         00950‐1906
   213724 HECTOR D RUIZ OCASIO                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   213725 HECTOR D RUIZ RAMIREZ                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   664099 HECTOR D RUSSE DE LEON                      URB MONTE MAYOR            513 CALLE CARPINTERO                                                                      DORADO               PR         00646‐9448

   664100 HECTOR D SANTANA GUERRERO HC 01 BOX 3618                                                                                                                         VILLALBA             PR         00766

   664101 HECTOR D SANTANA RODRIGUEZ VISTA ALEGRE                                77 CALLE 4                                                                                SAN JUAN             PR         00926
          HECTOR D SANTIAGO
   664102 RODRIGUEZ                  BRISAS DE TORTUGUERO                        BC CALLE RIO BAIROA                                                                       VEGA BAJA            PR         00693
          HECTOR D SENQUIZ
   213726 EMMANUELLI                 REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   664103 HECTOR D TORRES PRATTS                      BORINQUEN GARDENS          COND SKY TOWER III APTO 19 B                                                              SAN JUAN             PR         00926
   664104 HECTOR D VARGAS RUPERTO                     URB ALTURAS DE MAYAGUEZ    925 TORRECILLAS                                                                           MAYAGUEZ             PR         00682‐6223

   213727 HECTOR D VAZQUEZ GALARZA                    REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          HECTOR D VELAZQUEZ
   213728 MALDONADO                                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   664106 HECTOR D. MAYOSET CARDONA                   C/O DEPARTAMENTO DE SALUD APARTADO 11398                                                                             SAN JUAN             PR         00910‐1398
          HECTOR DAVID APONTE
   664107 CABRERA                                     P O BOX 2400 SUITE 122                                                                                               TOA BAJA             PR         00951
          HECTOR DAVID CONCEPCION
   213729 RIVERA                                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   664108 HECTOR DAVID RIOS ORTIZ                     PO BOX 403                                                                                                           BARRANQUITAS         PR         00794
   213730 HECTOR DAVILA AYALA                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   213731 HECTOR DAVILA COLON                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   664111 HECTOR DAVILA PE                            URB VILLA CAPARRA          H34                                                                                       GUAYNABO             PR         00966
   664112 HECTOR DAVILA PIZARRO                       P O BOX 1103                                                                                                         GUAYNABO             PR         00970
   664113 HECTOR DAVILA TORRES                        PO BOX 2473                                                                                                          BAYAMON              PR         00960
   664115 HECTOR DE HOYOS FERRER                      96 CALLE CIARA DEL NORTE                                                                                             VEGA BAJA            PR         00693
   664118 HECTOR DE JESUS DEL VALLE                   PO BOX 2896                                                                                                          GUAYAMA              PR         00785
   213732 HECTOR DE JESUS GONZALEZ                    REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   213733 HECTOR DE JESUS MALDONADO                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   664120 HECTOR DE JESUS OTERO                       P O BOX 224                                                                                                          CIALES               PR         00638
   213735 HECTOR DE JESUS PARRILLA                    REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   664121 HECTOR DE JESUS PAZ                         ESTANCIAS DEL RIO          18 CALLE CEIBA                                                                            CANOVANAS            PR         00729
   664122 HECTOR DE JESUS PEREZ                       PO BOX 217                                                                                                           CAROLINA             PR         00986



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   213736 HECTOR DE JESUS RODRIGUEZ                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   213737 HECTOR DE JESUS SANTOS                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664124 HECTOR DEDOS SANCHEZ                        PO BOX 7126                                                                                                         PONCE                PR           00732
   664125 HECTOR DEL CASTILLO                         URB SAN MARTIN               1363 CALLE OLGA ESPERANZA                                                              SAN JUAN             PR           00924

   213739 HECTOR DEL VALLE HERNANDEZ REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   664126 HECTOR DEL VALLE MARTINEZ                   VILLA BLANCA EXT SAN ANTONIO M 29 CALLE 4                                                                           CAGUAS               PR           00725

   213740 HECTOR DELGADO CANDELARIA                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664127 HECTOR DELGADO CRUZ                         URB LEVITTOWN HW 14          CALLE DOMINGO DELGADO                                                                  TOA BAJA             PR           00949
          HECTOR DELGADO DE
   664128 CHOUDENS                                    P O BOX 133                                                                                                         ARROYO               PR           00714
   664129 HECTOR DELGADO DE LEON                      1011 AVE MIRAMAR                                                                                                    ARECIBO              PR           00613
   664130 HECTOR DELGADO OSORIO                       URB PARK GARDENS A           49 CALLE SABATINI                                                                      SAN JUAN             PR           00926

   213741 HECTOR DELGADO RODRIGUEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664132 HECTOR DESPIAU RIVERA                       URB SAN FELIPE C 8 K 6                                                                                              ARECIBO              PR           00612
   664133 HECTOR DIAZ ANAYA                           A 17 VILLA ROSA II                                                                                                  GUAYAMA              PR           00784
   664134 HECTOR DIAZ CASTILLO                        CAMPO ALEGRE                 B 7 CALLE LAUREL                                                                       BAYAMON              PR           00956

   664135 HECTOR DIAZ DIAZ                            PO BOX 11855                 ESTACION FERNANDEZ JUNCOS                                                              SAN JUAN             PR           00910‐3855
   664136 HECTOR DIAZ FERNANDEZ                       PO BOX 10436                                                                                                        PONCE                PR           00732
   664137 HECTOR DIAZ FIGUEROA                        EXT PUNTA PALMA              366 CALLE 7                                                                            BARCELONETA          PR           00617
   213742 HECTOR DIAZ GERENA                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664138 HECTOR DIAZ MENDEZ                          COND MELLIYAN                APT 1204                                                                               SAN JUAN             PR           00921
   664139 HECTOR DIAZ NAZARIO                         P O BOX 483                                                                                                         LAJAS                PR           00667
   664140 HECTOR DIAZ OLMO                            PO BOX 364426                                                                                                       SAN JUAN             PR           00936‐4436
   663817 HECTOR DIAZ QUI¥ONES                        PO BOX 992                                                                                                          SANTA ISABEL         PR           00757
   213743 HECTOR DIAZ QUINONES                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664141 HECTOR DIAZ RODRIGUEZ                       HP ‐ SERVICIO GENERALES                                                                                             RIO PIEDRAS          PR           009360000
   213744 HECTOR DIAZ SANTIAGO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   213745 HECTOR DIAZ VELEZ                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664143 HECTOR DIEGO SERRANO                        PO BOX 21365                                                                                                        SAN JUAN             PR           00928
   213746 HECTOR DOMINGO UJAQUE                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664146 HECTOR DOMINGUEZ FEBRES                     BO. BARRAZAS                 CARR. 853 K.M. 6.4                                                                     CAROLINA             PR           00981
   213747 HECTOR DONES FIGUEROA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664147 HECTOR E APONTE MARRERO                     URB EL SE¨ORIAL              2062 CALLE GANIVET                                                                     SAN JUAN             PR           00926
   664149 HECTOR E BAEZ CLAUDIO                       HC 5 BOX 7380                                                                                                       GUAYNABO             PR           00971‐9593
          HECTOR E BETANCOURT DBA JB
   664150 TROPHIES                                    VILLA CLEMENTINA             C 9 CAMINO ALEJANDRINO                                                                 GUAYNABO             PR           00969
          HECTOR E BETANCOURT DBA
   664151 TROPHIES INC                                VILLA CLEMENTINA             C 9 CAMINO ALEJANDRO                                                                   GUAYNABO             PR           00969
   213748 HECTOR E BIRD CAMP                          PO BOX 191025                                                                                                       SAN JUAN             PR           00919

   213750 HECTOR E CANDELARIA LASALLE REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664152 HECTOR E COLLAZO ALICEA     ESTACIAS DE TORTUGUERO                       607 CALLE TURIN                                                                        VEGA BAJA            PR           00693

   664153 HECTOR E COLON RODRIGUEZ                    BO LE GUISAMOS               CARR 108 KM 6 4 INT                                                                    MAYAGUEZ             PR           00709
   213751 HECTOR E CRUZ AVILES                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664154 HECTOR E CRUZ MONTALVO                      H C 2 BOX 7416                                                                                                      CIALES               PR           00638 9717
   213753 HECTOR E DAVILA VINCENTY                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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   213754 HECTOR E DELGADO BERMUDEZ                   REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664155 HECTOR E DIAZ DE JESUS                      URB PARQUE DEL MONTE          CC 16 CALLE AGUEYBANA                                                              CAGUAS              PR           00725
          HECTOR E FELICIANO
   213756 HERNANDEZ                                   REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664156 HECTOR E GALLOZA RIVERA                     HC 3 BOX 32562                                                                                                   AGUADA              PR           00602

   664157 HECTOR E HERNANDEZ TORRES                   PO BOX 331                                                                                                       LARES               PR           00669
   213757 HECTOR E JIMENEZ ROMAN                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664158 HECTOR E LEON BALINES                       HC 01 BOX 6006                                                                                                   SANTA ISABEL        PR           00757
   213758 HECTOR E LOPEZ CARABALLO                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213759 HECTOR E LOPEZ SANTINI                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   213760 HECTOR E MAISONET GUZMAN                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   213762 HECTOR E MALDONADO RIVERA                   REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213763 HECTOR E MENDEZ CARO                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213764 HECTOR E NIEVES TRINIDAD                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213765 HECTOR E OLIVER CEDRES                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213766 HECTOR E ORTIZ CARDONA                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664163 HECTOR E ORTIZ MALDONADO                    URB MONTERREY                 123 CALLE ANDES                                                                    SAN JUAN            PR           00926
   213767 HECTOR E ORTIZ PASTRANA                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213768 HECTOR E PACHECO RUIZ                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664164 HECTOR E PEREZ BORGES                       URB RIO HONDO I               120 CALLE RIO BAUTA                                                                BAYAMON             PR           00961‐3440
   664165 HECTOR E POZZI FOSAROLLI                    URB ISABEL LA CATOLICA        F 23 CALLE 10                                                                      AGUADA              PR           00602

   213769 HECTOR E QUINONES MULERO                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213770 HECTOR E RAMIREZ LEBRON                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213771 HECTOR E RAMOS MARTINEZ                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213773 HECTOR E RIOS SOTO                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664166 HECTOR E RIVERA FLORES                      HC 10 BOX 7388                                                                                                   SABANA GRANDE       PR           00637

   664168 HECTOR E RODRIGUEZ VELEZ                    73 BDA FELIX CORDOVA DAVILA                                                                                      MANATI              PR           00674
   213774 HECTOR E ROMERO MEDINA                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213775 HECTOR E ROSARIO CORTES                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213776 HECTOR E RUIZ                               REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

          HECTOR E RUIZ
   664169 TORRES/CARNAVAL DE ARECIBO REPARTO MARTELL                                E 10 ESMERALDA                                                                     ARECIBO             PR           00612
   664170 HECTOR E SANCHEZ RIVERA    BO BUENAVISTA 14                               CAMINOS LOS DIAZ                                                                   BAYAMON             PR           00956‐9676
   664171 HECTOR E SANTANA NEVAREZ   332 MENDEZ VIGO SUITE 3                                                                                                           DORADO              PR           00646‐4908

   664172 HECTOR E SANTIAGO SANTIAGO P O BOX 371028                                                                                                                    CAYEY               PR           00736
   213779 HECTOR E SIMMONS MATOS     REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   213780 HECTOR E SORRENTINI MENDEZ                  REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213781 HECTOR E TOLEDO FUENTES                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213782 HECTOR E TORRES ACEVEDO                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664173 HECTOR E TORRES SERRANO                     PO BOX 141091                                                                                                    ARECIBO             PR           00614
   664174 HECTOR E VALENTIN PLANAS                    URB VIVES                     CALLE C 145                                                                        GUAYAMA             PR           00784
   213783 HECTOR E VARGAS TORRES                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664175 HECTOR E VAZQUEZ                            OCEAN PARK                    4 RAMPLA EL ADMIRANTE   SECTOR LOIZA                                               SAN JUAN            PR           00911



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  664176 HECTOR E VAZQUEZ DIAZ                        URB ROOSEVELT 572           CALLE EDDIE GRACIA                                                                     SAN JUAN            PR           00918
  664177 HECTOR E VISSEPO CASTRO                      LAS VILLAS BAYAMON          500 AVE WEST MAIN APT 120                                                              BAYAMON             PR           00961
  664178 HECTOR E. CALLE ORTIZ                        PO BOX 11073                                                                                                       SAN JUAN            PR           00922‐1073
  664180 HECTOR E. COLON VAZQUEZ                      PO BOX 10163                                                                                                       SAN JUAN            PR           00908

   213784 HECTOR E. MALDONADO RIVERA REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   213785 HECTOR E.RIVERA SILVESTRE   REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          HECTOR EDGARDO SANTIAGO
   213787 OLAVARRIA                   REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664184 HECTOR EDIL LOPEZ CONDE     COND HATO REY CENTRO                        APT G ‐ 202                                                                            SAN JUAN            PR           00918
          HECTOR ENRIQUE MALDONADO
   213788 HERNANDEZ                   REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664186 HECTOR ESPINOSA GUZMAN      URB LOS COLOBOS PARK                        303 CALLE CAOBA                                                                        CAROLINA            PR           00986
   663818 HECTOR ESTEFANI ACEVEDO     PO BOX 1298                                                                                                                        SAN GERMAN          PR           00683
   213789 HECTOR ESTRADA ROJAS        REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   213790 HECTOR F ANDUJAR DIAZ       REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          HECTOR F BERMUDEZ VAZQUEZ /
   664187 TACO TEQUILA                BOX 7663                                                                                                                           HUMACAO             PR           00792
   664188 HECTOR F BRUNO DIAZ         27 CALLE CARAZO                                                                                                                    GUAYNABO            PR           00970
   213791 HECTOR F CASTILLO VELEZ     REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   213792 HECTOR F COLON MIRANDA      REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664189 HECTOR F COLON NIEVES       C 13 BELLA VISTA                                                                                                                   PONCE               PR           00731
   213793 HECTOR F COSME ZAETON       REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664193 HECTOR F DIAZ RODRIGUEZ     URB PALACIOS REALES                         B 19 CALLE BALBIE BOX 53                                                               TOA ALTA            PR           00952
   664194 HECTOR F FORTIS SANTIAGO    PO BOX 510                                                                                                                         OROCOVIS            PR           00720

   213796 HECTOR F GONZALEZ MENDEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664195 HECTOR F GUERRERO PEREZ                     URB SANS SOUCI              W 5 CALLE 17                                                                           BAYAMON             PR           00957
   213797 HECTOR F LOPEZ CRUZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664196 HECTOR F LOPEZ PEREZ                        PO BOX 1                                                                                                           ARECIBO             PR           00613

   664197 HECTOR F MARIN LAFONTAINE                   HC 1 BOX 3844                                                                                                      UTUADO              PR           00641
   664199 HECTOR F MERCADO OLIVER                     VICTOR ROJA 2               112 CALLE 6                                                                            ARECIBO             PR           00613

   213799 HECTOR F MODESTI MORALES                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   213802 HECTOR F MOLINA ROMAN                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664201 HECTOR F NATAL MENDEZ                       HC 01 BOX 4814                                                                                                     UTUADO              PR           00641
   664202 HECTOR F OJEDA MIRANDA                      BO DULCES LABIOS            211 CALLE TABLON                                                                       MAYAGUEZ            PR           00680
   664203 HECTOR F PEREZ JIMENEZ                      P O BOX 332221                                                                                                     PONCE               PR           00733‐2221

   664205 HECTOR F RODRIGUEZ MORALES URB VILLAS DE LOIZA                          AL 10 CALLE 35                                                                         CANOVANAS           PR           00729

   663819 HECTOR F ROMERO RAMIREZ                     URB CHALETS DE ROYAL PALM   100 CALLE F APT 1706                                                                   BAYAMON             PR           00956 3052
   213803 HECTOR F RONDON CRUZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   664206 HECTOR F SANTANA FELIBERTY                  BO MONTE GRANDE             11252 CARR 310                                                                         CABO ROJO           PR           00623‐3729
   664207 HECTOR F SANTIAGO CAZULL                    168 CALLE SAN JORGE APT 3                                                                                          SAN JUAN            PR           00911
   213804 HECTOR F SANTIAGO RIVERA                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664208 HECTOR F SIERRA LATORRE                     URB LA RAMBLA               369 CALLE LISAS                                                                        PONCE               PR           00731
   664209 HECTOR F SILVESTRI LOPEZ                    VILLA GRACIELA              A 12 CALLE C                                                                           JUNCOS              PR           00777
   213805 HECTOR F SOTO EGIPCIACO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664210 HECTOR F TOLEDO ORTIZ                       BOX 36                                                                                                             SAN SEBASTIAN       PR           00685
   664212 HECTOR F ZAYAS MATOS                        HC 2 BOX 5275                                                                                                      COMERIO             PR           00782



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  213807 Hector F. Pereira Rivera                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  213809 HECTOR FALU CRUZ                              REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  213810 HECTOR FARGAS DIAZ                            REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  664216 HECTOR FELICIANO DE JESUS                     BO LAS MAREAS                8 CALLE FINAL                                                                             SALINAS             PR         00751
  213812 HECTOR FELICIANO GARCIA                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   664217 HECTOR FELICIANO GONZALEZ                    P O BOX 7126                                                                                                           PONCE               PR         00732
          HECTOR FELICIANO
   213813 MALDONADO                                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   664218 HECTOR FELICIANO PORTALATIN                  BOX 1441                                                                                                               JUANA DIAZ          PR         00795
   663820 HECTOR FELICIANO RAMOS                       HC 2 BOX 5481                BO PALOS LLANOS                                                                           LARES               PR         00669
   213814 HECTOR FELICIANO RIVERA                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213815 HECTOR FELIX AUTO CORP                       PO BOX 160                                                                                                             BARRANQUITAS        PR         00794

   213816 HECTOR FELIX COTTO GONZALEZ REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213817 HECTOR FELIX VEGUILLA       REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   213818 HECTOR FERNANDEZ CORDERO                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664219 HECTOR FERNANDEZ RIVERA                      BO PALO HINCADO              HC 02 BOX 8475                                                                            BARRANQUITAS        PR         00793
   664220 HECTOR FERRER RUIZ                           PO BOX 7126                                                                                                            PONCE               PR         00732
   664221 HECTOR FIERRO SOTO                           PO BOX 3040                                                                                                            MANATI              PR         00674
          HECTOR FIGUEROA / EQUIP
   664222 NOVICIOS CIALES                              SECTOR LAS GUAVAS            41 CALLE LOS MILAGROS                                                                     CIALES              PR         00638
          HECTOR FIGUEROA
   664223 CARASQUILLO                                  TMS 73 P.O. BOX 1283                                                                                                   SAN JUAN            PR         00754
   664224 HECTOR FIGUEROA FEBUS                        HC 01 BOX 5243                                                                                                         BARRANQUITAS        PR         00794
   213820 HECTOR FIGUEROA LOPEZ                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   664225 HECTOR FIGUEROA MARTINEZ                     AMELIA CONTRACT ST           43 CALLE DIEGO VEGA STE 3154                                                              GUAYNABO            PR         00965

   213821 HECTOR FIGUEROA RODRIGUEZ                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   664227 HECTOR FIGUEROA ROSADO                       UNID. ALCOHOLISMO Y DESINT                                                                                             Hato Rey            PR         009360000
   213822 HECTOR FIGUEROA RUIZ                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   213823 HECTOR FIGUEROA VELAZQUEZ                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213824 HECTOR FLORES BELLINA                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664228 HECTOR FONSECA CRUZ                          75 URB CALIMANO                                                                                                        MAUNABO             PR         00707
   213825 HECTOR FONSECA RIVERA                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HECTOR FORTYS DBA H.F. FOOD
   213826 DISTRIBUTORS                                 PO BOX 510                                                                                                             OROCOVIS            PR         00720
   213830 HECTOR FRAGOSO TORRES                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HECTOR FRANCISCO MARENGO
   213831 DELGADO                                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664230 HECTOR FRANCO DELGADO                        URB VISTA AZUL               Y 19 CALLE 30                                                                             ARECIBO             PR         00612
   213832 HECTOR FRANCO DIAZ                           REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213833 HECTOR FRANCO TORRES                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213834 HECTOR FUENTES COSME                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213835 HECTOR FUENTES MOLINA                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664231 HECTOR FUENTES ROMEU                         PO BOX 40972                                                                                                           SAN JUAN            PR         00940‐0972
   664233 HECTOR FUSTER PEREZ                          URB LOS MAESTRO 210          CALLE LOIZA CORDERO                                                                       SAN JUAN            PR         00918
   213836 HECTOR G ARROYO VAZQUEZ                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  664234 HECTOR G CAVALLIERY PEREZ                    HC 01 BOX 19311                                                                                                     CABO ROJO         PR           00623

   213837 HECTOR G CENTENO RODRIGUEZ REDACTED                                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   664235 HECTOR G CINTRON ALVARADO                   HC 01 BOX 3708                                                                                                      VILLALBA          PR           00766‐9707
   213838 HECTOR G CORREA MORALES                     REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   664236 HECTOR G CRUZ GUZMAN                        P O BOX 8240                                                                                                        HUMACAO           PR           00792

   664237 HECTOR G DELGADO FIGUEROA                   BA VENEZUELA                      14 CALLE CAPARRA                                                                  SAN JUAN          PR           00926
   213839 HECTOR G DIAZ ROSARIO                       REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   664238 HECTOR G DOMINGUEZ ORSINI PO BOX 8188                                                                                                                           PONCE             PR           00732
          HECTOR G DOMINGUEZ ORSINI &
   213840 NEIZA ROMERO                REDACTED                                          REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   213841 HECTOR G FORTIS SANTIAGO    REDACTED                                          REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   213842 HECTOR G GONZALEZ LOPEZ     REDACTED                                          REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   213843 HECTOR G MARTINEZ SANTIAGO REDACTED                                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   664239 HECTOR G MEDINA FLORES                      URB VILLA DE LOIZA S‐1 CALLE 19                                                                                     CANOVANAS         PR           00729

   664240 HECTOR G MELENDEZ GARCIA                    P O BOX 387                                                                                                         PATILLAS          PR           00723

   213844 HECTOR G NEGRON SANTIAGO                    REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   213845 HECTOR G NIEVES ORTIZ                       REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   213846 HECTOR G NOGALES PEREZ                      REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   213848 HECTOR G RAMOS KUILAN                       REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   664241 HECTOR G RIOS                               P O BOX 4385                                                                                                        CAROLINA          PR           00984

   213827 HECTOR G RIVERA HERNANDEZ                   REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   664242 HECTOR G RIVERA ROSA                        D13 VILLA MADRID                                                                                                    COAMO             PR           00769‐2707
   213849 HECTOR G RODAS APONTE                       REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          HECTOR G RODRIGUEZ
   213850 GONZALEZ                                    REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   213851 HECTOR G ROSADO ROCHE                       REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   213852 HECTOR G SAAVEDRA BORGES                    REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   213853 HECTOR G SOTO RIVERA                        REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   213854 HECTOR G TORRES ESTRADA                     REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   664244 HECTOR G VELEZ ROLON                        COOP TORRES DE CAROLINA           B‐210                                                                             CAROLINA          PR           00979

   664245 HECTOR G. MARRERO BONILLA                   937 CALLE ZUMBADOR                URB. COUNTRY CLUB                                                                 SAN JUAN          PR           00924
   664247 HECTOR GABRIEL RODRIGUEZ                    P O BOX 460                       BO SANTANA                                                                        ARECIBO           PR           00612
          HECTOR GALARZA / IVONNE
   664248 GONZALEZ MORALES                            PO BOX 41269 MINILLAS STA                                                                                           SAN JUAN          PR           00940‐1269
   213855 HECTOR GALARZA ORTIZ                        REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   213856 HECTOR GARAY SIMONS                         REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   664250 HECTOR GARCIA                               PO BOX 10163                                                                                                        SAN JUAN          PR           00908
   213857 HECTOR GARCIA CLAUDIO                       REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   664252 HECTOR GARCIA GARCIA                        HC 6 BOX 10138                                                                                                      HATILLO           PR           00659
   664253 HECTOR GARCIA MENDEZ                        1437 CALLE DE DIEGO                                                                                                 SAN ANTONIO       PR           00690‐1113
   213859 HECTOR GARCIA QUINONES                      REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   664255 HECTOR GARCIA TORRES                        HC 645 BOX 4963                                                                                                     TRUJILLO ALTO     PR           00976



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  213860 HECTOR GARCIA VAZQUEZ                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  664257 HECTOR GERENA ROSADO                         SECTOR CALIFORNIA         1208 CALLE NEVADA                                                                     ISABELA              PR         00662
  664258 HECTOR GIRAU RODRIGUEZ                       COLINAS DE FAIRVIEW       1880 CALLE DIEGO MARGUEY                                                              SAN JUAN             PR         00926
  664259 HECTOR GOMEZ CANDELARIA                      129 URB SAN CRISTOBAL                                                                                           AGUADA               PR         00602
  664260 HECTOR GOMEZ SERRANO                         URB ALTAMESA              1420 CALLE SAN JACINTO                                                                SAN JUAN             PR         00926
                                                                                622 CALLE BARTOLOME LAS
   664262 HECTOR GONZALEZ                             BO OBRERO                 CASAS                                                                                 SAN JUAN             PR         00915

   664264 HECTOR GONZALEZ ALVARADO                    PO BOX 934                                                                                                      SALINAS              PR         00751
   664265 HECTOR GONZALEZ ARROYO                      HC 5 BOX 34590                                                                                                  HATILLO              PR         00659
   664266 HECTOR GONZALEZ BURGOS                      PO BOX 21365                                                                                                    SAN JUAN             PR         00928
   213861 HECTOR GONZALEZ CANCEL                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   664267 HECTOR GONZALEZ CARABALLO P O BOX 1365                                                                                                                      UTUADO               PR         00641

   664268 HECTOR GONZALEZ CARRILLO                    VILLA CAROLINA            78‐2 CALLE 84                                                                         CAROLINA             PR         00985
   664269 HECTOR GONZALEZ CLASS                       P O BOX 2748                                                                                                    VEGA BAJA            PR         00694

   664270 HECTOR GONZALEZ CORDERO                     PO BOX 1710                                                                                                     MOCA                 PR         00676
   664271 HECTOR GONZALEZ CRUZ                        22 CALLE JOAQUIN VEGA                                                                                           LAS PIEDRAS          PR         00771

   213862 HECTOR GONZALEZ FIGUEROA                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   213864 HECTOR GONZALEZ GOMEZ                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   213865 HECTOR GONZALEZ GONZALEZ                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   664275 HECTOR GONZALEZ MONSENAT                    URB SEVILLA               940 CALLE PAGANINI                                                                    SAN JUAN             PR         00924
   213867 HECTOR GONZALEZ REYES                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   664263 HECTOR GONZALEZ RIVERA                      P.O. BOX 4351                                                                                                   MANATI               PR         00674
   213868 HECTOR GONZALEZ RUIZ                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   213869 HECTOR GONZALEZ SANTIAGO                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   664276 HECTOR GONZALEZ SANTIGO                     URB LOMAS VERDES 4 Q 28   CALLE PASCUA                                                                          BAYAMON              PR         00956
   213870 HECTOR GONZALEZ VELEZ                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          HECTOR GONZALEZ Y LAURITH J
   213871 MEDINA                                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   664279 HECTOR GRACIAS MALAVE                       PO BOX 753                                                                                                      HORMIGUEROS          PR         00660
   664280 HECTOR GRAJALES RIOS                        CALLE MERCADO # 87                                                                                              AGUADILLA            PR         00603
   664281 HECTOR GRATACOS                             PO BOX 8622                                                                                                     PONCE                PR         00732
   213873 HECTOR GRAU ORTIZ                           REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          HECTOR GUADALUPE
   664283 BETANCOURT                                  RR 2 BOX 732                                                                                                    SAN JUAN             PR         00926
   664285 HECTOR GUILLOT RIVERA                       NUEVA VIDA                N 31 CALLE G                                                                          PONCE                PR         00731
   664286 HECTOR GUTIEREZ ALICEA                      URB. LEVITTOWN            CMIREYA H10                                                                           TOA BAJA             PR         00949
   213874 HECTOR GUTIERREZ COLON                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   664287 HECTOR GUZMAN FIGUEROA                      PO BOX 190085                                                                                                   SAN JUAN             PR         00919‐0085
   664291 HECTOR GUZMAN RIVERA                        RIO CANAS ARRIBA          30 CALLE 5                                                                            JUANA DIAZ           PR         00795
   213875 HECTOR H COLON DECLET                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   664292 HECTOR H DELGADO DIAZ                       PO BOX 190655                                                                                                   SAN JUAN             PR         00919
   213876 HECTOR H GALA ALVAREZ                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   213877 HECTOR H GERENA CANTRES                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   213878 HECTOR H JIMENEZ CASILLAS                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   213879 HECTOR H OTERO PADRO                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  664295 HECTOR H RAMOS MACHIN                        HC 645 BOX 4399                                                                                                     TRUJILLO ALTO      PR           00977

   213880 HECTOR H RIVERA QUIERBOLINI REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   664296 HECTOR H RODRIGUEZ CORTES PO BOX 50426                                                                                                                          TOA BAJA           PR           00950
          HECTOR H SANTIAGO SANTOS M
   664297 D                           P O BOX 68                                                                                                                          BAYAMON            PR           00960
          HECTOR H SANTOS,HP TACTICAL
   213881 DISTRIBUTORS                PARQUE DE TERRANOVA                         1 CALLE ORQUIDEA APT 69                                                                 GUAYNABO           PR           00969
   664298 HECTOR H SOTO GIRAUD        P O BOX 141                                                                                                                         PATILLAS           PR           00723
   213882 HECTOR H SOTO HERNANDEZ     REDACTED                                    REDACTED                      REDACTED                           REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
                                                                                  1422 CAL LS CPTL URB SANTIAGO
   664299 HECTOR H. DIAZ GONZALEZ                     SANTIAGO IGLESIAS           IGLES                                                                                   RIO PIEDRAS        PR           00921
          HECTOR H. SANTOS ROSARIO                    CALLE YELLOW STONE W # 35
   213883 DBA H.P. TACTIC                             PARK GARDEN                                                                                                         SAN JUAN           PR           00926‐0000
   664301 HECTOR HARDWARE                             PO BOX 9024275                                                                                                      SAN JUAN           PR           00902‐4275

   213884 HECTOR HERNANDEZ AROCHO                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   213885 HECTOR HERNANDEZ BONILLA                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   664304 HECTOR HERNANDEZ CASTELLAR COND ST TROPEZ                               6267 AVE ISLA VERDE APT 2B                                                              CAROLINA           PR           00979‐7138
   664306 HECTOR HERNANDEZ CASTRO    HC 1 BOX 6885                                                                                                                        MOCA               PR           00676
   664307 HECTOR HERNANDEZ DAVILA    HC 1 BOX 27298                                                                                                                       VEGA BAJA          PR           00693

   213887 HECTOR HERNANDEZ FIGUEROA REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   213888 HECTOR HERNANDEZ GARCIA   REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
  1419988 HECTOR HERNANDEZ GNZ.     ANGELA OQUENDO NEGRON                         PO BOX 142082                                                                           ARECIBO            PR           00614‐2082

   213891 HECTOR HERNANDEZ GONZALEZ REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   213892 HECTOR HERNANDEZ GUERRERO REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   664309 HECTOR HERNANDEZ LIQUET   URB MONTEREY                                  543 CALLE BORINQUEN                                                                     MAYAGUEZ           PR           00681
   664310 HECTOR HERNANDEZ LOPEZ    1684 CALLE CHIHUAHUA                                                                                                                  SAN JUAN           PR           00926

   664311 HECTOR HERNANDEZ MARRERO PO BOX 629                                                                                                                             TOA ALTA           PR           00954

   664312 HECTOR HERNANDEZ MARTINEZ PO BOX 1945                                                                                                                           LAS PIEDRAS        PR           00771‐1945
   213894 HECTOR HERNANDEZ MATOS    REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   664313 HECTOR HERNANDEZ MENDEZ                     HC 5 BOX 10626                                                                                                      MOCA               PR           00676

   213895 HECTOR HERNANDEZ MOLINA                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   664314 HECTOR HERNANDEZ MORALES                    PO BOX 365                                                                                                          CAMUY              PR           00627
   664315 HECTOR HERNANDEZ PELLOT                     22550 BO GUAVATE                                                                                                    CAYEY              PR           00736
   664316 HECTOR HERNANDEZ PONCE                      RES LAS MESETAS             EDIF 9 APT 275                                                                          ARECIBO            PR           00612
   213897 HECTOR HERNANDEZ RICOFF                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   664317 HECTOR HERNANDEZ RIVERA                     72 CALLE MERCURIO                                                                                                   PONCE              PR           00731

   664318 HECTOR HERNANDEZ SANTIAGO RR 2 BOX 9742                                                                                                                         TOA ALTA           PR           00953
   213898 HECTOR HERNANDEZ SOTO     REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED




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                                                      MARGINAL A‐2 JARDINES DE
   664319 HECTOR HERNANDEZ TRIDAS                     ARECIBO                                                                                                               ARECIBO             PR           00612

   664321 HECTOR HERNANDEZ VALENTIN                   18 URB ESTEVES                                                                                                        AGUADILLA           PR           00603
   213900 HECTOR HERNANDEZ VARGAS                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664322 HECTOR HERRERA RODRIGUEZ                    BO OBRERO                     788 CALLE ANTONIO DE ASIS                                                               SAN JUAN            PR           00915
   664323 HECTOR HORTA TORRES                         URB TERESITA                  AJ 12 CALLE 38                                                                          BAYAMON             PR           00961
   664324 HECTOR HOYO CABRAL                          611 CALLE PONS                                                                                                        SAN JUAN            PR           00909
   664325 HECTOR HUERTAS RIVERA                       RR 2 BOX 7925                                                                                                         CIDRA               PR           00739
   664326 HECTOR HUERTAS VAZQUEZ                      URB LEVITTOWN                 1641 PASEO DORADO                                                                       TOA BAJA            PR           00949
   213902 HECTOR I ABREU BERRIOS                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663821 HECTOR I ARROYO ARROYO                      HC 1 BOX 2359                                                                                                         MAUNABO             PR           00707
   664327 HECTOR I ASTACIO LANCARA                    RR 7 BOX 8090                                                                                                         SAN JUAN            PR           00926

   664328 HECTOR I BAREZ CLAVELL                      1447 CALLE ESTRELLA APT 1405 B                                                                                        SAN JUAN            PR           00907
   213905 HECTOR I BURGOS SUAREZ                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664329 HECTOR I CALO MANGUAL                       PO BOX 7829                                                                                                           CAROLINA            PR           00986
   213906 HECTOR I CINTRON COLON                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213907 HECTOR I COLON CRUZ                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      URB.INTERAMERICANA AJ‐2
   664331 HECTOR I CORTES RIVERA                      CALLE 12                                                                                                              TRUJILLO ALTO       PR           00976
   664332 HECTOR I COTTON LOPEZ                       URB RIVER VALLEY               PARK 141 CALLE JACABOA                                                                 CANOVANAS           PR           00729 9618

   213909 HECTOR I CRUZ CARRASQUILLO                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213910 HECTOR I CRUZ CRUZ                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664333 HECTOR I DELGADO BURGOS                     URB VIVES                     160 CALLE D                                                                             GUAYAMA             PR           00784‐5931
   213912 HECTOR I DIAZ COLON                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664334 HECTOR I GARCIA ORTIZ                       HC 77 BOX 7678                                                                                                        VEGA ALTA           PR           00692
   664335 HECTOR I GOMEZ ALDEA                        HC‐3 BOX‐41449                                                                                                        CAGUAS              PR           00725
   664336 HECTOR I GUZMAN ALVIRA                      URB ALTAMIRA D35              CALLE 10                                                                                FAJARDO             PR           00738
   213914 HECTOR I HERRERA LABOY                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213915 HECTOR I JIMENEZ TOUSSET                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213916 HECTOR I LOPEZ MARRERO                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664337 HECTOR I LOPEZ SANCHEZ                      BAIROA PARK                   2J 12 CALLE CELESTINO SOLA                                                              CAGUAS              PR           00725
   213917 HECTOR I LUNA ORTIZ                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664338 HECTOR I MACHUCA COSME                      3 CALLE RAMON COSME                                                                                                   GUAYNABO            PR           00971‐9617

   664339 HECTOR I MAESTRE GONZALEZ                   610 CONCEPCION VERA AYALA                                                                                             MOCA                PR           00676
   663822 HECTOR I MARTINEZ RUIZ                      PO BOX 1214                                                                                                           CIDRA               PR           00739
   213919 HECTOR I NEGRON MARRERO                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213920 HECTOR I NEGRON PACHECO                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR I OLIVENCIA
   664341 MALDONADO                                   PO BOX 70351                                                                                                          SAN JUAN            PR           00926‐8351
   664342 HECTOR I ORSINI ORTIZ                       403 AVE ASHFORD               1020 APT 6                                                                              SAN JUAN            PR           00709
   213921 HECTOR I ORTIZ NUNEZ                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213922 HECTOR I PAGAN                              REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664343 HECTOR I PEGUERO GUERRERO                   COUNTRY CLUB                  GS 47 CALLE 208                                                                         CAROLINA            PR           00785
   664344 HECTOR I PEREZ SOTO                         EXT VILLA LOS SANTOS 1        BUZON 87 CALLE ESTRELLA                                                                 ARECIBO             PR           00612
   213923 HECTOR I RIVERA ESQUILIN                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664346 HECTOR I RIVERA NEGRON                      HC 01 BOX 4089                                                                                                        VILLALBA            PR           00766
   213925 HECTOR I SANTANA VELEZ                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   664349 HECTOR I SANTIAGO RODRIGUEZ RES TIBES                                  D 34 CALLE 4                                                                          PONCE                PR           00731
   664350 HECTOR I SANTOS             URB TERRALINDA                             8 CALLE CORDON                                                                        CAGUAS               PR           00727‐2517
   213926 HECTOR I TORRES ANDINO      REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664351 HECTOR I VARELA ROSA        PO BOX 1241                                                                                                                      AGUADA               PR           00602
   213927 HECTOR I VARGAS REYES       REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   213928 HECTOR I VAZQUEZ FRANCO     REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664352 HECTOR I VELAZQUEZ RAMOS    P O BOX 1164                                                                                                                     HATILLO              PR           00659
   664353 HECTOR I. CARABALLO         PROG. SERA BAYAMON                                                                                                               Hato Rey             PR           009360000
   664354 HECTOR I. ORTIZ MENDEZ      P O BOX 21365                                                                                                                    SAN JUAN             PR           00928‐1365
   213929 HECTOR I. RIOS ROSARIO      REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                 EH 18 CALLE JOSE GAUTIER
   664357 HECTOR IGARTUA COLON                        URB LEVITTOWN              BENITEZ                                                                               TOA BAJA             PR           00949
   664358 HECTOR IGLESIAS RAMIREZ                     URB TINTILLO GARDENS       G 25 CALLE 8                                                                          GUAYNABO             PR           00966
   664359 HECTOR IRIZARRY                             URB ROUND HILL             743 AMAPOLA                                                                           TRUJILLO ALTO        PR           00976
   213930 HECTOR IRIZARRY IRIZARRY                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   213931 HECTOR IRIZARRY MORALES                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664361 HECTOR IRIZARRY ORTIZ                       HC 3 BOX 11357                                                                                                   JUANA DIAZ           PR           00795

   664362 HECTOR IRIZARRY RODRIGUEZ                   P O BOX 79184                                                                                                    SAN JUAN             PR           00902
   664363 HECTOR IVAN DIAZ SANCHEZ                    BO FOSA CENTRAL            CARR 419                                                                              SAN SEBASTIAN        PR           00685
          HECTOR IVAN PEREZ
   213932 DOMINGUEZ                                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664364 HECTOR IVAN RIVERA RIVERA                   O 35 CALLE 18                                                                                                    BAYAMON              PR           00957

   664365 HECTOR IVAN ROSARIO ORTEGA PO BOX 1196                                                                                                                       VEGA BAJA            PR           00739
   213934 HECTOR IVAN SANTOS PAGAN   REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   213935 HECTOR IVAN SANTOS SANTOS                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   213936 HECTOR IVAN VEGA SANTELL                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   213938 HECTOR J ACEVEDO CHARNECO                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   213939 HECTOR J ACOSTA SOTO                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   213941 HECTOR J ADORNO                             REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664366 HECTOR J ALICEA BERRIOS                     PO BOX 1426                                                                                                      MANATI               PR           00674

   664367 HECTOR J APONTE HERNANDEZ                   BO TABLONAL BOX 1071                                                                                             AGUADA               PR           00602
   213942 HECTOR J ARROYO RIVERA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664369 HECTOR J AVILES BADILL                      COND LAS ALMENDRAS PLAZA   EDIF 2 APT 811                                                                        SAN JUAN             PR           00924
   213943 HECTOR J AVILES BADILLO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HECTOR J BEAUCHAMP
   213944 GRILLASCA                                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664370 HECTOR J BELLO PEREZ                        COND PASEO MONTE FLORES    6 CARR 860 APT 512                                                                    CAROLINA             PR           00987
   213945 HECTOR J BENERO RAMOS                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664371 HECTOR J BERGOLLO ROBLES                    HC 1 BOX 5268                                                                                                    BARCELONETA          PR           00617‐9704
   213946 HECTOR J BERNABE CRUZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   664372 HECTOR J BETANCOURT ORTIZ                   SUNVILLE                   R 5 CALLE 16                                                                          TRUJILLO ALTO        PR           00976
   213947 HECTOR J BLAS ZAPATA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   213948 HECTOR J BONES RIVERA                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      COND CONDADO DEL MAR STE
   664374 HECTOR J BONILLAS TORRES                    S1                         1479 AVE ASHFORD                                                                      SAN JUAN             PR           00907‐1583
   664375 HECTOR J BURGOS OCASIO                      URB FAIR VIEW              N 11 CALLE 10                                                                         SAN JUAN             PR           00926



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   664376 HECTOR J CABEZUDO MARRERO COND STA JUANITA                               APTO 00725                                                                             CAGUAS              PR           00725
          HECTOR J CABRERA
   664377 BETANCOURT                PUERTO NUEVO                                   762 SE CALLE 41                                                                        SAN JUAN            PR           00921

   664378 HECTOR J CASES GALLARDO                     CONDOMINIO PROFESIONAL CTR SUITE 213                                                                                CAGUAS              PR           00625

   664379 HECTOR J CASES MAYORAL                      CONDOMINIO PROFESIONAL CTR OFICINA 213                                                                              CAGUAS              PR           00725

   213950 HECTOR J CHANG VILLANUEVA                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213951 HECTOR J CORA FIGUEROA                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   213952 HECTOR J CORREA DOMINGUEZ                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664380 HECTOR J CORRETJER GARCIA                   URB LAS VILLAS DE TORRIMAR   405 REINA ISABEL                                                                       GUAYNABO            PR           00969
   213953 HECTOR J CRESPO MORALES                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213954 HECTOR J CRUZ VELAZQUEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   213955 HECTOR J DAUHAJRE DAUHAJRE REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   213956 HECTOR J DEL VALLE RODRIGUEZ REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664381 HECTOR J DELGADO MONTALVO PMB 395 P O BOX 6022                                                                                                                  CAROLINA            PR           00784‐6022

   213957 HECTOR J DELGADO SANTIAGO                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213958 HECTOR J DELIZ QUINONES                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664382 HECTOR J DIAZ GARCIA                        BOX 251                                                                                                             UTUADO              PR           00641

   664384 HECTOR J FERNANDEZMORALES LEVITTOWN LAKES J 17                           CALLE MIRNA                                                                            TOA BAJA            PR           00949‐4551
   664385 HECTOR J FUENTES COLON    BRISAS DE AIBONITO                             26 CALLE TRINITARIA                                                                    AIBONITO            PR           00705
   213960 HECTOR J GARCIA DONATO    REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664386 HECTOR J GARCIA RODRIGUEZ                   BO COLLORES                  SECTOR GUARAGUAO CARR 517                                                              JUANA DIAZ          PR           00795
   664387 HECTOR J GARCIA VELEZ                       HC 03 BOX 8037                                                                                                      MOCA                PR           00676
   664388 HECTOR J GERENA IRIZARRY                    HC 03 BOX 9244                                                                                                      LARES               PR           00609

   213961 HECTOR J GERENA MALDONADO REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213962 HECTOR J GINEL COREANO    REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664389 HECTOR J GONZALEZ ALBARANI                  GOLDEN HILLS                 1190 CALLE SATURNO                                                                     DORADO              PR           00646
   664390 HECTOR J GONZALEZ PEREIRA                   PO BOX 364006                                                                                                       SAN JUAN            PR           00936‐4006
   664391 HECTOR J GONZALEZ REYES                     118 CALLE LANDRON                                                                                                   ARECIBO             PR           00612
   213963 HECTOR J GONZALEZ SOTO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664392 HECTOR J GUERRA GAVOFALO                    BAHIA VISTAMAR               1432 CALLE BARRACUDA                                                                   CAROLINA            PR           00983
   664393 HECTOR J GUZMAN CINTRON                     URB VISTA DE LUQUILLO        B 10 CALLE V 1                                                                         LUQUILLO            PR           00773‐2704
          HECTOR J HERNANDEZ
   213964 MARTINEZ                                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213965 HECTOR J HERNANDEZ PEREZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   213966 HECTOR J HERNANDEZ RAMOS                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664396 HECTOR J HUERTAS GAETAN                     395 C/ MENDEZ VIGO                                                                                                  DORADO              PR           00646
   213967 HECTOR J HUYKE SOUFFRONT                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  213968 HECTOR J IRIZARRY PEREZ                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  213969 HECTOR J IRIZARRY RONDA                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  664397 HECTOR J LANZO ROLDAN                        VENUS GARDENS                  AZ 10 CALLE TAMAULIPAS                                                                SAN JUAN            PR         00926
  664399 HECTOR J LEBRON DIAZ                         VILLA BORINQUEN                J‐II CALLE GUATIBIRI                                                                  CAGUAS              PR         00725
  213970 HECTOR J LOPEZ PELET                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  213971 HECTOR J LOPEZ ROLON                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   664400 HECTOR J MADERA GONZALEZ                    HERMANAS DAVILA                F 3 CALLE 5                                                                           BAYAMON             PR         00959
          HECTOR J MANAUTOU
   664401 HERNANDEZ                                   P O BOX 53                                                                                                           ARROYO              PR         00714
   213972 HECTOR J MARCANO RIVAS                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213973 HECTOR J MARTINEZ CAPELLA                   REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213974 HECTOR J MATOS JIMENEZ                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664402 HECTOR J MEDINA                             HC 71 BOX 2468                                                                                                       NARANJITO           PR         00719
   664404 HECTOR J MENA FRANCO                        P O BOX 19915                                                                                                        SAN JUAN            PR         00900‐1915

   664407 HECTOR J MERCADO MERCADO                    HC 01 BOX 7918                                                                                                       BARCELONETA         PR         00617

   664408 HECTOR J MONTALVO COLON                     232 AVE ELEONOR ROOSEVELT                                                                                            SAN JUAN            PR         00907
   213975 HECTOR J MONTANEZ RUIZ                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664410 HECTOR J MORALES ORTEGA                     114 GEORGETTI SUITE 2                                                                                                NARANJITO           PR         00719
   664411 HECTOR J MORALES SOLA                       PO BOX 1527                                                                                                          CAGUAS              PR         00726
   213976 HECTOR J MORALES VALLES                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213977 HECTOR J NALES NIEVES                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   213978 HECTOR J NAVARRO MARTINEZ                   REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664412 HECTOR J NAVARRO MATOS                      61 AVE DE DIEGO                SUITE 2A                                                                              SAN JUAN            PR         00911

   664413 HECTOR J NEVAREZ MARRERO     BOX 78                                                                                                                              TOA ALTA            PR         00954
   213979 HECTOR J NEVAREZ SANTANA     REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HECTOR J ORTIZ DBA CARIBBEAN                                               3071 AVE ALEJANDRINO PMB
   213980 CAPTAIN                      SERVICES                                      228                                                                                   GUAYNABO            PR         00969
   213981 HECTOR J ORTIZ PAGAN         REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213982 HECTOR J ORTIZ TORO          REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664416 HECTOR J OTERO GONZALEZ      BO TORRECILLAS                                59 CALLE SATURNO FEBUS                                                                MOROVIS             PR         00687
   664417 HECTOR J OTERO OTERO         P O BOX 1553                                                                                                                        VEGA BAJA           PR         00694
   663823 HECTOR J PANTOJA ACEVEDO     HC 1 BOX 4550                                                                                                                       COMERIO             PR         00782
   664418 HECTOR J PEREZ OLAN          URB LA QUINTA                                 J21 CALLE 4                                                                           YAUCO               PR         00698
   213983 HECTOR J PEREZ ORTIZ         REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213984 HECTOR J PEREZ RIVERA        REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664419 HECTOR J RAMIREZ             URB LAS DELICIAS                              3906 FRANCISCO G MARIN                                                                PONCE               PR         00728

   213985 HECTOR J RAMIREZ OLAVARRIA                  REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213986 HECTOR J RAMOS RAICES                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664420 HECTOR J REYES MARRERO                      PO BOX 9021112                                                                                                       SAN JUAN            PR         00902‐1112
   664422 HECTOR J RIVERA ALICEA                      SABANA DEL PALMAR              103 CALLE FLAMBOYAN                                                                   COMERIO             PR         00782‐4800

   664423 HECTOR J RIVERA HERNANDEZ                   URB LAS CASITAS DE LA FUENTE   527 CALLE CLAVEL                                                                      TOA ALTA            PR         00953‐3669
   213987 HECTOR J RIVERA MAISONET                    REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   664424 HECTOR J RIVERA MALDONADO                   URB MARINA BAHIA               RB 38 AVE BAHIA                                                                       CATANO              PR         00962
   213988 HECTOR J RIVERA PINTADO                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   213989 HECTOR J RIVERA RIOS                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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   213990 HECTOR J RIVERA RODRIGUEZ                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664426 HECTOR J ROBLES FIGUEROA                    URB LEVITTOWN             3559 PASEO CONDE                                                                       TOA BAJA            PR           00949‐0000
          HECTOR J RODRIGUEZ
   213991 ALVARADO                                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664427 HECTOR J RODRIGUEZ CORREA                   D 11 JARD DEL CARIBE                                                                                             CAYEY               PR           00736
   213992 HECTOR J RODRIGUEZ CRUZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   213993 HECTOR J RODRIGUEZ DE JESUS                 REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   213994 HECTOR J RODRIGUEZ MEDINA                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR J RODRIGUEZ
   213995 PENALVERT                                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   213996 HECTOR J RODRIGUEZ RIVERA                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213997 HECTOR J RODRIGUEZ VIANA                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR J RODRIGUEZ Y ALBA Y
   213998 ROSADO                                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   213999 HECTOR J ROMAN ARROYO                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664430 HECTOR J ROMAN ROSADO                       BO COTTO URB LOS ROBLES                                                                                          ISABELA             PR           00662
   214000 HECTOR J ROMERO VAZQUEZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664431 HECTOR J RUIZ GUZMAN                        URB VALLE ALTO            1121 CALLE CORDILLERA                                                                  PONCE               PR           00730
   664432 HECTOR J RUIZ IRIZARRY                      291 CALLE VICTORIA                                                                                               PONCE               PR           00731
   214001 HECTOR J RUIZ TORRES                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664433 HECTOR J SANCHEZ ALVAREZ                    URB LOIZA VALLEY          J 349 CALLE ASTROMELIA                                                                 CANOVANAS           PR           00729
          HECTOR J SANCHEZ
   214003 BETANCOURT                                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214004 HECTOR J SANCHEZ DIAZ                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   663824 HECTOR J SANCHEZ LOPATEGUI                  COND EL FERROL            119 AVE FD ROOSEVELT APT 703                                                           SAN JUAN            PR           00917‐2704
   214005 HECTOR J SANCHEZ MORENO                     REDACTED                  REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214006 HECTOR J SANCHEZ NEGRON                     REDACTED                  REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214007 HECTOR J SANCHEZ RIVERA                     REDACTED                  REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214009 HECTOR J SANTIAGO ALICEA                    REDACTED                  REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214010 HECTOR J SANTIAGO DELGADO                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214011 HECTOR J SANTOS                             REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214012 HECTOR J SIERRA GONZALEZ                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214013 HECTOR J SOTO CASTRO                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214014 HECTOR J SUERO BENEJAN                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214015 HECTOR J TIRADO BUJOSA                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664438 HECTOR J TORRES VEGA                        PO BOX 39                                                                                                        BARRANQUITAS        PR           00794
   214016 HECTOR J VEGA LUGO                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663825 HECTOR J VERA MARIN                         REPTO MONTELLANO          H 15 CALLE C                                                                           CAYEY               PR           00736
   664439 HECTOR J VIERA RODRIGUEZ                    PO BOX 160                                                                                                       AGUIRRE             PR           00704

   664440 HECTOR J VILLARRUBIA RAMIREZ 240 CALLE SAN NARCISO                                                                                                           AGUADA              PR           00602
   214021 HECTOR J. DE LEON OCASIO     REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214022 HECTOR J. GUERRA GAROFALO                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664441 HECTOR J. HERNANDEZ LOPEZ                   RR‐02 BOX 648                                                                                                    SAN JUAN            PR           00926



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   214025 HECTOR J. JIMENEZ GONZALEZ                  REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214026 HECTOR J. MEDINA CORTES                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664442 HECTOR J. PEDROSA                           PO BOX 191747              AVENIDA PONCE DE LEON 84                                                              SAN JUAN            PR           00919
   214027 HECTOR J. PEREZ CASANOVA                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664443 HECTOR J. RIVERA GARCIA                     URB COUNTRY CLUB           985 CALLE EIDER                                                                       SAN JUAN            PR           00924

   214029 HECTOR J. SANTANA GONZALEZ                  REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214030 HECTOR J. VEGA GUZMAN                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664446 HECTOR J. VEGA RIVERA                       URB BELLOMONTE             N5 CALLE 6                                                                            GUAYNABO            PR           00969

   214031 HECTOR J.GUZMAN FONTANEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664447 HECTOR JAIME PADRO ABREU                    URB VILLA CAPARRA          21 CALLE K                                                                            GUAYNABO            PR           00966

   214032 HECTOR JAVIER SANTOS PAGAN                  REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR JIMENEZ CRUZ Y
   214033 NELSON D SOTO                               REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664448 HECTOR JIMENEZ DEL VALLE                    BOX 17071                  HC04 BO LA TORRE                                                                      LARES               PR           00669
   664449 HECTOR JIMENEZ JUARBE                       P O BOX 9021067                                                                                                  SAN JUAN            PR           00902‐1067
   214035 HECTOR JIMENEZ RAMIREZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664450 HECTOR JIMENEZ RAMOS                        8111 CONCORDIA SUITE 203                                                                                         PONCE               PR           00717‐1544
   214036 HECTOR JIMENEZ REYES                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214037 HECTOR JIMENEZ RIVERA                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664451 HECTOR JIMENEZ ROMAN                        HC 03 BOX 10217                                                                                                  CAMUY               PR           00627‐9708
   214038 HECTOR JIMENEZ SANCHEZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214039 HECTOR JIMENEZ SOTO                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664452 HECTOR JOEL CORDERO ORTIZ                   PO BOX 1391                                                                                                      GUAYAMA             PR           00785

   214040 HECTOR JOEL QUINONES COLON REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR JOMAR PONCE
   664454 RIJOS/NORMA I RIJOS        BO PAJAROS SECT CAPITAN                     P 255 CALLE FONSECA                                                                   TOA BAJA            PR           00951

   663826 HECTOR JOSE BONILLA CALERO                  COND WASHINGTON            # 28 APT 2 A                                                                          SAN JUAN            PR           00907

   214041 HECTOR JOSE CORTES PRATTS                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214042 HECTOR JOSE DAVID CORREA                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214043 HECTOR JOSE DE LEON OCACIO                  REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214044 HECTOR JOSE NEGRON                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214045 HECTOR JOVE TOLLINCHI                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214046 HECTOR JR NUNEZ PADILLA                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664457 HECTOR JUARBE RIVERA                        URB VILLA SERENA           C6 CALLE BEGONIA                                                                      ARECIBO             PR           00612‐3343

   214047 HECTOR JULIO ROBLES GARCIA                  REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214048 HECTOR L ACEVEDO CORAZON    REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR L ACEVEDO PARA JUANA
   214049 REYES                       REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214050 HECTOR L ACOSTA QUINONES    REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214051 HECTOR L ADORNO ANDINO      REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664462 HECTOR L ADORNO CALO        VILLA PALMERAS                             261 CALLEJON ESPERANZA                                                                SAN JUAN            PR           00915
   663828 HECTOR L ADORNO SERRANO     URB VILLAS DE LOIZA                        0033 CALLE 36                                                                         CANOVANAS           PR           00729



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  664463 HECTOR L AGRONT ACEVEDO                      HC 58 BOX 12314                                                                                              AGUADA              PR         00602
  214053 HECTOR L ALAMO BALLESTER                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  214054 HECTOR L ALEJANDRO BAS                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  664465 HECTOR L ALEMAN FERRER                       HC 1BOX 8250                                                                                                 GURABO              PR         00778
  214055 HECTOR L ALICEA VAZQUEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  214056 HECTOR L ALVAREZ GANDELL                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   214057 HECTOR L ALVAREZ MARTINEZ                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214058 HECTOR L ALVAREZ RAMOS                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214059 HECTOR L AMARO LUNA                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   214060 HECTOR L APONTE MONTANEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214061 HECTOR L APONTE NIEVES                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   214062 HECTOR L AQUINO MALDONADO REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664470 HECTOR L AQUINO RIVERA    PO BOX 421                                                                                                                     GUAYNABO            PR         00970
   664458 HECTOR L ARCE VILLANUEVA  BO CENTRO                                    HC 01 BOX 7970                                                                    MOCA                PR         00676
   664472 HECTOR L AROCHO PADILLA   HC 2 BOX 22391                                                                                                                 SAN SEBASTIAN       PR         00685
          HECTOR L ARRIAGA TORRES
   214063 &BRENDA QUINONES          REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   664475 HECTOR L AVAREZ HERNANDEZ                   PO BOX 9104                                                                                                  SAN JUAN            PR         00908‐0104
   214064 HECTOR L AYALA                              REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214065 HECTOR L AYALA DEL RIO                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664476 HECTOR L BANCHS PASCUALLI                   P O BOX 194243                                                                                               SAN JUAN            PR         00919‐4243

   214066 HECTOR L BARRETO PIMENTEL                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   214067 HECTOR L BELTRAN RODRIGUEZ REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664477 HECTOR L BENITEZ DIAZ      52 CALLE MUNOX MARIN                                                                                                          HUMACAO             PR         00791‐3645

   214068 HECTOR L BERMUDEZ GONZALEZ REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664479 HECTOR L BONILLA OCASIO    VILLAS DE CASTRO                            N 4 CALLE 9                                                                       CAGUAS              PR         00725
   214071 HECTOR L BOSA HERNANDEZ    REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214072 HECTOR L BOYRIE MANGUAL    REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664480 HECTOR L BULERIN ARROYO    URB VILLA CAROLINA                          188‐20 CALLE 523                                                                  CAROLINA            PR         00985‐3004
   214073 HECTOR L BURGOS            REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   664481 HECTOR L BURGOS PEREZ                       SOLAR 885 COM CAMPO RICO                                                                                     CANOVANAS           PR         00729

   214074 HECTOR L BURGOS RODRIGUEZ                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   663829 HECTOR L CABRERA                            PO BOX 1264                                                                                                  GUAYNABO            PR         00970
   214075 HECTOR L CABRERA COLON                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   664482 HECTOR L CALIXTO CAMACHO                    HC 01 BOX 33535                                                                                              ARROYO              PR         00714
   214076 HECTOR L CALIXTO DE JESUS                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   214077 HECTOR L CAMACHO CARMONA REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214078 HECTOR L CAMACHO OCASIO  REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214079 HECTOR L CAMPOS ORTIZ    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   664483 HECTOR L CANDELARIA AYALA                   HC 2 BOX 5950                                                                                                RINCON              PR         00677
   664484 HECTOR L CAQUIAS ROSARIO                    PO BOX 1082                                                                                                  YAUCO               PR         00698



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   664485 HECTOR L CARABALLO SUAREZ                   URB DOS PINOS 811            CALLE DIANA                                                                             SAN JUAN              PR           00923‐2332
   664486 HECTOR L CARDONA CRUZ                       HC 02 BOX 8050                                                                                                       LAS MARIAS            PR           00670

   663830 HECTOR L CARDONA RODRIGUEZ HC 1 BOX 6164                                                                                                                         GUAYNABO              PR           00971
   664487 HECTOR L CARMONA RESTO     BO PE A POBRE                                 HC 1 BOX 4742                                                                           NAGUABO               PR           00718
   214080 HECTOR L CARRILLO ROSA     REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   664488 HECTOR L CARRILO RAMOS                      URB ALTURAS DE RIO GRANDE    JK206 CALLE 14                                                                          RIO GRANDE            PR           00745
          HECTOR L CARROMERO
   664489 RODRIGUEZ                                   PO BOX 612                                                                                                           HUMACAO               PR           00792

   214081 HECTOR L CARTAGENA RAMOS                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   664490 HECTOR L CASTILLO COLON                     HC 1 BOX 3800                                                                                                        VILLALBA              PR           00766
   664491 HECTOR L CASTILLO LEBRON                    PO BOX 1230                                                                                                          SAINT JUST            PR           00978
   214082 HECTOR L CASTRO                             REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   664492 HECTOR L CASTRO DE JESUS                    RR 11 BOX 3812                                                                                                       BAYAMON               PR           00956
   214083 HECTOR L CASTRO MATOS                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   214084 HECTOR L CASTRO RIVAS                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   664494 HECTOR L CERVONI FIGUEROA                   PO BOX 560027                                                                                                        GUAYANILLA            PR           00656‐0027

   214085 HECTOR L CHEVEREZ CHEVEREZ                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   664495 HECTOR L CHEVEREZ SALGADO                   HC 02                        BOX 8366                                                                                OROCOVIS              PR           00720 9408

   664497 HECTOR L CINTRON JEREMIAS                   232 AVE ELEONOR ROOSEVELT                                                                                            SAN JUAN              PR           00907
   214086 HECTOR L CINTRON MENDEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
                                                                                   200 AVE RAFAEL CORDERO STE
   664498 HECTOR L CLAUDIO                            PMB 285                      140                                                                                     CAGUAS                PR           00725‐3757
   664499 HECTOR L CLAUDIO ROSARIO                    PO BOX 295                                                                                                           LAS PIEDRAS           PR           00771
                                                      COND TORRES DEL PARQUE APT
   664500 HECTOR L COCA SOTO                          1003 N                                                                                                               BAYAMON               PR           00956
   214087 HECTOR L COLLAZO RIVERA                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   664501 HECTOR L COLON ALICEA                       BO PEZUELA                   HC D4 BOX 15340                                                                         LARES                 PR           00669
   664502 HECTOR L COLON BERMUDEZ                     HC 44 BOX 1266                                                                                                       CAYEY                 PR           00736
   664503 HECTOR L COLON GONZALEZ                     JARD DE LA FUENTE            280 CALLE LOPEZ DE VEGA                                                                 TOA ALTA              PR           00953
   664506 HECTOR L COLON PAGAN                        PO BOX 913                                                                                                           PATILLAS              PR           00723
   664508 HECTOR L COLON RIVERA                       COND LAGOS DEL NORTE         APT 708                                                                                 TOA BAJA              PR           00949

   664509 HECTOR L COLON RODRIGUEZ                    HC 01 BOX 7062                                                                                                       SALINAS               PR           00751‐9741
   664511 HECTOR L COLON SANTIAGO                     URB SANTO DOMINGO            A 8 CALLE 5                                                                             JUANA DIAZ            PR           00795
   214089 HECTOR L COLON TORRES                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   214090 HECTOR L CONCEPCION REYES                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   664513 HECTOR L COSME FERNANDEZ                    HC 01 BOX 4476                                                                                                       YABUCOA               PR           00767
   664514 HECTOR L COTTO ORTIZ                        URB MARIOLGA                 E19 CALLE SAN JOSE                                                                      CAGUAS                PR           00725

   664515 HECTOR L CRUZ COLON                         7 PARCELAS VIEJAS BO DAGUAO CARR 3 KM 67                                                                             NAGUABO               PR           00718
   664516 HECTOR L CRUZ COSME                         HC 1 BOX 10214                                                                                                       TOA BAJA              PR           00949
   664517 HECTOR L CRUZ COTTO                         PO BOX 2491                                                                                                          RIO GRANDE            PR           00745
   214092 HECTOR L CRUZ HERNADEZ                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED



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          HECTOR L CRUZ LUGO/
   214093 SYNERLUTION INC                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664518 HECTOR L CRUZ ROMAN                         HC 1 BOX 4244                                                                                                       HATILLO             PR           00659
   214094 HECTOR L CRUZ SOTO                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR L CUADRADO
   214095 MALDONADO                                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214096 HECTOR L CUADRO TORRES                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214097 HECTOR L DE JESUS SANCHEZ                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214098 HECTOR L DEL RIO OJEDA                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664520 HECTOR L DIAZ DIAZ                          RR 7 BOX 7243                                                                                                       SAN JUAN            PR           00926
   214100 HECTOR L DIAZ MARQUEZ                       REDACTED                     REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   85 BLVD DE LA MEDIA LUNA APT
   664521 HECTOR L DIAZ MELENDEZ                      PAISAJES DEL ESCORIAL        201                                                                                    CAROLINA            PR           00987‐4880
   214101 HECTOR L DIAZ ROSARIO                       REDACTED                     REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214103 HECTOR L DIAZ RUIZ                          REDACTED                     REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR L DOMIGUEZ
   664522 SINIGAGLIA                                  BOX 561220                                                                                                          GUAYANILLA          PR           00656
   214104 HECTOR L DOMINGUEZ DIAZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664523 HECTOR L DOMINGUEZ RUBIO                    PO BOX 560850                                                                                                       GUAYANILLA          PR           00656

   214105 HECTOR L E OLIVENCIA HUERTAS REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214106 HECTOR L ESTRADA SANTIAGO                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664525 HECTOR L FAMILIA RIOS                       URB SANTA MARIA              A 5 CALLE SANTA ELVIRA                                                                 TOA BAJA            PR           00949‐3961
   214107 HECTOR L FEBUS LEON                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214108 HECTOR L FELICIANO CRESPO                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664526 HECTOR L FELICIANO VALENTIN                 CALLE ANSELMO MARTINEZ       BUZON 354                                                                              HATILLO             PR           00659

   214109 HECTOR L FERNANDEZ RETAMAR REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664529 HECTOR L FIGUEROA MORALES                   702 CALLE FRANCISCO GARCIA                                                                                          DORADO              PR           00646
   664531 HECTOR L FIGUEROA PADUA                     HC 04 BOX 15637                                                                                                     LARES               PR           00669
          HECTOR L FONSECA / MARIBEL
   214110 VILLAFANE                                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214111 HECTOR L FRANCO CORIANO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214114 HECTOR L FUENTES RODRIGUEZ                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664532 HECTOR L FUENTES SERRANO                    HC 01 BOX 7818                                                                                                      AGUAS BUENAS        PR           00703‐9302
   664533 HECTOR L GABRIEL ZENO                       LOS LLANOS SANTANA           LL 47 CALLE GALLEGO                                                                    ARECIBO             PR           00612
   214115 HECTOR L GALARZA CASTILLO                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214116 HECTOR L GARCIA                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664535 HECTOR L GARCIA FELIX                       JARD DE PATILLAS             A 15 CALLE GLADIOLA                                                                    PATILLAS            PR           00723
   664459 HECTOR L GARCIA GARCIA                      G 29 EXT LOS PINOS                                                                                                  HUMACAO             PR           00791‐4009
   214117 HECTOR L GARCIA SANCHEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR L GARRASTEGUI
   214118 ZAMBRANA                                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214119 HECTOR L GOMEZ DE JESUS                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214120 HECTOR L GOMEZ MONTANEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214121 HECTOR L GOMEZ ORTIZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214122 HECTOR L GOMEZ SANTIAGO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  664539 HECTOR L GONZALEZ CASTRO                     PO BOX 683                                                                                               GURABO              PR           00778

   214124 HECTOR L GONZALEZ FELICIANO REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   664540 HECTOR L GONZALEZ MADERA    43 BDA MONSERRATE                                                                                                        SANTA ISABEL        PR           00757
   214126 HECTOR L GONZALEZ PAGAN     REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                      SAN LORENZO SHOPPING
   664541 HECTOR L GONZALEZ RODRIGUEZ CENTER                               SUITE 17 B                                                                          SAN LORENZO         PR           00754

   664542 HECTOR L GONZALEZ ROLDAN                    P O BOX 443                                                                                              SAN LORENZO         PR           00754
   214128 HECTOR L GONZALEZ RUIZ                      REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   664543 HECTOR L GONZALEZ SALGADO                   METROPOLIS           T 36 CALLE 26                                                                       CAROLINA            PR           00987

   214129 HECTOR L GONZALEZ SANTIAGO REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          HECTOR L GONZALEZ
   664544 SANTIAGO/HAYDE CARABAL     PO BOX 1365                                                                                                               UTUADO              PR           00641

   664546 HECTOR L GUADALUPE RIVERA                   HC 02 BOX 30626                                                                                          CAGUAS              PR           00727
   664547 HECTOR L GUEVAREZ ORTIZ                     PO BOX 82                                                                                                MOROVIS             PR           00687

   664548 HECTOR L GUZMAN RODRIGUEZ HC 1 BOX 6525                                                                                                              OROCOVIS            PR           00720
   214131 HECTOR L HADDOCK TORRES   REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   214132 HECTOR L HERNANDEZ        REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   664549 HECTOR L HERNANDEZ CASTILLO P O BOX 335402                                                                                                           PONCE               PR           00733‐5402
          HECTOR L HERNANDEZ
   214133 GONZALEZ                    REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          HECTOR L HERNANDEZ
   664550 MALDONADO                   PO BOX 40655                                                                                                             SAN JUAN            PR           00940‐0655
          HECTOR L HERNANDEZ
   664551 MELENDEZ                    73 CALLE WASHINGTON APT 101                                                                                              SAN JUAN            PR           00907‐2101

   664553 HECTOR L HERNANDEZ RIVERA                   GANDARAS 2           38 BUZON 19‐B                                                                       CIDRA               PR           00739

   664554 HECTOR L HERNANDEZ VAZQUEZ COM PITAHAYA                          SOLAR 341                                                                           ARROYO              PR           00615
   664555 HECTOR L HERNANDEZ VELEZ   JARDINES DE RIO GRANDE                BS 398 CALLE 68                                                                     RIO GRANDE          PR           00745
   664557 HECTOR L JIMENEZ PAGAN     HC 80 BOX 8959                                                                                                            DORADO              PR           00646
          HECTOR L LANDRAU
   664460 MALDONADO                  P O BOX 40471                                                                                                             SAN JUAN            PR           00940‐0471
          HECTOR L LANDRUA
   214134 MALDONADO                  REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664558 HECTOR L LARA ORTIZ        PO BOX 801                                                                                                                TOA BAJA            PR           00951
   664559 HECTOR L LEBRON PEREZ      HC 04 BOX 4253                                                                                                            HUMACAO             PR           00791
   214135 HECTOR L LOPEZ BATTISTINI  REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664560 HECTOR L LOPEZ DIAZ        HC 1 BOX 9982                                                                                                             RIO GRANDE          PR           00745
   214136 HECTOR L LOPEZ FLORES      REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   214137 HECTOR L LOPEZ MERCED      REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   214138 HECTOR L LOPEZ QUINONES    REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   214139 HECTOR L LOPEZ SANCHEZ     REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   214140 HECTOR L LOPEZ SOULETTE    REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   214141 HECTOR L LOPEZ VEGA        REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED




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   664562 HECTOR L LORENZANA SANDOZ                   558 BO DAGUAO                                                                                                        NAGUABO             PR           00718
   664563 HECTOR L LORENZO DE JESUS                   PO BOX 1735                                                                                                          RINCON              PR           00677
   214143 HECTOR L LOZADA                             REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664461 HECTOR L LOZADA DELGADO                     P O BOX 5684                                                                                                         CAGUAS              PR           00726
   664564 HECTOR L LUGO BELEN                         PO BOX 382                                                                                                           ENSENADA            PR           00647
   214144 HECTOR L LUGO GUZMAN                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214145 HECTOR L LUGO MEDINA                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214146 HECTOR L MADERA ACOSTA                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664565 HECTOR L MALDONADO ARROYO TOA ALTA HIEGHTS            AR 23 CALLE 35                                                                                             TOA ALTA            PR           00953
          HECTOR L MALDONADO
   214148 CANDELARIA                REDACTED                    REDACTED                                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR L MALDONADO
   214149 CARABALLO                 REDACTED                    REDACTED                                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR L MALDONADO
   664566 CINTRON                   PO BOX 551                                                                                                                             JUANA DIAZ          PR           00795
          HECTOR L MALDONADO
   664567 GONZALEZ                  MANSIONES DE MONTE CASINO I 314 CALLE GOLONDRINA                                                                                       TOA ALTA            PR           00953‐2273
   664568 HECTOR L MARIN LUGO       AVE LAS PALMAS              1005 PDA 15                                                                                                SAN JUAN            PR           00909
   664569 HECTOR L MARRERO COLON    HC 02 BOX 4595                                                                                                                         COAMO               PR           00769

   664570 HECTOR L MARRERO MERCADO                    PO BOX 527                                                                                                           AIBONITO            PR           00705
   214150 HECTOR L MARRERO RUIZ                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664572 HECTOR L MARRERO TOLEDO                     HC 02 BOX 5832                                                                                                       LARES               PR           00669

   214151 HECTOR L MARTINEZ BRACETTY                  REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214152 HECTOR L MARTINEZ CRUZ                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214153 HECTOR L MARTINEZ GONZALEZ REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664574 HECTOR L MARTINEZ JIMENEZ                   HC 01 BOX 5204                                                                                                       SALINAS             PR           00751

   664576 HECTOR L MARTINEZ SANTANA                   HC 02 BOX 17630                                                                                                      JUNCOS              PR           00777
                                                                                 366 CALLE VILLALBA REPTO SAN
   664577 HECTOR L MARTINEZ SOTO                      SAN JOSE                   JOSE                                                                                      SAN JUAN            PR           00923

   664578 HECTOR L MARTINEZ TOSADO                    OASIS GARDENS              B 16 CALLE HONDURAS                                                                       GUAYNABO            PR           00969
          HECTOR L MARTINEZ/CAYEY
   214154 REFRIGERATION                               REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664579 HECTOR L MATOS                              HC 2 BOX 14008                                                                                                       VIEQUES             PR           00765
   214155 HECTOR L MEDINA ROMERO                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214156 HECTOR L MEJIAS MIRANDA                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664581 HECTOR L MELENDEZ                           P O BOX 1311                                                                                                         VIEQUEZ             PR           00765
          HECTOR L MELENDEZ
   664583 MALDONADO                                   HC 01 BOX 2834                                                                                                       MOROVIS             PR           00687

   663831 HECTOR L MELENDEZ NEGRON                    PMB 1030 243 CALLE PARIS                                                                                             SAN JUAN            PR           00917
   664584 HECTOR L MELENDEZ ORTIZ                     PO BOX 90                                                                                                            COAMO               PR           00769
   214157 HECTOR L MELENDEZ PEREZ                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR L MELENDEZ
   214158 RODRIGUEZ                                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   664585 HECTOR L MELENDEZ SERRANO                   PO BOX 855                                                                                                   VIEQUES             PR           00765

   664586 HECTOR L MENDEZ FERNANDEZ                   339 CALLE GALILEO                                                                                            SAN JUAN            PR           00926

   664587 HECTOR L MENDEZ MARTINEZ                    HC 4 BOX 5098                                                                                                HUMACAO             PR           00791‐9518
   214159 HECTOR L MENDEZ MOLINA                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214160 HECTOR L MENDEZ RODRIGUEZ                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664588 HECTOR L MERCADO                            RR 4 BOX 833                                                                                                 BAYAMON             PR           00956

   664589 HECTOR L MERCADO ARRIAGA                    PO BOX 818                                                                                                   JUANA DIAZ          PR           00795
   214161 HECTOR L MERCADO RIVERA                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664590 HECTOR L MERCED MASSAS                      HC 1 BOX 74715                                                                                               LAS PIEDRAS         PR           00771
   664591 HECTOR L MILLAN DONES                       URB EL PLANTIO         H 66 CALLE ROSA IMPERIAL                                                              TOA BAJA            PR           00949
   214162 HECTOR L MILLAN ORTIZ                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214163 HECTOR L MILLAN ROSA                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664592 HECTOR L MIRANDA BARRETO                    URB SANTA JUANITA      DF 19 CALLE BABILONIA                                                                 BAYAMON             PR           00956
   214164 HECTOR L MISLA ALTRUZ                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664593 HECTOR L MOJICA NEGRON                      VILLA DEL CARMEN       754 CALLE SICILIA                                                                     PONCE               PR           00716
   664594 HECTOR L MOLINA SANTIAGO                    HC 01 B OX 4321                                                                                              UTUADO              PR           00641‐9606
   664595 HECTOR L MONTALVO LEON                      URB CONDADO MODERNO    G 29 CALLE 9                                                                          CAGUAS              PR           00725
   214165 HECTOR L MORALES AGOSTO                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664596 HECTOR L MORALES CASTRO                     COM CELADA             726 CALLE 39                                                                          GURABO              PR           00778
   214166 HECTOR L MORALES DIAZ                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR L MORALES
   214167 MALDONADO                                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214168 HECTOR L MORALES MUNOZ                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                             URB ESTANCIAS DE CERRO
   664598 HECTOR L MORALES ORTIZ                      CALLE 6 J27            GORDO                                                                                 BAYAMON             PR           00956
   214169 HECTOR L MORALES PIZARRO                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664599 HECTOR L MORENO LUNA                        PO BOX 1364                                                                                                  UTUADO              PR           00641
   214170 HECTOR L MUNIZ ROBLEDO                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214171 HECTOR L MUNIZ TORRES                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214172 HECTOR L MUNOZ AVILES                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664602 HECTOR L NEGRON ROMAN                       URB VILLA HUMACAO      B 13 CALLE 16                                                                         HUMACAO             PR           00741
   214173 HECTOR L NIEVES CARLO                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214174 HECTOR L NIEVES GARCIA                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR L NIEVES MATHEW
   664603 /D/B/AAS                                    URB CAMPO ALEGRE       G 5 CALLE LAUREL                                                                      BAYAMON             PR           00956
   214175 HECTOR L NIEVES QUINONES                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664604 HECTOR L NIEVES SILVA                       120 AVE CONDADO                                                                                              SAN JUAN            PR           00907
   214176 HECTOR L NIEVES SOTO                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214177 HECTOR L NORIEGA VELEZ                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214178 HECTOR L NUNEZ QUINTANA                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214180 HECTOR L OLAVARRIA TRUJILLO                 REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664606 HECTOR L ORENGO RODRIGUEZ                   HC 01 BOX 6328                                                                                               GUAYANILLA          PR           00656
   214181 HECTOR L ORTEGA DE LEON                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214182 HECTOR L ORTIZ FERRER                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214183 HECTOR L ORTIZ MELENDEZ                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  664608 HECTOR L ORTIZ NEGRON                        HC 01 BOX 3495                                                                                              SANTA ISABEL       PR         00757
  664609 HECTOR L ORTIZ RIVERA                        PO BOX 9021112                                                                                              SAN JUAN           PR         00902‐1112
  214186 HECTOR L ORTIZ VARGAS                        REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  214187 HECTOR L ORTIZ VAZQUEZ                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  664611 HECTOR L OSORIO DIAZ                         METROPOLIS               2A G 21 CALLE 33                                                                   CAROLINA           PR         00987
  214188 HECTOR L OTERO ADROVET                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  214189 HECTOR L OTERO NARVAEZ                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  214190 HECTOR L OTERO ROSARIO                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  664613 HECTOR L OYOLA ROSADO                        SAN FELIPE               H 12 NOTRE DAME                                                                    CAGUAS             PR         00726
         HECTOR L PAGAN / CLUB REAL
  664614 KINGS H R INC                                RES C DAVILA             P 1 EDIF 2 APT 5                                                                   SAN JUAN           PR         00917
  664615 HECTOR L PEREA MELENDEZ                      PO BOX 1276                                                                                                 CEIBA              PR         00735
  214191 HECTOR L PEREZ                               REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  214192 HECTOR L PEREZ CORTES                        REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  664616 HECTOR L PEREZ ELEUTIZA                      URB SANTA PAULA          A 18 CALLE 4                                                                       GUAYNABO           PR         00969
  664617 HECTOR L PEREZ ORTIZ                         HC 1 BOX 6429                                                                                               LAS PIEDRAS        PR         00771
  214193 HECTOR L PÉREZ RIVERA                        REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  214194 HECTOR L PEREZ SALAS                         REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  664618 HECTOR L PEREZ VELEZ                         HC 8 BOX 1511                                                                                               PONCE              PR         00731
  214195 HECTOR L QUILES LOUCIL                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  214198 HECTOR L QUINONES                            REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   214199 HECTOR L QUINONES ALVARADO REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   214200 HECTOR L QUINONES MARTINEZ REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   214201 HECTOR L QUINONES NEGRON                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          HECTOR L QUINONES
   214202 RODRIGUEZ                                   REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   214203 HECTOR L RAMOS AVILES                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   664620 HECTOR L RAMOS DEL VALLE                    URB ROLLING HILLS        P 325 CALLE KANSAS                                                                 CAROLINA           PR         00987
   664621 HECTOR L RAMOS INC                          PO BOX 849                                                                                                  BARRANQUITA        PR         00794
   214205 HECTOR L RAMOS MARTINEZ                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   214206 HECTOR L RAMOS MORALES                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   664623 HECTOR L RAMOS TORRES                       PO BOX 849                                                                                                  BARRANQUITAS       PR         00794
   214208 HECTOR L RENTAS RIVERA                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   664624 HECTOR L RESTO RIVERA                       BOX 1273                                                                                                    GUAYNABO           PR         00970
   214209 HECTOR L REYES                              REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   664625 HECTOR L REYES CARRASQUILLO                 PO BOX 2372                                                                                                 GUAYNABO           PR         00970
   664626 HECTOR L REYES GARCIA                       RES BAIROA               BG 18 CALLE 24                                                                     CAGUAS             PR         00725
   214211 HECTOR L REYES NIEVES                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   664628 HECTOR L REYES PORTABLE                     EDIF PORTALES ESCORIAL   301 CALLE32 BOULEVARD                                                              CAROLINA           PR         00987
   664629 HECTOR L REYES PORTALES                     COND PARQUE ESCORIAL     APT 301 CALLE 32                                                                   CAROLINA           PR         00987
   214212 HECTOR L RIOS DEL VALLE                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   214213 HECTOR L RIOS MIRANDA                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          HECTOR L RIOS Y NILDA M
   214214 HERNANDEZ                                   REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   214215 HECTOR L RIVAS CONCEPCION                   REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   214216 HECTOR L RIVAS FLORES                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   664631 HECTOR L RIVAS GARCIA                       PO BOX 2152                                                                                                 OROCOVIS           PR         00720
   664632 HECTOR L RIVERA APONTE                      PO BOX 595                                                                                                  CAGUAS             PR         00726‐0595



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  214217 HECTOR L RIVERA AYALA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  214218 HECTOR L RIVERA BERRIOS                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  664634 HECTOR L RIVERA CAMACHO                      COLINAS DE SAN FRANCISCO    K 129 CALLE PALOMAR                                                                     AIBONITO            PR         00705
         HECTOR L RIVERA DBA
  664635 SUPERMERCADO ECONO                           CARR 2 BARRIO CANTERA 6                                                                                             MANATI              PR         00674
  214219 HECTOR L RIVERA DIAZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  214220 HECTOR L RIVERA FIGUEROA                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  664636 HECTOR L RIVERA GUZMAN                       RESIDENCIA DEL PALMAR                             8178                                                              VEGA ALTA           PR         00692‐9771
  664638 HECTOR L RIVERA LUGO                         HC 1 BOX 7455                                                                                                       AGUAS BUENAS        PR         00703
  214223 HECTOR L RIVERA MARTIS                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  214224 HECTOR L RIVERA MELENDEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  664639 HECTOR L RIVERA MORENO                       HC 01 BOX 7108                                                                                                      AGUAS BUENAS        PR         00703
  664640 HECTOR L RIVERA OTERO                        URB COUNTRY CLUB            1120 ALEJO CRUZADO                                                                      SAN JUAN            PR         00924

   664641 HECTOR L RIVERA PEREZ                       5 CALLE GERONIMO MARTINEZ                                                                                           AIBONITO            PR         00705
   664642 HECTOR L RIVERA REYES                       COND ARANJUEZ               APTO 203                                                                                SAN JUAN            PR         00917
   664644 HECTOR L RIVERA RIVERA                      COTTO LAUREL                HC 06 BOX 4336                                                                          PONCE               PR         00780‐9505
   214226 HECTOR L RIVERA ROMAN                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HECTOR L RIVERA ROSARIO Y
   214227 ENELIA RUSSE                                REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214230 HECTOR L RIVERA SANTIAGO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214231 HECTOR L RIVERA TORRES                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664650 HECTOR L RIVERA VARGAS                      VALLE ALTO                  A 11 CALLE 6                                                                            PATILLAS            PR         00723

   664651 HECTOR L RIVERA VELAZQUEZ                   URB FAIR VIEW               F 21 CALLE 19                                                                           SAN JUAN            PR         00926
   664652 HECTOR L ROBLES                             A 7 REPARTO CURIEL                                                                                                  MANATI              PR         00674
   214232 HECTOR L RODRIGUEZ                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   664659 HECTOR L RODRIGUEZ DUMENG PO BOX 1185                                                                                                                           MOROVIS             PR         00687
          HECTOR L RODRIGUEZ
   664661 HERNANDEZ                 HC 01 BOX 5489                                                                                                                        CAMUY               PR         00627

   214234 HECTOR L RODRIGUEZ IRIZARRY                 REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   664662 HECTOR L RODRIGUEZ JAURIDES REPARTO METROPOLITANO                       SE 923 CALLE 1                                                                          SAN JUAN            PR         00901
   214235 HECTOR L RODRIGUEZ LABOY    REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   214236 HECTOR L RODRIGUEZ LAVEGNE REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   214237 HECTOR L RODRIGUEZ MARTINEZ REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   664666 HECTOR L RODRIGUEZ MENDEZ                   BO CAYUCO                   HC 03 BOX 4347                                                                          UTUADO              PR         00641

   664667 HECTOR L RODRIGUEZ RAMOS                    HC 03 BOX 20880                                                                                                     ARECIBO             PR         00612‐0000

   214240 HECTOR L RODRIGUEZ RIVERA                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214241 HECTOR L RODRIGUEZ SALAS                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HECTOR L RODRIGUEZZ
   214242 RODRIGUEZ                                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664668 HECTOR L ROHENA DIAZ                        HC 03 BOX 9259                                                                                                      GURABO              PR         00778
   214244 HECTOR L ROJAS DAVILA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664669 HECTOR L ROMAN CRUZ                         COND COLINA BAYAMON         APTO 1104 CARR 831                                                                      BAYAMON             PR         00956
   214245 HECTOR L ROMAN GONZALEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  214246 HECTOR L ROMERO BOLIVAR                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  664671 HECTOR L ROSA GOMEZ                          HC 4 BOX 4451                                                                                                    LAS PIEDRAS        PR         00771
  664672 HECTOR L ROSA ROSA                           HC 4 BOX 41704                                                                                                   HATILLO            PR         00659
  664673 HECTOR L ROSA VEGA                           HC 02 BOX 5376                                                                                                   RINCON             PR         00677
  214247 HECTOR L ROSADO GARCIA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  663832 HECTOR L ROSADO NATER                        URB TOA ALTA HEIGHTS        A Q 28 CALLE 33                                                                      TOA ALTA           PR         00953
  214248 HECTOR L ROSADO RIVERA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         HECTOR L ROSADO Y JUNTA
  214249 RETIRO MAESTRO                               REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  664676 HECTOR L ROSARIO LOPEZ                       URB VILLA CAROLINA          47 25 CALLE 40                                                                       CAROLINA           PR         00985
  214250 HECTOR L SALAMAN OTERO                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   214251 HECTOR L SANCHEZ HERNANDEZ REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   214252 HECTOR L SANCHEZ ROSA      REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   214253 HECTOR L SANCHEZ SANCHEZ   REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   214255 HECTOR L SANTIAGO GONEZ    REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   664678 HECTOR L SANTIAGO LABOY    ALTURA DE VILLALBA                           125 CALLE NELIDA GUZMAN                                                              VILLALBA           PR         00766

   214256 HECTOR L SANTIAGO MARRERO                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   664680 HECTOR L SANTIAGO RODRIGUEZ BOX 906                                                                                                                          MOROVIS            PR         00687
   664681 HECTOR L SANTOS             CENTRAL CANOVANAS                           624 CALLE 16                                                                         CANOVANAS          PR         00729
   214260 HECTOR L SANTOS SOTERO      REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          HECTOR L SEOANE / DBA/
   664683 REXACH ELECTRICAL           URB JARD DE CEIBA II                        I‐19 CALLE 9                                                                         CEIBA              PR         00735
   664684 HECTOR L SERRANO BRUNO      PO BOX 603                                                                                                                       AGUAS BUENAS       PR         00703
   214262 HECTOR L SIACA FLORES       REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   214263 HECTOR L SILVA SILVA        REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   214264 HECTOR L SOLA GONZALEZ      REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   664687 HECTOR L SOLIVAN CHAPARRO                   PO BOX 9300811                                                                                                   SAN JUAN           PR         00916
   214265 HECTOR L SOTO GONZALEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   664688 HECTOR L SOTO MADERA                        P M B 109                   1507 AVE PONCE DE LEON                                                               SAN JUAN           PR         00909
   214266 HECTOR L SOTO PEREIRA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   664689 HECTOR L SOTO RODRIGUEZ                     PO BOX 388                                                                                                       BARRANQUITAS       PR         00794
   664690 HECTOR L SOTO SANTOS                        HC 01 BOX 7818                                                                                                   CIDRA              PR         00739
   214267 HECTOR L SOTO VELEZAQUEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   664691 HECTOR L SUAREZ ORTIZ                       COND LAGOMAR APT 9A                                                                                              CAROLINA           PR         00979
   664692 HECTOR L TAPIA LOPEZ                        RES VILLA KENNEDY EDIF 11   APT 182                                                                              SAN JUAN           PR         00915
   664693 HECTOR L TIRADO GONZALEZ                    RR 2 BOX 7178                                                                                                    TOA ALTA           PR         00953

   664694 HECTOR L TORREGROSA RIVERA                  PO BOX 292                                                                                                       GUAYAMA            PR         00785‐0292
   214268 HECTOR L TORRES BERRIOS                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   664697 HECTOR L TORRES CARMONA                     HC 1 BOX 9408                                                                                                    TOA ABAJA          PR         00949
   664696 HECTOR L TORRES GONZALEZ                    HC 1 BOX 4796                                                                                                    BAJADERO           PR         00616
   664699 HECTOR L TORRES MARTINEZ                    LA HACIENDA                 AI A CALLE 42                                                                        GUAYAMA            PR         00784
   214270 HECTOR L TORRES MELENDEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   664700 HECTOR L TORRES ORTIZ                       P O BOX 1133                                                                                                     OROCOVIS           PR         00720
   214272 HECTOR L TORRES RIVERA                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   664702 HECTOR L TORRES SOTO                        31 CALLE 25 DE ENERO                                                                                             PONCE              PR         00731
          HECTOR L TORRES TORRES DBA
   214275 FINCA EL BUEN                               APARTADO 1015                                                                                                    BARRANQUITAS       PR         00794
   664703 HECTOR L TORRES VILA                        PO BOX 8966                                                                                                      SAN JUAN           PR         00910



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          HECTOR L TORRES Y MARIA J
   214276 VARGAS                                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214277 HECTOR L VALENTIN COLON                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664706 HECTOR L VALENTIN PEREZ                     PARCELA CASTILLO             W PEREZ C‐37                                                                      MAYAGUEZ            PR           00680

   214279 HECTOR L VALLEJO RODRIGUEZ                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664707 HECTOR L VARGAS                             MAIN STATION                 PO BOX 5297                                                                       AGUADILLA           PR           00605
   214280 HECTOR L VARGAS RIVERA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214281 HECTOR L VAZQUEZ BERRIOS                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663827 HECTOR L VAZQUEZ RIVERA                     URB LA PLATA                 9 CALLE 5                                                                         COMERIO             PR           00782
   214282 HECTOR L VAZQUEZ ROBLES                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214283 HECTOR L VAZQUEZ WALKER                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214287 HECTOR L VEGUILLA GALARZA                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664715 HECTOR L VELAZQUEZ NAZARIO                  HC 02 BOX 5153                                                                                                 GUAYANILLA          PR           00656

   214288 HECTOR L VELAZQUEZ SALINAS                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664716 HECTOR L VELEZ LOPEZ                        PARCELA SOLEDAD              1130 CALLE A                                                                      MAYAGUEZ            PR           00680
   214289 HECTOR L VICENTE VELEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR L VILLANUEVA
   214290 RODRIGUEZ                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214291 HECTOR L WALKER SUAREZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214292 HECTOR L YBE PENA                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214293 HECTOR L ZAPATA RODRIGUEZ                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664719 HECTOR L. ALMODOVAR                         URB RIO PIEDRAS HEIGHTS      1665 CALLE PARANA                                                                 SAN JUAN            PR           00926
   214294 HECTOR L. BERRIOS BERRIOS                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214295 HECTOR L. CINTRON ARCE                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214296 HECTOR L. CINTRON PRINCIPE                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664722 HECTOR L. COLON NEGRON                      CAPARRA TERRACE              1332 SO CALLE 4                                                                   SAN JUAN            PR           00921
   214297 HECTOR L. COLON RIOS                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214298 HECTOR L. COLON VEGA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664723 HECTOR L. CRUZ SALAMAN                      PO BOX 782                                                                                                     CAROLINA            PR           00986
                                                      PO BOX 10995 CAPARRA
   214301 HECTOR L. GARCIA INC.                       HEIGHTS STA.                                                                                                   SAN JUAN            PR           00922
   214302 HECTOR L. GINES GONZALEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214303 HECTOR L. GONZALEZ SANTIAGO REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664726 HECTOR L. MARQUEZ FIGUEROA 416 AVE PONCE DE LEON                                                                                                           SAN JUAN            PR           00918

   664728 HECTOR L. MARRERO                           G7 CALLE A URB SAN AUGUSTO                                                                                     GUAYANILLA          PR           00656
   214307 HECTOR L. MEDINA                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR L. MELENDEZ
   214308 VEGERANO                                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214309 HECTOR L. MENDEZ FERNANDEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214310 HECTOR L. MORALES VALENTIN                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214311 HECTOR L. MUðIZ RAMOS                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664729 HECTOR L. ORTIZ                             PO BOX 21365                                                                                                   SAN JUAN            PR           00928



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  214315 HECTOR L. ORTIZ VELAZQUEZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   214316 HECTOR L. PEREZ HERNANDEZ                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214317 HECTOR L. PEREZ MARTINEZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214318 HECTOR L. RAMOS INC.                        PO BOX 849                                                                                                     BARRANQUITAS        PR         00794‐0000
   214319 HECTOR L. RAMOS OLIVERAS                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214320 HECTOR L. RIVERA BAEZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214321 HECTOR L. RIVERA BERRIOS                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214323 HECTOR L. RIVERA LUCIANO                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214324 HECTOR L. RIVERA MARTIS                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      CALLE HOSTOS 45 APARTADO
   663806 HECTOR L. RODRIGUEZ FLORES                  604                                                                                                            GUAYAMA             PR         00665

   214326 HECTOR L. RODRIGUEZ IRIZARRY REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   214328 HECTOR L. ROMERO QUIðONES REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214331 HECTOR L. RONDON NIEVES       REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214332 HECTOR L. ROSARIO DE JESUS    REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214333 HECTOR L. ROUBERT RIVERA      REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664734 HECTOR L. SANTIAGO            P O BOX 1680                                                                                                                 JUANA DIAZ          PR         00795
   214334 HECTOR L. SEOANE REXACH       REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HECTOR L. SILVA DBA LUIS OMAR
   214335 RENTAL                        P. O. BOX 1011                                                                                                               LAJAS               PR         00667‐0000
   214336 Hector L. Talavera Santiago   REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   214337 HECTOR L. TORRES HERNANDEZ                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   214338 HECTOR L. TORRES MALDONADO REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214339 HECTOR L. TORRES PAGAN     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214340 HECTOR L. VAZQUEZ LOPEZ    REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214341 HECTOR L. VEGUILLA ZAYAS   REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664736 HECTOR L.KUILAN OQUENDO    PO BOX 2400 PMB‐258                                                                                                             TOA BAJA            PR         00951‐2400
   664737 HECTOR LABOY ARCE          LA OLIMPIA G 6                                                                                                                  ADJUNTA             PR         00601
   214342 HECTOR LABOY MUÐIZ         REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214343 HECTOR LABOY MUNIZ         REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664739 HECTOR LANDRAU             PO BOX 2812                                                                                                                     GUAYNABO            PR         00970
   664740 HECTOR LANDRON DIAZ        VILLA CAROLINA                              193‐8 CALLE 435                                                                     CAROLINA            PR         00985

   214344 HECTOR LANDRON RODRIGUEZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214345 HECTOR LASPINA GARCIA                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664743 HECTOR LAVERGNE ROURE                       1 AVE DEGETAU                                                                                                  CAGUAS              PR         00726
   664745 HECTOR LEBRON GUZMAN                        HC 867 BOX 15863                                                                                               FAJARDO             PR         00738
   214346 HECTOR LEBRON LEBRON                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214347 HECTOR LEON MEDINA                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214348 HECTOR LEON RIVERA                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214349 HECTOR LIND DAVILA                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   664747 HECTOR LO[PEZ MALDONADO                     URB REPARTO HORINZONTE     B 16 CALLE 4                                                                        YABUCOA             PR         00767
   214350 HECTOR LOCIEL PEREZ                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664748 HECTOR LOPEZ                                PO BOX 21365                                                                                                   SAN JUAN            PR         00928
          HECTOR LOPEZ ARROYO TALLER
   214351 LOPEZ                                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664751 HECTOR LOPEZ BORDOY                         URB BORINQUEN              CALLE B 72                                                                          AGUADILLA           PR         00603



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  664752 HECTOR LOPEZ DE VICTORIA                     EXT VILLA TABAIBA            284 AVE HUNGRIA                                                                         PONCE               PR         00716‐1331
  214352 HECTOR LOPEZ FERNANDEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  664755 HECTOR LOPEZ GONZALEZ                        PO BOX 371969                                                                                                        CAYEY               PR         00737‐1969
  214353 HECTOR LOPEZ RODRIGUEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  214354 HECTOR LOPEZ ROQUE                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  664759 HECTOR LOPEZ SANCHEZ                         HYDE PARK                    211 FLAMBOYANES                                                                         SAN JUAN            PR         00927
  214356 HECTOR LOPEZ VARONA                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  664761 HECTOR LORENZO CARRERO                       HC 58 BOX 12457                                                                                                      AGUADA              PR         00602
  664762 HECTOR LORENZO D / B /A                      1858 EDUARDO CONDE           VILLA PALMERAS                                                                          SANTURCE            PR         00915
  214358 HECTOR LORENZO GONZALEZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  664763 HECTOR LORENZO LORENZO                       P O BOX 1819                                                                                                         MOCA                PR         00676

   664765 HECTOR LORENZO ROCA                         232 AVE ELEONOR ROOSEVELT                                                                                            SAN JUAN            PR         00907
   214359 HECTOR LOUBRIEL VAZQUEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214360 HECTOR LOYOLA LUGO                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664767 HECTOR LOZADA BONANO                        VILLA MILAGROS               21 CALLE 6                                                                              YAUCO               PR         00698
   664768 HECTOR LOZADA RODRIGUEZ                     BOX 1441                                                                                                             JUANA DIAZ          PR         00795
   214361 HECTOR LUCRE RODRIGUEZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664770 HECTOR LUGERO FIGUEROA                      URB CONSTANCIA 2019          CALLE SAN FRANCISCO                                                                     PONCE               PR         00717‐2207
   664771 HECTOR LUGO ALARCON                         VILLA FONTANA                LL 27 VIA 23                                                                            CAROLINA            PR         00983
   664772 HECTOR LUGO BOUGAL                          PO BOX 205                                                                                                           PONCE               PR         00733
   214362 HECTOR LUGO CASTRO                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664773 HECTOR LUGO CORDERO                         PMB 1171                     PO BOX 4035                                                                             ARECIBO             PR         00614
   214363 HECTOR LUGO CRUZ                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214364 HECTOR LUGO TORRES                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HECTOR LUIS ADORNO
   214365 RODRIGUEZ                                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214366 HECTOR LUIS ALDEA LOZADA                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   214367 HECTOR LUIS ALEJANDRO SIERRA REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664775 HECTOR LUIS FLORES APONTE    P O BOX 6986                                                                                                                        CAGUAS              PR         00726‐6986
   214368 HECTOR LUIS GARCIA CRUZ      REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HECTOR LUIS GONZALEZ
   664776 FELICIANO                    HC 7 BOX 2402                                                                                                                       PONCE               PR         00731‐3647

   214369 HECTOR LUIS HERNANDEZ PEREZ REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   664777 HECTOR LUIS JIMENEZ NEGRON                  URB CONDADO                  66 CALLE MAGNOLIA                                                                       CAGUAS              PR         00725
   214370 HECTOR LUIS LOPEZ LOPEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664779 HECTOR LUIS MGARCIA DIAZ                    P O BOX 116                                                                                                          CIDRA               PR         00739
          HECTOR LUIS MONTANEZ
   214371 MOJICA                                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214373 HECTOR LUIS ORSINI CAPO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664780 HECTOR LUIS ORTIZ TORRES                    EDF DEL CARMEN               75 CALLE MORSE                                                                          ARROYO              PR         00714
   664781 HECTOR LUIS PAGAN TORRES                    CARR 127 KM 8 2 BOX 561358                                                                                           GUAYANILLA          PR         00656

   214374 HECTOR LUIS PEREZ RODRIGUEZ REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   664782 HECTOR LUIS RAMOS MERCED                    EMBALSE SAN JOSE             380 CALLE BURGOS                                                                        SAN JUAN            PR         00923

   214375 HECTOR LUIS RIVERA GABRIEL                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664783 HECTOR LUIS RIVERA ORTIZ                    URB COVADONGA                3B 14 CALLE PALACIO VALDES                                                              TOA BAJA            PR         00949




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   664784 HECTOR LUIS RIVERA ROSADO                   35 CALLE ANTONIO VAZQUEZ                                                                                       BARRANQUITAS        PR           00794
          HECTOR LUIS RODRIGUEZ
   214376 MARTINEZ                                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214377 HECTOR LUIS ROSADO COLON                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214378 HECTOR LUIS ROSARIO AVILES                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664785 HECTOR LUIS RUIZ RUIZ                       URB. VILLAS DEL REY                                                                                            CAGUAS              PR           00727

   214379 HECTOR LUIS VALENTIN CRESPO REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664786 HECTOR LUIS VEGA MARTINEZ                   PO BOX 2735                                                                                                    CAROLINA            PR           00984‐2735
   664787 HECTOR LUIS ZAYAS MATEO                     ALT DE TORRIMAR            13 3 AVE SANTA ANA                                                                  GUAYNABO            PR           00969
   664789 HECTOR LUNA MIRANDA                         URB. EL MONTE C‐51                                                                                             PONCE               PR           00731

   214381 HECTOR M ACEVEDO ACEVEDO                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214382 HECTOR M ACEVEDO NIEVES                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214383 HECTOR M ALICEA CRISPIN                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664793 HECTOR M ALONSO SERRA                       PACIFICA                   PG 122 VIA ARCO IRIS                                                                TRUJILLO ALTO       PR           00976
   664794 HECTOR M ALVAREZ DE LEON                    URB ADOQUINES              22 CALLE LUNA                                                                       SAN JUAN            PR           00926
   663836 HECTOR M ALVAREZ MOJICA                     HC 55 8230                                                                                                     CEIBA               PR           00735
   664795 HECTOR M ALVAREZ TORRES                     PO BOX 9391                COTTO STATION                                                                       ARECIBO             PR           00613
   214384 HECTOR M APONTE                             REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214385 HECTOR M APONTE HERNANEZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664798 HECTOR M ARAN RIVERA                        CIUDAD JARDIN              123 CALLE GRACIA                                                                    TOA ALTA            PR           00953
   664799 HECTOR M ARBELO GERENA                      HC 1 BOX 3495                                                                                                  CAMUY               PR           00627
   664800 HECTOR M AROCHO SOTO                        H C 2 BOX 17982                                                                                                SAN SEBASTIAN       PR           00685‐9618
   664801 HECTOR M AVILA                              PO BOX 10742                                                                                                   SAN JUAN            PR           00922
   664802 HECTOR M AVILA CABALLERO                    URB STA ELVIRA             L 10 CALLE STA INES                                                                 CAGUAS              PR           00725
   214386 HECTOR M AYALA                              REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   663837 HECTOR M AYALA MARTINEZ                     PO BOX 11753                                                                                                   SAN JUAN            PR           00922 1753
   214388 HECTOR M BAEZ NEGRON                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214389 HECTOR M BENCOSME LOPEZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214390 HECTOR M BERRIOS LOPEZ                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214391 HECTOR M BERRIOS MORALES                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214392 HECTOR M BERRIOS RODRIGUEZ REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664804 HECTOR M BONILLA VAZQUEZ                    URB DORADO DEL MAR         S 23 CALLE CORAL                                                                    DORADO              PR           00646
          HECTOR M BRAVO DBA CLINICA
   214393 DE AUDIOLOGIA                               P O BOX 140271                                                                                                 ARECIBO             PR           00614
   214394 HECTOR M BRAVO GONZALEZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214395 HECTOR M BRITO PEREZ                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664805 HECTOR M CABAN HERNANDEZ                    URB MOUNTAIN VIEW          A2 CALLE 1                                                                          CAROLINA            PR           00987
   214397 HECTOR M CABRERA COSME                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR M CALDERON
   214398 CARRASQUILLO                                REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664808 HECTOR M CALDERON FLORES                    BASF AGRICULTURAL DE PR    PO BOX 243                                                                          MANATI              PR           00674



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  664809 HECTOR M CALDERON LABOY                      P O BOX 283                                                                                                GURABO              PR           00778

   214399 HECTOR M CAMACHO GERENA                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   214400 HECTOR M CANDELARIO LOZADA REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          HECTOR M CARABALLO
   664811 BORRERO                    P O BOX 531                                                                                                                 ADJUNTAS            PR           00601

   664812 HECTOR M CARABALLO CAMPOS URB VILLA UNIVERSITARIA                    BE7 CALLE 29                                                                      HUMACAO             PR           00791

   664813 HECTOR M CARABALLO TORRES                   P O BOX 828                                                                                                YABUCOA             PR           00767‐0828

   664814 HECTOR M CARASQUILLO REYES BDA FLORES                                5 CALLE CANDELARIA                                                                JUNCOS              PR           00777

   214401 HECTOR M CARIDE QUINONES                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   664815 HECTOR M CARRERAS SANTIAGO HC 02 BOX 12771                                                                                                             AGUAS BUENAS        PR           00703
          HECTOR M
          CASALDUZ/HERMANOS
   664816 CASALDUC                   BO PUERTOS                                107 CALLE 3 PARCELAS                                                              DORADO              PR           00646

   214402 HECTOR M CASTILLO GUZMAN                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   214403 HECTOR M CASTRO RAMOS                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664817 HECTOR M CASTRO VELEZ                       HC 01 BOX 6332                                                                                             CANOVANAS           PR           00729
   664818 HECTOR M CINTRON MASSA                      URB LOS TAMARINDOS A 8   CALLE 11                                                                          SAN LORENZO         PR           00754

   664819 HECTOR M CINTRON SANTIAGO                   BO ESPERANZA             CALLE 90 BOX 7                                                                    VIEQUES             PR           00765
   664820 HECTOR M CLAUDIO NIEVES                     BARRIO OBRERO            729 CALLE 13                                                                      SAN JUAN            PR           00915
   664821 HECTOR M COLON                              PO BOX 21365                                                                                               SAN JUAN            PR           00928‐1365
   214405 HECTOR M COLON CINTRON                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   663838 HECTOR M COLON GONZALEZ                     HC 04 BOX 15356                                                                                            MOCA                PR           00676
   664824 HECTOR M COLON JORDAN                       RR 5 BOX 5974A                                                                                             BAYAMON             PR           00956
   214407 HECTOR M COLON PACHECO                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   214408 HECTOR M COLON RESTO                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664826 HECTOR M COLON RIVERA                       URB VILLA CAROLINA       419 BLOQUE 164 2                                                                  CAROLINA            PR           00985
   214409 HECTOR M COLON VAZQUEZ                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   214410 HECTOR M CONCEPCION NATAL REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   214411 HECTOR M CORDERO JIMENEZ                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   214412 HECTOR M CORTES CEDENO                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   214413 HECTOR M CORTES PORTALATIN                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664827 HECTOR M COTT DORTA                         COND EL BOSQUE           APT 1302                                                                          GUAYNABO            PR           00969
   664828 HECTOR M COTT ROSARIO                       P O BOX 9977             COTTO STATION                                                                     ARECIBO             PR           00616
   664829 HECTOR M COTTO ADORNO                       HC 61 BOX 4533                                                                                             TRUJILLO ALTO       PR           00976
   214415 HECTOR M CRESPO TORRES                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664830 HECTOR M CRUZ CRUZ                          BDA SAN JOSE             709 CALLE IGUALDAD                                                                ARECIBO             PR           00612
   214418 HECTOR M CRUZ HERNANDEZ                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664832 HECTOR M CRUZ RODRIGUEZ                     URB SABANA GARDENS       16‐6 CALLE 24                                                                     CAROLINA            PR           00983
   214419 HECTOR M CRUZ ROSARIO                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664833 HECTOR M CUEVAS QUILES                      FMS C‐508                PO BOX 4035                                                                       ARECIBO             PR           00614



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  214421 HECTOR M DAVID ESTEVA                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  664834 HECTOR M DAVILA                              EL COQUI                    4 CALLE VALENTINA ZEMIDEY                                                                 AGUIRRE             PR         00704
  214422 HECTOR M DE JESUS ROMAN                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  664835 HECTOR M DE JESUS TORRES                     P O BOX 1924                                                                                                          YABUCOA             PR         00767

   214423 HECTOR M DELGADO FONTANEZ REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664836 HECTOR M DIAZ             PO BOX 1156                                                                                                                             GUAYNABO            PR         00970
   664837 HECTOR M DIAZ FERDINAND   VILLA CAROLINA                                214 6 CALLE 506                                                                           CAROLINA            PR         00985

   664838 HECTOR M DIAZ MALDONADO                     PO BOX 1329                                                                                                           NAGUABO             PR         00718
   664839 HECTOR M DIAZ OCASIO                        URB JARD DE CEIBA           B1 CALLE 3                                                                                CEIBA               PR         00735
   214425 HECTOR M DIAZ ORTIZ                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214426 HECTOR M DIAZ PAGAN                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214427 HECTOR M DIAZ SANCHEZ                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664842 HECTOR M DIAZ VEGA                          BOX 786                                                                                                               CANOVANAS           PR         00729

   664844 HECTOR M FERNANDEZ DE LEON HC 3 BOX 4257                                                                                                                          GURABO              PR         00778‐9706
   214431 HECTOR M FIGUEROA          REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214432 HECTOR M FIGUEROA CRUZ     REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   664845 HECTOR M FIGUEROA FERRER                    EXT VILLA CAROLINA          BLOQ 135‐2 4TA EXT CALLE 401                                                              CAROLINA            PR         00982

   664846 HECTOR M FIGUEROA TORRES                    URB VILLA HUMACAO           L 98 CALLE 5                                                                              HUMACAO             PR         00791
   664847 HECTOR M FLORES DIAZ                        HC 02 BOX 12754                                                                                                       GURABO              PR         00778

   664848 HECTOR M FONTANEZ PABELLON PMB 466 P O BOX 70344                                                                                                                  SAN JUAN            PR         00936‐8344

   664849 HECTOR M FONTANEZ RIVERA                    URB INTERAMERICANA GARDEN AC 31 CALLE 15                                                                              TRUJILLO ALTO       PR         00976

   664850 HECTOR M FORTY REYES                        URB SANTA ISIDRA B‐10 CALLE 4                                                                                         FAJARDO             PR         00738
   214433 HECTOR M FUENTES NIEVES                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664851 HECTOR M FUENTES ROBERT                     E 2 EXT SAN JOSE                                                                                                      AIBONITO            PR         00705
   214434 HECTOR M FUENTES SASTRE                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214435 HECTOR M GALARZA MUNIZ                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   214436 HECTOR M GALVAN MARTINEZ                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   664852 HECTOR M GARCIA CALDERON                    BO NAVARRO RES 412          5 CALLE 12                                                                                GURABO              PR         00778

   664853 HECTOR M GOMEZ RODRIGUEZ                    EXT COQUI                   C 41 CALLE 6                                                                              AGUIRRE             PR         00708
   664854 HECTOR M GONZALEZ                           VILLA ASTURIAS              25 10 CALLE 34                                                                            CAROLINA            PR         00983

   214437 HECTOR M GONZALEZ DE LEON                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   214438 HECTOR M GONZALEZ FUENTES                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   664855 HECTOR M GONZALEZ GUANG                     HC 7 BOX 35723                                                                                                        CAGUAS              PR         00725

   664856 HECTOR M GONZALEZ MARTINEZ COM ESTELA                                   3410 CALLE 1                                                                              RINCON              PR         00677

   214439 HECTOR M GONZALEZ RIVERA                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HECTOR M GONZALEZ
   214440 RODRIGUEZ                                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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          HECTOR M GUTIERREZ Y
   214441 FREDESVINDA MATEO                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214442 HECTOR M HEREDIA MARCANO                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR M HERNANDEZ
   214443 SANTIAGO                                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214444 HECTOR M HERNANDEZ VELEZ                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664860 HECTOR M HIRALDO MATIAS                     URB RIVIERAS DE CUPEY   C 7 CALLE PETUNIA                                                                 SAN JUAN            PR           00926
   214446 HECTOR M LAFFITTE                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664863 HECTOR M LEBRON LOPEZ                       URB DELGADO             V 8 CALLE 2                                                                       CAGUAS              PR           00725
          HECTOR M LEBRON LOPEZ /
   214447 BATUTERAS CORP                              URB LAS MERCEDEZ        86 CALLE 13                                                                       SALINAS             PR           00751

   214448 HECTOR M LEBRON SANABRIA                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214449 HECTOR M LEON VEGA                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664865 HECTOR M LLAUGER REYES                      URB MONTERREY           C 1 CALLE 1                                                                       COROZAL             PR           00783
   664866 HECTOR M LOPEZ ALVAREZ                      PO BOX 1017                                                                                               BAJADERO            PR           00616
   664868 HECTOR M LOPEZ COLON                        PO BOX 822                                                                                                CIALES              PR           00638
   664869 HECTOR M LOPEZ CORTES                       PO BOX 890                                                                                                CIALES              PR           00638
   214452 HECTOR M LOPEZ GONZALEZ                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664870 HECTOR M LOPEZ RIVERA                       HC01 BOX 5906                                                                                             SALINAS             PR           00751

   214453 HECTOR M LOPEZ RODRIGUEZ                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664871 HECTOR M LOPEZ SERRANO                      P O BOX 148                                                                                               JAYUYA              PR           00664
   214456 HECTOR M LOPEZ SOTO                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214457 HECTOR M LUGO MARTINEZ                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664872 HECTOR M MAISONET CORREA                    P O BOX 4113                                                                                              CAROLINA            PR           00982‐4113

   214458 HECTOR M MAISONEVA PEREZ                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664874 HECTOR M MALAVE MORALES                     PO BOX 2810                                                                                               JUNCOS              PR           00777
          HECTOR M MALDONADO
   214459 NAZARIO                                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR M MALDONADO
   214460 VARGAS                                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664875 HECTOR M MALDONADO VELEZ                    HC 645 BOX 8199                                                                                           TRUJILLO ALTO       PR           00976
          HECTOR M MALDONADO
   214461 VERDEJO                                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214462 HECTOR M MARRERO                            REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214463 HECTOR M MARRERO SANCHEZ                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664877 HECTOR M MARTINEZ BERDECIA BO CREYON                                300 PARC NUEVAS                                                                   COAMO               PR           00769
   664878 HECTOR M MARTINEZ DAVILA   JARD DE COUNTRY CLUB                     Z 4 CALLE 6                                                                       CAROLINA            PR           00983
   214464 HECTOR M MARTINEZ DIAZ     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664879 HECTOR M MASSINI GONZALEZ                   HC 01 BOX 2647                                                                                            JAYUYA              PR           00664
   214465 HECTOR M MEDINA PEREZ                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214466 HECTOR M MEDINA QUINONES                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   214467 HECTOR M MELENDEZ CUEVAS                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HECTOR M MELENDEZ
   664880 MELENDEZ                                    PO BOX 1908                                                                                                          CAYEY                PR           00736

   664881 HECTOR M MELENDEZ RIVERA                    URB EL TORITO               F 65 CALLE 5                                                                             CAYEY                PR           00736
   664882 HECTOR M MELO CASTRO                        URB ALTURAS DE BAYAMON      Q Q 7 CALLE 30 A                                                                         BAYAMON              PR           00959

   214468 HECTOR M MENDEZ VAZQUEZ                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664887 HECTOR M MOJICA                             RES JUAN J GARCIA           EDIF 12 APT 80                                                                           CAGUAS               PR           00725
   214469 HECTOR M MOJICA COMAS                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                  CD19 CALLE HIGUERLS URB RIO
   664889 HECTOR M MONTA EZ REYES                     URB RIOHONDO III            HONDO 3                                                                                  BAYAMON              PR           00961

   214470 HECTOR M MONTANEZ LEBRON REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214471 HECTOR M MORALES AGUILA  REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                   LOIZA VALLEY T713 CALLE
   664890 HECTOR M MORALES COLON   CROTON                                                                                                                                  CANOVANAS            PR           00729

   214472 HECTOR M MORALES MORALES                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HECTOR M MORENO
   214474 CARTAGENA                                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214475 HECTOR M MUNIZ MARTINEZ                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214476 HECTOR M MUNOZ MEDINA                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214477 HECTOR M NATER PRIETO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664891 HECTOR M NEGRON                             BO RIO ABAJO                HGC 2 BOX 40920                                                                          VEGA BAJA            PR           00693

   214478 HECTOR M NOVOA GONZALEZ                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214479 HECTOR M OCASIO RESTO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664892 HECTOR M ORTEGA RIVERA                      P O BOX 21365                                                                                                        SAN JUAN             PR           00928‐1365
   214480 HECTOR M ORTIZ ANDINO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   664893 HECTOR M ORTIZ CARRASQUILLO HC 01 BOX 4748                                                                                                                       NAGUABO              PR           00718‐9724
   664894 HECTOR M ORTIZ CLAUDIO      BO VEGA BOX 24320                                                                                                                    CAYEY                PR           00736
   664895 HECTOR M ORTIZ CRUZ         HC 01 BOX 5176                                                                                                                       COMERIO              PR           00782
   214481 HECTOR M ORTIZ ESPADA       REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664896 HECTOR M ORTIZ LEBRON       URB SANTA JUANA 2                           M2 CALLE 13                                                                              CAGUAS               PR           00725

   214482 HECTOR M ORTIZ RODRIGUEZ                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   664898 HECTOR M ORTIZ SANFELIZ                     C/O DIV CONCILIACION (98‐156)                                                                                        SAN JUAN             PR           00902‐4140
   214483 HECTOR M OTERO AGRON                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214484 HECTOR M OTERO NEVAREZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   214485 HECTOR M PADILLA FIGUEROA                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664899 HECTOR M PAGAN RIOS                         P O BOX 504                                                                                                          AIBONITO             PR           00705

   214486 HECTOR M PARRILLA MERCADO                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214488 HECTOR M PEREIRA RAMIREZ                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214489 HECTOR M PEREZ ACOSTA                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   664902 HECTOR M PEREZ DELGADO                      VALLES DE MANATI            D 1 CALLE 3                                                                              MANATI               PR           00693
   664903 HECTOR M PEREZ NEGRON                       5788 CALLE GARAGE ORTIZ                                                                                              SABANA SECA          PR           00952‐0988
   664904 HECTOR M PEREZ ORTIZ                        URB SAN RAFAEL              D 18 CALLE 1                                                                             CAGUAS               PR           00725 4655



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  664905 HECTOR M PEREZ REYES                         URB SANTA MONICA             M6 CALLE 6 A                                                                          BAYAMON             PR         00957
  214490 HECTOR M PESQUERA                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  664907 HECTOR M PIZARRO PIZARRO                     HC 01 BOX 7607                                                                                                     LOIZA               PR         00772

   664908 HECTOR M POMALES ROLAN                      URB ALTURAS DE MONTELLANO EDIF 14 APT 71                                                                           CAYEY               PR         00736

   214491 HECTOR M QUINONEZ TORRES                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   214492 HECTOR M RAMOS ALMESTICA                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664910 HECTOR M RAMOS FIGUEROA                     BOX 3685                                                                                                           CIDRA               PR         00739

   214493 HECTOR M RAMOS GONZALEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   214495 HECTOR M RAMOS RODRIGUEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664911 HECTOR M RIOS FELICIANO                     CAMPO RICO                   PARC 909 CALLE 17 ESQ 21                                                              CANOVANAS           PR         00729
   214498 HECTOR M RIOS MOLINA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664913 HECTOR M RIVERA                             EXT ZENO GANDIA              65 CALLE ASTURIA                                                                      ARECIBO             PR         00612
   664916 HECTOR M RIVERA CRUZ                        HC 1 BOX 3375                                                                                                      FLORIDA             PR         00650
   664917 HECTOR M RIVERA FLORES                      P O BOX 366454                                                                                                     SAN JUAN            PR         00936‐6454
   214499 HECTOR M RIVERA GUZMAN                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664920 HECTOR M RIVERA NEVAREZ                     URB SANTA JUANITA            EN 33 CALLE ENCINA                                                                    BAYAMON             PR         00956
   214500 HECTOR M RIVERA NUNEZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664922 HECTOR M RIVERA RAMOS                       URBV UNIVERSITARIA           A2 CALLE AGUIRRE                                                                      GUAYAMA             PR         00785
   214501 HECTOR M RIVERA RIVERA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   664923 HECTOR M RIVERA RODRIGUEZ                   PARC NUEVAS BO HATO ARRIBA   C7 P O BOX 43                                                                         ARECIBO             PR         00612
   664925 HECTOR M RIVERA SERRANO                     URB MANSIONES RIO PIEDRAS    470 CALLE LIRIO                                                                       SAN JUAN            PR         00926
   214503 HECTOR M RIVERA TORRES                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214504 HECTOR M RIVERA YUSIF                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214505 HECTOR M ROBLES TIRADO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664926 HECTOR M RODRIGUEZ                          URB VALENCIA                 400 CALLE SENTINA                                                                     SAN JUAN            PR         00923

   214506 HECTOR M RODRIGUEZ AVILES                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   664928 HECTOR M RODRIGUEZ BURGOS PO BOX 1805                                                                                                                          MOROVIS             PR         00687

   664929 HECTOR M RODRIGUEZ CORTES                   HC 03 BOX 13341                                                                                                    AGUADILLA           PR         00603
          HECTOR M RODRIGUEZ
   663840 GONZALEZ                                    PO BOX 1907                                                                                                        COAMO               PR         00769

   664930 HECTOR M RODRIGUEZ LLADO                    P O BOX 370                  SAINT JUST STA                                                                        SAN JUAN            PR         00978

   664931 HECTOR M RODRIGUEZ LOSADA HC 73 BOX 4595                                                                                                                       NARANJITO           PR         00719
          HECTOR M RODRIGUEZ
   664932 MALDONADO                 EXT CAMPO ALEGRE                               G 13 CALLE GARENIO                                                                    BAYAMON             PR         00956

   663839 HECTOR M RODRIGUEZ SANCHEZ JARDINES DE RIO GRANDE                        BO 5469 CALLE 72                                                                      RIO GRANDE          PR         00755
   214508 HECTOR M ROJAS BUSCAGLIA   REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664933 HECTOR M ROLON MIRANDA     P O BOX 1782                                                                                                                        AIBONITO            PR         00705‐1782

   664934 HECTOR M ROMAN MACHADO                      URB LOS ROBLES BO COTTO                                                                                            ISABELA             PR         00662
   214510 HECTOR M ROSADO APONTE                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   664935 HECTOR M ROSARIO OSORIO                     PO BOX 129                                                                                                         LOIZA               PR         00772



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  664936 HECTOR M ROSARIO REYES                       PO BOX 129                                                                                                  LOIZA               PR           00772
         HECTOR M ROSARIO
  664937 REYES/HECTOR A ROSARIO                       PARC SUAREZ             128 A CALLE 7                                                                       LOIZA               PR           00772
  214511 HECTOR M ROURA ARROYO                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
         HECTOR M ROVIRA Y NORA H
  214512 NIEVES                                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  214513 HECTOR M RUIZ HERNANDEZ                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  664938 HECTOR M RUSSE BERRIOS                       BMS 537                 PO BOX 607061                                                                       BAYAMON             PR           00960‐7061
  664939 HECTOR M SALGADO LEBRON                      URB LAGO ALTO           B28 CALLE LAS CURIAS                                                                TRUJILLO ALTO       PR           00976

   664940 HECTOR M SANABRIA & ASSOC ALT DE FLAMBOYAN                          JJ10 CALLE 31                                                                       BAYAMON             PR           00959
   214515 HECTOR M SANCHEZ            REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          HECTOR M SANCHEZ BENET/ A M
   214516 ELECTRIC INC                PO BOX 393                                                                                                                  MAYAGUEZ            PR           00681‐0393
   214517 HECTOR M SANCHEZ CRUZ       REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   214518 HECTOR M SANCHEZ RIVERA     REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   664942 HECTOR M SANTANA VAZQUEZ                    BDA VISTA ALEGRE        77 CALLE 4                                                                          SAN JUAN            PR           00926‐3003
   664943 HECTOR M SANTIAGO                           HC 02 5627                                                                                                  COMERIO             PR           00782

   214519 HECTOR M SANTIAGO SANTIAGO REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   664944 HECTOR M SANTIAGO SERRANO                   HC 02 BOX 6694                                                                                              FLORIDA             PR           00650‐9107
   664945 HECTOR M SANTINI OLIVIERI                   PO BOX 7184                                                                                                 PONCE               PR           00732
   664946 HECTOR M SANTONI PEREZ                      152 CALLE MARINA                                                                                            AGUADA              PR           00602
   214520 HECTOR M SEGARRA GOMEZ                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   214521 HECTOR M SERRANO SALGADO                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664947 HECTOR M SOTO RUIZ                          URB AGUSTIN STHAL       81 CARR 174                                                                         BAYAMON             PR           00956‐3054
   664949 HECTOR M TEJEDA SANCHEZ                     P O BOX 8778                                                                                                HUMACAO             PR           0079200792

   214523 HECTOR M TORRADO TORRADO                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664950 HECTOR M TORRES                             63 CALLE BUENOS AIRES                                                                                       COAMO               PR           00769
   214525 HECTOR M TORRES BURGOS                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664951 HECTOR M TORRES CRUZ                        P O BOX 1690                                                                                                JUANA DIAZ          PR           00795
   214526 HECTOR M TORRES DIAZ                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664952 HECTOR M TORRES DUPEROY                     HC 2 BOX 8623                                                                                               BAJADERO            PR           00616

   214527 HECTOR M TORRES GONZALEZ                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   214529 HECTOR M TORRES PAGAN                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664953 HECTOR M TORRES ROSA                        RR 1 BOX 3672                                                                                               CIDRA               PR           00739

   664954 HECTOR M TORRES SANTIAGO                    PO BOX 5368             CUC STATION                                                                         CAYEY               PR           00737‐5368
   214530 HECTOR M TUESTA                             REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   214531 HECTOR M VALES ADORNO                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   214532 HECTOR M VALLE RIOS                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664956 HECTOR M VALLES FLORES                      PUERTO REAL             41 CALLE 12                                                                         CABO ROJO           PR           00623
   771079 HECTOR M VARGAS NIEVES                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664960 HECTOR M VARGAS SILVA                       HC 04 BOX 17550                                                                                             CAMUY               PR           00627
   214533 HECTOR M VAZQUEZ CRUZ                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   664961 HECTOR M VAZQUEZ DIAZ                       PO BOX 2603                                                                                                 GUAYNABO            PR           00970‐2603

   214534 HECTOR M VAZQUEZ ESCALERA                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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   214535 HECTOR M VAZQUEZ MELENDEZ REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                      33 CALLE DR SANTOS P
   664962 HECTOR M VEGA MORERA        AMADEOS                                                                                                                        SALINAS             PR           00751 3205
   214536 HECTOR M VEGA SANCHEZ       REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664964 HECTOR M VEGA ZAYAS         HC 1 BOX 5561                                                                                                                  CIALES              PR           00638
          HECTOR M VELAZQUEZ
   664965 RODRIGUEZ                   HC 02 BOX 31095                                                                                                                CAGUAS              PR           00727‐9407
          HECTOR M VILLANUEVA Y
   214540 GISELLE T KREBS             REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664967 HECTOR M ZAMOT AYALA        265 AVE ESTEVES                                                                                                                UTUADO              PR           00641
   664968 HECTOR M ZAYAS OQUENDO      HC 20 BOX 26360                                                                                                                SAN LORENZO         PR           00754‐9620
          HECTOR M. ALMODOVAR
   214541 CAMACHO                     REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664973 HECTOR M. ALVARADO TIZOL    P O BOX 661                                                                                                                    CAROLINA            PR           00986‐0661
          HECTOR M. BRAVO DBA CLINICA
   214543 AUDIOLOGIA                  PO BOX 140271                                                                                                                  ARECIBO             PR           00614

   214544 HECTOR M. CABAN HERNANDEZ                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214545 Hector M. Castro González                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664975 HECTOR M. FIQUEROA                          PO BOX 650                                                                                                     SAN LORENZO         PR           00754
   214549 HECTOR M. GUZMAN RUIZ                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214550 HECTOR M. HERNANDEZ COTTO REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214551 HECTOR M. LOPEZ DE VICTORIA                 REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   664977 HECTOR M. MARRERO                           COLEGIO UNIVERSITARIO   48 RES LUIS MUNOZ MORALES                                                              CAYEY               PR           9361737
   664978 HECTOR M. MAYOL                             PO BOX 362350                                                                                                  SAN JUAN            PR           00936
   214552 HECTOR M. MORENO DAVID                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214553 HECTOR M. NIEVES ORTEGA                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214554 HECTOR M. PEREZ CORDERO                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214555 HECTOR M. RIVERA MONTALBAN REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR M. RODRIGUEZ        RESD.LUIS M MORALES EDIF 24
   664981 CINTRON                    APT 245                                                                                                                         CAYEY               PR           00736
   664982 HECTOR M. ROJAS SOTO       PO BOX 265                               DIST. ESC. BAYAMON 2                                                                   BAYAMON             PR           00959
   663807 HECTOR M. SAN MIGUEL       1‐A CALLE CAMPIO ALONSO                                                                                                         CAGUAS              PR           00725
   664985 HECTOR M. VARELA INC.      PO BOX 363982                                                                                                                   SAN JUAN            PR           00936
   664987 HECTOR M. VEGA MORERA      #33 CALLE UNION                                                                                                                 SALINAS             PR           00751
   214557 HECTOR MACHICOTE CRUZ      REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664988 HECTOR MACIAS LLORENTE     HC 02 BOX 11312                                                                                                                 HUMACAO             PR           00791‐9609
   214558 Hector Madera Velázquez    REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664990 HECTOR MALAVE CUEBAS       MOUNTAIN VIEW                            CALLE 1 CASA D 2                                                                       CAROLINA            PR           00984
   214559 HECTOR MALAVE ORTIZ        REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   664991 HECTOR MALDONADO           URB VISTAMAR                             107 CALLE ANDALUCIA                                                                    CAROLINA            PR           00983

   664992 HECTOR MALDONADO ALVAREZ HC 1 BOX 2968                                                                                                                     FLORIDA             PR           00650‐9616

   214560 HECTOR MALDONADO CALDERO REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR MALDONADO
   214561 CAMACHO                  REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   664994 HECTOR MALDONADO DE JESUS RR 2 BOX 234                                                                                                                       SAN JUAN            PR           00926

   664995 HECTOR MALDONADO IRIZARRY SAN ALBERTO GARDENS                          E2 APT 24                                                                             UTUADO              PR           00641

   664996 HECTOR MALDONADO O'NEILL                    12309 NW 12TH AVE                                                                                                NORTH MIAMA         FL           33168‐6411

   664997 HECTOR MALDONADO RAMOS                      BDA NUEVA                  11 CALLE MALAVE                                                                       CAYEY               PR           00736

   664998 HECTOR MALDONADO SANCHEZ 1 CALLE MCKINLEY                                                                                                                    MANATI              PR           00674
          HECTOR MANUEL BELLIARD
   663841 ROSARIO                  PO BOX 2817                                                                                                                         CAROLINA            PR           00984

   664999 HECTOR MANUEL COLON LOPEZ                   HC 2 BOX 4260                                                                                                    LAS PIEDRAS         PR           00771
          HECTOR MANUEL GOMEZ
   214565 SANTIAGO                                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR MANUEL GONZALEZ
   214566 ACEVEDO                                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR MANUEL MARTINEZ
   214567 RODRIGUEZ                                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR MANUEL MELENDEZ
   214568 ROMAN                                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   665000 HECTOR MANUEL VARGAS ORTIZ PO BOX 282                                                                                                                        NAGUABO             PR           00718
   665001 HECTOR MARCANO ESPADA      151 CALLE COMERIO                                                                                                                 BAYAMON             PR           00959

   214571 HECTOR MARCANO MARTINEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214572 HECTOR MARIANI VAZQUEZ JD                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                 214 CALLE CARMEN SOLA DE
   665002 HECTOR MARINI SAEZ                          URB ESTANCIAS DEL GOLF     PEREIRA                                                                               PONCE               PR           00730
   665003 HECTOR MARQUEZ ROSARIO                      HP ‐ Forense RIO PIEDRAS                                                                                         Hato Rey            PR           009360000
   214574 HECTOR MARQUEZ SANCHEZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665004 HECTOR MARRERO BURGOS                       QUINTAS DE MOROVIS         46 PASEO FELICIDAD                                                                    MOROVIS             PR           00687

   665005 HECTOR MARRERO CAMACHO                      URB STA ROSA               27‐20 CALLE 14                                                                        BAYAMON             PR           00960
   214575 HECTOR MARTI RODRIGUEZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR MARTIN SCAMARONI
   214576 FERNANDEZ                                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665007 HECTOR MARTINEZ AVILES                      URB MIRAFLORES             39‐17 CALLE 45                                                                        BAYAMON             PR           00951
   665008 HECTOR MARTINEZ BAEZ                        URB SANTA JUANITA          II 22 CALLE 29                                                                        BAYAMON             PR           00956

   214578 HECTOR MARTINEZ BARRANCO                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214579 HECTOR MARTINEZ COLON                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   665009 HECTOR MARTINEZ FIGUEROA                    BOX 1441                                                                                                         JUANA DIAZ          PR           00795
   214580 HECTOR MARTINEZ GARCIA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR MARTINEZ
   665011 MALDONADO                                   URB VILLA FLORES           20628 FLAMBOYAN                                                                       PONCE               PR           00716‐2928
   665013 HECTOR MARTINEZ REYES                       URB BUCARE                 8 CALLE DIAMANTE                                                                      GUAYNABO            PR           00929
   665015 HECTOR MARTINEZ TORRES                      P O BOX 9455                                                                                                     CAGUAS              PR           00726
   665017 HECTOR MATEO APONTE                         PO BOX 101                                                                                                       OROCOVIS            PR           00720
   214581 HECTOR MATOS JIMENEZ                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  665019 HECTOR MATOS MARRERO                         URB ROYAL PALM              1A 11 CALLE AZALEA                                                                   BAYAMON              PR           00959

   214582 HECTOR MATTA CONCEPCION                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   665020 HECTOR MAUROSA GALLARDO                     PO BOX 545                                                                                                       HORMIGUEROS          PR           00660
   214583 HECTOR MEDINA CURET                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   214584 HECTOR MEDINA DELGADO                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   665022 HECTOR MEDINA ESPERON                       RES NEMESIO R CANALES       EDIF 49 APT 912                                                                      SAN JUAN             PR           00918
   665024 HECTOR MEJIAS PLAZA                         P O BOX 2747                                                                                                     JUNCOS               PR           00777
   665025 HECTOR MELENDEZ                             P O BOX 9000 SUITE 250                                                                                           CAYEY                PR           00737

   665026 HECTOR MELENDEZ ALVARADO                    VILLA NEVAREZ               1109 CALLE 5                                                                         SAN JUAN             PR           00927
   665027 HECTOR MELENDEZ ARROYO                      BO CARMELITA                35 CALLE CAROLINA BOX 3                                                              VEGA BAJA            PR           00693

   665028 HECTOR MELENDEZ BERMUDEZ                    PO BOX 1936                                                                                                      CIDRA                PR           00739
   214585 HECTOR MELENDEZ CANO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   665029 HECTOR MELENDEZ GONZALEZ                    HC 763 BUZON 3429                                                                                                PATILLAS             PR           00723

   214586 HECTOR MELENDEZ MARTINEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
                                                      BO. VILLA BORRINQUEN P.O.
   665030 HECTOR MELENDEZ OSORIO                      BOX 90                                                                                                           VIEQUES              PR           00765

   214589 HECTOR MELENDEZ QUINONES                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   214591 HECTOR MENDEZ                               REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   665031 HECTOR MENDEZ AFANADOR                      HC 03 BOX 14670                                                                                                  UTUADO               PR           00641

   665032 HECTOR MENDEZ CARATINI                      ATLANTIC VIEW 44 CALLE VENUS                                                                                     CAROLINA             PR           00979
   665033 HECTOR MENDEZ MEDINA                        PO BOX 896                                                                                                       CAMUY                PR           00627
   214592 HECTOR MENDEZ RAMIREZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   214593 HECTOR MENDEZ RODRIGUEZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   665034 HECTOR MENDEZ SANCHEZ                       HC 58 BOX 13371                                                                                                  AGUADA               PR           00602
   665035 HECTOR MENDEZ SANTIAGO                      URB LEVITTOWN ED 34         CALLE GAUTIER BENITEZ                                                                TOA BAJA             PR           00949
   214594 HECTOR MERCADO                              REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   214595 HECTOR MERCADO APONTE                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   665037 HECTOR MERCADO BERMUDEZ                     PO BOX 1610                                                                                                      UTUADO               PR           00641
   665038 HECTOR MERCADO PEREZ                        BOX 539                                                                                                          SAN ANTONIO          PR           00690‐0539
   665039 HECTOR MERCADO SOTO                         PO BOX 1480                                                                                                      ARECIBO              PR           00613
   665040 HECTOR MERCADO TORRES                       P O BOX 818                                                                                                      JUANA DIAZ           PR           00795
   214596 HECTOR MERCED FRANCO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   214597 HECTOR MERCED PEREZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   665041 HECTOR MERCED RIVERA                        BDA BLONDET                 158 CALLE H                                                                          GUAYAMA              PR           00784
   214598 HECTOR MILLAN APONTE                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   665042 HECTOR MIRANDA COLON                        VILLA EL ENCANTO            H 12 CALLE 8                                                                         JUANA DIAZ           PR           00795
   214599 HECTOR MIRANDA DIAZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   214600 HECTOR MIRANDA HERNANDEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   214601 HECTOR MIRANDA RODRIGUEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   214602 HECTOR MIRANDA ROSADO                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   663842 HECTOR MOLINA APONTE                        PO BOX 1672                                                                                                      TRUJILLO ALTO        PR           00977‐1672



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  663843 HECTOR MOLINA MAYSONET                       HC 67 BOX 15492                                                                                                    FAJARDO           PR         00738
  214604 HECTOR MOLL SANCHEZ                          REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  665044 HECTOR MONE ROURA                            P O BOX 772                                                                                                        ENSENADA          PR         00617
  665046 HECTOR MONGE CAMILO                          SAINT JUST                      176 CALLE 3                                                                        CAROLINA          PR         00976
  665045 HECTOR MONGE SUNJURJO                        URB VILLAS RIO GRANDE           J 6 CALLE 2                                                                        RIO GRANDE        PR         00745

   214606 HECTOR MONTALVO ACEVEDO                     REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   214607 HECTOR MONTALVO RODRIGUEZ REDACTED                                          REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   214608 HECTOR MONTANEZ LUGO      REDACTED                                          REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   214610 HECTOR MONTANEZ SERRANO                     REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   214612 HECTOR MONTANEZ SOTO                        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   214613 HECTOR MONTERO PEREZ                        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665047 HECTOR MORALES                              MORALES DIGGER                  HC 2 BOX 6661                                                                      UTUADO            PR         00641
   665048 HECTOR MORALES ACEVEDO                      PO BOX 1086                                                                                                        ARECIBO           PR         00613
   214615 HECTOR MORALES CABRERA                      REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   214616 HECTOR MORALES CHICO                        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   665050 HECTOR MORALES HERNANDEZ                    DOMINGO RUIZ                    5 CALLE 3                                                                          ARECIBO           PR         00616
   214618 HECTOR MORALES ORTIZ                        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665051 HECTOR MORALES OTERO                        HC 01 BOX 8213                                                                                                     AGUAS BUENAS      PR         00703

          Hector Morales
   214619 Ramo/H.SANCHEZ CINTRON DE                   REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665054 HECTOR MORALES VARGAS                       PO BOX 9066294                                                                                                     SAN JUAN          PR         00906
   214621 HECTOR MORALES VELEZ                        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   214622 HECTOR MORELL MARTELL                       REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   214623 HECTOR MORI RODRIGUEZ                       REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   214624 HECTOR MOYANO NORIEGA                       REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   663844 HECTOR MOYANO NORIEGA                       EXT HNOS DAVILA                 I 28 CALLE 8                                                                       BAYAMON           PR         00959
   214625 HECTOR MUÐOZ                                REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   214626 HECTOR MUNIZ HERNANDEZ                      REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   214627 HECTOR MUNOZ                                REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   214628 HECTOR MUNOZ BONET                          REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665056 HECTOR MURGA HERNANDEZ                      P O BOX 2272                                                                                                       GUAYNABO          PR         00970

   665058 HECTOR N ALVARADO RIVERA                    ROOSEVELT 101 COCO NUEVO                                                                                           SALINAS           PR         00624

   214629 HECTOR N ANDERSON ACOSTA                    REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   214630 HECTOR N APONTE APONTE                      REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          HECTOR N BUSIGO / D/B/A
   214631 BUSIGO BUS LINE                             URB RIO CRISTAL                 1337 AVE SANTOS COLON                                                              MAYAGUEZ          PR         00660
   665059 HECTOR N DIAZ CASILLAS                      HC 01 BOX 8495                                                                                                     CANOVANAS         PR         00729
   665060 HECTOR N DIAZ HERNANDEZ                     P O BOX 87                                                                                                         TRUJILLO ALTO     PR         00977‐0087
   214633 HECTOR N GARCIA ROMAN                       REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   665061 HECTOR N HERNANDEZ LOPEZ                    14 E CALLE DE DIEGO SUITE 201                                                                                      MAYAGUEZ          PR         00680
   665062 HECTOR N MERCADO RIVERA                     RR 01 BOX 11117                                                                                                    OROCOVIS          PR         00720‐9615

   665064 HECTOR N MIRANDA ALVARADO P.O. BOX 1813                                                                                                                        CAGUAS            PR         00726
   214635 HECTOR N ORTIZ TORRES     REDACTED                                          REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665066 HECTOR N PARJUS           500 BAYVIEW DR APT 417                                                                                                               N MIAMI BEACH     FL         33160‐4748



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  214636 HECTOR N PEREZ RODRIGUEZ                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  214638 HECTOR N UBINAS ROMAN                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  665068 HECTOR NATAL MOLINA                          P O BOX 140661                                                                                                  ARECIBO           PR         00612
  214639 HECTOR NATAL SANTIAGO                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  665069 HECTOR NEGRON CINTRON                        URB LA VEGA CALLE 72                                                                                            VILLALBA          PR         00766
  214640 HECTOR NEGRON CORTES                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  665070 HECTOR NEGRON FIQUEROA                       TINTILLO GARDENS         302 COND LOS PATRICIOS                                                                 GUAYNABO          PR         00968
  214641 HECTOR NEGRON MEDINA                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  665071 HECTOR NEGRON PADILLA                        BORINQUEN TOWER I        1484 FD ROOSEVELT APT 512                                                              SAN JUAN          PR         00920‐2720
  214642 HECTOR NEGRON RIVERA                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  665073 HECTOR NEGRON SERRANO                        HC 01 BOX 6899                                                                                                  AGUAS BUENAS      PR         00703
  665074 HECTOR NIEVES ALAMO                          PO BOX 9479                                                                                                     BAYAMON           PR         00961
  665075 HECTOR NIEVES CATALA                         HC 71 BOX 1473                                                                                                  NARAJITO          PR         00719
  665076 HECTOR NIEVES CLAUDIO                        FOREST HILL URB          A 4 CALLE MARGINAL          LOCAL 3                                                    BAYAMON           PR         00959
  665078 HECTOR NIEVES GONZALEZ                       VALLE ARRIBA HEIGHTS     W2 CALLE JOBOS                                                                         CAROLINA          PR         00983
  665079 HECTOR NIEVES LOPEZ                          HC 3 BOX 15164                                                                                                  QUEBRADILLAS      PR         00678
  665080 HECTOR NIEVES NIEVES                         P O BOX 3207                                                                                                    AGUADILLA         PR         00605
  214644 HECTOR NIEVES RIVERA                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         HECTOR NIGAGLIONI
  665082 NIGAGLIONI                                   URB MONTECARLOS          1251 CALLE 1                                                                           SAN JUAN          PR         00924

   665083 HECTOR NOEL AYALA SANTANA                   BO SANTANA               CARR 120 KM 6 3                                                                        SABANA GRANDE     PR         00637

   665084 HECTOR NOEL GONZALEZ RUBIO PO BOX 995                                                                                                                       SAINT JUST        PR         00978
   214647 HECTOR NUNEZ MARTINEZ      REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   665086 HECTOR O CRESPO SOTO       URB VILLA UNIVERSITARIA                   V 22 CALLE 2                                                                           HUMACAO           PR         00791

   665087 HECTOR O FELICIANO FREYTES                  BO POLVORIN              27 CALLE COTTO SUR                                                                     MANATI            PR         00674

   214649 HECTOR O FONTANET PERFECTO REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   214650 HECTOR O LOPEZ CINTRON     REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   665088 HECTOR O MALDONADO CRUZ                     URB BAYAMON GARDENS      LL 5 CALLE JACKEKINE                                                                   BAYAMON           PR         00957
   214651 HECTOR O MERCADO PEREZ                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          HECTOR O MONTESINO/
   214652 BORINTEK INC                                PO BOX 14                                                                                                       BARRANQUITAS      PR         00794
   214653 HECTOR O OLAN BATISTA                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   214654 HECTOR O OROZCO RIVERA                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   665089 HECTOR O ORTZ COLON                         PO BOX 57                                                                                                       RIO GRANDE        PR         00745
   214655 HECTOR O PADRO ACEVEDO                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          HECTOR O PAGAN / LA CASITA
   665090 DULCE MARIA                                 HC 1 BOX 3298                                                                                                   LARES             PR         00669

   214657 HECTOR O RAMOS AYESTARAN                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   665091 HECTOR O RIVERA GONZALEZ                    URB SAN JUAN GARDENS     1874 CALLE SAN ALVARO                                                                  SAN JUAN          PR         00926
   214658 HECTOR O RIVERA SANTIAGO                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   665092 HECTOR O ROSA CORDERO                       PO BOX 62                                                                                                       BAJADERO          PR         00616
   214660 HECTOR O SANTOS CATALA                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   665093 HECTOR O SEPULVEDA VEGA                     COLINAS DE MONTE CARLO   1376 CALLE 10                                                                          SAN JUAN          PR         00924

   214662 HECTOR O. RIVERA GONZALEZ                   REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   214663 HECTOR O. RIVERA ROSADO /                   REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED




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          HECTOR O. RIVERA ROSADO DBA AVE. STA. JUANITA‐12 URB. STA.
   214664 UNIVERSAL OF                JUANITA                                                                                                                         BAYAMON              PR           00956‐0000
   214667 HECTOR O. SANTOS REYES      REDACTED                       REDACTED                              REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214668 HECTOR O'FARRILL LAMP       HC 645 BOX 8312                                                                                                                 TRUJILLO ALTO        PR           00976
   665094 HECTOR OJEDA MORALES        URB VILLA CAROLINA 184‐8       CALLE 435                                                                                        CAROLINA             PR           00985
   214669 HECTOR OLAN COURET          REDACTED                       REDACTED                              REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   665095 HECTOR OLAVARRIA CARDONA                    BO ISLOTE II                 129 CALLE 6                                                                        ARECIBO              PR           00612
   214670 HECTOR OLIVENSIA CRUZ                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214671 HECTOR OLIVERAS RIVERA                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   665096 HECTOR OLIVERO                              PARC SUAREZ                  BOX 4077                                                                           LOIZA                PR           00772
   665099 HECTOR OLMEDO RUIZ                          URB ROUND HILL               1226 CALLE AZUCENA                                                                 TRUJILLO ALTO        PR           00976

   665100 HECTOR OMAR RUIZ CHAPARRO PO BOX 64                                                                                                                         AGUADA               PR           00602

   665101 HECTOR OMAR TIRADO NAVEDO P O BOX 129                                                                                                                       VEGA BAJA            PR           00694
   665102 HECTOR ONEILL VAZQUEZ     EXT FCO OLLER                                  C/ A C 31                                                                          BAYAMON              PR           00956
   665103 HECTOR OREJUELA BONILLA   P O BOX 29742                                                                                                                     SAN JUAN             PR           00929
          HECTOR OROZCO / ASOC RECR
   214674 JOSE SEVERO               URB JOSE SEVERO QUINONES                       73 CALLE ULISES ORTIZ                                                              CAROLINA             PR           00985
   665104 HECTOR ORSINI CAPO        P O BOX 190922                                                                                                                    SAN JUAN             PR           00919‐0922
   214675 HECTOR ORTA PEREZ         REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   665106 HECTOR ORTEGA HERNADEZ    PO BOX 190187                                                                                                                     SAN JUAN             PR           00919
   214676 HECTOR ORTIZ ARRIAGA      REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214677 HECTOR ORTIZ COTTO        REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214680 HECTOR ORTIZ MENDEZ       REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214682 HECTOR ORTIZ MONTA¥EZ     REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   665111 HECTOR ORTIZ PASTRANA     HC 4 BOX 9016                                                                                                                     CANOVANAS            PR           00729‐9732
   214684 HECTOR ORTIZ RIVERA       REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   665112 HECTOR ORTIZ RODRIGUEZ    B 15 URB LINDA VISTA                                                                                                              LAJAS                PR           00667
   665114 HECTOR ORTIZ ROSADO       HC 06 BOX 2140                                                                                                                    PONCE                PR           00731

   214685 HECTOR ORTIZ/ BENJAMIN ORTIZ REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HECTOR OSCAR TORRES
   214686 MALDONADO                    REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214687 HECTOR OSORIO OSORIO         REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214688 HECTOR OTERO GONZALEZ        REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214689 HECTOR OTERO LOPEZ           REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   665119 HECTOR OYOLA VALENTIN        HC 06 BOX 72841                                                                                                                CAGUAS               PR           00725
   665120 HECTOR P SANTOS SANTOS       HC 2 BOX 9003                                                                                                                  JUANA DIAZ           PR           00795
   214691 HECTOR P. FALU PESANTE       REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214692 HECTOR PACHECO CAPPAS        REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   214693 HECTOR PACHECO MELENDEZ                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214694 HECTOR PADILLA NIEVES                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214695 HECTOR PAGAN AGUILAR                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   663845 HECTOR PAGAN ARROYO                         RR 10 BOX 10042                                                                                                 SAN JUAN             PR           00927
   665121 HECTOR PAGAN CARDONA                        PO BOX 561358                                                                                                   GUAYANILLA           PR           00656
   665122 HECTOR PAGAN DE LEON                        URB VILLA DEL REY 2DA SECC   2E 10 CALLE GALES                                                                  CAGUAS               PR           00725
   214696 HECTOR PAGAN TORRES                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214697 HECTOR PAMBLANCO SOTO                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214698 HECTOR PARRILLA LUGO                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   665124 HECTOR PASTORIZA RUIZ                       PO BOX 140807                                                                                                   ARECIBO              PR           00614‐0807



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  214700 HECTOR PENISTON FELICIANO                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  214701 HECTOR PERALES RIVERA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  665126 HECTOR PEREIRA ALMESTICA                     RR 6 BOX 9830                                                                                                  SAN JUAN            PR         00926
  665127 HECTOR PEREZ                                 2003 CALLE FLAMBOYAN                                                                                           SAN JUAN            PR         00915
  665128 HECTOR PEREZ CABALLERO                       URB DAVILA Y LLENZA          208 CALLE EMANUELLI                                                               SAN JUAN            PR         00917
  214702 HECTOR PEREZ CINTRON                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  214703 HECTOR PEREZ CORREA                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         HECTOR PEREZ CRUZ / HECTOR
  214704 CATERING SERV                                P O BOX 139                                                                                                    LAS MARIAS          PR         00670
  665130 HECTOR PEREZ ENRIQUEZ                        ROOSEVELT ROADS              PO BOX 420174                                                                     CEIBA               PR         00742
  665131 HECTOR PEREZ FIGUEROA                        PO BOX 7126                                                                                                    PONCE               PR         00732
  214705 HECTOR PEREZ LOPEZ                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  665132 HECTOR PEREZ MIS                             URB SMITH HILLS              1730 CALLE AZOMANTE                                                               SAN JUAN            PR         00920
  214706 HECTOR PEREZ MUNIZ                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  214707 HECTOR PEREZ QUILES                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  214708 HECTOR PEREZ RAMOS                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  665133 HECTOR PEREZ RODRIGUEZ                       PO BOX 7126                                                                                                    PONCE               PR         00732
  214709 HECTOR PEREZ ROJAS                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  214710 HECTOR PEREZ ROSADO                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  665135 HECTOR PEREZ ROSARIO                         URB SAN SOUCI                U 1 CALLE 15                                                                      BAYAMON             PR         00957
  214711 HECTOR PEREZ SOTO                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  214712 HECTOR PEREZ VALENTIN                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  214713 HECTOR PEREZ VEGA                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   214714 HECTOR PONTON HERNANDEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214715 HECTOR PRATTS COLON                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665137 HECTOR PRIETO PARDO                         URB PARK GARDENS             O 26 CALLE ACADIA                                                                 SAN JUAN            PR         00926
                                                      EDIF ASOC DE MAESTROS OFIC
   665138 HECTOR PUIG ARVELO                          402                          AVE PONCE DE LEON                                                                 SAN JUAN            PR         00918
   214716 HECTOR PUIG SANCHEZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665139 HECTOR QUIJANO BORGES                       239 AVE ARTERIAL HOSTOS      SUITE 204                                                                         SAN JUAN            PR         00918‐1475
   665140 HECTOR QUILES COLON                         BO BEATRIZ SECTOR ZAPERA     BOX 5755                                                                          CIDRA               PR         00739
   214717 HECTOR QUINONES                             REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   214718 HECTOR QUINONES ALVARADO                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214719 HECTOR QUINONES IRIZARRY                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214720 HECTOR QUINONES RAMOS                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214721 HECTOR QUINONEZ ANDINO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665141 HECTOR R AGUIRRE QUIJANO                    P O BOX 665                                                                                                    BARCELONETA         PR         00617
          HECTOR R ALBINO Y/O CARIBE
   214722 PROMOTIONS                                  HC 73 BOX 4431                                                                                                 NARANJITO           PR         00719
   665142 HECTOR R APONTE COLON                       URB REXVILLE                 CA 13 CALLE 13                                                                    BAYAMON             PR         00957
   214723 HECTOR R ARMAS RUIZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214724 HECTOR R ARROYO                             REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214725 HECTOR R AVILES LOPEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214726 HECTOR R AYALA DELGADO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214727 HECTOR R AYALA QUINONEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214728 HECTOR R AYALA ROSADO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214729 HECTOR R BALL INC                           HYDE PARK                    183 LOS MIRTOS                                                                    SAN JUAN            PR         00927‐4234

   665144 HECTOR R BERRIOS DEL TORO                   P O BOX 561126                                                                                                 GUAYANILLA          PR         00656
   214730 HECTOR R BRAN HERNANDEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   214731 HECTOR R CABAN VEGA                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  665146 HECTOR R CABRERA PEREZ                       BO DAJAOS                   RR 8 BOX 9131                                                                     BAYAMON              PR           00956

   214732 HECTOR R CABRERA SORIANO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   665147 HECTOR R CALDERON PARRILLA                  HC 01 BOX 3577                                                                                                LOIZA                PR           00772

   665148 HECTOR R CARABALLO MEDERO                   EMBALSE SAN JOSE            708 CALLE CANILLAS                                                                SAN JUAN             PR           00923‐1313
   665149 HECTOR R CARRILLO RIVERA                    CORREO GENERAL                                                                                                CANOVANAS            PR           00729
   214733 HECTOR R CASTRO ANDINO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   214734 HECTOR R CHAVES                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   214735 HECTOR R CINTRON RODRIGUEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   214736 HECTOR R CLAUDIO HERNANDEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          HECTOR R COLON / J C
   665150 CONTRACTORS                URB SAN VICENTE                              271 CALLE 13                                                                      VEGA BAJA            PR           00693
   665151 HECTOR R COLON DIAZ        RR 10 BOX 5050                                                                                                                 SAN JUAN             PR           00926
   214737 HECTOR R COLON MORALES     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   665153 HECTOR R CORA MORALES      PO BOX 1254                                                                                                                    ARROYO               PR           00714

   665154 HECTOR R CORTES HERNANDEZ                   P O BOX 7263                                                                                                  CAGUAS               PR           00726
   214738 HECTOR R CORTES RIVERA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   214740 HECTOR R CORTES RUIZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   214741 HECTOR R CRESPO CORDERO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   214742 HECTOR R CRESPO MILLAN                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   214745 HECTOR R CRUZ VIANA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   214746 HECTOR R CUADRADO ABADIA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   665158 HECTOR R CUPRILL HERNANDEZ PO BOX 335210                                                                                                                  PONCE                PR           00733‐5210
   665160 HECTOR R DEL VALLE NIEVES  URB ROSA MARIA                               D 34 CALLE 4                                                                      CAROLINA             PR           00985
   665162 HECTOR R DIAZ GONZALEZ     COLINA DE BAYAMON                                                                                                              BAYAMON              PR           00957‐3778
   214747 HECTOR R ERAZO ROBLES      REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   665163 HECTOR R FEBUS SANTIAGO                     URB COLINAS METROPOLITANO K 14 CALLE TORRECILLAS                                                              GUAYNABO             PR           00970

   663846 HECTOR R FELICIANO ESPERANZA 461 CALLE BOURET                                                                                                             SAN JUAN             PR           00915

   214749 HECTOR R FERNANDEZ RIVERA                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   214750 HECTOR R FUENTES                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   214751 HECTOR R FUENTES ARTACHE                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   665167 HECTOR R GARCIA RIVERA                      A 19 URB EL PARAISO                                                                                           HUMACAO              PR           00791
   665168 HECTOR R GARCIA TORO                        PO BOX 478                                                                                                    GUAYNABO             PR           00970
          HECTOR R GOMEZ
   214752 CARRASQUILLO                                REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   665170 HECTOR R GONZALEZ AVILES                    REPTO METROPOLITANO         978 CALLE 15 SE                                                                   SAN JUAN             PR           00921
          HECTOR R GONZALEZ
   665172 MALDONADO                                   173 CALLE MANUEL CORCHADO                                                                                     SAN JUAN             PR           00911

   214754 HECTOR R GONZALEZ RAMIREZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   214755 HECTOR R GONZALEZ SIERRA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   214756 HECTOR R GOTAY MARTINEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   665173 HECTOR R HADDOCK RIVERA                     URB VIVES                   185 CALLE E                                                                       GUAYNABO             PR           00784



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   214757 HECTOR R HEREDIA RODRIGUEZ REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214758 HECTOR R HERNANDEZ CRUZ    REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214759 HECTOR R HERNANDEZ RAMOS                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665174 HECTOR R LASALLE LASALLE                    PO BOX 250148                                                                                                           AGUADILLA           PR           00604‐0145
   665175 HECTOR R LOPEZ COLLAZO                      PO BOX 353                                                                                                              BARCELONETA         PR           00617
   214761 HECTOR R LOPEZ FIGUEROA                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665176 HECTOR R LUGO BARNES                        URB VILLA FONTANA            2 ZR 37 VIA 20                                                                             CAROLINA            PR           00983
          HECTOR R MALDONADO
   214762 BELTRAN DBA                                 SUPERMERCADO BRISAS          HC 1 BOX 17264                                                                             HUMACAO             PR           00771
   214764 HECTOR R MARTINEZ VELEZ                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214765 HECTOR R MELENDEZ CORTES                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   665177 HECTOR R MELENDEZ GONZALEZ PO BOX 372702                                                                                                                            CAYEY               PR           00737
   665179 HECTOR R MERCADO CRUZ      PO BOX 454                                                                                                                               BAJADERO            PR           00616
   214766 HECTOR R MERCADO VARGAS    REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   665180 HECTOR R MILLET RODRIGUEZ                   PO BOX 2970                                                                                                             ARECIBO             PR           00612

   665181 HECTOR R MONTES GONZALEZ                    PO BOX 1895                                                                                                             TRUJILLO ALTO       PR           00977‐1895
                                                      BO LAS CUEVAS SECT LOS
   665182 HECTOR R MORALES PIZARRO                    SALGADO                      PO BOX 3                                                                                   LOIZA               PR           00772
   665183 HECTOR R MU¥IZ CORDOVES                     HC 2 BOX 11633                                                                                                          HUMACAO             PR           00791

   665184 HECTOR R NEGRON FERNANDEZ PARC NUEVA CELADA                              438 CALLE 27                                                                               GURABO              PR           00773

   214768 HECTOR R NEGRON RODRIGUEZ                   REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665185 HECTOR R NIEVES RIVERA                      P O BOX 626                                                                                                             RIO GRANDE          PR           00745
          HECTOR R OQUENDO DBA
   665186 OQUENDO JUNIO                               URB MONTE REY                H 25 CALLE 5                                                                               COROZAL             PR           00783
   214769 HECTOR R ORTIZ CINTRON                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214770 HECTOR R ORTIZ LUGO                         REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665187 HECTOR R ORTIZ RIVERA                       URB LA CUMBRE                340 CALLE SAN JUAN                                                                         SAN JUAN            PR           00926 5548
   214771 HECTOR R ORTIZ SANCHEZ                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214772 HECTOR R ORTIZ VELAZQUEZ                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   665188 HECTOR R PADILLA RAMON                      EDIF CORUJO URB SANTA ROSA   6 27 CALLE 5D                                                                              BAYAMON             PR           00959
   214773 HECTOR R PENA CRUZ                          REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214774 HECTOR R PENA Y EMERITA CRUZ REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214775 HECTOR R PENA/ GVELOP LLC                   URB HACIENDA SAN JOSE        AS 113 CALLE VIA DEL GUAYABAL                                                              CAGUAS              PR           00727

   214776 HECTOR R PEREZ HERNANDEZ                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214779 HECTOR R QUINONES RIVERA                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665192 HECTOR R REILLO PEREZ                       HC 02 BOX 8804                                                                                                          QUEBRADILLAS        PR           00678
   665193 HECTOR R RIOS ROBLES                        BAJADERO                     PO BOX 174                                                                                 ARECIBO             PR           00616
   214781 HECTOR R RIOS SOTO                          REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      732 CALLE FRANCISCO GARCIA
   665194 HECTOR R RIVERA BOSCANA                     FARIA                                                                                                                   DORADO              PR           00646
   214782 HECTOR R RIVERA MATEO                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  665196 HECTOR R RIVERA NIEVES                       PO BOX 382                                                                                                        NARANJITO         PR           00719‐0382
  665197 HECTOR R RIVERA PASTOR                       COLINAS METROPOLITANAS    E 10 CALLE PICACHOS                                                                     GUAYNABO          PR           00969
  665199 HECTOR R RIVERA RIVERA                       P O BOX 795                                                                                                       BARRANQUITAS      PR           00794
  665200 HECTOR R RIVERA TORRES                       P O BOX 2500              SUITE 628                                                                               TOA BAJA          PR           00951

   665202 HECTOR R RODRIGUEZ JIMENEZ                  HC 2 BOX 14756                                                                                                    CAROLINA          PR           00985
          HECTOR R RODRIGUEZ
   665203 MONTALVO                                    4315 SE 36TH AVE                                                                                                  SUMMERFIELD       FL           34491‐2929
   665204 HECTOR R RODRIGUEZ ORTIZ                    HC 763 BOX 3960                                                                                                   PATILLAS          PR           00723
          HECTOR R RODRIGUEZ
   214783 QUINONES                                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   665205 HECTOR R RODRIGUEZ VAZQUEZ PO BOX 930                                                                                                                         MOROVIS           PR           00687
                                     5 F‐15 JACINTO # 602 URB
   665206 HECTOR R ROSADO LOIZ       DIAMARI                                                                                                                            JUNCOS            PR           00777
   665207 HECTOR R ROSADO MEDINA     URB ESTEVES 532                            CALLE BAMBU                                                                             AGUADILLA         PR           00603

   214784 HECTOR R ROSADO VELAZQUEZ                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   665208 HECTOR R ROSARIO HERNANDEZ PASEO LAS VISTAS                           B53 CALLE 2                                                                             SAN JUAN          PR           00926

   665209 HECTOR R SAAVEDRA SERRANO                   HC 02 BOX 10269                                                                                                   QUEBRADILLAS      PR           00671

   665210 HECTOR R SANTOS MIRABAL                     PARQUE MONTEREY I         110 CALLE MONTEREY AOT 307                                                              PONCE             PR           00717
   214786 HECTOR R SERRANO MEDINA                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   665211 HECTOR R SIERRA COLLAZO                     PMP 6400 SUITE 240                                                                                                CAYEY             PR           00737
   214787 HECTOR R SIERRA TORRES                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   665212 HECTOR R SILVA FIGUEROA                     URB DIPLO CALLE 6 B H 1                                                                                           NAGUABO           PR           00718
   214788 HECTOR R SOTO DE LEON                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   665213 HECTOR R SOTO UJAQUE                        URB ANA MARIA             C 19 CALLE 5                                                                            CABO ROJO         PR           00623
          HECTOR R SOTOMAYOR
   214789 SERRANO                                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED REDACTED           REDACTED
   214790 HECTOR R STELLA ARRILLAGA                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED REDACTED           REDACTED
   665214 HECTOR R TEXIDOR COLON                      COSTA DE ORO              C 61 CALLE B                                                                            DORADO            PR       00646
   214791 HECTOR R TORO DENIS                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED REDACTED           REDACTED
   214792 HECTOR R TORRES ARROYO                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED REDACTED           REDACTED
   214793 HECTOR R TORRES CHINEA                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED REDACTED           REDACTED
          HECTOR R VALE Y/O WILLIAM
   214796 VALE                                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   665215 HECTOR R VALENTIN DE JESUS                  HC01 BOX 20828                                                                                                    CAGUAS            PR           00725
   665216 HECTOR R VALLE ROMAN                        BO SAN JOSE               HC 02 BOX 7354                                                                          QUEBRADILLA       PR           00637

   665218 HECTOR R VAZQUEZ RODRIGUEZ P O BOX 371869                                                                                                                     CAYEY             PR           00937

   665219 HECTOR R VELAZQUEZ ALBINO                   PO BOX 561218                                                                                                     GUAYANILLA        PR           00656
   665220 HECTOR R VELEZ LEON                         URB VILLA DEL REY         3 3C56 CALLE DELMACIA                                                                   CAGUAS            PR           00725‐7022
          HECTOR R. ALVARADO
   214800 ESCOBALES                                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   665221 HECTOR R. BABILONIA                         P O BOX 1698                                                                                                      MOCA                           00676‐1698
   214801 HECTOR R. CABAN VEGA                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   214802 HECTOR R. CANCEL SERRANO                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   214803 HECTOR R. CASTRO COLON                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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MML ID                NAME                                       ADDRESS 1                      ADDRESS 2                      ADDRESS 3                           ADDRESS 4              CITY          STATE   POSTAL CODE        COUNTRY
          HECTOR R. DELGADO DBA RD
   214804 CONSTRUCTION                                HC ‐ 5 BOX 93348                                                                                                         ARECIBO             PR           00612‐0000

   214805 HECTOR R. FLORES BERMUDEZ                   REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214806 HECTOR R. GALARZA RODRIGUEZ REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214807 HECTOR R. GONZALEZ DIAZ     REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214808 HECTOR R. GUTIERREZ CRISPIN                 REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214809 HECTOR R. LOPEZ ARROYO                      REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214811 HECTOR R. MARMOL TORRES                     REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665227 HECTOR R. MARTINEZ ARCE                     AVE. LOS PATRIOTAS 149         APARTAMENTO 48                                                                            LARES               PR           00669

   214812 HECTOR R. OTERO CALDERON                    REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665232 HECTOR R. OTERO VALENTIN                    BO COLOMBIA                    209 PRINCIPE                                                                              MAYAGUEZ            PR           00680

   214813 HECTOR R. SANCHEZ GRATEROLE REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214814 HECTOR R. SANTIAGO ORTIZ    REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214815 HECTOR R. TOLEDO BAEZ       REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665233 HECTOR R. TORRES ROSARIO    P O BOX 563                                                                                                                              HUMACAO             PR           00792

   214817 HECTOR RAFAEL DIAZ SANCHEZ                  REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR RAFAEL FLORES
   214818 BERMUDEZ                                    REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   665234 HECTOR RAFAEL RAMOS AMARO URB EMILIO                                       153 CALIMANO                                                                              MAUNABO             PR           00707
          HECTOR RAFAEL RODRIGUEZ
   665235 BARRETO                   PO BOX 1890                                                                                                                                COROZAL             PR           00783

          HECTOR RALPALDO MARTINEZ Y                                                 METRO OFFICEK‐SPRINT 18 LOTE
  1419989 ORTIZ ROSA, MARISOL Y OTROS AICZA PIÑEIRO MORALES                          CALLE 1 STE 400                                                                           GUAYNABO            PR           00968
          HECTOR RAMIREZ /ELIEZER
   214824 RAMIREZ                     REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214825 HECTOR RAMIREZ ALMODOVAR REDACTED                                          REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214826 HECTOR RAMIREZ CARABALLO                    REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665236 HECTOR RAMIREZ STELLA                       PARC MARQUEZ                   2 CALLE HUCAR                                                                             MANATI              PR           00674‐5819
          HECTOR RAMON ROSALES
   663847 MARRERO                                     PO BOX 445                                                                                                               PALMER              PR           00721
   665237 HECTOR RAMOS                                STA CATALINA                   B 13 CALLE 13                                                                             BAYAMON             PR           00957
   214829 HECTOR RAMOS BERBERENA                      REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR RAMOS COLLAZO /
   214830 INTEC SOLAR DE PR                           URB COLLEGE PARK               300 CALLE SIENA                                                                           SAN JUAN            PR           00921
   665239 HECTOR RAMOS GUZMAN                         280 CALLE NUEVA                                                                                                          SAN JUAN            PR           00917
   665240 HECTOR RAMOS MIRANDA                        HC 1 BOX 6661                                                                                                            CIALES              PR           00638
   665241 HECTOR RAMOS MOCZO                          URB LOMA DE CAROLINA           2 H 26 CALLE YUNQUESITO                                                                   CAROLINA            PR           00987
   665242 HECTOR RAMOS ORTIZ                          VILLAS DE SAN AGUSTIN          E 7 CALLE 5                                                                               BAYAMON             PR           00959
   214831 HECTOR RAMOS QUINTANA                       REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   771080 HECTOR RAMOS RODRIGUEZ                      REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665246 HECTOR RAMOS SANCHEZ                        6177 CALLE FLOR DE LOTO        BUZON 59                                                                                  SABANA SECA         PR           00952

   665247 HECTOR RAMOS SANTA                          URB. VILLAS DE CASTRO I 13 A   CALLE 7                                                                                   CAGUAS              PR           00725



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  665248 HECTOR REICHARD ZAMORA                       P O BOX 69                                                                                                       AGUADILLA         PR           00605

   214833 HECTOR RENE RIVERA ACEVEDO                  REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   665250 HECTOR RESTO BLANCO                         P O BOX 274                                                                                                      CIDRA             PR           00739
   665252 HECTOR REVERON PEREZ                        167 CALLE ROBLES                                                                                                 SAN JUAN          PR           00925
   214834 HECTOR REYES GONZALEZ                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   214835 HECTOR REYES HERMINA                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   214836 HECTOR REYES LAFINA                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   665253 HECTOR REYES RAMOS                          VILLA CAPRI                    604 LOMBARDIA                                                                     SAN JUAN          PR           00924
   665255 HECTOR REYES ROMAN                          P O BOX 1441                                                                                                     JUANA DIAZ        PR           00795

   214837 HECTOR RICARDO RAMOS DIAZ                   REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   665259 HECTOR RIOS FERNANDEZ                       HC 2 BOX 25934                                                                                                   MAYAGUEZ          PR           00680
   214839 HECTOR RIOS GUADARRAMA                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   214840 HECTOR RÍOS MARTÍ                           REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   665261 HECTOR RIOS MAURY                           URB PARK GARDENS               L38 CALLE MARACAIBO                                                               SAN JUAN          PR           00926
   214841 HECTOR RIOS MOYA                            REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   665262 HECTOR RIOS PEREZ                           URB EL CONQUISTADOR            E 2 CALLE 7                                                                       TRUJILLO ALTO     PR           00976
   663848 HECTOR RIOS RIVERA                          APARTADO 1788                                                                                                    COROZAL           PR           00783
   214842 HECTOR RIVERA                               REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          HECTOR RIVERA / DBA / H R
   214843 ENGINEERING                                 HC 74 BOX 5912                                                                                                   NARANJITO         PR           00719
   214844 HECTOR RIVERA ALICEA                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   665264 HECTOR RIVERA APONTE                        COLINAS DE CUPEY               E1 CALLE 6                                                                        SAN JUAN          PR           00926
   665265 HECTOR RIVERA ARNAU                         PARC LA LUIZA                  B22 CALLE OPALO                                                                   MANATI            PR           00674
   214845 HECTOR RIVERA CABRERA                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   214846 HECTOR RIVERA CARATINI                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   665267 HECTOR RIVERA CARDONA                       87 C/ BETANCES                                                                                                   CIALES            PR           00638
   665268 HECTOR RIVERA CASIENI                       PO BOX 7311                                                                                                      MAYAGUEZ          PR           00681
   214847 HECTOR RIVERA CORDERO                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   665269 HECTOR RIVERA COSME                         HC 71 BOX 2461                                                                                                   NARANJITO         PR           00719
   665272 HECTOR RIVERA CRUZ                          PO BOX 9023954                                                                                                   SAN JUAN          PR           00902‐3954
   665274 HECTOR RIVERA CUETO                         VILLA FONTANA                  SR 1 VIA DIANA                                                                    CAROLINA          PR           00983
   665275 HECTOR RIVERA DE JESUS                      VILLA DEL CARMEN               3149 CALLE TURPIAR                                                                PONCE             PR           00716‐2252
   214848 HECTOR RIVERA DELGADO                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   214849 HECTOR RIVERA FLORES                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   665278 HECTOR RIVERA FUENTES                       P O BOX 40858                                                                                                    SAN JUAN          PR           00940
   665279 HECTOR RIVERA GARCIA                        HC 03 BOX 7594                                                                                                   MOCA              PR           00676
   214850 HECTOR RIVERA GONZALEZ                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   214851 HECTOR RIVERA GUTIERREZ                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   214852 HECTOR RIVERA GUZMAN                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   214853 HECTOR RIVERA HERNANDEZ                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   665285 HECTOR RIVERA MALDONADO                     FACTOR 1 CALLE C 97 INTERIOR                                                                                     ARECIBO           PR           00612
   214856 HECTOR RIVERA MELENDEZ                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   214857 HECTOR RIVERA MORALES                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   214858 HECTOR RIVERA NAZARIO                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
                                                      A/C BCO DESARROLLO
   665288 HECTOR RIVERA NIEVES                        ECONOMICO                      HC 71 BOX 3739                                                                    NARANJITO         PR           00719
   665289 HECTOR RIVERA ONOFRE                        B 1 EXT DEL CARMEN                                                                                               CAMUY             PR           00627
   665290 HECTOR RIVERA ORTIZ                         HCF 03 BOX 18011               BO GUZMAN ABAJO                                                                   RIO GRANDE        PR           00745
   214860 HECTOR RIVERA PINEIRO                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED




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                                                                              K20 H9 CARR 1 CAM SUSANO
   665291 HECTOR RIVERA QUINTANA                      BO RIOS                 RODRG                                                                                    GUAYNABO             PR           00970
   665292 HECTOR RIVERA RAMOS                         PO BOX 3500             PMB 280                                                                                  CAMUY                PR           00627
   665293 HECTOR RIVERA RIVERA                        METADONA PONCE                                                                                                   Hato Rey             PR           00936
   214861 HECTOR RIVERA RODRIGUEZ                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214862 HECTOR RIVERA ROSADO                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214863 HECTOR RIVERA RUIZ                          REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   665297 HECTOR RIVERA SANABRIA                      HC 5 BOX 4657                                                                                                    LAS PIEDRAS          PR           00771‐9628
   214865 HECTOR RIVERA SANTIAGO                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   665299 HECTOR RIVERA TORRES                        COND DORAL PLAZA 1019   CARR 19 APT 11F                                                                          GUAYNABO             PR           00966‐2404
   214866 HECTOR RIVERA VALENTINE                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   665302 HECTOR ROBLES NIEVES                        RES MANUEL A PEREZ      EDIF B4 APTO 48                                                                          SAN JUAN             PR           00923
   665303 HECTOR ROBLES ORTIZ                         BOX 1441                                                                                                         JUANA DIAZ           PR           00795
   214867 HECTOR ROBLES RIVERA                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   665304 HECTOR RODRIGUEZ                            PO BOX 1746                                                                                                      ARECIBO              PR           00613

   665307 HECTOR RODRIGUEZ CAMACHO BO CARMELITA                               8 CALLE 9                                                                                VEGA BAJA            PR           00693

   214870 HECTOR RODRIGUEZ COLLAZO                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   214871 HECTOR RODRIGUEZ CORDERO                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   665309 HECTOR RODRIGUEZ DELGADO                    BUEN CONSEJO            1204 CLLE VALLEJO                                                                        SAN JUAN             PR           00926
   665310 HECTOR RODRIGUEZ DIAZ                       PO BOX 685                                                                                                       PATILLAS             PR           00723
   214873 HECTOR RODRIGUEZ FEBRES                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   665311 HECTOR RODRIGUEZ GUZMAN                     BO STO DOMINGO          327 CALLE 3 PARC SAINT JUST                                                              TRUJILLO ALTO        PR           00976
          HECTOR RODRIGUEZ
   214874 HERNANDEZ                                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   665312 HECTOR RODRIGUEZ MAYSONET PO BOX 21365                                                                                                                       SAN JUAN             PR           00928‐1365

   665313 HECTOR RODRIGUEZ MERCADO                    PO BOX 7126                                                                                                      PONCE                PR           00732
   665314 HECTOR RODRIGUEZ MOLINA                     URB SANTIAGO IGLESIAS   1754 SANTIAGO CARRERAS                                                                   SAN JUAN             PR           00921

   214875 HECTOR RODRIGUEZ MONTANEZ REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   665316 HECTOR RODRIGUEZ NAZARIO                    HC 02 BOX 12134                                                                                                  GURABO               PR           00778
   214876 HECTOR RODRIGUEZ NIEVES                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   665319 HECTOR RODRIGUEZ PEREZ                      PO BOX 3                                                                                                         ADJUNTAS             PR           00601
   665321 HECTOR RODRIGUEZ QUIROS                     PO BOX 561235                                                                                                    GUAYANILLA           PR           00656
   214877 HECTOR RODRIGUEZ RIVERA                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   214878 HECTOR RODRIGUEZ RODRIGUEZ REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214879 HECTOR RODRIGUEZ ROMAN     REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214880 HECTOR RODRIGUEZ TORO      REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214882 HECTOR RODRIGUEZ VELEZ     REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   665326 HECTOR RODRIGUEZ VIGO      BARRIO LAVADERO                          268 CALLE PURA BRISA                                                                     HORMIGUERO           PR           00660
   214883 HECTOR ROLON RAMIREZ       REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   214884 HECTOR ROLON ROMAN         REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   665330 HECTOR ROMAN MARTINEZ      P O BOX 298                                                                                                                       ISABELA              PR           00662
   663849 HECTOR ROMAN NIEVES        BOX 690 SAINT JUST                                                                                                                TRUJILLO ALTO        PR           00978
   665332 HECTOR ROMAN RODRIGUEZ     URB JARD DE CAPARRA                      GG 6 CALLE 37                                                                            BAYAMON              PR           00959



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  665333 HECTOR ROMAN VAZQUEZ                         PO BOX 7126                                                                                                        PONCE              PR         00732
  665336 HECTOR ROMERO                                PO BOX 1373                                                                                                        ISABELA            PR         00662‐1373
  665337 HECTOR ROMERO CENTENO                        URB COUNTRY CLUB              GV9 CALLE 206                                                                        CAROLINA           PR         00982‐2605
  665339 HECTOR ROMERO RIVERA                         SAINT JUST                    92 E CALLE 8                                                                         TRUJILLO ALTO      PR         00976
  665340 HECTOR ROSA CABAN                            URB CIUDAD JARDIN             332 CALLE CLAVE                                                                      CAROLINA           PR         00987
  214886 HECTOR ROSA HERNANDEZ                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   665342 HECTOR ROSADO CONCEPCION                    P O BOX 1441                                                                                                       JUANA DIAZ         PR         00795

   665344 HECTOR ROSADO RODRIGUEZ                     URB LA ESPERANZA              W 3 CALLE 16                                                                         VEGA ALTA          PR         00692
   665345 HECTOR ROSARIO LIND                         URB SAN JOSE                  429 CALLE 3                                                                          SAN JUAN           PR         00923‐1233

   665346 HECTOR ROSARIO RODRIGUEZ                    3 CALLE DR UMPIERRE BAJOS                                                                                          OROCOVIS           PR         00720
   214888 HECTOR ROSARIO SANTIAGO                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          HECTOR ROSARIO/ LEILA
   214889 ROSARIO/ LIANA                              REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   665348 HECTOR RUIZ ACEVEDO                         23 CALLE JOSE CELSO BARBOSA                                                                                        AGUADILLA          PR         00603
   665349 HECTOR RUIZ FLORES                          20 CALLE JOSE GRILLO                                                                                               CAGUAS             PR         00725
   214890 HECTOR RUIZ MELENDEZ                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   665350 HECTOR RUIZ MERCADO                         HC 6 BOX 61544                                                                                                     CAMUY              PR         00627
   214891 HECTOR RUIZ MESTRE                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   214892 HECTOR RUIZ NUNEZ                           REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   665351 HECTOR RULLAN SANTIAGO                      P O BOX 41236                                                                                                      SAN JUAN           PR         00940‐1236
          HECTOR S CARRASQUILLO
   214893 RIVERA                                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   665353 HECTOR S LEVIS LUZUNARIS                    P O BOX 835                                                                                                        LAS PIEDRAS        PR         00771

   665354 HECTOR S PAGAN RODRIGUEZ                    HC 1 BOX 2454                                                                                                      BARANQUITAS        PR         00794
   214895 HECTOR S PENA GONZALEZ                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   665355 HECTOR S ROSADO BAEZ                        HC 08 BOX 52903                                                                                                    HATILLO            PR         00659
   665356 HECTOR S VAZQUEZ ORTIZ                      SUITE 112 262                 100 GRAN BULEVAR PASEOS                                                              SAN JUAN           PR         00926‐5955
   214896 HECTOR SAEZ BENIQUEZ                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   665361 HECTOR SAEZ RIVERA                          PO BOX 7126                                                                                                        PONCE              PR         00732
   214897 HECTOR SALDANA EGOZCUE                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   665364 HECTOR SANABRIA GOMEZ                       PO BOX 7126                                                                                                        PONCE              PR         00732

   665365 HECTOR SANABRIA RODRIGUEZ                   PO BOX 1330                                                                                                        CAGUAS             PR         00726
   214898 HECTOR SANCHEZ ALVAREZ                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   665366 HECTOR SANCHEZ ANDUJAR                      REPTO MONTELLANO              1‐59 CALLE B                                                                         CAYEY              PR         00736
   214900 HECTOR SANCHEZ DE JESUS                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   214902 HECTOR SANCHEZ GRATEROLE                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   214903 HECTOR SANCHEZ HADDOCK                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   214904 HECTOR SANCHEZ MELENDEZ                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   663850 HECTOR SANCHEZ RIVERA                       URB JARDINES DE VEGA BAJA     B 3 CALLE E 1                                                                        VEGA BAJA          PR         00693
   214905 HECTOR SANCHEZ SALGADO                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   214906 HECTOR SANCHEZ SUAREZ                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   665368 HECTOR SANCHEZ VAZQUEZ                      PUERTO NUEVO                  1255 CALLE DELICIAS                                                                  SAN JUAN           PR         00920
   665369 HECTOR SANTANA                              CAPETILLO                     1025 CALLE 7                                                                         SAN JUAN           PR         00925
   665370 HECTOR SANTANA LOPEZ                        C/4 #78 BDA VISTA ALEGRE                                                                                           SAN JUAN           PR         00926
   665371 HECTOR SANTANA VARGAS                       PO BOX 218                                                                                                         NAGUABO            PR         00718
   665372 HECTOR SANTIAGO CANCEL                      PALOMAS STATION               P O BOX 2147                                                                         YAUCO              PR         00698‐2147



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MML ID              NAME                                        ADDRESS 1                    ADDRESS 2                     ADDRESS 3                          ADDRESS 4              CITY          STATE    POSTAL CODE        COUNTRY
  665373 HECTOR SANTIAGO COLON                        HC 05 BOX 92202                                                                                                     ARECIBO             PR           00612
  665374 HECTOR SANTIAGO DELGADO                      PO BOX 7126                                                                                                         PONCE               PR           00732
  665375 HECTOR SANTIAGO DIAZ                         PO BOX 195                                                                                                          FAJARDO             PR           00740
  214908 HECTOR SANTIAGO DISTR.                       P.O. BOX 195458                                                                                                     SAN JUAN            PR           00919‐4558
         HECTOR SANTIAGO
  665376 DISTRIBUTORS                                 PO BOX 194558                                                                                                       SAN JUAN            PR           00919‐4558

   214909 HECTOR SANTIAGO GONZALEZ                    REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   214910 HECTOR SANTIAGO JIMENEZ                     REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   214911 HECTOR SANTIAGO MARTINEZ                    REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   214912 HECTOR SANTIAGO MORENO                      REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   665379 HECTOR SANTIAGO NEGRON                      HC 1 BOX 2216                                                                                                       MOROVIS             PR           00687
   665380 HECTOR SANTIAGO PACHECO                     CAPARRA TERRACE             SO 1404 CALLE 20                                                                        SAN JUAN            PR           00921
   214913 HECTOR SANTIAGO PEREZ                       REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   214914 HECTOR SANTIAGO QUIROS                      REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   665381 HECTOR SANTIAGO RIVERA                      CALLE ESTEBAN PADILLA       60 E ALTOS                                                                              BAYAMON             PR           00959

   214916 HECTOR SANTIAGO SANTIAGO                    REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   665384 HECTOR SANTIAGO SANTOS                      P O BOX 142041                                                                                                      ARECIBO             PR           00614‐2041
   665387 HECTOR SANTIAGO VAZQUEZ                     REPARTO ESPERANZA           F10 CALLE 7                                                                             YAUCO               PR           00698
   214917 HECTOR SANTOS AGOSTO                        REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   665389 HECTOR SANTOS NIEVES                        HC 1 BOX 6140                                                                                                       MOCA                PR           00676
   214918 HECTOR SANTOS ORTIZ                         REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   665392 HECTOR SANTOS SANCHEZ                       URB LOS ROSALES II          AVE 6 54                                                                                MANATI              PR           00674
   665393 HECTOR SANTOS SISCO                         VALLE ALTAMIRA              33 CALLE CLAVEL                                                                         PONCE               PR           00731

   214919 HECTOR SEGARRA CARABALLO                    REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   214920 HECTOR SEPULVEDA PEREZ                      REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   665394 HECTOR SERRANO                              104 CALLE AGUSTIN CABRERA                                                                                           CAROLINA            PR           00985
   214921 HECTOR SERRANO MANGUAL                      REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   665396 HECTOR SERRANO OLAN                         URB VALLE ARRIBA HGTS       O 3 CALLE EUCALIPTO                                                                     CAROLINA            PR           00987
   214922 HECTOR SERRANO RAMOS                        REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   214923 HECTOR SERRANO ROMERO                       REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                                                  85 BOULEVARD DE LA MEDIA
   665397 HECTOR SERRANO ROSA                         PAISAJES DEL ESCORIAL       LUNA                        APARTADO 201                                                CAROLINA            PR           00987
   665398 HECTOR SERRANO SANTIAGO                     EXT LA MILAGROSA            T 24 CALLE PADRE MARIANO                                                                BAYAMON             PR           00959

   665401 HECTOR SIERRA FEBRES                        URB. SABANA GARDENS         BLQ.23 #2 CALLE PRINCIPAL SUR                                                           CAROLINA            PR       00983
   665402 HECTOR SIERRA MANSO                         HILL BROTHERS               394 AVE 65 INF KM 3 4                                                                   SAN JUAN            PR       00924
   214925 HECTOR SOLANO MORETA                        REDACTED                    REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   214927 HECTOR SOSA PADILLA                         REDACTED                    REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   665405 Hector Sostre Martinez                      SICOSOCIAL CAYEY                                                                                                    Hato Rey            PR       009360000
   214928 HECTOR SOTO CABRERA                         REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   214929 HECTOR SOTO COLON                           REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   214930 Hector Soto Gonzalez                        REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   214931 HECTOR SOTO LORENZO                         REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   214932 HECTOR SOTO MARTINEZ                        REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   214933 HECTOR SOTO MUNOZ                           REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   665408 HECTOR SOTO RAMOS                           O 304 COND RIVERA PARK                                                                                              BAYAMON             PR       00959
   663851 HECTOR SOTO SOTO                            PO BOX 37763                                                                                                        SAN JUAN            PR       00937‐0763
   214934 HECTOR SOTO TROCHE                          REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED REDACTED           REDACTED



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   665409 HECTOR SPRIEL FOGEL FIGUEROA URB VALENCIA                           AP 20 CALLE 17                                                                       BAYAMON             PR           00959
                                       CAPARRA GALLERY BLDG SUITE
   665410 HECTOR STELLA ESTEVEZ        304                                    107 GONZALEZ GIUSTI                                                                  GUAYNABO            PR           00966
   214936 HECTOR STEWART MEJIAS        REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214937 HECTOR SUAREZ                REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214938 HECTOR SUAREZ GRAFALS        REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214939 HECTOR SUAREZ RIVERA         REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665416 HECTOR T MIRANDA FLORES      HC 763 BOX 3275                                                                                                             PATILLAS            PR           00784
   665417 HECTOR T USERA DUPREY        HC 1 BOX 4724                                                                                                               ARROYO              PR           00714
          HECTOR T. CARABALLO
   214940 CARRASQUILLO                 REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   665419 HECTOR TEXIDOR RODRIGUEZ                    EXT FOREST HILL         702 CALLE URUGUAY                                                                    BAYAMON             PR           00959
   665420 HECTOR TIRADO ROSARIO                       HC 764 BOX 8472                                                                                              PATILLA             PR           00723
   214941 HECTOR TORRES                               REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665424 HECTOR TORRES ACOSTA                        BO JUAN DOMINGO         59 INT CALLE LOS ROBLES                                                              GUAYNABO            PR           00966
   665425 HECTOR TORRES AMELY                         HC 04 BOX 46672                                                                                              MAYAGUEZ            PR           00680
   214942 HECTOR TORRES BONILLA                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665427 HECTOR TORRES HOYOS                         URB SAN GERARDO 314     CALLE MONTANA                                                                        SAN JUAN            PR           00926
   214945 HECTOR TORRES MALAVE                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214947 HECTOR TORRES MONTALVO                      REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214948 HECTOR TORRES ORTIZ                         REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214950 HECTOR TORRES RIVERA                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214951 HECTOR TORRES RODRIGUEZ                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665432 HECTOR TORRES ROSARIO                       PARC PEREZ              17 CALLE A                                                                           ARECIBO             PR           00612
                                                      BA CEIBA SECT TOMAS
   665433 HECTOR TORRES RUIZ                          GONZALEZ                KM 6.0 APARTADO 9685                                                                 CIDRA               PR           00739
   665435 HECTOR TORRES SANTIAGO                      VISTA DEL CONVENTO      2 A 4 CALLE 1                                                                        FAJARDO             PR           00738
   214952 HECTOR TORRES SUAREZ                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   214953 HECTOR TORRES TORRES                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HECTOR TORRES Y/O CRUCE
   665436 NADO INC                                    PLAYA PONCE             BOX 367                                                                              PONCE               PR           00734
   665438 HECTOR TOSADO CHICO                         16 CALLE BETANCES                                                                                            CAMUY               PR           00627
   665439 HECTOR TOTTI GONZALEZ                       PO BOX 9447                                                                                                  CAGUAS              PR           00726‐9447
   665440 HECTOR TRABALLINI                           DAVID LUQUE             82 GENERAL PAZ 5000                                                                  CORDOVA                                        ARGENTINA
   665441 HECTOR TRAVERSO MENDEZ                      PO BOX 1798                                                                                                  SAN SEBASTIAN       PR           00685
   214955 HECTOR TRAVERSO RAMOS                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665443 HECTOR TROCHE FLORES                        VILLA TURABO            E 50 CALLE LAUREL                                                                    CAGUAS              PR           00725
   665444 HECTOR TRUJILLO SANTANA                     PO BOX 1649                                                                                                  ARECIBO             PR           00613
          HECTOR U GARCIA RIVERA Y
   665445 PEDRO HERNANDEZ                             P O BOX 3687                                                                                                 BAYAMON             PR           00958
   214956 HECTOR U LOPEZ LOPEZ                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665446 HECTOR U ORTIZ TORRES                       PLAZA 18 MALL OFIC 29   701 AVE RH TODD                                                                      SAN JUAN            PR           00908
   214957 HECTOR URGELL CUEBAS                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665448 HECTOR V MORALES PEREZ                      POLICIA DE PR           PO BOX 70166                                                                         SAN JUAN            PR           00936‐8166
   214958 HECTOR V RIVERA GONZALEZ                    REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214959 HECTOR V ROLON RODRIGUEZ                    REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   214960 HECTOR V SANTINI MELENDEZ                   REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665449 HECTOR V TORRES PLANAS                      PO BOX 560996                                                                                                GUAYANILLA          PR           00656
   665450 HECTOR VALENCIA RULLAN                      VILLA NEVAREZ           309 CALLE 26                                                                         SAN JUAN            PR           00927‐5204



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  665451 HECTOR VALENTIN DE JESUS                     BO QUEBRADA ARENAS           CARR 1 KM 27.0                                                                         CAGUAS              PR           00725

   665452 HECTOR VALENTIN GONZALEZ                    ALT DE MAYAGUEZ              E 7 PICACHO                                                                            MAYAGUEZ            PR           00680
   665454 HECTOR VALENTIN PEREZ                       URB VICTOR ROJAS             2 118 CALLE 4                                                                          ARECIBO             PR           00612

   214962 HECTOR VALENTIN RODRIGUEZ                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   665455 HECTOR VARGAS COBIAN                        SEVILLA BILT                 J 72 CALLE PRINCIPAL                                                                   GUAYNABO            PR           00970
   214963 HECTOR VARGAS DIAZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   665456 HECTOR VARGAS MALDONADO                     SECTOR ARENA                 CALLE BORICUA 10 ESPINOSA                                                              VEGA ALTA           PR           00692
   665457 HECTOR VARGAS MINGUELA                      BOX 6373                                                                                                            MAYAGUEZ            PR           00681
                                                      URB. VILLA CAROLINA 76 CALLE
   663852 HECTOR VAZQUEZ ACEVEDO                      24                                                                                                                  CAROLINA            PR           00985

   214965 HECTOR VAZQUEZ ALVARADO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   214966 HECTOR VAZQUEZ FIGUEROA                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   214968 HECTOR VAZQUEZ GARCIA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   214969 HECTOR VAZQUEZ LORENZO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   665464 HECTOR VAZQUEZ LOZADA                       P O BOX 6054                                                                                                        CAGUAS              PR           00726

   665465 HECTOR VAZQUEZ MARTINEZ                     URB VILLAS DE RIO CANAS      139 CALLE SANTIAGO GUERRA                                                              PONCE               PR           00728‐1945
   214973 HECTOR VAZQUEZ VEGA                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   665466 HECTOR VEGA GUZMAN                          BO ZANJAS SECTOR LA VEGA                                                                                            CAMUY               PR           00627
   214976 HECTOR VEGA REYES                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   665469 HECTOR VEGA SOBERAL                         APT 721                                                                                                             CAMUY               PR           00627
   214978 HECTOR VEGA TAPIA                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   665470 HECTOR VELAZQUEZ ABREU                      COND GALERIA                 201 AVE HOSTOS APT 804                                                                 SAN JUAN            PR           00918
          HECTOR VELAZQUEZ
   665472 HERNANDEZ                                   COND PARQUE DE LA VISTA      APT 202                                                                                SAN JUAN            PR           00924
   214980 HECTOR VELAZQUEZ PEREZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   665473 HECTOR VELAZQUEZ RIVERA                     HC 763 BOX 3788                                                                                                     PATILLAS            PR           00723
   665474 HECTOR VELEZ ALVAREZ                        VILLA CAROLINA               172 2 CALLE 401                                                                        CAROLINA            PR           00985

   214981 HECTOR VELEZ CARRASQUILLO                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   665476 HECTOR VELEZ DE JESUS                       P O BOX 86                                                                                                          QUEBRADILLAS        PR           00678
   214984 HECTOR VELEZ QUIROS                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   665478 HECTOR VELEZ RODRIGUEZ                      P O BOX 2515                                                                                                        ISABELA             PR           00662
   665479 HECTOR VELEZ SANTIAGO                       PO BOX 240                                                                                                          SANTA ISABEL        PR           00757
   214985 HECTOR VELEZ SOTO                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   214986 HECTOR VENTURA MELENDEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   665480 HECTOR VIDAL RAMOS                          LAS LOMAS                    805 CALLE 45 SO                                                                        SAN JUAN            PR           00921
   665481 HECTOR VIENTOS GUZMAN                       13 CALLE JOSE TORRES         PINO                                                                                   SAN SEBASTIAN       PR           00685
   214988 HECTOR VIERA PAGAN                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   665482 HECTOR VIERA ZURINAGA                       PO BOX 1781                                                                                                         GUAYNABO            PR           00969
                                                      URB FAIR VIEW 1871 DIEGO
   665484 HECTOR VIGIL DELGADO                        SALAZAR                                                                                                             SAN JUAN            PR           00926
   665485 HECTOR VILLALOBOS VELEZ                     REPARTO MACIA                106 AVE PORVENIR                                                                       MAYAGUEZ            PR           00680
   771081 HECTOR VILLAMIL CARRION                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   665487 HECTOR VILLANOVA RIVERA                     URB ALMIRA                   AG 5 CALLE 4                                                                           TOA BAJA            PR           00680
   214990 HECTOR VILLANUEVA RIVERA                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   665488 HECTOR W RIOS VELEZ                         109‐A CALLE VAZQUEZ BAEZ                                                                                            MAYAGUEZ            PR           00680
   665489 HECTOR W SANTANA FLORES                     PO BOX 10005                                                                                                        HUMACAO             PR           00792‐1120
   665490 HECTOR W. ACEVEDO SOTO                      PO BOX 5295                                                                                                         SAN SEBASTIAN       PR           00685



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  214993 HECTOR W. MALAVE CUEBAS                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         HECTOR WILLIAM MALAVE
  214994 CANCEL                                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  214995 HECTOR X AYALA TORRES                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  214996 HECTOR X DIAZ RIVERA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  214997 HECTOR X PEREZ TORRES                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  214999 HECTOR Y AGOSTO POMALES                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   665491 HECTOR Y CABRERA TALAVERA                   H C 4 BOX 48009                                                                                                    HATILLO             PR         00659
   665492 HECTOR Y COLON SERRANO                      BO SAN DANIEL               HC 1 BOX 10168                                                                         ARECIBO             PR         00612
   665494 HECTOR Y TITO EVENT INS                     161 CALLE PEDRO ARZUAGA                                                                                            CAROLINA            PR         00985
   665495 HECTOR YTHEIR WILSON                        P O BOX 16                                                                                                         CEIBA               PR         00735
   215000 HECTOR ZAPATA SANABRIA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HECTOR ZARAGOZA /KMART
   215002 CORP                                        4844 BIG KMART 9410         AVE LOS ROMEROS                                                                        SAN JUAN            PR         00926
   215016 HECTOR ZAYAS MONTALVO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665496 HECTOR ZENO ZENO                            PO BOX 38                                                                                                          CIALES              PR         00638
   665497 HECTOR'S AUTO SHOP                          8 CALLE CUESTA NUEVA                                                                                               AGUADILLA           PR         00603

   665498 HECTOR'S ESSO SERVICENTRO                   1751 CALLE LOIZA ESQ TAFT                                                                                          SAN JUAN            PR         00911
          HECTRO IVAN GAUTHIER
   665499 GONZALEZ                                    P O BOX 1544                                                                                                       RIO GRANDE          PR         00745
   665500 HEDDA M ROSSNER CORREA                      PO BOX 3053                                                                                                        TOA ALTA            PR         00692
   215017 HEDDY AGOSTO GALINDEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215019 HEDE MD , VIDYADHAR S                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HEDGES CONSTRUCCION
   665502 COMPANY                                     4405 MALL BLVD              SUITE 100                                                                              UNION CITY          GA         30291
   215020 HEDIBERTO RIVERA LOPEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665503 HEDIN V. GARCIA GUZMAN                      URB LA RIVIERA              1417 CALLE 40 SW                                                                       SAN JUAN            PR         00921

   665504 HEDITH N TORRES PEREZ       HC 01 BOX 7210 CAMBALACHE                                                                                                          CANOVANAS           PR         00729
          HEDUCATIONAL TRAINING & DEV                           2321 CALLE UNIVERSIDAD APT
   215021 CENTER INC                  COND MIRADOR              604                                                                                                      PONCE               PR         00717‐0713
   665505 HEDY JORDAN LOPEZ           EXT CORHADO                                                                                                                        CIALES              PR         00638
          HEECTOR L VELAZQUEZ &
   215022 MILDRED A QUINONES          REDACTED                  REDACTED                                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665506 HEEPLA ENGINEERING CORP     PO BOX 11044                                                                                                                       SAN JUAN            PR         00910‐2144

   665507 HEFREN SALGADO HERNANDEZ                    URB SAN PEDRO               38 CALLE ROSALBA IRIZARRY                                                              TOA BAJA            PR         00949
          HEGBERTO ANTONIO SANFELIZ
   215023 VIRELLA                                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665508 HEGEL SAENS CORDERO                         80 CALLE ISABEL                                                                                                    GUAYANILLA          PR         00656

   665509 HEIDA A RODRIGUEZ PACHECO                   P O BOX 5009                                                                                                       YAUCO               PR         00698
   665510 HEIDA L ORTIZ BELEN                         17 CALLE SOL                                                                                                       SAN GERMAN          PR         00683
   215024 HEIDA M PIMENTEL AVILA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665512 HEIDE BARRETO VELAZQUEZ                     UNIVERSITY GARDENS          F 4 CALLE 6                                                                            ARECIBO             PR         00612
   215027 HEIDEE BENITEZ PADRON                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665513 HEIDELBERG U S A INC                        1000 GUTENBERG DRIVE                                                                                               KENNESAW            GA         30144
   665514 HEIDELBERG WEB PRESS                        601 GRASSMERE PARK DRIVE                                                                                           NASHVILLE           TN         37211
   665515 HEIDI A DONIS ALVEIRO                       URB METROPOLIS              2 H 40 CALLE 55                                                                        CAROLINA            PR         00987
   665516 HEIDI CABAN SANTIAGO                        COND SEGOVIA APT 2011                                                                                              SAN JUAN            PR         00918
   665517 HEIDI CARDONA CORTES                        URB COLINAS VERDES          E 12 CALLE 3                                                                           SAN SEBASTIAN       PR         00685



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MML ID                 NAME                                      ADDRESS 1                 ADDRESS 2              ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  215030 HEIDI DIAZ ROCHE                              REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  215031 HEIDI E. FAISCA MONTALVO                      REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  215032 HEIDI GUZMAN TORRES                           REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  215033 HEIDI J FIGUEROA SARRIERA                     REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  215034 HEIDI J RAMOS                                 REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  665520 HEIDI L PEREZ RIVERA                          URB PROYECTO GALATEO      O 7 CALLE 8                                                                      RIO GRANDE        PR         00745
  215035 HEIDI L RODRIGUEZ                             REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  215036 HEIDI L VIERA CARRASQUILLO                    REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  665522 HEIDI LEBRON RODRIGUEZ                        P O BOX 94                                                                                                 JUNCOS            PR         00777
  665523 HEIDI LOPEZ PEREZ                             JARDINES SAN FRANCISCO    EDIF II APT 107                                                                  SAN JUAN          PR         00921
  665524 HEIDI M AYALA CARDONA                         PMB 21                    PO BOX 2300                                                                      AIBONITO          PR         00705
  215037 HEIDI M FIGUEROA CENTENO                      REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  215038 HEIDI M LOPEZ ROSARIO                         REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  215040 HEIDI M RIVERA PEREZ                          REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  665525 HEIDI MARIE SOTO MENDEZ                       P O BOX 8117                                                                                               HUMACAO           PR         00792
  665526 HEIDI MARTINEZ MENDEZ                         HC 02 BOX 8129                                                                                             CAMUY             PR         00627
  215041 HEIDI MAYER REIS                              REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  665527 HEIDI MAYSONET LOPEZ                          RES LOS NARANJALES        EFIF D 36 APT 143                                                                CAROLINA          PR         00985
  215042 HEIDI MIRANDA BROCO                           REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  665528 HEIDI MORALES GONZALEZ                        125 CALLE DR CUESTO                                                                                        UTUADO            PR         00641
  215045 HEIDI N QUINTANA RUIZ                         REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   215046 HEIDI RODRIGUEZ HERNANDEZ                    REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   215049 HEIDI SANTIAGO MORALES                       REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   215050 HEIDI SANTIAGO RIOS                          REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   215051 HEIDIE Y RIVERA AYALA                        REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   215052 HEIDIMAR CRUZ MALDONADO                      REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665533 HEIDIMAR ORTIZ FIGUEROA                      2DA EXT SANTA ELENA II    A 12 C‐1                                                                         GUAYANILLA        PR         00656
   215053 HEIDMAR DE JESUS LOPEZ                       REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   215054 HEIDY A ORTIZ RODRIGUEZ                      REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665534 HEIDY ACEVEDO GONZALEZ                       BO FACTOR I 372           CALLE 23                                                                         ARECIBO           PR         00612
   665535 HEIDY AQUIAR RIVAS                           HC 01 BOX 5960                                                                                             YABUCOA           PR         00767
   215055 HEIDY CHAPMAN GUZMAN                         REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                       COND LOS ALMENDRO PLAZA
   665536 HEIDY FORTY CARRASQUILLO                     APT 306‐1                 701 CALLE EIDER                                                                  SAN JUAN          PR         00924
   665537 HEIDY GARCIA CUEBAS                          PO BOX 4165                                                                                                MAYAGUEZ          PR         00681
   215056 HEIDY GRULLON OSORIO                         REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   215057 HEIDY J COLON MELENDEZ                       REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665539 HEIDY LUCIANO SEPULVEDA                      HC 1 BOX 7722                                                                                              LAJAS             PR         00667‐9706
   665540 HEIDY M COLLAZO                              VILLAS DE CASTRO          EE 16 CALLE 25                                                                   CAGUAS            PR         00725
          HEIDY M RODRIGUEZ
   215058 HERNANDEZ                                    REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   215060 HEIDY M SORDO GARCIA                         REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   215061 HEIDY ORTIZ MARRERO                          REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   215062 HEIDY PEREZ PENA                             REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   215063 HEIDY QUINONES PEREZ                         REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   215064 HEIDY S BURGOS SALAS                         REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   215065 HEIDY SANTANA RIVERA                         REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   215066 HEIDY TORRES PENA                            REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   215067 HEIDY V. RIVERA GONZALEZ                     REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665542 HEIDY VELEZ PEREZ                            BO JAREALITO              CALLE D BUZON 564                                                                ARECIBO           PR         00612
   215068 Heidy Vélez Peréz                            REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  215069 HEIDYANN RUIZ GONZALEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED                REDACTED   REDACTED     REDACTED
  665543 HEILEENE COLBERG BIRRIEL                     C 8 VILLA HUCAR ROBLES                                                                                         SAN JUAN                PR         00926
  665544 HEIMANN SYSTEMS CORP                         P O BOX 410                                                                                                    PINE BROOK              NJ         07058
         HEINRICH DE JESUS FERNANDEZ
  215074 CEDANO                                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED                REDACTED   REDACTED     REDACTED

   665545 HEINZ MORGENTHALER CADET                    ROUND HILLS                  171 CALLE GARDENIA                                                                TRUJILLO ALTO           PR         00976
   665546 HEIP NGUYEN                                 2524 SAN GABRIEL DRIVE                                                                                         PLANO                   TX         75074
   215075 HEIRLOOM SEWING STUDIO                      P.O. BOX 1332                                                                                                  CAGUAS                  PR         00726
   215077 HEISER, JOSEPH W.                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED                REDACTED   REDACTED     REDACTED
   215078 HEIZA VAZQUEZ                               REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED                REDACTED   REDACTED     REDACTED

   665547 HEKAMICH INC                                2409 COND PASEO DEL BOSQUE                                                                                     SAN JUAN                PR         00926
          HELADERIA DEL PAIS LAS TRES
   665548 BARQUILLAS                                  167 CALLE BATENCES                                                                                             BAYAMON                 PR         00961‐6206
   665549 HELADERIA LA PERLA                          51 CALLE CRISTINA                                                                                              PONCE                   PR         00731

   215079 HELAINE A GREGORY GONZALEZ                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED                REDACTED   REDACTED     REDACTED
   665550 HELAPAN INC.                                PO BOX 362213                                                                                                  SAN JUAN                PR         00936
   215081 HELDAIS VALENTIN MARTI                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED                REDACTED   REDACTED     REDACTED
   215082 HELDER F GONZALEZ                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED                REDACTED   REDACTED     REDACTED
   665553 HELDREF PUBLICATION                         1319 EIGHTEENTH ST., N.W.                                                                                      WASHINTON               DC         20036‐1802
   215083 HELECOOP                                    PO BOX 609                                                                                                     BARRANQUITAS            PR         00794
          HELEN AMINTA CESANI
   215084 FELICIANO                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED                REDACTED   REDACTED     REDACTED

   665558 HELEN BURGOS CAMACHO                        UNID. ALCOHOLISMO Y DESINT                                                                                     Hato Rey                PR         009360000
   215085 HELEN BURGOS RODRIGUEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED                REDACTED   REDACTED     REDACTED
   215086 HELEN CABRERA AHORRIO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED                REDACTED   REDACTED     REDACTED
   665561 HELEN CHERVONY FIGUEROA                     URB ROYAL TOWN               6‐3 CALLE 50                                                                      BAYAMON                 PR         00956
   665562 HELEN COFFEE HOUSE                          URB MONTEVISTA 20            CALLE IGUALDAD                                                                    FAJARDO                 PR         00738
   215087 HELEN COREANO WILLIAM                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED                REDACTED   REDACTED     REDACTED
   215088 HELEN CRUZ MUNIZ                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED                REDACTED   REDACTED     REDACTED
   215089 HELEN CRUZ NUNEZ                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED                REDACTED   REDACTED     REDACTED
   665563 HELEN CRUZ RODRIGUEZ                        URB VALLE HERMOSO            SM 3 CALLE VIOLETA                                                                HORMIGUEROS             PR         00660
   665564 HELEN DE JESUS SUAREZ                       PO BOX 632                                                                                                     ARROYO                  PR         00714
   215090 HELEN DIAZ                                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED                REDACTED   REDACTED     REDACTED
   215091 HELEN DIAZ MORALES                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED                REDACTED   REDACTED     REDACTED
   215092 HELEN E BRIGANTI ESPADA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED                REDACTED   REDACTED     REDACTED
   215093 HELEN E LADNER                              REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED                REDACTED   REDACTED     REDACTED
   665565 HELEN E ROMAN BELTRAN                       P O BOX 3000                                                                                                   ANGELES                 PR         00611
   215094 HELEN ECHEVARRIA                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED                REDACTED   REDACTED     REDACTED
          HELEN ELENA CAJIGAS
   215095 RODRIGUEZ                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED                REDACTED   REDACTED     REDACTED
                                                      19 PRIMERA CERRADA SAN
   665567 HELEN ESCOBEDO                              JERONIMO                                                                                                       SAN JERONIMO LIDICE     NM         10220
   215096 HELEN GARCIA MARIANI                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED                REDACTED   REDACTED     REDACTED
   665568 HELEN H KRUMPE                              COND PLAYA AZUL 2            APT 805                                                                           LUQUILLO                PR         00773
          HELEN KELLER NATIONAL
   665570 CENTER                                      111 MIDDLE NECK ROAD                                                                                           SANDPOINT               NY         11050

   665571 HELEN LARACUENTE CORDERO                    HC 02 BOX 8324                                                                                                 QUEBRADILLA             PR         00678
   215097 HELEN LOPEZ LEON                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED                REDACTED   REDACTED     REDACTED



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MML ID              NAME                                       ADDRESS 1                       ADDRESS 2                   ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  215098 HELEN LOZADA GONZALEZ                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  665572 HELEN M COLON                                COND LOS CORALES APT 310       ISLA VERDE                                                                            CAROLINA            PR         00979
  215099 HELEN M CORDOVA DE JESUS                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  665573 HELEN M NIEVES SERRANO                       BOX 9126                                                                                                             ARECIBO             PR         00613
  215100 HELEN M TORRES RAMIREZ                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  215101 HELEN M VELAZQUEZ COLON                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   215102 HELEN M. SUAREZ ENCHAUTEGUI REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665576 HELEN MEDINA AQUINO         HC 05 BOX 35815                                                                                                                      SAN SEBASTIAN       PR         00685
   215103 HELEN MELENDEZ ALVARADO     REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215104 HELEN MERCADO COLON         REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215105 HELEN MOLINA                REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665555 HELEN MONTALVO CASTRO       FACTOR I                                       430 CALLE 23                                                                          ARECIBO             PR         00612
   665579 HELEN REYES FONTANEZ        URB LOS ANGELES                                013 AVE LAS FLORES                                                                    CAROLINA            PR         00979
   665580 HELEN RIVERA CABRERA        VILLA FONTANA                                  LL 12 CIA 23                                                                          CAROLINA            PR         00983

   665582 HELEN RODRIGUEZ ARROYO                      URB ALTURAS DE VILLA DEL REY   F 7 CALLE DAMASCO                                                                     CAGUAS              PR         00726
   215109 HELEN RODRIGUEZ RIVERA                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665584 HELEN ROSA SANTIAGO                         PLAZA LAS AMERICAS             TORRE DE PLAZA SUITE 601                                                              SAN JUAN            PR         00918
   665586 HELEN ROVIRA FIGUEROA                       PO BOX 9797                                                                                                          SAN JUAN            PR         00908
   215110 HELEN RUIZ MEDINA                           REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665556 HELEN S PAPPAS                              1401 OKIE ST NE                                                                                                      WASHINGTON          DC         20002
   215112 HELEN SAMPEDRO COLON                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665587 HELEN SECOLA LUCIANO                        VILLA DEL CARMEN               2139 CALLE TOLOSA                                                                     PONCE               PR         00716‐2213
   215113 HELEN SERRANT TORRES                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215114 HELEN SIA                                   REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215115 HELEN SIGMASTER                             REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665588 HELEN SOSA                                  1367 AVE WILSON APT 201                                                                                              SAN JUAN            PR         00907
   215116 HELEN T. RAMOS LUGO                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665589 HELEN VAZQUEZ ORTA                          URB ALTURAS DEL RIO            CALLE 4 E 7                                                                           BAYAMON             PR         00959
   215117 HELENA E BORDAS FABER                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215118 HELENA FLORES DONES                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215119 HELENA G MENDEZ MEDINA                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HELENA LABORATORIE
   215120 CORPORATION                                 1530 LINDBERGH DRIVE                                                                                                 BEAUMONT            TX         77707
  1256537 HELENA LABORATORIES                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   215121 HELENA M MARQUEZ ACEVEDO                    REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215122 HELENA MONTERO                              REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215123 HELENA SANTIAGO GUZMAN                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215124 HELENA VILLANUEVA BOSCH                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215126 HELENIA CASTRO ALVAREZ                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665590 HELENIA MEDINA TORRES                       PO BOX 3001 SUITE 531                                                                                                RIO GRANDE          PR         00745
   665591 HELENICA LASTRA OBEN                        P O BOX 8176                                                                                                         CAROLINA            PR         00986
          HELENS CAKE & CATERING
   665592 SERVICE                                     URB VISTAMAR                   355 AVENIDA PONTEZUELA                                                                CAROLINA            PR         00982
   665593 HELEODORA SANCHEZ ORTIZ                     C/O JOSE M. POMALES            PO BOX 8000                                                                           SAN JUAN            PR         00910‐0800

   215127 HELEYDE APONTE DE MALATRASI REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   215128 HELEYDE VELEZ CARRASQUILLO                  REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215129 HELEYDIS VALENTIN RIVERA                    REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215131 HELFELD, DAVID M.                           REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  665594 HELGA A MARCANO                              VILLA HUMACAO                 H 16 CALLE 5                                                                            HUMACAO           PR         00791
  665595 HELGA BERLINGERI                             PO BOX 5453                                                                                                           MAYAGUEZ          PR         00681
  215133 HELGA COLON VELEZ                            REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   215134 HELGA D FONTANEZ VELAZQUEZ REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665597 HELGA E FELICIANO CRUZ     JARD DEL CARIBE                                1541 CALLE PRENIFORME                                                                   PONCE             PR         00728

   215135 HELGA E MERCADO BRIGNONI                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                    1165 CALLE CANARIS URB
   665600 HELGA E. RIVERA MORALES                     PUERTO NUEVO                  PUERTO NUEVO                                                                            SAN JUAN          PR         00920
   215136 HELGA F CEPEDA PINA                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665601 HELGA GRIFFITHS                             88 BAUST                      OBER RAMSTADT                                                                           GERMANY                      64372
   665602 HELGA I MENDEZ SOTO                         BO LAGUNAS                    HC 58 BOX 13732                                                                         AGUADA            PR         00602
   665605 HELGA L PEREZ RIOS                          P O BOX 360982                                                                                                        SAN JUAN          PR         00936‐0982
   665606 HELGA L TORRES RAMOS                        PO BOX 494                                                                                                            JAYUYA            PR         00664
   665607 HELGA M GOMEZ VALLEJO                       PO BOX 225                                                                                                            SAN LORENZO       PR         00754
   215137 HELGA M GONZALEZ NIEVES                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                    TOWERS APT 503 CALLE
   665608 HELGA M PINERO MARTINEZ                     COND GARDENS HILLS            MIRAMONTES                                                                              GUAYNABO          PR         00966
   665609 HELGA M VEGA CABRERA                        URB EL VERDE                  23 CALLE MERCURIO                                                                       CAGUAS            PR         00725
   665610 HELGA MATIAS SANTIAGO                       COM MONTESORIA                SOLAR 210                                                                               SALINAS           PR         00751
   215138 HELGA SERRANO GUTIERREZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   215139 HELGA SOE RODRIGUEZ                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      HP‐PSIQUIATRICO FORENSE
   665612 HELGA TORRES COLON                          PONCE                                                                                                                 Hato Rey          PR         009360000
   665614 HELI DYNE SYSTEMS INC                       PO BOX 99221                                                                                                          FORTH WORTH       TX         76199‐0221
   665615 HELIA FLORES ARROYO                         REPARTO VILLA ALBERTA 10                                                                                              MANATI            PR         00674
   215140 HELICA GONZALEZ ROSA                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   215141 HELICOPTER HELMET                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665616 HELICORP INC                                PO BOX 2025                                                                                                           LAS PIEDRAS       PR         00771
   215142 HELINES CRUZ CINTRON                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665617 HELIO ALVARRADO TORRES                      EL SE¥ORIAL 2021              CALLE GARCIA LORCA                                                                      SAN JUAN          PR         00926
   665618 HELIO I. BEAUCHAMP REYES                    PO BOX 957                                                                                                            MANATI            PR         00674

   665619 HELIO R PORTO FARIAS                        URB EL VEDADO                 243 CALLE ALMIRANTE PINZON                                                              SAN JUAN          PR         00918
   665620 HELIODORA ROSA RIVERA                       HC 2 BOX 14470                                                                                                        AGUAS BUENAS      PR         00703
   215143 HELIODORO LEBRON CRUZ                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   215144 HELIOS A.ZENO CALERO                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665622 HELIWAYS                                    PO BOX 70250 SUITE 226                                                                                                SAN JUAN          PR         00936‐8250
   665623 HELLEN ALLENDE RODRIGUEZ                    RES MONTE PARK                EDIF I APT 122                                                                          SAN JUAN          PR         00924
   215145 HELLEN VELEZ CORDERO                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665624 HELLO DIRECT INC                            5893 RUE FERRARI                                                                                                      SAN JOSE          CA         95138‐1857
   215146 HELLO DIRECT, INC                           5893 RUE FERRARI                                                                                                      SAN JOSE          CA         95138‐1857
   215148 HELMAN BENABE ALVAREZ                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   665625 HELMER CORDERO RODRIGUEZ                    URB VALLE HERMOSO             SZ 9 CALLE JAZMIN                                                                       HORAMIGUEROS      PR         00660
   215149 HELMER J BORRAS SOTO                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   215151 HELMES M CRUZ RODRIGUEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665626 HELP                                        PO BOX 192476                                                                                                         SAN JUAN          PR         00919‐2476
          HELP DESK TECHNOLOGY                        2010 WINSTON PARK DRIVE
   215153 CORPORATION                                 SUITE 401                                                                                                             OAKVILLE          ONT        L6H 5R7      CANADA
          HELPDESK TECHNOLOGY
   215154 INTERNATIONAL CORP.                         1328 NORTH FERDON BLVD #315                                                                                           CRESTVIEW         FL         32536



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  215155 HELSON DIAZ LOPEZ                            REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  665627 HELSONE L RAMOS VALLES                       URB VALLE ALTO            B 5 CALLE 1                                                                            PATILLAS             PR         00723
  215156 HELSONE RAMOS VALLES                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                      2464 SOUTH SHERIDAN WAY
   215157 HELSTAR.COM INC                             SUITE 200                                                                                                        MISSISAUGA           ONT        L5J2MB       CANADA
                                                      3600 AMERICAN BOULEVARD
   665628 HELTH FITNESS CORPORATION                   EWST                      SUIT 560                                                                               MINNEAPOLIS          MN         55431
          HELTH LIFE REHABILITATION
   215158 CENTER INC                                  URB PEREZ MORIS           44 CALLE MAYAGUEZ                                                                      SAN JUAN             PR         00917
   215159 HELTIE VELEZ GONZALEZ                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   665629 HELTON CINTRON OJEDA                        PO BOX 2490                                                                                                      SAN GERMAN           PR         00683

   215161 HELVETHIA POLYDORE CORREA                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   215162 HELVETIA ARCE HERNANDEZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   665630 HELVETIA DEL CARIBE INC                     P O BOX 4849                                                                                                     CAROLINA             PR         00984 4849
   215164 HELVIA GUZMAN MERCADO                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   215165 HELVIA M IRIZARRY QUINTERO                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   665632 HELVIA RIVERA BARRETO                       BO CARMELITA              8 CALLE 1                                                                              VEGA BAJA            PR         00693
   665634 HELVYN SIFONTE PEREZ                        BO SABANA BUEVA VISTA     326 CALLE 1                                                                            BAYAMON              PR         00957
   665635 HEMAN RIJOS DELGADO                         HC 33 BOX 5206                                                                                                   DORADO               PR         00646
          HEMCO ELECTRICAL AND
   665636 MECHANICAL ASSC SE                          PO BOX 361888                                                                                                    SAN JUAN             PR         00936‐1888
   215168 HEMENEGILDO CABAN VIGIO                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   215173 HENAR PLAZA TORRES                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   215174 HENARDO L MUNIZ AGOSTO                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          HENDERSON MENTAL HEALTH
   215180 CLINIC                                      MEDICAL RECORDS           4720 N SR 7 BLDG B                                                                     FT LAUDERDALE        FL         33319
          HENDRIC J ALVARADO
   215181 RODRIGUEZ                                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   215183 HENDRICK CASTILLO CORDERO                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   215185 HENDRICK L SEDA                             REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   665637 HENDRIKUS I STROOBAND                       SAN JOSE                  703 INDEPENDENCIA                                                                      ARECIBO              PR         00612
   665638 HENDRIX ALOMAR MARTINEZ                     BDA LA PERLA              4 CALLE CONCEPCION SILVA                                                               SAN JUAN             PR         00901
   665639 HENDRYCK RUIZ ORTIZ                         PO BOX 832                                                                                                       BOQUERON             PR         00622
   215186 HENDRYX MALARET                             REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   665640 HENFRAMAR CORPORATION                       PO BOX 364165                                         BAYAMON                                                    SAN JUAN             PR         00936
   215187 HENKEL OF AMERICA INC                       AREA DEL TESORO           DIVISION DE RECLAMACIONES                                                              SAN JUAN             PR         00902‐4140
          HENNEPIN COUNTY MEDICAL
   215190 CENTER                                      4550 WEST 77TH STREET     SUITE 121                                                                              MINNEAPOLIS          MN         55435
   215192 HENRI J WATSON                              REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   215194 HENRICK M IERKIC VIDMAR                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          HENRICUS STEENBAKKERS
   215195 SYBERS                                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   215197 HENRICY MARTINEZ, JULIA                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   665643 HENRIETTA ZAVALA                            1102 ESSEX ST                                                                                                    SAN ANTONIO          TX         78210
                                                      ARCHIRO NACIONAL DE LAS
   665644 HENRIQUEZ JEANNE D                          ANTILLAS                                                                                                         NEW LANDESAS GURAGAO            0000         INDIA
   215236 HENRIQUEZ MD , MARIO A                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          HENRRY CARRION
   665645 VALETIN/BEATRIZ CARRION                     PO BOX 1602                                                                                                      ARECIBO              PR         00613
   215278 HENRRY RODRIGUEZ PABON                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  215279 HENRY A CASTRO MORALES                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   665646 HENRY A RODRIGUEZ GINORIO                   COND MONT BLANK APT 7    656 CALLE MCKINLEY                                                                  SAN JUAN            PR       00907
   215282 HENRY A. OLANO SOLER                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   665647 HENRY ALICEA SEPULVEDA                      PARC SABANA ENEDS        CALLE J BUZON 323                                                                   SAN GERMAN          PR       00683
   215285 HENRY ANDREUSAGARDIA                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   665648 HENRY ASASHI YAMADA ROSA                    VILLAS DE BUENA VISTA    C 4 CALLE ARES                                                                      BAYAMON             PR       00956
   215286 HENRY AUTO INC                              URB GONZALEZ SEIJO       601 CALLE DE DIEGO                                                                  SAN JUAN            PR       00924
   665649 HENRY BELTRAN FERRER                        HC 71 BOX 1800                                                                                               NARANJITO           PR       00719
   665650 HENRY BENEJAN VAZQUEZ                       PMB 412 P9O BOX 7891                                                                                         GUAYNABO            PR       00970‐7891
   665651 HENRY BERRIOS RIVERA                        RR 2 BOX 5912                                                                                                MANATI              PR       00674
   215288 HENRY BRUNO ROMAN                           REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   215289 HENRY BURGOS                                REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   215290 HENRY BURGOS BURGOS                         REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   215291 HENRY CABRERA                               REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED

   215292 HENRY CALDERON RODRIGUEZ REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215294 HENRY CAO                    REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HENRY CARRASQUILLO
   665653 MONTERO                      BARRIO OBRERO                           759 CALLE 13                                                                        SAN JUAN            PR         00915
   215296 HENRY COLE RIOS              REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HENRY COLLAZO Y MARIA DE LOS
   215297 A LUGO                       REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665654 HENRY COLON LASALLE          EXT SAN RAMON                           C 11                                                                                HATILLO             PR         00659
   665655 HENRY COLON RIVERA           RR 3 BOX 5200                                                                                                               SAN JUAN            PR         00926
   215299 HENRY COLON SANTIAGO         REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215302 HENRY CORDERO ROSADO         REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215303 HENRY CORIANO ORTIZ          REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665657 HENRY CRUZ COSS              HC 1 BOX 8104                                                                                                               LAS PIEDRAS         PR         00771
   665658 HENRY CRUZ FIGUEROA          151 CALLE JOBOS                                                                                                             SABANA GRANDE       PR         00637
   215304 HENRY CRUZ MARTINEZ          REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   215265 HENRY D RODRIGUEZ DEL VALLE REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   215305 HENRY DE JESUS LARACUENTE                   REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665660 HENRY DE LA ROSA                            REPTO JERUSALEM          10 CALLE M DE LA ROSA                                                               ISABELA             PR         00662
   665661 HENRY DEL CRISTO ROSA                       URB RAFAEL BERMUDEZ      B 16 CALLE 3                                                                        FAJARDO             PR         00738
   665662 HENRY DIAZ DIAZ                             9 MARIO BRASCHI                                                                                              COAMO               PR         00769
   665664 HENRY DÖAZ JORDµN                           COND HATO REY PLAZA      APT 16‐F                                                                            SAN JUAN            PR         00918
   665665 HENRY E PAEZ DURANGO                        P O BOX 52172                                                                                                TOA BAJA            PR         00950
   215308 HENRY E. SANCHEZ MELO                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215309 HENRY ERNEST R                              REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665668 HENRY F GONZALEZ BERNDT                     VILLA VERDE              F4 CALLE E                                                                          GUAYNABO            PR         00966
   665669 HENRY F RODRIGUEZ LOPEZ                     HC 71 BOX 1429                                                                                               NARANJITO           PR         00719
   215310 HENRY FELICIANO ROMAN                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215311 HENRY FERRER RODRIGUEZ                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   215312 HENRY FIGUEROA RODRIGUEZ                    REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665670 HENRY GLASS                                 SUITE 165 CORREO & MAS   PO BOX 4956                                                                         CAGUAS              PR         00726‐4956
          HENRY GONZALEZ LOPEZ ‐
   665671 VICTOR GONZALEZ                             PO BOX 3730                                                                                                  GUAYNABO            PR         00970
   665672 HENRY J CASTRO BURGOS                       P O BOX 1261                                                                                                 JUNCOS              PR         00777
   215314 HENRY J CRUZ MARRERO                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  665673 HENRY J FUENTES                              URB LOS ANGELES         26 CALLE PISCIS                                                                         CAROLINA            PR         00797
  215315 HENRY J MERCADO TUBENS                       REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  215316 HENRY J MORALES ROMAN                        REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  215317 HENRY J NEGRON RIVERA                        REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  215318 HENRY J RIVERA PENA                          REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  665674 HENRY J TABOADA COLLAZO                      BONNEVILLE HEIGHTS      47 CALLE AGUAS BUENAS                                                                   CAGUAS              PR         00725
  665675 HENRY JAVIER VALENTIN                        COM MONTESORIA          SOLAR 102                                                                               SALINAS             PR         00751
  215319 HENRY JIMENEZ RODRIGUEZ                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  215320 HENRY JOHN LOPEZ RIVERA                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         HENRY JORDAN VELAZQUEZ
  215321 BANOS                                        REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  215322 HENRY K GILES MONTALVO                       REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  215325 HENRY LIANG                                  REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  215326 HENRY LOPEZ AMADEO                           REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  665676 HENRY LOPEZ MONTALVO                         RR 04 BOX 27194                                                                                                 TOA ALTA            PR         00953‐9418
  665677 HENRY LOPEZ RIVERA                           URB BORINQUEN GARDENS   FF 14 CALLE MAGNOLIA                                                                    SAN JUAN            PR         00926
  215327 HENRY LUCIANO LOPEZ                          REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  215329 HENRY M GONZALEZ VEGA                        REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         HENRY M PAEZ Y EVELYN
  215330 LANDRAU                                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  215331 HENRY M. GONZALEZ VEGA                       REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  215332 HENRY MARTINEZ TORRES                        REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  665678 HENRY MATOS DELGADO                          RR 9 BOX 1606                                                                                                   SAN JUAN            PR         00926
  665679 HENRY MEDINA                                 830 RT 52                                                                                                       CARMEL              NY         10512
  665680 HENRY MEDINA DAVILA                          URB SAN ANTONIO                                 55                                                              SAN ANTONIO         PR         00690
  215333 HENRY MEDINA DIAZ                            REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  215334 HENRY MEDINA TORRES                          REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  215335 HENRY MEDINA, MARTA J.                       REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  215338 HENRY MOTORS INC                             URB VILLA GRILLASCA     2037 AVE LAS AMERICAS                                                                   PONCE               PR         00717 4661
  665683 HENRY MURRAY ORTIZ                           1072 BO MONTE GRANDE    CARR 102                                                                                CABO ROJO           PR         00623‐0000
  215339 HENRY N PAYANO ORTIZ                         REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  215340 HENRY NIEVES CARRERO                         REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  665685 HENRY O FREESE SUAREZ                        VILLAS DE CAPARRA       B4                                                                                      GUAYNABO            PR         00966
  215341 HENRY O GARCIA MU¥OZ                         REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   215342 HENRY O NEVAREZ EMMANUELLI REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HENRY O. GARCIA DBA H. O.
   215343 DISTRIBUTORS               CALLE 42 BN 13 REXVILLE                                                                                                          BAYAMON             PR         00957‐0000
   215344 HENRY OCASIO DIAZ          REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215345 HENRY OLMO RIVERA          REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HENRY ORTIS MARRERO/LUZ
   665687 MARRERO CESAREO            SECT EL 26 BO SABANA SECA                CARR 867                                                                                TOA BAJA            PR         00952
   215346 HENRY ORTIZ JIMENEZ        REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215347 HENRY ORTIZ MONTALVO       REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665688 HENRY PEDROZA APONTE       HC 2 BOX 6906                                                                                                                    YABUCOA             PR         00767‐9512
   215348 HENRY PEREZ RIVERA         REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215349 HENRY PEREZ TORRES         REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215350 HENRY PEREZ VELEZ          REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215351 HENRY RAMOS LEBRON         REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215352 HENRY RAMOS RAMOS          REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215353 HENRY RAMOS VALENTIN       REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665689 HENRY RAYMONT              4209 LINNEAN AVE NW                                                                                                              WASHINGTON          DC         20008
   215355 HENRY REYES RODRIGUEZ      REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  215356 HENRY RIOS COSME                             REDACTED                         REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  665690 HENRY RIOS MARTINEZ                          HC 1 BOX 5070                                                                                                          BARRANQUITAS        PR         00794‐9606
  665691 HENRY RIOS NOGUERAS                          PO BOX 7126                                                                                                            PONCE               PR         00731
  665692 HENRY RIVERA ACOSTA                          62 CALLE SANTA ROSA                                                                                                    GUANICA             PR         00653
  215357 HENRY RIVERA BERAS                           REDACTED                         REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  215358 HENRY RIVERA CASTRO                          REDACTED                         REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  215359 HENRY RIVERA CLAUSELL                        REDACTED                         REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  665693 HENRY RIVERA PEREZ                           URB SAN RAFAEL BZN 3                                                                                                   ARECIBO             PR         00612
  665694 HENRY RIVERA ROBLES                          BO TORRECILLAS                   88 CALLE J E RIVERA                                                                   MOROVIS             PR         00687
  215360 HENRY RODRIGUEZ DIAZ                         REDACTED                         REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   215361 HENRY RODRIGUEZ FERNANDEZ REDACTED                                           REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215362 HENRY RODRIGUEZ GARCIA    REDACTED                                           REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   215363 HENRY RODRIGUEZ HERNANDEZ REDACTED                                           REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215365 HENRY RODRIGUEZ MEDINA    REDACTED                                           REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   665696 HENRY RODRIGUEZ MELENDEZ                    HC 55 BOX 9110                                                                                                         CEIBA               PR         00735
   215367 HENRY RODRIGUEZ SUAREZ                      REDACTED                         REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665698 HENRY ROLDAN BENITEZ                        PO BOX 655                                                                                                             TRUJILLO ALTO       PR         00977‐0655
   665699 HENRY RUIZ CORDERO                          URB LA QUINTA                    F18 CALLE 13                                                                          YAUCO               PR         00698
   215373 HENRY SANTANA PENA                          REDACTED                         REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   215374 HENRY SANTIAGO CONCEPCION REDACTED                                           REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665701 HENRY SANTIAGO GONZALEZ   HC 01 BOX 5811                                                                                                                           CAROZAL             PR         00783

   665702 HENRY SANTIAGO RAMOS                        46 WHITE STREET SPRINGFIELD                                                                                            MASSACHUSSETS       MA         01107
   665703 HENRY SANTIAGO VICENS                       72 CALLE NUEVA                                                                                                         CIALES              PR         00638
   665704 HENRY SANTOS SANTANA                        PO BOX 9021112                                                                                                         SAN JUAN            PR         00902‐1112
                                                                                       T248 CALLE 15 VILLA
   665706 HENRY SANTOS VELEZ                          RES VILLA EVANGELINA             EVANGELINA                                                                            MANATI              PR         00674
   215376 HENRY SCHEIN INC                            135 DURYEA ROAD                                                                                                        MELVILLE            NY         11747
   665707 HENRY SCHEIN INC.                           5 HARBOR PARK DR                                                                                                       PORT WASHINGTON     NY         11050
          HENRY SCHEIN PUERTO RICO ,
   215377 INC.                                        1120 ‐ 22 AVE. JESUS T. PINERO                                                                                         SAN JUAN            PR         00921‐0000
   215378 HENRY SILVA MALDONADO                       REDACTED                         REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   215379 HENRY STEWART PUBLICATION                   PO BOX 1943                                                                                                            BIRMINGHAM          AL         35201

   665709 HENRY STEWART PUBLICATIONS                  P O BOX 10812                                                                                                          BIRMINGHAM          AL         35220‐0812
   665710 HENRY TORRES AVILES                         PO BOX 1116                                                                                                            ARECIBO             PR         00613
   215382 HENRY TORRES CRUZ                           REDACTED                         REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665711 HENRY TORRES ESTRADA                        HC 06 BOX 70590                                                                                                        CAGUAS              PR         00725
   215383 HENRY TORRES ROBLES                         REDACTED                         REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215384 HENRY VARGAS CORTES                         REDACTED                         REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665712 HENRY VAZQUEZ LEON                          HC 71 BOX 3167                                                                                                         NARANJITO           PR         00719
   665714 HENRY VELEZ HIRALDO                         PO BOX 240                                                                                                             SANTA ISABEL        PR         00757
   665715 HENRY WOLF PALACIOS                         URB DORADO DEL MAR               G 2 CALLE NINFAS DEL MAR                                                              DORADO              PR         00646
   215385 HENRY Y PADILLA ROSAS                       REDACTED                         REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215386 HENRY Y POLANCO LUNA                        REDACTED                         REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665716 HENRYS COMPUTER                             107 CALLE DR CUETO                                                                                                     UTUADO              PR         00641
   215387 HENRYS MD, RICHARD                          REDACTED                         REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215388 HENSEN J MARTE SANTIAGO                     REDACTED                         REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  215390 HENSON MD , RUTH D                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  665718 HENTER‐JOYCE, INC.                           11800 31 ST. COURT NORTH                                                                                          ST. PETERSBURG     FL         33716‐1805
         HENYELEEZ MARQUEZ
  215392 RODRIGUEZ                                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   665719 HEPA FILTER CERTIFICATION INC               PO BOX 190661                                                                                                     SAN JUAN           PR         00919‐0661
   215394 HEPTAGON GROUP CORP                         SANTA JUANA 2               H 3 CALLE 2                                                                           CAGUAS             PR         00725
   665720 HER VILL GROUP CORP                         PO BOX 195609                                                                                                     SAN JUAN           PR         00919‐5609
   665721 HERA DEVELOPMENT S.E. C\O                   PO BOX 9020225                                                                                                    SAN JUAN           PR         00902
   665723 HERA INC                                    PO BOX 362370                                                                                                     SAN JUAN           PR         00936‐2370
                                                      AVE. PONCE DE LEON # 1671
   215395 HERA PRINTING , CORP.                       PDA. 25                                                                                                           SANTURCE           PR         00909‐0000
   215396 HERA PRINTING CORP                          PO BOX 362370                                                                                                     SAN JUAN           PR         00936‐2370
   665724 HERA PRINTING INC                           PO BOX 362370                                                                                                     SAN JUAN           PR         00936‐2370

   215397 HERACILIO PRIETO ECOLOGIC ALL URB MONTEHIEDRA                           285 CALLE JILGUERO                                                                    SAN JUAN           PR         00926

   665725 HERACLIO ALICEA RODRIGUEZ                   BOX 598                                                                                                           NARANJITO          PR         00719
   665726 HERACLIO COTTO RIVERA                       URB EL TORITO               G 7 CALLE 5                                                                           CAYEY              PR         00736
   665727 HERACLIO MENDOZA OTERO                      URB APONTE                  A‐18 CALLE I                                                                          CAYEY              PR         00736

   665728 HERACLIO QUINTANA MEDINA                    P O BOX 2307                                                                                                      MAYAGUEZ           PR         00681
   215398 HERADIO PAGAN CAMACHO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   665729 HERADIO SEGARRA MARTINEZ                    URB PTO NUEVO               1007 CALLE BOYONA                                                                     SAN JUAN           PR         00920
          HERAEUS MEDICAL
   215399 COMPONENTS CARIBE INC                       PO BOX 363507                                                                                                     SAN JUAN           PR         00936
   215400 HERALD D LORENZO                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   215401 HERALD, CASTILLO                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   665730 HERALDICA                                   109 CALLE FORTALEZA                                                                                               SAN JUAN           PR         00901
   215402 HERALIO G MARRERO PEREZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   215403 HERALIO G PEREZ ROJAS                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   665731 HERAM D ORTIZ ORTIZ                         PO BOX 90211112                                                                                                   SAN JUAN           PR         00902‐1112
   665732 HERBARIUM SUPPLY                            POB 10966                                                                                                         BOZAMAN            MT         59719
   215405 HERBER RODRIGUEZ COLON                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   215406 HERBERT A ROXBURGH ORTIZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   665734 HERBERT A ZALDUONDO CRUZ                    SIERRA LINDA                T 10 CALLE 14                                                                         BAYAMON            PR         00957

   215407 HERBERT ACOSTA RODRIGUEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   215409 HERBERT AGOSTO SANTIAGO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   665735 HERBERT B ASHER SHAFFER                     4341 SHEL BOURNE LN                                                                                               COLUMBUS           OH         43220‐4243
                                                                                  SA 22 CALLE 312 KM 3 5
   665736 HERBERT BONILLA PAGAN                       LLANOS TUNA                 INTERIOR                                                                              CABO ROJO          PR         00623
   215410 HERBERT C T CHUN                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   215411 HERBERT CASIANO CORIANO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   665738 HERBERT COLON MARTINEZ                      COND EL JARDIN              AVE SAN PATRICIO APT 3 C                                                              GUAYNABO           PR         00968
   215414 HERBERT COSME COLON                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   215416 HERBERT GOLDMAN MAYER                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   665740 HERBERT GONZALEZ VALENTIN                   171 CALLE 22 DE JUNIO                                                                                             MOCA               PR         00676

   215417 HERBERT J JUSTINIANO ALICEA                 REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  665741 HERBERT L FAMISON CO INC                     100 EXECUTIVE DRIVE                                                                                                   NEW JERSEY        NJ           07052‐3362
         HERBERT LLAURADOR
  215419 ANTONSANTI                                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  215420 HERBERT MARTINEZ CEDENO                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  665742 HERBERT MORALES                              PO BOX 2171                                                                                                           RIO GRANDE        PR           00745
  665743 HERBERT ORTEGA ARROYO                        HC 2 BOX 7579                                                                                                         UTUADO            PR           00641
  665744 HERBERT ORTIZ TROCHE                         HC 05 BOX 54401                                                                                                       MAYAGUEZ          PR           00680
  665745 HERBERT OTERO SOLER                          RES YAGUEZ EDIF 7 APT 76                                                                                              MAYAGUEZ          PR           00680

   665746 HERBERT R BERGNER                           970 BAYSIDE ROCKAWAY POINT                                                                                            NEW YORK          NY           11697‐1136
   215421 HERBERT ROSARIO MARTINEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   665747 HERBERT RUIZ GARCIA                         BA CAMPAMENTO                13 CALLE D                                                                               GURABO            PR           00778
   215423 HERBERT SANTIAGO CRUZ                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   665748 HERBERT TUA GONZALEZ                        BUENA VENTURA                2001 CALLE IRIS                                                                          MAYAGUEZ          PR           00682
          HERBERTO RIVAS DBA COLO
   215425 AUTO AIR                                    P O BOX 168                                                                                                           OROCOVIS          PR           00720

   215426 HERBIE SANTIAGO BETANCOURT REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   215427 HERBY AMBROISE             REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   665749 HERBY ANBROISE JOSELYN     URB LA RAMBLA                                 3118 AVE FAGOT                                                                           PONCE             PR           00730‐4501
   665750 HERCO INDUSTRIAL SUPPLY    BUZON 1711 BO TABLONAL                                                                                                                 AGUADA            PR           00602

   665751 HERCULES TROPICAL BATTERY                   PO BOX 10                                                                                                             SAN JUAN          PR           00919‐0010
   665752 HERE AND NOW INC                            5 CALLE ARZUAGA RPM 430                                                                                               SAN JUAN          PR           00925‐3701
   215429 HERE STUDIOS INC                            ARZUAGA #5 RPM 430                                                                                                    SAN JUAN          PR           00925
                                                      CALLE SANTA MARIA BO.
   665753 HEREDIA AUTO PARTS                          PALMAS                                                                                                                CATANO            PR           00962

   215441 HEREDIA BURGOS MD, CARLOS                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

  1419990 HEREDIA NEGRÓN, EDNNA                       YARLENE JIMÉNEZ ROSARIO      PMB 1353 AVE. LUIS VIGOREAUX                                                             GUAYNABO          PR           00966‐2700
   215529 HEREDIA PEREZ MD, LISSETTE                  REDACTED                     REDACTED                     REDACTED                             REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   215542 HEREDIA RIVERA, OLGA                        REDACTED                     REDACTED                     REDACTED                             REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

  1419991 HEREDIA TORRES, JULIO                       SR. JULIO HEREDIA TORRES     COND. LA ARBOLEDA APT. 1106                                                              GUAYNABO          PR           00966
                                                      JULIO HEREDIA TORRES         COND. LA ARBOLEDA APTDO.
  1419992 HEREDIA TORRES, JULIO                       (DERECHO PROPIO)             1106                                                                                     GUAYNABO          PR           00966
                                                      JULIO HEREDIA TORRES         COND. LA ARBOLEDA APTDO.
  1419993 HEREDIA TORRES, JULIO                       (DERECHO PROPIO)             1106                                                                                     GUAYNABO          PR           00966
   215576 HEREDIA VIRUET, CARMEN                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   665754 HEREIDA SERVICES STATION                    P O BOX 1580                                                                                                          QUEBRADILLAS      PR           00678
   665755 HERENCIA MUSICAL                            HC 71 BOX 3254                                                                                                        NARANJITO         PR           00719‐9714
          HERENCIA NUEVOS HORIZONTES
   215585 GUARICO VIEJO              URB GUARICO VIEJO                             CALLE ERNESTO SANTOS # 59                                                                VEGA BAJA         PR           00694
   215588 HERENIA RODRIGUEZ RIVERA   REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   215589 HERENIA VAZQUEZ FERNANDEZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   215591 HERGER DORSEY GRACE M                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  1256538 HERI AUTO KOOL INC                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   215484 HERI AUTO KOOL, INC                         AVE. HIRAM CABASSA 37                                                                                                 MAYAGUEZ          PR           00680
   215594 HERI I RIOS ARVELO                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   665760 HERI QUILES ORTIZ                           PMB 503                      BOX 100                                                                                  BARRANQUITAS      PR           00794‐0100
   665761 HERI RIVERA COLON                           URB SAN MARTIN               C 57 CALLE 40                                                                            JUANA DIAZ        PR           00795



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  215596 HERI S GOTAY RAMOS                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   215597 HERIALBERTO PENA MAYSONET REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215598 HERIBERT S. RUIZ RIOS     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665763 HERIBERT0 PEREZ NIEVES    URB. PARKVILLE                                25 CALLE HARDING                                                                  GUAYNABO            PR         00919
   665764 HERIBERTA LOPEZ SANCHEZ   P O BOX 914                                                                                                                     AGUAS BUENAS        PR         00703
          HERIBERTA MELENDEZ
   215599 HERNANDEZ                 REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                    URB. RIO PLANTATION 22 CALLE
   665765 HERIBERTA PADILLA ACEVEDO 1W                                                                                                                              BAYAMON             PR         00961
   665767 HERIBERTA VARGAS RIOS     PARC TERRANOVA                                297 CALLE 15                                                                      QUEBRADILLAS        PR         00678
          HERIBERTO ABRAHAM
   215600 ALMODOVAR                 REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HERIBERTO ACEVEDO /DBA
   215601 KMBUS SERVICE             HC 2 BOX 7526 B                                                                                                                 CAMUY               PR         00627
          HERIBERTO ACEVEDO DBA KM
   215602 BUS SERVICE               HC 02 BOX 7526B                                                                                                                 CAMUY               PR         00627
   215603 HERIBERTO ACEVEDO GARCIA  REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   215604 HERIBERTO ACEVEDO GONZALEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665778 HERIBERTO ACEVEDO RUIZ     P O BOX 137                                                                                                                    AGUADA              PR         00602‐0137
   215605 HERIBERTO AGUILAR GARCIA   REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215606 HERIBERTO ALDEA ROLDAN     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665779 HERIBERTO ALERS VALLE      BOX 2282                                                                                                                       SAN GERMAN          PR         00683
   215607 HERIBERTO ALICEA RIVERA    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   665780 HERIBERTO ALLEN RODRIGUEZ                   PO BOX 5080                                                                                                   AGUADILLA           PR         00605
   665781 HERIBERTO ALONSO RIVERA                     SANTA MARIA                 100 CALLE VIOLETA                                                                 SAN JUAN            PR         00927
   665783 HERIBERTO APONTE LOPEZ                      HC 1 BOX 5813                                                                                                 OROCOVIS            PR         00720
   215608 HERIBERTO ARANA BATISTA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   665784 HERIBERTO ARLEQUIN GUZMAN                   HC‐ 02 BOX 7693                                                                                               CAMUY               PR         00627
   665786 HERIBERTO AROCHA AROCHA                     URB CIUDAD UNIVERSITARIA    13 CALLE C ESTE                                                                   TRUJILLO ALTO       PR         00976
   215610 HERIBERTO ASTACIO CASTRO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665787 HERIBERTO AVILES RIVERA                     PO BOX 21635                                                                                                  SAN JUAN            PR         00928
   665788 HERIBERTO AYALA DEL VALLE                   PO BOX 9066023                                                                                                SAN JUAN            PR         00906‐6023
   665789 HERIBERTO BAEZ MARTINEZ                     URB STA JUANITA             AK 37 CALLE INDIA                                                                 BAYAMON             PR         00956
   215612 HERIBERTO BAEZ TORRES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665790 HERIBERTO BARETO SEDA                       PMB 127                     352 AVE SAN CLAUDIO                                                               SAN JUAN            PR         00926‐4117

   215614 HERIBERTO BARRETO GONZALEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   665791 HERIBERTO BARRETO MORALES                   HC 04 BOX 13686             BO VOLADORAS                                                                      MOCA                PR         00676
   665792 HERIBERTO BERRIOS BURGOS                    PO BOX 1789                                                                                                   AIBONITO            PR         00705
   215615 Heriberto Borges Cuevas                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   215616 HERIBERTO BURGOS MARCANO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215618 HERIBERTO CABRERA VEGA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      PORTALES PARQUES ESCORIAL
   665770 HERIBERTO CACERES                           7403‐24                     BLVD DE LA MEDIA WNA                                                              CAROLINA            PR         00947‐4871

   665796 HERIBERTO CAMACHO CRESPO                    URB SANTA MARIA             H C 9 CALLE 9                                                                     CEIBA               PR         00735
   665797 HERIBERTO CAMPOS LOPEZ                      HC 05 BOX 52692                                                                                               MAYAGUEZ            PR         00680



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  215619 HERIBERTO CANCEL CRUZ                        REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  665798 HERIBERTO CANDELARIA                         PO BOX 1064                                                                                            AGUADA              PR         00602
         HERIBERTO CANDELARIA
  665799 BONILLA                                      PO BOX 923                                                                                             UTUADO              PR         00641
         HERIBERTO CANDELARIA
  215620 GONZALEZ                                     REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   665800 HERIBERTO CAPELLA ACEVEDO                   FLAMINGO HILLS       294 CALLE 9                                                                       BAYAMON             PR         00957

   665801 HERIBERTO CARDONA COLON                     HC 6 BOX 17376                                                                                         SAN SEBASTIAN       PR         00685
   215622 HERIBERTO CARDONA RUIZ                      REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215623 HERIBERTO CARMONA LOPEZ                     REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HERIBERTO CARTAGENA
   215628 RODRIGUEZ                                   REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215629 HERIBERTO CASTRO ROQUE                      REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665804 HERIBERTO CASTRO TIRADO                     HC 1 BOX 4418                                                                                          YABUCOA             PR         00767‐9403

   665805 HERIBERTO CHEVEREZ COLON                    P O BOX 582                                                                                            MOROVIS             PR         00687

   665806 HERIBERTO CINTRON CARMONA PO BOX 174                                                                                                               AGUIRRE             PR         00704
          HERIBERTO CINTRON DBA H
   215631 COMPUTER SERVICE          PO BOX 935                                                                                                               BOQUERON            PR         00622
   665807 HERIBERTO CINTRON VARGAS  HC 01 BOX 6705                                                                                                           CABO ROJO           PR         00623

   665808 HERIBERTO CLAUDIO HUERTAS                   HC 3 BOX 10901                                                                                         YABUCOA             PR         00767
   665809 HERIBERTO COLON ACEVEDO                     MANS DE CAROLINA     2B30 CALLE 57                                                                     CAROLINA            PR         00987

   665810 HERIBERTO COLON CORDERO                     HC 02 BOX 5797                                                                                         LARES               PR         00669
   665811 HERIBERTO COLON LEBRON                      PO BOX 70184                                                                                           SAN JUAN            PR         00936‐8184

   665812 HERIBERTO COLON MALDONADO URB LAS DELICIAS 3120                  CALLE MARIA CADILLA                                                               PONCE               PR         00728‐3914
   215632 HERIBERTO COLON MEDINA    REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215633 HERIBERTO COLON ROSARIO   REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HERIBERTO CONTERAS
   665815 HERNANDEZ                 PO BOX 126                                                                                                               SAN LORENZO         PR         00754
          HERIBERTO CONTRERAS
   665816 HERNANDEZ                 P O BOX 126                                                                                                              SAN LORENZO         PR         00754

   665817 HERIBERTO CORDERO LORENZO                   PO BOX 853                                                                                             MOCA                PR         00676
   665818 HERIBERTO CORDERO VERA                      P O BOX 853                                                                                            MOCA                PR         00676
   215634 HERIBERTO COSME RIVERA                      REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665819 HERIBERTO COSME TOSADO                      HC 2 BOX 9734                                                                                          QUEBRADILLA         PR         00678
   215635 HERIBERTO CRESPO CRESPO                     REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215636 HERIBERTO CRUZ GONZALEZ                     REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665823 HERIBERTO CRUZ JIMENEZ                      JARD DE RIO GRANDE   BK 651 CALLE 56                                                                   RIO GRANDE          PR         00745
          HERIBERTO CRUZ REYES DBA
   215637 MICROSCOPE SERV                             PO BOX 362651                                                                                          SAN JUAN            PR         00936‐2631
   215639 HERIBERTO CRUZ SOLIVAN                      REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665826 HERIBERTO CRUZ VARGAS                       HC‐2 BOX 6595                                                                                          GUAYNABO            PR         00971

   665827 HERIBERTO CURET RODRIGUEZ                   RR 1 BOX 3600                                                                                          MARICAO             PR         00606
   215640 HERIBERTO DE LEON SOTO                      REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   665829 HERIBERTO DEL VALLE MORALES HC 01 BOX 36860                                                                                                                     SAN SEBASTIAN        PR           00685

   215641 HERIBERTO DEL VALLE RIVERA                  REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   665830 HERIBERTO DELGADO ALAMO                     URB ROLLING HILLS              G 251 CALLE FILADELFIA                                                               CAROLINA             PR           00987

   215642 HERIBERTO DENIZARD RIVERA                   REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   215643 HERIBERTO DIAZ ABREU                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   665831 HERIBERTO DIAZ FLORES                       BOX 6032                                                                                                            CIDRA                PR           00739
   665833 HERIBERTO DIAZ MISLAN                       CONS PISO DE SANTA ANA         50 CALLE ZAFIRO APT D 1                                                              VEGA ALTA            PR           00692
   215644 HERIBERTO DIAZ MONGE                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   215645 HERIBERTO DUPREY NIEVES                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HERIBERTO ENCARNACION
   215647 CANALES                                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   215648 HERIBERTO ESCOBAR APONTE                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   665836 HERIBERTO ESPINOSA COLON                    JARDINES DE TOA ALTA 291 C 7                                                                                        TOA ALTA             PR           00953
   665771 HERIBERTO FELICIANO COTY                    URB VILLA CLEMENTINA SUR       H 8 CALLE MARGARITA                                                                  GUAYNABO             PR           00969
   665838 HERIBERTO FERNANDEZ                         RR 4 BOX 1121                                                                                                       BAYAMON              PR           00956
          HERIBERTO FERNANDEZ DE
   665839 JESUS                                       URB SAN GERARDO                301 CALLE OHIO                                                                       SAN JUAN             PR           00926

   215649 HERIBERTO FERRER MONTALVO REDACTED                                         REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   665840 HERIBERTO FIGUEROA BURGOS                   EMBALSE SAN JOSE               445 CALLE GIBRELTAR                                                                  SAN JUAN             PR           00923‐1725
          HERIBERTO FIGUEROA
   215650 CARABALLO                                   REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   215651 HERIBERTO FIGUEROA FUENTES REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HERIBERTO FLORES/ANA R
   215652 SANTIAGO                   REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   665841 HERIBERTO FONTANEZ NIEVES                   HC 30 BOX 32093                                                                                                     SAN LORENZO          PR           00754
          HERIBERTO GALARZA
   665772 RODRIGUEZ                                   HC 2 BOX 220                                                                                                        GUAYANILLA           PR           00656

   665843 HERIBERTO GARCIA CARTAGENA BRISAS DE CAREY                                 EDIF 5 APTO 55                                                                       CAYEY                PR           00736

   215654 HERIBERTO GARCIA HERNANDEZ REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   215655 HERIBERTO GARCIA QUILES    REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   665845 HERIBERTO GOMEZ ROLDAN     VILLA ALEGRIA                                   LU CALLE RUBI                                                                        AGUADILLA            PR           00603
   215658 HERIBERTO GONZALEZ         REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HERIBERTO GONZALEZ
   665846 BARRANCO                   P O BOX 694                                                                                                                          CIDRA                PR           00739

   665847 HERIBERTO GONZALEZ BONILLA                  URB VISTA MAR                  19 CALLE MORCIGLIO                                                                   GUANICA              PR           00653

   215659 HERIBERTO GONZALEZ FLORES                   REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HERIBERTO GONZALEZ
   215662 MARRERO                                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   215663 HERIBERTO GONZALEZ ORTIZ                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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   665849 HERIBERTO GONZALEZ POLANCO HC 01 BOX 3993                                                                                                                  FLORIDA             PR           00650
   665850 HERIBERTO GONZALEZ PUIG    COND MOTEBELLO                           APT 104 B                                                                              TRUJILLO ALTO       PR           00976

   215665 HERIBERTO GONZALEZ SANCHEZ REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERIBERTO GONZALEZ Y/O HG
   665851 COMPUTER SERV              HC 01 BOX 3336                                                                                                                  SABANA HOYOS        PR           00688
                                     JARDINES DE CAPARRA V‐24
   665852 HERIBERTO GUTIERREZ DIAZ   CALLE 23                                                                                                                        BAYAMON             PR           00959

   215666 HERIBERTO GUTIERREZ MATOS                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665854 HERIBERTO GUZMAN ROJAS                      BO RIO PLATATION        BZN 39 CARR 872                                                                        BAYAMON             PR           00961
   215667 HERIBERTO GUZMAN ROSA                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215668 HERIBERTO HEREDIA RIVERA                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   215669 HERIBERTO HERNANDEZ APONTE REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERIBERTO HERNANDEZ
   215670 HERNANDEZ                  REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERIBERTO HERNANDEZ
   665855 LARACUENTE                 HC 02 BOX 8429                                                                                                                  QUEBRADILLAS        PR           00678
          HERIBERTO HERNANDEZ
   665857 PARRILLA                   URB BRISAS DE LOIZA                      271 CALLE ACUARIO                                                                      CANOVANAS           PR           00729
          HERIBERTO HERNANDEZ
   215672 VALENTIN                   REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215673 HERIBERTO HIRALDA FLECHA   REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215674 HERIBERTO IRIZARRY         REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   215675 HERIBERTO IRIZARRY MORALES                  REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERIBERTO J FIGUEROA
   215676 MALDONADO                                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   215677 HERIBERTO J IRIZARRY MERCADO REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   215678 HERIBERTO J MARTINEZ TORRES REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215679 HERIBERTO J MEDINA DIAZ     REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERIBERTO J MONTALVO
   215680 RODRIGUEZ                   REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   665862 HERIBERTO J. CARBIA RAMIREZ                 PO BOX 12276                                                                                                   SAN JUAN            PR           00914
   215681 HERIBERTO JORDAN ROSADO                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215682 HERIBERTO JUSINO LOPEZ                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   215683 HERIBERTO L ACEVEDO HILLET                  REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   215684 HERIBERTO L FIGUEROA FUENTES REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215685 HERIBERTO LABOY REYES        REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665866 HERIBERTO LEBRON CASIANO     URB VILLAS PRADES                      693 CALLE JULIO C ARTEAGA                                                              SAN JUAN            PR           00924
   665867 HERIBERTO LIQUET VELEZ       P O BOX 5921                                                                                                                  MAYAGUEZ            PR           00681
          HERIBERTO LOPEZ / DYNAMIC
   215686 SOLAR SOLUTION               QUEBRADA ARENAS                        LOS MARGUEZ 19.4 CARR 198                                                              LAS PIEDRAS         PR           00771

   215687 HERIBERTO LOPEZ CARABALLO                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665868 HERIBERTO LOPEZ GARCIA                      URB RIO GRANDE ESTATE   Z 17 CALLE 21                                                                          RIO GRANDE          PR           00745



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   215689 HERIBERTO LOPEZ HERNANDEZ                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665869 HERIBERTO LOPEZ LUGO                        PO BOX 667                                                                                                 SABANA GRANDE       PR           00637

   665773 HERIBERTO LOPEZ MONTALVO                    HC 1 BOX 8677                                                                                              MARICAO             PR           00606
   215691 HERIBERTO LOPEZ QUINONES                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665870 HERIBERTO LOPEZ RIVERA                      HC 03 BOX 9324                                                                                             MOCA                PR           00676

   665871 HERIBERTO LOPEZ RODRIGUEZ                   BOX 500                                                                                                    CIDRA               PR           00739
          HERIBERTO LOPEZ SOLER DBA
   215693 CONSTRUCCION                                P.O. BOX 1331                                                                                              QUEBRADILLA         PR           00078‐0000

   665873 HERIBERTO LOZADA PACHECO                    HC 1 BOX 5847                                                                                              COROZAL             PR           00783
   665874 HERIBERTO LUGO GARAY                        P O BOX 1771                                                                                               MAYAGUEZ            PR           00681
   215694 HERIBERTO LUGO LOPEZ                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   215695 HERIBERTO LUGO MONTALVO                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215696 HERIBERTO LUGO QUIROS                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERIBERTO LUNA DE LOS
   215697 SANTOS                                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215698 HERIBERTO MADERA PEREZ                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665876 HERIBERTO MALDONADO                         LAS MARIA II                                                                                               UTUADO              PR           00641

   665877 HERIBERTO MALDONADO DIAZ                    P O BOX 998                                                                                                UTUADO              PR           00641
          HERIBERTO MALDONADO
   665880 MENDEZ                                      URB SANTA CLARA          0 12 CALLE FLAMBOYAN                                                              GUAYNABO            PR           00969
          HERIBERTO MALDONADO
   215700 RODRIGUEZ                                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   665881 HERIBERTO MANDRY SANTIAGO URB JAIME L DREW                           185 CALLE 7                                                                       PONCE               PR           00731

   665882 HERIBERTO MARCANO SANTOS                    VILLA DEL REY            Q 18 CALLE ARAGON                                                                 CAGUAS              PR           00725
   215701 HERIBERTO MARIN TORRES                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERIBERTO MARRERO
   215703 GONZALEZ                                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665883 HERIBERTO MARRERO SOTO                      BO GALATEO CENTRO        CARR 804 KM 2 4                                                                   TOA ALTA            PR           00953
   665884 HERIBERTO MARTI CENTENO                     URB VILLAS DEL CAFETAL   E 22 CALLE 5                                                                      YAUCO               PR           00698
   215704 HERIBERTO MARTI LOPEZ                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   665886 HERIBERTO MARTINEZ ARROYO                   PO BOX 749                                                                                                 YAUCO               PR           00698

   215705 HERIBERTO MARTINEZ CARDONA REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   215706 HERIBERTO MARTINEZ MADERA REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERIBERTO MARTINEZ
   665887 MELENDEZ                  HC 44 BOX 13232                                                                                                              CAYEY               PR           00737

   665888 HERIBERTO MARTINEZ PADILLA                  P O BOX 2140                                                                                               SAN GERMAN          PR           00683

   215707 HERIBERTO MARTINEZ POLANCO REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   665889 HERIBERTO MARTINEZ RAMOS                    PO BOX 20                                                                                                  SAN ANTONIO         PR           00690




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          HERIBERTO MARTINEZ
   665890 VELAQUEZ                                    PO BOX 70166                                                                                                           SAN JUAN            PR           00936‐8166
          HERIBERTO MARTINEZ
   215708 VELAZQUEZ                                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215709 HERIBERTO MATEO RIVERA                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215710 HERIBERTO MATIAS RIVERA                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215711 HERIBERTO MATOS TORRES                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   215712 HERIBERTO MEDINA GONZALEZ                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665892 HERIBERTO MENDEZ PEREZ                      HC 02 BOX 10972                                                                                                        MOCA                PR           00676
   215713 HERIBERTO MENDEZ SALAS                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665893 HERIBERTO MERCADO                           HC 3 BOX 11037                                                                                                         JUANA DIAZ          PR           00795
   215715 HERIBERTO MIRACH RIVERA                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665894 HERIBERTO MIRANDA VEGA                      HC 01 BOX 6142                                                                                                         CIALES              PR           00638
   215716 HERIBERTO MIRANDA VIERA                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215717 HERIBERTO MOJICA COSME                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665895 HERIBERTO MOJICA RUIZ                       PO BOX 41269                                                                                                           SAN JUAN            PR           00940

   665896 HERIBERTO MONTALVAN PEREZ URB VISTA MONTE                                 J 8 CALLE 6                                                                              CIDRA               PR           00739

   665897 HERIBERTO MONTALVAN RUIZ                    URB PARK GARDENS              X 19 YORKSHIRE                                                                           SAN JUAN            PR           00926‐2226
          HERIBERTO MONTALVO
   215718 GUZMAN                                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   665898 HERIBERTO MONTES ROSARIO                    HC 01 BOX 6539                                                                                                         CIALES              PR           00638

   665899 HERIBERTO MORALES                           4 RES NARCISO VARONA APT 27                                                                                            JUNCOS              PR           00777
   665900 HERIBERTO MORALES CARO                      COM STELLAS                   CALLE 13 BUZON 2834                                                                      RINCON              PR           00677
   215719 HERIBERTO MORALES COLON                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   665901 HERIBERTO MORALES MARTINEZ HC 03 BOX 11953                                                                                                                         ARECIBO             PR           00641
   665902 HERIBERTO MORALES VEGA     HC 6 BOX 4530                                                                                                                           COTO LAUREL         PR           00780
   215720 HERIBERTO MUNIZ PEREZ      REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   215721 HERIBERTO MUNOZ RODRIGUEZ REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   665905 HERIBERTO NAVARRO BRISTOL                   PO BOX 1309                                                                                                            RIO GRANDE          PR           00745
   665906 HERIBERTO NIEVES                            PARADA 25                     1750 C/ CAROLINA                                                                         SAN JUAN            PR           00912
   215723 HERIBERTO NUNEZ PEREZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215724 HERIBERTO NUNEZ RIVERA                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   665908 HERIBERTO OCASIO PINO                       RAMON T COLON                 308 PASEO 10 VILLA OLIMPICA                                                              SAN JUAN            PR           00924
          HERIBERTO OLAVARRIA
   665909 BERMUDEZ                                    HC 72 BOX 4447                                                                                                         CAYEY               PR           00736‐9204
   215725 HERIBERTO OLIVERAS RIVERA                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   665910 HERIBERTO ORENGO RODRIGUEZ P O BOX 544                                                                                                                             GUANICA             PR           00653‐0544

   215726 HERIBERTO ORONA RODRIGUEZ REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665913 HERIBERTO ORTIZ GARCIA    CARR GOLDEN TOWER                               APT 518                                                                                  CAROLINA            PR           00983

   665914 HERIBERTO ORTIZ MALDONADO RR 2 BOX 8065                                                                                                                            MANATI              PR           00674‐9627
   215727 HERIBERTO ORTIZ MARTINEZ  REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  665916 HERIBERTO ORTIZ PEREZ                        HC 72 BOX 7480           BO BEATRIZ                                                                            CAYEY             PR         00736
  215728 HERIBERTO ORTIZ RENTAS                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  665917 HERIBERTO ORTIZ SEDA                         RES ELENOR ROOSEVELT     EDF 16 APT 128                                                                        MAYAGUEZ          PR         00680

   215729 HERIBERTO OSTALAZA MARFISI                  REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665774 HERIBERTO PADIN DUMENG                      827 CALLE LOS PASEOS                                                                                           ISABELA           PR         00662
   665918 HERIBERTO PAGAN IRIZARRY                    HC 01 BOX 6635                                                                                                 MOROVIS           PR         00720‐9707
   665919 HERIBERTO PAGAN RIVERA                      PO BOX 7126                                                                                                    PONCE             PR         00732
   215730 Heriberto PeNa Rivera                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665920 HERIBERTO PERALTA RAMOS                     HC 2 BOX 6131                                                                                                  LUQUILLO          PR         00773
   665921 HERIBERTO PEREZ MENDOZA                     PO BOX 37529                                                                                                   SAN JUAN          PR         00937‐0529
   665922 HERIBERTO PEREZ RIVERA                      HC 1 BOX 4897                                                                                                  BARCELONETA       PR         00617‐9704
   215733 HERIBERTO PEREZ ROSADO                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665923 HERIBERTO PEREZ VARGAS                      SIERRA BAYAMON APTS      700 AVE WEST MAIN APT 30                                                              BAYAMON           PR         00961
   665924 HERIBERTO PEREZ VELEZ                       BO BORINQUEN             61 CALLE 3                                                                            PONCE             PR         00730

   665925 HERIBERTO PEREZ VILLANUEVA                  HC 08 BOX 54401                                                                                                HATILLO           PR         00659
   215734 HERIBERTO PICA MORALES                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665926 HERIBERTO PICHARDO LOPEZ                    PO BOX 2716                                                                                                    MAYAGUEZ          PR         00681

   665927 HERIBERTO PIZARRO ADORNO                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      VALLE VERDE AA11 CALLE
   665928 HERIBERTO PORTON GUZMAN                     PEDREGAL                                                                                                       PONCE             PR         00731

   665929 HERIBERTO QUI¥ONES GOMEZ                    PO BOX 3559                                                                                                    JUNCOS            PR         00777
          HERIBERTO QUINONES
   215736 GONZALEZ                                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   215737 HERIBERTO QUINTANA COLON                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   215738 HERIBERTO QUINTANA MENDEZ                   REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665930 HERIBERTO RAMIREZ AYALA                     UNIVERSITY GARDENS       909 CALLE FORDRAM                                                                     SAN JUAN          PR         00927
   215739 Heriberto Ramírez Claudio                   REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   215740 HERIBERTO RAMIREZ VELEZ                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665931 HERIBERTO RAMOS                             URB VISTA MAR            279 CALLE GRANADA                                                                     CAROLINA          PR         00983
   665932 HERIBERTO RAMOS MORALES                     HC 02 BOX 6668                                                                                                 RINCON            PR         00677
   215741 HERIBERTO RAMOS RIVERA                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665933 HERIBERTO RAMOS SANTANA                     HC 2 BOX 5149                                                                                                  LARES             PR         00669
   215742 HERIBERTO REGUERO                           REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          HERIBERTO RESTO
   665936 CARRASQUILLO                                CORREO GENERAL                                                                                                 LOIZA             PR         00772
   665937 HERIBERTO REYES                             HC 1 BOX 10855                                                                                                 ARECIBO           PR         00612

   665938 HERIBERTO REYES CARABALLO                   VILLA NUEVA              D 12 CALLE 15                                                                         CAGUAS            PR         00725
   215722 HERIBERTO REYES TIRADO                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   665941 HERIBERTO RIOS CRUZ                         PARC N AGUILITA          690 CALLE 30                                                                          JUANA DIAZ        PR         00795
   215744 HERIBERTO RIQUELME INC.                     VILLA DE LA PLAYA #68                                                                                          VEGA BAJA         PR         00693
   215745 HERIBERTO RIVAS MERCADO                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   215746 HERIBERTO RIVERA                            REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          HERIBERTO RIVERA / EQUIP
   665945 PLAYITA YABUCOA                             HC 03 BOX 11987                                                                                                YABUCOA           PR         00767
   665946 HERIBERTO RIVERA ALICEA                     HC 6 BOX 12131                                                                                                 SAN SEBASTIAN     PR         00685
   665948 HERIBERTO RIVERA COLON                      RR1 BOX 11477                                                                                                  OROCOVIS          PR         00720 9619



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  665776 HERIBERTO RIVERA CRUZ                         CON TERRAZUL             EDIF T APT 2                                                                       ARECIBO             PR         00612
  215747 HERIBERTO RIVERA DE JESUS                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  665950 HERIBERTO RIVERA DONATO                       PO BOX 7284                                                                                                 PONCE               PR         00732

   215748 HERIBERTO RIVERA FIGUEROA                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   215749 HERIBERTO RIVERA GONZALEZ                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665952 HERIBERTO RIVERA LOPEZ                       P O BOX 491                                                                                                 VILLALBA            PR         00766
   665944 HERIBERTO RIVERA LUGO                        EXT VILLA LOS SANTOS     I 27 CALLE ESTRELLA                                                                ARECIBO             PR         00612
          HERIBERTO RIVERA
   665768 MALDONADDO                                   BO CANABON LA TORRE      HC 03 BOX 7985                                                                     BARRANQUITAS        PR         00794

   665953 HERIBERTO RIVERA MARTINEZ                    URB LA LULA B7 CALLE 1                                                                                      PONCE               PR         00731
   215751 HERIBERTO RIVERA MEDINA                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215752 HERIBERTO RIVERA ORTIZ                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215753 HERIBERTO RIVERA PEREZ                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   215754 HERIBERTO RIVERA REYES                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665775 HERIBERTO RIVERA RIVERA                      URB SANTA ISIDRA         4 C 13 CALLE MARGINAL                                                              FAJARDO             PR         00738
   665959 HERIBERTO RIVERA RIVERA                      414 AVE BARBOSA                                                                                             SAN JUAN            PR         00928‐1414
   215755 HERIBERTO RIVERA ROMAN                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   665962 HERIBERTO RIVERA RUIZ                        URB FREIRE               140 CALLE ZAFIRO                                                                   CIDRA               PR         00739
   665963 HERIBERTO RIVERA VIRUET                      P O BOX 1569                                                                                                ARECIBO             PR         00613

   215756 HERIBERTO RODRIGUEZ ARROYO REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   215758 HERIBERTO RODRIGUEZ BELLO                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   665965 HERIBERTO RODRIGUEZ CALAF                    URB VILLA FLORES         1706 CALLE BEGONIA                                                                 PONCE               PR         007116
          HERIBERTO RODRIGUEZ
   665966 GONZALEZ                                     HC 01 BOX 3650                                                                                              HORMIGUEROS         PR         00660

   665967 HERIBERTO RODRIGUEZ LOPEZ                    PO BOX 183                                                                                                  YAUCO               PR         00698

   215759 HERIBERTO RODRIGUEZ NATAL                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   215760 HERIBERTO RODRIGUEZ ORTIZ                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   665969 HERIBERTO RODRIGUEZ PAGAN                    BOX 1134                                                                                                    SAN GERMAN          PR         00683
          HERIBERTO RODRIGUEZ
   665970 QUINONES                                     PO BOX 475                                                                                                  JAYUYA              PR         00664

   665972 HERIBERTO RODRIGUEZ RIVERA                   PARCELA LA PARGUERA      109 CALLE 9                                                                        LAJAS               PR         00667
          HERIBERTO RODRIGUEZ
   665974 SANCHEZ                                      163 BDA SAN JOSE                                                                                            ARECIBO             PR         00612

   215762 HERIBERTO RODRIGUEZ SILVA                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   215763 HERIBERTO RODRIGUEZ VICENS                   REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HERIBERTO RODRIGUEZ/
   215764 MIGDALIA HERNANDEZ                           REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   665977 HERIBERTO ROJAS RODRIGUEZ                    HC 1 BOX 3164                                                                                               QUEBRADILLAS        PR         00678




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   215765 HERIBERTO ROLDAN MORALES                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665978 HERIBERTO ROMAN GRAFAL                      1335 BRONS RIVER AVE.                                                                                       BRONX               NY           10472
   215766 HERIBERTO ROMAN LOPEZ                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665980 HERIBERTO ROMAN ROMAN                       HC 3 BOX 29016                                                                                              SAN SEBASTIAN       PR           00685
   215767 HERIBERTO ROMAN TORRES                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215768 HERIBERTO ROMERO PEREZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665982 HERIBERTO ROSA DIAZ                         HC 20 BOX 26018                                                                                             SAN LORENZO         PR           00754
   665983 HERIBERTO ROSADO DIAZ                       P O BOX 2353                                                                                                ARECIBO             PR           00613

   215770 HERIBERTO ROSADO FIGUEROA                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERIBERTO ROSADO
   665984 MALDONADO                                   BO VEGAS ABAJO APT 835                                                                                      ADJUNTAS            PR           00601

   665985 HERIBERTO ROSARIO ACEVEDO                   P O BOX 507                                                                                                 CAMUY               PR           00627
   665988 HERIBERTO ROSAS ACEVEDO                     PO BOX 580                                                                                                  MAYAGUEZ            PR           00681‐0470
   215773 HERIBERTO RUIZ LOPEZ                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215774 HERIBERTO RUIZ MASSARI                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   665989 HERIBERTO RUIZ PEREZ                        HC 8 BOX 51808                                                                                              HATILLO             PR           00659
   215775 HERIBERTO RULLAN MUNIZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   215776 HERIBERTO S MASUET ALVAREZ                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   665990 HERIBERTO SALGADO SANTIAGO HC 01 BOX 8888                                                                                                               CANOVANAS           PR           00729

   215777 HERIBERTO SANCHEZ GUZMAN                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215778 HERIBERTO SANCHEZ LEON                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   215779 HERIBERTO SANCHEZ MERCADO REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215780 HERIBERTO SANCHEZ SOTO    REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   665993 HERIBERTO SANTIAGO ALAMO                    HC 01 BOX 4385                                                                                              AIBONITO            PR           00705

   215781 HERIBERTO SANTIAGO FERRER                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERIBERTO SANTIAGO
   215782 MALDONADO                                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERIBERTO SANTIAGO
   215783 MARTINEZ                                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   215784 HERIBERTO SANTIAGO RIVERA                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERIBERTO SANTIAGO
   215785 RODRIGUEZ                                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERIBERTO SANTIAGO
   665998 SANTIAGO                                    HC 04 BOX 7145                                                                                              JUANA DIAZ          PR           00795‐9602
   665999 HERIBERTO SANTOS                            URB PUERTO NUEVO          27 CALLE 11 NE                                                                    SAN JUAN            PR           00920

   215786 HERIBERTO SANTOS RODRIGUEZ REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666000 HERIBERTO SEGARRA LOPEZ    HC 1 BOX 4495                                                                                                                HORMIGUERO          PR           00660
          HERIBERTO SEPULVEDA
   215787 SANTIAGO                   REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   666001 HERIBERTO SERRANO AGUEDA                    T S J 111 O S C ARECIBO   BOX 1191                                                                          ARECIBO             PR           00613‐1191
   215788 HERIBERTO SERRANO CRUZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  666004 HERIBERTO SERRANO MILLS                      URB SANTA ELVIRA           K 18 CALLE SANTA ELENA                                                              CAGUAS              PR           00725
  666005 HERIBERTO SIERRA PEREZ                       HC 20 BOX 10430                                                                                                JUNCOS              PR           00777 9620

   215789 HERIBERTO SILVA HERNANDEZ                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   215790 HERIBERTO SOLIS MERCADO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666006 HERIBERTO SOTO                              HC 01 BOX 6465                                                                                                 GURABO              PR           00778
   665777 HERIBERTO SOTO CORDERO                      HC 01 BOX 4736                                                                                                 CAMUY               PR           00627 9608
   666008 HERIBERTO SOTO SANTIAGO                     BOX 616                                                                                                        SANTA ISABEL        PR           00757
   666010 HERIBERTO TAVAREZ VELEZ                     BO GALATEO BAJO            90 RUTA 4                                                                           ISABELA             PR           00662‐4757
   666011 HERIBERTO TIRADO ARROYO                     PO BOX 9021112                                                                                                 SAN JUAN            PR           00902‐1112
   666012 HERIBERTO TORO MARRERO                      STARLIGHT                  4720 CALLE FIRMAMENTO                                                               PONCE               PR           00717‐1447
   666013 HERIBERTO TORRES AMARO                      P O BOX 698                                                                                                    GUAYAMA             PR           00784
   215793 HERIBERTO TORRES BURGOS                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666014 HERIBERTO TORRES COLON                      HC 1 BOX 6370                                                                                                  AIBONITO            PR           00705
   215794 HERIBERTO TORRES DE JESUS                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   215796 HERIBERTO TORRES LLERAS                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666015 HERIBERTO TORRES MARTI                      PO BOX 509                                                                                                     ANGELES             PR           00611
   215797 HERIBERTO TORRES NERVAEZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666016 HERIBERTO TORRES RIVERA                     BO BORINQUEN               HC 4 BOX 48506                                                                      CAGUAS              PR           00725‐9634

   666017 HERIBERTO TORRES RODRIGUEZ HC 01 BOX 3899                                                                                                                  LAJAS               PR           00667‐9704

   666018 HERIBERTO TORRES SANTIAGO                   500 PASEO MONACO APT 108                                                                                       BAYAMON             PR           00956‐9775

   666019 HERIBERTO VADELL FELICIANO                  HC 01 BOX 3794                                                                                                 LARES               PR           00669

   666022 HERIBERTO VALENTIN GONZALEZ 136 VILLA LAS VIOLETAS                                                                                                         MAYAGUEZ            PR           00680

   215799 HERIBERTO VALENTIN VAZQUEZ REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   215800 HERIBERTO VARGAS           REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   666024 HERIBERTO VARGAS GONZALEZ                   HC 01 BOX 4281                                                                                                 UTUADO              PR           00641
   215801 HERIBERTO VARGAS PAGAN                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   666025 HERIBERTO VAZQUEZ GONZALEZ URB ESTANCIAS DE LA CEIBA                   263 CALLE ALMENDRA                                                                  HATILLO             PR           00659

   666026 HERIBERTO VAZQUEZ MEDINA                    HC 1 BOX 14708                                                                                                 AGUADILLA           PR           00605
   215802 HERIBERTO VAZQUEZ MUNIZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   215803 HERIBERTO VAZQUEZ OCASIO                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   215804 HERIBERTO VAZQUEZ PACHECO                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   215805 HERIBERTO VAZQUEZ ZAYAS                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666029 HERIBERTO VEGA COLON                        PO BOX 7126                                                                                                    PONCE               PR           00732
   666031 HERIBERTO VEGA RIVERA                       URB SANTA TERESITA         AC 18 CALLE 5                                                                       PONCE               PR           00730
   666032 HERIBERTO VEGA ROSARIO                      EST DE SAN FERNANDO        E 4 CALLE 6                                                                         CAROLINA            PR           00985
   666033 HERIBERTO VEGA TRINIDAD                     ROYAL TOWN                 V 30 CALLE 32                                                                       BAYAMON             PR           00956
   666034 HERIBERTO VEGA VELEZ                        HC 03 BOX 10958                                                                                                JUANA DIAZ          PR           00795

   215806 HERIBERTO VELAZQUEZ GARCIA REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          HERIBERTO VELAZQUEZ
   215807 HERNANDEZ                  REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          HERIBERTO VELAZQUEZ
   666035 MELENDEZ                   HC 01 BOX 3601                                                                                                                  UTUADO              PR           00641



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          HERIBERTO VELAZQUEZ                         JARDINES DE CAROLINA C‐40
   666036 OLIVENCIA                                   CALLE C                                                                                                                CAROLINA            PR           00985
                                                      PO BOX 9066600 PTA DE TIERRA
   666037 HERIBERTO VELAZQUEZ PEREZ                   STA                                                                                                                    SAN JUAN            PR           00906‐6600
   666038 HERIBERTO VELAZQUEZ VEGA                    HC 03 BOX 12216                                                                                                        CAMUY               PR           00627
   215808 Heriberto Velez Morales                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666039 HERIBERTO VELEZ RUIZ                        P.O. BOX 150                                                                                                           UTUADO              PR           00641
   666040 HERIBERTO VELEZ SOTO                        PO BOX 1243                                                                                                            AGUADILLA           PR           00605
   666041 HERIBERTO VELEZ VERA                        PO BOX 261                                                                                                             BARCELONETA         PR           00617
   215810 HERIBERTO VIGO CRESPO                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666042 HERIBERTO VIRELLA RIOS                      PO BOX 976                                                                                                             BARCELONETA         PR           00617
          HERIBERTO ZAPATA / PEQ LIGAS
   666043 A RODRIGUEZ                                 HC 01 BOX 8445               LLANOS TUNA SECTOR CAPILLA                                                                CABO ROJO           PR           00623
   666044 HERIBERTO ZAYAS COLON                       POLICIA                      PO BOX 70166                                                                              SAN JUAN            PR           00936‐8166
   666046 HERIBERTO ZAYAS VAZQUEZ                     PO BOX 721                                                                                                             BARRANQUITAS        PR           00794
   215811 HERIBRAN RAMOS CASTRO                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666047 HERIC SANTIAGO COTAL                        URB CAMINO REAL              29 CALLE ESTANCIA REAL                                                                    JUANA DIAZ          PR           00795‐9303
   666048 HERICK MALDONADO REYES                      HP ‐ SALA CCEP                                                                                                         RIO PIEDRAS         PR           009360000
   666049 HERICKA M BURGOS SOSA                       HC 03 BOX 10744                                                                                                        JUANA DIAZ          PR           00795
          HERIDEL GUADARRAMA
   666050 MORALES                                     HC 5 BOX 94395                                                                                                         ARECIBO             PR           00612
  1419994 HERIQUEZ AYBAR, DAMARIS                     DAHLIA SELLÉS IGLESIAS       PO BOX 41029                                                                              SAN JUAN            PR           00940‐1029

   215819 HERITAGE ENV. SERVICES PR LLC               1987 MOMENTUM PLACE                                                                                                    CHICAGO             IL           60689
   215821 HERITAGE PR                                 3080 AVENIDA HOSTOS                                                                                                    MAYAGUEZ            PR           00682
   666051 HERITAGE PRESERVATION                       1730 K STREET NW SUITE 566                                                                                             WASHINGTON          DC           20006‐3836
   666052 HERLINDA BAEZ PALMER                        URB LA MILAGROSA             E 8 CALLE DIAMANTE                                                                        SABANA GRANDE       PR           00637
   215822 HERLINDA GOMEZ IGUARDIA                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666053 HERLINDA VARGAS ASENCIO                     HC 01 BOX 7081                                                                                                         CABO ROJO           PR           00623
          HERM LOS ANCIANOS DESAMP
   666054 HOGAR SAN JOSE                              AVE SANTA TERESA JORNET                                                                                                HORMIGUEROS         PR           00660
   666055 HERMAN A GOMEZ ARENAS                       URB SULTANA                  63 CALLE RONDA                                                                            MAYAGUEZ            PR           00680
   666056 HERMAN ALVIRA CABAN                         URB LAS LOMAS                818 AVE SAN PATRICIO                                                                      SAN JUAN            PR           00921
   666057 HERMAN BAUZA MARTINEZ                       P O BOX 7025                                                                                                           CAROLINA            PR           00986
   666058 HERMAN CESTERO                              27 GONZALEZ GIUSTI ST 300                                                                                              GUAYNABO            PR           00968
   666059 HERMAN DAVILA RIOS                          URB TORRIMAR                 15 1 CALLE GRANADA                                                                        GUAYNABO            PR           00966
   666060 HERMAN E BENTHIEN VIERA                     PO BOX 9641                                                                                                            SAN JUAN            PR           00908

   215823 HERMAN GUZMAN CALDERON                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   215824 HERMAN HERNANDEZ NEGRON                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215825 HERMAN HIRALDO SANCHEZ                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   666061 HERMAN J CESTERO AGUILAR                    COND PLAZA DEL MAR           3001 AVE ISLA VERDE APT 2004                                                              CAROLINA            PR           00979
   666062 HERMAN J WIRSHING PINKLER                   PO BOX 9024132                                                                                                         SAN JUAN            PR           00902‐4132
   215829 HERMAN LIBOY RODRIGUEZ                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   215830 HERMAN MARTINEZ PANIAGUA                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666063 HERMAN MENDEZ OLIVENCIA                     HC 04 BOX 15711                                                                                                        SAN SEBASTIAN       PR           00685
          HERMAN MIRANDA / LA
   666064 CURBITA DE ORO                              102 CALLE CARBONELL                                                                                                    CABO ROJO           PR           00623

   215832 HERMAN MORALES MARTINEZ                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  215833 HERMAN RAMOS FORTIS                          REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  666065 HERMAN RODRIGUEZ TORRES                      HC 3 BOX 27999                                                                                               SAN SEBASTIAN     PR         00685
  666066 HERMAN ROJAS ORTIZ                           BO HIGUILLAR           57 SECTOR SAN ANTONIO                                                                 DORADO            PR         00646
  215834 HERMAN ROSA TORRES                           REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   215835 HERMAN SANTIAGO MANNING                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   666067 HERMAN TENORIO BETANCOURT SANTA TERESITA                           BF 10 CALLE 21                                                                        PONCE             PR         00731
   666068 HERMAN V QUI ONES PEREZ   URB ROUND HLS                            811 CALLE MARGINAL                                                                    TRUJILLO ALTO     PR         00976
   215836 HERMAN V QUINONES PEREZ   REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

          HERMANAS DAVILA PHYSICAL                    EDIF MEDICO HERMANAS
   215837 MEDICINE AND REHAB CENTER                   DAVILA STE 110         CALLE J ESQ B              HERMANAS DAVILA                                            BAYAMON           PR         00959
   215838 HERMANAS DOMINICAS                          URB HERMANAS DAVILA    N19 CALLE 5                                                                           BAYAMON           PR         00959
          HERMANAS DOMINICAS DE
   215839 FATIMA                                      2250 AVE BOULEVARD     LUIS A FERRE AGUAYO        SUITE 531                                                  PONCE             PR         00717‐9997
          HERMANAS DOMINICAS DE LA
   215842 PRESENTACION                                URB VILLA ARRIETA      17 CALLE A                                                                            BAYAMON           PR         00957

   215843 HERMANDAD ARI INC               EDIFICIO INTENDENTE RAMIREZ        DEPARTAMENTO DE HACIENDA                                                              SAN JUAN          PR         00901
          HERMANDAD DE ARTISTAS
   666070 GRAFICOS DE PR                  FLORALK PARK                       1 CALLE JAMAICA                                                                       SAN JUAN          PR         00917 3430
          HERMANDAD DE EMPLEADOS DE
   215844 HACIENDA                        PO BOX 9023401                                                                                                           SAN JUAN          PR         00902‐3401
          Hermandad de Empleados de
          Oficina y Ramas Anexas de
   215846 Puerto Rico (AMA)               López, Cristino                    PO Box 195349                                                                         San juan          PR         00919‐5349
          Hermandad de Empleados de
          Oficina, Comercio y Ramas
          Anexas de Puerto Rico (Puertos)
   215847 (ATM)                           Rosario Ortiz, Astrid              PO Box 8599                Fernández Juncos Station                                   San Juan          PR         00910‐8599
          Hermandad de Empleados
          Exentos No Docentes de la UPR
   215849 (HEEND‐UPR)                     Torres Rosario, José J.            Puerto Nuevo               1001 Calle 2 NE                                            San Juan          PR         00920
          HERMANDAD EMPLEADOS DE          C/O MARIA DEL CARMEN                                          EDIF. PRUDENCIO RIVERA
   666071 DEPTO DEL TRABAJO               MEDERO                             DPTO. DEL TRABAJO          MARTINEZ                                                   SAN JUAN          PR         00918
          Hermandad Empleados de Salud
   215850 y otras Agencias                Díaz Bigio, María S.               Caparra Terrace            1501 Ave Americo Miranda                                   San Juan          PR         00921
          Hermandad Empleados
   215851 Gerenciales de ACAA             Hernández López, Lcda. Claribel    División Legal             PO Box 364847                                              San Juan          PR         00936‐4847
          HERMANDAD EMPLEADOS NO
   666073 DOCENTES UPR                    PO BOX 360334                                                                                                            SAN JUAN          PR         00936‐0334
          HERMANDAD GENERAL EMPL
   215852 ELA                             516 DRESDE                         PUERTO NUEVO                                                                          SAN JUAN          PR         00920
          Hermandad Guardias de
   215853 Seguridad de Vieques, Corp.     Sánchez González, Luis E.          PO Box 230                                                                            Vieques           PR         00765
          Hermandad Independiente de
          Empleados Profesionales de la
   215855 AAA (HIEPAAA)                   Cintrón, Henry                     Urb Valencia               325 Calle Avila                                            San Juan          PR         00923
          HERMANDAD SABANENA
   215856 INTERENIDADES INC               4 ALMODOVAR CALLE SOTO                                                                                                   SABANA GRANDE     PR         00637
          HERMANDAD SABANENAS
   215858 INTERENTIDAD                    PO BOX 9100                                                                                                              SAN JUAN          PR         00908‐0163



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          HERMANDAD SANTOS CRISTO
   215859 SALUD/MARIA F                               LA CAMPINA                  16 CALLE 2                                                                          SAN JUAN            PR           00926
          HERMANIA HERNANDEZ
   215860 HERNANDEZ                                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERMANITAS DE LOS ANCIANOS
   215861 DESAMPARADOS                                181 CALLE TERESA JORNET                                                                                         SAN JUAN            PR           00926‐7542
          HERMANITAS DE LOS ANCIANOS
          DESAMPARADOS HOGAR SANTA
  1256539 MARTA                                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666076 HERMANOS ACEVEDO                            BO ESPIRAR                  BOX 134 CALLE C                                                                     AGUADA              PR           00602
          HERMANOS ACOSTA Y ORTH/
   666077 AUT.WORD                                    P O BOX 80000                                                                                                   ISABELA             PR           00662‐8002
                                                                                  1756 CALLE DELEDA URB
   666078 HERMANOS CONSTRUCTION INC. LITHEDA HIGH                                 LITHEDA HTS                                                                         SAN JUAN            PR           00926
   666079 HERMANOS CORDOVA CORP      PO BOX 19717                                                                                                                     SAN JUAN            PR           00910‐1717
   215863 HERMANOS CRUZ LL INC       B 10 URB LA MILAGROSA                                                                                                            ARROYO              PR           00714

   666080 HERMANOS GARCIA SPECIALTY                   URB. ROSARIO II CALLE DM6                                                                                       VEGA BAJA           PR           00693
   666082 HERMANOS GOLDEROS INC                       P O BOX 110                                                                                                     MERCEDITA           PR           00715
          HERMANOS MELENDEZ REALTY
   666084 INC.                                        PO BOX 306                                                                                                      BAYAMON             PR           00960
   215864 HERMANOS NEGRON, INC                        HC 06 BUZON 4202                                                                                                COTTO LAUREL        PR           00780‐9505
   215827 HERMANOS PASTRANA                           254 CALLE MUÐOZ RIVERA                                                                                          AROLINA ,           PR           00986‐0000
   215866 HERMANOS QUINTERO CORP                      HC 03 BOX 9507                                                                                                  QUEBRADILLAS        PR           00678
   666086 HERMANOS SANTIAGO                           PO BOX 7382                                                                                                     PONCE               PR           00732
          HERMANOS SANTIAGO CASH
   666088 AND CARRY                                   PO BOX 7382                                                                                                     PONCE               PR           00732
   666089 HERMANOS SANTIAGO INC                       103 RES CALIMANO                                                                                                GUAYAMA             PR           00784

   215869 HERMANOS TOLEDO                             12 CALLE 9 URB CAMPAMENTO                                                                                       GURABO              PR           00778

   666090 HERMANOS TORRES PEREZ INC                   PO BOX 209                                                                                                      MERCEDITA           PR           00715‐0209
          HERMANSKY PUDLAK
   215870 SYNDROME                                    URB VILLA DEL CARMEN        4813 CALLE TERRANOVA                                                                PONCE               PR           00716‐2204
   215871 HERMARILYS ROCHE LABOY                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666091 HERMEGILDO RODRIGUEZ                        HC 2 BOX 11460                                                                                                  LAS MARIAS          PR           00670

   666092 HERMEL RODRIGUEZ RENGIFO                    HC 03 BOX 21204                                                                                                 ARECIBO             PR           00612

   666093 HERMELINDA CABRERA RIVERA                   URB SABANA DEL PALMAR       F 19 CALLE YAGRUMO                                                                  COMERIO             PR           00782
   666094 HERMELINDA COTTO MARIN                      PARCELAS CANEJAS            BOX 4380                                                                            SAN JUAN            PR           00926
          HERMELINDA ESTRADA
   666095 ABRAHAM                                     HC 3 BOX 15489                                                                                                  QUEBRADILLAS        PR           00678
   215872 HERMELINDA LOPEZ REYES                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   666096 HERMELINDA LOZADA GARCIA                    HC 02 BOX 30329                                                                                                 CAGUAS              PR           00727‐9405

   666098 HERMELINDA VIZCARRA PELLOT 1366 CASTILLO DEL MAR                                                                                                            CAROLINA            PR           00979

   666099 HERMELINDO RUIZ HERNANDEZ HC 04 BOX 14888                                                                                                                   SAN SEBASTIAN       PR           00685
          HERMENEGILDA ECHEVARRIA
   666101 SOTO                      URB GLENVIEW GARDENS                          T47 CALLE N 20                                                                      PONCE               PR           00731 1662




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          HERMENEGILDA FERNANDEZ
   666102 RODRIGUEZ                   HC 1 BOX 11373                                                                                                                CAROLINA             PR           00985
          HERMENEGILDA PAGAN
   666103 MELENDEZ                    URB TOA ALTA HEIGHTS                     A 2 CALLE 15                                                                         TOA ALTA             PR           00953
          HERMENEGILDA SANTANA
   666105 VELAZQUEZ                   HC 01 BOX 17270                                                                                                               HUMACAO              PR           00791
          HERMENEGILDO ACOSTA
   666107 MARTINEZ                    HC BOX 11649                                                                                                                  LAJAS                PR           00667‐9713
          HERMENEGILDO HERNANDEZ
   215875 MEDINA                      REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HERMENEGILDO MARCANO
   666108 DELGADO                     BARRIO NUEVO                             CARR 816 KM 6 2                                                                      BAYAMON              PR           00956
          HERMENEGILDO MARCANO
   215876 GONZALEZ                    REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HERMENEGILDO MARCIAL
   215877 ROMAN                       REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HERMENEGILDO MENDEZ
   666109 GARCIA                      JARDINES DE CAPARRA                      V 14 CALLE 23                                                                        BAYAMON              PR           00956
          HERMENEGILDO NEGRON         BARRIADA BORINQUEN 108
   666110 OCASIO                      CALLE B 2                                                                                                                     PONCE                PR           00731
   215878 HERMENEGILDO ORTIZ          REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   666106 HERMENEGILDO PEREZ          AVE.SANTA JUANITA                        URB. SANTA JUANITA WP 1                                                              BAYAMON              PR           00956
   666113 HERMENEGILDO RODRIGUEZ      HC 02 BOX 5410                                                                                                                LARES                PR           00669
          HERMENEGILDO ROSA SOTO Y /O
   666114 PATILLAS                    PO BOX 1134                                                                                                                   PATILLAS             PR           00723
   666115 HERMER OTERO ADORNO         BO RIO ABAJO                                                                                                                  VEGA BAJA            PR           00693
   215880 HERMES ACEVEDO DROZ         REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HERMES ANDRES VELEZ         CONDADO 1358 AVE
   666117 CALDERON                    MAGDALENA                                                                                                                     SAN JUAN             PR           00907‐2002
   666118 HERMES B TRUJILLO VIDAL     URB SABANA GARDENS                       14 7 CALLE 27                                                                        CAROLINA             PR           00983
   215881 HERMES BONILLA CRUZ         REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   666119 HERMES CONDE NAVARRO        URB ALTAMIRA                             D 13 CALLE 8                                                                         FAJARDO              PR           00738
   666120 HERMES CORREA GONZALEZ      HC 03 BOX 14911                                                                                                               YAUCO                PR           00698
   666121 HERMES E VEGA ADORNO        533 E CHEVY CHASE DR B                                                                                                        GLENDALE             CA           91205
   666122 HERMES FELIPE CHE LEON      HC 3 BOX 16587                                                                                                                COROZAL              PR           00783
   215883 HERMES FLORES GONZALEZ      REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   666123 HERMES G GAGOT ESCOBOSA     URB CIUDAD UNIVERSITARIA                 V 23 CALLE 28                                                                        TRUJILLO ALTO        PR           00976

   666124 HERMES G MENDEZ AFANADOR                    ALT DE BUCARABONES       Q 37 CALLE 44 BLQ 3                                                                  TOA ALTA             PR           00953
   215884 HERMES GONZALEZ COLLAZO                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   666125 HERMES GONZALEZ LOPEZ A/C                   BANCO DES ECONOMICO PR   PO BOX 228                                                                           AGUADA               PR           00602

   666126 HERMES INTERNATIONAL CORP                   P O BOX 9024275                                                                                               SAN JUAN             PR           00902‐4275
   215885 HERMES LOPEZ LOPEZ                          REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   666130 HERMES MARIA VELAZQUEZ                      URB VILLA TURABO         F‐28 CALLE LAUREL                                                                    CAGUAS               PR           00725
   666131 HERMES O CARRILLO SEGUI                     HC 4 BOX 42635                                                                                                AGUADILLA            PR           00603
   215886 HERMES O PEREZ MENENDEZ                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   666132 HERMES ORTIZ GARCIA                         HILL BROTHERS            170 CALLE C                                                                          SAN JUAN             PR           00924
   666133 HERMES R BORRERO NOVAS                      URB VALLE ALTO J 9       CALLE 14                                                                             PONCE                PR           00731
   666136 HERMES RAMOS CINTRON                        URB LAS COLINAS M 9      COLINAS BUENA VISTA                                                                  TOA BAJA             PR           00949

   666137 HERMES RODRIGUEZ CENTENO                    HC 3 BOX 15137                                                                                                AGUAS BUENAS         PR           00703



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   666138 HERMES RODRIGUEZ FIGUEROA                   PO BOX 8864                                                                                                           CAGUAS              PR           00726
   666139 HERMES SANTIAGO                             PO BOX 158                                                                                                            GARROCHALES         PR           00652
   215887 HERMES SANTIAGO LUGO                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666116 HERMES VALENTIN GUZMAN                      HC 3 BOX 10993                                                                                                        GURABO              PR           00778
   666140 HERMES VARGAS RODRIGUEZ                     PARADISE HILLS                 1657 CALLE PECOS                                                                       SAN JUAN            PR           00927
   666142 HERMES VEGA VALENTIN                        URB VILLA ALTURAS JOYUDA       FF 1                                                                                   CABO ROJO           PR           00623

   666143 HERMES VILLANUEVA DE LEON                   URB MARTELL                    403 CALLE ESTEBAN PADILLA                                                              ARECIBO             PR           00612
          HERMETIC COMPRESSOR OF
   666144 PUERTO RICO INC                             SIERRA BAYAMON                 11 AVE WEST MAIN 16                                                                    BAYAMON             PR           00961

   215888 HERMEYRA RUGELES DE HUANG REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215897 HERMIDES RIVERA COSTAS    REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666145 HERMINA ACEVEDO           13 CALLE LOS OLIVOS                                                                                                                     CAMUY               PR           00627‐2700

   215918 HERMINDA GUZMAN QUINONES REDACTED                                          REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   666147 HERMINDY PEREZ RIVERA                       B 1 PANORAMA ESTATES CALLE 1                                                                                          BAYAMON             PR           00957
          HERMINIA A. GONZALEZ
   215919 SANTANA                                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666151 HERMINIA ACEVEDO GARCIA                     HC 59 BOX 6487                                                                                                        AGUADA              PR           00602
   215921 HERMINIA ALAMEDA RIVERA                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666152 HERMINIA ALBELO                             URB SANS SOUCI                 Z 6 CALLE 18                                                                           BAYAMON             PR           00957
   215922 HERMINIA ANTONETTI LABOY                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERMINIA ASTACIO
   666155 ALMODOVAR                                   PO BOX 274                     CENTRAL AGUIRRE                                                                        AGUIRRE             PR           00704

   215923 HERMINIA BENITEZ ALVARADO                   REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666156 HERMINIA CANELA MARTINEZ                    COND DE DIEGO                  575 APT 801                                                                            SAN JUAN            PR           00928
   215924 HERMINIA CASADO ARROYO                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666158 HERMINIA CEPEDA MEDINA                      RES LAS MARGARITAS             EDIF 3 APT 609                                                                         SAN JUAN            PR           00915
   666159 HERMINIA COLON                              PMR 157 BOX 1980                                                                                                      LOIZA               PR           00772

   666160 HERMINIA CORREA MARTINEZ     PO BOX 1246                                                                                                                          ISABELA             PR           00602
   666162 HERMINIA CRUZ RESTO          138 KEENEY STREET                                                                                                                    MANCHESTER          CT           06040
   666163 HERMINIA CRUZ SERRANO        P O BOX 7428                                                                                                                         SAN JUAN            PR           00916
   666164 HERMINIA DE JESUS RUBERTE    URB SANTA TERESITA                            AB CALLE 7                                                                             PONCE               PR           00731
          HERMINIA DEL PILAR RODRIGUEZ N 18 CALLE EL MORRO PARK
   666165 RIVERA                       GARDENS                                                                                                                              SAN JUAN            PR           00926
   666166 HERMINIA DEVARIE CORA        HC 1 BOX 5603                                                                                                                        ARROYO              PR           00714
   666168 HERMINIA DIAZ MARTINEZ       P O BOX 1266                                                                                                                         SABANA HOYOS        PR           00688‐1266
   666169 HERMINIA DIAZ SANCHEZ        C 26 URB SAN MARTIN                                                                                                                  UTUADO              PR           00641
          HERMINIA DIAZ Y ROSELIN
   215925 GARCIA                       REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666170 HERMINIA ESTHER ROJAS        P O BOX 7428                                                                                                                         SAN JUAN            PR           00916
   215926 HERMINIA FALCON COLON        REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666171 HERMINIA FELIX RIVERA        PO BOX 1336                                                                                                                          LAS PIEDRAS         PR           00771
   215927 Herminia Figueroa Torres     REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215928 HERMINIA FUENTES OCASIO      REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   666173 HERMINIA HENRIQUEZ NAVARRO RES SAN AGUSTIN APT 538                                                                                                                SAN JUAN            PR           00901
   666174 HERMINIA LOPEZ MARTINEZ    BOX 84                                                                                                                                 LAS PIEDRAS         PR           00771



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  666175 HERMINIA LOPEZ SANCHEZ                       AZUCENA 169 BUZON 499   BO BUENA VENTURA                                                                    CAROLINA            PR           00989
  666176 HERMINIA LOPEZ TORRES                        URB EL PARAISO          1503 CALLE ROSANO        APT 1 A                                                    SAN JUAN            PR           00926
         HERMINIA M MACHADO /
  666178 FLORISTERIA JUARBE                           PO BOX 994                                                                                                  ISABELA             PR           00662
  666179 HERMINIA MARGARET CRUZ                       PO BOX 2710                                                                                                 ARECIBO             PR           00613

   666181 HERMINIA MARRERO MARRERO                    P O BOX 791                                                                                                 COROZAL             PR           00783
   666182 HERMINIA MATEO ESPADA                       PO BOX 747                                                                                                  COAMO               PR           00769
          HERMINIA MENDOZA
   666186 CARTAGENA                                   BOX 5756                                                                                                    CIDRA               PR           00739
   215930 HERMINIA MERCED GARCIA                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666189 HERMINIA MISLA VEGA                         PARCELAS COTO           H I CALLE VISTA ALEGRE                                                              ISABELA             PR           00662
   215931 HERMINIA MORALES ROBLES                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   666190 HERMINIA MORALES SALGADO                    BO HATO TEJAS           CARR 854 245                                                                        BAYAMON             PR           00959
          HERMINIA NEGRON NEGRON /
   666192 IRENE NEGRON                                HC 1 BOX 3262                                                                                               UTUADO              PR           00641‐9602
   666193 HERMINIA NIEVES PARRILLA                    P O BOX 18                                                                                                  PALMER              PR           00721
          HERMINIA ORTEGA
   666194 MALDONADO                                   HC 02 BOX 7218                                                                                              CIALES              PR           00638
   215932 HERMINIA PANTOJA GARCIA                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666196 HERMINIA PIMENTEL                           URB MONTE BRISAS        A 1 CALLE E                                                                         FAJARDO             PR           00738
   666197 HERMINIA PONTE CORDOVES                     P O BOX 7428                                                                                                SAN JUAN            PR           00916
   666198 HERMINIA RIVERA LOPEZ                       HC 02 BOX 11334                                                                                             HUMACAO             PR           00791
   666199 HERMINIA RIVERA RIVERA                      HC 67 BOX 13102                                                                                             BAYAMON             PR           00956
   215933 HERMINIA RIVERA SANTIAGO                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   666200 HERMINIA RODRIGUEZ ARROYO                   URB EL MADRIGAL         I 14 MARGINAL NORTE                                                                 PONCE               PR           00731
          HERMINIA RODRIGUEZ
   666201 CARDONA                                     PO BOX 2286                                                                                                 RIO GRANDE          PR           00745
   215934 HERMINIA ROSA RODRIGUEZ                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666202 HERMINIA ROSARIO                            CAPARRA HEIGHTS         627 CALLE ESCORIAL                                                                  SAN JUAN            PR           00920
   215935 HERMINIA S COLON COLON                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666148 HERMINIA SANTOS GONZALEZ                    URB PARQUE FLAMINGO     190 CALEL ALEXANDRIA                                                                BAYAMON             PR           00659

   666150 HERMINIA SERRANO DE FUENTES RR 2 BOX 7075                                                                                                               TOA ALTA            PR           00957
   666205 HERMINIA SOJO GONZALEZ      8 13 URB EL COQUI                                                                                                           LAS MARIAS          PR           00670
   666206 HERMINIA TIRADO ROSARIO     PO BOX 918                                                                                                                  MAUNABO             PR           00707
   666207 HERMINIA TOLEDO VELEZ       URB VILLA DEL CARMEN                    DD 29 CALLE 19                                                                      PONCE               PR           00731
   215937 HERMINIA VAZQUEZ RIVERA     REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   215938 HERMINIA ZARAGOZA BAEZ      REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666210 HERMINIIO TORRES SERRANO    P O BOX 6432                                                                                                                PONCE               PR           00731
   666212 HERMINIO A DIAZ SERRANO     URB ROYAL PALM                          1B20 CALLE AZALEA                                                                   BAYAMON             PR           00956
  1256540 HERMINIO A DÍAZ SERRANO     REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   215939 HERMINIO A TORRES MILLAN    REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666213 HERMINIO ALICEA             HC 73 BOX 5356                                                                                                              NARANJITO           PR           00719

   215940 HERMINIO AMADOR DELGADO                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   215941 HERMINIO APONTE                             REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   215942 HERMINIO BAEZ RIVERA                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666215 HERMINIO BARRIL CORREA                      P O BOX 25154                                                                                               SAN JUAN            PR           00928
   666216 HERMINIO BERRIOS BERRIOS                    BO TEJAS                HC 1 BOX 7810                                                                       LAS PIEDRAS         PR           00771




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   666217 HERMINIO BOSQUES MEDINA                     PARQUE SAN ANTONIO APT 1101                                                                                       CAGUAS               PR           00725
   666218 HERMINIO BOSQUES SOTO                       30 CALLE BARBOSA                                                                                                  ISABELA              PR           00662
   666219 HERMINIO BRUNO CASTRO                       HC 2 BOX 44758                                                                                                    VEGA BAJA            PR           00693
   666220 HERMINIO CABEZUDO PEREZ                     HC 02 BOX 12163                                                                                                   GURABO               PR           00778‐9613

   215943 HERMINIO CAMACHO ROSADO                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   215944 HERMINIO CASANOVA SANCHEZ REDACTED                                        REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HERMINIO CLAUDIO
   666221 MALDONADO                 PO BOX 1787                                                                                                                         TRUJILLO ALTO        PR           00977
   666222 HERMINIO CONCEPCION       BO GUAYANILLA                                   BOX A‐236                                                                           AGUADA               PR           00602

   666223 HERMINIO CONCEPCION VARGAS HC 3 BOX 33515                                                                                                                     AGUADA               PR           00602
                                     URB. LOS CAOBOS #809 CALLE
   666224 HERMINIO CORTES BADILLO    ANON                                                                                                                               PONCE                PR           00731

   666225 HERMINIO COSTALES NEGRON                    URB RIO PLANTATION            3 CALLE 7                                                                           BAYAMON              PR           00961‐3505
          HERMINIO COTTO
   215945 CONSTRUCTION I                              REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   215946 HERMINIO CRUZ MORALES                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   666226 HERMINIO CRUZ VELEZ                         COND BAYOLA                   APT 1201 A                                                                          SAN JUAN             PR           00907
   215947 HERMINIO CUEVAS RAMOS                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HERMINIO DE JESUS DBA DE
   215948 JESUS BOOK SERV                             PO BOX 7891 PMB 285                                                                                               GUAYNABO             PR           00970
   215950 HERMINIO DIAZ FIGUEROA                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   666227 HERMINIO DIAZ GONZALEZ                      URB DIAMARI                   307 CALLE CRISANTEMOS                                                               JUNCOS               PR           00777
   666228 HERMINIO DIAZ MARQUEZ                       PARQ ECUESTRE                 UA12 CALLE DULCE SUENO                                                              CAROLINA             PR           00987
                                                      URB TERRAZA DE GUAYNABO
   666229 HERMINIO DIAZ RIVERA                        D29                           CALLE VIOLETA                                                                       GUANABO              PR           00969
          HERMINIO DOMINGUEZ
   666230 SANCHEZ                                     BDA CORDOVA DANILA            149‐A SUIT I                                                                        MANATI               PR           00674
   215951 HERMINIO FELICIANO RAMOS                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   666231 HERMINIO FIGUEROA RIVERA                    RR 2 BOX 7577                                                                                                     CIDRA                PR           00739
          HERMINIO FLORES / FLORES
   666232 BUSLINE                                     P O BOX 1645                                                                                                      CIDRA                PR           00739
          HERMINIO FLORES/BLANCA
   215952 TORO                                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   666234 HERMINIO GARCIA                             BO NEGROS                     HC 03 BOX 17283                                                                     COROZAL              PR           00783
   666235 HERMINIO GARCIA GONZALEZ                    EXT EL COMANDANTE             532 CALLE SAN DAMIAN                                                                CAROLINA             PR           00982
   215953 HERMINIO GIL FELICIANO                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   215954 HERMINIO GOMEZ MONTALVO                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   215955 HERMINIO GONZALEZ ALAYON                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   666236 HERMINIO GONZALEZ PEREZ                     PARC CANTITO                  48 CALLE 1                                                                          MANATI               PR           00674
   666237 HERMINIO GOTAY CATALA                       HC 2 BOX 0474                                                                                                     GUAYNABO             PR           00971
   215956 HERMINIO IRIZARRY MUðOZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   666240 HERMINIO J CARDONA                          COSTA MARINA 2 APT 3 G                                                                                            CAROLINA             PR           00983
   666241 HERMINIO J CORREA GARCES                    401 CALLE PARQUE              PDA 23                                                                              SAN JUAN             PR           00912
          HERMINIO J RODRIGUEZ
   215959 JIMENEZ                                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   666246 HERMINIO LOPEZ CRUZ                         COND LOS ROBLES A             APT 501                                                                             SAN JUAN             PR           00927



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  215960 HERMINIO LOPEZ GUTIERREZ                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   666211 HERMINIO LORENZO LORENZO                    URB. SANTA JUANITA N I 13      CALLE NINFA                                                                       BAYAMON              PR         00956
   666247 HERMINIO LUCENA DE JESUS                    CUIDAD UNIVERSITARIA           CALLE 17 L‐21                                                                     TRUJILLO ALTO        PR         00760

   666248 HERMINIO MARRERO ALVAREZ                    URB SANTA ELENA                N 21 CALLE B                                                                      BAYAMON              PR         00957
   215961 HERMINIO MARTINEZ TIRADO                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   666250 HERMINIO MENDEZ RIVERA                      6 CALLE CRISTY                                                                                                   MAYAGUEZ             PR         00680
   215962 HERMINIO MILLAR BONEZ                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   666251 HERMINIO MIRANDA GONZALEZ HC 03 BOX 34659                                                                                                                    HATILLO              PR         00659
   666252 HERMINIO MORALES NIEVES   HC 763 BUZON 3390                                                                                                                  PATILLAS             PR         00723
   215964 HERMINIO MORALES PAGAN    REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   666253 HERMINIO MORALES SANCHEZ                    PO BOX 363325                                                                                                    SAN JUAN             PR         00936
   215965 HERMINIO MUNIZ CRUZ                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   666254 HERMINIO N FRET RIVERA                      RES FRANCISCO VEGA SANCHEZ     EDF 7 APT 40                                                                      VEGA ALTA            PR         00692

   215966 HERMINIO NIEVES HERNANDEZ                   REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   215967 HERMINIO OLMEDA SANABRIA                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   666256 HERMINIO OQUENDO CRUZ                       BDA BORINQUEN                  100 CALLE B 2                                                                     PONCE                PR         00731
   215968 HERMINIO ORTIZ TIRADO                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   215970 HERMINIO PAEZ                               REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   215971 HERMINIO PAGAN CALDERIN                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   666257 HERMINIO PAGAN CALDERON                     URB MONTECARLO                 857 CALLE 20                                                                      SAN JUAN             PR         00924
   215972 HERMINIO PAGAN NAZARIO                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   666258 HERMINIO PAOLI FUSTER                       BO BARTOLO                     HC 04 BOX 16005                                                                   LARES                PR         00669
   215973 HERMINIO PAOLI IRIZARRY                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   666260 HERMINIO PEREZ PEREZ                        HC 5 BOX 10969                                                                                                   MOCA                 PR         00676
   215974 HERMINIO PEREZ RODRIGUEZ                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   666262 HERMINIO RAMOS CARABALLO                    URB SANTA MARIA                G 4 CALLE 27                                                                      GUAYANILLA           PR         00656
   666263 HERMINIO RIOS DE RAMIREZ                    URB REPARTO UNIERSITARIO       369 HOLY CROSS                                                                    SAN JUAN             PR         00926

   666264 HERMINIO RIVERA ALFONSO                     HP ‐ MANEJO DE INF. DE SALUD                                                                                     RIO PIEDRAS          PR         009360000
   215975 HERMINIO RIVERA BAJADAS                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   215976 HERMINIO RIVERA CANDELARIA                  REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   666267 HERMINIO RIVERA CRESPO                      HC 1 BOX 3902                                                                                                    FLORIDA              PR         00650‐9720
   215977 HERMINIO RIVERA MELENDEZ                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   666269 HERMINIO RIVERA RIVERA                      HC 1 BOX 3069                                                                                                    UTUADO               PR         00641
   666270 HERMINIO RIVERA ROMERO                      VILLA JUSTICIA                 I 10 CALLE DELGADO                                                                CAROLINA             PR         00985
   666271 HERMINIO RIVERA ROSA                        PO BOX 778                                                                                                       HATILLO              PR         00659

   666272 HERMINIO ROBLES MALDONADO BUZON 1 CALLEJON MORALES                                                                                                           MANATI               PR         00674
   666273 HERMINIO ROCHE LABOY      PO BOX 311                                                                                                                         VILLALBA             PR         00766
   666274 HERMINIO RODRIGUEZ        P O BOX 33                                                                                                                         SAN GERMAN           PR         00693
          HERMINIO RODRIGUEZ
   215980 MARTINEZ                  REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          HERMINIO RODRIGUEZ
   666277 RODRIGUEZ                 PO BOX 142394                                                                                                                      ARECIBO              PR         00614



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   215982 HERMINIO ROMERO MORENO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215983 HERMINIO ROSADO NEGRON                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERMINIO ROSARIO
   666279 CONCEPCION                                  HC 58 BOX 13547                                                                                                AGUADA              PR           00602
   215984 HERMINIO SALGADO SIERRA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215985 HERMINIO SANCHEZ RUIZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666282 HERMINIO SANTA OLMEDA                       HC 2 BOX 7024                                                                                                  YABUCOA             PR           00767
   666283 HERMINIO SANTANA DE LEON                    COM PALOMAS II               SOLAR 71                                                                          HUMACAO             PR           00767

   215986 HERMINIO SANTIAGO BONILLA                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERMINIO SANTIAGO
   666284 CANDELARIA                                  186 SECTOR LA LOMA                                                                                             MAYAGUEZ            PR           00680
   215987 HERMINIO SUAREZ RAMOS                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666285 HERMINIO TORRES MUNIZ                       5 CALLE ARZUAGA BOX 330                                                                                        SAN JUAN            PR           00925‐3701
   215988 HERMINIO TORRES ORTIZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666286 HERMINIO VALLE MARTINEZ                     BO ARENALES                  74 CALLE ANTERO                                                                   VEGA BAJA           PR           00693‐2326
   666287 HERMINIO VAZQUEZ                            602 CALLE EL MANGOTIN                                                                                          HATILLO             PR           00659

   215990 HERMINIO VAZQUEZ MELENDEZ REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666288 HERMINIO VEGA BARRETO     HC 3 BOX 100‐90                                                                                                                  CAMUY               PR           00627
   666289 HERMINIO VEGA ZAYAS       HC 6 BOX 17493                                                                                                                   SAN SEBASTIAN       PR           00685

   666290 HERMINIO VELAZQUEZ ALICEA                   PLAYA PONCE                  10 INT CALLE COMERIO                                                              PONCE               PR           00716‐8136
   215992 HERMINIO VELEZ CRESPO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   666292 HERMINIO VIRUET RODRIGUEZ                   COM LA GRANJA                SOLAR 36                                                                          UTUADO              PR           00641
   666293 HERMIT TORO RODRIGUEZ                       GUANAJIBO HOMES 731          CALLE AUGUSTO PEREA                                                               MAYAGUEZ            PR           00680
          HERMOGENES COFFIE
   666294 RODRIGUEZ                                   PO BOX 192                                                                                                     BOQUERON            PR           00622‐0192
          HERMOGENES ECHEVARRIA
   666295 RAMOS                                       BO MAMEYAL                   148 B CALLE 4                                                                     DORADO              PR           00646
   215993 HERMOGENES ORTIZ PINERO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   215994 HERMOGENES PENA TAVERAS                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   215995 HERMOGENES ROSADO RAMOS                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERMOGENES SANTA
   215996 RODRIGUEZ                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERMOGENES ZAYAS
   666296 RODRIGUEZ                                   HC 20 BOX 26725                                                                                                SAN LORENZO         PR           00754
   215998 HERMOSA MD , JOSEPH P                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   216003 HERNADEZ FAVALE, LAURA I.                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNAIZ MATIENZO Y OTROS,
  1419995 KISS DIANNE                                 VANESSA SAXTON ARROYO        PO BOX 191590                                                                     SAN JUAN            PR           00919‐1590
   216050 HERNAIZ RODRIGUEZ, ANA R.                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   666297 HERNALDO J SIERRA SANTIAGO                  HC 01 BOX 8408 BO SUMIDERO                                                                                     AGUAS BUENAS        PR           00703‐9723
   216057 HERNAN A BADIA FELICIANO                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   216058 HERNAN A CORTES VEGA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   216059 HERNAN ACUNA NIN                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   216060 HERNAN ALVIRA CABAN                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNAN B GONZALEZ / NANCY
   216061 NAZARIO                                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  666299 HERNAN BAEZ ORAMAS                           ALTURAS DE RIO GRANDE        JK 196 CALLE 14                                                                     RIO GRANDE        PR           00745
                                                      URB SANTA CLARA S 24 C PALMA
   666302 HERNAN BIAGGI MASCARO                       REAL                                                                                                             GUAYNABO          PR           00969
   216062 HERNAN BUSTELO                              REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   666304 HERNAN CORTES COLON                         URB JARD COUNTRY CLUB        L 3 CALLE 19                                                                        CAROLINA          PR           00983
   666305 HERNAN CRUZ VAZQUEZ                         URB MONTE VERDE              3243 CALLE MONTE SANTO                                                              MANATI            PR           00674
   216063 HERNAN DEL TORO RIVERA                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   216065 HERNAN E DAVILA MATEO                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   216066 HERNAN ECHEVERRI                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   666307 HERNAN EMILIO JORGE                         PO BOX 192701                                                                                                    SAN JUAN          PR           00919‐2707
   216067 HERNAN F AYALA RUBIO                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   216068 HERNAN FEBRES ORTIZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          HERNAN FERNANDEZ
   216069 GONZQALEZ                                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   666309 HERNAN FUENTES FIGUEROA                     URB VALENCIA                356 CALLE LERIDA                                                                     SAN JUAN          PR           00923
   666310 HERNAN G BURGOS RIVERA                      COND RIVER PARK             APT I 302                                                                            BAYAMON           PR           00961

   666311 HERNAN G COLBERG GUERRA                     BCO POPULAR CENTER STE 1901 209 AVE MU¥OZ RIVERA                                                                 SAN JUAN          PR           00918
   216071 HERNAN GOMEZ PEREZ                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   666312 HERNAN GONZALEZ                             62 CALLE RODULFO GONZALEZ                                                                                        ADJUNTAS          PR           00601

   666315 HERNAN GONZALEZ MARRERO                     68 HACIENDAS DEL LAGO       CARR 175                                                                             TRUJILLO ALTO     PR           00926
   666316 HERNAN GONZALEZ TORRES                      PMB 535 P O BOX 7105                                                                                             PONCE             PR           00732
   216074 HERNAN GONZALEZ VELEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          HERNAN GONZALEZ Y
   216075 ASOCIADOS                                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   666317 HERNAN H BECERRA BONILLA                    4 SE 1162 CAPARRA TERRACE                                                                                        SAN JUAN          PR           00921‐1736

   666318 HERNAN HERNANDEZ FIGUEROA PO BOX 560168                                                                                                                      GUAYANILLA        PR           00656

   216076 HERNAN HERNANDEZ GUEVARA REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   666320 HERNAN IRIZARRY MALDONADO 36 LOS LIRIOS                                                                                                                      ADJUNTAS          PR           00601
          HERNAN JR MACHADO AND
   666321 ASSOC                     PO BOX 495                                                                                                                         MAYAGUEZ          PR           00681‐0495

   666322 HERNAN JR MACHADO TORRES                    PO BOX 495                                                                                                       MAYAGUEZ          PR           00681‐0495
   216079 HERNAN L MENDEZ GOMEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   216080 HERNAN LAMBOY COLLAZO                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   216081 HERNAN LOPEZ BAEZ                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   666323 HERNAN LUGO RODRIGUEZ                       PO BOX 786                                                                                                       CABO ROJO         PR           00623

   666324 HERNAN LUGO TORRES E HIJO                   PO BOX 786                                                                                                       CABO ROJO         PR           00623
   666325 HERNAN MALAVE                               4135 OLCOTT AVE                                                                                                  EAST CHICAGO      PR           43612‐2541
   666326 HERNAN MARRERO CALDERO                      HC 01 BOX 3974                                                                                                   COROZAL           PR           00783
   666327 HERNAN MARRERO SOLIS                        HP ‐ SALA CCEP                                                                                                   RIO PIEDRAS       PR           009360000

   216084 HERNAN MARTINEZ PANIAGUA                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   216085 HERNAN MARTINEZ QUINONES                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   666328 HERNAN MERCADO MARTINEZ                     BO SABALOS                  27 CALLE NADAL                                                                       MAYAGUEZ          PR           00680



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  216087 HERNAN MERCADO PEREZ                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  216088 HERNAN MONTES BONILLA                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  666329 HERNAN MONTILLA BAEZ                         18 EL VIGIO                                                                                                            PONCE               PR         00731

   666331 HERNAN MORALES ORTIZ                        URB ROOSEVELT                 309 CALLE RODRIGO DE TRIANA                                                              SAN JUAN            PR         00918
   216089 HERNAN NEGRON MATOS                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   216090 HERNAN NIEVES RIVERA                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   666332 HERNAN OCASIO RAMOS                         2056 BO DUQUE                                                                                                          NAGUABO             PR         00718
   666333 HERNAN OJEDA REYES                          421 COND THE FALLS                                                                                                     GUAYNABO            PR         00969
   666298 HERNAN OLIVERA MEDINA                       HC 01 BOX 3131                                                                                                         ADJUNTAS            PR         00601
   216091 HERNAN ORTIZ                                REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   216092 HERNAN ORTIZ GARCIA                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   216093 HERNAN PADILLA ZAPATA                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   666334 HERNAN PADIN NIEVES                         HC 03 BOX 10808                                                                                                        CAMUY               PR         00627
   666335 HERNAN PEREZ HERNANDEZ                      COND PARQUE CENTRO            EDIF ROBLES APT G 5                                                                      SAN JUAN            PR         00918

   216094 HERNAN PINTADO NORMANDIA REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   216095 HERNAN R MIRANDA RIVERA  REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   216096 HERNAN R RODRIGUEZ SCHMIDT REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   666339 HERNAN REBOYRAS HERNANDEZ VILLA LOS SANTOS                                AA 19 CALLE 18                                                                           ARECIBO             PR         00612
   666340 HERNAN RESTO MOLINA       PO BOX 1560                                                                                                                              SABANA SECA         PR         00952‐1560
   666341 HERNAN RIVERA SANTIAGO    HC 2 BOX 6823                                                                                                                            UTUADO              PR         00641
   666342 HERNAN RODRIGUEZ          URB LA ALAMEDA                                  766 CALLE GEMA                                                                           SAN JUAN            PR         00926

   666343 HERNAN RODRIGUEZ BURGOS                     URB REINA DE LOS ANGELES      C 5 CALLE 5                                                                              GURABO              PR         00778
   666344 HERNAN RODRIGUEZ ROMAN                      HC 02 BOX 7476                                                                                                         QUEBRADILLAS        PR         00678

   666345 HERNAN RODRIGUEZ SANTIAGO                   PO BOX 1334                                                                                                            LARES               PR         00669
          HERNAN RODRIGUEZ VELEZ DBA
   216097 LA SEGUNDA                                  PARADA                        30 CRISTO REY                                                                            ISABELA             PR         00662
   216098 HERNAN ROSA SANCHEZ                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   216100 HERNAN SANTIAGO NEGRON                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HERNAN SANTIAGO/ MAYRA
   216101 SANTIAGO                                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                    43 CALLE CALLETANO COLL Y
   666346 HERNAN SEDA                                 URB RAMIREZ DE ARELLANO       TOSTE                                                                                    MAYAGUEZ            PR         00680
   216102 HERNAN SERRANO OCANA                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   666348 HERNAN TIRADO RIVERA                        PO BOX 13987                                                                                                           SAN JUAN            PR         00908
   216103 HERNAN TORO CABAN                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   666349 HERNAN TORRES GONZALEZ                      HC 1 BOX 19364                                                                                                         COAMO               PR         00769
   216104 HERNAN TORRES TORRES                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   666350 HERNAN TORRES VELEZ                         URB ROOSEVELT                 42 CALLE A                                                                               YAUCO               PR         00698
   216105 HERNAN TUESTA TORO                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   666351 HERNAN VALENTIN ORTIZ                       REPTO FLAMINGO                N 17 C/ CAPITAN CORREA                                                                   BAYAMON             PR         00959
   216106 HERNAN VALLE LOZADA                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   216107 HERNAN VARGAS FELICIANO                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   666353 HERNAN VELEZ VELEZ                          BO TERRANOVAS                 CARR 113 N BOX 6152                                                                      QUEBRADILLAS        PR         00678

   666354 HERNAND CRUZ MATEO                          50 CALLE JOSE CELSO BALBOSA                                                                                            SALINAS             PR         00751
          HERNANDEZ & SANCHEZ INS
   216118 PRODUCERS PSC                               COND DARLINGTON               609 MUNOZ RIVERA AVE                                                                     SAN JUAN            PR         00925



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   216160 HERNANDEZ ACEVEDO, MELANIE REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   216192 HERNANDEZ ACOSTA, WALESKA REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ ALAYON Y
   666355 ASOCIADOS                    ARQUITECTOS) P O BOX 362192                                                                                                      SAN JUAN            PR           00936
          HERNÁNDEZ ALGARÍN, JUAN LUIS
          Y FIRST BANK Y UNIVERSAL                                             AMERICAN AIRLINES BUILDING
  1422518 INSURANCE                    KEILA ORTEGA                            PISO 10                       1509 CALLE LOPEZ LANDRON                                   SAN JUAN            PR           00911
          HERNANDEZ ALVAREZ MD,
   216319 HECTOR M                     REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ ALVAREZ MD,
   216320 RUBEN                        REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   216360 HERNANDEZ ANDINO, CARMEN                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   216411 HERNANDEZ AQUINO, ADELINA                   REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                               CALLE ESTEBAN PADILLA 60‐E‐
  1419996 HERNÁNDEZ ARCE, ALEXIS                      ORLANDO ROSADO SANCHEZ   ALTOS                                                                                    BAYAMON             PR           00959
   216426 HERNANDEZ ARCE, LUZ M                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   216482 HERNANDEZ AVILES, CARMEN G REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   216491 HERNANDEZ AVILES, MARIA E. REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ BARTOLOMEI MD,
   216585 RAFAEL                     REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   216649 HERNANDEZ BERN MD, MARTIN REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                               PMB 133 1353 AVE. LUIS
  1419997 HERNÁNDEZ CABÁN, LETICIA  YARLENE JIMENEZ ROSARIO                    VIGOREAUX                                                                                GUAYNABO            PR           00966‐2700
          HERNANDEZ CANTRES, CARMEN
  1419998 I.                        AMABEL M. ESCALERA RIVERA                  PO BOX 70244                                                                             SAN JUAN            PR           00936‐8244
          HERNANDEZ CARABALLO,
   216863 EDUARDO                   REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   216891 HERNANDEZ CARIRE, CARMEN D. REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ CARPINTERO,
   216900 MARIA J                     REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ CARRION MD,
   216941 EDUARDO F                   REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   216976 HERNANDEZ CASTILLO, SANDRA REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1419999 HERNÁNDEZ CASTRO, ÁNGEL    GENOVEVA VALENTIN SOTO                    PO BOX 13695                                                                             SAN JUAN            PR           00908‐3695

   666357 HERNANDEZ CATERING SERVICES P0 BOX 356                                                                                                                        AGUAS BUENAS        PR           00703
          HERNANDEZ CEREZO MD,
   217019 RUTILIO                     REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   216995 HERNANDEZ COBIAN MD, NILSA                  REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   217086 HERNANDEZ COLON KRYSTAL                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ COLON MD,
   217087 LYDIETTE W                                  REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ COLON Y VIDAL S R
   217088 L                                           P O BOX 331041                                                                                                    PONCE               PR           00733‐1041



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   217107 HERNANDEZ COLON, DAISY M.                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   217131 HERNANDEZ COLON, IRISBELISA                 REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ COLON, JOHANNA
   217139 M.                                          REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   217189 HERNANDEZ COLON, SHERLY                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ CORDERO MD,
   217216 RENE                                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ CORDERO MD,
   217217 SAVIER                                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   217344 HERNANDEZ CRUZ MD, JUANITA REDACTED                                    REDACTED                    REDACTED                              REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                 REPARTO METRO 1228 CALLE 52
  1420000 HERNANDEZ CRUZ, ALEXIS                      OLDER OLLER                SUITE 201                                                                                SAN JUAN            PR           00921
   217503 HERNANDEZ DAVILA, LUZ E.                    REDACTED                   REDACTED                    REDACTED                              REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420001 HERNANDEZ DE JESUS, ABEL                    EDWIN R. BONILLA VÉLEZ     PO BOX 190433                                                                            SAN JUAN            PR           00919‐0433
          HERNANDEZ DE JESUS, ISABEL /
          HERNANDEZ APONTE,                                                      EDIFICIO LEMANSOFICINA 402
  1420002 HERIBERTO                                   ANTONIO BAUZÁ TORRES       AVE. MUÑOZ RIVERA #602                                                                   HATO REY            PR           00918‐3612
          HERNANDEZ DENTON MD,
   217630 GABRIEL                                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   217639 HERNANDEZ DIAZ, CARMEN I                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   217667 HERNANDEZ DIAZ, IRIS B.                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   217746 HERNANDEZ ELECTRICAL                        CALLE 4 F‐26               URB. FRANCISCO OLLER                                                                     BAYAMON             PR           00956
   217778 HERNANDEZ ESPINO, JEFFREY                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   217787 HERNANDEZ ESPINOSA, OMAYRA REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   217796 HERNANDEZ ESQUILIN, YOLANDA REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ ESTRELLA MD,
   217807 ARTURO N                    REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   217838 HERNANDEZ FELICIANO, ESTHER REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   217861 HERNANDEZ FELICIANO, WANDA REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ FERNANDEZ,                                                   PMB 101 390 SUITE #1, CARR.
  1420003 MARRY L.                   EDWIN CASTRO FONTANEZ                       853 CAROLINA                                                                             CAROLINA            PR           00987‐8799

   217970 HERNANDEZ FLORES, CARMEN I                  REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ FUENTES
   666358 CONSULTING GROUP                            PMB 269                    425 CARR 693                                                                             DORADO              PR           00646

   218103 HERNANDEZ GARCIA, SOCORRO                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666359 HERNANDEZ GAS                               50 CALLE ULISES MARTINEZ                                                                                            HUMACAO             PR           00791
          HERNANDEZ GENAO, RIOS &
   218120 ASOCIADOS, CSP                              PO BOX 1814                                                                                                         CAGUAS              PR           00726‐1814
          HERNANDEZ GENERAL
   218121 CONTRACTOR, INC                             PO BOX 1127                                                                                                         OROCOVIS            PR           00720
          HERNANDEZ GONZALEZ MD,
   218173 JOSE R                                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   218245 HERNANDEZ GONZALEZ, IVELISSE REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   218322 HERNANDEZ GONZALEZ, OMAR                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   218369 HERNANDEZ GROUP LLC                         HC 03 BOX 12025                                                                                                        CAMUY               PR           00627
   666360 HERNANDEZ GULF                              HC 1 BOX 5740                                                                                                          AIBONITO            PR           00705
   218389 HERNANDEZ GULF INC                          PMB 55 P O BOX 6022                                                                                                    CAROLINA            PR           00984‐6022
          HERNANDEZ GULF SERVICE                                                    1937 CALLE MECHOR
   218390 STATION                                     URB FAIRVIEW                  MALDONADO                                                                                SAN JUAN            PR           00926
          HERNANDEZ GUTIERREZ MD,
   218391 DANIEL I                                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNÁNDEZ GUTIERREZ,
  1420004 HÉCTOR                                      SHEILA M. TORRES MATIAS       PO BOX 32188                                                                             PONCE               PR           00732‐2188

   218414 HERNANDEZ GUZMAN, DANIEL                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ HERMINA, SHEILA
  1420005 M.                                          EDNA VÉLEZ                    PO BOX 1238                                                                              CAMUY               PR           00627
          HERNANDEZ HERNADEZ,
   218406 MARIBEL                                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1420006 HERNANDEZ HERNANDEZ, JOSE                   JEANETTE RODRIGUEZ CLAUDIO PO BOX 364508                                                                               HATO REY            PR           00936‐4508
                                                                                 MANSIONES DE SAN MARTÍN
  1420007 HERNANDEZ HERNANDEZ, JOSÉ                   FERNANDO SANTIAGO ORTIZ    SUITE 17                                                                                    SAN JUAN            PR           00924‐4586
          HERNANDEZ HERNANDEZ,
   218568 MARIA I                                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ HORRUITINIER ,
  1420008 MARIA CARIDAD                               JESUS DEL VALLE PADILLA       1212 LUCHETTI APT. PH‐2                                                                  SAN JUAN            PR           00907
   218646 HERNANDEZ ICE MAN                           BO QUEBRADA LARGA             RR 2 BZN 4410                                                                            ANASCO              PR           00610
   218799 HERNANDEZ LOPEZ MD, ILIA J                  REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                    319 CALLE ARAGON MARGINAL
  1420009 HERNÁNDEZ LÓPEZ, EDGARDO                    VIRGILIO GONZALEZ             VICTOR ROJAS 1                                                                           ARECIBO             PR           00612
                                                                                    PMB 133 1353 AVE. LUIS
  1420010 HERNÁNDEZ LÓPEZ, HÉCTOR J.                  YARLENE JIMENEZ ROSARIO       VIGOREAUX                                                                                GUAYNABO            PR           00966‐2700
          HERNANDEZ LOPEZ, HECTOR
  1420011 NOEL                                        JAVIER JIMENEZ VAZQUEZ        PO BOX 520                                                                               MERCEDITA           PR           00715‐0520
   218908 HERNANDEZ LOPEZ, MARIBEL                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                    URB. TOA ALTA HEIGHTS CALLE
  1420012 HERNÁNDEZ LOZADA, ILEANA L.                 HERNÁNDEZ LOZADA, ILEANA L.   28 AE‐25                                                                                 TOA ALTA            PR           00953
                                                                                    QUIROS & BONHOMME CSP
  1420013 HERNANDEZ LOZANO, ILEANA                    CARLOS QUIROS MENDEZ          PÓ'BOX 7445                                                                              SAN JUAN            PR           00916‐7445
          HERNANDEZ MALDONADO MD,
   219042 GUSTAVO                                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ MALDONADO MD,
   219043 JUAN J                                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   219063 HERNANDEZ MALDONADO, IRIS                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   666361 HERNANDEZ MANTENANCE CO                     BOX 7772                                                                                                               CAROLINA            PR           00630

   219119 HERNANDEZ MARRERO LOURDES REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   666362 HERNANDEZ MARTINEZ RAFAEL                   1912 COND CONDADO DEL MAR                                                                                              SANTURCE            PR           00907
          HERNÁNDEZ MARTÍNEZ, JUANA
  1420014 M.                                          JAIME PICÓ MUÑOZ              PO BOX 70199                                                                             SAN JUAN            PR           00936‐8190




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                                                                                   PMB 790 138 AVE. WINSTON
  1420015 HERNANDEZ MARTINEZ, LUZ M.                  JORGE E. RAMOS MORA          CHURCHILL                                                                               SAN JUAN             PR           00926‐6013
   219297 HERNANDEZ MD , LAZARO A                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   219298 HERNANDEZ MD , VENUS N                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   219299 HERNANDEZ MD, INES                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   219300 HERNANDEZ MD, MONICA                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HERNANDEZ MEDINA MD,
   219306 ARLENE                                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

  1420016 HERNÁNDEZ MEDINA, JOSÉ A.                   LUIS HERNANDEZ CARDONA       AVE. DOMENCH #204 HATO REY                                                              SAN JUAN             PR           00918
          HERNANDEZ MELECIO, GLADYS
   219348 M.                                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   219327 HERNANDEZ MELENDEZ, NOEMI REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HERNANDEZ MENDEZ MD,
   219395 EDGARDO                   REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   219400 HERNANDEZ MENDEZ, ANA L   REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   219421 HERNANDEZ MENDEZ, GLORIVEE REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

  1420017 HERNANDEZ MENDEZ, JANNETTE ISRAEL ROLDÁN GONZÁLEZ                        49 BETANCES ST.                                                                         AGUADILLA            PR           00603

   219440 HERNANDEZ MENDEZ, TOMAS                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HERNANDEZ MERGAL MD,
   219485 MARGARITA                                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                  URB. VILLA CAROLINA 186 18
  1420018 HERNÁNDEZ MOJICA, MARÍA I.                  CONCEPCIÓN CINTRÓN, VALERIE CALLE 518                                                                                CAROLINA             PR           00985

   219540 HERNANDEZ MOJICA, PEDRO L.                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

  1420019 HERNANDEZ MOLINA, MELVIN                    JUAN MANUEL ADORNO PEÑA      PO BOX 727                                                                              HUMACAO              PR           00792
          HERNANDEZ MORALES,
   219621 CHRISTIAN                                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

  1420020 HERNANDEZ MORALES, DENISSE MARIELY AVLIDEZ RIOS                          HC 57 BOX 10217                                                                         AGUADA               PR           00602

  1420021 HERNÁNDEZ MORALES, DENISSE NARCISO PAGÁN                                 PO BOX 155                                                                              AÑASCO               PR           00610
   219652 HERNANDEZ MORALES, JESUS   REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   219732 HERNANDEZ MUNIZ, ERIC      REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   219792 HERNANDEZ NAZARIO, DEBORAH REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                   URB. VISTA ALEGRE 1705 PASEO
  1420022 HERNÁNDEZ NIEVES, ELIZABETH EFRAIN DIAZ CARRASQUILLO                     LAS COLONIAS                                                                            PONCE                PR           00717‐2234

   219842 HERNANDEZ NIEVES, GLORIA E                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   219868 HERNANDEZ NIEVES, MARTA                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                   PMB 133 1353 AVE. LUIS
  1420023 HERNÁNDEZ NIEVES, SOLIMAR                   YARLENE JIMÉNEZ ROSARIO      VIGOREAUX                                                                               GUAYNABO             PR           00966‐2700
                                                                                   PMB 133 1353 AVE. LUIS
  1420024 HERNÁNDEZ NIEVES, SOLIMAR                   YARLENE JIMÉNEZ ROSARIO      VIGOREAUX                                                                               GUAYNABO             PR           00966‐2700
                                                                                   CALLE LAGUNA #78 A‐7 CALLE
  1420025 HERNANDEZ OCANA, MANUEL                     ANABEL M. DEL RIO SANTIAGO   PERU                                                                                    VEGA BAJA            PR           00693




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                                                                                   3D 46 AMAPOLA ST. LOMAS
  1420026 HERNÁNDEZ OCANA, MANUEL                     RUBEN MORALES OLIVERO        VERDES                                                                                  BAYAMÓN              PR           00956
                                                                                   BARRIADA ARTURO LLUVERAS HC
  1422574 HERNÁNDEZ OCAÑA, MANUEL                     ANABEL M. DEL RIO SANTIAGO   02                          BOX 10218 4‐7 CALLE PERU                                    VEGA BAJA            PR           00693
                                                                                   602 AVE. MUNOZ RIVERA COND.
  1420028 HERNÁNDEZ OCAÑA, MANUEL G. ANTONIO BAUZA TORRES                          LE MANS OFIC. 402                                                                       SAN JUAN             PR           00918
                                                                                   URB. SAN ANTONIO 1744 CALLE
  1420027 HERNÁNDEZ OCAÑA, MANUEL G. LUIS M. BERNECET VELEZ                        DONCELLA                                                                                PONCE                PR           00728‐1624
   219981 HERNANDEZ ORIOL, ANGEL     REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HERNANDEZ ORTIZ MD,
   220001 ALFONSO A                  REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   220002 HERNANDEZ ORTIZ MD, CARLOS                  REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   220065 HERNANDEZ ORTIZ, JANITZA                    REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   220136 HERNANDEZ OSORIO, AXEL                      REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   220144 HERNANDEZ OTAÑO, AUREA                      REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HERNANDEZ PAGAN, JOSE
  1420029 MANUEL Y OTROS                              MARIO ORONOZ RODRIGUEZ       PO BOX 195473                                                                           SAN JUAN             PR           00919‐5473
   666363 HERNANDEZ PAINTING                          VILLA FONTANA                4NS‐7 VIA 37                                                                            CAROLINA             PR           00986‐0772
          HERNANDEZ PEREZ AUTO
   666364 SUPPLY                                      P O BOX 505                                                                                                          MOCA                 PR           00676
   220364 HERNANDEZ PEREZ, IVELISSE                   REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   220446 HERNANDEZ PEREZ, SANTOS M                   REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   220508 HERNANDEZ PONCE, LINNETTE                   REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

  1420030 HERNANDEZ PRATTS, MARIA Y.                  IVAN ALONSO COSTA            APARTADO 107                                                                            AIBONITO             PR           00705
   666365 HERNANDEZ PRINTING                          11 CALLE JOSE DE DIEGO                                                                                               CIDRA                PR           00739
  1420031 HERNÁNDEZ QUIJANO, JOSÉ                     JOSE HERNANDEZ QUIJANO       APT 141844                                                                              ARECIBO              PR           00614
          HERNANDEZ QUIÑONES MD,
   220530 LESLIE                                      REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HERNANDEZ RAMIREZ MD,
   220591 MIGUEL A                                    REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                   PO BOX 9024271 OLD SAN JUAN
  1420032 HERNANDEZ RAMIREZ, MARIA                    ANTONIO TORRES‐MIRANDA       STA.                                                                                    SAN JUAN             PR           00902‐4271

   220625 HERNANDEZ RAMOS MD, NIVIA                   REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   220656 HERNANDEZ RAMOS, JANET                      REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                   1416 AVE PAZ GRANELA URB
  1420033 HERNANDEZ RAMOS, LUIS RAUL JOSE A. FELICIANO                             STGO IGLESIAS                                                                           RIO PIEDRAS          PR           00925
   666366 HERNANDEZ RECHARGE         82 CALLE DUQUE                                PO BOX 2012                                                                             GUAYAMA              PR           00785
   666368 HERNANDEZ RENTAL           VILLA RITA                                    14 CALLE SE                                                                             SAN SEBASTIAN        PR           00685

   220740 HERNANDEZ REYES MD, MARIA REDACTED                                       REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HERNANDEZ RIVERA MD, ANISSA
   220832 V                           REDACTED                                     REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   220833 HERNANDEZ RIVERA MD, ANIZA REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HERNANDEZ RIVERA MD, NILDA
   220834 A                          REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
  1420034 HERNANDEZ RIVERA, CECILIA  LUIS APONTE MORALES                           APARTADO 1681                                                                           CAGUAS               PR           00726




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  1420035 HERNÁNDEZ RIVERA, EDGARDO                   JAIME PICO MUÑOZ       AEELA PO BOX 70199                                                                       SAN JUAN            PR           00936‐8190
          HERNANDEZ RODRIGUEZ MD,
   221172 EDUARDO                                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ RODRIGUEZ MD,
   221173 FELIX F                                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ RODRIGUEZ MD,
   221175 JEFFREY                                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ RODRIGUEZ,
   221229 DORIAN                                      REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ RODRIGUEZ,
   221252 EVELYN E                                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ RODRIGUEZ,
   221369 NELSON A                                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ RODRIGUEZ,
   221441 YOLANDA                                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   221468 HERNANDEZ ROLDAN, JANET                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   221481 HERNANDEZ ROLON, MERARI                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   221544 HERNANDEZ ROMAN, WANDA                      REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420036 HERNANDEZ ROSADO, ELSA                      MANUEL RIVERA LUGO     AVE. PADRE RIVERA # 11 ESTE                                                              HUMACAO             PR           00791

   221673 HERNANDEZ RUIZ MD, BARBARA REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   221674 HERNANDEZ RUIZ MD, JORGE   REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ SANCHEZ,                                                 PMB 522 200 AVE. RAFAEL
  1420037 ALEJANDRO                  HARRY MUÑIZ VALLADARES                  CORDERO SUITE 140                                                                        CAGUAS              PR           00725‐3757
   221758 HERNANDEZ SANCHEZ, ANA D   REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   221791 HERNANDEZ SANCHEZ, JOSE M.                  REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   221802 HERNANDEZ SANCHEZ, MILDRED REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                             PRADERAS DEL RIO CALLE RIO
  1420038 HERNÁNDEZ SÁNCHEZ, VÍCTOR F. VICTOR HERNÁNDEZ                      COCAL 3113                                                                               TOA ALTA            PR           00953

   221828 HERNANDEZ SANTANA, CORALIZ REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ SANTIAGO,
   221870 DOLORES                    REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   222046 HERNANDEZ SERVICENTRO      PO BOX 8899                                                                                                                      BAYAMON             PR           00960 0890

   666369 HERNANDEZ SHELL SERVICE STA URB SAGRADO CORAZON                    420 CALLE SAN GENARO                                                                     SAN JUAN            PR           00926

   222047 HERNANDEZ SHUAN MD, RAUL R REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   222056 HERNANDEZ SIGNS            CALLE C A NUM 9                         JARDINES DE CAROLINA                                                                     CAROLINA            PR           00987

   222057 HERNANDEZ SILVA, EMMANUEL REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666371 HERNANDEZ SINGNS          JARDINES DE CAROLINA                     A 9 CALLE C                                                                              CAROLINA            PR           00987

   222089 HERNANDEZ SOTO, ALEXANDRA                   REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   222165 HERNANDEZ SOTO, YOHAIRA                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   222181 HERNANDEZ SURILLO, RUDDY                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HERNANDEZ TORRES,
   222274 EMMANUEL                                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   222276 HERNANDEZ TORRES, EUDOSIA                   REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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 1420039 HERNÁNDEZ TORRES, JAIME                      JAIME HERNANDEZ TORRES     PMB 120‐B PO BOX 194000                                                                    SAN JUAN            PR           00919‐4000

  1420040 HERNÁNDEZ TORRES, YARELIS                   JOSE CARLOS PIZARRO ADORNO PO BOX 1466                                                                                TRUJILLO ALTO       PR           00977‐1466

  1420041 HERNÁNDEZ VÁZQUEZ, JOAN                     MICHAEL CORONA MUÑOZ       110 CALLE BORINQUÉN SUITE 4‐1                                                              TRUJILLO ALTO       PR           00976
          HERNANDEZ VELAZQUEZ,
   222622 MANUEL                                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          HERNANDEZ VELAZQUEZ,
   222626 NATASHA                                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   222634 HERNANDEZ VELEZ INC                         PO BOX 1698                                                                                                           SABANA SECA         PR           00952

   222635 HERNANDEZ VELEZ MD, ANNIE                   REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   222636 HERNANDEZ VELEZ MD, JOSE A                  REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          HERNANDEZ VELEZ MD,
   222637 PRISCILLA                                   REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

  1420042 HERNANDEZ VELEZ, ALEJANDRO ISMAEL E. JUSINO TORRES                     PO BOX 3075                                                                                YAUCO               PR           00698

   222715 HERNANDEZ VICENS MD, JULIO C REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   222725 HERNANDEZ VIERA MD, EDGAR C REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666372 HERNANDEZ Y VILLAR          CARR 176 KM 0 5 CUPEY                                                                                                                 SAN JUAN            PR           00928
          HERNANDEZ Y VILLAR INC Y/O
   666373 CAFET REDONDA               VILLA CAROLINA                             179‐25 CALLE 443                                                                           CAROLINA            PR           00985
   222818 HERNANDEZ, FELIX R          REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   222819 Hernandez, Francisco Nieves REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  1420043 HERNÁNDEZ, JOSÉ D.          LUIS CINTRÓN LÓPEZ                         CALLEOGRESO #160                                                                           AGUADILLA           PR           00603

                                                                                 PO BOX 607073 INST. BAYAMÓN
  1420044 HERNÁNDEZ, SIERRA                           ANDREW SIERRA HERNÁNDEZ    501 EDIF. 1 SECC. C                                                                        BAYAMÓN             PR           00960
   222879 Hernández‐Cuevas, Juan                      REDACTED                   REDACTED                    REDACTED                                REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          HERNANDEZ‐RODRIGUEZ MD ,
   222893 RAUL E                                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   222897 Hernández‐Torres, Angel                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   222898 Hernández‐Torres, Hilda                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   222900 HERNANDO FIGUEROA CRESPO                    REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          HERNANDO G STEIDEL
   666374 RODRIGUEZ                                   URB SIERRA REAL            BOX 128                                                                                    CAYEY               PR           00767‐9000

   666375 HERNANDO RODRIGUEZ SILVA                    HC 83 BOX 6046                                                                                                        VEGA ALTA           PR           00692

  1420045 HERNÁNEZ MIRANDA, DAMARIS JOSÉ VELAZQUEZ GRAU                          PO BOX 251                                                                                 CAGUAS              PR           00726

   666376 HERNANN J STUBBE FIGUEROA                   TORRIMAR                   16‐11 CALLE GRANADA                                                                        GUAYNABO            PR           00966
   222906 HERNILDA MIRANDA TORRES                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   222907 HERNIS CURET VELAZQUEZ                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   666377 HERODEZ FERNANDEZ SANTIAGO BO LOS VIEJITOS                             6 HATO TEJAS                                                                               BAYAMON             PR           00959
   222911 HERODINA CRUZ MONTALVO     REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666378 HERODITA OJEDA FLORES      TURABO GARDEN                               7 CALLE JR 8                                                                               CAGUAS              PR           00725
   666379 HEROHILDA LATORRE SOTO     BO GUAJATACA                                HC 03 BOX 16436                                                                            QUEBRADILLAS        PR           00678



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  222912 HEROHILDA LUGO NEGRON                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  666380 HEROILDA COLON RIVERA                        P O BOX 824                                                                                                         GUAYNABO          PR         00970

   222913 HEROILDA GONZALEZ MARTINEZ REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          HEROILDA MARTINEZ
   666381 HERNANDEZ                  BDA LA VEGA                                  31 CALLE LAS FLORES                                                                     BARRANQUITAS      PR         00794
          HEROILDA MELENDEZ
   666382 HERNANDEZ                  VILLA DEL SOL                                E 9 CALLE 4                                                                             TRUJILLO ALTO     PR         00976

   666384 HEROILDA TIRADO RODRIGUEZ                   HC 43 BOX 11050                                                                                                     CAYEY             PR         00736

   222915 HEROILDA TORRES RODRIGUEZ                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   222916 HEROILDO MATOS RODRIGUEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   666385 HEROINA RIVERA TORRES                       HC 1 BOX 6055                                                                                                       YAUCO             PR         00698
   666386 HEROINA ROSADO OTERO                        HC 4 BOX 45432                                                                                                      CAGUAS            PR         00725
   222919 HERPLA ENGINEERING                          P.O. BOX 11044                                                                                                      SAN JUAN          PR         00910‐1424
   770546 HERPLA ENGINEERING CORP.                    P. O. BOX 11044                                                                                                     SAN JUAN          PR         00907‐0000

   222920 HERRAMIENTAS INDUSTRIALES                   URB COUNTRY CLUB            927 CALLE TORCAZA                                                                       SAN JUAN          PR         00924
   666387 HERRAMIENTAS Y EQUIPO                       PO BOX 1343                                                                                                         HORMIGUEROS       PR         00660
   666388 HERRAMIENTAS Y EQUIPOS                      BO ALGARROBO                CARR 2 KM 42 3                                                                          VEGA BAJA         PR         00693

   222925 HERRAN MONTERO, GLORIMAR                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   666389 HERRER0S PROFESIONALES                      P O BOX 256                                                                                                         COROZAL           PR         00783
                                                                                  PMB‐133 1353 AVE. LUIS
  1420046 HERRERA CORTES, NYDIA B.                    YARLENE JIMENEZ ROSARIO     VIGOREAUZ                                                                               GUAYNABO          PR         00966‐2700
  1420047 HERRERA DOS REIR, GENARO                    OSVALDO BURGOS PEREZ        PO BOX 194211                                                                           SAN JUAN          PR         00919‐4211

   223010 HERRERA GONZALEZ, YARITZA                   REDACTED                    REDACTED                      REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                  200 SIERRA ALTA CARR. 842 BOX
  1420048 HERRERA RIVERA, DANIEL                      LILIBETH ORTIZ CLAUDIO      94                                                                                      SAN JUAN          PR         00926
   223124 HERRERA VAZQUEZ, BARRY                      REDACTED                    REDACTED                      REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   223134 HERRERA, JOSE                               REDACTED                    REDACTED                      REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          HERRERO & HERRERO LAW                       BANCO COOPERATIVO PLAZA STE
   666390 OFFICES                                     205                         623 PONCE DE LEON                                                                       SAN JUAN          PR         00917
          HERRERO EMMANUELLI
   666391 FRANCISCO                                   LA RAMBLA                   644 CALLE 6 URB LA RAMBLA                                                               PONCE             PR         00731
   666392 HERRERO GRAPHIC PRINTING                    PO BOX 30589                                                                                                        SAN JUAN          PR         00929‐1589
          HERRERO GRAPHIC PRINTING,
   223153 INC.                                        PO BOX 30589                                                                                                        SAN JUAN          PR         00929‐1589

   223157 HERRERO LUGO MD, CARMELO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          HERRERO RODRÍGUEZ,
  1420049 FRANCISCO J.                                RAÚL CANDELARIO LÓPEZ       ESTEBAN PADILLA 60‐E ALTOS                                                              BAYAMÓN           PR         00959

   223168 HERRERO TORRES MD, CARMELO REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   223172 HERRERO, JOSE A.           REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          HERRIBERTO BARRIENTOS DE
   223173 JESUS                      REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   666393 HERRICK FALTO CRUZ         URB RAMIREZ DE ARELLANO                      49 CALLE COLL Y TOSTE                                                                   MAYAGUEZ          PR         00680
   223174 HERRIOT OLIVER ORTIZ       REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   666394 HERS PARALEGAL SERVICES    BUEN CONSEJO                                 171 CALLE LEON                                                                          SAN JUAN          PR         00936



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  223178 HERSHEY MEDICAL CENTER                       HEALTH INFO SVCS HU 24     PO BOX 850                  500 UNIVERSITY DR                                          HERSHEY            PA           17033‐0850
  666395 HERSHEY PUERTO RICO INC                      PO BOX 128                                                                                                        LAS PIEDRAS        PR           00771
         HERSHEY UNIVERSITY MEDICAL
  223179 CENTER                                       PO BOX 850                 500 UNIVERSITY DR                                                                      HERSHEY            PA           17033‐0850

   666396 HERSON RAMIREZ MALDONADO                    PO BOX 333                                                                                                        CABO ROJO          PR           00623333
   666397 HERTON RODRIGUEZ CRUZ                       HC 01 BOX 10981                                                                                                   LAJAS              PR           00667‐9712
   223180 HERTOR R DE LEON OCASIO                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   666398 HERTZ FURNITURE SYSTEMS                     PO BOX 803                                                                                                        MAHWAH             NJ           07430
          HERVEY E RAMIREZ BATES
   666399 MEMORIAL FUNDS                              P O BOX 848                                                                                                       MAYAGUEZ           PR           00680
   223182 HERVIN J RIVERA ORTIZ                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   223183 HERY J LABOY PABON                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   666400 HERY JOEL CORREA ALVARADO                   HC 01 BOX 18577                                                                                                   COAMO              PR           00769
   223184 HERY PEREIRA VELAZQUEZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   666401 HERY REFRIGERATION SERVICE                  PO BOX 296                                                                                                        ANASCO             PR           00610
   666402 HERY SANCHEZ                                315 CALLE LA PAZ                                                                                                  AGUADA             PR           00602
   223185 HERY SANCHEZ INC.                           PO BOX 580                                                                                                        AGUADA             PR           00602
          HERY'S SANCHEZ SCHOOL
   223186 SUPPLY                                      PO BOX 580                                                                                                        AGUADA             PR           00602
   666403 HERYS SHOOL SUPPLY                          PO BOX 580                                                                                                        AGUADA             PR           00602
   223187 HESAEL S CHAVES BARRETO                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   223188 HESAN INC                                   PO BOX 10957                                                                                                      SAN JUAN           PR           00922
   223189 HESARTE COM CORP                            BALCONES DE MONTE REAL     APT 5601                                                                               CAROLINA           PR           00987
   223190 HESHLY A CASTILLO BALINES                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   666404 HESS & HUNT INC                             P O BOX 626                                                                                                       WILMETTE           IL           60091
   223191 HESS RIUTORT MD, CARMEN                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   666405 HETCOR LOPEZ SOTO                           BO ESPINAL                 BZN 1320                                                                               AGUADA             PR           00602
          HETS HISPANIC EDUC TELECOM
   223192 SYSTEM                                      PO BOX 363255                                                                                                     SAN JUAN           PR           00936
   666407 HETSCO                                      PO BOX 362193                                                                                                     SAN JUAN           PR           00936‐2193
          HETSHALY MORALES RIOS/
   223193 SHEILA RIOS                                 REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   223194 HETTIE JORDAN SANCHEZ                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   223195 HETTIE NOELLE MORRIS                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   223197 HETTLE NOELLE                               REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   223198 HEUNG Y FUNG YUEN                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   223208 HEWITT ASSOCIATES CARIBE INC 268 MUNOZ RIVERA AVE                      SUITE 1800                                                                             SAN JUAN           PR           00918‐1932
   223209 HEWLETT PACKARD              1492 PONCE DE LEON AVE                                                                                                           SANTURCE           PR           00917‐4177

   666408 HEWLETT PACKARD CARIBE LTD                  P O BOX 4048                                                                                                      AGUADILLA          PR           00605‐4048
   223210 HEWLETT PACKARD CO                          5400 LEGACY DRIVER DR MS   H 11 D 05                                                                              PLANO              TX           75024
          Hewlett Packard de Puerto Rico
   831391 BV                                          PO BOX 11038                                                                                                      San Juan           PR           00910
          HEWLETT PACKARD FINANCIAL
   223211 SERVICES                                    P O BOX 403448                                                                                                    ATLANTA            GA           30384‐3448
   223213 HEWLETT PACKARD OF PR                       PO BOX 71595                                                                                                      SAN JUAN           PR           00936‐8520
   223214 HEWLETT PACKARD PR BV                       AREA DEL TESORO            DIVISION DE RECLAMACIONES                                                              SAN JUAN           PR           00902‐4140
          HEWLETT PACKARD PUERTO
   223217 RICO                                        PO BOX 71595                                                                                                      SAN JUAN           PR           00936‐8695



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  666409 HEXAN TORRES LOPEZ                           URB COLINAS VILLA ROSA      A 25                                                                                   SABANA GRANDE     PR       00637
  223219 HEYDA DE JESUS AULI                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  666410 HEYDA E CESTERO DAVILA                       RES VISTA HERMOSA           EDIF 62 APTO 737                                                                       SAN JUAN          PR       00921
  666412 HEYDA M ORTIZ MORALES                        AVE PONCE DE LEON PDA 11    MIRAMAR ESQ AXTMAYER                                                                   SAN JUAN          PR       00907
  223220 HEYDA RODRIGUEZ DE JESUS                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  666413 HEYDA VILANOVA VILANOVA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  666415 HEYDEE DIAZ MU¥OZ                            BOX 9396                                                                                                           HUMACAO           PR       00792
  666417 HEYDEE M ALONSO LUNA                         ALTURAS DE SANTA MARIA      F 4 CALLE DILDO                                                                        GUAYNABO          PR       00969
  666419 HEYDI COLON ALICEA                           URB SAN MARTIN              25 CALLE CORONEL IRIZARRY                                                              CAYEY             PR       00736

   666420 HEYDI CUADRADO TAFFANELLI                   URB CAPARRA TERRACE         1225 CALLE 30 SE                                                                       SAN JUAN          PR         00920
   223221 HEYDI NIEVES ESQUILAN                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   223224 HEYDISEL MEDINA DE JESUS                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   223226 HEYDSHA CORDERO RODRIGUEZ REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   666421 HEYDSHA MALDONADO HENRY                     URB VISTAMAR                12 14 CALLE DRAGON                                                                     CAROLINA          PR         00983
   223227 HEYDSHA SOSA ROMAN                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   666423 HEYDY VAZQUEZ ROSADO                        PO BOX2125                                                                                                         TOA BAJA          PR         00951

   666424 HEYER‐SHULTE NEUROCARE INC P O BOX 362260                                                                                                                      SAN JUAN          PR         00936‐2260
   666425 HEYLEEN VELAZQUEZ VARGAS   A 61 EXT PATAGONIA                                                                                                                  HUMACAO           PR         00791

   223233 HEYNELDA ROMAN RODRIGUEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   666426 HEYSHA G ORTIZ BENITEZ                      PO BOX 30180                                                                                                       SAN JUAN          PR         00929‐1180
   223235 HEZAEL GONZALEZ MILLAN                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   666429 HEZMAR CONSTRUCTION CORP                    PO BOX 1675                                                                                                        UTUADO            PR         00641‐1675
   666430 HF COMMUNICATION                            P O BOX 909                                                                                                        AGUAS BUENAS      PR         00703
   666431 HF CONSTRUTION CORP                         PO BOX 135                                                                                                         TOA ALTA          PR         00954
   223237 HFL SPORT SCIENCE INC                       1745 ALYSHEBA SUITE 160                                                                                            LEXINGTON         KY         40509
   223238 HFR LEGAL SERVICES LLC                      138 AVE WISTON CHURCHILL    PMB 887                                                                                SAN JUAN          PR         00926
   223239 HG PROFESSIONAL FORMS CO                    2020 CALIFORNIA STREET                                                                                             OMAHA             NE         68102
   223240 HG SERVICES & SOLUTIONS                     PO BOX 193714                                                                                                      SAN JUAN          PR         00919‐3714

   223242 HH INGENIEROS CONSULTORES                   URB REXMANOR                D 13 ST 3                                                                              GUAYAMA           PR         00784
          HHR CONSTRUCTION
   666432 CORPORATION                                 URB MIRAFLORES               36 1 CALLE 48                                                                         BAYAMON           PR         00957
   666433 HI CONTRACTOR INC                           PO BOX 69001 SUITE 346                                                                                             HATILLO           PR         00659
   666434 HI ENTERTAINMENT                            P O BOX 1363                                                                                                       AIBONITO          PR         00705
   223243 HI MAYAGUEZ INC                             2701 HIGHWAY 2                                                                                                     MAYAGUEZ          PR         00680‐6328
   223246 HI SPEED GAS CORP                           PO BOX 1117                                                                                                        MAYAGUEZ          PR         00681
   223247 HI TECH AUTO CARE CENTER                    P.O. BOX 363609                                                                                                    SAN JUAN          PR         00936‐3609
   666435 HI TECH CONTRACTING                         PO BOX 360392                                                                                                      SAN JUAN          PR         00936
   666436 HI TECH ELECTRONICS                         P O BOX 7784                                                                                                       CAGUAS            PR         00726
                                                      EL SENORIAL MALL STATION NO
   223249 HI TECH FLEXO INC                           644                          138 WISTON CHURCHILL AVE                                                              SAN JUAN          PR         00926
                                                      EL SENORIAL MALL STA NO. 644
   223250 HI TECH FLEXO, INC.                         WINSTON CHURCHILL                                                                                                  RIO PIEDRAS       PR         00926
   223251 HI TECH GROUP                               PO BOX 1857                                                                                                        MOCA              PR         00676
   223252 HI TECH GROUP CORP                          PO BOX 1857                                                                                                        MOCA              PR         00676
   223255 HI TECH PRODUCTS                            P O BOX 3739                                                                                                       CAROLINA          PR         00984‐3739
   223256 HI TECH PROSTETICS                          39 AVE SEVERIANO CUEVAS                                                                                            AGUADILLA         PR         00603



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  223257 HI TECH PROSTHETIC INC                       PMB 49                        PO BOX 60401                                                                            AGUADILLA          PR         00604
  666437 HI TECH SECURITY SERVICE                     H579 CALLE TRINIDAD                                                                                                   BAYAMON            PR         00959
  666438 HI TECH TRANSMISSION                         PO BOX 368                                                                                                            SANTA ISABEL       PR         00757
  223258 HIALEAH HOSPITAL                             PO BOX 191058                                                                                                         GREE BAY           WI         54307
  223259 HIBA NUMAN SALEH                             REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  223260 HIBISCUS PROPERTIES INC                      PO BOX 11908                                                                                                          SAN JUAN           PR         00922
  666440 HIBO RODRIGUEZ CABAN                         URB VISTA VERDE                6 BO MEMBRILLO                                                                         CAMUY              PR         00627
         HIBRIDOS                                                                    CARR 150 BASE AEREA MUNIZ
  223261 TELECOMMUNICATIONS INC                       CARIBBEAN AIRPORT FACILITIES 1 SUITE 202                   SECT CENTRAL 3                                             CAROLINA           PR         00979‐1536
  666442 HICHELLI RODRIGUEZ COLON                     URB PRADERAS DEL SUR           412 CALLE CAOBO                                                                        SANTA ISABEL       PR         00757
         HIDALBERTO CARATINI
  223273 SANTIAGO                                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         HIDALGO CARBONELL Y
  666443 ASOCIADOS                                    PO BOX 9023023                                                                                                        SAN JUAN           PR         00902‐3023
 1420050 HIDALGO POLANCO, LUIS F.                     INGRID RODRIGUEZ RAMIREZ      PO BOX 361124                                                                           SAN JUAN           PR         00936‐1124
  666444 HIDALGO POMALES PEREZ                        VILLAS DE CASTRO GG           13 CALLE 24                                                                             CAGUAS             PR         00725
  223369 HIDALIA SUAREZ RAMOS                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   666445 HIDEL COLLADO MONTA L V O                   PO BOX 860                                                                                                            YAUCO              PR         00698

   666446 HIDELISA BORGES APONTE                      T M AUXILIO MUTUO SUITE 619                                                                                           SAN JUAN           PR         00919
   223371 HIDELISA RIOS MALDONADO                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   666447 HIDELISA RIVERA RIVERA                      PO BOX 691                                                                                                            NARANJITO          PR         00719
   223374 HIDRAULICOS DEL CARIBE INC                  P O BOX 195699                                                                                                        SAN JUAN           PR         00919‐5699
          HIDRO VEGETALES DE PUERTO
   666448 RICO                                        P O BOX 786                                                                                                           LARES              PR         00669
   223375 HIDROALFA INC                               RR 18 MSC 1390 BOX 050                                                                                                SAN JUAN           PR         00926
          HIDROCULTIVOS CAROLISENSES
   223376 INC                                         HC 02 BOX 14587                                                                                                       CAROLINA           PR         00987

   223377 HIDROPONICOS DEL PAIS                       VALLE ARRIBA HEIGHTS STATION PO BOX 3301                                                                              CAROLINA           PR         00984

   666449 HIDROPONICOS ISLA NENA INC                  HC 02 BOX 13857                                                                                                       VIEQUES            PR         00765
   666450 HIERROMAT INC.                              PO BOX 2558                                                                                                           TOA BAJA           PR         00951
          HIETEL (Hermandad
          Independiente de Empleados
   223380 Telefónicos)                                Dolz Benítez, Telizia R.      Urb. Caparra Heights         543 Calle Escorial                                         San Juan           PR         00922‐4707
   666451 HIG TECH COMMUNICATIONS                     PO BOX 3493                                                                                                           CAROLINA           PR         00984
          HIGH ACHIEVEMENT CHRISTIAN
  1256541 SCHOOL                                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          HIGH ACHIEVEMENT CHRISTIAN
   223386 SCHOOL, LLC                                 HC‐01 PO BOX 15425                                                                                                    BAYAMON            PR         00956

   223387 HIGH ALTERNATIVE EDUCATION                  1851 AVE FERNANDEZ JUNCOS                                                                                             SAN JUAN           PR         00909
  1256542 HIGH CLASS MANAGEMENT                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          HIGH CLASS MANAGEMENT &
   223388 MAINTENANCE                                 SAINT JUST SATION             PO BOX 908                                                                              TRUJILLO ALTO      PR         00978
          HIGH EDUCATION ENTERPRISES
   223389 CORP                                        P O BOX 11850 SUITE 322                                                                                               SAN JUAN           PR         00922‐1850
   666452 HIGH END SYSTEMS                            2217 WEST BRAKER LANE                                                                                                 AUSTIN             TX         78758
   666453 HIGH PERFORMANCE                            P O BOX 1600                                                                                                          CAGUAS             PR         00726

   223390 HIGH POINT BANK                             TRUST & INVESTMENT SERVICES P O BOX 2278                                                                              HIGH POINT         NC         27261



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  223391 HIGH POWER TECH INC                          VILLA ARRIETA              31 CALLE A                                                                  BAYAMON            PR           00959
  666454 HIGH PURITY STANDARS                         P O BOX 41727                                                                                          CHARLESTON         SC           29423
  223392 HIGH QUALITY MULTISERVICE                    PMB 375                    PO BOX 2500                                                                 TRUJILLO ALTO      PR           00977
         HIGH QUALITY VIDEO SERV
  666455 CENTER                                       D 4 AVE ROBERTO CLEMENTE                                                                               CAROLINA           PR           00976

   666456 HIGH SECURITY EQUIPMENT INC JARDINES SABANA LLANA                      600 PASEO 5                                                                 SAN JUAN           PR           00924
          HIGH SPEED CYCLING COACHING
   223394 INC                         VILLA ESPANA ZARAGOZA J12                                                                                              BAYAMON            PR           00961
   666457 HIGH TECGNOLOGY LAB.INC.    PO BOX 366950                                                                                                          SAN JUAN           PR           00936
          HIGH TECH COMMUNICATIONS
   223395 SERV                        PO BOX 3494                                                                                                            CAROLINA           PR           00984‐3494

          HIGH TECH COMMUNICATIONS
   666458 SERVICES INC                                PO BOX 3494                                                                                            CAROLINA           PR           00984
   223397 HIGH TECH CONTRACTOR INC                    PO BOX 7891                PMB 730                                                                     GUAYNABO           PR           00970‐7891

   223398 HIGH TECH CONTRACTOR INC.                   PMB 730 PO BOX 7891                                                                                    GUAYNABO           PR           00970
          HIGH TECH ELEVATOR SERVICE
   666459 INC                                         PO BOX 11793                                                                                           SAN JUAN           PR           00910‐2893
   666460 HIGH TECH ENGINEERING                       PO BOX 2043                                                                                            BARCELONETA        PR           00617
   666461 HIGH TECH ENGINEERING INC                   PO BOX 625                                                                                             DORADO             PR           00646‐0625
   666462 HIGH TECH SECURITY                          SANS SOUCI                 T‐25 ALLE 15                                                                BAYAMON            PR           00957
   666463 HIGH TECHNOLOGY                             PMB 101                    PO BOX 30500                                                                MANATI             PR           00674
          HIGH TECHNOLOGY ACADEMY
   223399 (AVIATION ACADE)                            SECTOR CENTRAL             20 AVE JOSE A TONY SANTANA                                                  CAROLINA           PR           00979

   666464 HIGH TECHNOLOGY ASSOCIATES 754 CALLE ANDALUCIA                                                                                                     SAN JUAN           PR           00921

   223400 HIGH TOWER INVESTMENT CORP PO BOX 167                                                                                                              AGUAS BUENAS       PR           00703
          HIGHER EDUCATION
   666465 PUBLICATIONS                6400 ARLINGTON BLVD         SUITE 648                                                                                  FALL CHURCH        VA           22042
          HIGHER EDUCATIONAL
   223401 RESOURSES GROUP             PARQUE DE LOYALA APTO 1101B 500 AVE PINEIRO                                                                            SAN JUAN           PR           00936
          HIGHER PROFESSIONALS
   223402 CONSULTANTS, INC.           PMB 62                      382 AVE SAN CLAUDIO                                                                        SAN JUAN           PR           00926
          HIGHER STRATEGIE TOOLS EDUC
   223405 & PROF SERV                 1325 CARRETERA #2                                                                                                      BAYAMON            PR           00959
          HIGHLANDS REGIONAL REHAB
   223406 HOSPITAL                    PO BOX 19072                                                                                                           GREEN BAY          WI           54307‐9072
   223408 HIGHSMITH, INC              PO BOX 5210                                                                                                            JANESVILLE         WI           53547

   666466 HIGHT TECH COMPUTER SERVICE PO BOX 1120                                                                                                            SAN GERMAN         PR           00683
   666467 HIGHTEL INC                 PO BOX 19753                                                                                                           SAN JUAN           PR           00910‐1753
   223409 HIGHWAY COLLEGE INC         PO BOX 1385                                                                                                            AGUADILLA          PR           00605
   666468 HIGHWAY INN HOTEL           PO BOX 785                                                                                                             CABO ROJO          PR           00623‐0785
   666469 HIGHWAY METAL PRODUCTS      HC 4 BOX 14926                                                                                                         MOCA               PR           00676
          HIGHWAY METAL PRODUCTS &
   666470 CONTRACTORS                 PASEO LOS ROBLES                           3000 JOSE MARIA MONJE                                                       MAYAGUEZ           PR           00682
   666471 HIGHWAY UNIVERSAL PAINT     P O BOX 343                                                                                                            ISABELA            PR           00662
   666472 HIGINIA AGUILAR LLANES      HC 4 BOX 45702                                                                                                         HATILLO            PR           00659
   666473 HIGINIA CARMENATTY CABAN    HC 5 BOX 53182                                                                                                         MAYAGUEZ           PR           00680
   666475 HIGINIA OLIVARES LOPEZ      PMB 196 P O BOX 5006                                                                                                   YAUCO              PR           00698‐5006



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   666476 HIGINIA RAMOS GARCIA                        EDIF A‐2 APTO 05 RES. LA ROSA                                                                                         SAN JUAN            PR           00926
   223410 HIGINIO ALVAREZ CINTRON                     REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223411 HIGINIO CASTRO JAVIER                       REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666479 HIGINIO DAVILA ARZUAGA                      URB RIO GRANDE ESTATES          M 29 CALLE 17                                                                         RIO GRANDE          PR           00745
   666480 HIGINIO DE LEON PEDRAZA                     1153 CALLE BRAUMBAUGH                                                                                                 SAN JUAN            PR           00925‐3609
   666481 HIGINIO FERREIRA SALGADO                    VILLAS DE CARRIZO               RR 1 BZN 383                                                                          SAN JUAN            PR           00926
   223412 HIGINIO GONZALEZ CINTRON                    REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223413 HIGINIO L RIVERA SANTOS                     REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666483 HIGINIO LOPEZ GARCIA                        HC‐71 BOX‐4128                                                                                                        NARANJITO           PR           0079199722
   223414 HIGINIO M DIAZ ALLENDE                      REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   223415 HIGINIO MARTINEZ MARTINEZ                   REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666484 HIGINIO MERCADO BURGOS                      HC 01 BOX 5937                                                                                                        CIALES              PR           00638
                                                      68 CALLE CRISTOBAL COLON
   666485 HIGINIO MORALES BERRIOS                     (ALTOS)                                                                                                               YABUCOA             PR           00767
   223416 HIGINIO MORAN GONZALEZ                      REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223417 HIGINIO NIEVES CRUZ                         REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223418 HIGINIO NIEVES MARTINEZ                     REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666486 HIGINIO NIEVES NEGRON                       HC‐01 BOX 4228                                                                                                        COROZAL             PR           00783
   666487 HIGINIO NIEVES RODRIGUEZ                    HC 03 BOX 7985                                                                                                        BARRANQUITAS        PR           00794
   223419 HIGINIO PEREZ MEDINA                        REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223420 HIGINIO RAMOS PEREZ                         REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223421 HIGINIO RIVERA ROSA                         REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666488 HIGINIO RODRIGUEZ FALU                      URB CAPARRA TERRACE             1569 CALLE 18 SO                                                                      SAN JUAN            PR           00921

   223422 HIGINIO SALAZAR MAYORQUIN                   REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666489 HIGINIO SILVA GONZALEZ                      PO BOX 633                                                                                                            COROZAL             PR           00783
   666490 HIGINIO SOBA RIVERA                         HC 02 BOX 13801                                                                                                       MOCA                PR           00676‐9801
   666491 HIGINIO TORRES LOPEZ                        URB TURABO GARDENS              M 8 CALLE 9                                                                           CAGUAS              PR           00725
   666477 HIGINIO VELEZ RAMOS                         REPTO. METROPOLITANO            SE 1023 CALLE 11                                                                      SAN JUAN            PR           00921
   223425 HIGUERA MD, STEPHEN                         REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   223426 HIGUEY CONSTRUCTION CORP                    CALLE B 2308                    BUENA BISTA BO OBRERO                                                                 SAN JUAN            PR           00915
          HIJAS DE LA CARIDAD MISSION
   666492 LABOURE                                     1711 AVE PONCE DE LEON                                                                                                SAN JUAN            PR           00909
   223429 HIJINIO DEL VALLE NUNEZ                     REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   223430 HIJOS, GILBERTO VALENZUELA E REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666493 HILACO RENTAL                PO BOX 4269                                                                                                                          MAYAGUEZ            PR           00681
   223431 HILARIA DEL VALLE LEON       REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   666494 HILARIA HERNANDEZ GONZALEZ                  HC 04 BOX 13976                                                                                                       MOCA                PR           00676
   666495 HILARIA IRIZARRY RIVERA                     FRANKLYN DE ROOSEVELT           EDIF 7 APT 191                                                                        MAYAGUEZ            PR           00680
   666497 HILARIA ROSADO                              HC 4 BOX 46843                                                                                                        CAGUAS              PR           00725
   223432 HILARIANA GARCIA GARCIA                     REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223433 HILARINO COTTO ONEILL                       REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   666500 HILARIO CASANOVA FIGUEROA                   SABANA LLANA                    426 CALLE CAMBRAY                                                                     SAN JUAN            PR           00924
   223435 HILARIO CENTENO CRUZ                        REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   666501 HILARIO CURBELO HERNANDEZ                   HC 1 BOX 4726                                                                                                         QUEBRADILLAS        PR           00678
   666502 HILARIO DE LA IGLESIA DIEZ                  SANTA PAULA                     37 CALLE JAIME RODRIGUEZ                                                              GUAYNABO            PR           00969



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  223436 HILARIO DEL PERAL GOMEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   666503 HILARIO ECHEVARRIA CARDONA                  HC 58 BOX 9634                                                                                                 AGUADA               PR         00602
   223440 HILARIO GOMEZ TABOADA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   223441 HILARIO JIMENEZ JIMENEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   666504 HILARIO MARTINEZ                            56 JUAN COLON PADILLA                                                                                          ARECIBO              PR         00612
   223442 HILARIO MATOS                               REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   223443 HILARIO ORTIZ CINTRON                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   666506 HILARIO PABON SANCHEZ                       PO BOX 5042                                                                                                    VEGA ALTA            PR         00692

   666507 HILARIO RAMIREZ                             1060 CALLE ADOLFO CALDERON                                                                                     SAN JUAN             PR         00907
   223444 HILARIO RESTO GARCIA                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   666498 HILARIO RIVERA LOPEZ                        ALTURAS VILLA DEL REY      G 9 CALLE DAMASO                                                                    CAGUAS               PR         00725
   666508 HILARIO RIVERA TORO                         HC 5 BOX 61975                                                                                                 MAYAGUEZ             PR         00680

   666499 HILARIO RODRIGUEZ MARRERO                   VETERANS PLAZA STATION       P O BOX 33120                                                                     SAN JUAN             PR         00933

   666509 HILARIO ROQUE GARCIA                        21 RES LLORENS TORRES APT 429                                                                                  SAN JUAN             PR         00913‐6890
   666510 HILARIO ROSARIO LOZADA                      HC 01 BOX 6443                                                                                                 AGUAS BUENAS         PR         00703
   223445 HILARIO TORRES BERRIOS                      REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   666513 HILARIO TORRES CRUZ                         PO BOX 16073                                                                                                   SAN JUAN             PR         00908
   223446 HILARIO VEGA GIRAUD                         REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   666515 HILARION CASTRO RIVERA                      RR 2 BOX 115                                                                                                   SAN JUAN             PR         00926
   666517 HILARION SANTIAGO SOTO                      P O BOX 476                                                                                                    SANTA ISABEL         PR         00757
   223447 HILARRY J CASTILLO BALINES                  REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   223448 HILARY ORANGE                               REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   223449 HILARY TORRES DIAZ                          REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   666518 HILARYS COLON ORTIZ                         PMB 275 PO BOX 5075                                                                                            SAN GERMAN           PR         00683‐9809
   666519 HILBERT C ZEBALLOS                          1906 PARQUE SAN ANTONIO I                                                                                      CAGUAS               PR         00725 5936
   666520 HILCA J COTTO OLIQUE                        URB JARD DEL CARIBE           E 13 CALLE 2                                                                     CAYEY                PR         00736
   223450 HILCAR DEVELOPERS INC                       PO BOX 929                                                                                                     FAJARDO              PR         00738
   666521 HILCAR DEVELOPMENT CORP                     P O BOX 190573                                                                                                 SAN JUAN             PR         00919‐0573
   223451 HILDA A AVILES SANCHEZ                      REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   666532 HILDA A BENIQUEZ MENDEZ                     PMB 1079                      243 CALLE PARIS                                                                  SAN JUAN             PR         00917‐3632
   666533 HILDA A LOPEZ RODRIQUEZ                     CASA BLANCA                   652 CALLE ESTADO      APT 800                                                    SAN JUAN             PR         00907
   666535 HILDA A LOPEZ SANTIAGO                      RES PADRE NAZARIO             EDF 11 APT 82                                                                    GUAYANILLA           PR         00656
          HILDA A SANTIAGO
   666536 CASTELLANOS                                 P O BOX 10000                PMB 285                                                                           CANOVANAS            PR         00729

   223452 HILDA A TORRES DE RODRIGUEZ                 REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   666537 HILDA A YAMBO ACEVEDO                       URB COUNTRY CLUB             890 CALLE ALCON                                                                   SAN JUAN             PR         00924
   223453 HILDA A. RIVERA TORRES                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   666538 HILDA ACOSTA RIVERA                         SAN AGUSTO                   B 19                                                                              GUAYANILLA           PR         00656
   666539 HILDA ADAMS                                 BO HIGUILLAR                 P 153 CALLE 1                                                                     DORADO               PR         00646
   223455 HILDA AGOSTO VELEZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   666524 HILDA ALEJANDRO HERNANDEZ                   PO BOX 4952 439                                                                                                CAGUAS               PR         00725
   666540 HILDA ALICEA ROSADO                         URB SAN LUIS                 8 CALLE BETANIA                                                                   AIBONITO             PR         00705
   666541 HILDA ALMEYDA PEREZ                         PO BOX 150                                                                                                     AGUADILLA            PR         00605‐0150
   223456 HILDA ALVARADO TORRES                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   666542 HILDA AMOROS MUJICA                         PO BOX 902‐3361                                                                                                SAN JUAN             PR         00902
   666543 HILDA ANGLICA RODRIQUEZ                     PO BOX 11855                                                                                                   SAN JUAN             PR         00910‐4225
   666544 HILDA APONTE NATAL                          COUNTRY CLUB                 Q 56 CALLE 531                                                                    CAROLINA             PR         00982



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  666545 HILDA ARVELO VARGAS                          URB SULTAN 601               CALLE CATALUNA                                                                          MAYAGUEZ          PR           00680

   666546 HILDA B CRUZ FIGUEROA                       COND JARDINES DE SAN IGNACIO APT 1406                                                                                SAN JUAN          PR           00926

   666525 HILDA B RODRIGUEZ GONZALEZ                  URB SAN GERARDO              310 CALLE TEJAS                                                                         SAN JUAN          PR           00926‐3409
   223457 HILDA BADILLO CRUZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   666547 HILDA BAERGA GUZMAN                         RES LAS MARGARITAS           EDF 36 APTO 335 PROY 214                                                                SANTURCE          PR           00915
   223459 HILDA BAEZ RAMOS                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   666548 HILDA BAHAMUNDI MORALES                     URB VILLA RICA               AO‐39 CALLE IRENE                                                                       BAYAMON           PR           00951
   223460 HILDA BERMUDEZ SANTIAGO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   666549 HILDA BERRIOS CRESPO                        HC‐2 BOX320649411                                                                                                    CAGUAS            PR           00725
   223461 HILDA BOBE RIVERA                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   666552 HILDA BONILLA VEGA                          HC 03 BOX 8349                                                                                                       BARRANQUITAS      PR           00794
   223462 HILDA BURGOS CRUZ                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   223463 HILDA BURGOS MARTINEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          HILDA BURGOS OSTOLAZA/ JAG
   223464 ENGINEERS PSC                               URB PARKVILLE SUR            C 24 CALLE HAMILTON                                                                     GUAYNABO          PR           00969
   666553 HILDA BURGOS RIVERA                         URB PARQUE MONTEBELLO        C 8 CALLE 5                                                                             TRUJILLO ALTO     PR           00676
   666554 HILDA CADIZ VAZQUEZ                         BO CORAZON                   193‐A CALLE SAN LUCAS                                                                   GUAYAMA           PR           00784
   666555 HILDA CALIXTO RODRIGUEZ                     JARDINES I                   G 15 CALLE 12                                                                           CAYEY             PR           00736
          HILDA CAMACHO / JUAN D
   223465 RAMOS                                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   666556 HILDA CANO VILLALOBOS                       CUARTA SECCION VILLA DEL REY A‐HH1 CALLE 1                                                                           CAGUAS            PR           00725
   223466 HILDA CARDONA ROSARIO                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   666560 HILDA CARRASQUILLO ORTIZ                    P O BOX 9703                                                                                                         CAGUAS            PR           00726
   223467 HILDA CARRASQUILLO PEREZ                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   666561 HILDA CARRASQUILLO TORRES                   ADM SERV GEN                 P O BOX 7428                                                                            SAN JUAN          PR           00916‐7428
   666562 HILDA CARTAGENA ORTIZ                       URB ARBOLADA                 D 39 CALLE ALMACIGO                                                                     CAGUAS            PR           00725
   666563 HILDA CASTRO                                PARQUE PONTEZUELA            EDIF 13 APT 215                                                                         CAROLINA          PR           00984
   223468 HILDA CATALINA SCIERA                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   666564 HILDA CEPEDA VAZQUEZ                        URB COUNTRY CLUB             MG 6 CALLE 406                                                                          CAROLINA          PR           00982
   666566 HILDA CLAUDIO RIVERA                        PO BOX 1148                                                                                                          LUQUILLO          PR           00773
   666567 HILDA CLEMENTE SOSA                         URB VALENCIA I               155 CALLE PEDRO CRUZ                                                                    JUNCOS            PR           00777
   666568 HILDA COLON                                 RES HECTOR RUIZ              EDIF 3 APT 18 CRUCE DAVILA                                                              BARCELONETA       PR           00617
   666569 HILDA COLON COLON                           BRISAS DEL TORTUGUERO        PARC 622 CALLE RIO CIALITO                                                              VEGA BAJA         PR           00693
   666570 HILDA COLON PEREZ                           C/O DIV DE CONCILIACION                                                                                              SAN JUAN          PR           00902
   223469 HILDA COLON SUAREZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   666571 HILDA COLON VAZQUEZ                         HC 1 BOX 8380                                                                                                        HORMIGUEROS       PR           00660
   666572 HILDA CORTES OJEDA                          COM PALENQUE                 CALLE 2 BOX 10                                                                          BARCELONETA       PR           00617
   223470 HILDA COSS PINEIRO                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   666575 HILDA CRUZ AVILES                           PO BOX 2323                                                                                                          ISABELA           PR           00662
   223473 HILDA CRUZ JIMENEZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   666576 HILDA CRUZ LOPEZ                            VILLA CAROLINA               89‐7 CALLE 99                                                                           CAROLINA          PR           00985
   666577 HILDA CRUZ MILLAN                           RES LAS AMAPOLAS             EDIF A 2 APTO 27                                                                        SAN JUAN          PR           00927
   666578 HILDA CRUZ ORTIZ                            SANTA ROSA                   E 5 CALLE NEYSI                                                                         CAGUAS            PR           00725
   666580 HILDA CRUZ ROMAN                            URB SANTA ELENA JJ 33        CALLE H                                                                                 BAYAMON           PR           00957
   223474 HILDA CRUZ TORO                             REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   223475 HILDA CUMBA RIVERA                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   223476 HILDA D AVILES RAMOS                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   223477 HILDA D MARTINEZ COLON                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   223478 HILDA D RETAMAL CHACON                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  666582 HILDA D. NIEVES REYES                         BOX 918                                                                                                         MANATI              PR           00674

   223479 HILDA DAMARIS RIVERA REYES                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666583 HILDA DAVILA                                 BDA BORINQUEN              N 21 C/ A 2                                                                          PONCE               PR           00731
   666584 HILDA DE L PAGAN PRADO                       URB VALLE VERDE 1          AT12 CALLE RIO OROCOVIS                                                              BAYAMON             PR           00961
   666585 HILDA DEFENDINI LIMARDO                      URB GARDENVILLE            B 10 CALLE BRAZIL                                                                    GUAYNABO            PR           00966‐2021
          HILDA DEL CARMEN DIAZ
   223480 BERRIOS                                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666586 HILDA DEL RIO                                HC 7 BOX 34493                                                                                                  HATILLO             PR           00659
   666588 HILDA DIAZ DE LA CRUZ                        URB LAS LOMAS              808 AVE SAN PATRICIO                                                                 SAN JUAN            PR           00921
   666589 HILDA DIAZ HERRERA                           UR CORCHADO                91 CALLE LIRIO                                                                       ISABELA             PR           00662
   223481 HILDA DIAZ MORALES                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666590 HILDA DIAZ ROSADO                            RR 5 BOX 8193                                                                                                   BAYAMON             PR           00956
          HILDA DORIS ABRAHAM
   666591 RAMIREZ                                      TINTILLO GARDENS           C 52 CALLE TINTILLO                                                                  GUAYNABO            PR           00966
   223482 HILDA DORIS MORAN MORAN                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   223483 HILDA DUENO CARRILLO                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666526 HILDA E BAERGA LEON                          URB LA GUADALUPE           J 6 CALLE CRISTO REY                                                                 PONCE               PR           00730

   666594 HILDA E CALDERON CLEMENTE                    HC 01 BOX 7358                                                                                                  LOIZA               PR           00772
   223484 HILDA E CASTEJON CENTENO                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666595 HILDA E CEREZO GARDENS                       2590 39 TH ST SW                                                                                                NAPLES              FL           34117‐7162
   223485 HILDA E COLON RIVERA                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   666597 HILDA E CORREA CONCEPCION                    VALLE ARRIBA HEIGHTS STA   BOX 4965                                                                             CAROLINA            PR           00984
   223486 HILDA E ESCALERA FELICIANO                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   223487 HILDA E GONZALEZ CARMONA                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666598 HILDA E LOPEZ MONTES                         ALTURAS DE FLAMBOYAN       N 14 CALLE 23                                                                        BAYAMON             PR           00959

   223490 HILDA E MANGUAL CASTELLAR                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   223491 HILDA E MARTINEZ MARRERO                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666599 HILDA E MERCADO DE JESUS                     P O BOX 326                                                                                                     LOIZA               PR           00772
   223493 HILDA E PEREZ RAMIREZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666600 HILDA E PEREZ TORRES                         RR 6 BOX 11401                                                                                                  SAN JUAN            PR           00926

   666601 HILDA E PORRATA SAINTLAUREN URB MONTE CARLO                             1285 CALLE 13                                                                        SAN JUAN            PR           00924
   223494 HILDA E RIOS FEBUS          REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666603 HILDA E RIVERA SAEZ         HC 2 BOX 6275                                                                                                                    BARRANQUITAS        PR           00794‐9702
   223495 HILDA E RODRIGUEZ TORRES    REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   223496 HILDA E ROSA CUBERO         REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   223497 HILDA E SANTIAGO            REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666604 HILDA E TAPIA ALOMAR        RES LUIS LLORENS TORRES                     EDIF 38 APT 783                                                                      SAN JUAN            PR           00915
   666605 HILDA E VELEZ ESPINOSA      STA MARIA                                   0 10 CALLE STA MARTA                                                                 TOA BAJA            PR           00949
   666606 HILDA E VELEZ ORTIZ         COLINAS DE FAIRVIEW                         AW 16 CALLE 223                                                                      TRUJILLO ALTO       PR           00976
   666607 HILDA E WILLIAMS PARIS      AREA DEL TESOR                              PAGADURIA                                                                            SAN JUAN            PR           00902

   223498 HILDA E. CORDERO GONZALEZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   223499 HILDA E. RIVERA CORDERO                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   223500 HILDA ENID DAVILA FELICIANO                  REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   223501 HILDA EVA VELAZQUEZ NAZARIO REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  666611 HILDA FERNANDEZ BARED                        CAPARRA HEIGHTS STA          PO BOX 11325                                                                          SAN JUAN            PR           00922

   666613 HILDA FERNANDEZ RODRIGUEZ                   URB COUNTRY CLUB             MQ38 CALLE 428                                                                        CAROLINA            PR           00982
   666527 HILDA FLORES CARTAGENA                      PO BOX 370315                                                                                                      CAMUY               PR           00736
   666614 HILDA FLORES VIDAL                          URB CONSTANCIA               876 CALLE CORTADA                                                                     PONCE               PR           00717
   666615 HILDA FONTANET SALGADO                      OCEAN PARK 2156              GENERAL PATTON                                                                        SAN JUAN            PR           00913
   223504 HILDA FRAGOSO                               REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   666616 HILDA FUENTES                               915 NW PRIMERA AVE APT H 701                                                                                       MIAMI               FL           33136
   666617 HILDA G GONZALEZ COLLAZO                    296 CALLE COMERIO                                                                                                  BAYAMON             PR           00959
   223505 HILDA GARCIA CRUZ                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666618 HILDA GAUTIER ROSARIO                       P O BOX 425                                                                                                        LOIZA               PR           00772
   666620 HILDA GOMEZ                                 HC 3 BOX 9398                                                                                                      JUNCOS              PR           00777
   666621 HILDA GOMEZ MORALES                         HC 03 BOX 10603                                                                                                    CAMUY               PR           00627
   223506 HILDA GONZALEZ AMILL                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666622 HILDA GONZALEZ CABALLERO                    HC 1 BOX 9040                                                                                                      CANOVANAS           PR           00729
   666623 HILDA GONZALEZ CARDONA                      PO BOX 4484                                                                                                        MAYAGUEZ            PR           00680
   223507 HILDA GONZALEZ COLON                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   223508 HILDA GONZALEZ GONZALEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666625 HILDA GONZALEZ RIVERA                       URB CANA                     ZZ 16 CALLE 20                                                                        BAYAMON             PR           00957
   666626 HILDA GRIFFIN RUEDA                         119 KALBERER RAMEY                                                                                                 AGUADILLA           PR           00603
   666627 HILDA GUARDIOLA TORRES                      URB STA RITA                 H 33 CALLE 6                                                                          VEGA ALTA           PR           00692
   223510 HILDA HAYES APONTE                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   666628 HILDA I ACEVEDO ARMAIZ                      232 AVE ELEONOR ROOSEVELT                                                                                          SAN JUAN            PR           00907
   223511 HILDA I ACEVEDO VALENTIN                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666630 HILDA I ASENCIO PEREZ                       COLINAS DE MONTE CARLO       35 CALLE 23 A                                                                         SAN JUAN            PR           00924
   223512 HILDA I AVILA TORRES                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   666632 HILDA I CARRION TORRUELLAS                  COND VEREDAS DEL RIO         EDIF C APT 324                                                                        CAROLINA            PR           00987
   666633 HILDA I COLLAZO BAEZ                        ALTAMIRA                     D 41 CALLE 11                                                                         FAJARDO             PR           00738
   666634 HILDA I CORRALIZA ANDUJAR                   HC 01 BOX 5072                                                                                                     JAYUYA              PR           00650
   666522 HILDA I CORUJO RIVERA                       HC 645 BOX 8349                                                                                                    TRUJILLO ALTO       PR           00976
   666635 HILDA I CRUZ NAVARRO                        HC 2 BOX 12821                                                                                                     HUMACAO             PR           00791‐9646
   666636 HILDA I DELGADO COLLAZO                     HC 03 BOX 6821                                                                                                     HUMACAO             PR           00791
   666637 HILDA I GONZALEZ SANTIAGO                   P O BOX 61                                                                                                         VILLALBA            PR           00766
   666638 HILDA I HERNANDEZ PEREZ                     RR 8 BOX 9005                BO DAJAOS                                                                             BAYAMON             PR           00956
   223513 HILDA I IRIZARRY IRIZARRY                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          HILDA I MEDINA / ATLETICOS
   666640 CAGUAS INC                                  URB CAGUAX                   X 24 CALLE ARAWK                                                                      CAGUAS              PR           00725
   666642 HILDA I MELENDEZ RIVERA                     CARR 865 KM 4                                                                                                      TOA BAJA            PR           00951
   223514 HILDA I MOLINA RIVERA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666644 HILDA I NAVEDO DIAZ                         HC 1 BOX 12017                                                                                                     HATILLO             PR           00659
                                                      BO CANDELERO ABAJO BOX
   666645 HILDA I NIEVES CASTRO                       13228                                                                                                              HUMACAO             PR           00791‐9655
   223515 HILDA I ORTIZ ORTIZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   223516 HILDA I PAGAN VIDAL                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666647 HILDA I RAMOS RAMOS                         PO BOX 1339                                                                                                        QUEBRADILLAS        PR           00678
   223517 HILDA I ROBLES MELENDEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   666649 HILDA I RODRIGUEZ ALVARADO                  URB LOS MAESTROS             758 CALLE JOSE B ACEVEDO                                                              SAN JUAN            PR           00923
   223518 HILDA I ROMAN BELTRAN                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   223519 HILDA I SAEZ MORALES                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  666650 HILDA I SANTOS                               RR 1 BOX 2928                                                                                                       CIDRA             PR         00739
  223522 HILDA I VEGA VERGARA                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  666653 HILDA I. FIGUEROA LOPEZ                      REPARTO VALENCIA           AMAPOLA F‐63                                                                             BAYAMON           PR         00959‐4144
  223524 HILDA I. NEGRON LOPEZ                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  666654 HILDA IRIZARRY POUPART                       VILLA PALMERAS             278 CALLE FAJARDO                                                                        SAN JUAN          PR         00915
  666657 HILDA J NANGO LASALLE                        PO BOX 191593                                                                                                       SAN JUAN          PR         00919‐1593
  666658 HILDA J VELEZ PEREZ                          HC 01 BOX 10202                                                                                                     SAN JUAN          PR         00685
  223525 HILDA J. RIVERA TORRES                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  223527 HILDA K BARRIOS COLLAZO                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  666660 HILDA KOCK MARTINEZ                          URB SAN RAMON              1975 CALLE SALVIA                                                                        GUAYNABO          PR         00969
  666662 HILDA L BETANCOURT VEGA                      HC 5 BOX 56008                                                                                                      HATILLO           PR         00659
  666528 HILDA L DE JESUS REYES                       HC 2 BOX 6852                                                                                                       JAYUYA            PR         00664 9607

   223528 HILDA L FIGUEROA HERNANDEZ                  REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   666665 HILDA L GONCE SANTIAGO                      BOX 1125                                                                                                            SABANA GRANDE     PR         00637
   666666 HILDA L HERNANDEZ                           HC 1 BOX 6602                                                                                                       GUAYNABO          PR         00971

   666669 HILDA L MARERO MALDONADO                    BO PUEBLO NUEVO            BZN 18 CALLE 9                                                                           VEGA BAJA         PR         00963
   223530 HILDA L MERCADO NIEVES                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   666671 HILDA L OCASIO MERCADO                      CLUB COSTA MARINA II       APT 3 ‐ I AVE GALICIA FINAL                                                              CAROLINA          PR         00983

   223531 HILDA L QUINTANA GONZALEZ                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   223532 HILDA L RIVERA PEREZ                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   666672 HILDA L SANTIAGO                            FLORIMAR GARDENS APT D‐303                                                                                          SAN JUAN          PR         00926
   223533 HILDA L SERRANO RAMOS                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   666674 HILDA L TORRES SOTO                         EL GUAMA                   CARR 10 KM 11                                                                            ARECIBO           PR         00612
   223535 HILDA L VEGA DE JESUS                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   223536 HILDA L. MARTINEZ RODRIGUEZ                 REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   223537 HILDA L. PENDAZ OTERO                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   223538 HILDA L. QUIðONEZ FLORES                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   666675 HILDA L. SANTOS RIVERA                      MINILLAS STATION           P O BOX 41269                                                                            SAN JUAN          PR         00940‐1269
   223543 HILDA LAFONTAINE ALVAREZ                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   666676 HILDA LANDRON PEREZ                         JARDINES DE BORINQUEN      M 5 CALLE LIRIO                                                                          CAROLINA          PR         00985
   666677 HILDA LAUREANO OLIVO                        12 CALLE PEDRO ALBIZU                                                                                               MOROVIS           PR         00687

   666678 HILDA LISSETTE CHICO MEDINA                 ALT DE SAN PEDRO           AI 48 CALLE 2                                                                            FAJARDO           PR         00738

   223544 HILDA LIZ TORRES ALMODOVAR                  REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          HILDA LOPEZ DBA ROCHELLES
   666681 ADV SPECIALTIE                              PO BOX 1915                                                                                                         CAROLINA          PR         00984

   666682 HILDA LOPEZ MONTES                          URB ALTURAS DE FLAMBOYAN   N 14 CALLE 23                                                                            BAYAMON           PR         00959
   666683 HILDA LOPEZ ORTIZ                           HC 73 BOX 4859                                                                                                      NARANJITO         PR         00719
   666684 HILDA LOZANO DE LEON                        URB CAPARRA TERRACE        757 CALLE 13 SE                                                                          SAN JUAN          PR         00921
   223547 HILDA LUZ PEREZ COLON                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   223548 HILDA LUZ QUINTERO BULTRON                  REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   223549 HILDA M ALVAREZ MEDINA                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   223550 HILDA M ARROYO RAMIREZ                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   666686 HILDA M AZPURUA                             22 JIMENEZ SICARDO                                                                                                  CAGUAS            PR         00725
   223551 HILDA M BENITEZ ALVAREZ                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  223552 HILDA M BUCH SERAPION                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  666687 HILDA M CABRERA SANTOS                       PO BOX 33009                                                                                                      SAN JUAN          PR         00930
  666689 HILDA M CARDONA LEBRON                       HC 1 BOX 4025                                                                                                     MAUNABO           PR         00707
  666691 HILDA M COLON                                PO BOX 21365                                                                                                      SAN JUAN          PR         00928‐1365
  666692 HILDA M CORREA SANTOS                        MEDIANIA ALTA               PO BOX 263                                                                            LOIZA             PR         00772
  771082 HILDA M CRESPO TORRES                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  223554 HILDA M ERAZO FLORES                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  666696 HILDA M ESPINAL PERALTA                      VILLA ESPERANZA 1           C 30 CALLE TORRES                                                                     CAROLINA          PR         00985
  666697 HILDA M ESTRADA DE PEREZ                     URB RIO GRANDE EST          L42 CALLE 17                                                                          RIO GRANDE        PR         00745
  666685 HILDA M FLORES ABREU                         COND THE FALLS              CARR 177 APT 3K                                                                       GUAYNABO          PR         00966
  223555 HILDA M FLORES MENDEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  666698 HILDA M FUENTES                              HC 03 BOX 28280                                                                                                   SAN SEBASTIAN     PR         00685
  666700 HILDA M GONZALEZ PEREZ                       URB CASTELLANA GARDENS      BLQ B 20 CALLE 2                                                                      CAROLINA          PR         00983
  666701 HILDA M GRAU GILBES                          P O BOX 266                                                                                                       JAYUYA            PR         00664
  666702 HILDA M HERNANDEZ                            15 WAVERLY ST.              APT 230                                                                               BRIGHTON          MA         02135
  666703 HILDA M HORTA ACEVEDO                        ALTURAS DE COVADONGA                                                                                              TOA BAJA          PR         00949
  223556 HILDA M JACKSON GUTIERREZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  223558 HILDA M MALAVE DE LEON                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   666705 HILDA M MARTINEZ GONZALEZ                   BRISAS DE TORTUGUERO        614 CALLE RIO BOTIJA                                                                  VEGA BAJA         PR         00693

   223559 HILDA M NEGRON RODRIGUEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   666707 HILDA M NIEVES RODRIGUEZ                    URB MIRAFLORES              44‐11 CALLE 53                                                                        BAYAMON           PR       00957
   666708 HILDA M NOVO RAMOS                          URB COUNTRY CLUB            1028 CALLE ALEJO CRUZADO                                                              SAN JUAN          PR       00924
   666709 HILDA M OLIVO MARRERO                       PASEOS REALES               EE 2 BZN 2                                                                            ARECIBO           PR       00612
   666711 HILDA M PADIN GONZALEZ                      2319 CALLE GERANO BADILLO                                                                                         SAN ANTONIO       PR       00690
   223561 HILDA M PAGAN DOMINGUEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   223562 HILDA M PEREZ PINERO                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   223563 HILDA M RIVERA FIGUEROA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   223564 HILDA M RIVERA GUZMAN                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   666712 HILDA M RIVERA MARTINEZ                     HC 645 BOX 8349                                                                                                   TRUJILLO ALTO     PR       00976
   666713 HILDA M RIVERA ROBLES                       BAYAMON GARDENS             MH 3 CALLE 11                                                                         BAYAMON           PR       00957
   223565 HILDA M RIVERA ROQUE                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   666715 HILDA M RIVERA SANTIAGO                     JARD DE COUNTRY CLUB        CN1 CALLE 151                                                                         CAROLINA          PR       00983
   223566 HILDA M RUIZ VARELA                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   223567 HILDA M SANCHEZ CASTRO                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   666718 HILDA M SURILLO VEGA                        PO BOX 702444                                                                                                     SAN JUAN          PR       00936‐8244
                                                      359 PARC NUEVAS MORA
   666719 HILDA M TIRADO PEREZ                        GUERRERO                                                                                                          ISABELA           PR         00662
   666720 HILDA M UFARRY PEREZ                        349 AVENIDA HOSTOS                                                                                                MAYAGUEZ          PR         00680‐1522
   223568 HILDA M VELEZ PESTANA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          HILDA M VIZCARRONDO
   666721 NARVAEZ                                     VILLA PALMERAS              354 CALLE FERRER                                                                      SAN JUAN          PR         00915
   223569 HILDA M. CASTRO SOLIS                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   666722 HILDA M. COLON                              PO BOX 193                                                                                                        HUMACAO           PR         00792
   223570 HILDA M. MALAVE DE LEON                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   223572 HILDA M. PAGAN DOMINGUEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   666724 HILDA MAISONET MATEO                        46 CALLE P53                                                                                                      TRUJILLO ALTO     PR         00976
                                                                                  1400 CALLE SAN LUCAS URB
   666725 HILDA MALDONADO GONZALEZ                    ALTAMESA                    ALTAMESA                                                                              SAN JUAN          PR         00921
   666726 HILDA MALDONADO REYES                       RES LUIS LLORENS TORRES     EDIF 5 87                                                                             SAN JUAN          PR         00913
   223573 HILDA MANGUAL CASTELLAR                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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   666727 HILDA MAR ROSADO BARRETO                    PO BOX 1049                                                                                                         MOROVIS             PR           00687
   666729 HILDA MARIA ARRIAGA                         1210 WILSON AVE                                                                                                     SAN JUAN            PR           00907‐2819

   666730 HILDA MARIE COLON MARTINEZ                  URB VILLA CAROLINA            BLQ 71 NUM 11 CALLE 58                                                                CAROLINA            PR           00985
   666731 HILDA MARRERO                               JARD DE VEGA BAJA             D 56 CALLE K                                                                          VEGA BAJA           PR           00693
   666732 HILDA MARRERO ALONSO                        BO BORREO                     HC 01 BOX 10517                                                                       GUAYANILLA          PR           00656
   666733 HILDA MARTINEZ CARBONELL                    VILLA CAROLINA                71 11 CALLE 58                                                                        CAROLINA            PR           00985‐4936
   666734 HILDA MARTINEZ FIGUEROA                     VILLA CAROLINA                15 214 CALLE 506                                                                      CAROLINA            PR           00985

   666735 HILDA MARTINEZ ORTIZ                        RES. IGNACIO MORALES DAVILA   EDIF. 7 APT 49                                                                        NAGUABO             PR           00718
   666736 HILDA MARTINEZ TIZOL                        P O BOX 7844                                                                                                        SAN JUAN            PR           00916‐7855
   666737 HILDA MAS TILO                              RR5 BOX 5011                                                                                                        BAYAMON             PR           00956‐9708
   666738 HILDA MATOS FERNANDEZ                       LOIZA VALLEY                  B 65 CALLE DALIA                                                                      CANOVANAS           PR           00729
   223574 HILDA MATOS RIVERA                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223575 HILDA MATOS VELEZ                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666739 HILDA MATTEI MEDINA                         BOX 1076                                                                                                            PONCE               PR           00731
   666740 HILDA MATTOS SOSA                           8 BDA JUAN GONZALEZ                                                                                                 ISABELA             PR           00662
   666743 HILDA MELENDEZ FIGUEROA                     PO BOX 1612                                                                                                         GUAYNABO            PR           00970‐1612
   666744 HILDA MELENDEZ MAISONET                     BDA SANDIN                    CALLE URANO                                                                           VEGA BAJA           PR           00693
   223576 HILDA MELENDEZ MARTINEZ                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      URB JARDINES DE COUNTRY
   666745 HILDA MELENDEZ RODRIGUEZ                    CLUB                          BD 10 CALLE 106                                                                       CAROLINA            PR           00983
   666746 HILDA MENDOZA SOTO                          PO BOX 1557                                                                                                         AGUADA              PR           00602
   666747 HILDA MERCADO CRUZ                          SECTOR LAS COLINAS            369 CALLE CASIMIRO RAMOS                                                              ISABELA             PR           00662
   223577 HILDA MERCADO RODRIGUEZ                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HILDA MERCEDES ALMANZAR
   223578 COSS                                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223579 HILDA MIBES CEDENO                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223580 HILDA MILBES CEDENO                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223581 HILDA MOLINA REYES                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HILDA MORALES / MANA
   666748 TRINIDAD FIGUEROA                           VILLA CAROLINA                122 B 2 CALLE A                                                                       CAROLINA            PR           00985

   223582 HILDA MORALES MALDONADO                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   223583 HILDA MORALES SALDANA                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   223586 HILDA N CARATINNI BANOLA                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   223587 HILDA N COLON FREYTES                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   223588 HILDA N COLON RIVERA                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   666750 HILDA N CRUZ CORDERO                        P O BOX 693                                                                                                         PATILLAS            PR       00723
   223589 HILDA N PEREZ RIOS                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   666751 HILDA N PEREZ TORRES                        PO BOX 1406                                                                                                         UTUADO              PR       00641
   223590 HILDA N VAZQUEZ ASENCIO                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   223591 HILDA N. CARATINNI BANOLA                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   223592 HILDA N. DIEPPA CRUZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
          HILDA N. RODRIGUEZ
   223593 RODRIGUEZ                                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666754 HILDA NELLY RIVERA BAEZ                     HC 73 BOX 5857                                                                                                      NARANJITO           PR           00719
   223594 HILDA NIEVES OCASIO                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666755 HILDA OCASIO CRUZ                           URB BELLO ORIZONTE            1217 CALLE ALUMBRE                                                                    PONCE               PR           00728
   666756 HILDA OCASIO MORALES                        ADM SERV GENERALES            PO BOX 7428                                                                           SAN JUAN            PR           00916‐7428
   666757 HILDA OQUENDO JACOME                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666758 HILDA ORTIZ                                 COND EL TERROL                119 AVE ROOSEVELT                                                                     SAN JUAN            PR           00917



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  666759 HILDA ORTIZ ALVAREZ                          REPTO METROPOLITANO           1042 CALLE 17 SE # C                                                                SAN JUAN           PR         00921
  666760 HILDA ORTIZ BALLESTER                        COND GRAND VIEW               455 CARR 837 APT 504                                                                GUAYNABO           PR         00971‐9643
  666761 HILDA ORTIZ DEL VALLE                        RES FELIPE S OSORIO           EDIF 24 APT 169                                                                     CAROLINA           PR         00985
  666762 HILDA ORTIZ GUZMAN                           URB FLAMINGO HILLS            153 CALLE 2                                                                         BAYAMON            PR         00957‐1749
  223597 HILDA ORTIZ OTERO                            REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  666764 HILDA OSORIO                                 PMB 27                        PO BOX 70344                                                                        SAN JUAN           PR         00936‐8344
  666765 HILDA OTERO ALVAREZ                          URB SANTA JUANITA             AC 28 CALLE 45 3RA EXT                                                              BAYAMON            PR         00956
  223598 HILDA P OLIVO SANCHEZ                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  223599 HILDA P RIVERA RODRIGUEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  666767 HILDA PABON AVILES                           URB BELLA VISTA               G 23 CALLE 11                                                                       BAYAMON            PR         00956
  666768 HILDA PADILLA PEREZ                          HP ‐ FARMACIA                                                                                                     RIO PIEDRAS        PR         009360000
  223601 HILDA PAGAN RIVERA                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  666529 HILDA PASTOR ACEVEDO                         BO ASOMANTE BUZON 1817                                                                                            AGUADA             PR         00602

   666769 HILDA PEGUERO                               MATA DE PLATANO DE LUQUILLO                                                                                       LUQUILLO           PR         00773
          HILDA PEREZ ACEVEDO /
   666770 VIRGINA SANCHEZ                             2589 ANDREWS LAKE RD                                                                                              FELTON             DE         19943
   666771 HILDA PEREZ ALFARO                          PO BOX 22                                                                                                         ISABELA            PR         00662
   666772 HILDA PEREZ ARBLEO                          220 CALLE SAN JUAN                                                                                                CAMUY              PR         00627‐2525
   666773 HILDA PEREZ GONZALEZ                        URB PARK GARDENS              V 5 KINGS CAYON                                                                     SAN JUAN           PR         00926

   666774 HILDA PEREZ MORALES                         RENCIDENCIAL MANUEL A PEREZ EDIF G‐5 APTO 55                                                                      RIO PIEDRAS        PR         00923
   666523 HILDA PEREZ RONDON                          HC 67 BOX 15249                                                                                                   BAYAMON            PR         00956
   223602 HILDA PEREZ VEGA                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   223603 HILDA PILAR ROLDAN MELENDEZ REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   666775 HILDA POLANCO GARCIA        VILLA CAROLINA                                210‐41 CALLE 511                                                                    CAROLINA           PR         00985
   223604 HILDA QUILES COLON          REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   666777 HILDA QUINTANA BALSEIRO     COND GOLDEN COURT                             1 AVE ARTERIAL APT 73                                                               SAN JUAN           PR         00918
   666779 HILDA R COLLAZO RIVERA      HC 44 BOX 13461                                                                                                                   CAYEY              PR         00633‐9719
   666780 HILDA R COLON DELGADO       URB VALENCIA                                  626 ZAMORA                                                                          SAN JUAN           PR         00923
   223605 HILDA R CRUZ                REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   666781 HILDA R FUENTES RIVERA      HC 01 BOX 3583                                                                                                                    LOIZA              PR         00772
   666783 HILDA R JORGE DE FEBRES     URB COLINAS VERDE                             15 CALLE 4 G                                                                        RIO PIEDRAS        PR         00924
   666784 HILDA R LABOY               65 CALLE GURABO                                                                                                                   SAN JUAN           PR         00917
   666530 HILDA R LOPEZ OLIVERAS      PO BOX 232                                                                                                                        JUNCO              PR         00077
   223606 HILDA R MUNOZ DE JESUS      REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   666786 HILDA R RIVERA RIVERO       URB REPTO METROPOLITANO                       1130 CALLE 54 S E                                                                   SAN JUAN           PR         00921

   666788 HILDA R SANTIAGO RODRIGUEZ                  RR 2 BOX 7511                                                                                                     TOA ALTA           PR         00953
   223607 HILDA R ZAYAS RUBEN                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   666791 HILDA R.MUÑOZ DE JESUS                      METADONA PONCE                                                                                                    Hato Rey           PR         00936
          HILDA RAFAELA CAMACHO
   666792 MARINA                                      SECTOR CUCHI 1                HC 03 BOX 20750                                                                     ARECIBO            PR         00612
   666793 HILDA RAMON RODRIGUEZ                       PO BOX 371266                                                                                                     CAYEY              PR         00737
   666794 HILDA RAMOS ALVARADO                        URB CAMPAMENTO                34 CALLE 3                                                                          GURABO             PR         00778
   223608 HILDA RAMOS DAVILA                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   666795 HILDA RAMOS DIAZ                            P O BOX 41009                                                                                                     SAN JUAN           PR         00940
   223609 HILDA RAMOS RIVERA                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   666797 HILDA RAMOS SANCHEZ                         URB SANTA ROSA                44 5 CALLE 24                                                                       BAYAMON            PR         00959
   666798 HILDA RAMOS TORRES                          PO BOX 282                                                                                                        PENUELAS           PR         00624
   223610 HILDA RAMOS VEGA                            REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   223611 HILDA RENTAS RODRIGUEZ                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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                                                      COND MARBELLA DEL CARIBE
   666800 HILDA RESTO ROSARIO                         ESTE                       AVE ISLA VERDE APT 812 E                                                              CAROLINA            PR           00979
   223612 HILDA REYES ESCOBAR                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223613 Hilda Reyes Hernandez                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223614 Hilda Reyes Hernández                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223615 HILDA REYES MUNIZ                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223616 HILDA REYES REYES                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666803 HILDA REYES STRICKER                        URB LA MONSERRATE          A 28 CALLE 1                                                                          HORMIGUEROS         PR           00660
   666804 HILDA RIOS SANCHEZ                          PO BOX 1748                                                                                                      CANOVANAS           PR           00729
   223617 HILDA RIVERA ALVARADO                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666805 HILDA RIVERA CABRERA                        P O BOX 1017                                                                                                     NAGUABO             PR           00718
   666806 HILDA RIVERA CAMACHO                        BO BAJURA BOX CB 114                                                                                             ISABELA             PR           00662
   666807 HILDA RIVERA CARTAGENA                      232 ELEONOR ROOSEVELT                                                                                            SAN JUAN            PR           00907
   223618 HILDA RIVERA COLON                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666808 HILDA RIVERA COTTO                          HC 03 BOX 8293                                                                                                   GUAYNABO            PR           00971
   666810 HILDA RIVERA FELICIANO                      RR‐2 BOX‐6225                                                                                                    TOA ALTA            PR           00953
   666811 HILDA RIVERA LUQUIZ                         PO BOX 378                                                                                                       CIALES              PR           00638‐2101
   223619 HILDA RIVERA PEREZ                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666812 HILDA RIVERA RIVERA                         P O BOX 182                                                                                                      RIO GRANDE          PR           00745
   223620 HILDA RIVERA VELAZQUEZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666813 HILDA ROBLES ARROYO                         PO BOX 404                                                                                                       COMERIO             PR           00782
   223621 HILDA RODRIGUEZ CALAF                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223622 HILDA RODRIGUEZ DEL VALLE                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666816 HILDA RODRIGUEZ GARCIA                      URB VALENCIA               388 SARRIA                                                                            SAN JUAN            PR           00925
   666817 HILDA RODRIGUEZ PAGAN                       PO BOX 871                                                                                                       CAROLINA            PR           00986
   223623 HILDA RODRIGUEZ SANTIAGO                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666819 HILDA RODRIGUEZ SOTO                        HC 01 BOX 4393                                                                                                   HATILLO             PR           00659
   666820 HILDA RODRIGUEZ TORRES                      VILLA FONTANA              TR 2‐515                                                                              CAROLINA            PR           00985
   666821 HILDA RODRIGUEZ VAZQUEZ                     BO MANGUAL                 A 17 VILLA PLATA                                                                      DORADO              PR           00646
   666824 HILDA ROMAN GERENA                          HC 3 BOX 15687                                                                                                   QUEBRADILLAS        PR           00678
   666826 HILDA ROMAN SALAMAN                         PO BOX 577                                                                                                       CAROLINA            PR           00577‐0577
          HILDA ROSA MONTALVO
   223624 ROSADO                                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666828 HILDA ROSA ORTIZ                            URB TREASURE VALLEY        B 22 CALLE HONDURAS                                                                   CIDRA               PR           00739
   223627 HILDA RUIZ ACEVEDO                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666531 HILDA RUIZ FLORES                           BO EL SECO 3               CALLE ABRAHAM LINCOLN                                                                 MAYAGUEZ            PR           00680
   223629 HILDA RUIZ ORTIZ                            REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HILDA RUIZ VEGA Y JUAN ARCE
   223631 LASALLE                                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223632 HILDA S DIAZ ESCALERA                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223633 HILDA S LORENZO BONILLA                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666830 HILDA S SANCHEZ                             SUMMITT HILLS              572 GREENWOOD                                                                         SAN JUAN            PR           00920
   223635 HILDA S. DIAZ ESCALERA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666831 HILDA SALAS MELENDEZ                        PO BOX 319                                                                                                       SAN GERMAN          PR           00683

   666832 HILDA SANCHEZ / VIRGEN AYALA JARD CAROLINA                             E 21 CALLE E                                                                          CAROLINA            PR           00987
   666833 HILDA SANCHEZ BADILLO          COLINAS DE SAN JUAN                     EDIF E APT 168                                                                        CAROLINA            PR           00924
   666834 HILDA SANCHEZ FELIX            RES VILLA ANDALUCIA                     EDIF 2 APART 42                                                                       SAN JUAN            PR           00920
          HILDA SANCHEZ FELIX / JAVIER A
   666835 VARGAS                         RES VILLA ESPERANZA                     EDIF 3 APT 21                                                                         SAN JUAN            PR           00926
   666836 HILDA SANCHEZ FIGUEROA         402 AVE RAMON B LOPEZ                                                                                                         SAN JUAN            PR           00921
   666837 HILDA SANTANA COLON            BASE RAMEY                              114 CALLE V                                                                           AGUADILLA           PR           00603
   223636 HILDA SANTIAGO                 REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  666838 HILDA SANTIAGO SANTIAGO                      AQUA PARQUE WALKUP          EDIF 2 APT 2                                                                         TOA BAJA           PR         00949
  666840 HILDA SANTOS BERRIOS                         EXT SAN MARTIN              E 9 CALLE 5                                                                          JUANA DIAZ         PR         00795
  666841 HILDA SANTOS RIVERA                          MONTE VERDE                 415 CALLE ARARAT                                                                     MANATI             PR         00674
  223637 HILDA SEMIDEY PINA                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  666842 HILDA SERRANO RAMOS                          HP ‐ SALA DE ENFERMERIA                                                                                          RIO PIEDRAS        PR         009360000
  666843 HILDA SOLER LAIZ                             BO EL SECO                  5 CALLE JUAN B LOJO                                                                  MAYAGUEZ           PR         00680
  666844 HILDA SORIANO MARTINEZ                       HP ‐ SALA DE ENFERMERIA                                                                                          RIO PIEDRAS        PR         009360000
  223640 HILDA SOSA BULERIN                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   666845 HILDA SOTO GONZALEZ                         7 REPARTO RAMOS BORINQUEN                                                                                        AGUADILLA          PR         00603
   666846 HILDA SUAREZ ANDINO                         HC 01 BOX 5508                                                                                                   YABUCOA            PR         00767‐9610
   223641 HILDA T RODRIGUEZ CARLO                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   666848 HILDA T SIERRA RIVERA                       COND TORRES DEL PARQUE      APTO 706 NORTE                                                                       BAYAMON            PR         00956
   223642 HILDA TERON TORRES                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   223643 HILDA TEXIDOR SANTI                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   223644 HILDA TOMAS RODRIGUEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   223645 HILDA TONGE REYES                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   223646 HILDA TORRES                                REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   223648 HILDA TORRES ACEVEDO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   666849 HILDA TORRES CAMARENO                       53 CALLE MANUEL CRUZ                                                                                             HUMACAO            PR         00791‐3626
   666850 HILDA TORRES COLON                          27 CALLE MARIO BRASCHI                                                                                           JUANA DIAZ         PR         00795
   223652 HILDA TORRES MARTINEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   223653 HILDA TORRES ORTIZ                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   666851 HILDA TORRES ROSADO                         PO BOX 9539                                                                                                      COTTO LAUREL       PR         00612
   666852 HILDA TORRES TORRES                         PARCELA GANDARA I           RR 2 BOX 5111                                                                        CIDRA PR           PR         00739

   223654 HILDA TORRES Y JOSE E COLON                 REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   666853 HILDA TROCHE SANTIAGO                       URB EL COMANDANTE           1216 CALLE A ARCHE DIAZ                                                              SAN JUAN           PR         00924
   666854 HILDA V PEREZ MORALES                       URB LOMAS DE CAROLINA       2H 33 CALLE 52                                                                       CAROLINA           PR         00987
   666857 HILDA V TORRES ANDUJAR                      BDA MARIN                   18B CALLE 1                                                                          GUAYAMA            PR         00789
   666858 HILDA VALENCIA ORRIOLES                     252 CALLE SAN JOSE                                                                                               SAN JUAN           PR         00901
   666860 HILDA VALENTIN ROMAN                        PO BOX 450                                                                                                       SAN SEBASTIAN      PR         00685
   666861 HILDA VARGAS GONZALEZ                       EL TUQUE                    875 CALLE ELIAS BARBOSA                                                              PONCE              PR         00728‐4733

   666863 HILDA VAZQUEZ BETANCOURT                    URB SUNVILLE                R 7 CALLE 16                                                                         TRUJILLO ALTO      PR         00976
   666864 HILDA VAZQUEZ COLLET                        VICTOR ROJAS II             139 CALLE 4                                                                          ARECIBO            PR         00612
   223655 HILDA VAZQUEZ RIVERA                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   666865 HILDA VAZQUEZ RODRIGUEZ                     EXT CAGUAX                  T 38 CALLE 20                                                                        CAGUAS             PR         00725
                                                                                  7‐G10 CALLE FORTUNATO
   666866 HILDA VEGA CAMACHO                          URB ANTIGUA VIA             VIZCARRONDO                                                                          SAN JUAN           PR         00926
   666867 HILDA VEGA ORTIZ                            P O BOX 281                                                                                                      JAYUYA             PR         00641
   223656 HILDA VELAZQUEZ MERCADO                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   666869 HILDA VELEZ ORTA                            PO BOX 367                                                                                                       ANGELES            PR         00611
   223657 HILDA VELEZ ORTIZ                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   223658 HILDA VELEZ RIVERA                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   223659 HILDA VELEZ RODRIGUEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   666870 HILDA VELEZ SANCHEZ                         P O BOX 3346                                                                                                     LAJAS              PR         00667
   223661 HILDA VIERA ORTIZ                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   223663 HILDA W ROSADO RODRIGUEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   223664 HILDA WHORLOW                               REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   666873 HILDA Y VIVES SURILLO                       PORTICOS DE GUAYNABO        1 C VILLEGAS APT 15104                                                               GUAYNABO           PR         00791
   223665 HILDA Y.SERRANO MORALES                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  223666 HILDA YAMBO MUNIZ                            REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  666874 HILDA YUNEN NINA                             PO BOX 193451                                                                                                     SAN JUAN                       00919‐3451
  223667 HILDALISSE REYES REYES                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  666875 HILDALISSE TORO DIAZ                         PARQUE VALENCIA           30 CALLE ASTURIAS                                                                       BAYAMON             PR         00959
  223668 HILDALIZ TOLEDO ANDUJAR                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   666877 HILDAMARI SANCHEZ MERCADO URB CUIDAD JARDIN BAIROA                    203 CALLE VIGO                                                                          CAGUAS              PR         00727
          HILDEBRANDO HERETER
   666878 CARRASQUILLO              HC 1 BOX 8449                                                                                                                       GURABO              PR         00778

   666879 HILDEBRANDO NATER ROMAN                     PO BOX 225                                                                                                        BAJADERO            PR         00616
          HILDEGARD RODRIGUEZ
   666880 MARCANO                                     URB. CONDADO MODERNO                                                                                              CAGUAS              PR         00725

   666881 HILDEGARDE OLIVERO FIGUEROA PO BOX 191924                                                                                                                     SAN JUAN            PR         00919‐1924
   223670 Hildelisa González Torrents REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   666884 HILDELISIA RIVERA DE LEON   URB DOS PINOS                             811 CALLE LINCE APT 312                                                                 SAN JUAN            PR         00923
   223671 HILDELISSE COLON DAVILA     REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   666885 HILDO DIAZ                  CL 156242 CALLE EL SOL                                                                                                            CEIBA               PR         00735
   223672 HILDY ANN ROSA PEREZ        REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   223709 HILIA PENA GUAL             REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HILL & KNOWLTON PRG PUBLIC
   666886 REL                         PO BOX 2126                                                                                                                       SAN JUAN            PR         00922
          HILL & KNOWLTON STRATERGIES
   223711 LLC                         825 THIRD AVE                                                                                                                     NEW YORK            NY         10022
                                                                                9484 AVE LOS ROMEROS SUITE
   223713 HILL CONSTRUCTION CORP                      MONTEHIEDRA TOWN CENTER   201                                                                                     SAN JUAN            PR         00926‐7009
   223715 HILL JR MD, NATHAN B                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   223716 HILL MD , DAVID G                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   223717 HILL MICHELLE                               REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   223720 HILLARY L RODRIGUEZ PAGAN                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   223721 HILLARY M MUNOZ LAGO                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   223722 HILLARY MARTINEZ ORTIZ                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   223724 HILLDALIZ MOLINA BRACERO                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   223726 HILLEBRAND BURGOS MARIELLA REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   223732 HILLS RICKEY JEROME        REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   223733 HILMAR JIMENEZ RIVERA      REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                971 CALLE JOSEFA GIL DE LA
   666887 HILMARIE ZAYAS FIGUEROA                     URB EL COMANDANTE         MADRID                                                                                  SAN JUAN            PR         00924

   223734 HILMARY ACOSTA RODRIGUEZ                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   666888 HILMITSU AUTO PART                          CALLE 22 AA‐1 RIVERVIEW                                                                                           BAYAMON             PR         00961
   666889 HI‐LO CLIMBERS                              5640 W HOWARD STREET                                                                                              SKOKIE              IL         60077
   223735 HILO MEDICAL CENTER                         1190 WAIANUENUE AVE                                                                                               HILO                HI         96720
   223736 HILQUIA FELICIANO ORTIZ                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1420051 HILRALDO SILVERIO, FELICIA                  AGNES I. POVENTUD         171 C/ CHARDON STE 102                                                                  SAN JUAN            PR         00920
   666890 HILSA BAEZ VALENTIN                         REPARTO METROPOLITANO     1138 CALLE 54 SE                                                                        SAN JUAN            PR         00921
   223737 HILSA HERNANDEZ MARRERO                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   666891 HILSA SILVA                                 URB ALTAMIRA              509 CALLE CIRO                                                                          SAN JUAN            PR         00920
   666892 HILSA SILVA JANER                           COND LINCOLN PARK 502                                                                                             GUAYNABO            PR         00969
   666893 HILSON RESEARCH INC                         P O BOX 826198                                                                                                    PHILADELPHIA        PA         19182‐6198
   223738 HILTI CARIBE INC                            PO BOX 194949                                                                                                     SAN JUAN            PR         00919‐4949



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  666894 HILTI CARIBE INC.                            2 BERWIND SHOPPING CTR                                                                                            SAN JUAN            PR           00924
  223740 HILTI CARIBE LLC                             THE PALMAS VILLAGE         3 ZONA INDUSTRIAL                                                                      CATANO              PR           00962
  666896 HILTI INC.                                   31 CALAF STREET            TRES MONJITAS IND PARK                                                                 HATO REY            PR           00918

   223741 HILTON A FIGUEROA SANTIAGO                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   223742 HILTON ATLANTA                              255 COURTLAND STREET NE                                                                                           ATLANTA             GA           30303

   666899 HILTON BARTOLOMEI CORCINO                   BO CRISTY                  54 VALENCIA                                                                            MAYAGUEZ            PR           00680

   223743 HILTON CESAR PRADO VARGAS                   COND VALLES DE TORRIMAR    APTO E 303 BZN 291                                                                     GUAYNABO            PR           00966
   666900 HILTON CORDERO ROSARIO                      PO BOX 9066552                                                                                                    SAN JUAN            PR           00906
   223744 HILTON ENGINEERING CORP.                    PO BOX 361047                                                                                                     SAN JUAN            PR           00936‐0000
   666903 HILTON G. PEREZ                             PO BOX 571                                                                                                        PONCE               PR           00733
   223745 HILTON H RODRIGUEZ ORTIZ                    18 PRAIRIE ROAD                                                                                                   HUNTINGTON STA      NY           11746

   223746 HILTON HOTELS CORPORATION                   9336 CIVIC CENTER DRIVE    CIVIC CENTER DRIVE                                                                     BEVERLY HILLS       CA           90210
          HILTON INTERNATIONAL
   666904 MAYAGUEZ                                    PO BOX 3629                                                                                                       MAYAGUEZ            PR           00681
          HILTON INTERNATIONAL OF PR
   223749 INC                                         PO BOX 9021872                                                                                                    SAN JUAN            PR           00902‐1872
          HILTON INTERNATIONAL OF
   223750 PUERTO RICO, INC.                           PO BOX 9021872                                                                                                    SAN JUAN            PR           00902‐1872
   666905 HILTON J AYALA IRIZARRY                     P O BOX 1421                                                                                                      CABO ROJO           PR           00623
   666906 HILTON J GARCIA AGUIRRE                     PO BOX 4105                                                                                                       AGUADILLA           PR           00605‐4105
   223751 HILTON LLANTIN LUGO                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   666907 HILTON M HADDOCK VAZQUEZ                    PO BOX 1526                                                                                                       GUAYAMA             PR           00785

   223752 HILTON MERCADO HERNANDEZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666908 HILTON MERCADO SOTO                         URB VILLAS DEL OESTE       333 SAGITARIO                                                                          MAYAGUEZ            PR           00680
   223754 HILTON MIRO DETRES                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   223755 HILTON MORTUARY SERVICES                    P O BOX 1608                                                                                                      CABO ROJO           PR           00623
          HILTON NEW ORLEANS
   666909 RIVERSIDE                                   TWO POYDRAS STREET                                                                                                NEW ORLEANS         LA           70140
   666910 HILTON ORTIZ REYES                          PO BOX 493                                                                                                        COAMO               PR           00769
          HILTON PEREZ HNC KIOSKO
   666911 DULCES TIPICOS                              PO BOX 82                                                                                                         CABO ROJO           PR           00623
          HILTON PONCE GOLF & CASINO
   223756 RESORT                                      1150 CARIBE AVENUE                                                                                                PONCE               PR           00716

   666912 HILTON T PEREZ ARMENDARIZ                   PO BOX 571                                                                                                        PONCE               PR           00733‐0571
   223757 HILTON TORONTO                              145 RICHMOND STREET WEST                                                                                          TORONTO             ON           M5H 2L2
   223758 HILTON VILA MEDINA                          HC 02 BOX 5989                                                                                                    RINCON              PR           00677‐9509
   666913 HILVIA E BLANCO                             URB TREASURE VALLEY        56 CALLE 4                                                                             CIDRA               PR           00739
   223759 HILWA KHADER RASHID                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          HIMA GUAYNABO MEDICAL
   666914 MALL                                        PO BOX 2389                                                                                                       GUAYNABO            PR           00970‐2389

          HIMA HOSP INTERAMERICANO
   223760 MEDICINA AVANZADA                           PO BOX 4980                                                                                                       CAGUAS              PR           00726
   223761 HIMA MEDICAL CLINIC                         HIMA PLAZA 1               500 AVE DEGETAU SUITE 308                                                              CAGUAS              PR           00725
   223762 HIMA SAN PABLO                              PO BOX 639                                                                                                        HUMACAO             PR           00792




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          HIMA SAN PABLO ADVANCE
   223763 HEMATOLOGY ONCOLOGY                         PO BOX 5429                   PISO G                                                                                CAGUAS              PR           00726
          HIMA SAN PABLO CENTRO DE
   223764 CANCER                                      MANEJO DE INFORMACION         PO BOX 4980                                                                           CAGUAS              PR           00726‐4980

   223765 HIMA SAN PABLO CUPEY                        EL SEÑORIAL MAIL STATION 250 138 WINSTON CHURCHILL AVE                                                              SAN JUAN            PR           00926

          HIMA SAN PABLO HEMATOLOGIA
   223766 ONCOLOGIA PEDIATRICA       PO BOX 4980                                    PRIMER PISO SUITE 126                                                                 CAGUAS              PR           00725
          HIMA SAN PABLO PROPERTIES,
   223767 INC.                       PO BOX 4980                                                                                                                          CAGUAS              PR           00726
   223768 HIMA SURGERY CENTER        PO BOX 4980                                                                                                                          CAGUAS              PR           00726
   666915 HIMILCE CINTRON GIRONA     TURABO CLUSTER                                 B 80 APT BB 102                                                                       CAGUAS              PR           00727 2545
   666916 HIMILCE CRUZ VELAZQUEZ     357 CALLE MENDEZ VIGO                                                                                                                DORADO              PR           00646

   666917 HIMILCE PACHECO RODRIGUEZ                   REPTO FLAMINGO                F 36 C/ CENTRAL                                                                       BAYAMON             PR           00954
   666919 HIMIRSE CRUZ VELAZQUEZ                      K 5 CALLE CARACOL             DORADO DEL MAR                                                                        DORADO              PR           00646

   223770 HIND DAUHAJRE DE DAUHAJRE                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223772 HIP HOP INC                                 1345 GARDEN HILL PLZ                                                                                                GUAYNABO            PR           00969
   666920 HIPODROMO SERVICE STA                       PO BOX 19047                                                                                                        SAN JUAN            PR           00910

   666921 HIPODROMO SERVICE STATION                   1319 AVE FERNANDEZ JUNCOS                                                                                           SAN JUAN            PR           00909‐2520
   666923 HIPOLITA BAEZ BELTRAN                       PO BOX 1305                                                                                                         YABUCOA             PR           00767
   666924 HIPOLITA BURGOS                             PO BOX 938                                                                                                          COAMO               PR           00769

   223773 HIPOLITA CARRUCINI DELGADO                  REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223775 HIPOLITA GARCIA CRESPO                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223776 HIPOLITA M PANIAGUA                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223777 HIPOLITA MARTINEZ CRUZ                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666925 HIPOLITA MARTINEZ SANTOS                    HC 48 BOX 13101                                                                                                     CAYEY               PR           00736
   666926 HIPOLITA REYES ORTÖZ                        SUITE 302                     PO BOX 6001                                                                           SALINAS             PR           00751
   666927 HIPOLITA RIVERA RIVERA                      HC 1 BOX 18032                                                                                                      COAMO               PR           00769
   666928 HIPOLITA RODRIGUEZ ABREU                    HC 3 BOX 11316                                                                                                      YABUCOA             PR           00769
          HIPOLITO ALFREDO ACOSTA
   666932 ALVAREZ                                     P O BOX 9020982                                                                                                     SAN JUAN            PR           00902
   223778 HIPOLITO AYALA                              REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666933 HIPOLITO AYALA APONTE                       LA QUINTA                     309 CALLE BALBOA                                                                      MAYAGUEZ            PR           00680
   666934 HIPOLITO BAEZ CARDONA                       HC 1 BOX 4461                                                                                                       RINCON              PR           00677
   223779 HIPOLITO BONES DIAZ                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666935 HIPOLITO BONILLA RIVERA                     C‐14 JARDINES DE SANTA ANA    CALLE 3                                                                               COAMO               PR           00769
   223780 HIPOLITO BURGOS CRUZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666936 HIPOLITO CARRILLO COLON                     P O BOX 404                                                                                                         GUAYNABO            PR           00970
   223781 HIPOLITO CASOL GONZALEZ                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   666929 HIPOLITO CASTRO VIDAL                       URB JARDINES DE BUENA VISTA   3 CALLE G                                                                             CAROLINA            PR           00985
   223782 HIPOLITO CLAUDIO HOMS                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   666937 HIPOLITO CLAUDIO RODRIGUEZ                  HC 30 BOX 36007                                                                                                     SAN LORENZO         PR           00754
   666938 HIPOLITO COLOMBANI                          PO BOX 946                                                                                                          RINCON              PR           00677
   223783 HIPOLITO COLON CASTRO                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666940 HIPOLITO CRUZ MELENDEZ                      PO BOX 1107                                                                                                         OROCOVIS            PR           00720
   666941 HIPOLITO CRUZ ORTIZ                         P O BOX 60‐075                                                                                                      BAYAMON             PR           00960



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  666942 HIPOLITO DAVILA RODRIGUEZ                    URB LOMAS VERDES               M 11 CALLE ALMENDRA                                                                BAYAMON             PR           00956

   666943 HIPOLITO DE AZA MERCEDES                    URBANIZACION PUERTO NUEVO 622 CALLE CONSTITUCCION                                                                 SAN JUAN            PR           00920
   666944 HIPOLITO DE JESUS MATOS                     P O BOX 164                                                                                                       FORREST CITY        AR           72336
   666945 HIPOLITO DIAZ DE JESUS                      HC 763 BOX 3471                                                                                                   PATILLAS            PR           00723
   666946 HIPOLITO DURAN PEREZ                        URB ESTANCIAS             B 30 VIA CARACAS                                                                        BAYAMON             PR           00961

   223786 HIPOLITO FIGUEROA CHAPARRO REDACTED                                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666947 HIPOLITO FIGUEROA RIVERA   HC 03 BOX 9952                                                                                                                     YABUCOA             PR           00767
   223788 HIPOLITO GARCIAS COLON     REDACTED                                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   666948 HIPOLITO GONZALEZ BENITEZ                   SECTO VILLA 200 BO HIGUILLAR   442 CALLE ESPERANZA                                                                DORADO              PR           00646
   666949 HIPOLITO GONZALEZ PAGAN                     BO OBRERO                      733 CALLE 10                                                                       SAN JUAN            PR           00915
   666950 HIPOLITO GONZALEZ TORRES                    PO BOX 930                                                                                                        ISABELA             PR           00662

   223790 HIPOLITO J GONZALEZ AGOSTO                  REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   666953 HIPOLITO LANTIGUA VAZQUEZ                   URB LAS LOMAS                  86050 CALLE 47                                                                     SAN JUAN            PR           00921

   223793 HIPOLITO LARREQUI MAISONET                  REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          HIPOLITO LAUREANO
   666954 MALDONADO                                   P O BOX 674                                                                                                       VEGA ALTA           PR           00692
   666955 HIPOLITO LEBRON GARCIA                      PO BOX 870                                                                                                        MAUNABO             PR           00707
   223794 HIPOLITO LEON NOGUERAS                      REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666956 HIPOLITO LOPEZ ARROYO                       PO BOX 5106 MARICAO STA                                                                                           VEGA ALTA           PR           00692
   666958 HIPOLITO LOZADA ORTIZ                       HC 2 BOX 12274                                                                                                    AGUAS BUENAS        PR           00703‐9602
          HIPOLITO MALDONADO
   666959 ECHEVARRIA                                  BO VIVI ARRIBA                 HC 1 BOX 3160                                                                      UTUADO              PR           00641
   666961 HIPOLITO MARRERO FUENTES                    7MA SECCION STA JUANITA        X 22 CALLE PENSACOLA                                                               BAYAMON             PR           00956
   223797 HIPOLITO MATOS FUENTES                      REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666963 HIPOLITO MOLINA                             FOREST VIEW                    E 162 CALLE DAKAR                                                                  BAYAMON             PR           00956
   666964 HIPOLITO MORA MORA                          BO. SAN DANIEL                 1758 CALLE SAN DANIEL                                                              ARECIBO             PR           00612
   666965 HIPOLITO NAZARIO PAGAN                      P O BOX 557                                                                                                       BOQUERON            PR           00622
   223798 HIPOLITO O'NEILL LOPEZ                      REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   223799 HIPOLITO ORTIZ DELGADO                      REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666967 HIPOLITO ORTIZ JIMENEZ                      RR 1 BOX 6383                                                                                                     GUAYAMA             PR           00784
   666968 HIPOLITO ORTIZ VELAZQUEZ                    PRADERA DEL PLATA              PO BOX 10000 SUITE 24                                                              CAYEY               PR           00737
   666969 HIPOLITO PADILLA                            PO BOX 991                                                                                                        BOQUERON            PR           00622
   666930 HIPOLITO PANTAJOS MOLINA                    URB BORINQUEN GARDENS          1927 RUFINO TAMAYO                                                                 SAN JUAN            PR           00926
          HIPOLITO PEREZ E ILIA
   223800 MANZANO                                     REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   223802 HIPOLITO PEREZ MARTINEZ                     REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666970 HIPOLITO PIZARRO FIGUEROA                   URB ROSALEDA 2                 RA37 CALLE ALELI                                                                   TOA BAJA            PR           00949
   666972 HIPOLITO PIZARRO MORALES                    HC 2 BOX 49072                                                                                                    VEGA BAJA           PR           00693
   223803 HIPOLITO REYES FALCON                       REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666973 HIPOLITO RIVERA CASTRO                      BO VENEZUELA                   64 CALLE LOS TANQUES                                                               SAN JUAN            PR           00926
   666974 HIPOLITO RIVERA DIAZ                        URB VISTA HERMOSA              B 39 CALLE 6                                                                       HUMACAO             PR           00791
   666975 HIPOLITO RIVERA GUERRERO                    PO BOX 684                                                                                                        MARICAO             PR           00606
   666976 HIPOLITO RIVERA PEREZ                       PARCELA SABANA ENEAS           507 CALLE 16                                                                       SAN GERMAN          PR           00683
   223804 HIPOLITO RIVERA RAMOS                       REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   223805 HIPOLITO ROBLES RIVERA                      REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   223806 HIPOLITO RODRIGUEZ CRUZ                     REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   666931 HIPOLITO RODRIGUEZ DONES                    URB VILLA CAROLINA             160 24 CALLE 423                                                                   CAROLINA            PR           00985



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   666980 HIPOLITO RODRIGUEZ MORALES                  HC 2 BOX 6046                                                                                             LARES               PR           00669
          HIPOLITO RODRIGUEZ
   666981 QUIRINDONGO                                 912 FERNANDALE BLVD                                                                                       CENTRAL ISLIP       NY           11722
   666983 HIPOLITO ROMERO BIGIO                       P O BOX 50697                                                                                             LEVITTOWN           PR           00980
   666984 HIPOLITO ROSA RIOS                          BO MINILLAS             HC 67 BOX 15238                                                                   BAYAMON             PR           00956
   223807 HIPOLITO ROSARIO SANCHEZ                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666986 HIPOLITO SANTIAGO FLORES                    2213 JESSA DRIVE                                                                                          KISSENANCE          FL           34743

   666987 HIPOLITO SANTIAGO LATORRE                   BO CAMPANILLA           248 CARR 865                                                                      TOA BAJA            PR           00949
   666988 HIPOLITO SEVILLA SEVILLA                    URB VILLA ALEGRE        10 CALLE H                                                                        GURABO              PR           00778
   223808 HIPOLITO SOTO ROMAN                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223809 HIPOLITO TIRADO GUASP                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223810 HIPOLITO UBILES MORENO                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HIPOLITO VANTERPOOL
   223811 RODRIGUEZ                                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666989 HIPOLITO VARGAS FIGUEROA                    32 CALLE EXT SANTIAGO                                                                                     SAN GERMAN          PR           00683
   666990 HIPOLITO VAZQUEZ                            84 CALLE ANDALUCIA      URB SULTANA                                                                       MAYAGUEZ            PR           00680
   666991 HIPOLITO VAZQUEZ DIAZ                       URB VILLAS DEL CARMEN   K 23 CALLE 11                                                                     GURABO              PR           00778

   666992 HIPOLITO VAZQUEZ RODRIGUEZ JARD DE DORADO                           H 29 CALLE 4                                                                      DORADO              PR           00646
   666994 HIPOLITO VELEZ RODRIGUEZ   URB SANTA MONICA                         E 31 CALLE 6                                                                      BAYAMON             PR           00952
   666995 HIPOLITO VICENS            HC 30 BOX 31058                                                                                                            SAN LORENZO         PR           00754

   666996 HIPOLITO VILLANUEVA SANCHEZ BO TABLONAL BZN 1623                                                                                                      AGUADA              PR           00602

   223812 HIPOLITO VILLEGAS MELENDEZ                  REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666997 HIR RENTAL EQUIPMENT                        HC 73 BOX 5052                                                                                            NARANJITO           PR           00719

   223813 HIRADITH MENENDEZ SANTIAGO REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223815 HIRAIM J ROBLES RIVERA     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223833 HIRALDO COTTO, LUIS F      REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223837 HIRALDO DELGADO, BRUMALI   REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223872 HIRALDO LUNA, IDSA H       REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223874 HIRALDO MARRERO, GLORIA    REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223878 HIRALDO MEDERO, GLORIA     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223881 HIRALDO MEDERO, SANDOR     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   223883 HIRALDO MEDERO, SANDOR E                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   666998 HIRALDO RIVERA CARMENL                      P O BOX 7488                                                                                              CAROLINA            PR           00986

   223908 HIRALDO RODRIGUEZ, FATIMA M REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   223928 HIRALDO SUAREZ, AIDA        REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667004 HIRAM A GIUSTI CRUZ         PMB 402 PO BOX 7105                                                                                                       PONCE               PR           00732
   223942 HIRAM A MARIN ARIAS         REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667005 HIRAM A MATOS               PO BOX 810                                                                                                                RIO BLANCO          PR           00744
   667006 HIRAM A OTERO RODRIGUEZ     P O BOX 21365                                                                                                             SAN JUAN            PR           00926
   667007 HIRAM A RAMIREZ RANGEL      URB SAN GERARDO                         297 CALLE TRENTON                                                                 SAN JUAN            PR           00926‐3401
   667009 HIRAM A. OTERO              P.O. BOX 21635                                                                                                            SAN JUAN            PR           00928
   223943 HIRAM ACEVEDO REYES         REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667010 HIRAM ALDARON GALVAN        VILLAS DE CUPEY                         D4 CALLE ZENOBIA                                                                  SAN JUAN            PR           00926
   667012 HIRAM ALVARADO SANTIAGO     PO BOX 1019                                                                                                               PENUELAS            PR           00624
   667013 HIRAM ALVAREZ               PO BOX 610                                                                                                                CAYEY               PR           00737



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  223945 HIRAM APONTE CEDENO                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  667014 HIRAM AQUINO VARGAS                          HC 4 BOX 43207                                                                                                 LARES             PR         00669
  667015 HIRAM AUTO ELECTRIC                          111 CALLE URUGUAY           PDA 27 1/2                                                                         SAN JUAN          PR         00917
  223946 HIRAM AUTO ELECTRONIC                        CALLE URUGUAY 111 PDA. 27                                                                                      HATO REY          PR         00917
  667016 HIRAM AVILA GONZALEZ                         COMUN JUDEA                 ESTRUCTURA 37                                                                      UTUADO            PR         00641
  667017 HIRAM BENIQUEZ JIMENEZ                       URB SABANA GARDENS          CALLE 12 BLOQ 9 # 13                                                               CAROLINA          PR         00983
  667018 HIRAM BERRIOS FIGUEROA                       HC 01 BOX 5587                                                                                                 CIALES            PR         00638
  667019 HIRAM BERRIOS ORTIZ                          PO BOX 1658                                                                                                    COROZAL           PR         00783
  667020 HIRAM BETANCES DIAZ                          URB SANTA CLARA             Q 28 CALLE EMAJAGUA                                                                GUAYNABO          PR         00969
         HIRAM BJ RIVERA
  223947 SANCHEZ/NIRMA SANCHEZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  223948 HIRAM BONET JUSTINIANO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  667022 HIRAM BOSCH ESCOBAR                          URB LAGO ALTO               B 32 CALLE CURTAS                                                                  TRUJILLO ALTO     PR         00760
  223951 HIRAM C RIVERA LOPEZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  223952 HIRAM CALDERO RIVERA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  223953 HIRAM CANALES MEDINA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  667026 HIRAM CARDONA SANTANA                        ESTACION 1                  APT 6219                                                                           BAYAMON           PR         00960
  223954 HIRAM CARLO REYES                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  223955 HIRAM CARRERO MERCADO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   667027 HIRAM CARRILLO IRIZARRY                     1811 COND BELLO HORIZONTE                                                                                      SAN JUAN          PR         00924
   667028 HIRAM CASABLANCA CRUZ                       BO CALABAZAS                HC 07 BOX 14630                                                                    SAN SEBASTIAN     PR         00685
   223956 HIRAM CEREZO MUNOZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   223957 HIRAM CINTRON LEBRON                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   223958 HIRAM COLLAZO SAEZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      URB.MONACO 3‐219 CALLE
   667029 HIRAM COLON ARROYO                          MONTE CARLO                                                                                                    MANATI            PR         00674
   667030 HIRAM COLON RODRIGUEZ                       URB BAYAMON GARDEN          CALLE 14 Q 7                                                                       BAYAMON           PR         00957
   223959 HIRAM CORDOVA FERRER                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   667032 HIRAM CRUZ CRUZ                             PO BOX 379                                                                                                     SAN SEBASTIAN     PR         00685‐0000
   667033 HIRAM CRUZ SANTIAGO                         PO BOX 317                                                                                                     CAMUY             PR         00627

   223960 HIRAM D CALDERO FERNANDEZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   223961 HIRAM D CARO RAMOS                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   667034 HIRAM D ROMAN COSME                         URB DOS RIOS                L 1 CALLE 2 LEVITTOWN                                                              TOA BAJA          PR         00949
   223962 HIRAM DANIEL PEREZ LEON                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   223963 HIRAM DEL ROSARIO RODRIGUEZ REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   667035 HIRAM DIAZ BELARDO          COND PARQUE REAL APT 407                                                                                                       GUAYNABO          PR         00969
   667036 HIRAM DIAZ MELENDEZ         VILLA EVANGELINA                            242 CALLE 15                                                                       MANATI            PR         00674
   223964 HIRAM DIAZ MORENO           REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   223965 HIRAM E MIRANDA SANCHEZ     REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   666999 HIRAM E PIZARRO ORTIZ       PASEO DEL PRADO                             125 CALLE ALBORADA                                                                 CAROLINA          PR         00987
   667038 HIRAM E TORO GUTIERREZ      BO LICEO 210                                CALLE E GUTIERREZ                                                                  MAYAGUEZ          PR         00680
   223966 HIRAM F VERA LOPEZ          REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   223967 HIRAM FEBLES TORRES         REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   667039 HIRAM FELICIANO DIAZ        HC 1 BOX 5828                                                                                                                  COROZAL           PR         00783
   223968 HIRAM FERRER RIVERA         REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   667040 HIRAM FLORES GUZMAN         HC‐2 BOX 6855                                                                                                                  BARRANQUITAS      PR         00794
   223969 HIRAM FOSECA AYALA          REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   223970 HIRAM G. NIEVES BAUZA       REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   667041 HIRAM GARCIA ESTRADA        URB JOSE DELGADO                            F 18 CALLE 4                                                                       CAGUAS            PR         00725
   667042 HIRAM GAUTHIER MARTINEZ     BAYAMON GARDEN BOX 3300                                                                                                        BAYAMON           PR         00959‐0300



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  223971 HIRAM GOMEZ COLONDRES                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  667043 HIRAM GOMEZ VALLECILLO                       PO BOX 12244                                                                                                    SAN JUAN            PR         00914‐2244
  667044 HIRAM GONAZALEZ MUNIZ                        P O BOX 107                                                                                                     AGUADA              PR         00602
  223972 HIRAM GONZALEZ BURGOS                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  223973 HIRAM GONZALEZ MENDEZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  667046 HIRAM GONZALEZ OJEDA                         PO BOX 29114                                                                                                    SAN JUAN            PR         00929‐0114

   667047 HIRAM GONZALEZ RODRIGUEZ                    URB MONTE BELLO             778 CALLE COLLARINA                                                                 DORADO              PR         00646
   667048 HIRAM GORDIAN RAMIREZ                       URB HACIENDA LA MATILDE     5451 CALLE SURCO                                                                    PONCE               PR         00728
   223974 HIRAM GUEVARRA MARTINEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   223975 HIRAM H PARDO MORALES                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   667050 HIRAM HERNANDEZ CINTRON                     VILLAS DE CAMBALACHE 2      276 CALLE COROZO                                                                    CANOVANAS           PR         00729

   223976 HIRAM HERNANDEZ FONTANEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   223977 HIRAM HERNANDEZ ORTIZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   223978 HIRAM HERNANDEZ RIVERA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   223980 HIRAM J NAZARIO MORALES                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   667053 HIRAM J SANTIAGO JAIMAN                     P O BOX 572                                                                                                     SANTA ISABEL        PR         00757
   223981 HIRAM J TORRES MONTALVO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   223983 HIRAM JIMENEZ SOTO                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HIRAM JOSE MALDONADO
   223984 QUINTANA                                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   223986 HIRAM L MARTY TROCHE                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   667056 HIRAM L RIVERA SILVA                        HC 2 BOX 5806                                                                                                   MOROVIS             PR         00687
   667057 HIRAM LOPEZ                                 P O BOX 370680                                                                                                  CAYEY               PR         00737

   667058 HIRAM LOPEZ RIVERA                          BO AIBONITO SEC PENTECOSTAL                                                                                     HATILLO             PR         00659
   667000 HIRAM LOPEZ VAZQUEZ                         61 ESTE CALLE MCKINLEY                                                                                          MAYAGUEZ            PR         00680
   223987 HIRAM LOZADA PEREZ                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   223989 HIRAM LOZANO RIVERA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   223990 HIRAM LUGO RAMOS                            REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   667060 HIRAM M SOLER BERNARDINI                    609 AVE TITO CASTRO SUITE 102 PMB 260                                                                           PONCE               PR         00716
   223991 Hiram M. Quiles Ramos                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   223992 HIRAM MALAVE VARGAS                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   223993 HIRAM MALDONADO MELENDEZ REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   223994 HIRAM MANDRY GARCIA      REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   667065 HIRAM MARCANO            P O BOX 7762                                                                                                                       CAGUAS              PR         7471188
   667066 HIRAM MARCANO CRUZ       PO BOX 2021                                                                                                                        CAROLINA            PR         00984‐2021
          HIRAM MARTINEZ
   223995 CARRASQUILLO             REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   667067 HIRAM MARTINEZ ESPADA    P O BOX 829                                                                                                                        SALINAS             PR         00751
   223996 HIRAM MARTINEZ LOPEZ     REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   223997 HIRAM MATIAS QUILES      REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   667068 HIRAM MEDINA SUD         HC 2 BOX 6921                                                                                                                      AGUADILLA           PR         00603
   223998 HIRAM MELENDEZ JUARBE    REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   667069 HIRAM MELENDEZ RIVERA    MANS DE RIO PIEDRAS                            1799 BEGONIA                                                                        SAN JUAN            PR         00926
   224000 HIRAM MELENDEZ TORRELLA  REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   224001 HIRAM MERCADO JIMENEZ    REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   224002 HIRAM MERCADO PEREZ      REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   667071 HIRAM MERCADO RAMOS      HC 01 BOX 4463                                 MEDIANIA ALTA                                                                       LOIZA               PR         00772
   667072 HIRAM MOLINA RIVERA      VALPARAISO                                     K7 CALLE 1                                                                          TOA BAJA            PR         00949



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  224003 HIRAM MOLINA SANTIAGO                        REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  667074 HIRAM MONTALVO RIOS                          URB COUNTRY CLUB              GY 10 CALLE 259                                                                            SAN JUAN            PR         00924
  667076 HIRAM MORALES TORRES                         PO BOX 7126                                                                                                              PONCE               PR         00732
  667001 HIRAM MU¥IZ BERNARD                          PO BOX 1187                                                                                                              HATILLO             PR         00659
  224004 HIRAM MUNIZ NORIEGA                          REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   667077 HIRAM N MARRERO                             116 NORTE CALLE RUIZ BELVIS                                                                                              COAMO               PR         00769
   224005 HIRAM NAVEDO MARTINEZ                       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   667079 HIRAM NAZARIO BERROCALES                    HC 37 BOX 3720                                                                                                           GUANICA             PR         00653
   667080 HIRAM NAZARIO ORTIZ                         HC 02 BOX 16628                                                                                                          GURABO              PR         00778
   224006 HIRAM NAZARIO ROSSY                         REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   224007 HIRAM O ESPADA DE JESUS                     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   224008 HIRAM O VALENTIN COLON                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   667081 HIRAM O. GONZALEZ OTERO                     BO PAMPANOS                   1.2 CARR 678                                                                               VEGA ALTA           PR         00692
   224009 HIRAM OLIVENCIA ROMAN                       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   667083 HIRAM OLIVERAS LEBRON                       BOX 1441                                                                                                                 JUANA DIAZ          PR         00795
   667084 HIRAM ORTEGA NIEVES                         HC 03 BOX 39601                                                                                                          AGUADA              PR         00602
   667085 HIRAM ORTIZ CENTENO                         RR BOX 10030                                                                                                             SAN JUAN            PR         00928
   667087 HIRAM ORTIZ FUENTES                         PO BOX 1923                                                                                                              COAMO               PR         00769
   224010 HIRAM ORTIZ MALDONADO                       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   224011 HIRAM ORTIZ ROBLES                          REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   224012 HIRAM ORTIZ SANTANA                         REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HIRAM ORTIZ Y MIREYA
   224013 QUINONES                                    REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HIRAM OSCAR MONTES
   224014 MARRERO                                     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   224015 HIRAM OTERO LOPEZ                           REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

          HIRAM OTERO
   224016 SAMALOT/CINCOR TECHNICAL                    SERVICES INC                  MANSIONES REALES C/ ISABEL A1                                                              SAN GERMAN          PR         00683
   667088 HIRAM PACHECO MORALES                       HC 02 BOX 10527                                                                                                          YAUCO               PR         00698
   667089 HIRAM PAGAN RIOS                            URB JESUS M LAGO              F3                                                                                         UTUADO              PR         00641
   667090 HIRAM PAGANI DIAZ                           PMB 189 PO BOX 2500                                                                                                      TRUJILLO ALTO       PR         00977‐2500
   667091 HIRAM PEREZ ADAMES                          226 CALLE VIGUERAUX                                                                                                      SAN JUAN            PR         00912
   224017 HIRAM PEREZ NIEVES                          REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   667002 HIRAM PEREZ ROSADO                          URB COUNTRY CLUB              MO 17 CALLE 424                                                                            CAROLINA            PR         00982
   667092 HIRAM PEREZ TORRES                          PO BOX 738                                                                                                               VILLALBA            PR         00766
   224018 HIRAM PINEIRO ALFARO                        REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   224019 HIRAM QUINONES FERRER                       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   224021 HIRAM R CRUZ ALVAREZ                        REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          HIRAM R MORALES LEGAL
   224022 STRATEGIC & DEV SE                          PO BOX 360101                                                                                                            SAN JUAN            PR         00936‐0101

          HIRAM R. MORALES LUGO,
   224024 LEGAL, STRATEGIC AND DEVELO                 EDIFICIO ORIGINAL COSVI                                                                                                  SAN JUAN            PR         00927
   667093 HIRAM RAMOS SANCHEZ                         COND MAJAGUAL                 EDIF 1 APT 3A                                                                              MAYAGUEZ            PR         00680
   667094 HIRAM RIOS FERNADEZ                         PO BOX 213                                                                                                               MOCA                PR         00676
   667095 HIRAM RIOS MORALES                          HC 3 BOX 13881                                                                                                           COROZAL             PR         00783
   667097 HIRAM RIVERA ALVARADO                       VILLA ESPERANZA               A 57 AVE FAGOT                                                                             PONCE               PR         00716
   224025 HIRAM RIVERA ALVAREZ                        REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   667100 HIRAM RIVERA CONCEPCION                     URB MARTORELL                 D 6 CALLE LUIS MU¥OZ RIVERA                                                                DORADO              PR         00646



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  224026 HIRAM RIVERA HERNANDEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  667101 HIRAM RIVERA INC                             P O BOX 5                                                                                                     COTO LAUREL       PR         00780
  224027 HIRAM RIVERA LOPEZ                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  224028 HIRAM RIVERA MARTINEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   667103 HIRAM RIVERA MONTES                         232 AVE ELEONOR ROOSEVELT                                                                                     SAN JUAN          PR         00907
   667104 HIRAM RIVERA RAMOS                          23 VALLA CARIBE                                                                                               GUYAMA            PR         00784
   224029 HIRAM RIVERA RODRIGUEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   224030 HIRAM RIVERA SANTIAGO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   224031 HIRAM RIVERA VEGA                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          HIRAM RIVERA Y SONITZA
   224032 MILLAN                                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   667106 HIRAM RODRIGUEZ                             PO BOX 37385                                                                                                  SAN JUAN          PR         00937

   224033 HIRAM RODRIGUEZ BERMUDEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   667107 HIRAM RODRIGUEZ CALIXTO                     HC 763 BOX 3812                                                                                               PATILLAS          PR         00723
   224034 HIRAM RODRIGUEZ CASIANO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          HIRAM RODRIGUEZ COLON
   224035 /MIGDALIA GONZALEZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   224036 HIRAM RODRIGUEZ GARCIA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   667108 HIRAM RODRIGUEZ IRIZARRY                    PO BOX 7126                                                                                                   PONCE             PR         00732
   667109 HIRAM RODRIGUEZ RIVERA                      BOX 20                                                                                                        BARCELONETA       PR         00617

   224037 HIRAM RODRIGUEZ RODRIGUEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   224038 HIRAM ROMAN CINTRON          REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   224039 HIRAM ROMAN RUIZ             REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   224040 HIRAM ROSARIO GONZALEZ       REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   224041 HIRAM ROSARIO RDRIGUEZ       REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   667110 HIRAM RUIZ ROSADO            PO BOX 3076                                                                                                                  SAN GERMAN        PR         00683
   667111 HIRAM RUIZ SANTIAGO          P O BOX 1025                                                                                                                 ARECIBO           PR         00613‐0000
   224043 HIRAM SANCHEZ ROSA           REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   667112 HIRAM SANTANA OLIVO          URB VILLA BARCELONA                        JJ‐4                                                                              BARCELONETA       PR         00617
   667115 HIRAM STELLA VEGA            URB SIERRA LINDA                           A 24 CALLE 1                                                                      BAYAMON           PR         00957
   667116 HIRAM SUAREZ DELGADO         URB LOIZA VALLEY                           L 409 CALLE LAUREL                                                                CANOVANAS         PR         00729
   224045 HIRAM SUSONA RODRIGUEZ       REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   667117 HIRAM TOLEDO TOLEDO          PUERTO NUEVO                               515 CALLE ARDENAS                                                                 SAN JUAN          PR         00920
   224047 HIRAM TORRES CRUZ            REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   224048 HIRAM TORRES CUEBAS          REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          HIRAM TORRES ORTIZ Y/O ENTRE
   667119 AMIGOS CAFE                  CAPARRA HEIGHTS                            1558 ENCARNACION                                                                  SAN JUAN          PR         00920
   667120 HIRAM TORRES RIVERA          PO BOX 1434                                                                                                                  MOROVIS           PR         00687‐1434
   667121 HIRAM TRINIDAD HOYOS         P O BOX 1071                               SABANA HOYOS                                                                      ARECIBO           PR         00688
   667122 HIRAM V. ARROYO ACEVEDO      PO BOX 3432                                                                                                                  GUAYNABO          PR         00970
   224050 HIRAM VALDES DE JESUS        REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   224051 HIRAM VAZQUEZ BOTET          REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   224053 HIRAM VAZQUEZ BOTET & CO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   667127 HIRAM VEGA CRUZ                             BOX 145                                                                                                       SANTA ISABEL      PR         00757
   667129 HIRAM VEGA PEREZ                            LA MILAGROSA                B 6 CALLE 1                                                                       SABANA GRANDE     PR         00637
   667130 HIRAM VEGA RODRIGUEZ                        COND EL TREBOL              EDIF A APT 801                                                                    SAN JUAN          PR         00926
   667133 HIRAM VELEZ MARTINEZ                        PO BOX 5824                                                                                                   MAYAGUEZ          PR         00681
   667135 HIRAM VELEZ RIVERA                          SAN GREGORIO 1429                                                                                             ALTA MESA         PR         00921
   667136 HIRAM VERA AROCHO                           P O BOX 925                                                                                                   AGUADILLA         PR         00605



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  224055 HIRAM ZAYAS ROSARIO                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  667137 HIRAN FRESS CAMACHO                          BO MARICAO                 P O BOX 5132                                                                            VEGA ALTA            PR         00692

   667138 HIRAN R ROSADO RODRIGUEZ                    JARD DEL CARIBE            111 CALLE 7                                                                             PONCE                PR         00728
   224056 HIRAN RIOS CRESPO                           REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   667139 HIRAN RIVERA CABRERA                        URB LAS LEANDRAS           N 14 CALLE 11                                                                           HUMACAO              PR         00791
   667140 HIRAN SAEZ SANTIAGO                         P O BOX 1218                                                                                                       BAYAMON              PR         00960‐1218
   667141 HIRASARI SERVICE STATION                    MAYAGUEZ TERRACE           1068 CALLE JOSE ARRARAS                                                                 MAYAGUEZ             PR         00682
   667142 HIRAU GUTIERREZ RAMOS                       EXT ALTURAS DE VEGA BAJA   G 44 CALLE D                                                                            VEGA BAJA            PR         00693
   667143 HIRBERT R RIVERA TORRES                     BOX 1017                                                                                                           CIDRA                PR         00739
   224057 HIROIITO OMAR TORRES DIAZ                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   224058 HISAM E MARTINEZ BATISTA                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   224059 HISAM MARTINEZ BATISTA                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   667145 HISELA RAMIREZ ORTIZ                        HC 2 BOX 11782                                                                                                     YAUCO                PR         00698

  1420052 HISKES, RACHEL                              JUDITH BERKAN              BERKAN & MENDEZ G11 O'NEIL                                                              SAN JUAN             PR         00918‐2301
   224060 HISLER MD , STUART E                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   667146 HISPALIS CORP                               PO BOX 9024275                                                                                                     SAN JUAN             PR         00902‐4275

   224061 HISPANIC AMERICAN COLLEGE                   HC 02 BOX 12004                                                                                                    GURABO               PR         00778
   224062 HISPANIC AMERICAN ORG                       462 W WALNUT ST REAR                                                                                               ALLENTOWN            PA         18102
                                                                                 8415 DATAPOINT DRIVE SUITE
   667147 HISPANIC ASSOCIATION COLLEGE & UNIVERSITIES                            400                                                                                     SAN ANTONIO          TX         78229
          HISPANIC BUSINESS WOMEN S
   667148 ALLIANCE                     530 AVE PONCE DE LEON                                                                                                             SAN JUAN             PR         00901‐2304
          HISPANIC CHAMBER OF
   667149 COMMERCE                     5509 BAY LAGOON CIR                                                                                                               ORLANDO              FL         32819
          HISPANIC COMM COUNSELING
   224063 SVCS                         3156 KENSINGTON AVE 4TH FLR                                                                                                       PHILADEPHIA          PA         19134
   224064 HISPANIC FEDERATION INC      55 EXHANGE PLACE 5TH FLR                                                                                                          NEW YORK             NY         10053301
          HISPANIC INF &
          TELECOMMUNICATION            318 AVENIDA DE LA
   224065 NETWORK                      COSTITUCION                               2DO PISO                                                                                SAN JUAN             PR         00901
          HISPANIC INF. & TELECOMM
   224068 NETWORK, INC                 318 AVENIDA CONSTITUCION                  2DO PISO                                                                                SAN JUAN             PR         00901
   224069 HISPANIC MEDICAL CENTER      3527 W NATIONAL AVE                                                                                                               MILWAUKEE            WI         53215
          HISPANIC NATIONAL                                                      1920 E HALLANDALE BEACH
   667150 MARKETTING                   STE 904                                   BLVD                                                                                    HALLANDALE           FL         33009
   667151 HISPANIC WORLD NEWS          7616 LINDLEY AVENUE                                                                                                               RESEDA               CA         91335
   224070 HI‐SPEED AUTO INC            858 AVE 65TH INFANTERIA                                                                                                           RIO PIEDRAS          PR         00716
          HISTORIC PRESERVATI0N
   667152 EDUCATION                    1849 STREET N W                                                                                                                   WASHINGTON           DC         2024001
   224072 HISTORIC PROPERTIES OF P R   PO BOX 38079                                                                                                                      SAN JUAN             PR         00937‐8079
   667153 HITE SERV INC                5771 TERX DRIVE                                                                                                                   CLARKSTON            MI         48346

   667154 HITECH AUTO CARE CENTER INC. PO BOX 363609                                                                                                                     SAN JUAN             PR         00936
   667155 HI‐TECH AUTO REPAIR          URB COSTA DEL SOL                         50 CALLE MARTE                                                                          RIO GRANDE           PR         00745
          HITECH AUTOMATIC
   667156 TRANSMISION                  VILLA PRADES                              313 AVE SIMON MADERA                                                                    SAN JUAN             PR         00924
   667157 HI‐TECH BRAKE CO             P O BOX 925                                                                                                                       ST.JUST              PR         00978
   224074 HI‐TECH PRODUCTS INC         PO BOX 3739                                                                                                                       CAROLINA             PR         00984
   667158 HI‐TECH REPAIR               URB COSTA DEL SOL                         C/50 MARTE RIO                                                                          RIO GRANDE           PR         00745
   224075 HITSAURY GONZALEZ REYES      REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  224076 HIX ISLAND HOUSES INC                        HC BOX 14902                                                                                                      VIEQUES            PR           00765
  667160 HJD PEDIATRICS GROUP                         PO BOX 800                                                                                                        MADISON SQ STA     NY           10159‐0800
  667161 HL CATERING SERVICES                         P O BOX 358                                                                                                       LARES              PR           00669
         HL CENTROVISION GROUP HR                                               652 AVE MUNOZ RIVERA SUITE
  771083 INC                                          EL MONTE MALL             2015                                                                                    SAN JUAN           PR           00918
         HL CENTROVISION GROUP HR                     EL MONTE MALL 652 AVE
  224082 INC.                                         MUNOZ RIVERA SUITE 2000                                                                                           HATO REY           PR           00918
                                                                                2756 AVE BOULEVARD ESQ DOS
   667162 HL SERV TIRE CENTER            URB LEVITTOWN                          PALMAS                                                                                  TOA BAJA           PR           00949
                                         APTO 9I COND MANSIONES
   224083 HL SERVICIO DE ARTE E IMPRESIO GARDEN HILLS                                                                                                                   GUAYNABO           PR           00967
          HL SERVICIO DE ARTE E
   667163 IMPRESION                      COND MANS DE GARDEN HILLS              APTO 9 1                                                                                GUAYNABO           PR           00966

   667164 HL TRANSPORT RECYCLING ING                  HACIENDA GUAMANI          107 CALLE HICACOS                                                                       GUAYAMA            PR           00784

   224084 HLB MORALES PADILLO & CO PSC A&M TOWER SUITE 700                      207 DEL PARQUE STREET                                                                   SAN JUAN           PR           00912
                                       650 MUNOZ RIVERA P.O. BOX
   224085 HLB PARISSI                  195607                                                                                                                           SAN JUAN           PR           00919
   224086 HLB PARISSI PSC              AREA DE TESORO                           DIVISION DE RECLAMACIONES                                                               SAN JUAN           PR           00902‐4140
   667165 HLCM GROUP INC               P O BOX 9382                                                                                                                     BAYAMON            PR           00960‐8043
                                       268 HATO REY CENTER, SUITE
   224090 HLE CONSTRUCTION LLC         #518                                     AVE. JUAN PONCE DE LEON                                                                 SAN JUAN           PR           00917‐0000
   224092 HLMCC ‐ LIFETIME CANCER      PO BOX 198441                                                                                                                    ATLANTA            GA           30384‐8441
   224093 HLMCC LIFETIME CANCER        P O BOX 198441                                                                                                                   ATLANTA            PR           30384‐8441
   667166 HM CLEANERS                  HC 01 BOX 12946                                                                                                                  CAROLINA           PR           00985
   667167 HM CONSULTING GROUP INC      P O BOX 1813                                                                                                                     CAGUAS             PR           00826‐0000

   667168 HM PROFESSIONAL SERVICES INC PLAZA SAN FRANCISCO                      201 AVE DE DIEGO SUITE 217                                                              SAN JUAN           PR           00927
   667169 HM PROMOTIONAL               PLAYA DE PONCE                           45 CALLE COMERCIO                                                                       PONCE              PR           00731
   224096 HM SERVICE BUREAU CORP       5034 BESOSA                                                                                                                      SAN JUAN           PR           00918
   224097 HM2 GROUP CORP               PASEO DEL PRADO                          78 CALLE VEREDA                                                                         CAROLINA           PR           00987
   667170 HMC INT L DIV INC            5996 SO CROCKER ST                                                                                                               LITTLETON          CO           80120‐2054
                                       HIPODROMO 803 20 CORNER
   224098 HMC MEDICAL SERVICE          DOCTOR HOSPITAL                                                                                                                  SANTURCE           PR           00909
   667171 HMCA CAROLINA INC            PO BOX 70112                                                                                                                     SAN JUAN           PR           00936‐8212

   224102 HMW AUTOMOTIVE GROUP LLC PASEO LOS CORALES                            627 CALLE MAR DE BERING                                                                 DORADO             PR           00646

   667172 HNAS DE JESUS MEDIADOR INC                  PO BOX 1345                                                                                                       BAYAMON            PR           00960
          HNAS MISIONERA DE SAGRADO
   667173 CORAZONES DE                                PO BOX 3024                                                                                                       BAYAMON            PR           00960
          HNAS MISIONERAS DEL BUEN
   667174 PASTOR                                      HC 01 BOX 22925                                                                                                   CAGUAS             PR           00725
   667175 HNOS SANCHEZ DIAZ INC                       HC 1 BOX 11516                                                                                                    GURABO             PR           00778

   224104 HNOS SANTIAGO CASH Y CARRY PO BOX 7382                                                                                                                        PONCE              PR           00732
   667176 HO WANTING                   1774 72 ND ST                                                                                                                    BROOKLIN           NY           11204
   224108 HOBART SALES                 PO BOX 11912                                                                                                                     SAN JUAN           PR           00922
          HOBBYS ART & CRAFT / RICARDO
   667177 L RODRIGUEZ                  HC 2 BOX 9246                                                                                                                    AIBONITO           PR           00705
   224110 HOCHMAN MD , JERRY I         REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   667178 HOCO DEVELOPMENT S.E.        18 CALLE PRINCIPAL                                                                                                               MOROVIS            PR           00687



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  667179 HODGE EDWARDS WALTER                         REPARTO VALENCIA        AF 51 CALLE 15                                                                   BAYAMON             PR           00959‐3722
  667180 HOECHST MARION ROUSSEL                       P O BOX 2120                                                                                             SAN JUAN            PR           00922 2120

   224125 HOEPELMAN NINA MD, BARON                    REDACTED                REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   224126 HOFFA MEDICAL CENTER                        352 CALLE DEL PARQUE    PARADA 23                                                                        SAN JUAN            PR           00912
          HOG ESC SIERVAS DE MARIA DE
   667181 MAYAGUEZ                                    AVE HOSTOS 401                                                                                           MAYAGUEZ            PR           00680
   224136 HOGA REGAZO DE PAZ INC                      PO BOX 4721                                                                                              AGUADILLA           PR           00605
   224137 HOGAN CALDERON LEBRON                       REDACTED                REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   224139 HOGAN J RAMOS MODESTI                       REDACTED                REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   224140 HOGAN MD, DONALD                            REDACTED                REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   224141 HOGAR ABBA PADRE INC.                       P O BOX1663                                                                                              VEGA ALTA           PR           00692

   224142 HOGAR ABUELOS DE MIOSOTIS                   2H 21 CALLE FLAMBOYAN                                                                                    BAYAMON             PR           00961
          HOGAR AGUA Y VIDA EN EL
   667182 DESIERTO INC                                PO BOX 413                                                                                               COROZAL             PR           00783‐0413
          HOGAR ALBERGUE A NINOS
   224143 JESUS DE NAZARET                            PO BOX 1147                                                                                              MAYAGUEZ            PR           00681

   667183 HOGAR ALBERGUE DE MUJERES P O BOX 80000 MSC 234                                                                                                      ISABELA             PR           00662
          HOGAR ALBERGUE DE NINOS DE
  1256543 SAN GERMAN                 REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   667184 HOGAR ALBERGUE GABREMI INC PO BOX 1206                                                                                                               MOCA                PR           00676
          HOGAR ALBERGUE NIÐOS DE
   224144 SAN GERMAN                 PO BOX 1375                                                                                                               SAN GERMAN          PR           00683
          HOGAR ALBERGUE NINOS DE
   224145 SAN GERMAN                 PO BOX 1375                                                                                                               SAN GERMAN          PR           00683
          HOGAR ALBERGUE PARA NINOS
  1256544 JESUS DE NAZARET           REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   667185 HOGAR ALBERQUE GABREMI INC P O BOX 1206                                                                                                              MOCA                PR           00676
          HOGAR ALCANZADO POR        CALLE GUAVANI SECTOR PUEBLO
   224146 MISERICORDIA               INDIO                                                                                                                     CANOVANAS           PR           00987‐0000
   224147 HOGAR ALMA INC.            BOX 194941                                                                                                                SAN JUAN            PR           00919
          HOGAR AMOR Y MISERICORDIA, CALLE ACROPOLIS QQ‐1 URB.
   224148 INC.                       APOLO                                                                                                                     GUAYNABO            PR           00969‐0000
  1256545 HOGAR AMOR Y PAZ           REDACTED                    REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   224149 HOGAR AMOR Y PAZ INC       URB SAN JOSE                CALLE DUARTE 25                                                                               SMAYAGUEZ           PR           00660
                                     APTO 2‐03 CALLE HIPODROMO #
   224150 HOGAR AMPARO,              800 PDA 20                                                                                                                SANTURCE            PR           00909‐0000
          HOGAR ANA MARISOL PICHARDO
   667186 INC                        PO BOX 20894                                                                                                              SAN JUAN            PR           00928

   667187 HOGAR ANA R DIAZ SANTAELLA                  HC 61 BOX 6082                                                                                           TRUJILLO ALTO       PR           00976

   667188 HOGAR ANCIANO DE CAYEY INC PO BOX 1211                                                                                                               CAYEY               PR           00736
          HOGAR ANGELES DE CIELO      BARRIO DUQUE CALLE # 3
   224152 SALUD MENTAL                PARCELA 218                                                                                                              NAGUABO             PR           00718‐0000
          HOGAR ARACOEL INC / NORMA I
   224153 DIAZ ALVERIO                P O BOX 1718                                                                                                             GUAYNABO            PR           00971‐1718
   224155 HOGAR ASABNEYA HOME INC     HC‐08 BOX 39535                                                                                                          CAGUAS              PR           00725‐0000
   224156 HOGAR ASLEY                 URB VILLA GRANADA                       974 CALLE ALCAZAR                                                                SAN JUAN            PR           00923‐0000



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  224157 HOGAR BARBARA                                REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                      459 35 CALLE JUAN C BORBON
  224158 HOGAR BARCELONA INC.                         STE 67                                                                                                                GUAYNABO             PR         00969‐5375
         HOGAR BETHEL CORP Y/O
  667190 DENNIS RIVERA             PO BOX 1698                                                                                                                              BAYAMON              PR         00960‐1698
         HOGAR BETHESDA/JUAN LUCAS
  667191 MONEGRO                   PMB 256 PO BOX 268                                                                                                                       CAGUAS               PR         00726
                                   CALLE SAN MARCOS L‐15 URB.
  224159 HOGAR BETZAEL MC,CORP     NOTRE DAME                                                                                                                               CAGUAS               PR         00725‐0000
         HOGAR BETZAEL/MARI L
  667192 CARRASCO MARTINEZ         HC 03 BOX 39888                                                                                                                          CAGUAS               PR         00725
  224160 HOGAR BIENAVENTURA        P.O.BOX 3395                                                                                                                             BAYAMON              PR         00958
  224161 HOGAR BIENAVENTURADO      C/ HAITI 3R 6A                                     URB SANTA JUANITA                                                                     BAYAMON              PR         00956
  224162 HOGAR BRISAS DE AMOR      #719 CARR. 349 KM 3.3                                                                                                                    MAYAGUEZ             PR         00680
  224163 HOGAR BUEN AMANECER       PO BOX 1015                                                                                                                              TOA ALTA             PR         00954

  224164 HOGAR CALIDAD DE VIDA, INC.                  BOX 2001                                                                                                              ISABELA              PR         00662

  667193 HOGAR CAMINO LA SALVACION II BO GUARAGUAO ARRIBA                             CARR 174 KM 13 2                                                                      BAYAMON              PR         00960
  224165 HOGAR CAMPO AMOR INC         PO BOX 1598                                                                                                                           UTUADO               PR         00641

  224166 HOGAR CAMPO VERDE                            CALLE 19 T 6 VILLA DE CASTRO                                                                                          CAGUAS               PR         00725
  224167 HOGAR CAMPOSSO                               BRISAS DE TORTUGUERO          BZN 18 CALLE RIO CAONILLAS                                                              VEGA BAJA            PR         00693
  667194 HOGAR CARABALLO CASTRO                       REPTO ESPERANZA               D 37 CALLE 10                                                                           YAUCO                PR         00698
  224168 HOGAR CARINO INC.                            HC‐02 BOX 14444                                                                                                       CAROLINA             PR         00987
                                                      EXT. FOREST HILL CALLE ATENAS
  224171 HOGAR CARITA DE ANGEL, INC.                  C‐100                                                                                                                 BAYAMON              PR         00956
  667195 HOGAR CARMEN PIMENTEL                        2DA SEC COUNTRY CLUB          1037 CALLE ALEJO CRUZADO                                                                SAN JUAN             PR         00924
  224172 HOGAR CASA ELVIRA INC                        PO BOX 209                                                                                                            COROZAL              PR         00783
  667196 HOGAR CASA FANY                              PO BOX 427                                                                                                            AIBONITO             PR         00705
  224173 HOGAR CASA FUENTES INC.                      PO BOX 5305                                                                                                           VEGA ALTA            PR         00692
  224174 HOGAR CASA GABRIEL INC                       PO BOX 48                                                                                                             CAYEY                PR         00737
         HOGAR CASA JUANITA SANCHEZ,
  224175 INC.                        PO BOX 10553                                                                                                                           PONCE                PR         00732‐0000
                                     VILLA CONTESSA L‐28 CALLE
  224176 HOGAR CASA MONICA II CORP. VALOIS                                                                                                                                  BAYAMON              PR         00956
  224177 HOGAR CASA MUGUETTS         BOX 231                                                                                                                                VILLALBA             PR         00766‐0000

  224178 HOGAR CASA PABLO                             URB. SAN FELIZ CALLE Y CASA 1                                                                                         COROZAL              PR         00787‐0000
  224179 HOGAR CASA PRIMAVERA                         P.O.BOX 193549                                                                                                        SAN JUAN             PR         00919
  667197 HOGAR CASA VICTORIA INC                      HC 1 BOX 2981                                                                                                         SABA HOYOS           PR         00688
  224180 HOGAR CASITA DE JUAN                         P.O. BOX 163                                                                                                          JUANA DIAZ           PR         00795
  224181 HOGAR CASITA DE STEPHANIE                    URB. EL VIVERO CALLE 5 C‐23                                                                                           GURABO.PR            PR         00778

  667198 HOGAR CASITA DEL AMOR CORP BOX 4952 SUITE 004                                                                                                                      CAGUAS               PR         00726
                                    URB.ESTANCIAS DEL GULF C/
  224182 HOGAR CATALEYA             WITO MORALES 520                                                                                                                        PONCE                PR         00728
  224183 HOGAR CATALINA AULET       REDACTED                                          REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  667199 HOGAR CATHY                PARCELAS FALU                                     465 CALLE 36                                                                          SAN JUAN             PR         00924
  224184 HOGAR CEDRES INC           TERRAZAS DEL TOA                                  3 H 12 CALLE 30                                                                       TOA ALTA             PR         00953
                                    CALLE EDMEE AP‐1 EXT. VILLA
  224185 HOGAR CEDREZ I             RICA                                                                                                                                    BAYAMON              PR         00959




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          HOGAR CENTRO DE AYUDA
   224186 COMUNITARIA PORTAL                          301 URB. CRISTAL                                                                                   AGUADILLA            PR           00603

   224187 HOGAR CIUDAD DORADA, INC.  HC 61 BOX 4433                                                                                                      TRUJILLO ALTO        PR           00976
   667200 HOGAR CLARA LAIR INC.      PO BOX 1653                                                                                                         HORMIGUEROS          PR           00660
          HOGAR COLEGIO LA MILAGROSA                                              AVE FRANCISCO JIMENEZ
   224188 INC                        987 ZENO GANDIA                              GONZALEZ                                                               ARECIBO              PR           00612‐3877
          HOGAR COLINAS DE LA
   224189 ESPERANZA/LUZ N.DIAZ       PO. BOX 409                                                                                                         TRUJILLO ALTO        PR           00977‐0000
          HOGAR COLINAS DE LA
   667201 ESPERAZA/LUZ N DIAZ        PO BOX 88                                                                                                           TRUJILLO ALTO        PR           00977
   224190 HOGAR COLINAS VERDES INC   PO BOX 2045                                                                                                         HATILLO              PR           00659

   224191 HOGAR COLINAS VERDES, INC. PO BOX 426                                                                                                          LARES                PR           00669‐0426
          HOGAR COMINITARIO AGAPE
   224192 MITCHELL INC               PO BOX 474                                                                                                          MOROVIS              PR           00687
          HOGAR COMUNITARIO AGAPE
   224193 MITCHELL , INC             BOX 474                                                                                                             MOROVIS              PR           00687
          HOGAR COMUNITARIO SAN JOSE
   224194 INC                        P O BOX 7856                                                                                                        CAGUAS               PR           00726
                                     CAPARRA TERRACE CALLE 11 SO
   224195 HOGAR CORDERO,INC.         838                                                                                                                 SAN JUAN             PR           00921‐0000
   667202 HOGAR CREA ADOLECENTES     HC‐20 BOX 21130                                                                                                     SAN LORENZO          PR           00751

   667203 HOGAR CREA DE ADOLECENTES                   P O BOX 588                 BO GARROCHALE                                                          ARECIBO              PR           00652
   224217 HOGAR CREA INC                              P O BOX 547                 SAINT JUST                                                             TRUJILLO ALTO        PR           00978
   667205 HOGAR CREA INC LA MISION                    SAINT JUST                  100 CALLE 2                                                            TRUJILLO ALTO        PR           00976
   224229 HOGAR CRISTAL DEL ALBA                      PO BOX 275                                                                                         BOQUERON             PR           00622
          HOGAR CRISTIANO EL CAMINO
   667206 DE SALVACION                                PO BOX 2283                                                                                        SALINAS              PR           00751
          HOGAR CRISTO DE LOS
   667207 MILAGROS                                    PO BOX 6670                                                                                        BAYAMON              PR           00960‐5670
   224230 HOGAR CRISTO ES LA ROCA                     APARTADO 3281                                                                                      MANATI               PR           00674
   224231 HOGAR CRISTO REY INC.                       PO BOX 3012                                                                                        MAYAGUEZ             PR           00681
                                                      C/ JOSE RAMOS # 16 BO.
   224232 HOGAR CUIDADO CON AMOR                      PUGNADO AFUERA                                                                                     VEGA BAJA            PR           00693

          HOGAR CUIDADO PROLONGADO
   224233 ROSA Y MONCHO            PMB 193                                        PO BOX 6011                                                            CAROLINA             PR           00984‐6011
          HOGAR CUIDO PERSONAL
   667209 GLADYS RIVERA            URB VILLA UNIVESITARIA                         BK2 CALLE 12 A                                                         HUMACAO              PR           00791
          HOGAR CUNA SAN CRISTOBAL
   667210 INC                      PMB 428                                        HC 01 BOX 29030                                                        CAGUAS               PR           00725‐8900
                                   PLAZA 3 SA ‐57 MANSION DEL
   224234 HOGAR DANISAN            SUR                                                                                                                   TOA ALTA             PR           00949‐0000

   224235 HOGAR DANISON INC.                          PLAZA 3‐5A 59 MASION DEL SUR                                                                       LEVITOWN             PR           00949
   224236 HOGAR DANYIS HOME INC.                      REPARTO MEDINA A‐9                                                                                 SAN LORENZO          PR           00754‐0000
   667211 HOGAR DAS ZALDUOBDO                         URB VILLA CAPRI              575 CALLE LOMBARDIA                                                   SAN JUAN             PR           00924

   224237 HOGAR DE AMOR NASHALI INC                   CALLE 25 DE JULIO #35                                                                              GUANICA              PR           00653
          HOGAR DE AMOR Y ESPERANZA
   224238 SAN JOAQUIN Y                               SANTA ANA INC               14 CALLE RIUS RIVERA                                                   ADJUNTAS             PR           00601



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          HOGAR DE ANCIANOS COLON
   224239 RIVAS, INC                                  APT.1434                                                                                                               MOCA                PR           00676
          HOGAR DE ANCIANOS MORET
   224240 INC                                         PO BOX 772                                                                                                             AGUADA              PR           00602

   667212 HOGAR DE ANCIANOS RAILEEN                   HC 1 BOX 4831                                                                                                          RINCON              PR           00677

   224241 HOGAR DE AYUDA EL REFUGIO P.O. BOX 3118 AMELIA STATION                                                                                                             CATANO              PR           00963‐0000
          HOGAR DE AYUDA EL REFUGIO
   224242 INC                        AREA DEL TESORO                                  DIVISION DE RECLAMACIONES                                                              SAN JUAN            PR           00902‐4140
          HOGAR DE CUIDADO DIURNO DE
   224246 NINOS                      MARGARITA C RODRIGUEZ INC                        URB CIUDAD CRISTIANA        P 7 AVE BOLIVIA BZN 454                                    HUMACAO             PR           00791483
          HOGAR DE ENVEJECIENTE
   667213 SAGRADO CORAZON            HC 01 BOX 3345                                                                                                                          LAS MARIAS          PR           00670
          HOGAR DE ENVEJECIENTES
   224247 CIRIACO SANCHA             PO BOX 1280                                                                                                                             MOCA                PR           00676
          HOGAR DE ENVEJECIENTES
   667214 EDYALIS INC                HC 12 BOX 5656                                                                                                                          HUMACAO             PR           00791
          HOGAR DE ENVEJECIENTES
  1256546 REYCHEL                    REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HOGAR DE ENVEJECIENTES
   224248 REYCHEL LLC                P O BOX 1267 SUITE 46                                                                                                                   NAGUABO             PR           00718
          HOGAR DE ENVEJECINTES IRMA
   667215 FE POL MENDEZ              BOX 1185                                                                                                                                LARES               PR           00669
   224249 HOGAR DE LA CRUZ ,CORP.    JOSE MERCADO                                     CALLE KENNEDY V‐33A                                                                    CAGUAS              PR           00725
          HOGAR DE LA LOMA DE SAN
   224250 AGUSTIN INC                P O BOX 21354                                                                                                                           SAN JUAN            PR           00928‐1354
   224251 HOGAR DE MI MAMA           CARR.967 KM.08 BARR LAS 3T                                                                                                              RIO GRANDE          PR           00745‐0000
   667216 HOGAR DE MI MAMA INC       PO BOX 2811                                                                                                                             CAROLINA            PR           00984

   224252 HOGAR DE NINAS DE CUPEY INC                 PO BOX 20667                                                                                                           SAN JUAN            PR           00928‐0667
          HOGAR DE NINAS FRAY LUIS
   224253 AMIGO INC                                   HC 6 BOX 65162                                                                                                         CAMUY               PR           00627
          HOGAR DE NINOS FE AMOR Y
   224254 ESPERANZA INC                               PO BOX 691                                                                                                             QUEBRADILLAS        PR           00678
          HOGAR DE REHABILITCION
   667217 PENIEL INC                                  JARDINES DE MONACO              CALLE ASIA 12                                                                          MANATI              PR           00674
          HOGAR DE SALUD MENTAL SAN
   224256 GABRIEL INC.                                PMB #91 PO BOX 2510                                                                                                    TRUJILLO ALTO       PR           00977‐0000
   224257 HOGAR DE VIDA SOCIAL, INC                   PO BOX 7010                                                                                                            BAYAMON             PR           00960

   224258 HOGAR DEL BUEN PASTOR INC.                  AVE. LA CONSTITUCION #250                                                                                              SAN JUAN            PR           00901‐0000
   667218 HOGAR DEL CARMEN 1 INC                      P O BOX 9024275                                                                                                        SAN JUAN            PR           00902
   224259 HOGAR DEL CARMEN CORP.1                     P.O.BOX 123                                                                                                            AGUAS BUENAS        PR           00703‐0000
   667219 HOGAR DEL CARMEN II INC                     PO BOX 9024275                                                                                                         SAN JUAN            PR           00902‐4275
                                                      URB.VILLAS DE CASTRO CALLE 13
   224260 HOGAR DEL CARMEN INC.                       R‐13                                                                                                                   CAGUAS              PR           00725

   224261 HOGAR DEL NINAS DE CUPEY INC PO BOX 20667                                                                                                                          SAN JUAN            PR           00928‐0667
          HOGAR DEL NINO AVE MARIA
   224262 INC                          PBM 239‐A                                      PO BOX 607071                                                                          BAYAMON             PR           00960‐7071
   771085 HOGAR DEL NINO INC           PO BOX 20667                                                                                                                          SAN JUAN            PR           00928‐0667
   224263 HOGAR DEL NINO JABEZ         PMB 280 1 MUNOZ RIVERA                                                                                                                LARES               PR           00669



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  224264 HOGAR DERECKS INC                            P O BOX 1950                                                                                                       VEGA ALTA            PR           00692
         HOGAR DIOS ES NUESTRO
  224265 REFUGIO                                      P. O. BOX 4054                                                                                                     BAYAMON              PR           00958‐1054
         HOGAR DIOS ES NUESTRO
  224266 REFUGIO INC                                  P O BOX 4054                 BAYAMON GARDENS STATION                                                               BAYAMON              PR           00958‐1054
  224267 HOGAR DIVINO NIÑO JESUS                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   224268 HOGAR DIVINO NINO JESUS INC                 PO BOX 2464                                                                                                        TOA BAJA             PR           00951‐2662
          HOGAR DON ANDRES /JUAN
   224269 OCASIO                                      HC 2 BOX 14110                                                                                                     AGUAS BUENAS         PR           00703‐9802
   224270 HOGAR DR JOSE A. DE LEON                    443 CARR.3 SUITE 3 PMB 207                                                                                         HUMACAO              PR           00791
          HOGAR DULCE AMANECER II ,
   224271 INC                                         PO BOX 209                                                                                                         COROZAL              PR           00783

   224272 HOGAR DULCE AMANECER III INC P O BOX 209                                                                                                                       COROZAL              PR           00783
   224273 HOGAR DULCE GENERACION       HC 645 BOX 8341                                                                                                                   TRUJILLO ALTO        PR           00976
   224274 Hogar Dulce Generacion, Inc. HC‐646 BOX 8341                                                                                                                   TRUJILLO ALTO        PR           00976‐0000
          HOGAR DULCE NOMBRE DE JE
   224275 SUS INC                      P.O. BOX 1276                                                                                                                     SAN LORENZO          PR           00754
          HOGAR EBENEZER AFRICA CON
   667222 AMOR                         P O BOX 458                                                                                                                       CEIBA                PR           00735
                                       URB.LA INMACULADA C/SANTA
   224276 HOGAR EBENEZER INC.          INES 204                                                                                                                          LAS PIEDRAS          PR           00771
          HOGAR EBG CARE,CORP/FUENTE
   224277 DE SILOE                     SUITE 343 P.O. BOX.4952                                                                                                           CAGUAS               PR           00726‐0000
   667223 HOGAR EDAD DE ORO            EL COMANDANTE                               898 GARCILAZO DE LA VEGA                                                              SAN JUAN             PR           00924
   224278 HOGAR EDMAN CARE I           P.O. BOX 29613                                                                                                                    SAN JUAN             PR           00929
   667224 HOGAR EL ALFARERO INC        BO JAGUAL                                   CARR 184 KM 3 1                                                                       PATILLAS             PR           00723
   224279 HOGAR EL ALMENDRO            BOX 4952 SUITE 004                                                                                                                CAGUAS               PR           00726
          HOGAR EL ARCA LA MORADA      BO MIRAFLORES SECTOR PALO
   224280 DEL NINO JESUS               BLANCO                                      CARR 658 INT                                                                          ARECIBO              PR           00612
   224281 HOGAR EL BUEN PASTOR         PO BOX 9024078                                                                                                                    SAN JUAN             PR           00902‐4078
          HOGAR EL BUEN SAMARITANO
   667226 INC                          PO BOX 1308                                                                                                                       GURABO               PR           00778
          HOGAR EL CAMINO A LA
   224282 SALVACION II                 P.O. BOX 9267                                                                                                                     BAYAMON              PR           00960‐9267
          HOGAR EL CAMINO A LA
   667227 SALVACION II INC             PO BOX 9267                                                                                                                       BAYAMON              PR           00960‐9267
   224283 HOGAR EL EDEN INC.           REPARTO FELICIANO #13                                                                                                             MAYAGUEZ             PR           00680
   224284 HOGAR EL OLAM INC            HC 2 BOX 11420                                                                                                                    MOCA                 PR           00676
   224285 HOGAR EL OLAM, INC           HC‐02 BOX 11420                                                                                                                   MOCA                 PR           00676
   224286 HOGAR EL PARAISO             PMB 221 P.O. BOX 3080                                                                                                             GURABO               PR           00778
   224287 HOGAR EL PARAISO, INC        PMB 221 PO BOX 3080                                                                                                               GURABO               PR           00778
          HOGAR EL PEQUENO JOSHUA‐ LA
  1256547 PERLA DEL GRAN PRECIO        REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
                                       CALLE ALELI PARCELA 277‐E
   224288 HOGAR EL RINCON DE LA PAZ    SECTOR CAPITAN BO. PAJARO                                                                                                         TOA BAJA             PR           00951
   224290 HOGAR EL SONADOR             609 CALLE FRAGOTA                                                                                                                 ISABELA              PR           00662
          HOGAR EL SUENO DE
   224291 MARGARITA                    PO BOX 1764                                                                                                                       TRUJILLO ALTO        PR           00977‐1764
   224292 Hogar El Sueno de Mima       P.O. BOX 2811                                                                                                                     CAROLINA             PR           00984‐0000
   667228 HOGAR EL YUNQUE INC          PO BOX 1456                                                                                                                       LUQUILLO             PR           00773
   667229 HOGAR ELIZABETH              PO BOX 4251                                                                                                                       BAYAMON              PR           00958‐1251



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  224293 HOGAR ELSIEMAR , INC                         HC ‐ 02 BOX 44539                                                                                     VEGA BAJA          PR           00693
  224294 HOGAR ELSIEMAR INC                           HC 02 BOX 44539                                                                                       VEGA BAJA          PR           00693
  224295 HOGAR EMANUEL                                URB VILLA ALEGRIA               210 CALLE PERLA                                                       AGUADILLA          PR           00603
  667230 HOGAR EMMANUEL                               HC 01 BOX 3452                                                                                        LAS MARIAS         PR           00670
         HOGAR EMMANUEL DE                            UR. VILLAS DE LOIZA CALLE 13 C‐
  224296 MARRERO INC.                                 10                                                                                                    CANOVANAS          PR           00729‐0000
  224297 HOGAR ENSUEÐO CORP                           REP SOLANO RIO CANAS            110 CALLE ALBERTO                                                     CAGUAS             PR           00726
  224298 HOGAR ENSUENO CORP                           REP SOLANO RIO CANAS            110 CALLE ALBERTO                                                     CAGUAS             PR           00726
         HOGAR ENVEJECIENTE "RAYITOS
  667231 DE LUZ"                                      PO BOX 9171                                                                                           ARECIBO            PR           00613
         HOGAR ENVEJECIENTE JARDIN D
  224299 ORO                                          URB FLOR DEL VALLE C/2 # 10                                                                           MAYAGUEZ           PR           00680
         HOGAR ENVEJECIENTE LA                        P.O. BOX 3263 V. FONTANA
  224300 VICTORIA                                     STATION                                                                                               CAROLINA           PR           00984
         HOGAR ENVEJECIENTE LOLITA
  224301 INC                                          PARC SUSUA                    72 CALLE PARQUE                                                         SABANA GRANDE      PR           00637‐2350
         HOGAR ENVEJECIENTES ASILO                    GOBIERNO MUNICIPAL
  667232 SIMONET                                      HUMACAO                       PO BOX 178                                                              HUMACAO            PR           00791
         HOGAR ENVEJECIENTES
  667233 JARDINES DE ABRIL IN                         PO BOX 774                                                                                            LAS PIEDRAS        PR           00771

   667234 HOGAR ENVEJECIENTES NISI INC TOA ALTA HEIGHTS             F 51 CALLE 6                                                                            TOA ALTA           PR           00953
          HOGAR ENVEJECIENTES
   667235 SAGRADA FAMILIA INC          P O BOX 840                                                                                                          HORMIQUEROS        PR           00660
                                       PARCELAS HILLS BROTHER CALLE
   224303 HOGAR ENVEJECIENTS EBENEZER 31 NUM.432‐B                                                                                                          SAN JUAN           PR           00925
          HOGAR ESCUELA SOR MARIA
   667236 RAFAELA INC                  P O BOX 3024                                                                                                         BAYAMON            PR           00960

   224304 HOGAR ESPERANZA AMORVIDA I RR 4 BOX 530 BO. CERRO GORDO                                                                                           BAYAMON            PR           00956
                                       HC ‐ 1 BOX 6241 PLAYITA
   224305 HOGAR ESPERANZA DE LUZ , INC CORTADA                                                                                                              SANTA ISABEL       PR           00757

   224306 HOGAR ESPERANZA DE LUZ INC                  PLAYITA CORTADA               HC 1 BOX 6241                                                           SANTA ISABEL       PR           00757

   224307 HOGAR ESPERANZA DE PAZ INC                  PO BOX 596                                                                                            SAN ANTONIO        PR           00690
   667237 HOGAR EUGENIA INC                           HC 02 BOX 14584                                                                                       CAROLINA           PR           00985

   224308 HOGAR EVARISTA SANTOS MENA VILLA FONTANA                                  VIA 2 NR561                                                             CAROLINA           PR           00983
          HOGAR FELICIDAD ANOS
   224309 DORADOS                    PO BOX 9024275                                                                                                         SAN JUAN           PR           00902‐4275
          HOGAR FLORES HOME CARE,    CARR 690 KM 6 BARRIO CERRO
   224310 INC.                       GORDO                                                                                                                  VEGA ALTA          PR           00962‐0000

   667238 HOGAR FORTALEZA DEL CAIDO                   P O BOX 505                                                                                           LOIZA              PR           00772
          HOGAR FORTALEZA DEL CAIDO
   224311 INC                                         PARCELAS VIEQUES              CALLE # C CASA 179      BO MEDIANIA ALTA                                LOIZA              PR           00772
          HOGAR FORTALEZA DEL
   667240 CAIDO/ANGELICA SEGAR                        PO BOX 505                                                                                            LOIZA              PR           00772‐0505
   224312 HOGAR FRANCEDITH INC                        PO BOX 359                                                                                            DORADO             PR           00646‐0359
   667242 HOGAR FRANZEL CORP                          HC 2 BOX 16596                                                                                        ARECIBO            PR           00612
   667243 HOGAR FUENTE DE PAZ                         BO CEIBA SUR                  PO BOX 930                                                              JUNCOS             PR           00777‐0930




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          HOGAR FUENTE DE VIDA / CASA
   667244 MISERICORDIA                                SAN JOSE                   703 CALLE MIRAFLORES                                                              ARECIBO             PR           00612
   224313 HOGAR FUENTE DE VIDA INC.                   RR 4 BOX 904                                                                                                 BAYAMON             PR           00956‐0000
   224314 HOGAR GABY INC.                             HC‐01 BOX 6775                                                                                               SABANA HOYOS        PR           00688
   224315 HOGAR GENESIS                               HC4 BOX 5229 BO.MAMEY 1                                                                                      GUAYNABO            PR           00971‐0000
          HOGAR GENESIS/GREGORIA
   667247 CRUZ LOPEZ                                  BO MAMEY 1                 HC 01 BOX 5529                                                                    GUAYNABO            PR           00971
          HOGAR GERIA TRICO CASA
   224316 PADRE PIO                                   P. O. BOX 552                                                                                                LAS MARIAS          PR           00670
          HOGAR GERIATRICO DEL
   224317 CARMEN                                      P O BOX 361010                                                                                               SAN JUAN            PR           00936‐1010

   667248 HOGAR GERIATRICO EL CASTILLO 33 CALLE MATTEI LLUVERAS                                                                                                    YAUCO               PR           00698
          HOGAR GERIATRICO EMMANUEL
   224318 INC                           P O BOX 170                                                                                                                CAMUY               PR           00627
                                        URB.HACIENDA TOLEDO CALLE
   224319 HOGAR GIZA CORPORATION        CORDOVA # 191                                                                                                              ARECIBO             PR           00612‐0000
          HOGAR GRUPAL LA LOMITA/JOSE
   667249 L FALERO                      PMB 338 PO BOX 607061                                                                                                      BAYAMON             PR           00960‐7061
          HOGAR GRUPAL MANUEL           URB. LAS DELICIAS 1004
   224321 CORDERO I                     GENERAL VALERO                                                                                                             SAN JUAN            PR           00924
          HOGAR GRUPAL MANUEL
   224322 CORDERO INC                   URB DELICIAS                1004 CALLE GENERAL VALERO                                                                      SAN JUAN            PR           00924
          HOGAR GRUPAL MANUEL
   224323 CORDERO, INC                  CALLE GENERAL VALERO #1004 URB.DELICIAS                                                                                    RIO PIEDRAS         PR           00924
          HOGAR GRUPAL MANUEL           URB LAS DELICIAS 1004
   224324 CORDERO,INC                   C/GENERAL VALERO                                                                                                           RIO PIEDRAS         PR           00924
          HOGAR H.M. / JOSE A. MARTINEZ URB. IDAMARIS GARDENS C‐38
   224325 RODRIGUEZ                     MIGUEL A GOMEZ                                                                                                             CAGUAS              PR           00725‐0000
          HOGAR HACIENDA DE AMOR,
   224326 INC.                          URB. BRISAS DE CAMPO ALEGRE 101 CALLE CYPRESS                                                                              SAN ANTONIO         PR           00690

   224327 HOGAR HACIENDA DEL MAR INC HC 9 BOX 10529                                                                                                                AGUADILLA           PR           00603

   224328 HOGAR HACIENDA DORADA INC                   PO BOX 238                                                                                                   HORMIGUEROS         PR           00660
          HOGAR HERMANAS
   667250 DAVILA/OLGA TORRES                          URB HERMANOS DAVILA        395 A CALLE F                                                                     BAYAMON             PR           00959
   667251 HOGAR HERMANDAD DE ORO                      R R 04 BOX 11226                                                                                             TOA ALTA            PR           00953
          HOGAR HERMANDAD DE ORO
   667252 INC                                         RR 4 BOX 11226                                                                                               TOA ALTA            PR           00953
          HOGAR HERMOSO AMANECER
   224329 INC                                         BO BEATRIZ APARTADO 1404                                                                                     CIDRA               PR           00739

   224330 HOGAR HERMOSO ATARDECER                     HC 09 BOX 59757                                                                                              CAGUAS              PR           00725
   224331 HOGAR HOT POINT                             APARTADO 392                                                                                                 LARES               PR           00669
   224332 HOGAR HUELLAS CORP                          P.O.BOX 370412                                                                                               CAYEY               PR           00737
                                                      PMB 220 PLAZA WESTERN AUTO
   224333 HOGAR HUERTO DE JESUS INC.                  SUITE 101‐379                                                                                                TRUJILLO ALTO       PR           00976
   224334 HOGAR IAZDIEL                               PMB 130                    PO BOX 69001                                                                      HATILLO             PR           00659
          HOGAR INFANTIL DIVINO NINO
   224335 JESUS                                       BOX 1413                                                                                                     LUQUILLO            PR           00773
          HOGAR INFANTIL JESUS DE
  1256548 NAZARENO INC                                REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          HOGAR INFANTIL JESUS
   667253 NAZARENO                                    PO BOX 1671                                                                                                           ISABELA              PR           00662
          HOGAR INFANTIL SANTA
  1256549 TERESITA DEL NINO JESUS                     REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HOGAR INFANTIL ST TERESITA
   224336 NINO JESUS                                  P O BOX 140057                                                                                                        ARECIBO              PR           00614‐0057
          HOGAR INST AMOR Y
   224337 ESPERANZA II INC                            P O BOX 1469                                                                                                          VEGA BAJA            PR           00694
          HOGAR INSTITUCION AMOR Y
   224338 ESPERANZAII INC                             PO BOX 1469                                                                                                           VEGA BAJA            PR           00694
          HOGAR INSTITUCION ORTIZ
   224339 MEDICAL INC.                                P.O. BOX 209                                                                                                          COROZAL              PR           00783‐0000
                                                      URB. HERMANAS DAVILA CALLE F
   224340 HOGAR INSTITUCION TORRYLIN                  395                                                                                                                   BAYAMON              PR           00959‐0000
          HOGAR ISABEL/ISABEL APONTE
   667254 NATAL                                       BOX 3105                                                                                                              CAROLINA             PR           00984
                                                      C/VENUS #74 URB ATLANTIC
   224341 HOGAR ISLA VERDE                            VIEW                                                                                                                  CAROLINA             PR           00979

   224342 HOGAR J.I.Z.A. INC.                         COTTO STATION PO BOX 9973                                                                                             ARECIBO              PR           00613‐0000
   224343 HOGAR JANICK INC                            HC‐05 BOX 10315                 CIBUCO 3                                                                              COROZAL              PR           00783

   224344 HOGAR JARDIN DE AMOR INC.                   HC 01 BOX 17390                                                                                                       AGUADILLA            PR           00603
   224345 HOGAR JARDIN DEL EDEN                       PO BOX 902                                                                                                            LAJAS                PR           00667
  1256550 HOGAR JEHOVA NISSI                          REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   224346 HOGAR JEHOVA YIREH 2 INC                    URB GORDEN HILLS                1088 CALLE ESTRELLA                                                                   DORADO               PR           00646
   224347 HOGAR JEHOVA YIREH 2, INC                   URB. GORDEN HILLS               CALLE ESTRELLA NUM. 1088                                                              DORADO               PR           00646
  1256551 HOGAR JEHOVA YIREH INC                      REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   224349 HOGAR JERUSALEM                             P.O. BOX 404                                                                                                          CAROLINA             PR           00986

   224350 HOGAR JESUCRISTO AYUDA INC                  EXT COLINAS VERDES              A 1 CALLE 1                                                                           SAN JUAN             PR           00924
                                                      CALLE 1 A‐1 EXT. COLINAS
   224351 HOGAR JESUCRISTO AYUDAME                    VERDES                                                                                                                SAN JUAN             PR           00920
   224355 HOGAR JESUS , INC.                          P O BOX 21414                                                                                                         SAN JUAN             PR           00928‐0000

   224356 HOGAR JESUS DE NAZARET INC                  HC 7 BOX 34048                                                                                                        CAGUAS               PR           00727
   224357 HOGAR JOANELYS                              HC‐1 BOX 6543‐1                                                                                                       MOCA                 PR           00676
   224358 HOGAR JOANNE INC                            PMB 127 P O BOX 6017                                                                                                  CAROLINA             PR           00984
                                                      C/PRINCIPE # 665 URB. EL
   224359 HOGAR JOHARYS, INC.                         COMANDANTE                                                                                                            CAROLINA             PR           00982‐3603
          HOGAR JOHNCRISTMIING                        URB. ROYAL TOWN 7‐8 CALLE 50‐
   224360 PROGRESSIVE CENTER                          A                                                                                                                     BAYAMON              PR           00956‐0000
   224361 HOGAR JOSE ROMAN                            APARTADO 9811                                                                                                         CIDRA                PR           00739
   224362 HOGAR JUAN DE DIOS                          PO BOX 11782                                                                                                          SAN JUAN             PR           00910
          HOGAR JUANITA /Y/O JUANITA                  C/30 S. E. # 1026 REPARTO
   224363 ROSADO                                      METROPOLITANO                                                                                                         SAN JUAN             PR           00921‐0000
   224364 HOGAR JUANITA II                            APARTADO 141924                                                                                                       ARECIBO              PR           00614
   224365 HOGAR JUNTOS POR AMOR                       P.O.BOX 7864                                                                                                          CAROLINA             PR           00986
          HOGAR JUSTICIA ESPERANZA
   224366 SALUD UNION Y                               PO BOX 1445                                                                                                           ANASCO               PR           00610
   667256 HOGAR JUVENIL EMMANUEL                      P O BOX 388                                                                                                           AGUAS BUENAS         PR           00703
   224368 HOGAR KAIROS INC                            HC 01 BOX 24519                                                                                                       VAGA BAJA            PR           00693
   224369 HOGAR KAIROS, INC                           HC‐01 BOX 24519                                                                                                       VEGA BAJA            PR           00693



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                                                      708 CALLE AZORIN URB.
   224370 HOGAR KALI, INC.                            MANSIONES DE ESPANA                                                                                                     MAYAGUEZ            PR           00682
   667257 HOGAR KARIMAR                               RR 2 BOX 1357                                                                                                           SAN JUAN            PR           00926
  1256552 HOGAR KELLY INC                             REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   224372 HOGAR KELLY, INC                            HC‐4 BOX 15466                                                                                                          MOCA                PR           00676

   667258 HOGAR LA BELLA UNION                        URB SAN MARTIN                1006 CALLE FRANCISCO LA ROCA                                                              SAN JUAN            PR           00924
   224373 HOGAR LA BENDICION                          P.O. BOX 607071 BMS 441                                                                                                 BAYAMON             PR           00960

   667259 HOGAR LA CASA DE MONCHITO                   URB BUNKER                    220 CALLE COSTA RICA                                                                      CAGUAS              PR           00725
   667260 HOGAR LA ESPERANZA                          VAN SCOY                      CC 33 CALLE COLON                                                                         BAYAMON             PR           00957
   667261 HOGAR LA ESTANCIA                           HC 1 BOX 20481                                                                                                          CAGUAS              PR           00725
  1256553 HOGAR LA FONDITA DE JESUS                   REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   224374 HOGAR LA LOMITA                             PMB 338A PO BOX 607071                                                                                                  BAYAMON             PR           00960‐7071
   224375 HOGAR LA MANSION II , INC                   APARTADO 1434                                                                                                           MOCA                PR           00676
   224376 HOGAR LA MANSION II INC                     PO BOX 1434                                                                                                             MOCA                PR           00676
   224377 HOGAR LA MANSION INC                        APARTADO 1434                                                                                                           MOCA                PR           00676
   224378 HOGAR LA MILAGROSA LLC                      CALLE MAYAGUEZ                18 URB PEREZ MORRIS                                                                       SAN JUAN            PR           00917
   667262 HOGAR LA MISERICORDIA INC                   3 CALLE CESAR GONZALEZ                                                                                                  ADJUNTAS            PR           00601

   224379 HOGAR LA NUEVA ESPERANZA                    SANTA JUANITA                 W 12 AVE LAUREL                                                                           BAYAMON             PR           00956

   224380 HOGAR LA PENA DE HOREB                      CARR 941 K14.7 BO LA GLORIA                                                                                             TRUJILLO ALTO       PR           00976
   667263 HOGAR LA PIEDRA VIVA                        PO BOX 9612                                                                                                             ARECIBO             PR           00613

   224381 HOGAR LA POSADA DEL SENOR                   REPARTO DEL CARMEN            KM 19.7 CARR 150                                                                          COAMO               PR           00769
          HOGAR LA PROVIDENCIA DE
   224382 MAYAGUEZ INC                                URB BELMONTE                  56 CALLE ZARAGOZA                                                                         MAYAGUEZ            PR           00680‐2311
   224383 HOGAR LA SAGRADA FAMILIA                    AVE BARBOSA # 414                                                                                                       HOTO REY            PR           00928‐0000
                                                      CALLE VERDE LUZ B‐17 URB. SAN
   224384 HOGAR LARA COTTO                            ALFONSO                                                                                                                 CAGUAS              PR           00725
   224385 HOGAR LAS AGUILAS INC                       PO BOX 1501                                                                                                             VILLALBA            PR           00766
   667265 HOGAR LAS NATALIAS                          ADM FOMENTO COMERCIAL         PO BOX 9024275                                                                            SAN JUAN            PR           00902‐4275
          HOGAR LLEVANDO LUZ A LAS
   224386 TINIEBLAS                                   P. O. BOX 51672                                                                                                         TOA BAJA            PR           00950‐0000

   224387 HOGAR LLUVIA DE AMOR                        C/10 DE ANDINO 108 CONDADO                                                                                              SAN JUAN            PR           00911
                                                      URB.MANSIONES DECAROLI NA
   224388 HOGAR LOILDA CLAUDIO                        C/YAUREL PP‐13                                                                                                          CAROLINA            PR           00987
   667266 HOGAR LOMA DEL SOL                          PO BOX 4952 SUITE 004                                                                                                   CAGUAS              PR           00726

   224389 HOGAR LUCERO DEL ALBA INC                   EST DE LA FUENTE              8 CONDE                                                                                   TOA ALTA            PR           00953
   224390 HOGAR LUZ DE VIDA INC                       P O BOX 4007                                                                                                            MAYAGUEZ            PR           00681
   224391 HOGAR LUZ DIVINA MIA INC                    HC04 BOX 5518                                                                                                           COAMO               PR           00769
   224392 HOGAR LUZ M ESTELA                          REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HOGAR M.I.D.A. INC./ DAMARIS
   224393 MARTINEZ                                    VILLA NUEVA U‐1 CALLE 22                                                                                                CAGUAS              PR           00725‐0000
                                                      PMB 327 100GRAND PASEO
   224394 HOGAR MADRE ANGELITA                        BLVD STE 112                                                                                                            SAN JUAN            PR           00926
                                                      SUITE 112 PMB 327 100 GRAND
   224395 HOGAR MADRE ANGELITA INC                    BOULEVARD PASE                                                                                                          SAN JUAN            PR           00926
          HOGAR MADRE MARIA
   224396 INMACULADA                                  HC 1 BOX 11715                                                                                                          SAN SEBASTIAN       PR           00685



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                                                      URB.VILLA GEORGETTY C/
   224397 HOGAR MANA INC.                             GUAJANA BZN.#14                                                                                                         BARCELONETA          PR           00617
                                                      URB LAS DELICIAS #1004 CALLE
   224398 HOGAR MANUEL CORDERO                        GENERAL VALERO                                                                                                          RIO PIEDRAS          PR           00924
          HOGAR MANUEL MEDIAVILLA
   224399 NEGRON INC                                  ROSALINDA                      CALLE BRINDY                                                                             HUMACAO              PR           00791

   667269 HOGAR MARANATHA NIAN INC                    PO BOX 129                                                                                                              LAS MARIAS           PR           00670
   224400 HOGAR MARIA ALAMO                           HC61 BOX 6111                                                                                                           TRUJILLO ALTO        PR           00976‐0000
                                                      CALLE 13 SO 839 CAPARRA
   224401 HOGAR MARIA AYARDE INC.                     TERRACE                                                                                                                 SAN JUAN             PR           00921‐0000

   224402 HOGAR MARIA DE ISABEL, INC.                 PO BOX 2532                                                                                                             ISABELA              PR           00662

   667270 HOGAR MARIA DE ISABELA INC                  P O BOX 2532                                                                                                            ISABELA              PR           00662

   667271 HOGAR MARIA DEL CARMEN INC PO BOX 910                                                                                                                               AGUADA               PR           00602

   224403 HOGAR MARIA MERCEDES INC.                   BOX 391 L 110                                                                                                           TOA ALTA             PR           00954‐0000
   224404 HOGAR MARIA PROVIDENCIA                     HC 06 BOX 13574                                                                                                         COROZAL              PR           00783
   224405 HOGAR MARIA REINA INC                       PMB 039 53 AVE ESMERALDA                                                                                                GUAYNABO             PR           00969

   224406 HOGAR MARIA SANTISIMA INC.                  P.O. BOX 9384                                                                                                           CAGUAS               PR           00726

   224407 HOGAR MARIA TERESA DEL SOL                  EXT LA MILAGROSA               16 CALLE DAVILA                                                                          BAYAMON              PR           00959
   224408 HOGAR MARY INC                              P.O. BOX 4952 PMB 159                                                                                                   CAGUAS               PR           00726
          HOGAR MENTAL HOME LA PAZ,                   PO BOX 4203 BAYAMON
   224409 INC                                         GARDENS STATION                                                                                                         Bayamon              PR           00958‐0000
                                                      C/ JOSE CAMPECHE #51 URB
   224411 HOGAR MI CASITA INC                         RAMIREZ ARELLANO                                                                                                        MAYAGUEZ             PR           00681
          HOGAR MI FAM LOMABONITA
   224412 INC                                         HC‐01 BOX 6094                                                                                                          YAUCO                PR           00698
   224413 HOGAR MI FAMILIA                            HC 01 BOX 6094                                                                                                          YAUCO                PR           00698
          HOGAR MI FAMILIA LOMA
   224414 BONITA INC                                  HC 01 BOX 6094                                                                                                          YAUCO                PR           00698
          HOGAR MI NUEVO AMANECER,
   224415 CORP.                                       P.O. BOX 90000 PMB 3087                                                                                                 COROZAL              PR           00783
   224416 HOGAR MI SUENO                              PMB 198 P.O.BOX 1283                                                                                                    SAN LORENZO          PR           00754

   224417 HOGAR MI SUENO DE ORO INC                   #488 CALLE YAGRUMO             URB VISTAS DE RIO GRANDE II                                                              RIO GRANDE           PR           00745
   224419 HOGAR MILAGRO DE AMOR                       APARTADO 1675                                                                                                           RIO GRANDE           PR           00745
          HOGAR MILAGROS DE AMOR DE                   CARR 959 KM 3 HM 1 BO.
   224421 RIO GRANDE INC                              GUZMAN SECTOR MOROVIS                                                                                                   RIO GRANDE           PR           00745‐0000
          HOGAR MIS HIJOS & MADELINE
   667274 BAKER                                       PO BOX 3248                                                                                                             RIO GRANDE           PR           00745
   224422 HOGAR MIS PRIMEROS PASOS                    PMB 94 CALLE ESTACION B‐1                                                                                               VEGA ALTA            PR           00692
          HOGAR MIS PRIMEROS PASOS
   224424 INC                                         PMB 94                         B1 CALLE ESTACION                                                                        VEGA ALTA            PR           00692
          HOGAR MIS PRIMEROS PASOS,
  1256554 INC.                                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

  1256555 HOGAR MIS QUERIDOS ABUELOS REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   667275 HOGAR MOISES               URB MONTERREY                                   120 CALLE ANDES                                                                          SAN JUAN             PR           00926



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                                                      BALCONES DE MONTE REAL
   224425 HOGAR MONTE CALEB                           APARTAMENTO 5605                                                                                                CAROLINA             PR           00987
   224426 HOGAR MONTE DE OREB                         PO BOX 1777                                                                                                     LARES                PR           00669

   224427 HOGAR MONTEREY             URB MONTEREY C/ MADRID D 2                                                                                                       SAN LORENZO          PR           00754
   667276 HOGAR MONTESION            HC 4 BOX 14988                                                                                                                   SAN SEBASTIAN        PR           00685
                                     URB. VALLE ARRIBA HEIGHTS
   224428 HOGAR MOTIVACION, INC.     CALLE ORTEGON V‐6                                                                                                                CAROLINA             PR           00983‐0000
   224429 HOGAR MOUNTAIN VIEW II     PMB 14 BOX 70011                                                                                                                 FAJARDO              PR           00738‐0000
                                     URB. MIRAFLORES C/2 B/3 # 8
   224430 HOGAR MY NEW FAMILY HOUSE PMP133                                                                                                                            BAYAMON              PR           00956
   224431 HOGAR NAOMI, CORP          VILLA CLARITA CALLE 4 F‐13                                                                                                       FAJARDO              PR           00738
                                     ALTO MONTE MIRADOR BAIROA
   224432 HOGAR NATHALISSE, INC.     C/17 2 Y‐8                                                                                                                       CAGUAS               PR           00725
   224433 HOGAR NEMESIS              P. O. BOX 1508                                                                                                                   SANEBASTIAN          PR           00685
                                     URB. MIRAFLORES C‐2 BLOQ.3
   224434 HOGAR NEW FAMILY HOUSE     #8PMB 133                                                                                                                        BAYAMON              PR           00951
          HOGAR NINOS FORJADORES DE
   224436 ESPERANZA INC              PO BOX 4181 BAY GARDENS STA                                                                                                      BAYAMON              PR           00958
                                     HOGAR NOCAYA Y/O BANCA
                                     EMP. BBVA MAYAGUEZ, PO BOX
   224437 HOGAR NOCAYA               960                                                                                                                              MAYAGUEZ             PR           00691‐0000
                                     URB. VILLAS DE CASTRO C/22 BB‐
   224439 HOGAR NOELISSE INC.        6                                                                                                                                CAGUAS               PR           00725
   224440 HOGAR NORYDEL INC          P O BOX 6005                                                                                                                     MAYAGUEZ             PR           00681
          HOGAR NTRA SENORA DE LA
   224441 PROVIDENCIA INC            P O BOX 9066571                                                                                                                  SAN JUAN             PR           00906‐6571
          HOGAR NUESTRA SENORA DE
   667277 FATIMA                     PO BOX 4228                                                                                                                      BAYAMON              PR           00958‐1228
          HOGAR NUESTRA SENORA DE LA
   224442 PROVIDENCIA                PUERTA DE TIERRA               205 AVE CONSTITUCION                                                                              SAN JUAN             PR           00901
                                     URB.MONTE BELLO CASA 10
   224443 HOGAR NUEVA ESPERANZA      CARR 150                                                                                                                         VILLALBA             PR           00766
          HOGAR NUEVA ESPERANZA      C/PETRA,ESQUINA POM POM
   224444 BAYAMON INC.               URB.LOMAS VERDES                                                                                                                 BAYAMON              PR           00956
   224445 HOGAR NUEVA LUZ            PMB 184‐425 CARR.693                                                                                                             DORADO               PR           00646
          HOGAR NUEVA MUJER SANTA
   224446 MARIA MERCED INC           AREA DEL TESORO                DIVISION DE RECLAMACIONES                                                                         SAN JUAN             PR           00902‐4140

   667279 HOGAR NUEVA VIDA DE GURABO PO BOX 449                                                            GURABO                                                     GURABO               PR           00778
   224447 HOGAR NUEVA VIDA INC       PO BOX 209                                                                                                                       COROZAL              PR           00783
   667280 HOGAR NUEVO AMANECER       71 B RUTA 5                                                                                                                      ISABEL               PR           00662
   224448 HOGAR NUEVO CIDRENO        P. O. BOX 396                                                                                                                    CIDRA                PR           00739
   224449 HOGAR NUEVO PACTO          REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                               CARR 31 KM 19 DE JUNCOS A
   667281 HOGAR NUEVO PACTO INC                       BO CAIMITO               NAGUABO                                                                                JUNCOS               PR           00777
   224451 HOGAR OASIS DE ESPERANZA                    PO BOX 989                                                                                                      VEGA BAJA            PR           00694
          HOGAR OASIS DE PAZ
   224452 CORP/HERMINIO ROBLES                        PO BOX 3395                                                                                                     BAYAMON              PR           00958
   224453 HOGAR OMAR ANTONIO INC                      PO BOX 1098                                                                                                     LARES                PR           00669
   224454 HOGAR PADRE LUIS QUINN                      CARR. 958 KM. 0.9                                                                                               RIO GRANDE           PR           00744‐0000
   667283 HOGAR PADRE VERNARD INC                     PO BOX 9020274                                                                                                  SAN JUAN             PR           00902‐0274
   224455 HOGAR PARADISE HOME INC                     URB.ROCIO PRADERA C/10                                                                                          YAUCO                PR           00698‐0000



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  224456 HOGAR PARADISUS                              P. O. BOX 8043                                                                                                     CAGUAS             PR           00726
  667285 HOGAR PAZ DE CRISTO INC                      747 CALLE CLAVELES                                                                                                 COTO LAUREL        PR           00780‐2894
  224457 HOGAR PENA DE HOREB, INC.                    P.O. BOX 428                                                                                                       TRUJILLO ALTO      PR           00977
         HOGAR PEPINIANO LA
  667286 ESPERANZA INC                                P O BOX 3237                                                                                                       SAN SEBASTIAN      PR           00685

   224458 HOGAR PERLA DORADA                          P‐11 CALLE 15 BERWIND ESTATES                                                                                      SAN JUAN           PR           00924
                                                      P.O. BOX 6789 SANTA ROSA
   224459 HOGAR POSADA LA VICTORIA                    UNIT                                                                                                               BAYAMON            PR           00960‐0000

   224460 HOGAR POSADA LA VICTORIA INC PO BOX 6789                                                                                                                       BAYAMON            PR           00960
          HOGAR PROLOGANDO SAN
   667288 ANTONIO/CARMEN L             PO BOX 163                                                                                                                        HATILLO            PR           00659

   224461 HOGAR PROVIDENCIA MARQUEZ C/1 #6 URB. EXPERIMENTAL                                                                                                             RIO PIEDRAS        PR           00926
          HOGAR PROVIDENCIA MARQUEZ
   224462 CORP                      URB EXPERIMENTAL                                  6 CALLE 1                                                                          SAN JUAN           PR           00925
          HOGAR PROVIDENCIA MENTAL
   224463 HEALTH CARE               AVE. BARBOSA #414                                                                                                                    HATO REY           PR           00928‐0000

   667289 HOGAR RAMDI                                 A/C PEDRO MENENDEZ RIVERA       DEPTO SERV SOCIALES     PO BOX 11398                                               SAN JUAN           PR           00910
          HOGAR REFUGIO LA
   667290 MAGDALENA, INC.                             CARR 10 PONCE HACIA ADJUNTA APARTADO 2211                                                                          PONCE              PR           00733
   224465 HOGAR REMANSO DE PAZ                        CALLE SALUD 1372                                                                                                   PONCE              PR           00717‐0000
                                                      CALLE LOS MILLONES P.182D
   224466 HOGAR REMANSO JOA                           SABANA SECA                                                                                                        TOA ALTA           PR           00952‐0000
          HOGAR REMANZO DE LA
   224467 MONTANA                    REDACTED                                         REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   224468 HOGAR REMANZO DE PAZ       C/SALUD #1372                                                                                                                       PONCE              PR           00717
          HOGAR RENOVADOS EN CRISTO
   667292 INC 1                      RR 4 BOX 2829                                                                                                                       BAYAMON            PR           00956
          HOGAR RENOVADOS EN CRISTO,
   224469 INC.                       RR‐4 BUZON 2829                                                                                                                     BAYAMON            PR           00956‐0000
          HOGAR RESTAURACION Y
   224470 ESPERANZA                  PO BOX 7185                                                                                                                         CAROLINA           PR           00986
   224471 HOGAR RESURRECCION         P O BOX 8608                                                                                                                        CAGUAS             PR           00726‐0000
          HOGAR RLV CHRISTIAN HOME
   224472 CORP.                      PO BOX 4952                                                                                                                         CAGUAS             PR           00726‐4952
          HOGAR ROSA Y MONCHO / ROSA
   224473 J ENCARNACION              HC‐02 BOX 14621 BO CACAO                                                                                                            CAROLINA           PR           00985‐0000

   224474 HOGAR ROSA Y MONCHO, INC. HC 02 BOX 14621 BARRIO CACAO                                                                                                         CAROLINA           PR           00987‐9722
          HOGAR RUTH PARA MUJERES
   667293 MALTRATADAS INC             PO BOX 538                                                                                                                         VEGA ALTA          PR           00692
   224475 HOGAR RYDER                 P.O. BOX 859                                                                                                                       HUMACAO            PR           00792
          HOGAR S.M. KENUEL,          CARR.152 KM 7.0 BO
   224476 INC./REINALDO VAZQUEZ       QUEBRADILLAS                                                                                                                       BARRANQUITAS       PR           00794‐0000
          HOGAR SAGRAD AS MISIONES DE
   224477 LA DIVINA                   P.O. BOX 1084                                                                                                                      FAJARDO            PR           00738
          HOGAR SALUD MENTAL
   224478 MADELYN ROSARIO INC.        HC 61 BOX 6090                                                                                                                     TRUJILLO ALTO      PR           00976‐0000
          HOGAR SALUD MENTAL SAN
   224479 JOSE INC.                   MSC 150 PO BOX 6004                                                                                                                VILLALBA           PR           00766‐0000



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   224480 HOGAR SAN AGUSTIN Y TERESA                  P.O. BOX 29023                                                                                                   SAN JUAN             PR           00929
   224481 HOGAR SAN ANDRES                            HC‐01 BOX 3558                                                                                                   VILLALBA             PR           00766
   224482 HOGAR SAN CARLOS                            HC‐67 BOX 13077                                                                                                  BAYAMON              PR           00956
   224483 HOGAR SAN CARLOS CORP                       HC 67 BOX 13077                                                                                                  BAYAMON              PR           00956
          HOGAR SAN GABRIEL Y SAN
   224484 MIGUEL                                      HC4 BOX 52350 BO. PATRON                                                                                         MOROVIS              PR           00687‐0000
   224485 HOGAR SAN JOSE                              URB. SAN ANTONIO C\4 F‐17                                                                                        CAGUAS               PR           00725
   667294 HOGAR SAN JOSE INC                          PO BOX 840                                                                                                       LUQUILLO             PR           00773
                                                      URB.SAN ANTONIO CALLE 4 # F‐
   224486 HOGAR SAN JOSE INC.                         17                                                                                                               CAGUAS               PR           00725
   224487 HOGAR SAN JUDAS TADEO                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      EXT COLINAS VERDES DE
   224489 HOGAR SAN JUDAS TADEO INC.                  SANJUAN C/#1 CASA‐A1                                                                                             SAN JUAN             PR           00924
   667295 HOGAR SAN LAZARO                            P O BOX 935                                                                                                      ARECIBO              PR           00613
   224490 HOGAR SAN LUCIANO INC                       RR 4 BOX 447 CERRO GORDO                                                                                         BAYAMON              PR           00956

   224491 HOGAR SAN MARTIN DE PORRES HC‐03 BOX 14303                                                                                                                   UTUADO               PR           00641
          HOGAR SAN MIGUEL ARCANGEL
   224492 INC                        CALLE CRISTY #204                                                                                                                 MAYAGUEZ             PR           00682
          HOGAR SAN MIGUEL ARCANGEL,
   224493 INC                        PO BOX 554                                                                                                                        JUANA DIAZ           PR           00795
          HOGAR SAN RAFAEL MENTAL
   224494 HOME, INC.                 BAYAMON GDNS STATION                                                                                                              BAYAMON              PR           00958‐0000
                                     MANSION DEL SUR SA 57 PLAZA
   224495 HOGAR SAN VICENTE CORP.    3                                                                                                                                 TOA BAJA             PR           00949‐0000

   224496 HOGAR SAN VICENTE DE PAUL                   P.O. BOX 4196                                                                                                    VEGA BAJA            PR           00694
          HOGAR SANCHE CINTRON DEL
   224497 ESTE                                        HC 04 BOX 12590                                                                                                  RIO GRANDE           PR           00745
          HOGAR SANCHEZ CINTRON DEL
   224498 ESTE CORP.                                  PO BOX 429                                                                                                       PALMER               PR           00721‐0000
          HOGAR SANTA MARIA DE LOS
  1256556 ANGELES                                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HOGAR SANTA MARIA DE LOS
   667296 ANGELES INC                                 352 SAN CLAUDIO SUITE 304                                                                                        SAN JUAN             PR           00926
          HOGAR SANTA TERESITA DEL
   224499 NINO JESUS                                  P O BOX 616                                                                                                      ARECIBO              PR           00613‐0616
   224500 HOGAR SANTISIMA TRINIDAD                    P.O. BOX 607061                                                                                                  BAYAMON              PR           00956‐0000
          HOGAR SANTISIMA TRINIDAD
   224501 INC                                         PMB 326 A                      PO BOX 607071                                                                     BAYAMON              PR           00960‐7061

   224502 HOGAR SANTITA CAGUAS 2 , INC. HC‐08 BOX 39535                                                                                                                CAGUAS               PR           00725‐0000
          HOGAR SANTITA DE              HC‐08 PO BOX 39535 BO
   224503 CAGUAS/JULIA NUNEZ            BORINQUEN                                                                                                                      CAGUAS               PR           00725‐0000
   224504 HOGAR SENDA DE PAZ, INC.      APARTADO 354                                                                                                                   AGUAS BUENAS         PR           00703

   224505 HOGAR SENDERO DE AMOR INC                   HC 6 BOX 59985                                                                                                   MAYAGUEZ             PR           00680
          HOGAR SENESCENCIA HOME
   224506 CENTER                                      PO BOX 14066                                                                                                     SAN JUAN             PR           00915
          HOGAR SHADDAI/VICENTE DIAZ
   667297 DIAZ                                        HC 02 BOX 14874                                                                                                  CAROLINA             PR           00987‐9754
   224507 HOGAR SHALOM                                HC 61 BOX 4380                                                                                                   TRUJILLO ALTO        PR           00976



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  224508 HOGAR SHALOM AGAPE                           BOX 391 L 87                                                                                         TOA ALTA            PR           00954
         HOGAR SHALOM FACILITY CARE
  224509 INC                                          URB ROYAL TOWN 7‐6 C/50                                                                              BAYAMON             PR           00956
         HOGAR SHALOM GERIATRIC                       URB. ROYAL TOWN C/50‐A FINAL
  224510 FACILITIES, INC                              BLQ 7 #6                                                                                             BAYAMON             PR           00956‐0000
         HOGAR SHALON GERIATRIC                       C/50 A FINAL BLOQUE 7 #6
  224511 FACILITY INC                                 URB.ROYAL TOWN                                                                                       BAYAMON             PR           00956
         HOGAR SHALON INC CENTRO DE
  667298 PAZ                                          HC 7 BOX 32683                                                                                       HATILLO             PR           00659
  667299 HOGAR SHEKINAH                               PO BOX 362616                                                                                        SAN JUAN            PR           00936‐2616
  667300 HOGAR SINAI INC                              EXT LA MILAGROSA                16 CALLE DAVILA                                                      BAYAMON             PR           00959

   224512 HOGAR SOFIA DE MANATI,INC.                  PO BOX 1733                                                                                          RIO GRANDE          PR           00745‐0000
   224513 HOGAR SONIA BAEZ ESPADA                     PLAZA 4 RD13 RIO CRISTAL                                                                             ENCANTADA           PR           00976‐0240
                                                      BARRIO MAMEY 1 SECTOR
   224514 HOGAR SORAYA INC.                           PEDRO REYES                                                                                          GUAYNABO            PR           00971‐0000
   667301 HOGAR STA MARIA EUFRASIA                    PO BOX 1909                                                                                          ARECIBO             PR           00613
   224515 HOGAR STEPHANIE HOME                        EL VIVERO CALLE 5 C‐23                                                                               GURABO              PR           00778
   224516 HOGAR SUENOS DE ANGELES                     REPARTO FELICIANO A‐35                                                                               MAYAGUEZ            PR           00680
          HOGAR SUSTITUTO DE SALUD                    URB LOMAS VERDES AVE NOGAL
   224517 MENTAL                                      X54                                                                                                  BAYAMON             PR           00956
          HOGAR SUSTITUTO GLORIA
   224518 GARCIA GARCIA                               URB. SANTA MARIA CALLE 2‐B‐28                                                                        CEIBA               PR           00735
          HOGAR SUSTITUTO IRIS
   224519 CARDONA TIRADO                              URB. SAN JOSE 913 VIA PINTADA                                                                        CAGUAS              PR           00727
          HOGAR SUSTITUTO MARIA DEL
   667302 CARMEN                                      PO BOX 910                                                                                           AGUADA              PR           00602
          HOGAR SUSTITUTO ROSANNA                     C/TENIENTE LAVERGNE
   224520 CORP                                        2151URBSANTATERESITA                                                                                 SAN JUAN            PR           00913
                                                      URB. VILLA MADRID CALLE 15 N‐
   224522 HOGAR SUSTITUTO SARAI, INC.                 4                                                                                                    COAMO               PR           00769
          HOGAR SUSTITUTO SECUNDINA
   667303 FERRER                                      HC 3 BOX 8011                                                                                        MOCA                PR           00676
   224523 HOGAR TALMAI CORP                           P. O. BOX 31092                                                                                      SAN JUAN            PR           00929
   224524 HOGAR TERESA TODA                           APARTADO 868                                                                                         CANOVANAS           PR           00729

   224525 HOGAR TERNURA DE DIOS INC                   PO BOX 2101                                                                                          HATILLO             PR           00659

   224526 HOGAR TOQUE DE AMOR , INC                   PMB 39 BOX 819                                                                                       LARES               PR           00669‐0000
                                                      P.M.B.335 C/39UU‐1 SANTA
   224527 HOGAR TRINI                                 JUANITA                                                                                              BAYAMON             PR           00956
   224528 HOGAR TRINI INC                             PMB 335 CALLE 39                UU I SANTA JUANITA                                                   BAYAMON             PR           00959
   224529 HOGAR TRINI, INC                            PMB 335 CALLE 39 UU‐1           SANTAN JUANITA                                                       BAYAMON             PR           00956
   224530 HOGAR UN NUEVO CAMINO                       POBOX 2037                                                                                           GUAYAMA             PR           00785‐2037

   667304 HOGAR UN NUEVO CAMINO INC                   PO BOX 2037                                                                                          GUAYAMA             PR           00785
   667305 HOGAR UNION DE TODOS INC                    URB DIAMOND VILLAGE             D 21 CALLE 2                                                         CAGUAS              PR           00725‐2005
          HOGAR UNION DE
   667306 TODOS/DAMARIS MARTINEZ                      URB DIAMOND VLG                 D 21 CALLE 2                                                         CAGUAS              PR           00725
   667307 HOGAR VALLE DORADO INC                      BO MAMEYAL                      31 C CALLE KENNEDY                                                   DORADO              PR           00646
                                                      CALLE BELLISIMA H286 LOIZA
   224532 HOGAR VANESSA VAZQUEZ                       VALLEY                                                                                               CANOVANAS           PR           00729‐0000




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                                                      CALLE AZABACHE 922 URB
   224533 HOGAR VICTORIA                              COUNTRY CLUB                                                                                                    SAN JUAN            PR           00924
   224534 HOGAR VILLA ANGELICA                        RR5 BOX 7986                                                                                                    BAYAMON             PR           00956
   224536 HOGAR VILLA ENCANTADA                       PMB 258 PO BOX 2500                                                                                             TRUJILLO ALTO       PR           00977‐2500
   667309 HOGAR VILLA ESPERANZA INC                   HC 2 BOX 14456                                                                                                  AGUAS BUENAS        PR           00703‐9611
   224538 HOGAR VILLAS DEL SOL                        RR7 BOX 16594                                                                                                   TOA ALTA            PR           00953
          HOGAR VIRGEN DE LA
   224540 GUADALUPE, INC.                             HC 07 BOX 34190 BO HORMIGAS                                                                                     CAGUAS              PR           00727‐9448
          HOGAR VIRGEN DE LA
   224541 MILAGROSA                                   CARR.843KMO HM6 CARRAIZO                                                                                        TRUJILLO ALTO       PR           00976‐0000
                                                      C/LOMBARDIA #575 URB.VILLA
   224543 HOGAR VIVENCIAS DAS                         CAPRI                                                                                                           RIO PIEDRAS         PR           00924

          HOGAR WOMENS POTTER        URB. REPARTO LOPEZ CALLE
   224544 HOUSE                      PROVIDENCIA 201BORINQUIEN                                                                                                        AGUADILLA           PR           00603‐0000
   224545 HOGAR XELAY INC            500 PASEO MONACO APT 17                                                                                                          BAYAMON             PR           00956
                                     CALLE SAN MARCOS L‐15 URB.
   224546 HOGAR YABEL CORP           NOTRE DAME                                                                                                                       CAGUAS              PR           00725‐0000
   667310 HOGAR YAIMELIE             PO BOX 5431                                                                                                                      CAGUAS              PR           00726
                                     BO. TURABO ARRIBA CARR. 7784
   224547 HOGAR YAIMELIE, INC.       KM. 2.2                                                                                                                          CAGUAS              PR           00725‐0000
   224548 HOGAR YAMILETTE, INC.      PO BOX 1777                                                                                                                      LARES               PR           00669‐0000
   224549 HOGAR ZOMYLEXIS, INC.      HC‐3 BOX 9264                                                                                                                    DORADO              PR           00646
   224550 HOGAREA INC                986 CALLE ARCADA                                                                                                                 CAGUAS              PR           00727
   224551 HOGARES CREA INC           SAINT JUST                   CALLE 848 KM 0 9                                                                                    TRUJILLO ALTO       PR           00976
   667311 HOGARES JEMDAR DE P R INC  PO BOX 2459                                                                                                                      JUNCOS              PR           00777
   667312 HOGARES RAFAEL IBARRA      TORRE LAGUNA                 432 SAN JOSE                                                                                        SAN JUAN            PR           00923
                                     432 CALLE TORRE LAGUNA SAN
   224552 HOGARES RAFAELA YBARRA INC JOSE                                                                                                                             SAN JUAN            PR           00923
  1256557 HOGARES TERESA TODA        REDACTED                     REDACTED                                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667315 HOGLAS VELEZ ACEVEDO       74 CALLE CAPT CORREA                                                                                                             PONCE               PR           00731
   224557 HOGLUND & PAMIAS P.S.C.    256 ELEONOR ROOSEVELT                                                                                                            SAN JUAN            PR           00918
          HOJALATERIA HIPOLITO ROSA
   667316 INC                        BOX 884                                                                                                                          AGUADA              PR           00602
          HOJALATERIA INDUSTRIAL
   224558 OLIVERAS INC               EL LAUREL                    103 PASEO CANARIO                                                                                   COTO LAUREL         PR           00780
   667317 HOJALATERIA QUIRINDONGO    URB GLENVIEW GARDENS         A20 CALLE W23                                                                                       PONCE               PR           00731‐1619
          HOJALATERIA Y PINTURA
   667318 GONZALEZ                   P O BOX 370906                                                                                                                   CAYEY               PR           00737‐0906

   667319 HOJALATERIA Y PINTURA QUILES PO BOX 6535                                                                                                                    CAGUAS              PR           00726
   224559 HOJALDRE ATENAS INC.         URB RIVERSIDE PARK                           F 16 CALLE 7                                                                      BAYAMON             PR           00961
   667322 HOLA CABLE COMM. CORP        AMF STATION                                  CALL BOX 815001                                                                   CAROLINA            PR           00981‐5001
          HOLA LADIES UNIFORMS
   667323 BOUTIQUE                     21‐20 SANTA ROSA                                                                                                               BAYAMON             PR           00959
   224560 HOLARTE DIAZ PC, DEBORAH     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   667324 HOLIDAY COACH AND TOURS INC URB VILLA FONTANA                             4QS 12 VIA 45                                                                     CAROLINA            PR           00983
   667325 HOLIDAY INN CROWNE PLAZA    AIRPORT STATION                               PO BOX 38079                                                                      SAN JUAN            PR           00937
   224567 HOLIDAY INN MAYAGUEZ        2701 AVE HOSTOS                                                                                                                 MAYAGUEZ            PR           00682
   224569 HOLIDAY INN PONCE           3315 PONCE BY PASS                                                                                                              PONCE               PR           00728‐1502
          HOLIDAY INN TROPICAL &
   224570 CASINO                      3315 PONCE BY PASS                                                                                                              PONCE               PR           00728‐1502



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   224571 HOLIDAY INN TROPICAL CASINO                 2701 AVE. HOSTOS                                                                                              MAYAGUEZ            PR           00680
          HOLISTIC ASSESSMENT AND
   667326 TESTING                                     6322 SOVEREING DRIVE       SUITE 242                                                                          SAN ANTONIO         TX           78229

   224573 HOLISTIC CONSULTANT GROUP                   URB VALLE DE ANDALUCIA     3323 CALLE JAEN                                                                    PONCE               PR           00728
   667327 HOLISTIC GROUP INC                          PMB 214 SUITE 2            405 AVE ESMERALDA                                                                  GUAYNABO            PR           00969
          HOLLAND COMMUNITY                           120 BLUEGRASS VALLEY
   224577 HOSPITAL                                    PARKWAY                                                                                                       ALPHARETTA          GA           30005

   224578 HOLLANDS ACADEMY LEARNING                   VISTA REAL I E 127                                                                                            CAGUAS              PR           00727
   667328 HOLLISTER STIER                             PO BOX 3145                                                                                                   SPOKANE             WA           99220‐3145
   224582 HOLLISWOOD HOSPITAL                         8737 PALERMO ST                                                                                               HOLLISWOOD          NY           11423
   667329 HOLLY HANSEN EITMEN                         URB FERRY BARRANCAS        801 CALLE AMAPOLA                                                                  PONCE               PR           00730‐0852
   667330 HOLLY LAND INC                              PO BOX 9024275                                                                                                SAN JUAN            PR           00902‐4275
          HOLLY SPRING MEDICAL SUPPLY
   667331 INC                                         PO BOX 6400                                                                                                   CAYEY               PR           00737
   667332 HOLLY STOEHR                                43 FAYETTE 4                                                                                                  CAMBRIDGE           MA           02139
   667333 HOLLYS PIZZA REST                           HC 2 BOX 6890                                                                                                 BARRANQUITAS        PR           00794
   667334 HOLLYS PIZZA RESTAURANT                     HC 2 BOX 6890                                                                                                 BARRANQUITAS        PR           00794
          HOLLYS PIZZA Y AREA REC LA
   667335 CEIBA                                       BO BARRANCAS               CARR 771 KM 9.3                                                                    BARRANQUITAS        PR           00794
   667336 HOLLYWOOD CAFE                              PO BOX 1044                                                                                                   VEGA BAJA           PR           00694
          HOLLYWOOD FILMS
   667337 INTERNATIONAL                               PO BOX 3005                                                                                                   GRANADA HILLS       CA           91394‐3005
   667338 HOLLYWOOD PIZZA                             PO BOX 865                                                                                                    VEGA BAJA           PR           00694
          HOLLYWOOD TRANSMISSION
   224583 SERVICE                                     RR 5 BOX 5252                                                                                                 BAYAMON             PR           00956
   667339 HOLOHIL SYSTEMS LTD                         112 JOHN CAVANAVAH DRIVE                                                                                      CARP                ON           K0A IL0       Canada
   667340 HOLSON SERGE HECTOR                         P O BOX 7352 PMB 27                                                                                           PONCE               PR           00732‐7352
   667341 HOLSUM BAKERS OF P R INC                    P O BOX 8282                                                                                                  TOA BAJA            PR           00951 8282
   224586 HOLSUM BAKERS OF PR                         Call Box 8282                                                                                                 Toa Baja            PR           00951‐8282

  1256558 HOLSUM DE PUERTO RICO INC                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   224587 HOLSUM DE PUERTO RICO INC                   PO BOX 8282                                                                                                   TOA BAJA            PR           00951‐8282
   224588 HOLTZBERG MD, NATHAN                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   224589 HOLVIN BAEZ CORDERO                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667345 HOLVIN E AVILES CARMONA                     5463 AVE PRINCIPAL                                                                                            SABANA SECA         PR           00952
   667346 HOLVIN FERNANDEZ GARCIA                     VILLA CAROLINA             184 55 CALLE 518                                                                   CAROLINA            PR           00985
   224591 HOLVIN M PEREZ PEREZ                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   224592 HOLVIN M ROSARIO RAMOS                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   224593 HOLVIN RIOS PEREZ                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667347 HOLVIN VARGAS ROBLES                        EXT COUNTRY CLUB           PQ1 CALLE 254                                                                      CAROLINA            PR           00982
   667348 HOLY BRANCH MAKKER CORP                     JARD DE ARECIBO            Q 12 CALLE P                                                                       ARECIBO             PR           00612‐2813
   224596 HOLY CROSS HOSPITAL                         PO BOX 19058                                                                                                  GREEN BAY,          WI           54307‐9058

   224597 HOLY CROSS MEDICAL GROUP                    114 N FLAGLER AVE                                                                                             POPANO BEACH        FL           33060
          HOLY FAMILY HOSPITAL AND
   224598 MEDICAL CENTER                              70 EAST ST                                                                                                    METHUEN             MA           01844
          HOLY LAND ACCOUNTING
   667349 SERVICES INC                                VILLA PARAISO              1418 CALLE TACITA                                                                  PONCE               PR           00728‐3640
   224599 HOLYOKE HEALTH CENTER                       PO BOX 409822                                                                                                 ATLANTA             GA           30384‐9822



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  224600 HOLYOKE HOSPITAL                             575 BEECH ST                                                                                     HOLYOKE               MA        01040‐2296
  224601 HOLYOKE MEDICAL CENTER                       575 BEECH STREET          MEDICAL RECORDS                                                        HOLYOKE               MA        01040
         HOMANCO MANUFACTURING
  667351 COMPANY                                      URB VALENCIA              357 CALLE GUIPOZCOA                                                    SAN JUAN              PR        00923
                                                      URB JARDINES DE COUNTRY
   667352 HOMAR PEREZ MALDONADO                       CLUB                      10 AM CALLE 26                                                         CAROLINA              PR        00983
   667353 HOMAR R SOSA HERNANDEZ                      COUNTRY CLUB              JWC 14 CALLE 242                                                       CAROLINA              PR        00982
   667354 HOMAR SIERRA LEON                           P O BOX 777                                                                                      GUAYNABO              PR        00777
   667355 HOMAR TOLEDO LOPEZ                          VALLE ARRIBA HEIGHTS      BW 4 CALLE 13                                                          CAROLINA              PR        00984
   667356 HOMAR TORRES ARZOLA                         COLINAS DE MONTECARLO     F16 CALLE 44                                                           SAN JUAN              PR        00924
   667357 HOMAYRA MEDERO DIAZ                         URB FOREST VIEWL          E 151 CALLE CARTAGENA                                                  BAYAMON               PR        00956
   667358 HOMAYRA RIVERA LOZADA                       PO BOX 1870                                                                                      TOA BAJA              PR        00951
          HOME & COMERCIAL
   667359 APPLIANCES                  PO BOX 154                                                                                                       RINCON                PR        00677
          HOME & PROPERTY INSURANCE
   667360 CORP                        PO BOX 194226                                                                                                    SAN JUAN              PR        00919‐4226
   667361 HOME AIR CONDITIONING       PO BOX 1225                                                                                                      GUAYAMA               PR        00785
                                      SECTOR BOSQUES CARR 111 KM
   224613 HOME APPLIANCE              12.6                                                                                                             HATILLO               PR        00659
   667362 HOME ATTIC                  ALTAMIRA                                  600 ALDEBARAN                                                          GUAYNABO              PR        00969
          HOME CARE ASSISTEANCES OF
   224614 SAN JUAN INC                110 AVE DOMENECH STE 3                                                                                           SAN JUAN              PR        00918
   224615 HOME CARE INC. LA FAMILIA   PO BOX 2245                                                                                                      BAYAMON               PR        00960
   224616 HOME CARE INC. RAMOS        PO BOX 2116                                                                                                      BAYAMON               PR        00960
   224617 HOME CARE INC. SANTI'S      EXT. LA MILAGROSA C/4 Q‐38                                                                                       BAYAMON               PR        00959
   224619 HOME CARE TAMARA            P.O BOX 2133                                                                                                     CAROLINA              PR        00984
          HOME CENTER & CARE,INC. DON
   224620 PEDRO                       P.O. BOX 29524                                                                                                   SAN JUAN              PR        00929
   224621 HOME DÉCOR PLAZA            HC 02 BOX 11270                                                                                                  HUMACAO               PR        00791
   224622 HOME DEPOT                  CARR #2 KM 84.3                                                                                                  HATILLO               PR        00659
                                      2455 PACES FERRY RD BLDG C
   224624 HOME DEPOT PR INC           STE 20                                                                                                           ATLANTA               GA        30339

   224627 HOME DEPOT PUERTO RICO, INC. STATE ROAD 190 KM 7 SUITE 102 CPA TORRES GROUP BUILDING                                                         CAROLINA              PR        00983
   667363 HOME ETC INC                 P O BOX 99                                                                                                      BOQUERON              PR        00622
   224629 HOME INC STEPHANIE           URB. EL VIVERO C/5 C‐23                                                                                         GURABO                PR        00778
   667364 HOME INFUSION CARE INC       G P O BOX 364727                                                                                                SAN JUAN              PR        00936
                                       PMB 610 89 AVE DE DIEGO SUITE
   667365 HOME MAINTENANCE SERVICE 105                                                                                                                 SAN JUAN              PR        00927‐5831

   667366 HOME MEDICAL EQUIPMENT INC PO BOX 7453                                                                                                       PONCE                 PR        00732
          HOME OF THE GOLDEN
   224630 DREAMNS                    GLORIA M AYALA DAVILA                      PO BOX 945                                                             SAINT JUST            PR        00978

   224631 HOME OF THE GOLDEN DREAMS P.O. BOX 945                                                                                                       SAINT JUST            PR        00978
   224632 HOME OFFICE COLLECTION    1119 AVE PINEIRO                                                                                                   PUERTO NUEVO          PR        00920
                                    708 CALLE FERROCARRIL SUITE
   224633 HOME ORTHOPEDICS CORP     101                                                                                                                PONCE                 PR        00717‐1108
                                    URB. TRES MONJITAS CALLE
   224636 HOME ORTHOPEDICS CORP.    FEDERICO COSTA 202                                                                                                 HATO REY              PR        00918
   667367 HOME PROPERTY INS CORP    850 EAST ANDERSON LANE                                                                                             AUSTIN                TX        78752‐1602
          HOME REHABILITATION
   667368 EQUIPMENT                 HC 03 BOX 19733                                                                                                    ARECIBO               PR        00612



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   667369 HOME REPAIR CONST ELEC SERV PMB 139                    PO BOX 1345                                                                                         TOA ALTA            PR           00954‐1345
                                      PMB 323‐200 AVE RAFAEL
   224638 HOMECA RECYCLING CENTER     CORDERO SUITE 140                                                                                                              CAGUAS              PR           00725
          HOMECA RECYCLING CENTER CO
   667370 INC                         PMB 323‐200                AVE RAFAEL CORDERO SUITE 140                                                                        CAGUAS              PR           00725
          HOMECA RECYCLING CENTER CO. PMB 143‐D8 AVE. DEGETAUSAN
   224639 INC.                        ALFONZO                                                                                                                        CAGUAS              PR           00725‐0000
   224640 HOMEDICAL INC.              PO BOX 474                                                                                                                     TRUJILLO ALTO       PR           00977

   224641 HOMERO A JAMICELI CAMPOS                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   224642 HOMERO B LOPEZ REYES                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   224643 HOMERO GONZALEZ LOPEZ                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667375 HOMEWOOD CORPORATION                        50 CALLE QUIQUELLA                                                                                             SAN JUAN            PR           00917
          HOMEYRA FERRUFINO
   224645 MARTINEZ                                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   667376 HOMMY A OTERO SEPULVEDA                     BDA 12 POLVORIN                                                                                                MANATI              PR           00674
   667378 HOMY F RAMIREZ SANTIAGO                     PO BOX 333                                                                                                     MOROVIS             PR           00687
   667379 HONDA ACURA TECH SERVICE                    P O BOX 607071          SUITE 119                                                                              BAYAMON             PR           00960‐7071
          HONDA ACURA TECHNICAL
   667380 SERVICE                                     P O BOX 607071          SUITE 119                                                                              BAYAMON             PR           00960
   667381 HONDA DE PONCE                              229 CALLE VILLA                                                                                                PONCE               PR           00731
   667382 HONDA DEL OESTE                             P O BOX 6309                                                                                                   MAYAGUEZ            PR           00681
                                                                              GL 20 AVE ROBERTO SANCHEZ
   224658 HONDA LAND CORP                             URB COUNTRY CLUB        VIELLA                                                                                 CAROLINA            PR           00982
   667383 HONDA MANIA                                 CALLE MENDEZ VIGO       205 OESTE                                                                              MAYAGUEZ            PR           00660
   667384 HONDA MOTOR SPORT                           PO BOX 193051                                                                                                  SAN JUAN            PR           00919
   224659 HONDA SPECIALTIES                           AVE J T PINERO 1517                                                                                            SAN JUAN            PR           00920
   831393 Honeywell ACS Puerto Rico                   400 Calle C Suite 100   Rexco Industrial Park                                                                  Guaynabo            PR           00922
          HONEYWELL AEROSPACE DE PR
   224660 INC/ SOLAR                                  CITY CORPORATION        1000 STATE ROAD 110 N                                                                  AGUADILLA           PR           00690‐1000

   667385 HONEYWELL BUILDING SERVICES PO BOX 11859                                                                                                                   SAN JUAN            PR           00922
          HONEYWELL INTERNATIONAL
   667388 INC                         REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667389 HONG WU CAO                 COND PLAZA INMACULADA                   1717 AVE PONCE DE LEON      APT 2201                                                   SAN JUAN            PR           00909
   667390 HONORIA LOPEZ LOPEZ         PO BOX 7395                                                                                                                    CAGUAS              PR           00726
   224665 HONORIA RIVERA MONTANEZ     REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   224666 HONORIO DE JESUS GOMEZ      REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   224667 HONORIO MARTINEZ CONTRERA REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HONORIO MARTINEZ          Calle 15 B‐5, Urb. Quintas de
   831394 CONTRERAS                 Cupey                                                                                                                            San Juan            PR           00926
          HONORIO MONTA¥EZ
   224669 RODRIGUEZ                 REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   224670 HONORIO MORALES CADIZ     REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667392 HONORIO ORSINI            PO BOX 21365                                                                                                                     SAN JUAN            PR           00928
          HONORIO SAAVEEDRA
   667393 HERNANDEZ                 URB CATALANA                              8 CALLE 1                                                                              BARCELONETA         PR           00617
   667394 HONORIO SERRANO TORRES    PO BOX 566                                                                                                                       GARROCHALES         PR           00652
   667395 HOOPER CONSTRUCCION       VALLE ARRIBA HEIGHTS                      AS 1 CALLE 46 A                                                                        CAROLINA            PR           00983
   224675 HOPE CLINICAL RESEARCH    DRA LIZETTE SANTIAGO                      PO BOX 8730                                                                            SAN JUAN            PR           00910



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  224677 HOPE FOR CHILDREN                            URB TOA ALTA HEIGHTS         F 37 CALLE 8                                                                           TOA ALTA          PR           00953
  224678 HOPE MEDICAL GROUP                           770 NORTH MAIN STREET                                                                                               PROVIDENCE        RI           02904
  224679 HOPE THERAPY PLACE                           PARQUE LAS MERCEDES          CALLE ALJIBE C‐7                                                                       CAGUAS            PR           00725
         HOPE WORLWIDE PUERTO RICO
  667396 INC                                          P O BOX 10843                                                                                                       SAN JUAN          PR           00922
  224684 HOPI COPTERS INC                             PO BOX 21420                                                                                                        SAN JUAN          PR           00928‐1420

   667397 HORACE F WILLIAMS MANGUAL URB SANTA CLARA                                131 CALLE B                                                                            PONCE             PR           00731

   224689 HORACIO A ARNOLD EDWARDS                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   667398 HORACIO A BENITEZ RUIZ                      COND CONDADO TERRACE         2B ACHFORD 1520                                                                        SAN JUAN          PR           00911
          HORACIO A CABRERA
   224690 RODRIGUEZ                                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   224692 HORACIO A. BENITEZ RUIZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   667400 HORACIO ALCARAZ VELAZQUEZ                   PO BOX 255                                                                                                          NAGUABO           PR           00718‐0255
   667401 HORACIO AYALA RIVERA                        HC 4 BOX 20597                                                                                                      LAJAS             PR           00667
   224695 HORACIO BORRERO GARCIA                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   224696 HORACIO CALERO ROMAN                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   667403 HORACIO CARTAGENA                           P O BOX 313                                                                                                         SAN GERMAN        PR           00683
   224697 HORACIO CORA SALGADO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   224699 HORACIO CRISTANCHO HORTUA                   REDACTED                     REDACTED                     REDACTED                           REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   224700 HORACIO DIAZ                                REDACTED                     REDACTED                     REDACTED                           REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          HORACIO DIAZ & ASSOCIATES                                                291 PASEO DELSUR PLAZA SUITE
   667405 CORP CSP                                    BO VALLAS TORRES             7                                                                                      MERCEDITA         PR           00715
   224701 HORACIO DIAZ CORVALAN                       REDACTED                     REDACTED                     REDACTED                           REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   667406 HORACIO GAVILAN & ASSOC                     PO BOX 195432                                                                                                       SAN JUAN          PR           00919‐5432
   667407 HORACIO LABAULT LOPEZ                       PO BOX 36651                                                                                                        SAN JUAN          PR           00936‐6551

   224704 HORACIO LUGO MALDONADO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   224705 HORACIO LUGO RIVERA                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   224706 HORACIO M TOUS DE JESUS                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          HORACIO MARRERO
   667408 MALDONADO                                   EXT VILLA RICA               UV 20 CALLE 15                                                                         BAYAMON                        00959
          HORACIO MARTINEZ
   667409 BETANCOURT                                  COND AVENTURA                350 VIA AVENTURA APT 8007                                                              TRUJILLO ALTO     PR           00976
   667410 HORACIO MONTERO                             URB LAS DELICIAS             BL15 CALLE 10                                                                          PONCE             PR           00731

   667411 HORACIO MONTES GILORMINI                    PO BOX 11596                                                                                                        SAN JUAN          PR           00922‐1596
   667413 HORACIO ORTIZ MORALES                       PO BOX 308                                                                                                          BARRANQUITAS      PR           00794
          HORACIO ORTIZ MORALES/EL
   667414 PUEBLO MINI MAR                             CALLE MU¥OZ RIVERA NUM 7                                                                                            BARRANQUITAS      PR           00794
   667416 HORACIO R SUBIRA APARICIO                   BANK TRUST PLAZA 255         AVE PONCE DE LEON STE 109                                                              SAN JUAN          PR           00917

   667417 HORACIO RAMIREZ ALMANZAR                    PO BOX 755                                                                                                          SANTA ISABEL      PR           00757
                                                      URB.PUERTO NUEVO‐761 C/‐
   667418 HORACIO RODRIGUEZ PONT                      ANDULUCIA                                                                                                           SAN JUAN          PR           00920
   224709 HORACIO TERRON VANGA                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
                                                      URB SAN ALFONSO A 12 CALLE
   667419 HORACIO TIRADO COPIOLI                      DEGETAU                                                                                                             CAGUAS            PR           00725
   224710 HORACIO TURPO PEREZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   667421 HORIALIS BERMUDEZ PADUA                     URB BALDORIOTY               8 CALLE A4                                                                             PONCE             PR           00731



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  667422 HORIDEL G. FEBO REYES        URB ALTO APOLO                                    40 CALLE TANAGRA                                                                          GUAYNABO            PR         00969
  224671 HORIDEL PONS ANAYA           REDACTED                                          REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  224711 HORIZON HEALTH CENTER        706 714 BERGEN AVE                                                                                                                          JERSEY CITY         NJ         07306
  224712 HORIZON HEALTH CORRP.        PO BOX 1530                                                                                                                                 ARECIBO             PR         00613
  667423 HORIZON INTERNATIONAL        PO BOX 9132                                                                                                                                 SAN JUAN            PR         00908
         HORIZON LINES DE PUERTO RICO
  667424 INC                          PO BOX 362648                                                                                                                               SAN JUAN            PR         00936‐2648

   667425 HORIZON MILITARY ACADEMY                     P O BOX 1246                                                                                                               GUAYAMA             PR         00785‐1246
          HORIZON MILITARY ACADEMY                     CARRETERA 706 KM.0.1
   224713 INC                                          RANCHOS GUAYAMA                                                                                                            SALINAS             PR         00751
   667426 HORIZON SYSTEMS CORP.                        PO BOX 11488                                                                                                               SAN JUAN            PR         00910
   667427 HORIZON TECHNOLOGIES                         P O BOX 190903                                                                                                             SAN JUAN            PR         00919‐0903
   224715 HORIZONE HEALTH                              P.O . BOX 1530                                                                                                             ARECIBO             PR         00613
          HORIZONE PARKING SYSTEM
   224716 CORP/BELKYS                                  PO BOX 1530                                                                                                                ARECIBO             PR         00613
   667428 HORIZONS INT' MFG CORP                       PO BOX 7273                                                                                                                PONCE               PR         00732

   224717 HORIZONTE                                    AVE. PRINCIPAL H‐3 URB. BARALT                                                                                             FAJARDO             PR         00738
          HORIZONTE SEMANARIO
   224720 REGIONARES                                   PO BOX 2003                                                                                                                CATANO              PR         00963‐2003
          HORIZONTES DE SALUD PARA EL
   667429 NECESI INC                                   117 MUNDY DRIVE RAMEY                                                                                                      AGUADILLA           PR         00604
          HORIZONTES DE SALUD PARA EL
   667430 NECESITADO                                   PO BOX 68                                                                                                                  MOCA                PR         00676‐0068
   667432 HORIZONTES JC INC                            EST CERRO GORDO                  B 6 CALLE 2                                                                               BAYAMON             PR         00958

   224721 HORIZONTES P E M A A                         COND KOURY                       SUITE 404 CALLE FIGUEROA 656                                                              SANTURCE            PR         00907
   667433 HORLD GARCIA RIVERA                          P O BOX 364966                                                                                                             SAN JUAN            PR         00936‐4966
   224722 HORMIGA CINEMA INC                           AREA DEL TESORO                  DIVISION DE RECLAMACIONES                                                                 SAN JUAN            PR         00902‐4140

   667435 HORMIGONERA CHAPARRO INC                     PO BOX 818                                                                                                                 AGUADA              PR         00602
   224724 HORMIGONERA DEL SUR                          REDACTED                         REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   224725 HORMIGONERA DEL TOA INC                      PO BOX 6262                                                                                                                BAYAMON             PR         00960
          HORMIGONERA MAYAGUEZANA
   667438 INC                                          PO BOX 364487                                                                                                              SAN JUAN            PR         00936‐4487
   667439 HORMIGUERA ISLA NENA INC                     PO BOX 1552                                                                                                                VIEQUES             PR         00765
   667440 HORMIGUERO AUTO PARTS                        BOX 1104                                                                                                                   HORMIGUERO                     00660

   667441 HORMIGUERO GULF SERVICE STA P O BOX 1373                                                                                                                                HORMIGUEROS         PR         00660
   667442 HORMIGUERO SERV. STATION    P.O. BOX 517                                                                                                                                HORMIGUERO          PR         00660
   224726 HORMIGUEROS AUTO PARTS      PO BOX 1104                                                                                                                                 HORMIGUEROS         PR         00660
          HORMIGUEROS AUTO PARTS
   667443 AND MACHNE SHOP             PO BOX 1104                                                                                                                                 HORMIGUEROS         PR         00660
          HORMIGUEROS DEVELOPMENT
   667444 INC                         SUMMIT HILLS                                      1645 CALLE ADAMS                                                                          SAN JUAN            PR         00920

   667445 HORMIGUEROS ESSO SERVICES                    HC 1 BOX 234                                                                                                               HORMIGUEROS         PR         00660

   667446 HORMIGUEROS EXTERMINATING 7 PROLONGACION ORIENTE                                                                                                                        HORMIGUEROS         PR         00660

   667447 HORMIGUEROS SCREEN                           14 BAJO CALLE MATEO FAJARDO                                                                                                HORMIGUEROS         PR         00660




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          HORMIGUEROS SERVICE
   667448 STATION                                     P O BOX 517                                                                                                          HORMIGUEROS         PR           00660

   224742 HORNEDO RODRIGUEZ, LEILANIE REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   224747 HOROSIA GONZALEZ MUNIZ      REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   224749 HORSE & PEOPLE INC          CAPARRA TERRACE                              1617 AVE PINERO                                                                         SAN JUAN            PR           00921
          HORSE Y PEOPLE INC
   667449 DBA/LALING                  CAPARRA TERRACE                              1617 AVE PINERO                                                                         SAN JUAN            PR           00921

   224750 HORSEMEN DISTRIBUTORS INC                   BO GUANIQUILLA               133 CALLE BRISAS DEL MAR                                                                AGUADA              PR           00602
                                                                                   COND MIDTOWN STE. B‐4 #420
  1420053 HORTA ACEVEDO, HILDA       ALEJANDRO TORRES RIVAS                        AVE. PONCE DE LEON                                                                      SAN JUAN            PR           00918‐3434
                                     URB VISTAMAR D‐93 CALLE
   224780 HORTA S COLLAZO SCHOOL BUS ANDALUCIA                                                                                                                             CAROLINA            PR           00983
   667450 HORTENCIA BENITEZ          PO BOX 50063                                                                                                                          SAN JUAN            PR           00902
          HORTENCIA CARRASQUILLO
   667451 ROBLES                     RES YUHIYO 1                                  EDIF 5 APT 80                                                                           LOIZA               PR           00772
          HORTENCIA CESANI
   224790 BELLAFLORES                REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   224791 HORTENCIA CINTRON LEBRON                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   224792 HORTENCIA QUINONEZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HORTENSIA ANDELIZ GARCIA
   224793 MADERA                                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667453 HORTENSIA ANDINO RAMOS                      PO BOX 2685                                                                                                          BAYAMON             PR           00960

   224794 HORTENSIA CANDELARIO MATOS REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HORTENSIA CASELLAS/ MIGUEL
   224795 CASELLAS                   REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   667454 HORTENSIA MARTELL BERNAT`                   496 WILLIAMS JONES                                                                                                   SAN JUAN            PR           00915
   224796 HORTENSIA RAMOS RIVERA                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   667459 HORTENSIA VAZQUEZ MOLINA                    1RA SECCION URB LEVITOWN     15031 CALLE PASEO DULCE MAR                                                             TOA BAJA            PR           00949
   224797 HORTESIA RUIZ CORREA                        REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667460 HORUS INC                                   PO BOX 12388 MSC 168                                                                                                 SAN JUAN            PR           00914
   224799 HORWATH VELEZ & CO PSC                      100 CARR 165 SUITE 410                                                                                               GUAYNABO            PR           00968‐8051
   224800 HORWATH VELEZ & CO, PSC                     BANK TRUST PLAZA SUITE 201   255 AVE PONCE DE LEON                                                                   SAN JUAN            PR           00917‐1992
   667461 HOS[ICIO FE Y ESPERENZA                     P O BOX 1099                                                                                                         MANATI              PR           00674
          HOSANNA COMMUNITY
   224803 DEVELOPMENT CTR, INC.                       470 CALLE LA CUMBRE                                                                                                  ISABELA             PR           00662
   667462 HOSP FOR JOINT DISEASES                     PO BOX 33107                                                                                                         HARTFORD            CT           06150‐3107
                                                      MERCANTIL PLAZA BLDG 10      2 PONCE DE LEON AVE ROOM
   224804 HOSP GEN SAN CARLOS                         FLOOR                        1018                                                                                    SAN JUAN            PR           00918‐1693
          HOSP INTERAMERICANO
   667463 MEDICINA AVANZADA                           PO BOX 1354                                                                                                          GURABO              PR           00778
          HOSP METROPOLITANO DIV
   224805 FACTURACION Y COB                           PO BOX 910                                                                                                           CABO ROJO           PR           00623
          HOSP METROPOLITANO SAN
   224806 GERMAN                                      PO BOX 9976 COTTO STATION                                                                                            ARECIBO             PR           00613
          HOSP SAN CARLOS BORROMEO
   667464 INC                                         PO BOX 68                                                                                                            MOCA                PR           00676
   667465 HOSP UNIV OF PA                             P O BOX 7777 W 9500                                                                                                  PHILADELPHIA        PA           19175



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          HOSP VETERINARIO SAN
   667466 FRANCISCO DE ASIS                           PO BOX 1053                                                                                                      HATILLO             PR           00659
          HOSPEDERIA COOPERATIVA
   224807 BOSQUE RIO ABAJO                            PO BOX 957                                                                                                       BAJADERO            PR           00616‐0957

   667467 HOSPEDERIA VILLA VERDE INN                  PMB 540 6017                                                                                                     CAROLINA            PR           00984‐6017
          HOSPI CARE MEDICAL SUPPLY
   224809 INC                                         148 CALLE MUNOZ RIVERA                                                                                           GUAYANILLA          PR           00656
   667469 HOSPI LAB SUPPLIES INC                      P O BOX 277                                                                                                      BAYAMON             PR           00960
   667470 HOSPI SERV INC                              URB LA MILAGROSA               R 47 CALLE 3                                                                      BAYAMON             PR           00959
   667471 HOSPICARE INC                               PO BOX 362963                                                                                                    SAN JUAN            PR           00936‐2963
          HOSPICIO ATENCION MEDICA
   224810 INC.                                        P.O. BOX 5742                                                                                                    CAGUAS              PR           00726‐0000
          HOSPICIO ESPERANZA DE LUZ
   224811 HOME CARE                                   PO BOX 3446                                                                                                      MANATI              PR           00674
   224812 HOSPICIO GEMINIS                            PO BOX 1144                                                                                                      COROZAL             PR           00783
   224813 HOSPICIO LA GUADALUPE                       PO BOX 7699                                                                                                      PONCE               PR           00732‐7699

   224814 HOSPICIO LA GUADALUPE, INC.                 PO BOX 7699                                                                                                      PONCE               PR           00732‐7699
          HOSPICIO LA GUADENPE
   224815 INC/VERA LOPEZ AND                          ASSOCIATES PSC                 PO BOX 7699                                                                       PONCE               PR           00732‐7699

   224816 HOSPICIO LA PAZ                             152 CALLE RODRIGUEZ IRIZARRY                                                                                     ARECIBO             PR           00612

   224817 HOSPICIO LA PAZ INC                         152 CALLE JOSE RODRIGUEZ IRIZ                                                                                    ARECIBO             PR           00612
   224818 HOSPICIO LA PROVIDENCIA                     SRTA EILLEEN RODRIGUEZ        PO BOX 10447                                                                       PONCE               PR           00732
   667473 HOSPICIO LUZAMOR INC                        PO BOX 1312                                                                                                      MOROVIS             PR           00687

   224819 HOSPICIO SAN LUCAS, HOGAR Y                 REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   224820 HOSPICIO SENDERO DE LUZ INC                 PO BOX 875                                                                                                       COMERIO             PR           00782
   224821 HOSPIRA                                     PO BOX 71365                                                                                                     SAN JUAN            PR           00936‐8465
   224822 HOSPIRA PUERTO RICO , LLC                   PO BOX 364724                                                                                                    SAN JUAN            PR           00936‐4724
   224784 HOSPIRA PUERTO RICO LLC                     PO BOX 364724                                                                                                    SAN JUAN            PR           00936‐4724
          HOSPITAL AND PHYSICIAN
   667475 PUBLISHING INC                              PO BOX 158                                                                                                       MARION              IL           62959
          HOSPITAL ANDRES GRILLASCA
   667476 INC                                         PO BOX 331324                                                                                                    PONCE               PR           00733‐1324

   224825 HOSPITAL AUXILIO MUTUO                      AVE. PONCE DE LEON PDA. 37     APARTADO 191227                                                                   SAN JUAN            PR           00919‐1227
          HOSPITAL AUXILIO MUTUO DE
   224828 PR, INC                                     APARTADO 191227                                                                                                  SAN JUAN            PR           00919‐1227
   667477 HOSPITAL BELLA VISTA                        PO BOX 1750                                                                                                      MAYAGUEZ            PR           00681‐1750
          HOSPITAL BELLA VISTA DEL
   667478 SUROESTE                                    P O BOX 68                     CARR 128 1 0                                                                      YAUCO               PR           00698
   224829 HOSPITAL BUEN SAMARITANO                    PO BOX 4055                                                                                                      AGUADILLA           PR           00605
          HOSPITAL BUEN SAMARITANO
   224830 INC.                                        P.O. BOX 4055                                                                                                    AGUADILLA           PR           00605‐0000
          HOSPITAL COMUNITARIO BUEN
   224831 SAMARITANO                                  PO BOX 4055                                                                                                      AGUADILLA           PR           00605
   224832 HOSPITAL CONCEPCION                         PO BOX 285                                                                                                       SAN GERMAN          PR           00683
   224833 HOSPITAL DAMAS                              RECORD MEDICOS                 2213 PONCE BY PASS                                                                PONCE               PR           00171‐1318




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   667480 HOSPITAL DAMAS ADJUNTAS INC 2213 PONCE BY PASS                                                                                                               PONCE               PR           00717‐1318
   224835 HOSPITAL DAMAS INC          2213 PONCE BAY PASS                                                                                                              PONCE               PR           00717‐1317
   224836 HOSPITAL DE AREA DE CAYEY   PO BOX 37‐3400                                                                                                                   CAYEY               PR           00737
   667481 HOSPITAL DE DAMAS           2213 PONCE BY PASS                                                                                                               PONCE               PR           00731‐7779

   667482 HOSPITAL DE LA CONCEPCION                   P O BOX 285                                                                                                      SAN GERMAN          PR           00683
   667483 HOSPITAL DE MOTORAS                         151 AVE FELIX RIOS                                                                                               AIBONITO            PR           00705
   224837 HOSPITAL DEL MAESTRO                        GPO BOX 364708                                                                                                   SAN JUAN            PR           00936

  1420054 HOSPITAL DEL MAESTRO                        JAIME A. ROQUE COLÓN   1128 AVE. AMÉRICO MIRANDA                                                                 SAN JUAN            PR           00921

   224839 HOSPITAL DEL NINO SAN JORGE                 PO BOX 6308                                                                                                      LOIZA STATION       PR           00914‐6308

   224840 HOSPITAL DOCTOR DOMINGUEZ REDACTED                                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HOSPITAL DOCTORS CENTER
   224841 BAYAMON                   DEPTO RECORDS MEDICOS                    PO BOX 2957                                                                               BAYAMON             PR           00960

   667484 HOSPITAL DOCTORS CENTER INC PO BOX 30532                                                                                                                     MANATI              PR           00674
   667485 HOSPITAL DR DOMINGUEZ       PO BOX 699                                                                                                                       HUMACAO             PR           00792
          HOSPITAL DR DOMINGUEZ
   224842 CLINICA ORIENTE             PO BOX 699                                                                                                                       HUMACAO             PR           00792

   667486 HOSPITAL DR GUBERNS                         NACIONAL PLAZA         431 AVE P DE LEON SUITE 1601                                                              SAN JUAN            PR           00917
   667487 HOSPITAL DR PILA                            PO BOX 331910                                                                                                    PONCE               PR           00733‐1910
   667489 HOSPITAL DR SUSONI INC                      PO BOX 145200                                                                                                    ARECIBO             PR           00614‐5200
   667490 HOSPITAL EL BUEN PASTOR                     PO BOX 456                                                                                                       ARECIBO             PR           00613
          HOSPITAL EPISCOPAL CRISTO
   667491 REDENTOR                                    P O BOX 10011                                                                                                    GUAYAMA             PR           00785001

   667492 HOSPITAL EPISCOPAL SAN LUCAS PO BOX 332027                                                                                                                   PONCE               PR           00733‐2027
          HOSPITAL EPISCOPAL SAN LUCAS
   224843 GUAYAMA                      ATT RECORD MEDICO                     PO BOX 10011                                                                              GUAYAMA             PR           00785
          HOSPITAL EPISCOPAL SAN LUCAS
   224844 II                           ATT MANEJO DE INFORMACION             PO BOX 336810                                                                             PONCE               PR           00733‐6810
          HOSPITAL EPISCOPAL SAN
   224845 LUCUAS GUAYAMA               PO BOX 10011                                                                                                                    GUAYAMA             PR           00785
   667493 HOSPITAL EQUIPMENT SALES     PO BOX 12025                                                                                                                    SAN JUAN            PR           00914‐2025
          HOSPITAL ESPANOL AUXILIO
   224846 MUTUO                        P O BOX 191227                                                                                                                  SAN JUAN            PR           00919‐1227

   667494 HOSPITAL FONT MARTELO INC.                  PO BOX 639                                                                                                       HUMACAO             PR           00792

   224847 HOSPITAL FOR JOINT DISEASES                 PO BOX 414049                                                                                                    BOSTON              MA           02241‐4049

   224848 HOSPITAL FOR SPECIAL SURGERY 535 EAST 70TH ST 337                                                                                                            NEW YORK            NY           10021‐4898
   224849 HOSPITAL GEN SAN CARLOS      1822 AVE PONCE DE LEON                                                                                                          SAN JUAN            PR           00910

   224850 HOSPITAL GENERAL CASTANER                   PO BOX 1003                                                                                                      CASTAÑER            PR           00631
          HOSPITAL GENERAL CASTANER
   224852 INC                                         P O BOX 1033                                                                                                     CASTAÐER            PR           00631

   224853 HOSPITAL GENERAL MENONITA                   PO BOX 1379                                                                                                      AIBONITO            PR           00705



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          HOSPITAL GENERAL MENONITA
   224856 DE CAYEY                                    PO BOX 373130                                                                                       CAYEY                PR           00737‐3130
          HOSPITAL GENERAL MENONITA
   224859 INC                                         PO BOX 1379                                                                                         AIBONITO             PR           00705‐1379
          HOSPITAL HERMANOS
   224861 MELENDEZ                                    ATT MANEJO DE INFORMACION   PO BOX 306                                                              BAYAMON              PR           00960
   224862 HOSPITAL HIMA SAN PABLO                     DEPTO RECORDS MEDICOS       PO BOX 236                                                              BAYAMON              PR           00960
          HOSPITAL HIMA SAN PABLO
   224863 FAJARDO                                     MANEJO DE INFORMACION       PO BOX 1028                                                             FAJARDO              PR           00738
   667498 HOSPITAL INTERAMERICANO                     PO BOX 4980                                                                                         CAGUAS               PR           00726
          HOSPITAL ISAAC GONZALEZ
   224864 MARTINEZ                                    PO BOX 191811                                                                                       SAN JUAN             PR           00919‐1811
   667499 HOSPITAL LA CONCEPCION                      RES EL RECREO               EDIF 9 APT 50                                                           SAN GERMAN           PR           00683
   224865 HOSPITAL LAFAYETTE                          PO BOX 207                                                                                          ARROYO               PR           00714

   667500 HOSPITAL MATILDE BRENES INC                 PO BOX 2957                                                                                         BAYAMON              PR           00960
   224866 HOSPITAL MENONITA                           CLINICA MANEJO DEL DOLOR    PO BOX 1379                                                             AIBONITO             PR           00705

   224867 HOSPITAL MENONITA CAGUAS PO BOX 4964                                                                                                            CAGUAS               PR           00726‐4964
          HOSPITAL MENONITA CENTRO
   224868 SALUD FAMILIAR                 PO BOX 373130                                                                                                    CAYEY                PR           00737‐3130
          HOSPITAL MENONITA DE
   224869 CAGUAS                         PO BOX 1379                                                                                                      AIBONITO             PR           00705‐1379
   224870 HOSPITAL METROPOLITANO         CAPARRA HEIGHTS                          PO BOX 11981                                                            SAN JUAN             PR           00922
          Hospital Metropolitano de Cabo
   224873 Rojo                           P.O. BOX 910                                                                                                     CABO ROJO            PR           00623‐0000
          HOSPITAL METROPOLITANO DR
   224874 PILA                           MANEJO DE INFORMACION                    PO BOX 331910                                                           PONCE                PR           00733‐1910
          HOSPITAL METROPOLITANO DR
   224875 TITO MATTEI                    PO BOX 68                                                                                                        YAUCO                PR           00698
          HOSPITAL METROPOLITANO DR.
   224876 PILA                           P O BOX 331910                                                                                                   PONCE                PR           00733‐1910
          HOSPITAL METROPOLITANO SAN
   667502 GERMAN                         PO BOX 9976 COTTO STATION                                                                                        ARECIBO              PR           00613
   667504 HOSPITAL MIMIYAS               303 AVE DE DIEGO                                                                                                 SAN JUAN             PR           00909
          HOSPITAL MUNICIPAL DR CESAR
   224878 A COLLAZO                      PO BOX 1706                                                                                                      JUNCOS               PR           00777

          HOSPITAL MUNICIPAL SAN JUAN
   224879 DR RAFAEL LOPEZ NUSSA       MANEJO DE INFORMACION                       PMB 79                  PO BOX 70344                                    SAN JUAN             PR           00936‐8344

          HOSPITAL OF CENTRAL                         MEDICAL RECORDS
   224880 CONNECTICUT NBGH CAMPUS                     DEPARTMENT                  100 GRAND STREET                                                        NEW BRITAIN          CT           06050
   224881 HOSPITAL OF SAINT RAPHAEL                   1450 CHAPEL STREET                                                                                  NEW HAVEN            CT           06511

   224882 HOSPITAL OF UNIVERSITY OF PA PO BOX 19058                                                                                                       BREEN BAY            WI           54307
   224883 HOSPITAL ONCOLOGICO          PO BOX 331324                                                                                                      PONCE                PR           00733‐1324
          HOSPITAL ONCOLOGICO ANDRES
   224884 GUILLASCA INC                PO BOX 331324                                                                                                      PONCE                PR           00733‐1324
          HOSPITAL ONCOLOGICO DR
   224885 ISAAC GONZALEZ MARTINEZ      MANEJO DE INFORMACION                      PO BOX 191811                                                           SAN JUAN             PR           00919‐1811
   667505 HOSPITAL PAVIA               P O BOX 11137                                                                                                      SAN JUAN             PR           00909
   224886 HOSPITAL PAVIA HATO REY      P.O. BOX 190828                            435 AVE PONCE DE LEON                                                   HATO REY             PR           00919‐0828



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                                                      ATT DEPT MANEJO DE
   224888 HOSPITAL PAVIA SANTURCE                     INFORMACION                   PO BOX 11137                                                                  SAN JUAN            PR           00909‐2137
   224889 HOSPITAL PAVIA YAUCO                        PO BOX 68                                                                                                   YAUCO               PR           00698
          HOSPITAL PEDIATRICO
   224890 UNIVERSITARIO                               PO BOX 191079                                                                                               SAN JUAN            PR           00919‐1079
   667506 HOSPITAL PEREA MAYAGUEZ                     POST OFFICE BOX 170                                                                                         MAYAGUEZ            PR           00681‐0170

   224891 HOSPITAL PSIQUIATRIA FORENSE POX 7321                                                                                                                   PONCE               PR           00732
          HOSPITAL PSIQUIATRICO DR
   224892 RAMON FERNANDEZ MARINA       RECORD MEDICOS                               PO BOX 2100                                                                   SAN JUAN            PR           00922‐2100
          HOSPITAL REGIONAL
          UNIVERSITARIO DR FEDERICO
   224893 TRILLA                       RECORD MEDICOS                               PO BOX 6021                                                                   CAROLINA            PR           00984

   667507 HOSPITAL RYDER MEMORIAL INC PO BOX 859                                                                                                                  HUMACAO             PR           00792
   667508 HOSPITAL SAN AGUSTIN INC    PO BOX 991                                                                                                                  MANATI              PR           00674
   224895 HOSPITAL SAN ANTONIO        PO BOX 546                                                                                                                  MAYAGUEZ            PR           00681
   667509 HOSPITAL SAN ANTONIO INC    PO BOX 546                                                                                                                  MAYAGUEZ            PR           00681
          HOSPITAL SAN CARLOS
   224896 BORROMEO                    P.O. BOX 68                                                                                                                 MOCA                PR           00676‐0068
   224897 HOSPITAL SAN CRISTOBAL      APARTADO POSTAL 800501                                                                                                      COTO LAUREL         PR           00780‐0000
   224900 HOSPITAL SAN FRANCISCO      65TH INFANTRY STA                             PO BOX 29025                                                                  SAN JUAN            PR           00929‐0025

   667512 HOSPITAL SAN FRANCISCO INC.                 PO BOX 29025                                                                                                SAN JUAN            PR           00929‐9025
   667513 HOSPITAL SAN GERALDO                        CARR 844 CUPEY BAJO                                                                                         SAN JUAN            PR           00926

                                                      HOSPITAL SAN GERARDO
   224901 HOSPITAL SAN GERARDO                        CENTRO DE REHAB. DEL CARIBE                                                                                 RIO PIEDRAS         PR           00926‐0000
   224903 HOSPITAL SAN JORGE                          PO BOX 6308                                                                                                 SAN JUAN            PR           00914

   224904 HOSPITAL SAN JUAN BAUTISTA                  P.O. BOX 4964                                                                                               CAGUAS              PR           00726‐4964
          HOSPITAL SAN JUAN
   667514 CAPESTRANO                                  RR 2 BOX 11                                                                                                 SAN JUAN            PR           00926
   667515 HOSPITAL SAN PABLO                          TORRE SAN PABLO SUITE 2       CALLE SANTA CRUZ NUM 68                                                       BAYAMON             PR           00961‐0000

   667474 HOSPITAL SAN PABLO DEL ESTE                 PO BOX 1028                                                                                                 FAJARDO             PR           00738‐1028
   224908 HOSPITAL SANTA ROSA                         PO BOX 10008                                                                                                GUAYAMA             PR           00785
          HOSPITAL SANTO ASILO DE
   224909 DAMAS PONCE                                 2213 PONCE BYPASS                                                                                           PONCE               PR           00717‐1318
          HOSPITAL SIQUIATRIA
   224910 CORRECCIONAL                                CMMS 302                      PO BOX 70344                                                                  SAN JUAN            PR           00936
   667517 HOSPITAL SUPPLY                             PO BOX 1198                                                                                                 MOCA                PR           00676
   224911 HOSPITAL TRICOCHE CDT                       C/O ADM RECORDS MEDICO        PO BOX 331709                                                                 PONCE               PR           00733
   224912 HOSPITAL U P R CAROLINA                     PO BOX 6021                                                                                                 CAROLINA            PR           00984
          HOSPITAL U P R DR FEDERICO
   224913 TRILLA                                      AVE 65 INFANTERIA             KM 8 3 CARR 3                                                                 CAROLINA            PR           00984
          HOSPITAL U P R SISTEMA DE
   667518 SALUD DE UPR                                HOSPITAL UPR                  SISTEMA DE SALUD DE LA U P R                                                  CAROLINA            PR           00984
          HOSPITAL UNIVERSITARIO
   224917 ADULTOS                                     P.O. BOX 2116                                                                                               SAN JUAN            PR           00922‐2116
          HOSPITAL UNIVERSITARIO DE
   224927 ADULTOS                                     URB SANTA JUANITA             100 AVE LAUREL                                                                BAYAMON             PR           00956




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   667519 HOSPITAL VETERANO ITURREGUI 846 CALLE KURICES                                                                                                                   SAN JUAN              PR           00924
          HOSPITAL VETERINARIO
   667520 MIRAMAR                       613 AVE MIRAMAR                                                                                                                   ARECIBO               PR           00612
          HOSPITAL VETERINARIO
   224929 VISTAMAR                      APARTADO 3101                                                                                                                     CAROLINA              PR           00984
   667521 HOSPITAL WILMA N VAZQUEZ      PO BOX 7001                                                                                                                       VEGA BAJA             PR           00694
                                        2121 PONCE DE LEON BLVD STE
   224930 HOSPITALIST OF AMERICA LLC    300                                                                                                                               MIAMI                 FL           33134
   224931 HOSSANA CORPORATION           PO BOX 130                                                                                                                        NAGUABO               PR           00718
   224934 HOSTALES PR COM               PO BOX 159                                                                                                                        CABO ROJO             PR           00623
   224935 HOSTERIA DEL MAR INC          OCEAN PARK                  1 CALLE TAPIA                                                                                         SAN JUAN              PR           00911
          HOSTOS 10 DEVELOPMENT         PMB 285 1575 MUNOZ RIVERA
   224937 COND.                         AVE                                                                                                                               PONCE                 PR           00717‐0211
   224938 HOSTOS A GALLARDO GARCIA      REDACTED                    REDACTED                                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
                                        475 GRAND CONCOURSE ROOM
   224939 HOSTOS COMMUNITY COLLEGE A‐322                                                                                                                                  BRONX                 NY           10451
          HOSTOS MEDICAL SERVICES I P A
   667522 204                           PO BOX 1586                                                                                                                       MAYAGUEZ              PR           00681
   224941 HOSTOSS GROUP                 P O BOX 6821                                                                                                                      MAYAGUEZ              PR           00681

   667523 HOT & TOSTY REST HOT & TOSTY NELLY MONTIJO CLASS                       REPTO RAMON N SOTO BOX 306                                                               MANATI                PR           00674

   224943 HOT ASPHALT PADENG INC                      PMB 384                    609 AVE TITO CASTRO STE 102                                                              PONCE                 PR           00716‐2232
   224944 HOT ASPHALT PAVING INC                      609 AVE TITO CASTRO        SUITE 102 PMB 384                                                                        PONCE                 PR           00716‐2232
   667525 HOT LINE INC                                PO BOX 51514                                                                                                        LEVITTOWN             PR           00950
   667526 HOT STATION CAFE & REST                     LA ARBORADA                274 CALLE 16                                                                             SALINAS               PR           00751
          HOTEL & RESTAURANT EL BUEN
  1256559 CAFÉ                                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   224946 HOTEL AIRPORT INC                           P O BOX 38087                                                                                                       SAN JUAN              PR           00937‐1087

   224947 HOTEL ARIA RESORT & CASINO                  3730 LAS VEGAS BLVD                                                                                                 LAS VEGAS             NV           89158
   224948 HOTEL CAESARS PALACE                        3570 LAS VEGAS BLVD                                                                                                 SOUTH LAS VEGAS       NV           89109

   224949 HOTEL CAPITAL HILTON                        1001 16TH STREET NORTHWEST                                                                                          WASHINGTON            DC           20036
   667527 HOTEL CARIB INN                             LOIZA STREET STATION       PO BOX 12112                                                                             SAN JUAN              PR           00914
   667529 HOTEL CARIBE HILTON                         P O BOX 9021872                                                                                                     SAN JUAN              PR           00902
          HOTEL CHINA NATIONAL                        BUILDING 1, NO 8 PRECINTS,
   224950 CONVENTION CENTER                           BEICHEN WEST ROAD                                                                                                   CHAOYANG DISTRICT                  100105        CHINA
   224951 HOTEL CIELO MAR                             84 AVE MONTEMAR                                                                                                     AGUADILLA             PR           00662
   224952 HOTEL CIELOMAR                              AVE MONTEMAR #84                                                                                                    AGUADILLA             PR           00603
   667533 HOTEL COLONIAL                              PO BOX 470                                                                                                          MAYAGUEZ              PR           00681

   667534 HOTEL CONDADO BEACH & TRIO PO BOX 4195                                                                                                                          SAN JUAN              PR           00902
   667536 HOTEL CONDADO LAGOON       6 CALLE CLEMENCEAU                                                                                                                   SAN JUAN              PR           00907

   224953 HOTEL COSTA DORADA BEACH                    900 EMILIO GONZALEZ                                                                                                 ISABELA               PR           00662
   667537 HOTEL DEL CENTRO                            PO BOX 12086                                                                                                        LOIZA                 PR           00914
          HOTEL DELICIAS Y CARLOS
   224956 ROBLES QUINONES                             P O BOX 514                PUERTO REAL                                                                              FAJARDO               PR           00740
   667538 HOTEL DEPAKOS                               PO BOX 486                                                                                                          VIEQUES               PR           00765
   224958 HOTEL DORADO S.E.                           201 DORADO DEL MAR BLVD                                                                                             DORADO                PR           00646‐0000




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                                                      201 DORADO DEL MAR
   224959 HOTEL DORADO SE                             BOULEVARD                     EMBASSY SUITE 201                                                     DORADO              PR           00646

   224960 HOTEL EL CAFETAL                            CARR 368 KM 10.3 SUSUA ALTA   BOX 3046                                                              YAUCO               PR           00698
   667539 HOTEL EL CASTILLO                           PO BOX 1649                                                                                         SAN SEBASTIAN       PR           00685
          HOTEL EL CONQUISTADOR DE                    1000 EL CONQUISTADOR
   224962 FAJARDO                                     AVENUE                                                                                              FAJARDO             PR           00738
                                                      100 CRISTO STREET OLD SAN
   224963 HOTEL EL COVENTO                            JUAN                                                                                                SAN JUAN            PR           00901
                                                      100 CRISTO STREET OLD SAN
   224964 HOTEL EL COVENTO, INC                       JUAN                                                                                                SAN JUAN            PR           00901
   224966 HOTEL EL GUAJATACA                          6301 CARR 2                                                                                         QUEBRADILLAS        PR           00678‐2632
   667540 HOTEL EL PORTAL                             76 AVE CONDADO                                                                                      SAN JUAN            PR           00908
   667541 HOTEL EMBAJADOR                             111 CALLE RAMOS ANTONINO                                                                            MAYAGUEZ            PR           00680
   667543 HOTEL ESJ TOWER                             6165 AVE ISLA VERDE                                                                                 CAROLINA            PR           00979‐5765
          HOTEL FIESTA AMERICANA                      BLVD BERNARDO QUINTANA
   224967 QUERETARO                                   ARRIOJA 4050                  COL ALAMOS 3A                                                         QUERETARO                                      MEXICO
   667544 HOTEL FLAMINGO INN                          URB SAGRADO CORAZON           1720 STA ANGELA                                                       SAN JUAN            PR           00926

   224968 HOTEL HACIENDA EL PEDREGAL                  P O BOX 5142                                                                                        AGUADILLA           PR           00605

   667545 HOTEL HACIENDA MARGARITA                    HC 01 BOX 5833                                                                                      BARRANQUITAS        PR           00794

   667546 HOTEL HAMPTON DE SAN JUAN                   6530 AVE ISLA VERDE                                                                                 CAROLINA            PR           00979

   667547 HOTEL HYATT CERROMAR BEACH CARR 693 KM12 8                                                                                                      DORADO              PR           00646
          HOTEL HYATT MCCORMICK      2233 S MARTIN LUTHER KING
   224970 PLACE                      DRIVE                                                                                                                CHICAGO             IL           60616
          HOTEL HYATT REGENCY
   667548 BETHESDA                   1 BETHESDA METRO CENTER                                                                                              BETHESDA            MD           20814
          HOTEL HYATT REGENCY
   224971 ORLANDO                    9801 INTERNATIONAL DRIVE                                                                                             ORLANDO             FL           32819
   667549 HOTEL IBERIA               1464 AVE WILSON                                                                                                      SAN JUAN            PR           00907
   667550 HOTEL JOYUDA PLAZA INC     PO BOX 1748                                                                                                          CABO ROJO           PR           00623
   667551 HOTEL LA CASA GRANDE       P O BOX 616                                                                                                          UTUADO              PR           00641
   667552 HOTEL LA PALMA             PO BOX 1660                                                                                                          MAYAGUEZ            PR           00681
   667553 HOTEL LAS VEGAS            PO BOX 1590                                                                                                          PONCE               PR           00733

   224973 HOTEL MARRIOT RESIDENCE INN CARYLE 2345 MILL ROAD                                                                                               ALEXANDRIA          VA           22314
   667554 HOTEL MAYAGUEZ PLAZA        PO BOX 5148                                                                                                         AGUADILLA           PR           00605
   224974 HOTEL MELIA                 P.O. BOX 1431                                                                                                       PONCE               PR           00733
   667556 HOTEL MIRAMAR               606 PONCE DE LEON AVENUE                                                                                            SAN JUAN            PR           00907
   667557 HOTEL MODERNO INC           COUNTRY CLUB               1149 CALLE ISAURA ARNAU                                                                  SAN JUAN            PR           00924
   667558 HOTEL MOLINO INC            PO BOX 2393                                                                                                         GUAYAMA             PR           00866‐1515
                                      AVE PEDRO ALBIZU CAMPOS KM
   224975 HOTEL MOLINO INN            2.1 CARR 54                                                                                                         GUAYAMA             PR           00784
   667560 HOTEL MONTE RIO             18 CALLE CESAR GONZALEZ                                                                                             ADJUNTAS            PR           00601
   667561 HOTEL NAUTILUS INC          PO BOX 396                                                                                                          LAJAS               PR           00667
          HOTEL NEW YORK MARRIOT
   224976 MARQUIS                     1535 BROADWAY                                                                                                       NEW YORK            NY           10036
   224977 HOTEL NUEVO MEXICO INC      HC 8 BOX 821                                                                                                        PONCE               PR           00731
   667562 HOTEL OMNI INNER HARBOR     101 WEST                   FAYETTE STREET                                                                           BALTIMORE           MD           21201
   224978 HOTEL PALCO                 CALLE 146 ENTRE LA 11 Y 13                                                                                          PLAYA LA HABANA                  99999999      CUBA



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          HOTEL PARADISUS PALMA REAL
   224979 GOLF & SPA RESORT                           REPUBLICA DOMINICANA                                                                                              PUNTA CANA                        23000         DOMINICAN REPUBLIC
   667563 HOTEL PARADOR HACIENDA                      PO BOX 387                                                                                                        JAYUYA               PR           00664
   667564 HOTEL PARADOR LA CIMA                       CARR 110 KM 9 2                                                                                                   AGUADILLA            PR           00603
   667565 HOTEL PARADOR LA FAMILIA                    HC 00867 BOX 21399                                                                                                FAJARDO              PR           00738
   224980 HOTEL PARADOR OASIS                         72 CALLE LUNA                                                                                                     SAN GERMAN           PR           00683
   667566 HOTEL PARDOR EL FARO                        PO BOX 5148                                                                                                       AGUADILLA            PR           00605
   224981 HOTEL PARDOR EL FARO INC                    PO BOX 5148                                                                                                       AGUADILLA            PR           00605‐0000
   667567 HOTEL PIERRE BEST WESTERN                   105 AVE DE DIEGO                                                                                                  SAN JUAN             PR           00911
          HOTEL PLANET HOLLYWOOD
   224982 RESORT & CASINO                             3667 LAS VEGAS BLVD SOUTH                                                                                         LAS VEGAS            NV           89109
   224983 HOTEL PONCE PLAZA                           CALLE REINA ESQ UNION                                                                                             PONCE                PR           00733
   667568 HOTEL POSADA JAYUYA                         BOX 465                                                                                                           JAYUYA               PR           00664

   667569 HOTEL PUNTA BORINQUEN INC                   PO BOX 5148                                                                                                       AGUADILLA            PR           00605

   224984 HOTEL RADISSON NORMANDIE                    PO BOX 50059                                                                                                      SAN JUAN             PR           00902
   224985 HOTEL RAMADA                                P O BOX 33183                                                                                                     PONCE                PR           00733
   667570 HOTEL RAMADA CONDADO                        1045 AVE ASHFORD                                                                                                  SAN JUAN             PR           00907
          HOTEL RESTAURANT EL BUEN
   667573 CAFE                                        381 CARR 2                                                                                                        HATILLO              PR           00659
          HOTEL RESTAURANT EL
   667574 GUAJATACA                                   PO BOX 1558                                                                                                       QUEBRADILLAS         PR           00678
   224986 HOTEL ROOSEVELT                             45 EAST 45TH ST.                                                                                                  NEW YORK             NY           10017
   667575 HOTEL ROSA DEL MAR                          PO BOX 227                                                                                                        HATILLO              PR           00659
   224987 HOTEL ROSEN CENTRE                          9840 INTERNATIONAL DRIVE                                                                                          ORLANDO              FL           32819
   224988 HOTEL ROSEN PLAZA                           9700 INTERNATIONAL DRIVE                                                                                          ORLANDO              FL           32819
                                                      1700 AVE PONCE DE LEON PDA
   667576 HOTEL SAN JORGE                             25                                                                                                                SAN JUAN             PR           00909
   667577 HOTEL TAINO                                 PO BOX 1602                                                                                                       BAYAMON              PR           00960
   224989 HOTEL TREASURY ISLAND                       PMB 439 PO BOX 4960                                                                                               CAGUAS               PR           00726
   667578 HOTEL VIEQUES OCEAN VIEW                    571 CALLE PLINIO PETERSON                                                                                         VIEQUES              PR           00765
   224990 HOTEL VILLA ARCO IRIS                       PO BOX 270239                                                                                                     SAN JUAN             PR           00927
   667580 HOTEL VILLA DEL REY                         PO BOX 3033                                                                                                       LAJAS                PR           00667
   224991 HOTEL VILLA DEL SOL                         ISLA VERDE                   4 CALLE ROSA                                                                         CAROLINA             PR           00979
   224992 HOTEL VILLA FORIN INC                       5 REPARTO EL FARO                                                                                                 AGUADILLA            PR           00603
   224993 HOTEL WARE INC                              PO BOX 190588                                                                                                     SAN JUAN             PR           00919‐0588
          HOTEL WASHINGTON MARRIOT                    901 MASSACHUSETTS AVE
   224994 MARQUIS                                     NORTHWEST                                                                                                         WASHINGTON           DC           20001
   667581 HOTEL WATER CLUB                            2 CALLE TARTAK                                                                                                    CAROLINA             PR           00979
                                                      A/C MANUEL MORALES
   667582 HOTEL Y PARADOR EL SOL                      MORALES                      ADM. FOMENTO COMERCIAL    P.R. BOX 4275                                              SAN JUAN             PR           00902‐4275
          HOTEL Y RESTAURANT
   667584 BOQUEMAR INC                                PO BOX 133                                                                                                        BOQUERON             PR           00622
   224995 HOTESSE DIAZ MD, TANIA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

  1256560 HOUGHTON MIFFILN HACOURT                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   667585 HOUGHTON MIFFLIN CO                         PO BOX 1667                  INTERNATIONAL DEPARMENT                                                              EVANSTON             IL           60204
          HOUGHTON MIFFLIN CO / BERT
   667586 DE VORE                                     PO BOX 10276                 CAPARRA HEIGHTS STA                                                                  SAN JUAN             PR           00922
   225006 HOUSE EAR CLINIC INC                        2100 W THIRD ST              STE 111                                                                              LOS ANGELES          CA           90057
                                                      CALLE 50 A BLO.7 #8 ROYAL
   225007 HOUSE OF ANGELS                             TOWN                                                                                                              BAYAMON              PR           00956‐0000



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                                                      CALLE 3A #160 URB. HERMANA
   225009 HOUSE OF ANGELS, INC.                       DAVILA                                                                                                               BAYAMON               PR           00959
   225010 HOUSE OF FREEDOM                            ATTN MEDICAL RECORDS          2311 N ORANGE BLOSSOM TR                                                               KISSIMMEE             FL           34741
          HOUSE OF MAINTENANCE
   667587 SUPPLY                     PO BOX 31111                                                                                                                          SAN JUAN              PR           00929
   225011 HOUSE OF RACK & PINON      URB EXT FOREST HILLS                           E 50 MARGINAL                                                                          BAYAMON               PR           00956
          HOUSING DEVELOPMENT CORP
   667588 TOA BAJA                   P O BOX 51511                                                                                                                         TOA BAJA              PR           00950‐1511
          HOUSING MANAGEMENT &
   225012 SERVICES                   TETUAN 207                                                                                                                            OLD SAN JUAN          PR           00901
          HOUSING PROMOTERS‐ASV‐A14‐
   225013 LOS LAURELES               P.O. BOX 68                                                                                                                           SAINT JUST            PR           00978‐0000
   225014 HOUSSAIN E KETTANI         REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          HOUSTON PERFERRED
   667589 ANESTHESIA                 PO BOX 19370                                                                                                                          HOUSTON               TX           77224‐9370
   225018 HOVENSA LLC                I ESTATE HOPE                                                                                                                         CHRISTINSTED          VI           00820‐5652
   225020 HOVIK ABRAMYAN             REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   667590 HOW PRETTY                 LOS PINOS                                      APT 9B EAST                                                                            CAROLINA              PR           00979
          HOWARD BRAVER MDS, BETH
   225021 AND                        REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          HOWARD BROWN HEALTH
   225022 CENTER                     ATTN MEDICAL RECORDS DEPT                      4025 N SHERIDAN RD                                                                     CHICAGO               IL           60613
          HOWARD CRITCHFIELD
   225023 GONZALEZ                   REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
                                     AMERICAN BOU ASSOC CENTER
   667593 HOWARD DAVIDSON            CHILDREN                                       74015 TH STREET NW                                                                     WASHINGTON            DC           20005

   667594 HOWARD GONZALEZ MORENO                      RES BRISAS DEL MAR            EDIF 10 APT 86                                                                         SALINAS               PR           00751
          HOWARD GUTIERREZ
   225024 RODRIGUEZ                                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   225025 HOWARD HALL RAMIREZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   667595 HOWARD HARRISON GLASER                      ULSTER & DELAWARE TURNPIKE                                                                                           HIGHMOUNT             NY           12441
   225026 HOWARD JOHNSON HOTEL                        103 TURPO INDUSTRIAL PARK  MERCEDITAS                                                                                PONCE                 PR           00715
          HOWARD JOHNSON/RC
   225027 HOSPITALITY CORP                            PO BOX 250461                                                                                                        AGUADILLA             PR           00604

   225028 HOWARD JONHSON                              TURPO IND PARK103 MERCEDITA                                                                                          PONCE                 PR           00715
   667597 HOWARD KARNO BOOKS                          PO BOX 2001                                                                                                          VALLEY CENTER         CA           92082
                                                                                    138 AVE WINSTON CHURCHILL
   667598 HOWARD L FERRER HANSEN                      URB CROWN HILLS               STE 730                                                                                SAN JUAN              PR           00926
   667599 HOWARD MARTINEZ LEDEE                       PO BOX 1161                                                                                                          AGUAS BUENAS          PR           00703‐1161
   225029 HOWARD MD , MARK W                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
                                                      1740 E HALLANDALE BEACH
   225030 HOWARD MEDICAL CENTER                       BLVD                                                                                                                 HALLANDALE            FL           33009
   667600 HOWARD PARKHURST                            URB VILLA CAPARRA             1 CALLE C                                                                              GUAYNABO              PR           00966
   667601 HOWARD PRAVDA                               PO BOX 70364                                                                                                         SAN JUAN              PR           00936‐8364
          HOWARD RAMIREZ
   225031 VILLAHERMOSA                                REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   667602 HOWARD RIVERA LOPEZ                         HC 1 BOX 5899                                                                                                        SALINAS               PR           00751
          HOWER C FLOYD TREASURER                     IAOHRA C/O PA HUMAN REL
   667603 IAOHRA                                      COMMISSION                    101 S 2ND ST SUITE 300                                                                 HARRESBURG            PA           17105
   667604 HOWER DELGADO MALAVE                        P O BOX 7014                                                                                                         CAGUAS                PR           00726‐7014



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   667605 HOWIE CORIANO MARTINEZ                      URB CIUDAD INTERAMERICANA   BOX 573                                                                              BAYAMON             PR           00956‐6854
   225043 HOY SANTIAGO MD, LESLYE                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225061 HOYOS MURRAY MD, LILIANA                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225072 HOYOS TORRES, HECTOR C                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667606 HP CONSTRUCTION                             VILLA DEL PILAR             D 9 CALLE SAN RAFAEL                                                                 CEIBA               PR           00735
   225074 HP ENTERPRISE SERVICES, LLC                 2562 EXECUTIVE CIRCLE                                                                                            TALLAHASSEE         PR           32301
   667607 HP ONLY                                     PO BOX 41105                                                                                                     SAN JUAN            PR           00940
          HP PR BV C/O HP FINANCIAL
   225075 SERVICES                                    P O BOX 71494                                                                                                    SAN JUAN            PR           00936‐8594
   225077 HP PUERTO RICO LLC                          PO BOX 4050                                                                                                      AGUADILLA           PR           00605‐4050
          HPB INC / FARO CONFERENCE
   225078 CENTER                                      PO BOX 5148                                                                                                      AGUADILLA           PR           00603
   225080 HPB INC.                                    P O BOX 5148                                                                                                     AGUADILLA           PR           00605
   225081 HPM FOUNDATION INC                          PO BOX 14457                                                                                                     SAN JUAN            PR           00916

  1420055 HPM FUNDATION INC.                          ROBERTO BONANO RODRIGUEZ    AVE.INCIPAL BARALT I‐31                                                              FAJARDO             PR           00738‐3772
                                                      31 MAMARONECK AVE SUITE
   667608 HPN TECHNOLOGIES INC                        603                                                                                                              WHITE PLAINS        NY           10601
          HPRS CORP /JULIO A MICHEL
   667609 GARCIA                                      ONB 256 PO BOX 4985                                                                                              CAGUAS              PR           00726‐4985

   667610 HPSE PROPERTY MANAGMENT                     PO BOX 191747                                                                                                    SAN JUAN            PR           00919

   225083 HPSE, PROPERTY MANAGEMENT PO BOX 9023963                                                                                                                     SAN JUAN            PR           00902‐3963
          HPVH MOTOR CORP LEXUS DE
   225084 SAN JUAN                  INDUSTRIAL SAN RAFAEL                         1718 PONCE BY PASS                                                                   PONCE               PR           00716
   667612 HQ BUSINESS CENTERS       PO BOX 9065901                                                                                                                     SAN JUAN            PR           00906‐5901
          HQJ PLUMBING CONRACTORS
   225085 INC                       PO BOX 781                                                                                                                         HORMIGUEROS         PR           00660‐0781
   225086 HQJ PLUMBING SUPPLIES     PO BOX 781                                                                                                                         HORMIGUEROS         PR           00660
   225087 HQJ PLUMBING SUPPLIES INC BOX 781                                                                                                                            HORMIGUEROS         PR           00660‐0000
   667613 HQJ RENTAL EQUIPMENT INC  PO BOX 781                                                                                                                         HORMIGUEROS         PR           00660
  1420056 HR BUS LINE               JACINTO REYES RODRIGUEZ                       PO BOX 2254                                                                          JUNCOS              PR           00777
   225091 HR BUS LINE INC.          PO BOX 1958                                                                                                                        LAS PIEDRAS         PR           00771
   225094 HR DIRECT                 P.O. BOX 150497                                                                                                                    HARTFORT            CT           06115‐0497
   667614 HR DOORS AND WINDOWS      HC 1 BOX 1770                                                                                                                      BOQUERON            PR           00622
   667615 HR ENGINEERING            HC 73 BOX 5912 BO NUEVO                                                                                                            NARANJITO           PR           00719
   225096 HR MORTGAGE CORP          PO BOX 2072                                                                                                                        CAGUAS              PR           00725

   667616 HR PARTNER FOR SUCCESS INC                  PO BOX 1869                                                                                                      AIBONITO            PR           00705
   667617 HR PARTY RENTAL                             HERMANAS DAVILA             411 CALLE 1                                                                          BAYAMON             PR           00959‐5436
          HR PROPERTIES INC ( MARRIOTT
   667618 )                                           P O BOX 12112                                                                                                    SAN JUAN            PR           00914‐8053
   667619 HR SUBCONTRACTORS INC                       PO BOX 391                                                                                                       TOA ALTA            PR           00954
   225097 HRD GROUP INC                               PMB 408                                                                                                          CAROLINA            PR           00948‐6022

   225098 HRD QUARTERTERLY                            2002 RENAISSANCE BOULEVARD                                                                                       KING OF PRUSSIA     PA           19406‐2756
   225099 HRD TRENDS, INC.                            PO BOX 5331                654 MUNOZ RIVERA AVE.                                                                 SAN JUAN            PR           00919‐5331
   667621 HREZ CORPORATION                            P.O. BOX 1026                                                                                                    LAS PIEDRAS         PR           00771
   225100 HRG INCORPORATION                           P O BOX 1175                                                                                                     SALINAS             PR           00751
   225102 HRIDAYA COLON QUINONES                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667622 HRM CONSTRUCION INC                         PO BOX 51906                                                                                                     TOA BAJA            PR           00950‐1906



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  225103 HRM CONSTRUCTION INC                          PO BOX 51906                                                                                                            TOA BAJA             PR           00956
  225104 HRML AND ASSOCIATES LLC                       PO BOX 360101                                                                                                           SAN JUAN             PR           00936‐0101
         HRP STUDIO / HECTOR R PEREZ
  225107 SILVESTRY                                     6335 VOLTAIRE DR                                                                                                        ORLANDO              OR           32809
  225108 HRPLABS                                       P O BOX 366527                                                                                                          SAN JUAN             PR           00936‐6527
  225109 HRR DISTRIBUIDORA PR, INC                     871, AVE. HOSTOS SUITE 3                                                                                                MAYAGUEZ             PR           00680

   225110 HRR Distribuidora Puerto Rico                871 Ave Hostos Ste 3 Mayagüez                                                                                           Mayagüez             PR           00680
          HRR DISTRIBUIDORA PUERTO
   225111 RICO INC.                                    HC05 BOX 52930                                                                                                          SAN SEBASTIAN        PR           00685
          HRR DISTRIBUTORS PUERTO
   225112 RICO INC                                     HC 5 BOX 52930                                                                                                          SAN SEBASTIAN        PR           00685
   225113 HRUSKA MD, JOHN                              REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   225114 HRV ENGINEERS GROUP PSC                      27 AVE LIBORIO LOPEZ                                                                                                    SABANA GRANDE        PR           00637
   225116 HRW DISTRIBUITOR INC                         425 CARR 693                    PMB 105                                                                                 DORADO               PR           00646
   667623 HS ELECTRIC                                  PO BOX 800362                                                                                                           COTO LAUREL          PR           00780‐0362

   667624 HS GENERAL CONTRACTORS INC PO BOX 800362                                                                                                                             COTO LAUREL          PR           00780‐0362
   225118 HS MECHANICAL GROUP, INC   406 VILLA FONTANA                                                                                                                         MAYAGUEZ             PR           00682

   667625 HS MECHANICAL WORKS CORP                     406 VILLA FONTANA                                                                                                       MAYAGUEZ             PR           00682

   225122 HSBC                                         700 N WOOD DALE RD BLDG 3 B                                                                                             WOOD DALE            IL           60191
   225123 HSBC BUSINESS SOLUTIONS                      PO BOX 5219                                                                                                             CAROL STREAM         IL           60197‐5219
          HSBC NORTH AMERICA
   225124 HOLDINGS INC                                 UNCLAIMED PROPERTY              2929 WALDEN AVE C74                                                                     DEPEW                NY           14043
   225125 HSEC CARIBE INC                              PO BOX 6419                                                                                                             BAYAMON              PR           00960
   667626 HSS ASSOCIATES                               1200 ROUTE 23 NORTH                                                                                                     BUTLER               NJ           07405
   225128 HSU MD, KATHERINE                            REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   667627 HSV IVESTMENT INC                            GARDENS HILLS                   VILLAS A 3 CALLE FLAMBOYAN                                                              GUAYNABO             PR           00966
   225129 HTT SERVICE                                  PO BOX 99                                                                                                               SAN GERMAN           PR           00683
          HU INC CLAY HUMPHREY
   667628 PRODUCTIONS                                  P O BOX 9065960                                                                                                         SAN JUAN             PR           00906‐5960
   225139 HUANA N MARTINEZ PRIETO                      REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   225140 HUANG MD, CC                                 REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   225143 HUB INTERNATIONAL TEXAS INC                  421 W 3RD ST STE 800                                                                                                    FORT WORTH           TX           76102‐3749
   225144 HUBBELL CARIBE LIMITED                       REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   225146 HUBELINDA CORTES VEGA                        REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   225147 HUBER SANCHEZ CORDERO                        REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   225148 HUBERT ACEVEDO VIERA                         REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   225149 HUBERT RAMIREZ CANO                          REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   225150 HUBERTO L GRACIA MACHUCA                     REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   225151 HUBERTO NEGRON SANTIAGO                      REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
                                                       122 EAST 26TH STREET 5TH
   667629 HUDSON HILL PRESS INC                        FLOOR                                                                                                                   NEW YORK             NY           10010‐2936
   225167 HUDSON MD, GEORGE                            REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          HUDSON RIVER COMMUNITY
   225168 HEALTH                                       1037 MAIN ST                                                                                                            PEEKSKILL            NY           10566




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          HUDSON VALLEY MENTAL
   225173 HEALTH                                      223 MAIN ST                                                                                                         BEACON              NY           12508
  1256561 HUELLAS THERAPY CORP                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      PMB 151 B5, CALLE TABONUCO
   225177 HUELLAS THERAPY, CORP                       STE 216                                                                                                             GUAYNABO            PR           00968‐3029
          HUELLITAS DE AMOR PEDIATRIC
   225185 HOME CA                                     PMB 465 200 AVE RAFAEL L     CORDERO STE 140                                                                        CAGUAS              PR           00725
   225187 HUELLITAS INC. CCD                          HC 08 BOX 300                                                                                                       PONCE               PR           00731‐9721
   225247 HUERTAS COLLEGE                             HECTOR R. BUNKER # 4                                                                                                CAGUAS              PR           00725
   225310 HUERTAS JUNIOR COLLEGE                      PO BOX 8429                                                                                                         CAGUAS              PR           00726

  1420057 HUERTAS LEON, EMMANUEL                      CARLOS M. CALDERON GARNIER   PO BOX 193881                                                                          SAN JUAN            PR           00919
   225408 HUERTAS RIOS, LINDA I                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      LCDA.CYNTHIA ESPÉNDEZ
  1420058 HUERTAS RIVERA, LUIS                        SANTIESTEBAN                 PO BOX 1113                                                                            GUAYAMA             PR           00785‐1113
  1420059 HUERTAS SANTIAGO, JESSICA                   GENOVEVA VALENTÍN SOTO       PO BOX 13695                                                                           SAN JUAN            PR           00908‐3695
  1420060 HUERTAS SANTIAGO, JESSICA                   GENOVEVA VALENTÍN SOTO       PO BOX 13695                                                                           SAN JUAN            PR           00908‐3695
   225457 HUERTAS SOLA MD, LISSETTE                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667631 HUERTAS TRADING CORP                        PO BOX 8915                                                                                                         BAYAMON             PR           00960

   225482 HUERTAS VELAZQUEZ MD, ILIA                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225493 Huertas‐Rivera, Juana                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667632 HUERTO DORADO INC                           BO CECILIA                   BOX 656                                                                                NAGUABO             PR           00718
   667633 HUFSTE HER & GONZALEZ                       PO BOX 3201                                                                                                         GUAYNABO            PR           00970‐3201

   667634 HUGAL R RIOS DIAZ                           BOX 609                      BO. BARRACOS SECTOR LOS RIOS                                                           BARRANQUITAS        PR           00794
   225500 HUGGABLE IMAGES LLC                         P O BOX 7861                 SHAWNEE MISSION                                                                        KS                  KS           66207
   225501 HUGGINS BROWN, SONIA E                      REDACTED                     REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225508 HUGHES MD, LESLIE                           REDACTED                     REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667637 HUGHES SUPPLY INC                           PO BOX 60171                                                                                                        CAROLINA            PR           00984
   667638 HUGHS SUPPLIES INC.                         SUITE 51                     PO BOX 6004                                                                            CAROLINA            PR           00984

   225510 HUGO A GALEANA MALDONADO REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667640 HUGO A MIRANDA LOPEZ     PALACIOS DEL RIO I                              484 CALLE TANAMA                                                                       TOA ALTA            PR           00953‐5009
   667641 HUGO A ROSADO            PO BOX 2078                                                                                                                            ARECIBO             PR           00688
   225512 HUGO A SERRA RODRIGUEZ   REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225513 HUGO ALVAREZ ANTONINI    REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225515 HUGO AMBROSIANI PARES    REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                   1 COND TORRE DE ANDALUCIA
   667643 HUGO APONTE MORAN        APT 1108                                                                                                                               SAN JUAN            PR           00926
   667644 HUGO ARANA TORROS        RR 9 BOX 1838                                                                                                                          SAN JUAN            PR           00926‐9714
   667645 HUGO ARCHILLA            EXT VILLA RICA                                  U 26 CALLE 14                                                                          BAYAMON             PR           00969
   225516 HUGO AYALA NATER         REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667646 HUGO BRAND FERRARI       HC 1 BOX 5389                                                                                                                          JUANA DIAZ          PR           00795
   667648 HUGO DIAZ JORDAN         PO BOX 361075                                                                                                                          SAN JUAN            PR           00936‐1075
   225517 HUGO DIAZ MOLINI         REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667650 HUGO E FONSECA CASTILLO  URB VALENCIA                                    322 VALENCIA APTO B 3                                                                  SAN JUAN            PR           00923
   667651 HUGO E MARTINEZ MORALES  P O BOX 141014                                                                                                                         ARECIBO             PR           00613

   667652 HUGO E MARTINEZ RODRIGUEZ                   400 AVE F D ROOSEVELT STE 303                                                                                       SAN JUAN            PR           00918
   225519 HUGO ESTEVES CONTRERAS                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225521 HUGO F RAMIREZ ARIAS                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   667654 HUGO F RIVEROS BERNAL                       PLAZA TORRIMAR I SUITE 2202                                                                                              BAYAMON             PR           00959
   667655 HUGO FALCON PEREZ                           URB BAIROA                    CF 7 CALLE 6                                                                               CAGUAS              PR           00725
   225522 HUGO GIL GONZALEZ                           REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225524 HUGO HERNANDEZ PEREZ                        REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667658 HUGO HERNANDEZ SANCHEZ                      PO BOX 8927                                                                                                              BAYAMON             PR           00960‐8038
   225525 HUGO J A DANIELSON PEREZ                    REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225526 HUGO J REDONDO DOBLE                        REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667662 HUGO L APELLANIZ ROSARIO                    URB PURPLE TREE               509 FERNANDEZ VANGA                                                                        SAN JUAN            PR           00926
   225527 HUGO L BAEZ BELTRAN                         REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225528 HUGO L BENITEZ JIMENEZ                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225529 HUGO L CANCEL PAGAN                         REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667664 HUGO L DEIDA GONZALEZ                       URB EL CONQUISTADOR           K 5 CALLE 9                                                                                TRUJILLO ALTO       PR           00976‐0000
   225530 HUGO L ORTIZ NIEVES                         REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667666 HUGO L PEREZ                                URB JUAN PONCE DE LEON        211 CALLE 24                                                                               GUAYNABO            PR           00969‐4446
   225531 HUGO L RIVERA ROSARIO                       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667667 HUGO L SOTO AYALA                           URB CAFETAL II                J 38 CALLE ANDRES                                                                          YAUCO               PR           00698
   225532 HUGO L VARONA                               REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225535 HUGO LOPEZ CASAS                            REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225536 HUGO M ALVAREZ VELEZ                        REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225537 HUGO M BOLIVAR SOLANO                       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225538 HUGO MARTINEZ CRUZ                          REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667669 HUGO MARTINEZ REYES                         HC 01 BOX 3042                                                                                                           CAMUY               PR           00627
   225540 HUGO MARTINEZ YANEZ                         REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225541 HUGO MATEO GRULLON                          REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667670 HUGO MATOS NEGRON                           URB PRADOS DE DORADO          SUR 99 CALLE ZIRCONIA                                                                      DORADO              PR           00646

   667671 HUGO MIRANDA                                ESTACION FERNANDEZ JUNCOS     P O BOX 11855                                                                              SAN JUAN            PR           00910‐4225
   225542 HUGO MONTOYA CORDERO                        REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225543 HUGO MORA RODRIGUEZ                         REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225544 HUGO N MELENDEZ ALGARIN                     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667673 HUGO PALACIO VAZQUEZ                        URB TIERRA ALTA II            M5 CALLE ALONDRA                                                                           GUAYNABO            PR           00969
   225545 HUGO PEREZ ROSSO                            REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225546 HUGO QUINTERO LOURIDO                       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HUGO R ECHEVARRIA Y ANA
   225547 TAVAREZ                                     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   667676 HUGO RAMON GALLO                            PMB 161                       URB STA JUANITA UU 1 CALLE 39                                                              BAYAMON             PR           00956
   667677 HUGO RAMOS CRUZ                             URB ROLLING HILLS             EE 131 CALLE SAN LUIS                                                                      CAROLINA            PR           00987
   667679 HUGO RODRIGUEZ DIAZ                         COND LAS TORRES NORTE         OFICINA 1‐A                                                                                BAYAMON             PR           00959

   667680 HUGO ROMAN RIVERA                           URB HUCARES                   W3‐52 CALDERON DE LA BARCA                                                                 SAN JUAN            PR           00926
   225550 HUGO RUIZ PEREZ                             REDACTED                      REDACTED                   REDACTED                                 REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225551 HUGO SAAVEDRA CALERO                        REDACTED                      REDACTED                   REDACTED                                 REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667681 HUGO SARROGA SOSA                           PO BOX 324                                                                                                               LARES               PR           00669
   225553 HUGO UGOBONO PIETRI                         REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225554 HUGO VALENTIN OLIVERA                       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667682 HUGO VEGA CASTRO                            BOX 1441                                                                                                                 JUANA DIAZ          PR           00795
   667683 HUGO VIDAL                                  LOMAS DEL MIRADOR             MELO 855 B 1752                                                                            BUENOS AIRES                                   ARGENTINA
   667639 HUGO Y MERCADO FALCO                        13 CALLE E URB BACO                                                                                                      ENSENADA            PR           00647

   667685 HUGUETTE DARVISON RAMIREZ PO BOX 7428                                                                                                                                SAN JUAN            PR           00916




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   667686 HUGUETTE PARVISON RAMIREZ                   CARRETERA 3 R 887 K 2 H 4     BO SAN ANTON                                                                            CAROLINA             PR           00987‐9703
   225561 HUI WU GUANG                                REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   225562 HUI Z YU LING                               REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   225563 HUIE LIU                                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   667687 HULBIA E CORCHADO ESTRADA                   URB VILLA CAROLINA            30‐4 CALLE 8                                                                            CAROLINA             PR           00985
   225566 HULDA B FIGUEROA MULET                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   225567 HULVIA RODRIGUEZ RODRIGUEZ REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HUMACAO ANESTHESIA SERVICE
   225568 PSC                        PO BOX 489                                                                                                                             HUMACAO              PR           00792

   667688 HUMACAO ANIMAL SHELTER INC PMB 277 P O BOX 851                                                                                                                    HUMACAO              PR           00792
   667689 HUMACAO AUTOMOTIVE INC     RD PR 177 NO 2501 FAST                         LANE BUILDING                                                                           GUAYNABO             PR           00969
   225569 HUMACAO BEACH CLUB INC     500 AVE PINEIRO SUITE 605                                                                                                              SAN JUAN             PR           00918
          HUMACAO CASH REGISTER &
   667690 SEWING                     25 CALLE PADRE RIVERA                                                                                                                  HUMACAO              PR           00791
          HUMACAO COMMUNITY
   225570 COLLEGE                    P O BOX 9139                                                                                                                           HUMACAO              PR           00792

   667691 HUMACAO FARM & DAIRY INC                    P O BOX 1640                                                                                                          JUNCOS               PR           00777
   667692 HUMACAO GLASS                               PO BOX 814                                                                                                            HUMACAO              PR           00792
                                                      HACIENDA SAN JOSE VILLA
   225573 HUMACAO HARDWARE, INC.                      CARIBE NO. 88 VIA CRISTIANA                                                                                           CAGUAS               PR           00727‐0000

   667693 HUMACAO INTERNAL MEDICINE SUITE 290                                       PO BOX 4952                                                                             CAGUAS               PR           00726
   667694 HUMACAO MOTOR REBUILT     4 CALLE TOMAS CRUZ                                                                                                                      HUMACAO              PR           00792
   667695 HUMACAO MUFFLER SHOP      PO BOX 9243                                                                                                                             HUMACAO              PR           00792

   667696 HUMACAO ORTHO BRACE INC                     9 CALLE MIGUEL CASILLAS                                                                                               HUMACAO              PR           00791‐3637
   667697 HUMACAO RADIATORS                           P O BOX 1248                                                                                                          JUNCOS               PR           00777
   667698 HUMACAO SCHOOL SUPPLY                       7 MOYA HERNANDEZ                                                                                                      HUMACAO              PR           00791
          HUMACAO SPEECH AND
   225574 AUDIOLOGY CENTER CSP                        P O BOX 600                                                                                                           PUNTA SANTIAGO       PR           00741
   667699 HUMACAO TROPHY CENTER                       P O BOX 8406                                                                                                          HUMACAO              PR           00792
   667700 HUMACAO VIDEO REPAIR                        162 AVE FONT MARTELLO                                                                                                 HUMACAO              PR           00791
          HUMAN CAPITAL CONSULTING                                                  250 AVE MUNOZ RIVERA SUITE
   225575 GROUP                                       AMERICAN INTER PLAZA          404                                                                                     SAN JUAN             PR           00918
          HUMAN EDUC & LEARDERSHIP
   225576 PROJECTS INC                                413 SAN JORGE ST SUITE 1000                                                                                           SAN JUAN             PR           00912
          HUMAN FACTORS
   667701 INTERNATIONAL, INC.                         P. O. BOX 2020                                                                                                        FAIRFIELD            IA           52556
   225579 HUMAN MEDICAL SUPPLY INC                    PMB 94 P O BOX 70344                                                                                                  SAN JUAN             PR           00936‐8344
          HUMAN RESOURCE
   225581 CERTIFICATION INSTITUTE                     1725 DUKE ST SUITE 700                                                                                                ALEXANDRIA           VA           22314
          HUMAN RESOURCE DIVERSIFIED
   225582 GROUP                                       PMB 408                      PO BOX 6022                                                                              CAROLINA             PR           00984‐6022
                                                      623 P DE LEON COND EXECUTIVE
   667702 HUMAN RESOURCES DEV CORP                    TOWER                        SUITE 903 B                                                                              SAN JUAN             PR           00918
   225584 HUMAN SERVICES INC                          520 E LANCASTER AVE                                                                                                   DOWNINGTOWN          PA           19335

   667703 HUMAN SYNERGISTICS INC                      39819 PLYMOUNTH RD C 8020                                                                                             MIAMI                FL           48170‐8020



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          HUMAN SYSTEMS
   225585 MULTISERVICES                               1519PONCE DE LEON          SUITES 4007                   FIRST SYSTEMS BUILDING                                     SANTURCE              PR           00909
          HUMANA HEALTH PLAN OF PR
   225586 INC                                         383 AVE F ROOSEVELT                                                                                                 SAN JUAN              PR           00918‐2131
   225590 HUMANA INC                                  500 W MAIN ST 11TH FLOOR                                                                                            LOUISVILLE            KY           40202
   225591 HUMANA INSURANCE CO.                        P.O. BOX 3024                                                                                                       Milwaukee             WI           53201‐3024
   667704 HUMANA INSURANCE OF P R                     P O BOX 9243                                                                                                        SAN JUAN              PR           00908

   225592 HUMANA INSURANCE OF P R INC AREA DEL TESORO                            CONTADURIA GENERAL                                                                       SAN JUAN              PR           00902

   225594 HUMANA INSURANCE OF PR                      DEPARTAMENTO DE HACIENDA   EDIF. INTENDENTE RAMIREZ                                                                 SAN JUAN              PR           00901

   225595 HUMANA INSURANCE OF PR, INC 383 AVE FD ROOSEVELT                                                                                                                SAN JUAN              PR           00918‐2131
          HUMANA INSURANCE PUERTO
   225598 RICO                        PO BOX 70310                                                                                                                        SAN JUAN              PR           00936‐8310
          HUMANE SOCIETY
   225599 INTERMANTIONAL              700 PROFESSIONAL DRIVE                                                                                                              GAITHERSBURG          MD           20879
          HUMANE SOCIETY
   225600 INTERNATIONAL               700 PROFESSIONAL DRIVE                                                                                                              GAITHERSBURG          MD           20879
   667705 HUMANE SOCIETY OF PONCE     PO BOX 7242                                                                                                                         PONCE                 PR           00732
          HUMANE SOCIETY OF PUERTO
   667706 RICO INC                    PO BOX 2387                                                                                                                         GUAYNABO              PR           00971
          HUMANO MULTICULTURAL
   225602 PROJECT INC                 P O BOX 21088                                                                                                                       SAN JUAN              PR           00928

          HUMANS ENGAGED INLEARNING
   225604 PRODEDURES INC            CENTRO INTERNACIONAL DE                      MERCADEO TORRE II SUITE 702                                                              GUAYNABO              PR           00968‐8058
   225606 HUMBERTO A CARO GAUTIER   REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          HUMBERTO A DEL VALLE
   225607 CENTENO                   REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          HUMBERTO A VAZQUEZ
   225608 FIGUEROA                  REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   225609 HUMBERTO A. CARO GAUTIER                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   225610 HUMBERTO ABRAHAM ALONSO REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   667708 HUMBERTO ALVAREZ PARDO     P O BOX 3514                                                                                                                         MAYAGUEZ              PR           00681
          HUMBERTO AVELLANE / EQUIPO
   667710 LOS ANGELES                DE CABO ROJO                                BOX 198                                                                                  CABO ROJO             PR           00623

   225612 HUMBERTO BABILONIA SIERRA                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   667711 HUMBERTO BAEZ RODRIGUEZ                     URB VILLA DEL CARMEN       LI 31 AVE CONSTANCIA                                                                     PONCE                 PR           00731

   225614 HUMBERTO CAMACHO CASTRO                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          HUMBERTO CAMACHO
   667713 MORALES                                     PO BOX 7126                                                                                                         PONCE                 PR           00732
          HUMBERTO CASANOVA
   225616 GONZALEZ                                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   225617 HUMBERTO CEDENO MARTINEZ REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   667717 HUMBERTO COLLAZO RUIZ    REPARTO SAMAR                                 F 3 CALLE 4                                                                              BOQUERON              PR           00622
   667718 HUMBERTO COLON           PO BOX 7126                                                                                                                            PONCE                 PR           00732



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  667719 HUMBERTO COLON ORTIZ                         HC 2 BOX 7995                                                                                                    BARRANQUITAS      PR         00794
  225619 HUMBERTO CRUZ CRUZ                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  667721 HUMBERTO CRUZ OTERO                          PO BOX 735                                                                                                       COMERIO           PR         00782

   225620 HUMBERTO CRUZ RODRIGUEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   225621 HUMBERTO D CRUZ GONZALEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          HUMBERTO D FAUNDE
   667723 OBREGON                                     OASIS GARDENS              I‐20 CALLE ARGENTINA                                                                  GUAYNABO          PR         00969

   225622 HUMBERTO DE LEON GONZALEZ REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   225623 HUMBERTO DIAZ MERCADO     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   667724 HUMBERTO DIAZ NEGRON      8 CALLE DUFRESNE                                                                                                                   HUMACAO           PR         00791
   667725 HUMBERTO DIAZ OCASIO      P O BOX 893                                                                                                                        CAYEY             PR         00737
   225624 HUMBERTO DIAZ TORRES      REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          HUMBERTO DONATO
   667726 BURQUERAS                 PO BOX 10225                                                                                                                       SAN JUAN          PR         00922
          HUMBERTO DURAN DBA GARAJE
   225625 HUMBERTO                  533 CALLE CAROLINA                                                                                                                 SAN JUAN          PR         00917

   667727 HUMBERTO DURAN MANZANAL 533 CALLE CAROLINA                                                                                                                   SAN JUAN          PR         00917‐0000

   667728 HUMBERTO E NEGRON OLIVERAS URB REPTO VALENCIA                          AH 29 CALLE 11                                                                        BAYAMON           PR         00959
                                                                                 3013 AVE ALEJANDRINO APT
   667730 HUMBERTO ESCABI PAGAN                       COND FONTAINE BLEU PLAZA   2102                                                                                  GUAYNABO          PR         00969
          HUMBERTO ESPINOSA, ZAIDA
   225628 LARRIMORE Y                                 REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   225629 HUMBERTO FIGUEROA                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   225630 HUMBERTO GONZALEZ BARRETO REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          HUMBERTO GONZALEZ
   667737 GONZALEZ                  BOX 534                                                                                                                            AGUADA            PR         00602

   225631 HUMBERTO HERNANDEZ CORTES REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   667740 HUMBERTO INZUNZA CARVAJAL URB ANTIGUA VIA                              EDIF 12 APT L2                                                                        SAN JUAN          PR         00926
   667742 HUMBERTO J BETANCOURT     HC 646 BOX 6325                                                                                                                    TRUJILO ALTO      PR         00976
          HUMBERTO J BUITRAGO
   225632 HUERTAS                   REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   225634 HUMBERTO J PUENTE ARROYO                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   225635 HUMBERTO JIMENEZ SOTO                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   225636 HUMBERTO L COLON NEGRON                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   667744 HUMBERTO L MAYSONET                         PO BOX 21365                                                                                                     SAN JUAN          PR         00928
          HUMBERTO L SAAVEDRA
   225637 HERNANDEZ                                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   225638 HUMBERTO LEON ZAMORA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   225639 HUMBERTO LETRIZ CORDERO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   667745 HUMBERTO LUGO NEGRON                        HC 05 BOX 93952                                                                                                  ARECIBO           PR         00612

   225640 HUMBERTO MAFFUZ MONTALVO REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   225641 HUMBERTO MALAVE NUNEZ    REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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   225642 HUMBERTO MALAVE SANTIAGO REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   667746 HUMBERTO MARTINEZ ARCELAY PO BOX 8199                                                                                                                         SAN JUAN            PR           00910‐8199
   667747 HUMBERTO MARTINEZ ORTIZ   HC 01 BOX 3580                                                                                                                      AIBONITO            PR           00705
          HUMBERTO MARTINEZ
   667748 RODRIGUEZ                 PO BOX 560848                                                                                                                       GUAYANILLA          PR           00656

   667749 HUMBERTO MELENDEZ DE JESUS PO BOX 373484                                                                                                                      CAYEY               PR           00737‐3484

   667750 HUMBERTO MERCADO GOTAY                      VILLA CAROLINA 3RA EXT   28 103 CALLE 104                                                                         CAROLINA            PR           00985
          HUMBERTO MERCADO
   667751 MONTENEGRO                                  URB ROOSEVELT            403 CALLE ING JUAN A DAVILA                                                              SAN JUAN            PR           00918
   225644 HUMBERTO MERCADO ORTIZ                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667752 HUMBERTO MIRANDA                            PASEO ARPA C 2182        LEVITOWN                                                                                 TOA BAJA            PR           00949

   667753 HUMBERTO MIRANDA BARROSO TOA LINDA                                   C 38 CALLE C                                                                             TOA ALTA            PR           00953

   667754 HUMBERTO MIRANDA LIZARDI                    PO BOX 360974                                                                                                     SAN JUAN            PR           00936 0974
   667755 HUMBERTO MORO ARROYO                        170 CALLE PEREZ                                                                                                   SAN JUAN            PR           00911
   667756 HUMBERTO NIEVES RAMIREZ                     PO BOX 704                                                                                                        LARES               PR           00669

   225646 HUMBERTO NUNEZ GONZALEZ                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   667758 HUMBERTO OLIVENCIA RABELL                   PO BOX 3125                                                                                                       MAYAGUEZ            PR           00681‐3125
   667759 HUMBERTO OLIVIERI ORTIZ                     PO BOX 1683                                                                                                       AIBONITO            PR           00705
   667761 HUMBERTO ORTIZ GORDILS                      PO BOX 547                                                                                                        HUMACAO             PR           00792

   667763 HUMBERTO PADILLA RODRIGUEZ HC 01 BOX 5701                            BO QUEBRADILLAS                                                                          BARRANQUITAS        PR           00794

   225647 HUMBERTO PAGAN HERNANDEZ REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225648 HUMBERTO PAGAN ZAYAS     REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   667765 HUMBERTO PELLOT NAVARRO                     URB. REPARTO TERESITA    AH‐14 CALLE 23                                                                           BAYAMON             PR           00961
          HUMBERTO PELLOT/ TERESITA
   225649 GARCIA                                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667766 HUMBERTO PEREZ PEREZ                        P O BOX 1620                                                                                                      ARECIBO             PR           00613

   225651 HUMBERTO PIZARRO PIZARRO                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667769 HUMBERTO PUENTE ROBLES                      LAS DELICIAS             BC 31 CALLE 6                                                                            PONCE               PR           00731
   225652 HUMBERTO QUINTANA                           REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667770 HUMBERTO RAMOS CUEVAS                       PO BOX 2493                                                                                                       ARECIBO             PR           00613 2493
   667707 HUMBERTO RAMOS RAMOS                        58 AVE RIVERA MORALES                                                                                             SAN SEBASTIAN       PR           00685

   225653 HUMBERTO REVERON SANTOS                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225654 HUMBERTO RIVERA AYALA                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225655 HUMBERTO RIVERA PAGAN                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225656 HUMBERTO RIVERA TORRES                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225657 HUMBERTO RODRIGUEZ                          REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   225658 HUMBERTO RODRIGUEZ BURGOS REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          HUMBERTO RODRIGUEZ
   667771 CARMONA                   P O BOX 1801                                                                                                                        CABO ROJO           PR           00623



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   225659 HUMBERTO RODRIGUEZ LOPEZ                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HUMBERTO RODRIGUEZ
   667772 RODRIGUEZ                                   HC 02 BOX 9936                                                                                              AIBONITO             PR           00705

   225660 HUMBERTO RODRIGUEZ TORRES REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HUMBERTO RODRIGUEZ
   667774 VALENTIN                  PO BOX 2130                                                                                                                   VEGA ALTA            PR           00692
   225661 HUMBERTO ROSADO           REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HUMBERTO ROSARIO
   667775 RODRIGUEZ                 C 34 URB BELLA VISTA                                                                                                          AIBONITO             PR           00705
          HUMBERTO SALVARREY
   667776 GONZALEZ                  PO BOX 9158                                                                                                                   CAROLINA             PR           00988‐9158

   225662 HUMBERTO SANDOVAL PINEIRO REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   667777 HUMBERTO SANTIAGO RIVERA                    LA ROSALEDA 2 LEVITTOWN   RP 16 CALLE TULIPAN                                                               TOA BAJA             PR           00949
   225663 HUMBERTO SIERRA ROLON                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   225664 HUMBERTO SIMONETTI JIMENEZ REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   225665 HUMBERTO SOLER MELENDEZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   225666 HUMBERTO SOTO                               REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   225667 HUMBERTO SOTO MAINARDI                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   225668 HUMBERTO SUAREZ FERNANDEZ REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   225669 HUMBERTO SULLIVAN ROSADO                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   225670 HUMBERTO TORRES BURGOS                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   225671 HUMBERTO TORRES CENTENO                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   225672 HUMBERTO TORRES RODRIGUEZ REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HUMBERTO V BALSINDE DE    COND MARBELLA CARIBE OESTE
   667783 MENA                      APT 707                                     AVE ISLA VERDE                                                                    CAROLINA             PR           00979
          HUMBERTO VALENTIN
   225673 QUINONES                  REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   667784 HUMBERTO VALLEJO SANTOS   URB. LAS LOMAS                              BB 21 CALLE BONELLI                                                               CAROLINA             PR           00985
   667785 HUMBERTO VAN TUL LEWIS    HC 1 BOX 4861                                                                                                                 SALINAS              PR           00751‐9718
   667787 HUMBERTO VAZQUEZ          UNIVERSITY GARDENS                          263 CALLE COLUMBIA                                                                SAN JUAN             PR           00927
   225674 HUMBERTO VAZQUEZ LUGO     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   225675 HUMBERTO VAZQUEZ RIVERA   REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   667788 HUMBERTO VEGA GUTIERREZ   BOX 3301                                                                                                                      MAYAGUEZ             PR           00681‐3301
          HUMBERTO VELAZQUEZ
   225677 VELAZQUEZ                 REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   225678 HUMBERTO VELEZ ROQUE      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   667790 HUMBERTO VICENTE TOLEDO   ALTURAS INTERAMERICANA                      R 15 CALLE 12                                                                     TRUJILLO ALTO        PR           00976
   667791 HUMBERTO VIDAL INC .      PO BOX 21480                                                                                                                  SAN JUAN             PR           00928‐1480
   225679 HUMBOLDT MGF CO           875 TOLLGATE RD                                                                                                               ELGIN                IL           60123
   225681 HUMERTO SANTOS RIOS       REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   667793 HUMIDITY CONTROL SOLUTION                   P O BOX 360589                                                                                              SAN JUAN             PR           00936‐0589




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          HUMMINGBIRD
   667794 COMMUNICATIONS                              1 SPARKS AVENUE NORTH YORK                                                                                      ONTARIO              ON           M2H 2W1       Canada
   225684 HUNG MD , VIRGINIA S                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   225689 HUNT HENION                                 PO BOX 1682                                                                                                     EUREKA               MT           59917
          HUNTER CREEK MEDICAL
   225692 ASSOCIATES                                  1178 CYPRESS GLEN CIR                                                                                           KISSIMMEE            FL           34741
          HUNTER MELLADO MD, ROBERT
   225693 F                                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   225694 HUNTERDON MEDICAL CENTER                    2100 WESTCOTT DR                                                                                                FLEMINGTON           NJ           08822
   225695 HUNTINGTON HOSPITAL                         ATTN MEDICAL RECORDS          270 PARK AVE                                                                      HUNTINGTON           NY           11743

   225696 HUNTON & WILLIAMS LLP                       RIVERFRONT PLAZA EAST TOWER 951 EAST BYRD STREET                                                                RICHMOND             VA           23219‐4074

   225697 HUNTSMAN CANCER HOSPITAL                    MEDICAL RECORDS               1950 CIRCLE OF HOPE                                                               SALT LAKE CITY       UT           84112
   225699 HUPERT MD, LEON                             REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          HURACANES BASEBALL &
   225700 RUNNERS TEAM INC                            URB STA JUANA                 H 5 CALLE 2                                                                       CAGUAS               PR           00725
   225701 HURACANES Y CASA SEGURSA                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   225703 HURON VALLEY HEARING                        820 BYRON RD                  SUITE 500                                                                         HOWELL               MI           48843
                                                      CARR 887 KM 2.0 HM 2 BO SAN
   225704 HURRICANE METALS INC                        ANTON                                                                                                           CAROLINA             PR           00983
   667795 HURRICANE SHUTLERS                          URB CAPARRA TER               817 AVE DE DIEGO                                                                  SAN JUAN             PR           00921
   225721 HURTADO RIVERA, GILBERTO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   225727 HUSANZAD MD, GHAZI                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   667796 HUSSEIN FARHAT NEHME                        COND LA POSADA                6000 AVE ISLA VERDE                                                               CAROLINA             PR           00979
   225736 HUTCHINSON MD, MICHAEL                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   225740 HVAC DIGITAL                                PO BOX 3184                                                                                                     BAYAMON              PR           00960‐3184
   225741 HVAC DIGITAL INC                            URB COLINAS DE BAYAMON        612 CALLE GUARIONEX                                                               BAYAMON              PR           00960
  1256562 HVAC SOLUTIONS INC.                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   225742 HVAC SOLUTIONS INC.                         PO BOX 362255                                                                                                   SAN JUAN             PR           00936
   225743 HVP MOTOR CORP                              2616 BO PAMPANOS              PONCE BY PASS                                                                     PONCE                PR           00728
          HYAM S SANTIAGO / MADELINE
   225744 ORTIZ                                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   225745 HYDAMIS CRUZ DE JESUS                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   667799 HYDE PARK TEXACO                            PO BOX 362932                                                                                                   SAN JUAN             PR           00936
   667800 HYDRA COMUNICATIONS INC                     PO BOX 193562                                                                                                   SAN JUAN             PR           00919‐3562
   667801 HYDRA FASHION                               PO BOX 9024275                                                                                                  SAN JUAN             PR           00902‐4275

   667802 HYDRAULIC EQUIPMENT REPAIR                  PO BOX 606                                                                                                      MOCA                 PR           00676
          HYDRAULIC SUPPLY
   225747 COMPONENTS CORP                             P O BOX 50191                                                                                                   TOA BAJA             PR           00949‐0191
   225748 HYDRO ORGANICS FARMS INC                    P O BOX 49                                                                                                      VIEQUES              PR           00765
   667803 HYDRO TEC                                   PO BOX 2125                                                                                                     ARECIBO              PR           00674
   225749 HYDRO TECH FARMS                            HC 8 BOX 1286                                                                                                   PONCE                PR           00731
          HYDROACOURTIC TECHNOLOGY
   667804 INC                                         715 NE NORTHLAKE WAY                                                                                            SEATTLE              WA           98105
   225750 HYDROEX CORP                                79 CALLE REINA ALEXANDRA                                                                                        GUAYNABO             PR           00969‐3273
   667805 HYDROLAB CORPORATION                        P O BOX 50116                                                                                                   AUSTIN               TX           78763
   225751 HYDROLAB HACH COMPANY                       LOVELAND SERVICE CENTER                                                                                         LOVELAND             CO           80538
          HYDROPONIC TECHNOLOGY
   667807 SERVICE INC                                 P O BOX 2125                                                                                                    ARECIBO              PR           00613
   667808 HYDRO‐TEC                                   PO BOX 636                                           MOCA                                                       MOCA                 PR           00676



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                                                      6241 YARROW DR. SUITE A
   225752 HYGEIA II MEDICAL GROUP, INC                CARLSBAD                                                                                                              CARLSBAD            CA           92011
   225760 HYLSA M RIVERA RODRIGUEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   225761 HYLSA M TORRES LOPEZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   667810 HYRAN MARQUEZ FIGUEROA                      URB VERDE MAR                105 CALLE 5                                                                              PUNTA SANTIAGO      PR           00741

   667811 HYTEC SATALLITE CORP                        URB LEVITTOWN                HY 49 CALLE PEDRO ARCILAGOS                                                              TOA BAJA            PR           00949
   225765 HYTECH COMMUNICATIONS                       HY 49 PEDRO ARCILAGOS                                                                                                 TOA BAJA            PR           00949
                                                                                   200 AVE RAFAEL CORDERO STE
   225767 HYUNDAI DE CAGUAS INC                       PMB 542                      140                                                                                      CAGUAS              PR           00725
   225768 HYUNDAI DE GUAYNABO                         P.O. BOX 1398                                                                                                         GUAYNABO            PR           00970‐1398
   225769 HYUNDAI ESCORIAL                            AVE 65 INFANTERIA            KM BOX 29908                                                                             SAN JUAN            PR           00929‐0908
   667813 HYWING SUNG RIVERA                          RES LAS GLADIOLAS            APT A901                                                                                 SAN JUAN            PR           00917
   667814 HZ ELECTRIC ENTERPRISE INC                  PO BOX 6017 SUITE 277                                                                                                 CAROLINA            PR           00984
   225773 I & INSTALLATION SERVICE                    URB SANTA JUANITA            EM 57 CALLE BOABAL                                                                       BAYAMON             PR           00956
          I & R EMBROIDERY ( BORDADOS
   225774 HATILLO )                                   155 CALLE LAMELA                                                                                                      QUEBRADILLAS        PR           00678
   667815 I A B E O INC                               EAST WEST HIGHWAY            SUITE 205                                                                                BETHESDA            MD           20814‐4521
                                                      444 NORTH CAPITOL ST SUITE
   667816 I A F W A                                   544                                                                                                                   WASHINGTON          DC           20001
          I AARCE TRUCKING AND LUMBER
   667817 YARD                        PARC MARQUEZ                                 23 CALLE MARGINAL                                                                        MANATI              PR           00674‐5857
          I BUSINESS SOLUTIONS
   225776 CORPORATION                 P O BOX 189                                                                                                                           GURABO              PR           00778

   225777 I C A MIRAMAR METRO SJ CORP PO BOX 195522                                                                                                                         SAN JUAN            PR           00919

   667818 I C A MIRAMAR METRO SJ CORP 49 ALTOS CALLE BARBOSA                                                                                                                BAYAMON             PR           00961

   667820 I C B MANUFACTURING CO INC                  PO BOX 3987                                                                                                           CAROLINA            PR           00984‐3987
   225778 I C G LLC                                   PO BOX 16282                                                                                                          SAN JUAN            PR           00908‐6282
   225779 I C S CONSTRUCTION CORP                     GRAN BULEVAR PASEOS          PMB 433 SUITE 112                                                                        SAN JUAN            PR           00926‐5955

   667821 I CARE PRODUCTS AND SERVICES P O BOX 492                                                                                                                          AMERICUS            GA           31709
   667822 I CARRERO GROUP INC          CAMINO EL GUATO                             706 SUITE 1                                                                              MAYAGUEZ            PR           00680
   225780 I CRO DISTRIBUTOR INC        PO BOX 380                                                                                                                           AGUADA              PR           00602

   667823 I D CREATORS/JOSE POMALES                   MCS 806                      138 AVE WINSTON CHURCHILL                                                                SAN JUAN            PR           00926
   667824 I D I CARIBE INC                            P O BOX 400                                                                                                           AGUIRRE             PR           00704
   667825 I D M CONSTRUCTION CORP                     NN2 DORADO DEL MAR                                                                                                    DORADO              PR           00646
          I D MODELO 2001/MELANIE
   667826 LASALDE                                     LA RAMBLA                    1736 CALLE SIERVAS DE MARIA                                                              PONCE               PR           00730

   667827 I F P O / AMERICA IMAGEN INC                PO BOX 777                                                                                                            LEWISVILLE          NC           27023
   225782 I G BUILDERS CORP                           P O BOX 195488                                                                                                        SAN JUAN            PR           00919‐5488
   225783 I G D CORP                                  PO BOX 194261                                                                                                         SAN JUAN            PR           00919
   225785 I GROUP LLC                                 100 CARR 165 STE 511         CENTRO INTER MERCADEO                                                                    GUAYNABO            PR           00968‐8052
   667828 I J M INC                                   PO BOX 141455                                                                                                         ARECIBO             PR           00614
          I LEVY & ASSOCIATES INC DBA
   225786 IRON DATA                                   400 S WOODS MILL ROAD        SUITE 150                                                                                CHESTERFIELD        MO           63017‐3430
          I LOVE YOU LORD/VICTOR
   667829 ORTEGA CALDERON                             PO BOX 3575                                                                                                           GUAYNABO            PR           00970‐3575
   667831 I M R CORPORATION                           P O BOX 846                                                                                                           FAJARDO             PR           00738



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  667830 I M WINNER INC                               VILLA FLORES                 D‐22 AVE ACACIA                                                                           PONCE              PR           00731
  225788 I MATOS CONSULTING INC                       HC 02 BOX 7280                                                                                                         BARRANQUITAS       PR           00794
  667832 I MORALES TIRE                               PO BOX 614                                                                                                             AGUAS BUENAS       PR           00703
  225789 I MORALES TIRE CORP                          CITY VIEW PLAZA II           48 CARR 165 SUITE 2000                                                                    GUAYNABO           PR           00968‐8000
  667833 I N R U M E C                                PO BOX 363713                                                                                                          SAN JUAN           PR           00936‐3713
                                                      CENTRO INTERNACIONAL DE
   225790 I ONE CREATIVE CONSULTANTS                  MERCADEO                     90 CARR 65 SUITE 301                                                                      GUAYNABO           PR           00968
   667835 I P E D                                     PO BOX 21365                                                                                                           SAN JUAN           PR           00928
   667836 I P R PHARMACEUTICALS INC                   PO BOX 1624                                                                                                            CANOVANAS          PR           00729
   667838 I P T I RENTAL                              902 AVE R H TODD                                                                                                       SAN JUAN           PR           00908
   225791 I POWER ENTERPRISES INC                     URB VISTA AZUL               G 15 CALLE 7                                                                              ARECIBO            PR           00612
   225792 I R O & ASOCIADOS INC                       AREA DEL TESORO              DIVISION DE RECLAMACIONES                                                                 SAN JUAN           PR           00902‐4140
          I R P MARKETING
   225794 COMMUNICATIONS LLC                          115 CALLE DEL PARQUE STE 7                                                                                             SAN JUAN           PR           00911
   667840 I S CONSTRUCTION CORP                       P O BOX 645                                                                                                            CAGUAS             PR           00725

   667841 I S IS                                      12101 JOHNY CAKE RIDGE ROAD                                                                                            APPLE VALLEY       MN           55124 8151
   667842 I S TECNOLOGY DE PR INC                     PO BOX 372767                                                                                                          CAYEY              PR           00737
   225797 I SHOP PR                                   B5 CALLE TABONUCO           SUITE 216 PMB 208                                                                          GUAYNABO           PR           00968

   225798 I SHOP PR CORP                              PMB 208                       B 5 CALLE TABONUCO SUITE 216                                                             GUAYNABO           PR           00968
   225799 I T G CORP.                                 PO BOX 365024                                                                                                          SAN JUAN           PR           00936‐5024
   667843 I T G SERVICES                              PO BOX 3371                                                                                                            JUNCOS             PR           00777
   225800 I T INTEGRATION WARE CORP                   PMB 364 400                   JUAN CALAF STREET                                                                        SAN JUAN           PR           00918
   667844 I TECH CONSULTING GROUP                     PO BOX 9021941                                                                                                         SAN JUAN           PR           00902‐1921
                                                      CARR. 869. CALLE PALMAS, ESQ.
   225802 I WEAR FASHIONS                             4, BO PALMAS                                                                                                           CATAÑO             PR           00962
   225803 I. M. F.                                    PMB 78 HC‐01 BOX 29030                                                                                                 CAGUAS             PR           00725‐0000

   667845 I.A.P., INC.                                PO BOX 10000                 A HAWS INDUSTRIES COMPANY                                                                 CASPER             WY           82602‐1000
   667846 I.B. DELIVERY SERVICES\                     GARY BROWN                   1867 AVE BARBOSA                                                                          SAN JUAN           PR           00912
   225804 I.D.E.A. INC.                               PMB 287 PO BOX 6030                                                                                                    CAROLINA           PR           00984‐6030
   225806 I.E.A.C.                                    PMB AVE ESMERALDA 405        SUITE 2                                                                                   SAN JUAN           PR           00969‐4457

   667847 I.O INTERACTIVE PARADIS FILMS P.O. BOX 11894                                                                                                                       SAN JUAN           PR           00922
   667848 I.S.P.A.M.E.R.                65TH INF.STATION                           PO BOX 29652                                                                              SAN JUAN           PR           00929
   667849 I.T.T. INTERMEDIA             PO BOX 191225                                                                                                                        SAN JUAN           PR           00919
                                                                                   AVE RAFAEL CORDERO STE 140
   225807 I/O AUTOMATION OF P R INC                   THE UPS STORE 200            PMB 250                                                                                   CAGUAS             PR           00725‐4303

   225808 IAAAP CAPITULO DE HUMACAO PMB 103                                        PO BOX 851                                                                                HUMACAO            PR           00792
   225809 IAAP CAPITULO DE SAN JUAN     PO BOX 360744                                                                                                                        SAN JUAN           PR           00936‐0744
          IACA INTL ASSOCIATION OF CORP                                            985 COLLEGE HILL ROAD PO BOX
   667850 ADM                           SERV NEW BRUNSWICK                         1998                                                                                      FREDERICTON NB     NB           E3B 5G4
   225813 IAN A BONILLA RIVERA          REDACTED                                   REDACTED                     REDACTED                              REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   667851 IAN A RIVERA COLON            SULTANA                                    52 CALLE GIRALDA                                                                          MAYAGUEZ           PR           00680
   225814 IAN ALLEN LIM                 REDACTED                                   REDACTED                     REDACTED                              REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   225815 IAN B MEDINA PADILLA          REDACTED                                   REDACTED                     REDACTED                              REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   225817 IAN C RODRIGUEZ RAMIREZ       REDACTED                                   REDACTED                     REDACTED                              REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   225818 IAN CARLOS PINEIRO IRIARTE    REDACTED                                   REDACTED                     REDACTED                              REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   225819 IAN COLON GUTIERREZ           REDACTED                                   REDACTED                     REDACTED                              REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   225820 IAN COURT WEEKS               REDACTED                                   REDACTED                     REDACTED                              REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   225821 IAN D PIZARRO DE JESUS        REDACTED                                   REDACTED                     REDACTED                              REDACTED               REDACTED           REDACTED     REDACTED       REDACTED



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  225823 IAN E ADAME SOTO                             REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   667852 IAN G HERNANDEZ MALDONADO COND LOS OLMOS                           APT 5 H                                                                               SAN JUAN             PR         00927
   225824 IAN HERNANDEZ MANCILLA    REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   225825 IAN J ROBERTSON           REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   225826 IAN JOLLY                 REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   225827 IAN L TORRES NEGRON       REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   667853 IAN M FRED SANJURJO       PO BOX 1162                                                                                                                    RIO GRANDE           PR         00745
   225828 IAN MEDINA MONTERO        REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   225829 IAN MERCADO TORRES        REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                    361 CALLE SAN FRANCISCO 3ER
   667854 IAN P CARVAJAL            PISO                                                                                                                           SAN JUAN             PR         00901
   225830 IAN SANTIAGO DE SANTIAGO  REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   225831 IAN VEGA SANTA            REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   225832 IAN Y SILVA BOADA         REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

          IANCARLOS JIMENEZ/FLORENCE
   225833 SACARELLO                  REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   667855 IANELIX Z ROLON RIVERA     PO BOX 5159                                                                                                                   CAROLINA             PR         00984
   667856 IANLEE L TIRADO VILA       URB GOLDEN GATE                         123 CALLE RUBI                                                                        GUAYNABO             PR         00968
                                                                             110 CALLE SAN BRUNO URB SAN
   667857 IANNA MARTINEZ PETERSON                     SAN AGUSTIN            AGUSTIN                                                                               VEGA BAJA            PR         00693
   225834 IANNUCCILLI MD, ARIANNA                     REDACTED               REDACTED                    REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   225835 IANTHY GONZALEZ AMARO                       REDACTED               REDACTED                    REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   667859 IARYLO SERVICE STATION                      PALMAS DEL MAR         28 PORT ROAD                                                                          HUMACAO              PR         00791
   225837 IAS MEDICAL INC                             PO BOX 51962                                                                                                 TOA BAJA             PR         00950
   667860 IASIU P R CHAPTER                           P O BOX 191899                                                                                               SAN JUAN             PR         00919‐1899
   225838 IB COMMUNICATIONS                           REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   225840 IBAN GONZALEZ HERNANDEZ                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   225864 IBANEZ PABON MD, HECTOR                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          IBANIA PEREZ,MADELINE
   225872 PEREZ,MARTHA PEREZ                          REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   667861 IBARRAS PROFESSIONAL SERVICE BELLA VISTA GARDENS                   G 15 CALLE 11                                                                         BAYAMON              PR         00957
   225922 IBELISES DIAZ AQUINO         REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   667862 IBELISSES JIMENEZ SOSA       868 CONCEPCION VERA                                                                                                         MOCA                 PR         00676
   225923 IBELLE C AYALA ROSADO        REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   667863 IBER LUMBER INC              P O BOX 11657                                                                                                               SAN JUAN             PR         00922 1657
   667864 IBERA INT TRADE              PO BOX 11993                                                                                                                SAN JUAN             PR         00922
   667865 IBERIA BAKERY & DELI         PO BOX 9833                                                                                                                 SAN JUAN             PR         00908‐0833
          IBERIA LINEAS AEREAS DE
   225924 ESPANA                       REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   667866 IBERICA DE PR                CONDOMINIO LA MANCHA                  APT 310                                                                               CAROLINA             PR         00979
   225925 IBERICO TECHNOLOGIES INC     PO BOX 1806                                                                                                                 VEGA BAJA            PR         00694‐1806
   667867 IBERMEDIA                    CALLE SERRANO 187‐189                 EDIFICIO SECIB                                                                        MADRID                          28002        SPAIN
                                       5 CONCORDIA OFIC 1 SEGUNDO
   667868 IBERTEC CARIBE INC           PISO                                                                                                                        PONCE                PR         00731
   225928 IBET NIEVES ROLON            REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   667869 IBF BUSINESS FORMS INC       PO BOX 194320                                                                                                               SAN JUAN             PR         00919‐4320
   667870 IBF BUSINESS PRODUCTS INC    PO BOX 194320                                                                                                               SAN JUAN             PR         00919‐4320
          IBF INTERNATIONAL BUSINESS
   225929 FOR                          PO BOX 194320                                                                                                               SAN JUAN             PR         00919‐4320
   667871 IBIA TORRES RIVERA           URB PERLA DEL SUR 290                 CALLE L                                                                               PONCE                PR         00731



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  225931 IBIS AGUIRRE GARCIA                           REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  667874 IBIS D RAMOS BONILLA                          HC 3 BOX 12999                                                                                                     CAMUY               PR         00627‐9724
         IBIS DALIA , NELSON E,NELSON R
  225932 SOTO                                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  225933 IBIS E VAZQUEZ QUINTANA                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  770550 IBIS GALERA AVILES                            REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         IBIS I RIVERA DBA GUSTITOS
  225934 CATERING                                      P O BOX 561719                                                                                                     GUAYANILLA          PR         00956‐4159
         IBIS I. RIVERA SANTOS DBA
  225935 GUSTITOS                                      PO BOX 561719                                                                                                      GUAYANILLA          PR         00656‐4159
         IBIS L RIVERA SANTOS /
  225936 GUSTITOS CATERING                             REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  225937 IBIS M ASTACIO SOSTRE                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   667872 IBIS MARITZA VELEZ MARTINEZ                  URB FAIR VIEW             1910 CALLE 47                                                                            SAN JUAN            PR         00926‐7632
   225939 IBIS PASTRANA CARINO                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   667877 IBIS RODRIGUEZ CARRO                         BAYAMON GARDENS           N 52 CALLE 21                                                                            BAYAMON             PR         00956
   225941 IBIS V VARGAS MUNIZ                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   225942 IBIS Y ECHEVARRIA RUIZ                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   225943 IBIS Y. MONTALVO FELIX                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   667878 IBITZZA GONZALEZ IGLESIAS                    JARDINES DE SAN LORENZO   A 11 CALLE 2                                                                             SAN LORENZO         PR         00754
   831395 IBM Corporation                              654 Muñoz Rivera Ave.                                                                                              Hato Rey            PR         00918
   225949 IBM CREDIT LLC                               654 AVE MUNOZ RIVERA                                                                                               SAN JUAN            PR         00918
   225950 IBO & TECHNOLOGY COURSE                      PO BOX 2093                                                                                                        SAN SEBASTIAN       PR         00685
   667879 IBON D RUIZ CONCEPCION                       PO BOX 7238                                                                                                        MAYAGUEZ            PR         00681

   225951 IBRAHAM LATTIF CARRASQUILLO REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   667880 IBRAHIM ALVAREZ RIVERA      BOX 854                                                                                                                             JAYUYA              PR         00664
   225953 IBRAHIM ARCE RAMPOLLA       REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   225957 IBRAHIM FLORES APONTE       REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

          IBRAHIM GARCIA                               & LCDA CARMEN CORREA
   667881 PIZARRO,CARMEN ZAYASZAYAS                    RODRIGUEZ                 101‐2 CALLE ESTEBAN PADILLA                                                              BAYAMON             PR         00959
   667882 IBRAHIM J AYALA FUENTES                      HC 1 BOX 7867                                                                                                      LOIZA               PR         00772

   225959 IBRAHIM M CORDERO MORALES REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IBRAHIM MALDONADO
   667883 FOURNIER                  PO BOX 800749                                                                                                                         COTO LAUREL         PR         00780‐0749

   225961 IBRAHIM O RIVERA MONCLOVA                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   667885 IBRAHIM RIOS LASSUS                          117 AVE MONTEMAR                                                                                                   AGUADILLA           PR         00603
   225962 IBRAHIM RIVERA RUIZ                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   667887 IBRAHIM YESILYURT CAKIR                      PO BOX 1763                                                                                                        CAROLINA            PR         00984
   225968 IBRAHIN NUNEZ ALVARADO                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IBRAIM ABUUSSBA
   667888 ABDELFATTAH                                  URB SANTIAGO IGLESIAS     CALLE LUISA CAPETILLO                                                                    SAN JUAN            PR         00921‐4129
   667889 IBRAIN FERNANDEZ MOJICA                      BO JAQUEYES               P O BOX 700                                                                              AGUAS BUENAS        PR         00703
   667890 IBSEN S CRUZ FERNANDEZ                       54 VEGALINDA                                                                                                       CAYEY               PR         00736‐9669
   225969 IBZAN HERNANDEZ LOPEZ                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   225970 IBZAN N ORTIZ ALFONSO                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   225971 IBZAN PEREZ MUNOZ                            REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   667891 IC CATERING RENTAL INC                       LAS LOMAS                 752 CALLE 31 SO                                                                          SAN JUAN            PR         00921
   667892 ICA COMMERCE AGENCY                          MSC 447 AVE DE DIEGO 89   SUITE 102                                                                                SAN JUAN            PR         00927‐5831



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  667893 ICA MIRAMAR                                   P O BOX 193588                                                                                                        SAN JUAN           PR           00919‐3588
  225972 ICAL GROUP LLC                                PO BOX 879                                                                                                            BARRANQUITAS       PR           00794
  225973 ICAR Y/O ACADEMIA SAN LUIS                    28 CALLE SAN BLAS                                                                                                     LAJAS              PR           00667
  667894 ICARUS CARIBBEAN CORP                         PO BOX 41268                                                                                                          SAN JUAN           PR           00940‐1268
  667895 Iccia Rivas Jimenez                           P.O. Box 464                                                                                                          Vega Baja                       00694
                                                       221 BOSTON POST EAST SUITE
   667896 ICD EVENT INC                                490                                                                                                                   MARLBOROUGH        MA           01752
   667897 ICE BUILDERS INC                             4628 CROSS ROADS             PARK DR                                                                                  LIVERPOOL          NY           13088‐3516
          ICE MACHINE & FOOD
   225976 EQUIPMENT SERVICE                            PO BOX 577                                                                                                            GUAYNABO           PR           00970
   667898 ICE NETWORKS                                 CITIBANK TOWER SUITE 702     252 AVE PONCE DE LEON                                                                    SAN JUAN           PR           00918
          ICE O MATIC ICE MACHINE &
   225977 FOOD EQUIPMENT                               PMB 78 HC 01 BOX 29030                                                                                                CAGUAS             PR           00725‐8900
   667899 ICEA MIRAMAR                                 P O BOX 192588                                                                                                        SAN JUAN           PR           00919‐3588
                                                       1612 PONCE DE LEON 5TH
   667900 ICENET WORKS COM INC                         FLOOR                                                                                                                 SAN JUAN           PR           00909
   667902 ICF INCORPORATED L L C                       9300 LEE HIGHWAY                                                                                                      FAIRFAX            VA           22031‐1207
   225979 ICF INTERNATIONAL                            9300 Lee Highway                                                                                                      Fairfax            VT           22031

   225980 ICF SH & E INC                               90 PARK AVENUE 27 TH FLOOR                                                                                            NEW YORK           NY           10016
   225981 ICHEL M. VICENTE BURGOS                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   225982 ICHELL SANCHEZ                               REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
          ICHS INTEGRATED COMMUNITY
   225983 HEALTH SYSTEM                                ATTN MICHELL CARRASQUILLO    400 CALLE CALAF PMB 455                                                                  SAN JUAN           PR           00918‐1314
                                                       91 AVE EMERITO ESTRADA
   225984 ICHY CAR RENTAL INC                          RIVERA                                                                                                                SAN SEBASTIAN      PR           00685
          ICI PAINTS C\O RELIANCE
   225986 CARIBBEAN INC                                P O BOX 3126                                                                                                          SAN JUAN           PR           00936

   667903 ICL CALIBRATION LABORATORIES P O BOX 1268                                                                                                                          GURABO             PR           00778 1268
   667904 ICLIA M GONZALEZ DIAZ        URB VILLA DEL CARMEN                         J 20 CALLE ARECIBO                                                                       CAGUAS             PR           00725
   667905 ICM OF PR / JESUS A GOAS     P O BOX 191779                                                                                                                        SAN JUAN           PR           00919‐1779
   667906 ICN DOSIMETRY SERVICE        PO BOX 55667                                                                                                                          LOS ANGELES        CA           90074‐5667
                                       SRA DAISY RIVERA‐RECORD
   225989 ICN DUTCH HOLDING B V        ROOM‐                                        RECURSOS HUMANOS              HC 01 BOX 16625                                            HUMACAO            PR           00791
   667907 ICN DUTCH HOLOING            HC 01 BOX 16625                                                                                                                       HUMACAO            PR           00791‐9711
          ICN GENERAL CONTRACTORS
   225990 CORP                         PO BOX 1089                                                                                                                           FLORIDA            PR           00650
   667908 ICON COMPUTER PARTS          PUERTO NUEVO                                 516 AVE ANDALUCIA                                                                        SAN JUAN           PR           00920
   667909 ICON INDUSTRIES              PO BOX 194000                                SUITE 240                                                                                SAN JUAN           PR           00919‐4000
   667911 ICON INDUSTRIES INC.         PO BOX 194000                                                                                                                         SAN JUAN           PR           00919‐4000

   667913 ICORP PUERTO RICO INC                        HOME MORTGAGE PLAZA          SUITE 908 268 PONCE DE LEON                                                              SAN JUAN           PR           00918
   225995 ICPR JUNIOR COLLEGE                          P O BOX 140067                                                                                                        ARECIBO            PR           00614‐0067
   667914 ICPRO                                        P O BOX 40285                MINILLAS STA                                                                             SAN JUAN           PR           00940

   225999 ICS CONSTRUCTION CORP                        GRAND BOULEVARD LOS PASEOS PMB 433 SUITE 112                                                                          SAN JUAN           PR           00926‐5955
                                                       VALLE ARRIBA HEIGHTS, S11
   226000 ICS GROUP, INC.                              LAUREL                                                                                                                CAROLINA           PR           00983
   667915 ICY CAR REFRIGERACION                        261 MENDEZ VIGO CENTER                                                                                                MAYAGUEZ           PR           00680
                                                       VIA AMANECER PG 24
   667916 ID CONSULTING GROUP                          ENCANTADA                                                                                                             TRUJILLO ALTO      PR           00976
   667917 ID GROUP INC                                 SANTA ANA                  A 8 CALLE YALE                                                                             SAN JUAN           PR           00927



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MML ID                NAME                                      ADDRESS 1                  ADDRESS 2                   ADDRESS 3                           ADDRESS 4               CITY        STATE    POSTAL CODE       COUNTRY
  667919 IDA A RODRIGUEZ RIVERA                       BDA SANTIN                 12 CALLE MARTES BOX 1404                                                              VEGA BAJA            PR         00694
  226002 IDA ACEVEDO SARIEGO                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  667920 IDA ALERS                                    PO BOX 670                                                                                                       ISABELA              PR         00662
  667921 IDA C ZAYAS DAVILA                           14 CALLE DR VEVE SUR                                                                                             COAMO                PR         00769
  226005 IDA C. JIMENEZ JIMENEZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  667924 IDA CARDONA HERNANDEZ                        PO BOX 10534                                                                                                     SAN JUAN             PR         00922
  226006 IDA CASTRO SOLIS                             REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  667925 IDA COLLAZO DE LEON                          URB ALT DE FLAMBOYAN       N 23 CALLE 23                                                                         BAYAMON              PR         00959
  226007 IDA COLON TORRES                             REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  226008 IDA CORREA HERNANDEZ                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  226009 IDA E ACOSTA ROSARIO                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  667928 IDA E BERRIOS NEGRON                         P O BOX 1581                                                                                                     COROZAL              PR         00783
  667929 IDA E BERRIOS ROSA                           URB MIRAFLORES             51‐23 CALLE 53                                                                        BAYAMON              PR         00957
  667930 IDA E GONZALEZ SOTO                          PO BOX 1614                                                                                                      UTUADO               PR         00641
  667931 IDA E MANGUAL GONZALEZ                       HC 1 BOX 22238                                                                                                   VEGA BAJA            PR         00693

   667932 IDA E RAMIREZ MARTINEZ                      URB VALLE DE CERRO GORDO   W 33 CALLE RUBI                                                                       BAYAMON              PR         00957
   667933 IDA G SEDA VELEZ                            URB ALTAMESA 1710          SANTA CATALINA                                                                        SAN JUAN             PR         00921
   667934 IDA GUTIERREZ                               ALTO APOLO                 2121 SIRCE                                                                            GUAYNABO             PR         00969
   667935 IDA GUZMAN                                  SIERRA BAYAMON             71 9 CALLE 79                                                                         BAYAMON              PR         00961
                                                                                 O 15 CALLE EMMA ROSA
   667936 IDA I FIGUEROA PEREZ                        VALLE TOLIMA               VICENTY                                                                               CAGUAS               PR         00725
   226010 IDA I GARCIA HUERTAS                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   667937 IDA I GONZALEZ TORRES                       URB VERSALLES              L 4 CALLE 10                                                                          BAYAMON              PR         00959
   226011 IDA I LAGUNA PAGAN                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   226012 IDA I LEBRON AYALA                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   667938 IDA I MARTINEZ HERNANDEZ                    URB VALLE ARRIBA HEIGHES   CJ 7 CALLE 138                                                                        CAROLINA             PR         00987
   226013 IDA I ROSARIO RIVERA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
                                                      AVE CAMPO RICO BDA
   667944 IDA L DIAZ PAZ                              POLVORIN                   446 CALLE 2                                                                           SAN JUAN             PR         00915
   667945 IDA L DIAZ VAZQUEZ                          RES NEMESIO R CANALES      EDIF 38 APT 698                                                                       SAN JUAN             PR         00918
   226014 IDA L GAETAN PENA                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   226015 IDA L HERNANDEZ CUEVAS                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   667947 IDA L REYES BERRIOS                         VALLE ARRIBA               CG6 CALLE 136                                                                         CAROLINA             PR         00984
   667918 IDA L RIVERA ALVARADO                       P O BOX 264                                                                                                      COAMO                PR         00769
   667949 IDA L VAZQUEZ VELAZQUEZ                     URB ALTA VISTA             25 CALLE CIPRES                                                                       CABO ROJO            PR         00623
   226016 IDA L. GONZALEZ TORRES                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   226017 IDA L. ORTIZ CARRASQUILLO                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   667950 IDA L. ROBLEDO RAMOS                        HC 2 BOX 5541                                                                                                    MOROVIS              PR         00687
   226018 IDA LIZ SANTIAGO RIVERA                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   226021 IDA LUZ RIVERA CINTRON                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   667952 IDA LUZ SANTIAGO                            BO HIQUILLAR SAN CARLOS    HC 33 BOX 3231                                                                        DORADO               PR         00646
   667953 IDA M CASTA MENDEZ                          P O BOX 3716                                                                                                     AGUADILLA            PR         00605
   667954 IDA M DIAZ MEDINA                           HC 04 BOX 48944                                                                                                  CAGUAS               PR         00725
   667955 IDA M ESPARRA MATOS                         P O BOX 933                BO PASTO SANTA ANA                                                                    COAMO                PR         00769
   667956 IDA M GOMEZ                                 URB CAMPAMENTO             15 CALLE C                                                                            GURABO               PR         00778
   226022 IDA M HERNANDEZ VAZQUEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   667957 IDA M MORALES MORALES                       PO BOX 333                                                                                                       NARANJITO            PR         00719
   667958 IDA M SANTOS CRESPO                         BO RIO ABAJO               5943 CALLE MONSERRATE                                                                 VEGA BAJA            PR         00693
   226023 IDA M SEIJO Y MILDRED SEIJO                 REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   226024 IDA M VELEZ ORTIZ                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   226025 IDA M ZAYAS SANTIAGO                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   226026 IDA MAE ANDUJAR GONZALEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED



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  667959 IDA MARTINEZ VILLANUEVA                      P O BOX 942                                                                                                        HATILLO             PR           00659
  667960 IDA MELENDEZ PABON                           SOLAR 109 MARIA ANTONIA                                                                                            GUANICA             PR           00653

   226027 IDA MILAGROS RAMOS MORALES REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   226028 IDA N IGLESIAS MARTINEZ    REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   667962 IDA NILSA VIERA            PO BOX 511                                                                                                                          LAKE PLACID         FL           33862
   667963 IDA R DE JESUS MOLINA      PO BOX 1162                                                                                                                         RIO GRANDE          PR           00745
   226029 IDA R MORALES PEREZ        REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   226030 IDA R. PEREZ RAMOS         REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   667964 IDA RIVERA DIAZ            URB SANTA CLARA                              M 2 CALLE SALVIA                                                                       GUAYNABO            PR           00969
   226031 IDA S COLTON CUESTA        REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   667965 IDA S. COLTON CUESTA       PROG. SERA BAYAMON                                                                                                                  Hato Rey            PR           009360000
   226032 IDA SANTIAGO GONZALEZ      REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   667966 IDA SANTOS TORRES          PO BOX 6251                                                                                                                         CAGUAS              PR           00726‐6251

   226033 IDA V DOMINGUEZ HERNANDEZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   667967 IDA V PAGAN FERRER                          P O BOX 477                                                                                                        LAJAS               PR           00667‐0477
   226034 IDA V SOTO VELEZ                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   667968 IDA V SUAREZ PANTOJA                        URB EL COMANDANTE           966 CALLE A DE LOS REYES                                                               SAN JUAN            PR           00924‐3523
   667969 IDA VILLA PASTOR                            URB DORADO DEL MAR          VILLAS DE PLAYA I APT N 1                                                              DORADO              PR           00646
   226035 IDA Y PINERO RUIZ                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   226036 IDABEL MARIA ORTIZ DITREN                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   226037 IDABELLE CARATINI TORRES                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          IDABELLE MERCEDES MIRABAL
   667973 MIRO                                        PO BOX 34063                                                                                                       PONCE               PR           00734‐4063
                                                      6400 COND LOS PINOS TORRE
   667974 IDABELLE VAZQUEZ PEREZ                      OESTE                       APTO 11‐E                                                                              CAROLINA            PR           00979
   226040 IDAELI RODRIGUEZ TORRES                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   226041 IDAH SANTIAGO RIVERA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   226042 IDAHILZA CARTAGENA OLIVERAS REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   667976 IDAHO AIR TRANSPORT         200 CARR. SECTOR 140                                                                                                               CAROLINA            PR           00979‐1514
   226043 IDAHO TREASURERS OFFICE     PO BOX 83720                                                                                                                       BOISE               ID           83720‐9101
   667977 IDAIVE CONTRACTORS INC      HC 01 BOX 6859                                                                                                                     CIALES              PR           00638
   226045 IDALEIDA MALDONADO          REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   226047 IDALHI MARRERO OZORES       REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   667978 IDALI BARNES MARRERO        URB CAMINO DEL SUR                          448 CALLE FLAMINGO                                                                     PONCE               PR           00716
   667980 IDALI COLON RODRIGUEZ       JARD DEL CARIBE X 12                        CALLE 27                                                                               PONCE               PR           00731
   226048 IDALI LORENZO FELICIANO     REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   667982 IDALI MIELES MOYA           P O BOX 624                                                                                                                        HATILLO             PR           00659

   226049 IDALI RAMOS / NAOMI M RAMOS REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   667984 IDALIA A SUAREZ RIVERA      URB VICTOR BRAEGGER                         31 CALLE EUGENIA                                                                       GUAYNABO            PR           00966
   667987 IDALIA ACOSTA NAZARIO       HC 1 BOX 8044                                                                                                                      SAN GERMAN          PR           00683
   226050 IDALIA ACOSTA PADILLA       REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   667988 IDALIA BELEN LATIMER        COND METROMONTE                             EDIF B APT. 504                                                                        CAROLINA            PR           00986
   226051 IDALIA CARRERO BONILLA      REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   667991 IDALIA COLON                306 CALLE JUAN COLON                        BARRIADA SANDIA                                                                        VEGA BAJA           PR           00963
   667992 IDALIA COLON ARTURET        LOIZA VALLEY                                669 CALLE ADONIS                                                                       CANOVANAS           PR           00729
   226053 IDALIA COLON CLAUDIO        REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   667993 IDALIA COLON MENDOZA        BDA SANDIN                                  22 CLALE MERCURIO                                                                      VEGA BAJA           PR           00693
                                      URB MANSIONES DE RIO
   667995 IDALIA COLON RONDON         PIEDRAS                                     1788 CALLE FLORES                                                                      SAN JUAN            PR           00926



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  226054 IDALIA CORDERO CUEVAS                        REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  667997 IDALIA CORUJO DELGADO                        PARQUE MONTE BELLO               E 17 CALLE 3                                                                           TRUJILLO ALTO      PR         00976
  226055 Idalia Cruz CastaNon                         REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  667999 IDALIA DE JESUS AVILES                       P O BOX 327                                                                                                             JAYUYA             PR         00664
  668000 IDALIA DIAZ DIAZ                             HC 06 BOX 69669                  LAS CAROLINAS                                                                          CAGUAS             PR         00727‐9502
  668001 IDALIA E COLON MENDOZA                       BDA SANDIN                       22 C/ MERCURRIO                                                                        VEGA BAJA          PR         00693
  226056 IDALIA ELIAS FONT                            REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  226057 IDALIA ESQUEDO RIOS                          REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  668002 IDALIA FANTAUZI COTTO                        PO BOX 9300245                                                                                                          SAN JUAN           PR         00930‐0245
  668003 IDALIA FERNANDEZ MILAN                       HC 01 BOX 4727                                                                                                          COROZAL            PR         00783
  668004 IDALIA FIGUEROA                              URB MIRAFLORES                   27‐29 CALLE 17                                                                         BAYAMON            PR         00957
  668005 IDALIA FIGUEROA MORALES                      4TA SECC VILLA DEL REY           A 7 CALLE 16                                                                           CAGUAS             PR         00725
  226058 IDALIA FLORES CRUZ                           REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  668006 IDALIA GANDIA GONZALEZ                       URB LEVITTOWN                    PASEO DARSENA                                                                          TOA BAJA           PR         00949

   668007 IDALIA GARCIA ALGARIN                       HP ‐ OFIC. DIRECTORA EJECUTIVA                                                                                          RIO PIEDRAS        PR         00936‐0000
   668009 IDALIA GARCIA BERRIOS                       HC 1 BOX 10451                                                                                                          GURABO             PR         00778

   668010 IDALIA GARCIA RODRIGUEZ                     BO CAPARRA SECT LOS CHIVOS                                                                                              VIEQUES            PR         00765
   226059 IDALIA GONZALEZ REYES                       REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   668012 IDALIA HERNANDEZ NAZARIO                    P O BOX 783                                                                                                             SAN SEBASTIAN      PR         00685
   668013 IDALIA I ESPADA ORTIZ                       513 AVE CESAR GONZALEZ                                                                                                  SAN JUAN           PR         00918
   226060 IDALIA JIMENEZ ROMAN                        REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   226061 IDALIA LA SANTA                             REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   226062 IDALIA LARRAGOITY FIGUEROA                  REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   226063 Idalia Leon Landrau                         REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                                                       670 AVE PONCE DE LEON APT
   668017 IDALIA LUISA ROMANI                         COND CARIBBEAN TOWERS            301                                                                                    SAN JUAN           PR         00907
   226065 IDALIA M CRESPO MONT                        REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   226066 IDALIA M HERNANDEZ ALERS                    REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   668018 IDALIA M MELECIO COLLAZO                    HC 33 POST 3142                  SAN CARLOS                                                                             DORADO             PR         00646
   226067 IDALIA M RAMIREZ ROBLES                     REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          IDALIA MALDONADO
   226068 CONTRERAS                                   REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   668019 IDALIA MARIE DIAZ PEDROZA                   1965 MCLEARY AVE STE 2                                                                                                  SAN JUAN           PR         00911
                                                      1 COND GOLDEN TOWER APT
   668020 IDALIA MELENDEZ RIVERA                      302                                                                                                                     CAROLINA           PR         00983‐1860
   668021 IDALIA MENDEZ                               URB MONTEHIEDRA                  257 REINA MORA                                                                         SAN JUAN           PR         00926
   226070 IDALIA MENDEZ MOLINA                        REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   668022 IDALIA MENDEZ PADILLA                       BO ESPINOSA                      HC 80 BOX 8601                                                                         DORADO             PR         00646
   668023 IDALIA MENDOZA CARRION                      3 A COND SAN AGUSTIN                                                                                                    SAN JUAN           PR         00921
   226071 IDALIA MESTEY BORGES                        REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   226072 IDALIA MONCLOVA LEBRON                      REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   226073 IDALIA MONTERO RIVERA                       REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   668024 IDALIA MORALES                              PO BOX 575                                                                                                              COROZAL            PR         00783
   226074 IDALIA MORALES ACEVEDO                      REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   226075 IDALIA MORALES AVILES                       REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   668028 IDALIA NARVAEZ REYES                        REXVILLE                         BI 7 CALLE 35                                                                          BAYAMON            PR         00957
   668029 IDALIA NEGRON OQUENDO                       URB LOS CAOBOS                   2223 CALLE MAGA                                                                        PONCE              PR         00716‐2709
   226076 IDALIA NUNEZ SANTANA                        REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   226077 IDALIA OCASIO DE FIGUEROA                   REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   226078 IDALIA OCASIO RIVERA                        REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  668031 IDALIA ORTIZ LOPEZ                           URB TOWN HOUSE R 6 2                                                                                            COAMO              PR         00769
  226079 IDALIA OTERO LOPEZ                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  226080 IDALIA PANTOJAS BELTRAN                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  668032 IDALIA PASCUAL PASCUAL                       714 CALLE RIO DE JANEIRO                                                                                        SAN JUAN           PR         00915
  668033 IDALIA PEDROZA LOPEZ                         P O BOX 6735                                                                                                    CAGUAS             PR         00726
  668034 IDALIA PEREZ CANGIANO                        URB PUNTO DE ORO            3307 CALLE LA CAPITANA                                                              PONCE              PR         00728
  668035 IDALIA PEREZ GARAY                           VENUS GARDENS               1767 CALLE PEGASO                                                                   SAN JUAN           PR         00926
  226081 IDALIA PEREZ MARTINEZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  226082 IDALIA PEREZ SANTIAGO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  226083 IDALIA REYES                                 REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  668037 IDALIA RIVERA                                VILLAS DE LOIZA             K3 CALLE 7                                                                          CANOVANAS          PR         00729
  668038 IDALIA RIVERA MATOS                          HC 1 BOX 5855                                                                                                   SALINAS            PR         00751
  668039 IDALIA RIVERA PADILLA                        COM EL LAUREL               522 CALLE 5                                                                         COTO LAUREL        PR         00780
  668040 IDALIA RIVERA QUILES                         PO BOX 4580                                                                                                     SAN SEBASTIAN      PR         00685
  226085 IDALIA RIVERA TOLENTINO                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  668042 IDALIA ROBLES PEREZ                          REPTO ARENALES              79 CALLE 1                                                                          LAS PIEDRAS        PR         00771
  668043 IDALIA ROBLES PIZARRO                        HC 01 BOX 7138                                                                                                  LOIZA              PR         00772
  226086 IDALIA RODRIGUEZ                             REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  668044 IDALIA RODRIGUEZ PEROZA                      PO BOX 9021112                                                                                                  SAN JUAN           PR         00902‐1112
  668045 IDALIA ROLON FRANQUERI                       1116 RATHBONE ST                                                                                                SW WYONING         MI         49509‐1037
  226087 IDALIA S GARCIA YUMET                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  668046 IDALIA SANTANA ALAMO                         P O BOX 1567                                                                                                    DORADO             PR         00646
  668047 IDALIA SANTANA MARTINEZ                      HC 1 BOX 7926                                                                                                   LAS PIEDRAS        PR         00771
  667983 IDALIA SANTIAGO REYES                        PARQUE SAN PATRICIO         B 19 CALLE CORAL                                                                    GUAYNABO           PR         00968
  668050 IDALIA SUAREZ NIEVES                         PO BOX 35100 SUITE 240                                                                                          RINCON             PR         00677

   668051 IDALIA TALAVERA AVILES                      COND MEDICAL CENTER PLAZA   APT 1013                                                                            SAN JUAN           PR         00921
   668052 IDALIA TORRES MORALES                       JARD DE COUNTRY CLUB        BJ 18 CALLE 116                                                                     CAROLINA           PR         00983
   668053 IDALIA TORRES RIVERA                        PO BOX 362966                                                                                                   SAN JUAN           PR         00936‐2966
   226088 IDALIA TORRES RODRIGUEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          IDALIA V CARRASQUILLO
   226089 IRIZARRY                                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   668055 IDALIA VAZQUEZ SANTOS                       URB COLINAS VERDES          U 5 CALLE 10                                                                        SAN SEBASTIAN      PR         00685
   668056 IDALIA VELAZQUEZ FONT                       450 CALLE SOL               APT A 4‐3                                                                           SAN JUAN           PR         00901‐3023
          IDALIA VERENIS RIVERA
   226091 ACEVEDO                                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   668058 IDALIA VICENS REYES                         HC‐2 BOX 11270                                                                                                  HUMACAO            PR         00792
   668061 IDALICE ALICEA TROCHE                       URB LLANOS DEL SUR          28‐385 CALLE GARDENIA                                                               COTO LAUREL        PR         00780
   668062 IDALIE GARCIA ZAYAS                         PO BOX 20246                                                                                                    SAN JUAN           PR         00928
   668063 IDALIE LABOY MOLINARI                       HC 08 BUZON 867                                                                                                 PONCE              PR         00731

   668065 IDALINA CABAN RIVERA                        232 AVE ELEONOR ROOSEVELT                                                                                       SAN JUAN           PR         00907

   226092 IDALINA GUTIERREZ RODRIGUEZ REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   226093 IDALINA J. OLAVARRIA PANETO                 REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   226094 IDALINA LEON MARIN                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   668067 IDALINA MONTES DE LONGO                     UNIVERSITY GARDENS          911 CALLE ROCHESTER                                                                 RIO PIEDRAS        PR         00927
   668068 IDALINA PEREZ MERCED                        COND LOS PINOS              APT 11 E OESTE                                                                      CAROLINA           PR         00979
   226095 IDALIS AMADEO AMARO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   226097 IDALIS BEAUCHAMP MONTA¥EZ REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   668069 IDALIS CARDONA MERCADO    COM MONTILLA                                  BZN 108 CALLE 3                                                                     ISABELA            PR         00662



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  226098 IDALIS CEDENO CRESPO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  226099 IDALIS CORTES ORTIZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  226100 IDALIS GUACH ROJAS                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   668070 IDALIS I QUI¥ONES RODRIGUEZ                 PO BOX 9                                                                                                      YABUCOA              PR         00767
   226101 IDALIS MERCADO NEGRON                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   226102 IDALIS NIEVES MORALES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   668072 IDALIS NIEVES RIVERA                        2012 AVE ARENALES                                                                                             VEGA BAJA            PR         00693

   226103 IDALIS PASTRANA MALDONADO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   668073 IDALIS R HARVEY FARGAS                      COND LEOPOLDO FIGUEROA      364 DE DIEGO APT 619                                                              SAN JUAN             PR         00923
   668074 IDALIS RIVERA BATISTA                       HC 1 BOX 2632                                                                                                 SABANA HOYOS         PR         00688
   668075 IDALIS RIVERA BLANCO                        HC 2 BOX 4750                                                                                                 COAMO                PR         00769
   226104 IDALIS SANCHEZ PRINCIPE                     RR 2 BOX 454                                                                                                  SAN JUAN             PR         00926
   226105 IDALIS SANTIAGO MARTINEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   668076 IDALIS TORRES TORRES                        BOX 382                                                                                                       LOIZA                PR         00772
   668077 IDALIS TRINIDAD FLORES                      PO BOX 819                                                                                                    CAROLINA             PR         00986
   226106 IDALIS VELEZ ROJAS                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   668078 IDALIS YERA LOPEZ                           EXT MARBELLA                375 CALLE 1                                                                       AGUADILLA            PR         00603
          IDALISA VELASCO SEGARRA
   668079 /AMAYA GARCIA                               PO BOX 363571                                                                                                 SAN JUAN             PR         00936‐3571

   226108 IDALISE RODRIGUEZ SEBASTIAN                 REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   668080 IDALISES RIOS SOTO                          URB FLORAL PARK             60 CALLE DUARTE                                                                   SAN JUAN             PR         00910
   226109 IDALISSE TORRES CHARLES                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   668082 IDALISSE VEGA MALDONADO                     BO MOROVIS NORTE            SECTOR BUENA VISTA                                                                MOROVIS              PR         00687
   668083 IDALITH MONTALVO PRINCIPE                   BALWIN PARK B 6                                                                                               GUAYNABO             PR         00969
   226110 IDALIZ ALVAREZ RIVERA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   668085 IDALIZ CANABAL ERBA                         COLINAS DE FAIRVIEW         U3 CALLE 214 4                                                                    TRUJILLO ALTO        PR         00976
   226111 IDALIZ GARCIA FIGUEROA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   226112 Idaliz Gonzalez Lopez                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   226113 IDALIZ GUZMAN AYALA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   668087 IDALIZ MIRANDA TORRES                       A 17 JARD DE STA ANA                                                                                          COAMO                PR         00769
   226114 IDALIZ MUNOZ LUGO                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   226115 IDALIZ ORTIZ GONZALEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   226117 IDALIZ RODRIGUEZ ESCUDERO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   226118 IDALIZ RODRIGUEZ SANTIAGO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   226119 IDALIZ ROSA MONTANEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   668088 IDALIZ ROSADO PEREZ                         HC 80 BOX 7709                                                                                                DORADO               PR         00646
   226120 IDALIZ SANTIAGO ROSARIO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   668089 IDALIZ ZAVALA BURGOS                        1149 CALLE VELCAIRE                                                                                           SAN JUAN             PR         00920
   668090 IDALIZA RAMOS RAMOS                         177 CALLE VILLA                                                                                               SALINAS              PR         00731
   668091 IDALLYS SANCHEZ                             444 COND DE DIEGO APT 809                                                                                     SAN JUAN             PR         00923
   226121 IDALMI CRUZ REYES                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   226122 IDALMIS E ROSA MORALES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   668093 IDALMIS PADILLA MEDINA                      URB EL RETIRO               9 CALLE LUNA                                                                      CABO ROJO            PR         00623
   668094 IDALMIS SANTANA PORBEN                      URB LOMAS VERDES            3N 27 CALLE LOTO                                                                  BAYAMON              PR         00956
   668095 IDALY KILGORE CRUZ                          BO DAGUAO BOX 762                                                                                             NAGUABO              PR         00718
   668096 IDALY MORALES MORALES                       REPTO MERCADO 4                                                                                               MAYAGUEZ             PR         00680
   226123 IDALY ROSARIO TORRES                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   226124 IDALY RUSSE MELENDEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED




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   668098 IDALYS BORRERO MALDONADO                    4TA. EXT COUNTRY CLUB   O Q 8 CALLE 520                                                                    CAROLINA            PR           00982
   668099 IDALYS DIAZ MUNIZ                           P O BOX 25                                                                                                 MOCA                PR           00676
   668100 IDALYS FUENTES VALENTIN                     VILLA DEL CARMEN        598 CALLE SALAMANCA                                                                PONCE               PR           00716
   226125 IDALYS LEON RODRIGUEZ                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   226126 IDALYS REYES HERNANDEZ                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   226128 IDALYS ROJAS CRUZ                           REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   226129 IDALYS TORO PAGAN                           REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   226130 IDAMAR CATERING                             REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   226131 IDAMAR LAUREANO LANDRON                     REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   668102 IDAMARI CONCEPCION NIEVES                   B O MAGUAYO             H C 33 BOX 6048                                                                    DORADO              PR           00646
   668103 IDAMARIE ACEVEDO CORUJO                     URB VENUS GARDENS       671 CALLE AFRODITA                                                                 SAN JUAN            PR           00926
   668105 IDAMARIS CASTRO SAAVEDRA                    HC 2 BOX 16498                                                                                             ARECIBO             PR           00612

   226132 IDAMARIS MORALES LOURIDO                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668108 IDAMINELY MERCADO ORTIZ                     P 123 VILLA DEL RIO     BOX 13471                                                                          TOA ALTA            PR           00953
   226133 IDAMIS ALBANDOZ OCASIO                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          IDANETTE RODRÖGUEZ
   668110 MORALES                                     HC 1 BOX 10848                                                                                             GUAYANILLA          PR           00656
   226134 IDANIA COLLAZO SEPULVEDA                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   226135 IDANIA GONZALEZ COLLAZO                     REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668111 IDANIA I SANCHEZ RIOS                       P O BOX 357                                                                                                BARCELONETA         PR           00617

   668112 IDANIA J CARDONA MERCADO                    HC 01 BOX 4140                                                                                             QUEBRADILLAS        PR           00678
   226136 IDANIA PEREZ FERNANDEZ                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   226137 IDANIA R. RODRIGUEZ AYUSO                   REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   226139 IDANIA TORRES VAZQUEZ                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668115 IDANIDZA LUGO PRADO                         REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668117 IDANIS CUEVARES SANTIAGO                    BO JUAN SANCHEZ BUZON   1519 CALLE 5                                                                       BAYAMON             PR           00959
   668118 IDANIS DIAZ LOPEZ                           PO BOX 21365                                                                                               SAN JUAN            PR           00928‐1365
   668120 IDANIS MARQUEZ FERRER                       COUNTRY CLUB            881 CALLE RASPIMEL                                                                 SAN JUAN            PR           00924

   668116 IDANIS R ROSADO MARMOLEJO URB CAPARRA TERRACE                       12 68 CALLE 18 S E                                                                 SAN JUAN            PR           00921
          IDARMA M ADROVER
   668121 MONTANER                     PARQUE MONTEBELLO                      5‐6 CALLE 2                                                                        TRUJILLO ALTO       PR           00976
   226141 IDARYS PEREZ RIVERA          REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   226142 IDDPMI JUNQUITO              REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   226143 IDE DISTRIBUTORS CORP        D 38 URB FAIR VIEW                     CARR 845                                                                           SAN JUAN            PR           00926
   668125 IDE N LEON CONCEPCION        DOS PINOS COURT 475                    7 TRINIDAD ORELLANA                                                                SAN JUAN            PR           00923
   668126 IDEAL AUTO SALES             HC 58 BOX 14566                                                                                                           AGUADA              PR           00607‐9722
   668127 IDEAL FORMS SERVICES         PO BOX 191027                                                                                                             SAN JUAN            PR           00919‐1027
   668128 IDEAL PRODUCTS INC           700 LOUDON AVE                                                                                                            LEXINGTON           KY           40505
          IDEAL TRAVEL AGENCY / AMAX Y
   668129 MORENO                       1556 PONCE DE LEON AVENUE                                                                                                 SAN JUAN            PR           00909
   226145 IDEARTE INC                  P O OBOX 9119                                                                                                             CAROLINA            PR           0009889119
   668130 IDEAS                        1340 CALLE SALUD                                                                                                          PONCE               PR           00717‐2001
          IDEAS FOR ORGANIZATIONAL &
   668131 DEVELOPMENT                  PO BOX 270353                                                                                                             SAN JUAN            PR           00927‐0353
   668132 IDEAS PHOTO PRINTS CORP      URB CONTRY CLUB                        G Q 14 AVE CAMPO RICO                                                              CAROLINA            PR           00982
   668133 IDEAS PUBLISHING, INC.       PO BOX 4952                                                                                                               CAGUAS              PR           00726
   226147 IDEASCALE                    548 MARKET STREET 14277                                                                                                   SAN FRANCISCO       PR           94104



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  226148 IDEATICO GROUP CORP                          115 ROOSEVELT STE 101                                                                                           SAN JUAN            PR           00917
                                                                               HOME MORTGATE PLAZA SUITE
   668134 IDECOM PUBLICATIONS INC                     AVE. PONCE DE LEON 268   508                                                                                    HATO REY            PR           00918
   668135 IDEELIZA PEREZ MARCANO                      P O BOX 943                                                                                                     DORADO              PR           00646

   668136 IDEL A FERNANDINI COURNIER                  EL ROSARIO               2 CALLE 4                                                                              YAUCO               PR           00698
   226150 IDEL CASTRO RAMOS                           VILLA EL CAFETAL         CALLE ANDRES M. STGO K‐6                                                               YAUCO               PR           00698
   668137 IDEL FERNANDINI BURGOS                      URB EL ROSARIO           2 CALLE 4                                                                              YAUCO               PR           00658‐4405
   226152 IDELFONSO DIAZ ROSARIO                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   668139 IDELFONSO GUZMAN DE LA PAZ 21215 RANCHO VEGA 1                                                                                                              CAYEY               PR           00736

   668140 IDELFONSO LEBRON MONCLOVA HC01 BOX 4211                                                                                                                     MAUNABO             PR           00707
   668141 IDELFONSO LOPEZ              PO BOX 10653                                                                                                                   SAN JUAN            PR           00922‐0653
   226153 IDELFONSO MARTINEZ LOPEZ     REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   668144 IDELFONSO MIRANDA            PO BOX 1134                                                                                                                    SABANA GRANDE       PR           00637
          IDELFONSO MONTALVO
   668145 MONTALVO                     HC 3 BOX 14553                                                                                                                 UTUADO              PR           00761‐9734
   668147 IDELFONSO ORTIZ LOPEZ        PO BOX 9264                                                                                                                    CAGUAS              PR           00726
   226155 IDELFONSO PEREZ RAMOS        REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   226156 IDELFONSO RIVERA             REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   668149 IDELFONSO RUIZ GARCIA        REPARTO DAGUEY                          F 18 CALLE 4                                                                           A¥ASCO              PR           00610‐2211
          IDELFONSO SANTIAGO / MEDLIFE
   226159 AMBULACE CO                  BO MONTE GRANDE                         100 CALLE PARQUE OESTE                                                                 CABO ROJO           PR           00623
   226160 IDELFONSO VELEZ CABAN        REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   226162 IDELIS LOZADA ORTIZ          REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   668150 IDELISA ALICEA RODRIGUEZ     COMUNIDAD LAS 500                       177 CALLE SAFIRO                                                                       ARROYO              PR           00714
   226164 IDELISA DE JESUS VARCACEL    REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   226165 IDELISA GONZALEZ VILLAFAðE   REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   668153 IDELISA M FIGUEROA CABRERA                  VALLE VERDE              R 38 CALLE 6                                                                           FAJARDO             PR           00738
   226170 IDELISA SANTIAGO PEREZ                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   226171 IDELISA VELEZ QUINONES                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   226172 IDELISE GARCIA PRADO                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   226173 IDELISSA TORRES BERNECETT                   REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          IDELISSE BEAUCHAMP
   226174 MONTANEZ                                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   226175 IDELISSE BETANCOURT VELEZ                   REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   226177 IDELISSE M. PEREZ TOLEDO                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   668156 IDELISSE PADILLA CAMACHO                    P O BOX 1397                                                                                                    TOA BAJA            PR           00951
   668157 IDELISSE RIVERA ALICEA                      URB VILLAS DEL NORTE     505 CALLE DIAMANTE                                                                     MOROVIS             PR           00687
   668158 IDELISSE RODRIGUEZ                          PO BOX 818                                                                                                      GURABO              PR           00778
   226178 IDELISSE VALENTIN COLAZO                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   668159 IDELISSE VEGA RIVAS                         SAINT JUST               149 E CALLE 2                                                                          TRUJILLO ALTO       PR           00976

   226179 IDELITA GUTIERREZ FERNANDEZ                 REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   668160 IDELIZ ACOSTA RIVERA                        P O BOX 268                                                                                                     HORMIGUERO          PR           00660
   226180 IDELIZ LEON MUNOZ                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   226181 IDELIZ ORTIZ VEGA                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   226182 IDELIZ RIOS LABORDE                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   226183 IDELIZ RODRIGUEZ AVILES                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   226184 IDELIZ RODRIGUEZ RODRIGUEZ                  REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  226185 IDELIZA PADRO MONTALVO                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  226186 IDELIZA ROMERO PEREZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  226191 IDEN O RODRIGUEZ ORTIZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  226192 IDEN TRUST INC                               55 HAWTHORNE ST SUITE 400                                                                                            SAN FRANCISCO     CA         94105
  226193 IDENIS TORRES GUZMAN                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   226195 IDENISSE M BERRIOS MORALES                  REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      275 GRAN BOULEVARD PASEOS
   226196 IDENTECH INC                                STE 112                                                                                                              SAN JUAN          PR         00926‐5955
                                                      SUITE 112 275 100 GRAN BLVD
   226198 IDENTECH INC.                               PASEOS                                                                                                               SAN JUAN          PR         00926‐5955
   668161 IDENTIKO INC                                PO BOX 481                                                                                                           TOA ALTA          PR         00954

   668162 IDENTIX INC                                 5600 ROWLAND ROAD STE 205                                                                                            MINNETONKA        MN         55343‐4315
   226199 IDENTRIX INC                                510 N PASTORIA                                                                                                       SUNNYVALE         CA         94086

   226200 IDERA INC                                   2929 ALLEN PARKWAY STE 3200                                                                                          HOUSTON           TX         77010
   226201 IDESSE ROMAN GITTENS                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668163 IDHI INC                                    RR 2 BOX 571                                                                                                         SAN JUAN          PR         00926
   668164 IDI SANTA RITA INC                          PO BOX 1670                                                                                                          CEIBA             PR         00735
   226202 IDIA E GRAFALS LUGO                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668165 IDIA L VELAZQUEZ LOZADA                     PO BOX 1197                                                                                                          LAS PIEDRAS       PR         00771
   668166 IDIA Y VALLE RIVERA                         URB SAN AGUSTIN               410 CALLE ALCIDES REYES                                                                SAN JUAN          PR         00923‐3212
   668168 IDIANES HERNANDEZ MOLINA                    HC 1 BOX 4159                                                                                                        BAJADERO          PR         00616
   226203 IDIANISSE ROSADO SANTIAGO                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668169 IDIDA L VILLANUEVA                          URB MIRAFLORES                1 16 CALLE 3                                                                           BAYAMON           PR         00957
   226204 IDIDA PEREZ LLORENS                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226205 IDIEL A OTERO NUNEZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668171 IDILIO CAMACHO VALENTIN                     PO BOX 269                                                                                                           LAS MARIAS        PR         00670
   226206 IDITH GONZALEZ CABRERA                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226207 IDITH ORTIZ ORTIZ                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          IDMS GEN CONTRACTOR &
   668174 PROJECT MANAGERS                            URB RAMIREZ                   30 CALLE SAN JORGE                                                                     CABO ROJO         PR         00623
   668176 IDOLINA BORRERO RIOS                        P O BOX 79                                                                                                           SAN SEBASTIAN     PR         00685
          IDOOR ENVIRONMENTAL
   226209 CONSULTANTS                                 PO BOX 191648                                                                                                        SAN JUAN          PR         00919‐1648
   668177 IDRA INC                                    PO BOX 1011                                                                                                          COTO LAUREL       PR         00780
   226213 IDRAHIM MUNOZ RODRIGUEZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226215 IDRAHIM NUNEZ RODRIGUEZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668178 IDRIANA NEGRON ORTIZ                        D 6 SANTA MARTA                                                                                                      JUANA DIAZ        PR         00795
          IDS INTELLIGENT DIGITAL
   226217 SECURITY INC                                URB CONDADO MODERNO           M 30 CALLE 13                                                                          CAGUAS            PR         00725
   226218 IDS INTERNATIONAL INC                       URB CONDADO MODERNO           M 30 CALLE 13                                                                          CAGUAS            PR         00725
   226219 IDSA GARCIA RIVERA                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226220 IDSA Y FIGUEROA VELEZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226221 IDSI D ALVAREZ MARTINEZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226222 IDSI D. ALVAREZ MARTINEZ                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          IDT NETHERLANDS BV PR                       EL PARAISO INDUSTRIAL PARK    108 GANGES STREET GANGES
   668180 BRANCH DBA IDT INT                          SUITE A1                      PLAZA                                                                                  SAN JUAN          PR         00926
   668181 IDTA RIOS RODRIGUEZ                         INTERAMERICANA GARDENS        EDIF B 19 APT 3A                                                                       TRUJILLO ALTO     PR         00976

   668182 IDYS O JIMENEZ GONZALEZ                     CAROLINA TOWER                200 CALLE JOAQUINA APT B 810                                                           CAROLINA          PR         00979‐1219
   226225 IDZA DIAZ RIVERA                            REDACTED                      REDACTED                     REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  226226 IEHSUS S FLORES PEREZ        REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  668183 IEJ LAW OFFICES P S C        PO BOX 5350                                                                                                                 YAUCO               PR         00698
  226227 IESEL TORRES SANTIAGO        REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         IFARRAGUESI GOMEZ MD,
  226230 CARLOS                       REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  668184 IFC LIGHTING SERVICE SUPPLY  1626 AVE PINERO                                                                                                             SAN JUAN            PR         00921
  668185 IFCO RECYCLING INC           P O BOX 191744                                                                                                              SAN JUAN            PR         00919‐1744
  226232 IFCO RECYCLING, INC.         PO BOX 191744                                                                                                               SAN JUAN            PR         00919‐1744
  226233 IFES                         1850 K STREET                            N W FIFTH FLOOR                                                                    WASHINGTON          DC         20006
  668186 IFEX TRAINING                5 ELLA MEWS                              PO BOX 14203                                                                       LONDON                         NW3 2ZN      UNITED KINGDOM
  226235 IFRAIN NIEVES MARTIR         REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         IG GROUP PROMOTIONAL
  668187 PRODUCTS INC                 CHALET SANTA CLARA                       7 CALLE PERLA                                                                      GUAYNABO            PR         00969
         IG. PENT. CAMINO Y VIDA DE
  668188 SANTIDAD                     PO BOX 332012                                                                                                               PONCE               PR         00733
  668189 IGAL MURPHY PEREZ            P O BOX 1389                                                                                                                COAMO               PR         00769
         IGARAVIDEZ GONZALEZ, ANGEL Y
 1420061 LA SLG                       PEDRO ROSARIO PEREZ                      APARTADO 370038                                                                    CAYEY               PR         00737‐0038

   226240 IGARTUA CRUZ MD, ARNALDO                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IGARTUA DE LA ROSA,
  1420062 GREGORIO.                                   RAFAEL A. OJEDA DIEZ     PO BOX 9023392                                                                     SAN JUAN            PR         00902‐3392

   226245 IGARTUA JULIA MD, EDUARDO                   REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   226257 IGARTUA PONTON MD, JUAN M                   REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226270 IGD MEDICAL EQUIPMENT                       PO BOX 194261                                                                                               SAN JUAN            PR         00919
          IGD MEDICAL EQUIPMENT ,
   226271 CORP.                                       P. O. BOX 192347                                                                                            SAN JUAN            PR         00921‐0000
   226272 IGDALIA CARO LOPEZ                          REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226273 IGDALIA ZAYAS OLIVER                        REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668190 IGL CATOLICA APOSTOLICA Y                   PO BOX 546                                                                                                  HUMACAO             PR         00792
          IGLESIA ADVENTISTA OESTE/
   668200 FRANCISCO VEGA                              SECTOR CUBA APT 1619                                                                                        MAYAGUEZ            PR         00680
          IGLESIA APOSTOLICA CRISTIANA
   226276 BETHSAIDA                                   HC 1 BOX 13338                                                                                              RIO GRANDE          PR         00745
          IGLESIA APOSTOLICA CRITIANA
   668201 DE BETHZAIDA                                PO BOX 2021              SUITE 110                                                                          LAS PIEDRAS         PR         00777
   226277 IGLESIA ARCA DE NOE                         BOX 8919                                                                                                    VEGA BAJA           PR         00694
   226278 IGLESIA ASAMBLEAS DE DIOS                   VILLA SANTA              244 CALLE BETHEL                                                                   DORADO              PR         00646
          IGLESIA BAUTISTA CASA DE
   226279 ORACION                                     PO BOX 69001 SUITE 343                                                                                      HATILLO             PR         00659

   668202 IGLESIA BAUTISTA DE CAROLINA                PO BOX 66                                                                                                   CAROLINA            PR         00986
          IGLESIA BAUTISTA DE LOS
   668203 ANGELES                                     PO BOX 3275                                                                                                 CAROLINA            PR         00983
          IGLESIA BAUTISTA DE MEDIANIA
   668204 ALTA                                        BOX 483                                                                                                     LOIZA               PR         00772
   668205 IGLESIA BAUTISTA EMANUEL                    PO BOX 408                                                                                                  PONCE               PR         00733
          IGLESIA BAUTISTA FUENTE DE
   226280 AMOR                                        BO TAMARINDO 150         CALLE 3                                                                            PONCE               PR         00731
          IGLESIA BAUTISTA FUND C/O
   668206 JESUS M PEREZ                               PO BOX 553                                                                                                  HORMIGUEROS         PR         00660



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  668207 IGLESIA BAUTISTA MISIONERA                    BDA BELGICA              4015 CALLE COLOMBIA                                                           PONCE                PR           00717

   226281 IGLESIA BAUTISTA QUINTANA       URB UNIVERSITY GARDENS                282 AVE JESUS T PINERO 200 B                                                  SAN JUAN             PR           00927‐3907
   668208 IGLESIA BAUTISTA SINAI          PO BOX 1375                                                                                                         GUANICA              PR           00653‐1375
          IGLESIA CARISMATICA VOZ QUE
   668209 CL                              PO BOX 421                                                                                                          VEGA BAJA            PR           00694
          IGLESIA CRIST DISC DE CRISTO
   226282 BELLA VISTA                     PO BOX 4104                                                                                                         BAYAMON              PR           00958‐1104
          IGLESIA CRISTI. PENT. TORRE
   668210 FUERTE INC                      URB SANTA JUANITA WD 3                CALLE JESUS T PI¥ERO                                                          BAYAMON              PR           00956
          IGLESIA CRISTIANA A DIOS SEA LA
   668211 GLORIA                          P O BOX 827                                                                                                         COROZAL              PR           00783
          IGLESIA CRISTIANA APOSENTO
   226283 DE                              PO BOX 69001 STE 179                                                                                                HATILLO              PR           00659‐6901
   226284 IGLESIA CRISTIANA ASSAEL        PO BOX 749                                                                                                          VEGA ALTA            PR           00692
          IGLESIA CRISTIANA CARISMATICA
   668212 LEVITTOWN                       PO BOX 50445                                                                                                        LEVITTOWN            PR           00926
          IGLESIA CRISTIANA CASA DE
   226285 MISERICORDIA                    URB APRIL GARDENS                     CALLE 6‐J43                                                                   LAS PIEDRAS          PR           00771
          IGLESIA CRISTIANA CATACUMBA
   668213 III                             3RA EXT COUNTRY CLUB                  HN 24 AVE EL COMANDANTE                                                       CAROLINA             PR           00982
   226286 IGLESIA CRISTIANA DE AMELIA     PO BOX 3125                           AMELIA CONTRACT STA                                                           CATANO               PR           00963
          IGLESIA CRISTIANA DE
   668214 AVIVAMIENTO                     PO BOX 884                                                                                                          CAMUY                PR           00627
          IGLESIA CRISTIANA DISCIPULOS
   226287 DE CRISTO                       PO BOX 1024                                                                                                         SABANA SECA          PR           00952
   668215 IGLESIA CRISTIANA EL SHADAL     PO BOX 427                                                                                                          SABANA GRANDE        PR           00637
          IGLESIA CRISTIANA KAIROS DE
   226288 DIOS                            URB LA PROVIDENCIA                    2737 CALLE CHELIN                                                             PONCE                PR           00728
          IGLESIA CRISTIANA LA VOZ
   226289 ESPIRITU SANTO                  LA VILLA DE TORREIMAR                 86 REINA ISABEL                                                               GUAYNABO             PR           00970

   668194 IGLESIA CRISTIANA MISIONERA                  BO YEGUADA HC 3          BOX 10873                                                                     CAMUY                PR           00627
          IGLESIA CRISTIANA MISIONERA
   668216 JESUCRISTO                                   PO BOX 932                                                                                             SABANA SECA          PR           00952

   668195 IGLESIA CRISTIANA PENTECOSTAL PO BOX 6150                                                                                                           BAYAMON              PR           00960
          IGLESIA CRISTIANA PUERTA DE
   668217 RESTAURACION                  P O BOX 10041 C6 STA                                                                                                  HUMACAO              PR           00792
   668218 IGLESIA CRISTO REINA          PO BOX 3823                                                                                                           GUAYNABO             PR           00970
          IGLESIA CUIDAD DE LA VERDAD
   226290 INC                           URB LLANOS DE GURABO                    509 CALLE ROSAL                                                               GURABO               PR           00778
          IGLESIA DE CRISTO DE PUERTO
   226291 RICO INC                      COND LAS LOMAS SUITE 503                                                                                              SAN JUAN             PR           00921
          IGLESIA DE CRISTO DEFENSORES
   668219 DE LA FE                      REXVILLE PLAZA                          CARR 167 KM 18 9                                                              BAYAMON              PR           00960

   226292 IGLESIA DE CRISTO MISIONERA                  HC 02 BOX 7391                                                                                         CAMUY                PR           00638
          IGLESIA DE CRISTO MISIONERA
   668220 INC`                                         PO BOX 1902                                                                                            MANATI               PR           00674
          IGLESIA DE DIOS ASAMBLEA DE
   226294 LA MONTANA                                   PO BOX 1342                                                                                            MOCA                 PR           00676
   668221 IGLESIA DE DIOS EL MANA                      URB BRISAS DE LLANADAS   1 CALLE 2                                                                     BARCELONETA          PR           00617



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   226295 IGLESIA DE DIOS EMANUEL INC                 PO BOX 240                                                                                   CAROLINA             PR           00986
   668222 IGLESIA DE DIOS EVANGELICA                  P O BOX 464                                                                                  NAGUABO              PR           00718
   226237 IGLESIA DE DIOS INC                         PO BOX 7288                                                                                  CAGUAS               PR           00726

   226255 IGLESIA DE DIOS MISSION BOARD JARDINES DE COUNTRY CLUB             CALLE 141 ESQ 142                                                     CAROLINA             PR           00984

   226298 IGLESIA DE DIOS PENTECOSTAL                 BOX 141                                                                                      COAMO                PR           00769
          IGLESIA DE DIOS PENTECOSTAL
   226301 INC                                         PO BOX 9925                                                                                  ARECIBO              PR           00613
          IGLESIA DE DIOS PENTECOSTAL
   226302 M I                                         PO BOX 737                                                                                   ADJUNTAS             PR           00601
          IGLESIA DE DIOS PENTECOSTAL
   226303 MI                                          PO BOX 31137                                                                                 SAN JUAN             PR           00929‐2137
   668196 IGLESIA DE NAZARENO                         PO BOX 5055                                                                                  AGUADILLA            PR           00606‐5055
          IGLESIA DE RESTAURACION
   668197 MONTE DE DIOS                               HC 20 BOX 28945                                                                              SAN LORENZO          PR           00754
          IGLESIA DEFS DE LA FE "CRISTO
   668230 TE AMA                                      P O BOX 2653                                                                                 VEGA BAJA            PR           00694

   668231 IGLESIA DEL SENOR MISIONERA                 3 BO CANTERA SUITE 2                                                                         MANATI               PR           00674
          IGLESIA DIOS MOV
   668232 INTERNACIONAL                               PO BOX 3444                                                                                  CAROLINA             PR           00984
          IGLESIA DIOS PENTECOSTA LUZ
   668233 VERDADERA                                   C 16 VILLA ROSALES                                                                           AIBONITO             PR           00705

   668234 IGLESIA DIOS PENTECOSTAL M I                PO BOX 21065                                                                                 SAN JUAN             PR           00928

   226304 IGLESIA DISCIPULOS DE CRISTO HC 75 BOX 1601                                                                                              NARANJITO            PR           00719‐9728
   668236 IGLESIA EBENEZER INC          BO.HIGUILLAR                         84 PARC SAN ANTONIO                                                   DORADO               PR           00646
   226305 IGLESIA EL DISCIPULO INC      P O BOX 480                                                                                                YAUCO                PR           00698
          IGLESIA EMANUEL ASAMBLEAS
   226306 DE DIOS                       URB SAN MARTIN                       22 CALLE LEON                                                         CAYEY                PR           00736
          IGLESIA EPISCOPAL
   226307 PUERTORRIQUENA                JARDINES DE RIO GRANDE               CD 543 CALLE 80                                                       RIO GRANDE           PR           00745
          IGLESIA EVANGELICA CRISTO
   226311 ALFARERO INC                  HC 6 BOX 13867                                                                                             HATILLO              PR           00659
          IGLESIA EVANGELICA DE LA
   226312 PALABRA                       PO BOX 271                                                                                                 PUERTO REAL          PR           00740
          IGLESIA EVANGELICA MISIONERA
   226313 EL MAESTRO/                   PURA ENERGIA INC                     PO BOX 768                                                            CAMUY                PR           00627
          IGLESIA EVANGELICA UNIDA
   668237 PR/CONGREGACION               PO BOX 1779                                                                                                CAGUAS               PR           00726
          IGLESIA FARO DE LUZ DEF DE LA
   668238 FE                            HC 2 BOX 11227                                                                                             HUMACAO              PR           00791 9605
          IGLESIA FILADELPHIA ASAMBLEA
   668239 DE DIOS                       P O BOX 387                                                                                                FLORIDA              PR           00650

   226314 IGLESIA FUENTE DE SALVACION                 HC 01 BOX 7373                                                                               GURABO               PR           00778
          IGLESIA FUENTE SALVACION
   226315 MISIONERA                                   GALATEO ALTO           BZ 119 CALLE CANARIO                                                  ISABELA              PR           00662
          IGLESIA FUNDAMENTAL
   668240 BAUTISTA                                    PO BOX 1103                                                                                  FAJARDO              PR           00648



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          IGLESIA JESUCRISTO FUENTE
   226317 SALVACION                                   UBR VISTA DEL RIO             C‐11                                                                   ANASCO               PR           00610‐8908
          IGLESIA KERYQMA DEFENSORES
   226318 DE LA FE                                    PO BOX 2814                                                                                          BAYAMON              PR           00960‐2814
          IGLESIA LUTERANA DE P R /
   668241 MICHAEL TANNEY                              PO BOX 3085                                                                                          MAYAGUEZ             PR           00680
          IGLESIA MANANTIAL DE VIDA
   668242 ETERNA INC                                  PO BOX 328                                                                                           ISABELA              PR           00622‐0328
          IGLESIA MANANTIAL
   668243 SALVACION/JORGE BORGES                      URB VILLA SULTANITA           817 CALLE 16                                                           MAYAGUEZ             PR           00680

   668244 IGLESIA METODISTA DE ARROYO                 PO BOX 222                                                                                           ARROYO               PR           00714
   226319 IGLESIA METODISTA DE P.R.                   PO BOX 143491                                                                                        ARECIBO              PR           00614
   668198 IGLESIA METODISTA DE PR                     PO BOX 11937                                                                                         SAN JUAN             PR           00922‐1937
          IGLESIA METODISTA MESON DE
   668245 AMOR                                        COMUNIDAD JOBOS               SOLAR 180 A                                                            GUAYAMA              PR           00784
          IGLESIA MINISTERIO CASA DE
   226321 PAZ                                         HC 01 BOX 11062                                                                                      CAROLINA             PR           00987
          IGLESIA MINISTERIO SANIDAD A                AVE.DEGETAU # A‐15 URB. SAN
   226322 LAS NACION                                  ALFONSO                                                                                              CAGUAS               PR           00725‐0000
   668199 IGLESIA MISION EVANGELICA                   PO BOX 261                                                                                           QUEBRADILLA          PR           00678‐0261
          IGLESIA MISION EVANGELICA
   226323 CRISTIANA DE                                ARECIBO INC                   PO BOX 2138                                                            ARECIBO              PR           00613

   668246 IGLESIA MONTE CALVARIO INC                  60 CALLE JOSE DE DIEGO                                                                               SAN LORENZO          PR           00754
   668247 IGLESIA NUEVO TESTAMENTO                    P M B 2400                    SUITE 347                                                              TOA BAJA             PR           00951‐2400
          IGLESIA PABELLON DE LA
   226324 VICTORIA YAUCO                              13 CUESTA LOS JUDIOS          CARR 371 KM 0.1                                                        YAUCO                PR           00698
          IGLESIA PABELLON DE LA
   226325 VICTORIA/ NEW                               ENERGY CONSULTANTS            PO BOX 510                                                             CAMUY                PR           00627
          IGLESIA PENT LA LUZ DEL
   668248 MUNDO                                       PO BOX 184                                                                                           LUQUILLO             PR           000773
          IGLESIA PENTECOSTAL
   668249 ASAMBLEA DE DIOS                            PO BOX 7357                                                                                          MAYAGUEZ             PR           00681‐7357
          IGLESIA PENTECOSTAL DE
   226326 JESUCRISTO                                  HC 05 BOX 61760                                                                                      MAYAGUEZ             PR           00680
          IGLESIA PENTECOSTAL DE JESUS
   668251 JESUCRISTO                                  PO BOX 7877                                                                                          PONCE                PR           00732‐7877

   668252 IGLESIA PENTECOSTAL HABACUC PO BOX 1030                                                                                                          SAN LORENZO          PR           00754
          IGLESIA PENTECOSTAL
   226327 MISIONERA INC               P O BOX 452                                                                                                          CEIBA                PR           00735
          IGLESIA PENTECOSTAL
   668253 SEGUIDORES DE CRISTO        P O BOX 208                                                                                                          AGUADILLA            PR           00604‐0208
   668254 IGLESIA PENTECOSTAL UNIDA   JARD DE SELLEZ                                EDIF 2A APT 2A 6                                                       SAN JUAN             PR           00924

   668255 IGLESIA PENTECOTAL BETHESDA P O BOX 1502                                                                                                         VEGA BAJA            PR           00694‐0000
          IGLESIA PRESBISTERIANA
   668256 EMANUEL                     PO BOX 215                                                                                                           LAS MARIAS           PR           00670

   668257 IGLESIA PRESBISTERIANA HUGH                 61 CALLE FORTALEZA                                                                                   SAN JUAN             PR           00901
   668258 IGLESIA RENUEVO JUSTO INC                   PO BOX 9113                                                                                          HUMACAO              PR           00792‐9118




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          IGLESIA RESTAURACION EN
   226329 CRISTO                                      PO BOX 6190                                                                                                BAYAMON              PR           00960‐5190
   226330 IGLESIA REY DE REYES INC                    PO BOX 3135                                                                                                AGUADILLA            PR           00605
          IGLESIA ROCA DE REFUGIO
   226331 DEFENSORES                                  RR 4 BOX 11162                                                                                             Toa Alta             PR           00953
   226333 IGLESIA ROSA DE SARON                       HC 3 BOX 7625                                                                                              LAS PIEDRAS          PR           00771‐9321
          IGLESIA SENDA DE FE Y
   668259 RESTAURACION                                PO BOX 9174            COTTO STATION                                                                       ARECIBO              PR           00613
          IGLESIA TABERNACULO DEF DE
   668260 LA FE                                       P O BOX 1074                                                                                               CAGUAS               PR           00726‐1074
   226334 IGLESIA UNITY DORADO INC                    P O BOX 2291                                                                                               TOA BAJA             PR           00951

   668261 IGLESIA UNIVERSAL JESUCRISTO                PO BOX 1676                                                                                                CANOVANAS            PR           00729
          IGLESIA VAZQUEZ AND
   668262 ASSOCIATES                                  PO BOX 9024070                                                                                             SAN JUAN             PR           00902‐4070
   226335 IGLESIA VIDA ABUNDANTE                      P O BOX 1073                                                                                               FAJARDO              PR           00738

   668264 IGLESIA VIDA NUEVA EN CRISTO                PO BOX 484                                                                                                 PALMER               PR           00721
   668265 IGLESIAS BAUTISTA DE PR                     21 CALLE MAYAGUEZ                                                                                          SAN JUAN             PR           00917
   668266 IGLESIAS CRISTIANAS                         PO BOX 1444                                                                                                SAN JUAN             PR           00936
          IGLESIAS DE DIOS PENTECOSTAL
   668267 M I                                         PO BOX 3084                                                                                                VEGA ALTA            PR           00692
          IGLESIAS EVANGELICA
   226383 WESLEYANA DE PR                             PO BOX 10713                                                                                               SAN JUAN             PR           00922
          IGLESIAS GALIANO MD,
   226394 GIANCARLO                                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   226408 IGLESIAS MARIA DE, LOS A                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   226409 IGLESIAS MARQUEZ MD, RAFAEL REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          IGLESIAS VAZQUEZ &
   668268 ASSOCIATES                  PO BOX 2752                                                                                                                SAN JUAN             PR           00904
   226481 IGM CORPORATION             AVE.E.POL 487, LAS CUMBRES             P.O BOX 589                                                                         SAN JUAN             PR           00926‐5636

   668270 IGMABEL GONZALEZ SANTIAGO                   P O BOX 340                                                                                                GARROCHALES          PR           00652
          IGMAR INC / CARMEN M
   668271 CINTRON DE ESTEVES                          PRADERA                AJ 8 CALLE 6                                                                        TOA BAJA             PR           00949‐4087
   226482 IGMEL S VEGA MIELES                         REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   668272 IGNA I BODON GONZALEZ                       URB PUNTO ORO          3333 CALLE LA CAPITANA                                                              PONCE                PR           00728‐2002
   668275 IGNACIA GARCIA NIEVES                       SECTOR LA PONDEROSA    F 259 CALLE 8                                                                       VEGA ALTA            PR           00692
   226483 IGNACIA MONTANEZ                            REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   226484 IGNACIA OTANO CUEVAS                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   668276 IGNACIA RIOS MARCIAL                        HC 02 BOX 15638                                                                                            ARECIBO              PR           00612

   226485 IGNACIA RODRIGUEZ ESCOBALES REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   226486 IGNACIA SOSTRE GARCIA       REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          IGNACIO A SCHMIDT / ADRIANA
   226487 VILLAGOMEZ                  REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   668279 IGNACIO A SOLA ZAYAS        URB PARQUE DEL MONTE                   JJ 7 CALLE MAJAGUA                                                                  CAGUAS               PR           00775
   226488 IGNACIO ALVAREZ SANTIAGO    REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                      URB. DEL CARMEN 405 CALLE
   668281 IGNACIO APONTE AGOSTO       PEDRO                                  DIAZ CORREA                                                                         SAN JUAN             PR           00923
   226489 IGNACIO ARIAS PERZ          REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   226490 IGNACIO BELLVER             REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  226491 IGNACIO BONET GONZALEZ                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  226492 IGNACIO CALDERON COLON                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         IGNACIO CLAUDIO DELGADO Y
  668283 FELIPE CLAUDIO                               HC 40 BOX 42506                                                                                               SAN LORENZO         PR         00754
  668284 IGNACIO COSME RUIZ                           ARECIBO GARDENS            5 CALLE 2                                                                          ARECIBO             PR         00612
  226493 IGNACIO CUEVAS                               REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  668286 IGNACIO D MOLINA MOLINA                      AVE JOBOS                  BOX 8575                                                                           ISABELA             PR         00662
         IGNACIO DE VILLALTA
  668288 RODRIGUEZ                                    BO SABANA 400 CALLE        DESEMBARCADERO                                                                     GUAYNABO            PR         00965
  226494 IGNACIO DEL VALLE                            REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  668289 IGNACIO DIAZ LUGO                            BO PONZUELO                RR 01 BOX 6392                                                                     GUAYAMA             PR         00784
         IGNACIO DIAZ MEDINA/ EP
  226496 ENERGY LLC                                   PO BOX 3500                                                                                                   CAROLINA            PR         00984
         IGNACIO ECHEVARRIA
  226497 ALMODOVAR                                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   668277 IGNACIO ESPINOSA VALDEZ                     COND TORRES DE ANDALUCIA   TORRE 1 APT 1703                                                                   SAN JUAN            PR         00926
          IGNACIO FERNANDEZ DE
   668291 LAHONGRAIS                                  CENTRUM PLAZA SUITE G      17 CALLE MEJICO                                                                    SAN JUAN            PR         00917‐2201
          IGNACIO FIGUEROA
   226498 MALDONADO                                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   226499 IGNACIO GALARZA RODRIGUEZ                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226500 IGNACIO GARCIA GARCIA                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226501 IGNACIO GOMEZ LOZADA                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      URB VALENCIA 575 CALLE
   668292 IGNACIO IRIZARRY NIEVES                     PONTEVEDRA                                                                                                    SAN JUAN            PR         00923
   226503 IGNACIO IRIZARRY SANTIAGO                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226504 IGNACIO J ACEVEDO CUEVAS                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226505 IGNACIO J ESCASENA CANAS                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226507 IGNACIO JIMENEZ GONZALEZ                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668294 IGNACIO L GALLARDO                          COND MIRAMAR EMBASY        APT 502                                                                            SAN JUAN            PR         00907
   226508 IGNACIO LANZO PERAZZA                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668295 IGNACIO LLERENA INC.                        PO BOX 11172                                                                                                  SAN JUAN            PR         00922

   226509 IGNACIO LOUBRIEL CAMARENO                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226510 IGNACIO LOUBRIEL PEREZ                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668298 IGNACIO LUGO RIVERA                         RES ARISTIDE DE CHAVIER    34 APT 308                                                                         PONCE               PR         00728
   226511 IGNACIO M ARBONA ARBONA                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   226513 IGNACIO M CUSTODIO MUNOZ                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   226515 IGNACIO M TOLEDO RODRIGUEZ REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   226516 IGNACIO MALDONADO RIVERA                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668301 IGNACIO MARTINEZ                            BOX 406                                                                                                       CIDRA               PR         00739
   226519 IGNACIO MATOS BENITEZ                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668302 IGNACIO MELENDEZ BELTRAN                    BO PUGNADOS CARR 149       R‐6431 KM 22            INT. PARCELAS PIZON 63                                     MANATI              PR         00674

   668278 IGNACIO MENDEZ HERNANDEZ                    PO BOX 1237                                                                                                   QUEBRADILLA         PR         00678
   226520 IGNACIO MONTANEZ MURIEL                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IGNACIO OLAZAGASTI
   668304 ASOCIADOS                                   PO BOX 6083                                                                                                   SAN JUAN            PR         00902



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  668305 IGNACIO ORTIZ CAMPS                          LOMAS VERDES                X 58 CALLE CORALILLO                                                                 BAYAMON           PR         00956
  226523 IGNACIO PACHECO RIOS                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  226524 IGNACIO PAGAN MARRERO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  226525 IGNACIO PEREZ ARRABAL                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  668307 IGNACIO PINO DVM                             P O BOX 299                                                                                                      MAYAGUEZ          PR         00681‐0299
  668308 IGNACIO PINTADO GARCIA                       P O BOX 563                                                                                                      YAUCO             PR         00698
  226526 IGNACIO PITA GARCIA                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  668309 IGNACIO PRATS SEOANE                         URB LA VILLA DE TORRIMAR    347 CALLE REY FRANCISCO                                                              GUAYNABO          PR         00969‐3254
         IGNACIO RAFAEL MIRABAL
  226529 GARCIA                                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  226530 IGNACIO RAMIREZ RIVERA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  668310 IGNACIO REMBALSKY MITLER                     URB. VIVONI                 B10 CALLE VIVONY                                                                     MAYAGUEZ          PR         00683
  668311 IGNACIO REMBOLSKY MITLER                     URB VIVONI B 10                                                                                                  SAN GERMAN        PR         00683
  226531 IGNACIO RIOS RIVAS                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  668313 IGNACIO RIVERA MERCADO                       HC 1 BOX 5471                                                                                                    BAJADERO          PR         00616
  226532 IGNACIO RODRIGUEZ                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   226533 IGNACIO RODRIGUEZ ARCHILLA                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668314 IGNACIO ROMAN MULLER                        LOS CANTIZALES II           APTO 2 E                                                                             SAN JUAN          PR         00926
   668315 IGNACIO ROSA VELEZ                          PO BOX 700                                                                                                       TRUJILLO ALTO     PR         00977
   668316 IGNACIO ROSADO                              PO BOX 3610                                                                                                      GUAYNABO          PR         00970
   668317 IGNACIO ROSADO MAYSONET                     HC 83 BOX 7701                                                                                                   VEGA ALTA         PR         00692
   226534 IGNACIO ROSSY ROSADO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226535 IGNACIO SALINAS MORALES                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668318 IGNACIO SANCHEZ GOMEZ                       PO BOX 9020192                                                                                                   SAN JUAN          PR         00902‐0192
   668319 IGNACIO SANCHEZ GUZMAN                      URB BARALT                  J 5 CALLE PRINCIPAL                                                                  FAJARDO           PR         00738

   668320 IGNACIO SANTIAGO RODRIGUEZ LOMAS VALLES                                 HC 71 BOX 2891                                                                       NARANJITO         PR         00719

   226538 IGNACIO SANTIAGO SANTIAGO                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226540 IGNACIO SUAREZ ACEVEDO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668321 IGNACIO VARGAS FIGUEROA                     URB LOIZA VALLEY            225 CALLE GIRASOL                                                                    CANOVANAS         PR         00729
   226541 IGNACIO VAZQUEZ TIRADO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   668322 IGNACIO VELEZ FRIAS                         COOP CIUDAD UNIVERSITARIA   EDIF B APT 1405                                                                      TRUJILLO ALTO     PR         00976
   668324 IGNACIO VELEZ ROSADO                        HC 1 BOX 10615                                                                                                   SAN GERMAN        PR         00683 9729
   226544 Ignacio Vergara Cruz                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668326 IGNACIO VILCHEL ROSARIO                     P O BOX 30                                                                                                       PALMER            PR         00721

   226545 IGNACIO VILLARMARZO GARCIA REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   668329 IGNALISA SANTOS FERNANDEZ                   PO BOX 193                                                                                                       AGUAS BUENAS      PR         00703
   226546 IGNARI ACEVEDO                              REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226547 IGNERI GUERRA NAVARRO                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226548 IGOR DOMINGUEZ PEREZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668331 IGOR J SERRANO ORTIZ                        P O BOX 3000 SUITE 160                                                                                           COAMO             PR         00769
   226549 IGOR J. DOMINGUEZ                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   770552 IGOR J. DOMINGUEZ PEREZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      PARQUE INDUSTRIAL JUAN
   226550 IGPR INC                                    MARTIN                      3 KM 100.5 CALLE A                                                                   YABUCOA           PR         00767
   226552 IGRAIN ALAMO RODRIGUEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226553 IGSI E ORTIZ CARRION                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226554 IGUAL QUE TU INC                            PO BOX 9501                                                                                                      SAN JUAN          PR         00908



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 1256563 IGUAL QUE TU,INC.                            REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  226560 IGUINA DE LA, MARIA D                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  226564 IGUINA LOPEZ, FRANK                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  226566 IGUINA MELLA MD, LUIS E                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         IGUINA ‐OHARRIZ ATTORNEYS
  226568 AND COUNSELOR                                PO BOX 366603                                                                                                         SAN JUAN            PR         00936

          IGUINA OHARRIZ
   226569 ATTORNEYS&COUNSELORS LAW                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226575 IHOMARA A QUINONEZ REYES                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668334 IHOMARA RIOS RAMOS                          PO BOX 7126                                                                                                           PONCE               PR         00732
   668335 IHS CARIBBEAN                               P O BOX 8217                                                                                                          CAGUAS              PR         00726‐8217
   226578 IHS GLOBAL INC                              4521 CAMPUS DRIVE 336                                                                                                 IRVINE              CA         92612
   226579 IIFP LLC                                    EDIF CENTRO DE SEGUROS      701 PONCE DE LEON STE 309                                                                 SAN JUAN            PR         00907
   226580 III WOLF MD, LLOYD M                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668336 IISIA MARTINEZ ROSARIO                      MSC 546 P O BOX 4035                                                                                                  ARECIBO             PR         00614
   226581 IIUSA                                       233 S WACKER DRIVER         84TH FLOOR WILLIES TOWER                                                                  CHICAGO             IL         60606
   668337 IJK INC                                     ESJ TOWER SUITE 2200                                                                                                  CAROLINA            PR         00979

   226582 IJR ‐ BUSINESS EDUCATION SERV. BUSINESS EDUCATION SERVICES PO BOX 193196                                                                                          SAN JUAN            PR         00919‐3196

   226585 IKARUS GROUP INC                            QUINTA REAL                 2301 CALLE REY JUAN CARLOS                                                                TOA BAJA            PR         00949
   226587 IKEA PUERTO RICO                            PMB 106 PO BOX 8700                                                                                                   CAROLINA            PR         00988‐8700
          IKEKPEAZU MD , NKEMAKONAM
   226588 H                                           REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226589 IKENIA RODRIGUEZ PENA                       PO BOX 927                                                                                                            CAYEY               PR         00737
   226590 IKIDS SPANISH SLFTWARE INC                  BUCHANNAN                   70 CALLE SAN MARTIN                                                                       GUAYNABO            PR         00968

   226591 IKIDS SPANISH SOFTWARE, INC.                C/MAYAGUEZ #86                                                                                                        SAN JUAN            PR         00917
   226594 IKON INSURANCE                              270 MUNOZ RIVERA AVE PH 1                                                                                             SAN JUAN            PR         00918
   226595 IKON SOLUTIONS, INC.                        270 MUNOZ RIVERA AVE.       PH 1                                                                                      SAN JUAN            PR         00918
   226596 IKSEN RIVERA MORALES                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668338 IL NET AT NCI                               1916 WILSON BLVD            SUITE 209                                                                                 ARLINGTON           VA         22201
          ILA (International
          Longshoremen's Assoc) ‐ Local
   226598 1575                                        Díaz, Francisco             PO Box 9023783                                                                            San Juan            PR         00902‐3783
   226600 ILA ELECTRIC INC                            PO BOX 1272                                                                                                           SAN GERMAN          PR         00683

   226602 ILAHIDA FIGUEROA RODRIGUEZ                  REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226603 ILAINE C VEGA SANTINI                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   668339 ILAINETTE GONZALEZ MARTINEZ LAS VEREDAS                                 B 30 CALLE VEREDAD DEL RIO                                                                BAYAMON             PR         00691
          ILAPRSSA (Fondo de Bienestar y
   226604 Pensión                        Cortina, Rafael                          PO Box 361979                                                                             San Juan            PR         00936
                                         BUFETE ALDARONDO & LÓPEZ
  1422512 ILARRAZA CRUZ, ANA M           BRAS                                     ALDARONDO & LÓPEZ BRAS PSC 16 CARRETERA 199 SUITE 400                                     GUAYNABO            PR         00969
   226617 ILARRAZA OSORIO, VANESSA J     REDACTED                                 REDACTED                   REDACTED                                REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668341 ILCA DUES                      LAKE BOONE TRAIL 4101                    SUITE 201                                                                                 RELEIGH             NC         27607

   668342 ILCA JEANNETTE CRUZ SANTIAGO MIRADOR UNIVERSITARIO                      B 13 CALLE 22                                                                             CAYEY               PR         00736

   668343 ILCA LOPEZ                                  COND PARQUE CENTRAL         229 CALLE DEL PARQUE APT 204                                                              SAN JUAN            PR         00912
   668344 ILCA PEREZ LABOY                            HC 1 BOX 4193                                                                                                         QUEBRADILLAS        PR         00678



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  668345 ILCIA L VELEZ PACHECO                        4 CALLE SANTIAGO NEGRON                                                                                           YAUCO              PR         00698‐3901
  668346 ILDA DIAZ TORRES                             HC 01 BOX 11403                                                                                                   COAMO              PR         00769
  668347 ILDA I CUEVAS RODRIGUEZ                      URB PASEOS REALES         3 AVE PRINCESA                                                                          ARECIBO            PR         00612
  668348 ILDA M AVILA DURAN                           COND VILLAS DEL SOL       1 C/ PRINCIPAL APARTADO 23                                                              TRUJILLO ALTO      PR         00976
  668349 ILDA VELEZ CORTES                            PO BOX 973                                                                                                        UTUADO             PR         00641
  226636 ILDALIZ MONTANEZ PEREZ                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         ILDE FERNANDEZ DISTWATER
  668350 DELIGHT                                      REPARTO SAN JOSE          A‐7 CALLE 5                                                                             GURABO             PR         00778

   668353 ILDEFONSO BADILLO CABRERA                   URB SANTA ELVIRA          H 15 CALLE SANTA RITA                                                                   CAGUAS             PR         00725
   668356 ILDEFONSO COLON ROMAN                       HC 02 BOX 5542                                                                                                    LARES              PR         00669
          ILDEFONSO FELICIANO
   226640 RODRIGUEZ                                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   668358 ILDEFONSO LAMBOY PEREZ                      URB LAS VEREDAS           B 14 CALLE LAS FLORES                                                                   BAYAMON            PR         00961
   226642 ILDEFONSO LECLERES RAMOS                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   668359 ILDEFONSO LEON BERMUDEZ                     PO BOX 1051                                                                                                       VILLALBA           PR         00766
   226645 ILDEFONSO MARTINEZ                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   226647 ILDEFONSO MARTINEZ ORTIZ                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          ILDEFONSO MARTINEZ Y FIRST
   226649 BANK PR                                     PO BOX 9146               FIRST BANK PR                COMERCIALES HIPOTECARIOS                                   SAN JUAN           PR         00907

   226650 ILDEFONSO MONTIJO GONZALEZ REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   668362 ILDEFONSO ROBLES ECHEVARIA                  URB RIO CANAS             2213 CALLE PARANA                                                                       PONCE              PR         00728‐1832
          ILDEFONSO VELAZQUEZ
   668363 MARRERO                                     PO BOX 615                                                                                                        HORMIGUEROS        PR         00660

   226670 ILDELFONSO MARTINEZ RIVERA                  REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   668364 ILDELFONSO VEGA VEGA                        HC 9 BOX 4478                                                                                                     SABANA GRANDE      PR         00637
   668365 ILDELIZA PEREZ CALDERON                     HC 01 BUZON 7317                                                                                                  LOIZA              PR         00772
   226671 ILDEMARO SANTOS ROMERO                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   668366 ILDETONELO PAGAN PADRO                      68 CALLE BALDORIOTY                                                                                               SABANA GRANDE      PR         00637
   668367 ILDIA OJEDA TORO                            PO BOX 141091                                                                                                     ARECIBO            PR         00614
   668368 ILDIN GINET                                 52 CALLE ESPERANZA                                                                                                LUQUILLO           PR         00773
   226672 ILEAN LAMBOY HERNANDEZ                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   226673 ILEAN V. LAMBOY HERNANDEZ                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   226674 ILEANA A BONETA DUENO                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   668369 ILEANA A MORALES OSORIO                     HC 3 BOX 18013                                                                                                    RIO GRANDE         PR         00745
   226675 ILEANA A PEREZ RODRIGUEZ                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   226676 ILEANA ABAD CARO                            REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   226679 ILEANA ACEVEDO GONZALEZ                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   226680 ILEANA ACEVEDO RUIZ                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   226681 ILEANA ACEVEDO VERA                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   668371 ILEANA AGUIRRE VARGAS                       BDA OJO DE AGUA           63 CALLE DELIA                                                                          VEGA BAJA          PR         00693
   226683 ILEANA ALAMO ORTIZ                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   226684 ILEANA ALENO PEREZ                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   668372 ILEANA AMARO MALAVE                         URB RIO PIEDRAS HEIGHTS   212 CALLE WESER ALTOS                                                                   SAN JUAN           PR         00926
   226685 ILEANA ANDINO FUENTES                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   668373 ILEANA ANDINO PAGAN                         VILLA PALMERAS            365 CALLE COLTON                                                                        SAN JUAN           PR         00915
   668374 ILEANA APONTE DOUGLAS                       URB. SANTA JUANITA        WD 6 CALLE JESUS T PI¥ERO                                                               BAYAMON            PR         00956
   226686 ILEANA APONTE HERNANDEZ                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   226687 ILEANA ARTES CORTES                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  668375 ILEANA ASTACIO BETACOURT                     PO BOX 802                                                                                                    CANOVANAS         PR         00729
  226689 ILEANA AVILA RAMOS                           REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  668377 ILEANA AVILES SANTIAGO                       P O BOX 1286                                                                                                  LAJAS             PR         00667 1286
  226690 ILEANA AYMAT RIOS                            REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  226691 ILEANA BAEZ BRAVO                            REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  226692 ILEANA BAEZ VILLANUEVA                       REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  668379 ILEANA BAEZ ZAYAS                            URB EL CAFETAL II     N 128 CALLE MUNDO NUEVO                                                                 YAUCO             PR         00698
         ILEANA BENVENNUTTI
  668381 CARABALLO                                    BO SALUD              260 MARGARITA VILELLA                                                                   MAYAGUEZ          PR         00680
  668382 ILEANA BERMUDEZ                              HC 3 BOX 11713                                                                                                JUANA DIAZ        PR         00795
                                                                            F7 CALLE ECUADOR URB OASIS
   668383 ILEANA BLASINI VEGA           OASIS GARDEN                        GDNS                                                                                    GUAYNABO          PR         00969
   668384 ILEANA BONET                  VILLA CAPARRA                       12 CALLE WILSON                                                                         GUAYNABO          PR         00966
   668385 ILEANA BONILLA LUCIANO        TURABO CLUSTERS BOX 216                                                                                                     CAGUAS            PR         00725
   226693 ILEANA BONILLA SANTOS         REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226694 ILEANA BORGES BORGES          REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668387 ILEANA BRAVO GINALDO          URB COUTRY CLUB                     MR 2 CALLE 430                                                                          CAROLINA          PR         00982
   226696 ILEANA BURGOS PINERO          REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ILEANA C ALBARRAN / NEREIDA J
   226697 DIAZ                          REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226698 ILEANA CABEZA PEREZ           REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668389 ILEANA CALICO RODZ            PISO 2                              1467 CALLE HUMACAO                                                                      SAN JUAN          PR         00907
   226677 ILEANA CAMPOS CARABALLO       REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ILEANA CANDELARIO
   668390 HERNANDEZ                     HC 1 BOX 4112                                                                                                               ARROYO            PR         00714
   226699 ILEANA CARABALLO CRUZ         REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668391 ILEANA CARABALLO RUIZ         RES NEMESIO CANALES                 EDIF37 APTO 696                                                                         SAN JUAN          PR         00920
   668392 ILEANA CARAZO MARCANO         P O BOX 6312                                                                                                                CAGUAS            PR         00726
   668393 ILEANA CARMONA OSORIO         HC 01 BOX 11245                                                                                                             CAROLINA          PR         00987‐9614
   226700 ILEANA CARRILLO ROSADO        REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   226701 ILEANA CARRION MALDONADO                    REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226702 ILEANA CENTENO VAZQUEZ                      REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   226704 ILEANA CHALVISANT RODRIGUEZ REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668394 ILEANA CHICO RODRIGUEZ      MANSIONES DE CAROLINA                 NN 54 CALLE 58                                                                          CAROLINA          PR         00987
   668395 ILEANA CINTRON CINTRON      RR 36 BOX 1302                                                                                                                SAN JUAN          PR         00926
   668399 ILEANA COLLADO SALAZAR      P O BOX 839                                                                                                                   GUANICA           PR         00647
   668400 ILEANA COLON CARLOS         URB GARDEN HILL                       S14 CALLE JARDIN                                                                        GUAYNABO          PR         00966
   668401 ILEANA COLON LOPEZ          PO BOX 4186                                                                                                                   CAROLINA          PR         00984
   668402 ILEANA COLON MORALES        HC 80 BOX 9359                                                                                                                DORADO            PR         00646
   226705 ILEANA COLON ORTIZ          REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226706 ILEANA CORREA COLON         REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226707 ILEANA CORREA FUENTES       REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226708 ILEANA COSS ALVERIO         REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668405 ILEANA CRUZ ACOSTA          COND SAN MIGUEL                       APT 401 CALLE POST                                                                      MAYAGUEZ          PR         00680
   226709 ILEANA CRUZ BERRIOS         REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226710 ILEANA CRUZ SANTIAGO        REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226711 ILEANA CRUZ VELAZQUEZ       REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226712 ILEANA D TAPIA MORALES      REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   226713 ILEANA D. SANTIAGO MORALES                  REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668406 ILEANA DE JESUS SANTIAGO                    HC 1 BOX 19569                                                                                                COAMO             PR         00769



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MML ID               NAME                         ADDRESS 1                               ADDRESS 2                    ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  668407 ILEANA DIAZ                    B 4 URB JARD DEL CARIBE                                                                                                        CAYEY               PR         00736
  226715 ILEANA DIAZ ALBARRAN           REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  226716 ILEANA DIAZ CARDONA            REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  668408 ILEANA DIAZ CASTRO             HC 3 BOX 37352                                                                                                                 CAGUAS              PR         00725
  226717 ILEANA DIAZ ESQUILIN           REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  668409 ILEANA DIAZ RODADO             P O BOX 31                                                                                                                     TOA ALTA            PR         00954
  668410 ILEANA DIAZ ROLON              P O BOX 114                                                                                                                    MOROVIS             PR         00687
  668411 ILEANA DIAZ VILLEGAS           BO MULAS BOX 812                                                                                                               PATILLAS            PR         00723
  668412 ILEANA DOMINGUEZ ZAPATA        118 CALLE PICCIONI                     APT 6 A                                                                                 SAN JUAN            PR         00907
         ILEANA DURAN SANTINI IR
  226718 CONSULTANT GROUP               652 PLAZA SUITA #3150                  652 MUNOZ RIVERA AVENUE                                                                 SAN JUAN            PR         00918
         ILEANA DURAN SANTINI IR
  226719 CONSULTING GROUP               652 PLAZA SUITE 3150                   652 AVE MUNOZ RIVERA                                                                    SAN JUAN            PR         00918
  668413 ILEANA DURAND MARTINEZ         HACIENDA MI QUERIDO VIEJO              161 CALLE ROBLE                                                                         DORADO              PR         00646
  226720 ILEANA E CINTRON CRUZ          REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         ILEANA E DAVILA CRUZ / CESAR J
  668414 GUERRIDO                       URB REPTO VALENCIA                     U 3 CALLE 2                                                                             BAYAMON             PR         00959

   668416 ILEANA ECHEGOYEN SANTALLA                    HILLSIDE                CALLE 7 J 32                                                                            SAN JUAN            PR         00926
   226723 ILEANA EMMANUELLI CRESPO                     REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   668417 ILEANA ENID VEQUILLA ROSARIO P O BOX 724                                                                                                                     CAYEY               PR         00737
   668418 ILEANA ESCLUSA TORRES        PO BOX 20173                                                                                                                    SAN JUAN            PR         00928
   226725 ILEANA FAJARDO BENGOA        REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668419 ILEANA FALCON LASUNA         CAPARRA INC                             1316 CALLE 16 SO                                                                        SAN JUAN            PR         00921
   226726 ILEANA FELICIANO MORENO      REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   226727 ILEANA FIGUEROA CARABALLO                    REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226728 ILEANA FIGUEROA ZAYAS                        REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226729 ILEANA FONTANEZ FUENTES                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226730 ILEANA G. ROSARIO RAMOS                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226731 ILEANA GALANES RIVERA                        REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226732 ILEANA GARCIA DEL VALLE                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668423 ILEANA GARCIA LEBRON                         HC 30 BOX 36840                                                                                                 SAN LORENZO         PR         00754
   668424 ILEANA GERENA NIEVES                         P O BOX 523                                                                                                     CAMUY               PR         00627‐0523
   668425 ILEANA GOMEZ MILLAN                          P O BOX 820                                                                                                     SAN LORENZO         PR         00754
   668426 ILEANA GONZALEZ BARRETO                      HC 1 BOX 4944                                                                                                   MOCA                PR         00677
   226733 ILEANA GONZALEZ PONS                         REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226734 ILEANA GONZALEZ RIVERA                       REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226735 ILEANA GOYCO MORALES                         REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226736 ILEANA GUILLEN AMATO                         REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668428 ILEANA HARRISON SERRANO                      HC 05 BOX 28896                                                                                                 CAMUY               PR         00627
   668429 ILEANA HERNANDEZ ESTEVEZ                     LA RIVIERA              252 LUIS LLORENS TORRES                                                                 MAYAGUEZ            PR         00680
   226737 ILEANA HERNANDEZ JIMENEZ                     REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668430 ILEANA HERNANDEZ NAZARIO                     SAN GERONIMO            54 CALLE BOLIVIA SUITE 203                                                              SAN JUAN            PR         00918

   226738 ILEANA HERNANDEZ PARRILLA                    REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668431 ILEANA HERRERA TAMAYO                        PO BOX 5080 SUITE 133                                                                                           AGUADILLA           PR         00603
   226739 ILEANA HIRALDO LANDRAU                       REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226740 ILEANA I CORRAL LIZARDI                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668434 ILEANA I FAS PACHECO                         PO BOX 947                                                                                                      CABO ROJO           PR         00623
   668435 ILEANA I RODRIGUEZ RIVERA                    4TA SECCION LEVITTOWN   V 43 CALLE LEILA ESTE                                                                   TOA BAJA            PR         00949
   668436 ILEANA IRIZARRY AGOSTINI                     PASEO DEL PUERTO        EDIF 8 APT 330                                                                          PONCE               PR         00716



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  668437 ILEANA IRVINE BLANCO                          PARQUE SANTA MARIA           M 7 CALLE ROSA                                                                   SAN JUAN          PR         00927
  226742 ILEANA J OTERO GUZMAN                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  668439 ILEANA JIMENEZ HERNANDEZ                      HC 1 BOX 5621                                                                                                 MOCA              PR         00676
  668440 ILEANA JOVE                                   URB COLLEGE PARK             269 CALLE PADUA                                                                  SAN JUAN          PR         00921
  668441 ILEANA KILGORE LUGO                           BO MAGINAS                   181 CALLE ORQUIDEA                                                               SABANA GRANDE     PR         00637
  226744 ILEANA L TORRES ORTIZ                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  226745 ILEANA L. GARCIA DEL VALLE                    REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  226749 ILEANA LABOY SANTIAGO                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  226750 ILEANA LAUREANO MOLINA                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  668443 ILEANA LIZ GOMEZ ORTIZ                        ARIZONA 8 CASA 18                                                                                             ARROYO            PR         00714

   668444 ILEANA LOPEZ COSS                            URB JARDINES DE RIO GRANDE   CE 576 CALLE 82                                                                  RIO GRANDE        PR         00745
   668445 ILEANA LOPEZ MALDONADO                       URB EL CEREZAL               1643 CALLE LOIRA                                                                 SAN JUAN          PR         00926
   226751 ILEANA LOPEZ TORRES                          REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   226752 ILEANA M ACEVEDO REYES                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   226753 ILEANA M AGRAIT ORTIZ                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   668446 ILEANA M ARBONA RAMIREZ                      814 MANATIALES                                                                                                MAYAGUEZ          PR         00680
   226754 ILEANA M BENTEGEAT CORA                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   226755 ILEANA M DIAZ AGUILAR                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   226756 ILEANA M FABREGAS ALCAIDE                    REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   668447 ILEANA M FRATICELLI TORO                     EXT GUAYDIA                  5 CALLE PRESAS                                                                   GUAYANILLA        PR         00656

   226758 ILEANA M GONZALEZ GONZALEZ REDACTED                                       REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   668449 ILEANA M MARTINEZ RODRIGUEZ URB VALENCIA O 19                             CALLE A                                                                          BAYAMON           PR         00959

   226759 ILEANA M MONTALVO NICOLAY                    REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   226761 ILEANA M OLIVER FALERO                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   668452 ILEANA M RIVERA RIGAU                        URB RIVIERA                  B1                                                                               CABO ROJO         PR         00623
   226763 ILEANA M RIVERA SANTOS                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   226764 ILEANA M RIVERA TORRES                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   226765 ILEANA M. RIVERA                             REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   226766 ILEANA M. SABATER RODRIGUEZ REDACTED                                      REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   668454 ILEANA M.TORRES SANCHEZ     PO BOX 759                                                                                                                     VILLALBA          PR         00766

   668456 ILEANA MALDONADO ALVAREZ                     HC 03 BOX 11879                                                                                               UTUADO            PR         00641

   668457 ILEANA MALDONADO GONZALEZ PO BOX 7875                                                                                                                      CAGUAS            PR         00726
   226767 ILEANA MALDONADO TORRES    REDACTED                                       REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          ILEANA MARIA COLON
   226768 RODRIGUEZ                  REDACTED                                       REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   668458 ILEANA MARQUES SANTOS      REPARTO METROPOLITANO                          962 CALLE 11 SE                                                                  SAN JUAN          PR         00924
   226769 ILEANA MARTINEZ            REDACTED                                       REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   226770 ILEANA MARTINEZ COTTO      REDACTED                                       REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   226771 ILEANA MARTINEZ FRATICELLI REDACTED                                       REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   226772 ILEANA MARTINEZ MAISONAVE                    REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   668459 ILEANA MARTINEZ SANTANA                      IMBERY                       BOX 21 C/ 15                                                                     BARCELONETA       PR         00617
   226773 ILEANA MATTEI LATIMER                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          ILEANA MERCADO / IVONNE
   226775 MERCADO                                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   668461 ILEANA MERCADO BERRIOS                       COND SAN IGNACIO             APT 9 A                                                                          SAN JUAN          PR         00921



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          ILEANA MERCADO
   226777 CARRASQUILLO              REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          ILEANA MERCEDES MALDONADO
   226778 VAZQUEZ                   REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   668462 ILEANA MICHELENA DEL REY  COND LOS ALMENDROS APT 4                  168 SAN JORGE                                                                              SAN JUAN            PR         00911
   668463 ILEANA MICHELENO DEL REAL COND LOS ALMENDROS APT 4                  168 CALLE SAN JORGE                                                                        SAN JUAN            PR         00911
   668464 ILEANA MIRANDA NAVARRO    RR 2 BOX 6900                                                                                                                        CIDRA               PR         00739
                                                                              APT B 4 CALLE VICTOR FIGUEROA
   668466 ILEANA MONTALVO RIOS                        COND BARCELONETA        712                                                                                        SAN JUAN            PR         00907
   668468 ILEANA MORALES PENA                         35 MIRADERO GARDENS                                                                                                MAYAGUEZ            PR         00680
   226780 ILEANA MULERO DIAZ                          REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   226782 ILEANA MUNOZ LANDRON                        REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   226783 ILEANA NANA HUDO RICCI                      REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   226784 ILEANA NATTEI LATIMER                       REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   226785 ILEANA NEGRON ROCHE                         REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   226786 ILEANA NEVAREZ COLON                        REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   226787 ILEANA NIEVES RUIZ                          REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   668469 ILEANA NIEVES VEGA                          BO CAIMITAL BAJO        CARR 2 K 124 H 6 R 469                                                                     AGUADILLA           PR         00603
   668470 ILEANA O SILVA GONZALEZ                     REP METROPOLITANO       971 CALLE 27 SE                                                                            SAN JUAN            PR         00921
   668472 ILEANA ORENGO RUIZ                          443 BARRIADA DELICIAS                                                                                              YAUCO               PR         00968
   668473 ILEANA ORTIZ BATIZ                          PO BOX 8524                                                                                                        PONCE               PR         00732 8524
   226789 ILEANA ORTIZ CORREA                         REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   226791 ILEANA ORTIZ MELENDEZ                       REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   668474 ILEANA OXIO LOZANO                          PO BOX 7126                                                                                                        PONCE               PR         00732
   226792 ILEANA PACHECO MORALES                      REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   226793 ILEANA PADILLA ALVAREZ                      REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   668475 ILEANA PADRO VAZQUEZ                        BRISA DE CAMUY                                                                                                     CAMUY               PR         00627
   668476 ILEANA PAGAN                                MANSIONES DE MONTEREY   521 CALLE MADRID                                                                           YAUCO               PR         00698
   226794 ILEANA PAGAN LUGO                           REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   226795 ILEANA PAGAN MEDINA                         REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   668477 ILEANA PALERMO LEYRO                        BO BALLAJA              650‐B CARR 313 KM 1 7                                                                      CABO ROJO           PR         00623
   226796 ILEANA PEREZ                                REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   226797 ILEANA PEREZ CINTRON                        REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   226798 ILEANA PEREZ SANTIAGO                       REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   668478 ILEANA PEREZ SANTOS                         URB EL PLANTIO          N 8 CALLE ROSA IMPERIAL                                                                    TOA BAJA            PR         00949
   668479 ILEANA PIZARRO                              316 CALLE JUNCOS                                                                                                   SAN JUAN            PR         00915

   668480 ILEANA QUI¥ONES CRUZ                        URB CAROLINA ALTA       F 26 CALLE NATIVIDAD LANDRAU                                                               CAROLINA            PR         00987
   668481 ILEANA QUIÃONES FERRER                      PO BOX 19175                                                                                                       SAN JUAN            PR         00910
   226799 ILEANA QUILES ARROYO                        REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   226800 ILEANA QUILES ARROYO AUD                    REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   226801 ILEANA QUINONES                             REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   226802 ILEANA QUINONES AYALA                       REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   226803 ILEANA R AGUDO CALDERON                     REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   668482 ILEANA R DE AGOSTINI                        URB SAN IGNACIO         1815 CALLE SAN ALEJANDRO                                                                   SAN JUAN            PR         00927
   668483 ILEANA RAMOS                                URB STA JUANITA         O 3 CALLE DINUBA                                                                           BAYAMON             PR         00956
   226805 ILEANA RAMOS RODRIGUEZ                      REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   226806 ILEANA RAMOS VALDES                         REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   668484 ILEANA RIOS ORTEGA                          PO BOX 191                                                                                                         COMERIO             PR         00782
   226807 ILEANA RIVERA CACERES                       REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   668485 ILEANA RIVERA CORREA                        PO BOX 361171                                                                                                      SAN JUAN            PR         00936‐1171
   668486 ILEANA RIVERA GOMEZ                         URB STA TERESITA        U 5 CALLE 22                                                                               BAYAMON             PR         00961
   226808 ILEANA RIVERA RODRIGUEZ                     REDACTED                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  668489 ILEANA RODRIGUEZ                             URB VILLA FLORES            H 41 CALLE FLAMBOYAN                                                                      PONCE               PR           00731

   226810 ILEANA RODRIGUEZ ESCALERA                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   226811 ILEANA RODRIGUEZ MARTINEZ                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   668490 ILEANA RODRIGUEZ MELENDEZ                   3000 PINEDA DR                                                                                                        ORLANDO             FL           32822
   668493 ILEANA RODRIGUEZ PEREZ                      HC 09 BOX 4085                                                                                                        SABANA GRANDE       PR           00637
   668494 ILEANA RODRIGUEZ RIVERA                     HC 1 BOX 11215                                                                                                        CAROLINA            PR           00985

   668495 ILEANA RODRIGUEZ RODRIGUEZ                  VILLA RINCON                APTO B 11                                                                                 RINCON              PR           00677
   668498 ILEANA RODRIGUEZ ZAYAS                      PO BOX 511                                                                                                            CIDRA               PR           00739
   226813 ILEANA ROMAN MEDINA                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   226814 ILEANA ROSARIO BONES                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   226815 ILEANA RUIZ RIVERA                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   668499 ILEANA RUIZ ROLDAN                          HC 4 BOX 44976                                                                                                        AGUADILLA           PR           00603
   668500 ILEANA SALAZAR GARCIA                       RR 1 BOX 23057                                                                                                        A¥ASCO              PR           00610
   668502 ILEANA SANCHEZ TORRES                       HP ‐ Forense RIO PIEDRAS                                                                                              Hato Rey            PR           009360000
   668503 ILEANA SANTIAGO                             HC 73 BOX 5498                                                                                                        NARANJITO           PR           00719
   226816 ILEANA SANTIAGO OSORIO                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   226817 ILEANA SANTIN GONZALEZ                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   668504 ILEANA SEGUI ACEVEDO                        PO BOX 1278                                                                                                           MOCA                PR           00603
   668505 ILEANA SEPULVEDA                            PO BOX 3968                                                                                                           AGUADILLA           PR           00605
   668506 ILEANA SEPULVEDA VILLA                      PMB 376 P O BOX 5075                                                                                                  SAN GERMAN          PR           00683‐5075
   668508 ILEANA SERRANO IGARTUA                      CASTELLANA GARDENS          EE 6 CALLE 32                                                                             CAROLINA            PR           00983
   668510 ILEANA T ORTIZ ALGARIN                      JARDINES DEL CARIBE         ZB 9 CALLE 54                                                                             PONCE               PR           00731

   668512 ILEANA TORRES MOJICA                        AVE ELEANOR ROOSEVELT 232                                                                                             SAN JUAN            PR           00907
   668514 ILEANA TROCHE                               PO BOX 3484                                                                                                           JUNCOS              PR           00777
   668515 ILEANA V BAYONA GARCIA                      PO BOX 141258                                                                                                         ARECIBO             PR           00614 1258
   668516 ILEANA V ESPADA MARTINEZ                    URB MONTE CARLO             1316 CALLE 23                                                                             SAN JUAN            PR           00924
   668517 ILEANA V PEREZ ARROYO                       B 118 URB SANTA MARIA                                                                                                 SABANA GRANDE       PR           00637
   226819 ILEANA VAELLO BRUNET                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   668518 ILEANA VALDES BELEN                         PO BOX 2903                                                                                                           SAN GERMAN          PR           00683

   668519 ILEANA VALENTIN ALEJANDRO                   PMB 4000                    SUITE 278 CALLE BALDORIOTY                                                                JUNCOS              PR           00777
   668520 ILEANA VALENTIN CABAN                       25 AVE LOS ROBLES                                                                                                     AGUADILLA           PR           00603
   668521 ILEANA VALLEJO RODRIGUEZ                    PO BOX 1202                                                                                                           SAN LORENZO         PR           00754
   668522 ILEANA VARGAS GARCIA                        HC 56 BOX 35337                                                                                                       MOCA                PR           00602‐9186

   668523 ILEANA VAZQUEZ BORRERO                      ASHFORD MEDICAL CENTER      SUITE 302 ‐ 29 WASHINTON ST.                                                              SAN JUAN            PR           0090471509
   668524 ILEANA VAZQUEZ MARTINEZ                     PO BOX 454                                                                                                            SABANA HOYOS        PR           00688
   668525 ILEANA VAZQUEZ PEREZ                        PO BOX 787                                                                                                            COTTO LAUREL        PR           00780‐0787
   668526 ILEANA VAZQUEZ VERDEJO                      LUIS LLORENS TORRES         EDIF 19 APT 379                                                                           SAN JUAN            PR           00913
   668527 ILEANA VEGA FRANCO                          P O BOX 1675                                                                                                          CIDRA               PR           00739
   226822 ILEANA VEGA RODRIGUEZ                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   226823 ILEANA VEGUILLA FIGUEROA                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                      BO BUENOS AIRE SECTOR LOS
   668528 ILEANA VELEZ GONZALEZ                       MATILDE                     HC 2 BOX 6456                                                                             LARES               PR           00669
   226824 ILEANA VELEZ QUINONEZ                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   226825 ILEANA VELEZ VEGA                           REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   668529 ILEANA VIERA ROSADO                         URB COUNTRY CLUB            914 CALLE LABRADOR                                                                        SAN JUAN            PR           00924




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          ILEANA VILLAFANE Y/O PUERTO
   226826 VEN QUARRY                                  BOX 800251                                                                                                        COTO LAUREL          PR           00780
   668531 ILEANA VILLEGAS ROSA                        RR 1 BOX 16032                                                                                                    TOA ALTA             PR           00953
   226827 ILEANA WARDEN DEL PILAR                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   226828 ILEANA Y NIEVES RODRIGUEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          ILEANA YOLINDA GARCÍA
   226829 RAMIREZ DE ARELLAN                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   668533 ILEANA Z SOLIS CRUZ                         HC 2 BOX 6052                                                                                                     LUQUILLO             PR           00773
   226831 ILEANATALIA COLON CORA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   226832 ILEANE AMADOR SERRANO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      URB.HERMANAS DAVILA CALLE
   226833 ILEANER DECLET ROSA HOGAR                   10 P#32                                                                                                           BAYAMON              PR           00959

   668535 ILEANEXA ROSADO ESPADA                      COND JARDINES DE ALTAMESA   EDIF 1 APT 17                                                                         SAN JUAN             PR           00921
   226834 ILEANEXI SANTOS CALDERON                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   668538 ILEANEXIS ROSADO GOTAY                      APT. 1011‐A                 COOP JARD DE SAN IGNACIO                                                              SAN JUAN             PR           00927
   668539 ILEANEXIS SASTRE CLAUDIO                    URB ALTURAS DE VEGA BAJA    CC 24 CALLE BB                                                                        VEGA BAJA            PR           00693
                                                      BO QUEBRADA CRUZ SECTOR
   668540 ILEANIS PAGAN DIAZ                          PUNTA                       BRAVA RR 2 BOX 7506                                                                   TOA ALTA             PR           00953
   226835 ILEANISE CRUZ MONTALVO                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   226837 ILEIS M BAEZ MALDONADO                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   226839 ILEM M LOPEZ CRUZ                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   668541 ILEMARI BERNANDY RIVERA                     ESTANCIAS DE MONTE RIO      110 CALLE BEGONIA                                                                     CAYEY                PR           00736
   668542 ILEN YOLHERI GARCIA RENTA                   2639 JOBOS APT B 25                                                                                               PONCE                PR           00717
   226840 ILENA A TORRES BURGOS                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   226841 ILENE M MARTINEZ SOTO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   668543 ILENE ROJAS MONTALVO                        P O BOX 514                                                                                                       BAJADERO             PR           00616
   668544 ILENE VARGAS                                1407 AVE ASHFORD                                                                                                  SAN JUAN             PR           00907
   668545 ILENIA ORTEGA MARTINEZ                      URB STA JUANITA             AC 23 CALLE 45                                                                        BAYAMON              PR           00956
   226842 ILENISSE OTERO DIAZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   668546 ILEON.COM INC                               535 RT 38 SUITE 500                                                                                               CHERRY HILL          NJ           08002
   668547 ILERINA GARCIA RAMIREZ                      RR 4 BOX 697                                                                                                      BAYAMON              PR           00956
   226843 ILESKA SANTALIZ MARTELL                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   226844 ILIA A ORTIZ CORREA                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   226845 ILIA BARBOSA MARTINEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   226846 ILIA BONEU MORALES                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   668550 ILIA BOUYETT DE ORTIZ                       BDA BITUMUL                 7 CALLE 8 # 5                                                                         SAN JUAN             PR           00917
   668551 ILIA CORREA SEPULVEDA                       URB SANTA MARIA             E 42 CALLE 5                                                                          SAN GERMAN           PR           00683
   226847 ILIA DIAZ GONZALEZ                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   668553 ILIA E ASTACIO ACOSTA                       BO BALLAJA BZN 328 KM 1 7                                                                                         CABO ROJO            PR           00623
   226848 ILIA E CASTANON RIOS                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   668554 ILIA E GONZALEZ VELAZQUEZ                   E 209 CALLE 3               ALTURA DE RIO GRANDE                                                                  RIO GRANDE           PR           00745
   668555 ILIA E MATEO DE JESUS                       P O BOX 2038                                                                                                      SALINAS              PR           00751
   226849 ILIA E RAMOS FRANCESHI                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   226850 ILIA E RIVERA REYES                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   668557 ILIA E RODRIGUEZ TIRADO                     BRISAS DE TORTUGUERO        63 CALLE RIO CIBUCO                                                                   VEGA BAJA            PR           00693
   226851 ILIA E ZAYAS ORTIZ                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   668558 ILIA ESPADA GOITIA                          VILLA CONTESA               T 35 CALLE WINDOR                                                                     BAYAMON              PR           00956
   668559 ILIA I DIAZ RODRIGUEZ                       P O BOX 310                                                                                                       CAGUAS               PR           00725
   668560 ILIA I NAVARRO GUZMAN                       URB COLINAS                 27 CALLE CORDILLERA                                                                   HATILLO              PR           00659
   226853 ILIA I RODRIGUEZ                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   226855 ILIA I.RODRIGUEZ BAEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   668564 ILIA J PEREZ MEDERO                         URB SIERRA BAYAMON          74 27 CALLE 63                                                                        BAYAMON              PR           00961



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  226856 ILIA LAUREANO OLIVERAS                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  668566 ILIA LUQUE CANO                               PO BOX 337                                                                                                             CEIBA               PR         00735
         ILIA M / MARIA T / GENARO
  226857 PAGAN                                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  226858 ILIA M ARROYO MARTINEZ                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  226859 ILIA M CEDENO CARABALLO                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  226860 ILIA M COLLAZO                                REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  668567 ILIA M CORREA VILLARRUBIA                     PARK GARDENS                   N 56 A CALLE ACADIA                                                                     SAN JUAN            PR         00926
  226861 ILIA M DOMINGUEZ LOPEZ                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  668571 ILIA M GAUTIER RIVERA                         6703 82 ND ST APT 1322                                                                                                 LUBBOCK             TX         79424

   668572 ILIA M HERNANDEZ ROBLES                      URB EL CORTIJO BO‐28 CALLE 3                                                                                           BAYAMON             PR         00956
          ILIA M IRIZARRY NAZARIO Y/O
   226862 PEDRO M                                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668548 ILIA M LOPEZ BERRIOS                         HC 01 BOX 3209                                                                                                         BARRANQUITAS        PR         00794

   668573 ILIA M MORALES MELECIO                       URB COLINA DE MONTE CARLOS     41 CALLE 15                                                                             SAN JUAN            PR         00924
   226863 ILIA M MUNIZ DELGADO                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226864 ILIA M ORTIZ TORRES                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668574 ILIA M RETAMALES                             PO BOX 1930                                                                                                            COAMO               PR         00769
   668575 ILIA M ROBLES RESTO                          TOA ALTA HEIGHTS               I 55 CALLE 3                                                                            TOA ALTA            PR         00953
   226867 ILIA M. APELLANIZ BARRETO                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   668576 ILIA M. LABORDE                              COND CRYSTAL HOUSE             1503 COND DE DIEGO APT 368                                                              SAN JUAN            PR         00923
   226869 ILIA M. SOSTRE ROSARIO                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668577 ILIA MARIA SANTIAGO CONDE                    BO GARZAS                      PO BOX 13                                                                               ADJUNTAS            PR         00601
   668579 ILIA MELENDEZ MAYA                           D 62 VILLA DEL CARMEN                                                                                                  CABO ROJO           PR         00623
   226870 ILIA N CASANOVA FELICIANO                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668580 ILIA N ORTÖZ REYES                           URB ESTANCIAS DEL GOLF         776 CALLE TITE CURET                                                                    PONCE               PR         00733
   668581 ILIA ORTIZ CRUZ                              URB REXMANOR                   K 2 CALLE 3                                                                             GUAYAMA             PR         00784
   668582 ILIA ORTIZ RUIZ                              BO COLOMBIA                    205 CALLE CONDE                                                                         MAYAGUEZ            PR         00680

   668583 ILIA PAGAN RIVERA                            232 AVE ELEONOR ROOSEVELT                                                                                              SAN JUAN            PR         00907
   668584 ILIA PARRILLA CALO                           PO BOX 7916 HC 01              BO LOMAS COLES                                                                          CANOVANAS           PR         00729
   668585 ILIA R AYALA AYALA                           VILLA CAROLINA                 121‐25 CALLE 64                                                                         CAROLINA            PR         00985
   668586 ILIA R PEREZ FORTIS                          P O BOX 8812                                                                                                           BAYAMON             PR         00960
   226871 ILIA R TORO RODRIGUEZ                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668587 ILIA RAMOS MARTINEZ                          P O BOX 1076                                                                                                           RINCON              PR         00677
   226872 ILIA RAMOS PAGAN                             REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668588 ILIA REMEDIOS CARDONE                        57 AVE DE DIEGO APT 1                                                                                                  SAN JUAN            PR         00911
   668589 ILIA REYES GARCIA                            RES RAMOS ANTONINI             EDIF 12 APT 115                                                                         RIO PIEDRAS         PR         00924
   668590 ILIA RIVERA SANTIAGO                         22 BO RETIRO                   P O BOX 811                                                                             SAN GERMAN          PR         00683
   668591 ILIA ROMAN JIMENEZ                           PO BOX 3768                                                                                                            GUAYNABO            PR         00970

   668593 ILIA RUIZ GANDULLA                           BO DULCES LABIOS               86 CALLE CARMELO MARTINEZ                                                               MAYAGUEZ            PR         00680
   226873 ILIA S ORTIZ ORTIZ                           REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668594 ILIA SANCHEZ ARANA                           1136 AVE F D ROOSEVELT                                                                                                 SAN JUAN            PR         00920
   668595 ILIA SEPULVEDAD AGRAIT                       PO BOX 362012                                                                                                          SAN JUAN            PR         00936‐2012
   668598 ILIA TOLEDO                                  BO CANABONCITO                 KM 1 CARR 784                                                                           CAGUAS              PR         00725
   226874 ILIA TORRES CRUZ                             REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226876 ILIA TORRES OTERO                            REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226877 ILIA V CARMONA TORRES                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   226878 Ilia V. Carmona Torres                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  226879 ILIA V. HERNANDEZ ESTRADA                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  668601 ILIA VALIENTE DE SOTO                        BOX 355                                                                                                             COROZAL           PR         00783
  668602 ILIA Y LOPERENA                              HC 1 BOX 5179                                                                                                       AGUADILLA         PR         00603
  226880 ILIA ZENON RODRIGUEZ                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  226881 ILIAMELIS SOTO ECHEVARRIA                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         ILIAN DIAZ DBA EYE CARE
  226882 OPTICAL EXPRESS                              36 GAUTIER BENITEZ         SUITE 101                                                                                CAGUAS            PR         00725
  226884 ILIAN E ORTIZ PEDROGO                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  668605 ILIAN MONTES VALENTIN                        URB SAN ANTONIO            3023 AVE EDUARDO RUBERTE                                                                 PONCE             PR         00728
  668606 ILIAN VALENTIN SANCHEZ                       PO BOX 4404                                                                                                         AGUADILLA         PR         00605
  226885 ILIAN Y. DIAZ                                REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  668608 ILIANA ARROYO HILERIO                        HC 2 BOX 21401                                                                                                      AGUADILLA         PR         00603
  668609 ILIANA BAEZ AGOSTO                           HC 01 BOX 8802                                                                                                      AGUAS BUENAS      PR         00703

   668610 ILIANA BENVENUTTI                           BO SALUD                   260 CALLE MARGARITA VILELLA                                                              MAYAGUEZ          PR         00680
   668611 ILIANA BERMEJO SEMPRIT                      P O BOX 2326                                                                                                        BAYAMON           PR         00960
   668612 ILIANA CALDERO FUENTES                      HC 01 BOX 6991                                                                                                      COROZAL           PR         00783
   668607 ILIANA CARABALLO PEDRAZA                    L 3 LUXEMBURGO             VILLA CONTESA                                                                            BAYAMON           PR         00956
   226886 ILIANA CINTRON SOSTRE                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226887 ILIANA COLON ESMURRIA                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   668613 ILIANA DELGADO BETANCOURT                   PO BOX 606                                                                                                          NAGUABO           PR         00744‐0606
   668614 ILIANA DELGADO CAMACHO                      HC 3 BOX 12720                                                                                                      YABUCOA           PR         00767‐9709
   668615 ILIANA DELGADO MARTINEZ                     P O BOX 1393                                                                                                        YABUCOA           PR         00767‐1393
   226888 ILIANA DIAZ DIAZ                            REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226889 ILIANA E DAFFRA SONCINI                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226890 ILIANA E ORTIZ DIAZ                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226891 ILIANA FELICIANO MONTIJO                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668617 ILIANA GARCIA SANTOS                        LOS LIRIOS                 EDF 5 APT 60                                                                             SAN JUAN          PR         00926
   226892 ILIANA I ORTIZ TORRES                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226893 ILIANA I. ALVAREZ                           REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226894 ILIANA J RODRIGUEZ PAGAN                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226895 ILIANA L. RUIZ TOLEDO                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668618 ILIANA LA LUZ PAGAN                         CIUDAD UNIVERSITARA        Y 14 CALLE 27                                                                            TRUJILLO ALTO     PR         00976
   668620 ILIANA MARTINEZ                             URB SAN JOSE               366 CALLE BRAVANTE                                                                       SAN JUAN          PR         00923
   226897 ILIANA MARTINEZ VAZQUEZ                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668623 ILIANA MERCADO LOPEZ                        HP ‐ Forense RIO PIEDRAS                                                                                            Hato Rey          PR         009360000
   226900 ILIANA OCASIO CARDONA                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668624 ILIANA ORTA                                 BOX 913                                                                                                             LARES             PR         00669
   226901 ILIANA OTERO DIAZ                           REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226903 ILIANA PRIETO DURAN                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226904 ILIANA QUINONES ADORNO                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668625 ILIANA RIVERA SANTIAGO                      HC 1 BOX 4305                                                                                                       COMERIO           PR         00782
   668626 ILIANA RODRIGUEZ GOMEZ                      PO BOX 1435                                                                                                         SANTA ISABEL      PR         00757
   226906 ILIANA ROSARIO HUERTAS                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226907 ILIANA S MALARET YORDAN                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   226908 ILIANA SANDOVAL TORRES                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668627 ILIANA SANTIAGO ORTIZ                       H C1 BOX 5842                                                                                                       JUNCOS            PR         00777
          ILIANA SHAMIR MALARET
   226909 YORDAN                                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   668628 ILIANA VELEZ MARTINEZ                       PO BOX 168                                                                                                          MARICAO           PR         00606
   668629 ILIANET COTTO LOPEZ                         BOX 3037                                                                                                            CIDRA             PR         00739
   226910 ILIANETTE RUIZ ACEVEDO                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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   226911 ILIANEXCIS MENENDEZ FUENTES                 REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   226913 ILIANIS M. CARRILLO AVILES                  REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ILIANNIE M RODRIGUEZ
   226914 CHALUISANT                                  REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ILIANNIE M. RODRIGUEZ
   226915 CHALUISANT                                  REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668630 ILIANY REYES PARRILLA                       4861 PIERCE ARROW DR                                                                                               APOPKA              FL           32712
   226916 ILIANYS LASANTA ORTIZ                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   226917 ILKA CARBO RODRIGUEZ                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      URBANIZACION ALTURA DEL
   668631 ILKA CATALA TORRES                          CAFETAL                   G‐2 CALLE GLADIOLA                                                                       YAUCO               PR           00698
   226918 ILKA I QUINONES SANTANA                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   226919 ILKA J AYALA BAEZ                           REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   226920 ILKA MIRANDA VAZQUEZ                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668633 ILKA RALAT AVILES                           C/O AIDA CRUZ CABRERA     DEPTO. FAMILIA ‐AREA FISCAL   REG ARECIBO                                                ARECIBO             PR           00613
   226921 ILKA RODRIGUEZ                              REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668635 ILKA RODRIGUEZ IRIZARRY                     O 1 URB VILLA MACHUELO                                                                                             PONCE               PR           00730
   668636 ILKA SANCHEZ PLANADEBALL                    HC 1 5807                                                                                                          ARROYO              PR           00714
   668637 ILKA SANDOVAL COLON                         URB SAN ANTONIO           E 82 CALLE I                                                                             ARROYO              PR           00714
   226922 ILKYA VEGA OQUENDO                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   226926 ILLANAS CAMACHO MD, JOSE R                  REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668639 ILLARAH CORP                                BOX 192639                                                                                                         SAN JUAN            PR           00919
   226932 ILLAS HERNANDEZ, BARNABY                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   226951 ILLEANNE O COLON MORALES                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668640 ILLELIPSY GINORIA ARENAS                    PLAYA PONCE               N 23 CALLE GUADALUPE                                                                     PONCE               PR           00731

   226952 ILLENID ALVARADO RODRIGUEZ                  REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ILLEYSHA MARIE DIAZ
   226953 RODRIGUEZ                                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   226954 ILLIA BONEU MORALES                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668641 ILLIA I PAGAN SANTIAGO                      BARRIADA VIETNAM          3 CALLE G                                                                                GUAYNABO            PR           00965
   226955 ILLIAM F. OCASIO MULERO                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   668643 ILLICHS L BRITO CARRASQUILLO                P O BOX 9703                                                                                                       CAGUAS              PR           00726
   226958 ILLIE RODRIGUEZ MIRANDA                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ILLINOIS CROP IMPROVEMENT
   668644 ASSOC INC                                   PO BOX 3501‐325                                                                                                    JUANA DIAZ          PR           00795
          ILLINOIS MASONIC MEDICAL
   226959 CENTER                                      PO BOX 152472                                                                                                      IRVING              TX           75015‐2472
   226960 ILLMARY CRUZ MARTINEZ                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   668645 ILLUMINATION PRODUCTS INC                   PO BOX 361065                                                                                                      SAN JUAN            PR           00936 1065
   668646 ILLUSION FILM                               P O BOX 1479                                                                                                       GUAYNABO            PR           00970
   226961 ILMADIA CUEVAS MENDEZ                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668647 ILMAR AVILA                                 COLINAS DEL YUNQUE        G 8 CALLE 9                                                                              RIO GRANDE          PR           00721
   668648 ILMARI LAMBOY GONZALEZ                      LAS VEREDAS               B 14 CALLE LAS FLORES                                                                    BAYAMON             PR           00961
   226962 ILMARIE LAMBOY GONZALEZ                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   668649 ILONKA M RODRIGUEZ CARRERO URB VISTAS DEL RIO                         345 CARR 8860 APT 1376                                                                   TRUJILLO ALTO       PR           00976
   668652 ILSA AYALA RIVERA          P O BOX 1267 PMB 172                                                                                                                NAGUABO             PR           00718
   226967 ILSA D VAZQUEZ BORRERO     REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          ILSA E FEBLES / EDMARIE H ARCE
   668654 FEBLES                         EST DE LA FUENTE                        CC 66 C/ EMPERADOR                                                                 TOA ALTA            PR           00953
   226968 ILSA HERNANDEZ MUNIZ           REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   226970 ILSA J SURIS ORTIZ             REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ILSA JANICE NAZARIO
   226971 RODRIGUEZ                      REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668659 ILSA M COLLAZO COLON           27 C/ SANTIAGO IGLESIAS                                                                                                    COAMO               PR           00769
   226972 ILSA M LOPEZ ARAN              REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   226973 ILSA M MENDEZ CONCEPCION       REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668661 ILSA M RODRIGUEZ NAZARIO       200 A CALLE JOBOS                                                                                                          SABANA GRANDE       PR           00637

   226974 ILSA MARRERO SANCHEZ PSYD                   PO BOX 945                                                                                                    ARECIBO             PR           00613
   668664 ILSA SANTIAGO SANCHEZ                       URB VENUS GDNS OESTE       BE24 CALLE F                                                                       SAN JUAN            PR           00926
   668665 ILSA VARGAS PEREZ                           BO SANTANA LOS LLANOS      E 21 CALLE 10                                                                      ARECIBO             PR           00612
   668666 ILSA Y FIGUEROA ARUS                        PO BOX 191964                                                                                                 SAN JUAN            PR           00919‐1964
   226975 ILSA Y PAGAN IRIZARRY                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   226976 ILSAMAR C HERNANDEZ CORTES                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668667 ILSE M SANDERS CLARK                        HC 1 BOX 5175                                                                                                 LAJAS               PR           00667
   668668 ILSE PARADA MU¥OZ                           URB FOREST VIEW            B 24 CALLE ANDORRA                                                                 BAYAMON             PR           00956
   226977 ILSE QUINONES REICHARD                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668669 ILSEN PAGAN MONTALVO                        39 CALLE BALDORIOTY                                                                                           SABANA GRANDE       PR           00637
   668670 ILSIA M CABAN MEDINA                        PO BOX 346                                                                                                    MOCA                PR           00676
   226979 ILSIA S. LARA FIGUEROA                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668671 ILSON L STEIDEL FIGUEROA                    PO BOX 163                                                                                                    MAUNABO             PR           00707
          ILUMINADA BELARDO
   226982 HERNANDEZ                                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668672 ILUMINADA BURGOS BURGOS                     P.O. BOX 335                                                                                                  FLORIDA             PR           00650
   226983 ILUMINADA COLON MASS                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668674 ILUMINADA COLON SOTO                        RR 1 BOX 6125                                                                                                 MARICAO             PR           00606

   668675 ILUMINADA CORDERO GARCIA                    CARR 111 KM 9 BO CAGUANA                                                                                      UTUADO              PR           00641
   226984 ILUMINADA DIAZ RAMOS                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ILUMINADA FERNANDEZ
   668678 RAMIREZ                                     URB JOSE MERCADO           U72 CALLE WASHINGTON                                                               CAGUAS              PR           00725
   668679 ILUMINADA FERRERO ABREU                     VILLA PALMERAS             2150 AVE PUERTO NUEVO                                                              SAN JUAN            PR           00915

   226985 ILUMINADA GARCIA RODRIGUEZ REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   226986 ILUMINADA LEBRON DIAZ      REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   668681 ILUMINADA LUCERNA SANTIAGO 370 INT CALLE TAPIA                                                                                                            SAN JUAN            PR           00914
   226987 ILUMINADA MASSA RIVAS      REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668683 ILUMINADA NIEVES VELEZ     POJANA SECTOR EL MANGO                      BOX 221                                                                            FLORIDA             PR           00650
   668684 ILUMINADA OCASIO GARCIA    URB COUNTRY CLUB                            HE 9 CALLE 221                                                                     CAROLINA            PR           00985
   226988 ILUMINADA OLMO DIAZ        REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668685 ILUMINADA ORTIZ NEGRON     BO LAS VEGAS                                25310 CALLE QUINTANA                                                               CAYEY               PR           00736
   668686 ILUMINADA OYOLA            VILLA 2000                                  256 CALLE MAIN                                                                     DORADO              PR           00646

   226989 ILUMINADA QUINONEZ ROSARIO REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   226990 ILUMINADA RIVERA CARRION   REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ILUMINADA ROSARIO
   668689 HERNANDEZ                  PUNTA DIAMANTE                              HH 11 CALLE PERLA                                                                  PONCE               PR           00728
   668690 ILUMINADA SAEZ NIEVES      HC 02 BUZON 11494                                                                                                              HUMACAO             PR           00791



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   668691 ILUMINADA SANCHEZ OLIVERAS                  PO BOX 52076                                                                                                       TOA BAJA              PR           00950
   226991 ILUMINADA SUAREZ NUNEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   226992 ILUMINADA V COTTO PEREZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   668695 ILUMINADA VELEZ RIVERA                      BOX 1070                                                                                                           ADJUNTAS              PR           00601
   226993 ILUMINADO ALVARADO RIOS                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   226994 ILUMINADO BERNARD AGUIRRE REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   668696 ILUMINADO GARCIA SANTIAGO                   URB VALLE ALTO               1223 CALLE PRADERAS                                                                   PONCE                 PR           00730‐4122
   668698 ILUMINATING PRODUCTS                        PO BOX 1065                                                                                                        SAN JUAN              PR           00936‐1065
   668699 ILUMINATION PRODUCTS                        PO BOX 361065                                                                                                      SAN JUAN              PR           00936‐1065
   668700 ILUSION DEL NINO                            HC‐40 BOX 40191                                                                                                    SAN LORENZO           PR           00754‐9811
   668701 ILUSIONES FERCO                             URB VALLE ALTAMIRA           38 CALLE CLAVELL                                                                      PONCE                 PR           00731
                                                      CALLE FCO G BRUNO ESQ
   668702 ILUSIONES NOVIAS INC                        HOSTOS                                                                                                             GUAYAMA               PR           00784
   226995 ILUTION HOME INC                            8 VILLA AMAPOLA                                                                                                    CIDRA                 PR           00739
   226996 ILVIA MORALES RAMIREZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   668703 ILYA GARCIA RUIZ                            1436 REPTO LANDRAU                                                                                                 SAN JUAN              PR           00936

   668704 ILYANA BLANCO MALDONADO                     COND CORAL BEACH II          5859 AVE ISLA VERDE #905                                                              CAROLINA              PR           00979
   226997 ILYANA MORALES VAZQUEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   226998 ILYBETH COLON GONZALEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   226999 ILYN FIGUEROA CASTRO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   227000 ILYSSA VERA GONZALEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   668706 IMAC MORALES CARRASQUILLO                   COND EL PONCE                274 CALLE CONDE APT 304                                                               SAN JUAN              PR           00907‐3052
   668707 IMACO CORP                                  URB MONTECASINO              428 CALLE CAOBA                                                                       TOA ALTA              PR           00953
   227001 IMAEL ALICEA SIERRA                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   668708 IMAGE                                       C/O MANUEL MORALES           PO BOX S 4275                                                                         SAN JUAN              PR           00902
   668709 IMAGE & SOUND                               PUERTA DE TIERRA STATION     PO BOX 5215                                                                           SAN JUAN              PR           00906
                                                      P.O. BOX 9066351 PUERTA DE
   668710 IMAGE & SOUND INC                           TIERRA                                                                                                             SAN JUAN              PR           00906‐6351
   227002 IMAGE & SPORTS PRINTERS                     CROWN HILLS                  146 CARITE                                                                            SAN JUAN              PR           00926
          IMAGE AND SOUND AUDIO
   227003 VISUAL                                      PUERTA DE TIERRA STATION     PO BOX 5215                                                                           SAN JUAN              PR           00906
          IMAGE BUILDERS / MULTI
   227004 PLASTIC INC.                                PO BOX 907                                                                                                         SAINT JUST            PR           00978‐0907
   227005 IMAGE DIRECT IDESS INC                      200 R CORDERO AVE            STE 140 PMB 458                                                                       CAGUAS                PR           00725
                                                      200 RAFAEL CORDERO AVE STE
   227006 IMAGE DIRECT‐IDESS, INC                     140                          PMB 458                                                                               CAGUAS                PR           00725
   227007 IMAGE GROUP SERVICES                        1783 CALLE 21 STE 1601                                                                                             SAN JUAN              PR           00921
   668712 IMAGE LINK                                  PO BOX 2276                                                                                                        GUAYNABO              PR           00970
          IMAGE ONE COMMUNICATIONS
   668714 INC                                         COND PLAYA DORADA 7043                                                                                             CAROLINA              PR           00979
   668715 IMAGE SQUARED                               PO BOX 366265                                                                                                      SAN JUAN              PR           00936
   668716 IMAGEN OPTIMA                               PO BOX 9032                                                                                                        SAN JUAN              PR           00908‐9032
   668717 IMAGEN PUBLICA                              PMB 388                      PO BOX 194000                                                                         SAN JUAN              PR           00919

   227009 IMAGEN STATEGIES                            EST REALES PRINCESA DIANA 54                                                                                       GUAYNABO              PR           00969
   668718 IMAGENES DIGITAL PRINTING                   REPARTO METROPOLITANO        893 CALLE 49 SE                                                                       SAN JUAN              PR           00921
   668719 IMAGENES PRINTING                           PO BOX 367202                                                                                                      SAN JUAN              PR           00936‐7202
   668720 IMAGENES PUBLICITARIAS                      EL SENORIAL                  172 AVE WINSTON CHURCHIL                                                              SAN JUAN              PR           00926



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          IMAGENES RADIOLOGICAS DEL
   668721 CARIBE                                      1508/ AVE ROOSEVELT         SUITE 103                                                                              SAN JUAN            PR           00920
   668722 IMAGENES SALON                              URB MARIA DEL CARMEN        A 8 CALLE 2                                                                            COROZAL             PR           00783
   668723 IMAGICA INC                                 PO BOX 8144                                                                                                        SAN JUAN            PR           00910
          IMAGINART THERAPY
   668724 MATERIALS                                   307 ARIZONE ST                                                                                                     BISBOY              AZ           85603
   227011 IMAGINATION SEFT LLC                        1456 AGUAS TIBIAS           URB LAS CASCADAS                                                                       TOA ALTA            PR           00953
  1256564 IMAGINATION SOFT LLC                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   227012 IMAGING WHOLESALE CORP                      EDIF RADIO CENTRO           CALLE BOSQUE OFIC 204                                                                  MAYAGUEZ            PR           00680

   831396 Imaging Wholesales Corporation PO Box 141923                                                                                                                   Arecibo             PR           00680
                                         Ave. Muñoz Marin, Plaza M.
   227013 Imaginic Scrapbook Store       Marin, u‐13                                                                                                                     Caguas              PR           00925
   227015 IMALAY MARRERO GONZALEZ        REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          IMAM ENTERPRISES DBA
   227016 INEABLE ARROYO                 277 CALLE SAN JORGE APT 102                                                                                                     SAN JUAN            PR           00911
   227018 IMAMI MD , EMRAN R             REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          IMANDRA MARTINEZ
   227019 CASTANEDA                      REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   227020 IMAR MANCILLA RIVERA           REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   668726 IMARA DEL C ORTIZ VALENZUELA URB MIRAFLORES                             33 27 CALLE 17                                                                         BAYAMON             PR           00959
   668727 IMARA DELGADO RIVERA         URB. VILLA DEL CARMEN                      AVE CONSTANCIA 4229                                                                    PONCE               PR           00716‐2111

   227021 IMARIE A CINTRON ALVARADO                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   227022 IMARIS M GARCIA RODRIGUEZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668728 IMARY EMMANUELLI REYES                      VILLA FONTANA               RR 19 VIA 10                                                                           CAROLINA            PR           00983
   668729 IMARY ORTIZ CARBONELL                       LA VISTA                    14‐13 VIA DE VALLE                                                                     SAN JUAN            PR           00924
   668730 IMASCAR CASTILLO ARBONA                     PO BOX 7303                                                                                                        PONCE               PR           00732‐7303
   668731 IMATION CARIBBEAN INC                       PO BOX 6018                                                                                                        CAROLINA            PR           00984‐6018
   668733 IMAX EMBROIDERY INC                         PO BOX 420                                                                                                         DORADO              PR           00646
          IMBERT DE ITURONDO MD,
   227023 SEGUNDO                                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          IMBERT GARRATON MD,
   227025 MANUEL E                                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                  32‐13 AVE GILBERTO
   668734 IMBY ROLDAN                                 URB SIERRA BAYAMON          CONCEPCION DE G                                                                        BAYAMON             PR           00961
   227028 IMC PETROLEUM INC                           1022 AVE JESUS T PINERO                                                                                            SAN JUAN            PR           00920
          IMD INTERNET MUSIC
   227029 DISTRIBUTOR INC                             CHALETS DEL PARQUE          BOX 37                                                                                 GUAYNABO            PR           00969
   227030 IMECA INC                                   PO BOX 1827                                                                                                        RINCON              PR           00677
   227031 IMEEC ALAMO QUIðONES                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   227034 IMEIVA PAGAN FIGUEROA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   668735 IMEL SIERRA CABRERA                         459 CALLE SAGRADO CORAZON   APT 804                                                                                SAN JUAN            PR           00915
   668736 IMELDA AYUSO HERNANDEZ                      PO BOX 2009                                                                                                        OROCOVIS            PR           00720

   227035 IMELDA E PADILLA CARABALLO                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668737 IMELDA MAHMUD OCAMPO                        COUNTRY CLUB 3RA EXT        GV 1 CALLE 206                                                                         SAN JUAN            PR           00924
   227036 IMELSA PEREZ VALENTIN                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668740 IMERC                                       274 AVE SANTA ANA           PLAZA ALTA MALL SUITE 158                                                              GUAYNABO            PR           00969
   668741 IMETZY M AGOSTO ROLDAN                      BO PALMAREJO                PO BOX 1918                                                                            COROZAL             PR           00783



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          IMF DE PONCE INC DBA SERV DE 1255 AVE TITO CASTRO SUITE
   227037 SALUD IND                    210                                                                                                                              PONCE               PR           00730‐4222
          IMF‐ICE MACHINE & FOOD
   227038 SERVICE, INC                 PO BOX 577                                                                                                                       GUAYNABO            PR           00970

   668743 IMG ARD ROMAN WISCOVITCH                    PO BOX 3223                                                                                                       AGUADILLA           PR           00605
   227039 IMGARD GONZALEZ                             REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   227040 IMILSY CRESPO ROSARIO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   227041 IMILUZ BURGOS RIVERA                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   227042 IMIRAILY HERNANDEZ MATOS                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668744 IMISIS TORRES JUAN                          URB COUNTRY CLUB              894 CALLE HYPOLAIS                                                                  SAN JUAN            PR           00924
   668745 IMITATION CARIBBEAN INC                     PO BOX 6018                                                                                                       CAROLINA            PR           00984‐6018
   668746 IMJ MEETING PLANERS                         PO BOX 192879                                                                                                     SAN JUAN            PR           00919‐2879
          IMMANUEL MEDICAL CENTER
   227043 IMC INC ALEGENT HEALTH                      6901 NORTH 72ND ST                                                                                                OMAHA               NE           68122
   831397 Immunalysis Corporation                     829 Towne Center Drive                                                                                            Pomona              CA           91767
   227044 IMNA ROSADO RIOS                            REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   227045 IMNY PUERTO RICO LLC                        136 EAST 57 FLOOR 13                                                                                              NEW YORK            NY           10022
   227047 IMP TELE PARTS INC                          605 CALLE PEDRO DE CASTRO     PDA 25 I/2                                                                          SAN JUAN            PR           00909
   668748 IMPACT CREATIONS                            PO BOX 366722                                                                                                     SAN JUAN            PR           00936‐6722
   227049 IMPACT MARKETING CORP                       SEC PUENTE BLANCO             CARR 5 KM 2 3                                                                       CATANO              PR           00963
   668749 IMPACT PUBLICATIONS INC                     PO BOX 322                                                                                                        WAUPACA             WI           54981

   227050 IMPACT SALES                                CASTILLO DEL MAR SUITE 1278                                                                                       CAROLINA            PR           00979
          IMPACT TKO SAN MARTIN
   668750 INC/MARIA STELLA                            RES SAN MARTIN                EDIF 12 APT 129                                                                     SAN JUAN            PR           00924
                                                      PMB 140‐ 1357 ASHFORD
   227051 IMPACTIVO LLC                               AVENUE                                                                                                            SAN JUAN            PR           00907
   668751 IMPACTO 2000                                BOX 1335                                                                                                          UTUADO              PR           00641
          IMPACTO ARTISTICO
   668752 ESTUDIANTIL INC             P O BOX 582                                                                                                                       SABANA GRANDE       PR           00637
          IMPACTO E INNOVACION SOCIAL
   227052 INC.                        PMB 338 PO BOX 6017                                                                                                               CAROLINA            PR           00984‐6017
          IMPACTO EINNOVATION SOCIAL
   227056 INC                         PMB 338 PO BOX 6017                                                                                                               CAROLINA            PR           00984
   227057 IMPACTO MULTIMEDIA          PO BOX 192183                                                                                                                     SAN JUAN            PR           00919‐2183
          IMPACTO TRANSFORMACION AL
   668753 ADICTO                      PO BOX 839                                                                                                                        COMERIO             PR           00782
   227058 IMPACTO URBANO INC          PO BOX 429                                                                                                                        BARCELONETA         PR           00617
   668754 IMPATH BIS INC              PO BOX 41000                                                                                                                      SANTA ANA           CA           92799‐1000
   227059 IMPEC INC                   P O BOX 1771                                                                                                                      JUNCOS              PR           00777‐1771
   668755 IMPERIAL BEAUTY SUPPLY      PO BOX 6825                                                                                                                       SAN JUAN            PR           00914

   668756 IMPERIAL CONVENTION CENTER BOX 505                                                                                                                            MOCA                PR           00676
          IMPERIAL PANADERIA
   668757 REPOSTERIA                   PUERTA DE TIERRA                             356 AVE PONCE DE LEON                                                               SAN JUAN            PR           00901
   227061 IMPERIAL POINT HOSPITAL      7045 NW 41 STREET                                                                                                                MIAMI               FL           33166
          IMPERIAL Y BORINQUEN GUEST
   227062 SERVICES                     PO BOX 364124                                                                                                                    SAN JUAN            PR           00936‐4124
          IMPLANTES Y SISTEMA MEDICOS,
   227063 INC.                         PMB 171 P.O. BOX 11850                                                                                                           SAN JUAN            PR           00922‐1850
          IMPLANTES Y SISTEMAS
   227064 MEDICOS INC                  PMB 171                                      PO BOX 11850                                                                        SAN JUAN            PR           00922‐1850



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  227065 IMPORT & EXPORT                              PO BOX 192829                                                                                                  SAN JUAN            PR           00919
         IMPORT AND EXPORT
  668758 CORPORATION                                  P.O. BOX 192829                                                                                                SAN JUAN            PR           00919‐2829

   227066 IMPORTACIONES DELUCCA INC                   2053 AVE PEDRO AIBIZU       STE 2 PMB 341                                                                      AGUADILLA           PR           00603
          IMPORTACIONES HERNANDEZ
   668759 INC                                         44 CALLE DR VEVE                                                                                               BAYAMON             PR           00961‐6350
   668760 IMPRENTA 2000                               P.O. BOX 1556               24 DR VEVE SUR                                                                     COAMO               PR           00769
   668761 IMPRENTA AMISTAD                            PO BOX 187                                                                                                     MOCA                PR           00676
   668763 IMPRENTA AMISTAD INC                        PO BOX 187                                                                                                     MOCA                PR           00676
   668764 IMPRENTA BOULEVARD                          PO BOX 50670                                                                                                   TOA BAJA            PR           00950
   668765 IMPRENTA CAONAO                             PO BOX 966                                                                                                     MOROVIS             PR           00687
   668766 IMPRENTA CARIBE                             794 AVE EMERITO ESTRADA                                                                                        SAN SEBASTIAN       PR           00685
   668767 IMPRENTA CARTAGENA INC                      PO BOX 5400                                                                                                    CAGUAS              PR           00726‐5400
   668768 IMPRENTA CENTRO ARTE                        43 CALLE BARCELO                                                                                               BARRANQUITAS        PR           00794
   668769 IMPRENTA COQUI                              P O BOX 1842                                                                                                   YAUCO               PR           00698
   668770 IMPRENTA COSTA INC                          PO BOX 1919                                                                                                    COAMO               PR           00769
   668771 IMPRENTA DE DIEGO                           PO BOX 10066                                                                                                   SAN JUAN            PR           00922‐0066
   668772 IMPRENTA DIONIX                             URB RIVERVIEW               ZD 25 CALLE 35                                                                     BAYAMON             PR           00961
   227067 IMPRENTA EXITOS ADALIZ                      AVE. DE DIEGO #814                                                                                             CAPARRA TERRACE     PR           00921
   227068 IMPRENTA FORTUNO INC                        P O BOX 330031                                                                                                 PONCE               PR           00733‐0031
   668773 IMPRENTA HERNANDEZ                          PO BOX 387                                                                                                     SAN SEBASTIAN       PR           00685
   227069 IMPRENTA HERY                               REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   668774 IMPRENTA HOSTOS                             17E CALLE SANTIAGO R PALMER                                                                                    MAYAGUEZ            PR           00680
   668775 IMPRENTA IRMIL                              3857 CARR 2                                                                                                    VEGA BAJA           PR           00693
   227071 IMPRENTA LAS AMERICAS                       URB SAN ANTONIO             1880 AVE LAS AMERICAS                                                              PONCE               PR           00728‐1818
   668776 IMPRENTA LLORENS                            HC 3 BOX 12149                                                                                                 JUANA DIAZ          PR           00795
   227072 IMPRENTA LLORENS INC                        PO BOX 885                                                                                                     JUANA DIAZ          PR           00795‐0885
   668777 IMPRENTA MATIAS                             ESQ GUADALUPE               87 CALLE MOLINA                                                                    PONCE               PR           00731
   668778 IMPRENTA MEDINA                             PO BOX 30866                                                                                                   SAN JUAN            PR           00929
                                                      309 CALLE MANUEL PEREZ
   668779 IMPRENTA MERINO                             AVILES                      BOX 254                                                                            ARECIBO             PR           00612
   668780 IMPRENTA MODELO                             39 CALLE BETANCES                                                                                              UTUADO              PR           00641
   668782 IMPRENTA MOLINA                             608 CALLE MAYOL                                                                                                SAN JUAN            PR           00908
   668783 IMPRENTA MONTERO                            1042 AVE JESUS T PINERO                                                                                        SAN JUAN            PR           00921
   668784 IMPRENTA MORALES                            PO BOX 553                                                                                                     CAGUAS              PR           00726
   668785 IMPRENTA MULTI GRAFIKA                      P O BOX 13932                                                                                                  SAN JUAN            PR           00908‐3932
   668786 IMPRENTA OCASIO                             50 MARTINES NADAL NORTE                                                                                        MAYAGUEZ            PR           00680
   668788 IMPRENTA ORIENTAL                           14 CALLE CARRERAS                                                                                              HUMACAO             PR           00791
          IMPRENTA P R PRINTED
   668789 UNLIMITED                                   PO BOX 7041                                                                                                    PONCE               PR           00732‐7041
   668791 IMPRENTA PAGAN                              PO BOX 148                                                                                                     GUAYAMA             PR           00784

   668792 IMPRENTA PAPELERIA SIFRE INC                55 UNION                                                                                                       FAJARDO             PR           00738
   227073 IMPRENTA PRISMA COLOR                       PO BOX 54                                                                                                      TRUJILLO ALTO       PR           00977
   668794 IMPRENTA PUERTO RICO INC                    PO BOX 9300530                                                                                                 SAN JUAN            PR           00977‐2500
   227074 IMPRENTA QUALITY OFFSET                     PO BOX 454                                                                                                     CAMUY               PR           00627
   227075 IMPRENTA QUINONEZ INC                       PO BOX 1102                                                                                                    PONCE               PR           00733
   668795 IMPRENTA RODRIGUEZ                          PO BOX 117                                                                                                     COAMO               PR           00769
   668796 IMPRENTA ROLON                              HC 02 BOX 5729                                                                                                 MOROVIS             PR           00687
   668797 IMPRENTA SAN RAFAEL                         P O BOX 948                                                                                                    QUEBRADILLAS        PR           00678
   668798 IMPRENTA VELEZ                              PO BOX 1437                                                                                                    MAYAGUEZ            PR           00681



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  668799 IMPRESO APONTE INC                           PO BOX 19713                                                                                                        SAN JUAN            PR           00910‐1713
  831767 Impreso Delia Ayala                          P.O BOX 30943                                                                                                       San Juan            PR           00929
  227076 IMPRESORA AGUADEÑA                           300 CALLE SAN FRANCISCO                                                                                             AGUADA              PR           00602
  668800 IMPRESORA NACIONAL INC                       P O BOX 885                                                                                                         CAROLINA            PR           00986
  668801 IMPRESORA ORIENTAL INC.                      PO BOX 192589                                                                                                       SAN JUAN            PR           00919
  668802 IMPRESORAS CAPARRA                           URB VILLA NEVAREZ              1062 CALLE 14                                                                        SAN JUAN            PR           00927
  668803 IMPRESOS & CO                                QUINTA BALDWIN                 50 AVE A APTO 803                                                                    BAYAMON             PR           00959
  227077 IMPRESOS ALEJANDRO                           PMB 00 PO BOX 3001                                                                                                  BAJADERO            PR           00616
  668804 IMPRESOS ALVELO                              SIERRA BAYAMON                 92‐7 CALLE 78                                                                        BAYAMON             PR           00961
  227079 IMPRESOS APONTE INC                          PO BOX 19713                                                                                                        SAN JUAN            PR           00910‐1713
  227080 Impresos Aponte, INC                         PO Box 19713 San Juan                                                                                               San Juan            PR           00910‐1713
  831398 Impresos Aponte, Inc.                        PO BOX 11038 19713                                                                                                  San Juan            PR           00910
  668806 IMPRESOS CAREY INC                           64 CALLE CRUZ ORTIZ STELLA                                                                                          HUMACAO             PR           00971
  668807 IMPRESOS CARIBE                              PO BOX 59                                                                                                           SAN JUAN            PR           00919
  668808 IMPRESOS CARIBE INC                          P O BOX 190059                                                                                                      SAN JUAN            PR           00919‐0059

   668809 IMPRESOS CORPORATIVOS INC                   PO BOX 195153                                                                                                       SAN JUAN            PR           00919
   668810 IMPRESOS DE PAPEL INC                       621 CALLE DEL PARQUE                                                                                                SANTURCE            PR           00909
   668811 IMPRESOS DE PUERTO RICO                     621 CALLE DEL PARQUE                                                                                                SAN JUAN            PR           00909
   668812 IMPRESOS DEL ESTE                           ALT DE RIO GRANDE              W 1212 CALLE 22                                                                      RIO GRANDE          PR           00745‐3235
   227081 IMPRESOS DELIA AYALA                        PO BOX 30943                                                                                                        SAN JUAN            PR           00929‐1943

   227082 IMPRESOS DIANA JAVIER Y ASOC P.O. BOX 195153                                                                                                                    SAN JUAN            PR           00919‐5153
   771086 IMPRESOS EMMANUELLI INC.     PO BOX 142                                                                                                                         AGUAS BUENAS        PR           00703
   227083 IMPRESOS EMMANUELLI, INC     PO BOX 142                                                                                                                         AGUAS BUENAS        PR           00703
                                       AVE. DIEGO #764 PUERTO
   668813 IMPRESOS FELIX               NUEVO                                                                                                                              SAN JUAN            PR           00921
          IMPRESOS FERNANDEZ DEL
   227084 CASTILLO                     VISTA BELLA                                   J 7 CALLE 10                                                                         BAYAMON             PR           00956
   831399 Impresos Garcia              PMB 1774, Calle Paris 243                                                                                                          San Juan            PR           00917
          IMPRESOS GARCIAS DBA JOSE
   668814 GARCIA                       P M B 1774                                    243 CALLE PARIS                                                                      SAN JUAN            PR           00917
   668815 IMPRESOS INFANTE             REPTO METROPOLITANO                           967 AVE AMERICO MIRANDA                                                              SAN JUAN            PR           00921
   668816 IMPRESOS ISLA                P O BOX 1904                                                                                                                       ARECIBO             PR           00613
   668817 IMPRESOS MERINO INC          309 MANUEL PEREZ AVILES                                                                                                            ARECIBO             PR           00612
   227085 IMPRESOS QUINTANA INC        LOMAS VERDES                                  3 H 12 AVE LOMAS VERDES                                                              BAYAMON             PR           00956
   668818 IMPRESOS SEPULVEDA           HC 67 BOX 16379                                                                                                                    BAYAMON             PR           00956
   668820 IMPRESOS TAINO               PO BOX 7041                                                                                                                        CAGUAS              PR           00726‐7041
          IMPRESOS Y PROMOCIONES
   227086 NIETO                        URB UNIVERSITY GARDENS                        F ‐ 18 CALLE 6                                                                       ARECIBO             PR           00612
          IMPRESOS Y PUBLICACIONES
   227087 REGIONALES INC               P O BOX 478                                                                                                                        GUAYNABO            PR           00970
   668821 IMPRESS QUALITY PRINTING     PO BOX 2116                                                                                                                        SAN JUAN            PR           00922‐2116
   668822 IMPRESS USA CORPORATED       P O BOX 3204                                                                                                                       MAYAGUEZ            PR           00681‐3204
   771087 IMPRESSION ASSOCIATES        PO BOX 3243                                                                                                                        GUAYNABO            PR           00970‐3243
  1256565 IMPRESSION ASSOCIATES INC    REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   227089 IMPRESSION ASSOCIATES, INC   PO BOX 3243                                                                                                                        GUAYNABO            PR           00970‐3243

   668823 IMPRESSION TECHNOLOGY INC.                  NORTH CALIFORNIA 1777 BLV      STE 240                                                                              WALNUT CREEK        CA           94596
   668824 IMPRESSIONS                                 P O BOX 9024275                                                                                                     SAN JUAN            PR           00902

   668825 IMPRESSIONS ON HOLD                         CAPITAL CENTER 239 SUITE 209                                                                                        SAN JUAN            PR           00918‐1475
   227092 IMPRESSIVE PUBLICATIONS                     COND THE FALLS                 CARR 177 2 APT K 7                                                                   GUAYNABO            PR           00966



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          IMPROVEMENTS MANAGEMENT
   227093 EXCHANGE & CONSU           PMB 444                                     AVE. ESMERALDA 405 SUITE 102                                                              GUAYNABO            PR           00969
   227095 IMPU SIGNS                 PMB 334 138                                 AVE WINSTON CHURCHILL                                                                     SAN JUAN            PR           00926‐6023
          IMR CONTRACTORS & SERVICES
   227096 INC                        HC‐30 BOX 32741                                                                                                                       SAN LORENZO         PR           00754

   227098 IMS EDUCATIONAL SERVICES INC PO BOX 193306                                                                                                                       SAN JUAN            PR           00917
                                       CENTRO INTERNACIONAL
   227101 IN BUSINESS                  MERCADEO 11 CARR.165                      SUITE 3                                                                                   GUAYNABO            PR           00966‐8058
   668826 IN FISHERMAN                 TWO IN FISHERMAN DRIVE                                                                                                              BRAINERD            MN           56425‐8098
                                                                                 EDIFICIO 1026 CARR 28 STE 2
   227102 IN GREEN CORP                               PUERTO NUEVO               BAJO                                                                                      SAN JUAN            PR           00920‐2492
   668827 IN MAR TRADING                              PO BOX 51486                                                                                                         TOA BAJA            PR           00950‐1486
   227104 In The Breeze LLC                           REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   227105 IN TRAFFIC ADVERTISING                      AVE ASHFORD 1357 APT 123                                                                                             SAN JUAN            PR           00907
   227107 IN VIRO CARE INC                            P O BOX 279                                                                                                          SAN JUAN            PR           00919‐0279
   227108 IN VIRO TECHNICAL SERVICES                  P O BOX 194673                                                                                                       SAN JUAN            PR           00919
   668828 INA DEL RIO MORAN                           PO BOX 585                                                                                                           MERCEDITAS          PR           00715‐0585
   227109 INA I RINALDI PIERLUISSI                    REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          INA NEGRON/JANISE NEGRON/
   227110 DENISE NEGRON                               REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668829 INA R KESSLER KRUGMAN                       URB FAIR VIEW              1938 CALLE PEDRO MEJIA                                                                    SAN JUAN            PR           00926
   668830 INA TORO NIEVES                             COND PARK BOULEVARD        2305 CALLE LAUREL APT 212                                                                 SAN JUAN            PR           00913
   668832 INABON READY MIX                            PO BOX 516                                                                                                           PONCE               PR           00780
                                                                                 APARTAMENTO 212
   227112 INACTIVO                                    105,AVE.ARTERIAL HOSTOS,   CONDOMINIO                     BAYSIDE                                                    SAN JUAN            PR           00918‐2984
   227114 INALVIS APONTE RIVERA                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668833 INARA M LOPEZ MORALES                       BO BORINQUEN               BZN 2448 SECT PLAYUELA                                                                    AGUADILLA           PR           00603
   227115 INARVIS Y BONILLA PEREZ                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   227116 INARVISY BONILLA PEREZ                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          INBUSINESS FOR TEAM
   227118 DEVELOPMENT INC                             CIM II 90 CARR 165         SUITE 308                                                                                 GUAYNABO            PR           00968
          INCEPTION SECURITY
   227120 SOLUTIONS, LCC                              PO BOX 364382                                                                                                        SAN JUAN            PR           00936
          INCIDENT MANAGEMENT
   227131 ASSOCIATE TRAINERS                          158 BUENA VISTA                                                                                                      MAYAGUEZ            PR           00680‐4153
          INCLUSIVE MANAGEMENT
   668834 SERVICES                                    717 WEST PARK DRIVE                                                                                                  KELLER              TX           76248
          INCNOVA RENTAL AND
   227142 ADMINISTRATION CORP                         PO BOX 1479                                                                                                          CAGUAS              PR           00726‐1479
   668835 INCO BUSINESS FURNITURE                     PO BOX 60                                                                                                            AGUAS BUENAS        PR           00703

   227143 INCO BUSINESS FURNITURE CORP PO BOX 460                                                                                                                          CAGUAS              PR           00725
   831400 Inco Business Furniture, Corp. P.O. Box 60                                                                                                                       Aguas Buenas        PR           00703
   227144 INCOM INVESTMENTS INC          P O BOX 367091                                                                                                                    SAN JUAN            PR           00936
   668836 INCOME OPORTUNITIES            PO BOX 55206                                                                                                                      BOULDER             CO           80322
   668837 INCOMETAL                      VILLAS DEL MAR ESTE 16‐1                                                                                                          CAROLINA            PR           00979
   227145 INCOMM PUERTO RICO INC         EDIF CAPARRA GALLERY                    107 AVE ORTEGON SUITE 101                                                                 GUAYNABO            PR           00966‐2516
   668838 INCONS DEL SUROESTE            PO BOX 5464                                                            PONCE                                                      PONCE               PR           00733
          INCUBADORA DE EMPRESAS E
   227147 INDUSTRIAS                     AREA DEL TESORO                         DIVISION DE RECLAMACIONES                                                                 SAN JUAN            PR           00902‐4140




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          INCUBADORA DE LIDERES Y
   227149 EMPRESARIOS                                 PARA UN NUEVO P R INC        VILLA LINDA 216 CALLE TORTOLA                                                              AGUADILLA           PR           00603
          INCUBADORA MICRO EMPRESA
   227150 BIEKE INC                                   P O BOX 1424                                                                                                            VIEQUES             PR           00765
          IND DE BARCELONETA EN LA
   227151 COLICEBA INC                                P O BOX 918                                                                                                             BARCELONETA         PR           00617
          IND GENERAL CONTRACTOR
   668839 CORP                                        PO BOX 360550                                                                                                           SAN JUAN            PR           00936‐0550
   668840 IND HYDROVAC SERV INC                       PO BOX 7583                                                                                                             PONCE               PR           00728
   668841 IND LECHERAS DE P R INC                     PO BOX 362949                                                                                                           SAN JUAN            PR           00936
          IND PHYSICAL THERAPY SERV &                 HEALTH AND SAFETY
   227153 OCCUPATIONAL                                CONSULTANTS INC              ALTAMESA                        1405 CALLE SAN ALFONSO                                     SAN JUAN            PR           00921
          IND. AVICOLAS DE PUERTO RICO
   668842 /                                           PO BOX 229                                                                                                              COAMO               PR           00769
   668843 INDAICA T POLANCO GRACIA                    704 URB VENUS GARDENS                                                                                                   SAN JUAN            PR           00926

   227154 INDALECIO R LOPEZ GUTIERREZ                 REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   227159 INDEPEN DEPT LIVING AIDS LLC                200 ROBBINS LANE                                                                                                        JERICHO             NY           11753
          INDEPENDENCE BUSINESS &
   668844 OFFICE PROD IND                             PO BOX 11669                                                                                                            SAN JUAN            PR           00910
   668845 INDEPENDENT AUDIO                           43 DEERFIELD ROAD                                                                                                       PORLAND             ME           04101‐1805
          INDEPENDENT FILM &
   227160 TELEVISION ALLIANCE                         10850 WILSHIRE BOULEVARD     9TH FLOOR                                                                                  LOS ANGELES         CA           90024‐4321
   831401 Independent Forensics                       500 Waters Edge, Suite 210                                                                                              Lombard             IL           60148
   668846 INDEPENDENT MARKETING                       PO BOX 4311                                                                                                             CAROLINA            PR           00984
          INDEPENDENT PHOTO COPIER
   668847 SERV.                                       PO BOX 5671                                                                                                             CAGUAS              PR           00726
   668848 INDEPENDENT SERV INC                        100 SOUTH JEFFERSON ROAD                                                                                                WHIPPANY            NJ           07981
   668849 INDEPENDENT SERVING AIDS                    200 ROBINSON LANE                                                                                                       JERICHO             NY           11753
   668850 INDESALES                                   1129 AVE MUNOZ RIVERA                                        RIO PIEDRAS                                                SAN JUAN            PR           00925

   227165 INDHIRA M SALINAS RODRIGUEZ REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668851 INDHIRA ORTIZ PIZARRO       BO RIO PLANTATION                            17 CALLE KOREA                                                                             BAYAMON             PR           00961

   227166 INDHIRA RODRIGUEZ GONZALEZ                  REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   227167 INDIA COMMERCIAL CORP                       318 CALLE FORTALEZA                                                                                                     SAN JUAN            PR           00901
   668852 INDIA M RIVERA RODRIGUEZ                    URB JARD DE MAMEY            C 19 CALLE 3                                                                               PATILLAS            PR           00723
   227173 INDIANA M ACEVEDO ORTIZ                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668853 INDIANA PATHOLOGY IMAGES                    350 WEST 11 TH STREET        ROMM 6012                                                                                  INDIANAPOLIS        IN           46202

   668854 INDIANA QUINTERO LLARRAZA PO BOX 194735                                                                                                                             SAN JUAN            PR           00919‐4735
          INDIANA UNIVERSITY OF
   668855 PENNSYLVANIA                 343 SUTTON HALL                                                                                                                        INDIANA             PR           15705
   668856 INDIANA UNIVERSITY PRESS     601 NORTH MORTON ST                                                                                                                    BLOOMINGTON         IN           47404‐3797
          INDIANA UNIVERSITY SCHOOL OF
   668858 EDUCATI                      3RD AND JORDAN                                                                                                                         BLOOMINGTON         IN           47405
          INDIANO DEL COCO DE
   668859 SALINA/JOSE RIVERA           595 CALLE ABAD SANTIAGO                                                                                                                SALINAS             PR           00751
          INDIANS RIO GRANDE LEG
   668860 BASEBALL CLUB INC            ALT DE RIO GRANDE                           N 613 CALLE 13                                                                             RIO GRANDE          PR           00745
   227176 INDIAS DE OROCOVIS INC       RR 1 BOX 15101                                                                                                                         OROCOVIS            PR           00720




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          INDIAS MAYAGUEZ VOLEIBOL
   668861 SUP FEMENINO                                URB PASEO LOS ROBLES        47 RAMIREZ QUILES                                                                         MAYAGUEZ             PR           00680
   227177 INDICE CSP                                  PO BOX 6219 ESTACION UNO                                                                                              BAYAMON              PR           00960
   227179 INDIHIRA S PENA POLACO                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   227180 INDILUZ GUTARRA GONZALEZ                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          INDIO DEMAYAGUEZ/RAUL
   227181 MATIAS VILLARRUBIA                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   227189 INDIRA CABRERA LOPEZ                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   227190 INDIRA CARVAJAL RAMIREZ                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   227191 INDIRA COLON MARRERO                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   227192 INDIRA COLON RIVERA                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   227193 INDIRA CRUZ HUERTAS                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   668863 INDIRA DE JESUS ALVELO                      COND PUERTA DEL SOL         2000 APT 2008                                                                             SAN JUAN             PR           00926
   668865 INDIRA LOPEZ ORTIZ                          SAN SOUCI                   Q 6 C/2                                                                                   BAYAMON              PR           00957
   227196 INDIRA M ACEVEDO PENA                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   227197 INDIRA M ROSA CARRASQUILLO                  REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   227198 INDIRA MENENDEZ PEREZ                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   668866 INDIRA MIRANDA MARIANO                      URB JOSE S QUI¥ONES         1166 CALLE PABLO GONZALEZ                                                                 CAROLINA             PR           00985‐5935
   227199 INDIRA NIEVES QUILES                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   227200 INDIRA OSORIO ORTIZ                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          INDOOR ENVIROMENTALS
   227202 CONSULTANS                                  PO BOX 191648                                                                                                         SAN JUAN             PR           00919‐1648
          INDOOR ENVIRONMENTAL
   227203 CONSULTANTS                                 PO BOX 191648                                                                                                         SAN JUAN             PR           00919‐1648
   668870 INDRA FEBLES GORDIAN                        PO BOX 1050                                                                                                           MANATI               PR           00674
   668871 INDRA J BERRIOS MERCADO                     HC 1 BOX 17627                                                                                                        COAMO                PR           00769
   227205 INDRA PUERTO RICO INC                       PO BOX 364152                                                                                                         SAN JUAN             PR           00936‐4152
   668872 INDRA SISTEMA S A                           35 AVDA DE BRUSELAS         28108 ALCOBENDAS                                                                          MADRID                                          SPAIN

   227207 INDRA SISTEMAS ESPANA INC                   1866 AVE FERNANDEZ JUNCOS                                                                                             SAN JUAN             PR           00909‐3008
          INDRESCOM SECURITY
   668873 TECHNOLOGY INC                              P O BOX 9092                                                                                                          BAYAMON              PR           00960‐9092
   227208 INDRISO MD, ANDREW                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   668874 INDU SALES CO INC                           P O BOX 40771                                                                                                         SAN JUAN             PR           00940‐0771
   668875 INDUCHEM SERVICES INC.                      PO BOX 364153                                                                                                         SAN JUAN             PR           00936
   227210 INDUCHEN SERVICES, INC.                     PO BOX 364153                                                                                                         SAN JUAN             PR           00936‐4153
          INDUNIV INC MATERIALS
   668876 CARACTERIZATION CE                          PO BOX 21972                                                                                                          SAN JUAN             PR           00931‐1972
   668877 INDUS VOC INC                               P O BOX 563                                                                                                           BAYAMON              PR           00960‐0563
   227213 INDUSA INDUSTRIAL SUPPLIES                  P.O BOX 19733                                                                                                         SAN JUAN             PR           00901
                                                      EDUARDO H. MARTÍNEZ         701 AVE. PONCE DE LEÓN SUITE
  1420063 INDUSA INDUSTRIAL SUPPLIES                  ECHEVARRÍA                  4013                                                                                      SAN JUAN             PR           00907
          INDUSA INDUSTRIAL SUPPLIES ,
   227214 INC.                                        CALLE SAN ANDRES 105                                                                                                  PUERTA DE TIERRA     PR           00901‐0000
          INDUSA INDUSTRIAL SUPPLIES
   668878 INC                                         PO BOX 19733                                                                                                          SAN JUAN             PR           00901
   668879 Indusrial chemicals                         FIRM DELIVERY                                                                                                         PENUELAS,            PR           00624
          INDUST QUALITY INSTRUMENT
   227215 SALES & SERV.                               PO BOX 71325 SUITE 27                                                                                                 SAN JUAN             PR           00921

   227216 INDUSTRAL IMPROVEMENTS INC. P.O.BOX 190219                                                                                                                        SAN JUAN             PR           00919‐0000



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          INDUSTRI MEDICAL SERVICES &
   227217 SUPPLIES INC                                376 AVE. SAN CLAUDIO                                                                       SAN JUAN            PR           00926
          INDUSTRIA LECHERA DE
   668880 PTO.RICO                                    PO BOX 2949                                                                                SAN JUAN            PR           00936

   668881 INDUSTRIAL & ELECTRICAL CORP 17 CUATRO CALLE                                                                                           PONCE               PR           00731
          INDUSTRIAL & ELECTRICAL
   227218 MOTOR`S CORP.                373 AVE. LA CEIBA STE. 1                                                                                  PONCE               PR           00717‐1916
          INDUSTRIAL & ELECTRICAL
   227219 MOTORS CORP                  53 CALLE COMERIO                                                                                          PONCE               PR           00730
          INDUSTRIAL & MARINE SERVICE
   227220 INC                          906 ROBERTO H TODD                                                                                        SAN JUAN            PR           00907
          INDUSTRIAL & MARINE SERVICES
   227221 INC                          PO BOX 366245                                                                                             SAN JUAN            PR           00936
          INDUSTRIAL AND POWER
   668883 SYSTEMS                      PO BOX 7629                                                                                               SAN JUAN            PR           00916
   668884 INDUSTRIAL BEARING INC       PO BOX 3419                                                                                               MAYAGUEZ            PR           00681
          INDUSTRIAL BEARINGS &
   227222 BELTING INC                  P O BOX 3044                                                                                              CAGUAS              PR           00726‐3044
          INDUSTRIAL BEARINGS &        AVE LUIS MUNOZ MARIN #2 URB
   227224 BELTINGS                     VILLA BLANCA                                                                                              CAGUAS              PR           00725
          INDUSTRIAL BEARINGS &        AVE. LUIS MUNOZ MARIN # 2
   227225 BELTINGS , INC.              URB. VILLA BLANCA                                                                                         CAGUAS              PR           00725‐0000

          INDUSTRIAL BIOTECHNOLOGICAL
   227226 INSTITUTE                   PO BOX 8397                                                                                                BAYAMON             PR           00959
          INDUSTRIAL CLEANING
   227227 SOLUTIONS INC               PMB 318 SUITE 1                        PO BOX 4952                                                         CAGUAS              PR           00726
          INDUSTRIAL COATING
   668885 CONTRACTORS                 PO BOX 192004                                                                                              SAN JUAN            PR           00919‐2004
          INDUSTRIAL DATA
   668886 COMMUNICATION               P O BOX 364607                                                                                             SAN JUAN            PR           00936 4607
          INDUSTRIAL ELECTRONIC
   668887 ESPECIALITES                RR 3 BOX 3239                                                                                              SAN JUAN            PR           00926‐9606
          INDUSTRIAL EQUIPMENT
   227230 CORPORATION                 P O BOX 29006                                                                                              SAN JUAN            PR           00924

   668888 INDUSTRIAL EQUIPMENT REPAIR PO BOX 7749                                                                                                PONCE               PR           00732
   668889 INDUSTRIAL FIBERS CORP         P.O.BOX 191744                                                                                          HATO REY            PR           00919
          INDUSTRIAL FIBERS
   227232 CORPORATION                    EL CENTRO 1 BLDG. SUITE 14    BOX 1744                                                                  HATO REY            PR           00919
   227211 INDUSTRIAL FIRE PRODUCT        PO BOX 6008 STATION ONE                                                                                 BAYAMON             PR           00960‐5008
          INDUSTRIAL FIRE PRODUCTS ,
   227233 CORP.                          P. O. BOX 52274 LEVITOWN STA.                                                                           TOA BAJA            PR           00950‐0000
          INDUSTRIAL FIRE PRODUCTS
   227234 CORP                           PO BOX 52274                                                                                            TOA BAJA            PR           00950
   831402 Industrial Fire Products Corp. P.O. Box 52274 Levittown Sta.                                                                           Toa Baja            PR           00950
          INDUSTRIAL FITTINGS AND
   668891 VALVES INC                     PO BOX 2329                                                                                             TOA BAJA            PR           00951‐2329
   227237 INDUSTRIAL GULF                AVE A. HOSTOS                 COND GALERIA I APT 1204                                                   SAN JUAN            PR           00918

   668892 INDUSTRIAL INSTRUMENTS, INC. PO BOX 10669                                                                                              PONCE               PR           00732
   227238 INDUSTRIAL LIGHTING SUPPLY   P O BOX 4847                                                                                              CAROLINA            PR           00984



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          INDUSTRIAL LIGHTING SUPPLY
   227239 INC                                          COLLECTIONS OVERSIGHT          PO BOX 9146                                                                       SAN JUAN            PR           00908‐0146

   668893 INDUSTRIAL MACHINE SHOP INC                  P O BOX 365092                                                                                                   SAN JUAN            PR           00936‐5092
          INDUSTRIAL MACHINERY
   668894 MOVERS INC                                   PO BOX 219                                                                                                       BAYAMON             PR           00960‐0219
          INDUSTRIAL MEDICAL SERVICES
   227243 & SUPPLIES                                   #376 AVE. SAN CLAUDIO                                                                                            SAN JUAN            PR           00926
          INDUSTRIAL MEDICAL SERVICES
   227245 & SUPPLIES ,                                 P. O. BOX 29449                                                                                                  SAN JUAN            PR           00929‐0000
          Industrial Medical Services &
   831403 Supplies, Inc.                               PO Box 29449                                                                                                     San Juan            PR           00929
   668895 INDUSTRIAL PAINT                             HC3 BOX 12718                                                                                                    CAMUY               PR           00627

   668896 INDUSTRIAL POWER TOOLS INC                   P O BOX 13215                                                                                                    SAN JUAN            PR           00908‐3215
          INDUSTRIAL PRINTING &
   668898 BUSINESS FORMS                               P.O. BOX 1707                                                                                                    MANATI              PR           00674
   227247 INDUSTRIAL PROCESS SUPPLY                    LEVITTOWN STATION              PO BOX 51565                                                                      TOA BAJA            PR           00950‐1565
          INDUSTRIAL PROCESSING
   668899 MACHINERY                                    PO BOX 7886 SUITE 500                                                                                            GUAYNABO            PR           00970
   668900 INDUSTRIAL PUBLISHERS INC.                   PO BOX 361927                                                                                                    SAN JUAN            PR           00936
          INDUSTRIAL QUALITY
   227248 INSTRUMENTS SALES                            & SERVICE INC                  URB LAS LOMAS          1663 CALLE 16 SO                                           SAN JUAN            PR           00921
   668901 INDUSTRIAL SCIENTIFIC CORP                   PO BOX 4112                                                                                                      BAYAMON             PR           00958
   227250 Industrial Scientific, Corp.                 P O Box 4112                                                                                                     Bayamón Gardens     PR           00958‐0000
          INDUSTRIAL SECURITY
   227251 PRODUCTS                                     URB SIERRA BAYAMON #600        AVE WEST MAIN                                                                     BAYAMON             PR           00961‐3898
          INDUSTRIAL SECURITY                          URB. SIERRA BAYAMON #600
   227252 PRODUCTS , INC.                              AVENIDA WESTMAID                                                                                                 BAYAMON             PR           00961‐3898
          INDUSTRIAL SECURITY
   227253 PRODUCTS INC                                 CALLE 22 AA‐3 URB RIVER VIEW                                                                                     BAYAMON             PR           00961

   831404 Industrial Security Products, Inc.           Drive Inn Plaza PMB 277        Suite 15                                                                          Bayamón             PR           00959
  1256566 INDUSTRIAL SERVICE                           REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          INDUSTRIAL SERVICE & FIRE
   227255 SISTEN INC                                   PO BOX 802                                                                                                       COMERIO             PR           00782
          INDUSTRIAL SEWING MACHINE
   668902 CO.                                          P.O. BOX 56                                                                                                      BYAMON              PR           00960
          INDUSTRIAL SPRINKLER
   668903 CORPORATION                                  PMB 500                        PO BOX 2020                                                                       BARCELONETA         PR           00617‐2020
   668904 INDUSTRIAL STAINLESS CORP                    P O BOX 2368                                                                                                     TOA BAJA            PR           00951‐2661
          INDUSTRIAL SYSTEMS &
   227256 EQUIPMENT CO                                 PO BOX 361598                                                                                                    SAN JUAN            PR           00936‐1598

   227257 INDUSTRIAL TECHNICAL COLLEGE P O BOX 8480                                                                                                                     HUMACAO             PR           00792
   668905 INDUSTRIAL TECHNOLOGY        PO BOX 51398 LEVITTOWN                                                                                                           TOA BAJA            PR           00950‐1398
   668906 INDUSTRIAL VASALLO           P O BOX 473                                    COTO LAUREL                                                                       PONCE               PR           00780
          INDUSTRIAL VISION
   668907 CONSULTANTS                  313 AVE FONT MARTELO                                                                                                             HUMACAO             PR           00791
   668908 INDUSTRIAS AUTOMOTRICES      PO BOX 364447                                                                                                                    SAN JUAN            PR           00936‐4447
          INDUSTRIAS AUTOMOTRICES
   668909 FIGUEROA                     PO BOX 364447                                                                                                                    SAN JUAN            PR           00936‐4447




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          INDUSTRIAS CAFETELERAS
   227258 ACOSTA                                      HC 1 BOX 10185                                                                                                 SAN SEBASTIAN       PR           00685
   668910 INDUSTRIAS CRISTALUM INC                    PO BOX 361780                                                                                                  SAN JUAN            PR           00936
          INDUSTRIAS DON RUIZ LLC /
   227259 CAFE DON RUIZ                               RR 1 BOX 6271                                                                                                  MARICAO             PR           00606

   668911 INDUSTRIAS GLIDDEN DE P R INC MARINA STATION                           PO BOX 3673                                                                         MAYAGUEZ            PR           00681
   668913 INDUSTRIAS LA FAMOSA, INC.    PO BOX 364265                                                                                                                SAN JUAN            PR           00936‐4265
   668914 INDUSTRIAS LA TINAJITA        PO BOX 10148                                                      PONCE                                                      PONCE               PR           00732
   227260 INDUSTRIAS VASALLO INC        PO BOX 800473                                                                                                                COTO LAUREL         PR           00780

   227263 INDUSTRIES FOR THE BLIND INC                445 S CURTIS ROAD                                                                                              WEST ALLAR          WI           53214
          INDUTECH ENVIROMENTAL
   668915 SERVCE                                      PO BOX 70168‐8168                                                                                              SAN JUAN            PR           00936‐8168
          INDUTECH ENVIROMENTAL
   668916 SERVICES                                    P O BOX 70168                                                                                                  SAN JUAN            PR           00936‐8168
   668917 INDY PERFORMANCE                            PO BOX 29071                                                                                                   SAN JUAN            PR           00929
   227264 INEABEL PEREIRA GUZMAN                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668918 INEABEL RIVERA LOPEZ                        URB SIERRA LINDA           C 25 CALLE 2                                                                        BAYAMON             PR           00956

   668920 INEABELLE ALVAREZ MONZON                    URB LOMAS DE CAROLINA      T 13 CALLE CERRO TAITA                                                              CARILINA            PR           00987
   227266 INEABELLE COLON RIVERA                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      BO HIGUILLAR PARC SAN
   668922 INEABELLE DIAZ SANTANA                      ANTONIO 20A                                                                                                    DORADO              PR           00616
   227267 INEABELLE FELICIANO RIVERA                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   668924 INEABELLE HERNANDEZ PEREZ                   P O BOX 1993                                                                                                   ISABELA             PR           00662
   668925 INEABELLE HERRERA VIVES                     RR 1 BOX 6294                                                                                                  GUAYAMA             PR           00784
   668926 INEABELLE HUERTAS AMILL                     URB EL PARAISO APT 17                                                                                          PATILLAS            PR           00723
   227268 INEABELLE I MARTY SIERRA                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   227270 INEABELLE LOPEZ BELTRAN                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   227272 INEABELLE MARTINO TORRES                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668928 INEABELLE MONTES OJEDA                      HC 01 BOX 3278                                                                                                 VILLALBA            PR           00766
   227274 INEABELLE ORTIZ ORTIZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668929 INEABELLE QUINTERO CRUZ                     99 CALLE EMILIO GONZALEZ                                                                                       ISABELA             PR           00662
   668930 INEABELLE RAMOS CAMACHO                     PO BOX 120                                                                                                     AGUAS BUENAS        PR           00703

   227278 INEABELLE RODRIGUEZ PAGAN                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   668931 INEABELLE ROMAN MELENDEZ                    PO BOX 604                                                                                                     NAGUABO             PR           00718

   668933 INEABELLE SANTIAGO CAMACHO PO BOX 364148                                                                                                                   SAN JUAN            PR           00936‐4148
   668935 INEABELLE SOLA ALBINO      URB REINA DE LOS ANGELES                    U8 CALLE 8                                                                          GURABO              PR           00778
   227279 INEABELLE SOTO BAEZ        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   227280 INEABELLE TORRES SUAREZ    REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   668936 INECO IND.EQUIPMENT CORP   PO BOX 29006                                                                                                                    SAN JUAN            PR           00929
   227281 INEIDA IRIZARRY RODRIGUEZ  REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          INELCONT
          CORPORATION/NOREEN
   227282 WISCOVITCH                 PO BOX 8466                                                                                                                     PONCE               PR           00732
   227283 INELD M FALCON GALARZA     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   227284 INELDA E ALAMEDA           REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   227285 INELDA POLANCO POLANCO     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  227286 INELIS CRUZ MARTES                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  227287 INELIS LOPEZ MORALES                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  227288 INELIS Y CRUZ MARTES                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  227289 INELISSE J. OTERO DIAZ                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  227290 INELISSE OTERO DIAZ                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  227291 INELKO ENGINEERING INC                       PO BOX 195529                                                                                                       SAN JUAN            PR         00919‐5529

   668937 INELKO SE                                   C/O LCDA ELDIA M DIAZ OLMO    PO BOX 363952                                                                         SAN JUAN            PR         00936 3952

   227293 INES A ARCE Y ROBERTO ARCE                  REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   227294 INES A SALCEDO ACOSTA                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   227295 INES ACOSTA DELGADO                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   227296 INES ALMONTE DE LEON                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668939 INES ALVARADO                               PO BOX 50063                                                                                                        SAN JUAN            PR         00902
   668940 INES ALVARES                                HC 05 BOX 27636                                                                                                     CAMUY               PR         00627

   668941 INES ALVAREZ OCHOA                          URB JARDINEZ DE CASA BLANCA   CALLE CALIFORNIA NUM. 11                                                              TOA ALTA            PR         00953
   668942 INES ALVAREZ VIRUET                         RE LUIS LLOREN TORRES         EDIF 132 APT 2468                                                                     SAN JUAN            PR         00913
   668943 INES AMARO LEBRON                           VILLA PALMERAS                360 CALLE LAGUNA                                                                      SANTURCE            PR         00921
   668944 INES AMOROS RIVERA                          BO CABRA HONDA                CARR 486 KM 3 3                                                                       CAMUY               PR         00627
   227297 INES ANDRADES PENALBERT                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   227298 INES APONTE                                 REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668945 INES APONTE SEPULVEDA                       58 VALLE VERDE HOUSING                                                                                              ADJUNTAS            PR         00601
   668946 INES AYALA                                  RIO CRISTAL                   9316 BALBINO TRINTA                                                                   MAYAGUEZ            PR         00680‐1958
   227299 INES BATISTA FLORES                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668948 INES BELEN                                  PARQ SAN MIGUEL               A14 CALLE 1                                                                           BAYAMON             PR         00959
                                                      A/C BCO DESARROLLO
   668949 INES BENITEZ COLON                          ECONOMICO PR                  PO BOX 650                                                                            COROZAL             PR         00783
   227300 INES CANABAL TORRES                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668952 INES CARTAGENA VAZQUEZ                      67 CALLE DUQUES                                                                                                     GUAYAMA             PR         00784
   668954 INES CASTILLO GARCIA                        PO BOX 810145 AMF STATION                                                                                           CAROLINA            PR         00981
   668955 INES CLAUDIO ARROYO                         CAFETERIA LA MINA DE ORO      2 CALLE ACOSTA                                                                        CAGUAS              PR         00725
   668956 INES COLLAZO RIVERA                         EL ZUMBADOR                   515 EL LAUREL PASEO                                                                   COTO LAUREL         PR         00780‐0448
   668957 INES COLON CARDONA                          URB BUZO                      A 11 CALLE 2                                                                          HUMACAO             PR         00791

   668959 INES COUVERTIER RODRIGUEZ                   BUENA VISTA                   14 CALLE LAUREL                                                                       CAROLINA            PR         00986
   227302 INES CRUZ BERMUDEZ                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668961 INES CRUZ MOLINA                            PO BOX 13987                                                                                                        SAN JUAN            PR         00908
   668962 INES CRUZ NIEVES                            ALTOS CANTERA                 734 CALLE EL GUANO                                                                    SAN JUAN            PR         00915
   668963 INES CUELLO CRUZ                            2 CALLE PUERTO ARTURO                                                                                               COAMO               PR         00769
   227304 INES DAVILA ROMAN                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   227305 INES DE JESUS DE JESUS                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   227306 INES DE JESUS DELGADO                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   227307 INES DEL C CARRAU MARTINEZ                  REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668964 INES DEL C ROLON LOZANO                     HC 2 BOX 5575                                                                                                       MOROVIS             PR         00687
   668965 INES DELGADO RODRIGUEZ                      URB SANTA JUANA 2             X 10 CALLE 14                                                                         CAGUAS              PR         00725
   668966 INES DIAZ GONZALEZ                          URB GREEN HILLS               F 16 GARDENIA                                                                         GUAYAMA             PR         00784
   227308 INES DIAZ RIVERA                            REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668967 INES E PEREZ NIEVES                         PO BOX 2324                                                                                                         MOCA                PR         00676
          INES E PEREZ NIEVES Y SUHAIL D
   227309 CABAN                                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668969 INES ESQUILIN RIVERA                        CALLE CRISALIDA               36 CALLE MUNOZ RIVERA                                                                 GUAYNABO            PR         00969



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  668970 INES FEBO RODRIGUEZ                           PARCELAS FALU                249 D CALLE 37                                                                      SAN JUAN            PR         00924
  227310 INES FELICIANO AVILES                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  668972 INES FIGUEROA COTTO                           EL MIRADOR                   EDIF 16 APT F 3                                                                     SAN JUAN            PR         00915
  227311 INES FLORES FONTANEZ                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  227312 INES FONT PACHECO                             REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  227313 INES GARCIA AROCHO                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   668973 INES GOMES ADORNO                            191 CALLE CARRION MADURO                                                                                         SAN JUAN            PR         00926
   668974 INES GONZALEZ GERENA                         HC 2 BOX 5380                                                                                                    LARES               PR         00669
   668975 INES GUEVARES JIMENEZ                        BO ARENA                     KM 1 HM 2                                                                           CIDRA               PR         00739
   668976 INES GUTIERREZ CRUZ                          HC 02 BOX 11282                                                                                                  HUMACAO             PR         00791
   227314 INES HERNANDEZ MORAN                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668978 INES I ACEVEDO MOJICA                        URB JARDINES 11              G 11 CALLE 7                                                                        CEIBA               PR         00735
   668979 INES I JANER MELENDEZ                        PO BOX 2187                                                                                                      OROCOVIS            PR         00720
   227316 INES LOPEZ                                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668982 INES LOPEZ ENCARNACION                       PO BOX 783                                                                                                       CAROLINA            PR         00986
   227317 INES M BURGOS MARQUEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   227318 INES M CASIANO CASIANO                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   227319 INES M CEPEDA MIRANDA                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668985 INES M CLAUDIO MARTINEZ                      PO BOX 1580                                                                                                      TOA BAJA            PR         00951
   668986 INES M CRUZ RODRIGUEZ                        RES LOS LIRIOS               EDIF 7 APT 110                                                                      SAN JUAN            PR         00907
   668987 INES M DARDIE GUTIERREZ                      VISTA AZUL                   BB 15 CALLE 33                                                                      ARECIBO             PR         00612
   227320 INES M ESCOBALES FELICIANO                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668988 INES M FELIX BAEZ                            BOX 1697                                                                                                         RIO GRANDE          PR         00745‐1697
   227321 INES M FILET GAMBARO                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   227322 INES M JELU IRAVEDRA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   668990 INES M LEBRON TORRES                         COND FRANCH PLAZA APT 506                                                                                        SAN JUAN            PR         00919
   668994 INES M MARTINEZ SABERAL                      PO BOX 1175                                                                                                      ARECIBO             PR         00613
   668995 INES M NIEVES CORREA                         HC 1 BOX 4468                                                                                                    NAGUABO             PR         00718‐9717
   668996 INES M OCASIO CLARILLO                       HC 6 BOX 4477                                                                                                    PONCE               PR         00780

   668997 INES M ONEILL RIVERA                         COND JARD METROPOLITANO II   APT 14 E CALLE GALILEO                                                              SAN JUAN            PR         00927
   227323 INES M PILLOT QUINONES                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   668998 INES M PIZARRO                               MEDIANIA ALTA                LOS CORREA                                                                          LOIZA               PR         00772
   668999 INES M RIVERA ROSARIO                        RR BOX 33 CCC                                                                                                    CAROLINA            PR         00983

   227324 INES M RIVERA VIZCARRONDO                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   669000 INES M RODRIGUEZ CANCEL                      HC 2 BOX 14573                                                                                                   CAROLINA            PR         00985
   669001 INES M TORRES MORALES                        13‐387 CALLE SABANA ENEAS                                                                                        SAN GERMAN          PR         00683
   227325 INES M VEGA QUINONES                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   227326 INES M VIDAL VEGA                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   227327 INES MARIA PABON ROSARIO                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   669006 INES MARIA PAGAN RIVERA                      CAROLINA ALTA                H‐4 MILAGROS CABEZAS                                                                CAROLINA            PR         00987‐7128
   669007 INES MARTINEZ JIMENEZ                        PARC AMADEO                  26 CALLE F                                                                          VEGA BAJA           PR         00693
   669008 INES MARTINEZ MALDONADO                      HC 3 BOX 9695                                                                                                    BARRANQUITAS        PR         00794
   669009 INES MARTINEZ MONTALVO                       RES ROOSEVELT                EDF 17 APT 382                                                                      MAYAGUEZ            PR         00680
   669011 INES MEJÖAS                                  MANS DE RIO PIEDRAS          1790 FLORES                                                                         SAN JUAN            PR         00926
   227328 INES MENDEZ QUINONES                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   227329 INES MONGIL ECHANDI                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   227330 INES MONTANEZ CACERES                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   227331 INES MONTES CEDENO                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   669012 INES MORALES                                 BOX 595                                                                                                          JUNCOS              PR         00777



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  227332 Ines Morales Laboy                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  227334 INES NEGRON COSME                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669014 INES OLAZABAL                                5505 DAYS WAY                                                                                                     VALRICO            FL         33594
  227335 INES OLMO VAZQUEZ                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669015 INES ORTIZ ECHEVARRIA                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  227336 INES ORTIZ MEDINA                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669016 INES OTERO PAGAN                             HC 01 BOX 2040‐1                                                                                                  MOROVIS            PR         00687
  669017 INES OYOLA RAMOS                             SOLAR 445‐A COM BAIROA                                                                                            CAGUAS             PR         00726
  227337 INES PAGAN SILVA                             REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  227338 INES PAYANO SANTOS                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  227339 INES PERAZA RIVAS                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  227340 INES PEREZ FIGUEROA                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  227341 INES PEREZ JOSE                              REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669018 INES PEREZ MENENDEZ                          PO BOX 11279                                                                                                      SAN JUAN           PR         00922
  227342 INES PEREZ RAMIREZ                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669019 INES PORTO SANTANA                           BARRIO DUQUE               CALLE 48 BOX 2047                                                                      NAGUABO            PR         00718
  669020 INES QUIRINDONGO                             EL ROSARIO I               F2 CALLE B URB EL ROSARIO                                                              VEGA BAJA          PR         00693
  669021 INES R RIOS RAMOS                            PO BOX 211                                                                                                        LAS MARIAS         PR         00670
                                                      Urb. La Merced 475 Calle
   669023 Ines Rigual Vda. Torres                     Arrigoitia                                                                                                        San Juan                      00918
   227343 INES RIVERA                                 REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   227344 INES RIVERA COLON                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   227345 Ines Rivera Davila                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   227346 INES RIVERA NUNEZ                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   669024 INES RIVERA ORTIZ                           P O BOX 1048                                                                                                      OROCOVIS           PR         00720
   227347 INES ROBLES LOZANO                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   227348 INES RODRIGUEZ CANCEL                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   669027 INES RODRIGUEZ DE FERNANDEZ PO BOX 8641                                                                                                                       PONCE              PR         00732‐8641
   227349 INES RODRIGUEZ GOYCO        REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   669028 INES RODRIGUEZ PACHECO      URB VILLAS DE LOIZA                        G 16 CALLE 3 A                                                                         CANOVANAS          PR         00729
   227350 INES RODRIGUEZ RODRIGUEZ    REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   669030 INES RODRIGUEZ VICENS       PO BOX 717                                                                                                                        SAN LORENZO        PR         00754
   669031 INES ROSA SERRANO           13627 PURITAS AVE                                                                                                                 CLEVELAND          OH         44135
   669032 INES ROSA VELAZQUEZ         BDA PATAGONIA                              9 CALLE DIANA                                                                          HUMACAO            PR         00971
   227351 INES ROSADO AGUILERA        REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   668938 INES ROSADO AGUILERA        77 CALLE JOSE NAZARIO                                                                                                             GUANICA            PR         00653
   227352 INES ROSADO VALENTIN        REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   669033 INES ROSARIO MENDEZ         TERRAZAS DE GUAYNABO                       H 13 LAS FLORES                                                                        GUAYNABO           PR         00969
   669034 INES ROSARIO REYES          COND EL FALANSTERIO                        EDIF L APTO 2                                                                          SAN JUAN           PR         00901
   669036 INES SANJURJO ROBLES        VILLAS DE LOIZA                            A G 8 CALLE 30                                                                         LOIZA              PR         00729
   227354 INES SANTIAGO RAMIREZ       REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   227355 INES SANTIAGO REYES         REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   227357 INES TORRES QUINONES        REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   227358 INES V NUNEZ                REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   669038 INES V RIVERA PEREZ         RR 2 BOX 4006                                                                                                                     TOA ALTA           PR         00953‐9802
   669039 INES VAZQUEZ RIVERA         URB MONTE BRISAS                           42 CALLE ML                                                                            FAJARDO            PR         00738‐3316
   669040 INES VELEZ MARTINEZ         HP ‐ Forense RIO PIEDRAS                                                                                                          Hato Rey           PR         009360000
   669041 INES VERA CABAN             HC 3 BOX 13573                                                                                                                    YAUCO              PR         00698
   669042 INES Y ALFONSO REYES        PO BOX 416                                                                                                                        JAYUYA             PR         00664
   227360 INES Y. CRUZ LOPEZ          REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   669043 INES Z DE JESUS FLECHA      EXT VILLA DEL PILAR                        F 15 CALLE C                                                                           CEIBA              PR         00735




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   227361 INES Z RODRIGUEZ RODRIGUEZ                  REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   227363 INESHARIE RIVERA SANTOS                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   669045 INET VELEZ YAMBO                            PERLA DEL SUR               2959 COSTA CORAL                                                                           PONCE                PR           00717‐0416
   227370 INETTE CRUZ HERNANDEZ                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   227371 INETTE VIANA ROSADO                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   669046 INEVELISSE LUGO VELAZQUEZ                   EXT SAN ANTONIO             J 3 CALLE 1                                                                                HUMACAO              PR           00791

          INFANT TODDLER
   227372 COORDINATORS ASSOCIATION                    6545 NORTH OLNEY                                                                                                       INDIANAPOLIS         IN           46220
          INFANTE MENDEZ MD, RICARDO
   227390 A                                           REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          INFANZON SANTOS MD,
   227414 SEBASTIAN                                   REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          INFECTION CONTROL AND
   669048 PREVENTION                      4425 S. MO PAC EXPRESSWAY     SUITE # 205                                                                                          AUSTIN               TX           78735‐6711
   831406 Infinadyne                      3536 Jersey Ridge Road                                                                                                             Davenport            IA           60030
   669049 INFINITO                        IND MARIO JULIA               420 CALLE A                                                                                          SAN JUAN             PR           00920‐2012
   669050 INFINITY AWARDS                 PO BOX 29476                                                                                                                       SAN JUAN             PR           00929‐0476
                                          CALLE 23 BLOQUE 45 #10, SANTA
   227416 INFINITY ELEVATOR SERVICE, INC. ROSA                                                                                                                               BAYAMON              PR           00956
   669051 INFINITY HEALTH CARE CORP       P O BOX 1150                                                                                                                       AGUAS BUENAS         PR           00703‐1150
   227417 INFINITY LASER PSC              CITY VIEW PLAZA               SUITE 117                                 CAR 165 KM 1.2 #48                                         GUAYNABO             PR           00968
   227419 INFINITY SIGNS INC              PMB 169                       PO BOX 6022                                                                                          CAROLINA             PR           00984
          INFINITY STRATEGIC
   227421 COMMUNICATION, CORP,            PO BOX 811                                                                                                                         GUANICA              PR           00653
   227422 INFLALANDIA CORP                PO BOX 1454                                                                                                                        DORADO               PR           00646‐1454
   227423 INFO PROVIDERS                  PMB 48 53 AVE ESMERALDA                                                                                                            GUAYNABO             PR           00969‐4429
   227424 INFO PROVIDERS INC              PMB 48                        53 AVE ESMERALDA                                                                                     GUAYNABO             PR           00969‐4429

   669052 INFO SISTEMS                311 EL SE¨ORIAL MAIL STATION                                                                                                           SAN JUAN             PR           00926
   669053 INFO TEC                    1005 ABBE ROAD NORTH                                                                                                                   ELYRIA               OH           44035
          INFO. TECHNOLOGY DEVELOPERS                                             35 CALLE JUAN C. BORBON SUITE
   227425 GROUP, INC                  PMB 351                                     67                                                                                         GUAYNABO             PR           00969‐5375
   669054 INFOACCESS                  15821 NE 8th STREET                                                                                                                    BULLEVUE             VA           98002 3905
   227426 INFOACCESS, INC             15821 NE 8TH STREET                                                                                                                    BELLEUE              WA           98008‐3905

   227427 INFOCOM SYSTEMS SERVICES INC 120 WOOD AVENUE SOUTH                      SUITE 200                                                                                  ISELIN               NJ           08830

   669055 INFOCUS DIRECT                              27700B SW PARKWAY AVENUE                                                                                               WILSONVILLE          OR           97070‐9215
   669056 INFODATA CORPORATION                        PO BOX 193002                                                                                                          SAN JUAN             PR           00919
   669057 INFOGUIA                                    PUERTO NUEVO                500 A AVE ANDALUCIA                                                                        SAN JUAN             PR           00920
   227428 INFOKEEPER OF PR                            P O BOX 2358                                                                                                           TOA BAJA             PR           00951
   669058 INFOLEX DE PUERTO RICO                      BOX 560                                                                                                                LUQUILLO             PR           00773‐0560
   227431 INFOLOGICA INC                              EL PARAISO                  1607 TAMESIS                                                                               SAN JUAN             PR           00926‐2948
   831407 Infomax Corp.                               PO Box 70171, PMB 213                                                                                                  San Juan             PR           00936
   227433 INFOMAX CORPORATION                         P BOX 70171                 PMB 213                                                                                    SAN JUAN             PR           00926‐8171
   669059 INFOMEDIKA                                  PO BOX 11095                                                                                                           SAN JUAN             PR           00922‐1095
                                                      P O BOX 11095 CAPARRA
   669060 INFOMEDIKA INC                              HIGHTS                      STATION                                                                                    SAN JUAN             PR           00922
   669061 INFONET TECHNOLOGY INC                      PO BOX 69                                                                                                              MANATI               PR           00674‐0069
                                                      PLAZA RIO HONDO SUITE 366
   669062 INFOPAK CORP                                ZMS                                                                                                                    BAYAMON              PR           00961‐3100



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          INFORMACION TECHNOLOGY
   227436 DEVELOPERS CORP          PMB 351                                          35 CALLE JUAN C BORBON STE 67                                                              GUAYNABO             PR           00969‐5375
          INFORMANT COMMUNICATIONS
   669063 GROUP                    10519 E STOCKTON BLVD                            SUITE 100                                                                                  ELD GROVE            CA           95624‐9703
   227437 INFORMASI LLC            PO BOX 360716                                                                                                                               SAN JUAN             PR           00936‐0716
   669064 INFORMATION BUILDERS     PO BOX 7247                                                                                                                                 PHILADELPHIA         PA           19170
   227438 INFORMATION BUILDERS,INC J.A.F. BOX 2823                                                                                                                             NEW YORK             NY           10116
          INFORMATION RESOURCE
   227439 GROUP INC                PMB 637 SUITE 105                                89 AVE DE DIEGO                                                                            SAN JUAN             PR           00927‐6346
          INFORMATION RESOURCES
   227440 GROUP, INC               PMB 636                                          267 CALLE SIERRA MORENA                                                                    SAN JUAN             PR           00926‐5583

   669065 INFORMATION SECURITY CORP 1141 LAKE COOK ROAD SUITE D                                                                                                                DEERFIELD            IL           60015
          INFORMATION SOLUTIONS AND
   227442 TECHNOLOGIES CORP           PMB 274                                       PO BOX 6022                                                                                CAROLINA             PR           00984‐6022
          INFORMATION SYSTEM AUDIT
   669066 AND CONTROL ASS             1055 PAYSPHERE CIRCLE                                                                                                                    CHICAGO              IL           60674
          INFORMATION SYSTEM SECURITY
   227443 ASSOCIATION                 352 SAN CLAUDIO AVE                           PMB 246                                                                                    SAN JUAN             PR           00926
          INFORMATION SYSTEMS AUDIT
   227444 CONT                        3701 ALGONQUIN SUITE 1010                                                                                                                ROLLING MEADOWS      IL           60008 USA
          INFORMATION SYSTEMS
   227445 SECURITY ASSOCIATION        352 SAN CLAUDIO AVE PMB 246                                                                                                              SAN JUAN             PR           00926
          INFORMATION TECHNOLOGY
   227447 CONSULTANS                  RIO PIEDRAS HEIGHTS                           134 SALVEN                                                                                 SAN JUAN             PR           00926
   669067 INFORMATION TODAY INC       143 OLD MARLTON PIKE                                                                                                                     MEDFORD              NJ           08055
          INFORMATION/ TECHNOLOGY
   669068 SOLUTIONS                   PO BOX 195366                                                                                                                            SAN JUAN             PR           00919‐5366
   669069 INFORMESE LTDA              CRA 16 A 78‐11 OF 501                                                                                                                    BOGOTA                                          COLOMBIA
   669070 INFOSOURCE INC.             2721 FORSYTH RD STE 301                                                                                                                  WINTER PARK          FL           32792
   227450 INFOSYP INC                 VILLAS DEL SOL 214                            CALLE MARBELLA                                                                             CAROLINA             PR           00985
   227451 INFOSYP, INC.               PO BOX 16109                                                                                                                             SAN JUAN             PR           00908‐6109
   227452 INFOSYSTEMS CORPORATION     URB MUNOZ RIVERA                              9 ACUARELA ST                                                                              GUAYNABO             PR           00969
   227453 INFOSYSTEMS INC             URB MUÐOZ RIVERA                              9 CALLE ACUARELA                                                                           GUAYNABO             PR           00969
          INFOTRENDS DEVELOPMENT
   669071 PARTNERS                    PMB 116                                                                                                                                  GUAYNABO             PR           00969
   227457 INFRA LIMITED S E           AREA DEL TESORO                               DIVISION DE RECLAMACIONES                                                                  SAN JUAN             PR           00902‐4140
   227458 INFRA S E                   PO BOX 16845                                                                                                                             SAN JUAN             PR           00908‐6845
   227460 INFRAGISTICS CORP           2 COMMERCE DRIVE                                                                                                                         CRANBURRY            NJ           08512
   227461 INFRAGISTICS INC            2 Commerce Drive                                                                                                                         Cranbury             NJ           008512
   227466 ING IVAN SANABRIA           REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   669074 ING JAVIER VAZQUEZ COLLAZO                  COUNTAIN VIEW                 J 35 CALLE 58                                                                              CAROLINA             PR           00987
   227467 ING JUAN AYGUABIBAS                         REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   227469 ING RUBEN CARO                              URB PRADO ALTO K 51 CALLE 6                                                                                              GUAYNABO             PR           00966
          ING. ALBA CRUZ MOYA DBA
   227470 CRUZ MOYA ELEV.                             PMB. 173 B PO BOX 194000                                                                                                 SAN JUAN             PR           00919‐4000
          ING. ALFREDO LUCIANO LUGO
   227471 DBA ALLENGINEERING                          PO BOX 1435                                                                                                              CIALES               PR           00638‐1435
          ING. FRANCISCO MALDONADO
   227472 FORTUNET                                    120 CALLE PUERTO LAS PALMAS URB.VILLAS DE PLAN BO                                                                        CABO ROJO            PR           00623
   227473 ING. MANUEL L. PORRATA                      898 MUNOZ RIVERA AVE.       SUITE 201                                                                                    SAN JUAN             PR           00927



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          ING. PEDRO MENDEZ &
   227474 ASOCIADOS, PSC.                             PO BOX 1807                                                                                                           TRUJILLO ALTO       PR           00977‐1807
   669077 INGA M HEADRICK                             PO BOX 52‐4121                                                                                                        MIAMI               FL           33152‐4121
   227476 INGEBORG NESBITT CLINIC                     516 STRAND ST                                                                                                         FREDERIKSTED        VI           00840
   227479 INGEMA CORP                                 P O BOX 1807                                                                                                          TRUJILLO ALTO       PR           00977
   227483 INGEN CORP                                  ISLA VERDE MALL              6777 AVE ISLA VERDE STE 210                                                              CAROLINA            PR           00979
   227484 INGEN CORPORATION                           6777 ISLA VERDE AVE.         SUITE 210 ISLA VERDE MALL                                                                CAROLINA            PR           00979
          INGENIAR ENGINEERING
   669078 SOLUTINS P S C                              MANS DE SIRRA TAINA          HC 67 BOX 38                                                                             BAYAMON             PR           00956 9801
   227486 INGENIERA PSC                               AREA DEL TESORO              DIVISION DE RECLAMACIONES                                                                SAN JUAN            PR           00902‐4140
          INGENIERO ANGEL M VAZQUEZ
   669079 & ASSOC                                     BOX 9561 COTTO STATION                                                                                                ARECIBO             PR           00613‐9561
          INGENIERO DIONISIO CRUZ
   227488 FELICIANO                                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   669080 INGENIX INC                                 PO BOX 27116                                                                                                          SALT LAKE CITY      UT           84127‐0116
   227491 INGENUITAS LAW FIRM PSC                     513 JUAN J JIMENEZ                                                                                                    SAN JUAN            PR           00918
   227492 INGEPROM INC                                EDIF INGEPRON 99             CALLE 21 STE 202                                                                         CAGUAS              PR           00725‐3390

   669081 INGERMAN MARTINEZ SANTOS                    ATRIUM PLAZA                 225 JOSE OLIVER BZ 23                                                                    SAN JUAN            PR           00918
   227493 INGINIO AYALA CANCEL                        P O BOX 1194                                                                                                          CATANO              PR           00963
                                                      11661 SAN VICENTE BLVD STE
   227494 INGLEDODD PUBLISHING                        709                                                                                                                   LOS ANGELES         CA           90049
          INGLES LANDSCAPING
   227499 BARDENING SERVICES                          BO CORCOVADA BOX 15998                                                                                                ANASCO              PR           00610
   227503 INGLES VALDERRAMA ROSA E                    #116 BO.SABANA SECA                                                                                                   MANATI              PR           00674
   227504 INGLES VALDERRAMA, ROSA E                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   227506 INGO STAPELFELD                             REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   669082 INGRID ABAD GARCIA                          BO LA GLORIA TRUJILLO ALTO   HC 61 BOX 4612                                                                           TRUJILLO ALTO       PR           00976

   669083 INGRID ACEVEDO BURCKHART                    URB EL ALAMO                 EX7 CALLE ENSENADA                                                                       GUAYNABO            PR           00969
   227510 INGRID AGIS ALVAREZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   669084 INGRID ALCOVER GONZALEZ                     705 MAPLE ST                 PERRY SOURS                                                                              OHIO                OH           43551
   669085 INGRID AUST GONZALEZ                        PO BOX 9688                                                                                                           CAGUAS              PR           00726
   227511 INGRID B TORRES ORTIZ                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   227512 INGRID BARTOLOMEI ARROYO                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   227513 INGRID BERRIOS SANTIAGO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   669087 INGRID BORGES MARTINEZ                      1158 AVE MAGDALENA APT 11                                                                                             SAN JUAN            PR           00907‐1711

   669088 INGRID C COLBERG RODRIGUEZ                  URB LOS PINOS                800 CALLE VISTA                                                                          SAN JUAN            PR           00923
   227515 INGRID CARRION CONDE                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   669091 INGRID COMPRES HERRERA                      VILLA PALMERAS               253 CALLE SANTA CECILIA                                                                  SAN JUAN            PR           00915

   227516 INGRID D ALVARADO RODRIGUEZ REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   669093 INGRID D RODRIGUEZ VAZQUEZ                  BOX 755                                                                                                               HORMIGUEROS         PR           00660
   227517 INGRID D. JAIPERSAUD DIAZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   669094 INGRID DE JESUS DE JESUS                    PO BOX 574                                                                                                            ARROYO              PR           00714
   227518 INGRID DIAZ COLON                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   227519 INGRID E DIAZ CLAUDIO                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   669096 INGRID E MACHADO SILVA                      118 CALLE PLATINO                                                                                                     ISABELA             PR           00662
   227521 INGRID ESTRADA RIVERA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  669097 INGRID FELICIANO RIOS                         P O BOX 253                                                                                                   AGUADILLA         PR           00605‐0253

   669098 INGRID FERNANDEZ MILLAN                      232 AVE ELEONOR ROOSEVELT                                                                                     SAN JUAN          PR           00907
          INGRID FIGUEROA
   227522 CARRASQUILLO                                 REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   227523 INGRID G PEREZ GARCIA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   227525 INGRID G TORRES PILLICH                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   669099 INGRID GONZALEZ ROSARIO                      RIVER VIEW                  Z F 2 CALLE 32                                                                    BAYAMON           PR           00961
   669100 INGRID GUTIERREZ ORTIZ                       P O BOX 516                                                                                                   AGUAS BUENAS      PR           00703
   227526 INGRID HERNANDEZ ZAYAS                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   227527 INGRID HERNANDEZ ZAYAZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   669101 INGRID HIEE                                  49 MAPLE DR                                                                                                   MIDDLETOWN        NY           10941
   669103 INGRID I OJEDA CORTES                        P O BOX 374                                                                                                   CIALES            PR           00638
   227529 INGRID J BORGES BONILLA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   227530 INGRID JARLENE TORRES VERA                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   227531 INGRID L HOFFMANN EGOZCUE                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   669104 INGRID L RIVERA ORTIZ                        PO BOX 9021112                                                                                                SAN JUAN          PR           00902‐1112
   227532 INGRID L. CRUZ MORALES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   669107 INGRID M AGUILERA TROYANO                    RIO GRANDE STATES           GG 11 CALLE 31                                                                    RIO GRANDE        PR           00745

   669109 INGRID M DE CHOUDENS GARCIA URB PURPLE TREE                              1721 CALLE PASTERNAK                                                              SAN JUAN          PR           00926
   669110 INGRID M DIAZ SILVA         75 BO PALMAS                                                                                                                   ARROYO            PR           00714
   669111 INGRID M GIMENEZ SANCHEZ    LA PROVIDENCIA                               2 F 2 CALLE 16                                                                    TOA ALTA          PR           00953

   669112 INGRID M HERNANDEZ BERRIOS BO OBRERO STATION                             P O BOX 7492                                                                      SAN JUAN          PR           00916
   227534 INGRID M OTERO SANCHEZ     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   227535 INGRID M PEREZ FANTAUZZI   REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   227536 INGRID M RAMIREZ RODRIGUEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   227537 INGRID M RIVERA MERCADO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   227538 INGRID M RIVERA RIVERA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   227541 INGRID M SOTELO BETANCES                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   227543 INGRID M. PADILLA COLON                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   227544 INGRID M. VILA BIAGGI                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   669113 INGRID MANGUAL RODRIGUEZ                     URB MOUNTAIN VIEW           C 2 CALLE 14                                                                      CAROLINA          PR           00983
   669114 INGRID MARIE COLON RIVERA                    COLINAS DE FAIRVIEW         AE 25 CALLE 202                                                                   TRUJILLO ALTO     PR           00976
   669115 INGRID MARIE OTERO MEJIAS                    URB STA ROSA                22 CALLE 18                                                                       BAYAMON           PR           00952
   669116 INGRID MENDEZ FIGUEROA                       COND LAS OLAS 1503          AVE ASHFORD APT 11B                                                               SAN JUAN          PR           00907
   669117 INGRID MERCADO IRIZARRY                      URB EL CEREZAL              1655 CALLE VOLGA                                                                  SAN JUAN          PR           00926
          INGRID MICHELLE ZAPATA
   669118 ROMAN                                        HC 01 BOX 1623                                                                                                BOQUERON          PR           00622
   669119 INGRID MORALES                               HC 5 BOX 55026                                                                                                CAGUAS            PR           00725
   227546 INGRID MORALES MARIN                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   669120 INGRID NEGRON                                COND LAS GLADIOLAS 1        EDIF A APT 408                                                                    SAN JUAN          PR           00917
   669121 INGRID OJEDA CORTES                          PO BOX 374                                                                                                    CIALES            PR           00638
   669122 INGRID OMS                                   VILLAS DE SAN IGNACIO       38 CALLE SAN EDMUNDO                                                              SAN JUAN          PR           00927
   227547 INGRID PABON HERNANDEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   227548 INGRID PACHECO QUINONES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   227549 INGRID PADILLA CESTERO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  669123 INGRID PEREZ OCASIO                           LOS CAOBOS                   2043 CALLE YAGRUMO                                                                      PONCE               PR           00716
  669124 INGRID PEREZ RIVERA                           URB VILLA UNIVERSITARIA      Q 14 CALLE 20                                                                           HUMACAO             PR           00791
  669125 INGRID PIERLUISI ISERN                        URB EL VEDADO                514A CALLE DE HOSTOS                                                                    SAN JUAN            PR           00918

   227550 INGRID QUINONES RODRIGUEZ                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   227551 INGRID QUINONES VELEZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   227552 INGRID R PEREZ ALVIRA                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   227553 INGRID RABELO BREGON                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   669126 INGRID RAMIREZ DE LA TORRE                   BOX 617                                                                                                              CABO ROJO           PR           00623

   669127 INGRID RAMIREZ LAGOMARSINI                   110 PQUE MONTERREY 1         APT 104                                                                                 PONCE               PR           00717‐1331
   669128 INGRID RAMIREZ WEBER                         11 CALLE CAFRESI                                                                                                     CABO ROJO           PR           00623
   669129 INGRID RAMOS MARTINEZ                        EXT VILLAMAR                 FO 5 CALLE 5                                                                            CAROLINA            PR           00979
   227554 INGRID RAMOS ROBLES                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   227556 INGRID RIVERA SCLANK                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

  1256567 INGRID RODRIGUEZ HERNANDEZ REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   227557 INGRID RODRIGUEZ RAMOS     REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   669132 INGRID ROSADO MUNDO        URB LOS ARBOLES                                707 C VEREDA DEL BOSQUE                                                                 CAROLINA            PR           00987
   669133 INGRID RUBIO QUILES        P O BOX 304                                                                                                                            YAUCO               PR           00698
   669134 INGRID S JOVE FRANK        AVE LOS FILTROS                                BOULEVARD DEL RIO 2          APTO 318 L                                                 GUAYNABO            PR           00969
   227558 INGRID S MORALES COLON     REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   227559 INGRID S. SIACA DONES      REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   669135 INGRID SALAS DIAZ          URB VILLA VENECIA                              R 106 AVE GALICIA                                                                       CAROLINA            PR           00983

   669137 INGRID SEVERINO SANCHEZ                      URB MONTE TRUJILLO ALTO      BOX 802 PARQUE TERRALINDA                                                               TRUJILLO ALTO       PR           00976
   669138 INGRID SILVA GONZALEZ                        PO BOX 487                                                                                                           HUMACAO             PR           00792
   669139 INGRID SOLDEVILA NAZARIO                     EL CONQUISTADOR              I 43 CALLE 5                                                                            TRUJILLO ALTO       PR           00976
   227561 INGRID SOTO PACHECO                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          INGRID TIRADO E IGNACIO
   227562 VAZQUEZ                                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   669140 INGRID TOLEDO COIRA                          URB HUCARES W 4 11           CALLE CALDERON DE LA BARCA                                                              SASN JUAN           PR           00926
   227563 INGRID TORRES WISCOVITCH                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   669141 INGRID V BRACERO                             PARCELAS ELIZABETH           348 PTO REAL CALLE AZUCENA                                                              CABO ROJO           PR           00623
   227564 INGRID V COLON PAGAN                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   669142 INGRID VARGAS FLORES                         URB VILLA AVILA              A 49 CALLE HUMACAO                                                                      GUAYNABO            PR           00969‐4606
   227565 INGRID VAZQUEZ AGOSTO                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   227566 INGRID VELAZQUEZ RODRIGUEZ                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   669143 INGRID VELAZQUEZ TORRES                      HC 2 BOX 12376                                                                                                       YAUCO               PR           00698
   669144 INGRID VIERA GONZALEZ                        BRISAS DE LOIZA              68 CALLE GEMINIS                                                                        CANOVANAS           PR           00729
   227567 INGRID WEBER RODRIGUEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          INGRID YANCEL CARMONA
   227568 COTTO                                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   669148 INGRID ZAMBRANA RIVERA                       HC 01 BOX 31034                                                                                                      JUANA DIAZ          PR           00795‐9738
                                                       CABO ROJO EXTENCION CIERRA
   669150 INGRIS SANTOS                                LINDA                        L 4 CALLE 6                                                                             CABO ROJO           PR           00623

   227570 INIABEL MERCADO VILLARUBIA                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   227572 INIABELL CRUZ ORTIZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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   669152 INIABELLE MORALES MARTINEZ                  URB TOMAS CARRION MADURO 15 CALLE 6                                                                            JUANA DIAZ          PR           00795
   669153 INIABELLIE TORRES SANTIAGO                  URB SAN MARTIN           E 12 CALLE 1                                                                          JUANA DIAZ          PR           00795
   669154 INIABELLIS MU¥IZ GONZALEZ                   COM STELLA               BOX 2518 CALLE 14                                                                     RINCON              PR           00677
          INICIATIVA CIVIL
   227573 PUERTORRIQUENA INC                          BOX 1044                                                                                                       SAN GERMAN          PR           00683
   227574 INICIATIVA COMUNITARIA                      PO BOX 366535                                                                                                  SAN JUAN            PR           00936‐6535
          INICIATIVA COMUNITARIA DE
   227575 ARECIBO                                     PO BOX 2830                                                                                                    ARECIBO             PR           00613
          INICIATIVA COMUNITARIA DE
   227576 ARECIBO, INC.                               PO BOX 2830                                                                                                    ARECIBO             PR           00613
          INICIATIVA COMUNITARIA DE
   227578 INVESTIGACION                               PO BOX 366535                                                                                                  SAN JUAN            PR           00936‐6535
          INICIATIVA COMUNITARIA DE LA
   227579 MONTANA                                     18 AVE SAN MIGUEL                                                                                              UTUADO              PR           00641
          INICIATIVA COMUNITARIA EN
   227582 INVESTIGACION                               P.O. BOX 366535                                                                                                SAN JUAN            PR           00936‐6535
          INICIATIVA COMUNITARIA
   227583 INVESTIGACION INC                           PO BOX 366535                                                                                                  SAN JUAN            PR           00936‐6535
          INICIATIVA ECO DESARROLLO
   227584 BAHIA JOBOS                                 P O BOX 6064                                                                                                   CAGUAS              PR           00726
   227585 INICIATIVA INOVADORAS INC                   PO BOX 9474                                                                                                    SAN JUAN            PR           00908‐0474
          INICIATIVA TECNOLOGICA CTRO
   227587 ORIENTAL INC                                15 BALDORIOTY DE CASTRO                                                                                        CAGUAS              PR           00725
          INICIATIVA TECNOLOGICA DEL
   227588 NORESTE INC                                 PO BOX 2010                                                                                                    CAROLINA            PR           00984‐2010
          INICIATIVA TECNOLOGICA DEL
   227589 NORTE                                       AREA DEL TESORO           DIV. CONTADURIA GENERAL                                                              SAN JUAN            PR           00902
          INICIATIVA TECNOLOGIGA
   227590 CENTRO ORIENTAL              CALLE BALDORITY #15                                                                                                           CAGUAS              PR           00725
                                       1311 AVE PONCE DE LEON SUITE
   227591 INICIATIVAS INNOVADORAS, INC 301                                                                                                                           SAN JUAN            PR           00907
   227592 IÑIGO FAS MD, EMIGDIO        REDACTED                     REDACTED                              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   669156 INIOR A ORTIZ VERA           URB HIGHLAND PARK            723 CALLE CIPRES                                                                                 SAN JUAN            PR           00926
          INITRATIRE INDEPENDENT
   227595 SCHOOLING PR INC             PMB 311 BOX 5968                                                                                                              AGUADILLA           PR           00605
          INIZO ORG THE POWER OF
   227596 CHANGE                       PMB 290                      35 JUAN C BORBON STE 67                                                                          GUAYNABO            PR           00968‐5375
   669157 INJOY VIDEOS                 1435 YARMOUTH STE 102                                                                                                         BOULDER             CO           80304
  1256568 INK FACTORY                  REDACTED                     REDACTED                              REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   227597 INK FACTORY LLC              P O BOX 6753                                                                                                                  SAN JUAN            PR           00914
   227598 INK SHOP CORP                P O BOX 364501                                                                                                                SAN JUAN            PR           00936‐4501
   669158 INKARRI INC                  BAHIA VISTAMAR               K 38 CALLE MARLIN                                                                                CAROLINA            PR           00983
          INLAND RETAIL PROPERTIES
   227600 TRUST IV INC                 2901 BUTTERFIELD ROAD                                                                                                         OAK BROOK           IL           60523
          INLAND RETAIL REAL ESTATE
   669159 TRUST INC                    2901 BUTTERFIELD ROAD                                                                                                         OAK BROOK           IL           60523
   227601 INLINGUA INTERNATIONAL       AVE GONZALEZ GUISTI 22                                                                                                        GUAYNABO            PR           00968
   669161 INMA MARTINEZ DE JESUS       P O BOX 6400                 P M B 408                                                                                        CAYEY               PR           00737
   669162 INMAC CORP                   26 EMMA ST AMELIA            INDUSTRIAL PARK                                                                                  GUAYNABO            PR           00968‐8007
   227602 INMARIE MUNOZ ROVIRA         HECIENDA BORINQUEN 1234      CALLE REINA DE LAS FLORES                                                                        CAGUAS              PR           00725
   227605 INMEDIATA HEALTH GROUP       342 CALLE SAN LUIS           EDIF. NEW PORT 4 SUITE 203                                                                       SAN JUAN            PR           00920
   227609 INMEDIATA HEALTH INC         342 CALLE SAN LUIS           EDIF NEW POR IV STE 203                                                                          SAN JUAN            PR           00920



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          INMIGRANTES UNIDOS PARA UN
   227610 MUNDO MEJOR                BO CAPETILLO                                  215 CALLE 7                                                               SAN JUAN            PR           00925

   227611 INMOBILARIA MONTEMAR INC                    PO BOX 192153                                                                                          SAN JUAN            PR           00919‐2153
   227612 INMOBILARIA MONTEMAR SE                     DYNAMIC SOLAR SOLUTIONS      PO BOX 192153                                                             SAN JUAN            PR           00919‐2153
   227613 INMOBILIA V                                 P. O. BOX 194000 PMB 383                                                                               SAN JUAN            PR           00918
          INMOBILIARIA 1254/ECO
   227614 DESARROLLO ENERGIA                          PUERTO NUEVO                 1254 AVE F D ROOSEVELT                                                    SAN JUAN            PR           00920

   227615 INMOBILIARIA ANAVERO CORP                   PO BOX 192938                                                                                          SAN JUAN            PR           00919
   669163 INMOBILIARIA BEAUGA INC                     2 CALLE SAN JUAN                                                                                       RIO GRANDE          PR           00745‐3013
          INMOBILIARIA BLANCO OLALLA
   227616 INC                                         LUCHETTI 1352                APT PH 1                                                                  SAN JUAN            PR           00907
   669164 INMOBILIARIA CARAZO INC                     PO BOX 2259                                                                                            GUAYNABO            PR           00970
   669165 INMOBILIARIA CHABEMIL                       P O BOX 474                                                                                            TRUJILLO ALTO       PR           00977‐0474
  1420064 INMOBILIARIA CHAMBEMIL SE                   JOSÉ L. HIDALGO IRRIZARRY    PO BOX 19079                                                              SAN JUAN            PR           00910‐1079
   227619 INMOBILIARIA DEL TORITO SE                  P O BOX 6400                                                                                           CAYEY               PR           00737

   669166 INMOBILIARIA JRM                            MIMOSA 104 URB SANTA MARIA                                                                             SAN JUAN            PR           00927‐6239

   669167 INMOBILIARIA LA TRINIDAD INC                PO BOX 2255                                                                                            GUAYNABO            PR           00970‐2255
          INMOBILIARIA LOPEZ BERRIOS
   227620 INC                                         NOREEN WISCOVITCH RENTAS     PMB 136 400 CALLE CALAF                                                   SAN JUAN            PR           00918
          INMOBILIARIA METROPOLITANA
   669168 S.E                                         MSC 602 89                   AVE DE DIEGO SUITE 105                                                    SAN JUAN            PR           00927‐6346
   227622 INMOBILIARIA RGA CORP                       P O BOX 190788                                                                                         SAN JUAN            PR           00919
   669170 INMOBILIARIA RIO LAJAS INC                  PO BOX 19079                                                                                           SAN JUAN            PR           00910‐1079
   227623 INMOBILIARIA ROYAL INC                      PO BOX 9710                                                                                            CIDRA               PR           00739
   227624 INMOBILIARIA SALDANA INC                    URB SAGRADO CORAZON          1790 CALLE SANTA CLARA                                                    SAN JUAN            PR           00926

   227625 INMOBILIARIA SAN ISIDRO CORP SUITE 1                                     CALLE DR CUETO 87                                                         UTUADO              PR           00641
   669171 INMOBILIARIA WITOCHE INC     PO BOX 441                                                                                                            FAJARDO             PR           00738‐0441

   227626 INMOBILIARIAS NAHOMY INC.                   AVE TROCHE URB.DELGADO S‐13                                                                            CAGUAS              PR           00725‐0000
   227628 INMOTION HOSTING, INC                       6100 CENTER DRIVE           SUITE 1190                                                                 LOS ANGELES         CA           90045
          INMOVILIARIA ASTACIO
   227630 VALIENTE                                    URB VILLAS DEL MADRIGAL      D 5 CALLE 2                                                               CAROLINA            PR           00985

   669172 INMOVILIARIA MONTALVO INC                   PO BOX 3465                                            GUAYNABO                                        GUAYNABO            PR           00970

   227631 INMUEBLES CAPARRA ASSOC LLC PO BOX 9506                                                                                                            SAN JUAN            PR           00908
                                       CALLE HIRAM GONZALEZ
   227632 INN CAPITAL HOUSING DIVISION ESQ.AVE COMERIO                                                                                                       BAYAMON             PR           00961‐0000
   227633 INN CAPITAL PARTNERS, INC.   74 (ALTOS) CALLE GEORGETTI                                                                                            RIO PIEDRAS         PR           00925
   227635 INN ON THE BLUE HORIZON      PO BOX 1556                                                                                                           VIEQUES             PR           00765

   227636 INNA DE L QUINONES SANTIAGO                 HC 1 BOX 15 500                                                                                        PENUELAS            PR           00624
   227637 INNABI KHALIL                               45 LUDLOW ST                                                                                           YONKERS             NY           10701
   669173 INNER MAGIC INC                             PO BOX 1763                                                                                            BAYAMON             PR           00960
   227638 INNER SPACE                                 PO BOX 363212                                                                                          SAN JUAN            PR           00936‐3212
   669174 INNERSPACE                                  PO BOX 363212                                                                                          SAN JUAN            PR           00936
   227641 INNKIPER                                    7 CALLE PASTORA IMPERIO                                                                                ESPANA                           28036         SPAIN




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          INNKIPER CATERING Y SERVICIOS
   227642 S L U                         7 PASTORS IMPERIO                                                                                                          MADRID                           28036         SPAIN
   227643 INNOCORP, LTD                 PO BOX 930064                                                                                                              VERONA              WI           53593‐0000
   669175 INNOVA CONSULTING             PO BOX 191505                                                                                                              SAN JUAN            PR           00919‐1505
   227644 INNOVA ENTERTAIMENT INC       URB RINCON ESPANOL                            G 3 CALLE 7                                                                  TRUJILLO ALTO       PR           00976
   669176 INNOVA INC                    PTA DE TIERRA STA                             P O BOX 9066600                                                              SAN JUAN            PR           00906‐6600
          INNOVA INDUSTRIAL
   227645 CONTRACTOR                    PO BOX 29177                                                                                                               SAN JUAN            PR           00929
          INNOVA MANAGEMENT
   227647 SOLUTIONS INC                 PMB 91                                        PO BOX 2500                                                                  TRUJILLO ALTO       PR           00977‐2500
   669178 INNOVA SOFT                   URB PERLA DEL SUR                             2951 COSTA CORAL                                                             PONCE               PR           00717‐0416
   227649 INNOVA SUPPLY INC             PO BOX 8196                                                                                                                BAYAMON             PR           00960
                                                                                      200 AVE RAFAEL CORDERO STE
   227650 INNOVA TECH CORP                            PMB 239                         140                                                                          CAGUAS              PR           00725‐3757
   227652 INNOVAACION CORP                            191 TURABO CLUSTER                                                                                           CAGUAS              PR           00727
   669179 INNOVACION TEATRAL INC                      PO BOX 1536                                                                                                  SAN GERMAN          PR           00683
          INNOVACIONES
   227653 PSICOEDUCATIVAS                             PO BOX 190910                                                                                                SAN JUAN            PR           00919‐0910
          INNOVACIONES
   227654 PSICOEDUCATIVAS INC.                        P.O. BOX 190910                                                                                              SAN JUAN            PR           00919‐0910
                                                      DANZARE 200 AVE RAFAEL
   227655 INNOVACIONES PSICOLOGICAS                   CORDERO                         SUITE 140                    PMB 103                                         CAGUAS              PR           00725

   227656 INNOVAIR PUERTO RICO CORP                   URB MARIO JULIA IND PARK           505 CALLE A STE. 3                                                        SAN JUAN            PR           00920
   227657 INNOVANET INC                               P O BOX 1290                                                                                                 CATANO              PR           00963
   227658 INNOVASYST INC                              URB TOA ALTA HEIGHTS               AB 38 CALLE 29                                                            TOA ALTA            PR           00953
                                                      Urb. Toa Alta Heights, AB 38 calle
   831769 InnovaSyst, Inc.                            29                                                                                                           Toa Alta            PR           00953
   227659 INNOVAT LLC                                 PMB 784 267                        CALLE SIERRA MORENA                                                       SAN JUAN            PR           00926‐5583
   669180 INNOVATEC GROUP INC                         PMB 2041                           PO BOX 4953                                                               CAGUAS              PR           00726‐4953
   227660 INNOVATIKS INC                              PO BOX 183                                                                                                   GURABO              PR           00778

   227663 INNOVATION COMPANY CORP                     PO BOX 559                                                                                                   COROZAL             PR           00783
          INNOVATION IN EDUCATION
   227664 CONSULTING                                  PMB 352                         405 AVE RESMERALDA STE 2                                                     GUAYNABO            PR           00969
          INNOVATION RESEARCH &
   227666 TRAINING, INC.                              5316 Highgate Dr.                                                                                            DURHAM              NC           27701‐0000
          INNOVATION SECURITY GROUP
   227667 INC                                         PO BOX 6272                     STE ONE                                                                      BAYAMON             PR           00960
          INNOVATIONS MENTAL HEATH
   227669 SERV CORP                                   P O BOX 7500                    PMB 202                                                                      CAYEY               PR           00737

   227670 INNOVATIVA CONSULTORES INC                  BOX 120                         LA CUMBRE                    CALLE E POL 497                                 SAN JUAN            PR           00926‐5636
          INNOVATIVE APPROACH TO
   669181 CONSTRUCTION INC                            403 CALLE DEL PARQUE PISO 9                                                                                  SAN JUAN            PR           00912
          INNOVATIVE CONSULTANT
   227676 ASSOCIATES INC                              INNOVATIVE                      CALLE BORI STE 212                                                           SAN JUAN            PR           00927‐6112
          INNOVATIVE CONSULTANT
   227677 ASSOCIATES, INC.                            1608 C/ BORI SUITE 212                                                                                       SAN JUAN            PR           00927

          INNOVATIVE EDUC TECHNOLOGY
   227678 ACADEMY CORP               470 AVE PONCE DE LEON                            PISO 3 SUITE A                                                               SAN JUAN            PR           00918




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          INNOVATIVE LEGAL CONSULTING
   227681 PSC                         PO BOX 29074                                                                                                                      SAN JUAN            PR           00929‐0074
          INNOVATIVE MEDICAL &
   227682 RADIOLOGY MANG.             PMB 230 CALLE 39 UU‐1                        SANTA JUANITA                                                                        BAYAMON             PR           00956
          INNOVATIVE MEDICAL
   227683 RADIOLOGY MANAGEMENT        PMB 181‐35                                   JC DE BORBON SUITE 67                                                                GUAYNABO            PR           00969
          INNOVATIVE MEDICAL
   227685 TECHNOLOGIES                EL SENORIAL MAIL STATION                     BOX 555                                                                              SAN JUAN            PR           00926
          INNOVATIVE OFFICE SOLUTIONS
   227686 CORP                        B 5 TABONUCO ST STE 216                                                                                                           GUAYNABO            PR           00968
          INNOVATIVE QUALITY
   669182 SOLUTIONS                   AVE SAN CLAUDIO 352                          PMB 368                                                                              SAN JUAN            PR           00926
          INNOVATIVE SECURITY GROUP
   227687 INC                         HC 2 BOX 12602                                                                                                                    GURABO              PR           00778
          INNOVATIVE SECURITY GROUP
   227688 LLC                         HC‐02 BOX 12602                                                                                                                   GURABO              PR           00778‐9613
   227689 INNOVATIVE SOLUTIONS INC    PMB 310                                      1353 RD 19                                                                           GUAYNABO            PR           00966‐2700
          Innovative Solutions Inc /
   831408 Adm.Servicios Generales     Pmb 310 1353 Rd19                                                                                                                 Guaynabo            PR           00966

   227690 INNOVATIVE STRATEGIC CORP                   PO BOX 189                                                                                                        GURABO              PR           00778
          INNOVATIVE STRATEGIC
   227691 CORPORATION                                 PO BOX 189                                                                                                        GURABO              PR           00778
          INNOVATIVE TECHNOLOGIES
   669183 CORP                                        URB VILLA CLEMENTINA         J 49 CAMINO ALEJANDRINO                                                              GUAYNABO            PR           00969
          INNOVATIVE TECHNOLOGY FOR
   227692 EDUCATION                                   P.O. BOX 9844                                                                                                     SAN JUAN            PR           00907
          INNOVATIVO
   227693 PSYCOEDUCATIONAL AND                        DORADO OFFICE SUITES         COSTA DE ORO              CALLE C D‐21 SUITE 105                                     DORADO              PR           00646
   669184 INO THERAPEUTICS                            PO BOX 642509                                                                                                     PITTSBURGH          PA           15264‐2509
   227699 INOA MULERO, DANIRA N                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   669185 INOCENCIA BAEZ VDA DE PEREZ                 ADM SERV GEN                 P O BOX 7428                                                                         SAN JUAN            PR           00916‐7428
   669188 INOCENCIA COLON SANTIAGO                    31 POBLADO CALVARIO                                                                                               YABUCOA             PR           00767
   227701 Inocencia Morales Arroyo                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   227702 INOCENCIA PADILLA FIGUEROA                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   669193 INOCENCIA SANTIAGO DE JESUS HC 263 BOX 3559                                                                                                                   PATILLAS            PR           00723

   669194 INOCENCIA TAVERAS LEONARDO 44 CALLE JOAQUIN VEGA                                                                                                              LAS PIEDRAS         PR           00771
   669195 INOCENCIA TORRES           PO BOX 50063                                                                                                                       SAN JUAN            PR           00902

   669196 INOCENCIA VEGA DELGADO                      URB LOMAS DE TRUJILLO ALTO   G14 CALLE 4                                                                          TRUJILLO ALTO       PR           00976

   669197 INOCENCIO ALCADA MARTINEZ                   PO BOX 1519                                                                                                       LARES               PR           00669
   227703 INOCENCIO CAMACHO                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   669198 INOCENCIO COLON PEREZ                       BO JAREALITO                 1341 CALLE F                                                                         ARECIBO             PR           00612
   669199 INOCENCIO COTTO SERRANO                     PO BOX 194762                                                                                                     SAN JUAN            PR           00919‐4762

   227704 INOCENCIO FIGUEROA MARRERO REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   227705 INOCENCIO GOMEZ SANTANA    REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          INOCENCIO GONZALEZ
   669201 GONZALEZ                                    HC 1 BOX 2076                                                                                                    JAYUYA               PR           00664
          INOCENCIO GUERRERO
   227706 DONASTORG                                   REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   669202 INOCENCIO HUERTAS ATANACIO HC 67 BOX 15406                                                                                                                   BAYAMON              PR           00956
   227707 INOCENCIO LANDRAU             REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   669203 INOCENCIO ORTIZ BARBOSA       PO BOX 512                                                                                                                     PATILLAS             PR           00723
   669204 INOCENCIO PEREZ SOTO          RR5 BOX 8762                                                                                                                   BAYAMON              PR           00956
          INOCENCIO QUINONES
   227708 GONZALEZ                      REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   227709 INOCENCIO RIOS BATISTA        REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   669205 INOCENCIO RIVERA CASTILLO     1015 CALLE LAS TORRES                                                                                                          MAYAGUEZ             PR           00682
          INOCENCIO RIVERA DBA I RIVERA
   669206 TOWING                        URB PUERTO NUEVO                             342 CALLE 21 NE                                                                   SAN JUAN             PR           00920‐2523
          INOCENCIO RODRIGUEZ
   669209 PASTRANA                      PO BOX 171                                                                                                                     BARCELONETA          PR           00617
                                        BO YAUREL SECTOR PALMAREJO
   669210 INOCENCIO SANABRIA            APT 550                                                                                                                        ARROYO               PR           00714

   227711 INOCENCIO SANTIAGO CASTRO                   REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          INOCENCIO SERRANO DBA
   227712 TRANSPORTE COQUI                            PO BOX 142065                                                                                                    ARECIBO              PR           00614

   669211 INOCENCIO VARGAS ACEVEDO                    HC 58 BOX 12272                                                                                                  AGUADA               PR           00602
   669212 INOCENSIA JUSINO TORO                       HC 04 BOX 21127                                                                                                  LAJAS                PR           00667
   669213 INOELIO DURAN SANCHEZ                       BO CUPEY BAJO SEC ANTIGUA      VIA CARR 845 KM 2 3                                                               SAN JUAN             PR           00926
   669214 INORIS FARIA MORALES                        PO BOX 1178                                                                                                      BAJADERO             PR           00616‐9712
   669216 INOS CATERING DBA                           URB SANTA ROSA                 18 CALLE 32 BLQ 57                                                                BAYAMON              PR           00959
   669217 INOSENCIO TIRADO ONEIL                      HC BOX 38127                                                                                                     CAGUAS               PR           00725
   227713 INOSTOZA ANDINO, MARISOL                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   227734 INOVA ALEXANDRIA HOSPITAL                   4320 SEMINARY RD                                                                                                 ALEXANDRIA           VA           22304
   227735 INOVA FAIRFAX HOSPITAL                      PO BOX 37019                                                                                                     BATIMORE             MD           21297‐3019
   227737 INOVA HEALTH PLEX CENTER                    6355 WALKER LANE                                                                                                 ALEXANDRIA           VA           22310
          INOVA MOUNT VERNON
   227738 HOSPITAL                                    MEDICAL RECORDS                2501 PARKERS LANE                                                                 ALEXADRIA            VA           22306
   227739 INOVATION L SERVICES INC                    PO BOX 5166                                                                                                      CAROLINA             PR           00984‐5166
          INOVATIVE CONSULTANTS                       EDIFICIO LA ELECTRONICA 1608
   227740 ASSOCIATES                                  CALLE BORI SUITE 212                                                                                             SAN JUAN             PR           00927
          INOVISION RADIATION
   669218 MEASUREMENT                                 6045 COCHRAN ROAD                                                                                                CLEVELAND            OH           44139‐3303
   227741 INPACK PLASTIC INC                          PMB 535‐200                                                                                                      CAGUAS               PR           00725
   669221 INPER CONSTRUCTION CORP                     PO BOX 1294                                                                                                      FAJARDO              PR           00738
          INPHONITE INFINITE
   227742 CONNECTIONS                                 6601 E GRANT RD                                                                                                  TUCSON               AZ           AZ85715

   669222 INPHYNET CONTRACTING SERV                   P O BOX 189047                                                                                                   PLANTATION           FL           3318 9047
          INPUT OUTPUT COMPUTER
   669223 SYSTEMS, INC                                PO BOX 1007                                                                                                      SAN JUAN             PR           00919
   669224 INPUT TECHNOLOGIES INC                      12705 CENTURY DRIVE                                                                                              ALPHARETTA           GA           30004
          INS HOGAR MARIA PROVIE
   227743 DENCIA INC.                                 HC‐06 BOX 13574                                                                                                  COROZAL              PR           00783




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          INS NACIONAL COMPL LA                       6TO PISO EDIF ASOC DE    452 AVE PONCE DE LEON OFIC
   227744 EXCELENCIA (INCED)                          MAESTROS                 609                                                                            SAN JUAN            PR           00918‐3490
   669225 INSECO INDUSTRIAL SYSTEM                    P.O. BOX 361598                                                                                         SAN JUAN            PR           00936‐5980

   227751 INSERTADORES ASOCIADOS INC                  P O BOX 7212                                                                                            SAN JUAN            PR           00906‐7512
   669227 INSIGHT COMMUNICATIONS                      PO BOX 194000            SUITE 145                                                                      SAN JUAN            PR           00919‐4000

   669228 INSIGHT COMMUNICATIONS INC                  PMB 136                  130 AVE WINSTON CHURCHILL                                                      SAN JUAN            PR           00926‐6018
   227752 INSIGHT LEGAL LLC                           252 AVE PONCE DE LEON    STE 1200                                                                       SAN JUAN            PR           00918
   227755 INSIGHT PHYSICIANS                          MEDICAL RECORDS          7101 JAHNKE ROAD                                                               RICHMOND            VA           23225
          INSIGHT RADIOLOGY PUERTO
   227756 RICO                                        PO BOX 1633                                                                                             CANOVANAS           PR           00729
   669229 INSIGHTFUL CORPORATION                      1700 WESTLAKE AVENUE W   SUITE 500                                                                      SEATTLE             WA           98109
   227757 INSITUCION CASA DEL REY                     PO BOX 209                                                                                              COROZAL             PR           00783

          INSITUTO MULTIDISCIPLINARIO
   227758 SALUD MENTAL                                9238 COM. SERRANO                                                                                       JUANA DIAZ          PR           00795
   669230 INSP WILLIAM ECHEVARRIA                     URB SANTA TERESITA       BL 49 CALLE F                                                                  PONCE               PR           00731

   227759 INSPECTIONS IN ACTION                       EDIF MIDTOWN             420 AVE PONCE DE LEON STE 606                                                  SAN JUAN            PR           00918

   227760 INSPECTORATE AMERICA CORP                   FIRM DELIVERY            CARR 127 KM 19.1                                                               PENUELAS            PR           00624
          INSPIRA BEHAVORIAL CARE
   227762 CORP.                                       P.O. BOX 367221                                                                                         SAN JUAN            PR           00936‐7221
          INSPIRA Mental Health
   831409 Management                                  P O Box 367221                                                                                          San Juan            PR           00936
          INSPIRA MENTAL HEALTH
   227765 MANAGEMENT INC                              PO BOX 9809                                                                                             CAGUAS              PR           00726‐9809

   669231 INSPIRA PSYCHIATRIC SERVICES P O BOX 367221                                                                                                         SAN JUAN            PR           00936‐7221
   227767 INSRIS‐PR LLC                  419 SOUTH 2ND STREET                  SUITE 206 NEW MARKET                                                           PHILADELPHIA        PA           19147
          INST ADIEST EMPLEO Y VIDA
   669232 INDEPENDIENTE                  VISTA BELLA                           P47 CALLE RENO                                                                 BAYAMON             PR           00956
          INST AGUADILLANO DE LAS
   669233 ARTES Y CIENCIAS               BOX 871                                                                                                              AGUADILLA           PR           00605
          INST DE AUDICION Y BALANCE                                           1681 PASEO VILLA FLORES STE
   227770 JEAMILETTE ONEILL              LORRAINE MEDICAL BUILDING             206                                                                            PONCE               PR           00716
          INST DE CIENCIAS PARA LA
   227771 CONSERVACION PR                BO CARRAIZO                           21 HACIENDA DEL LAGO                                                           SAN JUAN            PR           00926
          INST DE DISENO CARLOTA
   227772 ALFARO                         1750 CALLE LOIZA                                                                                                     SAN JUAN            PR           00911
          INST DE DISENO Y MODA
   227773 CARLOTA ALFARO                 1750 CALLE LOIZA                                                                                                     SAN JUAN            PR           00911
          INST DE ENVEJECIENTES JESUS
   669234 DE NAZARET                     PO BOX 502                                                                                                           COTTO LAUREL        PR           00780
          INST DE ESTUDIOS HIST JUAN A
   669235 ARIZMENDI                      PO BOX 1968                                                                                                          BAYAMON             PR           00960
          INST DE METROLOGIA Y
   669236 TRANSPLANTE C SP               P O BOX 362348                                                                                                       SAN JUAN            PR           00936‐2348
          INST DE RADIOLOGIA
   227774 DIAGNOSTICA INVASIVA           PO BOX 127                                                                                                           BAYAMON             PR           00959
          INST DE SERVICIOS EDUC Y PSICO                                       958 CALLE EIDER URB COUNTRY
   227775 DE PR INC                      3RA EXT COUNTRY CLUB                  CLUB                                                                           SAN JUAN            PR           00924



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          INST DEL HOGAR CELIA Y HARRIS
   669237 BUNKER INC                    PO BOX 20155                                                                                                          SAN JUAN            PR           00928‐0155

   669240 INST DERMOESTETICO CASMARA 38 CALLE RODULFO GONZALEZ                                                                                                ADJUNTAS            PR           00601

   669242 INST DESARROLLO HUMANO INC 242 AVE FRANKLIN D ROOSEVELT                                                                                             SAN JUAN            PR           00919
          INST DON GERMAN CARABALLO
   227779 MOJICA INC                    HC 9 BOX 5948                                                                                                         SABANA GRANDE       PR           00637
          INST EDUC CONTINUADA COL
   669243 TRAB SOCIAL PR                P O BOX 30382                                                                                                         SAN JUAN            PR           00929 0382
          INST ESP DES INTEGRAL INDV
   227780 FAM COM INC                   COND MUNDO FELIZ          SUITE 1802                                  ISLA VERDE                                      CAROLINA            PR           00979
          INST ESP PARA EL DES INTEGRAL
   669244 MARICAO                       PO BOX 846                                                                                                            MARICAO             PR           00606
          INST ESP PARA EL DESARROLLO
   669245 INTEGRAL                      BO ESPERANZA              ESQ D CALLE 4                                                                               GUANICA             PR           00653
          INST ESP PARA EL DESARROYO
   669247 INTEGRAL                      P O BOX 1241                                                                                                          YAUCO               PR           00698‐1241
          INST FOR THE TECHNICAL & OCC
   227784 C                             PO BOX 8681                                                                                                           SAN JUAN            PR           00910

   227785 INST HOGAR DELIA MARIA INC    RR‐11 BOX4101                                                                                                         BAYAMON             PR           00956
          INST INTERDISCIPLINARIO EN
   227787 AVANCE INC                    P.O. BOX 1278                                                                                                         SAN LORENZO         PR           00754
          INST INTERNACIONAL PARA LAS
   227789 CIENCIAS                      PO BOX 6 7500                                                                                                         ENSCHEDE            NE           008071
   669248 INST INVEST Y ESTUDIO DE SJ   PARKVILLE                                 N 7 CALLE WILSON                                                            GUAYNABO            PR           00969
          INST LABORAL TECNICO Y
   227790 OCUPACIONAL PRINC             P O BOX 3652                                                                                                          CAROLINA            PR           00984
          INST LATINOAMERICANO EDUC
   227791 PARA DESARROLL                AREA DEL TESORO                           DIVISION DE RECLAMACIONES                                                   SAN JUAN            PR           00902‐4140
          INST MODELO DE ENSENANZA
   227793 INDIVIDUALIZADA               211 CALLE ARIZMENDI                                                                                                   SAN JUAN            PR           00925
          INST NAC COMPL EXCELENCIA EN
   227794 LA DOCENCIA                   452 AVE. PONCE DE LEON                    EDIF. AMPR SUITE #508                                                       SAN JUAN            PR           00918
          INST OF ELECTRIC & ELECTRONIC
   669250 ENGINEERS                     P O BOX 363443                                                                                                        SAN JUAN            PR           00936‐3443
          INST OF MASSAGE &
   669251 THERAPEUTIC HEALING PR        PO BOX 1127                                                                                                           FAJARDO             PR           00738
          INST PARA LA SOLUCION DE
   227796 CONFLICTOS INC                505 MUÐOZ RIVERA                                                                                                      SAN JUAN            PR           00918
          INST PRE VOCACIONAL E
   227800 INDUSTRIAL DE PR              PO BOX 9024275                                                                                                        SAN JUAN            PR           00902‐4275
   227801 INST PSI COPEDAGOGICO DE      PO BOX 363744                                                                                                         SAN JUAN            PR           00936
          INST VOCACIONAL ACADEMIA
   669252 DEL NORTE                     B 4 URB CABRERA                                                                                                       UTUADO              PR           00641
          INST. CARDIOVASCULAR NO‐
   669253 INVASIVO                      P O BOX 364367                                                                                                        SAN JUAN            PR           00936

   669254 INST. DE LEGISLACION LABORAL                PO BOX 366785                                                                                           SAN JUAN            PR           00936
                                                      CIUDAD CENTRO C/GUARIONEX
   227802 INST. DE REHABILTA DE P.R.                  134                                                                                                     CAROLINA            PR           00987




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   227803 INST. DESARROLLO Y EXCELENCIA AVE. PALMER 51                 ESQUINA BLANCO SOSA                                                       CANOVANAS            PR           00729
   227804 INST. EDUC. TECN. INC         ALT DE RIO GRANDE              N 678 CALLE MAIN                                                          RIO GRANDE           PR           00745
          INST. FOR EFFECTIVE
   669255 MANAGEMENT                    242 FRANKLIN ROOSEVELT         PENTHOUSE 4TO PISO                                                        HATO REY             PR           00919
          INST. MODELO ENSENANZA
   227806 INDIVIDUALIZADA               ARIZMENDI #211‐213                                                                                       SAN JUAN             PR           00925
          INST. MULTIDISCIPLINARIO DE
   227808 SALUD MENTAL                  9238 COM. SERRANO                                                                                        JUANA DIAZ           PR           00795
          INST. MULTIDISCIPLINARIO DE
   227809 SALUD METAL                   9238 COM SERRANO                                                                                         JUANA DIAZ           PR           00795

   227810 INST. PSICOTERAPEUTICODE P.R. P.O. BOX 367221                                                                                          SAN JUAN             PR           00936‐7221
          INST. RADIOLOGICO PLAZA LAS
   669256 AMERICAS                      TORRE PLAZA LAS AMERICAS       SUITE 403                                                                 SAN JUAN             PR           00918
          INST.EVALUACION Y
   669257 DESARROLLO                    PO BOX 120                                                                                               CAYEY                PR           00737
          INSTALACION EN GENERAL DE
   669258 INTERIORES                    LOMAS VERDES                   2K 38 GIRASOL                                                             BAYAMON              PR           00956
   227813 INSTANT PRINT                 276 JESUS T. PINEIRO                                                                                     SAN JUAN             PR           00919‐0540
   227814 INSTANT PRINT CORP            AREA DE TESORO                 DIVISION DE CONCILIACION                                                  SAN JUAN             PR           00902‐4140
   831410 Instant Print Corp.           PO Box 190540                                                                                            San Juan             PR           00919
          INSTANT SUPPLIES
   227819 DISTRIBUTORS INC              69 CALLE FLOR DE LLUVIA                                                                                  CANOVANAS            PR           00729
   669259 INSTANTEL                     309 LEGGET DR                  KANATA ONTARIO                                                            CANADA               CA           K24343        Canada
   669260 INSTANTEL INC                 309 LEGGET DRIVE                                                                                         OTTAWA ON                         K2K 3A3       Canada
   669261 INSTHMOS INC                  353 FERNANDO CALDER            ESQ AVE FD ROOSEVELT                                                      SAN JUAN             PR           00918‐2329
   669262 INSTI‐CALL CELULAR PHONES     PO BOX 363147                                                                                            SAN JUAN             PR           00936
   227820 INSTITUCION AMOR REAL         P.O. BOX 10730                                                                                           PONCE                PR           00732
          INSTITUCION BERIATRICA VIDA Y BO CERRO GORDO SECT LOS
   669263 ESPERANZA                     GOBEOS                         CARR 830 KM 2.9                                                           BAYAMON              PR           00956
   227821 INSTITUCION CASA DEL REY      PO BOX 209                                                                                               COROZAL              PR           00783

   227822 INSTITUCION CASA DORADA, INC. P.O BOX 721                                                                                              LAS PIEDRAS          PR           00771
                                        #16 C JOSE RAMON LAS GRANJAS
   227823 INSTITUCION CUIDADO DE AMOR BO.PUGNADO                                                                                                 VEGA BAJA            PR           00693
          INSTITUCION DE JESUS          URB.COSTA DEL SOL C/MARTES
   227824 MELENDEZ                      #50                                                                                                      RIO GRANDE           PR           00745
          INSTITUCION DON GERMAN
   227825 CARABALLO                     H‐C 09 BOX 5948                                                                                          SABANA GRANDE        PR           00637
          INSTITUCION DON GERMAN
   227826 CARABALLO I                   HC‐09 BOX 5948                                                                                           SABANA GRANDE        PR           00637
          INSTITUCION DON GERMAN
   227827 CARABALLO MOJICA              HC 09 BOX 5948                                                                                           SABANA GRANDE        PR           00637
          INSTITUCION DON GERMAN
   227828 CARABLLO                      HC‐9 BOX 5948                                                                                            SABANA GRANDE        PR           00637
          INSTITUCION EDUCATIVA NETS
   227829 INC                           P O BOX 1499                                                                                             BAYAMON              PR           00960‐1499
          INSTITUCION GENATRICA VIDA Y                               SECTOR LOS GOVEO CARR 830
   669266 ESPERANZA                     BO CERRO GORDO               KM 2 9                                                                      BAYAMON              PR           00956
          INSTITUCION HOGAR YIREL       CALLE A OESTE F 23 CIUDAD
   227834 BETANCOURT INC.               UNIVERSITARIA                                                                                            TRUJILLO ALTO        PR           00976‐0000




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          INSTITUCION JOVENES DEL
   227835 PASADO INC                                  CALLE 25 3C‐14 LA PROVIDENCIA                                                                              TOA ALTA            PR           00953
   669267 INSTITUCION LA CARIDAD                      PO BOX 9024275                                                                                             SAN JUAN            PR           00902‐4275
          INSTITUCION LA CASA DEL
   669268 ABUELO                                      P O BOX 1094                                                                                               LAS PIEDRAS         PR           00771
          INSTITUCION LA FUENTE DE
   227836 SILOE                                       SUITE 343 P O BOX 4952                                                                                     CAGUAS              PR           00726
   227837 INSTITUCION LORENZANO                       APARTADO 1903                                                                                              RIO GRANDE          PR           00745‐0000

   227838 INSTITUCION LOS REYES INC. A                P. O. BOX 800091                                                                                           COTO LAUREL         PR           00780

   669269 INSTITUCION NINOS ANDRES INC PO BOX 6467                                                                                                               BAYAMON             PR           00960
          INSTITUCION ORTIZ MEDICAL
   227839 INC.                         P. O. BOX 209                                                                                                             COROZAL             PR           00783
          INSTITUCION REGIONAL HOME
   227840 CARE                         HC 67 BOX 13004                                                                                                           BAYAMON             PR           00956
          INSTITUCION ROSALES DEL
   227841 CARMEN INC.                  HC 08 BOX 65137                                                                                                           ARECIBO             PR           00612
   669270 INSTITUCION SAMPAYO INC      ALTURAS DE RIO GRANDE                          M 596 CALEL 10 B                                                           RIO GRANDE          PR           00745
   669271 INSTITUCION VALLE DORADO     BO HIJUILLAR                                   CARR 693 KM 1                                                              DORADO              PR           00646
          INSTITUCIONES CASA DEL REY
   227842 INC                          PO BOX 209                                                                                                                COROZAL             PR           00783
          INSTITUTE ADVANCED
   227844 TECHNOLOGY                   PO BOX 193316                                                                                                             SAN JUAN            PR           00919
   227845 INSTITUTE FOR IND GROUP      AREA DEL TESORO                                DIVISION DE RECLAMACIONES                                                  SAN JUAN            PR           00902‐4140
          INSTITUTE FOR INDIVIDUAL
   227848 GROUP AND                    AREA DEL TESORO                                DIVISION DE RECLAMACIONES                                                  SAN JUAN            PR           00902‐4140

          INSTITUTE FOR
   669272 INTERGOVERMENTAL RESEARCH POST OFFICE BOX 12729                                                                                                        TALLAHASSEE         FL           32317
          INSTITUTE FOR LOCAL SELF
   227851 RELIANCE                  927 15 TH ST. NW 4 TH FLOOR                                                                                                  WASHINGTON          WA           20005

   227852 INSTITUTE INTERNAL AUDITORS                 1650 BLUEGRASS LAKES PKWY                                                                                  ALPHARETTA          GA           30004‐7714

   669273 INSTITUTE OF BEAUTY CAREERS                 P O BOX 809                                                                                                ARECIBO             PR           00613
          INSTITUTE OF BEAUTY
   227854 OCCUPATION AND TECH                         500 CALLE CONCEPCION VERA                                                                                  MOCA                PR           00676
          INSTITUTE OF INTERNAL
   669274 AUDITORS                                    1650 BLUEGRASS LAKE PKWY                                                                                   ALPHARETTA          GA           30004‐7714
          INSTITUTE OF INTERNATIONAL
   669275 RESEARCH                                    PO BOX 3685                                                                                                BOSTON              MA           02241‐3685
          INSTITUTE OF MANAGEMENT
   669277 ACCOUNTS INC                                PO BOX 16808                                                                                               NEWARK              NJ           07106808
          INSTITUTE OF PULMONARY
   227855 DISEASES                                    PO BOX 518                                                                                                 MERCEDITA           PR           00715‐0518
          INSTITUTE PERSONALITY
   227857 ABILITYTESTING INC                          1220 N HOYNE AVENUE                                                                                        CHICAGO             IL           60622
   669278 INSTITUTIONAL BUILDERS S E                  PO BOX 367249                                                                                              SANTURCE            PR           00908
   669279 INSTITUTIONAL INVESTOR                      BOX 5722 GPD                                                                                               NEW YORK            NY           10087‐5722
          INSTITUTO APRENDIZAJE INVE
   227862 JUR                                         URB DELGADO O‐13                                                                                           CAGUAS              PR           00625




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          INSTITUTO ARCO IRIS/ LUCY M.
   227863 CALEN ROJAS                                 BOX 707                                                                                                         COROZAL             PR           00783‐0000
          INSTITUTO AUDIOLOGIA
   227865 DOCTORAL                                    HC BOX 5214                                                                                                     CANOVANAS           PR           00729
          INSTITUTO AUDIOLOGICO
   669280 PEDIATRICO                                  P O BOX 362707                                                                                                  SAN JUAN            PR           00936 2707
          INSTITUTO AUDITORES
   227866 INTERNOS                                    PO BOX 195008                                                                                                   SAN JUAN            PR           00919‐5008
          INSTITUTO AUDITORES
   227867 INTERNOS CAPITULO PR                        P.O. BOX 195008                                                                                                 SAN JUAN            PR           00919‐5008
          INSTITUTO AUDITORES
          INTERNOS REPUBLICA
   227868 DOMINICANA                                  CONDOMINIO PLAZA NACO       LOCAL 14, AV TIRADENTES          E                                                  SANTO DOMINGO                                  DOMINICAN REPUBLIC
          INSTITUTO BIBLICO SHEMA
   227869 ISRAEL DE PR.                               P.O.BOX 6145                                                                                                    SAN JUAN            PR           00914‐0000
   227870 INSTITUTO CANI                              133 CALLE DR GONZALEZ                                                                                           ISABELA             PR           00662

          INSTITUTO CARDIOPULMONAR
   227871 SAN PABLO                                   TORRE SAN PABLO STE 601                                                                                         BAYAMON             PR           00961
   227872 INSTITUTO CARDIOVASCULAR                    PO BOX 20052                                                                                                    SAN JUAN            PR           00928
          INSTITUTO CARDIOVASCULAR
   227873 CAROLINA                                    VILLA FONTANA               4 AS 1 VIA LETICIA AVE FRAGOSO                                                      CAROLINA            PR           00987
          INSTITUTO CARDIOVASCULAR
   227875 SAN FRANCISCO                               PMB 444                     PO BOX 70344                                                                        SAN JUAN            PR           00936
          INSTITUTO CARDIOVASCULAR
   227876 SAN PABLO                                   SANTA ROSA UNIT             PO BOX 6480                                                                         BAYAMON             PR           00960
          INSTITUTO CENTRAL DE
   669281 DIAGNOSTICO INC.                            PO BOX 364443                                                                                                   SAN JUAN            PR           00936
          INSTITUTO CHAVIANO DE
   669282 MAYAGUEZ                                    CALLE RAMOS ANTONINI        116 ESTE                                                                            MAYAGUEZ            PR           00680
          Instituto Comercial de Puerto
   227878 Rico ICPR                                   PO Box 190304 San Juan                                                                                          San Juan            PR           00919‐0304
          INSTITUTO CONTRIBUCIONES DE
   669283 PR                                          PO BOX 364343                                                                                                   SAN JUAN            PR           00936
          INSTITUTO COSTARRICENSE DE
   669284 ELECTRICIDAD                                APARTADO POSTAL 100 32 1000                                                                                     SAN JOSE                                       COSTA RICA
   669285 INSTITUTO DE ARBITROS                       FERNANDEZ JUNCOS STA        P O BOX 8476                                                                        SAN JUAN            PR           00910
          INSTITUTO DE ARTES MARINAS
   227879 INC                                         PMB 2135                    PO BOX 4956                                                                         CAGUAS              PR           00726‐4956
          INSTITUTO DE AUDIOLOGIA
   669287 AVANZADA                                    PO BOX 9024275                                                                                                  SAN JUAN            PR           00902‐4275
          INSTITUTO DE AUDIOLOGIA DE
   227880 GUAYAMA                                     PO BOX 817                                                                                                      ARROYO              PR           00714
          INSTITUTO DE AUDITORES
   227881 INTERNO                                     PO BOX 195008                                                                                                   SAN JUAN            PR           00919‐5008
          INSTITUTO DE AUDITORES
   227882 INTERNO CAP DE PR                           PO BOX 1166                                                                                                     SAN JUAN            PR           00919‐5008
          INSTITUTO DE AUDITORES
   227884 INTERNOS CAP PR                             PO BOX 195008                                                                                                   SAN JUAN            PR           00919‐5008
          INSTITUTO DE AUDITORES
   227885 INTERNOS CAPITULO                           AREA DEL TESORO             DIVISION DE RECLAMACIONES                                                           SAN JUAN            PR           00902‐4140
   227888 Instituto de Banca y Comercio               #56 ROAD 20                                                                                                     GUAYNABO            PR           00966




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          INSTITUTO DE BANCA Y
   227909 COMERCIO DE PR                              PO BOX 7623                                                                                                             PONCE               PR           00732
          INSTITUTO DE CIENCIAS
   227910 FORENCES DE P.R.                            11878 CAPARRA HIGH STATION                                                                                              SAN JUAN            PR           00922

   227911 INSTITUTO DE CIENCIAS FORENSE P.O. BOX 11878                                                                                                                        SAN JUAN            PR           00922‐1878
          INSTITUTO DE CIENCIAS
   227912 FORENSES                      PO BOX 11878                                                                                                                          SAN JUAN            PR           00922‐1878
          INSTITUTO DE CIENCIAS                                                    PMB‐133 1353 AVE. LUIS
  1420065 FORENSES                      YARLENE JIMENEZ ROSARIO                    VIGOREAUZ                                                                                  GUAYNABO            PR           00966‐2700
          INSTITUTO DE CONSULTA Y
   227916 ADIESTRAMIENTO                PO BOX 9009                                                                                                                           PONCE               PR           00732‐9009
          INSTITUTO DE CULTURA
   227920 PUERTORRIQUENA                P.O. BOX 9024184                                                                                                                      SAN JUAN            PR           00902‐4184
          INSTITUTO DE DESARROLLO
   227922 PROFESIONAL                   757 CALLE BOLIVAR                                                                                                                     SAN JUAN            PR           00909
          INSTITUTO DE DIAGNOSTICO
   669289 VASCULAR INC                  P O BOX 3483 MARINA STATION                                                                                                           MAYAGUEZ            PR           00681
          INSTITUTO DE EDUCACION
   669290 EMPRESARIAL                   PO BOX 364025                                                                                                                         SAN JUAN            PR           00936‐4025
          INSTITUTO DE EDUCACION
   227923 PROFESIONAL                   VILLA NEVARES 326 CALLE 32                                                                                                            SAN JUAN            PR           00927
          INSTITUTO DE EDUCACION
   227924 SUPERIOR                      AREA DEL TESORO                            DIVISION DE RECLAMACIONES                                                                  SAN JUAN            PR           00902‐4140
          INSTITUTO DE EDUCACION
   227926 TECNOLOGICA INC               ALT DE RIO GRANDE                          N 678 CALLE MAIN                                                                           RIO GRANDE          PR           00745
          INSTITUTO DE EDUCACION
   227927 TECNOLOGICA INC.              27 CALLE PIMENTEL                                                                                                                     RIO GRANDE          PR           00745
          INSTITUTO DE EDUCACION
   669291 VOCACIONAL                    10 CALLE COMERCIO                          ESQUINA BETANCES                                                                           MOROVIS             PR           00687
          INSTITUTO DE EDUCACION Y
   227928 ADIESTRAMIENTO                PO BOX 13033                                                                                                                          SAN JUAN            PR           00908
          INSTITUTO DE EDUCACION Y
   227929 TECNOLOGIA, INC               ARZUAGA 112 MEDINA CENTER                  SUITE 1104                                                                                 SAN JUAN            PR           00925
          INSTITUTO DE EMERGENCIAS
   669293 MEDICAS                       URB LA CUMBRE                              505 CALLE ROOSEVET                                                                         SAN JUAN            PR           00926
          INSTITUTO DE ENDOSCOPIA
   227931 DIGESTIVA                     PO BOX 8938                                                                                                                           CAGUAS              PR           00726
          INSTITUTO DE ENDOSCOPIA
   669295 DIGESTIVA DEL SU              STA MARIA MEDICAL BLDG                     450 FERROCARRIL SUITE 216                                                                  PONCE               PR           00717‐1105
          INSTITUTO DE ENDOSCOPIA       SANTA MARIA MEDICAL
   227932 DIGESTIVA DEL SUR             BUILDING                                   450 CALLE FERROCARRIL STE 216                                                              PONCE               PR           00717‐1105
          INSTITUTO DE ESTADISTICAS DE
   227934 PUERTO RICO                   CALLE QUISQUEYA #57                        2DO PISO                                                                                   SAN JUAN            PR           00917
          INSTITUTO DE ESTETICA Y
   669296 BELLEZA MARUGIE               183 CALLE DR VEVE                                                                                                                     BAYAMON             PR           00956
          INSTITUTO DE ESTUDIOS
   669297 FISCALES                      EDIFICIO B 378 28035                       AVE CARDENAL HERRERA ORIA                                                                  MADRID                                         SPAIN
          INSTITUTO DE ESTUDIOS
  1256569 LABORALES                     REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          INSTITUTO DE EVALUADORES DE
   227935 P R                           PO BOX 13426                                                                                                                          SAN JUAN            PR           00908‐3426




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          INSTITUTO DE FISIATRIA Y
   227936 MEDICINA DEPORTIVA                          PO BOX 1933                                                                                                              JUNCOS              PR           00777‐1933
          INSTITUTO DE FORMACION
   227937 LITERARIA                                   EXTENSION VILLA RICA          CALLE 5 AK‐1                                                                               BAYAMON             PR           00959
          INSTITUTO DE
   669298 GASTROENTEROLOGIA DE P R                    206 CLINICA LAS AMERICAS      400 AVE FD ROOSEVELT                                                                       SAN JUAN            PR           00918

          INSTITUTO DE                                SANTA MARIA MEDICAL
   227939 GASTROENTEROLOGIA DEL SUR                   BUILDING                      450 CALLE FERROCARRIL STE 210                                                              PONCE               PR           00717‐1105
          INSTITUTO DE INGENIEROS
   227940 ELECTRICISTAS                               PO BOX 363845                                                                                                            SAN JUAN            PR           00936‐3845
          INSTITUTO DE INVESTIGACION
   227941 CIVIL                                       CALLE TRINIDAD PISO 3 3413                                                                                               HATO REY            PR           00917
          INSTITUTO DE INVESTIGACION
   227942 CIVIL & CRIMI                               CALLE TRINIDAD PISO 3 #3413                                                                                              HATO REY            PR           00917
          INSTITUTO DE INVESTIGACION                  Y SATISFACCION DE PUERTO
   227943 DE CALIDAD                                  RICO                          P O BOX BOX 29607                                                                          SAN JUAN            PR           00929‐0607

          INSTITUTO DE INVESTIGACION
   227944 DE CALIDAD Y SATISFACCI                     PO BOX 29607                                                                                                             SAN JUAN            PR           00929‐0607

          INSTITUTO DE INVESTIGACION Y
   227945 DESARROLLO                                  P O BOX 361094                                                                                                           SAN JUAN            PR           00936‐1094
          INSTITUTO DE LA                             BORINQUEN GARDENS AZALEA
   227947 PRODUCTIVIDAD                               BB‐8                                                                                                                     SAN JUAN            PR           00926
          INSTITUTO DE MEDICINA DE                    29 CALLE TOMAS CARRION
   669299 FAMILIA                                     MADURO                                                                                                                   JUANA DIAZ          PR           00795
          INSTITUTO DE MEDICINA
   227949 FAMILIAR                                    1484 PASEO FAGOT                                                                                                         PONCE               PR           00716
          INSTITUTO DE MEDICINA
   669300 NUCLEAR                                     P O BOX 364367                                                                                                           SAN JUAN            PR           00936‐4367
          INSTITUTO DE MEDICINA
   227950 PREVENTIVA                                  35 CALLE ANGEL G MARTINEZ                                                                                                SABANA GRANDE       PR           00637
          INSTITUTO DE NUEVOS
   669301 NEGOCIOS                                    PO BOX 70130                                                                                                             SAN JUAN            PR           00936‐8130
          INSTITUTO DE OJOS Y CIRUGIA
   227951 PLASTICA LLP                                LUIS A RIVERA RODRIGUEZ       PO BOX 3241                                                                                MAYAGUEZ            PR           00681‐3241

   669302 INSTITUTO DE OJOS Y PIEL INC                PO BOX 190990                                                                                                            SAN JUAN            PR           00919‐0990
          INSTITUTO DE ORIENTACION Y
   227952 ACCESO LEGAL                                PO BOX 367386                                                                                                            SAN JUAN            PR           00936‐7386
          INSTITUTO DE ORIENTACION Y
   227953 TERAPIA FAM                                 PO BOX 861                                                                                                               CAGUAS              PR           00726
          INSTITUTO DE ORIENTACION Y
  1256570 TERAPIA FAMILIAR, INC.                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          INSTITUTO DE PATOLOGIA DEL
   669303 SUR                                         P O BOX 10729                                                                                                            PONCE               PR           00732
          INSTITUTO DE PSICOLOGIA Y
   227954 SERVICIOS INTEGRALES                        HC 74 BOX 6700                                                                                                           CAYEY               PR           00736‐9533
          INSTITUTO DE PSIQUIATRIA DE
   669304 PR                                          PO BOX 363741                                                                                                            SAN JUAN            PR           00936
          INSTITUTO DE REHABILITACION
   227955 DEL CARIBE                                  PO BOX 363792                                                                                                            SAN JUAN            PR           00936



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   227956 INSTITUTO DE SALUD INTEGRAL                 2604 BULEVAR LUIS A FERRER                                                                              PONCE                PR           00717‐2107
   227957 INSTITUTO DE SERVICIOS ISPO                 PMB 1179 P O BOX 4956                                                                                   CAGUAS               PR           00726
   227958 INSTITUTO DE TERAPIA FISICA                 COND EL CENTRO II STE 33C    500 AVE MUÑOZ RIVERA                                                       SAN JUAN             PR           00918
          INSTITUTO DE TERAPIA FISICA
   227959 VEGA ALTA                                   PO BOX 4375                                                                                             VEGA BAJA            PR           00694
          INSTITUTO DE TERAPIA                        INC. BO. LOMAS
   227960 LENGUAJE                                    VALLESCARR.164               KM.11.0HC 71 BOX 2829                                                      NARANJITO            PR           00719
   227961 INSTITUTO DEL HOGAR                         PO BOX 20155                                                                                            SAN JUAN             PR           00928‐0155
   669305 INSTITUTO DEL PACIFICO                      PO BOX 84208                                                                                            SEATLE               WA           98124
          INSTITUTO DESARROLLO DEL                    CALLE CARMEN HDZ 941 EL
   227962 NINO                                        COMANDANTE                                                                                              SAN JUAN             PR           00924
          INSTITUTO DIDACTICO DEL
   227965 LENGUAJE INC                                P O BOX 190813                                                                                          SAN JUAN             PR           00919‐0813
          INSTITUTO EDUC TEN
   227966 OCUPACIONAL LA REINE                        P O BOX 988                                                                                             MANATI               PR           00674
          INSTITUTO EDUCACION
   227967 CONTINUA                                    PO BOX 9021900                                                                                          SAN JUAN             PR           00902
          INSTITUTO EDUCACION
   227968 PRACTICA                                    COLEGIO DE ABOGADOS DE P.R. P O BOX 9021900                                                             SAN JUAN             PR           00902‐1900
          INSTITUTO EDUCACIÓN
   227969 SUPERIOR                                    PO BOX 195558                                                                                           SAN JUAN             PR           00919‐5558
          INSTITUTO EDUCATIVO DE
   227970 EMERGENCIAS                                 PO BOX 372575                                                                                           CAYEY                PR           00737‐2575

   669307 INSTITUTO EDUCATIVO PREMIER 15 CALLE ISABEL                                                                                                         PONCE                PR           00731
          INSTITUTO ENDOSCOPIA
   227973 DIGESTIVA                   PO BOX 8938                                                                                                             CAGUAS               PR           00726

   227975 INSTITUTO ESTUDIOS LABORALES P O BOX 11661                                                                                                          SAN JUAN             PR           00922‐1161
          INSTITUTO ESTUDIOS LABORALES
   227976 DE PR INC                      RES SABANA                                H 24 CALLE MEJICO                                                          SABANA GRANDE        PR           00637
          INSTITUTO FISIATRIA Y MEDICINA
   227977 DEPORTIVA                      PO BOX 4828                                                                                                          CAROLINA             PR           00984‐4828
          INSTITUTO FISIATRICO DE
   227978 AIBONITO                       P O BOX 197                                                                                                          LA PLATA             PR           00786
          INSTITUTO FISIATRICO DRA
   227979 PALOU                          2 CALLE MANUEL GARCIA                                                                                                LAS PIEDRAS          PR           00771
          INSTITUTO FISIATRICO
   227980 GUAYACAN                       EDIF GUAYACAN                             204 JULIO CINTRON STE 217                                                  AIBONITO             PR           00705
          INSTITUTO FOLKLORICO
   227981 PUERTORRIQUENO                 RAFAEL CEPEDA ATILES                      PO BOX 7625                                                                SAN JUAN             PR           00916
   669308 INSTITUTO FONTECHA             PUERTA DE TIERRA                          PDA 8 CALLE 3                                                              SAN JUAN             PR           00906
          INSTITUTO FORMACION
   227983 DEMOCRATICA                    GPO BOX 363069                                                                                                       SAN JUAN             PR           00936‐3069
          INSTITUTO FOTOGRAFICO Y
   669309 TECNOLOGICO                    PO BOX 9057                                                                                                          CAROLINA             PR           00988 9057
          INSTITUTO
   227984 GASTROENTEROLOGIA              400 AVE FD ROOSEVELT STE 206                                                                                         SAN JUAN             PR           00918

   669310 INSTITUTO GINECOLOGICO CORP P O BOX 191779                                                                                                          SAN JUAN             PR           00919‐1779
          INSTITUTO INGENIERIA TECNICO
   669311 VOCACIONAL                   163 RAMEY CALLE C                                                                                                      AGUADILLA            PR           00603



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          INSTITUTO INT CONTRA
   669312 INCENDIOS                                   PO BOX 3047                                                                                           CAROLINA            PR           00984
          INSTITUTO INTERAMERICANO
   227985 DEL OJO                                     ESCUELA DE OPTOMETRIA     PO BOX 191049                                                               SAN JUAN            PR           00919‐1049
          INSTITUTO INTERMARICANO DE
   227987 DERECHOS                                    PO BOX 10081‐1000                                                                                     SAN JOSE                         01000         COSTA RICA
          INSTITUTO INTERNACIONAL
   227988 CONTRA INCENDIOS                            P. O. BOX 3047                                                                                        CAROLINA            PR           00985‐0000
          INSTITUTO INTERNACIONAL DE
   227989 COACHING                                    PMB 334                   PO BOX 7891                                                                 GUAYNABO            PR           00970‐7891
          INSTITUTO INTERNACIONAL
   669313 EUSKALDUNA                                  PO BOX 195545                                                                                         SAN JUAN            PR           00919‐5545
          INSTITUTO INTERNACIONAL
   227990 PARA PERSONAS                               CON IMPEDIMENTO DE PR     229 CALLE DUARTE STE 5A                                                     SAN JUAN            PR           00917
   669314 INSTITUTO IRMA VALENTIN                     P O BOX 333                                                                                           MANATI              PR           00674
   669315 INSTITUTO LAS AMERICAS                      BW 7 CALLE 3 RES BAIROA                                                                               CAGUAS              PR           00725
          INSTITUTO LEGAL LABORAL Y
   227991 MEDIACION                                   828 AVE HOSTOS            OFIC 102                                                                    MAYAGUEZ            PR           00680
          INSTITUTO MEDICINA DE
   227992 FAMILIA                                     PO BOX 193239                                                                                         SAN JUAN            PR           00919

   227993 INSTITUTO MEDICO DEL TURABO URB VILLA TURABO                          H29 CALLE PINO                                                              CAGUAS              PR           00725

   669316 INSTITUTO MEDICO DR PINTADO PO BOX 9024275                                                                                                        SAN JUAN            PR           00902‐4275
   669317 INSTITUTO MERLIX            P O BOX 6241                                                                                                          BAYAMON             PR           00960
          INSTITUTO METROPOLITANO DE
   227995 MEDICINA FISICA             PO BOX 4828                                                                                                           CAROLINA            PR           00984

   669318 INSTITUTO MULTIDISCIPLINARIO PO BOX 7886‐SUITE                                                    GUAYNABO                                        GUAYNABO            PR           00970

          INSTITUTO MULTIDISCIPLINARIO
   227996 DE SALUD MENTAL              9238 COMUNIDAD SERRANO                                                                                               JUANA DIAZ          PR           00795
          INSTITUTO MUSICAL DE
   669319 HUMACAO                      PO BOX 9140                                                                                                          HUMACAO             PR           00792

   227997 INSTITUTO MUSICAL DE P R INC P O BOX 1787                                                                                                         ARECIBO             PR           00612
          INSTITUTO NACIONAL DE BELLAS
   669320 ARTES                        PO BOX 21942 UPR STA                                                                                                 SAN JUAN            PR           00931
          INSTITUTO NACIONAL DE
   227999 NEGOCIOS INC                 PMB 439                                  89 DE DIEGO AVE SUITE 105                                                   SAN JUAN            PR           00927
          INSTITUTO NEUMOLOGICO DE
   228000 PUERTO RICO                  CLINICA LAS AMERICAS                     400 AVE ROOSEVELT STE 205                                                   SAN JUAN            PR           00918

   228001 INSTITUTO NEURO PSIQUIATRICO PO BOX 851                               PMB 236                                                                     HUMACAO             PR           00792
                                         58B ESTE CALLE DOLORES
   228002 INSTITUTO NEURO SIQUIATRICO CABRERAS                                  PMB 319                                                                     HUMACAO             PR           00791
          INSTITUTO NEUROSIQUIATRICO
   228004 DE PR                          URB ANTONSANTI                         1580 CALLE CAVALIERI                                                        SAN JUAN            PR           00927‐6115
   228005 INSTITUTO NUEVA ESCUELA        1101 AVE PONCE DE LEON                 ESQ PASEO DE DIEGO                                                          RIO PIEDRAS         PR           00925
                                         Santurce Medical Mall, Ave.
   228007 Instituto Oftalmico del Caribe Ponce de Leon, Ofic. 213                                                                                           Santurce            PR           00909
   669321 INSTITUTO OFTALMOLOGICO        EDIF ZAMORA 1ER PISO                   CALLE MAYOR ESQ SOL                                                         PONCE               PR           00731




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          INSTITUTO ORIENTACION
   228008 TERAPIA FAMILIAR             PO BOX 6994                                                                                                                  CAGUAS              PR           00726
          INSTITUTO ORIENTAL DE AYUDA
   228009 A LA FAM INC                 1 URB ALTURAS DE BUZO                                                                                                        HUMACAO             PR           00791
          INSTITUTO ORTOPEDICO
   228010 LABORAL CSP                  P O BOX 637                                                                                                                  HUMACAO             PR           00792‐0637
          INSTITUTO PARA EL DES DEL
   669323 DERECHO                      469 ANTOLIN NIN ROOSEVELT                                                                                                    SAN JUAN            PR           00918
          INSTITUTO PARA EL DESARROLLO
   228011 HUMANO                       P O BOX 194929                                                                                                               SAN JUAN            PR           00919‐4929
          INSTITUTO PARA EL DESARROLLO
   669324 MUNICIPAL                    BOX 7144                                                                                                                     SAN JUAN            PR           00916‐7144
          INSTITUTO PARA EL DESARROLLO
   228012 PERSONAL                     CALLE 13 M‐31                         CONDADO MODERNO                                                                        CAGUAS              PR           00724
          INSTITUTO PARA EL
   228013 EMPRENDIMIENTO Y EMPRE       PMB 414 P.O. BOX 7891                                                                                                        GUAYNABO            PR           00970
          INSTITUTO PARA LA            BORINQUEN GARDENS AZALEA
   228014 PRODUCTIVIDA                 BB‐8                                                                                                                         SAN JUAN            PR           00926
          INSTITUTO PARA LA
   669325 PRODUCTIVIDAD INC            BORINQUEN GARDENS                     BB 8 AZALEA                                                                            SAN JUAN            PR           00926
          INSTITUTO PARA LA SOLUCION
   228015 DE CONFLICTOS                PO BOX 7035                                                                                                                  SAN JUAN            PR           00936‐8351
          INSTITUTO PARAEL DESARROLLO
   228016 PERSONAL INC                 URB CONDADO MODERNO                   M 31 CALLE 13                                                                          CAGUAS              PR           00725
          INSTITUTO PONCENO DEL
   228018 HOGAR INC                    BOX 5009                                                                                                                     PONCE               PR           00733‐5009
          INSTITUTO PONCENO SINDROME URB. SAN JOSE 1244
   228019 DOWN                         CARMELITAS DESCALZOS                                                                                                         PONCE               PR           00728‐1910
          INSTITUTO PRE‐ VOCACIONAL E
  1256571 INDUSTRIAL PR IPVI           REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          INSTITUTO PSICOEDUCATIVO DE
   228020 SAN JUAN                     URB COLLEGE PARK IV                   AVE GLASGOW 1899                                                                       SAN JUAN            PR           00921‐4820
   228021 INSTITUTO PSICOMEDICO        PO BOX 207                                                                                                                   ARROYO              PR           00714‐0207
          INSTITUTO PSICOPEDAGOGICO
  1256572 DE PR                        REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   228026 INSTITUTO PSICOTERAPEUTICO                  PO BOX 55017                                                                                                  BAYAMON             PR           00960‐1017
          INSTITUTO PSICOTERAPEUTICO
   228027 DE PR                                       PO BOX 367221                                                                                                 SAN JUAN            PR           00936‐7221
          INSTITUTO                                                          416 AVE PONCE DE LEON STE
   228028 PSICOTRAUMATOLOGIA PR                       UNION PLAZA BLDG       1511                                                                                   SAN JUAN            PR           00918‐3423
   228029 INSTITUTO PSYSOMA INC                       P O BOX 2975                                                                                                  CAROLINA            PR           00984
          INSTITUTO PUERTORRIQUENO
   228030 DE                                          NATACION ADAPTADA      PO BOX 7070                                                                            SAN JUAN            PR           00936‐7070

          INSTITUTO PUERTORRIQUENO
   228031 DE EDUCACION                                PMB 114                1507 AVE PONCE DE LEON                                                                 SAN JUAN            PR           00909
          INSTITUTO RADIO SONO
   669326 NUCLEAR                                     P O BOX 9024113                                                                                               SAN JUAN            PR           00902‐4113
          INSTITUTO RADIOLOGICO DE
   228032 ARECIBO                                     PO BOX 79510                                                                                                  CAROLINA            PR           00984‐9210
          INSTITUTO RENAL DEL ESTE
   228033 HIMA                                        PO BOX 6659 SUITE 85                                                                                          CAGUAS              PR           00726



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          INSTITUTO SAN MARTIN DE
   228034 PORRES                                      CARR 111 INSTERSECCION      CARR 603 KM 1.8         BO RONCADOR                                     UTUADO               PR           00641
   228035 INSTITUTO SANTA ANA INC                     PO BOX 554                                                                                          ADJUNTAS             PR           00601
          INSTITUTO SOCIO ECONOMICO
   669329 COMUNITARIO                                 PO BOX 9066542                                                                                      SAN JUAN             PR           00906‐6542

          INSTITUTO SOCIO‐
   228036 ECONOMICOCOMUNITARIOINC. PONCE DE LEON 269                                                                                                      HATO REY             PR           00906‐6542
          INSTITUTO TECNICO DEL FUTURO
   669330 INC                          PO BOX 55016                                                                                                       BAYAMON              PR           00960 4016

   228038 INSTITUTO TECNOLOGICO DE P R URBANIZACION LAS VIRTUDES                  CALLE ALEGRIA FINAL                                                     SAN JUAN             PR           00924
          INSTITUTO TECNOLOGICO DE
   228039 PONCE                        PO BOX 7284                                                                                                        PONCE                PR           00732‐7284

   228040 INSTITUTO TECNOLOGICO DE PR                 PO BOX 1091                                                                                         MANATI               PR           00674
          INSTITUTO TECNOLOGICO
   228041 EMPRESARIAL                                 22 CALLE MUNOZ RIVERA                                                                               TRUJILLO ALTO        PR           00976
          INSTITUTO TECNOLOGICO
   669331 PR/RECINTO GUAYAMA                          PO BOX 150                                                                                          GUAYAMA              PR           00785
          INSTITUTO TECNOLOGICO
   669332 RECINTO GUAYAMA                             URB VIVES                   PO BOX 150                                                              GUAYAMA              PR           00984
          INSTITUTO TERAPUTICO DEL
   669333 LENGUAJE                                    MSC 193                     PO BOX 5004                                                             YAUCO                PR           00698

          INSTITUTO UROGINECOLOGICO Y
   228042 OBSTETRICIA DEL SUR         CALLE JOSE DE DIEGO ESQ PERAL EDFI LUGO OFIC 2A                                                                     MAYAGUEZ             PR           00680
   228043 INSTITUTO UROLOGICO         PO BOX 2908                                                                                                         GUAYAMA              PR           00785
          INSTITUTO UROLOGICO DE
   228044 CAGUAS                      PO BOX 1570                                                                                                         CAGUAS               PR           00726
          INSTITUTO VOC ACADEMIA DEL
   669334 NORTE                       B 4 URB CABRERO                                                                                                     UTUADO               PR           00641
          INSTITUTO VOCACIONAL
   228045 GENESIS                     APARTADO 5145                                                                                                       CAGUAS               PR           00726
          INSTITUTO VOCACIONAL Y
   228046 COMERCIAL EDIC              PO BOX 9120                                                                                                         CAGUAS               PR           00726‐9120

   228047 INSTREAM FLOW COUNCIL                       900 NATURAL RESOURCES DRIVE SUITE 100                                                               CHARLOTTESVILLE      VA           22903
   669335 INSTRUCTIONAL ACCESS INC                    6800 INDIANA AVE 245                                                                                RIVERSIDE            CA           92506
   228048 INSTRUMED SERVICES                          PO BOX 4964                                                                                         CAROLINA             PR           00984‐4964

   228049 INSTRUMED SERVICES CO., INC.                PO BOX 4964                                                                                         CAROLINA             PR           00984‐4964

   669339 INSTRUMENT TECHNOLOGY INC P O BOX 381                                                                                                           WESFIELD             MA           01086‐0381
   228050 INSTRUMENTATION CORP INC  PO BOX 4236                                                                                                           VEGA BAJA            PR           00964

   228051 INSTRUMENTATION CORPS. INC. PO BOX 190131                                                                                                       SAN JUAN             PR           00919‐0131
   669340 INSTRUMENTATION SERVICES    PO BOX 11953                                                                                                        SAN JUAN             PR           00922
          INSTUTO PARA LA SOLUCION DE
   228054 CONFLICTOS                  505 MUNOZ RIVERA                                                                                                    SAN JUAN             PR           00918

   228057 INSULAR HIGHWAY PRODUCTS                    P O BOX 205                                                                                         CATANO               PR           00963 0205
   669341 INSULAR SUPPLIES CORP                       PO BOX 947                                                                                          GUAYNABO             PR           00970‐0853



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  669342 INSULAR TRADING CO INC                       PO BOX 3069                                                                                            VEGA ALTA            PR           00692

   228058 INSULAR WIRE PRODUCTS CORP PO BOX 457                                                                                                              CATAÐO ,             PR           00963‐0000
          INSULATION SPECIALTIES
   228061 CONTRACTING CORP            P O BOX 3620                                                                                                           CAROLINA             PR           00984‐3620
   669343 INSURAMERICA AGENCY INC     PO BOX 193910                                                                                                          SAN JUAN             PR           00919‐3910
                                      METROPOLITAN SHOPPING
   228062 INSURAMERICA AGENCY, INC.   CENTER                                   PO BOX 3910                                                                   HATO REY             PR           00919‐3910
          INSURANCE COMPANY OF
   228067 NORTH AMERICA               PO BOX 191249                                                                                                          SAN JUAN             PR           00919‐1249
          INSURANCE INSTITUTE OF
   669344 AMERICA                     PO BOX 3016                                                                                                            MALVERN              PA           19355
          INSURANCE LICENSING SERV OF
   669345 AMERICA INC                 111 N BAILROAD STREET                                                                                                  GROESBECK            TX           76642

   669346 INSURANCE SERVICES OFFICE INC PO BOX 17620                                                                                                         NEWARK               NJ           07194
          INSURANCE TRAINING AND
   669347 EDUCATIONAL SERV              220 AVE DOMENECH ALTOS                                                                                               SAN JUAN             PR           00918
          INT ASSOC INDUSTRIAL
   669348 ACCIDENT BOARD COMM           5610 MEDICAL CIRCLE SUITE 14                                                                                         MADISON              WI           53719
          INT BOARD LACT CONSULTANT 6402 ARLINGTON BLVD.SUITE
   228075 EXAMINERS                     350                                                                                                                  FALLS CHURCH         VA           22042
          INT DESIGN GROUP ARCHITECTS
   228076 & ENGINEERS                   P O BOX 195488                                                                                                       SAN JUAN             PR           00919‐5488
   669351 INT HEALTH SERVICE INC        P O BOX 195056                                                                                                       SAN JUAN             PR           00919‐5056
          INT L FREIGHT CONSULTANT
   228077 CORP                          PMB 326 #5900                          SUITE 2 ISLA VERDE                                                            CAROLINA             PR           00979
   669352 INT RAFAEL FONT FLORES        PO BOX 1269                                                                                                          AIBONITO             PR           00705

          INT REV SERV / CONSTRUCTORA
   228078 DE HATO REY                   CITY VIEW PLAZA II                     48 CARR 165 SUITE 2000                                                        GUAYNABO             PR           00936‐4226
          INT REV SERV / EDGAR C
   228079 RODRIGUEZ HEREDIA             EDIF CENTRO NOVIOS PLAZA               475 AVE HOSTOS STE 207                                                        MAYAGUEZ             PR           00680‐1554
          INT REV SERV / PROF FLOOR
   228080 STONE &GRANITE                CITY VIEW PLAZA II                     48 CARR 165 STE 2000                                                          GUAYNABO             PR           00968‐8000
          INT REV SERVICES / BRENDA
   228081 CARIDE RAMOS                  CITY VIEW PLAZA II                     48 CARR 165 SUITE 2000                                                        GUAYNABO             PR           00968‐8000
          INT REV SERVICES / CENTRO
   228082 COMPACTO DBA                  SOTO AUTO KOOL                         EDIF CENTRO NOVIOS PLAZA      475 AVE HOSTOS STE 207                          MAYAGUEZ             PR           00680‐1554
          INT REV Y/O JORGE L RODRIGUEZ
   228083 BRUNO                         MANS DE RIO PIEDRAS                    1791 CALLE FLORES                                                             SAN JUAN             PR           00926
          INT TRAINING RESOURCE&
   669353 HUMAN DEVELOPMENT             P O BOX 6777                                                                                                         MAYAGUEZ             PR           00681‐6777
   228085 INT. SANTA ELENA EL MONTE     PO BOX 1780                                                                                                          MOCA                 PR           00676

   669354 INT.INSTITUTE FOR ADV.STUDIES 48 BRATTLE ST                                                                                                        CAMBRIDGE            MA           02138

   669355 INT.SOC.OF ARBORICULTURE                    URB SAGRADO CORAZON      352 AVE SAN CLAUDIO APT 112                                                   SAN JUAN             PR           00926
          INTACO EQUIPMENT RENTALS
   228087 CORP SECSOC                                 PO BOX 286                                                                                             SAN GERMAN           PR           00683
   669356 INTACTO CORPORATION                         PO BOX 4040                                                                                            CAROLINA             PR           00984‐4040
                                                                               CENTRO INT DE MERCADEO
   228088 INTACTO LLC                                 100 CARR 165 SUITE 512   TORRE I                                                                       GUAYNABO             PR           00968



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  669357 INTEC                                        1729 JESUS T PI¨ERO AVE                                                                             SAN JUAN            PR           00920
         INTECH INTEGRATION
  669358 TECHNOLOGIES                                 PO OX 363988                                                                                        SAN JUAN            PR           00936‐3988

   228091 INTECO INDOOR AIR QUALITY                   URB PALACIOS DEL MONTE 1576                                                                         TOA ALTA            PR           00953

   228092 INTECO, INC                  1576 URB PALACIOS DEL MONTE                                                                                        TOA ALTA            PR           00953
   228094 INTECO,INC.                  URB. PALACIOS DEL MONTE     NUM. 1576                                                                              TOA ALTA            PR           00953
          INTEGRA DESIGN GROUP
   771096 ARCHITECTS                   & ENGINEERS, P.S.C.         P.O. BOX 195488                                                                        SAN JUAN            PR           00919‐5488
          INTEGRA DESIGN GROUP         576 ARTERIAL B, COLISEUM
   228095 ARCHITECTS ENGINEER          TOWER                       SUITE 102                                                                              SAN JUAN            PR           00918
          INTEGRA THERAPY CENT Y/
   228101 BANCO POPULAR PR             P O BOX 362708                                                                                                     SAN JUAN            PR           00936‐2708
          INTEGRACION SERV EDUC
   228102 PROFESIONALES INC            MAR AZUL                    F 13 CALLE 4 BOX 1633                                                                  HATILLO             PR           00659
          INTEGRADE NETWORK GROUP
   669362 CORP                         MSC 896                     138 AVE WINSTON CHURCHILL                                                              SAN JUAN            PR           00926‐6023
          INTEGRAND ASSURANCE
   228114 COMPANY                      PO BOX 366697                                                                                                      SAN JUAN            PR           00936
          INTEGRAND ASSURANCE                                                                             AVENIDA PONCE DE LEÓN SUITE
  1422845 COMPANY                      PEDRO TOLEDO GONZALEZ       EDIFICIO JULIO BOGORICIN 1606          400                                             SAN JUAN            PR           00909
          INTEGRAND ASSURANCE                                                                             AVENIDA PONCE DE LEÓN SUITE
  1422846 COMPANY                      PEDRO TOLEDO GONZALEZ       EDIFICIO JULIO BOGORICIN 1606          400                                             SAN JUAN            PR           00909
          INTEGRAND ASSURANCE
          COMPANY Y RELIABLE FINANCIAL                             9615 AVE. LOS ROMEROS
  1420066 SERVICES, INC.               FRANCISCO VÁZQUEZ ARCE      MONTEHIEDRA OFFICE CENTRE                                                              SAN JUAN            PR           00926
   228116 INTEGRAND INSURANCE CO       PO BOX 70128                                                                                                       SAN JUAN            PR           00936‐1828
          INTEGRATED ANESTHESIA
   669364 GROUP PSC                    P O BOX 1208                                                                                                       SAN SEBASTIAN       PR           00685
          INTEGRATED ASSURANCE
   228117 SOLUTIONS LLC                PMB 292 ‐ 1353              AVE LUIS VIGOREAUX                                                                     GUAYNABO            PR           00966

   228118 INTEGRATED BUILDING SERVICES GPO BOX 3714                                                                                                       SAN JUAN            PR           00936
          INTEGRATED BUILDING
   228119 SOLUTIONS                    PO BOX 6857                                                                                                        CAGUAS              PR           00726‐6857
          INTEGRATED COMMUNICATIONS
   228120 GROUP                        419 ESCORIAL                                 AVE CAPARRA HEIGHTS                                                   SAN JUAN            PR           00920
          INTEGRATED CONSULTANT &
   228121 LEGAL ADVISORS L             122 AVE DOMENECH STE 1                                                                                             SAN JUAN            PR           00918
          INTEGRATED CONSULTINE
   669365 GROUP INC                    DORADO DEL MAR                               AA 37 NEPTUNO                                                         DORADO              PR           00646
          INTEGRATED DESIGN SOLUTION
   228123 INC                          90 CARR 165 STE 405                                                                                                GUAYNABO            PR           00968‐8058

          INTEGRATED DESIGN SOLUTIONS CENTRO INT. MERCADEO TORRE
   228124 , INC.                      II 90 CARR. 165 SUITE 405                                                                                           GUAYNABO            PR           00968‐0000
          INTEGRATED DESIGN SOLUTIONS CENTRO INTERNACIONAL DE
   228125 INC                         MERCADEO II                SUITE 405                                                                                GUAYNABO            PR           00968
          INTEGRATED EMERGENCY
   669366 MEDICAL SERVICES            PMB 346 BOX 4952                                                                                                    CAGUAS              PR           00726‐4952
          INTEGRATED GOVERNMENT
   669367 SOLUTION GROUP              ADOQUINES                  64 CALLE SAN JOSE                                                                        SAN JUAN            PR           00926



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          INTEGRATED INVESTMENT
   228127 SERVICES INC                                 303 BROADWAY SUITE 1100                                                                                     CINCINNATI           PR           45202‐4203
          INTEGRATED LEGAL SOLUTIONS
   228128 PSC                                          COND MADRID                   1760 CALLE LOIZA STE 303                                                      SAN JUAN             PR           00911

   669368 INTEGRATED PAY SYSTEMS INC                   PO BOX 7030                                                                                                 ENGLEWOOD            CO           80155‐7030

   669369 INTEGRATED PAYMENT SYSTEMS P O BOX 7035                                                                                                                  GRENWOOD VILLAGE     CO           80111‐7035
          INTEGRATED PSYCHOLOGICAL
   228131 SERVICES, CSP               201 AVE GAUTIER BENITEZ     CONSOLIDATED MEDICAL PLAZA OFICINA 307A SUITE 012                                                CAGUAS               PR           00725
          INTEGRATED QUALITY
   669370 SOLUTIONS INC               AVE. SAN CLAUDIO 353        PMB 368                                                                                          SAN JUAN             PR           00926
          INTEGRATED RADIOLOGY
   228132 ASSOCIATES INC              P O BOX 361525                                                                                                               SAN JUAN             PR           00936‐1525
          INTEGRATED SAFETY SOLUTIONS
   228133 CLASSICARE                  352 AVE SAN CLAUDIO PBM 330                                                                                                  SAN JUAN             PR           00926‐4107

   831413 Integrated Safety Solutions, Inc 352 Ave. San Claudio PMB 330                                                                                            San Juan             PR           00926
          INTEGRATED
          SOLUTIONSANDOUTSOURCING CTRO INTERNACIONAL DE
   228136 GROUP                            MERCADO                                   TORRE 1 SUITE 307                                                             GUAYNABO             PR           00968
   669371 INTEGRATED SYSTEMS               33 BOLIVIA SUITE PH1                                                                                                    SAN JUAN             PR           00917
          INTEGRATED VOTING SOLUTIONS
   228137 INC                              MCS PLAZA TENTH FLOOR                     PONCE DE LEON AVE 255                                                         SAN JUAN             PR           00917‐1913
          INTEGRATED WASTE
   669372 MANAGEMENT INC                   PO BOX 11064                                                                                                            SAN JUAN             PR           00922‐1064
          INTEGRATED WILLNESS
   228138 CONSULTANTS INC                  URB EL VEDADO                             121 CALLE RODRIGO DE TRIANA                                                   SAN JUAN             PR           00918
   228139 INTEGRATEK                       6 CARRETERA 696                                                                                                         DORADO               PR           00946
          INTEGRATION TECHNOLOGIES
   228140 CORP                             P O BOX 363988                                                                                                          SAN JUAN             PR           00936‐3988
          INTEGRITY CONSULTING
   228143 INTEGRATION SERV                 364 CALLE SAN JORGE APT 9C                                                                                              SAN JUAN             PR           00912

   669377 INTEGRITY INC                                667 PONCE DE LEON SUITE 356                                                                                 SAN JUAN             PR           00907
          INTEGRITY MANAGEMENT
   669378 SERVICES INC                                 3378 PASEO DE PESCA           SECTOR LAS CUCHARAS                                                           PONCE                PR           00728‐1509
                                                       13526 VILLAGE PARK DR SUITE
   228145 INTEGRITY MEDICAL GROUP                      220                                                                                                         ORLANDO              FL           32837 7685
   831414 Intek Integration Technologies               PO Box 363988                                                                                               San Juan             PR           00936
   669380 INTEL COM                                    SIERRA TAINA                  3 CALLE 3                                                                     BAYAMON              PR           00956
   228148 INTELIGENCIA ECONOMICA                       B5 CALLE TABONUCO             SUITE 216 NB 109                                                              GUAYNABO             PR           00968‐3029

   228149 INTELIGENCIA ECONOMICA, INC                  B5 CALLE TABONUCO             SUITE 216                     PBM109                                          GUAYNABO             PR           00968‐3029
   228150 INTELLECTUM INC                              1902 PASEO DEGETAU                                                                                          CAGUAS               PR           00727
          INTELLIGENCE FORECASTING,
   228153 CORP.                                        PO BOX 361934                                                                                               SAN JUAN             PR           00936‐1934
          INTELLIGENCE FORESCASTING
   228154 CORP                                         P O BOX 361934                                                                                              SAN JUAN             PR           00936
          INTELLIGENT COMPUTER
   228155 SOLUTIONS INC                                10030 REMMET AVENUE                                                                                         CHATSWORTH           CA           91311
          INTELLIGENT DIGITAL SECURITY
   228156 INC                                          URB. CONDADO MODERNO          CALLE 13 M30                                                                  CAGUAS               PR           00725



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          INTELLIGENT GRANT SOLUTIONS
   228157 LLC                          5900 AVENIDA ISLA VERDE                      STE 2 PMB 448                                                                 CAROLINA            PR           00979
          INTELLIGENT GRANT SOLUTIONS,
   228159 LLC                          CAPITAL CENTER BUILDING 1                    239 AVE. ARTERIAL HOSTOS                                                      HATO REY            PR           00918

   669381 INTELLIGENT MEDIA GROUP INC                 MONTE SOL                     A 11 CALLE 4                                                                  TOA ALTA            PR           00953
          INTELLIGENT SOFTWARE                        252 PONCE DE LEON AVE SUITE
   669382 SOLUTIONS CORP                              401                                                                                                         SAN JUAN            PR           00918
          INTELLIGENT SOFWARE
   228160 SOLUTION CORP.                              PO BOX 363601                                                                                               SAN JUAN            PR           00936‐3601
   831415 Intelligent Technologies                    696 Calle B Suite 3                                                                                         San Juan            PR           00920
   669383 INTELLIKIDS PUERTO RICO                     P O BOX 1810                                                                                                CAGUAS              PR           00726
   228162 INTELLIMEDIA                                VILLA DOS PINOS               1026 CALLE GALLERA                                                            SAN JUAN            PR           00923
   669384 INTELLMEDIA CORP                            A 11 CALLE 4                                                                                                TOA ALTA            PR           00953
   228163 INTELUTIONS INC                             PMB 367                       35 JUAN BORBON                                                                GUAYNABO            PR           00969
   228164 INTELUTIONS, INC                            PMB 367                       35 CALLE JUAN BORBON          SUITE 67                                        GUAYNABO            PR           00969
   228165 INTELUTIONS, INC.                           35 CALLE JUAN C BORBON        PMB 367                                                                       GUAYNABO            PR           00969‐5315
                                                      8211 WEST BROWARD
   228166 INTENSE SCHOOL INC                          BOULEVARD #210                                                                                              FORT LAUDERDALE     FL           33324

   669385 INTENSIVE AIR INCORPORATED                  PO BOX 18718                                                                                                SARASOTA            FL           34276‐1718
          INTENSIVE CARE TRANSPORT
   228167 SERVICE                                     PO BOX 9022556                                                                                              SAN JUAN            PR           00902‐2556
   669386 INTER AERO SHOPS                            PO BOX 37130                                                                                                SAN JUAN            PR           00937

   669387 INTER AMERICAN DEVELOPMENT 650 CASTROSTREET                               SUITE120 SUITE331                                                             MOUNTAIN VIEW       CA           94041 2055
          INTER AMERICAS ADVERTISING
   228168 INC                        PO BOX 1467                                                                                                                  BAYAMON             PR           00960
                                                                                    898C AVE UNIVERSIDAD Y
   228169 INTER BOOK LIBROS INC                       SANTA RITA                    ESTEBAN GONZ                                                                  SAN JUAN            PR           00924

   669389 INTER BOOK LIBROS INC.                      VILLA NAVARRA                 612 FERNANDO GARCIA LEDES                                                     SAN JUAN            PR           00924‐0000
   669391 INTER COPY                                  RR 3 BOX 3125                                                                                               SAN JUAN            PR           00926

   669392 INTER‐ DECOR SPECIALTIES INC                PMB 506 200                   AVE RAFAEL CORDERO SUITE 40                                                   CAGUAS              PR           00725‐3757
   669393 INTER FAX                                   975 AVE HOSTOS SUITE 2020                                                                                   MAYAGUEZ            PR           00680‐1262
          INTER INST FOR PEOPLE WITH
   669395 DISABILITIES                                667 PONCE DE LEON             BOX 313                                                                       SAN JUAN            PR           00907

   228172 INTER ISLAND AMUSEMENT INC P O BOX 20000 PMB 531                                                                                                        CANOVANAS           PR           00729
   669396 INTER ISLAND FERRI SYSTEM  P O BOX 4304                                                                                                                 PUERTO REAL         PR           00740
          INTER ISLAND MEDICAL
   228173 EQUIPMENT                  1 CALLE VIZCARRONDO                            PO BOX 2049                                                                   AIBONITO            PR           00705
          INTER ISLAND PETROLEUM
   669397 RETAILERS                  PO BOX 8547                                                                                                                  SAN JUAN            PR           00910‐0547
   669398 INTER ISLAND RENTAL CORP   P O BOX 967 OLD SAN JUAN                                                                                                     SAN JUAN            PR           00919
   669399 INTER ISLAND SPRING CORP   PO BOX 2487                                                                                                                  TOA BAJA            PR           00951
   228174 INTER MED SERVICES INC     31 CALLE DR CUETO                                                                                                            UTUADO              PR           00641
          INTER MOUNTAIN
   669400 LABORATORIES INC           PO BOX 661                                                                                                                   SHERIDAN            WY           82801‐0661
   228175 INTER MUJERES PR CORP      P O BOX 70351                                                                                                                SAN JUAN            PR           00936
   669401 INTER NETWORKS INC         400 CALAF SUITE 329                                                                                                          SAN JUAN            PR           00918
   669402 INTER OCEAN FREIGHT INC    PO BOX 3653                                                                                                                  CAROLINA            PR           00984‐3653



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   228176 INTER OFFICE SUPLIES INC                    8117 CALLE CONCORDIA SUITE 1                                                                                              PONCE               PR           00717‐1546
  1256573 INTER OFFICE SUPPLIES INC                   REDACTED                     REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   228177 INTER OFFICE SUPPLIES, INC                  8117 CALLE CONCORDIA SUITE 1                                                                                              PONCE               PR           00717‐1546
          INTER REV SERV/
   228178 AGROINDUSTRIAL DEL                          NOROESTE INC                   CENTRO NOVIOS PLAZA BLDG        475 HOSTO AVE SUITE 207                                    MAYAGUEZ            PR           00680‐1554
   669403 INTER SING INDUSTRIES                       PO BOX 755                                                                                                                SAINT JUST          PR           00978

   669405 INTER STRAP PACKING SYSTEM                  PO BOX 12367                                                                                                              SAN JUAN            PR           00914
          INTER TRADE DEVELOPMENT
   228179 GROUP                                       PMB 385                        609 AVE TITO CASTRO             STE 102                                                    PONCE               PR           00716‐0200
          INTER TRADE DEVELOPMENT
   228180 GROUP INC                                   PMB 385 AVE. 609 TITO CASTRO SUITE 102                                                                                    PONCE               PR           00716‐0200
   669406 INTER TYRE CORP                             PO BOX 363645                                                                                                             SAN JUAN            PR           00936
  1256574 INTER VOICE                                 REDACTED                     REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   669407 INTERACCES CORP                             P O BOX 191588                                                                                                            SAN JUAN            PR           00919
   669408 INTERACTIVE COM TELE                        P O BOX 195508                                                                                                            SAN JUAN            PR           00919‐5508
          INTERACTIVE EDUCATION
   669409 GROUP                                       PO BOX 9023865                                                                                                            SAN JUAN            PR           00902
          INTERACTIVE EDUCATIONAL
   228181 TECHNOLOGIES INC                            CITY VIEW II                   48 CARR 165 SUITE 2000                                                                     GUAYANBO            PR           00968‐8000

   669410 INTERACTIVE MARKETING CORP                  P O BOX 2144                                                                                                              SAN JUAN            PR           00922‐2144
          INTERACTIVE SOLUTIONS
   770557 ADVISORS CORP                               1357 ASHFORD AVE               SUITE 299                                                                                  SAN JUAN            PR           00907‐1432
          INTERACTIVE TECHNOLOGIES
   228186 SOLUTIONS CORP                              PBM 386                      425 CARRETERA 693                                                                            DORADO              PR           00646
          INTERACTIVE TECHNOLOGY                      470 AVE PONCE DE LEON PISO 3
   228187 GROUP                                       SUITE A                                                                                                                   SAN JUAN            PR           00918

   669411 INTERAIR INC                                MSC 874                        138 AVE WINSTON CHURCHILL                                                                  SAN JUAN            PR           00926‐6023
          INTER‐AMERICAN
   228188 ORGANIZATION OF HIGHER                      EDUCATION                      475 RUE DU PARVIS OFFICE 1338                                                              QUEBEC              QC           G1K 9H7       CANADA
          INTERBORO SYSTEM
   228192 CORPORATION                                 206 CALLE SAN JORGE                                                                                                       SAN JUAN            PR           00912
          INTERBORO SYSTEMS
   228195 CORPORATION                                 AREA DE TESORO                 DIVISION DE RECLAMACIONES                                                                  SAN JUAN            PR           00902‐4140
          INTERC DEPORTIVO PEPINO
   669412 PERTH AMBOY INC.                            P O BOX 1521                                                                                                              SAN SEBASTIAN       PR           00685
   669413 INTERCALL                                   PO BOX 281866                                                                                                             ATLANTA             PR           30384‐1866
          INTERCALL
   669414 TELECOMMUNICATIONS                          AND INTEGRATED SERV INC                                                                                                   BAYAMON             PR           00960‐9199
          INTERCAMBIO DEPORTIVO BORI
   228197 STARS INC                                   URB VILLA RITA                 B 6 CALLE 2                                                                                SAN SEBASTIAN       PR           00685
          INTERCAMBIO DEPORTIVO
   669416 PEPINO STAR                                 URB VILLA RITA                 B 6 CALLE 2                                                                                SAN SEBASTIAN       PR           00683
          INTERCAMBIOS PUERTO RICO
   228198 INC                                         165 CALLE DIEGO ZALDUONDO                                                                                                 FAJARDO             PR           00915
          Inter‐Caribbean Multi‐Service
   831417 Corp.                                       Po BOX 270321                                                                                                             San Juan            PR           00927
   669417 INTERCITY TRANSIT INC                       PO BOX 1267                                                                                                               CAGUAS              PR           00725




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   228200 INTERCOASTAL MEDICAL GROUP MEDICAL RECORDS                921 D BENEVAD RD                                                                 SARASOTA            FL           34232
   669418 INTERCOM INCORPORATED       9200 SOUTH DADELAND BLVD      SUITE 309                                                                        MIAMI               FL           33156‐2711
          INTERCOMINICATION STRATEGIC
   228201 GROUP CORP                  PO BOX 367304                                                                                                  SAN JUAN            PR           00936‐7304
          INTERCONENTAL MARKETING
   228202 GROUP, INC                  PO BOX 362497                                                                                                  SAN JUAN            PR           00971
          INTERCONTINENTAL BOOK DIST
   669419 INC                         599 INDUSTRIAL AVE                                                                                             PARAMUS             NJ           07652
          INTERCONTINENTAL BOOK DIST,
   228203 IN                          559 INDUSTRIAL AVENUE                                                                                          PARAMUS             NY           07652
          INTERCONTINENTAL FOOD DIST
   669420 CORP                        PO BOX 363251                                                                                                  SAN JUAN            PR           00936‐3251
   228204 INTERCONTINENTAL HOTEL      5961 AVE ISLA VERDE                                                                                            CAROLINA            PR           00979
          INTERCONTINENTAL HOTEL
   228205 (PUERTO RICO) INC           5961 AVENIDA ISLA VERDE                                                                                        CAROLINA            PR           00979
          INTERCONTINENTAL HOTELS / P
   228206 R INC                       5961 AVE ISLA VERDE                                                                                            CAROLINA            PR           00979
          INTERCONTINENTAL
   228208 HOTELS(PUERTO RICO)INC.     5961 AVE ISLA VERDE                                                                                            CAROLINA            PR           00979
          INTERCONTINENTAL INSURANCE
   228209 AGENCIES INC                PO BOX 70128                                                                                                   SAN JUAN            PR           00936‐8128
          INTERCONTINENTAL MARKETING
   228211 GROUP INC                   PO BOX 362497                                                                                                  SAN JUAN            PR           00936‐2497
          INTERCONTINENTAL ROOFING &
   228212 CONTRACTOR                  124 ISABEL ANDREU AGUILAR ST.                                                                                  HATO REY            PR           00918

   228213 INTERCONTINENTAL SAN JUAN                   5961 AVENIDA ISLA VERDE                                                                        CAROLINA            PR           00979‐0000
          INTERCONTINENTAL SAN JUAN
   228214 HOTEL                                       P O BOX 6676              LOIZA STATION                                                        CAROLINA            PR           00979
          INTERCONTINENTAL SAN JUAN
   669422 RESORT CASINO                               PO BOX 6676 LOIZA STA                                                                          SAN JUAN            PR           00914
   669423 INTERCULTURAL COUNSELING                    VILLA BORINQUEN           469 CALLE DRESDE                                                     SAN JUAN            PR           00920
                                                      SUITE 212 ZMS PLAZA RIO
   669424 INTERDATA WIRING                            HONDO                                                                                          BAYAMON             PR           00961

   228215 INTERDESIGN ARCHITECTS PSC P O BOX 270276                                                                                                  SAN JUAN            PR           00927
   669425 INTERFINANCIAL CONST CORP  PO BOX 190476                                                                                                   SAN JUAN            PR           00919‐0476
          INTERFINANCIAL DEVELOPMENT
   228218 CORP                       PO BOX 1250                                                                                                     MAYAGUEZ            PR           00681
                                     89 DE DIEGO AVE. SUITE 105
   228219 INTERFOOD CORPORATION      PMB 722                                                                                                         SAN JUAN            PR           00927‐6346
          INTERFUND AMERICA
   669427 CORPORATION                1713 BIRCH RD                                                                                                   MC LEAN             VA           22101
   669428 INTERGEN CCOMPANY          P O BOX 10447                                                                                                   NEWARK              NJ           07193‐0447

   228222 INTERIM MENTAL HEALTH CLINIC 339 EAST AVE                             STE 303                                                              ROCHESTER           NY           14604
          INTERIOR CONCEPT
   669429 CONTRACTORS INC              P O BOX 2225                                                                                                  GUAYNABO            PR           00970
          INTERIOR DESIGN &
   669430 DECORATION                   1939 FIDALGO DIAZ 4                                                                                           SAN JUAN            PR           00926‐5323
   669431 INTERIOR DESIGNS OF PR       PO BOX 5210                                                                                                   CAROLINA            PR           00984
   669432 INTERIOR DEVELOPERS INC      28 CALLE PONCE                                                                                                SAN JUAN            PR           00917



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          INTERIOR PLANNING
   669433 CONTRUCTION                                 URB CAPARRA HTS      533 AVE ESCORIAL                                                                       SAN JUAN             PR           00920
   228223 INTERIOR SUPPLIES INC                       AREA DEL TESORO      DIVISION DE RECLAMACIONES                                                              SAN JUAN             PR           00902‐4140
   669434 INTERIOR SYSTEMS INC                        PO BOX 7411                                                                                                 PONCE                PR           00732
   228225 INTERIORES DEL OESTE                        PO BOX 3150                                                                                                 MAYAGUEZ             PR           00681
   228226 INTERIORS & GLASS CORP                      SUMMIT HILLS         1655 CALLE ADAMS                                                                       SAN JUAN             PR           00920
          INTERISLAND OBGYN AND                                            CONDOMINIO PARK BOULEVARD
   228227 PRIMARY CARE PSC                            CALLE LAUREL #2305   APT 1006                                                                               SAN JUAN             PR           00913
          INTERISLAND REFRIGERATION
   669435 SERV                                        PO BOX 501                                                                                                  FAJARDO              PR           00738
   669436 INTERISLAND RENTL CORP.                     PO BOX 967                                                                                                  SAN JUAN             PR           00919

   669437 INTERLINE BRANDS / BARNETT                  P O BOX 13933                                                                                               SAN JUAN             PR           00908
   228228 INTERLINK DEVELOPMENT                       PO BOX 363529                                                                                               SAN JUAN             PR           00936‐3529
   228229 INTERLINK ELECTRONICS                       546 FLYNN ROAD                                                                                              CAMARILLO            CA           93012

   669438 INTERMARINE PUBLIC TERMINAL PO BOX 9022748                                                                                                              SAN JUAN             PR           00902‐2748
   669439 INTERMAT INC                PO BOX 3901                                                                                                                 GUAYNABO             PR           00970‐3901

   669440 INTERMED EMERGENCY SERV      SUITE 112‐297                       100 GRAN BOULEVARD PASEO                                                               SAN JUAN             PR           00926
   228230 INTERMED OF BOCA INC         106 NE 2ND STREET                                                                                                          BOCA RATON           FL           33432‐3908
          INTERMEDICAL HEALTH SERVICES
   228231 INC                          COND DE DIEGO                       359 AVE DE DIEGO STE 501                                                               SAN JUAN             PR           00909‐1711
          INTERN ASS FOR CONTINUING
   669441 EDU& TRAINING                DEPT 3087 WASHINGTON DC                                                                                                    WASHINGTON           DC           20042‐3087
          INTERN CNTER FOR INNOV IN    1776 MASSACHUSETTS AVENUE
   228232 CIVIC PARTICIP               NW                                  SUITE 201                                                                              WASHINGTON           DC           20036
          INTERNA COUNCIL FOR SMALL
   669443 BUSINESS                     PO BOX 4545                                                                                                                MAYAGUEZ             PR           00681
   669444 INTERNACIONAL CAR SERVICE    P O BOX 9020269                                                                                                            SAN JUAN             PR           00902
          INTERNAL MED SPECLST OF SO
   228233 ILLINOIS                     MEDICAL RECORDS                     4600 MEMORIAL DR STE 440    MEDICAL OFFICE CTR TWO                                     BELLEVILLE           IL           62226
   228234 INTERNAL MEDICINE            100 MICHIGAN STREET                                                                                                        GRAND RAPIDS         MI           49503
          INTERNAL MEDICINE AND
   228235 CARDIOLOGY ASSOCIATES        MEDICAL RECORDS                     1819 W OAK ST                                                                          KISSIMMEE            FL           34741
          INTERNAL MEDICINE
   228237 ASSOCIATION                  2391 COURT DR                       SUITE 110                                                                              GASTONIA             NC           28054
          INTERNAL MEDICINE
   228238 CANOVANAS GROUP              PMB 121                             PO BOX 20000                                                                           CANOVANAS            PR           00729
          INTERNAL MEDICINE INTEGREDE
   669445 SERVICES                     P O BOX 1096                                                                                                               MANATI               PR           00674
          INTERNAL MEDICINE            8344 CLAIREMONT MESA BLVD
   228241 PROFESSIONAL                 SUITE 201                                                                                                                  SAN DIEGO            CA           92111
          INTERNAL REV SERVICE / SAN   MERCANTIL PLAZA BLDG SUITE
   228242 JUAN BAUTISTA                902                                 2 PONCE DE LEON AVE                                                                    SAN JUAN             PR           00918‐1693
          INTERNAL REVENUE SERV                                            2 PONCE DE LEON AVE 9TH
   228243 /DEGETAU CAR CARE            MERCANTIL PLAZA BUILDING            FLOOR                                                                                  SAN JUAN             PR           00918‐1693
                                       ADVANCED
                                       TELECOMMUNICATIONS
   228245 INTERNAL REVENUE SERVICE     SOLUTIONS, I                        CITY VIEW PLAZA II          48 CARR 165 STE 2000                                       GUAYNABO             PR           00968‐8000
                                       130 WINSTON CHURCHILL AVE
   228268 INTERNAL REVENUE SERVICE /   130                                 SUITE 1 PMB 248                                                                        SAN JUAN             PR           00926‐6018
  1256575 INTERNAL REVENUE SERVICES    REDACTED                            REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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   228285 INTERNAL REVENUE SERVICES /                 130 WINSTON CHURCHILL AVE.    SUITE 1 PM                                                                   SAN JUAN             PR           00926‐6065
                                                                                    PRODUCTIVITY CENTER 150
   228287 INTERNALTIONAL QUALITY AND                  P.O. BOX 401                  CLOVE ROAD                                                                   LITTLE FALLS         NY           07424‐0401
          INTERNATINAL BUSSINESS
   669454 MACHINES                                    P O BOX 364387                                                                                             SAN JUAN             PR           00936
          INTERNATINAL ELEC N
   228288 FURNITURE                                   PO BOX 4810                                                                                                CAROLINA             PR           00984

   669455 INTERNATIONA CUSTOM MOLDE P O BOX 422                                                                                                                  FLORIDA              PR           00650‐0442
          INTERNATIONAL ACADEMY OF
   228289 DESIGN & TECH               6039 SOUTH RIO GRANDE AVE                                                                                                  ORLANDO              FL           32809
   669456 INTERNATIONAL AIRPORT       AIRPORT STATION              PO BOX 38087                                                                                  SAN JUAN             PR           00937‐1087
          INTERNATIONAL APPLEANCES                                 946 AVE DE DIEGO URB LA
   669457 SERV.                       LA RIVIERA                   RIVIERA                                                                                       SAN JUAN             PR           00921
          INTERNATIONAL ASS OF GAMING
   669458 ATTORNEYS                   8275 SOUTH EASTERN SUITE 109                                                                                               LAS VEGAS NEVADA     NV           89123

          International ASS of Machinists
   228290 and Aerosspace Workers                      Rodríguez Báez, José M.       PO Box 19689                 Fernández Juncos Station                        San Juan             PR           00910‐1689
          INTERNATIONAL ASSEMBLY FOR
   669459 COLLEGIATE                                  PO BOX 25217                                                                                               OVERLAND PARK        KS           66225
          INTERNATIONAL ASSOC ADM
   669460 PROF TM                                     OND MADRID PLAZA              999 GENERAL VALERO APT 501                                                   SAN JUAN             PR           00924
          INTERNATIONAL ASSOC CANCER                  C/O INTL AG FOR RESEARCH ON   150 COURS ALBERT THOMAS F
   669461 REGISTRIES                                  CANCER                        69372                                                                        LYON CEDEX 08                                   FRANCE
          INTERNATIONAL ASSOC OF
   669462 CANCER REGISTRIES                           150 COURS ALBERT THOMAS                                                                                    LYON CEDEX                        69372

          INTERNATIONAL ASSOCIATION
   228291 OF COMPUTER INVESTIGATIV                    IACIS                         PO BOX 2411                                                                  LEESBURG             VA           20177
   669463 INTERNATIONAL AUTO INC                      PO BOX 283                                                                                                 LARES                PR           00669

   669464 INTERNATIONAL AUTO REFINISH PO BOX 120                                                                                                                 TRUJILLO ALTO        PR           00977
                                      CENTRO DISTRIBUCION Y        EDIFICIO 1 SECC 2 ALTURAS
   669465 INTERNATIONAL BAKERY SUPPLY MERCADEO                     MAYAGUEZ                                                                                      MAYAGUEZ             PR           00680
          INTERNATIONAL BODYGUARD
   669466 ASSO. CARIBBEAN             URB. VILLA LISSETTE          A8 CALLE BENITEZ                                                                              GUAYNABO             PR           00969
          INTERNATIONAL
   228292 BROADCASTING.CORP           1554 BORI                                                                                                                  SAN JUAN             PR           00927‐6113
          INTERNATIONAL BUSINESS      AVE. MAIZ BLOQUE 31‐47 SUITE
   228293 COMPUTER, INC.              101 STA. ROSA                                                                                                              BAYAMON              PR           00959‐0000
          INTERNATIONAL BUSINESS      2413 BOWLAND PARKWAY SUITE
   669467 DIRECTORIES                 102                                                                                                                        VIRGINIA BEACH       VA           234454
          INTERNATIONAL BUSINESS
   228294 FORMS                       PO BOX 194320                                                                                                              SAN JUAN             PR           00919‐4320
          INTERNATIONAL BUSINESS
   669468 MACHINE                     PO BOX 364387                                                                                                              SAN JUAN             PR           00936
          INTERNATIONAL BUSINESS
   228296 MACHINES CORP               654 MUNOZ RIVERA AVE.        8TH FLOOR, SUITE 805                                                                          HATO REY             PR           00918
          INTERNATIONAL BUSINESS
   228299 MACHINES, CORP.             PO BOX 643600                                                                                                              PITTSBURGH           PA           15264‐3600
   669470 INTERNATIONAL CARIBBEAN     PO BOX 5794                                                                                                                SAN JUAN             PR           00902



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          INTERNATIONAL CATERING
   669471 SERVICE                                     A 75 URB MASSO                                                                                         SAN LORENZO            PR           00754
          INTERNATIONAL CHEMTEX
   669472 PUERTO RICO, INC                            PO BOX 363984                                                                                          SAN JUAN               PR           00936‐3984
          INTERNATIONAL CHILDREN S                                               BOLULEVAR SUITE 1170 CORAL
   669473 FOUNDATION INC                              2801 PONCE DE LEON         GABLES                                                                      FLORIDA                PR           33134
          INTERNATIONAL CHILDREN'S                    2801 PONCE DE LEON
   669474 FOUNDATION INC                              BOLUVEVARD                 SUITE 1170                                                                  CORAL GABLES           FL           33134
          INTERNATIONAL CHRISTIAN
   669475 CHURCH                                      PO BOX 4182                                                                                            MAYAGUEZ               PR           00681
          INTERNATIONAL CITY
   669476 MANAGEMENT                                  PO BOX 79403                                                                                           BALTIMORE              MD           21279

   228300 INTERNATIONAL CODE COUNCIL                  4051 WEST FLOSSMOOR ROAD                                                                               COUNTRY CLUB HILLS     CA           60478
          INTERNATIONAL COFFE
   228301 VENDORS INC                                 P O BOX 70171 PMB 145                                                                                  SAN JUAN               PR           00936
          INTERNATIONAL COFFEE
   228302 VENDORS LLC                                 PO BOX 11277                                                                                           SAN JUAN               PR           00922
          INTERNATIONAL COLLECTION
   228303 SYSTEMS INC                                 2761 N COUNTRY CLUB RD     SUITE 100                                                                   TUCSON                 AZ           85716
   669478 INTERNATIONAL COMERCE                       PMB 447                    89 AVE DE DIEGO SUITE 105                                                   SAN JUAN               PR           00927‐6346
          INTERNATIONAL COMMUNITY
   669479 CORRECTIONS ASSO                            PO BOX 1987                                                                                            LA CROSSE              WI           54602

          INTERNATIONAL CONFERENCE
   669480 OF BUILDING OFF              5360 WORKMAN MLL RD                                                                                                   WHITTIER               CA           90601 2298
          INTERNATIONAL CONSORTIUM
   669481 ON                           GOVERNMENTAL FINANCIAL                    MANAGEMENT                                                                  MIAMI                  FL           33199
          INTERNATIONAL CUISINE
   669482 CATERING                     BUENA VISTA                               EE‐8 CALLE RAMOS                                                            BAYAMON                PR           00957
          INTERNATIONAL DATA
   669483 PROCESSING                   PO BOX 362527                                                                                                         SAN JUAN               PR           00936
          INTERNATIONAL DESIGN &
   228304 ENTERTAIMENT ASOC            2618 EDGEWATER DRIVE                      SUITE 200                                                                   ORLANDO                FL           32804
          INTERNATIONAL DESIGN
   669484 MAGAZINE                     P O BOX 2086                                                                                                          HARLAN                 CA           151593
          INTERNATIONAL DISTRIBUITORS
   228266 INC                          PO BOX 1046 SABANA SECA                                                                                               TOA BAJA               PR           00949
   831418 International Distributors   P O Box 1046                                                                                                          Sabana Seca            PR           00949
          INTERNATIONAL DISTRIBUTORS ,
   228305 INC.                         P. O. BOX 1046                                                                                                        SABANA SECA            PR           00952
          INTERNATIONAL DISTRIBUTORS /
   228307 DBA SUMMIT                   PO BOX 1046                                                                                                           SABANA SECA            PR           00952
          INTERNATIONAL DISTRIBUTORS
   228308 INC.                         PO BOX 1046                                                                                                           SANA SECA              PR           00949
          INTERNATIONAL EDUCATIONAL
   669485 CONSULTANTS                  1870 COLLEGE DRIVE                        BATON ROUGE                                                                 BATON ROUGE            LA           70808

          INTERNATIONAL EDUCATIONAL
   669486 DEVELOPMENT SE                              PO BOX 3455                                                                                            CAROLINA               PR           00984‐3455
          INTERNATIONAL EDUCATIONAL
   669487 MGT CORP                                    50 GLEN STREET SUITE 206                                                                               GLEN COVE              NY           11542
   669488 INTERNATIONAL ELECTRIC                      BOX 1645                                                                                               VEGA BAJA              PR           00694



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   669489 INTERNATIONAL ELECTRONICS   PO BOX 1096                                                                                                             BAYAMON               PR           00960‐1096
   669490 INTERNATIONAL EQUIPMENT     163 AVE JUAN ROSADO                                                                                                     ARECIBO               PR           00612
          INTERNATIONAL EROSION
   669493 CONTROL ASSOCIATIO          P O BOX 4904                                                                                                            STEAMBOAT SPRINGS     CO           80477‐4904
          INTERNATIONAL EXAMINATING
   669494 CORP                        SUITE 112‐102                           100 GRAN BULLEVARD PASEOS                                                       SAN JUAN              PR           00926
          INTERNATIONAL EXPEDITIONS
   669495 INC                         1 ENVIRONS PKWY                                                                                                         HELENA                AL           35080
          INTERNATIONAL FEDERATION OF
   228309 LIBRARY ASSOCIATIONS (      PO BOX 191795                                                                                                           SAN JUAN              PR           00919‐1795

   669496 INTERNATIONAL FIDELITY INC CO PO BOX 6001                                                                                                           SAN JUAN              PR           00902
          INTERNATIONAL FLORAL IMPORT
   669497 INC                           7 CALLE RUIZ RIVERA                                                                                                   CABO ROJO             PR           00623

   669498 INTERNATIONAL FOOD SERVICE                  PO BOX 10006                                            PONCE                                           PONCE                 PR           00732

   228314 INTERNATIONAL HARDWARE INC P O BOX 194746                                                                                                           SAN JUAN              PR           00927‐6113

   228315 INTERNATIONAL HARDWER INC                   PO BOX 194746                                                                                           SAN JUAN              PR           00919‐4746
          INTERNATIONAL HOME
   228316 PRODUCTS                                    PO BOX 363885                                                                                           SAN JUAN              PR           00936
   669499 INTERNATIONAL HOME SALES                    PO BOX 3610                                                                                             GUAYNABO              PR           00970
          INTERNATIONAL HOMES
   669500 COSNTRUCTION INC                            PMB 237                 2434 CALLE LOIZA                                                                SAN JUAN              PR           00913‐4745
          INTERNATIONAL HOSPITALITY
   228317 ASSOCIATES                                  1077 AVE. DR. ASHFORD                                                                                   SAN JUAN              PR           00907
          INTERNATIONAL HOSPITALITY
   669501 ASSOCIATES INC                              PO BOX 6067                                                                                             SAN JUAN              PR           00914
          INTERNATIONAL HOSPITALITY
   228318 ASSOCIATES S                                PO BOX 6545                                                                                             SAN JUAN              PR           00914‐6545

   669502 INTERNATIONAL INDUSTRIES INC 222 SEVERN AVENUE                                                                                                      ANNAPOLIS MD          MD           0021403
          INTERNATIONAL INTERPRETERS
   228319 INC                          27402 COSTA ESMERALDA                                                                                                  CEIBA                 PR           00735
          INTERNATIONAL JUNIOR
   669503 COLLEGE                      PO BOX 1284                                                                                                            PONCE                 PR           00733

   669505 INTERNATIONAL LABOUR OFFICE P O BOX 753                                                                                                             WALDORRF              MD           20604‐0753

          INTERNATIONAL LADIES                                                EDIFICIO ILA, AVENIDA KENNEDY
  1260302 GARMENT WORKERS UNION                       RIVERA, JASON           KM 2.1, OFICINA 601                                                             SAN JUAN              PR           00908‐3037
          INTERNATIONAL MANAGEMENT
   228321 SERVICE                                     PO BOX 40840                                                                                            SAN JUAN              PR           00940
          INTERNATIONAL MANAGEMENT
   228322 SERVICE CORP                                D82 PASEO LAS VISTA                                                                                     SAN JUAN              PR           00926
          INTERNATIONAL MARBLE &
   228323 STONE                                       URB SANTA CLARA         P 10 EMAJAGUA                                                                   GUAYNABO              PR           00969
          INTERNATIONAL MARINE
   669506 CENTER                                      HC 80                                                                                                   DORADO                PR           00646
          INTERNATIONAL MARKET AT                     CFM CREDIT FONCIER DE
   669507 BEST                                        MONACO                  AV ALBERT                                                                       MONACO                             98000



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          INTERNATIONAL MEDCOM
   228324 ACCOUNTS PAYABLE                            6871 ABBOTT AVE                                                                                           SEBASTOPOL           CA           95472

   228325 INTERNATIONAL MEDIA SERVICE 3330 PACIFIC AVE, STE 500                                                                                                 VIRGINIA BEACH       VA           23451

   669508 INTERNATIONAL MEDICAL                       URB SAN FERNANDO               M 8 A AVE HERMANOS DAVILA                                                  BAYAMON              PR           00957

   669509 INTERNATIONAL MEDICAL CARD                  P O BOX 9950                                                                                              ARECIBO              PR           00613
          INTERNATIONAL MEDICAL
   228326 TRANSPORT                                   4309 CARR 2 KM 43 3                                                                                       VEGA BAJA            PR           00693
          INTERNATIONAL MOBILE
   669510 TRAINING                                    785 TUCKER ROAD                SUITE G 334                                                                TEHACHAPI            CA           93561
          INTERNATIONAL MONETARY
   669511 FUND                                        PUBLICATION SERVICES           700 19TH STREET NW                                                         WASHINGTON           DC           20431

   228327 INTERNATIONAL MOTORCYCLES CALLE BORI 1578 URB. CARIBE                                                                                                 RIO PIEDRAS          PR           00927

   669512 INTERNATIONAL NETWORKING                    17 C 1019 CARR 19                                                                                         GUAYNABO             PR           00966
          INTERNATIONAL OMBUSDSMAN
   228328 INSTITUTE                                   17 A 1015 SINGERSTRABE                                                                                    VIENA                                           AUSTRALIA
          INTERNATIONAL PARKING
   669513 MANAGEMENT                                  70 AVE PONCE DE LEON           SUITE 103                                                                  SAN JUAN             PR           00918
          INTERNATIONAL PARKING
   228329 SERVICES INC                                PMB 457                        1353 RD 19                                                                 GUAYNABO             PR           00966
          INTERNATIONAL PERSONAL
   669514 MANAGMENT ASOC                              P O BOX 9024261                                                                                           SAN JUAN             PR           00902‐4261
          INTERNATIONAL PERSONNEL
   669515 MANAGEMENT ASOC                             PO BOX 9024261                                                                                            SAN JUAN             PR           00902‐4261
          INTERNATIONAL PERSONNEL
   228330 MGT                                         PO BOX 9024261                                                                                            SAN JUAN             PR           00902‐4261

   228331 INTERNATIONAL PRINTING, INC                 PO BOX 20216                                                                                              SAN JUAN             PR           00928
          INTERNATIONAL QUALITY &
   669517 PRODUCTIVITY CEN                            150 CLOVE ROAD, P O BOX 401                                                                               LITTLE FALLS         NJ           07424‐0401

   669518 INTERNATIONAL READING ASSN                  PO BOX 8139                                                                                               NEWARK               DE           19714‐8139
          INTERNATIONAL RESTAURANT
   669519 SERV CHILIS                                 P O BOX 51990                                                                                             TOA BAJA             PR           00950‐1990
          INTERNATIONAL RISK
   669520 MANAGEMENT INST                             12222 MERIT DRIVE SUITE 1450                                                                              DALLAS               TX           75251‐2276
          INTERNATIONAL ROOFING AND
   669521 CONST                                       REPARTO MONTERREY              5 CALLE ACACIA                                                             PUEBLO VIEJO         PR           00920

   228333 INTERNATIONAL SAFE DEPOSIT                  B‐5 CALLE TABONUCO 216         PMB 353                                                                    GUAYNABO             PR           00968
          INTERNATIONAL SECURITY &
   228334 HEALTH CONVENTION                           DRIVE INN PLAZA PMB 277        SUITE 15                                                                   BAYAMON              PR           00959
          INTERNATIONAL SECURITY
   228335 CERTIFICATION                               2494 BAYSHORE BLVD             SUITE 201                                                                  DUNEDIN              FL           34698
          INTERNATIONAL SECURITY
   669522 FORCES INC                                  P O BOX 194379                                                                                            SAN JUAN             PR           00918‐4379
          INTERNATIONAL SEWING
   228336 SUPPLIES                                    1117, AVE. AMERICO MIRANDA                                                                                SAN JUAN             PR           00921




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          INTERNATIONAL SEWING
   228337 SUPPLIES INC                                CAPARRA TERRACE             1117 AVE AMERICO MIRANDA                                                      SAN JUAN             PR           00921
          INTERNATIONAL SHIPPING
   669524 AGENCY INC.                                 PO BOX 9022748                                                                                            SAN JUAN             PR           00902‐2748
          INTERNATIONAL SOCIETY OF
   669525 ARBORIACULTURE                              POST OFFICE                 BOX 3129                                                                      CHAMPAIGN            IL           61826‐3129
          INTERNATIONAL STORES
   228339 EQUIPMENT                                   CAPARRA TERRACE             1318 AVE JESUS T PINERO       RIO PIEDRAS                                     SAN JUAN             PR           00921‐0000
          INTERNATIONAL STORES
   228340 EQUIPMENT INC                               CAPARRA TERRACE             1318 AVE JESUS T PINERO                                                       SAN JUAN             PR           00921
          INTERNATIONAL SUPPLIES CO
   669526 INC                                         PO BOX 1891                                                                                               MAYAGUEZ             PR           00681
   669527 INTERNATIONAL SUPPLIES INC                  AVE AMERICO MIRANDA         1314 CAPARRA TERRACE                                                          SAN JUAN             PR           00921
          INTERNATIONAL SURVEILLANCE
   228341 SERV CORP                                   METRO OFFICE PARKSIDE PLAZA STE 204                                                                       GUAYNABO             PR           00969
          INTERNATIONAL TECHNICAL
   228342 COLLEGE                                     URB EL VEDADO               104 CALLE LOIZA CORDERO                                                       SAN JUAN             PR           00918
          INTERNATIONAL TECHNICAL                                                 3RA EXT COUNTRY CLUB HA51
   669529 FOOD                                        AND OR SABAH YASSIN         CALLE 217                                                                     CAROLINA             PR           00982
          INTERNATIONAL TECHNICAL                     3042 W INTERNATIONAL
   669530 TRAINING CENTER                             SPEEDWAY BLVD                                                                                             DAYTONA BEACH        FL           32124
          INTERNATIONAL TEXTILE
   669531 PRODUCTS                                    PO BOX 364787                                                                                             SAN JUAN             PR           00936
   669532 INTERNATIONAL TOWING                        URB EL PARAISO              62 CALLE PARANA                                                               SAN JUAN             PR           00926
          INTERNATIONAL TRADE SERVICE
   228343 ASSOC OF PR                                 PO BOX 364225                                                                                             SAN JUAN             PR           00936‐4225
          INTERNATIONAL TRADEMARK
   228344 ASSOCIATION                                 CUSTOMER SERVICE            655 THIRD AVENUE 10TH FLOOR                                                   NEW YORK             NY           10017‐5617
          INTERNATIONAL TRADING INC
   228345 DBA                                         CARLOS CAMACHO GARATEIX     SUITE 209 P O BOX 6400                                                        CAYEY                PR           00737
                                                                                  1225 AVE PONCE DE LEON STE
   228346 INTERNATIONAL TRAVEL CARD                   VIG TOWER                   PH5                                                                           SAN JUAN             PR           00907

   669533 INTERNATIONAL TYPEFACE CORP P O BOX 129                                                                                                               PLAINVIEW            NY           11803 0129
          INTERNATIONAL UNION FOR     NATURE AND NATURAL
   228347 CONSERVATION OF             RESOURCES                                   RUE MAUVERNEY 28                                                              GLAND                             1196          SWITZERLAND
          INTERNATIONAL VIRTUAL
   228348 EDUCATION INSTITUT          BO. CANTERA                                 153 ‐ B SUITE 2                                                               MANATI               PR           00674

   669534 INTERNATIONAL WHOLESALES    URB MARBELLA                                232 CALLE F                                                                   AGUADILLA            PR           00603
          INTERNATIONAL YOUTH
   669535 BASKETBALL                  D F 19 URB TORREMOLINO                                                                                                    GUAYNABO             PR           00969
          INTERNET SECURITY SYSTEMS /
   669536 LATIN AMERIC                6303 BARFIELD ROAD                                                                                                        ATLANTA              GA           30328
          INTERNET SOCIETY OF PUERTO
   228349 RICO INC                    P O BOX 3961973                                                                                                           SAN JUAN             PR           00936‐1973
          INTERNET SOLUTIONS &
   228350 APPLICATION                 EXPERIENCE CORP                             RR 5 BOX 18687                                                                TOA ALTA             PR           00953
          INTERNET VISION DEVELOPMENT
   228352 CORP                        P O BOX 16461                                                                                                             SAN JUAN             PR           00908‐6461
          INTERNET VISION
   228353 DEVELOPMENT,(INVID) CORP    PO BOX 16461                                                                                                              SAN JUAN             PR           00908‐6461




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          INTERNOVA ELECTRICAL
   669537 CONTRACTO                                   RR 9 BOX 1690                                                                                                  SAN JUAN            PR           00926
          INTERNSTIONAL LIBRARY
   228354 SERVICE                                     734 SOUTH HANOVER DR                                                                                           OREM UT             UT           84058
          INTEROC COM INTERNET
   669539 SERVICES                                    PO BOX 20701                                                                                                   NEW YORK            NY           14602

   228355 INTER‐OFFICE                                8117 CALLE CONCORDIA SUITE 1                                                                                   PONCE               PR           00717‐1546
                                                      8117 CALLE CONCORDIA‐SUITE
   228356 INTER‐OFFICE SUPPLIES INC.                  #1                                                                                                             PONCE               PR           00717‐1546

   228357 INTER‐OFFICE SUPPLIES, INC.                 8117 CALLE CONCORDIA STE 1                                                                                     PONCE               PR           00717‐1546
          INTERPAYMENT SERVICES                                                 THORPE WOOD PETERBOROUGH
   228358 LIMITED                                     WORLDWIDE HOUSE PO BOX 36 PE3 658                                                                              PETERBOROUGH                                   UNITED KINGDOM
   669540 INTERPLAN                                   PO BOX 360983                                                                                                  SAN JUAN            PR           00936
          INTERPORT TRADING                           PO BOX 51958 LEVITTOWN
   228366 CORPORATION                                 STATION                                                                                                        TOA BAJA            PR           00950
   228367 INTERPORT TRADING, CORP                     PO BOX 51958              LEVITTOWN STATION                                                                    TOA BAJA            PR           00950‐1958
                                                      3301 BRIGHTON HENRIETRA
   228368 INTERPRETYPE LLC                            TOWN                      LINE ROAD                                                                            ROCHESTER           NY           14623
          INTERPRICE BAKERY AND
   228369 RESTAURANT                                  EQUIPMENT INC                  PO BOX 9903                                                                     ARECIBO             PR           00613

   228370 INTERPRICE BAKERY EQUIPMENT P O BOX 9903                                   COTTO STATION                                                                   ARECIBO             PR           00613
                                                                                     612 C/ FERNANDO GARCIA
   228372 INTERSABIOS INC                             URB VILLA NAVARRA              LEDESMA                                                                         SAN JUAN            PR           00924
          INTERSOFT COMPUTER                                                         1430 AVE JESUS T PINEIRO SUITE
   228374 SOLUTION                                    CAPARRA TERRACE                202                                                                             SAN JUAN            PR           00921
   669542 INTERSPACE                                  PO BOX 5864                                                                                                    CAGUAS              PR           00726
          INTERSTATE FIRE & CASUALTY                  225 W WASHINGTON ST STE
   228376 COMPANY                                     1800                                                                                                           CHICAGO             IL           60606
          INTERSTATE PEST CONTROL
   669543 COMPACT                                     1156 15HT STREET N W           SUITE 1020                                                                      WASHINGTON          DC           20005
   228378 INTERTECH CARIBE INC                        AREA DEL TESORO                DIVISION DE RECLAMACIONES                                                       SAN JUAN            PR           00902‐4140
   669545 INTERTEK CALEB BRETT                        P O BOX 32849                                                                                                  HARTFORD            CT           06150‐2849
   669546 INTERTRADE CARIBE CORP                      PO BOX 19270                                                                                                   SAN JUAN            PR           00910
          INTERVENTIONAL CARDIOLOGY
   669547 ASSOC                                       PAVIA MEDICAL PLAZA            SUITE 207 611 MANUEL PAVIA                                                      SAN JUAN            PR           00909
          INTERVENTIONAL PAIN
   228380 CONSULTANTS                                 3799 RT 46 EAST                SUITE 211                                                                       PARSIPPANY          NJ           07054
          INTERVIEWING RESOURCES
   228381 CORP                                        PMB 510 1353 CARR 19                                                                                           GUAYNABO            PR           00966
   228382 INTERVIRON SERVICES INC                     P O BOX 9024015                                                                                                SAN JUAN            PR           00902‐4015

          INTERVOICE COMMUNICATION
   228383 OF PUERTO RICO                              P. O. BOX 361521                                                                                               SAN JUAN            PR           00936‐1521
          INTERVOICE COMMUNICATIONS
   228384 OF PR INC                                   PO BOX 361521                                                                                                  SAN JUAN            PR           00936‐1521
          INTERWORLD CUSTOMS
   669548 BROKERS INC                                 PO BOX 9023568                                                                                                 SAN JUAN            PR           00902 3568
          INTESTMENT MANAGEMENT
   228385 CONSULTANS                                  5619 DTC PARKWAY STE 500                                                                                       GREENWOOD VILLAGE   CO           80111
   669549 INTI G SANTIAGO NIEVES                      1301 PASEO DEGETAU                                                                                             CAGUAS              PR           00725



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  669550 INTILLIS TOOLS INC                           55 SERVANI COURT                SUITE 9                                                                     NOVATO              CA           94949
  228386 INTITUCION AMOR REAL                         PO BOX 10730                                                                                                PONCE               PR           00732

   228387 INTITUCION NUEVO EBENECER                   CALLE 9 45‐A URB VILLA MADRID                                                                               COAMO               PR           00769
          INTL ASSOC OF COMMERCIAL
   228388 ADMINISTRATORS                              P O BOX 7040                                                                                                DOVER               DE           19903
          INTL ASSOC OF HISPANIC
   669552 FIREFIGHTERS                                7 WHITE OAK DRIVE                                                                                           CLINTON             CT           06413
          INTL BASEBALL ACADEMY &
   228389 NIGH SCHOOL                                 PO BOX 771                                                                                                  TRUJILLO ALTO       PR           00977

   669553 INTL CARDIOVASCULAR GROUP                   URB MONTE OLIMPO                31 CALLE NEPTUNO                                                            GUAYNABO            PR           00969‐4953
          INTL HOSP ASSOC S EN C POR A
   228391 (S E )                                      1077 ASHFORD AVENUE                                                                                         SAN JUAN            PR           00907
          INTL HUNTER EDUCATION                       BOX 490 3795 CLEVELAND
   669554 ASSOCIATION                                 AVENUE                                                                                                      WELLINGTON          CO           80549
          INTL SAFE DEPOSIT & COURIER                 B 5 CALLE TABONUCO 216 PMB
   228397 SERV CORP                                   353                                                                                                         GUAYNABO            PR           00968
          INTL SAFE DEPOSIT & COURRIER                B5 CALLE TABONUCO 216 PMB
   228398 SERV CORP                                   353                                                                                                         GUAYNABO            PR           00968‐0000
          INTNL. SOCIETY FOR
   669555 EDUCATIONA                                  900 NORTH KLEIN                 OK CITY PUBLIC SCHOOL                                                       OKLAHOMA CITY       OK           73106
   228401 INTOSAI                                     SECRETARIA GENERAL              RECHNUNGSHOF                DAMPFSCHFFSTRASS                                VIENA                                           AUSTRIA
   669556 INTOXIMETER INC                             8110 LACKLAND ROAD                                                                                          SAINT LOUIS         MO           63114
   669557 INTRA COM INC                               100 GRAND BLVD                  AVE PASEOS SUITE 112 216                                                    SAN JUAN            PR           00926

   669558 INTRANET COMPUTERINC                        1527 AVE PONCE DE LEON 104                                                                                  SAN JUAN            PR           00926

   228403 INTROLOGIC SERVICES CORP                    P.O. BOX 1508                   INMACULADA B‐4 CALLE CRUZ   TOA BAJA 00949                                  SABANA SECA         PR           00952

   669560 INTRUSION DETECTION INC                     271 EAST 86TH STREET STE 213                                                                                NEW YORK            NY           10028
   228404 INTRUSION DETECTION, INC                    49 GLENHEAD RD                                                                                              GLENHEAD            NY           11545
   228405 INTRUSION INC.                              1101 EAST ARAPAHO RD                                                                                        RICHARDSON          TX           75081
   669561 INTS CASA DORADA INC                        PO BOX 721                                                                                                  LAS PIEDRAS         PR           00771
   228406 INTUIT INC                                  7535 TORREY SANTA FE ROAD                                                                                   SAN DIEGO           CA           92129
          INVASIVE GASTRO INTESTINAL
   228408 MEDICAL SERV                                909 AVE TITO CASTRO             SUITE 612                                                                   PONCE               PR           00716
          INVENTORY SERVICES OF
   669562 PUERTO RICO                                 702‐1 PALMAREJO WARD ROUTE                                                                                  COAMO               PR           00769
          INVERSIONES ARCO AMERICAS
   228410 INC                                         PO BOX 20868                                                                                                SAN JUAN            PR           00928‐0868
   228411 INVERSIONES C Y A.S.E. C\O                  PO BOX 1403                                                                                                 BAYAMON             PR           00960‐1403

   669564 INVERSIONES CARIBE DELTA INC. P O BOX 267                                                                                                               MERCEDITAS          PR           00715
   669565 INVERSIONES COLOMAR INC       P O BOX 828                                                                                                               SAINT JUST          PR           00978

   669566 INVERSIONES COMERCIALES INC. CAPARRA HEIGHTS STATION                        PO BOX 10908                                                                SAN JUAN            PR           00922

   228412 INVERSIONES DE MAYAGUEZ INC PO BOX 967                                                                                                                  MAYAGUEZ            PR           00681

   669567 INVERSIONES DEL MERCADO INC P O BOX 364386                                                                                                              SAN JUAN            PR           00936‐4386
   669568 INVERSIONES DEL TOA INC     PO BOX 2435                                                                                                                 BAYAMON             PR           00960




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          INVERSIONES GARCIA VAZQUEZ
   669569 INC                                          PO BOX 364312                                                                                                      SAN JUAN            PR           00936
          INVERSIONES GONZALEZ &
   228413 PIERESCHI                                    P O BOX 344                                                                                                        ARECIBO             PR           00612
          INVERSIONES ISLETA MARINA
   669570 INC                                          P O BOX 428                                                                                                        PUERTO REAL         PR           00740

   228415 INVERSIONES JOSELYNMARI, S.E. PO BOX 372080                                                                                                                     CAYEY               PR           00737

   228416 INVERSIONES JOSELYNMARIE S E                 P O BOX 372080                                                                                                     CAYEY               PR           00737
   669571 INVERSIONES OLPERI INC                       P O BOX 7705                                                                                                       PONCE               PR           00732
          INVERSIONES RAFAEL A SOTO                    H/N/C RALPHS FOOD
   669572 INC                                          LOACHOUSE                    PO BOX 730                                                                            LAS PIEDRAS         PR           00771
   669573 INVERSIONES REXACH Y PICO                    802 AVE FERNANDEZ JUNCOS     ESQ CALLE LA PAZ                                                                      SAN JUAN            PR           00907

   228417 INVERSIONES TORRES IRIZARRY                  1357 CALLE SALUD STE‐103                                                                                           PONCE               PR           00717
   669574 INVERSIONES VILMASOR INC                     COND MONTECIELO APT 12A      831 CALLE JOSE MARTI                                                                  SAN JUAN            PR           00907
   228418 INVERSIONES VM GOMEZ SE                      PO BOX 2127                                                                                                        SAN JUAN            PR           00922‐2127
          INVESCO CAPITAL
   669575 MANAGEMENT                                   100306 DRAWER CS                                                                                                   ATLANTA             GA           30384‐0306
          INVESTIGATION TRAINING
   669577 INSTITUTE                                    PO BOX 770579                                                                                                      ORLANDO             FL           32877‐0579
          INVESTMENT TRAINING                          3569 HABERSHAM AT
   669578 INSTITUTE                                    NORTHLAKE                                                                                                          TUCKER              GA           30084
          INVESTOR RESPONSIBILITY
   669579 RESEARCH                                     1350 CONNECTICUT AVE NW                                                                                            WASHINGTON          DC           20036‐1702
          INVESTORS LIFE INSURANCE CO
   669580 OF INDIANA                                   6500 RIVERS PLACE BLVD       BUILDING ONE                                                                          AUSTIN              TX           78730
          INVICTORY MEDICAL
   669581 DISTRIBUTORS                                 PO BOX 810249                                                                                                      CAROLINA            PR           00981‐0243
          IN‐VIRO TECHNICAL SERVICES,
   228422 INC                                          PO BOX 194673                                                                                                      SAN JUAN            PR           00919
   831419 In‐Viro Technical Services, Inc.             377 Escorial                                                                                                       San Juan            PR           00920

   669582 INVITACIONES RUIZ MONTILLA                   CAPARRA HEIGHTS              602 AVE ESCORIAL                                                                      SAN JUAN            PR           00920
   669583 INVITATIONS AND DESIGNS                      URB PUERTO NUEVO             607 AVE ANDALUCIA                                                                     SAN JUAN            PR           00920
   669584 INVITROGEN CORPORATION                       3175 STALEY ROAD                                                                                                   GRAND ISLAND        NY           14072
   669585 INVOICE SYSTEM INC                           P O BOX 361082                                                                                                     SAN JUAN            PR           00936 1082
  1256576 INVOICE_COSEY                                REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          INVVEST CIENTIFICAS Y PROY
   669586 EDUCATIVOS IN                                CARR #2 EQ C/8 HNA DAVILAS   MEDICAL OFTHALMIC OF 107                                                              BAYAMON             PR           00959
          INYEMAR CAMACHO
   228423 HERNANDEZ                                    URB VILLAS DE CAMBALACHE 1   BOX 85 CALLE CEIBA                                                                    RIO GRANDE          PR           00745
   669587 IO INTERACTIVE                               P O BOX 11894                                                                                                      SAN JUAN            PR           00922‐1894
   228424 IOANNIS TSOUNIS PAPAZAFIRI                   P.O. BOX 8707                                                                                                      PONCE               PR           00732
   669589 IOHANN R VEGA MARTINEZ                       1103 CALLE HUMACAO           APT C                                                                                 SAN JUAN            PR           00925
   228425 IONEX CRUZ                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228427 IOVANY RIVERA RODRIGUEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228428 IOWA STATE UNIVERSITY                        0880 BEARDSHEAR HALL                                                                                               ARNES               IA           50011
          IPA 21 POLICLINICA FAMILIAR
   228431 FLORIDA                                      72 CALLE ARIZMENDI                                                                                                 FLORIDA             PR           00650
          IPA 22 GRUPO MEDICO DE
   228432 ARECIBO                                      PO BOX 846                                                                                                         ARECIBO             PR           00613



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          IPA 4 COMMNUNITY HEALTH
   228433 CENTER                                      PO BOX 455                                                                                                       MANATI              PR           00674
          IPA 401 PDP HEALTH
   228434 MANAGMENT                                   PMB 261 PO BOX 7105                                                                                              PONCE               PR           00732
   228435 IPA 413 MED CENTRO                          PO BOX 220                                                                                                       MERCEDITA           PR           00715‐0220
   228436 IPA 514 MED CARIBE                          1026 AVE ROOSEVELT            PUERTO NUEVO                                                                       SAN JUAN            PR           00920
          IPA 610 SA INC MEDICAL
   228437 SERVICES                                    195 AVE LAURO PIÑEIRO                                                                                            CEIBA               PR           00735

   228438 IPA 625 S M MEDICAL SERVICE                 PO BOX 1649                                                                                                      CANOVANAS           PR           00729
          IPA E22 CORPORACION
   228439 PUERTORRIQUEÑA DE SALUD                     PO BOX 4980                                                                                                      CAGUAS              PR           00726
                                                      LOPEZ FLORES ESQ BALDORIOTY
   228440 IPA E66 TIGER MEDICAL PLUS                  A1                                                                                                               CAGUAS              PR           00727
   228442 IPNET CORP                                  P O BOX 191135                                                                                                   SAN JUAN            PR           00919‐1135
   228443 IPOLITO TORRES COLLAZO                      PMB 80                      PO BOX 3502                                                                          JUANA DIAZ          PR           00795‐3502
  1256577 IPRO                                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228444 IPRO CONTRACTOR, INC.                       HC1 BOX 5170                                                                                                     CANOVANAS           PR           00729‐0000
   669590 IPSC TECHNOLOGIES INC                       CITIBANK TOWER PISO 19      252 AVE PONCE DE LEON                                                                SAN JUAN            PR           00918‐2001
   669591 IPSEN INC                                   27 MAPLE STREET                                                                                                  MILFORD             MA           01757‐3650

   669592 IPSOS HISPANIA INC                          463 CALLE FERNANDO CALDER                                                                                        SAN JUAN            PR           00918

   669593 IPSOS INSIGHT                               1700 BROADWAY 15TH FLOOR                                                                                         NEW YORK            NY           10019‐5905
          IPVI INST PRE VOCACIONAL
   228446 INDUSTRIAL DE PUERTO RICO                   PO BOX 1800                                                                                                      ARECIBO             PR           00613

   669594 IQ COMPUTERS & SUPPLIES INC                 122 ISABEL ANDREU          BALDRICH                                                                              HATO REY            PR           00918
                                                      700 AVE. JOBOS APARTAMENTO
   228447 IQ CONSULTING GROUP, INC                    763                                                                                                              ISABELA             PR           00662
   228449 IQ KIDS THERAPY CENTER                      195 GAUTIER BENITEZ                                                                                              CAGUAS              PR           00725

   228451 IQ PRINTING LIC                             PO BOX 2813 BAYAMON BRANCH                                                                                       BAYAMON             PR           00960‐2813
   228454 IR CONSULTANT GROUP                         P O BOX 13578                                                                                                    SAN JUAN            PR           00908‐3578
   228455 IR INVESTMENT CORP                          P O BOX 19600              FERNANDEZ JUNCOS STATION                                                              SAN JUAN            PR           00910
   228457 IR REPLACEMENTS INC                         BOX 8501                                                                                                         BAYAMON             PR           00621‐8034
                                                      310 HOSTOS AVE. SUITE 206
   228458 IR SPORT CONNECTION, INC.                   VISTA                      VERDE PLAZA                                                                           MAYAGUEZ            PR           00682‐0000
   228459 IR SPORTS CONNECTION INC                    VISTA VERDE PLAZA          310 AVE HOSTOS LOCAL 206                                                              MAYAGUEZ            PR           00682
          IRA IGLESIA BAUTISTA SABANA
   669596 LLANA                                       PO BOX 29905                                                                                                     SAN JUAN            PR           00929‐0905
   228461 IRACEMA VILA VAZQUEZ                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228463 IRACK A. VELEZ RUIZ                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   669597 IRAD ORTIZ COLON                            PO BOX 1253                                                                                                      TRUJILLO ALTO       PR           00977
   228465 IRAD ORTIZ MORALES                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          IRADIZ MENENDEZ SANTIAGO
   228466 PSY D                                       EDIF PORRATA PILA SUITE 205   2431 AVE LAS AMERICAS                                                              PONCE               PR           00717‐2114
   228467 IRAELIA PERNAS MEANA                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   669600 IRAIDA ACEVEDO SERRANO                      BO SABANA HOYOS               CARR 2 R 639                                                                       ARECIBO             PR           00688
   669599 IRAIDA AGRINZONI CARRILLO                   HC 1 BOX 6251                                                                                                    CANOVANAS           PR           00729
   669601 IRAIDA ALBINO PICHARDO                      URB LA RIVIERA                1276 CALLE 46 SE                                                                   SAN JUAN            PR           00901
   669602 IRAIDA APARICIO                             URB TURABO GARDENS            Z 10 CALLE 18                                                                      CAGUAS              PR           00725
   228470 IRAIDA BLANCO NUNEZ                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  669604 IRAIDA CAMERON AVILES                        HC 01 BOX 4395                                                                                                      BARCELONETA       PR         00617
  669605 IRAIDA CAMPOS MELENDEZ                       RES GLADIOLA                 EDIF 1 APT 305                                                                         SAN JUAN          PR         00917
  669606 IRAIDA CARRILLO JIMENEZ                      P O BOX 1143                                                                                                        RIO GRANDE        PR         00745
  669607 IRAIDA CASIANO VAZQUEZ                       VILLA SULTANITA              715 CALLE BRAVO DE RIVERO                                                              MAYAGUEZ          PR         00680
  228472 IRAIDA CASTRO MELENDEZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  669608 IRAIDA CASTRO RODRIGUEZ                      RES DR PALOU                 EDIF 5 APTO 39                                                                         HUMACAO           PR         00791
  669609 IRAIDA CINTRON                               COND VILLA MAGNA             APT 606                                                                                SAN JUAN          PR         00921
  228474 IRAIDA CINTRON RIVERA                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  669610 IRAIDA COLON CRESPO                          VILLA ANDALUCIA              O 26 UTRERA                                                                            SAN JUAN          PR         00926
  669612 IRAIDA CRUZ LEON                             URB LAS MARIAS               E 1 CALLE 2                                                                            SALINAS           PR         00751
  228475 IRAIDA CRUZ MELENDEZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  228476 IRAIDA CRUZ PAGAN                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  228477 IRAIDA DEL VALLE REYES                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  228479 IRAIDA E DILAN VELAZQUEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  228480 IRAIDA ERAZO ORTEGA                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  669620 IRAIDA FALCON TORRES                         HC 3 BOX 10507                                                                                                      JUANA DIAZ        PR         00795

   228481 IRAIDA FELIU SANTIAGO                       AVE FERNANDEZ JUNCOS PDA 8                                                                                          SAN JUAN          PR         00902
   669621 IRAIDA FRANCO VELAZQUEZ                     TRUJILLO ALTO GARDENS        EDIF A 3 APT 101                                                                       SAN JUAN          PR         00926
   228483 IRAIDA GOMEZ BADILLO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   228484 IRAIDA GONZALEZ DE JESUS                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   228485 IRAIDA HERNANDEZ PEREZ PSY                  HC 58 BOX 14741                                                                                                     AGUADA            PR         00602
   669625 IRAIDA HERNANDEZ ROSADO                     HC 1 BOX 2274 1                                                                                                     MOROVIS           PR         00687
   669626 IRAIDA IRIZARRY IRYZARRY                    7 CALLE SANTURIANO                                                                                                  HORMIGUEROS       PR         00660
                                                      COND PLAZA ANTILLANA APT
   669627 IRAIDA J CINTRON                            6704                         151 CESAR GONZALEZ                                                                     SAN JUAN          PR         00918
   228487 IRAIDA J RIVERA OTERO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   669630 IRAIDA J TRINIDAD LEFEBRE                   URB VALENCIA                 548 CALLE ARNEDO                                                                       SAN JUAN          PR         00923
                                                      3 RES MAYAGUEZ GARDENS APT
   669631 IRAIDA JIMENEZ SANTIAGO                     69                                                                                                                  MAYAGUEZ          PR         00680
   228488 IRAIDA L SOTO VELEZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   228489 IRAIDA LEBRON MATIAS                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   669636 IRAIDA LEBRON SANTIAGO                      PO BOX 329                                                                                                          JUNCOS            PR         00777
   228490 IRAIDA LLANOS RODRIGUEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   669639 IRAIDA LOPEZ MALDONADO                      GANDARAS II                  BUZON 23 A                                                                             CIDRA             PR         00739
   669640 IRAIDA LOPEZ RAMOS                          BO SALTO BOX 3116                                                                                                   CIDRA             PR         00739
   228492 IRAIDA LOPEZ ROBLES                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   228493 IRAIDA M AYALA CRUZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   228494 IRAIDA M COLON FELIX                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   669643 IRAIDA MARCANO BAEZ                         PO BOX 219                                                                                                          CIDRA             PR         00739
   228495 IRAIDA MARIN GONZALEZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   228496 IRAIDA MARTINEZ CRUZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   669644 IRAIDA MARTINEZ PANETO                      EL CERRO                     41 1RA DE MAYO                                                                         YAUCO             PR         00698

   228497 IRAIDA MARTINEZ RODRIGUEZ                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   669645 IRAIDA MARTIR MEDINA                        URB SANGRADO CORAZON         1620 SANTA URSULA                                                                      SAN JUAN          PR         00926
   228498 IRAIDA MEDINA GONZALEZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   669647 IRAIDA MENDEZ ROMAN                         PO BOX 1354                                                                                                         MOCA              PR         00676
   669648 IRAIDA MIRANDA SANTIAGO                     P O BOX 647                                                                                                         CIALES            PR         00638
   228499 IRAIDA MOJICA MOJICA                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   228501 IRAIDA MUNIZ MARTINEZ/                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   228502 IRAIDA MUNIZ RUIZ                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED



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  669598 IRAIDA NAZARIO GARCIA                        PO BOX 282                                                                                                    SAN GERMAN        PR         00683
  228505 IRAIDA NEVAREZ RIVERA                        REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  228506 IRAIDA OQUENDO SOTO                          REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  669651 IRAIDA ORTA INFANTE                          BO MIRABALES            HC 04 BOX 15495                                                                       SAN SEBASTIAN     PR         00685
  669652 IRAIDA ORTIZ MENDEZ                          HC 1 BOX 11910                                                                                                SAN SEBASTIAN     PR         11910
  228507 IRAIDA ORTIZ OLIVERA                         REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  228508 IRAIDA ORTIZ VERGARA                         REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  228509 IRAIDA PACHECO CARABALLO                     REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  669653 IRAIDA PAGAN BURGOS                          HC 05 BOX 56350                                                                                               CAGUAS            PR         00725‐9224
  669654 IRAIDA PAGAN MARTINEZ                        FACTOR I                51 CALLE G                                                                            ARECIBO           PR         00612
  669655 IRAIDA PEREZ                                 BO PTE JOBOS            BOX 38 CALLE 3A 65                                                                    GUAYAMA           PR         00784
  669656 IRAIDA PEREZ ORTIZ                           PUERTO REAL             20 CALLE 7 A                                                                          CABO ROJO         PR         00623
  228510 IRAIDA PEREZ PEREZ                           REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  669658 IRAIDA PIMENTEL TORRES                       URB PUERTO NUEVO        1053 CALLE ALPES                                                                      SAN JUAN          PR         00920
  669661 IRAIDA RAMOS PEREIRA                         HC 1 BOX 4814 A                                                                                               CAMUY             PR         00627
  228514 IRAIDA REBOYRAS SANTOS                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  669662 IRAIDA REYES SOLER                           HC 01 BOX 4898                                                                                                SABANA HOYOS      PR         00688
  228515 IRAIDA RIVERA OTERO                          REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  669664 IRAIDA RIVERA PAGAN                          METADONA PONCE                                                                                                Hato Rey          PR         00936
  669665 IRAIDA RIVERA ROSARIO                        PO BOX 192                                                                                                    DORADO            PR         00646
  228516 IRAIDA RIVERA VAZQUEZ                        REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         IRAIDA RODRIGUEZ
  228517 BETANCOURT                                   REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  669667 IRAIDA RODRIGUEZ IRIZARRY                    LEVITTVILLE LEVITTOWN   SD 16 CALLE DIANA                                                                     TOA BAJA          PR         00949
  669668 IRAIDA RODRIGUEZ LOPEZ                       9614 RIVERS BEND CT                                                                                           ORLANDO           FL         32825
  228518 IRAIDA RODRIGUEZ MATOS                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  669669 IRAIDA RODRIGUEZ MORALES                     BO BARAHONA 135 B       CALLE JOSE PEREZ                                                                      MOROVIS           PR         00687

   228519 IRAIDA RODRIGUEZ QUINONEZ                   REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228521 IRAIDA ROIG TORRES                          REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228522 IRAIDA ROMAN ARANA                          REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669671 IRAIDA ROMAN PEREZ                          HC 4 BOX 14805                                                                                                MOCA              PR         00676
   669672 IRAIDA ROSADO NIEVES                        22 RES QUINTANA                                                                                               SAN JUAN          PR         00917
   228523 IRAIDA ROSADO TORRES                        REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228524 IRAIDA SALABARRIA PEÐA                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228525 IRAIDA SALABARRIA PENA                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228526 IRAIDA SANTIAGO ROLON                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669673 IRAIDA SANTOS CLEMENTE                      VILLA CAROLINA          136‐10 CALLE 406                                                                      CAROLINA          PR         00985
          IRAIDA SEPULVEDA
   228527 MONSERRATE                                  REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228528 IRAIDA SERRALLES                            REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669674 IRAIDA SERRANO ALICEA                       P O BOX 6671                                                                                                  CAGUAS            PR         00726
   669675 IRAIDA SOBRADO CRUZ                         URB EL COMANDANTE       966 CALLE JOSE DE JOSSIU                                                              SAN JUAN          PR         00924
   669676 IRAIDA SOSA FERNANDEZ                       URB PUERTO NUEVO        138 CALLE 18 NO                                                                       SAN JUAN          PR         00920
   669677 IRAIDA SOSTRE PEREZ                         P O BOX 3018                                                                                                  BAYAMON           PR         00960
   669678 IRAIDA TOLEDO FUMERO                        BO OJO DE AGUA          108 CALLE BEGONIA                                                                     VEGA BAJA         PR         00693
   228529 IRAIDA TORRES FLORES                        REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669680 IRAIDA TORRES GONZALEZ                      P O BOX 367238                                                                                                SAN JUAN          PR         00936
   669681 IRAIDA VAZQUEZ CASTILLO                     VALLE SECO RIO HONDO    2377 CALLE 380                                                                        MAYAGUEZ          PR         00680
   669682 IRAIDA VAZQUEZ GONZALEZ                     URB REGIONAL            C 8 CALLE 4                                                                           ARECIBO           PR         00612
   669683 IRAIDA VAZQUEZ SUAREZ                       HC 06 BOX 66528                                                                                               AGUADILLA         PR         00603‐9853
   669684 IRAIDA VEGA HERNANDEZ                       PO BOX 1958                                                                                                   CAYEY             PR         00737
   228531 IRAIDA VEGA PEREZ                           REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  669685 IRAIDA VELEZ RUIZ                            BO QUEBRADA GRANDE          HC 2 BOX 26071                                                                          MAYAGUEZ          PR         00680
  228532 IRAIMA Y ROSA BERRIOS                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   669686 IRAIMALY GONZALEZ FONTANEZ BOX 384                                                                                                                              LAS PIEDRAS       PR         00698
          IRAINES CANDELARIO
   228534 RODRIGUEZ                  REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   669687 IRAIZALY RODRIGUEZ MORALES SECTORT SONUCO BOX 115                                                                                                               ISABELA           PR         00662
   228535 IRALIS M JIMENEZ RAMIREZ    REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228537 IRAMIS N VEGA SIERRA        REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          IRAN INANOVICH CARRASQUILLO
   669688 LEON                        CONTRY CLUB                                 HB 19 CALLE 216                                                                         CAROLINA          PR         00982
   228538 IRAN SANCHEZ DAVILA         REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228539 IRANIA DE LEON ROSARIO      REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228540 IRANIA LOPEZ RODRIGUEZ      REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228550 Iraola‐Caraballo, Hilda     REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228551 IRARDO MARTELL GONZALEZ     REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          IRASEMA M HERNANDEZ
   228552 MELENDEZ                    REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669690 IRASEMA PEREZ SANTANA       URB EL BATEY                                H 2132 CALLE 3                                                                          FAJARDO           PR         00738
   669691 IRASEMA ROLDAN MARQUEZ      HC 01 BOX 8214                                                                                                                      CANOVANAS         PR         00729‐9722

   669692 IRAYS RUIZ JORGE                            APARTAMENTO 40              AVE LOS PATRIOTAS CARR 111                                                              LARES             PR         00669
   669693 IRAZEL PELLOT RODRIGUEZ                     HC 03 9040                                                                                                          MOCA              PR         00676
   669694 IRBA E DE LA TORRE RAMON                    COND VALLE DEL SOL          APT 412                                                                                 BAYAMON           PR         00959
   228554 IRCA M MUNOZ RONDON                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   669696 IRCHA I MARTINEZ RODRIGUEZ                  BONNEVILLE TERRACE          C 7 CALLE 3                                                                             CAGUAS            PR         00725
   669697 IRCIA ESTRADA ALLENDE                       PO BOX 1202                                                                                                         TRUJILLO ALTO     PR         00976
   669698 IRCO CAR CARE                               PO BOX 190876                                                                                                       SAN JUAN          PR         00919‐0876
   669700 IRDING L GASTON GONZALEZ                    PO BOX 6004                                                                                                         PONCE             PR         00731‐6004

   669701 IREALISS ECHEVARRIA CORTES                  PO BOX 1419                                                                                                         BARCELONETA       PR         00617
   669702 IREANN PAGAN BARTOLOMEI                     P O BOX 618                                                                                                         COTTO LAUREL      PR         00780
   669703 IREISALIZ GARCIA                            VILLA VERDE                 C 34 CALLE 2                                                                            BAYAMON           PR         00959
   669704 IRELBA RODRIGUEZ MOTTA                      URB MONTE ATENAS            106 ATENEA                                                                              SAN JUAN          PR         00926
   228555 IRELIS M BELEN PENALOZA                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669705 IRELIS MORALES MIRANDA                      P O BOX 1095                                                                                                        VEGA ALTA         PR         000692
   228556 IRELIS PEREZ NIEVES                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228557 IRELIS RODRIGUEZ CASTRO                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228559 Irelis Tapia Ayala                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228560 IRELISS GINES TORRES                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669708 IRELISSE N GALLETTI RAMOS                   HC 01 BOX 6181                                                                                                      YAUCO             PR         00698

   669709 IRELIZ M HERNANDEZ VARGAS                   BO ISLOTE II                217 CALLE 10                                                                            ARECIBO           PR         00612
   228561 IRELYS BENITEZ ROLON                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669710 IRELYS MEDINA CRUZ                          RR 2 BOX 8901                                                                                                       MANATI            PR         00674
   228562 IRELYS RAMIREZ RAMOS                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          IREMA SERVICES                              5025 VIA CANGREJOS CAMINO
   669711 MULTICIPLINARIOS DE SALUD                   DEL MAR                                                                                                             TOA BAJA          PR         00949
   228563 IREN M ORTIZ RAMIREZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228564 IREN M. ORTIZ RAMIREZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669713 IRENA OJEDA RIBADA                          191 CALLE JOSE DEL RIO                                                                                              MOROVIS           PR         00687



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MML ID                NAME                                      ADDRESS 1                    ADDRESS 2                   ADDRESS 3                           ADDRESS 4             CITY        STATE    POSTAL CODE       COUNTRY
  669716 IRENE ACEVEDO VALENTIN                       BO BORINQUEN                BZN 2091                                                                               AGUADILLA          PR         00603
  669717 IRENE ALVAREZ DIAZ                           HC 646 BOX 8189                                                                                                    TRUJILLO ALTO      PR         00976
  669718 IRENE APONTE MORA                            HC 01 BOX 5529                                                                                                     LAS MARIAS         PR         00670
  228569 IRENE C PADIN GONZALEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228572 IRENE CANTRE VALLE                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         IRENE CINTRON/JULIO R
  228573 CINTRON/ISSA VELEZ                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228574 IRENE CURBELO MEDINA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         IRENE DE JE3SUS GOMEZ Y
  228575 CARMEN TORRES                                REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669721 IRENE DE JESUS JIMENEZ                       BO TORRECILLA               BOX 199 C/ JUAN MERCADO                                                                MOROVIS            PR         00687
  228576 IRENE DE LA TORRE BERRIOS                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669722 IRENE DOMINGUEZ RIVERA                       HC 01 BOX 11190                                                                                                    CAROLINA           PR         00985
  228580 IRENE E PENA REYES                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669724 IRENE ESTRADA GALARZA                        PO BOX 725                                                                                                         ENSENADA           PR         00647
  228581 IRENE FERRER TORO                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228584 IRENE GNEMI DE MELENDEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669714 IRENE GONZALEZ                               23 CALLE ROBLES                                                                                                    UTUADO             PR         00541‐2549
  669727 IRENE GONZALEZ RODRIGUEZ                     BDA SAN JOSE                118 CALLE DORATHY BAURNE                                                               ARECIBO            PR         00612
  669715 IRENE GRANELL MARTINEZ                       URB ALTURAS DE MAYAGUEZ     3141 CALLE ATALAYA                                                                     MAYAGUEZ           PR         00680 6211
  228586 IRENE H MERCADO PANTOJA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669728 IRENE I NAZARIO SEGARRA                      P O BOX 1119                                                                                                       MAYAGUEZ           PR         00681
  228587 IRENE IGLESIAS CORTES                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669729 IRENE ITURRINO FERRER                        METRO OFFICE PARK III       CALLE 1 SUITE 108 BOX 210                                                              GUAYNABO           PR         00968
  669730 IRENE J. VELAZQUEZ                           PO BOX 628                                                                                                         GURABO             PR         00778
  228588 IRENE JORGE QUINONES                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228589 IRENE KERY ERNEX                             REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669731 IRENE L RAMIREZ IRIZARRY                     PO BOX 94                                                                                                          SAN GERMAN         PR         00683‐0094
  669732 IRENE LIBRAN                                 PO BOX 6                                                                                                           ARECIBO            PR         00612
  669733 IRENE LLANOS COTTO                           VILLA PALMERA               315 CALLE ISMAEL RIVERA                                                                SAN JUAN           PR         00912
  669734 IRENE LOPEZ / ADA E LOPEZ                    HC 57 BOX 10610                                                                                                    AGUADA             PR         00602

   669735 IRENE M HERNANDEZ ESTEVES                   CONDOMINIO SEGOVIA APT 404 650 CALLE SERGIO CUEVAS                                                                 SAN JUAN           PR         00918
          IRENE M. HERNANDEZ
   228591 RODRIGUEZ                                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   669736 IRENE MALDONADO SANABRIA                    URB PARQUE DE ISLA VERDE    108 CALLE CORAL                                                                        CAROLINA           PR         00979
   669737 IRENE MARTINEZ HERNANDEZ                    RES LAS MARGARITAS          EDIF 12 APT 110                                                                        SAN JUAN           PR         00915
   669738 IRENE MERCED MELENDEZ                       1458 ELDRA DR                                                                                                      KISSIMIMEE         FL         34744
   669739 IRENE MERCED ORTIZ                          EL CORTIJO                  J 12 CALLE 12                                                                          BAYAMON            PR         00956
   228596 IRENE NIEVES DEL VALLE                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228599 IRENE NUNEZ RODRIGUEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228600 IRENE OLMO NIEVES                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228601 IRENE ORTIZ BARREAL                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          IRENE P CORDERO/ ODETTE I
   228603 ALMEYDA                                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228604 IRENE PAREDES GONZALEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   669741 IRENE PEREZ ORTIZ                           ROLLING HILLS               811 COND LISSETTE                                                                      CAROLINA           PR         00987
   669742 IRENE PEREZ SOTO                            TRINA PADILLA EDIF 25                                                                                              ARECIBO            PR         00612
   228605 IRENE QUINONES VAZQUEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228606 IRENE RAMIREZ                               REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228607 IRENE RAMOS CABAN                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   669744 IRENE REYES LABOY                           P O BOX 731                                                                                                        SALINAS            PR         00751



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  228608 IRENE RIAL BOU                               REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  669745 IRENE RIVERA LOPEZ                           RES PONCE HOUSING            EDIF 6 APT 65                                                                          PONCE             PR         00730
  669746 IRENE RIVERA MUNDO                           PO BOX 7978                                                                                                         PONCE             PR         00732
  669747 IRENE RIVERA RODRIGUEZ                       PO BOX 1121                                                                                                         PATILLAS          PR         00723
  228610 IRENE RIVERA, EULALIA                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  669748 IRENE ROBLES ROBLES                          PARC AGUAS CLARAS            P O BOX 1033                                                                           CEIBA             PR         00735
  669749 IRENE RODRIGUEZ                              HC 4 BOX 17730                                                                                                      CAMUY             PR         00627
  669752 IRENE RODRIGUEZ CRUZ                         HC 01 BOX 6121                                                                                                      SABANA HOYOS      PR         00688
  669753 IRENE RODRIGUEZ RIVERA                       URB SANTA JUANITA            M 42 CALLE FORMOSA                                                                     BAYAMON           PR         00956

   228613 IRENE RODRIGUEZ RODRIGUEZ                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228616 IRENE ROMAN MARTINEZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      BO. COCO NUEVO #11 C/ JOSE
   669754 IRENE ROSADO SANTIAGO                       DE DIEGO                                                                                                            SALINAS           PR         00751

   669755 IRENE ROSARIO VALES                         URB COLINAS DEL PLATA        41 CALLE CAMINO DEL MONTE                                                              TOA ALTA          PR         00953
   228618 IRENE SIERRA SANTIAGO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228620 IRENE SOTO HERNANDEZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669759 IRENE TORRES CLASS                          RR 10 BOX 10352                                                                                                     SAN JUAN          PR         00926
   669760 IRENE VALLADARES                            PO BOX 320                                                                                                          AGUADA            PR         00602
   669761 IRENE VALLE GARCIA                          PC 12‐41 PUERTO REAL                                                                                                CABO ROJO         PR         00623
   228622 IRENE VEGA FELICIANO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   228625 IRENES BETANCOURT CORDERO                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228629 IRENES RAMOS SANTIAGO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228630 IRENID GONZALEZ RIVERA                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228631 IRENIO IRIZARRY MARTIR                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669764 IRENIO LOPEZ MERCADO                        P O BOX 206                                                                                                         LAS MARIAS        PR         00670
   228632 IRENIO MONTALVO RIOS                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669766 IRENIZ CARTAGENA CRUZ                       RES PADRE RIVIERA            EDIF 5 APT 101                                                                         HUMACAO           PR         00791

   228633 IRETTE XIOMARA DAVILA PEREZ                 REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228634 IRG OFFICE SOLUTIONS                        AVE. BOULEVARD               G ‐ 20                                                                                 TOA BAJA          PR         00949
   669767 IRG RESEARCH GROUP INC                      PO BOX 9024275                                                                                                      SAN JUAN          PR         00902‐4275
   228636 IRIA C COLON CASALS                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669768 IRIA I CENTENO PEREZ                        BOX 885                                                                                                             LARES             PR         00669
          IRIA YOLANDA MARRERO
   669769 SANTOS                                      HC 4 BOX 3050                                                                                                       BARRANQUITAS      PR         00794
   228639 IRIALIZ VELEZ QUINONES                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228641 IRIALYS FIGUEROA RIVERA                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669770 IRIAM DOMENECH SERRANO                      P O BOX 171                                                                                                         BAJADERO          PR         00616
   228643 IRIANA M TOLEDO RIOS                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  1420067 IRIARTE, MARIANA                            JOSÉ E. TORRES VALENTÍN      #78 CALLE GEORGETTI                                                                    SAN JUAN          PR         00925
   228651 IRICEL RIVERA CHRISTIAN                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   228652 IRICELIS D RODRIGUEZ NEGRON                 REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669772 IRICELY ORTIZ PIZARRO                       PO BOX 170                                                                                                          LOIZA             PR         00772
                                                      1212 TIERRA BELLA AVE
   669773 IRIDEX CORP                                 MOUNTAIN VIEW                                                                                                       CALIFORNIA        CA         94043‐1824
   669774 IRIMARY LESPIER SANTIAGO                    PO BOX 330165                                                                                                       PONCE             PR         00733‐0165
   228664 IRIMER ALVAREZ CASTRO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669775 IRINESLY CRUZ VAZQUEZ                       LAS LEANDRAS                 E 38 CALLE 11                                                                          HUMACAO           PR         00791
   228667 IRINNES RAMOS TORRES                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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MML ID                    NAME                                 ADDRESS 1                          ADDRESS 2                ADDRESS 3                           ADDRESS 4               CITY       STATE    POSTAL CODE        COUNTRY
                                                      1225 N WICKHAM RD 625
   669776 IRIQUIS PAPER CO                            MELBOURNE                                                                                                            MELBOURNE                       32935‐8915
  1420068 IRIS                                        GENOVEVA VALENTÍN SOTO        PO BOX 13695                                                                           SAN JUAN             PR         00908‐3695
   228669 IRIS A ALOMAR NEGRON                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   228670 IRIS A ALVAREZ RODRIGUEZ                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   669783 IRIS A COLON MARRERO                        URB SABANERA                  157 CAMINO LAS POMARROSAS                                                              CIDRA                PR         00739
   228671 IRIS A DAVILA MALDONADO                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   228672 IRIS A DE LEON CASTRO                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   669785 IRIS A FEBRES HIRALDO                       BO BARRAZAS                   PO BOX 114A                                                                            CAROLINA             PR         00986
   669786 IRIS A FERNANDEZ MENA                       CALLE AMERICO SALAS           APT 201 ‐1400                                                                          SAN JUAN             PR         00909
   228673 IRIS A FIGUEROA ROBLES                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   228674 IRIS A GONZALEZ ORTIZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   669787 IRIS A GRACIA FUENTES                       HC 01 BUZON 4453                                                                                                     ARROYO               PR         00714
   669788 IRIS A MERCADO VELEZ                        URB SAN VICENTE               77 CALLE 10                                                                            VEGA BAJA            PR         00693
   228675 IRIS A MOLINARIS NEGRON                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   228676 IRIS A NAVEDO ALVARADO                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   228677 IRIS A ORTIZ DAVILA                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
                                                      URB CAPARRA TERRACE 1514 C/
   669790 IRIS A PERDOMO PEREZ                        16 SO                                                                                                                SAN JUAN             PR         00921
   228678 IRIS A QUINONES RODRIGUEZ                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   669791 IRIS A REYES MALDONADO                      P O BOX 277                                                                                                          UTUADO               PR         00641
   669792 IRIS A RIVERA BAERGA                        P 123 VILLA JUVENTUD                                                                                                 TOA ALTA             PR         00953
   228679 IRIS A RIVERA ROMAN                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   669794 IRIS A RODRIGUEZ REYES                      URB LA ESPERANZA              J 2 CALLE 7                                                                            VEGA ALTA            PR         00692
   669795 IRIS A ROSADO ALMODOVAR                     HC 37 BOX 7827                                                                                                       GUANICA              PR         00653
   228680 IRIS A SANCHEZ VELEZ                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   228681 IRIS A SANTIAGO COLON                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   669796 IRIS A SOLANO VELEZ                         PO BOX 3157                                                                                                          AGUADILLA            PR         00605
   669797 IRIS A TAPIA BARRIOS                        URB VILLAS DEL MONTE          HH 21 CALLE MONTEFLORES                                                                TOA ALTA             PR         00953
   228683 IRIS A TORRES ORTIZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   228684 IRIS A VELEZ ROBLES                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   228685 IRIS A. MATOS RIVERA                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
                                                      2053 AVE PEDRO ALBIZU
   669799 IRIS ACEVEDO MARTY                          CAMPOS                        SUITE 2 PMB 120                                                                        AGUADILLA            PR         00603‐6083
   669800 IRIS ACEVEDO OLAVARRIA                      AVE LAS PALMAS                                                                                                       SAN JUAN             PR         00907
   228686 IRIS ACOSTA ADORNO                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   669801 IRIS ACOSTA SANTIAGO                        P O BOX 330721                                                                                                       PONCE                PR         00733‐0721
                                                      URB. VILLA DE SAN AGUSTIN
   228687 IRIS ALBIZU RIVERA                          CALLE 6 G‐3                                                                                                          BAYAMON              PR         00959
   669804 IRIS AMADOR FORTIER                         URB LAS LEANDRAS              G 1 CALLE 9                                                                            HUMACAO              PR         00791
   228688 IRIS ANDINO PAGAN                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   669805 IRIS ANETTE FIGUEROA RIVERA                 VISTAMAR                      604 COCO BEACH                                                                         RIO GRANDE           PR         00745‐4640
   228689 IRIS AQUINO COTTO                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   669807 IRIS AYALA RUIZ                             URB VILLAS DE CASTRO          KK 22 CALLE 700                                                                        CAGUAS               PR         00725
   228691 IRIS B CARABALLO BAEZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   228692 IRIS B CRUZ OQUENDO                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   228693 IRIS B CRUZ RIVERA                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   228694 IRIS B CRUZ SOTO                            REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   228695 IRIS B FERRER ENCARNACION                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   228696 IRIS B GARCIA NIEVES                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   228697 IRIS B GUZMAN                               REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED



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MML ID                NAME                                      ADDRESS 1                     ADDRESS 2                  ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  669811 IRIS B MACHAVELO SANCHEZ                     HC 05 BOX 5616                                                                                                     JUANA DIAZ        PR         00795
  228698 IRIS B RODRIGUEZ                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  228699 IRIS B RODRIGUEZ QUINONES                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                   20 CALLE PARANA URB EL
   669812 IRIS B ROSADO MANZANET                      CORONA COMERCIAL             PARAISO                                                                               SAN JUAN          PR         00926
   228700 IRIS B. AYALA DE LA ROSA                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228701 IRIS B. FONTANEZ CASTILLO                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228702 IRIS B. VAZQUEZ ROSADO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228703 IRIS BAEZ ACEVEDO                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669814 IRIS BARBOSA NEGRON                         B C 19 URB SAN THOMAS                                                                                              PONCE             PR         00716
   669815 IRIS BARILLAS CRESPO                        P O BOX 5000 PMB 432                                                                                               CAMUY             PR         00627
   228704 IRIS BARRETO VELEZ                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669816 IRIS BATISTA ORTEGA                         CAROLINA HOUSING             EDIF 5 APT 44                                                                         CAROLINA          PR         00987
   669817 IRIS BELEN OLMEDA                           P O BOX 188                                                                                                        SABANA GRANDE     PR         00637
   669820 IRIS BERMUDEZ GONZALEZ                      3 ALT DEL ROBLEGAR                                                                                                 UTUADO            PR         00614
          IRIS BERNIER LANDRON /
   669821 UBALDO BERNIER                              1305 VERMONT AVE 1401                                                                                              ATLANTIC CITY     NY         08401‐7850
   669823 IRIS BERRIOS MARTINEZ                       HC 71 BOX 3802                                                                                                     NARANJITO         PR         00719
   669824 IRIS BERRIOS SANTIAGO                       URB VALLE ALTO               1706 CALLE LLANURA                                                                    PONCE             PR         00730‐4136
   228705 IRIS BETANCOURT NAZARIO                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228706 IRIS BETSY RIVERA DIAZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228707 IRIS BORRERO SANTOS                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228708 IRIS BURGOS                                 REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669825 IRIS BURGOS CRUZ                            PO BOX 4                                                                                                           SABANA HOYOS      PR         00688
   669828 IRIS C CUADRADO GOMEZ                       HC 01 BOX 16849                                                                                                    HUMACAO           PR         00791‐9733
   669829 IRIS C GONZALEZ                             EL PARAISO                   155 CALLE GUADALQUIVIR                                                                SAN JUAN          PR         00926
   228709 IRIS C PARRILLA ORTIZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669831 IRIS C RESTO SANTANA                        URB CANA                     JJ 22 CALLE 22                                                                        BAYAMON           PR         00957
   228710 IRIS C SANCHEZ QUINONES                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228711 IRIS C TORRES COLON                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   669826 IRIS C VAZQUEZ PEREDA                       PARC ELIZABETH PUERTO REAL   337 CALLE AZUCENA                                                                     CABO ROJO         PR         00623
   669832 IRIS C. ALTIERI AVILES                      URB PUERTO NUEVO             507 CALLE ARAGON # 507                                                                SAN JUAN          PR         00920
   669833 IRIS C. JIMENEZ FERRER                      14 CALLE AMAPOLA APT 305                                                                                           CAROLINA          PR         00979
   228712 IRIS C. ORTIZ TORRES                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228713 IRIS C. RODRIGUEZ LAZU                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669834 IRIS CABRERA                                8522 WILLOW OAK ROAD                                                                                               BALTIMORE         MD         21234
   669835 IRIS CABRERA MALDONADO                      URB VILLA CAROLINA           108‐18 CENTRAL BOULEVARD                                                              CAROLINA          PR         00985
   669837 IRIS CAMACHO MALDONADO                      BO PUERTO REAL               BOX 682                                                                               VIEQUES           PR         00765
   228714 IRIS CAMACHO PEDRAZA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669838 IRIS CARDONA MONROIG                        PO BOX 6257                                                                                                        MAYAGUEZ          PR         00681‐6257
   228717 IRIS CARMONA DELGADO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669840 IRIS CASTRO CASTILLO                        HC 01 BOX 6904                                                                                                     CIALES            PR         00638
   669841 IRIS CASTRO GARCIA                          URB TOA LINDA                B10 CALLE A                                                                           TOA ALTA          PR         00953‐4609
   228718 IRIS CATALA DE JESUS                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          IRIS CATERING & RENTAL SERV
   669842 INC                                         LAS LOMAS                    752 CALLE 31 SO                                                                       SAN JUAN          PR         00921
   228719 IRIS CECILIA ROSADO MUNIZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228720 IRIS CEDENO COLON                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   228722 IRIS CEPEDA MORALES                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669843 IRIS CINTRON VIRUET                         BO CORTES                    RR 2 BOX 8415                                                                         MANATI            PR         00674
   228723 IRIS CLAUDIO JAIME                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   669844 IRIS COLLAZO CARRASQUILLO                   VILLA LA MARINA              0 5 CALLE 7                                                                           CAROLINA          PR         00979



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  228724 IRIS COLLAZO COLLAZO                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228727 IRIS COLON FELICIANO                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669848 IRIS COLON GONZALEZ                           URB BELLO HORIZONTE F 2    CALLE 2                                                                                GUAYAMA            PR         00784
  669849 IRIS COLON LEBRON                             RES LAS CASAS EDIF 35      APT 413                                                                                SAN JUAN           PR         00915
  228728 IRIS COLON MAZUREK                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228729 IRIS COLON MONTANEZ                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669850 IRIS COLON MORALES                            HC 1 BOX 5079                                                                                                     JAYUYA             PR         00664‐9710
  228730 IRIS CORDERO ROMAN                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669853 IRIS CORTES MELENDEZ                          RES JARDINES DE CUPEY      EDIF 21 APT 248                                                                        SAN JUAN           PR         00926
  228731 IRIS CORTES TORRES                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669854 IRIS COSME ESPADA                             BO QUEBRADILLAS                                                                                                   BARRANQUITAS       PR         00794
  228732 IRIS CRESPO QUINONEZ                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669778 IRIS CRUZ PAGAN                               URB COLINAS DE FAIR VIEW   L 48 CALLE 211                                                                         TRUJILLO ALTO      PR         00976
  669855 IRIS CRUZ SANTINI                             URB SAN PEDRO              G 2 CALLE 7                                                                            TOA ALTA           PR         00949
  228733 IRIS D ALEMAN MORALES                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669856 IRIS D ALFONSECA RAMOS                        HC 01 BOX 7415                                                                                                    LOIZA              PR         00772
  228734 IRIS D ANDINO PAGAN                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669858 IRIS D AVILES GARCIA                          HC 03 BOX 39395                                                                                                   AGUADILLA          PR         00603
  669859 IRIS D CABAN GONZALEZ                         P O BOX 4810                                                                                                      AGUADILLA          PR         00605
         IRIS D CABEZUDO / FLORISTERIA
  669860 LIARIS                                        PO BOX 1556                                                                                                       GUAYAMA            PR         00784‐1556
  228735 IRIS D CALDERA RODRIGUEZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669862 IRIS D CANDELARIO NAZARIO                     PO BOX 6833                SANTA ROSA UNITED STATION                                                              BAYAMON            PR         00960
  228736 IRIS D CARMONA LOUBRIEL                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   228737 IRIS D CARTAGENA CARTAGENA                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228738 IRIS D COLON CRUZ                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   669864 IRIS D COLON RODRIGUEZ                       SAN LORENZO VALLEY         92 CALLE YAGRUMO                                                                       SAN LORENZO        PR         00754‐9842
   228740 IRIS D COSTOSO MERCED                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   669865 IRIS D COTTO                                 HC 01 BOX 3329                                                                                                    COMERIO            PR         00782
   228741 IRIS D COTTO RIVERA                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   669866 IRIS D CRUZ CHINEA                           PO BOX 5268                                                                                                       VEGA ALTA          PR         00692
   669867 IRIS D CRUZ MALDONADO                        BOX 1004                                                                                                          BARRANQUITAS       PR         00794
   669868 IRIS D CUEVAS BERRIOS                        HC75 BOX 1697                                                                                                     NARANJITO          PR         00719
   228742 IRIS D DELGADO PAGAN                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228743 IRIS D FERRER SANCHEZ                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   669870 IRIS D FRAGUADA                              BDA QUINTANA               319 CALLE CUBA                                                                         SAN JUAN           PR         00917
   669871 IRIS D GARAY MALDONADO                       HC 3 BOX 12811                                                                                                    JUANA DIAZ         PR         00795
   669872 IRIS D GARCIA FABREGAS                       PO BOX 21365                                                                                                      SAN JUAN           PR         00926‐1365
   669873 IRIS D HERNANDEZ                             PO BOX 1432                                                                                                       TOA BAJA           PR         00951
   228744 IRIS D HERNANDEZ RUIZ                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228745 IRIS D HOLVINO LOPEZ                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228746 IRIS D LABOY RUIZ                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   669875 IRIS D LOPEZ                                 PO BOX 693                                                                                                        COMERIO            PR         00782
   669876 IRIS D LORENZO                               CIUDAD DEL RETIRO          AVE BORINQUEN APT 1306                                                                 MAYAGUEZ           PR         00680
   669878 IRIS D MARTINEZ RIVERA                       HC 1 BOX 8655                                                                                                     VEGA ALTA          PR         00692
   669779 IRIS D MATOS RIVERA                          URB REXVILLE               J 6 CALLE 5                                                                            BAYAMON            PR         00957
   228747 IRIS D MEDINA VELEZ                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   669879 IRIS D MEJIAS MORALES                        URB ALTURAS DE VEGA BAJA   B 1 18 CALLE 1                                                                         VEGA BAJA          PR         00693
   669880 IRIS D MERCED                                PO BOX 22762                                                                                                      SAN JUAN           PR         00931
   228748 IRIS D MERCED OTERO                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228750 IRIS D MOLINA ORTIZ                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   669882 IRIS D MORALES DIAZ                          URB HIGHLAND PARK          706 CALLE CACTUS                                                                       SAN JUAN           PR         00926



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                                                                                                                Scheduled Claimants Service List
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  228752 IRIS D ORTIZ ROSA                            REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  228755 IRIS D PEREZ VELEZ                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  669888 IRIS D PITRE ROMAN                           URB SAN FELIPE                C 19 CALLE 7                                                                          ARECIBO              PR         00612

   669889 IRIS D PORTALATIN                           SECTOR GUARICO VIEJO BOX 50                                                                                         VEGA BAJA            PR         00693
   669890 IRIS D QUIROS RODRIGUEZ                     URB BAYAMON GDNS              AA16 CALLE C                                                                          BAYAMON              PR         00957
   669892 IRIS D RAMOS RIVERA                         PO BOX 765                                                                                                          MOROVIS              PR         00687
   669893 IRIS D RAMOS RODRIGUEZ                      374 CALLE PROGROSO                                                                                                  AGUADILLA            PR         00603
   228756 IRIS D REYNOSO DOMINGUEZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   228757 IRIS D RIVERA TORRES                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   228758 IRIS D RODRIGUEZ MERCADO                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   669896 IRIS D RODRIGUEZ PICORELLY                  JARD DE TOA ALTA              76 CALLE 2                                                                            TOA ALTA             PR         00953
   228759 IRIS D RODRIGUEZ RIVERA                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   669897 IRIS D ROMAN CAMPOS                         HC‐01 BOX 11404                                                                                                     ARECIBO              PR         00612
   669899 IRIS D ROSARIO FLORES                       HC 01 BOX 7204                BO PARCELAS VAZQUEZ                                                                   SALINAS              PR         00751
   669902 IRIS D SANTIAGO TORRES                      COM LA JOYA SOLAR 88                                                                                                GUANICA              PR         00821
   228761 IRIS D TANON BERMUDEZ                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   228762 IRIS D TORRES ALCAZAR                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   669906 IRIS D TORRES MARTINEZ                      APTO 2074                                                                                                           JUNCOS               PR         00777
   228763 IRIS D TORRES SANTIAGO                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   228764 IRIS D TORRES VAZQUEZ                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   669907 IRIS D VALLE CRUZ                           P O BOX 279                                                                                                         VEGA BAJA            PR         00694
   669908 IRIS D VARGAS RODRIGUEZ                     ESTANCIAS DEL RIO             410 CALLE GUAMANI                                                                     HORMIGUEROS          PR         00660
   228765 IRIS D VAZQUEZ ORTIZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   669910 IRIS D VIENTOS ROMAN                        P O BOX 55                                                                                                          QUEBRADILLAS         PR         00678
   669911 IRIS D. DEL VALLE RIVERA                    UNIVERSITY STATION            PO BOX 21974                                                                          SAN JUAN             PR         00931
   228766 IRIS D. DELGADO DONES                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   228767 IRIS D. FIGUEROA FALCON                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   228768 IRIS D. GUERRA ALONSO                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   228769 IRIS D. ORTIZ ROSA                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   228770 IRIS D. PEREZ ROSADO                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   228771 IRIS D. RODRIGUEZ TALAVERA                  REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   669912 IRIS DAVILA RODRIGUEZ                       PO BOX 193798                                                                                                       SAN JUAN             PR         00919‐3798
   669913 IRIS DE JESUS                               URB VILLA GRILLASCA           1339 EDUARDO CUEVAS                                                                   PONCE                PR         00717‐0585
   228772 IRIS DE JESUS DE LEON                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   228773 IRIS DE JESUS VELAZQUEZ                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   228774 IRIS DE LA PENA                             REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   669916 IRIS DEL C GUILBE HERNANDEZ                 REPARTO METROPOLITANO         1103 CALLE 54 SE                                                                      SAN JUAN             PR         00921

   669917 IRIS DEL CARMEN TIRADO SOLER SAN AGUSTIN                                  1152 CABO ROGERTO RIVERA                                                              SAN JUAN             PR         00923
   669918 IRIS DEL R ARROYO RAMOS       URB JAIME L DREW                            76 CALLE 4                                                                            PONCE                PR         00731
          IRIS DEL VALLE DBA TRANSPORTE
   228775 ESCOLAR                       PO BOX 367435                                                                                                                     SAN JUAN             PR         00936‐7435
   228777 IRIS DEL VALLE DIAZ           REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   228778 IRIS DELGADO RIVERA           REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   669919 IRIS DELIA ALVAREZ RIVERA     BO SABANA 467                               CALLE DESEMBARCADERO                                                                  CATA¥O               PR         00962
   669920 IRIS DELIA CRUZ ANDINO        BO PAJAROS CANDELARIA                       PARC 26 B                                                                             TOA BAJA             PR         00949

   228779 IRIS DELIA SIERRA RODRIGUEZ                 REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   669921 IRIS DENNIS NEGRON                          URB EL VERDE                  B 1 CALLE 2                                                                           VEGA BAJA            PR         00693
   669922 IRIS DIAZ IRIZARRY                          PO BOX 1186                                                                                                         ISABELA              PR         00662
   228780 IRIS DIAZ PEREZ                             REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  228781 IRIS DONATO SANTANA                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228782 IRIS DORTA PEREZ                              REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669923 IRIS DREBON CORDOVA                           RR 4 BOX 3721                                                                                                      BAYAMON            PR         00956
  669924 IRIS E ANGUITA VELEZ                          P O BOX 696                                                                                                        MANATI             PR         00674
  669925 IRIS E CABRERA RIOS                           BOX 2543                                                                                                           JUNCOS             PR         00777
  669926 IRIS E CANCEL GONZALEZ                        PO BOX 9022788                                                                                                     SAN JUAN           PR         00902
  228783 IRIS E CANDELARIO RIVERA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228784 IRIS E CONTRERAS CUEVAS                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228785 IRIS E DEL VILLAR                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228787 IRIS E DIAZ PEREZ                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228788 IRIS E LUGO SANTIAGO                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669928 IRIS E MILLER MERCED                          RES LUIS LLORENS TORRES      ED 136 APT 2528                                                                       SAN JUAN           PR         00913
  669929 IRIS E NEGRON RIVERA                          PO BOX 1065                                                                                                        NAGUABO            PR         00718
  669930 IRIS E NIETO AGUILAR                          URB VISTA VERDE              23 CALLE ZAFIRO                                                                       MAYAGUEZ           PR         00682
  669931 IRIS E ORTIZ COLON                            RR‐9 BOX 1390                MSC 175                                                                               SAN JUAN           PR         00926
  669932 IRIS E ORTIZ DIAZ                             PARC LOARTE BOX 7                                                                                                  BARCELONETA        PR         00617
  228789 IRIS E PEREZ RIVERA                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228790 IRIS E QUINONES GONZALEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669933 IRIS E RAMIREZ ELIAS                          RAMEY                        112 CALLE HARRISON                                                                    AGUADILLA          PR         00603
  669934 IRIS E REYES                                  PO BOX 360                                                                                                         FAJARDO            PR         00738
  228792 IRIS E RIVERA COLON                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228793 IRIS E RIVERA FIGUEROA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669936 IRIS E RODRIGUEZ COTTO                        BO GUAMANI                   HC 02 BOX 4713                                                                        GUAYAMA            PR         00784
  228794 IRIS E RODRIGUEZ MELENDEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669937 IRIS E RODRIGUEZ ORENGO                       LOS CAOBOS                   2805 CALLE COJOBA                                                                     PONCE              PR         00716
  669938 IRIS E RODRIGUEZ REYES                        RR 4 BOX 2870                                                                                                      BAYAMON            PR         00956
  228795 IRIS E SALGADO CONCEPCION                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669940 IRIS E SANCHEZ SOSA                           URB COUNTRY CLUB             912 CALLE SARA I SPENCER                                                              SAN JUAN           PR         00924
  669941 IRIS E SANTIAGO HERNANDEZ                     URB LAS ALONDRAS             D20 CALLE 3                                                                           VILLALBA           PR         00766
  228796 IRIS E SEGARRA                                REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228797 IRIS E SEMIDEY PAGAN                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228798 IRIS E SUERO DE JESUS                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669945 IRIS E TORRES VARGAS                          JARD DE CAGUAS               28 CALLE A # C                                                                        CAGUAS             PR         00725
  669947 IRIS E VEGA RODRIGUEZ                         BO CERROTE BRYAN             HC 02 BOX 11002                                                                       LAS MARIAS         PR         00670
  228799 IRIS ECHEVARRIA DELGADO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228800 IRIS EDEN SANTIAGO VELEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669949 IRIS ELENA DOTTIN CARRILLO                    URB JACARANDA                B 17 CALLE C                                                                          PONCE              PR         00730
  669950 IRIS ELSA RODRIGUEZ VEGA                      P O BOX 300                                                                                                        OROCOVIS           PR         00720
  669953 IRIS ESTHER RIVERA MENDEZ                     HC 01 BOX 7727                                                                                                     TOA BAJA           PR         00949
  228802 IRIS EVORA                                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228803 IRIS F BURGOS ALVAREZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228804 IRIS F RODRIGUEZ CINTRON                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228805 IRIS FEBRES                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669954 IRIS FELICIANO                                MCS 765 PO BOX 500                                                                                                 AGUADA             PR         00602
  669955 IRIS FELICIANO RIVERA                         BRISAS DEL MAR               1913 CALLE VIVALVO                                                                    PONCE              PR         00728
  669956 IRIS FERNANDEZ COLON                          ALTURA DEL RIO               B 5 CALLE 5                                                                           BAYAMON            PR         00959
  669958 IRIS FIGUEROA MAYMI                           HC 83 BOX 6156                                                                                                     VEGA ALTA          PR         00692
  228806 IRIS FIGUEROA RIVERA                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669960 IRIS FIGUEROA ROMAN                           B 5 URB VILLAS DE LAVADERO                                                                                         HORMIGUEROS        PR         00660
  669961 IRIS FLORES DE RIVERA                         EXT DE GRAN VISTA            39 CALLE SAN PEDRO                                                                    GURABO             PR         00778

   669962 IRIS FLORES OCASIO                           URB VILLAS DEL REY 16B CALLE 2                                                                                     CAGUAS             PR         00725
   228808 IRIS G BORDOY VAZQUEZ                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED



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   669963 IRIS G CARDONA PEREZ                        232 AVE ELEONOR ROOSEVELT                                                                                             SAN JUAN            PR           00907
   669964 IRIS G DIAZ RAMOS                           URB ESTACIA DE LA FUENTE      AA 41 CALLE DEL REY                                                                     TOA ALTA            PR           00953
   669966 IRIS G GARCIA MELENDEZ                      P O BOX 814                                                                                                           HATILLO             PR           00659
   669967 IRIS G MORALES LOPEZ                        RES VILLA ESPERANZA           LAS CUMBRES EDIF F APT 284                                                              SAN JUAN            PR           00926

   669968 IRIS G MORALES OQUENDO                      COND VALENCIA PLAZA APT 707                                                                                           SAN JUAN            PR           00923
   669969 IRIS G ORTIZ TORREZ                         26 CALLE SAN MIGUEL                                                                                                   SABANA GRANDE       PR           00637‐1624
   228809 IRIS G RIVERA SERRANO                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228810 IRIS G SANTANA DE LA PAZ                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228811 IRIS G TOLEDO ROSADO                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   669973 IRIS G VALLEJO MIRANDA                      HC 33 BOX 2117                                                                                                        DORADO              PR           00646

   669975 IRIS GANDIA MELENDEZ                        BZN 157 A C/10 JUAN SANCHEZ                                                                                           BAYAMON             PR           00959
   228812 IRIS GARCIA POLANCO                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   669976 IRIS GAUTIER RODRIGUEZ                      18 CALLE CRUCE DAVILA                                                                                                 BARCELONETA         PR           00617
   669977 IRIS GEIGEL OTERO                           HC 01 BOX 23376                                                                                                       VEGA BAJA           PR           00693
   669978 IRIS GOMEZ CARTAGENA                        HC 03 BOX 15543                                                                                                       AGUAS BUENAS        PR           00703
                                                      C/O: JOSE A. GONZALEZ
   669979 IRIS GOMEZ CRUZ                             TALAVERA                      FDEZ. JUNCOS STATION         PO BOX 11855                                               SAN JUAN            PR           00910‐3855
   669981 IRIS GONZALEZ ALFONZO                       110 LAS PALOMAS                                                                                                       SAN JUAN            PR           00911
   228813 IRIS GONZALEZ BERNIER                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   669984 IRIS GONZALEZ CAMACHO                       60 COMUNIDAD CORRALES                                                                                                 AGUADILLA           PR           00605
   669986 IRIS GONZALEZ DE LEON                       PDA 27 CALLE VENECIA                                                                                                  SAN JUAN            PR           00917
   669987 IRIS GONZALEZ MARTINEZ                      URB LA ARBOLEDA               300 CALLE 17                                                                            SALINAS             PR           00751
   669988 IRIS GONZALEZ PALAU                         BARRIO SALUD                  68 CALLE TAMARINDO                                                                      MAYAGUEZ            PR           00680
   228815 IRIS GONZALEZ ROBLES                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228816 IRIS GONZALEZ RUIZ                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228818 IRIS GUERRA ESTRADA                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228819 IRIS H ORTIZ VAZQUEZ                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   669991 IRIS HERNANDEZ GONZALEZ                     VILLAS DE GARROCHALES         14 CALLE 1                                                                              ARECIBO             PR           00612
   228820 IRIS HERNANDEZ NARVAEZ                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   669992 IRIS HERNANDEZ OLIVIERI                     BOX 233                                                                                                               GUAYAMA             PR           00785
   228821 IRIS HERNANDEZ SANCHEZ                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228822 IRIS I CRUZ RIVERA                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   669994 IRIS I DIAZ FIGUEROA                        URB VILLA DEL REY             4 S 15 CALLE 9                                                                          CAGUAS              PR           00725
   228823 IRIS I PAGAN ORTIZ                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228824 IRIS I RIVERA RODRIGUEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   669995 IRIS I ROMAN COSME                          URB LA MARINA                 M 10 CALLE CRISANTEMO                                                                   CAROLINA            PR           00983
   228825 IRIS I RUIZ BERRIOS                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228826 IRIS I RUIZ VELAZQUEZ                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228827 IRIS I SANTIAGO ALAMO                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   669996 IRIS IRIZARRY ALVARADO                      LOS CAOBOS                    N46 CALLE 27                                                                            PONCE               PR           00731
   669997 IRIS IRIZARRY LABOY                         HC 02 BOX 18499                                                                                                       LAJAS               PR           00667

   228829 IRIS IVETTE BENITEZ FELICIANO               REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670000 IRIS J ACEVEDO RIVAS                        P O BOX 30000                 SUITE 367                                                                               CANOVANAS           PR           00729
   228830 IRIS J ALBELO OLIVERAS                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670001 IRIS J ALVAREZ PEREZ                        COND REEF TOWER               3919 AVE ISLA VERDE APT 4F                                                              CAROLINA            PR           00979‐6716
   670002 IRIS J BELTRAN RODRIGUEZ                    HC 2 BOX 4633                                                                                                         LAS PIEDRAS         PR           00771
   670003 IRIS J BENITEZ GONZALEZ                     BOX 14 APT 202                COND METROMONTE                                                                         CAROLINA            PR           00987
   670005 IRIS J BURGOS OCASIO                        HC 763 BOX 3232                                                                                                       PATILLAS            PR           00723
   670006 IRIS J CABASQUIN SERRANO                    PO BOX 384                                                                                                            SABANA HOYOS        PR           00688



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  670007 IRIS J CABRERA ROMAN                         HC 1 BOX 11431                                                                                                 ARECIBO            PR         00619
  228831 IRIS J CLAUSSELL GERENA                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  669999 IRIS J CLAUSSELL GERENA                      HC 02 BOX 14191                                                                                                CAROLINA           PR         00987
  670009 IRIS J COLON SANTIAGO                        RIVER PARK                 EDF 1 APT 307                                                                       BAYAMON            PR         00961
  670010 IRIS J GARCIA TOLEDO                         ALT DE SAN PEDRO           X 4 CALLE SAN GABRIEL                                                               FAJARDO            PR         00738
  670011 IRIS J GONZALEZ ROSALY                       RES RAMOS ANTONINI         EDIF 16 APT 155                                                                     SAN JUAN           PR         00929
  228832 IRIS J GONZALEZ VEGA                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670012 IRIS J IRRIZARRY COLON                       10 CALLE C 8               EXT LA MILAGROSA                                                                    BAYAMON            PR         00959
  228833 IRIS J JIMENEZ ROSARIO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228834 IRIS J LUGO RODRIGUEZ                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228835 IRIS J MALDONADO RIVERA                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228837 IRIS J MARTINEZ SANCHEZ                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228838 IRIS J MARTINEZ SEGARRA                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670013 IRIS J MATIAS OCASIO                         P O BOX 1372                                                                                                   UTUADO             PR         00641
  228840 IRIS J MONTALVO                              REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670014 IRIS J NEGRON LOPEZ                          PO BOX 1894                                                                                                    LARES              PR         00669‐1894
  670015 IRIS J NIEVES HUERTAS                        VILLA CONTESA              J 23 CALLE TUDOR                                                                    BAYAMON            PR         00956
  670016 IRIS J PLAZA PLAZA                           BO VEGAS ARRIBA            HC 02 BOX 6485                                                                      ADJUNTA            PR         00601
  670017 IRIS J RAMOS MORAN                           HC 3 BOX 10328                                                                                                 YABUCOA            PR         00767
  670018 IRIS J RIOS COSME                            PO BOX 15                                                                                                      BARRANQUITAS       PR         00794
  228841 IRIS J RIVERA APONTE                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670019 IRIS J RODRIGUEZ                             HC 02 BOX 5450                                                                                                 LAS PIEDRAS        PR         00771
  670020 IRIS J ROSADO SANTIAGO                       VILLA CONTESSA             J32 CALLE TUDOR                                                                     BAYAMON            PR         00956
  670023 IRIS J RUIZ ALBARRAN                         HC 6 BOX 11359                                                                                                 UTUADO             PR         00641
  670024 IRIS J SALGADO CRESPO                        BDA COREA                  10 CALLE SANTO DOMINGO                                                              VEGA ALTA          PR         00692
  228842 IRIS J SANCHEZ SERRANO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670025 IRIS J SANTIAGO VILCHES                      TOA ALTA HEIGHTS           L 13 CALLE 9                                                                        TOA ALTA           PR         00953

   670026 IRIS J SOTO BARRETO                         CONSTRASTATION VOLADORAS   APT 2131                                                                            MOCA               PR         00676
   228843 IRIS J TIRADO DIAZ                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670028 IRIS J VAZQUEZ ROSARIO                      ALT DE FLAMBOYAN           N 6 16 CALLE 4                                                                      BAYAMON            PR         00959
   228844 IRIS J VEGA APONTE                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228848 IRIS J. FLORES VAZQUEZ                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228849 IRIS J. LOPEZ DELGADO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228852 IRIS J. QUINONES RODRIGUEZ                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228853 IRIS J. REYES MARTINEZ                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228854 IRIS J. SANTIAGO VILCHES                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228855 IRIS J. VAZQUEZ ACEVEDO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228856 IRIS JACKSON MOYA                           REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228858 IRIS JANET ROSADO VEGA                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          IRIS JANNETTE SAER
   670034 MALDONADO                                   HC 02 BOX 6556                                                                                                 ADJUNTAS           PR         00601
          IRIS JANNETTE SANTIAGO
   228859 IRIZARRY                                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670035 IRIS JIMENEZ CALDERON                       ADM SERV GEN               PO BOX 7428                                                                         SAN JUAN           PR         00916‐7428
   670036 IRIS JIMENEZ FIGUEROA                       P O BOX 730                                                                                                    JAYUYA             PR         00664
   228860 IRIS K. OTERO VAZQUEZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228861 IRIS L AGUIRRE ZAYAS                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670038 IRIS L ALAMEDA MARTINEZ                     HC 1 BOX 1900 1                                                                                                BOQUERON           PR         00622‐9705
   228862 IRIS L ALVAREZ ADORNO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228863 IRIS L CABRERA ANDINO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228864 IRIS L CASILLAS PAGAN                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670040 IRIS L COLON PANETO                         SECTOR AMIL BOX 1520                                                                                           YAUCO              PR         00698



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   670041 IRIS L HERNANDEZ HERNANDEZ                  20 AVE SATURNO                                                                                                VEGA BAJA         PR         00693
   670042 IRIS L LOPEZ GUZMAN                         PO BOX 8201                                                                                                   ARECIBO           PR         00613
   228866 IRIS L MARRERO AGOSTO                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   228867 IRIS L MATOS CAMARENO                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   670044 IRIS L MONROIG GONZALEZ                     VICTOR ROJAS            2 126 CALLE 5                                                                         ARECIBO           PR         00612
   228868 IRIS L PADILLA VARGAS                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   670045 IRIS L RAMIREZ BAEZ                         HC 83 BOX 6181                                                                                                VEGA ALTA         PR         00692
   228869 IRIS L RAMOS RODRIGUEZ                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   228870 IRIS L RIVERA DIAZ                          REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   228871 IRIS L RODRIGUEZ SEDA                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   228872 IRIS L RONDON BERRIOS                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   670047 IRIS L ROSARIO MORALES                      HC 1 BOX 6396                                                                                                 ARROYO            PR         00714
   670048 IRIS L RUIZ RIVERA                          URB BRISAS DEL MAR      JJ33 CALLE ACCESO                                                                     LUQUILLO          PR         00773
   228873 IRIS L SANTOS ORTIZ                         REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   228874 IRIS L TIRADO SANTANA                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   228876 IRIS L. APONTE REYES                        REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   228877 IRIS L. CORREA AYALA                        REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   228878 IRIS L. GONZALEZ RIVERA                     REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   228879 IRIS L. HERNANDEZ ORTIZ                     REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   228880 IRIS L. MACHIN CARMONA                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   670054 IRIS LAMPON DE SIFRE                        GALLARDO GARDENS        EDIF F APT 1                                                                          GUAYNABO          PR         00966
   670055 IRIS LAMPON TORRES                          HC 69 BOX 15485                                                                                               BAYAMON           PR         00956‐9514
                                                      URB. LA ENCANTADA RIO
   670056 IRIS LASSU ROSA                             CRISTAL                 VIA AUFRANTES RC‐7                                                                    TRUJILLO ALTO     PR         00976
   670058 IRIS LESLIE MAYSONET                        VILLA CAROLINA          89‐7 CALLE AA                                                                         CAROLINA          PR         00985
   228881 IRIS LISOJO QUILES                          REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   228882 IRIS LLANOS GARCIA                          REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   670061 IRIS LLANOS LLANOS                          VILLA CAROLINA          222‐1 CALLE 601                                                                       CAROLINA          PR         00985
   228883 IRIS LOPEZ CRUZ                             REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   670062 IRIS LOPEZ MACHADO                          15 BO CANTO MARINO                                                                                            MANATI            PR         00674
   228884 IRIS LOZA DAVILA                            REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   228885 IRIS LUGO BAEZ                              REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   670063 IRIS LUGO ORTIZ                             PMB 487 P O BOX 6017                                                                                          CAROLINA          PR         00984
   670067 IRIS M ADORNO MARRERO                       PO BOX 215                                                                                                    MOROVIS           PR         00687
   670068 IRIS M AGUIRRE MONTALVO                     COND ANSONIA            1603 CALLE LOIZA APT 401                                                              SANTURCE          PR         00911
   670069 IRIS M ALICEA RAMOS                         VILLA PALMERAS          273 CALLE LAGUNA                                                                      SAN JUAN          PR         00915
   228886 IRIS M APONTE DIAZ                          REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   228887 IRIS M ASTACIO RIOS                         REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   228888 IRIS M AYALA FIGUEROA                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   228889 IRIS M AYALA SANTIAGO                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   670071 IRIS M BARRETO ORTIZ                        URB LA MARINA           P 18 CALLE BEGONIA                                                                    CAROLINA          PR         00979
   670072 IRIS M BURGOS SILVA                         BO INGENIO              341 CALLE DROMELIA                                                                    TOA BAJA          PR         00949
   670073 IRIS M CABOT BONILLA                        URB SANTA MARTA         G 17                                                                                  SAN GERMAN        PR         00683
   670074 IRIS M CAMACHO MELENDEZ                     URB ESTANCIAS DEL RIO   538 ALLE PORTUGUES                                                                    HORMIGUEROS       PR         00660

   228893 IRIS M CARRASQUILLO SANABRIA REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   670075 IRIS M CASTILLO BEUCHAMP      BO TRANTALLERES                       66 CALLE MANUEL M SAMA                                                                MAYAGUEZ          PR         00680
   670076 IRIS M CASTRO COLON           PO BOX 9023899                                                                                                              SAN JUAN          PR         00902‐3899
   670078 IRIS M CEREZO DIAZ            URB VILLA CAPRI                       573 CALLE CATANIA                                                                     SAN JUAN          PR         00926
          IRIS M CIELOSZCZYK / THE EXEC
   228894 TESTAMENT                     OF ISABEL RAMIREZ                     P O BOX 123                                                                           MERCEDITA         PR         00715‐0123
   228895 IRIS M COLON MORALES          REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED



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  228896 IRIS M COLON PEREZ                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670081 IRIS M COLON RIVERA                          HC 3 BOX 12106                                                                                                    JUANA DIAZ         PR         00795
  228897 IRIS M COSME RODRIGUEZ                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670082 IRIS M CRESPO RAMIREZ                        SANTA ROSA                    13 BLW 23 CALLE 9                                                                   BAYAMON            PR         00959
  670064 IRIS M DAVILA COLON                          PO BOX 126                                                                                                        YABUCOA            PR         00767
  670084 IRIS M DAVILA DE JESUS                       PO BOX 676                                                                                                        COTTO LAUREL       PR         00980
  670085 IRIS M DE ALBA FELICIANO                     URB MARIANI C 40                                                                                                  PATILLAS           PR         00723
  670086 IRIS M DEL RIO RIVERA                        HC 5 BOX 58412                                                                                                    HATILLO            PR         00659
  670088 IRIS M DIAZ AYALA                            CARRAIZO BAJO                 CARR 175 K9 H2                                                                      TRUJILLO ALTO      PR         00976
  670089 IRIS M DIAZ BURGOS                           URB VILLA FONTANA             VIA 44 Q S 2                                                                        CAROLINA           PR         00983
  228898 IRIS M ENCARNACION COLON                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228899 IRIS M FERRI O FARRILL                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228900 IRIS M FIGUEROA FIGUEROA                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670096 IRIS M GARCIA GARCIA                         URB SUMMIT HILLS 1671         CALLE ADAMS                                                                         GUAYNABO           PR         00968
  228901 IRIS M GARCIA RAMOS                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228902 IRIS M GIRONA FIGUEROA                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670097 IRIS M GONZALEZ APONTE                       PO BOX 21365                                                                                                      SAN JUAN           PR         00928
  670098 IRIS M GONZALEZ AVILES                       500 PASEO MONACO              EIDF 7 APT 52                                                                       BAYAMON            PR         00956
                                                      1 COND BORINQUEN TOWERS III
   670099 IRIS M GONZALEZ COMAS                       STE 701                                                                                                           SAN JUAN           PR         00920
   670101 IRIS M GONZALEZ ORTIZ                       URB VILLA CAROLINA            68 30 CALLE55                                                                       CAROLINA           PR         00985‐4930
   228908 IRIS M GONZALEZ RIVERA                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228910 IRIS M GRAU PABON                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   670102 IRIS M GUILBE CAMACHO                       2 BARRIADA GANDARA APT 21                                                                                         PONCE              PR         00731
   670103 IRIS M GUZMµN                               VILLAS DE CASTRO              T 11‐3 CALLE 17                                                                     CAGUAS             PR         00725‐4696
   670104 IRIS M GUZMAN CABRERA                       VILLA HUMACAO                 C 10 CALLE 15                                                                       HUMACAO            PR         00791

   670106 IRIS M HERNANDEZ GONZALEZ                   PO BOX 433                                                                                                        BAJADERO           PR         00616
   670107 IRIS M HERNANDEZ ORTIZ                      JARDINES DE TOA ALTA          35 CALLE 3                                                                          TOA ALTA           PR         00954
   670108 IRIS M HERNANDEZ RAMOS                      APARTADO 650                                                                                                      JAYUYA             PR         00664
   228911 IRIS M HERNANDEZ SUAREZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670109 IRIS M HORTAS MATOS                         RES ROBERTO CLEMENTE          PO BOX 16105                                                                        CAROLINA           PR         00987
   228912 IRIS M LACEN PARRILLA                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228913 IRIS M LEON ROMERO                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670113 IRIS M LLANOS PEREZ                         PO BOX 8130                                                                                                       CAROLINA           PR         00986
   670114 IRIS M LOPEZ LUGO                           HC 1 BOX 10187                                                                                                    HATILLO            PR         00659
   670115 IRIS M LOPEZ NEGRON                         HC 05 BOX 58377                                                                                                   MAYAGUEZ           PR         00680
   670117 IRIS M LOPEZ VILLANUEVA                     HC 02 BOX 8206                BO SANTIAGO VEGA                                                                    CAMUY              PR         00627
   670118 IRIS M LORENZANA TORRES                     PO BOX 764                                                                                                        CIALES             PR         00638
   670119 IRIS M LUGO CAJIGAS                         HC 3 BOX 10838                                                                                                    CAMUY              PR         00627
   228914 IRIS M LUGO DIAZ                            REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670120 IRIS M LUGO TORRES                          URB EL COMANDANTE 697         CALLE GRACE                                                                         CAROLINA           PR         00982
   670123 IRIS M LUNA RIVERA                          PARK GARDENS                  T 11 CALLE GETTYSBURG                                                               SAN JUAN           PR         00926
   670124 IRIS M LUNNA RIVERA                         PARK GARDENS                  T11 CALLE GETTYSBURG                                                                SAN JUAN           PR         00926

   670125 IRIS M MARRERO HERNANDEZ                    SAINT JUST                    P 4 B CALLE BETANIA                                                                 TRUJILLO ALTO      PR         00976
   228915 IRIS M MARSACH                              REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228916 IRIS M MARTINEZ MORALES                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670127 IRIS M MEDINA DONES                         URB LEVITTOWN                 1773 PASEO DOSEL                                                                    TOA BAJA           PR         00949
   228917 IRIS M MENENDEZ REYES                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228918 IRIS M MERCADO RODRIGUEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670128 IRIS M MERCED SALINAS                       CALL BOX 43002 221            ALTURAS MAIL STATION                                                                RIO GRANDE         PR         00745



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  228919 IRIS M MONROUZEAU                             REDACTED                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228920 IRIS M MORALES IRIZARRY                       REDACTED                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670129 IRIS M MUNERA ROSA                            PO BOX 1165                                                                                                                SANTA ISABEL       PR         00757
  228921 IRIS M MUNIZ RODRIGUEZ                        REDACTED                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  228922 IRIS M NAZARIO RIVERA                         REDACTED                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670130 IRIS M NEGRàN                                 HC 02 BOX 6469                                                                                                             UTUADO             PR         00641

   670131 IRIS M NIEVES CRUZ                           URB VILLA PRADES                620 CALLE FRANCISCO BLASINI                                                                SAN JUAN           PR         00924
   670132 IRIS M NIEVES VARGAS                         HC 04 BOX 17992                                                                                                            CAMUY              PR         00627
   670135 IRIS M ORENGO CEDENO                         URB SANTA MARIA                 B 1 CALLE 20                                                                               GUAYANILLA         PR         00656
   670137 IRIS M ORTIZ PAGAN                           PO BOX 360209                                                                                                              SAN JUAN           PR         00936
   228924 IRIS M PEREZ LOPEZ                           REDACTED                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228925 IRIS M PEREZ PADUA                           REDACTED                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670141 IRIS M PEREZ PEREZ                           URB ALTA VISTA                  N 4 CALLE 15                                                                               PONCE              PR         00731
   228926 IRIS M PEREZ ROBLES                          REDACTED                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670142 IRIS M PEREZ SANTIAGO                        PO BOX 932                                                                                                                 JAYUYA             PR         00664
   670143 IRIS M POLANCO RODRIGUEZ                     HC 2 BOX 4713                                                                                                              GUAYAMA            PR         00784
   228929 IRIS M QUILES FIGUEROA                       REDACTED                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228930 IRIS M RAMOS ACEVEDO                         REDACTED                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228931 IRIS M RAMOS CARRASCO                        REDACTED                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228932 IRIS M RAMOS LOPEZ                           REDACTED                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670145 IRIS M RAMOS VELEZ                           PO BOX 7141                                                                                                                MAYAGUEZ           PR         00681‐7141
                                                       URB TOA ALTA HEIGHTS AM‐3
   670146 IRIS M REBOYRAS HERNANDEZ                    CALLE 35A                                                                                                                  TOA ALTA           PR         00953
   228934 IRIS M REYES RIVERA                          REDACTED                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670147 IRIS M RIOS CRUZ                             BO MAGUEYES                     CALLE 8 BOX 11                                                                             BARCELONETA        PR         00617
   228935 IRIS M RIOS GARCIA                           REDACTED                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228936 IRIS M RIOS SANTIAGO                         REDACTED                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228937 IRIS M RIOS SANTOS                           REDACTED                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670148 IRIS M RIVAS RIVERA                          HC 91 BOX 9347                                                                                                             VEGA ALTA          PR         00692
   228938 IRIS M RIVERA COLON                          REDACTED                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   670149 IRIS M RIVERA DIAZ                           352 SAN CLAUDIO AVE P M B 129                                                                                              SAN JUAN           PR         00926‐4117

   670150 IRIS M RIVERA MOLINA                         URB JARDINES DE PALMAREJO       JJ 11 CALLE 28                                                                             CANOVANAS          PR         00729
   670151 IRIS M RIVERA RODRIGUEZ                      URB JAIME L DREW                44 CALLE D                                                                                 PONCE              PR         00730
   228940 IRIS M RIVERA RUIZ                           REDACTED                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228943 IRIS M RIVERA TORRES                         REDACTED                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670153 IRIS M RODRIGUEZ CARMONA                     PO BOX 819                                                                                                                 RIO BLANCO         PR         00744
   670155 IRIS M RODRIGUEZ DE TORO                     HC 02 BOX 6823                                                                                                             JAYUYA             PR         00664
   670156 IRIS M ROMAN MEDINA                          PARC CANEJAS                    BOX 4236                                                                                   SAN JUAN           PR         00926

   670157 IRIS M ROMERO VALENTIN                       COND EL BILBAO                  121 CALLE COSTA RICA APTO 702                                                              SAN JUAN           PR         00917
   670158 IRIS M ROSA                                  PO BOX 21365                                                                                                               SAN JUAN           PR         00918
   670159 IRIS M ROSARIO                               P O BOX 21365                                                                                                              SAN JUAN           PR         00928‐1365
   228946 IRIS M ROSARIO CRESPO                        REDACTED                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228947 IRIS M ROSARIO PEREZ                         REDACTED                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   228948 IRIS M RUIZ BERNARD                          REDACTED                        REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670160 IRIS M RUIZ MILAN                            URB EL COMANDANTE               954 CALLE JOSE DE JOSSIUE                                                                  CAROLINA           PR         00979
   670161 IRIS M RUIZ QUIROS                           RES CARIBE                      19 APT 77                                                                                  PONCE              PR         00716
   670162 IRIS M SAEZ VALLADARES                       COND LA CALESA APT 6 A                                                                                                     PONCE              PR         00730‐3855
   670163 IRIS M SANABRIA RIVERA                       URB JARDINES DE SALINAS         59 CALLE J R PALMER                                                                        SALINAS            PR         000751




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                                                                                   CALLE 165 MARCELINO CAMINO
   670164 IRIS M SANCHEZ SALGADO                      BO GALATEO SEC LOUBRIEL      1014                                                                                    TOA ALTA            PR           00953
   670165 IRIS M SANCHEZ SANTIAGO                     URB HYDE PARK                178 CALLE CABOA APT 4                                                                   SAN JUAN            PR           00927
   670166 IRIS M SANTIAGO ALVARADO                    39 CALLE VIRTUD                                                                                                      PONCE               PR           00716
   670169 IRIS M SANTIAGO COLON                       PARADA 18 CALLE ORTA 8                                                                                               SAN JUAN            PR           00907
   670171 IRIS M SANTOS SANTOS                        CAMINO DE LAS TRINITARIAS    141 SABANERA                                                                            CIDRA               PR           00739
   670173 IRIS M SERRANO RODRIGUEZ                    PO BOX 336914                                                                                                        PONCE               PR           00733
   670174 IRIS M SOTO SANTIAGO                        P O BOX 236                                                                                                          JAYUYA              PR           00664
   228954 IRIS M TORRES MENENDEZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228955 IRIS M TORRES RODRIGUEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228956 IRIS M TRINIDAD VELEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228957 IRIS M TROCHE ACOSTA                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670177 IRIS M VALE VALENTIN                        HC 07 BOX 75907                                                                                                      SAN SEBASTIAN       PR           00685‐7322
   228958 IRIS M VARCALCEL CANUELAS                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228959 IRIS M VARGAS ALVAREZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228960 IRIS M VARGAS RESTO                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670179 IRIS M VAZQUEZ SUAREZ                       BO PUEBLO NUEVO              191 CALLE TOPACIO                                                                       SAN GERMAN          PR           00683
   228961 IRIS M VEGA GARCIA                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670180 IRIS M VEGA HERNANDEZ                       PO BOX 1682                                                                                                          AGUADA              PR           00602
   228962 IRIS M VEGA TORRES                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228963 IRIS M VERGES RODRIGUEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228964 IRIS M VIANA RAMOS                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228965 IRIS M VIRELLA CABRERA                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   228967 IRIS M VIZCARRONDO GUERRA                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228968 IRIS M WRINKLE                              REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228969 IRIS M. BURGOS ALVARADO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      URB. VILLAS DE LOIZA R‐22‐
   670182 IRIS M. CAMACHO LATIMER                     CALLE‐19                                                                                                             CANOVANAS           PR           00729
          IRIS M. CARRASQUILLO
   228970 SANABRIA                                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228971 IRIS M. DIAZ CARRASQUILLO                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228972 IRIS M. FLORES NAVARRO                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          Iris M. Guadalupe /RAUL
   228973 GARCIA/NUEST. FE                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228974 IRIS M. LOPEZ CRUZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228975 IRIS M. LOPEZ LUGO                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228976 Iris M. Malave Rexach                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670184 IRIS M. MORALES MORALES                     URB CIUDAD UNIVERSITARIA     C1 NUM 1 AVE PERIFERAL                                                                  TRUJILLO ALTO       PR           00976
   228977 IRIS M. MORALES SERRANO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228978 IRIS M. OSORIO RAMOS                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228979 IRIS M. RIVERA MELENDEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228980 IRIS M. ROSADO FIGUEROA                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670185 IRIS M. SANTIAGO DEL VALLE                  BO. SAINT JUST 288 CALLE 4                                                                                           TRUJILLO ALTO       PR           00976
   228981 IRIS M. SUAREZ SANTANA                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228982 IRIS M. TORRES ROSA                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228983 IRIS M. TORRES VEGA                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670186 IRIS M. VELEZ MUNIZ                         URB LA QUINTA                L23 CALLE 12                                                                            YAUCO               PR           00698
   670187 IRIS MACHIN CRUZ                            HC 05 BOX 53611                                                                                                      CAGUAS              PR           00725
   670188 IRIS MAGALY NATAL CASTRO                    P O BOX 719                                                                                                          ADJUNTAS            PR           00601
   670189 IRIS MAISONET                               P O BOX 1976                                                                                                         VEGA BAJA           PR           00693
   670190 IRIS MALDONADO TORRES                       HC 04 BOX 6066                                                                                                       BARRANQUITAS        PR           00794




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          IRIS MALDONADO Y PHILIP
   228984 MALDONADO                                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          IRIS MARGARITA ESCUDERO                                                  497 EMILIANO POL AVE SUITE
   670191 RIVERA                                      LA CUMBRE                    610                                                                                     SAN JUAN            PR           00926‐9495
   228986 IRIS MARQUEZ CANALES                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670192 IRIS MARRERO CARATINI                       BDA POLVORIN                 33 INT CALLE 16                                                                         CAYEY               PR           00736
   228987 IRIS MARRERO LOPEZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228988 IRIS MARRERO SANTOS                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670193 IRIS MARTA VELEZ RAMIREZ                    HC 4 BOX 47869                                                                                                       CAGUAS              PR           00725
   670194 IRIS MARTA ZAYAS VERA                       P O BOX 488                                                                                                          ADJUNTAS            PR           00601‐0488
          IRIS MARTIN RODRIGUEZ / ANA I
   670195 TORRES                                      URB SAN FRANCISCO CALLA      1715 CALLE JAZMIN                                                                       SAN JUAN            PR           00927‐6334
   670196 IRIS MARTINEZ DIAZ                          P O BOX 200                  BO COLLORES                                                                             HUMACAO             PR           00791
   670197 IRIS MARTINEZ GARCIA                        URB VILLA LOS SANTOS         Y 19 CALLE 17                                                                           ARECIBO             PR           8781383
   670198 IRIS MARTINEZ GONZALEZ                      HP ‐ SALA 5 BAJO MUJERES                                                                                             RIO PIEDRAS         PR           009360000
   228989 IRIS MARTINEZ JUARBE                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228990 IRIS MARTINEZ PEREZ                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670200 IRIS MARTINEZ RIVERA                        ADM SERV GEN                 PO BOX 7428                                                                             SAN JUAN            PR           00916‐7428
   670201 IRIS MARTINEZ RODRIGUEZ                     SANTA CATALINA               H 15 CALLE 4                                                                            BAYAMON             PR           00957
   670202 IRIS MARTINEZ SANTOS                        BO RAYO GUARAS               CARR 328 KM 1 3                                                                         SABANA GRANDE       PR           00637
   228991 IRIS MARTINEZ SOTO                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228992 IRIS MASSAS HERNANDEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670203 IRIS MATIENZO DEL VALLE                     RR 6 BOX 9585                                                                                                        SAN JUAN            PR           00926
   228993 IRIS MATOS CIRINO                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670204 IRIS MEDINA FUSTER                          BO OBRERO                    602 CALLE 5                                                                             SAN JUAN            PR           00915
   670205 IRIS MEDINA UJAQUE                          VILLAS DEL OESTE             B 23 CALLE ARIES                                                                        MAYAGUEZ            PR           00680
   228994 IRIS MEDINA VELAZQUEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228995 IRIS MELENDEZ GONZALEZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228996 IRIS MELENDEZ RAMOS                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228997 IRIS MELENDEZ SANTOS                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670209 IRIS MELENDEZ VEGA                          RR 4 BZN 958                                                                                                         BAYAMON             PR           00956‐9607
   228998 IRIS MERCADO TORRES                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   228999 IRIS MERCED MARTIN                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   229000 IRIS MICHELLE NUNEZ ROSA                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          IRIS MILAGROS CANALES
   229001 MERCED                                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          IRIS MIREYA PEDROGO
   670211 GONZALEZ                                    URB LAS AGUILAS              I‐21 CALLE 8                                                                            COAMO               PR           00769

   670212 IRIS MOJICA ARZUAGA                         COOP JARD DE TRUJILLO ALTO   EDIF G APT 708                                                                          TRUJILLO ALTO       PR           00976
   229002 IRIS MOJICA CEBALLOS                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670213 IRIS MOLINA VAZQUEZ                         HC 80 BOX 9378                                                                                                       DORADO              PR           00646

   670214 IRIS MONROZEAU HERNANDEZ                    PO BOX 13721                                                                                                         SAN JUAN            PR           00908
   229003 IRIS MONSERRATE RIVERA                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670216 IRIS MONTALVO GONZALEZ                      SICOSOCIAL TRUJILLO ALTO                                                                                             Hato Rey            PR           009360000
   670217 IRIS MONTALVO SANCHEZ                       URB EL ALAMO                 B 2 CALLE VERACRUZ                                                                      GUAYNABO            PR           00969
   229004 IRIS MORALES ARCE                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670221 IRIS MORALES CALDERON                       HC 2 BOX 16500                                                                                                       RIO GRANDE          PR           00745
   670222 IRIS MORALES NIEVES                         RR 02 BZN 6642                                                                                                       CIDRA               PR           00739
   229005 IRIS MORALES RIVERA                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   229006 IRIS MORALES ROSARIO                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   229007 IRIS MORALES/ ELBA MORALES                  REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670223 IRIS MULERO RODRIGUEZ                       PO BOX 3174                                                                                             BAYAMON             PR           00960
   670224 IRIS MUNDO ANDINO                           PO BOX 21365                                                                                            SAN JUAN            PR           00928
   229009 IRIS N ALBINO GONZALEZ                      REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   670226 IRIS N ALMESTICA RODRIGUEZ                  PO BOX 270288                                                                                           SAN JUAN            PR           00927‐0288

   229010 IRIS N ALMODOVAR HERNANDEZ REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          IRIS N ALVAREZ MENDEZ /
   670227 NICOLAS G C                URB COVADONGA                         3F 24 CALLE 17                                                                     TOA BAJA            PR           00949
   229011 IRIS N AQUINO SOTO         REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   229012 IRIS N AYALA GARCIA        REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   229013 IRIS N BAEZ FERNANDEZ      REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   229014 IRIS N BAEZ ORTIZ          REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670228 IRIS N BAEZ RIVERA         URB BARAMAYA                          755 CALLE AGUEYBANA                                                                PONCE               PR           00728‐2519
   229015 IRIS N BAGUE CANDELARIA    REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670229 IRIS N BERMUDEZ SOSTRE     COND EL ATLANTICO                     APT 1404                                                                           LEVITTOWN           PR           00949
   670230 IRIS N BERRIOS SANTIAGO    PO BOX 1345                                                                                                              CIALES              PR           00638

   229016 IRIS N BETANCOURT MARTINEZ                  REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670231 IRIS N CARILLO CANCEL                       P O BOX 587                                                                                             GUAYNABO            PR           0097000587
   670232 IRIS N COLON BERRIOS                        LA ARBOLEDA          169 CALLE 17                                                                       SALINAS             PR           00751

   670234 IRIS N COMCEPCION RODRIGUEZ ALTURA DE VEGA BAJA                  QQ 23 CALLE C                                                                      VEGA BAJA           PR           00693
   229017 IRIS N CORDOVA DAVILA       REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670235 IRIS N CORTES FERNANDEZ     HC 1 BOX 10851                                                                                                          ARECIBO             PR           00612
   229018 IRIS N CORTES MORALES       REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670238 IRIS N CORUJO FLORES        URB LEVITTOWN                        AT 9 CALLE LILLIAN                                                                 TOA BAJA            PR           00949
   670239 IRIS N COSME CABRERA        855 PONCE DE LEON APT 2                                                                                                 SAN JUAN            PR           00907
   229019 IRIS N CRESPO SANCHEZ       REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   669781 IRIS N CRUZ GENOVA          PO BOX 142455                                                                                                           ARECIBO             PR           00614
   670243 IRIS N DEL RIO RIVERA       HC 2 BOX 7722 A                                                                                                         CAMUY               PR           00627
   670244 IRIS N DELGADO ANDINO       BO MARTORELL                         HC 1 BOX 5021                                                                      YABUCOA             PR           00767
   670245 IRIS N DIAZ MORALES         HC‐3 BOX 7441                                                                                                           JUNCOS              PR           00777‐9732
   670246 IRIS N FIGUEROA COLON       PO BOX 1709                                                                                                             CIALES              PR           00638
   229021 IRIS N GARAY BADILLO        REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670250 IRIS N GOMEZ FRANCO         RES LOS LIRIOS                       EDIF 10 APT 20                                                                     SAN JUAN            PR           00926
   670253 IRIS N GORDON CRUZ          URB LOMAS DE TRUJILLO                B10 CALLE 4                                                                        TRUJILLO ALTO       PR           00976
   229022 IRIS N GUADALUPE GONZALEZ   REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670255 IRIS N HERNANDEZ VEGA       ALTURAS DE VEGA BAJA                 K 6 CALLE N                                                                        VEGA BAJA           PR           00693
   670257 IRIS N JUARBE SERRANO       HC 2 BOX 6315                                                                                                           BAJADERO            PR           00616‐9713
   670258 IRIS N LARACUENTE           PO BOX 604                                                                                                              NARANJITO           PR           00719
   229025 IRIS N LAUREANO RODRIGUEZ   REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   229026 IRIS N LOPEZ                REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   229028 IRIS N LOZANO BELTRAN       REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   229029 IRIS N LUCIANO FALERO       REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   229030 IRIS N MAISONET COLON       REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   229032 IRIS N MARRERO RIVERA       REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   669780 IRIS N MARTINEZ HERNANDEZ   BO AMELIA                            27 CALLE JUAN ROMAN                                                                CATA¥O              PR           00962
   670264 IRIS N MARTINEZ RIVAS       HC 1 BOX 2836                                                                                                           MOROVIS             PR           00687
                                                                           AR CALLE PASEO MORELL
   670265 IRIS N MARTIR PADILLA                       HCDA LA MATILDE      CAMPOS                                                                             PONCE               PR           00730



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  670266 IRIS N MELENDEZ DONES                         URB FAJARDO GARDENS            272 CALLE SAUCE                                                                   FAJARDO            PR         00738
  670267 IRIS N MUNET GARCIA                           7 CALLE LOS SANTOS                                                                                               COTTO LAUREL       PR         00780‐2124
  229033 IRIS N NIEVES DE RIVERA                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  229034 IRIS N NUNEZ PEREZ                            REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  229035 IRIS N OCASIO FELICIANO                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  229036 IRIS N OLIVERAS LAGUNA                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670268 IRIS N ORTIZ CRUZ                             PO BOX 3578                                                                                                      VEGA ALTA          PR         00962
  229037 IRIS N ORTIZ DIAZ                             REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  229038 IRIS N PADILLA NUNEZ                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  229039 IRIS N PADILLA ROJAS                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670271 IRIS N PAGAN                                  URB O NEILL                    2058 CALLE C                                                                      MANATI             PR         00674
  670272 IRIS N PAGAN GONZALEZ                         PO BOX 1158                                                                                                      PATILLAS           PR         00723
  229041 IRIS N PAGAN SANTIAGO                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  229043 IRIS N PEREZ COSME                            REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670274 IRIS N PEREZ MORALES                          BO GALATEO SECT EL JOSCO       P 420                                                                             TOA ALTA           PR         00953
  229044 IRIS N PEREZ PONCE                            REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670276 IRIS N QUILES LEON                            RES LUIS LLORENS TORRES        EDIF 15 APT 309                                                                   SAN JUAN           PR         00913
  229045 IRIS N QUINONES MEJIAS                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670277 IRIS N RAMOS                                  EL CONQUISTADOR                A 19 CALLE 5                                                                      TRUJILLO ALTO      PR         00976
  229046 IRIS N RIVERA COLON                           REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670278 IRIS N RIVERA JIMENEZ                         BOX 846 BO ANONES                                                                                                NARANJITO          PR         00719
  229047 IRIS N RIVERA SANCHEZ                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  229048 IRIS N RIVERA SANTIAGO                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   670279 IRIS N RODRIGUEZ COLON                       URB RIO PIEDRAS HEIGHTS 1686   CALLE PORTUGUES                                                                   SAN JUAN           PR         00926
   670280 IRIS N RODRIGUEZ FEBRES                      PARQUE ECUESTRE                D 47 CALLE 8                                                                      CAROLINA           PR         00987
   670281 IRIS N RODRIGUEZ ORTIZ                       HC1 BOX 5997                                                                                                     CIALES             PR         00638
   670283 IRIS N RODRIGUEZ PADIN                       URB REPARTO TERESITA           M13 CALLE 7 ALTOS                                                                 BAYAMON            PR         00961
   670285 IRIS N RODRIGUEZ RIVERA                      MONTE BRISAS                   3R 15 CALLE 106                                                                   FAJARDO            PR         00738
   670286 IRIS N RODRIGUEZ SANTA                       VILLA CAROLINA                 49‐41 CALLE 24                                                                    CAROLINA           PR         00985
   670287 IRIS N RODRIGUEZ TORRES                      PO BOX 990                                                                                                       MANATI             PR         00674
   229049 IRIS N ROMAN FIGUEROA                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670290 IRIS N ROSA LATIMER                          BUENA VISTA                    144 CALLE PALMA REAL                                                              CAROLINA           PR         00985
   670291 IRIS N ROSARIO BESTARD                       URB PUERTO NUEVO               1125 CALLE 12 SE                                                                  SAN JUAN           PR         00921
   670292 IRIS N ROSARIO RODRIGUEZ                     TOA ALTA HEIGHTS               E 41 CALLE 12                                                                     TOA ALTA           PR         00953
   229050 IRIS N ROSARIO SANTIAGO                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670293 IRIS N RUIZ SERRANO                          HC 7 BOX 3399                                                                                                    PONCE              PR         00731‐9607
   229051 IRIS N SANTANA ORTIZ                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670294 IRIS N SANTANA PAGAN                         P O BOX 267                                                                                                      JUNCOS             PR         00777
          IRIS N SANTIAGO / CLASE GDA
   670295 ESC JOSE A C                                 SABANA GRANDE GARDENS          APT D 202                                                                         SABANA GRANDE      PR         00637
   229053 IRIS N SANTOS PEREZ                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   229054 IRIS N SOSA CORREDOR                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670298 IRIS N TORRES MATOS                          URB LA HACIENDA                19 CALLE 8                                                                        COMERIO            PR         00782
   229055 IRIS N TORRES OTERO                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670300 IRIS N TORRES SERRANO                        RIO PLANTATION                 2B OESTE NO 2                                                                     BAYAMON            PR         00956
          IRIS N VALENTIN Y MIGUEL
   229056 ANGEL ORTIZ                                  REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670301 IRIS N VAZQUEZ ORTIZ                         URB SYLVIA C24 CALLE 1                                                                                           COROZAL            PR         00783
   229057 IRIS N VEGA SANTOS                           REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                       196 CALLE JOSE DEL RIO
   670304 IRIS N VEGA VEGA                             TORRECILLAS                                                                                                      MOROVIS            PR         00687
   229058 IRIS N VELAZQUEZ MARTINEZ                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  229059 IRIS N VELEZ CARABALLO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670305 IRIS N VELEZ DE CARABALLO                     RR 1 BOX 12132                                                                                                     MANATI             PR         00674
  229060 IRIS N VILLEGA TORRES                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  229061 IRIS N. ARISTUD RIVERA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  229062 IRIS N. AYALA LOPEZ                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670307 IRIS N. CAMACHO                               482 PLAINFIELD ST                                                                                                  SPRINGFIELD        MA         01107
  229063 IRIS N. DIAZ TORRES                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  229064 IRIS N. MERCADO PEREIRA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670311 IRIS N. OTERO GUERRA                          URB MONTECASINO HTS          174 CALLE RIO GUAJATACA                                                               TOA ALTA           PR         00953‐3753
  229065 IRIS NANCY CRUZ NUNEZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670314 IRIS NARVAEZ FIGUEROA                         URB LITHEDA                  568 ABAJO CALLE ELLIOT                                                                SAN JUAN           PR         00926
  229066 IRIS NAVARRO AVILES                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670315 IRIS NAZARIO ALVAREZ                          BO OBRERO                    713 CALLE BRAZIL                                                                      SAN JUAN           PR         00915
  670316 IRIS NEGRON COLBERG                           URB VILLA AIDA               E 10 CALLE 1                                                                          CABO ROJO          PR         00623
  670317 IRIS NEGRON LOPEZ                             P O BOX 30000 PMB 271                                                                                              CANOVANAS          PR         00729
  670318 IRIS NEIDA SANTIAGO LOPEZ                     EXT COQUI                    245 CALLE FAISAN                                                                      AGUIRRE            PR         00751
  229067 IRIS NEREIDA AVILES SCOTT                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   670319 IRIS NEREIDA CARMONA RIVERA ADM SERV GEN                                  P O BOX 7428                                                                          SAN JUAN           PR         00916‐7428

   670320 IRIS NEREIDA FIGUEROA SIERRA                 VILLA REALIDAD               13 CALLE ZORZAL                                                                       RIO GRANDE         PR         00745

   670321 IRIS NEREIDA SANTIAGO LOPEZ                  EXT EL COQUI                 245 CALLE FAISAN                                                                      AGUIRRE            PR         00704

   670322 IRIS NIEVES CINTRON                          51 CALLE ANTONIO R BARCELO                                                                                         ARECIBO            PR         00612
   229068 IRIS NIEVES DIAZ                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670323 IRIS NILDA ARROYO CARRO                      COM STELLA PARC 28 A                                                                                               RINCON             PR         00677
   229070 IRIS O CAMACHO RAMIREZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   229072 IRIS O ECHEANDIA GONZALEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   229073 IRIS O OTERO NIETO                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670326 IRIS ORTIZ CORTES                            PO BOX 7126                                                                                                        PONCE              PR         00732
   229074 IRIS ORTIZ ORTIZ                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   229075 IRIS ORTIZ ROSA                              REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670327 IRIS ORTIZ TORRES                            BO SAN ISIDRO                CALLE 15                                                                              CANOVANAS          PR         00729
   670328 IRIS ORTIZ VAZQUEZ                           HC 01 BOX 6493                                                                                                     CIALES             PR         00638
   229076 IRIS OSTOLAZA MATEO                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   229078 IRIS OYOLA ROSARIO                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670329 IRIS PACHECO MORALES                         HC 02 BOX 11376                                                                                                    SAN GERMAN         PR         00683
   670330 IRIS PADILLA ALVAREZ                         P O BOX 943                                                                                                        CIALES             PR         00638
   670331 IRIS PAGAN                                   B 33 URB ARECIBO GARDENS                                                                                           ARECIBO            PR         00612
   229079 IRIS PAGAN BELTRAN                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   229080 IRIS PAGAN OLIVO                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670332 IRIS PAGAN ORAMA                             URB. LEVITTOWN               B‐N 17 CALLE DR. CATANO                                                               TOA BAJA           PR         00949
   229081 IRIS PENA CASTANO                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   229082 IRIS PENA TORRES                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670333 IRIS PEREIRA COLON                           URB JARD DEL CARIBE          TT 26 CALLE 46                                                                        PONCE              PR         00728
   229083 IRIS PEREZ FIGUEROA                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670335 IRIS PEREZ FILOMENO                          BO LA DOLORES                PARC 316 CALLE ARGENTINA                                                              RIO GRANDE         PR         00745
   229084 IRIS PEREZ GONZALEZ                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670336 IRIS PEREZ RIVERA                            URB. EL CULEBRINAS           CALLE CAOBA Z 22                                                                      SAN SEBASTIAN      PR         00685
   229085 IRIS PI¥A RAMIREZ                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   229086 IRIS PIZARRO GONZALEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   229087 IRIS PRATTS RODRIGUEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  229088 IRIS PROPERTIES INC                           COND ASTRALIS             STE 514 9548 C / DIAS WAY                                                              CAROLINA           PR         00979 1413
  229089 IRIS PUMAREJO RUIZ                            REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  229090 IRIS QUINONES PEREZ                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  229091 IRIS QUINONES SANTOS                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  229092 IRIS R CRUZ SANCHEZ                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
 1256578 IRIS R CUBANO PEREZ                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670340 IRIS R EMERIC CARAMBOT                        URB ROUND HILLS           118 CALLE GARDENIA                                                                     TRUJILLO ALTO      PR         00976‐2702
  670342 IRIS R FONSECA ARROYO                         RR 4 BOX 3047                                                                                                    BAYAMON            PR         00956
  670344 IRIS R SIERRA RIOS                            HIGUILLAR SAN CARLOS      225 CALLE 5                                                                            DORADO             PR         00646
  229095 IRIS RAMOS AROCHO                             REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670345 IRIS RAMOS GONZALEZ                           HC 03 BOX 20594                                                                                                  LAJAS              PR         00667‐9504
  229096 IRIS RAMOS LOPEZ                              REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670346 IRIS RAMOS RIOS                               URB ROUND HILLS           1307 CALLE CAMELIA                                                                     TRUJILLO ALTO      PR         00976‐2738
  670347 IRIS RAMOS RIVERA                             URB TIERRA ALTA 11        727 CALLE GOLONDRINAS                                                                  GUAYNABO           PR         00969
  670348 IRIS RESTO NIEVES                             PALO SECO                 96 CALLE DEL CARMEN                                                                    TOA BAJA           PR         00949
  670349 IRIS REYES ALAMO                              PARC BUENAVENTURA         A 11 CALLE TULIPAN                                                                     CAROLINA           PR         00986
  670350 IRIS REYES LEON                               RR‐3 BOX 3214                                                                                                    SAN JUAN           PR         00928
  670351 IRIS REYES RIVERA                             HC 2 BOX 10406                                                                                                   JUNCOS             PR         00777
  670352 IRIS RIVERA                                   URB BUNKER                141 CALLE HONDURAS                                                                     CAGUAS             PR         00725
  670353 IRIS RIVERA CANDELARIA                        P O BOX 2461                                                                                                     ARECIBO            PR         00613
  229097 IRIS RIVERA DIAZ                              REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  229098 IRIS RIVERA GARCIA                            REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670354 IRIS RIVERA HERNANDEZ                         BOX 236                                                                                                          LAS MARIAS         PR         00670
  229099 IRIS RIVERA LOPEZ                             REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  229100 IRIS RIVERA MENDEZ                            REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  229101 IRIS RIVERA MUNOZ                             REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  229102 IRIS RIVERA PAGAN                             REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670355 IRIS RIVERA PEREZ                             PO BOX 3036                                                                                                      VEGA ALTA          PR         00692
  670356 IRIS RIVERA REYES                             RES MANUEL MARTORELL      EDIF 6 APT 45                                                                          COMERIO            PR         00782
  229103 IRIS RIVERA ROMAN                             REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670357 IRIS RIVERA RUIZ                              COND ALTAGRACIA APT 4 C   262 CALLE URUGUAY                                                                      SAN JUAN           PR         00918
  229105 IRIS RIVERA TORRES                            REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  229106 IRIS ROBLES MONTANEZ                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670358 IRIS RODRIGUEZ                                BO BOQUILLA               PARC 177 A                                                                             MANATI             PR         00674
         IRIS RODRIGUEZ / MIGUEL JOSE
  670360 SUED                                          PO BOX 73                                                                                                        CAROLINA           PR         00685
  670361 IRIS RODRIGUEZ ANDUJAR                        HC 02 BOX 6514                                                                                                   UTUADO             PR         00641
  670362 IRIS RODRIGUEZ BARRETT                        RR 01 BOX 3546                                                                                                   MARICAO            PR         00606
  670363 IRIS RODRIGUEZ BENITEZ                        P O BOX 4040                                                                                                     JUNCOS             PR         00777
  229107 IRIS RODRIGUEZ BERMUDEZ                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  670364 IRIS RODRIGUEZ BURGOS                         URB COUNTRY CLUB          881 B CCALLE FIJI                                                                      SAN JUAN           PR         00924
  670366 IRIS RODRIGUEZ DE JESUS                       BDA LOS ROSARIO           BOX 539                                                                                CIALES             PR         00638
  229108 IRIS RODRIGUEZ DELGADO                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  229109 IRIS RODRIGUEZ GARCIA                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  229110 IRIS RODRIGUEZ GUZMAN                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  670368 IRIS RODRIGUEZ MATEO                          BDA CARMEN                92 CALLE J M CADAVEDO                                                                  SALINAS            PR         00751
  229111 IRIS RODRIGUEZ MIRANDA                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  670369 IRIS RODRIGUEZ MORALES                        270 MARGARITA VILELLA     BOX SALUD                                                                              MAYAGUEZ           PR         00680
  229112 IRIS RODRIGUEZ PENA                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
         IRIS RODRIGUEZ ROHENA /
  670371 MIGUEL J SUED                                 PO BOX 73                                                                                                        CAROLINA           PR         00986
  229113 IRIS RODRIGUEZ TORRES                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  229114 IRIS RODRIGUEZ VELAZQUEZ                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED



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  670375 IRIS ROLDAN ROHENA                            PARC LA DOLORES           51 CALLE BRAZIL                                                                        RIO GRANDE        PR         00745
  670376 IRIS ROLDAN VALENTIN                          PO BOX 1801                                                                                                      AGUADILLA         PR         00605
  229116 IRIS ROMAN MORALES                            REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  670379 IRIS ROMERO EXCLUSA                           BOX855                                                                                                           LARES             PR         00669
  229118 IRIS ROMERO VARGAS                            REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  670381 IRIS ROSADO ORTIZ                             HC 01 BOX 3669                                                                                                   LARES             PR         00669
  229119 IRIS ROSARIO / CRUZ LOPEZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  229120 IRIS ROSARIO GARCIA                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  670382 IRIS ROSARIO MEJIAS                           P O BOX 364466                                                                                                   SAN JUAN          PR         00936‐4466
  670383 IRIS ROSARIO ROSARIO                          HNAS DAVILAS              334 CALLE 1                                                                            BAYAMON           PR         00959
  229121 IRIS RUBIO BENEJAM                            REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  229122 IRIS RUIZ SANTANA                             REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  670384 IRIS S BENJAMIN CAMILO                        URB MARI OLGA L 3         CALLE SAN ROMAN                                                                        CAGUAS            PR         00725
  229123 IRIS S CARDONA GONZALEZ                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  670385 IRIS S DIAZ MARQUEZ                           PO BOX 30038                                                                                                     SAN JUAN          PR         00929‐1038
  229124 IRIS S NUNEZ LUGO                             REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  670388 IRIS S PORRATA MORALES                        P O BOX 1357                                                                                                     GUAYAMA           PR         000785
  670389 IRIS S RIVERA COLON                           PO BOX 325                                                                                                       ROSARIO           PR         00636
  670390 IRIS S RIVERA FLORES                          BOX 1824                                                                                                         MOROVIS           PR         00687
  670391 IRIS S RUIZ ARES                              PO BOX 1746                                                                                                      MAYAGUEZ          PR         00681
  670392 IRIS S SALGADO ROBLES                         PO BOX 189                                                                                                       COROZAL           PR         00783
  229125 IRIS S. RIVERA MORALES                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  670394 IRIS SAAVEDRA FERNANDEZ                       BDA TERRANOVA             882 CALLE ESTACION                                                                     QUEBRADILLAS      PR         00678
  229128 IRIS SANCHEZ SALDANA                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   229129 IRIS SANDRA FELICIANO RIVERA                 REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   229130 IRIS SANTA FLORES                            REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   670396 IRIS SANTANA BAEZ                            JUAN DOMINGO              2003 CALLE PROGRESO                                                                    GUAYNABO          PR         00966
   229131 IRIS SANTANA FRANCIS                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   670397 IRIS SANTANA MEDINA                          RES LUIS LLORENS TORRES   EDIF 16 APT 324                                                                        SAN JUAN          PR         00915
   670398 IRIS SANTIAGO ORTIZ                          COM COCO I                SOLAR 117                                                                              SALINAS           PR         00751
   670399 IRIS SANTIAGO RIVERA                         PO BOX 278                                                                                                       COAMO             PR         00769‐0278
   670401 IRIS SEMIDEY DESARDEN                        HC 02 BOX 23185                                                                                                  MAYAGUEZ          PR         00680
   229132 IRIS SEPULVEDA RODRIGUEZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   229133 IRIS SERRANO COSME                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   229134 IRIS SERRANO SERRANO                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   229135 IRIS SOLER TORO                              REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   670402 IRIS SORRENTINI SANCHEZ                      PO BOX 9022508                                                                                                   SAN JUAN          PR         00902‐2508
   670404 IRIS SOTO                                    PO BOX 5291                                                                                                      SAN SEBASTIAN     PR         00685
   229137 IRIS SOTO DIAZ                               REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   229138 IRIS SOTO FELICIANO                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   229139 IRIS SOTO PEREZ                              REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   229140 IRIS SUAREZ                                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   229141 IRIS SULLIVAN APONTE                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   670405 IRIS T BURGOS RODRIGUEZ         COND PLAZA UNIVERSIDAD                 2000 TORRE B APARTADO 507                                                              SAN JUAN          PR         00925
          IRIS T JOVER ORTIZ Y/O JOSEFINA
   670406 ORTIZ                           COLINAS VERDES                         A 20 CALLE 1                                                                           SAN JUAN          PR         00924
   229143 IRIS T. RODRIGUEZ ALVAREZ       REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          IRIS TERESA MORALES
   229144 MELENDEZ                        REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   670408 IRIS THEN VERAS                 C/O ANTONIA DE JESUS                   DEPTO. DE SALUD             PO BOX 70184                                               SAN JUAN          PR         00936‐8184
   670410 IRIS TIRADO ROSARIO             PO BOX 159                                                                                                                    CIDRA             PR         00739



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  670411 IRIS TORO MANZANO                            PO BOX 2300                                                                                                         MAYAGUEZ          PR         00681
  670412 IRIS TORRES ALICEA                           HC 2 BOX 10176                                                                                                      YAUCO             PR         00698
  670413 IRIS TORRES DE JESUS                         BO YAUREL                    SECTOR PALMAREJO APT 843                                                               ARROYO            PR         00714
  670414 IRIS TRABAL QUINTANA                         URB BELMONTE                 63 CALLE SEGOVIA                                                                       MAYAGUEZ          PR         00680‐2310
  229145 IRIS V ALVAREZ RAMOS                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  229146 IRIS V BERRIOS LUCAS                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  229147 IRIS V BRUNO GUZMAN                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  229148 IRIS V CASIANO                               REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  229149 IRIS V COLON GONZALEZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  670416 IRIS V CONTRERAS MUNOZ                       URB TINTILLO GDNS            G30 CALLE 7                                                                            GUAYNABO          PR         00966
  670417 IRIS V FUENTES TOLEDO                        LAGO VISTA 2                 200 BLVD MONROIG APT 227                                                               TOA BAJA          PR         00949
  229150 IRIS V GUILLOTY ORTIZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  670419 IRIS V IRIZARRY MALDONADO                    HC 02 BOX 6954                                                                                                      UTUADO            PR         00641
  670420 IRIS V LOPEZ MORALES                         PO BOX 6445                                                                                                         BAYAMON           PR         00960

   670421 IRIS V LUGO RIVERA                          COND LOS ROBLES APT 1012 B                                                                                          SAN JUAN          PR         00901
   670422 IRIS V LUZUNARIS ROMAN                      URB VILLA UNIVERSITARIA      13 CALLE 2K                                                                            HUMACAO           PR         00791
   229151 IRIS V MANZANO IGARAVIDEZ                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   229152 IRIS V MARRERO COLON                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   670424 IRIS V MILANO DIAZ                          BO BOMULAS                   CARR 1674 KM 22                                                                        AGUAS BUENAS      PR         00703
   670425 IRIS V MONTALVO MARTINEZ                    URB IDAMARIS GARDENS         C 43 CALLE MIGUEL A GOMEZ                                                              CAGUAS            PR         00725
   229153 IRIS V MONTANEZ RIVERA                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   229154 IRIS V MOVET VILLEGAS                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   229155 IRIS V ORTEGA RIVERA                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   670428 IRIS V ORTIZ FUENTES                        URB JOSE P H HERNANDEZ       153 ALTO CALLE 4                                                                       RIO GRANDE        PR         00745
   229156 IRIS V ORTIZ MENDEZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   670429 IRIS V PEREZ ARROYO                         BO LA QUINTA 200 BALBOA                                                                                             MAYAGUEZ          PR         00680
   229157 IRIS V QUILES AVILLAN                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   229158 IRIS V RAMIREZ MARTINEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   229159 IRIS V REYES CRESPO                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   670430 IRIS V REYES VERA                           PARC HILLS BROTHERS          518 CALLE 35                                                                           SAN JUAN          PR         00924
   670431 IRIS V RIVERA DAVILA                        BRISA DE BORINQUEN I         EDIF F APT 402                                                                         CAROLINA          PR         00983
   229160 IRIS V RIVERA MUNIZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   229161 IRIS V RODRIGUEZ DE JESUS                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   229162 IRIS V RODRIGUEZ VALPAIS                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   670433 IRIS V RODRÖGUEZ OCASIO                     EXT LAS DELICIAS             4015 FIDELA MATHEW                                                                     PONCE             PR         00728
   229163 IRIS V ROMERO RAMOS                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   670434 IRIS V ROSA NIEVES                          PO BOX 3650                                                                                                         CIDRA             PR         00739
                                                      URB.COUNTRY CLUB H E CALLE
   670435 IRIS V SANTIAGO CRUZ                        222                                                                                                                 CAROLINA          PR         00982
   670436 IRIS V SANTIAGO RODRIGUEZ                   VILLA SULTANITA              553 J APONTE DE SILVA                                                                  MAYAGUEZ          PR         00680
   229164 IRIS V SANTOS NIEVES                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   229165 IRIS V SEGARRA QUINONES                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   670437 IRIS V VALIENTE RIVERA                      7113 BUDAPEST WAY                                                                                                   ORLANDO           FL         32822
   229166 IRIS V VAZQUEZ RAMOS                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   229167 IRIS V. LUZNARIS ROMAN                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   229168 IRIS V. LUZUNARIS ROMAN                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   229169 IRIS V. OCHOA ROIG                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   229170 IRIS V. OROZCO DONES                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   229171 IRIS V. RIVERA ROSARIO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   670438 IRIS VALDES COLON                           URB SAN FELIPE               L 42 CALLE 8                                                                           ARECIBO           PR         00612
   229172 IRIS VALENTIN CENTENO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED




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MML ID                    NAME                                 ADDRESS 1                    ADDRESS 2                  ADDRESS 3                           ADDRESS 4              CITY          STATE   POSTAL CODE        COUNTRY

   229173 IRIS VALERIA GONZALEZ VARGAS REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670439 IRIS VALLEJO MIRANDA         HC 33 BOX 2117                                                                                                                  DORADO              PR           00646
          IRIS VANESA DELGADO
   670440 HERNANDEZ                    URB LAS AMERICAS                          820 CALLE OTTAWA APTO 00                                                              SAN JUAN            PR           00925
   670443 IRIS VARGAS ROMAN            BO MARIANA                                BZN 929                                                                               NAGUABO             PR           00718
   670445 IRIS VAZQUEZ CABRERA         C.S.M. BAYAMON                                                                                                                  Hato Rey            PR           00936
   670446 IRIS VAZQUEZ PEREZ           RES LLORENS TORRES                        EDIF 120 APT 2226                                                                     SAN JUAN            PR           00913

   670447 IRIS VEGA DIAZ                              SIERRA BAYAMON APARTMENTS CALLE 5 APTO 47                                                                        BAYAMON             PR           00961
   670449 IRIS VEGA ORTIZ                             CAPARRA TERRACE 1216      CALLE 10 SE                                                                            SAN JUAN            PR           00921
   229174 IRIS VELAZQUEZ RONDON                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   229175 IRIS VELAZQUEZ SORRENTINI                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670450 IRIS VELEZ ARROYO                           HC 9 BOX 1382                                                                                                    PONCE               PR           00731‐9710
   670451 IRIS VELEZ GARCIA                           PO BOX 1149                                                                                                      COTO LAUREL         PR           00780
   670453 IRIS VILLANUEVA ARCE                        BO MAMEY                  CARR 4417 KM 1.2                                                                       AGUADA              PR           00602
   670455 IRIS VILLANUEVA ARMAN                       PO BOX 300                                                                                                       MOCA                PR           00676
   670456 IRIS VILLANUEVA NIEVES                      URB BELLOMONTE            V7 CALLE B                                                                             GUAYNABO            PR           00969
   670457 IRIS VOLETA MONTANEZ                        RR 02 BOX 6082                                                                                                   CIDRA               PR           00739
   670458 IRIS W CATALA                               RR 6 P O BOX 9689                                                                                                SAN JUAN            PR           00926
   229177 IRIS W CINTRON DURAN                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670459 IRIS W DELGADO FIGUEROA                     COOP JARD SAN IGNACIO     APT 1312 B                                                                             SAN JUAN            PR           00927
   229178 IRIS W MANGUAL VAZQUEZ                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670460 IRIS W SALGADO JIMENEZ                      PO BOX 1223                                                                                                      MOROVIS             PR           00687
   229179 IRIS W SANCHEZ MENDEZ                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670461 IRIS Y ASENCIO CRUZADO                      HC 1 BOX 23604                                                                                                   VEGA BAJA           PR           00693
   669782 IRIS Y AYALA CUENTAS                        URB COUNTRY CLUB 4ta EXT  OK 16 CALLE 508                                                                        CAROLINA            PR           00982
   670462 IRIS Y BLANCO RESTO                         PO BOX 372                                                                                                       VILLALBA            PR           00766
   229180 IRIS Y CASANOVA CHICLANA                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670463 IRIS Y CRUZ NIEVES                          59 CALLE LIBERTAD                                                                                                VEGA ALTA           PR           00692
   670464 IRIS Y DEL RIO MIRANDA                      PO BOX 690                                                                                                       CIALES              PR           00638
   670465 IRIS Y DIAZ FELICIANO                       I 5 CALLE 9                                                                                                      SAN JUAN            PR           00926
   229182 IRIS Y GARCIA                               REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   229183 IRIS Y GONZALEZ RIVERA                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          IRIS Y IRIZARRY C\O COMITE
   670467 PARALIMPICO                                 PO BOX 9023207                                                                                                   SAN JUAN            PR           00902‐3207
   229184 IRIS Y IRIZARRY MERCADO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   229185 IRIS Y LEON MORALES                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670469 IRIS Y LUGO RODRIGUEZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   229186 IRIS Y MIRANDA QUINONEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   229187 IRIS Y MIRANDA RIVERA                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670470 IRIS Y NEGRON RIVERA                        6 CALLE MISS FIEL                                                                                                AIBONITO            PR           00705
   229188 IRIS Y NIEVES SERRANO                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   229189 IRIS Y OROPEZA CLAUDIO                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670471 IRIS Y ORTIZ RODRIGUEZ                      CAGUAS TOWER APT 106                                                                                             CAGUAS              PR           00725
   670472 IRIS Y PACHECO MANSO                        VILLA FONTANA              MN 4 VIA 33                                                                           CAROLINA            PR           00983
   229190 IRIS Y RAMIREZ PEDROZA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670473 IRIS Y RAMOS DIAZ                           VILLA FONTANA              Q 52 VIA 44                                                                           CAROLINA            PR           00983
   670474 IRIS Y RAMOS MIRANDA                        ESTANCIAS DE LA FUENTE     86 AZUCENA                                                                            TOA ALTA            PR           00953
   670475 IRIS Y RAMOS SANTIAGO                       BO PALOMAS                 7 CALLE O                                                                             YAUCO               PR           00698
   229191 IRIS Y RIVERA DE JESUS                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   229192 IRIS Y RIVERA OSORIO                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   229193 IRIS Y ROLDAN DE JESUS                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  670476 IRIS Y ROSA HERNANDEZ                         PO BOX 744                                                                                                            NARANJITO         PR         00719
  229194 IRIS Y ROSADO VAZQUEZ                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  670479 IRIS Y SANCHEZ SOTO                           URB LOMAS VERDES            V7 CALLE CORAL                                                                            BAYAMON           PR         00956
  229195 IRIS Y SANTIAGO SANTIAGO                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  229197 IRIS Y TORRES RIVERA                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  670481 IRIS Y VEGA NEGRON                            SANTA JUANA                 R 2 CALLE 14                                                                              CAGUAS            PR         00725‐2041
  670482 IRIS Y VICENTE GUILFU                         URB HACIENDA                AK 9 CALLE 49                                                                             GUAYAMA           PR         00784
  229198 IRIS Y. CARTDONA TIRADO                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  670484 IRIS Y. CASANOVA CHICLANA                     INT VILLA DOS PINOS         442 CALLE FLORIDA                                                                         SAN JUAN          PR         00923
  229199 IRIS Y. FLORES FIGUEROA                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  229200 IRIS Y. GARCIA RIVERA                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  670485 IRIS Y. REYES ROSARIO                         PROG. SERA BAYAMON                                                                                                    Hato Rey          PR         009360000
  229201 IRIS Y. ROSADO RIVERA                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  229202 IRIS YARITZA ROSARIO NIEVES                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   670487 IRIS YOLANDA APONTE                          BANCO COOP PLAZA OFICINA    404B AVE PONCE DE LEON 00623                                                              SAN JUAN          PR         00917
          IRIS YOLANDA BEERIOS
   670488 ALEJANDRO                                    PO BOX 1223                                                                                                           SAINT JUST        PR         00978‐1223
   670489 IRIS YOLANDA CUEVAS SEDA                     BO CEIBA BAJA               CARR 110 KM 25 1                                                                          AGUADILLA         PR         00605

   229204 IRIS YOLANDA NEGRON CINTRON REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   229205 IRIS YOLANDA ROMAN VELEZ    REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   670492 IRIS YOLANDA VEGA RIVERA    P O BOX 142742                                                                                                                         ARECIBO           PR         00614
   229206 IRIS Z FLECHA ASTACIO       REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   229207 IRIS Z RAMOS LOPEZ          REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   670494 IRIS Z RAMOS VEGA           PO BOX 1024                                                                                                                            SABANA GRANDE     PR         00637
   229208 IRIS Z. ZAVALA MARTINEZ     REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   229209 IRIS ZAYAS COLON            REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   229210 IRIS, MALDONADO             REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   670497 IRISBEL SANCHEZ RIVERA      HC 3 BOX 32279                                                                                                                         HATILLO           PR         00659‐9609
   670498 IRISBELIA GONZALEZ ARCE     HC 03 BOX 16276                                                                                                                        QUEBRADILLAS      PR         00678

   670499 IRISBELL GONZALEZ DELGADO                    P O BOX 531                                                                                                           ARROYO            PR         00714
   670500 IRISBELLE ALEJANDRO                          6011 CALLE VAZQUEZ BOX 46                                                                                             SABANA SECA       PR         00952
   229214 IRISBELSY PAGAN ROSA                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   670502 IRISBERTO D CORUJO LOPEZ                     URB BAYAMON GARDENS         L 39 CALLE 14                                                                             BAYAMON           PR         00957‐2412
   670503 IRISDAY AZAN CASAS                           URB BUENA VENTURA           NM 28 CALLE MAGNOLIA                                                                      MAYAGUEZ          PR         00680
   670504 IRISDELIZ MOJICA GARCIA                      HC 01 BOX 5179                                                                                                        CANOVANAS         PR         00729
   229215 IRISEL COLLASO NAZARIO                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   229216 IRISEL GROENNOU TORRES                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   670505 IRISEL VEGA VARGAS                           PO BOX 2681                                                                                                           SAN GERMAN        PR         00683

   670506 IRISELYS RODRIGUEZ BERMUDEZ 658 URB MONTE CASINO 2                                                                                                                 TOA ALTA          PR         00953

   670507 IRISEMA CRUZ RODRIGUEZ                       VALLE PIEDRAS               109 CALLE FRANCISCO NEGRON                                                                LAS PIEDRAS       PR         00771‐3088
          IRISH COLLECTORS INC /
   670508 SEMINARS & MORE                              PO BOX 1169                                                                                                           BAYAMON           PR         00960

   229218 IRISMELDA VAZQUEZ FELICIANO REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   229219 IRISNELA PIMENTEL BANES     REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   670509 IRISVELIA CALDERON MATTA                     253 C/ GUMERCINDO MANGUAL                                                                                             FAJARDO           PR         00738
   229220 IRITZA M. ROMERO GARCIA                      REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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MML ID               NAME                                        ADDRESS 1                   ADDRESS 2                     ADDRESS 3                          ADDRESS 4              CITY       STATE     POSTAL CODE       COUNTRY
  229221 IRIVETTE MORALES RUBIO                       REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         IRIVING LAGOMARSINI
  229222 QUINONES                                     REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   670510 IRIXIOMARA MARTINEZ BURGOS                  BOX 1561                                                                                                            RIO GRANDE          PR         00745
   229223 IRIZ M RIVERA                               REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   229231 IRIZARRI IRIZARRI, SILVIA M                 REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   229244 IRIZARRY ACOSTA, CARMEN                     REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1420069 IRIZARRY ALICEA, GLADYS                     CESAR A. LUGO CARDONA       PO BOX 70199                                                                            SAN JUAN            PR         00936‐8190
   229296 IRIZARRY APONTE, MARILYN                    REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   229301 IRIZARRY AQUINO, CARMEN                     REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   229321 IRIZARRY AUTO AIR PARTS INC                 VILLA BLANCA                2 AVE MUNOZ MARIN                                                                       CAGUAS              PR         00725

   229331 IRIZARRY BAEZ MD, ROLANDO                   REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   229334 IRIZARRY BAEZ, IVETTE N.                    REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

  1420070 IRIZARRY BENEJAM, JULIO                     GRISSELLE GONZÁLEZ NEGRÓN   PO BOX 11155                                                                            SAN JUAN            PR         00922‐1155
   229341 IRIZARRY BENETTI MD, CESAR                  REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   229349 IRIZARRY BONILLA MD, MARISOL REDACTED                                   REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IRIZARRY CALDERÓN, YAZMIN                                               EDIFICIO HATO REY PLAZA SUITE
  1420071 MILAGROS Y OTROS             SHEILA L. BENABE GONZÁLEZ                  4 AVE. PIÑERO #200                                                                      SAN JUAN            PR         00918
          IRIZARRY CAMPERO MD,
   229389 WALTER F                     REDACTED                                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IRIZARRY CEBALLOS MD,
   229430 CARMEN D                     REDACTED                                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   229441 IRIZARRY CLAUDIO MD, ELIUD   REDACTED                                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1420072 IRIZARRY COLLAZO, MANUEL     RAMÓN SEGARRA                              APARTADO 9023853                                                                        SAN JUAN            PR         00902‐3853
                                       JOEL ANTHONY RODRÍGUEZ
  1420073 IRIZARRY CONCEPCION, TOMAS ORTIZ                                        PO BOX 6834                                                                             MAYAGÜEZ            PR         00681‐6834
   229470 IRIZARRY CRUZ MD, ELMER L    REDACTED                                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   229497 IRIZARRY CRUZ, RUTH E.       REDACTED                                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670512 IRIZARRY CYCLE SHOP          BO DULCES LABIOS                           63 CALLE SIMON                                                                          MAYAGUEZ            PR         00680

   229570 IRIZARRY FELICIANO PSY, MAYTE REDACTED                                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

  1420074 IRIZARRY FELICIANO, NELLYNET                JUAN P. RIVERA ROMÁN        PO BOX 7498                                                                             PONCE               PR         00732
   229639 IRIZARRY GARCIA, OLGA I                     REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IRIZARRY HERNANDEZ
   229699 ESMERALDA                                   REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

  1420075 IRIZARRY HERNANDEZ, ANTONIO JORGE MARTINEZ LUCIANO                      513 CALLE JUAN J. JIMENEZ                                                               SAN JUAN            PR         00918
   229756 IRIZARRY IRIZARRY, KERMIT   REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1420076 IRIZARRY LOPEZ, RAY         ARTURO R. NEGRON VARGAS                     PO BOX 191182                                                                           SAN JUAN            PR         00919‐1182
   229843 IRIZARRY LUGO MD, MARISEL   REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   229911 IRIZARRY MARTINEZ, EVELYN   REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   229912 IRIZARRY MARTINEZ, GIMARIE  REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   229950 IRIZARRY MD, ALFREDO        REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IRIZARRY MONTALVO MD,
   230018 HECTOR J                    REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   230020 IRIZARRY MONTALVO, ELBA     REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   230030 IRIZARRY MORALES MD, WALTER REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   230165 IRIZARRY ORTIZ, YARELIS     REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420077 IRIZARRY PEREZ, JOSE A.     ANDRÉS RODRIGUEZ ELÍAS                      PO BOX 1146                                                                             SABANA SECA         PR           00952
          IRIZARRY PROFESSIONAL
   670513 ROOFING                     HC 2 BOX 12925                                                                                                                      SAN GERMAN          PR           00683
                                      MIGUEL RODRÍGUEZ
  1420078 IRIZARRY RAMOS, ADALBERTO   CARTAGENA                                   PMB 105 CALL BOX 5004                                                                   YAUCO               PR           00698
   230304 IRIZARRY REFRIGERATION      REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1420079 IRIZARRY RIVERA, FIDEL                      CAREN A. RUIZ PÉREZ         CALLE ANGEL G. MARTINEZ #5                                                              SABANA GRANDE       PR           00637
   230404 IRIZARRY RIVERA, SILMA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          IRIZARRY ROBLES, ALBERTO                                                CODEMANDADO: ALB PLAZA       ATTORNEYS AT LAW #16 LAS
  1422789 RUBEN                                       ALDARONDO & LOPEZ BRAS PSC. SUITE 400                    CUMBRES AVE.                                               GUAYNABO            PR           00969

   230419 IRIZARRY RODRIGUEZ MD, IVAN F REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   230420 IRIZARRY RODRIGUEZ MD, JOSE F REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   230422 IRIZARRY RODRIGUEZ, ADELAIDA REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                  INST. GUAYAMA 1000 PO BOX
  1420080 IRIZARRY RODRIGUEZ, JUAN                    DERECHO PROPIO              10009                                                                                   GUYAMA              PR           00785
                                                                                  CASA METROPOLITANA #1410
  1420081 IRIZARRY ROMÁN, VANESSA                     LILIANA KORTRIGHT SOLER     APARTADO 86                                                                             SAN JUAN            PR           00921‐3417

  1420082 IRIZARRY SANTANA, JOSELIN A.                HARRY MANSANET PASTRANA     85 PLAZA CAMELIA                                                                        TRUJILLO ALTO       PR           00976
   230586 IRIZARRY SANTIAGO, MARTHA                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   230693 IRIZARRY TORRES, ALMA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670514 IRIZARRY TRANSMISIONS                       PMB 20023 BOX 35000                                                                                                 CANOVANAS           PR           00729
   230751 IRIZARRY VALENTIN, LISSETTE                 REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   230782 IRIZARRY VEGA MD, JORGE A                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                  644 AVE. ANDALUCÍA ALTOS
  1420083 IRIZARRY, LIZANDRA                          CARMEN M. QUIÑONES NÚÑEZ    PUERTO NUEVO                                                                            SAN JUAN            PR           00920
  1256579 IRIZARRY, RODRIGUEZ & CO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   230883 IRIZARRY, RODRIGUEZ CPA'S, PSC PO BOX 25070                                                                                                                     SAN JUAN            PR           00928‐5070
   230902 IRKA D. RIVERA ROSA            REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670515 IRKA L AMARO IRIZARRY          COND PARQUE DE LA VISTA                  D 338                                                                                   SAN JUAN            PR           00936
   670516 IRKA M DIAZ BERRIOS            SANTA ELENA                              KK 17 CALLE J                                                                           BAYAMON             PR           00957
   230903 IRKA TYSON GRIFFIN             REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670517 IRKANIA MARQUEZ                HC 3 BOX 21140                                                                                                                   RIO GRANDE          PR           00745
   230914 IRLANDA RUIZ AGUIRRE           REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   230919 IRMA A FARGAS WALKER           REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   230920 IRMA A GELPI JIMENEZ           REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   230921 IRMA A RODRIGUEZ COSSIO        REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   230922 IRMA A RODRIGUEZ SOTO          REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   230923 IRMA A TORRES ROSADO           REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   230924 IRMA ABREU MARINE              REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   670524 IRMA ACEVEDO AVILES            LOS COLOBOS PARK                         1014 GUAYACAN                                                                           CAROLINA            PR           00987

   670526 IRMA ADORNO CARRASQUILLO                    PO BOX 40044                                                                                                        SAN JUAN            PR           00940‐0044
   670527 IRMA ADORNO QUIONES                         CSM San Patricio                                                                                                    Hato Rey            PR           00936
   670528 IRMA AGOSTO RODRIGUEZ                       HC 01 BOX 4065                                                                                                      BAJADERO            PR           00616‐9702



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  230925 IRMA ALGARIN CORREA                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670518 IRMA ALONSO MARTI                            HC 4 BZ 46463                                                                                                 AGUADILLA          PR         00603
  670529 IRMA ALONSO MARTI                            HC 4 BUZON 46463                                                                                              AGUADILLA          PR         00603
  670530 IRMA ANAYA CORDERO                           URB EL DORADO               B 3 CALLE MAGNOLIA                                                                GUAYNABO           PR         00784
  230926 IRMA ANDINO LOPEZ                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  230927 IRMA ANDUJAR COLLAZO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670533 IRMA APOLINARIS                              HC 05 BOX 52552                                                                                               CAGUAS             PR         00725
  230928 IRMA AQUINO                                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670535 IRMA AVILES PEREZ                            PO BOX 30000 STE 523                                                                                          CANOVANAS          PR         00729
  670536 IRMA B ARMSTRONG RIVERA                      URB MALLORCA S 4            CALLE NEBRASKA                                                                    GUAYNABO           PR         00969
  230929 IRMA B MEDINA GONZALEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  230930 IRMA B REYES ROSA                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  230931 IRMA BADILLO QUINTANA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670538 IRMA BAEZ MALDONADO                          URB EL JARDIN               B 20 CALLE 2A                                                                     GUAYNABO           PR         00969
  670539 IRMA BAJANDAS ZAYAS                          HC 1 BOX 3644                                                                                                 SANTA ISABEL       PR         00757
  230932 IRMA BARRETO SANTOS                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         IRMA BETTYNA ROSALES
  670541 VILLEGAS                                     URB EL EDEN                 16 B CALLE C                                                                      COAMO              PR         00769
  670543 IRMA BEYLEY FUENTES                          PO BOX 205                                                                                                    RIO GRANDE         PR         00745‐0205
  230933 IRMA BOCANEGRA SALDANA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670545 IRMA BORRERO PAGAN                           HC 2 BOX 5153                                                                                                 GUAYANILLA         PR         00656
  230934 IRMA BURGOS CRUZ                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670546 IRMA BURGOS DE JESUS                         URB COUNTRY CLUB            780 CALLE MARQUESA                                                                SAN JUAN           PR         00924
  230935 IRMA C BASTIDE PESANTE                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  670548 IRMA C MORALES SERRANO                       PMB 275 P O BOX 2510                                                                                          TRUJILLO ALTO      PR         00977
  670549 IRMA C RIVERA CORTES                         URB JARDINES DEL CARIBE     104 CALLE 16                                                                      PONCE              PR         00728

   230936 IRMA C ROMAN LOPEZ DE HARO REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   670550 IRMA CABRERA OLIVERA                        1505 A COMUNIDAD DEL RETIRO                                                                                   SAN JUAN           PR         00924
   230937 IRMA CABRERA OLIVERAS                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670553 IRMA CAMACHO MIRALLES                       COND EL FALANSTERIO         EDIF D APTO 8                                                                     SAN JUAN           PR         00902
   230938 IRMA CAMPOS SANTIAGO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   230939 IRMA CARDONA SERBIA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670554 IRMA CARMONA RESTO                          HC 1 BOX 4742                                                                                                 NAGUABO            PR         00718‐9724
   230941 IRMA CARRASQUILLO FORTY                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670557 IRMA CEDENO RIOS                            RR 4 BOX 727                                                                                                  BAYAMON            PR         00956
   230942 IRMA CENTENO RIVERA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   230943 IRMA COLLAZO GONZALEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670559 IRMA COLLAZO HERNANDEZ                      LAS MONJITAS                E 22 CALLE C                                                                      PONCE              PR         00731
          IRMA COLON & ALFREDO
   230944 ROBERT GONZALEZ                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   230945 IRMA COLON ALDEA                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   230946 IRMA COLON ESCUTE                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   230947 IRMA COLON HUERTAS                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   230948 Irma Corcino Moreno                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  1420084 IRMA CORREDOR                               PILAR MUÑOZ NAZARIO         PO BOX 801480                                                                     COTO LAUREL        PR         00780‐1480
   230950 IRMA CORTES MALDONADO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   230951 IRMA CORTES ORTIZ                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   670561 IRMA CORUJO CRUZ                            URB BAYAMON GARDENS         N 8 CALLE 13                                                                      BAYAMON            PR         00957
   670563 IRMA CRUZ DURAN                             C.S.M. BAYAMON                                                                                                Hato Rey           PR         00936
   670564 IRMA CUEBAS LOMBA                           COND PALMA REAL APT 3J      2 CALLE MADRID                                                                    SAN JUAN           PR         00907
   230953 IRMA D BARROS TORO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  230954 IRMA D COLON FLECHA                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   230955 IRMA D MALDONADO TORRES                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   230956 IRMA D. NIEVES RIVERA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   230957 IRMA DE L PEREZ RIVERA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   670566 IRMA DE LEON SOTO                           CALLE H‐C 22 URB VALLE REAL                                                                                     PONCE               PR         00731
          IRMA DEL C. RIVERA
   230958 IRESQUERDO                                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   670567 IRMA DEL MORAL ARROYO                       HC 1 BOX 6387                                                                                                   LAS PIEDRAS         PR         00771
          IRMA DEL PILAR GONZALEZ
   230959 SERRANO                                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   230960 IRMA DEL R BARRETO OTERO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   230962 IRMA DEL VALLE ROMAN                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   670568 IRMA DELGADO FALCON                         VILLA CONTESA                 FF 25 CALLE TUDOR                                                                 BAYAMON             PR         00956
   230963 IRMA DIAZ                                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   230964 IRMA DIAZ COLON                             REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   670569 IRMA DIAZ GONZALEZ                          SEC JUNCOS                    CARR 651 KM 3 2                                                                   ARECIBO             PR         00612
   230965 IRMA DIAZ ORTIZ                             REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
                                                      114 VILLA CARIDAD CALLE
   670570 IRMA DIAZ QUILES                            PRINCIPAL                                                                                                       CAROLINA            PR         00986
   670519 IRMA DIAZ VALCARCEL                         URB EL REMANSO                B1 CALLE ARROYO                                                                   SAN JUAN            PR         00926
   230966 IRMA E ACEVEDO MALAVE                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   230967 IRMA E APOLINARIS                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   670574 IRMA E AVILES COLON                         P O BOX 1686                                                                                                    COAMO               PR         000769
   230968 IRMA E CARBONELL LOPEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   670575 IRMA E CASIANO GONZALEZ                     P O BOX 232                                                                                                     LAS MARIAS          PR         00670
   670576 IRMA E GONZALEZ PAGAN                       EL ESCORIAL                   S6 ‐15 CALLE 6                                                                    SAN JUAN            PR         00926
   670577 IRMA E MEDINA CASTRO                        URB MONTES BRISAS             3B 24 CALLE 101                                                                   FAJARDO             PR         00738
   230969 IRMA E PADILLA REYES                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   670578 IRMA E PEREZ ALBELO                         BO SANTA ROSA                 40 CALLE D                                                                        HATILLO             PR         00659
   670579 IRMA E PEREZ AMARO                          VILLA DEL CAPITAN             V 14 CLALE ROSALES                                                                ARECIBO             PR         00613
   670580 IRMA E RAMOS RAMOS                          COND THE ALAMO CT             APTO A‐11                                                                         GUAYNABO            PR         00969
   230970 IRMA E RIVERA CABEZUDO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   670581 IRMA E RODRIGUEZ PADILLA                    P O BOX 29                                                                                                      SAN GERMAN          PR         00683
   230971 IRMA E SANCHEZ RODRIGUEZ                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   670583 IRMA E TORRES                               FERRY BARRANCA                H 9 CALLE MISSOTI                                                                 PONCE               PR         00731
   230972 IRMA E. PEREZ AMARO                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   230973 IRMA ENID ROSSNER OSORIO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   670585 IRMA ESTELA VARGAS                          HC 01 BOX 3231                                                                                                  VILLALBA            PR         00766
          IRMA ESTHER AGUIAR
   230974 FORASTIERI                                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   670586 IRMA EVA TORRES RODRIGUEZ                   PO BOX 47                                                                                                       MOROVIS             PR         00687
   670587 IRMA FALCON CASILLAS                        URB NOTRE DAME                E 13 CALLE SAN PABLO                                                              CAGUAS              PR         00725
   670588 IRMA FELIX GARCIA                           32 BRISAS DEL PLATA                                                                                             DORADO              PR         00646
   230975 IRMA FERRER MARTINEZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   670590 IRMA FERRER RODRIGUEZ                       BO GALATEO SECT VILLA JOSCO   PARCELA 213                                                                       TOA ALTA            PR         00954
   670591 IRMA FIGUEROA                               PO BOX 1757                                                                                                     RIO GRANDE          PR         00745
   230976 IRMA FIGUEROA FIGUEROA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   230977 IRMA FIGUEROA NEGRON                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   670594 IRMA FIGUEROA PEREZ                         PO BOX 655                                                                                                      VILLALBA            PR         00766



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  230978 IRMA FLORES FIGUEROA                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  670595 IRMA FLORES LEBRON                           LA PLATA                      E 25 ZAFIRO                                                                           CAYEY               PR         00736
  230979 IRMA FREIJE KOOPER SMITH                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  230980 IRMA FUENTES DIAZ                            REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  230981 IRMA G CARRILLO MARTINEZ                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   670596 IRMA G MORALES BETANCOURT                   PO BOX 2759                                                                                                         ARECIBO             PR         00613
   670597 IRMA G MORALES LOPEZ                        P.O. BOX 9024071                                                                                                    SAN JUAN            PR         00902‐4071
   670599 IRMA G RAMOS                                P O BOX 236                                                                                                         ARECIBO             PR         00613
   230982 IRMA G. MORENO DIAZ                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670601 IRMA GALARZA MERCADO                        RES LAS CASAS                 EDF 9 APT 101                                                                         SAN JUAN            PR         00915
   670602 IRMA GARCIA ARCE                            PO BOX 203                                                                                                          ARROYO              PR         00714‐0203
   230984 IRMA GARCIA PEREZ                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      URB.VILLA VERDE I AR‐31 RIO
   670604 IRMA GARCIA TORRES                          SONADOR                                                                                                             BAYAMON             PR         00961‐3203
   230985 IRMA GARRIGA DE SANTINI                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   670605 IRMA GAUTHIER CABRERA                       HORMIGUEROS PLAZA SUITE 205                                                                                         HORMIGUEROS         PR         00660

   230986 IRMA GLADYS MOLINA DE JESUS                 REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   230987 IRMA GONZALEZ CRUZ                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670609 IRMA GONZALEZ MORGOLLA                      COND SIERRA DEL SOL           APTO D 59                                                                             SAN JUAN            PR         00926
   670611 IRMA GONZALEZ PATRICIO                      PO BOX 20569                                                                                                        SAN JUAN            PR         00928
   230988 IRMA GONZALEZ PIMENTEL                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   230989 IRMA GONZALEZ QUILES                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   230990 IRMA GONZALEZ REYES                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670612 IRMA GONZALEZ RIVERA                        HC 2 BOX 15362                                                                                                      CAROLINA            PR         00985
   670613 IRMA GONZALEZ RODRIGUEZ                     P O BOX 472                                                                                                         HUMACAO             PR         00792
          IRMA GONZALEZ Y MARGIE
   230991 GONZALEZ                                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670614 IRMA GOTAY FIGUEROA                         URB EXT CAGUAX                S 11 CALLE 20                                                                         CAGUAS              PR         00725
   230992 IRMA GRACIA JUSTINIANO                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   230993 IRMA GUADALUPE MORALES                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   230994 IRMA GUADALUPE RAMOS                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670615 IRMA H HADDOCK SANCHEZ                      HC 43 BOX 9954                                                                                                      CAYEY               PR         00738‐9617
   670616 IRMA H SERRANO CANCEL                       URB LA RIVIERA                SE 1273 CALLE 42                                                                      SAN JUAN            PR         00921
   230995 IRMA H. ROLON RIVERA                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   670617 IRMA HAYDEE FILLIPPETI PEREZ                PO BOX 7634                                                                                                         PONCE               PR         00732
   670618 IRMA HERNANDEZ APONTE                       P O BOX 765                                                                                                         TOA ALTA            PR         00954
   230996 IRMA HERNANDEZ PEREZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   230997 IRMA HERNANDEZ RIVERA                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                    D1 C/ CATEDRAL PASEO SAN
   670622 IRMA HERNANDEZ RODRIGUEZ                    URB LOS PASEOS                JUAN                                                                                  SAN JUAN            PR         00926
   670624 IRMA HILERIO ARROYO                         VILLAS DE CAMBALACHE I        59 BUCARE                                                                             RIO GRANDE          PR         00745
   670625 IRMA I AGOSTO MARTINEZ                      93 JACKSON ST APT 8                                                                                                 HOLYOKE             MA         01040‐3738
   670627 IRMA I ALMEIDA CRUZ                         SECT LA 15 24                                                                                                       AGUADILLA           PR         00603
   670629 IRMA I AYALA SANTANA                        PO BOX 2300                                                                                                         SAN GERMAN          PR         00683
   230998 IRMA I CABRERA QUINTERO                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   230999 IRMA I CLAUDIO DE MATTEY                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670631 IRMA I CRUZ MONTALVO                        SANTANA                       H 14 CALLE L                                                                          ARECIBO             PR         00616
   231000 IRMA I DEGRO RAMIREZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231001 IRMA I DIAZ DELGADO                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  231002 IRMA I GARCIA ALICEA                         REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231003 IRMA I GARCIA ALVIRA                         REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  670632 IRMA I GOMEZ ROSADO                          URB MOUNTAIN VIEW            E 7 CALLE 5                                                                             CAROLINA          PR         00987
  670633 IRMA I GONZALEZ VAZQUEZ                      SECT EL 4 QUEBRADA CRUZ      CARR 824 KM 4                                                                           TOA ALTA          PR         00754
  670634 IRMA I GRACIA LOPEZ                          PO BOX 752                                                                                                           COMERIO           PR         00782
  670637 IRMA I MAYSONET CRUZ                         P O BOX 172                                                                                                          ARROYO            PR         00714
  670638 IRMA I MELENDZ SAEZ                          PO BOX 7428                                                                                                          SAN JUAN          PR         00916
  670639 IRMA I MORALES LOPEZ                         PO BOX 9207                                                                                                          CAGUAS            PR         00726‐9207
  231006 IRMA I MORALES RAMIREZ                       REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231007 IRMA I MUNOZ AYALA                           REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231008 IRMA I OCASIO TORRES                         REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  670643 IRMA I ORTIZ SANTIAGO                        PO BOX 553                                                                                                           CIDRA             PR         00739
  670646 IRMA I QUILES RODRIGUEZ                      P O BOX 112                                                                                                          LAS MARIAS        PR         00670
  231009 IRMA I QUINONES VELEZ                        REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   670647 IRMA I QUINTANA RODRIGUEZ                   P O BOX 1254                                                                                                         LAS PIEDRAS       PR         00771
   231010 IRMA I RODRIGUEZ                            REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   670649 IRMA I RODRIGUEZ CANCEL                     URB PARQUE REAL              N 1 CALLE DIAMANTE                                                                      LAJAS             PR         00667
   231011 IRMA I RODRIGUEZ NIEVES                     REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231013 IRMA I RODRIGUEZ RIVERA                     REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231014 IRMA I ROSARIO IGLESIAS                     REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231015 IRMA I RUIZ CASTILLO                        REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   670650 IRMA I SANCHEZ                              URB METROPOLIS               2M 65 CALLE 56                                                                          CAROLINA          PR         00987
   670651 IRMA I SANTIAGO TORRES                      URB VILLAS DE LOIZA          SS 26 CALLE 28                                                                          CANOVANAS         PR         00729
   670652 IRMA I SERRANO SERRANO                      HC 6 BOX 2190                                                                                                        PONCE             PR         00731‐9611
   670654 IRMA I SIERRA RIVERA                        URN SAN GERARDO              1654 SANTA AGUEDA                                                                       SAN JUAN          PR         00926
   670655 IRMA I SIERRA VEGA                          EMBALSE SAN JOSE             359 CALLE CEUTA                                                                         SAN JUAN          PR         00923

   670656 IRMA I SOTO RIVERA                          5TA SECC DE LEVITTOWN        BD 21 CALLE DR GABRIEL FERRER                                                           LEVITTOWN         PR         00949
   670657 IRMA I VARELA TORRES                        REDACTED                     REDACTED                      REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          IRMA I VAZQUEZ,CARMEN L
   231017 VAZQUEZ,                                    REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231018 IRMA I VEGA RAMIREZ                         REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   670658 IRMA I VEGA VALES                           PO BOX 388                                                                                                           CAMUY             PR         00627
   670659 IRMA I. RIVERA ESTRADA                      HP ‐ SALA 1 ALTO                                                                                                     RIO PIEDRAS       PR         009360000
   231019 IRMA I. RIVERA FLORES                       REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   670660 IRMA INGLES LUCRET                          FLORAL PARK                  433 CALLE DR RUFO                                                                       SAN JUAN          PR         00960
   670661 IRMA IRANZO BERROCAL                        RIO PIEDRAS HEIGHTS          131 CALLE PORTUGUEZ                                                                     SAN JUAN          PR         00926
   670662 IRMA IRIS AYALA MERCADO                     URB LOMAS VERDES             4X37 CALLE PETREA                                                                       BAYAMON           PR         000956
                                                      10 COND PARK VIEW TERRACE
   670665 IRMA IRIS GONZALEZ MORALES                  APT 404                                                                                                              CANOVANAS         PR         00729
   670666 IRMA IRIS MARRERO REYES                     URB SANTA ROSA               27 CALLE 32‐12                                                                          BAYAMON           PR         00959
   231020 IRMA ISONA COLON                            REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   670667 IRMA J FRANCES TORRES                       P O BOX 172                                                                                                          CIALES            PR         00638

   231021 IRMA J MALDONADO SERRANO                    REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   670668 IRMA J MERCED RUIZ                          PO BOX 6373                                                                                                          CAGUAS            PR         00726
   231022 IRMA J NIEVES REYES                         REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231023 IRMA J OLIVIERI VICENTY                     REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      URB.VALLE PUERTO REAL H‐10
   670669 IRMA J RAMOS CONCEPCION                     CALLE 1                                                                                                              FAJARDO           PR         00738
   231024 IRMA J RIOS RAMOS                           REDACTED                     REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   670670 IRMA J RIVERA ESTRADA                       JARDINES DE GUAYAMA          EDIF O APTO 401                                                                         SAN JUAN          PR         00917



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  231025 IRMA J SAEZ LOPEZ                            REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   231027 IRMA J WHARTON VELAZQUEZ                    REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   670674 IRMA J. CONNOR CEREZO                       APT209                         17W718 BUTTERFIELD RD                                                              OAKBROOK TERRACE     IL         60181
   231028 IRMA J. SAEZ LOPEZ                          REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   670675 IRMA JANICE ROSARIO                         COND. TORRE ALTA 604           CALLE URUGUAY 274                                                                  SAN JUAN             PR         00917
   670676 IRMA L ACEVEDO PEREZ                        PARC TERRANOVA                 CALLE 17 BOX 317                                                                   QUEBRADILLAS         PR         00678
   670677 IRMA L APONTE RODRIGUEZ                     BO BEATRIZ                     CARR 1 KM 53 0                                                                     CAYEY                PR         00736
   670678 IRMA L AVILES RODRIGUEZ                     PO BOX 649                                                                                                        QUEBRADILLAS         PR         00678
   231029 IRMA L BONILLA CASTILLO                     REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   231031 IRMA L DELGADO SANTANA                      REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   670680 IRMA L DIAZ ALVERIO                         HC 01 BOX 9328                                                                                                    GURABO               PR         00778
   670681 IRMA L GONZALEZ                             ROUND HILL                     349 CRUZ DE MALTA                                                                  TRUJILLO ALTO        PR         00976
   670682 IRMA L MORALES                              RES EGIPCIACO                  EDIF 6 APT 29                                                                      AGUADA               PR         00602
   231032 IRMA L MUNOZ CORTES                         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
          IRMA L NIEVES / ZULMARIS
   670683 RIVERA NIEVES                               HC 04 BOX 10462                                                                                                   RIO GRANDE           PR         00745
   231033 IRMA L NIEVES NEGRON                        REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   670685 IRMA L QUILES                               URB VENUS GARDEN OESTE         BB 8 CALLE A                                                                       SAN JUAN             PR         00926
   670686 IRMA L QUINTANA VAZQUEZ                     URB BELMONTE                   74 CALLE PRAVIA                                                                    MAYAGUEZ             PR         00680
   670687 IRMA L REYES LEON                           HC 01 BOX 7076                                                                                                    LAS PIEDRAS          PR         00771
   231035 IRMA L RIVERA COLON                         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   231036 IRMA L RIVERA RAMOS                         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   670688 IRMA L RIVERA TROCHE                        VILLAS DE FELISA               3033 MARIA L ARCELAY                                                               MAYAGUEZ             PR         00680

   670689 IRMA L RODRIGUEZ GONZALEZ                   URB. MARIOLA M 1               CALLE SAN VICENTE                                                                  CAGUAS               PR         00725
   231037 IRMA L ROSADO PEREZ                         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   231038 IRMA L SANCHEZ VELEZ                        REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   231039 IRMA L SANTANA SANTIAGO                     REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   670690 IRMA L SANTIAGO OCASIO                      HC 01 BOX 6740                                                                                                    BAJADERO             PR         00616

   231040 IRMA L SANTIAGO RODRIGUEZ                   REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   670691 IRMA L TRINIDAD RODRIGUEZ                   HC 01 BOX 5956                                                                                                    MOROVIS              PR         00687

   670692 IRMA L URDAZ FIGUEROA                       372 AVE. ROTARIO SUITE 208‐B                                                                                      ARECIBO              PR         00612
   670693 IRMA L VAZQUEZ JIMENEZ                      142 CALLE MIRAMAR                                                                                                 QUEBRADILLAS         PR         00678
   231041 IRMA L VAZQUEZ SANABRIA                     REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   231042 IRMA L. ALLENDE QUINONES                    REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   231044 IRMA L. DIAZ ROSARIO                        REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   231046 IRMA L. MATIAS LEBRON                       REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   231047 IRMA L. MENDEZ MENDEZ                       REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   231049 IRMA L. PASTOR GARCIA                       REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   231050 IRMA L. ROMERO CRUZ                         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   231051 IRMA LABOY CASTILLO                         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   670697 IRMA LABOY MARTINEZ                         ESTANCIAS DEL CARMEN           2170 CALLE TRIGO                                                                   PONCE                PR         00718

   670698 IRMA LEBRON NAZARIO                         HP ‐ MANEJO DE INF. DE SALUD                                                                                      RIO PIEDRAS          PR         009360000

   231052 IRMA LISSETTE ZAYAS CORREA                  REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   231053 IRMA LIZ HERNANDEZ MORENO REDACTED                                         REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   670700 IRMA LOPEZ BELEN          HC 1 BOX 6752                                                                                                                       LAJAS                PR         00667
   231054 IRMA LOPEZ DEFILLO        REDACTED                                         REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED



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  231055 IRMA LOPEZ DEL VALLE                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  670701 IRMA LOPEZ RAMOS                             URB LA QUINTA               M37 CALLE CARTIER                                                                 YAUCO               PR         00598‐4120
         IRMA LUGO OLIVERAS VDA
  231057 ULPIANO CASTILLO                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  670703 IRMA LUYANDA DIAZ                            URB REPARTO VALENCIA        Y 7 CALLE I                                                                       BAYAMON             PR         00959
  670705 IRMA M COLON ALEGRAN                         5419 CALLE PEZ GALLO                                                                                          PONCE               PR         00731
  670706 IRMA M CORTES VEGA                           P O BOX 103                                                                                                   BARCELONETA         PR         00617
  670707 IRMA M DE LA CRUZ                            COND LINCOLN PARK           CARR 833 APT 811                                                                  GUAYNABO            PR         00969
  670520 IRMA M DIAZ GONZALEZ                         BO SANTANA PARC PEREZ       17 CALLE 2                                                                        ARECIBO             PR         00612
  231058 IRMA M MALDONADO FEBLES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  231060 IRMA M PACHECO COLIN                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  670709 IRMA M PAGAN VILLEGAS                        URB HILLSIDE                A8 CALLE 1                                                                        SAN JUAN            PR         00926
  231061 IRMA M RIVERA COLON                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  231062 IRMA M ROJAS CINTRON                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  231063 IRMA M ROSADO ROSADO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  231066 IRMA M. SALINAS MORENO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  670712 IRMA MALDONADO COLLAZO                       HC 1 BOX 5296                                                                                                 JUANA DIAZ          PR         00795‐9516
  231067 IRMA MALDONADO FEBLES                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  670713 IRMA MANRIQUE ROSSELLO                       TERR DE CUPEY J‐7 CALLE 3                                                                                     TRUJILLO ALTO       PR         00976‐3248
  670714 IRMA MARTINEZ RIVERA                         N 10 JARD DE SANTA ANA                                                                                        COAMO               PR         00769
  670715 IRMA MATEO SANCHEZ                           PO BOX 7846                                                                                                   SANTA ISABEL        PR         00757
  670716 IRMA MAYSONET TOSA                           10 CALLE PLUTON                                                                                               VEGA BAJA           PR         00693
                                                                                  COND CONDADO DEL MAR
   670717 IRMA MEDINA RIOS                            C/O IRIS SORRENTINI         APT411                 1479 AVE ASHFORD                                           SAN JUAN            PR         00907
   231068 IRMA MERCADO CARLO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670718 IRMA MOLINA ALAMO                           URB VILLA CAROLINA          FF 15 CALLE 3                                                                     CAROLINA            PR         00983
          IRMA MONTALVAN/ IRMA I
   231069 GARCIA                                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670719 IRMA MONTALVO ROSADO                        URB RIO HONDO 3             CE9 CALLE CEIBAS                                                                  BAYAMON             PR         00961
   670720 IRMA MORALES ARCAY                          CAMPO ALEGRE                J 1 CALLE ALEGRE                                                                  PONCE               PR         00716
   670721 IRMA MORALES CRUZ                           URB LAS CANTIDADEZ          19 CALLE CANTIZALEZ                                                               SAN JUAN            PR         00926
   231071 IRMA MORALES MERCADO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670722 IRMA MORALES SANTIAGO                       PO BOX 6636                                                                                                   PONCE               PR         00733
   231072 IRMA N ALICEA GUZMAN                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231073 IRMA N ALVAREZ RUIZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231074 IRMA N BRACERO                              REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670723 IRMA N COLLAZO ALICEA                       SANT ANTONIO                D 2 CALLE 5                                                                       HUMACAO             PR         00791
   670724 IRMA N COLON CRUZ                           RES JARDINES SELLES         EDIF 1 A APTO 1 A7                                                                SAN JUAN            PR         00924
   670725 IRMA N DELGADO ARROYO                       URB VILLAS DE LOIZA         AG 14 CALLE 30                                                                    CANOVANAS           PR         00729
   670726 IRMA N DELGADO GARCIA                       PO BOX 14427                                                                                                  SAN JUAN            PR         00916
   670727 IRMA N DELGADO SOLEDAD                      BO HATO ARRIBA              CALLE D BOX 88                                                                    ARECIBO             PR         00612
   231075 IRMA N GAUTHIER CABRERA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670728 IRMA N MARTINEZ VELEZ                       RIO MAMEYES                 AL 12 RIO HONDO                                                                   BAYAMON             PR         00961
   670729 IRMA N NEGRON                               PLAYA PONCE                 188 AVE PADRE NOEL                                                                PONCE               PR         00731
   670730 IRMA N ORTIZ GARCIA                         P O BOX 151                                                                                                   OROCOVIS            PR         00720
   231077 IRMA N PACHECO ROSA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231078 IRMA N RIVERA NIEVES                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231079 IRMA N RODRIGUEZ                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   670733 IRMA N RODRIGUEZ REPOLLET                   PO BOX 643                                                                                                    JAYUYA              PR         00664
   231081 IRMA N RODRIGUEZ RUIZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   670734 IRMA N RODRIGUEZ WHARTON                    RES. LLORENS TORRES         EDIF. 86 APT 1692                                                                 SAN JUAN            PR         00913



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  231083 IRMA N RUIZ CHACON                           REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  231084 IRMA N SANCHEZ CARINO                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  231085 IRMA N SANTIAGO BONILLA                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  670735 IRMA N SANTOS MELENDEZ                       LA CUMBRE                 497 AVE E POL SUITE 277                                                               SAN JUAN             PR         00926
  231086 IRMA N TORRES SANTIAGO                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  670736 IRMA N VAZQUEZ CRUZ                          PO BOX 9290                                                                                                     SAN JUAN             PR         00926
  231087 IRMA N. BRUGUERAS                            REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  231088 IRMA N. RIVERA RIVERA                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  231089 IRMA N. RUIZ CHACON                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   670741 IRMA NARVAEZ GONZALEZ      BAJADA ESCALERILLA 1 LA PERLA                                                                                                    SAN JUAN             PR         00901
   670743 IRMA NATER BURGOS          P O BOX 538                                                                                                                      VEGA ALTA            PR         00662
   231090 IRMA NAZARIO MUNIZ         REDACTED                      REDACTED                                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          IRMA NEGRON ALBACEA SUCNDE
   231091 FELIPE NIEVES              REDACTED                      REDACTED                                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   670744 IRMA NEGRON RIOS           RES LOS NARANJALES            EDIF C 70 APT 13 5                                                                                 CAROLINA             PR         00985
   231092 IRMA NIEVES DEL LLANO      REDACTED                      REDACTED                                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   670745 IRMA NIEVES MARRERO        COND BAYOLA                   EDIF A APT 601                                                                                     SAN JUAN             PR         00907
   670748 IRMA NIEVES RIVERA         PDA 27                        67 CALLE SANTIAGO IGLESIAS                                                                         SAN JUAN             PR         00917
   670749 IRMA NIEVES RODRIGUEZ      URB NUEVO SAN ANTONIO         4 CALLE MARGINAL                                                                                   SAN ANTONIO          PR         00690‐1329
   231093 IRMA NIEVES SANTIAGO       REDACTED                      REDACTED                                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   231094 IRMA NYDIA VAZQUEZ MORALES REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   670752 IRMA NYDIA VAZQUEZ RIVERA                   BORINQUEN TOPERS 3‐1108                                                                                         SAN JUAN             PR         00920
   231095 IRMA OLIVERAS CRUZ                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   670753 IRMA OLMEDA AYALA                           PO BOX 1980                                                                                                     LOIZA                PR         00772
   670754 IRMA ONEILL CABAN                           URB EL PARAISO            1514 TAMESIS                                                                          SAN JUAN             PR         00924
   670755 IRMA ONEILL PEREZ                           HC 01 BOX 5686                                                                                                  GUAYNABO             PR         00971
                                                      JARD DE CONDADO MODERNO B
   670756 IRMA ORTA FERNANDEZ                         29 G                                                                                                            CAGUAS               PR         00725
          IRMA ORTIZ / CARLOS X
   670757 ALBERTORIO ORTIZ                            HB 28 ELIZA TAVAREZ       LEVITTOWN                                                                             TOA BAJA             PR         00949
   231096 IRMA ORTIZ FIGUEROA                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   231097 IRMA ORTIZ ORENGO                           REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   670759 IRMA ORTIZ SOTOMAYOR                        CALLE CAPISFALY 110                                                                                             MAYAGUEZ             PR         00680
   670760 IRMA ORTIZ VAZQUEZ                          PO BOX 2202                                                                                                     GUAYAMA              PR         00785
   670761 IRMA OSORIO ACOSTA                          BO ESPERANZA              11 B C/ UCAR                                                                          VIEQUES              PR         00765
   670762 IRMA OTERO DE DIAZ                          URB VILLA NEVAREZ         1045 CESAR GONZALEZ R541                                                              SAN JUAN             PR         00927‐5108
   670763 IRMA P ROJAS                                URB.VERSALLES K 14 C/10                                                                                         BAYAMON              PR         58326‐0068
   670764 IRMA PADILLA                                PO BOX 194243                                                                                                   SAN JUAN             PR         00919‐4243
   231098 IRMA PADILLA LUGO                           REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   231100 IRMA PEREZ CRUZ                             REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   670767 IRMA PEREZ ORTIZ                            URB VISTA AZUL            E 2 CALLE 3                                                                           ARECIBO              PR         00612
          IRMA PISCICELLI & JOSE L
   231102 FERNANDEZ                                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   670769 IRMA PONCE VELEZ                            PO BOX 485                                                                                                      CABO ROJO            PR         00623

   231104 IRMA PRATTS /LIZETTE COLON                  REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   231105 IRMA QUINONES GARCIA                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   670770 IRMA QUINTERO RINCON                        COND PLAZA BALDORIOTY     APT 60                                                                                SAN JUAN             PR         00982
   670771 IRMA R BARTOLOMEY                           P O BOX 1463                                                                                                    RINCON               PR         00677
   231106 IRMA R DE JESUS MAVES                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  231107 IRMA R LUGO PEREZ                            REDACTED                         REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  670772 IRMA R MATOS FUENTES                         VALLE ARRIBA HEIGHTS             CF 13 CALLE 134                                                                  CAROLINA          PR         00983
  670774 IRMA R MEDINA DELGADO                        HC 03 BOX 10028                                                                                                   YABUCOA           PR         00767
  670773 IRMA R MEDINA RIOS                           CONDADO DEL MAR                  1479 APT 211                                                                     SAN JUAN          PR         00907
  670775 IRMA R MORALES ORTIZ                         HC 05 BOX 55078                                                                                                   HATILLO           PR         00659
  231108 IRMA R MURIEL POU                            REDACTED                         REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231109 IRMA R PEREZ CRUZ                            REDACTED                         REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  670778 IRMA R REYES ROMERO                          PO BOX 21365                                                                                                      SAN JUAN          PR         00926‐1365
  670780 IRMA R RODRIGUEZ BERRIOS                     SUITE 100 P O BOX 900 213                                                                                         CAYEY             PR         00737
  670781 IRMA R RUIZ REYES                            P O BOX 6373                                                                                                      CAGUAS            PR         00726 6373
  670782 IRMA R SOTO MORALES                          HC 01 BOX 4636                                                                                                    SABANA HOYOS      PR         00688
  231110 Irma R. Flores Cruz                          REDACTED                         REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   670784 IRMA RAMIREZ CARRASQUILLO                   PO BOX 362323                                                                                                     SAN JUAN          PR         00936‐2323
   231111 IRMA RAMIREZ LUGO                           REDACTED                         REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231112 IRMA RAMIREZ MENDEZ                         REDACTED                         REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   670787 IRMA RAMOS ADAMES                           REPARTO MARQUEZ                  F 8 CALLE 4                                                                      ARECIBO           PR         00612
   231113 IRMA RAMOS RIVERA                           REDACTED                         REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231114 IRMA RENTAS LEON                            REDACTED                         REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231115 IRMA REYES RIVERA                           REDACTED                         REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   670790 IRMA REYES SANCHEZ                          PO BOX 265                                                                                                        HATILLO           PR         00659
   231116 IRMA RIVERA                                 REDACTED                         REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231117 IRMA RIVERA AVILES                          REDACTED                         REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   670793 IRMA RIVERA CANDELARIA                      HC 1 BOX 5575                                                                                                     SABANA HOYOS      PR         00688
   670794 IRMA RIVERA COLON                           HC 1 BOX 3638                                                                                                     AIBONITO          PR         00705
   670796 IRMA RIVERA RODRIGUEZ                       HC 01 BOX 14754                  BO LLANOS                                                                        COAMO             PR         00769
   670798 IRMA RIVERA TIRADO                          BO PUNTAS                        BOX 865                                                                          RINCON            PR         00677

   231118 IRMA RIVERA Y YOLANDA RIVERA REDACTED                                        REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   670799 IRMA RODRIGUEZ               URB COUNTRY CLUB                                OB 13 CALLE 503                                                                  CAROLINA          PR         00983
   670802 IRMA RODRIGUEZ AVILES        PO BOX 192338                                                                                                                    SAN JUAN          PR         00919‐2338
   670803 IRMA RODRIGUEZ CANCEL        URB PARQUE REAL                                 N 1 DIAMANTE                                                                     LAJAS             PR         00667
          IRMA RODRIGUEZ
   670804 CARRASQUILLO                 PO BOX 1070                                                                                                                      CAROLINA          PR         00986
   670800 IRMA RODRIGUEZ DIAZ          PO BOX 97                                                                                                                        BARRANQUITAS      PR         00794
   231119 IRMA RODRIGUEZ FIGUEROA      REDACTED                                        REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   670801 IRMA RODRIGUEZ FUENTES                      URB SANTA ISIDRA III C/ 4 #C 3                                                                                    FAJARDO           PR         00738

          IRMA RODRIGUEZ                              & LCDO AGUSTIN PONCE DE
   670806 HERNANDEZ,JUAN C FIGUEROA                   LEON                             URB CAGUAX            E 10 AVE MUNOZ MARIN                                       CAGUAS            PR         00725

   670807 IRMA RODRIGUEZ JUSTINIANO                   URB PACIFICA                     104 VIA ARCOIRIS                                                                 TRUJILLO ALTO     PR         00976
   670808 IRMA RODRIGUEZ MORALES                      URB HYDE PARK                    175 LOS MIRTOS                                                                   SAN JUAN          PR         00927

   670809 IRMA RODRIGUEZ RODRIGUEZ                    AGUADA GARDENS EDIF 4 APT 32                                                                                      AGUADA            PR         00602
   670810 IRMA RODRIGUEZ ROY                          URB VEGA LEIDA               9 CALLE LOMAS TORRES                                                                 JAYUYA            PR         00664
   231120 IRMA RODRIGUEZ SANTIAGO                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231121 IRMA RODRIGUEZ SOTO                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   670811 IRMA ROJAS HUMPHREYS                        URB BERWIND ESTATES          P 36 CALLE 5                                                                         SAN JUAN          PR         00924
   231123 IRMA ROSA SALVA                             REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231124 IRMA ROSA SANTIAGO CRUZ                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   670815 IRMA ROSARIO MARTINEZ                       P O BOX 190021                                                                                                    SAN JUAN          PR         00919‐0021



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  670816 IRMA ROSARIO OLAIZOLA                        BAYAMON GARDENS STATION      BOX 3331                                                                          BAYAMON             PR         00958
  670817 IRMA ROSARIO PEREZ                           URB HIGHLAND PARK            725 CALLE CATTUS INT                                                              SAN JUAN            PR         00901
  670819 IRMA RUIZ MILLAN                             P O BOX 288                                                                                                    GUANICA             PR         00653
  231126 IRMA RUIZ SANTIAGO                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  231127 IRMA S CARTAGENA COTTO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   670821 IRMA S DIAZ SANCHEZ                         BO YAUREL SECTOR PALMAREJO   HC 1 BOX 6171                                                                     ARROYO              PR         00714
   231128 IRMA S RIVERA DIAZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231129 IRMA S SALDANA BONILLA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231131 IRMA S. RIVERA DIAZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670823 IRMA SALAS BRUNO                            URB SANTA MARIA              J18 CALLE 7                                                                       TOA BAJA            PR         00949
   231132 IRMA SALGADO RAMOS                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670824 IRMA SALICETI MALDONADO                     BUENA VISTA                  1341 CALLE BONITA                                                                 PONCE               PR         00717‐2506
   670825 IRMA SANCHEZ BONILLA                        EXT SALAZAR 4 I ‐3                                                                                             PONCE               PR         00731

   670826 IRMA SANCHEZ RIVERA                         232 AVE ELEONOR ROOSEVELT                                                                                      SAN JUAN            PR         00907
   231133 IRMA SANCHEZ RODRIGUEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   231134 IRMA SANTANA / ANGEL PAGAN REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670828 IRMA SANTIAGO AYALA        BO SARDINERA                                                                                                                    DORADO              PR         00646
                                     URB. LIRIAS DEL SUR A‐22 CALLE
   670829 IRMA SANTIAGO GONZALEZ     2                                                                                                                               PONCE               PR         00731
   670830 IRMA SANTIAGO HERNANDEZ    URB HIGHLAND PARK                             752 ALGARROBO                                                                     SAN JUAN            PR         00925
   231135 IRMA SANTIAGO MENDEZ       REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231136 IRMA SANTIAGO VEGA         REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670831 IRMA SEDA FELICIANO        BO CARRIZALES                                 CALLE ELENA DELGADO                                                               HATILLO             PR         00659

   670833 IRMA SOCORRO DUPREY PARDO URB VILLA CONTESSA                             G 4 MARGINAL                                                                      BAYAMON             PR         00956
   670835 IRMA SOLIVAN CARTAGENA      URB TOWN PARK                                F 8 CALLE TREBI                                                                   SAN JUAN            PR         00924
   670836 IRMA SOTO DE LA CRUZ        URB MARBELLA                                 267 CALLE F                                                                       AGUADILLA           PR         00603
          IRMA SOTO
          HERNANDEZ/ANGELINA
   670837 HERNANDEZ                   HC 02 BOX 10358                                                                                                                MOCA                PR         00676
   231137 IRMA SUAREZ COTTO           REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670838 IRMA SUAREZ MALDONADO       SEC OJO DEL AGUA 95                          CALLE HNOS ORTIZ                                                                  VEGA BAJA           PR         00693
   670839 IRMA T ROSADO DEL RIO       URB JARDIN                                   B 19 CALLE 1 A                                                                    GUAYNABO            PR         00969
   670840 IRMA T. HERNANDEZ TOVAR     PSC 1008 BOX 3038 FPO AA                                                                                                       CEIBA               PR         34051
   231138 IRMA TOLEDO VIERA           REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IRMA TORO Y/O PUBLICACIONES
   670841 IRTOS                       URB LOS ANGELES                              AN 5 CALLE A                                                                      CAROLINA            PR         00979‐1162
   670844 IRMA TORRES LUGO            PO BOX 4591                                                                                                                    SAN SEBASTIAN       PR         00685
   231139 IRMA TORRES MALDONADO       REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231140 IRMA TORRES MUNIZ           REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670845 IRMA TORRES RODRIGUEZ       HC 01 BOX 4532                                                                                                                 YABUCOA             PR         00767‐9604
   231141 IRMA TORRES TORRES          REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231142 IRMA TORRES ZAYAS           REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231143 IRMA V ARROYO GUZMAN        REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231144 IRMA V BATISTA SANTIAGO     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670847 IRMA V INFANTE ZACARIAS     ESTANCIAS DE LA FUENTE                       1 CALLE LIRIO                                                                     TOA ALTA            PR         00953
   670849 IRMA V ORTIZ BELTRAN        P O BOX 1971                                                                                                                   JUNCOS              PR         00777
   670850 IRMA V ROMAN MEDINA         URB SANTA TERESITA                           L 1 CALLE C B                                                                     PONCE               PR         00731
   231146 IRMA V SANTOS MATOS         REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670851 IRMA V TORRES MARCANO       URB JOSE MERCADO                             94 CALLE KENNEDY                                                                  CAGUAS              PR         00725



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  231147 IRMA V ZAYAS VAZQUEZ                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  231148 IRMA V. CALDERO ROLON                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  231149 IRMA VAELLO CARMONA                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  231150 IRMA VALLE ROMAN                             REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  670852 IRMA VANDO OSORIO                            URB PUERTO NUEVO              276 CALLE 3 N E                                                                          SAN JUAN            PR         00920‐2304
                                                      LA TORRE DE PLAZA LAS         525 AVE F D ROOSEVELT SUITE
   670853 IRMA VARGAS                                 AMERICAS                      708                                                                                      SAN JUAN            PR         00918
   670854 IRMA VARGAS PEREZ                           PO BOX 413                                                                                                             HORMIGUEROS         PR         00660
   231151 IRMA VARGAS SANTIAGO                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231153 IRMA VAZQUEZ MONTALVO                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231154 IRMA VAZQUEZ SANTIAGO                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IRMA VELEZ / CESAR O POSADA
   670857 GARCIA                                      1499 PASEO DULCE MAR                                                                                                   LEVITTOWN           PR         00949
                                                      URB.VILLA FONTANA TL‐4 VIA‐
   670858 IRMA VELEZ GONZALEZ                         22                                                                                                                     CAROLINA            PR         00983
   231155 IRMA VELEZ PEREZ                            REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231156 IRMA VICENS RIVERA                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670521 IRMA VICENTY CARDONA                        URB UNIVERSITY GARDENS        315 B CALLE CLEMSON                                                                      SAN JUAN            PR         00927 4020
   670860 IRMA VIOLETA DAVILA                         PARCELAS FALU                 308 CALLE 32                                                                             SAN JUAN            PR         00927
   771101 IRMA VIOLETA REYES GARCIA                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670522 IRMA W LOPEZ PEREZ                          HC 5 BOX 7113                                                                                                          GUAYNABO            PR         00971 9185
   670862 IRMA Y ESTRADA RODRIGUEZ                    6 EXT BACO                                                                                                             ENSENADA            PR         00647
   670865 IRMA Y HERNANDEZ PICO                       URB COUNTRY CLUB              HY 15 CALLE 252                                                                          CAROLINA            PR         00982
   670866 IRMA Y NEGRON CORTES                        P O BOX 103                                                                                                            BARCELONETA         PR         00617
   670867 IRMA Y PANCHO'S CATERING                    HC‐01 BOX 4763                                                                                                         HATILLO             PR         00659‐0000
   670869 IRMA Z ALICEA ALVARADO                      PO BOX 177                                                                                                             BARRANQUITAS        PR         00794
   670870 IRMA Z MORALES RODRIGUEZ                    P O BOX 440                                                                                                            GARROCHALES         PR         00652
   670871 IRMA Z RIVERA RIVERA                        PO BOX 80175                                                                                                           COROZAL             PR         00783
   670872 IRMABEL JIMENEZ GONZALEZ                    HC 02 BOX 8582                                                                                                         QUEBRADILLA         PR         00678
   231160 IRMALIS FLORES GONZALEZ                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231161 IRMALIS FLORES SANTIAGO                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231162 IRMALIZ GOMEZ GOMEZ                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231163 IRMALIZ PASTRANA GOMEZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   670874 IRMALIZ RODRIGUEZ CARATTINI                 URB LAS LOMAS                 1695 CALLE 28 S O                                                                        SAN JUAN            PR         00921
   231164 IRMALYN FALCON CEPEDA                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670876 IRMANA MAURY SOTO                           HC 6 BOX 12661                                                                                                         SAN SEBASTIAN       PR         00685
   231165 IRMARI NEGRON SOTO                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231166 IRMARI PADRO MOJICA                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231167 IRMARI ROMERO SANTOS                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   670878 IRMARIAM RODRIGUEZ VICENTE                  HC 1 BOX 5116                                                                                                          GUAYANILLA          PR         00656
          IRMARIE A RODRIGUEZ
   231169 SANTIAGO                                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231170 IRMARIE ACEVEDO MUNOZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670879 IRMARIE CORIANO                             PO BOX 1290                                                                                                            SAN GERMAN          PR         00683
                                                      USGG HOUSING BOX 30 500
   670880 IRMARIE IRIZARRY RODRIGUEZ                  CARR 177                                                                                                               BAYAMON             PR         00959
   670881 IRMARIE LUNA FIGUEROA                       URB LA GUADALUPE              O 31 CALLE SAN JUDAS                                                                     PONCE               PR         00731
   670882 IRMARIE MARTINEZ RIVERA                     LAS CAROLINAS                 PO BOX 20                                                                                CAGUAS              PR         00727
   231171 IRMARIE MENDEZ VELEZ                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231172 IRMARIE MONTALVO LEON                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231173 IRMARIE RIVERA MIRANDA                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  231174 IRMARIE TURULL ARROYO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  231175 IRMARIE VALLE COLON                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  231177 IRMARIS CRUZ NUNEZ                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  670883 IRMARIS PEREZ COLON                          PO BOX 264                                                                                                         SALINAS             PR         00751
  670884 IRMARIS RAMOS COLON                          253 VEREDA DE LAS PALMAS                                                                                           GURABO              PR         00778‐9683
  231178 IRMARIS VICENTY BERRIOS                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   670886 IRMARIZ HERNANDEZ BARRETO                   HC 57 BOX 8841                                                                                                     AGUADA              PR         00602
   231179 IRMARY QUILES MANTILLA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670887 IRMARYS GONZALEZ COSME                      HC 02 BOX 9620                                                                                                     JUANA DIAZ          PR         00795
   231180 IRMARYS RIVERA SANABRIA                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231181 IRMARYS ROMAN NIEVES                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231182 IRMAS NOVELTY MORE                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231183 IRMAYDIN DAVILA COLON                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231184 IRMAZ VAZQUEZ LOPEZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231185 IRMILIS FLORES GONZALEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   670889 IRNA A MONTALVO FIGUEROA                    9 CALLE RAFAEL JANER                                                                                               MARICAO             PR         00606
   670890 IRNA MATIAS DIAZ                            BO INGENIO                   203 CALLE PRINCIPAL                                                                   TOA BAJA            PR         00951
   231186 IRNIA RIVERA PEREZ                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      MARGINAL EXPRESO TRUJILLO
   231187 IRO & CO., CPA, PSC                         ALTO                         CALLE ANICETO DIAZ B ‐ 1   GOLDEN HILLS                                               TRUJILLO ALTO       PR         00976
   670891 IRON AGE                                    PO BOX 1449                                                                                                        PITTSBURGH          PA         15230‐1449
   670893 IRON AGE CORP                               43 BO CANTERA SUITE 2                                                                                              MANATI              PR         00674
                                                      ROAD 2 KM 44.7 BO. CANTERA
   231189 IRON AGE CORPORATION                        43                           SUITE 2                                                                               MANATI              PR         00701
          IRON CARIBBEAN SPORT EVENT
   231190 INC                                         URB PRIMAVERA 76             PASEO DE LAS ORQUIDEAS                                                                TRUJILLO ALTO       PR         00976
   231191 IRON MOUNTAIN                               P O BOX 1630                                                                                                       RIO GRANDE          PR         00745
   670894 IRON PROFESSIONAL CORP                      1321 NW 14 ST STE W 205                                                                                            MIAMI               PR         32125

   231193 IRON SPEED, INC               2870 ZANKER ROAD, SUITE 210                                                                                                      SAN JOSE            CA         95134‐2133
          IRON T CLUB JULIO A
   670895 PORTALATIN MERCADO            P O BOX 440                                                                                                                      ADJUNTAS            PR         00601
   231194 IRON TECH, INC.               PO BOX 7274                                                                                                                      PONCE               PR         00732‐0274
   670896 IRON WORK CONSTRUCTION        HC 1 BOX 5610                                                                                                                    CAMUY               PR         00627
   231205 IROSNSHORE INDEMNITY INC      PO BOX 3407                                                                                                                      NEW YORK            NY         10008
   231206 IROT INC                      PMB 511 BOX 4956                                                                                                                 CAGUAS              PR         00726
   670897 IRPA I SERRANO TORRES         HC 4 BOX 13919                                                                                                                   ARECIBO             PR         00612
   670898 IRRIANS GONZALEZ MISLA        APT 70                                                                                                                           TOA BAJA            PR         00951
   231235 IRS / REMEX CORP              CENTRO NOVIOS PLAZA BLDG                   475 HOSTOS AVE SUITE 207                                                              MAYAGUEZ            PR         00680‐1554
          IRS REV SERV/ NEXGEN BUSINESS
   231237 SOLUTIONS                     CITY VIEW PLAZA II                         48 CARR 165 STE 2000                                                                  GUAYNABO            PR         00968‐8000
   231238 IRSA D. VAZQUEZ FUENTES       REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231239 IRSA LOPEZ RIVERA             REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670901 IRSA M RODRIGUEZ CRUZ         PO BOX 936                                                                                                                       MANATI              PR         00674
   670899 IRSA SANTIAGO OLIVERAS        RES HOGARES EL PORTUGUES                   I APT 93                                                                              PONCE               PR         00731
          IRSAMILL VALENTIN
   231240 RIOS/OLIVERAS CATERING        REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IRSAN SAID HASAN Y/O LAYLA
   231241 HASAN                         REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670902 IRSERIS J AGOSTO SANTOS       HC 2 BOX 9932                                                                                                                    GUAYANILLA          PR         00656
   670903 IRSO REYES PAGAN              303 A COM PASTILLO                                                                                                               JUANA DIAZ          PR         00795



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  231243 IRSON RAMOS ALBINO                           REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  670904 IRTALIS J NEGRON RIVERA                      URB PASEO REAL            D 9 CALLE B                                                                              SAN JUAN            PR         00926
  231244 IRTALIS NEGRON RODRIGUEZ                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  670905 IRTM COMMUNICATION                           PO BOX 50004                                                                                                       TOA BAJA            PR         00950‐0004
  670906 IRVIA ARROYO ORTIZ                           PO BOX 9448                                                                                                        CAGUAS              PR         00726
  231245 IRVIA E. TOLEDO RODRIGUEZ                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  231246 IRVIA I MORALES DE JESUS                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   670908 IRVIN A FIGUEROA MALDONADO HC 1 BOX 3774                                                                                                                       FLORIDA             PR         00650 9712
   670909 IRVIN COLLADO ROSAS        PO BOX 1059                                                                                                                         MAYAGUEZ            PR         00681 1059
   231248 IRVIN CORREA NAZARIO       REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231249 IRVIN CORTES GONZALEZ      REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231250 IRVIN DIAZ COLON           REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231252 IRVIN DIAZ FERRER          REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231253 IRVIN E CINTRON ORTIZ      REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231215 IRVIN ESCALERA FLORES      REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670911 IRVIN GONZALEZ TORRES      6TA SECC DE LEVITTOWN                      E J 5 CALLE MARIA B BENITEZ                                                              LEVITTOWN           PR         00949
   670912 IRVIN J GARCIA RIVERA      16 ALTOS                                   CALLE BALDORIOTY                                                                         SABANA GRANDE       PR         00637
   670913 IRVIN J PAREDES CLAUDIO    HC 03 BOX 12506                                                                                                                     YABUCOA             PR         00767

   231254 IRVIN JOANEL VAZQUEZ GARCIA                 REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231255 IRVIN L ZABALA SANTIAGO                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231256 IRVIN LOPEZ RIVERA                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670914 IRVIN MARRERO ROSA                          URB LOMAS DE CAROLINA     D 40 C MONTE MEMBRILLO                                                                   CAROLINA            PR         00987
   231257 IRVIN MORALES LOPEZ                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231258 IRVIN MORALES QUINONEZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231259 IRVIN O PEREZ LACEN                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231262 IRVIN SANTIAGO DIAZ                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670917 IRVIN WILLIAM DOGLAS                        2 CALLE SAN JANCITO                                                                                                CEIBA               PR         00735
   670918 IRVINA ORTIZ PAGAN                          PO BOX 199                                                                                                         HORMIGUEROS         PR         00660
   231263 IRVING A ADORNO CARDONA                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231264 IRVING A ANDINO GOTAY                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670919 IRVING A FIGUEROA CUEVAS                    HC 3 BOX 22147                                                                                                     RIO GRANDE          PR         00745

   231265 IRVING A LINARES CARDENALES                 REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   231266 IRVING A QUINONES CORDERO                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231269 IRVING ANDINO ROMAN                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   670921 IRVING CANDELARIA ACEVEDO                   B 4 URB BRISAS DE CAMUY                                                                                            CAMUY               PR         00627
   670922 IRVING CARRILLO ORTIZ                       URB LOIZA VALLEY          927 CALLE OLIVIA                                                                         CANOVANAS           PR         00729
   231272 IRVING CRUZ VADI                            REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670925 IRVING DE HOYOS ACOSTA                      PO BOX 2155                                                                                                        SAN GERMAN          PR         00683
   231273 Irving De Leon Figueroa                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670926 IRVING DIAZ PEREZ                           URB MONTE GRANDE          138 CALLE DIAMANTE                                                                       CABO ROJO           PR         00623
   231275 IRVING DIAZ SANTIAGO                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231276 IRVING E IRIZARRY MARTINEZ                  REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231277 IRVING E OTERO NARVAEZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670928 IRVING FEBUS LOPEZ                          BO LEGUIZANO              CARR 354 KM 8 3                                                                          MAYAGUEZ            PR         00680

   231281 IRVING FELICIANO RODRIGUEZ                  REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670930 IRVING FIGUEROA                             PO BOX 265                OFIC. SUPTE. BAYAMON 2                                                                   BAYAMON             PR         00959
   231282 IRVING G FIGUEROA REYES                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  231283 IRVING GONZALEZ SANTIAGO                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  231284 IRVING GONZALEZ VELEZ                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   670931 IRVING HERNANDEZ LORENZO                    URB MONACO 2                  9 LONDRES                                                                                MANATI              PR         00674
   231285 IRVING IGARTUA BUTLER                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231286 IRVING J AGUAYO GOMEZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670932 IRVING J RIVERA REYES                       URB VILLA MADRID              CALLE 4 S 21                                                                             COAMO               PR         00769
   670933 IRVING J RUBIO NEGRON                       HC 1 BOX 2318                                                                                                          MOROVIS             PR         00687
   231287 IRVING J. VALLE TORRES                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231288 IRVING K. HERNANDEZ                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IRVING K. HERNANDEZ
   670934 RODRIGUEZ                                   OLIMPO PLAZA                  SUITE 208 1002 MU¨OZ RIVERA                                                              SAN JUAN            PR         00927

   231289 IRVING L. CARABALLO COURET                  REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231290 IRVING LATORRE LOPEZ                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   231292 IRVING M MELECIO HERNANDEZ                  REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670938 IRVING M. SANTIAGO                          PO BOX 38                                                                                                              MAUNABO             PR         00707
   670939 IRVING MARTINEZ RIOS                        PO BOX 544                                                                                                             JUANA DIAZ          PR         00795
   231293 IRVING MELECIO RAMIREZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231294 IRVING MELENDEZ CLAUDIO                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231295 IRVING MENDEZ LOPEZ                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670940 IRVING MIRABAL SANTIAGO                     PO BOX 7126                                                                                                            PONCE               PR         00732
   231296 IRVING MONTANEZ AYALA                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   670941 IRVING MORALES HERNANDEZ                    PO BOX 560046                                                                                                          GUAYANILLA          PR         00656
   231298 IRVING MUNOZ ESTELA                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231299 IRVING O LUGO FIGUEROA                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670942 IRVING O RIVERA RIVERA                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670943 IRVING ORTIZ MARTINEZ                       HC 2 BOX 11099                                                                                                         YAUCO               PR         00698
                                                      CALLE GANDULES INT VAQUITAS
   670944 IRVING ORTIZ PAGAN                          APT 199                                                                                                                HORMIGUEROS         PR         00660
   670945 IRVING ORTIZ RAMOS                          BO RIO HONDO 5                CAMINO MAGUAYO                                                                           MAYAGUEZ            PR         00680
   231300 IRVING ORTIZ RODRIGUEZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670946 IRVING PEREZ BETANCOURT                     EXT EL COMANDANTE             343 CALLE SAN FERNANDO                                                                   CAROLINA            PR         00982
   670947 IRVING PINEIRO COLON                        P O BOX 549                                                                                                            MANATI              PR         00674
   231301 IRVING PINEIRO GONZALEZ                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231302 IRVING PINERO GONZALEZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231304 IRVING QUINONES MEDINA                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670948 IRVING R LEBRON CARRION                     P O BOX 1147                                                                                                           GURABO              PR         00778
   670950 IRVING RAMOS                                URB VILLA MARIA               I‐1 CALLE 4                                                                              CAGUAS              PR         00725
   231306 IRVING RIQUEL TORRES                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670951 IRVING RIVERA FERRER                        HP ‐ SALA 5 ALTOS                                                                                                      RIO PIEDRAS         PR         009360000
   231307 IRVING RIVERA MARIANI                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231308 IRVING RIVERA MORALES                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IRVING RODRIGUEZ DBA IRN
   670952 GENERAL CONST                               ESTANCIAS LA TRINITARIA       I 2 CALLE 9                                                                              AGUIRRE             PR         00704
   670953 IRVING RODRIGUEZ IRIZARRY                   HC 05 BOX 16291                                                                                                        SAN SEBASTIAN       PR         00685‐9439

   231309 IRVING RODRIGUEZ MONTALVO                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670954 IRVING RODRIGUEZ SALDANA                    227 BDA CARMEN                                                                                                         SALINAS             PR         00751
   231310 IRVING RODRIGUEZ SEMIDEY                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670955 IRVING RUIZ LOPEZ                           A 16 URB VILLA DEL CARMEN                                                                                              CABO ROJO           PR         00623



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  670956 IRVING S                                     COM PALOMAS II                SOLAR 71                                                                                  YAUCO               PR         00698
  670957 IRVING SANCHEZ MEDINA                        113 BO PAMPANOS                                                                                                         PONCE               PR         00731
  670958 IRVING SANTANA VEGA                          BO PALOMAS NUM 8              CALLE M                                                                                   YAUCO               PR         00698
  231312 IRVING SPORTS                                REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         IRVING VEGA Y/O LOURDES M
  231314 ANADON                                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  670960 IRVING VILLA SANCHEZ                         P O BOX 37                                                                                                              MARICAO             PR         00606

   670961 IRVING WERNER ISAAC JIMENEZ URB LOIZA VALLEY                              G 258 CALLE MARGARITA                                                                     CANOVANAS           PR         00729

   670962 IRVYN A MORALES HERNANDEZ                   RES VISTA HERMOSA             EDIF 7 APT 82                                                                             RIO PIEDRAS         PR         00921
   231316 IRVYN E. NIEVES ROLON                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670963 IRWIN A GARCIA TEJEDA                       VILLA PALMERAS                357 DELBREY                                                                               SAN JUAN            PR         00912
   231317 IRWIN A TORRES                              REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231319 IRWIN FERNANDEZ FIGUEROA                    REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231320 IRWIN J RIVERA COLON                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   231321 IRWIN MALDONADO PASTRANA                    REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231322 IRWIN RIVERA NIEVES                         REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670964 IRWIN W ROSADO GREEN                        URB LA VEGA                   159 CALLE A                                                                               VILLALBA            PR         00766
   670965 IRYLYN PEREZ BERNARD                        PO BOX 655                                                                                                              AGUAS BUENAS        PR         00703
   231323 IRYTSHA L GONZALEZ CRUZ                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670966 IRZA NIEVES FIGUEROA                        BO SANTA OLAYA                RR 4 BOX 1312                                                                             BAYAMON             PR         00956
   231324 IRZA TORRES                                 REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670967 IRZA TORRES AGUIAR                          265 ALTAMONTE                                                                                                           CAMUY               PR         00627
                                                      968 CALLE 42 SE URB REPARTO
   231325 IS APPRAISER GROUP P.S.C.                   METROPOLITANO                                                                                                           SAN JUAN            PR         00921‐2701

   670968 IS ENTERPRISE                               COND PARQUE DE PONTEZUELA 505 AVE F DIAZ APT 324                                                                        CAROLINA            PR         00983

   670969 ISA CRISTINA RODRIGUEZ SOTO                 PO BOX 2074                                                                                                             MAYAGUEZ            PR         00681

   670970 ISA D TORRES SANTIAGO                       URB CIUDAD INTERAMERICANA                              674                                                              BAYAMON             PR         00956
   231326 ISA E RIVERA RODRIGUEZ                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231327 ISA I GONZALEZ DIAZ                         REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670971 ISA I ORTIZ DIAZ                            URB BELINDA                   D14 CALLE 3                                                                               ARROYO              PR         00714
   670972 ISA IVETTE PEREZ PEREZ                      HC 1 BOX 4851                                                                                                           LOIZA               PR         00772
   231328 ISA M. CHINEA VEGA                          REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670976 ISA Y LOPEZ RIVERA                          1126 AVE ASHFORD              APT 25                                                                                    SAN JUAN            PR         00907
   231329 ISA YARALY LAGUER SERRANO                   REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231330 ISAAC A FELICIANO CORTES                    URB.FAIRVIEW                  K8 CALLE 17                                                                               SAN JUAN            PR         00926
   670978 ISAAC A LUGO FELICIANO                      HC 37 BOX 6424                                                                                                          GUANICA             PR         00653
   231331 ISAAC A RUIZ GONZALEZ                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231332 ISAAC A VELEZ HERNANDEZ                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231338 ISAAC AUSUA RODRIGUEZ                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670979 ISAAC AVILES PADIN                          HC 1 BOX 9865                                                                                                           HATILLO             PR         00659
   231339 ISAAC B GALLO GUZMAN                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231342 ISAAC BENJAMIN PEREZ                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   231346 ISAAC BETANCOURT HERNANDEZ REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   670980 ISAAC BONILLA VAZQUEZ      BDA POLVORIN                                   60 CALLE 7                                                                                CAYEY               PR         00736
   231347 ISAAC BORRERO PAGAN        REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231348 ISAAC BOSQUES PACHECO      REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  670981 ISAAC BURGOS CASTILLO                        RR 4 BOX 1231              BO SANTO OLAYA                                                                            BAYAMON             PR           00956
  670982 ISAAC BURGOS HERNANDEZ                       HC 55 BOX 25605                                                                                                      CEIBA               PR           00735
                                                                                 200 AVE. RAFAEL CORDERO
  1420085 ISAAC BURGOS, NANCY Y OTROS MICHELE M. SILVA MARRERO                   SUITE 140 PMB 263                                                                         CAGUAS              PR           00725‐4303

  1420086 ISAAC BURGOS, NANCY Y/O 50                  MICHELE M. SILVA MARRERO   URB. VILLA DEL REY 4G‐9 CALLE 2                                                           CAGUAS              PR           00727‐6704
   231352 ISAAC C MANZANO MOJICA                      REDACTED                   REDACTED                        REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          ISAAC CALERO / BIG SMILE
   231353 DENTAL CARE                                 URB LAMELA                 B 2 CALLE TURQUESA                                                                        ISABELA             PR           00662
   231358 ISAAC CARABALLO SANCHEZ                     REDACTED                   REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   670983 ISAAC CARATTINI SERRANO                     HC 1 BOX 6276                                                                                                        AIBONITO            PR           00705
   231360 ISAAC COLON PEREZ                           REDACTED                   REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   670984 ISAAC CORCINO CAMACHO                       BO LEGUILLOU               BZN E 84                                                                                  VIEQUES             PR           00765
   231363 ISAAC COTTO GOMEZ                           REDACTED                   REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   670985 ISAAC CUBERO                                RES APONTE                 EDIF 1 APT 3                                                                              AGUADILLA           PR           00603
   231365 ISAAC D KING DE JESUS                       REDACTED                   REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   231369 ISAAC DELGADO PEREZ                         REDACTED                   REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   231370 ISAAC DELGADO, GLENDA J                     REDACTED                   REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   670986 ISAAC E MONTOYO RIVERA                      51 CANTERA SUITE 1                                                                                                   MANATI              PR           00674
   670987 ISAAC ESPINOSA ESPINOSA                     HC 7 BOX 31891                                                                                                       HATILLO             PR           00659
   231378 ISAAC G MORALES PLANELL                     REDACTED                   REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   231379 ISAAC G RODRIGUEZ                           REDACTED                   REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   670977 ISAAC GARAYUA SANTIAGO                      PO BOX 1081                                                                                                          SABANA GRANDE       PR           00637
   670988 ISAAC GOMEZ                                 255 CALLE ROSARIO                                                                                                    SAN JUAN            PR           00936
   231381 ISAAC GUZMAN VELAZQUEZ                      REDACTED                   REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   231384 ISAAC HERNANDEZ ESTREMERA                   REDACTED                   REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   231385 ISAAC HERNANDEZ RIVERA                      REDACTED                   REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   670989 ISAAC HOMAR RAMOS                           HC 03 BOX 22204                                                                                                      LAJAS               PR           00667‐9506

   231386 ISAAC I MARQUEZ HERNANDEZ                   REDACTED                   REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   670992 ISAAC IRIZARRY AVILES                       BO PUEBLO                  50 CALLE YAZMIN                                                                           HATILLO             PR           00659‐9609
   670993 ISAAC IVAN GARCIA LOPEZ                     RR 9 BOX 1645              CUPEY ALTO                                                                                SAN JUAN            PR           00926
   670994 ISAAC LEONEL AGUAYO                         PMB 295                    PO BOX 1999                                                                               BARRANQUITAS        PR           00794
   670995 ISAAC LISBOA MORALES                        BDA ISRAEL                 103 CALLE 6                                                                               SAN JUAN            PR           00917
   670996 ISAAC MALDONADO IRIZARRY                    URB JARDIN DORADO          21284 CALLE ROSA DORADO                                                                   DORADO              PR           00646

   231394 ISAAC MANUEL REYES SANCHEZ                  REDACTED                   REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   231397 ISAAC MARTINEZ MACHADO                      REDACTED                   REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   231401 ISAAC MELENDEZ ALMODOVAR                    REDACTED                   REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   671000 ISAAC MERCED GONZALEZ                       734 CALLE CARIDAD                                                                                                    SAN JUAN            PR           00924
   671001 ISAAC NIEVES COLON                          6 CALLE NIEVES                                                                                                       COROZAL             PR           00783
   231405 ISAAC O PEREZ ROJAS                         REDACTED                   REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   671002 ISAAC OMAR ORTIZ NIEVES                     URB MARISOL                C‐31 CALLE 4                                                                              ARECIBO             PR           00612
   231406 ISAAC OMAR RUIZ MERCADO                     REDACTED                   REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   671003 ISAAC ORTIZ ORTIZ                           HC 1 BOX 6367                                                                                                        GUAYNABO            PR           00971
   231408 ISAAC PAGAN MUNOZ                           REDACTED                   REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   231409 ISAAC PAGAN NEGRON                          REDACTED                   REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   671004 ISAAC PAGAN RODRIGUEZ                       AMALIA MARIN               5120 CALLE ANGUILA                                                                        PONCE               PR           00716
   671005 ISAAC PEREZ AMADOR                          URB TOA ALTA HEIGHTS       R 22 CALLE 21                                                                             TOA ALTA            PR           00953
   231411 ISAAC PEREZ ARROYO                          REDACTED                   REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   231414 ISAAC PIZARRO PENALOZA                      REDACTED                   REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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MML ID               NAME                          ADDRESS 1                                    ADDRESS 2                      ADDRESS 3                           ADDRESS 4             CITY        STATE    POSTAL CODE       COUNTRY
  231395 ISAAC PRINCIPE OTERO           REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  231417 ISAAC R MATEO CASIANO          REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  671006 ISAAC REYES MORALES            HP ‐ UTILIZACION                                                                                                                       RIO PIEDRAS        PR         009360000
  231418 ISAAC REYES RIVERA             REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  231419 ISAAC RIOS HERNANDEZ           REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  231421 ISAAC RIVERA RAMOS             REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         ISAAC RIVERA RIVERA Y ISABEL M
  671007 RIVERA                         URB LAS DELICIAS                             E 7 ALEJANDRO ORDO¨EZ                                                                     PONCE              PR         00731
  671008 ISAAC RIVERA SIERRA            PO BOX 2462                                                                                                                            VEGA BAJA          PR         00694
  671009 ISAAC RODRIGUEZ ATILES         HC 04 BOX 17207                                                                                                                        CAMUY              PR         00627
  671010 ISAAC RODRIGUEZ CAQUIAS        URB VILLA REAL                               C 32 CALLE 3                                                                              VEGA BAJA          PR         00693
  231422 ISAAC RODRIGUEZ CARDONA        REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  671011 ISAAC RODRIGUEZ RAMOS          P O BOX 709                                                                                                                            MERCEDITA          PR         00715

   231423 ISAAC RODRIGUEZ RODRIGUEZ                    REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   231424 ISAAC RODRIGUEZ ROMAN                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   231428 ISAAC ROSA COTTO                             REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   231429 ISAAC ROSARIO DENIS                          REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671013 ISAAC ROSARIO MARTINEZ                       COND VISTA DEL RIO            8 C 1 APT 23 B                                                                            BAYAMON            PR         00960
   231430 ISAAC RUIZ SOLA                              REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671014 ISAAC SANCHEZ                                P O BOX 3038                                                                                                            WORCESTER          MA         01613
   231434 ISAAC SANTIAGO NIEVES                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   231436 ISAAC SANTOS DIAZ                            REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   231438 ISAAC TORRES VIERA                           REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671015 ISAAC VEGA DELGADO                           PO BOX 1398                                                                                                             YAUCO              PR         00698
   231445 ISAAC VELEZ RODRIGUEZ                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   671016 ISAAC YADRIEL HERNANDEZ                      BO HERNANDEZ                  BOX 28 CALLE FELIX HERNANDEZ                                                              SAN JUAN           PR         00924
          ISAAC Z PEREZ SOTO Y FELIX
   231447 SOTO                                         REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   231448 ISAAC ZAPATA ORTEGA                          REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   231449 ISAAC ZAYAS COLON                            REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   231450 ISAACK J ACEVEDO                             REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   231451 ISAACS MD , HOWARD D                         REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   231452 ISABEL A MOJICA PIZARRO                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671023 ISABEL A VEGA BOSQUE                         HATO ARRIBA STATION           PO BOX 3245                                                                               SEN SEBASTIAN      PR         00685
   231453 ISABEL ABISLAIMAN QUILEZ                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671024 ISABEL ABRAMS SOTO                           URB CAPARRA HEIGHTS           1456 CALLE ELIDA                                                                          SAN JUAN           PR         00970

   671025 ISABEL AGOSTO DIAZ                           RES LAS MARGARITAS PROY 214   EDIF 23 APT 235                                                                           SAN JUAN           PR         00915
   671028 ISABEL AGUILA LOPEZ                          VILLA ANDALUCIA               RONDA 215                                                                                 SAN JUAN           PR         00926
   231454 ISABEL ALICEA DE VELAZQUEZ                   REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   231455 ISABEL ALMEIDA DIAZ                          REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   231456 ISABEL ALVARADO DAVILA                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   231457 ISABEL ALVARADO FERREIRA                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671030 ISABEL ALVAREZ CORREA                        BO JUAN MARTIN                BOX 8546                                                                                  LUQUILLO           PR         00773
   671031 ISABEL ALVAREZ VALENTIN                      LEVITTOWN 4SECC               AQ‐25 CALLE LYDIA                                                                         TOA BAJA           PR         00949
   231458 ISABEL ANTON                                 REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671032 ISABEL APONTE GUZMAN                         LA LIMA EN FAJARDO            180 CARR 194 APT 212                                                                      FAJARDO            PR         00738
          ISABEL APONTE NATAL/HOGAR
   231459 ISABEL, INC.                                 PO BOX 3105                                                                                                             CAROLINA           PR         00984‐0000
   671033 ISABEL ARCE RIVERA                           PO BOX 853                                                                                                              UTUADO             PR         00641
   671034 ISABEL AROCHO MORALES                        VICTOR ROJAS I                10 CALLE ATOCHA INT                                                                       ARECIBO            PR         00612



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  231461 ISABEL ARRIAGA GARCIA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231462 ISABEL ARROYO                                REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231464 ISABEL ARROYO ZAYAS                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231465 ISABEL AVILES RODRIGUEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671036 ISABEL AYALA ABREU                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231466 ISABEL BADILLO SANTIAGO                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231467 ISABEL BARRADAS BONILLA                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671039 ISABEL BATISTA VILLALONGO                    P O BOX 1932                                                                                                          RIO GRANDE        PR         00745
  231468 ISABEL BELMONT PAGAN                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231469 ISABEL BERIQUETE MEDINA                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231470 ISABEL BONILLA MARTINEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231471 ISABEL BRITO GIL                             REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231472 ISABEL BRUNO BATISTA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   671043 ISABEL BRUNO DIFFO                          URB CASTELLANA GARDENS N 1                                                                                            CAROLINA          PR         00983
   231473 ISABEL C AGUDO ABARCA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   671045 ISABEL C BELTRE VICENTE                     URB PUERTO NUEVO 1219        S E CALLE 18                                                                             SAN JUAN          PR         00921
   671019 ISABEL C DIAZ DIAZ                          URB VILLA ANDALUCIA          G 9 CALLE FARAGAN                                                                        SAN JUAN          PR         00926
   231474 ISABEL C FRAU NICOLE                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   231475 ISABEL C HENAO TASCON                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   671046 ISABEL C HIRALDO PEREZ                      153 CALLE PEDRO ARZAUSE                                                                                               CAROLINA          PR         00985
   231476 ISABEL C JIMENEZ QUINONES                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   231477 ISABEL C LEBRON ROSA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   231478 ISABEL C ORTIZ SEDA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   231479 ISABEL C PINTADO                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   231480 ISABEL C QUINONES TORRES                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   231481 ISABEL C RODRIGUEZ ROSARIO                  REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   231482 ISABEL C VARON RAMOS                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   231483 ISABEL C VAZQUEZ VAZQUEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   671048 ISABEL C. RIVERA COLLAZO                    209 CALLE CRISTO APT 2B                                                                                               SAN JUAN          PR         00901

   231484 ISABEL C. RODRIGUEZ BARRERA                 REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   671051 ISABEL CABALLER CORREA                      URB COUNTRY CLUB             856 CALLE HYPOLAIS                                                                       SAN JUAN          PR         00924
   231485 ISABEL CALDERON NUNEZ                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   231486 ISABEL CAMACHO SANTANA                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   671052 ISABEL CANALES SOFIA                        CALLE CAROLINA 1709                                                                                                   SAN JUAN          PR         00912
                                                                                   GG10 CALLE G URB BRISAS DEL
   671053 ISABEL CANCEL RODRIGUEZ                     LUQUILLO DEL MAR             MAR                                                                                      LUQUILLO          PR         00773
   671054 ISABEL CARABALLO ARROYO                     URB SAN ANTONIO              54 CALLE 2                                                                               AGUAS BUENAS      PR         00703
   671055 ISABEL CARDONA OLIVENCIA                    RIO HONDO                    726 EL GUAYO                                                                             MAYAGUEZ          PR         00680
   671056 ISABEL CARMONA COLON                        VILLAS DE LOIZA              A M 9 CALLE 34                                                                           CANOVANAS         PR         00729
   231487 ISABEL CARRIL GONZALEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   671057 ISABEL CARRION BRAVO                        65 CALLE GEORGETTI                                                                                                    MANATI            PR         00674
   671058 ISABEL CARRION RODRIGUEZ                    HC 1 BOX 3181                                                                                                         BAJADERO          PR         00616
   231488 ISABEL CASTILLO RODRIGUEZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   671060 ISABEL CASTRO VARGAS                        PO BOX 2390                                                                                                           SAN JUAN          PR         00919
   671061 ISABEL CESTERO                              PO BOX 1558                                                                                                           BAYAMON           PR         00960
   671062 ISABEL CHINES NIEVES                        URB BELLA VISTA              S 152 CALLE 20                                                                           BAYAMON           PR         00957
   231489 Isabel Cintron Vazquez                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
                                                      P O BOX 34207 FORT
   671063 ISABEL CINTRON VDA DE ORTIZ                 BUCHANNAN                                                                                                             SAN JUAN          PR         00937
   671064 ISABEL COCA HERNANDEZ                       CARR 100 KM 3.6              2569 SUITE 110                                                                           CABO ROJO         PR         00623



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  231490 ISABEL COLBERG FUERTES                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671065 ISABEL COLLAZO PAGAN                          PARC SABANETAS                75 CALLE PROGRESO                                                                      MERCEDITAS        PR         00715
  671066 ISABEL COLON BERRIOS                          PO BOX 21365                                                                                                         SAN JUAN          PR         00928
  671070 ISABEL COLON SANTIAGO                         URB RIO HONDO II              AE4 C RIO GRANDE DE LOIZA                                                              BAYAMON           PR         00961
  231492 ISABEL CORTES                                 REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231493 ISABEL CORTI SOTO                             REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231494 ISABEL COTTO NIEVES                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231495 ISABEL COTTO RIVERA                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231496 ISABEL CRESPO GARCIA                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         ISABEL CRISTINA FIGUEROA
  231497 ALVAREZ                                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   671072 ISABEL CRISTINA MOLINA RIVERA URB ALTA VISTA                               I 24 CALLE 11                                                                          PONCE             PR         00731
   671073 ISABEL CRUZ                   SAN JOSEQ                                    16 CALLE HUESO                                                                         SAN JUAN          PR         00923
   671075 ISABEL CRUZ BELTRAN           17 CALLE CELIS AGUILERA                                                                                                             MANATI            PR         00674
   671078 ISABEL CRUZ LOPEZ             PMB 508                                      HC01 BOX 29030                                                                         CAGUAS            PR         00725‐8900
   671079 ISABEL CRUZ PINTO             PMM 23                                       PO BOX 70344                                                                           SAN JUAN          PR         00936‐8344
   671080 ISABEL CRUZ ROMAN             CALL BOX 30000 SUITE 072                     SAN ISIDRO                                                                             CANOVANAS         PR         00729

   671082 ISABEL CRUZ SEVILLA                          PLAZA 36 MP 2 MONTE CLARO                                                                                            BAYAMON           PR         00961
   671083 ISABEL D MERCADO PINEDA                      307 JESUS TIZOL APT 14                                                                                               SAN JUAN          PR         00908
   671084 ISABEL DAMIANI                               ROYAL TOWN                    18 CALLE 12                                                                            BAYAMON           PR         00956
   671085 ISABEL DAVILA                                PO BOX 21365                                                                                                         SAN JUAN          PR         00928
   231498 ISABEL DAVILA VAZQUEZ                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231499 ISABEL DE JESUS AYALA                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671086 ISABEL DE JESUS BRUNO                        VILLA CALIZ 1                 A 1 CALLE ILUSION                                                                      CAGUAS            PR         00725
   671087 ISABEL DE JESUS GONZALEZ                     RIO GRANDE ESTATE             B 35 CALLE 4                                                                           RIO GRANDE        PR         00745
   231500 ISABEL DE JESUS RIVERA                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231501 ISABEL DE L RODRIGUEZ                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   671088 ISABEL DEL C BAYRON ALAMEDA                  PO BOX 559                                                                                                           MARICAO           PR         00606
   671089 ISABEL DEL C LABOY LLORENS                   G 109 EL MONTE NORTE                                                                                                 SAN JUAN          PR         00918‐4203
   671090 ISABEL DEL MORAL SANCHEZ                     HC 02 BOX 8722                                                                                                       YABUCOA           PR         00767‐9506
   231504 ISABEL DELESTRE GARCIA                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231505 ISABEL DELGADO RUIZ                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   671091 ISABEL DIAZ CAMACHO                          1500 AVE SAN IGNACIO BOX 17                                                                                          SAN JUAN          PR         00921
   231506 ISABEL DIAZ CASANOVA                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671092 ISABEL DIAZ HERRERA                          URB RADIOVILLE                2 AVE COLON                                                                            ARECIBO           PR         00612
   671093 ISABEL DIAZ OTERO                            URB SUMMIT HILLS              605 CALLE HILLSIDE                                                                     SAN JUAN          PR         00920
   671094 ISABEL DIAZ ROBLES                           HC 01 BOX 7373                                                                                                       AGUAS BUENAS      PR         00703

   671095 ISABEL DIAZ ROSA                             1682 AVE. AMERICO MIRANDA     URB. LAS LOMAS                                                                         RIO PIEDRAS       PR         00921
   231507 ISABEL DIAZ ROSADO                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   231508 ISABEL DIAZ Y ALTAGRACIA DIAZ                REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231509 ISABEL DOMINGUEZ FUERTES                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671097 ISABEL DONATE RIVERA                         COND EL ARANJUEZ              APT 503                                                                                SAN JUAN          PR         00917
   671098 ISABEL E FIGUEROA ALERS                      URB PUERTO NUEVO              517 CALLE ASUNCION                                                                     SAN JUAN          PR         00920‐4020
   671099 ISABEL ESCABI RIVERA                         URB ALTO APOLO ESTATES        A 11 CALLE D                                                                           GUAYNABO          PR         00969
   671101 ISABEL ESPINOSA LAPAIX                       HP ‐ Forense RIO PIEDRAS                                                                                             Hato Rey          PR         009360000
   231510 ISABEL ESTRADA CLAUDIO                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231512 ISABEL FELICIANO GIBOYEAUX                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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   671103 ISABEL FERNANDEZ COLORADO                   PO BOX 195072                                                                                                  SAN JUAN            PR           00919‐5072
   671104 ISABEL FIGAREDO LOPEZ                       URB UNIVERSITY GARDENS   789 CALLE INTERAMERICANA                                                              SAN JUAN            PR           00927
   671105 ISABEL FIGUEROA CARRILLO                    R R 03 BOX 3300                                                                                                SAN JUAN            PR           00928
   231513 ISABEL FIGUEROA COLON                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671106 ISABEL FIGUEROA ROSADO                      HC 1 BOX 5727                                                                                                  GUAYNABO            PR           00971
   231514 Isabel Flores Cruz                          REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   231515 ISABEL FLORES FIGUEROA                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671107 ISABEL FLORES FONTANEZ                      BO RABANAL BOX 2370                                                                                            CIDRA               PR           00739
   231516 ISABEL FLORES MEDINA                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671108 ISABEL FONTANEZ ALICEA                      URB VILLA BLANCA         20 CALLE GARDENIA                                                                     TRUJILLO ALTO       PR           00976
   231518 ISABEL GALLEGO QUINONES                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   231519 Isabel Garcia Cardona                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   231520 ISABEL GARCIA CORTES                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   231521 ISABEL GARCIA PEREZ                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671112 ISABEL GARCIA RODRIGUEZ                     PO BOX 1324                                                                                                    JUNCOS              PR           00777
   671113 ISABEL GOMES ALAMO                          URB O"REILLY"                                                                                                  GURABO              PR           00778
   671114 ISABEL GOMEZ ORTIZ                          BOX 3697                                                                                                       AGUADILLA           PR           00605
   671115 ISABEL GONZALEZ                             1112 COND SAN PATRICIO                                                                                         GUAYNABO            PR           00968
   231522 ISABEL GONZALEZ CARRION                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671118 ISABEL GONZALEZ FIGUEROA                    URB SANTA TERESITA       AD13 CALLE 32                                                                         BAYAMON             PR           00961
   231523 ISABEL GONZALEZ GONZALEZ                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   231524 ISABEL GONZALEZ MARQUEZ                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   231525 ISABEL GONZALEZ QUINONES                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   231526 ISABEL GONZALEZ RIVERA                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   231528 ISABEL GONZALEZ TORRES                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   231529 ISABEL GONZALEZ VIERA                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671122 ISABEL GRACIA                               SANTA JUANITA            GB 13 C/ ALAMEDA                                                                      BAYAMON             PR           00956
   231530 ISABEL GUADALUPE MORALES                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   231531 ISABEL GUTIERREZ CRUZ                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   671123 ISABEL GUZMAN CONCEPCION                    CONTRY CLUB              965 CALLE BARBADOS                                                                    SAN JUAN            PR           00924
          ISABEL GUZMAN DBA A&J
   231532 MULTISERVICES                               P O BOX 6042                                                                                                   SAN JUAN            PR           00914
   231533 ISABEL HARRIS GONZALEZ                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   231534 ISABEL HECHAVARRIA URIARTE                  REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   231535 ISABEL HERNANDEZ                            REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671125 ISABEL HERNANDEZ PEREZ                      HC 01 BOX 7191                                                                                                 MOCA                PR           00676
   671126 ISABEL HERNANDEZ RUIZ                       PMB 104                  PO BOX 7105                                                                           PONCE               PR           00732
   231537 ISABEL I MARTINEZ VELEZ                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671128 ISABEL IGLESIA RODRIGUEZ                    PO BOX 3554                                                                                                    CAROLINA            PR           00984
   231538 ISABEL J ALAYON AGOSTINI                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671129 ISABEL J CRUZ MARCANO                       RR 02 BOX 8126                                                                                                 TOA ALTA            PR           00953
   671130 ISABEL J. VELEZ SERRANO                     PO BOX 366104                                                                                                  SAN JUAN            PR           00936‐6104
   231539 Isabel Jimenez Andrew                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671131 ISABEL JIMENEZ GONZALEZ                     BARRIO MALESA ALTA       SECTOR MARTINICA                                                                      AGUADILLA           PR           00690
   671132 ISABEL JIMENEZ NEGRON                       BO GATO                  CH 2 BOX 7431                                                                         OROCOVIS            PR           00720
   231540 ISABEL JOSEPH ORZA                          REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671133 ISABEL KELL RODRIGUEZ                       URB VISTA RIO GRANDE     178 CALLE CEIBA                                                                       RIO GRANDE          PR           00745
   671135 ISABEL L. VAZQUEZ BORRERO                   PO BOX 264                                                                                                     ENSENADA            PR           00647
   671136 ISABEL LANCARA RODRIGUEZ                    URB BAYAMON GARDENS      U3 CALLE 17                                                                           BAYAMON             PR           00957
   231541 ISABEL LEBRON VELAZQUEZ                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  671137 ISABEL LEVY APONTE                           EXT JARD DE PALMAREJO        JJ 5 A CALLE 28                                                                        CANOVANAS          PR         00729
  671138 ISABEL LIMA RIVERA                           179 CALLE 3 SOLAR 2          SAINT JUST                                                                             TRUJILLO ALTO      PR         00978
  231542 ISABEL LOPEZ                                 REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  671140 ISABEL LOPEZ AYALA                           HC 02 BOX 12965                                                                                                     AGUAS BUENAS       PR         00703‐9604
  671141 ISABEL LOPEZ BRAS                            URB BALDRICH                 588 AVE HOSTOS                                                                         SAN JUAN           PR         00918

   671142 ISABEL LOPEZ CATALA                         PROYECTO 538 LAS MARGARITAS EDIF 45 APTO 729                                                                        SAN JUAN           PR         00915
   671144 ISABEL LOPEZ OQUENDO                        EXT TERRAZAS DE GUAYNABO    B 4 CALLE GLADIOLA                                                                      GUAYNABO           PR         00969
   671146 ISABEL LOPEZ SANTOS                         URB ALTURAS DEL PARAIZO     5 BO HATO ARRIBA                                                                        ARECIBO            PR         00612
   671147 ISABEL LOPEZ SEPULVEDA                      BOX 186                                                                                                             BOQUERON           PR         00622
   671148 ISABEL LOPEZ SIERRA                         HC 1 BOX 2715                                                                                                       BAJADERO           PR         00616

   671149 ISABEL LOPEZ VDA. DE NAZARIO                HC 01 BOX 8450                                                                                                      SABANA GRANDE      PR         00637
   671150 ISABEL LOPEZ VELEZ                          RR3 BOX 9035                                                                                                        TOA ALTA           PR         00953
   231543 ISABEL LOZADA OSORIO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671151 ISABEL LUCIANO PAGAN                        FACTOR I                     701 CALLE 5                                                                            ARECIBO            PR         00614‐2912
   671153 ISABEL LUGO BAEZ                            HC 1 BOX 3546                                                                                                       UTUADO             PR         00641
   671154 ISABEL M APONTE                             PO BOX 40                                                                                                           TOA ALTA           PR         00954
   671155 ISABEL M CARRERO ACEVEDO                    48 CALLE NUEVA                                                                                                      CIALES             PR         00638
   671156 ISABEL M CIRINO VELEZ                       RES DULCES EDIF 25 APT 169                                                                                          AGUADILLA          PR         00603
                                                      58 GINORIO CALLE JOSE
   671158 ISABEL M FIGUEROA RIVERA                    GONZALEZ                                                                                                            ARECIBO            PR         00612
   231544 ISABEL M LOPEZ QUINTERO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671162 ISABEL M MANZANO                            PO BOX 21365                                                                                                        SAN JUAN           PR         00928
   231545 ISABEL M MARTINEZ ALFARO                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   231546 ISABEL M MUNIZ DEL VALLE                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671163 ISABEL M PABON                              PO BOX 344                                                                                                          VILLALBA           PR         00766
   231547 ISABEL M POLANCO ORTIZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   231548 ISABEL M QUINONEZ VELEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   231549 ISABEL M ROBLES MAISONET                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          ISABEL M RODRIGUEZ / JASMINE                                             APT 147 ‐ 161 CALLE CESAR
   671164 N TORRES                     COND PAVILLION COURT                        GONZ                                                                                   SAN JUANA          PR         00918‐1510

   231550 ISABEL M RODRIGUEZ COLLAZO                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      37 CALLE HOSPITAL CATALINA
   671020 ISABEL M ROSARIO MATOS                      FIGUERAS                                                                                                            UTUADO             PR         00641
   671165 ISABEL M SERRANO SANTANA                    HC 40 BOX 43102                                                                                                     SAN LORENZO        PR         00754

   231551 ISABEL M VALLADARES RIVERA  REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                      54 CRISALIDA URB MU¨OS
   671166 ISABEL M VELOSO LORENTE Y/O RIVERA                                                                                                                              GUAYNABO           PR         00969
   231552 ISABEL M. ROMAN TORRES      REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   231553 ISABEL M. SOTO VELEZ        REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671169 ISABEL MALDONADO MATEO      SEC LA SIERRA                                HC 02 BOX 33756                                                                        CAGUAS             PR         00725

   231554 ISABEL MANGUAL / JOSE CORTES REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   671170 ISABEL MARIA BONILLA ROMAN VILLA PESCADORES                              506 CALLE JUREL                                                                        VEGA BAJA          PR         00693

   231555 ISABEL MARIA GUEVARA MOREY REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671171 ISABEL MARIA SOTO VELEZ    PO BOX 70171 SUITE 15                                                                                                                SAN JUAN           PR         00936‐8171
   231556 ISABEL MARQUEZ BONILLA     REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED




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   671172 ISABEL MARRERO MARRERO                      COMUNIDAD ROBLES AIBONITO    SOLAR 31                                                                           AIBONITO            PR       00705
   671176 ISABEL MARTINEZ VEGA                        C/O CONCILIACION (98‐1183)                                                                                      SAN JUAN            PR       00902
   231558 ISABEL MAS VELEZ                            REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   231560 ISABEL MATOS QUINONES                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   231561 ISABEL MATOS VARGAS                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   231563 ISABEL MATTA KUILAN                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   671177 ISABEL MEDINA                               HC 67                                                                                                           BAYAMON             PR       00956
   671178 ISABEL MEDINA CARABALLO                     2445 WALTON AVE APT 25                                                                                          BRONX               NY       10468
   671179 ISABEL MEDINA GARCIA                        P O BOX 1609                                                                                                    LAS PIEDRAS         PR       00771‐1609
   671182 ISABEL MELENDEZ                             P O BOX 10200                                                                                                   SAN JUAN            PR       009080200.
   231565 ISABEL MELENDEZ GARCIA                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   671184 ISABEL MELENDEZ ROMAN                       RES FELIPE SANCHEZ OSORIO    EDIF 14 APTO 97                                                                    CAROLINA            PR       00985
   231566 ISABEL MENDEZ LORENZO                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   231567 ISABEL MENDEZ VELEZ                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   231568 ISABEL MERCADO OSORIO                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   671185 ISABEL MERCADO PADILLA                      P O BOX 5000 29                                                                                                 SAN GERMAN          PR       00683
          ISABEL MILAGROS DE JESUS
   231569 QUINONES                                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   671186 ISABEL MIRANDA CAPELES                      P O BOX 7555                                                                                                    CAGUAS              PR         00726
   671187 ISABEL MIRANDA CARBIA                       PO BOX 190491                                                                                                   SAN JUAN            PR         00919‐0491
   671188 ISABEL MOLINA CINTRON                       PO BOX 24                                                                                                       PUNTA SANTIAGO      PR         00741
   231571 ISABEL MOLINA RIVERA                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   231572 ISABEL MONET VELAZQUEZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   231575 ISABEL MONTALVO                             REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   231576 ISABEL MONTANEZ CONCEPCION REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   231577 ISABEL MONTANEZ DOMINGUEZ REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   671190 ISABEL MONTES SANTIAGO    CALLEJON SAN JUAN                              33 INT BOX 6296                                                                    PONCE               PR         00733
   671193 ISABEL MORALES            285 MOTHER GASTON BLVD                                                                                                            BROOKLYN            NY         11212
   231579 ISABEL MORALES CRUZ       REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   231580 ISABEL MORALES LOPEZ      REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   671194 ISABEL MORALES MARTINEZ   SICOSOCIAL TRUJILLO ALTO                                                                                                          Hato Rey            PR         009360000
   671196 ISABEL MORALES PEREZ      HC 2 BOX 11280                                                                                                                    MOCA                PR         00676
   671197 ISABEL MU¥OZ ALVERIO      PO BOX 463                                                                                                                        SAN LORENZO         PR         00754
   231581 ISABEL MUNOZ FIGUEROA     REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   671198 ISABEL MUSTAFA PEREZ      URB RIVER PLANTATION                           133 CALLE GUAMANI                                                                  CANOVANAS           PR         00729

   231582 ISABEL N CASIANO MONTALVO                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   231583 Isabel Negron Guadalupe                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   231584 ISABEL NIEVES FIGUEROA                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   671199 ISABEL ORAMA LEDESMA                        P O BOX 192591                                                                                                  SAN JUAN            PR         00919
   231585 ISABEL ORTA ORELLANO                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   231587 ISABEL ORTEGA RIVERA                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   671200 ISABEL ORTIZ ARROYO                         JARD DE ORIENTE              179 EDIF 12                                                                        HUMACAO             PR         00791
   671201 ISABEL ORTIZ HERNANDEZ                      52 CALLE SEVILLA                                                                                                AGUADILLA           PR         00603
   671202 ISABEL ORTIZ MARTINEZ                       BO PALMAREJO                 80 CALLE LUIS ROLANDO                                                              LAJAS               PR         00667
   671203 ISABEL ORTIZ RIVERA                         BO PILDRAS BLANCAS           PO BOX 2771                                                                        GUAYNABO            PR         00970
   231588 ISABEL ORTIZ RODRIGUEZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   671204 ISABEL ORTIZ SALAMAN                        BARRIO MARTIN GONZALEZ       HC 0 14402                                                                         CAROLINA            PR         00985
   671205 ISABEL OSORIO ORTIZ                         1343 CHAPEL ST APT F                                                                                            NEW HAVAN           CT         06511
   231589 ISABEL OSORIO VELEZ                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  671206 ISABEL OTERO                                 MINILLA STATION                PO BOX 40764                                                                            SAN JUAN            PR         00940‐0764
  231590 ISABEL OYOLA MARRERO                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  231591 ISABEL PADILLA MOJICA                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  671208 ISABEL PAGAN                                 URB CAOBOS                     2379 C/ PODOCARPUS                                                                      PONCE               PR         00716
  671209 ISABEL PEGUERO FULGENCIO                     553 WEST 161 ST APT 3                                                                                                  NEW YORK            NY         10032
  671211 ISABEL PEREZ BURGOS                          EST DEL MAYORAL                12062 CALLE CARRETERA                                                                   VILLALBA            PR         00706

   671212 ISABEL PEREZ CRUZ                           293 CALLE CAROLINA PLAYITA                                                                                             SAN JUAN            PR         00913
   231593 ISABEL PEREZ GONZALEZ                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231594 ISABEL PIZARRO RODRIGUEZ                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   671017 ISABEL R. VALLECILLO                        COND. PARQUE DE LAS FUENTES    APARTAMENTO 1608                                                                        HATO REY            PR         00918
   231597 ISABEL RAMIREZ PADILLA                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671216 ISABEL RAMOS CARMONA                        URB MONTE BRISAS               BB 1 CALLE 3                                                                            FAJARDO             PR         00738
   231598 ISABEL RAMOS ORTIZ                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671218 ISABEL RAMOS RAMOS                          PO BOX 10089                                                                                                           CAROLINA            PR         00988
   231599 ISABEL RAMOS RESTO                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      CLUB MANOS VILLAGE TOMAS
   671219 ISABEL RAMOS RODRIGUEZ                      AGRID B2                                                                                                               SAN JUAN            PR         00924
   231600 ISABEL RESTO HUERTAS                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231601 ISABEL REYES ALBITE                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231602 ISABEL REYES DE ORTIZ                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671220 ISABEL REYES PICORELLI                      EXT VILLA RICA                 211 CALLE 10                                                                            BAYAMON             PR         00959
   671221 ISABEL REYES RAMIREZ                        PO BOX 676                                                                                                             SAN LORENZO         PR         00754
   231604 ISABEL RIOS MERCADO                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231605 ISABEL RIOS ORTEGA                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231606 ISABEL RIOS RIVERA                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   671223 ISABEL RIVERA ALBAREZ                       VILLA DEL REY 4R‐13 CALLE 7A                                                                                           CAGUAS              PR         00725
   231607 ISABEL RIVERA BARBOSA                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   671225 ISABEL RIVERA GARCIA                        PARC POLVORIN                  34 CALLE VICENTE RODRIGUEZ                                                              CAYEY               PR         00736
   671226 ISABEL RIVERA MEDINA                        PARC CANEJAS                   BOX 4236                                                                                SAN JUAN            PR         00926
   671227 ISABEL RIVERA MERCADO                       PO BOX 835                                                                                                             GARROCHALES         PR         00652
   231608 ISABEL RIVERA ORTIZ                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231609 ISABEL RIVERA OTERO                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671021 ISABEL RIVERA PEREZ                         HC 2 BOX 7726                                                                                                          CAMUY               PR         00627‐9122
   671229 ISABEL RIVERA RAMOS                         BO AMELIA                      CALLE COLL Y TOSTE 1                                                                    GUAYNABO            PR         00965
   231610 ISABEL RIVERA SANCHEZ                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231611 ISABEL RODRIGUEZ                            REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671231 ISABEL RODRIGUEZ ALICEA                     PO BOX 597                                                                                                             NARANJITO           PR         00719
   231613 ISABEL RODRIGUEZ BONET                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671232 ISABEL RODRIGUEZ JUARBE                     PO BOX 361733                                                                                                          SAN JUAN            PR         00936
   671233 ISABEL RODRIGUEZ MALABET                    ALT DE INTERAMERICANA          P8 CALLE 11                                                                             TRUJILLO ALTO       PR         00976
   671234 ISABEL RODRIGUEZ REYES                      HC 01 BOX 7168                                                                                                         AGUAS BUENAS        PR         00703‐9715
   671235 ISABEL ROHENA DE ORTIZ                      HC 645 BOX 5175                                                                                                        TRUJILLO ALTO       PR         00976
   671236 ISABEL ROMAN ANDINO                         A 9 RIO GRANDE HILLS                                                                                                   RIO GRANDE          PR         00745
   231614 ISABEL ROMAN LOPEZ                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231615 ISABEL ROMAN RIOS                           REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671238 ISABEL ROMAN ROMAN                          PO BOX 882                                                                                                             CAMUY               PR         00627
   231616 ISABEL ROMAN VALENTIN                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671239 ISABEL ROSADO FIGUEROA                      PMB 38 HC 1 BOX 29030                                                                                                  CAGUAS              PR         00725
   231617 ISABEL ROSADO VELAZQUEZ                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  231618 ISABEL ROSARIO CARTAGENA                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671240 ISABEL ROSARIO MENDEZ                        BOX 481                                                                                                              CIDRA             PR         00739
  671241 ISABEL ROSARIO ORTIZ                         HC 3 BOX 9809                                                                                                        BARRANQUITAS      PR         00794
  231619 ISABEL ROSARIO TIRADO                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231620 ISABEL ROSARIO TORRES                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231621 ISABEL RUIZ FRANQUI                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671242 ISABEL RUIZ MADERO                           URB PUERTO NUEVO 523       CALLE ARAGON                                                                              SAN JUAN          PR         00920
  231622 ISABEL RUIZ PRIETO                           REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671243 ISABEL RUIZ ROSADO                           BOX 951                                                                                                              SABANA HOYOS      PR         00688

   231623 ISABEL RUIZ Y ELBA I ZANOGUEL               REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231624 ISABEL RUTZEN LOPEZ                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231626 ISABEL S SANCHEZ CANO                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671244 ISABEL SALAS BENEJAM                        P O BOX 6318                                                                                                         MAYAGUEZ          PR         00681

   671245 ISABEL SANCHEZ LOPEZ                        COND OCEAN TOWER           5757 AVE ISAL VERDE APT 1005                                                              CAROLINA          PR         00979
          ISABEL SANCHEZ LOPEZ/VICTOR
   231627 ORTIZ                                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231628 ISABEL SANCHEZ RIVERA                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671246 ISABEL SANCHEZ ROLON                        URB BONNEVILLE VALLEY      48 CALLE SAGRADA FAMILIA                                                                  CAGUAS            PR         00727
   671247 ISABEL SANTANA GONZALEZ                     863 PDA 22I/2              CALLE CARRION MADURO                                                                      SAN JUAN          PR         00907
   671249 ISABEL SANTANA NIEVES                       HC 83 BUZON 7581                                                                                                     VEGA ALTA         PR         00692
   671250 ISABEL SANTANA RAMOS                        BO LAS MESAS               RR 349 KM 5 1                                                                             MAYAGUEZ          PR         00680
   671252 ISABEL SANTIAGO BARROSO                     URB COUNTRY CLUB           968 CALLE YABOA REAL                                                                      SAN JUAN          PR         00924
   671253 ISABEL SANTIAGO CASTRO                      RESIDENCIAL LOS MIRTOS     EDIF 8 APT 126                                                                            CAROLINA          PR         00987
   671254 ISABEL SANTIAGO RIVERA                      URB SABANA GARDENS         15 11 SOUTH MAIN                                                                          CAROLINA          PR         00983
   671255 ISABEL SANTOS JOSE                          SANTA JUANITA SECCION 10   D 41 CALLE NAPOLES                                                                        BAYAMON           PR         00956
   671256 ISABEL SANTOS RIVERA                        HC 3 BOX 7995                                                                                                        BARRANQUITAS      PR         00794
          ISABEL SCHWARZ / MIGUEL
   231631 TULLA                                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231632 ISABEL SOTERO IRIZARRY                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231633 ISABEL SOTO ALMODOVAR                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231634 ISABEL SOTO MALDONADO                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231636 ISABEL T PADILLA ZAPATA                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671257 ISABEL TORRES                               CALLE RIO CAONILLA                                                                                                   VEGA BAJA         PR         00963
          ISABEL TORRES ALAMO DE
   671258 PADILLA                                     FLORAL PARK                470 CALLE LLORENS TORRES                                                                  SAN JUAN          PR         00917‐3803
   671262 ISABEL TORRES SERRANO                       HC 03 BOX 21709                                                                                                      ARECIBO           PR         00612
   231638 ISABEL TORRES TORRES                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231640 ISABEL V LOPEZ NEGRON                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671264 ISABEL VALENTIN MOLINA                      REPARTO UNIVERSIDAD        F 26 CALLE 8                                                                              SAN GERMAN        PR         00683
   671265 ISABEL VALENTIN REYES                       CAMPANILLA                 P 159 CALLE EL MONTE                                                                      TOA BAJA          PR         00949
   671267 ISABEL VALERA LORENZO                       HC 01 BOX 5122                                                                                                       RINCON            PR         00677
   671268 ISABEL VARGAS BONILLA                       PO BOX 626                                                                                                           BAYAMON           PR         00960
   231641 ISABEL VASALLO OCASIO                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671269 ISABEL VAZQUEZ BORRERO                      HC 2 BOX 7445                                                                                                        UTUADO            PR         00641
   231644 ISABEL VAZQUEZ LAINEZ                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                 DD53 CALLE ACCESO URB
   671270 ISABEL VAZQUEZ MALDONADO                    LUQUILLO MAR               LUQUILLO MAR                                                                              LUQUILLO          PR         00773
          ISABEL VAZQUEZ PEREIRA Y
   671271 ENRIQUE LOPEZ                               HIGHLAND GARDENS           E 4 CALLE ALBA                                                                            GUAYNABO          PR         00969
   231645 ISABEL VAZQUEZ RODRIGUEZ                    REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671272 ISABEL VAZQUEZ SEARY                        JARDINES DE PALMAREJO      II24 CALLE 30                                                                             CANOVANAS         PR         00729



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  231646 ISABEL VEGA BORGES                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  671274 ISABEL VEGA DE JESUS                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  231647 ISABEL VEGA FELICIANO                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  231648 ISABEL VEGA MELENDEZ                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  671276 ISABEL VEGA NEGRON                           URB EL MADRIGAL              Q 11 CALLE 23                                                                        PONCE                PR         00730
  671278 ISABEL VEGA VAZQUEZ                          BOX 6656                                                                                                          CIDRA                PR         00739
  231649 ISABEL VELAZQUEZ GARCIA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  671279 ISABEL VELAZQUEZ PENA                        HC 11 BOX 12571                                                                                                   HUMACAO              PR         00791
  231651 ISABEL VELEZ                                 REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  671280 ISABEL VELEZ RIVERA                          11012 CALLE REINA SOFIA                                                                                           RIO GRANDE STATE     PR         00745
  671018 ISABEL VERA SERRANO                          URB RAMIREZ DE ARELLANO      116 CALLE AGUSTIN STAHL                                                              MAYAGUEZ             PR         00680
  231652 ISABEL VICENS TORRES                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         ISABEL VICTORIA HIDALGO
  231653 ACOSTA                                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  231654 ISABEL VIERA FIGUEROA                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  671281 ISABEL VILLANUEVA VELEZ                      RR 1 BOX 45193                                                                                                    SAN SEBATIAN         PR         00685
  671282 ISABEL VILLEGAS GARCIA                       PUERTA DE TIERRA             C/SAN AGUSTIN 315 APT5                                                               SAN JUAN             PR         00912
  671284 ISABEL ZAPATA MARTINEZ                       HC 1 BOX 7408                                                                                                     LAJAS                PR         00667
  671285 ISABEL ZENO AGOSTO                           MSC 540                      PO BOX 4035                                                                          ARECIBO              PR         00612
         ISABEL, FERNANDO Y ALFREDO
  671286 CARRASQUILLO                                 BO DAGUAO                    BUZN 872                                                                             NAGUABO              PR         00718
         ISABELA A & RENTAL/ALEXIS
  231657 RODRIGUEZ                                    URB MANUEL CORCHADO          205 CALLE TRINITARIA                                                                 ISABELA              PR         00662
  671288 ISABELA ABREU SERRA                          CALLE 10 K 21                                                                                                     ISABELA              PR         00662
  231658 ISABELA BASKETBALL INC                       REPTO APOLONIO VELEZ         39 CALLE CRISTO REY                                                                  ISABELA              PR         00662

   671289 ISABELA CARBURATORS REBUILD PO BOX 1601                                                                                                                       ISABELA              PR         00662
   231659 ISABELA CARE HOME            P.O. BOX 1486                                                                                                                    ISABELA              PR         00662
   231660 ISABELA CARE HOME I          PO BOX 1486                                                                                                                      ISABELA              PR         00662
   231661 ISABELA CARE HOME INC.       P. O. BOX 1486                                                                                                                   ISABELA              PR         00662
          ISABELA DAIRY INC C/O RAFAEL
   671290 RUIZ                         HC 04 BOX 30755                                                                                                                  HATILLO              PR         00659
   671291 ISABELA DRUG INC             PO BOX 765                                                                                                                       ISABELA              PR         00662
          ISABELA ELDERLY LIMITED
   671292 PARTNERSHIP                  PMB 140                                     53 AVE ESMERALDA                                                                     GUAYNABO             PR         00969‐4429
   231662 ISABELA FITNESS CLUB INC     PO BOX 2081                                                                                                                      ISABELA              PR         00662
   231663 ISABELA HOME CARE I          P.O. BOX 1486                                                                                                                    ISABELA              PR         00662
          ISABELA L CASANOVA
   671293 VIZCARRONDO                  MEDIANIA ALTA                               BOX 93                                                                               LOIZA                PR         00772
   671294 ISABELA M. OYOLA NIEVES      URB EL PARAISO                              1518 CALLE RODANO                                                                    SAN JUAN             PR         00926
   231664 ISABELA PRINTING             2249 AVE MILITAR                                                                                                                 ISABELA              PR         00662
   231667 ISABELA Q‐ LUBE              BOX 3401                                    AVE MILITAR                                                                          ISABELA              PR         00662
   671287 ISABELA Q‐LUBE               P.O. BOX 80000 SUITE 271                                                                                                         ISABELA              PR         00662
   231669 ISABELA RETAIL CORP          25 BARBOSA                                                                                                                       ISABELA              PR         00662
          ISABELA SERVICE STATION
   671295 TEXACO                       P O BOX 644                                                                                                                      AGUADA               PR         00602

   671296 ISABELA SPORT WEAR                          1012 CALLE JARDINES DEL EDEN                                                                                      ISABELA              PR         00662
   671298 ISABELINO COLON SOTO                        HC 3 BOX 6364                                                                                                     HUMACAO              PR         00791
   231670 ISABELINO MEDINA SANCHEZ                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   231671 ISABELINO RIVERA SOLIVAN                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   671301 ISABELINO VAZQUEZ BERRIOS                   BO CORAZON                   5 3 CALLE SANTA ROSA                                                                 GUAYAMA              PR         00784




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   671303 ISABELITA BETANCOURT NIEVES                 HC 02 BOX 46756                                                                                                  VEGA BAJA            PR           00693
   671304 ISABELITA COSME DIAZ                        HC 1 BOX 9439                                                                                                    GURABO               PR           00778
   231672 ISABELITA DIAZ COLON                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   231673 ISABELITA FEBLES NEGRON                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   231674 ISABELITA GOMEZ GOMEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   231675 ISABELITA MALDONADO RIVERA                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   231676 ISABELITA MORALES LOPEZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   231678 ISABELITA REYES CENTENO                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   671305 ISABELITA RODRIGUEZ SOLIS                   PO BOX 3773                                                                                                      LUQUILLO             PR           00773

   231679 ISABELITA RODRIGUEZ TROCHE                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   231680 ISABELITA RUIZ ZAPATA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   671306 ISABELITA SALAS LASALLE                     HC 2 BOX 25797                                                                                                   SAN SEBASTIAN        PR           00685
   671308 ISABELITA VALLEJO LOPEZ                     REPTO FLAMINGO              B 10 C/ATENAS                                                                        BAYAMON              PR           00959
   671309 ISABELITA VELEZ SANCHEZ                     150 CAMPO ALEGRE                                                                                                 UTUADO               PR           00641

   671310 ISABELLA SCALLEY FERNANDEZ                  SAN JOVINO                  423 SAGRADO CORAZON                                                                  SAN JUAN             PR           00926
   770562 ISABELLE KALLIS COLON                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   671311 ISABELLE RUBIELLA CRUZ                      RR 3 BOX 9922                                                                                                    TOA ALTA             PR           00953
   231681 ISABELLE, WHITE                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   671312 ISABELO AYALA CENTENO                       VILLA CONQUISTADOR          BO SAN ISIDRO BOX 51816                                                              CANOVANAS            PR           00729
   671313 ISABELO CRUZ GOMEZ                          H C 40 BOX 42957                                                                                                 SAN LORENZO          PR           00754

   671314 ISABELO FONSECA RODRIGUEZ                   206 COMMUNITY DRIVE APT 1                                                                                        SHILLINGTON          PA           19607
   671315 ISABELO LATIMER LOPEZ                       BO BUENA VISTA              45 CALLE MAGNOLIA                                                                    CAROLINA             PR           00985
   231682 ISABELO LOPEZ GONZALEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   671319 ISABELO NIEVES                              LOMAS VERDES                2G 41 CALLE ELODEA                                                                   BAYAMON              PR           00956
   231683 ISABELO OCASIO TORRES                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   231684 ISABELO PERALTA MENDEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   231685 ISABELO RIVERA NEGRON                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   231687 ISAC JERMAINE LOPEZ OLIVENCIA REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   231688 ISACA                         1055 PAYSPHERE CIRCLE                                                                                                          CHICAGO              IL           60674
          ISACA CAPITULO DE PUERTO
   231689 RICO                          EL DORADO                                 A 2 CALLE C                                                                          SAN JUAN             PR           00926
   671324 ISACA PUERTO RICO             EL DORADO                                 A 2 CALLE C                                                                          SAN JUAN             PR           00926
   231691 ISACA PUERTO RICO CHAPTER     P.O. BOX 191450                                                                                                                SAN JUAN             PR           00919‐1450
   671325 ISACC M FLORES REYES          HC 2 BOX 9369                                                                                                                  JUNCOS               PR           00777
          ISACHELLY N. ENCARNACION
   231692 MERCADO                       RES LOMA ALTA                             EDF B APT 39                                                                         CAROLINA             PR           00987
   231694 ISADELLE RIVERA MATOS         REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          ISADORA HERNANDEZ
   231696 MONTANEZ                      REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   231697 ISADORA RIVERA                REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   231699 ISAEL CRUZ CORTES             REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   231700 ISAEL FUENTES ACEVEDO         REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   671328 ISAEL GONZALEZ MENDEZ         PO BOX 1138                                                                                                                    COAMO                PR           00769
   671329 ISAEL MARRERO REICES          SANTA MONICA                              C‐11 CALLE 2                                                                         BAYAMON              PR           00957
   671330 ISAEL O DELGADO SANTIAGO      BARRIO SAN ISIDRO                         BUZON S‐1808                                                                         CANOVANAS            PR           00729
   231701 ISAEL ROSADO GARCIA           REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   671333 ISAEL ROSARIO ECHEVARRIA      PO BOX 7126                                                                                                                    PONCE                PR           00732



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MML ID               NAME                                       ADDRESS 1                       ADDRESS 2                  ADDRESS 3                           ADDRESS 4               CITY          STATE    POSTAL CODE        COUNTRY
  671334 ISAEL SANTOS SANTANA                         B 7 URB ROSALEDA                                                                                                     VEGA ALTA            PR           00692

   231703 ISAELISSE M. VEGAS SANTIAGO                 REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   671335 ISAI FIGUEROA FIGUEROA                      HC 2 BOX 6497                                                                                                        MOROVIS              PR           00687
   231704 ISAI FUENTES POMALES                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   231705 ISAI TORRES QUINONES                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   231706 ISAI VEGA CORNIER                           REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   671336 ISAIA CRUZ                                  506‐ 56 STREET                                                                                                       BROOKLYN             NY           11220
   231707 ISAIAH L RODRIGUEZ LEON                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   671337 ISAIAS ACOSTA FIGUEROA                      PO BOX 1379                                                                                                          TRUJILLO ALTO        PR           00976
   231708 ISAIAS AGOSTO HUERTAS                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   671338 ISAIAS ALAGO BONILLA                        15 BO PASTILLO                 BO COTTO                                                                              ISABELA              PR           00662
   671339 ISAIAS ALICEA                               HC 1 BOX 6109                                                                                                        GURABO               PR           00778
   231709 ISAIAS BURGOS GARCIA                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   231710 ISAIAS CASILLAS ARZUAGA                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   671340 ISAIAS COLLAZO MERCADO                      PO BOX 696                                                                                                           ROSARIO              PR           00636
   671341 ISAIAS COLON FIGUEROA                       HC 02 BOX 8926                                                                                                       JUANA DIAZ           PR           00795
   671342 ISAIAS CRUZ ROMAN                           SECTOR PLAYUELA                BZN 2712                                                                              AGUADILLA            PR           00603
   231711 ISAIAS DAVILA RIVERA                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   671343 ISAIAS DEL RIO DEL RIO                      HC 3 BOX 33328                                                                                                       HATILLO              PR           00659

   671344 ISAIAS DIAZ MERCED                          AVE PONCE DE LEON 2DO PISO                                                                                           SAN JUAN             PR           00901
   231712 ISAIAS DIAZ MORALES                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   231713 ISAIAS DUPREY RODRIGUEZ                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   671345 ISAIAS E FIGUEROA PEREZ                     P O BOX 529                                                                                                          TOA BAJA             PR           00951‐0210
   671346 ISAIAS FIGUEROA RIVERA                      URB VALLE ALTO                 D 16 CALLE 9                                                                          PONCE                PR           00731
   231714 ISAIAS GARCIA RODRIGUEZ                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   671347 ISAIAS GONZALEZ SANTIAGO                    HC 03 BOX 12086                                                                                                      UTUADO               PR           00641

   671348 ISAIAS GONZALEZ TIRADO                      PDA 27 34 CALLE BUENOS AIRES                                                                                         SAN JUAN             PR           00917
   231715 ISAIAS J MORA ROMERO                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   231716 ISAIAS JURADO SANTIAGO                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   671350 ISAIAS MADERA RIVERA                        HC 44 BOX 13243                                                                                                      CAYEY                PR           00736
   671351 ISAIAS MEDINA GUTIERREZ                     HC 2 BOX 5159                                                                                                        GUAYAMA              PR           00784
   671352 ISAIAS MOJICA VALCARCEL                     EMBALSE SAN JOSE               428 CALLE TORRE LAGUNA                                                                SAN JUAN             PR           00923
   231717 ISAIAS MUNIZ SERRANO                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   231718 ISAIAS MUNIZ TORRES                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   231719 ISAIAS NAZARIO ORTEGA                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   671354 ISAIAS OJEDA ALGARIN                        VILLA LINARES                  CALLE 16                                                                              HATILLO              PR           00692
   671355 ISAIAS OJEDA GONZALEZ                       VILLA FONTANA                  VIA 18 NR 16                                                                          CAROLINA             PR           00983
   671356 ISAIAS OJEDA OSORIO                         HC 1 BOX 3106                                                                                                        LOIZA                PR           00772
   671357 ISAIAS PECHO MURAZZI                        COND CAPRIVILAS                APT 201 570 CALLE VERONA                                                              SAN JUAN             PR           00930
   231721 ISAIAS QUINONES QUINTANA                    REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   231722 ISAIAS REYES LOPEZ                          REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   231723 ISAIAS RIVERA TORRES                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   231724 ISAIAS RIVERA VALENTIN                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   231725 ISAIAS ROBLES MARTINEZ                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   231726 ISAIAS RODRIGUEZ ACEVEDO                    REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   671359 ISAIAS RODRIGUEZ DE JESUS                   VILLA CARIDAD                  103 CALLE PRINCIPAL                                                                   CAROLINA             PR           00985
   231727 ISAIAS RODRIGUEZ SOTO                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   231728 ISAIAS SOTO SANTIAGO                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   671361 ISAIAS TALAVERA CABAN                       HC 2 BOX 23673                                                                                                       AGUADILLA            PR           00603
   231729 ISAIAS VAZQUEZ VEGA                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED



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  671362 ISAIDA DIAZ COLON           BO BAYAMON BOX 6051                                                                                                              CIDRA             PR         00739
  671363 ISAIDA GUADALUPE ROBLES     VILLA PRADES                             706 CALLE FELIPE GUTIERREZ                                                              SAN JUAN          PR         00924
  671364 ISAIDA LOPEZ PAGAN          EXT SAN CRISTOBAL                        H 14 CALLE 5                                                                            BARRANQUITAS      PR         00794
  671366 ISAIMARA AVILES             BOX 270                                                                                                                          PONCE             PR         00731
  231730 ISAIN AROCHO RIVERA         REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671367 ISAIRA PINTADO              BO GUAIANA                               HC 73 BOX 5704                                                                          NARANJITO         PR         00719
  671368 ISAIRALIZ TORRES ALCOVER    PO BOX 956                                                                                                                       AGUADA            PR         00602
  231731 ISAIRY RODRIGUEZ ROMAN      REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231732 Isales & Toledo Law Offices Urb. Country Club                        Calle Kurices 846                                                                       San Juan          PR         00924
  671369 ISALYN LUGO PEREZ           URB MARIANI                              183 CALLE DR SANTAELLA                                                                  PONCE             PR         00731
  231748 ISAM RIVERA COLON           REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         ISAMAEL CASTRO DBA COLMADO
  231749 Y FERR CASTRO               PO BOX #1                                PALMER                                                                                  PALMER            PR         00721
  231750 ISAMAR BENTZ COLON          REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671370 ISAMAR CAMACHO LEON         P O BOX 775                                                                                                                      UTUADO            PR         00641
  231751 ISAMAR CANDELARIA VELEZ     REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671373 ISAMAR COLON                URB SANTA PAULA                          J 10 CALLE 2                                                                            GUAYNABO          PR         00969
  231752 ISAMAR COLON VALENTIN       REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231753 ISAMAR CORREA RUIZ          REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231754 ISAMAR CORREA SANTOS        REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671374 ISAMAR FELICIANO LUCIANO    REPARTO KENNEDY A 47                                                                                                             PENUELAS          PR         00624
  231755 ISAMAR FIGUEROA PINEIRO     REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231756 ISAMAR FUENTES ORTIZ        REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   671375 ISAMAR GONZALEZ FELICIANO                   HC 02 BOX 16367                                                                                                 ARECIBO           PR         00612
   671376 ISAMAR GRILLASCA ROSADO                     LA PONDEROSA            C 78 CALLE 2                                                                            VEGA ALTA         PR         00692

   231758 ISAMAR M FLORES RODRIGUEZ                   REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671377 ISAMAR MAISONET ALVAREZ                     COND DE DIEGO 444       APT 606                                                                                 SAN JUAN          PR         00936‐3055
   231759 ISAMAR MATOS RODRIGUEZ                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231760 ISAMAR MORALES CASTRO                       REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231761 ISAMAR PABON DELGADO                        REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671378 ISAMAR PEREZ PEREZ                          7 URB LOS FLAMBOYANES                                                                                           GURABO            PR         00778
   231762 ISAMAR PEREZ RIVERA                         REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231763 ISAMAR RAMOS RODRIGUEZ                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231764 ISAMAR RIOS RODRIGUEZ                       REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231765 ISAMAR RIVERA ROBLES                        REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231766 ISAMAR RIVERA SANTIAGO                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231767 ISAMAR ROSA PLATA                           REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671379 ISAMAR ROSADO FANTAUZZI                     PO BOX 141536                                                                                                   ARECIBO           PR         00614
   231768 ISAMAR ROSADO LABOY                         REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671380 ISAMAR SANTIAGO ACEVEDO                     VILLA LOS SANTOS        N 3 CALLE 9                                                                             ARECIBO           PR         00612
   231769 ISAMAR SANTIAGO SANCHEZ                     REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231770 ISAMAR SIERRA SIERRA                        REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ISAMAR V HERNANDEZ
   231771 SANTIAGO                                    REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671381 ISAMAR VALLE RIPOLL                         33 CALLE BOLIVIA        OFICINA 203                                                                             HATO REY          PR         00917
   231772 ISAMAR ZARAGOZA HOYOS                       REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671382 ISAMARI CANDELARIO                          PO BOX 1114                                                                                                     CIDRA             PR         00739
   671383 ISAMARI ORTIZ ROBLES                        342 BORINQUEN                                                                                                   CATANO            PR         00962
   231773 ISAMARIE COLON CARMONA                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671384 ISAMARIE MOJICA                             URB ROUND HILL          536 CALLE ORQUIDEA                                                                      TRUJILLO ALTO     PR         00976
   231774 ISAMARIE NUNZI GARCIA                       REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  231775 ISAMARIE PEREZ FERNANDEZ                     REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  231776 ISAMARIE RIVERA ROSADO                       REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671385 ISAMARIE RIVERA TORRES                       REP METROPOLITANO    1201 CALLE 40 SE                                                                  SAN JUAN          PR         00921
  671386 ISAMARIE ROCHE                               URB SAN MARTIN II    F 14 CALLE 5                                                                      JUANA DIAZ        PR         00795

   671387 ISAMARIE VEGUILLA HERNANDEZ HC 4 BOX 49194                                                                                                         CAGUAS            PR         00725
   671388 ISAMARY LOPEZ SANTOS        BDA BUENA VISTA                      265 CALLE D                                                                       SAN JUAN          PR         00917
   231777 ISAMARY LOPEZ TORRES        REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231779 ISAMARY M DIAZ GUZMAN       REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ISAMARY VILLANUEVA
   671389 RODRIGUEZ                   HC 5 BOX 52101                                                                                                         HATILLO           PR         00659
   671390 ISAMARYS MERCADO CANALS     1066 CALLE MONTE FLORES                                                                                                ISABELA           PR         00662
   671392 ISAMI AYALA COLLAZO         VILLA FONTANA                        VIA 21 QL 8                                                                       CAROLINA          PR         00983
   671393 ISAMIR OTERO REYES          15 BO PALO ALTO                                                                                                        MANATI            PR         00674
   231782 ISANDER BERRIOS AGOSTO      REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ISANDER CARRASQUILLO
   231783 VILLANOVA                   REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ISANDER CARRASQUILLO
   231784 VILLANUEVA                  REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231785 ISANDER DIAZ LOZADA         REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231786 ISANDER FONTANEZ TORRES     REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231787 ISANDER GALARZA PAGAN       REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671394 ISANDER LOIZ DE LEON        HC 1 BOX 7905                                                                                                          LAS PIEDRAS       PR         00771‐9337
   671395 ISANDER ORTIZ SANFELIZ      P O BOX 1004                                                                                                           COROZAL           PR         00783
   231788 ISANDER RIVERA BUITES       REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231789 ISANDER SANTIAGO ALVAREZ    REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671396 ISANDRA BERRIOS SANTIAGO    URB INMACULADA                       28 CALLE 4                                                                        LAS PIEDRAS       PR         00771

   231790 ISANDRA MARTíNEZ MARRERO                    REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231791 ISANI MD, ALAMGIR                           REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671397 ISANIA CARDENAS SALCEDO                     278 CALLE DEGETAU                                                                                      SAN JUAN          PR         00915
   231792 ISANNIE RIVERA GIL                          REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671398 ISARAEL AVILES MALDONADO                    BDA POLVORIN         CALLE 12 23                                                                       CAYEY             PR         00736
   671400 ISARIS NIEVES TRINIDAD                      URB SABANA SECA      149 C CALLE LEON                                                                  TOA BAJA          PR         00951
   231794 ISAS CATERING                               REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   671401 ISAS CATERING/ISABEL BENABE                 45 A CALLE NIAGARA                                                                                     COAMO             PR         00769
   671402 ISATEX INC                                  P O BOX 759                                                                                            NARANJITO         PR         00719
   231795 ISAURA A. LIRIA CRUZ                        REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   671403 ISAURA ALVARADO CARTAGENA                   LOPEZ SICARDO        775 DOS PINOS                                                                     SAN JUAN          PR         00923
   671404 ISAURA BIRRIEL RIVERA                       1848 CALLE PESANTE                                                                                     SAN JUAN          PR         00912
   231796 ISAURA BONILLA MILLAN                       REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671405 ISAURA CARRASCO                             HC 1 BOX 7313                                                                                          LOIZA             PR         00772

   231797 ISAURA CONCEPCION AQUINO                    REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   671406 ISAURA CORCHADO HERNANDEZ PO BOX 1666                                                                                                              SAN GERMAN        PR         00683
   231799 ISAURA CRUZ ROSARIO       REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231800 ISAURA E MORALES PEREZ    REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671408 ISAURA GRULLON            P O BOX 9024136                                                                                                          SAN JUAN          PR         00902
   671409 ISAURA J MERCED APONTE    ALT DE VILLA FONTANA                   D 29 CALLE 3                                                                      CAROLINA          PR         00982




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   231801 ISAURA MALDONADO MARTINEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   671410 ISAURA MARTINEZ RODRIGUEZ                   PO BOX 11119 HC 02                                                                                            YAUCO               PR         00698
   231802 ISAURA NEGRON VEGA                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   231804 ISAURA OTERO ESPINO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   231805 ISAURA PEREZ SANCHEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   231806 ISAURA RIVERA RUIZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   671413 ISAURA RODRIGUEZ CASTILLO                   URB JARD FAGOT              J 18 CALLE 10                                                                     PONCE               PR         00731
   231807 ISAURA ROSA SIERRA                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   231809 ISAURA SANTIAGO SANTIAGO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   231810 ISAURA TORRES VELAZQUEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   671415 ISAURA VARGAS CABAN                         PO BOX 832                                                                                                    MOCA                PR         00676
   671416 ISAURA VARGAS RIVERA                        BOX 2919                                                                                                      SAN GERMAN          PR         00683

   231811 ISAURA VELAZQUEZ FIGUEROA                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   231814 ISAYMETTE MERCADO MORALES REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   231815 ISAYOLIS GONZALEZ MARTINEZ                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   671418 ISBEL VALENTIN PESANTE                      VILLAS DEL OESTE            671 ARIES                                                                         MAYAGUEZ            PR         00682‐1502
   671419 ISBELLE M RIVERA GONZALEZ                   URB REXVILLE                AJ‐41 CALLE 51                                                                    BAYAMON             PR         00957‐4234
   231818 ISCHOOLS, INC                               PO BOX 8850                                                                                                   BAYAMON             PR         00960‐8850
   231819 ISCON VIDEO IMAGING                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   231821 ISEIM CRUZ JIMENEZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   671420 ISEL FELICIANO GONZALEZ                     GALATEO BAJO                CR 2 SECTOR CHEVIN                                                                ISABELA             PR         00662
   671421 ISEL M COLLAZO GOMEZ                        JARDINES DE DORADO          H 5 CALLE 5                                                                       DORADO              PR         00646
   671422 ISELA LOPEZ MARTINEZ                        HC 01 BOX 3432                                                                                                QUEBRADILLAS        PR         00678
   231822 ISELIA MEDINA MEDINA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          ISELMARIE ALVARADO
   231823 MALDONADO                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   231824 ISERN & ASOCIADOS                           URB. REPARTO METROPOLITANO 968 CALLE 42 SE                                                                    SAN JUAN            PR         00921‐2701
   231825 ISERN & ASOCIADOS INC                       URB REPTO METROPOLITANO    968 CALLE 42 SE                                                                    SAN JUAN            PR         00921‐2701
   231832 ISETTE MARIE CRUZ NEGRON                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   231834 ISEUT G VELEZ RIVERA                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          ISFCE, LLC(THE INTERNATIONAL
          SOCIETY OF FORENSIC                         7600 LEESBURG PIKE WEST
   231835 EXAMINERS)                                  BUILDING                                                                                                      VIRGINIA            VA         22043
   231836 ISFM                                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   671425 ISHA A SANOGUET DIODONET                    PO BOX 188                                                                                                    CEIBA               PR         00735
   231839 ISHAIRA PIRELA                              REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          ISHANNETTE GONZALEZ
   671426 HERNANDEZ                                   COND BAYOLA EDF A APTO 13   1447 CALLE ESTRELLA                                                               SANTURCE            PR         00908
   231840 ISHEL CALZADA RAMOS                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   231841 ISHI RODRIGUEZ LORA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   231845 ISHNAR LOPEZ RAMOS                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   671427 ISHTAR PARTNERS INC                         PMB 163                     3071 AVE ALEJANDRO                                                                GUAYNABO            PR         00969‐7035

   671428 ISHUANNETTE LOPEZ SANTIAGO                  HP ‐ SALA CCEP                                                                                                RIO PIEDRAS         PR         009360000
   231846 ISHWARA M. AYALA ORTIZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   231847 ISIA D RIVERA RODRIGUEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   671430 ISIA Y AYALA                                URB SANTA ELVIRA            H 8 CALLE SANTA ROSA                                                              CAGUAS              PR         00725



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  671431 ISIDEO VAZQUEZ NEGRON                        BO LOS MAGOS                 451 CALLE GENESIS                                                                    TOA BAJA            PR           00951
  671432 ISIDORA ALVARADO TORRES                      HC 1 BOX 5725                                                                                                     OROCOVIS            PR           00720‐9702
         ISIDORA CARRASQUILLO
  231849 RODRIGUEZ                                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  231850 ISIDORA CRUZ ROSARIO                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  671433 ISIDORA PABON GONZALEZ                       EL MANI                      165 CALLE ELENA SEGARRA                                                              MAYAGUEZ            PR           00680
  231851 ISIDORA PEREZ VALLE                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  671434 ISIDORA RAMOS ADORNO                         ADM SERV GENERALES           P O BOX 7428                                                                         SAN JUAN            PR           00916‐7428
  671435 ISIDORA TORRES GONZALEZ                      HC 59 BOX 5275                                                                                                    AGUADA              PR           00602
  231852 ISIDORA VALENTIN JIMENEZ                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   231853 ISIDORO CAMACHO HERNANDEZ REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   231854 ISIDORO CAMACHO VELAZQUEZ                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          ISIDORO CONCEPCION
   231855 FONTANEZ                                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   231856 ISIDORO COUVERTIER REYES                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   231857 ISIDORO DELGADO RUIZ                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          ISIDORO GONZALEZ/JET SKI
   231859 RESORT                                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   671438 ISIDORO H. REYES ROBLAN                     URB. BAIROA AH‐14 CALLE 33                                                                                        CAGUAS              PR           00725‐1536

   671439 ISIDORO LOZADA CARRASQUILLO PO BOX 7126                                                                                                                       PONCE               PR           00732
   231860 ISIDORO MAYSONET NEGRON     REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   231861 ISIDORO SANCHEZ RODRIGUEZ                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   671443 ISIDRA DE LA CRUZ CARABALLO                 URB REPARTO SEVILLA          871 B CALLE PAGANINI                                                                 RIO PIEDRAS         PR           00924
   231862 ISIDRA I RIVERA ROSARIO                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   231863 ISIDRA MALDONADO AGUILAR                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   671444 ISIDRA MARTINEZ                             P O BOX 21228                                                                                                     SAN JUAN            PR           00928
   231864 ISIDRA ORTIZ LEBRON                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   231865 ISIDRA PINERO BONILLA                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   671446 ISIDRA RIVERA SANCHEZ                       P O BOX 211                                                                                                       BAYAMON             PR           00960
   671447 ISIDRA ROSADO SANTIAGO                      RES ALTS DE CUPEY            EDIF 20 APRT 224                                                                     SAN JUAN            PR           00926
   671449 ISIDRA SERRANO RAMOS                        ADM SERV GENERALES           P O BOX 7428                                                                         SAN JUAN            PR           00916‐7428
   671451 ISIDRA SILVA PEREZ                          HC 03 BOX 14911                                                                                                   AGUAS BUENAS        PR           00703
   671452 ISIDRA TRINIDAD RONDON                      340 ORANGE ST APT 3                                                                                               NEW HAVEN           CT           06511
   671453 ISIDRO A. NEGRON IRIZARRY                   27 CALLE SALVADOR BRAU                                                                                            CABO ROJO           PR           00623
   231866 ISIDRO ANDINO ROMAN                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   231867 ISIDRO BERMUDEZ MORALES                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   231868 ISIDRO BONILLA CRESPO                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   671455 ISIDRO CHARNECO CABAN                       PO BOX 1219                                                                                                       AGUADA              PR           00602
   671456 ISIDRO COLLAZO RIVERA                       P O BOX 22322                                                                                                     SAN JUAN            PR           00931‐2322
   231870 ISIDRO CORA LEBRON                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   671457 ISIDRO CRUZ DELGADO                         PO BOX 50063                                                                                                      SAN JUAN            PR           00902
   671458 ISIDRO CUSTODIA                             1161 VILLA HOSTOS                                                                                                 TOA BAJA            PR           00949
   671459 ISIDRO DEL MORAL ARROYO                     PO BOX 871                                                                                                        PUNTA SANTIAGO      PR           00741
   671460 ISIDRO ESPINELL FIGUEROA                    HC 2 BOX 13449                                                                                                    COROZAL             PR           00783

   671461 ISIDRO FERNANDEZ HERNANDEZ P O BOX 1453                                                                                                                       AGUAS BUENAS        PR           00703
   671462 ISIDRO GARAY GARCIA        HC 02 BOX 113872                                                                                                                   AGUAS BUENAS        PR           00703‐9609



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  671465 ISIDRO GARCIA PESQUERA                       PO BOX 11013                                                                                                          CAPARRA HEIGHTS     PR         00922
  671466 ISIDRO GARCIA SOTO                           URB MARBELLA                  52 CALLE A                                                                              AGUADILLA           PR         00603
  231871 ISIDRO GUZMAN CRUZ                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  231872 ISIDRO HERNANDEZ BOSQUES                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  231873 ISIDRO HERNANDEZ BURGOS                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  231874 ISIDRO IRIZARRY SAEZ                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  231875 ISIDRO J RIVERA RIOS                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  671467 ISIDRO LAGARRETA TORRES                      HC 01 BOX 3997                                                                                                        LARES               PR         00669
  671468 ISIDRO M PERERA ARMAS                        URB METROPOLIS                2 J2 CALLE 63                                                                           CAROLINA            PR         00987

   671469 ISIDRO M. MARTINEZ GILORMINI PO BOX 7052                                                                                                                          PONCE               PR         00732
   671470 ISIDRO MALAVE CORREA         P O BOX 594                                                                                                                          COAMO               PR         00769
          ISIDRO MANCERA / MARIACHI
   671471 AZTECA DE ORO                P O BOX 194000 PM 256                                                                                                                SAN JUAN            PR         00919‐4000
   671472 ISIDRO MARQUEZ LOPEZ         P O BOX 805                                                                                                                          MOCA                PR         00676‐0805

   671473 ISIDRO MARTINEZ                             VILLA CLEMENTINA              C18 CALLE RUFINO RODRIGUEZ                                                              GUAYNABO            PR         00969
   231876 ISIDRO MARTINEZ RIVERA                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231877 ISIDRO MENDEZ NIEVES                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231878 ISIDRO MONTES CEBOLLERO                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ISIDRO MONTES DEOCA
   671474 CEBALLOS                                    PO BOX 1473                                                                                                           COROZAL             PR         00783‐1473
   671475 ISIDRO MORELL MARTINEZ                      BOX 2078                                                                                                              ANASCO              PR         00610
   231880 ISIDRO OJEDA PAGAN                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671476 ISIDRO OLAN ORTIZ                           P O BOX 459                                                                                                           ADJUNTAS            PR         00601
   231881 ISIDRO OLN ORTIZ                            REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671477 ISIDRO OTERO CRUZ                           10 MARQUEZ                    CALLE LAUREL                                                                            MANATI              PR         00674
   671478 ISIDRO PADILLA ROMAN                        HC 4 BOX 30284                                                                                                        HATILLO             PR         00659

   671479 ISIDRO PAGAN VAZQUEZ                        COND COSTA MARINA 2 APT 7 I                                                                                           CAROLINA            PR         00983
   231882 ISIDRO PEREZ                                REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671481 ISIDRO RAMOS COLON                          PO BOX 400                                                                                                            CIDRA               PR         00739
   671482 ISIDRO RAMOS INC                            605 AVE CONDADO               SAN ALBERTO SUITE 516                                                                   SAN JUAN            PR         00907
   671483 ISIDRO RIVERA AYALA                         PARCELAS PONDEROSA            233 CALLE 7                                                                             VEGA ALTA           PR         00692‐5730
   671484 ISIDRO RIVERA RIVERA                        URB STA JUANITA               DD 12 CALLE 28                                                                          BAYAMON             PR         00956

   231883 ISIDRO RODRIGUEZ BENTEGEAT                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671485 ISIDRO SANTANA HERNANDEZ                    P O BOX 1824                                                                                                          VEGA ALTA           PR         00692
   671486 ISIDRO SANTIAGO BAEZ                        HC 03 BOX 13475                                                                                                       YAUCO               PR         00698‐9614
   671488 ISIDRO SANTIAGO QUI ONES                    HC 2 BOX 12032                                                                                                        YAUCO               PR         00698
   671489 ISIDRO TORRES ROSA                          PO BOX 44                                                                                                             LAS PIEDRAS         PR         00771
   671490 ISIDRO VELEZ LOPEZ                          URB VILLA NUEVA H 48          CALLE 10                                                                                CAGUAS              PR         00725
   671491 ISIDRO W SEGARRA SURITA                     12 AVE SANTA ORTIZ                                                                                                    CABO ROJO           PR         00623
   671493 ISIS A LONGO RAVELO                         SAN PATRICIO MEADOWS          B 7 CALLE MEADOWS                                                                       GUAYNABO            PR         00928
   231885 ISIS A ROLDAN                               REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671494 ISIS CRUZ SOTO                              URB OCEAN VIEW                152 CALLE FRANKLIN                                                                      ARECIBO             PR         00612
   231886 ISIS D MALDONADO LOPEZ                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671495 ISIS DAVILA PAGAN                           PO BOX 9022482                                                                                                        SAN JUAN            PR         00902
                                                      201 C B LAS CASAS BAJOS
   671496 ISIS DIAZ ALVAREZ                           PLAYITA                                                                                                               SAN JUAN            PR         00913
   671497 ISIS J IRIZARRY RIVERA                      URB VALLE DE ANDALUCIA        3141 CALLE ALMERIA                                                                      PONCE               PR         00728‐3115
   671498 ISIS LAHAM BAUZO                            VILLAS DEL ESTE 1014          CALLE AMATISTA                                                                          CANOVANAS           PR         00729
   231887 ISIS M JIMENEZ MARTINEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  671492 ISIS M REYES CARRASQUILLO                    HC 1 BOX 7796                                                                                                      CANOVANAS         PR         00729
  671500 ISIS M RODRIGUEZ LOPEZ                       HC 67 BOX 62                MANSIONES DE SIERRA TAINA                                                              BAYAMON           PR         00956
  231888 ISIS M ROSALES CONCEPCION                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   671501 ISIS M SANCHEZ LONGO                        232 AVE ELEONOR ROOSEVELT                                                                                          SAN JUAN          PR         00907
   231889 ISIS M VASQUEZ SOTO                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671502 ISIS MORALES RAMOS                          P O BOX 3000 SUITE 527                                                                                             SANTA ISABEL      PR         00757
   231890 ISIS N RAMIREZ SALCEDO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ISIS NICHOLE HERNANDEZ
   231891 VAZQUEZ                                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671503 ISIS R SANCHEZ ALMODOVAR                    22 CALLE JUAN                                                                                                      MAUNABO           PR         00707
   671504 ISIS REYES FABIAN                           URB VILLA PRADES            802 CALLE CAMEN ZANABRIA                                                               SAN JUAN          PR         00924
   231892 ISIS ROSARIO CRUZ                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671505 ISIS V SANTIAGO MORALES                     174 MIRAMAR FINAL                                                                                                  PONCE             PR         00731
   231893 ISIS VIDOT HERNANDEZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   671506 ISIS Y ALFARO SEDA                          BORINQUEN TOWERS APT 1316   1484 AVE F D ROOSEVELT                                                                 SAN JUAN          PR         00920‐2724
   231894 ISIS Y COLON SIERRA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   231896 ISIS Y JIMENEZ IRIZARRY                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   671507 ISLA BONITA FLAMENCO BEACH                  PO BOX 183                                                                                                         CULEBRA           PR         00775
   671508 ISLA BUS SERVICE                            BO SANTANA                  BOX 219                                                                                ARECIBO           PR         00612
   231897 ISLA BUS SERVICE INC                        1122 BO SANTANA                                                                                                    ARECIBO           PR         00612‐6831
   231898 ISLA CENTRO PRODUCT CORP                    PO BOX 3019                                                                                                        BAYAMON           PR         00960‐3019

   231899 ISLA CENTRO PRODUCTS CORP.                  DBA ANGEL MARTINEZ COLON    PO BOX 3019                                                                            BAYAMON           PR         00960‐3019
   231900 ISLA COPIERS                                URB SANTA ROSA              41‐37 CALLE 24                                                                         BAYAMON           PR         00959
   671509 ISLA DEL RIO INC                            PO BOX 7305                                                                                                        PONCE             PR         00732‐7305
   671510 ISLA FILMS INC                              PO BOX 6813                                                                                                        SAN JUAN          PR         00914
   671511 ISLA FOOD MEAT INC                          PO BOX 1895                                                                                                        AIBONITO          PR         00705

   671512 ISLA GRANDE FLIYING SCHOOL  P O BOX 192343                                                                                                                     SAN JUAN          PR         00919
   671513 ISLA GRANDE FLYING SCHOOL   PO BOX 2343                                                                                                                        SAN JUAN          PR         00919
   231903 ISLA GROUP, CORP.           CALLE 24 BLQ. 41 #37                        SANTA ROSA                                                                             BAYAMON           PR         00959
   671514 ISLA LAB PRODUCTS CORP      PO BOX 361810                                                                                                                      SAN JUAN          PR         00936‐1810
   831422 Isla Lab Products, Corp.    P.O. Box 361810                                                                                                                    San Juan          PR         00936
   231904 ISLA LAB PRODUCTS, LLC      PO BOX 361810                                                                                                                      SAN JUAN          PR         00936‐1810
   231905 ISLA LLAMAS MD, JAVIER      REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671515 ISLA NEGRA EDITORES         P O BOX 22648                                                                                                                      SAN JUAN          PR         00931‐2648
   231906 ISLA NENA AIR SERVICE INC   HC 1 BOX 9425                                                                                                                      VIEQUES           PR         00765 9243
   671517 ISLA NENA GAS STATION       P O BOX 492                                                                                                                        VIEQUES           PR         00765
   671518 ISLA NENA PAVING CORP       PO BOX 1552                                                                                                                        VIEQUES           PR         00765
   671519 ISLA NENA SUPER STATION     P O BOX 492                                                                                                                        VIEQUES           PR         00765
   671520 ISLA NENA UNLIMITED CORP    PO BOX 843                                                                                                                         SAINT JUST        PR         00978
   671521 ISLA NET                    PO BOX 193660                                                                                                                      SAN JUAN          PR         00919‐3660
   671522 ISLA PETROLEUM CORP         PO BOX 10672                                                                                                                       SAN JUAN          PR         00922
   231907 ISLA PROPERTY DEVELOMENT    PO BOX 1133                                                                                                                        ISABELA           PR         00662
   671524 ISLA SERVICES STA.          A14 EXT CALIMANO                                                                                                                   MAUNABO           PR         00707
   231910 ISLA SUPPLY CORP            P O BOX 29066                                                                                                                      SAN JUAN          PR         00929‐9066
          ISLA TELECOMMUNICATION SITE
   231912 INC                         URB MONTE CLARO                             MQ20 PLAZA 37                                                                          BAYAMON           PR         00961
   231913 ISLA VERDE MAIL S E         PO BOX 29155                                                                                                                       SAN JUAN          PR         00929




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          ISLA VERDE RESALTY GROUP,                                                 MCS PLAZA SUITE 804 AVE.
  1420087 INC.                                         JOSÉ L. VILLAMIL CASANOVA    PONCE DE LEÓN 255                                                                       HATO REY            PR           00917
   231916 ISLAIM RODRIGUEZ LUNA                        PLAZA ANTILLANA              APTO 4304                                                                               SAN JUAN            PR           00918
          ISLAND BURGUER.LLC DBA
  1256580 BAMBU BURGUER                                REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671528 ISLAND CAN                                   PO BOX 2837                                                                                                          BAYAMON             PR           00960
   671529 ISLAND CAN CARIBBEAN INC                     PO BOX 2832                                                                                                          BAYAMON             PR           00960‐2832
   671530 ISLAND CAR CARE / Q LUBE                     P O BOX 1883                                                                                                         CAROLINA            PR           00984‐1883
   671533 ISLAND CAR CARE INC                          P O BOX 1883                                                                                                         CAROLINA            PR           00984‐1883
   671535 ISLAND CAR RENTAL INC                        HC 02 BOX 15501                                                                                                      VIEQUES             PR           00765
   231919 ISLAND CATERERS CORP                         BOX 9022547                                                                                                          SAN JUAN            PR           00901
   671526 ISLAND COIL CORP                             PO BOX 1467                                                                                                          BAYAMON             PR           00960‐1467

   671536 ISLAND COMERCIAL PROP.INC.                   MINILLAS STATION             PO BOX 41044                                                                            SAN JUAN            PR           00940
          ISLAND COMPUTER
   231921 COMPONENTS                                   PO BOX 475                                                                                                           CAGUAS              PR           00726‐0475

          ISLAND COMPUTER
   231901 COMPONENTS DBACOMP & TEC                     PO BOX 475                                                                                                           CAGUAS              PR           00726
   671537 ISLAND COMPUTER SERVICES                     473 CESAR GONZALEZ                                                                                                   SAN JUAN            PR           00919
   231923 ISLAND CONSERVATION                          100 SHAFFER ROAD                                                                                                     SANTA CRUZ          CA           95060‐5734
   231924 ISLAND COPIER SERVICES                       URB LOMAS VERDES             4X 9 AVE NOGAL                                                                          BAYAMON             PR           00956

   231925 ISLAND COUNSELING CE                         108 GROVE STREET 2ND FLOOR                                                                                           WORCESTER           MA           01605
   231926 ISLAND ECO PARTENRS LLC                      66 CALLE LUISA CONDADO                                                                                               SAN JUAN            PR           00907

   671539 ISLAND FENCE                                 CARR 114 KM 1 6 BO GUANAJIBO                                                                                         MAYAGUEZ            PR           00680
   231928 ISLAND FESTIVAL RENTAL                       URB SANTIAGO IGLESIAS        1756 AVE PAZ GRANELA                                                                    SAN JUAN            PR           00921
          ISLAND FESTIVAL RENTAL &
   231929 RECYCLING CORP                               PMB 150                      138 AVE WISTON CHURCHILL                                                                SAN JUAN            PR           00926
   831424 Island Festival Rentals                      PMB 150                      138 Ave. Winston Churchill                                                              San Juan            PR           00926
          ISLAND FINANCEL SALE FINANCE
   671540 CORP                                         HNC CREDITO PROGRESO         PO BOX 71504                                                                            SAN JUAN            PR           00936

   831425 Island Funeral Services Agency               HC 01 Box 10250                                                                                                      Penuelas            PR           00624

   671527 ISLAND FURNITURE DISTRIBUTOR PO BOX 235                                                                                                                           YAUCO               PR           00698‐0235

   671541 ISLAND GRANDE FLYING SCHOOL P O BOX 192343                                                                                                                        SAN JUAN            PR           00919‐2343
   671542 ISLAND HARDWARE CORP        PO BOX 3416                                                                                                                           SAN JUAN            PR           00936
   231932 ISLAND HEARING CENTER       PO BOX 11164                                                                                                                          SAN JUAN            PR           00910
   671543 ISLAND ICE                  PO BOX 9024275                                                                                                                        SAN JUAN            PR           00902‐4275

   671544 ISLAND IN STORE SERVICES INC                 PO BOX 70171 PMB 251                                                                                                 SAN JUAN            PR           00936‐8171
   671545 ISLAND LITHO CORP                            PO BOX 601463                                                                                                        BAYAMON             PR           00960
   231935 ISLAND LUBE INC                              CUIDAD JARDIN                329 CALLE CLAVEL                                                                        CAROLINA            PR           00987
          ISLAND OF THE WORLD CAR
   671546 RENTAL                                       PO BOX 1752                                                                                                          LUQUILLO            PR           00773
          ISLAND PEER REVIEW                           1979 MARCUS AVENUE, SUITE
   231938 ORGANIZATION INC.                            105                                                                                                                  LAKE SUCCESS        NY           11042‐1002
   671547 ISLAND PLASTIC SIGNS                         PO BOX 9805                                                                                                          SAN JUAN            PR           00908
   671548 ISLAND PRESS                                 PO BOX 7                                                                                                             COVELO              CA           95428
   671549 ISLAND REFRIGERATION                         JARD DE CANOVANAS            A20 CALLE PEPITA ALBANDOZ                                                               CANOVANAS           PR           00729



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          ISLAND RENAL SERVICES CENTER
   231941 OF LARES                     CENTRO DE DIALISIS                            PO BOX 605                                                                                 LARES               PR           00669

   231942 ISLAND SECURITY SERVICE INC                 PO BOX 364745                                                                                                             SAN JUAN            PR           00936

  1420088 ISLAND SECURITY SERVICES                    MARTA S. ARVELO LÓPEZ          606 AVE. MUÑOZ RIVERA SUITE 1                                                              SAN JUAN            PR           00918

   231944 ISLAND SECURITY SERVICES INC                142 F.D. ROOSVELT                                                                                                         HATO REY            PR           00936
          ISLAND SPEECH AND HEARING
   231946 CENTER                                      CENTRO COMERCIAL               LAGUNA GARDENS SUITE 248                                                                   ISLA VERDE          PR           00979
   671553 ISLAND STEVE DORING INC                     P O BOX 9066570                                                                                                           SAN JUAN            PR           00906‐6570
          ISLAND STORAGE &
   231947 DISTRIBUTION INC                            PO BOX 362467                                                                                                             SAN JUAN            PR           00936‐2467
          ISLAND TECHNOLOGIES
   671554 CORPORATION                                 P O BOX 1262                                                                                                              SAN LORENZO         PR           00754
          ISLAND TRANSPORTATION
   671555 NETWORK                                     P O BOX 1403                                                                                                              CAROLINA            PR           00984
   671557 ISLAND VENTURE                              P O BOX 7711                                                                                                              PONCE               PR           00732
          ISLAND VENTURE WATER
   231949 EXCUCIONS                                   PO BOX 7711                                                                                                               PONCE               PR           00732
   671558 ISLAND WEST ROOFING                         PO BOX 7000                                                                                                               AGUADA              PR           00602
                                                      576 AVE CESAR GONZALEZ SUITE
   671559 ISLAND WIDE                                 302                                                                                                                       SAN JUAN            PR           00918
   671560 ISLAND WIDE EXPRESS                         PO BOX 11670                                                                                                              SAN JUAN            PR           00922‐1670
          ISLAND WIDE PEST
   671561 MANAGEMENT                                  PO BOX 4952 STE 486                                                                                                       CAGUAS              PR           00726‐4952
          ISLAND WIDE PEST
   231951 MANAGEMENT GROUP                            PO BOX 4952                    PMB 486                                                                                    CAGUAS              PR           00726‐4952
          ISLAND WIDE PEST
   231952 MANAGEMENT GROUP INC       PO BOX 4952                                                                                                                                CAGUAS              PR           00726
   671563 ISLAND WIDE RENT ALL       CAPARRA TERRACE                                 1310 AVE JESUS T PINERO                                                                    SAN JUAN            PR           00921
                                     PO BOX 19776 FERNANDEZ
   231954 ISLAND WORLD CHEMICAL CORP JUNCOS STA                                                                                                                                 SAN JUAN            PR           00910
   671564 ISLANDS NOVELTY INC        PO BOX 364741                                                                                                                              SAN JUAN            PR           00936
          ISLANDWIDE CAPITAL
   231955 FACTORING CO CORP ICF      CAPITAL FACTURING                               PO BOX 8121                                                                                SAN JUAN            PR           00910

   671565 ISLAND‐WIDE INSTALLERS INC.                 PO BOX 845                                                     GUAYNABO                                                   GUAYNABO            PR           00970
          ISLANO SPEECH & HEARING
   231956 CENTER                                      LAGUNA GARDENS CENTER          SUITE 248 ALTOS                                                                            CAROLINA            PR           00979
   671566 ISLETA MARINA                               PO BOX 728                                                                                                                FAJARDO             PR           00738
   231960 ISMA E VELEZ FERNANDEZ                      REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   231961 ISMABETH ANDINO BERRIOS                     REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   231962 ISMAEL A ACEVEDO VALENTIN                   REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   231963 ISMAEL A ALEMANY CRUZ                       REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671580 ISMAEL A CRUZ GONZALEZ                      PO BOX 57                                                                                                                 ARECIBO             PR           00613
   231965 ISMAEL A DIAZ HIJO                          REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   231966 ISMAEL A LEON MEJIAS                        REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   231968 ISMAEL A RUIZ ALICEA                        REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671583 ISMAEL A VALLE GONZALEZ                     HC 56 BOX 35201                                                                                                           AGUADA              PR           00602
   671584 ISMAEL A. QUINONES                          PO BOX 709                     OFIC. SUPTE. COROZAL                                                                       COROZAL             PR           00783
   231969 ISMAEL ACABEO LABOY                         REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671585 ISMAEL ACEVEDO CORDERO                      HC 58 BOX 14730                                                                                                           AGUADA              PR           00602



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  231971 ISMAEL ACEVEDO GONZALEZ                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  231972 ISMAEL ACEVEDO LOPEZ                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  231973 ISMAEL ACEVEDO QUIðONEZ                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         ISMAEL ACEVEDO Y / O LYDIA
  671588 ACEVEDO                                       646 50 ST                                                                                                            BROOKLYN            NY         11220

   671589 ISMAEL ACOSTA FONTANEZ                       PASEO DE LOS ARTESANOS     34 C RAFAELA RIVERA MELENDEZ                                                              LAS PIEDRAS         PR         00725
   671590 ISMAEL AGOSTO CINTRON                        PO BOX 1220                                                                                                          SAINT JUST          PR         00978
   671591 ISMAEL AGOSTO RODRIGUEZ                      H C 73 BOX 5297                                                                                                      NARANJITO           PR         00719
   671592 ISMAEL AGUIRRE SANTIAGO                      URB ALT DE VILLA DEL REY   F 22 CALLE 28                                                                             CAGUAS              PR         00725
   671593 ISMAEL ALAMO MONSERRATE                      TORRIMAR                   19 BARCELONA                                                                              GUAYNABO            PR         00966

   671594 ISMAEL ALDARONDO MORALES                     BOSQUE DEL LAGO ENCANTADA BF 18 PLAZA 14                                                                             TRUJILLO ALTO       PR         00976
          ISMAEL ALEJANDRINO
   231976 GUTIERRREZ                                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   671567 ISMAEL ALEJANDRO RODRIGUEZ HC 02 BOX 11224                                                                                                                        JUNCOS              PR         00777
   671596 ISMAEL ALSINA MENDOZA      BDA POLVORIN                                 15 EVARISTO VAZQUEZ                                                                       CAYEY               PR         00736

   231977 ISMAEL ALVARADO MELENDEZ                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ISMAEL ALVAREZ / GUSTITO
   671597 CRIOLLO                                      P O BOX 16543                                                                                                        SAN JUAN            PR         00908‐6543
   231978 Ismael Andrades de Jesus                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ISMAEL ANTONIO HERNANDEZ
   231979 GILBES                                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671598 ISMAEL APONTE COTTO                          P O BOX 2390                                                                                                         SAN JUAN            PR         00919
          ISMAEL APONTE DBA
   231980 COMERCIAL FURNIAS                            HC 01 BOX 2251                                                                                                       LAS MARIAS          PR         00670
   231981 ISMAEL APONTE MERCADO                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671599 ISMAEL AQUINO                                BO COLOMBIA                75 CALLE MIRAMAR                                                                          MAYAGUEZ            PR         00680
   671568 ISMAEL ARROYO RODRIGUEZ                      HC 5 BOX 59559             BO LA MESA                                                                                CAGUAS              PR         00725‐9244
   231984 ISMAEL ARVELO LLORET                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ISMAEL ARVELO RUIZ / RAMON
   231985 PENA ROMAN                                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

          ISMAEL AVILES
   231986 MONTIJO/KARLAN GROUP CORP                    URB MIRABELLA              B34 CALLE CUARZO                                                                          BAYAMON             PR         00961
   231987 ISMAEL AVILES RIVERA                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671601 ISMAEL AVILES TORRES                         P O BOX 4835                                                                                                         CAROLINA            PR         00984
   231988 ISMAEL AYALA CEPEDA                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   231989 ISMAEL AYALA RAMOS                           REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671605 ISMAEL BARRETO LUGO                          PMB 215 P O BOX 6400                                                                                                 CAYEY               PR         00737
   671607 ISMAEL BARRETO VAZQUEZ                       HC 2 BOX 11826                                                                                                       MOCA                PR         00676
   231990 ISMAEL BENITEZ GUADALUPE                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671608 ISMAEL BERDECIA FIGUEROA                     URB COUNTRY CLUB           MP 13 C/ 426 EXT CUARTA                                                                   CAROLINA            PR         00982
   671609 ISMAEL BONANO CARDONA                        VILLA FONTANA              VIA 3 2LR617                                                                              CAROLINA            PR         00983

   671610 ISMAEL BORRERO RODRIGUEZ                     VILLA RIOS CANAS           802 NEWMAN                                                                                PONCE               PR         00731
   671611 ISMAEL BRITO SANCHEZ                         P O BOX 60075                                                                                                        BAYAMON             PR         00960
          ISMAEL BURGOS DBA FERR
   671612 MAELO                                        BO CAMPANILLA              P 12 CALLE LAS FLORES                                                                     TOA BAJA            PR         00949
   671569 ISMAEL BURGOS RIVERA                         PO BOX 2448                                                                                                          VEGA BAJA           PR         00694
   671613 ISMAEL BUTO DIAZ                             URB EL REMANSO             F 25 CALLE CUENCA                                                                         SAN JUAN            PR         00926



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  671614 ISMAEL CABALLERO SOTO                        URB LAS GAVIOTAS            C‐22 CALLE FENIX                                                                   TOA BAJA           PR         00949
  671615 ISMAEL CABAN                                 454 CALLE JESUS RAMOS                                                                                          MOCA               PR         00676
  671616 ISMAEL CACERES VAZQUEZ                       BO CARRIZAL                 CAR 441 BOX 1621                                                                   AGUADA             PR         00602
  671617 ISMAEL CALDERO RIOS                          BO PALMAREJO                HC 04 BOX 5921                                                                     COROZAL            PR         00783
  671618 ISMAEL CALDERON NEGRON                       P O BOX 7428                                                                                                   SAN JUAN           PR         00916
  671619 ISMAEL CAMACHO                               BO CAMINO VERDE             HC 02 BOX 13066                                                                    AGUAS BUENAS       PR         00703
  671620 ISMAEL CAMIS MELENDEZ                        URB LEVITTOWN               3296 PASEO COLINA                                                                  TOA BAJA           PR         00949
  671621 ISMAEL CAMIS RODRIGUEZ                       PO BOX 2021                                                                                                    LAS PIEDRAS        PR         00771‐2120
  231993 ISMAEL CANCEL VEGA                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   671622 ISMAEL CANDELARIA ACEVEDO                   APARTADO 354                                                                                                   RINCON             PR         00677
   671623 ISMAEL CANDELARIA CUEVAS                    CONDADO MODERNO             M 28 CALLE 13                                                                      CAGUAS             PR         00725
   671624 ISMAEL CANET RIVERA                         HC 09 BOX 58760                                                                                                CAGUAS             PR         00725
   671625 ISMAEL CANIES SANTIAGO                      SUITE 103 P O BOX 2021                                                                                         LAS PIEDRAS        PR         00771
   231994 ISMAEL CARDONA ONEILL                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671626 ISMAEL CARLO RIVERA                         PO BOX 1377                                                                                                    HATILLO            PR         00659
   231995 ISMAEL CARMONA CARMONA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671627 ISMAEL CARRASCO                             HC 4 BOX 48543                                                                                                 CAGUAS             PR         00725
   671628 ISMAEL CARRASCO GARCIA                      HC 4 BOX 48543                                                                                                 CAGUAS             PR         00725
          ISMAEL CARRASQUILLO
   231996 QUINONES                                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          ISMAEL CARRASQUILLO
   671629 RODRIGUEZ                                   HC 20 BOX 29006                                                                                                SAN LORENZO        PR         00754 9631
   671630 ISMAEL CARRION MELENDEZ                     P O BOX 669                                                                                                    SABANA HOYOS       PR         00688
   671631 ISMAEL CARRION TORRES                       P O BOX 2390                                                                                                   SAN JUAN           PR         00919
                                                      A/C BCO DESARROLLO
   671632 ISMAEL CARTAGENA                            ECONOMICO PR                BOX 372525                                                                         CAYEY              PR         00737
   671633 ISMAEL CASILLAS                             BO LOMAS                    CARR 953 K 0 H 9                                                                   CANOVANAS          PR         00975
   671634 ISMAEL CASILLAS AGOSTO                      HC 01 BUZON 8037                                                                                               CANOVANAS          PR         00729
   231998 ISMAEL CASILLAS RIVERA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671635 ISMAEL CASILLAS RODRIGUEZ                   HC 55 BOX 8108                                                                                                 CEIBA              PR         00765
          ISMAEL CASTRO /COLMADO
   231999 FERRETERIA CASTRO                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671636 ISMAEL CASTRO RAMOS                         VILLA CAROLINA              153‐2 CALLE 433                                                                    CAROLINA           PR         00985
   671637 ISMAEL CASTRO RUIZ                          P O BOX 8190                                                                                                   CAROLINA           PR         00986
   232000 ISMAEL CHAPARRO MENDEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671639 ISMAEL CHAVES CHAVES                        PO BOX 2051                                                                                                    ISABELA            PR         00662
                                                      P O BOX 9023899 VIEJO SAN
   671640 ISMAEL CINTRON CINTRON                      JUAN                                                                                                           SAN JUAN           PR         00902‐3899
   671641 ISMAEL CINTRON ORTIZ                        HC 02 BOX 11249                                                                                                HUMACAO            PR         00791
   671642 ISMAEL CODERO RAMIREZ                       HCH 2 BOX 12706                                                                                                SAN GERMAN         PR         00683
   232001 ISMAEL COLLADO MARTINEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671643 ISMAEL COLON AGUILAR                        URB SANTA PAULA             J 10 CALLE 2                                                                       GUAYNABO           PR         00969
   671645 ISMAEL COLON COLON                          35 VILLALBA NAVARRO                                                                                            MAUNABO            PR         00707
   232003 ISMAEL COLON CORREA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   232004 ISMAEL COLON FEBO                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671646 ISMAEL COLON GARCIA                         4TA EXT VILLA CAROLINA      33 CALLE 443 BLOQ 181                                                              CAROLINA           PR         00985
   671647 ISMAEL COLON GONZALEZ                       HC 02 BOX 13741                                                                                                AGUAS BUENAS       PR         00703
   671648 ISMAEL COLON ORTEGA                         QUINTA DE CHAMPECHE         605 CALLE TRINITARIA                                                               CAROLINA           PR         00987
   671649 ISMAEL COLON PEREZ                          URB VALLE ARRIBA HEIGHTS    DG 1 CALLE 204                                                                     CAROLINA           PR         00984
   671650 ISMAEL COLON RIVERA                         BO SIERRA                   HC 01 BOX 5868                                                                     AIBONITO           PR         00705
   671652 ISMAEL COLON SANCHEZ                        URB METROPOLIS              A72 CALLE 5                                                                        CAROLINA           PR         00987
   671653 ISMAEL COLON SANTANA                        PO BOX 8105                                                                                                    BAYAMON            PR         00960



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   232005 ISMAEL CONCEPCION BURGOS                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671654 ISMAEL CONCEPCION OCASIO                    P O BOX 20089                                                                                                   SAN JUAN            PR           00928‐0089
   232006 ISMAEL CORDERO SOSA                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232007 ISMAEL CORES RODRIGUEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671655 ISMAEL CORIANO COLON                        URB VILLA CRIOLLOS            CALLE 9 A 3                                                                       CAGUAS              PR           00726
   232008 ISMAEL CORREA GARCIA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232009 ISMAEL CORTES ACEVEDO                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671656 ISMAEL CORTES HERNANDEZ                     P O BOX 215                                                                                                     MOCA                PR           00676
   671657 ISMAEL CORTES RIVAS                         PO BOX 4012                                                                                                     CIALES              PR           00638
   671658 ISMAEL COTTO SANCHEZ                        VILLA VICTORIA                M 3 CALLE 9                                                                       CAGUAS              PR           00725
   671660 ISMAEL CRUZ ALVAREZ                         UR VILLA CAROLINA             242 32 CALLE 618                                                                  CAROLINA            PR           00985
   232010 ISMAEL CRUZ BOSQUES                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232011 ISMAEL CRUZ CANDELARIA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232012 ISMAEL CRUZ CARRASCO                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ISMAEL CRUZ DBA CRUZ JR. BUS
   232014 LINE                                        PO BOX 1365                                                                                                     MOCA                PR           00676
   671659 ISMAEL CRUZ LAZU                            HC 1 BOX 17746                                                                                                  HUMACAO             PR           00791
   671661 ISMAEL CRUZ ORTIZ                           HC 03 BOX 40221                                                                                                 CAGUAS              PR           00725
   232015 ISMAEL CRUZ VALENTIN                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232016 ISMAEL CUEVAS VELAZQUEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   671662 ISMAEL D GARCIA RODRIGUEZ                   URB COUNTRY VIEW              50 CALLE BLANCO SOSA                                                              CANOVANAS           PR           00729

   232017 ISMAEL D SANTIAGO SANTIAGO                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671663 ISMAEL DAVILA DAVILA                        PO BOX 21365                                                                                                    SAN JUAN            PR           00926‐1365
   232018 ISMAEL DAVILA HERNANDEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671664 ISMAEL DAVILA RIVERA                        HC 01 BUZON 7582                                                                                                CANOVANAS           PR           00729
   671665 ISMAEL DAVILA TRUCKING                      PO BOX 79                                                                                                       SAN LORENZO         PR           00754

   671666 ISMAEL DE HOSETH DE LA FLOR                 P.O. BOX 30413                                                                                                  SAN JUAN            PR           00929
   232019 ISMAEL DE JESUS RAMOS                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232020 ISMAEL DE JESUS VEGA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232021 ISMAEL DE LEON SANTANA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232022 ISMAEL DEL PILAR CORDOVA                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671668 ISMAEL DEL VALLE RONDON                     RES EL PRADO EDIF 36 AP 180                                                                                     SAN JUAN            PR           00928
   232023 ISMAEL DEL VALLE VALENTIN                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671670 ISMAEL DIAZ GONZALEZ                        BOX 3322                                                                                                        VEGA ALTA           PR           00692
   671671 ISMAEL DIAZ RUBIO                           P O BOX 8384                                                                                                    HUMACAO             PR           00791‐8384
   232024 ISMAEL DIAZ TIRADO                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671673 ISMAEL DIAZ VARGAS                          BO EL SECO 4 CALLE H          DIAZ NAVARRO                                                                      MAYAGUEZ            PR           00682‐5735
   671674 ISMAEL DIPINI ROMAN                         BO MARIANA                    BUZON 230                                                                         NAGUABO             PR           00718
   232025 ISMAEL E CASTILLO ACEVEDO                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671675 ISMAEL E MARRERO PORRATE                    PO BOX 195234                                                                                                   SAN JUAN            PR           00919‐5234
   671676 ISMAEL E RODRIGUEZ TAPIA                    VILLA NEVAREZ                 1066 CALLE 19                                                                     SAN JUAN            PR           00927
   671678 ISMAEL ELIAS CORTES                         HC 71 BOX 4185                                                                                                  NARANJITO           PR           00719
          ISMAEL EMMANUELLI / CLINICA
   671679 DENTAL                                      PO BOX 1157                                                                                                     JAYUYA              PR           00664‐1157
   232027 ISMAEL ENRIQUEZ ROSARIO                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   671683 ISMAEL ESSO SERVICE CENTER                  PO BOX 2033                                                                                                     GUAYAMA             PR           00785
   671685 ISMAEL ESTRADA MERCED                       HC 5 BOX 53111                                                                                                  CAGUAS              PR           00725
   671686 ISMAEL ESTRADA SEPULVEDA                    BOX 1441                                                                                                        PONCE               PR           00795



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  671687 ISMAEL F TORRES                              PO BOX 949                                                                                                      SAN GERMAN        PR         00683‐0949
  671688 ISMAEL FALCON COLON                          A 26 GOMEZ                                                                                                      HUMACAO           PR         00664
  671689 ISMAEL FEBLES VAZQUEZ                        BO CARACOLES               5109 CALLE OSTRA                                                                     PONCE             PR         00712
  232029 ISMAEL FEBRES NIEVES                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232030 ISMAEL FELICIANO MERCADO                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671692 ISMAEL FERNANDEZ REYES                       8 C VILLA DEL PARQUE                                                                                            SAN JUAN          PR         00909
  671693 ISMAEL FERRER MALDONADO                      HC 3 BOX 7992                                                                                                   MOCA              PR         00676
  232031 ISMAEL FIGUEROA GARCIA                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   232032 ISMAEL FIGUEROA MALDONADO REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   232033 ISMAEL FIGUEROA RODRIGUEZ                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232034 ISMAEL FLORES MALDONADO                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232035 ISMAEL FLORES RODRIGUEZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   671697 ISMAEL FONTANEZ MELENDEZ                    HC 02 BOX 14599                                                                                                 AGUAS BUENAS      PR         00703
   671698 ISMAEL FUENTES VELAZQUEZ                    URB VILLA SERENA           D 4 CALLE CANARIO                                                                    ARECIBO           PR         00612
   671699 ISMAEL G REYES OTALORA                      11719 FLAGER ST                                                                                                 HOUSTON           TX         77071
   671700 ISMAEL GARAYUA GONZALEZ                     LOS CAOBOS                 3171 CALLE CAFE                                                                      PONCE             PR         00731
   671701 ISMAEL GARCIA                               PO BOX 21365                                                                                                    SAN JUAN          PR         00928
   232036 ISMAEL GARCIA CRUZ                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671702 ISMAEL GARCIA MARTINEZ                      HC 01 BOX 2602                                                                                                  COMERIO           PR         00782
   671703 ISMAEL GARCIA SANTIAGO                      HC 4 BOX 45403                                                                                                  CAGUAS            PR         00725‐9613
   232037 ISMAEL GARCIA VELEZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232038 ISMAEL GOMEZ CRUZ                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671706 ISMAEL GOMEZ MIRANDA                        URB ESTANCIAS DE ARECIBO   H 15 CALLE BUENAVENTURA                                                              ARECIBO           PR         00612
   671707 ISMAEL GOMEZ SANTANA                        HC 01 BOX 6520                                                                                                  LAS PIEDRAS       PR         00771
          ISMAEL GONZALEZ /ECOLOGIC
   232040 ALL                                         PMB 631                    HC 1 BOX 29030                                                                       CAGUAS            PR         00725
   232041 ISMAEL GONZALEZ ACEVEDO                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671570 ISMAEL GONZALEZ ARCE                        HC 01 BOX 7900                                                                                                  HATILLO           PR         00659‐9706
          ISMAEL GONZALEZ
   671710 CONSTRUCTION CORP                           PO BOX 364912                                                                                                   SAN JUAN          PR         00936‐4912

   671712 ISMAEL GONZALEZ CORCHADO                    SECTOR LOS ROBLES          2 CARR 474                                                                           ISABELA           PR         00662
   232042 ISMAEL GONZALEZ DELGADO                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232044 ISMAEL GONZALEZ DIAZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232045 ISMAEL GONZALEZ GONZALEZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671716 ISMAEL GONZALEZ GUZMAN                      PO BOX 1916                                                                                                     MANATI            PR         00674‐1916
   232046 ISMAEL GONZALEZ MADERA                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671717 ISMAEL GONZALEZ MENDOZA                     COCO BEACH                 630 CALLE VISTA MAR                                                                  RIO GRANDE        PR         00745
   232047 ISMAEL GONZALEZ RAMOS                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232048 ISMAEL GONZALEZ RIVERA                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   232049 ISMAEL GONZALEZ RODRIGUEZ                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232050 ISMAEL GONZALEZ SOTO                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671720 ISMAEL GUADALUPE RIVERA                     PO BOX 1349                                                                                                     TRUJILLO ALTO     PR         00977
   232051 ISMAEL GUTIERREZ MENDEZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232052 ISMAEL GUZMAN LOPEZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671721 ISMAEL GUZMAN LORENZO                       PO BOX 1415                                                                                                     AGUADA            PR         00602
   671722 ISMAEL GUZMAN RENTAS                        HC 01 BOX 4865                                                                                                  JUANA DIAZ        PR         00795
   232053 ISMAEL H HERRERO III                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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                                                      56 NORTE CALLE JOSE TORRES
   671724 ISMAEL HERNANDEZ MOJICA                     SOTO                                                                                                                  SAN LORENZO         PR           00754
   671725 ISMAEL HERNANDEZ RAMOS                      CARIBE GARDENS                A 2 CALLE VIOLETA                                                                       CAGUAS              PR           00725

   232056 ISMAEL HERNANDEZ SALGADO                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671726 ISMAEL HERNANDEZ SOLER                      PO BOX 17707                                                                                                          SAN SEBASTIAN       PR           00685
   232057 ISMAEL HIDALGO MARRERO                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671727 ISMAEL HILERIO                              EXT MARBELLA                  305 CALLE F                                                                             AGUADILLA           PR           00603
   671729 ISMAEL HUERTAS URRUTIA                      URB JARD DE BORINQUEN         Q 7 CALLE GARDENIA                                                                      CAROLINA            PR           00985
   671730 ISMAEL HUNCE VELAZQUEZ                      HC2 BOX 17931                                                                                                         RIO GRANDE          PR           00745
                                                      EXT CARMEN B 14 C/ DEMETRIO
   671731 ISMAEL IRIZARRY ALVARADO                    RODGZ                                                                                                                 SALINAS             PR           00751‐2202
   671733 ISMAEL IRIZARRY GARCIA                      URB MARIOLGA                  25 ZZ 26                                                                                CAGUAS              PR           00725
   232058 ISMAEL ISERN SUAREZ                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232059 ISMAEL J ORTIZ ROLDAN                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232060 ISMAEL J PEREZ TORRES                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671735 ISMAEL KUILAN PEREZ                         RES EL DORADO                 EDF 3 APT 21                                                                            DORADO              PR           00646

   671736 ISMAEL L ALFONSO REYES                      URB SOL Y MAR                 B 20 PASEO DEL MAR BOX 438                                                              ISABELA             PR           00662
   671737 ISMAEL L LOPEZ SANCHEZ                      PO BOX 337                                                                                                            HATILLO             PR           00659
   232063 ISMAEL LABOY ARES                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671738 ISMAEL LABRADOR                             URB PARVILLE                  N 13 CALLE WILSON                                                                       GUAYNABO            PR           00969
   232064 ISMAEL LAMB PORTALATIN                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671739 ISMAEL LEBRON RAMOS                         PO BOX 790                                                                                                            NAYBABI             PR           00707‐0790
   232066 ISMAEL LEGO VALENTIN                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232067 ISMAEL LICIAGA SANTIAGO                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          ISMAEL LICIAGA Y MARIA C
   671741 MIRANDA                                     48 CALLE HERMANDAD                                                                                                    CATANO              PR           00965
   671742 ISMAEL LIZARDI BORAS                        EL VERDE                      27 CALLE LUCERO                                                                         CAGUAS              PR           00725
   671743 ISMAEL LOPEZ ENRIQUEZ                       QUINTAS DE DORADO             G 6 CALLE 4                                                                             DORADO              PR           00646
   232069 ISMAEL LOPEZ FELICIANO                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232070 ISMAEL LOPEZ GONZALEZ                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232072 ISMAEL LOPEZ LATONI                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671747 ISMAEL LOPEZ TORRES                         HC 44 BOX 12949                                                                                                       CAYEY               PR           00786
   671748 ISMAEL LORENZO SOTO                         URB SANTA JUANITA             J 5 CALLE 26                                                                            BAYAMON             PR           00956‐4619
   671750 ISMAEL LUGO                                 HC 1 BOX 22113                                                                                                        CABO ROJO           PR           00623
   232074 ISMAEL LUGO CANCEL                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232075 ISMAEL LUGO GONZALEZ                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671751 ISMAEL LUGO RIVERA                          ALTURAS DE RIO GRANDE         783 CALLE 14 BLQ 0                                                                      RIO GRANDE          PR           00745
   232078 ISMAEL M ORTIZ CRUZ                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671753 ISMAEL M,ATEO NAPOLEONI                     URB CAMPO ALEGRE              F 15 CALLE PISCIS                                                                       PONCE               PR           00716
   232079 ISMAEL MAISONET GONZALEZ                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671754 ISMAEL MALDONADO                            BO. FRONTON                   PARCELAS SEQUI               HC MK BOX 80213                                            CIALES              PR           00638
   232080 ISMAEL MALDONADO CRUZ                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   232081 ISMAEL MALDONADO DE LEON                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671756 ISMAEL MARQUEZ ALGARIN                      URB JOSE P H HERNANDEZ        N 7 CALLE 1 CORA                                                                        RIO GRANDE          PR           00745
   232084 ISMAEL MARQUEZ CORREA                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671757 ISMAEL MARQUEZ COTTO                        517 BALBO TOWNHOUSE 113       VILLA CAROLINA                                                                          CAROLINA            PR           00985
   671758 ISMAEL MARRERO COLON                        P O BOX 1527                                                                                                          VILLALBA            PR           00766
   671759 ISMAEL MARRERO ELIAS                        P O BOX 689                                                                                                           BAYAMON             PR           00960
   671760 ISMAEL MARRERO PORRATA                      PO BOX 195234                                                                                                         SAN JUAN            PR           00919 5234
   671761 ISMAEL MARTINEZ                             HC 03 BOX 39536                                                                                                       AGUADILLA           PR           00603



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  232087 ISMAEL MARTINEZ CLASS                        REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  671762 ISMAEL MARTINEZ CRUZ                         COM ROBERTO CLEMENTE    SOLAR 547                                                                               HATILLO            PR         00694
  671763 ISMAEL MARTINEZ JIMENEZ                      P O BOX 1915                                                                                                    TRUJILLO ALTO      PR         00977‐1915

   671765 ISMAEL MARTINEZ RODRIGUEZ                   JARDINES DE VEGA BAJA   P31 CALLE V                                                                             VEGA BAJA          PR         00963

   671571 ISMAEL MARTINEZ RODRIGUEZ                   URB SANTIAGO IGLESIA    1452 CALLE MANUEL TEXIDOR                                                               SAN JUAN           PR         00921 4404
   671766 ISMAEL MARTINEZ SANTANA                     HC 1 BOX 8118                                                                                                   CABO ROJO          PR         00623‐9707
   671767 ISMAEL MARTINEZ VELEZ                       BO MAMEY I              PO BOX 250                                                                              GUAYNABO           PR         00970
   671769 ISMAEL MATOS BETANCOURT                     VILLA CAROLINA          25‐2 CALLE 33                                                                           CAROLINA           PR         00985
   671770 ISMAEL MATOS SANTOS                         APARTADO 345                                                                                                    LOIZA              PR         00772
   671771 ISMAEL MEDINA AGOSTINI                      HOSP RAMON E BETANCES   CENTRO MEDICO OB GYN                                                                    MAYAGUEZ           PR         00680
          ISMAEL MEDINA CUSTODIAN
   232089 CARLOS MEDINA                               REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671772 ISMAEL MEDINA DIAZ                          HC 83 BOX 6974                                                                                                  VEGA ALTA          PR         00692
   671773 ISMAEL MEDINA RAMIREZ                       URB VILLA ESPANA        M 50 CALLE PONTEVEDRA                                                                   BAYAMON            PR         00961
   232090 ISMAEL MEJIAS SOTO                          REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   232091 ISMAEL MELENDEZ CALDERON                    REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671774 ISMAEL MELENDEZ LOPEZ                       REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671776 ISMAEL MELENDEZ ROSA                        PO BOX 441                                                                                                      PALMER             PR         00721
   671777 ISMAEL MELENDEZ VILLEGAS                    BO TORUGO               KM 19 3 CAIMITO                                                                         SAN JUAN           PR         00926
   671778 ISMAEL MENDEZ RAMOS                         HC 01 BOX 5822                                                                                                  MOCA               PR         00676
          ISMAEL MERCADO / BRENDA L
   232093 MERCADO                                     REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671779 ISMAEL MERCADO CARRILLO                     HC 4 BOX 44261                                                                                                  LARES              PR         00669
   671780 ISMAEL MERCADO CORDERO                      P O BOX 499                                                                                                     CASTANER           PR         00631‐0000
   232094 ISMAEL MERCADO MATOS                        REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   232095 ISMAEL MERCADO NUNEZ                        REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671782 ISMAEL MERCADO OLIVERAS                     PO BOX 52217                                                                                                    TOA BAJA           PR         00950
   671783 ISMAEL MERCADO PEREZ                        PO BOX 979                                                                                                      HATILLO            PR         00659
   671784 ISMAEL MERCADO SERRANO                      BO CAMARONES CENTRO     CARR 20 RR 836 KM 1 HM 8                                                                GUAYNABO           PR         00970‐1665
          ISMAEL MIGUEL MARRERO
   671785 GONZALEZ                                    JARDINES 2              B 33 CALLE ORQUEDIA                                                                     CAYEY              PR         00736
   671786 ISMAEL MILLAN COLON                         PO BOX 585                                                                                                      BAJADERO           PR         00616
   671787 ISMAEL MILLAN GOMEZ                         ESPINAR                 BUZON 1162                                                                              AGUADA             PR         00602
   232096 ISMAEL MIRANDA                              REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   232098 ISMAEL MIRANDA SANABRIA                     REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   232099 ISMAEL MOJICA GONZALEZ                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   232100 ISMAEL MOJICA HERNANDEZ                     REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   232102 ISMAEL MOLINA GUZMAN                        REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671791 ISMAEL MONTANEZ DIAZ                        URB DORAVILLE           SEC 3 BLOQUE 4 LOTE 1                                                                   DORADO             PR         00646
   671792 ISMAEL MORALES FONTANEZ                     REPARTO DE DIEGO        1629 AVE PONCE DE LEON                                                                  SAN JUAN           PR         00928
   671794 ISMAEL MORALES MARRERO                      HC 09 BOX 1727                                                                                                  PONCE              PR         00731‐9755
                                                                              CARR 165 KM 12 H 3 CALLE 5
   671795 ISMAEL MORALES MEDINA                       RIO LAJAS               PARC 80                                                                                 DORADO             PR         00646
   671796 ISMAEL MORALES TORRES                       BO VOLADORAS            HC 1 BOX 5742                                                                           MOCA               PR         00676
   232103 ISMAEL MUNOZ RODRIGUEZ                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   232104 ISMAEL MUNOZ ROSADO                         REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   232105 ISMAEL N COLON FERNANDEZ                    REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   232106 ISMAEL N. COLON FERNANDEZ                   REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671798 ISMAEL NEGRON GONZALEZ                      HC‐02 BOX 6774                                                                                                  FLORIDA            PR         00650



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  671799 ISMAEL NEGRON ORTIZ                          P O BOX 362                                                                                                     YAUCO             PR         00698
  232107 ISMAEL NICOT BARDEGUEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232108 ISMAEL NIEVES RIVERA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671801 ISMAEL NIEVES SANCHEZ                        PO BOX 868                                                                                                      AGUADA            PR         00602
  232109 ISMAEL NUNEZ CABAN                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232111 ISMAEL NUNEZ RIOS                            REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671802 ISMAEL NUNEZ TORRES                          BO SAN ISIDRO               PARCELAS 239                                                                        CANOVANAS         PR         00729
  232112 ISMAEL NUNEZ VELEZ                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671572 ISMAEL OCASIO ACEVEDO                        HC‐01 BOX 5952                                                                                                  CIALES            PR         00638
  232113 ISMAEL OCASIO FLORES                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232114 ISMAEL OJEDA DIAZ                            REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671805 ISMAEL ORTEGA HERNANDEZ                      BO LOMAS VALLES             HC 71 BOX 2769                                                                      NARANJITO         PR         00719
  232115 ISMAEL ORTEGA VAZQUEZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232116 ISMAEL ORTEGA VILLANUEVA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      COND CENTURY GARDENS APTO
   671804 ISMAEL ORTEGA Y                             A24                                                                                                             TOA BAJA          PR         00949
   232117 ISMAEL ORTIZ                                REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671806 ISMAEL ORTIZ BONILLA                        P O BOX 370866                                                                                                  CAYEY             PR         00737
   671807 ISMAEL ORTIZ CASTILLO                       URB VILLA CAROLINA          115‐33 CALLE 76                                                                     CAROLINA          PR         00985
   671808 ISMAEL ORTIZ COLON                          PO BOX 182                                                                                                      COTTO LAUREL      PR         00780
   232118 ISMAEL ORTIZ CORDERO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671809 ISMAEL ORTIZ DIAZ                           HC 43 BOX 11860                                                                                                 CAYEY             PR         00736‐9228
   671811 ISMAEL ORTIZ MARTINEZ                       HC 03 17276                                                                                                     COROZAL           PR         00783
          ISMAEL ORTIZ ORTIZ Y RISOL
   232120 PAGAN OTERO                                 REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232121 ISMAEL ORTIZ PADRO                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232122 ISMAEL ORTIZ RAMOS                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671814 ISMAEL ORTIZ RIVERA                         URB NUEVA 32                                                                                                    BARCELONETA       PR         00617
   232123 ISMAEL ORTIZ ROSARIO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671815 ISMAEL OSORIO COTTO                         APARTADO 8941                                                                                                   CAGUAS            PR         00726
   671816 ISMAEL OTERO NIEVES                         PO BOX 3756                 BAYAMON GARDENS BRANCH                                                              BAYAMON           PR         00958
   232124 ISMAEL OTERO RODRIGUEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232126 ISMAEL OTERO SANTANA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232127 Ismael Oyola Cruz                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232128 ISMAEL PAGAN MORALES                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671817 ISMAEL PAGAN PAGAN                          HC 01 BOX 6899                                                                                                  GUAYANILLA        PR         00656
   671818 ISMAEL PAGAN RIVERA                         PO BOX 371744                                                                                                   CAYEY             PR         00736
   671819 ISMAEL PEREZ                                PO BOX 4956                                                                                                     CAGUAS            PR         00725
   671820 ISMAEL PEREZ CARDONA                        APARTADO 444                                                                                                    VILLALBA          PR         00766
   232129 ISMAEL PEREZ CUBA                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232130 ISMAEL PEREZ DEL VALLE                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671574 ISMAEL PEREZ FERRER                         URB LAS VEGAS C 7                                                                                               FLORIDA           PR         00650
   671575 ISMAEL PEREZ FLORES                         HC 01 BOX 9208                                                                                                  AGUAS BUENAS      PR         00703
   232131 ISMAEL PEREZ LOPEZ                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671822 ISMAEL PEREZ MENDEZ                         BOX 850                                                                                                         MOCA              PR         00676
   232132 ISMAEL PEREZ NIEVES                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232133 ISMAEL PEREZ RIVERA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232134 ISMAEL PEREZ RODRIGUEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671824 ISMAEL PEREZ ROMERO                         PO BOX 680                                                                                                      SAN GERMAN        PR         00683
          ISMAEL PEREZ VAZQUEZ Y
   232135 NELSON SOTO                                 REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671827 ISMAEL PEREZ VEGA                           PO BOX 80000 SUITE 223                                                                                          ISABELA           PR         00662
   671828 ISMAEL PITRE TORRES                         HC 02 BOX 18993                                                                                                 SAN SEBASTIAN     PR         00685



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  671829 ISMAEL PIZARRO CRUZ                          P O BOX 60‐075                                                                                          BAYAMON            PR         00960
  232136 ISMAEL PLACA PAGAN                           REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232137 ISMAEL PONCE PORFIL                          REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232138 ISMAEL QUILES                                REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232139 ISMAEL QUINONES RUIZ                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232140 ISMAEL QUINONEZ                              REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  671576 ISMAEL R RAMOS FLORES                        URB SANTA MARTA       G 17                                                                              SAN GERMAN         PR         00683
  232142 ISMAEL R RIVERA FERRER                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  671832 ISMAEL RALAT SANTIAGO                        PO BOX 112                                                                                              VEGA BAJA          PR         00694‐0112
  671834 ISMAEL RAMIREZ NEGRON                        PO BOX 8684                                                                                             BAYAMON            PR         00960
  671835 ISMAEL RAMIREZ RODRIGUEZ                     P O BOX 629                                                                                             RIO GRANDE         PR         00745‐0629
  232143 ISMAEL RAMOS AVILA                           REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  671836 ISMAEL RAMOS DE JESUS                        URB TREASURE VALLEY   M 14 CALLE 5                                                                      CIDRA              PR         00739
  671837 ISMAEL RAMOS LOPEZ                           URB CAPARRA TERRACE   1424 CALLE 16 SO                                                                  SAN JUAN           PR         00921
  671839 ISMAEL RAMOS RUIZ                            HC 02 BOX 17736                                                                                         SAN SEBASTIAN      PR         00685
  232145 ISMAEL RAMOS SANTANA                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   671840 ISMAEL RAMOS VELEZ          13 URB BACO CALLE PRINCIPAL                                                                                             ENSENADA           PR         00647
   671841 ISMAEL RENTAL EQUIPMENT     PO BOX 267                                                                                                              JAYUYA             PR         00664
   671842 ISMAEL REYES DELGADO        BO CEIBA                              BOX 7753 KM .6                                                                    CIDRA              PR         00739
   232146 ISMAEL REYES JORGE          REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   232147 ISMAEL REYES MARTINEZ       REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671843 ISMAEL REYES RIVERA         RES BAIROA                            AH 10 CALLE 33                                                                    CAGUAS             PR         00725
   671844 ISMAEL REYES VELAZQUEZ      URB GONZALEZ CALLENTRA                121‐A SRA DE LA PAZ                                                               AGUIRRE            PR         00704
   671846 ISMAEL RIOS ALICEA          HC 2 BOX 28410                                                                                                          HATILLO            PR         00659
   232148 ISMAEL RIOS GONZALEZ        REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   232149 ISMAEL RIOS MENDEZ          REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   232150 ISMAEL RIVAS MERCADO        REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671577 ISMAEL RIVERA ARROYO        PO BOX 194                                                                                                              LUGUILLO           PR         00773‐0194
   232151 ISMAEL RIVERA AVILES        REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671848 ISMAEL RIVERA CARRION       PO BOX 7126                                                                                                             PONCE              PR         00732
   232152 ISMAEL RIVERA INDART        REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671853 ISMAEL RIVERA MIRANDA       PO BOX 12365                                                                                                            SAN JUAN           PR         00926‐1365
   232153 ISMAEL RIVERA MUNOZ         REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671855 ISMAEL RIVERA ORTIZ         HC‐02 BOX 11282                                                                                                         COROZAL            PR         00783
   232154 ISMAEL RIVERA PEREZ         REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          ISMAEL RIVERA QUILES/MAXIMO
   232156 SOLAR IND                   ALTURAS DE MAYAGUEZ                   430 CALLE ALMIRANTE                                                               MAYAGUEZ           PR         00682‐6219
   232157 ISMAEL RIVERA RIVERA        REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   232158 ISMAEL RIVERA RODRIGUEZ     REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671859 ISMAEL RIVERA SANTANA       ADM SERV GEN                          PO BOX 7428                                                                       SAN JUAN           PR         00916‐7428
   671861 ISMAEL RIVERA TORRES        HC 02 BOX 5362                                                                                                          MOROVIS            PR         00687
   671863 ISMAEL RIVERA VEGA          PO BOX 7126                                                                                                             PONCE              PR         00732
          ISMAEL RIVERA/ AMELIA
   232161 DEDERICK                    REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          ISMAEL RIVERA/ CEIDYBELLE
   232162 HITA                        REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671864 ISMAEL ROBLEDO DE LEON      PO BOX 7126                                                                                                             PONCE              PR         00732
   232163 ISMAEL ROBLES PEREZ         REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   232164 ISMAEL RODRIGUEZ            REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   232165 ISMAEL RODRIGUEZ ACEVEDO                    REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   671870 ISMAEL RODRIGUEZ BURGOS                     P O BOX 1107                                                                                            GUAYAMA            PR         00785



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  232167 ISMAEL RODRIGUEZ CASTILLO                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  232168 ISMAEL RODRIGUEZ CINTRON                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  232169 ISMAEL RODRIGUEZ DE JESUS                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                   732 CALLE VIZCAYA EXT FOREST
   671872 ISMAEL RODRIGUEZ FELICIANO                  EX FOREST HILLS              HLS                                                                                       BAYAMON             PR         00959
   671873 ISMAEL RODRIGUEZ GALARZA                    HC‐01 BOX 6538                                                                                                         SALINAS             PR         00751
   671874 ISMAEL RODRIGUEZ GARCIA                     HC 01 BOX 3035                                                                                                         MAUNABO             PR         00707
   671876 ISMAEL RODRIGUEZ GUZMAN                     VILLA BLANCA                 27 CALLE ORQUIDEA                                                                         TRUJILLO ALTO       PR         00977

   671877 ISMAEL RODRIGUEZ HERNANDEZ P O BOX 92                                    SABANA SECA                                                                               TOA BAJA            PR         00952‐0092

   671880 ISMAEL RODRIGUEZ IZQUIERDO                  URB EL CEREZAL               1636 CALLE GUADIANA                                                                       SAN JUAN            PR         00926
   671881 ISMAEL RODRIGUEZ LATIMER                    BUENA VISTA                  57 CALLE MAGDOLIA                                                                         CAROLINA            PR         00985
   671883 ISMAEL RODRIGUEZ LOPEZ                      URB GUANAJIBO HOME           S E 4 CALLE G PALES MATOS                                                                 MAYAGUEZ            PR         00680

   232170 ISMAEL RODRIGUEZ MARQUEZ                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   232171 ISMAEL RODRIGUEZ MARTINEZ                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   671887 ISMAEL RODRIGUEZ MELENDEZ URB PARQUE ECUESTRE                            226 CALLE ICARO                                                                           CAROLINA            PR         00987
          ISMAEL RODRIGUEZ MERCADO Y
   232172 NELSON SOTO                REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   671888 ISMAEL RODRIGUEZ MORALES                    P O BOX 306                  114 CALLE GEORGETTI                                                                       NARANJITO           PR         00719

   671889 ISMAEL RODRIGUEZ PACHECO                    EXT LA MILAGROSA             E CALLE 1                                                                                 BAYAMON             PR         00959
   671890 ISMAEL RODRIGUEZ PEREZ                      LAS ACASIAS                  EDIF B APT 801                                                                            SAN JUAN            PR         00901

   671892 ISMAEL RODRIGUEZ RODRIGUEZ SECTOR LA PRA 114 RAMAL 4                                                                                                               TRUJILLO ALTO       PR         00976

   232174 ISMAEL RODRIGUEZ SANTIAGO                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671894 ISMAEL RODRIGUEZ SOTO                       BOX 2256                                                                                                               MOCA                PR         00676
          ISMAEL RODRIGUEZ Y SANDRA I
   671868 LOPEZ                                       PO BOX 1300                                                                                                            TOA BAJA            PR         00951
          ISMAEL RODRIGUEZ/ SARA
   232175 RODRIGUEZ                                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232176 ISMAEL ROMAN CAMPOS                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232177 ISMAEL ROMAN CARRERO                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671896 ISMAEL ROMAN JIMENEZ                        PO BOX 50492                                                                                                           TOA ALTA            PR         00950
   232178 ISMAEL ROMAN RODRIGUEZ                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232179 ISMAEL ROSA VALENTIN                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232180 ISMAEL ROSADO CRUZ                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232181 ISMAEL ROSADO FIGUEROA                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   671898 ISMAEL ROSADO PEREZ                         RESIDENCIAL MARTINEZ NADAL   EDIFICIO 1 APARTAMENTO 92                                                                 GUAYNABO            PR         00965
   232182 Ismael Rosado Rosario                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671899 ISMAEL ROSADO VEGA                          PO BOX 780                                                                                                             HATILLO             PR         00659
   671900 ISMAEL ROSARIO                              HC 1 BOX 4673                                                                                                          NAGUABO             PR         00718
   232183 ISMAEL ROSARIO DIAZ                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232184 ISMAEL ROSARIO LOPEZ                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671903 ISMAEL RUIZ CRUZ                            PO BOX 29073                                                                                                           SAN JUAN            PR         00929
   671904 ISMAEL RUIZ GONZALEZ                        PO BOX 655                                                                                                             ANASCO              PR         00610
   671905 ISMAEL RUIZ OCASIO                          PO BOX 875                                                                                                             VILLALBA            PR         00766



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  232185 ISMAEL RUIZ RIVERA            REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671906 ISMAEL S LLAMBELIS            1404 NOBLE ABE 1 E                                                                                                 BRONX             NY         10472
  671578 ISMAEL SALAS MU¥IZ            402 GARFILD COURT                                                                                                  LONG BRANCH       NJ         007740
  671907 ISMAEL SALGADO CORREA         PO BOX 501                                                                                                         RIO GRANDE        PR         00745
         ISMAEL SALGADO ORTIZ Y/O
  232187 YOLANDA ORTIZ                 REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         ISMAEL SANABRIA CRUZ / SIDNEY
  671908 SANABRIA                      ESTANCIAS DE BAIROA            D 8 MIRAMELINDA                                                                     CAGUAS            PR         00727
  671909 ISMAEL SANCHEZ                RR G BOX 9372                                                                                                      SAN JUAN          PR         00926
  232188 ISMAEL SANCHEZ FIGUEROA       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671911 ISMAEL SANCHEZ MIRANDA        PO BOX 366875                                                                                                      SAN JUAN          PR         00936‐6875
         ISMAEL SANCHEZ RIVERA / NORA
  671912 M SANCHEZ                     URB LA ALTAGRACIA              P 9 CALLE GOLONDRINA                                                                TOA BAJA          PR         00949‐2452
  232189 ISMAEL SANDOVAL ADORNO        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232190 ISMAEL SANTANA SANCHEZ        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   671915 ISMAEL SANTIAGO / ELBA ROCHE PO BOX 349                                                                                                         SANTA ISABEL      PR         00757‐0349
   671916 ISMAEL SANTIAGO JIMENEZ      URB METROPOLIS 3               2183 CALLE 37                                                                       CAROLINA          PR         00987
   671917 ISMAEL SANTIAGO OCASIO       EMBALSE SAN JOSE               445 CASTUERA                                                                        SAN JUAN          PR         00923
   232192 ISMAEL SANTIAGO RIVERA       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232193 ISMAEL SANTIAGO SANTIAGO     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671919 ISMAEL SANTIAGO TORRES       HC 3 BOX 15207                                                                                                     COROZAL           PR         00783‐9811
          ISMAEL SANTIAGO Y MARGARITA
   232194 SANTIAGO                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671922 ISMAEL SANTOS SILVA          PO BOX 1494                                                                                                        CEIBA             PR         00735
   232195 ISMAEL SANTUCHI              REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232196 ISMAEL SEGARRA RODRIGUEZ     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671924 ISMAEL SEPUVEDA MORALES      VALLE TOLIMAR D‐18 CALLE 5                                                                                         CAGUAS            PR         00725
          ISMAEL SERRANO / ASOC COLEC
   232198 DE LA MUSICA                 443 RES LA MUNECA                                                                                                  AGUADILLA         PR         00603
   671926 ISMAEL SERRANO PEREZ         HC 6 BOX 13084                                                                                                     SAN SEBASTIAN     PR         00685
   232199 ISMAEL SERRANO REYES         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232200 ISMAEL SERRANO RIVERA        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232201 ISMAEL SERRANO RODRIGUEZ     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232202 ISMAEL SILVA CRUZ            REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232203 ISMAEL SILVA RIVERA          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232204 ISMAEL SOISA ALEMAN          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671928 ISMAEL SOSTRE RESTO          RR 2 BOX 56835                                                                                                     TOA ALTA          PR         00953
   232205 ISMAEL SOTO                  REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671929 ISMAEL SOTO ADORNO           HC 6 BOX 14415                                                                                                     HATILLO           PR         00659‐9567
   671930 ISMAEL SOTO AROCHO           HC 02 BOX 7303                                                                                                     AGUADILLA         PR         00603
   232206 ISMAEL SOTO CORDERO          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232207 ISMAEL SOTO DE JESUS         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232210 ISMAEL SOTO RIVERA           REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232213 ISMAEL SOTO Y LIDIA E CRUZ   REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671936 ISMAEL SUAREZ HERRERO        URB LOS ROSALES                05 CALLE 7                                                                          HUMACAO           PR         00791
   671937 ISMAEL TAPIA RALDIRIS        PO BOX 13002                                                                                                       SAN JUAN          PR         00908‐3002
   232214 ISMAEL TORO GRAJALES         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671940 ISMAEL TORRES                PASEO LAS OLAS                 312 CALLE DELFIN                                                                    DORADO            PR         00646
   232215 ISMAEL TORRES ALICEA         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671942 ISMAEL TORRES APONTE         COND RIO VISTA                 APT 1‐221                                                                           CAROLINA          PR         00983
   671943 ISMAEL TORRES CARRASCO       HC‐01 BOX 4500                                                                                                     SABANA HOYOS                 00688
   671945 ISMAEL TORRES FIGUEROA       HC 01 BOX 6378                                                                                                     CIALES            PR         00638



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MML ID               NAME                                       ADDRESS 1                       ADDRESS 2                     ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  232222 ISMAEL TORRES PIZARRO                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232223 ISMAEL TORRES REY                            REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232224 ISMAEL TORRES RIVERA                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232225 ISMAEL TORRES TORRES                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671947 ISMAEL TRINIDAD                              P O BOX 111177                                                                                                          SAN JUAN          PR         00928
  671948 ISMAEL URBINA SANTOS                         HC 02 BOX 13620                                                                                                         AGUAS BUENAS      PR         00703
         ISMAEL VALDERRAMA / DANIEL
  232228 VALDERRAMA                                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671949 ISMAEL VALDERRAMA COREZ                      BO BUEN CONSEJO                176 CALLE LEON                                                                           SAN JUAN          PR         00926
  232229 ISMAEL VALENTIN RIVERA                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232230 ISMAEL VALENTIN VELEZ                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232231 ISMAEL VALLE OTERO                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671950 ISMAEL VALS DIAZ                             URB LOS ANGELES                3 CALLE A                                                                                YABUCOA           PR         00767
         ISMAEL VARGAS / VARGAS AIR
  671952 CONDITIONING                                 P O BOX 6017 PMB 219                                                                                                    CAROLINA          PR         00984
  232232 ISMAEL VARGAS CANIZARES                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671953 ISMAEL VARGAS GONZALEZ                       HC 03 9804                     BO PUEBLO                                                                                LARES             PR         00669
  671954 ISMAEL VAZQUEZ DOMINICCI                     HC 9 BOX 1422                                                                                                           PONCE             PR         00731‐9711
         ISMAEL VAZQUEZ OLMEDA Y
  232233 TOMASITA VAZQUEZ                             REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232234 ISMAEL VAZQUEZ RODRIGUEZ                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671955 ISMAEL VAZQUEZ SANTIAGO                      BARRIO CERTENEJAS II           RR 02 BOX 7004                                                                           CIDRA             PR         00739
  232236 ISMAEL VAZQUEZ SOSTRE                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         ISMAEL VAZQUEZ Y/O DAMARIS
  232237 VAZQUEZ                                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  671957 ISMAEL VEGA BELTRAN                          P.O. BOX 1669                                                                                                           YABUCOA           PR         00767
  671958 ISMAEL VEGA LUGO                             BOX 1441                                                                                                                JUNA DIAZ         PR         00795
  671959 ISMAEL VEGA MARTINEZ                         HC 01 BOX 3453                                                                                                          LAS MARIAS        PR         00670
  232238 Ismael Vega Martínez                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232239 ISMAEL VEGA MATOS                            REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   232240 ISMAEL VELAZQUEZ CARDONA                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671960 ISMAEL VELAZQUEZ OLIVERAS                   P O BOX 960                                                                                                             SANTA ISABEL      PR         00757
   232241 ISMAEL VELAZQUEZ PEREZ                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232242 ISMAEL VELEZ CORREA                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232243 ISMAEL VELEZ PEREZ                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232244 ISMAEL VELEZ RUIZ                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671964 ISMAEL VILAR PORRATA                        PO BOX 128                                                                                                              UTUADO            PR         00641
   232245 ISMAEL VILLAFANE SANCHEZ                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   671965 ISMAEL VILLANUEVA MORALES                   HC 01 BOX 10902                                                                                                         AGUADILLA         PR         00603
   671966 ISMAEL VILLEGAS BAEZ                        FMB HC 1 BOX 29030             APARTADO 531                                                                             CAGUAS            PR         00725

   671967 ISMAEL ZARAGOZA                             EDIF. CENTRO 1 LOCAL 13        #500 AVE. MUNOZ RIVERA        JUNTA APELACIONES SIST. EDUC.                              SAN JUAN          PR         00918
                                                      JADNS DEL CARIBE PP 13 CALLE
   671968 ISMAEL ZAYAS PEREZ                          49                                                                                                                      PONCE             PR         00728‐2631
                                                                                     URB. PARQUE DEL RÍO 144 VIA
  1420089 ISMAEL, MOHAMMED MUSA                       LUIS DAVID MOLINA              DEL PARQUE                                                                               TRUJILLO ALTO     PR         00976
   232246 ISMAELA INSTITUCION                         PO BOX 793                                                                                                              VILLALBA          PR         00766
   232247 ISMAIVA RODRIGUEZ MATEO                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232248 ISMALEE GOTAY MOYA                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232249 ISMANUEL AGOSTO ROSARIO                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671970 ISMARA MATHUE BERRIOS                       PO BOX 1554                                                                                                             CIDRA             PR         00739



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  232251 ISMARIE MORALES DELGADO                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  232256 ISMARIE RALDIRIS GONZALEZ                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   232257 ISMARIE RODRIGUEZ FIGUEROA                  REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232258 ISMARIE SOSA CARDONA                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232259 ISMARO MEJIAS BAEZ                          REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232260 ISMARY MUNIZ MARRERO                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232261 ISMARY MUNOZ RODRIGUEZ                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232262 ISMARY SANTIAGO LUGO                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671973 ISMAYRA CHAPARRO RIOS                       HC 3 BOX 33193                                                                                                 AGUADA              PR         00602
   232263 ISMENIA CAMPO MUNOZ                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671974 ISMENIA ESTRADA FIGUEROA                    109 A CALLE E            VAZQUEZ BAEZ                                                                          MAYAGUEZ            PR         00680

   232264 ISMENIA I CARRERO CARRERO                   REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671976 ISMENIA MELENDEZ CRUZ                       HC 02 BOX 6516                                                                                                 FLORIDA             PR         00650‐9105
   671977 ISMENIA RIVERA MARRERO                      PO BOX 1032                                                                                                    VILLALBA            PR         00766

   671978 ISMENIA VAZQUEZ IZQUIERDO                   REPTO METROPOLITANO      SE861 CALLE 49                                                                        SAN JUAN            PR         00921
   232265 ISMENIA Y ACOSTA TOLEDO                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232266 ISMENIO RUIZ CEDENO                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ISMERI ROSA PEREZ Y NELSON D
   232267 SOTO CARDON                                 REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232268 ISMORIE RALDIRIS GONZALEZ                   REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232269 ISNAELY RIVERA OFARRILL                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232270 ISNAELY RIVERA O'FARRILL                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232271 ISNALDO BELTRAN JAIMES                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671979 ISNERY FIGUEROA PAGAN                       HC 2 BOX 16216                                                                                                 RIO GRANDE          PR         00745
   232272 ISNOEL RODRIGUEZ BAEZ                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      1 RUE DE VAREMBE CASE
   232273 ISO CENTRAL SECRETARIAT                     POSTALE 56 CH 1211                                                                                             GENEVE                                      SWITZERLAND
   671980 ISODORO BATIZ                               HC7 BOX 2712                                                                                                   PONCE               PR         00731
   232276 ISOEL J SANTIAGO GALLARDO                   REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671981 ISOLDE L ROSARIO GOLDNER                    33 URB VILLA JAUCA                                                                                             SANTA ISABEL        PR         00757
   671983 ISOLINA CORREA ACEVEDO                      HC 01 BOX 4884                                                                                                 SABANA HOYOS        PR         00688
   232277 ISOLINA CRUZ QUINTERO                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   232278 ISOLINA GILIBERTYS ARIZMENDI                REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ISOLINA LABOY ARROYO
   671985 /YOCELLYN LATALLADI                         URB STA ELENA            F 26 CALLE 9                                                                          BAYAMON             PR         00957
   232279 ISOLINA NAZARIO SANTIAGO                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671987 ISOLINA RODRIGUEZ ORTIZ                     EXT EL COQUI             BZN A 10                                                                              AGUIRRE             PR         00704
   671988 ISOLINA ROSA MIRANDA                        P O BOX 286                                                                                                    SANTA ISABEL        PR         00757
   671989 ISOLINA SALVAT FUENTES                      1352 SANTANA                                                                                                   ARECIBO             PR         00612
   671990 ISOLINA SERRANO                             RES MANUEL ZENO GANDIA   EDF B 1 APT 38                                                                        ARECIBO             PR         00612
                                                      HP ‐ SUPERVISION DE
   671991 ISOLINA SOTO GARCIA                         ENFERMERIA                                                                                                     RIO PIEDRAS         PR         009360000
   232280 ISOMAR MOLINA QUINONES                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   671993 ISORA CARDONA MORALES                       PO BOX 369                                                                                                     ISABELA             PR         00662
   671994 ISPAMER INC                                 PO BOX 1527                                                                                                    VEGA BAJA           PR         00694

   672003 ISRAEL A CRUZ COLON                         BUEN CONSEJO             193 CALLE CARRION MADURO                                                              SAN JUAN            PR         00926

   232287 ISRAEL A HERNANDEZ GUTIERREZ REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  232288 ISRAEL A LIMA LOPEZ                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  672004 ISRAEL A MATOS VAZQUEZ                       AVE ROBERTO CLEMENTE           5 CALLE 2 APTO2                                                                        CAROLINA            PR         00987

   672005 ISRAEL A MORALES HERNANDEZ URB RIVERA DONATO                               F 5 CALLE KENNEDY                                                                      HUMACAO             PR         00791‐3201

   672006 ISRAEL A PEREZ TORRES                       URB MIRAFLORES 31‐5 CALLE 35                                                                                          BAYAMON             PR         00956
   232289 ISRAEL A RAMOS AMADEO                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672007 ISRAEL A RODRIGUEZ SOTO                     PO BOX 981                                                                                                            JAYUYA              PR         00664
   672008 ISRAEL A SANCHEZ COLL                       COND SKY TOWER 3               APTO 3 L                                                                               SAN JUAN            PR         00926
   672009 ISRAEL A SANTOS RIVAS                       URB LOS ROSALES                E 13 CALLE 1                                                                           HUMACAO             PR         00791
   232290 ISRAEL A VALENTIN ARROYO                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232291 ISRAEL A VALLE VALLE                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672010 ISRAEL A. MARTINEZ RAMOS                    REPTO TERESITA                 A Z 8 CALLE 39                                                                         BAYAMON             PR         00961
          ISRAEL ACEVEDO /DBA/
   232292 FERRETERIA ACEVEDO                          AREA DEL TESORO                DIV DE RECLAMACIONES                                                                   SAN JUAN            PR         00902‐4140
   232293 ISRAEL ACEVEDO BARRETO                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ISRAEL ACEVEDO DBA
   232294 FERRETERIA ACEVEDO                          HC 02 BOX 12321                                                                                                       MOCA                PR         00676‐0000
   672012 ISRAEL ACEVEDO ESTRADA                      RR 02 BOX 6671                                                                                                        TOA ALTA            PR         00953
          ISRAEL ACEVEDO FELICIANO Y
   232295 NELSON D SOTO                               REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672013 ISRAEL ACEVEDO GONZALEZ                     SECTOR TOCONES                 ARENALIS ALTOS BZN 8                                                                   ISABELA             PR         00662
   232296 ISRAEL ACEVEDO LUGO                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232297 ISRAEL ACEVEDO SERRANO                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232298 ISRAEL ACOSTA HERNANDEZ                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672014 ISRAEL ACOSTA SEGARRA                       P O BOX 144200                                                                                                        ARECIBO             PR         00614‐4200
   232299 ISRAEL ACOSTA VARGAS                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672015 ISRAEL ADORNO SERRANO                       HC 01 BOX 3104                                                                                                        HATILLO             PR         00659
   232300 ISRAEL AGOSTO MELENDEZ                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232301 ISRAEL ALARS LARA                           REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672016 ISRAEL ALICEA SANTELL                       HC 1 BOX 3103                                                                                                         ARROYO              PR         00714‐9743
   232303 ISRAEL ALVARADO TORRES                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672017 ISRAEL ALVAREZ ACEVEDO                      HC 01 BOX 13183                                                                                                       AGUADILLA           PR         00603
   232305 ISRAEL ALVAREZ LOPEZ                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232307 ISRAEL ALVELO LOPEZ                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672019 ISRAEL APONTE RODRIGUEZ                     BO GUASIMAS CARR 3 # 35‐D                                                                                             ARROYO              PR         00714
   672020 ISRAEL AQUINO                               PO BOX 2163                                                                                                           MOCA                PR         00676
   672021 ISRAEL AQUINO RIVERA                        HC 02 BOX 9505                                                                                                        LAS MARIAS          PR         00670
   672023 ISRAEL ARRIAGA PEREZ                        CERROMONTE                     E 2 CALLE 3                                                                            COROZAL             PR         00783
   232308 ISRAEL ARROYO NIEVES                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672024 ISRAEL ASTACIO ALVAREZ                      HC 03 BOX 5598                                                                                                        HUMACAO             PR         00791
   232309 ISRAEL AUTO ELECTRIC                        HC 11 BOX 11949                                                                                                       HUMACAO             PR         00791
   232310 ISRAEL AUTO ELECTRIC CORP                   AREA DEL TESORO                DIVISION DE RECLAMACIONES                                                              SAN JUAN            PR         00902‐4140
   232313 ISRAEL AUTO ELECTRIC CORP.                  HC‐11 BOX 11949                                                                                                       Humacao             PR         00791
   232315 ISRAEL AUTO ELECTRIC, CORP                  HC‐11 BOX 11949                BO. BUENA VISTA                                                                        HUMACAO             PR         00791‐0000
   672025 ISRAEL AUTO SALES                           HC 02 BOX 12093                                                                                                       MOCA                PR         00676
   232317 ISRAEL AVILES APONTE                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232318 ISRAEL AVILES RAMOS                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672026 ISRAEL AYALA MATOS                          PO BOX 21365                                                                                                          SAN JUAN            PR         00928
   672028 ISRAEL AYALA SANTIAGO                       175 AVE CRUZ ORTIZ STELLA                                                                                             HUMACAO             PR         00791
   232319 ISRAEL BAEZ ESCRIBANO                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672029 ISRAEL BARREIRO FONTANEZ                    HC 01 BOX 16017                                                                                                       HUMACAO             PR         00791
   672030 ISRAEL BARRETO SOTO                         R 2 BOX 6002                                                                                                          CIDRA               PR         00739



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  232320 ISRAEL BAYONA RUIZ                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  672031 ISRAEL BENITEZ NARANJO                       URB MONTE CLARO              MQ 43 PASEO DEL PARQUE                                                              BAYAMON             PR         00961‐3579
  672032 ISRAEL BERMUDEZ CRUZ                         HC 03 BOX 14243                                                                                                  UTUADO              PR         00641
  672033 ISRAEL BERMUDEZ GONZALEZ                     PO BOX 9683                                                                                                      SAN JUAN            PR         00908
  232322 ISRAEL BERRIOS MOINA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  232323 ISRAEL BERRIOS MOLINA                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  672034 ISRAEL BERRIOS ORTEGA                        PO BOX 21365                                                                                                     SAN JUAN            PR         00928‐1365
  672035 ISRAEL BERRIOS PEREZ                         RR 2 BOX 5054                                                                                                    CIDRA               PR         00739
  232325 ISRAEL BERRIOS TORRES                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   672036 ISRAEL BERRIOS VALDERRAMA                   ESTANCIAS DE MEMBRILLO       BZN 503 G 7 CALLE 3                                                                 CAMUY               PR         00627
   672037 ISRAEL BONILLA DIAZ                         PO BOX 7902                                                                                                      SANTA ISABEL        PR         00757
   672038 ISRAEL BONILLA ESCALANTE                    P O BOX 21365                                                                                                    SAN JUAN            PR         00928
   672039 ISRAEL BORGES RIVERA                        P O BOX 1324                                                                                                     SABANA SECA         PR         00952
   232330 ISRAEL BORGES ZAMBRANA                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          ISRAEL BOXING CLUB INC A/C
   672040 JOSE RIVERA                                 URB VILLA PRADES             608 CALLE JULIO ANDINO                                                              SAN JUAN            PR         00924
   672044 ISRAEL BURGOS SOTOMAYOR                     URB SANTA MARIA              C 25 CALLE 3                                                                        TOA BAJA            PR         00949
          ISRAEL C CARRION Y LISSETTE
   232332 SANTAEUGENIA                                REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232334 ISRAEL CAMACHO ALICEA                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232335 ISRAEL CANCEL RUIZ                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      BO. CELADA PARCELAS NUEVAS
   672047 ISRAEL CANDELARIO PEREZ                     539 C/34                                                                                                         GURABO              PR         00778
          ISRAEL CARABALLO
   672048 MALDONADO                                   RR 7 BOX 7007                                                                                                    SAN JUAN            PR         00926
   671995 ISRAEL CARABALLO ROSADO                     HC 05 BOX 60490                                                                                                  MAYAGUEZ            PR         00680
   232336 ISRAEL CARDONA CAMACHO                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672049 ISRAEL CARDONA MERCADO                      P O BOX 4054                                                                                                     MAYAGUEZ            PR         00681
   232337 ISRAEL CARO RAMOS                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   672050 ISRAEL CARRABALLO ECHEVARIA APARTADO 239                                                                                                                     SABANA GRANDE       PR         00637
   232338 ISRAEL CASTRO LEBRON        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

          ISRAEL CIURO
   232339 VILLANUEVA/GRUPO ALMENDRO REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   232340 ISRAEL CLAUDIO MARTINEZ   REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   672053 ISRAEL COFRESI QUINONES   P O BOX 429                                                                                                                        CABO ROJO           PR       00623
   232341 ISRAEL COLLAZO CUEVAS     REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   672056 ISRAEL COLON APONTE       RR 1 BOX 13020                                                                                                                     OROCOVIS            PR       00720
   232343 ISRAEL COLON FERRER       REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   232344 ISRAEL COLON MERCADO      REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   672057 ISRAEL COLON NIEVES       P O BOX 484                                                                                                                        GUAYNABO            PR       00970
   672058 ISRAEL COLON ROSA         P O BOX 484                                                                                                                        GUAYNABO            PR       00970
   232345 ISRAEL COLON VELEZ        REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   672060 ISRAEL CONCEPCION TORRES  HC 1 BOX 14537                                                                                                                     COAMO               PR       00769
   232346 ISRAEL CONCEPCION URENA   REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   232347 ISRAEL CORCINO RAMOS      REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   232348 ISRAEL CORDERO DAVILA     REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
                                    URB.CAPPARRA TERRACE1594‐
   672061 ISRAEL CORDERO HERNANDEZ  CALLE30 SO                                                                                                                         SAN JUAN            PR         00921‐2023
   232350 ISRAEL COREANO ANDUJAR    REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672062 ISRAEL CORREA RIVERA      PO BOX 7126                                                                                                                        PONCE               PR         00732



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  672063 ISRAEL CORTES ORTIZ                          COM MANTILLA                 BZN 7 B                                                                                ISABELA           PR         00662
  672064 ISRAEL CORUJO                                RES OSCAR COLON DELGADO      EDIF 2 APT 28                                                                          HATILLO           PR         00659
  672065 ISRAEL CRUZ FIGUEROA                         VILLA CAROLINA               140‐3 CALLE 407                                                                        CAROLINA          PR         00985
  232351 ISRAEL CRUZ GONZALEZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232352 ISRAEL CRUZ GUTIERREZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672067 ISRAEL CRUZ LOPEZ                            TORRES DE SABANA             EDIF A APT 615                                                                         CAROLINA          PR         00983
  232353 ISRAEL CRUZ MARRERO                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672068 ISRAEL CRUZ ORTIZ                            HC 05 BOX 54403                                                                                                     MAYAGUEZ          PR         00680
  232354 ISRAEL CRUZ PRATTS                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      302 BO HIGUILLAR SEC VILLA
   672070 ISRAEL CRUZ ROMERO                          SANTA                                                                                                               DORADO            PR         00646
   672071 ISRAEL CRUZ SALCEDO                         LEVITTOWN                    CG 10 CALLE DR VIDAL RIOS                                                              TOA BAJA          PR         00949
   232355 ISRAEL CUADRO SERRANO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232356 ISRAEL D CORDERO CRUZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672072 ISRAEL DE JESUS COLON                       URB PUERTO NUEVO             1127 CALLE 2SE                                                                         SAN JUAN          PR         00921
   672073 ISRAEL DE JESUS PEREZ                       URB VILLA DELICIAS           4434 CALLE GUACAMAYO                                                                   PONCE             PR         00728
   672074 ISRAEL DE JESUS REYES                       HC 6 BOX 71157                                                                                                      CAGUAS            PR         00727
   672075 ISRAEL DE LA ROSA                           PO BOX 29384                                                                                                        SAN JUAN          PR         00929‐0384
   672076 ISRAEL DEL VALLE TORRES                     HC 1 BOX 4152                                                                                                       GURABO            PR         00778
   232357 ISRAEL DELGADO ALVAREZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672077 ISRAEL DELGADO RAMOS                        PO BOX 9220                                                                                                         HUMACAO           PR         00792‐9220
   672079 ISRAEL DIAZ AMARO                           215 B BO PALO SECO                                                                                                  MAUNABO           PR         00707
   672080 ISRAEL DIAZ CARMONA                         URB CAMPO ALEGRE             G 11 CALLE LAUREL                                                                      BAYAMON           PR         00956‐4451
   672082 ISRAEL DIAZ DELGADO                         HC 1 BOX 6925                                                                                                       JUNCOS            PR         00777
   672083 ISRAEL DIAZ DIAZ                            HC 01 BOX 3703                                                                                                      BARRANQUITAS      PR         00794
   672084 ISRAEL DIAZ LOPEZ                           BDA SAN THOMAS               365 CALLE SERAFIN GARCIA                                                               CAYEY             PR         00736
   672085 ISRAEL DIAZ NIEVES                          PO BOX 213                                                                                                          TRIJILLO ALTO     PR         00977‐0213
   672086 ISRAEL DIAZ ORTIZ                           RR 5 BOX 5885                                                                                                       BAYAMON           PR         00956
   232358 ISRAEL DILAN                                REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672087 ISRAEL E COLON BIRRIEL                      URB VILLA CAROLINA           122 16 CALLE 63                                                                        CAROLINA          PR         00985‐5307
   232360 ISRAEL E GARCIA CAMACHO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232362 ISRAEL ECHEVARRIA LUGO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672088 ISRAEL ECHEVARRIA RIVERA                    HC 1 BOX 4772                                                                                                       YABUCOA           PR         00767
   232363 ISRAEL ESPARRA VAZQUEZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   671996 ISRAEL ESPINOSA BURGOS                      PO BOX 8325                                                                                                         HUMACAO           PR         00792
          ISRAEL F RODRIGUEZ
   232364 HERNANDEZ                                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672089 ISRAEL FALCON RODRIGUEZ                     URB JACAGUAX                 102 CALLE 1                                                                            JUANA DIAZ        PR         00795
   672090 ISRAEL FARIA MALDONADO                      SECTOR MAGA                  PO BOX 286                                                                             BAJADERO          PR         00616
   672091 ISRAEL FEBUS CARATINI                       URB VALLES UCARES            A 4 CALLE J                                                                            JUANA DIAZ        PR         00795

   232365 ISRAEL FELICIANO CARABALLO                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232367 ISRAEL FELIU ACEVEDO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ISRAEL FERNANDEZ
   672092 VAZQUEZ/TANYA M VAZQUEZ                     BO CAMPANILLA                398 C CALLE FORTALEZA INT                                                              TOA BAJA          PR         00949
   232368 ISRAEL FERRER CINTRON                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672093 ISRAEL FIGUEROA CARRION                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672094 ISRAEL FIGUEROA FELIX                       BO BUEN CONSEJO              173 CALLE LEON                                                                         SAN JUAN          PR         00926
   672095 ISRAEL FIGUEROA NIEVES                      PO BOX 7252                                                                                                         HUMACAO           PR         00792
   672097 ISRAEL FIGUEROA THIESSEN                    HC 04 BOX 45525                                                                                                     CAGUAS            PR         00725‐9613
   232369 ISRAEL FIGUEROA TORRES                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232370 ISRAEL FIGUEROA VARGAS                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232371 ISRAEL FLORES BAEZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  232372 ISRAEL FRANQUI ROMAN                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232373 ISRAEL FUENTES ROSADO                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232374 ISRAEL G RIGAU RODRIGUEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672098 ISRAEL GALARZA                               HC 03 BOX 11797                                                                                                JUANA DIAZ        PR         00795

   672099 ISRAEL GANAPOLSKY M D                       HIPODROMO MEDICAL CENTER     803 HIPODROMO                                                                     SAN JUAN          PR         00909
   672100 ISRAEL GARCIA LUCCA                         PO BOX 5663                                                                                                    MAYAGUEZ          PR         00681
   232375 ISRAEL GARCIA MELENDEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672101 ISRAEL GARCIA VALENTIN                      URB ZENO GANDIA              94 CALLE H                                                                        ARECIBO           PR         00612
   672102 ISRAEL GERENA OLAN                          1770 CALLE VICTOR CURBELO                                                                                      QUEBRADILLA       PR         00678
   232377 ISRAEL GERENA VALLES                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232378 ISRAEL GONZALEZ                             REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232381 ISRAEL GONZALEZ LOPEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232382 ISRAEL GONZALEZ MARTINEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   232383 ISRAEL GONZALEZ RODRIGUEZ                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   232384 ISRAEL GONZALEZ SEPULVEDA                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232385 ISRAEL GONZALEZ VALENTIN                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672107 ISRAEL GONZALEZ VAZQUEZ                     HC 7 BOX 32561                                                                                                 HATILLO           PR         00659
   672109 ISRAEL HERNANDEZ                            PO BOX 227                                                                                                     COMERIO           PR         00782‐0227
   672115 ISRAEL HERNANDEZ CORTES                     PO BOX 1934                                                                                                    MOCA              PR         00676
   232387 ISRAEL HERNANDEZ ESPIET                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232388 ISRAEL HERNANDEZ MATOS                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232389 ISRAEL HERNANDEZ MORALES                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672117 ISRAEL HERNANDEZ NEGRON                     HC 01 BOX 11418                                                                                                TOA BAJA          PR         00949
   232390 ISRAEL HERNANDEZ PLANAS                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   232391 ISRAEL HERNANDEZ QUINONES                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232392 ISRAEL HERNANDEZ SOTO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232393 ISRAEL HERNANDEZ TORRES                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232394 ISRAEL HERNANDEZ VEGA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672119 ISRAEL HERRERAS COLON                       243 CALLE PARIS SUITE 1589                                                                                     SAN JUAN          PR         00917‐3632
   672120 ISRAEL I CORALIZ FERNANDEZ                  REPTO TERESITA               AG 4 CALLE 27                                                                     BAYAMON           PR         00961
   672121 ISRAEL IRIZARRY CORALES                     BOX 186                                                                                                        LAJAS             PR         00667
   232395 ISRAEL IRIZARRY NAVARRO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   232396 ISRAEL J HUERTAS MALDONADO                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672122 ISRAEL J MARTINEZ CRUZ                      BARRIADA ISRAEL              158 CALLE TEXIDOR                                                                 SAN JUAN          PR         00917
   232397 ISRAEL J OLIVERAS SANTIAGO                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232398 ISRAEL J RAMOS RIVERA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672123 ISRAEL JIMENEZ CASTRO                       HC 01 BOX 4650                                                                                                 ADJUNTAS          PR         00601
   232399 ISRAEL JR AUTO SALES INC                    HC 2 BOX 12093                                                                                                 MOCA              PR         00676
   672125 ISRAEL KERKADO LOPEZ                        RES JARDINES DE CUPEY        EDIF 4 APT 36                                                                     SAN JUAN          PR         00927
   672126 ISRAEL KOPEL                                PO BOX 839                                                                                                     SAN JUAN          PR         00919‐0839
   672127 ISRAEL KOPEL AMSTER                         P O BOX 190858                                                                                                 SAN JUAN          PR         00919‐8257
   671997 ISRAEL L MATOS TUBENS                       PO BOX 37177                                                                                                   SAN JUAN          PR         00937‐0177
   232400 ISRAEL L VELAZQUEZ CABAN                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ISRAEL LASSALLE
   672128 CORDERO,LYDIA PELLOT &                      ROBERTO CARDONA              P O BOX 265                                                                       AGUADILLA         PR         00605
   232401 ISRAEL LEBRON LOPEZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232402 ISRAEL LEBRON PEREZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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   232403 ISRAEL LEONEL LEBRON OLMEDA REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   672129 ISRAEL LOPEZ                HC 01 BOX 3106                                                                                                                       LOIZA               PR           00772‐9709
   232404 ISRAEL LOPEZ ACEVEDO        REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                      1204 FERNANDEZ JUNCOS PDA
   672130 ISRAEL LOPEZ CARRION        17                                                                                                                                   SAN JUAN            PR           00907
          ISRAEL LOPEZ CARRION DBA    1204 FERNANDEZ JUNCOS
   232405 LAMINADOS CORREA            PARADA 17                                                                                                                            SANTURCE            PR           00907
   672131 ISRAEL LOPEZ COLON          HC 03 BOX 29641                                                                                                                      AGUADA              PR           00602
   232406 ISRAEL LOPEZ MENDEZ         REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232407 ISRAEL LOPEZ PEREZ          REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232409 ISRAEL LOPEZ RAMOS          REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232410 ISRAEL LOPEZ RIVERA         REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   672135 ISRAEL LOPEZ VELEZ         BO. CACAO SECTOR LA ROMANA BUZON 2961                                                                                                 QUEBRADILLAS        PR           00678
   232411 ISRAEL LUGO JIMENEZ        REDACTED                   REDACTED                                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   672138 ISRAEL LUNA ORTIZ          35 CALLE VENUS ST                                                                                                                     PONCE               PR           00731
          ISRAEL MALDONADO CARDONA /
   232413 JULIA NIEVES               REDACTED                   REDACTED                                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   232415 ISRAEL MALDONADO DE LEON                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   672143 ISRAEL MALDONADO SANTIAGO                   HC 1 BOX 2399                                                                                                        FLORIDA             PR           00650
   232416 ISRAEL MALDONADO TORRES                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   672144 ISRAEL MANTILLA SIBERIO                     SEC PUEBLO NUEVO              348 CALLE MONTE VERDE                                                                  ISABELA             PR           00662
   672145 ISRAEL MARIN OQUENDO                        BO RIO GRANDE                 HC 01 BOX 4543                                                                         JAYUYA              PR           00664
   672146 ISRAEL MARRERO AGUAYO                       EXT FOREST HLS                703 CALLE URUGUAY                                                                      BAYAMON             PR           00959
   672147 ISRAEL MARRERO CRUZ                         MONTE TRUJILLO                A 3 CALLE 5                                                                            TRUJILLO ALTO       PR           00975
   672148 ISRAEL MARRERO MARTINEZ                     PARC CASTILLO E 34            CALLE LOS NARDOS                                                                       MAYAGUEZ            PR           00680
   672149 ISRAEL MARTINEZ APONTE                      P O BOX 54                                                                                                           MARICAO             PR           00606
   232418 ISRAEL MARTINEZ COSME                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232419 ISRAEL MARTINEZ FLORES                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232422 ISRAEL MARTINEZ RUIZ                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671998 ISRAEL MARTINEZ SCHMIDT                     URB REPARTO TERESITA          A 28 CALLE 39                                                                          BAYAMON             PR           00961
   672151 ISRAEL MASA LOZADA                          HC 01 BOX 27334                                                                                                      CAGUAS              PR           00725‐8933
   232423 ISRAEL MATOS COLON                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232425 ISRAEL MATOS MORALES                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   672152 ISRAEL MATOS TORRES                         PMB 157                       PO BOX 4002                                                                            VEGA ALTA           PR           00692
   672153 ISRAEL MATOS TROCHE                         P O BOX 173                                                                                                          DORADO              PR           00646
   672154 ISRAEL MEDINA                               BOX 1633                                                                                                             UTUADO              PR           00641

   672155 ISRAEL MEDINA ALAMO                         VILLAS PALMERAS               359 CALLE MANUEL CORCHADO                                                              SAN JUAN            PR           00912
   672156 ISRAEL MEDINA COLON                         RES JARIDNES DE CAPARRA       EDIF 8 APT 170                                                                         BAYAMON             PR           00959
                                                                                    138 CALLE MIGUEL RIVERA
   672157 ISRAEL MEDINA MOSESTO                       URB ESTANCIAS DEL GOLF CLUB   TEXIDOR                                                                                PONCE               PR           00730
   672158 ISRAEL MEDINA RAMOS                         PO BOX 1633                                                                                                          UTUADO              PR           00641‐1633
   232427 ISRAEL MEDINA TANCO                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   232431 ISRAEL MELENDEZ HERNANDEZ                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232432 ISRAEL MELENDEZ TORRES                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232433 ISRAEL MENDEZ GONZALEZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   671999 ISRAEL MENDEZ PEREZ                         PO BOX 674                                                                                                           MOCA                PR           00676
   672161 ISRAEL MENDEZ ROBLES                        RR 1 BOX 847                                                                                                         RR 1 BOX 847        PR           00610



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  672162 ISRAEL MERCADO COLON                         PO BOX 1201                                                                                                    RIO GRANDE        PR         00745
  672163 ISRAEL MERCADO GAUTIER                       PO BOX 20541                                                                                                   SAN JUAN          PR         00928
  672164 ISRAEL MERCADO OLAVARRIA                     HC 4 BOX 43400                                                                                                 HATILLO           PR         00659
  672165 ISRAEL MIRANDA                               PO BOX 21365                                                                                                   SAN JUAN          PR         00928
  232435 ISRAEL MIRANDA PENA                          REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672166 ISRAEL MOLINA MEDINA                         POLICIA DE PR          PO BOX 70166                                                                            SAN JUAN          PR         00936‐8166
  232437 ISRAEL MONTALVO DAVILA                       REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672167 ISRAEL MONTALVO VELEZ                        RAMIREZ ARELLANO       28 CALLE DOCTOR KOPPICH                                                                 MAYAGUEZ          PR         00680
  232438 ISRAEL MONTANEZ ADORNO                       REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672168 ISRAEL MORA FELICIANO                        PO BOX 544                                                                                                     AIBONITO          PR         00705
  672169 ISRAEL MORALES GARCIA                        URB VILLA DEL CARMEN   3259 CALLE TASCANA                                                                      PONCE             PR         00716‐2255
  672172 ISRAEL MORALES MARIN                         R 10 URB BASALT                                                                                                FAJARDO           PR         00738
  232439 ISRAEL MORALES MORALES                       REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232440 ISRAEL MORALES RIVERA                        REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232441 ISRAEL MORALES SOTO                          REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672173 ISRAEL MORALES VAZQUEZ                       HC‐2 BOX 15155                                                                                                 LAJAS             PR         00667
  232442 ISRAEL MU¥IZ APONTE                          REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232443 ISRAEL MUNIZ CORDERO                         REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232444 ISRAEL MUNIZ GONZALEZ                        REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   672175 ISRAEL N MARTE CANALES                      CALLE AZABACHE 923     1 PRIMERA EXT COUNTRY CLUB                                                              SAN JUAN          PR         00924
   232445 ISRAEL N PABON NIEVES                       REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   672176 ISRAEL NARVAEZ DELGADO                      VILLA PALMERAS         261 CALLE CANOVANAS                                                                     SAN JUAN          PR         00912
   672177 ISRAEL NAVARRO                              HC 30 BOX 31140                                                                                                SAN LORENZO       PR         00754
   672178 ISRAEL NAZARIO PABON                        7 CALLE LUNA ABAJO                                                                                             SAN GERMAN        PR         00683
   232446 ISRAEL NIEVES CABRERA                       REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   232447 ISRAEL NIEVES COLON                         REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   232448 ISRAEL NIEVES CORRETJER                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  1256581 ISRAEL NIEVES MARCANO                       REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   672181 ISRAEL NIEVES MORALES                       CIALITOS CRUCE         HC 02 BOX 8428                                                                          CIALES            PR         00638
   672184 ISRAEL NIEVES VELEZ                         P O BOX 209                                                                                                    FLORIDA           PR         00650
   232450 ISRAEL NUNEZ BORGE                          REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   232428 ISRAEL NUNEZ SOTO                           REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   232451 ISRAEL O ALICEA LUCIANO                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   232452 ISRAEL OBED DE LA CRUZ VEGA                 REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   232453 ISRAEL OCASIO                               REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          ISRAEL OCASIO KONNO D/B/A
   232454 COMPANIA KONNO                              RR 02 BOX 4036                                                                                                 TOA ALTA          PR         00953
   232455 ISRAEL OCASIO RAMOS                         REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   771102 ISRAEL OCASIO RAMOS                         REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   672186 ISRAEL OLIVERAS ANTOMMATTEI P O BOX 560264                                                                                                                 GUAYANILLA        PR         00656
          ISRAEL ONEILL RODRIGUEZ
   232456 RIVERA                      REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   672187 ISRAEL ORTEGA ORTIZ         PO BOX 122                                                                                                                     BAYAMON           PR         00960
   672188 ISRAEL ORTIZ                PO BOX 21365                                                                                                                   SAN JUAN          PR         00928
   232457 ISRAEL ORTIZ APONTE         REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   672189 ISRAEL ORTIZ COLON          PO BOX 529                                                                                                                     COROZAL           PR         00783
   232458 ISRAEL ORTIZ CORREA         REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   672191 ISRAEL ORTIZ MELENDEZ       RR 4 BOX 276 73                                                                                                                TOA ALTA          PR         00953
   672192 ISRAEL ORTIZ NEGRON         URB SANTA CATALINA                     F 20 CALLE 6                                                                            BAYAMON           PR         00957
   232459 ISRAEL ORTIZ NIEVES         REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED



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  672193 ISRAEL ORTIZ OJEDA                            3039 CARR 351                                                                                                     MAYAGUEZ          PR         00680
  672194 ISRAEL ORTIZ PAZ                              PO BOX 380                                                                                                        CABO ROJO         PR         00623
  232460 ISRAEL ORTIZ PEREZ                            REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232461 ISRAEL ORTIZ SANTIAGO                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232462 ISRAEL ORTIZ TORO                             REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         ISRAEL ORTIZ TORO Y JANICE
  672197 RODRIGUEZ                                     CENTRO JUDICIALMAYAGUEZ   P O BOX 1210                                                                            MAYAGUEZ          PR         00681‐1210
  672198 ISRAEL ORTIZ VIERA                            PO BOX 1781                                                                                                       VEGA BAJA         PR         00694
  232463 ISRAEL OSORIO                                 REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232464 ISRAEL OTERO MARTINEZ                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672199 ISRAEL OTERO ROSARIO                          PO BOX 72                                                                                                         CIALES            PR         00638
  672200 ISRAEL OYOLA COLON                            COLINAS DE FAIRVIEW       4K 40 CALLE 214                                                                         TRUJILLO ALTO     PR         00976‐8247

   672201 ISRAEL P SUAREZ ECHEVARRIA                   COM MARIA ANTONIA         SOLAR NUM 573                                                                           GUANICA           PR         00703
   672202 ISRAEL PABON GARCIA                          P O BOX 935                                                                                                       VEGA BAJA         PR         00693
   232465 ISRAEL PACHECO ACEVEDO                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672203 ISRAEL PADILLA MARTINEZ                      URB RIVERVIEW             BB6 CALLE 22                                                                            BAYAMON           PR         00961
   672204 ISRAEL PADILLA ORTIZ                         HC 03 BOX 9785                                                                                                    BARANQUITAS       PR         00794
   672205 ISRAEL PADUANI VELEZ                         PO BOX 451                                                                                                        SALINAS           PR         00751
   672206 ISRAEL PAGAN MORALES                         PO BOX 609                                                                                                        ARECIBO           PR         00612
   232466 ISRAEL PAGAN QUILES                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672208 ISRAEL PEÑA ALGARIN                          HP ‐ SALA CCEP                                                                                                    RIO PIEDRAS       PR         009360000
   672209 ISRAEL PENA DUBERY                           COND JRDS DE GUAYAMA      EDIF C APT 205                                                                          SAN JUAN          PR         00917
   672210 ISRAEL PERALES CRUZ                          HC 1 BOX 6945‐2                                                                                                   LAS PIEDRAS       PR         00771
          ISRAEL PEREZ / ISRAEL PEREZ
   232467 FIGUEROA                                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232468 ISRAEL PEREZ DOMINGUEZ                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232469 ISRAEL PEREZ GUADALUPE                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232470 ISRAEL PEREZ LOPEZ                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232471 ISRAEL PEREZ LUCIANO                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672213 ISRAEL PEREZ PITRE                           URB EL PEPINO             22 CALLE E                                                                              SAN SEBASTIAN     PR         00685
   232473 ISRAEL PEREZ RIVERA                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232474 ISRAEL PEREZ SOLER                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672215 ISRAEL PEREZ TRUCKING                        P O BOX 9965                                                                                                      SAN JUAN          PR         00908
   232475 ISRAEL PEREZ VELLON                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232477 ISRAEL QUINONES ESCALERA                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232478 ISRAEL QUINONES ESPADA                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232479 ISRAEL QUINONES MARTINEZ                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672221 ISRAEL QUINTANA LOZADO                       P O BOX 2882                                                                                                      ARECIBO           PR         00613
   672222 ISRAEL QUINTANA ZAYAS                        URB VALLE TOLINA          B 13 CALLE NELSON MILLAN                                                                CAGUAS            PR         00725
   672223 ISRAEL RAMIREZ ALAMEDA                       P O BOX 496                                                                                                       LAJAS             PR         00667‐0496
   672224 ISRAEL RAMIREZ GARCIA                        URB LOMAS VERDES          2 T 3 CALLE JACINTO                                                                     BAYAMON           PR         00956‐3401
   672225 ISRAEL RAMIREZ REYES                         QUINTAS REALES            E 17 CALLE REINA VICTORIA                                                               GUAYNABO          PR         00969
   232480 ISRAEL RAMIREZ RODRIGUEZ                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672226 ISRAEL RAMOS DIAZ                            BO BAIROA LA 25           CARR 1R 796 KM 0.7                                                                      CAGUAS            PR         00725
   232481 ISRAEL RAMOS MALDONADO                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                 2002 CALL CNCH ESPN URB EL
   672227 ISRAEL RAMOS PEREA                           EL SENORIAL               SENORIAL                                                                                SAN JUAN          PR         00926
   232482 Israel Reyes Flores                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672001 ISRAEL REYES GONZALEZ                        URB CAGUAS NORTE          AL 4 CALLE VENECIA                                                                      CAGUAS            PR         00725
   672228 ISRAEL REYES PAGAN                           HC 5 BZN 50887                                                                                                    MAYAGUEZ          PR         00680
   672229 ISRAEL REYES ROLON                           URB BAYAMON GARDENS       BB 17 CALLE F                                                                           BAYAMON           PR         00957
   232483 ISRAEL REYES SANABRIA                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  672000 ISRAEL REYES SERRANO                          HC 1 BOX 4226                                                                                                SABANA HOYOS      PR         00688
  672230 ISRAEL REYES TORRES                           HC 03 BOX 10454                                                                                              YABUCOA           PR         00767
  232484 ISRAEL REYES VIERA                            REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672231 ISRAEL RIOS CARDONA                           AVE ANDALUCIA APT 418                                                                                        PUERTO NUEVO      PR         00920
  232485 ISRAEL RIOS JIMENEZ                           REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         ISRAEL RIOS LISBOA / NELIDA
  232486 RIOS LISBOA                                   REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232487 ISRAEL RIOS LOPEZ                             REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672232 ISRAEL RIOS RIOS                              HC 01 BOX 5742                                                                                               BAJADERO          PR         00616
  672233 ISRAEL RIVAS MENDEZ                           HC 1 BOX 12817                                                                                               SAN SEBASTIAN     PR         00685
  672236 ISRAEL RIVERA BERRIOS                         SOLAR 194‐A COM MANI                                                                                         MAYAGUEZ          PR         00682
  672237 ISRAEL RIVERA CORREA                          PO BOX 952                                                                                                   LUQUILLO          PR         00773
  672239 ISRAEL RIVERA DOMENECH                        URB FLORAL PARK         435 CALLE SALVADOR BRAU                                                              SAN JUAN          PR         00917
  672240 ISRAEL RIVERA ESPADA                          PO BOX 97                                                                                                    ADJUNTAS          PR         00601
  672242 ISRAEL RIVERA ESPINOSA                        HC 2 BOX 11289                                                                                               HUMACAO           PR         00791
  672243 ISRAEL RIVERA FELICIANO                       HC 01 BOX 2624                                                                                               FLORIDA           PR         00650
  232489 ISRAEL RIVERA FIGUEROA                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232490 ISRAEL RIVERA GARCIA                          REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672247 ISRAEL RIVERA GONZALEZ                        P O BOX 22                                                                                                   COMERIO           PR         00782
  672249 ISRAEL RIVERA LOPEZ                           PO BOX 589                                                                                                   AIBONITO          PR         00705
  232491 ISRAEL RIVERA MALAVE                          REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672250 ISRAEL RIVERA MARRERO                         EXT FOREST HILL         S 670 CALLE URUGUAY                                                                  BAYAMON           PR         00959
  672252 ISRAEL RIVERA MOORE                           PARC 98 KM 1 31                                                                                              NAGUABO           PR         00744
  232492 ISRAEL RIVERA MORALES                         REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672254 ISRAEL RIVERA NIEVES                          HC 71 BOX 2557                                                                                               NARANJITO         PR         00719
  232493 ISRAEL RIVERA ORTIZ                           REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672255 ISRAEL RIVERA RAMOS                           HC 2 BOX 8725                                                                                                CANOVANAS         PR         00729
  232494 ISRAEL RIVERA RIVERA                          REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232495 ISRAEL RIVERA RODRIGUEZ                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672257 ISRAEL RIVERA ROJAS                           HC 1 BOX 3980                                                                                                YABUCOA           PR         00767
  672234 ISRAEL RIVERA ROSADO                          BOX 14254               BO OBRERO STA                                                                        SAN JUAN          PR         00915‐4254
  232496 ISRAEL RIVERA RUIZ                            REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672002 ISRAEL RIVERA SOTO                            URB FERRY BARRANCAS     548 CALLE MIOSOTIS                                                                   PONCE             PR         00730
  672258 ISRAEL RIVERA SOTO                            P O BOX 6004                                                                                                 VILLALBA          PR         00766
  672259 ISRAEL RIVERA TORRES                          HC 4 BOX 7166                                                                                                UTUADO            PR         00641
  672260 ISRAEL RIVERA VEGA                            P O BOX 194572                                                                                               SAN JUAN          PR         00919‐4572
  672261 ISRAEL RIVERA VELAZQUEZ                       PO BOX 143101                                                                                                ARECIBO           PR         00614
  232497 ISRAEL RIVERA VELENCIA                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672262 ISRAEL RIVERA VELEZ                           HC 01 BOX 5150                                                                                               HORMIGUEROS       PR         00660
  232499 ISRAEL RIVERA VILLEGAS                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   672263 ISRAEL RIVERA Y LINDA L PEREZ                APARTADO 129                                                                                                 LARES             PR         00669
   672265 ISRAEL RODRIGUEZ                             HC 03 BOX 20430                                                                                              LAJAS             PR         00667‐9503
          ISRAEL RODRIGUEZ & PARTNERS
   672266 INC                                          P O BOX 13957                                                                                                SAN JUAN          PR         00908
   232501 ISRAEL RODRIGUEZ ABREU                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   672270 ISRAEL RODRIGUEZ CARABALLO                   HC 2 BOX 14522                                                                                               GUAYANILLA        PR         00656
   232502 ISRAEL RODRIGUEZ DE JESUS                    REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   232503 ISRAEL RODRIGUEZ FELICIANO                   REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232504 ISRAEL RODRIGUEZ GARCIA                      REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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   232505 ISRAEL RODRIGUEZ HERNANDEZ                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   232508 ISRAEL RODRIGUEZ MUNIZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   232509 ISRAEL RODRIGUEZ OCASIO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   672272 ISRAEL RODRIGUEZ PEREZ                      HC 2 BOX 8733                                                                                                 AGUADILLA          PR           00603
   672273 ISRAEL RODRIGUEZ QUILES                     PO BOX 1727                                                                                                   LARES              PR           00669
   672274 ISRAEL RODRIGUEZ RIVERA                     URB SAN FELIPE              I 18 CALLE 10                                                                     ARECIBO            PR           00612

   672276 ISRAEL RODRIGUEZ RODRIGUEZ                  URB LA QUINTA               F 15 CALLE 13                                                                     YAUCO              PR           00698
   672277 ISRAEL RODRIGUEZ ROLDAN                     CARR 459 BOX 2503                                                                                             SAN ANTONIO        PR           00690

   672278 ISRAEL RODRIGUEZ SANTIAGO                   P O BOX 1489                                                                                                  LARES              PR           00669
   672279 ISRAEL ROLAN GONZALEZ                       44 CALLE PROGRESO                                                                                             AGUADILLA          PR           00603
   232510 ISRAEL ROLDAN GONZALEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   672282 ISRAEL ROLON                                G P O BOX 362348                                                                                              SAN JUAN           PR           00936‐2348
   672283 ISRAEL ROLON CPA                            PO BOX 2348                                                                                                   SAN JUAN           PR           00936
   232511 ISRAEL ROLON FIGUEROA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   232512 ISRAEL ROMAN BERBERENA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
          ISRAEL ROMAN COLON / NILDA
   672284 PEREZ                                       BO CARMELITA                BOX 11 CALLE CRISTO                                                               VEGA BAJA          PR           00693
   672285 ISRAEL ROMAN CRUZ                           URB REGIONAL                E 12 CALLE 5                                                                      ARECIBO            PR           00612
   232513 ISRAEL ROMAN NIEVES                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   672286 ISRAEL ROMAN SOTO                           PARCELAS CASTILLO           A 23 CALLE PRIMAVERA                                                              MAYAGUEZ           PR           00680
   672287 ISRAEL ROMERO SANCHEZ                       HC 2 BOX 8005                                                                                                 CAMUY              PR           00627‐9122
   232514 ISRAEL ROQUE PEREZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   672288 ISRAEL ROSA CATALAN                         P O BOX 235                                                                                                   PUNTA SANTIAGO     PR           00741
          ISRAEL ROSADO DBA FERR.
   232516 COMERCIAL PAPO                              HC‐20 BOX 10636                                                                                               JUNCOS             PR           00717‐0000
   672289 ISRAEL ROSADO MONTAS                        HC 02 BOX 25577                                                                                               MAYAGUEZ           PR           00680
   232517 ISRAEL ROSADO ROLON                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
                                                      2644 N SPAULDING ST FLR 3
   672290 ISRAEL ROSADO SANCHEZ                       SOUTH                                                                                                         CHICAGO            PR           60647
   672291 ISRAEL ROSADO VAZQUEZ                       HC 09 BOX 4542                                                                                                SABANA GRANDE      PR           00637
   672292 ISRAEL ROSARIO GONZALEZ                     HC 1 BOX 5620                                                                                                 GUAYNABO           PR           00971
   232518 ISRAEL ROSARIO OTERO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   232519 ISRAEL ROSSO GONZALEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   232520 ISRAEL RUIZ CRESPO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED

   672295 ISRAEL RUIZ ORONA                           232 AVE ELEONOR ROOSEVELT                                                                                     SAN JUAN           PR           00907
   672296 ISRAEL RUPERTO FIGUEROA                     HC 05 BOX 62332                                                                                               MAYAGUEZ           PR           00680
   672297 ISRAEL S VILLANUEVA MATOS                   URB SAN CRISTOBAL B‐5                                                                                         AGUADA             PR           00602
   672298 ISRAEL SAEZ RIVERA                          BO ANONES                   P O BOX 443                                                                       NARANJITO          PR           00719
   672300 ISRAEL SALGUERO LINARES                     P O BOX 1018                                                                                                  MOCA               PR           00676
   232521 ISRAEL SANCHEZ AYALA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   232522 ISRAEL SANCHEZ GERENA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   232524 ISRAEL SANCHEZ MULERO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   232525 ISRAEL SANCHEZ SANTANA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   672301 ISRAEL SANCHEZ TORRES                       HC 5 BOX 59453                                                                                                CAGUAS             PR           00725
   672302 ISRAEL SANTANA                              URB DIPLO                   N 20 CALLE 7                                                                      NAGUABO            PR           00718
   232526 ISRAEL SANTANA MARRERO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   672303 ISRAEL SANTIAGO                             P O BOX 706                                                                                                   ARROYO             PR           00714
   232527 ISRAEL SANTIAGO DELGADO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   232528 ISRAEL SANTIAGO FONSECA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED



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  232529 ISRAEL SANTIAGO GARCIA                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232530 ISRAEL SANTIAGO GONZALEZ                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672305 ISRAEL SANTIAGO LA SANTA                      URB CUIDAD REAL            28 CALLE ALCALA                                                                     VEGA BAJA          PR         00693
  232531 ISRAEL SANTIAGO LUGO                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232533 ISRAEL SANTIAGO MARCUCCI                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672306 ISRAEL SANTIAGO ORTIZ                         URB MONTE CASINO HIGHTS    486 CALLE RIO HONDO                                                                 TOA ALTA           PR         00953
  232534 ISRAEL SANTIAGO RIVERA                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672310 ISRAEL SANTIAGO ROSADO                        URB MONTE REY              G 18 CALLE 5                                                                        COROZAL            PR         00783
  232535 ISRAEL SANTIAGO VALENTIN                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672311 ISRAEL SANTOS NAVEDO                          HC 2 BOX 40936                                                                                                 VEGA BAJA          PR         00693
  232536 ISRAEL SANTOS VELAZQUEZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232537 ISRAEL SEDA APONTE                            REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672312 ISRAEL SEGARRA SANTOS                         PARCELA SABANA ENEAS       259 CALLE B                                                                         SAN GERMAN         PR         00683
  672313 ISRAEL SERRANO COLON                          URB VISTA DEL CONVENTO     2 H 1 CALLE 3                                                                       FAJARDO            PR         00738
  672314 ISRAEL SERRANO TORRES                         HC 2 BOX 4675                                                                                                  LAS PIEDRAS        PR         00771
  232539 ISRAEL SOTO CUBERO                            REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232540 ISRAEL SOTO FELICIANO                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232541 ISRAEL SOTO MALAVE                            REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         ISRAEL SUAREZ CRUZ A/C BCO
  672316 DES ECONOMICO                                 HC 01 BOX 6774                                                                                                 AGUAS BUENAS       PR         00703
  672317 ISRAEL SUAREZ MOLINA                          COLINAS DE PARKVILLE       A9 CALLE ROBERTO ARANA                                                              GUAYNABO           PR         00969‐4465
  672318 ISRAEL SUAREZ ORTIZ                           A 9 COLINAS DE PARKVILLE                                                                                       GUAYNABO           PR         00969
  232542 ISRAEL TOLENTINO MESTRE                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232543 ISRAEL TOLENTINO MOJICA                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672320 ISRAEL TORRES                                 9612 N 26ST                                                                                                    TAMPA              FL         33612
  672321 ISRAEL TORRES BAYRON                          P O BOX 5295                                                                                                   MAYAGUEZ           PR         00681
  672322 ISRAEL TORRES CABAN                           C/O MARITZA ALVARADO       P O BOX 70166                                                                       SAN JUAN           PR         00936‐8166
  672323 ISRAEL TORRES HERNANDEZ                       URB PUERTO NUEVO           1211 CALLE 8 NE                                                                     SAN JUAN           PR         00920
  232545 ISRAEL TORRES MALDONADO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232546 ISRAEL TORRES MORALES                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672325 ISRAEL TORRES ORTIZ                           P O BOX 411                                                                                                    LAJAS              PR         00667 0411
  232548 ISRAEL TORRES RIVERA                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672328 ISRAEL TORRES RUIZ                            PMB 315                    PO BOX 4956                                                                         CAGUAS             PR         00726‐4956
  232549 ISRAEL TORRES SILVA                           REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672331 ISRAEL TORRES VELEZ                           324 CALLE TEXIDOR                                                                                              SAN JUAN           PR         00917
  232552 ISRAEL UMPIERRE CHAAR                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232553 ISRAEL VALDIVIA DELGADO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672332 ISRAEL VALENTIN AYALA                         REPTO ESPERANZA            H 1 CALLE 6                                                                         YAUCO              PR         00698
  672333 ISRAEL VALENTIN OLIVENCIA                     PO BOX 1620                                                                                                    LARES              PR         00669
  672334 ISRAEL VALLE                                  PO BOX 5162                                                                                                    MAYAGUEZ           PR         00681
  232555 ISRAEL VARELA QUINONEZ                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672335 ISRAEL VARGAS                                 BO MAGINAS                 20 ROBLES                                                                           SABANA GRANDE      PR         00637
  232556 ISRAEL VARGAS TORRES                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672336 ISRAEL VAZQUEZ RIVERA                         PO BOX 20670                                                                                                   SAN JUAN           PR         00928‐0670
  232557 ISRAEL VAZQUEZ SANTIAGO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672338 ISRAEL VEGA BONILLA                           HC 2 BOX 25205                                                                                                 MAYAGUEZ           PR         00680
  672339 ISRAEL VEGA ROJAS                             PO BOX 549                                                                                                     SABANA HOYOS       PR         00688
  672340 ISRAEL VEGA SANTIAGO                          P O BOX 716                                                                                                    FLORIDAD           PR         00650
  672341 ISRAEL VEGA TORRES                            URB EL TORITO              G22 CALLE 5                                                                         CAYEY              PR         00736
         ISRAEL VELAZQUEZ / MAYRA
  232558 MERCADO                                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232559 ISRAEL VELAZQUEZ CABAN                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232560 ISRAEL VELAZQUEZ RIVERA                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  232562 ISRAEL VELEZ CORTES                           REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232563 ISRAEL VELEZ FEBUS                            REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672343 ISRAEL VELEZ FERRER                           URB MAYAGUEZ TERRACE           7081 GAUDIER TEXIDOR                                                                  MAYAGUEZ          PR         00682
                                                       70 CALLE PEDRO VARGAS
   672344 ISRAEL VELEZ IRIZARRY                        RODRIGUEZ                                                                                                            GUANICA           PR         00653
   232564 ISRAEL VELEZ RIVERA                          REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672345 ISRAEL VELEZ VELEZ                           BO ARENAS                      SEC LOS PINOS BOX 1343                                                                CIDRA             PR         00739
   232565 ISRAEL VENTURA SANCHEZ                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232566 ISRAEL VIDAL NUNEZ                           REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672346 ISRAEL VIERA VELAZQUEZ                       PO BOX 6786                                                                                                          YABUCOA           PR         00767

   232567 ISRAEL VILA / ELBA L MARRERO                 REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672347 ISRAEL VILLANUEVA REYES                      PO BOX 90211112                                                                                                      SAN JUAN          PR         00902‐1112
   672348 ISRAEL ZAVALA ORTIZ                          HC 4 BOX 44414                                                                                                       CAGUAS            PR         00725‐9606
   672349 ISRAELIEL IRIZARRY CORIANO                   PO BOX 423                                                                                                           LAS MARIAS        PR         00670
                                                       MSC 112‐193 100 GRANDBLVD
   672351 ISRAMCO TECHNOLOGIES                         PASEOS                                                                                                               SAN JUAN          PR         00926
   672352 ISSA CEARA ALMODOVAR                         PO BOX 52082                                                                                                         TOA BAJA          PR         00950
   672353 ISSA DAMARIE CEARA                           PO BOX 52082                                                                                                         TOA BAJA          PR         00950
   672354 ISSA TOLEDO COLON                            ESTANCIAS BALSEIROS            35 CALLE CLINTON                                                                      ARECIBO           PR         00612
   672355 ISSAC HERNANDEZ CORDERO                      158 CALLE 10 DE ANDINO                                                                                               SAN JUAN          PR         00911
   232570 ISSAC HERNANDEZ RIVERA                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672356 ISSEL REVILLA FIGUEROA                       VILLA FONTANA PARK             5T 9 PARQUE DEL TESORO                                                                CAROLINA          PR         00983
   232572 ISSGRELY P TORRES PAGAN                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   232573 ISTBAN PERDOMO WESTERBAND REDACTED                                          REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672357 ISTHAR / AWILDA RODRIGUEZ  URB COSTA BRAVA                                  G 114 CALLE 9                                                                         ISABELA           PR         00662
   232576 ISTRA M BENTEGEAT CORA     REDACTED                                         REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232577 ISTVAN SZASZDI LEON BORJAS REDACTED                                         REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672359 ISUANETTE REYES CORDERO    HC 2 BOX 5796                                                                                                                          MOROVIS           PR         00687
   672360 ISUANNETTE LOPEZ NEGRON    URB SANTA TERESITA                               6567 CALLE SAN ALVARO                                                                 PONCE             PR         00730‐4409
   672361 ISUANNETTE MERCADO DIAZ    PO BOX 8112                                                                                                                            PONCE             PR         00732

   232578 ISUANNETTE MINIER VILLEGAS                   REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          ISUZU DE SAN SEBASTIAN INC
   672362 DBA SUZUKI                                   405 AVE EMERITO ESTRADA                                                                                              SAN SEBASTIAN     PR         00685

   672363 ISVET LACLAUSTRA RODRIGUEZ                   URB LOMAS VERDES               2X9 CALLE JACINTO                                                                     BAYAMON           PR         00956

   232579 ISZAMAR A TORRES MARTINEZ                    REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

                                                       245 LUCHETTI INDUSTRAL PARK
   232583 IT CONSULTAN, INC.                           CARR #5 KM 26.2 SUITE1                                                                                               BAYAMÓN           PR         00961‐0000
  1256582 IT CONSULTANTS                               REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   232584 IT CONSULTANTS PR INC                        245 LUCHETTI INDUSTRIAL PARK   CARR 5 KM 26.2 SUITE 1                                                                BAYAMON           PR         00961
   672364 IT DATA DIRECT                               400 WEST CUMMINGS PARK         SUITE 1575                                                                            WOBURN            MA         01801
   232585 IT EXPERTS GROUP INC                         RIO PIEDRAS HEIGHTS            THEIS 1731                                                                            SAN JUAN          PR         00926
   232586 IT EXPERTS GROUP, INC                        1731 CALLE THEIS,              URB. RIO PIEDRAS HEIGHTS                                                              SAN JUAN          PR         00926
          IT GROUP TECHNOLOGY
   672365 CONSULTANTS                                  1606 AVE P DE LEON SUITE 301                                                                                         SAN JUAN          PR         00908
          IT MARIN INC TREASURE ISLAND
   672366 KIOSK                                        PO BOX 489                                                                                                           AGUADILLA         PR         00605‐0489



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  232588 IT WAREHOUSE                   D 8 AVE DEGETAU                                                                                                                      CAGUAS              PR           00726
  672367 ITA A SANTIAGO RODRIGUEZ       URB QUINTA DE GUASIMA                        A 27 CALLE F                                                                            ARROYO              PR           00714
         Ita' s Catering Rest./Ivelisse
  232589 Seguinot                       HC 2 Box 10572                                                                                                                       Yauco               PR           00698
  232592 ITALCERAMICA                   URB PUERTO NUEVO                             948 AVE ROOSEVELT            PUERTO NUEVO                                               SAN JUAN            PR           00920‐0000
         ITALIANO CHE BELLO DBA MARIO
  672370 MOTTI                          P O BOX 9020176                                                                                                                      SAN JUAN            PR           00962‐0176
  232593 ITALO B CAMPERI PAREDES        COND TORRE DE LOS FRAILES                    APT PH K                                                                                GUAYNABO            PR           00969
  232594 ITALO URSINO                   PARKVILLE SOL                                D 17 GRANT                                                                              GUAYNABO            PR           00969
                                        BEAUTIFUL STONES AND
  672372 ITALRICO                       MINERALS                                     365 CALLE FORTALEZA                                                                     SAN JUAN            PR           00901
  672373 ITALTROFEOS                    OCEAN PARK                                   2056 CALLE MCLEARY                                                                      SAN JUAN            PR           00911‐1526
  232595 ITAMAR A. GARCIA CASILLAS      REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  232596 ITANAM CORP                    PO BOX 1178                                                                                                                          LARES               PR           00669
  232599 ITAS CATERING                  HC 02 BOX 10635                                                                                                                      YAUCO               PR           00698

   232601 ITAS CATERING & RESTAURANT HC 02 BOX 10572                                                                                                                         YAUCO               PR           00698
          ITB INFORMATION TECHNOLOGY
   672374 BUSINESS                   MIRADOR DE BAIROA                               2 Q 20 CALLE 19                                                                         CAGUAS              PR           00727
   232602 ITB PRODUCTIONS INC        287 S ROBERTSON BLVD 101                                                                                                                BEVERLY HILLS       CA           90211‐2810
   232603 ITC FINANCIAL LICENSES INC 250 WILLIAMS ST 5TH FLOOR                                                                                                               ATLANTA             PR           30303
          ITC SATELLITE NETWORKING
   232604 SOLUTIONS                  ONE PROGRESS PLAZA                              SUITE 720                                                                               ST PETERSBURG       FL           33701
   232605 ITD CORP                   243 ELEONOR ROOSEVELT                                                                                                                   SAN JUAN            PR           00918

   232606 ITEA                                         452 PONCE DE LEON SUITE 520                                                                                           HATO REY            PR           00918
          ITEK SERVICES CONTRACTORS
   232607 CORP                                         P O BOX 192655                                                                                                        SAN JUAN            PR           00919‐1217
   672375 ITER COUNTER TOP                             BOX 3088                                                                                                              CAROLINA            PR           00628‐3088
          ITERNATIONAL HOSPITALITY
   232608 ASSOCIATES S EN                              1077 AVE ASHORD                                                                                                       SAN JUAN            PR           00907
   232609 ITF YOUNG BROTHERS                           PMB 486 A                     ROREST HILLS                 A8 CALLE MARGINAL                                          BAYAMON             PR           00959
   672376 ITHAMAR GONZALEZ CORTES                      URB SAN ANTONIO               A 18 CALLE 3                                                                            HUMACAO             PR           00791
   232610 ITHAN J SANCHEZ IRIZARRY                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   232611 ITHIANELL GOIRE DELBREY                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   232636 ITI THERAPY CENTER PSC                       AVE LAUREL 2#28               LOMAS VERDES                                                                            BAYAMON             PR           00956
          ITIS CONSULTING & TECHNICAL
   232638 SERV INC                                     PMB 323                       35 JUAN C BORBON STE 67                                                                 GUAYNABO            PR           00969‐5375
                                                                                     CARR 371 KM 2.3 INT SECTOR
   232639 ITOS AUTO REPAIR INC                         BO ALMACIGO BAJO              ROCIO                                                                                   YAUCO               PR           00698
   672377 ITOS READY MIX INC                           PO BOX 73                                                                                                             SALINAS             PR           00751
   232640 ITOS TIRE                                    4042 AVE PRINCIPAL 896                                                                                                TOA BAJA            PR           00952
   672378 ITP DISTRIBUTION CENTER                      PO BOX 6904                                                                                                           FLORENCE            KY           41022
   672379 ITS ALL FIXED CORPORATION                    PO BOX 601435                                                                                                         BAYAMON             PR           00960
   232641 ITS CORPORATION                              PO BOX 589                                                                                                            CAROLINA            PR           00986
          ITS ENTERTAINMENT
   672381 ENTERPRISES INC                              268 CONVENTO                                                                                                          SAN JUAN            PR           00912
   672382 ITS SYSTEM INTEGRATORS CO                    P O BOX 367129                                                                                                        SAN JUAN            PR           00936‐7129
   672383 ITS TELECOMMUNICATION                        PO BOX 3906                                                                                                           CAROLINA            PR           00984‐3906

   672384 ITSA MARIE SANTIAGO CASTRO                   METADONA CAYEY                                                                                                        Hato Rey            PR           00936
   232643 ITSIA E ROSARIO VALLE                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   672386 ITT WORLD COMM.                              PO BOX 50033                                                                                                          SAN JUAN            PR           00902



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  672388 ITURRARDIS BONE JIMENEZ                      URB VILLA CAROLINA             49 15 CALLE 42                                                                    CAROLINA             PR           00985
  672389 ITURREGUI ANIMAL HOSPITAL                    URB COUNTRY CLUB               846 CALLE KURICES                                                                 SAN JUN              PR           00924‐1713
         ITURREGUI PAGAN MD, MIGUEL
  232658 S                                            REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
  672390 ITURREGUI PLAZA INC.                         PO BOX 29007                                                                                                     SAN JUAN             PR           00929
  232673 ITXA E GARCIA ANTONGIORGI                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
  232674 ITXIA I. CRUZ LOPEZ                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
  232675 ITZA B MUNOZ CANDANEDO                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
  232676 ITZA DE LEON FIGUEROA                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
  232677 ITZA G RAMIREZ COLON                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
  232678 ITZA HERNANDEZ NARVAEZ                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
  672395 ITZA M DORTA FERNANDEZ                       URB LOMAS VERDES               ZN 5 CALLE HORTENCIA                                                              BAYAMON              PR           00956
  232680 ITZA M GARCIA RODRIGUEZ                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   672396 ITZA M GARCIA SELVA                         COND PUERTA DEL SOL APT 1302                                                                                     SAN JUAN             PR           00926
          ITZA M MIRANDA SIERRA /
   672397 JORGE MIRANDA                               CAMINOS DEL MAR                9010 VIA PLAYERA                                                                  TOA BAJA             PR           00949
   232623 ITZA M MONTANEZ ORTIZ                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   672398 ITZA M ORTIZ DIAZ                           P O BOX 74                                                                                                       AGUAS BUENAS         PR           00703
   232661 ITZA M RIVERA RIVERA                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   232681 ITZA M VEGA ORTIZ                           REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   232682 ITZA M. HERNANDEZ ESTRELLA                  REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   672399 ITZA SEOANE MARTINEZ                        PO BOX 21935                                                                                                     SAN JUAN             PR           00931
   672400 ITZA T CUBERO RICHARD                       HC 4 BOX 18271                                                                                                   CAMUY                PR           00627
   232683 ITZALIA RODRIGUEZ WALJER                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   672401 ITZALIA VARGAS MATOS                        HC 1 BOX 6311                                                                                                    CABO ROJO            PR           00623

   232684 ITZAMAR CORTES BETANCOURT REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   232685 ITZAMAR PENA RAMIREZ      REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   232686 ITZAMARIE MENDEZ VAZQUEZ                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   232687 ITZAMARIE RIVERA GONZALEZ                   REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   232688 ITZAMARIES VELEZ DAVILA                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          ITZARELYS ALMODOVAR
   672402 AQUERON                                     COND SAN MIGUEL APT 1003                                                                                         MAYAGUEZ             PR           00680
   232690 ITZEL NUNEZ ALMENGOR                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   232691 ITZEL QUINTANA BURGOS                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   232692 ITZIA M CRUZ HORTA                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   672403 ITZIA M NIEVES BLASINI                      VENUS GARDEN                   631 CALLE BIBLOS                                                                  SAN JUAN             PR           00926
   232693 ITZIA M. CRUZ HORTA                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   672404 ITZIANETTE GARCIA MARTINEZ                  HC 2 BOX 48051                                                                                                   VEGA BAJA            PR           00693
   232694 ITZY CANDELARIA                             REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   232695 IU HEALTH GOSHEN HOSPITAL                   ATTN MEDICAL RECORDS           200 HIGH PARK AVE                                                                 GOSHEN               IN           46527‐0139
          IVAEM COLLAGE INC/ INST VOC
   232696 AUREA MENDEZ                                14 INTENDENTE RAMIREZ                                                                                            CAGUAS               PR           00725
   232697 IVAGNIA M MIRAY MUNOZ                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   232698 IVALEX PAINTING INC                         URB PUERTO NUEVO               1251 CALLE DELICIAS                                                               SAN JUAN             PR           00920
   672416 IVAN A ALONSO COSTA                         PO BOX 107                                                                                                       AIBONITO             PR           00705
   672417 IVAN A BAUZA ENRIQUEZ                       URB TORRIMAR                   3 2 CALLE CORDOVA                                                                 GUAYNABO             PR           00966
   672418 IVAN A BELTRAN ORTIZ                        PO BOX 3039                                                                                                      JUNCOS               PR           00777



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  232699 IVAN A COLON MORALES                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   232701 IVAN A CONCEPCION MARTINEZ                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672420 IVAN A CORRETJER GARCIA                     RAMEY 4 CLIFF RD                                                                                                 AGUADILLA           PR         00603
   672422 IVAN A GARCIA RIVERA                        175 COMUNA                                                                                                       YABUCOA             PR         00767
   672423 IVAN A GONZALEZ SANTIAGO                    BO GALATEO ALTO              BOX 5‐199                                                                           ISABELA             PR         00662
          IVAN A HERNANDEZ LOPEZ/EP
   232702 ENERGY LLC                                  VISTAMAR MARINA              E 14 MALAGA                                                                         CAROLINA            PR         00938
   232703 IVAN A HERNANDEZ RIVERA                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672424 IVAN A MALDONADO RUIZ                       HC 1 BOX 4217                                                                                                    ADJUNTAS            PR         00601
   232704 IVAN A MARCHANY DIAZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232705 IVAN A MENDEZ LOPEZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232706 IVAN A MOSCOSO LUNDT                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672425 IVAN A NAVAS ROMAN                          URB RODRIGUEZ OLMO           22 CALLE K                                                                          ARECIBO             PR         00612
   232707 IVAN A ORTIZ PAGAN                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232708 IVAN A OTERO MATOS                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232709 IVAN A RAMOS VELEZ                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672427 IVAN A RIVERA ROMAN                         PO BOX 1793                                                                                                      CAROLINA            PR         00984 1793
   672428 IVAN A RIVERA SOLER                         1767 CALLE BUDAPEST                                                                                              SAN JUAN            PR         00902
   672405 IVAN A RODRIGUEZ GARCIA                     PO BOX 450                                                                                                       JUANA DIAZ          PR         00795
   672429 IVAN A RODRIGUEZ SANTOS                     URB ANA MARIA CASA           1 S CALLE 1                                                                         CABO ROJO           PR         00623
   232710 IVAN A RODRIGUEZ SEDA                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      ALTURAS DEL 206 BLUD MEDIA
   672430 IVAN A RUIZ PEREZ                           LUNA                                                                                                             CAROLINA            PR         00987‐5094
   672415 IVAN A SOTO DIAZ                            HC 1 BOX 7188                                                                                                    LAS PIEDRAS         PR         00771
   672431 IVAN A SOTO VELEZ                           HC 3 BOX 9449                                                                                                    LARES               PR         00669
   672432 IVAN A VALLE ORTIZ                          URB VILLA CAROLINA           BLQ 200 15 CALLE 529                                                                CAROLINA            PR         00962
   232711 IVAN A VILLAFANE ROURE                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   232712 IVAN A. RAMOS‐RAMOS & SOLER REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232713 IVAN A. RODRIGUEZ SEDA      REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672433 IVAN ACEVEDO FIGUEROA       URB SAN FERNANDO                             A 3 CALLE 4                                                                         BAYAMON             PR         00957‐2215
   672434 IVAN ACEVEDO MARTINEZ       BO CRUCES                                    CARR 412 APT 694                                                                    RINCON              PR         00677
   672435 IVAN ACOSTA RIVERA          PO BOX 2232                                                                                                                      ARECIBO             PR         00613
   672436 IVAN AGOSTO ANDREU          COLINAS DE FAIRVIEW                          4 R18 CALLE 217                                                                     TRUJILLO ALTO       PR         00976
   672437 IVAN AGOSTO ORTEGA          PO BOX 5038                                                                                                                      VEGA ALTA           PR         00692
   672440 IVAN ALDANONDO MARCANO      URB LOMAS VERDES                             S 10 CLAVELILLO                                                                     BAYAMON             PR         00956
   672441 IVAN ALEJANDRINO OSORIO     URB SAN SOUCI                                G 13 CALLE 10                                                                       BAYAMON             PR         00957
          IVAN ALEJANDRO LISBOA
   672442 INASTROZA                   URB VISTA HERMOSA                            J 17 CALLE 8                                                                        HUMACAO             PR         00791
   672443 IVAN ALEXIS REYES DIAZ      VILLAS DE RIO GRANDE                         C 28 CALLE JUAN MONGE                                                               RIO GRANDE          PR         00745
   232714 IVAN ALGARIN GARCIA         REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232715 IVAN ALSINOA MALDONADO      REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                      URB ALHAMBRA COURT
   672444 IVAN ALVAREZ ACOSTA         GARDENS                                      C4 CALLE 2                                                                          PONCE               PR         00731
   672445 IVAN ALVAREZ MERCADO        URB FOREST VIEW                              N 17 CALLE 21                                                                       SAN JUAN            PR         00926
   232717 IVAN ANDUJAR BELLO          REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232718 IVAN ANTONIO LOPEZ LOPEZ    REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232719 IVAN APONTE GONZALEZ        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232720 IVAN ARIEL CRUZ REPOLLET    REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232721 IVAN ARROYO OTERO           REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   232722 IVAN ATANACIO NIEVES        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672447 IVAN AUTO COOL              18 A AVE LIBORIO LOPEZ                                                                                                           SABANA GRANDE       PR         00637



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  232723 IVAN AUTO PARTS                               HC 02 BOX 17177                                                                                            ARECIBO             PR           00612
         IVAN AUTO SERVICE, INC./J.I.
  672448 GONZALEZ                                      HC‐02 BOX 17177                                                                                            ARECIBO             PR           00612
                                                       CALLE 25 DE JULIO #137
   672449 IVAN AUTO SHOP                               SABANETAS                                                                                                  PONCE               PR           00731
   672450 IVAN AVILES MEDINA                           URB VISTA AZUL           H 10 CALLE 9                                                                      ARECIBO             PR           00612
   672452 IVAN AYALA NIEVES                            PO BOX 21365                                                                                               SAN JUAN            PR           00928‐1365
   672453 IVAN AYALA SANTIAGO                          HC 4 BOX 11957                                                                                             HUMACAO             PR           00791
   232727 IVAN AYUSO ROSA                              REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   672454 IVAN BAERGA DBA BAMBI                        PO BOX 9024275                                                                                             SAN JUAN            PR           00902‐4275
   232728 IVAN BAEZ NIEVES                             REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   232729 IVAN BAEZ SANTOS                             REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   672455 IVAN BANUCHI GARCIA        102 CHALETS DE BAIROA COLIBRI                                                                                                CAGUAS              PR           00727
   672456 IVAN BARBEITO FRANCO       URB EL REMANSO L 2 A          CALLE OSCARL G MENDOZA                                                                         SAN JUAN            PR           00926
   672457 IVAN BARBEITO INC.         URB EL REMANSO                L2 CALLE OSCAR G MENDOZA                                                                       SAN JUAN            PR           00926
   672458 IVAN BARRIOS ROSARIO       BOX 694                                                                                                                      RIO GRANDE          PR           00745
   232730 IVAN BATISTA PASTRANA      REDACTED                      REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   232731 IVAN BEAUCHAMP SIERRA      REDACTED                      REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   232732 IVAN BELEN MORALES         REDACTED                      REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   232733 IVAN BENIQUEZ DIAZ         REDACTED                      REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   672460 IVAN BERRIOS SANABRIA      PO BOX 9021112                                                                                                               SAN JUAN            PR           00902‐1112
          IVAN BURGOS COLON Y CARMEN
   232734 G HERNANDEZ                REDACTED                      REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   232735 IVAN BURGOS RIVERA         REDACTED                      REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                                   354 CALLE BURGOS REPTO SAN
   672461 IVAN BURGOS SANTANA        SAN JOSE                      JOSE                                                                                           SAN JUAN            PR           00923
   232736 IVAN C DIAZ GUZMAN         REDACTED                      REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   232737 IVAN C GOYCO RODRIGUEZ     REDACTED                      REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   232738 IVAN C MEDINA RODRIGUEZ    REDACTED                      REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   672462 IVAN C RAMIREZ VEGA        JARDINES DE CAPARRA           D 9 CALLEB 1                                                                                   BAYAMON             PR           00959
   232739 IVAN C. FIGUEROA LOPEZ     REDACTED                      REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   232740 IVAN CABAN SOTO            REDACTED                      REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   232744 IVAN CAEZ ALONSO           REDACTED                      REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   232746 IVAN CALDERON FLORES       REDACTED                      REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   672463 IVAN CAMACHO               PO BOX 1755                                                                                                                  PONCE               PR           00795
   232747 IVAN CANABAL CPA CSP       COND DARLINGTON OFC 610       AVE MUNOZ RIVERA 1007                                                                          SAN JUAN            PR           00925
   232748 IVAN CANCEL CASTRO         REDACTED                      REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   232749 IVAN CANDELARIA ROSADO     REDACTED                      REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   672466 IVAN CARABALLO MARTINEZ    19 URB BACO                                                                                                                  ENSENADA            PR           00647
          IVAN CARABALLO PEREZ MD,
   232750 FLORES                     REDACTED                      REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   672467 IVAN CARABALLO RIVERA      URB EL COMANDANTE             32 B CALLE LA RIVIERA                                                                          CAROLINA            PR           00982
   232751 IVAN CARABALLO RODRIGUEZ   REDACTED                      REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   672468 IVAN CARATTINI GONZALEZ    PO BOX 373043                                                                                                                CAYEY               PR           00737
   672469 IVAN CARDONA CANINO        EL ALAMO                      A 3 LAREDO                                                                                     GUAYNABO            PR           00969
   672470 IVAN CARDONA LOPEZ         PO BOX 823                                                                                                                   AGUAS BUENAS        PR           00703
   232752 IVAN CARO CARO             REDACTED                      REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   672472 IVAN CARRADERO BENITEZ     P O BOX 10008                 CUH STATION                                                                                    HUMACAO             PR           00792
          IVAN CARRADERO CATERING
   672473 SERVICES                   HC 2 BOX 11514                                                                                                               HUMACAO             PR           00791
   672474 IVAN CARRASQUILLO PEREZ    PO BOX 809                                                                                                                   CANOVANAS           PR           00729
   672475 IVAN CASIANO AVELO         JARD DE COUNTRY CLUB          CL 20 CALLE 149                                                                                CAROLINA            PR           00983‐2039



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  672476 IVAN CASIANO QUILES                          CALLE C A 2 URB COSTA SUR                                                                                              YAUCO                PR           00698
         IVAN CASTRO
  672477 MESTRE/FRANCISCO ORTEGA                      ADM. DE SISTEMAS DE RETIRO    PO BOX 42003                                                                             SAN JUAN             PR           00940‐2003
  672478 IVAN CASTRO REYES                            HC 1 BOX 5161                                                                                                          GUAYNABO             PR           00971
  232753 IVAN CASTRO VELEZ                            REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
                                                      BAIROA PARK L28 PARQUE DEL
   672479 IVAN CATERING SERVICES                      LUCERO                                                                                                                 CAGUAS               PR           00725
   232754 IVAN CEPEDA MORALES                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   232755 IVAN CHAAR LOPEZ                            REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   672481 IVAN CLEMENTE DELGADO                       URB PEDREGALES                90 CALLE ONIX                                                                            RIO GRANDE           PR           00745
                                                      LOS FLAMBOYANES
   672482 IVAN COBIAN RUIZ                            APARTMENTS                    EDIF C BZN 126 SITE 1                                                                    CAGUAS               PR           00725
   232756 IVAN COLLAZO DE JESUS                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   232757 IVAN COLLAZO ORTIZ                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   232758 IVAN COLON                                  REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   232759 IVAN COLON RAMOS                            REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   232760 IVAN COLON RODRIGUEZ                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   232761 IVAN COLON SANCHEZ                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   232762 IVAN CORA DE JESUS                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   672483 IVAN CORREA GUTIERREZ                       P O BOX 90606571                                                                                                       SAN JUAN             PR           00906‐5671
   232763 IVAN CORREA LEBRON                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   232764 IVAN CORTES MENDEZ                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   232765 IVAN CORTES RODRIGUEZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          IVAN COSME SNCHEZ/VERA
   232767 LOPEZ AND                                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   672484 IVAN COTTO MATOS                            RR 7 BOX 6300                                                                                                          SAN JUAN             PR           00926
   232768 IVAN CRESPO ARROYO                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   672486 IVAN CRUZ ANDUJAR                           HC 1 BOX 2430                                                                                                          JAYUYA               PR           00664
   232769 IVAN CRUZ FIGUEROA                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   232770 IVAN CRUZ MORALES                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   672406 IVAN CRUZ MORALES                           URB VILLA CAROLINA            169 3 CALLE 437                                                                          CAROLINA             PR           00985
   232771 IVAN CRUZ REPOLLET                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   232772 IVAN CRUZ RIVERA                            REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   672488 IVAN CRUZ TORRES                            NUEVO MAMEYES                 L 9 CALLE 5                                                                              PONCE                PR           00731
   672489 IVAN CRUZ VIVALDI                           CALLE BOSQUE DEL RIO          APT U401 BUZON 151                                                                       TRUJILLO ALTO        PR           00976
   232773 IVAN D ACEVEDO RIVERA                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   232774 IVAN D CORREA RIVERA                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   232776 IVAN D GARCIA RAMIREZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   672490 IVAN D HERNANDEZ GONZALEZ                   URB CIUDAD REAL               163 CALLE ALMADEN                                                                        VEGA BAJA            PR           00693
   232777 IVAN D SOTO MORALES                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   232778 IVAN D VARELA VAZQUEZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          IVAN D. COLON VEGA DBA
   232779 IVANCO                                      PO BOX 1873                                                                                                            VEGA ALTA            PR           00692
   232781 IVAN D. GARCIA RAMIREZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   672493 IVAN DAVILA LEBRON                          COUNTRY CLUB                  HF 14 CALLE 224                                                                          CAROLINA             PR           00982
                                                      PONTIFICIA UNIV CATOLICA DE   2250 AVE LAS AMERICAS SUITE
   672494 IVAN DAVILA OSTALAZA                        PONCE                         583                                                                                      PONCE                PR           00717
   672495 IVAN DE JESUS MARRERO                       RR 9 BOX 1806                                                                                                          SAN JUAN             PR           00926
   232783 IVAN DE JESUS ROSA                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   232785 IVAN DE LA CRUZ SEGARRA                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   672496 IVAN DIAZ ASIA                              PO BOX 6302                                                                                                            CAGUAS               PR           00726
   672497 IVAN DIAZ LOPEZ                             951 AVE FERNANDEZ JUNCOS      SUITE 201                                                                                SAN JUAN             PR           00907



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  672499 IVAN DUMENG LOPEZ                            1487 AVE FELIX ALDARONDO                                                                                           ISABELA             PR           00662
                                                                                 10‐13 ALTOS AVE AGUAS
   672500 IVAN DURANT SIERRA                          URB SANTA ROSA             BUENAS                                                                                  BAYAMON             PR           00959
   672501 IVAN E BERNAUL                              PO BOX 10466                                                                                                       SAN JUAN            PR           00922‐0466
   232787 IVAN E CARMONA AMBERT                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   232724 IVAN E CASTRO FERRER                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   232788 IVAN E COLON MARTINEZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   232789 IVAN E DEL TORO MARTINEZ                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   672502 IVAN E GONZALEZ GARCIA                      URB PASEO MAYOR            D 1 CALLE 2                                                                             SAN JUAN            PR           00926
   232790 IVAN E HERNANDEZ VELEZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   232792 IVAN E MALDONADO PAGAN                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   672503 IVAN E MEJIAS COTTO                         URB TREASURE VALLEY        C 7 CALLE HONDURAS                                                                      CIDRA               PR           00739
   672504 IVAN E NEGRON LOPEZ                         PO BOX 2829                                                                                                        SAN SEBASTIAN       PR           00685
   672505 IVAN E NIEVES BELTRAN                       P O BOX 1771                                                                                                       SAN SEBASTIAN       PR           00685
   232793 IVAN E RAMO LOPEZ                           REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   232794 IVAN E REYES ARTURET                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   232795 IVAN E RIOS MENA                            REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   232796 IVAN E RODRIGUEZ VILLAREAL                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   672511 IVAN E RUIZ MULLENHOFF                      PARQUE ECUESTRE            CALLE MONTENEGRO U2                                                                     CAROLINA            PR           00987
   672512 IVAN E SANTIAGO BAJANDAS                    P O BOX 241                                                                                                        SANTA ISABEL        PR           00757‐0241
   232797 IVAN E TORRES SANTIAGO                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   232798 IVAN E VELEZ CRUZ                           REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   232799 IVAN ELIAS GUALDARRAMA                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   672513 IVAN ESQUILIN GERENA                        P O BOX 23                                                                                                         LUQUILLO            PR           00773
   672515 IVAN F ARZOLA CINTRON                       LAS AMERICAS PROF CENTER   400 AVE DOMENECH STE 606                                                                SAN JUAN            PR           00918
   232801 IVAN F CASTANER CUYAR                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   672517 IVAN F GONZALEZ CANCEL                      PMB 476                    PO BOX 70344                                                                            SAN JUAN            PR           00936‐8344
   672518 IVAN F GONZALEZ CARMONA                     PO BOX 195233                                                                                                      SAN JUAN            PR           00919‐5233
   232802 IVAN F GRACIA MATOS                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   672519 IVAN F RIVERA COLLAZO                       615 CALLE A                                                                                                        TRUJILLO ALTO       PR           00976
   672520 IVAN F RIVERA FUENTES                       HC 03 BOX 8237                                                                                                     BARRANQUITAS        PR           00794
   232804 IVAN F RIVERA GRACIA                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   672521 IVAN F RUIZ RAMOS                           HC 1 BOX 3970                                                                                                      QUEBRADILLAS        PR           00678
   232806 IVAN FERNANDEZ OTERO                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   672523 IVAN FERNANDEZ VALLEJO                      PO BOX 191894                                                                                                      SAN JUAN            PR           00919‐1894
   232807 IVAN FERRER RODRIGUEZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   672524 IVAN FIGUEROA COLON                         SAN ANTONIO GARDENS        1749 CALLE DIPLOMA APT 106                                                              PONCE               PR           00728
   232808 IVAN FIGUEROA GALARZA                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   232809 IVAN FIGUEROA GONZALEZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   672526 IVAN FIGUEROA ROSADO                        HC 01 BOX 5851                                                                                                     JUANA DIAZ          PR           00795
   672527 IVAN FRACINETTI RIVAS                       800 AVE ROBERTO TODD       OFC 209                                                                                 SANTURCE            PR           00907
   232810 IVAN FUSTER                                 REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   232811 IVAN G BETANCOURT ESTRELLA                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   672529 IVAN G COLON PEDROGO                        71 CALLE SEGUNDO BERNIER                                                                                           COAMO               PR           00769‐3322

   232812 IVAN G CONCEPCION MENDEZ                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   672530 IVAN G DIAZ BENABE                          CONDOMINIO GOLDEN COURT 1 115 AVE ARTERIAL HOSTOS       APARTADO 60                                                SAN JUAN            PR           00918
   232814 IVAN G LOPEZ RODRIGUEZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED




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MML ID                    NAME                 ADDRESS 1                                      ADDRESS 2                 ADDRESS 3                           ADDRESS 4              CITY          STATE   POSTAL CODE        COUNTRY
                                     BO. TRASTALLERES 939 CALLE
   672531 IVAN G MALDONADO FELICIANO SOLA                                                                                                                               SAN JUAN                         00907
   232815 IVAN G MUNIZ OTERO         REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   232816 IVAN G RAMIREZ HERNANADEZ                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   672534 IVAN G ROMAN MATOS                          HC 02 BOX 20198                                                                                                   SAN SEBASTIAN       PR           00685

   232817 IVAN G. RAMIREZ HERNANDEZ                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   232818 IVAN GANDIA TORRES                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   232819 IVAN GARAU DIAZ                             REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   672535 IVAN GARCIA ACOSTA                          URB PARQUE ECUESTRE          H 15 CALLE GALGO JR                                                                  CAROLINA            PR       00987‐8529
   232820 IVAN GARCIA DE LA NOCEDA                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   672407 IVAN GARCIA ECHEVARRIA                      602 CARR 104 APT 1                                                                                                MAYAGUEZ            PR       00682‐7714
   672538 IVAN GARCIA LEDESMA                         VILLA FONTANA                4 RN 21 VIA 35                                                                       CAROLINA            PR       00983
   232821 IVAN GARCIA MARTINEZ                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   232822 IVAN GARCIA PEREZ                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   672539 IVAN GARCIA RIVERA                          COND PONTEZUELA              EDIF B5 APT E1                                                                       CAROLINA            PR       00985
   672540 IVAN GAS                                    PO BOX 913                                                                                                        MOCA                PR       00676
   672541 IVAN GOMEZ ACEVEDO                          URB SAN ANTONIO              353 CALLE AGUACATE                                                                   SAN ANTONIO         PR       00690
   232823 IVAN GOMEZ SANCHEZ                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   672542 IVAN GOMEZ SANTIAGO                         URB MARINES B 23 CALLE 2 E                                                                                        FAJARDO             PR       00738
   672543 IVAN GONZALEZ                               P O BOX 21365                                                                                                     SAN JUAN            PR       00928
   232824 IVAN GONZALEZ CANCEL                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   232826 IVAN GONZALEZ HERNANDEZ                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   672545 IVAN GONZALEZ MENDEZ                        HC 03 BOX 15615                                                                                                   UTUADO              PR       00641
   232827 IVAN GONZALEZ PEREZ                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   232828 IVAN GONZALEZ PIZARRO                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   672546 IVAN GONZALEZ SANTIAGO                      P O BOX 5796                                                                                                      CAGUAS              PR       00726
   672547 IVAN GONZALEZ STUART                        BOX 10                                                                                                            JAYUYA              PR       00664
   672548 IVAN GONZALEZ VALENTIN                      P O BOX 515                                                                                                       VEGA BAJA           PR       00694
   232829 IVAN GUILBE VELEZ                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   232831 IVAN H LOPEZ FIGUEROA                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED

   672550 IVAN HERNANDEZ & ASSOCIATES PO BOX 367272                                                                                                                     SAN JUAN            PR           00936‐7272

   672551 IVAN HERNANDEZ CARTAGENA                    PO BOX 1555                                                                                                       MOROVIS             PR           00687
   672408 IVAN HERNANDEZ GUTIERREZ                    PO BOX 491                                                                                                        MERCEDITAS          PR           00715

   672553 IVAN HERNANDEZ VIZCARRONDO 128 Calle Cerrote                                                                                                                  Gurabo              PR           00778‐4073
   672554 IVAN I FARGAS PESANTE      COND PONTEZUELA                               EDIF A1 APT 32                                                                       CAROLINA            PR           00983
   672555 IVAN I MEDINA              URB LOMA ALTA                                 C 1 CALLE 4                                                                          CAROLINA            PR           00987
   672556 IVAN I PIZARRO CARABALLO   PO BOX 9021112                                                                                                                     SAN JUAN            PR           00902‐1112
   672557 IVAN IRIZARRY ORTIZ        URB. SAN JOSE                                 CALLE JULIO N. MATOS 49                                                              MAYAGUEZ            PR           00680
   232832 IVAN IRIZARRY RIVERA       REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232833 IVAN IRIZARRY RODRIGUEZ    REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   232835 IVAN IRIZARRY Y GRACE ROSADO REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   672409 IVAN IZQUIERDO CAPELLA       COND VILLAS DEL TIVOLI                      81 CARR 20 APT 8                                                                     GUAYNABO            PR           00966
   232836 IVAN J ARROYO DIAZ           REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   232837 IVAN J BORGES AGUAYO         REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   672559 IVAN J BRAVO SANTIAGO        HC 02 BOX 14131                                                                                                                  ARECIBO             PR           00612
   232838 IVAN J CHIA KANASHIRO        REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   672561 IVAN J CORTES REXACH         URB LOS PASEOS                              38 CALLE CAPRI                                                                       SAN JUAN            PR           00926‐5947



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  232839 IVAN J CRIADO RODRIGUEZ                      REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232840 IVAN J CUEVAS PEREZ                          REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232842 IVAN J DIAZ RODRIGUEZ                        REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672562 IVAN J GUEITS RIVERA                         UR VILLA DEL CARMEN           2617 CALLE TETUAN                                                                       PONCE             PR         00730
  672563 IVAN J GUZMAN ROMERO                         P O BOX 709                                                                                                           RIO GRANDE        PR         00745

   672564 IVAN J LUGO SEDA                            URB BORINQUEN                 G 29 LUIS PALES MATOS CALLE 6                                                           CABO ROJO         PR         00623
   672565 IVAN J NEVARES SANTANA                      URB VILLA DEL ROSARIO         C 17                                                                                    VAGA BAJA         PR         00693
   232843 IVAN J ORTIZ FERNANDEZ                      REDACTED                      REDACTED                      REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232844 IVAN J ORTIZ FLORES                         REDACTED                      REDACTED                      REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      COND VILLAS DEL PARQUE APTO
   672567 IVAN J PEREZ SOTO                           4F                                                                                                                    SAN JUAN          PR         00909
   232846 IVAN J POGGI RUIZ                           REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672568 IVAN J RODRIGUEZ                            111 DONCELLA T H 6                                                                                                    SAN JUAN          PR         00913
   672569 IVAN J RODRIGUEZ BRACERO                    URB SANTA ELENA               AI 4 APTO 2 CALLE 10                                                                    BAYAMON           PR         00957
   232849 IVAN J RODRIGUEZ MORALES                    REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232851 IVAN J RUIZ CRUZ                            REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672570 IVAN J SANCHEZ GARCIA                       528 2 CALLE WILLIAM JONES                                                                                             SAN JUAN          PR         00911
   672571 IVAN J SANTIAGO FIGUERAS                    PO BOX 8071                                                                                                           HUMACAO           PR         00792
   232852 IVAN J SANTOS CHABRIER                      REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232853 IVAN J SOLAREZ NUNEZ                        REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232854 IVAN J SOTO MAYSONET                        REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232855 IVAN J SOTO VERGES                          REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232856 IVAN J TORRES ALVAREZ                       REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232857 IVAN J TORRES FRANCESHINI                   REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232858 IVAN J VAZQUEZ TORRES                       REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          IVAN J VEGA Y MARIA
   232859 FERNANDEZ                                   REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232860 IVAN J. RIVERA DE JESUS                     REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232861 IVAN J. ROMAN QUILES                        REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232862 IVAN J. ROSARIO RIVERA                      REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232863 IVAN J. SOSA GONZALEZ                       REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          IVAN JAVIER TORRES
   232864 FRACESCHINI                                 REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232865 IVAN JOSE SANTIAGO LEON                     REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672572 IVAN JOSUE RIOS DIAZ                        BOONEVILLE TERACE             C 9 CALLE 3                                                                             CAGUAS            PR         00725
   232866 IVAN L LOPEZ RIVERA                         REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232867 IVAN L MONTALVO FFEBLES                     REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672575 IVAN L ROBLES ORTIZ                         PO BOX 3302                                                                                                           GUAYNABO          PR         00970
   672576 IVAN L ROSARIO PANTOJA                      URB MONTE VERDE 3325          CALLE MONTE SANTO                                                                       MANATI            PR         00674
   672578 IVAN L TORRES RODRIGUEZ                     PO BOX 358                                                                                                            PATILLAS          PR         00723
   672579 IVAN LABOY ANDINO                           HC 3 BOX 12541                                                                                                        YABUCOA           PR         00767
   232869 IVAN LEBRON IRIZARRY                        REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672581 IVAN LEEDE RODRIGUEZ                        PO BOX 7126                                                                                                           PONCE             PR         00732
   232870 IVAN LINARES MERCADO                        REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232871 IVAN LLERANDI ROMAN                         REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232872 IVAN LOPERAMA                               REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672583 IVAN LOPERENA BARRETO                       URB LAS PALMAS                211 CALLE COROZO                                                                        MOCA              PR         00676
   672584 IVAN LOPEZ                                  JARDINES DE BUENA VISTA       A 17 SEC LAS CASITAS                                                                    CAYEY             PR         00736
   232873 IVAN LOPEZ ALVAREZ                          REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232874 IVAN LOPEZ BAEZ                             REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232875 IVAN LOPEZ CARABALLO                        REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672585 IVAN LOPEZ CINTRON                          PO BOX 35                                                                                                             MERCEDITA         PR         00715‐0035



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  672586 IVAN LOPEZ MALAVE                            HC 04 BOX 14840                                                                                           SAN SEBASTIAN     PR         00685
  232877 IVAN LOPEZ RUIZ                              REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672587 IVAN LOPEZ VALDES                            P O BOX 364684                                                                                            SAN JUAN          PR         00936‐4684
  232878 IVAN LUGO GONZALEZ                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232879 IVAN LUGO ROSADO                             REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232880 IVAN LUGO SEDA                               REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   232881 IVAN LUIS CLAUDIO GONZALEZ                  REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   232882 IVAN M CRUZ ASTACIO                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   672590 IVAN M MURRATTI GUZMAN                      PO BOX 366613                                                                                             SAN JUAN          PR         00936
   232883 IVAN M QUINONES SANTIAGO                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   232884 IVAN M RIVERA ROMAN                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   232885 IVAN M. GUTIERREZ ACEVEDO                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   672591 IVAN M. SAAVEDRA ALMEIDA                    CALLE DR CUETO 89                                                                                         UTUADO            PR         00641
   232886 Ivan Madera González                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   232887 IVAN MALARET POL                            REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          IVAN MALDONADO CRUZ /
   232889 NELSON D SOTO                               REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   672594 IVAN MALDONADO MOYA                         PO BOX 7000 SUITE 285                                                                                     AGUADA            PR         00602
   232890 IVAN MALDONADO SOTO                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          IVAN MANUEL CARABALLO
   232891 GONZALEZ                                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   232892 IVAN MARCANO RUIZ                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   232893 IVAN MARGOLLA Y LUZ C CRUZ REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   232894 IVAN MARIN RIVERA           REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   232895 IVAN MARIN ROSA             REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   232896 IVAN MARRERO MARTINEZ       REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          IVAN MARRERO MONTIJO / DBA/
   672595 HOLISTICO                   URB MONTE TRUJILLO                      A 6 CALLE 5                                                                       TRUJILLO ALTO     PR         00976
   232898 IVAN MARTINEZ COLON         REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   232899 IVAN MARTINEZ FLECHA        REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   672596 IVAN MARTINEZ GARCIA        ANTIGUA VIA CUPEY BAJO                  CARR 845 KM 3                                                                     SAN JUAN          PR         00926
   232900 IVAN MARTINEZ MAESTRE       REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   672410 IVAN MARTINEZ MARTINEZ      PO BOX 141595                                                                                                             ARECIBO           PR         00614
   232901 IVAN MARTINEZ MORALES       REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   232902 IVAN MARTINEZ SANTOS        REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   672599 IVAN MATEO RABELO           PMB 122 BOX 5006                                                                                                          YAUCO             PR         00698
   672600 IVAN MAYOL NEGRONI          HC 1 BOX 20820                                                                                                            CAGUAS            PR         00725
   672601 IVAN MEDINA COLON           P O BOX 50080                                                                                                             BAYAMON           PR         00961
   232904 IVAN MEDINA RAMOS           REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   232905 IVAN MELENDEZ RAMOS         REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   232906 IVAN MELENDEZ RIVERA        REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   232907 IVAN MENDEZ GONZALEZ        REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   672603 IVAN MENDEZ VELENTIN        P O BOX 879                                                                                                               MOCA              PR         00676
   672604 IVAN MERCED CARABALLO       ALTURAS DE BAYAMON                      190 CALLE F                                                                       BAYAMON           PR         00956
   232908 IVAN MIRANDA GARCIA         REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   672606 IVAN MIRELLAS ROSA          PO BOX 375                                                                                                                MANATI            PR         00674
   672607 IVAN MOLINA CABRERA         BOX 530                                                                                                                   COROZAL           PR         00783
   232910 IVAN MONTALVO BURGOS        REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   672608 IVAN MONTALVO MARTINEZ      C 17 URB VILLA ALBA                                                                                                       SABANA GRANDE     PR         00637
   672609 IVAN MONTALVO ROJAS         URB SUNVILLE                            W II CALLE 16                                                                     TRUJILLO ALTO     PR         00976



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MML ID               NAME                                       ADDRESS 1                  ADDRESS 2                ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  232912 IVAN MONTANEZ RIVERA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672610 IVAN MORALES                                 URB VISTA VERDE             648 CALLE 18                                                                      AGUADILLA         PR         00603
  232913 IVAN MORALES ALEMAN                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232914 IVAN MORALES COLON                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232915 IVAN MORALES RAMIREZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672612 IVAN MORALES REILLO                          903 CALLE SAN JOSE                                                                                            QUEBRADILLAS      PR         00678
  232917 IVAN MORENO CORDERO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672613 IVAN MOROING MORALES                         PO BOX 475                                                                                                    GUAYNABO          PR         00785
  672614 IVAN MU IZ VELAZQUEZ                         PO BOX 936                                                                                                    UTUADO            PR         00641
  232919 IVAN N SUAREZ IRIZARRY                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232920 IVAN NEGRON BARRETO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  232921 IVAN NEGRON RAMOS                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672616 IVAN NERY CRUZ                               VILLA SAN ANTON             H 16 CALLE LUIS VIGO                                                              CAROLINA          PR         00983

   672617 IVAN NIEVES CRUZ                            498 VEREDAS DE LAS AMAPOLAS                                                                                   GURABO            PR         00778
   672618 IVAN NIEVES FELICIANO                       HC 4 BOX 22010                                                                                                JUANA DIAZ        PR         00795
   232923 IVAN NIEVES RODRIGUEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672619 IVAN NOA BONNIN                             URB SANTA PAULA             A1 CALLE 3                                                                        GUAYNABO          PR         00969
          IVAN NUNEZ BORGES DBA
   232924 CAPARRA CATERING                            PO BOX 13026                                                                                                  SAN JUAN          PR         00908‐3026
          IVAN NUNEZ DBA CAPARRA
   232926 CATERING                                    PO BOX 13026                                                                                                  SAN JUAN          PR         00908‐3076
   232928 IVAN O CANABAL PEREZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232929 IVAN O FIGUEROA SONE                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   672620 IVAN O JIMENEZ ENCARNACION                  D 53 262 CALLE NARANJALES                                                                                     CAROLINA          PR         00985
   232930 IVAN O OLMEDO TORRES                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232931 IVAN O PAGAN MARCANO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672621 IVAN O ROSA TOLEDO                          HC 01 BOX 7227                                                                                                HATILLO           PR         00659
   232932 IVAN OCASIO DIAZ                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   232933 IVAN OCTAVIO MALAVE DE JESUS REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672411 IVAN OJEDA COLLAZO           VILLA LA MARINA                            O 5 CALLE 7                                                                       CAROLINA          PR         00979

   232934 IVAN OJEDA Y GLORIBEL ASTOL                 REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232935 IVAN ORLANDI MENDEZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672624 IVAN ORTIZ                                  CANDIDO PAGAN               428 COCO NUEVO                                                                    SALINAS           PR         00751
   232936 IVAN ORTIZ LATORRE                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          IVAN ORTIZ MARRERO H/N/C
   672625 CAFE PICADELLY                              P O BOX 395                                                                                                   CABO ROJO         PR         00623
   232938 IVAN ORTIZ MOCTEZUMA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232939 IVAN ORTIZ VILLATE                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232940 IVAN OSVALDO SOTO ARIAS                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672628 IVAN P RODRIGUEZ RIVERA                     URB LEVITTOWN               A D 40 CALLE MARUJA                                                               TOA BAJA          PR         00949
   672630 IVAN PABON CORDERO                          PO BOX 1144                                                                                                   LAS PIEDRAS       PR         00771
   232942 IVAN PACHECO QUINONES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          IVAN PADILLA DBA RAMP
   672631 ALTERNATIVE PR CSA                          PMB 60 P O BOX 70344                                                                                          SAN JUAN          PR         00936‐8344
   672632 IVAN PADILLA LOPEZ                          3RA EXT COUNTRY CLUB        HD 47 CALLE 222                                                                   CAROLINA          PR         00982
   672633 IVAN PALACIOS MAESTRE                       VALLE ARRIBA HEIGHTS        AS 8 CALLE 46 A                                                                   CAROLINA          PR         00983
   672634 IVAN PARES SOTOMAYOR                        P O BOX 8892                                                                                                  SAN JUAN          PR         00910
   232943 IVAN PASARELL JOVE                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   232944 IVAN PAZ                                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  232945 IVAN PENA ALVARADO          REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672635 IVAN PEÑA ORTIZ             PUEBLO NUEVO                                                                                                         VEGA BAJA          PR         00693
  232947 IVAN PEREZ ALVAREZ          REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672637 IVAN PEREZ DIEPPA           P O BOX 3230                                                                                                         CAROLINA           PR         00985
  672638 IVAN PEREZ MEDINA           PO BOX 2000                                                                                                          UTUADO             PR         00641
  672639 IVAN PEREZ RIVERA           HC 2 BOX 6955                                                                                                        UTUADO             PR         00641
  672641 IVAN QUI ONES VAZQUEZ       BDA CLAUSELLS                   66 CALLE 3                                                                           PONCE              PR         00731
  672642 IVAN QUILES HERNANDEZ       PO BOX 10501                                                                                                         CAMUY              PR         00627
  672643 IVAN QUILES RODRIGUEZ       URB COUNTRY CLUB                832 CALLE GUADALUPE                                                                  SAN JUAN           PR         00924‐1717
  232950 IVAN QUINONES TORRES        REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672645 IVAN QUINTANA AQUINO        HC 04 BOX 14010                                                                                                      MOCA               PR         00676
  672646 IVAN R ALICEA ACEVEDO       URB QUINTAS DE CABO ROJO        168 CALLE CISNE                                                                      CABO ROJO          PR         00623‐4227
  672647 IVAN R AYALA CRUZ           ESTANCIAS DEL GOLF CLUB         523 CALLE LUIS MORALES                                                               PONCE              PR         00730
  672648 IVAN R BLONDET VISSEPO      URB LOS VERSALLES               2036 CALLE LUIS XIV                                                                  MAYAGUEZ           PR         00682
  232951 IVAN R BURGOS SUAREZ        REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232952 IVAN R CASTANER SANTOS      REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672649 IVAN R CINTRON FUENTES      HC 73 BOX 4262                                                                                                       NARANJITO          PR         00719
  672650 IVAN R CLAUDIO NIEVES       RES SAN JUAN BAUTISTA           EDIF D APT 79                                                                        SAN JUAN           PR         00909
  232954 IVAN R CORDOVA RIVERA       REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         IVAN R CORREA Y ANN M
  232955 CASELLAS                    REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232956 IVAN R DASTA RODRIGUEZ      REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672651 IVAN R LLANES APONTE        EXT EL COMANDANTE               477 A SANTA MARIA ST                                                                 CAROLINA           PR         00982
  232957 IVAN R LOPEZ ORTIZ          REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672652 IVAN R NEGRON VERA          7MA SECCION LEVITOWN            HE 54 DOMINGO DE ANDINO                                                              TOA BAJA           PR         00949
  672654 IVAN R RIOS OCASIO          PMB 347 BOX 8650                                                                                                     MAYAGUEZ           PR         00681
  672655 IVAN R RODRIGUEZ DIAZ       P O BOX 1800                                                                                                         GUAYAMA            PR         00784
  672656 IVAN R RUIZ VEGA            LAS AMERICAS                    963 CALLE SANTO DOMINGO                                                              SAN JUAN           PR         00921
  232958 IVAN R VARELA MENENDEZ      REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232959 IVAN R VAZQUEZ BERRIOS      REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232960 IVAN R VEGA CRUZ            REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232961 IVAN R. ALICEA ACEVEDO      REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232962 IVAN R. CANINO RIVERA       REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232963 IVAN R. LLANES APONTE       REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672659 IVAN R. LORENZO RUIZ        URB SANTA MARIA                 CALLE 6 G‐2                                                                          SAN GERMAN         PR         00683
  672661 IVAN RADINSON CARABALLO     MSC 245                         RR 8 BOX 1995                                                                        BAYAMON            PR         00956‐9676
  232964 IVAN RAMIREZ RAMIREZ        REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232965 IVAN RAMOS ACOSTA           REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         IVAN REFRIGERATION AND AUTO
  672663 AIR                         ESTANCIAS DE TORTUGUERO         305 CALLE VIBOLI                                                                     VEGA BAJA          PR         00693
  672664 IVAN REYES CABRERA          BOX 482                                                                                                              BARCELONETA        PR         00617
  672665 IVAN REYES GARCIA           PO BOX 9021112                                                                                                       SAN JUAN           PR         00902‐1112
  232966 IVAN REYES MONROIG          REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672666 IVAN REYES RIVERA           VILLA ANDALUCIA                 EDIF 2 APT 62                                                                        SAN JUAN           PR         00926
         IVAN REYES RODRIGUEZ &
  672667 MIRIAN CATERING             BO BUENA VISTA                  402 CALLE JOSE BAQUERO                                                               CAYEY              PR         00736
  672668 IVAN RIOS HERNANDEZ         URB LOS ANGELES                 CALLE CAMELIA WH1                                                                    CAROLINA           PR         00983
  232967 IVAN RIOS JIMENEZ           REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672669 IVAN RIOS RIVERA            P O BOX 176                                                                                                          COMERIO            PR         00782
  232968 IVAN RIVAS RIVERA           REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672670 IVAN RIVERA                 HC 2 BOX 8251                                                                                                        JAYUYA             PR         00664
  232970 IVAN RIVERA CORTES          REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  232971 IVAN RIVERA CRESPO          REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  672671 IVAN RIVERA CRUZ                             URB METROPOLIS               J 24 C/ 13                                                                            CAROLINA           PR         00987
  672673 IVAN RIVERA HUERTAS                          BO SANTO BOX 3132                                                                                                  CIDRA              PR         00739
  672675 IVAN RIVERA MURPHY                           RIO CRISTAL                  RC‐1 VIA EUFRATES                                                                     TRUJILLO ALTO      PR         00976
  232972 IVAN RIVERA PADIN                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672676 IVAN RIVERA PEREZ                            URB LOMAS VERDES             35 CALLE ESMERALDA                                                                    MOCA               PR         00676
  672412 IVAN RIVERA REYES                            HC 5 BOX 35815                                                                                                     SAN SEBASTIAN      PR         00685
  672677 IVAN RIVERA RIVERA                           HC 1 BOX 3405                                                                                                      VILLALBA           PR         00766
         IVAN RIVERA RIVERA DBA
  672678 PLENEALO                                     PO BOX 1363                                                                                                        AIBONITO           PR         00705
  232973 IVAN RIVERA ROMAN                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672679 IVAN RIVERA TAPIA                            COND LOS NARANJALES          EDIF A 12 APT 24                                                                      CAROLINA           PR         00985
  672681 IVAN RIVERO GARCIA                           HC 646 BOX 8004                                                                                                    TRUJILLO ALTO      PR         00976
  232974 IVAN RODRIGUEZ ACEVEDO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   672683 IVAN RODRIGUEZ APONTE                       URB REPARTO METROPOLITANO    1313 AVE MERICO MIRANDA                                                               SAN JUAN           PR         00921
   232976 IVAN RODRIGUEZ BERNAT                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   232977 IVAN RODRIGUEZ BURGOS                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   672684 IVAN RODRIGUEZ COLON                        P O BOX 21688 UPR STATION                                                                                          SAN JUAN           PR         00931‐1688
   232978 IVAN RODRIGUEZ DEL VALLE                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   672685 IVAN RODRIGUEZ FIGUEROA                     EXT VISTA BELLA              C 11 CALLE 1                                                                          BAYAMON            PR         00956
   672686 IVAN RODRIGUEZ GONZALEZ                     P O BOX 9100                                                                                                       SAN JUAN           PR         00908 0163
   232980 IVAN RODRIGUEZ IRIZARRY                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   672413 IVAN RODRIGUEZ LLANOS                       URB PARK GARDENS             Y 1 10 CALLE YELLOWSTONE                                                              SAN JUAN           PR         00926

   672687 IVAN RODRIGUEZ MALDONADO                    URB RIVER VIEW               C‐6 CALLE 3                                                                           BAYAMON            PR         00956

   672688 IVAN RODRIGUEZ MENDOZA                      BO. ALGARROBOS LAS CAISEAS   #814                                                                                  MAYAGUEZ           PR         00680
   232981 IVAN RODRIGUEZ PAGAN                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   232982 IVAN RODRIGUEZ PEREZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   672690 IVAN RODRIGUEZ REYES                        PO BOX 417                                                                                                         VEGA ALTA          PR         00692
   232984 IVAN RODRIGUEZ ROJAS                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   672692 IVAN RODRIGUEZ TORRES                       COND ALTURAS CALDAS APT 611                                                                                        SAN JUAN           PR         00926
   672693 IVAN RODRIGUEZ VAZQUEZ                      URB JARDINES PLA            21 B CALLE FERNANDO PLA                                                                CAGUAS             PR         00725
   232986 IVAN RODRIGUEZ VELAZQUEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      DH 10 CALLE BAIROA GOLDEN
   672694 IVAN ROMAN GARCIA                           GATE                                                                                                               CAGUAS             PR         00725
   232989 IVAN ROMAN LOPEZ                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   232990 IVAN ROMAN QUILES                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   672695 IVAN ROMAN RIVERA                           LOS LLANOS                  A 5 CALLE 12                                                                           ARECIBO            PR         00613
   672696 IVAN ROMERO TORRES                          C.S.M. BAYAMON                                                                                                     Hato Rey           PR         00936
   232991 IVAN ROSA GALARZA                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   232992 IVAN ROSA OCASIO                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          IVAN ROSA RAMIREZ/ DYNAMIC
   232993 SOLAR                                       PMB 65 HC 1 BOX 29030                                                                                              CAGUAS             PR         00725‐8900
   672697 IVAN ROSA TOLEDO                            HC 1 BOX 7227                                                                                                      HATILLO            PR         00659
   672698 IVAN ROSADO                                 VILLA CAROLINA               C/ 40 BLQ 47 14                                                                       CAROLINA           PR         00985
   232994 IVAN ROSADO MAESTRE                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   232995 IVAN ROSADO SANTIAGO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   672699 IVAN ROSADO TORRES                          RES VISTA HERMOSA            EDIF 65 APT 765                                                                       SAN JUAN           PR         00921
   232996 IVAN ROSADO VEGA                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   672700 IVAN ROSARIO ROSADO                         DORITAS GARDENS              401 CALLE PASADENA                                                                    ISABELA            PR         00662
   232997 IVAN ROSARIO VILLAFANEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  672702 IVAN ROSAS FIRPO                             BO CALVACHE                  BOX 61                                                                            RINCON            PR         00677
  672703 IVAN ROSICH CAPO                             PO BOX 3912                                                                                                    CAROLINA          PR         00984‐3912
  232998 IVAN RUIZ DORTA                              REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672706 IVAN S AYALA VELEZ                           PO BOX 193222                                                                                                  SAN JUAN          PR         00919
  233000 IVAN S MATOS TORRES                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  233001 IVAN S NAVARRO ROSARIO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  233002 IVAN S. ANDUJAR BELLO                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  233003 IVAN SAAVEDRA LUGO                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672707 IVAN SALVA MENDEZ                            PO BOX 30269                                                                                                   SAN JUAN          PR         00929‐0269
  672708 IVAN SANCHEZ AYENDEZ                         1 6 SKYVIEW DRIVE                                                                                              CAGUAS            PR         00725
  672710 IVAN SANCHEZ CALDAS                          PO BOX 1716                                                                                                    MAYAGUEZ          PR         00681
  233004 IVAN SANCHEZ HERNANDEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672414 IVAN SANCHEZ LIMARDO                         PO BOX 363046                                                                                                  SAN JUAN          PR         00936‐3046
  672712 IVAN SANCHEZ ORTIZ                           URB SIERRA LINDA             GG 17 CALLE 9                                                                     BAYAMON           PR         00957
  233005 IVAN SANCHEZ PEREZ                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  233006 IVAN SANCHEZ SOLER                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   672713 IVAN SANDOVAL RAMOS                         232 AVE ELEONOR ROOSEVELT                                                                                      SAN JUAN          PR         00907
   233008 IVAN SANTANA                                REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672714 IVAN SANTIAGO COLON                         HC 6 BOX 4328                                                                                                  COTO LAUREL       PR         00780
   672715 IVAN SANTIAGO RIVERA                        URB CANTIZALES               10 CALLE CANTIZALES                                                               SAN JUAN          PR         00926
   672719 IVAN SANTIAGO SANTIAGO                      BO SANTA MARIA BOX 70                                                                                          VIEQUES           PR         00765

   672720 IVAN SANTOS                                 CONDOMINIO VIZCAYA APT 236                                                                                     CAROLINA          PR         00924
   233011 IVAN SANTOS DIEZ                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233012 IVAN SANTOS GONZALEZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672721 IVAN SANTOS LATORRE                         HC 01 BOX 2007               BO PERCHAS                                                                        MOROVIS           PR         00687
   233014 IVAN SEIYOTT MATTA                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233017 IVAN SILEN                                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672722 IVAN SOLER                                  P O BOX 386                                                                                                    LAJAS             PR         00667
   233018 IVAN SOTO APONTE                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233019 IVAN SOTO RODRIGUEZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672724 IVAN T RODRIGUEZ BAEZ                       BAYAMON GARDENS              BB14 CALLE C                                                                      BAYAMON           PR         00957
   233020 IVAN TOLEDO COLON                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          IVAN TORO MORALES / NERY
   672725 VAZQUEZ                                     PO BOX 947                                                                                                     COAMO             PR         00769‐0947
   233021 IVAN TORRES ACEVEDO                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233022 IVAN TORRES COLLAZO                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233023 IVAN TORRES DURAN                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233024 IVAN TORRES RODRIGUEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          IVAN TORRES/GARAJE REPARTO
   233025 FLAMINGO                                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233026 IVAN TORRUELLA SOLER                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672728 IVAN TRINTA RODRIGUEZ                       URB VISTA DEL SOL            D 1013                                                                            COAMO             PR         00769
          IVAN TRUJILLO / MARISOL
   233027 TRUJILLO                                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672729 IVAN U SANCHEZ VALLEJO                      4 CALLE BETANCES                                                                                               JUNCOS            PR         00777
   233028 IVAN UMPIERRE VELA                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233032 IVAN VARGAS RIVERA                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672732 IVAN VAZQUEZ                                HC 73 BOX 4787                                                                                                 NARANJITO         PR         00719
   233033 IVAN VAZQUEZ ALMESTICA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672733 IVAN VAZQUEZ APONTE                         COND NORTE PLAZA PH‐B        219 CALLE ROSARIO                                                                 SAN JUAN          PR         00912
   672734 IVAN VAZQUEZ GARCIA                         BOX 743                                                                                                        HATILLO           PR         00659



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  233034 IVAN VAZQUEZ VAZQUEZ                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  233035 IVAN VEGA RODRIGUEZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   672736 IVAN VELAZQUEZ & ASSOCIATES PA 15 PARQUE PUNTA SALINAS                                                                                                           LEVITTOWN           PR         00949
   672738 IVAN VELAZQUEZ VILLEGAS     RR 3 BOX 4830                                                                                                                        SAN JUAN            PR         00926
                                                                                   JJ10 CALLE 244 URB COUNTRY
   672739 IVAN VELEZ CARRION                          TERCERA EXT                  CLUB                                                                                    CAROLINA            PR         00982
   233036 IVAN VELEZ CORREA                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672740 IVAN VELEZ GONZALEZ                         33 CALLE DR CUETO                                                                                                    UTUADO              PR         00641
   672741 IVAN VELEZ HERNANDEZ                        P O BOX 1329                                                                                                         GUANICA             PR         00653
   233037 IVAN VELEZ RODRIGUEZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672742 IVAN VELEZ TORRES                           SAN JUAN PARK 1 APT T 12                                                                                             SAN JUAN            PR         00909
   233038 IVAN VILLANUEVA BOSQUE                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672743 IVAN VIZCARRONDO BERRIOS                    VILLAS REALES                415 VIA ESCORIAL                                                                        GUAYNABO            PR         00969‐5348

   672744 IVAN VOLKSWAGEN MECHANIC                    BOX 1731                                                                                                             YAUCO               PR         00698
   233039 IVAN Y RODRIGUEZ DENIS                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672745 IVAN ZAMORA GARCIA                          URB SAN CARLOS               3 CALLE F                                                                               AGUADILLA           PR         00603
   672746 IVAN ZAYAS ALEMAN                           PO BOX 146                                                                                                           TRUJILLO ALTO       PR         00977
   233040 IVAN ZAYAS MIRANDA                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233041 IVANA INC                                   URB LAS LOMAS                864 CALLE 47 SO                                                                         SAN JUAN            PR         00921

   672747 IVANA M USATEQUI                            1395 CALLE GEORGETTI ALTOS                                                                                           SAN JUAN            PR         00909
   233042 IVANELA ASTACIO RIVERA                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672748 IVANETTE COLON PASTRANA                     RR 10 BOX 10551                                                                                                      SAN JUAN            PR         00926
                                                      BO PASTO VIEJO SECTOR LA
   672749 IVANETTE RAMOS RIOS                         GLORIA                       MSC 191 PO BOX 851                                                                      HUMACAO             PR         00792‐0851

   672750 IVANETTE SANTOS MENDEZ                      CONDOMINIO VIZCALLA APT 236                                                                                          CAROLINA            PR         00985
   672751 IVANHOE FLORES RIVERA                       URB METROPOLIS              CL 4 CALLE 5                                                                             CAROLINA            PR         00987
   233043 IVANIA M MORALES PEREZ                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   672752 IVANIA MORALES PEREZ                        COND COMANDANTE APTS 1194 CALLE ALEJO CRUZADO APT 2                                                                  SAN JUAN            PR         00924
   672753 IVANIA O NEILL CASANOVA                     COUNTRY CLUB              QJ 11 CALLE 531                                                                            CAROLINA            PR         00982
   233044 IVANIA PEREZ COLLAZO                        REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IVANIANETTE ESCOBALES
   233045 RODRIGUEZ                                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233046 IVANIES MARY ORTIZ CIRINO                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   771103 IVANIS RAMIREZ PACHECO                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   233047 IVANISSE CONCEPCION ALICEA                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233048 IVANISSE MARTINEZ ESPADA                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233049 IVANKA GOSPODINOTT                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233050 IVANNA B LORENZO PEREZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233051 IVANNA L LUGO ZAMORA                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233052 IVANNETTE JUARBE RAMOS                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   233053 IVANNETTE RODRIGUEZ OCASIO REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IVANNIA A CABAN RIVERA/RUTH
   233054 J RIVERA                    REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IVANNIEL VAZQUEZ/ CARMEN I
   233055 QUINONEZ                    REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233056 IVANNY NEGRON RIOS          REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  233057 IVANNYS QUINONEZ CLAUDIO    REDACTED                                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  672755 IVANS CONSTRUCTION INC      HC 59 BOX 5472                                                                                                                           AGUADA              PR         00602
  233059 IVANSKA CAPO SILEN          REDACTED                                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         IVAX PHARMACEUTICALS CARIBE
  672756 INC                         PO BOX 11979                                                                                                                             CIDRAS              PR         00739
  233061 IVDHIRA A DUPREY VIDAL      REDACTED                                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  233062 IVE EDGARDO VELEZ RIVERA    REDACTED                                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  672757 IVEAN CORP                  PO BOX 336720                                                                                                                            PONCE               PR         00733
  672758 IVEANETTE SANTIAGO RIVERA   REXVILLE                                     A J 16 CALLE 6                                                                              BAYAMON             PR         00957
  672759 IVEDITH IRIZARRY PASARELL   COND VERDAS DEL MONTE                        BOX 20                                                                                      SAN JUAN            PR         00926
  233063 IVELESE NIEVES TROCHE       REDACTED                                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   672760 IVELESSE MARRERO MARTINEZ                   URB CALIMANO                                            30                                                              MAUNABO             PR         00707
   672762 IVELICE GONZALEZ MARTINEZ                   HC 01 BOX 8489                                                                                                          BAJADERO            PR         00616
   672763 IVELINES CARDONA ARVELO                     PO BOX 4254                                                                                                             MAYAGUEZ            PR         00681

   672764 IVELIS RODRIGUEZ SEPULVEDA                  H C 01 BOX 7109                                                                                                         VILLALBA            PR         00766
   233064 IVELISA MARIN SANTOS                        REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   672766 IVELISE BLANCO RIVERA                       P O BOX 1470                                                                                                            CAYEY               PR         00737
   672767 IVELISE CASADO RIVERA                       URB LAS VEGAS               B 9 CALLE C                                                                                 CANOVANAS           PR         00729
   672769 IVELISE GONZALEZ MONROIG                    BOX 61                                                                                                                  TOA BAJA            PR         00953
   672770 IVELISE J. BERRIOS                          PO BOX 21365                                                                                                            SAN JUAN            PR         00928
   233066 IVELISE RIVERA ELLIN                        REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   233067 IVELISE, ALEMAR                             REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   233068 IVELISSA LAO SANTANA                        REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   672773 IVELISSA LOPEZ RUIZ                         HC 10 BOX 7330                                                                                                          SABANA GRANDE       PR         00637
   233069 IVELISSA RAMOS QUINONES                     REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   672778 IVELISSE AGOSTO CORDERO                     COND POSTAL CAMPESTRE       APTO B 307                                                                                  CANOVANAS           PR         00729
   672779 IVELISSE ALEJANDRO GARCIA                   URB MARIOLGA                B 6 CALLE SAN ANTONIO                                                                       CAGUAS              PR         00725
   233072 IVELISSE ALGARIN MOLINA                     REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   672780 IVELISSE ALMODOVAR SANTIAGO URB. VILLA ALBA                             CALLE 4 C‐44                                                                                SABANA GRANDE       PR         00637
   672781 IVELISSE ALVAREZ            HC 645 BOX 5131                                                                                                                         TRUJILLO ALTO       PR         00976
   672783 IVELISSE ALVERIO COLON      URB ENCANTADA                               101 CALLE VALLE SAN JUAN                                                                    TRUJILLO ALTO       PR         00976
   672784 IVELISSE ALVERIO SANTANA    URB ROYAL TOWN                              2‐ 49 CALLE 44                                                                              BAYAMON             PR         00956

   672785 IVELISSE ANDUJAR RODRIGUEZ                  URB FLORAL PARK             470 CALLE CARIBE                                                                            SAN JUAN            PR         00917

   672775 IVELISSE ANGUEIRA RODRIGUEZ                 URB JARDINES DE COUNTRY     CLUB P1 A CALLE 27                                                                          CAROLINA            PR         00983
   233073 IVELISSE APONTE PLAZA                       REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   233074 IVELISSE APONTE ROMAN                       REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   233075 IVELISSE AQUINO RIVERA                      REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   672786 IVELISSE ARCE MONTALVO                      SAN ROMUALDO                130 CALLE D                                                                                 HORMIGUEROS         PR         00660
   233077 IVELISSE ARROYO                             REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   233078 IVELISSE ARROYO AGUIRRECHEA REDACTED                                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   672787 IVELISSE ARROYO RIVERA      HC 1 BOX 7431                                                                                                                           LUQUILLO            PR         00773

   672789 IVELISSE B. FONTANEZ MATEO                  URB JARDINES DE SANTA ANA   43 CALLE JUAN COLON LOPEZ                                                                   COAMO               PR         00769
   233079 IVELISSE BABA PORTALATIN                    REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   672790 IVELISSE BAEZ JIMENEZ                       P O BOX 357                                                                                                             CABO ROJO           PR         00623

   233080 IVELISSE BARRETO HERNANDEZ                  REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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  672791 IVELISSE BARRETO MARTINEZ                     HC 03 BOX 11871                                                                                               CAMUY              PR         00627
  233081 IVELISSE BERRIOS NEGRON                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672792 IVELISSE BERRIOS RODRIGUEZ                    HC 02 6448                                                                                                    BARRANQUITAS       PR         00794
  233082 IVELISSE BERRIOS TORRES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672793 IVELISSE BETANCOURT VELEZ                     URB PACIFICA                14 VIA AMANECER                                                                   TRUJILLO ALTO      PR         00976
  233083 IVELISSE BONES DIAZ                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672794 IVELISSE BONILLA SANTOS                       REPTO ANAIDA                E 9 CALLE MARGINAL                                                                PONCE              PR         00731
  233084 IVELISSE BORGES GARCIA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  233085 IVELISSE BORRERO MORALES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  233086 IVELISSE BRUNO REYES                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  672796 IVELISSE BURGOS CINTRON                       APARTADO 1134                                                                                                 AIBONITO           PR         00705
  672797 IVELISSE C COLON QUINTANA                     P O BOX 107                                                                                                   SABANA GRANDE      PR         00637
         IVELISSE C RUIZ DE PORRAS
  233087 RIVERA                                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   233088 IVELISSE C SANCHEZ SOULTAIRE                 REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   672799 IVELISSE CACERES                             URB SIERRA BAYAMON          52 A CALLE 49                                                                     BAYMON             PR         00961
   672800 IVELISSE CACERES GUASP                       50 FRANKLIN AVE             1 FLOOR                                                                           HARTFORD           CT         06114
   233089 IVELISSE CARDONA LOPEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          IVELISSE CARMEN DE JESUS
   672801 CASTRO                                       P O BOX 2100                                                                                                  PONCE              PR         00733
   672802 IVELISSE CASIANO GUEVARA                     E 1 URB SAN ANTONIO                                                                                           COAMO              PR         00769
   672803 IVELISSE CASIANO ROSARIO                     PMB 424                     PO BOX 20000                                                                      CANOVANAS          PR         00729

   233090 IVELISSE CASTELLANO CARBENTE REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   233091 IVELISSE CASTILLO FABRE      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   233092 IVELISSE CASTILLO SALDANA    REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   672805 IVELISSE CASTRO HIRALDO      P O BOX 6007 PMB 100                                                                                                          CAROLINA           PR         00984‐6007
   672806 IVELISSE CENTENO             BO INGENIO                                  223 CALLE JAZMIN                                                                  TOA BAJA           PR         00927
   233093 IVELISSE CHAVES BARRETO      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   233095 IVELISSE COLON CRUZ          REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   672808 IVELISSE COLON GARCIA                        232 AVE ELEONOR ROOSEVELT                                                                                     SAN JUAN           PR         00907
   672809 IVELISSE COLON PIZARRO                       PO BOX 123                                                                                                    DORADO             PR         00646
   672810 IVELISSE COLON PRATTS                        BDA SAN LUIS                12 CALLE SIDON APT 1                                                              AIBONITO           PR         00705
   672811 IVELISSE COLON SANTIAGO                      HC 71 BOX 7207                                                                                                CAYEY              PR         00736
   672812 IVELISSE CORDERO MENDEZ                      PO BOX 1263                                                                                                   MOCA               PR         00676
   233096 IVELISSE COTTO ALGARIN                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   233097 IVELISSE COVAS RIVERA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   233098 IVELISSE CRUZ CARRASQUILLO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   672814 IVELISSE CRUZ LEBRON                         PO BOX 379                                                                                                    SAN SEBASTIAN      PR         00685
   233100 IVELISSE CRUZ LOPEZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   233101 IVELISSE CRUZ MARTINEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   672815 IVELISSE CRUZ PABON                          RES MATTEI                  I APT 63                                                                          JAYUYA             PR         00664
   233103 IVELISSE CRUZ REYES                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

                                                       URB REPTO CONTEMPORANEO D
   672816 IVELISSE CRUZ RODRIGUEZ                      5 CALLE D                                                                                                     SAN JUAN           PR         00926
   672817 IVELISSE CUEVAS MOLINA                       PO BOX 1926                                                                                                   LARES              PR         00669
   672818 IVELISSE D DIAZ VILLEGAS                     BOX 11111                                                                                                     JUNCOS             PR         00777

   233105 IVELISSE DE C CABIYA BURGOS                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  233106 IVELISSE DE JESéS BONILLA                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  233107 IVELISSE DE JESUS BONILLA                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  672820 IVELISSE DE LEON                             RR 3 BOX 10889                                                                                                  TOA ALTA            PR         00953
         IVELISSE DEL CARMEN ALVAREZ
  672821 RIJOS                                        P O BOX 3553                                                                                                    JUNCOS              PR         00777
  672822 IVELISSE DEL VALLE VAZQUEZ                   PO BOX 7126                                                                                                     PONCE               PR         00732
  233108 IVELISSE DIAZ DARDER                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  233109 IVELISSE DIAZ FLORES                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  672826 IVELISSE DIAZ GARCIA                         RR 36 BOX 8251                                                                                                  SAN JUAN            PR         00926
  672827 IVELISSE DIAZ LOPEZ                          PO BOX 441                                                                                                      DORADO              PR         00646
  672828 IVELISSE DIAZ OCASIO                         SAINT JUST                 38 CALLE VETANIA                                                                     TRUJILLO ALTO       PR         00976
  233110 IVELISSE DIAZ REYES                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  672831 IVELISSE DIAZ SOTO                           RES BRISAS DE BAYAMON      EDIF 3 APTO 25                                                                       BAYAMON             PR         00961
  233111 IVELISSE E IRIZARRY LUNA                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  233113 IVELISSE ESQUILIN PAGAN                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   233114 IVELISSE FERNANDEZ GONZALEZ REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672834 IVELISSE FERNANDEZ PEREZ    RR02 BOX 6400                                                                                                                   TOA ALTA            PR         00953

   233116 IVELISSE FIGUEROA MARTINEZ                  REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672835 IVELISSE FIGUEROA ORTIZ                     URB CAGUAX                 N 19 CALLE COLESIBI                                                                  CAGUAS              PR         00725
   233117 IVELISSE FIGUEROA RAMOS                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233118 IVELISSE FLORES ALVARADO                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233119 IVELISSE GARAY FELIX                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672837 IVELISSE GARCIA DIAZ                        BO COLO BOX C 23                                                                                                CAROLINA            PR         00987
   672838 IVELISSE GARCIA NIEVES                      URB VISTA VERDE            BOX 755 CALLE 7                                                                      AGUADILLA           PR         00603
   672839 IVELISSE GARCIA ROSADO                      BO RIO                     SECT MANGUAL CARR 1                                                                  GUAYNABO            PR         00971
   672840 IVELISSE GOMEZ                              HC 02 BOX 18453                                                                                                 GURABO              PR         00778
   672841 IVELISSE GOMEZ GUZMAN                       ALMENDROS PLAZA I          701 CALLE EIDER APT 702                                                              SAN JUAN            PR         00924
   233121 IVELISSE GONZALEZ                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   672842 IVELISSE GONZALEZ CARTAGENA                 P O BOX 217                                                                                                     JUANA DIAZ          PR         00795
   233122 IVELISSE GONZALEZ CASADO                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233123 IVELISSE GONZALEZ DAVILA                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233124 IVELISSE GONZALEZ DE JESUS                  REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233125 IVELISSE GONZALEZ FEBRES                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672844 IVELISSE GONZALEZ GARCIA                    55 CALLE MANUEL A NEGRON                                                                                        YAUCO               PR         00698
          IVELISSE GONZALEZ
   672845 MALDONADO                                   4519 CALLE JARD LINK       BOX 123                                                                              SABANA SECA         PR         00952
   233126 IVELISSE GONZALEZ ORTIZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672846 IVELISSE GONZALEZ PEREZ                     188 CALLE LOS PINOS                                                                                             UTUADO                         00641

   233127 IVELISSE HENRIQUEZ GONZALEZ REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233128 IVELISSE HEREIDIA ROSARIO   REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672849 IVELISSE HERNANDEZ DOX      URB ALTA VISTA                             1964 AFRODITA                                                                        PONCE               PR         00716

   233129 IVELISSE HERNANDEZ GUERRA                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233131 IVELISSE HERNANDEZ LOZADA                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   233132 IVELISSE HERNANDEZ MELENDEZ REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IVELISSE HERNANDEZ
   672850 ROTGER/CESAR A SOTO         PO BOX 594                                                                                                                      MAGUABO             PR         00718‐0594




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          IVELISSE HERNANDEZ
   672851 VELAZQUEZ                                   PO BOX 1414                                                                                                      MOCA                PR           00676
   672852 IVELISSE HUERTAS ORTEGA                     BOX 1061                                                                                                         GUAYNABO            PR           00970
   672853 IVELISSE JIMENEZ                            613 GRANDVIEW AVE         APT 4 A RIDGEWOOD                                                                      NEW YORK            NY           11385
   233133 IVELISSE LAUREANO RIOS                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   672854 IVELISSE LEBRON CONTRON                     URB ARROYO DEL MAR        412 CALLE ARRECIFE                                                                     ARROYO              PR           00714
   233135 IVELISSE LICIAGA CABAN                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   672855 IVELISSE LONGO MULET                        URB FLAMINGO HILL         260 CALLE 8                                                                            BAYAMON             PR           00957
   672856 IVELISSE LOPEZ ARCE                         PO BOX 256                                                                                                       CAMUY               PR           00627
   672857 IVELISSE LOPEZ ARVELO                       URB SABANA GARDENS        22‐9 CALLE 13                                                                          CAROLINA            PR           00983
   233136 IVELISSE LOPEZ RIVERA                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   672859 IVELISSE LOPEZ SOTO                         BDA SAN LUIS              11 CALLE BETANIA                                                                       AIBONITO            PR           00705
   672860 IVELISSE LORENZO TORRES                     PO BOX 689                                                                                                       AGUADA              PR           00602
   672861 IVELISSE LOZADA MARQUEZ                     PO BOX 224                                                                                                       JUNCOS              PR           00777‐0224
   233137 IVELISSE LUGO MORALES                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   233138 IVELISSE M ACEVEDO ACEVEDO                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233139 IVELISSE M ALVAREZ LOZADA                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233140 IVELISSE M BURGOS TIRADO                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   672863 IVELISSE M MIRANDA PEREZ                    HC 3 BOX 19719                                                                                                   ARECIBO             PR           00612
   233141 IVELISSE M PADILLA VARGA                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   672865 IVELISSE MALAVE MALAVE                      P O BOX 1322                                                                                                     PATILLAS            PR           00723
          IVELISSE MALDONADO
   233142 ECHEVARRIA                                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   233143 IVELISSE MALDONADO ORENGO                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          IVELISSE MALDONADO
   672776 SANTIAGO                                    PO BOX 108                                                                                                       SABANA SECA         PR           00952
   672867 IVELISSE MANGUAL HIRALDO                    BONN MANOR                A 4‐18 CALLE 46                                                                        CAGUAS              PR           00725
   233144 IVELISSE MARIN REYES                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233145 IVELISSE MARTINEZ COLLAZO                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233146 IVELISSE MARTINEZ COLON                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   672871 IVELISSE MARTINEZ MARTINEZ                  VILLAS DE CASTRO          665 CALLE 500                                                                          CAGUAS              PR           00725
   672872 IVELISSE MARTINEZ MOJICA                    LEVITTOWN                 BI 6 C/ DR FORMICEDO                                                                   TOA BAJA            PR           00949

   233147 IVELISSE MARTINEZ MONTALVO                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233148 IVELISSE MARTINEZ PEREZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233149 IVELISSE MARTINEZ RIVERA                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   672873 IVELISSE MATOS MONTALVO                     PO BOX 491                                                                                                       UTUADO              PR           00641
   672874 IVELISSE MATOS ROSA                         SECT PUEBLO DEL NI O      HC 1 BOX 4210                                                                          LOIZA               PR           00772
   672875 IVELISSE MATOS TORRES                       URB FLAMINGO HILLS        296 CALLE 9                                                                            BAYAMON             PR           00957
   672876 IVELISSE MELENDEZ                           VILLA PRADES              576 CALLE JULIO C ARTEAGA                                                              SAN JUAN            PR           00924
   672877 IVELISSE MELENDEZ PABON                     PO BOX 21365                                                                                                     SAN JUAN            PR           00926‐1365
   672879 IVELISSE MENDEZ LAGOA                       URB MANS DE RIO PIEDRAS   1791 CALLE ASTROMELIA                                                                  SAN JUAN            PR           00926
   672880 IVELISSE MENDEZ PEREZ                       17 CALLE BALDORIOTY                                                                                              SABANA GRANDE       PR           00637
   672882 IVELISSE MERCADO                            URB VILLA CONTESA         H 26 CALLE KENT                                                                        BAYAMON             PR           00959
   233152 IVELISSE MILAN SEPULVEDA                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233153 IVELISSE MILLET SANTIAGO                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233154 IVELISSE MINGUELA RAMIREZ                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   672884 IVELISSE MIRANDA ACEVEDO                    PO BOX 5052                                                                                                      MAYAGUEZ            PR           00681
   672885 IVELISSE MIRANDA COTTO                      URB BELLA VISTA           10 CALLE LAUREL                                                                        AIBONITO            PR           00705




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                                                                                  1115 CALLE 18 NE URB PUERTO
   672886 IVELISSE MOJICA PENA                        PUERTO NUEVO NORTE          NUEVO                                                                                    SAN JUAN             PR         00920
   233155 IVELISSE MOLINA RODRIGUEZ                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   672888 IVELISSE MONROIG JIMENEZ                    URB EL CONQUISTADOR         G 20 CALLE 8                                                                             TRUJILLO ALTO        PR         00976
   233157 IVELISSE MORALES LOPEZ                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   233158 IVELISSE MORALES MORALES                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   672891 IVELISSE MORALES PACHECO                    PO BOX 1133                                                                                                          PENUELAS             PR         00624

   233159 IVELISSE MORALES RODRIGUEZ                  REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   672889 IVELISSE MORALES RODRIGUEZ                  CIUDAD JARDIN DE CAROLINA   CALLE ORQUIDEA 298                                                                       CAROLINA             PR         00987
   672892 IVELISSE MORALES ROMAN                      461 CALLE PARAGUAY                                                                                                   SAN JUAN             PR         00917
   672893 IVELISSE MORALES ROSADO                     HC 01 BOX 8940                                                                                                       SAN GERMAN           PR         00683
   233161 IVELISSE MUNOZ TRABAL                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   233162 IVELISSE N CORREA CORREA                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   672895 IVELISSE NIEVES AYALA                       PO BOX 500030                                                                                                        SAN GERMAN           PR         00683
   233163 IVELISSE NIEVES QUI¥ONES                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   672896 IVELISSE NIEVES ROSA                        SAN ANTONIO                                                                                                          NARANJITO            PR         00719
   233166 IVELISSE OLIVARES YACE                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
                                                      PUERTO NUEVO 606 CALLE
   672897 IVELISSE OLIVERAS                           APENINOS                                                                                                             SAN JUAN             PR         00920
   672899 IVELISSE ORTIZ CARABALLO                    EL CERRO                    38 CALLE PASARELL                                                                        YAUCO                PR         00698
   672898 IVELISSE ORTIZ CARBO                        HC 07 BOX 25849                                                                                                      MAYAGUEZ             PR         00680
   672900 IVELISSE ORTIZ ROSARIO                      BONN TERRACE APARTS         APT 33                                                                                   CAGUAS               PR         00725
   672901 IVELISSE ORTIZ VAZQUEZ                      URB PRADERAS DEL SUR        1010 CALLE ALMENDRO                                                                      SANTA ISABEL         PR         00757
   672902 IVELISSE ORTIZ VILLATE                      PO BOX 9065044                                                                                                       SAN JUAN             PR         00906
   672903 IVELISSE OSARIO PEREZ                       PO BOX 240                                                                                                           SANTA ISABEL         PR         00757
   233167 IVELISSE OSTOLAZA VAZQUEZ                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   672904 IVELISSE OTERO                              MANSIONES SUR               SD 58 PLAZA 5                                                                            LEVITTOWN            PR         00949
   233168 IVELISSE OTERO RIVERA                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   233169 IVELISSE PABELLON GONZALEZ                  REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   233170 IVELISSE PABON VIRELLA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   672906 IVELISSE PAGAN MATOS                        GENERAL DELIVERY                                                                                                     ROSARIO              PR         00636
   672907 IVELISSE PARES CARTAGENA                    PO BOX 6597                                                                                                          SAN JUAN             PR         00914

   233171 IVELISSE PEREIRA CONCEPCION                 REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   233172 IVELISSE PEREZ CHEVERE                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   233174 Ivelisse Perez Collazo                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   672909 IVELISSE PEREZ DAVILA                       SECTOR ATENA                5 CALLE BORRICUA                                                                         VEGA ALTA            PR         00692
   233175 IVELISSE PEREZ MENA                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   233176 IVELISSE PEREZ ORTIZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   233178 IVELISSE PEREZ ROBLES                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   233179 IVELISSE PEREZ ROQUE                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   233182 IVELISSE PEREZ TORRES                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   233183 IVELISSE PEREZ VEGA                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   672914 IVELISSE PIZARRO OSORIO                     HC 1 BOX 5770                                                                                                        LOIZA                PR         00772
   672916 IVELISSE QUIJANO RIVERA                     VILLA ESPERANZA I           C 68 CALLE CLEMENTE                                                                      CAROLINA             PR         00986
   233185 IVELISSE QUINONES OCASIO                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   233187 IVELISSE QUINONEZ RIVERA                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   233189 IVELISSE QUINTANA CARTAGENA REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   233190 IVELISSE QUINTANA MARCIAL   REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED



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  672917 IVELISSE RAMIREZ GUTIERREZ                   URB EL CORTIJO                C35 CALLE 6                                                                        BAYAMON           PR         00956
  233191 IVELISSE RAMIREZ VAZQUEZ                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672919 IVELISSE RAMOS CORCHADO                      EXT COLINAS VERDES            A 7 CALLE 1                                                                        SAN JUAN          PR         00924
  672920 IVELISSE RAMOS CORDERO                       B9 CALLE FERNANDO                                                                                                SAN GERMAN        PR         00683‐4724
  672922 IVELISSE RAMOS ROSARIO                       VILLA DAVILA                  P 10 CALLE CAMASEIS                                                                TOA BAJA          PR         00951
  233193 IVELISSE REVERON PAGAN                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672924 IVELISSE REYES HERNANDEZ                     URB VILLA CAROLINA            5 18 CALLE 33                                                                      CAROLINA          PR         00984
  672925 IVELISSE REYES RAMOS                         LAS CUMBRES                   708 CALLE KENNEDY                                                                  SAN JUAN          PR         00926
  672927 IVELISSE RIOS GONZALEZ                       P O BOX 270                                                                                                      HUMACAO           PR         00791
         IVELISSE RIOS RIVERA/NORMA
  672928 RIVERA                                       326 BO SAN JOSE PARC NUEVAS                                                                                      TOA BAJA          PR         00949
  672929 IVELISSE RIVAS RIVERA                        PO BOX 2237                                                                                                      TOA BAJA          PR         00951
  233195 IVELISSE RIVERA ALVARADO                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672930 IVELISSE RIVERA ALVAREZ                      24 CALLE WILLIAM IRIZARRY                                                                                        MAYAGUEZ          PR         00680
  233197 IVELISSE RIVERA BONILLA                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  233198 IVELISSE RIVERA DELGADO                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  233199 IVELISSE RIVERA FELICIANO                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  672931 IVELISSE RIVERA GUZMAN                       URB CAMINO DEL SOL            215 CALLE ARRECIFE                                                                 VEGA BAJA         PR         00693
  233200 IVELISSE RIVERA JUSINO                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  233201 IVELISSE RIVERA LEBRON                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   233202 IVELISSE RIVERA MALDONADO                   REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233203 IVELISSE RIVERA MARQUEZ                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233204 IVELISSE RIVERA MATIAS                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233205 IVELISSE RIVERA MORALES                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672935 IVELISSE RIVERA MORENO                      PO BOX 357                                                                                                       AIBONITO          PR         00705
   672936 IVELISSE RIVERA NAVARRO                     HC 02 BOX 15177                                                                                                  CAROLINA          PR         00985
   233206 IVELISSE RIVERA PADILLA                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233208 IVELISSE RIVERA RUIZ                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233209 IVELISSE RIVERA VAZQUEZ                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233210 IVELISSE RODRIGUEZ                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233211 IVELISSE RODRIGUEZ BASSATT                  REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233212 IVELISSE RODRIGUEZ CRUZ                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233213 IVELISSE RODRIGUEZ GARDA                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          IVELISSE RODRIGUEZ
   672939 HERNANDEZ                                   BASE RAMEY                    CIRCULO D 294 B                                                                    AGUADILLA         PR         00604
   233214 IVELISSE RODRIGUEZ MATOS                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   672940 IVELISSE RODRIGUEZ ORTIZ                    COND WINDSOR TOWER APT 809                                                                                       SAN JUAN          PR         00923‐3024

   233215 IVELISSE RODRIGUEZ RODRIGUEZ REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672943 IVELISSE RODRIGUEZ SOTO      HC 2 BOX 1702                                                                                                                   ARECIBO           PR         00612

   672944 IVELISSE RODRIGUEZ VAZQUEZ                  P O BOX 1394                                                                                                     CAYEY             PR         00736
   672945 IVELISSE ROJAS GARCIA                       154 CALLE TAFT APT 802                                                                                           SAN JUAN          PR         00911
   672949 IVELISSE ROMERO MARCANO                     HATO TEJAS                    1 SECTOR LOS VIEJITOS                                                              BAYAMON           PR         00962
   233220 IVELISSE ROSA CRUZ                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672950 IVELISSE ROSARIO NEGRON                     2 MIGUEL PLANELLAS                                                                                               CIDRA             PR         00739
   672951 IVELISSE RUIZ                               URB LA ARBOLEDA               216 CALLE 23                                                                       SALINA            PR         00751
   672953 IVELISSE RUIZ NIEVES                        URB VILLA CAROLINA            153‐2 CALLE 433                                                                    CAROLINA          PR         00985

   233222 IVELISSE SALDANA BETANCOURT REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   672954 IVELISSE SANABRIA           SUMMIT HILLS                                  569 CALLE SUNLIGHT                                                                 SAN JUAN          PR         00920



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MML ID               NAME                                       ADDRESS 1                  ADDRESS 2                    ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  233223 IVELISSE SANABRIA RIVERA                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  233225 IVELISSE SANCHEZ VALENTIN                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  233226 IVELISSE SANTANA DIAZ                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  672956 IVELISSE SANTANA MARTINEZ                    EL PLANTIN                 D 16 CALLE CEDRO                                                                       TOA BAJA            PR         00949
  672957 IVELISSE SANTIAGO COLON                      RR 1 BOX 10422‐4                                                                                                  TOA ALTA            PR         00953
  672777 IVELISSE SANTIAGO DIAZ                       ALTURAS DE VILLA DEL REY   B 5 CALLE 28                                                                           CAGUAS              PR         00726
  672958 IVELISSE SANTIAGO GARCIA                     URB JARDINES DE CAYEY I    12 43 ORQUIDIA                                                                         CAYEY               PR         00736

   233227 IVELISSE SANTIAGO MARTINEZ                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672960 IVELISSE SANTOS COTTO                       P O BOX 9244                                                                                                      CAGUAS              PR         00726
   233228 IVELISSE SANTOS DURAN                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   233229 IVELISSE SANTOS MALDONADO                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   233230 IVELISSE SEGUINOT QUINTANA                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IVELISSE SEGUINOT/DBA/ ITA'S
   233231 CATERING+RE                                 UBR INDUSTRIAL SABANETA    38 CALLE HUCAR ,MERCEDITA                                                              PONCE               PR         00715
   672964 IVELISSE SOTO LOPEZ                         BELLA VISTA GARDENS        20‐90 CALLE 20 Q                                                                       BAYAMON             PR         00957
   233232 IVELISSE SOTO MATTEI                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233234 IVELISSE SOTO SANTIAGO                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672965 IVELISSE SOTO SERRANO                       ROSALEDA II                RG 66 C/ ELIOTROP                                                                      LEVITTOWN           PR         00949
   233235 IVELISSE SUSTACHE FLORES                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672968 IVELISSE TABARES                            PO BOX 839                                                                                                        BAYAMON             PR         00960
   233236 IVELISSE TARDI GALARZA                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233237 IVELISSE TAVAREZ VELEZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672969 IVELISSE TORO HUERTAS                       PO BOX 624                                                                                                        GUAYNABO            PR         00970
   672970 IVELISSE TORO PADIN                         URB RAMEY                  150 CALLE D                                                                            AGUADILLA           PR         00604
   233238 IVELISSE TORO ZAMBRANA                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IVELISSE TORREGROSA
   233239 ENCHAUTEGUI                                 REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672971 IVELISSE TORRES                             PO BOX 362066                                                                                                     SAN JUAN            PR         00936‐2066
   672972 IVELISSE TORRES IRIZARRY                    HC 01 BOX 6260                                                                                                    GUAYANILLA          PR         00656
   233240 IVELISSE TORRES RODRIGUE                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233241 IVELISSE TORRES RODRIGUEZ                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672973 IVELISSE TORRES RUBERTE                     28 CURVA TURPO                                                                                                    MERCEDITAS          PR         00715
   233242 IVELISSE TORRES SANTANA                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672974 IVELISSE TORRES SILVA                       URB METROPOLIS             2G 18 CALLE 35                                                                         CAROLINA            PR         00987
   233243 IVELISSE TORRES VELAZQUEZ                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233244 IVELISSE TOSADO ROMAN                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233245 IVELISSE TULL BÁEZ                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672975 IVELISSE VALENTIN VERA                      UNIV GARDENS               101B CALLE DUKE                                                                        SAN JUAN            PR         00927

   233246 IVELISSE VALLELLANES SANTIAGO REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233247 IVELISSE VARELA MOLINA        REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   672976 IVELISSE VAZQUEZ ACOSTA       HC 02 BOX 8319                                                                                                                  GUAYANILLA          PR         00656
   672977 IVELISSE VAZQUEZ APONTE       PO BOX 165                                                                                                                      BARRANQUITAS        PR         00794
   672978 IVELISSE VAZQUEZ FIGUEROA     HC 63 BOX 3581                                                                                                                  PATILLAS            PR         00723
   233248 IVELISSE VAZQUEZ SERRANO      REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233249 IVELISSE VEGA CORDOVA         REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233250 IVELISSE VEGA OCASIO          REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233251 IVELISSE VEGA VALLE           REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233252 IVELISSE VEGUILLa             REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   233253 IVELISSE VELAZQUEZ GONZALEZ REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233254 IVELISSE VELAZQUEZ RIVAS    REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   672980 IVELISSE VELAZQUEZ VELAZQUEZ HC 1 BOX 7181                                                                                                              LAS PIEDRAS         PR           00771
   233256 IVELISSE VELEZ MELENDEZ      REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                       PLAZA 2 COND LOS
   672981 IVELISSE VELEZ PABON         ALMENDROS                               APT 309                                                                            RIO PIEDRAS         PR           00924
   672982 IVELISSE VELEZ SANTIAGO      URB CORRIENTE ENCANTADA                 CO29 CALLE RIO GRANDE                                                              TRUJILLO ALTO       PR           00976
   672983 IVELISSE VELEZ SEGARRA       URB PARQUE DE ISLA VERDE                309 CALLE AQUAMARINA                                                               CAROLINA            PR           00979‐1361
   672984 IVELISSE VIERA GONZALEZ      URB VILLA FONTANA                       434 VIA 13 BLQ 2HL                                                                 CAROLINA            PR           00983
   233258 IVELISSE VILANOVA RIVERA     REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   672986 IVELISSE VILLALOBOS AYALA    PMB 19 BOX 7997                                                                                                            MAYAGUEZ            PR           00680

   672987 IVELISSE VILLANUEVA LLORENS                 PMB 323 1312             AVE FELIX ALDARONDO                                                                ISABELA             PR           00662
   233259 IVELISSE ZAPATA TORO                        REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233260 IVELISSE ZAYAS CINTRON                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233261 IVELISSE, ZAYAS                             REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233262 IVELIT IRIZARRY PAGAN                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233263 IVELITZ DIAZ LOPEZ                          REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   672988 IVELITZA AQUINO SOTO                        HC 4 BOX 44096                                                                                              LARES               PR           00669
   672989 IVELIZ CRUZ DONES                           URB BONEVILLE HEIGHTS    16 CALLE AGUAS BUENAS                                                              CAGUAS              PR           00915
   233264 IVELIZ CRUZ PAGAN                           REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233265 IVELIZ VAZQUEZ HERNANDEZ                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233266 IVELIZ VELAZQUEZ ORTIZ                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   672992 IVELIZ ZAYAS TORRES                         LOS ROSALES              6 APT 37                                                                           PONCE               PR           00731
   672994 IVELLISE BURGOS ROSADO                      BDA POLVORIN             16 CALLE 16                                                                        CAYEY               PR           00736
   233272 IVELLISE CRUZ TORRES                        REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233273 IVELLISE NIEVES SERRANO                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   672996 IVELLISE RAMOS SANTIAGO                     BDA EL POLVORIN          70 CALLE 15                                                                        CAYEY               PR           00736
   233274 IVELLISE SANTANA NEGRON                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   672997 IVELLISE SOLER CORTES                       URB HNAS DAVILA          K22 CALLE 5                                                                        BAYAMON             PR           00959
                                                      URB TURABO GARDENS R‐5
   672998 IVELLISSE BERNABE TORRES                    CALLE 27                                                                                                    CAGUAS              PR           00725
          IVELLISSE CHALVISANT
   233275 RODRIGUEZ                       REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   672999 IVELLISSE COLON ROSA            URB VILLA VILLA CAROLINA             136‐17 CALLE 405                                                                   CAROLINA            PR           00985
          IVELLISSE DIAZ / CREACIONES LIZ
   673000 MARY                            60 CALLE COMERCIO                                                                                                       JUANA DIAZ          PR           00795
   233276 IVELLISSE PENA NIEVES           REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   673001 IVELLISSE RIVERA CARTAGENA      D 150 REPTO ROBLES                                                                                                      AIBONITO            PR           00705
   673002 IVELLISSE RIVERA FIGUEROA       RES LUIS LLORENS TORRES              EDF 77 APT 1467                                                                    SAN JUAN            PR           00913
   673003 IVELLISSE SALGADO SEDA          RES LOS MURALES                      EDIF 2 APT 12                                                                      MANATI              PR           00674
   233277 IVELMAR SALVA CAMACHO           REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233278 IVELTA L SOTO NIETO             REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233279 IVELTE SEPULVEDA ORTIZ          REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233281 IVELYS RAMIREZ APONTE           REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   673004 IVELYS SILVA HUYKE              URB VILLA BLANCA                     1 CALLE AMATISTA                                                                   CAGUAS              PR           00725

   233283 IVEMAR DELGADO HERNANDEZ                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   673007 IVEMAR SE                                   252 AVE PONCE DE LEON                                                                                       SAN JUAN            PR           00918
   673008 IVENISSE IGLESIAS VAZQUEZ                   HC 1 BOX 15418                                                                                              CABO ROJO           PR           00623
   233285 IVERDIALIZ MORALES TORRES                   REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  673009 IVESHKA MENDEZ CRUZ                          PO BOX 2108                                                                                                        MOCA              PR         00676
  233286 IVETE MARTINEZ ALAGO                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  673010 IVETEE RIVERA                                CIUDAD MASSO                  B 17 CALLE 2                                                                         SAN LORENZO       PR         00754
  673012 IVETT E AYALA ALICEA                         COSTA DE ORO                  89 CALLE BE                                                                          DORADO            PR         00646
  673013 IVETT PIZARRO LLOPIZ                         HC 1 BOX 6907                                                                                                      LOIZA             PR         00772
  233287 IVETTE A ASENCIO DIAZ                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   673018 IVETTE A CHARNECO LLABRES                   COND PORTICOS DE GUAYNABO CALLE VILLEGAS 1 APT 61 01                                                               GUAYNABO          PR         00971

   673019 IVETTE A MERCADO ZAMBRANA                   VILLA ESPANA                  M 28 C SEGOVIA                                                                       BAYAMON           PR         00959
   233288 IVETTE A RIVERA VAZQUEZ                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233289 IVETTE A SEGUI RODRIGUEZ                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   673022 IVETTE A VELAZQUEZ TORRES                   37 PABELLONES                                                                                                      PONCE             PR         00731
   233290 IVETTE A. RAMOS ACEVEDO                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   673025 IVETTE ABREU AYALA                          P/C PASCUAL MARRERO           DEPTO DE SALUD            P O BOX 70184                                              SAN JUAN          PR         00936
   233292 IVETTE ACEVEDO ROJAS                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   673026 IVETTE ACOSTA HERNANDEZ                     URB SABANA GARDENS            I 20 CALLE 3                                                                         CAROLINA          PR         00983‐2902
          IVETTE ADORNO TORRES &                      JOSE MASSINI SOLER & HECTOR
   233294 OTROS,                                      RIVERA                        P O BOX 195357                                                                       SAN JUAN          PR         00919‐5357
   233295 IVETTE AGOSTO ORTIZ                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   673027 IVETTE AGUAYO PEREZ                         EXT ZENO GANDIA               EDF A 16 APT 99                                                                      ARECIBO           PR         00612
   673028 IVETTE AGUILAR MERCADO                      HC 06 BOX 13914                                                                                                    HATILLO           PR         00659
   673029 IVETTE ALAMO GOMEZ                          VILLA CAROLINA                18 BLQ 139 CALLE 410                                                                 CAROLINA          PR         00985
   673031 IVETTE ALMEDA RODRIGUEZ                     COLINAS DE QUEMADO            CALLE ARCO IRIS APT 690                                                              SAN LORENZO       PR         00754
   673032 IVETTE ALVARADO LEBRON                      URB LOS REYES                 CALLE 1 ORIENTE           CASA 2                                                     JUANA DIAZ        PR         00795

   673033 IVETTE ALVARADO MORALES                     232 AVE ELEONOR ROOSEVELT                                                                                          SAN JUAN          PR         00907
                                                      URB LAS DELICIAS BI 2 CALLE
   673035 IVETTE ALVARADO RAMOS                       GUANICA                                                                                                            PONCE             PR         00731
   233296 IVETTE ALVAREZ DELGADO                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233297 IVETTE ALVAREZ GARCIA                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233298 IVETTE ALVAREZ PADILLA                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   673036 IVETTE ALVAREZ PORRATA                      URB LA VISTA                  C 12 VIA PANORAMICA                                                                  SAN JUAN          PR         00924
   673037 IVETTE ALVAREZ QUINTANA                     LAS CUMBRES                   749 CALLE LINCOLN                                                                    SAN JUAN          PR         00926
   673038 IVETTE ALVAREZ VILLAREAL                    BO CARRIZALES                 290 CALLE MARGINAL                                                                   HATILLO           PR         00659‐2465
   673039 IVETTE AMADOR GARCIA                        PMB 104                       BOX 80000                                                                            ISABELA           PR         00662
   233299 IVETTE ANN ORTIZ PAGAN                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233300 IVETTE ANTONGIORGI COLON                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   673040 IVETTE APONTE NOGUERAS                      PO BOX 4952                                                                                                        CAGUAS            PR         00726‐4952
   673042 IVETTE AROCHO MOLINA                        HC 2 BOX 18080                                                                                                     SAN SEBASTIAN     PR         00685
   673043 IVETTE ATILES CANDELARIA                    UNIVERSITY                    E 60 APT 22                                                                          ARECIBO           PR         00612
   673044 IVETTE AVELLANET PEREZ                      COLLEGE PARK APT 1301 B                                                                                            SAN JUAN          PR         00921
   673046 IVETTE AVILES ECHEVARRIA                    BOX 999                                                                                                            MANATI            PR         00674
   233301 IVETTE AYALA AROCHO                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   673014 IVETTE AYALA CRUZ                           HC 01 BOX 2409                                                                                                     COMERIO           PR         00782
   233302 IVETTE AYALA GONZALEZ                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233305 IVETTE BAERGA VALENTIN                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   673049 IVETTE BAEZ SUAREZ                          APARTAMENTOS NORMA            3306 ANGELINA APT 13                                                                 PONCE             PR         00731
   233306 IVETTE BANCH PAGAN                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   673050 IVETTE BARBOSA LOPEZ                        P O BOX 221                                                                                                        LARES             PR         00669‐0221
   673051 IVETTE BARRETO COLON                        HC ‐ 02 ‐ 47097                                                                                                    VEGA BAJA         PR         00693
   673052 IVETTE BASABE FIGUEROA                      PO BOX 11183                                                                                                       SAN JUAN          PR         00910‐2283
   673015 IVETTE BATISTA MARTINEZ                     EL MIRADOR DE BAIROA          2015 CALLE 19                                                                        CAGUAS            PR         00725‐1016



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  673053 IVETTE BATISTA VAZQUEZ                       EL PARAISO               12D CALLE NILO                                                                        SAN JUAN          PR         00924
  673054 IVETTE BELTRAN SEPULVEDA                     URB REXVILLE             DF 11 CALLE 28                                                                        BAYAMON           PR         00957‐4111
  233307 IVETTE BELTRE                                REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  673055 IVETTE BENCEBI                               BO TERRANOVA             CARR 113 BUZ 6198                                                                     QUEBRADILLA       PR         00678
  233308 IVETTE BERRIOS RIVERA                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  233309 IVETTE BERRIOS VAZQUEZ                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  233310 IVETTE BERTRAN ASTOR                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  233311 IVETTE BETTE ALVIRA                          REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  233312 IVETTE BIBILONI GONZALEZ                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  673059 IVETTE BONET GONZALEZ                        RES LAS CASAS            EDF 9 APT 102                                                                         SAN JUAN          PR         00915
  673060 IVETTE BONILLA CANDELARIA                    HC 58 BOX 12261                                                                                                AGUADA            PR         00602
  233314 IVETTE BORGES ROSARIO                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  233315 IVETTE BORRERO MARTINEZ                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  233316 IVETTE BOVER SEDA                            REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  233317 IVETTE BUSSHER CRUZ                          REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  673062 IVETTE BUTLER NATAL                          URB LAS DELICIAS         4135 CALLE MANUEL M SAMA                                                              PONCE             PR         00728
  233318 IVETTE C OLIVERAS DORTA                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   673064 IVETTE C ZAVALA MALDONADO                   URB CAGUAX               1‐9 CALLE DUHO                                                                        CAGUAS            PR         00725
   673066 IVETTE CABRERA RIVERA                       URB REXVILLE             BD 10 CALLE 39                                                                        BAYAMON           PR         00957
   233320 IVETTE CALERO MULERO                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   673068 IVETTE CARABALLO LOPEZ                      BUENA VISTA              123 CALLE 4                                                                           SAN JUAN          PR         00917‐1434

   233322 IVETTE CARABALLO RODRIGUEZ                  REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   233323 IVETTE CARBALLO RODRIGUEZ                   REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          IVETTE CARMONA BDA
   673069 MARRERO CHAIR RENTAL                        AVE STA JUANITA BM 20                                                                                          BAYAMON           PR         00956
   233324 IVETTE CARRADERO VELLON                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   673071 IVETTE CASTRO QUINTERO                      COND LAS CAMELIAS        419 APT 811                                                                           SAN JUAN          PR         00926
   233327 IVETTE CENTENO MORALES                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   673072 IVETTE CHARNECO CARDONA                     P O BOX 2126                                                                                                   ARECIBO           PR         00613
   233330 IVETTE COLON DIAZ                           REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233331 Ivette Colon Figueroa                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   673073 IVETTE COLON RIVERA                         URB PASEO REAL           107 CALLE TOPACIO                                                                     DORADO            PR         00646
   233332 IVETTE COLON ROIG                           REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   673074 IVETTE COLON SUAREZ                         PO BOX 1952                                                                                                    CAGUAS            PR         00726
   673075 IVETTE COLON TORRES                         P O BOX 7646                                                                                                   CAGUAS            PR         00726
   673076 IVETTE COLON VAZQUEZ                        HC 04 BOX 7048                                                                                                 JUANA DIAZ        PR         00795
   233333 IVETTE COLON YERA                           REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   673078 IVETTE CORBET MARRERO                       COLINA DE FAIR VIEW      4W25 CALLE 223                                                                        TRUJILLO ALTO     PR         00976
   673079 IVETTE CORDERO BRACERO                      PUERTO NUEVO             531 ARTICO                                                                            SAN JUAN          PR         00921
   233334 IVETTE CORDERO MARTINEZ                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   673080 IVETTE CORTES RIVERA                        SABANA LLANA             416 CALLE RICON                                                                       SAN JUAN          PR         00923
   233335 IVETTE COSME GARCIA                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   673081 IVETTE COTTO TORRELLAS                      PO BOX 142976                                                                                                  ARECIBO           PR         00614
   673082 IVETTE CRUZ                                 HC 67 BOX 14656                                                                                                FAJARDO           PR         00738
                                                      23 C/ SEGUNDO GONZALEZ
   673083 IVETTE CRUZ COTTO                           PRIDA                                                                                                          YABUCOA           PR         00767
   673084 IVETTE CRUZ CRUZ                            VILLA DEL CARMEN         I 24 CALLE 9                                                                          GURABO            PR         00778
   233336 IVETTE CRUZ SUAREZ                          REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   673085 IVETTE CUEVAS LAFONTAINE                    PO BOX 1202                                                                                                    UTUADO            PR         00641
   233338 IVETTE D MEDINA VEGA                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  673086 IVETTE D ORTIZ SANDOVAL                      BO PALO ALTO BZN 52                                                                                                  MANATI              PR         00674
  673087 IVETTE D SANTIAGO CAMPOS                     URB STA TERASITA             BH3 CALLE 24                                                                            PONCE               PR         00731‐1914
  673088 IVETTE D SERRANO OYOLA                       P O BOX 2206                                                                                                         ARECIBO             PR         00613
  233339 IVETTE DAVILA TORRES                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  233340 IVETTE DE JESUS GOMEZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      98 PRUDENCIO RIVERA
   673089 IVETTE DE L VICENTE                         MARTINEZ                                                                                                             SAN JUAN            PR         00917
   233341 IVETTE DEL VALLE DAVILA                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673090 IVETTE DEL VALLE SOTO                       CONDOMONIO ROSARIO           256 CALLE ROSARIO APT 105                                                               SAN JUAN            PR         00912

   233342 IVETTE DELGADO MALDONADO                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673091 IVETTE DIAZ CANCEL                          P.O. BOX 777                                                                                                         TOA BAJA            PR         00951
   673092 IVETTE E ARROYO FUENTES                     HC 1 BOX 4083                                                                                                        YABUCOA             PR         00767
   673093 IVETTE E CASTRO FRANQUI                     P O BOX 364466                                                                                                       SAN JUAN            PR         00936‐4466
   673096 IVETTE ESCOBAR GARCIA                       HC 2 BOX 7417                                                                                                        CIALES              PR         00638
   233346 IVETTE ESPADA ORTIZ                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233348 IVETTE FANTAUZZI VALENTIN                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673099 IVETTE FEBRES REYES                         2 CALLE ANDRES ARUZ                                                                                                  CAROLINA            PR         00985

   673100 IVETTE FELICIANO ECHEVARRIA                 P O BOX 9000                 SUITE 712                                                                               AGUADA              PR         00602
   673101 IVETTE FELICIANO FELICIANO                  HC 3 BOX 17855                                                                                                       QUEBRADILLAS        PR         00678

   673102 IVETTE FELIPE CUERVO                        URB MERCEDITA                1753 CALLE SERENATA Y ALOA                                                              PONCE               PR         00717
   673103 IVETTE FERNANDEZ RIOS                       URB SANTA MARIA              A‐4 CALLE SANTA ELVIRA                                                                  TOA BAJA            PR         00949
   233349 IVETTE FERNANDEZ TORRES                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673107 IVETTE FIGUEROA                             RES LAS CAMELIAS             EDIF 419 APT105                                                                         SAN JUAN            PR         00924
   673108 IVETTE FONSECA RODRIGUEZ                    RR 3 BOX 10197                                                                                                       TOA ALTA            PR         00953
   673110 IVETTE FRANCO SANTOS                        URB VILLA PRADES             628 CALLE FELIPE GUTIERREZ                                                              SAN JUAN            PR         00924
   673111 IVETTE G GUZMAN PEREZ                       BOX 801                                                                                                              BOQUERON            PR         00622
   233352 IVETTE G. REYES MUNOZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673112 IVETTE GALARZA FLORES                       1RA SECCION VILLAS DEL REY   N 11 CALLE CUMBERLAND                                                                   CAGUAS              PR         00725
   673114 IVETTE GARCIA AGOSTO                        URB PARK HURST               49 CALLE GABRIEL RUARD                                                                  LAS PIEDRAS         PR         00771
                                                                                   575 CALLE GARFIELD URB LA
   673115 IVETTE GARCIA APONTE                        LA CUMBRE                    CUMBRE                                                                                  SAN JUAN            PR         00926
   673117 IVETTE GARCIA BELTRAN                       URB COUNTRY CLUB             HJ 5 CALLE 234                                                                          CAROLINA            PR         00982
   673118 IVETTE GARCIA BERRIOS                       PUEBLITO NUEVO 6             CALLE YARINO                                                                            PATILLAS            PR         00723
   233353 IVETTE GARCIA CABAN                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673016 IVETTE GARCIA CORDERO                       BO SAN ANTONIO               HC 01 BOX 3163                                                                          QUEBRADILLAS        PR         00678
   233354 IVETTE GARCIA MALDONADO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673113 IVETTE GARCIA MARTIS                        URB HERMANAS DAVILA          441 CALLE 1                                                                             BAYAMON             PR         00959
   233356 IVETTE GAUTIER PAGAN                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233357 IVETTE GAVILAN LAMBOY                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233358 IVETTE GOMEZ BLASSINO                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   673121 IVETTE GONZALEZ BUITRAGO                    530 AVE PONCE DE LEON STE 116                                                                                        SAN JUAN            PR         00901
   233359 IVETTE GONZALEZ CORREA                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   673122 IVETTE GONZALEZ HERNANDEZ & LEIRA N RAMIREZ CRIADO                       URB RIO HONDO                AG 22 CALLE ESPIRITU SANTO                                 BAYAMON             PR         00959
   673123 IVETTE GONZALEZ MARCIAL     FOREST VIEW                                  J 199 CALLE GUATEMALA                                                                   BAYAMON             PR         00956
   233361 IVETTE GONZALEZ MELENDEZ    REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233362 IVETTE GONZALEZ MIRANDA     REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233363 IVETTE GONZALEZ NIEVES      REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233365 IVETTE GONZALEZ RIVERA      REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  673127 IVETTE GONZALEZ TORRES                       PO BOX 19627                 FERNANDEZ JUNCOS STATION                                                                   SAN JUAN            PR         00910
  233366 IVETTE GUTIERREZ ROSARIO                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  673128 IVETTE H MELENDEZ REYES                      URB MONTE VERDE              C5 CALLE ALVENIA                                                                           MANATI              PR         00674
  233367 IVETTE HARBO RIVERA                          REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  233368 IVETTE HERNANDEZ                             REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   673130 IVETTE HERNANDEZ ADORNO                     COND PLAZAS DE TORRIMAR II   120 AVE LOS FILTROS APT 11209                                                              BAYAMON             PR         00959
   673132 IVETTE HERNANDEZ APONTE                     URB VILLA DE RIO VERDE       2212 CALLE SAN JOAQUIN                                                                     CAGUAS              PR         00725‐6453
   233369 IVETTE HERNANDEZ JIMENEZ                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233370 IVETTE HERNANDEZ SIERRA                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233372 IVETTE HUYKE DE FABELO                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233373 IVETTE I MORENO                             REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673136 IVETTE INFANTE RODRIGUEZ                    RES LUIS LLOREN TORRES       EDIF 89 APT 1717                                                                           SAN JUAN            PR         00913

   673137 IVETTE IRIZARRY ANTONMATTEI PO BOX 364046                                                                                                                           SAN JUAN            PR         00936‐4046
   673138 IVETTE IRIZARRY BAEZ        HC 03 BOX 14569                              BO CUESTAS DE CAGUANA                                                                      UTUADO              PR         00641

   233374 IVETTE J COLLAZO HERNANDEZ REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233375 IVETTE J MAISONET PAEZ       REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233376 IVETTE J MEDINA FONSECA      REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233377 IVETTE J ORTIZ VEGA          REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233378 IVETTE J PELLOT LOPEZ        REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673139 IVETTE J RIVERA ROSARIO      EXT PARQUE ECUESTRE                         H 14 CALLE 40                                                                              CAROLINA            PR         00987
   673141 IVETTE JIMENEZ BARRETO       CALLE OJEDA #70                                                                                                                        SAN JUAN            PR         00903
   233379 IVETTE JIMENEZ GABINO        REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673142 IVETTE JURADO VELAZQUEZ      JAIME C RODRIGUEZ                           M 8 CALLE 7                                                                                YABUCOA             PR         00767
   673143 IVETTE JUSINO TORRES         HC 9 BOX 3920                                                                                                                          SABANA GRANDE       PR         00637
   233382 IVETTE L DIAZ MENDOZA        REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233384 IVETTE LA PARTE CACQUIAS     REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IVETTE LABOY MARTINEZ ,JORGE
   673144 VELAZQUEZ &                  MARIA DEL C PAGAN                           TOA ALTA HEIGHTS                Q 31 CALLE 21                                              TOA ALTA            PR         00953
                                       C 5 URB TOMAS CARRION
   673145 IVETTE LABOY VELAZQUEZ       MADURO                                                                                                                                 JUANA DIAZ          PR         00795
   673146 IVETTE LAHOZ VERGES          URB PERLA DEL SUR                           2779 CALLE LAS CARROZAS                                                                    PONCE               PR         00731
   233385 IVETTE LATORRE RIVERA        REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673147 IVETTE LIN ORTZ              VALLE HERMOSO                               14 CALLE BELLISIMA                                                                         HORMIGUEROS         PR         00660
   233386 IVETTE LINARES               REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233387 IVETTE LINARES DOX           REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233388 IVETTE LINARES RIVERA        REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673148 IVETTE LIND DE JESUS         VILLA DEL RIO                               EDIF 4 APT 54                                                                              NAGUABO             PR         00718
   233389 IVETTE LLANOS BULTRON        REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673149 IVETTE LOPEZ ANDINO          RES LUIS LLORENS TORRES                     EDIF 22 APTO 450                                                                           SAN JUAN            PR         00915
   673150 IVETTE LOPEZ CUEVAS          URB LA VILLA DE TORRIMAR                    239 CALLE REY FEDERICO                                                                     GUAYNABO            PR         00969‐3259
   233390 IVETTE LOPEZ FIGUEROA        REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673151 IVETTE LOPEZ GARCIA          BOX 1782                                                                                                                               MAYAGUEZ            PR         00680
   233391 IVETTE LOPEZ GONZALEZ        REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673153 IVETTE LOPEZ ORTIZ           HC 04 BOX 44 049                                                                                                                       LARES               PR         00669
   673154 IVETTE LOPEZ RUIZ            P O BOX 2715                                                                                                                           ARECIBO             PR         00613
   673155 IVETTE LUCIANO GARCIA        PO BOX 1271                                                                                                                            GURABO              PR         00778
   233394 IVETTE LUGO FABRE            REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673156 IVETTE M ACEVEDO BARRETO     HC 3 BOX 7629                                                                                                                          MOCA                PR         00676
   233395 IVETTE M APONTE TORRES       REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   673158 IVETTE M ARROYO VILLANUEVA                  HC 01 BOX 8415                                                                                                 GURABO              PR           00778
   233397 IVETTE M BENITEZ LABORDE                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   673159 IVETTE M CARTAGENA RIVERA                   213 CALLE SAN JOSE                                                                                             AIBONITO            PR           00705
   233398 IVETTE M COLON NUNEZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233399 IVETTE M COLON ROSAS                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233400 IVETTE M CRUZ BARREIRO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   673160 IVETTE M DAVILA AYALA                       BO DAGUAO PARCELAS VIEJAS   83 CUESTA ESPERANZA                                                                NAGUABO             PR           00718
   233401 IVETTE M DE JESUS GOMEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   673161 IVETTE M DIOU CENTENO                       PORTALES DEL MONTE          APT 1902 COTTO LAUREL                                                              PONCE               PR           00780
   233402 IVETTE M ELICIER RIVERA                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   673162 IVETTE M FABELO HUYKE                       4975 WASHINGTON STRREET 215                                                                                    WEST ROXBURY        MA           02132
   233403 IVETTE M GONZALEZ LEBRON                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   673164 IVETTE M GONZALEZ MARTINEZ HC 03 BOX 11875                                                                                                                 CAMUY               PR           00627

   233404 IVETTE M GRAJALES MELENDEZ                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   233406 IVETTE M LEGARRETA CAMACHO REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   673168 IVETTE M LOPEZ             PO BOX 144                                                                                                                      CASTANER            PR           00631

   673169 IVETTE M MARTINEZ MARTINEZ                  HC 33 BOX 5190                                                                                                 DORADO              PR           00646
   673170 IVETTE M MELENDEZ PEREZ                     URB JARD DE VEGA BAJA       O 10 CALLE T                                                                       VEGA BAJA           PR           00693
   673171 IVETTE M MONELL                             95 CALLE MERCADO                                                                                               AGUADILLA           PR           00603
   673172 IVETTE M MONTES LEBRON                      28 FERNANDEZ GARCIAS        SUITE 12                                                                           LUQUILLO            PR           00773
   673173 IVETTE M NIEVES PEREZ                       HC 2 BOX 7276                                                                                                  UTUADO              PR           00641
   233409 IVETTE M PADILLA KUINLAM                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233410 IVETTE M PEREZ BURGOS                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   233411 IVETTE M PETERSON DELGADO                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233412 IVETTE M RAMIREZ MONTES                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233413 IVETTE M RODRIGUEZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          IVETTE M RODRIGUEZ
   233414 MALDONADO                                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          IVETTE M ROSSY RUANO ESC
   233415 LUIS MUNOZ RIV                              ESC LUIS MUNOZ RIVERA       BOX 548                                                                            DORADO              PR       00646
   233416 IVETTE M SANTIAGO REYES                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   673174 IVETTE M SERRANO DAVILA                     BO BUCARABONES CALLE 2      CARR 2 KM 18 3                                                                     TOA ALTA            PR       00953
   233417 IVETTE M SIERRA ESPADA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   233418 IVETTE M SOTO MORENO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   233419 IVETTE M THON PINERO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
          IVETTE M TORRES RIVERA EL SS
   233420 583879279                                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          IVETTE M TRISTANI RODRIGUEZ/
   233421 JOMA DESIGN                                 REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          IVETTE M VILLANUEVA
   233422 FIGUEROA                                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   233423 IVETTE M. MALDONADO GARCIA REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          IVETTE M. MAYSONET
   233424 QUINONES                                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   233425 IVETTE M. ORTIZ CINTRON                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   233426 IVETTE M. RIOS HERNANDEZ                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   233427 IVETTE M. RIVERA CARABALLO                  REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   233428 IVETTE M. RODRIGUEZ                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   673179 IVETTE MADERA TORO                          SUITE 137 PO BOX 5000                                                                                          SAN GERMAN          PR         00683
   233429 IVETTE MALAVE MONTILLA                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   673180 IVETTE MALDONADO                            URB VILLA BORINQUEN     425 CALLE DUAY                                                                         SAN JUAN            PR         00920
   233430 IVETTE MALDONADO FLORES                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   673181 IVETTE MALDONADO PEREZ                      BOX 104                 CALLE C HATO ARRIBA                                                                    ARECIBO             PR         00612
   233431 IVETTE MALDONADO RIVERA                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   673182 Ivette Marchan Jaspard                      URB DOS PINOS 833       CALLE DR. LOPEZ SICARDO                                                                SAN JUAN            PR         00923
   673184 IVETTE MARGOLLA MARTINEZ                    BOX 514                                                                                                        UTUADO              PR         00612
   673185 IVETTE MARIN MOLINA                         EXT VILLA LOS SANTOS    2‐09 CALLE ACERINA                                                                     ARECIBO             PR         00612
   233434 IVETTE MARIN RIVERA                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   673186 IVETTE MARQUEZ SANTIAGO                     URB EXT COMANDANTE      1227 CALLE NICOLAS AGUAYO                                                              CAROLINA            PR         00986
   673187 IVETTE MARTIN MELENDEZ                      AA 65 LOS ALMENDROS                                                                                            PONCE               PR         00731
   233435 IVETTE MARTINEZ ALAGO                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   673188 IVETTE MARTINEZ TORRES                      HC 1 BOX 4064                                                                                                  JUANA DIAZ          PR         00795
   673189 IVETTE MATOS ARROYO                         LAS LOMAS               SO 1771 CALLE 12                                                                       SAN JUAN            PR         00921
   673190 IVETTE MATOS PIMENTEL                       CALLE LA ROSA #1009                                                                                            SAN JUAN            PR         00901
   673191 IVETTE MELECIO BERRIOS                      PO BOX 625                                                                                                     SABANA HOYOS        PR         00688
   233437 IVETTE MELENDEZ ALVARADO                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   673192 IVETTE MELENDEZ AYALA                       1006 COND LOS PINOS                                                                                            CAGUAS              PR         00725
   233439 IVETTE MELENDEZ DUENO                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   233440 IVETTE MELENDEZ PACHECO                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   673194 IVETTE MELENDEZ PEREZ                       HC 2 BOX 7295                                                                                                  UTUADO              PR         00641
   233441 IVETTE MELENDEZ QUINONES                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   673195 IVETTE MELENDEZ SANCHEZ                     PO BOX 30241                                                                                                   SAN JUAN            PR         00929‐1241
   673196 IVETTE MENDEZ                               HC 01 BOX 4646                                                                                                 CAMUY               PR         00627
   233444 IVETTE MENDEZ COLOMBANI                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   233445 IVETTE MENDEZ VALENTIN                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   233446 IVETTE MERCADO PINEIRO                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   233447 IVETTE MERCED MORALES                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   673197 IVETTE MERLIN                               HAITIAN GALLERY         206 FORTALEZA STREET                                                                   SAN JUAN            PR         00901

   673198 IVETTE MIRANDA HERNANDEZ                    HC BOX 9905                                                                                                    BARRANQUITAS        PR         00794
   673199 IVETTE MIRANDA RODRIGUEZ                    HC 03 BOX 31699                                                                                                MAYAGUEZ            PR         00680
   673200 IVETTE MOLINA MARTINEZ                      P O BOX 550                                                                                                    SABANA SECA         PR         00952
   673201 IVETTE MOLINA ROSADO                        HC 1 BOX 90949732                                                                                              CANOVANAS           PR         00729
   673202 IVETTE MORALES                              RR 02 BOX 6108                                                                                                 MANATI              PR         00674
   233448 IVETTE MORALES ARZUAGA                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   233449 IVETTE MORALES JIMENEZ                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   673203 IVETTE MORALES LUNA                         RR 2 BOX 5377           BO ARENAS                                                                              CIDRA               PR         00739
   233450 IVETTE MORALES RODRIGUEZ                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   673206 IVETTE MOREL                                JARD DE GURABO          67 CALLE 2                                                                             GURABO              PR         00778
   673207 IVETTE MORENO SANCHEZ                       422 CALLE FRANCIA                                                                                              SAN JUAN            PR         00917‐4109
   673209 IVETTE MULERO RODRIGUEZ                     QUINTAS DE BALDWIN      APT 103 RIO BAYAMON                                                                    BAYAMON             PR         00959
   233452 IVETTE MUNOZ MERCADO                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   673211 IVETTE N RIVERA ROMERO                      URB RIO GRANDE ESTATE   Z 9 CALLE 21                                                                           RIO GRANDE          PR         00745
   233454 IVETTE N ROLON CARRERO                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  233455 IVETTE N. IRIZARRY RIVERA                     REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  673212 IVETTE NEGRON FIGUEROA                        HC 1 BOX 7409                                                                                                          SALINAS             PR         00751
  673213 IVETTE NEGRON GARCIA                          HC 1 BOX 6815                                                                                                          MOCA                PR         00676

   673214 IVETTE NEGRON LUCIANO                        232 AVE ELEONOR ROOSEVELT                                                                                              SAN JUAN            PR         00907
   673216 IVETTE NEGRON MIRAILH                        VILLAS DE CANEY                 F 14 CALLE AGUEYBANA                                                                   TRUJILLO ALTO       PR         00976
   673217 IVETTE NEGRON MORALES                        URB VIEW                        ZA 28 CALLE 36                                                                         BAYAMON             PR         00961
   233456 IVETTE NEVAREZ BARRETO                       REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673219 IVETTE NIEVES CORDERO                        URB SAN IGNACIO                 1720 CALLE SAN EDUARDO                                                                 SAN JUAN            PR         00927
   673220 IVETTE NIEVES PELUYERAS                      HC 1 BOX 5276                                                                                                          GUAYNABO            PR         00971
   233457 IVETTE NUNEZ BERMUDEZ                        REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233458 IVETTE O REYES                               REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                       I‐24 CALLE 7 URB VISTA
   673221 IVETTE OCASIO DIAZ                           HERMOSA                                                                                                                HUMACAO             PR         00791

   673222 IVETTE OLAVARNA VEGA                         EDIF A‐2 APTO 08 RES. LA ROSA                                                                                          SAN JUA             PR         00926
   233459 IVETTE OLAVARRIA CRUZ                        REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673223 IVETTE OQUENDO JORGE                         P O BOX 8705                                                                                                           PONCE               PR         00732

   673224 IVETTE ORTEGA RODRIGUEZ                      C37 GG‐3 JARDINES DE CAPARRA                                                                                           BAYAMON             PR         00958
   673225 IVETTE ORTIZ                                 EL TUQUE                     70 CALLE BD NUEVA VIDA                                                                    PONCE               PR         00731
   673227 IVETTE ORTIZ CINTRON                         JARDINES DE ARROYO           J 12 CALLE G                                                                              ARROYO              PR         00714
   233460 IVETTE ORTIZ DE JESUS                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673228 IVETTE ORTIZ GONZALEZ                        URB LUCHETTI                 A 1 CALLE 3                                                                               YAUCO               PR         00698
   673229 IVETTE ORTIZ REYES                           HC 44 BOX 12605                                                                                                        CAYEY               PR         00736‐9707

   673230 IVETTE OSTOLAZA RODRIGUEZ                    COND MONTE SUR                  180 AVE HOSTOS APT 316 B                                                               SAN JUAN            PR         00918
   233461 IVETTE PADILLA CABALLERO                     REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673231 IVETTE PADILLA SOLER                         326 CALLE CANTERA                                                                                                      MAYAGUEZ            PR         00680
   673232 IVETTE PASARELL RIVERA                       URB SAGRADO CORAZON             1790 CALLE SANTA CLARA                                                                 SAN JUAN            PR         00926 4236
   233463 IVETTE PENA ORTIZ                            REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233464 IVETTE PENA RODRIGUEZ                        REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233465 IVETTE PEREZ ALVAREZ                         REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673233 IVETTE PEREZ CHIESA                          URB UNIVERSITY GARDENS          780 CALLE HOWARD                                                                       SAN JUAN            PR         00927‐4026
   673234 IVETTE PEREZ DIAZ                            PMB 459                         PO BOX 70344                                                                           SAN JUAN            PR         00936‐8344
   673235 IVETTE PEREZ FIGUEROA                        RES LUIS LLORENS TORRES         EDF 85 APT 1671                                                                        SAN JUAN            PR         00913
   233467 IVETTE PEREZ JIMENEZ                         REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673236 IVETTE PEREZ LAMOURT                         P O BOX 5236                                                                                                           SAN SEBASTIAN       PR         00685
   673237 IVETTE PEREZ NIEVES                          REPARTO METROPOLITANO           1159 CALLE 56 SE                                                                       SAN JUAN            PR         00921
   233469 Ivette Perez Rivera                          REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233470 IVETTE PEREZ TORO                            REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233471 IVETTE PINEIRO SANCHEZ                       REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233472 IVETTE POMALES TORRES                        REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   673239 IVETTE PRATTS PONCE DE LEON                  URB SAN MARTIN                  1373 CALLE OLGA ESPERANZA                                                              SAN JUAN            PR         00924
   233473 IVETTE PUCHOLS AVILES                        REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673240 IVETTE QUILES                                URB COUNTRY CLUB                830 CALLE MIGUEL XIARRO                                                                SAN JUAN            PR         00924
   673242 IVETTE QUILES PEREZ                          RES SAN ANDRES                  EDIF 2 APTO 50                                                                         SAN SEBASTIAN       PR         00685

   233474 IVETTE QUINONES JUSTINIANO                   REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233475 IVETTE QUINTANA AVILES                       REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673244 IVETTE R SANDOVAL CORTES                     BOX 875                                                                                                                CAYEY               PR         00737
   673245 IVETTE RAMIREZ DE LOPEZ                      VILLA DEL MONTE                 127 CALLE MONTE CLARA                                                                  TOA ALTA            PR         00953



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   673246 IVETTE RAMIREZ RIVERA                       COND PLAZA DEL PARQUE        233 CALLE DEL PARQUE APT 704                                                              SAN JUAN            PR           00912
   673247 IVETTE RAMIREZ SANCHEZ                      P O BOX 871                                                                                                            RINCON              PR           00617
   673248 IVETTE RAMOS                                HC 1 BOX 4236                BO MAIZALES                                                                               NAGUABO             PR           00718‐9708
   233476 IVETTE RAMOS BUONOMO                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   673249 IVETTE RAMOS CRUZ                           BO BORINQUEN BOX 2150                                                                                                  AGUADILLA           PR           00603
   673250 IVETTE RAMOS FIGUEROA                       575 DE DIEGO APTO 301                                                                                                  SAN JUAN            PR           00924
   673251 IVETTE RAMOS VALLE                          RES CUESTA VIEJA             EDIF 9 APT 106                                                                            AGUADILLA           PR           00603
   673252 IVETTE RENTAS COLLAZO                       P O BOX 1150                                                                                                           JAYUYA              PR           00664
   673253 IVETTE REQUENA RIVERA                       RES NARCISO VARONA           EDIF 3 APT 23                                                                             JUNCOS              PR           00777
                                                      URB LA PROVIDENCIA 2 A 8
   673256 IVETTE REYES CRUZ                           CALLE 12                                                                                                               TOA ALTA            PR           00953
   673258 IVETTE REYES OCASIO                         BAYAMON GARDENS STA          P O BOX 3460                                                                              BAYAMON             PR           00958

   673259 IVETTE RINAW GUARDIOLA                      COND SAN JUAN PARK APTO H 9                                                                                            SAN JUAN            PR           00909
   673261 IVETTE RIVERA                               PO BOX 190754                                                                                                          SAN JUAN            PR           00919
   233480 IVETTE RIVERA AGOSTO                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   673263 IVETTE RIVERA CENTENO                       URB ROLLING HILLS           C 91 CALLE BRASIL                                                                          CAROLINA            PR           00987
   673268 IVETTE RIVERA HENRIQUE                      1201 CALLE 4 NE                                                                                                        SAN JUAN            PR           00920
   233481 IVETTE RIVERA MORALES                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   673271 IVETTE RIVERA PABON                         PO BOX 2943                                                                                                            CAROLINA            PR           00984
   673272 IVETTE RIVERA PEREZ                         BO MOROVIS                  CARR 618 KM 9                                                                              MOROVIS             PR           00687
   233483 IVETTE RIVERA RAMOS                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233484 IVETTE RIVERA RIOLLANO                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233485 IVETTE RIVERA RIVERA                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233486 IVETTE RIVERA RODRIGUEZ                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                  IJ27 CALLE PALMA REL URB
   673276 IVETTE RIVERA ROLON                         ROYAL PALM TOWNHOUSES       ROYAL PALM                                                                                 BAYAMON             PR           00956
   673278 IVETTE RIVERA SERRANO                       HC 02 BOX 4148                                                                                                         LAS PIEDRAS         PR           00771
   233487 IVETTE RIVERA ZAYAS                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   673281 IVETTE ROBLES MATS                          B 25 CALLE SAN RAFAEL                                                                                                  LOIZA               PR           00772
   673282 IVETTE RODRIGUEZ ANGLERO                    URB PONCE DE LEON           191 C/ 22                                                                                  GUAYNABO            PR           00969
   673284 IVETTE RODRIGUEZ ESTRELLA                   HC 2 BOX 4946                                                                                                          LAS PIEDRAS         PR           00771

   233488 IVETTE RODRIGUEZ FIGUEROA                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   673286 IVETTE RODRIGUEZ GARCIA                     HC 1 BOX 3803                                                                                                          SALINAS             PR           00751‐9702

   673287 IVETTE RODRIGUEZ HERNANDEZ URB TURABO GARDENS                            F 32 CALLE 7                                                                              CAGUAS              PR           00725 6015
   673288 IVETTE RODRIGUEZ LEON      PO BOX 20                                                                                                                               GURABO              PR           00778
   233489 IVETTE RODRIGUEZ LOPEZ     REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                     6 CALLE FLORENCIO SANTIAGO
   673290 IVETTE RODRIGUEZ PEREZ     ALTOS                                                                                                                                   COAMO               PR           00769
   233490 IVETTE RODRIGUEZ QUESADA   REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233491 IVETTE RODRIGUEZ RIVERA    REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   673291 IVETTE RODRIGUEZ RODRIGUEZ                  HC 05 BOX 57716                                                                                                        CAGUAS              PR           00725‐9234
   233492 IVETTE RODRIGUEZ RUIZ                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   233493 IVETTE RODRIGUEZ SANTIAGO                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   233494 IVETTE RODRIGUEZ VELAZQUEZ                  REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233495 IVETTE ROLON SANTIAGO                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   673293 IVETTE ROMAN DE JESUS                       COUNTRY CLUB                 818 CALLE PETRIOTO                                                                        SAN JUAN            PR           00924



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  233496 IVETTE ROMAN MORALES                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  673294 IVETTE ROMAN ROBERTO                         URB COLINAS DE CUPEY           B 11 CALLE 2                                                                      SAN JUAN           PR         00926
  673295 IVETTE ROMAN ROMAN                           RES LOS NARANJALES             EDIF C 17 APT H 41                                                                CAROLINA           PR         00985
  233503 IVETTE ROSA RIVERA                           REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  673297 IVETTE ROSA RODRIGUEZ                        NUEVO MAMEYES                  D 45 CALLE 4                                                                      PONCE              PR         00730
  233504 IVETTE ROSADO MARTINEZ                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  233505 IVETTE ROSADO QUINONES                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  673298 IVETTE ROSARIO MELENDEZ                      LAGOS BLASINA                  EDIF 2 APT 32                                                                     CAROLINA           PR         00985
  233506 IVETTE ROSARIO RIVERA                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  673299 IVETTE ROSARIO RODRIGUEZ                     HC 83 BOX 714 6                                                                                                  VEGA ALTA          PR         00693
  233507 IVETTE ROYER GAUTIER                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  233508 IVETTE RUDON RIVERA                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  233509 IVETTE RUIZ COLON                            REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  673300 IVETTE RUIZ DE LOPEZ                         HC 10 BOX 7330                                                                                                   SABANA GRANDE      PR         00637
  233510 IVETTE RUIZ MARTINEZ                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  673301 IVETTE RUIZ ROMAN                            HC 2 BOX 11327                                                                                                   HUMACAO            PR         00791
  673304 IVETTE RUIZ VILLANUEVA                       COND DALIAS HILLS              BOX 59                                                                            BAYAMON            PR         00959‐7818
  233511 IVETTE S DE JESUS CORRADA                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  233513 IVETTE S VEGA RAMOS                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  673307 IVETTE SAN MIGUEL                            502 AVE DE DIEGO                                                                                                 SAN JUAN           PR         00920
  673310 IVETTE SANCHEZ RODRIGUEZ                     RES ARISTIDES CHAVIER          43 APT 412                                                                        PONCE              PR         00728‐2868
  233514 IVETTE SANCHEZ SOLIS                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  233516 IVETTE SANDE LOPEZ                           REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  233517 IVETTE SANDOVAL CORTES                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  673311 IVETTE SANTANA MEDINA                        LAS VEGAS                      I 8 CALLE 5                                                                       FLORIDA            PR         00627
  233518 IVETTE SANTIAGO ARCE                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  233519 IVETTE SANTIAGO CAMACHO                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   673312 IVETTE SANTIAGO DE VAZQUEZ                  26 CALLEJON AVISPA                                                                                               PONCE              PR         00731
   233520 IVETTE SANTIAGO GONZALEZ                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   673313 IVETTE SANTIAGO LOPEZ                       BO AIBONITO SECTOR SUAREZ                                                                                        HATILLO            PR         00659

   233521 IVETTE SANTIAGO RODRIGUEZ                   REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   673319 IVETTE SANTIAGO SIERRA                      URB VILLAS DE CANEY I          1 CALLE OROCOVIS                                                                  TRUJILLO ALTO      PR         00976

   233523 IVETTE SARAI CENTENO IBANEZ                 REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   673321 IVETTE SEDA                                 MONTECASINO HEIGHTS            209 RIO GUANANI                                                                   TOA ALTA           PR         00953
   673322 IVETTE SEPULVEDA DIAZ                       HC 2 BOX 14284                                                                                                   CAROLINA           PR         00987
   233525 IVETTE SERRANO HERNANDEZ                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   233526 IVETTE SHUAIB SANTIAGO                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   673323 IVETTE SIERRA MOLINA                        2‐178 CALLE VICTOR ROJAS                                                                                         ARECIBO            PR         00612
   673324 IVETTE SILVA NAVARRO                        PO BOX 9020929                                                                                                   SAN JUAN           PR         00902‐0929
   673325 IVETTE SOLER                                47023 TOWNSEND AVENUE                                                                                            LOS ANGELES        CA         90041

   673326 IVETTE SOLIS SANCHEZ                        59 CALLE ANDRES ARUZ RIVERA                                                                                      CAROLINA           PR         00985

   673327 IVETTE SUAREZ MONDESI                       HOSP PSIQUIATRIA RIO PIEDRAS   ASSMCA                                                                            Hato Rey           PR         00914‐0000
   673329 IVETTE TALAVERA CRUZ                        OJO DE AGUA                    29 CALLE AZUCENA                                                                  VEGA BAJA          PR         00963
   233527 IVETTE TALAVERA ZAMBRANA                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   233528 IVETTE TIRADO RAMOS                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   673331 IVETTE TORRES / SONRISAS INC                NOTRE DAME                     B 20 CALLE BARTOLOME                                                              CAGUAS             PR         00725



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  233529 IVETTE TORRES LATIMER                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  233530 IVETTE TORRES LOPEZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  673333 IVETTE TORRES RAMOS                          P O BOX 648                                                                                                         ADJUNTAS             PR         00601
  673335 IVETTE TORRES RODRIGUEZ                      COND SABANA VILLAGE          CALLE FINA APT 226                                                                     SAN JUAN             PR         00924
  673336 IVETTE TORRES VELEZ                          EL VALLE                     487 GARDENIA                                                                           LAJAS                PR         00667
  233531 IVETTE TORRES VERA                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  673337 IVETTE TOSCA DELGADO                         HC 1 BOX 5050                                                                                                       JUNCOS               PR         00777‐9701
         IVETTE V CARRASQUILLO
  233532 RODRIGUEZ                                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  233533 IVETTE VARELA PADRO                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  673341 IVETTE VARGAS MONTES                         URB OCEAN PARK               55 CALLE GERTRUDIS                                                                     SAN JUAN             PR         00911
  673344 IVETTE VAZQUEZ GONZALEZ                      C A 3 JARDINES DE CAROLINA                                                                                          CAROLINA             PR         00985

   233535 IVETTE VAZQUEZ MALDONADO                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   233536 IVETTE VAZQUEZ ORTA                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   673345 IVETTE VAZQUEZ SANCHEZ                      HC 04 BOX 4278                                                                                                      HUMACAO              PR         00791
   233537 IVETTE VEGA COLON                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   673346 IVETTE VEGA DIAZ                            HC 03 BOX 9386                                                                                                      DORADO               PR         00646
   673347 IVETTE VEGA SERRANO                         CLENVIEW GARDEN              TB 52 CALLE N 21                                                                       PONCE                PR         00731
   673348 IVETTE VEGA VEGA                            HC 03 BOX 9420                                                                                                      LARES                PR         00669
   673350 IVETTE VELAZQUEZ RAMIREZ                    URB REINA DE LOS ANGELE      C 12 CALLE 7                                                                           GURABO               PR         00778
   233538 IVETTE VELEZ HERRERO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   673351 IVETTE VELEZ NIEVES                         RR 4 BOX 1120                                                                                                       BAYAMON              PR         00956
   673352 IVETTE VELEZ RIVERA                         URB EL CONQUISTAR            157 CALLE 5                                                                            TRUJILLO ALTO        PR         00976
   233539 IVETTE VELEZ VELEZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   673353 IVETTE VENTURA RIVERA                       VILLA SULTANITA              681 CALLE 11                                                                           MAYAGUEZ             PR         00681
   673354 IVETTE VERA PEREZ                           URB VILLA GRILLASCA          730 CALLE VIRGILIO BIAGGI                                                              PONCE                PR         00717
   673355 IVETTE VIDOT BIRRIEL                        VICTOR ROJAS II              105 CALLE 6                                                                            ARECIBO              PR         00612
   673356 IVETTE VILLA ELIAS                          COMUNIDAD ESTELLA            3237 CALLE 5                                                                           RINCON               PR         00677

   233540 IVETTE VILLANUEVA GONZALEZ                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   673357 IVETTE W LORENZO SOTO                       P O BOX 2134                                                                                                        ARECIBO              PR         00613
   673358 IVETTE WILLIAMS WALKER                      P O BOX 20000 PMB 313                                                                                               CANOVANAS            PR         00729
   673359 IVETTE WINNIE                               3428 KINGFISHER DR                                                                                                  CLARKSVILLE          TN         37042

   233541 IVETTE Y DELGADO FELICIANO                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   673361 IVETTE Y SANCHEZ SIERRA                     RIO BLANCO                   P O BOX 112                                                                            NAGUABO              PR         00744
   673364 IVETTE YANCE RIVERA                         MADELINE                     M 19 CALLE AMATISTA                                                                    TOA ALTA             PR         00953

   673365 IVETTE YOLANDA OTERO COLON VEGA BAJA LAKES                               C 30 CALLE 3                                                                           VEGA BAJA            PR         00693

   673367 IVETTE ZAPATA ALMODOVAR                     939 FRAMLINGHAM CT APT 101                                                                                          LAKE MARY            FL         32746
   233542 IVETTE, RIVERA                              REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   673371 IVIA CRUZ ANGULO                            JARDINES DE BORINQUEN        O 44 CALLEE 1                                                                          CAROLINA             PR         00985
   673372 IVIA E MARIN GALARZA                        VILLA DEL CARMEN             911 CALLE SAMARIA                                                                      PONCE                PR         00716
   233543 IVIA E PANTOJA QUINTANA                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   673373 IVIA E SANCHEZ                              26 CALLE MUNOZ RIVERA                                                                                               SAN SEBASTIAN        PR         00685‐2249
   673374 IVIA I OJEDA CARABALLO                      URB VILLA FONTANA            2 Q L 209 VIA 7                                                                        CAROLINA             PR         00983
   233544 IVIA I. ALVAREZ BOYER                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   673377 IVIA M DIAZ PEREZ                           P M B 115                    3071 AVE ALEJANDRINO                                                                   GUAYNABO             PR         00969‐7035
   233545 IVIA SANCHEZ ZABALA                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   233546 IVIANA CRISTAL FRED MILLAN                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   673378 IVIANETTE MORALES                           PO BOX 694                                                                                                          COMERIO              PR         00782



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  233547 IVIANETTE VELEZ RIVERA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  233548 IVIN ADAMS LOPEZ                              REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  233549 IVINDA TOSADO RAMOS                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  233551 IVIS C ALVAREZ PEREZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  233552 IVIS COLON VAZQUEZ                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  233558 IVIS I SANCHEZ VEGA                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  233559 IVIS J OSORIO NIEVES                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  673381 IVIS J RIVERA FUENTES                         P O BOX 514                                                                                                        CAROLINA          PR       00985
  673382 IVIS M CRUZ AVILA                             87 CALLE PATILLAS                                                                                                  SAN JUAN          PR       00917
  233560 IVIS M ERAZO SANCHEZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  233561 IVIS M LOPEZ IRIZARRY                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  233562 IVIS M MATIAS ROMAN                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  673384 IVIS N. RIOS CARDONA                          HC 1 BOX 11353                                                                                                     SAN SEBASTIAN     PR       00685
  673385 IVIS ORTIZ RIVERA                             BO CORDILLERA               HC 2 BOX 7190                                                                          CIALES            PR       00638
  673386 IVIS SALGADO                                  SAN ANTONIO HIGUILLAR       CALLE 7 PARC 63 A                                                                      DORADO            PR       00646
  233564 IVIS V GUZMAN VELEZ                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  673387 IVIS W NEGRON MARTINEZ                        P O BOX 1658                                                                                                       COROZAL           PR       00783
  673388 IVIS Y FUENTES CIRINO                         BO JOBO MEDIANIA BAJA       CARR 187 KM 8 8 INT                                                                    LOIZA             PR       00772
  233566 IVISSELISE RIVERA BLANCO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  233567 IVIZ L PACHECO MONTES                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED

   233568 IVL SERV ORTO DEL OESTE INC                  PO BOX 1634                                                                                                        SAN SEBASTIAN     PR         00685
   673389 IVO GODEN TORRES                             HC 04 BOX 42321                                                                                                    MAYAGUEZ          PR         00680
   233569 IVO R MARTINEZ RIVERA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED
   233570 IVO RUIZ ANDREU                              REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED
   673391 IVOLL MARTINEZ                               HC 7 BOX 2393                                                                                                      PONCE             PR         00731
   233571 IVON L REYES HERNANDEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED
   673392 IVONE RIVERA MARTINEZ                        PO BOX 1140                                                                                                        MOROVIS           PR         00687
   233572 IVONMARY SANTIAGO RIVERA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED
   673396 IVONNE A CABRERA ORTIZ                       BO ALMIRANTE NORTE          PO BOX 831                                                                             VEGA BAJA         PR         00694

   233574 IVONNE A MARTINEZ ROSADO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED
   233575 IVONNE A RUBIO NATER                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED
   233576 IVONNE A SEPULVEDA AGRAIT                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED

   233577 IVONNE A. VELAZQUEZ AGOSTO REDACTED                                      REDACTED                     REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED   REDACTED
                                                                                   690 CALLE CESAR GONZALEZ APT
   673398 IVONNE ACOSTA LESPIER                        COND PARQUES DE LA FUENTE   503                                                                                    SAN JUAN          PR         00918
   673399 IVONNE AGOSTO TRENCHE                        PO BOX 17                                                                                                          CANOVANAS         PR         00729
   673402 IVONNE ALVAREZ QUINONEZ                      VILLAS DE HATILLO APT 506                                                                                          HATILLO           PR         00659
   233578 IVONNE AMADOR DELGADO                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED
   233579 IVONNE AMARO ALONSO                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED
   233580 IVONNE ANGULO RODRIGUEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED
   673403 IVONNE APONTE DE JESUS                       BO OLIMPO                   522 CALLE G                                                                            GUAYAMA           PR         00786
   673404 IVONNE ARANA                                 RR 9 BOX 1837                                                                                                      SAN JUAN          PR         00926
   673405 IVONNE ARCE NEGRON                           BDA OBRERA                  16 CALLE GONZALEZ                                                                      HUMACAO           PR         00791

   673406 IVONNE ARROYO DE RAMIREZ                     CAPARRA HEIGHTS             1461 CALLE EDEN                                                                        SAN JUAN          PR         00920
   233582 IVONNE AYALA RIVERA                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED   REDACTED
   673407 IVONNE BAULO MERCADO                         EXT OLLER                   D12 CALLE 4                                                                            BAYAMON           PR         00956
   673408 IVONNE BILBRAUT MARTINEZ                     CANEY                       G 9 CALLE YUISA                                                                        TRUJILLO ALTO     PR         00976
   673409 IVONNE BLASINI SANTOS                        P O BOX 2171                                                                                                       RIO GRANDE        PR         00745
   673410 IVONNE BLONET GOMEZ                          VILLA CAROLINA              224‐25 CALLE 603                                                                       CAROLINA          PR         00985



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  673411 IVONNE BRIGNONI BENITEZ                      URB VENUS GARDENS            713 CALLE CUPIDO                                                                       SAN JUAN           PR         00926‐4819
  673412 IVONNE BURGOS KUILAN                         TERRAZAS DE CUPEY            A 45 CALLE 7                                                                           TRUJILLO ALTO      PR         00976
  233583 IVONNE BURGOS SANTIAGO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  673413 IVONNE BURGOS TORRES                         HC 1 BOX 4356                                                                                                       NAGUABO            PR         00718
  673414 IVONNE C MARRERO VEGA                        PO BOX 117                                                                                                          VEGA BAJA          PR         00694

   233584 IVONNE CABALLERO RODRIGUEZ REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   673415 IVONNE CABAN HERNANDEZ     HC 2 BOX 21846                                                                                                                       AGUADILLA          PR         00603
   233585 IVONNE CABRAL DIAZ         REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   673416 IVONNE CABRERA ARIZMENDI   HC 866 BOX 8672                                                                                                                      FAJARDO            PR         00738
   673417 IVONNE CALDERON TORRES     URB LAS COLINAS                               10 CALLE 3A                                                                            TOA ALTA           PR         00951
   673418 IVONNE CAMACHO VAZQUEZ     SAN JUAN PARK                                 D9 CALLE 1                                                                             SAN JUAN           PR         00909

   233587 IVONNE CAPACETTI MARTINEZ                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   673419 IVONNE CAPO BAEZ                            39 RES COLINAS DE MAGNOLIA                                                                                          JUNCOS             PR         00777
   233588 IVONNE CARLO CLAUDIO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   673420 IVONNE CARMONA HERNANDEZ                    LAS DELICIAS                 1637 SANTIAGO OPPENHEIMER                                                              PONCE              PR         00728‐3902
   673421 IVONNE CARRASQUILLO                         PO BOX 10‐11                                                                                                        CANOVANAS          PR         00729
   673422 IVONNE CARRION MELENDEZ                     URB COUNTRY CLUB             HX29 CALLE 252                                                                         CAROLINA           PR         00982
   673423 IVONNE CARTAGENA                            PO BOX 1732                                                                                                         SAN JUAN           PR         00919
   673424 IVONNE CASIANO RENTAS                       PO BOX 220                                                                                                          JUANA DIAZ         PR         00795
   233589 IVONNE CASTRO                               REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   673425 IVONNE CATERING SERVICE INC                 PO BOX 27                                                                                                           JUNCOS             PR         00777

   673426 IVONNE CEBOLLERO HERNANDEZ URB ALTURAS DE MAYAGUEZ                       111 CALLE CORDILLERA                                                                   MAYAGUEZ           PR         00680

   233590 IVONNE CENTENO RODRIGUEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   673427 IVONNE COBB MASCARO                         254 CALLE CANALS                                                                                                    SAN JUAN           PR         00907
   233591 IVONNE COLON DEL VALLE                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   673428 IVONNE CORCHADO FUENTES                     COMUNIDAD MONTILLA           BZ 23 C                                                                                ISABELA            PR         00662
   233592 IVONNE COSME COLLAZO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   673429 IVONNE CRUZ ASENCIO                         URB SAN AGUSTIN              365 CALLE ALCIDES REYES                                                                SAN JUAN           PR         00923
   673430 IVONNE CRUZ LOPEZ                           PMB 246 PO BOX 7004                                                                                                 VEGA BAJA          PR         00694
   673431 IVONNE CRUZ LUGO                            RR 03 BOX 9147                                                                                                      A¥ASCO             PR         00610
   673432 IVONNE CRUZ SERRANO                         HACIENDA DE PALMAS           150 PALMAS DRIVE 213                                                                   HUMACAO            PR         00791‐6313
   673433 IVONNE CRUZ VAZQUEZ                         UNIVERSITY GARDENS           215 CALLE PALMA REAL                                                                   SAN JUAN           PR         00927
          IVONNE D FERNANDEZ
   673434 CHEVALIER                                   PO BOX 9020962                                                                                                      SAN JUAN           PR         00902‐0962
   233593 IVONNE D. QUINONES ORTIZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   233594 IVONNE DE JESUS MONTES                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   673435 IVONNE DE JESUS RODRIGUEZ                   JARDINES DE RIO GRANDE       BB 164 CALLE 41                                                                        RIO GRANDE         PR         00745
   233595 IVONNE DE LEON MUNIZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          IVONNE DE LOS A HERNANDEZ
   673436 MONGE                                       2026 FLINTSHIRE RD APT 301                                                                                          BALTIMORE          MD         201237

   673438 IVONNE DEL C RAMOS IRIZARRY                 149 CALLE PROGRESO                                                                                                  AGUADILLA          PR         00603
          IVONNE DEL CARMEN ADORNO
   233596 GONZALEZ                                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   233598 IVONNE DELGADO FIGUEROA                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   233599 IVONNE DELGADO VISOT                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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   673439 IVONNE DENISSE PEREZ ORTIZ                  URB VILLA MAR                 B 10 CALLE GASPIC                                                                      GUAYAMA             PR           00784
   233600 IVONNE DENIZA GONZALEZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          IVONNE DESANGLES DE
   233601 MENDOZA                                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   673440 IVONNE DIAZ BATISTA                         352 AVE SAN CLAUDIO BOX 196                                                                                          SAN JUAN            PR           00926
   673441 IVONNE DIAZ COLON                           URB VERDE MAR                 987 CALLE 28                                                                           PUNTA SANTIAGO      PR           00741
   673442 IVONNE DIAZ RIVERA                          COND TORRES DE SERVANTE       APTO 608 B                                                                             SAN JUAN            PR           00924
   233602 IVONNE DIAZ RODRIGUEZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   673443 IVONNE DOMENECH                             URB CONSTANCIA                2961 CALLE VANNINA                                                                     PONCE               PR           00717‐2210

   233603 IVONNE DOMINGUEZ IRIZARRY                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233604 IVONNE DUCRET DIAZ                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   673444 IVONNE E AYALA ALICEA                       PO BOX 1699                                                                                                          DORADO              PR           00646‐1699
   673446 IVONNE E CARABALLO NOA                      URB SANTA ROSA                3313 CALLE 26                                                                          BAYAMON             PR           00959

   673447 IVONNE E CASTILLO RODRIGUEZ                 BUEN CONSEJO                  191 CALLE SAN RAFAEL                                                                   SAN JUAN            PR           00926
   673448 IVONNE E FIGUEROA                           URB COUNTRY CLUB 1010         CALLE CARMEN BUSELLO                                                                   SAN JUAN            PR           00924
   673393 IVONNE E FIGUEROA ALEMAN                    URB COUNTRY CLUB 1010         CALLE CARMEN BUSELLO                                                                   SAN JUAN            PR           00924
   233606 IVONNE E RODRIGUEZ                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233607 IVONNE E SERRANO TORRES                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233608 IVONNE E. BELTRAN LEBRON                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   233609 IVONNE E. GONZALEZ TORRES                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                    MP5 CALLE 426 URB COUNTRY
   673450 IVONNE E. VARGAS DIAZ                       CUARTA EXT. COUNTRY CLUB      CLUB                                                                                   CAROLINA            PR           00982

   673451 IVONNE ENID COLON GONZALEZ                  PARCELAS CAMPO ALEGRE         14 CALLE ROBLES                                                                        LARES               PR           00669
   673452 IVONNE ESCODA VALDES                        PO BOX 5844                                                                                                          CAGUAS              PR           00726
   233610 IVONNE ESPINOSA                             REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233611 IVONNE ESQUERDO PESANTE                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   673453 IVONNE FALCON CEPEDA                        LEVITTOWN                     JM 5 CALLE ANTONIO OTERO                                                               TOA BAJA            PR           00949
   233612 IVONNE FERNANDEZ ORTIZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   673456 IVONNE FERRER HOPGOOD                       232 AVE ELEONOR ROOSEVELT                                                                                            SAN JUAN            PR           00907
   673458 IVONNE FERRER MARTINEZ                      RES SABANA                    E6 CALLE CHILE                                                                         SABANA GRANDE       PR           00637
   233613 IVONNE FIGUEROA                             REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   233615 IVONNE FIGUEROA HERNANDEZ                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233618 IVONNE FUENTES CRUZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   673460 IVONNE G MALDONADO                          PO BOX 1435                                                                                                          CANOVANAS           PR           00729
   233619 IVONNE G MOLINI GRONAU                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   673461 IVONNE G OSORIO                             URB SANTA JUANA               III N 17 CALLE 15                                                                      CAGUAS              PR           00725
   673462 IVONNE G RIVERA AGOSTO                      SANTA ELENA                   AA 31 CALLE G                                                                          BAYAMON             PR           00957‐1743
   233620 IVONNE GARCIA SIERRA                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   673464 IVONNE GIERBOLINI RIVERA                    URB VISTA DEL SOL A2                                                                                                 COAMO               PR           00769
          IVONNE GOMEZ / YAZMIN
   233621 VICENTE GOMEZ                               REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233622 IVONNE GONZALEZ CUASCUT                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   233623 IVONNE GONZALEZ GONZALEZ                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   673467 IVONNE GONZALEZ LABOY                       HC 1 BOX 3018                                                                                                        YABUCOA             PR           00767



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  233624 IVONNE GONZALEZ MORALES                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  673468 IVONNE GONZALEZ PANTOJAS                     BARTOLOME LAS CASAS         EDIF 22 APT 264                                                                        SAN JUAN          PR         00915
  233625 IVONNE GOTAY/LUIS R VIVAS                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  673471 IVONNE HERNADEZ RIVERA                       PO BOX 952                                                                                                         QUEBRADILLA       PR         00678
  673472 IVONNE HERNAIZ WILLIAMS                      VLLA CAROLINA               B7 23 CALLE 30                                                                         CAROLINA          PR         00985
  673473 IVONNE HERNANDEZ RIVERA                      BO ARENAS                   RR 02 BZN 5517                                                                         CIDRA             PR         00739
  233627 IVONNE I. LOPEZ VEGA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  233629 IVONNE IRIZARRY VALENCIA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   673475 IVONNE IVETTE FELIX                         URB ESTANCIA DE TORTUGERO   30 CALLE TEJAS                                                                         VEGA BAJA         PR         00963
   673476 IVONNE J CAMACHO DIAZ                       PO BOX 8381                                                                                                        PONCE             PR         00732

   673477 IVONNE J DELGADO DELGADO                    URB QUINTAS DE HUMACAO      C 7 CALLE B                                                                            HUMACAO           PR         00791
  1256583 IVONNE J FARGAS LOPEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   233632 IVONNE J GARCIA HERNANDEZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233633 IVONNE J RAMOS CORREA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   673478 IVONNE J REYES RIVERA                       H C 01 BOX 3280                                                                                                    BAJADERO          PR         00616‐9704
   233634 IVONNE J SANTIAGO BURGOS                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233636 IVONNE J. DIAZ FUENTES                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233637 IVONNE J. FARGAS LOPEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233638 IVONNE JIMENEZ MORALES                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                  CALLE 10 VIA PEDREGAL APT
   673479 IVONNE K VILLAMIZAR VISO                    COND MONTECILLO COURT       3605                                                                                   TRUJILLO ALTO     PR         00976
   233639 IVONNE KORTRIGHT AMADOR                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   673480 IVONNE L CAPO BAEZ                          146 RES COLINAS DE MAGNOLOA                                                                                        JUNCOS            PR         00777
   673481 IVONNE L CLASS FELICIANO                    GARDEN HILLS PLAZA          PMB 389 CARR 19                                                                        GUAYNABO          PR         00966
   673482 IVONNE L LEDREW VAZQUEZ                     URB SAN PEDRO               F 17 CALLE 1                                                                           TOA BAJA          PR         00949‐5402
   673483 IVONNE L MEDINA MARTINEZ                    URB EL PLANTIO              G 24 CALLE GUAYACAN                                                                    TOA BAJA          PR         00949
   673484 IVONNE L NIEVES                             COND PISOS DE CAPARRA       APT 4 J CALLE MILLAN                                                                   GUAYNABO          PR         00966
   233640 IVONNE LOPEZ CORTES                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233642 IVONNE LOZADA                               REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233643 IVONNE LOZADA RODRIGUEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   673487 IVONNE LUGO GRANELL                         BO BUENA VISTA              66 CALLE MARIANO ABRIL                                                                 MAYAGUEZ          PR         00680
   233644 IVONNE M ALVAREZ GARCIA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          IVONNE M BETANCOURT
   233645 VAZQUEZ                                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   233646 IVONNE M COLON COLON                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   673488 IVONNE M DE JESUS RODRIGUEZ PO BOX 575                                                                                                                         TOA ALTA          PR         00954
   233647 IVONNE M DE JESUS VEGA      REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   233648 IVONNE M DEL VALLE DE LEON                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   673492 IVONNE M HERNANDEZ SIERRA                   URB RIBERAS DE CUPEY        K1 CALLE GALLEGOS                                                                      SAN JUAN          PR         00926

   673493 IVONNE M LENS HOUELLEMONT URB SAGRADO CORAZON                           1797 SANTA EULALIA                                                                     SAN JUAN          PR         00926
   673494 IVONNE M MARRERO RIVERA   HC 1 BOX 5056                                                                                                                        JAYUYA            PR         00664
   233650 IVONNE M OCASIO REYES     REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                    EDIF MERCANTIL PLAZA SUITE
   673496 IVONNE M OLMO RIOS        720                                           2 AVE PONCE DE LEON                                                                    SAN JUAN          PR         00918‐1611
   673497 IVONNE M ORTIZ VELEZ      PO BOX 16005                                                                                                                         SAN JUAN          PR         00908 6005



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  673498 IVONNE M PANTOJAS TAPIA                      VILLA CAROLINA                 116‐20 CALLE 74                                                                          CAROLINA            PR         00985
  233651 IVONNE M PEREZ PENA                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  233652 IVONNE M RIVERA BACO                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  233653 IVONNE M RIVERA ORTIZ                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   233654 IVONNE M RODRIGUEZ ROSADO REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IVONNE M RODRIGUEZ
   233655 SANTIAGO                  REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233656 IVONNE M SANTIAGO RIVERA  REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   233657 IVONNE M VAZQUEZ CARDONA                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233659 IVONNE M VEGA PEREZ                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IVONNE M. HERNANDEZ DE
   233660 JESUS                                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673500 IVONNE M. PLUMEY LOPEZ                      URB SAN GERARDO                1737 CALLE CALIFORNIA                                                                    RIO PIEDRAS         PR         00926
   673501 IVONNE MALAVE VENTURA                       URB JARD PALO BLANCO           BO OLIVA FLORES                                                                          ARECIBO             PR         00612

   673503 IVONNE MARIE FLORES PABON                   COND HATO REY PLAZA APT 20‐P                                                                                            SAN JUAN            PR         00918
          IVONNE MARIE MARRERO
   673504 MENDEZ                                      BO MAMEYAL                     167 H CALLE 13                                                                           DORADO              PR         00646
   233661 IVONNE MATIAS SANTIAGO                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673505 IVONNE MATOS MORALES                        PO BOX 7126                                                                                                             PONCE               PR         00732
   673506 IVONNE MATTEI LOZANO                        URB VALPARAISO                 D 2 CALLE 8                                                                              TOA BAJA            PR         00949
                                                                                     170 AVE ARTERIAL HOSTOS APT
   673507 IVONNE MEDINA CONCEPCION                    PARQUE CENTRO ACACIA           A1                                                                                       SAN JUAN            PR         00918
   673508 IVONNE MEDINA CORTES                        URB COUNTRY CLUB               828 MIGUEL XIORRO                                                                        SAN JUAN            PR         00924
          IVONNE MERCADO
   233664 CARRASQUILLO                                REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233665 IVONNE MILAN CARRASCO                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673511 IVONNE MOJICA AGOSTO                        PO BOX 7126                                                                                                             PONCE               PR         00732

   673512 IVONNE MOLANO HERNANDEZ                     SANTA CLARA                    D 13 CALLE ROBLE BLANCO                                                                  GUAYNABO            PR         00969
   673513 IVONNE MORALES LUGO                         URB TORRIMAR 6 18              CALLE OVIEDO                                                                             GUAYNABO            PR         00966

   673514 IVONNE MORALES MONTALVO                     232 AVE ELEONOR ROOSEVELT                                                                                               SAN JUAN            PR         00907
   233666 IVONNE MORENO AGUILAR                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   233667 IVONNE MORENO VELAZQUEZ                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233668 IVONNE N RESTO                              REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673516 IVONNE NEGRON MARTINEZ                      EL CORTIJO                     ABB 8 CALLE 21                                                                           BAYAMON             PR         00956
   673517 IVONNE NIEVES MESTRE                        BO OBRERO                      716 CALLE 11                                                                             SAN JUAN            PR         00915
   673518 IVONNE NIEVES VELEZ                         BO OBRERO                      702 CALLE LIPPIT                                                                         SAN JUAN            PR         00915

   673521 IVONNE NOGUERAS HERNANDEZ VILLA CAROLINA                                   46‐26 CALLE 43                                                                           CAROLINA            PR         00985‐5521
   673522 IVONNE OCTAVIANI AYALA    P O BOX 671                                                                                                                               CIALES              PR         00638
   233669 IVONNE OLIVERO ASTACIO    REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233670 IVONNE OLMEDA PENA        REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233671 IVONNE ORTIZ              REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233672 IVONNE ORTIZ COLBERG      REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673524 IVONNE ORTIZ LEON         OTAS DEL                                         J 14 CALLE 9                                                                             PONCE               PR         00731
   233673 IVONNE ORTIZ TORRES       REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673523 IVONNE ORTIZ VELAZQUEZ    URB MALLORCA                                     R 22 CALLE TEJAS                                                                         GUAYNABO            PR         00969
   673525 IVONNE OTERO RODRIGUEZ    PO BOX 8887                                                                                                                               BAYAMON             PR         00960



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  673526 IVONNE OTERO SANTIAGO                        URB PASEO ALTO             77 CALLE 2                                                                           SAN JUAN           PR         00926
  233674 IVONNE PADIN CABRERA                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  233675 IVONNE PAGAN ROBLES                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  673529 IVONNE PASARELL RIVERA                       ALTURAS DEL REMANSO        CALLE CA¨ADA M 4                                                                     SAN JUAN           PR         00907
  233678 IVONNE PEREZ CEPEDA                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  673530 IVONNE PEREZ ELIAS                           PO BOX 50909                                                                                                    TOA BAJA           PR         00949
  233679 IVONNE PEREZ MILLAN                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  673531 IVONNE PEREZ PIZARRO                         LOS ROSALES                EDIF 4 APT 36                                                                        TRUJILLO ALTO      PR         00976
  233680 IVONNE PORRATA CRUZ                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  673532 IVONNE PORRATA MORALES                       BOX 30                     RIO PLANTATION CALLE 3                                                               BAYAMON            PR         00961
  233681 IVONNE PORTALATIN RIVERA                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  233682 IVONNE POUNTS RODRIGUEZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  673533 IVONNE PRADO MARTINEZ                        65 INF STA                 PO BOX 30834                                                                         SAN JUAN           PR         00929‐1834
  233683 IVONNE QUILES GONZALEZ                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   233685 IVONNE QUINONES ALVARADO                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   673534 IVONNE QUINONES RODRIGUEZ                   COSTA SUR                  G 19 CALLE G                                                                         YAUCO              PR         00698
   233687 IVONNE QUINONES SANCHEZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   233688 IVONNE R ABOY MENENDEZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   673535 IVONNE RAMIREZ                              THOMASVILLE PARK           APTO 3214 KM 4 0                                                                     CAROLINA           PR         00987
   673536 IVONNE RAMIREZ MARTINEZ                     BOX 372                                                                                                         LAS PIEDRAS        PR         00771
   673537 IVONNE RAMIREZ PABON                        PO BOX 464                                                                                                      SAN GERMAN         PR         00683
   233690 IVONNE RAMIREZ PETROVICH                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   233691 IVONNE REYES                                REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   673539 IVONNE REYES ALVAREZ                        SAN FELIPE                 E 13 CALLE 4                                                                         ARECIBO            PR         00612
          IVONNE REYES RODRIGUEZ DEL                  URB. AGUSTIN STALL‐A6‐
   673542 REY                                         CARR.174                                                                                                        BAYAMON            PR         00956
   233692 IVONNE RIOS MEJIA                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   673543 IVONNE RIOS RODRIGUEZ                       JARDINES DE COUNTRY CLUB   CALLE 111 BN 8                                                                       CAROLINA           PR         00983
   673544 IVONNE RIVAS BONILLA                        HC 1 BOX 5438                                                                                                   JUNCOS             PR         00777
   673545 IVONNE RIVERA HERNANDEZ                     GARDEN HILLS ESTATES       10 CALLE 3                                                                           GUAYNABO           PR         00969
   233693 IVONNE RIVERA MEDINA                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   673546 IVONNE RIVERA OYOLA                         URB LEVITTOWN              B E 20 DR ESPAILLAR                                                                  TOA BAJA           PR         00949
   673547 IVONNE RIVERA VARELA                        P O BOX 308                                                                                                     CAYEY              PR         00737
   233695 IVONNE RIVERA VEGA                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   673549 IVONNE RODRIGUEZ LUNA                       PO BOX 802                                                                                                      TOA BAJA           PR         00951
   233696 IVONNE RODRIGUEZ MALAVE                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   233697 IVONNE RODRIGUEZ MAYSONET                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   233698 IVONNE RODRIGUEZ OJEDA                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   673550 IVONNE RODRIGUEZ ROBLES                     PO BOX 740                                                                                                      MOROVIS            PR         00687
   673394 IVONNE RODRIGUEZ ROMAN                      6TA SECCION LEVITTOWN      FF 10 AVE JOSE DE DIEGO                                                              TOA BAJA           PR         00949

   233699 IVONNE RODRIGUEZ WIEWALL                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   233701 IVONNE ROMAN PEREZ                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      526 SECTOR PIEDRA BLANCA
   673553 IVONNE ROMERO ANDINO                        CARR 887                   CALLEJON AGAPITO                                                                     CAROLINA           PR         00987‐7540
   233702 IVONNE ROMERO GARCIA                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   673554 IVONNE ROSADO                               BO BAHOMAMEY               CARR 446 KM 1 5                                                                      SAN SEBASTIAN      PR         00685
   233703 IVONNE ROSADO CEPEDA                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   673555 IVONNE ROSARIO OQUENDO                      LA PROVIDENCIA             D 5 CALLE 1                                                                          TOA ALTA           PR         00953
   673557 IVONNE S COLON                              COND PALMAR DEL RIO        APT A 324                                                                            GUAYNABO           PR         00969



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  673558 IVONNE S JIMENEZ MARRERO                     EDIF 660 APT PH 2         AVE MIRAMAR                                                                                 SAN JUAN            PR         00907
  233704 IVONNE SANABRIA                              REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  673559 IVONNE SANABRIA BURGOS                       URB CASA LINDA VILLAGE    APT 107                                                                                     BAYAMON             PR         00959
  673560 IVONNE SANTALIZ ESTEVES                      PO BOX 20569                                                                                                          SAN JUAN            PR         00928
  233705 IVONNE SANTELL VELAZQUEZ                     REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  673561 IVONNE SANTIAGO                              URB ALTURASDE MAYAGUEZ    R 20 CALLE MARQUESA                                                                         MAYAGUEZ            PR         00682‐6201
  673563 IVONNE SANTIAGO OCHOA                        P O BOX 12000                                                                                                         BAYAMON             PR         00960

   233706 IVONNE SANTIAGO RODRIGUEZ                   REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233707 IVONNE SANTIAGO VELEZ                       REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673564 IVONNE SANTOS COLON                         P O BOX 768                                                                                                           OROCOVIS            PR         00720
   673565 IVONNE SANTOS ROLDAN                        PO BOX 7126                                                                                                           PONCE               PR         00732
   673566 IVONNE SERPA SANTIAGO                       17 CALLE SANTA MONICA                                                                                                 LAJAS               PR         00667

   673395 IVONNE SERRANO DE MASCARO                   COND LAGUNA GARDENS       EDIF III APT 12 B                                                                           CAROLINA            PR         00979
   233709 IVONNE SOTO MOLINA                          REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673569 IVONNE SOTO VELEZ                           PO BOX 1857                                                                                                           LARES               PR         00669
   233710 IVONNE SOTOMAYOR CRUZ                       REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673570 IVONNE SUAREZ MARRERO                       URB VISTA VERDE           BZ 655 CALLE 18                                                                             AGUADILLA           PR         00603
   233711 IVONNE TORRES ARRUFAT                       REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233712 IVONNE TORRES CUEVAS                        REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673571 IVONNE TORRES DIAZ                          BARAHONA                  198 D CALLE MANUEL CACHO                                                                    MOROVIS             PR         00687
   673572 IVONNE TORRES MEDINA                        PO BOX 360191                                                                                                         SAN JUAN            PR         00936‐0191
   673573 IVONNE TORRES TORRES                        PO BOX 689                                                                                                            SALINAS             PR         00751
   233713 IVONNE TORRES VELEZ                         REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673574 IVONNE TRUJILLO RUIZ                        FLORES DE MONTEHIEDRA                                624                                                              SAN JUAN            PR         00920
   233715 IVONNE V TAPIA BARRIOS                      REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673577 IVONNE VALENTIN APONTE                      P O BOX 366546                                                                                                        SAN JUAN            PR         00936‐6546
   233717 IVONNE VASALLO ACEVEDO                      REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673580 IVONNE VAZQUEZ VAZQUEZ                      HC 01 BOX 4775                                                                                                        LAJAS               PR         00667
   233718 IVONNE VEGA BORRERO                         REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233719 IVONNE VEGA MATTEI                          REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   233720 IVONNE VILLAFANE CANDELAS                   REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673581 IVONNE VILLAVERDE                           149 ROLLINGWOOD DRIVE                                                                                                 NORTH KINGSTOWN     RI         02852

   233721 IVONNE VIRELLA CARRASQUILLO REDACTED                                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   233722 IVONNE WHEELER CORDERO      REDACTED                                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   233723 IVONNE Y SANTIAGO SANTIAGO                  REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673582 IVONNE Y VALDES COLON                       EDIF 22 APT 827                                                                                                       ARECIBO             PR         00612
   233724 IVONNE Y. PEREZ COLON                       REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673584 IVONNET RODRIGUEZ RIVERA                    9847 VIOLETE DR                                                                                                       ORLANDO             FL         32824
   233725 IVONNETTE CASTRO APONTE                     REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   673585 IVOR TIRADO CRUZ                            PO BOX 4048                                                                                                           BAYAMON             PR         00958
          IVS COMPUTER TECHNOLOGY
   233727 INC                                         3839 STOCKDALE HIGHWAY    BAKERS FIELD                                                                                CALIFORNIA          CA         93309‐2150
   233728 IVS KENTUCKY LLC                            10001 LINN STATION ROAD   SUITE 205                                                                                   LOUISVILLE          KY         40223
   233730 IVS LLC                                     PO BOX 9070                                                                                                           SAM JUAN            PR         00908

   233731 IVU LOTO / RAMON DIAZ NIEVES REDACTED                                 REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          IVU LOTO/ EDNA MEDERO
   233732 MONTANEZ                     REDACTED                                 REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  673586 IVY A NORMANDIA LUNA                          URB VISTA MONTE              B 2 CALLE 1                                                                       CIDRA               PR           00739
         IVY BETH GLADSTONE
  673587 MALDONADO                                     URB EL DORADO II             BLQ G CALLE E                                                                     SAN JUAN            PR           00926
  233733 IVY FLORES ACEVEDO                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  233734 IVY I ORTIZ ESCOBAR                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  673588 IVY M NEGRON GONZALEZ                         HC 01 4614                                                                                                     VILLALBA            PR           00766
  673590 IVY MARTINEZ GONZALEZ                         VILLAS DE LOIZA              AE 24 CALLE 31                                                                    CANOVANAS           PR           00729
  673591 IVY MARTINEZ RODRIGUEZ                        RES CALIMANO                 EDIF A 6 APT 122                                                                  GUAYAMA             PR           00784
  673592 IVY S VELEZ MIRANDA                           HC 02 BOX 6998                                                                                                 FLORIDA             PR           00650
  233735 IVY SALOM                                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  233736 IVYMAR DELGADO MARTINEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
         IVYPORT LOGISTICAL SERVICES
  233737 INC                                           150 AVE JOSE A TONY SANTANA                                                                                    CAROLINA            PR           00979‐1536
  673594 IVYS R FERNANDEZ PASTRANA                     COLINAS DE FAIRVIEW         4 L 41 CALLE 213                                                                   TRUJILLO ALTO       PR           00976

   673596 IWALLANY RODRIGUEZ RIVERA                    BO JARIALITOS                1306 CALLE F                                                                      ARECIBO             PR           00612
   673597 IXA A IRIZARRY VAZQUEZ                       JARDINES DEL CARIBE          PP 47 CALLE 42                                                                    PONCE               PR           00728‐2673
   233740 IXA LOPEZ PALAU                              REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   233741 IXAIRA C COLON MORALES                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   233742 IXAIRA C. COLON MORALES                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   233743 IXAIRA I GARCIA GARCIA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   233744 IXIA L VAZQUEZ SIERRA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   673601 IXIA REYES TORRES                            CAPARRA TERRACE              1154 CALLE 16 SE                                                                  SAN JUAN            PR           00921

   673603 IXOYE COMPUTER TRAINING INC                  P O BOX 191733                                                                                                 SAN JUAN            PR           00919‐1733
   673604 IXSANABEL M CRUZ ROMAN                       VISTA AZUL                   HH 18 CALLE 32                                                                    ARECIBO             PR           00612
   673605 IYARI I RIOS GONZALEZ                        1001 URB SAN MARTIN                                                                                            RIO PIEDRAS         PR           00926
   673606 IYELIXZA CRUZ AYALA                          RES LUIS LLORES TORRES       EDIF 132 APT 2458                                                                 SAN JUAN            PR           00913
   673607 IZA G TORRES BENITEZ                         6TA EXT VILLA CAROLINA       241‐25 CALLE 617                                                                  CAROLINA            PR           00985
   673608 IZA MEDINA VILLALOBOS                        HC 1 BOX 5478                                                                                                  CIALES              PR           00638

                                                       AX‐3 AVE MUÑOZ MARIN,
   233745 IZA TEXTILES                                 CAGUAS NORTE DEVELOPMENT                                                                                       CAGUAS              PR           00725
   233746 IZAAC P RIVERA GALARZA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   673609 IZAEL O SANTIAGO RIVERA                      HC 2 BOX 15552                                                                                                 AIBONITO            PR           00705
   233750 IZAIDA LOPEZ TORRES                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   233751 IZAIDA MOJICA MUNOZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   673612 IZAM ZAWAHARA ALEJANDRO                      LB 22 L' ANTIGUA                                                                                               TRUJILLO ALTO       PR           00976
          IZAMAR E BERRIOS /
   233752 EDNISOMALY RIVERA                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   233753 IZAMAR FELICIANO GARCIA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   233754 IZAMAR GONZALEZ MARCUCCI                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   233755 IZAMAR GONZALEZ SANCHEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   233756 IZAMAR RIVERA OYOLA                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          IZAMARIS HERNANDEZ
   233757 RODRIGUEZ                                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   673613 IZDA I COBIAN TORMOS                         BOX 3547                                                                                                       GUAYNABO            PR           00970‐3547
   233789 IZQUIERDO MORA MD, LUIS                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   233803 IZQUIERDO RIVERA MD, JULIO                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   673615 IZQUIERDO RUEDAS Y ASOC                      URB CARIBE                   1598 CALLE CAVALIERI                                                              SAN JUAN            PR           00927




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   233837 IZUANETTE PEREZ MALDONADO REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   673616 J & A DENTAL              P O BOX 607                                                                                                                           ISABELA             PR           00662

   673618 J & B REFRIGERATION SERVICE                 URB JOSE MERCADO            U 86 CALLE ROOSEVELT                                                                    CAGUAS              PR           00725
                                                                                  U86 CALLE RSVLT C URB JOSE
   673619 J & B REFRIGERATION SYSTEMS JOSE MERCADO                                MERCADO                                                                                 CAGUAS              PR           00725
  1256584 J & C CORPORATION             REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          J & D GARCIAS `S CONSTRUCTION
   233841 INC.                          URB. MANSIONES DE CIUDAD                  JARDIN CALLE TOLEDO 332                                                                 CAGUAS              PR           00727
          J & D GARCIA'S CONSTRUCTION
  1256585 INC                           REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   233843 J & G BEADS AND MORE          P O BOX 932                                                                                                                       HATILLO             PR           00659
   233845 J & J AUTO SALES              URB ROYAL PALM                            AVE LOMAS VERDE IC 32                                                                   BAYAMON             PR           00956
   673622 J & J CONSUMER CO PR INC      BOX 2009                                                                                                                          LAS PIEDRAS         PR           00771‐2009
   233846 J & J COPY SERVICE            URB BALDRICH                              224 AVE DOMENECH                                                                        SAN JUAN            PR           00918
   673625 J & J ELECTRICAL REBUILDERS   BROTHER ELECTRIC                          HC 72 BOX 6876                                                                          CAYEY               PR           00736
   673627 J & J ELECTRONICS Y/O         HC 71 BOX 6876                                                                                                                    CAYEY               PR           00736‐9539
          J & J ENTERPRISES LLC PLAZA
   233847 LOIZA                         P O BOX 12096                                                                                                                     SAN JUAN            PR           00914

   673621 J & J MADERAS                               CALLE GREGORIO RIOS 26405                                                                                           CAYEY               PR           00736
   673628 J & J MANAGEMENT GROUP                      P O BOX 2055                                                                                                        BAYAMON             PR           00960
   673629 J & J PRODUCTION                            PO BOX 369                                                                                                          JUANA DIAZ          PR           00795
   673630 J & J PROFECIONAL COMPANY                   PO BOX 1959                                                                                                         CAGUAS              PR           00726
   673631 J & J SALES                                 PO BOX 810427                                                                                                       CAROLINA            PR           00981‐0427
   673632 J & K PRINTERS INC                          PO BOX 9239                                                                                                         CAGUAS              PR           00626
   233849 J & L EQUIPMENT CORP                        URB CASA MIA                4815 CALLE CIGUENA                                                                      PONCE               PR           00728‐3416
   233850 J & L OFFICE SUPPLIES INC                   P O BOX 336399                                                                                                      PONCE               PR           00733‐6399
   233851 J & M DEPOT INC                             P O BOX 29427                                                                                                       SAN JUAN            PR           00929‐9427
   831426 J & M Depot, Inc.                           P O Box 29427                                                                                                       San Juan            PR           00929

   673636 J & M HOSPITALDTY GROUP INC                 PO BOX 868                                                                                                          UTUADO              PR           00641
   233852 J & M INVESTMENT CORP.                      PMB 238 ‐ 1353 CARR 19                                                                                              GUAYNABO            PR           00966‐1353
   233854 J & M VALZANIA                              P O BOX 9300171                                                                                                     SAN JUAN            PR           00928
   233855 J & N COMUNICATION INC                      PO BOX 11446                                                                                                        SAN JUAN            PR           00910
   233856 J & N PARTY TIME                            PO BOX 522                                                                                                          VEGA ALTA           PR           00692
                                                                                   379 AVE EDUARDO CONDE ESQ
   673637 J & P EBANISTERIA                           VILLA PALMERAS               FERRER                                                                                 SAN JUAN            PR           00910
   233857 J & P ENGINEERING INC                       PO BOX 2054                                                                                                         ISABELA             PR           00662
   233858 J & R AUDIO VISUALS INC                     P O BOX 76                   SAINT JUST                                                                             CAROLINA            PR           00978
   673638 J & R SOUND SERVICE                         URB SANTA ELENA              73 CALLE CN                                                                            BAYAMON             PR           00957
   233859 J & R THERAPY CENTER CORP                   1706 PASEO DEGETAU                                                                                                  CAGUAS              PR           00725
                                                      URB. ROYAL TOWN # A‐34 CALLE
   673639 J & S AUTO PARTS                            13                                                                                                                  BAYAMON                          00956
   233860 J & S WORLDWIDE CORP                        PO BOX 361175                                                                                                       SAN JUAN            PR           00936‐1175
          J & V ENGINEERING AND
   673640 APPRAISAL SERV                              1608 CALLE SAN MATEO                                                                                                SAN JUAN            PR           00912
   673641 J & W MUFLERS SERVICE                       PO BOX 1263                                                                                                         YAUCO               PR           00698
   673642 J & Y QUALITY SUPPLY                        P O BOX 50902                                                                                                       TOA BAJA            PR           00950‐0902
   673643 J / A TIRE                                  URB VILLA AUXERRE           144 CALLE IRMA                                                                          SAN GERMAN          PR           00683
   233861 J 1 CORP                                    PMB 282                     1357 ASHFORD AVE                                                                        SAN JUAN            PR           00907
   673644 J A A V CONSTRUCTION INC                    P O BOX 758                                                                                                         ARROYO              PR           00714



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   673645 J A AGREGADOS Y CONTRACTOR                  PTA TIERRA STA          PO BOX 9066600                                                                           SAN JUAN             PR           00906‐6600
   673646 J A ALEMANY MARTI INC                       PO BOX 3126                                                                                                      MAYAGUEZ             PR           00681‐3126
   233862 J A BUGGY MOTOR CICLE                       HERMANAS DAVILA         I 12 AVE BETANCES                                                                        BAYAMON              PR           00957
   233863 J A C ELECT CORP                            176 AVE CRUZ STELLA                                                                                              HUMACAO              PR           00791
   673647 J A CONCRETE                                129 SIERRA REAL                                                                                                  CAYEY                PR           00736
   673648 J A CORUJO MECANICA                         HC 20 21579                                                                                                      SAN LORENZO          PR           00725
   233864 J A E L PLASTICS                            PO BOX 929                                                                                                       SAN LORENZO          PR           00754
                                                      60 AVE JOSE GONZALEZ
   233865 J A E MANA CORP                             CLEMENTE                                                                                                         MAYAGUEZ             PR           00680
   673649 J A ELECTRONICS                             46 CALLE DERKES                                                                                                  GUAYAMA              PR           00784
   233866 J A FACCIO INC                              URB MONTEFIORI          36 CALLE HELICONIA                                                                       CAGUAS               PR           00725
   233867 J A FONTANILLAS PSC                         PO BOX 1456                                                                                                      QUEBRADILLAS         PR           00678
   673650 J A INDUSTRIAL LAUNDRY INC                  PO BOX 9024275                                                                                                   SAN JUAN             PR           00902‐4275
   233868 J A JONES INC                               C/O CW RECOVERY         P O BOX 8338                                                                             ROLLING MEADOWS      IL           60008
   673651 J A M ASSOCIATES                            REPARTO METROPOLITANO   SE 982 CALLE 30                                                                          SAN JUAN             PR           00921
   673652 J A M CONTRACTOR                            HC 01 BOX 29030                                                                                                  CAGUAS               PR           00725
   233869 J A M CONTRACTORS INC                       PO BOX 9405                                                                                                      CAGUAS               PR           00726 9405

   233871 J A MACHUCA & ASSOCIATES INC PMB 285                                1575 AVE MUNOZ RIVERA                                                                    PONCE                PR           00717‐0211
          J A MALDONADO ASSOCIATES
   673653 INC                          PO BOX 1394                                                                                                                     SAINT JUST           PR           00978
   673654 J A N CONSTRUCION            PARC FALU                              467 CALLE 29                                                                             SAN JUAN             PR           00924
   233873 J A OFFICE MACHINE CORP      P O BOX 250484                                                                                                                  AGUADILLA            PR           00604
   673655 J A R AUTO REPAIR            PO BOX 4285                                                                                                                     AGUADILLA            PR           00605
   673656 J A R COMPUTER               HC 06 BOX 17343                                                                                                                 SAN SEBASTIAN        PR           00685
   233875 J A R CONTRACTORS INC        URB CABADONGA 2K 15                    CALLE MUNICIPAL                                                                          TOA BAJA             PR           00949
   233878 J A RIOLLANO                 REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   771105 J A RIOLLANO CO INC          CAPARRA TERRACE                        1561 AVE J PINERO                                                                        SAN JUAN             PR           00921‐5403
   673657 J A S SERVICE CORP           URB COUNTRY CLUB                       PB54 CALLE 246                                                                           SAN JUAN             PR           00982
   233882 J A SEXAUER INC              PO BOX 192541                                                                                                                   SAN JUAN             PR           00919‐2541

   233883 J A SUPPLIES                                RIO GRANDE ESTATES      12206 CALLE REINA MARGARITA                                                              RIO GRANDE           PR           00745
   673661 J A TRANSMISSION                            URB VILLA DOS RIOS      30 LA PLATA RIO CHIQUITO                                                                 PONCE                PR           00731
   673662 J ACEVEDO Y ASOCIADOS                       COND JARD DEL PARQUE    APT 2604                                                                                 CAROLINA             PR           00987

   233885 J ALBERTO DELGADO NEGRON                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   673663 J ALICEA CONSTRUCTION INC                   PO BOX 2657                                                                                                      SAN GERMAN           PR           00683
   673664 J AND A ELECTRIC CORP                       HC 67 BOX 13104                                                                                                  BAYAMON              PR           00956‐9501
   673665 J AND F TRANSMISSION                        207 CALLE DE DIEGO                                                                                               CAYEY                PR           00736
   673666 J AND J EMBROIDERY                          RR 4 BOX 27269                                                                                                   TOA ALTA             PR           00953‐0422

   673667 J ARGOMANIZ & ASSOCIATES INC PO BOX 363592                                                                                                                   SAN JUAN             PR           00936‐3592
   673668 J B AGRO INC                 246 MARGINAL PUEBLO                                                                                                             HATILLO              PR           00659
   673669 J B ALVAREZ SPECIALTY INC    PO BOX 29587                                                                                                                    SAN JUAN             PR           00929

   233887 J B CREDIT INC/ FORD DEL NORTE PO BOX 363051                                                                                                                 SAN JUAN             PR           00936‐3051
   233888 J B D INC                      HC 1 BOX 4604‐2                                                                                                               NAGUABO              PR           00718
   673673 J B FABRICS INC                P O BOX 359                                                                                                                   VEGA ALTA            PR           00692
   673675 J B GROUP INC                  PO BOX 192541                                                                                                                 SAN JUAN             PR           00919‐2541
   673676 J B HIDDEN VILLAGE             PO BOX 937                                                                                                                    AGUADA               PR           00602
   673677 J B M STATIONERY               P O BOX 925                                                                                                                   AGUADA               PR           00602‐0925
   673679 J B MEDICAL                    P O BOX 1538                                                                                                                  AGUADA               PR           00602



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  673680 J B PRINCE                   36 EAST 31 ST                                                                                                             NEW YORK          NY           10016
  673681 J B TROPHIES                 VILLA CLEMENTE                                 C ‐01 LUIS R BRUNO                                                         GUAYNABO          PR           00969
  673682 J B TRUCKING INC.            CARR 309 KM 01                                                                                                            HORMIGUERO        PR           00660
         J BENITEZ PAINTING & GENERAL
  673683 CONTRACTORS                  P O BOX 933                                                                                                               ISABELA           PR           00662‐0933
  673686 J C & ENTERPRISE             P O BOX 29254                                                                                                             SAN JUAN          PR           00929
  673687 J C A ENTERPRISES            P O BOX 3879                                                                                                              AGUADILLA         PR           00605‐3879
  673688 J C AIR CONDITIONING         PO BOX 6562                                                                                                               SAN JUAN          PR           00914
  673689 J C C ELECTRICAL             AIRPORT STA                                    PO BOX 37629                                                               SAN JUAN          PR           00937‐0629
  673690 J C CLEANING SERVICE         URB LA MARINA                                  A 14 CALLE HORTENCIA                                                       CAROLINA          PR           00979
         J C CONSTRUCTORS AND
  673691 COMINICATIONS INC            P O BOX 1202                                                                                                              UTUADO            PR           00641
  771106 J C CORPORATION              P O BOX 14455                                                                                                             SAN JUAN          PR           00916‐4455
  673692 J C DE BOARD & CO            5878 NORTH HIGH STREET                                                                                                    WORTHINGTON       OH           43085
  673693 J C DEYA & ASSOC             P O BOX 193167                                                                                                            SAN JUAN          PR           00919‐3167
         J C DISTRIBUTORS CORPORATION
  233891 INC                          6501 CARR 844 APTO 702                                                                                                    SAN JUAN          PR           00926
  233892 J C ELECTRONIC INC           VILLAS DEL REY                                 A 10 AVE GAUTIER BENITEZ                                                   CAGUAS            PR           00725
  673684 J C GARDEN SUPPLY INC        PO BOX 371103                                                                                                             CAYEY             PR           00737

   233893 J C GENERAL CONSTRUCION INC                 COTTO LAUREL                   PO BOX 800030                                                              PONCE             PR           00780
          J C GONZALEZ INC DBA AVP
   233894 CARIBE                                      HC 01 BOX 8389                                                                                            SAN GERMAN        PR           00683
   233895 J C H REALTY CORP                           P O BOX 848                                                                                               MANATI            PR           00674
   673694 J C HIDRAULIC                               H C 646 BOX 6303                                                                                          TRUJILLO ALTO     PR           00976
   233896 J C PENNEY OPTICAL                          PO BOX 364788                                                                                             SAN JUAN          PR           00936‐4788
   673695 J C PENNEY PR INC                           P.O.Box 361885                                                                                            San Juan                       00936‐1885
   673698 J C TOYS & BARBIES                          PO BOX 729                                                                                                GUAYAMA           PR           00785
          J CAJIGAS & ASSOCIATES
   233897 INGENIEROS                                  CONSULTORES PSC                PO BOX 1028                                                                AGUADA            PR           00602‐1028

   673699 J CALERO                                    159 CALLE COSTA RICA APT 12F                                                                              SAN JUAN          PR           00917

   233899 J CARDONA & ASSOCIATES LLC                  AREA DEL TESORO                DIVISION DE RECLAMACIONES                                                  SAN JUAN          PR           00902‐4140
   673700 J CASTRO DISTRIBUTOR INC                    AVE SAN CLAUDIO 382            SAGRADO CORAZON                                                            SAN JUAN          PR           00926
   673702 J D & HERMANOS                              PO BOX 1572                                                                                               CAROLINA          PR           00984
   673703 J D AUTO SERVICE STATION                    URB DEL CARMEN                 FONTANEZ C/4 59                                                            JUANA DIAZ        PR           00795
   233903 J D EQUIPMENT & SUPPLY                      SABANA GARDEN                  BLQ 1 3 AVE CAMPO RICO                                                     CAROLINA          PR           00983
          J D M PHARMACEUTICAL
   673704 SERVICES                                    PO BOX 95181                                                                                              CHICAGO           IL           60694‐5181
   233904 J D REPAIR SERVICES                         PMB 2510 BOX 14                                                                                           TRUJILLO ALTO     PR           00977‐2510
          J D WELDING & CONTRUCTION
   233905 /JUAN DIAZ                                  HC 3 BOX 21899                                                                                            ARECIBO           PR           00612
   673705 J E & A INVESTMENT                          PO BOX 30013                                                                                              SAN JUAN          PR           00929 1013
          J E AMARAL ARQUITECTO &
   673706 ASOC                                        PO BOX 190896                                                                                             SAN JUAN          PR           00919‐0896
   673707 J E AUTO IMPORT INC                         746 AVE HOSTOS                                                                                            MAYAGUEZ          PR           00682
          J E AUTO SERVICE/ J. GARCIA
   673708 JIMENEZ                                     PO BOX 1325                                                                                               ARECIBO           PR           00613
   673709 J E DUMONT TRANSPORT INC                    P O BOX 2500                                                                                              TOA ALTA          PR           00951‐2500
   673710 J E INDUSTRIAL SUPPLY                       PO BOX 3826                                                                                               GUAYNABO          PR           00970
   673711 J E MARTINEZ C S P                          URB VILLA MATILDE              G 1 CALLE I                                                                TOA ALTA          PR           00953




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   673712 J E NOGUERAS / G PICON ASSOC URB CARIBE                                 1569 CALLE GILA                                                                     SAN JUAN             PR           00926

   673713 J E P FOOD EQUIPMENT SUCS INC PO BOX 1525                                                                                                                   CABO ROJO            PR           00623
   233908 J E R ARCHITECTURAL CORP      301 CALLE CANAN                                                                                                               SAN JUAN             PR           00907
   673714 J E RENTAL EQUIPMENT          HC 1 BOX 9002                                                                                                                 TOA BAJA             PR           00949
   233909 J E SOLUTIONS CORP            PO BOX 208                                                                                                                    GUAYAMA              PR           00785
   673715 J E V LOGISTICS,INC.          P O BOX 8606                                                                                                                  PONCE                PR           00732
   233910 J ELOY DIAZ GOYCO             REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   673716 J ESTEVEZ & CO. INC.          PO BOX 30411                                                                                                                  SAN JUAN             PR           00929
                                        A/C MANUEL MORALES
   673717 J F & ASOCIADOS INC           MORALES                                   ADM. FOMENTO COMERCIAL   P.O. BOX 4275                                              SAN JUAN             PR           00902‐4275
   673719 J F & M COMPANY               PO BOX 9024275                                                                                                                SAN JUAN             PR           00902‐4275
   673720 J F & W A BROTHERS            P O BOX 158                                                                                                                   BAYAMON              PR           00960‐0158
          J F BUILDING LEASE &
   673721 MAINTENANCE CORP              PO BOX 1804                                                                                                                   CIDRA                PR           00739

   673722 J F MONTALVO CASH AND CARRY PO BOX 364664                                                                                                                   SAN JUAN             PR           00936
   673723 J F MONTALVO REALTY         PO BOX 364664                                                                                                                   SAN JUAN             PR           00936‐4664

   233911 J FERNANDEZ & ASOC EST LEGA                 PO BOX 4846                                                                                                     CAROLINA             PR           00948‐4846
   673724 J FORASTIERI INC                            BOX 7138                                                                                                        CAGUAS               PR           00726‐7138
          J G CONDITIONING DBA
   673727 GRAJALES DIAZ                               RR1 BOX 11693                                                                                                   TOA ALTA             PR           00953
   673728 J G INDUSTRIES INC                          ADM FOMENTO COMERCIAL       PO BOX 9024275                                                                      SAN JUAN             PR           00902‐4275

   233912 J G M ARCHITECTS GROUP PSL                  PO BOX 79396                                                                                                    CAROLINA             PR           00984‐9396
   673726 J G MERCADO                                 URB EL ALMENDRO             BZN 101 CALLE A 11                                                                  SABANA GRANDE        PR           00698
   673729 J G RENTAL                                  TURABO GARDEN               30 R 16 2                                                                           CAGUAS               PR           00725
   233914 J H C STRUCTURES CORP                       HC 06 BOX 72501                                                                                                 CAGUAS               PR           00725
          J H MONROIG CONSTRUCION
   673731 CORP                                        ADM FOMENTO COMERCIAL       PO BOX 9024275                                                                      SAN JUAN             PR           00902‐4275
   673730 J H PAVING GROUP                            PMB 476 PO BOX 7891                                                                                             GUAYNABO             PR           00970‐7891
   673732 J IGNACIO HUNS GARCIA                       UNIVERSITY GARDENS          314 A CLEMSON                                                                       SAN JUAN             PR           00927‐4022
   673733 J IMPORT DISTRIBUTOR                        SUITE 319                   PO BOX 2500                                                                         TOA BAJA             PR           00951
   673735 J J & G CONSTRUCTION INC                    P O BOX 1702                                                                                                    YAUCO                PR           00698‐1702
          J J A COMPUTERS & OFFICE
   673736 EQUIPMENT                                   136 CALLE SALUD SUITE 104                                                                                       PONCE                PR           00717‐2014
   673737 J J BABY SHOP                               46 CALLE DERKES OESTE                                                                                           GUAYAMA              PR           00784
   233917 J J BAKERY                                  PO BOX 637                                                                                                      CAMUY                PR           00627
   673738 J J C INDUSTRIAL SERVICE                    3‐C CALLE LAS VIOLETAS                                                                                          VEGA ALTA            PR           00692‐6763
                                                      REPARTO LANDRAU BO
   233919 J J CARPET CLEANER CORP                     MONACILLO                   1441 CARR 21                                                                        SAN JUAN             PR           00927
   673739 J J COMMUNICATIONS CORP                     PO BOX 193477                                                                                                   SAN JUAN             PR           00919‐3477
          J J DATA COM / JOSUE MARTINEZ
   673740 MATOS                         JARDINES DE LA FUENTE                     25 CALLE CALIFORNIA                                                                 TOA ALTA             PR           00953
   233920 J J DIGITAL DUPLICATOR INC    PO BOX 20675                                                                                                                  SAN JUAN             PR           00928‐0675
   233921 J J ELECTRIC                  JARD DEL CARIBE                           YY 30 CALLE 48                                                                      PONCE                PR           00728
   673741 J J ELECTRIC WORK             P.O. BOX 60707 SUITE 45                                                                                                       BAYAMON              PR           00960
   673742 J J ELECTRONICS               CARR 459 KM 2 5                           P O BOX 3358                                                                        AGUADILLA            PR           00603
   233922 J J EXTERMINATING             BOX 1796                                                                                                                      SABANA SECA          PR           00952
   233923 J J INVESTMENT GROUP LLC      701 ADALUCIA AVE                                                                                                              SAN JUAN             PR           00920
   673743 J J KASH & CARRY              ADM FOMENTO COMERCIAL                     PO BOX 54275                                                                        SAN JUAN             PR           00902



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  673744 J J KELLER & ASSOCISTES INC                   PO BOX 368                                                                                                            NEEHAM            WI           54957‐0368
  673745 J J MUFFLERS SERV                             PO BOX 3299                                                                                                           AGUADILLA         PR           00605
  673746 J J QUALITY BUILDERS                          P O BOX 471                                                                                                           HATILLO           PR           00659

   233924 J J QUALITY CONTRACTOR INC                   URB VILLA ALEGRE III         CALLE 1                                                                                  MAUNABO           PR           00707
   233925 J J R BASEBALL CLUB INC                      HC 80 BOX 8420                                                                                                        DORADO            PR           00646
   673747 J J RENTA Y REPARACION                       AVE PONTEZUELA               J 674 VISTAMAR                                                                           CAROLINA          PR           00983
   673748 J J RENTAL                                   ADM FOMENTO COMERCIAL        PO BOX 9024275                                                                           SAN JUAN          PR           00902‐4275

   673734 J J RENTAL Y/O JOSE N VAZQUEZ PO BOX 1053                                                                                                                          MANATI            PR           00674
   673749 J J SALES FIRESTONE           P O BOX 29820                               65th INT                                                                                 SAN JUAN          PR           00929
                                        5811 MEMORIAL HIGHWAY
   673750 J J SOSA & ASSOCIATES         SUITE 207                                                                                                                            TAMPA             FL           33615‐5000
   233926 J J TEXACO AUTOMOTRIZ         APARTADO 1804                                                                                                                        CIDRA             PR           00739‐0000
   233928 J JARAMILLO INSURANCE INC     4745 ISLA VERDE AVE CM 1                                                                                                             CAROLINA          PR           00979‐5424
   673752 J JMR CONSTRUCTION SE         PO BOX 1574                                                                                                                          ISABELA           PR           00662
          J L AUTO PAINTS PARTS BODY
  1256586 SERVICES INC                  REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          J L AUTO PAINTS PARTS BODY    139 HACIENDA MI QUERIDO
   233929 SERVICES INC                  VIEJO                                                                                                                                DORADO            PR           00646

   673753 J L B ELECTRICAL SERVICES INC PO BOX 2315                                                                                                                          GUAYAMA           PR           00785‐2315
   673754 J L CO LEASING                P O BOX 1025                                                                                                                         GUAYNABO          PR           00970‐1025
          J L CONSTRUCTION D/B/A JORGE
   673755 SAN MIGUEL                    PO BOX 1291                                                                                                                          CIALES            PR           00638

   673756 J L DEVELOPMEN Y/O JOSE ORTIZ URB SANTA ROSA                              20 BLQ 35 C/ 25                                                                          BAYAMON           PR           00959
   673757 J L DIMENSIONS                MIRAMAR PLAZA CENTER                        954 AVE P DE LEON SUITE 203                                                              SAN JUAN          PR           00907
   233932 J L ESPARZA INC               PO BOX 10981                                                                                                                         SAN JUAN          PR           00922
          J L G CONSULTING ENGINEERING
   673758 PSC                           PO BOX 9023455                                                                                                                       SAN JUAN          PR           00902‐3455
          J L MENDEZ ANDINO HNC/ SEYBO
   233934 MUSIC LAB                     5987 PEPPERRRIDGE COURT                                                                                                              MAINEVILLE        OH           45039
   673760 J L MUFFLERS STA              P O BOX 3299                                                                                                                         AGUADILLA         PR           00605
   233935 J L N CONTRACTORS INC         HC 46 BOX 5722                                                                                                                       DORADO            PR           00646
          J L PADILLA VENDING &
   673761 AMSEMENT MACHINES             SANTA ISIDRA I                              B 11 CALLE 3                                                                             FAJARDO           PR           00738

   673762 J L PAINT CENTER                             2000 AVE ANTONIO R BARCELO                                                                                            CAYEY             PR           00736

   233936 J L PAINT CENTER INC.      2000 AVE ANTONIO R BARCELO                                                                                                              CAYEY             PR           00736‐4135
   233937 J L R ANESTHESIA           P O BOX 948075                                                                                                                          MAITLAND          FL           32794‐8075
   673763 J L R TRANSPORT INC        P O BOX 1049                                                                                                                            TOA BAJA          PR           00952
          J L SANTIAGO MATEO &
   233939 ASSOCIATES                 URB REMANSO TAINO                              243 CAGUAX                                                                               CAROLINA          PR           00987‐9960
   233940 J L SMITH & CO INC         901 BLAIRHILL RD SUITE 400                                                                                                              CHARLOTTE         NC           28217
   673764 J L TIRE CENTER            HC 01 BOX 10562                                                                                                                         LAJAS             PR           00667
   673765 J L VEGA DISTRIBUTORS      COUNTRY CLUB                                   HN 20 AVE EL COMANDANTE                                                                  CAROLINA          PR           00982
   673766 J LOS DISTRIBUTORS         PO BOX 1633                                                                                                                             BAYAMON           PR           00960
   233941 J M & ASOCIADOS INC        URB COUNTRY CLUB                               988 CALLE EIDER                                                                          SAN JUAN          PR           00924
          J M BARAGA&O INC BIOMED PM
   233942 & CONSULT                  PO BOX 9114                                                                                                                             SAN JUAN          PR           00908
   233943 J M BARAGAÐO INC           808 FERNANDEZ JUNCOS                                                                                                                    SAN JUAN          PR           00907



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   233944 J M BARAGANO BIOMEDICAL INC PO BOX 9114                                                                                                                       SAN JUAN            PR           00908‐0000
          J M BARAGANO BIOMEDICAL PM
   770569 & CONSULTING                808 AVE FERNANDEZ JUNCOS                                                                                                          SAN JUAN            PR           00907‐4314
   673767 J M BLANCO                  PO BOX 71480                                                                                                                      SAN JUAN            PR           00936‐8580
   673768 J M BLANCO INC              PO BOX 4129                                                                                                                       SAN JUAN            PR           00936
          J M CARIBBEAN CONTRUCTION
   673769 INC                         HC 4 BOX 17869                                                                                                                    CAMUY               PR           00627
   673770 J M CHAIR RENTAL            SIERRA BAYAMON                                BI 78 1 CALLE 69                                                                    BAYAMON             PR           00961‐4527

   673771 J M DECOR                   EK 14 MARIA VIRGINIA BENITEZ                                                                                                      LEVITTOWN           PR           00949
          J M MAINTENANCE SERV MIGUEL
   673772 A RODRIGUEZ                 PO BOX 190013                                                                                                                     SAN JUAN            PR           00919
          J M MAINTENANCE SERVICES
   673773 D/B/A                       MIGUEL A.RODRIGUEZ DIAZ                       P.O. BOX 190013                                                                     SAN JUAN            PR           00919
   673774 J M MALAVE SUPPLY           PO BOX 804                                                                                                                        COTO LAUREL         PR           00780
          J M MEDICAL & HOSPITAL
   673775 SUPPLY                      P O BOX 744                                                                                                                       ENSENADA            PR           00653
   233945 J M PEDREIRA & SON          PO BOX 366131                                                                                                                     SAN JUAN            PR           00936‐6131
   673776 J M V CONTRACTORS           ESTANCIAS SAN FERNANDO                        H 7 CALLE UNO                                                                       CAROLINA            PR           00985‐5207
   673777 J M WATER TECHNOLOGY        SANTA JUANITA                                 LL 22 CALLE 30                                                                      BAYAMON             PR           00956
   233947 J MAR TRANSMISSION          URB CAGUAS NORTE                              U7 CALLE NEBRASKA                                                                   CAGUAS              PR           00725
   673779 J MOLINA                    TIERRALTA P1 CALLE AGUILAR                                                                                                        GUAYNABO            PR           00969
   233948 J N ALARM                   PO BOX 1208                                                                                                                       CAYEY               PR           00737
   233949 J N AUTO SERVICE            P.O. BOX 13342                                AVE. KENNEDY KM. 3.3                                                                SAN JUAN            PR           00908
          J N CONSTRUCTION INC/ BCO
   233950 DESARROLLO                  ECONOMICO                                     PO BOX 2134                                                                         SAN JUAN            PR           00922‐2134
   673780 J N NIEVES AUTO PART        RR 2 BOX 6427                                                                                                                     TOA ALTA            PR           00953

   673781 J N R ENGINEERS S E                         497 C/ EMILIANO POLSUIT 314   URB. LAS CUMBRES                                                                    SAN JUAN            PR           00926‐5636
   673782 J O F GROUP                                 URB SANS SOUCIE               G 6 CALLE 10                                                                        BAYAMON             PR           00957
   673783 J O G ENGINEERING CORP                      PO BOX 195155                                                                                                     SAN JUAN            PR           00919‐5155
   233953 J P A SERVICE INC                           URB EL RETIRO                 B 16 CALLE 4                                                                        QUEBRADILLAS        PR           00678
          J P ACCOUNTANTS & TAX                       ARECIBO MEDICAL PLAZA SUITE
   673784 CONSULTANTS                                 207                                                                                                               ARECIBO             PR           00612
   673785 J P CONSULTING GROUP                        CALL BOX 2102 SUITE 253                                                                                           CAROLINA            PR           00984
   673786 J P ELECTRICAL                              PO BOX 1652                                                                                                       MANATI              PR           00674
   673788 J P ENTERTAIMENT                            P O BOX 4960                                                                                                      CAGUAS              PR           00726

   233954 J P INC                                     URB JARDINES DE SAN LORENZO   E1 CALLE 1                                                                          SAN LORENZO         PR           00754‐4310
   673789 J P INDUSTRIAL SALES CO INC                 PO BOX 9020735                                                                                                    SAN JUAN            PR           00907
          J P M C LEGAL & PROFFESIONAL                638 ALDEBRAN BDE BDLG SUITE
   673790 SERV GROUP                                  HQ 4                                                                                                              SAN JUAN            PR           00920
   233957 J P TRANSPORT CORP                          PO BOX 1581                                                                                                       AGUADILLA           PR           00605
   673617 J PEREZ CASH 7 CARRY                        P O BOX 27                                                                                                        MANATI              PR           00674
   673791 J PHILLIP GARCIA MD P A                     P O BOX 50516                                                                                                     JACKSONVILLE        FL           32240
   233959 J PICA & CIA INC                            PO BOX 71464                                                                                                      SAN JUAN            PR           00936‐8564
   673792 J POLLOCK                                   URB HERMANOS DAVILAS          E 11 CALLE 4                                                                        BAYAMON             PR           00959
   233960 J PORRATA TASADORES                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   673793 J Q DIESSEL SERVICE                         BO ARENALES ALTOS             BOX 20‐145                                                                          ISABELA             PR           00662
   673794 J Q L CONSTRUCTION                          URB CAMINO DEL SOL            325 CALLE VEREDO                                                                    VEGA BAJA           PR           00693
   233961 J R AUTO AIR                                HC 05 BOX 10950                                                                                                   COROZAL             PR           00783




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          J R BIOMEDICAL &
   673795 INSTRUMENTATION INC                         P O BOX 7105 PBM 122                                                                                         PONCE               PR           00732‐7105
                                                      CENTRO COMERCIAL
   673796 J R CONSTRUCTION CORP                       METROPOLITANA                 SUITE 202                                                                      SAN JUAN            PR           00922
   673797 J R CONTRACTORS                             HC 06 BOX 17417                                                                                              SAN SEBASTIAN       PR           00685
   673798 J R D CONSTRUCTION                          HC 01 BOX 5415                                                                                               BARRANQUITAS        PR           00794
          J R DISTRIBUTORS &
   673799 CONTRACTORS                                 PO BOX 142286                                                                                                ARECIBO             PR           00614
          J R ELECTRONICS & NEUMATICS
   233963 CORP                                        BOX 1717                                                                                                     TRUJILLO ALTO       PR           00977

   233964 J R ENGINEERING SERVICES PSC                URB SUNRISE PALMAS DEL MAR 33 B 16 CALLE SUNSEF                                                              HUMACAO             PR           00791
                                                      AVENIDA ROBERTO CLEMENTE D‐
   233965 J R ENTERTAIMENT GROUP                      9                                                                                                            CAROLINA            PR           00985
   673800 J R ENTERTAINMENT                           VILLA CAROLINA              D 9 AVE ROBERTO CLEMENTE                                                         CAROLINA            PR           00985
   233966 J R EXCHANGE COFFEE CORP                    PO BOX 5286                                                                                                  SAN SEBASTIAN       PR           00685

   771107 J R FAST DIGITAL PRINTING INC               P O BOX 11985                                                                                                SAN JUAN            PR           00922‐1985
   673801 J R FUERTES Y ASOCIADOS                     URB JACARANDAS                A 2 CALLE D                                                                    PONCE               PR           00731
          J R INDUSTRIAL CONTRACTOR
   673802 INC                                         PO BOX 10490                                                                                                 PONCE               PR           00732‐0490
   673803 J R MORTGAGE HOME                           1266 AVE HOSTOS SUITE 102                                                                                    PONCE               PR           00717‐0947
   673804 J R OCASIO                                  P O BOX 22625                                                                                                SAN JUAN            PR           00931‐2625
   673805 J R ORTIZ CO                                P O BOX 86                                                                                                   A¥ASCO              PR           00610
          J R PRIVATE POLICE AND
   233969 DETECTIVES SERV                             PO BOX 460                                                                                                   BOQUERON            PR           00622
   673806 J R PROFESSIONAL PRINTING                   URB VILLA ESPERANZA           N‐53 CALLE 1 AVE FAGOT                                                         PONCE               PR           00731
   673807 J R REPEAR                                  RR 3 OX 3090 SUITE 61                                                                                        SAN JUAN            PR           00926
   673808 J R REPLACEMENTS INC                        BOX 8501                                                                                                     BAYAMON             PR           00621‐8034
   673809 J R SERVICE STATION                         PO BOX 1450                                                                                                  HATILLO             PR           00659
   673810 J R STEEL AND BUILDERS                      URB LAS ALONDRAS              B 75 MARG                                                                      VILLALBA            PR           00766
   673811 J R TIRE PARTS CENTER                       PO BOX 9024275                                                                                               SAN JUAN            PR           00902‐4275
   673812 J RAUL TORRES SOTO                          HILLS BROTHERS                418 CALLE 23                                                                   SAN JUAN            PR           00924
   233970 J ROSABAL TIMES SYSTEMS                     PO BOX 29375                                                                                                 SAN JUAN            PR           00929‐0875
   673813 J S ACCOUNTING SERV                         HC 72 BOX 3766 136                                                                                           NARANJITO           PR           00719‐9718
   673814 J S ALUM                                    P O BOX 544                                                                                                  PATILLAS            PR           00723
   233972 J S B COOKING GROUP INC                     PO BOX 9020301                                                                                               SAN JUAN            PR           00902‐0301
   673815 J S CONSTRUCTION                            PO BOX 7006                                                                                                  PONCE               PR           00732
   233973 J S HOTEL MILANO INC                        307 CALLE FORTALEZA                                                                                          SAN JUAN            PR           00901 1716
   233974 J S M INC                                   URB MILAVILLE                 236 CALLE MAMEY                                                                SAN JUAN            PR           00926
   233975 J S MOVERS INC                              PO BOX 1894                                                                                                  CAROLINA            PR           00984‐1894
   233977 J SAAD NAZER INC                            PO BOX 29085                                                                                                 SAN JUAN            PR           00929‐0085
   673816 J SAN JOSE S A                              10 CALLE MANUEL TOVAR                                                                                        MADRID                           28 034        SPAIN
                                                                                    AVE PRINCIPAL SAN IGNACIO APT
   233978 J SANTANA & ASSOCIATES INC                  COND PLAZA DEL PALMAR         513                                                                            GUAYNABO            PR           00969
   233979 J SEIL CORP                                 PO BOX 30527                                                                                                 SAN JUAN            PR           00929
   673817 J T BAKERS INC                              118 CALLE BARBOSA                                                                                            MOCA                PR           00676
                                                      1510 ZVE ROOSEVELT EDIF BBV
   673818 J T CONSULTING GROUP INC                    PISO 12                                                                                                      GUAYNABO            PR           00968
   673819 J T FINANCIAL CORP                          PO BOX 3510                                                                                                  CAROLINA            PR           00984
                                                      333 PARCELAS MAGUEYES
   673820 J TORRES AIR CONDITIONING                   CAMINO VIEJO                                                                                                 PONCE               PR           00731
   673821 J W MULTI SERVICES INC                      P O BOX 134                                                                                                  GUAYAMA             PR           00785



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  233982 J&C CORPORATION                               P O BOX 14455                                                                                                        SAN JUAN            PR           00916‐4455
  673822 J&J APEROS                                    BO CAMPANILLAS              PO BOX 1152                                                                              TOA BAJA            PR           00951
  233983 J&L HARDWARE                                  CARR 3 KM 140.1                                                                                                      GUAYAMA             PR           00784
  233984 J&L MANAGEMENT INC                            P O BOX 195681                                                                                                       SAN JUAN            PR           00919‐5681
  233985 J&N Parking Group, Corp                       PO Box 270321                                                                                                        San Juan            PR           00927

   673823 J&R CATERING / JUAN HUERTAS BO ESPINOSA SECTOR ARENAS                    CARR 694 KM 0 HM 2                                                                       VEGA ALTA           PR           00692
   233986 J&S FOOD SERVICE              PO BOX 3459                                                                                                                         AGUADILLA           PR           00605‐3459
          J. A. COM REC DE LAS PARCELAS
   233987 FALU INC                      P O BOX 20801                                                                                                                       SAN JUAN            PR           00928
                                        CALLE MUNICIPAL 2K‐15 URB.
   233988 J. A. R. CONTRACTORS , INC.   COVADONGA                                                                                                                           TOA BAJA            PR           00949‐0000
                                        31 CALLE 35 BLQ. 39 SIERRA
   673824 J. AUTO REPAIR                BAYAMON                                                                                                                             BAYAMON                          00961
          J. C. CONSTRUCTORS AND
   233989 COMUNICATIONS INC             P. O. BOX 1202                                                                                                                      UTUADO              PR           00641‐0000
   673825 J. E. SOFTWARE GROUP, INC.    PO BOX 192795                                                                                                                       SAN JUAN            PR           00919‐2795

   673826 J. F. SCREENS                                9 CALLE ORQUIDEA BUZON 15   BUENAVENTURA                                                                             CAROLINA            PR           00987
   233990 J. GERALD SUAREZ PH.D.                       PO BOX 27255                                                                                                         WASHINGTON          DC           20038‐7255

   233991 J. J. GULF SERVICES STATION                  URB ROYAL GARDENS           CARR 167 KM 19.4 ESQ ESTHER                                                              BAYAMON             PR           00957
   233992 J. L. FLORES , UNC.                          P. O. BOX 9719                                                                                                       CAGUAS              PR           00726‐9719
   233993 J. LEIZAN INC.                               PO BOX 177                                                                                                           CAGUAS              PR           00726‐0177
   233994 J. PORRATA TASADORES                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   673829 J. R. CONSTRUCTION                           P. O. BOX 1622                                                                                                       YABUCOA             PR           00767

   673830 J. RIVERA KITCHEN EQUIPMENT                  URB PUERTO NUEVO            453 AVE DE DIEGO                                                                         SAN JUAN            PR           00920
   831427 J. Saad Nazer Inc.                           PO Box 29085                                                                                                         San Juan            PR           00929
          J. SANTANA AND ASSOCIATES,
   233995 INC.                                         1176 CALLE ARGENTINA        PLAZA DE LAS FUENTES                                                                     TOA ALTA            PR           00953

   233996 J. V. MUSIC CORP             1856 FERNANDEZ JUNCOS AVE.                                                                                                           SAN JUAN            PR           00919
                                       AVE. MINILLAS NM‐16 STA
   233998 J. VILLANUEVA DRIVING SCHOOL JUANITA                                                                                                                              BAYAMON             PR           00956
   233999 J. W. MULTI‐SERVICES INC.    BDA. BLONDET                                CALLE 3 #3                                                                               GUAYAMA             PR           00785‐0000
   831428 J.A Riollano, Inc.           Ave. Jesús T. Piñero 1561,                  Caparra Terrrace                                                                         San Juan            PR           00921

   673831 J.A. ALICEA CONSTRUCTION, INC. P.O. BOX 2657                                                                                                                      SAN GERMAN          PR           00639
   673832 J.A. DIAZ                      PO BOX 10154                                                                                                                       SAN JUAN            PR           00922
   673833 J.A. LOCK AND KEYS             PO BOX 30401                                                                                                                       SAN JUAN            PR           00929
  1256587 J.A. OFFICES MACHINE CORP      REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   234001 J.A. RIOLLANO CO., INC.        1561 AVE. J T PIÄERO                                                                                                               RIO PIEDRAS         PR           00921
   234003 J.A. RIOLLANOS                 PO BOX 363208                                                                                                                      SAN JUAN            PR           00936‐3208
   673834 J.A. TRUCK SERVICE             51 BO CANTERA STE 1                                                                                                                MANATI              PR           00674
                                         SAN FRANCISCO SHOOPING
   673835 J.A.B. CLEANERS INC.           CENTER                                    201 AVE DE DIEGO                                                                         SAN JUAN            PR           00927
   234004 J.A.E.L. PLASTIC               PO BOX 929                                                                                                                         SAN LORENZO         PR           00754
   673836 J.A.G. PABON ELECTRIC          URB SAN DEMETRIO                          Y7 CALLE E                                                                               VEGA BAJA           PR           00693
   673837 J.A.M. CONTRACTOR              HC 1 BOX 29030                                                                                                                     CAGUAS              PR           00725
   673838 J.A.MERA INC.                  PO BOX 13755                                                                                                                       SAN JUAN            PR           00908‐3755
   673839 J.B PRINCE                     36 EAST 31 ST STREET                                                                                                               NEW YORK            NY           10016




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   234005 J.B. ALVAREZ SPECIALTY, INC.                 BOX 29587 65TH INFANTERY STA.                                                                                 RIO PIEDRAS         PR           00929
   234006 J.B. TROPHIES INC                            CAMINO ALEJANDRINO C‐9                                                                                        GUAYNABO            PR           00969
                                                       C‐9 CAMINO ALEJANDRINO
   234007 J.B. TROPHIES, INC.                          GUAYNABO                                                                                                      GUAYNABO            PR           00969
   673840 J.B.A. SALES CO.                             PO BOX 1260                                                                                                   BAYAMON             PR           00960
   673841 J.C. CARIBE INC.                             65 TH.INFANTERY STATION       PO BOX 29161                                                                    SAN JUAN            PR           00929
   673842 J.C. ELECTRIC INC.                           URB VENUS GDNS                717 CALLE ASTER                                                                 SAN JUAN            PR           00926
   673843 J.C. ELECTRONIC                              A 10 AVE GAUTIER BENITEZ      VILLA DEL REY                                                                   CAGUAS              PR           00725
          J.C. GENERAL CONSTRUCTION ,
   234008 INC.                                         P. O. BOX 800030                                                                                              COTO LAUREL         PR           00780‐0000
   831429 J.C. Gonzalez, Inc.                          HC‐01 BOX 8389                                                                                                San German          PR           00683
   673845 J.C.R. ESSO STATION                          PO BOX 2468                                                                                                   VEGA BAJA           PR           00694
   673846 J.C.R. VIDEO RECORDINGS                      PO BOX 51750                                                                                                  TOA BAJA            PR           00950
   673847 J.CASTRO DISTRIBUTORS                        URB SAGRADO CORAZON           382 AVE SAN CLAUDIO                                                             SAN JUAN            PR           00926
   673848 J.D. FASHIONS & UNIFORMS                     P O BOX 46240                 HC 4                                                                            AGUADILLA           PR           00603 9782
   234009 J.E. COMMUNICATION, INC                      PO BOX 1594                                                                                                   HORMIGUEROS         PR           00660‐1594
                                                                                     236 CALLE LAS MARIAS URB
   234010 J.E. MURATTI & ASOCIADOS INC. HYDE PARK                                    HYDE PARK                                                                       SAN JUAN            PR           00927

  1420090 J.E.R. ENTERTAINMENT                         MICHAEL CORONA MUÑOZ          110 CALLE BORINQUEN SUITE 4‐1                                                   TRUJILLO ALTO       PR           00976
   673850 J.E.W. ENGINEERING SYSTEMS                   PO BOX 501                                                                                                    HORMIGUEROS         PR           00660
   673851 J.F. MARTINEZ CIA INC.                       PO BOX 11943                                                                                                  SAN JUAN            PR           00922
   234012 J.F. MONTALVO                                CARR. 2. KM 92.4                                                                                              CAMUY               PR           00627
   673852 J.F. TEXACO                                  162 CALLE CALIMANO N                                                                                          GUAYAMA             PR           00784‐4453
   673853 J.G. GABINETES                               RR 3 BOX 10361                                                                                                TOA ALTA            PR           00953
   673854 J.I. HOLCOMB MANUF CO.                       201 COND ROOSEVELT PLZ                                                                                        SAN JUAN            PR           00917
   673860 J.J. DISTRIBUTOR                             URB CUPEY GDNS                H8 CALLE 2                                                                      SAN JUAN            PR           00926
   673861 J.J. MARRERO REALTY INC.                     PO BOX 10088                                                                                                  SAN JUAN            PR           00908

   673862 J.J. PETROLEUN DISTRIBUTORS                  PO BOX 1916                                                                                                   TRUJILLO ALTO       PR           00977
   673863 J.J. SALES FIRESTONE                         P.O. BOX 29820                                                                                                SAN JUAN            PR           00929‐0820
   234013 J.J. SPECIALIST SERVICES                     PMB 12 RR 5 BOX 4999                                                                                          BAYAMON             PR           00956‐9708
          J.J. STORE, INC. (ATENCION: SR.
   234014 BALSA)                                       CALLE ATOCHA #3                                                                                               PONCE               PR           00731
          J.J.E. INC. HOSPICIO TOQUE DE
   234015 AMOR                                         URB. SAN SALVADOR             CALLE VENDING A15                                                               MANATI              PR           00674
          J.L. AIR CONDITIONING &
   234016 REFRIGERATION SE                             P O BOX 194482                                                                                                SAN JUAN            PR           00919‐4482
   673864 J.L. AUTO REPAIR                             HC 3                                                                                                          CAGUAS              PR           00725

   673865 J.L. CENTRO DE REFRIGERACION                 PO BOX 2526                                                                                                   SAN SEBASTIAN       PR           00685
          J.L. TRANSPORT / TARGET AIR
   234017 CARGO                                        P O BOX 1195                                                                                                  ANASCO              PR           00610
   234018 J.L.B. INC.                                  PO BOX 5506                                                                                                   PONCE               PR           00733
   234020 J.L.N. CONTRACTOR INC.                       HC 46 BOX 5722                                                                                                DORADO              PR           00646‐9618
   673866 J.M. VAZQUEZ ELECTRICAL                      HC‐71 BOX 3488                                                                                                NARANJITO           PR           00719
   673867 J.M.C. CORP                                  PO BOX 50724                                                  TOA BAJA                                        TOA BAJA            PR           00950
   673868 J.M.T. AUTO AIR INC.                         PO BOX 158                                                                                                    ISABELA             PR           00662
   673869 J.N. CONSTRUCTION CORP.                      PO BOX 6047                                                                                                   MAYAGUEZ            PR           00681
   673870 J.O.F. COMPANY                               PO BOX 10300                                                                                                  PONCE               PR           00732

   673871 J.O.M. ENGINEERING GENERAL                   CONTRACTORS                   CARR. ZOOLOGICO 1612                                                            MAYAGUEZ            PR           00680



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   673872 J.P. MORGAN INVESTMENT INC.                 522 5TH AVE                                                                                                               NEW YORK             NY           10036
          J.P.G. AIR CONDITIONING &
   234021 MAINTENANCE CO                              P O BOX 10152                                                                                                             SAN JUAN             PR           00908‐0000
   234022 J.R. ASPHALT , INC.                         HC‐01 BOX 5385                                                                                                            GUAYNABO             PR           00971‐0000
   673876 J.R. DIESEL SALE                            HC 1                                                                                                                      HATILLO              PR           00659
   673877 J.R. FAST COPY                              CAPARRA HEIGHTS STA.          PO BOX 11985                                                                                SAN JUAN             PR           00922

   673878 J.R. MARQUINA & ASSOCIATES                  PO BOX 13955                                                                                                              SAN JUAN             PR           00908
                                                      MARGINAL BRASILIA C‐9 CALLE
   673873 J.R. MOTOR CONNECTION                       B                                                                                                                         VEGA BAJA            PR           00693
   234023 J.R. RAMOS, INC.                            PO BOX 1888                                                                                                               COAMO                PR           00769
          J.R. VICENTY SERVICE STATION
   673874 TEXACO                                      206 AVE. GONZALEZ CLEMENTE                                                                                                MAYAGUEZ             PR           00682‐2929
   234024 J.R.INSULATION SALES                        PO BOX 10490                                                                                                              PONCE                PR           00732
   673880 J.R.PRINTING SERVICE                                              360492                                                                                              SAN JUAN             PR           00936
   673881 J.S CONSTRUCTION INC                        P.O. BOX 7006                                                                                                             PONCE                PR           00732‐7006
   673882 J.S. ADVERTISING                            PO BOX 1558                                                                                                               AIBONITO             PR           00705
   673883 J.S. PAINT CENTER                           URB FOREST HLS               261 CALLE 15                                                                                 BAYAMON              PR           00959
   673884 J.S.SALES DISTRIBUTORS                      URB VISTAMAR                 C32 CALLE LAS MARIAS                                                                         CAROLINA             PR           00983
   234026 J.T.S.                                      PO BOX 4509                  VIEJO                                                                                        SAN JUAN             PR           00902‐4509

   234027 J.W. CATERING & MAINTENANCE P.O. BOX 1414                                                                                                                             CAGUAS               PR           00726‐1414
   673885 J.X.K. CONSTRUCTION CORP.   PO BOX 185                                                                     NARANJITO                                                  NARANJITO            PR           00719
   234030 JA BUS SERVICE, INC.        HC 02 BOX 11310                                                                                                                           HUMACAO              PR           00791‐9609
   234031 JA BUS SERVICES, INC.       HC‐02 BOX 11310                                                                                                                           HUMACAO              PR           00791‐0000
                                                                                    EDIF JAPS 2747 LAS CARROZAS
   234032 JA DISTRIBUTORS              URB PERLA DEL SUR                            LOCAL 4                                                                                     PONCE                PR           00731
                                       RES.JARDINES DE GUANICA
                                       CALLE 25 DE JULIO CARR.
   234033 JA MACHUCA & ASSOCIATES INC. INDSTRI                                                                                                                                  GUANICA              PR           00653‐0000
   234035 JA MERA INC                  CALLE BARCELONA 127                                                                                                                      SANTURCE             PR           00907
   234036 JA PC CONSTRUCTION           URB SANTA JUANITA                            DD 40 CALLE 37                                                                              BAYAMON              PR           00956
   673886 JA RIBAS CORPORATION         PO BOX 190050                                                                                                                            SAN JUAN             PR           00920

   234037 JA SUPPLIES AND SERVICES INC                URB RIO GRANDE ESTATES        12206 CALLE REINA MARGARITA                                                                 RIO GRANDE           PR           00745
   234038 JA TECHNICAL GROUP                          COLINAS DEL PLATA             #8 CALLE PRINCIPAL                                                                          TOA ALTA             PR           00953
   234039 JAANIN E. MENDEZ CRUZ                       URB. CRISTAL BUZON 1461                                                                                                   AGUADILLA            PR           00603
   673888 JAAP CORPORATION                            PO BOX 9022878                                                                                                            SAN JUAN             PR           00902‐2878
   673890 JAASIEL R DUMEY RIVERA                      L 23 URB JESUS M LAGO                                                                                                     UTUADO               PR           00641

   673891 JAB FABRICS                                 PDA. 23                       1600 AVE FERNANDEZ JUNCOS                                                                   SAN JUAN             PR           00909

   234045 JABES COMMUNITY HOME INC                    HC 2 BOX 44539                                                                                                            VEGA BAJA            PR           00693‐9632
                                                                                    CITY VIEW PLAZA II 48 CARR 165
   234046 JABES COMUNITY HOME, INC.                   IRS / W. SANTIAGO             STE 2000                                                                                    GUAYNABO             PR           00968‐8000
   673892 JABETZA REYES RAMOS                         URB LA MARINA                 CALLE 5 B 5                                                                                 CAROLINA             PR           00979

   234047 JABIANA DEVELOPMENT CORP                    PMB 243 1353 ROAD 19                                                                                                      GUAYNABO             PR           00966
   673893 JABISON LOPEZ CEDENO                        ENTRADA SAN ANTON             20 CALLE 4                                                                                  PONCE                PR           00731
   673895 JABISON LOPEZ MERCADO                       URB FERRY BARRANCAS           61 CALLE ALELIES                                                                            PONCE                PR           00731
   234049 JABNEL FERRER LUGO                          REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   234050 JABNYELL J ORTEGA REXACH                    REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  673896 JABS SERVICE STATION GULF                    PO BOX 5188                                                                                                     CAGUAS               PR           00726
  234051 JAC CONSULTORES INC                          PO BOX 443                                                                                                      JUNCOS               PR           00777
         JAC ELECTRICAL CONTRACTORS
  673897 INC                                          HC 01 BOX 2466                                                                                                  COMERIO              PR           00782
  673898 JAC ENTERPRISES INTL INC                     PO BOX 70250 SUITE 221                                                                                          SAN JUAN             PR           00936‐8250
         JAC INTERPRISES
  673899 INTERNATIONAL INC                            PO BOX 70250 SUITE 221                                                                                          SAN JUAN             PR           00936‐8250
  673900 JAC MFG INC                                  P O BOX 1329                                                                                                    CAGUAS               PR           00726
  234052 JAC SALES & SERVICE INC                      PASEO LOS CORALES 1         608 MAR INDICO                                                                      DORADO               PR           00646
                                                      PASEO LOS CORALES 1 # 608
   234053 JAC SALES & SERVICES , INC.                 MAR INDICO                                                                                                      DORADO               PR           00646‐0000
   673901 JACA & SIERRA TESTING LAB.                  PO BOX 363116                                                                                                   SAN JUAN             PR           00936

   234061 JACA MONTIJO MD, IGNACIO J                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   673902 JACAGUAS GOMAS Y GOMAS                      P O BOX 948                                                                                                     COTTO LAUREL         PR           00780
          JACAGUAX HEALTHCARE GROUP
   234069 INC                                         PO BOX 1418                                                                                                     JUANA DIAZ           PR           00795
   673903 JACANA S PRINTING                           32 CALLE STO DOMINGO                                                                                            YAUCO                PR           00698
   673904 JACANAS CUCHILLA                            P O BOX 926                                                                                                     UTUADO               PR           00641
   673905 JACAR INC                                   PO BOX 703                                                                                                      AIBONITO             PR           00705‐0703
   673906 JACELYN I SKERRETT TORRES                   P O BOX 574                                                                                                     RIO GRANDE           PR           00745
   234071 JACELYN MOLL RODRIGUEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   234072 JACHIRA M RODRIGUEZ VARGAS REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   673908 JACIENTH B WALTERS         PO BOX 71325                                 SUITE 53                                                                            SAN JUAN             PR           00936
   673909 JACIENTO CORREA            PO BOX 190                                                                                                                       LOIZA                PR           00772
                                     VILLA PALMERA 512 C/
   673910 JACINT PEROCIER BALADEJO   BARTOLOME LAS                                CASAS                                                                               SAN JUAN             PR           00915
   234073 JACINTA BONILLA RIVERA     REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   673911 JACINTA CHICLANA MONJE     VILLA PRADES                                 634 CALLE JULIO ANDINO                                                              SAN JUAN             PR           00924
   673912 JACINTA CRISPIN PICARD     CALLEJON CRISPIN #114                                                                                                            SAN JUAN             PR           00926
   234074 JACINTA ESCABI SEGARRA     REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   673917 JACINTA GUERRA HERNANDEZ                    PO BOX 193022                                                                                                   SAN JUAN             PR           00919
   673918 JACINTA MONCLOVA LEBRON                     BO CALZADA BOX 148                                                                                              MAUNABO              PR           00707
   673919 JACINTA ORTIZ RODRIGUEZ                     SALIDA MAMEY BOX 92                                                                                             PATILLAS             PR           00723

   673920 JACINTA ROSARIO RODRIGUEZ                   P O BOX 276                                                                                                     VEGA ALTA            PR           00692

   234076 JACINTA SANCHEZ BERBERENA                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   673921 JACINTA SANTIAGO                            PO BOX 7554                                                                                                     CIDRA                PR           00739
   234077 JACINTO ACEVEDO ALVAREZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   673923 JACINTO ACEVEDO RAMOS                       EXT BUNKER 442 CALLE N                                                                                          CAGUAS               PR           00725
   234078 Jacinto Andino Calderón                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   673924 JACINTO C PEDRAZA COLON                     NOTRE DAME                  K 8 CALLE SAN PEDRO                                                                 CAGUAS               PR           00725
   673926 JACINTO DESIDERIO ORTIZ                     MANS MONTECASINO II         566 CALLE GAVIOTA                                                                   TOA ALTA             PR           00953‐2254
   234079 JACINTO DESIDERIO REYES                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   234080 JACINTO FIGUEROA FIGUEROA                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   234081 JACINTO FIGUEROA NIEVES                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   673930 JACINTO IRIZARRY APONTE                     URB CONSTANCIA              2354 CALLE EUREKA                                                                   PONCE                PR           00717‐2328

   673931 JACINTO MALDONADO MEDINA PO BOX 523                                                                                                                         VEGA BAJA            PR           00694



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  673932 JACINTO MARTINEZ BERRIOS                     BO MONTONES I                SECTOR LA ROMANA                                                                       LAS PIEDRAS        PR           00771

   234082 JACINTO MARTINEZ RODRIGUEZ                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   673933 JACINTO MAURY VELAZQUEZ                     HC 6 BOX 11885               BO ROBLES                                                                              SAN SEBASTIAN      PR           00685
   234083 JACINTO MIRANDA VELEZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   673934 JACINTO MORALES                             JAIME L DREW                 249 CALLE B                                                                            PONCE              PR           00731
   673935 JACINTO MOURY RUIZ                          BO ROBLES                    HC 06 BOX 11885                                                                        SAN SEBASTIAN      PR           00685

   673936 JACINTO NIEVES LANDRAU                      URB ALTAMIRA COND IBERIA 1   554 CALLE PERSEO APT 1402                                                              SAN JUAN           PR       00921
   234084 JACINTO ORTIZ PEREZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED           REDACTED
   234085 JACINTO PAGAN MARTINEZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED           REDACTED
   673937 JACINTO PAGAN MORALES                       HC 2 BOX 5281                                                                                                       LUQUILLO           PR       00773‐9728
   673938 JACINTO PEREZ                               BO CAMPANILLA                BZN 1196 C/ E M DE HOSTOS                                                              TOA BAJA           PR       00949
   234086 JACINTO RAMIREZ FERRER                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED           REDACTED
   673940 JACINTO RIQUELME CORTES                     URB DOS PINOS                788 CALLE DIANA                                                                        SAN JUAN           PR       00923
   673941 JACINTO RIVERA KIEHL                        557 SECT LA MULA                                                                                                    UTUADO             PR       00641
   673944 JACINTO RIVERA RODRIGUEZ                    5 CALLE MU¨OZ RIVERA                                                                                                BARRANQUITAS       PR       00794
   234087 JACINTO RIVERA SANTIAGO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED           REDACTED
   234088 JACINTO ROBLES RAMOS                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED           REDACTED
   673946 JACINTO RODRIGUEZ                           JARD DE CERRO GORDO          A20 CALLE 3                                                                            SAN LORENZO        PR       00754
   234089 JACINTO SEDA APONTE                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED           REDACTED
   673949 JACINTO SOTO LUNA                           206 AVE FERNANDEZ GARCIA                                                                                            CAYEY              PR       00736
   673950 JACINTO TATIS TEJADA                        URB SIERRA LINDA             JJ 2 CALLE 14                                                                          BAYAMON            PR       00957
   234090 JACINTO TEJEDA FONTICIELLA                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED           REDACTED
                                                      PARCELAS AMALIA MARIN NUM
   673951 JACINTO TORRES MARTINEZ                     16 C/ C                                                                                                             PONCE              PR           00731

   234091 JACINTO TORRES TORREGROSA                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   673952 JACINTO VALLEJO URGUELLES                   P O BOX 7945                                                                                                        PONCE              PR           00732
          JACINTO ZABALEGUI
   234092 GOICOECHEA                                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   673954 JACK BENNY TAGLE PADRO                      TOA ALTA HEIGHTS             E 27 CALLE 12                                                                          TOA ALTA           PR           00953
   673955 JACK D WALTON                               PO BOX 8993                                                                                                         SAN JUAN           PR           00910‐0993
          JACK D WELLER, ALBERT
   234095 EINSTEIN                                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   234096 JACK GONZALEZ MATOS                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
          JACK LENE COMMUNITY HOME
   234097 INC                                         PO BOX 554                                                                                                          JUANA DIAZ         PR           00795
   234098 JACK MICHAEL KATZ                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
                                                                                   OFIC SUPERINTENDENTE
   673956 JACK R GARCIA PEREZ                         PO BOX 487                   ESCUELAS                                                                               HUMACAO            PR           00791
          JACK SCHMITZ DBA 3.0
   234099 PROFESSIONAL SERV                           10840 MARQUETTE ROAD                                                                                                ZIONSVILLE         IN           46077
   234100 JACK ZAIDSPINER MITRANI                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   234101 JACKAHIL CUEVAS FERNANDEZ                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   234102 JACKEIRA BURKE TORRES                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   234103 JACKELIN MALDONADO CASTRO REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   234104 JACKELIN ORTIZ TORRES     REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   673957 JACKELIN OYOLA MALDONADO                    PO BOX 521                                                                                                          SABANA HOYOS       PR           00688
   673958 JACKELINA SANCHEZ REYES                     160 PUERTA DEL MAR           APT 119                                                                                HATILLO            PR           00659



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  234105 JACKELINE ACEVEDO TORRES                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  234106 JACKELINE AGUILAR OSORIO                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         JACKELINE ANAYA SANCHEZ /
  673959 EMMANUEL OJEDA                               BO SAN JOSE PARC 759                                                                                                 TOA BAJA             PR         00951
  673961 JACKELINE APONTE MORALES                     HC 2 BOX 11527                                                                                                       HUMACAO              PR         00791
  234107 JACKELINE AVILES ORTIZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  234109 JACKELINE BAEZ MONTALVO                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  234110 JACKELINE BATISTA ROSARIO                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  673963 JACKELINE CABAN CRUZ                         176 CALLE NEMESIO CANALES                                                                                            MOCA                 PR         00676
  234111 JACKELINE CALDERON FLORES                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         JACKELINE CAMACHO
  673964 MONTALVO                                     RES COLUMBUS LANDING        EDIF 31 APTO 327                                                                         MAYAGUEZ             PR         00680
         JACKELINE CANDELARIA
  234112 CURBELO                                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   234113 JACKELINE CARDONA VELAZQUEZ REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   673965 JACKELINE CARRERO SANTIAGO                  PO BOX 7557                                                                                                          CIDRA                PR         00739

   673966 JACKELINE CARRILLO MEDERO                   HC 03 BZN 19116                                                                                                      RIO GRANDE           PR         00745

   234114 JACKELINE CASTILLO FIGUEROA                 REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   234115 JACKELINE CEDENO VARGAS                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JACKELINE CEDRES LEON,JOEL                  LOPEZ & JOHANNA REBOLLO     MSC 301 138 WINSTON
   673968 RODRIGUEZ                                   GONZALEZ                    CHURCHILL AVE                                                                            SAN JUAN             PR         00926‐6023
   234116 JACKELINE CINTRON BELTRAN                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   234117 JACKELINE CINTRON VAZQUEZ                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   673969 JACKELINE COLON MORET                       PO BOX 1896                                                                                                          GUAYAMA              PR         00785
                                                                                  SECTOR COREA CARR 647 KM 12
   673970 JACKELINE CORAZON RIVERA                    BO BAJURAS                  3                                                                                        VEGA ALTA            PR         00692

   673971 JACKELINE CORDERO MORALES                   BOX 2283                                                                                                             CAYEY                PR         00736

   673972 JACKELINE CORDERO PACHECO                   AMALIA MARIN                65 INFANTERIA 32 PLAYA                                                                   PONCE                PR         00716
   673973 JACKELINE CORE VELEZ                        BO GALATEO CENTRO           CARR 804 KM 0 HM 2                                                                       TOA ALTA             PR         00953
   234118 JACKELINE CORREA VAZQUEZ                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   234119 JACKELINE COTTO GONZALEZ                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   673974 JACKELINE CRUZ COLON                        341 AVE ROCHDALE                                                                                                     PONCE                PR         00731
          JACKELINE CUADRADO
   234120 CONCEPCION                                  REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   234121 JACKELINE DE JESUS DE JESUS                 REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   673976 JACKELINE DIAZ BERRIOS                      4 PURCHASED STREET                                                                                                   MILFORD              MA         01757
   673977 JACKELINE DIAZ MALDONADO                    REPTO FLAMINGO              H23 CAL PRL DL S 1C                                                                      BAYAMON              PR         00959
   673978 JACKELINE DIAZ PAGAN                        EXT PUNTO ORO               4911 CALLE VENTURA                                                                       PONCE                PR         00728‐2115
   673979 JACKELINE DIAZ RODRIGUEZ                    HC 2 BOX 1551                                                                                                        ARECIBO              PR         00612
   234122 JACKELINE E FONSECA ORTIZ                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   234123 JACKELINE FELICIANO ARCHILLA                REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   673980 JACKELINE FELICIANO FREYTES                 P O BOX 1884                                                                                                         MANATI               PR         00674
          JACKELINE FELICIANO
   234124 RODRIGUEZ                                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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   234125 JACKELINE FONOLLOSA OCASIO                  REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          JACKELINE FRANCISCO DE LA
   234126 CRUZ                                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   673981 JACKELINE G GONZALEZ RIVERA                 PO BOX 498                                                                                                 CIDRA                 PR           00739
   673982 JACKELINE GARCIA AYALA                      HC 4 BOX 15623                                                                                             HUMACAO               PR           00791
   673983 JACKELINE GARCIA GONZALEZ                   PO BOX 7126                                                                                                PONCE                 PR           00732
   673984 JACKELINE GONZALEZ FEBRES                   HC 02 BOX 14572                                                                                            CAROLINA              PR           00987
   673986 JACKELINE GONZALEZ PEREZ                    PO BOX 943                                                                                                 COMERIO               PR           00782
   673987 JACKELINE GOYCO CORREA                      URB TURABO GARDENS     5TA SECC 30 A CALLE 32                                                              CAGUAS                PR           00725
   234129 JACKELINE GRAU ALVAREZ                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          JACKELINE HERNANDEZ
   673988 RODRIGUEZ                                   VILLA COOPERATIVA      D 9 CALLE 2                                                                         CAROLINA              PR           00985

   234130 JACKELINE HERNANDEZ ROSADO REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          JACKELINE I CARTAGENA
   673989 RODRIGUEZ                  HC 1 BOX 4871                                                                                                               VILLALBA              PR           00766

   234131 JACKELINE I FELICIANO ARCHILLA REDACTED                            REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   234132 JACKELINE J. GARCIA RIVAS      REDACTED                            REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          JACKELINE KLEIS GOURMET
   673991 CATERING                       URB LA LOMITA                       A‐1 VISTA LINDA                                                                     GUAYNABO              PR           00969
   234133 JACKELINE LANDRAU CRUZ         REDACTED                            REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   673992 JACKELINE LOPERENA             HC 2 BOX 10721                                                                                                          MOCA                  PR           00676
   234134 JACKELINE LOPEZ                REDACTED                            REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          JACKELINE M CANTELLOPS
   234135 GONZALEZ                       REDACTED                            REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          JACKELINE M DEL VALLE DE
   673994 TOMAS                          VISTAS DE LOS FRAILES               150 CARR 873 BOX 88                                                                 GUAYNABO              PR           00969
   234136 JACKELINE M ORTIZ VEGA         REDACTED                            REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   234137 JACKELINE MARTINEZ ALEMANY REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   673995 JACKELINE MARTINEZ NEGRON                   URB RIO CANAS          2867 CALLE AMAZONAS                                                                 PONCE                 PR           00728
   234138 JACKELINE MARTINEZ ORTIZ                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   234139 JACKELINE MARTINEZ ROMERO                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   673997 JACKELINE MEJIAS ARROYO                     URB CANA               KK 34 CALLE 9                                                                       BAYAMON               PR           00957
   673999 JACKELINE MOLINA CABRERA                    URB SIERRA BAYAMON     63‐18 CALLE 54                                                                      BAYAMON               PR           00961

   234141 JACKELINE MORALES GONZALEZ REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   234142 JACKELINE MORALES QUINTANA REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   234143 JACKELINE MUNIZ HERNANDEZ                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   674000 JACKELINE NAVARRO RIVERA                    COM LA RIVERA          EDIF 15 APT 92                                                                      LAS PIEDRAS           PR           00771
   674001 JACKELINE NEGRON COLON                      HC 2 BOX 6947                                                                                              FLORIDA               PR           00650
   234144 JACKELINE NIEVES SOTO                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   674002 JACKELINE O FARRILL BADILLO                 URB VISTAMAR 997       CALLE NAVARRA                                                                       CAROLINA              PR           00983

   674003 JACKELINE OCACIO FERNANDEZ                  PO BOX 306                                                                                                 SAINT JUST            PR           00978



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  674005 JACKELINE OLIVERA ROMAN                      CALL BOX 4035 ST 276                                                                                              ARECIBO           PR           00613
  674006 JACKELINE ORTIZ ARROYO                       HC 01 BOX 5227                                                                                                    BARRANQUITAS      PR           00794

   674007 JACKELINE ORTIZ BEAUCHAMP                   PO BOX 200                                                                                                        LAS MARIAS        PR           00670
   674009 JACKELINE ORTIZ MELENDEZ                    RR 01 BOX 13944                                                                                                   TOA ALTA          PR           00953 9732
   674010 JACKELINE ORTIZ PEREZ                       APARTADO 484                                                                                                      PATILLAS          PR           00723
   674012 JACKELINE ORTZ                              12 CALLE ESMERALDA                                                                                                PONCE             PR           00731
   234145 JACKELINE PACHECO COLON                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   234146 JACKELINE PAGAN LUQUIS                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   234147 JACKELINE PENA GUERRA                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   674013 JACKELINE PEREZ CONCEPCION                  P O BOX 9692                 COTTO STATION                                                                        ARECIBO           PR           00613‐9692
   234148 JACKELINE PEREZ CUELLO                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   234149 JACKELINE PEREZ GALLEGO                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   234150 JACKELINE PEREZ PENA                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   674015 JACKELINE PEREZ RODRIGUEZ                   URB SAN ANTONIO              179 CALLE 7                                                                          SAN ANTONIO       PR           00690
   674016 JACKELINE PEREZ VEGA                        BO CLAUSELLS                 2 CALLE 5                                                                            PONCE             PR           00731
   234151 JACKELINE QUINONES MOYA                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   234152 JACKELINE RAMIREZ SALINAS                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   674021 JACKELINE RAMOS ROJAS                       BAJOS EL CORTIJO             APT 1 G 32 CALLE 10                                                                  BAYAMON           PR           00956
   674022 JACKELINE RAMOS SANTIAGO                    BO MAGINAS                   10 CALLE ROBLE                                                                       SABANA GRANDE     PR           00637
   234153 JACKELINE REYES ALVAREZ                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   674023 JACKELINE REYES GARCIA                      40 CALLEJON BORINQUEN                                                                                             PONCE             PR           00731
   234154 JACKELINE REYES NIEVES                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   674024 JACKELINE RIVERA                            HC 01 BOX 5139                                                                                                    CAMUY             PR           00627
   234155 JACKELINE RIVERA COSME                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   234156 JACKELINE RIVERA FELICIANO                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   674026 JACKELINE RIVERA ORTIZ                      VILLA BORINQUE               J 32 CALLE YAGUEZ                                                                    CAGUAS            PR           00925

   674027 JACKELINE RIVERA RAMOS                      LOS ARBOLES DE MONTEHIEDRA   600 BLVD DE LOS ARBOLES                                                              SAN JUAN          PR           00926
   234157 JACKELINE RIVERA REYES                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   234158 JACKELINE RIVERA ROLON                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   674029 JACKELINE RIVERA ROSARIO                    P O BOX 43                                                                                                        RIO GRANDE        PR           00745
   674030 JACKELINE RIVERA SANTOS                     BOX 2357                     BO RABANAL                                                                           CIDRA             PR           00739

   234159 JACKELINE ROBLES NORMANDIA REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   234160 JACKELINE RODRÍGUEZ           REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          JACKELINE RODRIGUEZ / DENISSE
   674031 DIAZ                          BO RIO HONDO II                            CARR 156 KM 24 8                                                                     COMERIO           PR           00782

   674032 JACKELINE RODRIGUEZ CLAUDIO P O BOX 711                                                                                                                       MANATO            PR           00674

   234161 JACKELINE RODRIGUEZ ESPADA                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   674033 JACKELINE RODRIGUEZ GARCIA                  EXT ZENO GANDIA              EDIF C 8 APT 208                                                                     ARECIBO           PR           00612
          JACKELINE RODRIGUEZ
   674034 MARTINEZ                                    HC 1 BOX 5361                                                                                                     GUAYNABO          PR           00971
          JACKELINE RODRIGUEZ
   234162 MELENDEZ                                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   674035 JACKELINE RODRIGUEZ NIEVES                  JARD DEL TOA                 20 CALLE 1                                                                           TOA ALTA          PR           00953
          JACKELINE RODRIGUEZ
   234163 RODRIGUEZ                                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  674036 JACKELINE ROSA GERENE                        HC 1 BOX 6942                                                                                                  LAS PIEDRAS        PR         00771
  234165 JACKELINE ROSARIO ANAYA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  674037 JACKELINE ROSARIO HIGA                       P O BOX 383                                                                                                    ARROYO             PR         00714
  674038 JACKELINE ROSARIO VELEZ                      11 BO LA GRUA                                                                                                  MANATI             PR         00674
  674039 JACKELINE SANDOVAL                           BO CHARCO HONDO              BOX 22                                                                            CABO ROJO          PR         00623

   674040 JACKELINE SANTAELLA CORREA                  VILLA CAROLINA               231‐2 CALLE 609                                                                   CAROLINA           PR         00985
   234166 Jackeline Santana Hernandez                 REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   234168 JACKELINE SANTIAGO NIEVES                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   674041 JACKELINE SANTIAGO TORRES                   BOX 84 SABANA SECA STATION                                                                                     TOA BAJA           PR         00952
   234169 JACKELINE SEGARRA TORRES                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   234170 JACKELINE SERRANO VELAZQUEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   674042 JACKELINE SIERRA            HC 43 BOX 10619                                                                                                                CAYEY              PR         00736
   674043 JACKELINE SOLER MERCADO     RR 20 BOX 79                                                                                                                   ISABELA            PR         00662
   234171 JACKELINE TAVERAS LESPIN    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   234172 JACKELINE TIRADO            REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   234173 JACKELINE TORRES BLANCO     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   234174 JACKELINE TORRES LOPEZ      REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   234175 JACKELINE TORRES QUINONES                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   674044 JACKELINE TROCHE FONTANEZ  URB REPARTO SAN JOSE                          A 23 CALLE 5                                                                      GURABO             PR         00778
   234176 JACKELINE VAZQUEZ LUGO     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   674045 JACKELINE VAZQUEZ RIVERA   BO DUQUE                                      BOX 2155                                                                          NAGUABO            PR         00718
   234178 JACKELINE VELAZQUEZ LABOY  REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JACKELINE VELAZQUEZ
   234179 QUINONES                   REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   234180 JACKELINE VILELLA DIAZ     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   234181 JACKELINE, BENITEZ         REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   234182 JACKELINE, GONZALEZ        REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   674048 JACKELLINE MOLINA SALAS    VALENCIA                                      C 3 CALLE AMAPOLA                                                                 BAYAMON            PR         00959
   234183 JACKELYN CLAUDIO ROBLEDO   REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   234184 JACKELYN D RUIZ MONTANEZ   REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   234185 JACKELYN D. RUIZ MONTANEZ  REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   674049 JACKELYN REYES CRUZ        BO LA CENTRAL P‐326 B9A                                                                                                         CONOVANAS          PR         00729
   674050 JACKELYNE RIVERA TORRES    VILLA FONTANA                                 QR 17 VIA 19                                                                      CAROLINA           PR         00987
   234186 JACKIE AIZENMAN VAISMAN    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   674051 JACKIES AUTO TRANSMISSION  RR 9 BOX 1387                                                                                                                   SAN JUAN           PR         00926
   674052 JACKIS KITCHEN             URB DEL CARMEN CA                             D 39 SOLEDAD                                                                      RIO GRANDE         PR         00745
          JACKLELINE RAMIREZ/ HOGAR
   234188 ABRAZO AMOR IN             PMB 903                                       PO BOX 144035                                                                     ARECIBO            PR         00614‐4035
          JACK‐LENE COMMUNITY HOME ,
   234189 INC                        PO BOX 554                                                                                                                      JUANA DIAZ         PR         00795
   674053 JACKLINE LOPEZ SANCHEZ     3 COND APRIL GARDENS                          BOX 131                                                                           LAS PIEDRAS        PR         00771
   234190 JACKLYN COLON ALVAREZ      REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   234191 JACKLYN VELEZ PEREZ        REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JACKSODARA VAZQUEZ
   674055 HERNANDEZ                  URB SABANA GARDEN                             9‐49 CALLE 14                                                                     CAROLINA           PR         00983
   234198 JACKSON COTTO MELENDEZ     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   234200 JACKSON HOSPITAL           PO BOX 152472                                                                                                                   IRVING             TX         75015‐2472
   234201 Jackson Lewis LLC          American Int'l Plaza Suite 404                250 Munoz Rivera Ave                                                              San Juan           PR         00918



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  234205 JACKSON MD, LINDA                            REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      5600 OAKBROOK PARKWAY
   234206 JACKSON MEMORIAL                            SUITE 100                                                                                                          NORCROSS            GA         30093
   234208 JACKSON MENTAL HEALTH                       5600 OAKBROOK PARKWAY      STE 100                                                                                 NORCROSS            GA         30093‐1874

   674057 JACKSON MERCADO PACHECO                     18 CALLE JIMENEZ SICARDO                                                                                           CAGUAS              PR         00725

   234209 JACKSON MIRANDA ZAMBRANA                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JACKSON TORRES, SAMUEL I. Y                                            CENTRO INTERNACIONAL DE
  1420091 OTROS                                       HATUEY INFANTE CASTELLANOS MERCADEO TORRE 1 STE. 510                                                               GUAYNABO            PR         00968‐8052
          JACKSON TRINIDAD
   674058 ENCARNACION                                 HC 1 BOX 4072                                                                                                      LOIZA               PR         00772
  1420092 JACKSON, SAMUEL I. 685‐945                  HATUEY INTANTE             PO BOX 12014                                                                            SAN JUAN            PR         00914

   234221 JACKSONVILLE FAMILY PRACTICE MEDICAL RECORDS                           1731 UNIVERSITY BLVD SOUTH                                                              JACKSONVILLE        FL         32216‐8928
   234222 JACKSUAL A FERRER CRUZ       REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   234223 JACKXELIS I ALICEA LABRADOR                 REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674059 JACKYN SANCHEZ NIEVES                       URB VILLA MADRID           C 22 CALLE 10                                                                           COAMO               PR         00769
   234204 JACKZEL CRUZ PAGAN                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674060 JACLYN A CASTRO CHEVERE                     RR 36 BOX 8612                                                                                                     SAN JUAN            PR         00926
   234224 JACLYN K. BRANDER                           REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674061 JACLYN MELENDEZ PAGAN                       URB SAN MARTIN             39 CALLE CORONEL IRIZARRY                                                               CAYEY               PR         00736
   674062 JACLYN PEREZ TRAVERZO                       HC 06 BOX 12842                                                                                                    SAN SEBASTIAN       PR         00685
   674066 JACOB ALICEA GARCIA                         BO FLORIDA                 APT CC                                                                                  SAN LORENZO         PR         00754
   234225 JACOB CARABALLO                             REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674064 JACOB CARABALLO CUBA                        HC 1 BUZON 5091                                                                                                    ADJUNTAS            PR         00601‐9719
   234226 JACOB COLON RODRIGUEZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234227 JACOB CRUZ SANTIAGO                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   234228 JACOB DANIEL ROMAN QUILES                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234229 JACOB E GUZMAN                              REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674067 JACOB E NIEVES LOPEZ                        P O BOX 1723                                                                                                       QUEBRADILLAS        PR         00678
   234230 JACOB E VACHIER ALLENDE                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234231 JACOB IRIZARRY RODRIGUEZ                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JACOB IRIZARRY
   674069 SISCO/MECANICA SUSUKI                       PARC MAGUEYES              54 CALLE AQUAMARINA                                                                     PONCE               PR         00731

   234233 JACOB L QUINTANA GONZALEZ                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   674070 JACOB M MORALES MARCHOSKY PO BOX 9021112                                                                                                                       SAN JUAN            PR         00902‐1112
   674071 JACOB MARRERO AYALA       32 BO CANTA GALLO                                                                                                                    LUQUILLO            PR         00773
   674072 JACOB MATOS CASTRO        URB VALLE ALTO                               1219 C/ PRADERA                                                                         PONCE               PR         00730‐4122
   674073 JACOB N RAMOS HERNANDEZ   PMB 103 PO BOX 2500                                                                                                                  TOA BAJA            PR         00951
   234234 JACOB RESTO RAMIREZ       REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JACOB RIVERA A/C BCO DES
   674065 ECONOMICO                 BOX 249                                                                                                                              OROCOVIS            PR         00720
   234235 JACOB RIVERA RIVERA       REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234236 JACOB TORRES HERNANDEZ    REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234237 JACOB VELAZQUEZ RIVERA    REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                    MEDICAL RECORDS PROCESSING
   234238 JACOBI MEDICAL CENTER     EMRX                                         PO BOX 403747                                                                           ATLANTA             GA         30384‐3747
   674075 JACOBO A VARGAS SERRANO   PO BOX 141723                                                                                                                        ARECIBO             PR         00614



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                                                      URB. COVADONGA 3J9 CALLE‐
   674076 JACOBO APONTE VIANA                         22                                                                                                                 TOA BAJA            PR           00949
          JACOBO CARRASQUILLO
   234241 OLMEDO                                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674077 JACOBO GONZALEZ MIRANDA                     BOX 1441                                                                                                           JUANA DIAZ          PR           00795

   674079 JACOBO JORGE GARCIA                         URB LOS ANGELES V 32 CALLE N                                                                                       CAROLINA            PR           00979
   674080 JACOBO L RIVERA ROLON                       PO BOX 156                                                                                                         LA PLATA            PR           00786
   674081 JACOBO LAYA                                 25 YORKTOWN CIRCLE                                                                                                 CEIBA               PR           00735
   674082 JACOBO MARTINEZ BAEZ                        URB SANTA JUANITA            II 22 CALLE 29                                                                        BAYAMON             PR           00956
   674083 JACOBO MORALES                              COLLEGE PARK                 1807 GENOVA                                                                           SAN JUAN            PR           00921
   234243 JACOBO QUINONES SANTANA                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234244 JACOBO QUINONEZ BYRON                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      URB.SANTA JUANITA WC 10
   674086 JACOBO RIVERA MORALES                       C/PADREIRA                                                                                                         BAYAMON             PR           00956
   674087 JACOBO SANCHEZ SERRANO                      URB VALENCIA                 AE 8 CALLE 7                                                                          BAYAMON             PR           00959
   674088 JACOBOWITZ YITZCHAK                         PO BOX 12023                                                                                                       NEWARK              NY           07101‐6276
   674089 JACOBS AUTO PARTS                           RR 1 BOX 3157                                                                                                      CIDRA               PR           00739
   234251 JACOBS MD, DANIEL                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   300 AVE FELISA RINCON DE
   234254 JACOBS PR PSC                               LAS VISTAS SHOPPING VILLAGE GAUTIER                     SUITE 45                                                   SAN JUAN            PR           00926
   234260 JACOBSON MD , SETH M                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234262 JACOM INC                                   PO BOX 37541                                                                                                       SAN JUAN            PR           00937

   674090 JACQQUELINE CARRERAS NIEVES URB CUPEY GARDENS                            D 14 CALLE 5                                                                          SAN JUAN            PR           00926
   674091 JACQUELENE REYES MERCED     VILLA SAN ANTON                              L11 FLORENTINO ROMAN                                                                  CAROLINA            PR           00987

   234267 JACQUELIN MALDONADO SIERRA REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234268 JACQUELIN MATTEI RIVERA    REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   674092 JACQUELIN ROSARIO VILLEGAS                  RR 9 BPX 4808                                                                                                      SAN JUAN            PR           00926
          JACQUELINA FERNANDEZ
   234269 ESTRADA                                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674093 JACQUELINA MALDOMADO                        COM RIO ABAJO                SOLAR 169                                                                             HUMACAO             PR           00792
          JACQUELINE A GONZALEZ
   234270 MORALES                                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JACQUELINE A RODRIGUEZ
   674095 VALENTIN                                    RES AGUADA GARDENS           EDIF 3 APT 20                                                                         AGUADA              PR           00602
          JACQUELINE ACEVEDO
   674096 GONZALEZ                                    1337 CALLE SALUD APT 201                                                                                           PONCE               PR           00717

   674097 JACQUELINE ACEVEDO RIVERA                   PO BOX 1080 VICTORIA STA                                                                                           AGUADILLA           PR           00603
   674099 JACQUELINE ALICEA BARRETO                   HC 02 BOX 12208                                                                                                    MOCA                PR           00676

   674100 JACQUELINE ALVARADO PADILLA BO CANDELARIA MARIN                          208 A CALLE ANTONIO                                                                   TOA BAJA            PR           00949
          JACQUELINE ALVAREZ
   234271 HERNANDEZ                   REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234272 JACQUELINE ANDINO FELIX     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234273 JACQUELINE B MEJIA SOSA     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234274 JACQUELINE BADILLO ALERS    REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JACQUELINE BARRETO/ MARY
   234275 BARRETO                     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          JACQUELINE BARTOLOMEI
   234276 CAMPOS                                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   234277 JACQUELINE BATISTA BORRERO                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JACQUELINE BERMUDEZ
   674102 ALMENAS                                     RES LOS LAURELES             EDF 6 APTO 102                                                                      SAN JUAN            PR           00926

   674103 JACQUELINE BORRERO MEDINA                   BO ROSARIO CARR 348 KM 7 2                                                                                       MAYAGUEZ            PR           00680

   234279 JACQUELINE BOSCHETTI BITTER                 REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   234280 JACQUELINE BROWN ACEVEDO                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JACQUELINE BURGOS
   674104 MARTIRNEZ                                   PO BOX 10015                 PLAZA CAROLINA STATION                                                              CAROLINA            PR           00988
          JACQUELINE C BARRIENTOS
   674105 GAYOSO                                      URB BELMONTE                 74 CALLE TOLEDO                                                                     MAYAGUEZ            PR           00680
          JACQUELINE CARRERO
   674106 SANTIAGO                                    PO BOX 7557                                                                                                      CIDRA               PR           00739

   234281 JACQUELINE CASTILLO JIMENEZ                 REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234283 JACQUELINE CINTRON SOTO                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JACQUELINE COLLAZO
   234263 MALDONADO                                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   234284 JACQUELINE COLLAZO SERRANO REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   234285 JACQUELINE COLLAZO VALENTIN REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674107 JACQUELINE COLON CHACON     HC 01 BOX 4074                                                                                                                   LAS MARIAS          PR           00670

   234286 JACQUELINE COLON HERNANDEZ REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JACQUELINE COLON
   234287 MALDONADO                  REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JACQUELINE CONCEPCION
   674108 GUZMAN                     HC 01 BOX 10152                                                                                                                   LAJAS               PR           00667
   234288 JACQUELINE CORA MENDEZ     REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   674109 JACQUELINE CORTES VALENTIN                  COM MARQUEZ                  3 CALLE HIGUERA                                                                     MANATI              PR           00674

   674110 JACQUELINE CORTES VAZQUEZ                   HC 04 BOX 15688                                                                                                  LARES               PR           00669
          JACQUELINE COSME
   234289 ENCARNACION                                 REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234290 JACQUELINE CRESPO RIVERA                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674111 JACQUELINE CRUZ                             EX SAN ANTONIO               T 31 AVENIDA A                                                                      PONCE               PR           00731
   674112 JACQUELINE CRUZ DIAZ                        HC 2 BOX 22278                                                                                                   SAN SEBASTIAN       PR           00685
   234291 JACQUELINE CRUZ LUCIANO                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674114 JACQUELINE CRUZ SOTO                        URB JARD DEL CARIBE          U 34 CALLE 27                                                                       PONCE               PR           00728
   234292 JACQUELINE CURET AGRON                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   674115 JACQUELINE D ROSARIO NEGRON PARCELAS AMALIA MARIN                        4119 CALLE BALLENA                                                                  PONCE               PR           00716

   234293 JACQUELINE D TORRES MARTIR                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JACQUELINE DE LA CRUZ
   234294 DUVERGE                                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  674116 JACQUELINE DIAZ OQUENDO                      HC 02 BOX 6966                                                                                             ADJUNTAS            PR         00601‐9313
  234295 JACQUELINE DIAZ ROBLES                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   234296 JACQUELINE E VEGA MORALES REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234297 JACQUELINE FEAL SANTIAGO     REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234298 JACQUELINE FIGUEROA ZAYAS    REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234299 JACQUELINE FLORES RIVERA     REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234300 JACQUELINE FRANQUI           REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JACQUELINE GARCIA Y SANTIAGO
   234301 GARCIA                       REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234302 JACQUELINE GOMEZ CRUZ        REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   674118 JACQUELINE GONZALEZ ACOSTA HC 7 BOX 14018                                                                                                              SAN SEBASTIAN       PR         00685
   234303 Jacqueline Gonzalez Colon  REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JACQUELINE GONZALEZ
   674119 GONZALEZ                   PO BOX 11391                                                                                                                SAN JUAN            PR         00910

   674120 JACQUELINE GONZALEZ LOPEZ                   P O BOX 79656                                                                                              CAROLINA            PR         00984‐9656
   234306 JACQUELINE GOYCO CORREA                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674121 JACQUELINE GUIBAS COLON                     PO BOX 968                                                                                                 HORMIGUEROS         PR         00660
          JACQUELINE HENRIGUEZ DE
   674122 JESUS                                       P O BOX 1902                                                                                               LARES               PR         00669
          JACQUELINE HENRIQUEZ DE
   234307 JESUS                                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674123 JACQUELINE HERNANDEZ                        HC 03 BOX 6470                                                                                             HUMACAO             PR         00791‐9544
   674124 JACQUELINE HERRANS BLOISE                   COLINAS METROPOLITANAS   X 5 CALLE CERRILLO                                                                GUAYNABO            PR         00969
          JACQUELINE HERRERA
   234308 MONTANEZ                                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   234309 JACQUELINE I. MARRERO RIVERA REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   234310 JACQUELINE J CANINO TORRES                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   674125 JACQUELINE J PORTILLA TORRES                URB LAS AMERICAS         813 CALLE GUATEMALA                                                               RIO PIEDRAS         PR         00921
          JACQUELINE J SERRANO
   674126 GONZALEZ                                    URB SANTA MARIA          187 A CALLE C                                                                     PONCE               PR         00731
   674127 JACQUELINE JIMENEZ                          RES VIRGILIO DAVILA      EDIF 11 APT 107                                                                   BAYAMON             PR         00961
          JACQUELINE JIMENEZ
   234311 RODRIGUEZ                                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JACQUELINE KLEIS GOURMET
   674129 CATERING                                    URB LA LOMITA            A1 CALLE VISTA LINDA                                                              GUAYNABO            PR         00969
          JACQUELINE L CABAN
   234313 MONTANEZ                                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   674130 JACQUELINE LABOY GONZALEZ                   URB CIUDAD MASSO         G 23 CALLE 8                                                                      SAN LORENZO         PR         00754
   674131 JACQUELINE LABOY MIRANDA                    COND DE DIEGO            444 APT 303                                                                       SAN JUAN            PR         00923‐3054

   234315 JACQUELINE LEISECA SANCHEZ                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674132 JACQUELINE LLANOS RIVERA                    HATO TEJAS               E 34 CALLE A                                                                      BAYAMON             PR         00959
   674133 JACQUELINE LOPEZ FLECHA                     PO BOX 8095                                                                                                HUMACAO             PR         00792

   234316 JACQUELINE LOPEZ RODRIGUEZ                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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          JACQUELINE LOPEZ Y/O JAIME
   234317 LOPEZ                                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   674135 JACQUELINE LUCIANO CINTRON                  68 CALLE DIAMANTE FINAL                                                                                          PONCE               PR           00731
   234318 JACQUELINE LUGARO VIDAL                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674136 JACQUELINE LUGO RAMIREZ                     PO BOX 175                                                                                                       NARANJITO           PR           00719
   234319 JACQUELINE M BIGAS MENEZ                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234320 JACQUELINE M BLEST QUIROZ                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JACQUELINE M CARRERAS
   674137 GONZALEZ                                    14 CALLE PROGRESO                                                                                                PONCE               PR           00731

   234322 JACQUELINE M POU FIGUEROA                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JACQUELINE M RODRIGUEZ                                                BORINQUEN TOWERS III APT
   674138 VAZQUEZ                                     1482 AVE ROOSEVELT        1109                                                                                   SAN JUAN            PR           00920

   674139 JACQUELINE MAISONET BELLO                   PO BOX 1899                                                                                                      MANATI              PR           00674‐1899
   234323 JACQUELINE MALAVE GATA                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JACQUELINE MARCANO
   234324 MALDONADO                                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JACQUELINE MARTINEZ
   234325 CHALUISANT                                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   234326 JACQUELINE MARTINEZ IRIZARRY REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234327 JACQUELINE MARTINEZ ORTIZ    REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   674094 JACQUELINE MARTINEZ OSORIO URB HILL BROTHERS                          H 381 CALLE 17                                                                         SAN JUAN            PR           00925
          JACQUELINE MARTINEZ
   674141 SANTIAGO                   URB VILLA LOS SANTOS                       DD 32 CALLE 16                                                                         ARECIBO             PR           00612
   234328 JACQUELINE MATEO RIVERA    REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   674142 JACQUELINE MATIAS RODRIGUEZ HC 01 BOX 9210                            MACUM                                                                                  TOA BAJA            PR           00947
   674143 JACQUELINE MATOS SANCHEZ    PMB 122 BOX 60401                                                                                                                AGUADILLA           PR           00604‐4010
          JACQUELINE MEDINA
   234330 MALDONADO                   REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JACQUELINE MENDEZ
   674145 HERNANDEZ                   BZ 4‐264 BO LLANADAS                                                                                                             ISABELA             PR           00662
          JACQUELINE MONTANEZ
   234331 CARRASQUILLO                REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JACQUELINE MOORE AND
   234332 ASSOCIATES                  5861 S ALBION COURT                                                                                                              GREENWOOD VILLAGE   CO           80121
          JACQUELINE MORALES
   234333 HERNANDEZ                   REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   234335 JACQUELINE MORALES PELLOT                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JACQUELINE MORALES
   674148 SANTIAGO                                    URB LOIZA VALLEY          C 149 CALLE AZUCENA                                                                    CANOVANAS           PR           00729‐3542
   674149 JACQUELINE MORALES SOTO                     5‐48 ARIZONA                                                                                                     ARROYO              PR           00714

   674150 JACQUELINE N FONT GUZMAN                    PMB 475                   89 AVE DE DIEGO SUITE 105                                                              SAN JUAN            PR           00927‐6346
          JACQUELINE N HERNANDEZ
   234336 ALVERIO                                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234337 JACQUELINE N ORTIZ SUAREZ                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          JACQUELINE NAZARIO
   674151 RODRIGUEZ                                   ALTURAS DE MAYAGUEZ      447 ALMIRANTE                                                                      MAYAGUEZ            PR           00680
   674152 JACQUELINE NEGRON COLON                     PO BOX 160                                                                                                  VILLALBA            PR           00766
   234339 JACQUELINE NIEVES GARCIA                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   234340 JACQUELINE NIEVES HERNANDEZ REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   674153 JACQUELINE NIEVES MARQUEZ                   COND LIZZETTE APT 1101                                                                                      CAROLINA            PR           00986
   234341 JACQUELINE NIEVES RAMIREZ                   REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234342 JACQUELINE NOA CRASTZ                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234343 JACQUELINE NORAT FLORES                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   234344 JACQUELINE OCASIO BELMONTE                  REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234345 JACQUELINE OLIVO SANTANA                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JACQUELINE ONEILL
   674155 BETANCOURT                                  VALLE ARRIBA HEIGHTS     F 8 CALLE POMAROSA                                                                 CAROLINA            PR           00984
   234346 JACQUELINE ORTEGA COLON                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674156 JACQUELINE ORTEGA RIVERA                    PO BOX 190473                                                                                               SAN JUAN            PR           00919‐0473
   234347 JACQUELINE ORTIZ AGOSTO                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234348 JACQUELINE ORTIZ PEREZ                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   674157 JACQUELINE ORTIZ RODRIGUEZ                  PO BOX 6300                                                                                                 CAGUAS              PR           00725
   234350 JACQUELINE ORTIZ ROSARIO                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674158 JACQUELINE PADILLA CRUZ                     SANTA ROSA II            HC 2 BOX 6645                                                                      GUAYNABO            PR           00971
   674159 JACQUELINE PADILLA SILVA                    P O BOX 5000 136                                                                                            SAN GERMAN          PR           00683

   674160 JACQUELINE PADILLA VAZQUEZ                  6 CANTERBURY CIRCLE                                                                                         WASHINGTOVILLE      NY           10992
   674161 JACQUELINE PAGAN GARCIA                     1308 CALLE LUCCHETTI     APT 702                                                                            SAN JUAN            PR           00907
   674162 JACQUELINE PAGAN NIEVES                     ALTURAS DE FAIR VIEW     D 31 CALLE 7                                                                       TRUJILLO ALTO       PR           00976

   234353 JACQUELINE PEREZ FERNANDEZ                  REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234356 JACQUELINE PIZARRO CRUZ                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674165 JACQUELINE PLAZA PLAZA                      NUEVA VIDA EL TUQUE 16   CALLE C Y                                                                          PONCE               PR           00731
          JACQUELINE PORTALATIN
   234357 GARCIA                                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JACQUELINE PRINCIPE
   234358 ALVARADO                                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   234359 JACQUELINE R SILVA HERNANDEZ REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674166 JACQUELINE RIVERA AGOSTO     VAN SCOY                                G 12 CALLE 13                                                                      BAYAMON             PR           00959
   234361 JACQUELINE RIVERA CASTRO     REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674167 JACQUELINE RIVERA COLON      HC 1 BOX 6002                                                                                                              SALINAS             PR           00751
   234362 JACQUELINE RIVERA CUEVAS     REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   234363 JACQUELINE RIVERA FELICIANO                 REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   234364 JACQUELINE RIVERA FIGUEROA                  REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   234365 JACQUELINE RIVERA HERNANDEZ REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   674169 JACQUELINE RIVERA MARTINEZ                  COND LAS AMERICA         TORRE II APT 910                                                                   SAN JUAN            PR           00921
   234366 JACQUELINE RIVERA NUNEZ                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   234367 JACQUELINE RIVERA RODRIGUEZ REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234370 JACQUELINE RIVERA SEMIDEY   REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674172 JACQUELINE RODRIGUEZ        PO BOX 1601                                                                                                                      CIDRA               PR           00739

   234372 JACQUELINE RODRIGUEZ CRESPO REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   234373 JACQUELINE RODRIGUEZ CRUZ                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   674173 JACQUELINE RODRIGUEZ MAYMI BAYAMON GARDENS                          EDIF 19 APT 908                                                                          BAYAMON             PR           00956

   674174 JACQUELINE RODRIGUEZ REYES                  REXVILLE                C A 2 CALLE 13                                                                           BAYAMON             PR           00957
          JACQUELINE RODRIGUEZ
   234375 RODRIGUEZ                                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JACQUELINE RODRIGUEZ
   234377 VELAZQUEZ                                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674175 JACQUELINE ROJAS NIEVES                     PO BOX 9021112                                                                                                   SAN JUAN            PR           00902‐1112
   674176 JACQUELINE ROMAN ARROYO                     CARR 564 KM 3 0                                                                                                  OROCOVIS            PR           00720
   234378 JACQUELINE ROMAN BELEN                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234379 JACQUELINE ROMAN MUNOZ                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674180 JACQUELINE ROQUE DIAZ                       CALLE CALIMANO 65 SUR                                                                                            GUAYAMA             PR           00784
  1256588 JACQUELINE ROSADO AVILA                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234380 JACQUELINE ROSARIO RIVERA                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234381 JACQUELINE ROSICH NEGRON                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JACQUELINE SAAVEDRA
   234382 BRACERO                                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   234385 JACQUELINE SANABRIA GARCIA                  REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234386 JACQUELINE SANCHEZ REYES                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   674183 JACQUELINE SANTIAGO DURAN                   HC 02 BOX 76073                                                                                                  SAN SEBASTIAN       PR           00685

   674184 JACQUELINE SANTIAGO ESPADA PO BOX 190                                                                                                                        COAMO               PR           00769

   234387 JACQUELINE SANTIAGO RIVERA                  REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   234388 JACQUELINE SANTIAGO ROSARIO REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   674185 JACQUELINE SANTOS GONZALEZ                  VILLA MACHUELO          2 CALLE C                                                                                PONCE               PR           00731
   234389 JACQUELINE SEDA MORENO                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234390 JACQUELINE SOTO BARBOSA                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234391 JACQUELINE SOTO FIGUEROA                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   674188 JACQUELINE THODES CASANOVA URB BELLA VISTA                          W 19 CALLE 27                                                                            BAYAMON             PR           00957
   674189 JACQUELINE TIO GARCIA      URB ENCANTADA R CRISTAL                  RF 7 PLAZA 7                                                                             TRUJILLO ALTO       PR           00961
   234392 JACQUELINE TOBI RUIZ       REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674191 JACQUELINE TOLEDO GARCIA   BO SANTANA                               CALLE C 25                                                                               ARECIBO             PR           00612
   674192 JACQUELINE TORO LLANOS     BO LA PLATA                              RR 327 KM 0 3 INT                                                                        LAJAS               PR           00667

   674193 JACQUELINE TORO RIVERA                      URB LAS DELICIAS        569 CALLE ALEJANDRO ORDONEZ                                                              PONCE               PR           00728

   234393 JACQUELINE TORRES ATANCES                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674195 JACQUELINE TORRES LEBRON                    PO BOX 9023371                                                                                                   SAN JUAN            PR           00902‐3713



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   234394 JACQUELINE TORRES SERRANO                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674196 JACQUELINE TUA CASARES                      URB MEDINA                I 4 CALLE 1                                                                          ISABELA             PR           00662
   234395 JACQUELINE V VERA CABAN                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674197 JACQUELINE VAZQUEZ                          HC 01 BOX 3687                                                                                                 FLORIDA             PR           00650

   674199 JACQUELINE VAZQUEZ SUAREZ                   HC 1 BOX 4913                                                                                                  SALINAS             PR           00751

   234396 JACQUELINE VAZQUEZ TROCHE                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234397 JACQUELINE VELEZ MENDEZ                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234398 JACQUELINE VENTURA RUIZ                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234399 JACQUELINE VIVAS CUADRA                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674202 JACQUELINE Y ELBA LOPEZ                     1331 W FOWLER DR APT B                                                                                         DELTONA             FL           32725
   234400 JACQUELINE, VELAZQUEZ                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JACQUELINNE RODRIGUEZ
   234401 MEDINA                                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JACQUELYN I RODRIGUEZ DE
   234402 JESUS                                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674203 JACQUES D HOWELL ORTIZ                      URB VISTAS DEL CONVENTO   2 D 50 CALLE 4                                                                       FAJARDO             PR           00738
   234403 JACQUES M STRONBEEN                         REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234405 JAD WAVE SERVICE                            PO BOX 4561                                                                                                    CAROLINA            PR           00984‐4561
   234406 JADE CRESPO PADILLA                         REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674204 JADE OFFICE FURNITURE                       URB SAN SOUCI             G 6 CALLE 10                                                                         BAYAMON             PR           00957

   234407 JADE OSORIO DBA JOF GROUP                   PO BOX 55193 STATION 1                                                                                         BAYAMON             PR           00960
   234408 JADELINE GARCIA MUNOZ                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234409 JADELIS BURGADO CRUZ                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674206 JADELVA JAGUAR LTD CORP                     PO BOX 13055                                                                                                   SAN JUAN            PR           00908
   674208 JADI TECHNIQUES II INC                      PMB 163 PO BOX 6007                                                                                            CAROLINA            PR           00984
   234411 JADIEL BORGES MERCED                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234412 JADIEL RUIZ ORTIZ                           REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JADIELIZ DELI / REYNALDO
   674209 RAMIREZ                                     URB VILLA LIDIA           907 CALLE ODISEA                                                                     ISABELA             PR           00662

   234413 JADILIS N LARACUENTE CEDENO                 REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234414 JADIRA GOMEZ ALICEA                         REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234415 JADIRA IRIZARRY PADILLA                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674210 JADIRA ORTIZ RAMIREZ                        HC 01 BOX 6101                                                                                                 OROCOVIS            PR           00720‐9705
   234416 JADIRA ROSADO MONTALVO                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674211 JADIRA VILLALOBOS RIVERA                    HC 2 BOX 7309                                                                                                  CIALES              PR           00638
   234418 JAE LEGAL SERVICES LLC                      25 AVE MUNOZ RIVERA       BAHIA PLAZA APT 816                                                                  SAN JUAN            PR           00901
   234420 JAEGER MD, RANDY                            REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234421 JAEL M CANALES PARRILLA                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234422 JAEL PALASTICS INC                          P O BOX 929                                                                                                    SAN LORENZO         PR           00754
   234423 JAEL VILCHES SANCHEZ                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   674212 JAEMY E BELTRAN MALDONADO                   EXT VILLAS DE LOIZA       MM 10 CALLE 39                                                                       CANOVANAS           PR           00729
   234425 JAEN PRESNO MD, RICARDO F                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234427 JAESMARIE RAMIREZ NIEVES                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234428 JAESON J CARDONA RIVERA                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674213 JAESY J CRESPO DIMENECH                     P O BOX 5                 BARRIO TERRANOVA                                                                     QUEBRADILLAS        PR           00678
          JAF ELECTRICAL CONSTRACTORS
   674214 INC                                         PO BOX 1559                                                                                                    TRUJILLO ALTO       PR           00977‐1559



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  234429 JAFER CONSTRUCTION CORP                      PIEDRAS BLANCAS             10 CALLE UNION                                                                       GUAYNABO          PR           00969
         JAFER CONSTRUCTION
  234430 CORPORATION                                  PO BOX 193007                                                                                                    SAN JUAN          PR           00919‐3007
  674215 JAFER CONSTRUCTION S.E.                      PO BOX 3007                                                                                                      SAN JUAN          PR           00919
  234431 JAFET HERNANDEZ RIVERA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  234432 JAFET M MEDINA GARCIA                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  234433 JAFET MARTINEZ MOLINA                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  234434 JAFET MEDINA CORTES                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  674216 JAFET RIVERA SANTIAGO                        HC 01 BOX 11820                                                                                                  TOA BAJA          PR           00949
  674217 JAFET SANTIAGO RIVERA                        P O BOX 1106                                                                                                     CABO ROJO         PR           00623
  234435 JAFFE COMMUNICATIONS INC                     200 NORTH UNION AVE EAST                                                                                         WEST FIELD        NJ           07090
  234437 JAFFET M SEDA RODRIGUEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  234438 JAFFETH ROSAS VENTO                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
         JAFR CONSULTING
  234439 CORPORTATION                                 URB GRAND PALM II           B B CALLE ALAMO                                                                      VEGA ALTA         PR           00692
         JAG TRAILERS DBA J A GUZMAN
  234441 CORP                                         P O BOX 363151                                                                                                   SAN JUAN          PR           00936
  234442 JAGADI RODRIGUEZ CANALES                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  234443 JAGDALIA ALVAREZ CORTEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  674218 JAGUAL IRON WORK                             URB EL VIVERO               C 17 CALLE 5                                                                         GURABO            PR           00778
  674219 JAGUAR OF PUERTO RICO INC                    P O BOX 13055                                                                                                    SAN JUAN          PR           00908‐3055
         JAGUARES SOCCER CLUB
  234444 COROZAL INC                                  PO BOX 117                                                                                                       COROZAL           PR           00783
  674220 JAGUAS CASH & CARRY                          PO BOX 478                                                                                                       CIALES            PR           00638
                                                      CONDOMINIO MAR CHIQUITA
   674221 JAGUAS GULF SERVICE STATION                 100                         CARR 648 APARTAMENTO 30                                                              MANATI            PR           00674
          JAGUEY
          BUSLINE/TEXACO/GILBERTO
   674222 VELAZQUEZ                                   BOX 38                                                                                                           AGUADA            PR           00602
   674223 JAGUEY TEXACO                               PO BOX 38                                                                                                        AGUADA            PR           00602
   234445 JAHAIRA ACOSTA ROSA                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   674225 JAHAIRA ACOSTA SABINO                       CAPARRA TERRACE             1268 CALLE 10 SE                                                                     SAN JUAN          PR           00921
   234446 JAHAIRA BERRIOS VELAZQUEZ                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   674227 JAHAIRA CRESPO FERDINAND                    BO MAGINAS                  131 CALLE FLAMBOYAN                                                                  SABANA GRANDE     PR           00637
   674228 JAHAIRA CRUZ MARTINEZ                       P O BOX 927                                                                                                      CAYEY             PR           00737
   674229 JAHAIRA DE JESUS VEGA                       BO PALMAREJO                CARR 702 KM 55                                                                       COAMO             PR           00769
   234447 JAHAIRA FLORES CABALLERO                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   234448 JAHAIRA FULLADOZA ALEQUIN                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   674230 JAHAIRA GALARZA FLORES                      PO BOX 560825                                                                                                    GUAYANILLA        PR           00656
                                                      URB JARDINES DE AGUADILLA
   674231 JAHAIRA GUZMAN RODRIGUEZ                    111                                                                                                              AGUADILLA         PR           00603
   674232 JAHAIRA GUZMAN ROSARIO                      RR 7 BOX 6384                                                                                                    SAN JUAN          PR           00926
   234449 JAHAIRA GUZMAN TORRES                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   234450 JAHAIRA HERNANDEZ CORREA                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   234451 JAHAIRA L LARREGUI LOPEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   234452 JAHAIRA L VALENTIN SUAREZ                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   674233 JAHAIRA LOPEZ FIGUEROA                      BO CAUNALES PARC NUEVA                                                                                           HATILLO           PR           00659
   674224 JAHAIRA M. MAISONET                         PO BOX 21365                                                                                                     SAN JUAN          PR           00926‐1365

   234453 JAHAIRA MALDONADO CRESPO                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   234454 JAHAIRA MALDONADO CRUZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  674234 JAHAIRA MORALES VELEZ                        P O BOX 601                                                                                                         TOA ALTA          PR         00954
  674235 JAHAIRA ORTIZ JORGE                          HC 01 BOX 5987                                                                                                      GUAYANILLA        PR         00656
  674236 JAHAIRA PEREZ APONTE                         612 ANCHOR DRIVE            APT 100 LAFAYETTE                                                                       INDIANA           IN         47905
  674237 JAHAIRA PONCE HERNANDEZ                      PO BOX 2000 VICTORIA STA                                                                                            AGUADILLA         PR         00605
  674238 JAHAIRA RODRIGUEZ DIAZ                       BAHIA II                    8 CALLE MAGA                                                                            GUAYANILLA        PR         00656
  674239 JAHAIRA ROMAN VAZQUEZ                        CLAUSELL                    38CALLE 6                                                                               PONCE             PR         00731
  234455 JAHAIRA ROSADO                               REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  234456 JAHAIRA ROSADO COSME                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   674240 JAHAIRA RUPERTO SOTO                        VILLA ANGELICA              19 CALLE GONZALEZ MARTINEZ                                                              MAYAGUEZ          PR         00680
   234457 JAHAIRA SANJURJO DELGADO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   674241 JAHAIRA SANTIAGO BORRERO                    BO PALMITA                  2 PLAYA CALLE 3                                                                         PONCE             PR         00716

   234458 JAHAIRA SANTIAGO QUINONES                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   234459 JAHAIRA SANTOS ADAMS                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   234460 JAHAIRA SERRANO GONZALEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   234461 JAHAIRA TORRES HERNANDEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   234462 JAHAIRA TRINIDAD TURBI                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   674242 JAHAIRA VELEZ POSTIGO                       HC 2 BOX 11284                                                                                                      SAN GERMAN        PR         00683

   234463 JAHAIRA VISALDEN CONCEPCION REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   674243 JAHANNA JIMENESZ TORRES     BO ESPINAL BOX 146                                                                                                                  AGUADA            PR         00602
   234465 JAHIRA CRUZ ALVARADO        REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   234466 JAHLEEL A BAEZ MARTINEZ     REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   234467 JAHN O ACEVEDO ORTIZ        REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   234468 JAHNEL GEDEON ISLES         REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   234469 JAHNKE BRYAN J              REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   674245 JAHNNILYS I LOPEZ KUILAN    P O BOX 589                                                                                                                         SABANA SECA       PR         00952

   234470 JAHNY FIGUEROA SAGASTIBELZA REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   674246 JAHVET MELENDEZ MARTINEZ    URB LOS FLAMBOYANES                         228 CALLE MARIE                                                                         GURABO            PR         00778
   234471 JAHZEEL OMAR DIAZ RIVERA    REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   674247 JAHZEL GONZALEZ PAGAN       URB FAIR VIEW                               736 C/ JUAN CASADO                                                                      SAN JUAN          PR         00926

   674248 JAI PLANNING CONSULTANT PSC PO BOX 14134                                                                                                                        SAN JUAN          PR         00916‐4131
   674249 JAI PRESS INC.              55 OLD POST RD N 2                          PO BOX 1678                                                                             GREENWICH         CT         06836‐1678

   234472 JAICELIZ RODRIGUEZ RODRIGUEZ REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   234473 JAICO CONTRACTORS INC                       813 CALLE CONCEPCION VERA                                                                                           MOCA              PR         00676
   234474 JAICOA RETAMAR SEPULVEDA                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   234475 JAIDITH M CAJIGAS VEGA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JAILEEN CANDELARIO
   234476 HERNANDEZ                                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   234477 JAILEEN FLORES AGUAYO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   234478 JAILEEN GARCIA MARTINEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   234479 JAILEEN GARCIA MORENO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   234480 JAILEEN M CORDERO CORDERO                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   234481 JAILEEN M. DIAZ ESCALERA                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   234482 JAILEEN QUINTANA COLON                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   234483 JAILEEN RAMOS FELICIANO                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   234484 JAILEEN SANTIAGO OQUENDO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  674250 JAILENE CINTRON                              PO BOX 1019                                                                                                   BAYAMON             PR         00960
  234485 JAILENE FERRER VELAZQUEZ                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  234486 JAILENE M FUENTES ROMAN                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  234487 JAILENE M. COLON SANTIAGO                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JAILENE MALDONADO
  234488 QUINONES                                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  674251 JAILENE PEREZ ALVAREZ                        P O BOX 1101                                                                                                  MOROVIS             PR         00687
  234489 JAILENE SUAREZ LEBRON                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  234490 JAILINE MENDEZ RIVERA                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  234491 JAILINE VIRUET LUGO                          REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  234493 JAILYN RESTO COTTO                           REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  674252 JAILYN ROSARIO CRESPO                        HC 30 BOX 32902                                                                                               SAN LORENZO         PR         00754‐9728
  234494 JAILYN VIRUET NEVAREZ                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  234510 JAIME A ACEVEDO QUILES                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  234511 JAIME A ALEMAN DIAZ                          REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  674268 JAIME A APONTE                               VILLA ANDALUCIA        J 19 CALLE COIN                                                                        SAN JUAN            PR         00926
  674269 JAIME A ARZON PARRILLA                       PO BOX 1052                                                                                                   NAGUABO             PR         00718
  674270 JAIME A AYENDA GONZALEZ                      PARQUE DE JARDINES     CALLE M I                                                                              ARECIBO             PR         00612
  674271 JAIME A CALZADA TRENCHE                      307 CALLE DE LA LUNA                                                                                          SAN JUAN            PR         00901‐1426
  234512 JAIME A CARLES NEGRON                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  234513 JAIME A CATALA FUSTER                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  234514 JAIME A CHINEA MEJIAS                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  674272 JAIME A CINTRON RAMOS                        SIERRA BAYAMON         7 10 AVE NORTH MAIN                                                                    BAYAMON             PR         00961
  674273 JAIME A COLON APONTE                         H 11 URB VILLAMAR                                                                                             GUAYAMA             PR         00785
  234515 JAIME A COLON RIVERA                         REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   674275 JAIME A CORRETJER MAISONET                  HC 1 BOX 2744                                                                                                 FLORIDA             PR         00650‐9610
   234516 JAIME A CRUZ ZAMBRANA                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674267 JAIME A FERRA GARAU                         HC 1 BOX 4542                                                                                                 VILLALBA            PR         00766
   674277 JAIME A GARCIA RAMIREZ                      2719 CALLE JOBOS                                                                                              PONCE               PR         00717‐1525
   234517 JAIME A GONZALEZ MENDEZ                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234518 JAIME A GONZALEZ ORTA                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   674278 JAIME A GONZALEZ RODRIGUEZ                  P O BOX 205                                                                                                   BAJADERO            PR         00616
   674279 JAIME A LAMBOY RILEY                        EDIFICIO ARROYO        528 PONCE DE LEON STE 304                                                              SAN JUAN            PR         00917
   234519 JAIME A MENDEZ CRUZ                         REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   234520 JAIME A MONTALVO PETROVICH REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234521 JAIME A MORALES NIEVES     REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674285 JAIME A ORTIZ LOPEZ        URB RIO CANAS                           2741 LA SALLE                                                                          PONCE               PR         00728
   234522 JAIME A ORTIZ VALENTIN     REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JAIME A PABON Y LUDAI
   234523 RODRIGUEZ                  REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234524 JAIME A PEDRAZA            REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674288 JAIME A PEREZ ROSELLO      PO BOX 275                                                                                                                     FLORIDA             PR         00650
   234525 JAIME A RAMOS RIVERA       REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674289 JAIME A RETEGUIS ORTIZ     PO BOX 986                                                                                                                     MAYAGUEZ            PR         00681‐0986
   674291 JAIME A RIERA SEIVANE      PO BOX 191055                                                                                                                  SAN JUAN            PR         00919‐1055
   674292 JAIME A RIVERA TOSADO      COND. MONTE SUR 180                     AVE HOSTOS APT SGB                                                                     SAN JUAN            PR         00918
   674293 JAIME A RODRIGUEZ          PO BOX 2155                                                                                                                    VEGA ALTA           PR         00692

   674295 JAIME A ROMAN TORREGUITART PO BOX 1257                                                                                                                    MAYAGUEZ            PR         00681
   674296 JAIME A ROQUE              557 AVE BARBOSA                                                                                                                SAN JUAN            PR         00923



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  674298 JAIME A SEGUI CASALDUC                       COND MONTECILLO I              1 VIA PEDREGAL APT1605                                                                  TRUJILLO ALTO      PR           00976
  674299 JAIME A TIRADO ORTIZ                         P O BOX 6584                                                                                                           CAGUAS             PR           00726‐6584
         JAIME A TORO MEDINA /
  674300 MIRIAM MEDINA CRUZ                           URB ESTANCIA DE LA FUENTE      28 CALLE PRADERA                                                                        TOA ALTA           PR           00953
  234526 JAIME A TORRES ACEVEDO                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
  234527 JAIME A TORRES VENTURA                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
  234528 JAIME A TORRES VIERA                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
  674301 JAIME A TRAVIEZO TORRES                      HC 5 BOX 36180                                                                                                         SAN SEBASTIAN      PR           00685
  674302 JAIME A VARGAS CASTRO                        URB VALLE HUCARES              101 CALLE GUAYACAN                                                                      JUANA DIAZ         PR           00795

   674303 JAIME A VAZQUEZ COLON                       PASEO DE SANTA BARBARA         NUM 38 CALLE PASEO CRISTAL                                                              GURABO             PR           00778
                                                      URB ALTURAS DE PARQUE
   674304 JAIME A VAZQUEZ FLORES                      ECUESTRE                       324 CALLE FERPIER                                                                       CAROLINA           PR           00979
   234529 JAIME A VEGA NAVARRO                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   234530 JAIME A VELAZQUEZ                           REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   674305 JAIME A ZAPATA RIVERA                       46 CALLE WASHINGTON                                                                                                    PONCE              PR           00731
   234531 JAIME A. CALDERON SOTO                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
                                                      URB. SAN FRANCISCO 162 CALLE
   674306 JAIME A. LOPEZ TORRES                       ALELI                                                                                                                  SAN JUAN           PR           00927
   234532 JAIME A. PEDRAZA                            REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   234533 JAIME A. PICO MUNOZ                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   234534 JAIME A. PINERO PARES                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   234535 JAIME A. RODRIGUEZ ORENGO                   REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   674307 JAIME A. RODRIGUEZ VAZQUEZ                  VILLA MILAGROS                 53 CALLE 2                                                                              YAUCO              PR           00698
   674308 JAIME ABREU RIVERA                          URB RIBERAS DEL RIO            F 27 CALLE 7                                                                            BAYAMON            PR           00959

   234538 JAIME ACEVEDO MALDONADO                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   674310 JAIME ACOSTA OSURA                          URB VALLE HERMOSO              SD16 CALLE SAUCE                                                                        HORMIGUEROS        PR           00660
   234540 JAIME ADAMS GONZALEZ                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
          JAIME ALBERTO SANTIAGO
   674311 RAMOS                                       COND GARDENS 1                 APT 9 B                                                                                 SAN JUAN           PR           00924
   674312 JAIME ALBIZU LAMBOY RILEY                   LA RIVIERA                     943 DE DIEGO                                                                            SAN JUAN           PR           00921
   674313 JAIME ALDARONDO                             P O BOX 1821                                                                                                           ISABELA            PR           00662
   234542 JAIME ALDEBOL AGOSTO                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   674314 JAIME ALERS PELLICIER                       P O BOX 10143                                                                                                          SAN JUAN           PR           00922 0143
   674315 JAIME ALFARRO ALFARRO                       PO BOX 360956                                                                                                          SAN JUAN           PR           00936
   674255 JAIME ALMESTICA ORTIZ                       HC 3 BOX 8675                                                                                                          GUAYNABO           PR           00971
   674316 JAIME ALMODOVAR ACOSTA                      LA LUNA                        256 CALLE 4                                                                             GUANICA            PR           00653
   234543 JAIME ALTIERY AVILES                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   674318 JAIME ALVARADO TORRES                       P O BOX 250041                                                                                                         AGUADILLA          PR           00604‐0041
   234544 JAIME ANDRADE LUGO                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   234545 JAIME ANNEXY RAMIREZ                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   234546 JAIME APONTE MALAVE                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   674319 JAIME APONTE REYES                          URB VILLA SAN ANTON            B 6 CALLE C CASTRO                                                                      CAROLINA           PR           00987
   234547 JAIME APONTE RIBOT                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   234548 JAIME APONTE RODRIGUEZ                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   234549 JAIME ARAUZ GONZALEZ                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   234550 JAIME ARRAYA RODRIGUEZ                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   234551 JAIME ARVIZU LACAYO                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   674320 JAIME AUTO KOOL                             69 CALLE JULIO BONILLA                                                                                                 ISABELA            PR           00662
   674321 JAIME AUTO REPAIR                           URB JARDINES COUNTRY           BQ 24 CALLE 19                                                                          CAROLINA           PR           00983



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  674323 JAIME B BRIONES ALAVA                        JARDINES DEL CARIBE          AA 1 CALLE 28                                                                      PONCE               PR         00731
  674326 JAIME BALZAC FIOL                            URB LA CUMBRE                449 CALLE LOS ROBLES                                                               SAN JUAN            PR         00926
  674327 JAIME BARBER LUCIANO                         PUERTO REAL                  CALLE PRINCIPAL 1110                                                               CAB ROJO            PR         00623
  234555 JAIME BARCELO                                REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  234556 JAIME BARCELO AMADOR                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  234557 JAIME BARRETO                                REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   674329 JAIME BATLLE BATLLE                         232 AVE ELEONOR ROOSEVELT                                                                                       SAN JUAN            PR         00907
   674330 JAIME BAUZO OTERO                           URB LOIZA VALLEY             B 19 CALLE JAZMIN                                                                  CANOVANAS           PR         00729
   234558 JAIME BENITEZ RODRIGUEZ                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   234559 JAIME BENITEZ/ RENE BENITEZ                 REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234560 JAIME BERRIOS                               REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234561 JAIME BERRIOS CRUZ                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JAIME BERRIOS CRUZ /DBA/ JJ
   234562 TOURS                                       PO BOX 352                                                                                                      COMERIO             PR         00782
   234563 JAIME BLANCO RIVERA                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234565 JAIME BLAS GONZALEZ                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674331 JAIME BOFIL VALDES                          URB PARKVILLE                F18 CALLE CLEVELAND                                                                GUAYNABO            PR         00969
   674332 JAIME BONILLA                               HC 02 BOX 44663                                                                                                 VEGA BAJA           PR         00693
   234566 JAIME BRAVO VARGAS                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234567 JAIME BRUGUERAS CERNUDA                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234568 JAIME BURGOS GOMEZ                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674333 JAIME C GIRON CINTRON                       HC 1 BOX 5949                                                                                                   JUANA DIAZ          PR         00795‐9723
   234570 JAIME C MENDOZA GARCIA                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674335 JAIME CALDERON MARCANO                      URB TURABO GARDENS           R81 CALLE J                                                                        CAGUAS              PR         00725
   674336 JAIME CALDERON SILVA                        EL PLANTIO                   G 10 CALLE GUALLACAN                                                               TOA BAJA            PR         00949
   674337 JAIME CAMACHO NEGRON                        URB MONTE CASINO HEIGHTS     342 CALLE RIO GUAMANI                                                              TOA ALTA            PR         00983
   674338 JAIME CAMACHO PEREZ                         N R CANALES                  EDIF 62 APT 10                                                                     SAN JUAN            PR         00919
   674339 JAIME CAMPOS GIL                            URB NUEVA                    CASA 76 APT 242                                                                    BARCELONETA         PR         00617‐0242
   674340 JAIME CANABAL PEREZ                         AVE MILITAR BUZON 4978                                                                                          ISABELA             PR         00662

   234572 JAIME CANDELARIO DEL MORAL                  REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234573 JAIME CARATTINI ALVARADO                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674256 JAIME CARATTINI ALVARADO                    P O BOX 1570                                                                                                    LAS PIEDRAS         PR         00771
   234574 Jaime Carmona Rivera                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   674341 JAIME CARRASQUILLO CORREA                   HC 01 R 131 MEDIANIA ALTA                                                                                       LOIZA               PR         00772

   234577 JAIME CARRERAS DBA ECLIPSE                  SANTIAGO IGLESIAS            1444 PAZ GRANELA                                                                   SAN JUAN            PR         00921
   234578 JAIME CARRION PEREZ                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234579 JAIME CARRRERO ORRIA                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234580 JAIME CARVAJAL ROSA                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674342 JAIME CASALDUC RABELL                       URB CAPARRA HILLS            J1 CALLE HUCARES                                                                   GUAYNABO            PR         00968
                                                      V.FONTANA PARK 5M 12 C LAS
   674344 JAIME CASELLA HERNANDEZ                     PALOMAS                                                                                                         CAROLINA            PR         00983
                                                      3109 REPARTO CHEPO
   674346 JAIME CASIANO CASTRO                        FERNANDEZ                                                                                                       SAN ANTONIO         PR         00690
   234581 JAIME CASIANO QUINONES                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674347 JAIME CASTRO LOPEZ                          PO BOX 769                                                                                                      BAYAMON             PR         00960
   234582 JAIME CASTRO RAMOS                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674348 JAIME CEPEDA DAVILA                         PO BOX 7126                                                                                                     PONCE               PR         00732
   674349 JAIME CERON SILVA                           4767 CARRERA 17 APT 301                                                                                         BOGOTA                                      COLOMBIA



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   234584 JAIME CHACON DBA LIBROMAR                   BOX 40749                                                                                                             SAN JUAN             PR           00940‐0000
   234585 JAIME CHARRES TARAZONA                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   234586 JAIME CINTRON AMARO                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   674352 JAIME CLAUDIO                               PASEO LAS BRISAS CAPRI 49                                                                                             RIO PIEDRAS          PR           00926
   234587 JAIME COBAS RODRIGUEZ                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   674353 JAIME COLOM RODRIGUEZ                       URB LAGOS DEL PLATA           J 34 CALLE 9                                                                            TOA BAJA             PR           00949‐3219
   234590 JAIME COLON CASANOVAS                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   674354 JAIME COLON ESPADA                          PMB 122                       130 WINSTON CHURCHILL                                                                   SAN JUAN             PR           00926‐6018
   234592 JAIME COLON MORERA                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      URB LAS LOMAS 1798 AVE
   674357 JAIME COLON RODRIGUEZ                       PINERO                                                                                                                SAN JUAN             PR           00921
   234593 JAIME COLON SANTIAGO                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JAIME CONCEPCION MD, SHERLY
   234594 A                           REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   234599 JAIME CORDERO MARQUEZ       REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   674359 JAIME CORDERO ROMAN         449 AVE NOEL ESTRADA                                                                                                                  ISABELA              PR           00662
   674360 JAIME CORREA                PMB 30 000 SUITE 103                                                                                                                  CANOVANAS            PR           00729
   674361 JAIME CORREA ACEVEDO        URB SANTO DOMINGO                             144 CALLE F                                                                             CAGUAS               PR           00725
   234601 JAIME CORREA NEGRON         REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   674362 JAIME CORTES VARGAS         BO GALATEO BAJO                               CARR 474 BUZON 291                                                                      ISABELA              PR           00662
   234602 JAIME COSME OLIVER          REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   234605 JAIME CRESPO                REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   674363 JAIME CRUZ                  P O BOX 978                                                                                                                           LARES                PR           00669
   674364 JAIME CRUZ ALBERTORIO       JARDINES DEL CARIBE                           119 CALLE 15                                                                            PONCE                PR           00731

   674257 JAIME CRUZ ARCE                             URB BRISAS DE MONTECASINO     620 CALLE DUJO C2                                                                       TOA ALTA             PR           00953
   234607 JAIME CRUZ COLON                            REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   234608 JAIME CRUZ DEL VALLE                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   234609 JAIME CRUZ FIGUEROA                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   674366 JAIME CRUZ LAPORTE                          URB JARDINES DE CONTRY CLUB   CALLE 149 CL 31                                                                         CAROLINA             PR           00983
   234610 JAIME CRUZ LOPEZ                            REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   234612 JAIME CRUZ MEDINA                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   234613 JAIME CRUZ PACHECO                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   674367 JAIME CRUZ RAMIREZ                          URB SIERRA BAYAMON            3 26 CALLE 3                                                                            BAYAMON              PR           00961
   234614 JAIME CRUZ RAMOS                            REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   234615 JAIME CUADRO ESTEVES                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   674369 JAIME D ADORNO CANALES                      LA PONDEROSA                  I 248 CALLE 8                                                                           VEGA ALTA            PR           00692
   234616 JAIME D ROMAN DIAZ                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   234617 JAIME D ROSARIO PEREZ                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   234618 JAIME D RUIZ DELGADO                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   674371 JAIME D. OLIVERAS                           P O BOX 21365                                                                                                         SAN JUAN             PR           00926‐1365

   674373 JAIME DAVILA ENGINEERS & ASS. PO BOX 363316                                                                                                                       SAN JUAN             PR           00936
   674374 JAIME DAVILA MORALES          P O BOX 1581                                                                                                                        LUQUILLO             PR           00773
                                                                                    400 CALLE ROOSEVELT URB LA
   674375 JAIME DE JESUS                              CLINICA LAS AMERICAS          CUMBRE                       OFIC 504                                                   SAN JUAN             PR           00926
   674376 JAIME DE JESUS REYES                        PO BOX 575                                                                                                            TOA ALTA             PR           00954‐0575
   234619 JAIME DE JESUS RODRIGUEZ                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   674377 JAIME DE JESUS VIÃAS                        PO BOX 364771                                                                                                         SAN JUAN             PR           00936
          JAIME DE JESUS VINAS/ VIDRE
   234620 ENERGIAS INC                                293 CALLE ISMAEL COLON                                                                                                SAN JUAN             PR           00918



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  674378 JAIME DE LA CRUZ AVILES     PO BOX 362072                                                                                                                       SAN JUAN           PR         00936
  234622 JAIME DEL TORO MD           REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  674379 JAIME DEL TORO VEGA         URB COUNTRY CLUB                           766 MERCEDES SOLA                                                                        SAN JUAN           PR         00926
  674380 JAIME DEL VALLE             ALTURAS DE FAIRVIEW                        D37 CALLE 12                                                                             TRUJILLO ALTO      PR         00976
  674381 JAIME DELGADO CUEVAS        BO LIRIOS SEC DORADO                       BOX 9531                                                                                 JUNCOS             PR         00777
  234623 JAIME DELGADO ROQUE         REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  674382 JAIME DESEDA                121 DOMENECH ST                                                                                                                     SAN JUAN           PR         00918
  234624 JAIME DIAZ LOPEZ            REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  674384 JAIME DIAZ SIERRA           URB SAN JOSE                               2 CALLE D                                                                                AIBONITO           PR         00705
  234627 JAIME DOMENECH VALE         REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  234628 JAIME DOMINGUEZ MORALES     REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  674387 JAIME DORTO RODRIGUEZ       PO BOX 140388                                                                                                                       ARECIBO            PR         00614
         JAIME DORTO RODRIGUEZ/ PURA
  234629 ENERGIA INC                 PO BOX 140388                                                                                                                       ARECIBO            PR         00614
  674388 JAIME DUARTE BARROSO        3004 CALLE ECLISE                                                                                                                   VEGA BAJA`         PR         00693
  674389 JAIME DURAND SEGARRA        MONTE OLIMPO                               2 CALLE NEPTUNO                                                                          GUAYNABO           PR         00969
  674390 JAIME E ACOSTA ORTIZ        URB VILLA PRADES                           A 4 CALLE ARISTIDES CHAVIER                                                              SAN JUAN           PR         00924
  234630 JAIME E COLON COTTO         REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  234631 JAIME E CRUZ ALVAREZ        REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  234632 JAIME E FORTUNO COSIMI      REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  674393 JAIME E GONZALEZ RUBIO      HC 1 BOX 4856                                                                                                                       NAGUABO            PR         00718
  674394 JAIME E HERNANDEZ FARINA    PO BOX 5777                                                                                                                         SAN JUAN           PR         00906

   234633 JAIME E HERNANDEZ SANTIAGO REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   234634 JAIME E MARRERO FIGUEROA   REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   234635 JAIME E MELENDEZ DEL MORAL                  REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   674396 JAIME E NIEVES REYES                        ALTURAS DE MONTE CASINO   10 CALLE LADERA                                                                          TOA ALTA           PR         00953
   674398 JAIME E ORTIZ BERRIOS                       URB VILLA TURABO          G 15 CALLE FLAMBOYAN                                                                     CAGUAS             PR         00725
   674399 JAIME E RAMIREZ ACOSTA                      HC 1 BOX 3838                                                                                                      QUEBRADILLAS       PR         00678
   674400 JAIME E REYES RIVERA                        URB CAPARRA TERRACE       1569 CALLE 18 SO                                                                         SAN JUAN           PR         00921
   674402 JAIME E RIVERA IRIZARRY                     2NDA EXT LAGO HORIZONTE   8509 CALLE 10                                                                            COTTO LAUREL       PR         00780‐2443
   674403 JAIME E RIVERA REQUENA                      PO BOX 361307                                                                                                      SAN JUAN           PR         00936

   674404 JAIME E RODRIGUEZ SANTIAGO                  FAIR VIEW                 R 14 GINIS CORVALAN                                                                      SAN JUAN           PR         00926
   674405 JAIME E RODRIGUEZ TAVAREZ                   EXT VILLA RICA            J29 CALLE 8                                                                              BAYAMON            PR         00959
   674258 JAIME E ROSALY FELICIANO                    PO BOX 276                                                                                                         ISABELA            PR         00662
   674259 JAIME E RUBIO                               URB PASEO MAYOR           LOS PASEOS F 5 CALLE 7                                                                   SAN JUAN           PR         00926
   674407 JAIME E RULLAN BAYRON                       PO BOX 953                                                                                                         ADJUNTAS           PR         00601
   234637 JAIME E SANTIAGO ROSARIO                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   234638 JAIME E SANTIAGO SANTIAGO                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   234639 JAIME E SANTOS MALDONADO                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   234640 JAIME E SEDA RIVERA                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   674408 JAIME E SEPULVEDA SEDA                      P O BOX 9024275                                                                                                    SAN JUAN           PR         00902‐4275
   674409 JAIME E SERRANO SILVA                       HC01 BOX 5221                                                                                                      GUAYNABO           PR         00971
   674410 JAIME E SOLA CABALLERO                      URB EL VERDE              CALLE JUPITER 28                                                                         CAGUAS             PR         00726
   674411 JAIME E VALLE LOPEZ                         BO GALATEO ALTO           2288 CALLE GOLONDRINA                                                                    ISABELA            PR         00662
   234641 JAIME E VAZQUEZ COLON                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   234643 JAIME E. COLON CASANOVAS                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   234644 JAIME E. CRUZ ALVAREZ                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   674412 JAIME E. CRUZ PEREZ                         PO BOX 191350                                                                                                      SAN JUAN           PR         00919‐1350
   674413 JAIME E. DIAZ SANABRIA                      P O BOX 37925             AIR PORT STATION                                                                         SAN JUAN           PR         00937



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   234645 JAIME E. RODRIGUEZ SANTIAGO REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234646 JAIME ECHEVARRIA LUGO       REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   234647 JAIME ECHEVARRIA RODRIGUEZ                  REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234648 JAIME ECHEVARRIA SANCHEZ                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234649 JAIME ELIAS CORREA                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234658 JAIME ESTEVE VIRELLA                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234659 JAIME F ACOSTA TORRES                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674415 JAIME F COLLAZO FELICIANO                   URB EL CONQUISTADOR       L 67 CALLE 15                                                                         TRUJILLO ALTO       PR           00976
   234660 JAIME F RUIZ RODRIGUEZ                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234661 JAIME F RUPERTO BALLESTER                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674416 JAIME F YUSIF RODRIGUEZ                     P O BOX 190504                                                                                                  SAN JUAN            PR           00919 0504
   674417 JAIME F. RODRIGUEZ ORTIZ                    F14 CALLE 5               COLINAS VERDES                                                                        SAN JUAN            PR           00924
   674418 JAIME FELICIANO CACERES                     PO BOX 250423                                                                                                   AGUADILLA           PR           00604
   674420 JAIME FELICIANO RODRIGUEZ                   HC 01 BOX 4036                                                                                                  COROZAL             PR           00783
   234662 JAIME FERMAINT FELICIANO                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234663 JAIME FERNANDEZ MARTINEZ                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674421 JAIME FERNANDEZ RIOS                        BO CORDILLERA CARR 146                                                                                          CIALES              PR           00638‐1457
   234667 JAIME FERRA VEGA                            REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674422 JAIME FIGUEROA RUIZ                         VALLE VERDE 838           CALLE VEREDA                                                                          PONCE               PR           00716
   674423 JAIME FLORES ADORNO                         URB SAN JOSE              386 CALLE VILLALBA                                                                    SAN JUAN            PR           00923
   234669 JAIME FLORES DE JESUS                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234670 JAIME FLORES SANTOS                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JAIME FONTANALS/ DIANNE
   234671 CUEBAS FANTAUZZI                            REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234672 JAIME FORNARIS OCASIO                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JAIME FRANCO SALAMANCA /
   234673 ECOLOGIC ALL                                PUNTA LAS MARIAS          2394 CALLE LAUREL                                                                     SAN JUAN            PR           00913
   674426 JAIME FRANKY RAMIREZ                        PO BOX 7126                                                                                                     PONCE               PR           00732
   234674 JAIME FRATICELLI RODRIGUEZ                  REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674427 JAIME FREIRE BAEZ                           COUNTRY CLUB              HG 7 CALLE 267                                                                        CAROLINA            PR           00982
   674428 JAIME FUENTE ROMAN                          URB COUNTRY CLUB          953 CALLE MALVIS                                                                      SAN JUAN            PR           00924
   234676 JAIME FUERTES THOMAS                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JAIME FULLANA/ F & R CONS
   234677 GROUP INC                                   PO BOX 9932                                                                                                     SAN JUAN            PR           00908
   674429 JAIME G COSME RIVERA                        RES LOS LIRIOS 5 APT 61                                                                                         SAN JUAN            PR           00926
   674430 JAIME G DAVILA                              URB EXT LA MILAGROSA      Q‐1 CALLE EUGENIO DUARTE                                                              BAYAMON             PR           00959
   234678 JAIME G GORDON PUJOL                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674431 JAIME G LOPEZ RIVERA                        BOX 2824                                                                                                        PONCE               PR           00728‐3102
   674432 JAIME G PARRILLA REBOYRAS                   PO BOX 141                                                                                                      RIO GRANDE          PR           00745
   234679 JAIME G RIVERA MARRERO                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234681 JAIME G. TORRES PLATA                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674260 JAIME GARCIA LOPEZ                          PO BOX 1893                                                                                                     YAUCO               PR           00698
   674433 JAIME GARCIA MARIN                          LLANOS DEL SUR            363 B 24 LAS ROSAS                                                                    COTO LAUREL         PR           00780
   674434 JAIME GARCIA TORRES                         BDA. PONCE DE LEON        BLOQUE H 164                                                                          PONCE               PR           00731
   234682 JAIME GARCIA TRINIDAD                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234683 JAIME GIRON MILLAN                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234684 JAIME GOMEZ LOPEZ                           REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JAIME GONZALEZ / RICARDA
   674435 SIERRA                                      PO BOX 1155                                                                                                     TRUJILLO ALTO       PR           00977‐1155
   674436 JAIME GONZALEZ AZAR                         URB VENUS GDNS            1753 CALLE PEGASO                                                                     SAN JUAN            PR           00926
   674438 JAIME GONZALEZ CRUZ                         HC2 BOX 14246                                                                                                   LAJAS               PR           00667



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   674439 JAIME GONZALEZ DE LA TORRE                  URB HYDE PARK             178 CALLE FLAMBOYANES                                                                 SAN JUAN            PR           00926
   234686 JAIME GONZALEZ DUBOC                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234665 JAIME GONZALEZ MELENDEZ                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674441 JAIME GONZALEZ TORRES                       BOX 577                                                                                                         VILLALBA            PR           00766
   234689 JAIME GONZALEZ, CORP.                       PMB 135 PO BOX 29029                                                                                            SAN JUAN            PR           00929
   674442 JAIME GOTAY TORRES                          VILLA CONTESA             P 11 CALLE KENT                                                                       BAYAMON             PR           00959
   234691 JAIME GREEN MORALES                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   234692 JAIME GRODZINSKI SCHWARTZ                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674447 JAIME GUERRERO RIOS                         URB ALTURAS DE MAYAGUEZ   1055 CALLE UROYAN                                                                     MAYAGUEZ            PR           00682‐6250
   234693 JAIME GUILLOTY MORALES                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234694 JAIME GUTIERREZ VAZQUEZ                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234696 JAIME H BARCELO SOSA                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674448 JAIME H CASTRO VELEZ                        PO BOX 5172                                                                                                     PONCE               PR           00733
   674449 JAIME H JULIA MARTINEZ                      PO BOX 330607                                                                                                   PONCE               PR           00733‐0607
   234697 JAIME H LOPEZ RIVERA                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674450 JAIME H RIVAS BARBOSA                       1073 PASEO DAMASCO                                                                                              TOA BAJA            PR           00949
   234698 JAIME H TORRES REYES                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674452 JAIME H VARGAS VEGA                         URBANIZACION COVADONGA    ID 16 CALLE II                                                                        TOA BAJA            PR           00949
   234699 JAIME H ZAYAS ZAYAS                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674453 JAIME HAMILTON MARQUEZ                      PO BOX 1276                                                                                                     GUAYNABO            PR           00970
   234701 JAIME HERNANDEZ                             REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674454 JAIME HERNANDEZ ARCE                        BRISAS DE TORTUGUERO      BUZON 40 CALLE RIO BAIRO                                                              VEGA BAJA           PR           00986
   674455 JAIME HERNANDEZ AROCHO                      HC 3 BOX 30283                                                                                                  AGUADILLA           PR           00603‐9704
   674456 JAIME HERNANDEZ LOPEZ                       REPARTO UNIVERSIDAD       E 30 CALLE 10                                                                         SAN GERMAN          PR           00683
   234702 JAIME HERNANDEZ MOJICA                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674458 JAIME HERNANDEZ ORTIZ                       HC 01 BOX 5358                                                                                                  GUAYNABO            PR           00971
   234703 JAIME HERNANDEZ VARGAS                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674459 JAIME HERNANDEZ VELEZ                       HC 2 BOX 11604                                                                                                  YAUCO               PR           00698
   674460 JAIME HUERTASW MORENO                       HC 74 BOX 5241                                                                                                  NARANJITO           PR           00719
   674461 JAIME I CABALLERO HERRERA                   EXT LA RAMBLA             1627 CALLE NAVARRO                                                                    PONCE               PR           00730
   674462 JAIME I NOGUERAS ARBELO                     COND CAGUAS TOWER         APT 102                                                                               CAGUAS              PR           00725

   674464 JAIME IRIZARRY ROMAN                        URB COLINAS METROPOLITANAS S 14 MONTELLANO                                                                      GUAYNABO            PR           00969
   674469 JAIME J BENITEZ GARCIA                      URB CIUDAD UNIVERSITARIA   Q 12 CALLE 20                                                                        TRUJILLO ALTO       PR           00976

   674470 JAIME J BENITEZ MALDONADO                   URB ROSEY VALLEY          445 CALLE BARCELONA                                                                   CEIBA               PR           00735
   674471 JAIME J BRAVO CASTRO                        PO BOX 2097                                                                                                     GUAYNABO            PR           00970
   234708 JAIME J COLON RIVERA                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JAIME J DA SILVA AROCHO /
   234709 FUSION ENERGY                               PLANNERS INC              PO BOX 667                                                                            MOCA                PR           00676
   234710 JAIME J ESCALONA                            REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674473 JAIME J FELICIANO                           VISTA MAR                 8 CALLE ADRIANO GONZALEZ                                                              ARECIBO             PR           00612
   674474 JAIME J GARCIA ROBLES                       HC03 BOX 8134                                                                                                   GUAYNABO            PR           00971
   674475 JAIME J GOZALEZ NIEVES                      PO BOX 1611                                                                                                     ISABELA             PR           00662

   674476 JAIME J GUEVARA RODRIGUEZ                   PO BOX 1102                                                                                                     SAN SEBASTIAN       PR           00685‐1102

   234711 JAIME J HERNANDEZ RODRIGUEZ REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234712 JAIME J HERNANDEZ VARGAS    REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234713 JAIME J LARACUENTE DIAZ     REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234714 JAIME J MARRERO LOPEZ       REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  674477 JAIME J MATOS MENDEZ                          EST DEL BLVD 7000           CARR 844 APT 169                                                                 SAN JUAN            PR         00926
  234715 JAIME J MONT BRUTON                           REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  234716 JAIME J MORALES DEL VALLE                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  234717 JAIME J RIOS TORRES                           REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  234718 JAIME J SIFRE RODRIGUEZ                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  234719 JAIME J SOTO VAZQUEZ                          REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  674478 JAIME J TAVAREZ GONZALEZ                      PO BOX 956                                                                                                   ISABELA             PR         00662
  234720 JAIME J ZAMPIEROLLO VILA                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   234721 JAIME J. ESCALONA COLMENERO REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234722 JAIME J. FLORES CALDERA     REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674479 JAIME JAVIER BAREA MORA     P O BOX 7428                                                                                                                  SAN JUAN            PR         000916
          JAIME JAVIER SANTOS
   234723 MONTANEZ                    REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674480 JAIME JIMENEZ LUGO          PMB 17 BOX 20000                                                                                                              CANOVANAS           PR         00729
   234724 Jaime Joel Roman Arce       REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                      H 1 URB LLANOS DE
   674481 JAIME JORDAN RAMOS          PROVIDENCIA                                                                                                                   SALINAS             PR         00751
   674482 JAIME JORGE FLORES          P O BOX 1210                                                                                                                  ARROYO              PR         00714
                                      8044 VIA GAVIOTA CAMINO DEL
   674483 JAIME JULIA RAMIREZ         MAR                                                                                                                           TOA BAJA            PR         00949
   234725 JAIME L ACEVEDO SANTANA     REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674484 JAIME L ADAMS GONZALEZ      COND PLAZA INMACULADA 2                      APT 707                                                                          SAN JUAN            PR         00909
   234726 JAIME L ALFONSO PACHECO     REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674485 JAIME L BAYRON FIGUEROA     ALT DE MAYAGUEZ                              BF 7 CALLE MONTOSO                                                               MAYAGUEZ            PR         00682‐6304
   674486 JAIME L BEHARRY PASTRANA    BO DERRO GARDO                               SECTOR AVILES                                                                    BAYAMON             PR         00960
   674487 JAIME L CAMACHO GOMEZ       11 CUESTA LOS JUDIOS                                                                                                          YAUCO               PR         00698
   234727 JAIME L CHEVERE ALFONZO     REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   674488 JAIME L CLEMENTE RODRIGUEZ                   HC 01 BOX 3624                                                                                               LOIZA               PR         00772

   674489 JAIME L CORDERO RODRIGUEZ                    PO BOX 213665                                                                                                SAN JUAN            PR         00928‐1365
   234730 JAIME L CORREA LOPEZ                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   234731 JAIME L DEL VALLE CABALLERO                  REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674490 JAIME L DIAZ STEVENSON                       BAYAMON GARDENS STATION     PO BOX 3655                                                                      BAYAMON             PR         00958‐0655
   674491 JAIME L ECHEVARRIA                           P O BOX 2007                                                                                                 ISABELA             PR         00662
   674492 JAIME L ESCOBALES VELEZ                      BO YABUECA                  HC 1 BOX 3808                                                                    ADJUNTA             PR         00601
   234732 JAIME L FRAGOSO CORREA                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234733 JAIME L FRAGOSO VAZQUEZ                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234734 JAIME L GARCIA GARCIA                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234735 JAIME L GONZALEZ                             REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                       1200 COND VISTA VERDE BOX
   674494 JAIME L GONZALEZ COLON                       135                                                                                                          SAN JUAN            PR         00924
   234736 JAIME L GONZALEZ CORP                        PMB 135 P O BOX 29029                                                                                        SAN JUAN            PR         00929
   674496 JAIME L GUTIERREZ                            URB SUMMIT HILLS            1744 CALLE ASOMANTE                                                              SAN JUAN            PR         00920

   234738 JAIME L HERNANDEZ RODRIGUEZ REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234739 JAIME L IRENE LOZADA        REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674499 JAIME L LOPEZ MARTINEZ      URB SANTA TERESITA                           AK 20 CALLE 8                                                                    PONCE               PR         00732
   234740 JAIME L MARRERO RUSSE       REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674500 JAIME L MARZAN TORRES       PO BOX 3087                                                                                                                   CAROLINA            PR         00984




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          JAIME L MELENDEZ
   234742 MALDONADO                                   REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674501 JAIME L MORENO JIMENEZ                      COMUNIDAD ESTRELLA       P O BOX 2863                                                                          RINCON              PR           00677
   674502 JAIME L NAZARIO YORDAN                      AVE LA SIERRA #300       BOX 134                                                                               SAN JUAN            PR           00926
   674503 JAIME L NOVOA                               PO BOX 3371                                                                                                    BAJADERO            PR           00616
          JAIME L OLIVERA MAGRANER/
   234744 ALPHA GREEN                                 REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674504 JAIME L PACHECO                             ESTANCIAS DE YAUCO       CALLE 6                                                                               YAUCO               PR           00698
   234745 JAIME L PEREZ CARABALLO                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234746 JAIME L PEREZ FIGUEROA                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234748 JAIME L QUINONEZ RIVERA                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234749 JAIME L RAMOS RODRIGUEZ                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674505 JAIME L RAMOS SANTIAGO                      HC 3 BOX 13819                                                                                                 JUANA DIAZ          PR           00795
   674506 JAIME L RIOS PEREZ                          HC 1 BOX 5281                                                                                                  BARRANQUITAS        PR           00794
   234752 JAIME L RIOS RIVERA                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234754 JAIME L RIVAS MALDONADO                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674509 JAIME L RIVERA ORTIZ                        PO BOX 1374                                                                                                    GURABO              PR           00778
   674510 JAIME L RIVERA VAZQUEZ                      PO BOX 4567                                                                                                    VEGA BAJA           PR           00694

   674511 JAIME L RODRIGUEZ MIRANDA                   HC 2 BOX 4948                                                                                                  VILLALBA            PR           00766
   674512 JAIME L RODRIGUEZ NEGRON                    HC 01 BOX 4948                                                                                                 VILLALBA            PR           00766

   674514 JAIME L RODRIGUEZ RODRIGUEZ                 PO BOX 471                                                                                                     JUANA DIAZ          PR           00795‐0471
   234755 JAIME L RODRIGUEZ RUIZ                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674515 JAIME L RUIZ LEON                           URB VILLA DEL RIO        E 9 CALLE 6                                                                           GUAYANILLA          PR           00656
   674516 JAIME L TORO TROCHE                         JARD DEL CARIBE          102 CALLE 16                                                                          PONCE               PR           00728
   234756 JAIME L TORRES MERCERA                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234757 JAIME L TORRES ORTIZ                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674518 JAIME L VEGERANO TIRADO                     PO BOX 222                                                                                                     VIEQUES             PR           00765
   234758 JAIME L VELAZCO SANTOS                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234759 JAIME L. ATILES CALDERON                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   234761 JAIME L. RODRIGUEZ MIRANDA                  REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234762 JAIME L. SANTIAGO CANET                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234763 JAIME L. VASALLO ACEVEDO                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234766 JAIME LEE GARCIA                            REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674523 JAIME LOPEZ                                 HC 03 BOX 30549                                                                                                AGUADA              PR           00602
   234767 JAIME LOPEZ ACEVEDO                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674524 JAIME LOPEZ CARDONA                         PO BOX 550                                                                                                     AGUADA              PR           00602
   674525 JAIME LOPEZ CASTRO                          PO BOX 376                                                                                                     GUAYNABO            PR           00970
   234768 JAIME LOPEZ FORTE                           REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674526 JAIME LOPEZ MARTINEZ                        URB VALLE DE ANDALACIA   CALLE CADIZ B 10           BOX 2824                                                   PONCE               PR           00728
   674527 JAIME LOPEZ VARGAS                          BO MARAVILLA NORTE       CARRILLA KM 24                                                                        LAS MARIAS          PR           00670
   234771 JAIME LORENZO LOPEZ                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234772 JAIME LUGO ANDINO                           REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   234773 JAIME LUIS BERROCAL FLORES                  REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674528 JAIME LUIS COLON SALICHS                    BO QUEBRADA LIMON        BOX 7964 CARR 502 KM 2.9                                                              PONCE               PR           00731

   234774 JAIME LUIS GONZALEZ STUART                  REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234775 JAIME LUIS ORTIZ MORALES                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674529 JAIME LUIS PACHECO RUIZ                     URB EST DE YAUCO         A 15 CALLE RUBI                                                                       YAUCO               PR           00650
   234776 JAIME LUIS RIOS SANCHEZ                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  674530 JAIME LUNA URBINA                            BOX 573                         BO ARENAS                                                                         CIDRA               PR           00739

   674531 JAIME M DEL PILAR GONZALEZ                  PO BOX 26                                                                                                         QUEBRADILLAS        PR           00+89

   674532 JAIME M NEGRON MONTALVO                     PO BOX 604                                                                                                        MAYAGUEZ            PR           00681‐0604
          JAIME M NUNEZ H/N/C THE
   234777 LOYALTY                                     CONSULTING SERVICES INC         PO BOX 195562                                                                     SAN JUAN            PR           00919‐5562

   674533 JAIME M PALES PONS                          COND HATO REY PLAZA APT 7F                                                                                        SAN JUAN            PR           00918
   234778 JAIME M REYES MERCADO                       REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   674535 JAIME M RIVERA ORTIZ                        PO BOX 330687                                                                                                     PONCE               PR           00733‐0687
   234779 JAIME MACHICOTE SANTIAGO                    REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   674536 JAIME MADURO SANTANA                        PO BOX 9022947                                                                                                    SAN JUAN            PR           00902

   674261 JAIME MAISONET ECHEVARRIA                   URB VILLAS DE CANEY             H 5 CALLE GUACABO                                                                 TRUJILLO ALTO       PR           00976
   234780 JAIME MAIZ PADILLA                          REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   674537 JAIME MALAVE ADAMES                         HC 3 BOX 16901                                                                                                    QUEBRADILLAS        PR           00678‐9822

   674538 JAIME MALDONADO FERNANDEZ PMB 02 P O BOX 3000                                                                                                                 CANOVANAS           PR           00729

   234781 JAIME MALDONADO MELENDEZ REDACTED                                           REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   234782 JAIME MALDONADO NIEVES   REDACTED                                           REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   674540 JAIME MALDONADO SANCHEZ  BASF AGRICULTURAL DE PR                            PO BOX 243                                                                        MANATI              PR           00674

   674541 JAIME MANUEL CABRERA PINTO                  EL VEDADO                       430 PAOLI                                                                         SAN JUAN            PR           00918
   674542 JAIME MARCANO MONTANEZ                      D‐11 CALLE TUDOR        VILLA   DEL REY 1RA. SECCION                                                              CAGUAS              PR           00725
   674544 JAIME MARCHENA ARRAUT                       P O BOX 457                                                                                                       PUERTO REAL         PR           00740
   234783 JAIME MARQUEZ TORRES                        REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   674545 JAIME MARTINEZ ARCE                         COND LOS ROBLES                 EDIF B APTO 703                                                                   SAN JUAN            PR           00927
   674546 JAIME MARTINEZ BRACERO                      PO BOX 23                                                                                                         LAJAS               PR           00667
   674547 JAIME MARTINEZ COLON                        HC 04 BOX 48775                                                                                                   CAGUAS              PR           00725
   234784 JAIME MARTINEZ CRUZ                         REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   674550 JAIME MARTINEZ DIAZ                         METADONA CAYEY                                                                                                    Hato Rey            PR           00936
   674551 JAIME MARTINEZ GARCIA                       LAS ALONDRAS                    G 6 CALLE 8                                                                       VILLALBA            PR           00766
   234786 JAIME MARTINEZ MORALES                      REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   674553 JAIME MARTINEZ SANFIORENZO                  HC 02 BOX 23894                                                                                                   MAYAGUEZ            PR           00681
   234787 JAIME MARTINEZ VALDIVIESO                   REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   674262 JAIME MARZAN RAMOS                          PMB 500 PO BOX 4952                                                                                               CAGUAS              PR           00726‐4982
   234788 JAIME MASSA                                 REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   234790 JAIME MATOS RIVERA                          REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   674556 JAIME MATTEI SANTOS                         HC 02 BOX 5186                                                                                                    GUAYANILLA          PR           00656
   674557 JAIME MAYOL ALICEA                          P O BOX 417                                                                                                       PONCE               PR           00734
   674558 JAIME MAYSONET                              COM LA DOLORES                  313 C CALLE BRASIL                                                                RIO GRANDE          PR           00745
   674560 JAIME MEDINA DELGADO                        URB TURABO GARDENS              12 CALLE 15 2 6                                                                   CAGUAS              PR           00725
   234791 JAIME MEDINA MEDINA                         REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   674561 JAIME MELENDEZ POLANCO                      344 EXT PUNTA PALMA                                                                                               BARCELONETA         PR           00617
   234792 JAIME MELENDEZ RODRIGUEZ                    REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   234793 JAIME MELENDEZ VAZQUEZ                      REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   234794 JAIME MENDOZA ORTIZ                         REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   674563 JAIME MENDOZA SANCHEZ                       P O BOX 9430                                                                                                      CAROLINA            PR           00988

   674564 JAIME MERCADO ALMODOVAR                     ALT DE SAN LORENZO              A 9 CALLE 2                                                                       SAN LORENZO         PR           00754



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  674565 JAIME MERCADO FLORES                         HC 2 BOX 11428                                                                                                   YAUCO                PR         00698‐9601
  234797 JAIME MERCED CARABALLO                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  234798 JAIME MIGUEL MUNOZ                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  234799 JAIME MIGUELES VAZQUEZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  674566 JAIME MILAN CASTRO                           URB EL CONQUISTADOR A 16   CALLE 5                                                                               TRUJILLO ALTO        PR         00976
  674567 JAIME MILIAN MORALES                         HC 3 BOX 11958                                                                                                   AGUADILLA            PR         00603
  674263 JAIME MIRANDA NU¥EZ                          TERRAZA DE CAROLINA        A G 1 CALLE 33                                                                        CAROLINA             PR         00987
  674568 JAIME MIRANDA RIVAS                          1918 STONECREST COURT                                                                                            ORLANDO              FL         32825
  674569 JAIME MOLINA DE LEON                         HC‐8 BOX 154                                                                                                     PONCE                PR         00731
  674570 JAIME MOLINA VARGAS                          HP ‐ SALA DE ENFERMERIA                                                                                          Rio Piedras          PR         009360000
  234800 JAIME MONTANEZ CASTRO                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   234801 JAIME MONTE ALEGRE NEGRON                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   234802 JAIME MORALES GARCIA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   234803 JAIME MORALES LABOY                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   234804 JAIME MORALES RIVERA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   674573 JAIME MORENO ARANZAMENDI URB JARD DEL CARIBE                           DD10 CALLE 28                                                                         PONCE                PR         00728
   234810 JAIME N RIVERA ORTIZ     REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   674574 JAIME N SEPULVEDA MARRERO                   REPARTO LOPEZ              104 CALLE HILDA                                                                       AGUADILLA            PR         00603
   674576 JAIME NEGRON                                URB LEVITTOWN LAKES        D 21 CALLE MARINA                                                                     TOA BAJA             PR         00949
   674577 JAIME NEGRON AVILES                         RES GAUTIER BENITEZ        EDIF 31 APT 275                                                                       CAGUAS               PR         00725
   674578 JAIME NEGRON LOPEZ                          P O BOX 45                                                                                                       VEGA BAJA            PR         00693
   674579 JAIME NEGRON MARTINEZ                       URB SANTA ELENA III        21 CALLE SAN MARTIN                                                                   GUAYANILLA           PR         00656
   674580 JAIME NEGRON MOLINA                         URB VALLE ARRIBA HEIGHTS   B6 CALLE FLAMBOYAN                                                                    CAROLINA             PR         00983
   674581 JAIME NEGRON RIVERA                         P O BOX 1030                                                                                                     TOA ALTA             PR         000953
   674583 JAIME NEGRON RODRIGUEZ                      URB VILLA DEL CARMEN       C 48 AVE CONSTANCIA                                                                   PONCE                PR         00731
   234812 JAIME NIEVES ACEVEDO                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   674584 JAIME NIEVES REYES                          PO BOX 1220                                                                                                      TOA ALTA             PR         00954
   674585 JAIME O FIGUEROA REYES                      PO BOX 864                                                                                                       BAJADERO             PR         00616
   234813 JAIME O ORTIZ EGEA                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   234814 JAIME O OTERO SANTANA                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   674587 JAIME O RODRIGUEZ MORALES                   HC 2 BOX 8544                                                                                                    JAYUYA               PR         00664
   674588 JAIME O ROSADO RIVERA                       HC 03 BOX 7546                                                                                                   BARRANQUITAS         PR         00794
   674589 JAIME O SOLIS VILA                          BO SABANA LLANA            295 PARC FALU CALLE 34                                                                SAN JUAN             PR         00924
   234817 JAIME O. GARCÍA SILVA                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   234818 JAIME O. RIVERA MIRANDA                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   674590 JAIME OJEDA                                 4TA EXT COUNTRY CLUB       MM 16 CALLE 20                                                                        CAROLINA             PR         00987
   674591 JAIME OLIVIERI BARRIOS                      PMB 490 PO BOX 4960                                                                                              CAGUAS               PR         00726
   234820 JAIME ONGAY RULLAN                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   674592 JAIME OQUENDO MARTINEZ                      HC 01 BOX 8534                                                                                                   TOA BAJA             PR         00949
   674593 JAIME ORENGO                                P O BOX 3614                                                                                                     AGUADILLA            PR         00605
   674594 JAIME ORENGO AVILES                         PO BOX 3614                                                                                                      AGUADILLA            PR         00605
   674595 JAIME OROZCO DUQUE                          CONDADO                    1124 AVE ASHFORD APT 3 B                                                              SAN JUAN             PR         00907
   674596 JAIME ORTA RODRIGUEZ                        PUERTO RICO DJ MUSIC       BOX 103 BO GARROCHALES                                                                ARECIBO              PR         00652
   234821 JAIME ORTIZ DE JESUS                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   234822 JAIME ORTIZ GONZALEZ                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   674598 JAIME ORTIZ LAGARES                         HC 03 BOX 11358                                                                                                  JUANA DIAZ           PR         00795‐9505
   674253 JAIME ORTIZ MIRANDA                         URB VILLA CAROLINA         111 40 CALLE 80                                                                       CAROLINA             PR         00985
   674599 JAIME ORTIZ MONTALVO                        HC 09 BOX 2842                                                                                                   SABANA GRANDE        PR         00637
   674600 JAIME ORTIZ MORALES                         HC01 BOX 4065                                                                                                    GURABO               PR         00778



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  234823 JAIME ORTIZ QUINONEZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  674601 JAIME ORTIZ RAMOS                            JAIME ORTIZ RAMOS                                                                                                BAYAMON             PR         00960
  234824 JAIME ORTIZ ROSA                             REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   674603 JAIME OSCAR SANTIAGO FLORES                 URB ESTANCIAS ENCLYMAS       N 4 CALLE 12                                                                        SALINAS             PR         00751
   234827 JAIME OTERO JIMENEZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234828 JAIME OTERO MARTINEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674606 JAIME OTERO MONTES                          PO BOX 7126                                                                                                      PONCE               PR         00732
   674608 JAIME OTERO RODRIGUEZ                       C.S.M. BAYAMON                                                                                                   Hato Rey            PR         00936
   234829 JAIME OTERO SEMPRIT                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234830 JAIME PABON RODRIGUEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674609 JAIME PACHECO GONZALEZ                      SAN TOMAS                    E 22 CALLE E                                                                        PONCE               PR         00716
   674610 JAIME PADILLA                               5E COND EL JARDIN                                                                                                GUAYNABO            PR         00968
   674612 JAIME PADRO SANCHEZ                         PMB SUITE 104 P O BOX 8458                                                                                       SAN JUAN            PR         00936‐8458
   674613 JAIME PAGAN                                 PO BOX 40998                                                                                                     SAN JUAN            PR         00940
   234831 JAIME PARDO LUGO                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674614 JAIME PARIS LOPEZ                           JARDINES DE RIO GRANDE       AJ 17 CALLE 21                                                                      RIO GRANDE          PR         00745
   234832 JAIME PENA FONSECA                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234833 JAIME PENA ROSARIO                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234836 JAIME PEREIRA ZAYAS                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234838 JAIME PEREZ DELGADO                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674617 JAIME PEREZ IGARTUA                         P O BOX 626                                                                                                      QUEBRADILLAS        PR         00678
   674620 JAIME PEREZ MORALES                         1858 CALLE GALLERA                                                                                               QUEBRADILLA         PR         00678
   674621 JAIME PEREZ ORTIZ                           BO ISLOTE 2 BUZON 105                                                                                            ARECIBO             PR         00612
   234839 JAIME PEREZ RODRIGUEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674622 JAIME PEREZ ROSELLO                         P O BOX 275                                                                                                      FLORIDA             PR         00650
   234840 JAIME PEREZ VALENTIN                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674624 JAIME PERICAS RIVERA                        PO BOX 629                                                                                                       DORADO              PR         00646
   234842 JAIME PINEIRO RODRIGUEZ                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234843 JAIME PINERO PARES                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234844 JAIME PIZARRO FIGUEROA                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234845 JAIME POLIDURA ABRAMS                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674625 JAIME POMALES DIAZ                          URB BONNEVILLE HEIGHTS       52 CALLE YABUCOA                                                                    CAGUAS              PR         00725
   234846 JAIME POUPART NARVAEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674626 JAIME QUILES ADORNO                         PARCELAS FALU                133 CALLE 37                                                                        SAN JUAN            PR         00924
   234847 JAIME QUINONES LUGO                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234848 JAIME QUINONES PAGAN                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234849 JAIME QUINONES VELAZCO                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   234850 JAIME QUIRINDONGO BATISTA                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674628 JAIME R ARROYO MARRERO                      P O BOX 32                                                                                                       OROCOVIS            PR         00720
   234851 JAIME R CABRE IRIZARRY                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   674629 JAIME R COLLAZO RODRIGUEZ                   URB ESPERANZA                CALLE D 10                                                                          JUANA DIAZ          PR         00795
          JAIME R GIERBOLINI / MYRNA
   234853 EMANUELLY                                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   234854 JAIME R GIERBOLINI EMANUELLI                REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234855 JAIME R IRIZARRY RIVERA                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674631 JAIME R LABOY GOMEZ                         URB TIERRA SANTA             CALLE A 7                                                                           VILLALBA            PR         00766
   234856 JAIME R LOPEZ COLLAZO                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JAIME R MALDONADO
   674632 MALDONADO                                   HC 02 BOX 5435                                                                                                   MOROVIS             PR         00687



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   674633 JAIME R MORENO MALDONADO URB LA CUMBRE                                   383 CALLE CAGUAS                                                                    SAN JUAN            PR           00926
                                    7101 PORTALES DE PARQUE
   674634 JAIME R PERELLO BORRAS    ESCORIAL                                                                                                                           CAROLINA            PR           00986
   234857 JAIME R QUILICHINI GARCIA REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   234859 JAIME R RODRIGUEZ ESCALONA                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674635 JAIME R SANCHEZ TORRES                      PO BOX 6986                                                                                                      CAGUAS              PR           00726‐6986
   234860 JAIME R SEDA VELEZ                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674627 JAIME R SEDA VELEZ                          URB PASEOS SULTANITA         23 CALLE LOS ADOQUINES                                                              MAYAGUEZ            PR           00680
   234861 JAIME R TALAVERA TORRES                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JAIME R TORRES / PORTAL
   674636 DOBLE A                                     URB SAN MARTIN               14 CALLE 3                                                                          JUANA DIAZ          PR           00795
   674637 JAIME R TORRES ORTIZ                        CALLE L # 2                  URB SAN CRISTOBAL                                                                   BARRANQUITAS        PR           00794
   234862 JAIME R TORRES VAZQUEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674638 JAIME R VARGAS                              URB LEVITTOWN 1 RA SEC       Y 1771 PASEO DOSEL                                                                  TOA BAJA            PR           00949
   234863 JAIME R VELEZ AUGUSTO                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234864 JAIME R VILLA COLON                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234865 JAIME R ZAMBRANA IGNACIO                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674640 JAIME R. ESCALONA FERRER                    URB SAN FRANCISCO            1687 CALLE LILAS                                                                    SAN JUAN            PR           00927

   674642 JAIME RAMASSAT CINTRON                      COND CIUDAD UNIVERSITARIA    APT 908 TORRE B                                                                     TRUJILLO ALTO       PR           00976
   234868 JAIME RAMIREZ                               REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234869 JAIME RAMIREZ RAMOS                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234870 JAIME RAMIREZ RODRIGUEZ                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674643 JAIME RAMIREZ ROSARIO                       PO BOX 402                                                                                                       PALMER              PR           00721
   674644 JAIME RAMIREZ VALENTIN                      BO MIRADERO                  3123 CARR 351                                                                       MAYAGUEZ            PR           00682
   234871 JAIME RAMIREZ ZENO                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234872 JAIME RAMOS COLON                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234875 JAIME RAMOS COUVERTIER                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674645 JAIME RAMOS DIAZ                            3 CALLE ARISTO                                                                                                   ARECIBO             PR           00612
   234876 JAIME RAMOS MIRANDA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JAIME RENTA Y/O MILDRED
   234879 RIVERA                                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674647 JAIME REYES ESTRADA                         HC 3 BOX 13633                                                                                                   JUANA DIAZ          PR           00795
                                                      BO JUAN DOMINGO 3 CALLE
   674648 JAIME REYES FALCON                          PASTORA                                                                                                          GUAYNABO            PR           00969
   234880 JAIME REYES FIGUEROA                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      URB JARDINES DE COUNTRY
   674264 JAIME REYES VAZQUEZ                         CLUB                         BL 21 CALLE 118                                                                     CAROLINA            PR           00983
   234881 JAIME RIOS MALDONADO                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234882 JAIME RIVERA                                REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JAIME RIVERA / MFS
   234883 CONSULTING ENGINEERS                        SABANERA                     198 CAMINO DEL NARCIZO                                                              DORADO              PR           00646
   234884 JAIME RIVERA ALGARIN                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234885 JAIME RIVERA ALVAREZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674650 JAIME RIVERA BURGOS                         4TA SECC LEVITTOWN           B 19 CALLE MARISOL                                                                  TOA BAJA            PR           00949
   234886 JAIME RIVERA CRUZ                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234888 JAIME RIVERA DIAZ                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234889 JAIME RIVERA DUENO, MD                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   234891 JAIME RIVERA MARTINEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   674655 JAIME RIVERA NAZARIO                        HC 01 BOX 7045 BO SIERRITA                                                                                       VILLALBA            PR           00766



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  674656 JAIME RIVERA NIEVES                          HC 1 BOX 183                                                                                                      CANOVANAS         PR         00729‐9722
  234892 JAIME RIVERA NUNEZ                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  674657 JAIME RIVERA RIVERA                          PO BOX 1313                                                                                                       AIBONITO          PR         00705
  674660 JAIME RIVERA SOTOMAYOR                       PO BOX 797                                                                                                        JAYUYA            PR         00664
  234893 JAIME RIVERA TORRES                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         JAIME RIVERA Y MAGDALENA
  234895 ROTGER                                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  674663 JAIME ROBLES RIVERA                          P O BOX 84                                                                                                        CIDRA             PR         00739
  234898 JAIME ROBLES RODRIGUEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  674664 JAIME RODRIGUEZ                              P O BOX 1126                                                                                                      VEGA BAJA         PR         00694
  234899 JAIME RODRIGUEZ AYALA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  674666 JAIME RODRIGUEZ CAMPOS                       COLINAS DE MONTE CARLOS     A 47 CALLE A                                                                          SAN JUAN          PR         00924
  234900 JAIME RODRIGUEZ COLON                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  234901 JAIME RODRIGUEZ CORA                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  674668 JAIME RODRIGUEZ CRESPO                       URB STA ROSA                13‐23 CALLE 9                                                                         BAYAMON           PR         00959
  234903 JAIME RODRIGUEZ DE JESUS                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         JAIME RODRIGUEZ
  234904 ENCARNACION                                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  234905 JAIME RODRIGUEZ FIGUEROA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  234906 JAIME RODRIGUEZ GALINDO                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  234907 JAIME RODRIGUEZ IRIZARRY                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  234909 JAIME RODRIGUEZ MENDOZA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         Jaime Rodríguez Mortuary
  831430 Services                                     Calle Saturno # 189         Urb. Toa Ville                                                                        Toa Alta          PR         00949
  234910 JAIME RODRIGUEZ OCASIO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  674671 JAIME RODRIGUEZ ORTIZ                        PO BOX 1137                                                                                                       CIALES            PR         00638‐1137
  674672 JAIME RODRIGUEZ OTERO                        VILLA CAROLINA              213‐26 CALLE 503                                                                      CAROLINA          PR         00985
  234911 JAIME RODRIGUEZ QUILES                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  234912 JAIME RODRIGUEZ RIVERA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  234914 JAIME RODRIGUEZ ROCHE                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   674673 JAIME RODRIGUEZ RODRIGUEZ                   RR 1 BOX 3051               BO RABANAL                                                                            CIDRA             PR         00739
   234915 JAIME RODRIGUEZ ROMAN                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   674674 JAIME RODRIGUEZ TOSADO                      HC 1 BOX 12463                                                                                                    CAMUY             PR         00627

   674675 JAIME RODRIGUEZ VARELA                      PUERTO RICO FARM CREDIT ACA PO BOX 140010                                                                         ARECIBO           PR         00614‐0010
   674678 JAIME RODRIGUEZ VEGA                        VILLA FONTANA               40‐425 CALLE 6                                                                        CAROLINA          PR         00984
          JAIME RODRIGUEZ Y JUDITH
   234916 ALICEA                                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                  1519 PONCE DE LEÓN FIRST
  1420093 JAIME RODRIGUEZ, GLORIMARI                  FRANCISCO GONZÁLEZ MAGAZ    FEDERAL SUITE 805                                                                     SAN JUAN          PR         00909
                                                                                  1519 PONCE DE LEÓN FIRST
  1420094 JAIME RODRIGUEZ, GLORIMARI                  FRANCISCO GONZÁLEZ MAGAZ    FEDERAL SUITE 805                                                                     SAN JUAN          PR         00909
   234924 JAIME ROMAN IRIZARRY                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   674680 JAIME ROMAN RODRIGUEZ                       BO VIGIA SECTOR ISLOTE      360 CALLE 10                                                                          ARECIBO           PR         00612
   234926 JAIME ROSA PINEIRO                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   674681 JAIME ROSA SOSA                             64 CALLE SAN CARLOS                                                                                               QUEBRADILLAS      PR         00678
   674682 JAIME ROSADO DEL MORAL                      HC 02 BOX 13294                                                                                                   HUMACAO           PR         00791 9657
   234927 JAIME ROSADO NARVAEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   234928 JAIME ROSADO ROSARIO                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   674683 JAIME ROSARIO ALDECO                        ALTURAS DE CIALES D‐1                                                                                             CIALES            PR         00638
   674684 JAIME ROSARIO MELENDEZ                      PO BOX 1468                                                                                                       CAYEY             PR         00737‐1468
   234929 JAIME ROSARIO PEREZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  234930 JAIME ROSARIO VARGAS                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  674685 JAIME ROUBERT PEREZ                          RES LIRIOS DEL SUR          22 APTO 79                                                                               PONCE               PR         00731
  674686 JAIME RUBERTE SANTIAGO                       P O BOX 190917                                                                                                       SAN JUAN            PR         00919‐0917
  674688 JAIME RUIZ ARROYO                            MARIOLGA                    P 34 SAN MIGUEL                                                                          CAGUAS              PR         00725
  234931 JAIME RUIZ FRANQUI                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JAIME RUIZ SALDANA LAW
  234932 OFFICES                                      PMB 450                     400 CALLE CALAF                                                                          SAN JUAN            PR         00918
  674689 JAIME RUIZ SANOGUET                          1 JARD DE MAYAGUEZ          APT 304                                                                                  MAYAGUEZ            PR         00680
  674690 JAIME RULLAN CRUZ                            PO BOX 364945                                                                                                        SAN JUAN            PR         00936
  674691 JAIME RULLAN RODRIGUEZ                       PO BOX 674                                                                                                           UTUADO              PR         00641
  674265 JAIME S CARRION GINET                        PO BOX 522                                                                                                           FAJARDO             PR         00778
  234934 JAIME S MENENDEZ ANTUNEZ                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  674692 JAIME S RAMIREZ ROLON                        1262 40SE LA RIVIERA                                                                                                 SAN JUAN            PR         00921
  234935 JAIME S. CATALA FUSTER                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   674693 JAIME SAIN BLANCO MERCADO                   PO BOX 6129 ESTACION 1                                                                                               BAYAMON             PR         00960

   674694 JAIME SANABRIA MURILLO                      URB OCEAN PARK              5 APT LF CALLE ATLANTIC PLACE                                                            SAN JUAN            PR         00979
   234936 JAIME SANCHEZ                               REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674695 JAIME SANCHEZ COLON                         JARD DE TOA ALTA            228 CALLE 8                                                                              TOA ALTA            PR         00953
   234938 JAIME SANCHEZ MORENO                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674696 JAIME SANCHEZ PEREZ                         URB JARD DE TOA ALTA        228 CALLE 8                                                                              TOA ALTA            PR         00953
          JAIME SANTANA & ASSOC
   674698 PREFESSIONAL CORP                           EDF DEL PARQUE              403 PISO 2 CALLE DEL PARQUE                                                              SAN JUAN            PR         00912
   234939 JAIME SANTANA FLORES                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234941 JAIME SANTANA RUIZ                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JAIME SANTIAGO ACOSTA Y
   234942 NELSON D SOTO                               REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JAIME SANTIAGO GARCIA C/O
   674699 RAMON F LOPEZ                               PO BOX 70370                                                                                                         SAN JUAN            PR         00936‐8370
   674701 JAIME SANTIAGO RODRIGUEZ                    HC 3 BOX 11683                                                                                                       JUANA DIAZ          PR         00795
   234944 JAIME SANTIAGO TORRES                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234945 JAIME SANTOS MIRABAL                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   674702 JAIME SEDA PACHECO                          URB VERDE MAR               946 CALLE 38 PUNTA SANTIAGO                                                              HUMACAO             PR         00741
   674703 JAIME SEGARRA                               URB SAN GERALDO             307 CALLE MONTE GOMERY                                                                   SAN JUAN            PR         00924
   674704 JAIME SERPA OCASIO                          BARAHONA                    253 CALLE DEL PILAR                                                                      MOROVIS             PR         00687
   674706 JAIME SOTERO ESTEVA                         HC 3 B 13545                                                                                                         YAUCO               PR         00698‐9614
   674707 JAIME SOTO FLORES                           PO BOX 1225                                                                                                          CAGUAS              PR         00726
   674708 JAIME SOTO GONZALEZ                         CALLE BM‐10 SANTA ELENA                                                                                              BAYAMON             PR         00957
   674266 JAIME SOTO ROJAS                            HC 73 BOX 5075                                                                                                       NARANJITO           PR         00719
   674709 JAIME SOTOMAYOR PABON                       URB ALTAMESA                1425 CALLE SAN JACINTO                                                                   SAN JUAN            PR         00921‐4716
                                                      URB.LEVITTOWN HN‐12 RAMON
   674710 JAIME SUAREZ VARGAS                         MORLA                                                                                                                TOA BAJA            PR         00949
   674712 JAIME TOLEDO RODRIGUEZ                      PO BOX 1030                                                                                                          SAN LORENZO         PR         00754
   674713 JAIME TORO RAMOS                            PO BOX 360631                                                                                                        SAN JUAN            PR         00936‐0631
   674714 JAIME TORO VELEZ                            PO BOX 240                                                                                                           SANTA ISABEL        PR         00757
   674715 JAIME TORRENS RODRIGUEZ                     P O BOX 3043                                                                                                         LAJAS               PR         00667
   234951 JAIME TORRES                                REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234952 JAIME TORRES ALEQUIN                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674719 JAIME TORRES ALVAREZ                        URB ESTEVEZ BOX 205                                                                                                  AGUADILLA           PR         00603
   234953 JAIME TORRES AROCHO                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   234954 JAIME TORRES BAEZ                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  674720 JAIME TORRES BANUCHI                         A/C: MARIA L TORRES COLON   PO BOX 9020082                                                                           SAN JUAN            PR           00902‐0082
  674722 JAIME TORRES CONCEPCION                      RES BAIROA                  DQ1 CALLE 42                                                                             CAGUAS              PR           00725
                                                      PARC. SUSUA 150B CALLE
   674723 JAIME TORRES FIGUEROA                       CLAVEL                                                                                                               SABANA GRANDE       PR           00637
   674724 JAIME TORRES FLORES                         URB EL MADRIGAL             P 16 CALLE 7                                                                             PONCE               PR           00730
   234955 JAIME TORRES GONZALEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   234957 JAIME TORRES MARTINEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   674725 JAIME TORRES MORALES                        BO MONTALVA                 76 CALLE MONTALVA                                                                        ENSENADA            PR           00647
   674726 JAIME TORRES PEREZ                          URB LAS PRADERAS            1283 CALLE ESMERALDA                                                                     BARCELONETA         PR           00617
   674727 JAIME TORRES RODRIGUEZ                      PO BOX 187                                                                                                           CIALES              PR           00638
   674728 JAIME TORRES ROMAN                          PO BOX 4961                 SUITE H307                                                                               CAGUAS              PR           00720‐9420
   234959 JAIME TORRES ROTGER                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   674729 JAIME TORRES SANTIAGO                       BOX 261                                                                                                              SABANA GRANDE       PR           00637
          JAIME TORRES Y MILDRED
   674734 SANTG.                                      URB. PARQUE LAS MERCEDES    F16 C/BAGALEZ F‐16                                                                       CAGUAS              PR           00725
   674735 JAIME TRAVERSO CORTES                       PO BOX 172                                                                                                           AGUADA              PR           00602
   674736 JAIME TROCHE CASTILLO                       1RA DE MAYO 56                                                                                                       YAUCO               PR           00698
   674737 JAIME V BIAGGI BUSQUETS                     APARTADO 1589                                                                                                        MAYAGUEZ            PR           00681‐1589
          JAIME V CHAULISAN CANCELA
   674738 DBA JC BUILDER                              PO BOX 70250                                                                                                         SAN JUAN            PR           00936‐7250
   234962 JAIME V FELICIANO VARELA                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   674740 JAIME V GONZALEZ RODRIGUEZ                  URB ALTURAS DEL REMANZO     P 11 CALLE CATARATA                                                                      SAN JUAN            PR           00926
   234963 JAIME VALENTIN ADAMES                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   674741 JAIME VALENTIN COLON                        CALLE 18 X 16               URB. VILLAS DE RIO GRANDE                                                                RIO GRANDE          PR           00745
   674742 JAIME VALLE PALMA                           33 CALLE AMADOR                                                                                                      ISABELA             PR           00662
   234964 JAIME VALLES HERNANDEZ                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   674743 JAIME VARGAS CORSINO                        URB LOMAS VERDES            2S9                                                                                      BAYAMON             PR           00956
   674744 JAIME VAZQUEZ BERNIER                       RR 3 BOX 3809                                                                                                        SAN JUAN            PR           00926‐9613
   234967 JAIME VAZQUEZ MORALES                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   674745 JAIME VAZQUEZ RIVERA                        URB SIERRA LINDA            5K CALLE 46                                                                              BAYAMON             PR           00657
   234968 JAIME VAZQUEZ RODRIGUEZ                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   674748 JAIME VAZQUEZ ROSARIO                       RR 1 BOX 11607                                                                                                       MANATI              PR           00674
   674749 JAIME VEGA CRUZ                             PO BOX 665                                                                                                           SABANA HOYOS        PR           00688
   234971 JAIME VEGA RODRIGUEZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   234972 JAIME VEGA SANTIAGO                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   234975 JAIME VELEZ CANABA                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   674752 JAIME VELEZ VEGA                            K4 CALLE 13                 VILLAS DEL CAFETAL                                                                       YAUCO               PR           00698
   674753 JAIME VENTURA VELEZ                         PO BOX 7126                                                                                                          PONCE               PR           00732
   674754 JAIME VERDIALES GONZALEZ                    JARDINES DE BAYAMONTE       90 CALLE COLIBRI                                                                         BAYAMON             PR           00956
   674755 JAIME VIQUEIRA KELLER                       URB BALDRICH                551 MAXIMO GOMEZ                                                                         SAN JUAN            PR           00918
   674756 JAIME VIVES RIVERA                          1156 AVE ROOSEVELT                                                                                                   PUERTO NUEVO        PR           00920
   674757 JAIME W ABREU RAMOS                         PARQUE DE LA VISTA          APT D 333                                                                                SAN JUAN            PR           00924
   234977 JAIME X ROSARIO PEREZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   674758 JAIME Y RIVERA MARRERO                      117 CALLE PABLO NEGRON                                                                                               MOROVIS             PR           00687

   234978 JAIME YUSEPT ESPINAL FAJARDO REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   234979 JAIME Z ARROYO TORRES        REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   674760 JAIME ZAPATA ZAPATA          PO BOX 647                                                                                                                          CABO ROJO           PR           00623
                                                                                  46 CALLE RAMON R VELEZ SECT
   674761 JAIME ZAYAS                                 PLAYA                       PLAYITA                                                                                  PONCE               PR           00731
   674762 JAIME ZENO VILLAFANE                        PO BOX 364207                                                                                                        SAN JUAN            PR           00936
   674763 JAIME ZORBA                                 1755 MCLEARY AVE                                                                                                     SAN JUAN            PR           00911



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  234980 JAIME, CORTES                                 REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  234981 JAIME. L. PEREZ FIGUEROA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  674764 JAIMESON KEEGAN                               CONDADO                      1123 CALLE VIEQUES                                                                    SAN JUAN            PR         00907
  234984 JAIMIE I OTERO SANCHEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JAIMILLY E OQUENDO
  234985 HERNANDEZ                                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  234986 JAIMY RIOS ALVAREZ                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  674765 JAINE VAZQUEZ CARDONA                         URB LA ARBOLEDA              154 CALLE 13                                                                          SALINAS             PR         00751

   234987 JAINES D DE LA MALTA ALEMAN REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   674766 JAINICE REYES MATIAS                         VILLA ESPERANZA CAMPANILLA   PARC F 2 CALLE GIRASOL                                                                TOA BAJA            PR         00951
   674767 JAINIE MIRANDA MARTINEZ                      URB VILLA UNIVERSITARIA      5‐10 CALLE 24                                                                         HUMACAO             PR         00791
   234988 JAINIE TROCHE FELICIANO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   234989 JAINIES RIVERA RIVERA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   234992 JAIRO A FONSECA SANCHEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   234993 JAIRO C MALDONADO RAMOS                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   234994 JAIRO DROZ HERNANDEZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   234995 JAIRO EVANS GOMEZ                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   234996 JAIRO JIMENEZ MANTILLA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   674769 JAIRO MERCADO ROMERO                         BONEVILLE MANOR              4‐20 CALLE 46                                                                         CAGUAS              PR         00725
   234998 JAIRO MIRANDA CANDELARIO                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   234999 JAIRO MUNOZ                                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   674770 JAIRO QUILES COMPRE                          PO BOX 852                                                                                                         ISABELA             PR         00662
   235000 JAIRO SANCHEZ MELO                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   674771 JAIRO T ANDINO DIAZ                          P O BOX 1197                                                                                                       YABUCOA             PR         00767
   235001 JAIRO VAZQUEZ ORTIZ                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   674772 JAISEMAR CUMBA MERCED                        PO BOX 371469                                                                                                      CAYEY               PR         00737
   674773 JAIXME DE JESUS COSME                        URB LA HACIENDA              AL 7 CALLE 51                                                                         GUAYAMA             PR         00784
   674774 JAJAIRA MENDEZ CRUZ                          RES MONTE HATILLO            EDIF 9 APT 118                                                                        SAN JUAN            PR         00924
   235002 JAKE ARAGORA SANCHEZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235003 JAKE MIRANDA DELGADO                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235004 JAKE S ZAYAS VEGA                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   674775 JAKELINE COLLAZO TORRES                      HC 2 BOX 8365                                                                                                      OROCOVIS            PR         00720
   674776 JAKELINE MONTALVO                            COLINAS DE FAIR VIEW         4 D 10 CALLE 202                                                                      SAN JUAN            PR         000928
   674777 JAKELINE REYES MALAVE                        BO COQUI                     222 CALLE SEGUNDA                                                                     AQUIRRE             PR         00704
   674778 JAKSENIA M VEGA LUGO                         PO BOX 68                                                                                                          SABANA GRANDE       PR         00637

   674779 JALAY AUTO SERVICE INC./GULF RR‐9 BOX 1820                                                                                                                      SAN JUAN            PR         00926
   235005 JALEIDY EXCIA MATOS          REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235006 JALEIDY GONZALEZ VARGAS      REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   235007 JALEMA INC                                   7397 WASHINGTON BOULEVARD SUITE 108                                                                                ELKRIDGE            MD         21075
   235008 JALEY TORRES NIEVES                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   674780 JALISCO RESTAURANT                           VALLE ARRIBA HEIGHTS      DC 1 CALLE 211                                                                           CAROLINA            PR         00983
   235009 JALITZA VERA MUNOZ                           REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235010 JALLIAN ROMAN MELENDEZ                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   235011 JALOREE LANTIGUA OFFERRALL                   JARD DEL PARQUE              BLVD MEDIA LUNA APT 3603                                                              CAROLINA            PR         00987
   235012 JALYCER TORRES HERNANDEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235013 JALYN DEL VALLE ORTIZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235014 JAM AMBULANCE SERVICE                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED




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   235017 JAM C SANTIAGO MALDONADO                    REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235018 JAM INC                                     PO BOX 3012                                                                                                     SAN SEBASTIAN       PR           00685
   674781 JAM MEDIA PRODUCERS INC                     P O BOX 12383 140                                                                                               SAN JUAN            PR           00914
          JAMAICA HOSPITAL MEDICAL
   235019 CENTER                                      PO BOX 19072                                                                                                    GREEN BAY           WI           54307‐9072
   674782 JAMAILY MARRERO AYALA                       URB SIERRA BAYAMON      CALLE 45 BLQ 72‐20                                                                      BAYAMON             PR           00961
   674783 JAMAIRA SANCHEZ PEREZ                       HC 6 BOX 67557                                                                                                  AGUADILLA           PR           00603
   674784 JAMAL JOUSEF SHAYEB                         COND PLAZA SUCHVILLE    1075 CARR 2 APT 130                                                                     BAYAMON             PR           00959‐7278
   235021 JAMAL NUMAR SALEH                           REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674785 JAMAL YOUSEF SHABYEB                        COND PLAZA SUCHVILLE    1075 CARR 2 APT 130                                                                     BAYAMON             PR           00959‐7278
          JAMALIE E HERNANDEZ DE LA
   235022 CRUZ                                        REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674786 JAMALO AUTO CORP                            PO BOX 4960                                                                                                     CAGUAS              PR           00726
   674788 JAMALU RENTAL                               RR 1 BOX 17114                                                                                                  TOA ALTA            PR           00953
          JAMALU RENTAL DBA JAVIER
   674789 RIVERA SEVILLA                              RR 01 BOX 17114                                                                                                 TOA ALTA            PR           00953

   235024 JAMALU RENTAL INC                           7MA SECC LEVITTOWN      HS 33 AVE GREGORIO LEDESMA                                                              TOA BAJA            PR           00949
   674790 JAMAR SANTOS                                P O BOX 1379                                                                                                    GURABO              PR           00778
   235025 JAMARIE MERCADO TORRES                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235026 JAMARIES BENITEZ NEGRON                     REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235027 JAMARIS QUINONES GINORIO                    REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JAME AIR CONDITIONING ENT
   674792 INC                                         SUITE 1134              PO BOX 4956                                                                             CAGUAS              PR           00726

   674793 JAMEEL O MONTALVO RIVERA                    PO BOX 1699                                                                                                     SAN GERMAN          PR           00683
   235029 JAMELE MASON                                REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674794 JAMELET FUENTES DE JESUS                    MONTE BRISAS            E 26 CALLE 1093                                                                         FAJARDO             PR           00738
   674795 JAMES & STREAM INC                          PMB 22 BOX 819                                                                                                  LARES               PR           00669
   235030 JAMES A CARRELL ANDERSON                    REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674796 JAMES A HAWKINS                             URB VALENCIA            536 CALLE ALBACETE                                                                      SAN JUAN            PR           00923
   235031 JAMES A MASSC PEREZ                         REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235032 JAMES A PADDOCK                             REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235033 JAMES A SLAY                                REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235034 JAMES A. MASSA PEREZ                        REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674798 JAMES A. SCHMITZ RIVERA                     URB. LAGOS DE PLATA     O‐12A CALLE 13                                                                          TOA BAJA            PR           00949
   674799 JAMES ABREU HILARIO                         PO BOX 240                                                                                                      SANTA ISABEL        PR           00757
   235035 JAMES ALEJANDRO VAZQUEZ                     REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674800 JAMES ALMODOVAR                             PO BOX 484                                                                                                      SABANA GRANDE       PR           00637
   674801 JAMES BALMAIN                               P O BOX 47                                                                                                      SALIDA              CA           95368
   674802 JAMES BENNET                                APART 15C               225 ADAMS ST                                                                            BROOKLYN            NY           11201
   235037 JAMES C CANCEL FREIRE                       REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235038 JAMES C DALMIDA                             REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674803 JAMES C HUTCHINSON                          17 D NIMITZ DRIVE                                                                                               CEIBA               PR           00735
   674804 JAMES CAMACHO SANTIAGO                      PO BOX 1444                                                                                                     MOCA                PR           00676
   235039 JAMES CARMONA QUINONES                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      URB PLA 3 CALLE RAMON
   674805 JAMES CARO SOLANO                           SANTINI                                                                                                         CAGUAS              PR           00725
   235040 JAMES CASANAS NAVARRO                       REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   674806 JAMES CRUZ MATIAS                           URB STA MARIA           J 10 CALLE MAIN                                                                         TOA BAJA            PR           00949
   235041 JAMES D ACKERMAN CARTER                     REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235042 JAMES D ECKERT DIAZ                         REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  235043 JAMES D KLAU                                 REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  235044 JAMES D PATTON                               REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   674807 JAMES D STEWART SCHUTTMAN                   612 CALLE HOARE APT 101                                                                                            SAN JUAN            PR         00907
   674808 JAMES DENNIS WILLIAMS                       PO BOX 358                                                                                                         BOISE               ID         83701
   235046 JAMES DOYLE                                 REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235047 JAMES E BUNTIN RIVERA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674809 JAMES E DANIELS SAUL                        P O BOX 3471                                                                                                       CAROLINA            PR         00984
   235048 JAMES E STEELE TORRES                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674810 JAMES E TIERNEY                             P O BOX 9020192                                                                                                    SAN JUAN            PR         00902
   674811 JAMES F CHILES                              USCG HOUSING P 7            500 CARR 177 SUITE 88                                                                  BAYAMON             PR         00959
   235050 JAMES FELICIANO NAZARIO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674812 JAMES FOO SUAREZ                            PO BOX 272                                                                                                         SANTA ISABEL        PR         00757
   235052 JAMES G ACOSTA RAMOS                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674813 JAMES G CANCEL VELEZ                        HC 03 BOX 17364                                                                                                    LAJAS               PR         00667
   674814 JAMES GALASSO DURINSKI                      P O BOX 444                                                                                                        CULEBRA             PR         00775
   235053 JAMES GATES GRACE                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235055 JAMES GRATTON                               REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235056 JAMES GRETTEON BROWICH                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235061 JAMES HUBERT POTTS                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674816 JAMES J LLORENS COLE                        URB EXT CAMPO ALEGRE        F 6 CALLE 16                                                                           BAYAMON             PR         00956

   674817 JAMES J SALELLAS RODRIGUEZ                  URB TINTILLO GARDENS        E 15 CALLE 8                                                                           GUAYNABO            PR         00966
   235063 JAMES J SANTOS DIAZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235065 JAMES JONSON                                REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235066 JAMES JULIAN BOARMAN                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674819 JAMES K GREEN TORRES                        P O BOX 1899                                                                                                       CAGUAS              PR         00726
          JAMES KEECH Y SONIA VILMA
   235067 HERNANDEZ                                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235068 JAMES KRANTZ                                REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674820 JAMES L RIVERA VELAZQUEZ                    HC 1 BOX 6135                                                                                                      ARROYO              PR         00714
   235069 JAMES LILLIE MUNOZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674821 JAMES LOPEZ GARCIA                          RR 2 BOX 7086               BO MONTE BELLO                                                                         MANATI              PR         00674
   674822 JAMES LUGO MEDINA & CO                      P O BOX 9024275                                                                                                    SAN JUAN            PR         00902‐4275
   235070 JAMES LYNCH                                 REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674823 JAMES M KAPLAN ZORN                         PO BOX 452                                                                                                         OAKTON              VA         22124
   235072 JAMES M PEREZ JAMES                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674824 JAMES MALUGIN JIMENEZ                       PO BOX 23                                                                                                          QUEBRADILLAS        PR         00678
          JAMES MATTA/ JM COMPUTER
   235074 SOLUTIONS                                   URB ALTURAS DE RIO GRANDE   P 828 CALLE 15                                                                         RIO GRANDE          PR         00745
   674826 JAMES NARVAEZ CALDERON                      CALLE JOSE VALENTIN #2                                                                                             COROZAL             PR         00783
   235075 JAMES O FIGUEROA ROSADO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674828 JAMES O SMAUGH                              P O BOX 34172                                                                                                      FORT BUCHANAN       PR         00934
   674829 JAMES OSORIO BERRIOS                        JARDINES DE RIO GRANDE      AV 238 CALLE 29                                                                        RIO GRANDE          PR         00745
   674830 JAMES P REID                                2 CLIFF ROAD                                                                                                       AGUADILLA           PR         00603
          JAMES PHILLIP JONES (SEA
   674831 ISLAND INC)                                 P O BOX 786                                                                                                        SANTA ISABEL        PR         00757

   674832 JAMES PLAZA RIVERA                          VILLAS DE ISLA VERDE        NO 8 AVE LAGUNA BUZON 126                                                              CAROLINA            PR         00979
                                                      ROOSEVELT ROAD NAVAL
   674833 JAMES R BURGESS                             STATION                     39 B AMERICAN CIRCLE                                                                   CEIBA               PR         00735
   674834 JAMES R CLARK                               131 SUMAC STREET                                                                                                   PHILADELPHIA        PA         19128
   674835 JAMES R CRESS                               ROOSEVELT ROADS             PO BOX 420287                                                                          CEIBA               PR         00742



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  674836 JAMES R LYNCH                                PO BOX 111                                                                                                          CULEBRA              PR           00775

   674837 JAMES R MC CURDY BRUGUERAS MANSIONES REALES                               C‐9 ISABEL LA CATOLICA                                                                GUAYNABO             PR           00969

   674838 JAMES RAMIREZ MERCADO                       SOLAR 58 B COM PEPITA LOPEZ                                                                                         HUMACAO              PR           00791
   235078 JAMES REEVES RIVERA                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   235079 JAMES REILLO FERNANDEZ                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   235080 JAMES RESTO DE LEON                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   235082 JAMES REYES VELAZQUEZ                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   674839 JAMES RIOS AYALA                            2142 AVE ARENALES                                                                                                   VEGA BAJA            PR           00693
          JAMES RIVER INSURANCE
   235084 COMPANY                                     6641 WEST BROAD STREET        SUITE 300                                                                             RICHMOND             VA           23230
   235088 JAMES RIVERA VAZQUEZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   674840 JAMES RIVERA VELAZQUEZ                      HC 1 BOX 6135                                                                                                       ARROYO               PR           00714
   235089 JAMES ROBERT KARELS                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   235090 JAMES RODRIGUEZ CHRISTENSEN REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   235091 JAMES ROHAM                 REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   674842 JAMES ROJAS GORDON          URB LA MERCED                                 523 CALLE EDDIE GRACIA                                                                SAN JUAN             PR           00918

   674843 JAMES RUSSELL LANDERS                       VILLA DEL CARMEN D‐11 CALLE 1                                                                                       PONCE                PR           00716‐0000
   674844 JAMES S MEDINA                              PO BOX 727                                                                                                          SALINAS              PR           00751
   674845 JAMES SANCHEZ DIAZ                          URB VILLA MARIA               F 2 CALLE 5                                                                           CAGUAS               PR           00725
   674848 JAMES SMITH                                 PO BOX 1750                                                                                                         MAYAGUEZ             PR           00681
   674849 JAMES SORENSEN                              229 THU AVE                                                                                                         SAN FRANCISCO        CA           94116
   235096 JAMES SPENCER                               REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   674851 JAMES STANOWISKI                            COND SANTA PAULA              APT 308 B                                                                             GUAYNABO             PR           00969
   674852 JAMES T SEGINAK                             FORT BUCHANAN                 PO BOX 34563                                                                          SAN JUAN             PR           00934
   674853 JAMES THORDSEN INC.                         PO BOX 362733                                                                                                       SAN JUAN             PR           00936
   235099 JAMES TORRES GONZALEZ                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   235100 JAMES TORRES LOPEZ                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   674854 JAMES TORRES MALDONADO                      BONNEVILLE TOWNHOUSE          63 REY MELCHOR                                                                        CAGUAS               PR           00727
   235101 JAMES TORRES NEGRON                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   674855 JAMES VELAZCO DI BELLA                      PO BOX 41252                                                                                                        SAN JUAN             PR           00940‐1252
   235102 JAMES VELEZ MERCADO                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   674856 JAMES W KETTERING PANTOJAS VILLA PRADES                                   813 CALLE LUIS R MIRANDA                                                              SAN JUAN             PR           00924
   235103 JAMES W NETTERWALD         REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
                                     72 RIVER PARK NEEDHAM
   674857 JAMES W. EVANS             HEIGHTS                                                                                                                              MASSACHUSETTS        MA           02194‐2631
   235104 JAMES Y RIVERA MELENDEZ    REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   674859 JAMIE APONTE SALVA         VILLA DE NAVARRA EDIF 27                       APARTAMENTO C                                                                         BAYAMON              PR           00956
   674860 JAMIE J MORALES BONILLA    URB REPARTO ROBLES                             A 61 CALLE TASPEN                                                                     AIBONITO             PR           00705
   235107 JAMIE LEE REYES LEON       REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   235108 JAMIE M BARLUCEA RODRIGUEZ                  REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   235109 JAMIE M. CASTRO MARTELL                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   235110 JAMIE MALDONADO DIAZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   674862 JAMIE MORALES SANTIAGO                      URB COLINAS DE SAN MARTIN     D 2 CALLE 4                                                                           JUANA DIAZ           PR           00795
   674863 JAMIE RIVERA MARTINEZ                       HC 01 BOX 1041                                                                                                      BOQUERON             PR           00622
   235111 JAMIE SANCHEZ MORENO                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   235112 JAMIE VEGA FLORES                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   235114 JAMIE ZIGERELLI                             REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED



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  235115 JAMIEL L RUIZ RUIZ                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   674864 JAMIEL MIRANDA MATOS                         COND MONTE MAYOR           44 C/ JUAN C BORBON APTO 657                                                           GUAYNABO            PR         00969‐5380
   235117 JAMIEL SANTIAGO MARTINEZ                     REDACTED                   REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674865 JAMIGLOUMAR                                  REPTO.ESPERANZA C‐13 A 5                                                                                          YAUCO               PR         00698
   674866 JAMIL A AHMAD NABLSI                         PO BOX 83                                                                                                         ADJUNTAS            PR         00601
          JAMIL A RODRIGUEZ Y JOAELLYN
   235119 TORRES                                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235120 JAMIL A. ESCORIAZA VELEZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   674867 JAMIL ABOU ELHOSSEN DUARTE                   232 ELEONOR ROOSEVELT                                                                                             SAN JUAN            PR         00907
   235123 JAMIL JURADO SUSTACHE                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674868 JAMIL LABOY VELEZ                            URB SANTA MARIA            C 19 CALLE 3                                                                           TOA BAJA            PR         00951
   235124 JAMIL M TORRES APONTE                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674869 JAMIL PRATTS REY                             RR 2 BOX 6281                                                                                                     MANATI              PR         00674
   235126 JAMIL R GUTIERREZ SOTO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235127 JAMILA M BRUNO NIEVES                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235128 JAMILA M SMILEY                              REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235129 JAMILE CRUZ SANCHEZ                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235130 JAMILE RIVERA SANTIAGO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235132 JAMILET RIVERA GONZALEZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674871 JAMILETH VAZQUEZ GARCIA                      C HORTENSIA PARC 93B       BO MARCIA                                                                              TOA BAJA            PR         00949
          JAMILETTE GONZALEZ
   674872 ALMODOVAR                                    URB SAN JOSE               1025 ALLE ELISEO F                                                                     MAYAGUEZ            PR         00680
          JAMILETTE MARIE SEGARRA
   674873 VALPAIS                                      1 CALLE BERTOLY PISO 2                                                                                            PONCE               PR         00730
   235134 JAMILETTE TORRES TORRES                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235135 JAMILKA NAZARIO SOTO                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674874 JAMINETT RIVERA VIDAL                        URB FLAMBOYANES            1724 CALLE LIMA                                                                        PONCE               PR         00716
   674875 JAMIR L COLON PEREZ                          PO BOX 6723                                                                                                       COAMO               PR         00726‐6723
  1420095 JAMIS DUARTE, KEMEL F.                       JORGE GORDON MENÉNDEZ      PO BOX 193964                                                                          SAN JUAN            PR         00919‐3964
   235138 JAMMIEBEL ORTIZ VIUST                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235139 JAMMILYS BELTRAN JIMENEZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674877 JAMMY B SANTANA DE JESUS                     BONNEVILLE VALLEY          2 SAGRADA FAMILIA                                                                      CAGUAS              PR         00725
          JAMNADAS MD , PRADIPKUMAR
   235140 P                                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JAMS PRODUCTION MUSIC
   235141 SERVICES                                     URB VILLA CRISTINA         B 7 CALLE 1                                                                            COAMO               PR         00769
   235142 JAMYL O NEGRON GREEN                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674878 JAMYLAH ESCOBAR GARCIA                       URB LA QUINTA              H 14 CALLE 4                                                                           YAUCO               PR         00698‐4112
   235144 JAN ALVIRA PEREZ                             REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235145 JAN BENEDIKT                                 REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235146 JAN C BATISTA PEREZ                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235147 JAN C GARCIA ROSA                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JAN C JOSE RODRIGUEZ
   235148 CARTAGENA                                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   674879 JAN C MARQUEZ GERENA                         HC 03 BOX 5556                                                                                                    HUMACAO             PR         00791
   235149 JAN C MARRERO VAZQUEZ                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235150 JAN C MARTELL MENDEZ                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235151 JAN C MEDINA RIVERA                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235152 JAN C RIVERA ARROYO                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235153 JAN C RODRIGUEZ                              REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235154 JAN C SANTIAGO RIVERA                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  235155 JAN C TORRELLAS MORENO                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  235156 JAN C VICENTE VEGA                           REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   674880 JAN CARLO CANDELARIA SOTO                   URB TIERRA BERDECIA            B I CALLE BENITEZ                                                                 GUAYNABO            PR         00969
   235157 JAN CARLOS BONILLA SILVA                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235158 JAN CARLOS COLLAZO COLON                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235159 JAN CARLOS ORTIZ ROSARIO                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   235160 JAN CARLOS SUAREZ RODRIGUEZ REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   674881 JAN D' ESOPO                204 CALLE NORZAGARAY                                                                                                             SAN JUAN            PR         00901
   235161 JAN D ESTRADA RUIZ          REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235162 JAN DELIS RAMOS DIAZ        REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235163 JAN E IRIZARRY RODRIGUEZ    REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JAN EDUARDO COLON
   235164 RODRIGUEZ                   REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235165 JAN F MANGUAL MANGUAL       REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235166 JAN G GARCIA AGOSTO         REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235167 JAN H TORRES CRESPO         REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   235168 JAN IMEL CARABALLO MENDEZ REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   674883 JAN J DOBROWOLSKI PLAZA       COND TORRES DEL PARQUE                       TORRE SUR APT 1005                                                                BAYAMON             PR         00956
   674884 JAN J RODRIGUEZ GARCIA        URB ALGARROBOS                               G K 20                                                                            GUAYAMA             PR         00784
          JAN J TOLENTINO /DANNA I CRUZ
   235169 MARTINEZ                      REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235170 JAN L MARTINEZ DELGADO        REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235171 JAN L SANTOS DELIZ            REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235172 JAN LOUIS NIEVES SANCHEZ      REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235173 JAN LOUIS PECCE ROBINSON      REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235175 JAN M AVILES MORALES          REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235176 JAN M FULLER GARCIA           REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235178 JAN M QUINONES POMALES        REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235179 JAN M RAMIREZ ROMERO          REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   674887 JAN M RIVERA CARABALLO        URB 2DO EXT SANTA ELENA                      A 12 CALLE 1                                                                      GUAYANILLA          PR         00656

   674888 JAN MARIE CRUZ CARRASQUILLO COLINAS DEL YUNQUE                             HI 34 CALLE 22                                                                    RIO GRANDE          PR         00745
   235180 JAN MARIE RIVERA REYES      REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   235181 JAN MARIE RODRIGUEZ SANCHEZ REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235182 JAN MARTINEZ HERNANDEZ      REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235183 JAN MICHAEL ARMIJO RIVERA   REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235185 JAN P DE JESUS RIVERA       REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   674892 JAN P MODESTI TORRES        PARK GARDENS                                   D 52 MARACAIBO                                                                    SAN JUAN            PR         00926
   235186 JAN P PEREZ ORTIZ           REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JAN PABLO HERNANDEZ
   235187 MARCANO                     REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   235188 JAN PAUL CORREA CANDELARIO REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235189 JAN PAUL GUEVARA           REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235190 JAN PIERRE ZEGARRA SILVA   REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   235191 JAN PRO OF PUERTO RICO INC                  289 T T PINERO AVE SUITE 200                                                                                     SAN JUAN            PR         00927
   235192 JAN R ALEQUIN ORTIZ                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   235193 JAN R MARRERO LLOPIZ                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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  674893 JAN RANPLE PUBLISHERS LTD                    P O BOX 686                                                                                                   KINGTON 6                                       JAMAICA
  235194 JAN ROBERT GABLE                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
  235195 JAN TRINIDAD VELEZ                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      COND PRUDENCIO RIVERA APT
   674894 JANAIRA ANDUJAR RAMIREZ                     603                         VILLA PRADES                                                                      SAN JUAN             PR           00926

   235196 JANATHAN RAMOS RODRIGUEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   674895 JANAY BLENMAN                               1283 S GATE RD APT 1                                                                                          SAN JUAN             PR           00934
   674896 JANCARLA RIVERA RIVERA                      BO TORO NEGRO INT           CARR 149 K 25 H6                                                                  CIALES               PR           00638

   235197 JANCARLO RODRIGUEZ GOMEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JANCARLOS CONCEPCION
   235198 VARELA                                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   235199 JANCARLOS SOTO FERNANDEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235200 Jancel M Melendez Morales                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235201 JANCEL SANTIAGO CRUZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235204 JANCIS MARTINEZ URENA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235205 JANCY DE JESUS LOPEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   674898 JANCY MOLINA RODRIGUEZ                      P O BOX 540                                                                                                   BARCELONETA          PR           00617
   674899 JANCY N ACOSTA ZAMBRANA                     P O BOX 520                                                                                                   JUANA DIAZ           PR           00795
   235206 JANCY N. ACOSTA ZAMBRANA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235207 JANCY OCASIO CAQUIAS                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235208 JANDALIZA PEREZ ROSA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   674900 JANDARA CORREA RAMOS                        BO SANTO DOMINGO            PLAYA DE PONCE                                                                    PONCE                PR           00734
   674901 JANE ALCOVER                                PO BOX 223                                                                                                    ADJUNTAS             PR           00601
   674902 JANE BECKER WHITAKER                        PO BOX 9023914                                                                                                SAN JUAN             PR           00902‐3914
   674905 JANE DOMENECH MILLER                        BAIROA PARK                 2 H LI JOSE REGUERO                                                               CAGUAS               PR           00727
   235210 JANE E VELEZ ROSADO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   674906 JANE FARIES NYE            PMB 375 SUITE 1 425 CARR 693                                                                                                   DORADO               PR           00646
   674907 JANE FERMAINT MERCADO      BO HIGUILLAR                                 PAC 120 CALLE 5                                                                   DORADO               PR           00646
          JANE HERNANDEZ AND/OR JUDY
   235211 HERNANDEZ                  REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235212 JANE N COLON VAZQUEZ       REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   674910 JANE P BURGOS MARTINEZ     PO BOX 3203                                                                                                                    JUNCOS               PR           00777

   674911 JANE RODRIGUEZ CARTAGENA                    COOP LOS ROBLES             EDIF B APT 504                                                                    SAN JUAN             PR           00929
   235213 JANE RODRIGUEZ ORENGO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   674912 JANE S DIAZ                                 URB ALTAMESA                1400 SAN LUCAS                                                                    SAN JUAN             PR           00921
   235214 JANE SANTOS GUZMAN                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JANE STERN COMMUNITY
   674913 LIBRARY                                     PO BOX 609                                                                                                    DORADO               PR           00646
   235215 JANEFIX DIAZ RAMOS                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   674914 JANEIRA FIGUEROA CEPEDA                     MANSIONES DE CAROLINA       GG 24 CALLE PANDORA                                                               CAROLINA             PR           00987
   674915 JANEIRA QUINTANA LOPEZ                      HC 05 BOX 10316                                                                                               MOCA                 PR           00676

   235218 JANEL I ALMODOVAR CAMACHO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   674916 JANEL RAMIREZ ARCE                          BO BUCARONES                CARR 861 KM 4 6                                                                   TOA ALTA             PR           00953
   674917 JANELI MELENDEZ ESTRADA                     PO BOX 715                                                                                                    VIEQUES              PR           00765
          JANELIS MALDONADO
   235220 MELENDEZ                                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235221 JANELIZ JIMENEZ CORTES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  235222 JANELIZ RODRIGUEZ DISLA                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  235223 JANELIZ RUIZ MERCADO                         REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  674918 JANELIZ SANCHEZ RIVERA                       URB HERMANOS SANTIAGO     41 CALLE 1                                                                           JUANA DIAZ        PR         00795
         JANELLA RODRIGUEZ
  235225 HERNANDEZ                                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  235226 JANELLE FALCON VERDEJO                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  235228 JANELLE M. BONILLA ORTIZ                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  235229 JANELLE RIVERA MATOS                         REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  235230 JANELLIE RIVERA ROSARIO                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  235231 JANELLY MURIEL SANOGUET                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  674920 JANELLY RODRIGUEZ BERNIER                    URB LOS ALGARROBOS        B 6 CALLE A                                                                          GUAYAMA           PR         00784
  235232 JANELY M RIVERA ORTIZ                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  235233 JANELY Y SANABRIA ROMAN                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  235234 JANELYS M COTTO MANGUAL                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  674921 JANER MALDONADO REYES                        HC 01 BOX 5856                                                                                                 GUAYNABO          PR         00971

   235239 JANER MARTINEZ MD, WALTER                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   674922 JANER RAMIREZ                               P 0 BOX 3203                                                                                                   BAYAMON           PR         00951
   674923 JANER RAMIREZ INC                           PO BOX 3203                                                                                                    BAYAMON           PR         00958‐0203
   235245 JANER RIVERA ZAYAS                          REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235250 JANERI RODRIGUEZ SERRANO                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235251 JANERIZ SANTIAGO RIVERA                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   674924 JANERYS DONES CUEVAS                        PO BOX 1164                                                                                                    JUNCOS            PR         00777

   674925 JANES BETTY CALDERO RAMOS                   HC 71 BOX 2951                                                                                                 NARANJITO         PR         00719
   235253 JANESSA BAEZ CRESPO                         REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235254 JANESSA E ROMERO SANTANA                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   674927 JANET ACEVEDO CASTRO                        HC 3 BOX 13484                                                                                                 YAUCO             PR         00698‐9614
   235255 JANET ALAGO PÉREZ                           REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   674929 JANET ALAMO REYES                           URB JOSE MERCADO          133 A AVE KENNEDY FINAL                                                              CAGUAS            PR         00725
   674930 JANET ALICEA GALARZA                        HC 2 BOX 10538                                                                                                 YAUCO             PR         00698
   674931 JANET ALICEA ORTEGA                         PO BOX 649                                                                                                     COMERIO           PR         00782
   674932 JANET ALVAREZ CRUZ                          BARRIADA NUEVA            A 61                                                                                 UTUADO            PR         00641
   674934 JANET ALVAREZ GONZALEZ                      610 CALLE BELAVAL APT 2                                                                                        SAN JUAN          PR         00909
   235256 JANET ALVAREZ SOTO                          REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   674935 JANET APONTE GARCIA                         PO BOX 655                                                                                                     CABO ROJO         PR         00623
   674936 JANET APONTE ORELLANA                       HC 645 BOX 8141                                                                                                TRUJILLO ALTO     PR         00976
   235257 JANET ARROYO SAEZ                           REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   674938 JANET BAEZ LOPEZ                            VALLE TOLIMA              A 18 CALLE RICKY SEDA                                                                CAGUAS            PR         00725
   235258 JANET BAEZ RIVERA                           REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   674940 JANET BENITEZ BURGOS                        PARQUE LAS HACIENDAS      D 15 CALLE AUNANIO                                                                   CAGUAS            PR         00725
   674941 JANET BERRIOS PADUA                         PO BOX 538                                                                                                     VEGA ALTA         PR         00692
          JANET CACHO FINCH Y TROY
   235260 FINCH                                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   674942 JANET CARRASQUILLO AGUAYO                   URB ANTIGUA ENCANTADA     CB 23 VIA MALLORCA                                                                   TRUJILLO ALTO     PR         00985
          JANET CARRASQUILLO
   235261 MELENDEZ                                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   674943 JANET CARTAGENA RODRIGUEZ                   CALLE CENTRAL             709 APT 3                                                                            SAN JUAN          PR         00907
   235262 JANET CASILLAS ROSADO                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235263 JANET CASTEJON QUINONES                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235264 JANET CENTENO SOTO                          REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  674945 JANET COLLAZO PEREZ                          HC 4 BOX 15529                                                                                                   SAN SEBASTIAN      PR       00685
  235265 JANET COLLAZO VARGAS                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  235266 JANET COLON CUEVAS                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  674946 JANET COLON DIAZ                             URB RUSSE                    G 32 CALLE LOS LIRIOS                                                               MOROVIS            PR       00687
  674947 JANET COLON FUENTES                          HC 01 BOX 7035                                                                                                   VILLALBA           PR       00766
  674948 JANET COLON LUNA                             URB LA LULA                  G 7 CALLE 5                                                                         PONCE              PR       00730
  235267 JANET COLON RAMOS                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  235268 JANET CORRETJER VALENTIN                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  674949 JANET CORTES DIAZ                            P O BOX 9                                                                                                        VEGA BAJA          PR       00694
  235269 JANET CORTES VAZQUEZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  235270 JANET CRESPI RAMIREZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  235271 JANET CRUZ BERRIOS                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  235272 JANET CRUZ LORENZO                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  674951 JANET CRUZ QUILES                            HATO TEJAS                   32 CALLE VOLCAN                                                                     BAYAMON            PR       00961
  674952 JANET CRUZ VAZQUEZ                           RES RAMOS ANTONINI           EDIF 88 APT 851                                                                     SAN JUAN           PR       00924
  674953 JANET CRUZ ZAYAS                             93 CALLE CENTRAL                                                                                                 COTO LAUREL        PR       00780
  674954 JANET DAVILA SANTANA                         PO BOX 265                                                                                                       FAJARDO            PR       00738265
  235273 JANET DE JESUS CARRILLO                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  235274 JANET DE JESUS ROJAS                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  674955 JANET DE JESUS SANCHEZ                       B 20 BDA SAMBRANA                                                                                                COAMO              PR       00769
  674956 JANET DE LA TORRE RIVERA                     URB SABANA GARDENS           17 1 AVE SOUTH MAIN                                                                 CAROLINA           PR       00983
  674957 JANET DE LEON ROJAS                          HC 63 BOX 4358                                                                                                   PATILLAS           PR       00723
  235275 JANET DELGADO MEDINA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  235276 JANET DIAZ ARROYO                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED

   674960 JANET DIAZ CANCEL                           232 AVE ELEONOR ROOSEVELT                                                                                        SAN JUAN           PR         00907
   674961 JANET DIAZ MOLINA                           RES JARD DE SELLES           EDIF 6 APT 605                                                                      SAN JUAN           PR         00924
   235278 JANET DIAZ PIZARRO                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235279 JANET DIAZ REYES                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235280 JANET E GOMEZ RIVERA                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   674964 JANET ESCOBAR GARCIA                        URB LUQUILLO MAR             CC108 CALLE D                                                                       LUQUILLO           PR         00773
   674966 JANET FALCON EMMANUELLI                     COLINAS METROPOLITANAS       F20 CALLE EL VIGIA                                                                  GUAYNABO           PR         00969
   674967 JANET FEBRE CASADO                          URB METROPOLIS               2‐ 8 CALLE 33                                                                       CAROLINA           PR         00987
   674968 JANET FELIX BRITO                           MINILLAS STATION             PO BOX 40768                                                                        SAN JUAN           PR         00940
   674969 JANET FIGUEROA                              38 CALLE CRISTO REY                                                                                              ISABELA            PR         00662
   674970 JANET FIGUEROA MERCADO                      COND PUERTA DEL SOL          75 CALLE JUNIN APT 411                                                              SAN JUAN           PR         00926
   235281 JANET GARCIA RODRIGUEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   674972 JANET GOMEZ                                 RIO GRANDE STATE             N 94 CALLE 19                                                                       RIO GRANDE         PR         00745
   674973 JANET GONZALEZ                              RES MATEY 1                  EDF B APT 50                                                                        JAYUYA             PR         00664
   235282 JANET GONZALEZ CRUZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   674974 JANET GONZALEZ RIOS                         B 6 URB COLINAS DE HATILLO                                                                                       HATILLO            PR         00659
   674975 JANET GONZALEZ RIVERA                       URB UNIVERSITY GARDENS       E 2 CALLE 1                                                                         ARECIBO            PR         00612
   674976 JANET GUTIERREZ                             PO BOX 21482                                                                                                     SAN JUAN           PR         00931
   674978 JANET GUZMAN VIDOT                          HC 1 BOX 2723                                                                                                    SABANA HOYOS       PR         00688
   674979 JANET HERNANDEZ DELGADO                     URB VILLA ANDALUCIA          25 CALLE BAILEN                                                                     SAN JUAN           PR         00926
   674980 JANET HERNANDEZ TORRES                      VENUS GARDENS                1676 CALLE HERMOSILLO                                                               SAN JUAN           PR         00926
   674981 JANET HUERTA VAZQUEZ                        PO BOX 1980                                                                                                      LOIZA              PR         00772
   235283 JANET ILDEFONSO ROCHE                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   674982 JANET IRIZARRY                              BOX 1088                                                                                                         AGUADA             PR         00602
   235284 JANET IZQUIERDO MUNOZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235287 JANET L CUMBA BERRIOS                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   674983 JANET LABOY RIVAS                           P O BOX 2017                 PMB 573                                                                             LAS PIEDRAS        PR         00771
   674985 JANET LOPEZ JAVIER                          P O BOX 25261                                                                                                    SAN JUAN           PR         00928 5261



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  674986 JANET LOPEZ PAGAN                            BO CALLEJONES                 COL 4222                                                                            LARES                PR         00669
  235288 JANET LOPEZ PEREZ                            REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  235290 JANET M CONDE VALLE                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  674987 JANET M LEMOND                               33 LAWRENCE AVE                                                                                                   MILFORD              CT         06460

   235291 JANET M MALARET SEPULVEDA                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   674988 JANET M MARTINEZ MORALES                    HC 02 BOX 5696                                                                                                    MOROVIS              PR         00687
   235292 JANET M MARTINEZ SANTANA                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   235293 JANET M OLMO MERCADO                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   235294 JANET M ORTIZ FIGUEROA                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   674989 JANET M SALICHS SEMIDEY                     C4F 6 URB SAN MARTIN                                                                                              JUANA DIAZ           PR         00795
   235295 JANET M TOMASSINI CARLO                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   235296 JANET M. SANTANA SEDA                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   674991 JANET MAISONET                              BO CANTERA 132.153                                                                                                MANATI               PR         00674
   235297 JANET MAISONET TORRES                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   674992 JANET MALAVE LEON                           HC 44 BOX 12606                                                                                                   CAYEY                PR         00736

   235298 JANET MALDONADO REVERON                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   674993 JANET MANGUAL MENDEZ                        BO MARIAS KM 9‐1                                                                                                  MOCA                 PR         00677
          JANET MARIE SEPULVEDA
   235299 MORALES                                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   235300 JANET MARTINEZ                              REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   235301 JANET MARTINEZ ADORNO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   235302 JANET MARTINEZ GONZALEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   674994 JANET MARTINEZ MARTINEZ                     P O BOX 3184                                                                                                      GUAYNABO             PR         00970
   235303 JANET MEDINA CRUZ                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   674995 JANET MELENDEZ MEDINA                       SANTA JUANA III               8W CALLE 9                                                                          CAGUAS               PR         00725
   674996 JANET MENDEZ SOTO                           HC 4 BOX 426660                                                                                                   MAYAGUEZ             PR         00680
   674997 JANET MENDOZA PAGAN                         BOX 664                                                                                                           JUNCOS               PR         00777
   235304 JANET MERCADO QUINONES                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   235305 JANET MILLAN ALDUEN                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   674999 JANET MIRANDA RODRIGUEZ                     BO QUEBRADA ARENAS            CARR 654 KM 2 4                                                                     VEGA BAJA            PR         00693
   675000 JANET MIRANDA VEGA                          P O BOX 1190                                                                                                      CIALES               PR         00638
   675001 JANET MOJICA GARCIA                         P O BOX 1976                                                                                                      VEGA BAJA            PR         00694

   675002 JANET MOJICA SALGADO                        BO GALATEO SECT VILLA JOSCO   187 CALLE 16                                                                        TOA ALTA             PR         00953
   675003 JANET MORALES BONILLA                       URB VISTA MAR                 M 6 CALLE LAS MARIAS                                                                CAROLINA             PR         00983
   235307 JANET MUNIZ PEREZ                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   235308 JANET NARVAEZ AGOSTO                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   675005 JANET NAZARIO APONTE                        LOS ALMENDROS                 EB 23 CALLE TILO                                                                    BAYAMON              PR         00961
   235309 JANET NEGRON PEDROZA                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   675006 JANET NEGRON SANCHEZ                        HC 02 BOX 46449                                                                                                   VEGA BAJA            PR         00693
   675007 JANET NIEVES                                TURABO GARDENS                CALLE F R 11 4                                                                      CAGUAS               PR         00725
   235310 JANET NIEVES BATISTA                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   235311 JANET NIEVES ROSARIO                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   675008 JANET NIEVES VAZQUEZ                        HC 59 BOX 6121                                                                                                    AGUADA               PR         00602
   235312 JANET NUNEZ GOMEZ                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   235313 JANET ORTIZ FELIANO                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   675013 JANET ORTIZ RODRIGUEZ                       PO BOX 181                                                                                                        YAUCO                PR         00698
   675014 JANET OYOLA SIERRA                          URB PARQUE LAS AMERICAS       25 CALLE C                                                                          GURABO               PR         00778
   235314 JANET P RIVARD                              REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   674926 JANET PADILLA CURET                         PO BOX 333                                                                                                        GUANICA              PR         00653
   675015 JANET PAGAN CORREA                          COND DE DIEGO 1               P 11 APTDO 1104                                                                     SAN JUAN             PR         00924



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  235315 JANET PAGAN ORTIZ                            REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  235316 JANET PAGAN ROSADO                           REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  675016 JANET PARRA MERCADO                          PO BOX 50009                                                                                                    TOA BAJA           PR         00950
  235317 JANET PARRADO DIAZ                           REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  675018 JANET PEREIRA BURGOS                         URB BUNKER                11 CALLE PANAMA                                                                       CAGUAS             PR         00725
  235318 JANET PEREZ DIAZ                             REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  235319 JANET PEREZ FELICIANO                        REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  675019 JANET PEREZ RODRIGUEZ                        HC 02 BOX 17366                                                                                                 RIO GRANDE         PR         00745‐9717
  235320 JANET PEREZ ROSADO                           REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  675022 JANET PEREZ VELAZQUEZ                        HC 01 BOX 7253                                                                                                  LAS PIEDRAS        PR         00771
  675023 JANET PRATTS ROSARIO                         161 BRISAS DEL CARIBE                                                                                           PONCE              PR         00728
  235321 JANET QUILES PINTO                           REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  675026 JANET RENTAS RIVERA                          LOIZA VALLEY              383 LAUREL                                                                            CANOVANAS          PR         00729
                                                                                BO CAMARONES CARR 836 KM 2
   675027 JANET REYES RODRIGUEZ                       SECT ALTOS DE CAMARONES   2                                                                                     GUAYNABO           PR         00971
   675028 JANET RIOS SEDA                             BDA ROSA                  315 CALLE SUAREZ                                                                      LUQUILLO           PR         00674
   235323 JANET RIVERA GONZALEZ                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   675029 JANET RIVERA ORTIZ                          HC 05 BOX 39143                                                                                                 SAN SEBASTIAN      PR         00685
   235324 JANET RIVERA RIVERA                         REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   675031 JANET RIVERA ROSADO                         P O BOX 70344             PMB 181                                                                               SAN JUAN           PR         00936‐8344
   235325 JANET RIVERA VAZQUEZ                        REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   675033 JANET ROBLES CORDOVA                        RR 2 BOX 6412                                                                                                   MANATI             PR         00674
   235326 JANET RODRIGUEZ ACOSTA                      REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235327 JANET RODRIGUEZ ALVAREZ                     REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235328 JANET RODRÍGUEZ CINTRÓN                     REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235329 JANET RODRIGUEZ COLON                       REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   675036 JANET RODRIGUEZ FELICIANO                   3110 COND TWIN TOWERS     93 CALLE ANIBAL                                                                       PONCE              PR         00717‐0906
   675034 JANET RODRIGUEZ FIGUEROA                    VETERANS PLAZA STATION    P O BOX 33120                                                                         SAN JUAN           PR         00933
   235330 JANET RODRIGUEZ GUZMAN                      REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   675037 JANET RODRIGUEZ MALDONADO P O BOX 195011                                                                                                                    SAN JUAN           PR         00919

   235331 JANET RODRIGUEZ MELENDEZ                    REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235332 JANET RODRIGUEZ PEðA                        REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   235337 JANET RODRIGUEZ PENALBERT                   REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   675038 JANET RODRIGUEZ RODRIGUEZ                   P O BOX 703                                                                                                     HATILLO            PR         00659
   235338 JANET RODRIGUEZ SOTO                        REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235341 JANET ROSA PEREZ                            REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235344 JANET ROSADO RIVERA                         REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235345 JANET ROSARIO GALLOZA                       REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   675042 JANET RUIZ RAMIREZ                          TERRAZAS DE GUAYNABO      M 9 LAS FLORES                                                                        GUAYNABO           PR         00969
   235346 JANET S. TORRES OTERO                       REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                                                URB SAN ALFONSO D 8 AVE
   675043 JANET SAEZ NEGRON                           PMB 161                   DEGETAU                                                                               CAGUAS             PR         00725
   235347 JANET SALDANA RAMOS                         REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235348 JANET SANCHEZ FIGUEROA                      REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235349 JANET SANCHEZ PEREZ                         REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   675044 JANET SANTANA DIAZ                          JOSE MERCADO B 139        CALLE KENNEDY FINAL                                                                   CAGUAS             PR         00725
   675045 JANET SANTANA DUBERRY                       RIVIERAS DE CUPEY         I 2 CALLE FLAMBOYAN                                                                   SAN JUAN           PR         00926
   675047 JANET SANTIAGO ARCE                         PO BOX 3459                                                                                                     AGUADILLA          PR         00605
   235350 JANET SANTIAGO BAEZ                         REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  235351 JANET SANTIAGO FELICIANO                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   675048 JANET SANTIAGO MALDONADO                    URB SOL Y MAR                 G 41 CALLE 5                                                                        JUANA DIAZ          PR         00795
   675049 JANET SANTIAGO OSORIO                       URB ALT DE SAN PEDRO          Q2 CALLE SAN PEDRO                                                                  FAJARDO             PR         00738
   675051 JANET SANTIAGO SOLER                        419 SECTOR LA PICA                                                                                                CAMUY               PR         00627
   675052 JANET SANTIAGO TORRES                       SECT LA VEGA                  22 CALLE 1                                                                          YAUCO               PR         00698
   675053 JANET SANTOS                                HC 43 BOX 11492                                                                                                   CAYEY               PR         00736‐9622
   675054 JANET SERRANO ZAVALA                        VILLA GRANADA                 922 CALLE ALCAZAR                                                                   SAN JUAN            PR         00923
   675055 JANET SOLTERO LUGO                          COND SKY TOWER II APT 15 D                                                                                        SAN JUAN            PR         00926
   675056 JANET SOTO DATIL                            BO CALINOZA CARR 626                                                                                              ARECIBO             PR         00612
   675057 JANET SOTO FELICIANO                        URB MAYAGUEZ GARDENS          E 3 APT 67                                                                          MAYAGUEZ            PR         00680
   235352 JANET SOTO HERNANDEZ                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235354 JANET STELLA HERNANDEZ                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235357 JANET T SANTANA FRASQUERI                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235358 JANET TOLEDO SOTO                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235361 JANET TORRES MARCIAL                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235362 JANET TORRES ORTIZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235363 JANET TORRES TORRES                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675060 JANET TROCHE VALLE                          SAN CARLOS                    SOLAR 115 B                                                                         MAYAGUEZ            PR         00680
   235364 JANET UBINAS                                REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235365 JANET URBINA SANTIAGO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   675063 JANET VALENTIN RODRIGUEZ                    URB BATISTA 12 CALLE MADRID                                                                                       CAGUAS              PR         00725
   235366 JANET VARGAS NUNEZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JANET VAZQUEZ / TASHIRA N
   235368 RODRIGUEZ                                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675067 JANET VELEZ ABADIA                          HC 1 BOX 4540                                                                                                     RINCON              PR         00677
   235369 JANET VELEZ MENDEZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675066 JANET VELEZ RIVERA                          19 CALLE CORCHADO                                                                                                 MANATI              PR         00674
   235370 JANET VELEZ RODRIGUEZ                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675068 JANET VIDRO BAEZ                            BO LA TORRES                  BOX 391                                                                             SABANA GRANDE       PR         00637
   675069 JANET VILLANUEVA                            PO BOX 52306                                                                                                      TOA BAJA            PR         00950
   235371 JANET VILLANUEVA SANCHEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235372 JANET VINALES PELLOT                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675071 JANET ZAVALA AGUEDA                         HC 4 BOX 30325                                                                                                    HATILLO             PR         00659
   675072 JANETH DE JESUS AREVALO                     501 AVE ROBERTO H TODD                                                                                            SAN JUAN            PR         00908
   235373 JANETH E SALADO VIGAY                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   235374 JANETH MALDONADO CASTRO                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235375 JANETT JIMENEZ VARGAS                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235376 JANETT LAUSELL CARRION                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675073 JANETT NEGRON MARTINEZ                      PO BOX 37‐0135                                                                                                    CAYEY               PR         00737‐0135
   235377 JANETT RODRIGUEZ                            REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      URB VILLA CAROLINA 30‐77
   675074 JANETTE ALICEA VARGAS                       CALLE‐87                                                                                                          CAROLINA            PR         00985
   235378 JANETTE ALVARADO RIVERA                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675075 JANETTE ANDUJAR PEREZ                       HC 04 BOX 11992                                                                                                   YAUCO               PR         00698‐9608
   235379 JANETTE B ROMAN MORALES                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235380 JANETTE BAEZ MUNIZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235381 JANETTE BULTRON CRUZ                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235382 JANETTE CABRERA RUPERTO                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   235383 JANETTE CAMACHO SANTIAGO                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  675078 JANETTE CARTAGENA                            VISTA ALEGRE          EDIF 3 APT 25                                                                        AGUAS BUENAS      PR           00703

   235385 JANETTE CHAPARRO GONZALEZ                   REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   675079 JANETTE COLLAZO SANCHEZ                     PO BOX 1209                                                                                                UTUADO            PR           00641
   675080 JANETTE COLON GONZALEZ                      BO COCO NUEVO         57 JOSE DE DIEGO                                                                     SALINAS           PR           00751
                                                                            2596 PASEO ARMINIO URB
   675081 JANETTE COLON MARTINEZ                      LEVITTOWN             LEVITTOWN                                                                            TOA BAJA          PR           00949
   235386 JANETTE CUBERO SUSTACHE                     REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   675082 JANETTE DAVILA FELIX                        EXT MONSERRATE        15 CALLE C                                                                           SALINAS           PR           00751
   235387 JANETTE DE JESUS SERRANO                    REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235388 JANETTE DIARZA MEDINA                       REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   675085 JANETTE DIAZ MOLINA                         HC 1 BOX 2449                                                                                              ARECIBO           PR           00612
   675086 JANETTE E LAI CARRASQUILLO                  P O BOX 403                                                                                                SAN LORENZO       PR           00754
   675087 JANETTE FEBO MENDEZ                         VILLA CAROLINA        20 44 CALLE 35                                                                       CAROLINA          PR           00985
   235389 JANETTE FUENTES ALAMO                       REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   675088 JANETTE GONZALEZ ALEJANDRO                  HC 05 BOX 52885                                                                                            CAGUAS            PR           00725‐9234
   675089 JANETTE GONZALEZ GARCIA                     HC 1 BOX 4129                                                                                              ISABEL            PR           00757
   675090 JANETTE GONZALEZ PEREZ                      RR 1 BOX 10831                                                                                             OROCOVIS          PR           00720
   235390 JANETTE GONZALEZ RIVERA                     REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          JANETTE GUARDARRAMA
   675091 CAMACHO                                     HC 02 BOX 12311                                                                                            ARECIBO           PR           00612
   675092 JANETTE GUTIERREZ RAMIREZ                   COCO BEACH            513 CALLE MARINA                                                                     RIO GRANDE        PR           00745
   235392 JANETTE HUGGINS RIVERA                      REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   675095 JANETTE I CAMBRELEN                         URB CAPARRA TERRACE   1571 CALLE 18 SW                                                                     SAN JUAN          PR           00921
   675096 JANETTE I VIRELLA ROSADO                    URB CAPARRA TERRACE   1623 CALLE 250                                                                       SAN JUAN          PR           00921
   675097 JANETTE JACQUEZ PEREZ                       PO BOX 21414                                                                                               SAN JUAN          PR           00928‐1414
   235393 JANETTE LABOY TIRU                          REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235394 JANETTE LOPEZ CAMUY                         REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   675100 JANETTE LOPEZ ROBLES                        P O BOX 1423                                                                                               COAMO             PR           00769
   675101 JANETTE LUGO ORTIZ                          PARQUE ECUESTRE       G 43 CALLE 6                                                                         CAROLINA          PR           00987

   675102 JANETTE M DE JESUS LANAUSSE URB LLANOS DE PROVIDENCIA             E 2 CALLE 3                                                                          SALINAS           PR           00751
   675103 JANETTE MALAVE RIVERA       3 CALLE BELLA VISTA                                                                                                        CAYEY             PR           00736‐3712

   235395 JANETTE MALDONADO SALDANA REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235398 JANETTE MARENGO CUEVAS    REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235399 JANETTE MARRERO LOPEZ     REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   675105 JANETTE MARTINEZ SERRANO  BO HATO VIEJO                           KM 3 HM 3                                                                            ARECIBO           PR           00612
          JANETTE MARTINEZ
   675106 SERRANO/VECINOS UNIDOS    CARR 10 INT 626 KM 5 3                                                                                                       ARECIBO           PR           00612
   675107 JANETTE MERCADO GOMEZ     URB SAN PEDRO                           K 5 CALLE SAN CRISTOBAL                                                              FAJARDO           PR           00738
          JANETTE MONTALVO
   675108 MONTALVO                  BO LA PICA HC09                         BOX 6015                                                                             SABANA GRANDE     PR           00637‐9631
   675109 JANETTE MORALES ORTIZ     BOX 8700                                                                                                                     YABUCOA           PR           00767
   235400 JANETTE OLAN TORRES       REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   675110 JANETTE ORENGO PUIG       VISTA VERDE                             EDF F 129                                                                            SAN JUAN          PR           00924
   235401 JANETTE ORTIZ BAEZ        REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235402 JANETTE ORTIZ DE JESUS    REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   675111 JANETTE ORTIZ RODRIGUEZ   URB EL TORITO                           B 28 CALLE 1                                                                         CAYEY             PR           00736‐4872
   675113 JANETTE PEREA LOPEZ       ALTS BORINQUEN GDNS                     NN14 CALLE TULIP                                                                     SAN JUAN          PR           00926
   235404 JANETTE PEREZ DIAZ        REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED




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                                                                               415 CALLE BARTOLOME LAS
   675114 JANETTE QUESTELL ROBLES                     BO OBRERO                CASAS                                                                                SAN JUAN             PR           00915
   235405 JANETTE QUETELL ROBLES                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   675115 JANETTE RAMOS BERNARD                       CARR 677 KM 91           SECTOR EL 9                                                                          VEGA BAJA            PR           00693
   675116 JANETTE RAMOS FORTIS                        BO GUARAGUAO             CARR 174 KM 10 9                                                                     BAYAMON              PR           00956
   675117 JANETTE RIVERA                              VALLE VERDE HOUSING      EDIF 3 APTO 52                                                                       ADJUNTAS             PR           00601
   675118 JANETTE RIVERA ARCE                         PO BOX 715                                                                                                    ADJUNTAS             PR           00601

   675119 JANETTE RIVERA CONCEPCION                   REPTO VALENCIA           H 9 CALLE AMAPOLA                                                                    BAYAMON              PR           00959
   675120 JANETTE RIVERA GREGORIO                     22 URB EL RETIRO                                                                                              HUMACAO              PR           00791‐4712
   235408 JANETTE RIVERA MARTINEZ                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   675122 JANETTE ROBLES GOMEZ                        PO BOX 1226                                                                                                   CANOVANAS            PR           00729
   675123 JANETTE RODRIGUEZ                           URB LAS LOMAS            S O 1662 CALLE 34                                                                    SAN JUAN             PR           00921

   235409 JANETTE RODRIGUEZ BELTRAN                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   235410 JANETTE RODRIGUEZ BURGOS                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235412 JANETTE RODRIGUEZ NATAL                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JANETTE ROMERO FEBO/SECR
   675125 TPI‐SALA CARO                               P O BOX 9953                                                                                                  SAN JUAN             PR           00908‐9953
   675126 JANETTE ROSADO SANTIAGO                     URB PARK GARDENS         X 10 CALLE JOSEMITO                                                                  SAN JUAN             PR           00920
   235414 JANETTE SANTIAGO RIVERA                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235415 JANETTE SERRANO MUNIZ                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   235416 JANETTE SIMONETTI FIGUEROA                  REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JANETTE SOLIVAN A/C JANETTE
   235417 RIVERA                                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   675128 JANETTE TIRADO GRAULAU                      PLAZA CAROLINA STATION   PO BOX 10023                                                                         CAROLINA             PR           00988

   235419 JANETTE TORRES MALDONADO                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235420 JANETTE TORRES SUAREZ                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235421 JANETTE VARGAS ORTEGA                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   675130 JANETTE VAZQUEZ CRUZ                        COND LA CEIBA            EDIF 100 APT 804                                                                     PONCE                PR           00731‐5833
   235422 JANETTE VELEZ ARROYO                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235423 JANETTE Z. RIVERA SANTIAGO                  REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235424 JANETTE ZAYAS RODRIGUEZ                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235425 JANI CLEAN SERVICE INC                      PO BOX 876                                                                                                    MAYAGUEZ             PR           00681‐0876
   235426 JANI CLEAN SERVICES INC                     PO BOX 876                                                                                                    MAYAGUEZ             PR           00681‐0876
  1256589 JANI CLEAN SERVICES INC.                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   675131 JANIA L VAZQUEZ SIERRA                      URB VILLA ROSA 2         C 11 CALLE D                                                                         GUAYAMA              PR           00784
   235427 JANIA RODRIGUEZ BATISTA                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   675132 JANIA SERRANO QUIRINDONGO                   BO BELGICA               79 CALLE GRAN VIA                                                                    PONCE                PR           00717‐5144
   235428 JANIA TORRES SEGARRA                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   235429 JANIABETH VEGA MALDONADO                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235430 JANIBETH SANTIAGO OYOLA                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   675133 JANICE A DEL HOYO MIRANDA                   JARD DE LA FUENTE        486 CALLE LAS MONJAS                                                                 TOA ALTA             PR           00953
   675134 JANICE A FERNANDEZ ALICEA                   MANSIONES DE CAROLINA    DD 13 CALLE PICACHO                                                                  CAROLINA             PR           00987
   675135 JANICE A RIVERA GONZALEZ                    A 17 BELLA VISTA                                                                                              UTUADO               PR           00641

   235431 JANICE ALVARADO BETANCOURT REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  675138 JANICE ALVARADO REYES                        HC 03 BOX 7407                                                                                                  GUAYNABO           PR         00970
  675139 JANICE AVILES VALLINES                       P O BOX 2615                                                                                                    VEGA BAJA          PR         006963
  235432 JANICE BABA RIVERA                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  235433 JANICE BATIZ RIVERA                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  235434 JANICE BRENES CATINCHI                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  235435 JANICE C ROLON MARRERO                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  235436 JANICE CABAN MENDEZ                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   675141 JANICE CALDERON RODRIGUEZ                   RR 2 BOX 4511                                                                                                   TOA ALTA           PR         00953
   235438 JANICE CAMACHO ROSA                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235439 JANICE CASTRODAD DUENO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235440 JANICE CEPEDA ORTIZ                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235441 JANICE COLON ALVARADO                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   675143 JANICE COLON SANCHEZ                        HC 1 BOX 4993                                                                                                   RIO GRANDE         PR         00677
   235442 JANICE CONDE IRIZARRY                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235443 JANICE COTTO COLON                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235444 JANICE CRUZ CRUZ                            REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   675145 JANICE CRUZ ESCALERA                        HC 01 BOX 7321                                                                                                  LOIZA              PR         00772
   235445 JANICE CRUZ HERNANDEZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235447 JANICE CRUZ PEREZ                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235448 JANICE CUADRADO                             REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235449 JANICE CUEVAS COLLAZO                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235450 JANICE D REYES BEJARANO                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      PMB 119 40208 CARR. 190 SUITE
   235452 JANICE DE JESUS DBA S.D.C.                  110                                                                                                             CAROLINA           PR         00983
   235454 JANICE DE JESUS GONZALEZ                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235456 JANICE DEL VALLE SANTANA                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235457 JANICE DIAZ CAVALLIERY                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235458 JANICE DIAZ MARTINEZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235459 JANICE DIAZ SANTIAGO                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   675150 JANICE E CASADO COLON                       REPTO MARQUES                 E 13 CALLE 7                                                                      ARECIBO            PR         00612
   235460 JANICE E FALCON VILLAFANE                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   675151 JANICE E PROCTOR CARTHY                     THE FOREST                    PO BOX 238                                                                        ANGUILLA           VI         00820
   675152 JANICE ELIAS RIVERA                         PO BOX 2390                                                                                                     SAN JUAN           PR         00919
   675153 JANICE FERRER BERRIOS                       URB SAN SOUCIE                N9 CALLE 1                                                                        BAYAMON            PR         00957
   235461 JANICE FIGUEROA DIAZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   675155 JANICE FRANQUI VARGAS                       BOX 212                                                                                                         CABO ROJO          PR         00623
   235462 JANICE FULLADOZA ALEQUIN                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235463 JANICE GARCIA BURGOS                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235464 JANICE GARCIA RIVERA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   675156 JANICE GARRASTAZU OLIVERAS                  URB LOS CAOBOS                1671 CALLE GUAYACAN                                                               PONCE              PR         00716‐6080
   675157 JANICE GONZALEZ SANCHEZ                     URB MONTECASINO               109 CALLE CAOBA                                                                   TOA ALTA           PR         00953‐3729
   235466 JANICE GUILIANI TORO                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   235467 JANICE HERNANDEZ MARTINEZ                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235468 JANICE I ALSINA SANCHEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235469 JANICE I CRISTANCHO                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   675158 JANICE I VELAZQUEZ                          URB BAIROA                    AN 3 CALLE 31                                                                     CAGUAS             PR         00726
   235470 JANICE IRIZARRY MORALES                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235472 JANICE J. JIMENEZ CRUZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235473 JANICE JUSTINIANO GARCIA                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   235474 JANICE L FALCON ROSADO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  675159 JANICE L GONZALEZ                            COND PARQUE JULIANA        EDIF 900 APT 902                                                                     CAROLINA          PR         00987
  675161 JANICE LEBRON VALENTIN                       HC 02 BOX 5239                                                                                                  GUAYAMA           PR         00936‐8376
  675162 JANICE LOPEZ COLON                           PO BOX 141                                                                                                      BARRANQUITAS      PR         00794
  675163 JANICE LOPEZ ORTIZ                           A 18 URB MONSERRATE                                                                                             SALINAS           PR         00751
  235475 JANICE LOPEZ RIVERA                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  235476 JANICE LORENZO CARRERO                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         JANICE LYMARIE SANTIAGO
  675164 VELAZQUEZ                                    VILLA PINARES              611 CALLE PASEO CONDADO                                                              VEGA BAJA         PR         00693‐5931
  235477 JANICE M AVILA                               REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  235478 JANICE M BENITEZ RIVERA                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   235479 JANICE M CARTAGENA BONILLA                  REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235480 JANICE M DE JESUS FUENTES                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235481 JANICE M DIAZ PEREZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235482 JANICE M FUENTES FLORES                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235483 JANICE M GARCIA ALVARADO                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235484 JANICE M GONZALEZ ROSA                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675167 JANICE M LEANDRY VARGAS                     103 CALLE VENUS                                                                                                 PONCE             PR         00730

   675168 JANICE M LOPEZ ALMODOVAR                    PO BOX 2835                                                                                                     GUAYAMA           PR         00784
   235485 JANICE M MAYMI CAMACHO                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675169 JANICE M MIRANDA REYES                      HC 02 BOX 19108                                                                                                 GURABO            PR         00778‐9627
   235486 JANICE M ORTIZ ESTRELLA                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235487 JANICE M ORTIZ ORTIZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235488 JANICE M ORTIZ VARGAS                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235489 JANICE M QUINONES                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235490 JANICE M RAMOS                              REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675171 JANICE M RIOS MARQUEZ                       URB ALTAMIRA               D 2 BOX 129                                                                          LARES             PR         00669
   675172 JANICE M ROJAS PEREZ                        203 PARQUE SAN ANTONIO I                                                                                        CAGUAS            PR         00725‐5907
   235491 JANICE M SANCHEZ REYES                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235492 JANICE M. RIVERA CARDONA                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235493 JANICE M. VALLEDOR                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235495 JANICE MARIE ORTIZ ORTIZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235496 JANICE MARRERO IRIZARRY                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675173 JANICE MARTINEZ BEZARES                     HC 20 BOX 21340                                                                                                 SAN LORENZO       PR         00754‐9606
   235497 JANICE MARTINEZ CASTILLO                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675174 JANICE MARTINEZ ORTIZ                       PARC MARQUEZ               14 CALLE HUCAR                                                                       MANATI            PR         00674
   235499 JANICE MATOS RAMOS                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235500 JANICE MEJIAS                               REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675176 JANICE MEJIAS AVILES                        HC 02 BOX 46450                                                                                                 VEGA BAJA         PR         00693
   675177 JANICE MELENDEZ REYES                       COLINAS DE FAIR VIEW       4P 21 CALLE 223                                                                      TRUJILLO ALTO     PR         00976
   675178 JANICE MIRANDA MIRANDA                      PO BOX 1749                                                                                                     CIALES            PR         00638
   675179 JANICE MOLINA HERRERA                       HC 2 BOX 15916                                                                                                  ARECIBO           PR         00612
   675180 JANICE MONTOYA REYES                        HC 01 BOX 8402                                                                                                  CANOVANAS         PR         00729
   235502 JANICE N LARA VILLANUEVA                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235503 JANICE N ORTIZ RIVERA                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235504 JANICE NARVAEZ SANCHEZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235505 JANICE NAVARRO DELANOY                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   235506 JANICE NEGRON ALMEDA                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JANICE NEGRON ALMEDA / DBA
   675182 VIVA EVENTOS                                PO BOX 51091                                                                                                    TOA BAJA          PR         00950‐1091
          JANICE NICHOLE MUNOZ
   235507 ROBLEDO                                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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          JANICE NICOLE SUAREZ
   235508 GONZALEZ                                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235509 JANICE NIEVES DIAZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675183 JANICE NIEVES PEREZ                         TH 4 PARQUE DE LOS FRAILES                                                                                          GUAYNABO            PR         00969
   675184 JANICE O PAREDES VELEZ                      BO CACAO                     2768 CALLE LA ROMANA                                                                   QUEBRADILLAS        PR         00678
   675185 JANICE OJEDA LAMBOY                         HC 10 BOX 7695                                                                                                      SABANA GRANDE       PR         00637‐9713
   235511 JANICE OLIVENCIA TORRES                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JANICE OMAYRA VELAZQUEZ
   235512 NEGRON                                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235513 JANICE ORTIZ ORTIZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   771108 JANICE PAGAN LOPEZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675187 JANICE PEREZ ORTIZ                          BO COCO NUEVO                232 A CALLE CANDIDO PAGAN                                                              SALINAS             PR         00751
   235514 JANICE QUEVEDO                              REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675188 JANICE RAMIREZ LEBRON                       REPARTO ANA LUISA            D‐3 CALLE MARIA VICTORIA                                                               CAYEY               PR         00736
   235516 JANICE RAMIREZ VELEZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235517 JANICE RAMOS COLON                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675189 JANICE RIOS NEGRON                          HC 03 BOX 37315                                                                                                     MAYAGUEZ            PR         00680
   235518 JANICE RIVERA APONTE                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675190 JANICE RIVERA CRUZ                          PMB 1512135 CARR 2           SUITE 15                                                                               BAYAMON             PR         00959‐5259
   675191 JANICE RIVERA RIOS                          E 4 URB LOS CERROS                                                                                                  ADJUNTAS            PR         00601
   675192 JANICE RIVERA RODRIGUEZ                     VLLA DEL CARMEN              EE 34 CALLE 18                                                                         PONCE               PR         00731
                                                      COND JARDINES DE VALENCIA
   675194 JANICE RODRIGUEZ ALVARADO                   APT 606                                                                                                             SAN JUAN            PR         00923
   675195 JANICE RODRIGUEZ COLON                      PO BOX 819                                                                                                          AIBONITO            PR         00705
   675196 JANICE RODRIGUEZ GIORGI                     HC 09 BOX 17088                                                                                                     PONCE               PR         00731‐9762
   675199 JANICE RODRIGUEZ NIEVES                     HC 73 BOX 4760                                                                                                      NARANJITO           PR         00719
   675200 JANICE RODRIGUEZ PAGAN                      HC 01 BOX 7153                                                                                                      CABO ROJO           PR         00623
   235519 JANICE RODRIGUEZ REYES                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   235521 JANICE RODRIGUEZ RODRIGUEZ                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235523 JANICE RODRIGUEZ TORRES                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675201 JANICE ROLON DIAZ                           RES MANUEL A PEREZ           EDIF D 7 APT 91                                                                        SAN JUAN            PR         00923
   675202 JANICE ROSA ROMAN                           HC 3 BOX 14495                                                                                                      AGUAS BUENAS        PR         00703‐8301
   235524 JANICE ROSADO DIAZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235525 JANICE RULLAN BARRERO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675203 JANICE SANCHEZ CEDRE                        URB VISTAS DEL ATLANTICO     BOX 47                                                                                 ARECIBO             PR         00612
   235527 Janice Santiago Santiago                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675204 JANICE SOLER ORTIZ                          RAMEY BASE                   118 KELL ST                                                                            AGUADILLA           PR         00603
   235530 JANICE SOTO CINTRON                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235531 JANICE TIMOTHEE OLIVERAS                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235532 JANICE TIRADO COREANO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675205 JANICE TORRES NEGRON                        URB COSTA AZUL               K 59 CALLE 20                                                                          GUAYAMA             PR         00784
   675206 JANICE TORRES RODRIGUEZ                     JARD DE CARIBE               5290 CALLE ROMBOIDAL                                                                   PONCE               PR         00728‐3511
   675207 JANICE TORRES SANTIAGO                      URB GLENVIEW GARDENS         AA 16 CALLE 17                                                                         PONCE               PR         00730
   675208 JANICE TORRES SOTO                          HC 1 BOX 3116                                                                                                       SABANA HOYOS        PR         00688
   235534 JANICE V ORTIZ VALENTIN                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235535 JANICE V VAZQUEZ RIOS                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235536 JANICE VAZQUEZ MORALES                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235537 JANICE VELEZ VELEZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675210 JANICE VIVES MEDINA                         P O BOX 1586                                                                                                        QUEBRADILLAS        PR         00678
   675212 JANICE Z TORRES DE JESUS                    PO BOX 72                                                                                                           JUANA DIAZ          PR         00795
          JANICE Z. RODRIGUEZ
   235539 MONTALVO                                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  235540 JANID CARRILLO REYES                         REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  675214 JANIEL JOVAN GONZALEZ                        PO BOX 6076                                                                                                              SAN JUAN            PR         00726
  235543 JANIEL MARTINEZ ALICEA                       REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  235544 JANIEL PEREZ MORALES                         REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JANIEL RAMOS MUNOZ /
  235545 MIRIAM MUNOZ                                 REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  235546 JANIEL RODRIGUEZ                             REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  235547 JANIEL W BROWNE                              REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  675216 JANIICE PELLOT JIMENEZ                       PO BOX 66                                                                                                                AGUADA              PR         00602
  235548 JANIKZA MARTINEZ RIVERA                      REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  675217 JANILETTE REYES MAISONET                     RES LOS MURALES                 EDIF 7 APT 59                                                                            MANATI              PR         00674
  235549 JANILKA G ROMERO SERRANO                     REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  235550 JANILKA RIVERA FIGUEROA                      REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  675218 JANILLE GARCIA CABRERA                       HC 55 BOX 8153                                                                                                           CEIBA               PR         00735

   235552 JANILLS HERNADEZ GONZALEZ                   REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675221 JANIMER NEGRONI RUIZ                        HC 59 BZ 5354                   BO MEMEY                                                                                 AGUADA              PR         00602
   235553 JANINA M VIEJO RULLAN                       REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   235554 JANINA S HERNANDEZ MANCILLA REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235555 JANINE I ANDUJAR AUSUA      REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   675223 JANINE LABORDE SANFIORENZO                  208 DUKE UNIVERSITY GARDENS                                                                                              SAN JUAN            PR         00927
   235556 JANINE LIZAIDA DIAZ ORTIZ                   REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JANINE M TOUCET / CTRO
   235558 VISUAL PENUELAS                             REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675225 JANINE MARIE DIAZ CRUET                     MSC 1116                        HC 04 BOX 44374                                                                          CAGUAS              PR         00725

   675226 JANINE RODRIGUEZ RODRIGUEZ                  EXT. PUNTO ORO I‐J 23 CALLE 5                                                                                            PONCE               PR         00731
   675227 JANIRA CASTILLO PLAYA                       HC 03 BOX 11286                                                                                                          JUANA DIAZ          PR         00795
   235560 JANIRA COLON CARRION                        REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235561 JANIRA GARCIA MALDONADO                     REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675228 JANIRA I ASENCIO ASENCIO                    HC 01 BOX BZN 7207                                                                                                       CABO ROJO           PR         00623

   235562 JANIRA J FIGUEROA RODRIGUEZ REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                      1800 CALLE SAN GREGORIO APT
   675229 JANIRA M CUPELES DIAZ                       PARQUE LOS MONACILLOS           908                                                                                      SAN JUAN            PR         00921
   235563 JANIRA M IRIZARRY VELEZ                     REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235564 JANIRA MERCADO MOYA                         REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235565 JANIRA PADILLA QUINTANA                     REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675230 JANIRA RIVERA MONTES                        URB VILLA SULTANITA             595 CALLE J APONTE DE SILVA                                                              MAYAGUEZ            PR         00680‐7021
   235566 JANIRA ROBLES RIVERA                        REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JANIRA VELAZQUEZ CRUZ /
   675231 YASHELIRA SALON                             107 CALLE LUNA                                                                                                           SAN GERMAN          PR         00683

   675232 JANIRAH FIGUEROA FONTANEZ                   PORTICOS DE GUAYNABO 1          CALLE VILLEGAS APT 10104                                                                 GUAYNABO            PR         00971‐9209

   235569 JANIRETTE CHAVES RODRIGUEZ                  REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235570 JANIRIS COLON RODRIGUEZ                     REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235571 JANIRIS RIVAS ZENO                          REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675234 JANIS DEL ROSARIO MORALES                   SAN AUGUSTO                     F 11 CALLE A                                                                             GUAYANILLA          PR         00656

   235572 JANIS L RODRIGUEZ SANABRIA                  REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  675235 JANIS MEDICAL SUPPLY                          PO BOX 9024275                                                                                            SAN JUAN             PR           00902‐4275
  675236 JANIS MEDICAL SUPPLY INC                      P O BOX 1035                                                                                              VEGA BAJA            PR           00694
         JANIS PALMA DE JESUS /VIDRE
  235573 ENERGIAS INC                                  ALTO APOLO              41 CALLE ORFEO                                                                    GUAYNABO             PR           00969
  675237 JANISE CABRERA VALLE                          PLAZA DE LA FUENTE      1239 CALLE ARGENTINA                                                              TOA ALTA             PR           00953
  235574 JANISE MARIE CANMAN                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
  235575 JANISE MARRERO RAMIREZ                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
  235576 JANISSE ARROYO DONES                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
  675238 JANISSE BORGOS NEGRON                         URB BRISAS DE CEIBA     206 CALLE 8                                                                       CEIBA                PR           00735
  675244 JANISSE QUILES ALVARADO                       PO BOX 128                                                                                                OROCOVIS             PR           00720
  235578 JANISSE QUINONES MARTINEZ                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
  235579 JANISSE RIVERA RIVERA                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
  235580 JANIT M MOSQUEA LOPEZ                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
  675245 JANITOR EXPRESS                               107 CALLE TAPIA                                                                                           SAN JUAN             PR           00726‐5662
  675246 JANITZA ALSINA RIVERA                         BOX 373292                                                                                                CAYEY                PR           00737
  675247 JANITZA ARZON CORDERO                         HC 4 BOX 4263                                                                                             HUMACAO              PR           00791
  675248 JANITZA BARRETO TORRES                        PO BOX 22                                                                                                 ARECIBO              PR           00616
  675249 JANITZA DAVILA CASTRO                         SEC 1 URB STA JUANITA   LL 44 C CALLE 27                                                                  BAYAMON              PR           00956
  675250 JANITZA DIEPPA RODRIGUEZ                      URB BONNEVILLE MANN     A 4‐6 CALLE 46                                                                    CAGUAS               PR           00725

   235582 JANITZA E MALDONADO ACOSTA REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   235583 JANITZA E MATOS SANTIAGO   REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   235584 JANITZA E ORTIZ REVERON    REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   235585 JANITZA FUENTES OTERO      REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   235586 JANITZA GONZALEZ VEGA      REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   235587 JANITZA M GARCIA MARRERO   REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   675251 JANITZA M NIEVES           LA PONDEROSA                              P 497 CALLE GIRASOL                                                               RIO GRANDE           PR           00745
   235588 JANITZA M ORTIZ CHARLES    REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   675252 JANITZA R DELGADO MOURA    SNATIAGO IGLESIA                          R APT 100                                                                         PONCE                PR           00731
          JANITZA RODRIGUEZ
   235589 HERNANDEZ                  REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   675253 JANITZA SAAVEDRA LUGO      HC 02 BOX 16421                                                                                                             ARECIBO              PR           00612
   235590 JANITZA SANTIAGO CRESPO    REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   235591 JANITZI FEBRES RIVERA      REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   675254 JANITZIA SANTIAGO PAGAN    BO SANTANA                                CARR 2 KM 68 8                                                                    ARECIBO              PR           00612
   675255 JANITZIE ORTIZ COSS        PASEOS REALES                             500 CALLE AIFIL                                                                   ARECIBO              PR           00612
   235592 JANIVE HEALTH SERVICES     REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   675256 JANIVETTE RIVERA GONZALEZ  COND MICHELLE PLAZA                       EDIF C 306                                                                        MERCEDITA            PR           00715
   675257 JANIYT BELTRAN MARTINEZ    750 E 5TH STREET                                                                                                            BETHLEHEM            PA           18015
   235593 JANLOUIS Y FERRER SERRANO  REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   675258 JANMA S E                  251 CALLE CHILE                                                                                                             SAN JUAN             PR           00917

   235594 JANMARY FIGUEROA RODRIGUEZ REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   235596 JANMICHAEL ACEVEDO JIMENEZ REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   235597 JANN N HERNANDEZ OTERO     REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   235598 JANNELLE CRUHIGGER MALAVE                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   235600 JANNELLIE M ACOSTA ROMAN                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   235601 JANNELLY FUENTES MILLAN                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   675259 JANNELLY S KITCHEN INC                       HC 01 BOX 5775                                                                                            JUANA DIAZ           PR           00795
   235602 JANNELY DELGADO MONTES                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED




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   235603 JANNELYS POMALES MORALES                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   235605 JANNET E. LA ROCHE RODRIGUEZ REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   675261 JANNET MORALES CALDERON      SAINT JUST                               113 D CALLE 2E                                                                         TRUJILLO ALTO        PR           00976
   235606 JANNET RIVERA SANTIAGO       REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235607 JANNET RODRIGUEZ ACOSTA      REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235608 JANNET RODRIGUEZ RIVERA      REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235609 JANNETH OSPINA CORTES        REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JANNETHE SAAVEDRA
   675263 ECHEVARRIA                   PARQUE DE RETIRO                         EDIF E APT 75                                                                          QUEBRADILLAS         PR           00678
   235610 JANNETT CRUZ ORTIZ           REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235611 JANNETTE ACEVEDO PEREZ       REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235612 JANNETTE ACEVEDO SOTO        REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   675267 JANNETTE APONTE RODRIGUEZ                   RES LOS ROSALES           EDIF 5 APT 48                                                                          TRUJILLO ALTO        PR           00976
   675269 JANNETTE AYUSO FIGUEROA                     PO BOX 7126                                                                                                      PONCE                PR           00732

   235613 JANNETTE BARLUCEA SANCHEZ                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235614 JANNETTE BARROS MATHEU                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   675270 JANNETTE BERRIOS VILLANUEVA                 SAN FERNANDO VILLAGE      EDIF 4 APT 322                                                                         CAROLINA             PR           00979
   675271 JANNETTE CABALLERO REYES                    VUELA DEL 2               42 ALTOS                                                                               MANATI               PR           00674
   675272 JANNETTE CABRERA REYES                      AJ 10 URB ROSARIO II                                                                                             VEGA BAJA            PR           00693
   675273 JANNETTE CABRERA RIVERA                     RABANAL SECTOR SAN JOSE   BZN 3051                                                                               CIDRA                PR           00739

   235615 JANNETTE CABRERA RODRIGUEZ REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   675274 JANNETTE CALDERON MORALES RR 02 BOX 5798                                                                                                                     CIDRA                PR           00739

   675275 JANNETTE CAMACHO DE JESUS                   PO BOX 1174                                                                                                      GUAYNABO             PR           00970

   235617 JANNETTE CAMACHO MORALES                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235618 JANNETTE CAQUIAS RIVERA                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   235619 JANNETTE CARMONA CESAREO                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   675277 JANNETTE COLON CORTES                       URB SAN DEMETRIO          385 CALLE PEZ VELA                                                                     VEGA BAJA            PR           00693
   235620 JANNETTE COLON SANTIAGO                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   235621 JANNETTE DALMAU GONZALEZ                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   675264 JANNETTE DALMAU GONZALEZ                    URB LAS DELICIAS          913 CALLE GENERAL VALERO                                                               SAN JUAN             PR           00924

   675278 JANNETTE DELGADO SANTIAGO                   URB MONTE SOL             428 CALLE MARIA E VµZQUEZ                                                              JUANA DÖAZ           PR           00795
   235622 JANNETTE DIAZ MARTINEZ                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   675281 JANNETTE E DEL PILAR SALGADO ESTANCIAS DE TORTUGUERO                  21 CALLE TULANE                                                                        VEGA BAJA            PR           00693
          JANNETTE ENCARNACION
   235623 GAUTIER                      REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   235624 JANNETTE ESPADA MARTINEZ     REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   675283 JANNETTE FALCON RIVERA       HACIENDA BETEL                           RR 5 BOX 8172                                                                          BAYAMON              PR           00956
   235626 JANNETTE FELIBERTY ACOSTA    REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   675284 JANNETTE FRANCO MONGE        PO BOX 1196                                                                                                                     RIO GRANDE           PR           00745



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   235627 JANNETTE GARCIA RODRIGUEZ                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JANNETTE GONZALEZ
   235628 ALMODOVAR                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   235629 JANNETTE GONZALEZ BERRIOS                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235630 JANNETTE GONZALEZ CURET                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      CALLE FERRER Y FERRER 1352
   675285 JANNETTE GONZALEZ LOPEZ                     URB. SANTIAGO IGLESIAS                                                                                         SAN JUAN            PR           00921‐0000

   675287 JANNETTE GONZALEZ MARTINEZ CALLE PROGRESO                                BUZON 854                                                                         ISABELA             PR           00662

   675288 JANNETTE GONZALEZ MORALES                   URB VICTOR ROJAS 11          103 CALLE 3                                                                       ARECIBO             PR           00612

   675289 JANNETTE GONZALEZ NEGRON                    HC 2 BOX 6941                                                                                                  FLORIDA             PR           00650
   235632 JANNETTE H BONILLA PENA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675290 JANNETTE HERNANDEZ                          HC 30 BOX 30479                                                                                                SAN LORENZO         PR           00754

   235633 JANNETTE HERNANDEZ MENDEZ REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   235635 JANNETTE HERNANDEZ TIRADO                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675292 JANNETTE IRIZARRY IRIZARRY                  HC 01 BOX 5286                                                                                                 JAYUYA              PR           00664‐9712

   675293 JANNETTE J SANTALIZ SANTIAGO VILLA PALMERA A 2                           CALLE FAJARDO                                                                     SAN JUAN            PR           00915

   675294 JANNETTE JIMENEZ CANDELARIA P O BOX 370                                                                                                                    BAJADERO            PR           00616

   675295 JANNETTE JUSTINIANO RAMOS                   BALCONES MONTE REAL          EDIF A APT 801                                                                    CAROLINA            PR           00981
   675296 JANNETTE LABOY VELAZQUEZ                    TOMAS CARRION MADURO         83 CALLE 5                                                                        JUANA DIAZ          PR           00795
   235636 JANNETTE LEON QUINONES                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675298 JANNETTE LOPEZ                              HC 03 BOX 8802 RIO LAJAS                                                                                       DORADO              PR           00646
   675299 JANNETTE LOPEZ GONZALEZ                     247 MARCIAL BOSCH                                                                                              CAYEY               PR           00736
   235637 JANNETTE LOPEZ HEREDIA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675300 JANNETTE LOPEZ RODRIGUEZ                    URB EST GUARICO              O 19 CALLE D                                                                      VEGA BAJA           PR           00693
   675301 JANNETTE LOPEZ SIERRA                       PO BOX 7126                                                                                                    PONCE               PR           00732
   235638 JANNETTE LUGO COLON                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235639 JANNETTE M CIARES ESQUILIN                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   235640 JANNETTE M GAVILLAN SUAREZ                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675303 JANNETTE M MATTEI                           URB HNAS DAVILA              L 17 CALLE 4                                                                      BAYAMON             PR           00959

   235641 JANNETTE M REILLO HERNANDEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   235642 JANNETTE M. FIGUEROA VELEZ                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   235643 JANNETTE M. MORALES RIVERA                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   235644 JANNETTE M.BATISTA CLAUDIO                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675305 JANNETTE MARIANI HERRERA                    ALTURAS DE FLAMBOYAN         GG 7 CALLE 19                                                                     BAYAMON             PR           00959
          JANNETTE MARIE FIGUEROA
   675306 VELEZ                                       EDIF GARCIA                  CALLE VIRTUD APT 2                                                                PONCE               PR           00717

   675307 JANNETTE MARTINEZ MELENDEZ HC 43 BOX 10931                                                                                                                 CAYEY               PR           00736



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  675308 JANNETTE MATOS MELENDEZ                      PO BOX 317                                                                                                          CABO ROJO         PR           00623

   675309 JANNETTE MEDINA DOMINGUEZ URB ALTAMESA                                    1658 CALLE STA JUANA                                                                  SAN JUAN          PR           00921
   675310 JANNETTE MELENDEZ LOPEZ   MC 01 BOX 7478                                                                                                                        LUQUILLO          PR           00773
   235645 JANNETTE MENDEZ CAMILO    REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235646 JANNETTE MIRANDA RIVERA   REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   675314 JANNETTE MOLINA ALVAREZ   PO BOX 2239                                                                                                                           ARECIBO           PR           00613

   675315 JANNETTE MONTALVO ROMAN                     BO DULCES LABIOS              75 CALLE JESUS ESTEVES                                                                MAYAGUEZ          PR           00681
   675316 JANNETTE MORALES                            URB SANTA ISIDRA              C 8 CALLE 4                                                                           FAJARDO           PR           00738

   235648 JANNETTE O DEL VALLE GOMEZ                  REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235649 JANNETTE O RIOS COLON                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235651 JANNETTE ORTIZ LEON                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235652 JANNETTE ORTIZ SANCHEZ                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235653 JANNETTE ORTIZ SEDA                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          JANNETTE PADILLA
   235654 CASTILLOVEITIA                              REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   675319 JANNETTE PADILLA MORALES                    ROLLING HILLS                 151 CALLE REP DOMINICANA                                                              CAROLINA          PR           00923
   675320 JANNETTE PADILLA SANTIAGO                   HC 71 BOX 3052                                                                                                      NARANJITO         PR           00719
   235655 JANNETTE PEREZ                              REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235656 JANNETTE PEREZ COLON                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235657 JANNETTE PEREZ MEJIAS                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          JANNETTE QUINTERO
   675323 HERNANDEZ                                   HC 2 BOX 9507                                                                                                       QUEBRADILLAS      PR           00678
   235658 JANNETTE RAMOS PEREZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235659 JANNETTE RAMOS ROSADO                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235660 JANNETTE RAMOS ROSARIO                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   675324 JANNETTE RIVERA BURGOS                      URB LA MANSION                NB 56 CEBALLOS                                                                        TOA ALTA          PR           00949

   235661 JANNETTE RIVERA CARTAGENA                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235662 JANNETTE RIVERA DE JESUS                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235663 JANNETTE RIVERA FUENTES                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235664 JANNETTE RIVERA VAZQUEZ                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   675326 JANNETTE RODRIGUEZ                          PO BOX 133                                                                                                          SALINAS           PR           00751
          JANNETTE RODRIGUEZ
   675327 GONZALEZ                                    HC 3 BOX 9146 BARRIO ESPINO                                                                                         LARES             PR           00669

   675328 JANNETTE RODRIGUEZ PAGAN                    PO BOX 4                                                                                                            NARANJITO         PR           00719
   675330 JANNETTE RODRIGUEZ PEREZ                    HC 01 BOX 3303                                                                                                      ADJUNTAS          PR           00601

   675331 JANNETTE RODRIGUEZ REYES                    URB VALLE DE CERRO GORDO      W 19 CALLE RUBI                                                                       BAYAMON           PR           00956
          JANNETTE RODRIGUEZ
   675332 SANTIAGO                                    PO BOX 1697                                                                                                         LAS PIEDRAS       PR           00771

   675333 JANNETTE RODRIGUEZ TORADO 2DA SECC LEVITOWN                               2052 PASEO AZALEA                                                                     TOA BAJA          PR           00947
   235666 JANNETTE ROSADO ADORNO    REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   675334 JANNETTE ROSARIO          202 CORDOVA DAVILLA                                                                                                                   MANATI            PR           00674

   235667 JANNETTE SANCHEZ GONZALEZ                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   675336 JANNETTE SANCHEZ LUYANDO                    HC 01 BOX 2066                                                                                                      MAUNABO           PR           00707
   675337 JANNETTE SANTIAGO ALBERT                    BOX 358                                                                                                             LAS MARIAS        PR           00670



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  675339 JANNETTE SANTIAGO RENTAS                     HC 01 BOX 5185                                                                                                   ADJUNTAS            PR         00601
  235668 JANNETTE SANTIAGO TORRES                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   235669 JANNETTE SEPULVEDA ACOSTA                   REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675265 JANNETTE SEPULVEDA BAEZ                     HC 10 BOX 7354                                                                                                   SABANA GRANDE       PR         00637
   675340 JANNETTE SOLIS RIVERA                       URB VILLA MAR D 19             CALLE MEDITERRANEO                                                                GUAYAMA             PR         00784
   235672 JANNETTE SUAZO CASTRO                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JANNETTE T VALENTIN
   675341 TRAVERSO                                    HC 03 BOX 11786                                                                                                  JUANA DIAZ          PR         00795
   235673 JANNETTE TORO APONTE                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235674 JANNETTE TORRES CUEVAS                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675343 JANNETTE TORRES DIAZ                        P O BOX 191118                                                                                                   SAN JUAN            PR         00919 1118
   675344 JANNETTE TORRES FIGUEROA                    URB VILLA VERDE                J 13 CALLE 3                                                                      BAYAMON             PR         00959
   675345 JANNETTE TORRES MERCED                      PO BOX 148                                                                                                       CIDRA               PR         00739
   675346 JANNETTE TORRES OYOLA                       BO CEIBA                       CARR 782 KM 4 3                                                                   CIDRA               PR         00739
   235675 JANNETTE TORRES TORRES                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235676 JANNETTE TREVINO RAMOS                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      URB.LA HACIENDA AJ‐10 CALLE‐
   675347 JANNETTE VARGAS CINTRON                     42                                                                                                               GUAYAMA             PR         00784
   235677 JANNETTE VARGAS MARTINEZ                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675349 JANNETTE VAZQUEZ PEREZ                      HC 01 BOX 17349                                                                                                  AGUADILLA           PR         00603
   675350 JANNETTE VAZQUEZ TORRES                     RR 07 BOX 6944                                                                                                   SAN JUAN            PR         00926
   235678 JANNETTE X QUILES ORTIZ                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235679 JANNEXY FALCON VERDEJO                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JANNHELI CRYSTAL PEREZ
   235680 RODRIGUEZ                                   REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235681 JANNIBEL GONZALEZ RIVERA                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235682 JANNICE E. RAMOS LOPEZ                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235683 JANNICE M ARROYO SOTO                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675351 JANNICE M BONET SANTANA                     URB LA MARINA                  L 6 CALLE CRISANTEMO                                                              CAROLINA            PR         00979
   675352 JANNICE MALAVE GRACIA                       URB MANSION DEL SUR            SC 6 CALLE BALMORAL                                                               TOA BAJA            PR         00949
   235684 JANNICE S PEREZ FIGUEROA                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   235685 JANNIE M IRIZARRY RODRIGUEZ                 REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235686 JANNIEL CORDERO VARGAS                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675353 JANNIEL PEREZ CRUZ                          URB STA MARIA                  D 2 CALLE 28                                                                      GUAYANILLA          PR         00656

   235687 JANNIFER J RAMOS RODRIGUEZ                  REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235688 JANNINA JIRAU BELTRAN                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675354 JANNINA Y VERA RODRIGUEZ                    URB SAN ANTONIO                409 CALLE VILLA                                                                   PONCE               PR         00728
   675355 JANNIRA RODRIGUEZ GARCIA                    VILLAS DE NAVARRA              APTO 13 F                                                                         BAYAMON             PR         00956
   675356 JANNIRE LEBRON DAVILA                       HC 01 BOX 4529                                                                                                   ARROYO              PR         00714
   675357 JANNIRIS GONZALEZ AROCHO                    BO BORINQUEN                   CARR 107 KM 3 1                                                                   AGUADILLA           PR         00605
   235689 JANNIS M GONZALEZ NAVEDO                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JANNISE RODRIGUEZ
   675358 HERNANDEZ                                   URB VISTAS DE CAMUY            CALLE 9                                                                           CAMUY               PR         00627
   675360 JANNISSE PAGAN CARDONA                      URB CIUDAD JARDIN              68 CALLE VIOLETA                                                                  CAROLINA            PR         00987
   235691 JANNITZE TORRES LEBRON                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235692 JANNITZZI TAPIA BLAS                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235693 JANNY CASTRO                                REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   235695 JANNY ED HERNANDEZ MATOS                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675362 JANOGUI CESPEDES CRUZ                       URB SAN JOSE BZN 638                                                                                             SABANA GRANDE       PR         00637



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  235696 JANOIRA LEE OPIO MUNUZ       REDACTED                                         REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  675363 JANSARA INC                  8 CALLE RIEFKHOL                                                                                                                     PATILLAS          PR         00723
  675364 JANSEN COLBERG LUGO          PO BOX 909                                                                                                                           CABO ROJO         PR         00623
  235697 JANSEN REYNOSO RIVERA        REDACTED                                         REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  235698 JANSSEN ORTHO LLC            475 CALLE C SUITE 401                                                                                                                GUAYNABO          PR         00969
  675365 JANSSEN PHARMACEUTICAL       1 CAMPUS CRIVE                                                                                                                       SOMERSET          NJ         08873‐1102
  235701 JANSUE GONZALEZ RAMOS        REDACTED                                         REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         JANTHONY GONZALEZ
  235702 CHAPARRO                     REDACTED                                         REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  235703 JANTONY ORTIZ MARCANO        REDACTED                                         REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
         JANUS DEV ( MANUFACT OF SPES
  235704 CO EASY DEV                  112 STATION ROAD                                                                                                                     GREENVILLE        NC         27834

   235705 JANUS FILMS                                  250 EAST HARTSDALE AVE STE 42                                                                                       HARTSDALE         NY         10530

   675369 JANY ENCARNACION MARQUEZ                     P O BOX 60‐075                                                                                                      BAYAMON           PR         00960
   675370 JANY MORALES RIVERA                          HC 04 BOX 17620                                                                                                     CAMUY             PR         00627
   235706 JANYBET MARQUEZ BALLESTE                     REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   675371 JANYCE MORALES PARDO                         HC 2 BOX 12975                                                                                                      LAJAS             PR         00667
   235707 JANYFER CORDERO MEJIAS                       REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   235708 JANYRA E ORTIZ CEDENO                        REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   235709 JANYRA M MORALES NORIEGA                     REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   235710 JANYRA QUINONES ASENCIO                      REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   675372 JANYREE CRISTOBAL MARTINEZ                   VILLA FONTANA                   2ML 295 VIA 8                                                                       CAROLINA          PR         00983
          JANYS NURSE / JANNETTE
   675373 MARRERO FELIX                                RR 6 BOX 9237                                                                                                       SAN JUAN          PR         00926
   235713 JANYVETTE HERNANDEZ DIAZ                     REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   675375 JANZE SANTIAGO SOLIVAN                       RR 02 BOX 7018                                                                                                      CIDRA             PR         00730
   675376 JAPELEAIM SANTIAGO RIVERA                    P O BOX 31010                                                                                                       SAN JUAN          PR         00929
   675377 JAPHET COLON HERNANDEZ                       URB BALDRICH                    311A CALLE PEDRO BIGAY                                                              SAN JUAN          PR         00918

   235715 JAPHET GAZTAMBIDE MONTES                     REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   235716 JAPHET O TEXEIRA DIAZ                        REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   235717 JAPHETT OLIVERA COLON                        REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   675378 JAPS SPORTING                                1562 AVE CENTRAL                                                                                                    SAN JUAN          PR         00921
   675380 JAQ ENGINEERING                              P.O. BOX 364213                                                                                                     SAN JUAN          PR         00936
   235718 JAQUELIN SEVERINO                            REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   235719 JAQUELINE ALVAREZ CARDERAS                   REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          JAQUELINE FERNANDEZ
   675383 SANCHEZ                                      RR 3 BOX 3304                                                                                                       SAN JUAN          PR         00928

   675384 JAQUELINE GONZALEZ GARCIA                    PO BOX 927                                                                                                          CAYEY             PR         00737

   675385 JAQUELINE HERNANDEZ TORRES HC 1 BOX 4637                                                                                                                         VILLALBA          PR         00766

   235720 JAQUELINE I HERNANDEZ PEREZ REDACTED                                         REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   235721 JAQUELINE I MARRERO RIVERA                   REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   675386 JAQUELINE IRIZARRY VERA                      CALLE HOYO FRIO BOX 18 A                                                                                            JAYUYA            PR         00664
   675387 JAQUELINE M OBEN                             PO BOX 6373                                                                                                         SAN JUAN          PR         00914



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   235722 JAQUELINE MATOS RODRIGUEZ                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   235723 JAQUELINE MONTANEZ CEPEDA REDACTED                                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   675388 JAQUELINE MORALES NEGRON                    PO BOX 1883                                                                                                       YAUCO               PR           00698

   235724 JAQUELINE NUNEZ MONTANEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675389 JAQUELINE OLIVERAS PEREZ                    HC 2 BOX 6093                                                                                                     SAN LORENZO         PR           00687
   235725 JAQUELINE PADILLA ALBINO                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235726 JAQUELINE ROSA COSS                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675391 JAQUELINE SERRANO FLORES                    RES NEMESIO CANALES           EDIF 18 APTO 345                                                                    SAN JUAN            PR           00920
   675381 JAQUELINE TORO RODRIGUEZ                    URB LAS LOMAS                 1576 CALLE 3650                                                                     SAN JUAN            PR           00921
   235727 JAQUELINE TORRES ORTEGA                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235728 JAQUELINE VALENZUELA                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235729 JAQUELINE VEGA QUILES                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   235730 JAQUELYNN A MARTINEZ RUIZ                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JAQUES CHRISTIAN
   235731 WADESTRANDT                                 REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675392 JAR AUTO CARE                               PO BOX 1304                                                                                                       BARCELONETA         PR           00617‐1304
          JAR CONSTRUCTION & SERVICES
   235738 CORP                                        URB ALTOS DE LA FUENTE        H 10 CALLE 2                                                                        CAGUAS              PR           00727
          JAR CONSTRUCTION AND                        URB. ALTOS DE LA fUENTES h‐10
   235739 SERVICES CORP.                              CALLE Z                                                                                                           CAGUAS              PR           00727‐0000
          JAR MARKETING
   235741 COMMUNICATIONS                              PO BOX 472                                                                                                        UTUADO              PR           00641
   235742 JAR PROPERTIES CORP                         1818 AVE DEL VALLE                                                                                                TOA BAJA            PR           00949
   235743 JAR THERAPY CENTER CORP                     1706 PASEO DEGETAU                                                                                                CAGUAS              PR           00727
   235748 JARALIS JIMENEZ RODRIGUEZ                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JARAMA STEAK HOUSE AND SEA                  GUANAJIBO SHOPPING CENTER A‐
   675393 FOOD                                        1                                                                                                                 MAYAGUEZ            PR           00680
          JARANDELISSE SANCHEZ
   235761 VELAZQUEZ                                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235762 JARANIL NIEVES QUINONES                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675394 JARANYX RAMOS HERNANDEZ                     HC 01 BOX 6960                                                                                                    MOCA                PR           00676
                                                      GALERIA PASEOS MALL SUITE
   675395 JARD DEL PARQUE S E                         401                           100 GRAND BLVD PASEO                                                                SAN JUAN            PR           00926
          JARD SANTA ELENA RESIDENT
   235763 COUNCIL INC                                 P O BOX 263                                                                                                       YABUCOA             PR           00767
   675396 JARDICENTRO INC                             PO BOX 1954                                                                                                       SAN JUAN            PR           00936
   675397 JARDIMAR SHELLS                             URB BALDRICH                  551 CALLE MAXIMO GOMEZ                                                              SAN JUAN            PR           00918
   675398 JARDIN ARTE TROPICAL                        266 CALLE SAN JOSE                                                                                                AIBONITO            PR           00705
   675399 JARDIN BORINCANO INC.                       P O BOX 4                                                                                                         AIBONITO            PR           00705
   675400 JARDIN CAMPO ALTO                           HC 71 BOX 1248                                                                                                    NARANJITO           PR           00719
   235765 JARDIN CANABON                              REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235766 JARDIN DE ISLA VERDE                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      PARCELAS RODRIGUEZ BUZON
   675405 JARDIN DE LA INFANCIA                       #85                           BARRIO PALO SECO                                                                    MAUNABO             PR           00707
   235768 JARDIN DE LOS DUENDECITOS                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JARDIN DE LOS DUENDECITOS
   235770 INC                                         SAINT JUST                    111 CALLE 2                                                                         TRUJILLO ALTO       PR           00976




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          JARDIN DEL ATLANTICO LIMITED
   675406 PARTMERSHIP                                 JARDINE DEL ATLANTICO LTD   100 CARR 165 TORRE 1 OF 706                                                              GUAYNABO            PR           00968
   235771 JARDIN DEL EDEN INC.                        P.O. BOX 775                                                                                                         CIDRA               PR           00739‐0000
   235772 JARDIN EL CANON                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235774 JARDIN EL PARAISO                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235775 JARDIN EL PATIO INC                         P.O.BOX 4980                                                                                                         CAGUAS              PR           00725‐4980
   675407 JARDIN EL RANCHO                            URB LAS CUMBRES             AVE EMILIANO POL 504                                                                     SAN JUAN            PR           00926
   675408 JARDIN GLORIHAM                             PO BOX 1127                                                                                                          TRUJILLO ALTO       PR           00977
   675409 JARDIN GRAMAS                               G 4 CALLE O NEILL                                                                                                    SAN JUAN            PR           00918
   675410 JARDIN HERNANDEZ                            HC 03 BOX 7770                                                                                                       BARRABQUITAS        PR           00794
   675411 JARDIN INFANTIL "BAN BAN"                   MSC 326 BOX 7999                                                                                                     MAYAGUEZ            PR           00681‐7999
   675412 JARDIN INFANTIL ARCOIRIS                    URB. VILLA ESPERANZA        77 CALLE 4                                                                               PONCE               PR           00716
   235776 JARDIN INFANTIL AULINA INC                  43 SIMON DE LA TORRE                                                                                                 PONCE               PR           00730‐3618

   235777 JARDIN INFANTIL BAN BAN INC                 PO BOX 1166                                                                                                          MAYAGUEZ            PR           00681‐1166
          JARDIN INFANTIL GATITOS DEL
   675413 ROCIO                                       P O BOX 955                                                                                                          JUNCOS              PR           00777
          JARDIN INFANTIL GIOVANNI
   675414 BOSCO INC                                   BOX 849                                                                                                              JUNCOS              PR           00777
   235778 JARDIN INFANTIL ISA INC                     931 SANTANA                                                                                                          ARECIBO             PR           00612‐6820

   675415 JARDIN INFANTIL MUNDO CHICO HC 01 BOX 3759                                                                                                                       UTUADO              PR           00641
          JARDIN INFANTIL PACHEQUIN I Y
   235780 II INC.                       EXT SANTA TERESITA                        CU‐27 CALLE Q                                                                            PONCE               PR           00731
          JARDIN INFANTIL PEQUENECES
   235782 INC                           URB MONTE BRISAS III                      3R 43 CALLE 114                                                                          FAJARDO             PR           00738‐3417

   675416 JARDIN INFANTIL PEQUENINES                  45 CALLE MATIENZO CINTRON                                                                                            YAUCO               PR           00698‐3506
   675417 JARDIN INFANTIL PIBES                       PO BOX 313                                                                                                           CABO ROJO           PR           00623
   675418 JARDIN INFANTIL ROHENA                      HC 03 BOX 12809                                                                                                      CAROLINA            PR           00987
   675419 JARDIN INFANTIL TITI SABBY                  HC 02 BOX 8148                                                                                                       YABUCOA             PR           00767‐9505
   675420 JARDIN LA ALDEA                             HC 01 BOX 6632                                                                                                       AIBONITO            PR           00705
   675421 JARDIN LA BASE                              BO ROBLES BASE              CARR 14 KM 53 4                                                                          AIBONITO            PR           00705
   675422 JARDIN LA CEIBA                             HC 01 BOX 6914                                                                                                       AIBONITO            PR           00705
   675425 JARDIN LA FAMILIA                           3 AVE MARINA VW                                                                                                      FAJARDO             PR           00738
   675427 JARDIN LA LOMA                              H2 01                       BOX 6491                                                                                 AIBONITO            PR           00705
   675429 JARDIN LAS CANARIAS                         HC 03 BOX 7436                                                                                                       COMERIO             PR           00782
   675430 JARDIN LOMAS VERDES                         PO BOX 6943                                               BAYAMON                                                    BAYAMON             PR           00960
   675431 JARDIN LUNA                                 P O BOX 455                                                                                                          AIBONITO            PR           00705
   675432 JARDIN LURIAM                               HC 02 BOX 9174                                                                                                       AIBONITO            PR           00705
   235784 JARDIN MI INFANCIA INC                      URB MARIOLGA                X 7 AVE LUIS MUNOZ MARIN                                                                 CAGUAS              PR           00725
   675433 JARDIN MORALES EXTERIOR                     PO BOX 1807                                                                                                          TRUJILLO ALTO       PR           00977
   675434 JARDIN PLAZA INC                            PO BOX 192271                                                                                                        SAN JUAN            PR           00919‐2271
   675435 JARDIN PRECIOSO INC                         3RA EXT COUNTRY CLUB        J A 15 CALLE 220                                                                         CAROLINA            PR           00983
   675436 JARDIN ROSA                                 BOX 256                                                                                                              FAJARDO             PR           00738
   675437 JARDIN SALEN                                URB LAS MARIAS                                                                                                       SALINAS             PR           00751
   675438 JARDIN SAN PABLO                            PO BOX 1099                                                                                                          LARES               PR           00669
   235786 JARDIN SELECTO                              REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675439 JARDIN XANADU                               BO SUMIDERO                 CARR 173 KM 6 5                                                                          AGUAS BUENAS        PR           00703
          JARDINERIA EL GIGANTE / LYDIA
   675440 SOTOMAYOR                                   B 6 ALTURAS DE ADJUNTAS                                                                                              ADJUNTAS            PR           00601
                                                      371 CALLE GORRION CAMINO
   675441 JARDINERO A LA ORDEN                        DEL SUR                                                                                                              PONCE               PR           00716‐2815



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  675442 JARDINES & MUCHO MAS                         URB GLENVIEW GARDEN           E 15 CALLE GLEN                                                                        PONCE             PR           00731
  675443 JARDINES AIDA                                PO BOX 2824                                                                                                          SAN GERMAN        PR           00683
  675444 JARDINES ANAIN                               2661 AVE MILITAR                                                                                                     ISABELA           PR           00668
  675445 JARDINES BETANCOURT                          HC 01 BOX 6598                BARRIO CAMPO RICO                                                                      CANOVANAS         PR           00729

   675446 JARDINES DE BARRANQUITAS S E P O BOX 13487                                                                                                                       SAN JUAN          PR           00908
          JARDINES DE CAPARRA
   235790 BASKETBALL CLUB INC          URB VILLA ESPANA                             K 20 CALLE ZARAGOZA                                                                    BAYAMON           PR           00961
   235791 JARDINES DE MAYAGUEZ         REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   675447 JARDINES DE PONCE                           PO BOX 800780 COTO LAUREL                                                                                            PONCE             PR           00780‐0780
   675448 JARDINES DEL CARIBE S S S                   RIO CANAS                     S7 CALLE 14 URB RIO CANAS                                                              PONCE             PR           00731
   675449 JARDINES DEL CARIBE SUPER                   RIO CA¨AS                     S‐7 CALLE 14                                                                           PONCE             PR           00731
          JARDINES DEL CARIBE SUPER
   235792 SERV. TEXACO                                RIO CANAS CALLE 14‐S‐7                                                                                               PONCE             PR           00731
          JARDINES DEL CARIBEB SERVICE
   235793 ST                                          URB RIO CANAS                 2348 CALLE GUADALQUIVIR                                                                PONCE             PR           00728‐1039
   235795 JARDINES EL BATEY                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   675452 JARDINES EL PATIO INC                       PO BOX 6086                   CARR 189 KM 2.8                                                                        CAGUAS            PR           00726
   675453 JARDINES ENEIDA                             PO BOX 1086                                                                                                          CABO ROJO         PR           00623
   675454 JARDINES ENEIDA INC                         PO BOX 1086                                                                                                          CABO ROJO         PR           00623
   675455 JARDINES MORALES                            PO BOX 1807                                                                                                          TRUJILLO ALTO     PR           00977
   235797 JARDINES REALES S E                         P O BOX 194000                PMB209                                                                                 SAN JUAN          PR           00919
   235798 JARDINES SANTANA                            REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   675457 JARDINES SELECTO                            HILL BROTHERS                 369 AVE 65TH INFANTERIA                                                                SAN JUAN          PR           00924
   675458 JARDINES SELLES INC.                        PO BOX 21358                                                                                                         SAN JUAN          PR           00928
   675459 JARDINES SOMANTE                            BO ASOMANTE                   CARR 14 KM 46 9                                                                        AIBONITO          PR           00705
   675460 JARDINES TROPICALES                         RR 36 BOX 11570                                                                                                      SAN JUAN          PR           00926
   235799 JARDINES TROPICALES , INC.                  RR‐36 BOX 11570                                                                                                      SAN JUAN          PR           00926‐0000
   675461 JARDINES Y MUCHO MAS                        P O BOX 9024275                                                                                                      SAN JUAN          PR           00902
   235800 JARED DE JESUS RIVERA                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235801 JARED H ARIZMENDI GARAY                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235802 JARED L GONZALEZ SUAREZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235803 JARED ORTIZ REYES                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235804 JARED RODRIGUEZ SOTO                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235805 JARED ROMAN NIEVES                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235807 JARELEEN OSORIO GONZALEZ                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   675462 JARELINE ROSARIO REYES                      LOS ROSALES EDIF #7 APT.69                                                                                           TRUJILLO ALTO     PR           00976
          JARELISMARIE SANTIAGO
   235808 MERCERA                                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   675463 JARELIZ LOPEZ LOPEZ                         P O BOX 383                                                                                                          AGUADA            PR           00602
   235810 JARELYS DIAZ DE JESUS                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235811 JARELYS LAO PEREZ                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   235812 JARELYS M GARCIA ALTRUZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   675465 JARELYS SANTANA PABON                       HC 4 BOX 8167                                                                                                        JUANA DIAZ        PR           00795
   235813 JARELYZ GONZALEZ CENTENO                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          JARET DELGADO
          BETANCOURT/KAREN
   235814 BETANCOUR                                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   675466 JARET RODRIGUEZ TIRADO                      PO BOX 240                                                                                                           SANTA ISABEL      PR           00757

   675467 JARI R MORENO SANCHEZ                       252 CALLE FORTALEZA APT 402                                                                                          SAN JUAN          PR           00901
   235815 JARI R. MORENO SANCHEZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  235816 JARIAM MORALES MORALES                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  235817 JARIAM OLIVERAS LOPEZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  235818 JARIANNE VAZQUEZ DIAZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   235819 JARIBETTE MORALES SALGADO                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235821 JARIE A TORRES CARABALLO                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675468 JARIEL A ALBINO CASIANO                     URB MONTE CARLO              1312 CALLE 33                                                                           SAN JUAN            PR         00924‐5258
          JARILIZ N COTTE A/C CORALIZ
   235822 TORRES                                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   235823 JARINETTE VARGAS CERVANTES                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235824 JARIS JIMENEZ MEJIA                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235825 JARIS JIMENEZ MELIA                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235826 JARISSA RODRIGUEZ ROMAN                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675471 JARISSE RIVERA                              HC 02 BOX 14177                                                                                                      AGUAS BUENAS        PR         00703
   235828 JARITZA FELICIANO                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235829 JARITZA FILIPPETH                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   675473 JARITZA L RODRIGUEZ ANDUJAR HC 3 BOX 60059                                                                                                                       ARECIBO             PR         00612
   235830 JARITZA L RODRIGUEZ MATOS   REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   675474 JARITZA MELENDEZ HERNANDEZ                  PO BOX 765                                                                                                           COAMO               PR         00782
   235831 JARITZA PEREZ MURIEL                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235832 JARITZA RIVERA GARAY                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235833 JARITZA ROMERO DIAZ                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      URB ALTURAS DE
   675475 JARITZA VAZQUEZ COTTO                       INTERAMERICANA               N 12 CALLE 10                                                                           TRUJILLO ALTO       PR         00976

   675476 JARIVETTE GANDIA ADORNO                     URB SAN MARTIN APT 217       CALLE WILLIAM BOSCH EDIF G                                                              SAN JUAN            PR         00924
   235835 JARLYN NAZARIO MONTALVO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235836 JARMA DORIS PENA SANCHEZ                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JARMILLA A GONZALEZ
   235837 ECHEVARRIA                                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675478 JARO MORALES COLON                          MIRA FLORES                  43 1 CALLE 16                                                                           BAYAMON             PR         00985
   235839 JAROLD MENDEZ                               REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675479 JAROLD RIVERA GUZMAN                        VICTORIA HGTS                CALLE 7 GG 7                                                                            BAYAMON             PR         00959
   675480 JARRA CORPORATION                           PO BOX 70166                                                                                                         SAN JUAN            PR         00936‐0166
          JARRETT RODRIGUEZ
   675482 BETANCOURT                                  URB EL CONQUISTADOR          L 68 CALLE 15                                                                           TRUJILLO ALTO       PR         00976
   675483 JARRETTE PEREZ RODRIGUEZ                    HC 2 BOX 4120                                                                                                        COAMO               PR         00769
   235842 JARROT ARIAS MD, JORGE                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235843 JARROT SIERRA MD, JORGE                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235844 Jarryson J Caraballo Oquendo                REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235847 JARVIS MORALES ESPINOSA                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675484 JARYMAR ARZON GONZALEZ                      URB BAIROA DQ 6 CALLE 42                                                                                             CAGUAS              PR         00725
   235850 JARYSEL REJINCOS COLLAZO                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675485 JAS CORPORATION                             P O BOX 364845                                                                                                       SAN JUAN            PR         00936‐4845
                                                      615 PONCE DE LEON AVE. ESQ
   235852 JAS ENTERPRISE                              ARECIBO                      SUITE 215                                                                               HATO REY            PR         00917
   235853 JASAYRA M ARCHILLA SANTOS                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235854 JASCHIN DITTE                               REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235855 JASDELL B RIVERA AGUILAR                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   235856 JASEF ROSA RAMOS                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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   675486 JASEL OMAR SEMIDEY MEDINA                   BDA SANTA ANA            293 CALLE A                                                                       GUAYAMA             PR           00784

   235857 JASH MANUEL ROSA FIGUEROZ                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   675487 JASHAR NAZARIO HERNANDEZ                    HC 6 BOX 70596                                                                                             CAGUAS              PR           00727‐9504
          JASHIRA M GUTIERREZ
   235858 RODRIGUEZ                                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

          JASHUA E MORENO DELGADO/
   235859 MARILYN DELGADO                             REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   235860 JASHUA RODRIGUEZ SANTIAGO                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235861 JASIEL ALMAGUEL BRUZON                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JASKILLE EAMONN MD,
   235862 FRANCISCO                                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675488 JASLIER ADORNO PEREZ                        COUNTRY CLUB             976 CALLE HIPOLAIS                                                                SAN JUAN            PR           00924
   675489 JASLIND GARCIA HICKS                        STA JUANITA              P 18 CALLE FORMOSA                                                                BAYAMON             PR           00956
   235865 JASLINE FIGUEROA VELEZ                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   235866 JASMARIE MEDINA VILLANUEVA                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235868 JASMARY RIVAS MATEO                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675490 JASMELY ARROYO CAMACHO                      CALLE ABOLICION NO 45                                                                                      YAUCO               PR           00698
   675491 JASMET ELIAS GERENA                         COND PLAZA SUCHVILLE     APT 218                                                                           BAYAMON             PR           00959
   675492 JASMIL L VAZQUEZ GOMEZ                      TURABO GARDENS           D 2 CALLE 32                                                                      CAGUAS              PR           00725
   675493 JASMILETT RIVERA BURGOS                     URB CAGUAS NORTE         AE 4 CALLE PARIS                                                                  CAGUAS              PR           00725
   675494 JASMIN A PABON DE JESUS                     HC 03 BOX 15603                                                                                            UTUADO              PR           00641
   235869 JASMIN ALVARADO ROSADO                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235870 JASMIN CALDERON VEGUILLA                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675495 JASMIN COLLAZO NEGRON                       P O BOX 404                                                                                                RIO BLANCO          PR           00744
   235871 JASMIN COLON CRUZ                           REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235872 JASMIN D RAMOS VERGARA                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235873 JASMIN E RIVERA CRUZ                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235874 JASMIN ESCODO VALDES                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675496 JASMIN LOPEZ MARTINEZ                       RES BRISAS DE CUPEY      EDIF 5 APT 68                                                                     CUPEY               PR           00926
   675497 JASMIN M LUGO PI                            PO BOX 51583                                                                                               TOA BAJA            PR           00950
   675498 JASMIN MARRERO ORTIZ                        URB JARDINES DE DORADO   D 5 CALLE GARDENIA                                                                DORADO              PR           00646
   675501 JASMIN N GONZALEZ RIVERA                    K 123 BO PALO HINCADO    CARR 156                                                                          BARRANQUITAS        PR           00794
   235875 JASMIN PEREZ HENCHYS                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675502 JASMIN RIVERA CRUZ                          VISTA AZUL               BB 17 CALLE 33                                                                    ARECIBO             PR           00612
   235876 JASMIN VARGAS RIVERA                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235877 JASMIN Y RAMIREZ BONILLA                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235878 JASMIN YARI RAMOS LOPEZ                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235880 JASMINE BERRIOS FALCON                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675505 JASMINE CASADO ZAYAS                        VISTAS DE LUQUILLO       PO BOX 268                                                                        LUQUILLO            PR           00773
   235881 JASMINE ECHAGARRAY LOPEZ                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235882 JASMINE L GIUSTINO FALU                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235883 JASMINE L SERRANO PADILLA                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235884 JASMINE PEREZ NAZARIO                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675507 JASON A IRIZARRY COLON                      URB APONTE               120 SANCHEZ SUR                                                                   CAYEY               PR           00736
   235885 JASON A RIVERA COLON                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235886 JASON A RODRIGUEZ MUNIZ                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          JASON ADAMES HNC CTRO
   675508 TERAPIA FISICA A                            EST DEL RIO            874 CALLE CERILLOS                                                                      HORMIGUEROS         PR         00660‐9814
   675509 JASON ALICEA ACEVEDO                        RES CARMEN             EDIF 24 APT 234                                                                         MAYAGUEZ            PR         00680
   235887 JASON ANAZAGASTRE JUARBE                    REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235888 JASON APONTE                                REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675510 JASON BARTOLOMEY GRAFAL                     P O BOX 1314                                                                                                   HORMIGUEROS         PR         00660
   235889 JASON BONILLA OLIVO                         REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   675511 JASON BUSIGO CORDERO                        URB FRONTERAS          102 CALLE ANTONIA PRINCIPE                                                              BAYAMON             PR         00961‐2917
   235890 JASON CAMACHO MELENDEZ                      REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235891 JASON CLAUDIO                               REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675512 JASON CLAUDIO VAZQUEZ                       URB VILLA MARIA        X 9 CALLE 15                                                                            CAGUAS              PR         00725
   675513 JASON COLON CARMONA                         PARCELAS FALU          188 D C/14 SABANALLANA                                                                  SAN JUAN            PR         00924
   675514 JASON CONCEPCION CHAVEZ                     BO BALBOA              275 CALLE MANUEL CINTRON                                                                MAYAGUEZ            PR         00680

   675515 JASON CUNMINGHAM TORRES                     BRISAS DEL MAR         ER 10 ACCESO                                                                            LUQUILLO            PR         00773
   235892 JASON DIAZ TORRES                           REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235893 JASON ESCALERA MELENDEZ                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235894 JASON FIGUEROA BAEZ                         REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235895 JASON GARCIA PENA                           REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235896 JASON GILL RODRIGUEZ                        REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235897 JASON GOMEZ MARTINEZ                        REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675517 JASON GONZALEZ DELGADO                      PO BOX 9781                                                                                                    CAGUAS              PR         00726
   235898 JASON GONZALEZ GARCIA                       REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675518 JASON GONZALEZ VARGAS                       BO JOBOS               349 CALLE SANTA MARIA                                                                   ISABELA             PR         00662
   235899 JASON H CABAN VELEZ                         REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235900 JASON I NEWTON MOJICA                       REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235901 JASON J MARIN REYES                         REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235902 JASON J VILLANUEVA BONILLA                  REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235903 JASON L WILLIS                              REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235904 JASON LASANTA GONZALEZ                      REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675521 JASON LEAGUE                                BOSLOY 401             AVENUE RM 511                                                                           TOWSON              MD         21204

   675522 JASON M DELGADO MARCANO                     RES NARCISO VARONA     EDIF 22 APT 186                                                                         JUNCOS              PR         00777
   675523 JASON M. GONZALEZ MEDINA                    URB. CHALETS DEL RIO   #5 CALLE TAMESIS                                                                        BAYAMON             PR         00961
   235906 JASON MARTINEZ MARCIAL                      REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JASON MATOS RAMOS/ PRO                      CONTRACTOR AND SOLAR
   235907 SERVICE ELECTRICA                           SYSTEMS CORP           URB COCO BEACH               305 CALLE CORAL                                            RIO GRANDE          PR         00745
   235908 JASON MEDINA LEBRON                         REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235909 JASON MEDINA ROLDAN                         REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675524 JASON MENA MARTINEZ                         CIUDAD JARDIN          231 CALLE AMAPOLA                                                                       CAROLINA            PR         00987
   675525 JASON MORALES                               P O BOX 1560                                                                                                   CAROLINA            PR         00984
   675526 JASON MORALES DANIELS                       URB COUNTRY CLUB 822   CALLE FORMOSA                                                                           SAN JUAN            PR         00924
   675527 JASON MORALES MARADIAGA                     BRISAS DE HATILLO      A 13 CALLE ROCAFORT                                                                     HATILLO             PR         00659
   675528 JASON NOA                                   12 ATLANTIC PLACE      OCEAN PARK                                                                              SAN JUAN            PR         00911
   675529 JASON O SANTIAGO PEREZ                      P O BOX 269                                                                                                    VIEQUEZ             PR         00765
   235912 JASON ORTIZ RODRIGUEZ                       REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235913 JASON R CARRION PASTOR                      REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675532 JASON RAMOS RODRIGUEZ                       HC 3 BOX 12443                                                                                                 CAROLINA            PR         00987
          JASON RICHARD ADAMES
   235914 VARGAS                                      REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235915 JASON RIVERA RODRIGUEZ                      REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   235916 JASON RODRIGUEZ COLLADO                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  675533 JASON RODRIGUEZ COLON                        PO BOX 491                                                                                                   ARROYO            PR         00714
  235917 JASON RODRIGUEZ TORRES                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  235918 JASON RODRIGUEZ TOSCA                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  235919 JASON RODRIGUEZ VIGO                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  675534 JASON ROMAN MELENDEZ                         BOX 812                                                                                                      SABANA HOYOS      PR         00688
  235920 JASON RUIZ CAMACHO                           REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  235921 JASON RUIZ FELICIANO                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  235922 JASON SANCHEZ                                REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  675535 JASON SANTIAGO DIAZ                          P O BOX 1579                                                                                                 CAROLINA          PR         00984
  235923 JASON SERRANO DELGADO                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  675536 JASON SOLLA MARRERO                          BAYAMON COUNTRY CLUB   EDIF 45 APT B                                                                         BAYAMON           PR         00957
  675537 JASON TORRES DE JESUS                        VILLA DEL REY 4        4G 56 CALLE 3                                                                         CAGUAS            PR         00725
  235924 JASON TORRES RONDON                          REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  235925 JASON TREVINO RICHARDS                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  235926 JASON VALDES MATOS                           REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  675539 JASON VAZQUEZ GUZMAN                         URB EXT STA TERESITA   3612 CALLE SANTA JUANITA                                                              PONCE             PR         00730
  235927 JASON VAZQUEZ LLORET                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  235928 JASON VAZQUEZ RIVERA                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  675540 JASON VEGA MERCADO                           PO BOX 621                                                                                                   CIDRA             PR         00739
  235929 JASON XAVIER PEREZ PEREZ                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  675541 JASPER HALFMANN                              BARNHELMSTR 15 A       14429 BERLIN                                                                          ALEMANIA          BE                      GERMANY
  675542 JASPER O STALL WORTH                         PO BOX 34207                                                                                                 FORT BUCHANAN     PR         00934
  675543 JASSEN ORTHO‐LLE                             HC‐02 BOX 19250                                                                                              GURABO                       00778
  235931 JASSON A APONTE DELGADO                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  235935 JASUED CORP                                  REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  675544 JASY CONSTRUCTION SE                         PO BOX 10237                                                                                                 PONCE             PR         00732
  235936 JASYRA M RIVERA MEJIAS                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  675545 JAT WETLAND RESEARCH                         PMB 496                HC 01 BOX 29030                                                                       CAGUAS            PR         00725
  675546 JATAPA CORPORATION                           OFICINA A‐100          60 CALLE BOLIVIA                                                                      SAN JUAN          PR         00917

   235938 JATHIR K. CARRILLO RODRIGUEZ                REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   235939 JATHLEEN MEDINA RAMOS                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          JATHNNIE MARIE ORTIZ
   235940 CORDERO                                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   235941 JATNIEL MORALES GONZALEZ                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   235942 JATNIEL NEGRON ROSARIO                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   235943 JAUDICES ANTOGIORGIO RAMOS REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   235944 JAUHED F AVILES LOPEZ      REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   235945 JAUME ANSELMI MD, FRANCISCO REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   235952 JAUNARENA FERRARI, JOSE R   REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   235955 JAUREGI & ASSOCIATES        REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  1420096 JAURIDEZ JIMÉNEZ, HILDA     ROBERTO L. VARELA MUÑIZ                CALLE GOYCO 49                                                                        CAGUAS            PR         00725
   235964 JAURIDEZ OCASIO, MARIA S    REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   235966 JAVA MED PSC                PO BOX 270183                                                                                                                SAN JUAN          PR         00928
   675547 JAVARIZ INC                 PO BOX 1317                                                                                                                  AGUADILLA         PR         00605
   235969 JAVDDIEL MURATI FELIX       REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   235970 JAVED S LANGDON             REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   675548 JAVI PROMOTION INC          URB COLINAS DE FAIRVEIW                4 J 20 CALLE 217                                                                      TRUJILLO ALTO     PR         00976
   675549 JAVIC CHRISTMAS TREES       SANTA MARIA                            1904 REINA DE LAS FLORES                                                              SAN JUAN          PR         00927
   235971 JAVICE E JIMENEZ GONZALEZ   REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED




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          JAVID ALVAREZ A/C CLAUDIO
   675550 GOMEZ                                       COND VILLA PANAMERICANA   EDIF D APT 911                                                                     SAN JUAN            PR           00924
   235972 JAVIELA BLANCO HERNANDEZ                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   235973 JAVIELIZ CATERING SERVICE INC               PO BOX 5080                                                                                                  AGUADILLA           PR           00605
          JAVIELIZ DELI & CATERING
   235974 SERVICES                                    VILLA LIDIA               907 CALLE ODISEA                                                                   ISABELA             PR           00662
   675563 JAVIER A AGRELO PEREZ                       PO BOX 9024098                                                                                               SAN JUAN            PR           00902‐4098
   675564 JAVIER A ALVARADO TORRES                    HC 01 BOX 11343                                                                                              COAMO               PR           00769
   235977 JAVIER A AVILES DIAZ                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675565 JAVIER A CABALLERO PLAZA                    URB PUERTO NUEVO          CALLE 16 NE 1114                                                                   SAN JUAN            PR           00920
   235978 JAVIER A CALDERAS MORENO                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235979 JAVIER A CALES RODRIGUEZ                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235980 JAVIER A CARBALLO VELEZ                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235981 JAVIER A CASAS ARMENTEROS                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235982 JAVIER A CASTANER CUYAR                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235983 JAVIER A COLLAZO CORREA                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675568 JAVIER A COSME MORALES                      HC 71 BOX 3596                                                                                               NARANJITO           PR           00719
   235985 JAVIER A CUEVAS NADAL                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235986 JAVIER A CULSON PEREZ                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675570 JAVIER A DASTAS MENDEZ                      PO BOX 142264                                                                                                ARECIBO             PR           00614
   235987 JAVIER A DAVILA FIGUEROA                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675571 JAVIER A DIAZ FLORES                        PARC IMBERY BZN 29J       CALLE 3                                                                            BARCELONETA         PR           00617

   675572 JAVIER A ECHEVARRIA VARGAS                  4 CALLE VIRTUD                                                                                               PONCE               PR           00731
   675551 JAVIER A FELICIANO GUZMAN                   PMB 118 35 JC             BORBON STE 67                                                                      GUAYNABO            PR           00969‐5375
   675573 JAVIER A FELICIANO GUZMAN                   AVE DE DIEGO SUITE 302                                                                                       SAN JUAN            PR           00920‐2223
          JAVIER A FELICIANO GUZMAN
   235989 PSC                                         322 DE DIEGO AVENUE       SUITE 302                                                                          SAN JUAN            PR           00920‐2223
   235990 JAVIER A FUENTES COSME                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235991 JAVIER A GIBOYEAUX                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235992 JAVIER A GONZALEZ                           REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   675579 JAVIER A GONZALEZ VELAZQUEZ HC 01 BOX 12847                                                                                                              CAROLINA            PR           00985

   235995 JAVIER A HERNANDEZ SANTIAGO REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235996 JAVIER A IRIZARRY SANTIAGO  REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   235997 JAVIER A LABOY MONTANEZ     REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675581 JAVIER A LOPEZ              PO BOX 240                                                                                                                   SANTA ISABEL        PR           00757
   675582 JAVIER A LOPEZ RESTO        SAN ANTONIO BOX 451                       CALLE 113 H 1 K 14                                                                 QUEBRADILLAS        PR           00678
   235998 JAVIER A LOURIDO SANTIAGO   REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236000 JAVIER A MALDONADO ELIAS    REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236001 JAVIER A MARRERO SANCHEZ    REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675584 JAVIER A MARTY TORO         PO BOX 141                                                                                                                   HORMIGUEROS         PR           00660
   236002 JAVIER A MATTA FIGUEROA     REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675585 JAVIER A MELENDEZ LOPEZ     BO PLENA                                  CALLE 3                                                                            SALINA              PR           00751

   236003 JAVIER A MELENDEZ MELENDEZ                  REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236004 JAVIER A MIRANDA MARTINEZ                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   236005 JAVIER A MIRANDA RODRIGUEZ                  REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236006 JAVIER A MOLINA GONZALEZ                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236007 JAVIER A MOYA RODRIGUEZ                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  236009 JAVIER A NERIS TORRES                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236010 JAVIER A NOGUERAS VELEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236011 JAVIER A NUNEZ CAMACHO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  675586 JAVIER A OLIVARES RIVERA                      C 8 URB BRISAS DE CAMUY                                                                                         CAMUY               PR         00627
  236012 JAVIER A OLIVERAS BIANCHI                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236013 JAVIER A ORTIZ RIVERA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236014 JAVIER A OSORIO MARTINEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                       1735 E SOUTHERN MANOR
   675589 JAVIER A PEDROSA RIVERA                      DRIVE                                                                                                           TERRE HAUTE         IN         47802
   236015 JAVIER A PEREZ ACOSTA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675590 JAVIER A PEREZ PEREZ                         PO BOX 1569                                                                                                     UTUADO              PR         00641
   236016 JAVIER A PEREZ SONERA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675591 JAVIER A QUILES DURAN                        BO CARRIZALES               HC 01 BOX 4619                                                                      HATILLO             PR         00659
   236017 JAVIER A QUINTANA MENDEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236018 JAVIER A RAMOS LUINA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675592 JAVIER A RAMOS NAVARRO                       EXT SANTA TERESITA          4443 CALLE SANTA LUISA                                                              PONCE               PR         00730‐4640
   675593 JAVIER A RIVERA AGUINO                       HC 2 BOX 5682                                                                                                   LARES               PR         00669
   675594 JAVIER A RIVERA CORTES                       RES ANDRES MENDEZ LISIAGA   EDF 17 APT 100                                                                      SAN SEBASTIAN       PR         00685
   675595 JAVIER A RIVERA GUZMAN                       JARDINES DE CAYEY I         C 5 CALLE 5                                                                         CAYEY               PR         00736
   675596 JAVIER A RIVERA SOTO                         84 BO LA GRANJA                                                                                                 UTUADO              PR         00641
   675597 JAVIER A RODRIGUEZ FRANIL                    P.O. BOX 661                                                                                                    BOQUERON            PR         00622
   675598 JAVIER A RODRIGUEZ LOPEZ                     C 28 URB LA GUADALUPE                                                                                           PONCE               PR         00730
   675599 JAVIER A ROMAN NIEVES                        PO BOX 51593                                                                                                    TOA BAJA            PR         00950
   675600 JAVIER A ROSARIO CRUZADO                     BO POLVORIN                 BZN 150                                                                             MANATI              PR         00674
   236020 JAVIER A ROSARIO RIVAS                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JAVIER A ROSARIO/ INGRID
   236021 CINTRON                                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236022 JAVIER A RUSSI CASILLAS                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675601 JAVIER A SANTIAGO                            COUNTRY CLUB                NC 17 CALLE 444                                                                     CAROLINA            PR         00982
   236023 JAVIER A SANTOS JIMENEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JAVIER A SOLIVAN A/C JANETTE
   236024 RIVERA                                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236025 JAVIER A TORRES NIEVES                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236026 JAVIER A TORRES PEREZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675605 JAVIER A URBINA PARRA                        URB LEVITTOWN 3546          PASEO CONDE                                                                         TOA BAJA            PR         00949
          JAVIER A VAZQUEZ
   236027 AGUIRRE/RENEWABLE                            SOLUTIONS ENGINEERING INC   HC 2 BOX 13029                                                                      AIBONITO            PR         00705
   675606 JAVIER A VAZQUEZ FLORES                      PO BOX 20                                                                                                       PUERTO REAL         PR         00740
   236028 JAVIER A VAZQUEZ GALARZA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236029 JAVIER A VEGA CHALUISANT                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236030 JAVIER A VELAZQUEZ PEREZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675607 JAVIER A VELEZ LUGO                          STAR LIGHT                  3610 CALLE HIDRA                                                                    PONCE               PR         00717‐1466
          JAVIER A VIZCARRONDO
   236031 COLONDRES                                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236032 JAVIER A. COSME MORALES                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236033 JAVIER A. CRUZ APONTE                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   675608 JAVIER A. HERNANDEZ FLORES                   PO BOX 8171                                                                                                     CAROLINA            PR         00986
   236034 JAVIER A. LOPEZ CRUZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                   1001 CALLE FERNANDEZ
   675609 JAVIER A. MORALES OLIVERAS                   PARK TOWER                  CAMPOS # 25                                                                         SAN JUAN            PR         00907
   236035 Javier A. Morales Ramos                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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          JAVIER A. RIVERA DBA JAMALU
   236036 RENTAL                                      RR ‐ 01 BOX 17114                                                                                               TOA ALTA            PR           00959‐0000

   236037 JAVIER A. RODRIGUEZ MARTINEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   236038 JAVIER A. ROSARIO MULINELLI                 REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236039 JAVIER ABEDANO EZQUERRO                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   236040 JAVIER ACEVEDO CANDELARIO                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236041 JAVIER ACEVEDO GONZALEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675610 JAVIER ACEVEDO IRIZARRY                     URB. SAN JOSE III BUZON 506                                                                                     SABANA GRANDE       PR           00637
   236042 JAVIER ACEVEDO MENDEZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675613 JAVIER ACOSTA HERNANDEZ                     CHALETS DEL PARQUE            BOX 183                                                                           GUAYNABO            PR           00969
   675553 JAVIER ACOSTA ROSA                          URB FOREST HILLS 65 7R        CALLE URUGUAY                                                                     BAYAMON             PR           00959
   236043 JAVIER AGOSTO CRUZ                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675614 JAVIER AGOSTO TORRES                        URB GUARICO                   P 6 CALLE F                                                                       VEGA BAJA           PR           00693
   675615 JAVIER ALAMO RODRIGUEZ                      URB VILLA COOPERATIVA         E 19 CALLE 4                                                                      CAROLINA            PR           00985
          JAVIER ALBERTO GUILLERMO
   236044 SANCHEZ                                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675617 JAVIER ALERS MEJIAS                         HC 7 BOX 3141                                                                                                   LAS MARIAS          PR           00670

   236045 JAVIER ALEXIS MORALES LUGO                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236046 JAVIER ALFARO MENDEZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236048 JAVIER ALVARADO MARTINEZ                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236050 JAVIER ALVAREZ CRUZ                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236051 JAVIER ALVAREZ ORTEGA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675618 JAVIER ALVAREZ ORTIZ                        HC 5 BOX 94187                                                                                                  ARECIBO             PR           00612‐9625
   236052 JAVIER AMARO CRUZ                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675619 JAVIER AMODOR MENDEZ                        PO BOX 1105                                                                                                     GURABO              PR           00778
   675620 JAVIER AMU SIERRA                           PMB 107 P O BOX 7996                                                                                            MAYAGUEZ            PR           00681
   236054 JAVIER ANDUJAR VAZQUEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   236055 JAVIER ANIBAL NEGRON LUGO                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675621 JAVIER APONTE REYES                         PO BOX 509                                                                                                      SAN LORENZO         PR           00754
   675622 JAVIER APONTE ROSARIO                       92 PARC MACHOS                                                                                                  CEIBA               PR           00735
   236057 JAVIER ARCE GALVAN                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JAVIER ARMANDO ESTRADA
   236058 PEREZ                                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236059 JAVIER ARROYO CLAUDIO                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236060 JAVIER ARROYO ROSARIO                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236061 JAVIER ARVELO LOPEZ                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675623 JAVIER AUTO AIR                             554 AVE TRUCANDO                                                                                                HATILLO             PR           00659‐2712
   675625 JAVIER AUTO PARTS                           HC‐1 BOX 5685                                                                                                   OROCOVIS            PR           00720‐9702
   236062 JAVIER AVILES ALICEA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236064 JAVIER AVILES QUILES                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236065 JAVIER AYALA CARABALLO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675626 JAVIER AYALA CENTENO                        HC 1 BOX 4934                                                                                                   BARCELONETA         PR           00617
   675627 JAVIER AYALA MARTES                         HC 01 BOX 4828                                                                                                  JAYUYA              PR           00664
   236066 JAVIER AYALA RIVERA                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236067 JAVIER AYARDE MARISCAL                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236068 JAVIER B GONZALEZ ARROYO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236069 JAVIER B SEPULVEDA RIVERA                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675629 JAVIER BARRETO MENA                         P O BOX 141564                                                                                                  ARECIBO             PR           00614



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  675630 JAVIER BARRETO MOYA          PO BOX 362164                                                                                                                   SAN JUAN          PR         00936‐2164
  675632 JAVIER BARRETO RODRIGUEZ     PO BOX 414                                                                                                                      CANOVANAS         PR         00729
  236070 JAVIER BARTOLEMEI FLORES     REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  675633 JAVIER BATISTA ORTIZ         PO BOX 2701                                                                                                                     GUAYNABO          PR         00970
  236071 JAVIER BECERRA VARGAS        REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  236072 JAVIER BELLIDO CINTRON       REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  236073 JAVIER BELTRAN HERNANDEZ     REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  675634 JAVIER BERBERA RIVERA        URB ROOSEVELT                                529 CALLE MARCANO                                                                  SAN JUAN          PR         00918‐2746
  675635 JAVIER BERMUDEZ GONZALEZ     HC 03 BOX 11959                                                                                                                 UTUADO            PR         00641
  236075 JAVIER BERMUDEZ LOZADA       REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                      BO LAVADERO 57 CALLE
   675636 JAVIER BERNARDINI RODRIGUEZ FLAMBOYAN                                                                                                                       HORMIGUEROS       PR         00660

   675554 JAVIER BERRIOS ORTEGA                       COND JARDINES DE MONTE ALTO 325 CALLE 1 APT 18                                                                  TRUJILLO ALTO     PR         00976

   675639 JAVIER BONET CARRASQUILLO                   VILLAS DE CASTRO             EE 18 CALLE 25                                                                     CAGUAS            PR         00725
   236076 JAVIER BORIA CRUZ                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675640 JAVIER BORRERO BAEZ                         BO. FORTUNA                  KIOSKO 13 DE LUQUILLO                                                              LUQUILLO          PR         00773

   675641 JAVIER BOSQUE LANZOT H/N/C                  VALLE ARRIBA HTS             DF8 CALLE 202                                                                      CAROLINA          PR         00983‐3711
   236077 JAVIER BRANUELAS NIEVES                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675643 JAVIER BUITRAGO RAMIREZ                     P O BOX 1295 SUITE 177                                                                                          SAN LORENZO       PR         00754
          JAVIER BURES
   236081 VALIENTE/MAXIMO SOLAR                       INDUSTRIES                   3 URB MONTE PRIMAVERA                                                              CIDRA             PR         00739
   675644 JAVIER BURGOS                               URB SANTA JUANITA            BA 8 CALLE INDIA                                                                   BAYAMON           PR         00956
   236082 JAVIER BURGOS RUIZ                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675645 JAVIER BURGOS SANCHEZ                       HC 03 BOX 12199                                                                                                 YABUCOA           PR         00767
   236083 JAVIER BUS LINE                             REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   675646 JAVIER BUSTAMANTE GALARZA                   HC 6 BOX 10017                                                                                                  HATILLO           PR         00659
   236084 JAVIER CALDERO NEGRON                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236085 JAVIER CAMACHO PEREZ                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   236087 JAVIER CANDELARIO MD, JUAN                  REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236090 JAVIER CAQUIAS GARCIA                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236091 JAVIER CARABALLO COLON                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675648 JAVIER CARABALLO ROSARIO                    BDA MARIN                    HC 1                                                                               ARROYO            PR         00714
   675649 JAVIER CARDONA                              RES MONTE PARK               EDIF A APT 272                                                                     SAN JUAN          PR         00924
   236092 JAVIER CARDONA MARQUEZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675650 JAVIER CARDONA OTERO                        60 WASHINGTON                APT 1302                                                                           SAN JUAN          PR         00907
   236093 JAVIER CARRION DIAZ                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675651 JAVIER CARRION RAMOS                        VILLA PALMERA                A7 A CALLE FAJARDO                                                                 SAN JUAN          PR         00915
   236094 JAVIER CASIANO TORRES                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JAVIER CASIANO TORRES Y
   675652 MILAGROS PADILLA                            CENTRO JUDICIAL MAYAGUEZ     P O BOX 1210                                                                       MAYAGUEZ          PR         00681‐1210
   675655 JAVIER CASTRO SANTIAGO                      PMB 335 PO BOX 30000                                                                                            CANOVANAS         PR         00729
   675656 JAVIER CATERING                             PO BOX 1322                                                                                                     CAGUAS            PR         00726
   236096 JAVIER CEDO SEDA                            REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236097 JAVIER CERRA FERNANDEZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236099 JAVIER CHAPEL CORTES                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236100 JAVIER CHINEA SANTANA                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236101 JAVIER CINTRON RIVERA                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675657 JAVIER CINTRON ROSA                         HC 73 BOX 5285                                                                                                  NARANJITO         PR         00719



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  236102 JAVIER CINTRON SIERRA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JAVIER CINTRON Y/O ARROW
  675658 ELECTRIC                                     URB MIRAFLORES               31‐28 CALLE 39                                                                        BAYAMON             PR         00957
  236103 JAVIER CLAUDIO LOPEZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  675659 JAVIER CLAUDIO VELEZ                         URB PQUE DEL MONTE           CC 14 CALLE AGUEYBANA                                                                 CAGUAS              PR         00727
  236104 JAVIER COLLAZO SEPULVEDA                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236105 JAVIER COLON AGOSTO                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236106 JAVIER COLON ANGLERO                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236107 JAVIER COLON DIAZ                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  675661 JAVIER COLON MIGUEL                          VILLAS DE GUAYNABO           52 BETANCES APT 16                                                                    GUAYNABO            PR         00971
  675662 JAVIER COLON MOJICA                          URB SANTA ELVIRA             P 7 CALLE SANTA CLARA                                                                 CAGUAS              PR         00725
  236108 JAVIER COLON RAMOS                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236109 JAVIER COLON RODRIGUEZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  675663 JAVIER COLON TIBURCIO                        URB GARCIA PONCE             A 4 CALLE SAN ANTONIO                                                                 FAJARDO             PR         00748
  675665 JAVIER CORDOVA ITURREGUI                     PO BOX 0833                                                                                                        SAN JUAN            PR         00902
  675666 JAVIER CORREA BENITEZ                        HC 01 BOX 11562                                                                                                    CAROLINA            PR         00985

   675668 JAVIER COTTO RIVERA                         BO TOITA SECTOR LOS COTTO    HC 43 BOX 12091                                                                       CAYEY               PR         00736
   236113 JAVIER CRESPO ACEVEDO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236115 JAVIER CRUZ ACEVEDO                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675671 JAVIER CRUZ DENIS                           PO BOX 9023207                                                                                                     SAN JUAN            PR         00902‐3207
   236117 JAVIER CRUZ PEREIRA                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675555 JAVIER CRUZ ROSARIO                         HC 2 BOX 17641                                                                                                     RIO GRANDE          PR         00745
   675673 JAVIER CRUZ SOLER                           RES ROOSEVELT                EDF 19 APT 433                                                                        MAYAGUEZ            PR         00680
   236119 JAVIER CRUZ TORRES                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236120 JAVIER CRUZ VEGA                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675674 JAVIER CRUZADO ACEVEDO                      PO BOX 3531                                                                                                        VEGA ALTA           PR         00692
          JAVIER CUEVAS DBA JGS COPY                  URB. COLINAS DEL PLAZA #22
   236121 AND FAX SYSTE                               CAMINO DEL RIO                                                                                                     TOA ALTA            PR         00953
   236122 JAVIER CUEVAS PADILLA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675675 JAVIER CUEVAS SILVA                         PO BOX 195503                                                                                                      SAN JUAN            PR         00919‐5503
   236123 JAVIER CURET RIVERA                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675676 JAVIER D COLON RIVERA                       PMB 580 BOX 2500                                                                                                   TOA BAJA            PR         00951
   236124 JAVIER D ESPINET CORDERO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675677 JAVIER D LOPEZ MARTIN                       URB VERDEMAR                 375 CALLE 14                                                                          HUMACAO             PR         00741
   675678 JAVIER D MENDOZA LABOY                      P O BOX 719                                                                                                        YABUCOA             PR         00767
   236125 JAVIER D NUNEZ OTERO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236126 JAVIER D PAGAN SAEZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236127 JAVIER D PEREZ ROMAN                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236128 Javier D Ramirez Casull                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236130 JAVIER D. GARCIA BERRIOS                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   675680 JAVIER DAVID LASALA ALEMAN                  256 ROSARIO ST APT 406                                                                                             SAN JUAN            PR         00912
   236131 JAVIER DAVILA CRESPO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236132 Javier Davila Ortiz                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675681 JAVIER DE JESUS CARRION                     HC 764 BOX 6132                                                                                                    PATILLAS            PR         00723
   236133 JAVIER DE JESUS CASILLAS                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675683 JAVIER DE JESUS MARTINEZ                    EL MONTE SUR                 190 CALLE HOSTOS APT 928                                                              SAN JUAN            PR         00918
   236134 JAVIER DE LA LUZ GAMARRA                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   675685 JAVIER DE LEON/EQUIPO TITANS LOMAS DE CAROLINA                           2C 39 CALLE 51                                                                        CAROLINA            PR         00987
   236135 JAVIER DEL VALLE CASTILLO    REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675686 JAVIER DELGADO GARCIA        P O BOX 140730                                                                                                                    ARECIBO             PR         00614‐0730



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  675689 JAVIER DELGADO TORRADO                       HC 4 BOX 47304                                                                                                     HATILLO           PR         00659
  236136 JAVIER DIAZ BAEZ                             REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  675690 JAVIER DIAZ BETANCOURT                       RR 2 BOX 999                                                                                                       SAN JUAN          PR         00926
  675691 JAVIER DIAZ CARMONA                          PO BOX 2504                                                                                                        GUAYNABO          PR         00969
  236137 JAVIER DIAZ MERCADO                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  236138 JAVIER DIAZ UMPIERRE                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  675693 JAVIER DONATE LAUREANO                       CASTELLANA GARDENS          M6 CALLE 15                                                                            CAROLINA          PR         00983
                                                                                  103 CALLE PEDRO RODRIGUEZ
   675695 JAVIER E BAEZ AYALA                         BADA SAN ISIDRO             ACOSTA                                                                                 SABANA GRANDE     PR         00637
   675696 JAVIER E BALL SEPULVEDA                     PO BOX 785                                                                                                         LARES             PR         00669
          JAVIER E BIDOT & ASSOCIATES
   236139 PSC                                         URB TERRA LINDA             16 CORDOVA STREET                                                                      CAGUAS            PR         00727
   675697 JAVIER E CABRERA NARVAEZ                    URB OASIS GARDENS M 12      CALLE 18                                                                               GUAYNABO          PR         00969
   236140 JAVIER E CACERES PEREZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675698 JAVIER E CALCANO LOPEZ                      LOIZA VALLEY                184 D TULIPAN                                                                          CANOVANAS         PR         00729
   675699 JAVIER E CID NIEVES                         P O BOX 37547                                                                                                      SAN JUAN          PR         00937‐0547
   236141 JAVIER E COLON IRIZARRY                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675556 JAVIER E CORA HUERTAS                       HC 1 BOX 6003               BO YAUREL                                                                              ARROYO            PR         00714
   236142 JAVIER E CRUZ GARCIA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236143 JAVIER E DE JESUS COLON                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675700 JAVIER E DOMINGUEZ PEREZ                    URB METROPOLIS              H 25 CALLE 12                                                                          CAROLINA          PR         00987‐7440
   236144 JAVIER E ESPINOSA MARTINEZ                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   236145 JAVIER E GONZALEZ MELENDEZ                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675702 JAVIER E GUTIERREZ                          URB EL CONQUISTADOR         E 59 AVE DIEGO VELAZQUEZ                                                               TRUJILLO ALTO     PR         00976

   236146 JAVIER E HERNANDEZ SALGADO                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675703 JAVIER E JAVIER                             PO BOX 9021112                                                                                                     SAN JUAN          PR         00902‐1112
   675704 JAVIER E LOPEZ RIOS                         183 VEVE CALZADA                                                                                                   FAJARDO           PR         00738
   236147 JAVIER E MARTINEZ SOSTRE                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236148 JAVIER E MERCADO DE JESUS                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675706 JAVIER E MORALES LOPEZ                      P O BOX 532                                                                                                        LARES             PR         00669
   236149 JAVIER E MUNIZ APONTE                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675707 JAVIER E OCASIO FIGUEROA                    131 B MONTALVA                                                                                                     ENSENADA          PR         00647

   675708 JAVIER E OLMEDA                             ESTANCIAS DE SAN FERNANDO   F 13 CALLE 8                                                                           CAROLINA          PR         00985
   675709 JAVIER E OLMO QUINTANA                      URB VENUS GARDENS           679 CALLE LEO                                                                          RIO PIEDRAS       PR         00926
   675710 JAVIER E OTERO VILELLA                      HC 1 BOX 4766                                                                                                      HATILLO           PR         00659
   236150 JAVIER E PEREZ CASTRO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236151 JAVIER E PEREZ FERNANDEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236152 JAVIER E RAMIREZ CAMACHO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675711 JAVIER E RAMOS PEREZ                        URB SANTA PAULA             A 8 CALLE 3                                                                            GUAYNABO          PR         00969
   236153 JAVIER E RIVERA LOPEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   236154 JAVIER E RODRIGUEZ FELICIANO                REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236156 JAVIER E RODRIGUEZ GARCIA                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236157 JAVIER E RODRIGUEZ HORTA                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236158 JAVIER E RODRIGUEZ JARABO                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   236159 JAVIER E RODRIGUEZ RAMIREZ                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675712 JAVIER E ROMAN MANGUAL                      URB PARK GARDENS            W7 AVE PARK GARDENS                                                                    SAN JUAN          PR         00926‐2153
   675713 JAVIER E ROQUE ROSARIO                      HC 02 BOX 33606                                                                                                    CAGUAS            PR         00725‐9416
   236160 JAVIER E ROSA RIVERA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  236161 JAVIER E SANTIAGO MENDEZ       REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236162 JAVIER E SANTIAGO RIVERA       REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  675715 JAVIER E SANTIAGO SANTOS       PMB 118                                    1507 AVE PONCE DE LEON                                                              SAN JUAN            PR         00909
  236163 JAVIER E SEMIDEY SANTIAGO      REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236164 JAVIER E TRIGO MARIN           REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JAVIER E VAZQUEZ MOLINA / JE R
  675716 SOUND DJ                       4TA SECC SANTA JUANITA                     RR 15 CALLE 33 ESTE                                                                 BAYAMON             PR         00956
  236165 JAVIER E. CRUZ GARCIA          REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   236166 JAVIER E. HERNANDEZ AGUAYO                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236167 JAVIER E. JIMENEZ GONZALEZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675717 JAVIER E. MARQUES MUNOZ                      PO BOX 1793                                                                                                     AIBONITO            PR         00705

   236168 JAVIER E. MARTINEZ POMALES                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236169 JAVIER E. OLMO NAZARIO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   236170 JAVIER E. VAZQUEZ RODRIGUEZ                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JAVIER ENRIQUE CARRION
   236171 CARABALLO                                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236172 JAVIER ESCUDERO                              REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236173 JAVIER ESPINAL ALCINA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675718 JAVIER ESTRADA FERNANDEZ                     409 CALLE SAN FRANCISCO                                                                                         SAN JUAN            PR         00901‐1733
   675719 JAVIER ESTREMERA PEREZ                       HC 1 BOX 3460                                                                                                   QUEBRADILLAS        PR         00678
   236177 JAVIER F CORDERO VEGA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675720 JAVIER F FERRER SANTOS                       VALLE SAN JUAN              SJ 46 VIA PARIS                                                                     TRUJILLO ALTO       PR         00976
   236178 JAVIER F FRONTERA AYMAT                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                       MIRAMAR 550 CALLE
   675721 JAVIER F JUNCO HERNANDEZ                     WAYMOUTH                                                                                                        SAN JUAN            PR         00907‐2510
                                                       URB SAN IGNACIO1765 CALLE
   675722 JAVIER F ORTIZ RODRIGUEZ                     SAN DIEGO                                                                                                       SAN JUAN            PR         00927
   675723 JAVIER F PESCADOR                            HYDEPARK                    232 CALLE FLAMBOYANES                                                               SAN JUAN            PR         00927

   675724 JAVIER F RIVERA DE CHOUDERS                  URB VALLE VERDE 2 BA        13 CALLE RIO AMAZONAS                                                               BAYAMON             PR         00961
   236181 JAVIER F ROSA RIVERA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236182 JAVIER F SELLES MORALES                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675725 JAVIER F V M                                 76 CALLE A R RAMOS                                                                                              UTUADO              PR         00641
   236183 JAVIER F VILARINO SANTIAGO                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675726 JAVIER F. SANTIAGO PEREZ                     URBLOS CERROS               CALLE D 1                                                                           ADJUNTAS            PR         00601
   675727 JAVIER FALCONI OLIVERAS                      124 PUNTA PALMA                                                                                                 BARCELONETA         PR         00617
   236184 JAVIER FARACH MD, C                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675728 JAVIER FELICIANO RAMOS                       BRISAS DEL MAR              ER 5 CALLE ACCESO                                                                   LUQUILLO            PR         00773
   236185 JAVIER FELIU RIVERA                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236186 JAVIER FELIX DELGADO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   675729 JAVIER FERNANDEZ CORDOVA                     URB MONRTECASINO            E 13 CALLE PIRAGUA                                                                  TOA ALTA            PR         00953
          JAVIER FERNANDEZ
   675730 MONTEAGUDO                                   P.O. BOX 1871                                                                                                   MAYAGUEZ            PR         00681
   236187 JAVIER FERNANDEZ MORALES                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675731 JAVIER FERRER BRIONES                        JARDINES DE CAPARRA         Y 7 CALLE 43                                                                        BAYAMON             PR         00959‐7727
   236189 JAVIER FIGUEROA GONZALEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236190 JAVIER FIGUEROA MARTINEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   675732 JAVIER FIGUEROA MONTALVO                     BDA SANTA JUANITA           P O BOX 132                                                                         GUANICA             PR         00653
   675557 JAVIER FIGUEROA NU¥EZ                        PO BOX 132                                                                                                      GUAYNABO            PR         00970‐0132



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  236191 JAVIER FIGUEROA PEREZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  236192 JAVIER FIGUEROA SANTIAGO                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  236194 JAVIER FIGUEROA SOTO                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  236197 JAVIER FLORES BENEJAN                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  675734 JAVIER FLORES RIVERA                         MONTE SUBACIO               F 8 CALLE 11                                                                       GURABO             PR         00778
  675735 JAVIER FLORES ZAYAS                          HC 01 BOX 4108                                                                                                 SANTA ISABEL       PR         00757‐9201
  236198 JAVIER FONT ALVELO                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   675736 JAVIER FONTANEZ BERBERENA                   RR 2 BOX 6212                                                                                                  MANATI             PR         00664
   675737 JAVIER FONTANEZ CRUZ                        HC 02 BOX 12884                                                                                                AGUAS BUENAS       PR         00703‐9604
                                                      MSC 258 100 GRAND
   675738 JAVIER FREYTES CACHO                        BOULEVARD                   PASEOS                                                                             SAN JUAN           PR         00926
   236200 JAVIER FUSTER MERCADO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   236201 JAVIER G RODRIGUEZ DIAZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   236202 JAVIER GALLARDO PASTOR                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   675742 JAVIER GARCIA CRUZ                          PO BOX 364466                                                                                                  SAN JUAN           PR         00936‐4466
   675743 JAVIER GARCIA GARCIA                        PARC FALU                   154 CALLE 8 # B                                                                    SAN JUAN           PR         00924
   675744 JAVIER GARCIA GARRIDO                       URB LAS VILLAS              12 CALLE B                                                                         GUAYNABO           PR         00969
   675745 JAVIER GARCIA LUGO                          HC 1 BOX 6224                                                                                                  YAUCO              PR         00698
   675747 JAVIER GARCIA RESTO                         PO BOX 920                                                                                                     DORADO             PR         00646
   236203 JAVIER GARCIA ROMAN                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   236204 JAVIER GARCIA SANTIAGO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   675748 JAVIER GARCIA SINDO                         BO CAPAEZINT                HC 04 BOX 42500                                                                    HATILLO            PR         00659
   236205 JAVIER GASCOT ZAYAS                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   675749 JAVIER GIRAUD JOVE                          HC 6 BOX 97009                                                                                                 ARECIBO            PR         00612‐9215
   236206 JAVIER GODINEZ                              REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   236207 JAVIER GOMEZ ORTIZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   675750 JAVIER GOMEZ VELAZQUEZ                      P O BOX 7712                                                                                                   LAS PIEDRAS        PR         00771
   675752 JAVIER GONZALEZ BAUZA                       HC 5 BOX 57079                                                                                                 AGUADILLA          PR         00603
   236208 JAVIER GONZALEZ CARRASCO                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   236210 JAVIER GONZALEZ GONZALEZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   236212 JAVIER GONZALEZ MONTANEZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   675754 JAVIER GONZALEZ ORTIZ                       RR 1 BOX 10591                                                                                                 OROCOVIS           PR         00720
   236213 JAVIER GONZALEZ OTERO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   236214 JAVIER GONZALEZ RODRIGUEZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   675755 JAVIER GONZALEZ ROMAN                       URB VALLE ARRIBA            229 L 18 CALLE SAUCES                                                              COAMO              PR         00769
   675756 JAVIER GONZALEZ ROMERO                      ALTURAS DE RIO GRANDE       F 260 CALLE 6                                                                      RIO GRANDE         PR         00745
   236216 JAVIER GONZALEZ SANCHEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   236217 JAVIER GONZALEZ SEGARRA                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   675757 JAVIER GONZALEZ VEGA                        HC 08 BOX 49740                                                                                                CAGUAS             PR         00725
   236220 JAVIER GUZMAN HOSTA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   675758 JAVIER GUZMAN RAMOS                         HC 02 BOX 7350                                                                                                 UTUADO             PR         00641

   236221 JAVIER H CARDONA GONZALEZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   236222 JAVIER H MUNIZ                              REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   236223 JAVIER H RUIZ SORDO                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   675759 JAVIER H SANTIAGO JAIMAN                    P O BOX 572                                                                                                    SANTA ISABEL       PR         00757
   675760 JAVIER HERNANADEZ OCASIO                    CERRO GORDO                 RR 4 BOX 548                                                                       BAYAMON            PR         00956
   675761 JAVIER HERNANDEZ                            14 JUAN HERNANDEZ APT 5 B                                                                                      GUAYNABO           PR         00971‐9730

   675764 JAVIER HERNANDEZ CARDONA                    BELLO MONTE                 U 2 CALLE 6                                                                        GUAYNABO           PR         00969



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   675765 JAVIER HERNANDEZ FERRER                     4 B CALLE AMERICO HERNANDEZ                                                                                     MOCA                 PR           00676

   236224 JAVIER HERNANDEZ GONZALEZ                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   236227 JAVIER HERNANDEZ LAI                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   236228 JAVIER HERNANDEZ RIOS                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   675768 JAVIER HERNANDEZ VELEZ                      PMB 107                       PO BOX 5006                                                                       YAUCO                PR       00698
   236230 JAVIER HERRERA SERRANO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   236232 JAVIER HUERTAS CARRION                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   236233 JAVIER HUERTAS RAPPA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   236234 JAVIER I AUFFANT COLON                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   236235 JAVIER I BELLIDO MORALES                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   675772 JAVIER I GIL CEBALLO                        PO BOX 270056                                                                                                   SAN JUAN             PR       00927‐0056
   236236 JAVIER I JIMENEZ ACEVEDO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   236237 JAVIER I LASSO VALENCIA                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   675773 JAVIER I LUGO LEON                          VILLAS DEL CAFETAL            A 6 CALLE 1                                                                       YAUCO                PR       00693
   236238 JAVIER I PEREZ SUAREZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   236240 JAVIER I SARRAGA OYOLA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   236241 JAVIER I TORO TORRES                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   236242 JAVIER I VAZQUEZ ORTIZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   236243 JAVIER I. TORO TORRES                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   236244 JAVIER INCLAN APONTE                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   675775 JAVIER ISADO                                MANS DE TINTILLO              20 CALLE 1                                                                        GUAYNABO             PR       00966
   675776 JAVIER J ALVARADO SOSTRE                    URB LAS CUMBRES               223 CALLE LAUREL                                                                  MOROVIS              PR       00687
   236245 JAVIER J ALVAREZ GONZALEZ                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   675777 JAVIER J COLON ORTIZ                        PO BOX 4952                                                                                                     CAGUAS               PR       00726
   236246 JAVIER J GONZALEZ TEJERO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   236247 JAVIER J HERNANDEZ ACOSTA                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   675778 JAVIER J LEBRON DEL MORAL                   URB LOS ANGELES               H 17 CALLE A                                                                      YABUCOA              PR       00767

   675779 JAVIER J MALDONADO RIVERA                   P O BOX 30160                                                                                                   MANATI               PR           00674
   236248 JAVIER J MUNOZ DELGADO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   236249 JAVIER J MUNOZ MALDONADO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   236250 JAVIER J PAGAN MARTINEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   675780 JAVIER J PAGAN RIVERA                       LA CENTRAL                    PARC 157 C/ 7                                                                     CANOVANAS            PR           00729
   675781 JAVIER J PEREZ ANDREU                       URB SIERRA DEL RIO            BOX 66 C7K1                                                                       SAN JUAN             PR           00926
   236251 JAVIER J PEREZ ARRABAL                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   236252 JAVIER J RAMIREZ ANDUJAR                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   236253 JAVIER J RIVERA BARTOLOMEI                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   675782 JAVIER J RIVERA MALDONADO                   URB VILLA REAL                A5 CALLE 1                                                                        VEGA BAJA            PR           00693
   675783 JAVIER J ROMAS SEDA                         URB SAGRADO CORAZON           364 SAN GENARO                                                                    SAN JUAN             PR           00926
   675784 JAVIER J VELEZ RIVERA                       PO BOX 9021112                                                                                                  SAN JUAN             PR           00902‐1112

   236254 JAVIER J. HERNANDEZ SANTIAGO REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   675785 JAVIER JEREZ LOPEZ           URB VISTA AZUL                               FF 24 CALLE 28                                                                    ARECIBO              PR           00612
   675787 JAVIER JOGRAJ ORTIZ          RR 4 BOX 27463                                                                                                                 TOA ALTA             PR           00953

   236256 JAVIER JOSE BERRIOS REILOVA                 REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   236257 JAVIER JOSE DILAN PEREZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JAVIER JOSE PANDOLFI DE
   236259 RINALDIS                                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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MML ID                NAME                        ADDRESS 1                         ADDRESS 2              ADDRESS 3                           ADDRESS 4               CITY        STATE    POSTAL CODE       COUNTRY
  675788 JAVIER JUSTINIANO ALAYON       COND FRANCIA 3D                                                                                                    SAN JUAN             PR         00911
  236260 JAVIER L BENITEZ RUIZ          REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  675789 JAVIER L BUENO PEREZ           URB DORADO DEL MAR               LL 3 CALLE BOULEVARD                                                              DORADO               PR         00646
         JAVIER L GARCIA / EQUIP BRENAS
  236261 VEGA BAJA                      P O BOX 8766                     SABANA BRANCH                                                                     VEGA BAJA            PR         00693
  236262 JAVIER L MORENO                REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  675790 JAVIER LA FONTAINE DIAZ        ESTANCIAS DE LAS FUENTES         AA 48 CALLE DEL REY                                                               TOA ALTA             PR         00953
  675791 JAVIER LABOY COLON             HC 01 BOX 5404                                                                                                     SALINA               PR         00751
  236264 JAVIER LAFARGA GONZALEZ        REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  236265 JAVIER LAFONTAINE RIVERA       REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  236266 JAVIER LAGUER PSYD, JOSE G     REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  236267 JAVIER LAGUER RODRIGUEZ        REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  236269 JAVIER LAGUERRE ACEVEDO        REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
         JAVIER LARREGUI A/C MAYRA
  675792 ORTIZ                          RES MANUEL A PEREZ               EDIF D 4 APT 48                                                                   SAN JUAN             PR         00923
  675793 JAVIER LARREGUI RODRIGUEZ      P O BOX 959                                                                                                        CIALES               PR         00638
  675794 JAVIER LASALLE RUIZ            PO BOX 325                                                                                                         QUEBRADILLAS         PR         00678
  236270 JAVIER LEBRON HERNANDEZ        REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  675795 JAVIER LIZARDI APONTE          EXT LA MILAGROSA                 C 5 CALLE 10                                                                      BAYAMON              PR         00959
  236272 JAVIER LLANO CRUZ              REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  675796 JAVIER LOPEZ                   URB STAR LIGHT                   4549 DENED STREET                                                                 PONCE                PR         00717
  675797 JAVIER LOPEZ BOU               P O BOX 367                                                                                                        COROZAL              PR         00783
                                        7032 AVE AGUSTIN RAMOS
  675799 JAVIER LOPEZ MENDEZ            CALERO                                                                                                             ISABELA              PR         00662
  236277 JAVIER LOPEZ RODRIGUEZ         REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  675801 JAVIER LOZADA OSORIO           BP SAN MIGUEL                    7 CALLE ESPERANZA                                                                 GUAYNABO             PR         00966
  236279 JAVIER LUIS ROBLES FLORES      REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  236280 JAVIER LUNA LOPEZ              REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  236281 JAVIER M CUBERO BOWDEN         REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  236282 JAVIER M FELIX GONZALEZ        REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  236283 JAVIER M GARCIA QUINTANA       REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
         JAVIER M RODRIGUEZ
  675803 CONCEPCION                     P O BOX 478                                                                                                        QUEBRADILLAS         PR         00678
  236284 JAVIER M TORRES LOPEZ          REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  236285 JAVIER MACHINE SHOP            REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  236286 JAVIER MALDONADO DIAZ          REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  236287 JAVIER MALDONADO DURAN         REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   236288 JAVIER MALDONADO MARTINEZ REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   675804 JAVIER MALDONADO OFARRILL                    EL CONQUISTADOR   B 9 CALLE 1                                                                       TRUJILLO ALTO        PR         00976

   675805 JAVIER MALDONADO ROMACHO PO BOX 3086                                                                                                             ARECIBO              PR         00613
          JAVIER MALDONADO Y MARIBEL
   236289 LA TORRE                   REDACTED                            REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   675806 JAVIER MARIN CORTES        12 BDA CUMBRE ALTA                                                                                                    UTUADO               PR         00641
   236293 JAVIER MARQUEZ MONROIG     REDACTED                            REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   675808 JAVIER MARRERO             PO BOX 21365                                                                                                          SAN JUAN             PR         00928
   675809 JAVIER MARTINEZ            HC 1 BOX 1911                                                                                                         CABO ROJO            PR         00622
   236295 JAVIER MARTINEZ AYALA      REDACTED                            REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   675810 JAVIER MARTINEZ BULTED     10 CALLE CRUZ                                                                                                         YAUCO                PR         00698
   236297 JAVIER MARTINEZ DEL VALLE  REDACTED                            REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   675812 JAVIER MARTINEZ FELICIANO  SIERRA BAYAMON                      13 CALLE 2 BLQ 12                                                                 BAYAMON              PR         00961



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  675559 JAVIER MARTINEZ GONZALEZ                     URB COUNTRY CLUB              902 CALLE ZUMBADOR                                                                        SAN JUAN            PR           00924‐3346

   675814 JAVIER MARTINEZ RIVERA                      COND GOLDEN VIEW              PL 503 CALLE MODESTA APT 607                                                              SAN JUAN            PR           00924‐4521

   236298 JAVIER MARTINEZ RODRIGUEZ                   REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JAVIER MARTINEZ RODRIGUEZ
   675815 /MADELYN ORTIZ                              PO BOX 26524                                                                                                            CAYEY               PR           00736
   236301 JAVIER MARTINEZ VELEZ                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236303 JAVIER MATIAS MOLL                          REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   675817 JAVIER MATOS                                UNIVERSITY GARDENS            329‐A CALLE CLEMSON                                                                       RIO PIEDRAS         PR           00927
   675818 JAVIER MATOS VAZQUEZ                        SIERRA BAYAMON                BLQ 60‐3 CALLE 55 ATPO 1                                                                  BAYAMON             PR           00961
   675820 JAVIER MAYSONET RUBIO                       URB RIO HONDO I               E 26 CALLE RIO CAONILLAS                                                                  BAYAMON             PR           00961
   236305 JAVIER MEDINA MENDEZ                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   675821 JAVIER MEDINA PEREZ                         HC 3 BOX 17395                                                                                                          QUEBRADILLAS        PR           00678
   236306 JAVIER MEDINA RAMOS                         REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236307 JAVIER MEDINA RIOS                          REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236309 JAVIER MELENDEZ                             REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   675822 JAVIER MELENDEZ CARMONA                     PO BOX 51                                                                                                               TOA ALTA            PR           00954
   236310 JAVIER MELENDEZ ROSADO                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   675823 JAVIER MELENDEZ VAZQUEZ                     1106 TNTE CESAR GONZALEZ                                                                                                SAN JUAN            PR           00928
   675824 JAVIER MENDEZ ALVAREZ                       3 COND COMODORO                                                                                                         ISLA VERDE          PR           00979
   236311 JAVIER MENDEZ ARCE                          REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   675825 JAVIER MENDEZ JOY                           THE VILLAGE IN SAN PATRICIO   630 AVE SAN PATRICIO, TH 207                                                              GUAYNABO            PR           00968
   236312 JAVIER MENDEZ VELEZ                         REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   675827 JAVIER MENENDEZ                             ALTO APOLO                    2120 CALLE DELFOS                                                                         GUAYNABO            PR           00969
   675828 JAVIER MERCADO                              URB LAS AMERICAS              MM28 CALLE 4                                                                              BAYAMON             PR           00959
   675829 JAVIER MERCADO CABRERA                      HC 01 BOX 5273                                                                                                          BARRANQUITAS        PR           00794
          JAVIER MERCADO DBA
   236314 MERCADO DISTRIBUTORS                        PO BOX 1138                                                                                                             BARRANQUITAS        PR           00794
          JAVIER MERCADO
   236315 ORTIS/DBA/MERCADO DIST.                     PO BOX 1138                                                                                                             BARRANQUITAS        PR           00794
   236317 JAVIER MILAN PIETRI                         REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236318 JAVIER MILLAN CRUZ                          REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   675830 JAVIER MIRANDA RIVERA                       HC 03 BOX 25879                                                                                                         LAJAS               PR           00667
   675831 JAVIER MIRANDA ROSA                         P O BOX 1490                                                                                                            AGUADA              PR           00602
   236320 JAVIER MOLINA GARCIA                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   675833 JAVIER MOLINA PIZARRO                       CAROLINA PUEBLO               13 CALLE SALVADOR BRAU                                                                    CAROLINA            PR           00986
   236321 JAVIER MONTALVO CINTRON                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236324 JAVIER MONTANEZ ORTIZ                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236326 JAVIER MONTES MEDINA                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236327 JAVIER MORALES                              REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   236328 JAVIER MORALES BETANCOURT                   REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236329 JAVIER MORALES CAJIGAS                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236330 JAVIER MORALES FERNANDEZ                    REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   675834 JAVIER MORALES HERNANDEZ                    BOX 1239                                                                                                                JAYUYA              PR           00664
   675835 JAVIER MORALES LOPEZ                        P.O BOX 532                                                                                                             LARES               PR           00669 0532
   236331 JAVIER MORALES MERCED                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236334 JAVIER MORALES RODRIGUEZ                    REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   675837 JAVIER MORALES VARGAS                       MSC 57 RR 3 BOX 3125                                                                                                    SAN JUAN            PR           00926
   236336 JAVIER MORALES VEGA                         REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236337 JAVIER MORALES VELEZ                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  236338 JAVIER MORENO OTERO                          REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  675839 JAVIER MORENO PEREZ                          URB COLINAS DE HATILLO 71                                                                                           HATILLO           PR         00659
  675840 JAVIER MORET VARGAS                          URB VILLA ROSA II           C 1 CALLE C                                                                             GUAYAMA           PR         00784
  236339 JAVIER MULERO VEGA                           REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  236340 JAVIER MUNIZ PENA                            REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  236341 JAVIER MUNOZ MEDINA                          REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  236342 JAVIER MURIEL DELBREY                        REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  675841 JAVIER MURIEL MELENDEZ                       PO BOX 7126                                                                                                         PONCE             PR         00732
  675842 JAVIER MURIEL ROMAN                          HC 02 BOX 13862                                                                                                     AGUAS BUENAS      PR         00703‐9609

   675843 JAVIER MUSKUS ROSARIO                       232 AVE ELEONOR ROOSEVELT                                                                                           SAN JUAN          PR         00907
   236343 JAVIER N CABRERA FELICIANO                  REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236344 JAVIER NEGRON AFANADOR                      REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236345 JAVIER NEGRON DELGADO                       REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675844 JAVIER NEGRON MARRERO                       HC 02 BOX 80204                                                                                                     CIALES            PR         00613
   675845 JAVIER NEGRON NIEVES                        HC 1 BOX 5828                                                                                                       JUNCOS            PR         00777
   675846 JAVIER NEGRON RIVERA                        HC 1 BOX 17662                                                                                                      HUMACAO           PR         00791

   675847 JAVIER NEGRON ROSARIO                       URB LEVITTOWIN 3RA          SECCION 3352 PASEO CARMEN                                                               TOA BAJA          PR         00949
   236346 JAVIER NEGRON VEGA                          REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236347 JAVIER NIEVES CAMACHO                       REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675849 JAVIER NIEVES NIEVES                        URB JARDINES DE NARANJITO   64 CALLE GARDENIA                                                                       NARANJITO         PR         00719
   675850 JAVIER NIEVES RIVERA                        HC 01 3719                  BO SAN ANTON                                                                            QUEBRADILLAS      PR         00678
   236348 JAVIER NIEVES ROSADO                        REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675851 JAVIER NORIEGA COSTAS                       EDIF BANCO COOP             OFIC 305B                   AVE PONCE DE LEON 623                                       SAN JUAN          PR         00917
   675852 JAVIER NU EZ FIGUEROA                       PO BOX 235                                                                                                          VILLALBA          PR         00766
   236352 JAVIER O ALAYON DEL VALLE                   REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   236353 JAVIER O ALMODOVAR NEGRON REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236354 JAVIER O CORDERO RIOS     REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   675854 JAVIER O DEL VALLE RODRIGUEZ PO BOX 360518                                                                                                                      SAN JUAN          PR         00936
   675855 JAVIER O DOMENECH             BOX 709                                                                                                                           SAN SEBASTIAN     PR         00685
          JAVIER O GUZMAN GARCIA / LISA
   236356 M GARCIA                      REDACTED                                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236357 JAVIER O MATOS RAMOS          REDACTED                                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   675856 JAVIER O MORALES                            359 COND DE DIEGO           AVE DE DIEGO SUITE 501 PDA 22                                                           SAN JUAN          PR         00909‐1711
   675858 JAVIER O ORSINI MARRERO                     URB LAGOS DE PLATA          CALLE 12                                                                                TOA BAJA          PR         00949
   236358 JAVIER O ORTIZ AYALA                        REDACTED                    REDACTED                      REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675859 JAVIER O ORTIZ ZAYAS                        URB LAS AGUILAS             G 24 CALLE 4                                                                            COAMO             PR         00769
   236359 JAVIER O PEREZ ALICEA                       REDACTED                    REDACTED                      REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236360 JAVIER O PEREZ CORDERO                      REDACTED                    REDACTED                      REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   675860 JAVIER O PINEIRO COLON                      PMB 108 PO BOX 144100                                                                                               ARECIBO           PR         00614‐4100

   675861 JAVIER O QUINTERO QUINONEZ                  BUZON 5813 BO RIO LAJAS                                                                                             TOA ALTA          PR         00954
   236362 JAVIER O RIVERA GUZMAN                      REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236363 JAVIER O RIVERA RIVERA                      REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236364 JAVIER O RIVERA ROIG                        REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236365 JAVIER O RIVERA VELEZ                       REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   675862 JAVIER O RODRIGUEZ LASANTA                  PO BOX 9975                                                                                                         ARECIBO           PR         00613
   236366 JAVIER O SILVA GONZALEZ                     REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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   675863 JAVIER O TIRADO HUERTAS                     310 COND PARQUE TERRALINDA                                                                                         TRUJILLO ALTO       PR           00976
   236367 JAVIER O TOMAS SAA VEDRA                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675864 JAVIER O TORRES                             URB VILLAS DE CARRAIZO       RR 7 BOX 412                                                                          SAN JUAN            PR           00926
   675865 JAVIER O VAZQUEZ SOLIS                      HC 3 BOX 8189                                                                                                      GUAYNABO            PR           00971
   236370 JAVIER O. OTERO OJEDA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236372 JAVIER O. VEGAS CARRILLO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236373 JAVIER OCASIO ROSADO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JAVIER OCASIO/ EQUIP
   675866 VAQUEROS LA PLANTA                          PO BOX 2999                                                                                                        ARECIBO             PR           00612
   236374 JAVIER OLIVO UMPIERRE                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675867 JAVIER OLMEDA RODRIGUEZ                     BO SALTO                     BOX 20                                                                                CIDRA               PR           00739
   236376 JAVIER ONEILL MONTALVO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675868 JAVIER ORDEIN                               PO BOX 9020392                                                                                                     SAN JUAN            PR           00902
   675869 JAVIER ORIOL LEBRON                         URB VALLE REAL 74            CALLE AG                                                                              PONCE               PR           00733
   675870 JAVIER ORTEGA OYOLA                         RR 4 BOX 26434                                                                                                     TOA ALTA            PR           00953
   236379 JAVIER ORTIZ DE JESUS                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236380 JAVIER ORTIZ JIMENEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236381 JAVIER ORTIZ LORENZANA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675871 JAVIER ORTIZ LUNA                           LA CUMBRE                    497 AVE EMILIANO POL 329                                                              SAN JUAN            PR           00926
   675872 JAVIER ORTIZ MALDONADO                      H 9 CALLE C                                                                                                        CAYEY               PR           00736
   675874 JAVIER ORTIZ MENDEZ                         LAS CUMBRES                  648 CALLE ADAMS                                                                       SAN JUAN            PR           00926

   675875 JAVIER ORTIZ ROMAN                          COOP CIUDAD UNIVERSITARIA    EDIF A APTO 1402                                                                      TRUJILLO ALTO       PR           00976
   236382 JAVIER ORTIZ SANTIAGO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JAVIER ORTIZ SANTIAGO DBA
   675876 EXXSTRAX SPORT                              EL PLANTIO                   H2 CALLE 2                                                                            TOA BAJA            PR           00949
   675877 JAVIER ORTIZ SERRANO                        BO POZUELO                   RR 1 BOX 6392                                                                         GUAYAMA             PR           00784
   236383 JAVIER ORTIZ TORRES                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236384 JAVIER OTERO CABRERA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675878 JAVIER OTERO TORRES                         HC 02 BOX 11865                                                                                                    LAJAS               PR           00667
   236385 JAVIER OTERO VILLEGA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236386 JAVIER OYOLA ALEMANY                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675879 JAVIER P CORDERO DIAZ                       HC 3 BOX 21603                                                                                                     LAJAS               PR           00667
   236387 JAVIER PACHECO GONZALEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236388 JAVIER PADILLA CACERES                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675880 JAVIER PADILLA ZAPATA                       HC 01 BOX 2650                                                                                                     BAYAMON             PR           00622
   236389 JAVIER PADUA TORRES                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236390 JAVIER PAGAN BLANCO                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675881 JAVIER PAGAN GARCIA                         URB COUNTRY CLUB             1143 CALLE JAMES BOND                                                                 SAN JUAN            PR           00924
   675882 JAVIER PAGAN IRIZARRY                       COND PARK LANE APT 1002      63‐65 SANTIAGO IGLESIAS                                                               SAN JUAN            PR           00907‐1889
   236391 JAVIER PAGAN LOPEZ                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675883 JAVIER PASTRANA LOPEZ                       PO BOX 163                                                                                                         CANOVANAS           PR           00729

   236395 JAVIER PASTRANA MONSERRATE REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236397 JAVIER PELUYERA BEZARES    REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236399 JAVIER PEREZ CRUZ          REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236401 JAVIER PEREZ IRIZARRY      REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236402 JAVIER PEREZ LUCIANO       REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236404 JAVIER PEREZ MEDINA        REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675889 JAVIER PEREZ MIRANDA       H C 56 BOX 4355                                                                                                                     AGUADA              PR           00602‐9603
                                     1 RES BRISAS DEL CAMPO
   675890 JAVIER PEREZ NIEVES        ALEGRE                                                                                                                              MANATI              PR           00674



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  236406 JAVIER PEREZ PICO                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  236408 JAVIER PEREZ RODRIGUEZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  675893 JAVIER PEREZ ROJAS                           1056 CALLE FERROCARRIL                                                                                             SAN JUAN             PR         00925‐3010
  236409 JAVIER PEREZ SANCHEZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  236411 JAVIER PEREZ SANTIAGO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  675895 JAVIER PEREZ TORRES                          HC 2 BOX 45830                                                                                                     VEGA BAJA            PR         00693
         JAVIER PIAZZA/SERVICIOS
  236412 PSICOLOGICOS RAI                             HC 645 BOX 6387                                                                                                    TRUJILLO ALTO        PR         00976
  236413 JAVIER PINEIRO DECLET                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  675897 JAVIER PRADO FONSECA                         URB PALACIOS REALES          BZN 74 CALLE BALBY                                                                    TOA ALTA             PR         00953
  236414 JAVIER QUILES ACEVEDO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  675898 JAVIER QUILES LOPEZ                          BO ARENALES ALTOS            BOX 20‐145                                                                            ISABELA              PR         00662
  675899 JAVIER QUILES OQUENDO                        P O BOX 2638                                                                                                       JUNCOS               PR         00777
  675900 JAVIER QUILES TORRES                         HC 01 BOX 23639                                                                                                    CAGUAS               PR         00725‐8920
  236415 JAVIER QUININES ORTIZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  236416 JAVIER QUINONES MARCANO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  675901 JAVIER QUINONEZ FORTEZ                       PO BOX 21365                                                                                                       SAN JUAN             PR         00928‐1365
  236418 JAVIER QUINTANA LOPEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  236419 JAVIER QUINTANA PADILLA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  236422 JAVIER QUIRUELAS DIAZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  675904 JAVIER R BURGOS                              COND OLIMPO PLAZA            APT 903                                                                               SAN JUAN             PR         00927
  236423 JAVIER R BURGOS DIAZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   236424 JAVIER R CAMACHO ACEVEDO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   236425 JAVIER R CRUZ QUINTANA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   236426 JAVIER R DIAZ SUAREZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   675906 JAVIER R DIAZ VILLANUEVA                    BAYAMON GARDENS              L 13 CALLE 15                                                                         BAYAMON              PR         00957
   675907 JAVIER R MARQUEZ GRACIANI                   CONSTANCIA                   2464 CALLE EUREKA                                                                     PONCE                PR         00717
   675908 JAVIER R RODRIGUEZ FERRER                   URB IRLANDA HTS              DN‐2 CALLE HUNGRIA                                                                    BAYAMON              PR         00956 5324
   236428 JAVIER R RODRIGUEZ RIVERA                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   236429 JAVIER R. MARQUEZ GRACIANI                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   675910 JAVIER RAMIREZ GONZALEZ                     PMB 283                      35 JUAN C BORBON STE 67                                                               GUAYNABO             PR         00969‐5375
   236430 JAVIER RAMIREZ MACHIN                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   675911 JAVIER RAMIREZ SUAREZ                       1917 CALLE JUAN B UGALDE                                                                                           SAN JUAN             PR         00926
   236431 JAVIER RAMIREZ TORRES                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   236432 JAVIER RAMOS FLORES                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   675915 JAVIER RAMOS GARCIA                         HC 866 BOX 8425                                                                                                    FAJARDO              PR         00738
                                                      PUCPR AVE LOS AMERICAS SUITE
   675916 JAVIER RAMOS LOPEZ                          514                                                                                                                PONCE                PR         00717‐9997
   236433 JAVIER RAMOS RIVERA                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JAVIER RENTAL/ JUAN J BURGOS
   236434 PEREZ                                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   675919 JAVIER RESTO APONTE                         PO BOX 370580                                                                                                      CAYEY                PR         00737
   675920 JAVIER REYES CORDERO                        HC 02 BOX 40280                                                                                                    ARECIBO              PR         00612
   236436 JAVIER REYES NIEVES                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   675921 JAVIER REYES SANTIAGO                       URB SANTA JUANITA            WC‐8 CALLE PEDREIRA                                                                   BAYAMON              PR         00956
   675922 JAVIER RICARDO                              COND NEW SAN JUAN            6471 AVE ISLA VERDE PH 3                                                              CAROLINA             PR         00979
   675923 JAVIER RIOS MEDINA                          URB VISTAS DEL ATLANTICO     146 CALLE PICUA                                                                       ARECIBO              PR         00612

   675924 JAVIER RIOS RAMIREZ                         URB ALTURAS DE FLAMBOYAN     CC 27 CALLE 17                                                                        BAYAMON              PR         00959
   236438 JAVIER RIOS VAZQUEZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED




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MML ID                    NAME                                ADDRESS 1                   ADDRESS 2                 ADDRESS 3                           ADDRESS 4              CITY       STATE    POSTAL CODE        COUNTRY
                                                                               AVE FELIX ALDARONDO BOX
   675925 JAVIER RIQUELME RODRIGUEZ                   ARENALES BAJOS           1403                                                                                 ISABELA             PR         00662
   675926 JAVIER RIVAS TOLENTINO                      PO BOX 980                                                                                                    PATILLA             PR         00723
   675928 JAVIER RIVERA ACEVEDO                       RR 8 BOX 9106                                                                                                 BAYAMON             PR         00956
   675929 JAVIER RIVERA ALICEA                        HC 71 BOX 3766                                                                                                COMERIO             PR         00782
   236440 JAVIER RIVERA AQUINO                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675933 JAVIER RIVERA AYALA                         PO BOX 7126                                                                                                   PONCE               PR         00732
   675934 JAVIER RIVERA BARRETO                       BDA SANDIN               71 CALLE SASTURNO                                                                    VEGA BAJA           PR         00693
   675936 JAVIER RIVERA CARBONE                       PO BOX 364225                                                                                                 SAN JUAN            PR         00936‐4225
   236442 JAVIER RIVERA CRUZ                          REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675937 JAVIER RIVERA ESPINELL                      HC 73 BOX 4520                                                                                                NARANJITO           PR         00719
   675940 JAVIER RIVERA GIRIBALDI                     COLINAS DE YAUCO         4 C 3 CALLE CAMPO                                                                    YAUCO               PR         00698
   675941 JAVIER RIVERA HERNANDEZ                     BELLO MONTE              V 7 AVE 3                                                                            GUAYNABO            PR         00969
   675942 JAVIER RIVERA MARIN                         PO BOX 499                                                                                                    JUNCOS              PR         00777
   236443 JAVIER RIVERA MERCADO                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   236444 JAVIER RIVERA MONTALVAN                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   236445 JAVIER RIVERA MONTANEZ                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675560 JAVIER RIVERA NEVAREZ                       BO MAMEYAL PARCELAS      P 37 CALLE KENNEDY                                                                   DORADO              PR         00646
   675943 JAVIER RIVERA OPPENHEIMER                   VILLA FONTANA            2 KR 641 VIA 3                                                                       CAROLINA            PR         00983
   675927 JAVIER RIVERA ORTIZ                         REPTO ANA LUISA          A 3 CALLE 1                                                                          CAYEY               PR         00736
   236448 JAVIER RIVERA RIOS                          REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   236450 JAVIER RIVERA RIVERA                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675944 JAVIER RIVERA RODRIGUEZ                     CARR 645 K2 H9                                                                                                VEGA BAJA           PR         00693
   675945 JAVIER RIVERA ROSADO                        RR‐5 BOX 5084                                                                                                 BAYAMON             PR         00956
   236451 JAVIER RIVERA SANCHEZ                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   236452 JAVIER RIVERA SANTANA                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   236453 JAVIER RIVERA SANTIAGO                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675946 JAVIER RIVERA SCALLEY                       VILLA AVILA              A 35 CALLE HUMACAO                                                                   HUMACAO             PR         00969
   236454 JAVIER RIVERA VIGO                          REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   236455 JAVIER RIVERA YAMBO                         REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675947 JAVIER RODRIGEZ MENDEZ                      BO MEMBRILLO             PO BOX 731                                                                           CAMUY               PR         00627
   675948 JAVIER RODRIGUEZ CURET                      829 LOPEZ SICARDO                                                                                             SAN JUAN            PR         00923
   675949 JAVIER RODRIGUEZ FLORES                     HC 4 BOX 49012                                                                                                CAGUAS              PR         00725‐9638
   236458 JAVIER RODRIGUEZ GALARZA                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   236459 JAVIER RODRIGUEZ LOPEZ                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   236460 JAVIER RODRIGUEZ LOZADA                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   236461 JAVIER RODRIGUEZ MARRERO                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   236462 JAVIER RODRIGUEZ MENDEZ                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   236463 JAVIER RODRIGUEZ NEVES                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675953 JAVIER RODRIGUEZ NIEVES                     RR 01 BO SUD             BOX 3852                                                                             CIDRA               PR         00739
   236464 JAVIER RODRIGUEZ ORTEGA                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   236465 JAVIER RODRIGUEZ RIVERA                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   236468 JAVIER RODRIGUEZ VALENTIN                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675956 JAVIER RODRIGUEZ VARGAS                     URB LA MONSERRATE        D 43 CALLE 5                                                                         HORMIGUEROS         PR         00660

   236469 JAVIER RODRIGUEZ VELAZQUEZ                  REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   675957 JAVIER ROJAS CASTELLO                       URB CORALES              E 10 CALLE 10                                                                        HATILLO             PR         00659
                                                      7112 AVE AGUSTIN RAMOS
   675958 JAVIER ROJAS MARTINEZ                       CALERO                                                                                                        ISABELA             PR         00672
   236472 JAVIER ROLON CORDERO                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   236473 JAVIER ROLON RIVERA                         REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   236474 JAVIER ROLON ROSADO                         REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  236475 JAVIER ROMAN CRUZ                            REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  236476 JAVIER ROMAN PADIN                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
                                                      URB ARBOLES DE MONTE         BZN 408 BOULEVARD D LOS
   675959 JAVIER ROSA DIAZ                            HIEDRA                       ARBOLES 600                                                                          SAN JUAN              PR         00926
   236477 JAVIER ROSA MONTIJO                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   236478 JAVIER ROSADO GONZALEZ                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   236479 JAVIER ROSADO SANCHEZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED

   236480 JAVIER ROSARIO BETANCOURT                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED REDACTED      REDACTED
   236481 JAVIER ROSARIO PEREZ                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED REDACTED      REDACTED
   675963 JAVIER ROSARIO ROLON                        RR‐1 BOX 3722                                                                                                     CIDRA                 PR       00739
   675964 JAVIER ROSARIO ROSARIO                      VILLA SAURI                  S 6 CALLE 10                                                                         CAGUAS                PR       00727‐9606
   675965 JAVIER ROSARIO VELAZQUEZ                    COM COCO APLIACION           SOLAR 626                                                                            SALINAS               PR       00751
   236482 JAVIER ROTGER MARTINO                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED REDACTED      REDACTED
   236484 JAVIER RUBERTE ROSARIO                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED REDACTED      REDACTED
   236485 JAVIER RUEMMELE                             REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED REDACTED      REDACTED
   236489 JAVIER RUIZ TRUJILLO                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED REDACTED      REDACTED
   675968 JAVIER SAAVEDRA SALAS                       HC 01 BOX 4700                                                                                                    QUEBRADILLAS          PR       00678
   236490 JAVIER SALGADO LOPEZ                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED REDACTED      REDACTED
   675969 JAVIER SALGADO TRABAL                       PMB 349                      35 JUAN C BORBON NUM 67                                                              GUAYNABO              PR       00969‐5375
   236491 JAVIER SANCHEZ MARQUEZ                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED REDACTED      REDACTED
   675970 JAVIER SANCHEZ MARTINEZ                     HC 61 BOX 4228                                                                                                    TRUJILLO ALTO         PR       00976
   236493 JAVIER SANCHEZ OCASIO                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED REDACTED      REDACTED
   236496 JAVIER SANCHEZ ORTIZ                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED REDACTED      REDACTED
   675972 JAVIER SANTALIZ FREYTES                     RIO HONDO                    C 2 CALLE RIO COCAL                                                                  BAYAMON               PR       00961
   675973 JAVIER SANTANA SOTO                         CALLE LEON NUM 19                                                                                                 CAYEY                 PR       00736
   236499 JAVIER SANTIAGO APONTE                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED REDACTED      REDACTED
   236500 JAVIER SANTIAGO COLON                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED REDACTED      REDACTED
          JAVIER SANTIAGO DBA
   675974 MANTECH SECURITY SYS                        P O BOX 355                                                                                                       SAINT JUST            PR         00978
   675975 JAVIER SANTIAGO DEIDA                       PO BOX 69001 SUITE 123                                                                                            HATILLO               PR         00659
   236501 JAVIER SANTIAGO DEL VALLE                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   236502 JAVIER SANTIAGO GONZALEZ                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED

   675977 JAVIER SANTIAGO HERNANDEZ                   BO CARMELITA                 BZN 7 CALLE CRISTO                                                                   VEGA BAJA             PR         00693

   236504 JAVIER SANTIAGO MALDONADO                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   675978 JAVIER SANTIAGO TORRES                      HC 02 BOX 4915                                                                                                    VILLALBA              PR         00766
   236505 JAVIER SANTIAGO VALE                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   236506 JAVIER SANTIAGO VELEZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
                                                      C/MANUEL TEXIDOR #1783 STO
   675979 JAVIER SANTOS ANDINO                        IGLESIAS                                                                                                          SAN JUAN              PR         00921
   236508 JAVIER SANTOS CABINA                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   236509 JAVIER SANTOS CUBINA                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   236511 JAVIER SANTOS PAGAN                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   236513 JAVIER SANTOS PEREZ                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   675980 JAVIER SANTOS RIVERA                        25 CALLE PALMER                                                                                                   CIDRA                 PR         00739

   675981 JAVIER SEIN CARDONA                         7106 AVE JOSE DE JESUS ESTEVES                                                                                    AGUADILLA             PR         00603
   236514 JAVIER SEPULVEDA TORO                       REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   236515 JAVIER SIERRA PADILLA                       REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   236516 JAVIER SILVA RIVERA                         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED
   236517 JAVIER SOLIS MORALES                        REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED    REDACTED



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MML ID                    NAME                                  ADDRESS 1                      ADDRESS 2                    ADDRESS 3                           ADDRESS 4              CITY          STATE   POSTAL CODE        COUNTRY
                                                      CONDOMINIO SEGOVIA APTO
   675983 JAVIER SOLIS SERRANO                        1505                                                                                                                  SAN JUAN            PR           00918
   675984 JAVIER SOSA FARIA                           15 CALLE LUIS F DESSUS                                                                                                JUANA DIAZ          PR           00795
   236518 JAVIER SOSIAS CLEMENTE                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236519 JAVIER SOTO AROCHO                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236520 JAVIER SOTO BONILLA                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236521 JAVIER SOTO CARDONA                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236523 JAVIER SOTO MUNOZ                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                    477 CALLE PORTGL URB BAHIA
   675986 JAVIER SOTO ORTIZ                           VISTAMAR                      VISTAMAR                                                                                CAROLINA            PR           00983
   675987 JAVIER SOTO ROLON                           URB BATISTA                   24 CALLE MADRID                                                                         CAGUAS              PR           00725
                                                                                    195 CALLE PARAGUAY # C BDA
   675989 JAVIER SOTO ROSA                            RES MANUEL A PEREZ            ISRAEL                                                                                  SAN JUAN            PR           00917
   675990 JAVIER SOTO ROSADO                          B 8 URB BRISAS DE CIALES                                                                                              CIALES              PR           00638
   675991 JAVIER SOTO SANCHEZ                         HC 56 BOX 4574                                                                                                        AGUADA              PR           00602
   675992 JAVIER SOTO VAZQUEZ                         HC 1 BOX 2149                                                                                                         FLORIDA             PR           00650
   236524 JAVIER SUAREZ IRIZARRY                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   675993 JAVIER SUAREZ MIRANDA                       HC 1 BOX 5557                                                                                                         OROCOVIS            PR           00720
   675994 JAVIER SURILLO GONZALEZ                     BDA OLIMPO                    188 CALLE 2                                                                             GUAYAMA             PR           00784
   675995 JAVIER TAVAREZ ORTIZ                        BARRIO GALATEO BAJO           BUZON 4 85 C                                                                            ISABELA             PR           00662
   675996 JAVIER TORO MARTINEZ                        HC 4 BOX 21361                                                                                                        LAJAS               PR           00667
   675997 JAVIER TORRES                               URB SAN RAFAEL                EST II 207 CALLE LIRIOS                                                                 BAYAMON             PR           00959‐4179
   675999 JAVIER TORRES ALMEDINA                      P O BOX 1098                                                                                                          AIBONIT0            PR           00705
   236525 JAVIER TORRES CEDENO                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676000 JAVIER TORRES LEBRON                        PARQUE DE GUANICA             G 4 CALLE 8                                                                             ARROYO              PR           00714
   675561 JAVIER TORRES LOPEZ                         HC 01 BOX 2911                                                                                                        BARRANQUITAS        PR           00794
   236526 JAVIER TORRES MELENDEZ                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236527 JAVIER TORRES MILLAN                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236528 JAVIER TORRES MORALES                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676002 JAVIER TORRES ROSARIO                       RES JDNES SAN CARLOS          EDIF 3 APT 20                                                                           CAGUAS              PR           00726
   236533 JAVIER TOWING SERVICES                      BO SONADORA                   CARR 834 KM 3.4                                                                         GUAYNABO            PR           00967
          JAVIER TRANSPORT
   676003 CONTRACTOR CORP                             HC 01 BOX 3141                                                                                                        LAS MARIAS          PR           00670
   676006 JAVIER V BATISTA                            COND TORRES DEL PARQUE        1501 SUR                                                                                BAYAMON             PR           00956‐3071
   676007 JAVIER VALENTIN CABAN                       BOX 250034                    BASE RAMEY                                                                              AGUADILLA           PR           00604

   676008 JAVIER VAQUER ARROYO                        159 CALLE COSTA RICA APT 9B                                                                                           SAN JUAN            PR           00917
   676009 JAVIER VARGAS                               JARDINES DE CUPEY             EDIF 10 APT 28                                                                          SAN JUAN            PR           00926
   236538 JAVIER VARGAS QUINONES                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236539 JAVIER VAZQUEZ BAUZA                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676012 JAVIER VAZQUEZ GONZALEZ                     RR 1 BOX 3899                                                                                                         CIDRA               PR           00739
   676013 JAVIER VAZQUEZ MATOS                        HC 2 BOX 6796                                                                                                         BARRANQUITAS        PR           00794
          JAVIER VAZQUEZ MECANICA
   236540 DIESEL                                      RR 1 BOX 10593                                                                                                        OROCOVIS            PR           00720
   236541 JAVIER VAZQUEZ MELENDEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676015 JAVIER VAZQUEZ RUIZ                         HC 2 BOX 4655                                                                                                         LAS PIEDRAS         PR           00771
   676016 JAVIER VAZQUEZ TORRES                       P O BOX 1042                                                                                                          BARRANQUITAS        PR           00974
   236543 JAVIER VEGA PEREZ                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676017 JAVIER VEGA SIERRA                          HC 1 BOX 6890                                                                                                         GUAYANILLA          PR           00656
   236544 JAVIER VEGA VEGA                            REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236546 JAVIER VELAZQUEZ CINTRON                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676018 JAVIER VELAZQUEZ FRANCO                     VILLAS DE BUENA VENTURA       555 CALLE ESMERALDA                                                                     YABUCOA             PR           00767‐9798
   236548 JAVIER VELEZ AROCHO                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  236550 JAVIER VELEZ GONZALEZ                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JAVIER VELEZ GONZALEZ DPTO
  236551 DE LA FAMILIA                                500 R H TODD PDA 18                                                                                              SAN JUAN            PR         00910
  236552 JAVIER VELEZ IRIZARRY                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236531 JAVIER VELEZ JIMENEZ                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236553 JAVIER VELEZ QUINONEZ                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  676019 JAVIER VELEZ RUIZ                            VILLA CAROLINA            193‐11 CALLE 435                                                                       CAROLINA            PR         00985
  236554 JAVIER VELEZ VELEZ                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236555 JAVIER VERA LOPEZ                            REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236556 JAVIER VERARDI MATOS                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  676023 JAVIER VILA RIVERA                           10 CALLE LLORENS TORRES                                                                                          LAS PIEDRAS         PR         00771
  236557 JAVIER VILLAFANE                             REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236558 JAVIER VILLAFANE OSORIO                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  676024 JAVIER VILLANUEVA ZAPATA                     C.S.M. BAYAMON                                                                                                   Hato Rey            PR         00936
  236560 JAVIER VIQUEIRA KELLER                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236561 JAVIER VIRELLA DIAZ                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  676027 JAVIER VIVAS CRUZ                            BDA SANDIN                48 CALLE PLUTON                                                                        VEGA BAJA           PR         00693

   676028 JAVIER Y SU FANTASIA MUSICAL                HC 2 BOX 7554                                                                                                    CAMUY               PR         00627
   676029 JAVIER ZAMBRANA FONT                        RR‐2 BOX 4122                                                                                                    TOA ALTA            PR         00953
   675562 JAVIER ZAYAS CELA                           URB ENCANTADA RB 4 VIA                                                                                           TRUJILLO ALTO       PR         00976
   236563 JAVIER, DIANA                               REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236564 JAVIER, GARY                                REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236567 JAVIETH DETRES COLON                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   676031 JAVIS SPORT SHOP AND TROPHY                 7 CALLE CONCORDIA                                                                                                ADJUNTAS            PR         00601
   676032 JAVIS SPORT TROPHY CENTER                   7 CALLE CONCORDIA                                                                                                ADJUNTAS            PR         00601
   236568 JAVISH A . SERRANO                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676033 JAVISH A SERRANO                            PO BOX 2535                                                                                                      ARECIBO             PR         00613
   236570 JAVISH GUTIERREZ ORTIZ                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236572 JAVISH MUNIZ REYES                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   676034 JAVISH NIEVES ORTIZ                         SANTIAGO IGLESIAS         1782 CALLE MANUEL TEXIDOR                                                              SAN JUAN            PR         00921
   236573 JAVIZ J RIVERA ROSARIO                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676035 JAXEL A ROJAS LOPEZ                         EL COETIR                 K 42 CALLE 14                                                                          BAYAMON             PR         00956
   236574 JAXEL LOPEZ SEPULVEDA                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236576 JAXEL ORTIZ PEREZ                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236580 JAY A VIGOREAUX RIVERA                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676037 JAY A. VIGOREAUX RIVERA                     TCA BLDG 401 A MIRAMAR    804 AVE PONCE DE LEON                                                                  SAN JUAN            PR         00907‐0000
   236581 JAY ACUNA PRADO                             REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236582 JAY ALVELO GONZALEZ                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676038 JAY CABRERA                                 PARCELAS AMDEO # 45       CARR 670                                                                               VEGA BAJA           PR         00693
   236584 JAY CARE MEDICAL CENTER                     JAPINDER SINGH MD         131 WEBB DR SUITE 400                                                                  DAVENPORT           FL         33837
   236585 JAY CRUZ MONTES                             REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236586 JAY D QUINONEZ                              REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676039 JAY E BAUM                                  HC 5 BOX 57528                                                                                                   AGUADILLA           PR         00603
   676040 JAY E DIAZ RIVERA                           P O BOX 25                                                                                                       CAGUAS              PR         00726
   236587 JAY J COLON MELENDEZ                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236588 JAY JAY AUTO INC                            BOX 1973                                                                                                         MAYAGUEZ            PR         00681
   236589 JAY M MCMICHEL                              REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676042 JAY MACNEAL                                 2371 RAMBLE ROAD          APARTMENT 302                                                                          BLACKSBURG          VA         24060
   236590 JAY N MULLER CRESPO                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676043 JAY R ALLEN NICHOLAS                        EL ARRENDADO              E 5 CALLE A BZN 125                                                                    SABANA GRANDE       PR         00637



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  676044 JAY RADO ( JOYERIA RADO)                     82 GMO ESTEVES                                                                                                         JAYUYA              PR           00664
  676046 JAY V VILA ROLDAN                            P O BOX 879                                                                                                            JUNCOS              PR           00777
  676047 JAY VIGOREAUX                                804 PONCE DE LEON AVE         SUITE 401A                                                                               SAN JUAN            PR           00907
  676048 JAY VIGOREAUX ARCHITECTS                     804 PONCE DE LEON 401‐A                                                                                                SAN JUAN            PR           00907

   236592 JAYAMEL INC.                                VILLA TOLEDO 448 CALLE URUTI                                                                                           ARECIBO             PR           00612‐0000
   236593 JAYANETTE TORRES RIVERA                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236594 JAYAR CONSTRUCTION INC                      P O BOX 2021                                                                                                           GUAYAMA             PR           00785

   676049 JAYBEN GARCIA PEREZ                         RIO HONDO                     AK CALLE RIO ESPIRITU SANTO                                                              BAYAMON             PR           00960
   236595 JAYCEL H COLLAZO REYES                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   676050 JAYCELIN HERNANDEZ PEREZ                    PO BOX 4742                                                                                                            AGUADILLA           PR           00605
   676052 JAYDEE LOPEZ                                URB BAIROA                    DB3 CALLE 13 A                                                                           CAGUAS              PR           00726
   676053 JAYDITH MATIAS COSME                        VILLA ASTURIAS                27‐13 CALLE 33                                                                           CAROLINA            PR           00983

   676054 JAYE INC /DBA TELEMEDIK                     MSC 347                       138 AVE WINSTON CHURCHILL                                                                SAN JUAN            PR           00926‐6023

   676055 JAYKA CARABALLO FERNANDEZ URB BAIROA                                      DC 7 CALLE 13                                                                            CAGUAS              PR           00725
   236596 JAYKEN DEL RIO LUGO         REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236597 JAYLEE M BAEZ FEBUS         REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236598 JAYLEEN M TORRES VAZQUEZ    REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   676056 JAYLEEN PEREZ RAMOS         HC 2 BOX 12130                                                                                                                         MOCA                PR           00676
   676057 JAYLEEN RODRIGUEZ MOYA      URB EL MIRADOR DE BAIROA                      A R25 CALLE 24                                                                           CAGUAS              PR           00725
   236599 JAYLEEN TORRES MENDEZ       REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JAYLING M HERNANDEZ / MARCK
   676058 ANDREW                      URB SAN RAFAEL ESTATE                         245 CALLE BROMELIA                                                                       BAYAMON             PR           00959
   676059 JAYLISE TIRADO DE JESUS     PO BOX 5150                                                                                                                            NAGUABO             PR           00718
          JAYMARIE A. MIRANDA
   236601 MENDOZA                     REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   236602 JAYMARIE VELAZQUEZ BURGOS                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   236603 JAYME A CAMACHO VELAZQUEZ                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236604 JAYMIE ORTIZ ROSARIO                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236606 JAYNELL RIVERA ACEVEDO                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236607 JAYNIE APONTE CASABLANCA                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   236608 JAYNNIELL O GARCIA ROMERO                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                      CALLE 65 BLOQUE 77‐6 SIERRA
   236609 JAYS CAFE CATERING                          BAYAMON                                                                                                                BAYAMON             PR           00961
   236610 JAYS CAFE EXPRESS                           URB SIERRA BAYAMON            77‐6 CALLE 65                                                                            BAYAMON             PR           00961
   676060 JAYSALLY LUGO VEGA                          HC 1 BOX 7684                                                                                                          SAN GERMAN          PR           00683
   236612 JAYSEL D CHEVRES SANTIAGO                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236613 JAYSEN J MUNIZ SANCHEZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236615 JAYSO MARTINEZ MARTINEZ                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   676061 JAYSON ALAMO FONT                           PO BOX 240                                                                                                             SANTA ISABEL        PR           00757
   676062 JAYSON ALIERS RIVERA                        PO BOX 130                                                                                                             HUMACAO             PR           00741
   676064 JAYSON BAEZ PACHECO                         P O BOX 1864                                                                                                           YAUCO               PR           00698
   676065 JAYSON CRESPO NAVARRO                       BOX 1754                                                                                                               LAS PIEDRAS         PR           00771
   676066 JAYSON CRUZ IRIZARRY                        URB MIFEDO                    CALLE 425 BOX 442                                                                        YAUCO               PR           00698
   236616 JAYSON CRUZ VAQUER                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236617 JAYSON E ILLAS GOMEZ                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   676067 JAYSON E PIETRI NIEVES                      MAGNOLIA GARDENS              J 26 CALLE 11                                                                            BAYAMON             PR           00956



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   676068 JAYSON ECHEVARRIA VILLARUBIA HC 58 BOX 13674                                                                                                                  AGUADA              PR           00602
   236618 JAYSON FELICIANO GALARZA     REDACTED                                   REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676069 JAYSON FIGUEROA SERRANO      HC 1 BOX 2199                                                                                                                    JAYUYA              PR           00664
   236619 JAYSON G ORTIZ CASIANO       REDACTED                                   REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676070 JAYSON HERNANDEZ CRUZ        HC 1 BOX 8777                                                                                                                    MARICAO             PR           00606
   236620 JAYSON J GOMEZ NIEVES        REDACTED                                   REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   236621 JAYSON M CONCEPCION PAGAN REDACTED                                      REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236622 JAYSON MAISONET PEREZ     REDACTED                                      REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676071 JAYSON MATOS VEGA         P O BOX 515                                                                                                                         NAGUABO             PR           00718

   676072 JAYSON MOLINA RODRIGUEZ                     URB MARIANI                 8222 CALLE MARTIN CORCHADO                                                            PONCE               PR           00717
   236623 JAYSON MORALES CARDENAS                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236624 JAYSON MORALES PAGAN                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236625 JAYSON NEGRON RIVERA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676073 JAYSON O CRUZ CRUZ                          PO BOX 1664                                                                                                       CEIBA               PR           00735
   236626 JAYSON O FUENTES SOTO                       REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676074 JAYSON O GONZALEZ VEGA                      HC 4 BOX 44709                                                                                                    CAGUAS              PR           00725
   236627 JAYSON O PADILLA MORALES                    REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JAYSON OMAR CORDERO
   236628 ROSARIO                                     REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676075 JAYSON PEREZ AYALA                          HC 4 BOX 20428                                                                                                    LAJAS               PR           00667‐9503
   236629 JAYSON PEREZ RAMOS                          REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236630 JAYSON R ALBINO ACEVEDO                     REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236631 JAYSON R DELGADO RIVERA                     REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676077 JAYSON R RIVERA RODRIGUEZ                   URB VILLA VERDE             E 2 CALLE 4                                                                           BAYAMON             PR           00959
   236632 JAYSON RAMOS COLLAZO                        REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JAYSON RAMOS GRUPO LEGAL
   236633 CSP                                         COND AREY                   4 CALLE MEXICO STE 301                                                                SAN JUAN            PR           00933
   236634 JAYSON RAMOS JORGE                          REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236636 JAYSON RIVERA ORTEGA                        REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236637 JAYSON RIVERA RODRIGUEZ                     REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   236639 JAYSON RODRIGUEZ RODRIGUEZ REDACTED                                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676078 JAYSON ROLDAN SANTIAGO     PO BOX 2112                                                                                                                        SAN GERMAN          PR           00683
   236640 JAYSON ROSADO SANTIAGO     REDACTED                                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236641 JAYSON SANCHEZ TORRES      REDACTED                                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676079 JAYSON SANTIAGO FELIX      URB SANTA MARIA                              E 29 CALLE 2                                                                          CEIBA               PR           00735
   236642 JAYSON SOTO PAGAN          REDACTED                                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236643 JAYSON T SIERRA RIVERA     REDACTED                                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236644 JAYSON TORRES              REDACTED                                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236645 JAYSON TORRES SANTANA      REDACTED                                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676080 JAYSON VAZQUEZ MERCADO     URB LA QUINTA                                E 21 CALLE 3                                                                          YAUCO               PR           00698
   676081 JAYSON VAZQUEZ TORRES      URB SANTA RITA                               1008 CALLE HUMACAO                                                                    SAN JUAN            PR           00925‐2624
   676082 JAYSON VEGA LOPEZ          30 ESTANCIAS DE COAMO                                                                                                              COAMO               PR           00769
   236646 JAYSON VELEZ               REDACTED                                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236647 JAYSON X MEDINA VIVES      REDACTED                                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236648 JAYSONET RAMIREZ TIRADO    REDACTED                                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676084 JAYSSYKA A OFARRILL SOTO                    506 PALMAS DE MONTE BELLO                                                                                         TRUJILLO ALTO       PR           00976
   676085 JAYUYA ELECTRONICS                          2 CALLE LIBERTAD                                                                                                  JAYUYA              PR           00664
   676086 JAYUYA LUMBER YARD                          HC 1 BOX 2003                                                                                                     JAYUYA              PR           00664



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  676087 JAYUYA MEDICAL EQUIPMENT                     PO BOX 9134                                                                                                       HUMACAO             PR           00792‐9134
  236650 JAYUYA MEMORIAL                              PO BOX 783                                                                                                        JAYUYA              PR           00664‐0783
  236651 JAYUYA TRACK & FIELD INC                     BDA SANTA CLARA             38 CARR 144                                                                           JAYUYA              PR           00664
  236652 JAYVE DEV.                                   PO BOX 267                                                                                                        SALINAS             PR           00751
  236653 JAYVE DEVELOPMENT CORP                       PO BOX 267                                                                                                        SALINAS             PR           00951
  236654 JAYVEE AIR CONDITIONING                      P. O. BOX 3850                                                                                                    BAYAMON             PR           00958‐0000

   236655 JAYVEE AIR CONDITIONING INC                 CARR 147 C‐70 URB ALAMBRA                                                                                         BAYAMON             PR           00958

   236657 JAYVEE AIR CONDITIONING, INC.               PO BOX 3850                                                                                                       BAYAMÓN             PR           00958
   236659 JAZABEL LOPEZ NEGRON                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   676089 JAZIEL SANCHEZ MENDEZ                       RESIDENCIAL KENNEDY         EDIF 17 APT 148                                                                       MAYAGUEZ            PR           00680
   676090 JAZIZ VELAZQUEZ                             P O BOX 193240                                                                                                    SAN JUAN            PR           00919‐3240
                                                                                  PARCELAS MIRIAS‐
   676091 JAZLIN A. DIAZ GONZALEZ                     HC‐02 BOX 5514              SEBURUQULLO                                                                           LARES               PR           00669
   236660 JAZMAR L APONTE COLON                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   236661 JAZMARY COLLAZO MALDONADO REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JAZMILIN RIVERA/EVELYN
   676092 GARCIA                    SABANA SECA                                   H 64 CALLE PROGRESO                                                                   TOA BAJA            PR           00949
   676094 JAZMIN ALBERT             HC 07 BOX 2516                                                                                                                      PONCE               PR           00231

   676095 JAZMIN ARZUAGA RODRIGUEZ                    BO. BUEN CONSEJO            204 C/ CANALES                                                                        SAN JUAN            PR           00928
          JAZMIN C CARABALLO E ILIA
   236663 ORTIZ                                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236664 JAZMIN CABRERA CARABALLO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   676096 JAZMIN CARABALLO ORTIZ                      REPARTO MENTELLANO          K 21 CALLE C                                                                          CAYEY               PR           00736
   236665 JAZMIN CRUZ CALDERON                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236666 JAZMIN CRUZ NIEVES                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   676097 JAZMIN ECHEVARRIA CRUZ                      URB CORCHADO                41 GIRASOL                                                                            ISABELA             PR           00662
   236667 JAZMIN FIGUEROA PEREZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236668 JAZMIN GARCIA SANCHEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236669 JAZMIN GONZALEZ TORRES                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236670 JAZMIN GUZMAN RIVERA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236671 JAZMIN GUZMAN SANTIAGO                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   236672 JAZMIN J RIVERA PIERTI                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   676098 JAZMIN JACOBO TERRON                        COND NEW CENTER 1704        210 AVE JOSE OLIVER                                                                   SAN JUAN            PR           00918
   236674 JAZMIN M PIZARRO BARRIERA                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   676099 JAZMIN M RIVERA NIEVES                      CALLE 603 BLQ 224 #18       VILLA CAROLINA                                                                        CAROLINA            PR           00985
   676093 JAZMIN MEDINA VAZQUEZ                       RR 36 BOX 26                                                                                                      SAN JUAN            PR           00926
   676100 JAZMIN MEJIAS FERNANDEZ                     VILLA DEL CARMEN            KK 3 AVE CONSTANCIA                                                                   PONCE               PR           00731
   676101 JAZMIN MELENDEZ MARTINEZ                    HC 7 BOX 2472                                                                                                     PONCE               PR           00731
   676102 JAZMIN MERCADO ROSARIO                      HC 3 BOX 6529                                                                                                     HUMACAO             PR           00791
   676103 JAZMIN NEGRON                               HC 01 BOX 4646                                                                                                    VILLALBA            PR           00766
   676104 JAZMIN NEGRON DELBREY                       HC 01 BOX 5085                                                                                                    BARRANQUITAS        PR           00794
   676106 JAZMIN ORTIZ FIGUEROA                       BRISAS DE CANOVANAS         CALLE TORTOLA NUM. 10                                                                 CANOVANAS           PR           00729
   236675 JAZMIN ORTIZ MARIN                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   676107 JAZMIN PEREZ CRUZ                           PARC NUEVA VIDA             1779 CALLE GREGORIO SABATER                                                           PONCE               PR           00728‐4924
   236676 JAZMIN PEREZ MAURAS                         REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   676108 JAZMIN QUILES RIVERA                        HC 1 BOX 3338                                                                                                     JAYUYA              PR           00664
   676112 JAZMIN RIVERA DELGADO                       PO BOX 2139                                                                                                       JUNCOS              PR           00777
   676113 JAZMIN RIVERA LUGO                          URB GREEN HILLS             D 9 CALLE GLADIOLAS                                                                   GUAYAMA             PR           00784



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  676114 JAZMIN RIVERA TIRADO                         PO BOX 1873                                                                                                     CANOVANAS           PR         00792
  236678 JAZMIN RODRIGUEZ                             REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   236679 JAZMIN RODRIGUEZ CHARDON                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236680 JAZMIN RODRIGUEZ FEBLES                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   676115 JAZMIN RODRIGUEZ FERNANDEZ RES PADRE RIVERA                              EDIF 33 APT 207                                                                    HUMACAO             PR         00971
   236681 JAZMIN ROMAN SIERRA        REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236682 JAZMIN ROSADO JIMENEZ      REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676116 JAZMIN SEDA                HC 1 BOX 2004                                                                                                                    BOQUERON            PR         00622
   676117 JAZMIN SUAREZ PACHECO      PO BOX 523                                                                                                                       ENSENADA            PR         00647
   236683 JAZMIN TORRES CASTRO       REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236684 JAZMIN TORRES PIZARRO      REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236686 JAZMIN VALVERDE            REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676118 JAZMINA ROMAN EYZARCH      P O BOX 1617                                                                                                                     BAYAMON             PR         00960
   236687 JAZMINE GARCIA ALICEA      REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676119 JAZMINE GERENA JORDAN      URB ESTEVEZ                                   422 ALMENDRO                                                                       AGUADILLA           PR         00603‐7302

   676120 JAZMINE HERNANDEZ TORRES                    URB SEVILLA                  932 CALLE SARATOGA                                                                 SAN JUAN            PR         00924

   236688 JAZMINE SANTIAGO MERCADO                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JAZZMINE ENCARNACION
   676121 RODRIGUEZ                                   30 CALLE PEDRO MARQUEZ       BOX 586                                                                            CULEBRA             PR         00775
   236690 JB & JF CONTRACTORS , INC.                  CALLE WITO MORALES # 568                                                                                        PONCE               PR         00730‐0000
   236691 JB & JF CONTRACTORS INC                     568 CALLE WITO MARALES                                                                                          PONCE               PR         00730
   676122 JB CLEANING SERVICES INC                    URB SANTA JUANITA            BC 21 CALLE GALICIA                                                                BAYAMON             PR         00956
   236693 JB CLEANING SERVICES INC.                   SANTA JUANITA                Calle Galicia BC 21                                                                BAYAMON             PR         00956
  1256590 JB CLEANING SERVICES, INC.                  REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JB HANAUER CO FOR MAX
   676123 SCHACKNOW FAO                               1700 PALM BEACH LAKES BLVD   SUITE 900                                                                          WEST PALM BEACH     FL         33401
   676124 JB HIDEEN VILLAGE                           P O BOX 9024275                                                                                                 SAN JUAN            PR         00902‐4275
   676126 JB MEDIA GROUP INC                          ACOSTA 58                                                                                                       CAGUAS              PR         00725
   831431 JB Trophies                                 Camino Alejandro C‐9         Villa Clementina                                                                   Guaynabo            PR         00969
   236695 JB TRUCKING INC                             PO BOX 782                                                                                                      HORMIGUEROS         PR         00660

   236696 JB3 INC                                     ESQ DIEZ DE ANDINO LOCAL 5   1762 CALLE LOIZA                                                                   SAN JUAN            PR         00901
   236698 JBA PROFESSIONAL CORP                       PMB 328                      HC 72 BOX 3766                                                                     NARANJITO           PR         00719
   236699 JBK TIRE DISTRIBUTORS INC                   EST DE LA FUENTE             63 CALLE DUQUESA                                                                   TOA ALTA            PR         00953
   236700 JBN CONSULTING GROUP                        PO BOX 363415                                                                                                   SAN JUAN            PR         00936
   236701 JC & KC ENTERPRICES                         PO BOX 345                                                                                                      MAYAGUEZ            PR         00681
   236702 JC AUTO SERVICES CORP.                      URB SANTA ROSA               B24 BLQ 32 CALLE 9                                                                 BAYAMON             PR         00961
   236703 JC BUILDERS                                 PMB 408 1353 CARR. 19                                                                                           GUAYNABO            PR         00966‐0000
   676127 JC BUILDERS CORP                            PMB 408                      1353 CARR 19                                                                       GUAYNABO            PR         00966
   676128 JC CONSTRUCTION                             PO BOX 9024275                                                                                                  SAN JUAN            PR         00902‐4275
          JC CONSTRUCTION SERVICES &
   676130 ASOCIADOS                                   39 CALLE MONSERATE                                                                                              SALINAS             PR         00751
   236704 JC CYCLE SHOP                               PO BOX 540                                                                                                      ARECIBO             PR         00613
   236706 JC EYES INC                                 P.O. BOX 1953                                                                                                   OROCOVIS            PR         00720

   236707 JC INTERIORS CONSTRACTOR INC PO BOX 3570                                                                                                                    BAYAMON             PR         00958
   236708 JC LOGISTIC INC              LOIZA VALLEY                                Z 975 BAHUINIA ST                                                                  CANOVANAS           PR         00729
   236709 JC LOGISTICS, INC            CALLE BAHUINIA                              Z‐975 LOIZA VALLEY                                                                 CANOVANAS           PR         00729
   236710 JC MEDIK SUPLIES             FLAMINGO TERRACE                            MARGINAL A 5 CARR 167                                                              BAYAMON             PR         00957



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  236711 JC PENNEY                                    PLAZA LAS AMERICAS                                                                                       HATO REY             PR           00917
                                                      310 SOUTH MAIN STREET M/S
   236712 JC PENNEY CORPORATION INC                   833                                                                                                      SALT LAKE CITY       UT           84101
   236713 JC PENNEY OPTICAL                           975 AVE. HOSTOS               SUITE 320                                                                  MAYAGUEZ             PR           00680
   236714 JC PENNEY OPTICAL CENTER                    2050 PONCE BY PASS            SUITE 200                                                                  PONCE                PR           00731
   676131 JC PENNEY PROPERTIES INC                    PO BOX 10001                                                                                             DALLAS               TX           75301‐0001
          JC POLANCO / JULIO C POLANCO
   676132 CESAR                        URB HERMANOS DAVILA                          M 80 AVE BETANCES                                                          BAYAMON              PR           00956
   676133 JC PROMOTIONS                HC 1 BOX 29030‐576                                                                                                      CAGUAS               PR           00725

   676134 JC REHABILITATION CENTER INC                URB LOIZA VALLEY              Z‐975 CALLE BAHUINIA                                                       CANOVANAS            PR           00729
   676135 JC REMODELING                               1056 CALLE NAVAS                                                                                         SAN JUAN             PR           00907
   676136 JC RESTAURANT                               URB VILLA CLARITA             H9 CALLE I                                                                 FAJARDO              PR           00738
   676137 JC TECHNOLOGIES                             PO BOX 9065096                                                                                           SAN JUAN             PR           00906‐5096
          JC TRADING INC (JOSTENS) Y/O                373 CALLE MENDEZ VIGO SUITE
   676138 EL GRADUAND                                 174                                                                                                      DORADO               PR           00646
   676140 JC TV ELECTRONICS                           P.O. BOX 1859                                                                                            RIO GRANDE           PR           00985
          JC& ASSOCIATES CONFIDENTIAL
   676141 RESEARCH INC                                PO BOX 6561                                                                                              SAN JUAN             PR           00914‐6561
   236721 JCA DEVELOPMENTE INC                        P O BOX 8347                                                                                             BAYAMON              PR           00960

   236723 JCA NOTARIAL LEGAL SERVICES                 PO BOX 194911                                                                                            SAN JUAN             PR           00919
   236725 JCB TRANSPORT CORP                          PO BOX 79145                                                                                             CAROLINA             PR           00984‐9145
   236726 JCBA CORP                                   P O BOX 193928                                                                                           SAN JUAN             PR           00919
   236727 JCC CHEMICAL                                PO BOX 4519                                                                                              CAROLINA             PR           00984
   236728 JCC CHEMICAL CORP                           P O BOX 4519                                                                                             CAROLINA             PR           00984‐4519
   831432 JCC Chemical, Corp.                         PO Box 4519,                                                                                             Carolina             PR           00984
   676142 JCL SYSTEMS INC                             PMB 144 ESMERALDA 53                                                                                     GUAYNABO             PR           00969

   236730 JCM HOLDINGS CORPORATION                    1519 AVE. PONCE DE LEON       FIRSTBANK BLDG. SUITE 713                                                  SAN JUAN             PR           00909
   236731 JCM MASTER GROUP INC                        PMB 255 ESMERALDA 405                                                                                    GUAYNABO             PR           00969
   676143 JCPENNEY PUERTO RICO                        525 AVE FD ROOSEVELT                                                                                     SAN JUAN             PR           00918
   236732 JCQ FOODS INC                               AREA DEL TESORO               DIVISION DE RECLAMACIONES                                                  SAN JUAN             PR           00902‐4140
          JCR MANAGEMENT
   236734 CORPORATION                                 PMB 461                       90 AVE RIO HONDO                                                           BAYAMON              PR           00961‐3105
   236735 JCR VIDEO RECORDING                         BOX 51780                                                                                                LEVITTOWN            PR           00950

   676144 JCS CONTROLS INC                            460 BUFFALO ROAD SUITE 200                                                                               ROCHESTER            NY           14611
   236736 JCS FILMS CORP                              COND ROLLING HILLS            CALLE LIMA 69                                                              CAROLINA             PR           00987
   676145 JCTV ELECTRONIC INC                         P O BOX 1859                                                                                             RIO GRANDE           PR           00745
          JD ADVANTIX SERVICE GROUP
   236737 INC                                         1353 AVE LUIS VIGOREAUX       PMB 758                                                                    GUAYNABO             PR           00966‐2715
   676146 JD ELECTRIC                                 URB VIVE                      CALLE 4‐32                                                                 GUAYAMA              PR           00784
   676147 JDC SPORT CORP                              P O BOX 569                                                                                              QUEBRADILLAS         PR           00678

   236740 JDJ RECYCLING GUAYAMA CORP PO BOX 2422                                                                                                               GUAYAMA              PR           00785

   236741 JDJ RECYCLING GUAYAMA CORP. PO BOX BOX 2422                                                                                                          GUAYAMA              PR           00785‐2422
   236743 JDL KARL INVESTMENT CORP    VENUS GARDENS                                 723 AVE ACUARIOS                                                           SAN JUAN             PR           00926
          JDLKARL INVESMENT/JUAN C DE
   236744 LEON                        VENUS GARDEN 723                              AVE ACUARIOS                                                               SAN JUAN             PR           00926
          JDN VENDING MACHINE SERVICE
   236745 INC                         PO BOX 656                                                                                                               VEGA BAJA            PR           00694



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          JDW CONSULTING
   236747 CORPORATION                                 400 CALLE CALAF             SUITE 76                                                                          SAN JUAN            PR           00918
          JDW TECHNOLOGIES
   676148 CORPORATION                                 VILLANOVAS MANSIONS         D F1 13                                                                           RIO PIEDRAS         PR           00926
          JDW TECHNOLOGY                              LADERAS DE SAN JUAN CALLE
   236749 CORPORATION                                 NOGAL #8                                                                                                      SAN JUAN            PR           00926
   676149 JE MAR                                      PO BOX10774                                                                                                   YAUCO               PR           00698
   236750 Je N PAUL MARKETING INC                     SUITE 112‐171               100 GRAN BLVD PASEO                                                               SAN JUAN            PR           00926‐5955
  1256591 JE' N PAUL MARKETING, INC.                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   831433 JE Software Group                           PO Box 192795                                                                                                 San Juan            PR           00919
   236752 JEA QUALITY PROF HOME INC                   PO BOX 80173                                                                                                  COROZAL             PR           00783
   236753 JEAHANY RAMIREZ BORIA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   236754 JEALLEEN S SANTANA MERCADO                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676150 JEAMAR FOOD SERVICE CORP                    P O BOX 23318                                                                                                 SAN JUAN            PR           00931‐3318
   236756 JEAMIE M TORRES RIVERA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236757 JEAMILLE I ORTIZ PERALES                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236758 JEAMILLE OTRTIZ PERALES                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236759 JEAMPIERRE LEGRAND LOPEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236760 JEAN A BRACERO SUAREZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676151 JEAN A DAVILA MEDINA                        JARD DE RIO GRANDE          BP 280 C 64                                                                       RIO GRANDE          PR           00745‐2503
   676152 JEAN A ELIAS                                PO BOX 451                                                                                                    RINCON              PR           00677
   676153 JEAN A LATIMER PARRILLA                     620 PIGEON PLUM             WAY WESTON                                                                        FLORIDA             FL           33327
   676154 JEAN A MOLINA                               PO BOX 1534                                                                                                   CABO ROJO           PR           00623
   236761 JEAN A ORTIZ HERNANDEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236762 JEAN A ROSADO IGLESIAS                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236764 JEAN A VARGAS RIVERA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JEAN ALEXIS HERNANDEZ /
   236765 PERAL N MARTINEZ                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236766 JEAN AVILA CENTENO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236767 JEAN AVILES ARROYO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236769 JEAN BURGOS NUNEZ                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676155 JEAN C AGOSTO COLON                         COND VILLA ANDALUCIA        CALLE RONDA APT 102                                                               SAN JUAN            PR           00926
   236770 JEAN C ALDERO PIZARRO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236771 JEAN C ALGARIN CASTRO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236772 JEAN C APONTE ALVAREZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236773 JEAN C ARCE FANTAUZZI                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236774 JEAN C ARIAS TINEO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236775 JEAN C ARROYO HERNANDEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236776 JEAN C AYALA IRENE                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676156 JEAN C BARRETO                              P O BOX 250463                                                                                                AGUADILLA           PR           00604
   236777 JEAN C BREBAN GARCIA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236778 JEAN C CAMACHO VALENTIN                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JEAN C CARDONA / LOURDES S
   676157 SANTIAGO                                    COND LAGO VISTA I           EDF 7A APT 7                                                                      TOA BAJA            PR           00949
   236779 JEAN C CORREA ORTIZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236780 JEAN C CORTES CRUZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236781 JEAN C CRUZ CRUZ                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676158 JEAN C CRUZ SABINO                          LOIZA VALLEY                K 364 ASTRO MELIA                                                                 CANOVANAS           PR           00729
   236782 JEAN C DELGADO MORALES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236783 JEAN C DELGADO ROBLES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236784 JEAN C DIAZ CRUZ                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   236785 JEAN C FERRER BARROSO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  236786 JEAN C GOITIA CALERO                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236787 JEAN C GONZALEZ FONTANEZ                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236788 JEAN C GONZALEZ MORALES                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236789 JEAN C GUZMAN RIVERA                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236790 JEAN C HERNANDEZ RIOS                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  676159 JEAN C LOPEZ ABUD                            PO BOX 4579                                                                                               CAROLINA            PR         00984‐4579
  236791 JEAN C LÓPEZ ASCENCIO                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236792 JEAN C LOPEZ RODRIGUEZ                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236793 JEAN C MARRERO BURGOS                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236794 JEAN C MENDEZ CORDERO                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236795 JEAN C MERCADO VEGA                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236796 JEAN C MIRANDA RIVERA                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236797 JEAN C MULERO RIVERA                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236798 JEAN C MUNOZ PAGAN                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236800 JEAN C NEGRON DAVILA                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236801 JEAN C OFRAY RIVERA                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236802 JEAN C ORTIZ PASTRANA                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236803 JEAN C OTERO AGOSTO                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236804 JEAN C PAGAN RODRIGUEZ                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JEAN C PANTOJA
  236805 NIEVES/ALEXANDER PANTOJA                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  676160 JEAN C RESTO COLON                           RR 10 BOX 10239                                                                                           SAN JUAN            PR         00926
  236806 JEAN C REYES MARZAN                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   676161 JEAN C RODRIGUEZ CONCEPCION HILL BROHERS SUR                        339 CALLE 1                                                                       SAN JUAN            PR         00924
   236807 JEAN C RODRIGUEZ JUSINO     REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   236808 JEAN C RODRIGUEZ RAMOS      REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   236809 JEAN C RODRIGUEZ RIVERA     REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   236810 JEAN C ROLDAN MERCADO       REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   236812 JEAN C ROSARIO ALVAREZ      REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   236813 JEAN C SANTANA HIRALDO      REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   676162 JEAN C SANTIAGO MOYENO      HC 01 BOX 6484                                                                                                            GUAYNABO            PR         00921
   236814 JEAN C SUAREZ ZAMBRANA      REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   236816 JEAN C. DELGADO CORNIER     REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   236817 JEAN C. RODRIGUEZ PEREZ     REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   236818 JEAN C. SOTO NEVAREZ        REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   236819 JEAN CARLO CARPIO           REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   236820 JEAN CARLO DE LEON GARCIA   REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   236821 JEAN CARLO GALLARDO VARELA REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   236823 JEAN CARLO GARCIA CARMONA                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JEAN CARLO MELENDEZ
   676164 CINTRON                                     URB MANS SIERRA TAINA   B10 CALLE 4                                                                       BAYAMON             PR         00956
   236824 JEAN CARLO SILVA SOTO                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JEAN CARLOS BERRIOS
   676166 ESCUDERO                                    SIERRA BERDECIA         H 51 C ALLE GARCIA                                                                GUAYNABO            PR         00969
          JEAN CARLOS BETANCOURT
   236826 CANCEL                                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   236827 JEAN CARLOS CEDENO CRUZ                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   236828 JEAN CARLOS CUEVAS DIAZ                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JEAN CARLOS HERNANDEZ
   676167 BONILLA                                     URB VILLA ANDALUCIA     J 45 CALLE GAUCIN                                                                 SAN JUAN            PR         00926



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  676168 JEAN CARLOS LOPEZ CUEVAS                     BOX 712                                                                                                     NARANJITO         PR           00719

   236829 JEAN CARLOS MARTINEZ PEREZ                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   676169 JEAN CARLOS MEDERO SEINO                    URB VILLA CAROLINA        BLQ 109 24 CALLE 82                                                               CAROLINA          PR           00985
          JEAN CARLOS RAMOS / CELINES
   676170 VAZQUEZ                                     MEDIAN LUNA CAMPANILLAS   A 4 CARR 865 KM 14 8                                                              TOA BAJA          PR           00949

   236830 JEAN CARLOS RIVERA ALVAREZ                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   236831 JEAN CARLOS RIVERA TAVAREZ                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   676165 JEAN CARLOS RODRIGUEZ                       PO BOX 802                                                                                                  LUQUILLO          PR           00773
          JEAN CARLOS RODRIGUEZ
   236832 EMANUELLI                                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          JEAN CARLOS RODRIGUEZ
   236833 NEGRON                                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   236834 JEAN CARLOS VARGAS MARTE                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   236835 JEAN CARLOS VEL                             REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   676171 JEAN CARLOS VIDRO VEGA                      P O BOX 277                                                                                                 SABANA GRANDE     PR           000637
   236836 JEAN D LEONCE NAJAC                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   236837 JEAN DIAZ ORTIZ                             REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   236838 JEAN DOMENECH VELAZQUEZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   236839 JEAN DURANTI                                REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   236840 JEAN E BRUNO MONTANEZ                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   676173 JEAN E MARTINEZ RIVERA                      HC 2 BOX 5840‐1           SECTOR EL MADRIGAL                                                                COAMO             PR           00769
   236841 JEAN F PEREZ FAURE                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          JEAN G FIGUEROA / CAROLINE
   236842 SANTIAGO                                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   236843 JEAN G VIDAL FONT                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   676175 JEAN GAUTHIER                               PO BOX 11680                                                                                                SAN JUAN          PR           00909
   676176 JEAN GONZALEZ HERNANDEZ                     URB VILLA MAR             D 21 CALLE BERNING                                                                GUAYAMA           PR           00784
   236846 JEAN H CARABALLO LA SANTA                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   236847 JEAN HERNANDEZ DAVILA                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   236848 JEAN HERNANDEZ SANTIAGO                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   676177 JEAN HIDALGO PAEZ                           AVE LAGUNA 1              APTO 2G                                                                           CAROLINA          PR           00979

   236849 JEAN I RODRIGUEZ RODRIGUEZ                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          JEAN IXSANDER ALVARADO
   236850 ORTIZ                                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   236851 JEAN K ANDINO CALDERON                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   236852 JEAN K MARTINEZ FIGUEROA                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

  1256592 JEAN KARLO GUEVARA BENITEZ                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   236853 JEAN KARLO ROCAFORT LEBRON                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   676179 JEAN KATHRYN SOLOMON                        URB MARIANI               8010 CALLE DR FERRAN                                                              PONCE             PR           00717‐0213
   236855 JEAN L GARCIA VARGAS                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   236856 JEAN L ORTIZ TORRES                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   236857 JEAN L. DECATREL                            REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   236858 JEAN LEE BATISTA CHAMORRO                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   676180 JEAN LOPEZ DAVILA                           BO SAN JOSE               PARCELA 97 CALLE 6                                                                TOA BAJA          PR           00951
   236859 JEAN LOUIS RALDIRIS COTTI                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   236861 JEAN M LUNA MARTINEZ                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  236862 JEAN M MILLAN MARTINEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  236863 JEAN M NIEVES VAZQUEZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  676182 JEAN M ORTEGA SANCHEZ                        HC 3 BOX 31720                                                                                                  MAYAGUEZ          PR         00680
  236864 JEAN M ROJAS PEREZ                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  236865 JEAN M SERRANO JIMENEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  676183 JEAN M TIRRI HILL                            150 CARRETERA               3 SECTOR CENTRAL                                                                    CAROLINA          PR         00979‐1536
  236866 JEAN M VILA VILELLA                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  236867 JEAN M. MENAY VEGA                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         JEAN MANUEL CHARLOIS
  236868 ALLENDE                                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  236869 JEAN MARCANO BONILLA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  676184 JEAN MARIE ALICEA BROOS                      PO BOX 13987                                                                                                    SAN JUAN          PR         00908
  676185 JEAN MARIE LEON ORTIZ                        PO BOX 7966                                                                                                     PONCE             PR         00732
  236870 JEAN MARIE NAVARRO                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  236871 JEAN MARIE RIVERA VAZQUEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  236872 JEAN MENAY VEGA                              REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
                                                      902 AVE PONCE DE LEON APT
   676187 JEAN MICHEL FIELDLER                        501                                                                                                             SAN JUAN          PR         00907
   676188 JEAN N ALVARADO SANTANA                     HC 4 BOX 4223                                                                                                   HUMACAO           PR         00741
   236873 JEAN O MONTANEZ CASTRO                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   236874 JEAN O SANTIAGO MONTALVO                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   676189 JEAN ORLANDO PEREZ GARCIA                   SANTA RITA                  G 35 CALLE 14                                                                       VEGA ALTA         PR         00692
   236876 JEAN P CABEZUDO GINESTRE                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   236877 JEAN P COLON PONS                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   236878 JEAN P FIGUEROA MARGARY                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          JEAN P HOVELLEMONT
   236880 ENCARNACION                                 REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   236881 JEAN P IRIZARRY ACEVEDO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   236882 JEAN P MENDEZ FLORES                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   236883 JEAN P PABON QUINONEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   236884 JEAN PAUL AMEIJEIRAS VIRUET                 REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   236885 JEAN PAUL CABASSA ALVIRA                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   236886 JEAN PAUL COLON PONS                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   236887 JEAN PAUL CRUZ COLON                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          JEAN PAUL KUHLMANN
   676191 GODREAU                                     COND CENTRUM PLAZA          273 CALLE URUGUAY PH B                                                              SAN JUAN          PR         00917
          JEAN PIERRE / IVAN RAMOS
   676193 CARRASQUILLO                                VILLA DEL REY               4C 17 CALLE 24                                                                      CAGUAS            PR         00725
   236895 JEAN PIERRE MENAY VEGA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   236896 JEAN PIERRE VALLELLANES DIAZ                REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   236897 JEAN R PEREZ LARA                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   236898 JEAN R PIZARRO LATORRE                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   236901 JEAN RODRIGUEZ AVILA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   236902 JEAN RODRIGUEZ POZO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   236903 JEAN RODRIGUEZ VARGAS                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   236904 JEAN TEMPLETON PHD, GLORIA                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   236905 JEAN TORRES MATEO                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   236906 JEAN TOUS RIVERA                            REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED



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  236907 JEAN V RAMOS                                 REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JEAN VAZQUEZ MORALES
  236908 MADELINE DELGADO MA                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  236909 JEAN Y VES CADOREL JEAN                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   676194 JEANCARLO CARDONA CUEVAS                    PO BOX 852                                                                                                ENSENADA            PR         00647

   236910 JEANCARLO RODRIGUEZ NIEVES                  REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JEANCARLOS MONTANEZ
   236911 SANTOS                                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676195 JEANDARK ABOU                               MONTEHIEDRA             240 CALLE JILGUERO                                                                SAN JUAN            PR         00726

   236913 JEANDEMAR I RIVERA SERRANO                  REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676196 JEANDRES J ZAPATA BONILLA                   URB BAYAMON GARDENS     DD 33 CALLE C                                                                     BAYAMON             PR         00957
   676198 JEANELLE ALEMAR ESCABI                      PO BOX 5283                                                                                               MAYAGUEZ            PR         00680‐5283

   676199 JEANESBEL MELENDEZ CABRERA                  HC 1 BOX 4895                                                                                             COMERIO             PR         00782
          JEANETT CONCEPCION
   676200 MACHADO                                     369 SECTOR LOS ORTEGA                                                                                     ISABELA             PR         00662
   236915 JEANETT SANCHEZ MUNIZ                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JEANETTE A RODRIGUEZ
   236916 GALLETTA                                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JEANETTE ACEVEDO
   676201 MALDONADO                                   BOX 1116                                                                                                  ARECIBO             PR         00613
   236917 JEANETTE ALEJANDRO RIVERA                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236918 JEANETTE AMBERT DE JESUS                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236919 JEANETTE ARCE TORRES                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676202 JEANETTE AYALA LOPEZ                        COLINAS DE FAIRVIEW     4G 25 CALLE 204                                                                   TRUJILLO ALTO       PR         00917
   676203 JEANETTE BONANO MAS                         ALTURAS DE SAN PEDRO    X 7 C/ SAN GABRIEL                                                                FAJARDO             PR         00738
   236922 JEANETTE BONET GASCOT                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   236923 JEANETTE BORRERO CABALLERO REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236925 JEANETTE CANINO SANTOS     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   236926 JEANETTE CARABALLO QUIROS                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676205 JEANETTE CARDONA ROMAN                      PO BOX 192705                                                                                             SAN JUAN            PR         00919‐2705
   236927 JEANETTE CASTILLO SINDO                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      VILLA JULIA 143 CALLE
   676206 JEANETTE CINTRON CURBELLO                   MAGNOLIA                                                                                                  QUEBRADILLA         PR         00678
   236928 JEANETTE COLLAZO ORTIZ                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236929 JEANETTE COLON HUY                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   236930 JEANETTE COLON RODRIGUEZ                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676207 JEANETTE CORDERO BAEZ                       BOSQUE DEL LAGO         BE 23 PLAZA 13                                                                    TRUJILLO ALTO       PR         00976
          JEANETTE CORDOVES
   236931 CONCEPCION                                  REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236932 JEANETTE COTTO COLON                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   236933 JEANETTE CRUZ FIGUEROA                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   676208 JEANETTE D ROSARIO AGUILAR                  BOX 1242                                                                                                  HATILLO             PR         00659

   236934 JEANETTE DELGADO MORALES                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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          JEANETTE DIAZ DEYA Y/O DAVID
   236935 DIAZ                         REDACTED                                   REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   236936 JEANETTE DIAZ HERNANDEZ      REDACTED                                   REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   676210 JEANETTE FIGUEROA COLON                     BDA OBRERA                  295 CALLE RAMON O CARBALLO                                                            FAJARDO              PR           00738
   236938 JEANETTE FLORES VEGA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   676211 JEANETTE FOURNIER MEDINA                    COND VISTA VERDE APT 1103   AVE SAN IGNACIO                                                                       SAN JUAN             PR           00921

   676212 JEANETTE G VERDUIN ROSARIO                  HC 05 BOX 28826                                                                                                   CAMUY                PR           00627‐9865
   676213 JEANETTE GAILE MARRERO                      BO PALOMAS                  123 SEC PARC VIEJAS                                                                   COMERIO              PR           00782
   676214 JEANETTE GARCIA VALCARCEL                   URB METROPOLIS              2 H 44 CALLE 55                                                                       CAROLINA             PR           00987
   676215 JEANETTE GONZALEZ PEREZ                     P O BOX 1038                                                                                                      AGUADILLA            PR           00605

   676216 JEANETTE GUTARRA CORDERO                    REPTO FLAMINGO              H 17 CALLE CENTRAL                                                                    BAYAMON              PR           00959
   676217 JEANETTE GUZMAN                             790 OAK BURL COURT                                                                                                SANFORD              FL           32771
   676218 JEANETTE HERNANDEZ                          URB CIUDAD REAL             613 CALLE ASIS                                                                        VEGA BAJA            PR           00693

   236941 JEANETTE J ESTRELLA ROSARIO                 REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   236942 JEANETTE JIMENEZ COLON                      REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   236943 JEANETTE JOHNSON RAMOS                      REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   676221 JEANETTE LEON GONZALEZ                      P O BOX 286                                                                                                       YABUCOA              PR           00767
   236944 JEANETTE LOPEZ LOPEZ                        REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   676222 JEANETTE M BURGOS PAGAN                     HC 1 BOX 4370                                                                                                     CIALES               PR           00638

   676223 JEANETTE M CABRERA OSORIO                   HC 01 BOX 12898                                                                                                   RIO GRANDE           PR           00745
   236945 JEANETTE M CRUZ MORALES                     REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   236946 JEANETTE M RIVERA GUZMAN                    REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   236947 JEANETTE M. ORTIZ RIVERA                    REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   676224 JEANETTE MALDONADO MATOS URB VILLA SERENA                               I 1 CALLE FRENEIDA                                                                    ARECIBO              PR           00612

   676225 JEANETTE MALDONADO PAGAN 1903 MONTECILLO II                                                                                                                   TRUJILLO ALTO        PR           00976
   236948 JEANETTE MARQUEZ TORRES  REDACTED                                       REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   676226 JEANETTE MARTINEZ MARTINEZ                  URB SANTA ELVIRA F 12       CALLE SANTA ANA                                                                       CAGUAS               PR           00725‐3420
          JEANETTE MARYAM RAMOS
   236949 BERMUDEZ                                    REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   676227 JEANETTE MELENDEZ OCASIO                    RR 01 BOX 14325                                                                                                   OROCOVIS             PR           00720
   676228 JEANETTE MOLINA GONZA;EZ                    PO BOX 43                                                                                                         UTUADO               PR           00641

   236950 JEANETTE MORALES CAMACHO                    REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   676231 JEANETTE MORALES PIOVANETTI PO BOX 364352                                                                                                                     SAN JUAN             PR           00936‐4352
   236951 JEANETTE NUNEZ PAGAN        REDACTED                                    REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   236952 JEANETTE ORTIZ CASTILLO     REDACTED                                    REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   676232 JEANETTE ORTIZ MELENDEZ     URB LOS ROSALES                             J 2 CALLE 2                                                                           HUMACAO              PR           00791‐3109
   236953 JEANETTE ORTIZ MONTALVO     REDACTED                                    REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   676233 JEANETTE ORTIZ MORALES      HC 1 BOX 5859                                                                                                                     CIALES               PR           00638
   676234 JEANETTE ORTIZ TOLEDO       46 CALLE WASHINGTON                                                                                                               PONCE                PR           00731
   236954 JEANETTE PAGAN ABREU        REDACTED                                    REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   236955 JEANETTE PEREZ MATTA        REDACTED                                    REDACTED                  REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   676235 JEANETTE RAMON VELAZQUEZ                    PO BOX 534                                                                                                        CAROLINA             PR           00986



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  676236 JEANETTE RAMOS CRUZ                          HC 03 BOX 33266                                                                                                AGUADILLA         PR         00603
  676237 JEANETTE REYES AVILES                        BAYAMON GARDENS              P 2 CALLE 21                                                                      BAYAMON           PR         00957
  236956 JEANETTE REYES RIVERA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  676238 JEANETTE RIVERA CRUZ                         ALTURAS DEL RIO BAYAMON      E 11 CALLE 3                                                                      BAYAMON           PR         00959
  236957 JEANETTE RIVERA ESCALERA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  676239 JEANETTE RIVERA GUZMAN                       PO BOX 21414                                                                                                   SAN JUAN          PR         00928
  236958 JEANETTE ROBLES RICARD                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   676241 JEANETTE RODRIGUEZ AMARO                    PO BOX 1444                                                                                                    YABUCOA           PR         00767
   236959 JEANETTE ROMAN SOLARES                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236960 JEANETTE ROSARIO IRIZARRY                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   676244 JEANETTE ROSETTA VAUGHAN                    1074 CALLE PUERTO ARTURO                                                                                       SAN JUAN          PR         00907

   676245 JEANETTE RUIZ SOTO                          420 CALLE SAN ANTONIO APT8                                                                                     SAN JUAN          PR         00915

   676246 JEANETTE SANDOVAL FIGUEROA HC 2 BOX 6107                                                                                                                   MOROVIS           PR         00687
   236961 JEANETTE SAVELLI AGUIAR    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   236962 JEANETTE SERRANO DELGADO                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236963 JEANETTE SERRANT MENDEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236964 JEANETTE SIERRA MONTANEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676248 JEANETTE SOLIS ARROYO                       AA5 CALLE ESQUIMIA           HACIENDAS DEL DORADO                                                              DORADO            PR         00646
   676249 JEANETTE SRIZARY                            URB VILLA ESPERANZA          119 CALLE 5                                                                       PONCE             PR         00731
   676250 JEANETTE TORRES                             URB RES BARINES              F 21 CALLE 3                                                                      YAUCO             PR         00698
   236965 JEANETTE TORRES CORTES                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236966 JEANETTE TORRES MORALES                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236967 JEANETTE V DIAZ BERRIOS                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676253 JEANETTE VAZQUEZ DIAZ                       PO BOX 519                                                                                                     FLORIDA           PR         00650

   236968 JEANETTE VAZQUEZ HERNANDEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236969 JEANETTE VAZQUEZ RIVERA    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236970 JEANETTE VELEZ             REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236971 JEANETTE VIERA RIVERA      REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JEANETTE VILLACRUCES
   236972 MORALES &JOSE OLLER        REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   676255 JEANETTE VIZCARRONDO COLON VILLA CAROLINA                                184 58 CALLE 518                                                                  CAROLINA          PR         00985
          JEANFRANCO JOSE MARRERO
   236973 TORRES                     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676256 JEANICE GONZALEZ LEBRON    PO BOX 672                                                                                                                      MAUNABO           PR         00707
   676257 JEANICE M MORALES CORREA   HC 01 BOX 1044 B                                                                                                                ARECIBO           PR         00612
   676258 JEANICE VEGA HERNANDEZ     BO CALLEJONES                                 HC 01 BOX 4427                                                                    LARES             PR         00669 9617

   676259 JEANIDETH DE LA ROSA FLORES                 VICTOR ROJAS II              132 CALLE 2                                                                       ARECIBO           PR         00612
   236974 JEANIE M GONZALEZ AYBAR                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676260 JEANINE COMAS HORTA                         PO BOX 3012                                                                                                    MAYAGUEZ          PR         00681‐3012
   236975 JEANISE RODRIGUEZ ROSA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236976 JEANLYN CACERES VILLEGAS                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236978 JEANN M CORREA ESCALANTE                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676262 JEANNE BONILLA RIVERA                       COND LA MANCHA APT 407                                                                                         ISLA VERDE        PR         00979
   236979 JEANNE DEL ROSARIO SOTO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   236980 JEANNE DELIZ LOPEZ RIVERA                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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                                                      OFFICE OF THE GOVERNOR PO
   676264 JEANNE M BURNS                              BOX 94004                                                                                                       BATON ROUGE          LA           70804‐9004
   676265 JEANNE M GEIER WATSON                       URB METROPOLIS              C 21 CALLE 7                                                                        CAROLINA             PR           00987
   236981 JEANNELIS CADIZ MARRERO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JEANNELLE M COLLAZO
   236982 DRAGONI                                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   236983 JEANNETH CACERES MIDENCE                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   676268 JEANNETT COLON                              URB VILLAS DE CANEY         CALLE GUAYAMA C 9                                                                   TOA ALTA             PR           00976
   236984 JEANNETTE A OTERO GARCIA                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   676271 JEANNETTE ABRIL CAMACHO                     COND RAFAEL HERNANDEZ       APT 104 CALLE SAN JOSE                                                              SAN JUANJ            PR           00923

   236985 JEANNETTE ACEVEDO ACEVEDO                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   676272 JEANNETTE AFANADOR CRUZ                     BO CAMPANILLAS              213 CALLE EL MONTE                                                                  TOA BAJA             PR           00949
          JEANNETTE AILEEN VERGELI
   236986 ROJAS                                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JEANNETTE AIRMONT
   236987 CANDELARIA                                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   676274 JEANNETTE ALBADALEJO                        HC 80 BOX 8850                                                                                                  DORADO               PR           00646
          JEANNETTE ALERS BBA ALERS
   236988 MED. TRANSPORT                              PO BOX 3384                                                                                                     AGUADILLA            PR           00605

   236989 JEANNETTE ALICEA MALDONADO REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JEANNETTE ALVARADO
   676276 GONZALEZ                   PO BOX 1273                                                                                                                      COAMO                PR           00769
   236990 JEANNETTE ALVAREZ LOPEZ    REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   676277 JEANNETTE ALVAREZ RAMOS    APARTADO 334                                                                                                                     NAGUABO              PR           00707
   676278 JEANNETTE ALVAREZ TORRES   RES LA MESETA                                EDF 9 APT 281                                                                       ARECIBO              PR           00627
   676269 JEANNETTE ANTUNA MALAVE    URB VILLA CAROLINA                           107‐6 CALLE 100                                                                     CAROLINA             PR           00985
   676279 JEANNETTE APONTE AYALA     HC 02 BOX 9927                                                                                                                   LAS MARIAS           PR           00670‐9032
   676280 JEANNETTE ARCE CRUZ        VALLE DE ANDALUCIA                           2949 CALLE SANTILLANA                                                               PONCE                PR           00728
   676281 JEANNETTE ARIAS            PASEO DEL PRADO                              C 25 CALLE LAS PALMAS                                                               SAN JUAN             PR           00926
          JEANNETTE ARIMONT
   236991 CANDELARIA                 REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   676283 JEANNETTE ARTESONA LUGO    P O BOX 363762                                                                                                                   SAN JUAN             PR           00936

   236993 JEANNETTE BARRIOS CONZALEZ                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   676284 JEANNETTE BERDECIA QUILES                   CUPEY GDNS                  H 12 CALLE 2                                                                        SAN JUAN             PR           00926
          JEANNETTE BERMUDEZ
   676285 MAYSONET                                    RR 01 BOX 39 F                                                                                                  CAROLINA             PR           00983
   236994 JEANNETTE BIZARRETTY                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   236995 JEANNETTE BOOM                              REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   676286 JEANNETTE CABRERA MOLINELLI PO BOX 362437                                                                                                                   SAN JUAN             PR           00936‐2437
   236999 JEANNETTE CALCORU TORRES    REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   237001 JEANNETTE CARDONA PEREZ     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JEANNETTE CARRASQUILLO
   676287 COLON                       URB ROUND HILLS                             1414 CALLE ALELI                                                                    TRUJILLO ALTO        PR           00976

   237002 JEANNETTE CASTRO GONZALEZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   676289 JEANNETTE CESAREO NIEVES                    HC 03 BOX 8309                                                                                                  BARRANQUITA          PR           00737

   676290 JEANNETTE CHAVES CORDERO                    BO LA QUINTA                223 LOMAS BONITAS                                                                   MAYAGUEZ             PR           00681
   676293 JEANNETTE COLON CARDEL                      25 CALLE LAVERGE                                                                                                CABO ROJO            PR           00623



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   676294 JEANNETTE COLON CHEVRES                     232 AVE ELEONOR ROOSEVELT                                                                                         SAN JUAN            PR           00907
   237005 JEANNETTE COLON MARRERO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676295 JEANNETTE CORREA HERNANDEZ URB VIVES                                    138 CALLE C                                                                           GUAYAMA             PR           00784
   676296 JEANNETTE CORREA RIVERA    RR 6 BOX 9249                                                                                                                      SAN JUAN            PR           00926
   676297 JEANNETTE CORTEZ LOPEZ     5870 BO CRUZ                                                                                                                       MOCA                PR           00676
   676298 JEANNETTE CRUZ DE JESUS    URB VICTOR ROJAS 2                           115 CALLE 1                                                                           ARECIBO             PR           00612
   237006 JEANNETTE CRUZ GONZALEZ    REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237007 JEANNETTE CRUZ MARTES      REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JEANNETTE D. VALENTIN
   676300 GONZALEZ                   REPTO DAGUEY                                 H3 CALLE 3                                                                            ANASCO              PR           00610
   237008 JEANNETTE DAVILA ALICEA    REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237009 JEANNETTE DE ORBETA DIAZ   REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676301 JEANNETTE DEL RIO TORRES   RAMON BAYRON                                 65 DULCES LABIOS                                                                      MAYAGUEZ            PR           00680
   237010 JEANNETTE DIAZ LEBRON      REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676302 JEANNETTE DRONA            URB LA PROVIDENCIA                           2 D7 CALLE 14                                                                         TOA ALTA            PR           00953
   237011 JEANNETTE E COLON MARIN    REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237013 JEANNETTE E MUNIZ ROSA     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676303 JEANNETTE E NAVARRO TYSON                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JEANNETTE E RODRIGUEZ
   237014 FIGUEROA                                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676305 JEANNETTE E SOLAR AGOSTINI                  URB SANTA MARIA             172 CALLE MIMOSA                                                                      SAN JUAN            PR           00927

   237015 JEANNETTE E VALLECILO LOPEZ                 REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237016 JEANNETTE ESTEVES DIAZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237017 JEANNETTE FELICIANO CECILIA                 REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237018 JEANNETTE FIGUEROA                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676308 JEANNETTE FIGUEROA COLON                    CAMINO REAL D202                                                                                                  GUAYNABO            PR           00969

   237019 JEANNETTE FIGUEROA VARGAS                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676310 JEANNETTE GARCIA SEPULVEDA HC 04 BOX 50034                                                                                                                    CAGUAS              PR           00725
          JEANNETTE GARRASTAZU
   676311 SANTIAGO                   PO BOX 605                                                                                                                         MANATI              PR           00674

   237021 JEANNETTE GONZALEZ ACEVEDO REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237022 JEANNETTE GONZALEZ REYES   REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JEANNETTE GONZALEZ
   237023 SANTIAGO                   REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237025 JEANNETTE GONZALEZ VEGA    REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237027 JEANNETTE I FALU COLON     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237028 JEANNETTE I. PAGAN PERALTA REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676314 JEANNETTE INSERNI KANAS    VILLA CLEMENTINA                             11 CALLE SAN JOSE                                                                     GUAYNABO            PR           00969
   237029 JEANNETTE IRIZARRY         REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676315 JEANNETTE JUSTINIANO       SAN IGNACIO                                  1807 CALLE SAN ALEJANDRO                                                              SAN JUAN            PR           00927‐6813
   237030 JEANNETTE KERCADO RIVERA   REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237032 JEANNETTE LAZA TRINIDAD    REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676316 JEANNETTE LEBRON RAMOS     PO BOX 884                                                                                                                         MAUNABO             PR           00707
   676317 JEANNETTE LLANOS COLON     LIRIOS DEL SUR                               EDIF 18 APT 217                                                                       PONCE               PR           00731



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   237034 JEANNETTE LOPEZ DE VICTORIA                 REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676319 JEANNETTE LOPEZ MIRANDA                     HC 59 BOX 4312                                                                                                AGUADA              PR           00602
   676320 JEANNETTE LOPEZ TORRES                      HC 02 BOX 8173                                                                                                GUAYANILLA          PR           00656

   676321 JEANNETTE LUGO MALDONADO                    RR 2 BOX 7108                                                                                                 MANATI              PR           00674
   676322 JEANNETTE M ALICEA FALCON                   CUPEY GARDENS              D 13 CALLE 5                                                                       SAN JUAN            PR           00926
          JEANNETTE M BERMUDEZ
   237035 MORALES                                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JEANNETTE M CALDERON
   237036 RODRIGUEZ                                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JEANNETTE M COLLAZO
   237037 DRAGONI                                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JEANNETTE M GALGUERA
   237038 ALVAREZ                                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JEANNETTE M MORALES
   237040 MERCADO                                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JEANNETTE M MULERO
   237041 RODRIGUEZ                                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676325 JEANNETTE M NEGRON RAMIREZ 33 CALLE BOLIVIA                            SUITE 701                                                                          SAN JUAN            PR           00917‐2010
   237042 JEANNETTE M ORTIZ FORTI    REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676327 JEANNETTE M RIVERA RIVERA  JARD DE MAMEY                               J 9 CALLE 4                                                                        PATILLAS            PR           00723

   676328 JEANNETTE M SERRANO ALAMO HC 20 BOX 21576                                                                                                                 SAN LORENZO         PR           00754

   237044 JEANNETTE M SUAREZ FELICIANO REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237045 JEANNETTE M. AGUAYO CORTES                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JEANNETTE MARIE LOPEZ
   237046 ASENCIO                                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JEANNETTE MARTINEZ
   237047 RODRIGUEZ                                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676332 JEANNETTE MARTINEZ VELEZ                    1517 CALLE LOPEZ LANDRON                                                                                      SAN JUAN            PR           00911

   676333 JEANNETTE MELENDEZ RIVERA                   COND TERRA AZUL 7                                                                                             ARECIBO             PR           00612

   237048 JEANNETTE MELENDEZ TORRES                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237049 JEANNETTE MENDOZA MONTES REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237051 JEANNETTE MERCADO GARCIA                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676334 JEANNETTE MILLAN DEL VALLE                  EXT ALTURAS DE YAUCO       V 11 CALLE CARRIZALES                                                              YAUCO               PR           00698
          JEANNETTE MIRANDA
   676335 RODRIGUEZ                                   68 CALLE SAN MIGUEL                                                                                           YAUCO               PR           00698

   237053 JEANNETTE MIRANDA SANTIAGO REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237054 JEANNETTE MOLINA VIANA     REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676337 JEANNETTE MORALES AYALA    URB HIGHLAND                                696 CALLE CIPRES                                                                   SAN JUAN            PR           00924
   237055 JEANNETTE MORALES CRUZ     REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JEANNETTE NARVAEZ
   676338 RODRIGUEZ                  RR 4 BOX 495                                                                                                                   BAYAMON             PR           00956



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          JEANNETTE NEGRON / MELISSA                  COND FOUNTAINE BLEU APT
   676339 ROBLES NEGRON                               2402                                                                                                          GUAYNABO            PR           00969
   237056 JEANNETTE NIEVES ALAGON                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676341 JEANNETTE NIEVES PEREZ                      HC 2 BOX 7276                                                                                                 UTUADO              PR           00641

   237059 JEANNETTE OQUENDO HEREDIA REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676343 JEANNETTE ORTIZ ALMODOVAR                   H C 01 BOX 7386                                                                                               LAJAS               PR           00667
   676344 JEANNETTE ORTIZ RAMOS                       URB BERDECIA              33 CALLE FAGOT                                                                      GUAYNABO            PR           00969
   676346 JEANNETTE OTERO SANTIAGO                    P O BOX BAJADERO          BUZ 1159                                                                            BAJADERO            PR           00616
   237060 JEANNETTE PACHECO                           REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237062 JEANNETTE PACHECO ARROYO                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676347 JEANNETTE PACHECO MEDERO                    URB ENCANTADA             RIACHUELO RO 47                                                                     TRUJILLO ALTO       PR           00976
   237064 JEANNETTE PADILLA RAMOS                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237066 JEANNETTE PAGAN PERALTA                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237067 JEANNETTE PANTOJA ARROYO                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237068 JEANNETTE PENA CONCEPCION                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JEANNETTE PEONA SANDOVAL
   237069 /DBA AD GROUP                               URB TIERRA ALTA II        N 8 TORTOLA                                                                         GUAYNABO            PR           00969
   237070 JEANNETTE PEREZ GUZMAN                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676349 JEANNETTE PEREZ VAZQUEZ                     URB SIERRA LINDA          F 2 CALLE 9                                                                         CABO ROJO           PR           00623
          JEANNETTE QUILES ACEVEDO/
   676350 EQUIP TAINOS                                LOS LAURELES APARTMENTS   EDIF 22 APT 2203                                                                    BAYAMON             PR           00956
   237071 JEANNETTE QUINONES ORTIZ                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676353 JEANNETTE RAMOS LOPEZ                       HC 3 BOX 31077                                                                                                AGUADILLA           PR           00603‐9706

   676354 JEANNETTE RAMOS VELAZQUEZ ALTURAS DE RIO GRANDE                       J 458 CALLE 10                                                                      RIO GRANDE          PR           00745
   237072 JEANNETTE RESTO REYES     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237073 JEANNETTE REYES RAMOS     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237074 JEANNETTE RIVERA          REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676355 JEANNETTE RIVERA HERNANDEZ P O BOX 161                                                                                                                    BARCELONETA         PR           00617

   676356 JEANNETTE RIVERA MAORALES                   HC 02 BOX 7473                                                                                                CAMUY               PR           00627
   237075 JEANNETTE RIVERA MIRANDA                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676358 JEANNETTE RIVERA PARRA                      URB ALTURAS DEL RIO       A 8 CALLE 6                                                                         BAYAMON             PR           00959
   237076 JEANNETTE RIVERA VALLEJO                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676359 JEANNETTE RIVERA ZENO                       ISLOTE II                 108 CALLE 6                                                                         ARECIBO             PR           00612
   676360 JEANNETTE ROCAFORT OLAN                     URB MONTE CARLOS          908 CALLE 29 A                                                                      SAN JUAN            PR           00924‐5277

   676362 JEANNETTE RODRIGUEZ GARCIA HC 1 BOX 2821                                                                                                                  MOROVIS             PR           00687
          JEANNETTE RODRIGUEZ
   676363 GONZALEZ                   URB VISTA VILLA                            A1 CALLE 4                                                                          VILLALBA            PR           00766

   237078 JEANNETTE RODRIGUEZ MADERA REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676364 JEANNETTE RODRIGUEZ PEREZ                   PO BOX‐584                                                                                                    YAUCO               PR           00698
          JEANNETTE RODRIGUEZ
   676270 RODRIGUEZ                                   D‐B‐ 40 JARD MONT BLANC                                                                                       YAUCO               PR           00698



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          JEANNETTE RODRIGUEZ
   676365 RODRIGUEZ                                   HC 2 BOX 11811                                                                                               HUMACAO             PR           00791‐9622
   676361 JEANNETTE RODRIGUEZ RUIZ                    PO BOX 1049                PUEBLO STATION                                                                    CAROLINA            PR           00986‐1049
   676367 JEANNETTE ROJAS GUZMAN                      HC 01 BOX 5807                                                                                               JUANA DIAZ          PR           00795
   676368 JEANNETTE RULLAN MARIN                      PO BOX 10992                                                                                                 SAN JUAN            PR           00922‐0992

   676369 JEANNETTE SANCHEZ GONZALEZ                  VENUS GARDENS              AC C/ TAMAULIPAS                                                                  SAN JUAN            PR           00926
          JEANNETTE SANTIAGO /DBA/
   237082 PROMIO DESINGS                              PMB 164                    PO BOX 70250                                                                      SAN JUAN            PR           00936‐8250
   237083 JEANNETTE SANTIAGO FIOL                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JEANNETTE SANTIAGO
   237084 MARTINEZ                                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JEANNETTE SANTIAGO
   237085 MERCADO                                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237086 JEANNETTE SANTIAGO MORALES REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                     CADETES FUTUROS
   676371 JEANNETTE SANTIAGO NIEVES  EMBAJADORES DE CRIS                         46261 CALLE IGLESIA                                                               SABANA SECA         PR           00952
   676372 JEANNETTE SANTIAGO RIVERA  PO BOX 334485                                                                                                                 PONCE               PR           00733‐4485

   237087 JEANNETTE SANTIAGO TORRES                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676373 JEANNETTE SANTOS                            P O BOX 6                                                                                                    CAYEY               PR           00736

   237088 JEANNETTE SERRANO MORALES                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237089 JEANNETTE SERRANO RIOS                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237090 JEANNETTE SOSA FELICIANO                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676379 JEANNETTE TIRADO SOSA                       19 BALDORIOTY                                                                                                CIDRA               PR           00739
   676380 JEANNETTE TORO SEDA                         JARDINES MAYAGUEZ          EDIF 5 APTO 510                                                                   MAYAGUEZ            PR           00680
   237091 JEANNETTE TORRES DIAZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676381 JEANNETTE TORRES KERCADO                    URB VENUS GARDENS          1740 CALLE CEFIRO                                                                 SAN JUAN            PR           00926 4713
          JEANNETTE TORRES
   237092 MALDONADO                                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237094 JEANNETTE TORRES QUINONES                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676382 JEANNETTE TORRES RODRIGUEZ HC 72 BOX 4413                                                                                                                CAYEY               PR           00736
   676384 JEANNETTE TORRES TORRES    TIBURON 3                                   BUZ 317 CALLE 22                                                                  BARCELONETA         PR           00617
   237095 JEANNETTE VALENTIN AGUIAR  REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676385 JEANNETTE VALENTIN TORRES                   URB VILLA GRILLASCA 1540   CALLE CASANOVA                                                                    PONCE               PR           00717
   676386 JEANNETTE VARGAS CRESPO                     HC 5 BUZON 42035                                                                                             SAN SEBASTIAN       PR           00685
   676387 JEANNETTE VAZQUEZ                           H C 1 BOX 22775                                                                                              CABO ROJO           PR           00623

   676388 JEANNETTE VAZQUEZ BERRIOS                   PO BOX 11850 SUITE 322                                                                                       SAN JUAN            PR           00922‐1850

   237096 JEANNETTE VAZQUEZ CINTRON                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676389 JEANNETTE VAZQUEZ OTERO                     PO BOX 21365                                                                                                 SAN JUAN            PR           00926‐1365
   237098 JEANNETTE VEGA ORTIZ                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676390 JEANNETTE VEGA RODRIGUEZ                    2148 CARR 348                                                                                                MAYAGUEZ            PR           00680
   676391 JEANNETTE VILLAMIL RIVERA                   CASTELLANA GARDENS         L 8 CALLE 15                                                                      CAROLINA            PR           00983
   237099 JEANNETTE Y VELEZ VELEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676392 JEANNETTE YILAIDA ORTIZ ORTIZ P O BOX 2773                                                                                                               JUNCOS              PR           00777‐2773



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  676393 JEANNETTE ZAPATA PAGAN                       P O BOX 460                                                                                                     CABO ROJO         PR         00623
  237100 JEANNETTE ZARAGOZA                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  237101 JEANNICE MUSTAFA LOPEZ                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  237102 JEANNIE A MORALES CRUZ                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         JEANNIE FERNANDEZ DE LA
  676394 GUARDIA                                      2231 CALLE TAMARINDO                                                                                            SAN ANTONIO       PR         00690
  237105 JEANNIE LOPEZ IRIZARRY                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         JEANNIE M AGUIRRE
  237106 HERNANDEZ                                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         JEANNIE M ESCALERA
  237107 FERNANDEZ                                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  676396 JEANNIE ORTIZ GARCIA                         PO BOX 315                                                                                                      NAGUABO           PR         00718
  237108 JEANNIE RAMOS RIVERA                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  676397 JEANNIE RODRIGUEZ RIVERA                     714 CALLE ALFARO B O                                                                                            SAN JUAN          PR         00915‐4530

   237109 JEANNIEL HERNANDEZ ALLARD                   REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676398 JEANNIFER LUGO ORTIZ                        HC 3 BOX 20354                                                                                                  LAJAS             PR         00667

   237110 JEANNIFER M. VEGA MARTINEZ                  REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676399 JEANNINE GONZALEZ TORRES                    33 SALVADOR LUGO                                                                                                ADJUNTAS          PR         00601

   237111 JEANNINE O COLLAZO DRAGONI                  REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676400 JEANNINE RIVERA MARRERO                     URB JARDINES DEL MAMEY   G 35 CALLE 4                                                                           PATILLAS          PR         00723
   237113 JEANNOT MD, FRANCISCO                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676401 JEANNTTE FLORES CRUZ                        BOX 1432                                                                                                        JUNCOS            PR         00777
   676402 JEANNY VELAZQUEZ                            PO BOX 50071                                                                                                    SAN JUAN          PR         00902
   237115 JEANNY VELILLA RODRIGUEZ                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237116 JEANS CATERING                              REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676404 JEANYMAR GONZALEZ RIVERA                    BUZON 17 B 1101                                                                                                 CAROLINA          PR         00986
   237117 JEBEL MATHEW RAMOS                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237118 JEBZA G HERNANDEZ COLON                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JEC ADVERTISING SPECIALTIES
   676407 INC                                         P O BOX 192400                                                                                                  SAN JUAN          PR         00919‐2400
   676408 JECA REALTY INC.                            PO BOX 2708                                                                                                     SAN JUAN          PR         00936
   237119 JECAR M.ROBLES ARROYO                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JECENIA N DONES
   237120 CARRASQUILLO                                REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237121 JECEY M GOMEZ CRUZ                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237122 JECKSAM T VEGA ALVAREZ                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676409 JECKSON TORRES DE JESUS                     EXT VILLA PARAISO        1946 CALLE TEMOR                                                                       PONCE             PR         00728
   676410 JECKSY M GARCIA OCASIO                      BO MONTE REY             HC 83 BOX 6178                                                                         VEGA ALTA         PR         00692
   237124 JED INC                                     PO BOX 374                                                                                                      MERCEDITA         PR         00715‐0374
   237125 JEDAN S RIVERA ORTIZ                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JEDAYE AUDIOVISUAL & EXHIBIT
   237126 SERVICE                                     AREA DEL TESORO          DIVISION DE RECLAMACIONES                                                              SAN JUAN          PR         00902‐4140
   676411 JEDDAR RUIZ RODRIGUEZ                       URB VILLA PARAISO        C 11 CALLE 4                                                                           PONCE             PR         00731
   237130 JEDITZA ARROYO ARROYO                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676412 JEDRICK MARTI PEREZ                         URB LA MONSERRATE        37 CALE MILLONARIOS                                                                    SAN GERMAN        PR         00683
          JEDSENIA VELAZQUEZ
   676413 RODRIGUEZ                                   HC 763 BOX 3755                                                                                                 PATILLAS          PR         00723
   676414 JEEP AUTO PART LA TROCHA                    LA TROCHA # 41                                                                                                  YAUCO                        00698
   676415 JEFF FONT RUIZ                              LA CIMA ENCANTADA        C M 13 VIA NORTE                                                                       TRUJILLO ALTO     PR         00976
   237132 JEFF G GONZALEZ CARMONA                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  676416 JEFFERSON CALDERON CRUZ                      HC 1 BOX 16081                                                                                                    AGUADILLA         PR           00603

   237134 JEFFERSON E ZAPATA IRIZARRY                 REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   676417 JEFFERSON GONZALEZ MARTINEZ HC 03 BOX 7049                                                                                                                    HUMACAO           PR           00791
          JEFFERSON NATIONAL LIFE INS 9920 CORPORATE CAMPUS
   237135 COMPANY                     DRIVE                                       SUITE 1000                                                                            LOUISVILLE        KY           40233

   237136 JEFFERSON ORTHOPAEDIC CLINIC PO BOX 1630                                                                                                                      MANDEVILLE        LA           70470‐1630
          JEFFERSON PILOT FINANCIAL
   676418 INSURANCE CO                 100 NORTH GREENE STREET                                                                                                          GREENSBORO        NC           27401
   676419 JEFFERSON PILOT LIFE INS CO  P O BOX 24008                                                                                                                    GREENSBORO        NC           27420
   676420 JEFFERSON UNIV RADIOLOGY     PO BOX 1557                                                                                                                      COLUMBUS          GA           31902
          JEFFERSON UNIVERSITY
   237137 PHYSICIANS                   PO BOX 828937                                                                                                                    PHILADELPHIA      PA           19182‐8937
          JEFFERSON UNIVERSITY‐
   237138 PHYSICIANS                   P O BOX 828937                                                                                                                   PHILADELPHIA      PA           19182‐8937
   676421 JEFFERY B WALKER             HC 1 BOX 9850                                                                                                                    RIO GRANDE        PR           00745
   237139 JEFFRED IRIZARRY ORTIZ       REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   237141 JEFFREY A CORNIER PEREZ      REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   237142 JEFFREY ACEVEDO HEREDIA      REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   676424 JEFFREY ALEMAN LOPEZ         URB SANTA JUANITA A N 5                    CALLE 41                                                                              BAYAMON           PR           00956
   237143 JEFFREY ANAYA FUERTES        REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   237144 JEFFREY APONTE RAMOS         REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   237145 JEFFREY ARBASETTI TORRES     REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   237148 JEFFREY C VARGAS CORDERO     REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   676425 JEFFREY CALDERON ORTIZ       BO TORRECILLAS                             200 CALLE JUAN MERCADO                                                                MOROVIS           PR           00687
   676426 JEFFREY CANDELARIO BAEZ      BO SUSUA                                   9 CALLE ALGARROBO                                                                     SABANA GRANDE     PR           00637
          JEFFREY CARRASQUILLO
   676427 CORDERO                      JARDS DE CANOVANAS                         C6 CALLE PEPITA ALBANDOZ                                                              CANOVANAS         PR           00729
   676428 JEFFREY CORDERO VELEZ        VILLA FONTANA                              VIA 43 4 TS 10                                                                        CAROLINA          PR           00983
   237149 JEFFREY CRUZ ORTIZ           REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   676429 JEFFREY DE JESUS DEGRO       HC 3 BOX 11837                                                                                                                   JUANA DIAZ        PR           00795‐9505
   676430 JEFFREY DIAZ MATOS           PO BOX 7126                                                                                                                      PONCE             PR           00732

   676431 JEFFREY E GONZALEZ MORALES                  232 AVE ELEONOR ROOSEVELT                                                                                         SAN JUAN          PR           00907
   237150 JEFFREY E LEBRON GERENA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   237152 JEFFREY GARCIA RODRIGUEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   237153 JEFFREY GONZALEZ SANCHEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   237154 JEFFREY GREENBERG EISNER                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   237156 JEFFREY GUTIERREZ                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   676432 JEFFREY HERNANDEZ PADILLA                   P O BOX 1710                                                                                                      MOCA              PR           00676
   237157 JEFFREY HERNANDEZ WALKER                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   237158 JEFFREY I VARGAS CRUZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   676433 JEFFREY J. MILES                            AVE ISLA VERDE              806 COND NEW SAN JUAN                                                                 CAROLINA          PR           00979
   237160 JEFFREY LABOY GONZALEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   237161 JEFFREY LAMMON TRUHN                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   237162 JEFFREY LOPEZ NOLASCO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   676434 JEFFREY M GLODSTONE                         URB COUNTRY CLUB            NB 32 CALLE 442                                                                       CAROLINA          PR           00982
   237163 JEFFREY MALDONADO PENA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   676435 JEFFREY MARTINEZ COLLAZO                    EL LAUREL                   613 PASEO SAN PEDRITO                                                                 COTO LAUREL       PR           00780

   237165 JEFFREY MARTINEZ RODRIGUEZ                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  237166 JEFFREY MATEO CARMONA                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   237167 JEFFREY MERCADO RODRIGUEZ                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676437 JEFFREY MILLAN ROMAN                        VISTA DEL RIO                EDIF G APT 1384                                                                     TRUJILLO ALTO       PR         00976
   237168 JEFFREY MORALES GARCIA                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237169 JEFFREY NEGRON FIGUEROA                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676438 JEFFREY OLK DURTCHE                         USCG APARTAMENTS S 5         500 CARR 177 SUITE 110                                                              BAYAMON             PR         00959
   237170 JEFFREY PABALAN ALANO                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676439 JEFFREY RAMOS IRIZARRY                      HC 1 BOX 4806                                                                                                    LAJAS               PR         00667‐9704
   237173 JEFFREY RIVERA MORA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237174 JEFFREY RIVERA PEREZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676440 JEFFREY RIVERA SANABRIA                     RES LLORENS TORRES           EDIF 137 APT 2534                                                                   SAN JUAN            PR         00913
   237176 JEFFREY RODRIGUEZ AYALA                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JEFFREY RODRIGUEZ
   676441 BETANCOURT                                  HC 2 BOX 8614                                                                                                    CANOVANAS           PR         00729

   237177 JEFFREY RODRIGUEZ QUINONES                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237178 JEFFREY RODRIGUEZ RUIZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237179 JEFFREY RODRIGUEZ SUAREZ                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237180 JEFFREY ROMAN CANCEL                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676422 JEFFREY ROMAN CEREZO                        4602 CARR 459                                                                                                    SAN ANTONIO         PR         00690
   676442 JEFFREY S BARTLETT                          203 NIMITZ DRIVE                                                                                                 CEIBA               PR         00735
   676443 JEFFREY SALAND                              1 GUSTAVE LEVE PL BOX 1200                                                                                       NEW YORK            NY         10029
   676444 JEFFREY SANTOS ECHEVARRIA                   URB RIVERSIDE                CALLE 3 D 5                                                                         PENUELAS            PR         00624
   237181 JEFFREY SEPULVEDA OLIVIERI                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676445 JEFFREY SOTO                                URB BAHIA                    17 CALLE A                                                                          GUANICA             PR         00653
          JEFFREY STEVEN WILLIAMS
   676446 CARISON                                     427 SCOTT ST                                                                                                     SAN FRANCISCO       CA         94117
   676447 JEFFREY TALAVERA TORRES                     BOX 771                                                                                                          CAMUY               PR         00627
   237183 JEFFREY TORRES MORA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237184 JEFFREY VEGA RAMOS                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   237185 JEFFREY VELAZQUEZ QUINONES                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   237186 JEFFREY ZAYAS GOMEZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   237187 JEFFREYE NEGRON MARTINEZ                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   237189 JEFFRY JULIEN DIAZ CORTES                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   676450 JEFFRY LIPTON                               1 GUSTAVE LEVY PL BOX 1200                                                                                       NEW YORK            NY       10029
   237191 JEFFRY RODRIGUEZ GUZMAN                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   237192 JEFFRY RUIZ BARTOLOMEI                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   676453 JEFREN ZAYAS PEREZ                          PMB 336                      PO BOX 1999                                                                         BARRANQUITAS        PR       00794
   237193 JEFREY BURGOS ORTIZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   237194 JEFREY CRUZ VEGA                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   676454 JEFREY MEDINA LA ROSA                       URB REXVILLE                 AO 17 CALLE 58                                                                      BAYAMON             PR       00957
   676456 JEFREY PADILLA MONTERO                      HC 1 BOX 2693                                                                                                    BOQUERON            PR       00622
   237195 JEFRY GARCIA BELTRAN                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   237196 JEFRY GONZALEZ                              REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   237197 JEFRY J PEREZ CABAN                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   237198 JEFTE D REYES BERRIOS                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   237199 JEFTE RODRIGUEZ MERCADO                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   676457 JEHAN REYES ORTIZ                           SAINT JUST                   223 CALLE 6                                                                         TRUJILLO ALTO       PR       00976

   237200 JEHDIDIA HERNANDEZ MORRAN REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676458 JEHEJ TRANSPORT           URB CANA                                       RR 3 CALLE 12                                                                       BAYAMON             PR         00957



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   237201 JEHIELI CARRASQUILLO RIVERA                 REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237202 JEHNSY VILLANUEVA DELGADO                   REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237203 JEHOVA NISSI, INC.                          URB. GOLDEN HILLS           C/ SATURNO # 1228                                                                       DORADO              PR           00646
   237204 JEHU TORRES VEGA                            REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237205 JEHUDI CRUZ RODRIGUEZ                       REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237206 JEIBY FIGUEROA IQUINA                       REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237207 JEICK VAZQUEZ TIRADO                        REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237209 JEIDDY CARDONA ROMAN                        REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237211 JEIDELISA VELAZQUEZ OYOLA                   REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237212 JEIDELIZ GONZALEZ DOMINGUEZ REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237214 JEIDY L RIVERA CALDERO      REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676460 JEIDY SANCHEZ RAMIREZ       PO BOX 3578 MARINA STA                                                                                                              MAYAGUEZ            PR           00681
   237215 JEIDY Z MOLINERO MUNOZ      REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237216 JEIGER L MEDINA MUNIZ       REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676461 JEIKA ROSADO COLON          URB SAN FELIPE                              H4 CALLE 1                                                                              ARECIBO             PR           00612
   237217 JEILY QUESADA SERRANO       REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237218 JEIME L CAMACHO COLLAZO     REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237219 JEIMI E REYES DIAZ          REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237220 JEIMMY COLON PAGAN          REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JEIMY ANN DELIS MARQUEZ
   237221 PACHECO                     REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237222 JEIMY GUZMAN COLON          REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237223 JEIMY TORRES SANCHEZ        REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237224 JEINNY FONSECA VAZQUEZ      REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676464 JEINNY ORTEGA DIAZ          BDA LA PLATA                                14 CALLE 7                                                                              COMERIO             PR           00782
   237225 JEIRA BELEN ORTIZ           REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237226 JEIRLARIS PEREZ GARCIA      REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237227 JEISA A. GONZALEZ DEL TORO  REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676465 JEISA CARTAGENA NEGRON      C 11 VALLE ALTO                                                                                                                     CAYEY               PR           00736
   676466 JEISA Y GOMEZ TORRES        PQUE SAN ANTONIO II                         APT 3103                                                                                CAGUAS              PR           00725
   237228 JEISA Y. GOMEZ TORRES       REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676467 JEISEL COLON CRUZ           URB HIPODROMO                               1467 CALLE SAN RAFAEL                                                                   SAN JUAN            PR           00905
   237229 JEISELA COLON ACEVEDO       REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237230 JEISHA ROSARIO OLIVO        REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237231 JEISHA VICENTY GONZALEZ     REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676468 JEISHALY LOPEZ COLON        P O BOX 242                                                                                                                         SANTA ISABEL        PR           00757
   237232 Jeishka Maldonado Rios      REDACTED                                    REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237234 JEISMARIE DAVILA FELICIANO  REDACTED                                    REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237235 JEISON ABREU TORRES         REDACTED                                    REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237236 JEIXA GONZALEZ RUIZ         REDACTED                                    REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676469 JEKSAN HERNANDEZ            C/O ANA M VAZQUEZ,OPE                       PO BOX 90223431                                                                         SAN JUAN            PR           00902
          JEL MANAGEMENT SERVICE                                                  CALLE MARGINAL EDIF 1 A SUITE
   676470 CORP                        URB VILLA MARIA                             4                                                                                       MANATI              PR           00674
   237237 JELIAN CARABALLO            REDACTED                                    REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JELIANMARIE RAMIREZ
   237239 SANTIAGO                    REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237240 JELINDA RIVERA QUINTERO     REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237241 JELISA SANTIAGO BERRIOS     REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676471 JELISSA GONZALEZ ALVARADO                   RES HOGARES DEL PORTUGUES   J APT 4                                                                                 PONCE               PR           00731



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  237242 JELISSA L MERCADO                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  237243 JELISSE MATOS RENTA                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  237244 JELITZA CINTRON ANDINO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  237245 JELITZA NAZARIO RODRIGUEZ                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  237247 JELITZA SOTO ROMAN                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  676473 JELIXSA VILCHES SANCHEZ                      VILLA FONTANA               VIA 44 4Q57                                                                              CAROLINA           PR         00983
  237248 JELKA DUCHESNE SANABRIA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  237249 JELLIE N MOLINA                              REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  676474 JELLIGAN SILVA DE JESUS                      RES CARIOCA EDIF 5 APT 26                                                                                            GUAYAMA            PR         00784
  676475 JELSON BETANCOURT                            HC 645 BOX 6320A                                                                                                     TRUJILLO ALTO      PR         00977
  237252 JELUI AWADA BERNIER                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  237253 JELUI AWADA BRNIER                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         JEM COMPUTER/JOSE M REYES
  676476 DELGADO                                      PO BOX 1016                                                                                                          AGUAS BUENAS       PR         00703
  237254 JEM GROUP P S C                              52 CALLE BETANCES           BOX 7                                                                                    GUAYNABO           PR         00971
         JEM SPORTS UNIFORMS &
  237255 EQUIPMENT                                    URB EL CORTIJO              O 22 CALLE 19                                                                            BAYAMON            PR         00956
  237256 JEMA J BAZAN MEDINA                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  237257 JEMARALIE CINTRON RIVERA                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  237258 JEMARIE MARTINEZ ORTIZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         JEMEIN A A CARABALLO
  237259 CALDERON                                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  237260 JEMENI MEDICAL CORP                          PO BOX 1281                                                                                                          CATAÐO             PR         00969
  237262 JEMENI MEDICAL EQUIPMENT                     PO BOX 1281                                                                                                          CATAÐO             PR         00963

   676477 JEMILIS GONZALEZ HERNANDEZ                  PO BOX 95                                                                                                            MOCA               PR         00676
   237265 JEMN INVESTMENT CORP                        P O BOX 366029                                                                                                       SAN JUAN           PR         00936‐6029
   676479 JE'N PAUL MARKETING                         100 GRAN BULEVAR PASEOS     SUITE 112/171                                                                            SAN JUAN           PR         00926‐5955
   676480 JEN PAUL MARKETING INC                      SUITE 112‐171               100 GRAN BULEVAR PASEOS                                                                  SAN JUAN           PR         00926
   237266 JENAIRA MERCADO BAEZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   676482 JENANYS UNIFORM                             URB FLAMBOYAN               B 9 MARGINAL                                                                             MANATI             PR         00674
   676483 JENARA COUVERTIER RIVERA                    HC 02 BOX 14214                                                                                                      CAROLINA           PR         00987

   237267 JENARO A ABRAHAM NORIEGA                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237268 JENARO A FIGUEROA                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237269 JENARO A VELEZ ARTEAGA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JENARO BELTRAN DBA HOLE
   237270 PRINTING                                    PO BOX 1084                                                                                                          LAS PIEDRAS        PR         00771

   237273 JENARO E ESTERRICH ACEVEDO                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      PARCELAS PUERTO REAL 4 CALLE
   676485 JENARO MAIZ PEREZ                           15                                                                                                                   CABO ROJO          PR         00623
   676486 JENARO PAGAN FIGUEROA                       PO BOX 920                                                                                                           LAJAS              PR         00667
   237274 JENARO PEREZ NUNEZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   237277 JENARO SANTIAGO MELENDEZ                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237279 JENARO VELAZQUEZ SALDIVIA                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   676488 JENAUNY AYBAR COTTO                         URB IDAMARIS GARDEN         B 17 CALLE ANGELINA FUENTES                                                              CAGUAS             PR         00725
   237280 JENCY AURORA ALICEA ROJAS                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JENDAY SCHOLASTIC
   237282 DISTRIBUTORS                                REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237283 JENEILY ARROYO CAMILO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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MML ID               NAME                                      ADDRESS 1             ADDRESS 2                  ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  237284 JENELLY APONTE LOZANO                        REDACTED             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  237285 JENELLYS SANTA RODRIGUEZ                     REDACTED             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  237286 JENELYS CASTRO REYES                         REDACTED             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  676489 JENELYS QUI¥ONES PINET                       BO MEDIANIA BAJA     CARR 187 KM 10 HM 0 INT                                                              LOIZA               PR         00772
  237287 JENELYS QUINONES PINET                       REDACTED             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  676490 JENERI AQUINO ROSA                           COND LAS LOMAS       APT 903                                                                              SAN JUAN            PR         00921

   237288 JENESIS ALMODOVAR CAMACHO REDACTED                               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   676492 JENETTE GONZALEZ RODRIGUEZ URB COLINAS DE MONTECARLO             H 10 CALLE 44                                                                        SAN JUAN            PR         00924
   237289 JENETTE PADILLA NEGRON     REDACTED                              REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237290 JENETTE QUINONES           REDACTED                              REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   237291 JENIALEEN FERNANDEZ FONSECA REDACTED                             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   676493 JENICA M LOPEZ NEGRON       BO SINGAPUR                          420 CALLE 14                                                                         JUANA DIAZ          PR         00795
   676494 JENICE CORTIJO MERCADO      VILLAS DE LOIZA                      CALLE 19                                                                             SAN JUAN            PR         00729
   676495 JENIE L TORRES ALICEA       BO PLAYITA                           CALLE B20                                                                            SALINAS             PR         00751
   237293 JENIEFFER ACOSTA VAZQUEZ    REDACTED                             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   676496 JENIFER ALVAREZ TORRES      PO BOX 4043                          SALUD STATION                                                                        MAYAGUEZ            PR         00681
   237294 JENIFER BURGOS MELENDEZ     REDACTED                             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237295 JENIFER CRUZ MONTANEZ       REDACTED                             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237296 JENIFER CRUZ MORETA         REDACTED                             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237297 JENIFER DE JESUS SOTO       REDACTED                             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   676497 JENIFER GODEN RIVERA        HC 01 BOX 3023                                                                                                            LAS MARIAS          PR         00670
   237298 JENIFER GUZMAN MEDINA       REDACTED                             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   676498 JENIFER MARENGO RIVERA      A 13 CALLE JESUS M LAGO                                                                                                   UTUADO              PR         00641
   237299 JENIFER MELENDEZ DROZ       REDACTED                             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   237300 JENIFER MONTANEZ PASTRANA                   REDACTED             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   676499 JENIFER PEREZ RODRIGUEZ                     COND EL MIRADOR      EDIF 11 B2                                                                           SAN JUAN            PR         00915
   237301 JENIFER RIVERA GONZALEZ                     REDACTED             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   237302 JENIFER RODRIGUEZ ACEVEDO                   REDACTED             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237303 JENIFER ROMERO                              REDACTED             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237304 JENIFER SANTIAGO RUANO                      REDACTED             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   676500 JENIFER SEPULVEDA RIVERA                    BO JARIALITO         560 CALLE D                                                                          ARECIBO             PR         00612
   676501 JENIFER TAVAREZ                             P O BOX 514                                                                                               SAN ANTON           PR         00690

   237305 JENIFER TORRES GIOVANNETTI                  REDACTED             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   676502 JENIFFER CARRASQUILLO RAMOS BO CEIBA                             APT 1424                                                                             CIDRA               PR         00739
   676503 JENIFFER CASTRO CRUZ        RES LAS GARDENIAS                    EDIF 5 APT 99                                                                        BAYAMON             PR         00959
   237306 JENIFFER COLLAZO SANTANA    REDACTED                             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   676504 JENIFFER COLON BONILLA      TERRAZA DE COROLINA                  T 13 CALLE IMPERIAL                                                                  CAROLINA            PR         00987

   237307 JENIFFER DE JESUS RODRIGUEZ                 REDACTED             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JENIFFER E ALVARADO
   237308 MALDONADO                                   REDACTED             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   237309 JENIFFER FERNANDEZ GONZALEZ REDACTED                             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237310 JENIFFER HERNANDEZ BAEZ     REDACTED                             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237315 JENIFFER LUCIANO PÉREZ      REDACTED                             REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED




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   237316 JENIFFER M DE JESUS MORALES                 REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237317 JENIFFER M NAVEDO GARCIA                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237318 JENIFFER M RIVERA ROSADO                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676505 JENIFFER MARTINEZ BATISTA                   PARCELAS AMADEO 10            CALLE PARQUE 2                                                                           VEGA BAJA           PR           00693‐5120
   237319 JENIFFER MEDINA SANTIAGO                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676506 JENIFFER MERCADO VELEZ                      LAS MARGARITAS                400 BOBBY CAPO                                                                           PONCE               PR           00728
   237320 JENIFFER OLIVO GARCIA                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237321 JENIFFER RAMOS COLLAZO                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237323 JENIFFER RIVERA CORTES                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237324 JENIFFER RIVERA ROSARIO                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676507 JENIFFER RIVERA SUAREZ                      BO BARTALO GUZMAN ABAJO       78 CALLE 6                                                                               RIO GRANDE          PR           00745

   237325 JENIFFER RODRIGUEZ MARRERO                  REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237326 JENIFFER ROMAN RODRIGUEZ                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237328 JENIFFER SEMPRET RIVERA                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676509 JENIFFER SOLIVAN GONZALEZ                   URB VIVES                     CALLE E 179                                                                              GUAYAMA             PR           00784
   237329 JENIFFER VAZQUEZ SIERRA                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676510 JENIFFER VEGA AYALA                         RES JARDINES DE MONTE LLANO EDF A APT 414                                                                              CAYEY               PR           00736
   676511 JENILYS RIVERA NARVAEZ                      BO GUADIANA                 HC 73 BOX 5611                                                                             NARANJITO           PR           00719
   676512 JENIMAR DAVILA RIVERA                       HC 02 BOX 13797                                                                                                        GURABO              PR           00778‐9750
   676513 JENINE GONZALEZ                             TORRES DE SABANA            EDIF F APTO 203                                                                            CAROLINA            PR           00983

   237330 JENIPHER MELENDEZ RODRIGUEZ REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237331 JENIRA GERENA ALSINA        REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676514 JENISE E REPOLLET GONZALEZ                  BO PLAYITA                    A 39                                                                                     SALINAS             PR           00751
   676516 JENISSA MELENDEZ SANTIAGO                   URB LEVITTOWN LAKES           JE 2 C M DELIZ                                                                           TOA BAJA            PR           00949
   237333 JENISSA RIVERA BERMUDEZ                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237334 JENISSE M RIVERA DIAZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237335 JENITZA CAMACHO ARROYO                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237336 JENITZA CINTRON SANTIAGO                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237337 JENITZA I IRIZARRY ALMODOVAR REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237338 JENITZA RODRIGUEZ HERNANDEZ REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676517 JENITZA VELEZ OTERO         BOX 867 FACTOR 1                                                                                                                       ARECIBO             PR           00612
                                                                                    URB EL PARAISO CALLE TIGRIS
  1420097 JENKINS, ELMORE                             SAURÍ ORTEGA, REBECCA         1600                                                                                     SAN JUAN            PR           00926
   237339 JENMALIE, MONTALVO                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237341 JENN ELECTRICAL SERVICES INC                HC 80 BOX 7378                                                                                                         DORADO              PR           00646
   237342 JENNER SAGASTUME ESPANA                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676518 JENNETSIE FIGUEROA GARCIA                   HC 02 BOX 17319               BO MALPICA                                                                               RIO GRANDE          PR           00745
   237343 JENNETTE FIRPI CRUZ                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237344 JENNETTE MELENDEZ RIVERA                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676519 JENNETTE SANABRIA MARI                      HC 1 BOX 9855                                                                                                          SAN GERMAN          PR           00683
   676520 JENNEY VELEZ RODRIGUEZ                      LEVITTOWN 5TA SECCION         BB 3 CALLE DR COLL Y TOSTE                                                               TOA BAJA            PR           00950
   676521 JENNI G SANTIAGO MARTINEZ                   BO EL COQUI                   175 CALLE LA FABRICA                                                                     AGUIRRE             PR           00704
   237345 JENNICE A LEDEE COLON                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676522 JENNICE PADILLA TRILLO                      2 CALLE RUIZ BELVIS SUITE 2                                                                                            MOROVIS             PR           00687
   676524 JENNIE ABREU DE VELEZ                       URB LAMELA                    82 CALLE TURQUESA                                                                        ISABELA             PR           00662



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  676525 JENNIE BEAUCHAMP FELIX                       URB LA MONSERRATE        L‐12 CALLE 5                                                                         HORMIGUEROS        PR         00660
  676526 JENNIE CALDERON TALAVERA                     ALTURAS DE MONTE VERDE   APT B 29                                                                             VEGA ALTA          PR         00692
  237346 JENNIE CARO DE BONILLA                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  676527 JENNIE COSME RIVERA                          PO BOX 551                                                                                                    NARANJITO          PR         00719
  676530 JENNIE FIGUEROA FEBUS                        HC 3 BOX 8196                                                                                                 GUAYNABO           PR         00971
  676531 JENNIE FORESTIER                             3823 ATRIUM DR 7                                                                                              ORLANDO            FL         32822
  237347 JENNIE I PEREZ LOPEZ                         REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  237348 JENNIE I SALDANA JORGE                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         JENNIE M BANUCHI
  237349 MALDONADO                                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   676533 JENNIE MALDONADO SANCHEZ                    APDO 93 BAYAMON BRANCH                                                                                        BAYAMON            PR         00960
   676534 JENNIE MARTINEZ MARRERO                     URB LAS GAVIOTAS         F 14 CALLE REAL                                                                      TOA BAJA           PR         00949
   676535 JENNIE MENDEZ RIVERA                        VILLA UNIVERSITARIA      D 1 CALLE 8                                                                          HUMACAO            PR         00791
   237350 JENNIE MERCED                               REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JENNIE MUNDO/ HORTENCIA
   237351 MUNDO/ EMILIO                               REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237352 JENNIE MUNIZ PARDO                          REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   676523 JENNIE NAVAS CRUZ                           CALLE LANDRON            BUZON 111                                                                            ARECIBO            PR         00612
   237354 JENNIE OTERO NAZARIO                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237355 JENNIE R LOPEZ TORRES                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   676537 JENNIE RABELL PEREZ                         PO BOX 677                                                                                                    BAYAMON            PR         00960‐0677
   237356 JENNIE RIOS ESCUDERO                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   676538 JENNIE RIVERA CARRASQUILLO                  URB LOMAS VERDES         4F 21 CALLE ROSA                                                                     BAYAMON            PR         00956
   676539 JENNIE SANABRIA REYES                       14 BO MARICUTANA                                                                                              HUMACAO            PR         00791
   237357 JENNIEFFER MORALES RIVERA                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237358 JENNIFE LOPEZ MALDONADO                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JENNIFER A FRIAS MENDEZ/PRO
   237359 SERV ELECT                                  REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   676541 JENNIFER A MARQUEZ PACHECO BO BAJO SECTOR PALENQUE                   APT 241                                                                              PATILLAS           PR         00723
   237360 JENNIFER A MARTINEZ        REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   676542 JENNIFER A RODRIGUEZ VIERA                  BO OLLAS                 331 CALLE 22                                                                         SANTA ISABEL       PR         00757

   237361 JENNIFER ACEVEDO RODRIGUEZ                  REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237362 JENNIFER ACOSTA APONTE                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   676543 JENNIFER AGUEDA SOTO                        PARCELAS TERRANOVA       BZN 183 CALLE 13                                                                     QUEBRADILLAS       PR         00678
   237363 JENNIFER ALICEA SONERA                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   676544 JENNIFER ALLORA                             ALTO APOLO               2122 CALLE DELFOS                                                                    GUAYNABO           PR         00969

   237364 JENNIFER ALTUZ / EDNA ALTUZ                 REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237365 JENNIFER ALVELO RIVERA                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237366 JENNIFER AMARO GABRIEL                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237367 JENNIFER AMBERT GONZALEZ                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237368 JENNIFER ANTONY CAMACHO                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237369 JENNIFER APONTE CLEMENTE                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   676546 JENNIFER APONTE LOPEZ                       BO PARIS                 161 CALLE DOCTOR PERREA                                                              MAYAGUEZ           PR         00680
   237370 JENNIFER ARROYO GONZALEZ                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237371 JENNIFER ARZOLA CARDIN                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237373 JENNIFER AYALA GARCIA                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED




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                                                      SECTOR CHEVIN ROMAN
   676547 JENNIFER BENEJAN                            GALATEO BAJO                BOX CB 5                                                                              ISABELA             PR           00662

   237375 JENNIFER BONILLA RODRIGUEZ                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237376 JENNIFER BONILLA ZAYAS                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676548 JENNIFER BURGOS CRESPO                      PO BOX 391                                                                                                        BAYAMON             PR           00960‐0391
   237377 JENNIFER CALDERON FLORES                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237378 JENNIFER CANTRES ROSARIO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237379 JENNIFER CAPETILLO                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237380 JENNIFER CARABALLO ROBLES                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676554 JENNIFER CARO MORALES                       HC 02 BOX 6442                                                                                                    RINCNO              PR           00677
   237381 JENNIFER CASIANO MATOS                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676555 JENNIFER CASTRO CARRASCAL                   P O BOX 618                                                                                                       CAGUAS              PR           00725
   237382 JENNIFER CASTRO FIGUEROA                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237383 JENNIFER CASTRO FIGUROA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676556 JENNIFER CERPA BURGOS                       PO BOX 1051                                                                                                       LAS PIEDRAS         PR           00771
   676557 JENNIFER CINTRON SOSA                       URB ESTANCIA TRINITARIA     771 CALLE ALFONSO RIVERA                                                              AGUIRRE             PR           00704
   237384 JENNIFER COLLAZO BENITEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237385 JENNIFER COLON ARNALDI                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237386 JENNIFER COLON MALDONADO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237387 JENNIFER COLON PAGAN                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237389 JENNIFER COLON SANTIAGO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JENNIFER CONCEPCION
   237390 CARDONA                                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237391 JENNIFER CORA NIEVES                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237392 JENNIFER CORNIER MALDONADO REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676558 JENNIFER CORRUJO RIVERA    PO BOX 4651                                                                                                                        GUAYAMA             PR           00784
   237393 JENNIFER CORTES PARKINSON  REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237394 JENNIFER CORTES SANCHEZ    REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237395 JENNIFER CRESPO RODRIGUEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237396 JENNIFER CRUZ DE LEON                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676559 JENNIFER CRUZ FIGUEROA                      URB ONEILL                  2 BB 16 CALLE C                                                                       MANATI              PR           00674
   237397 JENNIFER CRUZ MARRERO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237398 JENNIFER CRUZ SOTO                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676560 JENNIFER CUBANO                             PO BOX 762                                                                                                        FAJARDO             PR           00738
   237402 JENNIFER CUEVAS PEDRAZA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676561 JENNIFER CUEVAS SANTIAGO                    77 CALLE NUEVA                                                                                                    CIALES              PR           00638

   237403 JENNIFER D GUTIERREZ CASTILLO REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676563 JENNIFER D MERCADO DE LEON                  LAS VILLAS DE BAYAMON       500 AVE WEST                                                                          BAYAMON             PR           00961

   676564 JENNIFER D NIEVES GOMEZ                     124 CALLE MANUEL CORCHADO                                                                                         SAN JUAN            PR           00911
   237404 JENNIFER DAVIS SANTIAGO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237405 JENNIFER DE JESUS LOPEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676566 JENNIFER DE JESUS RAMOS                     VISTA AZUL                  L 15 CALLE 11                                                                         ARECIBO             PR           00612
   237406 JENNIFER DE JESUS VARGAS                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237407 JENNIFER DE LEON QUINONES                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  237408 JENNIFER DEL VALLE ROLDAN                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  237409 JENNIFER DIAZ                                REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  237410 JENNIFER DR JESUS RIVERA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  237411 JENNIFER E DIAZ RIOS                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  237412 JENNIFER E GUEITS CRUZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  237413 JENNIFER E LEE                               REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  237414 JENNIFER E ORTIZ COLON                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  676568 JENNIFER E ORTIZ RAMOS                       BOX 534                                                                                                        COAMO               PR         00769
  237415 JENNIFER E PEREZ TORRES                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   237416 JENNIFER E QUINONES PAINTER                 REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   237417 JENNIFER E RODRIGUEZ GOTAY                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   676569 JENNIFER E ROSARIO GALINDO                  URB VILLA BLANCA             16 CALLE GRANATE                                                                  CAGUAS              PR         00725
   237418 JENNIFER ENGLING LUGO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676571 JENNIFER ESPADA COLON                       PO BOX 635                                                                                                     SANTA ISABEL        PR         00757
          JENNIFER F. RODRIGUEZ
   237420 GONZALEZ                                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      COND PARQUE DE LA VISTA JUAN
   676572 JENNIFER FEBUS MENDOZA                      BAIZ                         CALLE 1 APTO B 117                                                                SAN JUAN            PR         00924
   237421 JENNIFER FELICIANO IRIZARRY                 REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676573 JENNIFER FERRER SUPULVEDA                   PO BOX 30851‐1851                                                                                              SAN JUAN            PR         00929‐1851
   676574 JENNIFER FIGUEROA GOMEZ                     PO BOX 4956                                                                                                    CAGUAS              PR         00726
                                                      17 C/ PALMER ESQUINA
   676575 JENNIFER FIGUEROA SANTIAGO                  MONSERATE                                                                                                      SALINAS             PR         00751

   676576 JENNIFER FIGUEROA VAZQUEZ                   PO BOX 9197                                                                                                    BAYAMON             PR         00960

   237422 JENNIFER FONTANEZ CENTENO                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237423 JENNIFER FUENTES APONTE                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237424 JENNIFER GALAN DIAZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237425 JENNIFER GARCIA COLON                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237426 JENNIFER GARCIA CURET                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676578 JENNIFER GARCIA SANTIAGO                    P O BOX 795                                                                                                    YAUCO               PR         00698
   237427 JENNIFER GILES NUNEZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676579 JENNIFER GLEASON ALTIERI                    2104 COND COSTA DEL SOL      APT B 4                                                                           CAROLINA            PR         00979
   237428 JENNIFER GONZALEZ                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676581 JENNIFER GONZALEZ COLON                     URB SAN MARTIN               1057 CALLE 1                                                                      SAN JUAN            PR         00924
   237429 JENNIFER GONZALEZ DIAZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   237430 JENNIFER GONZALEZ GONZALEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   676583 JENNIFER GONZALEZ IRIZARRY                  4 SANTA ISIDRA               D 8 CALLE 7                                                                       FAJARDO             PR         00738

   237432 JENNIFER GONZALEZ QUINONES REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                     1 BALCONES DEL MONTE REAL
   676585 JENNIFER GUZMAN BADILLO    201                                                                                                                             CAROLINA            PR         00987
   237433 JENNIFER HENRIQUEZ COLON   REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   237435 JENNIFER HERNANDEZ CORREA                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676586 JENNIFER HERNANDEZ DBA                      DELIVERYS EXPRESS MOVING     PO BOX 1005                                                                       TOA ALTA            PR         00954




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   676588 JENNIFER HERNANDEZ DE JESUS PO BOX 1006                                                                                                                    TOA ALTA            PR           00954
          JENNIFER HERNANDEZ
   237437 MUDANZAS DELIVERY           REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237439 JENNIFER HERNANDEZ REYES    REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676589 JENNIFER I HERNANDEZ VALLE                  HC 0 BOX 43604                                                                                                 HATILLO             PR           00659
   237442 JENNIFER I RIVERA GONZALEZ                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237443 JENNIFER I SIERRA                           REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237444 JENNIFER I. MENDEZ MONTALVO REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237445 JENNIFER J COLON MATEO      REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676590 JENNIFER J GONZALEZ GONZALEZ RES FELIPE SANCHEZ OSORIO                 EDIF 30 APT 193                                                                     CAROLINA            PR           00985
   237446 JENNIFER J RAMOS ROSADO      REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676591 JENNIFER J. MENDEZ MONTALVO URB VILLA LINDA                            CALLE TURPIAL 52                                                                    AGUADILLA           PR           00605
   676594 JENNIFER JIMENEZ GARCIA     PUERTO NUEVO                               1016 CALLE 18 NE                                                                    SAN JUAN            PR           00920‐2328
   237447 JENNIFER L ACOSTA DELGADO   REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JENNIFER L GONZALEZ
   676597 RODRIGUEZ                   URB VILLAS DEL SOL                         E 3 CALLE DR BARTOLOME                                                              JUANA DIAZ          PR           00795
   237448 JENNIFER L LEON SUMPTER     REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237449 JENNIFER L RODRIGUEZ BELEN                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237450 JENNIFER L ROSA DELFAUS                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237451 JENNIFER LA TORRES GARCIA                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676598 JENNIFER LABOY VELAZQUEZ                    PO BOX 253                                                                                                     JUANA DIAZ          PR           00795
   237452 JENNIFER LAMBOY SANTIAGO                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237453 JENNIFER LAUREN RODRIGUEZ                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237454 JENNIFER LEE REYES TORRES                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237455 JENNIFER LEE SANCHEZ ESPADA                 REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      PO BOX 2874 JUNCAL CONTRACT
   676599 JENNIFER LISBOA VARGAS                      STATION                                                                                                        SAN SEBASTIAN       PR           00685
   237456 JENNIFER LIZ LIZ                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676600 JENNIFER LOPEZ RODRIGUEZ                    BOX 878                                                                                                        LAS PIEDRAS         PR           00771
          JENNIFER LYNN MAESTRE
   237457 MENDEZ                                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JENNIFER LYNN RODRIGUEZ
   237458 ALEMAN                                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237459 JENNIFER M APONTE VAZQUEZ                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237460 JENNIFER M CABRERA VARGAS                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676602 JENNIFER M CORREA RIVERA                    BO QUINTA                  240 LOMA BONITA                                                                     MAYAGUEZ            PR           00680
          JENNIFER M DELGADO
   237461 GONZALEZ                                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237462 JENNIFER M DELGADO LOPEZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676603 JENNIFER M DIAZ GUTIERTEZ Y/O PO BOX 231                                                                                                                   BAYAMON             PR           00960

   676601 JENNIFER M FLORES VALENTIN                  HC 09 PO BOX 4582                                                                                              SABANA GRANDE       PR           00637



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  676604 JENNIFER M GRIFFIN BERRIOS                    VISTAS DE MONTECASINO   500 AVE NORFE APT 3604                                                              TOA ALTA            PR           00953

   676605 JENNIFER M HOLLIDAY BADILLO                  HC 6 BOX 61739                                                                                              AGUADILLA           PR           00603
   237465 JENNIFER M LLERA SIERRA                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   237466 JENNIFER M LOPEZ GONZALEZ                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   237467 JENNIFER M MATOS RAMOS                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   676606 JENNIFER M MATOS VILLAMIDES 36 CALLEJON AVISPAS                                                                                                          PONCE               PR           00730
   237469 JENNIFER M PEREZ            REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   237471 JENNIFER M RIVERA NEGRON    REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   676607 JENNIFER M RIVERA VEGUILLA  297 AVE FELIX RIOS                                                                                                           AIBONITO            PR           00705
          JENNIFER M RODRIGUEZ
   237472 RODRIGUEZ                   REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   237473 JENNIFER M ROJAS SANTIAGO   REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   676609 JENNIFER M ROVIRA FELICIANO                  URB JARD DEL CARIBE     5141 C/ RENIFORME                                                                   PONCE               PR           00728‐3522
   237474 JENNIFER M ROVIRA MALAVE                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   237475 JENNIFER M SERRANO LEON                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   237476 JENNIFER M TORO GALARZA                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   676610 JENNIFER M TORRES JIMENEZ                    HC 1 BOX 11664                                                                                              TOA BAJA            PR           00949

   237477 JENNIFER M VAZQUEZ SANTIAGO REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   237478 JENNIFER M VEGA MARCIAL     REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   237479 JENNIFER M. FERMAINT        REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   237480 JENNIFER M. MERCADO ORTIZ                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   676611 JENNIFER M. RAMOS RAMOS                      BOX 5000 323                                                                                                SAN GERMAN          PR           00683
   237481 JENNIFER M. VARGAS SANTOS                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   237482 JENNIFER MADERA RENTAS                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   237483 JENNIFER MADRIGAL NEGRON                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JENNIFER MALDONADO
   237484 ACEVEDO                                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   237485 JENNIFER MALDONADO DIAZ                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JENNIFER MARIA RODRIGUEZ
   237487 VAZQUEZ                                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   237488 JENNIFER MARIE TORO GALARZA REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   237489 JENNIFER MARTINEZ           REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   676613 JENNIFER MARTINEZ CASTRO    NUEVO MAMEYES                            D 10 CALLE 3                                                                        PONCE               PR           000730
   237490 JENNIFER MARTINEZ HEYER     REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   237491 JENNIFER MARTINEZ SOLANO    REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JENNIFER MEDINA
   237493 ENCARNACION                 REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   676614 JENNIFER MENDEZ RIVERA      HC 05 BOX 52604                                                                                                              AGUADILLA           PR           00603
   237495 JENNIFER MERCADO            REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JENNIFER MIRANDA
   237496 CARRASQUILLO                REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   237497 JENNIFER MIRANDA CRUZ       REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   676615 JENNIFER MOLINA AGOSTINI    URB VILLA CAROLINA                       165 ZZ CALLE 419                                                                    CAROLINA            PR           00985‐4062
   676616 JENNIFER MOLINA GONZALEZ    HC 2 BOX 8188                                                                                                                ARECIBO             PR           00612
   676617 JENNIFER MORALES PANTOJA    URB COUNTRY CLUB                         HD 105 CALLE 259                                                                    CAROLINA            PR           00982
   237498 JENNIFER MORALES PEREZ      REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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   237499 JENNIFER MORAZA ALMODOVAR REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237500 JENNIFER MORENO CORREA    REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237503 JENNIFER MUNIZ TIRADO     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237504 JENNIFER MURPHY CANCEL    REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                640 CALLE FRANCISCO
   676619 JENNIFER N ARRIAGA RIVERA                   VILLA PRADES              CASALDUC                                                                            SAN JUAN            PR           00923
          JENNIFER N CARABALLO
   676620 RODRIGUEZ                                   62 CALLE OLIVER ESTE                                                                                          GUAYAMA             PR           00784
   237505 JENNIFER N NIEVES GARCIA                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676621 JENNIFER NIEVES NATAL                       PO BOX 2346                                                                                                   ARECIBO             PR           00613

   676622 JENNIFER OCASIO FERNANDEZ                   URB ANTIGUA VIA           N 1 BLOQUE 14                                                                       SAN JUAN            PR           00926
   676623 JENNIFER ODELL                              PO BOX 428                                                                                                    HUMACAO             PR           00791
   237506 JENNIFER OJEDA FRADERA                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237507 JENNIFER ORIZAL RODRIGUEZ                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237509 JENNIFER ORTIZ RAMOS                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237510 JENNIFER ORTIZ ROJAS                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676624 JENNIFER PAGµN MARTÖNEZ                     HC 02 BOX 10187                                                                                               YAUCO               PR           00698
   237511 JENNIFER PELLETIER TORRES                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237512 JENNIFER PENA DUARTE                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676625 JENNIFER PEREZ ARROYO                       HC 1 BOX 2119                                                                                                 MAUNABO             PR           00707
   237513 JENNIFER PEREZ MUNIZ                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      PMB 201‐21 17 B CALLE
   676626 JENNIFER PEREZ RIOS                         CONCORDIA                                                                                                     ADJUNTAS            PR           00601‐2203
   237515 JENNIFER PINERO RAMOS                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237517 JENNIFER PIZARRO DIAZ                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676627 JENNIFER QUESTELL BURGOS                    URB LOS REYES             86 CALLE 5                                                                          JUANA DIAZ          PR           00795
   237518 JENNIFER QUILES MEDINA                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237519 JENNIFER R PEREZ CASTRO                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676628 JENNIFER RAMIREZ PAGAN                      PO BOX 560217                                                                                                 GUAYANILLA          PR           00656
   676629 JENNIFER RAMOS RIVERA                       URB BRISAS DEL MAR        EH 4 CALLE E 6                                                                      LUQUILLO            PR           00773‐2425
   237521 JENNIFER REYES DEL ORBE                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237522 JENNIFER REYES MARTINEZ                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237523 JENNIFER RIOS CUEVAS                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237525 JENNIFER RIOS RODRIGUEZ                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237526 JENNIFER RIVERA ALAMO                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237527 JENNIFER RIVERA ESPINAL                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676630 JENNIFER RIVERA HERNANDEZ                   HC 30 BOX 33964                                                                                               SAN LORENZO         PR           00754
   237528 JENNIFER RIVERA LUNA                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237530 JENNIFER RIVERA ORENGO                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237531 JENNIFER RIVERA PEREZ                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237532 JENNIFER RIVERA RAMOS                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237533 JENNIFER RIVERA RIVERA                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237534 JENNIFER RIVERA ROSARIO                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237535 JENNIFER RIVERA VARGAS                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      URB JARDINES DE COUNTRY
   676632 JENNIFER ROBLES ANCIANI                     CLUB                      BL 21 CALLE 118                                                                     CAROLINA            PR           00983
   676633 JENNIFER ROBLES TORRES                      URB LOS CAOBOS            861 CALLE ALMARIGO                                                                  PONCE               PR           00716
   237536 JENNIFER RODRIGUEZ LOPEZ                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676635 JENNIFER RODRIGUEZ MORALES URB JAIME C RODRIGUEZ                      K 41 CALLE 6                                                                        YABUCO              PR           00767



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   237537 JENNIFER RODRIGUEZ PARRON                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237538 JENNIFER RODRIGUEZ PEREZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237539 JENNIFER RODRIGUEZ REAL                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676636 JENNIFER RODRIGUEZ SAAVEDRA P O BOX 929                                                                                                                           HATILLO             PR           00659

   237540 JENNIFER RODRIGUEZ SANTOS                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237541 JENNIFER RODRIGUEZ VELEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JENNIFER RODRIGUEZ Y IDO
   237542 COHEN                                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676637 JENNIFER ROMAN FIGUEROA                     SUNNY HILLS                  D 13 CALLE HAITI                                                                         BAYAMON             PR           00956
   676638 JENNIFER ROQUE DIAZ                         PO BOX 10007 SUITE 372                                                                                                GUAYAMA             PR           00784

   237543 JENNIFER ROSADO MALDONADO REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237544 JENNIFER ROSADO ORTIZ     REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237545 JENNIFER ROSARIO OJEDA    REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237546 JENNIFER ROSARIO VILLANUEVA                 REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237547 JENNIFER ROSAS                              REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237548 JENNIFER RUIZ LEON                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676640 JENNIFER SANCHEZ NIEVES                     HC 7 BOX 33972                                                                                                        HATILLO             PR           00659
   676641 JENNIFER SANTANA LANTIGUA                   HC 20 BOX 20823                                                                                                       SAN LORENZO         PR           00754
   237549 JENNIFER SANTIAGO CRUZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676642 JENNIFER SANTIAGO FELIX                     ESTANCIA LAS TRINITARIAS     809 CALLE DR JUAN P CARDONA                                                              SALINAS             PR           00751
   676643 JENNIFER SANTIAGO PEREZ                     246 CALLE COMERIO                                                                                                     BAYAMON             PR           00961
                                                                                   SECTOR CANDELARIA PARC 378‐
   676644 JENNIFER SANTIAGO RESTO                     BO CORAZON                   18                                                                                       GUAYAMA             PR           00784

   676645 JENNIFER SANTIAGO VAZQUEZ                   HC 01 BOX 6207                                                                                                        SANTA ISABEL        PR           00757
   676646 JENNIFER SANTOS OLIVERA                     URB VILLA PARAISO            2009 CALLE TEMPLADO                                                                      PONCE               PR           00728
          JENNIFER SEDIA / ANTHONY
   237550 SEDIA                                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237552 JENNIFER SERRANO NEGRON                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676648 JENNIFER SERRANO PADILLA                    VILLA SERENA                 S 12 CALLE ORQUIDEA                                                                      ARECIBO             PR           00612
   237553 JENNIFER SIACA BURGOS                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676649 JENNIFER SIERRA DE ARCE                     RIO GRANDE STATES            C 4 CALLE 4                                                                              RIO GRANDE          PR           00745
   676650 JENNIFER SILVA SOTO                         PO BOX 647                                                                                                            HATILLO             PR           00659
   237555 JENNIFER SOSA RETAMAR                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237556 JENNIFER SOTO DIAZ                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237557 JENNIFER SOTO GONZALEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237558 JENNIFER T MOLINA GUZMAN                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676651 JENNIFER TAVAREZ                            RAMEY JOB CORP               BOX 250463                                                                               AGUADILLA           PR           00604

   237559 JENNIFER TIMOTHEE OLIVERAS                  REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237560 JENNIFER TIMOTHEE OLIVERS                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676652 JENNIFER TOLEDO DIAZ                        P O BOX 171                                                                                                           JUNCOS              PR           00777
   237561 JENNIFER TORO HURTADO                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237562 JENNIFER TORRES CUEVAS                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676653 JENNIFER TORRES FEBUS                       URB MONTE SOL                E 2 CALLE 3                                                                              TOA ALTA            PR           00953
   237563 JENNIFER TORRES IRIZARRY                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676654 JENNIFER TORRES SANTIAGO                    25 CALLE SANTIAGO IGLESIAS                                                                                            COAMO               PR           00769



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  237564 JENNIFER TORRES VAZQUEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  676655 JENNIFER VALENTIN CABAN                      PO BOX 996                                                                                                   LARES               PR         00669

   237565 JENNIFER VALENTIN GONZALEZ                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237566 JENNIFER VALENTIN TORRES                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237567 JENNIFER VAZQUEZ MORALES                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   676656 JENNIFER VAZQUEZ SANTIAGO                   P O BOX 893                                                                                                  BARRANQUITAS        PR         00794
   676657 JENNIFER VEGA BORGOS                        HC 07 BOX 2330                                                                                               PONCE               PR         00731
   237568 JENNIFER VEGA PORFIL                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237570 JENNIFER WATTS                              REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JENNIFER X CERVANTES
   237571 GONZALEZ                                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237572 JENNIFER ZAYAS TORRES                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   676658 JENNIFFER CRUZ HUERTAS                      URB BONNEVILLE HEIGHTS     6 CALLE RASES                                                                     CAGUAS              PR         00725
   676659 JENNIFFER DEL VALLE                         CUIDAD MASSO               A 1 27 CALLE 4                                                                    SAN LORENZO         PR         00754

   676660 JENNIFFER GONZALEZ NEGRON                   70 COND RIO VISTA APT 81                                                                                     CAROLINA            PR         00987

   237573 JENNIFFER GONZALEZ ORTEGA                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   676661 JENNIFFER M CRUZ GUZMAN                     P O BOX 2168                                                                                                 RIO GRANDE          PR         00745
          JENNIFFER M PUYARENA
   237574 RODRIGUEZ                                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237575 JENNIFFER M UFRET ROSARIO                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   237576 JENNIFFER N COLLAZO TORRES                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237577 JENNIFFER N MARTINEZ                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237578 JENNIFFER OCASIO TORRES                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237580 JENNIFFER RIVERA APONTE                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   676662 JENNIFFER SANCHEZ TORRES                    URB LA HACIENDA            AO 7 CALLE 54                                                                     GUAYAMA             PR         00784
   237581 JENNIFFER VARGAS SANCHEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237582 JENNIFFER VAZQUEZ ROCHE                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237583 JENNIFFER VEGA ORTIZ                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   676663 JENNIFFER VEGA RAMOS                        URB JAIME L DREW           338 CALLE 5                                                                       PONCE               PR         00730
   237584 JENNIFFER Y MARRERO DIAZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237585 JENNILEE M NIEVES RIVERA                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237586 JENNILIZ ROLON ROSARIO                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237587 JENNING SILVA RIVERA                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237588 JENNISA COLON CRUZ                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   676664 JENNISE ARROYO                              P O BOX 2390                                                                                                 SAN JUAN            PR         00919
   237589 JENNITZA PEREZ ROSADO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237590 JENNITZA RIVERA RIOS                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   676665 JENNY A ESPINAL SURUN                       COND COLINAS DE SAN JUAN   EDIF F APT 196                                                                    SAN JUAN            PR         00924
   237591 JENNY A. RIVERA MOJICA                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237592 JENNY AMADOR ALCALA                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237593 JENNY ANTONETTY SANTIAGO                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237594 JENNY ARMENDARIZ LEMA                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237595 JENNY BERNARD CRUZ                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237596 JENNY BERNARDI TORRES                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   237597 JENNY BETANCOURT MANGUAL REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   676668 JENNY BOLIVAR HORSTMANN  VILLA BORINQUEN                               1343 CALLE DANUBIO                                                                SAN JUAN            PR         00920
   237598 JENNY BOUSON             REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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  676669 JENNY CANALES CASTRO                         VILLAS DE LOIZAS             U 12 CALLE 21                                                                      CANOVANAS          PR         00729
  237599 JENNY CANTORAN                               REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   676671 JENNY CINTRON TORRES                        COOP CIUDAD UNIVERSITARIA    APT 206 A‐I             AVE PERIFERAL                                              TRUJILLO ALTO      PR         00976
   676673 JENNY COLON TEJERO                          URB CAPARRA TERRACE 1166     CALLE 16 SE                                                                        SAN JUAN           PR         00921
   237600 JENNY COMAS                                 REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   676674 JENNY CORA SANTIAGO                         URB REPARTO METROPOLITANO 1023 CALLE 21 SE                                                                      SAN JUAN           PR         00921
   237601 JENNY CRAIG                                 REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   676675 JENNY CRUZ CORTIJO                          BUENA VENTURA             273 CALLE CLAVEL BOX 412                                                              CAROLINA           PR         00987
          JENNY DAVILA Y NAYDA
   237602 RODRIGUEZ                                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   676676 JENNY DE JESUS                              HC 2 BOX 7166                                                                                                   UTUADO             PR         00641
   237603 JENNY DE JESUS ESCOBALES                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   676677 JENNY DELGADO VIDAL                         COOP LOS ROBLES              EDIF A APT 914                                                                     SAN JUAN           PR         00927
   676678 JENNY DIAZ ROSA                             VILLA EVANGELINA             5‐228 CALLE 2                                                                      MANATI             PR         00674
   676679 JENNY DIAZ SANTELL                          URB VERDE MAR                731 CALLE 28                                                                       PUNTA SANTIAGO     PR         00741

   676680 JENNY E BATISTA CORTORREAL                  COND DE DIEGO                575 APT 1209                                                                       SAN JUAN           PR         00924
   676681 JENNY E RAMOS GONZALEZ                      135 CALLE CARLOS SEGNET                                                                                         BAYAMON            PR         00961
   237605 JENNY ESTRADA MUNIZ                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   676683 JENNY FIGUEROA DE JESUS                     HC 1 BOX 17355                                                                                                  COAMO              PR         00769
   676684 JENNY GARCIA DE MARTINEZ                    FERNANDEZ JUNCOS STATION     PO BOX 19603                                                                       SAN JUAN           PR         00910
   237606 JENNY GERMAN URENA                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237607 JENNY GONZALEZ ANGLERO                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   676686 JENNY GONZALEZ ARROYO                       URB JARDINES DE CONTRY CLUB B H 1 CALLE 112                                                                     CAROLINA           PR         00983

   676687 JENNY GONZALEZ DE RODRIGUEZ P O BOX 50999                                LEVITTOWN                                                                          TOA BAJA           PR         00950

   676688 JENNY GONZALEZ RODRIGUEZ                    BOX 3500 SUITE 121                                                                                              JUANA DIAZ         PR         00795‐3500
   676689 JENNY HUTCHINSON                            URB SANTA RITA               SOLAR B CALLE 14                                                                   VEGA BAJA          PR         00692
   676690 JENNY I ALVELO GARCIA                       HC 1 BOX 7133                                                                                                   AGUAS BUENAS       PR         00703
   237608 JENNY I CRUZ RODRIGUEZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237610 JENNY I. SIMONS HERRERA                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   676691 JENNY ISAAC PIZARRO                         VALLE ARRIBA HEIGHTS         BX 2 CALLE 115                                                                     CAROLINA           PR         00983
   237612 JENNY L GONZALEZ LEBRON                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237613 JENNY L RODRIGUEZ ORTIZ                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   676692 JENNY LEE ORTIZ GARCIA                      SECT LA PALOMA               HC 1                                                                               GUAYNABO           PR         00971
   237614 JENNY LIS LABOY RODRIGUEZ                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237615 JENNY LOPEZ MARTINEZ                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   676694 JENNY LOZANO ROMERO                         PO BOX 1589                                                                                                     CAROLINA           PR         00984
   676695 JENNY M NIEVES MORALES                      BARRIO BAJARA                618 DEL RIO                                                                        CAMUY              PR         00627
   237616 JENNY M ORTIZ ZAYAS                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237617 JENNY M. MARRERO                            REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   237618 JENNY M. QUEVEDO MORALES                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237619 JENNY MADE HERRERA                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   676696 JENNY MALDONADO SANCHEZ                     EST VILLAS DE LOIZA          AQ 15 CALLE 36                                                                     CANOVANAS          PR         00729
   676697 JENNY MAR RAMIREZ NIEVES                    HC 04 BOX 47811                                                                                                 CAGUAS             PR         00725‐9625
   237620 JENNY MAR RIVERA RIVERA                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   676698 JENNY MARTINEZ ORTIZ                        PO BOX 2141                                                                                                     CAYEY              PR         00737



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  676699 JENNY MAS MOYA                               URB VILLA CAROLINA           419 183 11                                                                          CAROLINA            PR         00985
  676700 JENNY MEDINA SANTIAGO                        BO SANTANA                   9 CAPITOLIO                                                                         ARECIBO             PR         00612
  676701 JENNY MOJICA MESIA                           FAIW VIEW                    1892 CALLE 47                                                                       SAN JUAN            PR         00926
  676702 JENNY MONTES RAMOS                           URB JARD DE LA FUENTE        319 CALLE GARCIA LORCA                                                              TOA ALTA            PR         00953
  237621 JENNY MORALES BORRERO                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  676704 JENNY MORALES RIOS                           HC 58 BOX 11026                                                                                                  AGUADA              PR         00602
  676705 JENNY MORALES VELAZQUEZ                      PO BOX 6383                                                                                                      BAYAMON             PR         00960

   676707 JENNY NARVAEZ SANTIAGO                      BO ORTIZ SECTOR LOS AYALAS                                                                                       TOA ALTA            PR         00953
   676708 JENNY NEGRON ORTIZ                          URB VISTA BELEN              G 36 CALLE 5                                                                        BAYAMON             PR         00956
   676709 JENNY OLAN TRINIDAD                         URB GUANAJIBO HOMES          846 CALLE PALES MATOS                                                               MAYAGUEZ            PR         00680
   237625 JENNY ORTIZ CRUZ                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237626 JENNY P ACEVEDO GONZALEZ                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676710 JENNY PACHECO CINTRON                       VALLE HERMOSA                SQ CALLE JAZMIN                                                                     HORMIGUEROS         PR         00660
   237627 JENNY PIZARRO GUZMAN                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676712 JENNY R JANAS                               URB COCO BECH                421 CALLE BAHIA                                                                     RIO GRANDE          PR         00745
   676713 JENNY R MEDINA UGAZ                         URB SANTA RITA               D 5 CALLE 4                                                                         VEGA BAJA           PR         00692
   676714 JENNY RAMIREZ                               EXT COMANDANTE               408 SAN MARCOS                                                                      CAROLINA            PR         00982
   237629 JENNY RAMIREZ JIMENEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676715 JENNY RAMOS RAMOS                           910 SNOW CREST TRAIL                                                                                             DURHAM              NC         27707
   237630 JENNY REYES VELEZ                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237631 JENNY RIVERA                                REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237632 JENNY RIVERA CINTRON                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676716 Jenny Rivera Guadalupe                      HC 645 Box 6301                                                                                                  Trujillo Alto       PR         00976
   237633 JENNY RIVERA ORTIZ                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237634 JENNY RIVERA OTERO                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237635 JENNY RIVERA VARGAS                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237636 JENNY ROBERT COLON                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237637 JENNY RODRIGUEZ CARMONA                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237638 JENNY RODRIGUEZ NEGRON                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237640 JENNY RODRIGUEZ YEJO                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   676720 JENNY ROJAS RIVERA                          COOP JARDINES DE SAN IGNACIO APT 1463 B                                                                          SAN JUAN            PR         00927
   237641 JENNY ROLON TORRES                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237643 JENNY ROSAS CASTILLO                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676722 JENNY SALERNO GALAY                         BAYAMON GARDENS              MM 3 CALLE CRISTINA                                                                 BAYAMON             PR         00957
   676724 JENNY SANCHEZ REYES                         BONEVILL HITH                                                                                                    CAGUAS              PR         00725
   676726 JENNY SANTIAGO SANTIAGO                     COLINAS DE SAN FRANCISCO     H 82 CALLE NATALIA                                                                  AIBONITO            PR         00705
   237644 JENNY SANTOS COLON                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237645 JENNY SUAREZ VAZQUEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676728 JENNY TORRES ALVARADO                       URB LOS CAOBOS               2953 CALLE CARAMBOLA                                                                PONCE               PR         00716
   237646 JENNY TORRES GARCIA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676729 JENNY TOYLLENS FUENTES                      URB ROUND HILLS COURT        767 CALLE AMAPOLA                                                                   TRUJILLO ALTO       PR         00976
   237647 JENNY VAZQUEZ ORTIZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237648 JENNY Y TORRES RIVAS                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JENNY ZAMBRANA DBA
   676731 LOSALINDA IMPORTS                           102 CARBONELL                                                                                                    CABO ROJO           PR         00623

   676732 JENNYFER CENTENO MAYSONET P O BOX 193887                                                                                                                     SAN JUAN            PR         00919 3887
   237652 JENNYFER RIVERA MALAVE    REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JENNYFFER PARRILLA
   676733 RODRIGUEZ                 P O BOX 3227                                                                                                                       RIO GRANDE          PR         00745‐3227




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   237653 JENNYLEE MARTINEZ PEDRAZA                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   237654 JENNYLETTE GONZALEZ REYES                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237655 JENNYLIZ OTERO CALDERO                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237656 JENNYMAR CORP                               P O BOX 781                                                                                                HORMIGUEROS         PR           00660

   676734 JENNYMAR TORRES RODRIGUEZ P O BOX 1357                                                                                                                 OROCOVIS            PR           00720
   676735 JENNYS ECHEVARRIA RIVERA  BO LA QUINTA                             227 CALLE NAN RAMIREZ                                                               MAYAGUEZ            PR           00680
   676736 JENNYVELL ROSA REYES      PO BOX 554                                                                                                                   PATILLAS            PR           00723

   237657 JENOURY ROSARIO / NYDIA ROSA REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676737 JENS A CURTIS                4228 CHESTER WAY                                                                                                          CHESTER             VA           23831
   676738 JENS CORP                    PO BOX 50135                                                                                                              LEVITTOWN           PR           00950
   237658 JENSEL D. VAZQUEZ BRUNO      REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JENSEN ALBERTO VAZQUEZ
   237659 MORALES                      REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237660 JENSEN DAVILA MARTINEZ       REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237665 JENSEN MARQUEZ DAVILA        REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237667 JENSEN QUILES CINTRON        REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237668 JENSEN R IRIZARRY FIGUEROA   REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676739 JENSEN TOOL INC.             PO BOX 25399                                                                                                              PHOENIX             AZ           85002
   237670 JENSON A GUZMAN DIAZ         REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676740 JENTEL ASSOCIATES INC        PO BOX 810301                                                                                                             CAROLINA            PR           00981‐0301
   237671 JENYFEL M NIEVES HUERTAS     REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237672 JENYFER GARCIA SOTO          REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676741 JENYS HERNANDEZ              80 CALLE PROGRESO                                                                                                         AGUADA              PR           00603
   237676 JENZA QUINONES LOPEZ         REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   831434 JEOL USA, Inc.               11 DEARBORN ROAD                      PO BOX 6043                                                                         PEABODY             MA           01961
   237677 JEONMEY RUIZ VILLANUEVA      REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                       TORRES DE ANDALUCIA II APT
   676742 JEOVANI ORRIA VAZQUEZ        1710                                                                                                                      SAN JUAN            PR           00926
   237678 JEOVANI SANTANA SANTANA      REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676744 JEOVANNY ACEVEDO FELICIANO HC 01 BOX 2551                                                                                                              SABANA HOYOS        PR           00688

   237680 JEOVANNY RAMIREZ MORENO                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237681 JEOVANY VAZQUEZ OCASIO                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676746 JER TRAVEL                                  169 DE DIEGO ST                                                                                            SAN JUAN            PR           00925
   676747 JERA CONSTRUCTION INC                       PO BOX 6895                                                                                                CAGUAS              PR           00726‐6895
   676748 JERAD J MONTOUR                             PSC 1008 BOX 3016      FPO AA                                                                              CEIBA               PR           34051
   237682 JERAIMY ROSADO RIVERA                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237683 JERAIXA GARCIA ROSAS                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676750 JERALDO TORRES HERNANDEZ                    URB COLINA DE PLATA    80 CAMINO DE LA RIVERA                                                              TOA ALTA            PR           00953
   676751 JERALYN MATEO CHEVERE                       HC 03 BOX 8711                                                                                             GUAYNABO            PR           00971
   237684 JERAMAR IRIZARRY VIENTOS                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237685 JERAMY A SERRANO RIVERA                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676752 JERANFEL HERNANDEZ COLON                    P O BOX 371939                                                                                             CAYEY               PR           00737‐1939

   237686 JERANFEL HERNANDEZ TORRES                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   237687 JERANFEL LOZADA LOPEZ                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  237688 JERANFER BERMUDEZ PINERO                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   676753 JERANTEL HERNANDEZ TORRES                   D 313 PARK GARDENS COURT   100 CALLE MARACAIBO                                                                SAN JUAN            PR         00926
   237691 JERCINIA ROMERO MARTINEZ                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237692 JERELSIE CRUZ DIAZ                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   676754 JERELYS VELEZ CABRERA                       URB REINA DE LOS ANGELES   U 4 CALLE 8                                                                        GURABO              PR         00778
   237693 JEREMIA ATENCIO GARCIA                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   676756 JEREMIAS ANDINO GONZALEZ                    SAN ISIDRO                 345 PARCELAS CALLE 16                                                              CANOVANAS           PR         00729
   237695 JEREMIAS ATENCIO GARCIA                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   676757 JEREMIAS CAMPOS COLON                       URB SANTA ROSA             BLQ 36 15 CALLE 23                                                                 BAYAMON             PR         00959
   237696 JEREMIAS CARPIO NUNEZ                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   676758 JEREMIAS CRUZ                               APTDO 731                                                                                                     CANOVANAS           PR         00729
   676759 JEREMIAS CRUZ SANCHEZ                       URB VILLA CARMEN           044 CALLE ARECIBO                                                                  CAGUAS              PR         00725
   237697 JEREMIAS GONZALEZ CANCEL                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237698 JEREMIAS GONZALEZ VELEZ                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   237699 JEREMIAS GONZALEZ VELEZ DBA GONZALEZ BUS LINE                          PO BOX 546                                                                         JAYUYA              PR         00664
   676762 JEREMIAS LOZADA             PO BOX 21365                                                                                                                  SAN JUAN            PR         00928
          JEREMIAS MARTINEZ
   676763 MALDONADO                   PO BOX 1006                                                                                                                   CAYEY               PR         00737

   237700 JEREMIAS O CANALES PARRILLA                 REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   676765 JEREMIAS PAGAN RODRIGUEZ                    HC 44 BOX 13303                                                                                               CAYEY               PR         00736
   237702 JEREMIAS VAZQUEZ IRIZARRY                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   676766 JEREMIE CRUZ RAMOS                          PO BOX 170                                                                                                    CEIBA               PR         00735
          JEREMIE E GONZALEZ / DIANA
   237703 SERRANO                                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237704 JEREMY A MERCADO LASALLE                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237705 JEREMY A NIEVES PIZARRO                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237706 JEREMY AGOSTO MATTEI                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   237707 JEREMY ASENCIO HERNANDEZ                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237708 JEREMY CASTILLO VARGAS                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JEREMY CRUZ
          VIZCARRONDO,NILSA A
   237709 ALMESTIC                                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   237710 JEREMY DEL VALLE GONZALEZ                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237711 JEREMY DIAZ ROSA                            REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JEREMY EMANUEL COTTO
   237712 OCASIO                                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237713 JEREMY FIGUEROA RENTAS                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   676769 JEREMY FLORES NIEVES                        HC 2 BOX 14150                                                                                                LAJAS               PR         00667

   237714 JEREMY GUTIERREZ RODRIGUEZ                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JEREMY HERNANDEZ / EDNA
   237715 CASTRO PEREZ                                REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237716 JEREMY I VELEZ BARINES                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JEREMY J FIGUEROA A/C
   237717 HORTENCIA COLON                             REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JEREMY M MORAN RAMOS/LUZ
   237718 RAMOS                                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   237719 JEREMY OLIVERAS PEREZ                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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  676767 JEREMY PEREZ                                 PSC 1008 BOX 3038           FPO AA                                                                            CEIBA               PR         34051‐0000
  237720 JEREMY PEREZ VARGAS                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  237721 JEREMY RAMIREZ TORRES                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  237722 JEREMY ROMERO SANCHEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  237723 JEREMY TROCHE RAMOS                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  676770 JEREMY VAZQUEZ MEDINA                        URB VALENCIA                F‐40 CALLE AMAPOLA                                                                BAYAMON             PR         00959
  676771 JEREMY VILLANUEVA CORTES                     URB COVADONGA               3 B 11 CALLE 13                                                                   BAYAMON             PR         00956
  237724 JEREMY Y RIVERA DIAZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   237725 JEREYKA ANDRADES GUADALUPE REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237734 JERGER A MEDINA COLON      REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237735 JERHLIKKA TORRES SANCHEZ   REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676773 JERICA IRIZARRY PABON      HC 1 BOX 5054                                                                                                                  JAYUYA              PR         00664
   237736 JERICA MARRERO MORALES     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237737 JERICA ORTIZ ORTIZ         REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   676774 JERICA SANTIAGO RODRIGUEZ                   CAPARRA TERRACE             SQ 1404 CALLE 20                                                                  SAN JUAN            PR         00921
   237738 JERICH RODRIGUEZ CLAUDIO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   676775 JERICKA E LASALLE VALLE                     207 CALLE SEGUNDO FELICIANO                                                                                   MOCA                PR         00676
   676776 JERIKA ACEVEDO MATOS                        P O BOX 1567                                                                                                  CIALES              PR         00630
   237739 JERIKA I RIVERA FIGUEROA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237740 JERIME SANCHEZ FIGUEROA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237741 JERISON BUTTER ORTÍZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JERITZA MARTINEZ
   237742 CARRASQUILLO                                REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237743 JERLIZ M MELENDEZ ORTIZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237744 JERLYN PLAZA PLAZA                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237745 JERLYN SOTO ACEVEDO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676777 JERMAIN G VAZQUEZ                           P O BOX 1980 SUITE 163                                                                                        LOIZA               PR         00729
   237746 JERMAINE SOTO PEREZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237747 JERMICA N CLASS VELEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237748 JERO INDUSTRIAL CORP                        PO BOX 51038                                                                                                  TOA BAJA            PR         00950

   237749 JEROD INC                                   AVE NOGAL X 53 LOMAS VERDES                                                                                   BAYAMON             PR         00956
   676779 JEROME A CRUZ TORRES                        URB VILLA PRADES            846 JOSE QUINTON                                                                  SAN JUAN            PR         00924
   237750 JEROME MINCY CLARK                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237751 JEROMY GARCIA TOSADO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   237752 JERONIMO A LUZANARIS TORO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676780 JERONIMO JIMENEZ VALDEZ                     PO BOX 1323                                                                                                   BAYAMON             PR         00960‐1323

   676781 JERONIMO MELENDEZ SANTIAGO HC 1 BOX 4581                                                                                                                  JUANA DIAZ          PR         00795
   771111 JERONIMO RIVERA RAMOS      REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JERONIMO RODRIGUEZ
   676783 SOLIVARES                  P.O. B0X 80                                                                                                                    ARROYO                         00714

   237754 JERRIKA M ANGLERO SANCHEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237755 JERRY A KIRKLAND MARRERO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   237756 JERRY A MERCADO MONTANEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676787 JERRY A SHIELDS MD                          9TH AND WALNUT STREETS                                                                                        PHILADELPHIA        PA         19107
   676788 JERRY ACEVEDO RIVERA                        HC 01 BOX 3224                                                                                                SABANA HOYOS        PR         00688



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  676789 JERRY ALEMAN ROQUE                            RR 10 BOX 10259                                                                                                  SAN JUAN          PR         00926
  237757 JERRY ANNE BIBB                               REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  237758 JERRY ARIAS / LUBE N GO                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  237759 JERRY ASENCIO ALVAREZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  676785 JERRY BAEZ SOTO                               PO BOX 907                                                                                                       SABANA HOYOS      PR         00688‐0907
  676791 JERRY BENITEZ RUIZ                            BO ANTON CRUZ BOX 843                                                                                            HUMACAO           PR         00792

   676792 JERRY CALDERON ROSARIO                       COOP JARDINES DE SAN IGNACIO APTO 1205 B                                                                         SAN JUAN          PR         00927

   237760 JERRY CARRASQUILLO SANTIAGO REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237761 JERRY COLON HERNANDEZ       REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676793 JERRY CRUZ CARRASQUILLO     HP ‐ SALA DE ENFERMERIA                                                                                                           RIO PIEDRAS       PR         00936‐0000

   237764 JERRY D. CRUZ CARRASQUILLO                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237765 JERRY DIAZ RIVERA                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237767 JERRY E FLORES VEGA                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676794 JERRY FIGUEROA CORTES                        JARDINES DE UTUADO           APT 72 EDIF 8                                                                       UTUADO            PR         00641
   237769 JERRY FLORES CAPELES                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237770 JERRY G BATISTA TORRES                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237771 JERRY GONZALEZ RIVERA                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JERRY GUILLEN MEDIA
   237772 SOLUTIONS LLC                                COND FONTANA TOWERS          APT 606                                                                             CAROLINA          PR         00982
   237773 JERRY I CASTRO DAVILA                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237774 JERRY J DIAZ GONZALEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JERRY J RODRIGUEZ
   676795 CONCEPCION                                   HILL BROTHERS SUR            339 CALLE 5                                                                         SAN JUAN          PR         00924
   237775 JERRY JAMES GANDIA                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237776 JERRY JIMENEZ MURIEL                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237777 JERRY JOY NIETO                              REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676796 JERRY JUARBE OLIVENCIA                       BOX 118                                                                                                          MAYAGUEZ          PR         00680
   676797 JERRY JUSINO CRUZ                            HC 3 BOX 20432                                                                                                   LAJAS             PR         00667
   237779 JERRY L ACEVEDO RIVERA                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676798 JERRY L CASTRO LOZADA                        HC 01 BOX 8036                                                                                                   GURABO            PR         00778
   237780 JERRY L FUENTES RAMOS                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JERRY LAWYER & ASSOCIATES
   237781 INC                                          PO BOX 1909                                                                                                      PFLUGERVILLE      TX       78691‐1909
   676800 JERRY LOPEZ BURGOS                           EL REMANSO                   F 11 CALLE CORRIENTE                                                                SAN JUAN          PR       00926‐6108
   237782 JERRY LOPEZ LOPEZ                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   237783 JERRY M AYALA RIVERA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   237784 JERRY MELENDEZ COSME                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   237785 JERRY METERSKY RODRIGUEZ                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   237786 JERRY MORALES RODRIGUEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   676801 JERRY N LORENZO MEDINA                       LEVITTOWN                    AA‐9 NELVA ST 4TA SECC                                                              TOA BAJA          PR       00949
   676803 JERRY O DE JESUS PEREZ                       APARTADO 506                                                                                                     VILLALBA          PR       00766
   237787 JERRY O. MEDINA ORTEGA                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   676804 JERRY ORTIZ LABOY                            URB DEL VALLE 2DA EXT        542 CALLE AMAPOLA                                                                   LAJAS             PR       00667
   237788 JERRY ORTIZ PANIZO                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   237789 JERRY ORTIZ RIVERA                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   237790 JERRY PASTRANA APONTE                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   237791 JERRY QUESADA RODRIGUEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   676805 JERRY RIVERA COLON                           PO BOX 754                                                                                                       SALINAS           PR       00751
   676806 JERRY RIVERA MANZANO                         RR 2 BOX 7152                                                                                                    MANATI            PR       00674
   237792 JERRY RIVERA MEJIAS                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED



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  676807 JERRY RIVERA OFRAY                           BO PLENA                      HC 01 BOX 6501                                                                   SALINAS             PR         00751
  237793 JERRY RIVERA QUINONES                        REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  237796 JERRY RODRIGUEZ MORALES                      REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  237797 JERRY ROMAN ROSARIO                          REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  237799 JERRY ROSARIO FIGUEROA                       REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      PARCELAS RT COLON 327 CALLE
   676808 JERRY RUIZ ALEMAN                           8                                                                                                              TRUJILLO ALTO       PR         00976
   676784 JERRY SANTIAGO VEGA                         52 N CALLE LA LUZ                                                                                              SAN LORENZO         PR         00754
   237800 JERRY VALENTIN RIVERA                       REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237801 JERRY VAN BUREN                             REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237802 JERRY VARGAS NIETO                          REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237803 JERRY VAZQUEZ ORTIZ                         REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676810 JERRY VELAZQUEZ                             PO BOX 363925                                                                                                  SAN JUAN            PR         00936
   237804 JERRY VILLEGAS SERRANO                      REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676811 JERRYS DETAILS                              CALLE DR VIDAL 4                                                                                               HUMACAO             PR         00791
   676812 JERRYS HANDYMAN SERVICES                    P O BOX 1007                                                                                                   FAJARDO             PR         00738
   676813 JERRYS JEEP RENTAL                          PO BOX 603                                                                                                     CULEBRA             PR         00775
   676814 JERRYS MUFFLERS SHOP                        19 AVE HIRAM D CABASSA                                                                                         MAYAGUEZ            PR         00680
   237805 JERRY'S PIZZA                               AVE. GENERAL; RAMEY 1056                                                                                       SAN ANTONIO         PR         00690

   676815 JERRYSON VAZQUEZ VAZQUEZ                    HC 07 BOX 2598                                                                                                 PONCE               PR         00731
          JERRYSON VILLARAN / CELIA
   237806 GONZALEZ                                    REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JERRYSSA FIGUEROA
   676816 CARTAGENA                                   PO BOX 1343                                                                                                    AIBONITO            PR         00705
   237809 JERSEY REHAB                                REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237810 JERSON VELEZ MENDEZ                         REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676817 JERSON VELEZ MENDEZ                         7996 CALLE LAS BRAVAS # 77                                                                                     SABANA SECA         PR         00952 4162

   676818 JERUSALEN HOME AMBULANCE                    PO BOX 987                                                                                                     SAN LORENZO         PR         00754
   237813 JERUSH MATOS ROMERO                         REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676819 JERWEL TORRES PONDER                        URB VILLA CAROLINA            151 1 CALLE 432                                                                  CAROLINA            PR         00985
   676820 JERY ALVARADO MERCADO                       ALT DE RIO GRANDE             Z 1384 CALLE 25                                                                  RIO GRANDE          PR         00745

   237814 JERYMITH CORTES CONCEPCION                  REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237815 JERYVETTE ARROYO FEBUS                      REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237816 JES SCHOOL BUS, CORP                        HC 2 BOX 71050                                                                                                 COMERIO             PR         00782
   237818 JESABELIZ ORTIZ RODRIGUEZ                   REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237819 JESARIEL SERRA COLLAZO                      REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237820 JESEBEL CASTAING VEGA                       REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237822 JESEC CONSTRUCTION INC                      PO BOX 1443                                                                                                    HORMIGUEROS         PR         00660‐5443
   676821 JESED INFANTIL INC                          PMB 81                        PO BOX 7997                                                                      MAYAGUEZ            PR         00681‐7997

   237823 JESELYZ NARVAEZ VALLANUEVA                  REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237824 JESENIA ALETRIZ MONTALVO                    REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237825 JESENIA AYALA MALDONADO                     REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   237826 JESENIA CARTAGENA MIRANDA                   REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237827 JESENIA CRUZ NIEVES                         REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237828 JESENIA DE JESUS ALVAREZ                    REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676822 JESENIA DE JESUS ORTIZ                      HC 867 BOX 15698                                                                                               FAJARDO             PR         00738
   237829 JESENIA DELGADO                             REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237830 JESENIA FRANQUI ACEVEDO                     REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  676823 JESENIA GALAN OTERO                          BO GALATEO CENTRO      CARR 804 KM 1 HM 0                                                                 TOA ALTA          PR         00953
  237831 JESENIA GARCIA ORTIZ                         REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  237832 JESENIA I BLACKMON PEREZ                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  237833 JESENIA I ROBLES                             REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  676824 JESENIA MATOS ROSADO                         REP SABANETAS          H 7 CALLE 1 MERCEDITA                                                              PONCE             PR         00715
  237834 JESENIA OLIVO GONZALEZ                       REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  237835 JESENIA ORTIZ DIAZ                           REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  676825 JESENIA PEREZ TORRES                         BO COLLABO PR 14       24 ATOMICA                                                                         JUANA DIAZ        PR         00795
  676826 JESENIA RAMOS ALAMEDA                        HC 02 BOX 11719                                                                                           SAN GERMAN        PR         00683
  676827 JESENIA RIVERA REYES                         HC 3 BOX 9310                                                                                             DORADO            PR         00640
  237836 JESENIA RIVERA RODRIGUEZ                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  237837 JESENIA ROBLES MIRANDA                       REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   676828 JESENIA RODRIGUEZ CARRION                   PO BOX 16                                                                                                 BAJADERO          PR         00616
   237838 JESEPHINE CANINO PINTOR                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JESHMARIE SUAREZ / JESSENIA
   237839 CASTELLANO                                  REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237840 JESHUA APONTE SANTIAGO                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237841 JESICA A ACOSTA                             REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237842 JESICA DEKONY TORRES                        REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237843 JESICA FELICIANO CRUZ                       REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676829 JESICA M TEJEDA CALDERON                    COND PARQUE DEL LAGO   APTO 453                                                                           TOA BAJA          PR         00949
   237844 JESICA PIZARRO SANCHEZ                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237845 JESICA SANTANA SANTIAGO                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676831 JESICCA RUIZ                                HC 3 BOX 10687                                                                                            YABUCOA           PR         00767‐9704
   237846 JESICO DISTRIBUTORS                         P O BOX 4978                                                                                              CAROLINA          PR         00984
   676832 JESIE PIZARRO NAVARRO                       PMB 385 PO BOX 1980                                                                                       LOIZA             PR         00772
   237847 JESIEBEL DE JESUS LOPEZ                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237848 JESIEL COLON RIVERA                         REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237849 JESIEL CRUZ DE JESUS                        REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676834 JESIEL ELECTRIC CORP                        47 CALLE CARAZO                                                                                           GUAYNABO          PR         00969
   237850 JESIELYN RIVERA HERNANDEZ                   REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676835 JESIEMAR CONSTRUCTION                       PO BOX 754                                                                                                OROCOVIS          PR         00720
   237851 JESIKA E PLANELL PABON                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676836 JESINID                                     20 C/ PACHECO ARROYO                                                                                      OROCOVIS          PR         00720
   237852 JESLEEN M VEGA RAMIREZ                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676837 JESLIAN ROLON NEGRON                        HC 01 BOX 4481                                                                                            COROZAL           PR         00783
   237856 JESLIE I COLON RIOS                         REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JESMARI BETANCOURT
   237858 BETANCOURT                                  REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JESMARIE ACOSTA
   237859 ENCARNACION                                 REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237860 JESMARIE DIAZ OTERO                         REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237861 JESMARIE MARQUEZ ROMAN                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676838 JESMARIE ROSARIO GUZMAN                     HC 1 BOX 7084                                                                                             AGUAS BUENAS      PR         00703
   237862 JESMARIE TORRES PAGAN                       REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237863 JESMARY JIMENEZ IRIZARRY                    REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237864 JESMARY MATEO DE LA CRUZ                    REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237865 JESMARY TORRES TORRES                       REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   237866 JESMARY VELAZQUEZ MORALES REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237867 JESMIEL G ORTIZ GUILBE    REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676840 JESNAIDA TIRADO RIVERA    HC 764 BOX 6106                                                                                                             PATILLAS          PR         00723



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  676843 JESSAI BARRIOS PEREZ                         PO BOX 1335                                                                                                     QUEBRADILLA        PR       00678‐1335
  676844 JESSAMINE BURGOS VELEZ                       BO MAGUEYES 35              CARR 664                                                                            BARCELONETA        PR       00617
  676845 JESSAMINE ORTIZ GUTIERREZ                    PUEBLO NUEVO                96 CALLE 1                                                                          VEGA BAJA          PR       00693
  676846 JESSCO DISTRIBUTOR                           PO BOX 4978                                                                                                     CAROLINA           PR       00984
  676847 JESSCO DISTRIBUTORS                          PO BOX 4978                                                                                                     CAROLINA           PR       00984
  237869 JESSE D FORNES ROJAS                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  237870 JESSE E ECHEVARRIA BURGOS                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  676848 JESSE EMMANUELLI COSME                       PO BOX 1999                                                                                                     VEGA BAJA          PR       00694
  676849 JESSE G POOLER                               PO BOX 34282                                                                                                    FORT BUCHANAN      PR       00934
  676850 JESSE G VINSON JR.                           P O BOX 1589                                                                                                    RINCON             PR       00677
  676851 JESSE J CRESPO QUINTERO                      3 CALLE CABAN                                                                                                   CAMUY              PR       00627
  237871 JESSE L TOVES HERNANDEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  237872 JESSE O VAZQUEZ NENADICH                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  237873 JESSE ORTIZ OLIVO                            REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  237874 JESSE OTERO MARCANO                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  237875 JESSE POU RIVERA                             REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  237876 JESSE R ALEMAN ORTIZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED

   676853 JESSE R ROMERO ACEVEDO                      BO PUEBLO SECTOR MOLINARY   BOX 872                                                                             HATILLO            PR         00659
   237877 JESSE R. RIVERA CARMONA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   676856 JESSE ROMAN CAMACHO                         HC 2 BOX 15636                                                                                                  AGUAS BUENAS       PR         00703
   771112 JESSE RUIZ MORALES                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   676857 JESSE THAMAR AYALA RAMOS                    P O BOX 2439                                                                                                    ARECIBO            PR         00613
   237878 JESSE WAGNER MITRANI                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   237879 JESSEBEL GONZALEZ CASTILLO                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237880 JESSEBEL SAMBOLIN GARCIA                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237881 JESSEL NEGRON LOPEZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   237882 JESSELYN ALVARADO MARRERO REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   676858 JESSENIA AFANADOR GONZALEZ 3 COM VIVI ABAJO                                                                                                                 UTUADO             PR         00641
   676859 JESSENIA ALICEA ORTIZ      RR 01 BOX 11806                                                                                                                  OROCOVIS           PR         00720‐9619

   237885 JESSENIA B VAZQUEZ CINTRON                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   676860 JESSENIA BARRAL RUIZ                        ESTANCIAS DEL GOLF          318 JUAN H CINTRON                                                                  PONCE              PR         00730

   237886 JESSENIA BERMUDEZ FIGUEROA                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237887 JESSENIA BETANCOURT PEREZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237888 JESSENIA CARTAGENA BRENES                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237889 JESSENIA CLAUDIO MARTINEZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237890 JESSENIA CORTES CRUZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237891 JESSENIA DE JESUS MARQUEZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237892 JESSENIA E DAVILA OCASIO                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   676861 JESSENIA E ZAYAS RIVERA                     HC 71 BOX 3619                                                                                                  NARANJITO          PR         00719
   237893 JESSENIA GALARZA VAZQUEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237894 JESSENIA GONZALEZ AGRON                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237895 JESSENIA GONZALEZ TORRES                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237896 JESSENIA H DIAZ ROSARIO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   676863 JESSENIA IBARRONDO CACERES                  HC 05 BOX 58381                                                                                                 MAYAGUEZ           PR         00680
   237897 JESSENIA LABOY LABOY                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   237898 JESSENIA LABOY MORALES                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  237899 JESSENIA LLANOS RIVERA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  237900 JESSENIA M AQUINO BAEZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  237901 JESSENIA M. ORTIZ SANTOS                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  676864 JESSENIA MARRERO NEGRON                      P O BOX 179                                                                                                     HUMACAO            PR         00792
  676865 JESSENIA MERCADO BELLO                       HC 1 BOX 6447                                                                                                   LAS PIEDRAS        PR         00771

   237902 JESSENIA MERCADO MONTANEZ REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   676866 JESSENIA PANETO RODRIGUEZ                   HC 2 BOX 7430                                                                                                   CIALES             PR         00638
   676867 JESSENIA PINTADO CINTRON                    AD 20 CALLE 26                                                                                                  TOA ALTA           PR         00953
   237904 JESSENIA RAMIREZ GASCOT                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   676868 JESSENIA RAMOS RODRIGUEZ                    FERNANDEZ JUNCOS STATION      PO BOX 19175                                                                      SAN JUAN           PR         00910
   676870 JESSENIA REYES DAVILA                       URB. EL PLANTIO               CALLE LAUREL E 36                                                                 TOA BAJA           PR         00949
   237905 JESSENIA RIVERA ORTEGA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   676872 JESSENIA RODRIGUEZ SOTO                     HC 05 BOX 53639                                                                                                 MAYAGUEZ           PR         00681
   237906 JESSENIA RUIZ SEPULVEDA                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   237907 JESSENIA SANTANA TORRES                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   237908 JESSENIA SANTIAGO HERNANDEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   237909 JESSENIA VALENTIN CRUZ      REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   237910 JESSENIA VALENTIN VARELA    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   237911 JESSENIA VARGAS FELICIANO   REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   676873 JESSENIA VIRELLA ALVAREZ    BOX 442                                                                                                                         CIALES             PR         00638
   237912 JESSENITH COLON NIEVES      REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   676874 JESSET L MALDONADO OCASIO                   ESTANCIAS DE CERRO GORDO      D‐24 CALLE 2                                                                      BAYAMON            PR         00957
   676875 JESSEY PADILLA ACEVEDO                      HC 1 BOX 2124                                                                                                   BOQUERON           PR         00622
   237914 JESSEY SANCHEZ BARRETO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          JESSIANETTE MARRERO
   237915 MERCADO                                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   676876 JESSIANN PAGAN CUEVAS                       URB PUNTO ORO                 4068 CALLE CORSARIO                                                               PONCE              PR         00728

   676877 JESSIBEL CANDELARIA MIRANDA PO BOX 422                                                                                                                      BAJADERO           PR         00616
   237916 JESSIBEL M. DIAZ RUIZ       REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   237918 JESSIBETH MALDONADO NIEVES                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          JESSICA A APONTE
   676880 VIZCARRONDO                                 EXT VILLAS DE LOIZA           GB 16 CALLE 46 B                                                                  CANOVANAS          PR         00729
   237919 JESSICA A DAVILA DEAN                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   676881 JESSICA A GARCIA GARCIA                     URB COSTA AZUL                K 14 CALLE 14                                                                     GUAYAMA            PR         00784
          JESSICA A HERNANDEZ
   676882 SANTIAGO                                    URB LOMAS VERDES              R 5 CALLE CLAVEL                                                                  BAYAMON            PR         00956
   237920 JESSICA A NUNEZ HERRERA                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          JESSICA A PARRILLA
   676883 MALDONADO                                   RES MANUEL A PEREZ            EDF C4 APT 60                                                                     SAN JUAN           PR         00923
   237921 JESSICA A RIVERA RAMOS                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   237922 JESSICA A SILEN SANCHEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   237923 JESSICA A SOTO LOPEZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   676884 JESSICA ACEVEDO GERENA                      B A 13 CALLE LUCIANO CASTRO                                                                                     HATILLO            PR         00659
   237925 JESSICA ACEVEDO GONZALEZ                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   676885 JESSICA ACEVEDO HERNANDEZ                   PO BOX 1082 VICTORIA STA                                                                                        AGUADILLA          PR         00603



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  237927 JESSICA ACEVEDO QUINONES                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  676886 JESSICA ACOSTA RODRIGUEZ                     HC 1 BOX 6420                                                                                                    CIALES            PR         00638
  676887 JESSICA AGUEDA SOTO                          OARC TERRANOVA           CALLE 13 BOX 183                                                                        QUEBRADILLAS      PR         00678
  676888 JESSICA ALICEA PEREZ                         P O BOX 29                                                                                                       SABANA HOYOS      PR         00688
  237929 JESSICA ALOYO REYES                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  676889 JESSICA ALVARADO                             PMB 4                    PO BOX 1283                                                                             SAN LORENZO       PR         00754‐1283
  676891 JESSICA ALVAREZ RODRIGUEZ                    HC 01 BOX 7502                                                                                                   CABO ROJO         PR         00623
  237930 JESSICA ANGULO ROSA                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   237931 JESSICA ANN ARROYO BURGOS                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237932 JESSICA ANN SOBRINO                         REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676893 JESSICA APELLANIZ ARROYO                    SANTA PAULA APARTMENTS   EDIF B APT 503                                                                          GUAYNABO          PR         00969
   676894 JESSICA AQUINO MENDEZ                       HC 2 BOX 12115                                                                                                   MOCA              PR         00676
   676895 JESSICA ARCE MEDINA                         RES JUAN GARCIA DUCOS    EDIF 4 APTO 35                                                                          AGUADILLA         PR         00603
   676896 JESSICA AROCHO COLON                        HC 3 BOX 8556                                                                                                    LARES             PR         00669
   237933 JESSICA AROCHO RIVERA                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676878 JESSICA AYALA PAGAN                         EL REAL                  195 CALLE MANSIONES                                                                     SAN GERMAN        PR         00683
   676899 JESSICA AYUSO RODRIGUEZ                     SAN JOSE                 327 CALLE BRAVANTE                                                                      RIO PIEDRAS       PR         00923
   676901 JESSICA B RIVERA GARCIA                     PO BOX 944                                                                                                       JUANA DIAZ        PR         00795
   237935 JESSICA BADILLO GONZALEZ                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676902 JESSICA BAEZ MEDERO                         URB VILLA CAROLINA       117‐26 CALLE 75                                                                         CAROLINA          PR         00985
   676903 JESSICA BAEZ MELENDEZ                       BO LA VEGUITA            CARR 1 KM 59.4                                                                          CAYEY             PR         00736

   676904 JESSICA BAEZ SANCHEZ                        SAN PEDRO                126 CALLE RAMON RIVERA CRUZ                                                             TOA BAJA          PR         00975
   237936 JESSICA BANNES ADAMS                        REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237937 JESSICA BEILER                              REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237938 JESSICA BELLO MONTANEZ                      REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237939 JESSICA BERRIOS RIOS                        REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676905 JESSICA BLASINI DIAZ                        URB PARQUE ECUESTRE      75 PARQUE IMPERIAL                                                                      CAROLINA          PR         00987
   676906 JESSICA BONET PEREZ                         LA GUADALUPE             A 12 CALLE LA FORRY                                                                     PONCE             PR         00731
   237940 JESSICA BONILLA RODRIGUEZ                   REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237941 JESSICA BORRALI FALCON                      REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237942 JESSICA BOYRIE FIGUEROA                     REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676907 JESSICA BRIONES TORRES                      URB VENUS GARDENS 764    CALLE ANDROMEDA                                                                         SAN JUAN          PR         00926‐4907

   237943 JESSICA BROWN PRODUCTIONS                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   237944 JESSICA BRUCELAS RODRIGUEZ                  REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237945 JESSICA BURGOS AGOSTO                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   237946 JESSICA BURGOS GONZALEZ                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676908 JESSICA C CRUZ CALDERON                     URB BRISAS DEL RIO                               86                                                              MOROVIS           PR         00687
   237947 JESSICA CABAN GOMEZ                         REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676909 JESSICA CABAN HERNANDEZ                     PO BOX 1298                                                                                                      MOCA              PR         00676
   237948 JESSICA CAMACHO AGRON                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   237949 JESSICA CAMACHO RODRIGUEZ                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676911 JESSICA CAMPO REYES                         RESIDENCIAL SAN MARTIN   EDIFICIO 5 APT 38                                                                       SAN JUAN          PR         00924
   237950 JESSICA CAMPOS BRISTOL                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   676912 JESSICA CARABALLO NIEVES                    HC 01 BOX 4477                                                                                                   ADJUNTAS          PR         00601

   676913 JESSICA CARATTINI RODRIGUEZ                 P O BOX 7428                                                                                                     SAN JUAN          PR         00916
   237951 JESSICA CARDONA SANTANA                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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          JESSICA CARRASQUILLO
   237952 CARRASQUILLO                                REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   676915 JESSICA CARRERO                             RR 2 BOX 255                                                                                                   NAGUABO             PR         00718
   237955 JESSICA CASIANO LOPEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   237956 JESSICA CASIANO ORTIZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   237957 JESSICA CASTELLANOS DIAZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   237958 JESSICA CASTILLO CASTRO                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   676917 JESSICA CASTRO CORDERO                      HC 5 BOX 10214                                                                                                 MOCA                PR         00676
   237959 JESSICA CASTRO GIBOYEAUX                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   676919 JESSICA CENTENO LOPEZ                       BO CANTA GALLO              HC 2 CALLE 6053                                                                    ARECIBO             PR         00612

   237960 JESSICA CINTRON HERNANDEZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   676920 JESSICA COLON MARRERO                       BAYAMON COUNTRY CLUB        EDIF 6 APT D                                                                       BAYAMON             PR         00957
   237962 JESSICA COLON NIEVES                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   676921 JESSICA COLON RAMOS                         RR 7 BOX 7406                                                                                                  SAN JUAN            PR         00926‐9181
   237965 JESSICA CONTRERAS ORTIZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   676922 JESSICA CORCHADO ALLERS                     PO BOX 670                                                                                                     ISABELA             PR         00662

   676923 JESSICA CORDERO CARTAGENA                   LA MUDA CONTRACT BRANCH                                                                                        CAGUAS              PR         00725
   676924 JESSICA CORE BONILLA                        RR 2 BOX 6765                                                                                                  TOA ALTA            PR         00953
   676925 JESSICA COREANO BURGOS                      URB VALLE VERDE             BB 16 CALLE NILO                                                                   BAYAMON             PR         00961
   237967 JESSICA CORREA SANTIAGO                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   237968 JESSICA CORTES DAVILA                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   676926 JESSICA CORTES VILLANUEVA                   HC 59 BOX 5890                                                                                                 AGUADA              PR         00602
          JESSICA COSME /JULIES
   676927 CATERING                                    URB MARIA DEL CARMEN        1 CALLE 4                                                                          COROZAL             PR         00783
   676928 JESSICA COSME COLON                         PO BOX 4 H                                                                                                     NARANJITO           PR         00719
   237969 JESSICA COTTO FELIX                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   237970 JESSICA CRESPO RIVERA                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   676929 JESSICA CRUZ                                URB HACIENDA PRIMAVERA      150 C/ ESTACION                                                                    CIDRA               PR         00739
   237971 JESSICA CRUZ BERROCALES                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   237972 JESSICA CRUZ BRACERO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   676930 JESSICA CRUZ MEDINA                         EL MANANTIAL                EDIF 2 APT 41                                                                      SAN JUAN            PR         00921
   237973 JESSICA CRUZ REMIGIO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   676932 JESSICA CURBELO JARAMILLO                   JARDINES DE SAN IGNACIO     EDIF B APTO 1002                                                                   SAN JUAN            PR         00927
   237975 JESSICA CURET CRUZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   237976 JESSICA D ALICEA QUINONEZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   237977 JESSICA D PADILLA PEREZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   237978 JESSICA DAVIA RODRIGUEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   676933 JESSICA DE JESUS                            23624 CALLE TINITO MARIN                                                                                       CAYEY               PR         00736
                                                      URB EL CEREZAL 1604 CALLE
   676934 JESSICA DE JESUS DEL VALLE                  ORINOCO                                                                                                        SAN JUAN            PR         00926
   676935 JESSICA DE JESUS FONTANEZ                   HC 01 BOX 5704                                                                                                 GURABO              PR         00778
   676936 JESSICA DE JESUS MOLINA                     HC 02 BOX 6717              BAJADERO                                                                           ARECIBO             PR         00688
   237980 JESSICA DE JESUS RODRIGUEZ                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   237981 JESSICA DE LA CRUZ SANCHEZ                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   237982 JESSICA DE LEON FLECHA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   237983 JESSICA DE LEON LEBRON                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   237984 JESSICA DE LEON RIVERA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   237963 JESSICA DE LEON ROJAS                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   676938 JESSICA DEL C ROMAN CHERRES BALCONES DE MONTE REAL                      APT 1705                                                                           CAROLINA            PR         00987
   237985 JESSICA DEL VALLE CRESPO    REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  676939 JESSICA DEL VALLE CRUZ                        BO CANTA GALLO                                                                                                         JUNCOS              PR         00777
  676940 JESSICA DEL VALLE ORTIZ                       90 CALLE POLVORIN                                                                                                      MANATI              PR         00674
  676941 JESSICA DELGADO DIAZ                          RES VISTA HERMOSA              EDIF 16 APT 220                                                                         SAN JUAN            PR         00921
  676942 JESSICA DELGADO RAMOS                         PO BOX 487                                                                                                             HUMACAO             PR         00792
  676943 JESSICA DIAZ                                  URB VILLA DEL CARMEN           YY 25 CALLE 6                                                                           PONCE               PR         00731‐7866
  237986 JESSICA DIAZ LEBRON                           REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  237987 JESSICA DIAZ LUNA                             REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  237988 JESSICA DIAZ VAZQUEZ                          REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   237989 JESSICA DOMENECH VELAZQUEZ                   REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676946 JESSICA DONES VAZQUEZ                        JARDINES DE COUNTRY CLUB       AB 18 CALLE 18                                                                          CAROLINA            PR         00983
   237990 JESSICA E AYALA RODRIGUEZ                    REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676947 JESSICA E COLON TORRES                       HC 3 BOX 7990                                                                                                          BARRANQUITAS        PR         00794
          JESSICA E MALDONADO
   676949 MALDONADO                                    LA MARINA F4 CALLE GARDENIA                                                                                            CAROLINA            PR         00979
   676950 JESSICA E MARTINEZ MATEO                     BO LAS VEGAS                   26516 CALLE ISABEL COLON                                                                CAYEY               PR         00736
   237992 JESSICA E MORALES RAMIREZ                    REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237993 JESSICA E PLUQUEZ SERRANO                    REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676951 JESSICA E SAAVEDRA LUGO                      HC 2 BOX 16421                                                                                                         ARECIBO             PR         00612
   676952 JESSICA E SOTO CENTENO                       PMB 194                        PO BOX 7001                                                                             SAN SEBASTIAN       PR         00685

   676953 JESSICA E VILLANUEVA BONILLA                 50 CALLE JULIO BONILLA                                                                                                 ISABELA             PR         00662
   237995 JESSICA ESCALERA                             REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237996 JESSICA ESPINAL FIGUEROA                     REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   237997 JESSICA ESPINOSA GONZALEZ                    REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676954 JESSICA ESQUILIN ANDRARES                    VILLA PALMERAS                 250 APT A CALLE RIOS                                                                    SAN JUAN            PR         00915
   237998 JESSICA ESTRADA CARRERAS                     REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676955 JESSICA FELICIANO MARTINEZ                   HC 02 BOX 8652                                                                                                         QUEBRADILLAS        PR         00678
   676956 JESSICA FELICIANO NEGRON                     EXT VILLA MILAGROS             32 CALLE 5                                                                              YAUCO               PR         00698

   676957 JESSICA FIGUEROA CONCEPCION TOA ALTA HEIGHTS                                R 35 CALLE 22                                                                           TOA ALTA            PR         00657

   238000 JESSICA FIGUEROA RODRIGUEZ                   REDACTED                       REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238001 JESSICA FLORES                               REDACTED                       REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238002 JESSICA FLORES TORRES                        REDACTED                       REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238003 JESSICA FORESTIER IRZARRY                    REDACTED                       REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238004 JESSICA FORTIS RIVERA                        REDACTED                       REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676959 JESSICA FRAITES NEGRON                       COND DELMONICO                 157 CALLE VILLAMIL APT 10C                                                              SAN JUAN            PR         00907‐2846
                                                                                      235 AVE ARTERIAL HOSTOS SUITE
   676962 JESSICA FUSTER RIVERA                        CAPITAL CENTER TORRE NORTE     1001                                                                                    SAN JUAN            PR         00918‐1453
   238006 JESSICA GARCED TARRIO                        REDACTED                       REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JESSICA GARCIA A/C MARIA
   676963 MEDINA                                       LOS MAESTROS                   463 CALLE TEODORO AGUILAR                                                               SAN JUAN            PR         00926
   676964 JESSICA GARCIA CABRERA                       RES MARISOL                    EDIF 14 APT 99                                                                          MAYAGUEZ            PR         00680

   676965 JESSICA GARCIA HERNANDEZ                     B 20 URB VILLA UNIVERSITARIA                                                                                           GUAYAMA             PR         00784
   238008 JESSICA GERENA RODRIGUEZ                     REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238009 JESSICA GOMEZ GARCIA                         REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238010 JESSICA GOMEZ PERALES                        REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238012 JESSICA GOMEZ RIVERA                         REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   676967 JESSICA GONZALEZ                             P O BOX 515                                                                                                            TOA BAJA            PR         00951
   238013 JESSICA GONZALEZ CONDE                       REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   676968 JESSICA GONZALEZ DOMINGUEZ P O BOX 874                                                                                                                   MOROVIS             PR           00687

   238014 JESSICA GONZALEZ GONZALEZ                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676879 JESSICA GONZALEZ ORTIZ                      PO BOX 7004 PMB 132                                                                                          SAN SEBASTIAN       PR           00605
   238015 JESSICA GONZALEZ RAMOS                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JESSICA GONZALEZ SOLIS/JAG
   238016 ENGINEERS PSC                               HACIENDA SAN JOSE          72 SURENA                                                                         CAGUAS              PR           00727
   676969 JESSICA GOYTIA ROSARIO                      PO BOX 2636                                                                                                  JUNCOS              PR           00777
   676970 JESSICA GUERRERO RIVERA                     SANS SOUCI                 W5 CALLE 17                                                                       BAYAMON             PR           00957
   238018 JESSICA GUZMAN GALINDEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238019 JESSICA HERNANDEZ CORTES                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JESSICA HERNANDEZ
   676971 ECHEVESTRE                                  HC 03 BOX 18156                                                                                              QUEBRADILLA         PR           00678

   676972 JESSICA HERNANDEZ ESTRADA                   HC 01 BOX 5903                                                                                               JUNCOS              PR           00777
   238021 JESSICA HERNANDEZ ORTIZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676973 JESSICA HERNANDEZ PADILLA                   HC 04 BOX 40806                                                                                              HATILLO             PR           00659‐9601
   238022 JESSICA HINNAWI RIQUELME                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676975 JESSICA HUERTAS CAMACHO                     WARD 1456                  243 CALLE PARIS                                                                   SAN JUAN            PR           00918
   238025 JESSICA I FALCON GUZMAN                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676977 JESSICA I GUADALUPE ACOSTA                  URB LOS CAOBOS             3163 CALLE CAFE                                                                   PONCE               PR       00716
   238026 JESSICA I IGARTUA ACOSTA                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   238027 JESSICA I RIVERA CARMONA                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   676979 JESSICA I ROSARIO VAZQUEZ                   BO CEDRO                   CARR 738 K4 5                                                                     CAYEY               PR       00736
   676981 JESSICA I SANTIAGO                          URB INTERAMERICANA         AC 3 CALLE 28                                                                     TRUJILLO ALTO       PR       00976
   238028 JESSICA I SULIVERAS TEXIDOR                 REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   238029 JESSICA I VANGA ALVIRA                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   238030 JESSICA I VARGAS GONZALEZ                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   238031 JESSICA IRIS FALCON GUZMAN                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   238032 JESSICA IRIZARRY BONILLA                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   676983 JESSICA IRIZARRY VAZQUEZ                    URB VILLA DEL CARMEN       II 28 CALLE 14                                                                    PONCE               PR       00731

   238033 JESSICA ITURRINO CARABALLO                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238034 JESSICA J APONTE RESTO                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676985 JESSICA J DAVILA NEGRON                     P O BOX 43                                                                                                   MOROVIS             PR           00687
   676986 JESSICA J FERNANDEZ                         URB MEDINA                 D 51 CALLE 5                                                                      ISABELA             PR           00662
   676987 JESSICA J GREEN SISNEROS                    URB VILLA EL ENCANTO       I 3 CALLE 7                                                                       JUANA DIAZ          PR           00795
   238035 JESSICA J PAGAN BONILLA                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238036 JESSICA J. PEðA PAULINO                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238042 JESSICA JENICEE ORTIZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238043 JESSICA JIMENEZ GONZALEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JESSICA JOHANE CABRERA
   238044 MARQUEZ                                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   676988 JESSICA JUARBE RIVERA                       BO CONTORNO SECTOR CIELITO CARR 165 KM 10 5                                                                  TOA ALTA            PR           00953
   676989 JESSICA JUSINO MERCADO                      23 URB SAN ANTONIO                                                                                           SABANA GRANDE       PR           00637
   676990 JESSICA L CRUZ VALENCIA                     PO BOX 679                                                                                                   GARROCHALES         PR           00652
   676991 JESSICA L MADERA BERRIOS                    P O BOX 399                                                                                                  OROCOVIS            PR           00720

   238045 JESSICA L MARRERO MORALES                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238046 JESSICA L MORALES SERRANO                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          JESSICA L RODRIGUEZ
   676992 DOMINGUEZ                                   48 CALLE MATIENZO                                                                                                  JUANA DIAZ          PR           00795
   238048 JESSICA L RUIZ CRUZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238049 JESSICA L SOTO LOPEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238050 JESSICA LABOY PACHECO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      18 CHALETS DE SAN FERNANDO
   676995 JESSICA LATORRE ROSA                        APT 1808                                                                                                           CAROLINA            PR           00987
   238051 JESSICA LEON RUIZ                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238052 JESSICA LOPEZ AJA                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238053 JESSICA LOPEZ FIGUEROA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238054 JESSICA LOPEZ GARCIA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238055 JESSICA LOPEZ HERNANDEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676996 JESSICA LOPEZ RIOS                          MARIOLGA                     F 12 C/ SAN ALEJO                                                                     CAGUAS              PR           00725
   676997 JESSICA LOSA ROBLES                         URB METROPOLIS               A55 CALLE 1                                                                           CAROLINA            PR           00987
   676998 JESSICA LOZADA MACEIBA                      PO BOX 3154                                                                                                        MANATI              PR           00674

   238057 JESSICA M APONTE RODRIGUEZ                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   676999 JESSICA M APONTE SERVINO                    URB RIVERVIEW                P 3 CALLE 13                                                                          BAYAMON             PR           00961

   677000 JESSICA M ARQUINZONI COLON                  BOX CORAZON                  537 18 CALLE CANDELARIA                                                               GUAYAMA             PR           00784
   238058 JESSICA M BARRIOS RAMOS                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238059 JESSICA M BIDOT LOPEZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677001 JESSICA M CAMPOS BRISTOL                    CORDOBA PARK 33              TORTUGO 400                                                                           SAN JUAN            PR           00926
   238060 JESSICA M COLLAZO LOPEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   238061 JESSICA M COLON MONTALVO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238062 JESSICA M CRUZ LUNA                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238063 JESSICA M CRUZ NEGRON                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238064 JESSICA M CRUZ RODRIGUEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238065 JESSICA M DIAZ TORRES                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238066 JESSICA M FRIAS                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677003 JESSICA M FUENTES RAMOS                     PO BOX 3221                                                                                                        LOIZA               PR           00772
   677004 JESSICA M GANDIA LUGO                       HC 2 BOX 8133                                                                                                      QUEBRADILLAS        PR           00678
   238067 JESSICA M JORGE MATTA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677005 JESSICA M MARTINEZ LOPEZ                    COND SAN CRISTOBAL           450 C SOL APT A 3‐3                                                                   SAN JUAN            PR           00901
   677006 JESSICA M MEDINA SALVAT                     HC 06 BOX 9930                                                                                                     HATILLO             PR           00659
   238069 JESSICA M MERCADO DAVILA                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238070 JESSICA M MOLINA ROMAN                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   677007 JESSICA M NAVARRO CORREA                    83 NORTE CALLE MONSERRATE                                                                                          GUAYAMA             PR           00784
   677008 JESSICA M ORTIZ LOPEZ                       PO BOX 3514                                                                                                        GUAYNABO            PR           00970
                                                                                   3048 SECTOR SAN JOSE BOX
   677009 JESSICA M ORTIZ SANTOS                      BO RABANAL                   3048                                                                                  CIDRA               PR           00739

   677010 JESSICA M PEREZ CAMARA                      COND PALMAS DE MONTE BELLO APTO 101                                                                                TRUJILOO ALTO       PR           00976

   238071 JESSICA M PIZARRO FIGUEROA                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   238072 JESSICA M QUILES HERNANDEZ                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   677011 JESSICA M RIOS CRUZ                         RES. SAN ANDRES EDIF 4 APT 83                                                                                      SAN SEBASTIAN       PR           00685
   238073 JESSICA M RIVERA ISAAC                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          JESSICA M RODRIGUEZ
   238074 HERNANDEZ                                   REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677012 JESSICA M ROLDAN BURGOS                     309 CALLE RAFAEL CEPEDA                                                                                             SAN JUAN            PR           00915

   677013 JESSICA M ROSADO ALVARADO                   HC 3 BOX 14885                                                                                                      COROZAL             PR           00783
          JESSICA M SANTIAGO
   238075 FERNANDEZ                                   REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238076 JESSICA M SOLANO BARRETO                    REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238077 JESSICA M TALAVERA REYES                    REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677014 JESSICA M TORRES LEBRON                     RR 3 BOX 4115                                                                                                       SAN JUAN            PR           00926

   677015 JESSICA M TORRES TOCASUCHE                  RR 2 BOX 5540                                                                                                       CIDRA               PR           00739
   238078 JESSICA M VALLE CEDENO                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238079 JESSICA M VAZQUEZ APONTE                    REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238080 JESSICA M WOOLDRIDGE                        REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238081 JESSICA M. MARRERO RIVERA                   REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677016 JESSICA M. NIEVES                           PO BOX 580                                                                                                          GURABO              PR           00778
   238082 JESSICA M. PEREZ GONZALEZ                   REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   238084 JESSICA MACHUCA HERNANDEZ REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   677018 JESSICA MALDONADO CANCEL                    EL MIRADOR                M 1 CALLE 10                                                                              SAN JUAN            PR           00926

   238085 JESSICA MALDONADO ROSARIO                   REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   677019 JESSICA MALDONADO SERRANO                   URB LOMAS VERDES          4TA SECC 4 E 35 CALLE ROBLES                                                              BAYAMON             PR           00956
   677020 JESSICA MARFISI RIVERA                      URB INTERAMERICANA        Z 17 C 24                                                                                 TRUJILLO ALTO       PR           00976
          JESSICA MARIA SERRANO
   238086 ESQUILIN                                    REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677021 JESSICA MARIE GONZALEZ                      URB SANTA JUANITA         BE 29 CALLE TOLUCA                                                                        BAYAMON             PR           00956
          JESSICA MARIE GONZALEZ
   238087 QUINONEZ                                    REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JESSICA MARIE OSTALAZA
   677022 VAZQUEZ                                     APARTADO 261              COMUNIDAD BAJADERO                                                                        LARES               PR           00669
   677023 JESSICA MARTINEZ BIRRIEL                    ALTURAS DEL REMANSO       H17 CALLE MENDOZA                                                                         SAN JUAN            PR           00926‐6216

   238088 JESSICA MARTINEZ RODRIGUEZ                  REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238089 JESSICA MARTINEZ SANTOS                     REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677025 JESSICA MASON RODRIGUEZ                     4TA SECCCION LEVITTOWN    M‐1 CALLE LUISA ESTE                                                                      TOA BAJA            PR           00950
   238090 JESSICA MATEO GONZALEZ                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238091 JESSICA MATIAS MENDEZ                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238092 JESSICA MATTEI VEGA                         REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238093 JESSICA MAYA ALVAREZ                        REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238094 JESSICA MEDINA PACHECO                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238095 JESSICA MELENDEZ                            REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238096 JESSICA MELENDEZ ORTEGA                     REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238097 JESSICA MELENDEZ RIVERA                     REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238098 JESSICA MELINA LANDRON                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238099 JESSICA MENDEZ OTERO                        REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238100 JESSICA MENDEZ PELLOT                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238101 JESSICA MENDEZ ROSA                         REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238102 JESSICA MENDEZ ROSADO                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677030 JESSICA MERCADO PEREZ                       URB COSTA BRAVA           288 CALLE FINCHE                                                                          ISABELA             PR           00662



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  238103 JESSICA MERCADO TORRES                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  677031 JESSICA MERCADO VEGA                         SAN FRANCISCO VILLEGE      EDIF 6 APT 681                                                                      CABO ROJO         PR         00623
  238104 JESSICA MIGUEL GARCIA                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  677032 JESSICA MILLAN VILLANUEVA                    HC 2 BOX 8241                                                                                                  CAMUY             PR         00627
  677033 JESSICA MOCTEZUMA RAMOS                      PMB 106                    BOX 4960                                                                            CAGUAS            PR         00726‐4960
  677034 JESSICA MONTALVO ALBINO                      COM BETANCES               106 CALLE BETANCES                                                                  CABO ROJO         PR         00623
  238105 JESSICA MONTALVO BELLO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  238106 JESSICA MONTALVO TORO                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  238107 JESSICA MORALES                              REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  238108 JESSICA MORALES CORREA                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  238109 JESSICA MORALES FIGUEROA                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  238110 JESSICA MORALES GONZALEZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  238111 JESSICA MORALES RAMOS                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  677035 JESSICA MORALES SANTANA                      HC‐2 BOX 15155                                                                                                 LAJAS             PR         00667
  238113 JESSICA MORALES VARGAS                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  238114 JESSICA MORALES VAZQUEZ                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  238115 JESSICA MULERO VEGA                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  238116 JESSICA MUNIZ SANTIAGO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  677037 JESSICA N CARRILLO                           PO BOX 123                                                                                                     GUANICA           PR         00698
  677038 JESSICA N GARCIA PACHECO                     PUNTO ORO                  4443 CALLE EL ANGEL                                                                 PONCE             PR         00728‐2048

   238117 JESSICA N HERNANDEZ RIVERA                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   677039 JESSICA N IGARTUA MELENDEZ                  PARC 131                   CALLE RINCONCITO                                                                    SABANA SECA       PR         00952

   238118 JESSICA N ROMAN RODRIGUEZ                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   677041 JESSICA NARVAEZ LUGO                        MINILLA STATION            PO BOX 40498                                                                        SAN JUAN          PR         00940‐0498
   238120 JESSICA NARVAEZ PEREZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   677042 JESSICA NATAL MONTERO                       RES FERNANDO L GARCIA      EDIF 12 APT 93                                                                      UTUADO            PR         00641
   677043 JESSICA NAVARRO FLORES                      J 5 URB JARD DEL MAMEY                                                                                         PATILLAS          PR         00723
   238121 JESSICA NAVARRO RIVERA                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238122 JESSICA NAVEDO MARTINEZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   677044 JESSICA NEGRON CATALA                       BOX 655                                                                                                        NARANJITO         PR         00719
   238123 JESSICA NEGRON PELUYERA                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   677045 JESSICA NEGRON PIMENTEL                     LOS COLOBOS PARK           625 ALMENDRO                                                                        CAROLINA          PR         00987
   238124 JESSICA NEGRON SALGADO                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238125 JESSICA NIEVES BERNARD                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   677046 JESSICA NIEVES OROSCO                       JARDINES DE COUNTRY CLUB   CO 1 CALLE 153                                                                      CAROLINA          PR         00983
   238126 JESSICA NOGUERAS RIVERA                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238128 JESSICA OCANA MOLINA                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   677048 JESSICA OCASIO FLORES                       URB VILLA TURABO           L 19 CALLE ROBLES                                                                   CAGUAS            PR         00725
   238129 JESSICA OLIVENCIA RAMIREZ                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238130 JESSICA OLIVERO RIVERA                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   677049 JESSICA OLLER MADRIGAL                      BO OBRERO                  709 CALLE BUENOS AIRES                                                              SAN JUAN          PR         00915
   238131 JESSICA OLMEDA RIVERA                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238133 JESSICA ORTIZ                               REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   677051 JESSICA ORTIZ CAMARA                        RES EL CEMI                EDIF 11 APT 45                                                                      SANTA ISABEL      PR         00757
   238134 JESSICA ORTIZ CASTILLO                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238135 JESSICA ORTIZ GARCIA                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238136 JESSICA ORTIZ MALDONADO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238137 JESSICA ORTIZ MARTINEZ                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238138 JESSICA ORTIZ MONTERO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238139 JESSICA ORTIZ NIEVES                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  238140 JESSICA ORTIZ SOTO                           REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  677053 JESSICA OSORIO ROSA                          PARQUE LA HACIENDA         E 38 CALLE ABACOA                                                                 CAGUAS              PR         00725
  238141 JESSICA OTERO MIRANDA                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  677054 JESSICA PABON ORTIZ                          PO BOX 1338                                                                                                  LAJAS               PR         00667‐1338
  238142 JESSICA PACHECO CANCEL                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238143 JESSICA PADILLA COSME                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   677055 JESSICA PADILLA OLMEDA                      SAN GERMAN APARTMENTS 356                                                                                    SAN GERMAN          PR         00680
   677056 JESSICA PADILLA PLAZA                       PO BOX 81                                                                                                    CABO ROJO           PR         00623
   238144 JESSICA PADILLA ROSAS                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238145 JESSICA PAGAN DELGADO                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238147 JESSICA PAGAN TORRES                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JESSICA PASTRANA PAGAN /
   677059 MERIANN REYES                               HC 645 BOX 6405                                                                                              TRUJILLO ALTO       PR         00976
   238148 JESSICA PEREZ ANDINO                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238149 JESSICA PEREZ CORCHADO                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238150 JESSICA PEREZ JIMENEZ                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238151 JESSICA PEREZ MEDERO                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238152 JESSICA PEREZ NUNEZ                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238153 JESSICA PEREZ REYES                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677061 JESSICA PEREZ RIVERA                        PARC AMALIA MARIN           3755 CALLE MANATEE                                                               PONCE               PR         00716
   677062 JESSICA PEREZ SANCHEZ                       HC 02 BOX 12260                                                                                              GURABO              PR         00778
   238154 JESSICA PEREZ SOTO                          REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677063 JESSICA PEREZ VEGA                          P O BOX 2586                JUNCAL                                                                           SAN SEBASTIAN       PR         00685
   238155 JESSICA PEREZ VELEZ                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238156 JESSICA PIETRI NIEVES                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238157 JESSICA PLAZA MARTINEZ                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677065 JESSICA POLANCO RAMOS                       HC 5 BOX 90619                                                                                               ARECIBO             PR         00612
   677066 JESSICA QUI¥ONEZ CRUZ                       HC 5 BOX 92565                                                                                               ARECIBO             PR         00612
   677067 JESSICA QUILES FIGUEROA                     BDA SAN MIGUEL BOX 609                                                                                       NARANJITO           PR         00719
   677069 JESSICA RAMIREZ ACEVEDO                     HC 03 BOX 9033                                                                                               MOCA                PR         00676
   677070 JESSICA RAMIREZ FUENTES                     PO BOX 1623                                                                                                  JUNCOS              PR         00777
   677071 JESSICA RAMIREZ MENDEZ                      RES EL CORAL                EDIF 1 APT 7                                                                     CAROLINA            PR         00983
   677072 JESSICA RAMIREZ RAMOS                       HC 01 BOX 3570                                                                                               HORMIGUEROS         PR         00660
   677073 JESSICA RAMIREZ RIVERA                      HC 01 BOX 6204                                                                                               YAUCO               PR         00698
   238158 JESSICA RAMIREZ TORRES                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      COND TORRES DE FRANCIA APTO
   677074 JESSICA RAMOS CANALES                       5B                                                                                                           SAN JUAN            PR         00917
   677076 JESSICA RAMOS ROSARIO                       P O BOX 21365                                                                                                SAN JUAN            PR         00928‐1365
   677077 JESSICA RAMOS SURITA                        URB REXVILLE                AQ 4 CALLE 60                                                                    BAYAMON             PR         00957

   238159 JESSICA RAQUEL TORRES OCASIO REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677079 JESSICA RESTO RIVERA         HP ‐ RECURSOS HUMANOS                                                                                                       RIO PIEDRAS         PR         009360000
   238160 JESSICA REYES NIEVES         REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238161 JESSICA REYES PADILLA        REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238162 JESSICA RIOS ORTIZ           REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238163 JESSICA RIOS RODRIGUEZ       REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238164 JESSICA RIVERA ACEVEDO       REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238165 JESSICA RIVERA ADORNO        REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238166 JESSICA RIVERA ALVAREZ       REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238167 JESSICA RIVERA APONTE        REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238168 JESSICA RIVERA BALLESTER     REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677081 JESSICA RIVERA BATIZ         URB SANTA TERESITA                        AS 12 CALLE 13                                                                    PONCE               PR         00730



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  238170 JESSICA RIVERA GONZALEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238171 JESSICA RIVERA LOPEZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238173 JESSICA RIVERA PACHECO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238174 JESSICA RIVERA PEREZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  677084 JESSICA RIVERA SANTIAGO                      444 COND DE DIEGO          APT 209                                                                           SAN JUAN            PR         00923
  677086 JESSICA RIVERA VAZQUEZ                       HC 02 BOX 6332                                                                                               YABUCOA             PR         00767
                                                                                 634 CALLE FRANCISCO
   677088 JESSICA RIVERA VERDEJO                      URB VILLA PRADES           CASALDUC                                                                          RO PIEDRASI         PR         00924

   677089 JESSICA RODRIGUEZ ACEVEDO                   ESTANCIAS DEL RIO          856 CALLE CERRILLOS                                                               HORMIGUEROS         PR         00660

   238177 JESSICA RODRIGUEZ CAMACHO                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238180 JESSICA RODRIGUEZ CHIN                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   677093 JESSICA RODRIGUEZ COLLADO                   PROYECTO VBC 40 BERVAN     EDIF C 2 APT 25                                                                   SAN JUAN            PR         00924
   238181 JESSICA RODRIGUEZ CRUZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   677095 JESSICA RODRIGUEZ GONZALEZ                  HC 2 BOX 21140                                                                                               MAYAGUEZ            PR         00680

   238182 JESSICA RODRIGUEZ INOCENCIO REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   238183 JESSICA RODRIGUEZ MARTINEZ                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677096 JESSICA RODRIGUEZ MOLINA                    PO BOX 242                                                                                                   NARANJITO           PR         00719
   238184 JESSICA RODRIGUEZ RAMOS                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238185 JESSICA RODRIGUEZ ROSADO                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238186 JESSICA RODRIGUEZ TORRES                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238189 JESSICA ROJAS TORRES                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238190 JESSICA ROLAND ROSARIO                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238191 JESSICA ROLON RODRIGUEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238192 JESSICA ROMAN DE LEON                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238193 JESSICA ROMAN DIAZ                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238194 JESSICA ROMAN OLIVERA                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238195 JESSICA ROMAN SEDA                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   677099 JESSICA ROSA ANDINO                         MANSIONES DE MONTECASINO I 236 CALLE PELICANO                                                                TOA ALTA            PR         00953‐2244
   238197 JESSICA ROSA DIAZ                           REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238198 JESSICA ROSA NIEVES                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677101 JESSICA ROSADO OTERO                        URB EL CONQUISTADOR        B 15 C/2                                                                          TRUJILLO ALTO       PR         00976
   238199 JESSICA ROSARIO GOMEZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238200 JESSICA ROSARIO NUNEZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238201 JESSICA ROSARIO SEPULVEDA                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238202 JESSICA RUIZ CRUZ                           REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677102 JESSICA RUIZ LOPEZ                          HC 6 BOX 13323                                                                                               HATILLO             PR         00659
   238203 JESSICA RUIZ MARQUEZ                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238204 JESSICA RUIZ OLAVARRIA                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677103 JESSICA RUIZ SUAREZ                         REPTO UNIVERSIDAD          E 4 CALLE 8                                                                       SAN GERMAN          PR         00683‐3814
   677106 JESSICA S ROSARIO COLON                     SAN ANTONIO                1407 CALLE DAMASEO                                                                PONCE               PR         00728‐1605
   238205 JESSICA S. RAMIREZ ROSARIO                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677107 JESSICA SALAZAR OLIVO                       RES NEMESIO CANALES        EDF 50 APT 917                                                                    SAN JUAN            PR         00926
   238207 JESSICA SALCEDO RAMOS                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677108 JESSICA SALGADO GONZALEZ                    INGENIO                    81 B CALLE AZUSENA                                                                TOA BAJA            PR         00949
   238208 JESSICA SANCHEZ GONZALEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238209 JESSICA SANJURJO RIVERA                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  238210 JESSICA SANTANA SILVA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   677109 JESSICA SANTIAGO BERMUDEZ                    HC 2 BOX 15309                                                                                                  COMERIO             PR         00782
   677113 JESSICA SANTIAGO GONZALEZ                    105 CAMPO ALEGRE                                                                                                UTUADO              PR         00641
   677114 JESSICA SANTIAGO RAMIREZ                     PUERTO NUEVO                519 ARABIA                                                                          SAN JUAN            PR         00920
   238212 JESSICA SANTIAGO RENTAS                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677115 JESSICA SANTIAGO RIVERA                      PO BOX 1535                                                                                                     VILLALBA            PR         00766
   677116 JESSICA SANTIAGO ROSA                        HC 2 BOX 4230                                                                                                   GUAYAMA             PR         00784
   238213 JESSICA SANTOS BAHAMUNDI                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238214 JESSICA SANTOS LOPEZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677118 JESSICA SERRANO COLON                        P O BOX 683                                                                                                     SABANA HOYOS        PR         00688
   238215 JESSICA SERRANO GOYTIA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   677120 JESSICA SERRANO RODRIGUEZ                    URB DELGADO                 E 9 CALLE 7                                                                         CAGUAS              PR         00725
   238216 JESSICA SOLIVAN CARTAGENA                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238217 JESSICA SOTO AGUILA                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677121 JESSICA SOTO SANTOS                          HC 2 BOX 6426                                                                                                   GUAYANILLA          PR         00656
   677122 JESSICA SOTO VELEZ                           BOX 1163                                                                                                        UTUADO              PR         00641
   677123 JESSICA SOTOMAYOR                            PMB 146                     405 AVE ESMERALDA                                                                   GUAYNABO            PR         00969
   238219 JESSICA SOTOVELEZ                            REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677124 JESSICA SUAREZ BURGOS                        RES TRINA P DE SANZ         EDIF 1 APT 654                                                                      ARECIBO             PR         00612
   238220 JESSICA SUAREZ URBAN                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677125 JESSICA SULIVERAS TEXIDOR                    COMUNIDAD MIRAMAR           629‐52 CALLE AMARILLIS                                                              GUAYAMA             PR         00784
   677126 JESSICA T DE JESUS VICENTE                   HC 1 BOX 6008                                                                                                   ARROYO              PR         00714
   238221 JESSICA TARTAK CORDOVA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   238222 JESSICA TEXIDOR DEL CARMEN                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238223 JESSICA TOLEDO                               REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677127 JESSICA TOLEDO BONILLA                       PO BOX 9122                                                                                                     MAYAGUEZ            PR         00681‐9122
   677128 JESSICA TORO RIVERA                          25 CALLE MESTRE                                                                                                 CABO ROJO           PR         00623
   238224 JESSICA TORO ROSARIO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677129 JESSICA TORRES CARRION                       URB VENUS GARDENS           A E 20 CALLE TIJUANA                                                                SAN JUAN            PR         00926
   238225 JESSICA TORRES MORALES                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677130 JESSICA TORRES RIVERA                        RR 6 BOX 9783               CAMINO SERRANO                                                                      SAN JUAN            PR         00901
   238226 JESSICA TORRES RODRIGUEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677132 JESSICA TORRES ROSADO                        HC 1 BOX 3977                                                                                                   BARRANQUITAS        PR         00794
   677133 JESSICA TORRES SURIA                         PARQUE DE LA VISTA          APT 245 E                                                                           SAN JUAN            PR         00924
   677134 JESSICA TORRES TORRES                        CALLE 3 C 96 LA PONDEROSA                                                                                       VEGA ALTA           PR         00692
   677135 JESSICA TORRES VIVAS                         REPARTO VALENCIA            E 24 CALLE LIRIOS                                                                   BAYAMON             PR         00959
   677136 JESSICA TRABAL COFRESI                       VALLE HERMOSO               SY 16 CALLE ZINIA                                                                   MAYAGUEZ            PR         00680
          JESSICA VANESSA REYES
   238227 RODRIGUEZ                                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238228 JESSICA VARGAS PEREZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677137 JESSICA VAZQUEZ QUINTANA                     URB STA JUANITA             WC 7 CALLE PEDREIRA                                                                 BAYAMON             PR         00956
   677139 JESSICA VAZQUEZ VAZQUEZ                      HC 02 BOX 6871                                                                                                  BARRANQUITAS        PR         00794
   677140 JESSICA VEGA DIAZ                            RR 1 BOX 10861                                                                                                  OROCOVIS            PR         00720
   677141 JESSICA VEGA ORTIZ                           HC 01 BOX 5401                                                                                                  ADUNTAS             PR         00601

   677143 JESSICA VELAZQUEZ FIGUEROA                   HC 5 BOX 57079                                                                                                  AGUADILLA           PR         00603

   238231 JESSICA VELAZQUEZ MORALES                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   677144 JESSICA VELAZQUEZ RODRIGUEZ URB OLYMPICVILLE                             CALLE SYDNEY BOX 96                                                                 SAN JUAN            PR         00771



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  238232 JESSICA VELEZ BENITEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238233 JESSICA VELEZ REYES                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  677146 JESSICA VELEZ SEPULVEDA                      RES MANUEL A PEREZ          EDIF G 6 APT 68                                                                   SAN JUAN            PR         00923
  238234 JESSICA VELEZ SOTO                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238235 JESSICA VELEZ VELAZQUEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238236 JESSICA VELILLA FONTANEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238237 JESSICA VENTO LINERA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238238 JESSICA VERDEJO DE JESUS                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238240 JESSICA VICENTE TORRES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238241 JESSICA VILLANUEVA                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  677147 JESSICA VILLEGAS AVILES                      RR 6 BOX 9855                                                                                                 SAN JUAN            PR         00926
  238242 JESSICA W PABON MELENDEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
 1256593 JESSICA W PABON MELENDEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  677148 JESSICA WALKER LOPEZ                         CUPEY BAJO                  LITHEDA APTS 204 06                                                               SAN JUAN            PR         00926
  238244 JESSICA WALKER VAZQUEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238245 JESSICA ZAPATA TORO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   238247 JESSICAM RODRIGUEZ MENDOZA REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   238248 JESSICAMIR VELEZ BADILLO   REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   677149 JESSICA'S BISCUIT                           THE COOKBOOK PEOPLE BOX 301                                                                                   NEWTONVILLE         MA         02460
          JESSICAS CATERING                           RES CANDELARIO TORRES BOX
   677150 SERV/JESSICA RODRIGUEZ                      167                                                                                                           NARANJITO           PR         00719
   238249 JESSIE ANNA VEGA                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   677151 JESSIE BONILLA LOPEZ                        HC 3 BOX 29041                                                                                                AGUADA              PR         00602
   238250 JESSIE CARDONA                              REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   677152 JESSIE CINTRON CORREA                       URB LAGOS DEL PLATA         Q4 CALLE 12                                                                       TOA BAJA            PR         00949
   238251 JESSIE COLON                                REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   677153 JESSIE CONCEPCION PEREZ                     RR 4 BOX 3493                                                                                                 BAYAMON             PR         00956
   677154 JESSIE CORTES RAMOS                         P O BOX 1349                                                                                                  AGUADA              PR         00602
   677155 JESSIE FELIU SOLANO                         URB LA RIVERA 206           CALLE CARACAS                                                                     MAYAGUEZ            PR         00680
   238252 JESSIE GIRON MOREL                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   238253 JESSIE GONZALEZ CORDERO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   238254 JESSIE J NEGRON                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   677158 JESSIE JUSINO LUGO                          2DA EXT EL VALLE            429 AZUCENA                                                                       LAJAS               PR         00667
   238255 JESSIE M NEGRON MARTINEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   238256 JESSIE M NEGRONI ROLAN                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JESSIE MARIE FLORES
   238257 RODRIGUEZ                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   238258 JESSIE MATIAS MUNOZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JESSIE N. HERNANDEZ
   238259 RODRIGUEZ                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   677160 JESSIE RIVERA APONTE                        SECTOR HONDA HELECHAL                                                                                         BARRANQUITAS        PR         00794
   238260 JESSIE SANCHEZ MATEO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

          JESSIE TRICE COMMUNITY                      MEDICAL RECORD
   238263 HEALTH CENTER INC                           SECT/CORRESPONDENCE UNIT    5361 NW 22ND AVE                                                                  MIAMI               FL         33142
   238264 JESSIE Y TORRES PEREZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JESSIEBELL M MELENDEZ
   238265 FELICIANO                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JESSIEL ENRIQUE BERRIOS
   238266 RIVERA                                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED




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          JESSIEMAR CONSTRUCTION
   677161 CORPORATION                                 PO BOX 754                                                                                                       OROCOVIS             PR           00720
   677162 JESSIES BARRETO NAVARRO                     HC 83 BOX 7121                                                                                                   VEGA ALTA            PR           00692

   677163 JESSIKA D MIRANDA RODRIGUEZ                 341 CALLE SUR                                                                                                    DORADO               PR           00646
   677164 JESSIKA HERNANDEZ ARROYO                    HC 04 BOX 18816                                                                                                  CAMUY                PR           00627
   238267 JESSIKA HERNANDEZ BURGOS                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   677165 JESSIKA J SOTO FIGUEROA                     HC 01 BOX 17719                                                                                                  HUMACAO              PR           00791
          JESSIKA JAHAIRA RUIZ
   238268 ARAGONES                                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   677166 JESSIKA M DIAZ SANTIAGO                     PO BOX 323                                                                                                       PATILLAS             PR           00723

   238270 JESSIKA M ESCALERA RODRIGUEZ REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   238272 JESSIKA N OLIVO MALDONADO                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   677167 JESSIKA ORTEGA PEREZ                        VILLA NEVAREZ             1045 CALLE 5                                                                           SAN JUAN             PR           00927
   238273 JESSIKA PADILLA RIVERA                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   238274 JESSIKA RIVERA LAVIERA                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   238275 JESSINA PEREZ FONSECA                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   677168 JESSINIA FELICIER CUADRADO                  PO BOX 397                                                                                                       RIO BLANCO           PR           00744
   238276 JESSLANI MARCANO FLORES                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   238277 JESSLIMAR RODRIGUEZ ROMAN                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   677169 JESSMARI MORALES GUTIERREZ                  SAVANNAH REAL             145 CALLE PASEO BARCELONA                                                              SAN LORENZO          PR           00754

   238278 JESSMARIE MELENDEZ MIRANDA REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   677170 JESSVAL ACEVEDO HUARD      COND PORTAL DE LA REINA                    APTO 257                                                                               SAN JUAN             PR           00924
   677171 JESSY B SANTIAGO RUIZ      URB SUMMITT HILLS 1749                     CALLE ADAMES                                                                           SAN JUAN             PR           00920
   677172 JESSY Y BEZARES CRUZ       VILLA UNIVERSITARIA                        Q 9 CALLE 20                                                                           HUMACAO              PR           00791

   238279 JESSY YARIMER BEZARES CRUZ                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   677173 JESSYNES TORO REY                           RES VILLA ANDALUCIA       EDIF 03 APT 77                                                                         SAN JUAN             PR           00926
          JESUAN E DIAZ PEREZ A/C
   238280 LIZVETTE PEREZ                              REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   238281 JESUAN IZQUIERDO TORRES                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   238282 JESUAN K MASSA MENENEDEZ                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   677175 JESUAN NEGRON GONZALEZ                      F3 URB VEGAS DE FLORIDA                                                                                          FLORIDA              PR           00650
   238283 JESUCRISTO AYUDAME                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   238284 JESUCRISTO AYUDAME, INST.                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   238285 JESUEL PADRO CRUZMAN                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   677176 JESUEL PADRO GUZMAN                         BRISAS DEL MAR            FE 3 CALLE G                                                                           LUQUILLO             PR           00773
   238286 JESUEL SOTO DIAZ                            REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
  1420098 JESURUN VÁZQUEZ, HAROLD                     JUAN SERRANO SANTIAGO     PO BOX 70199                                                                           SAN JUAN             PR           00936‐8190
   238289 JESUS A ALONSO FLORES                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   677208 JESUS A ARROYO RIVERA                       PO BOX 1450                                                                                                      MOCA                 PR           00676
   238290 JESUS A BALADEJO VAZQUEZ                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   677179 JESUS A BARCIA PORTILLO                     EXT SAN AGUSTIN           1226 CALLE 7                                                                           SAN JUAN             PR           00926‐1830
   238291 JESUS A BELEN RODRIGUEZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   677180 JESUS A BELLO GRAFALS                       URB ALTO APOLO            49 CALLE HOMERO                                                                        GUAYNABO             PR           00969
   238292 JESUS A BERNABE PEREZ                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   677209 JESUS A BLANCO ALVAREZ                      URB COUNTRY CLUB          761 CALLE AMALIO ROLDAN                                                                SAN JUAN             PR           00928
   238293 JESUS A BON MEDINA                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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MML ID               NAME                                        ADDRESS 1                   ADDRESS 2                   ADDRESS 3                           ADDRESS 4              CITY       STATE     POSTAL CODE       COUNTRY
  238294 JESUS A BOSQUE SOTO                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238295 JESUS A CABALLERO PEREZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238296 JESUS A CALDERON VAZQUEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   238297 JESUS A CARMENATE HERRERA                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   238298 JESUS A CARTAGENA ORTOLAZA                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677211 JESUS A CINTRON SANTIAGO                    P O BOX 520                                                                                                        QUEBRADILLA         PR         00678
   238299 JESUS A COLLAZO MORALES                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238300 JESUS A COLON PAGAN                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238301 JESUS A CRESPO PEREZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677212 JESUS A CUBERO LOPEZ                        PO BOX 143521                                                                                                      ARECIBO             PR         00614‐3521

   677213 JESUS A CUEVAS HERNANDEZ                    TURABO GARDEN 2DA SECCION   S 17 CALLE 23                                                                          CAGUAS              PR         00725
   238303 JESUS A CUEVAS PEREZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677214 JESUS A ESPINAL POLANCO                     PO BOX 20198                                                                                                       SAN JUAN            PR         00928
   238304 JESUS A FADUL CASTRO                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   677215 JESUS A FERNANDEZ DEL MORAL PO BOX 2038                                                                                                                        YABUCOA             PR         00767
   238305 JESUS A FRAU CRESPO         REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677216 JESUS A GARCIA GUEVARA      PO BOX 363176                                                                                                                      SAN JUAN            PR         00936‐3176
   677217 JESUS A GOAS ORTEGA         PO BOX 360020                                                                                                                      SAN JUAN            PR         00936

   238306 JESUS A GONZALEZ LARACUENTE REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238307 JESUS A GONZALEZ VALLES     REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JESUS A HERNANDEZ
   677218 BETANCOURT                  URB LAGO ALTO                               A 13 CALLE CAONILLA                                                                    TRUJILLO ALTO       PR         00976‐4005
   677219 JESUS A HERNANDEZ COTTO     HC 1 BOX 8022                                                                                                                      AGUAS BUENAS        PR         00703
   238308 JESUS A HERNANDEZ LOPEZ     REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238309 JESUS A HIDALGO GONZALEZ    REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238310 JESUS A IRIZARRY RIVERA     REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238311 JESUS A IRIZARRY TORRES     REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677181 JESUS A LUIS MERCEDES       URB LAS COLINAS                             180 CALLE E                                                                            VEGA ALTA           PR         00692
   677224 JESUS A MENDEZ PEREZ        HC 04 BOX 47160                                                                                                                    CAGUAS              PR         00725 9618
   238313 JESUS A MENENDEZ CRUZ       REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238314 JESUS A MERCADO FERREIRA    REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238315 JESUS A MORALES FONTANEZ    REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238316 JESUS A MORALES GARCIA      REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238317 JESUS A MORALES RIVERA      REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238319 JESUS A NEGRON RODRIGUEZ    REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238320 JESUS A NIEVES SOTO         REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   238321 JESUS A OQUENDO MALDONADO REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238322 JESUS A ORTEGA PEREZ      REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677227 JESUS A ORTIZ MATOS       APARTADO 251                                                                                                                         LOIZA               PR         00772
   677228 JESUS A OTERO GUZMAN      MARBELLA OESTE 1404                                                                                                                  CAROLINA            PR         00979
   677229 JESUS A PARDO BREA        RODRIGUEZ MORENO HALL                         608 CALLE OLIMPO APT 55 A                                                              SAN JUAN            PR         00907
   238324 JESUS A PERELEZ BUDEN     REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238325 JESUS A PEREZ CRUZ        REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238326 JESUS A QUINTANA SERRANO  REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238327 JESUS A RAMIREZ SILVA     REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238328 JESÚS A RIOS ALVAREZ      REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238329 JESUS A RIOS SEPULVEDA    REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  238330 JESUS A RIVERA CARRION                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  238331 JESUS A RIVERA SANTIAGO                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  677232 JESUS A RODRIGUEZ LEBRON                     ALT DE RIO GRANDE       137 CALLE 3D                                                                             RIO GRANDE        PR         00745

   677233 JESUS A RODRIGUEZ MARTINEZ                  HC 2 BOX 44617                                                                                                   VEGA BAJA         PR         00693
   677234 JESUS A RODRIGUEZ NIEVES                    URB VILLA CAROLNA       69 18 CALLE 56                                                                           CAROLINA          PR         00985
   238333 JESUS A RODRIGUEZ VERA                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   677235 JESUS A ROMAN ALFARO                        197 CARR 2 KM 86 4                                                                                               HATILLO           PR         00659‐2839
   238334 JESUS A ROMERO PEREZ                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238336 JESUS A ROSADO MADERA                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238337 JESUS A SANCHEZ RAMIREZ                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   677236 JESUS A SANTANA RODRIGUEZ                   URB COSTA BRAVA         30 B CALLE 10                                                                            ISABELA           PR         00662
   238338 JESUS A SANTIAGO                            REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238339 JESUS A SANTIAGO COLON                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   677237 JESUS A SANTIAGO RIVERA                     5 CALLE JOSE DE DIEGO                                                                                            CIALES            PR         00638
   238341 JESUS A SOSTRE CORDERO                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238343 JESUS A VEGA MARTINEZ                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238344 JESUS A VEGA MORALES                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   677239 JESUS A VELAZQUEZ PACHECO                   HC 1 BOX 6533                                                                                                    CANOVANAS         PR         00729
   238345 JESUS A VELEZ MATOS                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238346 JESUS A. CEBOLLERO PEREZ                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238347 JESUS A. CINTRON SANTIAGO                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238348 JESUS A. MARENGO COLLAZO                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   677241 JESUS A. MOLINARY ACEVEDO                   RES VILLANUEVA          EDIF 8 APT 86                                                                            AGUADILLA         PR         00603
   677243 JESUS A. ROSARIO MORALES                    VILLA DEL MONTE         46 CALLE MONTE REAL                                                                      TOA ALTA          PR         00953
   238353 JESUS A. SANCHEZ RAMIREZ                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238354 JESUS A. VEGA MARTINEZ                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238355 JESUS ABREU TORRES                          REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   677244 JESUS ACEVEDO COLON                         BERVELY HILLS COURT     100 CARMEN HILL DRIVE 156                                                                SAN JUAN          PR         00926
   238356 JESUS ACEVEDO LOPEZ                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   677245 JESUS ACEVEDO MELENDEZ                      PUERTO NUEVO            1129 CALLE 8 SE                                                                          SAN JUAN          PR         00921

   238357 JESUS ADRIAN ORENGO TORRES                  REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238358 JESUS AGOSTO RIVERA                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238359 JESUS AGOSTO VAZQUEZ                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   677246 JESUS AGUAYO AGUAYO                         P O BOX 304                                                                                                      GURABO            PR         00778
   677247 JESUS AGUIAR GARCIA                         HC 3 BOX 29620                                                                                                   AGUADA            PR         00602
   677249 JESUS ALBERTI HERNANDEZ                     HC 3 BOS 9576                                                                                                    COMERIO           PR         00782
   238360 JESUS ALBERTO MALDONADO                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   677250 JESUS ALDEA CUEBAS                          BO LEQUISAMO            KM 10 5                                                                                  MAYAGUEZ          PR         00680

   677251 JESUS ALEMAN VELAZQUEZ                      URB SOMBRAS DEL REAL    515 CALLE ROBLE COTO LAUREL                                                              P0NCE             PR         00780
   238361 JESUS ALEXIS MORALES RIVEA                  REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   677252 JESUS ALICEA RIVERA                         URB VALLE PIEDRA        616 FELIX LOPEZ                                                                          LAS PIEDRAS       PR         00771
   238362 JESUS ALICEA RODRIGUEZ                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   677254 JESUS ALMONTE SILVERIO                      RES LOS PENAS           EDIF 2 APTO 46                                                                           SAN JUAN          PR         00924
   677256 JESUS ALVAREZ                               HC 1 BOX 16147                                                                                                   AGUADILLA         PR         00603
   238363 JESUS ALVAREZ ACEVELO                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   677182 JESUS ALVAREZ BELGODERY                     LAGOS DE PLATA          G 7 CALLE 6                                                                              TOA BAJA          PR         00949
   238364 JESÚS ALVAREZ COLÓN                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   238365 JESUS ALVAREZ QUINONEZ                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  238366 JESUS ALVAREZ RIVERA                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238367 JESUS ANDUJAR CAMACHO                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  677257 JESUS ANGLADA ZAMBRANA                        PO BOX 531                                                                                                     SALINAS             PR         00751‐0531
  238368 JESUS ANIBAL LLANOS PINERA                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   238369 JESUS ANTONIO LOPEZ COTTO                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   238371 JESUS AQUILAROCHO GUTIERREZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238372 JESUS AQUINO VELEZ          REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238373 JESUS AREVALO DIAZ          REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238374 JESUS ARISTUD RIVERA        REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238375 JESUS ARMY INC              HC 4 BOX 9833                                                                                                                   UTUADO              PR         00641
   238376 JESUS ARMYS INC             HC 04 BOX 9833                                                                                                                  UTUADO              PR         00641
   677258 JESUS ARRIAGA PELUYERA      PO BOX 1006                                                                                                                     AGUAS BUENAS        PR         00703
   238377 JESUS ARROYO MELECIO        REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238378 JESUS AVILES ROMAN          REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677261 JESUS AYALA MERCADO         RR 02 BOX 425                                                                                                                   SAN JUAN            PR         00926
   677262 JESUS AYALA TAPIA           URB PUERTAS DEL SOL                           A‐I CALLE SOL                                                                     FAJARDO             PR         00738

   238379 JESUS B RODRIGUEZ QUINONES                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238380 JESUS BALCHIER HILARIO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238381 JESUS BALINES LOPEZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238382 JESUS BATIZ QUINONES                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677183 JESUS BENITEZ RIVERA                         RES LUIS LLORENS TORRES      EDIF 122 APT 2261                                                                 SAN JUAN            PR         00915
   238383 JESUS BERDECIA RODRIGUEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677263 JESUS BERRIOS OTERO                          HC 71 BOX 1786                                                                                                 NARANJITO           PR         00719
   677264 JESUS BONES NIEVES                           PANEL 21 SAN JUDAS BOX 188                                                                                     GUAYAMA             PR         00784
   238384 JESUS BONILLA LOPEZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677265 JESUS BONILLA VELEZ                          HC 1 BOX 11256                                                                                                 CAROLINA            PR         00985
   238387 JESUS BRACERO CARRERO                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677267 JESUS BRUNO ADORNO                           URB JARDINES DE MONACO       A 35 CALLE 2                                                                      MANATI              PR         00674
   238388 JESUS BURGOS TORRES                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238389 JESUS C IGLESIAS MORGES                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238390 JESUS C LEE BORGES                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238391 JESUS C QUINONEZ QUIELY                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238393 JESUS CABALLERO PEREIRA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677177 JESUS CABRERA VARGAS                         URB BUENA VISTA              105 CALLE GRANADA                                                                 CAROLINA            PR         00985
   238394 JESUS CALDERO PEREZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238396 JESUS CALDERON CASANOVA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238397 JESUS CALDERON DAVILA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677272 JESUS CALES CAMACHO                          LA RAMBLA 1725               SIERVAS DE MARIA                                                                  PONCE               PR         00730
   238398 JESUS CAMACHO MARQUEZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677274 JESUS CAMACHO VELEZ                          HC 01 BOX 2673                                                                                                 BOQUERON            PR         00622‐9701
   677275 JESUS CANCEL RUIZ                            HC 01 BOX 4780                                                                                                 QUEBRADILLAS        PR         00678
   238399 JESUS CARABALLO MORALES                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   238400 JESUS CARRASQUILLO DEL VALLE REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   238401 JESUS CARRASQUILLO MORALES REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   677276 JESUS CARRASQUILLO OSORIO                    JARDINES DE CANOVANAS        G 15 CALLE 3                                                                      CANOVANAS           PR         00729
   677184 JESUS CARRASQUILLO RAMOS                     URB VERDE MAR                143 CALLE 7                                                                       PUNTA SANTIAGO      PR         00751
   677277 JESUS CARRION RIOS                           URB JARDIN                   III CALLE CEIBA                                                                   TOA ALTA            PR         00953



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  238402 JESUS CASANOVA BOVEDA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  238403 JESUS CASIANO ORTIZ                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  238405 JESUS CASTRO GORDON                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  238406 JESUS CASTRO JORGE                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  677279 JESUS CASTRO MELENDEZ                        PO BOX 366029                                                                                                    SAN JUAN           PR         00936‐6029
  677280 JESUS CASTRO MORALES                         URB VALLES DE YABUCOA      706 CALLE JAZMINE                                                                     YABUCOA            PR         00767 0637
  677281 JESUS CASUL TRUJILLO                         PO BOX 497                                                                                                       LAS PIEDRAS        PR         00771

   238409 JESUS CHAPARRO VALLADARES                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   238410 JESUS CINTRON RIVERA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   677283 JESUS CINTRON TANON                         HC 73 BOX 5649                                                                                                   NARANJITO          PR         00719
   238411 JESUS COLLAZO MORALES                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   677284 JESUS COLON                                 PO BOX 1732                                                                                                      CAYEY              PR         00737
   677285 JESUS COLON APONTE                          PO BOX 719                                                                                                       OROCOVIS           PR         00720

   677287 JESUS CONCEPCION                            PARC NUEVA QUEBRADA SECA   P O BOX 38                                                                            FAJARDO            PR         00738

   238412 JESUS CONCEPCION SANTIAGO                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   238414 JESUS CORDOVA SANTOS                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   238416 JESUS CORRALIZA TORRES                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   677289 JESUS CORREA LOPEZ                          HC 01 BOX 4901                                                                                                   JUANA DIAZ         PR         00795
   238417 JESUS CORREA, MARIA D                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   677290 JESUS CORTES RODRIGUEZ                      P O BOX 323                                                                                                      CIALES             PR         00638
   238418 JESUS COTTO GONZALEZ                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   238419 JESUS COTTO LOZANO                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   677291 JESUS CRUZ ALICEA                           629 GREEN ST                                                                                                     CHESTER            PA         19013
   238420 JESUS CRUZ AYALA                            REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   677292 JESUS CRUZ CORREA                           P O BOX 8981                                                                                                     PONCE              PR         00731‐8981
   238421 JESUS CRUZ CRUZ                             REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   677295 JESUS CRUZ DONATO                           BDA SANDIN                 18 CALLE SATURNO                                                                      VEGA BAJA          PR         00693
   677296 JESUS CRUZ GONZALEZ                         RR 36 BOX 1345                                                                                                   SAN JUAN           PR         00926
   677297 JESUS CRUZ LOPEZ                            P O BOX 1067                                                                                                     GUAYNABO           PR         00970
   238422 JESUS CRUZ MASSAS                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   677298 JESUS CRUZ RIOS                             PO BOX 7126                                                                                                      PONCE              PR         00732
   238423 JESUS CRUZ SANCHEZ                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   238424 JESUS CRUZ SOTO                             REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   677301 JESUS CRUZ VAZQUEZ                          HC 01 BOX 6210                                                                                                   GUAYNABO           PR         00971
   238426 JESUS CUSTODIO GONZALEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   238427 JESUS D BORGES QUINONES                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   677302 JESUS D FONTANES NIEVES                     PO BOX 190275                                                                                                    SAN JUAN           PR         00919

   677303 JESUS D IRIZARRY ALVARADO                   BO BUENA VISTA             106 RAMON ROQUE VALENTIN                                                              MAYAGUEZ           PR         00680
   677304 JESUS D LEON                                BRISAS DE MARAVILLA        C 8 CALLE BELLA VISTA                                                                 MERCEDITA          PR         00715
   238428 JESUS D MUNOZ                               REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   238429 JESUS D OLIVENCIA MARTINEZ                  REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   238430 JESUS D OLIVO CORTES                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   238432 JESUS D PAGAN LAJARA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   677305 JESUS D PASTRANA MARTINEZ                   RR 6 BOX 10982                                                                                                   SAN JUAN           PR         00926
   238433 JESUS D PENA OTERO                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JESUS D PORQUIN Y YUNI A
   238434 GONZALEZ                                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   238435 JESUS D REYES MELENDEZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  677306 JESUS D ROSELLO LLANOS                       PARC HILL BROTHERS    439 CALLE 39                                                                        SAN JUAN            PR         00924
  238436 JESUS D TORRES GONZALEZ                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238437 JESUS D VAZQUEZ RIVERA                       REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JESUS DANILO RIVERA/ WPS
  238438 DISTRIBUTORS IN                              REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   238439 JESUS DAVID VASALLO ANADON REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   677309 JESUS DE JESUS CONTRUCTION                  HC 3 BOX 12207                                                                                            YABUCOA             PR         00767
   238440 JESUS DE LA TORRE FRANQUI                   REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238441 JESUS DE LEON ROSARIO                       REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677311 JESUS DE LEON TRICOCHE                      PO BOX 7126                                                                                               PONCE               PR         00732

   677186 JESUS DEL C RIVERA RODRIGUEZ PO BOX 1304                                                                                                              MANATI              PR         00674
   677185 JESUS DEL VALLE              PO BOX 30756                                                                                                             SAN JUAN            PR         00929
                                       URB SAN JOSE CALLE DUARTE
   677312 JESUS DEL VALLE CRUZ         NUM 59                                                                                                                   MAYAGUEZ            PR         00680
   677313 JESUS DELGADO DE JESUS       HC 21 BOX 7788                                                                                                           JUNCOS              PR         00777
   677314 JESUS DELGADO RODRIGUEZ      PO BOX 21951 UPR STATION                                                                                                 SAN JUAN            PR         00931
   677315 JESUS DELGADO VELEZ          BRISAS DEL PRADO                     2262 CALLE JILGUERO                                                                 SANTA ISABEL        PR         00757
   677316 JESUS DENIZARD PEREZ         URB GUANAJIBO GARDENS                109 CALLE NENE COLE                                                                 MAYAGUEZ            PR         00682‐1385
          JESUS DIAZ / DBA/ JR
   238442 ENTERTAIMENT GROUP           AVE ROBERTO CLEMENTE                 D 9 VILLA CAROLINA                                                                  CAROLINA            PR         00985
   677317 JESUS DIAZ FEBRES            URB LOMAS DE CAROLINA                K 3 CALLE CERRO APONTE                                                              CAROLINA            PR         00986
   677318 JESUS DIAZ GOMEZ             COM RAMAL                            302 CALLE RAMAL                                                                     ISABELA             PR         00662
   677319 JESUS DIAZ HERNANDEZ         EXT COLINAS VERDES                   D3 CALLE 2                                                                          SAN JUAN            PR         00924‐5319
   677187 JESUS DIAZ MONTA¥EZ          PO BOX 425                                                                                                               PATILLAS            PR         00723
   238443 JESUS DIAZ MORALES           REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238444 JESUS DIAZ MUNIZ             REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677320 JESUS DIAZ RODRIGUEZ         PO BOX 616                                                                                                               JUNCOS              PR         00777
   238445 JESUS DOMINGUEZ APONTE       REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JESUS DOMINGUEZ
   677321 MALDONADO                    P O BOX 7302                                                                                                             CAGUAS              PR         00726
   238446 JESUS DURAN ROSARIO          REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677323 JESUS E ALICEA SEPULVEDA     PO BOX 2512                                                                                                              SAN GERMAN          PR         00683
   677325 JESUS E AYALA MARRERO        HC 2 BOX 8693                                                                                                            YABUCOA             PR         00767
   238447 JESUS E CALDERON CRUZ        REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677326 JESUS E CORSI RAMIREZ        HC 4 BOX 4597                                                                                                            HUMACAO             PR         00791
   238448 JESUS E CRUZ                 REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677327 JESUS E CRUZ NEGRON          P O BOX 9021112                                                                                                          SAN JUAN            PR         00902‐1112

   238449 JESUS E ECHEVARRIA FIGUEROA REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JESUS E FONTANEZ DBA JF
   238450 ELECTRONIC                  SYSTEM                                PO BOX 11152                                                                        SAN JUAN            PR         00922
   238451 JESUS E GONZALEZ ALLEN      REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238452 JESUS E GUEITS PEREIRA      REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677329 JESUS E IRIZARRY GONZALEZ   EST DEL GOLF CLUB                     449 CALLE HNOS SCHMIDT                                                              PONCE               PR         00730
          JESUS E LUGO MALAVE/CARMEN
   238453 MALAVE                      REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677331 JESUS E MARTINEZ MELENDEZ   URB BERWIND ESTATES                   P 34 CALLE 15A                                                                      SAN JUAN            PR         00924
   677332 JESUS E MARTINEZ ROJAS      PO BOX 1592                                                                                                               LAJAS               PR         00667‐1592
   238454 JESUS E MEDERO OSORIO       REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238455 JESUS E MENA ROMERO         REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  238456 JESUS E NEGRON GONZALEZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  238457 JESUS E ORTIZ RIVERA                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  677334 JESUS E ORTIZ SANTANA                         URB VILLA TURABO           K 7 CALLE CIPRES                                                                  CAGUAS               PR         00725
  238458 JESUS E PALLENS GONZALEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  677335 JESUS E PEREZ SANCHEZ                         PO BOX 303                                                                                                   VEGA BAJA            PR         00696
  677336 JESUS E PONCE HERNANDEZ                       P O BOX 392                                                                                                  MOCA                 PR         00676
  238459 JESUS E PRUNA DE JESUS                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  677337 JESUS E RIVERA SOSTRE                         F 8 C/ 10 SANS SOUCI                                                                                         BAYAMON              PR         00957
  677338 JESUS E RIVERA VILLANUEVA                     URB MIRAFLORES             50 N 8 CALLE 53                                                                   BAYAMON              PR         00957
  677339 JESUS E RODRIGUEZ KISSELL                     PO BOX 174                                                                                                   JAYUYA               PR         00664

   238460 JESUS E RODRIGUEZ PICHARDO                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   677340 JESUS E ROLON REYES                          PO BOX 6070                                                                                                  BAYAMON              PR         00960‐7061
   238462 JESUS E SANTIAGO                             REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   238463 JESUS E SIERRA GARCIA                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   238465 JESUS E TORRES ROSARIO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   677343 JESUS E VARGAS LUCENA                        HC 1 BOX 7030                                                                                                CABO ROJO            PR         00623
   238466 JESUS E VEGA RIVERA                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JESUS E. FONTANEZ DBA JF
   238467 ELECTRONIC SYST                              P. O. BOX 11152                                                                                              SAN JUAN             PR         00922‐0000
   238468 JESUS E. QUINONES                            REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   677344 JESUS E. VELEZ AGUAYO                        HC 1                                                                                                         SABANA HOYOS         PR         00688
   238469 JESUS E. VELEZ PEREZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JESUS ECHEVARRIA / INTEC
   238470 SOLAR DE PR                                  COLINAS DE CUPEY           AE 11 CALLE 6                                                                     SAN JUAN             PR         00926‐7548
   238471 JESUS ECHEVARRIA MARTINEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JESUS EMMANUEL GONZALEZ
   677346 MORALES                                      BUENA VISTA                CALLE 93A                                                                         CAROLINA             PR         00985
          JESUS EMMANUEL RODRIGUEZ
   238472 RAMIREZ                                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JESUS EMMANUEL ROSARIO
   238473 RODRIGUEZ                                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JESUS EUSEBIO GONZALEZ
   677348 OTERO                                        PO BOX 21307                                                                                                 SAN JUAN             PR         00928‐1307
   677349 JESUS F CRESPO RAMOS                         HC 05 BOX 25309                                                                                              CAMUY                PR         00627
   677350 JESUS F CRUZ ROMAN                           HATO TEJAS                 3 LOS VIEJITOS                                                                    BAYAMON              PR         00959
   238475 JESUS F FELIPE RUSSE CACHO                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   677351 JESUS F GONZALEZ GONZALEZ                    JUNCAL CONTRACT STATION    APT 2784                                                                          SAN SEBASTIAN        PR         00685
   238476 JESUS F IGLESIAS GARCIA                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   677352 JESUS F LEBRON COLLAZO                       PO BOX 1108                                                                                                  PATILLAS             PR         00723

   238477 JESUS F MALDONADO NAVEDO                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   238478 JESUS F QUINONEZ SANTIAGO                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   238482 JESUS F ROSADO MATOS                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   677353 JESUS F SANTA RODRIGUEZ                      307 URB MANSIONES DE BAIROA                                                                                  CAGUAS               PR         00725
   677354 JESUS F. ARROYO VAZQUEZ                      URB ALTAMESA 1651           C COND SANTA ANA                                                                 SAN JUAN             PR         00927
   677355 JESUS F. QUINONEZ                            URB COSTA SUR               FF CALLE 11                                                                      YAUCO                PR         00968
   677356 JESUS FALCON BERMUDEZ                        EL CORTIJO                  FF 8 CALLE 9                                                                     BAYAMON              PR         00956
   238483 JESUS FALCON FALCON                          REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   677188 JESUS FALCON NIEVES                          URB EL CORTIJO              FF8 CALLE 9                                                                      BAYAMON              PR         00956‐5637
   238484 JESUS FELICIANO CARRERO                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   238485 JESUS FELICIANO CRUZ                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  677357 JESUS FELICIANO MOYA                         HC 04 BOX 42104                                                                                                    HATILLO             PR           00659
  677358 JESUS FELICIANO ROBLES                       BOX 83                                                                                                             TOA BAJA            PR           00951
  677359 JESUS FELICIANO VALLE                        PO BOX 775                                                                                                         AGUADA              PR           00602
         JESUS FERNANDEZ
  238487 CARRASQUILLO                                 REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  677360 JESUS FERNANDEZ REILLO                       BO CIENAGA                  HC 01 BOX 3021                                                                         CAMUY               PR           00627
  677361 JESUS FIGUEROA CABRERA                       HC 02 BOX 5706                                                                                                     COMERIO             PR           00782

   677189 JESUS FIGUEROA CARRASQUILLO PO BOX 2020                                                                                                                        JUNCOS              PR           00777‐2020
   238489 JESUS FIGUEROA CORREA       REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677363 JESUS FIGUEROA GONZALEZ     VILLAS DE LOIZA                             AT 6 CALLE 21                                                                          CANOVANAS           PR           00729
   238490 JESUS FIGUEROA QUILES       REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238491 JESUS FIGUEROA RODRIGUEZ    REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677364 JESUS FLORES CAEZ           PO BOX 9021112                                                                                                                     SAN JUAN            PR           00902‐1112
   677365 JESUS FLORES CONCEPCION     HC 2 BOX 3449                                                                                                                      QUEBRADILLAS        PR           00678
   677366 JESUS FONTANEZ HUERTAS      BO GUADIANA                                 BOX 5136 HC 73                                                                         NARANJITO           PR           00719‐9612
   677367 JESUS FONTANEZ LOPEZ        VISTA ALEGRE                                87 CALLE DELICIAS                                                                      BAYAMON             PR           00959

   238493 JESUS FRANCISCO ORTIZ COSME REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238494 JESUS FRANCO ROMERO         REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   677369 JESUS FRATICELI ARROYO                      BO PALMITA PLAYA DE PONCE   8 CALLE 3                                                                              PONCE               PR           00716
   238496 JESUS G BURGOS MEJIAS                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238497 JESUS G CASTILLO ORTIZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   238499 JESUS G DELGADO RODRIGUEZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238500 JESUS G FIGUEROA LOPEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238501 JESUS G GUERRIDO RIVERA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                      CALLE AMPOLA T 8 LOMAS
   677371 JESUS G HERMIDA                             VERDES                                                                                                             BAYAMON             PR           00956
   238502 JESUS G MORA FELICIANO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238503 JESUS G PEREZ SOTO                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238504 JESUS G RODRIGUEZ PAGAN                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677372 JESUS G ROSADO VAZQUEZ                      PO BOX 846                                                                                                         SABANA GRANDE       PR           00637

   677373 JESUS G SANTIAGO RODRIGUEZ                  PO BOX 51807                                                                                                       TOA BAJA            PR           00950‐1807
   238505 JESUS G SILVA OTERO                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238506 JESUS G TORRES PEREZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677374 JESUS G VELEZ OCASIO                        URB STA TERESITA            AD 5 CALLE 6                                                                           PONCE               PR           00730
   238507 JESUS G. ORTIZ RIVERA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238508 JESUS GARAY RIVERA                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238509 JESUS GARCIA DURAN                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238512 JESUS GARCIA HERNANDEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238513 JESUS GARCIA MINALLA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238514 JESUS GARCIA PEREZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677377 JESUS GARCIA ROSARIO                        PO BOX 1995                                                                                                        VEGA BAJA           PR           00694
   238517 JESUS GARCIA VELEZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677378 JESUS GOMEZ LOPEZ                           URB CAGUAX                  G 28 CALLE BATEY                                                                       CAGUAS              PR           00725
   677379 JESUS GOMEZ MALAVE                          HC 20 BOX 21702                                                                                                    SAN LORENZO         PR           00754‐9607
   677381 JESUS GOMEZ TORRES                          HC 763 BOX 3383                                                                                                    PATILLAS            PR           00723

   677382 JESUS GONZALEZ                              2DA EXT COUNTRY CLUB        1014 CALLE CARMEN BUZELLO                                                              SAN JUAN            PR           00924
   677383 JESUS GONZALEZ ACEVEDO                      HC 3 BOX 292426                                                                                                    AGUADA              PR           00602 9740



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  677384 JESUS GONZALEZ CARABALLO                      HC 1 BOX 7911                                                                                                     YAUCO               PR           00698
         JESUS GONZALEZ DIAZ / JESUS
  677385 GONZALEZ                                      4TA SECCION LEVITOTOWN        AJ 2 CALLE MAGALY                                                                   TOA BAJA            PR           00949
  238520 JESUS GONZALEZ GALARZA                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  238521 JESUS GONZALEZ GONZALEZ                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  238523 JESUS GONZALEZ GUZMAN                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  677388 JESUS GONZALEZ MEDINA                         HC 1 BOX 5685                                                                                                     YABUCOA             PR           00767‐9610
  238525 JESUS GONZALEZ RAMOS                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  238526 JESUS GONZALEZ RIVERA                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  238527 JESUS GONZALEZ RODRIGUEZ                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  238528 JESUS GONZALEZ RUIZ                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  677391 JESUS GONZALEZ YAMBO                          HC 2 BOX 6159                                                                                                     UTUADO              PR           00641

   238530 JESUS GUADALUPE RODRIGUEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677392 JESUS GUERRA                                 URB RIVER GARDENS             250 CALLE FLOR DE TANA                                                              CANOVANAS           PR           00729
   238531 JESUS GUERRERO FRANQUI                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677393 JESUS GUZMAN GUADALUPE                       URB EL VIVERO                 C 21 CALLE 6                                                                        GURABO              PR           00778
   677394 JESUS GUZMAN LOPEZ                           PO BOX 221                                                                                                        SAINT JUST          PR           00978
   677395 JESUS GUZMAN NIEVES                          PO BOX 1392                                                                                                       AGUAS BUENAS        PR           00703
   677396 JESUS H GONZALEZ DE JESUS                    SANTA JUANITA                 WR 5 CALLE ELMINA                                                                   BAYAMON             PR           00956
   238532 JESUS H MORALES SOTO                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677397 JESUS HARRIZON                               HC 5 BOX 27590                                                                                                    CAMUY               PR           00627
   677398 JESUS HERBON PARADELA                        1966 AVE MC LEARY                                                                                                 SAN JUAN            PR           00911
   238533 JESUS HERNANDEZ                              REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238535 JESUS HERNANDEZ ARROYO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677399 JESUS HERNANDEZ BONILLA                      HC 1 BOX 6732                                                                                                     LAS PIEDRAS         PR           00771
   677400 JESUS HERNANDEZ DE JESUS                     URB ANAIDA                    B 15 CALLE 2                                                                        PONCE               PR           00716
   238536 JESUS HERNANDEZ MATOS                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677190 JESUS HERNANDEZ MERCADO                      PO BOX 787                                                                                                        SABANA HOYOS        PR           00688

   238516 JESUS HERNANDEZ RODRIGUEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238538 JESUS HERNANDEZ SANCHEZ                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238539 JESUS HERNANDEZ VARGAS                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   677402 JESUS HORNEDO GOMEZ                          CALLE H 3 C‐11 URB FLABOYAN                                                                                       MANATI              PR           00674
   677191 JESUS I GARCIA ROMERO                        URB JARDINES DE PONCE         G 1 CALLE E                                                                         PONCE               PR           00731
   677404 JESUS I PEREZ GONZALEZ                       HC 3 BOX 9762                                                                                                     LARES               PR           00669
   238542 JESUS I URBINA MARTINEZ                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677405 JESUS IRIZARRY MORA                          HC 2 27032                                                                                                        MAYAGUEZ            PR           00680
          JESUS IRIZARRY/ ALEXANDER
   238544 IRIZARRY                                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238545 JESUS J ALBINO DE JESUS                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677407 JESUS J ARROYO CRUZ                          RR 3 BOX 10562                                                                                                    TOA ALTA            PR           00953
   677409 JESUS J ERAZO RAMIREZ                        RES BRISAS DE BAYAMON         EDIF 1 APT 6                                                                        BAYAMON             PR           00961
   238547 JESUS J FLORES CASIANO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677410 JESUS J FORT MARTINEZ                        URB MU¥OZ RIVERA              36 CALLE TROPICAL                                                                   GUAYNABO            PR           00969
   238548 JESUS J GONZALEZ GAGOT                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238549 JESUS J GONZALEZ RIVERA                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JESUS J JORGE CORIANO DBA
   238550 MARIELITA                                    PO BOX 145                                                                                                        LAS MARIAS          PR           00670
                                                       URB JARDINES DE COUNTRY
   677192 JESUS J MENA MARTINEZ                        CLUB                          B‐U 34 CALLE 126                                                                    CAROLINA            PR           00983
   677411 JESUS J MOJICA                               RIO LAJAS                     PARC 54 D CALLE 9                                                                   DORADO              PR           00646



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  238551 JESUS J MORALES VEGA                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238552 JESUS J MUNOZ                                 REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238553 JESUS J RIVERA MARTINEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238554 JESUS J RODRIGUEZ RUIZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238555 JESUS J ROSA NAVARRO                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238557 JESUS J ROSARIO GONZALEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238559 JESUS J SAAD NAZER                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  677412 JESUS J SANCHEZ RODRIGUEZ                     URB MOUNTAIN VIEW            K 8 CALLE 6                                                                       CAROLINA            PR         00987
         JESUS J. JORGE CORIANO DBA
 1256594 MARIOLITA LANDSCAPING                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238560 JESUS J. SANTIAGO COSME                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JESUS JAVIER HERNANDEZ
  677413 CORDERO                                       HC 01 BOX 5639                                                                                                 MOCA                PR         00676
  238561 Jesus Jimenez Cruz                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  677414 JESUS JIMENEZ JIMENEZ                         PO BOX 8909                                                                                                    SAN JUAN            PR         00910
  238562 JESUS JIMENEZ MENDEZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  677417 JESUS JIMENEZ VARGAS                          HC 01 BOX 4190                                                                                                 UTUADO              PR         00641
  238563 JESUS JOETH MOJICA MOLINA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   238564 JESUS JUAN CINTRON PIZARRO                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238565 JESUS JUAN FELICIANO                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677419 JESUS L BARRETO ROHENA                       BO BUENA VISTA               201 CALLE GRANADA                                                                 CAROLINA            PR         00985
   677420 JESUS L CACERES GONZALEZ                     URB EL PALMAR A              30 BOX 60                                                                         ARROYO              PR         00714
   238566 JESUS L CRESPO MEDINA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677421 JESUS L DROZ GUTIERREZ                       BO MANZANILLA                CARR 508 KM 2 4 INT                                                               JUANA DIAZ          PR         00795

   238567 JESUS L PEDROSO FERNANDEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677422 JESUS L PEREZ RAMIREZ                        P O BOX 425                  GUZMAN ABAJO                                                                      RIO GRANDE          PR         00745
   677423 JESUS L ROSA RIVERA                          HC 01 BOX 3092                                                                                                 MAUNABO             PR         00707
   677424 JESUS LAFITA AYARDE                          CAPARRA TERRACE              839 CALLE 13 SO                                                                   SAN JUAN            PR         00921
   677425 JESUS LASAGA BELATEGUI                       URB BORINQUEN GARDENS        CC 23 CALLE GARDENIA                                                              SAN JUAN            PR         00910‐0726
   238568 JESUS LAUREANO JULIA                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677426 JESUS LAZU VAZQUEZ                           HC 1 BOX 6149                                                                                                  LAS PIEDRAS         PR         00771
   677427 JESUS LEON CARTAGENA                         P O BOX 9744                                                                                                   CAGUAS              PR         00726
   677429 JESUS LEON GUZMAN                            PO BOX 7126                                                                                                    PONCE               PR         00732
   238570 JESUS LOPEZ BERRIOS                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                       BO ARENAS SECTOR SANTA
   677431 JESUS LOPEZ DIAZ                             CLARA                        P O BOX 239                                                                       CIDRA               PR         00739
   238572 JESUS LOPEZ DOMENECH                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677433 JESUS LOPEZ HERNANDEZ                        P O BOX 136                                                                                                    VILLALBA            PR         00766
   677193 JESUS LOPEZ NIEVES                           PO.BOX 21365                                                                                                   SAN JUAN            PR         00928‐1365
          JESUS LOPEZ PACHECO &
   677435 ELIZABETH TEXIDOR                            URB LOS CAOBOS               1547 CALLE GROSELLA                                                               PONCE               PR         00716
   238573 JESUS LOPEZ PEREZ                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677436 JESUS LOPEZ PINTADO                          PO BOX 155                                                                                                     COMERIO             PR         00782
   238574 JESUS LOPEZ RIVERA                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                       URB.VILLAS DEL CARMEN J‐10
   677440 JESUS LUGO CARABALLO                         CALLE9                                                                                                         GURABO              PR         00778
   238576 JESUS LUGO VEGA                              REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238577 JESUS LUGO VELEZ                             REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238578 JESUS LUGO/ YARILIS JIMENEZ                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238579 JESUS LUNA SERRANO                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238580 JESUS M ABREU RIVERA                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  238581 JESUS M ACEVEDO RAMIREZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238582 JESUS M ACOSTA SANCHEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  677442 JESUS M ADAMES TORRES                        BOX 453                                                                                                           UTUADO              PR         00611
  238583 JESUS M AGOSTO CUEVAS                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  677443 JESUS M ALBERT                               P O BOX 629                                                                                                       CULEBRA             PR         00775
  238584 JESUS M ALCARAZ SUYAS                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238585 JESUS M ALERS RODRIGUEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   677445 JESUS M ALICEA SANCHEZ                      COND JARDINES SAN FRANDISCO EDIF 1 APT 613                                                                        SAN JUAN            PR         00927
   238586 JESUS M ALTIERI RODRIGUEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677447 JESUS M ALVAREZ OTERO                       URB ROOSEVELT               390 CALLE ACOSTA                                                                      SAN JUAN            PR         00928
   238587 JESUS M ALVAREZ RIVERA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238588 JESUS M ALVAREZ ZALACAIN                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238589 JESUS M ARZUAGA PINEIRO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238590 JESUS M AULI GONZALEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677448 JESUS M AYALA MELENDEZ                      URB CAGUAX                  L 38 CALLE JURACAN                                                                    CAGUAS              PR         00725
   677449 JESUS M AYALA RIVERA                        P O BOX 3147                                                                                                      VEGA ALTA           PR         00692‐3147
   238591 JESUS M AYUSO ORTIZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677450 JESUS M AYUSO ROSARIO                       URB LOMA DE CAROLINA        J 18 C CALLE CERRO                                                                    CAROLINA            PR         00985
   238592 JESUS M BAERGA RIVERA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677451 JESUS M BAUZO GONZALEZ                      PQUE MONTEBELLO             A 20 CALLE 1                                                                          TRUJILLO ALTO       PR         00976
   238594 JESUS M BERMUDEZ ROSADO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238595 JESUS M BERRIOS VAZQUEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   238596 JESUS M BETANCOURT CASTRO                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JESUS M BETANCOURT
   677453 GUERRERO                                    URB CIUDAD CENTRAL II       915 CALLE JOSE CALVO                                                                  CAROLINA            PR         00987
   677454 JESUS M BETANCOURT SOTO                     RR 2 BOX 449                                                                                                      SAN JUAN            PR         00926
   238597 JESUS M BONILLA RIVERA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677455 JESUS M BOSQUE OLIVAN                       EDIF DARLINGTON STE 500     1007 AVE MUNOZ RIVERA                                                                 SAN JUAN            PR         00925‐2718
   677194 JESUS M BOSQUEZ AVILES                      URB VILLA CAPRI 1162        CALLE VENUS                                                                           SAN JUAN            PR         00924
   677456 JESUS M BURGOS DE JESUS                     BO MESAS                    HC 5 BOX 61387                                                                        CAGUAS              PR         00725
   238599 JESUS M BURGOS MONTANEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677457 JESUS M CABEZA RODRIGUEZ                    URB BAIROA                  AM 14 CALLE 13                                                                        CAGUAS              PR         00725
   238600 JESUS M CADIZ VAZQUEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JESUS M CAMACHO H/N/C MAX
   677458 PRO                                         PO BOX 194574                                                                                                     SAN JUAN            PR         00919
   238601 JESUS M CANALES PARRILLA                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677460 JESUS M CARABALLO ZAYAS                     LAGO GARZAS                 HC 01 BOX 5075                                                                        ADJUNTAS            PR         00601
   677462 JESUS M CARMONA RIVERA                      BO INGENIO VILLA CALMA      P 414 CALLE BUENOS AIRES                                                              TOA BAJA            PR         00949
   677463 JESUS M CARRASQUILLO                        BOX 37629                                                                                                         SAN JUAN            PR         00937‐0629
   238602 JESUS M CARRERAS                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677464 JESUS M CASTILLO COLON                      APT 728                                                                                                           VILLALBA            PR         00766
   238603 JESUS M CASTRO MARTINEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677466 JESUS M CEPEDA BRENES                       3RA EXT VILLA CAROLINA      62 CALLE 47                                                                           CAROLINA            PR         00985

   677467 JESUS M CHAPARRO MORALES                    HC‐2 BOX 18452                                                                                                    SAN SEBASTIAN       PR         00685‐9623
   238604 JESUS M CINTRON RIVERA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677195 JESUS M CINTRON SERRANO                     PO BOX 50131                                                                                                      TOA BAJA            PR         00750
   677468 JESUS M CLAUDIO LUGO                        PO BOX 723                                                                                                        GUANICA             PR         00653
   238605 JESUS M COLLAZO RENTAS                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238607 JESUS M COLON                               REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677469 JESUS M COLON RAMIREZ                       COND MONTE BELLO            17 CALLE 1 APT 534                                                                    TRUJILLO ALTO       PR         00976



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          JESUS M CONCEPCION
   677472 RODRIGUEZ                                   LITHEDA HEIGHTS         554 C/ JUAN R JIMENEZ                                                                SAN JUAN            PR           00926
   238608 JESUS M CORA RODRIGUEZ                      REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   238609 JESUS M CORDERO GONZALEZ                    REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677473 JESUS M CORDERO PABON                       URB VALLE SAN LUIS      158 VIA DEL ROCIO                                                                    CAGUAS              PR           00725
   238611 JESUS M COSME GOITIA                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JESUS M CRUZ‐ CARMEN M
   238612 GONZALEZ (TUTORA)                           REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238614 JESUS M CRUZ NEGRON                         REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238615 JESUS M CRUZ VERA                           REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JESUS M CUADRADO Y JESSENIA
   238616 M SANCHEZ                                   REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238617 JESUS M CUBI SANTIAGO                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238618 JESUS M DAVILA ALLENDE                      REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677476 JESUS M DAVILA REYES                        MONACO I                G 2 CALLE DIAZ SOLER                                                                 MANATI              PR           00674
   677477 JESUS M DE JESUS                            HC 44 BOX 13556                                                                                              CAYEY               PR           00736
   238619 JESUS M DE JESUS RIVERA                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238620 JESUS M DE JESUS SANTIAGO                   REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238621 JESUS M DE LEON DIAZ                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JESUS M DEL RINCON
   238623 TORREALBA                                   REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238624 JESUS M DEL VALLE                           REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238625 JESUS M DEL VALLE MATOS                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   677479 JESUS M DELGADO HERNANDEZ                   BRISAS DEL MAR          HH 20 CALLE 3                                                                        LUQUILLO            PR           00773
   238626 JESUS M DELGADO ORTA                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677480 JESUS M DELGADO PEREZ                       RES EL FLAMBOYAN        581 CALLE DOMINICA        APT 116                                                    SAN JUAN            PR           00924‐1834
   677481 JESUS M DELGADO SERANO                      1457 CALLE LAS PALMAS                                                                                        SAN JUAN            PR           00909‐2636
   238627 JESUS M DIAZ                                REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677482 JESUS M DIAZ ACEVEDO                        257 CALLE SAN JOSE                                                                                           AGUADA              PR           00602
   238628 JESUS M DIAZ DIAZ                           REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677484 JESUS M DIAZ MORALES                        URB METR0POLIS          2C 37 AVE C                                                                          CAROLINA            PR           00987
   677485 JESUS M DIAZ RAMOS                          REPARTO METROPOLITANO   1020 APTO 3 CALLE 26 SE                                                              SAN JUAN            PR           00921
   677486 JESUS M DIAZ RIVERA                         P O BOX 194645                                                                                               SAN JUAN            PR           00919‐4645
   238629 JESUS M DIAZ SANTIAGO                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238630 JESUS M DOMENECH CABAN                      REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238631 JESUS M DOMINGUEZ RIVERA                    REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238632 JESUS M DONES SANDOVAL                      REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238633 JESUS M ESPINOSA MORALES                    REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238634 JESUS M FALU MARQUEZ                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677487 JESUS M FELICIANO ROSADO                    URB SAN ANTONIO         H4 AVE A                                                                             PONCE               PR           00731

   677488 JESUS M FERNANDEZ SANCHEZ                   URB LOMAS VERDES        2 D 22 CALLE NOGAL                                                                   BAYAMON             PR           00956
   677489 JESUS M FERRER MEDINA                       PUEBLO                  8 CALLE 2                                                                            RIO GRANDE          PR           00745

   238635 JESUS M FIGUEROA QUINONES                   REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238636 JESUS M FIGUEROA TORRES                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238639 JESUS M GALICIA                             REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238640 JESUS M GALVEZ ORTIZ                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   677492 JESUS M GARCIA CARRASQUILLO URB VILLA PALMERAS                      310 CALLE DEL VALLE                                                                  SAN JUAN            PR           00912
   677196 JESUS M GARCIA DEL VALLE    HC 71 BOX 3686                                                                                                               NARANJITO           PR           00719



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  677493 JESUS M GARCIA DIAZ                          261 AVE DE DIEGO                                                                                              SAN JUAN              PR         00920
  677494 JESUS M GARCIA ORTIZ                         HC 01 BOX 3045                                                                                                VILLALBA              PR         00766 9701
  238641 JESUS M GOMEZ SANTIAGO                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  677496 JESUS M GOMEZ TORRES                         PO BOX 9021112                                                                                                SAN JUAN              PR         00902‐1112
  238642 JESUS M GONZALEZ                             REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   238643 JESUS M GONZALEZ ALBALADEJO REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   238644 JESUS M GONZALEZ DE LEON    REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   238645 JESUS M GONZALEZ MEDINA     REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   238646 JESUS M GUZMAN DE LEON      REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
                                      URB ROCAS DEL MAR DISTRITO
   677498 JESUS M HENRIQUEZ JAQUEZ    NACIONAL                                   75 CALLE EL CORAL                                                                                                                DOMINCAN REPUBLIC
   677499 JESUS M HERNANDEZ DIAZ      VILLA NUEVA                                APT E 6 BZ 32                                                                      CAGUAS                PR         00725

   238648 JESUS M HERNANDEZ GONZALEZ REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   677501 JESUS M HERNANDEZ MANZANO BAHIA VISTAMAR                               1427 CALLE BARRACUDA                                                               CAROLINA              PR         00983

   677502 JESUS M HERNANDEZ SANTANA                   VILLA CAROLINA             15‐4 CALLE 24                                                                      CAROLINA              PR         00985
   238651 JESUS M HIRALDO CANCEL                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   677503 JESUS M HUERTAS DIAZ                        BO LOS POLLAOS             CALLE 2 APT 111                                                                    PATILLAS              PR         00723
   677504 JESUS M IRIZARRY GUTIERREZ                  URB CAROLINA ALTA          F 15 CALLE SANCHEZ                                                                 CAROLINA              PR         00987
   238654 JESUS M ISAAC SERRANO                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   238655 JESUS M JIMENEZ GARCIA                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   238656 JESUS M JIMENEZ TORRES                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   238657 JESUS M JORGE CRUZ                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   238658 JESUS M LAO RIVERA                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   677505 JESUS M LEON VILLEGAS                       RR 03 BOX 3622                                                                                                SAN JUAN              PR         00926
   238660 JESUS M LOPEZ GINES                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   677506 JESUS M LOPEZ PUJOLS                        N 20 ESTANCIAS DEL ROCIO                                                                                      LAS PIEDRAS           PR         00771
                                                                                 CARR 103 KM SECTOR LA
   677507 JESUS M LOPEZ ROBLES                        REPT SOUCHET               PLANADA                                                                            CABO ROJO             PR         00623
   238661 JESUS M LOPEZ RODRIGUEZ                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   238662 JESUS M LUNA BENITEZ                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   238663 JESUS M MADERA TORRES                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
          JESUS M MALDONADO
   677508 ENCARNACION                                 COUNTRY CLUB               922 CLALE NEBLIN                                                                   CAROLINA              PR         00924
          JESUS M MALDONADO
   677509 FIGUEROA                                    CALLE 8 NUM. 80D                                                                                              SAINT JUST            PR         00976
          JESUS M MALDONADO
   677510 PANTOJAS                                    SAINT JUST                 80 D CALLE 8                                                                       TRUJILLO ALTO         PR         00976
   238664 JESUS M MALDONADO PEREZ                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
          JESUS M MALDONADO
   238665 RODRIGUEZ                                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   238666 JESUS M MALDONADO ROLON                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
          JESUS M MALDONADO
   238667 SANTIAGO                                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   238668 JESUS M MANGUAL DE JESUS                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   677512 JESUS M MANGUAL MARCUCCI                    HC 1 BOX 5663                                                                                                 JUANA DIAZ            PR         00795‐9720
   238669 JESUS M MANTILLA GAVILLAN                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   677513 JESUS M MARIN                               PO BOX 361605                                                                                                 SAN JUAN              PR         00936‐1605



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   238670 JESUS M MARQUEZ CANTIZANIZ                  REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   238671 JESUS M MARQUEZ DE JESUS                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
          JESUS M MARQUEZ Y AIDA L.
   238672 RODRIGUEZ                                   REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   238673 JESUS M MARTINEZ DE JESUS                   REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   677520 JESUS M MARTINEZ FUENTES                    BO RIO LAGAS           101 D CALLE 2                                                                        DORADO               PR         00646

   677521 JESUS M MARTINEZ HERNANDEZ PO BOX 888                                                                                                                   OROCOVIS             PR         00720
   238674 JESUS M MARTINEZ RIVERA    REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   677516 JESUS M MARTINEZ ROMAN     HC 80 BOX 9358                                                                                                               DORADO               PR         00646
   238675 JESUS M MATOS TILLERO      REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   238676 JESUS M MEDERO GIERBOLINI  REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   677522 JESUS M MEDINA DIAZ        JARD DE BARCELONA                       G 6 CALLE 9                                                                          JUNCOS               PR         00777‐3714
   238677 JESUS M MELENDEZ HALL      REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   677524 JESUS M MENDEZ LESPIER     COM AGUILITA                            315 CALLE 14                                                                         JUANA DIAZ           PR         00795
   677525 JESUS M MENDOZA TORRES     HC 4 BOX 6425                                                                                                                YABUCOA              PR         00767
          JESUS M MENENDEZ
   238678 MALDONADO                  REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   238679 JESUS M MERCADO GONZALEZ                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   677526 JESUS M MOLANO CARDENA                      URB VALENCIA           360 CALLE LERIDA                                                                     SAN JUAN             PR         00923
   238680 JESUS M MOLINA MARTINEZ                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   677527 JESUS M MOLINA VELAZQUEZ                    P O BOX 190024                                                                                              SAN JUAN             PR         00919‐0024
   238681 JESUS M MONTALVO PEREZ                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   677197 JESUS M MORALES DIAZ                        HC 4 BOX 6777                                                                                               YABUCOA              PR         00767‐9508
   238682 JESUS M MORALES IRIZARRY                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   677528 JESUS M MORALES ORTIZ                       HC 3 BOX 124 34                                                                                             CAROLINA             PR         00985
   677529 JESUS M MORALES REILLO                      903 CALLE SAN JOSE                                                                                          QUEBRADILLAS         PR         00678
   238683 JESUS M MUNIZ SANTOS                        REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   238684 JESUS M NARVAEZ RODRIGUEZ                   REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   677530 JESUS M NEGRON GONZALEZ                     URB VILLA CAROLINA     BLOQUE 208 C/5 10                                                                    CAROLINA             PR         00985
   238686 JESUS M NIEVES DIAZ                         REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   238687 JESUS M NIEVES MERCADO                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   238688 JESUS M NIEVES SOTO                         REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   238689 JESUS M NUNEZ MILLAN                        REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   238690 JESUS M NUNEZ RODRIGUEZ                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   238691 JESUS M OJEDA CRUZ                          REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   238692 JESUS M ORTEGA DOMINGUEZ                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   238695 JESUS M ORTIZ BRUNO                         REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   238696 JESUS M ORTIZ HERNANDEZ                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   677531 JESUS M ORTIZ MOJICA                        P O BOX 236            BO HATO NUEVO                                                                        GURABO               PR         00778
   677532 JESUS M ORTIZ MONTES                        URB SANTA TERESITA     AE5 CALLE 1                                                                          PONCE                PR         00731
   238697 JESUS M ORTIZ RIVERA                        REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   238698 JESUS M ORTIZ RODRIGUEZ                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
          JESUS M OTERO /EQ BASEBALL
   677534 CAT 9‐10                                    RES LOMA ALTA          EDIF B APT 34 BOX 16234                                                              CAROLINA             PR         00987
   238699 JESUS M OZUNA BREA                          REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   677535 JESUS M PABON RODRIGUEZ                     URB LA ESPERANZA       E 8 CALLE 6                                                                          VEGA ALTA            PR         00692‐6820
   238700 JESUS M PAMIAS RAMOS                        REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   238701 JESUS M PARRILLA DREW                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED



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          JESUS M PASTRANA MEDINA Y
   238702 RAMONA CAMACHO                              REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677536 JESUS M PENA TORRES                         BO LA CUARTA 70            CALLE B                                                                           PONCE               PR           00731
   677537 JESUS M PEREZ                               LOMAS VERDES               A4 A 4 CALLE PETREA                                                               BAYAMON             PR           00956
   238703 JESUS M PEREZ DE LEON                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677538 JESUS M PEREZ FERRER                        P O BOX 1342                                                                                                 HATILLO             PR           00659
   677539 JESUS M PEREZ FIGUEROA                      HC 4 BOX 4382                                                                                                HUMACAO             PR           00791‐9449
   677540 JESUS M PEREZ GUADALUPE                     HC 80 BOX 6759                                                                                               DORADO              PR           00646
   238704 JESUS M PEREZ MARTINEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677541 JESUS M PEREZ MEDINA                        HC 3 BOX 27305                                                                                               ARECIBO             PR           00612
   238705 JESUS M PEREZ MUNIZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677542 JESUS M PEREZ RIVERA                        URB BUENA VISTA            66 CALLE MAGNOLIA                                                                 CAROLINA            PR           00985
   238708 JESUS M PEREZ VELEZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238709 JESUS M PESQUERA SANTOS                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   677198 JESUS M PINET CARRASQUILLO                  HC 40 BOX 42553                                                                                              SAN LORENZO         PR           00754
   677543 JESUS M PIZARRO SIERRA                      URB JOSE SEVERO QUINONEZ   1036 CALLE 4                                                                      CAROLINA            PR           00985
   677544 JESUS M POSTIGO SUAREZ                      HC 7 BOX 20180                                                                                               MAYAGUEZ            PR           00680‐9064
   238710 JESUS M QUINONES RIOS                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238711 JESUS M QUINONEZ                            REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238712 JESUS M QUIROZ MERCEDES                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238713 JESUS M RAMIREZ ARROYO                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238714 JESUS M RAMOS DURAN                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677547 JESUS M RAMOS FELICIANO                     HC 03 BOX 15910                                                                                              QUEBRADILLAS        PR           00678
   677548 JESUS M RAMOS GARCIA                        CIUDAD UNIVERSITARIA       W 23 CALLE 24                                                                     TRUJILLO ALTO       PR           00976
   677549 JESUS M RAMOS MARRERO                       URB STA JUANA              A 15 CALLE 4                                                                      CAGUAS              PR           00725
   238715 JESUS M RAMOS OTERO                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238716 JESUS M RAMOS PABON                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677199 JESUS M RAMOS RODRIGUEZ                     BOX 1094                                                                                                     TOA ALTA            PR           00954
   238717 JESUS M REYES MARTINEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238718 JESUS M RIBOT RUIZ                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238719 JESUS M RIOS NARVAEZ                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238720 JESUS M RIVERA                              REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677553 JESUS M RIVERA ARVELO                       URB MONTE CLARO            MQ 17 PLAZA 3                                                                     BAYAMON             PR           00961
   677554 JESUS M RIVERA DELGADO                      PO BOX 22518                                                                                                 SAN JUAN            PR           00931
   677555 JESUS M RIVERA DIAZ                         10 URB MELISSA                                                                                               PATILLAS            PR           00723
   238721 JESUS M RIVERA HERNANDEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677556 JESUS M RIVERA MARTINEZ                     PO BOX 826                                                                                                   SABANA SECA         PR           00952
   677557 JESUS M RIVERA RIJOS                        URB VILLAS DE CANEY        B 25 CALLE TURABO                                                                 TRUJILLO ALTO       PR           00976
   677558 JESUS M RIVERA RIVERA                       URB BORINQUEN              M5 CALLE 8                                                                        CABO ROJO           PR           00623
   677559 JESUS M RIVERA ROMAN                        PARC MARQUEZ               30 CALLE EUCALIPTO                                                                MANATI              PR           00674
   238724 JESUS M RIVERA VELAZQUEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JESUS M RIVERA Y/O CALIXTA
   238725 MELENDEZ                                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677562 JESUS M RODRIGUEZ                           P O BOX 862                                                                                                  CAMUY               PR           00627
   677563 JESUS M RODRIGUEZ BERRIOS                   HC 1 BOX 5976                                                                                                OROCOVIS            PR           00720
   677564 JESUS M RODRIGUEZ BLANCO                    SANTA ROSA                 23‐5 CALLE 19                                                                     BAYAMON             PR           00959‐0000
   238728 JESUS M RODRIGUEZ COLON                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   677565 JESUS M RODRIGUEZ DE JESUS                  P O BOX 357                                                                                                  FAJARDO             PR           00738

   677566 JESUS M RODRIGUEZ MAYSONET HC 73 BOX 5559                                                                                                                NARANJITO           PR           00719




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   677567 JESUS M RODRIGUEZ MERCADO HC 6 BOX 13342                                                                                                            HATILLO             PR           00659
   238730 JESUS M RODRIGUEZ PEREZ   REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   238731 JESUS M RODRIGUEZ SANTIAGO                  REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238732 JESUS M ROJAS BAEZ                          REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238733 JESUS M ROMAN FIGUEROA                      REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677569 JESUS M ROSADO ALEJANDRO                    URB DOS PINOS        839 CALLE DIANA                                                                    SAN JUAN            PR           00923
   238734 JESUS M ROSARIO AYUSO                       REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238735 JESUS M ROSARIO CRUZ                        REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677570 JESUS M ROSARIO FELIX                       P O BOX 1564                                                                                            JUANA DIAZ          PR           00795‐1564
   238736 JESUS M ROSARIO LAUREANO                    REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677571 JESUS M ROSARIO NEGRON                      37 AVE HOSPITAL                                                                                         UTUADO              PR           00641
   677572 JESUS M ROSARIO SOLIS                       BARRIO GUARDARAYA    CARR 3 KM 111.4                                                                    PATILLAS            PR           00723
   238737 JESUS M RUIZ MELENDEZ                       REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677573 JESUS M RULLAN TORRES                       P O BOX 142934                                                                                          ARECIBO             PR           00614

   238738 JESUS M SAAVEDRA CABALLERO                  REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677576 JESUS M SAEZ                                REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677577 JESUS M SALAS NEGRON                        LAS LOMAS            797 CALLE 33 SO                                                                    SAN JUAN            PR           00921
   238739 JESUS M SANCHEZ CARMONA                     REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238740 JESUS M SANCHEZ COTTO                       REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677578 JESUS M SANCHEZ DECLET                      PARC SABANETAS       142 CALLE 25 DE JULIO                                                              PONCE               PR           00715
   238741 JESUS M SANCHEZ NEGRON                      REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677579 JESUS M SANTA RODRIGUEZ                     VALLE LUIS           I 3 CALLE SAN LUIS                                                                 CAGUAS              PR           00725
   238742 JESUS M SANTANA RAMOS                       REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238743 JESUS M SANTIAGO JAIME                      REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238744 JESUS M SANTIAGO MIRANDA                    REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238745 JESUS M SANTIAGO TORRES                     REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238746 JESUS M SANTOS BURGOS                       REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238747 JESUS M SANTOS LEBRON                       REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238748 JESUS M SANTOS MARRERO                      REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677581 JESUS M SANTOS MATOS                        BOX 330                                                                                                 VEGA BAJA           PR           00694
   238749 JESUS M SEPULVEDA                           REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677582 JESUS M SERRANO RONDON                      ALTURAS DE BAYAMON   126 PASEO C                                                                        BAYAMON             PR           00956
   677583 JESUS M SOLDEVILLA RENTAS                   HC 3 BOX 103499                                                                                         JUANA DIAZ          PR           00795
   677584 JESUS M SOSA AGUILAR                        STA MARIA            1895 ORQUIDEA                                                                      SAN JUAN            PR           00927
   238750 JESUS M SUAREZ TORRES                       REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   238751 JESUS M TAVAREZ HERNANDEZ                   REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238752 JESUS M TORRES CRUZ                         REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238753 JESUS M TORRES DE LEON                      REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238754 JESUS M TORRES FIGUEROA                     REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238755 JESUS M TORRES MARTINEZ                     REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677587 JESUS M TORRES MIRANDA                      URB SANTA JUANITA    E H 12 PINO NORTE                                                                  BAYAMON             PR           00956
   677588 JESUS M TORRES NARANJO                      PO BOX 74                                                                                               SABANA SECA         PR           00952
   238756 JESUS M TORRES RAMIREZ                      REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238758 JESUS M TORRES SANTANA                      REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677589 JESUS M UBIERA GALVEZ                       REPTO VALENCIA       B 6 CALLE 21                                                                       BAYAMON             PR           00959
   238759 JESUS M VALENTIN FELICIANO                  REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   677590 JESUS M VALENTIN MELENDEZ                   BO SAINT JUST        287 CALLE 4                                                                        TRUJILLO ALTO       PR           00976
   677591 JESUS M VALLE MARTINEZ                      HC 2 BOX 2326                                                                                           VEGA BAJA           PR           00693



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  677592 JESUS M VAZQUEZ                              URB BONNEVILLE HEIGHTS   5 CALLE ADJUNTAS                                                                     CAGUAS              PR           00725

   677594 JESUS M VAZQUEZ HERNANDEZ                   CARMELITA                BOX 52                                                                               VEGA BAJA           PR           00693
   677595 JESUS M VAZQUEZ MARIN                       CRUZ ROSARIO             HC 02 BOX 5423                                                                       MOROVIS             PR           00687
   238761 JESUS M VAZQUEZ TORRES                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677597 JESUS M VELAZQUEZ LABOY                     BARRIO BAJOS             SECTOR VILLA PESQUERA                                                                PATILLAS            PR           00623
   677598 JESUS M VELEZ                               URB RIO GRANDE ESTATES   11420 CALLE REY LUIS XV                                                              RIO GRANDE          PR           00745
   677599 JESUS M VELEZ GONZALEZ                      HC 1 BOX 3272                                                                                                 LARES               PR           00669
   238763 JESUS M VICENTE MARQUEZ                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238764 JESUS M VIERA RODRIGUEZ                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238765 JESUS M ZAYAS HERNANDEZ                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238766 Jesus M. Almodovar Santiago                 REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238767 JESUS M. ALVARADO RIVERA                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238768 JESUS M. BOSQUE OLIVAN                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238769 JESUS M. BOSQUES                            REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677600 JESUS M. BURGOS SOTO                        HC 1 BOX 17155                                                                                                HUMACAO             PR           00791
   238770 JESUS M. CADIZ VAZQUEZ                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JESUS M. DEL RINCON
   238771 TORREALBA                                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238772 Jesus M. Garcia Velez                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   677601 JESUS M. GAZTAMBIDE GUZMAN VALLE ALTAMIRA                            6 CALLE ROSA APT 47                                                                  PONCE               PR           00731
          JESUS M. HERNANDEZ
   238773 CONTRERAS                  REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   238774 JESUS M. HERNANDEZ GONZALEZ REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   238776 JESUS M. HERNANDEZ TORRES                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238777 JESUS M. MARTINEZ SERRANO                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238780 JESUS M. ORTIZ PIZARRO                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677605 JESUS M. PEREZ HERNANDEZ                    URB CANA                 HI2 CALLE 22                                                                         BAYAMON             PR           00957
   238782 JESUS M. RAMOS GARCIA                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  1256595 JESUS M. RIVERA RIVERA                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677606 JESUS M. RODZ LOPEZ                         251 CALLE PALACIOS                                                                                            SAN JUAN            PR           00912
   238783 JESUS M. ROHENA CRUZ                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   238786 JESUS M. SAAVEDRA CABALLERO REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238787 JESUS M. SANCHEZ MARTINEZ   REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238788 JESUS M. VIERA RODRIGUEZ    REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677608 JESUS MADERA GONZALEZ       URB APOLO 2098                           CALLE MERCURIO                                                                       GUAYNABO            PR           00969
   677609 JESUS MAISONET PERTUZ       URB REPARTO ALHAMBRA                     C 57 CALLE ANDALUCIA                                                                 BAYAMON             PR           00957
   677611 JESUS MALDONADO DE LEON     PO BOX 528                                                                                                                    LAS PIEDRAS         PR           00771
   677612 JESUS MALDONADO MONTIJO     PO BOX 7126                                                                                                                   PONCE               PR           00732
   677613 JESUS MALDONADO TORRES      P O BOX 1224                                                                                                                  OROCOVIS            PR           00720

   238791 JESUS MANUEL BAZAN GIRAUD                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   677614 JESUS MANUEL CABRERA CIRILO URB VALENCIA                             WF 4 CALLE LIRIO                                                                     BAYAMON             PR           00959
          JESUS MANUEL COLON
   238792 GONZALEZ                    REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JESUS MANUEL DELGADO DE
   677615 JESUS                       RR 7 BOX 7223                                                                                                                 SAN JUAN            PR           00926




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          JESUS MANUEL FIGUEROA
   238793 RODRIGUEZ                                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JESUS MANUEL GARCIA
   677616 RODRIGUEZ                                   URB. TROPICAL BEACH F 70                                                                                        NAGUABO             PR           00718
   677617 JESUS MANUEL GONZALEZ                       HC 645 BOX 5157                                                                                                 TRUJILLO ALTO       PR           00976
          JESUS MANUEL MALDONADO /
   238794 SAIBET LANDRAU                              REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JESUS MANUEL MARTINEZ
   238795 MARRERO                                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238796 JESUS MANUEL RAMOS                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238797 JESUS MANUEL ROSARIO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JESUS MANUEL ROSARIO
   677619 GALARCES                                    ARBOLADA                    D 32 CALLE ALMACIGO                                                                 CAGUAS              PR           00725

   238798 JESUS MANUEL SANTOS NEGRON REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677200 JESUS MARCANO TORRES       URB CONDADO MODERNO                          L 45 CALLE 17                                                                       CAGUAS              PR           00725

   238799 JESUS MARIA RODRIGUEZ CABAN REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238801 JESUS MARIN DELGADO         REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238803 JESUS MARRERO MELENDEZ      REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238804 JESUS MARRERO NARVAEZ       REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677624 JESUS MARTE                 PO BOX 583                                                                                                                      CEIBA               PR           00735
   677625 JESUS MARTELL RODRIGUEZ     SIERRA BAYAMON                              3‐8 CALLE 3                                                                         BAYAMON             PR           00961
   677626 JESUS MARTI SOTO            HP ‐ SALA 1 BAJO                                                                                                                RIO PIEDRAS         PR           009360000
   238805 JESUS MARTINEZ GONZALEZ     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238806 JESUS MARTINEZ MARIN        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238807 JESUS MARTINEZ MARTINEZ     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677628 JESUS MARTINEZ MELENDEZ     HC 01 BOX 4437                              CAMINO NUEVO                                                                        YABUCOA             PR           00767
   238808 JESUS MARTINEZ REINOSA      REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677629 JESUS MARTINEZ RIVERA       PIEDRA GORDA                                HC 01 BOX 5070                                                                      CAMUY               PR           00627‐9612
   238809 JESUS MARTINEZ RODRIGUEZ    REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677630 JESUS MARTINEZ SANTIAGO     PO BOX 7126                                                                                                                     PONCE               PR           00732
   238810 JESUS MARTINEZ TORRES       REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677631 JESUS MATEI PEREZ           ALTOS DE LA FUENTE                          H 5 CALLE 2                                                                         CAGUAS              PR           00725
   238812 JESUS MATOS MEDINA          REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238813 JESUS MEDINA HERNANDEZ      REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677633 JESUS MEDINA PAGAN          URB JARDINES                                336 JARDIN DE GIRASOLE                                                              VEGA BAJA           PR           00693

   677635 JESUS MELENDEZ COLON                        COND VENUS TOWERS APT 202                                                                                       SAN JUAN            PR           00917
   677636 JESUS MELENDEZ LOPEZ                        COLINAS DE FAIR VIEW        R‐14 CALLE 217                                                                      TRUJILLO ALTO       PR           00976
   677637 JESUS MELENDEZ MANZANO                      CENTRO GUBERNAMENTAL        PO BOX 202 A                                                                        ARECIBO             PR           00612
   238815 JESUS MELENDEZ MONTANEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677201 JESUS MELENDEZ TORRES                       P.O. BOX 102                                                                                                    SANTA ISABEL        PR           00757
   238816 JESUS MENA GONZALEZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238817 JESUS MENDEZ CORDERO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238818 JESUS MENDEZ CRUZ                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677638 JESUS MENDEZ RODRIGUEZ                      RR 2 BOX 5296                                                                                                   CIDRA               PR           00739
   677639 JESUS MENDOZA TORRES                        PO BOX 1796                                                                                                     AIBONITO            PR           00705
   238819 JESUS MERCADO NEGRON                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677640 JESUS MERCADO NIEVES                        HC 2 BOX 9800                                                                                                   QUEBRADILLAS        PR           00678
   677641 JESUS MERCADO SANTIAGO                      DK 1 LAGO CIDRAS ST                                                                                             TOA BAJA            PR           00949
   677642 JESUS MILLAN CARRILLO                       BARRIO PALMA SOLA           BOX 802                                                                             CANOVANAS           PR           00729
   677644 JESUS MIRANDA SANTIAGO                      JARDINES DE TOA ALTA        95 CALLE 2                                                                          TOA ALTA            PR           00953



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  238820 JESUS MOLINA CARRENO                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   677646 JESUS MONASTERIO HERNANDEZ 2225 PONCE BY PASS                            EDIF PARRA SUITE 408                                                                P0NCE               PR         00717‐1320
   238822 Jesus Montan Collado       REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238823 JESUS MONTANEZ MARTINEZ    REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677647 JESUS MONTEAGUDO PEREZ     15490 NW 97 AVE                                                                                                                   MIAMI               FL         33016
   238825 JESUS MONTIJO VEGA         REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238826 JESUS MONTILLA GAVILLAN    REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238827 JESUS MORA NIEVES          REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238828 JESUS MORALES ADORNO       REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677649 JESUS MORALES ARROYO       HC 01 BOX 4579                                                                                                                    YABUCOA             PR         00767
   238829 JESUS MORALES GUTIERREZ    REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238830 JESUS MORALES LUGO         REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238831 JESUS MORALES OLIVO        REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238832 JESUS MORALES ORTIZ        REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   677650 JESUS MORALES RIVERA                        232 AVE ELEONOR ROOSEVELT                                                                                        SAN JUAN            PR         00907
   238833 JESUS MORALES VELAZQUEZ                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677651 JESUS MULERO MENDEZ                         BDA ROSVELT                  33 CALLE B                                                                          SAN LORENZO         PR         00754
   238834 JESUS MULERO SANTIAGO                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238835 Jesús MuNiz Lloren's                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238836 JESUS N BONILLA RODRIGUEZ                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677652 JESUS N COLLAZO GONZALEZ                    P O BOX 1037                                                                                                     BAYAMON             PR         00960
   238837 JESUS N CRUZ CARDONA                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677653 JESUS N MENDEZ SANABRIA                     VILLA PRADES                 700 FELIPE GUTIERREZ                                                                SAN JUAN            PR         00924
   238838 JESUS N PRADO TROCHE                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677654 JESUS N RIVERA CRUZ                         ABRA SAN FRANCISCO           28 CALLE CARDONA                                                                    ARECIBO             PR         00612
   238839 JESUS N VELEZ RUIZ                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677655 JESUS NATAL RIVERA                          RR 02 BOX 6426                                                                                                   MANATI              PR         00674
   238840 JESUS NATAL TORRES                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   677656 JESUS NAVARRO FIGUEROA                      CALLE JORGE CRUZ AMEZQUITA                                                                                       DORADO              PR         00646
   238841 JESUS NAVARRO REYES                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677657 JESUS NAVEDO GONZALEZ                       1302 URB MONTE VERDE                                                                                             MANATI              PR         00674
   238842 JESUS NIEVES ALLENDE                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677658 JESUS NIEVES NIEVES                         URB ALTAGRACIA               M1 CALLE REINA                                                                      TOA BAJA            PR         00949
   677659 JESUS NIEVES SERRANO                        PO BOX 10071‐0071                                                                                                CAROLINA            PR         00988

   238844 JESUS NIEVES Y ELBA I. CORDERO REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   677661 JESUS NOEL CRUZ LOPEZ                       COMUNIDAD DE HILL BROTHERS   ESTRUCTURA 97 C SUR                                                                 SAN JUAN            PR         00928
   238846 JESUS NUNEZ NIEVES                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238847 JESUS NUNEZ RIOS                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677662 JESUS O ALVAREZ VILLABOL                    17 LA DOLORES                                                                                                    RIO GRANDE          PR         00745
   238848 JESUS O BERRIOS ROSARIO                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238849 JESUS O BRETON NUNEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238850 JESUS O CAEZ LANDRAU                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238851 JESUS O CARABALLO CORREA                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677663 JESUS O CRUZ RIVERA                         28 A CALLE PALMER                                                                                                CIALES              PR         00638
   238852 JESUS O FALU PEREZ                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   677664 JESUS O MARTINEZ CLEMENTE                   COUNTRY CLUB                 HY 25 CALLE 240                                                                     CAROLINA            PR         00982
   238853 JESUS O MELENDEZ MATEO                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  238854 JESUS O MENDEZ                               REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238855 JESUS O MORALES PEREZ                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238857 JESUS O RIVERA CRUZ                          REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238858 JESUS O RIVERA DAVILA                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  677665 JESUS O SERRANO ARROYO                       PO BOX 750                                                                                                   TOA ALTA            PR         00954
  677666 JESUS O SERRENO CUBA                         PO BOX 3330                                                                                                  ARECIBO             PR         00613
  238859 JESUS O VAZQUEZ RONDON                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238860 JESUS O VELEZ PABON                          REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   238861 JESUS O ZAMBRANO ZAMBRANO REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238862 JESUS O. LOPEZ RODRIGUEZ  REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238863 JESUS O. PEREZ LLANOS     REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677668 JESUS OMAR PEREZ AGUILAR  MANSIONES DE CAROLINA                     DD 6 CALLE LOS PICACHOS                                                              CAROLINA            PR         00987
          JESUS ORLANDO SUAREZ
   238865 DELGADO                   REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238867 JESUS ORTEGA RODRIGUEZ    REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677669 JESUS ORTIZ ACOSTA        HC 03 BOX 20426                                                                                                                LAJAS               PR         00667
   677670 JESUS ORTIZ DOMINGUEZ     PO BOX 1957                                                                                                                    MANATI              PR         00674
   677671 JESUS ORTIZ MARQUEZ       PO BOX 85                                                                                                                      CAGUAS              PR         00726
   238868 JESUS ORTIZ ORTIZ         REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677674 JESUS ORTIZ RODRIGUEZ     HC 1 BOX 5829                                                                                                                  SAN GERMAN          PR         00683
   677675 JESUS ORTIZ ROSADO        P O BOX 1713                                                                                                                   COAMO               PR         00769
   238869 JESUS ORTIZ SANTANA       REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677676 JESUS ORTIZ TORRES        URB LEVITTOWN 3508                        PASEO CRIOLLA                                                                        TOA BAJA            PR         000749
   238870 JESUS ORTIZ VAZQUEZ       REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677677 JESUS OSORIO OSORIO       HC 1 BOX 6072                                                                                                                  LOIZA               PR         00772
   677678 JESUS PABON MARCANO       CARR 103 K 13HO BOX 7                                                                                                          CABO ROJO           PR         00623
   238871 JESUS PABON NEGRON        REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677679 JESUS PACHECO MORENO      URB LIRIOS DEL SUR                        2 B CALLE 28                                                                         PONCE               PR         00731
   677680 JESUS PADILLA ARROYO      RES SAN AGUSTIN                           EDIF T APT 561                                                                       SAN JUAN            PR         00901
   238873 JESUS PADIN RODRIGUEZ     REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238874 JESUS PADIN RUIZ          REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677681 JESUS PAGAN CASTILLO      URB SAN THOMAS PLAYA                      30 CALLE B                                                                           PONCE               PR         00731
   238875 JESUS PAGAN LOPEZ         REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238876 JESUS PAGAN ORTIZ         REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677682 JESUS PASTRANA PEREZ      BO VENEZUELA                              43 CALLE LOS TANQUES                                                                 SAN JUAN            PR         00926

   238878 JESUS PENA & ASSOCIATES INC                 1056 MUNOZ RIVERA AVE                                                                                        SAN JUAN            PR         00927
   238880 JESUS PENA SABATER                          REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677683 JESUS PEREIRO MAS                           COND PLAZA DEL PARQUE   CARR 848 BOX 341                                                                     TRUJILLO ALTO       PR         00976

   238881 JESUS PEREZ / CARIDAD LOPEZ                 REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677684 JESUS PEREZ BERRIOS                         P O BOX 9023884                                                                                              SAN JUAN            PR         00902‐3884
   238882 JESUS PEREZ BOSQUES                         REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238883 JESUS PEREZ INGLES                          REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238884 JESUS PEREZ LAGUER                          REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677686 JESUS PEREZ NIEVES                          HC 03 BOX 7576                                                                                               COMERIO             PR         00782
   238887 JESUS PEREZ ORTIZ                           REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677687 JESUS PEREZ RODRIGUEZ                       BO CORAZON              BOX 378 PANEL 18                                                                     GUAYAMA             PR         00784
   238889 Jesus Perez Sanchez                         REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677688 JESUS PEREZ VALENTIN                        BO RIO HONDO BOX 664                                                                                         MAYAGUEZ            PR         00680
   238890 JESUS PIQUET ORTUBE                         REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238891 JESUS PIZARRO RODRIGUEZ                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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   677689 JESUS POLANCO PEGUERO                       MATA DE PLATANO DE LUQUILLO                                                                                         LUQUILLO            PR           00773
                                                      COND BALCONES DE MONTE
   677690 JESUS PONCE FIGUEROA                        REAL                        D‐1603                                                                                  CAROLINA            PR           00985
   677691 JESUS PORRATA                               U S COAST GUARD SECTOR      SAN JUAN PREVENTIONS DEPT   5 C/ PUNTILLA FINAL                                         SAN JUAN            PR           00901
   238892 JESUS PRIETO ROCHE                          REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238893 JESUS QUILES NIEVES                         REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238895 JESUS QUINONES FALU                         REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238896 JESUS QUINONES LEDESMA                      REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238897 JESUS QUINONES LOPEZ                        REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238898 JESUS QUINONES OCASIO                       REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238902 JESUS QUINONES ROMAN                        REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238903 JESUS QUINONEZ MELENDEZ                     REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238904 JESUS QUINTANA LOPEZ                        REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238905 JESUS QUINTINO RAMOS                        REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677693 JESUS R AGOSTO ALAMO                        RES SAN FERNANDO            EDIF 2 APT 36                                                                           RIO PIEDRAS         PR           00927
   238906 JESUS R ANDINO SANTANA                      REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   677694 JESUS R ANMONT CANDELARIA                   URB VISTA AZUL              GG 8 CALLE 28                                                                           ARECIBO             PR           00612
   677695 JESUS R APONTE TRUJILLO                     A 163 URB SANTA CLARA                                                                                               PONCE               PR           00731
   238907 JESUS R AROCHO PIRIS                        REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238908 JESUS R BRAVO CEREZO                        REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677698 JESUS R DIAZ GONZALEZ                       HC 04 BOX 49502                                                                                                     HATILLO             PR           00659
   677699 JESUS R DIAZ MELENDEZ                       HC 5 BOX 57705                                                                                                      CAGUAS              PR           00725
   677700 JESUS R ECHEVARRIA                          URB VALLE HERMOSO           Z 4 CALLE OLMO                                                                          HORMIGUEROS         PR           00660
   677701 JESUS R GARCIA ROJAS                        PO BOX 1466                                                                                                         COROZAL             PR           00783‐1466
   238909 JESUS R HERNANDEZ                           REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238910 JESUS R LABOY COLON                         REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238911 JESUS R LUGO QUINONES                       REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238912 JESUS R MARTINEZ SUERO                      REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238913 JESUS R NEGRON GIUSTI                       REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238914 JESUS R NIEVES QUILES                       REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677703 JESUS R OCASIO ROJAS                        PO BOX 1981                                                                                                         LOIZA               PR           00772‐1981
   677704 JESUS R ORTEGA TORRES                       P O BOX 723                                                                                                         MANATI              PR           00674
   677706 JESUS R PEREZ MARRERO                       RR 2 BOX 7652                                                                                                       TOA ALTA            PR           00953
   238915 JESUS R QUINONES TORRES                     REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677707 JESUS R RABELL MENDEZ                       PO BOX 195580                                                                                                       SAN JUAN            PR           00919‐5580
   677708 JESUS R RAMOS PUCA                          HC 764 BZN 8544                                                                                                     PATILLAS            PR           00723
   238916 JESUS R RIVERA RODRIGUEZ                    REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238917 JESUS R RIVERA ROSA                         REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238918 JESUS R RIVERA VEGA                         REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238919 JESUS R RODRIGUEZ COSME                     REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677202 JESUS R RODRIGUEZ ORTIZ                     PO BOX 279                                                                                                          GUAYNABO            PR           00970‐0279

   677203 JESUS R RODRIGUEZ RODRIGUEZ                 HC 02 BOX 7533                                                                                                      COROZAL             PR           00783
   238920 JESUS R RUIZ VAZQUEZ                        REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   238921 JESUS R RUIZ VEGA                           REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677710 JESUS R SAAVEDRA LUGO                       PO BOX 647                                                                                                          QUEBRADILLAS        PR           00678

   677711 JESUS R SANCHEZ HERNADEZ                    SECTOR VILLA PALMERA        371 ALTOS CALLE ISMAEL RIVERA                                                           SAN JUAN            PR           00912
   238922 JESUS R SANTIAGO POU                        REDACTED                    REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677712 JESUS R TORRES MELENDEZ                     35 BDA NUEVA                                                                                                        UTUADO              PR           00641
   677714 JESUS R VELAZQUEZ RIVERA                    HC 1 BOX 5056                                                                                                       CAMUY               PR           00627



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  677715 JESUS RAMIREZ                                HC 03 BOX 12056                                                                                                     CAROLINA            PR           00987
         JESUS RAMON PEDRAZA DE
  238926 JESUS                                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  677717 JESUS RAMOS CABAN                            PO BOX 1201                                                                                                         MOCA                PR           00676
  677718 JESUS RAMOS CARMONA                          10 MANSION DEL SAPO                                                                                                 FAJARDO             PR           00738
  238927 JESUS RAMOS CEDENO                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  238928 JESUS RAMOS GARCIA                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  677721 JESUS RAMOS GOMEZ                            F 10 URB RIVER GARDEN                                                                                               CANOVANAS           PR           00729
  238929 JESUS RAMOS RIVERA                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  677724 JESUS RAUL CHACON                            512 TINTILLO HILLS                                                                                                  GUAYNABO            PR           00966
                                                                                   187 VIST DL MR URB PANORAMA
   677725 JESUS REYES ABRANTE                         PANORAMA VILLAGE             VILLAGE                                                                                BAYAMON             PR           00957
   238931 JESUS REYES HERNANDEZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677726 JESUS REYES MARTINEZ                        HC 43 BOX 10896                                                                                                     CAYEY               PR           00736
   238932 JESUS REYES PERALES                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JESUS REYES Y OLGA
   238933 MALDONADO                                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238934 JESUS RIOS CLAUDIO                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677727 JESUS RIOS LASALLE                          PO BOX 681                                                                                                          BARCELONETA         PR           00617
                                                                                   209 CALLE RAMIREZ DE
   677728 JESUS RIOS RIVERA                           BO DULCES LABIOS             ARELLANO                                                                               MAYAGUEZ            PR           00680
   677729 JESUS RIVERA ACEVEDO                        HC 02 BOX 22184                                                                                                     AGUADILLA           PR           00603
   677178 JESUS RIVERA COLON                          PO BOX 1488                                                                                                         COAMO               PR           00769
   677730 JESUS RIVERA CORALES                        URB EL VALLE                 2DA EXT 506 BEGONIA                                                                    LAJAS               PR           00667
   677731 JESUS RIVERA CRESPO                         PO BOX 1393                                                                                                         RINCON              PR           00677

   677732 JESUS RIVERA DAVILA                         URB VILLAS DE LA PAYA        CALLE COPA MARIANA NUM 63                                                              VEGA BAJA           PR           00693
   677733 JESUS RIVERA DIAZ                           PO BOX 357                                                                                                          COROZAL             PR           00783‐0357
   238935 JESUS RIVERA FIGUEROA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677735 JESUS RIVERA LUNA                           6 URB LAS FLORES                                                                                                    BARRANQUITAS        PR           00794
   238936 JESUS RIVERA RIVERA                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677736 JESUS RIVERA ROJAS                          P O BOX 1770                                                                                                        ARECIBO             PR           00612
   238937 JESUS RIVERA ROMAN                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238938 JESUS RIVERA SANTANA                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238939 JESUS RIVERA SANTIAGO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238940 JESUS RIVERA SARRAGA                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238941 JESUS RIVERA VAZQUEZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677204 JESUS RIVERA VEGA                           URB ESTANCIAS DE BAIROA      C 4 CALLE CRISANTEMO                                                                   CAGUAS              PR           00725
   238942 JESUS RIVERA VELEZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677205 JESUS RIVERO MARRERO                        URB COUNTRY CLUB             954 CALLE TAULADIA                                                                     SAN JUAN            PR           00924‐3372
          JESUS ROBERTO FORTIS
   677740 AHORRIO                                     5 CALLE DR VEVE Y TIO                                                                                               BAYAMON             PR           00961
   238943 JESUS ROBLES                                REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238944 JESUS ROBLES RIVERA                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238945 JESUS RODRIGUEZ ALLENDE                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   238946 JESUS RODRIGUEZ ARROYO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677742 JESUS RODRIGUEZ CALDERON                    MANSIONES DE CAROLINA        KK 1 CALLE PANDORA                                                                     CAROLINA            PR           00987

   677743 JESUS RODRIGUEZ CARABALLO                   HC 1 BOX 8568                                                                                                       LAJAS               PR           00667‐9707

   677744 JESUS RODRIGUEZ CARTAGENA                   URB LA ARBOLEDA              CALLE 16 3280                                                                          SALINAS             PR           00751

   677745 JESUS RODRIGUEZ CORA                        URB. CIUDAD UNIVERSITARIA 44 CALLE 5                                                                                TRUJILLO ALTA       PR           00976



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  238947 JESUS RODRIGUEZ CORTES                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  238948 JESUS RODRIGUEZ CRUZ                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JESUS RODRIGUEZ DBA AJ AIR
  238949 CONDITION                                    HC 46 BOX 6050                                                                                                       DORADO              PR         00646
         JESUS RODRIGUEZ GARAY/ROSA
  677748 CANDELARIA                                   BO MORALES                  876 CALLE LL                                                                             CAGUAS              PR         00725
  238950 JESUS RODRIGUEZ GARCIA                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      235 CAPITAL CENTER TORRE    AVE ARTERIAL HOSTOS SUITE
   677749 JESUS RODRIGUEZ IRIZARRY                    NORTE                       1001                                                                                     SAN JUAN            PR         00918
   238951 JESUS RODRIGUEZ LOZADA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677750 JESUS RODRIGUEZ MARTIN                      HC 1 BOX 23628                                                                                                       CAGUAS              PR         00725‐8920
   238952 JESUS RODRIGUEZ MUNIZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677751 JESUS RODRIGUEZ NEGRON                      BOX 1441                                                                                                             JUANA DIAZ          PR         00795
   238953 JESUS RODRIGUEZ NIEVES                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238954 JESUS RODRIGUEZ ORTIZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238955 JESUS RODRIGUEZ PEDRAZA                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238956 JESUS RODRIGUEZ QUINONES                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238957 JESUS RODRIGUEZ RIVERA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   238958 JESUS RODRIGUEZ RODRIGUEZ                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238959 JESUS RODRIGUEZ ROLDAN                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   238960 JESUS RODRIGUEZ TALER CHUITO REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677759 JESUS RODRIGUEZ TORRES       RES.LA PLATA F‐1 CALLE 8                                                                                                            CAYEY               PR         00736

   677760 JESUS RODRIGUEZ TRINIDAD                    PARQUE VICTORIA             EDF D APT 419 VILLA PALMERA                                                              SAN JUAN            PR         00915
   238961 JESUS RODRIGUEZ VAREDA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677761 JESUS RODRIGUEZ VEGA                        URB CAMINO REAL             110 CALLE COSTA REAL                                                                     JUANA DIAZ          PR         00795
   238962 JESUS RODRIGUEZ VELEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677762 JESUS ROMAN CALDERON                        HC 05 BOX 62637                                                                                                      CAGUAS              PR         00705
   238963 JESUS ROMAN JIMENEZ                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677763 JESUS ROMAN MARTINEZ                        COND CAROLINA COURT         APT MS A 7                                                                               CAROLINA            PR         00982
   677764 JESUS ROMAN MORALES                         P O BOX 420                                                                                                          QUEBRADILLAS        PR         00678
   238964 JESUS ROMERO                                REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238965 JESUS ROMERO LOPEZ                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677765 JESUS RONDON ROMERO                         P. O. BOX 513                                                                                                        GUAYNABO            PR         00970
   238966 JESUS ROSA ALICEA                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677766 JESUS ROSA ORTIZ                            COOP VILLA KENNEDY          EDIF 36 APT 557                                                                          SAN JUAN            PR         00915
   238967 JESUS ROSA RAMOS                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238969 JESUS ROSADO                                REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677767 JESUS ROSADO GUERRIOS                       CARR 864 BUZON              171 HATO TEJAS                                                                           BAYAMON             PR         00959
   677768 JESUS ROSADO MUNOZ                          PO BOX 972                                                                                                           RINCON              PR         00677
   238971 JESUS ROSADO SANCHEZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677769 JESUS ROSADO SANTIAGO                       URB LA PROVIDENCIA          2614 CALLE LEMPIRA                                                                       PONCE               PR         00726
   238972 JESUS ROSARIO ALVAREZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JESUS ROSARIO ALVAREZ/DBA
   238973 JESUS ROSARIO                               ALVAREZ TELECOMUNICATIONS   1 CALLE 27 ALL                                                                           BAYAMON             PR         00956
                                                      31 CALLE JOSE GONZALEZ
   677770 JESUS ROSARIO CRUZ                          GINORIO                                                                                                              ARECIBO             PR         00612
   238974 JESUS RUBERT ROSARIO                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   677771 JESUS RUIZ                                  PO BOX 21365                                                                                                         SAN JUAN            PR         00918
   238975 JESUS RUIZ ESTEVES                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   238976 JESUS RUIZ MUNOZ                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  677773 JESUS RUIZ RENTAS                             PO BOX 619                                                                                                    JUANA DIAZ        PR         00795‐0619
  238977 JESUS S COLLAZO TIRADO                        REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  677774 JESUS S VALCARCEL DE JESUS                    HC 2 BOX 9346                                                                                                 GUAYNABO          PR         00971
  238978 JESUS SALAMO RODRIGUEZ                        REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  677776 JESUS SALAS MARRERO                           URB LAS VEGAS         H 33 CALLE 6                                                                            CATANO            PR         00962
  238979 JESUS SALGADO CARRERAS                        REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  238980 JESUS SALGADO ORTIZ                           REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  677777 JESUS SALVADOR BATLE                          P O BOX 12124                                                                                                 SAN JUAN          PR         00914 0124
  677778 JESUS SANABRIA CRUZ                           PO BOX 429                                                                                                    YABUCOA           PR         00767
  677779 JESUS SANABRIA DEL VALLE                      PO BOX 601                                                                                                    LARES             PR         00669
  677780 JESUS SANCHEZ                                 URB LOS SAUCES        237 CALLE POMAROSAS                                                                     HUMACAO           PR         00791‐4901
  238981 JESUS SANCHEZ CORTES                          REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  238982 JESUS SANCHEZ CRISTOBAL                       REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  677784 JESUS SANCHEZ CRUZ                            BO BUEN CONSEJO       1201 CALLE MANZO                                                                        SAN JUAN          PR         00926
  238983 JESUS SANCHEZ FUENTES                         REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  238984 JESUS SANCHEZ HERNANDEZ                       REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  677782 JESUS SANCHEZ HERNANDEZ                       PO BOX 52168                                                                                                  TOA ALTA          PR         00950‐2168
  238985 JESUS SANCHEZ MALDONADO                       REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  677786 JESUS SANCHEZ POMALES                         HC 55 BOX 21088                                                                                               CEIBA             PR         00735‐9703

   677787 JESUS SANCHEZ TEISSONNIERE                   SOLAR 1 COM GUAYPAO                                                                                           GUANICA           PR         00653
   677788 JESUS SANCHEZ VAZQUEZ                        PO BOX 9045                                                                                                   MAYAGUEZ          PR         00681

   238986 JESUS SANFIORENZO RODRIGUEZ REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   677792 JESUS SANTANA CASTRO        BARRIO TEJAS                           HC 01 BOX 6956                                                                          LAS PIEDRAS       PR         00771
   238987 JESUS SANTANA MORALES       REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   677794 JESUS SANTIAGO FIGUEROA     URB ROYAL GARDEN                       H 21 CALLE CARMEN                                                                       BAYAMON           PR         00957
   238989 JESUS SANTIAGO GARCIA       REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   677795 JESUS SANTIAGO LOPEZ        PO BOX 1010                                                                                                                    CAMUY             PR         00627
   238990 JESUS SANTIAGO MALAVET      REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   677206 JESUS SANTIAGO MALAVET      SAGRADO CORAZON 470                                                                                                            SAN JUAN          PR         00915
   238991 JESUS SANTIAGO RIVERA       REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   677797 JESUS SANTIAGO SANCHEZ       URB LOMAS DE CAROLINA                 D 30 CALLE MONTE MEMBRILLO                                                              CAROLINA          PR         00979
   677798 JESUS SANTIAGO TORRES        P O BOX 672                                                                                                                   UTUADO            PR         00641
   677800 JESUS SANTIAGO VARGAS        PO BOX 142281                                                                                                                 ARECIBO           PR         00659
          JESUS SANTIAGO Y ALEJANDRINA
   238993 PAGAN                        REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   677801 JESUS SANTOS RIVERA          BO MEDIANIA ALTA                      HC 01 BOX 5178                                                                          LOIZA             PR         00772
          JESUS SEGUINOT (DBA J.S.
  1256596 SERVICES)                    REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          JESUS SEQUINOT DBA J S
   238994 SERVICES                     P O BOX 1690                                                                                                                  LAJAS             PR         00667
   238995 JESUS SERRA LARACUENTE       REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   238996 JESUS SERRANO MORALES        REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   238997 JESUS SERRANO RIOS           REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   677802 JESUS SERVICE STATION        P O BOX 876                                                                                                                   YAUCO             PR         00698
          JESUS SEVILLA Y LISANDRA
   238998 COLON                        REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   677803 JESUS SIERRA TORO            ROYAL GARDENS                         F 45 CALLE ALICIA                                                                       BAYAMON           PR         00957
   677804 JESUS SILVA CASANOVA         URB SAN FERNNADO                      L‐2 CAKKE 9                                                                             BAYAMON           PR         00957
   238999 JESUS SILVA MARCANO          REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED




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          JESUS SIVERIO Y MYRNA
   239000 CASANOVA                                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   677805 JESUS SOLANO DIAZ                           PO BOX 25058                                                                                                       SAN JUAN             PR           00928‐5058
   239001 JESUS SOTO CARRILLO                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   677207 JESUS SOTO CRUZ                             URB REXVILLE C E 10           CALLE 23 A                                                                           BAYAMON              PR           00959
   239002 JESUS SOTO ESPINOSA                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   677807 JESUS SOTO FLORES                           HC 02 BOX 15124                                                                                                    ARECIVO              PR           00612
   677809 JESUS SUAREZ REYES                          95 LOCUST LANE                                                                                                     FAIR PORT            NY           14450

   239003 JESUS T. ENCARNACION CASTRO                 REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   239005 JESUS TINOCO                                REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   677813 JESUS TORRES ANDUJAR                        METADONA PONCE                                                                                                     Hato Rey             PR           00936
   239006 JESUS TORRES CINTRON                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   239007 JESUS TORRES DIAZ                           REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   239008 JESUS TORRES GONZALEZ                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   239009 JESUS TORRES GRAHAM                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   239010 JESUS TORRES MORALES                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   239012 JESUS TORRES RODRIGUEZ                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   677814 JESUS TRICOCHE DE JESUS                     URB COUNTRY CLUB              758 CALLE MERCEDES SOLA                                                              SAN JUAN             PR           00924
   677815 JESUS TRUJILLO                              URB COUNTRY CLUB              NC 24 CALLE 444                                                                      CAROLINA             PR           00982
   239014 JESUS URRUTIA                               REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   677816 JESUS VALDERRAMA MELENDEZ HC 1 BOX 24027                                                                                                                       VEGA BAJA            PR           00693
   677817 JESUS VALDEZ ARIAS        URB COLINAS DE BAYAMON                          502 CALLE MARIEW                                                                     BAYAMON              PR           00957 3780
                                    618 CALLE FERNANDO ROSARIO
   677818 JESUS VALENTIN            VAZQUEZ                                                                                                                              VEGA BAJA            PR           00693
   677819 JESUS VALENTIN PEREZ      PO BOX 7126                                                                                                                          PONCE                PR           00732
   677820 JESUS VARGAS CONCEPCION   BOX 1205                                                                                                                             ISABELA              PR           00662
   677822 JESUS VAZQUEZ AVILES      URB ROYAL TOWN                                  A 27 CALLE 13                                                                        BAYAMON              PR           00956
   239018 Jesus Vazquez Ortiz       REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   677824 JESUS VAZQUEZ TORRES                        30 JUAN C DE BORBON APT 316                                                                                        GUAYNABO             PR           00969
   239019 JESUS VEGA DEL MORAL                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   677825 JESUS VELAZQUEZ BADILLO                     459 CALLE BARBOSA APT 2                                                                                            MOCA                 PR           00676
   677826 JESUS VELAZQUEZ CAMACHO                     222 CALLE RAFAEL GOMEZ        URB PARKHURST                                                                        LAS PIEDRAS          PR           00771
          JESUS VELAZQUEZ
   239020 ENCARNACION                                 REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   239021 JESUS VELAZQUEZ MORALES                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   677827 JESUS VELAZQUEZ RODRIGUEZ                   BDA SANTA ANA                 332 CALLE B                                                                          GUAYAMA              PR           00784
   677828 JESUS VELEZ                                 FACTOR I                      57 CALLE                                                                             ARECIBO              PR           00612
   677829 JESUS VELEZ ARROYO                          71 D POLE OJEA                                                                                                     CABO ROJO            PR           00623
   239022 JESUS VELEZ CARABALLO                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   239023 JESUS VELEZ TORRES                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   239024 JESUS VELEZ VARGAS                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   677831 JESUS VERA CEREZO                           BOX 5                                                                                                              MOCA                 PR           00676
   677832 JESUS VERA MEDINA                           C\ HOPOLITO CASTRO 37                                                                                              SAN SEBASTIAN        PR           00685
   239025 JESUS VERGARA ARRIAGA                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   239026 JESUS VILA                                  REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   239027 JESUS VILLANUEVA SOTO                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   677833 JESUS VILLEGAS OLIVERO                      RR 3 BOX 4650                                                                                                      SAN JUAN             PR           00926
   677834 JESUS VILLEGAS TRINIDAD                     RR 6 BOX 9900                                                                                                      SAN JUAN             PR           00926
   677835 JESUS W IZQUIERDO DE JESUS                  PORTAL DE LA REINA            APTO 234                                                                             SAN JUAN             PR           00924



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  677836 JESUS W LUGO NIEVES                          HC 3 BOX 10665                                                                                                 CAMUY               PR           00627

   239028 JESUS W RODRIGUEZ RODRIGUEZ REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   239029 JESUS W ROSARIO             REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677837 JESUS X FIGUEROA VIERA      PARC HILLS BROTHERS SUR                 350 CALLE 2                                                                            SAN JUAN            PR           00924
   677838 JESUS Y OLGA AGOSTINI       URB VILLA GERENA                        316 CALLE ARCANGEL                                                                     MAYAGUEZ            PR           00680‐7141
   677839 JESUS ZAVALA PEREZ          LOS ANGELES                             WK 26 CALLE CAMELIA                                                                    CAROLINA            PR           00983
   677840 JESUSA ALAMO FEBRE          SICOSOCIAL TRUJILLO ALTO                                                                                                       Hato Rey            PR           009360000
   677841 JESUSA ALAMO FEBUS          HC 2 BOX 15369                                                                                                                 CAROLINA            PR           00986
   677842 JESUSA AMALBERT             COM LA CEIBA                            235 CALLE 9                                                                            JUNCOS              PR           00777
   677843 JESUSA ARROYO RIVERA        RR 11 BOX 3813                                                                                                                 BAYAMON             PR           00956
   677847 JESUSA COLLAZO RIVERA       PO BOX 1545                                                                                                                    AIBONITO            PR           00705
   677848 JESUSA FIGUEROA MORALES     C/O: MYRNA SOTO NAVEDO                  PO BOX 42003                                                                           SAN JUAN            PR           00940

   677849 JESUSA GONZALEZ VILLALONGO VALLE ARRIBA HEIGHTS                     DD 2 CALLE 213                                                                         CAROLINA            PR           00983
          JESUSA GONZALEZ Y/O JUANA
   677850 GONZALEZ                   VALLE ARRIBA HEIGHTS                     DD 2 CALLE 213                                                                         CAROLINA            PR           00983

   239032 JESUSA MIRANDA HERNANDEZ                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677851 JESUSA POMALES VAZQUEZ                      BO MAIZALES             HC 1 BOX 4204                                                                          NAGUABO             PR           00718
   677853 JESUSA RODRIGUEZ LOPEZ                      BOX 24007               CALLE COLON DEL VALLE                                                                  CAYEY               PR           00736
   239033 JESUSA ROJAS AGUEDA                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677856 JESUSA SANCHEZ RIVERA                       PO BOX 300                                                                                                     GUAYNABO            PR           00970
   677857 JESUSA SIERRA RIVERA                        P O BOX 21                                                                                                     RIO BLANCO          PR           00744
   239034 JESUSA VAZQUEZ MARTINEZ                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   239036 JESYCA LAUREANO RODRIGUEZ                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   677859 JESYMAR HERNANDEZ ROMAN                     2004 CALLE JOSE PALAU                                                                                          SAN ANTONIO         PR           00690‐1215
   239037 JESZEL SANCHEZ RODRIGUEZ                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   239038 JESZOR PRINTS CORP                          AREA DEL TESORO         DIVISION DE RECLAMACIONES                                                              SAN JUAN            PR           00902‐4140
   677860 JESZOR PRINTS T SHIRT                       PO BOX 19161                                                                                                   SAN JUAN            PR           00910‐1161
   239040 JESZUANNY PONCE APONTE                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677862 JET FORM CORP                               PO BOX 66512                                                                                                   CHICAGO             IL           60666‐3676
   677863 JET ROOTEN                                  COUNTRY CLUB            G P 11 AVE CAMPO RICO                                                                  CAROLINA            PR           00982
          JET ROOTER & PLUMBING
   677864 SERVICE                                     FAST ROOTER             PO BOX 4704                                                                            CAROLINA            PR           00984
          JET ROOTER & PLUMBING
   239041 SERVICE , INC.                              P. O. BOX 4704                                                                                                 CAROLINA            PR           00982‐0000
   677866 JETER ROBRES ALICEA                         PO BOX 371                                                                                                     TRUJILLO ALTO       PR           00977
   239043 JETHZABELLE RAMOS RIVERA                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   239044 JETSEN RODRIGUEZ SILVA                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JETSTREAM FEDERAL CREDIT                    FRANCISCO SAN MIGUEL
  1420099 UNION P.R. BRANCH                           FUXENCH                 BOX 190406                                                                             SAN JUAN            PR           00919
   239047 JETSYBELL ROSARIO                           REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   239048 JETTI MARIE GOMEZ FERSTL                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   239051 JETZABELL NIEVES ALVIRA                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   239052 JETZEL D SOLA                               REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677867 JETZENIA COLON RIVERA                       URB STA TERESITA        CP 14 AVE MARGINAL                                                                     PONCE               PR           00730
   677868 JETZENIA GONZALEZ RIVERA                    HC 01 BOX 7505                                                                                                 GUAYANILLA          PR           00656

   239053 JEUDHIELISE CARRION MORALES REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   677869 JEVERLYN VALDES ROMAN       URB VILLA EVANGELINA                    U 333 CALLE 12                                                                         MANATI              PR           00674



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  239054 JEVIAN TOLEDO DIAZ                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  677870 JEWELL OF GOLF                               URB QUINTAS DE CAMPECHE       509 CALLE BEGONIA                                                                      CAROLINA             PR         00987
  239055 JEWETT MD , DAVID G                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   239056 JEWETT ORTHOPAEDIC CLINIC                   8344 CLAIREMONT MESA BLVD     SUITE 201                                                                              SAN DIEGO            CA         92111

   239057 JEWETT ORTHOPAEDIC CLINIC PA 1285 ORANGE AVE                                                                                                                     WINTER PARK          FL         32789
   677871 JEWISH HOSPITAL              PO BOX 1370                                                                                                                         LOUISVILLE           KY         40201
          JEWISH RENAISSANCE MEDICAL
   239058 CENTER                       ATTN MEDICAL RECORDS                         272‐A HOBART ST                                                                        PERTH AMBOY          NJ         08861‐0000
   239059 JEY ROMERO TOSADO            REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   239060 JEY TIRE & SUPER ESPECIAL JOEL              PO BOX 2060                                                                                                          AIBONITO             PR         00705
   677872 JEY`S CAFE                                  124 CALLE ESPIRITU SANTO      BO LAS CUEVAS                                                                          LOIZA                PR         00772
   677873 JEYDEE RIVERA TORRES                        PO BOX 612                                                                                                           COROZAL              PR         00783
   239061 JEYMARIE COLON SANCHEZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   677874 JEYRIAM BUILDERS INC                        HC 1 BOX 5047                                                                                                        JUNCOS               PR         00777
   239062 JEYSA MIRANDA COLLAZO                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   677875 JEYSEN A PAGAN PALLENTS                     HC 2 BOX 8488                                                                                                        QUEBRADILLAS         PR         00678
   677876 JEYSEN SERRA NEGRON                         HC 01 BOX 2183                                                                                                       MOROVIS              PR         00687

   239063 JEYSHALEE D MASSA MENENDEZ                  REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   239064 JEYSKA FIGUEROA FELICIANO                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   677877 JEYSON ACOSTA VITALI                        SECTOR LAS FLORES             13 CALLE 5                                                                             JUANA DIAZ           PR         00795
   677879 JEYSSA M ROBLES DIAZ                        URB VILLA CAROLINA            8 BLQ 218 CALLE SOL                                                                    VILLA CAROLINA       PR         00987
          JEYSUSVETTE CAMACHO
   239065 MENDEZ                                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   239066 JEYVIER JESUS CINTRON OCASIO                REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   239068 JEZABEL CORDOVA ASTACIO                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   239069 JEZABELL M MARTINEZ SEDA                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   677880 JEZAIDA MATEO ORTIZ                         EXT JARDINES DE ARROYO        B 4 CALLE X                                                                            ARROYO               PR         00714

   677881 JEZENIA SANTIAGO CONCEPCION PALMA SOLA                                    HC 01 BOX 9077                                                                         CANOVANAS            PR         00729
   239071 JEZER ALERS PEREZ           REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   239072 JEZRAEL PEREZ FUENTES       REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   677882 JEZREEL I DE JESUS RIVERA                   JARDS DE CAROLINA             A38 CALLE E JARD DE CAROLINA                                                           CAROLINA             PR         00987
   239074 JEZZEL MARTINEZ BUTLER                      REDACTED                      REDACTED                     REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   677883 JF ADVERTISING INC                          COSTA DE ORO EDIF TIRADO      C 3 CALLE MARGINAL SUITE 7                                                             DORADO               PR         00646
   239075 JF CONSULTING GROUP LLC                     P O BOX 3129                                                                                                         VEGA ALTA            PR         00692‐3129

   239078 JF EDUCATIONAL SERVICES, INC. BOX 662                                                                                                                            OROCOVIS             PR         00720
   677884 JF ENVIRONMENTAL               PO BOX 11943                                                                                                                      SAN JUAN             PR         00922‐1943
          JF MEDICAL & SUPPLIES SERVICES
   239080 CORP                           P O BOX 345                                                                                                                       BAYAMON              PR         00960
   239081 JF MEDICAL&SUPPLIES CORP       PO BOX 345                                                                                                                        BAYAMON              PR         00960
   239082 JF OFFICE FURNITURE            MANSIONES REALES E34                       CALLE ALFONSO XIII                                                                     GUAYNABO             PR         00969
   677885 JF OFFICE FURNITURE INC        MANS REALES                                E 34 CALLE ALFONSO XIII                                                                GUAYNABO             PR         00969
   239083 JF PROMOTION                   P O BOX 4956                               SUITE 308                                                                              CAGUAS               PR         00726
   239084 JF PSYCHIATRIC SERVICES PSC    107 AVE ORTEGON                            SUITE 301                                                                              GUAYNABO             PR         00966‐2519

   677886 JF TRANSMISSION                             207 AVE JOSE DE DIEGO OESTE                                                                                          CAYEY                PR         00736



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          JFA GEOLOGICAL &
   239085 ENVIROMENTAL SCIENTISTS                     PO BOX 250423                                                                                                       AGUADILLA           PR           00604‐0423

   677887 JFA Y/O JULIO ALVARADO COLON HC 02 BOX 5726                                                                                                                     MOROVIS             PR           00687
   677888 JFC SECURITY                 P O BOX 1410                                                                                                                       CAYEY               PR           00737
   239087 JFJ CONTRACTORS INC          PO BOX 207                                                                                                                         LAS PIEDRAS         PR           00771
   239088 JFL INTL INC                 COND SEGOVIA APT 307                          650 SERGIO CUEVAS                                                                    SAN JUAN            PR           00918
   239089 JG AUTO AIR PART PLUS        PO BOX 1846                                                                                                                        YAUCO               PR           00698‐1846
                                       AVE TNTE NELSON MARTINEZ
   239090 JG AUTO SOLUTIONS            LOTE 3 ALT FLAMBOYAN                                                                                                               BAYAMON             PR           00959
   239091 JG BAREA LAW OFFICE          TRIPLE S PLAZA BUILDING                       100 GRAND BLVD #112                                                                  SAN JUAN            PR           00926
          JG ENTERPRISES DISTRIBUTORS
   239093 CORP                         QUINTAS DE SAN LUIS                           A 4 C/ DALI                                                                          CAGUAS              PR           00725
          JG ENTERPRISES DISTRIBUTORS CALLE DALI A4 QUINTAS SAN
   239094 CORP.                        LUIS                                                                                                                               CAGUAS              PR           00725
   239095 JG LEARNING SERVICE          PO BOX 223                                                                                                                         COROZAL             PR           00783
  1256597 JG LOCK SERVICE              REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   239096 JG ORTIZ INC                 PO BOX 3262                                                                                                                        MAYAGUEZ            PR           00681
                                       CALLE PLAZA 13 G‐10 QUINTAS
   677889 JG SERVICENTRO INC           DEL RIO                                                                                                                            BAYAM0N             PR           00961‐3022
   239097 JG TRADING CORP              PO BOX 223                                                                                                                         COROZAL             PR           00783
   239100 JGPB APPRAISERS              EDIF. SAN MARTIN SUITE 401                    1065 AVE. PONCE DE LEON                                                              SAN JUAN            PR           00909
   239101 JHA ENGINEERING INC          COND PARQUE DE LA VISTA                       APTO 312‐B                                                                           SAN JUAN            PR           00924
          JHARLYN QUINONES DBA QUICK
   239102 DELIVERY                     AREA DEL TESORO                               DIV DE CONCILIACION                                                                  SAN JUAN            PR           00902‐4140
          JHARLYN QUINONES MOLINA      COND. ALTAVISTA TORRE 1 APT.
   239104 DBA QUICK DELIVE             7‐B CARR 833                                                                                                                       GUAYNABO            PR           00969‐0000
   239105 JHARLYN QUINONEZ MOLINA      REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   239106 JHASIRY CORDERO DE LA CRUZ                  REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   677891 JHAVANI GARCIA RIVERA                       URB LOS ANGELES H 35 CALLE C                                                                                        CAROLINA            PR           00979
          JHESEN D SANTIAGO FARGAS
   677892 /MARISOL FARGAS                             HC 2 BOX 14461                                                                                                      CAROLINA            PR           00987
   239108 JHOALY GOMEZ MORALES                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   239109 JHOEL ROMAN ROSARIO                         REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JHOEVANNY GONZALEZ
   239110 MIRANDA                                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677893 JHOMARIE RIVERA PEREZ                       URB VILLA DEL CARMEN           223 CALLE SEGOVIA                                                                    PONCE               PR           00716‐2105
   239111 JHOMARY GONZALEZ SIERRA                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677894 JHON A GUERRA                               TT 4 CALLE 16 ALTOS 2                                                                                               CAGUAS              PR           00725
   239113 JHONELL VELAZQUEZ RESTO                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   239114 JHONY RODRIGUEZ CONGOLINO                   REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   239115 JHORDAN TORRES MOLINA                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677895 JHOSEAN RAMOS MONTALVO                      68 BRISAS DEL CARIBE                                                                                                PONCE               PR           00728‐5305
   239116 JHOSEL TORRES BATISTA                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   239117 JHUAN BERROCALES CINTRON                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JI COMMUNICATIONS & MEDIA                   PARKSIDE PLAZA LOTE 14 SUITE
   239118 GROUP                                       330                            METRO OFFICE PARK                                                                    GUAYNABO            PR           00968
          JI TRANSPORTE URBANO INC
   239119 DBA                                         METRO TRUCK & CAR RENTAL       P O BOX 29849                                                                        SAN JUAN            PR           00929‐2849



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  239120 JIAAN J RAMOS SANTIAGO                       REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  239122 JIBRIL VAZQUEZ PEREZ                         REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  239123 JICHEL Z ROJAS                               REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  239124 JIE TING DENG                                REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  677896 JIESSY J MONSERRATE CHINEA                   URB DORADO DEL MAR    AA3 VILLAS DE PLAYA II                                                              DARADO               PR         00646
  239125 JIFFY ONE HOUR CLEANERS                      EL CEREZAL                                                                                                SAN JUAN             PR         00926
  239126 JIGGIRI RECORDS INC                          PO BOX 13730                                                                                              SAN JUAN             PR         00908
  239129 JIKA ELECTRICAL CORP                         COMUNIDAD BRENAS      LOTE 257 CARR 693                                                                   VEGA ALTA            PR         00692
  677898 JILDANIE FELICIANO PLAZA                     HC 02 BOX 6732                                                                                            ADJUNTAS             PR         00601
         JILENDY M MALDONADO
  239130 HERNANDEZ                                    REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   239131 JILKA E RODRIGUEZ RODRIGUEZ                 REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   677899 JILKIA COLON GUADALUPE                      PO BOX 1564                                                                                               ARROYO               PR         00714
   239132 JILL CORDERO MARTINEZ                       REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   239134 JILL J MARTINEZ LEDUC                       REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   677900 JILL MARIE BOFILL MORALES                   HC 1 BOX 1593                                                                                             CABO ROJO            PR         00623
   677901 JILL R CRUZ RODRIGUEZ                       PO BOX 482                                                                                                LAS MARIAS`          PR         00670
   239136 JILLIAM G FELICIANO LOPEZ                   REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   239138 JIM A FELICIANO SEGUI                       REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   239139 JIM A TORRES GARCIA                         REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   239141 JIM LACEN QUINONES                          REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   239142 JIM O GARCIA DIAZ                           REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   677903 JIM RIVERA                                  COM MARIANO COLON     SOLAR 725                                                                           COAMO                PR         00769
   677904 JIM RIVERA RIGAU                            32 CALLE BARBOSA                                                                                          CABO ROJO            PR         00623
   239143 JIM RODRIGUEZ DAVILA                        REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   677906 JIM TOWER SERVICE                           BO JUNQUITO           HC 04 BOX 5064                                                                      HUMACAO              PR         00791
          JIMAR MARIE NEGRON DE LA
   239144 ROSA                                        REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   239147 JIMARIE GARCIA CRUZ                         REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   239148 JIMARIS ROSARIO DIAZ                        REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   239149 JIMARYS TORRES OCASIO                       REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   239151 JIMENA FORERO MONTANA                       REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   239152 JIMENA MARINO NIETO                         REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   677910 JIMENEZ & FERNANDEZ SUCR.                   PO BOX 13097                                                                                              SANTURCE             PR         00908
          JIMENEZ &RODRIGUEZ BARCELO
   677911 AIA                                         1701 PONCE DE LEON    SUITE 206                                                                           SAN JUAN             PR         00912
          JIMENEZ ACEVEDO MD,
   239159 ROLANDO                                     REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   239162 JIMENEZ ACEVEDO, DIANA                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   677912 JIMENEZ BORIA                               COND LAS GLADIOLAS    EDIF 300 APT 70                                                                     SAN JUAN             PR         00917
                                                      MICHELLE SILVESTRIZ
  1420100 JIMENEZ CADILLA, THALIA                     ALEJANDRO             PO BOX 13282                                                                        SAN JUAN             PR         00908
   239357 JIMENEZ CARLO MD, RICKY                     REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
          JIMENEZ CASTANON MD,
   239373 GERSON                                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   239398 JIMENEZ COLON MD, EMILIO                    REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   239399 JIMENEZ COLON MD, NATALIA                   REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   239400 JIMENEZ COLON MD, SALVADOR REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   239401 JIMENEZ COLON, ALEJANDRA   REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   239459 JIMENEZ CRUZ & PENA        TORRE CITIBANK                         EN ACROPOLIS PISO 14                                                                SANTO DOMINGO                               DOMINICAN REPUBLIC



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                                                                                     PMB 133 1353 AVE. LUIS
  1420101 JIMÉNEZ CUBERO, MARTÍN I.                   YARLENE JIMÉNEZ ROSARIO        VIGOREAUX                                                                               GUAYNABO            PR           00966‐2700

   239494 JIMENEZ CUBERO, MARTIN IVAN REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   239503 JIMENEZ DAVILA MD, CHRISTINE REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   239504 JIMENEZ DAVILA MD, LISSETTE                 REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   239546 JIMENEZ DIAZ, GLADYS E                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   239660 JIMENEZ GARCIA MD, JOSE C                   REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   239691 JIMENEZ GONZALEZ MD, JUAN R                 REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   239736 JIMENEZ GONZALEZ, NORA E.                   REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JIMENEZ HERNANDEZ MD,
   239761 THOMAS                                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677913 JIMENEZ LOPEZ E HIJOS INC                   7 EDIF CARIBBEAN               1564 AVE MIRAMAR STE 5                                                                  ARECIBO             PR           00612‐2878
          JIMENEZ MALDONADO MD,
   239903 JORGE D                                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JIMENEZ MARCHAND MD,
   239941 CARLOS                                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   239973 JIMENEZ MARTINEZ MD, ELENA                  REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JIMENEZ MATTA, EDUARDO                                                     THE HATO REY CENTER 268
  1420102 ANTONIO                                     SARA CHICO MATOS               PONCE DE LEON STE 1123                                                                  SAN JUAN            PR           00918
   240018 JIMENEZ MD, LAURA                           REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   240019 JIMENEZ MD, WALDA                           REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   240066 JIMENEZ MENDEZ, EDNA M.                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JIMENEZ MERCADO MD, ANGEL
   240081 M                                           REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JIMENEZ MERCADO MD,
   240082 OSVALDO                                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   240186 JIMENEZ NIEVES, MARANGEL                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   240208 JIMENEZ OLIVO MD, ELIAS R                   REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   240220 JIMENEZ ORTIZ, ANTONIA M.                   REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   240298 JIMENEZ PEREZ MD, EDIL                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   240363 JIMENEZ PIZARRO, JULIA                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   240371 JIMENEZ PONS MD, FRANCISCO                  REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   240454 JIMENEZ RIVERA INC.                         PO BOX 1826                                                                                                            BAYAMON             PR           00960
   240455 JIMENEZ RIVERA MD, JORGE L                  REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   240456 JIMENEZ RIVERA MD, JOSE                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                     EDIF. DARLINGTON OFIC. 905
  1420103 JIMÉNEZ RIVERA, JOSÉ ORLANDO CARLOS IVÁN DÍAZ DÍAZ                         1007 AVE. MUÑOZ RIVERA                                                                  SAN JUAN            PR           00925

   677914 JIMENEZ RODRIGUEZ BARCELO                   PONCE DE LEON 1701 SUITE 206                                                                                           SANTURCE            PR           00909

   677915 JIMENEZ RODRIGUEZ VIRGINIA                  URB CAGUAS NORTE               AD12 CALLE HAWAII                                                                       CAGUAS              PR           00725
  1420104 JIMÉNEZ RODRÍGUEZ, CELSO                    HÉCTOR MORENO LUNA             APARTADO 1364                                                                           UTUADO              PR           00641
          JIMENEZ RODRIGUEZ, EDWIN                                                   CALLE BETANCES #67 APARTADO
  1420105 JOMAR                                       ROBERTO CARDONA UBIÑAS         265                                                                                     AGUADILLA           PR           00605
   240600 JIMENEZ RODRIGUEZ, LILLIAM                  REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   240605 JIMENEZ RODRIGUEZ, MARIA M                  REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  1420106 JIMÉNEZ ROHENA, MARIBEL                     PANTOJA OQUENDO, JOSEFINA      PO BOX 21370                                                                                  SAN JUAN            PR           00928
   240637 JIMENEZ ROJAS MD, RICARDO                   REDACTED                       REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   240690 JIMENEZ ROSARIO, JOSE L.                    REDACTED                       REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   240792 JIMENEZ SANTOS, FELICIA                     REDACTED                       REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   240798 JIMENEZ SANTOS, TERESA                      REDACTED                       REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   677916 JIMENEZ SERVICE STATION TEX                 BO HOYA MALA                   HC‐1 BOX 10378                                                                                SAN SEBASTIAN       PR           00685
   240828 JIMENEZ SOTO MD, JUAN B                     REDACTED                       REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   240829 JIMENEZ SOTO MD, JULIO E                    REDACTED                       REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                     PO BOX 363585 HATO REY F.D.
  1420107 JIMENEZ TAPIA, DIOMEDES                     JIMÉNEZ TAPIA, DIOMEDES        ROOSEVELT AVE.                                                                                SAN JUAN            PR           00936‐3585
                                                                                     PO BOX 363585 HATO REY F.D.
  1420108 JIMÉNEZ TAPIA, DIOMEDES                     JIMÉNEZ TAPIA, DIOMEDES        ROOSEVELT AVE.                                                                                SAN JUAN            PR           00936‐3585
  1420109 JIMENEZ TORO, DAVID                         ADRIAN DIAZ DIAZ               URB BAIROA CALLE 32 AM17                                                                      CAGUAS              PR           00725
   240958 JIMENEZ VEGA MD, JUAN                       REDACTED                       REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JIMENEZ VELAZQUEZ MD,
   240978 IVONNE                                      REDACTED                       REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   240993 JIMENEZ VELEZ MD, AITSA                     REDACTED                       REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677918 JIMENEZ VIDAL ISRAEL E                      URB PARQUE DEL MONTE           C/CIBUCO AA‐24                                                                                CAGUAS              PR           00727
                                                                                     FACILIDAD MÉDICA DE PONCE
  1422871 JIMÉNEZ, ALEXIS                             ALEXIS JIMENEZ (CONFINADO)     500                                MOD‐E CELDA 204 PO BOX 9008                                PONCE               PR           00732
   241034 JIMENEZ, CHARLES N                          REDACTED                       REDACTED                           REDACTED                    REDACTED                       REDACTED            REDACTED     REDACTED      REDACTED
  1420110 JIMENEZ, CORALY                             JELKA L. DUCHESNE SANABRIA     PO BOX 9020703                                                                                SAN JUAN            PR           00902‐0703
   677919 JIMMARIE E ODIOTT RUIZ                      CARR 4403 BO MARIAS                                                                                                          A¥ASCO              PR           00610
   241060 JIMMELI MALDONADO RUIZ                      REDACTED                       REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   241061 JIMMELIZABETH SOLIVAN VEGA                  REDACTED                       REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241062 JIMMETT CAMACHO SALCEDO                     REDACTED                       REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241063 JIMMI RIOS PEREZ                            REDACTED                       REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241066 JIMMIE ALAMO ADORNO                         REDACTED                       REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241067 JIMMIE LOPEZ CATALA                         REDACTED                       REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241068 JIMMIE MARTINEZ ALBINO                      REDACTED                       REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677920 JIMMIE VELEZ FELICIANO                      HC 3 BOX 17964                                                                                                               QUEBRADILLAS        PR           00678
          JIMMY A HERNANDEZ
   677923 TOLENTINO                                   BO LA DOLORES                  PARC 175 CARR 3 R 959 KM 0 5                                                                  RIO GRANDE          PR           00745

   677924 JIMMY A TORRES IRIZARRY                     BAIROA PARK                    Q 24 PARQUE LOS ROMANCES                                                                      CAGUAS              PR           00725

   241069 JIMMY A. ALVARADO MELENDEZ REDACTED                                        REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241071 JIMMY ALICEA NUNEZ           REDACTED                                      REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677927 JIMMY AMBERT CORTES          P O BOX 6908                                                                                                                                BAYAMON             PR           00960
   677928 JIMMY ANDINO COLON           URB SANTIAGO IGLESIAS                         1436 CALLE LUISA CAPETILLO                                                                    SAN JUAN            PR           00921
   677929 JIMMY ARROYO LOYOLA          HC‐02 PO BOX 5460                                                                                                                           Penuelas            PR           00624
   241072 JIMMY ASENCIO FLORES         REDACTED                                      REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677930 JIMMY AUTO REPAIR            PO BOX 1069                                                                                                                                 LUQUILLO            PR           00773
          JIMMY AUTO REPAIR/ SR. JIMMY
   241074 MARTINEZ                     APARTADO 1335                                                                                                                               COROZAL             PR           00783
                                       MANSIONES DE MONTE CASINO
   677922 JIMMY BAEZ SALGADO           1                                                                          350                                                              TOA ALTA            PR           00953

   677932 JIMMY BRIGNONI MONT                         111 CALLE LOURDES SALLABERRY                                                                                                 MAYAGUEZ            PR           00680
   677933 JIMMY CAPPIELO RIVERA                       HC 09 BOX 1752                                                                                                               PONCE               PR           00731‐9808



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          JIMMY CARRERAS / BLUE JAYS
   677934 BASEBALL TEAM                               URB VERDE MAR            345 CALLE 9                                                                              PUNTA SANTIAGO      PR           00741
   677935 JIMMY CASTRO RODRIGUEZ                      URB VILLA BORINQUEN      629 J R GAUTIER                                                                          SAN JUAN            PR           00921
   241075 JIMMY CASTRO SANTIAGO                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JIMMY CHRISTIAN COLONDRES
   241076 LOPEZ                                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677936 JIMMY COLONDRES RUBET                       VILLA DEL CARMEN         P17 CALLE 30                                                                             PONCE               PR           00731
          JIMMY CONCEPCION
   241000 HERNANDEZ                                   REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677937 JIMMY CORTES AMARAL                         HC 1 BOX 9503                                                                                                     PENUELAS            PR           00624‐9740

   241018 JIMMY D HERNANDEZ MORALES                   REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241077 JIMMY DE JESUS COLON                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677939 JIMMY DE JESUS RODRIGUEZ                    P O BOX 9165                                                                                                      SAN JUAN            PR           00908
   677940 JIMMY DIAZ FEBRES                           PO BOX 1243                                                                                                       CAROLINA            PR           00986‐1243
   241078 JIMMY DIAZ VAZQUEZ                          REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677942 JIMMY E CHANCIN FLORES                      URB ROOSEVELT            376 CALLE CARBONEL                                                                       SAN JUAN            PR           00918
   677943 JIMMY FELICIANO CABAN                       BO MANI                  CARR 341 BZN 5114                                                                        MAYAGUEZ            PR           00680
   241079 JIMMY FERNANDEZ VEGA                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677946 JIMMY FERRER MALDONADO                      HC 3 BOX 8798                                                                                                     BARRANQUITAS        PR           00794‐9715
          JIMMY FERRER MALDONADO
   677947 DBA EMPRESAS JBR                            HC 03 BOX 8798                                                                                                    BARRANQUITAS        PR           00794‐9715
   241080 JIMMY FLORES ORTIZ                          REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241083 JIMMY FRANQUI GONZALEZ                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241084 JIMMY GALARZA RIVERA                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677949 JIMMY GARCIA HERNANDEZ                      PO BOX 7126                                                                                                       PONCE               PR           00732
   241085 JIMMY GONZALEZ LUGO                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   241087 JIMMY GONZALEZ VILLANUEVA                   REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241088 JIMMY GRULLON ABREU                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677950 JIMMY GUZMAN BAEZ                           BDA MORALES              1022 CALLE 9                                                                             CAGUAS              PR           00725
   677921 JIMMY HALL APONTE                           URB VEREDAS DEL RIO      6091 CALLE CRISTAL                                                                       TOA ALTA            PR           00953

   241089 JIMMY HERNANDEZ RODRIGUEZ REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677951 JIMMY I AYALA MERCADO     HC 1 BOX 7515                                                                                                                       SAN GERMAN          PR           00683

   241090 JIMMY I HERNANDEZ GONZALEZ REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241091 JIMMY J COLON ACEVEDO      REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   677952 JIMMY J COREANO CRUZ                        BO AMELIA                18 CALLE SANTA ROSA DE LIMA                                                              GUAYNABO            PR           00965
   677953 JIMMY J JULIA                               2437 CALLE EURELA        APT 4‐A                                                                                  PONCE               PR           00713
   241092 JIMMY J REYES NEGRON                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241093 JIMMY J ROMAN DE JESUS                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241094 JIMMY J SANTOS LATORRES                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241095 JIMMY JIMENEZ ECHEVARRIA                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JIMMY LARACUENTE H/N/C
   677954 CAFETERIA DOMPLIN                           3 CALLE CAPITAN CORREA                                                                                            PONCE               PR           00731
   677955 JIMMY LOPEZ MERCADO                         HC 05 BOX 29858                                                                                                   CAMUY               PR           00627
   677956 JIMMY LOPEZ TORRES                          URB LA VISTA             VIA HORIZONTE B 12                                                                       SAN JUAN            PR           00924
   677957 JIMMY MALDONADO GOTAY                       JARD DEL CARIBE          YY 45 CALLE 49                                                                           PONCE               PR           00728

   241096 JIMMY MALDONADO SANDOVAL REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          JIMMY MALDONADO/WANDALIZ
   241097 FIGUEROA                  REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677958 JIMMY MARCANO CASTRO      URB VERDE MAR                                   1057 CALLE 20                                                                     PTA SANTIAGO        PR           00741
   241098 JIMMY MARIN ALGARIN       REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JIMMY MARTINEZ SAGARDIA‐‐
   241099 MARGARITA ALAGO           REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241100 JIMMY MARTINEZ TORRES     REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241101 JIMMY MEDINA              REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677960 JIMMY MORENO VAZQUEZ      COND TORRES DEL PARQUE 1                        APARTADO 501 N                                                                    BAYAMON             PR           00956
   241103 JIMMY NEGRON PADILLA      REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677961 JIMMY NIEVES NIEVES       COMUNIDAD PALMER NOBOA                          SOLAR 427                                                                         AGUADA              PR           00669
   241105 JIMMY ORTIZ CAMACHO       REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241106 JIMMY PABON QUINONEZ      REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241108 JIMMY PEREZ RAMIREZ       REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241109 JIMMY QUINONEZ QUINONEZ   REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241111 JIMMY R JIMENEZ SALDANA   REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677963 JIMMY RIOS GYPSUM         VILLA DEL REY 1RA SECC                          L 11 HANOVER                                                                      CAGUAS              PR           00725

   677964 JIMMY RIVERA CARRASQUILLO                   PO BOX 1123                                                                                                     CANOVANAS           PR           00729
   241113 JIMMY RIVERA MARTINEZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241114 JIMMY RIVERA VIANA                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   241115 JIMMY RODRIGUEZ CARABALLO                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   241116 JIMMY RODRIGUEZ HERNANDEZ                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JIMMY RODRIGUEZ
   677965 MALDONADO                                   PO BOX 922                                                                                                      ARECIBO             PR           00688
   241117 JIMMY RODRIGUEZ PAGAN                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241118 JIMMY RODRIGUEZ ZAMORA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JIMMY ROSARIO /JJ PARAMEDIC
   241121 AMBULANCE                                   PO BOX 1368                                                                                                     OROCOVIS            PR           00720

   677967 JIMMY RUIZ CARRILLO                         4372 HILLCREST FARMS CIRCLE                                                                                     VIRGINIA BEACH      VA           23456
   241122 JIMMY S USED CARS INC                       PO BOX 1587                                                                                                     HORMIGUEROS         PR           00660
   677968 JIMMY SANCHEZ SANTIAGO                      PO BOX 7126                                                                                                     PONCE               PR           00732
   241123 JIMMY SANTIAGO BIGAY                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241124 JIMMY SANTIAGO BURGOS                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241125 JIMMY SIERRA DEL ORBE                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241126 JIMMY SOJO RIVERA                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677969 JIMMY SOLIVAN CARTAGENA                     HC 44 BOX 12903                                                                                                 CAYEY               PR           00736‐9714
   241127 JIMMY SOTO LEDESMA                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JIMMY STEVENS PRODUCTIONS
   677970 INC                                         PO BOX 6272 LOIZA STATION                                                                                       SAN JUAN            PR           00914
   677971 JIMMY TORRES CRUZ                           URB HILL MANSIONES            BG9 CALLE 68                                                                      SAN JUAN            PR           00926
   677972 JIMMY TORRES MOLL                           PO BOX 10531                                                                                                    PONCE               PR           00732
   677973 JIMMY TORRES RIVERA                         URB REXVILLE                  AL27 CALLE 64                                                                     BAYAMON             PR           00957‐4228
   677974 JIMMY TROCHE                                P O BOX 572                                                                                                     YAUCO               PR           00698
          JIMMY VAZQUEZ/NAPOLEON
   241130 VAZQUEZ/MARIA                               REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   677975 JIMMY VELEZ MARTINEZ                        HC 01 BOX 3990                                                                                                  LARES               PR           00669

   241131 JIMMY W GONZALEZ GONZALEZ REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  241134 JIMMY ZORRILLA MERCADO                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  241135 JIMMYS AUTO PARTS                            PO BOX 140446                                                                                                ARECIBO              PR         00614
                                                      CALLE CARRION MADURO Y
   677978 JIMMYS CASH & CARRY                         DEGETAU 15                                                                                                   JUANA DIAZ           PR         00795
   677979 JIMMYS MUFFLERS                             BO ESPINAL               56 CALLE E                                                                          AGUADA               PR         00602
   241136 JIMMYS USED CAR                             PO BOX 1587                                                                                                  HORMIGUEROS          PR         00660
   241137 JIN E FENG                                  REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   241138 JINAYRA TORRES HUERTAS                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   241140 JINESKA M TORRES DAVILA                     REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   677980 JINET BORIA GOMEZ                           HC 01 BOX 5972                                                                                               GURABO               PR         00778
                                                      BO DOMINGUITO SECTO
   677982 JINETTE COLON MEDINA                        BOQUERON                                                                                                     ARECIBO              PR         00612
   677983 JINETTE RIVERA HUERTAS                      BO SAINT JUST            104 C CALLE 2                                                                       TRUJILLO ALTO        PR         00976
   677984 JINETTE SANTANA DUMAS                       RES EL PRADO             EDF 3 APT 22                                                                        SAN JUAN             PR         00924
   241141 JINETZA JUSINO VEGA                         REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   677985 JINEYRA BURGOS MELENDEZ                     PUEBLO NUEVO V           3 CALLE                                                                             VEGA BAJA            PR         00693
   677986 JING HO WING                                PO BOX 810305                                                                                                CAROLINA             PR         00981
   241142 JINITZA M PEREZ FELICIANO                   REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   241143 JINITZA VELAZGUEZ SANABRIA                  REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   677987 JINNETTE ABAD COLLAZO                       BO BLONDET 33 CARR 3                                                                                         GUAYAMA              PR         00784
   677989 JINNETTE MORALES DIAZ                       PO BOX 926                                                                                                   OROCOVIS             PR         00720‐0926
   677991 JINNIEALY E ARROYO ACOSTA                   P O BOX 590                                                                                                  YAUCO                PR         00698
   677992 JINNIFER I MARTINEZ                         BO LAVADEROS             48A CALLE FLAMBOYAN                                                                 HORMIGUEROS          PR         00660
   677993 JINNY DIAZ SANTIAGO                         878 BARRIADA MALDONADO                                                                                       PENUELAS             PR         00624
   241144 JINNY FORTUNO BORRERO                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   241145 JINYI WU                                    REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   241146 JIODANNY K QUILES VELAZQUEZ REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   241147 JIOMAR J PACHECO FELICIANO                  REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   241148 Jiomar Zapata Rosario                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   677994 JIOMARA RAMOS AYALA                         2370 CANTERA             CALLE SANTA ELENA INT                                                               SAN JUAN             PR         00915
   241149 JIOMARIE PINEIRO BAEZ                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   241151 JIOVANY RIVERA RODRIGUEZ                    REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   241152 JIOVANY Z DE JESUS GONZALEZ                 REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                      850 STE 101 CONVENTION
   677995 JIRA ASSOCIATES                             CENTER DRIVE                                                                                                 LAS VEGAS            NY         89109

          JIRAH GENERAL CONTRACTORS &
   241153 CONSULTING                  PO BOX 1927                                                                                                                  CAGUAS               PR         00726‐1927
          JIRALDES CASASNOVAS MD,
   241154 LAUREANO                    REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   241155 JIRAM A JANA RIVERA         REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   241157 JIRAU BELTRAN, JANNINA A.   REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   241159 JIRAU BUS LINE              P O BOX 1027                                                                                                                 LARES                PR         00669‐1027
   241160 JIRAU BUS LINE CORP         BOX 99                                                                                                                       ANGELES              PR         00611
   241162 JIRAU BUS LINE CORP.        BOX 99                                                                                                                       UTUADO               PR         00611‐0000
   241163 JIRAU BUS LINE INC          APARTADO 99 ANGELES                                                                                                          ANGELES              PR         00611‐0099
   677997 JIRAU JOSE LUIS             HC 2 BOX 18228                                                                                                               ARECIBO              PR         00612
   241182 JIREH A. MONTILLA ACOSTA    REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   677998 JIREH AUTO KOOL             RES ELEONOR ROOSVELT                     EDIF 2 APT 9                                                                        MAYAGUEZ             PR         00680



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          JIREH CATERING Y/O PEDRO J
   241183 COLON                                       URB RIVER EDGE HILLS         B 75 CALLE RIO SABANA                                                                LUQUILLO            PR           00773
          JIREH EQUIPMENT SERVICES
   241184 CORP                                        A 29 EXT SAN JOSE                                                                                                 GURABO              PR           00778‐2700
   677999 JIREH HOUSE IMPROVEMENT                     SECTOR LA CURVA              3029 AVE MILITAR                                                                     ISABELA             PR           00662

   241185 JIRELYS M GARCIA HERNANDEZ                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678000 JIRMARY VILLALOBOS KUILAN                   BO INGENIO                   256 CALLE JAZMIN                                                                     TOA BAJA            PR           00949
   241186 JISEL E MENDEZ COLON                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   720 CALLE JUAN LOPEZ
   678001 JISEL MENDEZ RODRIGUEZ                      URB EST LA TRINITARIA        SANTIAGO                                                                             AGUIRRE             PR           00704

   241187 JISELL MARTINEZ OPPERHAIMER                 REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241188 JISELLY CARABALLO DIAZ                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241189 JISETTE VIERA CARRASQUILLO                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678002 JISMARIE ORTIZ DAVILA                       URB LOMAS VERDES             4D 19 CALLE POMPON                                                                   BAYAMON             PR           00956
   241190 JISSELIZ SANCHEZ CINTRON                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678003 JIST THE JOB SEARCH PEOPLE                  720 N PARK AVE                                                                                                    INDIANAPOLIS        IN           46202
   678004 JIST WORKS INC                              PO BOX 6069                                                                                                       INDIANAPOLIS        IN           46206‐6069
   241192 JITSY M ROSA FIGUEROA                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241193 JITTISA TONGTIP                             REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678005 JIVA INVESTMENTS INC                        PO BOX 892                                                                                                        TRUJILLO ALTO       PR           00977
   241195 JIXS UNIFORMS                               103 FONT MARTELO WEST                                                                                             HUMACAO             PR           00791‐3404
   678007 JJ & G CONSTRUCTIONS INC                    P O BOX 1702                                                                                                      YAUCO               PR           00698
   241196 JJ ADVERTISING INC                          P O BOX 236                                                                                                       BAJADERO            PR           00616‐0236
   241197 JJ AUTO AIR                                 HC 23 BOX 5977                                                                                                    JUNCOS              PR           00777
   241198 JJ BAREA FOUNDATION INC                     AVE PONCE DE LEON            255 MCS PLAZA SUITE 514                                                              SAN JUAN            PR           00917
   241199 JJ BEBY GOLDKIDS                            URB BAIROA                   CALLE 11 B CR 5                                                                      CAGUAS              PR           00725
   241200 JJ BEBY GOLDKINDS                           URB RES BAIROA               CR5 CALLE 11B                                                                        CAGUAS              PR           00725
          JJ CARDONA SECURITY GROUP
   241201 INC                                         PO BOX 6800                                                                                                       BAYAMON             PR           00960
   241202 JJ COMUNICATION                             ALTOS DE LA FUENTES          K‐O CALLE 8                                                                          CAGUAS              PR           00726
          JJ ELECTRIC DBA JOSE J RIVERA
   241204 PEREZ                                       JARDINES DEL CARIBE          YY30 CALLE 48                                                                        PONCE               PR           00728
   241206 JJ GONZALEZ INC                             PO BOX 11                                                                                                         RINCON              PR           00677
   678008 JJ RENTAL INC                               HC 02 BOX 10340                                                                                                   JUANA DIAZ          PR           00795
   241208 JJ SCHOOL BUS L.L.C.                        HC 2 BOX 71050                                                                                                    COMERIO             PR           00782
   678009 JJ SUAREZ                                   P O BOX 192704                                                                                                    SAN JUAN            PR           00919‐2704
   241209 JJ USED CARS INC                            PO BOX 1587                                                                                                       HORMIGUEROS         PR           00660
   241210 JJC EXTERMINATING CORP                      P O BOX 989                                                                                                       COMERIO             PR           00782
   241211 JJC EXTERMINATING CORP.                     PO BOX 989                                                                                                        COMERÍO             PR           00782‐0000
   678010 JJC STORE                                   PO BOX 1916                                                                                                       TRUJILLO ALTO       PR           00977
   241213 JJJ RANCH INC                               PO BOX 1037                                                                                                       NAGUABO             PR           00718
   241214 JJM CONSTRUCTION, CORP.                     PO BOX 2083                                                                                                       SAN SEBASTIAN       PR           00685‐2083
   241215 JJM CONSTRUTION CORP                        P O BOX 2083                                                                                                      SAN SEBASTIAN       PR           00685
   678011 JK PRINTERS                                 243 CALLE PARIS SUITE 1644                                                                                        SAN JUAN            PR           00917
   678012 JK TROPHY & ACCESSORIES                     PO BOX 1455                                                                                                       RINCON              PR           00677
   678013 JKL FILMS                                   589 PEREIRA LEAL                                                                                                  SAN JUAN            PR           00923‐1903
          JL AIR CONDITIONING &
   241219 REFRIGERATION SERV                          PO BOX 194482                                                                                                     SAN JUAN            PR           00919‐4483
          JL AUTO PAINTS, PARTS & BODY                #139 HACIENDA MI QUERIDO
   241220 SERVICES                                    VIEJO                                                                                                             DORADO              PR           00646
   241222 JL AUTO PARTS                               P O BOX 800925               COTO LAUREL                                                                          PONCE               PR           00780



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  241224 JL HARWARE SUPPLY                             PO BOX 6183                                                                                                        CAGUAS            PR           00726‐6183
  678015 JL MOTORS CORP                                PO BOX 5112                                                                                                        YAUCO             PR           00698
  678016 JL MUFFLER SERVICE ETC                        PO BOX 3299                                                                                                        AGUADILLA         PR           00605
  678017 JL PLUMBING                                   PO BOX 1237                                                                                                        RIO GRANDE        PR           00745
         JL PROPERTIES INC JORGE
  678018 LEZCANO                                       PMB 134                     HC 1 BOX 29030                                                                         CAGUAS            PR           00725‐8900
         JL SANTIAGO MATEO &
  241227 ASOCIADOS INC                                 URB REMANSO TAINO           243 CAGUAX                                                                             CAROLINA          PR           00987
  241228 JL SIGNS CORP                                 VALLES DE TORRIMAR          BOX 200 SUITE C 308                                                                    GUAYNABO          PR           00966
  241229 JL TRANSPORT INC                              BOX 214                                                                                                            BARRANQUITAS      PR           00794
  241230 JL TRASPORT INC                               PO BOX 214                                                                                                         BARRANQUITAS      PR           00794
  241231 JL WW INC                                     1213 AVE PONCE DE LEON                                                                                             SAN JUAN          PR           00907
  241232 JLB & ASSOCIATES                              PO BOX 10308                                                                                                       PONCE             PR           00932
  241233 JLB GRUP LLC                                  PO BOX 10308                                                                                                       PONCE             PR           00732
  241234 JLC SERVICIO AUTOMOTRIZ                       PO BOX 31                                                                                                          CAGUAS            PR           00726
  241235 JLD ELECTRICAL SERVICE INC                    HC 75 BOX 1715                                                                                                     NARANJITO         PR           00719
         JLDV ESTUDIOS ECONOMICOS
  241236 INC                                           PO BOX 1918                                                                                                        TRUJILLO ALTO     PR           00977‐1918
  678019 JLM & CO CPA CSP                              PO BOX 10495                                                                                                       PONCE             PR           00732

          JLM SERVICIOS PROFESIONALES
   241239 EDUCATIVO PR                                 153 CALLE LAMELA                                                                                                   QUEBRADILLAS      PR           00678
          JLM SERVICIOS PROFESIONALES
          EDUCATIVOS DE PUERTO RICO,
  1256598 INC.                                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  1256599 JLM TRANSPORT INC                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   241240 JLM TRANSPORTE INC.                          HC 02 BOX 13597                                                                                                    GURABO            PR           00778
          JLMA ACCOUNTING, TAX AND                                                 SUITE 202 MONTEHIEDRA
   241241 BUSNESS ADVISORS, PSC.                       9410 AVE LOS ROMERO         CIMEM                                                                                  SAN JUAN          PR           00926
          JLMA INFORMATION                                                         400 AVE AMERICO MIRANDA
   241242 TECHNOLOGY GROUP                             EDIF ORIGINAL COSVI         4TO PISO                                                                               SAN JUAN          PR           00927
          JLMA INFORMATION                             EDIF. ORIGINAL COSVI AVE
   241243 TECHNOLOGY INC                               AMERICO MIRANDA # 400       4TO PISO                                                                               SAN JUAN          PR           00927
                                                                                   400 AVE AMERICO MIRANDA
   241245 JLMA LEARNING CENTER CORP                    EDIF ORIGINAL COSVI         4TO PISO                                                                               SAN JUAN          PR           00927
                                                       600 BOULEVARD DE LA
   241246 JLMA THE LEARNING CENTER                     MONTANA                     APARTADO 460                                                                           SAN JUAN          PR           00926
   241247 JLR ‐ ANESTHESIA                             PO BOX 948075                                                                                                      MAINTLAND         FL           32794‐8075
   241250 JLT INVESTMENT INC                           HC03 BOX 8714                                                                                                      LARES             PR           00669
          JM AUTOMATIC TRANSMISSION
   241252 INC                                          PO BOX 2944                                                                                                        JUNCOS            PR           00777
          JM AUTOMATICC
   241254 TRANSMISSIONS, INC.                          PO BOX 2944                                                                                                        JUNCOS            PR           00777
   678020 JM BARANGANO BIOMEDICAL                      808 AVE FERNANDEZ JUNCOS                                                                                           SAN JUAN          PR           00907
   678021 JM BLANCO INC                                PO BOX 71480                                                                                                       SAN JUAN          PR           00936‐8580
   241255 JM CARIBBEAN BUILDERS CO                     PMB 958                     PO BOX 2500                                                                            TOA BAJA          PR           00951
          JM CARIBBEAN DISTRIBUTORS
   678022 INC                                          MSC 443                     138 AVE WINSTON CHURCHILL                                                              SAN JUAN          PR           00926‐6023
   678023 JM CONSTRUCTION INC                          MONTE SUBALIO               F 8 CALLE 11                                                                           GURABO            PR           00778
   241257 JM ELECTRIC SERVICES                         HC 4 BOX 9116                                                                                                      CANOVANAS         PR           00729
                                                       CALLE ALMENDRO 1201 URB LOS
   241259 JM ENTERTAINMENT                             COLOBOS PARK                                                                                                       CAROLINA          PR           00985
   241262 JM LEDUC GROUP                               URB FRONTERAS               151 CARLOS SEGNET                                                                      BAYAMON           PR           00961



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          JM MALAVE SERVICE Y/O JOHN
   241265 MALAVE SILVA                 P O BOX 800804                                                                                                                     COTO LAUREL          PR           00780
   831435 JM Mortuary Services         HC 05 Box 50337                                                                                                                    Mayaguez             PR           00680
          JM PROFESSIONAL & TRAINIGN
   241267 GROUP INC                    142 CALLE JOSE CELSO BARBOSA                                                                                                       MOCA                 PR           00676
          JM PROFESSIONAL PLANING                                             FRANCISCO SEIN ST SUITE PH B
   241268 CONSULTANTS PC               COND PARK TOWE                         25                                                                                          SAN JUAN             PR           00917
   678024 JM RENTALS INC               PO BOX 687                                                                                                                         CULEBRA              PR           00775
   678025 JM SIGNS & PRINTING INC      HC 01 BOX 4120                                                                                                                     COROZAL              PR           00783
          JM SMITH CORP. DBA QS‐1 DATA
   241270 SYSTEMS                      201 WEST ST. JOHN ST.                                                                                                              STARTANBURG          SC           29306‐0000
          JMA TECHNOLOGY & BUSINESS
   678026 ADVISOR INC                  CIUDAD JARDIN 1 ADELFA 4                                                                                                           TOA ALTA             PR           00953
   241271 JMB CONSULTING INC           PO BOX 315721                                                                                                                      CAYEY                PR           00737
  1256600 JMB FOOD INC                 REDACTED                               REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JMB FOOD INC/ EL MESON DE LA
   241272 ROOSEVET                     PMB 339                                PO BOX 19400                                                                                SAN JUAN             PR           00919‐4000
                                                                              CITY VIEW PLAZA II 48 CARR 165
   241274 JMC HOMES, INC.                             IRS/ CARMEN R.CIFREDO   SUITE 2000                                                                                  GUAYNABO             PR           00968‐8000
   678027 JMG CETRO MOTORS INC                        HC 01 BOX 27780                                                                                                     CAGUAS               PR           00725
                                                                              URB VILLA NEVAREZ 1072 CALLE
  1420111 JMG INVESTMENT              EDELMIRO SALAS GONZALEZ                 17                                                                                          SAN JUAN             PR           00927
   241278 JMJ LLC                     PO BOX 41211                                                                                                                        SAN JUAN             PR           00940‐1211
   241279 JML INVESTMENT CORP         URB HERMANOS DAVILA                     CALLE 3A #142                                                                               BAYAMON              PR           00959
   241281 JML INVESTMENT INC          URB HERMANOS DAVILA                     CALLE 3 A #142                                                                              BAYAMON              PR           00959
   241283 JMM CONTRACTORS, INC.       PMB 511                                 #89 AVE DE DIEGO SUITE 105                                                                  SAN JUAN             PR           00927‐0000
          JMO STRUCTURAL ENGINEERING,
   241285 PSC                         PMB 166 P.O. BOX 4971                                                                                                               CAGUAS               PR           00726‐4971
   678028 JMR CONTRACTOR              PO BOX 4453                                                                                                                         VEGA BAJA            PR           00694
          JMR DEVELOMPENT GROUP,
   241286 CORP.                       P O BOX 1317                                                                                                                        CABO ROJO            PR           00623
   678029 JMR MACHINE SHOP            HC 05 BOX 52076                                                                                                                     MAYAGUEZ             PR           00680
   241287 JMRTE CORPORATION           PO BOX 92                                                                                                                           AIBONITO             PR           00705
   241288 JMT LAND/ HACIENDA ISABEL   GARDEN HILLS                            E1 CALLE SUN VALLEY                                                                         GUAYNABO             PR           00966
          JMT TECHNOLOGY SOLUTIONS    340 AVE FELISA RINCON DE
   241289 OF PTO RICO INC             GAUTIER                                 PASEO DEL BOSQUE APTO 2601                                                                  SAN JUAN             PR           00926
   241290 JN CONSTRUCTION INC.        PO BOX 486                                                                                                                          ISABELA              PR           00662
   241291 JN CONTRACTORS INC          HC 04 BOX 1405                                                                                                                      MOCA                 PR           00676
   678030 JN INDUSTRIES CORP          PO BOX 7999                             SUITE 226                                                                                   MAYAGUEZ             PR           00681‐7999
   241293 JNA FINANCIAL, LLC          PO BOX 8299                                                                                                                         NAPLES               FL           34101‐8299
   241294 JNM NEW COMM INC.           URB JARDINES DEL CARIBE                 D6 CALLE 3                                                                                  CAYEY                PR           00736
   678031 JNS PROMOTIONS INC          URB VISTAMAR                            900 CALLE NAVARRA                                                                           CAROLINA             PR           00983
   241295 JO A OCASIO                 REDACTED                                REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   241296 JO ANGELIE DURAN            REDACTED                                REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   678033 JO ANN GUZMAN RODRIGUEZ     PO BOX 206                                                                                                                          CAROLINA             PR           00986
   241297 JO ANN HERNANDEZ            REDACTED                                REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   241299 JO ANN JUSINO MOLINUEVO     REDACTED                                REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   241300 JO ANN M RIVERA ESPADA      REDACTED                                REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   678034 JO ANN M SANCHEZ COTTO      RR 2 BOX 7684                                                                                                                       CIDRA                PR           00739

   241301 JO ANN MARIE CABRERA RIVERA REDACTED                                REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JO ANN ROOCHELL CAIRO
   241302 CENDENO                     REDACTED                                REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  678035 JO ANN STEINHARDT                            VILLA SEVILLA                   869 RABELL                                                                         SAN JUAN            PR           00924

   241303 JO ANNA VAZQUEZ RODRIGUEZ                   REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   678037 JO ANNE HERRERO RAMOS                       SIERRA                          33 9 CALLE 31                                                                      BAYAMON             PR           00961
   241309 JO NANCY CRUZ RIVERA                        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   678040 JO TELECOMM INC                             PO BOX 235                                                                                                         TOA BAJA            PR           00951

   678041 JO/VEL GAS DE CAGUAS                        SALIDA CAGUAS A SAN LORENZO 43 CALLE GEORGETTI                                                                     CAGUAS              PR           00725
   241311 JOABEL ORTIZ APONTE                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   678042 JOACIM FRED GARCIA                          PO BOX 353                                                                                                         GUAYAMA             PR           00784
   678043 JOACO'S SERV STA                            PO BOX 566                                                                                                         JAYUYA              PR           00664
   678044 JOACOS SERVICE STATION                      CARR. 141 KM. 1.6                                                                                                  JAYUYA                           00664

   241312 JOAHMED CINTRON CASANOVA                    REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   241313 JOAHN RIVERA PARRILLA                       REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   678045 JOAHNIA ZAYAS BERMUDEZ                      P O BOX 2313                                                                                                       JUNCOS              PR           00777
   241314 JOALENNY PEREZ ROLON                        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   241315 JOALICE M RIVERA LAWRENCE                   REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   678046 JOALISSE GRAFALS RIVERA                     SECT LA CHARCA BO ARENALES      P O BOX 4862                                                                       AGUADILLA           PR           00605
   241316 JOALISSE MENDOZA RAMOS                      REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   241318 JOALISSE MIRANDA VELAZQUEZ                  REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   241319 JOALIVETTE FELICIANO ORTIZ                  REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   241320 JOALJA INC                                  472 AVE TITO CASTRO SUITE 204                                                                                      PONCE               PR           00716
          JOALJA INT EDUCATION
   241321 ENTERTAINMENT                               472 AVE TITO CASTRO SUITE 204                                                                                      PONCE               PR           00716
   241322 JOAMIL A REINOSA PIZARRO                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JOAN A KIRCHHEIMER
   678050 MANDELBAUM                                  HC 2 BOX 14926                                                                                                     ARECIBO             PR           00612
   241323 JOAN A OJEDA BABILONIA                      REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   241324 JOAN A ROMAN HERNANDEZ                      REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   678051 JOAN A WILLINGWYER ESTRELLA VILLA CLEMENTINA                                H5 CALLE MARGARITA                                                                 GUAYNABO            PR           00969
                                                                                      AUDIOVISUAL PLAZA DEL
   678052 JOAN ALVAREZ VALENCIA                       FUNDACION I VESTIGACION         CARMEN 4                                                                           VALENCIA                         46003
   678048 JOAN ARCE CUEVAS                            RR 1 BOX 45161                                                                                                     SAN SEBASTIAN       PR           00685

   241325 JOAN ARLENE OJEDA BABILONIA                 REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   678053 JOAN AYALA NEVAREZ                          HC 02 BOX 13454                                                                                                    SAN GERMAN          PR           00983
   678054 JOAN BONILLA DE JESUS                       PO BOX 364548                                                                                                      SAN JUAN            PR           00936‐4548
   678055 JOAN BOOSE                                  PO BOX 34074                                                                                                       FORT BUCHANAN       PR           00934‐0074

   241327 JOAN C BORRERO RODRIGUEZ                    REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   241328 JOAN C CASTRERO CORREA                      REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   241330 JOAN CABRERA MERCADO                        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   678056 JOAN CARRILLO FRONTANES                     URB CROWN HILLS                 185 CALLE CARITE                                                                   SAN JUAN            PR           00926
   678057 JOAN CASTRO CASTRO                          PO BOX 916                                                                                                         TRUJILLO ALTO       PR           00977
   241331 JOAN CASTRO ROMAN                           REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   241332 JOAN CORALES CABRERA                        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   678049 JOAN CRUZ RIVERA                            HC 02 BOX 12775                                                                                                    HUMACAO             PR           00791 9646



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  241334 JOAN D MARTINEZ VELEZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   241336 JOAN D PELLARIN VONDERHEID                  REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   241337 JOAN D ROSARIO BERMUDEZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   678059 JOAN DALY                                   8900 NORWOOD AVENUE                                                                                             PHILADELPHIA         PA         19118
   241338 JOAN DE JESUS FIGUEROA                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   241339 JOAN DE LEON RIVERA                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   678060 JOAN DEL VALLE QUINTANA                     EL TUQUE NUEVA VIDA        F 29 CALLE 1                                                                         PONCE                PR         00731
   241340 JOAN DUPREY CLEMENTE                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   678062 JOAN E DELGADO GONZALEZ                     HC 2 BOX 7284                                                                                                   LARES                PR         00669
   241342 JOAN E LOPEZ                                REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   241343 JOAN F BAEZ MEDINA                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   241344 JOAN F CASTRO RAMIREZ                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   241345 JOAN F ROSA RIVERA                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   678063 JOAN G MARCANO VELAZQUEZ                    URB VICTORIA HEIGHTS       D 8 CALLE 2                                                                          BAYAMON              PR         00959
   678064 JOAN GAMES GERENA                           STA JUANITA                QQ 33 CALLE 4                                                                        BAYAMON              PR         00956
   241346 JOAN GARCIA ROSA                            REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   241347 JOAN GOMEZ HERNANDEZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   241349 JOAN GUILBE JIMENEZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   678065 JOAN HERNANDEZ RIOS                         HC 1 BOX 7758                                                                                                   BARCELONETA          PR         00617

   241350 JOAN HERNANDEZ RODRIGUEZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   241351 JOAN I CAJIGAS                              REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   241352 JOAN I GRACIA SANTIAGO                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   678067 JOAN I PEREZ MEDINA                         BO TIBES CARR 503 KM 8 3   BOX 1553                                                                             PONCE                PR         00731‐9712
          JOAN I PLAZA/H/N/C LESS THAN
   678068 $25.FOR HER                                 PO BOX 1202                                                                                                     HORMIGUEROS          PR         00660
   241353 JOAN J COLON PAGAN                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   241354 JOAN J TORRES RODRIGUEZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   241356 JOAN JIMENEZ LOPEZ                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   678069 JOAN JIMENEZ MARRERO                        JARD METROPOLITANO         965 CALLE VOLTA                                                                      SAN JUAN             PR         00927
          JOAN JONERICK PANELL
   678070 /PROVIDENCIA TORRES                         BO QDA NEGRITO             CARR 181 R 851 KM 4 0                                                                TRUJILLO ALTO        PR         00976
   678072 JOAN K ROMAN CARRION                        HC 02 BOX 15287                                                                                                 CAROLINA             PR         00987
   241357 JOAN L CINTRON RIVERA                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   678073 JOAN L PORTALATIN MAYSONET                  PO BOX 2153                                                                                                     VEGA BAJA            PR         00694
   241358 JOAN L TORRES ROMAN                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   678074 JOAN LAMOSO PERUGINI                        PO BOX 21365                                                                                                    SAN JUAN             PR         00928
          JOAN LUIS ECHEVARRIA
   241359 CALDERON                                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JOAN M ALMEDINA
   678075 QUIRINDONGO                                 URB PRADERAS DEL SUR       44 CALLE ALMENDRO                                                                    SANTA ISABEL         PR         00757
   241360 JOAN M BATIZ ERONS                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   678076 JOAN M BELMONT ESTRONZA                     P O BOX 21976                                                                                                   SAN JUAN             PR         00931
   241361 JOAN M CANTRES GONZALEZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   241362 JOAN M COLLAZO RODRIGUEZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   678077 JOAN M COLON                                URB PERLA DEL SUR          2651 CALLE LAS CARROZAS                                                              PONCE                PR         00731
   678078 JOAN M CRUZ RIVERA                          HC 03 BOX 10793                                                                                                 JUANA DIAZ           PR         00795‐9205
   678079 JOAN M CRUZ SANTANA                         P O BOX 1415                                                                                                    HATILLO              PR         00659
   678080 JOAN M GARCIA HERNANDEZ                     URB LA MONSERRATE          CALLE 3                                                                              HORMIGUERO           PR         00660



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   241364 JOAN M GONZALEZ FIGUEROA                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678081 JOAN M IRIZARRY ALVARADO                    252 CALLE SAN JOSE                                                                                                 SAN JUAN            PR         00912
   241365 JOAN M LOPEZ RAMOS                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241366 JOAN M MARQUEZ RIVERA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241367 JOAN M MENDEZ CAMACHO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241368 JOAN M MORALES                              REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241369 JOAN M REYES SANCHEZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678084 JOAN M RICCI                                P O BOX 188                                                                                                        CULEBRA             PR         00775
   241370 JOAN M RIVERA QUINONES                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241371 JOAN M RIVERA RODRIGUEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678085 JOAN M ROCHE RODRIGUEZ                      ESTANCIAS DEL M             12001 CALLE GUAJANA                                                                    VILLALBA            PR         00766

   678086 JOAN M RODRIGUEZ BLOISE                     232 AVE ELEONOR ROOSEVELT                                                                                          SAN JUAN            PR         00907
   241372 JOAN M RODRIGUEZ BONILLA                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   241373 JOAN M RODRIGUEZ MARTINEZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241374 JOAN M RODRIGUEZ RIVERA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   678087 JOAN M RODRIGUEZ RODRIGUEZ EXT SANTA ELENA                              S 10 CALLE 16                                                                          GUAYANILLA          PR         00656
   241375 JOAN M SANCHEZ SANTIAGO    REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241376 JOAN M SOBRADO RIVERA      REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241377 JOAN M VARGAS CRUZ         REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   241378 JOAN M. MENDOZA MARTINEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   241379 JOAN M. VAQUEZ MALDONADO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JOAN MAGALY PENALOZA
   241380 SANTIAGO                                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241381 JOAN MAIZ INEZA                             REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678089 JOAN MARIANI ORTIZ                          204 CALLE SANTA FE                                                                                                 GUAYANILLA          PR         00656
   241382 JOAN MARIE NIEVES RUBERTE                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241383 JOAN MARIE VAZQUEZ SOLIS                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678090 JOAN MENDOZA MARTINEZ                       HC 1 BOX 3734                                                                                                      SANTA ISABEL        PR         00757
   241385 JOAN MILITZA TORRES DIAZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678091 JOAN MILLAN TORRES                          HC 01 PO BOXX 8065                                                                                                 GUAYANILLA          PR         00656
   241386 JOAN MORANO PEREZ                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678092 JOAN NIEVES BUTLER                          COND FLORIMAR GARDEN        EDIF C APTO 203                                                                        SAN JUAN            PR         00926

   678093 JOAN O MELENDEZ RODRIGUEZ                   ESTANCIAS DEL RIO           108 CALLE CEIBA                                                                        CANOVANAS           PR         00729
   241387 JOAN ORTIZ LOPEZ                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241388 JOAN QUINONES ELIZA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678094 JOAN REYES SANTIAGO                         HC 02 BOX 6547                                                                                                     FLORIDA             PR         00650‐9105
   241389 JOAN RIOS CRUZ                              REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678096 JOAN RIVERA ORTA                            VEVE CALZADA                129 CALLE 7                                                                            FAJARDO             PR         00738
   241390 JOAN RIVERA ORTIZ                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678097 JOAN RIVERA RIOS                            HC 01 BOX 29030‐381                                                                                                CAGUAS              PR         00725

   678099 JOAN RIVERA TORRES                          SANTIAGO IGLESIAS           1442 RAFAEL ALONSO TORRES                                                              SAN JUAN            PR         00921
   241391 JOAN ROBLES RIVERA                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678100 JOAN RODRIGUEZ COLON                        HC 1 BOX 11679                                                                                                     CAROLINA            PR         00985

   241392 JOAN RODRIGUEZ RODRIGUEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  241393 JOAN RODRIGUEZ VAZQUEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  678101 JOAN ROMAN RIVERA                            EXT EL PRADO                73 CALLE F                                                                          AGUADILLA         PR         00605
  241394 JOAN ROVIRA RODRIGUEZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  678103 JOAN SANTIAGO ALFONSO                        URB BRISAS DE HATILLO       D6 CALLE TERESA ARANA                                                               HATILLO           PR         00659
  678104 JOAN SEPULVEDA ORTIZ                         RES. TORNOS DIEGO           EDIF 2 APT. 37                                                                      PONCE             PR         00731
  678105 JOAN SILVESTRINI                             P O BOX 7891 PMB 186                                                                                            GUAYNABO          PR         00970
  678106 JOAN TORRENS AGUIRRE                         ALTS DE SAN PEDRO           V 42 CALLE IGNACIO                                                                  FAJARDO           PR         00738
  678107 JOAN TORRES VEGA                             VILLA GUADALUPE             KK 21 CALLE 12                                                                      CAGUAS            PR         00725‐4040
  241396 JOAN VAZQUEZ MERCADO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  678108 JOAN VAZQUEZ SANTIAGO                        VETERAN PLAZA STATION       PO BOX 33017                                                                        SAN JUAN          PR         00933‐0017
  241397 JOAN VELAZQUEZ CRUZ                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  241398 JOAN VERA RIVERA                             REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  241399 JOANA AMEZQUITA RIVERA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  241400 JOANA ESCOBAR                                REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  678109 JOANA J VELEZ MELON                          JARDINES DEL CARIBE         BZN CB 6                                                                            ISABELA           PR         00662
  678111 JOANA PELLOT CORTES                          4 M290 COSTA BRAVA                                                                                              ISABELA           PR         00662
  678113 JOANA REYES ROSADO                           HC 1 BOX 14497                                                                                                  BARCELONETA       PR         00612‐9710
  241402 JOANA ROBLES MELENDEZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  241403 JOANA RODRIGUEZ                              REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  241405 JOANALIZ TORRES VILLAFANE                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  241406 JOANCE TORO NORIEGA                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  678114 JOANDALI CASTRO TOLEDO                       HC 01 BOX 7500                                                                                                  GURABO            PR         00778
  241408 JOANE I. CRUZ RODRIGUEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  241409 JOANELIS CONTRERAS MASSA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   241410 JOANELL F VERESTIN RAMIREZ                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241411 JOANELLIE VARGAS CRUET                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241412 JOANET MATOS FALCON                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   678117 JOANETTE SOTO DEL VALLE                     5TO CENTENARIO              CALLE REINA ISABEL 770                                                              MAYAGUEZ          PR         00680
   241413 JOANGEL TORO MARIN                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   678118 JOANGELIE DURAN ROSARIO                     SAN JUAN PARK               EDIF BB APTO 102                                                                    SAN JUAN          PR         00909
   678119 JOANI M CAMACHO                             HC 01 BOX 8630                                                                                                  CABO ROJO         PR         00623‐9712
   241414 JOANIC Y. SANTOS PIMENTEL                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   678120 JOANIE DILONE NINA                          15 CALLE BOSQUE APT 35                                                                                          MAYAGUEZ          PR         00681
   678121 JOANIE FLORES PINEDA                        PO BOX 21365                                                                                                    SAN JUAN          PR         00926‐1365
   241416 JOANIE MORALES SANTIAGO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241417 JOANIE RAMOS CORDERO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241418 JOANIE Y SANTOS PIMENTEL                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241419 JOANIEE RODRIGUEZ                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241420 JOANINA MARTINEZ KIANEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   678123 JOANIRA ROMAN DIAZ                          HC 04 BOX 54750                                                                                                 GUAYNABO          PR         00971
   241423 JOANIS MASQUIDA VAZQUEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                  10 CALLE 15 PARC HILL
   678125 JOANISABEL GONZALEZ                         HILLS BROTHERS              BROTHERS                                                                            SAN JUAN          PR         00924
   241424 JOANISEL SANTOS PAGAN                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241425 JOANITZA I. VEGA CRUZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241426 JOANLISE N ESQUILIN RIVERA                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOANLLY MALDONADO
   678126 VELAZQUEZ                                   PROYECTO 141 LAS VEGAS      76 CALLE 14                                                                         CATA¨O            PR         00962

   678127 JOANLY CASTRO TORRES                        662 CARR GREGORIO IGARTUA                                                                                       AGUADILLA         PR         00603
   241427 JOANLY PAGAN QUINONES                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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          JOANMARIE BERRIOS / GLORIA
   241428 MARRERO                                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   241429 JOANMARIE BERRIOS MARRERO REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   241430 JOANMARIE PADILLA KAJIWARA REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241431 JOANMARIE VEGA ROQUE       REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678128 JOANN A M PAGAN GONZALEZ                    AVE DIEGO VELAZQUEZ    D 20 EL CONQUISTADOR                                                              TRUJILLO ALTO       PR           00976
   678130 JOANN ALVAREZ GARC IA                       REPTO VALENCIANO       K12 CALLE A                                                                       JUNCOS              PR           00777

   678131 JOANN CARRION             SABANA HOYOS PARC NUEVAS                 276 CALLE E                                                                       ARECIBO             PR           00612
   678132 JOANN CEPEDA MARTINEZ     URB METROPOLIS                           2M 69 CALLE 56                                                                    CAROLINA            PR           00987
   241433 JOANN D TORRES RIVERA     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241434 JOANN E PENA RESTO        REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678134 JOANN FELICIANO NIEVES    RES LAS MARGARITAS                       EDIF 44 APT 688                                                                   SAN JUAN            PR           00915
   241435 JO‐ANN HERNANDEZ CRUZ     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241436 JOANN HERNANDEZ VELEZ     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678135 JOANN I VEGA MOJICA       PARC CASTILLO                            E 26 CALLE NARDOS                                                                 MAYAGUEZ            PR           00680
   241440 JOANN LOPEZ TORRES        REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241441 JOANN M GARCIA MEJIAS     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241442 JOANN M GONZALEZ          REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678136 JOANN M VELEZ PARRILLA    URB VILLA FONTANA                        3JS 35 VIA 54                                                                     CAROLINA            PR           00983
                                    CALLE MCKINLEY M‐46 PARK
   678137 JO‐ANN MALDONADO GONZALEZ VILLE                                                                                                                      GUAYNABO            PR           00969
          JOANN MARIE CINTRON
   241443 GONZALEZ                  REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOANN MARIE RIVERA
   241444 RODRIGUEZ                 REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241445 JOANN MARTINEZ FIGUEROA   REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOANN MILAGROS HERNANDEZ
   241446 PENA                      REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678138 JOANN N SALGADO CORREA    P O BOX 90000 PMB 3058                                                                                                     COROZAL             PR           00783
   241447 JOANN NIEVES ORTIZ        REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678139 JOANN ORTIZ RAMOS         PARC LOMAS VERDES                        395 CALLE DIAMANTE                                                                MOCA                PR           00676
   241448 JOANN RIOS QUINTANA       REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678140 JOANN RODRIQUEZ SANTOS    RR 1                                                                                                                       CIDRA               PR           00739
   678141 JOANN SANTIAGO RIVERA     LA PROVIDENCIA                           G‐26 CALLE8                                                                       PONCE               PR           00731
   678142 JOANN VALENTIN GONZALEZ   HC 59 BOX 5440                                                                                                             AGUADA              PR           00602 9642
   241449 JOANNA ALAGO GONZALEZ     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678144 JOANNA ALGORRI TORRES     HC 5 BOX 55231                                                                                                             CAGUAS              PR           00725‐9209
   678143 JOANNA AULI ARCHILLA      VILLA NEVAREZ                            367 CALLE 24                                                                      SAN JUAN            PR           00927
   678145 JOANNA BAUZA GONZALEZ     PO BOX 16409                                                                                                               SAN JUAN            PR           00908‐6409
   678146 JOANNA COMACHO ACOSTA     HC 1 BOX 10831                                                                                                             LAJAS               PR           00667
   241451 JOANNA DE JESUS CHEVEREZ  REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678147 JOANNA DE JESUS ZAYAS     VILLAS REALES                            420 VIA ESCORIAL                                                                  GUAYNABO            PR           00969
   678148 JOANNA FILION RODRIGUEZ   P O BOX 560129                                                                                                             GUAYANILLA          PR           00656
   241452 JOANNA GARCIA JIMENEZ     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241453 JOANNA GARCIA ROMAN       REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678149 JOANNA GONZALEZ RODRIGUEZ RR 36 BOX 6249                                                                                                             SAN JUAN            PR           00926
   678150 JOANNA HOJSAK             1 GUSTAVE LEVE PL BOX 1200                                                                                                 NEW YORK            NY           10029




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   678151 JOANNA I MARRERO RODRIGUEZ PO BOX 1595                                                                                                                           COROZAL             PR           00783
   678152 JOANNA ILLA                E 12 EXT VILLA DEL CARMEN                                                                                                             CAMUY               PR           00627
   678153 JOANNA L ALICEA RODRIGUEZ  P O BOX 41                                                                                                                            BARRANQUITAS        PR           00794

   678154 JOANNA L BELTRAN ALVARADO                   EXT ALTA VISTA               V V 4 CALLE 25                                                                          PONCE               PR           00716
   241455 JOANNA L LOPEZ AGOSTO                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   241456 JOANNA M ARROYO MARTINEZ                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241457 JOANNA M DAVIS DE LEON                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678155 JOANNA M GREGSON DIAZ                       PO BOX 9021112                                                                                                       SAN JUAN            PR           00902‐1112
   241458 JOANNA M PAGAN GONZALEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241459 JOANNA MARTINEZ OLIVERAS                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241460 JOANNA MERCADO RAMOS                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241461 JOANNA MORALES LOPEZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678158 JOANNA NEGRON                               ALTAVILLA ENCANTADA          49 CAMINO LAS VISTAS                                                                    TRUJILLO ALTO       PR           00976
   241462 JOANNA ORTEGA VALDES                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678159 JOANNA PACHECO RAMOS                        PO BOX 313                                                                                                           FAJARDO             PR           00738
   678160 JOANNA PADILLA SANCHEZ                      URB FLAMBOYANES              1‐23 CALLE 18                                                                           MANATI              PR           00674
   678161 JOANNA RAMOS ROJAS                          PO BOX 332133                                                                                                        PONCE               PR           00733‐2133

   678162 JOANNA RODRIGUEZ                            BO MIRAFLORES SECT BIAFARA   CARR 637 KM 1 4                                                                         ARECIBO             PR           00614
   678163 JOANNA RODRIGUEZ VELEZ                      BARRIADA RODRIGUEZ OLMO      6 CALLE E                                                                               ARECIBO             PR           00612
   678164 JOANNA ROSADO                               HC 2 BOX 6511                                                                                                        LARES               PR           00669
   241463 JOANNA RUIZ SIBERON                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678165 JOANNALY RAMOS RODRIGUEZ                    EXT SANTA ANA                F 13 CALLE ONIX                                                                         VEGA ALTA           PR           00692
   241464 JOANNE A TOMASINI MU¥IZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678166 JOANNE ALMENAS MORALES                      PMB 40 PO BOX 5103                                                                                                   CABO ROJO           PR           00623
   678167 JOANNE ARZOLA MORALES                       JARDINES DEL CARIBE          FF 21 CALLE 33                                                                          PONCE               PR           00728
          JOANNE BERGOCHEA
   241465 RODRIGUEZ                                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678168 JOANNE CORREA ROMAN                         HC 3 BOX 60032                                                                                                       ARECIBO             PR           00612
   678169 JOANNE DIAZ HERNANDEZ                       URB LA PROVIDENCIA           1Q 5 CA                                                                                 TOA ALTA            PR           00953
   241467 JOANNE GARCIA GUZMAN                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241468 JOANNE I PARDO MARQUEZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOANNE I RODRIGUEZ
   241470 RODRIGUEZ                                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678172 JOANNE M CARN ALVAREZ                       COND AVILA APT 14 D          CALLE COSTA RICA                                                                        SAN JUAN            PR           00917

   678173 JOANNE M FELICIANO IRIZARRY                 HC 01 BOX 7431                                                                                                       YAUCO               PR           00698
   241472 JOANNE M ORTIIZ TORRES                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678174 JOANNE M RODRIGUEZ                          SAN ANTON                    BOX 12 CALLE WICHIE TORRES                                                              PONCE               PR           00731

   241473 JOANNE M RODRIGUEZ NEGRON REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   241474 JOANNE M TRINIDAD ARLEQUIN REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOANNE M. MALDONADO
   241475 COLON                      REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678175 JOANNE MALAVE SANTOS       HC 1 BOX 4079                                                                                                                         VILLALBA            PR           00766

   241476 JOANNE MARIE SÁNCHEZ VIERA                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   678176 JOANNE MERCADO RODRIGUEZ                    P O BOX 485                                                                                                        VILLALBA            PR         00766
   241477 JOANNE PAYNE PREYOR                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JOANNE R RODRIGUEZ
   241478 ADDARICH                                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241479 JOANNE RAMOS GONZALEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
                                                                                  EDIF 1 APT 5 20 CALLE
   678177 JOANNE RAMOS SERRANO                        LAS CATALINAS               CALDERON                                                                               CAROLINA            PR         00984
   241480 JOANNE RIVERA PLAZA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241481 JOANNE RIVERA RIVERA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   678178 JOANNE RODRIGUEZ DE JESUS                   HC 03 BOX 11115                                                                                                    JUANA DIAZ          PR         00795
   241482 Joanne Rodriguez Rosa                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241483 JOANNE RODRIGUEZ SOLER                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678180 JOANNE ROMERO DIAZ                          PROYECTO GALATEO            E 29 CALLE 1                                                                           RIO GRANDE          PR         00745
   678181 JOANNE ROSALY                               P O BOX 1678                                                                                                       SAN JUAN            PR         00902
   241484 JOANNE S ALTIERI RIVERA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241485 JOANNE SOTOMAYOR PAGAN                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241486 JOANNE TORRES LUGO                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241487 JOANNE TORRES NIEVES                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241488 JOANNE TUCCI SANTINI                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241489 JOANNELY MARRERO CRUZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   678182 JOANNETTE CARMONA MEDINA                    BO SABANA SECA              521 C/ CORRA                                                                           TOA BAJA            PR         00952
   678183 JOANNETTE ROSA GONZALEZ                     RR 10 BOX 5013                                                                                                     SAN JUAN            PR         00926
   241490 JOANNIE CABRERA GONZALEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241491 JO‐ANNIE COSTA GONZALEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678185 JOANNIE COSTALES MEJIAS                     PO BOX 495                                                                                                         JAYUYA              PR         00664
   241492 JOANNIE CRUZ RIVERA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241493 JOANNIE FONSECA RIVERA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678186 JOANNIE HERNANDEZ SOTO                      BO PIEDRAS BLANCAS          APARTADO 170                                                                           AGUADA              PR         00602
   678187 JOANNIE LLANOS MILLAN                       RESIDENCIAL LOS MIRTOS      EDIF 5 APT 65                                                                          CAROLINA            PR         00987
   241494 JOANNIE MARTINEZ TOMEI                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   678190 JOANNIE MORAN CANALES                       CONDOMINIO VALENCIA PLAZA   307 CALLE ALMERIA APT 302                                                              SAN JUAN            PR         00923
   241495 JOANNIE PABON SOTO                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241496 JOANNIE PARRILLA NIEVES                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241497 JOANNIE RAMOS FELICIANO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241498 JOANNIE RIOS MULERO                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241499 JOANNIE ROBLES LOPEZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241500 JOANNIT RODRIGUEZ RIVERA                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241501 JOANNY CRUZ CARDONA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241502 JOANNY DELGADO LUQUE                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241503 JOANNY FIGUEROA DE LEON                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241505 JOANNY LLUCH OLIVENCIA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678192 JOANNY SANTIAGO RAMOS                       SAN FRANCISCO VILLAGE       EDIF 4 APT 447                                                                         CABO ROJO           PR         00623
   678193 JOANSKA GARCIA BERNABE                      PO BOX 328                                                                                                         NAGUABO             PR         00718
          JOANVELISE SANTIAGO
   678194 FIGUEROA                                    1353 CALLE ESTRELLA APT 4                                                                                          SAN JUAN            PR         00907
   678195 JOANY ALVARADO SANTIAGO                     VISTA VERDE                 201 CALLE ATLANTICO                                                                    MOROVIS             PR         00687
   678196 JOANY BOURDON                               P O BOX 1069                                                                                                       RIO GRANDE          PR         00745
   241508 JOANY RODRIGUEZ RIOS                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241509 JOANY TROCHE TORRES                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  678198 JOANYL MURIENTE ORTIZ                        SAN AGUSTIN                 421 ALCIDES REYES                                                                      SAN JUAN            PR         00923
  678199 JOANYNES AYALA QUILES                        RES MONTE HATILLO           EDF 24 APT 302                                                                         SAN JUAN            PR         00924
  678200 JOAO DA CONCEICAO SAUSA                      HC 01 BOX 9895                                                                                                     GURABO              PR         00778
  241510 JOAO HERNANDEZ ALGARIN                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  241511 JOAQUIM COMELLAS JIMENEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   241512 JOAQUIN A ARBOLAY AVEZUELA REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOAQUIN A CHONG NUNEZ/
   241513 SOLARTEK                   REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   678203 JOAQUIN A ORLANDI FIGUEROA                  URB PUERTO NUEVO            1164 CALLE 18 NE                                                                       SAN JUAN            PR         00920
          JOAQUIN A RODRIGUEZ
   678204 MORALES                                     P O BOX 1727                                                                                                       CANOVANAS           PR         00729 1727
          JOAQUIN ACEVEDO
   241514 FERNANDEZ/STARCO                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   241515 JOAQUIN ALBERTO, SANTIAGO                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241516 JOAQUIN ALICEA RODRIGUEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241517 JOAQUIN ALVAREZ MARRERO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678206 JOAQUIN ALVAREZ RIVERA                      PO BOX 41269 MINILLAS STA                                                                                          SAN JUAN            PR         00940
   678207 JOAQUIN AMADO ABADIA                        URB CUIDAD MASSO            G 57 CALLE 15                                                                          SAN LORENZO         PR         00754
   678208 JOAQUIN APARICIO                            PO BOX 32138                                                                                                       PONCE               PR         00732‐2138
   678209 JOAQUIN AUTO PIEZAS                         237 CALLE MCKINLEY                                                                                                 MAYAGUEZ            PR         00680
   241519 JOAQUIN B VISO ALONSO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678211 JOAQUIN BENITEZ                             AVE LAS PALMAS                                                                                                     SAN JUAN            PR         00907
   241520 JOAQUIN BERRIOS COLON                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOAQUIN C DE MARI
   241521 MONSERRATE                                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241523 JOAQUIN CANIZAL ROSADO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241524 JOAQUIN CAPELLA BARRETO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678213 JOAQUIN CARO RAMOS                          HC 2 BOX 6440                                                                                                      RINCON              PR         00677
   678214 JOAQUIN CELLULARS                           MANSIONES REALES            A 7 CALLE ISABEL                                                                       SAN GERMAN          PR         00683

   678216 JOAQUIN CHICO MALDONADO                     URB VALLE TOLIMA            127 CALLE JOSE I QUINTANA                                                              CAGUAS              PR         00725‐2336
   678217 JOAQUIN CINTRON VEGA                        HC 3 BOX 7871                                                                                                      BARRANQUITAS        PR         00794
   678218 JOAQUIN COLON AVILES                        URB VERSALLES Q21           CALLE 16                                                                               BAYAMON             PR         00959‐2132
   678220 JOAQUIN COLON COLON                         P O BOX 7068                                                                                                       MAYAGUEZ            PR         00681‐7068
   678221 JOAQUIN COLON RIVERA                        HC 1 BOX 6522                                                                                                      CIALES              PR         00638
   678222 JOAQUIN CORDERO TORRES                      PO BOX 21365                                                                                                       SAN JUAN            PR         00928‐1365
   241525 JOAQUIN CORREA ORTEGA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678223 JOAQUIN CORTES                              RR 6 BOX 11385                                                                                                     SAN JUAN            PR         00926
   241526 JOAQUIN COTTO HERNANDEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678224 JOAQUIN CREPI RIVERA                        RR 01 BOX 17167                                                                                                    TOA ALTA            PR         00787
   678225 JOAQUIN CRUZ GOTAY                          RR 6 BOX 9948                                                                                                      SAN JUAN            PR         00926
   678226 JOAQUIN DE JESUS                            HC 2 BOX 7166                                                                                                      UTUADO              PR         00641
   241527 JOAQUIN DE JESUS DURAN                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678227 JOAQUIN DEL RIO AVILES                      PO BOX 16159                                                                                                       SAN JUAN            PR         00908‐6159

   241531 JOAQUIN DEL RIO RODRIGUEZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241533 JOAQUIN DEL VALLE VEGA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678229 JOAQUIN DIAZ PULIDO                         URB VILLA PRADES            805 CALLE LUIS MIRANDA                                                                 HATILLO             PR         00659
   678230 JOAQUIN E FRESNEDA                          PO BOX 11653                                                                                                       SAN JUAN            PR         00910‐2753
   678231 JOAQUIN E OLIVER RIVERA                     COLINAS DEL BOSQUE          1150 CARR 2 APT 61                                                                     BAYAMON             PR         00959



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          JOAQUIN ECHEVARRIA
   241534 CHAPARRO                                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JOAQUIN ENCARNACION
   678232 HERNANDEZ                                   COND LOS NARANJALES     EDIF D 45 APT 213                                                                  CAROLINA             PR           00985
   678233 JOAQUIN ESQUILIN REYES                      PASEO ALAMBRA           14 CALLE CORDOVA                                                                   CAROLINA             PR           00984‐0000

   241536 JOAQUIN F RODRIGUEZ KIERCE                  REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   241537 JOAQUIN FELICIANO PARRILLA                  REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   678234 JOAQUIN FERNANDEZ                           PO BOX 873                                                                                                 SAN JUAN             PR           00926
   241538 JOAQUIN FLORES IRIZARRY                     REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   678235 JOAQUIN FONT                                251 CALLE LUNA APT C1                                                                                      SAN JUAN             PR           00901

   241539 JOAQUIN FRANCESCHI GOMEZ                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   678236 JOAQUIN FUENTES GOMEZ                       BOX 1441                                                                                                   JUANA DIAZ           PR           00795
   241540 JOAQUIN G GONZALEZ PINTO                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

  1256601 JOAQUIN GARCIA DE LA NOCEDA REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JOAQUIN GARCIA DE LA NOCEDA
   241541 DBA                         674 MERIDA VENUS GARDENS                                                                                                   SAN JUAN             PR           00926‐0000
          JOAQUIN GARCIA DE LA NOCEDA
   241542 DBA JG LOCK                 SERVICE                                 URB VENUS GARDENS       674 MERIDA                                                 SAN JUAN             PR           00926
          JOAQUIN GARCIA DE LA NOCEDA
   241543 DOHNERT                     REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   241544 JOAQUIN GARCIA MALAVE       REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   241545 JOAQUIN GARCIA MOLL         REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   678238 JOAQUIN GARCIA RIGAU        P O BOX 1325                                                                                                               ARECIBO              PR           00613
   678239 JOAQUIN GARCIA VELAZQUEZ    P O BOX 1832                                                                                                               VEGA BAJA            PR           00693
   241547 JOAQUIN GOMEZ RAMOS         REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   241548 JOAQUIN GONZALEZ PEREZ      REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   678240 JOAQUIN GONZALEZ RIOS       P O BOX 52009                                                                                                              TOA BAJA             PR           00950
   678241 JOAQUIN GUEITS PRENERO      75 CALLE ARZOAGA                                                                                                           JUNCOS               PR           00777

   241550 JOAQUIN HERNANDEZ CAPELLA                   REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JOAQUIN HERNANDEZ
   678242 MELENDEZ                                    PO BOX 177                                                                                                 UTUADO               PR           00641
   678244 JOAQUIN I ALVAREZ DIAZ                      URB VENUS GARDENS       1733 CALLE CAPRICONIO                                                              RIO PIEDRAS          PR           00926
   678246 JOAQUIN J DAVILA                            PO BOX 1276                                                                                                GUAYAMA              PR           00785
   241551 JOAQUIN J DAVILA QUINONES                   REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   241553 JOAQUIN L RIVERA PEREZ                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   241554 JOAQUIN LABOY OLIVIERI                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   678248 JOAQUIN LASALLE VELAZQUEZ                   EXT EL PRADO            20 CALLE G                                                                         AGUADILLA            PR           00603
   678249 JOAQUIN LEBRON CINTRON                      PO BOX 2400                                                                                                TOA BAJA             PR           00951‐2400
   678250 JOAQUIN LOPEZ AVILES                        URB ALTO MONTE 268                                                                                         CAMUY                PR           00627
   241555 JOAQUIN LOPEZ VILLAFANE                     REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   241556 JOAQUIN LUGO PASSAPERA                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   241557 JOAQUIN M PENA PEREZ                        REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JOAQUIN MANSILLA
   678253 CASCALLANA                                  PO BOX 10845                                                                                               SAN JUAN             PR           00922
   241558 JOAQUIN MARRERO APONTE                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   678254 JOAQUIN MARRERO CASTILLO                    MONTECARLO              1308 CALLE 8                                                                       SAN JUAN             PR           0092400724




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          JOAQUIN MARTINEZ /DBA/
   678255 BORINPLENA                                  1584 AVE PONCEDE LEON                                                                                            SAN JUAN             PR           00926
   678256 JOAQUIN MARTINEZ GARCIA                     PO BOX 376                                                                                                       ARECIBO              PR           00613
   241559 JOAQUIN MARTINEZ POMBO                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   678257 JOAQUIN MARTINEZ VIGUIE                     PO BOX 2557                                                                                                      TOA BAJA             PR           00951

   678258 JOAQUIN MAYORAL PARRACIA                    2475 BRICKEL AVE 1407                                                                                            MIAMI                PR           33129
   678259 JOAQUIN MEDINA SANTIAGO                     URB LA MONSERRATE            CALLE OQUENDO                                                                       JAYUYA               PR           00664

   241560 JOAQUIN MELENDEZ ROSARIO                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   678260 JOAQUIN MENA BERMUDEZ                       SABANA HOYOS                 HC 83 BOX 6789                                                                      VEGA ALTA            PR           00692
   678261 JOAQUIN MERCADO                             105 CALLE CRUZ                                                                                                   SAN JUAN             PR           00901
   241561 JOAQUIN MOLINA COLLAZO                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   241562 JOAQUIN MOLINA ROSADO                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JOAQUIN MONTESINO
   241563 MARCANO                                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   241564 JOAQUIN MONTILLO GUZMAN                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   241565 JOAQUIN MONTINAO                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   241566 JOAQUIN MUNOZ GONZALEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   678265 JOAQUIN NARVAEZ LUGO                        P O BOX 21365                                                                                                    SAN JUAN             PR           00928
   241567 JOAQUIN NEGRON RIVERA                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   678266 JOAQUIN NIEVES CALDERO                      HC 1 BOX 6894                                                                                                    COROZAL              PR           00783

   678267 JOAQUIN O LABORDE MARTINEZ 2605 PASEO ANON                                                                                                                   LEVITTOWN            PR           00949

   241568 JOAQUIN OCTAVIO GONZALEZ                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   678270 JOAQUIN ORTIZ RODRIGUEZ                     HC 02 BOX 27037                                                                                                  MAYAGUEZ             PR           00680
   678271 JOAQUIN ORTIZ VAZQUEZ                       ESTANCIAS SAN FERNANDO       B 21 CALLE 4                                                                        CAROLINA             PR           00985
   678272 JOAQUIN PABON                               PO BOX 192813                                                                                                    SAN JUAN             PR           00919
   678273 JOAQUIN PADOVANI VARGAS                     VALLE HERMOSO                X 22 GLADIOLA                                                                       HORMIGUEROS          PR           00660
   678274 JOAQUIN PAGAN CALDERAS                      HC 01 BOX 6540                                                                                                   CIALES               PR           00638
   678275 JOAQUIN PAGAN VAZQUEZ                       URB VERDE MAR                348 CALLE 9                                                                         PUNTA SANTIAGO       PR           00741
   241570 JOAQUIN PENA PENA                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   241571 JOAQUIN PENA RIOS                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   678277 JOAQUIN PEREZ CRUZ                          URB LA CUMBRE 664 CALLE TAFT                                                                                     SAN JUAN             PR           00926
   241574 JOAQUIN PEREZ PEREZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                   EH35 CALLE FRANCISCO L
   678278 JOAQUIN PERUCHET                            URB LEVITTOWN LAKES          AMADEO                                                                              TOA BAJA             PR           00949
   241575 JOAQUIN PERUCHET LEBRON                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   678279 JOAQUIN PIERLUISSI RIVERA                   PO BOX 308                                                                                                       RINCON               PR           00677
   678280 JOAQUIN PINEDA MUNTAL                       URB LA CUMBRE 678            CALLE WASHINGTON                                                                    SAN JUAN             PR           00926
          JOAQUIN PIZARRO / PETRA
   678281 SERRANO                                     P O BOX 3787                                                                                                     BAYAMON              PR           00958‐0787
   678282 JOAQUIN POLO ALVARADO                       URB BAIROA RES               DE 10 CALLE 15                                                                      CAGUAS               PR           00725
   241576 JOAQUIN POMALES BONILLA                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   241577 JOAQUIN PORRATA                             REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   678283 JOAQUIN R RIOS ACEVEDO                      146 BO ESPINAL                                                                                                   AGUADA               PR           00602
          JOAQUIN R VILLAMIL
   678284 GUILLERMETY                                 URB LOS ANGELES              G 27 CALLE C                                                                        CAROLINA             PR           00979
   678285 JOAQUIN R. COLON RIVERA                     P O BOX 304                                                                                                      BARRANQUITAS         PR           00794




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          JOAQUIN RAFAEL LEZCANO
   241580 RIVERA                                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678286 JOAQUIN RALDIRIS ALVARADO                   URB LA GUADALUPE          H 9 JARD POINCIANA ST                                                                  PONCE               PR           00731

   241581 JOAQUIN RAMIREZ QUINONEZ                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678287 JOAQUIN REVERON                             PARORAMA ESTATE           B 11 CALLE 1                                                                           BAYAMON             PR           00957
   678201 JOAQUIN RIVERA AGOSTO                       PO BOX 833                                                                                                       MANATI              PR           00674
   678292 JOAQUIN RIVERA FELIX                        HC02 BOX 4072                                                                                                    LAS PIEDRAS         PR           00771
   241582 JOAQUIN RIVERA NEGRON                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241583 JOAQUIN RIVERA RIVERA                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678294 JOAQUIN RIVERA SANTIAGO                     MINILLAS STATION          P O BOX 41269                                                                          SAN JUAN            PR           00940‐1269
   678295 JOAQUIN RIVERA SANTOS                       BOX 180                                                                                                          TRUJILLO ALTO       PR           00977‐0180
   241584 JOAQUIN RIVERA VALENTIN                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678296 JOAQUIN ROCA RIVERA                         PO BOX 291                                                                                                       YAUCO               PR           00698
   241585 JOAQUIN RODRIGUEZ                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241586 JOAQUIN RODRIGUEZ DAVILA                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678298 JOAQUIN RODRIGUEZ HERNAIZ                   URB JARD DE BUENA VISTA   F 12CALLE G                                                                            CAROLINA            PR           00985

   678202 JOAQUIN RODRIGUEZ MORALES                   HC 764 BOX 8300                                                                                                  PATILLAS            PR           00723‐9728
   678299 JOAQUIN RODRIGUEZ ORTIZ                     P O BOX 379                                                                                                      MANATI              PR           00674‐0379
   241587 JOAQUIN RODRIGUEZ RAMOS                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678300 JOAQUIN RODRIGUEZ REYES                     HC‐01 BOX 4897                                                                                                   BARCELONETA         PR           00617

   678301 JOAQUIN RODRIGUEZ TROCHE                    PO BOX 2390                                                                                                      SAN JUAN            PR           000919
   241588 JOAQUIN ROMAN NIEVES                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678305 JOAQUIN ROSARIO RIVERA                      APARTADO 1125                                                                                                    CIALES              PR           000638
          JOAQUIN ROSARIO Y CARMEN J
   241589 MARTINEZ                                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678306 JOAQUIN SANCHEZ LOPEZ                       SANTA ROSA                13‐22 CALLE 8                                                                          BAYAMON             PR           00959

   678307 JOAQUIN SANCHEZ RODRIGUEZ                   HC 764 BOX 7346           BO JACABOA SECTOR HIGUERO                                                              PATILLAS            PR           00723
          JOAQUIN SANTIAGO
   678309 DISTRIBUTORS                                PO BOX 8601                                                                                                      PONCE               PR           00732
   678310 JOAQUIN SANTIAGO ROSARIO                    HC 2 BOX 28003                                                                                                   CAGUAS              PR           00727
   241590 JOAQUIN SERPA COTTO                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   241591 JOAQUIN T ARGUELLO DE JESUS                 REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOAQUIN T PEREZ C/O JOHN
   678311 PEREZ                                       11 TEMPLETON ROAD                                                                                                WALLINGFORD         CT           06492
   241592 JOAQUIN TIRADO CINTRON                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241593 JOAQUIN TIRADO GONZALEZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241594 JOAQUIN TORRES ECHEANDIA                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   241595 JOAQUIN TORRES HERNANDEZ                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241596 JOAQUIN TORRES VEGA                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678312 JOAQUIN V TERE ECHEVARRIA                   P O BOX 1939                                                                                                     CIDRA               PR           00739
          JOAQUIN VALDERRAMA
   678313 HERNANDEZ                                   RR 01 BOX 14350                                                                                                  MANATI              PR           00674
   678314 JOAQUIN VARGAS LOPEZ                        APARTADO 730                                                                                                     TOA ALTA            PR           00954

   241597 JOAQUINA ALVAREZ CARMONA                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          JOAQUINA BONET Y/O NILSA
   241598 MUNOZ                                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOAQUINA HERNANDEZ
   678315 HERNANDEZ                                   304 CALLE ROBLE                                                                                                        SAN JUAN            PR           00923
   241599 JOAQUINA LEBRON PAGAN                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678317 JOAQUINA RODRIGUEZ ROJAS                    HC 1 BOX 3369                                                                                                          BARRANQUITAS        PR           00794
   241600 JOAQUINA SEPULVEDA CRUZ                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241601 JOAQUINA TAPIA FLORES                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678318 JOAQUINA TORRES ROSA                        PO BOX 1058                                                                                                            RIO GRANDE          PR           00745
   678319 JOARICK PADILLA AVILES                      URB PLE 28                  CALLE JIMENEZ GARCIA                                                                       CAGUAS              PR           00725
   241602 JOARIS J MARTINEZ MORALES                   REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241605 JOATAM ROSA RIVERA                          REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOB ACCOMMODATION
   241606 NETWORK                                     P O BOX 6003,62             MORRILL WAY                                                                                MORGANTOWN          WI           26506 6003

   678320 JOB ANDUJAR LEBRON                          URB COLINAS DE MONTECARLO   E10 CALLE 42                                                                               SAN JUAN            PR           00924

  1256602 JOB CONNECTION CENTER CORP                  REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241611 JOB CONTRACTOR CORP                         PMB 226819                  AVE HOSTO                                                                                  PONCE               PR           00716‐1107
   241612 JOB CONTRACTOR CORP.                        226 PMB 819 AVE. HOSTOS                                                                                                PONCE               PR           00716‐1107
   241613 JOB HUNTERS LLC                             PO BOX 56012                                                                                                           BAYAMON             PR           00960‐5011
   241615 JOBED DIAZ CABRERA                          REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678321 JOBINO CRUZ MERCADO                         HC 05 BOX 34514                                                                                                        SAN SEBASTIAN       PR           00685
   241616 JOBITA RIVERA CRUZ                          REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241617 JOBO RIVERA PLACERES                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678323 JOBOS SERVICE STATION                       AVE JOBOS BUZON 8575                                                                                                   ISABELA             PR           00662‐0000
   241618 JOBS CARIBE, INC.                           EDIF. AREY, SUITE 401       CALLE MEJICO # 4                                                                           SAN JUAN            PR           00917
          JOBS FOR THE FUTURE
   678324 PRODUCTS                                    1 BOWDOIN SQ                                                                                                           BOSTON              MA           02114

   241620 JOBSCARIBE INC                              HATO REY CENTER             268 AVE PONCE DE LEON STE 708                                                              SAN JUAN            PR           00918
   678325 JOBSITE CONSTRUCTION                        P O BOX 483                                                                                                            BARRANQUITAS        PR           00794‐0483
   678326 JOC YEE MOK SIEM                            COND LA RADA                1020 AVE ASHFORD #409                                                                      SAN JUAN            PR           00907
   678327 JOCAMA INVESTMENT CORP                      PO BOX 40968                                                                                                           SAN JUAN            PR           00940
   241621 JOCECIL LUGO RIVERA                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241623 JOCELINE BARBIERI                           REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241624 JOCELINE FLORES GARCIA                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOCELLYN TERSA CABRERA
   678328 TOLEDO                                      COND DE DIEGO               444 CALLE DE DIEGO APT 1401                                                                SAN JUAN            PR           00923
   678329 JOCELY DIAZ COSME                           HC 03 BOX 39431                                                                                                        GURABO              PR           00778
   241626 JOCELYN A. ENCARNACION                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241627 JOCELYN ALEJANDRO GARCIA                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678331 JOCELYN ALMONTE GUZMAN                      URB ALTURAS DE RIO GRANDE   R 923 CALLE 17                                                                             RIO GRANDE          PR           00745
   241628 JOCELYN ALVAREZ IRIZARRY                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241629 JOCELYN ANTUNA CRUZ                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241630 JOCELYN BAEZ MEDERO                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678332 JOCELYN BONES DIAZ                          BO CORAZON                  225 P 12 CALLE SAN JUDAS                                                                   GUAYAMA             PR           00784
          JOCELYN CABEZUDO
   678333 CASTELLANO                                  HC 01 BOX 5710                                                                                                         GURABO              PR           00778

   241631 JOCELYN CENTENO GONZALEZ                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241632 JOCELYN COLLAZO MEDINA                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   678334 JOCELYN DE ARCE RODRIGUEZ                   BAIROA PARK             2H62 CALLE JOSE REGUERO                                                              CAGUAS              PR           00725
   678335 JOCELYN DE JESUS ROMAN                      505 CALLE CORCEGA       APTO 1 PUERTO NUEVO                                                                  SAN JUAN            PR           00920
   678336 JOCELYN GONZALEZ                            P O BOX 9023899                                                                                              SAN JUAN            PR           00902 3899
   678337 JOCELYN GONZALEZ BENITEZ                    RES LAGOS DE BLASINA    EDIF 4 APT 51                                                                        CAROLINA            PR           00958
   241633 JOCELYN GONZALEZ RIVERA                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241635 JOCELYN HEREDIA COLLAZO                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241637 JOCELYN I LOPEZ RODRIGUEZ                   REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   241638 JOCELYN M ACEVEDO SANCHEZ                   REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678338 JOCELYN M CARRASQUILLO CRUZ BO CANOVANILLA                          CARR 857 KM 3 7                                                                      CAROLINA            PR           00985

   241639 JOCELYN M MAYORAL TORRES                    REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241640 JOCELYN M. LOPEZ CORTES                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   241641 JOCELYN MARTINEZ CARDONA                    REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678339 JOCELYN MARTINEZ LEON                       P O BOX 371390                                                                                               CAYEY               PR           00737
   241642 JOCELYN MONTALVO ORTIZ                      REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241643 JOCELYN MORELL CASELLAS                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241645 JOCELYN MOYET SANABRIA                      REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOCELYN MOYET SANABRIA,
   241646 LCDA                                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241647 JOCELYN NATAL HERNADEZ                      REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   241649 JOCELYN REYES CARRASQUILLO                  REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOCELYN RODRIGUEZ
   241650 CARTAGENA                                   REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678344 JOCELYN RODRIGUEZ ROSARIO                   GARDEN VALLEY CLUB      BZN 57 CARR 176                                                                      SAN JUAN            PR           00926

   241652 JOCELYN SANTIAGO MARTINEZ                   REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678345 JOCELYN SEIN CRUZ                           HC 3 BOX 34375                                                                                               MOCA                PR           00676
   678346 JOCELYN SIAREZ QUIONES                      RES. MUJERES SAN JUAN                                                                                        Hato Rey            PR           009360000
   678347 JOCELYN SOTO SANTONI                        URB CUIDAD CENTRO       246 CALLE JUMACAO                                                                    CAROLINA            PR           00987
          JOCELYN TERESA CABRERA
   241653 TOLEDO                                      REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241654 JOCELYN TORO RAMIREZ                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241655 JOCELYN TORRES SANTIAGO                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241656 JOCELYN TRINIDAD LOPEZ                      REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678348 JOCELYN TROCHEZ SANTINI                     EXT JARD DE COAMO       C 3 CALLE 17                                                                         COAMO               PR           00769
   241658 JOCELYNE D RAMOS VARGAS                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOCHUAN LOPEZ DE VICTORIA
   241659 PEREZ                                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241662 JOCK GATTI HERRER                           REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241663 JOCO PLUMBING                               REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241664 JODARIZ GALAN RIVERA                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241665 JODE E. CANCEL CATALA                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678350 JODINE LUNA REYES                           HC 01 BOX 6497                                                                                               AIBONITO            PR           00705
   678351 JOE & VIC                                   PO BOX 13502                                                                                                 SAN JUAN            PR           00908

   678352 JOE & VIC HOTEL A REST SUPPLY PO BOX 13502                                                                                                               SAN JUAN            PR           00908
   678353 JOE A CORDERO FRATICELLI      URB COSTA SUR                         121 CALLE G                                                                          YAUCO               PR           00698



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  241666 JOE A ORTIZ RODRIGUEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  241667 JOE A SANCHEZ SANTIAGO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   241668 JOE AIR CENTER                  LEVITTOWN                               2822 AVE DOS PALMAS ESQ ADA                                                           TOA BAJA            PR         00949
   241669 JOE ALICEA HERNANDEZ            REDACTED                                REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOE BUS LINE D 12/JOSE L RIVERA
   678355 COLON                           URB SANTA ELENA                         D 12 CALLE 7                                                                          YAUCOA              PR         00767
   678356 JOE COLON STUDIO INC            150 CALLE LABRA                                                                                                               SAN JUAN            PR         00907
   678357 JOE DAVILA CASTRO               PO BOX 487                                                                                                                    HUMACAO             PR         00792
                                                                                  4639 APTO 312 CALLE LUNA
   678358 JOE DOUGLAS NAZARIO TORRES EDIF PASEO GUAINIA                           FINAL                                                                                 PONCE               PR         00717‐2011
   241671 JOE E DELGADO MELENDEZ     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241672 JOE E OLIVO MOJICA         REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   241673 JOE ECHEVARRIA MALDONADO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678359 JOE FONSECA RIVERA                          HC 67 BOX 13187                                                                                                   BAYAMON             PR         00956
                                                      1319 ASHFORD AVENUE SUITE
   241674 JOE FRANCO & PARTNERS INC.                  3/B                                                                                                               SAN JUAN            PR         00907
   241675 JOE GOMEZ PENA                              REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678360 JOE GONZALEZ RUIZ                           HC 04 BOX 41403                                                                                                   HATILLO             PR         00659
   678361 JOE L ALGORRI TORRES                        URB SAN ALFONSO             B 23 CALLE VERDE                                                                      CAGUAS              PR         00725
   678362 JOE MACHIN RODRIGUEZ                        BO VALENCIANO ABAJO         CARR 919 KM 4 6                                                                       JUNCOS              PR         00777
   241676 JOE NUEL LEBRON MILLAN                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241678 JOE OLIVENCIA ROSADO                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241680 JOE OYOLA CASILLA                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678364 JOE PADILLA CASTRO                          ALTURA DE RIO GRANDE        N 678 CALLE MAIN                                                                      RIO GRANDE          PR         00745

   678365 JOE R MALDONADO HERNANDEZ BO OBRERO 724                                 CALLE 11                                                                              SAN JUAN            PR         00915
          JOE REFRIGERATION & CENTRAL
   241681 AIR INC                     PO BOX 2070                                                                                                                       MORIVIS             PR         00687
          JOE REFRIGERATION & CENTRAL
   771115 AIR, INC.                   PO BOX 2070                                                                                                                       MOROVIS             PR         00687
          JOE REFRIGERATION AND
   241682 CENTRAL AIR INC             PO BOX 2070                                                                                                                       MOROVIS             PR         00687
   678366 JOE RODRIGUEZ HERNANDEZ     RES NEMESIO R CANALES                       EDF 40 APTO 756                                                                       SAN JUAN            PR         00918
   241683 JOE RODRIGUEZ SMITH         REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241684 JOE S CLEANERS              UBR LOMAS VERDES                            3R‐37 AVE LAUREL                                                                      BAYAMON             PR         00956‐3273
   678367 JOE STANLEY MILLER COLON    PO BOX 1322                                                                                                                       AIBONITO            PR         00705
          JOE
          TORRES/CORRECAMINO/COLICE
   678368 BA                          BOX 274                                                                                                                           TOA ALTA            PR         00953
   678369 JOE TRANSMISSION            R F E ‐7 BOX 7195                                                                                                                 SAN JUAN            PR         00928
   241685 JOE VERA GONZALEZ           REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678370 JOE VILLALOBOS RIVERA       57 CALLE HOYO FRIO                                                                                                                JAYUYA              PR         00664
   241686 JOE W LOPEZ BAEZ            REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   241687 JOEACHIM MACHADO CENTENO  REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241688 JOECY BAEZ VAZQUEZ        REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241689 JOED A RUIZ RIVERA        REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   771116 JOED CARABALLO JULIA      REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241691 JOED MELENDEZ CINTRON     REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                    LOS CAOBOS 2827 CALLE
   678373 JOEDMAR RODRIGUEZ NAVARRO COJOBA                                                                                                                              PONCE               PR         00716



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   678374 JOEDYS WATER DISTRIBUTORS                   PO BOX 143573                                                                                                 ARECIBO             PR         00614
   241693 JOEFRE CONDE ORTIZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241694 JOEGE E MENDEZ LOPEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241695 JOEHANN COFFIE RIVERA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241696 JOEHANNY MERCED BORIA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   241697 JOEKENNIEL RODRIGUEZ RIVERA                 REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241698 JOEL A AYALA HERNANDEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241699 JOEL A AYBAR ALVIRA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241700 JOEL A CALDERON ROSARIO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241701 JOEL A COLON MANTANEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241702 JOEL A COLON MUNIZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678378 JOEL A CRUZ                                 P O BOX 3999                                                                                                  GUAYNABO            PR         00970
   678379 JOEL A DELGADO LOPEZ                        SUITE NUM 90 P O BOX 2500                                                                                     QUEBRADILLAS        PR         00678
   678380 JOEL A FELICIANO GONZALEZ                   HC 05 BOX 28821                                                                                               CAMUY               PR         00627
   241703 JOEL A FIGUEROA CRUZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241704 JOEL A GONZALEZ PADILLA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   241705 JOEL A GONZALEZ RODRIGUEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678382 JOEL A GUZMAN OLIVERAS                      HC 3 BOX 9002                                                                                                 VILLALBA            PR         00766‐9000
   241706 JOEL A IRIZARRY AVILES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241707 JOEL A LEON ACOSTA                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241708 JOEL A LOPEZ BORGES                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241710 JOEL A MACHUCA AYENDE                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JOEL A MAISONET Y NEYDA
   241711 RAMOS                                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241712 JOEL A MALDONADO GARCIA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241713 JOEL A MARTINEZ MORO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241714 JOEL A MARTINEZ SILVA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678384 JOEL A MERCADO DIAZ                         COLINAS DE CUPEY            B15 CALLE 2                                                                       SAN JUAN            PR         00926
   241715 JOEL A ORELLANA VARGAS                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678385 JOEL A ORTIZ RIVERA                         PO BOX 40348                                                                                                  SAN JUAN            PR         00940‐0348
   241716 JOEL A POMALES MORALES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241717 JOEL A POMALES RODRIGUEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241718 JOEL A QUINTANA TORRES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241719 JOEL A RAMOS RODRIGUEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241720 JOEL A RIVERA CENTENO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241722 JOEL A RIVERA LOPEZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241723 JOEL A RIVERA PRADO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241724 JOEL A RODRIGUEZ                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241727 JOEL A ROSADO BUTLER                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678386 JOEL A ROSADO RIVERA                        RR 01 BOX 6044                                                                                                MARICAO             PR         00606
   678388 JOEL A ROSARIO ESCRIBANO                    BO SANTA TERISITA           BZN 57                                                                            CIDRA               PR         00739
   678389 JOEL A SANCHEZ CENTENO                      HOTO ARRIBA                 CALLE A BZN 10                                                                    ARROYO              PR         00612
   678390 JOEL A SANTOS APONTE                        PASEO PALMA REAL            63 CALLE GORRION                                                                  JUNCOS              PR         00777
   241728 JOEL A SANTOS MORALES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241729 JOEL A SOTO GUZMAN                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678391 JOEL A TORRES LUGO                          VILLA DEL CARMEN            4669 AVE CONSTANCIA                                                               PONCE               PR         00716
   241730 JOEL A VARGAS AVILES                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241731 JOEL A VAZQUEZ AGUILA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241732 JOEL A. CALDERON DE JESUS                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241733 JOEL A. CAMPOS CAMPOS                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  241735 JOEL A. ESPINAL TERRERO                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  678393 JOEL A. MACHADO RIVERA                       PO BOX 76                                                                                                         GARROCHALES        PR         00652‐0076
  241736 JOEL A. SANCHEZ                              REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  678396 JOEL ACEVEDO RODRIGUEZ                       HC 01 BOX 8010                                                                                                    ARECIBO            PR         00688
  241738 JOEL AGOSTO NIEVES                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  678397 JOEL AGRON PEREZ                             BOX 935                                                                                                           AGUADA             PR         00602
  678398 JOEL ALBERTO PEREZ PEREZ                     2DA EXT LAS DELICIAS        3798 CALLE GUANINA                                                                    PONCE              PR         00728
  678399 JOEL ALEXANDER ORTIZ                         HC 2 BOX 6623                                                                                                     BARRANQUITAS       PR         00794
  241740 JOEL ALEXIS RIVERA                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  678400 JOEL ALVARADO BONILLA                        PO BOX 40112                                                                                                      SAN JUAN           PR         00940‐0112
  678401 JOEL ALVARADO RIVERA                         HC 01 BOX 11731                                                                                                   COAMO              PR         00769
  678402 JOEL ALVAREZ NIEVES                          ALTURAS DE VEGA BAJA        D 17 CALLE E                                                                          VEGA BAJA          PR         00693
  678403 JOEL ALVAREZ RIVERA                          HC 4 BOX 44886                                                                                                    CAYEY              PR         00725‐9669
  241742 JOEL ALVELO GALBAN                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  241743 JOEL ALVERIO ALAMO                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  241744 JOEL AMADOR GARCIA                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  241745 JOEL AMARO GONZALEZ                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  678404 JOEL ANDRADES VARGAS                         URB SIERRA BAYAMON          7 11 AVE PRINCIPAL NORTE                                                              BAYAMON            PR         00961
  241746 JOEL ANTIGUA ARIAS                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         JOEL ANTONIO SANCHEZ
  241747 SANCHEZ                                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  678405 JOEL APONTE CARRASCO                         RR 2 BOX 7928                                                                                                     CIDRA              PR         00739
  678406 JOEL APONTE RUIZ                             RES JARD PARQUE REAL        200 CALLE CORAL APT 105                                                               LAJAS              PR         00667
  678407 JOEL ARCE BARBOSA                            HC 4 BOX 44448                                                                                                    LARES              PR         00669
  678408 JOEL ARNAUD VELEZ                            15 MIRADERO GARDEN                                                                                                MAYAGUEZ           PR         00682
         JOEL ARROYO MORALES Y OLGA
  241748 N CENTENO                                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  241750 JOEL ARROYO OJEDA                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  241751 JOEL ARROYO RODRIGUEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  241752 JOEL AVILES CARDONA                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  678409 JOEL AYALA MONTALVO                          HC 1 BOX 7438                                                                                                     CABO ROJO          PR         00623
  241755 JOEL B. MERCEDES DIAZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  678411 JOEL BERRRIOS GARCIA                         BDA ISRAEL                  162 PALESTINA                                                                         SAN JUAN           PR         00923
  241756 JOEL BLANCO GONZALEZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  241757 JOEL BOBE MORALES                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  241759 JOEL BONILLA ROMAN                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  678412 JOEL BORGES PEREZ                            P O BOX 602                                                                                                       QUEBRADILLAS       PR         00678
  241760 JOEL BORRERO CARABALLO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  241761 JOEL BRACERO RODRIGUEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  241762 JOEL BRENS AQUINO                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  241763 JOEL BUS LINE                                URB SANTA ELENA             D12 CALLE 7                                                                           YABUCOA            PR         00767
  241764 JOEL CABASSA RODRIGUEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  678413 JOEL CALDERON RIVERA                         HC 1 BOX 6066                                                                                                     JUNCOS             PR         00777
                                                      COOP JARDINES SAN IGNACIO
   678414 JOEL CALDERON ROSARIO                       1205 BS                                                                                                           SAN JUAN           PR         00927
   241765 JOEL CANCEL MARTINEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   241766 JOEL CANDELARIO RODRIGUEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   241768 JOEL CARTAGENA PEREZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   678416 JOEL CASTRO CARRASQUILLO                    EXT ROUND HILLS             252 CALLE ALFA                                                                        TRUJILLO ALTO      PR         00976
   678418 JOEL CEBALLOS MOREL                         215 CALLE APONTE APT 3                                                                                            SAN JUAN           PR         00915
          JOEL CINTRON / MARIA
   241769 OQUENDO                                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED



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  678419 JOEL CINTRON SANTIAGO                        PO BOX 520                                                                                                   QUEBRADILLAS      PR         00678
  241770 JOEL CLAUDIO HERNANDEZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  678420 JOEL CLEMENTE PIZARRO                        HC 01 BOX 7437                                                                                               LOIZA             PR         00772
  678375 JOEL COLLAZO RIVERA                          PO BOX 538                                                                                                   COROZAL           PR         00783
  241771 JOEL COLON COLON                             REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  678421 JOEL COLON GARCIA                            RR 3 BOX 44                                                                                                  SAN JUAN          PR         00926
  678422 JOEL COLON GONZALEZ                          HC 02 BOX 4816                                                                                               COAMO             PR         00769
  241772 JOEL COLON JUSTINIANO                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  678423 JOEL COLON MARTINEZ                          C.S.M. BAYAMON                                                                                               Hato Rey          PR         00936
  678424 JOEL COLON RODRIGUEZ                         TOA ALTA HEIGTS            AS 11 CALLE 35                                                                    TOA ALTA          PR         00953
  678425 JOEL COLON ROLDAN                            P O BOX 3567                                                                                                 AGUADILLA         PR         00605

   241773 JOEL CONCEPCION ECHEVARRIA                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   241774 JOEL CONCEPCION ORRIOLS                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   678426 JOEL CORA DE LA ROSA                        URB. SAN FERNANDO          F 16 CALLE 1                                                                      BAYAMON           PR         00957
   241775 JOEL CORDERO CABAN                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   678427 JOEL CORDERO PEREZ                          URB VILLA FONTANA          10 VIA 43 4TS                                                                     CAROLINA          PR         00983
   241776 JOEL CORDERO RAMOS                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   241777 JOEL CORDERO RODRIGUEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   678428 JOEL CRUZ                                   PO BOX 21365                                                                                                 SAN JUAN          PR         00928
   241779 JOEL CRUZ ARROYO                            REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   241780 JOEL CRUZ DIAZ                              REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   678429 JOEL CRUZ RAMOS                             BOX 216                                                                                                      TRUJILLO ALTO     PR         00976
   678430 JOEL CUBERO COLON                           PO BOX 3097                                                                                                  JUNCOS            PR         00777
   678431 JOEL CUBERO TORRES                          PO BOX 7126                                                                                                  PONCE             PR         00732
   241781 JOEL D AROCHO GARCIA                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   241783 JOEL D GONZALEZ PEREZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   241784 JOEL D MELENDEZ RIVERA                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   678432 JOEL D SANCHEZ DATIZ                        RR 4 BOX 16655                                                                                               A¥ASCO            PR         00610

   241785 JOEL D SANTIAGO RODRIGUEZ                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   241787 JOEL DAVID TORRES RODRIGUEZ REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   241788 JOEL DE JESUS CARRASQUILLO                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   678434 JOEL DE JESUS GARCIA                        PO BOX 1646                                                                                                  VEGA BAJA         PR       00694
   241789 JOEL DE JESUS ORTIZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   241791 JOEL DEL RIO TUFINO                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   241794 JOEL DIAZ FLORES                            REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   241795 JOEL DIAZ RIVERA                            REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   678438 JOEL E ALFARO                               PO BOX 9021112                                                                                               SAN JUAN          PR       00902‐1112
   678439 JOEL E ANAYA OSPINA                         COND DE ALTAMIRA APT 15B   501 CALLE PERSEO                                                                  SAN JUAN          PR       00920‐4232
   241796 JOEL E BODDEN TORRES                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   241797 JOEL E COTTO RODRIGUEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   241798 JOEL E LISBOA MORALES                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   241799 JOEL E MOLINA VAZQUEZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   241800 JOEL E NUNEZ LOPEZ                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   241802 JOEL E PADILLA RIVERA                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   241803 JOEL E RENTA BARTOLOMEI                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   678442 JOEL E RIVERA ORTIZ                         HC 01 BOX 7264                                                                                               COROZAL           PR       00783
          JOEL E RIVERA/NEW AGE
   678443 SECURITY INC                                P O BOX 8849                                                                                                 SAN JUAN          PR         00910
   241804 JOEL E SALGADO                              REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED



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  241805 JOEL E SANTIAGO ROBLES                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  241806 JOEL E TORRES                                REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  241807 JOEL E VELEZ COLON                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  241808 JOEL E. COLON HERNANDEZ                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  241809 JOEL E. MUNOZ PAGAN                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  241811 JOEL ELIZA RIVERA                            REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   241812 JOEL ESCOBAR RAMOS Y ARPE                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   241813 JOEL ESPINA NUNEZ                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   678446 JOEL ESTEVA PACHECO                         P O BOX 713                                                                                                       YAUCO               PR         00698
   678447 JOEL ESTRADA MALDONADO                      BELLA VISTA                  G 52 CALLE 11 A                                                                      BAYAMON             PR         00954
   678448 JOEL F ALVAREZ FIGUEROA                     BO BELGICA                   5802 CALLE CHILE                                                                     PONCE               PR         00717
   241814 JOEL F CORDERO SANTIAGO                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   678449 JOEL F FRANCO PEREZ                         B 27 BDA ZAMBRANA                                                                                                 COAMO               PR         00769
          JOEL F LOPEZ COTTO/ IRMA N
   241815 COTTO                                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   678450 JOEL F MORALES MARTINEZ                     HC 1 BOX 5444                                                                                                     ARROYO              PR         00714
   241816 JOEL F PIERLUISI CORDERO                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   678451 JOEL F RODRIGUEZ                            URB SIERRA BAYAMON           23 ‐ 9 CALLE 23                                                                      BAYAMON             PR         00961
          JOEL FARES KHURY Y LIDIA
   241818 KHURY                                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   678452 JOEL FELICIANO FELICANO                     HC 1 BOX 7453                                                                                                     YAUCO               PR         00698
   678453 JOEL FELICIANO ROMERO                       HC 2 BOX 9502                                                                                                     QUEBRADILLAS        PR         00678
   241819 JOEL FELIX PENA                             REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   678454 JOEL FERNANDEZ PAGAN                        SANTA ELENA                  MM 4 CALLE J                                                                         BAYAMON             PR         00957

   241820 JOEL FERNANDO MILLIAN LOPEZ REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   241821 JOEL FIGUEROA RIVERA        REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   241822 JOEL FONTANEZ FERMAINTT     REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
                                                                                   306 CALLE B PARC HILL
   678455 JOEL FORTIS FONTAN                          COND JARDINES DE CAPARRA     BROTHERS                                                                             SAN JUAN            PR         00924
          JOEL G ARROYO ARCAY DBA AA
   241823 UNITORMS & MO                               URB ESTANCIAS DEL GOLF       450 CALLE HNOS SCHMITH                                                               PONCE               PR         00730

   678456 JOEL G CANCEL MONTALVO                      URB LOMAS DE TRUJILLO ALTO   G 46 CALLE 6                                                                         TRUJILLO ALTO       PR         00976
   241824 JOEL G REYES LEON                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   678458 JOEL G VAZQUEZ COGNET                       URB COLINAS DE CUPEY         D 3 CALLE 21                                                                         SAN JUAN            PR         00926
   678459 JOEL GARCIA CANCEL                          PARC CASTILLO                CALLE TORRIMAR BOX E 11                                                              MAYAGUEZ            PR         00680
   678461 JOEL GERENA RIVERA                          HC 1 BOX 4715                                                                                                     CAMUY               PR         00627
   241825 JOEL GIRALD NAVARRO                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   678462 JOEL GONZALEZ ARROYO                        HC 08 BOX 49820                                                                                                   CAGUAS              PR         00725
   678464 JOEL GONZALEZ COLON                         HC 01 BOX 8047                                                                                                    VILLALBA            PR         00766
   678465 JOEL GONZALEZ HERNANDEZ                     URB LOMAS VERDES             268 CALLE ALEJANDRINA                                                                MOCA                PR         00626
   241827 JOEL GONZALEZ MATOS                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   678466 JOEL GONZALEZ NAZARIO                       HC 1 BOX 5248                                                                                                     JUANA DIAZ          PR         00795
   241828 JOEL GONZALEZ NIEVES                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   241829 JOEL GONZALEZ RAMOS                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   678467 JOEL GONZALEZ ROBLES                        URB JACARANDA                C 22 CALLE A                                                                         PONCE               PR         00730
   678468 JOEL GONZALEZ VEGA                          LAS BATATAS EL TUQUE         76 CALLE A                                                                           PONCE               PR         00728
   678469 JOEL GREEN RIVERA                           PO BOX 206                                                                                                        BARRANQUITAS        PR         00794
   678471 JOEL GUILLOTY PEREZ                         HC 05 BOX 55120                                                                                                   MAYAGUEZ            PR         00680
   241831 JOEL GUISANDEZ SOTO                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED




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MML ID                     NAME                                  ADDRESS 1                       ADDRESS 2              ADDRESS 3                           ADDRESS 4              CITY       STATE    POSTAL CODE        COUNTRY

   831436 Joel Gutiérrez Mortuary Service              P O Box 2133                                                                                                     Cayey               PR         00736
   241832 JOEL GUZMAN FONT                             REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678472 JOEL GUZMAN GUZMAN                           BOX 1441                                                                                                         JUANA DIAZ          PR         00795
   241833 JOEL HANCE COLLAZO                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241834 JOEL HERNANDEZ DIAZ                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678473 JOEL HERNANDEZ LOPEZ                         URB VERA AYALA               848 CALLE CONCEPCION                                                                MOCA                PR         00676
   678474 JOEL HERNANDEZ RIVERA                        BOX 2607                                                                                                         MOCA                PR         00676
   678475 JOEL HERNANDEZ ROSARIO                       HC 1 BOX 5477                                                                                                    GUAYNABO            PR         00971
   241835 JOEL HERNANDEZ TORRES                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678476 JOEL I ALICEA NIEVES                         URB COVADONGA                13 ‐ 3D 14                                                                          TOA BAJA            PR         00949
   678477 JOEL I CAQUIAS ORTIZ                         68 CALLE DIAMANTE FINAL                                                                                          PONCE               PR         00731
   678478 JOEL I MARTINEZ DIAZ                         ALBERGUE OLIMPICO            PO BOX 2269                                                                         SALINAS             PR         00751
   241836 JOEL I RIOS HUERTAS                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241837 JOEL IRIZARRY LUCIANO                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678479 JOEL IRIZARRY SANTIAGO                       HC 2 BOX 240                                                                                                     JAYUYA              PR         00664
   241838 JOEL ISAAC ACOSTA                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241839 JOEL ISAAC DIAZ RIVERA                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241841 JOEL IVAN VALENTIN REYES                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241842 JOEL J CHARRIEZ VAZQUEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241843 JOEL J MASSARI APONTE                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241844 JOEL J MENA HERNANDEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241845 JOEL J MONTANEZ CRESPO                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241846 JOEL J ORONA CRUZ                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678481 JOEL J ORTIZ BERRIOS                         COND CORAL BEACH 1           APTO 705                                                                            CAROLINA            PR         00979
   241847 JOEL J RAMIREZ RAMOS                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   241848 JOEL J RODRIGUEZ RODRIGUEZ                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678482 JOEL J ROSARIO MALAVE                        URB LA PLATA S 49            CALLE AMBAR                                                                         CAYEY               PR         00736
   241849 JOEL J SANCHEZ DUMEY                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   241850 JOEL JOSE GARCIA RODRIGUEZ                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678483 JOEL JUSTINIANO MARTINEZ                     RES YAGUEZ EDIF 20 APT 200                                                                                       MAYAGUEZ            PR         00680
   241852 JOEL L ARROYO LOZADA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678484 JOEL L CENTER                                HC‐01 BOX 10562                                                                                                  LAJAS               PR         00667
   241853 JOEL L MORALES SANTIAGO                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678485 JOEL L SANTIGO BLANCO                        HC 71 BOX 4427                                                                                                   CAYEY               PR         00736‐9588
   241854 JOEL L VILLAFANE RAMOS                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241855 JOEL LABOY RIVERA                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678486 JOEL LAGO ROMAN                              HC 30 BOX 35319                                                                                                  SAN LORENZO         PR         00754
   241856 JOEL LAMBOY TORRADO                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   678487 JOEL LEON LEON                               P O BOX 586                                                                                                      MAUNABO             PR         00707
   241857 JOEL LINARES SEIJO                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241858 JOEL LOPEZ GUZMAN                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241859 JOEL LOPEZ MERCED                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241860 JOEL LOPEZ RIOS                              REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241862 JOEL LOZADA SANTANA                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241863 JOEL LUGO ORSINI                             REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241864 JOEL M CARDENALES MATEO                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241865 JOEL M CHINEA MERCED                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241866 JOEL M DIAZ MONTANEZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241868 JOEL M LANDOR QUINONES                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   241869 JOEL M POU FEBLES                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  678489 JOEL M RIOS TORRES                           BOX 119                                                                                                             VEGA ALTA         PR         006921
  241870 JOEL M TORRES MONTANEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  241872 JOEL MALDONADO LOPEZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  678490 JOEL MALDONADO SOTO                          URB CAMPANILLAS             E 14 CALLE EURO                                                                         TOA BAJA          PR         00951
  241874 JOEL MARCANO GONZALEZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  678491 JOEL MARTI VAZQUEZ                           P O BOX 479                                                                                                         CABO ROJO         PR         00623
  241875 JOEL MARTINEZ DURAN                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  241876 JOEL MARTINEZ FELICIANO                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  241877 JOEL MARTINEZ ROSARIO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  241879 JOEL MARTINEZ SANTIAGO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  241880 JOEL MARTINEZ TORRES                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  678492 JOEL MARTINEZ TULL                           PO BOX 7126                                                                                                         PONCE             PR         00732
  678493 JOEL MATIAS DIAZ                             URB ALTAGRACIA              M 15 CALLE REINA                                                                        TOA BAJA          PR         00949
  241883 JOEL MATOS FIGUEROA                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  241884 JOEL MATOS ORTIZ                             REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  241885 JOEL MATOS TORO                              REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  678494 JOEL MATOS VAZQUEZ                           URB SABANERA                145 CALLE TRINITARIA                                                                    CIDRA             PR         00739
  241886 JOEL MEDINA MEDINA                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  678495 JOEL MEDINA TORRES                           URB MEDINA                  A 1 CALLE 1                                                                             ISABELA           PR         00662

   678496 JOEL MELENDEZ LUGO                          COND JARD METROPOLITANO 1   355 CALLE GALILEO APT 12 L                                                              SAN JUAN          PR         00907
          JOEL MELENDEZ Y RUTH E
   241887 MARQUEZ                                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241888 JOEL MENDEZ JOURNET                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241889 JOEL MENDEZ NIEVES                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241892 JOEL MERCADO CUEVAS                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241893 JOEL MERCADO RAMOS                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241894 JOEL MERCED MARCANO                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   678499 JOEL MILLAN RODRIGUEZ                       VILLA DEL CARMEN            4653 AVE CONSTANCIA                                                                     PONCE             PR         00716‐2254
   241896 JOEL MOLINA IRIZARRY                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241897 JOEL MOLINA LOPEZ                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241898 JOEL MOLINA PEREZ                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   678501 JOEL MONTALVO BONILLA                       PO BOX 2921                                                                                                         SAN GERMAN        PR         00683
   241899 JOEL MONTIJO RUIZ                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241900 JOEL MONTILLA DE LA CRUZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241901 JOEL MORALES CONCEPCION                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241902 JOEL MORALES RIVERA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241903 JOEL MUNIZ VEGA                             REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241904 JOEL MUNOZ MARTINEZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241905 JOEL N MORALES QUINONES                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   678504 JOEL NATAL GARCIA                           HC 01 BOX 3055                                                                                                      BAJADERO          PR         00616
   678505 JOEL NEGRON CRESPO                          PO BOX 146                                                                                                          CIALES            PR         00638
   678507 JOEL NIEVES CARDONA                         PMB 10                      PO BOX 819                                                                              LARES             PR         00669
   678508 JOEL NIEVES FIGUEROA                        PO BOX 240                                                                                                          SANTA ISABEL      PR         00757
   678509 JOEL NIEVES GONZALEZ                        P O BOX 3104                                                                                                        AGUADILLA         PR         00605
   241906 JOEL NIEVES HUERTAS                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241907 JOEL NIEVES RODRIGUEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241909 JOEL NIEVES ROMAN                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241910 JOEL NIEVES ROSA                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241912 JOEL NIEVES VARGAS                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241913 JOEL NUNEZ FERNANDEZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241914 JOEL NUNEZ RODRIGUEZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   241915 JOEL O CASTRO OLIVERAS                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  241916 JOEL O DIAZ NIEVES                           REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  241917 JOEL O FELICIANO LOPEZ                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  678511 JOEL O FELICIANO RIVERA                      ALTURAS DE FLAMBOYAN        GG 20 CALLE 19                                                                   BAYAMON             PR         00956
  241918 JOEL O GONZALEZ ROSADO                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   241919 JOEL O IRIZARRY ALMODOVAR   REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241920 JOEL O NEILL HERNANDEZ      REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678512 JOEL O RIVERA TAVAREZ       BO GALATEO BAJO                             BUZON 4‐92                                                                       ISABELA             PR         00662
   241921 JOEL O TORRES COLLAZO       REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241922 JOEL OCASIO FIGUEROA        REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678513 JOEL OJEDA RIVERA           P O BOX 870                                                                                                                  CIDRAS              PR         00636
   678515 JOEL OLMEDA FLORES          PO BOX 240                                                                                                                   SANTA ISABEL        PR         00757
   241923 JOEL ORTEGA AVILES          REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678518 JOEL ORTIZ CRUZ             PO BOX 1394                                                                                                                  LAJAS               PR         00667‐1394
   678522 JOEL ORTIZ PAGAN            BOX 745                                                                                                                      LAJAS               PR         00667
   678523 JOEL ORTIZ SOTO             PO BOX 250123                                                                                                                AGUADILLA           PR         00604‐0123
   678524 JOEL ORTIZ TORRES           HC 2 BOX 9891                                                                                                                JUANA DIAZ          PR         00795‐9614
   241924 JOEL ORTIZ VARELA           REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241925 JOEL ORTIZ VAZQUEZ          REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241926 JOEL OSORIO FEBO            REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678525 JOEL OTERO CAPO             ALTURAS DE V B                              20 CALLE BOO                                                                     VEGA BAJA           PR         00693
   241927 JOEL PACHECO ORTIZ          REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678526 JOEL PACHECO RIVERA         PO BOX 449                                                                                                                   TOA ALTA            PR         00954
   678527 JOEL PADILLA ARROYO         URB VILLA RICA                              A 117 CALLE EDMER                                                                BAYAMON             PR         00959
          JOEL PADRO MORALES ( MASTER
   241930 SIGNS )                     352 AVE SAN CLAUDIO                         BOX 239                                                                          SAN JUAN            PR         00926
   678528 JOEL PAGAN APONTE           HC‐1 BOX‐6031                                                                                                                JUANA DIAZ          PR         00795
   241931 JOEL PAGAN GARCIA           REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678529 JOEL PAGAN PAGAN            P O BOX 560 173                                                                                                              GUAYANILLA          PR         00656‐0173
   678530 JOEL PANTOJA NAVEDO         P O BOX 3168                                                                                                                 VEGA BAJA           PR         00692
   241932 JOEL PARES PINERO           REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241933 JOEL PELLOT CESTERO         REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241934 JOEL PENA PARRILLA          REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241935 JOEL PENA SANTANA           REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241936 JOEL PEREZ BARRETO          REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678531 JOEL PEREZ CASTILLO         P O BOX 560‐199                                                                                                              GUAYANILLA          PR         00656
   678532 JOEL PEREZ LUYANDO          P O BOX 759                                                                                                                  RIO BLANCO          PR         00744

   678533 JOEL PINEIRO RODRIGUEZ                      VICTORIA HEIGHTS B 12 CALLE 3                                                                                BAYAMON             PR         00960
   678534 JOEL PIRELA GOMEZ                           HC 764 BOX 6461                                                                                              PATILLAS            PR         00723
   678535 JOEL POLANCO DE LA ROSA                     261 CALLE SANTA CECILIA                                                                                      SAN JUAN            PR         00912
   241938 JOEL PRADO MARQUEZ                          REDACTED                      REDACTED            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678536 JOEL QUILES QUILES                          HC 02 BOX 7493                                                                                               CAMUY               PR         00627
   241939 JOEL QUINONES CRESPO                        REDACTED                      REDACTED            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241940 JOEL QUINONES HERNANDEZ                     REDACTED                      REDACTED            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOEL QUIRINDONGO
   241941 VALDERRAMA                                  REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678537 JOEL R BUTLER                               149 CLIFF ROAD                                                                                               AGUADILLA           PR         00603
   678539 JOEL R FRANZQUI                             BO GUMA                     HC 1 BOX 8415                                                                    SAN GERMAN          PR         00683
   241942 JOEL R NIEVES MONTES                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241943 JOEL R NIEVES TORRES                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   241944 JOEL R ORTIZ VARELA                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678542 JOEL R ROMAN RAMOS                          HC 3 BOX 10521                                                                                               CAMUY               PR         00627‐9710



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MML ID                    NAME                                 ADDRESS 1                        ADDRESS 2              ADDRESS 3                           ADDRESS 4              CITY          STATE   POSTAL CODE        COUNTRY

   241945 JOEL RAFAEL VENTURA RIVERA                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678543 JOEL RAMIREZ GONZALEZ                       URB VILLA FONTANA            SC 7 VIA 63                                                                         CAROLINA            PR           00983
   241946 JOEL RAMIREZ OLIVENCIA                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678544 JOEL RAMOS APONTE                           BO VEGAS 25204 CARR 743                                                                                          CAYEY               PR           00736‐9448
   678545 JOEL RAMOS BELTRAN                          HC 1 BOX 6356                                                                                                    MOCA                PR           00676
   678546 JOEL RAMOS BOURDON                          HC 02 BOX 18236                                                                                                  SAN SEBASTIAN       PR           00685
   241948 JOEL RAMOS MELENDEZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678547 JOEL RAMOS NEGRON                           PO BOX 1454                                                                                                      MOROVIS             PR           00687
   241950 JOEL RAMOS PAOLI                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241951 JOEL RAMOS PITRE                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241953 JOEL RAMOS RAMOS                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678549 JOEL RAMOS RODRIGUEZ                        COOP JARDINES VALENCIA       APTO 1304                                                                           SAN JUAN            PR           00923
   241955 JOEL RAMOS TIRADO                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241957 JOEL REYES HERNANDEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678376 JOEL RIVERA COLON                           HC 1 BOX 12901                                                                                                   RIO GRANDE          PR           00745
   678551 JOEL RIVERA COLON                           PO BOX 2994                                                                                                      ARECIBO             PR           00613
   678553 JOEL RIVERA ECHEVARRIA                      EXT EL COMANDANTE            673 CALLE PRINCIPE                                                                  CAROLINA            PR           00987
   241959 JOEL RIVERA FRANCO                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241960 JOEL RIVERA GONZALEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678554 JOEL RIVERA JIMENEZ                         PO BOX 359                                                                                                       BARCELONETA         PR           00617
   678555 JOEL RIVERA MEDINA                          480 CALLE POST SUR                                                                                               MAYAGUEZ            PR           00680
   241962 JOEL RIVERA RODRIGUEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOEL RIVERA ROSARIO/ NEW
   241965 ENERGY                                      CONSULTANTS                  H 4 URB VISTA CRISTINA                                                              COAMO               PR           00769
          JOEL RODRIGUEZ /DBA BUS &
   241966 COACH SERVICES                              PO BOX 9020685                                                                                                   SAN JUAN            PR           00902
   678559 JOEL RODRIGUEZ COLON                        HC 645 BOX 6731                                                                                                  TRUJILLO ALTO       PR           00976
   241967 JOEL RODRIGUEZ FERNANDEZ                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678560 JOEL RODRIGUEZ FIGUEROA                     PO BOX9675                   PLAZA CAROLINA                                                                      CAROLINA            PR           00988
   678561 JOEL RODRIGUEZ GARCIA                       HC 1 BOX 8000                                                                                                    CANOVANAS           PR           00729
   678562 JOEL RODRIGUEZ MATOS                        URB VILLA CHICA              71 CALLE D                                                                          CABO ROJO           PR           00622
   678563 JOEL RODRIGUEZ REYES                        JARD DE COUNTY CLUB          D6 CALLE 9                                                                          CAROLINA            PR           00983
   241968 JOEL RODRIGUEZ RIOS                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678564 JOEL RODRIGUEZ RIVERA                       PO BOX 5024                                                                                                      VEGA ALTA           PR           00692
   241969 JOEL RODRIGUEZ RODRIGUEZ                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678565 JOEL RODRIGUEZ ROMERO                       HC 2 BOX 6268                                                                                                    LARES               PR           00669
   241970 JOEL RODRIGUEZ VIERA                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241971 JOEL ROMAN BURGOS                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241972 JOEL ROMAN COLON                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241973 JOEL ROMAN RODRIGUEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678567 JOEL ROMAN ROMAN                            COND LOS ALMENDROS TORRE II APT 1006                                                                             SAN JUAN            PR           00924
   241974 JOEL RONDA FELICIANO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678568 JOEL ROQUE LOPEZ                            URB SANTA ELVIRA            D 31 CALLE SANTA ANA                                                                 CAGUAS              PR           00725
   678569 JOEL ROSA MARTINEZ                          VAN SCOY                    AB 21 CALLE 3 OESTE INT                                                              BAYAMON             PR           00957
   241976 JOEL ROSA ROMAN                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241977 JOEL ROSADO                                 REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241978 JOEL ROSADO PANTOJA                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241979 JOEL ROSADO RAMIREZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678570 JOEL ROSARIO                                PO BOX 754                                                                                                       AGUADA              PR           00602
   241980 JOEL ROSARIO BORRERO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   241982 JOEL RUIZ INFANTE                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  678572 JOEL RUIZ MEDINA                             HC 8 BOX 17062                                                                                                 PONCE              PR         00731
  241983 JOEL RUIZ TAVAREZ                            REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  241984 JOEL S ESTRADA MELENDEZ                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  678573 JOEL S RIVERA VEGA                           HC01 5742                                                                                                      ARROYO             PR         00714
  678574 JOEL S SOTO MELECIO                          PO BOX 572                                                                                                     TOA BAJA           PR         00951
  678575 JOEL S TORRES RODRIGUEZ                      224 EXTENSION C/ LUNA                                                                                          SAN GERMAN                    00683
  241986 JOEL SALAS PAGAN                             REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  678576 JOEL SALAS RIVERA                            BDA ISRAEL              H 126 CALLE FRANCIA                                                                    SAN JUAN           PR         00917
  678577 JOEL SALINAS JORGE                           P O BOX 499                                                                                                    MERCEDITA          PR         00715
  241987 JOEL SAN MIGUEL ROSADO                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  678578 JOEL SANCHEZ ABREU                           HC 01 BOX 7485                                                                                                 LAS PIEDRAS        PR         00771
  241988 JOEL SANCHEZ ADORNO                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  241989 JOEL SANCHEZ AYALA                           REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  678579 JOEL SANCHEZ IRIZARRY                        BO HATO ABAJO           03 HC BOX 18855                                                                        ARECIBO            PR         00612
  678580 JOEL SANCHEZ ORTIZ                           P O BOX 43002           SUITE 527                                                                              RIO GRANDE         PR         000745
  241990 JOEL SANCHEZ RODRIGUEZ                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  241992 JOEL SANCHEZ SANTIAGO                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   678581 JOEL SANTIAGO CARRASQUILLO                  PO BOX 360142                                                                                                  SAN JUAN           PR         00936‐0142
   241994 JOEL SANTIAGO HERNANDEZ                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   678582 JOEL SANTIAGO LOPEZ                         HC 02 BOX 7882                                                                                                 CAMUY              PR         00627
   241995 JOEL SANTIAGO MARTINEZ                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   678583 JOEL SANTIAGO MERCED                        PO BOX 7126                                                                                                    PONCE              PR         00732
   241996 JOEL SANTIAGO MONGE                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   241997 JOEL SANTIAGO PEREIRA                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   241998 JOEL SANTIAGO RIVERA                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   241999 JOEL SANTIAGO RODRIGUEZ                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   678584 JOEL SANTIAGO ROSARIO                       P.O. BOX 195318                                                                                                SAN JUAN           PR         00919
   678586 JOEL SANTIAGO SANTIAGO                      HC 2 BOX 6349                                                                                                  UTUADO             PR         00641
   242000 JOEL SANTOS CASTILLO                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   242002 JOEL SANTOS MARTINEZ                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   242003 JOEL SANTOS RAMIREZ                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   242004 JOEL SANTOS VIDAL                           REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   242005 JOEL SEPULVEDA TORO                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   242006 JOEL SERRANO DEL VALLE                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   242007 JOEL SILVA SERRANO                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   678587 JOEL SOCARRAS ROSA                          COND LOS OLMOS          36 CALLE NEVAREZ APTO 8 G                                                              SAN JUAN           PR         00927
   242008 JOEL SOTO FELICIANO                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   242009 JOEL SOTO MALDONADO                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   242011 JOEL SOTO RIVERA                            REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   242012 JOEL SOTO RODRIGUEZ                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   242013 JOEL SUAREZ MORALES                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   242014 JOEL TORO IRIZARRY                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   678589 JOEL TORO PAGAN                             1400 AVE MAGDALENA      3ER PISO                                                                               SAN JUAN           PR         00907
   242015 JOEL TORRES                                 REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   242016 JOEL TORRES ADORNO                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   242017 JOEL TORRES COTTO                           REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   242018 JOEL TORRES DEL VALLE                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   242019 JOEL TORRES GARCIA                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   242020 JOEL TORRES GONZALEZ                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   678592 JOEL TORRES JOUBERT                         PO BOX 7126                                                                                                    PONCE              PR         00732
   678593 JOEL TORRES LUCIANO                         HC 08 BOX 112                                                                                                  PONCE              PR         00731‐9703
   242021 JOEL TORRES ORTIZ                           REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  242022 JOEL TORRES PACHECO                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
  678594 JOEL TORRES RIVERA                           PO BOX 2948                                                                                                         GUAYNABO               PR         00970
  242023 JOEL TORRES SOTO                             REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
  242024 JOEL TROCKMAN                                REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
  678595 JOEL VARGAS CASIANO                          MONTE RIO                   BO CERRILLOS C 12                                                                       CABO ROJO              PR         00623
  242025 JOEL VARGAS PACHECO                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
  678598 JOEL VARGAS RODRIGUEZ                        PO BOX 827                                                                                                          YAUCO                  PR         00698
  242026 JOEL VAZQUEZ ASENCIO                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
  678599 JOEL VAZQUEZ RIVERA                          PO BOX 51924                                                                                                        LEVITTWON TOA BAJA     PR         00950
  242027 JOEL VEGA RIVERA                             REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
  678600 JOEL VEGA VEGA                               URB SANTA PAULA             UV 19 CALLE JUAN RAMOS                                                                  GUAYNABO               PR         00969
  678601 JOEL VELAZQUEZ RODRIGUEZ                     HC 1 BOX 11779                                                                                                      CAROLINA               PR         00986
  242030 JOEL VELEZ BRUNO                             REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
  242031 JOEL VELEZ HERNANDEZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
  242032 JOEL VELEZ MATIAS                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
  242034 JOEL VELEZ SANTOS                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
                                                      URB.VILLAMAR 12 C/ADRIANO
   678603 JOEL VERA PEREZ                             GONZALEZ                                                                                                            ARECIBO                PR         00612
   242035 JOEL VILLANUEVA PEREZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
                                                                                   2000 COND COLINA REAL APT
   678604 JOEL VILLARINI FALBE                        AVE FELISA RINCON DE GAUTIER 1204                                                                                   SAN JUAN               PR         00926
   678605 JOEL VIS RAMOS RAMIREZ                      HC 1 BOX 17421                                                                                                      CAMUY                  PR         00627
   678606 JOEL W PADILLA RAMIREZ                      PO BOX 868                                                                                                          CABO ROJO              PR         00622‐0868
          JOEL XAVIER HERNANDEZ
   242036 CENTENO                                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   242037 JOEL YAMBO ROSARIO                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED

   678607 JOEL YAMIL PACHECO ALVAREZ                  PO BOX 3011                                                                                                         YAUCO                  PR         00698
   242038 JOEL YULIAN ROSARIO                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
                                                                                  SUITE 440 268 AVE PONCE DE
  1420112 JOELFRI NARANJO, ALICEA       JAVIER LÓPEZ PÉREZ                        LEÓN                                                                                    SAN JUAN               PR         00918
   242041 JOELI L MARTINEZ PEREZ        REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   242042 JOELIS CLEMENTE QUINONEZ      REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   678608 JOELIS OJEDA APONTE           CARR 103 KM 12 1 BOX 12 A                                                                                                         CABO ROJO              PR         00623
   242043 JOELIZ A MORALES MARTINEZ     REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
          JOELLY AVILES VAZQUEZ/ EGREIN
   242044 AVILES                        REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   242045 JOELMAL RODRIGUEZ BAEZ        REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED

   242046 JOELMIE TROCHE VILLANUEVA                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   242047 JOEL'S TRANSMISSION                         P.O. BOX 944                                                                                                        LARES                  PR         00669
   242048 JOELY GONZALEZ MOLINA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   242049 JOELY Z BABILONIA                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   242050 JOELYN AGUAYO DIAZ                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   678609 JOELYS E HERNANDEZ AVILES                   HC 1 BOX 6791                                                                                                       CIALES                 PR         00638
   242051 JOELYS M GUZMAN VALENTIN                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   242052 Joelys Rosado Fernandez                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   242054 JOEMAR PEREZ ROMAN                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   242055 JOEMAR SOTO NEGRON                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   242056 JOEMARA MERCADO GARCIA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   242057 JOEMARY NAVARRO BONILLA                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   242058 JOEMIE J VALLE ORTIZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   678610 JOEMY VEGA MARRERO                          HC 03 BOX 13640                                                                                                     JUANA DIAZ             PR         00795



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  678611 JOEN AYALA PIZARRO                           HC 1 BOX 5605                                                                                                   LOIZA               PR         00772
  678612 JOENALLY GONZALEZ RIVERA                     JARD DE CAPARRA               UU 3 CALLE 28                                                                     BAYAMON             PR         00959
  242059 JOENEL MORALES SOTO                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   242060 JOENIEL SERVICE & EQUIPMENT REPTO METROPOLITANO                           1036 CALLE 28 SE                                                                  SAN JUAN            PR         00921
   242061 JOENIX TORRES RODRIGUEZ     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678613 JOENMALISSE NIEVES CRUZ     BDA SAN MIGUEL BOX 551                                                                                                          NARANJITO           PR         00719

   242062 JOENNITZA BORRERO CAQUIAS                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOENNY L RODRIGUEZ
   242063 MERCEDES                                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242064 JOENNY M DOMINGUEZ                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242066 JOEREL JOSE MORALES CRUZ                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242067 JOERELL ORTIZ BERDECIA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242069 JOERNS HEALTHCARE                           7027 HAYVENHURST AVE                                                                                            VAN NUYS            CA         91406
   678614 JOERY FUENTES FUENTES                       MEDIANIA ALTA                 BOX 6213                                                                          Loiza               PR         00772

   678615 JOES AUTO ALARMS                            255 AVE JOSE DE DIEGO OESTE                                                                                     CAYEY               PR         00737
   678616 JOES CARPET CLEANING                        32 JN 21 VILLA FONTANA                                                                                          CAROLINA            PR         00983
   242071 JOES CLEANERS                               URB LOMAS VERDES              3 R 37 AVE LAUREL                                                                 BAYAMON             PR         00956‐3310
          JOE'S CONTINENTAL IRON
   678617 WORKS                                       P O BOX 1564                                                                                                    RIO GRANDE          PR         00745
   242072 JOE'S HOME CENTER                           3007 CALLE PAVO REAL                                                                                            VEGA BAJA           PR         00693
   678618 JOE'S MOBILE ELECTRONICS                    PO BOX 1842                                                                                                     AIBONITO            PR         00739‐1842

   678619 JOE'S TIRE & BATTERY SERVICE                P O BOX 714                                                                                                     CULEBRA             PR         00775
   678620 JOES TIRE CENTER                            PO BOX 1628                                                                                                     CANOVANAS           PR         00729‐1628

   242073 JOESAN O HERNANDEZ MARTELL REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242074 JOESELYN L RAMIREZ RIVERA  REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242075 JOESY ACOSTA PAGAN         REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242077 JOEVANNY TORRES TORRES     REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678622 JOEVANNYS PAGAN MORALES    HC 1 BOX 24823                                                                                                                   MOROVIS             PR         00687
   242079 JOEWY X MELENDEZ LEBRON    REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242080 JOEY A OYOLA BRAVO         REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242081 JOEY PAGAN COLON           REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242082 JOEY R COLON ACEVEDO       REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242083 JOEY RAMIREZ GALEANY       REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678624 JOEY RIVERA RAMIREZ        P O BOX 864                                                                                                                      PUNTA SANTIAGO      PR         00741
   242084 JOEY SAINZ FIGUEROA        REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678625 JOEY TIRE CENTER           P O BOX 2060                                                                                                                     AIBONITO            PR         00705
          JOEY TIRE CENTER & SUPER
   242085 ESPECIALES JOEL            PO BOX 2060                                                                                                                      AIBONITO            PR         00705
   242086 JOEYNELL CRUZ HERNAIZ      REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678628 JOEZ CRUZ BERRIOS          PO BOX 240                                                                                                                       SANTA ISABEL        PR         00757
   678629 JOFCO CONSULTING GROUP     268 P DE DE LEON SUITE 904                                                                                                       SAN JUAN            PR         00918
   242087 JOFFRE ALVAREZ DOLZ        REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242088 JOFFRE J ALVAREZ MARTINEZ  REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242089 JOFFREY LOPEZ GARCIA       REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678630 JOFI INVESTMENTS SE        PO BOX 190302                                                                                                                    SAN JUAN            PR         00919‐0302
   678631 JOFREE MATOS CANCEL        RES SANTA RITA                                 EDIF 11 APTO 114                                                                  CABO ROJO           PR         00623

   242094 JOGLAR CACHO MD, EDGARDO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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   242101 JOGLAR PAGAN MD, PRISCILLE                  REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678632 JOGLAR PAINTING INC                         URB CARIBE                  1600 CALLE BORI                                                                          SAN JUAN            PR           00927
   678633 JOGLAR READY MIX INC                        PO BOX 55132                                                                                                         BAYAMON             PR           00960‐4132
   678634 JOHAANA RAMOS FELICIANO                     BO CACAO BOX 2846                                                                                                    QUEBRADILLA         PR           00678
   242110 JOHAB CALDERON GOMEZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678635 JOHAIRA JIMENEZ BOSQUE                      PO BOX 358                                                                                                           TOA BAJA            PR           00952
   242111 JOHAIRA RUIZ ROMAN                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242112 JOHAIRO L FLORES CORREA                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242113 JOHAIZA ARES NUNEZ                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678636 JOHALIS REYES RAMOS                         EL PLANTIO                  A 150 VILLA ICAICO                                                                       TOA BAJA            PR           00949
   242114 JOHALY MUNIZ COLLAZO                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678637 JOHAM M RIVERA MORALES                      PO BOX 669                                                                                                           CIALES              PR           00638
          JOHAM ROSADO A/C ANA L
   678638 SANCHEZ FIGUEROA                            PARCELAS HILL BROTHER       40 CALLE 15                                                                              SAN JUAN            PR           00901

   242115 JOHAMARY CINTRON CUADRADO REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOHAMIL Y DIANEDSY ROSADO
   678639 FIGUEROA                  SECTOR VILLA PLATA MAMEYAL                    E 22 CALLE 6                                                                             DORADO              PR           00646
          JOHAN A HERNANDEZ
   678640 MALDONADO                 PO BOX 9021112                                                                                                                         SAN JUAN            PR           00902‐1112
   242117 JOHAN A RODRIGUEZ         REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678641 JOHAN CARABALLO           SANTA TERESITA                                BL 62 CALLE F                                                                            PONCE               PR           00731
   678642 JOHAN CASTRO MENDEZ       P O BOX 21365                                                                                                                          SAN JUAN            PR           00928‐1365
   242119 JOHAN DOMINGUEZ CASTRO    REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242120 JOHAN FELICIANO LUGO      REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678644 JOHAN FERNANDEZ GONZALEZ                    COND CAGUAS TOWER           APT 204                                                                                  CAGUAS              PR           00725
   678645 JOHAN HERNANDEZ                             BOX 848                                                                                                              VILLALBA            PR           00766
   242121 JOHAN JIMENEZ MARTINEZ                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242122 JOHAN M DAVILA RIVERA                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678646 JOHAN M RAMOS                               P O BOX 639                                                                                                          GUAYNABO            PR           00971
   242123 JOHAN M ROSA RODRIGUEZ                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242124 JOHAN M SANTOS TORRES                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242125 JOHAN M. ARROYO ARROYO                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   242126 JOHAN M. VALCARCEL DE LEON                  REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1420113 JOHAN MALDONADO, FÉLIX                      RODRIGUEZ HUEMER, MYRIA A   PO BOX 856                                                                               VEGA BAJA           PR           00694‐2454
   678647 JOHAN MEDINA GONZALEZ                       URB PEPINO                  41 CALLE C                                                                               SAN SEBASTIAN       PR           00685
   242106 JOHAN O CARELA SANTANA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242127 JOHAN O DUCOS RAMOS                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242129 JOHAN PAGAN ALMA                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242130 JOHAN PAGAN ROJAS                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242131 JOHAN PUJOLS FUENTES                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242132 JOHAN RODRIGUEZ ROJAS                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678648 JOHANA BARRIL ARCELAY                       CAPARRA TERRACE             1310 CALLE B S O                                                                         SAN JUAN            PR           00921

   678649 JOHANA CAL FALERO                           PLAYITA                     201 CALLE B LAS CASAS ALTOS                                                              SAN JUAN            PR           00913

   242134 JOHANA CLAUDIO VALLELLANES REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678650 JOHANA CORREA MEDINA       EXT ZENO GANDIA C                                                                                                                     ARECIBO             PR           00612
   678651 JOHANA CRUZ CARDONA        BO INGENIO                                   72 A CALLE AMAPOLA                                                                       TOA BAJA            PR           00949



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  242135 JOHANA CRUZ NIEVES                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  678652 JOHANA CRUZADO                               VILLA TURABO             H 10 FLAMBOYAN                                                                         CAGUAS             PR         00725
  678653 JOHANA D GONZALEZ SOTO                       URB APRIL GARDENS        I 23 CALLE 14                                                                          LAS PIEDRAS        PR         00771
  678654 JOHANA D MORALES REYES                       BO ANONES                HC 71 BOX 1350                                                                         NARANJITO          PR         00719
  242136 JOHANA E. RIVERA RIVERA                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  678655 JOHANA FIGUEROA TORRES                       RES LAS CASAS            EDIF 25 APART 296                                                                      SAN JUAN           PR         00915
  242138 JOHANA FLORES SANABRIA                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  678656 JOHANA GARCIA IRIZARRY                       URB ALTOS DE LA SIERRA   22 CALLE 70 BLOQ 87                                                                    BAYAMON            PR         00961
  242139 JOHANA GINES MATOS                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   678657 JOHANA HERNANDEZ FRANCO                     PO BOX 45                                                                                                       SAN JUAN           PR         00926

   242141 JOHANA I ECHANDY MARTINEZ                   REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   678658 JOHANA I SOTO CALDERON                      BO CONTORNO              SECT RABO DEL BUEY KM 2 8                                                              TOA ALTA           PR         00953
   242142 JOHANA I VEGA SANTIAGO                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   242143 JOHANA L CURBELO PEREZ                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   678659 JOHANA L GARCIA RUIZ                        BO HATO ARRIBA           50 CALLE B                                                                             ARECIBO            PR         00612

   678661 JOHANA M HERNANDEZ COLON                    URB VILLA SERRENA        C 1 A CALLE CANARIO                                                                    ARECIBO            PR         00612
   242144 JOHANA M MERCADO PEREZ                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   242146 JOHANA M SANCHEZ SOTO                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   242147 JOHANA MARTINEZ ROSARIO                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   678666 JOHANA MEDINA ROSADO                        HC 2 BOX 9543                                                                                                   GUAYNABO           PR         00966
   678667 JOHANA MEJIAS MORALES                       URB ALTAMIRA             5 CALLE CASA E 11                                                                      LARES              PR         00669
   242149 JOHANA MELENDEZ                             REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   678668 JOHANA MERCADO ESPADA                       EL MANANTIAL             EDIF 4 APT 90                                                                          SAN JUAN           PR         00921
   242150 JOHANA MERCADO RIVERA                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   678669 JOHANA MERCADO RUIZ                         PO BOX 974                                                                                                      BARCELONETA        PR         00617
   242151 JOHANA NATER VAZQUEZ                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   678672 JOHANA ORTIZ RIVERA                         RR 01 BOX 11936                                                                                                 TOA ALTA           PR         00953
   678673 JOHANA ORTIZ ROLON                          PO BOX 195552                                                                                                   SAN JUAN           PR         00919‐5552
   678674 JOHANA OYOLA ROSADO                         RES TURABO HGTS          EDIF 11 APT 1 G                                                                        CAGUAS             PR         00725
   678675 JOHANA PEREZ RIVERA                         BO COCOS                                                                                                        QUEBRADILLA        PR         00678‐9802
   242152 JOHANA PULIZA VELAZQUEZ                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   678677 JOHANA RIOS ORTEGA                          PO BOX 191                                                                                                      COMERIO            PR         00782
          JOHANA RIVERA /EQ BLUE JAYS
   678678 DE LEVITTWON                                1RA SECCION LEVITTOWN    1243 PASEO DIAMANTE                                                                    TOA BAJA           PR         00949
                                                      BO CAMUY ARRIBA LAS
   678679 JOHANA RIVERA NIEVES                        PARCELAS                                                                                                        CAMUY              PR         00627
   242153 JOHANA RIVERA RIVERA                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   678681 JOHANA RODRIGUEZ ALBINO                     VILLAS DE LOMAS VERDES   EDIF A APT 104                                                                         SAN JUAN           PR         00926
   242154 JOHANA ROJAS ROJAS                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   242155 JOHANA ROMAN ROJAS                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   242157 JOHANA RUIZ MALDONADO                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   242158 JOHANA SANTIAGO GORDIAN                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JOHANA SANTIAGO GORDIAN
   242160 OPE                                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   678682 JOHANA SOTO                                 URB VILLAS DE CANEY      14 A CALLE CAGUAX                                                                      TRUJILLO ALTO      PR         00976
   678683 JOHANA TORRES GARCIA                        RES SANTA RITA           EDIF 20 APT 13                                                                         CABO ROJO          PR         00623
          JOHANABEL MARRERO
   678684 HERNANDEZ                                   HC 02 BOX 5484                                                                                                  MOROVIS            PR         00687

   242161 JOHANALICE APELLANIZ CANEDA REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  242162 JOHANALIZ BAEZ GUZMAN                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  678685 JOHANALY ORTIZ RIOS                          HC 01 BOX 6884                                                                                                 COROZAL             PR         00783
         JOHANAWILDA BAEZ                             COND ESTANCIAS DE
  678687 HERNANDEZ                                    METROPOLIS                  600 AVE A APTO 618                                                                 CAROLINA            PR         00987
  678688 JOHANE RUIZ LEBRON                           P O BOX 1472                                                                                                   SABANA SECA         PR         00952
  242163 JOHANELLY RIVERA MOJICA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
         JOHANES SCHELLEKENS
  678689 CAMMAN                                       PO BOX 5424                                                                                                    MAYAGUEZ            PR         00601
         JOHANIE HERNANDEZ
  242164 HERNANDEZ                                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  678690 JOHANIE ORTIZ CRIADO                         7 A R 4 RIO GRANDE ESTATES                                                                                     RIO GRANDE          PR         00745
  678691 JOHANIE OTERO ORTIZ                          HC 1 BOX 2253                                                                                                  MOROVIS             PR         00687
  242165 JOHANIE RIVERA ZAYAS                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  242166 JOHANIE RODRIGUEZ                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
                                                      PARCELAS VAN SCOY V‐7A CALLE
   678692 JOHANIE TORRES RIVERA                       11                                                                                                             BAYAMON             PR         00957
   242167 JOHANIS GARCIA PADILLA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   242168 JOHANIT GERENA ROSARIO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   242169 JOHANIVETT MERCADO MOYA                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   242170 JOHANLEE M MUNIZ LEON                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   242171 JOHANN COLON CORDOVA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   242172 JOHANN DIAZ PEREZ                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   678693 JOHANN E REICHL RODRIGUEZ                   COND SANDY HILLS            APT 17B WEST                                                                       LUQUILLO            PR         00773
   242174 JOHANN NEGRON ROMAN                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   678696 JOHANN RAMIREZ TORO                         1 CALLE ESTRELLA                                                                                               HORMIGUEROS         PR         00660

   242176 JOHANN S ROSARIO REGUERO                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   242177 JOHANN Y. LIZARDO                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   242178 JOHANNA A RIVEROS RIVEROS                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   242179 JOHANNA ACEVEDO MATEO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   678698 JOHANNA ALBALADEJO RIVERA                   SECTOR VILLA JUVENTUD       SECTOR VILLA PARC 49                                                               TOA ALTA            PR         00953
   678699 JOHANNA ALBIZU RIVERA                       BOX 5135                                                                                                       COTTO LAUREL        PR         00780
   678700 JOHANNA ALEMAN VELEZ                        HC 07 BOX 34558                                                                                                HATILLO             PR         00659

   242181 JOHANNA ALMODOVAR ROBLES REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   242182 JOHANNA ALVARADO ARROYO                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   242183 JOHANNA AROCHO LOPEZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   242184 JOHANNA ARROYO ALEMAN                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   242185 JOHANNA AVILES CARRERO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   242186 JOHANNA BARRETO ALDIVA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   242188 JOHANNA BONAPARTE DURAN                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   242189 JOHANNA BONILLA PEREZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   242190 JOHANNA BURGOS BERMUDEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JOHANNA BURGOS
   242191 CARRASQUILLO                                REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   242192 JOHANNA BURGOS MARTINEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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  678702 JOHANNA C GOMEZ ROSARIO                      PO BOX 9822                                                                                                          SAN JUAN             PR           00902‐0822
                                                                                    EDIF COLGATE PALMOLIVE CALLE
   678703 JOHANNA CABRERA ORTIZ                       METRO OFFICE PARK SUITE 104   1                                                                                      GUAYNABO             PR           00968‐1705
   242193 JOHANNA CALDERON CEPEDA                     REDACTED                      REDACTED                     REDACTED                           REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   242194 JOHANNA CALDERON COLLAZO                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   678704 JOHANNA CALDERON LOPEZ                      COND LOS ALMENDROS PLAZA II 703 CALLE EIDER APT 802                                                                  SAN JUAN             PR           00924

   242196 JOHANNA CANDELARIA NARVAEZ REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   242197 JOHANNA CARBONELL MORALES REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          JOHANNA CARRASQUILLO
   678705 HERNANDEZ                 VILLA CAROLINA                                  48‐21 CALLE 42                                                                         CAROLINA             PR           00985

   678706 JOHANNA CARTAGENA COLON                     PO BOX 1709                                                                                                          OROCOVIS             PR           00720
   678707 JOHANNA CHARON RIVERA                       VICTOR ROJAS II               142 CALLE 1                                                                            ARECIBO              PR           00612
   678708 JOHANNA COLON CRUZ                          BOX 1116                                                                                                             ARECIBO              PR           00613
   678709 JOHANNA COLON SOTO                          HC 01 BOX 13504                                                                                                      MOCA                 PR           00676
   678711 JOHANNA CONDE MARTINEZ                      EMBALSE SAN JOSE              376 CALLE BRAVANTE                                                                     SAN JUAN             PR           00923
   678712 JOHANNA CORDOVA AVILES                      URB JARDINES DE VAGA BAJA     337 JARDINES DE GIRASOLES                                                              VEGA BAJA            PR           00693
   242199 JOHANNA CRUZ CASTRO                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   678716 JOHANNA CRUZ RODRIGUEZ                      RES MANUEL A PEREZ            EDIF A 3 APT 40                                                                        SAN JUAN             PR           00923
   242201 JOHANNA D GODINEZ ARIAS                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   678717 JOHANNA D GONZALEZ ROEBUCK URB FAIR VIEW                                  G 2 CALLE 11                                                                           SAN JUAN             PR       00926
   678718 JOHANNA DE JESUS           RES GAUTIER BENITEZ                            EDIF 8 APTO 65                                                                         CAGUAS               PR       00725
   242202 JOHANNA DE JESUS PEREZ     REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED REDACTED           REDACTED
   678719 JOHANNA DE JESUS VALLE     2 GANDIA LA MUCURA                             110 CALLE I                                                                            ARECIBO              PR       00612
   242203 JOHANNA DE LA CRUZ JAMES   REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED REDACTED           REDACTED
   242204 JOHANNA DELGADO PASTOR     REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED REDACTED           REDACTED
   242205 JOHANNA DIAZ APONTE        REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED REDACTED           REDACTED
   242206 JOHANNA DIAZ LUGO          REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED REDACTED           REDACTED
   678721 JOHANNA DIAZ TORRES        VILLA FONTANA                                  27R 40 VIA 20                                                                          CAROLINA             PR       00983

   678722 JOHANNA DIEPPA HERNANDEZ                    PO BOX 431                                                                                                           HUMACAO              PR           00792
   678723 JOHANNA E GOMEZ SILVA                       COND PLAZA DEL ESTE 501       CALLE MAIN EDIF 10 APT B1                                                              CANOVANAS            PR           00729
   678724 JOHANNA E RIVERA MIRANDA                    URB VISTA DEL SOL             50 CALLE E                                                                             COAMO                PR           00769
          JOHANNA E. CALDERON
   242209 COLLAZO                                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   242210 JOHANNA ESPARRA RIVERA                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   242211 JOHANNA ESTRADA                             REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          JOHANNA ESTREMERA
   242212 SANTIAGO                                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   242214 JOHANNA FELICIANO GONZALEZ                  REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          JOHANNA FELICIANO
   242215 MARGRETTA                                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   678725 JOHANNA FERRAN SALAS                        EL PLANTIO                    D 15 CALLE CEDRO                                                                       TOA BAJA             PR           00949
   242217 JOHANNA FIGUEROA CORREA                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   242218 JOHANNA FIGUEROA MORALES                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   678727 JOHANNA FRET ROMAN                          PROG. SERA BAYAMON                                                                                                   Hato Rey             PR           009360000



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          JOHANNA G PIZARRO /
   678728 NATIVIDAD OSORIO                            URB REPTO EL CABO        B 6 MEDIANIA BAJA CALLE 3                                                              LOIZA               PR           00772
   678729 JOHANNA GARCIA                              BDA ROOSVELT             364 CALLE 3                                                                            SAN LORENZO         PR           00754
   678730 JOHANNA GARCIA MARTINEZ                     346 VILLA SANTA                                                                                                 DORADO              PR           00646
   678731 JOHANNA GARCIA RIVERA                       PO BOX 1352                                                                                                     HATILLO             PR           00659
   242219 JOHANNA GARCIA VEGA                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   242220 JOHANNA GILOT OPPENHEIMER REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242221 JOHANNA GONZALEZ          REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   242223 JOHANNA GONZALEZ BURGOS                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242224 JOHANNA GONZALEZ LAGUNA                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678732 JOHANNA GONZALEZ PEREZ                      APARTADO 169                                                                                                    TOA BAJA            PR           00951

   678733 JOHANNA GONZALEZ SORIANO                    VILLA CAROLINA           189‐9 CALLE 435                                                                        CAROLINA            PR           00985
   242226 JOHANNA GREY AYALA                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678734 JOHANNA GUTIERREZ SANTIAGO URB SANTA JUANITA                         DT 19 CALLE NAPOLES                                                                    BAYAMON             PR           00956
   678735 JOHANNA HERNANDEZ          BDA VIETNAM                               13 CALLE B                                                                             GUAYNABO            PR           00925
   242227 JOHANNA HERNANDEZ RIOS     REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242228 JOHANNA I ALICEA REYES     REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242229 JOHANNA I ALIERS RAMOS     REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242230 JOHANNA I FONSECA LUGO     REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678738 JOHANNA I GONZALEZ RIVERA                   BDA ISRAEL               157 CALLE NUEVA                                                                        SAN JUAN            PR           00917
   678739 JOHANNA I MORALES                           MONTE SOL                407 AMELIA MERCADO                                                                     JUANA DIAZ          PR           00795‐2850

   242232 JOHANNA IVETTE APONTE VIDAL REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOHANNA J PENA DIAZ / DEPTO
   242233 DE ESTADO                   PO BOX 9023271                                                                                                                  SAN JUAN            PR           00902‐3271
   678741 JOHANNA K VELAZQUEZ CRUZ    PARCELA SUSUA                            2 A CALLE MARGINAL                                                                     SABANA GRANDE       PR           00637

   678742 JOHANNA L BEHARRY PASTRANA VILLA CAROLINA                            76‐12 CALLE 24                                                                         CAROLINA            PR           00785
   242234 JOHANNA L DURAN REYES      REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242235 JOHANNA L MARTINEZ RECIO   REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678743 JOHANNA L MARTINEZ RIVERA                   HACIENDA SAN JOSE        261 PLAZA CARIOCA                                                                      CAGUAS              PR           00727‐3027
   678744 JOHANNA L ORTIZ MARIANI                     JARDINES DEL MAMEY       D 12 CALLE 2                                                                           PATILLAS            PR           00723
          JOHANNA L QUIRINDONGO
   242236 RODRIGUEZ                                   REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   242237 JOHANNA L RIVERA HERNANDEZ                  REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242238 JOHANNA L ROSARIO ORTIZ                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOHANNA LINGERIE
   678745 CORPORATION                                 BO CEDRO ABAJO           BOX 429                                                                                NARANJITO           PR           00719
   242239 JOHANNA LOPEZ FALERO                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678746 JOHANNA LOPEZ REYES                         RES JARD DEL PARAISO     EDIF 13 APT 115                                                                        SAN JUAN            PR           00926
   242240 JOHANNA LOPEZ SANTIAGO                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678747 JOHANNA LUGO MARTINEZ                       CALL BOX 5000 CAJA 124                                                                                          SAN GERMAN          PR           00683
   242242 JOHANNA M BERRIOS RUIZ                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678748 JOHANNA M CABAN DE LEON                     URB SANTA JUANA 11       K 4 CALLE 11                                                                           CAGUAS              PR           00725

   678749 JOHANNA M CARMONA LOPEZ                     HC 22 BOX 3516                                                                                                  NARANJITO           PR           00719



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  678752 JOHANNA M COLON BURGOS                       URB EL CONQUISTADOR        Q 17 CALLE 11                                                                    TRUJILLO ALTO      PR           00976
         JOHANNA M EMMANUELLI
  678754 HUERTAS                                      PO BOX 9009                                                                                                 PONCE              PR           00732‐9009
                                                      VILLA PALMERAS 275 CALLE
   678755 JOHANNA M GUERRERO DIAZ                     BETANCES                                                                                                    SAN JUAN           PR           00915

   678756 JOHANNA M HERNANDEZ COLON URB VILLA SERENA                             C 1 A CALLE CANARIO                                                              ARECIBO            PR           00612

   242244 JOHANNA M MERCADO RIVERA                    REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   242245 JOHANNA M MORALES RIVERA                    REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   242246 JOHANNA M PAGAN MERCADO                     REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   242247 JOHANNA M REYES VAZQUEZ                     REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   242248 JOHANNA M ROMERO ALVAREZ REDACTED                                      REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   678757 JOHANNA M SANCHEZ RAMOS                     BRISAS DE CUPEY            EDIF 8 APT 119                                                                   SAN JUAN           PR           00926
          JOHANNA M. CARMONA
   242249 JIMENEZ                                     REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   242250 JOHANNA M. CIORDIA GUZMAN                   REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   242251 JOHANNA MADERA VARGAS                       REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
          JOHANNA MALDONADO
   242252 CASTILLO                                    REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
          JOHANNA MALDONADO
   242253 GONZALEZ                                    REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
          JOHANNA MALDONADO
   678697 GONZALEZ                                    VILLA FONTANA              PR 522 VIA I 2                                                                   CAROLINA           PR           00983
   678758 JOHANNA MANGUAL FELIX                       16 REPTO BELLA FLORES                                                                                       AGUADILLA          PR           00603
   242254 JOHANNA MANON MANON                         REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   678759 JOHANNA MARQUEZ QUINTANA HC 2 BOX 492617                                                                                                                LAS PIEDRAS        PR           00771

   242255 JOHANNA MARRERO OLIVERAS                    REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   678760 JOHANNA MARTELL RIVERA                      URB EXT FOREST HILL        R 671 CALLE URUGUAY                                                              BAYAMON            PR           00940
   242258 JOHANNA MARTINEZ FALU                       REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   242259 JOHANNA MARTINEZ MARTINEZ                   REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   678761 JOHANNA MARTINEZ ORTEGA                     RES CESAR CORDERO DAVILA   EDIF 10 APT 87                                                                   SAN JUAN           PR           00917
   678762 JOHANNA MARTINEZ ORTIZ                      BO MONTELLANO BOX 7644                                                                                      CIDRA              PR           00656
   242260 JOHANNA MEDINA                              REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   242262 JOHANNA MEDINA PEREZ                        REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   242264 JOHANNA MELENDEZ OTERO                      REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
          JOHANNA MELENDEZ
   242265 VELAZQUEZ                                   REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   678764 JOHANNA MERCADO BLANCO                      CIUDAD UNIVERSITARIA       P 46 CALLE 16                                                                    TRUJILLO ALTO      PR           00976
          JOHANNA MERCEDES SANCHEZ
   678765 RAMOS                                       BRISAS DE CUPEY            EDF 8 APT 119                                                                    SAN JUAN           PR           00926
          JOHANNA MICHELLE URBINA
   242266 RIVERA                                      REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   678766 JOHANNA MONTALVO VENTURA 257 ADUANA STREET                             SUITE 172                                                                        MAYAGUEZ           PR           00680



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   678767 JOHANNA MONTOYA GONZALEZ                    PO BOX 7126                                                                                              PONCE               PR           00732
   242267 JOHANNA MORALES CORTES                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678768 JOHANNA MORALES SANTOS                      BO CENTENO             BOX 308                                                                           TOA ALTA            PR           00954
   242268 JOHANNA MULERO BARRETO                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242270 JOHANNA NAVARRO TORRES                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242271 JOHANNA NEGRON                              REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242272 JOHANNA OLIVERAS ROSADO                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678769 JOHANNA OLMEDA RIVERA                       P O BOX 1072                                                                                             CEIBA               PR           00735‐1072
   678771 JOHANNA ORTIZ APONTE                        PO BOX 8761                                                                                              CAROLINA            PR           00988‐8761
   678772 JOHANNA ORTIZ GONZALEZ                      HC 1 BOX 5244                                                                                            ADJUNTAS            PR           00601‐9719
   242273 JOHANNA ORTIZ RUIZ                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242274 JOHANNA PADILLA CRUZ                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242275 JOHANNA PADILLA MORALES                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242276 JOHANNA PADRO IRIZZARRY                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242277 JOHANNA PAGAN AGUAYO                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242278 JOHANNA PASTRANA DIAZ                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242279 JOHANNA PEREZ BORGES                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242280 JOHANNA PINERO OCANA                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   242282 JOHANNA QUINONES VAZQUEZ                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242283 JOHANNA QUINTANA RENTAS                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678774 JOHANNA QUINTERO CORDERO                    VILLA PALMERAS         412 CALLE CALMA                                                                   SAN JUAN            PR           00915
          JOHANNA R CARABALLO
   242284 MARTINEZ                                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOHANNA R RODRIGUEZ
   242286 HERNANDEZ                                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678775 JOHANNA R VALDES RODRIGUEZ REXVILLE                                BB 10 CALLE 38                                                                    BAYAMON             PR           00957
   678777 JOHANNA RAMOS BONANO       P O BOX 713                                                                                                               VIEQUES             PR           00765
   242287 JOHANNA RAMOS CEDENO       REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678778 JOHANNA RAMOS HERNANDEZ                     VISTAS DEL RIO         EDIF 7 APT 47 B                                                                   BAYAMON             PR           00959
   242289 JOHANNA RESTO ADORNO                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678780 JOHANNA RIVERA                              PO BOX 695                                                                                               COMERIO             PR           00782
   678781 JOHANNA RIVERA AGUIRRE                      BDA ZENO GANDIA        254 CALLE A                                                                       ARECIBO             PR           00612
   242290 JOHANNA RIVERA BENITEZ                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678782 JOHANNA RIVERA DIAZ                         EL TORITO              C 5 CALLE 3                                                                       CAYEY               PR           00736
   242291 JOHANNA RIVERA GONZALEZ                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242292 JOHANNA RIVERA MUNOZ                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242293 JOHANNA RIVERA RAMIREZ                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242294 JOHANNA RIVERA SANTIAGO                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242295 JOHANNA RIVERA TORRES                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678784 JOHANNA ROBLES SANTOS                       URB FERNSNDEZ          33 CALLE KENNEDY                                                                  CIDRA               PR           00739

   678786 JOHANNA RODRIGUEZ BERNIER                   URB LOS ALGARROBOS     B 8 CALLE A                                                                       GUAYAMA             PR           00784
          JOHANNA RODRIGUEZ
   678787 CAMACHO                                     RES LOS MORALES        EDIF 3 APT 22                                                                     MANATI              PR           00674

   678788 JOHANNA RODRIGUEZ DE JESUS COND JARD DE FRANCIA                    APT 301                                                                           SAN JUAN            PR           00917

   678789 JOHANNA RODRIGUEZ FIGUEROA HC 02 BOX 8570                                                                                                            CIALES              PR           00638



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          JOHANNA RODRIGUEZ
   242298 GONZALEZ                                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOHANNA RODRIGUEZ
   678791 RODRIGUEZ                                   PO BOX 581                                                                                                      NARANJITO           PR           00719

   242299 JOHANNA RODRIGUEZ SANCHEZ REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   242300 JOHANNA RODRIGUEZ SANTIAGO REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678792 JOHANNA RODRIGUEZ TOLEDO                    PARK PLAZA               APT 1103                                                                               CAROLINA            PR           00979

   678785 JOHANNA RODRIGUEZ TORRES                    P O BOX 1372                                                                                                    CIALES              PR           00638

   242301 JOHANNA ROHENA QUINONEZ                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242302 JOHANNA ROJAS BAEZ                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242303 JOHANNA ROMERO TORRES                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242304 JOHANNA ROSA GARCIA                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242305 JOHANNA ROSA RIVERA                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678793 JOHANNA ROSA TORRES                         HC 2 BOX 7795                                                                                                   CIALES              PR           00638
          JOHANNA ROSADO
   242306 CARRASQUILLO                                REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678794 JOHANNA ROSALY GUILLERMETY 364 CALLE SAN JORGE PH D                                                                                                         SAN JUAN            PR           00912
   678795 JOHANNA ROSS NIEVES        P O BOX 1628                                                                                                                     ISABELA             PR           00662

   678796 JOHANNA S RIVERA ANAZAGASTY 275 CALLE COLON                                                                                                                 AGUADA              PR           00602
   242309 JOHANNA SANJURJO ANDINO     REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678797 JOHANNA SANTIAGO PALACIOS                   1501 PONCE DE LEON BO5                                                                                          SAN JUAN            PR           00926
   242310 JOHANNA SANTIAGO RIOS                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678798 JOHANNA SANTIAGO SOTO                       HC 01 BOX 3148                                                                                                  MOROVIS             PR           00687
   242311 JOHANNA SANTIAGO TORRES                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678800 JOHANNA SERRANO VELAZQUEZ                   URB LA LULA              17 CALLE G                                                                             PONCE               PR           00731
   678801 JOHANNA SIERRA ORTIZ                        HC 02 BOX 4721                                                                                                  COAMO               PR           00769
   678802 JOHANNA SILVA HERNAIZ                       VILLA CAROLINA           168 23 CALLE 436                                                                       CAROLINA            PR           00985
   242312 JOHANNA SOLIS O'FARRIL                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678803 JOHANNA SOTO AGUILU                         LEVITTOWN                44 BU CALLE MANUEL ALONSO                                                              TOA BAJA            PR           00949
   242313 JOHANNA SOTO COLLAZO                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242314 JOHANNA SOTO RIVERA                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678805 JOHANNA TARDY BUYE                          PARC CASTILLO            E 3 TORRIMAR                                                                           MAYAGUEZ            PR           00680

   242315 JOHANNA TEISSONNIERE COMAS REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678806 JOHANNA TORRES ARROYO      COND ARENA                                71 CALLE CAMASEY                                                                       TOA BAJA            PR           00949
   242316 JOHANNA TORRES BERRIOS     REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678807 JOHANNA TORRES COLON       PO BOX 963                                                                                                                       VILLALBA            PR           00766
   242319 JOHANNA TORRES MERCADO     REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242320 JOHANNA TORRES ORTIZ       REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678812 JOHANNA VELAZQUEZ BAEZ     PO BOX 795                                                                                                                       TRUJILLO ALTO       PR           00977

   678813 JOHANNA VELAZQUEZ GONZALEZ URB VISTA ALEGRE                          511 CALLE ORQUIDEAS                                                                    VILLALBA            PR           00766
   678814 JOHANNA VELEZ GOMEZ        HC 03 BOX 15028                                                                                                                  COROZAL             PR           00783



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  242322 JOHANNA VELEZ MUNIZ                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242323 JOHANNA VELEZ VELEZ                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOHANNA VERONICA RUBIO
  242325 CRUZ                                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242326 JOHANNA VIVONI SUAREZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242327 JOHANNA ZAPATA RAMOS                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242328 JOHANNALITZ LEON GAUD                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242329 JOHANNE COLON TORRES                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOHANNE DEL C TRINIDAD
  242330 CORDOVA                                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  678815 JOHANNE HERNANDEZ SOTO                       PO BOX 5036                                                                                                        SAN SEBASTIAN       PR         00685
  242332 JOHANNE M BERRIOS NIEVES                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   678817 JOHANNE M BONET VALENTIN                    CIUDAD UNIVERSITARIA       T 1 CALLE 19                                                                            TRUJILLO ALTO       PR         00976
   242333 JOHANNE MONTALVO ORTIZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242334 JOHANNE PHANORD FELIPE                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678819 JOHANNE PHARNORD FELIPE                     VILLA CAROLINA             15 CALLE 74 BLQ 117                                                                     CAROLINA            PR         00985
   242335 JOHANNE T. SOSA JOVE                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242336 JOHANNES BERASTAIN                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   678821 JOHANNET PACHOT BORRERO                     PO BOX 560526                                                                                                      GUAYANILLA          PR         00656
   242339 JOHANNI QUIJANO AYALA                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242340 JOHANNIE COLON SANTIAGO                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOHANNIE ECHEVARRIA
   678823 RODRIGUEZ                                   URB VILLA HUMACAO          C 5 CALLE 15                                                                            HUMACAO             PR         00791
   678824 JOHANNIE GARAY MELENDEZ                     URB VILLA CAROLINA         192 23 CALLE 435                                                                        CAROLINA            PR         00985

   678825 JOHANNIE GONALEZ VELAZQUEZ BOX 1479                                                                                                                            MOCA                PR         00676
          JOHANNIE GONZALEZ
   242341 VELAZQUEZ                  REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678826 JOHANNIE MARTINEZ COLON    BOX 2291                                                                                                                            CAYEY               PR         00737
   242342 JOHANNIE PINEIRO QUILES    REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   678827 JOHANNIE ROSARIO DOMINGUEZ URB PUNTA PALMAS                            361 EXT                                                                                 BARCELONETA         PR         00617
   242343 JOHANNIE SIERRA NIEVES     REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOHANNIE VELAZQUEZ
   242344 FERNANDEZ                  REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242345 JOHANNIS SOTO BENITEZ      REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   242347 JOHANNISBERG VALDEZ DE LEON REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242348 JOHANNOS NEGRON DE JESUS    REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678828 JOHANNY BECERRA VAZQUEZ     141 SAN LORENZO VALLEY                                                                                                             SAN LORENZO         PR         00754
   678830 JOHANNY FEBLES SANCHEZ      BO PALENQUE                                CARR 2 BOX 12                                                                           BARCELONETA         PR         00617

   678831 JOHANNY FERREIRA                            COND LOS ALMENDROS PLAZA   II 703 CALLE EIDER APT 104                                                              SAN JUAN            PR         00924‐2365

   678832 JOHANNY GONZALEZ MARTINEZ                   HC 2 BOX 6983                                                                                                      FLORIDA             PR         00650‐9106
   242350 JOHANNY LIZARDO                             REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678833 JOHANNY LOIZ                                CIUDAD MASSO               A 1 35 CALLE 4                                                                          SAN LORENZO         PR         00754
   242351 JOHANNY LOPEZ JIMENEZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   678834 JOHANNY MACHADO CLEMENTE BO BOQUILLA                                   32 CALLE ARRECIFRE                                                                      MANATI              PR         00674




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   242352 JOHANNY MARIZAN RODRIGUEZ REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678836 JOHANNY MATOS VELEZ       URB VILLA CAROLINA                           161‐3 CALLE 420                                                                      CAROLINA            PR           00985
   678837 JOHANNY MUNDO FALU        HC 1 BOX 11564                                                                                                                    CAROLINA            PR           00985
                                                                                 B 1 37 CALLE DR EMIGDIO
   678839 JOHANNY ORTIZ ARRIAGA                       URB LEVITTOWN              ANTIQUE                                                                              TOA BAJA            PR           00949
   242353 JOHANNY PADILLA SOTO                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242354 JOHANNY RIVERA PEREZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678841 JOHANNY RIVERA RIVERA                       HC 02 BOX 6690                                                                                                  JAYUYA              PR           00664
   678842 JOHANNYS BEAUCHAMP                          URB BUENAVENTURA           NG 13 ALHELI                                                                         HORMIGUEROS         PR           00660
   242356 JOHANNYS I TALAVERA VIERA                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   242357 JOHANNYS MARRERO GONZALEZ REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242358 JOHANNYS MATTA ROSARIO    REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242359 JOHANSEN MILLAN RAMOS     REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   242360 JOHANSSEN TORRES GONZALEZ                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOHANSY J RODRIGUEZ
   242361 SANTIAGO                                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242362 JOHANY ADORNO QUINONES                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   678845 JOHANY MARRERO RODRIGUEZ                    P O BOX 771                                                                                                     TOA ALTA            PR           00954
   678846 JOHANY ORTIZ RODRIGUEZ                      BOX 3628                                                                                                        MARICAO             PR           00606
   678844 JOHANY PEREZ ARZOLA                         PO BOX 7845                                                                                                     CAROLINA            PR           00986
   678847 JOHANY ROQUE HERNANDEZ                      509 CALLE WILLIAMS JONES                                                                                        SAN JUAN            PR           00915

   678849 JOHANY TORRES MALDONADO                     HC 01 BOX 8022                                                                                                  VILLALBA            PR           00766
   678850 JOHANY VELAZQUEZ RAMOS                      HC 3 BOX 1206                                                                                                   CAROLINA            PR           00987
   242364 JOHANYS ARENA BORRERO                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678851 JOHAO PEREZ MARTINEZ                        NUEVA VIDA DEL TUQUE       10 CALLE 22                                                                          PONCE               PR           00731
   242365 JOHARA ROBINSON CALVO                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   242366 JOHARA RODRIGUEZ RODRIGUEZ REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242367 JOHARIS E CARRION SOTO       REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242369 JOHARY MORALES RAMOS         REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242370 JOHARY Z COLON RAMOS         REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242371 JOHATHAN G RIVERA ZAYAS      REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678853 JOHAYRA P CRESPO MIRANDA     URB CUPEY GARDENS                         11 CALLE F                                                                           SAN JUAN            PR           00926
   242372 JOHAZIEL CRUZ CARINO         REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242374 JOHEL PEREZ RIVERA           REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242375 JOHELLY MARTINEZ ROJAS       REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOHENE ARRENDONDO ASOC RES
   678854 VILLA CAROLIN                PO BOX 7428                                                                                                                    SAN JUAN            PR           00916
          JOHIRAM RODRIGUEZ
   242376 SEPULVEDA                    REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242377 JOHMAR A ORTIZ RODRIGUEZ     REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678855 JOHMARY TORRES BAEZ          PO BOX 454                                                                                                                     VILLALBA            PR           00766
          JOHN A . MALAVE SILVA DBA JM
   242379 MALAVE SERV                  P. O. BOX 804                                                                                                                  COTO LAUREL         PR           00780‐0000
   678859 JOHN A AYALA RAMOS           P O BOX 6182 STATION 1                                                                                                         BAYAMON             PR           00960‐5182
   678860 JOHN A CEPEDA CLEMENTE       161 CALLE MARIA MUCZO                                                                                                          SANTURCE            PR           00911
   678861 JOHN A CLAUDIO VAZQUEZ       HC 20 BOX 20797                                                                                                                SAN LORENZO         PR           00754
   678862 JOHN A CORDERO LOZADA        RES LUIS LLORENS TORRES                   EDIF 140 APTO 2605                                                                   SAN JUAN            PR           00913



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  242380 JOHN A ESPINO MELENDEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  678864 JOHN A GOULD                                 19395 INDIAN SUMMER LANE                                                                                         MONUMENT          CO         80132‐9423
  678865 JOHN A LEVIN & CO INC                        201 ROUTE 17 NORTH                                                                                               RUFLER FORD       PR         07070
  678867 JOHN A MARRERO LUGO                          VICTOR ROJAS 1               370 CALLE 370                                                                       ARECIBO           PR         00612
  242381 JOHN A MARTINEZ ACEVEDO                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  242382 JOHN A MUNOZ OLMO                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  242383 JOHN A NAPOLI ROMERO                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  678868 JOHN A NIEVES BURGOS                         URB BONNEVILLE HEIGHTS       17 CALLE CANOVANAS                                                                  CAGUAS            PR         00725
  242386 JOHN A RANGEL FALU                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  678869 JOHN A RIVERA ORTIZ                          HC 01 BOX 5914                                                                                                   SALINAS           PR         00751
  242387 JOHN A RIVERA POMALES                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  678870 JOHN A RODRIGUEZ DE LEON                     SIERRA MESTRE                23 CALLE ALOZAINA                                                                   SAN JUAN          PR         00923

   242388 JOHN A RODRIGUEZ VAZQUEZ                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242389 JOHN A ROSADO PINEIRO                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   678873 JOHN A SERRANO MIRANDA                      URB VILLA CAROLINA           94 CALLE 97‐29 APT A 3                                                              CAROLINA          PR         00985

   678875 JOHN A STEWART SOTOMAYOR                    P O BOX 140357                                                                                                   ARECIBO           PR         00614
                                                                                   1000 PONCE DE LEON 5TH
   678876 JOHN A TITICOMBE                            CARIBBEAN ASSOCIATION        FLOOR                                                                               SAN JUAN          PR         00907
   242390 JOHN A VAZQUEZ COLON                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   242392 JOHN A. MALDONADO VAZQUEZ REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242393 JOHN A. NIEVES VELAZQUEZ    REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   678878 JOHN AHEARN                 152 EAST 100TH STREET                                                                                                            NEW YORK          NY         10029
   678879 JOHN AI GROSSMAN            PO BOX 43‐0942                                                                                                                   MIAMI             FL         33243‐0942
          JOHN ALBERTO MARRERO
   678880 SERRANO                     15 CALLE MARIA BOU                                                                                                               COROZAL           PR         00783
   678881 JOHN ALEX AYALA RAMOS       PO BOX 6182 STA 1                                                                                                                BAYAMON           PR         00960
   678882 JOHN ALVAREZ CHEVALIER      PO BOX 7126                                                                                                                      PONCE             PR         00732
   242397 JOHN ATANACIO RUIZ          REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242398 JOHN B ARROYO VEGA          REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   678885 JOHN B BORRERO MOJICA       URB EL PLANTIO                               A 66 CALLE GRANADA                                                                  TOA BAJA          PR         00949
   678886 JOHN B HERNANDEZ RAMOS      JARDINES DE COUNTRY CLUB                     D 9 CALLE 9                                                                         CAROLINA          PR         00983
   242399 JOHN B LAMING TORRES        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   678887 JOHN B LOPEZ GUERRERO       URB BORINQUEN GARDENS                        MM‐11 CALLE SUNFLOWER                                                               SAN JUAN          PR         00926
   242400 JOHN B. MIRANDA ROMAN       REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242401 JOHN BAKER LLORET           REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOHN BANCOCK LIFE INSURANCE
   678888 COMPANY                     PO BOX 111                                                                                                                       BOSTON            MA         02117
   242402 JOHN BANUCHI                REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   678889 JOHN BERNIS DE LA MATTA     PO BOX 6248                                                                                                                      BAYAMON           PR         00960
   678890 JOHN BETANCOURT             1463 CALLE SAN RAFAEL                                                                                                            SAN JUAN          PR         00909

   678891 JOHN BETANCOURT MARQUEZ                     1463 CALLE SAN RAFAEL                                                                                            SAN JUAN          PR         00909
          JOHN BLAIR TRUSTEE OF NETA
   678892 MESSERSMITH                                 1906 EAST BATTLEFIELD ROAD                                                                                       SPRINGFIELD       MO         65804
   678893 JOHN BROADUS SCHOOL INC                     HC 05 BOX 11024                                                                                                  MOCA              PR         00676
   242404 JOHN BURY TEASDALE                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242405 JOHN C ARCE MARQUEZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242406 JOHN C ASENCIO CAPESTANY                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242407 JOHN C BADILLO                              REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242408 JOHN C BERRIOS LOPEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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   678894 JOHN C EMERY                                1302 CALLE LUCHETTI APT 5W                                                                                          SAN JUAN            PR           00907
   242409 JOHN C GONZALEZ MATEO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOHN C KENNEDY Y FRANCES
   242410 KENNEDY                                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   242411 JOHN C MARTIN ASSOCIATES LLC 941 WHEATLAND AVE STE 203                                                                                                          LANCASTER           PA           17603

   242412 JOHN C OLMEDO HERNANDEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678895 JOHN C POMALES PONS                         VILLAS REALES 351            VIA SANTA CATALINA                                                                     GUAYNABO            PR           00969

   242414 JOHN CARLOS RIVERA BRIGNONI REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678896 JOHN CARPET                 HC 01 BOX 6391                                                                                                                      COROZAL             PR           00783

   242416 JOHN CARRASQUILLO ILARRAZA                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678856 JOHN CASTRO RAMOS                           HC 01 BOX 8676                                                                                                      GURABO              PR           00778
   242418 JOHN CHRISTOPHER LANG                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242419 JOHN CLEMENTE MARCANO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242420 JOHN COLON BARBOSA                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678898 JOHN CORALES CABRERA                        BO CAMINO VERDE              HC 2 BOX 12869                                                                         AGUAS BUENAS        PR           00703
   242421 JOHN CORBET                                 REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678899 JOHN CORBETT KREINHEDER                     16291 N 2917 DRIVE PHOENIX                                                                                          ARIZONA             AZ           85053
          JOHN CRISTMIG PROGRESIVE
   678900 CENTER                                      URB ROYAL TOWN               7‐8 CALLE 50 A FINAL                                                                   BAYAMON             PR           00956
   678901 JOHN CRUZ ARROYO                            URB SAN ANTONIO              2047 DRAMA ST.                                                                         PONCE               PR           00728‐1810
          JOHN CUBERO / ALEXANDER
   242422 CUBERO /                                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOHN D CINTRON COLON / JUAN
   242423 CINTRON                                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242424 JOHN D CUESTA BAEZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242425 JOHN D ESCOBAR DELGADO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOHN D FIGUEROA AND LEONOR
   242426 E RODRIGUEZ                                 REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242427 JOHN D KAWESKE                              REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242428 JOHN D MC GLONE RIVERA                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678903 JOHN D MCCHESNEY                            11 HANCOCK CIRCLE                                                                                                   CEIBA               PR           00735
   242429 JOHN D MIRANDA RIVERA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242430 JOHN D NAVAS RIVERA                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678904 JOHN D NAZARIO GOMEZ                        PMB 1133                     243 CALLE PARIS                                                                        SAN JUAN            PR           00917‐3632
   242431 JOHN D RIVAS                                REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242432 JOHN D SILVA BOADA                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678905 JOHN DAVID GONZALEZ                         VILLAS DE RIO GRANDE         B 9 CALLE JULIO MILLAN                                                                 RIO GRANDE          PR           00745
   242433 JOHN DAVILA ORTIZ                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242434 JOHN DE JESUS RUIZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678906 JOHN DE JESUS VEGA                          URB ATENAS                   K 25 CALLE FRANCISCO VEGA                                                              MANATI              PR           00674
   678907 JOHN DEL VALLE                              PO BOX 1439                                                                                                         CAYEY               PR           00736
          JOHN DELGADO /JENNIFER
   242435 ACOSTA DELGADO                              REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242436 JOHN DELGADO ROMAN                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242437 JOHN DOMENECH ROSARIO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242438 JOHN DONATO OLIVENCIA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678908 JOHN DUSSICH                                845 BUCKINGHAM WAY                                                                                                  FRESNO              CA           93704
   242439 JOHN E ALVARADO RIVERA                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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MML ID               NAME                                       ADDRESS 1                 ADDRESS 2                     ADDRESS 3                          ADDRESS 4            CITY          STATE    POSTAL CODE       COUNTRY
  678909 JOHN E DIAZ AVILES                           HC 02 BOX 6470                                                                                                   BARRANQUITAS        PR         00794
  242440 JOHN E ORTIZ SANTANA                         REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242441 JOHN E RAMIREZ TORRES                        REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOHN E RAMOS / IVONNE J
  242442 MOLINA                                       REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242444 JOHN E RIVERA ROSA                           REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242445 JOHN E ROMERO ALVAREZ                        REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242446 JOHN E SERRANO DIAZ                          REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242447 JOHN E SIERRA CASTELLANOS                    REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  678910 JOHN E VALENTINE                             51 NORTH EAST ROAD                                                                                               RAMEY               PR         00604
  678911 JOHN E WOODRUFF BASSLER                      RR 3 BOX 3822                                                                                                    SAN JUAN            PR         00926
  678912 JOHN E. AVALO JULSRUD                        PO BOX 3078                                                                                                      MANATI              PR         00674

   678913 JOHN E. GONZALEZ LEON                       COND TEIDE HATO REY      185 CALLE COSTA RICA APT 1102                                                           SAN JUAN            PR         00917
   242448 JOHN E. RIVERA LOPEZ                        REDACTED                 REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678914 JOHN EDWIN ACOSTA                           URB BARALT               1‐2 AVE PRINCIPAL                                                                       FAJARDO             PR         00738

   242449 JOHN ELIEZER CRUZ RODRIGUEZ                 REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678915 JOHN ERICK MORALES ZAYAS                    HC 71 BOX 3766           MSC 91                                                                                  NARANJITO           PR         00719
          JOHN ESTRADA Y LYNETTE
   242450 MATOS                                       REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242452 JOHN F BURNETT DISDIER                      REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678916 JOHN F COLON ORTIZ                          HC 06 BOX 75222                                                                                                  CAGUAS              PR         00725
   242453 JOHN F EXUN VENSON                          REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678917 JOHN F FERRER BROOKS                        CIUDAD JARDIN            122 CALLE LILA                                                                          CAROLINA            PR         00987
          JOHN F KENNEDY MEDICAL
   242454 CENTER                                      09 BOX 61507                                                                                                     KING OF PRUSSIA     PA         19406
   242455 JOHN F LOMBARDO                             REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678919 JOHN F MALLEY VEGA                          PO BOX 71449                                                                                                     SAN JUAN            PR         00936‐8549
   242456 JOHN F MUNOZ HERNANDEZ                      REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242458 JOHN F SIERRA                               REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678920 JOHN F TANNER                               3447 SEMINOLE PLACE                                                                                              BUFORD              GA         30519
   678921 JOHN F. CONRAD RODRIGUEZ                    URB FLORAL PARK          108 CALLE BETANCES                                                                      SAN JUAN            PR         00917
   242459 JOHN FERRER BROOKS                          REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678922 JOHN FIGUEROA CHEVERE                       BO MAMEYES               P O BOX 1900                                                                            FLORIDA             PR         00650‐1940
   242460 JOHN FLYNN FUERTES                          REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242461 JOHN FRANCO                                 REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242462 JOHN FUENTES                                REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242463 JOHN G AYES SANTOS                          REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678924 JOHN G RAMIREZ RODRIGUEZ                    URB VISTAMAR             153 CALLE VALLADOLID                                                                    CAROLINA            PR         00983
   242464 JOHN GARCIA RIVERA                          REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678926 JOHN GIMENEZ                                URB JAIME L DREW         98 CALLE 7                                                                              PONCE               PR         00731
   242465 JOHN GOMEZ GONZALEZ                         REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242466 JOHN GONZALEZ DA SILVA                      REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242467 JOHN GONZALEZ VICENTY                       REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242468 JOHN GRAZEL INC                             PO BOX 6187                                                                                                      SAN JUAN            PR         00914
   678927 JOHN GUERRA MORENO                          P O BOX 70184                                                                                                    SAN JUAN            PR         00936‐8184
   678928 JOHN H ALBRIGNT LINERA                      URB BELLO MONTE          N 1 CALLE 6                                                                             GUAYNABO            PR         00969
   678929 JOHN H GONZALEZ RIVERA                      VILLA CAROLINA           154 5 CALLE 419                                                                         CAROLINA            PR         00982
   242469 JOHN H MCCARTHY DE JESUS                    REDACTED                 REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678930 JOHN H OCHART                               URB JUAN PONCE DE LEON   169 CALLE 22                                                                            GUAYNABO            PR         00969
   678931 JOHN H STINSON CANCEL                       URB SANTA ROSA           21 30 CALLE 17                                                                          BAYAMON             PR         00959




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MML ID               NAME                                      ADDRESS 1               ADDRESS 2              ADDRESS 3                           ADDRESS 4              CITY          STATE   POSTAL CODE        COUNTRY
          JOHN H STROGER JR HOSPITAL
   242470 OF COOK                                     MEDICAL RECORDS       1901 W HARRISON                                                                   CHICAGO             IL           60612
   678932 JOHN H UPTEGROVE                            10B NIMITZ                                                                                              CEIBA               PR           00735

   242471 JOHN H VELAZQUEZ RODRIGUEZ REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678933 JOHN HAIR STYLIST           27 CALLE MATTELLUVERAS                                                                                                  YAUCO               PR           00698
          JOHN HANCOCK FINANCIAL
   242472 SERVICES INC                PO BOX 111 Z3 237                                                                                                       BOSTON              MA           02117
          JOHN HANCOCK LIFE INSURANCE
   242476 COMPANY                     601 CONGRESS ST Z 13 041                                                                                                BOSTON              MA           02210
          JOHN HANCOCK VARIABLE LIFE
   678934 INS CO                      221 PONCE DE LEON STE 901                                                                                               SAN JUAN            PR           00917‐1808
   678935 JOHN HANDHARDT              GUGGENHEIM MUSEUM                     1071 FIFTH AVE                                                                    NEW YORK            NY           10128
   678937 JOHN HERNANDEZ DAVILA       HC 01 BOX 16395                                                                                                         HUMACAO             PR           00791
   242483 JOHN HERNANDEZ PEREZ        REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678938 JOHN HILL'S CONSTRUCTION    HC 2 BOX 12505                                                                                                          VIEQUES             PR           00765
          JOHN HILLS CONSTRUCTION OF
   678939 VIEQUES INC                 HC 02 BOX 12505                                                                                                         VIEQUES             PR           00765
          JOHN HOWELL GIERBOLINI
   242484 COLON                       REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242485 JOHN I COLON VELAZQUEZ      REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242487 JOHN J BEIGELMAN ALBINO     REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678940 JOHN J CAEZ GONZALEZ        URB REPARTO SEVILLA                   724 CALLE BIZET                                                                   SAN JUAN            PR           00924
   242488 JOHN J FLORES SANCHEZ       REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678941 JOHN J GARCIA ISERN         URB BORINQUEN                         7 CALLE SAN JUAN                                                                  CAGUAS              PR           00725‐2816
   242489 JOHN J LISBOA MANGUAL       REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678943 JOHN J MIRANDA LOPEZ        JARD DE ALONACO III                   254 C/ MONTE CARLOS                                                               MOROVIS             PR           00612
   242490 JOHN J NASTUS               REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242491 JOHN J RODRIGUEZ            REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678944 JOHN J ROSADO PEREZ         PO BOX 1403                                                                                                             DORADO              PR           00646
   242492 JOHN J STACHNIK             REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   242493 JOHN J. FRAGOSO RODRIGUEZ                   REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242494 JOHN J. RAMIREZ LEITON                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242495 JOHN J. RODRIGUEZ                           REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242496 JOHN JAVIER JAVIER                          REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242497 JOHN JAY COLLEGE                            899 TENTH AVENUE                                                                                        NEW YORK CITY       NY           10019

   242498 JOHN JOHN RODRIGUEZ ROSA                    REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242499 JOHN K ARINSLIE SOLIS                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678945 JOHN K NIEVES CASTRO                        P.O.BOX 30934                                                                                           SAN JUAN                         00929‐1934
   242500 JOHN K PASTRAMA OJEDA                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242502 JOHN KARBAN SOSA                            REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242503 JOHN KAY GUZMAN                             REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678947 JOHN L ASTOR CASALDULC                      PO BOX 910                                                                                              GUAYNABO            PR           00910
   242504 JOHN L CASTRO BADILLO                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678948 JOHN L MEJIAS DIAZ                          URB VILLA BORINQUEN   J 8 CALLE GUATIBIRI                                                               CAGUAS              PR           00752
   678949 JOHN L MINASIAN                             4029 GOODLAND AVE                                                                                       STUDIO CITY         CA           91604
   242506 JOHN L ORTIZ REYES                          REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   678950 JOHN L RIVERA MARTI                         URB CAMPO ALEGRE      G 26 CEREZA                                                                       BAYAMON             PR           00956
   678951 JOHN L RIVERA MOLINA                        P O BOX 771                                                                                             VEGA ALTA           PR           00692
   678953 JOHN L SHAPIRO TORRUELLA                    PO BOX 3120                                                                                             SAN JUAN            PR           00919‐3120
   242507 JOHN L VAZQUEZ PORTER                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  242508 JOHN LEE SANTANA DIAZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  242509 JOHN LEE VEGA VARGAS                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  678954 JOHN LEHE                                    520 PEPPERTREE LOOP                                                                                               ANCHORAGE         AK         99504
  678955 JOHN LEON LAWRENCE                           HC 44 BOX 13610                                                                                                   CAYEY             PR         00736
                                                      COND TORRE DEL PARQUE APT   1500 AVE MONTILLA TORRE
   678956 JOHN LOPERA CAICEDO                         1102                        NORTE                                                                                 BAYAMON           PR         00956
   678957 JOHN LOPEZ SANCHEZ                          A 158 URB LA VEGA                                                                                                 VILLALBA          PR         00766
   242511 JOHN LOPEZ VALLEJO                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242513 JOHN M CRUZ ESPINOSA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242514 JOHN M CRUZ RAMOS                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242515 JOHN M FERNANDEZ LOPEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   242517 JOHN M FONTANEZ RODRIGUEZ REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242520 JOHN M GILL ECCLES        REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242521 JOHN M GONZALEZ SALOME    REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   678959 JOHN M IZQUIERDO                            URB ROMANY PARK B8 CALLE1                                                                                         SAN JUAN          PR         00926
   242522 JOHN M MENDEZ NIEVES                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242523 JOHN M PAGAN PADILLA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242524 JOHN M PIETRI VILLANUEVA                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242527 JOHN M RODRIGUEZ BURGOS                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   678960 JOHN M RODRIGUEZ STATON                     URB ROUND HILL              761 CALLE AMAPOLA                                                                     TRUJILLO ALTO     PR         00976
   242528 JOHN M ROMAN NEVAREZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   678961 JOHN M SANTIAGO LOPEZ                       PO BOX 9021112                                                                                                    SAN JUAN          PR         00902‐1112
   678962 JOHN M SIERRA LOPEZ                         HC 57 BOX 10135                                                                                                   AGUADA            PR         00602
   242529 JOHN M SOTO VELEZ                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   242530 JOHN M SOTOMAYOR MOJICA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242531 JOHN M. LOPEZ CALDERON                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   678963 JOHN MACHADO PEREZ                          PO BOX 194                                                                                                        BARCELONETA       PR         00617
          JOHN MALAVE SILVA DBA JM
   242532 MALAVE SERVICE                              P O BOX 800804                                                                                                    COTO LAUREL       PR         00780
   678964 JOHN MALDONADO ALICEA                       BOX 1441                                                                                                          JUANA DIAZ        PR         00795
          JOHN MALDONADO
   678965 FONRODONA                                   PO BOX 736                                                                                                        GUANICA           PR         00653
   678966 JOHN MARTINEZ DE LA ROSA                    URB CIUDAD MASSO            G 30 CALLE 13                                                                         SAN LORENZO       PR         00754
   678967 JOHN MEDINA MILLAN                          HC 01 BOX 850500            K M25 1 EL VERDE                                                                      RIO GRANDE        PR         00745
   678968 JOHN MELENDEZ LOIZAJA                       P.O. BOX 2073                                                                                                     JUNCOS            PR         00777
   242533 JOHN MENDEZ RIVERA                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   678969 JOHN MENDEZ VAZQUEZ                         HC 01 BOX 8615                                                                                                    CANOVANAS         PR         00729
          JOHN MICHAEL CORDERO
   242535 MELENDEZ                                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   678970 JOHN MICHAEL DANET                          COND CAMELOT                140 CARR 842 APT 1303                                                                 SAN JUAN          PR         00926
   242537 JOHN MICHAEL PARIS FLORES                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOHN MICHAEL RODRIGUEZ
   242538 SEDA                                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242539 JOHN MILLER ROMAN                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242540 JOHN MONTAS VERAS                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   242542 JOHN MONTERREY RODRIGUEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   678971 JOHN MORALES RODRIGUEZ                      URB VILLA PRADES            610 CALLE CASIMIRO DUCHESNE                                                           SAN JUAN          PR         00924‐2109
   242543 JOHN MORELL SOTO                            REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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MML ID              NAME                                        ADDRESS 1                   ADDRESS 2                   ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  242544 JOHN MUNOZ MUNOZ                             REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242545 JOHN NAPOLI                                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242546 JOHN NAPOLI AND ASSOC INC                    P O BOX 9023990                                                                                                   SAN JUAN            PR         00902‐3990

   242547 JOHN NAPOLIS ASSOCIATES INC                 P.O. BOX 9066560                                                                                                  SAN JUAN            PR         00906‐6560
   242548 JOHN NEGRON FLORES                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242549 JOHN NIEVES MUNIZ                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242551 JOHN NIEVES PEREZ                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678976 JOHN OLSON                                  9626 VILLAGESMITH WAY                                                                                             BURKE               VA         22015
   678977 JOHN ORTIZ BERMUDEZ                         HC 01 BOX 17701                                                                                                   COAMO               PR         00769
   678978 JOHN P BARTEMES ROBERTS                     URB REPARTO SEVILLA        924 CALLE SARASATE                                                                     SAN JUAN            PR         00924

   678979 JOHN P BLACKBURN SANTIAGO                   SANTA ELENA                C 10 CALLE 7                                                                           BAYAMON             PR         00957
   678980 JOHN P BOATMAN MARTINEZ                     PO BOX 473                                                                                                        ARECIBO             PR         00613
   242552 JOHN P FUENTES PONCE                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678981 JOHN P MALDONADO COLON                      1 SAN FELIPE INT                                                                                                  JAYUYA              PR         00664
   242553 JOHN P MAURAS GARCIA                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOHN P MUJICA Y KATHIA
   242554 ESCUDERO                                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678982 JOHN P RAMIREZ TORRES                       BO SABANAS ENEAS           CALLE 22 SABANA ENEAS 594                                                              SAN GERMAN          PR         00683
   678983 JOHN P RUIZ                                 PO BOX 6395                                                                                                       MAYAGUEZ            PR         00681‐6395
   242555 JOHN P. STEINES JR                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242556 JOHN PADILLA MATOS                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOHN PAUL ROLLOCKS
   242559 RODRIGUEZ                                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242560 JOHN PAUL SOTO MEDINA                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678984 JOHN PAUL TORRES RIVERA                     BO PALO SECO               35 CALLE 10                                                                            SANTA ISABEL        PR         00757
   678985 JOHN PAUL VAZQUEZ RENTA                     CASA LINDA COURTS A 6                                                                                             BAYAMON             PR         00959
   242561 JOHN PEREZ OJEDA                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242562 JOHN PIERETTI ORENGO                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678986 JOHN QUAYLE SUAREZ                          URB LA RIVIERA             1309 CALLE 40 SO                                                                       SAN JUAN            PR         00921
   242563 JOHN R BONILLA RODRIGUEZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   242564 JOHN R EMMANUELLI FELICIANO REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242565 JOHN R OLSEN JENSEN         REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242566 JOHN R ORTIZ ORTIZ          REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   678987 JOHN R ROBLES & ASSOCIATES                  PO BOX 29715                                                                                                      SAN JUAN            PR         00929
   678989 JOHN R VILLAMIL                             URB DORADO DEL MAR         R3 CALLE BRISAS                                                                        DORADO              PR         00646
   242568 JOHN RAMOS AYALA                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678990 JOHN RAMOS CARO                             VALENCIA GARDENS           A 3 CALLE 21                                                                           BAYAMON             PR         00959
   678991 JOHN REDA FATA                              URB SAGRADO CORAZON        1647 CALLE SANTA ANGELA                                                                SAN JUAN            PR         00926
   678992 JOHN RETTALIATA                             12815 FOLLY QUARTER ROAD                                                                                          ELLICOTT CITY       MD         21042 1274
   678993 JOHN RIOS ROSA                              P O BOX 1369                                                                                                      ISABELA             PR         00662
   678994 JOHN RIVERA                                 COMUSNAVSO                 FPO AA                                                                                 CEIBA               PR         34099‐6004
   678995 JOHN RIVERA LOPEZ                           RIVERAS DEL RIO            I 8 CALLE 2                                                                            BAYAMON             PR         00959
   242569 JOHN RIVERA MATOS                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242570 JOHN RIVERA MEJIAS                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242572 JOHN ROBERT MOJICA ZAYAS                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   678996 JOHN ROBERT MONTEMAYOR                      URB JARDINES DE TOA ALTA   215 CALLE 8                                                                            TOA ALTA            PR         00953
   678997 JOHN RODRIGUEZ                              PO BOX 1877                                                                                                       BARCELONETA         PR         00617‐1877
   242573 JOHN RODRIGUEZ ADAMES                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242574 JOHN RODRIGUEZ BAEZ                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  242575 JOHN RODRIGUEZ BRACERO                       REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242576 JOHN RODRIGUEZ TORRES                        REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242577 JOHN ROJAS ESPADA                            REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  678999 JOHN ROMAN ROSADO, CPA                       ESTANCIAS DE MANATI            57 CALLE CORALI                                                                    MANATI              PR         00674
  242578 JOHN ROSADO COLLS                            REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242579 JOHN S CORREA PATINO                         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242581 JOHN S GINORIO RIVERA                        REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  678857 JOHN S LOWE                                  URB SUNRISE 72                 TWILIGHT ST                                                                        HUMACAO             PR         00791
  242582 JOHN S VEGA RIVERA                           REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242583 JOHN SANABRIA DIAZ                           REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  679002 JOHN SANDOVAL SOUBIRAN                       163 CALLE VILLAMIL APT D‐2                                                                                        SAN JUAN            PR         00907
  242584 JOHN SANTIAGO LORENZO                        REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  679005 JOHN SANTIAGO TORRES                         URB LOMAS VERDES               3 F 14 CALLE MIOSOTIS                                                              BAYAMON             PR         00956
  679006 JOHN SEDA MORALES                            NF4 MANSION DEL NORTE                                                                                             TOA BAJA            PR         00949
         JOHN SERINO COLON /
  679007 EBANISTERIA SERINO                           HC 2 BOX 11114                                                                                                    SAN GERMAN          PR         00683‐9604
  242585 JOHN SHERRARD                                REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  679008 JOHN SIERRA RIVERA                           CALLE BAENA                    COND 2 APT 16                                                                      SAN JUAN            PR         00923
  679009 JOHN SOLIS                                   LOMAS DE TRUJILLO ALTO         I13 CALLE 6                                                                        TRUJILLO ALTO       PR         00976

   679010 JOHN STAURULAKIS INC                        7852 WALKER DRIVE SUITE 200                                                                                       GREENBELT           MD         20770

   679011 JOHN STEIN MOROE                            3141 FAIRVIEW PARK DRIVE 777                                                                                      FALL CHURCK         VA         22042
   679012 JOHN STETTLER                               5510 ROSARIO AVE                                                                                                  ATASCADERO          CA         93422
   242586 JOHN STEVEN AYALA                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   242587 JOHN STEVEN NEGRON APONTE REDACTED                                         REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   242588 JOHN STEVEN TORRES NAZARIO                  REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOHN STROGER JR HOSPITAL OF
   242589 COOK COUNTY                                 7423 W ARCHER AVE UNIT 1A                                                                                         SUMMIT              IL         60501
   679013 JOHN SUAREZ PEREZ                           CHALETS DE SAN FERNANDO        APT 2001                                                                           CAROLINA            PR         00987
   679014 JOHN T HAYES ZAYAS                          659 CALLE MACKINLEY APT 10                                                                                        MIRAMAR             PR         00907
   679015 JOHN TALAVERA ZAMBRANA                      EXT FOREST HILLS               G 85 CALLE ATENAS                                                                  BAYAMON             PR         00959
          JOHN TORRES / EL SOTANO
   679016 00931 INC                                   PARC FALU                      164 CALLE 45                                                                       SAN JUAN            PR         00924
   679017 JOHN TORRES RODRIGUEZ                       URB EL MADRIGAL                Q 16 CALLE 23                                                                      PONCE               PR         00730
   242590 John Torres Rosas                           REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242592 JOHN TORRES VIROLA                          REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242593 JOHN V HOY RIVERO                           REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOHN V TIRADO MUNIZ/ PURA
   242595 ENERGIA INC                                 PO BOX 37                                                                                                         AGUADA              PR         00602

   679018 JOHN VALENTIN RODRIGUEZ                     PO BOX 2102 VICTORIA STATION                                                                                      AGUADILLA           PR         00605
   242596 JOHN VARGAS CASTRO                          REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679019 JOHN VARGAS LEON                            PO BOX 7126                                                                                                       PONCE               PR         00732
   679020 JOHN VAZQUEZ CRUZ                           URB JARDINES DE YABUCOA        E 14 CALLE 8                                                                       YABUCOA             PR         00767‐3113
   242597 JOHN VELEZ ROLLING DOORS                    URB LAS VEREDAS                719 CALLE 68                                                                       GURABO              PR         00778
   242598 JOHN VERGELI VALENTIN                       REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOHN VICENT SANTELL
   242599 QUINONEZ                                    REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242600 JOHN VIDOT RIVERA                           REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679022 JOHN VILLAFANE ROURE                        URB LOMAS VERDES               4G 21 CALLE ROBLES                                                                 BAYAMON             PR         00956



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  242601 JOHN VO                                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
  679023 JOHN W IRIZARRY                              PO BOX 307                                                                                                      LAJAS                  PR         00667
         JOHN W MUNOZ CEDENO DBA
  242602 LOS FURGONES                                 PO BOX 877                                                                                                      LAJAS                  PR         00667
                                                                                  1149 AVE ROOSEVELT URB
   679024 JOHN W. DEITER CARMONA                      DEITER INT ELECTRONICS      PUERTO NUEVO                                                                        SAN JUAN               PR         00920
          JOHN W. LEWIS ENTERPRISES,
   679025 INC.                                        PO BOX 3375                                                                                                     SAN JUAN               PR         00936
   679026 JOHN WARE                                   GOLDEN GATE                 60 DIAMANTE                                                                         GUAYNABO               PR         00968
   679027 JOHN WEISHERT                               92 FOSTEN AVENUE                                                                                                SAYVILLE               NY         11782
   242603 JOHN WILEY & SONS                           PO BOX 416502                                                                                                   BOSTON                 MA         02241‐6502
   242604 JOHN WILEY & SONS INC                       PO BOX 18684                                                                                                    NEWARK                 NJ         07191‐8684
   678858 JOHN WILSON GOMEZ                           URB VILLA CAROLINA          161 B 12 CALLE 420                                                                  CAROLINA               PR         00987
   242606 JOHN WILSON OAKEY                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   679028 JOHN Y HENRY SANCHEZ                        PO BOX 1128                                                                                                     FAJARDO                PR         00738

   679029 JOHN Y THERESA A AGOSTINELLI                60 BETWOOD LA                                                                                                   ROCHESTER              NY         14612
   679030 JOHN ZAYAS FLORES                           HC 02 BOX 15126                                                                                                 ARECIBO                PR         00612
          JOHN ZERBE TRUSTEE/ESTATE
   679031 RIOS ELECTCORP                              URB SAN FRANCISCO           165 AVE DE DIEGO                                                                    SAN JUAN               PR         00927
   242607 JOHNAIDA RUIZ RODRIGUEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
          JOHNAIRA M VECCHIOLI
   242608 SANTANA                                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
          JOHNALIZ M COTTE
   242609 TORRES/CORALIZ TORRES R                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   242610 JOHNATAN PEREZ CANINO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
          JOHNATHAN A RODRIGUEZ
   242611 ROSADO                                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
          JOHNATHAN GONZALEZ
   679032 ECHEVARRIA                                  HC 56 BOX 4788                                                                                                  AGUADA                 PR         00602
          JOHNATHAN GONZALEZ
   242612 SANTIAGO                                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
          JOHNATHAN M SANTANA
   242613 HERNANDEZ                                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED

   242614 JOHNATHAN VELAZQUEZ CRUZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
          JOHNATTAN A OLIVERO
   242615 MANGUAL                                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   679034 JOHNATTAN ROJAS ORTEGA                      JUAN DOMINGO                22 CALLE LAS MARIAS                                                                 GUAYNABO               PR         00966

   242616 JOHNATTAN TORRES VAZQUEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED

   679035 JOHNBANY VILLARONGA LOPEZ                   271 CALLE LICEO ARRIBA                                                                                          MAYAGUEZ               PR         00680
   679036 JOHNCRISTMIG HOUSE INC                      ROYAL TOWN                  8 BLOQ 7 C/ 50 A                                                                    BAYAMON                PR         00956

   242617 JOHNCRISTMIG HOUSE INC.                     C/50 A BLOQ. 7#8 ROYAL TOWN                                                                                     BAYAMON                PR         00956
   679038 JOHNEL DE LA CRUZ RAMOS                     HILL BROTHER SUR            686 CALLE 13                                                                        SAN JUAN               PR         00924
   242618 JOHNELL RODRIGUEZ CRESPO                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   242619 JOHNELL ROSARIO FELICIANO                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   242620 JOHNELY WRIGHT DE JESUS                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   242621 Johnjavi Corp.                              PO Box 246                                                                                                      Las Piedras            PR         00771
  1256603 JOHNJAVI CORPORATION                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED
   242622 JOHNMAR WALKER TORRES                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED               REDACTED   REDACTED     REDACTED



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  679040 JOHNN RIOS VEGA                               URB VILLA LINARES         I 10 CALLE 15                                                                           VEGA ALTA            PR         00692
  242623 JOHNNIE J NIEVES RIVERA                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  242624 JOHNNIE RUIZ MORALES                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   679045 JOHNNY A RODRIGUEZ ESPINOSA P O BOX 191289                                                                                                                     SAN JUAN             PR         00919
   242627 JOHNNY A ROMAN ORTIZ        REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JOHNNY ACEVEDO
   242628 ENCARNACION                 REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   242629 JOHNNY ACEVEDO ROMAN        REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   679047 JOHNNY ALAMO NIEVES         URB PARQUE LAS HACIENDAS                   H 32 CALLE TURABO                                                                       CAGUAS               PR         00725
   242630 JOHNNY ALBINO ACOSTA        REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   242631 JOHNNY ALSINA BONILLA       REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   242632 JOHNNY ALVARADO ORTIZ       REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   242634 JOHNNY ANDUJAR VEGA         REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                      JARDINES COUNTRY CLUB CP24
   679048 JOHNNY ARCE MEDERO          CALLE157                                                                                                                           CAROLINA             PR         00982
          JOHNNY ARTURO RODRIGUEZ
   242635 ESPINOSA                    REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   242636 JOHNNY ASENCIO MORALES      REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   679049 JOHNNY AUTO REPAIR          CAPARRA TERRACE                            SE‐1150 CALLE 2                                                                         SAN JUAN             PR         00921
                                      EL TUQUE NUEVA VIDA M‐39
   679050 JOHNNY AVILES MEDINA        CALLE‐1                                                                                                                            PONCE                PR         00731
   679051 JOHNNY AVILES MENDEZ        P O BOX 1655                                                                                                                       ARECIBO              PR         00613
   679052 JOHNNY AYALA SANTANA        PARC PUERTO REAL                           14 A CALLE 10                                                                           CABO ROJO            PR         00623
          JOHNNY BARONA / LUZMELIDA
   242638 RIVERA                      REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   679057 JOHNNY BELLARD ESPINAL      BOX 202                                                                                                                            SAN JUAN             PR         00925‐3808
          JOHNNY BETANCOURT
   242639 MANGUAL                     REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   679059 JOHNNY BILLIARD ESPINAL     PO BOX 202                                                                                                                         SAN JUAN             PR         00925
   679060 Johnny Blanco Bracero       HC‐2 Box 14681                                                                                                                     Lajas                           00667‐9611

   679062 JOHNNY CANNIZZARO DE JESUS                   PO BOX 9024275                                                                                                    SAN JUAN             PR         00902‐4275

   679063 JOHNNY CARRERAS RODRIGUEZ                    HC 67 BOX 15099                                                                                                   BAYAMON              PR         00956

   679064 JOHNNY CARRION BERNABE                       URB LEVITTOWN LKES        DN 15 CALLE LAGO CERRILLOS                                                              TOA BAJA             PR         00949
   679065 JOHNNY CINTRON MORALES                       URB VILLAS DEL CAFETAL    0 10 CALLE 9                                                                            YAUCO                PR         00698
   242642 JOHNNY CLAUDIO DE JESUS                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   679066 JOHNNY COLON & ASSOC.                        PO BOX 6576                                                                                                       SAN JUAN             PR         00914
   679067 JOHNNY COLON ALVAREZ                         BO FACTOR 1               59 A CALLE G                                                                            ARECIBO              PR         00612
   242643 JOHNNY CORREA NOA                            REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   242644 JOHNNY CRESPO CAMPOS                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   679069 JOHNNY DEL RIO ALICEA                        VILLAS DE HATILLO         APTO 305                                                                                HATILLO              PR         00659
   242645 JOHNNY DELGADO                               REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   242646 JOHNNY DIAZ LEBRON                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   679070 JOHNNY E SOLIS LOZADA                        RES LUIS LLORENS TORRES   EDIF 140 APTO 2610                                                                      SAN JUAN             PR         00913
   679071 JOHNNY ECHEVARRIA                            QUINTA DEL NORTE          C 10 CALLE 3                                                                            BAYAMON              PR         00961
          JOHNNY ESTRADA /DBA/
   679072 ESTRADA REPAIR                               PO BOX 874                                                                                                        MAYAGUEZ             PR         00681‐0874
   679073 JOHNNY FELICIANO                             P O BOX 21365                                                                                                     SAN JUAN             PR         00918
   242647 JOHNNY FELICIANO FEBUS                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   242648 JOHNNY FELICIANO RIVERA                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  242649 JOHNNY FERRER OBREGON                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  679074 JOHNNY FIGUEROA                              P O BOX 10131                                                                                                  HUMACAO           PR         00792
  679075 JOHNNY FIGUEROA COLON                        URB JARDINES DE AFYETTE   I 25 CALLE A 1                                                                       ARROYO            PR         00714
  679076 JOHNNY GARCIA RESTO                          SAVANNAH                  D 9 REAL PASEO CASTILLO                                                              SAN LORENZO       PR         00754
  242651 JOHNNY GONZALEZ ESPARRA                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   679077 JOHNNY GONZALEZ MARTINEZ                    HC 01 BOX 3973                                                                                                 LARES             PR         00669
   242652 JOHNNY GONZALEZ MOJICA                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242653 JOHNNY GONZALEZ RIOS                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242654 JOHNNY GONZALEZ RIVERA                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679079 JOHNNY GONZALEZ TOSADO                      STA CATALINA              F 5 CALLE 8                                                                          BAYAMON           PR         00957
   242656 JOHNNY HEREDIA CALOCA                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679080 JOHNNY HERNANDEZ CRUZ                       HC 1 BOX 4660                                                                                                  JUANA DIAZ        PR         00795‐9706
   679081 JOHNNY HERNANDEZ RUIZ                       COLINAS DE VILLA ROSA     B‐13                                                                                 SABANA GRANDE     PR         00637
   679082 JOHNNY J MORALES ROMAN                      HC 01 BOX 4785‐3          BO PUERTO ARRIBA                                                                     CAMUY             PR         00627
   679043 JOHNNY JORDAN SAAD                          CALLEJON OLIVERAS         BZN 309 APT 1                                                                        CABO ROJO         PR         00623
                                                      PMB 230 AVE ALEJANDRINO
   679084 JOHNNY LOPEZ PEREZ                          3071                                                                                                           GUAYNABO          PR         00969
   242657 JOHNNY LOPEZ RODRIGUEZ                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679085 JOHNNY LOPEZ SCREENS                        P O BOX 330888                                                                                                 PONCE             PR         00733
   242658 JOHNNY LOPEZ SIMMONS                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242659 JOHNNY LOUBRIEL FERRER                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   679087 JOHNNY LUQUIS TRANSMISSION                  CALLE MUNOZ RIVERA #259                                                                                        CAROLINA          PR         00984
   679088 JOHNNY M HALL                               309 S CHOCOLAY                                                                                                 CLAWSON           MI         48017
          JOHNNY M. CARABALLO
   242661 MORALES                                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242662 JOHNNY MARTINEZ CRUZ                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   242663 JOHNNY MARTINEZ QUINONES                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679089 JOHNNY MEDINA RODRIGUEZ                     PO BOX 7126                                                                                                    PONCE             PR         00732
   242664 JOHNNY MONTERO MARIN                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679090 JOHNNY MORALES BAJANDAS                     P O BOX 1813                                                                                                   SAN JUAN          PR         00902‐1813
   679091 JOHNNY MORALES MORALES                      24 ALTOS                  CALLE BALDORIOTY                                                                     SABANA GRANDE     PR         00637

   242665 JOHNNY MORALES RODRIGUEZ                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242666 JOHNNY MUNOZ CAMPS                          REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242667 JOHNNY N SEDA RODRIGUEZ                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679094 JOHNNY NEGRON ESSO SER                      PO BOX 199                                                                                                     YABUCOA           PR         00767

   242669 JOHNNY NEGRON RODRIGUEZ                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOHNNY NOEL FIGUEROA
   679095 JURADO                                      EMBALSE SAN JOSE          320 CALLE BRAVANTE                                                                   SAN JUAN          PR         00923
   242670 JOHNNY OCASIO TORRES                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679098 JOHNNY ORTIZ ORTIZ                          BDA VILLA ALEGRE          C 37 CALLE 2                                                                         GURABO            PR         00778
   242671 JOHNNY ORTIZ PADILLA                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679099 JOHNNY ORTIZ RIVERA                         HC 80 BOX 8376                                                                                                 DORADO            PR         00646
   242672 JOHNNY PASTRANA BRUNO                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   242673 JOHNNY PEREZ NUNEZ                          REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679103 JOHNNY PEREZ RIVERA                         URB VILLA FONTANA         4VS 29 VIA 37                                                                        CAROLINA          PR         00986
   679104 JOHNNY PEREZ SANTOS                         HC 02 BOX 6303                                                                                                 FLORIDA           PR         00650
   679105 JOHNNY PEREZ VALENTIN                       URB PONCE DE LEON         25 CALLE CAPARRA                                                                     MAYAGUEZ          PR         00680




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          JOHNNY POUERIET Y LETICIA
   242674 MARTINEZ                                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242675 JOHNNY QUINONES BRILLON                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242676 JOHNNY QUINONES MORALES                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242677 JOHNNY QUINONES TORRES                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679106 JOHNNY R GONZALEZ GONZALEZ HC 58 BOX 15099                                                                                                                      AGUADA              PR           00602

   679107 JOHNNY RAMOS CONCEPCION                     451 CALLE DEL PARQUE                                                                                                AGUIRRE             PR           00704
   242678 JOHNNY RAMOS ORTIZ                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      UNIDAD EMERGENCIA
   679109 JOHNNY RESTO TORRES                         ALCOHOLISMO                                                                                                         RÍO PIEDRAS         PR           00936
   679110 JOHNNY REYES AUTO PARTS                     P O BOX 883                                                                                                         UTUADO              PR           00641
   679111 JOHNNY RIOS ACOSTA                          411 CALLE LUNA                                                                                                      SAN JUAN            PR           00901
   679113 JOHNNY RIVERA BONILLA                       HC 05 BOX 53664                                                                                                     MAYAGUEZ            PR           00680
   679114 JOHNNY RIVERA LAURIANO                      1 SECC LEVITTOWN              O 1432 PASEO DELFIN                                                                   TOA BAJA            PR           00949
   679115 JOHNNY RIVERA MORALES                       PO BOX 2010                                                                                                         AIBONITO            PR           00705‐2010
   679117 JOHNNY RIVERA ROSADO                        HC 03 BOX 21692                                                                                                     ARECIBO             PR           00612
   679118 JOHNNY ROBLES ACEVEDO                       URB COUNTRY CLUB              HS 18 CALLE 248                                                                       CAROLINA            PR           00982
   242679 JOHNNY RODRIGUEZ CAJIGAS                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   242680 JOHNNY RODRIGUEZ CHERVONY REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   242681 JOHNNY RODRIGUEZ MERCADO                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242682 JOHNNY RODRIGUEZ OYOLA                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679120 JOHNNY RODRIGUEZ RIOS                       BUEN CONSEJO                  191 CALLE CARRION MADURO                                                              SAN JUAN            PR           00926

   242683 JOHNNY RODRIGUEZ RODRIGUEZ REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242684 JOHNNY RODRIGUEZ ROSADO    REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679121 JOHNNY ROJAS               306 CALLE NORZAGARAY                                                                                                                 SAN JUAN            PR           00901
   679122 JOHNNY ROMAN MARTINEZ      PO BOX 9065281                                                                                                                       SAN JUAN            PR           00906‐5281

   679123 JOHNNY ROMAN PEREZ                          URB SANTA CLARA 105 CALLE 3                                                                                         SAN LORENZO         PR       00754
   242685 JOHNNY ROSA FREYTES                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   242686 JOHNNY ROSARIO QUEZADA                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   242688 JOHNNY RUIZ CORREA                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   679125 JOHNNY RULLAN & CO.                         20.9 ROAD 1                   RR 3 BOX 3710                                                                         SAN JUAN            PR       00926
   679127 JOHNNY S RESTAURANT                         URB BALDRICH                  208 AVE DOMENECH                                                                      SAN JUAN            PR       00918
   679128 JOHNNY SABINO NEGRON                        HC 40 BOX 45816                                                                                                     SAN LORENZO         PR       00754
   242690 JOHNNY SANCHEZ CRUZ                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   242691 JOHNNY SANTANA CAMACHO                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   242692 JOHNNY SANTANA GONZALEZ                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   242693 JOHNNY SANTANA VARGAS                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   242695 JOHNNY SANTIAGO FULLER                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   679129 JOHNNY SANTIAGO MONTES                      P O BOX 209                                                                                                         VILLALBA            PR       00766
   679130 JOHNNY SANTIAGO PACHECO                     BO SITIOS                     4 CALLE ROBERTO SANTANA                                                               GUAYANILLA          PR       00656
   679131 JOHNNY SANTIAGO RIVERA                      Q 10 VANSCOY INTERIOR                                                                                               BAYAMON             PR       00957
   242696 JOHNNY SANTOS RAMIREZ                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   242697 JOHNNY SANTOS SANTIAGO                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   242698 JOHNNY SEGUI AQUINO                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   242699 JOHNNY SERRANO ROJAS                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   242700 JOHNNY SOLA SALGADO                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED



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  242701 JOHNNY SOTO RAMOS                            REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  679133 JOHNNY SOTO VAZQUEZ                          VERSALLES                E 5 CALLE 4                                                                          BAYAMON             PR         00959
  679134 JOHNNY STEIDEL                               PO BOX 9602                                                                                                   SAN JUAN            PR         00907
  242702 JOHNNY TAVERAS CINTRON                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242703 JOHNNY TORRES HERNANDEZ                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  679135 JOHNNY TORRES SANTIAGO                       PO BOX 7126                                                                                                   PONCE               PR         00732

   679136 JOHNNY TRUCKING SERVICE INC PO BOX 2010                                                                                                                   AIBONITO            PR         00705

   679044 JOHNNY V RULLAN HRYHORCZUK URB TINTILLO                              14 CALLE WALL                                                                        GUAYNABO            PR         00966
   679137 JOHNNY VALENTIN MENDEZ     1370 CALLE WILSON                                                                                                              SAN JUAN            PR         00907
   242705 JOHNNY VAZQUEZ TORRES      REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679139 JOHNNY VEGA                S 1 COM LA MONTALVA                                                                                                            GUANICA             PR         00653
   242706 JOHNNY VEGA FUENTES        REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242708 JOHNNY VELEZ OLIVERA       REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679141 JOHNNY W RIVERA POLANCO    P O BOX 5005 PMB 283                                                                                                           SAN LORENZO         PR         00754 5005
   679142 JOHNNYS AUTO REPAIR        CAPARRA TERRACE                           1150 SE CALLE 2                                                                      SAN JUAN            PR         00921
   679143 JOHNNYS CATERING SERV.     PO BOX 360547                                                                                                                  SAN JUAN            PR         00936
          JOHNOS & JOHNSON MEDICAL
   242709 CARIBBEAN                  PO BOX 70304                                                                                                                   SAN JUAN            PR         00936‐8304
   242710 JOHNS HOPKINS HOSPITAL     PO BOX 19072                                                                                                                   GREEN BAY           WI         54307 9072
   242711 JOHNS HOPKINS PEDIATRIC    5901 HOLABIRD AVE, STE A                                                                                                       BALTIMORE           MD         21224‐6015
   242712 JOHNS HOPKINS UNIVERSITY   3003 NORTH CHARLES ST                     SUITE 200                                                                            BALTIMORE           MD         21218
   679145 JOHNS KAR CARE             PO BOX 1726                                                                                                                    BAYAMON             PR         00960
   242714 JOHNSIE ARIAS FIGUEROA     REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOHNSON & BROWN MARKETING
   679146 COMUNICATIONS              1269 RIBOT ST SUITE 2                                                                                                          SAN JUAN            PR         00907
          JOHNSON & JOHNSON
   242715 INTERNATIONAL              CALL BOX 4987                                                                                                                  CAGUAS              PR         00725‐0000
          JOHNSON & JOHNSON MEDICAL
   242716 CARIBBEAN                  PO BOX 70304                                                                                                                   SAN JUAN            PR         00936‐8304
          JOHNSON & JOHNSON SERVICE
   242717 INC                        501 GEORGE STREET JH 1240                                                                                                      NEW BRUNSWICK       NJ         08906

   242718 JOHNSON & WALES UNIVERSITY                  1701 NE 127TH STREET                                                                                          NORTH MIAMI         FL         33181
          JOHNSON AND JOHNSON
   679148 HEMISPHERE                                  PO BOX 4986                                                                                                   CAGUAS              PR         00726
          JOHNSON CONTROL AIR
   242722 CONDITIONING % REFRI                        P O BOX 3419                                                                                                  CAROLINA            PR         00984‐3419
          JOHNSON CONTROL AIR
   242723 CONDITIONING INC.                           P O BOX 3419                                                                                                  CAROLINA            PR         00987‐3419
   242724 JOHNSON CONTROLS                            P O BOX 3419                                                                                                  CAROLINA            PR         00984‐3419
          JOHNSON CONTROLS AIR
   242725 CONDITIONING                                P O BOX 3419                                                                                                  CAROLINA            PR         00984‐3419
          JOHNSON CONTROLS AIR
   242726 CONDITIONING & REFR                         P O BOX 3419                                                                                                  CAROLINA            PR         00984
                                                                               SABANA ABAJO INDUSTRIAL
   242727 JOHNSON CONTROLS INC.                       1405 CALLE RIO DANUBIO   PARK                                                                                 CAROLINA            PR         00982‐1705

   242728 JOHNSON CONTROLS OF PR INC                  P.O. BOX 3419                                                                                                 CAROLINA            PR         00984‐3419

   242729 JOHNSON CONTROLS OF PR INC. P.O.BOX 6508                                                                                                                  BAYAMON             PR         00960‐0000




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          JOHNSON CONTROLS OF PUERTO
   242730 RICO                        PO BOX 3419                                                                                                                               CAROLINA            PR           00984
          JOHNSON CONTROLS OF PUERTO
   242731 RICO INC                    P O BOX 3419                                                                                                                              CAROLINA            PR           00984‐3419
          JOHNSON DE FONTANEZ, SYLVIA
   242735 P                           REDACTED                                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679150 JOHNSON DIVERSEY P R INC    P O BOX 2900                                                                                                                              CAROLINA            PR           00984‐2900
          JOHNSON MED SCH, ROBERT
   242743 WOOD                        REDACTED                                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679151 JOHNSON MORALES MORDECAI COND TORRE SAN MIGUEL                              CARR 833 APT 601                                                                          GUAYNABO            PR           00969
          JOHNSON POLANCO MD,
   242744 MAGALY                   REDACTED                                           REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242747 JOHNSON RAMOS CATHERINE  REDACTED                                           REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   242749 JOHNSON RODRIGUEZ GARCIA                    REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242752 JOHNSON SALES COMPANY FL                    P O BOX 221370                                                                                                            HOLLYWOOD           FL           33022‐1370
   679152 JOHNSON WAX                                 HATO REY TOWER                  268 MU¨OZ RIVERA                                                                          SAN JUAN            PR           00919
                                                                                      INSTITUCIÓN PONCE 500 PO BOX
  1420114 JOHNSON, OBE E                              OBE JOHNSON                     9008                                                                                      PONCE               PR           00732‐9008
                                                                                      INSTITUCIÓN PONCE 500 PO BOX
  1420115 JOHNSON, OBE E                              OBE JOHNSON                     9008                                                                                      PONCE               PR           00732‐9008
   679153 JOHNSONS JEWELRY INC                        1208 BROOKLANDS ROAD                                                                                                      DAYTON              OH           45409 2110
   679154 JOHNSSON DIVERSEY                           PO BOX 2900                                                                                                               CAROLINA            PR           00984‐2900
   679155 JOHNY BETANCOURT                            PO BOX 9023697                                                                                                            SAN JUAN            PR           00902‐3697
   679156 JOHNY CABRERA ROSARIO                       HC 2 BOX 5274                                                                                                             COMERIO             PR           00782
   679157 JOHNY LOPEZ SCREEN                          390 VICTORIA ST                                                                                                           PONCE               PR           00731

   679158 JOHNY LUGO POCHE                            232 AVE ELEONOR ROOSEVELT                                                                                                 SAN JUAN            PR           00907
   679159 JOHNY MALDONADO                             HC 06 BOX 10058                                                                                                           HATILLO             PR           00659
   679161 JOHNY SANTANA                               BO OBRERO                       725 CALLE DOLORES                                                                         SAN JUAN            PR           00915
   242764 JOHNY TAYLOR NAVEDO                         REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679162 JOHNYS CATERING                             HC 01 BOX 5215                                                                                                            BAJADERO            PR           00616
   679163 JOHSSIE TORRUELLAS LOPEZ                    URB VILLA FONTANA               24 R 55 VIA 20                                                                            CAROLINA            PR           00983
   242765 JOHVAN C SERRANO ROMAN                      REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242766 JOHVANY VEGA GONZALEZ                       REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242767 JOIBEL COLON BONILLA                        REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242768 JOIE LIN LAO MELENDEZ                       REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679165 JOINER ASSOCIATE INC                        P O BOX 88609                                                                                                             MILWAUKEE           WI           53288‐0609
   242770 JOINT COMMISSION                            16353 collection center drive                                                                                             CHICAGO             IL           60693‐0000
          JOINT COMMISSION OF
   242772 ACREDITATION                                PO BOX 92775                                                                                                              CHICAGO             IL           60675‐2775

   242773 JOINT COMMISSION RESOURCES                  16353 collection center drive                                                                                             CHICAGO             IL           60693
          JOINT TECHNOLOGIES FOR
   242774 AUTOMATION INC                              PO BOX 361597                                                                                                             SAN JUAN            PR           00936
   679167 JOISPER INC                                 PO BOX 19265                                                                                                              SAN JUAN            PR           00910‐1265
          JOISSETTE MARIE ROSA
   242775 RODRIGUEZ                                   REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242776 JOIVE JANCEL BERRIOS LEON                   REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242777 JOIXA HERNANDEZ ABRAMS                      REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242779 JOLANDA NEGRON QUINONES                     REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242780 JOLEIN SANTIAGO CLAUDIO                     REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  242781 JOLEISHKA GARCIA VAZQUEZ                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   679168 JOLENE L VILLANUEVA GONZALEZ HC 01 BOX 15160                                                                                                                    AGUADILLA           PR         00603
   679169 JOLIE POGGYS ALMODOVAR       DOS RIOS                                     C 18 CALLE 5                                                                          TOA BAJA            PR         00949
          JOLIEANN BROOKS / YOLANDA
   679170 GUZMAN                       LEVITTOWN                                    M 9 CALLE LUISA                                                                       TOA BAJA            PR         00949
   679171 JOLIMAR BEAUTY SUPPLY        CENTRO DEL SUR MALL                          1485 BLVD MIGUEL POU 219                                                              PONCE               PR         00731
   242783 JOLISSA DELGADO MORALES      REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679172 JOLLY MEDINA ALAYA           URB VERDUN                                   CALLE FELIX RAMOS                                                                     HORMIGUEROS         PR         00660
   242784 JOLNY DISTRIBUTOR, INC.      URB. SAN CRISTOBAL                           CALLE A #4                                                                            BARRANQUITAS        PR         00794
          JOLOP SOLUTIONS              PMB 277 3071 AVE
   242785 CORPORATION                  ALEJANDRINO                                                                                                                        GUAYNABO            PR         00969
          JOLQUIER DARIO SALAZAR DE
   679173 LUNA                         COND RIVER PARK APT 0‐206                    10 SANTA CRUZ ST                                                                      BAYAMON             PR         00961
   679174 JOLUVAR INSTRUMENTS          PO BOX 192                                                                                                                         GUANICA             PR         00653 0192
   242786 JOLVY MALDONADO SANTOS       REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242787 JOM SECURITY SERVICES INC    PO BOX 1057                                                                                                                        GUAYAMA             PR         00785

   679175 JOMA REFRIGERATION SERVICE                  PO BOX 8845                                                                                                         BAYAMON             PR         00960
   242790 JOMAEL ALICEA SANCHEZ                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242791 JOMAIR S BERMUDEZ AVILES                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242792 JOMAIRA E ROSS CASIANO                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242794 JOMAIRIS J RAMOS DIAZ                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242795 JOMAIRIS LOPEZ RODRIGUEZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   242796 JOMAIRY GONZALEZ GALARZA                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOMAISLU MARTINEZ
   679176 RODRIGUEZ                                   BO GARROCHALES                CARR 682 KM 3 4 INT                                                                   BARCELONETA         PR         00617
   242797 JOMALU CORP                                 PO BOX 88                                                                                                           RIO GRANDE          PR         00745
   242798 JOMAR A PIZARRO FEBO                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   242799 JOMAR CANDELARIA GONZALEZ                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679177 JOMAR CINTRON RIVERA                        BELLA VISTA GARDENS           Y 321 CALLE 29                                                                        BAYAMON             PR         00957
   679178 JOMAR CRESPO                                RR 1 BOX 11980                                                                                                      OROCOVIS            PR         00720
   242800 JOMAR D PARRILLA CRUZ                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242801 JOMAR E GONZALEZ ORTIZ                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242802 JOMAR FELICIANO TORRES                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242803 JOMAR GALAN NIEVES                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242804 JOMAR GALINDEZ AGOSTO                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242805 JOMAR GARCIA GUZMAN                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242806 JOMAR GRAPHICS INC                          SECT INDUSTRIAL LOS FRAILES   696 CALLE CUBITAS                                                                     GUAYNABO            PR         00969

   242807 JOMAR HERNANDEZ SANTIAGO                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679180 JOMAR I RIVERA SANCHEZ                      HC 02 BOX 7576                                                                                                      CIALES              PR         00638
          JOMAR ISMAEL RODRIGUEZ
   242808 LEBRON                                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242809 JOMAR J LOPEZ BURGOS                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242810 JOMAR J ROBLES MEDINA                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679181 JOMAR J TORRES IRIZARRY                     PO BOX 3079                                                                                                         LAJAS               PR         00667‐3079
   242811 JOMAR KIRKLARD MARRERO                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242812 JOMAR M TORRES RAMOS                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679182 JOMAR MARRERO BERRIOS                       PO BOX 3786                                                                                                         GUAYNABO            PR         00970
   242813 JOMAR MARTINEZ SANTIAGO                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  242815 JOMAR ORTEGA SERRANO                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242817 JOMAR QUINTANA TELLEZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242818 JOMAR RADIADORES                             REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242819 JOMAR ROLON SILVA                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242820 JOMAR ROSADO MORALES                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   679185 JOMAR SALICHS SOLDERILA                     URB LA GUADALUPE            E 20 CALLE JORDAN PONCIANA                                                              PONCE               PR         00731
   679186 JOMAR SANCHEZ                               46 EL CARIBE                CALLE PADILLA APT 1 A                                                                   CAGUAS              PR         00725
   242822 JOMAR TORRES ROMAN                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242824 JOMARA E. ROBLES CRESPO                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242825 JOMARA EQUIPMENT INC                        PO BOX 361497                                                                                                       SAN JUAN            PR         00936
   679187 JOMARA MOLINA REYES                         PO BOX 1817                                                                                                         RIO GRANDE          PR         00745
   242826 JOMARA ORTIZ RIVERA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOMARALISSE A HERNANDEZ
   242827 FELICIANO                                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242829 JOMARIE GARCIA SANTIAGO                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242830 JOMARIE GONZALEZ VEGA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOMARIE MALDONADO
   242831 RODRIGUEZ                                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242832 JOMARIE PONCE LABORDE                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242833 JOMARIE ROBLES DIAZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679190 JOMARIE VALLE CORNEJO                       PERLA DEL SUR               2619 CALLE LAS COROZAS                                                                  PONCE               PR         00717‐0429
   242834 JOMARIES RAMOS ADORNO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOMARILISSE A HERNANDEZ
   242835 FELICIANO                                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOMARIS CONCEPCION
   242837 CONCEPCION                                  REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679192 JOMARIS DE JESUS BURGOS                     1102 MADRID PLAZA                                                                                                   SAN JUAN            PR         00924
   679193 JOMARIS DE LEON MORALES                     HC 15 BOX 16269                                                                                                     HUMACAO             PR         00791
   242838 JOMARIS ORTIZ MIRANDA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679194 JOMARY B LOPEZ ACOSTA                       PO BOX 692                                                                                                          TOA BAJA            PR         00951
   242840 JOMARY CALO MEDINA                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242842 JOMARY ESTRADA FUENTES                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679195 JOMARY HEREDIA RIVERA                       VILLAS DEL CARIBE           APT 07 BLOQUE 1                                                                         PONCE               PR         00731
   242843 JOMARY LOPEZ BENITEZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOMARY MALDONADO
   679196 MALDONADO                                   PO BOX 8266                                                                                                         PONCE               PR         00732
   679197 JOMARY PEREZ GONZALEZ                       PO BOX 240                                                                                                          SANTA ISABEL        PR         00757

   679198 JOMARY RAMOS MORALES                        5TA SECCION TURABO GARDENS D 3 CALLE 32                                                                             CAGUAS              PR         00725
   679199 JOMARY REYES GONZALEZ                       HC 1 BOX 11353                                                                                                      ARECIBO             PR         00612
   679200 JOMARY ROBLES SANTIAGO                      311 CALLE LUNA APT 1‐A                                                                                              SAN JUAN            PR         00901
   242844 JOMARY SANTOS RODRIGUEZ                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   242845 JOMARYS MORALES CARABALLO                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679201 JOMARYS OQUENDO VELEZ                       CTRO COMERCIAL CORTES       BOX 144‐8                                                                               MANATI              PR         00674
   242846 JOMAYLIE NIEVES SANCHEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242847 JOMAYRA NEGRON BANKS                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679202 JOMAYRA NIEVES TORRES                       HC 3 BOX 32306                                                                                                      HATILLO             PR         00659
   679203 JOMAYRA ROBLES ARCE                         HC‐2 BOX 8103                                                                                                       BAJADERO                       00616
   679205 JOMAYRA TORO COLON                          72 ELIAS BARBOSA                                                                                                    PONCE               PR         00731
   242849 JOMEL BENITEZ PEREZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679206 JOMEL MALDONADO VELEZ                       URB VICTOR ROJA 2           117 CALLE 5                                                                             ARECIBO             PR         00612



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   679207 JOMELET MARTINEZ MARTINEZ                   PO BOX 30506                                                                                                    SAN JUAN             PR         00929
   679208 JOMENLY CUEVAS IRIZARRY                     RES AGUSTIN STHAL          EDIF 64 APTO 330                                                                     AGUADILLA            PR         00603
   242850 JOMIL M.TORRES APONTE                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   242851 JOMIL MARIE TORRES APONTE                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   679209 JOMIL TORRES APONTE                         P M B 23                   1 B CALLE ESTACION                                                                   VEGA ALTA            PR         00692
   242852 JOMINER CASTRO NORALES                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   242853 JOMYRI JIMENEZ GONZALEZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   242854 JON C TORRES RODRIGUEZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   242855 JON E MESA BADILLO                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   242856 JON ISAKSON                                 REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   242858 JONAIDA L ESTRELLA ORTIZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   679211 JONAIRA LOPEZ ORTIZ                         JARDE PATILLA              D 10‐51 CALLE MARGARITA                                                              PATILLAS             PR         00723
   242859 JONAIRA RAMOS HERNANDEZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   242860 JONALDY FRED PEREZ                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   242861 JONAS A GONZALEZ LOPEZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   242864 JONAS E. CHICLANA CARLO                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   679212 JONAS MEDINA DE JESUS                       SIERRA BAYAMON             40‐17 CALLE 37                                                                       BAYAMON              PR         00961
   679214 JONAS O CHICLANA CARLO                      BO OBRERO                  516 CALLE 12                                                                         SAN JUAN             PR         00915
   242865 JONAS ORTIZ LOPEZ                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   679216 JONAS SOSTRE VAZQUEZ                        PO BOX 587                                                                                                      COROZAL              PR         00783
   679217 JONAS TORRES BIANCHI                        BOX 56                                                                                                          JAYUYA               PR         00664

   242869 JONATAN MARTINEZ DEL VALLE                  REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   679219 JONATAN MARTINEZ OTERO                      444 CALLE BAHIA                                                                                                 COCO BEACH           PR         00745‐4631
   679218 JONATAN MATEO NEVAREZ                       PARADISE HILL              186 CALLE RUBICAN                                                                    RIO PIEDRAS          PR         00926
   242870 JONATAN PEREZ MARCO                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   242871 JONATAN QUINONEZ VAZQUEZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   679220 JONATAN ROSARIO ROSARIO                     RES FERNANDO LUIS GARCIA   EDIF 26 APT 187                                                                      UTUADO               PR         00641
   242874 JONATH O OCASIO SANTIAGO                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   242875 JONATHAM QUINONES ROQUE                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   242877 JONATHAN A ALFONZO RIVERA                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   242878 JONATHAN A AMADOR ACEVEDO REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   242879 JONATHAN A BONET RIVERA   REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   242880 JONATHAN A GARCIA NIEVES  REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
          JONATHAN A HERNANDEZ
   242881 TORRES                    REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
          JONATHAN A MAESTRE
   242882 MORALES                   REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   242883 JONATHAN A PIETRI DIAZ    REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   242885 JONATHAN A VELEZ VILA     REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   242886 JONATHAN A.MUNIZ AVILES   REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   679226 JONATHAN ACEVEDO          URB SANTA CLARA                              J 22 CALLE HIEDRA                                                                    GUAYNABO             PR         00969
   679227 JONATHAN ACEVEDO MATOS    JARDINES DE CANOVANAS                        H 33 CALLE 4                                                                         CANOVANAS            PR         00729
          JONATHAN ACEVEDO Y JANET
   242887 FELICIANO                 REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   242888 JONATHAN ADORNO SIMMONS                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED



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  242889 JONATHAN ALAMO RIVERA                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242890 JONATHAN ALAYON MORALES                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JONATHAN ALDAHONDO                                                  BF18 PLAZA 14 BOSQUE DEL
  679228 SANTOS                                       URB ENCANTADA          LAGO                                                                                  TRUJILLO ALTO       PR         00976
  242891 JONATHAN ALEMAN ARCE                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   242893 JONATHAN ALTIERY SULEIMAN                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242894 JONATHAN ALVAREZ LLANOS                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   242895 JONATHAN ALVAREZ MIRANDA                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242896 JONATHAN ALVAREZ TORRES                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242898 JONATHAN ALVERIO MORAN                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242899 JONATHAN ANDINO MATOS                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   242900 JONATHAN AROCHO GUTIERREZ                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242901 JONATHAN ARRIETA CASTRO                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679222 JONATHAN ARROYO ROSADO                      PO BOX 2970                                                                                                  SAN GERMAN          PR         00683
   242902 JONATHAN ATILES DIAZ                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242903 JONATHAN AUFFANT TORRES                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   242904 JONATHAN B QUINTANA SOTO                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   242905 JONATHAN B SANCHEZ IRIZARRY                 REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679230 JONATHAN BARRERO ARZOLA                     P O BOX 5711                                                                                                 MAYAGUEZ            PR         00680‐5711
          JONATHAN BERMUDEZ / JUAN A
   242909 BERMUDEZ                                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JONATHAN BERMUDEZ DEL
   242910 VALLE                                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JONATHAN BERMUDEZ
   242911 FELICIANO                                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679231 JONATHAN BERRIOS DROZ                       ALT INTERAMERICANA     Q 1 CALLE 11                                                                          TRUJILLO ALTO       PR         00976
   242912 JONATHAN BETACOURT                          REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242913 JONATHAN BETANCOURT                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679232 JONATHAN BLANCO RIVERA                      URB SANBANA GARDENS    14‐4 CALLE 27                                                                         CAROLINA            PR         00983‐2914
   242914 JONATHAN BLAS ZAPATA                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   242915 JONATHAN BLECHINGER GOMEZ REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   242916 JONATHAN BORGES RODRIGUEZ                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679233 JONATHAN BOSCH DIAZ                         VILLA CAPRI            1198 CALLE TOSCANIA                                                                   SAN JUAN            PR         00924
   242917 JONATHAN BOUZA FUENTES                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242918 JONATHAN BRITO REYES                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242919 JONATHAN BUSTER TORRES                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242920 JONATHAN C ULMER                            REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242922 JONATHAN CALDERA COLON                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242923 JONATHAN CAMACHO VEGA                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242924 JONATHAN CANCEL NEGRON                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   242925 JONATHAN CANDELARIA CABAN REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JONATHAN CARABALLO
   679234 MORALES                   PO BOX 81                                                                                                                      ANGELES             PR         00611‐0081

   242926 JONATHAN CARBALLO ROSADO                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  242927 JONATHAN CARRERAS ROSA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242928 JONATHAN CASTRO CABRERA                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242929 JONATHAN CEDENO DE JESUS                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  242930 JONATHAN CEDENO RIVERA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   242931 JONATHAN CEPEDA FIGUEROA                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JONATHAN CHAMORRO
   679235 SEPULVEDA                                   HC 6 BOX 4677                                                                                                         COTO LAUREL         PR         00780

   679236 JONATHAN CINTRON NEGRON                     CALL BOX 5000 PMB 166                                                                                                 SAN GERMAN          PR         00683

   679237 JONATHAN CINTRON SANTIAGO URB SANTAMARIA                                 27‐F‐12                                                                                  GUAYANILLA          PR         00656

   242932 JONATHAN CIRINO HERNANDEZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679238 JONATHAN CLASS VALENTIN                     RES NEMESIO CANALES          EDIF 1A 7                                                                                SAN JUAN            PR         00918
   242934 JONATHAN CLAUDIO RIVERA                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679239 JONATHAN COLON CABAN                        HC 2 BOX 4060                                                                                                         LAS MARIAS          PR         00670
   242935 JONATHAN COLON ROSARIO                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242936 JONATHAN CONDE RAMOS                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   242939 JONATHAN CORIANO ROSADO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679240 JONATHAN CORTES VARGAS                      URB VILLA DEL CARMEN         C 71 CALLE 1                                                                             PONCE               PR         00731
   242940 JONATHAN CORTEZ MORALES                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242941 JONATHAN COSS MELENDEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679244 JONATHAN COUTO SALGADO                      URB MONTE VERDE              3207 MONTE EBAL                                                                          MANATI              PR         00674
                                                                                   PARC 600 CALLE SEGUNDO RUIZ
   679245 JONATHAN CRESPO AVILA                       VILLA HOSTOS CAMPANILLA      BELVIS                                                                                   TOA BAJA            PR         00949
   242942 JONATHAN CRESPO CAJIGAS                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679246 JONATHAN CRUZ ATILES                        HC 04 BOX 17289                                                                                                       CAMUY               PR         00629
   242943 JONATHAN CRUZ AVILA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679247 JONATHAN CRUZ FIGUEROA                      URB CAMPANILLA               O 19 CALLE EURO                                                                          TOA BAJA            PR         00950

   242944 JONATHAN CRUZ MALDONADO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242945 JONATHAN CRUZ PIAZZA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242946 JONATHAN CRUZ RAMOS                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679248 JONATHAN CRUZ RIVERA                        HC 763 BOX 4042                                                                                                       PATILLAS            PR         00723
   242947 JONATHAN CRUZ RODRIGUEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679249 JONATHAN CRUZ SANCHEZ                       HC 01 BOX 9190                                                                                                        GUAYANILLA          PR         00656‐9769

   679250 JONATHAN CUEVAS OLIVERAS                    176 CALLE ANTONIO FIGUEROA                                                                                            ARECIBO             PR         00612
          JONATHAN D GONZALEZ
   242948 ZAMBRANA                                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   242949 JONATHAN D OLIVERAS JORGE                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242950 JONATHAN DE JESUS                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242951 JONATHAN DE JESUS CRUZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   679253 JONATHAN DE JESUS SANTIAGO                  PO BOX 1496                                                                                                           COAMO               PR         00769
          JONATHAN DE JESUS VEGA
   242952 RAMOS                                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   242953 JONATHAN DELGADO GONZALEZ REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   242954 JONATHAN DIAZ GOMEZ       REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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   242955 JONATHAN DIAZ MALDONADO                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   679255 JONATHAN DIAZ RODRIGUEZ                     SANTIAGO IGLESIAS         1756 CALLE SANTIAGO CARRERA                                                              SAN JUAN             PR           00921
          JONATHAN DOMBROWSKI
   242957 FELICIANO                                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   679256 JONATHAN DONEZ GONZALEZ                     226 ELM ST                                                                                                         STATEN ISLAND        NY           10310

   242958 JONATHAN DUMENG IRIZARRY                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   242960 JONATHAN DURAN HERNANDEZ                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JONATHAN E CLEMENTE
   242961 SEMIDEY                                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   242962 JONATHAN E DAVIS MEDINA                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   242963 JONATHAN E GARCIA PEREZ                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JONATHAN E GUEVAREZ
   242965 SALGADO                                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   242966 JONATHAN E MARTINEZ ZAYAS                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JONATHAN E PORRATA
   242967 GONZALEZ                                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JONATHAN E ROBLES
   242968 RODRIGUEZ                                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   242969 JONATHAN E. NIEVES PAGAN                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   242970 JONATHAN ECHEVARRIA MEDINA REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   242971 JONATHAN ECHEVARRIA ROSA                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   242972 JONATHAN F LOPEZ JIMENEZ                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   242973 JONATHAN FARDONK                            REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   242974 JONATHAN FELICIANO ROBLES                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JONATHAN FELICIANO
   679258 RODRIGUEZ                                   BAJADERO                  HC 01 BOX 6745                                                                           ARECIBO              PR           00616

   679259 JONATHAN FELICIANO SANTIAGO VILLA DEL CARMEN                          2115 CALLE TOLOZA                                                                        PONCE                PR           00716

   242975 JONATHAN FERNANDEZ JIMENEZ REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   242976 JONATHAN FERNANDEZ ZAYAS                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   242977 JONATHAN FERRER CORDERO                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   242978 JONATHAN FIGUEROA JIMENEZ                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JONATHAN FIGUEROA
   242979 RODRIGUEZ                                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   679260 JONATHAN FUENTES MILLAN                     URB. LOS ANGELES HC 1     BOX 7717                                                                                 LOIZA                PR           00772
          JONATHAN G GONZALEZ
   679261 MARTINEZ                                    URB PARQUE LAS HACIENDA   D24 CALLE AYMANIO                                                                        CAGUAS               PR           00727

   242980 JONATHAN G RAMOS VAZQUEZ                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   679262 JONATHAN GACIA SANTANA                      URB EL ROSARIO            R4 CALLE 4                                                                               VEGA BAJA            PR           00693
   242981 JONATHAN GARCIA COLON                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   679263 JONATHAN GARCIA DE JESUS                    RR 6 BOX 9836                                                                                                      SAN JUAN             PR           00926



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   679264 JONATHAN GONZALEZ BERRIOS                   URB BRISAS DE AIBONITO   20 CALLE TRINITARIA                                                               AIBONITO            PR           00705

   242982 JONATHAN GONZALEZ FIGUEROA REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   242984 JONATHAN GONZALEZ LORENZO REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242985 JONATHAN GONZALEZ ORTIZ   REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242986 JONATHAN GONZALEZ PEREZ   REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679265 JONATHAN GONZALEZ RIVERA                    HC 01 BOX 6421                                                                                             AGUAS BUENAS        PR           00703
          JONATHAN GONZALEZ
   242987 RODRIGUEZ                                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679266 JONATHAN GONZALEZ ROMERO BOX 1130                                                                                                                      TRUJILLO ALTO       PR           00976

   242989 JONATHAN GONZALEZ TORRES                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   242991 JONATHAN GONZALEZ VALENTIN REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242992 JONATHAN GONZALEZ VELEZ      REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JONATHAN GONZALEZ Y IVELLISE
   242993 GARCIA                       REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242994 JONATHAN HERNANDEZ           REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JONATHAN HERNANDEZ
   242995 ACEVEDO                      REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   242997 JONATHAN HERNANDEZ JIMENEZ REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   242998 JONATHAN HERNANDEZ LEON    REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   242999 JONATHAN HERNANDEZ MUNIZ                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JONATHAN HERNANDEZ
   243000 NAVARRO                                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243001 JONATHAN HERNANDEZ RIVERA                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243002 JONATHAN IRIZARRY LOPEZ                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243003 JONATHAN IRIZARRY PEREZ                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243004 JONATHAN J AVILES RIVERA                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243005 JONATHAN J COLLAZO NIEVES                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243006 JONATHAN J FLORES SUBIRA                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243007 JONATHAN J GALLOZA CAJIGAS                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243008 JONATHAN J GARCIA PEREZ                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JONATHAN J GONZALEZ
   679268 MARTINEZ                                    PO BOX 1096                                                                                                HORMIGUEROS         PR           00660

   243009 JONATHAN J HERNANDEZ DIAZ                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243010 JONATHAN J LOPEZ CARABALLO                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243011 JONATHAN J ORTIZ DELGADO                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243012 JONATHAN J PAGAN TORRES                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679269 JONATHAN J PEREA SANCHEZ                    PO BOX 1281                                                                                                YABUCOA             PR           00767
   243013 JONATHAN J PEREZ CABAN                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243014 JONATHAN J PEREZ MERCADO                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   243015 JONATHAN J RAMIREZ IRIZARRY                 REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243016 JONATHAN J RAMIREZ RUIZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243017 JONATHAN J SALAS ARROYO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   243018 JONATHAN J SANTIAGO IGLESIAS REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JONATHAN J SEPULVEDA
   243019 MATTEY                       REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
                                                                                 SECTOR SAN CARLOS
   679270 JONATHAN J TORRES LEON                      BO COLLORES                GUARAGUAO                                                                             JUANA DIAZ          PR         00795
   243020 JONATHAN JIMENEZ PADUA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   243021 JONATHAN JIMENEZ TRINIDAD                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243022 JONATHAN JIMENEZ VELEZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JONATHAN JOSE MARTINEZ
   243023 ROSARIO                                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   243024 JONATHAN JOSUEL ORFILA SOTO REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JONATHAN K VAZQUEZ
   243025 RODRIGUEZ                   REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   243027 JONATHAN L GARCIA CASTILLO                  REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   679271 JONATHAN LEBRON PEREZ                       BO OBRERO                  722 CALLE ARGENTINA                                                                   SAN JUAN            PR         00915

   243028 JONATHAN LEBRON SANTIAGO                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   679272 JONATHAN LOPEZ                              PO BOX 9021112                                                                                                   SAN JUAN            PR         00902‐1112
   243029 JONATHAN LOPEZ CRESPO                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   243030 JONATHAN LOPEZ FERNANDEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243031 JONATHAN LOPEZ O NEILL                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243032 JONATHAN LOPEZ OCASIO                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243033 JONATHAN LOPEZ RAMIREZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   679223 JONATHAN LOPEZ RODRIGUEZ                    PARCELAS ROBERTO CLEMENTE 6 BOX 2586                                                                             HATILLO             PR         00659
   243034 JONATHAN LOPEZ TORRES                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   243036 JONATHAN LORENZO MENDEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243037 JONATHAN LUGO MORALES                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243039 JONATHAN LUGO SANTOS                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   243040 JONATHAN M ALBINO INGOYEN                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JONATHAN M CORDERO
   243041 MERCADO                                     REDACTED                   REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JONATHAN M COTTO SALGADO                                               RIO HONDO 2 C/RIO JAJOME SO
   243042 DBA TWINS                                   THEORY                     AF 21                                                                                 BAYAMON             PR         00961
   243043 JONATHAN M GARCIA GARCIA                    REDACTED                   REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243044 JONATHAN M LOPEZ MERCED                     REDACTED                   REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JONATHAN M MATIAS
   243046 RODRIGUEZ                                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JONATHAN M MOLINA
   243047 CALDERON                                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243048 JONATHAN M ROSA ROSA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243049 JONATHAN M TORRES JULIAN                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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   243050 JONATHAN MACHADO ROLON                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243051 JONATHAN MACHIN PAGAN                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679273 JONATHAN MADERA COLON                       BO OLIMPO               93 CALLE 3                                                                            GUAYAMA             PR           00784
   243053 JONATHAN MALAVE LOPEZ                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679274 JONATHAN MALAVE SANTIAGO                    BO RIO JUEYES           CARR 154 KM 3 7                                                                       COAMO               PR           00769
   243054 JONATHAN MALDONADO                          REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JONATHAN MALDONADO
   679275 CINTRON                                     URB BELINDA             G 22 CALLE 6                                                                          ARROYO              PR           00714
          JONATHAN MALDONADO
   243055 ECHEVARRIA                                  REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JONATHAN MALDONADO
   679276 PADILLA                                     BARAHONA                324 CALLE MARGINAL                                                                    MOROVIS             PR           00687

   243056 JONATHAN MALDONADO VELEZ REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243057 JONATHAN MARCON MERCADO REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243059 JONATHAN MARRERO SANTOS                     REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JONATHAN MARTINEZ
   243060 CHAPARRO                                    REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679277 JONATHAN MARTINEZ LUNA                      HC 2 BOX 4002                                                                                                 GUAYAMA             PR           00784

   243062 JONATHAN MARTINEZ ROBLES                    REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679278 JONATHAN MARTINEZ VALENTIN RES JARDINES DE CONCORDIA                119 C/ CONCORDIA APT 167                                                              MAYAGUEZ            PR           00682

   679279 JONATHAN MATIAS MARTINEZ                    PARC 27 CALLE AMAPOLA                                                                                         TOA BAJA            PR           00949
   243063 JONATHAN MEDERO SEINO                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243064 JONATHAN MEDINA VILLEGAS                    REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243066 JONATHAN MELENDEZ RIVERA                    REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243067 JONATHAN MELENDEZ ROSADO                    REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679280 JONATHAN MENDEZ CABRERA                     HC 1 BOX 5562                                                                                                 CIALES              PR           00638
   243068 JONATHAN MENDEZ VARGAS                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243069 JONATHAN MENDOZA BURGOS                     REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679281 JONATHAN MENDOZA MORALES 153 EST DE BARCELONETA                                                                                                           BARCELONETA         PR           00617

   679282 JONATHAN MERCADO FAJARDO URB COSTA AZUL                             Q 2 CALLE 27                                                                          GUAYAMA             PR           00784

   243070 JONATHAN MERCADO OCASIO                     REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679283 JONATHAN MERCADO PEREZ                      HC 7 BOX 2714                                                                                                 PONCE               PR           00731‐9607
   243071 JONATHAN MILLER SANTIAGO                    REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243072 JONATHAN MIRANDA COLON                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679284 JONATHAN MIRANDA DAVILA                     URB LOS MONTES          200 CALLE ROBLE                                                                       DORADO              PR           00646
   243073 JONATHAN MIRANDA MATOS                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243074 JONATHAN MONTANEZ ARROYO REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  679224 JONATHAN MONTERO LOPEZ                       PO BOX 573                                                                                             ANGELES              PR           00611

   243075 JONATHAN MONTESINO OCASIO REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   243076 JONATHAN MORALES CARRERAS REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   243077 JONATHAN MORALES GONZALEZ REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          JONATHAN MORALES
   243078 MONTALVO                  REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   243079 JONATHAN MORALES PAGAN    REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   243081 JONATHAN MOTTAS MORALES                     REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   243082 JONATHAN MUNIZ PACHECO                      REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   243083 JONATHAN MURGA RODRIGUEZ                    REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   243084 JONATHAN MUSSA RIVERA                       REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   243085 JONATHAN N ALICEA GIRON                     REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          JONATHAN N MONTALVO
   243086 VALENTIN                                    REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   243087 JONATHAN NAVARRO MONTES                     REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   243088 JONATHAN NAZARIO MORALES                    REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   243089 JONATHAN NIEVES RODRIGUEZ                   REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   243090 JONATHAN O MENDEZ VALENTIN REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   243091 JONATHAN O RIVERA SANTIAGO REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   679286 JONATHAN OLIVERA MORALES                    HC 03 BOX 15234                                                                                        JUANA DIAZ           PR           00795‐1521
   243092 JONATHAN OLIVERAS                           REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   243093 JONATHAN ONEILL ROJAS A/C ES REDACTED                            REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   679287 JONATHAN OQUENDO SERRANO HC 01 BOX 10316                                                                                                           ARECIBO              PR           00612
   243094 JONATHAN ORTIZ MARRERO   REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   243095 JONATHAN ORTIZ MUNIZ     REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   679288 JONATHAN ORTIZ NIEVES    BO OBRERO 617                           CALLE 14                                                                          SAN JUAN             PR           00915
   243096 JONATHAN ORTIZ ORTIZ     REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   243097 JONATHAN ORTIZ RODRIGUEZ                    REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   679290 JONATHAN ORTIZ VAZQUEZ                      HC 3 BOX 12293                                                                                         CAROLINA             PR           00987

   243098 JONATHAN OTERO RODRIGUEZ                    REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   243099 JONATHAN PADILLA ROSADO                     REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   243100 JONATHAN PADUA PLAZA                        REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          JONATHAN PALACIOS
   243101 CARRASQUILLO                                REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   679292 JONATHAN PANTOJA FORTE                      P O BOX 568                                                                                            VEGA BAJA            PR           00764‐0568
          JONATHAN PARIS/ASSOC DE
   679293 CHOFERES DE PR                              URB VALENCIA         528 CALLE ALBASETE                                                                SAN JUAN             PR           00923
   243104 JONATHAN PERALTA CASTRO                     REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED



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  243105 JONATHAN PEREZ APONTE                        REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  243107 JONATHAN PEREZ ESCOBAR                       REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  243108 JONATHAN PEREZ FELICIANO                     REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  679295 JONATHAN PEREZ LLANOS                        HC 01 BOX 7144                                                                                            LOIZA               PR         00676
  243109 JONATHAN PEREZ MARIN                         REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  243110 JONATHAN PEREZ MONTILLA                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  243111 JONATHAN PEREZ MUNIZ                         REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  243112 JONATHAN PONCE ACOSTA                        REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   243113 JONATHAN PONCE JUSTINIANO                   REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243114 JONATHAN QUILES RIVERA                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   679297 JONATHAN QUINONES                           SANTIAGO              60 CALLE C                                                                          LOIZA               PR         00772
          JONATHAN QUINONES
   243115 GONZALEZ                                    REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243117 JONATHAN QUINONES LARA                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JONATHAN R FERNANDEZ
   243119 TORRES                                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243120 JONATHAN R RIVERA                           REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   243121 JONATHAN R SOLIVAN SANTIAGO REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243122 JONATHAN RAMIREZ COLON      REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   679298 JONATHAN RAMIREZ PIMENTEL                   HC 3 BOX 12573                                                                                            CAROLINA            PR         00987

   243123 JONATHAN RAMIREZ VAZQUEZ                    REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243124 JONATHAN RAMOS GARCIA                       REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   243125 JONATHAN RAMOS MELENDEZ                     REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243126 JONATHAN RAMOS PACHECO                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243127 JONATHAN RAMOS RAMOS                        REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   679299 JONATHAN RAMOS ROSA                         PO BOX 453                                                                                                BAJADERO            PR         00616
   243128 JONATHAN RENTAS ESPADA                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   679300 JONATHAN RESTO HERNANDEZ                    SUITE 246             PO BOX 851                                                                          HUMACAO             PR         00792
   243129 JONATHAN RESTO SALGADO                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243131 JONATHAN REYES ARCE                         REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243132 JONATHAN REYES BATISTA                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243133 JONATHAN REYES GONZALEZ                     REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   243134 JONATHAN REYES HERNANDEZ                    REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243135 JONATHAN REYES PABON                        REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243136 JONATHAN REYES SANCHEZ                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JONATHAN RICHARDSON
   243137 DESOPO                                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243138 JONATHAN RIOS QUINONES                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243139 JONATHAN RIOS RIVERA                        REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243140 JONATHAN RIVERA                             REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243142 JONATHAN RIVERA AQUINO                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243143 JONATHAN RIVERA AVILES                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243144 JONATHAN RIVERA BAEZ                        REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243145 JONATHAN RIVERA BERRIOS                     REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243146 JONATHAN RIVERA COLLAZO                     REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   679301 JONATHAN RIVERA COLON                       HC 1 BOX 9010                                                                                             CANOVANAS           PR         00729



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  679302 JONATHAN RIVERA DE JESUS                     BO OBRERO               610 RIO DE JANEIRO                                                                   SAN JUAN          PR         00915
  243147 JONATHAN RIVERA LOPEZ                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  243148 JONATHAN RIVERA MENDOZA                      REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  679304 JONATHAN RIVERA NIEVES                       REPTO METROPOLITANO     1104 CALLE 10 NE                                                                     SAN JUAN          PR         00924
  679305 JONATHAN RIVERA RIVERA                       PARCELAS SUSUA          PARQUE 63 A                                                                          SABANA GRANDE     PR         00637

   243149 JONATHAN RIVERA RODRIGUEZ                   REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   243153 JONATHAN RIVERA ROSADO                      REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   679306 JONATHAN RIVERA RUIZ                        RES EL RECREO           EDIF 30 APT 207                                                                      SAN GERMAN        PR         00683
   243154 JONATHAN RIVERA VIRUET                      REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   243155 JONATHAN ROBLES DIAZ                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   243156 JONATHAN RODRIGUEZ                          REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          JONATHAN RODRIGUEZ
   679309 ANDUJAR                                     HC 5 BOX 6802                                                                                                ADJUNTAS          PR         00601

   243157 JONATHAN RODRIGUEZ BONILLA REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   243160 JONATHAN RODRIGUEZ CINTRON REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   679310 JONATHAN RODRIGUEZ DE JESUS URB JARDINES DE SANTA ISABEL C 5 BLQ D‐2                                                                                     SANTA ISABEL      PR         00757
          JONATHAN RODRIGUEZ
   243161 GONZALEZ                    REDACTED                     REDACTED                             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   243162 JONATHAN RODRIGUEZ MATOS                    REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          JONATHAN RODRIGUEZ
   679311 MIRANDA                                     98 SABANA SECA                                                                                               MANATI            PR         00674

   243163 JONATHAN RODRIGUEZ PEREZ                    REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          JONATHAN RODRIGUEZ
   243164 RODRIGUEZ                                   REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   243165 JONATHAN RODRIGUEZ ROSA                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   679312 JONATHAN RODRIGUEZ SANCHEZ VILLA DE LA ROSA                         CALLE ESPERANZA APT 907                                                              AIBONITO          PR         00705
          JONATHAN RODRIGUEZ
   243166 SANTANA                    REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   679313 JONATHAN RODRIGUEZ SANTONI HC 6 BOX 60406                                                                                                                MAYAGUEZ          PR         00680

   679314 JONATHAN RODRIGUEZ TORRES BO PAPAYO                                 CARR 367 KM 0 9                                                                      SABANA GRANDE     PR         00637
   243167 JONATHAN ROJAS RIVERA     REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   679225 JONATHAN ROLDAN OQUENDO                     URB MIRADOR DE BAIROA   2T 27 CALLE 27                                                                       CAGUAS            PR         00725
   243168 JONATHAN ROLDOS PAGAN                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   243169 JONATHAN ROMERO LEBRON                      REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   679315 JONATHAN ROMERO MERCADO 1RA SECC LEVITTOWN                          1429 PASEO DELFIN                                                                    LEVITTOWN         PR         00950
   243170 JONATHAN ROSADO MARTI   REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   243171 JONATHAN ROSADO RODRIGUEZ REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   243172 JONATHAN ROSARIO GARCIA   REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   679317 JONATHAN ROSARIO SANCHEZ                    RR 10 BOX 10032                                                                                              SAN JUAN          PR         00926




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   243173 JONATHAN ROSARIO VAZQUEZ                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679318 JONATHAN RUIZ VELEZ                         SECTOR LA VEGA         24 CALLE 4                                                                            YAUCO               PR           00698
          JONATHAN S GONZALEZ
   243174 GUZMAN                                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679319 JONATHAN SALGADO ROSARIO                    TORRECILLAS            139 CALLE SATIERNO FEBUZ                                                              MOROVIS             PR           00687
   243175 JONATHAN SANCHEZ GARCIA                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243176 JONATHAN SANCHEZ MANGUAL                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243177 JONATHAN SANCHEZ MERCED                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243178 JONATHAN SANCHEZ RIVERA                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243179 JONATHAN SANTANA RIVERA                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243180 JONATHAN SANTIAGO AGOSTO                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243181 JONATHAN SANTIAGO NEELS                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JONATHAN SANTIAGO
   243182 RODRIGUEZ                                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243183 JONATHAN SANTIAGO TORRES                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243184 JONATHAN SANTIAGO VARGAS                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243185 JONATHAN SANTIAGO VEGA                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243187 JONATHAN SANTIAGO VILLEGAS                  REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679320 JONATHAN SEIJO RIVERA                       PO BOX 176                                                                                                   MOROVIS             PR           00687
   243188 JONATHAN SERRANO AYALA                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679321 JONATHAN SERRANO GODEN                      URB SANTA JUANNITA     D H 24 C/ CATALU¥A                                                                    BAYAMON             PR           00956

   243189 JONATHAN SERRANO SANABRIA                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243190 JONATHAN SOTO RODRIGUEZ                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JONATHAN SUSTACHE
   243191 CUADRADO                                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243192 JONATHAN TALAVERA DIAZ                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243193 JONATHAN TEXIDOR SOTO                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679322 JONATHAN TOMMASSINI MATOS 32 CALLE FABREGAS                                                                                                              MAYAGUEZ            PR           00680
   243196 JONATHAN TORRES CARRILLO  REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243197 JONATHAN TORRES GONZALEZ                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243199 JONATHAN TORRES LUGO                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JONATHAN TORRES                             CALLE 5 148 URB
   679323 MALDONADO                                   CONQUISTADOR                                                                                                 TRUJILLO ALTO       PR           00976

   679324 JONATHAN TORRES MERCADO                     VILLAS DE RIO GRANDE   AH 35 CALLE 23                                                                        RIO GRANDE          PR           00745
   679325 JONATHAN TORRES PACHECO                     URB. VILLA CAROLINA    0‐34 CALLE 2                                                                          CAROLINA            PR           00985
   243200 JONATHAN TORRES RIOS                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243201 JONATHAN TORRES ROLLET                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679326 JONATHAN TORRES RUIZ                        RES VILLA DEL CARIBE   EDIF 14 APT 171                                                                       PONCE               PR           00728

   243202 JONATHAN TORRES SANTIAGO                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679327 JONATHAN TOWING SERVICE                     PMB 159 PO BOX 2500                                                                                          TOA BAJA            PR           00951
   243203 JONATHAN V CRUZ SANTIAGO                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  243204 JONATHAN VALE CORTES                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  243205 JONATHAN VALLE CRUZADO                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  679328 JONATHAN VARGAS                              HC 03 BOX 9776                                                                                                    LARES                PR         00669
  243206 JONATHAN VAZQUEZ BOU                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  243207 JONATHAN VAZQUEZ FRESSE                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  243208 JONATHAN VEGA GARCIA                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  243209 JONATHAN VEGA RIVAS                          REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  243210 JONATHAN VEGA RODRIGUEZ                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  679330 JONATHAN VELAZQUEZ                           239 CALLE MONTE BLANCO                                                                                            TOA ALTA             PR         00953
         JONATHAN VELAZQUEZ DE LA
  679331 CRUZ                                         RES EL MANATIAL          EDIF 5 APTO 107                                                                          SAN JUAN             PR         00921
         JONATHAN VELAZQUEZ
  243211 HERNANDEZ                                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  243212 JONATHAN VELEZ CUBERO                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  243213 JONATHAN VELEZ ESCOBALES                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  679332 JONATHAN VELEZ FIGUEROA                      PO BOX 560299                                                                                                     GUAYANILLA           PR         00656
  243214 JONATHAN VELEZ MENDEZ                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  243215 JONATHAN VELEZ MENDOZA                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  243216 JONATHAN VELEZ RIOS                          REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  243217 JONATHAN VELEZ ROSADO                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  679333 JONATHAN VELEZ SANTIAGO                      RES KENNEDY              EDF 11 APT 93                                                                            MAYAGUEZ             PR         00680
  243219 JONATHAN VIERA TELLADO                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  679334 JONATHAN VIGO SOLER                          HC 02 BOX 13311                                                                                                   LAJAS                PR         00667
  243220 JONATHAN VILLAFANE COLON                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  243222 JONATHAN VILLANUEVA RUIZ                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   243223 JONATHAN WILLIAMS LEBRON                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   243224 JONATHAN X COLON COLON                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   243225 JONATHAN X MULERO DELGADO REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   243226 JONATHAN X RIVERA MERCADO REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   243227 JONATHAN X RODRIGUEZ OTERO REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   243228 JONATHAN Y MERCADO         REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   243229 JONATTAN COSME TORRES      REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   679336 JONATTAN NAZARIO COLON     EXT STA TERESITA                          BR 20 CALLE C                                                                            PONCE                PR         00731
   679337 JONAY DIAZ TORRES          URB ENRAMADA                              D8 CAMINO DE DALIAS                                                                      BAYAMON              PR         00961
   243230 JONAYRA ROCA HERNANDEZ     REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   679338 JONAYRA RODRIGUEZ ZAPATERO 2250 AVE LAS AMERICAS                     SUITE 514                                                                                PONCE                PR         00717‐0777
   679339 JONAYRIS RAMOS MATOS       HC 1 BOX 6312                                                                                                                      CABO ROJO            PR         00623
   679340 JONEIDA GONZALEZ RIVERA    APARTADO 219                                                                                                                       VILLALBA             PR         00766
   243231 JONEL J.GONZALEZ COMPRE    REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   679341 JONELIA FEBRES RAMOS                        COND LAS CAROLINAS       EDIF 7 APT 5 CALLE CALDERON                                                              CAROLINA             PR         00986
   679342 JONELL MARRERO SANTIAGO                     CALLE 16 BOX 8899                                                                                                 VAGA BAJA            PR         00693
   243232 JONELL MORALES RIVERA                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   243233 JONELL TORRES RIVERA                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   243234 JONELLY GUZMAN HERNANDEZ                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   243235 JONELYZ FONTANEZ RIVERA                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED




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MML ID                NAME                                       ADDRESS 1              ADDRESS 2                    ADDRESS 3                          ADDRESS 4              CITY          STATE   POSTAL CODE        COUNTRY
          JONES & BARTLETT PUBLISHERS
   679344 INC                                         40 TALL PINE DRIVE                                                                                            SUDBURY             MA           01776
   243241 JONES COMPANIES LTD                         312 SOUTH 14TH AVE                                                                                            HUMBOLDT            TN           38343
   243251 JONES MD, MARIA                             REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679345 JONES PUBLISHING                            PO BOX 5000                                                                                                   IOWA                WI           54945‐5000
   243255 JONES ROBLES PEREZ                          REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243257 JONES ZYLON                                 REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JONETT AGUILAR SANTIAGO
   243259 HOGAR CHRISTY                               REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679347 JONG P BANCHS PLAZA                         PO BOX 334576                                                                                                 PONCE               PR           00733‐4576
   243260 JONHATAN MARTINEZ ALICEA                    REDACTED               REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243261 JONHATHAN MONGE RIVERA                      REDACTED               REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                             INSTITUCIÓN PONCE 500 PO BOX
  1420116 JONHSON, OBE E.                             OBE JOHNSON            9008                                                                                   PONCE               PR           00732‐9008

   679348 JONI A GOLDENBERG BRENNER                   URB HIGHLAND GARDENS   A 15 CALLE ALBORADA                                                                    GUAYNABO            PR           00969
   679349 JONLLY FRUITS INC                           HC 67 BOX 13040                                                                                               BAYAMON             PR           00956
   243263 JONNATAN AYALA CASTRO                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243264 JONNATHAN J FELIX RODRIGUEEZ REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243265 JONNATHAN J PEREZ SOTO       REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679350 JONNATHAN MARIANI FIGUEROA URB LA HACIENDA                         AT 5 CALLE 46                                                                          GUAYAMA             PR           00784

   243266 JONNATHAN RIVERA MARTINEZ                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243267 JONNATHAN VEGA FERRER                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243269 JONNEL NAZARIO DIAZ                         REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

          JONNTHAR CRESPO CAMACHO
   243270 DBA COCOS INCHES                            HC 1 BOX 2027                                                                                                 MAUNABO             PR           00707
   679351 JONNY TORO                                  PARQUE DE TORRIMAR     B 7 CALLE 9                                                                            BAYAMON             PR           00959
   243271 JONSET L RUIZ GARCIA                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243272 JONUEL RAFAEL GARCIA RIVERA REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243273 JONYALY NUNEZ RIVERA        REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679352 JOOAQUIN SEGUINOT TORRES                    P.O. BOX 5338                                                                                                 SAN SEBASTIAN       PR           00685

   243274 JORAIKA M ROSARIO QUINONES                  REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243276 JORAYMA LOPEZ ACOSTA                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JORDAN ABDIEL MARTINEZ
   243277 BERMUDEZ                                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243284 JORDAN BIDOT GUZMAN                         REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243291 JORDAN D RAMOS BORRERO                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243293 JORDAN DIAZ MD, GUILLERMO H REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243297 JORDAN FUENTES PINEIRO      REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243299 JORDAN GONZALEZ MD, MARLA REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JORDAN HARRISON INSURANCE
   243301 BROKERS INC               500 SANSOME STREET 408                                                                                                          SAN FRANCISCO       PR           94111
          JORDAN J FELICIANO
   243304 MALDONADO                 REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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                                                                             OFIC SUPERINTENDENTE
   679353 JORDAN J GARCIA RODRIGUEZ                   PO BOX 487             ESCUELAS                                                                          HUMACAO             PR           00791

   243305 JORDAN J RAMIREZ CALDERON                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JORDAN J RODRIGUEZ
   243307 HERNANDEZ                                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243308 JORDAN L CLOUSE                             REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243309 JORDAN LOPEZ MD, OCTAVIO                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243310 JORDAN LOPEZ MD, TOMAS                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243313 JORDAN M PEDRO MARTINEZ                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243322 JORDAN MARTINEZ COLON                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243327 JORDAN MOREY MD, EDMUNDO REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243329 JORDAN O CALDERON SANCHEZ                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243369 JORDANA L. MONTALVO TROCHE REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243373 JORDIMAR RODRIGUEZ VAZQUEZ REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243374 JORDY Y PENA VILLANUEVA    REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243375 JOREL AYALA CRUZ           REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679354 JOREL IRIZARRY TORRES      HC 2 BOX 10677                                                                                                            YAUCO               PR           00698
          JORELYS M. OCASIO
   243376 MALDONADO                  REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679355 JORELYS RIVERA ROLON       HC 03 BOX 12880                                                                                                           COROZAL             PR           00783
          JORELYS T HERNANDEZ
   679356 ALEJANDRO                  MEDIANIA ALTA VILLAS MI¥I MI¥I 33 CALLE 4                                                                                 LOIZA               PR           00772
   679386 JORGE A ACEVEDO GARCIA     P O BOX 463                                                                                                               HORMIGUEROS         PR           00660
   243378 JORGE A ACOSTA PADILLA     REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243379 JORGE A ALVARADO TORRES    REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679388 JORGE A ARROYO FUENTES     RR 8 BOX 1995                  SUITE 91                                                                                   BAYAMON             PR           00956‐9675
   679389 JORGE A ARROYO GONZALEZ    URB PONCE DE LEON              24 CALLE BIMINI                                                                            MAYAGUEZ            PR           00680
   243380 JORGE A BAEZ               REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679392 JORGE A BAEZ JIMENEZ       EXT SAN AGUSTIN                1223 CALLE 7                                                                               SAN JUAN            PR           00926
   243381 JORGE A BAEZ RIOS          REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679394 JORGE A BALLESTER COLON    P O BOX 435                                                                                                               ADJUNTAS            PR           00601
   679395 JORGE A BANCHES SANDAVAL   POLICIA DE PUERTO RICO         P O BOX 70166                                                                              SAN JUAN            PR           00936
   243382 JORGE A BAUZO CANINO       REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243384 JORGE A BERMUDEZ DELGADO                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679397 JORGE A BERNIER GOMEZ                       PO BOX 760                                                                                               MANUABO             PR           00707 0760

   679398 JORGE A BERRIOS RODRIGUEZ                   PO BOX 1226                                                                                              GUAYAMA             PR           00785
   679401 JORGE A BLASINI MERLO                       ALTURAS DE YAUCO       P 4 CALLE 12                                                                      YAUCO               PR           00698
   243385 JORGE A BOJOTO BERNABE                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243386 JORGE A BORGES                              REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243387 JORGE A BORGES SERRANO                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243389 JORGE A CALDERON GAUDIO                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679404 JORGE A CALDWELL                            PARQUE DE TORRIMAR     C 3 CALLE 8                                                                       BAYAMON             PR           00959
   679405 JORGE A CAMBO BRINGAS                       URB EXT ALAMEDA        C46 CALLE A                                                                       SAN JUAN            PR           00926
   679406 JORGE A CANDELARIA                          PO BOX 1116                                                                                              GURABO              PR           00778
   243390 JORGE A CAPO RODRIGUEZ                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243391 JORGE A CARTAYA                             REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  679407 JORGE A CASAS GUERRA                          9831 SW 3 ST                                                                                                      MIAMI             FL           33174
  679408 JORGE A CASTILLO IRIZARRY                     P O BOX 1217                                                                                                      SABANA GRANDE     PR           00637‐1217

   679409 JORGE A CASTRO HERNANDEZ                     HC 3 BOX 9037                                                                                                     JUNCOS            PR           00777
   679410 JORGE A CASTRO SANTIAGO                      URB LA HACIENDA              AN 22 CALLE 54                                                                       GUAYAMA           PR           00784
   243392 JORGE A CEDENO GOMEZ                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   679359 JORGE A CLIVILLES DIAZ                       URB ANTONSANTI               1492 CALLE FAURE                                                                     SAN JUAN          PR           00927
   679411 JORGE A COLON                                URB VILLA DEL CARMEN         4627 AVE CONSTANCIA                                                                  PONCE             PR           00716‐2250
          JORGE A COLON / GEORGE
   243394 COLON                                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   243395 JORGE A COLON COLON                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   679414 JORGE A CONCEPCION RIVERA                    URB VILLA ASTURIAS           26‐5 CALLE 34                                                                        CAROLINA          PR           00983‐2947
   243397 JORGE A CORDERO ADORNO                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   243398 JORGE A CRESPO LEON                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   679417 JORGE A CRESPO PEREZ                         PO BOX 1496 SECTOR VERA                                                                                           MOCA              PR           00676
   243399 JORGE A CRESPO SANTIAGO                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   679418 JORGE A CRUZ BURGOS                          BO GUAYABAL SECT MONAS       APDO 1647                                                                            JUANA DIAZ        PR           00795
   679419 JORGE A CRUZ ORTA                            URB VISTA AZUL               FF 2 CALLE 27                                                                        ARECIBO           PR           00612
   679420 JORGE A CRUZ ROLON                           HC 80 BOX 6508                                                                                                    DORADO            PR           00646
   679421 JORGE A CUEVAS MARENGO                       COND MIRAMAR TOWER           721 C/ HERNANDEZ APT 5A                                                              SAN JUAN          PR           00907
   679422 JORGE A DAVILA DAVILA                        URB VERSALLES B              27 CALLE 2A                                                                          BAYAMON           PR           00959
   243401 JORGE A DEL RIO                              REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   243402 JORGE A DELGADO RIVERA                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   679423 JORGE A DIAZ                                 PSC 1008                     BOX 3007 FPO AA                                                                      CEIBA             PR           34051
   243403 JORGE A DIAZ BLANCO                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   679424 JORGE A DIAZ DIAZ                            HC 2 BOX 13401                                                                                                    AGUAS BUENAS      PR           00703
   243404 JORGE A DIAZ GARCIA                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   679426 JORGE A DIAZ RAMIREZ                         LA GUADALUPE                 A 13 AVE J PONCIANA                                                                  PONCE             PR           00731
   243405 JORGE A DIAZ RODRIGUEZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   243406 JORGE A DIAZ TORRES                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   679427 JORGE A DUENO CARRERO                        URB EL JARDIN                18 CALLE 1 A                                                                         GUAYNABO          PR           00969
   679428 JORGE A ESTEBAN GARCIA                       P O BOX 5982                                                                                                      CAGUAS            PR           00726
   679429 JORGE A FERRER PERREZ                        APARTADO 589                                                                                                      NARANJITO         PR           00719
                                                       URB SANTA TERESITA A R 9
   679430 JORGE A FIGUEROA IRIZARRY                    CALLE 12                                                                                                          PNCE              PR           00731

   243407 JORGE A FIGUEROA MARQUEZ                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   679431 JORGE A FLYNN CINTRON                        1605 AVE P DE LEON STE 608                                                                                        SAN JUAN          PR           00909
   679432 JORGE A FUENTES MATTA                        P O BOX 831                                                                                                       FAJARDO           PR           00738
   679433 JORGE A GARCIA TORRES                        URB LAS AGUILAS              F 20 CALLE 4                                                                         COAMO             PR           00769
   679360 JORGE A GAUD RIVERA                          URB COUNTRY CLUB             889 CALLE ZUMBADOR                                                                   SAN JUAN          PR           00924
   243408 JORGE A GOMEZ ORTIZ                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   243409 JORGE A GOMEZ ROSADO                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   243410 JORGE A GONZALEZ                             REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          JORGE A GONZALEZ DE LA
   243411 FUENTE                                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   243412 JORGE A GONZALEZ GARCIA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   679434 JORGE A GONZALEZ GONZALEZ                    HC 01 BOX 7816                                                                                                    AGUAS BUENAS      PR           00703
   679435 JORGE A GONZALEZ MEDINA                      URB CORALES DE HATILLO       C2 CALLE 3                                                                           HATILLO           PR           00659
   679436 JORGE A GONZALEZ NEGRON                      UNIVERSITY GARDEN            C/5 E‐43                                                                             ARECIBO           PR           00612




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   243413 JORGE A GRULLON RODRIGUEZ REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   679437 JORGE A GUEVARA RIVERA      P O BOX 80136                                                                                                              COROZAL             PR         00783
   243414 JORGE A GUZMAN CINTRON      REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243415 JORGE A GUZMAN LEON         REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JORGE A HERNANDE GUTIERREZ/
   243416 LISANDRA                    REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JORGE A HERNANDEZ
   243417 GUTIERREZ/ LISANDRA         REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   679438 JORGE A HERNANDEZ LOPEZ     PO BOX 183                                                                                                                 LARES               PR         00669
   243419 JORGE A HUERTAS QUINTANA    REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   679440 JORGE A IRIGOYEN EFRECE     URB BAHIA 2                              CALLE CEDRO                                                                       GUAYANILLA          PR         00656
   243420 JORGE A JIMENEZ VIERA       REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   679441 JORGE A JORGE RODRIGUEZ     URB VILLA DE LOIZA                       FF12 CALLE 44 A                                                                   CANOVANAS           PR         00729
   243421 JORGE A LARA CAJIGAS        REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   679444 JORGE A LOPEZ MALDONADO     URB EL CONQUITADOR                       B 24 CALLE 2                                                                      TRUJILLO ALTO       PR         00976
   243423 JORGE A LUBE LEBRON         REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   243424 JORGE A MACHICOTE RAMERY                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   243425 JORGE A MALDONADO RIVERA                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243427 JORGE A MARCANO APONTE                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   679446 JORGE A MARRERO CONCEPCION URB LEVITTOWN                             1255 PASEO DIAMANTE                                                               TOA BAJA            PR         00949‐4120
   679448 JORGE A MARTINEZ COLON     PO BOX 10610                                                                                                                PONCE               PR         00732
   243428 JORGE A MARTINEZ ZAYAS     REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243429 JORGE A MARTIR LOPEZ       REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243430 JORGE A MATOS AMARO        REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243431 JORGE A MEAUX PEREDA       REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   679449 JORGE A MEDINA ALMODOVAR                    URB VILLA DOS RIOS       4 CALLE PORTUGUES                                                                 PONCE               PR         00731
   243432 JORGE A MERCADO NAZARIO                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243433 JORGE A MERCED RAMOS                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243434 JORGE A MIRANDA PEREZ                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243435 JORGE A MOLINA VELAZQUEZ                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   679451 JORGE A MONGE COLLAZO                       URB LAS AMERICAS         787 CALLE GUATEMALA                                                               SAN JUAN            PR         00921
   679452 JORGE A MONGE MATOS                         HC 02 BOX 5585                                                                                             COMERIO             PR         00782
   243436 JORGE A MONTANE FABRA                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243437 JORGE A MORALES BENITEZ                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JORGE A MORALES SANTO
   679453 DOMINGO                                     PO BOX 9020613                                                                                             SAN JUAN            PR         00902
   679454 JORGE A MOYANO PALACIOS                     CHALETS DE BAYAMON       APT 2222                                                                          BAYAMON             PR         00959
   679455 JORGE A MUNDO LOPEZ                         PO BOX 1447                                                                                                JUNCOS              PR         00777 1447
   243438 JORGE A MUNDO SEGARDIA                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243439 JORGE A MURIEL SANTANA                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   679456 JORGE A NARVAEZ HERNANDEZ                   HC 1 BOX 10506                                                                                             PE¥UELAS            PR         00624‐9204
   679457 JORGE A NEGRON                              BO CARTON SECT CIELITO   CARR 165 KM 10 HM 5                                                               TOA ALTA            PR         00954
   243440 JORGE A NEVAREZ SANTANA                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   679458 JORGE A OCASIO RAMIREZ                      4TA EXT URB METROPOLIS   F1 15 CALLE 4                                                                     CAROLINA            PR         00987
   243441 JORGE A ORTIZ                               REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243442 JORGE A ORTIZ BLANCO                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243443 JORGE A ORTIZ LUCCA                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  243444 JORGE A ORTIZ REYES                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  243445 JORGE A ORTIZ RIVERA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JORGE A PAULINO/ MONICA
  243448 LARGACHA                                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  243449 JORGE A PELLOT SANTIAGO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  679463 JORGE A PEREZ DIAZ                           HC03 BOX 8450                                                                                                 MOCA                PR         00676
  243450 JORGE A PEREZ SANCHEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  243451 JORGE A PEREZ VELEZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      COND MANSIONES DE GARDENS
   679465 JORGE A PIERLUISI DIAZ                      HILL                        APARRTAMENTO 2‐1                                                                  GUAYANBO            PR         00966
   243452 JORGE A PINO MARTINEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243453 JORGE A POSADA ESCOBAR                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679467 JORGE A RAMIREZ MARTINEZ                    PO BOX 315                                                                                                    OROCOVIS            PR         00720
   243455 JORGE A RAMOS COLON                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679468 JORGE A RAMOS ORTEGA                        URB UNIVERSITY GARDENS      S 301 CALLE HARVARD                                                               SAN JUAN            PR         00927
   679470 JORGE A RAMOS VELEZ                         PO BOX 50071                                                                                                  SAN JUAN            PR         00902
   243458 JORGE A RETAMAR SANTIAGO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243459 JORGE A REYES CRUZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243460 JORGE A REYES RIVERA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679471 JORGE A RIVERA CAPETILLO                    203 CALLE VISTULA                                                                                             SAN JUAN            PR         00926‐3205
   243461 JORGE A RIVERA MARRERO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243462 JORGE A RIVERA MYERS                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679473 JORGE A RIVERA TORRES                       PMB 256                     PO BOX 1999                                                                       BARRANQUITAS        PR         00794
   679474 JORGE A ROBLES BALLAT                       PO BOX 21365                                                                                                  SAN JUAN            PR         00928
   243464 JORGE A ROBLES REYES                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243465 JORGE A RODRIGUEZ COLON                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   243466 JORGE A RODRIGUEZ MARTINEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   243467 JORGE A RODRIGUEZ SANCHEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   679477 JORGE A RODRIGUEZ SANTIAGO                  PUERTO REAL                 832 CALLE GUAINIA                                                                 CABO ROJO           PR         00623
   243468 JORGE A RODRIGUEZ SOTO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243469 JORGE A RODRIGUEZ TOSSAS                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JORGE A RODRIGUEZ Y NANCY L
   243471 RAMOS                                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679480 JORGE A RODRIGUEZ ZAYAS                     RIBERAS DEL RIO             B 25 CALLE 11                                                                     BAYAMON             PR         00959
   243473 JORGE A ROSA RAMIREZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679481 JORGE A ROSA SANTOS                         URB MONTE REY               H 29 CALLE 5                                                                      COROZAL             PR         00783
   243474 JORGE A ROSADO FIGUEROA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243475 JORGE A ROTGER BONILLA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243476 JORGE A ROTGER REYES                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243478 JORGE A RUIZ ALVARADO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679483 JORGE A RUIZ RIVERA                         CALLE HIBISCO 2R22          LOMAS VERDES                                                                      BAYAMON             PR         00956
          JORGE A SALDORRIAGA                         COND MIRAMAR TOWER APT 14
   679485 BARRAGAN                                    C                           721 CALLE HERNANDEZ                                                               SAN JUAN            PR         00907
   243479 JORGE A SALICHS ESCALONA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   243480 JORGE A SAN MIGUEL MARTINEZ REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243481 JORGE A SANCHEZ CRUZ        REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243482 JORGE A SANCHEZ VIVALDI     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   679486 JORGE A SANTIAGO GONZALEZ                   URB COUNTRY CLUB            767 CALLE MADAGASCAR                                                              SAN JUAN            PR         00924‐1766



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  243483 JORGE A SANTIAGO RIVERA                      REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  679488 JORGE A SANTOS MARTINEZ                      RR11 BOX 342                                                                                                         BAYAMON             PR         00957
  679489 JORGE A SANTOS PEREZ                         URB VILLA CAROLINA            9 420 ‐160                                                                             CAROLINA            PR         00985
  243484 JORGE A SOMOZA FERRALES                      REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JORGE A SOTO HERNANDEZ /
  243485 HEIDI HERNANDEZ                              REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  679490 JORGE A SOTO MATOS                           PO BOX 1023                                                                                                          UTUADO              PR         00641
  243486 JORGE A SOTO VARGAS                          REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  243487 JORGE A SOTO VAZQUEZ                         REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   679491 JORGE A SURILLO ARCANO                      CALLE GERENA NUM 51 (ALTOS)   PO BOX 725                                                                             HUMACAO             PR         00792‐0725
   679493 JORGE A TOLEDO COLON                        HACIENDA MI QUERIDO VIEJO     19 CALLE CEDRO                                                                         DORADO              PR         00646
   679494 JORGE A TORO BURGUETE                       PORTALES DEL MONTE            APT 601 B                                                                              COTO LAUREL         PR         00780‐2005
   243488 JORGE A TORO MELENDEZ                       REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243489 JORGE A TORRES ALSINA                       REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243490 JORGE A TORRES BAUZA                        REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   679361 JORGE A TORRES CARRASQUILLO URB VENUS GNDS                                1699 CALLE CUERNAVACA                                                                  SAN JUAN            PR         00926
   243491 JORGE A TORRES CINTRON      REDACTED                                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679497 JORGE A TORRES MELENDEZ     OFICINA SUPTE ESCUELA                         BOX 487                                                                                HUMACAO             PR         00792
   243492 JORGE A TORRES MONTES       REDACTED                                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243493 JORGE A TORRES OTERO        REDACTED                                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243494 JORGE A TORRES RODRIGUEZ    REDACTED                                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243495 JORGE A TORRES TORRES       REDACTED                                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679499 JORGE A TRUJILLO            URB JOSE SEVERO QUINONES                      1028 CALLE 4                                                                           CAROLINA            PR         00985
   679500 JORGE A VARGAS DIAZ         URB LEVITTOWN                                 1635 PASEO DORADO                                                                      TOA BAJA            PR         00949
   243496 JORGE A VARGAS FERNANDEZ    REDACTED                                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679501 JORGE A VAZQUEZ AVILES      HC 4 BOX 8602                                                                                                                        CAMERIO             PR         00782
   243497 JORGE A VEGA AGUAYO         REDACTED                                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JORGE A VELAZQUEZ
   243498 GUADALUPE                   REDACTED                                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   243499 JORGE A VELAZQUEZ RAMIREZ                   REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   679503 JORGE A VELEZ AYALA                         URB LAS DELICIAS              1212 CALLE FRANCISCO VASALLO                                                           PONCE               PR         00728
                                                      BO COTTO LAUREL BZN 13 C ALLE
   679504 JORGE A VERGES GONZALEZ                     A                             216 PEPITO FIGUEROA                                                                    PONCE               PR         00780
   679505 JORGE A VIDAL FONT                          MANSIONES VILLANOVA           BI 2 CALLE A                                                                           SAN JUAN            PR         00926
   243500 JORGE A VILLARAN ROMERO                     REDACTED                      REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JORGE A VILLARINI / HECTOR
   679507 VILLARINI                                   URB SAN GERARDO               305 VERMONT                                                                            SAN JUAN            PR         00926
          JORGE A VILLENA Y LIZA M
   243501 COLLAZO                                     REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243502 JORGE A. CAPO RODRIGUEZ                     REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243503 JORGE A. CARDE GOMEZ                        REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243504 JORGE A. CASTILLO NEGRON                    REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243506 JORGE A. CINTRON SANTANA                    REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243507 JORGE A. COLON COLON                        REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243509 JORGE A. COTTO ALAMO                        REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243510 JORGE A. CRESPO COTTO                       REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243511 JORGE A. FLORES RODRIGUEZ                   REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679509 JORGE A. FRANCO IRIZARRY                    URB UNIVERSITY GDNS           306 CALLE INTERAMERICANA                                                               SAN JUAN            PR         00927
   243512 JORGE A. LOPEZ FELICIANO                    REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  243514 JORGE A. LOPEZ REYES                          REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                       315 CALLE LUNA APARTAMENTO
   679510 JORGE A. MORALES NEGRON                      1B                                                                                                          SAN JUAN            PR         00901
   243515 JORGE A. NIEVES RODRIGUEZ                    REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243517 JORGE A. REYES MEDINA                        REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243518 JORGE A. RODRIGUEZ DAVILA                    REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243519 JORGE A. VILLALBA RIVERA                     REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   679513 JORGE ACEVEDO BRACETTY                       BARRIO OBRERO              514 CALLE 18                                                                     SAN JUAN            PR         00915
   243521 JORGE ACEVEDO CRESPO                         REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243522 JORGE ACEVEDO LEBRON                         REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243523 JORGE ACEVEDO PENA                           REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   679514 JORGE ACEVEDO RODRIGUEZ                      78 CALLE ALBIZU CAMPO ALTOS                                                                                 LARES               PR         00669
   679517 JORGE ACOBIS RIVERA                          233 CALLE VICTORIA                                                                                          PONCE               PR         00731
   243524 JORGE ACOSTA GONZALEZ                        REDACTED                    REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   679518 JORGE AGOSTO CENTENO                         HC 1 BOX 4446                                                                                               SABANA HOYOS        PR         00688
   679519 JORGE ALAMO PABON                            23 CALLE RUIZ BELVIS                                                                                        MOROVIS             PR         00687

   243528 JORGE ALBERTO DIAZ CINTRON                   REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   679520 JORGE ALBERTO RIVERA ROMAN BRISAS DE LOIZA                              208 CALLE ESCORPION                                                              CANOVANAS           PR       00729
   243529 JORGE ALDRICH NOVOA        REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   679521 JORGE ALEJANDRO CORREA     PO BOX 21365                                                                                                                  SAN JUAN            PR       00926‐1365
   243531 JORGE ALEJANDRO VAZQUEZ    REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   243532 JORGE ALEQUÍN MARTELL      REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   679523 JORGE ALFONSO REYES RUIZ   PO BOX 5100                                                                                                                   SAN GERMAN          PR       00683
   679524 JORGE ALICEA RODRIGUEZ     VILLAS DE PARQUE ESCORIAL                    APTO A 104                                                                       CAROLINA            PR       00987
   243533 JORGE ALIFONSO PERDOM0     REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   679525 JORGE ALMEDINA MENDOZA     P O BOX 1435                                                                                                                  CAYEY               PR       00737
   243534 JORGE ALVARADO SANTOS      REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   243535 JORGE ALVAREZ              REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   679526 JORGE ALVAREZ FRANK        PO BOX 6216                                                                                                                   BAYAMON             PR       00960
   243536 JORGE ALVAREZ ROSA         REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   679528 JORGE ALVAREZ ROSADO       PMB 182 382                                  AVE SAN CLAUDIO                                                                  SAN JUAN            PR       00926‐9910
   679530 JORGE ALVAREZ SOSA         PO BOX 5887                                                                                                                   SAN JUAN            PR       00902
   679531 JORGE AMADOR LLORENS       PO BOX 549                                                                                                                    HATILLO             PR       00659
   243537 JORGE AMADOR TEXIDOR       REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   679532 JORGE ANDINO ANDINO        ALTURAS BUCARABONES                          3T 20 CALLE 42                                                                   TOA ALTA            PR       00953
                                                                                  BOX 141 AVE PINO
   679533 JORGE ANDRADES POLL                          URB LOS PINOS              AUSTRALIANO                                                                      ARECIBO             PR         00612
   679535 JORGE ANDUJAR RODRIGUEZ                      SABANA GARDENS             13 1 CALLE 27                                                                    CAROLINA            PR         00983
   679536 JORGE APONTE APONTE                          BO VEGAS 25406                                                                                              CAYEY               PR         00736
   243539 JORGE APONTE REYES                           REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243540 JORGE AQUINO MALDONADO                       REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   243541 JORGE ARANZAMENDI TORRES                     REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   243542 JORGE ARGUELLES MORAN                        REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JORGE ARMANDO SANCHEZ
   243543 VIVALDI                                      REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   679538 JORGE AROCHO                                 631 CALLE WILLIAM                                                                                           SAN JUAN            PR         00907
   243544 JORGE AROCHO SOTO                            REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   679539 JORGE ARRIAGA PEREZ                          LAS PIEDRAS APT 1605                                                                                        LAS PIEDRAS         PR         00771
   679540 JORGE ARROYO TRINIDAD                        RR 9 BOX 5227                                                                                               SAN JUAN            PR         00926



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  243545 JORGE ARTAUD PAGAN                            REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  679541 JORGE ARTURO VEGA MATOS                       HC 05 BOX 7375                                                                                                   GUAYNABO          PR         00971
  679542 JORGE ARZOLA                                  UNIVERSITY GARDENS             201C CALLE FORDHAM                                                                SAN JUAN          PR         00926
  243546 JORGE ARZOLA MORALES                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  679543 JORGE ASENCIO WEBER                           P O BOX 932                                                                                                      CAGUAS            PR         00726
         JORGE ASENCIO WEBER DBA
  243547 WEBER HARDWARE                                P. O. BOX 932                                                                                                    CAGUAS            PR       00726‐0000
  679544 JORGE AVILES VAZQUEZ                          BUENA VISTA                    263 CALLE E                                                                       SAN JUAN          PR       00917
  243549 JORGE AYALA FREYTES                           REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
  243550 JORGE AYALA MONTES                            REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
  243551 JORGE AZIZE DE JESUS                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
  243552 JORGE B NIEVES CLEMENTE                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
  243553 JORGE B RIVERA REYES                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
  243554 JORGE BAEZ CARDONA                            REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
  679546 JORGE BAEZ RIVERA                             HC 02 BOX 31231                                                                                                  CAGUAS            PR       00727
  243555 JORGE BARALT SOLDEVILA                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
  243556 JORGE BARANDA COLLAZO                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
  679547 JORGE BARED RODRIGUEZ                         PO BOX 9024056                                                                                                   SAN JUAN          PR       00902
         JORGE BASMESON Y ENID
  243559 CORREA                                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  243563 JORGE BELTRAN GONZALEZ                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  679548 JORGE BELVIS MORALES                          BO LA QUINTA                   240 LOMA BONITA                                                                   MAYAGUEZ          PR         00680
         JORGE BENITEZ BIBILONI Y/O
  243564 ECOQUIDS                                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  243565 JORGE BENITEZ CASTRO                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  243566 JORGE BENITEZ ORTIZ                           REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  243567 JORGE BENITEZ SANCHEZ                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  679550 JORGE BENTANCOURT MARIN                       HC 1 BOX 11425                                                                                                   CAROLINA          PR         00985
  679551 JORGE BERRIOS LABOY                           P O BOX 191                                                                                                      VILLALBA          PR         00766
  679552 JORGE BERRIOS OYOLA                           P O BOX 9917                                                                                                     CIDRA             PR         00739

   679553 JORGE BLANCO & ASOCIADO                      GARDEN HILLS PLAZA SUITE 161   S/C 1353 CARR 19                                                                  GUAYNABO          PR         00966
   679554 JORGE BLANCO & ASOCIADOS                     PMB 161 S/C CARR 19                                                                                              GUAYNABO          PR         00966‐2700
   243573 JORGE BLASINI GONZALEZ                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679555 JORGE BOBADILLA PAGAN                        HC 3 BOX 8835                                                                                                    GUAYNABO          PR         00971
   243574 JORGE BONILLA                                REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679557 JORGE BONILLA COLON                          PO BOX 2058                                                                                                      AIBONITO          PR         00705
   243575 JORGE BONILLA OZUBA                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   679559 JORGE BRACERO LANDRON                        COND CORAL BEACH SUITE L‐19                                                                                      CAROLINA          PR         00979
   679561 JORGE BRACERO ZENO                           JARDINES DE NONACO II          564 CALLE REINIER                                                                 MANATI            PR         00674
   243576 JORGE BRANA DAVILA                           REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243577 JORGE BRITO DIAZ                             REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679562 JORGE BRULL CESTERO                          COND PLAYA MAR                 ISLA VERDE APT 3 A                                                                CAROLINA          PR         00979
   243578 JORGE BULTRON ESCUTE                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243579 JORGE BURGOS FIGUEROA                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243581 JORGE C ALBINO FIGUEROA                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243582 JORGE C COLON COLLAZO                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   243583 JORGE C COLORADO ALVARADO                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243584 JORGE C CRUZ JOVE                            REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679566 JORGE C JUSTO CITTADINI                      PO BOX 362152                                                                                                    SAN JUAN          PR         00936
   243585 JORGE C LALLAVE CORTES                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  243586 JORGE C MALDONADO FERRA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  243587 JORGE C MARTINEZ AJA                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  243588 JORGE C MILIAN DIEPPA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  243589 JORGE C NEGRETE LEDO                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      H/N/C ASOC SUPLIDORES
   679567 JORGE C SANTINI NAZARIO                     BARRANQUITAS                 PO BOX 12                                                                             BARRANQUITAS        PR         00794

   243590 JORGE CABALLERO HERNANDEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679569 JORGE CABEZA                                1802 AVE MCLEARY APT 903                                                                                           SAN JUAN            PR         00911
   679570 JORGE CABRERA VELAZQUEZ                     P O BOX 9767                                                                                                       CAROLINA            PR         00988‐9767
          JORGE CALAF/GREEN ENERGY &
   243593 FUELS INC                                   VILLA CAPARRA                3 CALLE J                                                                             GUAYNABO            PR         00966
   679571 JORGE CALDERON DROWELL                      VILLAS DE CUPEY              D 7 CALLE SENOBIA                                                                     SAN JUAN            PR         00926
   243594 JORGE CALDERON FLORES                       REDACTED                     REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243595 JORGE CALDERON MELO                         REDACTED                     REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                   11 CALLE GUAYAMA URB FLORAL
   679572 JORGE CALZADA GORITZ                        INTERNATINAL CASH REGISTER   PARK                                                                                  SAN JUAN            PR         00917
   771117 JORGE CAMACHO BURGOS                        REDACTED                     REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679573 JORGE CAMPOS MARTINEZ                       PO BOX 7266                                                                                                        MAYAGUEZ            PR         00681
   679574 JORGE CANABAL PEREZ                         HC 52 BOX 3566                                                                                                     GARROCHALES         PR         00652
   243596 JORGE CANALES RIVERA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243597 JORGE CANCEL SEPULVEDA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679575 JORGE CARABALLO CINTRON                     PARC EL TUQUE                118 CALLE ELIAS BARBOSA                                                               PONCE               PR         00728

   679576 JORGE CARABALLO ESTREMERA                   HC 01 BOX 8242                                                                                                     LOIZA               PR         00772

   679577 JORGE CARABALLO FONTANEZ                    PO BOX 7126                                                                                                        PONCE               PR         00732

   679578 JORGE CARABALLO RODRIGUEZ                   PO BOX 434                                                                                                         GUANICA             PR         00653
   679579 JORGE CARAZO CASTILLO                       PO BOX 3077                                                                                                        BAYAMON             PR         00960
   679580 JORGE CARBALLIDO                            PMB 228                      1353 GARDEN HILL PLAZA                                                                GUAYNABO            PR         00966
   679581 JORGE CARDO GUEDE                           P.O. BOX 191527                                                                                                    SAN JUAN            PR         00919
   243600 JORGE CARDONA CHAPARRO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679582 JORGE CARDONA RIVERA                        URB LAS AGUILAS              B6 CALLE 5                                                                            COAMO               PR         00769
   243601 JORGE CARMONA GONZALEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JORGE CARRASQUILLO /
   679585 WILLIAM ORTIZ                               URB LAS LOMAS                821 CALLE 27 SO                                                                       SAN JUAN            PR         00921

   679586 JORGE CARRASQUILLO DIAZ                     COND BORINQUEN TOWERS 1      APTO 1006                                                                             SAN JUAN            PR         00921
   679588 JORGE CARRASQUILLO REYES                    BOX 87                                                                                                             AIBONITO            PR         00786
   243603 JORGE CARRERO LUGO                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243604 JORGE CARRION RIVERA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679590 JORGE CARRO PABON                           802 CALLE RICARDO ARROYO                                                                                           DORADO              PR         00646
   243605 JORGE CASTRO SANCHEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243607 JORGE CEBALLOS ALICEA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679362 JORGE CEDE¥O VAZQUEZ                        BO CERRO GORDO               RR 4 BOX 611                                                                          BAYAMON             PR         00956
   243608 JORGE CEDENO TORRES                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679591 JORGE CHAPARRO TIRADO                       URB SAN SOUCI                X 4 CALLE 17                                                                          BAYAMON             PR         00957
   243611 JORGE CHAPMAN RIVERA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243612 JORGE CHEN                                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243613 JORGE CHEVERE COLON                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   679592 JORGE CHIRIBOGA SOTOMAYOR URB SAN RAMON                                  1967 CALLE SALVIA                                                                     GUAYNABO            PR         00969



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   243614 JORGE CINTRON MALDONADO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243615 JORGE CINTRON MARTINEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679593 JORGE CINTRON RODRIGUEZ                     PO BOX 240                                                                                                            SANTA ISABEL        PR           00757
   679594 JORGE CLAUDIO MARTINEZ                      HC 40 BOX 40560                                                                                                       SAN LORENZO         PR           00754
   243618 JORGE COCONATTI CATRARA                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243619 JORGE COLLAZO LABOY                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243620 JORGE COLLAZO VEGA                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679595 JORGE COLLAZO VELEZ                         HC 1 BOX 11843                                                                                                        SAN SEBASTIAN       PR           00685
   243623 JORGE COLON                                 REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679597 JORGE COLON BENITEZ                         BOX 1441                                                                                                              JUANA DIAZ          PR           00795
   243624 JORGE COLON CASTILLO                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243625 JORGE COLON COLLAZO                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679598 JORGE COLON CRUZ                            H C 03 BOX 38930                                                                                                      CAGUAS              PR           00725 9724
          JORGE COLON DBA JC PHOTO
   243626 GROUP                                       CAGUAS NORTE                 B 5 CALLE BELEN                                                                          CAGUAS              PR           00725
   679599 JORGE COLON DELGADO                         URB LAS LOMAS                1608 CALLE 16 SO                                                                         SAN JUAN            PR           00921‐1437
          JORGE COLON GERENA/AZ
   243627 ENERGY LLC                                  PO BOX 116662                                                                                                         SAN JUAN            PR           00922
   679600 JORGE COLON GRACIA                          PO BOX 200                                                                                                            HORMIGUEROS         PR           00660

   679601 JORGE COLON REYES                           BO JAGUAS REPTO SAN MIGUEL   APTDO 886                                                                                CIALES              PR           00638
   679363 JORGE COLON ROSA                            PO BOX 792                                                                                                            VIEQUES             PR           00765
   243630 JORGE COLON ZAYAS                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679602 JORGE COLORADO MALAVE                       BDA CARMEN                   28 CALLE MORELLI                                                                         SALINAS             PR           00751
   243631 JORGE CONTRERAS DIAZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243632 JORGE CORDERO LOPEZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243633 JORGE CORDERO PEREZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243634 JORGE CORDOVA LOPEZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679604 JORGE CORNIER RIVERA                        PO BOX 157                                                                                                            GUAYNABO            PR           00970
                                                                                   509 CALLE CARIBE URB FLORAL
   679605 JORGE CORREA MARTINEZ                       FLORAL PARK                  PARK                                                                                     SAN JUAN            PR           00917
   243636 JORGE CORREA MORALES                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679606 JORGE CORTES SANTIAGO                       URB CIUDAD JARDIN 111        210 CALLE FLAMBOYAN                                                                      TOA ALTA            PR           00953

   243637 JORGE COSME Y EULALIA TORRES REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243639 JORGE COVAS MENDOZA          REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679607 JORGE CRESPO ACEVEDO         5200 N E24 TERRAC A C315                                                                                                             FT LAUDERDALE       FL           33308
   243640 JORGE CRESPO ALVAREZ         REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243641 JORGE CRESPO TORRES          REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679609 JORGE CRUZ ARTEAGA           URB LOS CAOBOS                              3011 CALLE CARAMBOLA                                                                     PONCE               PR           00716‐2739
   243643 JORGE CRUZ AYALA             REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243644 JORGE CRUZ BARRETO           REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679611 JORGE CRUZ CORTES            PO BOX 7126                                                                                                                          PONCE               PR           00732
   679612 JORGE CRUZ GONZALEZ          PO BOX 385                                                                                                                           CIALES              PR           00638
   679613 JORGE CRUZ HERNANDEZ         HC 2 BOX 12683                                                                                                                       GURABO              PR           00778
   243646 JORGE CRUZ LLANES            REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243647 JORGE CRUZ PARRILLA          REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243648 JORGE CRUZ PEREZ             REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679615 JORGE CRUZ SERRANO           URB VISTA AZUL                              CC7 CALLE 27                                                                             ARECIBO             PR           00612
   243650 JORGE CUEVAS ORTEGA          REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243651 JORGE D ACEVEDO PADILLA      REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243652 JORGE D CARDONA RIVERA       REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  679617 JORGE D DIAZ BURGOS                          RES VILLA REAL              EDIF 4 APT 13                                                                          PATILLAS            PR         00723
  679618 JORGE D ESQUILIN ROSADO                      BO TEJAS                    CARR 405 RAMAL KM 4 9                                                                  YABUCOA             PR         00767
  679619 JORGE D FONSECA MULERO                       VILLA NUEVA                 15 E CALLE 16                                                                          CAGUAS              PR         00725
  243654 JORGE D FONTANEZ REYES                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  243655 JORGE D GONZALEZ FUENTES                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   679623 JORGE D MARCUCCI SOBRADO                    932 CAMPO RICO                                                                                                     SAN JUAN            PR         00924

   679624 JORGE D MELENDEZ CARRERAS                   PO BOX 986                                                                                                         OROCOVIS            PR         00720
   679625 JORGE D ORTIZ CLEMENTE                      BOX 3943                                                                                                           CAROLINA            PR         00984
   243656 JORGE D ORTIZ RODRIGUEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243657 JORGE D PONCE LOPEZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243658 JORGE D RAMOS RODRIGUEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679626 JORGE D RIVERA TIRADO                       HC‐1 BOX 3222                                                                                                      YABUCOA             PR         00767

   679627 JORGE D RODROGUEZ MENDOZA URB CANA                                      669 CALLE LOS ROBLES                                                                   PONCE               PR         00728‐1925

   243660 JORGE D VALENTIN MALDONADO REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243662 JORGE D. BUZAINZ DE AGUILA REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243663 JORGE D. ROMAN PEREZ       REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243665 JORGE DAVILA BARRIOS       REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679630 JORGE DAYA LUGO            P O BOX 1527                                                                                                                        YAUCO               PR         00698
   679631 JORGE DE CASTRO FONT       MIRAMAR                                      666 CALLE MCKINLEY                                                                     SAN JUAN            PR         00907
   679632 JORGE DE JESUS DE JESUS    HC 03 BOX 10597                                                                                                                     JUANA DIAZ          PR         00795

   679635 JORGE DE JESUS DIAZ                         URB SANTA RITA              118 CALLE DOMINGO CABRERA                                                              SAN JUAN            PR         00925
   243666 JORGE DE JESUS ORTIZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243667 JORGE DE JESUS PADILLA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243668 JORGE DE JESUS RODRIGUEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679636 JORGE DE JESUS TORRES                       PO BOX 22982                                                                                                       SAN JUAN            PR         00931

   679637 JORGE DE LA ROSA DE HOSTOS                  651 FERNANDEZ JUNCOS AVE.                                                                                          SAN JUAN            PR         00907
   679638 JORGE DE LA TORRE                           PO BOX 837                                                                                                         MAYAGUEZ            PR         00681
   679639 JORGE DE LEON RODRIGUEZ                     BO GUAVATE 22550                                                                                                   CAYEY               PR         00736
          JORGE DE LOS SANTOS
   243669 SANTIAGO NIEVES                             REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   679640 JORGE DEDERICK BETANCOURT UNIVERSITY STATION                            PO BOX 21655                                                                           SAN JUAN            PR         00931
   679641 JORGE DEL CASTILLO            URB VILLAMAR                              68 CALLE 2                                                                             CAROLINA            PR         00979
          JORGE DEL RIO ARQUITECTOS C S
   243671 P                             A 6 YALE ST                                                                                                                      SAN JUAN            PR         00927
   679642 JORGE DEL RIO FERRER          URB UNIVERSITY GDNS                       301 CALLE SORBONA                                                                      SAN JUAN            PR         00927
   679643 JORGE DEL RIO RODRIGUEZ       URB MONTE BRISAS                          3 R 15 CALLE 106                                                                       FAJARDO             PR         00738
   243672 JORGE DELGADO ALFONSO         REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679645 JORGE DELGADO ANDINO          BO CANTERA                                2468 CALLE CONDADO FINAL                                                               SAN JUAN            PR         00915
   679646 JORGE DELGADO FAVIER          CAPARRA TERRACE                           1328 AVE AMERICO MIRANDA                                                               GUAYNABO            PR         00921
   243673 JORGE DELGADO RIVAS           REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243675 Jorge Deschamps de León       REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243676 JORGE DIANA                   REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679648 JORGE DIAZ & ASOCIADOS        MANSION DEL NORTE                         G 6 CALLE BUSTAMANTE                                                                   TOA BAJA            PR         00949
   679649 JORGE DIAZ DIAZ               340 CALLE COMERIO                                                                                                                BAYAMON             PR         00956
   679650 JORGE DIAZ FIGUEROA           118 BDA VEVE CALZADA                                                                                                             FAJARDO             PR         00738
   679651 JORGE DIAZ HERNANDEZ          P O BOX 9448                                                                                                                     CAGUAS              PR         00726



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  679652 JORGE DIAZ LOPEZ                             P O BOX 30268                                                                                                  SAN JUAN            PR         00929
  243677 JORGE DIAZ MARTINEZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  679653 JORGE DIAZ MILLAN                            VILLA CAROLINA              32 CALLE 10                                                                        CAROLINA            PR         00983
  679654 JORGE DIAZ RODRIGUEZ                         PO BOX 141201                                                                                                  ARECIBO             PR         00614
  243678 JORGE DIAZ VALDES                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  243681 JORGE DUBOIS CASTANEDA                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   243683 JORGE E APONTE HERNANDEZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   679656 JORGE E BREWER CASTELLANO                   URB VILLA FONTANA           NL 6 VIA 22                                                                        CAROLINA            PR         00983
   679657 JORGE E CANCEL                              URB LA CUMBRE               61 CALLE CORDI LEVA                                                                SAN JUAN            PR         00926
          JORGE E CANDELARIA
   243689 RODRIGUEZ                                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679658 JORGE E CAPELLA                             URB MARBELLA                B 10 CALLE CIRCULO                                                                 AGUADILLA           PR         00603

   243690 JORGE E CARRANZA QUIPUZCO                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   243691 JORGE E CHAVERRA BARAHONA REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679661 JORGE E CIFREDO SOTO      URB VISTA BELLA                               CALLE 3 C 15                                                                       BAYAMON             PR         00956

   243692 JORGE E COLOMER HERNANDEZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243693 JORGE E COLON JORDAN                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JORGE E COLON/ JANETTE R
   243694 SIMONETTI                                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243695 JORGE E CRUZ SANCHEZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679662 JORGE E DECLET CRESPO                       PO BOX 9021112                                                                                                 SAN JUAN            PR         00902‐1112
   679663 JORGE E DIAZ                                MANSION DE NORTE            NG 6 BUSTAMANTE                                                                    TOA BAJA            PR         00949
   243696 JORGE E GARAYUA DE JESUS                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243698 JORGE E GONZALEZ BOU                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679665 JORGE E GONZALEZ GALLOZA                    SECTOR LOMA SANTA 34                                                                                           ISABELA             PR         00662
   679666 JORGE E GUEVARA SOLIS                       URB BELLO MONTE             O 5 CALLE 5A                                                                       GUAYNABO            PR         00969
   679667 JORGE E HUYKE                               URB MONTERREY               242 HIMALAYA ST                                                                    SAN JUAN            PR         00926 1414
   679668 JORGE E LA TORRE TORRES                     MANSIONES SAN RAFAEL        C 12 CALLE RUBI                                                                    TRUJILLO ALTO       PR         00976
   679669 JORGE E LANDRON NEGRON                      URB EL CONQUISTADOR         E 30 CALLE 7                                                                       TRUJILLO ALTO       PR         00976
   243700 JORGE E LIBOY COLON                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243702 JORGE E LUGO COLON                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243703 JORGE E LUGO RODRIGUEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   243704 JORGE E MALDONADO ALGARIN                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243705 JORGE E MARRERO DELGADO                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679670 JORGE E MARTINEZ LANDRON                    PO BOX 192938                                                                                                  SAN JUAN            PR         00919‐2938
   243706 JORGE E MATEO ALLENDE                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   679671 JORGE E MIRO DETRES                         60 CALLE LORCA URB BELMONTE                                                                                    MAYAGUEZ            PR         00680
   243707 JORGE E MORALES QUINONES                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679673 JORGE E ORTIZ SANTIAGO                      CAMPANILLAS                 387 A CALLE FORTALEZA                                                              TOA BAJA            PR         00949‐3771
   243708 JORGE E PANZARDI ACEVEDO                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243709 JORGE E PASARELL                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679674 JORGE E PIMENTEL                            305 MANUEL PEREZ ANDEZ                                                                                         ARECIBO             PR         00612
   243710 JORGE E PORTO PINEIRO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243713 JORGE E QUINONES RAMOS                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243714 JORGE E RAMOS MORA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679676 JORGE E RIVERA JIMENEZ                      PO BOX 195375                                                                                                  SAN JUAN            PR         00919‐5375



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          JORGE E RIVERA JIMENEZ
   679677 SEGUROS Y FIANZA                            P O BOX 195375                                                                                                      SAN JUAN            PR           00919‐5375
   679678 JORGE E RIVERA LOPEZ                        P O BOX 194982                                                                                                      SAN JUAN            PR           00919‐4982
   679679 JORGE E RIVERA ORTIZ                        PO BOX 1845                                                                                                         MANATI              PR           00674
   243718 JORGE E RIVERA RIVERA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679682 JORGE E RIVERA ROMERO                       URB CASTELLANA GARDENS       E‐12 CALLE 5                                                                           CAROLINA            PR           00983
   243719 JORGE E RIVERO JIMENEZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679683 JORGE E RODRIGUEZ                           PO BOX 193834                                                                                                       SAN JUAN            PR           00919‐3834
          JORGE E RODRIGUEZ Y GISELA
   243720 RIVERA                                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679684 JORGE E ROSADO SANCHEZ                      URB LEVITTOWN 1093           PASEO DAMASCO                                                                          TOA BAJA            PR           00949
   243721 JORGE E ROSARIO GONZALEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679686 JORGE E RUIZ ROMAN                          232 AVE ELEONOR ROOSEVELT                                                                                           SAN JUAN            PR           00907

   679687 JORGE E RUIZ SAEZ                           18 CHALETS DE SAN FERNANDO   APT 1808                                                                               CAROLINA            PR           00987
   679688 JORGE E SALIVA GONZALEZ                     HC 01 BOX 1128                                                                                                      BOQUERON            PR           00662

   679689 JORGE E SANTIAGO MARRERO                    HC 01 BOX 3741                                                                                                      VILLALBA            PR           00766
   243722 JORGE E SERRANO COLON                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679690 JORGE E TORRES PEREZ                        P O BOX 561216                                                                                                      GUAYANILLA          PR           00656
   243724 JORGE E VAZQUEZ VAZQUEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243725 JORGE E VELEZ RAMIREZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679364 JORGE E VICENTY ALVAREZ                     URB LAS COLINAS              N 20 CALLE 15                                                                          TOA BAJA            PR           00949
   679692 JORGE E. BAUCAGE                            HC 2 BOX 18765                                                                                                      SAN SEBASTIAN       PR           00685

   679693 JORGE E. MORALES MONTAÑEZ                   HP ‐ SALA CCEP                                                                                                      RIO PIEDRAS         PR           009360000
   243726 JORGE E. ORTIZ SANTIAGO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243727 JORGE E. ROLDAN FLORES                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679695 JORGE E. ROSARIO RESTO                      HC 01 BOX 8821                                                                                                      AGUAS BUENAS        PR           00703
   679696 JORGE ECHEVARIA LUGO                        HC 10 BOX E 20                                                                                                      SABANA GRANDE       PR           00631
   679697 JORGE EDGARDO DIAZ                          URB VENUS GARDENS            670 CALLE OBREGON                                                                      SAN JUAN            PR           00926
   243728 JORGE ENRIQUE PEREZ RUIZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679698 JORGE ENRIQUE RIBET MASSOLA CALLE 31 LL 29 INTERIOR                      ALTURAS DE FLAMBOYAN                                                                   BAYAMON             PR           00959
   679699 JORGE ESCOBAR COLON         URB LAS GARDENIAS                            16 CALLE ROSA                                                                          MANATI              PR           00674
   679700 JORGE ESCOBAR MARTINEZ      334 EXT PUNTA PALMAS                                                                                                                BARCELONETA         PR           00617
   243729 JORGE ESCRIBANO ROSSY       REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243731 JORGE ESPARRA               REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243732 JORGE ESQUI GONZALEZ        REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679702 JORGE ESTARELLA             PO BOX 363589                                                                                                                       SAN JUAN            PR           00936‐2589
   679704 JORGE ESTEVES               HC 1 BOX 5181                                                                                                                       AGUADILLA           PR           00603
   679705 JORGE ESTRADA RIVERA        COUNTRY CLUB                                 897 CALLE HALCON                                                                       SAN JUAN            PR           00924
          JORGE ESTRELLA Y/O JUAN
   243733 ESTRELLA                    REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243734 JORGE F ALONZO              REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679706 JORGE F ARMADA SANCHEZ      PO BOX 855                                                                                                                          COROZAL             PR           00783
   243735 JORGE F BIRD SERRANO        REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679709 JORGE F CURBELO HERNANDEZ                   URB CAMPO LAGO                                      40                                                              CIDRA               PR           00739

   679710 JORGE F FUENTES RODRIGUEZ                   RES DR VICTOR BERRIOS        EDIF 10 APT 74                                                                         YABUCOA             PR           00767




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          JORGE F HERNANDEZ
   679712 RODRIGUEZ                                   P O BOX 821                                                                                                     CEIBA               PR           00735821
          JORGE F LUCIANO / MAGALY
   243736 ORTIZ CORDERO                               REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243737 JORGE F MALAVE BURGOS                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243738 JORGE F MORALES BARRIS                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679713 JORGE F MU¥OZ BIBILONI                      PARQUE MONTERREY I APT. 402 CALLE MONTERREY 110                                                                 PONCE               PR           00717
   243739 JORGE F MUNIZ SOLER                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243740 JORGE F MUNOZ BABILONI                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679714 JORGE F NEGRON MARTIN                       LITHEDA HEIGHTS             564 ELIOT                                                                           SAN JUAN            PR           00926
   679716 JORGE F REXACH FACUNDO                      PO BOX 9021112                                                                                                  SAN JUAN            PR           00902‐1112
   679718 JORGE F ROSADO NEGRON                       P O BOX 139                                                                                                     VILLALBA            PR           00766
   243741 JORGE F SALCEDO CANTO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679719 JORGE F VELAZQUEZ REYES                     P O BOX 1303                                                                                                    AGUAS BUENAS        PR           00703
   679720 JORGE F. ORTIZ CAMACHO                      65TH INFANTERIA STATION     PO BOX 30872                                                                        SAN JUAN            PR           00929
   243742 JORGE FABREGAS ALVAREZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679721 JORGE FADRELL ESTEVES                       PO BOX 562                                                                                                      HATILLO             PR           00659
   243743 JORGE FELICES VARGAS                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679722 JORGE FELICIANO RIVERA                      RR2 BUZON 8335                                                                                                  MANATI              PR           00674
   679724 JORGE FERNANDEZ                             PO BOX 360892                                                                                                   SAN JUAN            PR           00936‐0892
   243745 JORGE FERNANDEZ AVILES                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679725 JORGE FERNANDEZ LASERNA                     PO BOX 506                                                                                                      SAN JUAN            PR           00919
   679726 JORGE FERNANDEZ PORTO                       URB PUNTA LAS MARIA         4 CALLE HISTELLA                                                                    SAN JUAN            PR           00913
   679728 JORGE FERRA FERNANDEZ                       530 AVE DE LA CONTITUCION                                                                                       SAN JUAN            PR           00901
   679729 JORGE FERRER ASENCIO                        PO BOX 628                                                                                                      CABO ROJO           PR           00623
   243747 JORGE FERRER MARTINEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679730 JORGE FIGUEREDO RESTO                       VILLAS DE RIO GRANDE        E 7 CALLE JULIO MILLAN                                                              RIO GRANDE          PR           00745
   679732 JORGE FLAMAND                               URB VILLAS DEL RIO          CALLE 15 D 36                                                                       BAYAMàN             PR           000959
   243750 JORGE FLORES FLORES                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243751 JORGE FLORES PAGAN                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243752 JORGE FLORES VILAR MD, LUIS                 REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243753 JORGE FONTANEZ CAMUÐAS                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243754 JORGE FONTANEZ CAMUNAS                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679734 JORGE FORTI BALLESTER                       MAR AZUL                     G 27 CALLE 6                                                                       HATILLO             PR           00659
                                                                                   COMMERCIAL CENTER
   679735 JORGE FOURNIER                              PLAZA CAPARRA OFIC 201       MANAGEMENT                                                                         SAN JUAN            PR           00968

   243755 JORGE FRANCISCO ASAD CESANI                 REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JORGE FRANCISCO GONZALEZ
   243756 TORRES                                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679736 JORGE FREYRE FOREST                         URB ALT DE TORRIMAR          3 5 CALLE 1                                                                        GUAYNABO            PR           00969
   679738 JORGE FUENTES MEDINA                        HC 2 BOX 32804                                                                                                  CAGUAS              PR           00725‐9413
   243758 JORGE G ARROYO SANTIAGO                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243759 JORGE G CHEVERES SANTOS                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679739 JORGE G CRUZ VALLEJO                        2DA SECCION LEVITTOWN        2008 PASEO AZALEA                                                                  TOA BAJA            PR           00949
   243760 JORGE G CUZA SALINAS                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243761 JORGE G GARCIA CARRION                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679740 JORGE G LADKANI COLDERO                     COND MONTE SUR               APT 525                                                                            SAN JUAN            PR           00918
   243762 JORGE G LOPEZ ALBARRAN                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243763 JORGE G MEDINA PARRILLA                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   243764 JORGE G MORALES GONZALEZ                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243765 JORGE G RAMOS PANTOJA                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JORGE G RIVERA / INDIABEL
   243766 GONZALEZ                                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243768 JORGE G ROBLES RODRIGUEZ                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243769 JORGE G VENCE VALLE                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JORGE G. MARTINEZ
   679743 DOMINGUEZ                                   VILLA ASTURIAS             26‐20 CALLE 35                                                                           CAROLINA            PR         00983
   243771 JORGE G. MINA BARBUTO                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243772 JORGE G. MORALES GONZAEZ                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   243773 JORGE GABRIEL BAEZ SERRANO                  REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   243774 JORGE GAGO PINERO                           REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   243775 JORGE GALARZA HERNANDEZ                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   243777 JORGE GALLARDO ORTIZ                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   243778 JORGE GANDIA PAGAN                          REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   243779 JORGE GARCIA                                REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   679747 JORGE GARCIA APONTE                         BO CAIMITO                 RR 3 BUZON 4`286                                                                         RIO PIEDRAS         PR       00928
   243783 JORGE GARCIA BARBOSA                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   243784 JORGE GARCIA CARRION                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   679748 JORGE GARCIA CUILAN                         BO CAPETILLO               1002 CALLE 13                                                                            SAN JUAN            PR       00923
   679749 JORGE GARCIA DAVILA                         PO BOX 11426                                                                                                        SAN JUAN            PR       00910
   679750 JORGE GARCIA ESTRADA                        URB TOWN PARK              D 28 CALLE TREBI                                                                         SAN JUAN            PR       00924
   243785 JORGE GARCIA FELICIANO                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   679751 JORGE GARCIA FIGUEROA                       URB VERDE MAR 893          CALLE 36                                                                                 HUMACAO             PR       00791
   679752 JORGE GARCIA GARCIA                         PO BOX 334503                                                                                                       PONCE               PR       00733
   679753 JORGE GARCIA MARTINEZ                       P O BOX 50104                                                                                                       TOA BAJA            PR       00950
   679754 JORGE GARCIA MELENDEZ                       URB SANTA MARIA            C 11 CALLE 2                                                                             CEIBA               PR       00735
   679755 JORGE GARCIA RIVERA                         HC 2 BOX 30045                                                                                                      CAGUAS              PR       00725
   679756 JORGE GARCIA ROMAN                          URB LOS ROSALES II         AVE 9‐7                                                                                  MANATI              PR       00674
   243786 JORGE GARCIA RONDON                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   679758 JORGE GARCIA RUIZ                           HC 03 BOX 3170                                                                                                      HATILLO             PR       00659
   679759 JORGE GARCIA VALENTIN                       RES COLINAS DE MAGNOLIAS   69 CALLE 5                                                                               JUNCOS              PR       00777
   679760 JORGE GARIB BAZAN                           VISTAMAR MARINA ESTE       E12 CALLE MALAG                                                                          CAROLINA            PR       00983
   679761 JORGE GAUTIER RIVERA                        P O BOX 9382                                                                                                        CAGUAS              PR       00726‐9382
   243792 JORGE GELPI PAGAN                           REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   679762 JORGE GERENA BOSQUE                         HC 02 BOX 7843 1                                                                                                    CAMUY               PR       00627
   679763 JORGE GIL                                   PO BOX 20966                                                                                                        SAN JUAN            PR       00910
          JORGE GOMEZ DBA JM
   243796 DISTRIBUTOR & MORE                          URB MONTECASINO            447 CALLE CEDRO                                                                          TOA ALTA            PR         00953
   679764 JORGE GOMEZ DE LA CRUZ                      PO BOX 2390                                                                                                         SAN JUAN            PR         00919
   679765 JORGE GOMEZ ESMURRIA                        PO BOX 7126                                                                                                         PONCE               PR         00732
   679766 JORGE GOMEZ RIVERA                          MINILLAS STATION           P OBOX 41269                                                                             SAN JUAN            PR         00940‐1269
   679767 JORGE GONZALEZ                              P O BOX 9021112                                                                                                     SAN JUAN            PR         00902‐1112
   679768 JORGE GONZALEZ ACEVEDO                      HC 4 BOX 47679                                                                                                      CAGUAS              PR         00726
   243798 JORGE GONZALEZ DE JESUS                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   679770 JORGE GONZALEZ ECHEVARRIA                   ENSENADA                   BOX 103 C/ ROBERTO CLEMENTE                                                              GUANICA             PR         00647
   679771 JORGE GONZALEZ FERNOS                       PO BOX 194153                                                                                                       SAN JUAN            PR         00919‐4153
   243799 JORGE GONZALEZ FIGUEROA                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243800 JORGE GONZALEZ GONZALEZ                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   243802 JORGE GONZALEZ ORTIZ                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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   679365 JORGE GONZALEZ REYES                        URB JARDINES DE CAYEY      2 A 11 CALLE PASEO DE LA ROSA                                                              CAYEY               PR           00736
   679773 JORGE GONZALEZ ROJAS                        BOX 1441                                                                                                              JUANA DIAZ          PR           00795
   679774 JORGE GONZALEZ RUIZ                         PO BOX 142201                                                                                                         ARECIBO             PR           00614
   679775 JORGE GONZALEZ SOLER                        RES LAS MARGARITAS         EDIF 11 APT 414                                                                            SAN JUAN            PR           00918
   243803 JORGE GONZALEZ TOSADO                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243804 JORGE GONZALEZ VILLANUEVA                   REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679777 JORGE GORDON MENENDEZ                       P O BOX 9023287                                                                                                       SAN JUAN            PR           00902‐3287
   679779 JORGE GORDON PADILLA                        5221 CARACOLESALMEJA                                                                                                  PONCE               PR           00717‐1454
          JORGE GREGORIO NEGRON
   243806 POLANCO                                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243807 JORGE GRILLASCA PALOU                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243808 JORGE GUADALUPE CRUZADO                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679783 JORGE GUADALUPE MERCED                      COND TORRE DE TOKIO        APT 209                                                                                    CAGUAS              PR           00725
          JORGE GUILLERMETY
   679784 GULLERMETY                                  URB CROWN HLS              136 CALLE CARITE                                                                           SAN JUAN            PR           00926
   679785 JORGE GUZMAN                                PO BOX 176                                                                                                            COROZAL             PR           00783
   679786 JORGE GUZMAN DIAZ                           RR 5 730 BOX 8193                                                                                                     BAYAMON             PR           00956
   679787 JORGE GUZMAN LEBRON                         BOX 60075                                                                                                             BAYAMON             PR           00960
   679788 JORGE GUZMAN PEREZ                          URB VICTORIA               CALLE C 31                                                                                 AGUADILLA           PR           00603
   679789 JORGE GUZMAN TORRES                         COND WINDSOR TOWER         410 CALLE DE DIEGO APT 303                                                                 SAN JUAN            PR           00923
   679792 JORGE H ACEVEDO MARTINEZ                    URB VENUS GARDENS NORTE    1683 CALLE OBREGON                                                                         SAN JUAN            PR           00926
   679793 JORGE H ACEVEDO MENDEZ                      CAMARA DE REPRESENTANTE                                                                                               SAN JUAN            PR           00902
   679794 JORGE H ACOSTA SOTO                         1123 E PARK AVE VINELAND                                                                                              NEW JERSEY          NJ           08360
   243813 JORGE H BOSQUES VARGAS                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679795 JORGE H CABEZUDO CANALS                     VILLA MARINA               APT 97‐A CALLE 7                                                                           GURABO              PR           00778
   679796 JORGE H CABEZUDO PEREZ                      HC 02 BOX 12278                                                                                                       GURABO              PR           00778
   243815 JORGE H CRUZ TORRES                         REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243816 JORGE H GUEVARA PEREZ                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679790 JORGE H GUTIERREZ CAMACHO                   P O BOX 330003                                                                                                        PONCE               PR           00733‐0003
          JORGE H GUTIERREZ
   679798 DORRINGTON                                  PO BOX 330069                                                                                                         PONCE               PR           00733‐0069
   679799 JORGE H ONDINA GORDO                        URB COUNTRY CLUB           932 CALLE ZAIDA                                                                            SAN JUAN            PR           00924

   243820 JORGE H RODRIGUEZ QUINONEZ                  REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679800 JORGE H RUBERT RAMOS                        23 CALLE HOSPITAL                                                                                                     UTUADO              PR           00641
   243821 JORGE H VELAZQUEZ DIAZ                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679791 JORGE H VELEZ JUARBE                        PMB 89 P O BOX 6007                                                                                                   CAROLINA            PR           00984
   679801 JORGE H. FRATICELLI                         PO BOX 10163                                                                                                          SAN JUAN            PR           00908
   679802 JORGE H. RIVERA FERNANDEZ                   PO BOX 2838                                                                                                           BAYAMON             PR           00960
   243822 JORGE H.JEREZ VAZQUEZ                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243823 JORGE HEREDIA CRUZ                          REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679804 JORGE HERMIDA CELA                          URB VALLE DEL LAGO         1011 CALLE CARRAIZO                                                                        CAGUAS              PR           00725
   243824 JORGE HERNANDEZ                             REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243826 JORGE HERNANDEZ BERRIO                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679806 Jorge Hernandez Bonilla                     9 Calle Emilio Castelar                                                                                               Arecibo             PR           00612‐4425
   679807 JORGE HERNANDEZ BURGOS                      PO BOX 164                                                                                                            NARANJITO           PR           00719

   679808 JORGE HERNANDEZ CARRERAS                    VILLA CONTESA              B 16 CALLE NAVARRA                                                                         BAYAMON             PR           00956
          JORGE HERNANDEZ
   679809 COMCEPCION                                  NINFA DEL MAR              A‐3                                                                                        DORADO              PR           00646



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  679810 JORGE HERNANDEZ COSME                        100 VILLAS DE MONTEREY     APARTADO 250                                                                          BAYAMON             PR         00957‐3907
  243827 JORGE HERNANDEZ DE LEON                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JORGE HERNANDEZ HHHC ALFA
  679811 RESEARCH & DEV                               7 CALLE JUVENTUD                                                                                                 CAGUAS              PR         00727‐2379

   243828 JORGE HERNANDEZ MAIZONET                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679812 JORGE HERNANDEZ MEDINA                      HC 01 BOX 54325                                                                                                  CAMUY               PR         00627
   243829 JORGE HERNANDEZ ORTEGA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679813 JORGE HERNANDEZ ORTIZ                       PO BOX 618                                                                                                       MANATI              PR         00674
          JORGE HERNANDEZ
   679814 RERFIGERATION                               NO 9 EMILIO CASTELLAR      303 CALLE M PEREZ AVILES                                                              ARECIBO             PR         00612
   243830 JORGE HERNANDEZ TORRES                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679816 JORGE HEYLIGER CRUZ                         URB VILLA CAROLINA         86‐9 CALLE 69                                                                         CAROLINA            PR         00985
          JORGE HOMAR RIVERA
   243833 SANTIAGO                                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243834 JORGE HURTADO ZAMORANO                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679818 JORGE I AGOSTO RODRIGUEZ                    HC 02 BOX 9180                                                                                                   COROZAL             PR         00783‐9708
   243835 JORGE I ALCOBA ROSADO                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243836 JORGE I ALICEA COLON                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243837 JORGE I ALONSO RODRIGUEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679819 JORGE I AMADOR TOLEDO                       HC 5 BOX 18503                                                                                                   ARECIBO             PR         00612
          JORGE I ARMENTEROS
   243839 RODRIGUEZ                                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679820 JORGE I BURGOS ORTIZ                        PO BOX 150                                                                                                       OROCOVIS            PR         00720
   243840 JORGE I CAJIGAS VAZQUEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243842 JORGE I CRUZ ORTIZ                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679821 JORGE I DELGADO                             HC 2 BOX 6279                                                                                                    FLORIDA             PR         00650
   243844 JORGE I FELIX RODRIGUEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243845 JORGE I GARCIA RIVERA                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243846 JORGE I GAVIRIA LONDONO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243847 JORGE I HERNANDEZ REYES                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243848 JORGE I JIMENEZ IRIZARRY                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243849 JORGE I JIMENEZ RAMIREZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243850 JORGE I LUGO OJEDA                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679824 JORGE I MALDONADO RIVERA                    PO BOX 2688                                                                                                      GUAYNABO            PR         00970
   243851 JORGE I MARTINEZ LUCIANO                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243852 JORGE I MARTINEZ PEREZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679825 JORGE I MEDIANA RIVERA                      HC 3 BOX 5526                                                                                                    HUMACAO             PR         00791‐9502
   243853 JORGE I MELENDEZ MILLAN                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      872 CALLE GUAMANI PUERTO
   679826 JORGE I PADILLA RAMOS                       REAL                                                                                                             CABO ROJO           PR         00623
   679827 JORGE I PAGAN                               VIETNAM                    13 CALLE B                                                                            GUAYNABO            PR         00965
   243855 JORGE I PEREZ GONZALEZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243856 JORGE I PEREZ VERA                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679828 JORGE I QUILES ALERS                        BDA GANDARA                21 CALLE 2                                                                            PONCE               PR         00730‐2345
   243857 JORGE I RAMIREZ MALAVE                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243858 JORGE I RAMIREZ RAMIREZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243859 JORGE I RIVAS SEPULVEDA                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   243860 JORGE I RODRIGUEZ FELICIANO                 REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679830 JORGE I RUIZ SERRANO                        P O BOX 41                                                                                                       SAN SEBASTIAN       PR         00685
   679831 JORGE I SANABRIA BRACERO                    HC 1 BOX 25143                                                                                                   CABO ROJO           PR         00623




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   243862 JORGE I SANTIAGO RODRIGUEZ                  REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679832 JORGE I SUAREZ CACERES                      URB JARDIN DEL ESTE           21 CALLE OLIVO                                                                      NAGUABO             PR           00718
   243864 JORGE I TIRADO GONZALEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243865 JORGE I VAZQUEZ NOLASCO                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243866 JORGE I VELEZ NIEVES                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679834 JORGE I. BATIZ                              URB. SANTA TERESITA           B N‐18 CALLE C                                                                      PONCE               PR           00731
   243868 JORGE I. LUGO OJEDA                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679835 JORGE I. MARRERO ALAMO                      PO BOX 1384                                                                                                       GUAYNABO            PR           00965
   243869 JORGE I. MENDEZ VELEZ                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243870 JORGE I. RIVERA CLASS                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243871 JORGE INCLÁN MC CONNIE                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243873 JORGE IRIZARRY GORDILS                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679838 JORGE IRIZARRY IRIZARRY                     BO EL TUQUE                   55 CALLE 1                                                                          PONCE               PR           00731
                                                      243 CALLE PARIS SUITE 1702‐
   679839 JORGE IRIZARRY MEDINA                       3632                                                                                                              SAN JUAN            PR           00917

   243874 JORGE ISAAC ALVIRA SANTIAGO                 REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679840 JORGE ITHIER PIZA                           JARD DEL CARIBE               127 C/ 17                                                                           PONCE               PR           00728
   679841 JORGE IVAN BURGOS ORTIZ                     PO BOX 150                                                                                                        OROCOVIS            PR           00720
          JORGE IVAN MENDOZA
   243875 GONZALEZ                                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679842 JORGE IVAN RODRIGUEZ                        URB ARBOLADA                  I 4 CALLE GRANADILLO                                                                CAGUAS              PR           00727

   679843 JORGE IZQUIERDO ALAVARADO                   PO BOX 1505                                                                                                       JUANA DIAZ          PR           00795
   243876 JORGE J AMADEO LOPEZ                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679844 JORGE J ANTONETTY DIAZ                      PO BOX 603                                                                                                        JUNCOS              PR           00777
   679846 JORGE J CARLO MONTALVO                      URB TOA ALTA HEIGHTS          AR 4 CALLE 36                                                                       TOA ALTA            PR           00953
   679847 JORGE J COLBERG TORO                        MC 54 PARQUE DEL MONTE                                                                                            TRUJILLO ALTO       PR           00922
   679849 JORGE J COLOMER                             MONTE REAL 19 D                                                                                                   SAN JUAN            PR           00936
   679850 JORGE J CRESPO COTTO                        C F U 10 URB EL ROSARIO II                                                                                        VEGA BAJA           PR           00693
   243878 JORGE J CRUZ CRUZ                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243879 JORGE J DAVILA LONNEMANN                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679851 JORGE J DIAZ LOPEZ                          HC 01 BOX 6337                                                                                                    GUAYNABO            PR           00971
   243880 JORGE J ESQUILIN CAMPOS                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243881 JORGE J FELIX RODRIGUEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679852 JORGE J FERREIRA VIERA                      COND EL ESCORIAL 111 AVE      FD ROOSEVELT APT 18‐A                                                               SAN JUAN            PR           00917
   243882 JORGE J FIGUEROA FLORES                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243883 JORGE J GALARZA PEREZ                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243884 JORGE J GIRONA MOLINA                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243885 JORGE J GONZALEZ CENTENO                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679853 JORGE J GUSTIN PAGAN                        P O BOX 3091                                                                                                      AGUADILLA           PR           00605
   243886 JORGE J HERNANDEZ ORTIZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243888 JORGE J MANFREDI RIVERA                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243889 JORGE J MARTINEZ GONZALEZ                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679855 JORGE J MARXUACH RODRIGUEZ URB AMPLIACION ALTO APOLO                      N 7 CALLE C                                                                         GUAYNABO            PR           00969
          JORGE J NOGUERAS / CASILLAS
   679856 DBA                         P O BOX 6047                                                                                                                      MAYAGUEZ            PR           00681‐6047
   679858 JORGE J PEREZ MORALES       BO BAJADERO                                   16 CALLE ARANA                                                                      LARES               PR           00669
   679859 JORGE J PUIG JORDAN         PO BOX 362976                                                                                                                     SAN JUAN            PR           00936‐2976
   243891 JORGE J RAMOS TORRES        REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  243892 JORGE J RIVERA TORRES                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  243893 JORGE J RODRIGUEZ                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  679861 JORGE J SANTANA NEVAREZ                      BOX 682                                                                                                             COROZAL             PR         00783
  679862 JORGE J SANTIAGO VAZQUEZ                     HC 02 BOX 3556                                                                                                      PONCE               PR         00731
  243895 JORGE J SANTOS MOLINA                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  243896 JORGE J SOTO MIRANDA                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JORGE J VALENZUELA
  243897 HERNANDEZ                                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  679863 JORGE J VARGAS                               MIRAMAR TOWER APT 6 E        CALLE HERNANDEZ                                                                        SAN JUAN            PR         00907
  679864 JORGE J VELEZ VARGAS                         HC 2 BOX 6948                                                                                                       JAYUYA              PR         00650
  243898 JORGE J. CRUZ DE JESUS                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   243902 JORGE J. MARRERO FIGUEROA                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679867 JORGE JANER GARCIA                          PO BOX 404                                                                                                          MANATI              PR         00674
   679868 JORGE JANER SANTANA                         VILLA PALMERAS               410 CALLE MORELL CAMPOS                                                                SAN JUAN            PR         00915‐4303

   243903 JORGE JAVIER FIGUEROA FLORES REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243904 JORGE JAVIER PORFIL CRUZ     REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JORGE JAVIER ZAPATA
   243905 RODRIGUEZ                    REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679869 JORGE JIMENEZ ALICEA         URB BAYAMON GARDENS                         L 11 CALLE 15                                                                          BAYAMON             PR         00957‐0000
   679870 JORGE JIMENEZ CASILLAS       QUINTAS DE CANOVANAS                        547 CALLE 5                                                                            CANOVANAS           PR         00729
   243906 JORGE JIMENEZ RIVERA         REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243907 JORGE JIMENEZ SANCHEZ        REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679871 JORGE JORDAN RIVERA          URB EL PLANTIO                              A 164 CALLE VILLA HICACOS                                                              TOA BAJA            PR         00949
   679872 JORGE JOSUE PEREZ RAMIREZ    COMUNIDAD SAN FELIPE                        25 CALLE EMILIO CASTRO                                                                 LARES               PR         00669

   243908 JORGE JOSUE ROSAS CASTILLO                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JORGE JUAN MALDONADO
   679873 JIMENEZ                                     PO BOX 10804                                                                                                        SAVANNAH            GA         31412‐1004
   243909 JORGE JUNCO GALLETTI                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679882 JORGE L ABRAHAM JIMENEZ                     HC 1 BOX 6452                                                                                                       CAMUY               PR         00627
   679883 JORGE L ACEVEDO OCASIO                      PO BOX 1871                                                                                                         LARES               PR         00669
   243911 JORGE L AGOSTO AGOSTO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243912 JORGE L AGOSTO NOGUE                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243913 JORGE L ALDEA PIETRI                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   679884 JORGE L ALEMAN BIGIO                        URB INTERAMERICANA GARDENS APT A 3 EDIF A 10                                                                        SAN JUAN            PR         00926
   243914 JORGE L ALIER LOPEZ                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679874 JORGE L ALLENDE FUENTES                     URB REXVILLE C7 F3                                                                                                  BAYAMON             PR         00957

   243915 JORGE L ALMODOVAR LUCENA                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679886 JORGE L ALOMAR COLON                        P O BOX 1084                                                                                                        SALINAS             PR         00751‐0774

   679887 JORGE L ALSINA LETOURNEAUT                  V 12 CALLE CORAL             LOMAS VERDE                                                                            BAYAMON             PR         00956

   679888 JORGE L ALVARADO CARABALLO                  BDA GUAYDIA                  161 CALLE JUAN ARZOLA                                                                  GUAYANILLA          PR         00656
   679890 JORGE L ALVAREZ CASTRO                      P O BOX 438                                                                                                         FAJARDO             PR         00738
   679892 JORGE L ANDUJAR RIVERA                      PO BOX 727                                                                                                          JAYUYA              PR         00664
   243916 JORGE L ANIBARRO SOTO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243917 JORGE L APONTE ARROYO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243918 JORGE L APONTE ORTIZ`                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   243919 JORGE L AQUINO NUNEZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  243920 JORGE L AQUIRRE PAGAN                        REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  243922 JORGE L ARROYO HATCH                         REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  679893 JORGE L AVILES RODRIGUEZ                     HC 02 BOX 6323                                                                                                          BARRANQUITAS      PR         00794
  679894 JORGE L AVILES SERRANO                       URB LEVITOWN LAKES              HM 43 CALLE RAMON MORLA                                                                 TOA BAJA          PR         00947‐3747
  243924 JORGE L BACO MATOS                           REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  679895 JORGE L BAERGA AGUIRRE                       PO BOX 9021112                                                                                                          SAN JUAN          PR         00902‐1112
  679896 JORGE L BAEZ                                 PO BOX 32192                                                                                                            PONCE             PR         00732‐2192
  679897 JORGE L BAEZ FIGUEROA                        HC 764 BOX 8381                                                                                                         PATILLAS          PR         00723
  243925 JORGE L BAEZ LUCIANO                         REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  243926 JORGE L BAEZ MORALES                         REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  679899 JORGE L BAEZ TORRES                          P O BOX 427                                                                                                             YAUCO             PR         00698
  679900 JORGE L BARRETO BOSQUE                       HC 2 BOX 18888                                                                                                          SAN SEBASTIAN     PR         00685
         JORGE L BAUERMEISTER
  679902 MARRERO                                      202 A CALLE SAN JUSTO PMB 107                                                                                           SAN JUAN          PR         00901

   243927 JORGE L BECERRIL RODRIGUEZ                  REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243928 JORGE L BELLIDO LOPEZ                       REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   679903 JORGE L BERNAL RAMIREZ                      URB LOS MAESTROS                8590 CALLE MARTIN CORCHADO                                                              PONCE             PR         00717‐0245
   679904 JORGE L BERRIOS GARCIA                      PMB 25 PO BOX 2020                                                                                                      BARCELONETA       PR         00617
   679905 JORGE L BERRIOS NEGRON                      URB CAGUAX                      K 25 CALLE YOCAHU                                                                       CAGUAS            PR         00725
   679906 JORGE L BERRIOS PEREZ                       EXT VILLA DE LOIZA              GG1 CALLE 43                                                                            CANOVANAS         PR         00729
   679907 JORGE L BERRIOS RIVERA                      URB. REXVILLE                   L‐1 CALLE 9                                                                             BAYAMON           PR         00957
   679908 JORGE L BEYLEY PAGAN                        REPARTO METROPOLITANO           SE 888 CALLE 13                                                                         SAN JUAN          PR         00921
   243929 JORGE L BOBADILLA ESPINAL                   REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679909 JORGE L BONILLA                             HC 1 BOX 4004                                                                                                           VILLALBA          PR         00766

   679910 JORGE L BONILLA CANDELARIA  BOX 622                                                                                                                                 AGUADA            PR         00602
   243930 JORGE L BONILLA RODRIGUEZ   REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679912 JORGE L BRACERO CASTILLO    REPARTO VALENCIA                                F 43 CALLE AMAPOLA                                                                      BAYAMON           PR         00959
   679913 JORGE L BRUNO DUARTE        URB CAPARRA TERRACE                             1253 CALLE 4 SE                                                                         SAN JUAN          PR         00921
   679914 JORGE L BUONOMI DAVILA      PO BOX 402                                                                                                                              GURABO            PR         00778
   243933 JORGE L BURGOS CARDONA      REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243934 JORGE L CALDERON SERRANO    REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243935 JORGE L CAMACHO             REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243936 JORGE L CAMACHO SEIJO       REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679916 JORGE L CAMPOS              RES JARD DE TRUJILLO ALTO                       EDIF F APTO 706                                                                         TRUJILLO ALTO     PR         00976
                                      BONEVILLE HEIGTHS C‐12 CALLE
   679917 JORGE L CANDELARIA SANTIAGO 2                                                                                                                                       CAGUAS            PR         00725
   243937 JORGE L CAPO MATOS          REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243938 JORGE L CARBO VARGAS        REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243939 JORGE L CARDONA BELTRAN     REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243940 JORGE L CARDONA PAGAN       REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243941 JORGE L CARMONA BENITEZ     REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243943 JORGE L CARRASQUILLO        REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679919 JORGE L CARRERA LOPEZ       PO BOX 159                                                                                                                              OROCOVIS          PR         00720
   243944 JORGE L CARRILLO PAGAN      REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679920 JORGE L CARRION VELEZ       HC 01 BOX 7071                                                                                                                          GURABO            PR         00778

   679921 JORGE L CARTAGENA MARCANO                   BDA SAN LUIS                    94 JERUSALEM                                                                            AIBONITO          PR         00705
   679923 JORGE L CASAS                               HC 43 BOX 12087                                                                                                         CAYEY             PR         00736‐9238
   679924 JORGE L CASES RODRIGUEZ                     LOS FRAILES                     C 10 CALLE LOS FRAILES                                                                  GUAYNABO          PR         00969
   679925 JORGE L CASIANO TORRES                      VILLAS DE LEVITTOWN             A18 CALLE 1                                                                             TOA BAJA          PR         00949



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  679926 JORGE L CASTILLO CORREA                      VILLA SANTOS               68 CALLE 3                                                                               LOIZA             PR         00772
  243945 JORGE L CASTRO                               REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  243946 JORGE L CATALA MONGE                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  679928 JORGE L CATALA QUILES                        URB COUNTRY CLUB           GS 62 CALLE 210                                                                          CAROLINA          PR         00982
  243947 JORGE L CEDENO DE JESUS                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  679930 JORGE L CEPEDA RIVERA                        HC 1 BOX 2004                                                                                                       LOIZA             PR         00772
  679931 JORGE L CINTRON                              BO CEDRO ARRIBA            BOX 225                                                                                  NARANJITO         PR         00719
  243948 JORGE L CINTRON CINTRON                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  243949 JORGE L CINTRON TORRES                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  243950 JORGE L CLASS LOPEZ                          REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  679933 JORGE L CLAUDIO AMBERT                       MANSIONES REALES           A 14 PRINCIPE DE ASTURIAS                                                                GUAYNABO          PR         00969
  243951 JORGE L COLLADO ACOSTA                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   679935 JORGE L COLON ARCE                          URB. EL COMANDANTE         933 CALLE CARMEN HERNANDEZ                                                               SAN JUAN          PR         00924
   243952 JORGE L COLON COLON                         REDACTED                   REDACTED                   REDACTED                               REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243953 JORGE L COLON MATEO                         REDACTED                   REDACTED                   REDACTED                               REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243954 JORGE L COLON MULERO                        REDACTED                   REDACTED                   REDACTED                               REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243955 JORGE L COLON NIEVES                        REDACTED                   REDACTED                   REDACTED                               REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679938 JORGE L COLON PEREIRA                       URB BELLA VISTA GARDEN     CALLE 11 G22                                                                             BAYAMON           PR         00957
   243956 JORGE L COLON RIVERA                        REDACTED                   REDACTED                   REDACTED                               REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679940 JORGE L COLON RODRIGUEZ                     HC 01 BOX 5229                                                                                                      CANOVANAS         PR         00729
   243957 JORGE L COLON SOTO                          REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   679941 JORGE L CONCEPCION COLON                    PO BOX 714                                                                                                          COMERIO           PR         00782
   679942 JORGE L CORCHADO COLON                      COM SONUCO                 365 CALLE CIDRA                                                                          ISABELA           PR         00662
   679943 JORGE L CORDERO RAMOS                       HC 3 BOX 30343                                                                                                      HATILLO           PR         00659
   679944 JORGE L CORDERO SOTO                        PO BOX 360447                                                                                                       SAN JUAN          PR         00936
   679945 JORGE L COREANO CRESPO                      P O BOX 193794                                                                                                      SAN JUAN          PR         00919‐3794
   243958 JORGE L CORTES SOTO                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243960 JORGE L COSME LOPEZ                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   679949 JORGE L COTTO PEREZ                         BO BAYAMONCITO             SECTOR PARC CARR 156 INT 73                                                              AGUAS BUENAS      PR         00703
   243961 JORGE L COTTY ARROYO                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243962 JORGE L COUTTO GONZALEZ                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679951 JORGE L CRESPO MANDRY                       HC 763 BOX 3005                                                                                                     PATILLAS          PR         00723
   243964 JORGE L CRUZ ACEVEDO                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243965 JORGE L CRUZ BONANO                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679952 JORGE L CRUZ LOPEZ                          BO DAGUAO ARRIBA           HC 55 BOX 23284                                                                          CEIBA             PR         00735
   243966 JORGE L CRUZ MARTINEZ                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                 CALLE DOLORES 7 AVE
   679956 JORGE L CRUZ RIVERA                         BO OBRERO                  BORINQUEN                                                                                SAN JUAN          PR         00915
   243967 JORGE L DAVILA TORRES                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679957 JORGE L DAVILA VAZQUEZ                      URB BELLOMONTE             E‐17 CALLE 14                                                                            GUAYNABO          PR         00969
   243968 JORGE L DAVILA VELEZ                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243969 JORGE L DE JESUS COLON                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243971 JORGE L DE JESUS DIAZ                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243972 JORGE L DE JESUS GOMEZ                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243973 JORGE L DE JESUS LOPEZ                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243974 JORGE L DE JESUS MARTINEZ                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243975 JORGE L DE JESUS REYES                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   243976 JORGE L DE JESUS SANTIAGO                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679959 JORGE L DELGADO                             URB PASEO DE SAN LORENZO   903 CALLE ESMERALDA                                                                      SAN LORENZO       PR         00754




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   679960 JORGE L DELGADO FORASTIER                   B5 AVE EL CONQUISTADOR                                                                                         FAJARDO             PR           00738‐3715
   679961 JORGE L DELGADO HYLAND                      4 ALTOS CALLE SANTIAGO                                                                                         FAJARDO             PR           00735
   243977 JORGE L DIAZ ALICEA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679962 JORGE L DIAZ BONILLA                        PDM PALMAS REALES I                                                                                            HUMACAO             PR           00791
   679963 JORGE L DIAZ DELGADO                        PO BOX 7126                                                                                                    PONCE               PR           00732
   243978 JORGE L DIAZ DOMINICCI                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679964 JORGE L DIAZ FLORES                         HC 1 BOX 7674                                                                                                  AGUAS BUENAS        PR           00703
   679357 JORGE L DIAZ PADRO                          PO BOX 341                                                                                                     CIALES              PR           00638‐0341
   243979 JORGE L DIAZ PAGAN                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679966 JORGE L DIAZ RUIZ                           PO BOX331091                ATOCHA STATION                                                                     PONCE               PR           00731
   243980 JORGE L DIAZ TORRES                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679968 JORGE L DIAZ VAZQUEZ                        JARDINES DE CAYEY I         BLOQUE A #8                                                                        CAYEY               PR           00736
   679969 JORGE L DIAZ VELEZ                          PO BOX 7126                                                                                                    PONCE               PR           00732

   243982 JORGE L DOMINGUEZ MORALES REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243983 JORGE L DOMINGUEZ ORTIZ   REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243984 JORGE L DOMINGUEZ TRISTANI                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679970 JORGE L DONES CARRASQUILLO                  JARDINES DE PALMAREJO       28 CALLE LL 7                                                                      CANOVANAS           PR           00729
   679972 JORGE L DUMENG MENDEZ                       PO BOX 665                                                                                                     MOCA                PR           00676
          JORGE L ECHEVARRIA
   679973 BONHOMME                                    VENUS GARDENS               1722 CALLE AFRODITA                                                                SAN JUAN            PR           00926
   243985 JORGE L ELGUERA                             REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243986 JORGE L ENCARNACION                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243987 JORGE L ENCARNACION SIACA                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679975 JORGE L ESCRIBANO MEDINA                    PO BOX 361101                                                                                                  SAN JUAN            PR           00936
   679976 JORGE L ESPADA BERNARDI                     URB SAVANNAH REAL           3 CALLE PASEO SEVILLA                                                              SAN LORENZO         PR           00754
   243988 JORGE L ESPADA MUNOZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243989 JORGE L ESPINOSA SANTIAGO                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679977 JORGE L ESTRADA GONZALEZ                    URB JARDINES DE PALMAREJO   HH 4 CALLE 29                                                                      CANOVANAS           PR           00729
          JORGE L ESTRADA
   243990 VARGAS/MAXIMO SOLAR                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243992 JORGE L FALCON                              REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243993 JORGE L FANTAUZZI MARTINEZ                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243994 JORGE L FARINACCI                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243995 JORGE L FERNÁNDEZ DÍAZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679979 JORGE L FERNANDEZ QUI¥ONES URB BELMONTE                                 62 CALLE CORDOVA                                                                   MAYAGUEZ            PR           00680
   243996 JORGE L FERNANDEZ REYES    REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   243997 JORGE L FERNANDEZ RODRIGUEZ REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243998 JORGE L FIGHUEROA RIVERA    REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   243999 JORGE L FIGUEROA            REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   244000 JORGE L FIGUEROA MARTINEZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   679980 JORGE L FIGUEROA PESQUERA                   URB SUMMIT HILLS            1674 CALLE BELEN                                                                   SAN JUAN            PR           00920
   244001 JORGE L FIGUEROA RAMOS                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679981 JORGE L FIGUEROA RIVERA                     P O BOX 969                                                                                                    ADJUNTAS            PR           00705



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  244002 JORGE L FLORES DE JESUS                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  244003 JORGE L FLORES MORALES                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  244005 JORGE L FLORES TORRES                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  679983 JORGE L FUENTES MOLINA                       PO BOX 9179                                                                                                          ARECIBO             PR         00613‐9179

   679984 JORGE L FUENTES RODRIGUEZ                   URB VILLA DEL CARMEN          R 13 CALLE 28                                                                          PONCE               PR         00731
   679985 JORGE L FUENTES SANCHEZ                     URB VERDEMAR                  C 654 CALLE 21                                                                         PUNTA SANTIAGO      PR         00741‐2218

   679986 JORGE L GALARZA RIVERA                      2 B 12 URB VILLA EL ENCANTO                                                                                          JUANA DIAZ          PR         00795
   244007 JORGE L GARCIA ALARRAN                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679987 JORGE L GARCIA BONILLA                      VILLA CAROLINA                BLQ 15 23 CALLE 23                                                                     CAROLINA            PR         00985
   679988 JORGE L GARCIA ESPINOSA                     URB SANTA JUANA               II X‐6 CALLE 8                                                                         CAGUAS              PR         00725
   244009 JORGE L GARCIA MANGUAL                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679991 JORGE L GARCIA ZAYAS                        HC 1 BOX 4266                                                                                                        VILLALBA            PR         00766‐9712
   679992 JORGE L GAVILLAN VAZQUEZ                    BRISAS DEL PARQUE II          F 4 CALLE SAN ANTONIO                                                                  CAGUAS              PR         00725

   679993 JORGE L GERENA MENDEZ                       PMB 256‐2135 CARR.2 SUITE‐15                                                                                         BAYAMON             PR         00959‐5259
   679994 JORGE L GINORIO LEON                        HC 03 BOX 11717                                                                                                      JUANA DIAZ          PR         00795‐9505
   679995 JORGE L GOMEZ CENTENO                       GARROCHALES                  HC 01 BOX 4811                                                                          BARCELONETA         PR         00617
   679997 JORGE L GONZALEZ                            PO BOX 736                                                                                                           ROSARIO             PR         00636
          JORGE L GONZALEZ / LUIS RUIZ
   679999 GONZALEZ                                    P O BOX 142174                                                                                                       ARECIBO             PR         00614‐2174
          JORGE L GONZALEZ / RES C/
   680000 LIZZIE GRAHAM                               7MA SECCION LEVITTOWN LAKES HG 32 MONSITA FERRER                                                                     TOA BAJA            PR         00949
   244011 JORGE L GONZALEZ BURGOS                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244012 JORGE L GONZALEZ CRUZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680001 JORGE L GONZALEZ GARCIA                     PO BOX 160                                                                                                           COAMO               PR         00769‐0160

   680002 JORGE L GONZALEZ GONZALEZ                   HC 4 BOX 45515                                                                                                       CAGUAS              PR         00725
   680003 JORGE L GONZALEZ HUERTAS                    P O BOX 900                                                                                                          JAYUYAS             PR         00664
   244014 JORGE L GONZALEZ MENDEZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244015 JORGE L GONZALEZ NIEVES                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244016 JORGE L GONZALEZ ORTIZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244017 JORGE L GONZALEZ OTERO                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244018 JORGE L GONZALEZ PEREZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   244019 JORGE L GONZALEZ QUINONES                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   244022 JORGE L GONZALEZ QUINONEZ                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680005 JORGE L GONZALEZ RIVERA                     COLINAS SAN ANDRES                                    9                                                              UTUADO              PR         00641

   244023 JORGE L GONZALEZ SANTIAGO                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244024 JORGE L GONZALEZ SANTOS                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680006 JORGE L GONZALEZ VILCHES                    PO BOX 3381                                                                                                          AGUADILLA           PR         00605
   244025 JORGE L GONZALEZ VILLAMIL                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680007 JORGE L GUISTI SERNA                        VILLA CAROLINA                173 7 CALLE 439                                                                        CAROLINA            PR         00979
   244026 JORGE L GUZMAN DIAZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680009 JORGE L GUZMAN LUGO                         VILLA EL ENCANTO              H 36 CALLE 7                                                                           JUANA DIAZ          PR         00795
   244027 JORGE L HADDOCK SANCHEZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680010 JORGE L HERNADEZ PADILLA                    PO BOX 1123                                                                                                          BOQUERON            PR         00622
   680011 JORGE L HERNANDEZ                           URB TINTILLO GARDENS          B 3 CALLE 1                                                                            GUAYNABO            PR         00966
          JORGE L HERNANDEZ /D/B/A
   680012 SIGN MASTER                                 PO BOX 1559                                                                                                          VILLALBA            PR         00766



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  680014 JORGE L HERNANDEZ COLON                      RR 3 BOX 10346                                                                                                 TOA ALTA            PR           00953

   244029 JORGE L HERNANDEZ MELENDEZ REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   244030 JORGE L HERNANDEZ TORRES     REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   680015 JORGE L HERNANDEZ VEGA       P O BOX 618                                                                                                                   MANATI              PR           00674
   680016 JORGE L IBARRA RAMOS         URB SILVIA                                A6 CALLE 9                                                                          COROZAL             PR           00783
   680017 JORGE L III DEL VALLE RIVERA PO BOX 190328                                                                                                                 SAN JUAN            PR           00919 0328

   244031 JORGE L IRIZARRY RODRIGUEZ                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   244034 JORGE L LA TORRE RUIZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   680019 JORGE L LABOY PEREZ                         URB ROYL TOWN Z 4          CALLE 34                                                                            BAYAMON             PR           00956
          JORGE L LABOY Y/O ELVIA E
   244035 MENA                                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   680020 JORGE L LANDING MIRANDA                     951 AVE FERNANDEZ JUNCOS                                                                                       SAN JUAN            PR           00907‐4402
   244036 JORGE L LANDRON                             REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   680021 JORGE L LAUREANO HERNANDEZ COND J O M                                  APARTMENTS 147                                                                      CAGUAS              PR           00725
   680022 JORGE L LEBRON COLON       HC 2 BOX 4563                                                                                                                   GUAYAMA             PR           00784
   244037 JORGE L LEBRON CRUZ        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   680023 JORGE L LEBRON LEBRON      PO BOX 1076                                                                                                                     GUAYAMA             PR           00785
   244039 JORGE L LEBRON OTERO       REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   244040 JORGE L LIZARDI LOPEZ      REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   680024 JORGE L LOPEZ FLORES       URB EL VEDADO                               428 CALLE FERNANDO 1                                                                SAN JUAN            PR           00918‐3228
   244041 JORGE L LOPEZ MIRANDA      REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   680025 JORGE L LOPEZ PABON        P O BOX 836                                                                                                                     COTO LAUREL         PR           00780
   680026 JORGE L LOPEZ RIVERA       HC 1 BOX 5441                                                                                                                   CIALES              PR           00638
   244043 JORGE L LOPEZ RODRIGUEZ    REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   680027 JORGE L LOPEZ ROSA         URB LEVITTOWN                               AT 2 CALLE LILLIAM                                                                  TOA BAJA            PR           00949
   244044 JORGE L LOPEZ SANTIAGO     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   680029 JORGE L LOPEZ VARGAS       BO ARENALES BAJO                            82 RUTA 5                                                                           ISABELA             PR           00662
   244045 JORGE L LORA AQUINO        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   679875 JORGE L LOZADA MARTINEZ    HC 645 BOX 5293                                                                                                                 TRUJILLO ALTO       PR           00976

   680030 JORGE L LUCENA BETANCOURT                   PO BOX 69001 SUITE 101                                                                                         HATILLO             PR           00659
   680031 JORGE L LUCENA VELEZ                        HC 01 BOX 8043             BAJADERO                                                                            ARECIBO             PR           00616
   244046 JORGE L LUGO ORTIZ                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   680032 JORGE L LUGO VAZQUEZ                        URB VILLA CAROLINA         17 CALLE 94 BLQ 97                                                                  CAROLINA            PR           00985
   244047 JORGE L LUNA MORENO                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   244048 JORGE L MACHADO ACEVEDO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   680033 JORGE L MADERA CORTES                       PO BOX 2137                                                                                                    CAYEY               PR           00737
   680034 JORGE L MALAVE COSME                        P O BOX 1527                                                                                                   CIDRA               PR           00739
          JORGE L MALAVE SAMOT /
   244049 MARISOL SAMOT                               REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   680035 JORGE L MALDONADO MEDINA                    HC 7 BOX 2543                                                                                                  PONCE               PR           00731
   244050 JORGE L MALDONADO PAGAN                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   244051 JORGE L MANGUAL CONCEPCION REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   680036 JORGE L MANRIQUE PINEDA    URB BALDRICH 582                            CALLE MAXIMO GOMEZ                                                                  SAN JUAN            PR           000918

   244052 JORGE L MARCHAND HEREDIA                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   244053 JORGE L MARIN CORTES                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   244055 JORGE L MARRERO NIEVES                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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MML ID              NAME                                        ADDRESS 1                     ADDRESS 2                     ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  244056 JORGE L MARTES COLON                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680039 JORGE L MARTINEZ                             415 CUMBRES DE MIRADERO                                                                                               MAYAGUEZ          PR         00680
  680041 JORGE L MARTINEZ ANDUJAR                     PO BOX 280                                                                                                            ANGELES           PR         00611
  680042 JORGE L MARTINEZ ARCE                        JARDINES DEL CARIBE          KK 17 CALLE 37                                                                           PONCE             PR         00728
  680044 JORGE L MARTINEZ LOPEZ                       PO BOX 105                                                                                                            CABO ROJO         PR         00623

   680045 JORGE L MARTINEZ MONTALVO                   HC 10 BOX 7890                                                                                                        SABANA GRANDE     PR         00637
   244058 JORGE L MATOS AVILES                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244059 JORGE L MATOS FRANCIS                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JORGE L MATTA / MARIA A
   244060 GONZALEZ                                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680048 JORGE L MEDINA CAPPA                        PO BOX 7859                                                                                                           PONCE             PR         00732
   680049 JORGE L MEDINA LOPEZ                        PO BOX 2384                                                                                                           GUAYNABO          PR         00970
   680050 JORGE L MEDINA PACHECO                      P O BOX 7859                                                                                                          PONCE             PR         00732
   680051 JORGE L MEDINA PEREZ                        PO BOX 2215                                                                                                           GUAYNABO          PR         00970

   244061 JORGE L MELENDEZ MARTINEZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244064 JORGE L MENDEZ GERENA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244065 JORGE L MENDIN MARIN                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680055 JORGE L MENDOZA TORRES                      HC 1 BOX 3734                                                                                                         SANTA ISABEL      PR         00757
   680057 JORGE L MERCADO MOLINA                      ALTURAS DE FLAMBOYAN         H 2 CALLE 9                                                                              BAYAMON           PR         00959

   680058 JORGE L MERCADO RODRIGUEZ                   URB LA LULA                  A 13 CALLE 1                                                                             PONCE             PR         00730

   244068 JORGE L MERCADO SANTIAGO                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      URBANIZACION COLINAS DE
   680059 JORGE L MILLAN MU¥IZ                        VILLA ROSA                   C‐2                                                                                      SABANA GRANDE     PR         00637

   680060 JORGE L MIRANDA CARBONELL                   BO MARTIN GONZALEZ K 3 H 0                                                                                            CAROLINA          PR         00986
   244069 JORGE L MIRANDA CRUZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244070 JORGE L MIRANDA FEBLES                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244071 JORGE L MIRANDA NORRIS                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244072 JORGE L MIRANDA PADILLA                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244074 JORGE L MOJICA COLON                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244075 JORGE L MOLINA                              REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   680061 JORGE L MOLINA GOMEZ                        URB VILLA JUSTICIA           D26 CALLE RIVERA ESQ APONTE                                                              CAROLINA          PR         00985
   244076 JORGE L MOLINARI                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244077 JORGE L MONTALVO                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244078 JORGE L MONTALVO ORTIZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244079 JORGE L MORALES LOPEZ                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680063 JORGE L MORALES ORTIZ                       BOX 787                                                                                                               SAN SEBASTIAN     PR         00676
   244081 JORGE L MORALES QUINONES                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244082 JORGE L MORALES SOLER                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244083 JORGE L MORALES VAZQUEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680065 JORGE L MORALES ZAYAS                       PARCELAS FALU 293 CALLE 34                                                                                            SAN JUAN          PR         00924‐3128
   244084 JORGE L MORENO GARCIA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244085 JORGE L MORIS LOPEZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244086 JORGE L MOYA PEREZ                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244087 JORGE L MOYENO PEREZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244088 JORGE L MUNOZ APONTE                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   244089 JORGE L NARANJO CONCEPCION REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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MML ID               NAME                                       ADDRESS 1                    ADDRESS 2              ADDRESS 3                           ADDRESS 4             CITY        STATE    POSTAL CODE       COUNTRY
  680067 JORGE L NATER MALDONADO                      16 CALLE OBRERO                                                                                               CIALES             PR         00638
  680068 JORGE L NAVARRO                              BO SAINT JUST 224           CALLE BETANIA FINAL                                                               TRUJILLO ALTO      PR         00976
  680069 JORGE L NEGRON APONTE                        PO BOX 245                                                                                                    NARANJITO          PR         00719
  680070 JORGE L NEGRON GAY                           PO BOX 972                                                                                                    JUNCOS             PR         00777
  244090 JORGE L NEGRON MENDOZA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  679876 JORGE L NEGRON RIVERA                        BO PALMAREJO                HC 1 BOX 3132                                                                     VILLALBA           PR         00766 9701
  680071 JORGE L NEGRON SERRANO                       BO CONTORNO SECT CIELITO    CQARR 165 KM 10 HM 5                                                              TOA ALTA           PR         00953
  680072 JORGE L NEVAREZ GALINDO                      HC 03 BOX 10743                                                                                               COMERIO            PR         00782‐9614
  244091 JORGE L NIEVES COLLAZO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244092 JORGE L NIEVES MORALES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244093 JORGE L NIEVES ORTIZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244094 JORGE L NINA ESPINOSA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244095 JORGE L NOVEL MIRANDA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244096 JORGE L OCASIO CARLE                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680075 JORGE L OCASIO CARRION                       RIO GRANDE STATE 11116      CALLE REY SALOMON                                                                 RIO GRANDE         PR         00745
  244097 JORGE L OCASIO MARRERO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244098 JORGE L OCASIO MATOS                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  679878 JORGE L OLAN MONTALVO                        URB SAN ANTONIO             Q11 CALLE 7                                                                       PONCE              PR         00731
  244099 JORGE L OLIVERA RIVERA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680076 JORGE L OLIVO BAEZ                           URB CONTRY CLUB             M 528 CALLE 432                                                                   CAROLINA           PR         00982
  680078 JORGE L OROZCO BURGOS                        BUNKER                      130 CALLE ECUADOR                                                                 CAGUAS             PR         00725
  680079 JORGE L ORTIZ                                PMB 485                     PO BOX 2017                                                                       LAS PIEDRAS        PR         00771
  244100 JORGE L ORTIZ ALICEA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680080 JORGE L ORTIZ ALVAREZ                        HC 4 BOX 14592                                                                                                ARECIBO            PR         00612
  244101 JORGE L ORTIZ CASIANO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680081 JORGE L ORTIZ GARCIA                         PO BOX 520                                                                                                    AGUIRRE            PR         00704
  244102 JORGE L ORTIZ GONZALEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680084 JORGE L ORTIZ HUERTAS                        RR 3 BOX 3762                                                                                                 CIDRA              PR         00739
  680085 JORGE L ORTIZ MARTINEZ                       3452 URB VILLAS DEL COQUI                                                                                     AGUIRRE            PR         00704
  680086 JORGE L ORTIZ MONTALVO                       PO BOX 544                                                                                                    BAJADERO           PR         00616
  244105 JORGE L ORTIZ MORALES                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680087 JORGE L ORTIZ NAZARIO                        URB SANTA JUANITA           BD ‐ 30 CALLE INDIA                                                               BAYAMON            PR         00956
  244106 JORGE L ORTIZ OTERO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244107 JORGE L ORTIZ PEREZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244108 JORGE L ORTIZ PIZARRO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680088 JORGE L ORTIZ RAMOS                          BOX 1059                                                                                                      YABUCOA            PR         00767
  244109 JORGE L ORTIZ RIVERA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244112 JORGE L ORTIZ TORRES                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244114 JORGE L ORTIZ ZAYAS                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680092 JORGE L OSTOLAZA RIVERA                      PO BOX 21365                                                                                                  SAN JUAN           PR         00928
  680093 JORGE L OTERO GARCIA                         URB EL VIVERO               D 8 CALLE 1                                                                       GURABO             PR         00778‐2301
  680094 JORGE L OTERO LOPEZ                          PO BOX 843                                                                                                    CIALES             PR         00638
  244115 JORGE L OTERO PAGAN                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680095 JORGE L OTERO RAMOS                          PO BOX 21365                                                                                                  SAN JUAN           PR         00928‐1365
  680096 JORGE L PACHECO PACHECO                      HC 01 BOX 3776                                                                                                FLORIDA            PR         00650
  244116 JORGE L PADILLA ARVELO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244117 JORGE L PADILLA MILLAN                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680099 JORGE L PADILLA PADILLA                      HC 71 BOX 2172                                                                                                NARANJITO          PR         00719 0000

   244119 JORGE L PAGAN CARRAQUILLO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   244120 JORGE L PAGAN GINES                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   244121 JORGE L PAGAN MARIN                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   244122 JORGE L PAGAN RAMOS                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED



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MML ID                NAME                                     ADDRESS 1                       ADDRESS 2              ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  244123 JORGE L PAGAN RODRIGUEZ                      REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  244124 JORGE L PAGAN VALDES                         REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  244125 JORGE L PANTOJA AULET                        REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  680102 JORGE L PARDO ROSADO                         LEVITTOWN                      JQ 8 GOTTSCHALK                                                                  TOA BAJA            PR         00949
  244126 JORGE L PAREDES QUINONES                     REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  244127 JORGE L PE¥A VAZQUEZ                         REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JORGE L PELLICCIA
  244128 ANTONGIORGI                                  REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  680103 JORGE L PELUYERA SERRANO                     PO BOX 5211                                                                                                     SAN SEBASTIAN       PR         00685
  244129 JORGE L PENA BENITEZ                         REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  244131 JORGE L PEREIRA DIAZ                         REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  244132 JORGE L PEREZ                                REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  680105 JORGE L PEREZ ABREU                          549 AVE ROTARIOS                                                                                                ARECIBO             PR         00612
  680109 JORGE L PEREZ COLON                          PO BOX 451                                                                                                      TOA BAJA            PR         00951
  680110 JORGE L PEREZ DE JESUS                       COM VILLA CRISTINA             SOLAR 382                                                                        LOIZA               PR         00772
  244133 JORGE L PEREZ DIAZ                           REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  244134 JORGE L PEREZ FORTY                          REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  680111 JORGE L PEREZ ROSARIO                        PO BOX 1025                                                                                                     SAN JUAN            PR         00978
  244137 JORGE L PINEIRO LUGO                         REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  680112 JORGE L PIZARRO ANGUEIRA                     P O BOX 3000                                                                                                    CANOVANAS           PR         00729
  680113 JORGE L PIZARRO DIANA                        URB LOS COLOBOS PARK 649       CALLE ALMENDRO                                                                   CAROLINA            PR         00987
  244138 JORGE L PLATA PEREZ                          REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  244139 JORGE L PORTALATIN BRAVO                     REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  244140 JORGE L POSADA FERNANDEZ                     REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  244141 JORGE L QUI¥ONES RIVERA                      REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  244142 JORGE L QUINONES ROSARIO                     REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  244143 JORGE L QUINTERO VEGA                        REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  680114 JORGE L RAMERY SANTOS                        URB QUINTAS DE DORADO          AA 17 CALLE 3W                                                                   DORADO              PR         00646
  680115 JORGE L RAMIREZ MEDINA                       URB MONTE ATENAS               APT 905                                                                          SAN JUAN            PR         00926

   680117 JORGE L RAMIREZ TORRES                      URB COLINAS METROPOLITANA      M 3 CALLE GUILARTE                                                               GUAYNABO            PR         00969
   244145 JORGE L RAMOS CARO                          REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680118 JORGE L RAMOS DE JESUS                      P O BOX 2013                                                                                                    HATILLO             PR         00659
   244147 JORGE L RAMOS MARQUEZ                       REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244148 JORGE L RAMOS MEDINA                        REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244149 JORGE L RAMOS MORALES                       REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244150 JORGE L RAMOS NUNEZ                         REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   680119 JORGE L RAMOS RODRIGUEZ                     URB VALLE ALTO CALLE 24 P‐12   P 12                                                                             PONCE               PR         00731
   244151 JORGE L RAMOS ROMAN                         REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680120 JORGE L RAMOS VICENTE                       RR 1 BOX 2699                                                                                                   CIDRA               PR         00739‐9607
   680121 JORGE L RENTAS VARGAS                       H C 3 BOX 12038                                                                                                 JUANA DIAZ          PR         00795‐9506
   680122 JORGE L RESTO ROSADO                        PARCELAS AMADEU                CALLE E BUZON 27                                                                 VEGA BAJA           PR         00693
   679367 JORGE L REYES DE JESUS                      PO BOX 942                                                                                                      CIALES              PR         00638
   680123 JORGE L REYES FERNANDEZ                     COND MONTERREY ESTATE          SUITE 438                                                                        CAROLINA            PR         00979
   244152 JORGE L REYES GUADALUPE                     REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244153 JORGE L REYES MARCANO                       REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680125 JORGE L REYES RODRIGUEZ                     COND PARQUE MONACILLO          APT 1701                                                                         SAN JUAN            PR         00921
   680127 JORGE L RIVERA                              URB BELINDA                    G 6 CALLE 7                                                                      ARROYO              PR         00714
   680128 JORGE L RIVERA ALERS                        PO BOX 5132                                                                                                     SAN SEBASTIAN       PR         00685
   680129 JORGE L RIVERA ALVARADO                     URB JARDINES DE CAPARRA        Q 22 CALLE 31                                                                    BAYAMON             PR         00959
   680130 JORGE L RIVERA CARDONA                      PO BOX 9021112                                                                                                  SAN JUAN            PR         00902‐1112
   244155 JORGE L RIVERA CARTAGENA                    REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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MML ID               NAME                                       ADDRESS 1                  ADDRESS 2                     ADDRESS 3                          ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  244156 JORGE L RIVERA CORREA                        REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244158 JORGE L RIVERA GANDIA                        REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244159 JORGE L RIVERA GONZALEZ                      REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680132 JORGE L RIVERA HERNANDEZ                     HC 7 BOX 2064                                                                                                     PONCE             PR         00731‐9602
  244161 JORGE L RIVERA JIMENEZ                       REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680134 JORGE L RIVERA LOPEZ                         PO BOX 364325                                                                                                     SAN JUAN          PR         00936‐4325
  244162 JORGE L RIVERA LUNA                          REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680137 JORGE L RIVERA MELENDEZ                      HC 3 BOX 9312                                                                                                     DORADO            PR         00646‐9312
  244164 JORGE L RIVERA ORTIZ                         REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680139 JORGE L RIVERA RANGEL                        BOX V 1660                                                                                                        CANOVANAS         PR         00729‐2257
  680140 JORGE L RIVERA RIOS                          VISTA AZUL                JJ 27 CALLE 31                                                                          ARECIBO           PR         00612
  679879 JORGE L RIVERA RIVERA                        PO BOX 9701                                                                                                       CIDRA             PR         00739
  680141 JORGE L RIVERA RIVERA                        PO BOX 191073                                                                                                     SAN JUAN          PR         00919‐1073
  680143 JORGE L RIVERA RODRIGUEZ                     HC 4 BOX 47075                                                                                                    CAGUAS            PR         00725
  680145 JORGE L RIVERA ROLON                         PO BOX 870                                                                                                        NARANJITO         PR         00719
  244165 JORGE L RIVERA SANTIAGO                      REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244166 JORGE L RIVERA SOTO                          REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680146 JORGE L RIVERA TORRES                        HC 01 BUZON                                                                                                       ARROYO            PR         00714
  244167 JORGE L RIVERA VAZQUEZ                       REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244168 JORGE L RIVERA VELAZQUEZ                     REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680151 JORGE L ROBERT                               P O BOX 192304                                                                                                    SAN JUAN          PR         00919 2304
  680152 JORGE L RODRIGUEZ ALICEA                     URB ROYAL TOWN            A1 11 CALLE 1                                                                           BAYAMON           PR         00956
  244169 JORGE L RODRIGUEZ BRUNO                      REDACTED                  REDACTED                      REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         JORGE L RODRIGUEZ BRUNO                                                359 AVE SAN CLAUDIO SUITE 310
  680153 /APPRAISAL GROUP                             CUPEY PROFESSIONAL MALL   A                                                                                       SAN JUAN          PR         00926
  680154 JORGE L RODRIGUEZ CLASS                      PO BOX 765                                                                                                        DORADO            PR         00646
  244170 JORGE L RODRIGUEZ COLON                      REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244171 JORGE L RODRIGUEZ CRUZ                       REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680159 JORGE L RODRIGUEZ DECLET                     URB TOA ALTA HEIGHTS      F 37 CALLE 8                                                                            TOA ALTA          PR         00953
  244172 JORGE L RODRIGUEZ FERRER                     REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244173 JORGE L RODRIGUEZ GOMEZ                      REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680162 JORGE L RODRIGUEZ JIMENEZ                    P O BOX 6141 STSTION 1                                                                                            BAYAMON           PR         00960

   244175 JORGE L RODRIGUEZ MIRANDA                   REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JORGE L RODRIGUEZ OLIVO/
   244176 APHRODITA OLIVO                             REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244177 JORGE L RODRIGUEZ ORTIZ                     REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680165 JORGE L RODRIGUEZ PEREZ                     PO BOX 421                                                                                                        JUANA DIAZ        PR         00795

   244178 JORGE L RODRIGUEZ QUINONEZ                  REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244179 JORGE L RODRIGUEZ RAMOS                     REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680167 JORGE L RODRIGUEZ RIOS                      PO BOX 402                                                                                                        LAS MARIAS        PR         00670
   244180 JORGE L RODRIGUEZ RIVERA                    REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244182 JORGE L RODRIGUEZ RUIZ                      REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   680170 JORGE L RODRIGUEZ SALVADOR HC 02 BOX 7084                                                                                                                     UTUADO            PR         00641

   244186 JORGE L RODRIGUEZ VAZQUEZ                   REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244187 JORGE L RODRIGUEZ VELEZ                     REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680171 JORGE L RODRIGUEZ ZAYAS                     TOWN HOUSE                BLOQ 10                                                                                 COAMO             PR         00769
   680177 JORGE L ROJAS REYES                         4 A 12 URB FOREST HILL                                                                                            BAYAMON           PR         00959
   244189 JORGE L ROLDAN FLORES                       REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680178 JORGE L ROMAN CARDONA                       URB ROLLING HILLS         C 115 CALLE BRAZIL                                                                      CAROLINA          PR         00987‐7005



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  680179 JORGE L ROMAN CENTENO                        URB. VILLA PINARES          15 AVENIDA PASEO                                                                         VEGA BAJA          PR         00693
  680180 JORGE L ROMAN DE JESUS                       5 VILLAS DE MANATI                                                                                                   MANATI             PR         00674
  244190 JORGE L ROMAN FLORES                         REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680181 JORGE L ROMAN QUILES                         SECT LA CANCHA              BZN 7                                                                                    ISABELA            PR         00662
  680182 JORGE L ROMAN REYES                          URB VERDE MAR               715 CALLE 22                                                                             PUNTA SANTIAGO     PR         00741
  680183 JORGE L ROMAN RODRIGUEZ                      COMUNIDAD LAS DOLORES       330 CALLE MEJICO                                                                         RIO GRANDE         PR         00745

   680185 JORGE L ROMERO MARCHESES                    BOX 244                                                                                                              LARES              PR         00669
   680186 JORGE L ROSA SANTIAGO                       334 RES ZENO GANDIA                                                                                                  ARECIBO            PR         00612
   244192 JORGE L ROSADO CARPENA                      REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   680188 JORGE L ROSADO RODRIGUEZ                    HC 01 BOX 4744                                                                                                       LAJAS              PR         00667
   244193 JORGE L ROSADO SANIAGO                      REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   244194 JORGE L ROSALY ROSELLO                      REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   680189 JORGE L ROSARIO FIGUEROA                    URB VENUS GARDENS           711 CALLE JALAPA                                                                         SAN JUAN           PR         00926
   244195 JORGE L ROSARIO NORIEGA                     REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   680190 JORGE L ROSARIO OLIVERAS                    PO BOX 361495                                                                                                        SAN JUAN           PR         00936‐1495
   680191 JORGE L ROSARIO SALGADO                     URB VILLA FONTANA PARK      KK5 S17 PARQUE DEL TESORO                                                                CAROLINA           PR         00983
   680192 JORGE L ROSARIO TORO                        RES COLOMBUS LANDING        EDIF 29 APT 305                                                                          MAYAGUEZ           PR         00680
   244196 JORGE L RUIZ MARTINEZ                       REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   244197 JORGE L RUIZ PENA                           REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   680193 JORGE L RUIZ RIVERA                         COND SAINT TROPEZ           6267 AVE ISLA VERDE APTO C A 6                                                           CAROLINA           PR         00979
   244198 JORGE L RUIZ ROSADO                         REDACTED                    REDACTED                       REDACTED                           REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   244200 JORGE L SALAMO RODRIGUEZ                    REDACTED                    REDACTED                       REDACTED                           REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   680194 JORGE L SALAS SANCHEZ                       HC 01 BOX 8056                                                                                                       TOA BAJA           PR         00949
   680197 JORGE L SANABRIA MERCED                     PO BOX 140                                                                                                           AGUAS BUENAS       PR         00703‐0140
   244202 JORGE L SANCHEZ COLON                       REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   680198 JORGE L SANCHEZ COTTO                       232 AVE ELEONOR ROOSEVELT                                                                                            SAN JUAN           PR         00907
   244203 JORGE L SANCHEZ DIAZ                        REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   244204 JORGE L SANCHEZ LEON                        REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   680199 JORGE L SANCHEZ PADILLA                     P O BOX 695                                                                                                          MANATI             PR         00674
   244205 JORGE L SANCHEZ RIVERA                      REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   679880 JORGE L SANCHEZ RIVERA                      PO BOX 1040                                                                                                          VILLALBA           PR         00766
   680200 JORGE L SANCHEZ SOLER                       URB BEIHONTE                PO BOX 3661                                                                              MAYAGUEZ           PR         00681
   680202 JORGE L SANTIAGO ALGARIN                    JARDINES DE PALMAREJO       AA 33 CALLE 21                                                                           CANOVANAS          PR         00729
   244207 JORGE L SANTIAGO BLANCO                     REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   680203 JORGE L SANTIAGO CORTES                     RES BUENA VISTA             EDIF 7 APTO 21                                                                           GURABO             PR         00778‐2108
   244208 JORGE L SANTIAGO DURAN                      REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   244209 JORGE L SANTIAGO GONZALEZ                   REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   680205 JORGE L SANTIAGO NAZARIO                    PAEC AMALIA MARIN           4480 CALLE PESCADILLA                                                                    PONCE              PR         00716
   244210 JORGE L SANTIAGO NEVAREZ                    REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   244211 JORGE L SANTIAGO RIVERA                     REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   244212 JORGE L SANTIAGO ROSARIO                    REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   244213 JORGE L SANTIAGO SERRANO                    REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   244214 JORGE L SANTINI HERNANDEZ                   REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   244215 JORGE L SANTOS HERNANDEZ                    REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   680210 JORGE L SANTOS RAMOS                        VILLA DE CANEY              B 9 CALLE 1                                                                              TRUJILLO ALTO      PR         00976
   680211 JORGE L SANTOS RIVERA                       PO BOX 599                                                                                                           AGUIRRE            PR         00704‐0599
   244216 JORGE L SERNA VEGA                          REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   680213 JORGE L SERRANO                             PO BOX 21365                                                                                                         SAN JUAN           PR         00928




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   680214 JORGE L SERRANO RODRIGUEZ                   MARINA BAHIA            MF 39 PLAZA 27                                                                            CATANO               PR           00962
   680215 JORGE L SERRANO SANCHEZ                     REPARTO VALLE ALEGRE    2 CALLE MIGUEL POU                                                                        PONCE                PR           00731
   679368 JORGE L SERRANO TORRES                      HC 3 BOX 15538                                                                                                    AGUAS BUENAS         PR           00703
   680216 JORGE L SIERRA PAGAN                        ALMIRANTE               CARR 160 KM 5 8                                                                           VEGA BAJA            PR           00963
   244217 JORGE L SILVESTRINI ALICEA                  REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   244218 JORGE L SILVESTRINI RUIZ                    REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   244219 JORGE L SOTO COSME                          REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   680217 JORGE L SOTO CRUZ                           HC 05 BOX 92569                                                                                                   ARECIBO              PR           00612
   679369 JORGE L SOTO DE LEON                        PO BOX 1139                                                                                                       HATILLO              PR           00659
   244220 JORGE L SOTO SOLA                           REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   244221 JORGE L SOTOMAYOR VEGA                      REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   244222 JORGE L SUAREZ ARISTUD                      REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   244223 JORGE L SUAREZ MONTES                       REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JORGE L SUAREZ Y CARMINA
   244224 SUAREZ                                      REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   680218 JORGE L SULLIVAN                            PO BOX 7007                                                                                                       SAN JUAN             PR           00916
   244225 JORGE L SURIA COLON                         REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   680219 JORGE L TAPIA APONTE                        URB SAN AGUSTIN 1150    CALLE ROBERTO RIVERA                                                                      SAN JUAN             PR           00926
   680221 JORGE L TIRADO TORRES                       PO BOX 9081                                                                                                       BAYAMON              PR           00960‐9081
   244226 JORGE L TOLEDO GONZALEZ                     REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   244227 JORGE L TORO LANDRAU                        REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   680224 JORGE L TORRES                              CASTILLO DEL MAR        4633 AVE ISLA VERDE STE 1520                                                              CAROLINA             PR           00979
          JORGE L TORRES / JERRY A
   244228 TORRES                                      REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   680225 JORGE L TORRES ACOSTA                       BO PALOMAS              9 CALLE 11                                                                                YAUCO                PR           00698
   244229 JORGE L TORRES ALICEA                       REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   680226 JORGE L TORRES CASIANO                      URB JARD DEL CARIBE     221 CALLE 2                                                                               PONCE                PR           00728
   244230 JORGE L TORRES GONZALEZ                     REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   244232 JORGE L TORRES MATOS                        REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      PO BOX 330383 ATOCHA
   680228 JORGE L TORRES NAZARIO                      STATION                                                                                                           PONCE                PR           00733‐0383
   244233 JORGE L TORRES ORTIZ                        REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   679366 JORGE L TORRES PEREZ                        PO BOX 1202                                                                                                       PE¥UELAS             PR           00624
   244234 JORGE L TORRES RAMOS                        REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   244235 JORGE L TORRES RIVERA                       REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   680233 JORGE L TORRES SANTOS                       HC 73 BOX 5557                                                                                                    NARANJITO            PR           00719
   680234 JORGE L TORRES TORRES                       URB VISTA ALEGRE        215 ORQUIDEA                                                                              VILLALBA             PR           00766
   680235 JORGE L TORRES VAZQUEZ                      URB VILLA DEL ENCANTO   B6 CALLE 2                                                                                PONCE                PR           00795
   680236 JORGE L TORRES VENDRELL                     HC 04 BOX 15064                                                                                                   ARECIBO              PR           00612
   680238 JORGE L URIBARRY GARCIA                     PO BOX 8206                                                                                                       CAROLINA             PR           00628
   680239 JORGE L VALENTIN                            PO BOX 86                                                                                                         ARECIBO              PR           00613
   680241 JORGE L VALENTIN BARRO                      AVE GUANAJIBO           HOME B 12                                                                                 MAYAGUEZ             PR           006802
   244237 JORGE L VALENTIN DIAZ                       REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   244238 JORGE L VALENTINE RIVERA                    REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   680242 JORGE L VALLE VALLE                         PO BOX 2554                                                                                                       VEGA BAJA            PR           00694
                                                      14 CALLE REYMUNDO
   680243 JORGE L VALLES HERNANDEZ                    FERNANDEZ                                                                                                         PATILLAS             PR           00723
   680244 JORGE L VALLS FERRERO                       HC 2 BOX 11316                                                                                                    COROZAL              PR           00783
   244239 JORGE L VARGAS MELENDEZ                     REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   680245 JORGE L VARGAS RODRIGUEZ                    BOX 1199                                                                                                          ISABELA              PR           00662
   680246 JORGE L VARGAS VAZQUEZ                      BDA SANDIN              10 CALLE LUNA                                                                             VEGA BAJA            PR           00693



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  244240 JORGE L VAZQUEZ DIAZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   680248 JORGE L VAZQUEZ RODRIGUEZ                   PO BOX 1336                                                                                                  TRUJILLO ALTO       PR         00977‐1336
   680249 JORGE L VAZQUEZ SOLIS                       CAMINO DEL SUR             4444 CALLE FRAILE                                                                 PONCE               PR         00716‐2833
   244241 JORGE L VAZQUEZ TORRES                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   680250 JORGE L VEGA                                SOUTHERN LABORATORY INST   7F 13 URB RIO CANAS                                                               PONCE               PR         00731
   244242 JORGE L VEGA ACOSTA                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680251 JORGE L VEGA AGOSTO                         URB MAGNOLIA GARDENS       N 21 CALLE 14                                                                     BAYAMON             PR         00956
   680252 JORGE L VEGA BAEZ                           RES LEONARDO SANTIAGO      7 APT 87                                                                          JUANA DIAZ          PR         00795
   244243 JORGE L VEGA CORTIJO                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680253 JORGE L VEGA CUEVAS                         HC 3 BOX 9423                                                                                                LARES               PR         00669
   244244 JORGE L VEGA LOPEZ                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244246 JORGE L VEGA ORTIZ                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680255 JORGE L VEGA RUIZ                           URB SANTA JUANITA          P 17 CALLE FORMAS                                                                 BAYAMON             PR         00956
   680256 JORGE L VEGA SOTO                           URB LOS LLANOS             B2 CALLE 3                                                                        ARECIBO             PR         00612
          JORGE L VELAZQUEZ
   680257 MALDONADO                                   URB LAS CAROLINAS          HC 6 BOX 70131                                                                    CAGUAS              PR         00725
   244247 JORGE L VELAZQUEZ NUNEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680258 JORGE L VELEZ JIMENEZ                       HC 6 BOX 12749             BARRIO ROBLES                                                                     SAN SEBASTIAN       PR         00685
   680259 JORGE L VELEZ ORTIZ                         4 CALLE ARIZONA            CASA 3                                                                            ARROYO              PR         00714
   244248 JORGE L VELEZ RIOS                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244249 JORGE L VELEZ RODRIGUEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680260 JORGE L VELEZ SOTO                          URB PONCE DE LEON          86 CALLE 20                                                                       GUAYNABO            PR         00969
   244250 JORGE L VELEZ VARGAS                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680261 JORGE L VENTURA DAVILA                      140 BO CALZADA                                                                                               PONCE               PR         00715
   244251 JORGE L VENTURA ROMAN                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680262 JORGE L VILLANUEVA                          URB LOIZA VALLEY R 618     CALLE BUNGANDILLA                                                                 CANOVANAS           PR         00729

   244252 JORGE L VILLANUEVA OLIVERAS                 REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JORGE L VILLANUEVA
   680264 VILLANUEVA                                  PO BOX 94                                                                                                    MANATI              PR         00674‐0094
   680265 JORGE L VIVES MEDINA                        P O BOX 1586                                                                                                 QUEBRADILLAS        PR         00678

   244253 JORGE L VIZCARRONDO PIZARRO REDACTED                     REDACTED                             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                      1050 AVE LOS CORAZONES SUITE
   680266 JORGE L WEBER               102                                                                                                                          MAYAGUEZ            PR         00680‐7042
   244254 JORGE L. ALEMAN BIGIO       REDACTED                     REDACTED                             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244255 JORGE L. ALVAREZ GONZALEZ   REDACTED                     REDACTED                             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680267 JORGE L. AQUINO BARRETO     PO BOX 50071                                                                                                                 SAN JUAN            PR         00902
   244256 JORGE L. ARZOLA RIVERA      REDACTED                     REDACTED                             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680272 JORGE L. CABAN ROSADO       HC02 PO BOX 7786                                                                                                             CAMUY               PR         00627
   244257 JORGE L. CARRION FLORES     REDACTED                     REDACTED                             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244259 Jorge L. Cintron López      REDACTED                     REDACTED                             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680273 JORGE L. CRESPO PEREZ       VILLA NEVAREZ                1069 CALLE 3                                                                                    SAN JUAN            PR         00927
   680274 JORGE L. CRUZ RIVERA        URB WONDERVILLE              129 CALLE MARTE                                                                                 SAINT JUST          PR         00976
   680275 JORGE L. DIAZ COLON         #12 CALLE CRISTOBAL COLON                                                                                                    CAGUAS              PR         00725
          JORGE L. FERNANDEZ
   244260 RODRIGUEZ                   REDACTED                     REDACTED                             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680278 JORGE L. GUZMAN ROSARIO     SICOSOCIAL TRUJILLO ALTO                                                                                                     Hato Rey            PR         009360000

   680281 JORGE L. MALDONADO CRESPO                   URB SAN FERNANDO           22 CALLE 11                                                                       TOA ALTA            PR         00953




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   244262 JORGE L. MARTINEZ CAMACHO                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244263 JORGE L. MOLINARY GARCIA                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244264 JORGE L. MORALES AMARO                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244265 JORGE L. OCASIO RIOS                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244266 JORGE L. OLIVER PINERO                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680284 JORGE L. ORTEGA SANTIAGO                    APARTADO 609                                                                                                      NARANJITO           PR           00719
   244267 JORGE L. PAGAN GUTIERREZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680286 JORGE L. PAGAN ORAMA                        P O BOX 3220                                                                                                      VEGA ALTA           PR           00692
   680288 JORGE L. QUINONES                           PARK BOULEVARD             2226 CALLE GEN PATTON                                                                  SAN JUAN            PR           00913
   680290 JORGE L. RIVERA REYES                       BO. HIGUILLAR 154 A        CALLE 2                                                                                DORADO              PR           00646
   680294 JORGE L. RIVERA RODRIGUEZ                   P O BOX 7632                                                                                                      SAN JUAN            PR           00916
   244269 JORGE L. RIVERA VAZQUEZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680295 JORGE L. ROBERT & ASSOC.                    PO BOX 192304                                                                                                     SAN JUAN            PR           00919
   244270 JORGE L. RODRIGUEZ BRUNO                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   244271 JORGE L. RODRIGUEZ MELENDEZ REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680296 JORGE L. RODRIGUEZ PAGAN    PO BOX 40397                                                                                                                      SAN JUAN            PR           00940
   244272 JORGE L. RODRIGUEZ REYES    REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244273 JORGE L. RUIZ AYALA         REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   244274 JORGE L. SALGADO RODRIGUEZ                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   680298 JORGE L. SANTIAGO RODRIGUEZ                 P O BOX 399                                                                                                       PONCE               PR           00731
   244275 JORGE L. SANTIAGO SUAREZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680299 JORGE L. SERRANO MONCHE                     47 CALLE 5 BDA CLAUSELLS                                                                                          PONCE               PR           00731
   244276 JORGE L. TORRES ORTIZ                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244277 JORGE L. UBINAS DE LEON                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680304 Jorge L. Velazquez Figueroa                 Colinas de Magnolia ‐127                                                                                          Juncos                           00777
   680305 JORGE L. VICENTE GOMEZ                      BZN #21 EL PRADO                                                                                                  CAYEY               PR           00736

   244281 JORGE L.ALMODOVAR CAPIELO                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244283 JORGE LABORDE CORRETJER                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680307 JORGE LABOY ACOSTA                          PO BOX 7126                                                                                                       PONCE               PR           00732
   244285 JORGE LALLAVE HIDALGO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680309 JORGE LANDIA LOPEZ                          VILLA BLANCA               6 RIO HONDO                                                                            MAYAGUEZ            PR           00680
   244286 JORGE LAPORTE CEDENO                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244287 JORGE LARA MD, WILLIAM A                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244288 JORGE LASSO TORRES                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244289 JORGE LAY Y EMMA FUMERO                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680310 JORGE LE GARCIA LOPEZ                       PO BOX 22008                                                                                                      JUANA DIAZ          PR           00953
   680311 JORGE LEAL M D                              P O BOX 14657                                                                                                     CLEARWATER          FL           33766 4657

   244290 JORGE LEDON WEBSTER P E PSC 100 CARR 165 STE 604                                                                                                              GUAYNABO            PR           00968‐8053
   680314 JORGE LEGARRETA ARIAS       P O BOX 5900                                                                                                                      HATILLO             PR           00659
                                      COMPLEJO CORRECCIONAL DE                   CONTROL M FASE ROJA CELDA
  1420117 JORGE LEON, MARIO           PONCE                                      329 PO BOX 7285                                                                        PONCE               PR           00732
          JORGE LIQUET LUGO / DAMARIS
   680315 TORRES                      URB SAN ROMUALDO                           206 CALLE P                                                                            HORMIGUEROS         PR           00660
   244293 Jorge Litovich Hernandez    REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244295 JORGE LLITERA PLAZA         REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244296 JORGE LLUVERAS              REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680316 JORGE LLUVERAS GARCIA       PO BOX 439                                                                                                                        GURABO              PR           00778



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  680318 JORGE LOPEZ CASTRO                           HC 2 BOX 10916                                                                                                          MOCA                PR           00676

   680319 JORGE LOPEZ DE VICTORIA                     URB MANSIONE DEL MAR         MM 51 C/ PLAZA DE ESTRELLAS                                                                TOA BAJA            PR           00949
   680320 JORGE LOPEZ GONZALEZ                        URB SANTA TERESITA           BF5 CALLE 21                                                                               PONCE               PR           00731
   244299 JORGE LOPEZ LOPEZ                           REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   244300 JORGE LOPEZ MOJICA                          REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   244301 JORGE LOPEZ NAVARRO                         REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   244302 JORGE LOPEZ OLEA                            REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   244303 JORGE LOPEZ ORTIZ                           REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   680324 JORGE LOPEZ PABON                           P O BOX 250                                                                                                             COTO LAUREL         PR           00780
   680325 JORGE LOPEZ QUINTANA                        BO DOS BOCAS                 HC 646 BOX 8286                                                                            TRUJILLO ALTO       PR           00976
   244304 JORGE LOPEZ RAMOS                           REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   680317 JORGE LOPEZ REYES                           URB ESTANCIAS DE LA FUENTE   AA 39 CALLE DEL RE                                                                         TOA ALTA            PR           00953
   244305 JORGE LOPEZ RIVERA                          REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   680331 JORGE LOPEZ ZAPATA                          PO BOX 763                                                                                                              SAN GERMAN          PR           00683‐0763
   244309 JORGE LORA LONGORIA                         REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JORGE LORA LONGORIA LAW                                                  128 CALLE ISABEL ANDREU
   244310 OFFICE                                      URB LOS MAESTROS             AGUILA                                                                                     SAN JUAN            PR       00918
   680332 JORGE LUGO CANCEL                           SOLAR 240 A CAROLINA                                                                                                    SAN GERMAN          PR       00683
   244312 JORGE LUGO GUTIERREZ                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   680333 JORGE LUGO RAMIREZ                          P O BOX 442                                                                                                             HORMIGUEROS         PR       00660
   244313 JORGE LUGO VILANOVA                         REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   244316 JORGE LUIS AQUINO CALO                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   244317 JORGE LUIS ARZUAGA                          REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   680336 JORGE LUIS AUTO MUFFLER                     230 CALLEJON SANTA ANA # B                                                                                              ARECIBO             PR       00612
   244318 JORGE LUIS AVILES PEREZ                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   680338 JORGE LUIS BONILLA MENDEZ                   P O BOX 4223                                                                                                            MAYAGUEZ            PR       00681

   244321 JORGE LUIS CAPACETE COLLAZO REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   244322 JORGE LUIS CENTENO DIAZ     REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   680341 JORGE LUIS CINTRON                          REPARTO FLAMINGO             L 8 CALLE CIUDAD DE LAS LOMAS                                                              BAYAMON             PR           00959
   680342 JORGE LUIS COLON ZAYAS                      HC 01 BOX 3970                                                                                                          VILLALBA            PR           00766‐9710
   244323 JORGE LUIS CRUZ VELAZQUEZ                   REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   244325 JORGE LUIS DE LEON                          REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   244327 JORGE LUIS DIAZ REVERON                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   244328 JORGE LUIS GARCIA CASTRO                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   680343 JORGE LUIS GONZALEZ CRUZ                    URB SAN LORENZO              41 VALLEY                                                                                  SAN LORENZO         PR           00754

   244330 JORGE LUIS III FIGUEROA TORRES REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   244331 JORGE LUIS IRIZARRY NIEVES     REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   680334 JORGE LUIS LOPEZ MORALES       1761 AVE EDUARDO CONDE                    PDA 25                                                                                     SAN JUAN            PR           00912
   680344 JORGE LUIS MARRERO             BOX 7                                                                                                                                MOROVIS             PR           00687
   680345 JORGE LUIS MARTINEZ            URB BAHIA 91 CALLE ESTE                                                                                                              CATA¨O              PR           00962
          JORGE LUIS MELENDEZ
   244332 MONTANEZ                       REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   244333 JORGE LUIS MERCADO COLLAZO                  REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   680346 JORGE LUIS NIEVES CESAREO                   LOS ALMENDROS                EF 04 CALLE TILO                                                                           BAYAMON             PR           00961
          JORGE LUIS NUNEZ LOPEZ DBA                  CALLE BAUHINIA 248 CUIDAD
   244334 JN                                          JARDIN III                                                                                                              TOA ALTA            PR           00953‐0000
   244335 JORGE LUIS ORTIZ MORALES                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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MML ID               NAME                                      ADDRESS 1                      ADDRESS 2              ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  680348 JORGE LUIS ORTIZ RIVERA                      PO BOX 1170                                                                                                    CIDRA               PR         00739‐1170
  244336 JORGE LUIS PEREZ SERRANO                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  244337 JORGE LUIS PIMENTEL URENA                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  244340 JORGE LUIS RIVERA                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  244342 JORGE LUIS RIVERA FEBRES                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  244343 JORGE LUIS RIVERA RIVERA                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   244344 JORGE LUIS RIVERA SANTIAGO                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   244347 JORGE LUIS RIVERA VELAZQUEZ                 REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680352 JORGE LUIS RODRIGUEZ                        URB VISTAMAR                P 861 CALLE SANTANDER                                                              CAROLINA            PR         00979
          JORGE LUIS RODRIGUEZ
   244348 CONCEPCION                                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JORGE LUIS RODRIGUEZ
   680353 PACHECO                                     HC 03 BOX 13523                                                                                                YAUCO               PR         00698

   244350 JORGE LUIS ROSADO BARREIRO                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244352 JORGE LUIS SANCHEZ TORRES                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JORGE LUIS SANTIAGO
   244353 MALDONADO                                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244356 JORGE LUIS SERRANO TORRES                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680354 JORGE LUIS SIERRA ACOSTA                    URB SANTA JUANA II          E 1 CALLE 3                                                                        CAGUAS              PR         00725

   680355 JORGE LUIS TOLEDO MORALES                   CAPARRA TERRACE             1132 CALLE 16 SE                                                                   SAN JUAN            PR         00922
   680356 JORGE LUIS TORO CINTRON                     BO OBRERO                   410 C/ PESANTE                                                                     SAN JUAN            PR         00912
   244357 JORGE LUIS TORRES IRIZARRY                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680357 JORGE LUIS VAZQUEZ                          MINILLAS STATION            PO BOX 40362                                                                       SAN JUAN            PR         00940
   244359 JORGE LUIS VELEZ MORALES                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680359 JORGE LUIS VELEZ ORTIZ                      PO BOX 127                                                                                                     PORT MONMOUTH       NJ         07758
   680360 JORGE LUIS WEBER ACEVEDO                    1050 AVE LOS CORAZONES      SUITE 102                                                                          MAYAGUEZ            PR         00680‐7042
   680361 JORGE LUZUNARIS VELLON                      P O BOX 5194                                                                                                   HUMACAO             PR         00792
   680362 JORGE M AQUINO SANTIAGO                     SANTA ROSA                  33‐27 CALLE 27                                                                     BAYAMON             PR         00959
   680363 JORGE M AVILES NIEVES                       BO MEMBRILLO                HC 5 BOX 79849                                                                     CAMUY               PR         00627
   244360 JORGE M AZIZE                               REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244361 JORGE M BELTRAN MARTINEZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244362 JORGE M BERMUDEZ VERGE                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244363 JORGE M CANUELAS VARGAS                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   244364 JORGE M CENTENO RODRIGUEZ REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244366 JORGE M DAVILA ORTIZ      REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   679370 JORGE M DEL VALLE CARRION                   URB JARDINES DE PALMAREJO   L 19 CALLE 5                                                                       CANOVANAS           PR         00729
   680365 JORGE M DIAZ RODRIGUEZ                      P O BOX 852                                                                                                    NARANJITO           PR         00719‐0852

   244368 JORGE M EL KOURY FRANCISCO                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244369 JORGE M FARINACCI FERNOS                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680366 JORGE M FERNANDEZ                           PO BOX 9021112                                                                                                 SAN JUAN            PR         00902‐1112
          JORGE M FIGUEROA / MARIA M
   680367 RIVERA DIAZ                                 MAGNOLIA GARDENS            N 35 AVE MAGNOLIA                                                                  BAYAMON             PR         00960
   244370 JORGE M FIGUEROA CORALES                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680368 JORGE M GARCIA                              URB VILLA REALES 399        VIA VERSALLES                                                                      GUAYNABO            PR         00969‐5342

   244371 JORGE M GONZALEZ IRIZARRY                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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MML ID              NAME                                         ADDRESS 1                  ADDRESS 2                      ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  680371 JORGE M MELENDEZ VELEZ                       COND PALMAR DEL RIO          BZN 452 18 AVE ARBOLETA                                                                 GUAYNABO          PR         00969
  680372 JORGE M NATER CENTENO                        BOX 444                                                                                                              BAJADERO          PR         00616
  680373 JORGE M NAZARIO ROJAS                        HC 67 BOX 15245                                                                                                      BAYAMON           PR         00956
  244372 JORGE M NODA LOPEZ                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680374 JORGE M NOGUERA ALVAREZ                      PO BOX 757                                                                                                           RINCON            PR         00677
  679371 JORGE M NU¥EZ RIOS                           PO BOX 359                                                                                                           SABANA HOYOS      PR         00688
  680376 JORGE M ORTIZ TORRES                         IRLANDA HITTE                DN 17 CALLE HUNGRIA                                                                     BAYAMON           PR         00956
  244374 JORGE M PEREZ CASANOVA                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244375 JORGE M QUINONES LOPEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244376 JORGE M RIOS PASTRANA                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680378 JORGE M RIVERA APONTE                        RR2 BOX 5654 3                                                                                                       TOA ALTA          PR         00953‐9606
  244377 JORGE M ROMAN MALAVE                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680380 JORGE M SALGADO MATOS                        PO BOX 9021112                                                                                                       SAN JUAN          PR         00902‐1112
  244378 JORGE M SAN MARTIN                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244379 JORGE M SEGUI HERNANDEZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  679372 JORGE M SOLTERO SCHIMIDT                     PO BOX 362977                                                                                                        SAN JUAN          PR         00936‐2977
  680382 JORGE M SOTO MERCED                          URB TOA ALTA HEIGHTS         Q 33 CALLE 21                                                                           TOA ALTA          PR         00953
  680383 JORGE M SUAREZ LOPEZ                         VILLAS DE CASTRO             R 4 CALLE 15                                                                            CAGUAS            PR         00725

   680384 JORGE M SURO BALLESTER                      1225 AVE PONCE DE LEON PH2                                                                                           SAN JUAN          PR         00907‐3921
   680385 JORGE M TORRES RUIZ                         URB SANTA ELENA              R4 CALLE 18                                                                             GUAYANILLA        PR         00656
   244380 JORGE M TOUS VELA                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679373 JORGE M TRABAL DEL VALLE                    61 RIVERA OLAN BALBOA                                                                                                MAYAGUEZ          PR         00680

   244381 JORGE M. BELTRAN MARTINEZ                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244382 Jorge M. Garcia Carrillo                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244383 JORGE M. ORTIZ RANGEL                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680386 JORGE M. REYES                              P.O. BOX 21635                                                                                                       SAN JUAN          PR         00928
   244384 JORGE M. VEGA COSME                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244385 JORGE MACHADO CONTES                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244386 JORGE MACHADO GUZMAN                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   244387 JORGE MACHADO RODRIGUEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680388 JORGE MACHUCA LAGUNA                        URB LOS MAESTROS 128         C/ HIJA DEL CARIBE                                                                      SAN JUAN          PR         00918
   680389 JORGE MADRIZ BONILLA                        PO BOX 1715                                                                                                          CANOVANAS         PR         00729
   680390 JORGE MAFUZ LIZARDI                         URB MONTECARLO               1316 CALLE 23                                                                           SAN JUAN          PR         00924
   244389 JORGE MALAVE ORTIZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680391 JORGE MALDONADO                             SANTIAGO IGLESIAS            1436 CALLE LUISA CAPETILLO                                                              SAN JUAN          PR         00921
   679374 JORGE MALDONADO COLON                       19 CALLE CARIBE STE 1                                                                                                MANATI            PR         00674
   680394 JORGE MALDONADO CRESPO                      PO BOX 3599                                                                                                          VEGA BAJA         PR         00692

   680395 JORGE MALDONADO DOMENECH 206 SCHOOL ST                                                                                                                           TAUTON            MA         02780
   680396 JORGE MALDONADO NIEVES   HC 1 BOX 2516                                                                                                                           COMERIO           PR         00782
   244390 JORGE MALDONADO RIOS     REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   680397 JORGE MALDONADO ROMERO                      3RA SECC LEVITTOWN           3647 PASEO CONCHA                                                                       TOA BAJA          PR         00949

   244391 JORGE MALDONADO VELAZQUEZ REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   679375 JORGE MANGUAL NIEVES                        12 CAMINO GABINA RODRIGUEZ                                                                                           SAN JUAN          PR         00926‐9177
          JORGE MANUEL MONTANEZ
   244392 GONZALEZ                                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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MML ID                    NAME                                  ADDRESS 1                      ADDRESS 2              ADDRESS 3                           ADDRESS 4              CITY          STATE   POSTAL CODE        COUNTRY
                                                      URB. SANTA JUANITA AF‐20 C/28
   680398 JORGE MANUEL TORRES                         E                                                                                                               BAYAMON             PR           00956
   244396 JORGE MARCANO VAZQUEZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244397 JORGE MARIANI MAESTRE                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680400 JORGE MARIN VEGA                            HC 2 BOX 6983                                                                                                   ADJUNTAS            PR           00601
   680401 JORGE MARQUEZ                               122 CALLE PABLO PIZARRO                                                                                         CAROLINA            PR           00987
   244398 JORGE MARQUEZ CRUZ                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680402 JORGE MARQUEZ MENDEZ                        HC 061 BOX 4859                                                                                                 TRUJILLO ALTO       PR           00976
   680403 JORGE MARRERO                               URB VILLA CAPRI               582 CALLE VERONA A 1                                                              SAN JUAN            PR           00924
   680404 JORGE MARRERO HUERTAS                       URB VILLA ALBA                32 CALLE B                                                                        VILLALBA            PR           00766
   244402 JORGE MARRERO NARVAEZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244403 JORGE MARTINEZ                              REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680406 JORGE MARTINEZ COTTO                        URB BAIROA PARK               L21 PARQUE DEL REY                                                                CAGUAS              PR           00725 1212

   680407 JORGE MARTINEZ GONZALEZ                     RR 6 BOX 11638 CAIMITO ALTO                                                                                     SAN JUAN            PR           00926‐9510

   680408 JORGE MARTINEZ MALDONADO                    PO BOX 1258                                                                                                     BAYAMON             PR           00960
   680409 JORGE MARTINEZ MIRANDA                      HC 2 BOX 7471                                                                                                   OROCOVIS            PR           00720
   244404 JORGE MARTINEZ OTERO                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244405 JORGE MARTINEZ RAMIREZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679376 JORGE MARTINEZ TIRADO                       URB PURPLE TREE               514 CALLE BENAVENTE                                                               SAN JUAN            PR           00926
   244412 JORGE MATOS ABREU                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244413 JORGE MATOS GARCIA                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   679377 JORGE MATOS MIRANDA                         PO BOX 762                                                                                                      MANATI              PR           00674
   244415 JORGE MATOS REYES                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680410 JORGE MATOS RODRIGUEZ                       URB VILLAS DE RIO GRANDE      K 1 CALLE 2                                                                       RIO GRANDE          PR           00745
   244417 JORGE MEDERO ROLDAN                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680411 JORGE MEDINA DIAZ                           PO BOX 1810                                                                                                     MOCA                PR           00676
   679378 JORGE MEDINA VELEZ                          PO BOX 641                                                                                                      HORMIGUEROS         PR           00660
   244419 JORGE MEJIA VALLE                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244420 JORGE MEJIAS VARGAS                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680415 JORGE MELENDEZ                              PO BOX 11636                                                                                                    SAN JUAN            PR           00922‐1636
   680417 JORGE MELENDEZ CABASSA                      P O BOX 718                                                                                                     MAYAGUEZ            PR           00681‐0718
   244423 JORGE MELENDEZ GARCIA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680418 JORGE MELENDEZ IRRIZARRY                    HC‐55 BOX 8815                                                                                                  CEIBA               PR           00735‐8815
   244424 JORGE MELENDEZ JIMENEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244425 JORGE MELENDEZ VEGA                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244427 JORGE MENDEZ CINTRON                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244429 JORGE MENDEZ ESTEVES                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680422 JORGE MENDEZ PONCE                          PO BOX 1711                                                                                                     LARES               PR           00669‐1711
   244430 JORGE MENDEZ RAMIREZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244434 JORGE MERCADO ADORNO                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680423 JORGE MERCADO GONZALEZ                      P O BOX 21                                                                                                      QUEBRADILLAS        PR           00678
   680424 JORGE MERCADO ROMAN                         VILLA CADIZ                   576 CALLE DURCAL                                                                  SAN JUAN            PR           00923
          JORGE MIGUEL ROSNER
   244437 MCGUIRE                                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680426 JORGE MILLAN RIVERA                         HC 03 BOX 6655                                                                                                  HUMACAO             PR           00791
   680428 JORGE MIRANDA                               PO BOX 51558                                                                                                    TOA BAJA            PR           00950
   244438 JORGE MIRANDA ALICEA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244439 JORGE MIRANDA LOPEZ                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680429 JORGE MIRANDA MARTINEZ                      HC 1 BOX 7700                                                                                                   SAN GERMAN          PR           00683
   680431 JORGE MIRANDA SOTO                          SICOSOCIAL CAYEY                                                                                                Hato Rey            PR           009360000
   244440 JORGE MOLINA GONZALEZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  680432 JORGE MOLINA MOLINA                          BO SAN LUIS                49 CALLE PALESTINA                                                                    AIBONITA            PR         00705
  244443 JORGE MONTALVO CRUZ                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      1000 COND PARQUE JULIANA
   680433 JORGE MONTALVO GARCIA                       APT 1006                                                                                                         CAROLINA            PR         00987‐8244
   680434 JORGE MONTALVO LOZADA                       BO INGENIO                 26C CALLE MARIBU                                                                      TOA BAJA            PR         00949
   244444 JORGE MONTALVO PEREZ                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244445 JORGE MONTALVO SANCHEZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244447 JORGE MONTANEZ GUZMAN                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244448 JORGE MONTERO PAGAN                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244449 JORGE MONTESINO ROSARIO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680437 JORGE MORALES ACOSTA                        PO BOX 7126                                                                                                      PONCE               PR         00732
   680438 JORGE MORALES ARROYO                        RES MARGARITAS II          EDIF 5 APTO 561                                                                       SAN JUAN            PR         00915
   680439 JORGE MORALES CARDONA                       HC 01 BOX 12332                                                                                                  SAN SEBASTIAN       PR         00685
   680440 JORGE MORALES CASTILLO                      URB ROSA MARIA             E 22 CALLE 4                                                                          CAROLINA            PR         00985
   680442 JORGE MORALES MELENDEZ                      VISTA DEL MORRO            B 18 CALLE PITIRRE                                                                    CATANO              PR         00962
  1256604 JORGE MORALES MORALES                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244452 JORGE MULERO MORALES                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244453 JORGE MUNIZ RIVERA                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680444 JORGE N CINTRO VEGA                         BO MAGINAS                 50 CALLE ROBLE                                                                        SABANA GRANDE       PR         00637
   244455 JORGE N MOLINA TORRES                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680445 JORGE N PEREZ VENTO                         HACIENDA BORINQUEN         PALMA 809                                                                             CAGUAS              PR         00725
   680446 JORGE N RIVERA RIVERA                       BO LOS POLLOS              BUZ 6470                                                                              PATILLAS            PR         00723
   680447 JORGE NARVAEZ                               HC 71 BOX 2276                                                                                                   NARANJITO           PR         00719‐9704
   680450 JORGE NAZARIO LUGO                          3205 AVE ISLA VERDE        COND THE GALAXY APT 1205                                                              CAROLINA            PR         00979
   244456 JORGE NAZARIO ORTIZ                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JORGE NAZARIO RODRGZ DBA
   680451 COMPUTER EXPERT                             PO BOX 70198                                                                                                     SAN JUAN            PR         00936
   244457 JORGE NAZARIO SANTIAGO                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680452 JORGE NEGRON                                URB VILLA DEL CARMEN       ZZ 26 CALLE 7                                                                         PONCE               PR         00731
   244458 JORGE NEGRON CINTRON                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244459 JORGE NEGRON NIEVES                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680454 JORGE NEGRON ORTIZ                          HC 03 BOX 8849                                                                                                   BARANQUITAS         PR         00794
   680455 JORGE NEGRON ROSADO                         P O BOX 245                                                                                                      NARANJITO           PR         00719
   680456 JORGE NEGRON TORO                           PO BOX 253                                                                                                       GUAYNABO            PR         00970
   244461 JORGE NEGRON VELAZQUEZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244462 JORGE NEGRON VELEZ                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680459 JORGE NIEVES HUERTAS                        RR 03 BOX 10557                                                                                                  TOA ALTA            PR         00953
   680460 JORGE NIEVES NERIS                          URB SANTA CLARA            Q 6 CALLE PALMA REAL                                                                  SAN JUAN            PR         00969
   680461 JORGE NIEVES RIVERA                         PO BOX 424                                                                                                       ADJUNTAS            PR         00601
   680462 JORGE NIEVES RODRIGUEZ                      P O BOX 1515                                                                                                     CANOVANAS           PR         00729
   680463 JORGE NIEVES ROLDAN                         PO BOX 922                                                                                                       YABUCOA             PR         00767
   680464 JORGE NIEVES SOTO                           HC 02 BOX 25632                                                                                                  CAMUY               PR         00627
   244468 JORGE NODA LOPEZ                            REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244469 JORGE NOGALES MARIN                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244470 JORGE NUNEZ BURGOS                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244471 JORGE O ACEVEDO GUZMAN                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JORGE O CARABALLO/ SYLVIA I
   244472 PEREZ MOLINA                                REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244473 JORGE O CHABRIER ROSELLO                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244474 JORGE O CRESPO LEBRON                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680467 JORGE O DUMONT ORTIZ                        219 CALLE SAN LORENZO                                                                                            SAN JUAN            PR         00926
   680468 JORGE O GUZMAN                              PO BOX 5                   OFIC. SUPTE. TOA BAJA 1                                                               TOA BAJA            PR         00949
   680469 JORGE O LUGO FIGUEROA                       PO BOX 371                                                                                                       CIDRA               PR         00739



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MML ID               NAME                                       ADDRESS 1                   ADDRESS 2                      ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  680470 JORGE O MARRERO COLON                        URB VILLAS DE MONTE         59 CALLE MONTE REAL                                                                      TOA ALTA            PR         00953
  244475 JORGE O MATOS COLON                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  244476 JORGE O OCASIO CINTRON                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  244477 JORGE O PAGAN MAYSONET                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  244478 JORGE O QUINONEZ MERCED                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JORGE O RIVERA / AUREA
  680472 MARRERO                                      BO HATO NUEVO SEC LA VEREDA CARR 834 KM 3 9                                                                          GUAYNABO            PR         00971
  680473 JORGE O ROBLES IRIZARRY                      URB OLIVENCIA               20 CALLE CLAUDINO COLON                                                                  SAN SEBASTIAN       PR         00685

   680474 JORGE O RODRIGUEZ MEDINA                    HC 01 BOX 5222                                                                                                       SANTA ISABEL        PR         00757
          JORGE O RODRIGUEZ
   244479 RODRIGUEZ                                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680466 JORGE O SANCHEZ RIVERA                      URB VONERVILLE TERRACE      F‐13 CALLE 2                                                                             CAGUAS              PR         00725
                                                      URB MIRADOR
   680475 JORGE O SANTOS LEBRON                       UNIVERSITARIOH5 CALLEC                                                                                               CAYEY               PR         00736
   680476 JORGE O SOSA RAMIREZ                        P O BOX 1389                                                                                                         MAYAGUEZ            PR         00681
   680478 JORGE O TORRES GUZMAN                       PO BOX 7278                                                                                                          CAGUAS              PR         00726
   680479 JORGE O VALIENTE PAGAN                      PO BOX 3598                                                                                                          JUNCOS              PR         00777‐2787
   244480 JORGE O. CHABRIER ROSELLO                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244481 JORGE O. ZAMBRANA NIEVES                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244482 JORGE OBEN ABREU                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JORGE OCASIO DBA OCASIO BUS
   244483 SEVICE                                      AREA DE TESORO              DIVISION DE RECLAMACIONES                                                                SAN JUAN            PR         00902‐4140
   244485 JORGE OCASIO GUZMAN                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JORGE OCASIO GUZMAN DBA                     CALLE C D ‐ 9 URB. LA
   244487 OCASIO BUS LINE                             MILAGROSA                                                                                                            BAYAMON             PR         00959‐0000
   244488 JORGE OCASIO ORTIZ                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244489 JORGE OCASIO RIVERA                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680482 JORGE OJEDA RIVERA                          RR 7 BOX 7527                                                                                                        SAN JUAN            PR         00926
   244491 JORGE OLIVER ARCHITECS AIA                  PO BOX 958                                                                                                           ISABELA             PR         00662
   244492 JORGE OLIVER VELAZQUEZ                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680484 JORGE OLIVO ZAYAS                           DORAVILLE                   SECC 1 BLQ 1 39                                                                          DORADO              PR         00646
   244494 JORGE OMAR ORTIZ VIADER                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244495 JORGE ORENGO TROCHE                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680487 JORGE OROZCO RODRIGUEZ                      VILLA PALMERA               248 CALLE APONTE                                                                         SAN JUAN            PR         00915
          JORGE ORTIZ /MARILYN
   680489 MARTINEZ RAMOS                              PO BOX 602                                                                                                           PONCE               PR         00780
   244496 JORGE ORTIZ CLASS                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244497 JORGE ORTIZ MARTINEZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244498 JORGE ORTIZ MELENDEZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680492 JORGE ORTIZ MURIAS                          PO BOX 8720                                                                                                          SAN JUAN            PR         00910‐8720
   244499 JORGE ORTIZ NUNEZ                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680494 JORGE ORTIZ PIZARRO                         HC 1 BOX 4658                                                                                                        LOIZA               PR         00772
   244500 JORGE ORTIZ RIVERA                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244501 JORGE ORTIZ ROSARIO                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                  I21 CALLE RIO BAUTA URB RIO
   680496 JORGE ORTIZ SANCHEZ                         RIO HONDO                   HONDO 1                                                                                  BAYAMON             PR         00961
   680497 JORGE ORTIZ SANTANA                         RES. VARONES S.J.                                                                                                    Hato Rey            PR         009360000
   244502 JORGE ORTIZ TORRES                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680499 JORGE ORTIZ VAZQUEZ                         HC 01 BOX 120                                                                                                        COAMO               PR         00769

   680502 JORGE OSCAR ROSA LUGARDO                    COND QUINTANA               EDIF A APTO 613                                                                          SAN JUAN            PR         00917
   680503 JORGE OSORIO ANDINO                         HP ‐ SALA 5 BAJOS VARONES                                                                                            RIO PIEDRAS         PR         009360000



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  244510 JORGE OTERO LOZADA                           REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244511 JORGE OTERO QUINTANA                         REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680504 JORGE OTERO TORRES                           JARDINES DEL CARIBE      108 CALLE 1                                                                           PONCE              PR         00731
  680505 JORGE OTERO VELAZQUEZ                        BO GUAVATE 22550                                                                                               CAYEY              PR         00736
  680506 JORGE OYOLA AVILES                           BOX 4255                                                                                                       VEGA BAJA          PR         00694
  680507 JORGE P SALA COLON                           COND SAN VICENTE 8169    CALLE CONCORDIA STE 102                                                               PONCE              PR         00717‐1556
  680509 JORGE PACHECO FUENTES                        BO GUAVATE 22550                                                                                               CAYEY              PR         00736
  680512 JORGE PADILLA MARTINEZ                       URB LOS ALMENDROS        EE 2 CALLE PINO                                                                       BAYAMON            PR         00960
  680513 JORGE PADILLA RODRIGUEZ                      PO BOX 1127                                                                                                    CABO ROJO          PR         00623
  680514 JORGE PADILLA TORO                           P O BOX 529                                                                                                    CABO ROJO          PR         00623
  244513 JORGE PADRON VALLE                           REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680515 JORGE PAGAN APONTE                           URB MONTE VERDE          316 CALLE MONTE                                                                       MANATI             PR         00674
  244515 JORGE PAGAN COSME                            REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680518 JORGE PAGAN RIVERA                           URB VILLA PRADES         833 CALLE JESUS GARCIA    NUNEZ                                                       SAN JUAN           PR         00924
  244516 JORGE PAGAN TORRES                           REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680519 JORGE PAGAN VALENTIN                         PO BOX 2300                                                                                                    SAN JUAN           PR         00902
  680521 JORGE PAGAN VILLANUEVA                       URB CAMPAMENTO           10 CALLE A                                                                            GURABO             PR         00778
 1420118 JORGE PAGÁN, GLENDA                          GENOVEVA VALENTIN SOTO   PO BOX 13695                                                                          SAN JUAN           PR         00908‐3695
  680522 JORGE PALACIOS APONTE                        URB LA MERCED            456 CALLE ALVERIO                                                                     SAN JUAN           PR         00918
  244521 JORGE PALACIOS BUXO                          REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680523 JORGE PALOU                                  P O BOX 192502                                                                                                 SAN JUAN           PR         00919 2502
  244522 JORGE PAOLI BRUNO                            REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680525 JORGE PARDO                                  475 GIN LIN WAY                                                                                                LOS ANGELES        CA         90082
  244524 JORGE PARDO SANTIAGO                         REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244525 JORGE PARIS LOPEZ                            REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244526 JORGE PARRILLA CONDE                         REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244527 JORGE PASARELL JULIAO                        REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680526 JORGE PATRON MARTINEZ                        CAMPO ALEGRE             6 CALLE ORQUIDEAS                                                                     LARES              PR         00669
  244528 JORGE PAZOL HERNANDEZ                        REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244529 JORGE PEðA LOPEZ                             REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244530 JORGE PELEGRINA SOEGAARD                     REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680530 JORGE PEREZ ANTOYORYI                        BO GUAVATE 22550                                                                                               CAYEY              PR         00736
  244533 JORGE PEREZ BURGOS                           REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244534 JORGE PEREZ CASANOVA                         REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244535 JORGE PEREZ CRUZ                             REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680532 JORGE PEREZ DE ARMAS                         P O BOX 50179            LEVITOWN                                                                              TOA BAJA           PR         00950‐0179
  244536 JORGE PEREZ DIEGUEZ                          REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244537 JORGE PEREZ GONZALEZ                         REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244538 JORGE PEREZ HERNANDEZ                        REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244539 JORGE PEREZ LOPEZ                            REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680534 JORGE PEREZ MONTES                           HC 8 BOX 13045                                                                                                 PONCE              PR         00731
  244540 JORGE PEREZ MUðOZ                            REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680535 JORGE PEREZ ORTIZ                            P O BOX 989                                                                                                    OROCOVIS           PR         00720
  244543 JORGE PEREZ PEREZ                            REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244544 JORGE PEREZ QUINONES                         REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680536 JORGE PEREZ RIVERA                           P O BOX 50778                                                                                                  TOA BAJA           PR         00950
  680537 JORGE PEREZ RODRIGUEZ                        HC 1 BOX 5652                                                                                                  VILLALBA           PR         00766
  680538 JORGE PEREZ VAZQUEZ                          P O BOX 1413                                                                                                   CIDRA              PR         00739
  244545 JORGE PEREZ VELAZQUEZ                        REDACTED                 REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   680540 JORGE PIBERNUS ORTIZ                        URB SANTA RITA           226 CALLE SAN RAMON NONATO                                                            COTO LAUREL        PR         00780‐2867
   244546 JORGE PINERO VIERA                          REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   244547 JORGE PIRIS ARROYO                          REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  680541 JORGE PIZARRO OSORIO                         BOX 1441                                                                                                        JUANA DIAZ        PR         00795
  244548 JORGE PIZARRO ROSADO                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244549 JORGE PLAZA                                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680545 JORGE PLAZA BOSCANA                          PO BOX 14                                                                                                       JUANA DIAZ        PR         00795
  680547 JORGE POZAS NET                              URB VILLA DEL CARMEN          F7 CALLE 2                                                                        PONCE             PR         00731
  244552 JORGE PRATS PADILLA                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244553 JORGE PUIG RAMIREZ                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244554 JORGE QUILES MALDONADO                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244555 JORGE QUINONES FELIX                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244556 JORGE QUINONES RAMIREZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244557 JORGE QUINONES TORRES                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244560 JORGE QUINTANA BRITO                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244564 JORGE QUIRSOLA LUCENA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   244565 JORGE R ASENCIO MONTALVO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244567 JORGE R BERTRAN                             REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244568 JORGE R CABRERA OLIVERAS                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244569 JORGE R CAEZ DIAZ                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680551 JORGE R CANTRES TORRES                      URB CAMBRIDGE PARK            C 7 AVE CHESNUT HILL                                                              SAN JUAN          PR         00926
   680552 JORGE R COLLADO / PUBALLI                   URB ESTANCIAS DEL RIO         D 21 GUAMANI                                                                      HORMIGUEROS       PR         00660
   680553 JORGE R COLON BURGOS                        PO BOX 1532                                                                                                     JUANA DIAZ        PR         00795
   680555 JORGE R CORCINO                             PO BOX 364102                                                                                                   SAN JUAN          PR         00936‐4102
   680556 JORGE R DE JESUS                            ENSANCHE RAMIREZ              282 CALLE MIRAMAR                                                                 MAYAGUEZ          PR         00682

   680557 JORGE R DIAZ                                COND MONTESILLO II APT 3805   2 VIA PEDREGAL                                                                    TRUJILLO ALTO     PR         00976
   244570 JORGE R DIAZ AQUINO                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244571 JORGE R ESPADA ACOSTA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680558 JORGE R FERNANDEZ DIAZ                      PO BOX 3115                                                                                                     BAYAMON           PR         00960
   244573 JORGE R GARCIA CRUZ                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244574 JORGE R GARCIA SAIS                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680559 JORGE R GILETE SOSA                         CROWN HILLS                   1784 CALLE GUAMANI                                                                SAN JUAN          PR         00926
   244575 JORGE R GUERRA RODRIGUEZ                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680560 JORGE R HERNANDEZ FAVALE                    704 AVE HIPODROMO                                                                                               SAN JUAN          PR         00928

   680561 JORGE R JORDAN MALDONADO   BO VIVI ABAJO SECT EL QUENEPO CARR 111 KM 5 H 3                                                                                  UTUADO            PR         00641
                                     URB VILLA FONTANA 2 RR 464
   680563 JORGE R LARRACHE RODRIGUEZ VIA 1                                                                                                                            CAROLINA          PR         00983
   680564 JORGE R LOZADA RIVERA      SANTA JUANITA                 H 9 VISALIC                                                                                        BAYAMON           PR         00956
   244578 JORGE R MARTINEZ SANCHEZ   REDACTED                      REDACTED                                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244579 JORGE R MATOS FIGUEROA     REDACTED                      REDACTED                                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680567 JORGE R MEDINA RIVERA      URB ROYAL PALM                IL 13 CALLE PALMA REAL                                                                             BAYAMON           PR         00956
          JORGE R MENDEZ Y HAYDEE
   244580 CUELLAR                    REDACTED                      REDACTED                                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244581 JORGE R ORTIZ ESPADA       REDACTED                      REDACTED                                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244582 JORGE R ORTIZ SANTIAGO     REDACTED                      REDACTED                                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244584 JORGE R OSORIO CALDERON    REDACTED                      REDACTED                                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244585 JORGE R QUINTANA LAJARA    REDACTED                      REDACTED                                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   244586 JORGE R RAMIREZ MONTALVO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680569 JORGE R RIVERA DIAZ                         URB LA RIVERA 1276            CALLE 56 SE                                                                       SAN JUAN          PR         00921
   244587 JORGE R RIVERA GALINDEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244588 JORGE R RIVERA ORTEGA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680570 JORGE R ROBLES IRIZARRY                     PO BOX 141717                                                                                                   ARECIBO           PR         00614



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   680572 JORGE R RODRIGUEZ MARTINEZ                  LOS CACIQUES               261 CALLE Y UISA                                                                        CAROLINA            PR           00987
   244589 JORGE R RODRIGUEZ VEGA                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680573 JORGE R ROMAN VEGA                          HC 01 BOX 4257                                                                                                     VILLALBA            PR           00766
   680574 JORGE R SAES VEGA                           HC BOX 10654                                                                                                       COAMO               PR           00769
   244590 JORGE R URRUTIA VALLES                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244592 JORGE R. DE JESUS SANTOS                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244595 JORGE R. JANER MELENDEZ                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244597 Jorge R. QuiNones Alvárez                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   680575 JORGE R. SANTIAGO RODRIGUEZ P O BOX 5209                                                                                                                       SAN SEBASTIAN       PR           00685
   244599 JORGE R. VAZQUEZ            REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

          JORGE
   244600 R.GONZALEZ\COMPUTRONICA                     232 CALLE 19 NE                                                                                                    PUERTO NUEVO        PR           00920
          JORGE RAFAEL COLLAZO
   680576 SANCHEZ                                     PO BOX 1494                                                                                                        COAMO               PR           00769
   244601 JORGE RAFAEL COLON TORO                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   244604 JORGE RAFAEL RIVERA SERRANO REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244605 JORGE RAMIREZ BREAWLEY      REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   244606 JORGE RAMIREZ DE ARELLANO                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680577 JORGE RAMIREZ GONZALEZ                      BO MANI CARR 64 BOX 5432                                                                                           MAYAGUEZ            PR           00680
   680578 JORGE RAMIREZ MONTALVO                      HC 01 BOX 29030                                                                                                    CAGUAS              PR           00725
   244607 JORGE RAMIREZ PORTELA                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680579 JORGE RAMIREZ TORO                          HC‐1 BOX 8448                                                                                                      LAJAS               PR           00667
                                                                                 14B CALLE TRUJILLO BO JUAN
   680580 JORGE RAMOS                                 JUAN DOMINGO               DOMINGO                                                                                 GUAYNABO            PR           00966
   680582 JORGE RAMOS FONTAN                          URB VILLA FONTANA          2 AL113 VIA 6                                                                           CAROLINA            PR           00984
   680581 JORGE RAMOS MOLINARI                        107 CALLE JOSE DE DIEGO                                                                                            AGUADILLA           PR           00603
   680584 JORGE RAMOS MONTA¥EZ                        URB MUNOZ RIVERA           7 CALLE AZALEA                                                                          GUAYNABO            PR           00969
   680585 JORGE RAMOS ORTEGA                          JARDINES METROPOLITANO     329 AVE AMERICO MIRANDA                                                                 SAN JUAN            PR           00927
   244609 JORGE RAMOS PENA                            REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244610 JORGE RAMOS RAMOS                           REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680586 JORGE RAMOS RIVERA                          URB LIRIOS CALA            R 299 CALLE SAN AGUSTIN                                                                 JUNCOS              PR           00777
   244612 JORGE RAMOS RODRIGUEZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244614 JORGE RAMOS VAZQUEZ                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680588 JORGE RENTA MELENDEZ                        BOX 824                                                                                                            JUANA DIAZ          PR           00795
   244616 JORGE RENTAS VARGAS                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244617 JORGE RESTO ADORNO                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680589 JORGE REVERON RAMOS                         PO BOX 500                                                                                                         QUEBRADILLAS        PR           00678
   680590 JORGE REYES GONZALEZ                        ISLOTE                     HC 01 BOX 11172 L                                                                       ARECIBO             PR           00612
   680591 JORGE RICARDO MELENDEZ                      URB BAIROA                 GOLDEN GATE I                                                                           CAGUAS              PR           00727
   244619 JORGE RIERA GONZALEZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244620 JORGE RIGAU                                 REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   244622 JORGE RIGAU ARQUITECTOS PSC 67 1ER PISO                                CALLE LOS BANOS                                                                         SAN JUAN            PR           00911
   244623 JORGE RIOS OYOLA            REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680592 JORGE RIOS PIMENTEL         PARC CALDERONA                             C L 747158                                                                              CEIBA               PR           00735
   680593 JORGE RIVAS TORRES          300 E ASH LANE APT 1328                                                                                                            EULESS              TX           76039‐2407
   680595 JORGE RIVERA                URB PUERTO NUEVO                           524 CLAPEPINOS                                                                          SAN JUAN            PR           00920
   680596 JORGE RIVERA ALVARADO       URB JARDINES DE CAPARRA                    Q 22 CALLE 31                                                                           BAYAMON             PR           00959



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  680597 JORGE RIVERA CAMARGO                         P O BOX 461                                                                                                        MAYAGUEZ          PR         00681
  244624 JORGE RIVERA COLON                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244625 JORGE RIVERA CRUZ                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680600 JORGE RIVERA DIAZ                            P O BOX 7126                                                                                                       PONCE             PR         00732
  680601 JORGE RIVERA GARCIA                          P O BOX 671                                                                                                        BARRANQUITAS      PR         00794
  680602 JORGE RIVERA JIMENEZ                         COND PACIFIC MINOR APT 4A   613 CALLE ARECIBO                                                                      SAN JUAN          PR         00907
  680603 JORGE RIVERA MIRANDA                         86 PASEO TORRE ALTA                                                                                                BARRANQUITAS      PR         00794
  244626 JORGE RIVERA MOJICA                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680605 JORGE RIVERA NIEVES                          PO BOX 3284                                                                                                        SAN JUAN          PR         00902

   680606 JORGE RIVERA ORTIZ                          BO PUGNADO RFD BUZON 6401                                                                                          MANATI            PR         00674
   244627 JORGE RIVERA PACHECO                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680608 JORGE RIVERA PEREZ                          P O BOX 41269               MINILLAS STATION                                                                       SAN JUAN          PR         00940‐1269
   680609 JORGE RIVERA RAMOS                          HC 08 BOX 38804                                                                                                    CAGUAS            PR         00725
   680610 JORGE RIVERA RIOS                           EL CONQUISTADOR             I 30 AVE HERNANDEZ CORTEZ                                                              TRUJILLO ALTO     PR         00976
   244628 JORGE RIVERA RIVERA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244630 JORGE RIVERA RODRIGUEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244632 JORGE RIVERA ROLON                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244633 JORGE RIVERA SANTIAGO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680617 JORGE RIVERA STATION                        P.O.BOX 6587                                                                                                       CAGUAS            PR         00726
          JORGE RIVERA SURILLO & CO
   680618 INC.                                        PO BOX 20665                                                                                                       SAN JUAN          PR         00928‐0665
   680619 JORGE RIVERA TORRES                         PO BOX 1256                                                                                                        GUANICA           PR         00653
   244634 JORGE RIVERA TRINIDAD                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680622 JORGE RIVERA VAZQUEZ                        BO RABANAL                  CARR 173 KM 8 BOX 2761                                                                 CIDRA             PR         00739
          JORGE RIVERA Y BENEDICTA
   680623 RIVERA                                      VILLA JUSTICIA              M7 CALLE DELGADO                                                                       CAROLINA          PR         00986
   244635 JORGE RIVERA ZAYAS                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244649 JORGE ROBLES DURAND                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680624 JORGE ROBLES MENDEZ                         HC‐01 BOX 8173                                                                                                     TOA BAJA          PR         00949

   680625 JORGE ROBLES SANCHEZ        CARR 149 RAMAL 615 KM 8 H 3                                                                                                        CIALES            PR         00638
   244650 JORGE ROCA                  REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680626 JORGE ROCAFORT              PO BOX 22082                                                                                                                       SAN JUAN          PR         00931
   680628 JORGE RODRIGUEZ             URB CAPARRA TER                             1520 AVE AMERICO MIRANDA                                                               SAN JUAN          PR         00921
   680630 JORGE RODRIGUEZ APONTE      URB BELLO MONTE                             5A CALLE P 19                                                                          GUAYNABO          PR         00969
   680631 JORGE RODRIGUEZ BERRIOS     BDA OLIMPO                                  708 CALLE A                                                                            GUAYAMA           PR         00784
          JORGE RODRIGUEZ BERRIOS DBA
   244651 JR AUTO AIR                 RR 11 BOX 3867                                                                                                                     BAYAMON           PR         00956
   244652 JORGE RODRIGUEZ CASTRO      REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   680632 JORGE RODRIGUEZ COLLAZO                     MSC 531                     138 AVE WINSTON CHURCHILL                                                              SAN JUAN          PR         00926
   680633 JORGE RODRIGUEZ CRUZ                        HC 03 BOX 12771                                                                                                    CAROLINA          PR         00987
   244653 JORGE RODRIGUEZ DAVID                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244654 JORGE RODRIGUEZ DE JESUS                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244655 JORGE RODRIGUEZ FEBO                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   680634 JORGE RODRIGUEZ FERNANDEZ                   URB VALLE ALTO              1762 CALLE LLANURA                                                                     PONCE             PR         00730‐4137

   680636 JORGE RODRIGUEZ FRATICELLI                  VILLA NEVAREZ               349 CALLE 16                                                                           SAN JUAN          PR         00927
   680637 JORGE RODRIGUEZ GARCIA                      PO BOX 1171                                                                                                        CIALES            PR         00638

   680638 JORGE RODRIGUEZ JIMENEZ                     COND PARQUE LAS ORQUIDEAS   EDIF 3 APT 29                                                                          CAROLINA          PR         00987



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  244656 JORGE RODRIGUEZ MELANI                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  680639 JORGE RODRIGUEZ ORS                          1562 CALLE 4 SO              CAPARRA TERRACES                                                                        SAN JUAN            PR         00921
  244657 JORGE RODRIGUEZ PAGAN                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  244658 JORGE RODRIGUEZ PEREZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   244659 JORGE RODRIGUEZ QUINONES                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   244660 JORGE RODRIGUEZ RODRIGUEZ                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   244661 JORGE RODRIGUEZ ROMAN                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   680641 JORGE RODRIGUEZ SANCHEZ                     URB VILLA EVANGELINA         292 CALLE 16                                                                            MANATI              PR         00679

   244662 JORGE RODRIGUEZ SANDOVAL                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   244663 JORGE RODRIGUEZ SANTIAGO                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   244664 JORGE RODRIGUEZ VELEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JORGE RODRIGUEZ Y JUANA
   244666 NOYOLA                                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JORGE RODRIGUEZ Y/O GAYTA
   244667 MOTORS                                      APT 1002                                                                                                             YAUCO               PR         00698
          JORGE ROLANDO QUINTANA
   244679 LAJARA                                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   680644 JORGE ROLGER REYES                          COND PARQUE DE LAS FUENTES   690 C/CESAR GONZALEZ APT 2                                                              SAN JUAN            PR         00918
   244680 JORGE ROLON MERCADO                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   680645 JORGE ROLON SANTIAGO                        PO BOX 5894                                                                                                          CIDRA               PR         00739
   680646 JORGE ROMAN FIGUEROA                        PO BOX 56                                                                                                            AGUADA              PR         00602
   680647 JORGE ROMERO CRUZ                           PO BOX 315                                                                                                           CIDRA               PR         00739
   244682 JORGE ROS DANGER                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   244683 JORGE ROSA CARDONA                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JORGE ROSA CRUZ / SONIA
   680650 MERCED RODRIGUEZ                            URB SAN ANTONIO              61 CALLE 2                                                                              AGUAS BUENAS        PR         00703
   244685 JORGE ROSA RIVERA                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   680651 JORGE ROSA SANTONI                          A 21 SAN JOSE                                                                                                        AGUADA              PR         00602
   244687 JORGE ROSADO                                REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   680653 JORGE ROSADO MENDEZ                         BO VEGA                      25102 CALLE REMIGIO COLON                                                               CAYEY               PR         00736
   244688 JORGE ROSADO ROSADO                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   244689 JORGE ROSADO SOTO                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   244691 JORGE ROSARIO CORTES                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   680656 JORGE ROSARIO ORTIZ                         HC 30 BOX 32355                                                                                                      SAN LORENZO         PR         00754
   244692 JORGE ROSARIO TORRES                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   680658 JORGE ROSARIO VAZQUEZ                       URB METROPOLIS 15 CALLE 3A                                                                                           CAROLINA            PR         00987
   680659 JORGE ROSAS LOPEZ                           15 AVE PASCUAL ROSA AVILES                                                                                           CAMUY               PR         00627
   680660 JORGE ROSELLO                               2 ALMENDARES CONDADO                                                                                                 SAN JUAN            PR         00902
   680661 JORGE RUIZ                                  BO LOPEZ BZN 2474                                                                                                    AGUIRRE             PR         00704
   244693 JORGE RUIZ CANDELARIA                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   680664 JORGE RUIZ CASTILLO                         LUQUILLO MAR                 DD 39 CALLE A                                                                           LUQUILLO            PR         00773
   244694 JORGE RUIZ DE JESUS                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   244695 JORGE RUIZ MENENDEZ                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   680668 JORGE RUIZ RODRIGUEZ                        BO ARENAS                    HC 1 BOX 4674                                                                           LAS PIEDRAS         PR         00771
   244696 JORGE RUIZ VALENTIN                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   244698 JORGE S ALICEA LOPEZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   680670 JORGE S LASALDE NEGRON                      URB JARDINES FAGOT           R 26 CALLE 15                                                                           PONCE               PR         00731



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  680671 JORGE S MENDOZA RAMIREZ                      CALLE 28 ESTE SS‐27                                                                                                    BAYAMON             PR         00956
  244699 JORGE S PABON MATEO                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   680673 JORGE S. GARCIA VARGAS                      P.O. BOX 391 SABANA STATION                                                                                            TOA BAJA            PR         00949
   244700 JORGE S. ORTEGA                             REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244701 JORGE SABATER CLAVELL                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244703 JORGE SAGARDIA ABREU                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680675 JORGE SALGADO ROSADO                        BARRIO OBRERO                 413 CALLE LUTZ                                                                           SAN JUAN            PR         00915
   680676 JORGE SAMALOT LABOY                         URB EL PLANTIO                N‐4 CALLE 1 B                                                                            TOA BAJA            PR         00949‐4468
   680677 JORGE SANCHEZ                               HC 01 BOX 3446                                                                                                         JAYUYA              PR         00664
   244705 JORGE SANCHEZ GONZALEZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680679 JORGE SANCHEZ QUINTANA                      P O BOX 25152                                                                                                          SAN JUAN            PR         00928‐5152
   244706 JORGE SANCHEZ RIVERA                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680678 JORGE SANCHEZ SANTIAGO                      PO BOX 8883                                                                                                            CAGUAS              PR         00726
   680681 JORGE SANTANA                               1116 AVE PONCE DE LEON                                                                                                 SAN JUAN            PR         00907
   244709 JORGE SANTANA MEDINA                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244710 JORGE SANTANA SANCHEZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680682 JORGE SANTIAGO                              LAKE VIEW ESTATES             4000 AVE SUITE 49                                                                        CAGUAS              PR         00725‐3360
   680684 JORGE SANTIAGO ALGARIN                      CSM San Patricio                                                                                                       Hato Rey            PR         00936
   680685 JORGE SANTIAGO ARCE                         PO BOX 21088                                                                                                           SAN JUAN            PR         00928‐1088
   244711 JORGE SANTIAGO BERNARD                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   680686 JORGE SANTIAGO CANET                        232 AVE ELEONOR ROOSEVELT                                                                                              SAN JUAN            PR         00907
   680687 JORGE SANTIAGO INC                          PO BOX 399                                                                                                             MERCEDITA           PR         00715‐0399
   679379 JORGE SANTIAGO MARRERO                      PO BOX 402                                                                                                             MERCEDITA           PR         00715‐0402
   680689 JORGE SANTIAGO MATOS                        JARDINES DE COUNTRY CLUB      B S 24 CALLE 123                                                                         CAROLINA            PR         00983
   244713 JORGE SANTIAGO SALCEDO                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680690 JORGE SANTINI BADILLO                       HC 57 BOX 9652                                                                                                         AGUADA              PR         00602‐9710
   680691 JORGE SANTOS                                RR 8 BOX 1995                                                                                                          BAYAMON             PR         00956
   244714 JORGE SANTOS BERRIOS                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   679380 JORGE SANTOS MALDONADO                      PO BOX 524                                                                                                             GAROCHALES          PR         00652 0524
   244715 JORGE SANTOS REYES                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                    497 AVE EMILIANO POL URB LA
   680692 JORGE SANTOS RIVERA                         PO BOX 568                    CUMBRE                                                                                   SAN JUAN            PR         00926
   680693 JORGE SANTOS VAZQUEZ                        P O BOX 962                                                                                                            COMERIO             PR         00782
  1420119 JORGE SANTOS, DAVID                         EDWIN RIVERA MALDONADO        PO BOX 363928                                                                            SAN JUAN            PR         00936‐3928

   244720 JORGE SARMIENTO FERNANDEZ REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                    COM MONTILLAS SEC LA
   680694 JORGE SEDA RIVERA                           BOX 26                        CANCHA                                                                                   ISABELA             PR         00662
   680695 JORGE SEDA SEDA                             HC‐1 BOX 7174                                                                                                          CABO ROJO           PR         00623
   244721 JORGE SEGUROLA PEREZ                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JORGE SEISE ROMAN & IVETTE
   680696 ALBINO DEL V                                URB CIUDAD JARDIN             150 CALLE AZUCENA                                                                        CAROLINA            PR         00987
          JORGE SENERIZ Y MILAGROS
   244722 SENERIZ                                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244723 JORGE SEPULVEDA CARMONA                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680698 JORGE SEPULVEDA RAFFUCCI                    URB FRANCISCO OLLER           B 6 CALLE 4                                                                              BAYAMON             PR         00956
   244724 JORGE SERRALLES RAMIS                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244725 JORGE SERRANO GONZALEZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244726 JORGE SERRANO MARRERO                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680699 JORGE SEVILLA DAVILA                        SIERRA BAYAMON 78‐9                                                                                                    BAYAMON             PR         00961‐4527
   244727 JORGE SILVA CUETARA                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  244728 JORGE SOLA COLON                             REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680701 JORGE SOLIS                                  PO BOX 2861                                                                                                   BAYAMON           PR         00960
  680703 JORGE SOTO CARDONA                           HC 3 BOX 33131                                                                                                HATILLO           PR         00659‐9617
  244729 JORGE SOTO COLLAZO                           REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244730 JORGE SOTO FELICIANO                         REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244731 JORGE SOTO MIRANDA                           REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244732 JORGE SOTO OLIVER                            REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244733 JORGE SOTO ORTEGA                            REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244734 JORGE SOTO REYES                             REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680705 JORGE SOTO RIVERA                            HC 56 BOX 33889                                                                                               AGUADA            PR         00602
  680706 JORGE SOTO SANTIAGO                          P O BOX 2039                                                                                                  YABUCOA           PR         00767
  244735 JORGE SOTO VELEZ                             REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680707 JORGE SOUSS VILLALOBOS                       URB TINTILLO HILLS      537 CALLE TINTILLO                                                                    GUAYNABO          PR         00966
  680708 JORGE SUAREZ BERMUDEZ                        PO BOX 129                                                                                                    SAN GERMAN        PR         00683
  680709 JORGE SURITA LUGO                            PARCELAS SANTA ROSA     SECTOR LAS CANELAS                                                                    LAJAS             PR         00667
  680710 JORGE T BAEZ                                 PO BOX 6453                                                                                                   MAYAGUEZ          PR         00680
         JORGE T CANALES Y LUZ
  244737 SERRANO                                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244739 JORGE T MATTA FRANCIS                        REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244740 JORGE T MORALES GARICA                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244741 JORGE TAVAREZ RODRIGUEZ                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         JORGE TIRADO LOPEZ FINCA
  244742 JORGE TIRADO LO                              REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  244743 JORGE TIRADO LUCIANO                         REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680711 JORGE TIRADO RAMIREZ                         1509 AVE. F. ROOSVELT                                                                                         SAN JUAN          PR         00920
  244744 JORGE TOLEDO SUAREZ                          REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680713 JORGE TOLET HEREDIA                          951 AVE MIRAMAR                                                                                               ARECIBO           PR         00612

   244745 JORGE TORREGOSA CARTAGENA                   REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244746 JORGE TORRES BORRERO                        REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679381 JORGE TORRES COLON                          77 ALTAMIRA                                                                                                   LARES             PR         00669
   680717 JORGE TORRES COLON                          HC 01 BOX 15432                                                                                               COAMO             PR         00769

   680718 JORGE TORRES FIGUEROA                       URB JOSE MERCADO        U28 B CALLE ABRAHAM LINCOLN                                                           CAGUAS            PR         00725
   244747 JORGE TORRES HERNANDEZ                      REDACTED                REDACTED                    REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   679382 JORGE TORRES JIMENEZ                        URB CUIDAD JARDIN       11 CALLE GLADIOLA                                                                     CAROLINA          PR         00987‐2216
   244748 JORGE TORRES LOPEZ                          REDACTED                REDACTED                    REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244750 JORGE TORRES MARTINEZ                       REDACTED                REDACTED                    REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244752 JORGE TORRES MORALES                        REDACTED                REDACTED                    REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244753 JORGE TORRES OTERO                          REDACTED                REDACTED                    REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244754 JORGE TORRES RIVERA                         REDACTED                REDACTED                    REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680721 JORGE TORRES RODRIGUEZ                      PO BOX 1988                                                                                                   YAUCO             PR         00698

          JORGE TORRES
   244755 RODRIGUEZ/SOLAR ROOTS INC URB VALLE DE SAN LUIS                     306 CALLE SAN MATEO                                                                   MOROVIS           PR         00687‐2168
   680723 JORGE TORRES ROSADO         PO BOX 752                                                                                                                    VILLALBA          PR         00766
   244756 JORGE TORRES ROSARIO        REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   244757 JORGE TORRES VALLES         REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JORGE TORRES Y EVELYN
   244758 RODRIGUEZ                   REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JORGE TORRES/ MONICA TORRES
   244760 / ANDREA                    REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680724 JORGE TRAVERSO CACERES      APARTAMENTO 143                                                                                                               AGUADA            PR         00602



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  680725 JORGE UBINA MIRANDA                          BO SANTANA BOX 50 A                                                                                               ARECIBO             PR         00612
  244761 JORGE UBINAS RIVERA                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  680726 JORGE URIARTE GONZALEZ                       CAMPO ALEGRE                  C/BEGONIA G‐36 EXT                                                                  BAYAMON             PR         00956
         JORGE URRUTIA VALLES
  244762 INSURANCE BROKER                             PMB 652 1353 RD                                                                                                   GUAYNABO            PR         00966
  244763 JORGE V COLON CASTILLO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  680727 JORGE V LOPEZ GOGLAD                         1810 CALLE MACKENZIE                                                                                              PONCE               PR         00728
  244764 JORGE V TORRES OLMEDA                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  244765 JORGE VALDES MAISONET                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   244766 JORGE VALDIVIESO TORRUELLA                  REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244767 JORGE VALENTIN SANTIAGO                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244768 JORGE VALENTIN SEGARRA                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244769 JORGE VALENZUELA ALVAREZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244770 JORGE VALETTE PARIS                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680728 JORGE VALLE VALLE                           P O BOX 2564                                                                                                      VEGA BAJA           PR         00693
   679383 JORGE VARELA                                URB SAN ANTONIO               2034 CALLE DRAMA                                                                    PONCE               PR         00728‐1808
   680729 JORGE VARGAS ACEVEDO                        HC 2 BOX 12277                BO SABANA ENEAS                                                                     SAN GERMAN          PR         00683
   680730 JORGE VARGAS ALICEA                         LAS HACIENDAS                 E 15 CALLE AYMACO                                                                   CAGUAS              PR         00725
   680731 JORGE VARGAS HENRIQUEZ                      PO BOX 592                                                                                                        CABO ROJO           PR         00623
          JORGE VARGAS/LA VEINTIDOS
   680732 INC                                         CARR 312 INT KM 3.5 LAZZ                                                                                          CABO ROJO           PR         00623
   244771 JORGE VASQUEZ DIAZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680733 JORGE VAZQUEZ                               P O BOX 7434                                                                                                      PONCE               PR         00732
   680734 JORGE VAZQUEZ ADORNO                        LEGEND OAKS APARTMENT         2701‐4714 N HABANA AVE                                                              TAMPA               FL         33614
   244773 JORGE VAZQUEZ ARROYO                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680735 JORGE VAZQUEZ HERNANDEZ                     BOX 436                                                                                                           SAN JUAN            PR         00919‐0436
   680736 JORGE VAZQUEZ MARTINEZ                      HC 80 BOX 9264                                                                                                    DORADO              PR         00646‐9504
   679358 JORGE VAZQUEZ VAZQUEZ                       ALTURAS DE SANTA MARIA        F 9 CALLE DILDO                                                                     GUAYNABO            PR         00969
   680737 JORGE VEGA CRUZ                             LA TROCHA                     155 CALLE ROBLES                                                                    VEGA BAJA           PR         00693
                                                      COND.IBERIA‐1 554 C/ PERSEO
   680738 JORGE VEGA LEBRON                           APT.801                                                                                                           SAN JUAN            PR         00920
   680739 JORGE VEGA MONTES                           27 CALLE SAN JUAN                                                                                                 PONCE               PR         00731
   244778 JORGE VEGA ORZA                             REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680740 JORGE VELAZQUEZ CORDERO                     VISTA ALEGRE                  511 CALLE IRQUIDEA                                                                  VILLALBA            PR         00760
   244779 JORGE VELAZQUEZ CORREA                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   244780 JORGE VELAZQUEZ HERNANDEZ                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244783 JORGE VELEZ COLON                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244784 JORGE VELEZ IRIZARRY                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680743 JORGE VELEZ MELENDEZ                        P O BOX 1249                                                                                                      SABANA GRANDE       PR         00637
   244785 JORGE VELEZ NIEVES                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244787 JORGE VELEZ PACHECO                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244788 JORGE VELEZ VALENTIN                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244789 JORGE VENDRELL MARTIN                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680745 JORGE VILANOVA                              VILLA ANDALUCIA               L 24 CALLE TOLOY                                                                    RIO PIEDRAS         PR         00926
   680746 JORGE VILLALOBOS RIVERA                     PO BOX 21365                                                                                                      SAN JUAN            PR         00928‐1365
   680747 JORGE VILLARS ESPINO                        PO BOX 20408                                                                                                      SAN JUAN            PR         00928
   244792 JORGE VIZCARRONDO QUILES                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   244793 JORGE W BURGOS RODRIGUEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244795 JORGE W FERRER BARBER                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   244796 JORGE W JIMENEZ GONZALEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  680748 JORGE W MARQUEZ                              E 31 URB VILLA REAL                                                                                                 CABO ROJO          PR         00623
  680750 JORGE W MAYORAL                              COND. EL SENORIAL OFIC.313   10 CALLE SALUD                                                                         PONCE              PR         00731
  680752 JORGE W MEJIAS SANTOS                        URB LAS LOMAS                1660 CALLE 34 SO                                                                       SAN JUAN           PR         00921
  244797 JORGE W ORTEGA NUNEZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244798 JORGE W ORTIZ CRUZ                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680753 JORGE W PEREZ TORRES                         PO BOX 2099                                                                                                         VEGA ALTA          PR         00692‐2099

   244799 JORGE W PORTALATIN FEBRES                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   244800 JORGE W RODRIGUEZ VIGO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   244801 JORGE W ROMAN VEGA                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   680755 JORGE W SANTIAGO RIVERA                     SANTA RITA                   3 CALLE DELICIAS                                                                       VEGA ALTA          PR         00950

   244802 JORGE W TOMASSINI SANTIAGO REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   679385 JORGE W VAZQUEZ RIVERA     PO BOX 1044                                                                                                                          COMERIO            PR         00782
   244803 JORGE W VEGA VELEZ         REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                     REPTO GONZALEZ‐24 C/LOS
   680758 JORGE W VELEZ GONZALEZ     LOPERANA                                                                                                                             MOCA               PR         00676
   680759 JORGE W VELEZ SANCHEZ      URB REPTO GONZALEZ 24                         CALLE LOS LOPERENA                                                                     MOCA               PR         00676
   244804 JORGE W. MORALES ACOSTA    REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   244805 JORGE WHOLESALE FLOWER     VILLA CARMEN                                  I 31 AVE LUIS MUNOZ MARIN                                                              CAGUAS             PR         00725
   244806 JORGE Y BURGOS BONEU       REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   680761 JORGE Y VELILLA MELENDEZ   RR 3 BZN 743                                                                                                                         NAGUABO            PR         00718
   244808 JORGE YANTIN RIVERA        REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   244809 JORGE Z FERREIRA DBA J F SAFE               CAIMITO ALTO                 RR 6 BOX 4025                                                                          SAN JUAN           PR         00926
          JORGE Z FERREIRA FERNANDEZ
   244810 DBA J F SAFE                                CAIMITO ALTO RR NUM 6        BOX 4025                                                                               SAN JUAN           PR         00926
   244811 JORGE ZAMBRANA RENTAS                       VILLA DEL CARMEN             4193 AVE CONSTANCIA                                                                    PONCE              PR         00716‐2110
   680762 JORGE ZAPATA SEDA                           URB LOMAS DE CAROLINA        J 2 CALLE MONTE GUILARTE                                                               CAROLINA           PR         00987
   680763 JORGE ZAPATA YORDAN                         URB TORRES MOLINOS E 10      CALLE 9                                                                                GUAYNABO           PR         00969
   244812 JORGE ZAYAS CABAN                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   680764 JORGE ZAYAS MATEO                           HC 01 BOX 3900                                                                                                      SANTA ISABEL       PR         00757
   680765 JORGE ZAYAS ORTIZ                           URB SAGRADO CORAZON          447 CALLE SAN LINO FINAL                                                               SAN JUAN           PR         00926
   244813 JORGE ZAYAS RIVERA                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

  1420120 JORGE, LUIS; RAMIREZ, NEGRO C. OSVALDO BURGOS PEREZ                      PO BOX 194211                                                                          SAN JUAN           PR         00919‐4211

  1420121 JORGE, LUIS; RAMIREZ, NEGRO C. OSVALDO BURGOS PEREZ                      PO BOX 194211                                                                          SAN JUAN           PR         00919‐4211
   244814 JORGE, NORAT                   REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JORGEDWIN ROSARIO
   244816 RODRIGUEZ                      REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   244817 JORGELINA REYES GONZALEZ       REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JORGEMILIO HERNANDEZ
   680766 SANCHEZ                        URB LOMAS DE TRUJILLO ALTO                G 26 CALLE 7                                                                           TRUJILLO ALTO      PR         00976
          JORGE'S FIBERGLASSDBA JORGE
   680767 ROMERO                         BO CANTITO                                CALLE 3 BUZON 26                                                                       MANATI             PR         00674
   244818 JORHAN COLON SANTIAGO          REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JORHAN OCASIO DBA ICEMAN
   680768 SERVICES                       HC 1 BOX 6850                                                                                                                    LAS PIEDRAS        PR         00771
   244819 JORIANYS DEL M DEL VALLE/      REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   680769 JORIE VALENTIN RODRIGUEZ       RR 01 BOX 2158                                                                                                                   ANASCO             PR         00610
   244820 JORIVETTE ALVAREZ MATOS        REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED




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          JORIVETTE SEPULVEDA
   244821 RODRIGUEZ                                   REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JORL ENGINEERING AND
   680770 CONSULTANTS CORP                            P O BOX 144071                                                                                                    ARECIBO             PR           00614‐4071
   244822 JORLAN TORRES VARELA                        REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680771 JORLI INC                                   MSC 266 URB LA CUMBRE           271 SIERRA MORENA                                                                 SAN JUAN            PR           00926
   244823 JORMA L CRUZ ACEVEDO                        REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   244824 JORMAN D PADILLA ALVARADO                   REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JORMARIE I RODRIGUEZ
   244825 BORRERO                                     REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   244826 JORMARIE RODRIGUEZ TORRES                   REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244828 JORNADA DE AMOR INC                         PMB 307 BOX 70344                                                                                                 SAN JUAN            PR           00936‐8344
          JORNEY ELECTRIC
   680772 CONSTRUCTIONS                               Calle Francia 409‐floral park                                                                                     Hato Rey            PR           00917‐4110
   244830 JORNEY WORKS PUBLISHING                     PO BOX 8466                                                                                                       SANTA CRUZ          CA           95061

   244831 JORNEY WORKS PUBLISHING INC P O BOX 8466 761                                                                                                                  SANTA CRUZ          CA           95061‐8466
   244832 JORVAN DIAZ TORRES          REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244833 JORY A FLORES OCASIO        REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244834 JOS A LàPEZ SELLA           REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244835 JOS A RODRÖGUEZ CINTRàN     REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244836 JOS A VELµZQUEZ             REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244837 JOS ALONSO IRIZARRY         REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244838 JOS M SANTIAGO CAMACHO      REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244839 JOS OSVALDO ROJAS REYES     REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244840 JOS R GANDIA FIGUEROA       REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244841 JOSABET CRUZ CEDENO         REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244842 JOSADAC MORALES RUIZ        REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244843 JOSAFAT MOLINA VAZQUEZ      REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   244844 JOSAIRA COLLAZO HERNANDEZ                   REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680774 JOSAN VERGARA MEDINA                        PO BOX 2151                                                                                                       GUAYNABO            PR           00970
   244846 JOSAVELLE RAMOS CRUZ                        REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244847 JOSBENNY SANTANA DURAN                      REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE & LEIDY COMPUTER
   680885 SERVICES                                    JARDINERIA DE ARROYO            C1 CALLE 30                                                                       ARROYO              PR           00714
   244849 JOSE A . RIOS ALBALADEJO                    REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244850 JOSE A .TORRES APONTE                       REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680908 JOSE A ABREU CLASS                          208 CALLE SAN JUAN                                                                                                CAMUY               PR           00627
   680909 JOSE A ABREU LOPEZ                          P O BOX 330                                                                                                       JUNCOS              PR           00777‐0330
   244851 JOSE A ACEVEDO AGOSTO                       REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244852 JOSE A ACEVEDO BATISTA                      REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244853 JOSE A ACEVEDO LABRADOR                     REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244854 JOSE A ACEVEDO ORTIZ                        REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   244857 JOSE A ACEVEDO/RUZ I TORRES                 REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680913 JOSE A ACOSTA CORREA                        PO BOX 376                                                                                                        GUAYNANO            PR           00970
   244858 JOSE A ACOSTA MALDONADO                     REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244859 JOSE A ACOSTA PIZARRO                       REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244860 JOSE A ACOSTA SANTIAGO                      REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680914 JOSE A ACOSTA SUAREZ                        P O BOX 628                                                                                                       SAN ANTONIO         PR           00690



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   680915 JOSE A ADAMS                                ALTURAS BORINQUEN GARDENS   00 3 CALLE LILLY                                                                       SAN JUAN            PR           00926
   244861 JOSE A ADORNO FELICIANO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680782 JOSE A ADORNO GONZALEZ                      URB SABANA GARDENS          12 12 CALLE 28                                                                         CAROLINA            PR           00983
   244862 JOSE A ADORNO HERNANDEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244865 JOSE A AGOSTO PABON                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244866 JOSE A AGOSTO QUIðONES                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680917 JOSE A AGOSTO RODRIGUEZ                     VALLE SAN JUAN ENCANTADA    SJ 113 CALLE VIA SAN JUAN                                                              TRUJILLO ALTO       PR           00976
   244870 JOSE A AGOSTO VAZQUEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244871 JOSE A AGOSTO VELEZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680918 JOSE A AGUILLAR LOZANO                      RR 5 BOX 4688                                                                                                      BAYAMON             PR           00956
   680919 JOSE A ALAMEDA CRUZ                         HACIENDA CONCORDIA          11272 CALLE LIRIO                                                                      SANTA ISABEL        PR           00757

   680922 JOSE A ALBALADEJO SANTIAGO                  HC 01 BOX 5204                                                                                                     TOA BAJA            PR           00949
   244873 JOSE A ALBERRO FERNANDEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680923 JOSE A ALBINO CASTILLO                      PO BOX 1865                                                                                                        COROZAL             PR           00783
   680924 JOSE A ALEMAN RIVERA                        BO PLAYA                    74 CALLE A                                                                             SALINAS             PR           00751
   680925 JOSE A ALERS JIMENEZ                        APT 2731 JUNCAL CS                                                                                                 SAN SEBASTIAN       PR           00685
   680927 JOSE A ALGARIN OJEDA                        JARD DE COUNTRY CLUB        D 1 CALLE 9                                                                            CAROLINA            PR           00983
   680929 JOSE A ALICE BERRIOS                        BO JUAN DIMINGO             12 CALLE LOS ROBLES                                                                    GUAYNABO            PR           00966
   244874 JOSE A ALICEA MORRABAL                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244875 JOSE A ALICEA NAZARIO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244876 JOSE A ALICEA RODRIGUEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244877 JOSE A ALMADEO LAGARES                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680932 JOSE A ALONSO ALONSO                        728 AVE PONCE DE LEON                                                                                              SAN JUAN            PR           00919

   680783 JOSE A ALONSO DE LA PUENTE  URB LAS LOMAS                               1723 CALLE 24 SO                                                                       SAN JUAN            PR           00921
   680933 JOSE A ALVARADO CALDERON    HC 2 BOX 6479                                                                                                                      MOROVIS             PR           00687
          JOSE A ALVARADO CARTAGENA (
   680934 JOSMARIE )                  P O BOX 3016                                                                                                                       GUAYAMA             PR           00785
   680936 JOSE A ALVARADO FELICIANO   URB LA CUMBRE                               668 CALLE TAFT                                                                         SAN JUAN            PR           00926
   244879 JOSE A ALVARADO GONZALEZ    REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680937 JOSE A ALVARADO MELENDEZ    PO BOX 1206                                                                                                                        OROCOVIS            PR           00720
   244880 JOSE A ALVARADO REYES       REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680938 JOSE A ALVARADO RIVERA      HC 02 BOX 6479                                                                                                                     MOROVIS             PR           00687
   244882 JOSE A ALVARADO TRINIDAD    REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244883 JOSE A ALVARADO VAZQUEZ     REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680939 JOSE A ALVARADO VICENTE     PO BOX 1004                                                                                                                        CIDRA               PR           00739
   244884 JOSE A ALVAREZ              REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244886 JOSE A ALVAREZ ALTRUZ       REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680940 JOSE A ALVAREZ CLASSEN      PARCELAS RODRIGUEZ OLMO                     CALLE D 9                                                                              ARECIBO             PR           00612
   680941 JOSE A ALVAREZ CORREA       HC 01 BOX 3320                                                                                                                     YABUCOA             PR           00767
   244887 JOSE A ALVAREZ CORTES       REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244888 JOSE A ALVAREZ GONZALEZ     REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244889 JOSE A ALVAREZ RAMIREZ INC  REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680942 JOSE A ALVAREZ RIVERA       H C 02 BOX 4843                                                                                                                    GUAYAMA             PR           00784
   680943 JOSE A ALVAREZ RODRIGUEZ    VILLAS DE LA MARINA                         Q 6 CALLE 8                                                                            CAROLINA            PR           00979
   680944 JOSE A ALVAREZ ROLDAN       BO ESPINAL                                  CARR 422 KM 0 H 7 BZ 2                                                                 AGUADA              PR           00602
   680946 JOSE A ALVERIO FLORES       HC 20 BOX 25611                                                                                                                    SAN LORENZO         PR           00754
   244892 JOSE A AMADOR GARCIA        REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680886 JOSE A AMALBERT VILLEGAS    HC 2 BOX 9597                                                                                                                      GUAYNABO            PR           00971
   244893 JOSE A AMARO GONZALEZ       REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   244894 JOSE A AMBERT DIAZ          REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  680947 JOSE A ANDUJAR RIERA                         VILLA GRILLASCA            L 7 A CALLE VIRGILIO BIAGGI                                                              PONCE              PR         00731
  680948 JOSE A ANDUJAR TORRES                        PO BOX 884                                                                                                          GARROCHALES        PR         00652
  244895 JOSE A ANES RODRIGUEZ                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680949 JOSE A ANNONI MATOS                          URB SAN JUAN GARDENS       B6 SAN ALVARO                                                                            RIO PIEDRAS        PR         00926
  680951 JOSE A APONTE CUADRADO                       PO BOX 1231                                                                                                         SAN LORENZO        PR         00754
  244897 JOSE A APONTE GARCIA                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244898 JOSE A APONTE HERNANDEZ                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244899 JOSE A APONTE PEREZ                          REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244900 JOSE A APONTE RIVERA                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244901 JOSE A APONTE RODRIGUEZ                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680953 JOSE A APONTE ROSADO                         P O BOX 2214                                                                                                        SAN GERMAN         PR         00683
  680954 JOSE A APONTE TORRES                         HC 02 BOX 5477                                                                                                      COAMO              PR         00769
  680955 JOSE A AQUINO ORTIZ                          PO BOX 1087                                                                                                         CIALES             PR         00638
  680956 JOSE A AQUINO RODRIGUEZ                      PO BOX 486                                                                                                          GUAYNABO           PR         00970
  244902 JOSE A ARBELO DELGADO                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680957 JOSE A ARBELO IRIZARRY                       HC 3 BOX 10916                                                                                                      CAMUY              PR         00627
  680958 JOSE A ARBELO QUIJANO                        HC 3 BOX 11884                                                                                                      CAMUY              PR         00627‐9615
  680959 JOSE A ARBELO SOTO                           HC 04 BOX 42601                                                                                                     HATILLO            PR         00659
  244903 JOSE A ARCE DIAZ                             REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680960 JOSE A ARCE REY                              URB HACIENDA DE CARRAIZO   C 9 CALLE 3                                                                              SAN JUAN           PR         00926
  680961 JOSE A ARCE RIOS                             PO BOX 213                                                                                                          CAMUY              PR         00629
  244904 JOSE A ARCELAY LOPEZ                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680962 JOSE A ARCHILLA BAGUE                        HC 01 BOX 5251                                                                                                      GUAYNABO           PR         00971
  680963 JOSE A ARGUELLES OLIVERO                     URB RODRIGUEZ OLMO         37 CALLE A                                                                               ARECIBO            PR         00612
  680964 JOSE A ARIETA BELAVAL                        CHALETS DE BAIROA          A 30 CALLE ZORZAL                                                                        CAGUAS             PR         00727
  680965 JOSE A ARIETA POMALES                        URB PALMAS REALES          66 CALLE PALMERAS                                                                        HUMACAO            PR         00791
  244905 JOSE A ARROYO APARICIO                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680966 JOSE A ARROYO APONTE                         HC 02 BOX 11089                                                                                                     YAUCO              PR         00698‐9744
  244906 JOSE A ARROYO AVILES                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244907 JOSE A ARROYO COLON                          REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680967 JOSE A ARROYO CORTEZ                         URB HILLL BROTHER          72 B CALLE 7                                                                             SAN JUAN           PR         00924
  244908 JOSE A ARROYO HERNANDEZ                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244909 JOSE A ARROYO RIVERA                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244910 JOSE A ARROYO ROLON                          REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680968 JOSE A ARROYO TORRES                         PO BOX 1695                                                                                                         VEGA ALTA          PR         00694
  680969 JOSE A ARROYO VALE                           HC 2 BOX 10392                                                                                                      QUEBRADILLA        PR         00678
  244911 JOSE A ARRROYO PONT                          REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680970 JOSE A ARZON PARRILLA                        BOX 1052                                                                                                            NAGUABO            PR         00718
  244913 JOSE A ATIENZA FIGUEROA                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680971 JOSE A AULET MALDONADO                       PO BOX 777                                                                                                          MANATI             PR         00674
  244914 JOSE A AVILES MOLINA                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680972 JOSE A AVILES NIEVES                         HC 5 BOX 25978                                                                                                      CAMUY              PR         00627

   244915 JOSE A AVILES PONCE DE LEON                 REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   244916 JOSE A AVILES VILLANUEVA                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   680973 JOSE A AYALA                                PO BOX 21365                                                                                                        SAN JUAN           PR         00928‐1365
   244917 JOSE A AYALA AGOSTO                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   680974 JOSE A AYALA BONAPARTE                      URB CAPARRA TERRACE        1155 CALLE 18 SE                                                                         SAN JUAN           PR         00921
   244918 JOSE A AYALA CABAN                          REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      SECC 1 SANTA JUANITA
   680975 JOSE A AYALA COLON                          BAYAMON                    OZ 12 C CALLE PALESTINA                                                                  BAYAMON            PR         00956
   680976 JOSE A AYALA CRUZ                           CALLE JOSE DE DIEGO                                                                                                 BOQUERON           PR         00622‐9701
   244919 JOSE A AYALA DIAZ                           REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  244920 JOSE A AYALA PENA                             REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244921 JOSE A AYALA PEREZ                            REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244922 JOSE A AYALA RIVERA                           REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244923 JOSE A AYALA RODRIGUEZ                        REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680979 JOSE A AYALA ROSADO                           HC 1 BOX 6748                                                                                                         AIBONITO           PR         00705
  244924 JOSE A AYALA SANCHEZ                          REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680981 JOSE A AYALA SANTIAGO                         PUERTO REAL                     3A CALLE 2                                                                            CABO ROJO          PR         00623
  244925 JOSE A AYALA TORRES                           REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680982 JOSE A AYALA VALLE                            PO BOX 758                                                                                                            ARROYO             PR         00714
  680983 JOSE A AYALA VEGA                             URB BELLO HORIZONTES            G 5 CALLE 4                                                                           GUAYAMA            PR         00784
  680984 JOSE A B NOLLA MAYORAL                        PO BOX 364225                                                                                                         SAN JUAN           PR         00936‐4225
  244926 JOSE A BABILONIA VALE                         REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244927 JOSE A BADILLO ACEVEDO                        REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680985 JOSE A BADILLO RODRIGUEZ                      urb terrasas de guaynabo b 23   calle lirios                                                                          guaynabo           PR         00969
  244928 JOSE A BAEZ ALBINO                            REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244929 JOSE A BAEZ ALICEA                            REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680987 JOSE A BAEZ AYALA                             HC 08 BOX 39443                                                                                                       CAGUAS             PR         00725
  244930 JOSE A BAEZ BORRERO                           REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244931 JOSE A BAEZ CANALES                           REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680988 JOSE A BAEZ CARO                              PO BOX 1653                                                                                                           RINCON             PR         00677
  244932 JOSE A BAEZ CORDOVA                           REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680986 JOSE A BAEZ LEON                              URB VILLA DE L0IZA              TT 10 CALLE 28 A                                                                      CANOVANAS          PR         00729
  244933 JOSE A BAEZ NIEVES                            REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680990 JOSE A BALDAGUEZ MATOS                        PO BOX 788                                                                                                            LAS PIEDRAS        PR         00771
  244935 JOSE A BARBOSA COLON                          REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680991 JOSE A BARBOSA MACAYA                         PO BOX 8179                                                                                                           MAYAGUEZ           PR         00681 8177
  244936 JOSE A BARRERA RAMOS                          REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680992 JOSE A BARRERAS ROLON                         P O BOX 1854                                                                                                          TRUJILLO ALTO      PR         00977
  244937 JOSE A BARRETO LUGO                           REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244938 JOSE A BARRETO PEREZ                          REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244940 JOSE A BARRETO RAMOS                          REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244941 JOSE A BARTOLOMEI DIAZ                        REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680995 JOSE A BASTIAN CORTIJO                        RES LUIS LLORENS TORRES         EDF 69 APT 1303                                                                       SAN JUAN           PR         00913
  244942 JOSE A BATISTA MIRANDA                        REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680996 JOSE A BATISTA RODRIGUEZ                      VILLAS DE CARRAIZO              434 RR 7                                                                              SAN JUAN           PR         00926
  244943 JOSE A BATISTA RUIZ                           REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680997 JOSE A BATTLE                                 PO BOX 194260                                                                                                         SAN JUAN           PR         00919‐4260
  244945 JOSE A BAYRON LOPEZ                           REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244946 JOSE A BELTRAN CLAUDIO                        REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681000 JOSE A BELTRAN GONZALEZ                       PO BOX 1014                                                                                                           MOCA               PR         00676
  244948 JOSE A BELTRAN LUNA                           REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681002 JOSE A BENITEZ AYALA                          P O BOX 2396                                                                                                          JUNCOS             PR         00777
  681003 JOSE A BENITEZ SERRANO                        RR 6 BOX 9672                                                                                                         SAN JUAN           PR         00926
  681004 JOSE A BERLINGERI & CO INC                    OLD SAN JUAN                    P O BOX 9022658                                                                       SAN JUAN           PR         00902 2658
  244950 JOSE A BERMUDEZ                               REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244951 JOSE A BERMUDEZ CORREA                        REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244952 JOSE A BERMUDEZ MIRANDA                       REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244953 JOSE A BERNABE RODRIGUEZ                      REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681005 JOSE A BERNARDY VAZQUEZ                       PO BOX 2029                                                                                                           CAYEY              PR         00737‐2029
  244954 JOSE A BERNIER ORTIZ                          REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244956 JOSE A BERRIOS BONILLA                        REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244957 JOSE A BERRIOS DIAZ                           REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  244958 JOSE A BERRIOS FIGUEROA                       REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  681009 JOSE A BERRIOS ORTIZ                         COND SAN IGNACIO APT 4 A                                                                                            SAN JUAN          PR           00921
  681010 JOSE A BERRIOS RODRIGUEZ                     HC 01 BOX 5228                                                                                                      BARRANQUITAS      PR           00794
  681013 JOSE A BERRIOS ROSARIO                       PO BOX 423                                                                                                          CIALES            PR           00638‐0429
  681014 JOSE A BERRIOS VAZQUEZ                       URB SUMMIT HILLS           1764 CALLE ADAMS                                                                         SAN JUAN          PR           00920
         JOSE A BERROCAL / HORTENSIA                  PO BOX 41281 MINILLAS
  681015 FERNANDEZ                                    STATION                                                                                                             SAN JUAN          PR           00940‐1281
  681017 JOSE A BETANCOURT                            EDIF SAN ALBERTO           605 CALLE CONDADO STE 317                                                                SAN JUAN          PR           00907

   681018 JOSE A BETANCOURT CASILLAS                  HC 01 11286 BO SANTA       CRUZ                                                                                     CAROLINA          PR           00985
          JOSE A BETANCOURT
   244959 CASTELLANOS                                 REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   681019 JOSE A BEZARES ARZUAGA                      TURABO GARDENS             F 13 CALLE 6                                                                             CAGUAS            PR           00727
   244960 JOSE A BIGIO PASTRANA                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   244961 JOSE A BIGIO ROSA                           REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   681021 JOSE A BILBRAUT                             PO BOX 384                                                                                                          JAYUYA            PR           00664‐0384
   244963 JOSE A BINET RODRIGUEZ                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   244964 JOSE A BIRD HERNANDEZ                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   681022 JOSE A BLAS ACEVEDO                         BO BORINQUEN               BZN 2271                                                                                 AGUADILLA         PR           00603
   244966 JOSE A BOADA RAMIREZ                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   244967 JOSE A BONAL CEBALLOS                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   244968 JOSE A BONANO COTTO                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   244969 JOSE A BONHOME ROSADO                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   244970 JOSE A BONILLA COLON                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   244971 JOSE A BONILLA DIAZ                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   244973 JOSE A BONILLA GANDULLA                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   681023 JOSE A BONILLA GONZALEZ                     PO BOX 549                                                                                                          JUANA DIAZ        PR           00795
   244974 JOSE A BONILLA MORENO                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   244975 JOSE A BONILLA OCASIO                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   244976 JOSE A BONILLA SANTIAGO                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   244977 JOSE A BORERRO MERCADO                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   681025 JOSE A BORGOS TORRES                        P O BOX 184                                                                                                         SANTA ISABEL      PR           00757

   681026 JOSE A BORIA                                URB COUNTRY CLUB           773 CALLE FRAY ANGEL VAZQUEZ                                                             SAN JUAN          PR           00924 2518
   244978 JOSE A BORRERO DE JESUS                     REDACTED                   REDACTED                     REDACTED                             REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   244979 JOSE A BORRERO MARTINEZ                     REDACTED                   REDACTED                     REDACTED                             REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   244980 JOSE A BORRERO ORSINI                       REDACTED                   REDACTED                     REDACTED                             REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   681027 JOSE A BORRERO RAMOS                        BO LICEO                   236 CALLE ENRIQUE GUTIERREZ                                                              MAYAGUEZ          PR           00680
   680887 JOSE A BORRERO TEXIDOR                      BO SANTA ROSA              BOX 3004                                                                                 VEGA BAJA         PR           00693
   244983 JOSE A BOSQUES PEREZ                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          JOSE A BOU DIAZ Y/O BM
   681028 ELECTRIC                                    P O BOX 7855                                                                                                        CAGUAS            PR           00726
   680888 JOSE A BRANCHS ALEMAN                       EST DEL CARMEN             2177 CALLE TRIGO                                                                         PONCE             PR           00716

   681029 JOSE A BRAVO ASOCIADOS INC                  PO BOX 360295                                                                                                       SAN JUAN          PR           00936‐0295
   681030 JOSE A BRAVO GARCIA                         JOSE A BRAVO GARCIA        PO BOX 2134                                                                              SAN JUAN          PR           00922‐2134
   244987 JOSE A BRUNO                                REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   244989 JOSE A BRUNO MORALES                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   244990 JOSE A BRUNO RODRIGUEZ                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   681032 JOSE A BUJOSA ALICEA                        HC 02 BOX 5108                                                                                                      LARES             PR           00669
   244991 JOSE A BUJOSA GONZALEZ                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   244992 JOSE A BURES MARTINEZ                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   681033 JOSE A BURGOS ALICEA                        HC 02 BOX 9029                                                                                                      COROZAL           PR           00783



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  681034 JOSE A BURGOS BERRIOS                        PO BOX 39                                                                                                           BARRANQUITAS      PR           00794
  681035 JOSE A BURGOS COLON                          URB VISTA DEL SOL            48 CALLE E                                                                             COAMO             PR           00769
  681036 JOSE A BURGOS CRUZADO                        PO BOX 1331                                                                                                         MANATI            PR           00674
  681037 JOSE A BURGOS DIAZ                           RR 3 BOX 4201                                                                                                       SAN JUAN          PR           00928

   681038 JOSE A BURGOS GONZALEZ                      103 CALLE VICENTE PALES OESTE                                                                                       GUAYAMA           PR           00784
   244993 JOSE A BURGOS LEON                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   244994 JOSE A BURGOS MARIN                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   681039 JOSE A BURGOS PAGAN                         P O BOX 319                                                                                                         SANTA ISABEL      PR           00757

   681040 JOSE A BURGOS QUIRINDONGO                   PMB 460                      PO BOX 70344                                                                           SAN JUAN          PR           00936‐8344

          JOSE A BURGOS QUIRINDONGO
   244995 Y/O VERA LOPEZ                              REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   244998 JOSE A BURGOS SANTIAGO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   681041 JOSE A BUSTER MARRERO                       CONDOMINIO LOMAS DEL MAR     20 LOMAS DEL MAR                                                                       VEGA ALTA         PR           00692
   681042 JOSE A C ATALA BERRIOS                      HC 70 BOX 1530                                                                                                      NARANJITO         PR           00719
   244999 JOSE A CABAN CINTRON                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   681044 JOSE A CABAN MARCIAL                        URB LOS ROBLES               192 CALLE ROBLES                                                                       MOCA              PR           00676‐4216
   681045 JOSE A CABAN MUNIZ                          PO BOX 29                                                                                                           ISABELA           PR           00662
   245000 JOSE A CABAN RAMIREZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   680784 JOSE A CABAN RAMIREZ                        RR 2 BOX 5251                                                                                                       A¥ASCO            PR           00610‐9600
                                                      EDF GONZ PADIN PH PLAZA
   681046 JOSE A CABIYA                               ARMAS                        154 RAFAEL CORDERO OLD SJ                                                              SAN JUAN          PR           00901
   681047 JOSE A CABRERA GOMEZ                        BDA JURUTUNGO                563 CALLE SAN SEBASTIAN                                                                SAN JUAN          PR           00917

   681048 JOSE A CABRERA RODRIGUEZ                    1858 ALTOS CALLE EL BOSQUE                                                                                          SAN JUAN          PR           00912
   245001 JOSE A CABRERA ROSARIO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   681050 JOSE A CABRERA SANCHEZ                      RES JUAN C CORDERO QUINTANA EDIF 27 PTO 399                                                                         SAN JUAN          PR           00917
   681052 JOSE A CABRET RIOS                          SUITE 163 P.O. BOX 7070158                                                                                          SAN JUAN          PR           00936
   245003 JOSE A CACERES MORALES                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   681053 JOSE A CAEZ FERNANDEZ                       PO BOX 742                                                                                                          SAN LORENZO       PR           00754
   245004 JOSE A CALCANO COLLAZO                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   681054 JOSE A CALDERON RODRIGUEZ                   URB VILLA FONTANA            ADN 16 VIA 30                                                                          CAROLINA          PR           00983
   681055 JOSE A CALDERON VERDEJO                     URB PARQUE ECUESTRE          BLQ N 6 CALLE 22                                                                       CAROLINA          PR           00987
   245005 JOSE A CALIMANO RABELL                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   245006 JOSE A CAMACHO AYALA                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   245007 JOSE A CAMACHO MELENDEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   681057 JOSE A CAMACHO RODRIGUEZ                    HC 01 BOX 23639                                                                                                     CAGUAS            PR           00725

   681058 JOSE A CAMACHO TORRUELLAS                   RES RAMOS ANTONINI           EDIF 29 APT 285                                                                        PONCE             PR           00731
   681059 JOSE A CAMPOS VEGA                          URB EL RECREO                H 42 CALLE B                                                                           HUMACAO           PR           00791
   245009 JOSE A CAMUY FIGUEROA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   681060 JOSE A CANALES FUENTES                      HC 01 BOX 2489                                                                                                      LOIZA             PR           00772
   245010 JOSE A CANALES MARTINEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   245011 JOSE A CANALS VIDAL                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   681061 JOSE A CANCEL CASTRO                        PO BOX 10225                                                                                                        PONCE             PR           00732‐0225
   681062 JOSE A CANCIO IRIZARRY                      PO BOX 3874                                                                                                         MAYAGUEZ          PR           00681




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   245012 JOSE A CANDELARIA CURBELO                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      URB LAS CUMBRES 4 CALLE LAS
   681063 JOSE A CANDELARIA RAEL                      VEGAS                                                                                                                SAN JUAN            PR           00926
   245013 JOSE A CANDELARIA RAMOS                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   245014 JOSE A CANDELARIO LAJARA                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   245015 JOSE A CAPACETE BELEN                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681064 JOSE A CAPACETE CASIANO                     URB EL CAFETAL                K 29 CALLE 14                                                                          YAUCO               PR           00698
   681065 JOSE A CAQUIAS ROSARIO                      PO BOX 34481                                                                                                         PONCE               PR           00734‐4481
   245016 JOSE A CARABALLO AYALA                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681066 JOSE A CARABALLO CASTRO                     P O BOX 1075                                                                                                         ADJUNTA             PR           00601
   681069 JOSE A CARABALLO MARIN                      URB ALT DE RIO GRANDE         E 189 CALLE 4                                                                          RIO GRANDE          PR           00745
   245017 JOSE A CARABALLO PARRILLA                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681070 JOSE A CARABALLO PIETRI                     URB VILLA TABAIBA             251 CALLE CAGUANA                                                                      PONCE               PR           00719
   245018 JOSE A CARABALLO TORRES                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   681071 JOSE A CARDONA HERNANDEZ                    URB LEVITTOWN                 2182 PASEO ARPA                                                                        TOA BAJA            PR           00949
   245019 JOSE A CARDONA MONROIG                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681072 JOSE A CARDONA OLLER                        C 5 BLOQUE A 7                                                                                                       TRUJILLO ALTO       PR           00976
   681073 JOSE A CARDONA RIVERA                       HC 02 BOX 6930                                                                                                       ADJUNTAS            PR           00669
   681075 JOSE A CARDONA ROSA                         HC 03 BOX 32999                                                                                                      AGUADILLA           PR           00603‐9707
   681076 JOSE A CARDONA SIERRA                       CANTIZALES GARDENS            EDIF A APT AM1                                                                         SAN JUAN            PR           00926
   245022 JOSE A CARLO OLAN                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681077 JOSE A CARLO REYES                          PO BOX 845                                                                                                           JUNCOS              PR           00777
          JOSE A CARLO RODRIGUEZ LAW                                                1056 AVE MUNOZ RIVERA STE
   245024 OFFICE PSC                                  EDIF FIRST BANK               508                                                                                    SAN JUAN            PR           00927
   245025 JOSE A CARLO VELEZ                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681079 JOSE A CARMONA PEREZ                        HC 05 BOX 25832                                                                                                      CAMUY               PR           00627
   245026 JOSE A CARMONA RIVERA                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681080 JOSE A CARO RAMOS                           148 CALLE HERMITA                                                                                                    AGUADA              PR           00602
   245027 JOSÉ A CARRASCO CANALES                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   245028 JOSE A CARRASQUILLO                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   245029 JOSE A CARRASQUILLO ARROYO                  REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   681082 JOSE A CARRASQUILLO CHEVRES URB MANSIONES REALES                          I D 1 CALLE FERNANDO                                                                   GUAYNABO            PR           00969

   245032 JOSE A CARRASQUILLO RIVERA                  REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681084 JOSE A CARRION DIAZ                         BRISAS DEL MAR                EE 9 CALLE E 4                                                                         LUQUILLO            PR           00773‐2422
   245034 JOSE A CARRION ROBLES                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681086 JOSE A CARRO MIRANDA                        PO BOX 10141                                                                                                         SAN JUAN            PR           00922
   245035 JOSE A CARRO RIVERA                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681087 JOSE A CARRUCINI                            RR 1 BOX 2045                                                                                                        CIDRA               PR           00739
   681088 JOSE A CARTAGENA                            HC 71 BOX 7057                                                                                                       CAYEY               PR           00736‐9545

   245036 JOSE A CARTAGENA MARRERO                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   245037 JOSE A CARTAGENA ROMAN                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   245038 JOSE A CASANOVA CINTRON                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681091 JOSE A CASIANO ACEVEDO                      BO FARALLON                   CALLE ROSA BOX 28002                                                                   CAYEY               PR           00736
   245041 JOSE A CASIANO GARCIA                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681092 JOSE A CASIANO ORTIZ                        PO BOX 579                                                                                                           OROCOVIS            PR           00720
   681093 JOSE A CASIYA MORALES                       COND EL MONTE SUR             190 AVE HOSTOS APT 531B                                                                SAN JUAN            PR           00918‐4615
   245042 JOSE A CASTANEDA LOPEZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   245043 JOSE A CASTILLO / OLIVIA PEREZ              REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245044 JOSE A CASTILLO FLORES                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681095 JOSE A CASTILLO MATOS                       URB LA GUADALUPE            D8 CALLE MONSERRATE                                                                     PONCE               PR         00731
          JOSE A CASTILLOVEITIA
   681096 CALIMANO                                    PO BOX 7126                                                                                                         PONCE               PR         00732
   681097 JOSE A CASTRO ARROYO                        PO BOX 10217                                                                                                        HUMACAO             PR         00792
   681098 JOSE A CASTRO CARABALLO                     2314 TENIENTE RIVERA                                                                                                SAN JUAN            PR         00913
   245045 JOSE A CASTRO CORREO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245046 JOSE A CASTRO GONZALEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245047 JOSE A CASTRO LOPEZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245048 JOSE A CASTRO PENA                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245049 JOSE A CASTRO ROSADO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   245050 JOSE A CEBOLLERO MARCUCCI                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JOSE A CEBOLLERO MARCUCCI                                               HOSP CRISTO REDENTOR SUITE
   245051 SURGICAL                                    ONCOLOGY PSC                101                                                                                     GUAYAMA             PR         00785
   245052 JOSE A CEDENO RAMOS                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681103 JOSE A CENTENO                              PO BOX 225                                                                                                          CEIBA               PR         00735
   245054 JOSE A CERVANTES RIVERA                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245055 JOSE A CESANI BELLAFLORES                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681105 JOSE A CHACON CRUZ                          HC 4 BOX 14962                                                                                                      SAN SEBASTIAN       PR         00685
   681106 JOSE A CHAMORRO RAMIREZ                     HC 2 BOX 5984                                                                                                       GUAYANILLA          PR         00656
   681107 JOSE A CHARON SANTIAGO                      HC 05 BOX 50617                                                                                                     MAYAGUEZ            PR         00680
   245056 JOSE A CHICLANA PASTRANA                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245057 JOSE A CHOMPRE GONZALEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681108 JOSE A CID HEREDIA                          URB COUNTRY CLUB            J A 46 CALLE 246                                                                        CAROLINA            PR         00982
   245058 JOSE A CINTRON BURGOS                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681109 JOSE A CINTRON COLON                        PO BOX 11266                FERNANDEZ JUANCO STATION                                                                SAN JUAN            PR         00910‐2366
   681110 JOSE A CINTRON CUADRADO                     HC 71 BOX 3575                                                                                                      NARANJITO           PR         00719
   681111 JOSE A CINTRON GONZALEZ                     BO MOGOTE                   APT 326 CAR 561 K 6 H 4                                                                 VILLALBA            PR         00766
   245059 JOSE A CINTRON LUGO                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681113 JOSE A CINTRON NEGRON                       URB QTAS DE CANOVANAS       906 CALLE ZAFIRO                                                                        CANOVANAS           PR         00729
          JOSE A CINTRON RODRIGUEZ Y
   245060 VIVIAN PAGAN                                REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681114 JOSE A CINTRON SOSTRE                       55 CALLE CORCHADO                                                                                                   CAYEY               PR         00736
   245061 JOSE A CLAUDIO GIL                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245062 JOSE A CLAVEL HERNANDEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245063 JOSE A CLAVELL ACOSTA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681115 JOSE A CLAVELL QUINONEZ                     102 W 183 RD ST APT 2G                                                                                              BRONX               NY         10453‐1108
   681116 JOSE A CLEMENTE CLEMENTE                    URB CALDAS # 2057           C/JOSE FIDALGOS DIAZ                                                                    SAN JUAN            PR         00926
   681117 JOSE A CLEMENTE MOJICA                      CIUDAD CENTRO               23 CALLE OROCOBIX                                                                       CAROLINA            PR         00987
   245064 JOSE A COLLADO OLMEDA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681118 JOSE A COLLADO RAMOS                        URB BORINQUEN               N 22 CALLE PEDRO FLORES                                                                 CABO ROJO           PR         00623
   681119 JOSE A COLLAZO                              PO BOX 191018                                                                                                       SAN JUAN            PR         00919‐1018
   245065 JOSE A COLLAZO BONILLA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681121 JOSE A COLLAZO HERNANDEZ                    43 CALLE MIGUEL F CHIQUES                                                                                           CAGUAS              PR         00725
   245067 JOSE A COLLAZO MARQUEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245068 JOSE A COLLAZO PENA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245069 JOSE A COLLAZO SERRANO                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681122 JOSE A COLLAZO SOTO                         BO CUYON CARR 704 KM 2 9    BOX 665                                                                                 COAMO               PR         00769
   681123 JOSE A COLLAZO SUEIRAS                      URB SANTA TERESITA          2219 CALLE MACLEARY                                                                     SAN JUAN            PR         00913
   680785 JOSE A COLLAZO VAZQUEZ                      HC 1 BOX 5467                                                                                                       GUAYNABO            PR         00971



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  681124 JOSE A COLON                                 URB MONTE CLARO MD 14                                                                                     BAYAMON            PR         00961
  245070 JOSE A COLON & ASOCIADOS                     LA ALTAGRACIA           M 24 CALLE RUISENOR                                                               TOA BAJA           PR         00949
  681125 JOSE A COLON APONTE                          P O BOX 834                                                                                               BARRANQUITAS       PR         00794
  245071 JOSE A COLON BERRIOS                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245073 JOSE A COLON CASILLAS                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245074 JOSE A COLON COLON                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681126 JOSE A COLON CORTES                          PO BOX 1386                                                                                               TRUJILLO ALTO      PR         00977
  245076 JOSE A COLON CRUZ                            REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245077 JOSE A COLON DONES                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681127 JOSE A COLON FIGUEROAS                       TOA ALTA HEIGHTS        O 1 CALLE 18                                                                      TOA ALTA           PR         00953
  681129 JOSE A COLON GONZALEZ                        URB LA MARGARITA        E 1 CALLE D                                                                       SALINAS            PR         00751
  681131 JOSE A COLON IRIZARRY                        P O BOX 716                                                                                               JAYUYA             PR         00664‐0716
  681132 JOSE A COLON LUGO                            HC 08 BOX 134                                                                                             PONCE              PR         00731
  245078 JOSE A COLON MALDONADO                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681133 JOSE A COLON MARTINEZ                        HC 3 BOX 55021                                                                                            ARECIBO            PR         00612
  245079 JOSE A COLON MATIAS                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681136 JOSE A COLON MEDINA                          PO BOX 7126             DIVISION DE FINANZAS                                                              PONCE              PR         00732
  245080 JOSE A COLON MORALES                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681137 JOSE A COLON NIEVES                          HC 1 BOX 2810                                                                                             MOROVIS            PR         00687
  245081 JOSE A COLON ORTIZ                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681140 JOSE A COLON PLAZA                           BOX 1179                                                                                                  ADJUNTAS           PR         00601
  681141 JOSE A COLON RAMOS                           PO BOX 1015                                                                                               GUAYNABO           PR         00785
  245083 JOSE A COLON RIVERA                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245085 JOSE A COLON RODRIGUEZ                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681146 JOSE A COLON ROSADO                          PO BOX 453                                                                                                BARRANQUITAS       PR         00794
  245087 JOSE A COLON SANCHEZ                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681147 JOSE A COLON SANTIAGO                        PO BOX 1434                                                                                               GUAYAMA            PR         00785
  681150 JOSE A COLON TORRES                          PO BOX 72                                                                                                 BARRANQUITAS       PR         00754
  245089 JOSE A COLON VARGAS                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245090 JOSE A COLON VAZQUEZ                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         JOSE A COLON/EQUIPO ROYALS
  681152 BASEBALL CLUB                                EXT VILLAS DE LOIZA     DD 28 CALLE 45 A                                                                  CANOVANAS          PR         00729
  245092 JOSE A COLORADO VEGA                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  245093 JOSE A CONCEPCION CRUZ                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  245095 JOSE A CONCEPCION RIVERA                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  245096 JOSE A CONCEPCION SOTO                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  245097 JOSE A CONTRERAS                             REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  681155 JOSE A CORA FIGUEROA                         URB COUNTRY CLUB 931    CALLE LABRADOR                                                                    SAN JUAN           PR         00924
  245098 JOSE A CORA RODRIGUEZ                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  681157 JOSE A CORDERO                               RES VIGO SALAS APT 54                                                                                     QUEBRADILLAS       PR         00678
  681161 JOSE A CORDERO MORALES                       REPARTO ESPERANZA       J 16 CALLE 2                                                                      YAUCO              PR         00698
  245102 JOSE A CORDERO ROSARIO                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  681162 JOSE A CORDOVA OTERO                         P O BOX 1994                                                                                              BAYAMON            PR         00960
  245104 JOSE A CORIANO DUBLIN                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   245106 JOSE A CORRALIZA MALDONADO REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   681163 JOSE A CORREA MALAVE       HC 73 BOX 5902                                                                                                             NARANJITO          PR         00719
   245107 JOSE A CORREA OCASIO       REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   680889 JOSE A CORREA PEREZ        RR 01 BOX 231                                                                                                              ANASCO             PR         00610
   245108 JOSE A CORREA RIVERA       REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   245109 JOSE A CORREA ROHENA       REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   245112 JOSE A CORRETJER           REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   245113 JOSE A CORTES CRESPO       REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED



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MML ID               NAME                                       ADDRESS 1                     ADDRESS 2              ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  681164 JOSE A CORTES SANABRIA                       PO BOX 22                                                                                                      AGUADA              PR         00611
  245114 JOSE A CORTIJO COLON                         REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  681165 JOSE A CORUJO SOTO                           HC 04 BOX 30317                                                                                                HATILLO             PR         00659
  681167 JOSE A COSME MALDONADO                       BO GUAVATE 22550                                                                                               CAYEY               PR         00736
  681168 JOSE A COSME RIOS                            HC 1 BOX 7111                                                                                                  COROZAL             PR         00783
  681171 JOSE A COSTOSO ORTIZ                         MIRAFLORES                    35 10 CALLE 42                                                                   BAYAMON             PR         00957
  245115 JOSE A COTTE TORRES                          REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  681172 JOSE A COTTO BAEZ                            HC 2 BOX 31277                                                                                                 CAGUAS              PR         00725‐9407
  245116 JOSE A COTTO COLON                           REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  245118 JOSE A COTTO CORREA                          REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  245119 JOSE A COTTO COTTO                           REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  681173 JOSE A COTTO MARCANO                         RES QUINTANA EDIF E 25                                                                                         SAN JUAN            PR         00919
                                                      PARCELAS VAN SKOY D‐4 CALLE‐3
   681174 JOSE A COTTO NIEVES                         WEST                                                                                                           BAYAMON             PR         00957
   245120 JOSE A CRESPI MARRERO                       REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681175 JOSE A CRESPO                               HC 02 BOX 18501                                                                                                LAJAS               PR         00667
   681176 JOSE A CRESPO AQUINO                        HC 01 BOX 5403                                                                                                 CAMUY               PR         00627
          JOSE A CRESPO
   681177 JUSTINIANO/OBDELIA JUSTINI                  4000 SILIECREEK FT WORTH                                                                                       WORTH               TX         76108
   245121 JOSE A CRESPO RIVERA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681180 JOSE A CRESPO ROMAN                         HC 67 BOX 15263              SEC VERGARA MINILLAS                                                              BAYAMON             PR         00956
   681181 JOSE A CRESPO SANCHEZ                       PO BOX 779                                                                                                     AGUADA              PR         00602
   245122 JOSE A CRESPO TORRES                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   681182 JOSE A CRISTOBAL VELAZQUEZ                  ALTURAS DE FLAMBOYAN         AA 36 CALLE 15                                                                    BAYAMON             PR         00959
   681183 JOSE A CROOKE VALES                         URB VISTA RIO GRANDE         178 CALLE CEIBA                                                                   RIO GRANDE          PR         00745
   245125 JOSE A CRUZ                                 REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681184 JOSE A CRUZ BUJOSA                          SECT LAS ANIMAS              419 CALLE 26                                                                      ARECIBO             PR         00612
   681189 JOSE A CRUZ CINTRON                         HC 73 BOX 6082                                                                                                 NARANJITO           PR         00719
   681190 JOSE A CRUZ COLON                           CAMPO ALEGRE                 B 29 CALLE ROBLES                                                                 BAYAMON             PR         00956
   681191 JOSE A CRUZ CRESPO                          BOX 2082                                                                                                       PONCE               PR         00731
   245128 JOSE A CRUZ CRUZ                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245130 JOSE A CRUZ DE JESUS                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245131 JOSE A CRUZ DELGADO                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245132 JOSE A CRUZ ELLIS                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681192 JOSE A CRUZ ESCALERA                        RES TORRES DE SABANA         EDIF F APT 611 C                                                                  CAROLINA            PR         00985
   681193 JOSE A CRUZ ESTRADA                         P O BOX 1225                                                                                                   SAN LORENZO         PR         00754
   245133 JOSE A CRUZ FANTAUZI                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681195 JOSE A CRUZ GARCIA                          110 CALLE COMERCIO           ANEXO B                                                                           JUANA DIAZ          PR         00795
   681200 JOSE A CRUZ JIMENEZ                         PO BOX 9066161                                                                                                 SAN JUAN            PR         00906 6161
   681201 JOSE A CRUZ JUSTINIANO                      VILLAS DE OESTE              704 CALLE TAURO                                                                   MAYAGUEZ            PR         00680
   245135 JOSE A CRUZ LOPEZ                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245137 JOSE A CRUZ MARTINEZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245138 JOSE A CRUZ MATOS                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681202 JOSE A CRUZ MELENDEZ                        P O BOX 1274                                                                                                   CIALES              PR         00638
   245139 JOSE A CRUZ MENDEZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681204 JOSE A CRUZ MORALES                         COND EL CORDOBES             11A AVE SAN PATRICIO                                                              GUAYNABO            PR         00968
   245140 JOSE A CRUZ MORELL                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681205 JOSE A CRUZ NIEVES                          URB RIVERVIEW                ZC 40 CALLE 36                                                                    BAYAMON             PR         00961
   245141 JOSE A CRUZ NUNEZ                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681207 JOSE A CRUZ ORTIZ                           PO BOX 225                                                                                                     GUAYAMA             PR         00785
   245142 JOSE A CRUZ RIVERA                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681213 JOSE A CRUZ RODRIGUEZ                       HC 1 BOX 4074                                                                                                  FLORIDA             PR         00650



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MML ID                    NAME                                 ADDRESS 1                     ADDRESS 2                     ADDRESS 3                           ADDRESS 4              CITY       STATE    POSTAL CODE        COUNTRY

   681214 JOSE A CRUZ ROQUE                           SECTOR MOGOTE              CALLE RUFINO GONZALEZ BZN 17                                                              CAYEY               PR         00736
   681215 JOSE A CRUZ ROSADO                          P O BOX 1127                                                                                                         TRUJILLO ALTO       PR         00977
   245143 JOSE A CRUZ SANTIAGO                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245144 JOSE A CRUZ TORRES                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681218 JOSE A CRUZ VARGAS                          PMB 1302                   243 CALLE PARIS                                                                           SAN JUAN            PR         00917
   245146 JOSE A CRUZ VILLA                           REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245147 JOSE A CRUZ ZAMBRANA                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245148 JOSE A CUEBAS QUINONES                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245149 JOSE A CUEVAS ANDUJAR                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245150 JOSE A CUEVAS DE LUCA                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245151 JOSE A CUEVAS PADILLA                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681219 JOSE A CUEVAS RIVERA                        406 CALLE AMERICA          INT MODELO                                                                                SAN JUAN            PR         00917
   681220 JOSE A CUEVAS SANCHEZ                       P O BOX 11103                                                                                                        SAN JUAN            PR         00922‐1103
   681221 JOSE A CUEVAS SEGARRA                       PO BOX 191735                                                                                                        SAN JUAN            PR         00919‐1735
   681222 JOSE A CURET VEGA                           CENTRAL MERCEDITA          583 SECTOR LA LINEA                                                                       PONCE               PR         00780
   245152 JOSE A CUSTODIO TORRES                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245153 JOSE A DAVILA FERNANDEZ                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245154 JOSE A DAVILA GONZALEZ                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681226 JOSE A DAVILA SANTIAGO                      PO BOX 680                                                                                                           AIBONITO            PR         00705
   245155 JOSE A DAVILA SANTOS                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681227 JOSE A DAVILA VEGA                          BO MAMEYES                 CALLE B 6                                                                                 BARCELONETA         PR         00646
   245156 JOSE A DAVIS PELLOT                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245157 JOSE A DE JESUS ALICEA                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245158 JOSE A DE JESUS BUJOSA                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245159 JOSE A DE JESUS JUSTINIANO                  REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681230 JOSE A DE JESUS MARTINEZ                    HC 44 BOX 13002                                                                                                      CAGUAS              PR         00736
   245160 JOSE A DE JESUS ORTIZ                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245161 JOSE A DE JESUS PEðA                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245164 JOSE A DE JESUS RIVERA                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681233 JOSE A DE JESUS ROSA                        COLINAS DE SAN JUAN        EDIF D APT 161                                                                            SAN JUAN            PR         00924
   681234 JOSE A DE JESUS VAZQUEZ                     2DA SECC LEVITTOWN         J 2721 PASEO AMBAR                                                                        TOA BAJA            PR         00949
   245166 JOSE A DE LA CRUZ ACEVEDO                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245167 JOSE A DE LA OBRA SANCHEZ                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245168 JOSE A DE LEON CRUZ                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245169 JOSE A DE LEON FUENTES                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681238 JOSE A DE LEON MATOS                        URB MOUNTAIN VIEW          C 10 CALLE 14                                                                             CAROLINA            PR         00987

   245172 JOSE A DE SANTIAGO SERRANO                  REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
                                                      71 CALLE PRODENCIO R
   681240 JOSE A DEL RIO AVILES                       MARTINEZ                                                                                                             SAN JUAN            PR         00918
   245173 JOSE A DEL VALLE OYOLA                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   681241 JOSE A DEL VALLE RANGEL                     URB VILLA GRILLASCA        2064 CALLE MODESTO RIVERA                                                                 PONCE               PR         00717
   681242 JOSE A DEL VALLE TORRES                     URB VILLA BLANCA           15 CALLE AMATISTA                                                                         CAGUAS              PR         00725‐1903
   681244 JOSE A DELGADO                              URB EL REMANSO             F 8 CORRIENTE                                                                             SAN JUAN            PR         00926
   245174 JOSE A DELGADO COLON                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681246 JOSE A DELGADO FERNANDEZ                    PO BOX 420 GARROCHALES                                                                                               ARECIBO             PR         00652
   245175 JOSE A DELGADO GONZALEZ                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245176 JOSE A DELGADO MOLINA                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681248 JOSE A DELGADO MORALES                      P O BOX 1418                                                                                                         ARECIBO             PR         00613
   245177 JOSE A DELGADO OCASIO                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681251 JOSE A DELGADO QUILES                       J 12 URB TREASURE VALLEY                                                                                             CIDRA               PR         00739



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  681252 JOSE A DELGADO RIOS                          RESIDENCIAL DOS RIOS A‐10                                                                                           CIALES              PR         00638
  245178 JOSE A DELGADO RODRIGUEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  245179 JOSE A DELGADO TOLEDO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  681254 JOSE A DELGADO VALENTIN                      HC 8 BOX 52312                                                                                                      HATILLO             PR         00659‐9848

   245180 JOSE A DELIZ / DBA DELCON INC URB VEREDAS                               493 CAMINO DE LAS AMAPOLAS                                                              GURABO              PR         00778
   681255 JOSE A DENIZAR DIAZ           PO BOX 9021112                                                                                                                    SAN JUAN            PR         00902‐1112
   681256 JOSE A DENIZARDO DIAZ         PO BOX 9021112                                                                                                                    SAN JUAN            PR         00902‐1112
          JOSE A DIAZ / ARECIBO SEND
   681257 RUNNERS CLUB                  BO HATO ARRIBA                            42 CALLE B                                                                              ARECIBO             PR         00612
   245181 JOSE A DIAZ AGOSTO            REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE A DIAZ AGOSTO INSURANCE
   245182 INC                           420 PONCE DE LEON STE B6                                                                                                          SAN JUAN            PR         00918
   245183 JOSE A DIAZ ALEJANDRO         REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245184 JOSE A DIAZ ANAYA             REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245185 JOSE A DIAZ AYALA             REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245187 JOSE A DIAZ BURGOS            REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245188 JOSE A DIAZ CAMACHO           REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681260 JOSE A DIAZ CRUZ              BOX 266                                                                                                                           LAS PIEDRAS         PR         00771
   245189 JOSE A DIAZ DAVID             REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245190 JOSE A DIAZ DEL VALLE         REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245191 JOSE A DIAZ DIAZ              REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245192 JOSE A DIAZ ESCRIBANO         REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681261 JOSE A DIAZ GABRIEL           RR7 BOX 6262                                                                                                                      SAN JUAN            PR         00926
   245193 JOSE A DIAZ GARCIA            REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681263 JOSE A DIAZ GONZALEZ          SECTOR TRABAL                             HC 03 BOX 19812                                                                         LAS MARIAS          PR         00670
   245194 JOSE A DIAZ HERNANDEZ         REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681264 JOSE A DIAZ LLAVONA           URB SAN AGUSTIN                           1157 MAXIMO ALOMAR                                                                      SAN JUAN            PR         00923
   681265 JOSE A DIAZ LOPEZ             P O BOX 140832                                                                                                                    ARECIBO             PR         00614‐0832
   681266 JOSE A DIAZ MALDONADO         NUEVA VIDA EL TUQUE                       I‐83 CALLE 4‐A                                                                          PONCE               PR         00731
   245195 JOSE A DIAZ MATOS             REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245196 JOSE A DIAZ MELENDEZ          REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245197 JOSE A DIAZ MULET             REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245198 JOSE A DIAZ OCASIO            REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245199 JOSE A DIAZ PEREZ             REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681270 JOSE A DIAZ PONTON            HC 2 BOX 14708                                                                                                                    CAROLINA            PR         00987
   245200 JOSE A DIAZ RIVERA            REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245201 JOSE A DIAZ RODRIGUEZ         REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245202 JOSE A DIAZ ROSADO            REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   681273 JOSE A DIAZ SANTOS                          SAN MIGUEL TOWERS APT 412                                                                                           MAYAGUEZ            PR         00680
   245203 JOSE A DIAZ SEGARRA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681275 JOSE A DIAZ TORRES                          RR 7 BOX 8605                                                                                                       SAN JUAN            PR         00928
   681276 JOSE A DIEZ MANZANO                         PARCELAS CASTILLO           C 39 CALLE W PEREZ                                                                      MAYAGUEZ            PR         00680

          JOSE A DOMINGUEZ/JEANNETTE
   245205 RIVERA                                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681277 JOSE A DONATO RIVERA                        P O BOX 8533                                                                                                        HUMACAO             PR         00792
          JOSE A DONES KIM Y CARMEN L
   245206 FONTANEZ                                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245207 JOSE A DORTA TALAVERA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681278 JOSE A DRAGONI MENDEZ                       HC 10 BOX 8575                                                                                                      SABANA GRANDE       PR         00637




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   681279 JOSE A DROUGN MORALES                       URB ALTURAS DE FLAMBOYAN    F 8 CALLE 9                                                                         BAYAMON             PR         00959
   245208 JOSE A DUENO MALDONADO                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681280 JOSE A DURAN LOPEZ                          HC 01 BOX 3877                                                                                                  QUEBRADILLA         PR         00678
          JOSE A ECHEVARIA
   245209 QUINONES/NATALIA CORTES                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245210 JOSE A ECHEVARRIA GARCIA                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   245211 JOSE A ECHEVARRIA MONTOYO                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   245212 JOSE A ECHEVARRIA RODRIGUEZ REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245213 JOSE A ECHEVARRIA ROSADO    REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   245214 JOSE A EDENHOFER KRASINSKI                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   245216 JOSE A ENCARNACION CRESPO                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   681282 JOSE A ENCARNACION REXACH                   AP 24URB VEVE CALZADA                                                                                           FAJARDO             PR         00738
   681283 JOSE A ENRIQUE DE LA PAZ                    PO BOX 29611                                                                                                    SAN JUAN            PR         00926‐0611
   681284 JOSE A ENTRADA PADILLA                      URB 4 TA SECCION LEVITOWN   Q 3 CALLE LUZ ESTE                                                                  TOA BAJA            PR         00933
   245217 JOSE A ERAZO SIERRA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681285 JOSE A ESCALERA BENITEZ                     BORINQUEN GARDENS           14 RES MAGNOLIA GDNS                                                                BAYAMON             PR         00956
   681286 JOSE A ESCALERA THOMAS                      P O BOX 2017                P M B 147                                                                           LAS PIEDRAS         PR         00771
   245218 JOSE A ESCALERA ZARZUELA                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245219 JOSE A ESCOBAL DATIL                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245220 JOSE A ESCOBAR OSUNA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245221 JOSE A ESCOBAR SOTO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   681289 JOSE A ESCORIAZA RODRIGUEZ                  HC 2 BOX 110‐13             BO COCOS                                                                            QUEBRADILLA         PR         00678
   245222 JOSE A ESMERALDA TORRES                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   245223 JOSE A ESPARRA MENDOZA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681290 JOSE A ESPARRA ROSELLO                      A 87 REPARTO ROBLES                                                                                             AIBONITO            PR         00705
   245224 JOSE A ESPINOSA GONZALEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681293 JOSE A ESPINOSA RIVERA                      HC 05 BOX 53301                                                                                                 HATILLO             PR         00659
   681294 JOSE A ESTELA CORTIJO                       HC 03 BOX 6671                                                                                                  HUMACAO             PR         00791‐9521
   681295 JOSE A ESTREMERA ALVAREZ                    HC 1 BOX 3268                                                                                                   QUEBRADILLA         PR         00678
   245225 JOSE A ESTREMERA COLON                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   680891 JOSE A ESTRONZA GONZALEZ                    HC 01 BOX 3929                                                                                                  ADJUNTAS            PR         00601
   681296 JOSE A FAJARDO VEGA                         URB FLORAL PARK             510 CALLE PACHIN MARIN                                                              SAN JUAN            PR         00917
   245226 JOSE A FALERO DE JESUS                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681297 JOSE A FALERO QUILES                        PO BOX 1761                                                                                                     CAYEY               PR         00737‐1761
   681298 JOSE A FALGAS OROZCO                        VILLA CAROLINA              8 C/ 614 BLOQUE 235                                                                 CAROLINA            PR         00985‐2229
   245227 JOSE A FEBRES ORTIZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681300 JOSE A FEBUS RODRIGUEZ                      HC 04 BOX 6526                                                                                                  COROZAL             PR         00783
   245228 JOSE A FELICIANO FIGUEROA                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681302 JOSE A FELICIANO LOPEZ                      PARCELAS CHIVAS CACAO       CALLE 8 BOX 1911                                                                    QUEBRADILLAS        PR         00678
   245229 JOSE A FELICIANO REYES                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   245231 JOSE A FELICIANO RODRIGUEZ                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   681305 JOSE A FELIZ GUZMAN                         HC 3 BOX 8458                                                                                                   GUAYNABO            PR         00971
   681306 JOSE A FERNANDEZ BATISTA                    CASA MIA                    4967 CALLE ZUMBADOR                                                                 PONCE               PR         00728

   245232 JOSE A FERNANDEZ CAMACHO                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  245233 JOSE A FERNANDEZ COLON                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  245234 JOSE A FERNANDEZ LOPEZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  245235 JOSE A FERNANDEZ PAOLI                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  681307 JOSE A FERNANDEZ SOTO                        PO BOX 8838                                                                                                        BAYAMON             PR         00960
  245237 JOSE A FERRAO BOSCHETTI                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  681308 JOSE A FERRER MELENDEZ                       URB MONTE BRISAS           V R 17 CALLE 10                                                                         FAJARDO             PR         00738
  681309 JOSE A FERRER PAGAN                          BOX 10202                                                                                                          SAN JUAN            PR         00908
  681311 JOSE A FIGUEROA                              HC 1 BOX 8581                                                                                                      LUQUILLO            PR         00773
  245239 JOSE A FIGUEROA AVILES                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  245240 JOSE A FIGUEROA BAEZ                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   245241 JOSE A FIGUEROA CALZAMILIA                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681316 JOSE A FIGUEROA COLON                       MANCIONES REALES           C 37 PASEO DE LA REINA                                                                  GUAYNABO            PR         00969‐0000
   245242 JOSE A FIGUEROA CORREA                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245243 JOSE A FIGUEROA FIGUEROA                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681317 JOSE A FIGUEROA FONTANEZ                    RIVERAS DE CUPEY           F 7 MONTE BRINTTON                                                                      SAN JUAN            PR         00927
   681318 JOSE A FIGUEROA GARAY                       PARC CENTRAL               8A CALLE 14                                                                             CANOVANAS           PR         00729
   245244 JOSE A FIGUEROA GONZALEZ                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681321 JOSE A FIGUEROA IRIZARRY                    P O BOX 688                                                                                                        GUAYNABO            PR         00970
   245245 JOSE A FIGUEROA JIMENEZ                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245246 JOSE A FIGUEROA LUGO                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245248 JOSE A FIGUEROA MORALES                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245249 JOSE A FIGUEROA OJEDA                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245250 JOSE A FIGUEROA OLAVARRIA                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245252 JOSE A FIGUEROA RIVERA                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   245253 JOSE A FIGUEROA RODRIGUEZ                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681326 JOSE A FIGUEROA ROMERO                      UBR ANTILLANA              AN 43 VIA ANTILLANA                                                                     TRUJILLO ALTO       PR         00976
   245254 JOSE A FIGUEROA ROSADO                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681327 JOSE A FIGUEROA SANTIAGO                    PO BOX 146                                                                                                         COROZAL             PR         00783
          JOSE A FIGUEROA Y DIANA
   681328 VARGAS                                      Y JOSE A FIGUEROA VARGAS   9279 COMUNIDAD SERRANO                                                                  JUANA DIAZ          PR         00795
   245255 JOSE A FLORES COTTE                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681329 JOSE A FLORES CRUZ                          HC 01 BOX 10426                                                                                                    LAJAS               PR         00667
   681330 JOSE A FLORES DELGADO                       HC 40 BOX 44602                                                                                                    SAN LORENZO         PR         00754
   681331 JOSE A FLORES HERNANDEZ                     HC 1 BOX 9236                                                                                                      GUAYANILLA          PR         00730
   681332 JOSE A FLORES MARRERO                       VILLAS DE LOIZA            QQ 9 CALLE 28                                                                           CANOVANAS           PR         00729
   245256 JOSE A FLORES ORTIZ                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681333 JOSE A FLORES RODRIGUEZ                     5 URB LAS MERCEDES                                                                                                 AIBONITO            PR         00705
   681334 JOSE A FLORES TORRES                        BO REAL                    BNZ 1025                                                                                PATILLAS            PR         00723
   245257 JOSE A FOLCH RIVERA                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681335 JOSE A FONTANEZ HUERTAS                     HC 73 BOX 5136                                                                                                     NARANJITO           PR         00719‐9612
   681336 JOSE A FONTANEZ VAZQUEZ                     P O BOX 1004                                                                                                       COMERIO             PR         00782
   681337 JOSE A FONTANILLAS PINO                     PO BOX 1456                                                                                                        QUEBRADILLAS        PR         00678
   681338 JOSE A FORNES CANGIANO                      HC 02 BOX 8746                                                                                                     JUANA DIAZ          PR         00795
   681339 JOSE A FOURQUET                             P O BOX 386 LAJAS                                                                                                  LAJAS               PR         00667
   245258 JOSE A FRAGOSA ALVAREZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE A FRANCESCHINI
   681340 MALDONADO                                   URB VALLE ARRIBA HEIGHT    DD 6 CALLE 613                                                                          CAROLINA            PR         00987
   681341 JOSE A FRANCESHINI CARLO                    EDF MEDICO SANTA CRUZ      SUITE 201 SANTA CRUZ ST 73                                                              BAYAMON             PR         00959
   245260 JOSE A FRATICELLI LUGO                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681342 JOSE A FREIRE DEL MANZANO                   URB. EL COMANDANTE         944 CALLE CECILIO LEBRON                                                                RIO PIEDRAS         PR         00924
   681343 JOSE A FRET QUILES                          19 CALLE TEODORO RAMIREZ                                                                                           VEGA ALTA           PR         00692



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  245261 JOSE A FRET QUINONES                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  681344 JOSE A FRIAS ARIZA                           URB RIO HONDO               M 18 CALLE RIO CAGUITAS                                                              BAYAMON             PR         00956
  245262 JOSE A FUENTES                               REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  681345 JOSE A FUENTES AGOSTINI                      PO BOX 9020192                                                                                                   SAN JUAN            PR         00902‐0192
                                                      BANCO DESARROLLO
   681346 JOSE A FUENTES BAEZ A/C                     ECONOMICO PR                PO BOX 3588                                                                          GUAYNABO            PR         00970
   681347 JOSE A FUENTES CENTENO                      VICTOR ROJAS II             103 CALLE 5                                                                          ARECIBO             PR         00612
   245263 JOSE A FUENTES NIEVES                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245264 JOSE A FUENTES ORTIZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681349 JOSE A FUENTES ROMERO                       HC 1 BOX 7317                                                                                                    LOIZA               PR         00772‐9742
   681350 JOSE A FUENTES SANTOS                       91 A CALLE BETANCE                                                                                               CIALES              PR         00638
   245265 JOSE A FUERTES BACHMAN                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681354 JOSE A GAITAN GONZALEZ                      URB MARIOLGA S 1 C 21       AVENIDA MUNOZ RIVERA                                                                 CAGUAS              PR         00725
   245266 JOSE A GALARCE FOURNIER                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681355 JOSE A GALARZA HERNANDEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245267 JOSE A GALARZA RODRIGUEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245268 JOSE A GALI RODRIGUEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245269 JOSE A GALINDO ORTIZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681358 JOSE A GALLARDO                             HC 0067 BOX 16519                                                                                                FAJARDO             PR         00738
   245270 JOSE A GALLART PEREZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245271 JOSE A GARCIA                               REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE A GARCIA BERRIOS / IRIS D
   681361 DIAZ                                        PMB 316                     HC 71 BOX 3766                                                                       NARANJITO           PR         00719
   681362 JOSE A GARCIA CAMACHO                       P O BOX 320                                                                                                      VEGA ALTA           PR         00692
   245273 JOSE A GARCIA COLON                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE A GARCIA DE JESUS DBA
   245275 ESTACION DE                                 INSPECCION JERICO AG80      P O BOX 81                                                                           QUEBRADILLAS        PR         00678
   245276 JOSE A GARCIA EFRE                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      28‐1ERO 1 AVENIDA DE
   681364 JOSE A GARCIA FERNANDEZ                     ABRANTES                                                                                                         MADRID                         28025        SPAIN
   245277 JOSE A GARCIA FLORES                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681366 JOSE A GARCIA GARCIA                        BO SANTO DOMINGO            94 CALLE MUNOZ RIVERA                                                                PENUELAS            PR         00624
   681368 JOSE A GARCIA MALDONADO                     URB VENUS GARDEN            1764 CALLE ANGEISES                                                                  RIO PIEDRAS         PR         00926
   681369 JOSE A GARCIA MARTI                         QUINTAS DE CUPEY            APTO D 204                                                                           SAN JUAN            PR         00926
   681370 JOSE A GARCIA MOJICA                        URB MAGNOLIA                E 22 CALLE 7                                                                         BAYAMON             PR         00960
   245278 JOSE A GARCIA MUNIZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245279 JOSE A GARCIA NIEVES                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245280 JOSE A GARCIA ORTIZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681371 JOSE A GARCIA PADILLA                       HC 71 BOX 2310                                                                                                   NARANJITO           PR         00719‐9747
   245281 JOSE A GARCIA PEREZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245283 JOSE A GARCIA POMALES                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245284 JOSE A GARCIA QUILES                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681372 JOSE A GARCIA RAMOS                         E 3 URB SAN PEDRO                                                                                                MAUNABO             PR         00707

   681374 JOSE A GARCIA RIVERA                        275 AVE WINSTON CHURCHILL                                                                                        SAN JUAN            PR         00926
   681376 JOSE A GARCIA RODRIGUEZ                     PO BOX 2616                                                                                                      MAYAGUEZ            PR         00681‐2616
   245285 JOSE A GARCIA RONZINO                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245286 JOSE A GARCIA ROSADO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245287 JOSE A GARCIA SOTO                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245288 JOSE A GARCIA VAZQUEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681379 JOSE A GARCIA VIRELLA                       P O BOX 71325‐123                                                                                                SAN JUAN            PR         00936
   245289 JOSE A GARCIA ZAVALA                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245290 JOSE A GASTON RIVERA                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  681380 JOSE A GASTON SANTIAGO                       P O BOX 2390                                                                                                   SAN JUAN           PR         00919
  245291 JOSE A GERENA CORSINO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245292 JOSE A GERENA RUIZ                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681385 JOSE A GIL DE LA MADRID                      P O BOX 689                                                                                                    CABO ROJO          PR         00623
  681386 JOSE A GIMENEZ                               VALENCIA SUITE 322          CALLE BADAJOZ APT C 5                                                              SAN JUAN           PR         00923
  681387 JOSE A GIOVANNETTI ROMAN                     EXT VILLA MILAGRO           4 CALLE 3                                                                          YAUCO              PR         00698
  681388 JOSE A GOMEZ                                 PO BOX 337                                                                                                     MANATI             PR         00674
  245294 JOSE A GOMEZ CANALS                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245296 JOSE A GOMEZ LOPEZ                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681390 JOSE A GOMEZ MALDONADO                       URB EL CONQUISTADOR         B24 CALLE 2                                                                        TRUJILLO ALTO      PR         00976
  680892 JOSE A GOMEZ SILVA                           PO BOX 181                                                                                                     AGUAS BUENAS       PR         00703
         JOSE A GOMEZ/ CINDY M
  245297 RODRIGUEZ                                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245298 JOSE A GONZALEZ                              REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         JOSE A GONZALEZ / 9
  681393 GARROCHALES CLASE A                          BO GARROCHALES              HC 01 BOX 4550                                                                     BARCELONETA        PR         00617
         JOSE A GONZALEZ / GLORIA
  681394 CORTES                                       URB JARDINES DE GUATEMALA   E 25 CALLE 1                                                                       SAN SEBASTIAN      PR         00685
         JOSE A GONZALEZ / JOSEFA
  245299 CORTES                                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681395 JOSE A GONZALEZ ABRAMS                       HC 2 BOX 8079                                                                                                  QUEBRADILLAS       PR         00678
  245301 JOSE A GONZALEZ AVILA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245303 JOSE A GONZALEZ CRESPO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681397 JOSE A GONZALEZ CRUZ                         PARCELAS SAN ROMUALDO       215 A CALLE K                                                                      HORMIGUEROS        PR         00660
  681398 JOSE A GONZALEZ DIAZ                         HC 3 BOX 15286                                                                                                 ARECIBO            PR         00612
  680786 JOSE A GONZALEZ DIAZ                         PO BOX 150                                                                                                     CIDRA              PR         00739‐9720
  681401 JOSE A GONZALEZ ECHEVARIA                    RESIDENCIAL GANDARA         EDF 5 APT 27                                                                       MOCA               PR         00676

   245304 JOSE A GONZALEZ ECHEVARRIA                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245305 JOSE A GONZALEZ FELICIANO                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245306 JOSE A GONZALEZ FONTANEZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681405 JOSE A GONZALEZ GARCIA                      HC 01 BOX 3407                                                                                                 ADJUNTAS           PR         00601

   245307 JOSE A GONZALEZ GIERBOLINI                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681406 JOSE A GONZALEZ GOMEZ                       BO SAN ISIDRO               PARCELA 100 CALLE 8                                                                CANOVANAS          PR         00729
   245308 JOSE A GONZALEZ GONZALEZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245311 JOSE A GONZALEZ LOPEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245313 JOSE A GONZALEZ MATOS                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      URB CAPARRA HEIGHTS 537
   681411 JOSE A GONZALEZ MEDINA                      CALLE ELMA                                                                                                     SAN JUAN           PR         00921
   245315 JOSE A GONZALEZ MENDEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245316 JOSE A GONZALEZ MORALES                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681414 JOSE A GONZALEZ PEREZ                       HC 01 BOX 5065                                                                                                 CAMUY              PR         00627
   245320 JOSE A GONZALEZ QUILES                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245321 JOSE A GONZALEZ RAMOS                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681416 JOSE A GONZALEZ REYES                       RR 02 BOX 5397                                                                                                 CIDRA              PR         00739
   681418 JOSE A GONZALEZ RIVERA                      BO TAMARINDO                160 CALLE 4                                                                        PONCE              PR         00731
   681419 JOSE A GONZALEZ ROBLES                      GREEN VILLAGE 306 A         DE DIEGO 473                                                                       RIO PIEDRAS        PR         00926

   245322 JOSE A GONZALEZ RODRIGUEZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245323 JOSE A GONZALEZ ROMAN                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681422 JOSE A GONZALEZ ROSA                        BO GUAVATE 22550                                                                                               CAYEY              PR         00736
   245324 JOSE A GONZALEZ ROSADO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  245325 JOSE A GONZALEZ ROSARIO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   681423 JOSE A GONZALEZ SOTO                        PO BOX 3058 HATO ARRIBA STA                                                                                     SAN SEBASTIAN       PR         00685
   681424 JOSE A GONZALEZ TALAVERA                    COUNTRY CLUB                  923 LLAUSETINA                                                                    SAN JUAN            PR         00924
   681425 JOSE A GONZALEZ TOLEDO                      HC 1 BOX 4217                                                                                                   LARES               PR         00669
   245328 JOSE A GONZALEZ TORRES                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245330 JOSE A GONZALEZ VALENTIN                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245331 JOSE A GONZALEZ VAZQUEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   245332 JOSE A GONZALEZ VELAZQUEZ                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245333 JOSE A GONZALEZ VELEZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681428 JOSE A GORDIAN GONZALEZ                     ALTURAS DE SAN LORENZO        J 82 CALLE 5                                                                      SAN LORENZO         PR         00754
   245334 JOSE A GORDO GONZALEZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245335 JOSE A GORGAS RIVERA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681429 JOSE A GOTAY DE JESUS                       URB LOS FLAMBOYANES           317 CALLE HIGUERO                                                                 GURABO              PR         00778
   245336 JOSE A GOZALEZ NUNEZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681430 JOSE A GRACIA GARCIA                        VILLAS DE PLAYA II            APT B 10                                                                          DORADO              PR         00646
   681431 JOSE A GRACIANI SILVA                       PO BOX 2126                                                                                                     GUAYAMA             PR         00785
   681432 JOSE A GRAFALS                              PO BOX 1125                                                                                                     LARES               PR         00669
   681434 JOSE A GREEN                                HC‐02 BOX 5717                                                                                                  COMERIO             PR         00782
   245337 JOSE A GREEN VEGA                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   681435 JOSE A GREGORY GAZTAMBIDE                   304 DUFFONT PDA 19                                                                                              SANTURCE            PR         00907‐2916
   245338 JOSE A GRULLON MEDINA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681436 JOSE A GUADALUPE CRUZ                       REPARTO SABANETA              H 19 CALLE 3                                                                      MERCEDITA           PR         00715
   245339 JOSE A GUADALUPE RIVERA                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245341 JOSE A GUADARRAMA                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245342 JOSE A GUEVARA CINTRON                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245343 JOSE A GUEVAREZ FONTAN                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680893 JOSE A GUEVAREZ SANTOS                      URB COCO BEACH                625 CALLE VISTA MAR                                                               RIO GRANDE          PR         00745
   681437 JOSE A GUILLOTY RAMOS                       RR 1 BOX 40063                                                                                                  SAN SEBASTIAN       PR         00685
   245346 JOSE A GUINDIN SANTOS                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245347 JOSE A GUTIERREZ MARTINEZ                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681440 JOSE A GUTIERREZ RIVERA                     REPTO METROPOLITANO           1044 C/11 SURESTE                                                                 SAN JUAN            PR         00921
   245348 JOSE A GUZMAN CORREA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681441 JOSE A GUZMAN LOPEZ                         PMB 89 PO BOX 4952                                                                                              CAGUAS              PR         00726‐4952
   681442 JOSE A GUZMAN MARTINEZ                      HC‐73 BOX 4530                                                                                                  NARANJITO           PR         00719
   681443 JOSE A GUZMAN MELENDEZ                      URB RUSSE                     8 CALLE LIRIOS                                                                    MOROVIS             PR         00687
   681444 JOSE A GUZMAN MORALES                       PO BOX 404                                                                                                      BARRANQUITAS        PR         00794
   681445 JOSE A GUZMAN OBREGON                       56 E SANTIAGO R PALMER                                                                                          MAYAGUEZ            PR         00680
   245349 JOSE A GUZMAN TORRES                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245350 JOSE A GUZMAN VAZQUEZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681446 JOSE A HEREDIA RODRIGUEZ                    HC 02 BOX 6594                                                                                                  FLORIDA             PR         00650
   245351 JOSE A HERNANDEZ                            REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245352 JOSE A HERNANDEZ ADORNO                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681449 JOSE A HERNANDEZ AVILES                     203 CALLE GAUTIER BENITEZ                                                                                       SAN JUAN            PR         00915
   245353 JOSE A HERNANDEZ CARRERO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   681450 JOSE A HERNANDEZ CARTAGENA P M B 383                                      P O BOX 20000                                                                     CANOVANAS           PR         00729
   681451 JOSE A HERNANDEZ COLON     SANTA CLARA                                    COLLIN'S 5                                                                        JAYUYA              PR         00664‐1523
   681455 JOSE A HERNANDEZ CORTES    URB VILLA ANDALUCIA                            G 1 AVE FRONTERA                                                                  SAN JUAN            PR         00925
   245354 JOSE A HERNANDEZ DIAZ      REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245355 JOSE A HERNANDEZ GARCIA    REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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   245356 JOSE A HERNANDEZ HERNANDEZ REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681458 JOSE A HERNANDEZ LUCIANO   P O BOX 567                                                                                                                             LUQUILLO            PR           00773

   681459 JOSE A HERNANDEZ MAYORAL                    206 CALLE TETUAN SUITE 703                                                                                             SAN JUAN            PR           00901
   681460 JOSE A HERNANDEZ MERCED                     HC 1 BOX 5750                                                                                                          GUAYNABO            PR           00971
   681461 JOSE A HERNANDEZ MIRANDA                    URB BRISAS DE CANOVANAS       11 CALLE REINITA                                                                         CANOVANAS           PR           00729

   245357 JOSE A HERNANDEZ OLAVARRIA                  REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681462 JOSE A HERNANDEZ ORTEGA                     PO BOX 2350                                                                                                            MOCA                PR           00676
          JOSE A HERNANDEZ RENTAS Y/O
   245358 GARAJE PITO                                 REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE A HERNANDEZ RENTAS Y/O
   680894 GARAJE PITO                                 URB JOSE S QUINONEZ           29 CALLE JOSE DE DIEGO                                                                   CAROLINA            PR           00985
   681464 JOSE A HERNANDEZ RIVAS                      BARRIO VILLA PALMERAS         CALLE UNION 75                                                                           SAN JUAN            PR           00915
   245359 JOSE A HERNANDEZ RIVERA                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681465 JOSE A HERNANDEZ ROBLES                     PARQUE LOS ALMENDROS          620 AA NUM 10                                                                            PONCE               PR           00716‐4169

   245362 JOSE A HERNANDEZ RODRIGUEZ                  REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681469 JOSE A HERNANDEZ SILVA                      URB BELLA VISTA               J 19 CALLE 13                                                                            BAYAMON             PR           00957
   245365 JOSE A HERNANDEZ VIBO                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681470 JOSE A HERRERA DALMAU                       URB VENUS GARDENS             1771 CALLE ANDROMEDA                                                                     TRUJILLO ALTO       PR           00977
   245366 JOSE A HERRERO RODRIGUEZ                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   245367 JOSE A HUERTAS SANTIAGO                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   245368 JOSE A IGUINA DE LA ROSA                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681472 JOSE A IRIZARRY BELEN                       COM LOS PINOS                 PARC 234                                                                                 UTUADO              PR           00612
   245369 JOSE A IRIZARRY CARABALLO                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   245370 JOSE A IRIZARRY COLON                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681473 JOSE A IRIZARRY DE JESUS                    VALLE ARRIBA HEIGHTS          AB 21 AVE MONSERRATE                                                                     CAROLINA            PR           00983
   681474 JOSE A IRIZARRY DONES                       URB TERRAZAS DE CUPEY         K 9 CALLE 2                                                                              TRUJILLO ALTO       PR           00976
   245371 JOSE A IRIZARRY FERRA                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   245372 JOSE A IRIZARRY GONZALEZ                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   245373 JOSE A IRIZARRY LUGO                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681475 JOSE A IRIZARRY MAUROSA                     URB VALENCIA                  630 CALLE TOLEDO                                                                         SAN JUAN            PR           00923
   245374 JOSE A IRIZARRY MIRO                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   245375 JOSE A IRIZARRY MOLINA                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681476 JOSE A IRIZARRY MONTES                      URB VISTA ALEGRE              73 CALLE SEVILLA                                                                         AGUADILLA           PR           00603

   681477 JOSE A IRIZARRY PACHECO                     COND EL RETIRO                APT 511 ‐ 4027 CALLE AURORA                                                              PONCE               PR           00717
   681478 JOSE A IRIZARRY PEREZ                       PO BOX 1106                                                                                                            SAN GERMAN          PR           00683‐1106
   681480 JOSE A IRIZARRY RIVERA                      162 SANTIAGO R PALMER                                                                                                  MAYAGUEZ            PR           00680
   245376 JOSE A IRIZARRY SANTIAGO                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   245377 JOSE A IRIZARRY SOTO                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681485 JOSE A IRRIZARRY PEREZ                      PO BOX 562                                                                                                             LAJAS               PR           00667

   681486 JOSE A IZQUIERDO RODRIGUEZ                  URB BELMONTE 64               CALLE TURABO                                                                             MAYAGUEZ            PR           00680
   681487 JOSE A JIMENEZ ARUZ                         HC 02 BOX 12087                                                                                                        GURABO              PR           00778
   681488 JOSE A JIMENEZ DE JESUS                     URB SANTA ELENA               DD 10 CALLE H                                                                            BAYAMON             PR           00959‐1701
   681489 JOSE A JIMENEZ FIGUEROA                     PO BOX 1135                                                                                                            MOCA                PR           00676
   245378 JOSE A JIMENEZ GONZALEZ                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   681490 JOSE A JIMENEZ LANZO                        URB TULIPAN 474 JUAN KEPLER                                                                                            SAN JUAN            PR           00926
   245380 JOSE A JIMENEZ MONTES                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  681491 JOSE A JIMENEZ PLANAS                         3206 PASEO DEGETAU                                                                                            CAGUAS              PR         00727‐2933
  681492 JOSE A JIMENEZ ROSARIO                        HC 2 BOX 4869                                                                                                 GUAYAMA             PR         00784
  681493 JOSE A JIMENEZ SERRANO                        BARRIO FACTOR I            72 CALLE B                                                                         ARECIBO             PR         00612
  245382 JOSE A JORGE GUZMAN                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  681495 JOSE A JUARBE JIMENEZ                         URB MARIOLGA               M29 CALLE SAN RAMON                                                                CAGUAS              PR         00725
  681496 JOSE A JUSINO                                 OFIC SUPTE ESCUELAS        PO BOX 830                                                                         GUANICA             PR         00653
  245383 JOSE A JUSINO ARROYO                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  681497 JOSE A JUSTI RUIZ                             PO BOX 141416                                                                                                 ARECIBO             PR         00614
  681498 JOSE A JUSTINIANO AYALA                       PO BOX 341                                                                                                    MARICAO             PR         00606
  245384 JOSE A KAREH CORDERO                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  681499 JOSE A LA SANTA RIVERA                        BOX 7                                                                                                         GUAYAMA             PR         00784
  681500 JOSE A LABOY COLON                            66 CALLE SEGUNDO BERNIER                                                                                      COAMO               PR         00769
  681501 JOSE A LABOY DE JESUS                         URB TURABO GARDENS         A 21 CALLE 32                                                                      CAGUAS              PR         00725
  681503 JOSE A LACEN CIRINO                           HC 1 BOX 5355                                                                                                 LOIZA               PR         00772
                                                       COND PARQUE DE LA FUENTE
   681504 JOSE A LAGUARTA RAMIREZ                      APTO 403                                                                                                      SAN JUAN            PR         00918
   245385 JOSE A LAMBOY PALAU                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681505 JOSE A LANZO                                 URB REPTO EL CABO          A 5 CALLE 1                                                                        LOIZA               PR         00772
   681506 JOSE A LARREGUI                              PO BOX 21365                                                                                                  SAN JUAN            PR         00928‐1365
   245387 JOSE A LASANTA                               REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681507 JOSE A LASSALLE CASTRO                       HC 02 BOX 22405                                                                                               AGUADILLA           PR         00603
   681508 JOSE A LATORRE VEGA                          PO BOX 470                                                                                                    SAN ANTONIO         PR         00690
   245388 JOSE A LAUREANO MARTINEZ                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE A LAURENO MARCANO
   245389 /ROSHELLY MARRERO                            REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245390 JOSE A LAVERGNE ORTIZ                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245392 JOSE A LAZU REYES                            REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245393 JOSE A LEBRON GONZALEZ                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245394 JOSE A LEBRON NEGRON                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245395 JOSE A LEBRON ORTIZ                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245396 JOSE A LEBRON PENA                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245397 JOSE A LEBRON QUINONE                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681515 JOSE A LEBRON RODRIGUEZ                      RES BAIROA                 C 6 CALLE 10                                                                       CAGUAS              PR         00725
   681517 JOSE A LEBRON VEGA                           PO BOX 491                                                                                                    CIDRA               PR         00739
   681518 JOSE A LEON CARTAGENA                        P O BOX 741                                                                                                   CAYEY               PR         00737
   681519 JOSE A LEON CRUZ                             HACIENDA CONCORDIA         11193 CALLE MARGARITA                                                              SANTA ISABEL        PR         00757‐3121
   245399 JOSE A LEON SANTIAGO                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681520 JOSE A LIBERATO GONZALEZ                     REPARTO METROPOLITANO      SE 1162 CALLE 52                                                                   SAN JUAN            PR         00921
   245400 JOSE A LINARES DELGADO                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680787 JOSE A LINARES HERNANDEZ                     PO BOX 30901                                                                                                  SAN JUAN            PR         00902
   681521 JOSE A LINARES TORRES                        PO BOX 2382                                                                                                   MAYAGUEZ            PR         00681
   771119 JOSE A LIZASOAIN SANTIAGO                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245401 JOSE A LLAURADOR VELEZ                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245402 JOSE A LLAVONA OYOLA                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681525 JOSE A LOPEZ                                 P O BOX 9024275                                                                                               SAN JUAN            PR         00902
   245403 JOSE A LOPEZ ACEVEDO                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245404 JOSE A LOPEZ ALEJANDRO                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245405 JOSE A LOPEZ ANDINO                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245406 JOSE A LOPEZ ARROYO                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681527 JOSE A LOPEZ AVILES                          URB STA JUANITA            538 CALLE CIPRESS                                                                  BAYAMON             PR         00956
   245407 JOSE A LOPEZ BERNARD                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681528 JOSE A LOPEZ BIDOT                           4 CALLE PERELLO                                                                                               CAMUY               PR         00627
   245408 JOSE A LOPEZ CANCEL                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  245409 JOSE A LOPEZ CARRION                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681530 JOSE A LOPEZ CHICO                           P O BOX 1406                                                                                                      AGUADILLA          PR         00605
  681531 JOSE A LOPEZ CLAUDIO                         PO BOX 29625                                                                                                      CAGUAS             PR         00727
  245411 JOSE A LOPEZ DE JESUS                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681532 JOSE A LOPEZ FIGUEROA                        BOX 1441                                                                                                          JUANA DIAZ         PR         00795
  245412 JOSE A LOPEZ GARCIA                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681534 JOSE A LOPEZ GONZALEZ                        HC 4 BOX 18442                                                                                                    CAMUY              PR         00627
  245413 JOSE A LOPEZ HERNANDEZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245414 JOSE A LOPEZ LLANOS                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245415 JOSE A LOPEZ MADRAZO                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245417 JOSE A LOPEZ MARTINEZ                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245419 JOSE A LOPEZ MAYMI                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245420 JOSE A LOPEZ MEJIAS                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681538 JOSE A LOPEZ MORALES                         BO PUEBLO NUEVO              63 CALLE 1                                                                           VEGA BAJA          PR         00693
  245421 JOSE A LOPEZ MUNIZ                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681540 JOSE A LOPEZ NEGRON                          PO BOX 51715                                                                                                      TOA BAJA           PR         00951
  681541 JOSE A LOPEZ OCASIO                          URB CIUDAD MASSO             D 5 CALLE 9                                                                          SAN LORENZO        PR         00754
  245423 JOSE A LOPEZ OLIVERAS                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      QUINTAS DE DORADO C 13 CALLE
   681542 JOSE A LOPEZ OLMEDO                         2                                                                                                                 DORADO             PR       00646
   245424 JOSE A LOPEZ ORTIZ                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
   681544 JOSE A LOPEZ PABON                          PO BOX 800250                                                                                                     COTO LAUREL        PR       00780‐0250
   245425 JOSE A LOPEZ PACHECO                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
   681545 JOSE A LOPEZ PAGAN                          PO BOX 1475                                                                                                       GUAYNABO           PR       00970
   245426 JOSE A LOPEZ PEREZ                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
   245427 JOSE A LOPEZ QUINTERO                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
   245428 JOSE A LOPEZ RIVERA                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
   681552 JOSE A LOPEZ RODRIGUEZ                      VICTOR ROJAS I               307 CALLE ARAGON                                                                     ARECIBO            PR       00612
   245429 JOSE A LOPEZ ROMAN                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
   681555 JOSE A LOPEZ ROSARIO                        PO BOX 773                                                                                                        LAS PIEDRAS        PR       00771
   245431 JOSE A LOPEZ ROSAS                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
   681557 JOSE A LOPEZ RUIZ                           PO BOX 176                                                                                                        SABANA GRANDE      PR       00637‐0176
   681558 JOSE A LOPEZ SALGADO                        URB PUERTO NUEVO             511 CALLE ANTILLAS                                                                   SAN JUAN           PR       00920
   245432 JOSE A LOPEZ SANCHEZ                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
   245433 JOSE A LOPEZ SANTANA                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
   681559 JOSE A LOPEZ SANTIAGO                       PO BOX 671                                                                                                        AGUAS BUENAS       PR       00703
   245434 JOSE A LOPEZ SANTOS                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
   681561 JOSE A LOPEZ SOLER                          BO CHIVAS CACAO              BOX 1927 CALLE MARGINAL                                                              QUEBRADILLA        PR       00678
   681562 JOSE A LOPEZ VARGAS                         URB LOMAS VERDES             J 18 CALLE AZUCENA                                                                   BAYAMON            PR       00956
   681563 JOSE A LOPEZ VAZQUEZ                        HC 4 BOX 22131                                                                                                    JUANA DIAZ         PR       00795
   681565 JOSE A LORENTE PLAZA                        PO BOX 6048                                                                                                       MAYAGUEZ           PR       00681

   245435 JOSE A LORENZANA OQUENDO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   681566 JOSE A LORENZO CANDELARIA                   PO BOX 1546                                                                                                       AGUADA             PR         00602‐1546
   681567 JOSE A LOZADA GARCIA                        HC 2 BOX 28577                                                                                                    CAGUAS             PR         00725
   681568 JOSE A LOZADA GONZALEZ                      URB MONTE GRANDE            119 CALLE CLEMENTE                                                                    CABO ROJO          PR         00623
   245437 JOSE A LOZADA OTERO                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245438 JOSE A LOZADA SANTANA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681569 JOSE A LUCCA IRIZARRY                       7 CALLE ISABELA                                                                                                   GUAYANILLA         PR         00656
   245439 JOSE A LUCCA VEGA                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681570 JOSE A LUGO                                 VILLA ANDALUCIA             JJ 29 CALLE GERMICA                                                                   RIO PIEDRAS        PR         00926




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          JOSE A LUGO / JUNTA
   245440 APELACIONES SOBRE                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681572 JOSE A LUGO DIAZ                            BO SAN JOSE                 HC 02 BOX 7259                                                                        QUEBRADILLAS        PR           00678
   245441 JOSE A LUGO DOMINGUEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681573 JOSE A LUGO HERNANDEZ                       HC 1 BOX 5785                                                                                                     CIALES              PR           00638‐9624
   681574 JOSE A LUGO LAMBERTY                        HC 05 BOX 58373                                                                                                   MAYAGUEZ            PR           00680
   245443 JOSE A LUGO MALDONADO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681575 JOSE A LUGO OCASIO                          PO BOX 1236                                                                                                       ARECIBO             PR           00616
   245444 JOSE A LUGO OLIVERA                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681576 JOSE A LUGO RIVERA                          BOX 1441                                                                                                          JUANA DIAZ          PR           00795
   681577 JOSE A LUGO SA NCHEZ                        P O BOX 355                                                                                                       PUNTA SANTIAGO      PR           00741
   681578 JOSE A LUGO TORRES                          URB ALTURAS DE VEGA BAJA    L 6 CALLE N                                                                           VEGA BAJA           PR           00693‐5430
   245446 JOSE A LUGO VAZQUEZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681579 JOSE A LUGO VEGA                            BOX 2                                                                                                             HORMIGUEROS         PR           00660
   245447 JOSE A LUGO VELEZ                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   245448 JOSE A LUNA HERNANDEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                  CALLE SANTO TOMAS DE
   681580 JOSE A LUNA PEREZ                           URB LOS DOMINICOS D 80      AQUINO                                                                                BAYAMON             PR           00957
   681581 JOSE A M NOLLA CPP                          168 SAN JORGE APTO 13                                                                                             SAN JUAN            PR           00911
   245449 JOSE A MADERA RODRIGUEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   245450 JOSE A MALAVE ALVARADO                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   681582 JOSE A MALAVE BAYRON                        20‐A CALLE SANTOS DOMINGO                                                                                         COROZAL             PR           00783
   681583 JOSE A MALAVE VALENTIN                      APARTADO 1582                                                                                                     LARES               PR           00669
   681584 JOSE A MALAVE VAZQUEZ                       PO BOX 1748                                                                                                       COROZAL             PR           00783
   245451 JOSE A MALBERT REYES                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681586 JOSE A MALDONADO                            PO BOX 21365                                                                                                      SAN JUAN            PR           00928
   245452 JOSE A MALDONADO APONTE                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   245453 JOSE A MALDONADO FIGUEROA REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   245454 JOSE A MALDONADO LOPEZ    REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   681589 JOSE A MALDONADO MELENDEZ VILLA CAROLINA                                103‐15 CALLE 105                                                                      CAROLINA            PR           00985

   245456 JOSE A MALDONADO PACHECO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681590 JOSE A MALDONADO REYES                      703 VICTOR LOPEZ                                                                                                  SAN JUAN            PR           00910

   681591 JOSE A MALDONADO RODRIGUEZ URB LA MARINA                                B 7 CALLE HORTENSIA                                                                   CAROLINA            PR           00979
   681592 JOSE A MALDONADO SANTOS    P O BOX 2332                                                                                                                       SAN GERMAN          PR           00683
   681593 JOSE A MALDONADO SOSA      MCS 106                                      RR 9 BOX 1390                                                                         SAN JUAN            PR           00926
   681594 JOSE A MALDONADO SOTO      PARCELAS PEREZ                               5 CALLE 2                                                                             ARECIBO             PR           00612
   245457 JOSE A MALDONADO TORRES    REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   245458 JOSE A MALDONADO TRINIDAD                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   245459 JOSE A MALDONADO VARGAS                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   245460 JOSE A MALDONADO VIERA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   245461 JOSE A MALTES FIGUEROA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681596 JOSE A MANGUAL LEBRON                       CON SEGOVIA                 APT 401                                                                               SAN JUAN            PR           00918
   245463 JOSE A MANGUAL VAZQUEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   681598 JOSE A MARCANO & ASOC                       597 AVE BARBOSA                                                                                                   SAN JUAN            PR           00923
   681599 JOSE A MARCANO FIGUEROA                     597 AVE BARBOSA                                                                                                   SAN JUAN            PR           00923
   681600 JOSE A MARCANO VELAQUEZ                     BO DUQUE                    13 CALLE CLAVEL STE 1968                                                              NAGUABO             PR           00718
   245464 JOSE A MARCIAL JUSINO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  681601 JOSE A MARINEZ GUTIERREZ                     URB BUENA VISTA              8 CALLE UNION                                                                         CAYEY                PR         00736
  245465 JOSE A MARQUES BIBILONI                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   245466 JOSE A MARQUEZ BETANCOURT                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681602 JOSE A MARQUEZ COREANO                      HC1 BOX 8686                                                                                                       AGUAS BUENAS         PR         00703
   245467 JOSE A MARQUEZ DIAZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681603 JOSE A MARQUEZ LLAMPORT                     P O BOX 8143                                                                                                       PONCE                PR         00732
   245468 JOSE A MARQUEZ MARQUEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681604 JOSE A MARQUEZ ROMAN                        HC 02 BOX 18243                                                                                                    SAN SEBASTIAN        PR         00685
   681606 JOSE A MARRERO ALVARADO                     B 7 URB VILLA CRISTINA                                                                                             COAMO                PR         00769
   681607 JOSE A MARRERO BURGOS                       URB LAS LOMAS                1598 AVE AMERICO MIRANDA                                                              SAN JUAN             PR         00921

   681608 JOSE A MARRERO MARTINEZ                     RES RAMON PEREZ RODRIGUEZ    EDIF 7 APT 50                                                                         TOA ALTA             PR         00953
   681610 JOSE A MARRERO RIVERA                       RR 5 BOX 5472                                                                                                      BAYAMON              PR         00956
   245470 JOSE A MARRERO ROBLES                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245472 JOSE A MARRERO SANTOS                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245473 JOSE A MARTE MENDEZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245474 JOSE A MARTELL                              REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   681611 JOSE A MARTI VALENTIN                       PARC. SOLEDAD 1215 CALLE M                                                                                         MAYAGUEZ             PR         00680
   245475 JOSE A MARTINEZ                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   681617 JOSE A MARTINEZ ALBALADEJO                  URB ALTURAS DE BAYAMON       132 CALLE PASEO D                                                                     BAYAMON              PR         00956
   245478 JOSE A MARTINEZ AVILES                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681618 JOSE A MARTINEZ BAEZ                        COM FERNANDEZ                SOLAR 17                                                                              HUMACAO              PR         00791
   681621 JOSE A MARTINEZ CORDERO                     HC 2 BOX 6516                                                                                                      MOROVIS              PR         00687
   681622 JOSE A MARTINEZ CORTES                      HC 61 BOX 4164                                                                                                     TRUJILLO ALTO        PR         00976

   681623 JOSE A MARTINEZ GONZALES                    URB. MOYORCA R20 CALLE TEJAS                                                                                       GUAYNABO             PR         00969
   245481 JOSE A MARTINEZ GONZALEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681625 JOSE A MARTINEZ HERRERA                     BO CAMPANILLAS               PARC 231 CALLE PRINCIPAL                                                              TOA BAJA             PR         00949
   245482 JOSE A MARTINEZ LOPEZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   245483 JOSE A MARTINEZ MALDONADO REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   245485 JOSE A MARTINEZ MOLFULLEDA                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   680895 JOSE A MARTINEZ NIEVES                      URB PERLA DEL SUR            3062 CALLE LA FUENTE                                                                  PONCE                PR         00717‐0412
   245486 JOSE A MARTINEZ OLIVERAS                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245487 JOSE A MARTINEZ OQUENDO                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681628 JOSE A MARTINEZ PANTOJAS                    URB SAN DEMETRIO             826 CALLE CORCOVADO                                                                   VEGA BAJA            PR         00693
   245488 JOSE A MARTINEZ PEREZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JOSE A MARTINEZ PEREZ (XPERT
   681629 MATCH                                       PO BOX 1771                                                                                                        JUANA DIAZ           PR         00795
   681630 JOSE A MARTINEZ POU                         PO BOX 1136                                                                                                        SABANA HOYOS         PR         00688
   681632 JOSE A MARTINEZ RAMOS                       4TA SECCION VILLA DEL REY    JJ 11 CALLE 18                                                                        CAGUAS               PR         00725
   681635 JOSE A MARTINEZ RIVERA                      PO BOX 1155                                                                                                        ADJUNTAS             PR         00601
   245489 JOSE A MARTINEZ ROSA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245490 JOSE A MARTINEZ ROSARIO                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245491 JOSE A MARTINEZ SANCHEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   680779 JOSE A MARTINEZ SANCHEZ                     PO BOX 268                                                                                                         HORMIGUEROS          PR         00660‐0268
   245492 JOSE A MARTINEZ SANTIAGO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681643 JOSE A MARTINEZ SOTO                        PO BOX 214                                                                                                         SANTA ISABEL         PR         00757
   245494 JOSE A MARTINEZ VAZQUEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  245496 JOSE A MARTINEZ VEGA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  245497 JOSE A MAS RAMIREZ                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  681645 JOSE A MASINI SOLER                          PO BOX 195357                                                                                                    SAN JUAN             PR         00919‐5357

   245498 JOSE A MASSANET HERNANDEZ                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681646 JOSE A MASSAS                               ESQ BALDORIOTY               22A CALLE MARTINEZ                                                                  JUNCOS               PR         00777
   681647 JOSE A MASSO RODRIGUEZ                      CAGUAS NORTE                 AE 8 CALLE PARIS                                                                    CAGUAS               PR         00725‐2211
   245499 JOSE A MATEO CASIANO                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245500 JOSE A MATEO ORTIZ                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681649 JOSE A MATHEWS ROSADO                       PO BOX 21365                                                                                                     SAN JUAN             PR         00926‐1365
   245502 JOSE A MATIAS ROSADO                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245503 JOSE A MATIAS ROVIRA                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245504 JOSE A MATIAS SANCHEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245505 JOSE A MATOS ALEMANY                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245506 JOSE A MATOS DAVID                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245508 JOSE A MATOS GONZALEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681651 JOSE A MATOS MALAVE                         P O BOX 400                                                                                                      CABO ROJO            PR         00623‐0000
   681652 JOSE A MATOS NIEVES                         HC 1 BOX 2346                                                                                                    MOROVIS              PR         00687
   245509 JOSE A MATOS ORTIZ                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681654 JOSE A MATOS RAMIREZ                        36 CALLE BARBOSA                                                                                                 CABO ROJO            PR         00623
   681655 JOSE A MATOS RODRIGUEZ                      URB SANTA JUANA 4            X2 CALLE 10A                                                                        CAGUAS               PR         00725
   681656 JOSE A MATOS SOLER                          HC 04 BOX 17948‐A                                                                                                CAMUY                PR         00687
   681657 JOSE A MATTHEWS ROSADO                      BRISAS DE TORTUGUERO         44 CALLE RIO CIALITO                                                                VEGA BAJA            PR         00693
   245510 JOSE A MAURAS                               REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245512 JOSE A MAYMO AZIZE                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245513 JOSE A MAYSONET BARBOSA                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681660 JOSE A MAYSONET LOPEZ                       RR 1 BOX 11384                                                                                                   TOA ALTA             PR         00953‐9899
   681661 JOSE A MAYSONET TORRES                      P O BOX 1840                                                                                                     TOA BAJA             PR         00951

   681662 JOSE A MEDERO GARCIA                        URB ALTURAS DE RIO GRANDE    X 1255 CALLE 23                                                                     RIO GRANDE           PR         00745‐3232
   681663 JOSE A MEDINA                               RES LA ROSALEDA              EDIF 10 APT 125                                                                     GUAYNABO             PR         00969
   681664 JOSE A MEDINA ALFALLA                       PO BOX 7126                                                                                                      PONCE                PR         00732
   681665 JOSE A MEDINA DOMINGUEZ                     604 B CALLE CERRA APT 3                                                                                          SAN JUAN             PR         00907
   245514 JOSE A MEDINA HERNANDEZ                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681666 JOSE A MEDINA INC                           531 AVE VICTORIA                                                                                                 AGUADILLA            PR         00603
   681667 JOSE A MEDINA JIMENEZ                       URB VILLA EVANGELINA         G 11 CALLE 5                                                                        MANATI               PR         00674
   245515 JOSE A MEDINA LOZADA                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245516 JOSE A MEDINA MENENDEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245517 JOSE A MEDINA NEGRON                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681668 JOSE A MEDINA REYES                         P O BOX 142016                                                                                                   ARECIBO              PR         00614
   245518 JOSE A MEDINA SANABRIA                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681669 JOSE A MEDINA SOLTREN                       HC‐4 BOX 48053                                                                                                   AGUADILLA            PR         00603
   245520 JOSE A MEDINA VAZQUEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245523 JOSE A MELECIO LOPEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245524 JOSE A MELENDEZ                             REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JOSE A MELENDEZ / ANA M
   680788 CARMONA                                     PO BOX 1163                                                                                                      BAYAMON              PR         00960
   245525 JOSE A MELENDEZ APONTE                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245527 JOSE A MELENDEZ DIAZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681675 JOSE A MELENDEZ FARIA                       BDA LAS GRANJAS              13 CALLE BENIGNO NATER                                                              VEGA BAJA            PR         00693
                                                      121 CALLE ENRIQUE GONZALEZ
   681676 JOSE A MELENDEZ GOMEZ                       OESTE                                                                                                            GUAYAMA              PR         00601
   245528 JOSE A MELENDEZ MARTINEZ                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  245529 JOSE A MELENDEZ MELENDEZ                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680803 JOSE A MELENDEZ NATAL                        P O BOX 1211                                                                                                         VEGA BAJA          PR         00694
  245530 JOSE A MELENDEZ ROSADO                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681680 JOSE A MELENDEZ SANTOS                       P O BOX 511                                                                                                          PUERTO REAL        PR         00740
  681681 JOSE A MELENDEZ VAZQUEZ                      RR 2 BOX 7971              BO QUEBRADA CRUZ                                                                          TOA ALTA           PR         00953
         JOSE A MELENDEZ Y/O MARIA F
  245531 MEDINA                                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681683 JOSE A MENDEZ                                HC 01 BOX 3445                                                                                                       OROCOVIS           PR         00720
  681685 JOSE A MENDEZ ALBARRAN                       PO BOX 30537                                                                                                         SAN JUAN           PR         00929
  245532 JOSE A MENDEZ BONILLA                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681686 JOSE A MENDEZ CRUZ                           BO CARRIZALEZ              HC 01 BOX 4277                                                                            HATILLO            PR         00659
  681687 JOSE A MENDEZ FUENTES                        PO BOX 368                                                                                                           BARRANQUITAS       PR         00794
  245533 JOSE A MENDEZ GARCIA                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681689 JOSE A MENDEZ HERNANDEZ                      HC 04 BOX 41336                                                                                                      MAYAGUEZ           PR         00680
  245534 JOSE A MENDEZ LOPEZ                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   681690 JOSE A MENDEZ MALDONADO                     URB ALTURAS DE FLAMBOYAN   AA 29 CALLE 15                                                                            BAYAMON            PR         00956
          JOSE A MENDEZ MATIAS / PURA
   245535 ENERGY INC                                  P O BOX 1543                                                                                                         AGUADA             PR         00602
   245536 JOSE A MENDEZ MIRANDA                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681691 JOSE A MENDEZ MORALES                       URB VILLA CAROLINA         4 CALLE 89                                                                                CAROLINA           PR         00985
   681692 JOSE A MENDEZ ORTEGA                        HC 02 BOX 72303                                                                                                      CIALES             PR         00638‐9766
   245537 JOSE A MENDEZ PEREZ                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      86‐4 CALLE 89 URB. VILLA
   681694 JOSE A MENDEZ RIOS                          CAROLINA                                                                                                             CAROLINA                      00985
   681695 JOSE A MENDEZ RUIZ                          CALLE MANATIALES           BUZON 952                                                                                 MAYAGUEZ           PR         00680
   681696 JOSE A MENDEZ SEPULVEDA                     RES SABANA                 K 5 CALLE COSTA RICA                                                                      SABANA GRANDE      PR         00637

   681697 JOSE A MENDEZ SERRANO                       URB LAS TERRAS             6013 CALLE R MARTINEZ TORRES                                                              MAYAGUEZ           PR         00685
   681698 JOSE A MENENDEZ TORRES                      27 VILLA FLORENCIA                                                                                                   CAMUY              PR         00627
   681699 JOSE A MERA TEXIDOR                         PO BOX 13755                                                                                                         SAN JUAN           PR         00908‐3755
   245539 JOSE A MERCADO                              REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      COND NEW SAN JUAN
   681700 JOSE A MERCADO ALVAREZ                      APARTAMENTO 1118                                                                                                     SAN JUAN           PR         00979
          JOSE A MERCADO CARMONA/
   245540 VILMARYS CARMONA                            REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245541 JOSE A MERCADO CORREA                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245542 JOSE A MERCADO DE JESUS                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                                                 CALLE CENTRAL 108‐20
   681703 JOSE A MERCADO GARCIA                       URB VILLA CAROLINA         BOULEVAR BLG                                                                              CAROLINA           PR         00985

   245543 JOSE A MERCADO GHIGLIOTTY                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245544 JOSE A MERCADO JIMENEZ                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681704 JOSE A MERCADO MARRERO                      URB MONTE BELLO            4002 CALLE VARONESSA                                                                      HORMIGUEROS        PR         00660‐0617
   681705 JOSE A MERCADO PEREZ                        URB MONTE BRISAS           A 35 CALLE H                                                                              FAJARDO            PR         00738
   245546 JOSE A MERCADO QUINONEZ                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681706 JOSE A MERCADO RIVERA                       HC 01 BOX 3344                                                                                                       ADJUNTAS           PR         00601
   245547 JOSE A MERCADO SANTIAGO                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681708 JOSE A MERCADO TORRES                       BO SAN JOSE                329 PARC NUEVAS                                                                           TOA BAJA           PR         00954
          JOSE A MERCADO/ EGDA
   245548 MARTINEZ                                    REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245549 JOSE A MERCED MARTINEZ                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245550 JOSE A MERHEB EMANUELLI                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  245551 JOSE A MESTRE SANCHEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681709 JOSE A MIELES RODRIGUEZ                      PO BOX 571                                                                                                    HATILLO            PR         00659‐0571
  245552 JOSE A MILLAN CAMACHO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681711 JOSE A MILLAN FERRER                         URB LA CONCEPCION           25 CALLE ELENA                                                                    CABO ROJO          PR         00623
  245553 JOSE A MILLAN RUIZ                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681713 JOSE A MIRANDA BAEZ                          URB PLAZA DE LA FUENTE      1129 CALLE ITALIA                                                                 TOA ALTA           PR         00953
  681714 JOSE A MIRANDA COLON                         COM VIETNAM                 SOLAR G 22                                                                        GUAYNABO           PR         00969
  681715 JOSE A MIRANDA DALECCIO                      PO BOX 9023998                                                                                                SAN JUAN           PR         00902‐3998
  245554 JOSE A MIRANDA ORTIZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681717 JOSE A MIRANDA VARGAS                        HC 33 BOX 5900                                                                                                DORADO             PR         00646
  681718 JOSE A MIRO OLMO                             URB LEVITTOWN JP 12 CALLE   RAFAEL HERNANDEZ                                                                  TOA BAJA           PR         00949
  245556 JOSE A MOCTEZUMA RUIZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245557 JOSE A MOJICA BONET                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681719 JOSE A MOJICA CONTRERAS                      URB MABU                    C 3 CALLE 6                                                                       HUMACAO            PR         00791
  681721 JOSE A MOJICA MOJICA                         CIUDAD UNIVERSITARIA        U26 CALLE 846                                                                     TRUJILLO ALTO      PR         00976
  245558 JOSE A MOJICA MONTANEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681723 JOSE A MOJICA NIEVES                         PO BOX 659                                                                                                    GURABO             PR         00778
  681724 JOSE A MOJICA ONEILL                         VILLA CAROLINA              112 CALLE 79                                                                      CAROLINA           PR         00985
  771120 JOSE A MOLINA APONTE                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245560 JOSE A MOLINA CACHO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681727 JOSE A MOLINA FIGUEROA                       VALLE ARRIBA HEIGHTS        BOX 1802                                                                          CAROLINA           PR         00984
  245561 JOSE A MOLINA GONZALEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681728 JOSE A MOLINA MARTINEZ                       PO BOX 1115                                                                                                   BARCELONETA        PR         00617
  681729 JOSE A MONGE CANALES                         PO BOX 9967                                                                                                   CAROLINA           PR         00988

   681731 JOSE A MONROUZEAU CORREA                    PO BOX 782                                                                                                    ARECIBO            PR         00613

   245562 JOSE A MONTALVO CALDERON                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   245563 JOSE A MONTALVO DE LA ROSA                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245564 JOSE A MONTALVO ESPADA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   680789 JOSE A MONTALVO PEREZ                       HC 01 BOX 2402                                                                                                PONCE              PR         00731‐9604

   245565 JOSE A MONTALVO RODRIGUEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245567 JOSE A MONTALVO ROMERO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JOSE A MONTALVO Y ANGEL M
   245569 MAYMI                                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245570 JOSE A MONTANEZ                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245571 JOSE A MONTANEZ OCASIO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245572 JOSE A MONTANEZ REYES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245573 JOSE A MONTANEZ ROBLES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   245574 JOSE A MONTANEZ RODRIGUEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JOSE A MONTE A/C BCO DES
   681734 ECONOMICO                                   BOX 984                                                                                                       OROCOVIS           PR         00720
   681735 JOSE A MONTES APONTE                        PO BOX 1288                                                                                                   ARROYO             PR         00714‐1288
   245576 JOSE A MONTES CLAUDIO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681736 JOSE A MONTES DORTA                         251 CALLE DEL RIO                                                                                             SAN JUAN           PR         00915
   681739 JOSE A MONTES NIEVES                        BO ANTIGUA                  HC 1 BOX 5994                                                                     ARROYO             PR         00714
   245577 JOSE A MONTES RIVERA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   681740 JOSE A MONTESINO FERNANDEZ URB TOA ALTA HEIGHTS                         AB5 CALLE 24                                                                      TOA ALTA           PR         00953
   681742 JOSE A MONTILLA VARGAS     ADM SERV GEN                                 P O BOX 7428                                                                      SAN JUAN           PR         00916‐7428



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  245578 JOSE A MORA CAMACHO                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  681743 JOSE A MORA DELGADO                          PO BOX 1492                                                                                                          HATILLO             PR         00659
  245579 JOSE A MORA ROMAN                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   681744 JOSE A MORALES AGOSTO                       BO JAGUAS SECTOR COJOVALES  BOX 109                                                                                  CIALES              PR         00638
                                                                                  452 AVE PONCE DE LEON
   681745 JOSE A MORALES ARROYO                       EDIF ASOCIACION DE MAESTROS OFIC405                                                                                  SAN JUAN            PR         00918
   681746 JOSE A MORALES COLON                        HC 02 BOX 11403                                                                                                      MOCA                PR         00676
                                                      LOS FLAMBOYANES
   681747 JOSE A MORALES FLORES                       APARTMENTS                  EDIF C BOX 355 SUITE 3                                                                   CAGUAS              PR         00725
   245581 JOSE A MORALES LOPEZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681748 JOSE A MORALES MARTINEZ                     HC 3 BOX 10847                                                                                                       CAMUY               PR         00627
   681751 JOSE A MORALES MENDEZ                       PO BOX 81                                                                                                            MOCA                PR         00676
   245582 JOSE A MORALES MONTALVO                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245583 JOSE A MORALES OQUENDO                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   681754 JOSE A MORALES QUIRINDONGO BDA MARIN                                     196 B CALLE 3                                                                           GUAYAMA             PR         00784
   245584 JOSE A MORALES RAMOS        REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681755 JOSE A MORALES REYES        HC‐3 BOX 10459                                                                                                                       COMERIO             PR         00782
   245585 JOSE A MORALES RODRIGUEZ    REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681758 JOSE A MORALES ROMAN        EXT MARISOL                                  4 CALLE 1                                                                               ARECIBO             PR         00612
   245586 JOSE A MORALES ROSA         REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245587 JOSE A MORALES ROSARIO      REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245588 JOSE A MORALES SANTIAGO     REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE A MORALES SENQUIZ DBA
   245589 BEAUTY CAR CE               VILLA STATION 206                            AVE TEJAS AA2                                                                           HUMACAO             PR         00791
   245590 JOSE A MORALES SERRANO      REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681762 JOSE A MORALES TORRES       P O BOX 11982                                                                                                                        CAMUY               PR         00627
          JOSE A MORALES Y VICTORIA E
   245591 POTES                       REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245592 JOSE A MORAZA PADILLA       REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE A MORELL PEREZ / EQU
   245593 PENA BASEBALL               230 AVE MUNOZ RIVERA                                                                                                                 CAMUY               PR         00627
   245594 JOSE A MORENO CRUZ          REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245595 JOSE A MORENO NAVARRO       REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245596 JOSE A MORENO RODRIGUEZ     REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681764 JOSE A MORENO SANTIAGO      URB SOBRINOS                                 86 CALLE A                                                                              COROZAL             PR         00783
   245598 JOSE A MORENO TORRES        REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681765 JOSE A MOYA FIGUEROA        COMUNIDAD MONTILLA 35 E                      CALLE 8 A                                                                               ISABELA             PR         00662
   681767 JOSE A MUJICA & ASSOC       CENTRUM PLAZA BUILDING                       17 MEXICO STREET SUITE 1 C                                                              SAN JUAN            PR         00917
   681768 JOSE A MULLER GARCIA        URB VILLA ASTURIAS                           CALLE 31 BLQ 31 ‐ 9                                                                     CAROLINA            PR         00983
   245599 JOSE A MUNIZ CRUZ           REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245600 JOSE A MUNIZ FALCON         REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245601 JOSE A MUNIZ MARTINEZ       REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245604 JOSE A MUNOZ                REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245605 JOSE A MUNOZ ACEVEDO        REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245606 JOSE A MUNOZ MALDONADO      REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245607 JOSE A MUNOZ MARCANO        REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245609 JOSE A MURIEL RIVERA        REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   681770 JOSE A MUSSANDEN CRUZ       PO BOX 9300631                                                                                                                       SAN JUAN            PR         00930‐0631
   681771 JOSE A NADAL QUINTANA       URB LOMAS VEDES                              4Q 45 CALLE PLAYERO                                                                     BAYAMON             PR         00956
   681772 JOSE A NASSAR & ASOCIADOS   PO BOX 9132                                                                                                                          HUMACAO             PR         00792
   245610 JOSE A NATAL                REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  245612 JOSE A NATAL TORRES                          REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681773 JOSE A NAVARRO                               PO BOX 1655                                                                                                   CAYEY              PR         00737
  245613 JOSE A NAVARRO DIEPPA                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681774 JOSE A NAVARRO FIGUEROA                      PMB 216                AVE ALEJANDRINO 3071                                                                   GUAYNABO           PR         00969
  681776 JOSE A NAVARRO ROMAN                         PARC 33 CALLE 2                                                                                               VEGA BAJA          PR         00693
  681777 JOSE A NAVAS                                 P O BOX 21365                                                                                                 SAN JUAN           PR         00918
  245614 JOSE A NAZARIO GUZMAN                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681779 JOSE A NAZARIO JUSINO                        PO BOX 732                                                                                                    SABANA GRANDE      PR         00637
  681781 JOSE A NAZARIO TORRES                        BO MANI                28 VILLA GARCIA                                                                        MAYAGUEZ           PR         00680
  245615 JOSE A NAZARIO VAZQUEZ                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245616 JOSE A NEGRON ARCE                           REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245617 JOSE A NEGRON CAPELLAN                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245619 JOSE A NEGRON COLON                          REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681785 JOSE A NEGRON CRUZ                           HC 03 BOX 11759                                                                                               JUANA DIAZ         PR         00795‐9505
  245620 JOSE A NEGRON FUENTES                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681786 JOSE A NEGRON GARCIA                         RUIZ MARTINEZ          EDIF 2 APT 2                                                                           BARCELONETA        PR         00617
  245621 JOSE A NEGRON GONEZ                          REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681787 JOSE A NEGRON LABOY                          MSC 161 PO BOX 6004                                                                                           VILLALBA           PR         00766 6004
  681788 JOSE A NEGRON MORALES                        BO CAMPANILLA          159 CALLE EL MONTE                                                                     TOA BAJA           PR         00949
  245623 JOSE A NEGRON NEGRON                         REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245624 JOSE A NEGRON ORTIZ                          REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245625 JOSE A NEGRON RIVERA                         REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   681794 JOSE A NEGRONI & ASSOCIATES                 B 3 CALLE URUGUAY                                                                                             VEGA BAJA          PR         00693
   681795 JOSE A NEVAREZ                              PO BOX 9021112                                                                                                SAN JUAN           PR         00902‐1112
   680897 JOSE A NEVAREZ DIAZ                         VILLA JUSTICIA         A‐65 CALLE INGENIO                                                                     CAROLINA           PR         00985
   681797 JOSE A NIEVES APONTE                        PO BOX 635                                                                                                    CANOVANAS          PR         00729
   245626 JOSE A NIEVES BERNARD                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245627 JOSE A NIEVES COLON                         REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681799 JOSE A NIEVES DAVILA                        CAPARRA TERRACE        754 CALLE 1 SUR ESTE                                                                   SAN JUAN           PR         00921
   681800 JOSE A NIEVES MOYA                          HC 04 BOX 41902                                                                                               HATILLO            PR         00659
   681801 JOSE A NIEVES NIEVES                        URB DAMAMONA VILLAGE   118 CALLE VISTA DEL MORRO                                                              BAYAMON            PR         00957
   245629 JOSE A NIEVES OLIVERAS                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681802 JOSE A NIEVES RAMOS                         HC 02 BOX 13213                                                                                               MOCA               PR         00676
   681803 JOSE A NIEVES REYES                         PO BOX 41269                                                                                                  SAN JUAN           PR         00940‐1269
   245630 JOSE A NIEVES RIVERA                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681806 JOSE A NIEVES ROMERO                        PO BOX 1949                                                                                                   CEIBA              PR         00735
   245632 JOSE A NIEVES SERRANO                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245633 JOSE A NIEVES TORRES                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245635 JOSE A NORA HERNANDEZ                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681810 JOSE A NORAT RAMIREZ                        RR 9 BOX 1794                                                                                                 SAN JUAN           PR         00926
   681811 JOSE A NORIEGA ROSADO                       BOX 4530                                                                                                      SAN SEBASTIAN      PR         00685
   681813 JOSE A NU¥EZ SANCHEZ                        BDA ISRAEL 164         CALLE NUEVA                                                                            SAN JUAN           PR         00917
   245636 JOSE A NUNEZ                                REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245638 JOSE A NUNEZ GONZALEZ                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245640 JOSE A NUNEZ LOPEZ                          REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245642 JOSE A NUNEZ MALDONADO                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681814 JOSE A NUNEZ RODRIGUEZ                      REPTO FLAMINGO         K 15 CALLE DEL TURABO                                                                  BAYAMON            PR         00959
   245644 JOSE A OBIS SALDANA                         REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245645 JOSE A OCASIO CARDONA                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245646 JOSE A OCASIO GARCIA                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245647 JOSE A OCASIO IRIZARRY                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245648 JOSE A OCASIO LEBRON                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  681816 JOSE A OCASIO LOPEZ                          79 CALLE AZUCENA             BO SUSUA BAJA                                                                            SABANA GRANDE      PR         00637
  245649 JOSE A OCASIO RIVERA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245650 JOSE A OCASIO ROBLES                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245651 JOSE A OCHOA GARCIA                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681819 JOSE A OCSIO CUEVAS                          URB CIUDAD MASSO             M6 CALLE 15                                                                              SAN LORENZO        PR         00754
  681820 JOSE A OFRAY SANTIAGO                        39 CALLE HOSTOS                                                                                                       SANTA ISABEL       PR         00757
  245652 JOSE A OJEDA PADILLA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681822 JOSE A OLIVARI MILAN                         P O BOX 399                                                                                                           YAUCO              PR         00698‐0399
  245653 JOSE A OLIVERA QUINONES                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681823 JOSE A OLIVERAS                              LOS CAOBOS                   2081 CALLE MOCA                                                                          PONCE              PR         00731
  681824 JOSE A OLIVERAS GONZALEZ                     U P R STATION                PO BOX 22792                                                                             SAN JUAN           PR         00931
  245654 JOSE A OLIVERAS SANTIAGO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681826 JOSE A OLIVERAS TORRES                       P O BOX 4635                                                                                                          PONCE              PR         00733
  681827 JOSE A OLIVERAS VELAZQUEZ                    PO BOX 561334                                                                                                         GUAYANILLA         PR         00656
  681830 JOSE A OLIVIERI MATOS                        PARCELAS JAGUEYES 76                                                                                                  VILLALBA           PR         00766
  680898 JOSE A OLIVIERI RORIGUEZ                     PO BOX 5230                                                                                                           MAYAGUEZ           PR         00681 5230

   245655 JOSE A OPPENHEIMER VAZQUEZ REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                     URB.EL COMANDANTE939
   681831 JOSE A OQUENDO GARCET      C/JOSE JOSSIEU                                                                                                                         SAN JUAN           PR         00924
   245656 JOSE A OQUENDO GONZALEZ    REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245657 JOSE A OQUENDO JIMENEZ     REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   681832 JOSE A OQUENDO TORRUELLAS                   RES CATONI                   EDIF 11 APT 68                                                                           VEGA BAJA          PR         00693
   245658 JOSE A ORDEIX ABIKARRAM                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245659 JOSE A ORELLANO NAVARRO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681833 JOSE A ORENGO ORENGO                        NUEVA VIDA                   T 38 CALLE L                                                                             PONCE              PR         00728
   245660 JOSE A ORRIOLS DE ARCE                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681834 JOSE A ORTA CARMONA                         PO BOX 30406                                                                                                          SAN JUAN           PR         00923‐1406
   245661 JOSE A ORTIZ                                REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   680780 JOSE A ORTIZ                                BO SAN LUIS 18               CALLE JERUSALEM                                                                          AIBONITO           PR         00705
          JOSE A ORTIZ / PROFESIONAL                  CARR. 824 KM. 6.4 QUEBRADA
   681842 EMBROIDERY                                  CRUZ                                                                                                                  TOA ALTA           PR         00954
   245662 JOSE A ORTIZ ALVAREZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245663 JOSE A ORTIZ APONTE                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245664 JOSE A ORTIZ BURGOS                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245666 JOSE A ORTIZ COLON                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681844 JOSE A ORTIZ CRUZ                           HC 2 BOX 15756                                                                                                        CAROLINA           PR         00987
   681845 JOSE A ORTIZ DALIOT                         P O BOX 366218                                                                                                        SAN JUAN           PR         00936
   245670 JOSE A ORTIZ FERNANDINI                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681849 JOSE A ORTIZ JIMENEZ                        P O BOX 4726                                                                                                          AGUADILLA          PR         00605
   681850 JOSE A ORTIZ LABOY                          HC 1 BOX 7224                                                                                                         SALINA             PR         00751‐9742
   245672 JOSE A ORTIZ LEON                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681853 JOSE A ORTIZ MARTINEZ                       HC 01 BOX 8790                                                                                                        AGUAS BUENAS       PR         00703
   681857 JOSE A ORTIZ MEDINA                         URB BUENAVENTURA             404 CALLE DAGUAO                                                                         YABUCOA            PR         00767

   681858 JOSE A ORTIZ MERCADO                        COND CUIDAD UNIVERSITARIA    B 2 AVE PERIFERAL APT 607 B                                                              TRUJILLO ALTO      PR         00976‐2123
   681859 JOSE A ORTIZ MERCED                         CIUDAD UNIVERSITARIA         DD 11 CALLE 1                                                                            GUAYAMA            PR         00785
   245673 JOSE A ORTIZ MORA                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245674 JOSE A ORTIZ NAZARIO                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   245675 JOSE A ORTIZ ORTIZ                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   681863 JOSE A ORTIZ PAGAN                          HC 10 BOX 7845                                                                                                        SABANA GRANDE      PR         00637
   681864 JOSE A ORTIZ PEREZ                          PO BOX 3234                                                                                                           MAYAGUEZ           PR         00681



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  245676 JOSE A ORTIZ PUJOLS                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681866 JOSE A ORTIZ RAMOS                           P O BOX 1518                                                                                                     CAGUAS             PR         00726‐1518
  245677 JOSE A ORTIZ REYES                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245678 JOSE A ORTIZ RIVERA                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681871 JOSE A ORTIZ RODRIGUEZ                       PO BOX 413                                                                                                       MARICAO            PR         00606
  681873 JOSE A ORTIZ ROSADO                          PO BOX 7430                                                                                                      PONCE              PR         00732‐7430
  681874 JOSE A ORTIZ SANCHEZ                         P O BOX 60‐075                                                                                                   BAYAMON            PR         009760
  245682 JOSE A ORTIZ TORRES                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681878 JOSE A ORTIZ VALENTIN                        BO OLIMPO                  603 CALLE E                                                                           GUAYAMA            PR         00784
  245683 JOSE A ORTIZ VEGA                            REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681880 JOSE A ORTIZ VELAZQUEZ                       P O BOX 63                                                                                                       CIDRA              PR         00739
  245684 JOSE A OSORIO JIMENEZ                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681881 JOSE A OSORIO PARRILLA                       HC 01 BOX 7123                                                                                                   LOIZA              PR         00772
  245685 JOSE A OST0LAZA MORALES                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245686 JOSE A OSTOLAZA CORREA                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245687 JOSE A OSTOLAZA PEREZ                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681884 JOSE A OTERO BELEN                           PO BOX 92                                                                                                        LAJAS              PR         00667
  681885 JOSE A OTERO CARDONA                         SANTA JUANITA              AC 31 CALLE 45                                                                        BAYAMON            PR         00956
  681886 JOSE A OTERO FONTAN                          HC 02 BOX 7717                                                                                                   OROCOVIS           PR         00720
  680790 JOSE A OTERO GARCIA                          RR 02 BOX 445                                                                                                    SAN JUAN           PR         00926
  245689 JOSE A OTERO MARQUEZ                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681888 JOSE A OTERO MARRERO                         HC 1 BOX 2304                                                                                                    MOROVIS            PR         00687
  681889 JOSE A OTERO MARTINEZ                        URB EL ROSARIO             C 3 CALLE A                                                                           VEGA BAJA          PR         00693
  245690 JOSE A OTERO NARVAEZ                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681890 JOSE A OTERO NATER                           URB VILLA HOSTOS           1066 CALLE DOMINO                                                                     TOA BAJA           PR         00949
  681891 JOSE A OTERO PEREZ                           HC 2 BOX 6626                                                                                                    MOROVIS            PR         00687
  681893 JOSE A OTERO SANTOS                          153 BO PUEBLITO                                                                                                  CIALES             PR         00638
  245691 JOSE A OTERO SOTOMAYOR                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245693 JOSE A OYOLA VELEZ                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245694 JOSE A P PEREZ ALLENDE                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681894 JOSE A PABON GONZALEZ                        RR G BOX 9782                                                                                                    SAN JUAN           PR         00926
  245695 JOSE A PABON SANABRIA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681897 JOSE A PABON SOSA                            PARCELAS BETANCES          168 CALLE COFRESI                                                                     CABO ROJO          PR         00623
  681898 JOSE A PABON VELEZ                           HC 02 BOX 6600                                                                                                   JAYUYA             PR         00664
  681899 JOSE A PACHECO                               412 JARDINES DE VALENCIA                                                                                         SAN JUAN           PR         00923
  680804 JOSE A PACHECO FERNANDEZ                     P O BOX 21365                                                                                                    SAN JUAN           PR         00918
  681902 JOSE A PACHECO SEPULVEDA                     URB LA CUMBRE              307 CALLE LOS ROBLES                                                                  SAN JUAN           PR         00926‐5541
  245696 JOSE A PACHECO VELAZQUEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681903 JOSE A PADILLA                               HC BOX 1812                EL CANO                                                                               BOQUERON           PR         00622
  681905 JOSE A PADILLA PACHECO                       PO BOX 2382                                                                                                      SAN GERMAN         PR         00683
  245698 JOSE A PADILLA ROSARIO                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245699 JOSE A PADILLA VARGAS                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245700 JOSE A PADILLA VEGA                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681906 JOSE A PADIN VARGAS                          JARD DE RIO GRANDE         CALLE 62 BOX 252                                                                      RIO GRANDE         PR         00745
  681907 JOSE A PADRON NEGRON                         BO SUSUA BAJA              92 CALLE AZUCENA                                                                      SABANA GRANDE      PR         00637
  681908 JOSE A PADUA CRUZ                            URB VENTURINI              D35 CALLE 5                                                                           SAN SEBASTIAN      PR         00685
  681909 JOSE A PAGAN AVILES                          PO BOX 229                                                                                                       AIBONITO           PR         00705
  681910 JOSE A PAGAN COLON                           RR 3 BOX 3817                                                                                                    CIDRA              PR         00739
  245701 JOSE A PAGAN DIAZ                            REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  681911 JOSE A PAGAN ESMURRIA                        BOX 1572                                                                                                         JUANA DIAZ         PR         00795
  681913 JOSE A PAGAN FLORES                          2 VALENCIA                 56 CALLE AGUSTIN MIRANDA                                                              JUNCOS             PR         00777
  681914 JOSE A PAGAN IRRIZARRY                       HC 01 BOX 6933                                                                                                   GUAYANILLA         PR         00656
  245702 JOSE A PAGAN MARTINEZ                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  681915 JOSE A PAGAN PAGAN                           HC 02 BOX 11096                                                                                                       SAN GERMAN        PR         00683
  245703 JOSE A PAGAN RODRIGUEZ                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  245704 JOSE A PAGAN TORRES                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  245705 JOSE A PAGAN VELIZ                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  681917 JOSE A PANIAGUA DIAZ                         PO BOX 8465                                                                                                           SAN JUAN          PR         00910
  245707 JOSE A PAOLI                                 REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      ASOCIACION DE CHOFERES DE R
   681918 JOSE A PARADIS                              P                             1085 CALLE PADRE CAPUCHINO                                                              SAN JUAN          PR         00925
   245708 JOSE A PARDO RIVERA                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   681919 JOSE A PARIS REYES                          BO PAJUIL                     BOX P 39                                                                                CAROLINA          PR         00985
   245709 JOSE A PARRILLA GRENE                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   245710 JOSE A PEDRAZA GONZALEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   681921 JOSE A PEDRAZA MARTINEZ                     HC 30 BOX 35605                                                                                                       SAN LORENZO       PR         00754
   681922 JOSE A PEDRO ORTIZ                          URB ARBOLADA B 20             CALLE LAUREL SABINO                                                                     CAGUAS            PR         00727
   245712 JOSE A PELLOT MORALES                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   245713 JOSE A PELLOT NIEVES                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   245714 JOSE A PENA FONTANEZ                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   245715 JOSE A PENA MENDEZ                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   245716 JOSE A PENA RIVERA                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   681923 JOSE A PENA SANTANA                         RES SABANA ABAJO              14 AVE MONSERRATE APT 124                                                               CAROLINA          PR         00983
   681924 JOSE A PERALES TORRES                       ALT DE VILLA FONTANA          D 18 CALLE 2                                                                            CAROLINA          PR         00982
   245717 JOSE A PEREYO TORRELLAS                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   681925 JOSE A PEREZ                                HS 74 CALLE JUAN F ACOSTA                                                                                             TOA BAJA          PR         00949
   245718 JOSE A PEREZ / ALMA M CRUZ                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      A/C MANUEL MORALES
   681927 JOSE A PEREZ AMADOR                         MORALES                       ADM FOMENTO COMERCIAL        P O BOX 4275                                               SAN JUAN          PR         00902 4275
   681930 JOSE A PEREZ ARCE                           9680 SW 34 STREET                                                                                                     MIAMI             FL         33165
   681931 JOSE A PEREZ BERRIOS                        BOX HC 03 14424                                                                                                       COROZAL           PR         00783
                                                      ESTACION POSTAL BOX 55 SAN
   681932 JOSE A PEREZ CABRERA                        ANTON                                                                                                                 PONCE             PR         00717
   681933 JOSE A PEREZ CARASQUILLO                    BOX 11874                                                                                                             CAROLINA          PR         00985
   245719 JOSE A PEREZ CASANOVA                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   681935 JOSE A PEREZ CASTRO                         PO BOX 37                                                                                                             GARROCHALES       PR         00652
   245720 JOSE A PEREZ COLON                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   681936 JOSE A PEREZ CONDE                          RES KENNEDY                   4 APT 25                                                                                JUANA DIAZ        PR         00795
   245721 JOSE A PEREZ CORTES                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   681937 JOSE A PEREZ DIAZ                           COND PINE GROVE               APT 44A                                                                                 SAN JUAN          PR         00913
   245722 JOSE A PEREZ ESPARRA                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   681938 JOSE A PEREZ FELICIANO                      RR 01 BOX 4735                                                                                                        MARICAO           PR         00606
   681939 JOSE A PEREZ FERNANDEZ                      26 CALLE DE DIEGO APT 67                                                                                              MAYAGUEZ          PR         00681
   681940 JOSE A PEREZ FIGUEROA                       URB RIO HONDO 3               CD14 CALLE EUCALIPTOS                                                                   BAYAMON           PR         00961
   681941 JOSE A PEREZ GONZALEZ                       73 LA OLIMPIA                                                                                                         ADJUNTAS          PR         00601
   681942 JOSE A PEREZ JIMENEZ                        HC 1 BOX 7366                                                                                                         LUQUILLO          PR         00773
   681944 JOSE A PEREZ LAGUNA                         BARRANQUITAS MEMORIAL         PO BOX 698                                                                              BARRANQUITAS      PR         00794

   681946 JOSE A PEREZ LOPEZ                          BUZON 2253 ARENALES BAJOS                                                                                             ISABELA           PR         00662
   681947 JOSE A PEREZ MARTY                          HC 04 BOX 40226                                                                                                       MAYAGUEZ          PR         00680
   245723 JOSE A PEREZ MEDINA                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   681948 JOSE A PEREZ MONSERRATE                     URB. FOREST HILL 294 CALLE 12                                                                                         BAYAMON           PR         00959
   245724 JOSE A PEREZ MUNIZ                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   681950 JOSE A PEREZ OQUENDO                        COLINAS DE FAIR VIEW          4S 48 CALLE 223                                                                         TRUJILLO ALTO     PR         00976



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  681951 JOSE A PEREZ ORTIZ                           CANTERA                    2334 CALLE GUANO                                                                  SAN JUAN             PR         00915
  681952 JOSE A PEREZ OTERO                           URB MONTE SOL              F 16 CALLE 2                                                                      TOA ALTA             PR         00953
  681926 JOSE A PEREZ PEREZ                           82 AVE ROOSEVELT                                                                                             HUMACO               PR         00791
  681953 JOSE A PEREZ PEREZ                           PO BOX 334                                                                                                   LARES                PR         00669
  681955 JOSE A PEREZ PINO                            BDA SANDIN                 10 CALLE MARTE                                                                    VEGA BAJA            PR         00693
  681956 JOSE A PEREZ PORRATA                         URB CORCHADO               91 CALLE VIOLETA                                                                  ISABELA              PR         00662
  681957 JOSE A PEREZ RIVERA                          129 CALLE MIRAMAR                                                                                            PONCE                PR         00731‐2835
  245727 JOSE A PEREZ RODRIGUEZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  681960 JOSE A PEREZ ROMERA                          PO BOX 132                                                                                                   HUMACAO              PR         00741
  245728 JOSE A PEREZ ROSARIO                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  245729 JOSE A PEREZ SANCHEZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  681962 JOSE A PEREZ SANTIAGO                        URB VISTA BELLA            I 7 CALLE 10                                                                      BAYAMON              PR         00956
  681963 JOSE A PEREZ SERRANO                         PO BOX 85                                                                                                    JAYUYA               PR         00664
  245730 JOSE A PEREZ TORRES                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  245731 JOSE A PEREZ TORREZ                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  245732 JOSE A PEREZ VAZQUEZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  681965 JOSE A PEREZ VEGA                            HC 2 BOX 14784                                                                                               CAROLINA             PR         00984
  681966 JOSE A PEREZ VELAZQUEZ                       HC 9 BOX 1552                                                                                                PONCE                PR         00731‐9747
  681967 JOSE A PEREZ VELEZ                           ALTOS DE TORRIMAR          D 17 CALLE BELIZE                                                                 BAYAMON              PR         00959
  245734 JOSE A PEREZ ZAYAS                           REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         JOSE A PEREZ/JOSE M
  245735 PEREZ/RICARDO PEREZ                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
  681968 JOSE A PICHARDO ACEVEDO                      URB LAMELA                 115 CALLE ARENINI                                                                 ISABELA              PR       00662
  245736 JOSE A PIETRI RODRIGUEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
  245737 JOSE A PIMENTEL RIVERA                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
  245738 JOSE A PINEIRO DIAZ                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
  245739 JOSE A PINERO                                REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
  245740 JOSE A PINERO FALERO                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
  681969 JOSE A PINTADO MARTINEZ                      HC 71 BOX 1171                                                                                               NARANJOTO            PR       00719
  681970 JOSE A PIZARRO RUANO                         VILLARICA H 29 CALLE 2                                                                                       BAYAMON              PR       00959
  681971 JOSE A PLAZA FERRA                           HC 1 BOX 3717                                                                                                ADJUNTAS             PR       00601
                                                      M DEL NORTE ND 10 CALLE
   681972 JOSE A POLANCO                              RONADA                                                                                                       TOA BAJA             PR         00949
   245742 JOSE A POMALES DE JESUS                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681974 JOSE A PORTAL MONTOYA                       URB VILLA BLANCA I         CALLE AMBAR                                                                       CAGUAS               PR         00725

   681975 JOSE A PORTALATIN MAYSONET                  BO GUARICO VIEJO APT 644                                                                                     VEGA BAJA            PR         00693
   681976 JOSE A PORTELL COLLAZO                      BO CATALANA N 72           CALLE 4                                                                           BARCELONETA          PR         00617
          JOSE A POUPAL HNC P J GROUP
   245744 SERVICES INC                                TERRAZAS DEL TOA           3 H 25 CALLE 25                                                                   TOA ALTA             PR         00953
   245745 JOSE A POZO MORALES                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245746 JOSE A PRIETO CAMACHO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681978 JOSE A PUIG MOLINA                          URB JARDINES DE CAPARRA    A11 CALLE 1                                                                       BAYAMON              PR         00959
   681979 JOSE A PULGAR AHUMADA                       PO BOX 21952                                                                                                 SAN JUAN             PR         00931‐1952
   681980 JOSE A PURAS                                PO BOX 997                                                                                                   JAYUYA               PR         00664
   245747 JOSE A QUESADA ALICEA                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245748 JOSE A QUESADA RODRIGUEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245749 JOSE A QUI¥ONES GONZALEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681981 JOSE A QUI¥ONES LUGO                        BO OBRERO                  604 VALPARAISO                                                                    SAN JUAN             PR         00915
   245750 JOSE A QUIANES ROSA                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245752 JOSE A QUIðONES QUIðONES                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245754 JOSE A QUILES DIAZ                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245755 JOSE A QUILES RIVERA                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  245758 JOSE A QUILES RODRIGUEZ                      REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  245759 JOSE A QUINONES CAMACHO                      REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  245760 JOSE A QUINONES FELICIANO                    REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  245762 JOSE A QUINONES OROZCO                       REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   245765 JOSE A QUINONES RODRIGUEZ                   REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245766 JOSE A QUINONES TORRES                      REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245767 JOSE A QUINONES VARELA                      REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245768 JOSE A QUINONES VAZQUEZ                     REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245769 JOSE A QUINONES VEGA                        REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245770 JOSE A QUINONES ZAYAS                       REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245771 JOSE A QUINONEZ LOPEZ                       REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   245772 JOSE A QUINONEZ MALDONADO REDACTED                                         REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681986 JOSE A QUINTERO CRESPO    BO BAJURA                                        8911 BAJURA                                                                                VEGA BAJA            PR         00962
   245775 JOSE A QUINTERO DE JESUS  REDACTED                                         REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245776 JOSE A QUINTERO QUINONES  REDACTED                                         REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681987 JOSE A RAFFUCCI ALVARADO  JARDINES FAGOT                                   T 5 CALLE 15                                                                               PONCE                PR         00731

   681988 JOSE A RAMERY TORMOS                        400 CALLE JUAN KALAF STE 1178                                                                                             SAN JUAN             PR         00918
   245778 JOSE A RAMIREZ CAPESTANY                    REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245779 JOSE A RAMIREZ ESTRADA                      REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245780 JOSE A RAMIREZ FIGUEROA                     REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245782 JOSE A RAMIREZ LOPEZ                        REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245783 JOSE A RAMIREZ MERCADO                      REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245784 JOSE A RAMIREZ NUNEZ                        REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681992 JOSE A RAMIREZ ORTIZ                        P O BOX 1072                                                                                                              SABANA GRANDE        PR         00637
   681993 JOSE A RAMIREZ PEREZ                        SAGRADO CORAZON               1623 CALLE STA URSULA                                                                       SAN JUAN             PR         00926
   681994 JOSE A RAMIREZ PLAZA                        BO JUAN GONZALEZ              CARR 521 R 523 KM 2 5 INT                                                                   ADJUNTAS             PR         00601
   681997 JOSE A RAMIREZ RAMIREZ                      URB PUERTO NUEVO              419 AVE DE DIEGO                                                                            SAN JUAN             PR         00720
   245786 JOSE A RAMIREZ RIVERA                       REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245787 JOSE A RAMIREZ ROSADO                       REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245788 JOSE A RAMIREZ TORRES                       REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245789 JOSE A RAMIREZ VARGAS                       REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   681999 JOSE A RAMIREZ YUMET                        URB BALDRICH                  202 PRESIDENTE RAMIREZ                                                                      SAN JUAN             PR         00918
   245790 JOSE A RAMIREZ ZAMBRANA                     REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   680791 JOSE A RAMOS                                PO BOX 8347                                                                                                               LAJAS                PR         00667
   682000 JOSE A RAMOS                                HC 02 BOX 5707                                                                                                            COMERIO              PR         00782‐9610
   245791 JOSE A RAMOS ALERS                          REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   682005 JOSE A RAMOS COLLADO                        URB SAN ISIDRO                50 CALLE CALIXTO CARREYU                                                                    SABANA GRANDE        PR         00637
   245792 JOSE A RAMOS CORIANO                        REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   682006 JOSE A RAMOS COSME                          P O BOX 1172                                                                                                              GUAYNABO             PR         00970
   682007 JOSE A RAMOS CRESPO                         4168 AVE MILITAR SUITE 2                                                                                                  ISABELA              PR         00662
   682008 JOSE A RAMOS CURET                          HC 01 BOX 2249                                                                                                            MAUNABO              PR         00707
   682009 JOSE A RAMOS FLORES                         HC 06 BOX 70137                                                                                                           CAGUAS               PR         00725
   682010 JOSE A RAMOS FRANQUI                        HC 4 BOX 17382                                                                                                            CAMUY                PR         00627
   245793 JOSE A RAMOS GONZALEZ                       REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245794 JOSE A RAMOS MARRERO                        REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245795 JOSE A RAMOS MATOS                          REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245751 JOSE A RAMOS MENDEZ                         REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                                                    317 CAL RY FLP #C URB LA VILLA
   682012 JOSE A RAMOS MONSERRATE                     VILLA DE TORRIMAR             DE T                                                                                        GUAYNABO             PR         00969
   245796 JOSE A RAMOS MORALES                        REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  245797 JOSE A RAMOS OPPENHEIMER                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  682013 JOSE A RAMOS PABON                           PARC AMADEO              18 AVE SANDIN                                                                     VEGA BAJA          PR       00693
  245798 JOSE A RAMOS PENA                            REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  245799 JOSE A RAMOS RAMOS                           REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  682015 JOSE A RAMOS RIOS                            URB RIVIERAS DE CUPEY    H 11 CALLE CORAL                                                                  SAN JUAN           PR       00926
  245800 JOSE A RAMOS RIVERA                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  682016 JOSE A RAMOS RODRIGUEZ                       TOMAS CARRION MADURO     71 CALLE 3                                                                        JUANA DIAZ         PR       00795
  245803 JOSE A RAMOS ROLDAN                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  245804 JOSE A RAMOS ROSADO                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  682017 JOSE A RAMOS SABATER                         4 CALLE PACIFICO         URB VILLAMAR                                                                      GUAYAMA            PR       00784
  682018 JOSE A RAMOS SANCHEZ                         HC 4 BOX 45131           BO CEIBA BAJA                                                                     AGUADILLA          PR       00605
  245805 JOSE A RAMOS TORRES                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  682019 JOSE A RAMOS VARGAS                          HC 4 BOX 15484                                                                                             MOCA               PR       00676
  682020 JOSE A RAMOS VAZQUEZ                         PO BOX 875                                                                                                 GUAYAMA            PR       00785
  682021 JOSE A RAMOS VELEZ                           URB PUNTO ORO            3142 CALLE COFRESI                                                                PONCE              PR       00728‐2001
  682022 JOSE A RAMOS VIERA                           RR 7 BOX 7510                                                                                              SAN JUAN           PR       00926
  245806 JOSE A RAVELO ANDINO                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  682023 JOSE A RENTAS SANCHEZ                        P O BOX 948                                                                                                VILLALBA           PR       00766
  245809 JOSE A REYES                                 REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  245810 JOSE A REYES CANADA                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  682026 JOSE A REYES ORTIZ                           9 VALLES DE CIDRA                                                                                          CIDRA              PR       00739
  245812 JOSE A REYES OTERO                           REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
         JOSE A REYES PEREZ / PLAZA
  682027 BORINQUEN                                    P O BOX 3758                                                                                               AGUADILLA          PR         00605
  245813 JOSE A REYES PUELLO                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245814 JOSE A REYES QUINONES                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245815 JOSE A REYES RODRIGUEZ                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  682029 JOSE A REYES ROSARIO                         HC 1 BOX 4475                                                                                              UTUADO             PR         00641
  682030 JOSE A REYES SALINAS                         T 8 BO TURABO                                                                                              MAUNABO            PR         00707
  245816 JOSE A REYES SANTIAGO                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  682034 JOSE A RIBOT MATEU                           URB FAJARDO GARDENS      405 CALLE CAOBA                                                                   FAJARDO            PR         00738‐2947
  682036 JOSE A RIOS ALBALADEJO                       CAPARRA TERRACE          1136 CALLE 18 SE                                                                  SAN JUAN           PR         00921‐2220
  245817 JOSE A RIOS GONZALEZ                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245819 JOSE A RIOS HERNANDEZ                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  682039 JOSE A RIOS MERCADO                          PARC MAGUEYES            2 CALLE 8                                                                         BARCELONETA        PR         00617‐3141
  682040 JOSE A RIOS MONTALVO                         PO BOX 119                                                                                                 UTUADO             PR         0064100119
  245820 JOSE A RIOS MUNOZ                            REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245821 JOSE A RIOS NU¥EZ                            REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  682041 JOSE A RIOS PADIN                            PO BOX 125                                                                                                 SAN ANTONIO        PR         00690
  245822 JOSE A RIOS PEREZ                            REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  245823 JOSE A RIOS QUINONES                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  682043 JOSE A RIOS RODRIGUEZ                        HC 6 BOX 71003                                                                                             CAGUAS             PR         00725
  682046 JOSE A RIOS SOTO                             P O BOX 2581                                                                                               RIO GRANDE         PR         00745
  682047 JOSE A RIOS VILLEGAS                         PO BOX 71325 SUITE 131                                                                                     SAN JUAN           PR         00936
  682048 JOSE A RIQUELME RIVERA                       URB LOMAS VERDES 4M 25   CALLE OLIVA                                                                       BAYAMON            PR         00956
  682049 JOSE A RIVAS OCASIO                          COLINAS DE BAYOAN        105 CALLE CAONABO                                                                 BAYAMON            PR         00957
  245824 JOSE A RIVERA                                REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         JOSE A RIVERA / JANET
  682057 RODRIGUEZ                                    BDA BUENA VISTA          132 CALLE 5                                                                       SAN JUAN           PR         00917
  245826 JOSE A RIVERA ALBINO                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  682058 JOSE A RIVERA ALVARADO                       P O BOX 487                                                                                                JUANA DIAZ         PR         00795
  682059 JOSE A RIVERA ALVELO                         URB BAYAMON GARDENS      Z 6 CALLE 20                                                                      BAYAMON            PR         00957
  245827 JOSE A RIVERA APONTE                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  245828 JOSE A RIVERA AROCHO                         REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  245829 JOSE A RIVERA AYALA                          REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  682063 JOSE A RIVERA BERRIOS                        URB CAMPO REY        B 3 CALLE 1                                                                       AIBONITO          PR         00705
  245830 JOSE A RIVERA BLASINI                        REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  245831 JOSE A RIVERA BURGOS                         REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  245832 JOSE A RIVERA CACERES                        REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  682065 JOSE A RIVERA CAPELLA                        84 CUESTA VIEJA                                                                                        AGUADILLA         PR         00603
  682066 JOSE A RIVERA CARRION                        HC BOX 75219                                                                                           CAGUAS            PR         00725‐9521
  682068 JOSE A RIVERA CASTILLO                       PO BOX 1312                                                                                            CANOVANAS         PR         00729
  245833 JOSE A RIVERA COLON                          REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  682071 JOSE A RIVERA COLONDRES                      HC1 BOX 5516                                                                                           ADJUNTAS          PR         00601
  245834 JOSE A RIVERA CORREA                         REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  245835 JOSE A RIVERA CUEVAS                         REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   680793 JOSE A RIVERA DAVILA          PMB 232 200 RAFAEL CORDERO                                                                                           CAGUAS            PR         00725
          JOSE A RIVERA DBA J AR
   682072 CONSTRUCTION                  PO BOX 275                                                                                                           COROZAL           PR         00783‐0275
          JOSE A RIVERA DBA MULTI SALES
   682074 CARIBBEAN                     PO BOX 5020                                                                                                          CAROLINA          PR         00984‐5020
   682076 JOSE A RIVERA DE JESUS        HC 04 BOX 7364                                                                                                       JUANA DIAZ        PR         00795
   682077 JOSE A RIVERA DELGADO         P O BOX 858                                                                                                          JAYUYA            PR         00664‐0858
   245836 JOSE A RIVERA DIAZ            REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   682080 JOSE A RIVERA FELICIANO       HC 1 BOX 8269                                                                                                        LUQUILLO          PR         00773‐9614
   682081 JOSE A RIVERA FIGUEROA        RR 2 BOX 5107                                                                                                        TOA LATA          PR         00953
   245838 JOSE A RIVERA FLORES          REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680792 JOSE A RIVERA FLORES          URB JARDINES DE GURABO             33 CALLE 3                                                                        GURABO            PR         00778
   245839 JOSE A RIVERA GARCIA          REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   245841 JOSE A RIVERA GONZALEZ        REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   682087 JOSE A RIVERA GUZMAN          PO BOX 9505                                                                                                          BAYAMON           PR         00960
   682088 JOSE A RIVERA HERNANDEZ       BO SANTA RITA                      HC 01 BOX 7534                                                                    GURABO            PR         00778
   245842 JOSE A RIVERA LEBRON          REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   245843 JOSE A RIVERA LOPEZ           REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   682092 JOSE A RIVERA MARTINEZ        PO BOX 9022030                                                                                                       SAN JUAN          PR         00902‐2030
   245846 JOSE A RIVERA MELENDEZ        REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   245847 JOSE A RIVERA MENDEZ          REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   682097 JOSE A RIVERA MERCADO         PO BOX 8883                                                                                                          PONCE             PR         00732
   682098 JOSE A RIVERA MIRANDA         PO BOX 217                                                                                                           CIALES            PR         00638
   245849 JOSE A RIVERA MOJICA          REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   682099 JOSE A RIVERA MORALES         DORADO DEL MAR                     O 1 CALLE LAS OLAS                                                                DORADO            PR         00646
   245850 JOSE A RIVERA MOTTA           REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   682102 JOSE A RIVERA NIEVES          SECT LA LOMA                       HC 73 BOX 4795                                                                    NARANJITO         PR         00719
   245851 JOSE A RIVERA OCASIO          REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   245852 JOSE A RIVERA ORTIZ           REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   245857 JOSE A RIVERA OTERO           REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   682110 JOSE A RIVERA PAGAN           CAMINO DEL SUR                     311 CALLE CANARIO                                                                 PONCE             PR         00716‐2806
          JOSE A RIVERA PAGAN DBA JOEL
   682111 BUS LINE                      URB SANTA ELENA                    D‐12 CALLE 7                                                                      YABUCOA           PR         00767
   245858 JOSE A RIVERA PÉREZ           REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   245859 JOSE A RIVERA QUINONES        REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   245860 JOSE A RIVERA RAMIREZ         REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                        240 CALLE VILLA SUCIRE
   682112 JOSE A RIVERA RAMOS           MIRADER                                                                                                              MAYAGUEZ          PR         00680
   682113 JOSE A RIVERA REYES           PO BOX 988                                                                                                           SALINAS           PR         00751‐0988



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  245861 JOSE A RIVERA RIOS                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  245862 JOSE A RIVERA RIVERA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  680794 JOSE A RIVERA RIVERA                         PO BOX 376                                                                                                      MANATI              PR         00674
  682121 JOSE A RIVERA ROBLES                         PO BOX 29544                                                                                                    SAN JUAN            PR         00929‐0544
  245867 JOSE A RIVERA RODRIGUEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  682128 JOSE A RIVERA ROMAN                          HC 1 BOX 6410                                                                                                   MOCA                PR         00676
  682129 JOSE A RIVERA ROSA                           44 CALLE B                                                                                                      SALINAS             PR         00751
  682131 JOSE A RIVERA ROSADO                         HC 01 BOX 7369                                                                                                  SALINAS             PR         00751

   682133 JOSE A RIVERA RUBIO                         BO MAGUAYO SECTOR EL COTTO PO BOX 111                                                                           DORADO              PR         00646
   682134 JOSE A RIVERA RUIZ                          P.O. BOX 134                                                                                                    COMERIO             PR         00782
   245871 JOSE A RIVERA SANABRIA                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245872 JOSE A RIVERA SANCHEZ                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245873 JOSE A RIVERA SANTANA                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682136 JOSE A RIVERA SANTIAGO                      URB PUNTO ORO              3617 CALLE EL CADEMUS                                                                PONCE               PR         00728‐2011
   682137 JOSE A RIVERA SOLER                         505 AVE MUNOZ RIVERA                                                                                            SAN JUAN            PR         00918
   245875 JOSE A RIVERA SOTO                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245876 JOSE A RIVERA SUAREZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682143 JOSE A RIVERA TORO                          HC 01 BOX 7674                                                                                                  LSA PIEDRAS         PR         00771
   245877 JOSE A RIVERA TORRES                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245879 JOSE A RIVERA VALLES                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245880 JOSE A RIVERA VAZQUEZ                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245883 JOSE A RIVERA VELEZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682146 JOSE A RIVERA VICENS                        ANAIDA GARDENS APT 116                                                                                          PONCE               PR         00731
   245884 JOSE A RIVERA ZUNIGA                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE A RIVERA/ CLUB
   682147 DEPORTIVO DEL 90                            CAPARRA HIGHTS STATION      PO BOX 10748                                                                        SAN JUAN            PR         00926
   682148 JOSE A RIVERRA RIVERA                       BO BARAHONA                 BZN 357 CALLE MARGINAL                                                              MOROVIS             PR         00687
   682149 JOSE A ROBLEDO MEDINA                       URB PRADERAS DEL SUR        714 CALLE CEDRO                                                                     SANTA ISABEL        PR         00757‐2057
   245885 JOSE A ROBLES COLLAZO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682152 JOSE A ROBLES CRUZ                          RR 2 BOX 6412                                                                                                   MANATI              PR         00674
   245886 JOSE A ROBLES ORTIZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682153 JOSE A ROBLES ROBLES                        PO BOX 1901                                                                                                     TRUJILLO ALTO       PR         00977
   682154 JOSE A ROBLES TORRES                        PO 597                                                                                                          TOA ALTA            PR         00954
   682155 JOSE A ROCA RIVERA                          HC 02 BOX 12390                                                                                                 YAUCO               PR         00698

   682156 JOSE A RODAS NAZARIO                        URN QUINTAS DE MONSERRATE A 9 CALLE 3                                                                           PONCE               PR         00730

   680899 JOSE A RODAS RODRIGUEZ                      URB QUINTAS DE MONSERRATE A9 CALLE 3                                                                            PONCE               PR         00730
   245887 JOSE A RODRIGUEZ                            REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE A RODRIGUEZ / CAPITANES
   682163 ARECIBO                                     P O BOX 822                                                                                                     HATILLO             PR         00659
          JOSE A RODRIGUEZ / MATEO
   245888 TOOLS                                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      URB LOS CAOBOS 2181 CALLE
   682164 JOSE A RODRIGUEZ ALBERTY                    NARANJO                                                                                                         PONCE               PR         00731

   245889 JOSE A RODRIGUEZ ALCANTARA                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   682165 JOSE A RODRIGUEZ ALVARADO                   NUEVA VIDA EL TUQUE         Q 169 CALLE F                                                                       PONCE               PR         00731
   245890 JOSE A RODRIGUEZ ALVAREZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245891 JOSE A RODRIGUEZ APONTE                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245893 JOSE A RODRIGUEZ BAEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  245894 JOSE A RODRIGUEZ BARCELO                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  682168 JOSE A RODRIGUEZ BILBRAUT                    QUINTAS DE GUASIMAS         D 6 CALLE T                                                                          ARROYO               PR         00714
  245895 JOSE A RODRIGUEZ BOSCANA                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   245896 JOSE A RODRIGUEZ CALDERON                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   682169 JOSE A RODRIGUEZ CANCEL                     HC 103 BOX 25977                                                                                                 LAJAS                PR         00667
   682170 JOSE A RODRIGUEZ CARDONA                    BOX 6078                                                                                                         MAYAGUEZ             PR         00681
   245897 JOSE A RODRIGUEZ CARRERO                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   682171 JOSE A RODRIGUEZ CASTRO                     HC 73 BOX 5965                                                                                                   NARANJITO            PR         00719
   245898 JOSE A RODRIGUEZ COLLAZO                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245901 JOSE A RODRIGUEZ CORDERO                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245903 JOSE A RODRIGUEZ CRUZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JOSE A RODRIGUEZ DECLET Y
   245905 ANTONIA OJEDA                               REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   682175 JOSE A RODRIGUEZ FIGUEROA                   1 COND METROMONTE STE 38                                                                                         CAROLINA             PR         00987‐7302

   682178 JOSE A RODRIGUEZ FRAGOSO                    COND JARDINES DE ALTAMESA   EDIF C APT 27                                                                        SAN JUAN             PR         00921
   682180 JOSE A RODRIGUEZ GARCIA                     HC 71 BOX 3112                                                                                                   NARANJITO            PR         00719

   245908 JOSE A RODRIGUEZ GONZALEZ                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   680795 JOSE A RODRIGUEZ GUZMAN                     PO BOX 354                                                                                                       AIBONITO             PR         00785

   682183 JOSE A RODRIGUEZ HERNANDEZ                  110 AVE LOS FILTROS         STE 4102                                                                             BAYAMON              PR         00959
   245909 JOSE A RODRIGUEZ LABOY                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245910 JOSE A RODRIGUEZ LAO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   682185 JOSE A RODRIGUEZ LASALLE                    HC 02 BOX 13790                                                                                                  ARECIBO              PR         00612
   245911 JOSE A RODRIGUEZ LOPEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   245912 JOSE A RODRIGUEZ MALDONADO REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   245914 JOSE A RODRIGUEZ MARTINEZ                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245915 JOSE A RODRIGUEZ MATIAS                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   682192 JOSE A RODRIGUEZ MEDINA                     TOAVILLE                    76 CALLE PLUTON                                                                      TOA BAJA             PR         00949

   682193 JOSE A RODRIGUEZ MELENDEZ                   P O BOX 1913                                                                                                     CAROLINA             PR         00984‐1913
   245916 JOSE A RODRIGUEZ MENDEZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245917 JOSE A RODRIGUEZ MERCED                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   682195 JOSE A RODRIGUEZ MIRO                       PO BOX 4114                                                                                                      VEGA BAJA            PR         00694
   682198 JOSE A RODRIGUEZ NARVAEZ                    URB SAN JOSE 511            CALLE BELMONTE VALENCIA                                                              SAN JUAN             PR         00923
   245918 JOSE A RODRIGUEZ ORTIZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245919 JOSE A RODRIGUEZ PAGAN                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   682201 JOSE A RODRIGUEZ PASTRANA                   PO BOX 663                                                                                                       CAROLINA             PR         00986
   245920 JOSE A RODRIGUEZ PEREZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245923 JOSE A RODRIGUEZ QUILES                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245924 JOSE A RODRIGUEZ RAMOS                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245926 JOSE A RODRIGUEZ RIVERA                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245927 JOSE A RODRIGUEZ ROBLES                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   682207 JOSE A RODRIGUEZ ROCHE                      PO BOX 6004                                                                                                      VILLALBA             PR         00766

   682214 JOSE A RODRIGUEZ RODRIGUEZ                  RES EL RECREO               EDIF 26 APT 162                                                                      SAN GERMAN           PR         00683
   682216 JOSE A RODRIGUEZ ROMERO                     KG 130 URB SAN ANTONIO                                                                                           ARROYO               PR         00714



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  245928 JOSE A RODRIGUEZ ROSA                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  682162 JOSE A RODRIGUEZ ROSA                        P O BOX 1267                                                                                                    NAGUABO             PR         00718
  245930 JOSE A RODRIGUEZ ROSADO                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  245931 JOSE A RODRIGUEZ RUIZ                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  245932 JOSE A RODRIGUEZ SANCHEZ                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   245933 JOSE A RODRIGUEZ SANTIAGO                   REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245934 JOSE A RODRIGUEZ SILVA                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682222 JOSE A RODRIGUEZ SOLIS                      4 CALLE FLORIDA                                                                                                 BARRANQUITAS        PR         00794
   682224 JOSE A RODRIGUEZ TORRES                     PO BOX 435                                                                                                      JAYUYA              PR         00664
   245935 JOSE A RODRIGUEZ VAL                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245937 JOSE A RODRIGUEZ VAZQUEZ                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245938 JOSE A RODRIGUEZ VEGA                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   245939 JOSE A RODRIGUEZ VELAZQUEZ                  REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682228 JOSE A ROIG LOPEZ                           RR 02 BOX 447                                                                                                   SAN JUAN            PR         00928
   245942 JOSE A ROIG RIOS                            REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245943 JOSE A ROJAS FLORES                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245944 JOSE A ROJAS GINES                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245946 JOSE A ROJAS PEREZ                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245947 JOSE A ROLDAN CAEZ                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682230 JOSE A ROLDAN FLORES                        EMBALSE SAN JOSE         388 CALLE BURGOS                                                                       SAN JUAN            PR         00923
   682231 JOSE A ROLON MARINA                         PO BOX 1934                                                                                                     ARECIBO             PR         00613
   682232 JOSE A ROLON MIRANDA                        PO BOX 10609                                                                                                    PONCE               PR         00732
   682233 JOSE A ROMAN                                PO BOX 240                                                                                                      SANTA ISABEL        PR         00757
   245948 JOSE A ROMAN BARRE                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   245949 JOSE A ROMAN CARRASQUILLO                   REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245951 JOSE A ROMAN MARADIAGA                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245952 JOSE A ROMAN MARTINEZ                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680901 JOSE A ROMAN MARTINEZ                       RR‐11 BOX 4601                                                                                                  BAYAMON             PR         00956
   245953 JOSE A ROMAN MENDEZ                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245954 JOSE A ROMAN RAMOS                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245956 JOSE A ROMAN RIOS                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245957 JOSE A ROMAN RIVERA                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245958 JOSE A ROMAN RODRIGUEZ                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680796 JOSE A ROMAN RODRIGUEZ                      PO BOX 1422                                                                                                     MAYAGUEZ            PR         00681 1422
   245959 JOSE A ROMAN ROMAN                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682238 JOSE A ROMAN RUIZ                           HC 71 BOX 3450                                                                                                  NARANJITO           PR         00719
   245960 JOSE A ROMERO DEL VALLE                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682240 JOSE A ROMERO DURAN                         REPARTO VALENCIA         S 5 CALLE D                                                                            BAYAMON             PR         00959
   682241 JOSE A ROMERO FELICIANO                     HC 2 BOX 7337                                                                                                   CAMUY               PR         00627
   245961 JOSE A ROMERO LOPEZ                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245962 JOSE A ROMERO QUINONES                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   245963 JOSE A ROMEU VILLEGAS                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682242 JOSE A RONDON RUIZ                          BO OBRERO 718            CALLE SAN CIPRIAN                                                                      SAN JUAN            PR         00615
   682243 JOSE A ROQUE JULIA                          VILLA DEL REY 4          4R14 CALLE 7A                                                                          CAGUAS              PR         00725
   245964 JOSE A ROQUE SEGARRA                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682245 JOSE A ROSA FELIX                           BO SANTA ROSA III        CARR 833 KM 11 6                                                                       GUAYNABO            PR         00969

   682246 JOSE A ROSA FIGUEROA                        VILLA FONTANA PARK       5 T9 CALLE PARQUE DEL TESORO                                                           CAROLINA            PR         00983
   245965 JOSE A ROSA QUIJANO                         REDACTED                 REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682247 JOSE A ROSA RIVERA                          CALL BOX 3001 DEFT 301                                                                                          RIO GRANDE          PR         00745‐7003



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  245966 JOSE A ROSA ROSARIO                          REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  245967 JOSE A ROSA YULFO                            REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   682248 JOSE A ROSADO                               URB CAROLINA ALTA           K14 CALLE VICTORIANO VILLEGAS                                                              CAROLINA             PR         00987
   682249 JOSE A ROSADO CARABALLO                     URB COUNTRY CLUB            775 CALLE VICTOR ROSARIO                                                                   SAN JUAN             PR         00924
   680902 JOSE A ROSADO CASIANO                       P O BOX 121                                                                                                            LAJAS                PR         00667
   682250 JOSE A ROSADO CONCEPCION                    P O BOX 3339                                                                                                           AGUADILLA            PR         00603
   245968 JOSE A ROSADO CRESPO                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245969 JOSE A ROSADO DAVILA                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   682253 JOSE A ROSADO FERRER                        URB FLOR DEL VALLE          BOX 649                                                                                    MAYAGUEZ             PR         00680
   682254 JOSE A ROSADO HERNANDEZ                     BO MAMEYAL                  PARC 132 D BOX 132 D                                                                       DORADO               PR         00646
   682255 JOSE A ROSADO LOPEZ                         HC 1 BOX 5006                                                                                                          OROCOVIS             PR         00720‐9700
   682256 JOSE A ROSADO MARRERO                       P O BOX 364551                                                                                                         SAN JUAN             PR         00936
   682257 JOSE A ROSADO MEDINA                        HC 01 BOX 5526                                                                                                         CAMUY                PR         00627
                                                                                  CARR 688 CALLE PRINCIPAL KM
   682258 JOSE A ROSADO PAGAN                         BARRIO SABANA BRAVO H       H5                                                                                         VEGA BAJA            PR         00694
   682259 JOSE A ROSADO PANTOJA                       URB FLAMBOYAN GARDENS       R 1 CALLE 18                                                                               BAYAMON              PR         00959
   682260 JOSE A ROSADO ROBLES                        PO BOX 1822                                                                                                            TRUJILLO ALTO        PR         00977
   682261 JOSE A ROSADO RODRIGUEZ                     COND TERRAZUL               BOX 32                                                                                     ARECIBO              PR         00612
   245971 JOSE A ROSADO SANTIAGO                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245973 JOSE A ROSADO TIRADO                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245974 JOSE A ROSARIO                              REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245976 JOSE A ROSARIO CAJIGA                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   680797 JOSE A ROSARIO DE JESUS                     PO BOX 945                                                                                                             PE¥UELAS             PR         00624
   682264 JOSE A ROSARIO DIAZ                         HC 07 BOX 34682                                                                                                        CAGUAS               PR         00727‐9420
   682265 JOSE A ROSARIO DOMINGUEZ                    PARCELAS BOCA BZN 7                                                                                                    BARCELONETA          PR         00617
   682266 JOSE A ROSARIO ESQUERDO                     EST DE TORTUGUERO           14 CALLE TAINO                                                                             VEGA BAJA            PR         00693
                                                      OLD SAN JUAN STATION PO BOZ
   682268 JOSE A ROSARIO FIGUEROA                     257                                                                                                                    SAN JUAN             PR         00902‐0257
   682271 JOSE A ROSARIO LUGO                         HC 01 BOX 7865                                                                                                         HORMIGUEROS          PR         00660
   682273 JOSE A ROSARIO MERCED                       HC 1 BOX 6587                                                                                                          AGUAS BUENAS         PR         00703
          JOSE A ROSARIO MIRANDA DBA
   245977 ROSARIO DISTR                               P O BOX 56132                                                                                                          BAYAMON              PR         00960‐6432
   682274 JOSE A ROSARIO PONCE                        RR 02 BUZON 6141                                                                                                       MANATI               PR         00674
   245978 JOSE A ROSARIO RIVERA                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   682275 JOSE A ROSARIO RODRIGUEZ                    COLINAS DE MARQUEZ          D14 CALLE MONSERRATE                                                                       VEGA BAJA            PR         00693

   680798 JOSE A ROSARIO ROMAN                        URB ALTURAS DE RIO GRANDE   N 638 CALLE 12 A                                                                           RIO GRANDE           PR         00745
   245979 JOSE A ROSARIO SOTO                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245981 JOSE A ROSARIO VAZQUEZ                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245982 JOSE A RROYO ZAYAS                          REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245983 JOSE A RUBIO CRUZ                           REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   682279 JOSE A RUBIO PITRE                          PO BOX 2521                                                                                                            ARECIBO              PR         00613
   682281 JOSE A RUIZ BURGOS                          243 PARIS SUITE 1736                                                                                                   HATO REY             PR         00917‐3632
   245984 JOSE A RUIZ GARCIA                          REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245985 JOSE A RUIZ GONZALEZ                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245986 JOSE A RUIZ MALAVE                          REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   682282 JOSE A RUIZ MENDEZ                          PO BOX 1115                                                                                                            LARES                PR         00669‐1115
   245987 JOSE A RUIZ MONTES                          REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245988 JOSE A RULLAN RODRIGUEZ                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245990 JOSE A SAAVEDRA ALICEA                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   245991 JOSÉ A SABALIER GONZÁLEZ                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   682285 JOSE A SAEZ                                 PO BOX 2200                                                                                                            SAN GERMAN           PR         00683



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  682286 JOSE A SALABARRIA SERRANO                    URB JUAN PONCE DE LEON     P 2 CALLE 21                                                                      GUAYNABO          PR           00969
  682287 JOSE A SALAS SANTIAGO                        3 CALLE JOSE I CAMACHO                                                                                       AGUAS BUENAS      PR           00703
  682288 JOSE A SALCEDO FIGUEROA                      819 D SKY LAKE CR                                                                                            ORLANDO           FL           32809

   682289 JOSE A SALGADO OLIVO                        PARC EL COTTO BO MAGUAYO   50 CALLE 3                                                                        DORADO            PR           00646
   245992 JOSE A SALGADO ORTEGA                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   682290 JOSE A SALGUERO FARIA                       QUINTAS DE CUPEY           B 8 CALLE 15                                                                      SAN JUAN          PR           00926
   682291 JOSE A SALICETI MALDONADO                   PO BOX 97                                                                                                    ADJUNTAS          PR           00601
   680903 JOSE A SALLES HORNEDO                       SIERRA BAYAMON             19‐1 CALLE 21 ALTOS                                                               BAYAMON           PR           00961
   682292 JOSE A SALVAT VEGA                          MSC 88 PO BOX 4035                                                                                           ARECIBO           PR           00614
   682294 JOSE A SAN ANTONIO SANTOS                   PMB 565                    PO BOX 5+63                                                                       CAGUAS            PR           00726‐4952
   245993 JOSE A SANABRIA MOLINA                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   682295 JOSE A SANABRIA PLAZA                       HC 3 8811                                                                                                    DORADO            PR           00646
   682296 JOSE A SANCHEZ BAUZA                        COND RIO VISTA             APTO J 325                                                                        CAROLINA          PR           00987
   682297 JOSE A SANCHEZ FERNANDEZ                    HC 02 BOX 14757                                                                                              CAROLINA          PR           00985
   682298 JOSE A SANCHEZ LABRADOR                     VILLA CAROLINA             66‐50 CALLE 54                                                                    CAROLINA          PR           00985
   245995 JOSE A SANCHEZ LOPEZ                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   245996 JOSE A SANCHEZ MARTINEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   245997 JOSE A SANCHEZ MERCADO                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   245998 JOSE A SANCHEZ OCASIO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   245999 JOSE A SANCHEZ PEREZ                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   246000 JOSE A SANCHEZ RIVERA                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   682302 JOSE A SANCHEZ ROSADO                       PO BOX 40554                                                                                                 SAN JUAN          PR           00940
   682303 JOSE A SANCHEZ ROSAS                        HC 2 BOX 13329                                                                                               LAJAS             PR           00667
   246002 JOSE A SANCHEZ SANCHEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   682304 JOSE A SANCHEZ SANTIAGO                     P O BOX 525                                                                                                  AGUIRRE           PR           00704
          JOSE A SANCHEZ SERVICIOS
   682305 CONTABILIDAD                                P O BOX 815                                                                                                  AGUAS BUENAS      PR           00703
   682306 JOSE A SANCHEZ TORRES                       BUZON 390                                                                                                    FAJARDO           PR           00738
   246003 JOSE A SANCHEZ VAZQUEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   682308 JOSE A SANTAELLA HERNANDEZ                  P.O. BOX 7006                                                                                                PONCE             PR       00732
   682309 JOSE A SANTANA ASENCIO                      VILLA CAROLINA             108‐29 CALLE 82                                                                   CAROLINA          PR       00985
   246004 JOSE A SANTANA CRUZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED           REDACTED
   246005 JOSE A SANTANA QUINONES                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED           REDACTED
   246006 JOSE A SANTANA REYNOSO                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED           REDACTED
   682315 JOSE A SANTANA RIVERA                       PO BOX 1064                                                                                                  NAGUABO           PR       00718
   682316 JOSE A SANTANA SANCHEZ                      PO BOX 592                                                                                                   HUMACAO           PR       00792‐0592
   682317 JOSE A SANTANA SANTANA                      SANTA CATALINA             B 1 CALLE 1                                                                       BAYAMON           PR       00957
   682318 JOSE A SANTANA VALDES                       CALLE 43 AB‐45             SANTA JUANITA                                                                     BAYAMON           PR       00959
   246007 JOSE A SANTIAGO                             REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED           REDACTED
   246008 JOSE A SANTIAGO BARBOSA                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED           REDACTED
   246009 JOSE A SANTIAGO CALDERON                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED           REDACTED
   246010 JOSE A SANTIAGO CARDONA                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED           REDACTED
   246011 JOSE A SANTIAGO CARMONA                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED           REDACTED
   246012 JOSE A SANTIAGO CASIANO                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED REDACTED           REDACTED

   246013 JOSE A SANTIAGO CONCEPCION                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   682322 JOSE A SANTIAGO CRUZ                        HC 1 BOX 8498                                                                                                HATILLO           PR           00659
   246014 JOSE A SANTIAGO DE JESUS                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   682325 JOSE A SANTIAGO DIAZ                        PO BOX 25685                                                                                                 PONCE             PR           00780
   682326 JOSE A SANTIAGO DURAN                       HC 2 BOX 8403                                                                                                CAMUY             PR           00627
   246015 JOSE A SANTIAGO FIGUEROA                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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   682327 JOSE A SANTIAGO FONT                        2101 ALT DE PARQUE ESCORIAL                                                                                     CAROLINA            PR         00987
   682329 JOSE A SANTIAGO GARCIA                      HC 01 BOX 4015                                                                                                  ARROYO              PR         00714
   246016 JOSE A SANTIAGO GOMEZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   246017 JOSE A SANTIAGO GONZALEZ                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   682333 JOSE A SANTIAGO HERNANDEZ                   B 78 URB LAS ALONDRAS                                                                                           VILLALBA            PR         00766
   246018 JOSE A SANTIAGO IRIZARRY                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   682334 JOSE A SANTIAGO LABOY                       PO BOX 21365                                                                                                    SAN JUAN            PR         00928‐1365
   682337 JOSE A SANTIAGO MARTINEZ                    PO BOX 362677                                                                                                   SAN JUAN            PR         00936‐2677
   682339 JOSE A SANTIAGO MELENDEZ                    HC 01 BOX 6014                                                                                                  SALINAS             PR         00751
   246020 JOSE A SANTIAGO MONTANEZ                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   246021 JOSE A SANTIAGO ORTIZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   682340 JOSE A SANTIAGO PACHECO                     HC 4 BOX 16557                                                                                                  LARES               PR         00669
   682341 JOSE A SANTIAGO PAGAN                       HC 03 BOX 10842                                                                                                 JUANA DIAZ          PR         00795
   246022 JOSE A SANTIAGO PEREZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   246024 JOSE A SANTIAGO QUINONES                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   246025 JOSE A SANTIAGO RIVERA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   682346 JOSE A SANTIAGO ROJAS                       RR 10 BOX 10305                                                                                                 SAN JUAN            PR         00926
   682347 JOSE A SANTIAGO ROMERO                      HC 2 BOX 18559                                                                                                  RIO GRANDE          PR         00745
   682348 JOSE A SANTIAGO ROSADO                      HC 03 BOX 14103                                                                                                 COROZAL             PR         00783
   246026 JOSE A SANTIAGO ROSARIO                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   246027 JOSE A SANTIAGO SANCHEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   246028 JOSE A SANTIAGO SANTIAGO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   680904 JOSE A SANTIAGO SANTIAGO                    HC 71 BOX 2819                                                                                                  NARANJITO           PR         00719
   246030 JOSE A SANTIAGO SANTOS                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   246031 JOSE A SANTIAGO SINIGAGLIA                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   246032 JOSE A SANTIAGO SIVERIO                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   246033 JOSE A SANTIAGO SOTO                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   246034 JOSE A SANTIAGO VEGA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   246038 JOSE A SANTIAGO VILLAFANE                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JOSE A SANTIAGO Y NELSON D
   246039 SOTO CARDONA                                REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   246040 JOSE A SANTINI VAZQUEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JOSE A SANTO DOMINGO
   246041 MARTINEZ                                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   682353 JOSE A SANTOS CAMACHO                       PO BOX 1244                                                                                                     SAN GERMAN          PR         00683
   682354 JOSE A SANTOS CARTAGENA                     PO BOX 7471                                                                                                     CAGUAS              PR         00726
   246042 JOSE A SANTOS CRUZ                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   246043 JOSE A SANTOS DE JESUS                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   246045 JOSE A SANTOS FIGUEROA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   246046 JOSE A SANTOS FONTANEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   682357 JOSE A SANTOS GONZALEZ                      PO BOX 1372                                                                                                     MOROVIS             PR         00687
   246048 JOSE A SANTOS LOPEZ                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JOSE A SANTOS REYES/KAR JOE
   682359 AUTO SPECIAL                                EXT VILLA RICA                AI35 CALLE F                                                                      BAYAMON             PR         00959
   682360 JOSE A SANTOS RIVERA                        F 156 AVE ZENO GANDIA                                                                                           ARECIBO             PR         00612
   682362 JOSE A SANTOS RODRIGUEZ                     PMB 415 PO BOX 2400                                                                                             TOA BAJA            PR         00951‐2400
   682363 JOSE A SAUNDERS GARCIA                      PO BOX 240                                                                                                      SANTA ISABEL        PR         00757
   682364 JOSE A SCHRODER RIVERA                      HC 01 BOX 6930                                                                                                  GUAYNABO            PR         00971
   246049 JOSE A SEDA QUINONES                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   246050 JOSE A SEGARRA COLLAZO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   246051 JOSE A SEGARRA LOZADA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  682367 JOSE A SEIJO GUZMAN                          PO BOX 834                                                                                                       TOA ALTA           PR         00954‐0834
  682368 JOSE A SELLAS AMBERT                         URB BRASILLA M 13            CALLE 6                                                                             VEGA BAJA          PR         00693
  246052 JOSE A SEPULVEDA RIVERA                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  682370 JOSE A SERRACANTE                            CUIDAD UNIVERSITARIA         Y‐11 CALLE 27                                                                       TRUJILLO ALTO      PR         00976
  246053 JOSE A SERRANO APONTE                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  246054 JOSE A SERRANO CALDERON                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  246055 JOSE A SERRANO CASTRO                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  682371 JOSE A SERRANO COLON                         PARC DEL POLVORIN            67 LAS FLORES                                                                       CAYEY              PR         00736
  682373 JOSE A SERRANO DELGADO                       HC 05 BOX 10129 3                                                                                                ARECIBO            PR         00612 9701
  682375 JOSE A SERRANO HERNANDEZ                     PO BOX 1851                                                                                                      GUAYNABO           PR         00970
  682376 JOSE A SERRANO MEDINA                        URB ROSA MARIA B 21          CALLE PABLO VAZQUEZ                                                                 CAROLINA           PR         00985
  246056 JOSE A SERRANO MUNOZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  682377 JOSE A SERRANO OQUENDO                       EXT LAS DELICIAS             G 13 CALLE E                                                                        PONCE              PR         00731
  246057 JOSE A SERRANO ORTIZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  246059 JOSE A SERRANO RAMOS                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  682380 JOSE A SERRANO RODRIGUEZ                     COM MIRAFLORES II            SOLAR 217                                                                           ARECIBO            PR         00612
  682381 JOSE A SERRANO ROMAN                         COND EL ROSARIO APT 104      256 CALLE ROSARIO                                                                   SAN JUAN           PR         00912
  246061 JOSE A SERRANO VEGA                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  682382 JOSE A SEVILLA LOPEZ                         BO JUAN DOMINGO              40 CALLE LAS FLORES                                                                 GUAYNABO           PR         00966
  246062 JOSE A SIERRA MALDONADO                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  682384 JOSE A SIERRA SANTIAGO                       P O BOX 1581                                                                                                     COROZAL            PR         00783‐1581
  682385 JOSE A SILVA ALMODOVAR                       HC 1 BOX 7938                                                                                                    SAN GERMAN         PR         00683

   682386 JOSE A SILVA BELTRAN                        121 CALLE FERNANDEZ GARCIA                                                                                       LUQUILLO           PR         00773
   246063 JOSE A SILVA COFRESI                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   246064 JOSE A SIMONS                               REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   246067 JOSE A SKERRET TORRES                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   682388 JOSE A SOBERAL DORTA                        P O BOX 548                                                                                                      HATILLO            PR         00659
   246068 JOSE A SOLA AMOROS                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   682390 JOSE A SOLA SUAREZ                          806 PARQUE SAN ANTONIO                                                                                           CAGUAS             PR         00725‐5919
   246069 JOSE A SOLER FONTANEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   246070 JOSE A SOTO                                 REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   246071 JOSE A SOTO BAEZ                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   682397 JOSE A SOTO CINTRON                         HC 73 BOX 5345                                                                                                   NARAJITO           PR         00719
   246072 JOSE A SOTO CRESPO                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   246073 JOSE A SOTO HERNANDEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   246074 JOSE A SOTO LEBRON                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   682398 JOSE A SOTO LECAROS                         PO BOX 191535                                                                                                    SAN JUAN           PR         00949‐1535
   682399 JOSE A SOTO LOPEZ                           VILLA NUEVA                  A1 CALLE 3                                                                          CAGUAS             PR         00725
   682400 JOSE A SOTO MALAVE                          33 CALLE CRISTOBAL COLON                                                                                         PONCE              PR         00731
   246075 JOSE A SOTO MOJICA                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   682401 JOSE A SOTO OLAN                            HC 2 BOX 13212                                                                                                   SAN GERMAN         PR         00683
   246077 JOSE A SOTO PENA                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   246079 JOSE A SOTO ROSA                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   682403 JOSE A SOTO SONERA                          URB VISTA DEL RIO            8 CALLE 1 APT 29 B                                                                  BAYAMON            PR         00959
   246080 JOSE A SOTO SOSA                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   246081 JOSE A SOTO TORRES                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   682404 JOSE A SOTO VELAZQUEZ                       BUZON 512 CARR 112           BO ARRENALES ALTO                                                                   ISABELA            PR         00662
   682405 JOSE A SOTO VERGES                          150 CALLE PABLO CASALS                                                                                           MAYAGUEZ           PR         00680
   682406 JOSE A SOTOMAYOR TORRES                     P O BOX 1499                                                                                                     SAN SEBASTIAN      PR         00685
   246084 JOSE A STEIDEL CADIZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   246085 JOSE A SUAREZ                               REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   682408 JOSE A SUAREZ ARROYO                        P O BOX 1217                                                                                                     VEGA BAJA          PR         00694‐1217



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  682409 JOSE A SUAREZ GONZALEZ                       HC 02 BOX 12240                                                                                                 COROZAL             PR         00783
  682410 JOSE A SUAREZ ORTIZ                          HC 3 BOX 6171                                                                                                   HUMACAO             PR         00791
  246086 JOSE A SUAREZ SANTA                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  682411 JOSE A SUAREZ VARGAS                         URB SANTA JUANITA             EM 44 CALLE BOABAL                                                                BAYAMON             PR         00956
  682412 JOSE A SUGRANES ALICEA                       PO BOX 1133                                                                                                     MAUNABO             PR         00707
  246087 JOSE A SUSAETA FERNANDEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   682413 JOSE A TANCO WALKER                         COND LOS NARANJALES APT 338                                                                                     CAROLINA            PR         00985
   682415 JOSE A TEXERA BARNES                        A65 REPARTO ROBLES                                                                                              AIBONITO            PR         00705

   682416 JOSE A TEXIDOR RAMOS          URB LOMAS T. ALTO F 13 CALLE 5                                                                                                TRUJILLO ALTO       PR         00976
   246090 JOSE A TIO GARCIA             REDACTED                       REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE A TIRADO / EQUIP JUVENIL
   682417 DOBLE A                       BO JAGUAR                      CARR 184 KM 3 3                                                                                PATILLAS            PR         00723
   246091 JOSE A TIRADO MARTINEZ        REDACTED                       REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682418 JOSE A TIRADO MONTALVO        165 CALLE JUAN A MESTRE                                                                                                       MAYAGUEZ            PR         00680‐4040
   682419 JOSE A TIRADO PEREZ           URB COUNTRY CLUB               782 CALLE MARQUEZA                                                                             SAN JUAN            PR         00924
          JOSE A TIRADO QUILES & MARIEL
   682420 RIVERA                        CALLE ZEUS 132                 PARQUE FLAMINGO                                                                                BAYAMON             PR         00959
   682421 JOSE A TIRADO RUIZ            P O BOX 140                                                                                                                   BAJADERO            PR         00616
   682422 JOSE A TORAL                  BOULEVARD DEL RIO I            300 LOS FILTROS APT 10233                                                                      GUAYNABO            PR         00971‐9222
   682423 JOSE A TORO CLARKE            BO LAS PALMAS                  KM 11 CARR 140                                                                                 UTUADO              PR         00641
   246093 JOSE A TORO RODRIGUEZ         REDACTED                       REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682429 JOSE A TORRES                 SABANA HOYOS STATION           PO BOX 399                                                                                     SABANA HOYOS        PR         00688
   682430 JOSE A TORRES ABREU           P O BOX 13                                                                                                                    ISABELA             PR         00662
   682431 JOSE A TORRES ACEVEDO         PARC EL TUQUE                  HH 17 CALLE 8                                                                                  PONCE               PR         00728
   246096 JOSE A TORRES BAEZ            REDACTED                       REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246099 JOSE A TORRES BIZALDI         REDACTED                       REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246100 JOSE A TORRES BURGOS          REDACTED                       REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246102 JOSE A TORRES CAMACHO         REDACTED                       REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682434 JOSE A TORRES CANDELARIA      P O BOX 654                                                                                                                   BARCELONETA         PR         00617‐0654
   246103 JOSE A TORRES CEDENO          REDACTED                       REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682435 JOSE A TORRES CEPEDA          110 CALLEJON CHARDON                                                                                                          PONCE               PR         00716‐0102
   682437 JOSE A TORRES CINTRON         APARTADO 697                                                                                                                  JUANA DIAZ          PR         00795
   246104 JOSE A TORRES COLON           REDACTED                       REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE A TORRES COLON &
   682438 HORTENSIA ROLON               PO BOX 24                                                                                                                     CIDRA               PR         00739
   246105 JOSE A TORRES COTTO           REDACTED                       REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246106 JOSE A TORRES DIAZ            REDACTED                       REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682441 JOSE A TORRES GARCIA          HC 01 BOX 7650                                                                                                                YAUCO               PR         00698
   246110 JOSE A TORRES GONZALEZ        REDACTED                       REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                        CAMINO LOS AQUINO RR2 BOX
   682445 JOSE A TORRES HERNANDEZ       714                                                                                                                           SAN JUAN            PR         00928
   246112 JOSE A TORRES LARA            REDACTED                       REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246113 JOSE A TORRES LEBRON          REDACTED                       REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246114 JOSE A TORRES LUGO            REDACTED                       REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246115 JOSE A TORRES MARTINEZ        REDACTED                       REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682448 JOSE A TORRES MEDINA          URB ARBOLADA                   I 3 CALLE GRANADILLO                                                                           CAGUAS              PR         00727
   246116 JOSE A TORRES MELENDEZ        REDACTED                       REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680799 JOSE A TORRES MENDEZ          URB VILLA RIO                  10 AVE RIBAS DOMINICCI                                                                         UTUADO              PR         00641
   246117 JOSE A TORRES MIRANDA         REDACTED                       REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682450 JOSE A TORRES MORALES         URB VILLA NEVAREZ              1086 CALLE 3                                                                                   SAN JUAN            PR         00927
   246118 JOSE A TORRES MORO            REDACTED                       REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  246121 JOSE A TORRES NEGRON                          REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  682451 JOSE A TORRES OLIVERAS                        HC 1 BOX 6823                                                                                                GUAYANILLA        PR         00656
  682452 JOSE A TORRES OQUENDO                         P O BOX 535                                                                                                  JAYUYA            PR         00664
  246124 JOSE A TORRES ORENGO                          REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246125 JOSE A TORRES ORTIZ                           REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  682453 JOSE A TORRES PACHECO                         PO BOX 933                                                                                                   SABANA GRANDE     PR         00637
  682454 JOSE A TORRES PEREZ                           HC 3 BOX 15218                                                                                               COROZAL           PR         00783
  682456 JOSE A TORRES POZZI                           HC 03 BOX 14596                                                                                              UTUADO            PR         00641
  682457 JOSE A TORRES PRIETO                          PO BOX 190306                                                                                                SAN JUAN          PR         00919‐0306
  682458 JOSE A TORRES RAMIREZ                         PO BOX 7126                                                                                                  PONCE             PR         00732
  246128 JOSE A TORRES REYES                           REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246129 JOSE A TORRES RIOS                            REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246130 JOSE A TORRES RIVERA                          REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246132 JOSE A TORRES RODRIGUEZ                       REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  682467 JOSE A TORRES ROSARIO                         PO BOX 821                                                                                                   BARRANQUITAS      PR         00794
  682468 JOSE A TORRES SANCHEZ                         41 SECTOR MOGOTE                                                                                             CAYEY             PR         00736
  246133 JOSE A TORRES SANTIAGO                        REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246135 JOSE A TORRES SERRANO                         REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246136 JOSE A TORRES SURIA                           REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246137 JOSE A TORRES TORRES                          REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246138 JOSE A TORRES TROCHE                          REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246139 JOSE A TORRES VEGA                            REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246140 JOSE A TORRUELLAS IGLESIAS                    REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  682473 JOSE A TOSADO ROMAN                           HC 3 BOX 9929                                                                                                CAMUY             PR         00927
  246141 JOSE A TRINIDAD AULET                         REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680800 JOSE A TRINIDAD FIGUEROA                      RR 7 BOX 6265                                                                                                SAN JUAN          PR         00926
  246142 JOSE A TRINIDAD TORRES                        REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246144 JOSE A TRISTANI NUNEZ                         REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   682474 JOSE A URUTIA VIZCARRONDO                    BOX 1640                                                                                                     JUNCOS            PR         00777‐1640
   246145 JOSE A VALCARCEL MAUMI                       REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246146 JOSE A VALDES LEAL                           REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   682475 JOSE A VALENTIN                              URB MANSIONES         E U CALLE 7 BOX 116                                                                    SABANA GRANDE     PR         00637
   682477 JOSE A VALENTIN AQUINO                       HC 03 BOX 19563                                                                                              ARECIBO           PR         00612
   682478 JOSE A VALENTIN CALVENTE                     COM MANTILLA          BUZON 117‐A                 ARENALES ALTO                                              ISABELA           PR         00662

   682479 JOSE A VALENTIN ESCOBALES                    URB VILLA DE FELISA   4012 CALLE ANTONIO CABAZA                                                              MAYAGUEZ          PR         00680
   246147 JOSE A VALENTIN PLUMEY                       REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   682480 JOSE A VALENTIN TORRES                       PO BOX 225                                                                                                   LARES             PR         00669
                                                                             AVE HOME MORTAGE PLAZA
   682481 JOSE A VALENZUELA FUENTES                    268 PONCE DE LEON     SUITE 115                                                                              SAN JUAN          PR         00918
   682482 JOSE A VALERIO PICHARDO                      PO BOX 560405                                                                                                GUAYANILLA        PR         00656
   246149 JOSE A VALERO ORTIZ                          REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   682483 JOSE A VALLE OTERO                           RR 02 BOX 7120                                                                                               MANATI            PR         00674
   246150 JOSE A VALLE PEREZ                           REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   682484 JOSE A VALLE VEGA                            ENSANCHE PALMER 39                                                                                           SAN GERMAN        PR         00683
          JOSE A VALLES QUINONES/
   246151 GOLDEN SOLAR                                 TECHNOLOGIES INC      URB CAGUAS REALA7 CALLE 2                                                              CAGUAS            PR         00726
   246152 JOSE A VARGAS ALAMEDA                        REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246153 JOSE A VARGAS CALVO                          REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246154 JOSE A VARGAS CASIANO                        REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246155 JOSE A VARGAS FIGUEROA                       REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246156 JOSE A VARGAS GERENA                         REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  682486 JOSE A VARGAS GONZALEZ                       PO BOX 691                                                                                                      JAYUYA             PR         0066400691
  682487 JOSE A VARGAS MARTINEZ                       2 URB SAN ANTONIO                                                                                               SABANA GRANDE      PR         00637
  682489 JOSE A VARGAS NEGRON                         URB VILLA SULTANA      885 CALLE 14                                                                             MAYAGUEZ           PR         00680
  682490 JOSE A VARGAS PAGAN                          B 3 CALLE TALA                                                                                                  PONCE              PR         00732
  246157 JOSE A VARGAS REYES                          REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  682491 JOSE A VARGAS RIVERA                         HC 1 BOX 5079                                                                                                   SANTA ISABEL       PR         00757
  246158 JOSE A VARGAS RUIZ                           REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  246159 JOSE A VARGAS SANTIAGO                       REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  682493 JOSE A VARGAS TORRES                         HC 2 BOX 10426                                                                                                  AIBONITO           PR         00705
  246160 JOSE A VARGAS VELEZ                          REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  246161 JOSE A VARGAS VIDOT                          REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  682494 JOSE A VAZQUEZ                               PMB 187 PO BOX 1999                                                                                             BARRANQUITAS       PR         00794
  246162 JOSE A VAZQUEZ ABREU                         REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  246164 JOSE A VAZQUEZ CALLEJAS                      REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  246166 JOSE A VAZQUEZ COUTO                         REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  246167 JOSE A VAZQUEZ CRESPO                        REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  682495 JOSE A VAZQUEZ CRUZ                          HC 01 BOX 3758                                                                                                  UTUADO             PR         00641‐9604
  246168 JOSE A VAZQUEZ DIAZ                          REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  246170 JOSE A VAZQUEZ FUENTES                       REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  682496 JOSE A VAZQUEZ GARCIA                        PLAYITA                39 CALLE A                                                                               SALINAS            PR         00751
  682497 JOSE A VAZQUEZ GOMEZ                         HC 3 BOX 10883                                                                                                  YABUCOA            PR         00707
  682498 JOSE A VAZQUEZ GUTIERREZ                     ADM SERV GEN           PO BOX 7428                                                                              SAN JUAN           PR         00916‐7428
  682499 JOSE A VAZQUEZ IZQUIERDO                     HC 04 BOX 42108                                                                                                 MAYAGUEZ           PR         00680
  682500 JOSE A VAZQUEZ LARRAURI                      URB VILLA CAROLINA     1 BLOQ13 CALLE 26                                                                        CAROLINA           PR         00983
  682501 JOSE A VAZQUEZ LEON                          URB LA PLATA           I 7 CALLE TOPACIO                                                                        CAYEY              PR         00633
  682502 JOSE A VAZQUEZ LOPEZ                         BOX 193                                                                                                         CIDRA              PR         00739

   682503 JOSE A VAZQUEZ MALDONADO                    EDIF MARVESA           472 AVE TITO CASTRO STE 201                                                              PONCE              PR         00731‐1749
   246173 JOSE A VAZQUEZ MARQUEZ                      REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   246174 JOSE A VAZQUEZ NEGRON                       REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   682505 JOSE A VAZQUEZ NISTAL                       PARCELAS NAVAS         BUZON 24 CALLE E              HATO ARRIBA                                                ARECIBO            PR         00613
          JOSE A VAZQUEZ ORTA Y IVETTE
   246175 RIVERA                                      REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   246176 JOSE A VAZQUEZ ORTIZ                        REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   246178 JOSE A VAZQUEZ PEREZ                        REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   246179 JOSE A VAZQUEZ ROBLES                       REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   682506 JOSE A VAZQUEZ RODRIGUEZ                    URB VILLA DEL CARMEN   2046 CALLE TENDAL                                                                        PONCE              PR         00716‐2211
   682508 JOSE A VAZQUEZ ROMAN                        RR 1 BOX 6309                                                                                                   GUAYAMA            PR         00784
   246180 JOSE A VAZQUEZ ROSADO                       REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   246181 JOSE A VAZQUEZ SANTIAGO                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   680781 JOSE A VAZQUEZ SOTO                         HC 83 BOX 7611                                                                                                  VEGA ALTA          PR         00692
   682512 JOSE A VAZQUEZ SOTO                         PO BOX 37 1268                                                                                                  CAYEY              PR         00737‐1268
   682513 JOSE A VAZQUEZ TORRES                       PO BOX 169                                                                                                      LAJAS              PR         00667
   682514 JOSE A VAZQUEZ VAZQUEZ                      PO BOX 6332                                                                                                     MAYAGUEZ           PR         00681
   246183 JOSE A VAZQUEZ VELEZ                        REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   682515 JOSE A VEGA                                 SANTA TERESITA         BT 37 MARGINAL                                                                           PONCE              PR         00730
   246185 JOSE A VEGA LUGO                            REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   682519 JOSE A VEGA NAZARIO                         HC 04 BOX 23337                                                                                                 LAJAS              PR         00667
   246186 JOSE A VEGA PACHECO                         REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   246187 JOSE A VEGA PADILLA                         REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   682521 JOSE A VEGA RAMOS                           HC 1 BOX 3219                                                                                                   LAS MARIAS         PR         00670
   246188 JOSE A VEGA RIVERA                          REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   682523 JOSE A VEGA RODRIGUEZ                       PO BOX 1044                                                                                                     GUAYAMA            PR         00785 1044



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MML ID               NAME                                        ADDRESS 1                    ADDRESS 2              ADDRESS 3                           ADDRESS 4               CITY       STATE     POSTAL CODE       COUNTRY
  246189 JOSE A VEGA ROLDAN                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  246191 JOSE A VEGA VEGA                             REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  246192 JOSE A VEGUILLA CARTAGENA                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   682529 JOSE A VELAZCO MALDONADO                    BONNEVILLE HEIGHTS          B 53 CALLE CANOVANAS                                                               CAGUAS               PR         00925
   246193 JOSE A VELAZQUEZ                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   246194 JOSE A VELAZQUEZ BURGOS                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   680905 JOSE A VELAZQUEZ GRAU                       P O BOX 426                                                                                                    CAGUAS               PR         00726
   682533 JOSE A VELAZQUEZ JIMENEZ                    PO BOX 853                                                                                                     VEGA BAJA            PR         00694
   682534 JOSE A VELAZQUEZ LOPEZ                      HC 07 BOX 35529                                                                                                CAGUAS               PR         00727
   246195 JOSE A VELAZQUEZ LUGO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   682536 JOSE A VELAZQUEZ MONCLOVA                   P O BOX 1091                                                                                                   MAUNABO              PR         00707
   682537 JOSE A VELAZQUEZ PEREZ                      3623 AVE MILITAR SUITE B5                                                                                      ISABELA              PR         00662
   246197 JOSE A VELAZQUEZ ROMAN                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   682540 JOSE A VELAZQUEZ VARGAS                     BO RIO HONDO                311 CALLE CELESTINO                                                                MAYAGUEZ             PR         00680

   246199 JOSE A VELAZQUEZ VELAZQUEZ                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   682541 JOSE A VELAZQUEZ VERA                       212 SAN JUSTO APT 575                                                                                          QUEBRADILLAS         PR         00678
          JOSE A VELAZQUEZ/ GILDA M
   246202 VEGA                                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   682542 JOSE A VELEZ ALVAREZ                        BO LLANADAS                 BOX 4 156                                                                          ISABELA              PR         00662
   682543 JOSE A VELEZ ARCAY                          PO BOX 50789                                                                                                   TOA BAJA             PR         00949‐0789
   246203 JOSE A VELEZ ARZUAGA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   246204 JOSE A VELEZ BRACERO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   246205 JOSE A VELEZ COLLADO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   682545 JOSE A VELEZ COTTO                          HC 1 BOX 8851                                                                                                  AGUAS BUENAS         PR         00703
   246206 JOSE A VELEZ DELGADO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   246207 JOSE A VELEZ DIAZ                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   246210 JOSE A VELEZ DUVERGE                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   246211 JOSE A VELEZ FIGUEROA                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   246212 JOSE A VELEZ GONZALEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   682547 JOSE A VELEZ GUTIERREZ                      URB COUNTRY CLUB            QG4 CALLE 525                                                                      CAROLINA             PR         00982
   682548 JOSE A VELEZ IRIZARRY                       HC 3 BOX 14886                                                                                                 YAUCO                PR         00698
   246213 JOSE A VELEZ LOPEZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   680801 JOSE A VELEZ MALDONADO                      URB REINA DE LOS ANGELES    T 10 CALLE 8                                                                       GURABO               PR         00778
   682550 JOSE A VELEZ MONTANO                        PO BOX 614                                                                                                     MANATI               PR         00674
   682551 JOSE A VELEZ MORALES                        PO BOX 363846                                                                                                  SAN JUAN             PR         00936‐3846
   246214 JOSE A VELEZ RAMIREZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   246215 JOSE A VELEZ RAMOS                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   246217 JOSE A VELEZ RIVERA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   246218 JOSE A VELEZ RODRIGUEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   246219 JOSE A VELEZ SEIJO                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   682557 JOSE A VELEZ TIRADO                         BO FACTOR 1 359             CALLE 23                                                                           ARECIBO              PR         00616
   682559 JOSE A VELEZ TORO                           SIERRA LINDA                19 CALLE 3H                                                                        BAYAMON              PR         00957
   682560 JOSE A VELEZ TORRES                         HC 1 BOX 5544                                                                                                  LAS MARIAS           PR         00670
   246220 JOSE A VELEZ VELEZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   246222 JOSE A VELILLA RODRIGUEZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   682562 JOSE A VENTO                                250 CANALS                  APT 1 PDA 19                                                                       SAN JUAN             PR         00907
   246223 JOSE A VERA COLON                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   246224 JOSE A VERA GERENA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   246225 JOSE A VERA PEREIRA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   246226 JOSE A VERA PEREZ                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  246227 JOSE A VERA RODRIGUEZ                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246228 JOSE A VERA ROMAN                             REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246229 JOSE A VERA TORRES                            REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246230 JOSE A VERA VILLAFANE                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOSE A VERA Y MIGDALIA
  246231 ROMAN                                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   246232 JOSE A VERA/ MIGDALIA ROMAN REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246233 JOSE A VERDEJO BROWN        REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246234 JOSE A VICENTE VICENTE      REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246235 JOSE A VIDAL GORDILLO       REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682564 JOSE A VIDAL NU¥EZ          PO BOX 29                                                                                                                    CAYEY               PR         00737
   246236 JOSE A VIDAL SANCHEZ        REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680907 JOSE A VIENTOS              PO BOX 50101                                                                                                                 TOA BAJA            PR         00950
   246237 JOSE A VIERA RODRIGUEZ      REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246238 JOSE A VIERA TORRES         REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682565 JOSE A VIGIL CEDRES         APARTADO 800200                                                                                                              COTTO LAUREL        PR         00780‐0200
   682566 JOSE A VILA INC             FERNANDEZ JUNCOS STA                       PO BOX 8733                                                                       SAN JUAN            PR         00907

   246239 JOSE A VILLAFANE RODRIGUEZ                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246240 JOSE A VILLALONGO MUGUIA                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682568 JOSE A VINAS TOLEDO                          P O BOX 9023943                                                                                             SAN JUAN            PR         00902‐3943
   682570 JOSE A VIRELLA                               RR 2 BOX 4111                                                                                               TOA ALTA            PR         00953‐9802
   682571 JOSE A VITALI COLON                          URB LOS COLOBOS           1247 CALLE BAMBU                                                                  PONCE               PR         00731
   246241 JOSE A VIVALDI OLIVER                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246242 JOSE A VIVES QUINONES                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246243 JOSE A VIVIER AYALA                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682572 JOSE A WALKER FERRER                         URB LOS CACIQUES          215 CALLE UROYOAN                                                                 CAROLINA            PR         00987
   682573 JOSE A Y HILDA N SUAREZ                      65 TOMPKINS AVE APT 2 E                                                                                     BROOKLIN            NY         11206
          JOSE A Y MARIA A RIVERA
   682574 MADERA                                       HC 2 BOX 10094                                                                                              YAUCO               PR         00698
   682575 JOSE A ZAMBRANA ARROYO                       URB ROYAL PALM            IL 29 AVE NOGAL                                                                   BAYAMON             PR         00956
   682578 JOSE A ZAYAS                                 HC‐02 BOZX 6871                                                                                             BARRANQUITAS        PR         00794
   246244 JOSÉ A ZAYAS ALVARADO                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682579 JOSE A ZAYAS CRUZ                            HC 1 BOX 7397                                                                                               LAS PIEDRAS         PR         00771
   682580 JOSE A ZAYAS GARCIA                          HC‐40 BOX 41502                                                                                             SAN LORENZO         PR         00754
   246245 JOSE A ZAYAS OLIVER                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682581 JOSE A ZAYAS ORTIZ                           URB HILLSIDE              C 26 CALLE 3                                                                      SAN JUAN            PR         00926
                                                       CONDADO 1207 CALLE
   682582 JOSE A ZAYAS RIVAS                           LUCCHETTI                                                                                                   SAN JUAN            PR         00907
   682584 JOSE A. AÃESES PEÃA                          PO BOX 21537                                                                                                SAN JUAN            PR         00931
          José A. Acevedo DBA Antilles
   831438 Office Supply                                P.O. Box 3474                                                                                               Manatí              PR         00674
   246246 JOSE A. AGOSTO LOPEZ                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682585 JOSE A. ALCAZAR GUZMAN                       HC 1 BOX 6740                                                                                               AGUAS BUENAS        PR         00703
   682587 JOSE A. ALFARO CALERO                        3861 AVE MILITAR                                                                                            ISABELA             PR         00662
          JOSE A. ALVAREZ Y DAMARIS
   682589 LOPEZ                                        URB VILLA FONTANA         2QR 506 VIA 1                                                                     CAROLINA            PR         00983
   246247 JOSE A. ANDREU FUENTES                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246249 JOSE A. APONTE PEREZ                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246250 JOSE A. BONETA LOPEZ                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246251 Jose A. Bonilla Bares                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246252 JOSE A. CABAN CORDERO                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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MML ID               NAME                                      ADDRESS 1                     ADDRESS 2                    ADDRESS 3                           ADDRESS 4              CITY          STATE    POSTAL CODE        COUNTRY
  682602 JOSE A. CABRERA QUIJANO                      PO BOX 9144                                                                                                         ARECIBO             PR           00613

   682603 JOSE A. CALDERA NIEVES                      232 AVE ELEONOR ROOSEVELT                                                                                           SAN JUAN            PR           00907
          JOSE A. CALDERO GUZMAN Y
   246253 CARMEN PEREZ                                REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   246254 JOSE A. CAMACHO ORTIZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   682604 JOSE A. CARABALLO RIVERA                    PO BOX 1824                                                                                                         YAUCO               PR           00698
          JOSE A. CARRASQUILLO
   682606 RODRIGUEZ                                   PO BOX 390                                                                                                          SAN LORENZO         PR           00754
   682608 JOSE A. CARRO SOTO                          COTTO STATION               PO BOX 9924                                                                             ARECIBO             PR           00613
   246255 JOSE A. CASIANO                             REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   682609 JOSE A. CASTRO COTTO                        HC 2 BOX 8603                                                                                                       GUAYNABO            PR           00971
   246256 JOSE A. CHAPARRO MURPHY                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   246257 JOSE A. CHEVERE FEBUS                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   682610 JOSE A. CLAUDIO GONZALEZ                    HC 30 BOX 38003                                                                                                     SAN LORENZO         PR           00754
   246258 JOSE A. COLLAZO                             REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   246259 JOSE A. COLON FLORES                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   246260 JOSE A. COLON SANCHEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   246261 JOSE A. CORDERO HERNANDEZ                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   682611 JOSE A. CORREA GAETAN                       URB. ALAMAR                 H‐7 CALLE J                                                                             LUQUILLO            PR           00773
   246263 JOSE A. CORTES CUEVAS                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   682614 JOSE A. CORTES GINES                        URB. VISTAMAR T 1041        CALLE GUADALAJARA                                                                       CAROLINA                         00983‐1643
   246264 JOSE A. COSME VAZQUEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   246265 JOSE A. COTTE TORRES                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   246268 JOSE A. CRESPO RIVERA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  1256605 JOSÉ A. CRUZ BURGOS                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   246270 JOSE A. CRUZ CINTRON                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   682615 JOSE A. DE JESUS                            P O BOX 21365                                                                                                       SAN JUAN            PR           00928
   246274 JOSE A. DE JESUS PAGAN                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   246276 JOSE A. DEL RIO                             REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   246277 JOSE A. DELGADO RIVERA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   246279 JOSE A. DIAZ ORTIZ                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   246281 Jose A. Diaz PeNa                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   682619 JOSE A. DIAZ PEREZ                          P.O. BOX 1361                                                                                                       AGUAS BUENAS        PR           00703
                                                      BO. CERCADILLO HC‐01 BOX
   680805 JOSE A. DIAZ SALABERRIOS                    1070‐0                                                                                                              ARECIBO             PR           00618
   682622 JOSE A. DURAN                               CAPARRA TERRACE             FE 1178 CALLE 30                                                                        SAN JUAN            PR           00921
   246283 JOSE A. FERRER MARQUEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                      45 SUR CALLE ENRIQUE
   682624 JOSE A. FIGAREDO LOPEZ                      GONZALEZ                                                                                                            GUAYAMA             PR           00785
   246284 JOSE A. FIGUEROA                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   246285 JOSE A. FIGUEROA ARAUD                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   246286 JOSE A. FIGUEROA AYALA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   246287 JOSE A. FIGUEROA DE JESUS                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   246288 JOSE A. FIGUEROA PINERO                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   246294 JOSE A. FIGUEROA SANCHEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   682626 JOSE A. FLORES AGUAYO                       URB BRISAS DEL MAR          K1 CALLE 8                                                                              LUQUILLO            PR           00773
   682627 JOSE A. FLORES DEL VALLE                    URB SANTIAGO IGLESIAS       1427 CALLE LUISA CAPETILLO                                                              SAN JUAN            PR           00921
   682628 JOSE A. FONTANEZ RIVERA                     HP ‐ Forense RIO PIEDRAS                                                                                            Hato Rey            PR           009360000
   246297 JOSE A. GARCIA COTTO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   246298 JOSE A. GARCIA COURT                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   246300 Jose A. Garcia Rosado                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  682630 JOSE A. GARCIA Y SOLER                       NATIONAL ENGINEERING CO    862 AVE MIRAMAR                                                                       ARECIBO             PR         00612
  682631 JOSE A. GAYA SIFRE                           P.O. BOX 337                                                                                                     ARECIBO             PR         00613
  246301 JOSE A. GIERBOLINI ROSA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246302 JOSE A. GOMEZ                                REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246303 JOSE A. GONZALEZ BERRIOS                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246304 JOSE A. GONZALEZ FIGUEROA                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOSE A. GONZALEZ
  246305 GUARDARRAMA                                  REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246306 JOSE A. GONZALEZ VILLAMIL                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246309 JOSE A. GUZMAN OCASIO                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  682636 JOSE A. GUZMAN PAGAN                         URB. SANTA ANA             CALLE 9 N‐16                                                                          VEGA ALTA           PR         00692
  246311 JOSE A. ILLAS HERNANDEZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246312 JOSE A. JORGE PAGAN                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  682638 JOSE A. LANZO BULTRON                        HP ‐ SALA 5 ALTOS                                                                                                RIO PIEDRAS         PR         009360000
  246313 JOSE A. LARA DEL RIO                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOSE A. LARRACUENTE
  682639 GIERBOLINI                                   EXT VILLA RICA             W2 CALLE 15                                                                           BAYAMON             PR         00959
  246315 JOSE A. LAZARO PEREZ                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246316 JOSE A. LIZASOIN RENTA                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246317 JOSE A. LONGO FIGUEROA                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246320 JOSE A. LOPEZ CHEVERES                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246321 JOSE A. LOPEZ LUNA                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246322 JOSE A. LOZADA VEGA                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246323 JOSE A. MALDONADO LOPEZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246324 JOSE A. MALDONADO PAGAN                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246325 JOSE A. MALDONADO RAMOS                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246327 JOSE A. MARRERO COLON                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246328 JOSE A. MARTINEZ BRACETTI                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  682645 JOSE A. MATOS BERRIOS                        HC 1                                                                                                             COMERIO             PR         00782
  246329 JOSE A. MATOS SANCHEZ                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOSE A. MATTEI MARTINEZ DBA
  246330 OPTI DEL SUR                                 CENTRO DEL SUR MALL 1485   BLVD MIGUEL POU                                                                       PONCE               PR         00717‐2719
  246331 JOSE A. MEDINA PADILLA                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246332 JOSE A. MEJIAS CORREA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246333 JOSE A. MENENDEZ ROMAN                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  682647 JOSE A. MERCADO ZAYAS                        PO BOX 7556                                                                                                      PONCE               PR         00732
  682648 JOSE A. MERCED                               5 CALLE TURQUESA                                                                                                 HUMACAO             PR         00791
  246335 JOSE A. MILLIAN MORELL                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   682650 JOSE A. MONTALVO CORDERO                    URB EL SENORIAL            S12 CALLE MENENDEZ PIDAL                                                              SAN JUAN            PR         00926
   682651 JOSE A. MONTES RIVERA                       PO BOX 1302                                                                                                      OROCOVIS            PR         00720
   246337 JOSE A. MORALES BOSCIO                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682652 JOSE A. MORALES COLON                       PO BOX 565                                                                                                       GUAYAMA             PR         00785
   682653 JOSE A. MORALES DIAZ                        APARTADO 21365                                                                                                   SAN JUAN            PR         00928
   246339 JOSE A. MORALES ORTIZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246340 JOSE A. MORALES ROSARIO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246341 JOSE A. MUNOZ ROVIRA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246342 JOSE A. NIEVES ALBINO                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246343 JOSE A. NIEVES PAGAN                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246344 JOSE A. NIEVES RAMOS                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682655 JOSE A. OJEDA ORTIZ                         CALLE LIBRANT NUM.410      URB. SAN AGUSTIN                                                                      RIO PIEDRAS         PR         00923
   682656 JOSE A. OLIVARI LOPEZ                       PO BOX 6538                                                                                                      CAGUAS              PR         00726
   246345 JOSE A. OLIVERAS QUINONES                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  246346 JOSE A. ORTIZ ALBERTY                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                       BARRIO BAYAMON BUZON RR
   682658 JOSE A. ORTIZ COLON                          026154                                                                                                        CIDRA               PR         00739
   246348 JOSE A. OSORIO REXACH                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246349 Jose A. Otero Montalvo                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682660 JOSE A. PADILLA RIVERA                       BO PALOS BLANCOS            HC 3 BOX 17240                                                                    COROZAL             PR         00783
   246350 JOSE A. PADIN HERRERA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682661 JOSE A. PAGAN MUNOZ                          P O BOX 21365                                                                                                 SAN JUAN            PR         00926‐1365
   682665 JOSE A. PARES PARES                          11 CALLE BUENA VIS                                                                                            MOROVIS             PR         00687
   682667 JOSE A. PEREZ                                OFICINA DEL GOBERNADOR      LA FORTALEZA                                                                      SAN JUAN            PR         00902
   246351 JOSE A. PEREZ LLAVONA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246355 JOSE A. PEREZ QUIONEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246357 JOSE A. PEREZ SANTIAGO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682668 JOSE A. PEREZ VELAZQUEZ                      URB. LOS ALMENDROS          B 4 CALLE 3                                                                       JUNCOS              PR         00777
   246358 JOSE A. PLAUD GONZALEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246359 JOSE A. QUINONES                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                       HP ‐ OFC. FACTURACION Y
   682669 JOSE A. QUIÑONES LOPEZ                       COBROS                                                                                                        RIO PIEDRAS         PR         009360000
   246360 Jose A. QuiNones Pizarro                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246361 JOSE A. QUINONEZ TORRES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682670 JOSE A. RAMOS APONTE                         PO BOX 1277                                                                                                   SAN LORENZO         PR         00754
   246362 JOSE A. RAMOS FLORES                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1256606 JOSÉ A. RAMOS FLORES                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246363 JOSE A. RENTAS GARCIA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682674 JOSE A. REY MEDINA                           P O BOX 21414                                                                                                 SAN JUAN            PR         00928‐1414
   682675 JOSE A. REYES PEREZ                          PO BOX 3758                                                                                                   AGUADILLA           PR         00605
   246366 JOSE A. RIOS ROSA                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246367 JOSE A. RIVERA                               REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                       HC 71 BUZON 3122 BO CEDRO
   682677 JOSE A. RIVERA ALICEA                        ABAJO                       SECTOR CUATRO CALLES                                                              NARANJITO           PR         00919
   682678 JOSE A. RIVERA BOUCHER                       PO BOX 11813                                                                                                  SAN JUAN            PR         00922
   246369 JOSE A. RIVERA DIAZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246370 JOSE A. RIVERA FONSECA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682679 JOSE A. RIVERA NEGRON                        PO BOX 575                                                                                                    COROZAL             PR         00783
   246371 JOSE A. RIVERA ORTIZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246373 JOSE A. RIVERA RODRIGUEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   246375 JOSE A. RODRIGUEZ ALVARADO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682681 JOSE A. RODRIGUEZ LOPEZ                      COTTO STATION               PO BOX 9014                                                                       ARECIBO             PR         00613
   246376 JOSE A. RODRIGUEZ MOLINA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682683 JOSE A. RODRIGUEZ RAMIREZ                    HP ‐ SALA 5 BAJOS VARONES                                                                                     RIO PIEDRAS         PR         009360000

   246377 JOSE A. RODRIGUEZ SANTIAGO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682686 JOSE A. RODRIGUEZ VEGA                       HC 9 BOX 2488                                                                                                 SABANA GRANDE       PR         00637
   246378 JOSE A. ROLDAN                               REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246379 JOSE A. ROMAN RAMOS                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE A. ROSARIO DBA ROSARIO
   246381 DISTRIBUTOR                                  P.O. BOX 4285                                                                                                 AGUADILLA           PR         00605‐4285
          JOSE A. ROSARIO DBA ROSARIO
   246385 DISTRIBUTORS                                 PO BOX 56132                                                                                                  BAYAMON             PR         00960‐6432
   246386 JOSE A. ROSARIO DIAZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246387 JOSE A. ROSARIO HERNANDEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246388 JOSE A. RUIZ AGUAYO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  246390 JOSE A. RUIZ RIVERA                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246392 JOSE A. RUIZ VEGA                            REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246393 JOSE A. SAMPOLL SOBA                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  682689 JOSE A. SANTIAGO BONILLA                     HC 4 BOX 47139                                                                                           CAGUAS            PR         00725‐9617
  682692 JOSE A. SANTIAGO JIMENEZ                     PO BOX 1233                                                                                              CAYEY             PR         00737
  682693 JOSE A. SANTIAGO PAGAN                       HC 1 BOX 9421                                                                                            SAN GERMAN        PR         00683
  246395 JOSE A. SANTIAGO SANTIAGO                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246397 JOSE A. SERRANO CASTRO                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246398 Jose A. Serrano Delgado                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246399 JOSE A. SUAREZ DIAZ                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246400 JOSE A. TORRADO PEREZ                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246401 JOSE A. TORRES                               REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  682700 JOSE A. TORRES ACOSTA                        REPTO CAGUAX           C18 CALLE CANEY                                                                   CAGUAS            PR         00725
  246402 JOSE A. TORRES AGOSTO                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246403 JOSE A. TORRES MORALES                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246404 JOSE A. TORRES NEGRON                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246405 JOSE A. TORRES OTERO                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246406 JOSE A. TORRES TORRES                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246407 JOSE A. VALLE RIEFKOHL                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246408 JOSE A. VALLES ANDUJAR                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246409 JOSE A. VARGAS RODRIGUEZ                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246411 Jose A. Vega Baez                            REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  682702 JOSE A. VEGA PALAU                           ALT DE TORRIMAR        2‐19 CALLE 2                                                                      GUAYNABO          PR         00969
  246412 JOSE A. VELAZQUEZ                            REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   246413 JOSE A. VELAZQUEZ QUINONES                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   246414 JOSE A. VELAZQUEZ VEGA                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   246415 JOSE A. ZAYAS RIVAS                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   246416 JOSE A.CARDONA SIERRA                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   682707 JOSE A.FUENTES AGOSTINI                     TINTILLO HILL # 10                                                                                       BAYAMON           PR         00959
   682709 JOSE A.MARTINEZ GUZMAN                      PROG. SERA BAYAMON                                                                                       Hato Rey          PR         009360000
   246420 JOSE A.PEREZ SERRANO                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   246421 JOSE ABDIEL RIOS VAZQUEZ                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   682710 JOSE ABINADER PICHARDO                      CALLE MARIA MOZO 112                                                                                     SAN JUAN          PR         00911
   682711 JOSE ACEVEDO CASTILLO                       BOX 894                                                                                                  LARES             PR         00669
   682712 JOSE ACEVEDO INGLES                         RR 1 BOX 41240         BARRIO ALTOZANO                                                                   SAN SEBASTIAN     PR         00685
   682713 JOSE ACEVEDO MARTES                         URB LOS MAESTRO        D 2 CALLE 2                                                                       HUMACAO           PR         00791
   246423 JOSE ACEVEDO MERCADO                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   246425 JOSE ACEVEDO PEREZ                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   246426 JOSE ACEVEDO RIVERA                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   246428 JOSE ACEVEDO TIZOL                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   682717 JOSE ACEVEDO ZAMOT                          P O BOX 97                                                                                               CAMUY             PR         00627
   682718 JOSE ACOSTA BATISTA                         P O BOX 722                                                                                              RIO GRANDE        PR         00745
   682719 JOSE ACOSTA LUGO                            COND GOLDEN GATE       1 D 12 CALLE C                                                                    CAGUAS            PR         00725
   682721 JOSE ACOSTA MEDINA                          PO BOX 4236                                                                                              SAN JUAN          PR         00926
   246429 JOSE ACOSTA ORTIZ                           REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   680807 JOSE ACOSTA PONCE                           URB VILLA CAROLINA     92 33 CALLE 91                                                                    CAROLINA          PR         00985
   246430 JOSE ACOSTA RAMOS                           REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   246433 JOSE ACOSTA TORRES                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   246434 JOSE ADAMS MIRANDA                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   246435 JOSE ADAMS VAZQUEZ                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   246436 JOSE ADORNO CRUZ                            REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   682723 JOSE ADORNO OLIVO                           PO BOX 4048                                                                                              AGUADILLA         PR         00605



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  682726 JOSE AFANADOR                                PO BOX 7457                                                                                                 UTUADO            PR         00641
  682727 JOSE AGOSTO BERRIOS                          PO BOX 2554                                                                                                 GUAYNABO          PR         00970
  682728 JOSE AGOSTO BRAVO                            MIRAFLORES                17‐2 CALLE ALBEDRIO                                                               BAYAMON           PR         00957
  682729 JOSE AGUAYO CEDENO                           528 AVE SAN LUIS                                                                                            ARECIBO           PR         00612
  682730 JOSE ALADINO RAMOS                           PO BOX 194770                                                                                               SAN JUAN          PR         00919
  682731 JOSE ALAMA RODRIGUEZ                         URB RIO GRANDE ESTATE     V 15 CALLE 21                                                                     RIO GRANDE        PR         00745
  246438 JOSE ALAMEDA RIOS                            REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246439 JOSE ALAMEDA RODRIGUEZ                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246440 JOSE ALAMO NUNEZ                             REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246441 JOSE ALAMO QUINONES                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246442 JOSE ALAYON GONZALEZ                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                AB 9 CALLE MARGARITA
   682732 JOSE ALBANES RIVERA CRUZ                    URB LEVITTOWN             CENTRAL                                                                           TOA BAJA          PR         00949

   682733 JOSE ALBERTO ABREU DELGADO 1500 BALCONES DE STA MARIA                 A 06 AVE SAN IGNACIO                                                              SAN JUAN          PR         00921

   682734 JOSE ALBERTO ALONSO ALONSO 728 AVE PONCE DE LEON                                                                                                        SAN JUAN          PR         00918

   246443 JOSE ALBERTO BERDIEL TORRES                 REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246444 JOSE ALBERTO CRUZ CRUZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   682735 JOSE ALBERTO ECHEVARRIA BASS PO BOX 1214                                                                                                                MAYAGUEZ          PR         00681
          JOSE ALBERTO GANDARA
   680809 LANDRON                      PO BOX 9021112                                                                                                             SAN JUAN          PR         00902‐1112
   682736 JOSE ALBERTO HERNANDEZ       COLINAS DE CUPEY                         B 30 CALLE 3                                                                      SAN JUAN          PR         00926

   682737 JOSE ALBERTO JIMENEZ RIVERA                 BOX 1536                                                                                                    COROZAL           PR         00783
   246445 JOSE ALBERTO MALAVE                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   682738 JOSE ALBERTO MATOS MATOS                    PO BOX 1744                                                                                                 GUANABO           PR         00970

   682739 JOSE ALBERTO MEDINA COLON                   155 CALLE ROSARIO APT 3                                                                                     SAN JUAN          PR         00911
   246446 JOSE ALBERTO NIEVES COLON                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   246447 JOSE ALBERTO RENTAS GARCIA                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOSE ALBERTO RODRIGUEZ
   682740 VIRELLA                                     EL REMANSO                M 5 CALLE CANADA                                                                  SAN JUAN          PR         00926

   246448 JOSE ALBERTO ROSARIO RIVERA                 REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246452 JOSE ALBERTY ORONO                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246453 JOSE ALBINO BELLO                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   682741 JOSE ALBIZU RIVERA                          BO GUAVATE 22550                                                                                            CAYEY             PR         00736
   682742 JOSE ALCAZAR                                P O BOX 334010                                                                                              PONCE             PR         00733
   246455 JOSE ALDEBOL CUEVAS                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   246456 JOSE ALEJANDRO AVILES CEDENO REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680811 JOSE ALEJANDRO DIAZ          PO BOX 1256                                                                                                                LAS PIEDRAS       PR         00771
          JOSE ALFREDO ADAMS DBA       MSO 348 100 GRAND BULEVAR
   246457 MAGIE TOUCH AUTO CARE        PASEOS                                   SUITE 112                                                                         SAN JUAN          PR         00925‐5955
   682746 JOSE ALFREDO RIOS RIVERA     URB SANTA JUANITA                        BB14 CALLE 25                                                                     BAYAMON           PR         00956
   682747 JOSE ALICEA                  BOX 5729                                                                                                                   RINCON            PR         00677
   682748 JOSE ALICEA CRUZ             EXT FRANCISCO OLLER                      A 6 CALLE A                                                                       BAYAMON           PR         00656
   682750 JOSE ALICEA POU              P O BOX 334399                                                                                                             PONCE             PR         00733



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  246461 JOSE ALICEA VELEZ                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246462 JOSE ALID MILLAN CORTES                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  682751 JOSE ALLENDE RODRIGUEZ                        G P O BOX 1365                                                                                                      MANTI             PR         00772
  682752 JOSE ALMESTICA RIVERA                         HC 02 BOX 15173                                                                                                     CAROLINA          PR         00985
  682753 JOSE ALMEYDA LOCIL                            URB ALTA VISTA B‐3 CALLE 2                                                                                          PONCE             PR         00731
  682754 JOSE ALMODOVAR                                PO BOX 208                                                                                                          SAN GERMAN        PR         00683‐0208
  682755 JOSE ALMODOVAR MARTINEZ                       P O BOX 242                                                                                                         MARICAO           PR         00606
  246463 JOSE ALMODOVAR SOTO                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246464 JOSE ALMONTE CAPELLAN                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246465 JOSE ALONSO                                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246466 JOSE ALONSO RODRIGUEZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  682758 JOSE ALTORO ONNA                              P O BOX 768                                                                                                         SAN SEBASTIAN     PR         00685
  246467 JOSE ALUSTIZA COLLAZO                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  682759 JOSE ALVARADO                                 PO BOX 892                                                                                                          MANATI            PR         00674
         JOSE ALVARADO / ANGELA
  246468 ALVARADO                                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  682761 JOSE ALVARADO FIGUEROA                        PO BOX 21365                                                                                                        SAN JUAN          PR         00928
  246469 JOSE ALVARADO GONZALEZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  682762 JOSE ALVARADO MARTINEZ                        LAS CASAS 17 APT 193                                                                                                SAN JUAN          PR         00915
  246470 JOSE ALVARADO ORTIZ                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246471 JOSE ALVARADO PARRILLA                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246472 JOSE ALVARADO SANTIAGO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246474 JOSE ALVAREZ                                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246475 JOSE ALVAREZ ANDRADES                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246476 JOSE ALVAREZ CABRERA                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  682767 JOSE ALVAREZ CRESPO                           HC 2 BOX 6486                                                                                                       ADJUNTAS          PR         00601
         JOSE ALVAREZ FERIA & MARIA
  682768 DEL PILAR                                     COND ARBOLEDA                87 CARR 20 APT 2101                                                                    GUAYNABO          PR         00966
  246477 JOSE ALVAREZ JUST                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  682770 JOSE ALVAREZ MARTINEZ                         PO BOX 644                                                                                                          COROZAL           PR         00783
  682771 JOSE ALVAREZ MOJICA                           HC 61 BOX 4190                                                                                                      TRUJILLO ALTO     PR         00976
  682772 JOSE ALVAREZ MONTES                           PO BOX 2598                                                                                                         ISABELA           PR         00662
  246478 JOSE ALVAREZ NEGRON                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680812 JOSE ALVAREZ RIVERA                           PO BOX 40701                                                                                                        SAN JUAN          PR         00940
  682774 JOSE ALVAREZ RUIZ                             PO BOX 461                                                                                                          MAYAGUEZ          PR         00681
  682775 JOSE ALVAREZ SOLER                            PMB 247                      HC 01 BOX 29030                                                                        CAGUAS            PR         00725

   682765 JOSE ALVAREZ Y MARIA MARVAL URB SANTA JUANITA                             D F 2 SEC 10 CALLE ATENAS                                                              BAYAMON           PR         00956
          JOSE ALVAREZ Y/O GADDIER
   682776 GARCIA                      VILLA DE VICZAY                               4 CALLE A                                                                              RIO GRANDE        PR         00745
   682777 JOSE ALVIRA MARTINEZ        VILLA FONTANA                                 JN 8 VILLA 67                                                                          CAROLINA          PR         00979
   682778 JOSE ALVIRA RAMIREZ         REPTO DE DIEGO                                1650 CALLE GEORGINA                                                                    RIO PIEDRAS       PR         00926

   682779 JOSE AMADO RODRIGUEZ BAEZ                    URB VALLE ARRIBA HTS         Q12 CALLE HUCAR                                                                        CAROLINA          PR         00983
   246480 JOSE AMADOR AMADOR                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOSE AMAURY SANTANA
   246482 COLLADO                                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246483 JOSE ANDINO RODRIGUEZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOSE ANDRES MORALES
   246484 FIGUEROA                                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246485 JOSE ANDREU FUENTES                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   682782 JOSE ANGEL CANGIANO                          PO BOX 331524                                                                                                       PONCE             PR         00733‐1524
   246487 JOSE ANGEL CASUL ROMERO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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   246488 JOSE ANGEL CRUZ RODRIGUEZ                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   246489 JOSE ANGEL FIDALGO CARDONA REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   682786 JOSE ANGEL FUENTES MORALES                  HC 04 BOX 43377                                                                                              MAYAGUEZ            PR           00680
   246490 JOSE ANGEL GUZMAN NIEVES                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   682787 JOSE ANGEL LEON ESQUILIN                    RR 3 BOX 3318                                                                                                SAN JUAN            PR           00928
          JOSE ANGEL MELENDEZ
   682788 GONZALEZ                                    PO BOX 3711                                                                                                  CAROLINA            PR           00984

   246491 JOSE ANGEL ORTIZ MELENDEZ                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   246492 JOSE ANGEL QUINONES                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   246493 JOSE ANGEL QUINONES BURGOS REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   246494 JOSE ANGEL RAMOS           REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   682790 JOSE ANGEL RAMOS SANCHEZ   P O BOX 7208                                                                                                                  CAROLINA            PR           00986
   682791 JOSE ANGEL REYES TORRES    URB VILLA NEVAREZ                           304 CALLE 22 APTO 3                                                               SAN JUAN            PR           00927
   246495 JOSE ANGEL RIVERA RUIZ     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   246496 JOSE ANGEL RODRIGUEZ ANAYA                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE ANGEL RODRIGUEZ
   682794 ARCHILLA                                    PARQUES DE SAN IGNACIO     F 9 CALLE 3                                                                       SAN JUAN            PR           00921
          JOSE ANGEL RODRIGUEZ
   682795 LUCIANO                                     B 6 URB LOS RODRIGUEZ                                                                                        CAMUY               PR           00627
   682796 JOSE ANGEL ROMERO LOPEZ                     HC 5 BOX 25117                                                                                               CAMUY               PR           00627

   682797 JOSE ANGEL SANCHEZ ARROYO                   HC 2 BOX 13897                                                                                               GURABO              PR           00778
   682798 JOSE ANGEL SANTINI BONILLA                  106 CALLE BETANCES FINAL   APTO 552                                                                          AIBONITO            PR           00705

   246497 JOSE ANGEL SERRANO CASTRO                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   246498 JOSE ANGEL TORRES CALDERON                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   246499 JOSE ANGEL TORRES LABOY                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   682799 JOSE ANGLERO MIRANDA                        HC 67 BOX 16287                                                                                              BAYAMON             PR           00956
   682800 JOSE ANGLERO RAMOS                          PO BOX 936                                                                                                   PATILLAS            PR           00723

   682802 JOSE ANIBAL FIGUEROA COLON                  URB CIUDAD JARDIN III      421 CALLE VERBENA                                                                 TOA ALTA            PR           00953‐4900
          JOSE ANIBAL HERNANDEZ
   246501 RODRIGUEZ                                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   246502 JOSE ANIBAL LEON SERRANO                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE ANTONIO ACEVEDO
   682805 COLLAZO                                     BO JUAN SANCHEZ            BZN 1564                                                                          BAYAMON             PR           00959

   246503 JOSE ANTONIO ACEVEDO COTTO REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE ANTONIO ALBERRO
   682806 FERNANDEZ                  URB ALTURAS DE FLAMBOYAN                    GG 22 CALLE 19 APT 1                                                              BAYAMON             PR           00959
          JOSE ANTONIO BERRIOS
   246504 MORALES, PE                REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   682807 JOSE ANTONIO BOSCH         URB. PUERTO NUEVO                           CALLE 2 CE 1002                                                                   SAN JUAN            PR           00920
          JOSE ANTONIO CABALLERO
   246505 LOPEZ                      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   246506 JOSE ANTONIO CAY COLON     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  246507 JOSE ANTONIO COLLAZO                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  682809 JOSE ANTONIO COLON                           P O BOX 23163                                                                                                         SAN JUAN            PR         00936 3163
  682810 JOSE ANTONIO CRUZ CRUZ                       358 VILLA BUENA VENTURA                                                                                               YABUCOA             PR         00767
  246509 JOSE ANTONIO DIAZ SAEZ                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   246510 JOSE ANTONIO HERNANDEZ VIBO REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JOSE ANTONIO LEBRON
   246511 CAMACHO                     REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   682812 JOSE ANTONIO LEON           4803 RUBY CREEK CT                                                                                                                    JACKSONVILLE        FL         32258

   682813 JOSE ANTONIO LLANOS ARROYO BO SABANA LLANA                               1018 CALLE JUAN PEREZ REYES                                                              SAN JUAN            PR         00924

   682814 JOSE ANTONIO LOPEZ TORRES                   P O BOX 4956 PMB 162                                                                                                  CAGUAS              PR         00726
          JOSE ANTONIO MALDONADO
   682815 ORTIZ                                       HC 2 BOX 7111                                                                                                         BARRANQUITAS        PR         00794

   246513 JOSE ANTONIO MIRANDA RIVERA REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   246515 JOSE ANTONIO MORA DELGADO                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   246516 JOSE ANTONIO O'NEILL                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   246518 JOSE ANTONIO PAGAN NIEVES                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JOSE ANTONIO POLANCO
   682817 MERCADO                                     P 2 CALLE ROBERTO GONZALEZ                                                                                            FLORIDA             PR         00650
   682818 JOSE ANTONIO RAMON                          TORRES DEL PARQUE NORTE      APT 904 SANTA JUANITA                                                                    BAYAMON             PR         00956
   246520 JOSE ANTONIO REYES RIVERA                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   682819 JOSE ANTONIO RIVERA CORTES                  RES KENNEDY                  EDIF 21 APT 182                                                                          MAYAGUEZ            PR         00680
          JOSE ANTONIO RIVERA
   682820 FIGUEROA                                    EXT EL COMANDANTE            384 SAN CARLOS                                                                           CAROLINA            PR         00982

   246521 JOSE ANTONIO ROMAN RIVERA                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   246522 JOSE ANTONIO RUIZ ASTACIO                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JOSE ANTONIO SANTIAGO
   246523 SOLIVAN                                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JOSE ANTONIO SERRANO
   246524 BERMUDEZ                                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   246525 JOSE ANTONIO SUS FERNANDEZ REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   246526 JOSE ANTONIO TORRES APONTE REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   246528 JOSE ANTONIO TORRES MORO                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   682823 JOSE ANTONIO VARGAS LOPEZ                   63 EXT ROIG                                                                                                           HUMACAO             PR         00791
                                                                                   NUEVA VILLA CLEMENTINA
   680813 JOSE ANTONIO VAZQUEZ                        URB VILLA CLEMENTINA CALLE   FUSTE                                                                                    GUAYNABO            PR         00969

   246529 JOSE ANTONIO VELAZQUEZ CAEZ REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   246530 JOSE ANTONIO VELEZ SANTIAGO REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   246531 JOSE ANTONIO VIDAL POVEDA                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED




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          JOSE ANTONIO VILLEGAS
   246532 SANTIAGO                                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   682824 JOSE ANZALOTA GUZMAN                        URB SILVIA                 F 23 CALLE 10                                                                           COROZAL              PR           00783
   682825 JOSE APARICIO MALDONADO                     URB SANTA MARIA            1833 CALL3 ACACIA                                                                       SAN JUAN             PR           00927
   246533 JOSE APONTE CASTELLANO                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   246534 JOSE APONTE CRUZ                            REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      URB ESTANCIAS DE SAN
   680814 JOSE APONTE DE LA TORRE                     FERNANDO                   B 29 CALLE 3                                                                            CAROLINA             PR           00985
   246535 JOSE APONTE FERNANDEZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   682826 JOSE APONTE MERCADO                         PO BOX 8218                                                                                                        CAGUAS               PR           00726
   682827 JOSE APONTE ORTIZ                           370 SAN JOSE OESTE                                                                                                 AIBONITO             PR           00705
   246536 JOSE APONTE OSTOLAZA                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   682828 JOSE APONTE PEREZ                           BOX 24321                  CALLE EFRAIN DAVILA                                                                     CAYEY                PR           00736
   682829 JOSE APONTE RAMOS                           HC 1 BOX 9125                                                                                                      CABO ROJO            PR           00623‐9714
   682830 JOSE APONTE RIVERA                          URB PUERTO NUEVO           1215 CALLE CANARIAS                                                                     SAJUAN               PR           00920 3844
   246538 JOSE APONTE SANCHEZ                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   682831 JOSE APONTE TORO                            217 AVE DE DIEGO APT 3 A                                                                                           SAN JUAN             PR           00925
   246539 JOSE AQUINO NUNEZ                           REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   682832 JOSE ARANGO RIVERA                          URB HILLSIDE               D 10 CALLE 1                                                                            SAN JUAN             PR           00926‐5208
   246541 JOSE ARCADIO COTTO ORTIZ                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   682833 JOSE ARCE BATISTA                           URB CANA                   J A 17 CALLE 10                                                                         BAYAMON              PR           00957
   682834 JOSE ARCE MEJIAS                            HC 02 BOX 6306                                                                                                     LARES                PR           00669
   682835 JOSE ARCE PADILLA                           PO BOX 213                                                                                                         CAMUY                PR           00627
   682836 JOSE ARCE SANTIAGO                          HC 09 BOX 4453                                                                                                     SABANA GRANDE        PR           00637
   682837 JOSE ARCHEVAL LESPIER                       HC 04 BOX 7977                                                                                                     JUANA DIAZ           PR           00795
   682838 JOSE ARCHILLA MORALES                       RR 2 BOX 5101                                                                                                      TOA ALTA             PR           00953
          JOSE ARIEL CRUZADO
   246542 VALLELLANES                                 REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   246543 JOSE ARIEL NAZARIO ALVAREZ                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   246544 JOSE ARIEL RODRIGUEZ ORTIZ                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   682840 JOSE ARIEL SEGUI DIAZ                       VILLA PALMERAS             306 CALLE ERNESTO VIGOREAUX                                                             SAN JUAN             PR           00915
   246545 JOSE ARMANDO GARCIA                         REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JOSE ARMANDO LOPEZ
   682843 HADDOCK                                     URB BAIROA                 A B‐1 REINA ISABEL                                                                      CAGUAS               PR           00725
          JOSE ARMANDO ROSA
   682841 GONZALEZ                                    BOX 2161                                                                                                           SAN JUAN             PR           00922‐2161

   246546 JOSE ARNALDO PEREZ PINEIRO                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   246547 JOSE ARNALDO RIVERA ORTIZ                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   682846 JOSE ARRAIZA GONZALEZ                       LOMAS VERDES               2X 24 CALLE JACINTO                                                                     BAYAMON              PR           00956
   682847 JOSE ARROYO BAEZ                            BO CANDELARIA              PO BOX 1374                                                                             VEGA BAJA            PR           00692
   682848 JOSE ARROYO COLON                           PO BOX 370                                                                                                         NAGUABO              PR           00718
   682849 JOSE ARROYO DEL VALLE                       H C 08 49358                                                                                                       CAGUAS               PR           00725‐9689
   682850 JOSE ARROYO GOMEZ                           RIVERSIDE PARK             A 18 CALLE 1                                                                            BAYAMON              PR           00959
   680815 JOSE ARROYO LOPEZ                           PO BOX 23125                                                                                                       SAN JUAN             PR           00931
   246548 JOSE ARROYO MARTINEZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   246549 JOSE ARROYO MENENDEZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   246550 JOSE ARROYO ORTIZ                           REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   682852 JOSE ARROYO PEREZ                           UBR COM MANTILLA                                  243                                                              ISABELA              PR           00662
   246551 JOSE ARROYO SANTIAGO                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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                                                      VILLAS DE PARQUE ESCORIAL
   682854 JOSE ARSUAGA MORALES                        APT 607 C                                                                                                        CAROLINA          PR           00987
   682855 JOSE ARTECONA                               PO BOX 13636                                          SANTURCE                                                   SAN JUAN          PR           00908
   682856 JOSE ARTEMIO TORRES PEREZ                   667 AVE P DE LEON           BOX 367                                                                              SAN JUAN          PR           00907
   682857 JOSE ARTURO ACOSTA                          PO BOX 2061                                                                                                      MAYAGUEZ          PR           00681

   682858 JOSE ARTURO ALVAREZ COLON                   1809 PACIFIC PALLACE                                                                                             SAN JUAN          PR           00911
   246552 JOSE ARTURO BARQUET                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED      REDACTED
   246554 JOSE ASENCIO MARTY                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED      REDACTED
   682860 JOSE ASMAR KALIL                            LOIZA STATION               PO BOX 12161                                                                         SAN JUAN          PR           00914
   682861 JOSE ASTACIO OTERO                          TORRE DE ANDALUCIA          EDIF I APT 809                                                                       SAN JUAN          PR           00926
   246555 JOSE AULET CONCEPCION                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED      REDACTED
   246557 JOSE AVILES CORCHADO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED      REDACTED
   682863 JOSE AVILES RODRIGUEZ                       URB BELLA VISTA             X 14 CALLE 28                                                                        BAYAMON           PR           00957
   682864 JOSE AVILES VALLE                           PO BOX 1842                                                                                                      ISABELA           PR           00662‐1842
   682866 JOSE AYALA AYALA                            RR 4 BOX 26504                                                                                                   TOA ALTA          PR           00953‐0000
   682867 JOSE AYALA BAEZ                             TREASURE VALLEY             K 3 CALLE ARGENTINA                                                                  CIDRA             PR           00739
   246558 JOSE AYALA CADIZ                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED      REDACTED
   682868 JOSE AYALA CANTRES                          PO BOX 1207                                                                                                      CATANO            PR           00963
   682869 JOSE AYALA GARAY                            URB MARIOLGA                T 5 CALLE 25                                                                         CAGUAS            PR           00725
   246559 JOSE AYALA MARTINEZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED      REDACTED
   246560 JOSE AYALA MEDINA                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED      REDACTED
   682870 JOSE AYALA RIVERA                           P O BOX 568                                                                                                      SABANA GRANDE     PR           00637
   682872 JOSE AYALA VEGA                             JARDINES DE BORINQUEN       B 17 CALLE AZUCENA                                                                   CAROLINA          PR           00985
   246561 JOSE B AGUAYO NEGRON                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED      REDACTED
   246562 JOSE B AVILES PADIN                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED      REDACTED
   246563 JOSE B BAEZ ROMAN                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED      REDACTED
          JOSE B BARCELO / NEW AGE
   682877 FITNESS CLUB                                ALT DE MAYAGUEZ             423 CALLE ALMIRANTE                                                                  MAYAGUEZ          PR           00680
   682878 JOSE B BOYLES VILAR                         PO BOX 363674                                                                                                    SAN JUAN          PR           00936‐3674
   682880 JOSE B CARDONA DE JESUS                     PO BOX 207                                                                                                       COAMO             PR           00769
   682881 JOSE B COLON FERNANDEZ                      P O BOX 7445                                                                                                     PONCE             PR           00732
   682882 JOSE B CORTES VALLE                         P O BOX 199                                                                                                      QUEBRADILLAS      PR           00678
   682883 JOSE B CRUZ IROOLS                          HC 01 BOX 5524                                                                                                   ARROYO            PR           00714
   246566 JOSE B DIAZ ASENCIO                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED      REDACTED
   682885 JOSE B FEBO ORITZ                           ALT DE BUCABARONES          3W23 CALLE 40                                                                        TOA ALTA          PR           00953
   682886 JOSE B FELICIANO IRIZARRY                   URB MARIANI                 8115 CALLE SUR                                                                       PONCE             PR           00717‐0266
   682887 JOSE B FERNANDEZ GORDON                     COND PONCE DE LEON          GARDENS 50 CALLE 8        APT 501                                                    GUAYNABO          PR           00966
   246567 JOSE B IRIZARRY VELEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED      REDACTED
   682891 JOSE B MARCANO VALDES                       PO BOX 8365                                                                                                      CAGUAS            PR           00726
   682892 JOSE B MARTINEZ BUTLER                      URB KENNEDY                 54 CALLE EDUARDO ABRAMS                                                              QUEBRADILLAS      PR           00678
   246568 JOSE B MARTINEZ OLIVERAS                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED      REDACTED
   682874 JOSE B MEDINA FONSECA                       URB EL COMANDANTE 1219      CALLE NICOLAS AGUAYO                                                                 SAN JUAN          PR           00924
   682893 JOSE B MENDEZ VALENTIN                      HC 1 BOX 3758                                                                                                    COROZAL           PR           00783‐9606
   682894 JOSE B MONTALVO GARCIA                      P O BOX 10171                                                                                                    PONCE             PR           00732
   680816 JOSE B MORA SIVERIO                         PO BOX 140162                                                                                                    ARECIBO           PR           00614
   246570 JOSE B NEGRON TORRES                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED      REDACTED
   246571 JOSE B OCASIO FIGUEROA                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED      REDACTED
   682896 JOSE B QUILES MELENDEZ                      BO JERUSALEN                A1 CALLE 2                                                                           FAJARDO           PR           00738
   246572 JOSE B QUINONES MARTINEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED      REDACTED

   682897 JOSE B RAMIREZ ACOSTA                       A/C BANCO SANTANDER DE PR   PO BOX 386                                                                           SAN GERMAN        PR           00683
   682899 JOSE B RAMOS NEGRON                         PO BOX 585                                                                                                       JUNCOS            PR           00777



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MML ID               NAME                                        ADDRESS 1                     ADDRESS 2              ADDRESS 3                           ADDRESS 4             CITY          STATE    POSTAL CODE        COUNTRY
  682900 JOSE B RIVERA RIVERA                          VISTA BELLA                B1 CALLE 1                                                                          BAYAMON            PR           00956
  682901 JOSE B RODRIGUEZ                              109 BEACH AVE PORT ST                                                                                          LUCIE              FL           34952

   682902 JOSE B RODRIGUEZ MELENDEZ                    HC 1 BOX 9514                                                                                                  TOA BAJA           PR           00949 9716
   682903 JOSE B RODRIGUEZ RIOS                        URB SANTA ROSA             31 14 CALLE 28                                                                      BAYAMON            PR           00959
   682904 JOSE B ROSA MIRANDA                          5625 EAGLE TRACE CT                                                                                            LAKEWORTH          FL           33463
   246573 JOSE B RUIZ DIAZ                             REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   682906 JOSE B TAPIA MANSO                           JARDINES DE LOIZA          B 32 CALLE 3                                                                        LOIZA              PR           00772
   246575 JOSE B TORRES COLON                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   682907 JOSE B TORRES FLORES                         BERWIND ESTATES            D 10 CALLE 7                                                                        SAN JUAN           PR           00924
   246576 JOSE B TRIGO CASTILLO                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   682909 JOSE B VAZQUEZ                               1572 AVE AMERICO MIRANDA                                                                                       SAN JUAN           PR           00921
   246577 JOSE B VELEZ LATORRE                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   246578 JOSE B. APONTE COLON                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   246579 JOSE B. CASTILLO COLON                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   682910 JOSE B. IRIZARRY VELEZ                       C.S.M. BAYAMON                                                                                                 Hato Rey           PR           00936
   246583 JOSE B. MARTINEZ BUTLER                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   246584 JOSE B. NEGRON TORRES                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   246585 JOSE B. WESTERBAND MILIAN                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   246586 JOSE BADILLO                                 REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   682911 JOSE BAERGA DE LEON                          HC 764 BOX 8058                                                                                                PATILLAS           PR           00723
   682913 JOSE BAEZ BAEZ                               PO BOX 9022395                                                                                                 SAN JUAN           PR           00902
   682914 JOSE BAEZ CARRASQUILLO                       PO BOX 9059                                                                                                    CAGUAS             PR           00726
   682915 JOSE BAEZ CORDOVA                            VISTAS DEL RIO             APT 10 B                                                                            BAYAMON            PR           00959
   682916 JOSE BAEZ CORTINES                           10 CALLE MALVA             EXT. SANTA MARIA                                                                    SAN JUAN           PR           00927
   682912 JOSE BAEZ RIOS                               EL MIRADOR APT             EDIF A APT 3023                                                                     CAGUAS             PR           00725
   246590 JOSE BARBOSA VELEZ                           REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   682918 JOSE BARQUERO AUDIOVISUAL                    P O BOX 11523                                                                                                  SAN JUAN           PR           00910
   246591 JOSE BARRERA FRONTERA                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   246592 JOSE BARRERAS MENDEZ                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   682919 JOSE BARRERAS RIVERA                         HC 05 BOX 10025                                                                                                COROZAL            PR           00783
   246593 JOSE BARRETO LOPEZ                           REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   246594 JOSE BARRETO PADILLA                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   682920 JOSE BARRETO PEREZ                           HC ‐02 BOX 11870                                                                                               MOCA               PR           00676
   682921 JOSE BASCO MORALES                           P O BOX 944                                                                                                    BARRANQUITAS       PR           00794
   682922 JOSE BASS MARTINEZ                           1842 BO MIRADERO           CARRETERA 108                                                                       MAYAGUEZ           PR           00680
   682924 JOSE BAUERMEISTER                            177 LAS CAOBAS                                                                                                 SAN JUAN           PR           00927
   682925 JOSE BAUZO SANTIAGO                          HC 33 BOX 5796                                                                                                 DORADO             PR           00646
   246595 JOSE BAYON SANTIAGO                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   246596 JOSE BAYONA                                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   246597 JOSE BAYRON RIVERA                           REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   682926 JOSE BELEN OLIVO GONZALEZ                    BO RIO PLANTATION          17 CALLE 1                                                                          BAYAMON            PR           00961
   246598 JOSE BELLO MELENDEZ                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   682927 JOSE BELTRAN                                 URB 5TO CENTENARIO         857 DIEGO SALCEDO                                                                   MAYAGUEZ           PR           00682
   246599 JOSE BELTRAN VILLANUEVA                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   246600 JOSE BENEDETTY ROSARIO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   682929 JOSE BENIQUEZ FERNANDEZ                      ENCANTADA                  MC13 PARQUE DEL MONTE                                                               TRUJILLO ALTO      PR           00976
   246601 JOSE BENITEZ CORDOVA                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   246602 JOSE BENITEZ GONZALEZ                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   682931 JOSE BENITEZ LOPEZ                           SANTA ISIDRA 3             B 5 CALLE 4                                                                         FAJARDO            PR           00738
   246603 JOSE BENITEZ TORRES                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   682932 JOSE BENJAMIN CRUZ ANAYA                     URB BUNKER                 230 CALLE MEJICO                                                                    CAGUAS             PR           00725



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  246604 JOSE BERGANZO HERNANDEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246605 JOSE BERIO SUAREZ                            REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  682933 JOSE BERMUDEZ CANGIANO                       PO BOX 229                                                                                                   JUANA             PR         00795‐0229
  682934 JOSE BERMUDEZ FONSECA                        URB VALLE DE GUAYAMA       S 1 CALLE 10                                                                      GUAYAMA           PR         00784
  682936 JOSE BERMUDEZ RIVAS                          COND COMODORO APTO 204                                                                                       SAN JUAN          PR         00979
  246606 JOSE BERMUDEZ ROMAN                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246607 JOSE BERMUDEZ VELAZQUEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  682937 JOSE BERNECER ROSADO                         URB VIVES 151 CALLE C                                                                                        GUAYAMA           PR         00784
  246608 JOSE BERRIOS MATOS                           REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246609 JOSE BERRIOS RAYMUNDI                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246610 JOSE BERRIOS RIVERA                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  682939 JOSE BERRIOS ROSADO                          BOX 203                                                                                                      NARANJITO         PR         00719
  246611 JOSE BETANCOURT DELGADO                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   246612 JOSE BETANCOURT GUARDIOLA                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   246613 JOSE BETANCOURT QUINTERO                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   682941 JOSE BETANCOURT RIVERA                      RR 2 BOX 3025                                                                                                TOA ALTA          PR         00953

   246614 JOSE BETANCOURT RODRIGUEZ                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   682942 JOSE BIGIO ROMERO                           RR 6 BOX 9383                                                                                                SAN JUAN          PR         00926
   682943 JOSE BILLYS PAGAN                           PO BOX 402                                                                                                   SALINAS           PR         00751‐0402
   682944 JOSE BIRRIEL COLON                          PO BOX 7428                                                                                                  SAN JUAN          PR         00916
   246616 JOSE BLANCO SANTANA                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   682945 JOSE BOBYN PHOTOGRAPHER                     URB PUERTO NUEVO           571 AVE DE DIEGO                                                                  SAN JUAN          PR         00920

   246617 JOSE BOLIVAR GARCIA FLORES                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246618 Jose Bonilla Santiago                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246621 JOSE BORROTO CACERES                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246622 JOSE BOSE RODRIGUEZ VERA                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOSE BRAKARZ C/O
   682948 DEPARTAMENTO VIVIENDA                       405 HURLEY AVE                                                                                               ROCKVILLE         MD         20850
   246623 JOSE BRANA OYOLA                            REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246624 JOSE BRILLON COLON                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   682949 JOSE BRUNO RIVERA RIVERA                    PO BOX 21365                                                                                                 SAN JUAN          PR         00926‐1365
   246625 JOSE BULA CORREA                            REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   682950 JOSE BURGOS ESCALERA                        JARDINES COUNTRY CLUB      C O 12 CALLE 153                                                                  CAROLINA          PR         00985
                                                      URB ESTANCIAS DE BAYAMON
   682951 JOSE BURGOS GONZALEZ                        PLAZA                      IB5                                                                               BAYAMON           PR         00968
   682953 JOSE BURGOS IRIZARRY                        CORREO GENERAL                                                                                               MERCEDITA         PR         00715
   246626 JOSE BURGOS MORALES                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246627 JOSE BUSCAGLIA                              REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246628 JOSE BUSQUETS VILA                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246629 JOSE C ABRAMS RIVERA                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOSE C AGRELOT PENA DBA JCA
   246630 & ASSOCIATES                                PO BOX 192927                                                                                                SAN JUAN          PR         00919‐2927
   246631 JOSE C APONTE RODRIGUEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246632 JOSE C AYALA PADILLA                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOSE C BEZARES/ LAURA E
   246634 MELENDEZ                                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   682960 JOSE C CAMACHO RIVERA                       BO JAGUAS                  KM 14 6 APT 204                                                                   CIALES            PR         00638
   682955 JOSE C CARTAGENA MALAVE                     URB LOMAS VERDES           2E‐24 CALLE GARDENIA                                                              BAYAMON           PR         00956
   246635 JOSE C CARTAGENA VILLEGAS                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  246636 JOSE C CINTRON RODRIGUEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246639 JOSE C COLON CINTRON                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  682963 JOSE C COLON MARRERO                         HC 02 BOX 5876                                                                                                MOROVIS             PR         00687
  682964 JOSE C COLON PEREZ                           HC 2 BOX 11330                                                                                                COROZAL             PR         00783
  246641 JOSE C CRUZ BURGOS                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  682965 JOSE C CRUZ CASTRO                           RR 3 BOX 8750 12                                                                                              TOA ALTA            PR         00953
  246643 JOSE C DE HOYOS ESCANIO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   246644 JOSE C DE LA VEGA HERNANDEZ REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246645 JOSE C ESTEVA COLOM         REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   246646 JOSE C EYZAGUIRRE LANDAZURI REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   246647 JOSE C FERNANDEZ MARRERO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE C FERRER / CARMEN J
   246648 LOPEZ                                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682972 JOSE C GARCIA CARDONA                       HC 2 BOX 3732                                                                                                 MAUNABO             PR         00707
   682973 JOSE C GIRON LEYRO                          URB ANA MARIA               J 14 CALLE 2                                                                      CABO ROJO           PR         00623
   246650 JOSE C GONZALEZ MORELL                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682975 JOSE C GONZALEZ ROMAN                       H C 01 BOX 3123                                                                                               FLORIDA             PR         00650
   246651 JOSE C GRAJALES RODRIGUEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246652 JOSE C HEREDIA NARVAEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246653 JOSE C HERRERA ORTIZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246655 JOSE C JIMINEZ GONZALEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246656 JOSE C LAGUILLO PEREZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE C MALDONADO REYES
   682980 /EQUIPO MASTER                              CC 17 URB VILLA BARCELONA                                                                                     BARCELONETA         PR         00617

   682981 JOSE C MANGUAL RODRIGUEZ                    PO BOX 10914                                                                                                  SAN JUAN            PR         00922‐0914
   246658 JOSE C MARRERO ALVIRA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246659 JOSE C MARTINEZ TORRES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246660 JOSE C MELENDEZ ESPADA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246661 JOSE C MELENDEZ RIVERA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   682982 JOSE C MENDOZA RODRIGUEZ                    BO PALMAS BAJAS 93          BOX 4667                                                                          GUAYAMA             PR         00784‐9702
   682983 JOSE C MERCADO VAZQUEZ                      PO BOX 327                                                                                                    FLORIDA             PR         00687
   682984 JOSE C MIRANDA ZAYAS                        APARTADO 1034               ESTACION DE OROCOVIS                                                              OROCOVIS            PR         00720
   246662 JOSE C MOJICA CRUZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246663 JOSE C MUNOZ SOTO                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246664 JOSE C NAZARIO ROY                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682986 JOSE C NEVAREZ                              HC 33 BOX 6260                                                                                                DORADO              PR         00646
   682987 JOSE C OCASIO                               P O BOX 21365                                                                                                 SAN JUAN            PR         00919
   246665 JOSE C ONNA HERNANDEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246666 JOSE C ORTIZ LLERAS                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   682989 JOSE C ORTIZ MALDONADO                      URB MONTERREY               1275 CALLE ANDES                                                                  SAN JUAN            PR         00926
   246668 JOSE C OTERO SANTANA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   682991 JOSE C PACHECO DIAZ                         232 AVE ELEONOR ROOSEVELT                                                                                     SAN JUAN            PR         00907
   680817 JOSE C PADILLA BURGOS                       URB SANTA JUANITA           7 CALLE LIBANO FINAL                                                              BAYAMON             PR         00956
   246669 JOSE C PENA / KIDANY PENA                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE C PEREZ / MAYRA
   246670 MENENDEZ                                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246671 JOSE C PINET RAMOS                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  246672 JOSE C QUINONES GOMEZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  682994 JOSE C QUINTERO GOMEZ                        URB ROLLING HILLS           C 116 CALLE BRAZIL                                                                  CAROLINA          PR         00987
  682995 JOSE C RAMIREZ LOPEZ                         SAN GERMAN APARTMENT        149 CALLE GOLONDRINA                                                                SAN GERMAN        PR         00683
  246673 JOSE C RAMIREZ SANTIAGO                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246674 JOSE C RAMOS COLON                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  682997 JOSE C RAMOS MERCADO                         1452 ASHFORD SUITE 305 A                                                                                        SAN JUAN          PR         00907
  682998 JOSE C RAMOS MORALES                         P O BOX 1181                                                                                                    TOA BAJA          PR         00951
  246675 JOSE C RAMOS PIZARRO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246676 JOSE C RIVERA APONTE                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246678 JOSE C RODRIGUEZ ALLENDE                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         JOSE C RODRIGUEZ DE LIEBANA
  246679 MOLINA                                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683000 JOSE C RODRIGUEZ ORTIZ                       PO BOX 560369                                                                                                   GUAYANILLA        PR         00656
  246680 JOSE C RODRIGUEZ PORTELA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246681 JOSE C RODRIGUEZ ROCHE                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683001 JOSE C RODRIGUEZ TORRES                      HC 71 BOX 1084                                                                                                  NARANIITO         PR         00719
  683005 JOSE C ROMAN RODRIGUEZ                       URB EXT LA MILAGROSA        P 1 CALLE 6                                                                         BAYAMON           PR         00959
  246682 JOSE C ROMO MATIENZO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683006 JOSE C ROMO MATIENZO                         URB EL VEDADO 504           CALLE CARLOTA MATIENZO                                                              SAN JUAN          PR         00918‐3229
  683007 JOSE C ROQUE ACEVEDO                         PO BOX 2404                                                                                                     BAYAMON           PR         00960
  683008 JOSE C ROSADO ALVAREZ                        PO BOX 189                                                                                                      COROZAL           PR         00783
  683009 JOSE C ROSADO CARRILLO                       HC 2 BOX 9543                                                                                                   GUAYNABO          PR         00971 9759
  246683 JOSE C ROSARIO RIVERA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246684 JOSE C SANCHEZ COLON                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680818 JOSE C SANCHEZ COLON                         PMB 174                     PO BOX 2000                                                                         CANOVANAS         PR         00729
  683011 JOSE C SANCHEZ REYES                         URB SIERRA LINDA            X9 CALLE 14                                                                         BAYAMON           PR         00957
  246686 JOSE C SANTIAGO ALLENDE                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246687 JOSE C SANTIAGO FIGUEROA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683012 JOSE C SERRANO GADEO                         86 CALLE CERVANTES          APT 3A                                                                              SAN JUAN          PR         00907
  683013 JOSE C SILVA RIVERA                          BO BARAHONA                 136 A CALLE JOSE PEREZ                                                              MOROVIS           PR         00687
  246688 JOSE C SILVESTRE LUGO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683016 JOSE C SOUSA                                 LAGUNA GARDENS 5 PH A                                                                                           CAROLINA          PR         00979
  683018 JOSE C TOLEDO SANTANA                        HC 2 BOX 7310                                                                                                   LAS PIEDRAS       PR         00771
  683019 JOSE C TORRES COLON                          PO BOX 685                                                                                                      SABANA SECA       PR         00952
  683020 JOSE C TORRES FIGUEROA                       103 RES VILLA VALLE VERDE                                                                                       ADJUNTAS          PR         00601
  683021 JOSE C TORRES LUJAN                          URB MEDINA D 43             CALLE 5                                                                             ISABELA           PR         00662
  683022 JOSE C TRINIDAD VAZQUEZ                      PRADERAS DE NAVARRO         134 COZO ST                                                                         GURABO            PR         00778‐9020
  246689 JOSE C VAZQUEZ RIVERA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   246690 JOSE C VELAZQUEZ MALDONADO REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246691 JOSE C VELEZ COLON         REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246692 JOSE C VELEZ FOURNIER      REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246693 JOSE C VICENTE CERNUDA     REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   682956 JOSE C VIZCARRONDO MAGRIZ                   SANTA MONICA                S 36 CALLE 14                                                                       BAYAMON           PR         00957
   246694 JOSE C WHARTON SOTO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246695 JOSE C ZAYAS TORRES                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683023 JOSE C ZAYAS ZAYAS                          PO BOX 313                                                                                                      BARRANQUITAS      PR         00794
   246696 JOSE C. FERNANDEZ QUEIPO                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246697 JOSE C. GARCIA HERNANDEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246698 JOSE C. HEREDIA NARVAEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683024 JOSE C. LA TORRE TORRES                     PO BOX 402                                                                                                      OROCOVIS          PR         00720
   246699 JOSE C. OLIVO GARCIA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  246701 JOSE C. RODRIGUEZ                            REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                               W8 CALLE ANAMU URB SANTA
   683026 JOSE C. ROSARIO RIOS                        SANTA CLARA              CLARA                                                                                    GUAYNABO            PR         00969
   246704 JOSE C. SANCHEZ                             REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683028 JOSE CABALLERO                              VALLE VERDE              AT 17 CALLE RIO OROCOVIS                                                                 BAYAMON             PR         00961‐3255
   683029 JOSE CABAN JIMENEZ                          PO BOX 1575                                                                                                       AGUADILLA           PR         00605
   683030 JOSE CABRERA BEAUCHAMP                      URB LOS FRAILES          C 6 CALLE LOS FRAILES                                                                    GUAYNABO            PR         00969
   683031 JOSE CABRERA CALDERON                       URB RIVERVIEW            DD5 CALLE 25                                                                             BAYAMON             PR         00961
   683032 JOSE CABRERA DIAZ                           URB VENUS GARDENS 1675   CALLE SALTILLO                                                                           SAN JUAN            PR         00926
   246707 JOSE CABRERA ROSA                           REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683033 JOSE CABRET GONZALEZ                        HC 2 BOX 14164                                                                                                    AGUAS BUENAS        PR         00703
   683034 JOSE CAEZ DELGADO                           PO BOX 8152                                                                                                       CAGUAS              PR         00726
   246708 JOSE CAEZ TORRES                            REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683035 JOSE CAJIGAS CHAPARRO                       P O BOX 1023                                                                                                      AGUADA              PR         00602 1023
   683036 JOSE CALDERON                               HC 01 BOX 8000                                                                                                    CANOVANAS           PR         00729
   683037 JOSE CALDERON FLORES                        URB RIO GRANDE ESTATES   B 23 CALLE 2                                                                             RIO GRANDE          PR         00745
   246709 JOSE CALDERON FUENTES                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680819 JOSE CALDERON GUZMAN                        P.O. BOX 324                                                                                                      BAYAMON             PR         00960
   683039 JOSE CALDERON PRADO                         HC 80 BOX 8700                                                                                                    DORADO              PR         00646
   246711 JOSE CALLAVA GONZALEZ                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246712 JOSÉ CALVO MOLINELI                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE CALZADA GARCIA DE LA
   246713 NOCEDA                                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   683040 JOSE CAMACHO                                BO AMELIA                16 CALLE JOSE JULIAN ACOSTA                                                              GUAYNABO            PR         00962
   680820 JOSE CAMACHO BONANO                         URB CASTELLANA GARDENS   N 7 CALLE 13                                                                             CAROLINA            PR         00983
   246714 JOSE CAMACHO CASTILLO                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683041 JOSE CAMACHO DE LEON                        PO BOX 973                                                                                                        PATILLAS            PR         00723
   246715 JOSE CAMACHO FLORES                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683042 JOSE CAMACHO ORTIZ                          PO BOX 1232                                                                                                       GUANICA             PR         00653‐1232
   246716 JOSE CAMACHO SIERRA                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683045 JOSE CAMEJO ABREU                           URB VILLA FONTANA        231 VIA 7                                                                                CAROLINA            PR         00983
   683046 JOSE CAMPS                                  LOS SAUCES               356 CALLE CAOBA                                                                          HUMACAO             PR         00791
   246718 JOSE CANALES LOPEZ                          REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   246719 JOSE CANDELARIO TORRELLAS                   REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683048 JOSE CAPO IRIARTE                           PO BOX 7681                                                                                                       PONCE               PR         00732
   246720 JOSE CAPPACETTI PENA                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683049 JOSE CAPPAS RODRIGUEZ                       HC 02 BOX 5028                                                                                                    GUAYANILLA          PR         00656‐9702
   246721 JOSE CAQUIAS DE JESUS                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246722 JOSE CARABALLO AYALA                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246723 JOSE CARABALLO CULETO                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   683050 JOSE CARABALLO ECHEVARRIA                   CALLE JUAN VALENTIN 29                                                                                            MAYAGUEZ            PR         00680
   246724 JOSE CARABALLO NEGRON                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683051 JOSE CARABALLO RODRIGUEZ                    P O BOX 31                                                                                                        NEW YORK            NY         10032
   246725 JOSE CARATTINI SANTOS                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   683052 JOSE CARDONA JIMINIAN                       PLAZA ANTILLANA 151      C/ CESAR GONZALEZ APT 6702                                                               SAN JUAN            PR         00918
   246726 JOSE CARDONA RIOPEDRE                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246727 JOSE CARDONA SANTIAGO                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246728 JOSE CARLO RIVERA MUNIZ                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   246729 JOSE CARLOS ANDINO SANTANA REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   683055 JOSE CARLOS CLAUDIO SANCHEZ HC1 BOX 3162                                                                                                             ARROYO              PR           00714
   683056 JOSE CARLOS COLON ROBLES    BDA BUEN CONSEJO                       296 CALLE LEON FINAL                                                              SAN JUAN            PR           00926
   683057 JOSE CARLOS GARCIA SELVA    PO BOX 19017                                                                                                             SAN JUAN            PR           00919‐5017

   683058 JOSE CARLOS GONZALEZ CRESPO 438 AVE B JIMENEZ MENDEZ                                                                                                 CAMUY               PR           00627‐2104
   683059 JOSE CARLOS MANGUAL         SAN FRANCISCO                          CALLE GERANIO 1720                                                                RIO PIEDRAS         PR           00926
          JOSE CARLOS MANGUAL
   246732 CONCEPCION                  REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   246733 JOSE CARLOS MONTIJO ALVELO                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE CARLOS NUNEZ
   246734 RAMOS,EVELYN ANN                            REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   246735 JOSE CARLOS ORTIZ GONZALEZ                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   246736 JOSE CARLOS RIVERA                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   246737 JOSE CARLOS ROSA SOLIS                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683062 JOSE CARO CHAPARRO                          HC 2 BOX 6492                                                                                            RINCON              PR           00677
   683063 JOSE CARRASCAL CORENA                       UNIVERSITY GARDENS     C 12 CALLE DUKE                                                                   SAN JUAN            PR           00927
   683064 JOSE CARRASCO ALAMO                         URB SANTA CLARA        151 CALLE 4                                                                       SAN LORENZO         PR           00754
   246738 JOSE CARRASCO SANTIAGO                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   246739 JOSE CARRASQUILLO                           REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683065 JOSE CARRASQUILLO MEDINA                    HC‐3 BOX 36281                                                                                           CAGUAS              PR           00725
   683066 JOSE CARRASQUILLO RIVERA                    BOX 1441                                                                                                 JUANA DIAZ          PR           00795
   246740 JOSE CARRASQUILLO ROBLES                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   246741 JOSE CARRASQUILLO SOSA                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE CARRERAS Y VENTURE
   246742 TECHNOLOGIES                                P O BOX 9066605                                                                                          SAN JUAN            PR           00906‐6605
   683067 JOSE CARRERO DE JESUS                       SAINT JUST             51 B CALLE BETANIA                                                                TRUJILLO ALTO       PR           00976
   683068 JOSE CARRERO ROLON                          HC 1 BOX 2181                                                                                            JAYUYA              PR           00664
   246743 JOSE CARRERO RUIZ                           REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683069 JOSE CARRILLO ALMODOVAR                     P O BOX 123                                                                                              GUANICA             PR           00653
   683071 JOSE CARRION SALGADO                        VILLA BARCELONA        CC 13 CALLE GUANO                                                                 BARCELONETA         PR           00617
   683072 JOSE CARTAGENA VEGA                         ROYAL TOWN             4‐26 CALLE 41                                                                     BAYAMON             PR           00956
   683073 JOSE CARVAJAL SANTIAGO                      URB LA CUMBRE 293      CALLE LOS ROBLES                                                                  SAN JUAN            PR           00926
   246744 JOSE CASANOVA LOZADA                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683074 JOSE CASIANO BERRIOS                        P O BOX 765                                                                                              VILLALBA            PR           00766
   246745 JOSE CASIANO SANTIAGO                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683075 JOSE CASILLAS HERNANDEZ                     HC 1 BOX 6061                                                                                            LAS PIEDRAS         PR           00771
   246746 JOSE CASTILLO CRUZ                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   246747 JOSE CASTILLO RODRIGUEZ                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683078 JOSE CASTOIDE SANCHEZ                       PO BOX 10786                                                                                             PONCE               PR           00732‐0786
   683080 JOSE CASTRO                                 RR 2 BOX 762                                                                                             SAN JUAN            PR           00926
   246748 JOSE CASTRO ADORNO                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683081 JOSE CASTRO CARRASQUILLO                    BO GUAVATE 22550                                                                                         CAYEY               PR           00736
   683082 JOSE CASTRO CRUZ                            BOX 65                                                                                                   LAS PIEDRAS         PR           00771
   683083 JOSE CASTRO FELICIANO                       HC 2 BOX 11743                                                                                           YAUCO               PR           00698
   683085 JOSE CASTRO NIEVES                          PO BOX 115                                                                                               HATILLO             PR           00659
   680776 JOSE CASTRO PAGAN                           COND LAGUNA GARDENS    APTO 10 E                                                                         CAROLINA            PR           00979
   683087 JOSE CASTRO RODRIGUEZ                       HC 7 BOX 2890                                                                                            PONCE               PR           00731‐9642
   683089 JOSE CAVERO SANCHEZ                         22 URB TOMAS TORRES                                                                                      JAYUYA              PR           00664



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  683090 JOSE CEBALLO CEPEDA                          LA PONDEROSA                435 CALLE LAS MARGARITAS                                                              RIO GRANDE        PR         00745
  246750 JOSE CEDENO CRESPO                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246751 JOSE CENTENO ROBLES                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246752 JOSE CEPEDA CASTRO                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683091 JOSE CEPEDA LANZO                            P M B 1238                  243 CALLE PARIS                                                                       SAN JUAN          PR         00917 3632
  683092 JOSE CEPEDA SANTIAGO                         URB SANTIAGO                20 CALLE C                                                                            LOIZA             PR         00772
  683093 JOSE CESPEDES SABATER                        PO BOX 364428                                                                                                     SAN JUAN          PR         00936‐4428
  246754 JOSE CHAPARRO SANTIAGO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         JOSE CHARLIE MALDONADO
  683095 RODRIGUEZ                                    PARQUE MONTEBELLO           C 12 CALLE 5                                                                          TRUJILLO ALTO     PR         00976
  246755 JOSE CHAVES RODRIGUEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683096 JOSE CHAVEZ SOTO                             RR 7 BZN 7165                                                                                                     SAN JUAN          PR         00926
  683097 JOSE CHEO TORRES ORTIZ                       HC 2 BOX 11344                                                                                                    YAUCO             PR         00698
  683099 JOSE CHONG CONTRERAS                         B 11‐5 URB VILLA DEL SOL                                                                                          TRUJILLO ALTO     PR         00976
  683100 JOSE CINTRON CPA & ASOC                      P O BOX 162                                                                                                       BAYAMON           PR         00960‐0162
  246756 JOSE CINTRON DAVILA                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683101 JOSE CINTRON RODRIGUEZ                       17 CALLE LAS VIAS                                                                                                 JUANA DIAZ        PR         00765
  683103 JOSE CINTRON TORRES                          HC 67 BOX 13536                                                                                                   BAYAMON           PR         00956
  683104 JOSE CINTRON VELAZQUEZ                       2158 ALBERGUE OLIMPICO                                                                                            SALINAS           PR         00751
  683105 JOSE CINTRON VELEZ                           PO BOX 240                                                                                                        SANTA ISABEL      PR         00757
         JOSE CINTRON/DBA/BEST
  683106 RENTAL & SALES                               PO BOX 6017 SUITE PMB 300                                                                                         CAROLINA          PR         00981‐6017
  246757 JOSE CIRINO VILLANUEVA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246758 JOSE CLASS CORUJO                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246759 JOSE CLAUDIO BAEZ                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246760 JOSE CLAUDIO RIVERA                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246761 JOSE CLAUDIO SEDA                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683110 JOSE CLEMENTE GONZALEZ                       APARTADO 1887                                                                                                     MAYAGUEZ          PR         00681
         JOSE CLEMENTE GONZALEZ
  246762 ORTIZ                                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   246763 JOSE COLBERGCOMAS GONZALEZ REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOSE COLL /DBA/ PARTY
   246764 MEMBERS CLUB               URB SAN GERARDO                              324 CALLE ARKANSAS                                                                    SAN JUAN          PR         00926
   683113 JOSE COLLADO RODRIGUEZ     HC‐01 BOX 8056                                                                                                                     YAUCO             PR         00698
   246765 JOSE COLLAZO COLON         REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683114 JOSE COLLAZO REYES         URB COUNTRY CLUB                             OF 11 CALLE 516                                                                       CAROLINA          PR         00982
   246766 JOSE COLLAZO SANCHEZ       REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246767 JOSE COLLAZO TORRES        REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOSE COLON (EIS) ELEVATOR
   246768 INSP. SERVICES             202 CALLE WALL TINTILLO                                                                                                            GUAYNABO          PR         00966
   683116 JOSE COLON BENIER          64 CALLE MEDITACION SUR                                                                                                            GUAYAMA           PR         00784
   683118 JOSE COLON DE JESUS        BO OLIMPO                                    732 CALLE 3                                                                           GUAYAMA           PR         00784
   246769 JOSE COLON DEGLANS         REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246770 JOSE COLON DREVON          REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOSE COLON ELEVATOR
   246771 INSPECTION SERVICES        202 CALLE WALL TINTILLO                                                                                                            GUAYNABO          PR         00966
   683120 JOSE COLON LARACUENTE      M 17 DORADO DEL MAR                                                                                                                DORADO            PR         00646‐2147
   246772 JOSE COLON LUGO            REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683122 JOSE COLON MERCADO         BO GUAVATE 22550                                                                                                                   CAYEY             PR         00736
   246774 JOSE COLON MORAN           REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246775 JOSE COLON OTERO           REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246776 JOSE COLON PERALES         REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  683123 JOSE COLON PEREZ                             URB RIO HONDO               4 DH 17 CALLE LLANURAS                                                                 BAYAMON           PR         00961
  246777 JOSE COLON RIOS                              REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683124 JOSE COLON RIVERA                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246778 JOSE COLON ROMERO                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683127 JOSE COLON SANTANA                           513 AVE CESAR GONZALEZ                                                                                             SAN JUAN          PR         00918
  683128 JOSE COLON VAZQUEZ                           HC 2 BOX 23425                                                                                                     MAYAGUEZ          PR         00680
  683129 JOSE COLON VELEZ                             URB LOMAS VERDES            4 A 52 CALLE VERVENA                                                                   BAYAMON           PR         00956 2934
  246779 JOSE CONAWAY MEDIAVILLA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246780 JOSE CONCEPCION HOLGUIN                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246781 JOSE CONCEPCION NUNEZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246782 JOSE CONCEPCION PEREZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   683131 JOSE CONCEPCION PIMENTEL                    COND JARDINES DE GUAYAMA    EDIF A APT 401                                                                         SAN JUAN          PR         00919
   246783 JOSE CORCINO CARLO                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683134 JOSE CORDERO MATAS                          HC 03 BOX 12797                                                                                                    CAMUY             PR         00627‐9723
   683135 JOSE CORDERO ORTIZ                          HP ‐ Forense RIO PIEDRAS                                                                                           Hato Rey          PR         009360000
   683136 JOSE CORDERO TRUJILLO                       P O BOX 1950                                                                                                       HATILLO           PR         00659
   683137 JOSE CORDERO VALE                           HC 01 BOX 5930                                                                                                     MOCA              PR         00676
   683139 JOSE CORTADA CAPPA                          PO BOX 6433                                                                                                        PONCE             PR         00731
   246784 JOSE CORTES                                 REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683140 JOSE CORTES GOMEZ                           PARCELAS NAVAS              15 CALLE D                                                                             ARECIBO           PR         00612
   246785 JOSE CORTES LOPEZ                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683142 JOSE CORTES MEJIAS                          117 CALLE PAVIA FERNANDEZ                                                                                          SAN SEBASTIAN     PR         00685
   683143 JOSE CORTES RODRIGUEZ                       HC 59 BOX 5759                                                                                                     AGUADA            PR         00602
   246786 JOSE CORTES SOTO                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683144 JOSE CORTEZ ROSADO                          URB MIRAFLORES              BLQ 26 15 CALLE 37                                                                     BAYAMON           PR         00956
   683145 JOSE CORUJO DE LA CRUZ                      PO BOX 20330                                                                                                       SAN JUAN          PR         00928
   683146 JOSE COSME                                  HC 2 BOX 1632                                                                                                      COROZAL           PR         00783
   246787 JOSE COSME GRULLON                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683147 JOSE COSME ORTEGA                           HC 20 BOX 21291                                                                                                    SAN LORENZO       PR         00754
   683148 JOSE COSTA MALARET                          P O BOX 22606                                                                                                      SAN JUAN          PR         00931‐2606
   246789 JOSE COTTO MEDINA                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683149 JOSE COTTO RIVERA                           PO BOX 878                                                                                                         CIDRA             PR         00739
   246790 JOSE CRESPI BORRAS                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683150 JOSE CRESPO AYALA                           HC 01 BOX 5085                                                                                                     ADJUNTAS          PR         00601
   683151 JOSE CRESPO CONCEPCION                      62 CALLE 65 DE INFANTERIA                                                                                          SABANA GRANDE     PR         00637
   246791 JOSE CRESPO CORTES                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683155 JOSE CRESPO RODRIGUEZ                       COMM BETANCES               133 B CALLE LUIS M RIVERA                                                              CABO ROJO         PR         00623
   683156 JOSE CRIADO LUNA                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683157 JOSE CRUZ ACOSTA                            APTO 842                                                                                                           LAJAS             PR         00667
   683158 JOSE CRUZ AYALA                             140 CALLE LICEO                                                                                                    MAYAGUEZ          PR         00680
   683161 JOSE CRUZ BURGOS                            PO BOX 21365                                                                                                       SAN JUAN          PR         00926‐1365
   683163 JOSE CRUZ CABALLERO                         SAN MARTIN                  47 CALLE EXTENCION                                                                     UTUADO            PR         00641
   246793 JOSE CRUZ CARTAGENA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683164 JOSE CRUZ CASIANO                           HC 37 BOX 3583                                                                                                     GUANICA           PR         00653
   246794 JOSE CRUZ CEPEDA                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683165 JOSE CRUZ CHICO                             URB MAR AZUL                H1                                                                                     HATILLO           PR         00659
   683166 JOSE CRUZ COLLAZO                           PO BOX 1100                                                                                                        OROCOVIS          PR         00720
   246796 JOSE CRUZ CRUZ                              REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683169 JOSE CRUZ DIAZ                              PO BOX 20212                                                                                                       UTUADO            PR         00641
   683170 JOSE CRUZ FIGUEROA                          PO BOX 1701                                                                                                        CAGUAS            PR         00726
   683171 JOSE CRUZ GARCIA                            HC BOX 2409                                                                                                        COMERIO           PR         00782
   246797 JOSE CRUZ GONZALEZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  683174 JOSE CRUZ JAQUES                             P 3‐610 BELAVAL                                                                                                     SAN JUAN           PR         00910
  683175 JOSE CRUZ JIMENEZ                            VILLA CANONA                 C 4 CALLE PARCELA                                                                      LOIZA              PR         00772
  246798 JOSE CRUZ RAMOS                              REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  683178 JOSE CRUZ REYES                              PO BOX 4251                                                                                                         VEGA BAJA          PR         00694
  683180 JOSE CRUZ RIVERA                             16‐06 ALTA VISTA                                                                                                    PONCE              PR         00731
  246800 Jose Cruz Rodriguez                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  246801 José Cruz Rodríguez                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  246802 JOSE CRUZ ROMAN                              REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  246803 JOSE CRUZ ROMERO                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  683182 JOSE CRUZ ROSARIO                            PO BOX 518                                                                                                          CEIBA              PR         00735
  246805 JOSE CRUZ SANCHEZ                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  683183 JOSE CRUZ TAVARES                            P O BOX 2390                                                                                                        SAN JUAN           PR         00919
  246806 JOSE CRUZ TORRES                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  683184 JOSE CRUZ VAZQUEZ                            PO BOX 240                                                                                                          SANTA ISABEL       PR         00757
  246807 JOSE CRUZ VELEZ                              REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  683186 JOSE CUADRADO                                URB VALENCIA                 G 11 CALLE TULIPAN                                                                     BAYAMON            PR         00959
  246810 Jose Cuebas Villanueva                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  246811 JOSE CUEVAS ORTIZ                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  683187 JOSE CURBELO ATILES                          HC 4 BOX 17256                                                                                                      CAMUY              PR         00627
  246812 JOSE CUSTODIO FLORES                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  246813 JOSE D ABREU BABILONIA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  246814 JOSE D ACOSTA PENA                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  246815 JOSE D AGUAYO ARIAS                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  683191 JOSE D AGUAYO DAVILA                         BO LAS CUEVAS APT 515                                                                                               LOIZA              PR         00772

   246816 JOSE D ALBARRAN RODRIGUEZ                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   683192 JOSE D ALDIVA RUIZ                          HC 5 BOX 25903                                                                                                      CAMUY              PR         00627

   683193 JOSE D ALFONSO ROMAN                        URB BALDRICH                 218 CALLE PINTOR CAMPECHE                                                              SAN JUAN           PR         00918
   246817 JOSE D ALLENDE RIVERA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
                                                      BO OBRERO 526 CALLE HAYDEE
   683194 JOSE D ALMONTE ALVAREZ                      REXACH                                                                                                              SAN JUAN           PR         00915
   246818 JOSE D ALVARADO LUGO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   246819 JOSE D APONTE SANES                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   683195 JOSE D APONTE VEGA                          URB COLINAS DE SAN MARTIN    B 2 CALLE 3                                                                            JUANA DIAZ         PR         00795
   246820 JOSE D AVILES CRUZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   246821 JOSE D BARRERA ACOSTA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   246822 JOSE D BARRERAS ACOSTA                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   246823 JOSE D BARRIOS MELENDEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   683198 JOSE D BATISTA GONZALEZ                     RES MONTE HATILLO            EDIF 34 APTO 401                                                                       SAN JUAN           PR         00924
   246824 JOSE D BERRIOS BORGES                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   246825 JOSE D BORRERO VEGA                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   680823 JOSE D CALDERON                             URB LOMAS VERDES             T 41 CALLE CASIA                                                                       BAYAMON            PR         00956
   683199 JOSE D CALDERON JIMENEZ                     PO BOX 30160 SUITE 280                                                                                              MANATI             PR         00674

   246826 JOSE D CAMACHO RODRIGUEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          JOSE D CAMACHO Y ROSA A
   246828 CAMACHO                                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   246829 JOSE D CAMPOS MORALES                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   683201 JOSE D CANAAN                               RR 6 BOX 9478                                                                                                       SAN JUAN           PR         00926

   683202 JOSE D CANDELARIO CINTRON                   HC 01 BOX 9013                                                                                                      CANOVANAS          PR         00729
   246830 JOSE D CANON GARCIA                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED



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  246831 JOSE D CARMONA SANTOS                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246832 JOSE D CASIANO                               REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246833 JOSE D CENTENO PAGAN                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246834 JOSE D CINTRON RODRIGUEZ                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  683206 JOSE D COLLAZO MORALES                       BO GALATEO             P 27 BZN 9463                                                                         TOA ALTA            PR         00953
  683209 JOSE D COLON MARTINEZ                        URB LOS CAOBOS         3053 CALLE CAIMITO                                                                    PONCE               PR         00716
  683210 JOSE D COLON RIVERA                          URB VILLA ESPERANZA    71 CALLE BONANZA                                                                      CAGUAS              PR         00725
  246835 JOSE D CORDERO ORTIZ                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  683211 JOSE D COTTO CARABALLO                       BO OLIMPO              527 CALLE C                                                                           GUAYAMA             PR         00784
  683213 JOSE D CRESPO VELEZ                          COND PARQUE DEL LAGO   100 C/ 13 BOX 457                                                                     TOA BAJA            PR         00949
  246836 JOSE D CRUZ RIVERA                           REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  683217 JOSE D CRUZ SALGADO                          URB COUNTRY CLUB       802 CALLE LOLA RODRIGUEZ   DE TIO                                                     SAN JUAN            PR         00924‐2510

   246837 JOSE D DE JESUS CARRASQUILLO REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          Jose D De Jesus Rodriguez&Nydia
   246838 Serrano                         REDACTED                           REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683219 JOSE D DIAZ CARRASCO            VILLA DEL REY                      CB 35 CALLE CARLOS MAGNO                                                              CAGUAS              PR         00725
   246839 JOSE D DIAZ COLON               REDACTED                           REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246840 JOSE D DIAZ FIGUEROA            REDACTED                           REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246841 JOSE D DIAZ RIVERA              REDACTED                           REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246842 JOSE D DOLEO ROMEO              REDACTED                           REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246844 JOSE D ECHEVARRIA RIVERA        REDACTED                           REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246845 JOSE D EMANUELLI RIVERA         REDACTED                           REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683222 JOSE D ESPINAL VALDES           URB LOS ANGELES                    27 CALLE C                                                                            CAROLINA            PR         00979
   246846 JOSE D FELICIANO ROMERO         REDACTED                           REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246847 JOSE D FIGUEROA TORRES          REDACTED                           REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246848 JOSE D FLORES MARTINEZ          REDACTED                           REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246849 JOSE D FRANQUI GONZALEZ         REDACTED                           REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683227 JOSE D GARCIA                   P O BOX 21365                                                                                                            SAN JUAN            PR         00918
   246850 JOSE D GARCIA LOPEZ             REDACTED                           REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246851 JOSE D GOMEZ MORALES            REDACTED                           REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683228 JOSE D GONZALEZ GARAU           P O BOX 655                                                                                                              GUAYAMA             PR         00785

   246852 JOSE D GONZALEZ MONTANEZ                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246853 JOSE D GONZALEZ MORALES                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683230 JOSE D GONZALEZ QUILES                      HC 1 BOX 3473                                                                                                LARES               PR         00669
   683231 JOSE D GONZALEZ RIVERA                      PO BOX 363212                                                                                                SAN JUAN            PR         00936‐3212
   246854 JOSE D GONZALEZ RUIZ                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683233 JOSE D GUADALUPE TORRES                     REP SABANETA           H 19 CALLE 3                                                                          MERCEDITA           PR         00715
   246855 JOSE D GUZMAN AVILES                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683234 JOSE D GUZMAN MELENDEZ                      URB VILLAS DEL NORTE   627 CALLE DIAMANTE                                                                    MOROVIS             PR         00687
   683235 JOSE D GUZMAN OJEDA                         PO BOX 176                                                                                                   MOROVIS             PR         00687

   246857 JOSE D HERNANDEZ FELICIANO                  REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246858 JOSE D HERNANDEZ GARCIA                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   683236 JOSE D HERNANDEZ HERNANDEZ BO PUENTE                               1122 CARR 119                                                                         CAMUY               PR         00627‐2853
   246859 JOSE D HERNANDEZ MEJIAS    REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683237 JOSE D HERNANDEZ SOTO      10 JARD DE ADJUNTAS                                                                                                           ADJUNTAS            PR         00601
   246860 JOSE D HERRERA MILLAN      REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246861 JOSE D HOMS RIVERA         REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246862 JOSE D HUERTAS CALDERON    REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246864 JOSE D LAMBOY MONTANEZ     REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  683239 JOSE D LIND DE ALBA                          PO BOX 713                                                                                                   PATILLAS            PR         00723
  246865 JOSE D LOPEZ VAZQUEZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  683240 JOSE D LOPEZ ZAYAS                           APARTADO 994                                                                                                 CIDRA               PR         00739
  683241 JOSE D LUGO MARQUEZ                          RR 1 BZN 6267                                                                                                GUAYAMA             PR         10002
  246866 JOSE D LUGO RAMOS                            REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  246867 JOSE D MALAVET RODRIGUEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   246868 JOSE D MALDONADO SANTIAGO                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683242 JOSE D MARCANO                              BO SAN ISIDRO              BOX 566 CALLE 21                                                                  CANOVANAS           PR         00729
   683243 JOSE D MARCHAN MAZO DBA                     F13 CALLE LUIS F SANCHEZ                                                                                     CAROLINA            PR         00987
   680821 JOSE D MARMOL                               COND MARBELLA DEL ESTE     APT 909                                                                           CAROLINA            PR         00979
   683244 JOSE D MARTINEZ‐                            PO BOX 9066600                                                                                               SAN JUAN            PR         00906‐6600
          JOSE D MARTINEZ / MARIA M
   246871 FIGUEROA                                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246872 JOSE D MARTINEZ RIVERA                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683188 JOSE D MARTIR TORRES                        URB UNIVERSITY GARDENS     257 CALLE SORBONA                                                                 SAN JUAN            PR         00927
   246873 JOSE D MCKENZIE WOSS                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   246874 JOSE D MELENDEZ FERNANDEZ                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   770627 JOSE D MERCEDES GARCIA                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE D MIRANDA / RUMBAS
   683246 CAFE                                        RIVERSIDE PARK             F26 CALLE 7                                                                       BAYAMON             PR         00961
   246878 JOSE D MIRANDA RODRIGUEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683247 JOSE D MONTA¥EZ RAMOS                       PO BOX 113                                                                                                   HORMIGUEROS         PR         00660
   246880 JOSE D MONTALVO GOMEZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683248 JOSE D MONTESINOS                           COND BAYAMONTE             APT 1005                                                                          BAYAMON             PR         00956
   683249 JOSE D MORALES GUZMAN                       HC 4 BOX 18036                                                                                               CAMUY               PR         00627
   246881 JOSE D MOYETT VELEZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246882 JOSE D MUNIZ PEREZ                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683250 JOSE D NEGRON RIVERA                        URB VALENCIA               365 CALLE LERIDA                                                                  SAN JUAN            PR         00923‐1916
   246883 JOSE D NIEVES CRUZ                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683252 JOSE D NIEVES RIVERA                        PO BOX 916                                                                                                   NARANJITO           PR         00719
   683253 JOSE D OLMO DELGADO                         SAINT JUST                 118 CALLE 2                                                                       TRUJILLO ALTO       PR         00976
          JOSE D ORTIZ / EQUIPO RIO
   683254 GRANDE                                      26 SAN JOSE                                                                                                  RIO GRANDE          PR         00745
   246884 JOSE D ORTIZ DE JESUS                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246885 JOSE D ORTIZ DIAZ                           REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683255 JOSE D ORTIZ GARCIA                         PO BOX 123                                                                                                   ARROYO              PR         00714
   683256 JOSE D ORTIZ NIEVES                         HC 01 BOX 8039                                                                                               AGUAS BUENAS        PR         00703
   683257 JOSE D ORTIZ ORTIZ                          PO BOX 7126                                                                                                  PONCE               PR         00732
   683258 JOSE D PADILLA DIAZ                         BO LOMAS VALLES            HC 71 BOX 2892                                                                    NARANJITO           PR         00719
   246886 JOSE D PADILLA TORRES                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   246887 JOSE D PAGAN PAGAN                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683259 JOSE D PERALTA RIVERA                       HC 01 BOX 13210                                                                                              RIO GRANDE          PR         00745
   683260 JOSE D PEREZ FERRER                         P O BOX 3589                                                                                                 AGUADILLA           PR         00605‐3589
   246889 JOSE D PEREZ GONZALEZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683261 JOSE D PEREZ MARQUEZ                        PO BOX 241                                                                                                   SAINT JUST          PR         00978
   246890 JOSE D PEREZ MUNIZ                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE D PEREZ/ ESTERVINA
   246891 ROMAN                                       HC 3 BOX 33489                                                                                               HATILLO             PR         00659
   683262 JOSE D PLAZA OSORIO                         BOX 446                                                                                                      LOIZA               PR         00772
   246892 JOSE D QUINONES MERCADO                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683263 JOSE D RAMOS ORTIZ                          14 CALLE BASILIO MILAN                                                                                       TOA BAJA            PR         00949



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  683264 JOSE D RAMOS PARRILLA                        URB MONTE VISTA         G 26 CALLE 3                                                                             FAJARDO           PR         00738
  246893 JOSE D REYES MARRERO                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246894 JOSE D RIOS CRUZ                             REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246895 JOSÉ D RIVERA                                REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683266 JOSE D RIVERA ANAYA                          PO BOX 360292                                                                                                    SAN JUAN          PR         00936
  683267 JOSE D RIVERA FUENTES                        PMB 45 HC 71 BOX 3766                                                                                            NARAJITO          PR         00719
  246897 JOSE D RIVERA MIRANDA                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246898 JOSE D RIVERA NEGRON                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246900 JOSE D RIVERA ORTIZ                          REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683268 JOSE D RIVERA RIVERA                         RR 5 BOX 7452                                                                                                    BAYAMON           PR         00956
  683270 JOSE D RIVERA SAEZ                           P O BOX 541                                                                                                      NARANJITO         PR         00719
  246901 JOSE D RIVERA TORRES                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683271 JOSE D RODRIGUEZ CINTRON                     HC 71 BOX 1340                                                                                                   NARANJITO         PR         00719
         JOSE D RODRIGUEZ OLIVERAS
  246902 DBA DOLPHINS                                 RENTAL                  38 COMERCIO                                                                              YAUCO             PR         00698
  683272 JOSE D RODRIGUEZ SOTO                        PO BOX 387                                                                                                       CAMUY             PR         00627
  683273 JOSE D RODRIGUEZ TORRES                      URB VALLE HERMOSO       SB 51 CALLE VIOLETA                                                                      HORMIGUEROS       PR         00660
  683274 JOSE D RODRIGUEZ ZAYAS                       P O BOX 1161                                                                                                     SALINAS           PR         00751
  683275 JOSE D ROMAN ROSARIO                         PO BOX 260                                                                                                       CAMUY             PR         00627
  683276 JOSE D ROMAN SANTIAGO                        BO SEBURUQUILLO         CARR 111 KM 33 7                                                                         LARES             PR         00669
  246904 JOSE D ROMAN TORRES                          REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246905 JOSE D ROMAN VARGAS                          REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683278 JOSE D ROSA GUADALUPE                        P O BOX 60‐075                                                                                                   BAYAMON           PR         00960
  683279 JOSE D ROSA MOJICA                           HC 20 BOX 25718                                                                                                  SAN LORENZO       PR         00754
  246906 JOSE D ROSA QUI¥ONES                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683282 JOSE D RUIZ GONZALEZ                         HC 5 BOX 25830                                                                                                   CAMUY             PR         00627

   683283 JOSE D RUIZ ORENGO                          URB PERLA DEL SUR       4416 CALLE PEDRO M CARATINI                                                              PONCE             PR         00717‐0317
   246907 JOSE D RUIZ RIVERA                          REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680822 JOSE D SABATER PORRATA                      PO BOX 876                                                                                                       GUAYAMA           PR         00785
   683284 JOSE D SANCHEZ MORALES                      URB MONTEBRISAS         3R9 CALLE 106                                                                            FAJARDO           PR         00738
   246909 JOSE D SANCHEZ PEREZ                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246910 JOSE D SANCHEZ RIVERA                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683285 JOSE D SANCHEZ VEGA                         P O BOX 1073                                                                                                     BARRANQUITAS      PR         00794
   683286 JOSE D SANJURJO ORTA                        URB LOIZA VALLEY        168 CALLE TULIPAN                                                                        CANOVANAS         PR         00729
   683287 JOSE D SANTANA DE JESUS                     PO BOX 3501 171                                                                                                  JUANA DIAZ        PR         00795
   246914 JOSE D SANTIAGO VAZQUEZ                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683289 JOSE D SANTOS RODRIGUEZ                     URB SANTA ROSA          F 10 CALLE LORAINE                                                                       CAGUAS            PR         00725
   246915 JOSE D SEGARRA MIRANDA                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   246916 JOSE D SERRANO MALDONADO                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246917 JOSE D SERRANO SERRANO                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683290 JOSE D SILVA ALMODOVAR                      HC 10 BOX 8064                                                                                                   SABANA GRANDE     PR         00637‐9718
          JOSE D SOTO PACHECO‐
   683292 SEGUROS                                     P O BOX 9024275                                                                                                  SAN JUAN          PR         00902
   246918 JOSE D TORRES BANREY                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   246919 JOSE D TORRES CRUZ                          REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683293 JOSE D TORRES GARCIA                        PO BOX 14                                                                                                        LAJAS             PR         00667
   246921 JOSE D TORRES MELENDEZ                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683294 JOSE D TORRES RODRIGUEZ                     PO BOX 5764                                                                                                      CAGUAS            PR         00725
   246922 JOSE D TRINIDAD OQUENDO                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683295 JOSE D VALENTIN ACEVEDO                     HC 5 BOX 25422                                                                                                   CAMUY             PR         00627
   683296 JOSE D VALENTIN QUINONEZ                    HC 2 BOX 8232                                                                                                    LAS MARIA         PR         00670



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  683297 JOSE D VALENTIN VALLE                        COM STELLA                     2692 CALLE 15                                                                      RINCON            PR         00677
  683299 JOSE D VALLES VARGAS                         PO BOX 1037                                                                                                       MANATI            PR         00674
  683300 JOSE D VARGAS ROSARIO                        HC 04 BOX 19586                                                                                                   CAMUY             PR         00627
  683301 JOSE D VAZQUEZ MONTALVO                      PARC PALMAREJO II              7 CLALE MONACO                                                                     LAJAS             PR         00667
  683302 JOSE D VAZQUEZ PADILLA                       PARCELAS FALU                  151 CALLE 22                                                                       SAN JUAN          PR         00928
  246923 JOSE D VAZQUEZ SANTOS                        REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683303 JOSE D VEGA ARBELO                           HC 04 BOX 17515                BO PUENTE                                                                          CAMUY             PR         00659
  683306 JOSE D VELEZ ARCAY                           URB LA RIVIERA                 1407 CALLE 48 S O                                                                  SAN JUAN          PR         00921
  246924 JOSE D VELEZ BAEZ                            REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246925 JOSE D VELEZ GARCIA                          REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246926 JOSE D VELEZ GUZMAN                          REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683307 JOSE D VELEZ OLIVO                           SECT PITILLO                   487 MIRADERO                                                                       MAYAGUEZ          PR         00680
  683308 JOSE D VELEZ PEREZ                           BOX 223                                                                                                           UTUADO            PR         00641
  683309 JOSE D VENTURA MELENDEZ                      BO ESPERANZA                   503 CALLE GLADIOLAS                                                                VIEQUES           PR         00765
  246928 JOSE D VILLEGAS VILLEGAS                     REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246929 JOSE D. BIDO LOPEZ                           REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246930 JOSE D. CARRION GUZMAN                       REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246931 JOSE D. DIAZ HERNANDEZ                       REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246932 JOSE D. ESCALERA SALOMON                     REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683311 JOSE D. FALU RIVERA                          PROG. SERA BAYAMON                                                                                                Hato Rey          PR         009360000
  246933 JOSE D. FELICIANO SANTANA                    REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246934 JOSE D. FIGUEROA GONZALEZ                    REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246935 JOSE D. FIGUEROA NIEVES                      REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246937 JOSE D. IRIZARRY COLLADO                     REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246938 JOSE D. JIMENEZ RIVERA                       REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246939 JOSE D. JURADO CORTES                        REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246940 JOSE D. OTERO GUERRA                         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246941 JOSE D. REYES MIRANDA                        REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683313 JOSE D. RIVERA TORRES                        URB BRISAS DE AIBONITO         APT 1618                                                                           AIBONITO          PR         00705
  246942 JOSE D. RODRIGUEZ ESCOBAR                    REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  246943 JOSE D. RODRIGUEZ FONSECA                    REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   246944 JOSE D. RODRIGUEZ OLIVERAS                  REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   246945 JOSE D. RUIZ RIVERA                         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   246947 JOSE D. SOLEN FERNANDEZ                     REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   246948 JOSE D. VELAZQUEZ VELAZQUEZ REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   246949 JOSE D.ROSADO CORDERO       REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   683314 JOSE DA SILVEIRA DUARTE     URB SAGRADO CORAZON                            416 CALLE SAN LEANDRO                                                              SAN JUAN          PR         00926

   683315 JOSE DANIEL BERRIOS FUENTES                 HC 05 BOX 58200                                                                                                   CAGUAS            PR         00725
   246950 JOSE DANIEL REYES FLORES                    REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   683317 JOSE DANIEL VELEZ ALICEA                    PO BOX 225                                                                                                        ADJUNTAS          PR         00601
   683318 JOSE DAPENA RODRIGUEZ                       URB LA LULA                    I 5 CALLE 7                                                                        PONCE             PR         00730
   683319 JOSE DARIO SOTO ALEMAN                      LEVITTOWN LAKES                AV 17 CALLE LEONOR                                                                 TOA BAJA          PR         00949
   246951 JOSE DAUBON O'CONNELL                       REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   683320 JOSE DAVID APELLANIZ TORRES                 1128 SE CALLE 8                                                                                                   PUERTO NUEVO      PR         00921
   246952 JOSE DAVID BERDECIA                         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          JOSE DAVID BOSCANA
   246953 QUINONES                                    REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   683321 JOSE DAVID CORREA GONZALEZ                  RES QUINTANA EDIF 11 APT 107                                                                                      SAN JUAN          PR         00926



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   683322 JOSE DAVID COTTO MELENDEZ                   BO RABANAL BOX 3121                                                                                                   CIDRA               PR           00739
          JOSE DAVID MALDONADO
   683326 VICENTE                                     RR 1 BOX 4018                                                                                                         CIDRA               PR           00739
   246955 JOSE DAVID MARTINEZ CALO                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   246956 JOSE DAVID MASSO                            REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   246957 JOSE DAVID MENDEZ DELGADO                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   246958 JOSE DAVID PADILLA LLERA                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683328 JOSE DAVID PEREZ FERRER                     URB VALLE VERDE               825 CALLE VEREDA                                                                        PONCE               PR           00716‐3514
   246959 JOSE DAVID QUILES                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683329 JOSE DAVID RIVERA                           HC 02 BOX 4745                                                                                                        GUAYAMA             PR           00784
   683330 JOSE DAVID ROMAN LATORRE                    PO BOX 47                                                                                                             SAN SEBASTIAN       PR           00685
   246960 JOSE DAVID SANTIAGO                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   246961 JOSE DAVID TORRES                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   246962 JOSE DAVID VAZQUEZ BURGOS REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE DAVILA / COM ESPECIAL BO
   683332 CANIACO                       P O BOX 11195                                                                                                                       SAN JUAN            PR       00922‐1195
   246963 JOSE DAVILA ALVARADO          REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   246964 JOSE DAVILA CABALLERO         REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   246965 JOSE DAVILA COLLAZO           REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   246966 JOSE DAVILA PEREZ             REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   246967 JOSE DAVILA SANTIAGO          REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   683334 JOSE DAVILA TORRES            HC 1 BOX 27167                                                                                                                      VEGA BAJA           PR       00693
   246968 JOSE DAVILA VILLALOBO         REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   246970 JOSE DE ARMAS SARDINAS        REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   683335 JOSE DE AZA MARTINEZ          395 CALLE NAGUABO                                                                                                                   SAN JUAN            PR       00913
   683336 JOSE DE CHOUDENS              PO BOX 360                                                                                                                          ARROYO              PR       00714
   683337 JOSE DE DIEGO INTERMEDIA      PO BOX 1945                                                                                                                         AGUADILLA           PR       00605
   683338 JOSE DE JESUS                 RIO GRANDE ESTATES                          S 21 CALLE 8                                                                            RIO GRANDE          PR       00745
   246971 JOSE DE JESUS ALVARADO        REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   246972 JOSE DE JESUS ANTONETTI       REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   246973 JOSE DE JESUS DIAZ            REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   246974 JOSE DE JESUS GARCIA          REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED

   683340 JOSE DE JESUS LUGO                          2DA EXT ALTURAS DE VILLALBA   269 CALLE MODESTO MELENDEZ                                                              VILLALBA            PR           00766
   683341 JOSE DE JESUS MERCADO                       PO BOX 7126                                                                                                           PONCE               PR           00732
   246977 JOSE DE JESUS NAZARIO                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683342 JOSE DE JESUS ORTIZ                         PO BOX 10000 SUITE 151                                                                                                CAYEY               PR           00736

   683343 JOSE DE JESUS PEREZ JIMENEZ                 HC 8 BOX 86940                                                                                                        SAN SEBASTIAN       PR           00685‐8960
   683344 JOSE DE JESUS RIOS                          PO BOX 240                                                                                                            SANTA ISABEL        PR           00757
   683345 JOSE DE JESUS RIVERA                        URB BAYAMON GARDENS           O32 CALLE 21                                                                            BAYAMON             PR           00957
   683346 JOSE DE JESUS ROLON                         HC 2 BOX 5205                                                                                                         MOROVIS             PR           00687
   246978 JOSE DE JESUS SOTO                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683347 JOSE DE JESUS VAZQUEZ                       PO BOX 7285                                                                                                           PONCE               PR           00732

   683348 JOSE DE JESUS VELEZ MERCADO                 HC 02 BOX 9976                                                                                                        LAS MARIAS          PR           00670‐9035
   246979 JOSE DE LA CRISPIN BERAS                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683349 JOSE DE LA CRUZ                             1367 CALLE 8 NORTE                                                                                                    PUERTO NUEVO        PR           00920
   683350 JOSE DE LA CRUZ VAZQUEZ                     PO BOX 619 PUEBLO STA                                                                                                 CAROLINA            PR           00986
   246980 JOSE DE LA ROSA                             REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  683351 JOSE DE LA ROSA SALAZAR                      VENUS GARDENS                 755 CALLE PISCIS                                                                       SAN JUAN           PR         00926
  683353 JOSE DE LEON LLUBERAS                        VILLA PALMERAS                370C CALLE TAPIA                                                                       SAN JUAN           PR         00912
  683354 JOSE DE LEON RODRIGUEZ                       URB ROUND HILLS               1127 CALLE MADRESELVA                                                                  TRUJILLO ALTO      PR         00976
  246981 JOSE DE LEON SANCHEZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         JOSE DE LOS SANTOS MORALES
  683355 MATOS                                        COND PASEO DE MONTEFLORES APT 703                                                                                    CAROLINA           PR         00987
  246982 JOSE DE PENA, NELLY                          REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  683356 JOSE DEL C COLON DELGADO                     HC 08 BOX 39524 9671                                                                                                 CAGUAS             PR         00725

   246983 JOSE DEL C RIVERA RODRIGUEZ                 REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   683357 JOSE DEL C RODRIGUEZ VALES                  PO BOX 188                                                                                                           ARECIBO            PR         00613
          JOSE DEL C VARGAS Y/O IRMA
   683359 LLAVONA Y/O                                 AIDA S LLAVONA                P O BOX 6179                                                                           CAGUAS             PR         00726
   246986 JOSE DEL R GARCIA COLON                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   683360 JOSE DEL TORO ESTRADA                       776 CALLE 37 SE                                                                                                      PUERTO NUEVO       PR         00921
   683362 JOSE DEL VALLE LOPEZ                        URB LA MAUNA                  H 29 CALLE E                                                                           CAROLINA           PR         00977
   246987 JOSE DEL VALLE RAMOS                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   683363 JOSE DEL VALLE REYES                        PO BOX 320                                                                                                           TRUJILLO ALTO      PR         00977‐0320
   246988 JOSE DEL VALLE SUAREZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   246989 JOSE DEL VALLE TORRES                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   683364 JOSE DELGADO BENITEZ                        URB LOS TAMARINDOS            D 12 CALLE 8                                                                           SAN LORENZO        PR         00754
   246991 JOSE DELGADO JIMENEZ                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   683365 JOSE DELGADO JORDAN                         URB LOMAS VERDES              4 P 28 CALLE PETUNIA                                                                   BAYAMON            PR         00956
   683368 JOSE DELGADO ORTIZ                          URB IDAMARIS GARDENS          E4 AVE RICKY SEDA                                                                      CAGUAS             PR         00725
   683369 JOSE DELGADO RAMOS                          8 CALLE DEL CARMEN                                                                                                   CAROLINA           PR         00985
                                                      3172 TWILIGHT COURT
   683370 JOSE DELIZ DAVILA                           MIDDLEBURG                                                                                                           FLORIDA            FL         32068

   683371 JOSE DELIZ GRACIA                           URB.SAN PEDRO J‐17 CALLE 10                                                                                          TOA BAJA           PR         00949
   246994 JOSE DELIZ GRAFALS                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JOSE DENIS RODRIGUEZ
   683372 MORALES                                     400 AVE DOMENECH SUITE 412                                                                                           SAN JUAN           PR         00918
   683375 JOSE DIAZ                                   1357 ASHFORD 329                                                                                                     SAN JUAN           PR         00907
   246995 JOSE DIAZ BARRIENTOS                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   683376 JOSE DIAZ CANDELARIA                        PO BOX 10163                                                                                                         SAN JUAN           PR         00908
          JOSE DIAZ CARRERAS / BELEN
   683377 NEGRON                                      LOS PINOS                     131 JUDEA 111                                                                          UTUADO             PR         00641
   683380 JOSE DIAZ CRUZ                              P O BOX 351                                                                                                          TRUJILLO ALTO      PR         00977
   246998 JOSE DIAZ DIAZ                              REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   683382 JOSE DIAZ GODNEANX                          A JUNCA                       204 CALLE E                                                                            SANTA ISABEL       PR         00757
   247000 JOSE DIAZ GONZALEZ                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   247001 JOSE DIAZ HAZIM                             REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   683383 JOSE DIAZ IBARRA                            URB VILLA BORINQUEN           10 CALLE J RIVERA GAUTIER                                                              SAN JUAN           PR         00921
   683384 JOSE DIAZ LOPEZ                             LA PONDEROSA                  565 CALLE AMAPOLA                                                                      RIO GRANDE         PR         00745
   247002 JOSE DIAZ MELENDEZ                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   683386 JOSE DIAZ NIEVES                            BO SANTA CLARA                BZN 5363                                                                               CIDRA              PR         00739
   247003 JOSE DIAZ RIVERA                            REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   247004 JOSE DIAZ ROMAN                             REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   683390 JOSE DIAZ ROSADO                            HC 01 BOX 3322                                                                                                       VILLALBA           PR         00766
   247005 JOSE DIAZ ROSARIO                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   247006 JOSE DIAZ SIERRA                            REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   683393 JOSE DIAZ VARGAS                            COLINAS DE GUAYNABO           D4 CALLE POMARROSA                                                                     GUAYNABO           PR         00969



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  247007 JOSE DIAZ VAZQUEZ                             REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   683395 JOSE DIEGO PADRON CARDONA                    PRADERAS DEL SUR             CALLE CAOBO 408                                                                          SANTA ISABEL        PR         00757

   247009 JOSE DIEGO PADRON CARMONA REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   683396 JOSE DIEGO PEREZ CARTAGENA                   COUNTRY CLUB                 926 CALLE MIRLI                                                                          SAN JUAN            PR         00924
   683397 JOSE DIEPPA TORRES                           PO BOX 417                                                                                                            SAN LORENZO         PR         00754‐0417
   683398 JOSE DILAN COTTON                            HC 1 BOX 30937                                                                                                        CABO ROJO           PR         00623

   247010 Jose Dioscoride Santiago Torres              REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE DOMINGO MALAVE
   247011 ORENGO                                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE DOMINGO SERRANO
   683401 MORALES                                      HC 01 BOX 5075                                                                                                        QUEBRADILLAS        PR         00678

   683402 JOSE DOMINGUEZ RODRIGUEZ                     HC 1 BOX 1943                                                                                                         MOROVIS             PR         00687
                                                       217 CALLE ALBERTO DE JESUS
   683403 JOSE DONATE CORTES                           MA                           URB PASEOS DE LOS ARTESANOS                                                              LAS PIEDRAS         PR         00771‐9671
   683404 JOSE DORTA ALCAIDE                           PO BOX 162                                                                                                            HATILLO             PR         00659
   683405 JOSE DUARTE FELICIANO                        PO BOX 106                                                                                                            SAN JUAN            PR         00936

   247012 JOSE DUBAN MARTELL CORTES                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683407 JOSE DUCOS VALLE                             QTAS DE DORADO               K2 CALLE 10                                                                              DORADO              PR         00646
          JOSE DUENAS VALERIA Y
   247013 CLEMENCIA SANTANA                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683408 JOSE DUMONT SOLANO                           PMB 547 BOX 2500                                                                                                      TOA BAJA            PR         00951
   683409 JOSE DUYEY DAVILA                            HC 02 BOX 14394                                                                                                       AGUAS BUENAS        PR         00703‐9611
   247015 JOSE E ABREU ARROYO                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247016 JOSE E ACOSTA SANCHEZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247017 JOSE E ADORNO MARTINEZ                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683412 JOSE E AGUAYO SALGADO                        BOX 39                                                                                                                LOIZA               PR         00772
   247018 JOSE E AGUILAR ANDINO                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   683414 JOSE E ALAMO CARRASQUILLO URB TORRIMAR 3 32                               CALLE CORDOBA                                                                            GUAYNABO            PR         00966
   247019 JOSE E ALEJANDRO PONCE        REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683416 JOSE E ALEMAN MONTALVO        HC 03 BOX 30357                                                                                                                      SAN SEBASTIAN       PR         00685
   683417 JOSE E ALFARO DELGADO         EDIF CONDADO                                ASTOR 1018                    ASHFORD AVE OFIC 215                                       SAN JUAN            PR         00907
   683418 JOSE E ALGARIN SIERRA         HC 6 BOX 69653                                                                                                                       CAGUAS              PR         00725‐9502
   247020 JOSE E ALICEA MELERO          REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247021 JOSE E ALICEA ORTIZ           REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247022 JOSE E ALSINA ACOSTA          REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247023 JOSE E ALVARADO SALDANA       REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247026 JOSE E AMADEO                 REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247027 JOSE E AMADEO NAVAS           REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247028 JOSE E ANDINO DELGADO         REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683422 JOSE E APONTE AGUINO          P O BOX 9023203                                                                                                                      SAN JUAN            PR         00902‐3203
   247030 JOSE E APONTE RODRIGUEZ       REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683425 JOSE E AQUINO                 PO BOX 967                                                                                                                           QUEBRADILLAS        PR         00678
   683426 JOSE E ARANA BARBOSA          URB LEVITTOWN                               3237 PASEO CLARO                                                                         TOA BAJA            PR         00950
          JOSE E ARANA DBA VIDEO VISION 497 AVE EMILIANO POL SUITE
   683427 ARANA PROD                    439                                                                                                                                  SAN JUAN            PR         00926
   683428 JOSE E ARCE CABRERA           ESTANCIA                                    D 46 VIA SAN JUAN                                                                        BAYAMON             PR         00961



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  683429 JOSE E ARGUAYO APONTE                        RES GAUTIER BENITEZ           EDIF 12 APT 102                                                                     CAGUAS               PR         00725
  247031 JOSE E AROCHO DELGADO                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  247032 JOSE E ARROYO PEREZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  247033 JOSE E ASENCIO QUILES                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  247034 JOSE E ATILES THILLET                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  683431 JOSE E AVILES AVILES                         URB EL ROSARIO                D7 CALLE OSCAR COLLAZO                                                              VEGA BAJA            PR         00693
  683432 JOSE E AVILES MARIN                          URB. VILLA NEVAREZ            CALLE 3 1056                                                                        SAN JUAN             PR         00927
  683434 JOSE E AYALA MARIN                           HC 3 BOX 6620                                                                                                     HUMACAO              PR         00791
  247036 JOSE E AYALA SAEZ                            REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  247037 JOSE E BACARDI DESCAMPS                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  247038 JOSE E BAEZ PONS                             REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  247039 JOSE E BAEZ VEGA                             REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  247040 JOSÉ E BÁEZ VÉLEZ                            REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   683436 JOSE E BARRETO RIOLLANO                     146 CALLE REV PEDRO PATILLA                                                                                       ISABELA              PR         00662
   683437 JOSE E BAS GAY                              URB VILLA FONTANA             3KN 40 VIA 67                                                                       CAROLINA             PR         00983
   683438 JOSE E BATISTA HERNANDEZ                    URB LAS VIRTUDES              742 CALLE CARIDAD                                                                   SAN JUAN             PR         00924
   247042 JOSE E BENET MENDEZ                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247043 JOSE E BENITEZ HERNANDEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   683441 JOSE E BERDECIA MARRERO                     ADM SERV GEN                  P O BOX 7428                                                                        SAN JUAN             PR         00916‐7428
   683442 JOSE E BERMUDEZ                             1478 CALLE ELIDA                                                                                                  SAN JUAN             PR         00921
   683444 JOSE E BERRIOS COLON                        URB LAS VEREDAS               A 13 CALLE VEREDA REAL                                                              BAYAMON              PR         00961
   247045 JOSE E BERRIOS DELANNOY                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   683445 JOSE E BERRIOS MERCED                       P O BOX 1546                                                                                                      CAGUAS               PR         00726‐1546
   247046 JOSE E BERRIOS ORTIZ                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247047 JOSE E BESTARD DIAZ                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   683446 JOSE E BIRD                                 URB COLLEGE PARK              269 CALLE PADUA                                                                     SAN JUAN             PR         00921
   247048 JOSE E BIRRIEL PENA                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   683447 JOSE E BONILLA                              URB CIUDADA REAL              767 CALLE ARAGUEZ                                                                   VEGA BAJA            PR         00693
   247051 JOSE E BORRERO OLIVERAS                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   683448 JOSE E BRIGNONI DE LEGUILLOU                URB SUNSET VIEW               APTO 205 B                                                                          BAYAMON              PR         00759
   683449 JOSE E BROCO OLIVERAS                       PARQUE DE MONTE BELLO         A5 CALLE 1                                                                          TRUJILLO ALTO        PR         00976
   683450 JOSE E BRUNO CARRILLO                       HC 66 BOX 9100                                                                                                    FAJARDO              PR         00738
   247052 JOSE E BRUNO ORTIZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247053 JOSE E BRUNO PACHO                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247054 JOSE E BUONO COLON                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   683451 JOSE E BURGOS ARROYO                        HC 67 BOX 15750                                                                                                   FAJARDO              PR         00738
   247055 JOSE E BURGOS ORTIZ                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JOSE E BURGOS Y EVANGELINA
   683452 LUGO                                        HC 07 BOX 2255                                                                                                    PONCE                PR         00731
   683454 JOSE E CABAN DE JESUS                       433 A AVE NOEL ESTRADA                                                                                            ISABELA              PR         00662
   683455 JOSE E CABRERA BALASQUIDE                   VILLA NEVAREZ                 1038 CALLE 3                                                                        SAN JUAN             PR         00927
   683456 JOSE E CALDERON CARMONA                     URB FAIRVIEW 1931             CALLE PEDRO MEJIA                                                                   SAN JUAN             PR         00926
   247057 JOSE E CALDERON RUIZ                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247058 JOSE E CALIZ LUGO                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   683457 JOSE E CAMACHO COLBERG                      PO BOX 356                                                                                                        GUANICA              PR         00653
   680825 JOSE E CAMACHO POSTIGO                      URB EL SE¥ORIAL 298           CALLE EDUARDO BAZA                                                                  SAN JUAN             PR         00926‐6906

   247059 JOSE E CANDELARIA MELENDEZ                  REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   683458 JOSE E CANGIANO RIVERA                      PO BOX 32109                                                                                                      PONCE                PR         00732‐2109
   247060 JOSE E CAPELES OROZCO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247061 JOSE E CARABALLO LEANDRY                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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   247062 JOSE E CARABALLO SEPULVEDA REDACTED                          REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680824 JOSE E CARDONA ACABA          URB JARDINES DE ARECIBO        KL 14 CALLE K                                                                       ARECIBO             PR           00612‐2829
   247063 JOSE E CARDONA FELICIANO      REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683460 JOSE E CARDONA NIEVES         31 RAHOLIZA                                                                                                        SAN SEBASTIAN       PR           00685
   247064 JOSE E CARRERAS ROVIRA        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247067 JOSE E CASTILLO RODRIGUEZ     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683461 JOSE E CASTRO FIGUEROA        88 VILLA VALLE VERDE                                                                                               ADJUNTAS            PR           00601
   247068 JOSE E CASTRO LUGO            REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247069 JOSE E CASTRO RIVERA          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247070 JOSE E CEDENO CASTRO          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683462 JOSE E CEDENO MALDONADO       URB BALDRICH                   253 CALLE ROSSY                                                                     SAN JUAN            PR           00918
   247071 JOSE E CHAPARRO RIOS          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683465 JOSE E CHICLANA ROLDAN        BO OBRERO                      485 CALLE CORTIJO                                                                   SAN JUAN            PR           00915
   247072 JOSE E CINTRON DELGADO        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683466 JOSE E CINTRON PEREZ          HC 05 BOX 62057                                                                                                    MAYAGUEZ            PR           00680‐9553
   683467 JOSE E CLAUDIO MONTALVO       41 CALLE SAN MIGUEL                                                                                                GUANICA             PR           00653
   683468 JOSE E COLLAZO SANCHEZ        CAMPO ALEGRE                   I 23 ARECA                                                                          BAYAMON             PR           00956
   683469 JOSE E COLON                  PO BOX 989                                                                                                         COAMO               PR           00769
   247073 JOSE E COLON CRUZADO          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247074 JOSE E COLON NUNCI            REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683470 JOSE E COLON ORTIZ            URB VILLA MADRID               Z 19 CALLE 4                                                                        COAMO               PR           00769
   683471 JOSE E COLON PADRO            RR 4 BOX 523                                                                                                       BAYAMON             PR           00956
   247076 JOSE E COLON RODRIGUEZ        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247077 JOSE E COLON VEGA             REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247078 JOSE E COLON VELEZ            REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683474 JOSE E COLON VILLANUEVA       PRINCIPAL 195                  URB LA VEGA                                                                         VILLALBA            PR           00766
          JOSE E COLON/ STARCO ELECTRIC
   247079 INC                           PO BOX 4709                                                                                                        AGUADILLA           PR           00605‐4709
   683476 JOSE E CORREA CABRERA         URB VILLA MAR                  G 26 CALLE PACIFICO                                                                 GUAYAMA             PR           00784
   683477 JOSE E CORTES CORTES          PO BOX 1841                                                                                                        MOCA                PR           00676
   683478 JOSE E COSME RODRIGUEZ        URB REXVILLE                   CD 28 CALLE 24                                                                      BAYAMON             PR           00957
   683479 JOSE E COSTALES GONZALEZ      P O BOX 491                                                                                                        SABANA SECA         PR           00952
   683480 JOSE E COSTAS LOYOLA          P O BOX 7143                                                                                                       PONCE               PR           00732‐7143
   247080 JOSE E COTTO MORALES          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683481 JOSE E CRESPO BONILLA         BO LA PALMITA                  609 CALLE CEREZA                                                                    YAUCO               PR           00698
   683482 JOSE E CRESPO FELIX           HC 7 BOX 35409                                                                                                     CAGUAS              PR           00001
   683483 JOSE E CRESPO GONZALEZ        HC 04 BOX 8195                                                                                                     JUANA DIAZ          PR           00795‐9605
   683485 JOSE E CRUZ AYALA             BO FLORENCIO                   HC 00866 BOX 9899                                                                   FAJARDO             PR           00738
   683486 JOSE E CRUZ FIGUEROA          BOX 208                                                                                                            JAYAYA              PR           00664
   247082 JOSE E CRUZ GARCIA            REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247083 JOSE E CRUZ MARTINEZ          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683487 JOSE E CRUZ MENDOZA           HC 02 BOX 4351                                                                                                     GUAYAMA             PR           00784
   683489 JOSE E CRUZ PABON             PO BOX 1270                                                                                                        VEGA ALTA           PR           00692‐1270
   683491 JOSE E CRUZ RIVERA            BO PESAS                       CARR 149 KM 21 5                                                                    CIALES              PR           00638
   683492 JOSE E CRUZ RODRIGUEZ         HC 1 BOX 60085                                                                                                     JUANA DIAZ          PR           00795
   683493 JOSE E CRUZ SANCHEZ           P O BOX 742                                                                                                        BARRANQUITAS        PR           00794
   247084 JOSE E CRUZ SUAREZ            REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683494 JOSE E CRUZ TROCHE            VILLA DEL CARMEN D E ‐7                                                                                            PONCE               PR           00716
          JOSE E CURET MICKARY
   247085 FIGUEROA                      REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE E DAMIAN DBA NEW
   247086 ENVIRONMENT CO                SANTA ROSA UNIT PO BOX 6406                                                                                        BAYAMON             PR           00960



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          JOSE E DAMIANI DBA NEW
   683496 ENVIRONMENT CO                              SANTA ROSA UNIT             P O BOX 6406                                                                      BAYAMON             PR         00960
   247087 JOSE E DAVILA MORALES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   247088 JOSE E DE JESUS                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   247089 JOSE E DE JESUS PEREZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   247090 JOSE E DE LEON VELAZQUEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683498 JOSE E DELFAUS SANCHEZ                      P O BOX 113                                                                                                   CAGUAS              PR         00725
   247092 JOSE E DELGADO                              REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683500 JOSE E DELGADO AGOSTO                       608 CALLE OLIMPO            APT 61A                                                                           SAN JUAN            PR         00907‐3120
   683501 JOSE E DELGADO CRUZ                         PO BOX 565                                                                                                    SAN LORENZO         PR         00754
   683502 JOSE E DELGADO ORTIZ                        HC‐20 BOX 29035                                                                                               SAN LORENZO         PR         00754
   683503 JOSE E DIAZ ARROYO                          HC 2 BOX 30042                                                                                                CAGUAS              PR         00727‐9404
   683504 JOSE E DIAZ CURRET                          PO BOX 516                                                                                                    ARROYO              PR         00714
   247093 JOSE E DIAZ DIAZ                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   247094 JOSE E DIAZ GOMEZ                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683505 JOSE E DIAZ HERNANDEZ                       HC 05 BOX 57710                                                                                               CAGUAS              PR         00725
   683506 JOSE E DIAZ LOPEZ                           URB. LA MILAGROSA           CALLE DIAMANTE E 12                                                               SABANA GRANDE       PR         00637
   247095 JOSE E DIAZ MAYMI                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683507 JOSE E DIAZ ORTIZ                           BOX 1673                                                                                                      GUAYNABO            PR         00970
   683508 JOSE E DIAZ PEREZ                           URB EST VIA SAN JOSE        B 13 PLAZA 13                                                                     BAYAMON             PR         00961
   683510 JOSE E DIAZ SANCHEZ                         RES RAUL CASTELLON          EDIF 5 APT 56                                                                     CAGUAS              PR         00725
   247097 JOSE E DIAZ TORRES                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683512 JOSE E DOMENECH RUIZ                        BO BETJICA                  5232 CALLE CARACAS                                                                PONCE               PR         00731
   247098 JOSE E DOMINGUEZ THOMAS                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683513 JOSE E DONES LUGO                           URB SAN JOSE                47 CALLE ALMIJARA                                                                 SAN JUAN            PR         00923
   247100 JOSE E DUMENG CORCHADO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   247101 JOSE E DUPREY DIAZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   247102 JOSE E ECHEVARRIA VILLANUEVA REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   680826 JOSE E ENCARNACION RIVERA    EXT EL COMANDANTE                          383 CALLE SAN CARLOS                                                              CAROLINA            PR         00982

   683514 JOSE E ESCOBAR                              RES HOGARES DEL PORTUGUES   K APT 97                                                                          PONCE               PR         00731
   247103 JOSE E ESCOBAR BARRETO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683516 JOSE E ESTEVES ALVARADO                     URB PERLA DEL SUR           N447 CALLE CARATINI                                                               PONCE               PR         00717
   247104 JOSE E ESTEVES SEGURA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   247105 JOSE E FELICIANO FELICIANO                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683518 JOSE E FERNANDEZ ROSADO                     URB VERSALLES               G 25 CALLE 7                                                                      BAYAMON             PR         00959
   683519 JOSE E FERNOS                               P O BOX 20120                                                                                                 SAN JUAN            PR         00928
   683520 JOSE E FERRER ROMAN                         P M B 95 P O BOX 60401                                                                                        AGUADILLA           PR         00603

   683521 JOSE E FIGUEROA ANDUJAR                     232 AVE ELEONOR ROOSEVELT                                                                                     SAN JUAN            PR         00907
   247107 JOSE E FIGUEROA JUSTINIANO                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683522 JOSE E FIGUEROA MEDINA                      HC 4 BOX 45407                                                                                                CAGUAS              PR         00725‐9613
   683523 JOSE E FIGUEROA NIEVES                      STARLIGHT                   3912 CALLE LUCERO                                                                 PONCE               PR         00731
   247108 JOSE E FIGUEROA SANCHA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   247109 JOSE E FIGUEROA ZAYAS                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683524 JOSE E FOSSAS MARXUACH                      BOX 2296                                                                                                      RIO GRANDE          PR         00745
   683525 JOSE E FOUNTAN MARRERO                      P O BOX 2837                                                                                                  GUAYNABO            PR         00970
   683526 JOSE E FUENTES DE JESUS                     37 CALLE BUENOS AIRES                                                                                         COAMO               PR         00769
   247110 JOSE E FUENTES DEL ROSARIO                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683527 JOSE E FUENTES MOLINA                       BOX 125                                                                                                       COROZAL             PR         00783
   683528 JOSE E GALARZA CAPIELO                      URB EST DE YAUCO            C 6 CALLE ESMERALDA                                                               YAUCO               PR         00698
   247113 JOSE E GARCES RIVERA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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MML ID                 NAME                                    ADDRESS 1                      ADDRESS 2                   ADDRESS 3                          ADDRESS 4              CITY       STATE    POSTAL CODE        COUNTRY
          JOSE E GARCIA / SUN FLOWER
   683529 CAFE                                        111 CALLE FERNANDEZ GARCIA                                                                                         LUQUILLO            PR         00773
   247114 JOSE E GARCIA DIAZ                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683530 JOSE E GARCIA FELICIANO                     PO BOX 523                                                                                                         FAJARDO             PR         00738
   247115 JOSE E GARCIA SANTIAGO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683531 JOSE E GARCIA SOTO                          HC 4 BOX 14152                                                                                                     MOCA                PR         00676‐9669
   247116 JOSE E GARRAFA LEBRON                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   247117 JOSE E GELPI ANGLERO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   247118 JOSE E GERENA ORTIZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   247119 JOSE E GOMEZ MUNOZ                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683532 JOSE E GOMILA ROHENA                        URB ROSA MARIA               E 7 CALLE 4                                                                           CAROLINA            PR         00985
   683534 JOSE E GONZALEZ ALVARADO                    URB PUERTO NUEVO             1048 CALLE ALESIA                                                                     SAN JUAN            PR         00920
   247120 JOSE E GONZALEZ COLON                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683536 JOSE E GONZALEZ DE JESUS                    HC 01 BOX 6126                                                                                                     AGUAS BUENAS        PR         00703
   247121 JOSE E GONZALEZ FELICIANO                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   247122 JOSE E GONZALEZ GARCIA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   247123 JOSE E GONZALEZ LOPEZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   247129 JOSE E GONZALEZ MEDRANO                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   247130 JOSE E GONZALEZ OCASIO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683537 JOSE E GONZALEZ PAGAN                       URB EL VIGIA 64              CALLE SANTA ANSTACIA                                                                  SAN JUAN            PR         00926
   247131 JOSE E GONZALEZ PEREZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683540 JOSE E GONZALEZ PORTILLA                    PO BOX 9023752                                                                                                     SAN JUAN            PR         00902‐3752
   247132 JOSE E GONZALEZ ROSADO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683541 JOSE E GONZALEZ VAZQUEZ                     URB RIO CA¥AS 2726           CALLE MISSISIPI                                                                       PONCE               PR         00728‐1713
   247133 JOSE E GONZALEZ VIERA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   247134 JOSE E GONZALEZ VILLANUEVA                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683542 JOSE E GOYCO CORREA                         URB VISTAS DE ALTA VISTA     JJ 21 CALLE 28                                                                        PONCE               PR         00731
   683543 JOSE E GRAJALES LUGO                        REPARTO VALENCIA             Q 3 CALLE A                                                                           BAYAMON             PR         00959
   247136 JOSE E GRAU ORTIZ                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683544 JOSE E GUEVARA ESTRELLA                     P O BOX 387                                                                                                        AGUIRRE             PR         00704

   683545 JOSE E GUEVARA NEGRON                       URB CHALETS DE LA HACIENDA   AY 9 CALLE 48                                                                         GUAYAMA             PR         00784
   247140 JOSE E GUTIERREZ NUNEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683547 JOSE E GUZMAN BUTTER                        HC 01 BOX 5648                                                                                                     HATILLO             PR         00659‐9702
   247141 JOSE E GUZMAN LOPEZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
                                                      139 CALLE PRUDENCIA RIVERA
   683548 JOSE E GUZMAN MARRERO                       MARTINEZ                     LAS MONJAS                                                                            SAN JUAN            PR         00917
   247142 JOSE E GUZMAN VIRELLA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683549 JOSE E HERNANDEZ ACEVEDO                    URB VALPARAISO               LEVITTOWN J 11 CALLE 3                                                                TOA BAJA            PR         00949
   680827 JOSE E HERNANDEZ ACEVEDO                    PO BOX 19                                                                                                          AGUADA              PR         00602‐0019
   247143 JOSE E HERNANDEZ ACOSTA                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683551 JOSE E HERNANDEZ BELTRAN                    HC 1 BOX 6852                                                                                                      MOCA                PR         00676

   247144 JOSE E HERNANDEZ CASTRODAD                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   247145 JOSE E HERNANDEZ DE JESUS                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   247147 JOSE E HERNANDEZ GUZMAN                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   683552 JOSE E HERNANDEZ ORTIZ                      CARR 132 KM 22 6 81                                                                                                PONCE               PR         00731

   683554 JOSE E HERNANDEZ PANET                      5TA LEVITOWN                 BW 11 CALLE ESTEBAN DE ROSA                                                           TOA BAJA            PR         00949
   247148 JOSE E HERNANDEZ ROSARIO                    REDACTED                     REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   247149 JOSE E IGUINA OHARRIZ                       REDACTED                     REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   247150 JOSE E IRIZARRY PAGAN                       REDACTED                     REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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MML ID                NAME                                      ADDRESS 1                  ADDRESS 2              ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  247151 JOSE E IRIZARRY VEGA                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683555 JOSE E JANER VELAZQUEZ                       GANADERIA J E             BOX 367                                                                           CAGUAS            PR         00726
  683556 JOSE E JIMENEZ ALVAREZ                       URB SAN GERARDO           1740 CALLE ARKANSAS                                                               SAN JUAN          PR         00926‐3461
  247153 JOSE E JOGLAR RIOS                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247155 JOSE E LAGO BERRIOS                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247156 JOSE E LAGUNA RIVERA                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683560 JOSE E LARA ESPARIS                          URB SIERRA LINDA          E 11 CALLE 8                                                                      CABO ROJO         PR         00623
  683561 JOSE E LEON RODRIGUEZ                        URB BRISAS DEL CARIBE     BUZON 232 EL TUQUE                                                                PONCE             PR         00728
  683563 JOSE E LEZCANO LOPEZ                         595 MAXIMO GOMEZ                                                                                            SAN JUAN          PR         00918
  683565 JOSE E LOPEZ                                 COMUNIDAD LA PLATA        G 30 CALLE 4                                                                      CAYEY             PR         00736
  683567 JOSE E LOPEZ CARRILO                         URB BAIROA GOLDEN GATES   H 7 CALLE 9                                                                       CAGUAS            PR         00725
  247159 JOSE E LOPEZ DIAZ                            REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683568 JOSE E LOPEZ LOPEZ                           VILLA LOIZA               C 46 BB 26                                                                        CANOVANAS         PR         00729
  683569 JOSE E LOPEZ MACHIN                          P O BOX 431                                                                                                 SAN LORENZO       PR         00754
  247160 JOSE E LOPEZ ORTIZ                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680832 JOSE E LOPEZ PEREZ                           URB SAN FERNANDO          E 2 CALLE 1                                                                       BAYAMON           PR         00957
  247162 JOSE E LOPEZ PINERO                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683570 JOSE E LOPEZ RIVERA                          URB MEDINA                K 29 CALLE 10                                                                     ISABELA           PR         00662
  247163 JOSE E LOPEZ ROJAS                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683571 JOSE E LOPEZ VELEZ                           BOX 1865                                                                                                    QUEBRADILLAS      PR         00628
  683572 JOSE E LOZADA FERRER                         HC 73 BOX 5371                                                                                              NARANJITO         PR         00719
  683573 JOSE E LUGO MORALES                          EDIF E APTO 208           COND RIVER PARK                                                                   BAYAMON           PR         00961
  683574 JOSE E LUGO ORTIZ                            HC 03 BOX 17906                                                                                             LAJAS             PR         00637
  680828 JOSE E LUGO RAMIREZ                          PO BOX 250 476                                                                                              AGUADILLA         PR         00604
  247164 JOSE E LUGO TORRES                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247165 JOSE E LUGO VELEZ                            REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247166 JOSE E MADERA RODRIGUEZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   683576 JOSE E MALDONADO RODRIGUEZ P O BOX 367007                                                                                                               SAN JUAN          PR         00936‐7007

   247167 JOSE E MALDONADO SANCHEZ                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOSE E MANGUAL
   683577 CARRASQUILLO                                PO BOX 9023899                                                                                              SAN JUAN          PR         00902‐3899
   247168 JOSE E MANGUAL TORRES                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247169 JOSE E MARIN LOPEZ                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247170 JOSE E MARIN MESSEGUER                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247171 JOSE E MARIN RODRIGUEZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680829 JOSE E MARQUEZ SALAS                        HC 2 BOX 11380                                                                                              MOCA              PR         00676
   247172 JOSE E MARRERO DIAZ                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247173 JOSE E MARRERO FEBUS                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683579 JOSE E MARRERO HUERTAS                      PARC MAMEYAL              97C CALLE 3                                                                       DORADO            PR         00646
   683580 JOSE E MARRERO MATOS                        4614 CHARLTON CT                                                                                            DALE CITY         VA         22193
   683581 JOSE E MARRERO RIVERA                       HC 2 BOX 44165                                                                                              VEGA BAJA         PR         00693
          JOSE E MARTINEZ / JOSE A
   247176 MARTINEZ                                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247177 JOSE E MARTINEZ COLON                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683582 JOSE E MARTINEZ CORREA                      BO EL MANI                I 4 CALLE ROBLE                                                                   MAYAGUEZ          PR         00680
   683583 JOSE E MARTINEZ DBA SOFIA                   URB VILLA MADRID          RR 25                                                                             COAMO             PR         00769
   247178 JOSE E MARTINEZ FIGUEROA                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683584 JOSE E MARTINEZ LANDRON                     PO BOX 192938                                                                                               SAN JUAN          PR         00919 2938

   683585 JOSE E MARTINEZ MALDONADO SEC VILLA ROCA                              G 1 CALLE 23                                                                      MOROVIS           PR         00687
   247179 JOSE E MARTINEZ MASSA     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  247180 JOSE E MARTINEZ MATEO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  247181 JOSE E MARTINEZ RIVERA                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   247182 JOSE E MARTINEZ RODRIGUEZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247183 JOSE E MARTINEZ RUIZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   683587 JOSE E MARULL DEL RIO                       COND ANDALUCIA SUITES       1 CALLE RONDA APT 501                                                              SAN JUAN             PR         00926
   247185 JOSE E MATOS DE JESUS                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247186 JOSE E MATOS MORALES                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247187 JOSE E MATOS VEGA                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   683589 JOSE E MAYSONET VELEZ                       RR 2 BOX 7755                                                                                                  SAN JUAN             PR         00926
   247188 JOSE E MEDINA LOPEZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JOSE E MEJIAS DBA MEJIASS
   247189 CATERING                                    BOX 562                                                                                                        GURABO               PR         00778‐0000
   683590 JOSE E MELENDEZ DE JESUS                    PO BOX 14                                                                                                      VEGA ALTA            PR         00692

   683591 JOSE E MELENDEZ MALDONADO                   PO BOX 9024113                                                                                                 SAN JUAN             PR         00902‐4113
   247190 JOSE E MELENDEZ ORTIZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247191 JOSE E MELERO                               REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   683593 JOSE E MENDEZ AFANADOR                      HC 03 BOX 14666                                                                                                UTUADO               PR         00641
   683594 JOSE E MENDEZ MENDEZ                        BO CUCHILLAS                HC 05 BOX 11074                                                                    MOCA                 PR         00676
   683595 JOSE E MENDEZ PEREZ                         PO BOX 454                                                                                                     SAN ANTONIO          PR         00690
   683596 JOSE E MENDEZ ROSARIO                       URB ANTIGUA                 M7 VIA 13                                                                          SAN JUAN             PR         00927
   247192 JOSE E MENDEZ VIERA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   683597 JOSE E MERCADO GONZALEZ                     PO BOX 1679                                                                                                    ARECIBO              PR         00613
   247193 JOSE E MERCED MORALES                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   683598 JOSE E MIRANDA CAPELES                      URB VILLA MARIA             X 15 CALLE 16                                                                      CAGUAS               PR         00725
   683602 JOSE E MOLINA COLLAZO                       BO EL PINO COM CESPEDES     91 A BOX 156                                                                       VILLALBA             PR         00766
   683603 JOSE E MOLINA MOLINA                        HC 1 BOX 5808                                                                                                  COROZAL              PR         00783
   683604 JOSE E MONSERRATE CANINO                    PO BOX 5117                                                                                                    CAYEY                PR         00737
   683605 JOSE E MONTALVO RAMOS                       PO BOX 513                                                                                                     BOQUERON             PR         00622
   247194 JOSE E MONTANEZ ANDINO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247195 JOSE E MONTANEZ NIEVES                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   683606 JOSE E MORA CORA                            URB LAS LOMAS               1770 CALLE 12 S O                                                                  SAN JUAN             PR         00921
   683607 JOSE E MORA CRUZ                            PO BOX 41                                                                                                      HATILLO              PR         00659
   683608 JOSE E MORALES CANTERO                      URB JARD DE DORADO          E 14 CALLE 2                                                                       DORADO               PR         00646
   247198 JOSE E MORALES GARCIA                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                      URB VALLES DE GUAYAMA B2
   683609 JOSE E MORALES LOPEZ                        CALLE I                                                                                                        GUAYAMA              PR         00784
   247199 JOSE E MORALES MORALES                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247200 JOSE E MORALES ORELLANA                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   683613 JOSE E MOYA MALDONADO                       GARROCHALES PARC SAN LUIS   122 CALLE 2                                                                        ARECIBO              PR         00652
   247201 JOSE E MUNIZ GUTIEZ Y/O                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247202 JOSE E MUNIZ VALERA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247203 JOSE E MURATI CAINS                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247204 JOSE E NAVARRO BERRIOS                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247205 JOSE E NEGRON HERNANDEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247206 JOSE E NIEVES MUNIZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247207 JOSE E NIEVES RODRIGUEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247208 JOSE E NIEVES VEGA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247209 JOSE E NUNEZ MESA                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   683615 JOSE E OCASIO RODRIGUEZ                     PASEOS REALES               769 CALLE LA REINA                                                                 ARECIBO              PR         00612
   683616 JOSE E OJEDA FELICIANO                      RR 01 BOX 16059                                                                                                TOA ALTA             PR         00953



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  247210 JOSE E OLAZABAL GARCIA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  247211 JOSE E ORONA APONTE                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  683617 JOSE E ORTIZ ARIAS                           PO BOX 830                                                                                                          SANTA ISABEL       PR         00757
  247212 JOSE E ORTIZ DE JESUS                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  683618 JOSE E ORTIZ GONZALEZ                        VILLA MADRID                0 2 CALLE 15                                                                            COAMO              PR         00769
  683619 JOSE E ORTIZ IRIZARRY                        BASE RAMEY                  103 CALLE D                                                                             AGUADILLA          PR         00604
  247213 JOSE E ORTIZ LOPEZ                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  683621 JOSE E ORTIZ MORALES                         35 LAS MERCEDES                                                                                                     ARROYO             PR         00714
  247215 JOSE E ORTIZ VAZQUEZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   683622 JOSE E ORTIZ ZAVALA                         232 AVE ELEONOR ROOSEVELT                                                                                           SAN JUAN           PR         00907
   247216 JOSE E OTERO MATOS                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   247217 JOSE E PABEY DE JESUS                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   683623 JOSE E PABON ORTIZ                          HC 1 BOX 2261                                                                                                       BOQUERON           PR         00622‐9707
   247218 JOSE E PADILLA GONZALEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   247219 JOSE E PADILLA MONTALVO                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   683624 JOSE E PADILLA TORRES                       URB VILLA CAROLINA          23 BLQ 121 CALLE 64                                                                     CAROLINA           PR         00985
   247220 JOSE E PADIN POLIDURA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   683625 JOSE E PAGAN MORALES                        URB VILLA BORINQUEN         K 13 CALLE YAGUEZ                                                                       CAGUAS             PR         00725
   247221 JOSE E PAGAN OLIVERAS                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   683626 JOSE E PAGAN RODRIGUEZ                      URB LA GUADALUPE            1907 CALLE MILAGROSA                                                                    PONCE              PR         00730
   247224 JOSE E PEDRO QUINONES                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   683628 JOSE E PEREZ                                BO BUCARABONES              PARC 85 758                                                                             TOA ALTA           PR         00953
   683629 JOSE E PEREZ AYALA                          PO BOX 283                                                                                                          GUAYNABO           PR         00970

   683630 JOSE E PEREZ BONILLA                        PARC CASTILLO               A 31 CALLE HIPOLITO ARROYO                                                              MAYAGUEZ           PR         00680
   247225 JOSE E PEREZ BURGOS                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   247226 JOSE E PEREZ DIAZ                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   247227 JOSE E PEREZ FERNANDEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   683632 JOSE E PEREZ JIMENEZ                        HC 05 BOX 58208                                                                                                     HATILLO            PR         00659
   247228 JOSE E PEREZ MACHARDO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   683634 JOSE E PEREZ MEDINA                         HC 2 BOX 8286                                                                                                       JAYUYA             PR         00664
   683635 JOSE E PEREZ ORTIZ                          PO BOX 498                                                                                                          TOA ALTA           PR         00954
   247229 JOSE E PEREZ PEREZ                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   247230 JOSE E PEREZ PINEIRO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   247231 JOSE E PEREZ RAMIREZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   247232 JOSE E PEREZ RIOS                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   247233 JOSE E PEREZ RODRIGUEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   247236 JOSE E PINTO OTERO                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   683638 JOSE E PONCE DE LEON LESPIER                URB EXT LA RAMBLA           337 CALLE 2                                                                             PONCE              PR         00731
   683640 JOSE E QUILES ROSADO                        URB LOS RODRIGUEZ           8 CALLE D                                                                               CAMUY              PR         00627
   247237 JOSE E QUINONES CUEVAS                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   247238 JOSE E QUINONES RODRIGUEZ                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   247239 JOSE E RAIMUNDI MALAVE                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   247240 JOSE E RALAT BALLESTER                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   683642 JOSE E RAMIREZ BAJANDAS                     PO BOX 21365                                                                                                        SAN JUAN           PR         00926
   247241 JOSE E RAMIREZ VELEZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JOSE E RAMOS COTTO /
   247243 TAPICERIA EDDIE JOE                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   683643 JOSE E RAMOS MARRERO                        RES ENRIQUE LANDRON         EDIF 5 APT 33                                                                           COROZAL            PR         00783
   247245 JOSE E RAMOS MERCADO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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MML ID                NAME                                       ADDRESS 1                  ADDRESS 2                    ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  680830 JOSE E RAMOS RODRIGUEZ                        RR 3 BOX 9035                                                                                                     TOA ALTA          PR         00953
  683645 JOSE E RAMOS RODRIGUEZ                        LAS LOMAS                 1756 CALLE 28 SO                                                                        SAN JUAN          PR         00921
  683647 JOSE E REYES                                  5TA SECC TURABO GARDENS   G 21 CALLE 40                                                                           CAGUAS            PR         00725
  247247 JOSE E REYES GARCIA                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247248 JOSE E REYES RODRIGUEZ                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247249 JOSE E RIBAS SALVAT                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247250 JOSE E RIOS CASTILLO                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247251 JOSE E RIOS DIAZ                              REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247252 JOSE E RIOS LOPEZ                             REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247253 JOSE E RIOS MARTINEZ                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683651 JOSE E RIOS SOTO                              PO BOX 4654                                                                                                       AGUADILLA         PR         00605
  247254 JOSE E RIVAS BURGOS                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683652 JOSE E RIVAS CINTRON                          18 CALLE JOSE VALIENTE                                                                                            COROZAL           PR         00783
  683653 JOSE E RIVERA                                 E37 CALLE ACACIA          ECHEVARRIA                                                                              CAYEY             PR         00736
  247256 JOSE E RIVERA ANTUNA                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683654 JOSE E RIVERA BAEZ                            VILLA PALMERAS            256 CALLE CASTRO VINAS                                                                  SAN JUAN          PR         00912
  683655 JOSE E RIVERA CRUZ                            HC 1 BOX 5379                                                                                                     BARRANQUITAS      PR         00794
  247258 JOSE E RIVERA ERAZO                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247259 JOSE E RIVERA GARCES                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247260 JOSE E RIVERA GONZALEZ                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         JOSE E RIVERA GONZALEZ/R & R
  247261 CONSULTORES                                   EL CEREZAL                1714 ORINOCO                                                                            SAN JUAN          PR         00926
  247262 JOSE E RIVERA LLERA                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683657 JOSE E RIVERA LOPEZ                           HC 71 BOX 4100                                                                                                    NARANJITO         PR         00719
  247263 JOSE E RIVERA LUGO                            REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683659 JOSE E RIVERA MILAN                           URB VICTOR BRAEGGER       9 CALLE BRAEGGER                                                                        GUAYNABO          PR         00966
  683660 JOSE E RIVERA OSORIO                          URB EL COMANDANTE 965     CALLE A DE LOS REYES                                                                    SAN JUAN          PR         00924
  247264 JOSE E RIVERA OTERO                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683661 JOSE E RIVERA PADRO                           URB RIO AMAZONA SUR       E 26 CALLE B                                                                            BAYAMON           PR         00961
  247266 JOSE E RIVERA PEREZ                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                       LA TORRE DE PLAZA LAS     525 FD ROOSEVELT AVE SUITE
   683662 JOSE E RIVERA REYES                          AMERICAS                  903                                                                                     SAN JUAN          PR         00918‐8058
   247267 JOSE E RIVERA RIVERA                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683663 JOSE E RIVERA RODRIGUEZ                      PMB 324 PO BOX 70344                                                                                              SAN JUAN          PR         00936‐8344
   247268 JOSE E RIVERA ROSA                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683665 JOSE E RIVERA SAEZ                           HC 2 BOX 6341                                                                                                     BARRANQUITAS      PR         00794
   247269 JOSE E RIVERA SANTANA                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247270 JOSE E RIVERA SANTIAGO                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683666 JOSE E RIVERA SEPULVEDA                      CC 14 CALLE AGUEYBANA     PARQUE DEL MONTE                                                                        CAGUAS            PR         00725
   683667 JOSE E RIVERA SOTO                           HC 1 BOX 4159                                                                                                     LARES             PR         00669
          JOSE E RIVERA SUAREZ/
   247271 RENEWABLE SOLUTION                           PO BOX 1025                                                                                                       AIBONITO          PR         00705‐1025
   683670 JOSE E ROBERT COLON                          RAMEY                     114 CALLE KING                                                                          AGUADILLA         PR         00603‐1510
   683671 JOSE E ROBLES CARDONA                        PO BOX 1631                                                                                                       MANATI            PR         00674
   247272 JOSE E ROBLES QUINONES                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683674 JOSE E RODRIGUEZ                             PO BOX 845                                                                                                        BARRANQUITAS      PR         00794
   683676 JOSE E RODRIGUEZ ALERS                       HC 01 BOX 4403                                                                                                    LAS MARIAS        PR         00670
   247276 JOSE E RODRIGUEZ APONTE                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247278 JOSE E RODRIGUEZ BOU                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247279 JOSE E RODRIGUEZ CORA                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247280 JOSE E RODRIGUEZ CUEVAS                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247281 JOSE E RODRIGUEZ ESPINO                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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MML ID                    NAME                                 ADDRESS 1                      ADDRESS 2              ADDRESS 3                           ADDRESS 4              CITY          STATE   POSTAL CODE        COUNTRY

   683677 JOSE E RODRIGUEZ GONZALEZ                   BOX 347                                                                                                        HORMIGUEROS         PR           00660
   683678 JOSE E RODRIGUEZ GUZMAN                     PO BOX 192155                                                                                                  SAN JUAN            PR           00919‐2155

   247283 JOSE E RODRIGUEZ QUINONES                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247284 JOSE E RODRIGUEZ RAMOS                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680831 JOSE E RODRIGUEZ RIVERA                     PO BOX 9490                                                                                                    BAYAMON             PR           00960
   683682 JOSE E RODRIGUEZ SANTIAGO                   P O BOX 537                                                                                                    CIALES              PR           00638
          JOSE E RODRIGUEZ TCC JOSE E
   683683 RODRIGUEZ                                   JARDINES DE LOIZA APT 40     BOX 117 CALLE 188                                                                 LOIZA               PR           00772
   247285 JOSE E RODRIGUEZ TORRES                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247286 JOSE E RODRIGUEZ VARELA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE E RODRIGUEZ Y MYRNA
   247287 HUAMANI                                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683684 JOSE E ROLDAN                               PO BOX 21365                                                                                                   SAN JUAN            PR           00928
   247289 JOSE E ROMAN PEREZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247290 JOSE E ROMERO                               REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247291 JOSE E ROMERO AYALA                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247292 JOSE E ROMERO GARCIA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247293 JOSE E ROSADO CRUZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683691 JOSE E ROSADO HERNANDEZ                     P O BOX 2103                                                                                                   CAYEY               PR           00737
   247296 JOSE E ROSADO VEGA                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247297 JOSE E ROSARIO                              REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247298 JOSE E ROSARIO COLON                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247299 JOSE E ROSARIO DE JESUS                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683693 JOSE E ROSARIO SANTIAGO                     BOX 1451                                                                                                       COROZAL             PR           00783
   683694 JOSE E ROSARIO SANTOS                       PO BOX 653                                                                                                     CIALES              PR           00638
          JOSE E ROSARIO Y ARACELIS
   247300 MARTINEZ                                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      CARR 3349 KM 5.6 BO LAS
   683695 JOSE E ROSAS GALLOZA                        MESAS                                                                                                          MAYAGUEZ            PR           00680
   247302 JOSE E ROVIRA BURSET                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   683696 JOSE E RUIZ LOPEZ                           A N 69 ENCANTADA ARTILLANA                                                                                     TRUJILLO ALTO       PR           00976
   247303 JOSE E RUIZ SANTIAGO                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247304 JOSE E RUIZ VEGA                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683698 JOSE E SAGARDIA DE JESUS                    PO BOX 361527                                                                                                  SAN JUAN            PR           00936‐1527
   247305 JOSE E SANCHEZ                              REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683700 JOSE E SANCHEZ DOMINGUEZ                    HC 3 BOX 10912                                                                                                 JUANA DIAZ          PR           00625
   683701 JOSE E SANCHEZ FLORES                       URB UNIVERSITY GARDENS       272 CALLE HARVARD                                                                 SAN JUAN            PR           00927
   247306 JOSE E SANCHEZ HERNANDEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247307 JOSE E SANCHEZ LOPERENA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680833 JOSE E SANTANA RODRIGUEZ                    HC 3 BOX 13263                                                                                                 JUANA DIAZ          PR           00795‐9512
   247308 JOSE E SANTIAGO CARDONA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE E SANTIAGO
   683703 CONSTRUCTION                                CIUDAD MASSO                 G 37 CALLE 15                                                                     SAN LORENZO         PR           00754
   247309 JOSE E SANTIAGO CRUZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247310 JOSE E SANTIAGO DE LEON                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   683704 JOSE E SANTIAGO MALDONADO                   HC 20 BOX 26307                                                                                                SAN LORENZO         PR           00754
   247311 JOSE E SANTIAGO OSORIO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247312 JOSE E SANTIAGO PACHECO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683706 JOSE E SANTIGO GARCIA                       URBEL ROSARIO 11             T 15 CALLE J                                                                      VEGA BAJA           PR           00693



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MML ID                NAME                                       ADDRESS 1                    ADDRESS 2               ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  683707 JOSE E SANTIGO SANCHEZ                        P O BOX 460                                                                                                    FLORIDA           PR         00650
  683708 JOSE E SANTINI VALIENTE                       PO BOX 20000 PMB 491                                                                                           CANOVANAS         PR         00729
  247315 JOSE E SANTOS DEL VALLE                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247316 JOSE E SANTOS RODRIGUEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247318 JOSE E SCHELMETY HOLVINO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247319 JOSE E SEDA MERCADO                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683709 JOSE E SEGARDIA DE JESUS                      PO BOX 361527                                                                                                  SAN JUAN          PR         00936‐1527
  683710 JOSE E SEPULVEDA VARGAS                       HC 1 BOX 7461                                                                                                  LAJAS             PR         00667‐9705
  247320 JOSE E SERRANO MUNOZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247321 JOSE E SERRANO OTERO                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683711 JOSE E SILVA RAMOS                            VILLA DE TORRIMAR           CALLE REINA                                                                        GUAYNABO          PR         00969
  683712 JOSE E SIMONPIETRI REYES                      PO BOX 9021749                                                                                                 SAN JUAN          PR         00902‐1749
  683713 JOSE E SMITH JORGE                            RR 2 BOX 4102                                                                                                  TOA ALTA          PR         00953
  683714 JOSE E SOLER OCHOA                            PO BOX 195357                                                                                                  SAN JUAN          PR         00919‐5357
  683716 JOSE E SOLER ZAPATA                           EXTENSION SANTA MARIA       9 CALLE MALVA                                                                      SAN JUAN          PR         00927
  247322 JOSE E SOTO RODRIGUEZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247323 JOSE E SOTO ROSARIO                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247324 JOSE E SUEIRAS RUIZ                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683719 JOSE E TOLOSA AGUILAR                         255 MASS AVE APT 1015                                                                                          BOSTON            MA         02115
  247325 JOSE E TOLOSA GOMEZ                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247326 JOSE E TORO MELENDEZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247327 JOSE E TORO RENTAS                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247328 JOSE E TORRES                                 REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683721 JOSE E TORRES / AREVOL INC                    BO ISLOTE II                PARC 105 CALLE 7                                                                   ARECIBO           PR         00612
  683722 JOSE E TORRES ALIER                           65 INFANTERIA 410                                                                                              PE¥UELAS          PR         00624
  247329 JOSE E TORRES GONZALEZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247330 JOSE E TORRES PADILLA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247331 JOSE E TORRES SANTIAGO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247332 JOSE E TORRES SUAREZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  683723 JOSE E TORRES TORRES                          URB BELLA VISTA             N 9 CALLE 16                                                                       BAYAMON           PR         00957
  247333 JOSE E TORRES VELEZ                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247334 JOSE E TORRES ZAMORA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   247335 JOSE E TORRES/ JOSE O TORRES                 REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247336 JOSE E TORRON MARTINEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247337 JOSE E TOSADO                                REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247339 JOSE E VALDES GUZMAN                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683725 JOSE E VALENTIN MORALES                      PO BOX 895                                                                                                     ARROYO            PR         00714
   247340 JOSE E VALENTIN VARGAS                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247341 JOSE E VALLADARES VARGAS                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247342 JOSE E VALLE FELICIANO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                       URB EL BOSQUE 3081 C/BUENOS
   683726 JOSE E VALLE SANJORGE                        AIRES                       ES                                                                                 PONCE             PR         00717‐1624
   247343 JOSE E VALLE SUAZO                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247344 JOSE E VARGAS BADILLO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683728 JOSE E VAZQUEZ COLLAZO                       PO BOX 34150                                                                                                   FORT BUCHANAN     PR         00934
   247345 JOSE E VAZQUEZ GONZALEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247346 JOSE E VAZQUEZ LEON                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247347 JOSE E VAZQUEZ NEGRON                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683729 JOSE E VAZQUEZ ORTIZ                         11121 SITTING PLACE                                                                                            ORLANDO           FL         32825
   247348 JOSE E VAZQUEZ RIVERA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   683730 JOSE E VAZQUEZ ROSALES                       URB PARK GARDENS            H 19 CALLE EVERGLADES                                                              SAN JUAN          PR         00926
   247349 JOSE E VAZQUEZ SALANO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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                                                                                                                             Exhibit E
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MML ID               NAME                                         ADDRESS 1                   ADDRESS 2                      ADDRESS 3                           ADDRESS 4              CITY       STATE     POSTAL CODE       COUNTRY
  247350 JOSE E VAZQUEZ TORRES                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOSE E VEGA /DBA/ COOL AIR
  247351 CONDITIONING                                  COND LA ALBORADA APT 1611                                                                                             BAYAMON             PR         00959
  247353 JOSE E VEGA CARBONELL                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  683731 JOSE E VEGA VELAZQUEZ                         HC03 BOX 5533                                                                                                         HUMACAO             PR         00791

   247355 JOSE E VELAZQUEZ RODRIGUEZ                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683732 JOSE E VELAZQUEZ RUIZ                        P O BOX 560169                                                                                                        GUAYANILLA          PR         00656
   683733 JOSE E VELEZ VELEZ                           PO BOX 1433                                                                                                           TOA BAJA            PR         00951
   683734 JOSE E VIANA RIVERA                          URB REPARTO VALENCIA        H11 CALLE AMAPOLA                                                                         BAYAMON             PR         00959
   683735 JOSE E VIERAS V. R                           URB MONTE BRISAS            R‐6 CALLE 106 ‐3                                                                          FAJARDO             PR         00738
   247356 JOSE E VILA BARNES                           REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247357 JOSE E VILELA GAY                            REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683739 JOSE E VILLANUEVA SOLANO                     P O BOX 403                                                                                                           TOA BAJA            PR         00951

   683740 JOSE E VIVES VILLALI                         LOS CAOBOS                  R14 CALLE 10 URB LOS CAOBOS                                                               PONCE               PR         00731
   247358 JOSE E YAMBO RUIZ                            REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247359 JOSE E. BARRETO RIOLLANO                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247360 JOSE E. BRAVO                                REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247362 JOSE E. CANCEL CATALA                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683743 JOSE E. CANGIANO & ASSOC.                    PO BOX 109                                                                                                            PONCE               PR         00732
   247363 JOSE E. CENTENO AVILES                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247364 JOSE E. CLAUDIO VILLAFANE                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683745 JOSE E. COTTO VARGAS                         PO BOX 4214                                                                                                           CAROLINA            PR         00984
          JOSE E. DAMIANI DBA NEW                      P. O. BOX 6406 SANTA ROSA
   247365 ENVIRONMENT COMP                             UNIT                                                                                                                  BAYAMON             PR         00692‐0000
   247366 JOSE E. DIAZ MARTINEZ                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247367 JOSE E. DIAZ ROSA                            REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247368 JOSE E. FIGUEROA DELGADO                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   683746 JOSE E. FRATICELLI HERNANDEZ                 URB. ALTURAS DE BAYAMON     CALLE F NUM. 58                                                                           BAYAMON             PR         00956
   247369 JOSE E. GARCIA LOPEZ                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247371 JOSE E. GONZALEZ                             REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247372 JOSE E. GONZALEZ FALCON                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247373 JOSE E. HERNANDEZ SANCHEZ                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247374 JOSE E. IBANEZ MORALES                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683749 JOSE E. JANER VELAZQUEZ                      PO BOX 367                                                                                                            CAGUAS              PR         00726
   247375 JOSE E. LLINAS MESSEGUER                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247376 JOSE E. LUGO BERNIER                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                   J9 CALLE SANT ISBL URB SANTA
   683750 JOSE E. MALDONADO CASTRO                     SANTA ELVIRA                ELVIRA                                                                                    CAGUAS              PR         00725
   683752 JOSE E. MENDOZA RIVERA                       PO BOX 363031                                                                                                         SAN JUAN            PR         00936
   247377 JOSE E. MERCADO GINORIO                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   247378 JOSE E. MORALES HERNANDEZ                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247379 JOSE E. MUðIZ MORALES                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247383 JOSE E. ORTIZ DELGADO                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247385 JOSE E. PANTOJA AYENDE                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683755 JOSE E. PORTALS RAMOS                        PO BOX 461                                                                                                            CAGUAS              PR         00726
   683756 JOSE E. RIVERA                               PO BOX 160                                                                                                            AIBONITO            PR         00705
   683757 JOSE E. RIVERA RODRIGUEZ                     JARD. DE CAROLINA           D‐28 CALLE D                                                                              CAROLINA            PR         00987‐7115
   683758 JOSE E. RIVERA VAZQUEZ                       RES. VARONES S.J.                                                                                                     Hato Rey            PR         009360000
   683759 JOSE E. ROBLES ROSARIO                       APARTADO 5651                                                                                                         MOROVIS             PR         00687



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MML ID                NAME                                     ADDRESS 1                  ADDRESS 2              ADDRESS 3                           ADDRESS 4               CITY        STATE    POSTAL CODE       COUNTRY
  683760 JOSE E. ROMERO LOPEZ                         PO BOX 577                                                                                                 ISABELA              PR         00662
  247386 JOSE E. ROSA SOTOMAYOR                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   247387 JOSE E. SANCHEZ GASTALITURRI                REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   683762 JOSE E. SANTOS MARTINEZ                     P O BOX 9023899                                                                                            SAN JUAN             PR         00902‐3899
   247388 JOSE E. SILVA RIVERA                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247389 JOSE E. TORRES FIGUEROA                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247390 JOSE E. TORRES GUZMAN                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247392 JOSE E. VALENTIN MERCADO                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   247393 JOSE E. VALENZUELA ALVARADO REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247396 JOSE E.CRUZ RIVERA          REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247397 JOSE E.VAZQUEZ PEREZ        REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   683764 JOSE ECHEVARRIA RODRIGUEZ                   URB JAIME L DREW         303 CALLE 3                                                                       PONCE                PR         00731

   247399 JOSE EDGARDO RIVERA BANCHS                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JOSE EDIBERTO BUJOSA
   247400 GONZALEZ                                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JOSE EDUARDO GONZALEZ
   683765 GUMAN                                       HC‐2 BOX‐11155                                                                                             QUEBRADILLA          PR         00678
          JOSE EDUARDO NAZARIO
   247401 BONILLA                                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   247402 JOSE EFRAIN ROMAN FELICIANO REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   683766 JOSE EFRAIN URBINA          URB SANTA MONICA                         B 31 CALLE 2                                                                      BAYAMON              PR         00957
   247403 JOSE ELIAS VEGA RUIZ        REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   683767 JOSE EMANUEL RAMOS SEGARRA URB VILLA SERAL                           A 8 BAJADERO                                                                      LARES                PR         00669
   683768 JOSE EMILIO GONZALEZ       15 ALTURAS DEL PARAISO                                                                                                      ARECIBO              PR         00614‐0976
          JOSE EMMNAUEL CARABALLO
   247405 BROOKS                     REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   683769 JOSE ENCARNACION           PO BOX 51032                                                                                                                LEVITTOWN            PR         00950
   683770 JOSE ENCARNACION COSS      HC 03 BOX 18314                                                                                                             RIO GRANDE           PR         00745‐9718
          JOSE ENCARNACION JIMENEZ
   683771 RAMOS                      HC 1 BOX 5437                                                                                                               CAMUY                PR         00627
   683772 JOSE ENRIQUE APONTE PUIG   URB VILLA CALIZ 1                         3 CALLE VERDAD                                                                    CAGUAS               PR         00725
   683773 JOSE ENRIQUE ARRARAS MIR   HC 03 BOX 13654                                                                                                             UTUADO               PR         00641

   247407 JOSE ENRIQUE CRUZ FONTANEZ                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   680834 JOSE ENRIQUE CRUZ ROSADO                    URB JARDINES DE ARROYO   X 28 CALLE X                                                                      ARROYO               PR         00784
          JOSE ENRIQUE GONZALEZ
   247408 MORENO                                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JOSE ENRIQUE LORENZO
   247411 BARRETO                                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JOSE ENRIQUE MELENDEZ
   683774 MELENDEZ                                    URB EL ROSARIO II        S 41 CALLE E                                                                      VEGA BAJA            PR         00693

   683776 JOSE ENRIQUE ROSARIO LOPEZ                  EMBALSE SAN JOSE         437 CALLE GIBRARTAL                                                               SAN JUAN             PR         00923
   683777 JOSE ENRIQUE ROUBELT                        GLENVIEW GDNS            Y21 CALLE N19                                                                     PONCE                PR         00731
          JOSE ENRIQUE SANCHEZ
   683778 MORALES                                     69 CALLE GEORGETTI                                                                                         NARANJITO            PR         00719




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   683779 JOSE ENRIQUE TALAVERA CRUZ PO BOX 362305                                                                                                                     SAN JUAN            PR           00936‐2305
          JOSE ENRIQUE ZELANTE
   683780 CICCHELLI                    SAB GARDENS                              20‐7 AVE SOUTH MAIN                                                                    CAROLINA            PR           00983
   247412 JOSE ERLYN PAGAN OLIVERAS    REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE ERNESTO BELAVAL
   247413 HERNANDEZ                    REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE ERNESTO FERNANDEZ
   247414 TORRES                       REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247415 JOSE ESCALERAS CLEMENTE      REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683781 JOSE ESCALONA ALMODOVAR      COLINAS METR                             R 3 CALLE TONTA                                                                        GUAYNABO            PR           00969
   247416 JOSE ESCOBAR ACEVEDO         REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE ESCRIBANO C/O LCDO JUAN
   683782 A NAVARRO                    P O BOX 253                                                                                                                     CAGUAS              PR           00726
                                       COND PORTALES DE PARQUE                  12 BLVD DE MEDIA LUNA APT
   680835 JOSE ESCUDERO CASTRILLO      ESCORIAL                                 2302                                                                                   CAROLINA            PR           00987
   247417 JOSE ESPADA ROLON            REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247421 JOSE ESTEVA MUNIZ            REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683783 JOSE ESTEVES                 PO BOX 2045                                                                                                                     ISABELA             PR           00662
   247422 JOSE ESTEVES MONTESINO       REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247423 JOSE ESTEVES MORENO          REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247424 JOSE ESTRADA ALMODOVAR       REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683785 JOSE F ACOSTA RODRIGUEZ      URB. LA QUINTA                           CALLE 3 E 22                                                                           YAUCO               PR           00698
   247426 JOSE F AGUILAR CANALES       REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683786 JOSE F ALICEA RODRIGUEZ      PO BOX 132                                                                                                                      GUAYAMA             PR           00785

   683787 JOSE F ALVARADO COLLAZO A/C                 FARM SERVICE AGENCY       HC 02 BOX 7473                                                                         OROCOVIS            PR           00720
   683788 JOSE F ALVAREZ                              URB LA GUADALUPE          0 34 SAN JUDAS                                                                         PONCE               PR           00731
   247427 JOSE F ALVAREZ IBANEZ                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683789 JOSE F APONTE HERNANDEZ                     PASEO DE LAS FLORES       32 CALLE ORQUIDEA                                                                      SAN LORENZO         PR           00754‐9662
   247428 JOSE F APONTE MERCADO                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683791 JOSE F APONTE RODRIGUEZ                     COND VISTA VERDE          APT C 154                                                                              SAN JUAN            PR           00924
   247429 JOSE F AROCHO LOPEZ                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      17 LAS MANSIONES DE SAN
   683792 JOSE F AVILES LAMBERTY                      MARTIN                                                                                                           SAN JUAN            PR           00924
   683793 JOSE F BAHAMONDE                            PLAZA DE LA FUENTE        1075 CALLE FINLANDIA                                                                   TOA ALTA            PR           00953
   247430 JOSE F BARBOSA BRANA                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247432 JOSE F BATISTA RIVERA                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   683794 JOSE F BATTISTINI RODRIGUEZ                 PO BOX 8855                                                                                                      PONCE               PR           00732
   683795 JOSE F BERMUDEZ NIEVES                      URB TOA ALTA HEIGHTS      51 CALLE 22                                                                            TOA ALTA            PR           00953
   247433 JOSE F BONILLA VILLAFANE                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247435 JOSE F BURGOS SANTIAGO                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247436 JOSE F CACERES CARDONA                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683797 JOSE F CARABALLO MAYMI                      PO BOX 561431                                                                                                    GUAYANILLA          PR           00656
   683798 JOSE F CARDONA MATOS                        PO BOX 9538                                                                                                      ARECIBO             PR           00613
   247437 JOSE F CARDONA ROIG                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247438 JOSE F CARDONA SONERA                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247439 JOSE F CARDONA VEGUET                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247440 JOSE F CARDOVA ITURREGUI                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683800 JOSE F CARMONA LONGO                        URB FAIRVIEW              N20 CALLE 21                                                                           SAN JUAN            PR           00926
   683801 JOSE F CARRERO PAGAN                        88 AVE CASTRO PEREZ                                                                                              SAN GERMAN          PR           00683
   247441 JOSE F CASTA FRIAS                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  683802 JOSE F CASTILLO SANTOS                       PO BOX 7126                                                                                                     PONCE            PR           00732
         JOSE F CHAVES CARABALLO PR
  247442 ATTORNEY &                                   COUNSELLORS AT LAW PSC    PO BOX 362122                                                                         SAN JUAN         PR           00936‐2122
  683803 JOSE F CINTRON FELICIANO                     URB RAMIREZ DE ARELLANO   7 CALLE ANTONIO PAOLI                                                                 MAYAGUEZ         PR           00682‐2412
  683804 JOSE F CINTRON SANTINI                       BO TOMAS DE CASTRO 1      HC 03 BOX 37656                                                                       CAGUAS           PR           00725 9716
  683805 JOSE F COLLAZO RIVERA                        PO BOX 1712                                                                                                     UTUADO           PR           00641‐1712
  683806 JOSE F COLON MARRERO                         JARDINES DE TOA ALTA      123 CALLE 5                                                                           TOA ALTA         PR           00953
  247444 JOSE F COLON MEDINA                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
  247445 JOSE F COLON ONEILL                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
  683807 JOSE F COLON SANCHEZ                         HC 01 BOX 1634                                                                                                  BOQUERON         PR           00622‐9703
  683808 JOSE F CRESPO AMADOR                         HC 4 BOX 17607                                                                                                  CAMUY            PR           00627
  247446 JOSE F CRESPO ENRIQUE                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
  683812 JOSE F CRUZ LOPEZ                            ALTAMIRA                  G 3 CALLE 6 BZN 42                                                                    LARES            PR           00669
  247448 JOSE F CRUZ ORTIZ                            REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
  683813 JOSE F CURET BORIAS                          PO BOX 368                                                                                                      PATILLAS         PR           00723‐0368
  683814 JOSE F DE COS COLLAZO                        HC 05 BOX 25439                                                                                                 CAMUY            PR           00627
  683815 JOSE F DETRES RODRIGUEZ                      PO BOX 9021112                                                                                                  SAN JUAN         PR           00902‐1112
  683816 JOSE F DIAZ DAVILA                           HC 83 BOX 7407                                                                                                  VEGA ALTA        PR           00692
  247450 JOSE F DOMENA RIOS                           REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   683817 JOSE F ECHEGARAY MARTINEZ                   URB EXT EL COMANDANTE     712 CALLE CALAIS                                                                      CAROLINA         PR           00982
   683818 JOSE F ECHEVARRIA LUGO                      PO BOX 560962                                                                                                   GUAYANILLA       PR           00656
   247451 JOSE F ESCOBAR MACHIN                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   247452 JOSE F ESPADA COLON                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   683819 JOSE F ESTEVES VERDIA                       URB GARDENS VILLE         B 14 CALLE BRAZIL                                                                     GUAYNABO         PR           00966
   683821 JOSE F FERREIRA SANTOS                      CARR 185 KM 3 1                                                                                                 CANOVANAS        PR           00729
   683823 JOSE F FIGUEROA FIGUEROA                    HC 1 BOX 8581                                                                                                   LUQUILLO         PR           00773
   683824 JOSE F FIGUEROA MONELL                      P O BOX 9023026                                                                                                 SAN JUAN         PR           00902
   247454 JOSE F FIGUEROA VAZQUEZ                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   683825 JOSE F FLORES DIAZ                          SABANA ENEAS              384 CALLE 13                                                                          SAN GERMAN       PR           00683
   683826 JOSE F FLORES MONTA EZ                      PO BOX 70158                                                                                                    SAN JUAN         PR           00936
   683827 JOSE F FONTAN RIVERA                        PO BOX 674                                                                                                      MOROVIS          PR           00687
   247456 JOSE F FORINA                               REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   683828 JOSE F FUSSA SOLER                          URB LAS LOMAS             1763 CALLE 12                                                                         SAN JUAN         PR           00921
   683829 JOSE F GARCIA                               HC 02 BOX 11644                                                                                                 YAUCO            PR           00698
   683832 JOSE F GOMEZ APONTE                         SAN GERARDO               326 CALLE NEVADA                                                                      SAN JUAN         PR           00926
   683833 JOSE F GONZALEZ                             48 EXT PUNTA PALOMA                                                                                             BARCELONETA      PR           00617
   683834 JOSE F GONZALEZ ARVELO                      URB VILLA CAROLINA        BLQ 226 1 CALLE 606                                                                   CAROLINA         PR           00987
   247458 JOSE F GONZALEZ GUZMAN                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   247459 JOSE F GONZALEZ RODRIGUEZ                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   683836 JOSE F GUZMAN GONZALEZ                      URB LOS MAESTROS          33 CALLE A                                                                            RIO GRANDE       PR           00745
   683837 JOSE F IRIZARRY                             PO BOX 227                                                                                                      LARES            PR           00669
   683838 JOSE F IRIZARRY REBOYRAS                    URB EL CORTIJO            AH 7 C/ 25                                                                            BAYAMON          PR           00956
   247460 JOSE F JOSE SIRI                            REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   247461 JOSE F LOMENA TRIGO                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   247462 JOSE F LOPEZ FRATICELLI                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
                                                      TUTOR/RAMONITA CORREA
   683842 JOSE F LOPEZ MONTA¥EZ                       VAZQUEZ                   VICTORIA SHOPPING CENTER   BOX 3974                                                   BAYAMON          PR           00957
   247463 JOSE F LOPEZ ROSA                           REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   683843 JOSE F LUGO ACOSTA                          PO BOX 2322                                                                                                     SAN GERMAN       PR           00683
   247464 JOSE F LUGO RIVERA                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   247465 JOSE F MALDONADO MOLL                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED



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                                                      CALLE GENERALIFE EDIF
   683844 JOSE F MARIANI                              GENERALIFE                APT 102 JARDINES FAGOT                                                                   PONCE               PR           00731
   247466 JOSE F MARTINEZ GONZALEZ                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247467 JOSE F MARTINO MARTINO                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247469 JOSE F MENDEZ NUNEZ                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683848 JOSE F MOLINA FERNANDEZ                     URB VALENCIA              320 CALLE CACERES                                                                        SAN JUAN            PR           00923
   247470 JOSE F MONTERO BELLO                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247471 JOSE F MORALES FIGUEROA                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683849 JOSE F MORALES MOLTALVO                     URB BUENA VENTURA         6006 CALLE CAPULIN                                                                       MAYAGUEZ            PR           00680‐1275
   247473 JOSE F MORELL CHICO                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247474 JOSE F MUNOZ ALVERIO                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247475 JOSE F MUNOZ ARES                           REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683850 JOSE F NATER GARCIA                         REPARTO FLAMINGO          I 32 SULTANA DEL OESTE                                                                   BAYAMON             PR           00959
   683851 JOSE F NATER SANCHEZ                        URB SUMMIT HILLS          564 CALLE YUNQUE                                                                         SAN JUAN            PR           00920
   247476 JOSE F NAZARIO CRUZ                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247477 JOSE F NAZARIO NAZARIO                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE F NAZARIO RIVERA & LCDO
   683853 NEFTALI                                     FUSTER GONZALEZ           P O BOX 20225                 RIO PIEDRAS STATION                                        SAN JUAN            PR           00928‐0225
   683854 JOSE F NEGRON SANTIAGO                      HC 01 BOX 31015                                                                                                    JUANA DIAZ          PR           00795‐9536
   683856 JOSE F OGANDO MATIAS                        TORRES DE ANDALUCIAS      TORRES 11 APT 602                                                                        SAN JUAN            PR           00924
   247478 JOSE F ORAMAS QUINONES                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247479 JOSE F ORTIZ CALDERO                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683857 JOSE F ORTIZ POMALES                        169 PARCELAS JAUCA                                                                                                 SANTA ISABEL        PR           00757
   247480 JOSE F PACHECO NEGRON                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683859 JOSE F PADILLA RODRIGUEZ                    PO BOX 396                                                                                                         CAGUAS              PR           00726
   247481 JOSE F PAGAN SANCHEZ                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247483 JOSE F PARES VAZQUEZ                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE F PASTRANA DBA PROD
   247484 CRIOLLO                                     PO BOX 517                                                                                                         CIDRA               PR           00739
   683861 JOSE F PEREZ GOMEZ                          PO BOX 8681                                                                                                        PONCE               PR           00732
   247485 JOSE F PEREZ RODRIGUEZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683863 JOSE F PICO BAUERMEISTER                    PO BOX 2897                                                                                                        BAYAMON             PR           00960
   683864 JOSE F PIZARRO YEAMPIERRE                   URB METROPOLIS 4TA SECC   H1‐22 CALLE 1                                                                            CAROLINA            PR           00987
   683865 JOSE F POMALES RODRIGUEZ                    SOLAR 53 COM PLACITA 3                                                                                             JUNCOS              PR           00777
   247487 JOSE F PUEYO FONT                           REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247488 JOSE F QUINONES SOTO                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   247489 JOSE F QUINONEZ RODRIGUEZ                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683866 JOSE F RALAT AVILES                         BO ANGELES                PO BOX 225                                                                               ANGELES             PR           00611
   683867 JOSE F RAMIREZ VELAZQUEZ                    BO QUEBRADA NEGRITO       CALLE 7 CARR 18 KM 112                                                                   TRUJILLO ALTO       PR           00976
   247492 JOSE F RAMOS RODRIGUEZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247493 JOSE F RIJOS APONTE                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683870 JOSE F RIOS HERNANDEZ                       P O BOX 4395                                                                                                       CAROLINA            PR           00984

   683871 JOSE F RIVERA                               VILLA GRILLASCA           P B 18 CALLE FEDERICO RAMOS                                                              PONCE               PR           00731

   683872 JOSE F RIVERA ACEVEDO                       URB PQUE CENTRAL          398 CALLE RODRIGO DE TRIANA                                                              SAN JUAN            PR           00918
   683873 JOSE F RIVERA CURET                         HC 01 BOX 3647                                                                                                     LAS MARIAS          PR           00670
   247495 JOSE F RIVERA DEL VALLE                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247496 JOSE F RIVERA DIAZ                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247497 JOSE F RIVERA MARTINEZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683874 JOSE F RIVERA MEDINA                        PO BOX 1137                                                                                                        JUNCOS              PR           00777
   247498 JOSE F RIVERA VALENTIN                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  247499 JOSE F RIVERA VELEZ                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   683876 JOSE F RODRIGUEZ CAMACHO                     COM PROVIDENCIA             PARCELA 12 C                                                                      PATILLAS            PR         00723
   247500 JOSE F RODRIGUEZ CASIANO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247501 JOSE F RODRIGUEZ CORDERO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247502 JOSE F RODRIGUEZ DONES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247503 JOSE F RODRIGUEZ RAMIREZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247504 JOSE F RODRIGUEZ RAMOS                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247505 JOSE F RODRIGUEZ RIVERA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   683878 JOSE F RODRIGUEZ ROMAN                       COND PASEO DEGETAU APT 1902                                                                                   CAGUAS              PR         00725
   247507 JOSE F RODRIGUEZ SOTO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683879 JOSE F RODRIQUEZ MOJICA                      URB RIO PIEDRAS HEIGHTS     129 CALLE YAGUEZ                                                                  SAN JUAN            PR         00926‐3102
   683880 JOSE F ROLON ORTIZ                           VILLA EVANGELINA            F 52 CALLE 5                                                                      MANATI              PR         00674
   683881 JOSE F ROMAN DELGADO                         PO BOX 372                                                                                                    GURABO              PR         00737
   683882 JOSE F ROMAN REYES                           HC 03 BOX 32962             BO AIBONITO                                                                       HATILLO             PR         00659
   683883 JOSE F ROMERO SERRANO                        BO MARTIN GLEN              K0H9                                                                              CAROLINA            PR         00985
   247508 JOSE F ROSA ROSA                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683886 JOSE F RUIZ ORONOZ                           P O BOX 3052                                                                                                  YAUCO               PR         00698
   683887 JOSE F RUIZ RAMOS                            PO BOX 207                                                                                                    CAMUY               PR         00627
   247512 JOSE F SANTIAGO OSORIO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683888 JOSE F SANTONI                               ALT DE AGUADA               D 47 CALLE D                                                                      AGUADA              PR         00602‐2706
   683889 JOSE F SANTOS GONZALEZ                       PO BOX 528                                                                                                    SABANA SECA         PR         00952‐0528
   247513 JOSE F SANTOS LOPEZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247514 JOSE F SANTOS NARVAEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683890 JOSE F SOBERAL VELEZ                         HC 4 BOX 17642                                                                                                CAMUY               PR         00627
   247516 JOSE F SOTO CHARRAIRE                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   683891 JOSE F SOTOMAYOR MARTINEZ                    BO BUENA VISTA              110 CALLE CAPISFALLY                                                              MAYAGUEZ            PR         00680
   247517 JOSE F TELLO COLLI                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247518 JOSE F TIRADO TORRES                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683892 JOSE F TORO                                  PO BOX 977                                                                                                    SAN GERMAN          PR         00683‐0977
   247519 JOSE F TORRES RODRIGUEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247520 JOSE F UMPIERRE RIVERA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE F VALLE FERNANDEZ / JAG
   247521 ENGINEERS                                    P O BOX 64                                                                                                    HORMIGUEROS         PR         00660
   247522 JOSE F VARGAS CRUZ                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247523 JOSE F VEGA CAPELES                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683894 JOSE F VEGA COSME                            BO TIBES SECT LA ZARZA      CARR 503 KM 8 2                                                                   PONCE               PR         00731
   247524 JOSE F VEGA DIAZ                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683897 JOSE F VEGA RODRIGUEZ                        5 B ALTURAS DE CIALES                                                                                         CIALES              PR         00638

   683898 JOSE F VELAZQUEZ HERNANDEZ                   URB VILLA ANDALUCIA         R 7 CALLE FIGUERAS                                                                SAN JUAN            PR         00926
   683899 JOSE F VELAZQUEZ IRIZARRY                    URB SANTA ELENA             2 B19 CALLE 1                                                                     GUAYANILLA          PR         00656
   683900 JOSE F VELAZQUEZ LOPEZ                       URB VILLA BORINQUEN         H 2 CALLE CEMI                                                                    CAGUAS              PR         00725
   683902 JOSE F VIENTOS ORTIZ                         HC 01 BOX 5617              HATO NUEVO                                                                        GUAYNABO            PR         00971
   683903 JOSE F VILA MENDEZ                           URB SEVILLA BILTMORE E 38                                                                                     GUAYNABO            PR         00969
   683904 JOSE F ZAYAS RIVERA                          G P O BOX 89                                                                                                  MAUNABO             PR         00707
   683905 JOSE F ZAYAS ROSADO                          URB VENUS GARDENS           723 ASTEER                                                                        SAN JUAN            PR         00926
   247526 JOSE F. BULGALA SAEZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247527 JOSE F. COLON BURGOS                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   247528 JOSE F. CONCEPCION VILLEGAS                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  247529 JOSE F. CRUZ LOPEZ                            REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   683906 JOSE F. DE LA CRUZ HERNANDEZ                 PO BOX 8951                                                                                                          CAGUAS              PR         00726
   247530 JOSE F. ELIZALDE SOSA                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683907 JOSE F. ESTEVES                              URB. GARDENS VILLE         B‐14 CALLE BRAZIL                                                                         GUAYNABO            PR         00966
   683908 JOSE F. FAJARDO APONTE                       PO BOX 11398                                                                                                         SAN JUAN            PR         00910
   683909 JOSE F. GONZALEZ ERO                         URB SANTA MARIA            20 PORTAL DE SANTA MARIA                                                                  SAN JUAN            PR         00927
   247531 JOSE F. GUZMAN GONZALEZ                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247532 JOSE F. HERRERA RODRIGUEZ                    REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247533 JOSE F. NATER GARCIA                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683915 JOSE F. NIEVES GUZMAN                        PO BOX 751                                                                                                           AGUAS BUENAS        PR         00703
   683917 JOSE F. OTERO MARRERO                        PO BOX 332                                                                                                           COROZAL             PR         00783
   683918 JOSE F. QUINTERO ALBERT                      URB BORINQUEN GDNS         AB3 CALLE POPPY                                                                           SAN JUAN            PR         00926
   247534 JOSE F. RAMIREZ PEREZ                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247536 JOSE F. RIVERA FIGUEROA                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247537 JOSE F. RIVERA GONZALEZ                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683919 JOSE F. RUIZ                                 PO BOX 214                                                                                                           CAROLINA            PR         00986
   247538 JOSE F. SALGADO                              REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683921 JOSE F. VAZQUEZ SANTIAGO                     BARRIO LLANOS DE SUR       CALLE JAZMIN 649               BUZON 38M B 540                                            COTO LAUREL         PR         00780
   247539 JOSE F.COTTO RIVERA                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247540 JOSE FACUNDO CALAFELT                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247544 JOSE FALERO VIERA                            REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE FAVIAN MELENDEZ
   247545 MALDONADO                                    REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683924 JOSE FCO CHAVES                              PO BOX 362122                                                                                                        SAN JUAN            PR         00936‐2122
   683925 JOSE FCO MATIAS MONROY                       P O BOX 1806                                                                                                         MAYAGUEZ            PR         00681
   683926 JOSE FEBRES DEL VALLE                        PO BOX 47                                                                                                            CAROLINA            PR         00986
   247546 Jose Feliciano                               REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683928 JOSE FELICIANO BITHORN                       URB CATALANA               G 8 CALLE 3                                                                               BARCELONETA         PR         00617
   683929 JOSE FELICIANO COLLAZO                       PO BOX 1471                                                                                                          HORMIGUEROS         PR         00660
   683930 JOSE FELICIANO FRANQUI                       HC 4 BOX 17123                                                                                                       CAMUY               PR         00627
   247548 JOSE FELICIANO RODRIGUEZ                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683931 JOSE FELIPE GARCIA                           48 CALLE CELIS AGUILERA                                                                                              JUNCOS              PR         00777
   683933 JOSE FELIX COLON LOPEZ                       PO BOX 3679                                                                                                          Bayamon             PR         00958‐3679
   683934 JOSE FELIX ORTIZ                             JARDINES DE GUAMANI        AA 8 CALLE 18                                                                             GUAYAMA             PR         00784
   683935 JOSE FELIX RAMIREZ RAMOS                     PO BOX 720                                                                                                           MAYAGUEZ            PR         00680‐0720
          JOSE FERDINAND GONZALEZ
   247549 JIMENEZ                                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE FERNANDEZ /JENNIFER                     COND LOS ALMENDROS PLAZA
   683936 MELENDEZ                                     APT 310                    703 CALLE EIDER                                                                           SAN JUAN            PR         00924

   247550 JOSE FERNANDEZ AGUAYO DIAZ                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683937 JOSE FERNANDEZ AMY                           JARDINES DE SAN BLAS       5 CALLE D                                                                                 COAMO               PR         00769
   247551 JOSE FERNANDEZ DE LEON                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683939 JOSE FERNANDEZ NATALIZIO                     VILLA NEVAREZ              1050 CALLE 12                                                                             SAN JUAN            PR         00927
   683940 JOSE FERNANDEZ ORTIZ                         REPARTO METROPOLITANO      972 CALLE 19 SE                                                                           SAN JUAN            PR         00921
   683942 JOSE FERNANDEZ SERRANO                       URB CIUDAD JARDIN          111 358 CALLE GRAN CAOBA                                                                  CANOVANAS           PR         00729‐2912
   247552 JOSE FERNANDEZ SOTO                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   683943 JOSE FERNANDEZ TOLEDO                        M 4 URB JESUS MARIA LAGO                                                                                             UTUADO              PR         00641
          JOSE FERNANDO SAVARIT DE LA
   683945 TORRE                                        HYDE PARK NORTE            271 CALLE ISABEL LA CATOLICA                                                              SAN JUAN            PR         00918‐4005
   683946 JOSE FERRARI INC                             PO BOX 6                                                                                                             AGUADILLA           PR         00605
   683947 JOSE FERRARI PEREZ                           PO BOX 988                                                                                                           AGUADILLA           PR         00605



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  683948 JOSE FERREIRA                                2901 SAINT ISABEL ST D                                                                                                TAMPA               FL           33607
  683949 JOSE FERRER                                  PO BOX 7126                                                                                                           PONCE               PR           00732
  683950 JOSE FERRER HERNANDEZ                        352 CALLE SANTA CECILIA                                                                                               SAN JUAN            PR           00912
  683951 JOSE FERRER PAZ                              BO PUNTAS                     HC 1 BOX 4350                                                                           RINCON              PR           00677
  683952 JOSE FIGUEROA                                PASEO DEL SOL                 235 CARMO ST                                                                            DORADO              PR           00646
                                                      URB VILLA CAROLINA 100 19
   683955 JOSE FIGUEROA BENITEZ                       CALLE 102                                                                                                             CAROLINA            PR           00985
   683957 JOSE FIGUEROA DE LEON                       BO DUQUE                      CALLE 8 BUZON 2061                                                                      NAGUABO             PR           00718
   247554 JOSE FIGUEROA GOMEZ                         REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JOSE FIGUEROA GONZALEZ/ JAN
   247555 CURET                                       REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   247556 JOSE FIGUEROA LOPEZ                         REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   683958 JOSE FIGUEROA PESQUERA                      HC 01 BOX 5654                                                                                                        CIALES              PR           00638
   247557 JOSE FIGUEROA QUIANES                       REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   247558 JOSE FIGUEROA RIVERA                        REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   683960 JOSE FIGUEROA RODRIGUEZ                     725 AVE BARBOSA                                                                                                       SAN JUAN            PR           00915
   683961 JOSE FIGUEROA ROSARIO                       URB LEVITTOWN AX 23           CALLE LEONOR                                                                            TOA BAJA            PR           00949
   247559 JOSE FIGUEROA SANTIAGO                      REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   247560 JOSE FIGUEROA VARGAS                        REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JOSE FIGUEROA/ JORGE
   247561 FIGUEROA /JOSE D                            REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   247562 JOSE FLORES ARRIAGA                         REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   683962 JOSE FLORES CAPELES                         URB LOS TAMARINDOS            H7                                                                                      SAN LORENZO         PR           00754
   247563 JOSE FLORES CARRION                         REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   683963 JOSE FLORES COLON                           URB LAGO HORIZONTE            A 4 CALLE 1                                                                             COTO LAUREL         PR           00780
   683964 JOSE FLORES MELEDEZ                         TMS 286 P O BOX 1283                                                                                                  SAN LORENZO         PR           00754
   247564 JOSE FLORES NUNEZ                           REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   683966 JOSE FLORES RIVERA                          BO GUAVATE 22550                                                                                                      CAYEY               PR           00736
   247565 JOSE FLORES RUIZ                            REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   247566 JOSE FLORES VAZQUEZ                         REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   683969 JOSE FONSECA GONZALEZ                       URB VILLA FONTANA 16 VIA 60                                                                                           CAROLINA            PR           00983
   247567 JOSE FONSECA VAZQUEZ                        REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   683971 JOSE FONT FRANK                             FLORAL PARK                   505 CALLE LUIS LLORENS TORRES                                                           SAN JUAN            PR           00917
   247568 JOSE FONT ZELINSKI                          REDACTED                      REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   247571 JOSE FONTANEZ ROMAN                         REDACTED                      REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   683972 JOSE FORTUNA VAZQUEZ                        ALTURAS DE MAYAQUEZ           J11 YAUREL                                                                              MAYAGUEZ            PR           00680
   247572 JOSE FRADERA                                REDACTED                      REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   683973 JOSE FRANCIS SANTOS                         PO BOX 29565                                                                                                          SAN JUAN            PR           00996
          JOSE FRANCISCO ACOSTA
   247573 MORALES                                     REDACTED                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   683974 JOSE FRANCISCO COLON OCASIO URB EXT LAS FLORES                            H 27 CALLE 4                                                                            JUANA DIAZ          PR           00795
          JOSE FRANCISCO MIRO
   680836 SANTIAGO                    RIVERSIDE PARK                                C 3 CALLE 4                                                                             BAYAMON             PR           00961
          JOSE FRANCISCO MONROIG
   247575 SALTAR                      REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JOSE FRANCISCO PASTRANA
   247576 FIGUEROA                    REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JOSE FRANCISCO PEREIRA
   683976 DAVILA                      CAMBRIDGE PARK                                A 4 AVE CHESTNUT HILL                                                                   SAN JUAN            PR           00926




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          JOSE FRANCISCO PIZARRO
   247577 RIVERA                                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247578 JOSE FRANCISCO REYES                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE FRANCISCO RODRIGUEZ
   247579 ALEMAN                                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   247580 JOSE FRANCISCO SIERRA ORTIZ                 REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683978 JOSE FRANCO GOMEZ                           PO BOX 11073                                                                                                SAN JUAN            PR           00910‐2173
   247581 JOSE FRONTERA FERNANDEZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247582 JOSE FUENTES                                REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247583 JOSE FUENTES COLON                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680837 JOSE FUENTES CRUZ                           PO BOX 612                                                                                                  VIEQUES             PR           00765‐0612
   683980 JOSE FUENTES DIAZ                           HC 2 BUZON 22915                                                                                            RIO GRANDE          PR           00745
   683981 JOSE FUENTES HERNANDEZ                      VIA EN RAMADA ENCANTADA   E R 1 ENTRE RIOS                                                                  TRUJILLO ALTO       PR           00936
   247584 JOSE FUENTES RODRIGUEZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247585 JOSE FULLANA MORALES                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683983 JOSE FUMERO TORRES                          HC 1 BOX 2673                                                                                               CABO ROJO           PR           00622
   683987 JOSE G ABUDO SANTIAGO                       BO MAMEYAL                68 CALLE EXT KENNEDY                                                              DORADO              PR           00646
   247586 JOSE G ACEVEDO JIMENEZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683988 JOSE G ALBIZU RIVERA                        HC 1 BOX 4444                                                                                               COROZAL             PR           00783
   683989 JOSE G ALCALA SANTOS                        PO BOX 50071                                                                                                SAN JUAN            PR           00902
   247587 JOSE G ALCAZAR RODRIGUEZ                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247588 JOSE G ALICEA GUZMAN                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE G ALVARADO / ZORAIDA
   683991 ALVARADO                                    109 CALLE SAN JOSE                                                                                          AIBONITO            PR           00705
   247589 JOSE G ALVARADO RIVERA                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247590 JOSE G ALVELO ARRIAGA                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683992 JOSE G APONTE DIAZ                          HC 2 BOX 8558                                                                                               COAMO               PR           00769
   247591 JOSE G APONTE RODRIGUEZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247592 JOSE G ARROYO GRAU                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247593 JOSE G ARROYO MERCADO                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247594 JOSE G ARROYO NOVOA                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247595 JOSE G AYALA MORENO                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247597 JOSE G BARALT MASINI                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   683995 JOSE G BARBOSA RODRIGUEZ                    HC 02 BOX 9111                                                                                              LAS MARIAS          PR           00670

   683996 JOSE G BERMUDEZ SEPULVEDA                   BO TANAMA                 CARR 526 K 10                                                                     ADJUNTAS            PR           00601
   683998 JOSE G BERRIOS VEGA                         URB REXVILLE              AG21 CALLE 53                                                                     BAYAMON             PR           00957

   247598 JOSE G CALDERON RODRIGUEZ                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247599 JOSE G CAMACHO CRESPO                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   247601 JOSE G CANDELARIO TORRELLAS REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   247602 JOSE G CARRERAS RODRIGUEZ                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   684000 JOSE G CASTILLO RODRIGUEZ                   URB SANTA ELENA           1 13 CALLE 13                                                                     GUAYANILLA          PR       00656 1417
   247604 JOSE G COLON LUPIANEZ                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   684001 JOSE G COLON ROSARIO                        URB VILLA MADRID          F 15 CALLE 7                                                                      COAMO               PR       00769
   247605 JOSE G COLON TEXIDOR                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   684003 JOSE G CORDERO JIMENEZ                      HC 01 BOX 5943                                                                                              CAMUY               PR       00627‐9110
   684004 JOSE G COSTA AGUILO                         URB VENUS GARDENS         1684 CALLE MORELIA                                                                SAN JUAN            PR       00926
   247607 JOSE G COTTO ORTIZ                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   684005 JOSE G CRESPO ROSADO                        22 ALTURAS DE CIBUCO                                                                                        COROZAL             PR       00783



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  247608 JOSE G DE COS CARRION                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247609 JOSE G DEYA MELENDEZ                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  684007 JOSE G DIAZ AMARO                            P O BOX 760                                                                                                      RIO GRANDE        PR         00745
  247610 JOSE G DIAZ LUQUE                            REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  684008 JOSE G DIAZ RAMOS                            URB SANTA JUANA 2             A‐26 CALLE 3                                                                       CAQUAS            PR         00725
  684010 JOSE G DIAZ VAZQUEZ                          RR 03 BOX 9518                                                                                                   TOA ALTA          PR         00953
  684011 JOSE G DUPREY RIVERA                         ANEXO S 110 VILLA BETANIA     BO BORINQUE                                                                        AGUADILLA         PR         00603
  247611 JOSE G ELLERBROCK JORGE                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247612 JOSE G ESPADA RIVERA                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247613 JOSE G FAGOT SUAREZ                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         JOSE G FELICIANO A/C CARMEN
  247614 QUINONES                                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  684013 JOSE G FLORES                                P O BOX 9022695                                                                                                  SAN JUAN          PR         00902
  684014 JOSE G FLORES CRUZ                           P O BOX 500                   CAJA 214                                                                           SAN GERMAN        PR         00683
  684015 JOSE G FLORES INC                            PO BOX 9022695                                                                                                   SAN JUAN          PR         00902‐2695
  684017 JOSE G FLORES OCASIO                         P O BOX 881                                                                                                      CAGUAS            PR         00725

   683985 JOSE G FUENTES MELENDEZ                     65 NORTE CALLE LUIS VENEGAS                                                                                      GUAYAMA           PR         00784
   247615 JOSE G GALINDO SANCHEZ                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247616 JOSE G GARCIA                               REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247617 JOSE G GARCIA BATISTA                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247618 JOSE G GARCIA LOPEZ                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684018 JOSE G GARCIA TALAVERA                      PASEO MONTE 902               381 AVE LAS CUMBRES                                                                SAN JUAN          PR         00926
   247619 JOSE G GONZALEZ                             REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684019 JOSE G GONZALEZ PALACIOS                    D 5 URB EXT SAN JOSE                                                                                             AIBONITO          PR         00705
   247620 JOSE G GONZALEZ SOTO                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247621 JOSE G GRATACOS NEGRON                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247622 JOSE G GUZMAN MORALES                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247623 JOSE G HERNANDEZ MUNOZ                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247624 JOSE G HERNANDEZ PENA                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247625 JOSE G HERNANDEZ ROSARIO                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684021 JOSE G HUERTAS RODRIGUEZ                    BO OLIMPO                     266 CALLE 2                                                                        GUAYAMA           PR         00784
   684023 JOSE G IZQUIERDO LABOY                      PO BOX 209                                                                                                       GUANICA           PR         00653
   684024 JOSE G LAUREANO HORNEDO                     P O BOX 101                                                                                                      BARCELONETA       PR         00617
   247626 JOSE G MAESO GONZALEZ                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247627 JOSE G MALAVE TORRES                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684026 JOSE G MARRERO LUNA                         HC 01 BOX 3021                                                                                                   BARRANQUITAS      PR         00794
   247628 JOSE G MARRERO RUIZ                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247629 JOSE G MARTINEZ RIVERA                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   684029 JOSE G MARTINEZ RODRIGUEZ                   URB LOS CANTIZALEZ            EDIF B1 A                                                                          SAN JUAN          PR         00926

   684030 JOSE G MATOS Y/O LUIS E JULIA               1202 CAPITAL CENTER SUR       239 AVE HOSTOS                                                                     SAN JUAN          PR         00918
   247630 JOSE G MAYO RAMIREZ                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247631 JOSE G MENDEZ CAMEL                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684031 JOSE G MIRANDA BERRIOS                      BOX 441                                                                                                          COMERIO           PR         00782
   247632 JOSE G MOLINARI FELICIANO                   REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   247633 JOSE G MONTALVO SANTIAGO                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247635 JOSE G MONTERO OLARTE                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247636 JOSE G MORENO ALAMO                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247637 JOSE G MUNOZ BATIZ                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684033 JOSE G NIEVES HERNANDEZ                     HC 4 BOX 46826                                                                                                   AGUADILLA         PR         00603



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  684034 JOSE G NIEVES MIRANDA                        COUNTRY CLUB                 953 CALLE TRIGUERO                                                                    SAN JUAN          PR         00924
  247639 JOSE G NUNEZ RODRIGUEZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  684035 JOSE G OLIVENCIA NAZARIO                     RES SABALOS GARDENS          EDIF 14 APTO 86                                                                       MAYAGUEZ          PR         00680
  684036 JOSE G ORTEGA SOLIS                          PO BOX 8103                                                                                                        ARECIBO           PR         00613
  247640 JOSE G ORTIZ COLON                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247641 JOSE G ORTIZ ORTOLAZA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247642 JOSE G PADIN CRUZ                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  684038 JOSE G PASTRANA ARZOLA                       URB JARDINES II              I 1 CALLE CLAVEL                                                                      CAYEY             PR         00736
  684039 JOSE G PEREZ CARRERO                         379 AVE ESTACION                                                                                                   ISABELA           PR         00662
  684040 JOSE G PEREZ JIMENEZ                         HC ‐2 BOX 9961                                                                                                     QUEBRADILLAS      PR         00678‐9704
  684041 JOSE G PEREZ NEVAREZ                         PO BOX 9021792                                                                                                     SAN JUAN          PR         00902‐1797

   684042 JOSE G PEREZ VAZQUEZ                        URB ROYAL TOWN CALLE 11 L3                                                                                         BAYAMON           PR         00956
   247644 JOSE G PINEIRO MATIAS                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684043 JOSE G PULICHINO GONZALEZ                   51 CALLE CARRERAS                                                                                                  HUMACAO           PR         00791
   247645 JOSE G QUINONES PALMERO                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   247646 JOSE G QUINONEZ CARABALLO                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684045 JOSE G RAMIREZ PEDRAZA                      BUZON 3463 CARR. 351                                                                                               MAYAGUEZ          PR         00682‐7835
   247649 JOSE G RAMOS RODRIGUEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247651 JOSE G RAMOS SANTIAGO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247652 JOSE G REYES SANABRIA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247653 JOSE G RIOS CHACON                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684047 JOSE G RIOS NEGRON                          PO BOX 1286                                                                                                        MOROVIS           PR         00687
   684048 JOSE G RIOS TORRES                          VILLA PALMERA                316 CALLE SALGADO                                                                     SAN JUAN          PR         00912
   684049 JOSE G RIVERA ACOSTA                        F D ROOSVELT                 147 COCO NUEVO                                                                        SALINAS           PR         00751
   684051 JOSE G RIVERA IRIZARRY                      BARRIADA FERRAN              32 CALLE B                                                                            PONCE             PR         00731
   247654 JOSE G RIVERA RODRIGUEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684055 JOSE G ROCHE MERCADO                        HC 3 BOX 11290                                                                                                     JUANA DIAZ        PR         00665

   247657 JOSE G RODRIGUEZ AHUMADA                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   683986 JOSE G RODRIGUEZ HERNANDEZ VENUS GARDENS                                 724 CALLE PIEDRAS NEGRAS                                                              SAN JUAN          PR         00926
   247658 JOSE G RODRIGUEZ MATOS     REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   684057 JOSE G RODRIGUEZ SANTIAGO                   HC 1 BOX 7965                                                                                                      HORMIGUEROS       PR         00660
   247659 JOSE G RODRIGUEZ SOTO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247660 JOSE G SAMOL COLLAZO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247661 JOSE G SANCHEZ CRUZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247662 JOSE G SANCHEZ IRIZARRY                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247664 JOSE G SANCHEZ TORRES                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247665 JOSE G SANTANA ESCRIBANO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247666 JOSE G SANTIAGO DE JESUS                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684061 JOSE G SANTIAGO DE JESUS                    HC 02 BOX 7003               BO PALOMAS                                                                            COMERIO           PR         00782
   247667 JOSE G SANTIAGO GUZMAN                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247668 JOSE G SANTIAGO RIVERA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   684064 JOSE G SANTIAGO RODRIGUEZ                   VILLA RETIRO                 P 5 SUR                                                                               SANTA ISABEL      PR         00757

   247669 JOSE G SANTO DOMINGO VELEZ                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684065 JOSE G SEGUI MENENDEZ                       URB VILLAS DE PARANA         S 7‐29 CALLE 8                                                                        SAN JUAN          PR         00926
   247670 JOSE G TOLEDO TOLEDO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684067 JOSE G TORRES ALAMO                         HC 2 BOX 13870                                                                                                     GURABO            PR         00778



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  247671 JOSE G TORRES BAYRON                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  684068 JOSE G TORRES FONTANES                       HC 07 BOX 2232                                                                                                       PONCE                PR         00731
  247672 JOSE G TORRES LLOMPART                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  684069 JOSE G TORRES PEREZ                          BO LOS LLANOS                E23 CALLE 10                                                                            ARECIBO              PR         00612
  247673 JOSE G TORRES RIVERA                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  247674 JOSE G TRIPARI QUINTANA                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  247675 JOSE G UGARTE ALERS                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   684074 JOSE G VEGA DAVILA                          COND SANTA MARIA 2           503 CALLE MODESTA APT 1007                                                              SAN JUAN             PR       00924
   247676 JOSE G VELEZ BARTOLOMEI                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   684075 JOSE G VELEZ MELENDEZ                       SAN DEMETRIO                 457 AVE FELISA RINCON                                                                   VEGA BAJA            PR       00693
   684076 JOSE G. AVILLAN FARIS                       C/O ASSSMCA                  P.O. BOX 21414                                                                          SAN JUAN             PR       00928‐1414
   247678 JOSE G. BERMUDEZ SOLER                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   684078 JOSE G. COLLAZO PEREZ                       PO BOX 371                                                                                                           CAYEY                PR       00737
   247681 JOSE G. GARCIA APONTE                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   684079 JOSE G. GARCIA NIEVES                       URB LAS COLINAS              K4 CALLE 13                                                                             TOA BAJA             PR       00949
          JOSE G. GONZALEZ DIAZ Y
   247682 CLENDA M COLON                              REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247683 JOSE G. GONZALEZ IBARRA                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247684 JOSE G. JAVIER LAGUER                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   684080 JOSE G. MARTINEZ                            URB SANTA RITA               62 CALLE MARGARITA                                                                      SAN JUAN             PR         00925
   684081 JOSE G. MARTINEZ LOPEZ                      URB FERNANDEZ                13 CALLE LAZARO RAMOS                                                                   CIDRA                PR         00739
   247686 JOSE G. RAMIREZ PIMENTEL                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247687 JOSE G. ROSARIO ROQUE                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247688 JOSE G. SANTIAGO BAEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247690 JOSE G. SOUSA MORA                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247691 JOSE G. TORRES COLON                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247692 JOSE GABRIEL CRUZ VARGAS                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   684087 JOSE GABRIEL MORALES                        PO BOX 9021112                                                                                                       SAN JUAN             PR         00902‐1112
   684088 JOSE GABRIEL RIVERA                         3‐343 VILLA ZORAIDA                                                                                                  HORMIGUEROS          PR         00660
          JOSE GABRIEL TORRES
   247694 SEPULVEDA                                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   684089 JOSE GALARZA GARCIA                         LOMA ALTA                    A 8 CALLE 1                                                                             CAROLINA             PR         00987

   684090 JOSE GALARZA ORENGO                         URB. VILLA OLIMPIA B23 CALLE3                                                                                        YAUCO                PR         00698
   684092 JOSE GALLOZA SERRANO                        HC 56 BOX 34625                                                                                                      AGUADA               PR         00602
   684093 JOSE GANDIA PAVON                           URB ALTA VISTA                M32 CALLE 15                                                                           PONCE                PR         00716
   684094 JOSE GARAY CASTILLO                         URB VILLA FONTANA             NL 1 VIA 22                                                                            CAROLINA             PR         00983
   680838 JOSE GARAY GALARZA                          HC 08 BOX 49181                                                                                                      CAGUAS               PR         00725‐9639
   247696 JOSE GARCIA                                 REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JOSE GARCIA /DBA/ ADVANCE
   684096 CAMERA                                      951 AVE FERNANDEZ JUNCOS                                                                                             SAN JUAN             PR         00907
   247697 JOSE GARCIA BLANCO                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   684097 JOSE GARCIA CAMPOS                          HC 1 BOX 8071                                                                                                        CANOVANAS            PR         00729
   247698 JOSE GARCIA COLON                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247700 JOSE GARCIA DAVILA                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247701 JOSE GARCIA DIAZ                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247702 JOSE GARCIA GONZALEZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   684102 JOSE GARCIA LOPEZ                           PO BOX 215                                                                                                           JUNCOS               PR         00777
   684105 JOSE GARCIA MEDINA                          7 ONIX BUCARE                                                                                                        GUAYNABO             PR         00969
   684106 JOSE GARCIA MERCADO                         PO BOX 1261                                                                                                          AGUADILLA            PR         00605
   684108 JOSE GARCIA NOYA                            PO BOX 365003                                                                                                        SAN JUAN             PR         00902‐5003
   684109 JOSE GARCIA ORTIZ                           SECTOR LA PLAYITA            84 AVE LOS MEROS                                                                        PONCE                PR         00716



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  247703 JOSE GARCIA PEREZ                            REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  247705 JOSE GARCIA RAMIREZ                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  684110 JOSE GARCIA RAMIS                            PO BOX 364866                                                                                                           SAN JUAN            PR         00936‐4866
  247707 JOSE GARCIA RIVERA                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  684111 JOSE GARCIA RODRIGUEZ                        URB LA VISTA                   CALLE VIA ALTURAS F‐5                                                                    SAN JUAN            PR         00924
  684112 JOSE GARCIA ROIG                             PLAZA CAROLINA                 PO BOX 8703                                                                              CAROLINA            PR         00988
  247710 JOSE GARCIA ROSARIO                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  684113 JOSE GARCIA SANTANA                          HC 4 BOX 4311                                                                                                           HUMACAO             PR         00791
  247711 JOSE GARCIA SOTO                             REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  247712 JOSE GARCIA STELLA                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   684116 JOSE GARRIGA                                2350 PONCE BY PASS SUITE 113                                                                                            PONCE               PR         00731

   247713 JOSE GARRIGA HIJO INC                       15 URB SAN AGUSTIN           AVE 65 INFANTERIA MARGINAL                                                                 SAN JUAN            PR         00923‐0000
                                                      AVENIDA 65 INF. MARGINAL SAN
   247720 JOSE GARRIGA HIJO INC.                      AGUSTIN #15                                                                                                             RIO PIEDRAS         PR         00923
   247721 JOSE GARRIGA HIJO, INC.                     65TH MARGINAL 15             URB. SAN AGUSTIN                                                                           San Juan            PR         00924
   684117 JOSE GARRIGA JIMENEZ                        SAN AGUSTIN                  15 MARGINAL 65 INFANTERIA                                                                  SAN JUAN            PR         00923
                                                                                   MARGINAL 15 AVE 65
   684118 JOSE GARRIGA MATHEW                         SANAGUSTIN                   INFANTERIA                                                                                 SAN JUAN            PR         00923
   684119 JOSE GARRIGA PICO                           651 MIRAMAR                  ROOSEVELT APT 8 A                                                                          SAN JUAN            PR         00907‐3411
   247722 JOSE GAUTHIER FIGUEROA                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247723 JOSE GAUTIER DELGADO                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684121 JOSE GAVINA ALONSO                          P O BOX 362091                                                                                                          SAN JUAN            PR         00936
   247724 JOSE GERAL MEDINA                           REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE GERARDO ANDRES
   247725 RODRIUEZ MERCADO                            REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   247726 JOSE GERARDO BARRETO SOTO                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   684122 JOSE GERARDO ORTEGA ACOSTA 3RA EXT COUNTRY CLUB                            GS 14 CALLE 203                                                                          CAROLINA            PR         00982
   684123 JOSE GERENA SOTO           H C 1 BOX 8561                                                                                                                           LUQUILLO            PR         00773
   684124 JOSE GERMAIN OPENHAIMER    URB MADRIGAL                                    B 10 CALLE 2                                                                             PONCE               PR         00731
   684125 JOSE GIL                   PUERTO NUEVO                                    508 BALEARES                                                                             SAN JUAN            PR         00920
   247728 JOSE GIL FIGUEROA OLIVIERI REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   247729 JOSE GILBERTO AYALA GARCIA                  REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684127 JOSE GINORIO RIVERA                         LA PLENA M 42                                                                                                           MERCEDITA           PR         00715
   684128 JOSE GIRAUD QUIRINDONGO                     PO BOX 690                                                                                                              GURABO              PR         00778 0690
          Jose Girona y Maria De Los A
   247732 Burgos                                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684129 JOSE GOMEZ ALBA                             EXT EL COMANDANTE              236 AVE SAN MARCOS                                                                       CAROLINA            PR         00982
   684130 JOSE GOMEZ ALGARIN                          PO BOX 84                                                                                                               NAGUABO             PR         00718
   247733 JOSE GOMEZ CISNEROS                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684131 JOSE GOMEZ DUARTE                           1406 AVE MAGDALENA                                                                                                      SAN JUAN            PR         00907
   684133 JOSE GOMEZ MARCOS                           URB TORRIMAR 9 7               CALLE MALAGA                                                                             GUAYNABO            PR         00966‐3131

   684134 JOSE GOMEZ RAMOS                            URB ORIENTE                    22 CALLE MARTIN LUTHER KING                                                              LAS PIEDRAS         PR         00771
   247734 JOSE GOMEZ RIVERA                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684136 JOSE GOMEZ RODRIGUEZ                        URB DEL CARMEN                 42 CALLE SAN JOSE                                                                        RIO GRANDE          PR         00745
   247736 JOSE GOMEZ VELEZ                            REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684138 JOSE GONZALEZ                               HC 43 BOX 10444                                                                                                         CAYEY               PR         00736
   684140 JOSE GONZALEZ ALVARADO                      URB NOTRE DAME                 C 8 CALLE BARTOLOME                                                                      CAGUAS              PR         00725



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  247737 JOSE GONZALEZ ALVIRA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  684141 JOSE GONZALEZ AQUINO                         HC 59 BOX 5950                                                                                                 AGUADA               PR         00602
  247742 JOSE GONZALEZ BARJA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  684143 JOSE GONZALEZ BERRIOS                        PO BOX 24328                                                                                                   CAYEY                PR         00736
  684144 JOSE GONZALEZ COLON                          VILLA CAROLINA              224‐15 CALLE 601                                                                   CAROLINA             PR         00985
  684146 JOSE GONZALEZ CRUZ                           URB CONDADO                 151 CALLE TRINITARIA                                                               ISABELA              PR         00605
         JOSE GONZALEZ DBA JUST FOR
  684149 COKTAIL                                      PARQUE LOS ALMENDROS        620 CALLE LADY DI 24                                                               PONCE                PR         00716‐3547
  684150 JOSE GONZALEZ DE JESUS                       COM LA GRANJA PARC 55                                                                                          UTUADO               PR         00612
  247743 JOSE GONZALEZ DIAZ                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  247744 JOSE GONZALEZ DILAN                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  247745 JOSE GONZALEZ GONZALEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  684154 JOSE GONZALEZ JIMENEZ                        URB MONTE BRISAS            S 9 CALLE Q                                                                        FAJARDO              PR         00738
  247747 JOSE GONZALEZ LAABES                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  684155 JOSE GONZALEZ LIBOY                          RR 9 BUZON 1430                                                                                                SAN JUAN             PR         00926‐9713
  247748 JOSE GONZALEZ LOPEZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   247749 JOSE GONZALEZ MALDONADO                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   684139 JOSE GONZALEZ MARTINEZ                      23 CALLE RUIZ RIVERA                                                                                           NAGUABO              PR         00718‐2521
   247751 JOSE GONZALEZ MENDEZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247752 JOSE GONZALEZ MERCED                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   684159 JOSE GONZALEZ OUFFRE                        PMB 292                     PO BOX 7004                                                                        VEGA BAJA            PR         00694‐7004
   684161 JOSE GONZALEZ PEREZ                         HC 764 BOX 6930                                                                                                PATILLA              PR         00783
   247754 JOSE GONZALEZ RAMOS                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                      CONDOMINIO PASEOMONTE
   684163 JOSE GONZALEZ RIOS                          APT 309                     381 AVE FELISA RINCON                                                              SAN JUAN             PR         00926
   684164 JOSE GONZALEZ ROBLES                        JARDINES DE SAN FRANCISCO   EDIF 2 APT 810                                                                     SAN JUAN             PR         00926
   247755 JOSE GONZALEZ RODRIGUEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247756 JOSE GONZALEZ ROLDAN                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247757 JOSE GONZALEZ ROMAN                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   684165 JOSE GONZALEZ SCOTT                         REP CARMELITA               CARR 106 KM 11.8                                                                   MAYAGUEZ             PR         00680
   684166 JOSE GONZALEZ SOTO                          REPTO MONTELLANO            F4 CALLE A                                                                         CAYEY                PR         00736
   684167 JOSE GONZALEZ TORRES                        BO GUAVATE 22550                                                                                               CAYEY                PR         00736
   247758 JOSE GONZALEZ VAZQUEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   684169 JOSE GONZALEZ VILLEGAS                      RES. VARONES S.J.                                                                                              Hato Rey             PR         009360000
   684170 JOSE GORRITZ FIGUEROA                       URB RIO HONDO               D 59 CALLE RIO CASEY                                                               BAYAMON              PR         00961
   684171 JOSE GOTAY FLORES                           PO BOX 7126                                                                                                    PONCE                PR         00732
   247759 JOSE GOYCO AMADOR                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247760 JOSE GRACIA BERMUDEZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   247761 JOSE GRACIA RIVERA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   684174 JOSE GRAFALS RIVERA                         COND MIRAMAR EMBASSY        902 AVE PONCE DE LEON   APT 704                                                    SAN JUAN             PR         00907
   684177 JOSE GRAU DIAZ                              SUITE 112 MS C‐348                                                                                             SAN JUAN             PR         00926‐5955

   684180 JOSE GUADALUPE HERNANDEZ                    LOMA ALTA                   H 31 CALLE 7                                                                       CAROLINA             PR         00987
   247763 JOSE GUADALUPE SANTANA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   684182 JOSE GUALBERTO SANTIAGO                     HC 02 BOX 17027                                                                                                LAJAS                PR         00667
   684183 JOSE GUERRIERI CALDEDON                     URB VISTA DEL CONVENTO 2E   15 CALLE 4                                                                         FAJARDO              PR         00738
   247764 JOSE GUEVARA FUERTES                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   684185 JOSE GUEVAREZ FONTAN                        EMBALSE SAN JOSE            135 CALLE CANET                                                                    SAN JUAN             PR         00929‐0000

   684186 JOSE GUILLERMO AMY SANCHEZ TINTILLO                                     B 14 CALLE 1                                                                       GUAYNABO             PR         00966

   247765 JOSE GUILLERMO DAVILA MATOS REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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          JOSE GUILLERMO PULICHINO
   247767 GONZALEZ                                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE GUILLERMO TORRES
   247768 ACEVEDO                                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE GUILLERMO TORRES
   684187 MELENDEZ                                    PO BOX 16196                                                                                                      SAN JUAN            PR           00908
   684188 JOSE GUILLOTY PEREZ                         HC 05 BOX 59312                                                                                                   MAYAGUEZ            PR           00680
   247769 JOSE GUIVAS MARTY                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247770 JOSE GULLART MARQUES                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247771 JOSE GUSTAVO PEREZ NOVOA                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247773 JOSE GUTIERREZ MORALES                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684190 JOSE GUTIERREZ RODRIGUEZ                    LEVITTOWN                   I 14 CALLE MIREYA                                                                     TOA BAJA            PR           00949
   684193 JOSE GUZMAN                                 HC 01 BOX 8700                                                                                                    AGUAS BUENAS        PR           00703
   684194 JOSE GUZMAN COLLAZO                         QUINTAS DE MONSERRATE       C 11 CALLE 4                                                                          PONCE               PR           00731
   247774 JOSE GUZMAN FORTES                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684195 JOSE GUZMAN GONZALEZ                        HC 2 BOX 6775                                                                                                     FLORIDA             PR           00650
   684196 JOSE GUZMAN GREEN                           PARCELA 80 SECTOR EL CERO   BUZON 3807                                                                            SALINAS             PR           00751
   247775 JOSE GUZMAN LOPEZ                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684198 JOSE GUZMAN PADILLA                         HC 1 BOX 5212                                                                                                     COROZAL             PR           00783‐9903
   684199 JOSE GUZMAN PAZ                             P. O. BOX 1016                                                                                                    HORMIGUEROS         PR           00660
   247776 JOSE GUZMAN ROSA                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684202 JOSE H ANTONMARCHI LOPEZ                    P O BOX 1026                                                                                                      YAUCO               PR           00698
   684203 JOSE H APONTE ORTIZ                         HC 01 BOX 6082                                                                                                    AGUAS BUENAS        PR           00703‐9701
   247778 JOSE H ARRILLAGA ORTIZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247779 JOSE H BRACERO CAMARENO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247780 JOSE H BRAULIO MARTINEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247781 JOSE H CABAN RAMOS                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684204 JOSE H CAEZ ALONSO                          EDIF OCEAN PARK TOWER       110 CALLE DIAZ DE ANDINO   APT 801                                                    SAN JUAN            PR           00911
   247782 JOSE H CAEZ ROMERO                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247783 JOSE H CAJIGAS CRESPO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247784 JOSE H CAMACHO LOPEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684205 JOSE H CAPO CARTAGENA                       RR 1 BOX 3361                                                                                                     CIDRA               PR           00739
   684207 JOSE H CARDONA                              PO BOX 12                                                                                                         FLORIDA             PR           00650

   247785 JOSE H CARMONA RODRIGUEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684209 JOSE H COLON AVILES                         URB EL PARAISO              157 CALLE GANGES                                                                      SAN JUAN            PR           00926
   684210 JOSE H COLON VAZQUEZ                        I C TANAMA SANTANA                                                                                                ARECIBO             PR           00612
   684211 JOSE H CRUZ LOPEZ                           HC 02 BOX 7416                                                                                                    CIALES              PR           00638
   684212 JOSE H CRUZ MOJER                           URB BARALT                  B‐27 CALLE 1                                                                          FAJARDO             PR           00738
   684213 JOSE H DAVILA MEDINA                        PO BOX 9021112                                                                                                    SAN JUAN            PR           00902‐1112
   247786 JOSE H DIAZ DIAZ                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247787 JOSE H FLORES LOPEZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   684214 JOSE H FRANCES BETANCOURT                   PO BOX 670                                                                                                        TRUJILLO ALTO       PR           00977
   684215 JOSE H GARCIA COLON                         HC 4 BOX 18169                                                                                                    CAMUY               PR           00627
   684216 JOSE H GARCIA ROBLES                        URB MARISOL                 C 32 CALLE 4                                                                          ARECIBO             PR           00612
   684217 JOSE H GOMEZ ALVARADO                       VILLA MADRID                E 21 CALLE 5                                                                          COAMO               PR           00769

   684218 JOSE H GONZALEZ                             URB LEVITTOWN               FM32 CALLE ANTONIO N BLANCO                                                           TOA BAJA            PR           00949
   247788 JOSE H GONZALEZ BONILLA                     REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   247789 JOSE H GONZALEZ LOPEZ                       REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684219 JOSE H GONZALEZ RAMOS                       HC 1 BOX 4073                                                                                                     ADJUNTAS            PR           00601
   684220 JOSE H JIMENEZ TORRES                       PARCELAS PEREZ 17           CALLE C                                                                               ARECIBO             PR           00612



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  247790 JOSE H LANDRAU RIOS                          REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  684221 JOSE H LOZADA CABALLERO                      RR 2 BOX 6006                                                                                                     TOA ALTA          PR         00953
  247791 JOSE H MANGUAL SANTOS                        REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  684222 JOSE H MARRERO PIZARRO                       PO BOX 1477                                                                                                       QUEBRADILLAS      PR         00678
  684225 JOSE H MARTINEZ MARTINEZ                     URB VENUS GARDENS       633 CALLE BIBLOS                                                                          SAN JUAN          PR         00926‐4806
  684226 JOSE H MARTINEZ MENDEZ                       PO BOX 11981                                                                                                      SAN JUAN          PR         00922‐1981
  684223 JOSE H MARTINEZ MERCADO                      EXT SANTA MARIA         24 LIMONCILLO                                                                             SAN JUAN          PR         00927
  247792 JOSE H MIRANDA ALVARADO                      REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  684228 JOSE H MORALES BONILLA                       71 URB MONTEMAR                                                                                                   AGUADA            PR         00602
  684229 JOSE H ORTIZ RODRIGUEZ                       P O BOX 7208                                                                                                      CAROLINA          PR         00986
  247793 JOSE H PEREZ BIDO                            REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  684230 JOSE H PEREZ FRAONTERA                       11 CALLE JM DE ANDINO                                                                                             ADJUNTAS          PR         00601
  684231 JOSE H PEREZ MIRANDA                         URB LAS MARIAS          45 CALLE D                                                                                JUANA DIAZ        PR         00795
  247794 JOSE H PEREZ ROSADO                          REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247795 JOSE H RAMIREZ CAMACHO                       REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247796 JOSE H RIVERA GUZMAN                         REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247797 JOSE H RIVERA TORRES                         REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247798 JOSE H RODRIGUEZ                             REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   684233 JOSE H RODRIGUEZ ACOSTA                     COND EL CENTRO 1        500 AVE MUNOZ RIVERA STE 204                                                              SAN JUAN          PR         00918
   684235 JOSE H RODRIGUEZ VARGAS                     PO BOX 864                                                                                                        HORMIGUEROS       PR         00660
   684236 JOSE H ROMAN                                HC 3 BOX 14082                                                                                                    AGUADILLA         PR         00603
   247800 JOSE H ROMAN ABREU                          REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684237 JOSE H ROMAN RUSSE                          HC 1 BOX 2287                                                                                                     MOROVIS           PR         00687
   684238 JOSE H ROSADO                               P O BOX 1                                                                                                         BARRANQUITAS      PR         00794
   247801 JOSE H RUIZ CORREA                          REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684240 JOSE H RUIZ GALAN                           SECTOR EL CONDADITO     BOX 704                                                                                   BARCELONETA       PR         00617
   247802 JOSE H RUIZ MERCADO                         REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247803 JOSE H RUIZ OCASIO                          REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247804 JOSE H SANTIAGO BURGOS                      REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684242 JOSE H SANTIAGO FIGUEROA                    P O BOX 2283                                                                                                      RIO GRANDE        PR         00745
   247805 JOSE H SANTIAGO MARRERO                     REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684243 JOSE H SANTIAGO SANTIAGO                    URB MONTE BRISAS V      5 Q 9 CALLE 19                                                                            FAJARDO           PR         00738
   247807 JOSE H SANTIAGO TORRES                      REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247808 JOSE H SANTIAGO VELEZ                       REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684244 JOSE H TEXIDOR                              BO PASTILLO             HC 01 BOX 6204                                                                            JUANA DIAZ        PR         00795
   684245 JOSE H TOLEDO TOLEDO                        EXECUTIVE BUILDING      1011 A 623 PONCE DE LEON                                                                  SAN JUAN          PR         00917 4811
   247810 JOSE H TORRES MONTANEZ                      REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247812 JOSE H TORRES TORRES                        REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247813 JOSE H VEGA CINTRON                         REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247814 JOSE H VELEZ RUIZ                           REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247815 JOSE H VILLANUEVA COLON                     REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247816 JOSE H VIVAS PIETRI                         REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684249 JOSE H ZAYAS BERMUDEZ                       PO BOX 1112                                                                                                       COAMO             PR         00769
   247817 JOSE H. BERRIOS TORRES                      REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247818 JOSE H. HERRERA TORRES                      REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684252 JOSE H. MARTINEZ GARCIA                     HC 7 BOX 2179                                                                                                     PONCE             PR         00731
   247819 JOSE H. PEREZ SANTIAGO                      REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   247820 JOSE H. RAMIREZ CAMACHO                     REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684257 JOSE H. VEGA FELICIANO                      BOX 7999 SUITE 140                                                                                                MAYAGUEZ                     00680

   247823 JOSE HECTOR MONROIG VELEZ                   REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684258 JOSE HENRIQUE DE LA TORRE                   AVENIDA HIPODROMO       753 1ER PISO                                                                              SANTURCE          PR         00936



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MML ID               NAME                                      ADDRESS 1                    ADDRESS 2                ADDRESS 3                           ADDRESS 4            CITY          STATE    POSTAL CODE        COUNTRY
  684259 JOSE HEREDIA RIVERA                          CALLE MANUEL COLON 159                                                                                         Florida           PR           00650
  684260 JOSE HERMINIO SANTIAGO                       PO BOX 2283                                                                                                    RIO GRANDE        PR           00745
         JOSE HERNAN MERCADER
  684261 ROSADO                                       COND HILLTOP             658 AVE MIRAMAR APT 1503                                                              SAN JUAN          PR           00907
  684262 JOSE HERNANDE ORTIZ                          URB MANSIONES DEL MAR    45 PLAZA DELFIN                                                                       TOA BAJA          PR           00949
  680839 JOSE HERNANDEZ                               P.O. BOX 194654                                                                                                SAN JUAN          PR           00911

   247825 JOSE HERNANDEZ CORCHADO                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   684268 JOSE HERNANDEZ CORDERO                      HC 5 BOX 10245                                                                                                 MOCA              PR           00676
   684269 JOSE HERNANDEZ CORTES                       URB VILLA ANDALUCIA      8 I CALLE FRONTERAS                                                                   SAN JUAN          PR           00926
                                                                               3739 CALLE ANTONIO PERES
   684272 JOSE HERNANDEZ DE HOYOS                     EXT LAS DELICIAS         PIERRET                                                                               PONCE             PR           00728
   684273 JOSE HERNANDEZ DIAZ                         PO BOX 1070                                                                                                    AIBONITO          PR           00705

   684275 JOSE HERNANDEZ DOMINGUEZ                    PO BOX 9021112                                                                                                 SAN JUAN          PR           00902‐1112
   684276 JOSE HERNANDEZ FELICIANO                    HC 01 BOX 5136                                                                                                 BARCELONETA       PR           00617‐9704

   684277 JOSE HERNANDEZ HERNANDEZ                    HC 01 BOX 11839                                                                                                CAROLINA          PR           00985
   247828 JOSE HERNANDEZ ITURREGUI                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   247829 JOSE HERNANDEZ LORENZO                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   247830 Jose Hernandez Maldonado                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   684279 JOSE HERNANDEZ MARRERO                      PO BOX 64                                                                                                      JUANA DIAZ        PR           00795
   247833 JOSE HERNANDEZ ORENGO                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   684280 JOSE HERNANDEZ PACHECO                      URB TERRANOVA            H 8 CALLE B                                                                           GUAYNABO          PR           00969
   247834 JOSE HERNANDEZ PEREZ                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   684283 JOSE HERNANDEZ PI¥EIRO                      URB FAJARDO GARDENS      147 CALLE ARMACIGO                                                                    FAJARDO           PR           00738‐2986
   684284 JOSE HERNANDEZ QUIJANO                      APDTO N873                                                                                                     CAMUY             PR           00627
   684286 JOSE HERNANDEZ RAMIREZ                      PO BOX 1591                                                                                                    MAYAGUEZ          PR           00681

   247835 JOSE HERNANDEZ RODRIGUEZ                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   684289 JOSE HERNANDEZ ROGERS                       RR 2 SECTOR CIELITO                                                                                            TOA ALTA          PR           00953
   684290 JOSE HERNANDEZ ROMAN                        HC 2 BOX 18255                                                                                                 SAN SEBASTIAN     PR           00685
   247837 JOSE HERNANDEZ SERRANO                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   247838 JOSE HERNANDEZ TOLEDO                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   684291 JOSE HERNANDEZ TORRES                       RES BAYAMON HOUSING      EDIF 15 APT 233                                                                       BAYAMON           PR           00956
   684292 JOSE HERNANDEZ VALENTIN                     VALLE HERMOSO            38 CALLE MARGARITA                                                                    HORMIGUEROS       PR           00660
   247839 JOSE HERNANDEZ VAZQUEZ                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   684294 JOSE HINOJOSA HERNANDEZ                     PO BOX 7126                                                                                                    PONCE             PR           00732
   247840 JOSE HIRALDO COLON                          REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   684295 JOSE HIRALDO DIAZ                           URB LOS ANGELES          O8 CALLE F                                                                            CAROLINA          PR           00979

   247842 JOSE HIRAM GACIA BERMUDEZ                   REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   684296 JOSE HIRAM RIVERA FIGUEROA                  BO PUEBLO NUEVO          12 CALLE MARINA                                                                       BAYAMON           PR           00961
   247843 JOSE HIRAM RIVERA RIVERA                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   684298 JOSE HUERTAS CORDERO                        BOX 1441                                                                                                       JUANA DIAZ        PR           00795
   247844 JOSE HUERTAS GONZALEZ                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   684300 JOSE HURTADO GONZALEZ                       BO PASTILLITO PRIETO     PARC 117 CALLE 5                                                                      JUANA DIAZ        PR           00795
   684302 JOSE I ADALMES OQUENDO                      URB RAFAEL BERMUDEZ      A 23 CALLE 2                                                                          FAJARDO           PR           00738
   684303 JOSE I ALAMEDA CORDERO                      PARC CASTILLO A 19       CALLE CUPEY                                                                           MAYAGUEZ          PR           00680
   247849 JOSE I ALAMEDA LOZADA                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   247850 JOSE I ALGARIN RIVERA                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   684305 JOSE I ALTIERI                              URB PARKVILLE            T 18 CALLE ALABAMA                                                                    GUAYNABO          PR           00969‐3912



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  247851 JOSE I APONTE RIVERA                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  247852 JOSE I AYALA DE JESUS                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   684307 JOSE I AYALA VAZQUEZ                         PARCELA 175 HC 80            BOX 9241 RIO LAJAS DE DORADO                                                             DORADO              PR         00646
   247853 JOSE I AYERDI SUSPERREQUI                    REDACTED                     REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684308 JOSE I BAEZ SERRANO                          P O BOX 3633                                                                                                          GUAYNABO            PR         00970

   684309 JOSE I BENABE HUERTAS                        232 AVE ELEONOR ROOSEVELT                                                                                             SAN JUAN            PR         00907

   684310 JOSE I BERMUDEZ OQUENDO                      BO ALMIRANTE SUR             SECTOR LA GALLERA BOX 48323                                                              VEGA BAJA           PR         00693
   684312 JOSE I BERRIOS ZAYAS                         EL PLANTIO A 57              VILLA GRANADA                                                                            TOA BAJA            PR         00949
   247854 JOSE I BIDOT QUINONES                        REDACTED                     REDACTED                    REDACTED                              REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684313 JOSE I BLANCO ANEIROS                        SUMMIT HILLS 1727            AVE JESUS T PINEIRO                                                                      SAN JUAN            PR         00920
   684314 JOSE I CABAN                                 URB ALTAMESA                 1675 CALLE SANTA INES                                                                    SAN JUAN            PR         00921
   684315 JOSE I CABRERA ORTEGA                        HC 73 BOX 4543                                                                                                        NARANJITO           PR         00719
   247856 JOSE I CALDERON ORTIZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684317 JOSE I CALDERON ROSARIO                      12 CALLE ROBLE                                                                                                        SAN JUAN            PR         00925

   684318 JOSE I CALZADA TORRES                        ESTANCIA DEL ATLANTICO       A 5 PARCELA FORTUNA CALLE 4                                                              LUQUILLO            PR         00773
   684319 JOSE I CARRASCO                              P O BOX 9024256                                                                                                       SAN JUAN            PR         00902 4256

   684320 JOSE I CARRASQUILLO SANTANA                  BO LAS CUEVAS                CALLE 376                                                                                TRUJILLO ALTO       PR         00977
   247857 JOSE I CARRO SAAVEDRA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247858 JOSE I CARTAGENA ROSADO                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684321 JOSE I COLLAZO CASIANO                       COUNTRY CLUB                 OF 11 CALLE 516                                                                          CAROLINA            PR         00982
   247859 JOSE I COLON                                 REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   684322 JOSE I CONCEPCION GONZALEZ                   4 CALLE PADILLA DEL CARIBE                                                                                            CIDRA               PR         00739
   247860 JOSE I CRESPO CRESPO                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247861 JOSE I CUEVAS RAMOS                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   684323 JOSE I DE JESUS VIZCARRONDO                  URB VILLA CAROLINA           35 4 CALLE 14                                                                            CAROLINA            PR         00985
   684325 JOSE I DIAZ DE JESUS                         URB BELINDA                  D 23 CALLE 3                                                                             ARROYO              PR         00714
   684326 JOSE I DIAZ RIVERA                           PO BOX 142                                                                                                            CAMERIO             PR         00739
   684327 JOSE I DUPREY PEREZ                          SANTA TERESITA               1 CALLE ANDRES CABAN                                                                     ISABELA             PR         00662
   247862 JOSE I ELEUTICE HERNANDEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247864 JOSE I FELICIANO SEPUVEDA                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684328 JOSE I FELIX GARCIA                          PO BOX 51200                                                                                                          TOA BAJA            PR         00950

   684329 JOSE I FERNANDEZ RODRIGUEZ                   HC 1 BOX 26980                                                                                                        CAGUAS              PR         00725
   247865 JOSE I FIGUEROA GONZALEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247866 JOSE I FIGUEROA SERRA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247867 JOSE I FLORES MORALES                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684330 JOSE I FLORES ORTIZ                          JAIME C RODRIGUEZ            T 17 CALLE 6                                                                             YABUCOA             PR         00767
   684331 JOSE I FLORES VAZQUEZ                        PO BOX 148                                                                                                            CIDRA               PR         00739
   247868 JOSE I GALARZA REYES                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247869 JOSE I GARCIA SANTIAGO                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247870 JOSE I GARRIDO DAVILA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247871 JOSE I GIRALDO LOPEZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247872 JOSE I GONZALEZ GONZALEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684332 JOSE I GONZALEZ LAGOA                        P.O. BOX 1523                                                                                                         MAYAGUEZ            PR         00681
   247873 JOSE I GONZALEZ MORALES                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247875 JOSE I GONZALEZ RODRIGUEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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MML ID                NAME                                       ADDRESS 1                    ADDRESS 2                    ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  247876 JOSE I GONZALEZ SANTANA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  684333 JOSE I GRACIANO SANTIAGO                      71 URB LA REPRESA                                                                                                   ARECIBO           PR         00612‐5371
  247877 JOSE I GUEITS MORALES                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247878 JOSE I GUZMAN                                 REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247880 JOSE I GUZMAN SANTIAGO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  684335 JOSE I HERNANDEZ MIRANDA                      BO BAUTA                    ARRIBA CARR 155                                                                         OROCOVIS          PR         00720
  684336 JOSE I HERNANDEZ ORTIZ                        PO BOX 9021112                                                                                                      SAN JUAN          PR         00902
  684337 JOSE I IRIZARRY BETANCOURT                    P O BOX 9325                                                                                                        CAROLINA          PR         00988
  684338 JOSE I IRIZARRY BLASINI                       PO BOX 560916                                                                                                       GUAYANILLA        PR         00656
  247881 JOSE I IRIZARRY SANTIAGO                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247884 JOSE I JIMENEZ                                REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247885 JOSE I LABOY RIVERA                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  684340 JOSE I LOPEZ CHAPARRO                         HC 03 BOX 34999                                                                                                     AGUADA            PR         00602
  684341 JOSE I LOPEZ FONTANEZ                         HC 71 BOX 7145                                                                                                      CAYEY             PR         00736
  247887 JOSE I LOPEZ LOPEZ                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247888 JOSE I LOPEZ MEDINA                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247889 JOSE I LUNA MENDEZ                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247890 JOSE I MARTINEZ DAVILA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247891 JOSE I MARTINEZ DE JESUS                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247892 JOSE I MARTINEZ RODRIGUEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247894 JOSE I MATOS MALDONADO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247895 JOSE I MEDINA CASTILLO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247896 JOSE I MEDINA SANCHEZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  684344 JOSE I MORALES                                MIRAMAR 608                 36 B CALLE OLIMPO                                                                       SAN JUAN          PR         00907
  247897 JOSE I MORALES ORTIZ                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  684346 JOSE I MORALES SANCHEZ                        URB JAIME C RODRIGUEZ       T 7 CALLE 11                                                                            YABUCOA           PR         00767
  684347 JOSE I MORALES SOUSA                          PO BOX 1150                                                                                                         JUNCOS            PR         00977
  247898 JOSE I MULERO FERNANDEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247899 JOSE I MUNIZ HERNANDEZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247901 JOSE I ORTIZ MORALES                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  684352 JOSE I ORTIZ RIVERA                           PO BOX 9355                                                                                                         BAYAMON           PR         00960
  247904 JOSE I PADRO PEREZ                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   684353 JOSE I PADRO TOLEDO                          400 AVE DOMENECH OFIC 513                                                                                           SAN JUAN          PR         00918
   247905 JOSE I PAGAN PERALES                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   684355 JOSE I PARADA JIMENEZ                        REP VALENCIA                AJ34 CALLE 11                                                                           BAYAMON           PR         00959
   684356 JOSE I PEREZ ADAMES                          HC 02 BOX 7977                                                                                                      CAMUY             PR         00627
   247906 JOSE I PEREZ CABRERA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   684357 JOSE I PEREZ FALCON                          COND PASEO RIO HONDO        AVE BOULEVARD 1000 APT 604                                                              LEVITOWN          PR         00949
   247907 JOSE I PEREZ MENDEZ                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   247908 JOSE I PEREZ PAGAN                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   684360 JOSE I RAMOS RIVERA                          URB BAYAMON GARDENS         P 17 CALLE H                                                                            BAYAMON           PR         00957
   247910 JOSE I RAMOS RODRIGUEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   684361 JOSE I REYES TORRES                          HC 1 BOX 13957                                                                                                      COAMO             PR         00769
   247911 JOSE I RIVERA COLON                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   684362 JOSE I RIVERA CRUZ                           PO BOX 6273                                                                                                         CAGUAS            PR         00726
   684363 JOSE I RIVERA GIBOYEAUX                      URB SANTA CLARA             U 4 CALLE MALAYA                                                                        GUAYNABO          PR         00969
   684364 JOSE I RIVERA OTERO                          VILLA DE PLAYA 2            R 1 DORADO DEL MAR                                                                      DORADO            PR         00646
   684365 JOSE I RIVERA RAMOS                          HC 01 BOX 4258                                                                                                      NAGUABO           PR         00718
   684366 JOSE I RODRIGUEZ                             URB EXT PARQUE CUESTRE      E 11 CALLE 36                                                                           CAROLINA          PR         00987
   247912 JOSE I RODRIGUEZ ALICEA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   684301 JOSE I RODRIGUEZ ALVAREZ                     VILLA CAROLINA              66 ‐9 CALLE 53                                                                          CAROLINA          PR         00985



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  247913 JOSE I RODRIGUEZ BERRIOS                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  247914 JOSE I RODRIGUEZ GARCIA                       REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  247915 JOSE I RODRIGUEZ MARTINEZ                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOSE I RODRIGUEZ PONCE DE
  684369 LEON                                          P O BOX 179                                                                                               GUANICA             PR         00653
  247916 JOSE I RODRIGUEZ ROMAN                        REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  247917 JOSE I RODRIGUEZ SANCHEZ                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  684370 JOSE I RODRIGUEZ SANTIAGO                     COAMO HOUSING          EDIF 10 APT 82                                                                     COAMO               PR         00769
  684371 JOSE I ROSA CARROMERO                         PO BOX 8549                                                                                               HUMACAO             PR         00792
  684374 JOSE I RUIZ Y/O RUBEN RUIZ                    HC 1 BOX 4392                                                                                             HATILLO             PR         00659‐9702
  247918 JOSE I SANCHEZ DE INIGO                       REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  247919 JOSE I SANCHEZ FELIX                          REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  247920 JOSE I SANTANA ORTIZ                          REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  247921 JOSE I SANTIAGO HERNANDEZ                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   247922 JOSE I SANTIAGO MALDONADO                    REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684376 JOSE I SANTOS TAVAREZ                        URB HAU                3023 CALLE JORDANIA                                                                ISABELA             PR         00662
   247926 JOSE I SEPULVEDA SANCHEZ                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247927 JOSE I SIERRA MARTINEZ                       REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684378 JOSE I SOTO COLON                            HC 2 BOX 10937         BO. PADILLA                                                                        COROZAL             PR         00783
   684379 JOSE I TORRES ESCALERA                       HILLMASION             BC 28 CALLE 63                                                                     SAN JUAN            PR         00926
   684380 JOSE I TORRES MADERA                         URB MONTE BELLO        A16 CALLE CARROUSEL                                                                SAN GERMAN          PR         00683

   247930 JOSE I VALDERRAMA MONTANEZ REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247931 JOSE I VALE FELICIANO      REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684381 JOSE I VARGAS              P O BOX 9024275                                                                                                             SAN JUAN            PR         00902‐4275
   247932 JOSE I VARGAS MORALES      REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247933 JOSE I VEGA LUGO           REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247934 JOSE I VEGA MARTINEZ       REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247935 JOSE I VEGA OTERO          REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684383 JOSE I VELEZ GONZALEZ      BZN 4‐156 LLANADAS                                                                                                          ISABELA             PR         00662
   247936 JOSE I VILLANUEVA SERRANO  REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247937 JOSE I. ALAMEDA LOZADA     REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684384 JOSE I. BEAUCHAMP COUTO    PO BOX 513                                                                                                                  CAGUAS              PR         00726
   247941 JOSE I. ORTIZ MANGUAL      REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247942 JOSE I. RAMOS ALVAREZ      REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684388 JOSE I. RIVERA MONTERO     HC 1                                                                                                                        UTUADO              PR         00641
   247943 JOSE I. ROSADO TAVAREZ     REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   247944 JOSE IBANEZ ROMANY         REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684389 JOSE IGLESIA ENCARNACION   JARDINES DE CAROLINA                     A 6 CALLE C                                                                        CAROLINA            PR         00985

   684390 JOSE IGNACIO MEYER CASANOVA URB ENCANTANA                           3209 MONTECILLO COURT                                                              TRUJILLO ALTO       PR         00976
   684391 JOSE IGNACIO VALENZUELA     COND ALT DE MONTEBELLO                  747 C/ MARGINAL 30                                                                 TRJILLO ALTO        PR         00976
   684392 JOSE IGUINA                 URB TORRIMAR                            4‐9 CALLE ALHAMBRA                                                                 GUAYNABO            PR         00967
   680840 JOSE IGUINA OHARRIZ         URB TORIMAR 4 9                         CALLE ALHAMBRA                                                                     GUAYNABO            PR         00969
   247945 JOSE INGLES                 REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684393 JOSE IRIZARRY CORTES        78 LOS PINOS                                                                                                               UTUADO              PR         00641
   684394 JOSE IRIZARRY FELICIANO     HC 1 BOX 7413                                                                                                              YAUCO               PR         00698
   247946 JOSE IRIZARRY FIGUEROA      REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684395 JOSE IRIZARRY IRIZARRY      PO BOX 1111                                                                                                                VILLALBA            PR         00766‐1111
   684396 JOSE IRIZARRY LUGO          PO BOX 944                                                                                                                 LAJAS               PR         00667
   684397 JOSE IRIZARRY MONTALVO      PO BOX 370                                                                                                                 BOQUERON            PR         00622
   247947 JOSE IRIZARRY MUNIZ         REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  247948 JOSE IRIZARRY PEREZ                           REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  684400 JOSE IRIZARRY RAMIREZ                         URB LA MONSERRATE      E 15 CALLE 6                                                                          HORMIGUERO         PR         00660
  684401 JOSE IRIZARRY RUIZ                            PARC IMBERY            7 CALLE 16                                                                            BARCELONETA        PR         00617
  247949 JOSE IRIZARRY SANTIAGO                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  684402 JOSE IRRIZARY REBOYRAS                        HP ‐ POSADA DIURNA                                                                                           RIO PIEDRAS        PR         009360000
  684403 JOSE IRVING CRUZ JAVARIZ                      PO BOX 9021112                                                                                               SAN JUAN           PR         00902‐1112

   684404 JOSE ISMAEL DELGADO ALTIERI                  P O BOX 156                                                                                                  LARES              PR         00669
          JOSE ISRAEL BERRIOS Y SILVIA
   684405 TEJADA                                       URB. CAPARRA TERRACE   1605 CALLE 4 SO                                                                       SAN JUAN           PR         00921
   684406 JOSE ISRAEL BERRIOS ZAYAS                    HC 03 BOX 13118                                                                                              COROZAL            PR         00783
   247950 JOSE ISRAEL DROZ ALVARADO                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JOSE IVAN CARRASQUILLO
   684407 SANTANA                                      BO LAS CUEVAS          CALLE 376                                                                             TRUJILLO ALTO      PR         00977
   247951 JOSE IVAN CARRILLO ARROYO                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   247953 JOSE IVAN CRUZ VAZQUEZ                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   247954 JOSE IVAN CUADRADO ARROYO                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   247955 JOSE IVAN GARCIA MORALES                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   247957 JOSE IVAN NICOLAU NIN                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684409 JOSE IVAN OCASIO RIVERA                      URB CAMPAMENTO         11 CALLE E                                                                            GURABO             PR         00778
   247958 JOSE IVAN PADILLA CHINEA                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684410 JOSE IVAN RIVERA RUIZ                        PASEO CALAMAR          3036 SECCION 3 LEVITOWN                                                               TOA BAJA           PR         00949
   247959 JOSE J ABREU VAZQUEZ                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   247960 JOSE J ACEVEDO RIVERA                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684411 JOSE J ACOSTA GARCIA                         PO BOX 561046                                                                                                GUAYANILLA         PR         00656
   684412 JOSE J ACOSTA JAPAUL                         URB CUIDAD MASSO       J 17 CALLE 10                                                                         SAN LORENZO        PR         00754
   680841 JOSE J ADAIME RIVERA                         148 CALLE ATOCHA                                                                                             PONCE              PR         00730
   247961 JOSE J ADAMES FIGUEROA                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   247962 JOSE J AGOSTO PEREZ                          REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684413 JOSE J AGUAYO JIMENEZ                        125 HALLSTROM CT                                                                                             DEBARY             FL         32713
   247963 JOSE J ALACAN RIOS                           REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684414 JOSE J ALAMO                                 URB VALPARAISO         K 17 CALLE 1                                                                          TOA BAJA           PR         00949
   247964 JOSE J ALICEA CABRERA                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   247965 JOSE J ALLENDE MORALES                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684415 JOSE J ALMESTICA FIGUEROA                    VILLA CRIOLLOS         I 1 CALLE ACEROLA                                                                     CAGUAS             PR         00725
          JOSE J ALMODOVAR E IVETTE L
   247966 CRUZ                                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684416 JOSE J APARICIO LASPINA                      P O BOX 9022228                                                                                              SAN JUAN           PR         00902‐2228
   684417 JOSE J APONTE CORA                           P O BOX 581                                                                                                  ARROYO             PR         00714
   684418 JOSE J APONTE GOMEZ                          HC 2 BOX 14900                                                                                               AGUAS BUENAS       PR         00703
   684419 JOSE J ARROYO CHAPERO                        HC 05 BOX 56670‐9227                                                                                         CAGUAS             PR         00725
   247967 JOSE J ARROYO MALDONADO                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   247968 JOSE J ARROYO NOVOA                          REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684420 JOSE J ARUZ GUADALUPE                        P O BOX 1524                                                                                                 TOA ALTA           PR         00951
   684421 JOSE J AULET COLON                           HC 1 BOX 3761                                                                                                JAYUYA             PR         00664‐9709
   247970 JOSE J AYALA AYALA                           REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684422 JOSE J AYMAT RIVERA                          19 REPTO ROMAN                                                                                               SAN SEBASTIAN      PR         00685
   247971 Jose J Belen Rivera                          REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684425 JOSE J BERRIOS ZAYAS                         URB VILLA RETIRO       Q2                                                                                    SANTA ISABEL       PR         00757
          JOSE J BLASCO Y JESSICA
   684426 CALDERON                                     PORTICOS DE CUPEY      CALLE PIEDRA NEGRA NUM 8                                                              SAN JUAN           PR         00926
   247973 JOSE J BOSCHETTI RIVERA                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  247974 JOSE J BRAVO CHICO                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  684427 JOSE J BURGOS COLLAZO                        URB BELLO MONTE              C 46 CALLE 14                                                                         GUAYNABO          PR         00969
  247975 JOSE J BURGOS TORRES                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  247976 JOSE J CABIYA MORALES                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   684428 JOSE J CABRERA MALDONADO                    BO UNIBON PATRON             HC 01 BOX 2824                                                                        MOROVIS           PR         00687
   684429 JOSE J CABRERA ORTIZ                        URB SAN FERNANDO             E 16 CALLE 1                                                                          BAYAMON           PR         00957
   680842 JOSE J CABRERA RIVERA                       BO TOITA APT 671                                                                                                   CAYEY             PR         00737
   684430 JOSE J CALDERON ROBLES                      HC03 BOX 8134                                                                                                      GUAYNABO          PR         00971
   684431 JOSE J CALDERON TORRES                      HC 2 BOX 20225                                                                                                     SAN SEBASTIAN     PR         00685
   684432 JOSE J CAMACHO TORRES                       HC 01 BOX 3258                                                                                                     VILLALBA          PR         00766
   247977 JOSE J CAMPOS                               REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   247978 JOSE J CANALES MERCED                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   684433 JOSE J CANLAS ACOSTA                        URB STA ISIDRA II            135 CALLE 8                                                                           FAJARDO           PR         00738
   247980 JOSE J CARRER GONZALEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   247981 JOSE J CARTAGENA                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   247982 JOSE J CASIANO PEREZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   684435 JOSE J CHINEA MARTINO                       COND GALLARDO GARDENS        1020 APT H 13 CARR 19                                                                 GUAYNABO          PR         00966
   684436 JOSE J CINTRON CINTRON                      PO BOX 1954                                                                                                        GUAYAMA           PR         00785
   684437 JOSE J CINTRON RIVERA                       BO PLAYITA                   18 CALLE B                                                                            SALINAS           PR         00751
   684438 JOSE J CLAUDIO                              BO VEGAS                     26610 CALLE ISABEL COLON                                                              CAYEY             PR         00736
   684439 JOSE J COLLAZO RAMOS                        C 9 EXT VILLA NAVARRO                                                                                              MAUNABO           PR         00707
   247985 JOSE J COLLAZO SOTO                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   247986 JOSE J COLON COLON                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   684440 JOSE J COLON LOPEZ                          SECTOR LA PLATA              E 19 CALLE 7                                                                          CAYEY             PR         00736
   684441 JOSE J CONCEPCION SIERRA                    PO BOX 3157                                                                                                        BAYAMON           PR         00960
   247987 JOSE J CORA ROSA                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   247989 JOSE J CORREA DAVILA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   247990 JOSE J CORTES                               REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   684443 JOSE J COSTA SOTO                           1555 MARTIN TRAVIESO         ST 1401                                                                               SAN JUAN          PR         00907
   684444 JOSE J COSTALES PEREZ                       PO BOX 1119                                                                                                        JAYUYA            PR         00664
   247991 JOSE J CRUZ ACEVEDO                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   247992 JOSE J CRUZ AQUINO                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   684445 JOSE J CRUZ COLON                           BO MANZANILLA                CALLE 3                                                                               JUANA DIAZ        PR         00795
   684446 JOSE J CRUZ FIGUEROA                        RR 11 BOX 2215                                                                                                     BAYAMON           PR         00961

   684448 JOSE J CRUZ MONTALVAN                       BOX BEATRIZ DE CIDRA APT 1122                                                                                      CIDRA             PR         00739
   247994 JOSE J CRUZ REYES                           REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   247995 JOSE J CRUZ RIVERA                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   247996 JOSE J CRUZ TORRES                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   684449 JOSE J CURZ PELLOT                          P O BOX 4074                                                                                                       AGUADILLA         PR         00605
   247997 JOSE J DAVILA CARRION                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   247998 JOSE J DAVILA NIEVES                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   247999 JOSE J DE JESUS RULLAN                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   248000 JOSE J DELGADO AYALA                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   684450 JOSE J DELGADO PEREZ                        URB LAS LOMAS                 1670 CALLE 22 SO                                                                     SAN JUAN          PR         00921
   684452 JOSE J DIAZ ARROYO                          URB MONTEBELLO                7012 CALLE ZARINA                                                                    HORMIGUERO        PR         00660
   248003 JOSE J DIAZ BAEZ                            REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          JOSE J DIAZ DE JESUS / MARIA I
   248004 DE JESUS                                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   248005 JOSE J DIAZ PEREZ                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   684454 JOSE J DIAZ RIVERA                                                   331 AVE WINSTON CHURCHILL                                                                 SAN JUAN          PR         00926




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          JOSE J DIAZ RIVERA DBA AIR2                 331 Ave Winston Churchill Urb El
   248006 WATER DIAZ                                  Senorial                         331 Ave Winston Churchill                                                              SAN JUAN            PR         00926
   248007 JOSE J DORTA ROMAN                          REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
                                                      COND PARQUE DE SAN
   684456 JOSE J DUCONGE HERNANDEZ                    ANTONIO                          APT 505                                                                                CAGUAS              PR         00725
   248008 JOSE J DUMONT GARCIA                        REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   684457 JOSE J ECHEGARAY                            HC 3 BOX 22036                                                                                                          ARECIBO             PR         00612
   248009 JOSE J ESTERAS TORRES                       REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   684458 JOSE J FACUNDO GEIGEL                       PO BOX 451                                                                                                              GUAYNABO            PR         00969‐1800
   248011 JOSE J FELICIANO PRIETO                     REDACTED                         REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   684460 JOSE J FERNANDEZ                            P O BOX 37                                                                                                              COAMO               PR         00769
          JOSE J FERNANDEZ / ANA M
   684461 SALGADO                                     SABANA SECA                     164 A CALLE LEON PARCELAS                                                               TOA BAJA            PR         00949
   684463 JOSE J FLORAN RIVERA                        Calle Galicia AU 77 6TA SECC    SANTA JUANITA                                                                           BAYAMON             PR         00956
   248017 JOSE J FUENTES DIAZ                         REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   248018 JOSE J FUENTES LINARES                      REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   248019 JOSE J FUENTES MORALES                      REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   684467 JOSE J GALARZA FIGUEROA                     PO BOX 1058                                                                                                             LAJAS               PR         00667
   248020 JOSE J GALARZA REYES                        REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   248021 JOSE J GARCIA AYALA                         REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   684468 JOSE J GARCIA BAEZ                          CALLE POST 180                  SUR I PISO                                                                              MAYAGUEZ            PR         00680
   684470 JOSE J GARCIA BELTRAN                       URB LAS CUMBRES                 879 CALLE JUNCO                                                                         SAN JUAN            PR         00926
   684471 JOSE J GARCIA DIAZ                          BOX 1116                                                                                                                CIDRA               PR         00739
   684472 JOSE J GARCIA ECHEVARRIA                    HC 06 BOX 4238                                                                                                          COTO LAUREL         PR         00780‐9514
   684473 JOSE J GARCIA GODOY                         REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   684474 JOSE J GARCIA GONZALEZ                      VILLA PALMERAS                  269 CALLE VIZCARRONDO                                                                   SAN JUAN            PR         00915
   680775 JOSE J GARCIA MORALES                       P O BOX 200160                                                                                                          SAN JUAN            PR         00936
   248022 JOSE J GARCIA ORENGO                        REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   248023 JOSE J GARCIA PEREZ                         REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   684476 JOSE J GARCIA RIOS                          PO BOX 648                                                                                                              TOA ALTA            PR         00954
   248024 JOSE J GARCIA SERRANO                       REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   248025 JOSE J GASTON LABOY                         REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   248026 JOSE J GILBES NIEVES                        REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   684478 JOSE J GOMEZ LUIS                           163 CALLE VILLAMIL APTO B 2                                                                                             SAN JUAN            PR         00907
   684479 JOSE J GONZALEZ                             SANTA JUANITA                   WL 9 SANTA JUANITA                                                                      BAYAMON             PR         00956
   248027 JOSE J GONZALEZ APONTE                      REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   684483 JOSE J GONZALEZ PEREZ                       BO REAL PATILLAS                HC 763 3819                                                                             PATILLAS            PR         00723
   248028 JOSE J GONZALEZ RIVERA                      REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   248029 JOSE J GONZALEZ TORRES                      REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   248030 JOSE J GONZALEZ VELAZQUEZ                   REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JOSE J GONZALEZ Y LAURA
   248031 GONZALEZ                                    REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   248032 JOSE J GUADALUPE SANTIAGO                   REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   248033 JOSE J GUEITS ORTIZ                         REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   684484 JOSE J GUZMAN                               HC 01 BOX 2069                                                                                                          JAYUYA              PR         00664
   684485 JOSE J GUZMAN MELENDEZ                      PO BOX 163                                                                                                              MOROVIS             PR         00687 0163
   684486 JOSE J GUZMAN SANCHEZ                       PO BOX 1921                                                                                                             CAGUAS              PR         00726‐1921
   248034 JOSE J GUZMAN VALIENTE                      REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   684487 JOSE J GUZMAN VELAZQUEZ                     PO BOX 21365                                                                                                            SAN JUAN            PR         00928
   248035 JOSE J HERNANDEZ CARDONA                    REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   684488 JOSE J HERNANDEZ PEREZ                      500 PASEO MONACO APT 77                                                                                                 BAYAMON             PR         00956
   248036 JOSE J HERNANDEZ RAMOS                      REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED




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MML ID                    NAME                                 ADDRESS 1                       ADDRESS 2               ADDRESS 3                          ADDRESS 4              CITY          STATE   POSTAL CODE        COUNTRY

   248037 JOSE J HERNANDEZ VILLAFANE                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248038 JOSE J HUERTAS GONZALEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248040 JOSE J IRIZARRY CORNIER                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248041 JOSE J JIMENEZ MEDINA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684489 JOSE J JIMENEZ RIVERA                       URB PARKVILLE                 AVE LOPATEGUI A 5                                                                 GUAYNABO            PR           00969
   248042 JOSE J JONES COLON                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248043 JOSE J JUAN ALICEA                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248044 JOSE J JUARBE ROMAN                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   248045 JOSE J LABOY Y MAYRA CRESPO                 REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248046 JOSE J LARRAURI RENTA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684490 JOSE J LAUREANO VALENTIN                    P O BOX 1065                                                                                                    BARCELONETA         PR           00617
   248047 JOSE J LEBRON CRUZ                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684492 JOSE J LINARES ROSARIO                      RES VIRGILIO DAVILA           EDIF 40 APT 384                                                                   BAYAMON             PR           00961
   684493 JOSE J LLANOS CALDERON                      COM LAS DOLORES               194 CALLE ARGENTINAS                                                              RIO GRANDE          PR           00745
   248048 JOSE J LOPEZ AGUDO                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684495 JOSE J LOPEZ LUQUE                          BO MULAS                      CARR 174 KM 19.6                                                                  AGUAS BUENAS        PR           00703
   248049 JOSE J LOPEZ ORTIZ                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248050 JOSE J LOPEZ RAMOS                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684496 JOSE J LOPEZ RODRIGUEZ                      2201 MIRADORES DE VENUS                                                                                         SAN JUAN            PR           00924
          JOSE J LUGO MARTINEZ / J J
   684497 PAINTING                                    NRB FAIR VIEW                 K 5 CALLE 16                                                                      TRUJILLO ALTO       PR           00926

   684498 JOSE J LUGO OLIVERA                         URB VALLE ARRIBA HEIGHTS AB   13 AVE MONSERRATE                                                                 CAROLINA            PR           00985
   248051 JOSE J LUGO TORO                            REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684499 JOSE J LUGO TORRES                          PO BOX 945                                                                                                      CIDRA               PR           00739
   248052 JOSE J MACHICOTE VICENTE                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684500 JOSE J MADERA LUGO                          COND KINGS COURT 59           CALLE KINGS CT         APTO 1001                                                  SAN JUAN            PR           00911
   684502 JOSE J MALDONADO GARCIA                     PO BOX 1922                                                                                                     LARES               PR           00669
          JOSE J MALDONADO MENDEZ/
   248053 ANILL MENDEZ                                REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248055 JOSE J MALDONADO OMANA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684503 JOSE J MARQUES MARQUES                      PO BOX 823                                                                                                      ARECIBO             PR           00613
   248056 JOSE J MARQUEZ MAZQUEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684504 JOSE J MARRERO MONTIJO                      PO BOX 193900                                                                                                   SAN JUAN            PR           00919‐3900
   248058 JOSE J MARRERO OLMEDA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248059 JOSE J MARTES CORDERO                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684506 JOSE J MARTES VILLALOBOS                    HC 2 BOX 7646                                                                                                   CIALES              PR           00638
   248060 JOSE J MARTINEZ                             REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248061 JOSE J MARTINEZ BRAVO                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684508 JOSE J MARTINEZ GONZALEZ                    P O BOX 971                                                                                                     ARECIBO             PR           00613
   684509 JOSE J MARTINEZ OLMEDO                      PO BOX 191118                                                                                                   SAN JUAN            PR           00919‐1118
   684510 JOSE J MATOS ORTIZ                          HC 01 BOX 5260                                                                                                  CIALES              PR           00638
   248063 JOSE J MEJIAS FERNANDEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684512 JOSE J MELENDEZ                             P O BOX 11855                                                                                                   SAN JUAN            PR           00910‐4225
   684513 JOSE J MELENDEZ SOLIVAN                     ALTURAS VILLAS DEL REY        B 4 CALLE 28                                                                      CAGUAS              PR           00725
   684515 JOSE J MENDOZA                              HC 44 BOX 12671                                                                                                 CAYEY               PR           00736
   248064 JOSE J MENDOZA DIAZ                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684516 JOSE J MENDOZA RODRIGEZ                     HC 01 BOX 3798                                                                                                  BARANQUITAS         PR           00794
   248065 JOSE J MERCADO MENDEZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248066 JOSE J MERCADO SANTIAGO                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248067 JOSE J MERCADO VAZQUEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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MML ID                NAME                                      ADDRESS 1                    ADDRESS 2              ADDRESS 3                           ADDRESS 4             CITY        STATE  POSTAL CODE       COUNTRY
  248068 JOSE J MESA COLON                            REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  248069 JOSE J MOJICA RODRIGUEZ                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  248070 JOSE J MOJICA VAZQUEZ                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  248071 JOSE J MOLINA RESTO                          REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  248072 JOSE J MORALES ALIER                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  684517 JOSE J MORALES MORALES                       BO CAONILLAS                 HC 01 BOX 4051                                                                   UTUADO             PR       00641‐9605
  684518 JOSE J MORALES ORTIZ                         P O BOX 2071                                                                                                  YABUCOA            PR       00767
  248073 JOSE J MORALES VAZQUEZ                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  684519 JOSE J MORENO NIEVES                         BRISAS DE BAYAMON            EDIF 15 APT 153                                                                  BAYAMON            PR       00961
  684520 JOSE J MULINELLI                             JARD DE CAPARRA              WW3 CALLE 18                                                                     BAYAMON            PR       00959
  684521 JOSE J MUNIZ LASALLE                         BOX 2453                     CALLE GARDENIA                                                                   QUEBRADILLAS       PR       00678
  248074 JOSE J MUNIZ VELEZ                           REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  248075 JOSE J MUNOZ CARRION                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  248077 JOSE J MUNOZ SANCHEZ                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  248078 JOSE J NARVAEZ RIVERA                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  684522 JOSE J NAVAS ROBLETO                         CONDOMINIO LAGO MAR          APT 5 C                                                                          ISLA VERDE         PR       00979
  248079 JOSE J NEGRON FONTANEZ                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  684523 JOSE J NEGRON HERNANDEZ                      HC 20 BOX 21572                                                                                               SAN LORENZO        PR       00754
  248080 JOSE J NEGRON RUIZ                           REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  248081 JOSE J NUNEZ BONILLA                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  248083 JOSE J OLIVENCIA VELEZ                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  248084 JOSE J OLIVER VELAZQUEZ                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  248085 JOSE J OLVARRIA SOTO                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  248086 JOSE J OQUENDO RIVAS                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  248087 JOSE J ORTEGA                                REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  684525 JOSE J ORTIZ COLON                           COND CAMPO REAL              APT B 113 BOX 2845                                                               TRUJILLO ALTO      PR       00976
  248090 JOSE J ORTIZ GONZALEZ                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  248091 JOSE J ORTIZ HERNANDEZ                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  248092 JOSE J ORTIZ LOZADA                          REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  248093 JOSE J ORTIZ RIVERA                          REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED

   684527 JOSE J OTERO OYOLA                          PO BOX 9023899 OLD STATION                                                                                    SAN JUAN           PR         00902‐3899
   248094 JOSE J OTONO MALAVE                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684528 JOSE J OYOLA RIVERA                         HC 74 BOX 5835                                                                                                NARANJITO          PR         00719‐7446
   248095 JOSE J PABON GONZALEZ                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248096 JOSE J PABON SANTIAGO                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684529 JOSE J PACHECO VAZQUEZ                      URB VILLA UNIVERSITARIA      AD 3 CALLE 23                                                                    HUMACAO            PR         00791
   248097 JOSE J PADILLA SANTOS                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248098 JOSE J PAGAN COLON                          REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JOSE J PAGAN COLON DBA
   248099 PAGAN AUTO GLASS                            RR 1 BOX 12290                                                                                                OROCOVIS           PR         00720
   684530 JOSE J PAGAN COTTO                          PO BOX 140                                                                                                    CIDRA              PR         00739
   248100 JOSE J PAREJO COHEN                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JOSE J PEREZ /RAMON C
   684531 MENENDEZ                                    CARITE 208 CROWN HILL                                                                                         SAN JUAN           PR         00926
   248101 JOSE J PEREZ CORDERO                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248104 JOSE J PEREZ DAVILA                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684532 JOSE J PEREZ RODRIGUEZ                      PO BOX 79                                                                                                     TOA ALTA           PR         00954
   248105 JOSE J PEREZ TORRES                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684533 JOSE J PEREZ TRUJILLO                       PO BOX 238                                                                                                    MAYAGUEZ           PR         00681‐0238
   248106 JOSE J PI MARTINEZ                          REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248107 JOSE J PINTOR SANTIAGO                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248108 JOSE J QUINONES MACHADO                     REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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MML ID                NAME                                       ADDRESS 1                 ADDRESS 2                  ADDRESS 3                           ADDRESS 4              CITY          STATE    POSTAL CODE        COUNTRY
  684534 JOSE J RAMIREZ ACEVEDO                        RIO PIEDRAS HEIGHTS       1654 CALLE RIMAC                                                                     SAN JUAN            PR           00926
         JOSE J RAMOS / MIGDALIS
  248109 IRIZARRY                                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  248110 JOSE J RAMOS RODRIGUEZ                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  248111 JOSE J RAMOS RUIZ                             REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  684536 JOSE J REYES CORTES                           URB QUINTAS DE CAMPACHE   511 CALLE BEGONIA                                                                    CAROLINA            PR           00987‐7160
  248112 JOSE J REYES ESPINOSA                         REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  248113 JOSE J REYES RIVERA                           REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  248114 JOSE J RINCON SAN MIGUEL                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  684537 JOSE J RIOS                                   PO BOX 21365                                                                                                   SAN JUAN            PR           00928
         JOSE J RIOS MERCADO Y TERESA
  684538 OQUENDO                                       PUEBLITO NUEVO            338 CALLE 3                                                                          PONCE               PR           00730
  684539 JOSE J RIVERA BERMUDEZ                        HC 43 BOX 9693                                                                                                 CAYEY               PR           00736
  684540 JOSE J RIVERA COLON                           P O BOX 727                                                                                                    BARRANQUITAS        PR           00794
  248116 JOSE J RIVERA CORTES                          REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  684541 JOSE J RIVERA DE JESUS                        URB MIRADOR DE BAIROA     2 P 23 CALLE 22                                                                      CAGUAS              PR           00725‐1022
  684542 JOSE J RIVERA FIGUEROA                        URB LOS ALMENDROS         1318 POCHO LABRADOR                                                                  PONCE               PR           00716
  684544 JOSE J RIVERA LOPEZ                           TINTILLO GARDENS          CALLE 7G 30                                                                          GUAYNABO            PR           00966
  684545 JOSE J RIVERA MIRANDA                         HC‐01 BOX 7397                                                                                                 AGUAS BUENAS        PR           00703
  684546 JOSE J RIVERA ORTIZ                           JARDINES                  2 B 35 CALLE ORQUIDEA                                                                CAYEY               PR           00736
  684547 JOSE J RIVERA PEREZ                           JARDINES DEL CARIBE       231 CALLE 15                                                                         PONCE               PR           00731
  684548 JOSE J RIVERA PINTO                           30 CALLE UTUADO                                                                                                SAN JUAN            PR           00917‐4421
  248117 JOSE J RIVERA QUINONES                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  684549 JOSE J RIVERA ROSARIO                         P O BOX 211                                                                                                    LA PLATA            PR           00786
  248119 JOSE J RIVERA VAZQUEZ                         REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  248120 JOSE J ROBLES CORTES                          REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  248121 JOSE J RODRIGUEZ ALVAREZ                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  684553 JOSE J RODRIGUEZ ARCE                         RES BAIROS CN‐6 CALLE 9                                                                                        CAGUAS              PR           00725
  684552 JOSE J RODRIGUEZ BRUNO                        URB COUNTRY CLUB          MJ 5 CALLE 412                                                                       CAROLINA            PR           00982
  248122 JOSE J RODRIGUEZ CINTRON                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  248123 JOSE J RODRIGUEZ COLON                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  248124 JOSE J RODRIGUEZ DAVILA                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  684554 JOSE J RODRIGUEZ DE LA PAZ                    HC 83 BOX 7832                                                                                                 VEGA ALTA           PR           00692

   684555 JOSE J RODRIGUEZ HERNANDEZ                   20 GAMBOA                                                                                                      SAN GERMAN          PR           00683
   684556 JOSE J RODRIGUEZ JIMENEZ                     HC 05 BOX 27673                                                                                                CAMUY               PR           00627
   684557 JOSE J RODRIGUEZ LOPEZ                       PUB 163 VV‐1 C 39         STA JUANITA                                                                          BAYAMON             PR           00956
   248126 JOSE J RODRIGUEZ NEGRON                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   684558 JOSE J RODRIGUEZ OQUENDO                     HC 1 BOX 29030                                                                                                 CAGUAS              PR           00725
   684561 JOSE J RODRIGUEZ PEREZ                       PO BOX 381                                                                                                     ISABELA             PR           00662

   248127 JOSE J RODRIGUEZ RODRIGUEZ                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   684562 JOSE J RODRIGUEZ SALAZAR                     URB LEVITTOWN             COND ACUAPARQUE APT 21A                                                              TOA BAJA            PR           00949
   248128 JOSE J RODRIGUEZ SOTO                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   684564 JOSE J RODRIGUEZ SUAREZ                      PO BOX 512                                                                                                     COAMO               PR           00769
   684565 JOSE J RODRIGUEZ TORRES                      URB DOS RIOS              P 3 CALLE 1                                                                          TOA BAJA            PR           00949
   684566 JOSE J RODRIGUEZ VEGA                        P 0 BOX 1910                                                                                                   COAMO               PR           00769
   684568 JOSE J ROLDAN FERNANDEZ                      EXT SAN JOSE              14 CALLE A                                                                           GURABO              PR           00778
   248129 JOSE J ROSA ARANA                            REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   248130 JOSE J ROSA RIVERA                           REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   684573 JOSE J ROSADO REYES                          URB VILLA CONTESA         F 5 CALLE CASTILLA                                                                   BAYAMON             PR           00956
   248131 JOSE J ROSARIO                               REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   248132 JOSE J ROSARIO MARTINEZ                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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MML ID                NAME                                      ADDRESS 1                    ADDRESS 2                  ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  684576 JOSE J RUIZ CALES                            HC 01 BOX 11030                                                                                                   CAROLINA          PR         00987
  248133 JOSE J RUIZ ROLON                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  684577 JOSE J RUIZ ROMERO                           HC 1 BOX 5220                                                                                                     CANOVANAS         PR         00729
  248134 JOSE J SALGADO CASILLAS                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  248135 JOSE J SALGADO RIVERA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  248136 JOSE J SAN MIGUEL LOPEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  248137 JOSE J SANCHEZ PAGAN                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  248138 JOSE J SANCHEZ TORRES                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  684578 JOSE J SANTANA ACOSTA                        HC 01 BOX 17583                                                                                                   HUMACAO           PR         00791
  248139 JOSE J SANTANA MORALES                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  248140 JOSE J SANTIAGO COLON                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   684579 JOSE J SANTIAGO EMMANUELLI                  HC 1 BOX 6631                                                                                                     GUAYANILLA        PR         00656‐9716
   248141 JOSE J SANTIAGO GONZALEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684580 JOSE J SANTIAGO MELENDEZ                    PO BOX 363507                                                                                                     SAN JUAN          PR         00936‐3507
   684581 JOSE J SANTIAGO MIRO                        COND PLAZA ANTILLANA        151 5603                                                                              SAN JUAN          PR         00918
   248142 JOSE J SANTIAGO ROMAN                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248143 JOSE J SANTOS MOLINA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248144 JOSE J SANTOS ROSARIO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248145 JOSE J SOLLA DURIEUX                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684588 JOSE J SOTO                                 P O BOX 2101                                                                                                      SAN JUAN          PR         00918
   248147 JOSE J SOTO CAPO                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684589 JOSE J SOTO CASTRO                          HC 01 BOX 4223                                                                                                    LAS MARIAS        PR         00670
   248148 JOSE J SOTO HERNANDEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248149 JOSE J SOTO JIMENEZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248150 JOSE J SOTO LEBRON                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684590 JOSE J SOTO MORA                            TERRAZUL                    EDIF P 1 BOX 85                                                                       ARECIBO           PR         00612
   248151 JOSE J SOTO ORTIZ                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248152 JOSE J TANON DIAZ                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248153 JOSE J TERUEL DE TORRES                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248154 JOSE J TORO MORALES                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248155 JOSE J TORRADO OJEDA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684591 JOSE J TORRES RIVERA                        URB SANTA TERESITA          BK 14 CALLE 25                                                                        PONCE             PR         00731
          JOSE J TURULL Y MARALIZ
   248159 PORTELA VAZQUEZ                             REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   684594 JOSE J VALDERRAMA MONTIJO                   PR 02 BOX 6077 BO PUGNADO                                                                                         MANATI            PR         00674
   684595 JOSE J VARGAS COTTO                         PMB 328 PO BOX 7891                                                                                               GUAYNABO          PR         00970
   248160 JOSE J VARGAS MORALES                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684597 JOSE J VARGAS RESTAURANT                    PO BOX 413                                                                                                        JAYUYA            PR         00664
   684598 JOSE J VAZQUEZ CASTRO                       EST DE TORTUGUERO           512 CALLE TULIPA                                                                      VEGA BAJA         PR         00693
   248163 JOSE J VEGA GALIANO                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684601 JOSE J VEGA RODRIGUEZ                       HC 03 BOX 15023                                                                                                   JUANA DIAZ        PR         00795
   684602 JOSE J VELAZQUEZ QUILES                     SANTA TERESITA              Q 75 CALLE B                                                                          PONCE             PR         00731
   684603 JOSE J VELAZQUEZ ROMAN                      DE DIEGO STATION            P O BOX 204                                                                           ARECIBO           PR         00613
   248164 JOSE J VELEZ MILLET                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684604 JOSE J VELEZ VEGA                           PO BOX 6                                                                                                          ADJUNTAS          PR         00601
   684605 JOSE J VERA CARIRE                          HC 01 BOX 5610 B            CARR 119 K 7 HC PARC 191                                                              CAMUY             PR         00627

   684606 JOSE J VILANOVA PORTALATIN                  PO BOX 1501                                                                                                       TRUJILLO ALTO     PR         00977
   684609 JOSE J ZAYAS DIAZ                           BOX 1441                                                                                                          JUANA DIAZ        PR         00795
   684610 JOSE J ZULUAGA                              HC 01 BOX 7281                                                                                                    CANOVANAS         PR         00729‐9710
   684611 JOSE J. BARREIRO GONZALEZ                   CALLE C BLOQUE 22           BAHIA VISTAMAR                                                                        CAROLINA          PR         00983



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  248166 JOSE J. BERRIOS ZAYAS                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   248167 JOSE J. CANDELARIA ESTRELLA                  REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248168 JOSE J. CARRER RIVERA                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684612 JOSE J. COLON RIVERA                         URB LOS CAOBOS                 1497 CALLE JAGUEY                                                                      PONCE               PR         00731

   684613 JOSE J. DELGADO GARCIA                       232 AVE ELEONOR ROOSEVELT                                                                                             SAN JUAN            PR         00907

   684615 JOSE J. FIGUEROA HEREDIA                     URB. SAN LORENZO VALLEY 26     CALLE BULEVAR DE LA CEIBA                                                              SAN LORENZO         PR         00754‐9800
   248169 JOSE J. FUENTES OCASIO                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248170 JOSE J. GARCIA DIAZ                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248171 JOSE J. GARCIA GODOY                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248172 JOSE J. GONZALEZ CENTENO                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248173 JOSE J. GONZALEZ ROMAN                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248174 JOSE J. LABOY PEREZ                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   684616 JOSE J. MONGE DIAZ                           C/DEL RIO 306, VILLA PALMERA                                                                                          SAN JUAN            PR         00912
   248175 JOSE J. MORALES MELENDEZ                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684617 JOSE J. RAMIREZ FAS                          PO BOX 637                                                                                                            MAYAGUEZ            PR         00681
   684618 JOSE J. REYES ORTIZ                          HC‐43 BOX 10902                                                                                                       CAYEY               PR         00736
   248177 JOSE J. ROLON RODRIGUEZ                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248178 JOSE J. RUIZ VALCARCEL                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248179 JOSE J. VAZQUEZ GONZALEZ                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248180 JOSE J. VAZQUEZ RIVERA                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684624 JOSE J. VELEZ LUGO                           PO BOX 845                                                                                                            LARES               PR         00669

   684625 JOSE J. ZAMORA                               CALLE DE DIEGO NO. 62 OESTE                                                                                           MAYAGUEZ            PR         00680
   248181 JOSE J. ZAVALA DIAZ                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684626 JOSE J.FIGUEROA COLON                        PO BOX 363252                                                                                                         SAN JUAN            PR         00936
   248182 JOSE J.GARCIA ECHEVARRIA                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248184 JOSE JAIME RIVERA                            REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684627 JOSE JARAMILLO OCASIO                        VILLA CAROLINA                 214‐25 CALLE 503                                                                       CAROLINA            PR         00985
   684628 JOSE JAVIER ALBINO ORTIZ                     PO BOX 247                                                                                                            COROZAL             PR         00783

   248185 JOSE JAVIER CARABALLO MARTIR REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684629 JOSE JAVIER CASTRO           N 1 4 B GLENVIEW GARDEN                                                                                                               PONCE               PR         00944
   684631 JOSE JAVIER ESTEVES          URB RIBERAS DEL RIO                            G 19 CALLE 6                                                                           BAYAMON             PR         00959
          JOSE JAVIER GONZALEZ
   248187 MORALES                      REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                      5FF2 CALLE PARQUE MARIA
   684632 JOSE JAVIER GUADALUPE                        URB VILLA FONTANA              LUISA                                                                                  CAROLINA            PR         00983
   684633 JOSE JAVIER LAGUER                           URB VALLE ALTO                 2304 CALLE LOMA                                                                        PONCE               PR         00730
   684634 JOSE JAVIER LOPEZ LOPEZ                      PO BOX 406                                                                                                            LARES               PR         00669

   684635 JOSE JAVIER MARTINEZ MUNOZ                   PO BOX 1579                                                                                                           SAN JUAN            PR         00902
   248190 JOSE JAVIER ORTIZ DEL VALLE                  REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE JAVIER RODRIGUEZ
   248191 BONILLA                                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE JAVIER RODRIGUEZ
   684638 HERNAIZ                                      RES MANUEL A PEREZ             A 6 APT 65                                                                             SAN JUAN            PR         00923
   684639 JOSE JAVIER TORRES MUNICH                    EXT. VILLA RICA                AB‐1 CALLE ANA                                                                         BAYAMON             PR         00959‐4968
   684640 JOSE JIMENEZ                                 ALTURA DE FLAMBOYAN            R 10 25 ST                                                                             BAYAMON             PR         00959
   248192 JOSE JIMENEZ SANCHEZ                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  248193 JOSE JIMENEZ TIRADO          REDACTED                                      REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  684645 JOSE JOAQUIN CARDENAS        COND TORRE DEL MAR                            PQUE SUR APT 1501                                                               BAYAMON             PR         00956
  248194 JOSE JOAQUIN FAS QUINONEZ    REDACTED                                      REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  684646 JOSE JOAQUIN PARRILA CRUZ    PO BOX 362492                                                                                                                 SAN JUAN            PR         00936‐2492
                                      URBVILLA VENECIA 041                  CALLE
   684648 JOSE JOAQUIN PIZARRO ROHENA 3                                                                                                                             CAROLINA            PR         00979
          JOSE JOAQUIN RODRIGUEZ
   248195 FRAGUADA                    REDACTED                                      REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   248196 JOSE JOEL ALVARADO ALVARADO REDACTED                                      REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   248197 JOSE JOMAR ROSADO MARCANO REDACTED                                        REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684651 JOSE JORGE ROMAN          PO BOX 9020197                                                                                                                  SAN JUAN            PR         00902‐0197
   684649 JOSE JORGE ROMAN MEDINA   PO BOX 9020197                                                                                                                  SAN JUAN            PR         00902‐0197
   684650 JOSE JORGE TANCO BAEZ     GOLDEN VIEW PLAZA                               APT 1209                                                                        SAN JUAN            PR         00924
   248198 JOSE JORGE TORRES         REDACTED                                        REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248199 JOSE JOSE INVESTMENT      HC‐01 BOX 2900                                                                                                                  BARRANQUITAS        PR         00794‐0000
   248200 JOSE JUAN ALICEA LOPEZ    REDACTED                                        REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248203 JOSE JUAN ALVAREZ MASSINI REDACTED                                        REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684652 JOSE JUAN AVILES GARCIA   PO BOX 11413                                                                                                                    SAN JUAN            PR         00922

   248204 JOSE JUAN CABALLERO ALVAREZ                 REDACTED                      REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684653 JOSE JUAN CASTRO                            PO BOX 809                                                                                                    CAGUAS              PR         00726‐0809
   248205 JOSE JUAN CASTRO ALERS                      REDACTED                      REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248206 JOSE JUAN DIAZ HERNANDEZ                    REDACTED                      REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684654 JOSE JUAN GARCIA COSME                      PO BOX 360188                                                                                                 SAN JUAN            PR         00936
          JOSE JUAN GONZALEZ / GLENDA
   684655 M GONZALEZ                                  200 BULEVAR DE LA FUENTE      25 R PASEO SOL                                                                  SAN JUAN            PR         00926
          JOSE JUAN GONZALEZ
   248207 FERNANDEZ                                   REDACTED                      REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   248208 JOSE JUAN HEREIDA MARTINEZ                  REDACTED                      REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   248209 JOSE JUAN IRIZARRY CARABALLO REDACTED                                     REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248210 JOSE JUAN LATALLADI          REDACTED                                     REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684656 JOSE JUAN MARTINEZ           HC 71 BOX 3845                                                                                                               NARANJITO           PR         00719
   248212 JOSE JUAN MEJIAS SANCHEZ     REDACTED                                     REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684658 JOSE JUAN MORAN SIFRE        PO BOX 195055                                                                                                                SAN JUAN            PR         00919‐5055
   248213 JOSE JUAN NUNEZ ORTA         REDACTED                                     REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684659 JOSE JUAN ORTIZ BERMUDEZ     LA PLATA                                     K 7 CALLE RUBI                                                                  CAYEY               PR         00736
   248214 JOSE JUAN POMALES MONTES     REDACTED                                     REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684662 JOSE JUAN RIVERA COLON       A 18 JARD DE BUENA VISTA                                                                                                     CAYEY               PR         00736
   684663 JOSE JUAN RIVERA DURAN       37 CALLE JOSE DE DIEGO                                                                                                       CIALES              PR         00638
   248215 JOSE JUAN RIVERA ROSADO      REDACTED                                     REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248216 JOSE JUAN ROJAS ORTIZ        REDACTED                                     REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   248218 JOSE JUAN SALGADO MARRERO                   REDACTED                      REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   248219 JOSE JUAN SEGARRA MIRANDA                   REDACTED                      REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248220 JOSE JUAN SONEIRA                           REDACTED                      REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684664 JOSE JUAN VAZQUEZ ORTIZ                     HC 72 BOX 6547                                                                                                CAYEY               PR         00736

   248222 JOSE JUAN VERGARA TRINIDAD                  REDACTED                      REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  248226 JOSE JULIAN GALIANY CRUZ                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   248227 JOSE JULIAN LOPEZ MARTINEZ                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   684666 JOSE JULIAN MAESO RISTORUCCI URB LA MERCED                                 453 CALLE CABO H ALVERIO                                                                SAN JUAN            PR         00918

   684667 JOSE JULIAN RIVERA ALONZO                    URB SANTIAGO IGLESIAS 1753    CALLE RAFAEL ALONZO TORRES                                                              RIO PIEDRAS         PR         00921
   684668 JOSE JULIO SERVICE CORP                      HC 6 BOX 72501                                                                                                        CAGUAS              PR         00725
   248228 JOSE K SANTA RODRIGUEZ                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248230 JOSE KAREH CORDERO                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248231 JOSE KELLY HERNANDEZ                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248232 JOSE KELLY LUGO                              REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684679 JOSE L ABAL FRANCO                           RES NEMESIO CANALES           EDIF 19 APT 356                                                                         SAN JUAN            PR         00970
   684680 JOSE L ABRAMS                                COND DEL MARASHFORD           1479 AVE ASHFORD APT 618                                                                SAN JUAN            PR         00907
   248233 JOSE L ABRAMS QUIJANO                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248234 JOSE L ACEVEDO CARRASCO                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684682 JOSE L ACEVEDO GONZALEZ                      HC 1 BOX 6293                                                                                                         MOCA                PR         00676
   248235 JOSE L ACEVEDO LUGO                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248236 JOSE L ACEVEDO VILLANUEVA                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684683 JOSE L ACOSTA FLORES                         HC 01 BOX 8480                                                                                                        SAN GERMAN          PR         00683‐9715
   248237 JOSE L ACOSTA PAGAN                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248238 JOSE L ACOSTA RIVERA                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684686 JOSE L ACOSTA VALENTIN                       P O BOX 673                                                                                                           MARICAO             PR         00606
   248239 JOSE L ALAMEDA NEGRON                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248240 JOSE L ALAMEDA RODRIGUEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684688 JOSE L ALBELO                                VILLA CAROLINA                204‐32 CALLE 513                                                                        CAROLINA            PR         00985
   684689 JOSE L ALBINO DIAZ                           HC 3 BOX 39542                                                                                                        CAGUAS              PR         00725‐9730
   771124 JOSE L ALDANONDO RIVERA                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   248241 JOSE L ALEJANDRO ALEJANDRO                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

          JOSE L ALERS PEREZ/CRISTALERIA
   684692 LAS VEGAS                      BOX 2695                                                                                                                            SAN SEBASTIAN       PR         00685
   248242 JOSE L ALGARIN RAMOS           REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680843 JOSE L ALGARIN SIERRA          URB VILLA CALIZ                             127 CALLE I ILUSION                                                                     CAGUAS              PR         00725
   684693 JOSE L ALICEA GOMEZ            COMUNIDDAD LAS 500                          451 CALLE AMATISTA                                                                      GUAYAMA             PR         00784
   684694 JOSE L ALICEA LARACUENTE       PTO REAL                                    20A CALLE 7                                                                             CABO ROJO           PR         00623
   684695 JOSE L ALICEA MIRANDA          REPTO VALENCIANO                            K 25 CALLE B                                                                            JUNCOS              PR         00777
   684696 JOSE L ALICEA REYES            URB EL VIGIA                                1 CALLE SANTA ANSTACIA                                                                  SAN JUAN            PR         00926‐4203
   684697 JOSE L ALICEA RIVERA           PO BOX 11398                                                                                                                        SAN JUAN            PR         00910‐1398
   248243 JOSE L ALMESTICA GONZALEZ      REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684670 JOSE L ALSINA PEREZ            PMB 2041 BOX 4953                                                                                                                   CAGUAS              PR         00726 4956
          JOSE L ALVARADO
   248244 CARRASQUILLO                   REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   684701 JOSE L ALVARADO RODRIGUEZ                    JARD DEL CARIBE               EE11 CALLE H 31                                                                         PONCE               PR         00731
   248245 JOSE L ALVARADO ROMERO                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248246 JOSE L ALVARADO TORRES                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684698 JOSE L ALVARADO TORRES                       URB. CRUZ ROSARIO             CALLE LAS MARIAS             HC 02 BUZON 5424                                           MOROVIS             PR         00687
   248247 JOSE L ALVAREZ ADDARICH                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248248 JOSE L ALVAREZ ALBARRAN                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   684702 JOSE L ALVAREZ ARRAIZA                       AXION INTL METRO OFFICE PARK EDIF 13 CALLE 1                                                                          GUAYNABO            PR         00966



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  684703 JOSE L ALVAREZ CRUZ                          HC 1 BOX 7995                                                                                                   LAS PIEDRAS        PR         00771
  248250 JOSE L ALVAREZ GARCIA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  684704 JOSE L ALVAREZ SANTIAGO                      URB LOS PINOS                 177 JUNIPERO SAVINA                                                               ARECIBO            PR         00612
  248251 JOSE L ALVAREZ VEGA                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         JOSE L ALVAREZ Y LUZ M
  248252 MENDEZ                                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248253 JOSE L ALVELO COLON                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  684706 JOSE L AMARO RAMOS                           PO BOX 864                                                                                                      YABUCOA            PR         00767
  684707 JOSE L AMBERT LEFEBRE                        PO BOX 9300583                                                                                                  SAN JUAN           PR         00926
                                                      URB JARDINES
   684709 JOSE L APONTE FERNANDEZ                     METROPOLITANOS                963 CALLE VOLTA                                                                   SAN JUAN           PR         00927
   684710 JOSE L APONTE SANCHEZ                       RR 9 BOX 1644                                                                                                   SAN JUAN           PR         00926
   684711 JOSE L AQUINO GUTIERREZ                     PO BOX 8175                                                                                                     CAROLINA           PR         00986
   248254 JOSE L AQUINO ROMERO                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684712 JOSE L ARANA PEREZ                          VALLES DE MANATI              C 53 CALLE 6                                                                      MANATI             PR         00674
   248255 JOSE L ARLEQUIN GUZMAN                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248256 JOSE L AROCHO ROJAS                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684717 JOSE L AROCHO VARGAS                        URB ALMANY                    38 STA MARIA                                                                      MAYAGUEZ           PR         00680
   248257 JOSE L ARROYO ALVARADO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248258 JOSE L ARROYO FREYLES                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248260 JOSE L ARROYO MENDEZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      6188 CALLE FLOR DE LOTO STE
   684718 JOSE L ARROYO OJEDA                         59                                                                                                              SABANA SECA        PR         00952‐4475
   248261 JOSE L ARROYO PADILLA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684719 JOSE L ASPRON GONZALEZ                      PO BOX 16712                                                                                                    SAN JUAN           PR         00908
   680844 JOSE L ASTACIO SOSTRE                       PO BOX 723                                                                                                      MAUNABO            PR         00707
   684720 JOSE L AVILA MALAVE                         URB LAS LOMAS                 1684 CALLE 30 SW                                                                  SAN JUAN           PR         00921‐2437
   248263 JOSE L AVILES GONZALEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248264 JOSE L AVILES JIMENEZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248265 JOSE L AVILES LOPEZ                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248266 JOSE L AVILES MARTINEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248267 JOSE L AYALA CALZADA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248268 JOSE L AYALA CLEMENTE                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684721 JOSE L AYALA CORREA                         PO BOX 7126                                                                                                     PONCE              PR         00732
   248269 JOSE L AYALA CRUZ                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684722 JOSE L AYALA GONZALEZ                       BO SABANA                     P 461 CALLE 13                                                                    VEGA ALTA          PR         00692
   248270 JOSE L AYALA LUGO                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   680845 JOSE L AYALA RODRIGUEZ                      PO BOX 766                                                                                                      MOROVIS            PR         00687
   248271 JOSE L AYALA ROSADO                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248273 JOSE L BAEZ RIVERA                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684727 JOSE L BAEZ ROMERO                          URB LOS CAOBOS                1493 CALLE JAGUEY                                                                 PONCE              PR         00716‐2630

   684728 JOSE L BAHAMUNDI MORALES                    232 AVE ELEONOR ROOSEVELT                                                                                       SAN JUAN           PR         00907
   684729 JOSE L BARRETO CABAN                        369 SECTOR LOS ORTEGAS                                                                                          ISABELA            PR         00662
          JOSE L BARRETO COLON/PURA
   248277 ENERGIA INC                                 PO BOX 2315                                                                                                     GUAYAMA            PR         00785
   248278 JOSE L BARRETO RIOS                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      PO BOX 19175 FERNANDEZ
   684730 JOSE L BELLIDO ROSADO                       JUNCOS STA                                                                                                      SAN JUAN           PR         00910
   684731 JOSE L BELTRAN MORALES                      URB MATIENZO CINTRON          500 CALLE LINARES                                                                 SAN JUAN           PR         00923
   684732 JOSE L BENIQUES MIRANDA                     P O BOX 1326                                                                                                    AGUADA             PR         00602
   248280 JOSE L BENIQUEZ SANTIAGO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED




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          JOSE L BENITEZ APONTE/ GREEN
   248281 ENERGY                                      SYSTEMS CORP                 15 AVE PADRE RIVERA                                                                   HUMACAO            PR           00792
   684733 JOSE L BENITEZ RIVERA                       PARCELA FALU                 305 CALLE 36                                                                          SAN JUAN           PR           00924
   684734 JOSE L BENITEZ SANCHEZ                      PO BOX 252                                                                                                         SAN LORENZO        PR           00754
   248282 JOSE L BERCEDONI LISSIER                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   248283 JOSE L BERDECIA TORRES                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED

   684736 JOSE L BERMUDEZ                             URB ALTURAS DE SANTA MARIA   106 CALLE DEREIPO                                                                     GUAYNABO           PR           00969
   248284 JOSE L BERMUDEZ CINTRON                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   684737 JOSE L BERRIOS RAIMUNDI                     COM JUAN SANCHEZ             CALLE 9 272 BOX 1685                                                                  BAYAMON            PR           00959
   684738 JOSE L BETANCOURT RIVERA                    PMB 20022                    PO BOX 35000                                                                          CANOVANAS          PR           00729

   684739 JOSE L BEVERAGGI HERNANDEZ                  HC 2 BOX 5039                                                                                                      GUAYAMA            PR           00784
          JOSE L BOCIO DBA JOSE L BOCIO
   684740 & ASOCIADO                                  P O BOX 10308                                                                                                      PONCE              PR           00731
   248285 JOSE L BORDOY CRUZ                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   248286 JOSE L BORGES TORRES                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   684742 JOSE L BOSCIO MATOS                         PO BOX 10308                                                                                                       PONCE              PR           00732
   684743 JOSE L BOSQUE FELICIANO                     URB BUENA VENTURA            1109 CALLE MAGNOLIA                                                                   MAYAGUEZ           PR           00680
   248287 JOSE L BRACERO ACEVEDO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   248288 JOSE L BUFFIL MERLE                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   248289 JOSE L BURGOS ARROYO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   684745 JOSE L BURGOS BURGOS                        PO BOX 21365                                                                                                       SAN JUAN           PR           00928
   684746 JOSE L BURGOS MILLET                        P O BOX 361                                                                                                        PUNTA SANTIAGO     PR           00741 0361
   248290 JOSE L BURGOS OTERO                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   684747 JOSE L BURGOS SERRANO                       HC 2 BOX 6828                                                                                                      GUAYNABO           PR           00971
   248291 JOSE L BUSIGO FRONTERA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   248292 JOSE L CABALLERO MARTINEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   248293 JOSE L CABALLERO MEANA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   684749 JOSE L CABALLERO REYES                      HC 1 BOX 11353                                                                                                     ARECIBO            PR           00612
   248294 JOSE L CABAN FELICIANO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   248295 JOSE L CABASSA SAURI                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   248296 JOSE L CABET BONILLA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   248297 JOSE L CABRET RIOS                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   248298 JOSE L CAEZ ESTEVEZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   684750 JOSE L CALABRIA VAZQUEZ                     PO BOX 192354                                                                                                      SAN JUAN           PR           00919‐2354
   248299 JOSE L CALDER VEGA                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   684752 JOSE L CAMACHO                              PO BOX 226                                                                                                         HUMACAO            PR           00792
   684753 JOSE L CAMACHO AVILA                        RR 8 BOX 9489                                                                                                      BAYAMON            PR           00956
   248300 JOSE L CAMACHO LOPEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED

   248301 JOSE L CAMACHO RODRIGUEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   248302 JOSE L CANALES CANCEL                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   684756 JOSE L CANALES ROSS                         PO BOX 34224                                                                                                       FORT BUCHANAN      PR           00934
   248304 JOSE L CANDELARIO LOZADA                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   248305 JOSE L CAPELES QUINONES                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED      REDACTED
   684759 JOSE L CARABALLO ORTIZ                      URB SOL 105 CALLE SOL                                                                                              GUAYAMA            PR           00784
   684761 JOSE L CARAFFA LOPEZ                        HC 01 BOX 6281                                                                                                     YAUCO              PR           00698

   684762 JOSE L CARDONA AND CO P S C                 PO BOX 194806                                                                                                      SAN JUAN           PR           00919‐4806
   684763 JOSE L CARDONA REYES                        PO BOX 1816                                                                                                        COAMO              PR           00769
   684764 JOSE L CARDONA VILLALOBOS                   RIO CRISTAL                  218 CALLE LUIS CASTELLON                                                              MAYAGUEZ           PR           00680
   684765 JOSE L CARIDE MELENDEZ                      PO BOX 963                                                                                                         TOA BAJA           PR           00951



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  248307 JOSE L CARMONA MERCADO                       REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  684767 JOSE L CARO CABRERA                          URB EL PARAISO              1522 TAMESIS T H 5                                                                    SAN JUAN            PR         00926
  248308 JOSE L CARRASCO MARTINEZ                     REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  684768 JOSE L CARRASQUILLO                          RR 03 BOX 6565                                                                                                    CIDRA               PR         00739
         JOSE L CARRASQUILLO
  684769 MELENDEZ                                     BOX 41269                                                                                                         SAN JUAN            PR         00940‐1269

   684770 JOSE L CARRASQUILLO SANTIAGO PO BOX 11222                                                                                                                     SAN JUAN            PR         00910
   680846 JOSE L CARRILLO ROSADO       URB VILLA ANGELINA                         127 CALLE 4                                                                           LUQUILLO            PR         00773
   684771 JOSE L CARRILLO ROSARIO      URB VILLA ANGELINA                         127 CALLE 4                                                                           LUQUILLO            PR         00773
   248310 JOSE L CARRION               REDACTED                                   REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684772 JOSE L CARRION DE LEON       HC 3 BOX 7096                                                                                                                    JUNCOS              PR         00777
   248311 JOSE L CARRION DIAZ          REDACTED                                   REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684773 JOSE L CARRION ESPINOSA      VALLE ARRIBA HTS                           DA 10 CALLE 201                                                                       CAROLINA            PR         00983
   684775 JOSE L CARRION RUSSE         BOX 171                                                                                                                          MOROVIS             PR         00687

   684671 JOSE L CARRION SANCHEZ                      URB LEVITTOWN LAKES         HN 48 AVE GREGORIO LEDESMA                                                            TOA BAJA            PR         00949
   248313 JOSE L CARTAGENA ALCALA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248314 JOSE L CARTAGENA RIVERA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248315 JOSE L CASIANO BALZAC                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248316 JOSE L CASILLAS QUINTERO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248317 JOSE L CASILLAS VELEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE L CASTILLO E YVONNE B
   248318 CASTILLO                                    REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684776 JOSE L CASTILLO INC                         P O BOX 1813                                                                                                      SAN JUAN            PR         00936‐0000
   684777 JOSE L CASTRO LOPEZ                         PO BOX 653                                                                                                        LARES               PR         00669
   684778 JOSE L CASTRO MERCADO                       ALTAMIRA                    A 34 CALLE 8                                                                          FAJARDO             PR         00738

   684780 JOSE L CASTRO NIEVES                        ESTANCIAS DE SAN FERNANDO   A 42 CALLE 4                                                                          CAROLINA            PR         00985
   248319 JOSE L CASTRO ORTIZ                         REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248320 JOSE L CASTRO VAZQUEZ                       REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   684781 JOSE L CENTENO CARRASQUILLO URB CARIOCA                                 12 CALLE 4 SUR                                                                        GUAYAMA             PR         00784
   684782 JOSE L CHARRIEZ MARCANO     RR 5 BZN 8073                                                                                                                     TOA ALTA            PR         00953
   684783 JOSE L CHERENA CRUZ         P O BOX 390                                                                                                                       GUANICA             PR         00653

   248324 JOSE L CINTRON BARTOLOMEI                   REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684784 JOSE L CINTRON DE JESUS                     URB TURABO GARDENS          CALLE D R 12‐7                                                                        CAGUAS              PR         00725
   684785 JOSE L CINTRON HERRERA                      PO BOX 46                                                                                                         PUERTO REAL         PR         00740
   684787 JOSE L CINTRON SANTIAGO                     RR 11 BOX 9703                                                                                                    BAYAMON             PR         00956
   248325 JOSE L CINTRON VAZQUEZ                      REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248326 JOSE L CIRINO VELEZ                         REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248327 JOSE L COLL ZAYAS                           REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   684788 JOSE L COLLAZO ARROYO                       URB VISTA DEL MAR           1127 CALLE SIRENA                                                                     PONCE               PR         00716
   684789 JOSE L COLLAZO LOPEZ                        ROBERTO BUSO ABOY           PO BOX 3666496                                                                        SAN JUAN            PR         00936
   248328 JOSE L COLLAZO MORALES                      REDACTED                    REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE L COLLAZO Y CARMEN A
   684790 ANGUEIRA                                    55 CALLE MARIANO VIDAL                                                                                            ARECIBO             PR         00612
   684791 JOSE L COLON                                PO BOX 709                                                                                                        COROZAL             PR         00783
   684793 JOSE L COLON ALMODOVAR                      BDA FERRAN                  32 CALLE 2                                                                            PONCE               PR         00731
   684794 JOSE L COLON DE JESUS                       CAPARRA TERRACE             1617 CALLE 4 S.O                                                                      SAN JUAN            PR         00920
   684795 JOSE L COLON INC                            P O BOX 51439                                                                                                     LEVITTOWN           PR         00960‐1439
   684797 JOSE L COLON LOPEZ                          HC 1 BOX 5471                                                                                                     GUAYNABO            PR         00971



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  684798 JOSE L COLON MALAVET                         PO BOX 10                                                                                                          SALINAS            PR         00751
  684799 JOSE L COLON MERCED                          19 URB MINIMA                                                                                                      CAYEY              PR         00736
  684801 JOSE L COLON MULERO                          BO OBRERO                    426 CALLE LOS SANTOS                                                                  SAN JUAN           PR         00915
  248330 JOSE L COLON NOVOA                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  684802 JOSE L COLON OCASIO                          HC 3 BOX 14809‐913172                                                                                              AGUAS BUENAS       PR         00703‐9612
  684803 JOSE L COLON RAMOS                           PO BOX 1586                                                                                                        CIDRA              PR         00739
  684804 JOSE L COLON RIVERA                          RES ARISTIDES CHAVIER        BLQ 48 APT 459                                                                        PONCE              PR         00728
  684805 JOSE L COLON SANTIAGO                        P O BOX 670                                                                                                        COAMO              PR         00769
  684806 JOSE L COLON SANTOS                          R 2 BUZON 6985                                                                                                     CIDRAS             PR         00739
  684807 JOSE L COLON VILLEGAS                        PO BOX 9020355                                                                                                     SAN JUAN           PR         00902
  248332 JOSE L CONCEPCION VEGA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  684810 JOSE L CORA GUZMAN                           URB SAN AGUSTIN              1153 CALLE LOPEZ SICARDO                                                              SAN JUAN           PR         00923
  248333 JOSE L CORDERO MORALES                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680847 JOSE L CORREA CINTRON                        PO BOX 246                                                                                                         TRUJILLO ALTO      PR         00977‐0246
  248334 JOSE L CORREA FALCON                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   684813 JOSE L CORREA GONZALEZ                      URB VALENCIA COND EL TUREY   APT 1001                                                                              SAN JUAN           PR         00923
   248335 JOSE L CORREA SALDENO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248336 JOSE L CORREA SOSA                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248337 JOSE L CORTES LAUREANO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684814 JOSE L CORTES MAXAN                         URB GARCIA                   60 CALLE MORELL CAMPOS                                                                ARECIBO            PR         00612
   248338 JOSE L CORTES RAMOS                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248339 JOSE L COTTO COTTO                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248340 JOSE L COTTO RAMOS                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684815 JOSE L CRESPO ACEVEDO                       HC 01 BOX 1865                                                                                                     AGUADILLA          PR         00603
   248342 JOSE L CRISTOBAL MENDEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248343 JOSE L CRUZ                                 REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684817 JOSE L CRUZ BERMUDEZ                        URB JARD DE GURABO           26 CALLE 2                                                                            GURABO             PR         00778
   684818 JOSE L CRUZ CARABALLO                       HC 01 BOX 9259                                                                                                     GUAYANILLA         PR         00656
   684819 JOSE L CRUZ CARRASQUILLO                    PUERTO NUEVO                 1226 CALLE CARDENAS                                                                   SAN JUAN           PR         00920
   248344 JOSE L CRUZ CRUZ                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248345 JOSE L CRUZ CUBERO                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JOSE L CRUZ DBA JOSE L CRUZ                 HC ‐19 CALLE 8 BERWIND
   248346 IMPRESOS                                    ESTATES                                                                                                            SAN JUAN           PR         00916
   248348 JOSE L CRUZ FIGUEROA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248349 JOSE L CRUZ IMPRESOS                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248350 JOSE L CRUZ MORALES                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684822 JOSE L CRUZ ORTIZ                           HC 3 BOX 40221                                                                                                     CAGUAS             PR         00725
   684823 JOSE L CRUZ RIVERA                          HC 02 BOX 7662                                                                                                     CIALES             PR         00638

   684824 JOSE L CRUZ ROSA                            URB BELLOMONTE J12 CALLE 8                                                                                         GUAYNABO           PR         00969
   248351 JOSE L CRUZ ROSADO                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248352 JOSE L CRUZ TREVINOS                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248353 JOSE L CUBERO GONZALEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684826 JOSE L CUELLO AQUINO                        URB SANTA RITA               100 CALLE MARGARITA                                                                   SAN JUAN           PR         00925

   684827 JOSE L CUEVAS CARRASQUILLO                  LAS MONJAS                   117 CALLE POPULAR                                                                     SAN JUAN           PR         00918
   248355 JOSE L CUMBAS TORRES                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684828 JOSE L CURBELO MERCADO                      URB JARD DE MONACO 3         437 CALLE GRACE                                                                       MANATI             PR         00674
   684830 JOSE L DAVILA CONTRERAS                     URB COUNTRY CLUB             878 CALLE BERMUDA                                                                     SAN JUAN           PR         00924‐1741
   684831 JOSE L DAVILA FLORES                        HC 5 BOX 62612                                                                                                     CAGUAS             PR         00725
   248356 JOSE L DAVILA JIMENEZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684833 JOSE L DE JESUS COLON                       VILLA CAROLINA               195‐60 CALLE 530                                                                      CAROLINA           PR         00985



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MML ID                NAME                                       ADDRESS 1                    ADDRESS 2              ADDRESS 3                           ADDRESS 4             CITY        STATE    POSTAL CODE       COUNTRY
  684834 JOSE L DE JESUS GARCIA                        P O BOX 1994                                                                                                  VEGA BAJA          PR         00693
  684835 JOSE L DE JESUS GONZALEZ                      BOX 913                                                                                                       LARES              PR         00627
  248357 JOSE L DE JESUS HERNANDEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  684837 JOSE L DE JESUS RAMIREZ                       BUZON 6032                                                                                                    CEIBA              PR         00735
  248361 JOSE L DE LEON FIGUEROA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248362 JOSE L DE LEON FLORES                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  684839 JOSE L DE LOS REYES TORRES                    P O BOX 7918                                                                                                  PONCE              PR         00732
  248363 JOSE L DEL VALLE DE LEON                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248364 JOSE L DEL VALLE NUNEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248365 JOSE L DEL VALLE RIVERA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248366 JOSE L DELGADO CADILLA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248367 JOSE L DELGADO FIGUEROA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  684841 JOSE L DELGADO RIVERA                         URB VILLA DEL CARMEN        2720 CALLE TOLEDO                                                                 PONCE              PR         00716 2235
  248368 JOSE L DELGADO SANTIAGO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  684843 JOSE L DELGADO VAZQUEZ                        HC 40 BOX 42503                                                                                               SAN LORENZO        PR         00754‐9869
  248369 JOSE L DIAZ CAMACHO                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  684844 JOSE L DIAZ CLASS                             6245 CALLE PETUNIA                                                                                            SABANA SECA        PR         00952
  248370 JOSE L DIAZ COTTO                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  684845 JOSE L DIAZ DE JESUS                          PO BOX 389                                                                                                    PUERTO REAL        PR         00740
  248371 JOSE L DIAZ DIAZ                              REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  684849 JOSE L DIAZ GARRIGA                           ESTANCIAS DE SANTA ISABEL   F 29 CALLE PERLA 629                                                              SANTA ISABEL       PR         00757
  684850 JOSE L DIAZ GUADALUPE                         PARC NUEVA VIDA             E 45 CALLE 11                                                                     PONCE              PR         00731
  248372 JOSE L DIAZ MARRERO                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248373 JOSE L DIAZ MONTANEZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248374 JOSE L DIAZ OROZCO                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248375 JOSE L DIAZ ORTIZ                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  684852 JOSE L DIAZ PIZARRO                           PO BOX 20310                                                                                                  SAN JUAN           PR         00928
  248376 JOSE L DIAZ RESTO                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  684853 JOSE L DIAZ RODRIGUEZ                         URB SANTA ANA               M 28 CALLE 8                                                                      VEGA ALTA          PR         00692
  684854 JOSE L DIAZ SOSA                              VILLA ANDALUCIA             I 14 CALLE COIN                                                                   SAN JUAN           PR         00926
  684856 JOSE L DUPREY REINAT                          PO BOX 463                                                                                                    RINCON             PR         00677
  248378 JOSE L ECHEVARRIA TORRES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248379 JOSE L ELIAS GONZALEZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  684859 JOSE L ENCARNACION                            CAPARRA TERRACE             1416 CALLE 36 SO                                                                  SAN JUAN           PR         00921
  248380 JOSE L ESPADA CRUZ                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   248382 JOSE L ESTEVES PONCE DE LEON                 REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684861 JOSE L FARIAS JIMENEZ                        COLONAS DEL OESTE           I‐23 CALLE 13                                                                     HORMIGUEROS        PR         00660
   248383 JOSE L FARIS COLON                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684862 JOSE L FEBRES RODRIGUEZ                      PO BOX 9021112                                                                                                SAN JUAN           PR         00902‐1112
   684863 JOSE L FELICIANO ACEVEDO                     HC 1 BOX 6440                                                                                                 MOCA               PR         00676
   684864 JOSE L FELICIANO CINTRON                     P O BOX 284                                                                                                   CEIBA              PR         00735
   248384 JOSE L FELICIANO CORDERO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248386 JOSE L FELICIANO RODRIGUEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684867 JOSE L FERNANDEZ ACEVEDO                     BO OBRERO                   970 CALLE CRUZ ROJAS                                                              ARECIBO            PR         00612

   248388 JOSE L FERNANDEZ ARGUELLES                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   684868 JOSE L FERNANDEZ CLAUDIO                     HC 2 BOX 028901                                                                                               CAGUAS             PR         00725
   248389 JOSE L FERNANDEZ ESTEVES                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248392 JOSE L FERNANDEZ ROMEU                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   684869 JOSE L FERNANDEZ VELAZQUEZ                   URB PARKVILLE               O 16 MC KINLEY                                                                    GUAYNABO           PR         00969
   248393 JOSE L FIGUEROA                              REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  248394 JOSE L FIGUEROA DELGADO                      REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  248395 JOSE L FIGUEROA GONZALEZ                     REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  684873 JOSE L FIGUEROA GUZMAN                       PO BOX 759                                                                                             MAUNABO              PR         00707
  248396 JOSE L FIGUEROA MANGUAL                      REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  248397 JOSE L FIGUEROA PAGAN                        REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  248398 JOSE L FIGUEROA RAMIREZ                      REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  248400 JOSE L FIGUEROA RODRIGUEZ                    REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   684875 JOSE L FIGUEROA SANCHEZ        COND TORRES DE CERVANTES          APRT 913‐A                                                                        SAN JUAN             PR         00924
   248401 JOSE L FIGUEROA ZAMBRANA       REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   684876 JOSE L FLECHA                  PO BOX 3663                                                                                                         JUNCOS               PR         00777
   684877 JOSE L FLORES COLON            URB VILLA DEL CARMEN              G 18 CALLE 9                                                                      CIDRA                PR         00739
   248402 JOSE L FLORES MORALES          REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   248403 JOSE L FONSECA PLAZA           REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   684878 JOSE L FONTANEZ BAEZ           URB BAIROA                        AL 5 CALLE 32                                                                     CAGUAS               PR         00725
   248404 JOSE L FORTUNO APONTE          REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   248405 JOSE L FRANCO DIAZ             REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   684879 JOSE L FRANCO MAYORAL          88 CALLE UN SUITE 117                                                                                               PONCE                PR         00731
   684880 JOSE L FRANCO NIEVES           LOIZA VALLEY                      15AA CALLE ALMENDRO                                                               CANOVANAS            PR         00729
   684881 JOSE L FUSSA VAZQUEZ           P O BOX 2084                                                                                                        GUAYNABO             PR         00970‐2084
   684882 JOSE L GALARZA FLORES          PO BOX 560825                                                                                                       GUAYANILLA           PR         00656
   248406 JOSE L GALARZA NERIS           REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   684883 JOSE L GALLOZA GALICIA         HC 58 BOX 12698                                                                                                     AGUADA               PR         00602
   684884 JOSE L GANDARA                 63 CALLE FORTALEZA                                                                                                  SAN JUAN             PR         00901
   248407 JOSE L GANGULLA OLMEDA         REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   248408 JOSE L GARCIA ALVARADO         REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   248409 JOSE L GARCIA CONCEPCION       REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   248411 JOSE L GARCIA GARCIA           REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   684885 JOSE L GARCIA LOZADA           741 SE LANSDOWNE AVE              POST ST LUCIE                                                                     FLORIDA              FL         34983‐0000
   248412 JOSE L GARCIA ORTIZ            REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   684886 JOSE L GARCIA RABELL           URB VISTA VERDE                   13 CALLE BRAZIL                                                                   VEGA BAJA            PR         00693
   248413 JOSE L GARCIA RODRIGUEZ        REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   684887 JOSE L GARCIA ROSARIO          PO BOX 7910                                                                                                         CIDRA                PR         00739
   684888 JOSE L GARCIA SANCHEZ          PO BOX 1334                                                                                                         MANATI               PR         00674
   684889 JOSE L GARCIA SANTANA          HC 2 BOX 4215                                                                                                       LAS PIEDRAS          PR         00771
   248414 JOSE L GASTON ROLON            REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   248415 JOSE L GELPI PAGAN             REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   684890 JOSE L GILES RIVERA            1908 COND TOWN HOUSE                                                                                                SAN JUAN             PR         00926
   684891 JOSE L GINES ORTIZ             SAN PEDRO                         D 9 CALLE SAN MIGUEL                                                              TOA BAJA             PR         00949
          JOSE L GINES ROSADO A/C JOSE L
   248416 GINES                          REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   248417 JOSE L GODREAU CARTAGENA       REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   248418 JOSE L GOMEZ COSME             REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   248419 JOSE L GOMEZ CRUZ              REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   684892 JOSE L GOMEZ SEVILLA           BELLA VISTA                       J 10 CALLE 13                                                                     BAYAMON              PR         00957
   684893 JOSE L GONZALEZ                HC 4 BOX 15344                                                                                                      MOCA                 PR         00676
   248420 JOSE L GONZALEZ BENITEZ        REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   248421 JOSE L GONZALEZ CALDERON       REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   248422 JOSE L GONZALEZ COLON          REDACTED                          REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                         URB HILLSIDE 14 C RAFAEL
   684897 JOSE L GONZALEZ CORONADO       VILLEGA                                                                                                             SAN JUAN             PR         00926
   684898 JOSE L GONZALEZ CRESPO         PO BOX 1162                                                                                                         VEGA ALTA            PR         00692
   684899 JOSE L GONZALEZ GONZALEZ       HC 08 BOX 1166                                                                                                      PONCE                PR         00731



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MML ID               NAME                                      ADDRESS 1                     ADDRESS 2                     ADDRESS 3                           ADDRESS 4              CITY          STATE    POSTAL CODE        COUNTRY
  684900 JOSE L GONZALEZ LOPEZ                        BDA ACEVEDO                  HC 1 BOX 7570                                                                           MOCA                PR           00676
                                                                                   CAROLINA HOUSING EDF 2 APT
   684901 JOSE L GONZALEZ MARQUEZ                     BO MARTIN GONZALEZ           30                                                                                      CAROLINA            PR           00987
   684902 JOSE L GONZALEZ MARTINEZ                    PO BOX 801001                                                                                                        COTO LAUREL         PR           00780‐1001
   248424 JOSE L GONZALEZ MONTANEZ                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   248425 JOSE L GONZALEZ NEGRON                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   684903 JOSE L GONZALEZ ORTIZ                       VILLA NUEVA                  W 14 CALLE 18                                                                           CAGUAS              PR           00725

   684905 JOSE L GONZALEZ RODRIGUEZ                   28 CALLE VICTORIA MATEO                                                                                              SALINAS             PR           00751
   248426 JOSE L GONZALEZ RUIZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   248427 JOSE L GONZALEZ SALTAR                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   248428 JOSE L GONZALEZ SANTIAGO                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   248430 JOSE L GONZALEZ SERRANO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   248431 JOSE L GONZALEZ SOTOMAYOR                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   684895 JOSE L GONZALEZ TORRES                      PO BOX 3186                                                                                                          RIO GRANDE          PR           00745
   684909 JOSE L GONZALEZ TORRES                      HC 03 BOX 6517                                                                                                       HUMACAO             PR           00791
   684910 JOSE L GOTAY OCASIO                         EL POPULAR                   78 LAS MONJAS                                                                           SAN JUAN            PR           00917
   248433 JOSE L GRACIA BERMUDEZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   684911 JOSE L GUADALUPE CAMACHO                    712 CALLE ANDRES VALCARCEL                                                                                           TRUJILLO ALTO       PR           00976
   248434 JOSE L GUADALUPE DUQUE                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   684912 JOSE L GUADALUPE PEREZ                      URB VALENCIA                 404 CALLE CENTINA                                                                       SAN JUAN            PR           00923
   248436 JOSE L GUADALUPE VEGA                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   680848 JOSE L GUERRA SOTO                          URB ALTURAS DE FLAMBOYAN     J 4 CALLE 3                                                                             BAYAMON             PR           00959
   248437 JOSE L GUITIERREZ OTERO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   684913 JOSE L GUZMAN ACOSTA                        ALTURAS DE BUCARABONES       3 R 37 CALLE 40                                                                         TOA ALTA            PR           00953

   248438 JOSE L GUZMAN CARRASQUILLO                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   248439 JOSE L GUZMAN FLORES                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   684914 JOSE L HENRIQUEZ                            102 QUINTAS LAS AMERICAS                                                                                             CAGUAS              PR           00725
   684915 JOSE L HERNANDEZ                            VILLA NUEVA                  W 37 CALLE 20                                                                           CAGUAS              PR           00725
   684917 JOSE L HERNANDEZ CABRERA                    RR 8 BOX 2023                                                                                                        BAYAMON             PR           00956‐9614
   248440 JOSE L HERNANDEZ CASTRO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   684918 JOSE L HERNANDEZ CHINIQUE                   PORTALES DE CAROLINA 62      CALLE BERNARDO GARCIA 429                                                               CAROLINA            PR           00987
          JOSE L HERNANDEZ FERRER C/O
   684919 LCDO NAZARIO                                D 19 AVE ROBERTO CLEMENTE    VILLA CAROLINA                                                                          CAROLINA            PR           00985
   248442 JOSE L HERNANDEZ FONSECA                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   684920 JOSE L HERNANDEZ GARCIA                     P O BOX 840                                                                                                          JUNCOS              PR           00777
          JOSE L HERNANDEZ
   680859 MALDONADO                                   HC 03 BOX 5703                                                                                                       HUMACAO             PR           00791

   248444 JOSE L HERNANDEZ MARTINEZ                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   248445 JOSE L HERNANDEZ ROMAN                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   248446 JOSE L HERNANDEZ SANTIAGO                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   684921 JOSE L HERNANDEZ SOTO                       HC 2 BOX 13823               BO VOLADORES                                                                            MOCA                PR           00676
   248447 JOSE L HERNANDEZ TOLEDO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   680849 JOSE L HERNANDEZ VAZQUEZ                    BDA VISTA ALEGRE             1690 CALLE AMARILLO                                                                     SAN JUAN            PR           00926
   684922 JOSE L HERNANDEZ VELEZ                      PO BOX 2611                                                                                                          ARECIBO             PR           00613
   684925 JOSE L HERRERA ESPINAL                      URB CORCHADO                 18 CALLE ALEGRIA                                                                        ISABELA             PR           00662



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  684926 JOSE L HIRALDO HIRALDO                        PARC FALU                    PARC 237 CALLE 43                                                                     SAN JUAN          PR         00924
  684927 JOSE L IGLESIA IRIZARRY                       P O BOX 3375                                                                                                       GUAYNABO          PR         00970‐3375
  684928 JOSE L INFANTE ADAMES                         PO BOX 189                                                                                                         SABANA SECA       PR         00952
  684929 JOSE L IRIZARRY CASTRO                        HC 1 BOX 5136                                                                                                      GUAYANILLA        PR         00656
  684930 JOSE L IRIZARRY LOPEZ                         25 CALLE BENERO IRIZARRY                                                                                           LAJAS             PR         00667
  248448 JOSE L IRIZARRY MUNIZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  684931 JOSE L IRIZARRY PAGAN                         URB VILLA FONTANA            4224 VIA 40                                                                           CAROLINA          PR         00983
  684932 JOSE L IRIZARRY SANTIAGO                      URB SANTA MONICA             M‐27 CALLE 8 A                                                                        BAYAMON           PR         00957
  248449 JOSE L IRIZARRY VALENTIN                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   248450 JOSE L ITHIER Y NOEMI PRATTS                 REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248451 JOSE L JIMENEZ AYALA                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                       50 AVE LUIS MUNOZ MARIN OFIC
   684933 JOSE L JIMENEZ BARRERAS                      203                                                                                                                CAGUAS            PR         00725
   248453 JOSE L JIMENEZ QUINONES                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684934 JOSE L JIMENEZ TOUSSET                       URB DOS PINOS                758 AVE DR LOPEZ SICARDO                                                              SAN JUAN          PR         00923
   684935 JOSE L JORGE ACOSTA                          BOX 55                                                                                                             BOQUERON          PR         00622
   248454 JOSE L LABEAGA RODRIGUEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680850 JOSE L LABORDE GARCIA                        URB VILLAS REALES            409 VILLA ESCORIAL                                                                    GUAYNABO          PR         00969
   248455 JOSE L LABOY ACABEO                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248456 JOSE L LABOY RODRIGUEZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248457 JOSE L LAGARES SANTANA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248458 JOSE L LAJARA VAZQUEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248459 JOSE L LAMBOY                                REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684939 JOSE L LANDRAU RAMERY                        PO BOX 853                                                                                                         MAYAGUEZ          PR         00681
   248460 JOSE L LEBRON GALINDO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684941 JOSE L LEBRON MORALES                        CARR 113 BOX 2940                                                                                                  QUEBRADILLAS      PR         00678
          JOSE L LEON / DBA TALLER REJAS
   684942 LEON                           200 BO VELAZQUEZ                                                                                                                 SANTA ISABEL      PR         00757
   684943 JOSE L LEON ORTIZ              HC 2 BOX 5559                                                                                                                    COAMO             PR         00769
   248462 JOSE L LIMA QUINONEZ           REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684945 JOSE L LIND MERCADO            RES SANTA ELENA                            EDIF E APT 122                                                                        SAN JUAN          PR         00927
   684946 JOSE L LISOJO CRESPO           P O BOX 842                                                                                                                      SAN SEBASTIAN     PR         00685
          JOSE L LOPEZ / BEATRIZ
   684947 RODRIGUEZ                      HC 1 BOX 8139                                                                                                                    LUQUILLO          PR         00773‐9613
   248463 JOSE L LOPEZ ADORNO            REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684949 JOSE L LOPEZ ECHEVARRIA        PO BOX 761                                                                                                                       RIO GRANDE        PR         00745
   248464 JOSE L LOPEZ FIGUEROA          REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248467 JOSE L LOPEZ GONZALEZ          REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248468 JOSE L LOPEZ LABOY             REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684953 JOSE L LOPEZ LOPEZ             HC 71 BOX 3531                                                                                                                   NARANJITO         PR         00719
   248470 JOSE L LOPEZ MAYSONET          REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684955 JOSE L LOPEZ SANTIAGO          HC 3 BOX 14882                                                                                                                   YAUCO             PR         00698
   248475 JOSE L LOPEZ URGUIA            REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684959 JOSE L LORENZANO RIVERA        SABANA BRANCH                                                                                                                    VEGA BAJA         PR         00693
   684960 JOSE L LOURIDO RODRIGUEZ       BO FACTOR I                                BZN 865                                                                               ARECIBO           PR         00612
   248477 JOSE L LOZADA CRUZ             REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684961 JOSE L LOZADA MIRANDA          HC 3 BOX 7811                                                                                                                    LAS PIEDRAS       PR         00771
   684963 JOSE L LUGO MATOS              CARMEN 158 SUR MAYAGUEZ                                                                                                          MAYAGUEZ          PR         00680
   248478 JOSE L LUGO SANTANA            REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248479 JOSE L LUGO SUAREZ             REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248480 JOSE L LUZUNARIS MOJICA        REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   684965 JOSE L MAISONET PEREZ          HC 91 BOX 8946                                                                                                                   VEGA ALTA         PR         00692‐9605



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   248481 JOSE L MAISONET RODRIGUEZ                   REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680851 JOSE L MALAVE MONSERRATE                    VILLA CAROLINA                 235 14 CALLE 615                                                                        CAROLINA            PR           00985
   684966 JOSE L MALAVE RIVERA                        BOX 2875                                                                                                               ARECIBO             PR           00613
   248482 JOSE L MALAVE RODRIGUEZ                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684967 JOSE L MALAVE VARGAS                        HC 02 BOX 17758                                                                                                        SAN SEBASTIAN       PR           00685

   684968 JOSE L MALDONADO GONZALEZ BO COQUI                                         30 CALLE CARPENTER                                                                      AGUIRRE             PR           00704

   248483 JOSE L MALDONADO LARROQUE REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248484 JOSE L MALDONADO MUNOZ    REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   684969 JOSE L MALDONADO RODRIGUEZ PARC TIBURON 3                                  109 CALLE 21                                                                            BARCELONETA         PR           00617
   248485 JOSE L MALDONADO ROJAS     REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684971 JOSE L MALDONADO TORRES    HC 01 BOX 6753                                                                                                                          GUAYNABO            PR           00971
   248487 JOSE L MANGUAL DIAZ        REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684972 JOSE L MARIEL AYALA        PO BOX 2205                                                                                                                             GUAYNABO            PR           00965
   684973 JOSE L MARIN LEBRON        URB JARD DEL MAMEY                              K 9 CALLE 6                                                                             PATILLAS            PR           00723
   684974 JOSE L MARIN PEREZ         49 CALLE PROGRESO                                                                                                                       PONCE               PR           00731
   248488 JOSE L MARIN ROMERO        REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684975 JOSE L MARQUEZ AVILES      BO BARRAZAS                                     853 KM 7 8                                                                              CAROLINA            PR           00985
   248489 JOSE L MARQUEZ RIVERA      REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684976 JOSE L MARRERO FLORES      JARD DE MONTELLANO                              909 CALLE MONTE CARITE                                                                  MOROVIS             PR           00687
   684977 JOSE L MARRERO LOPEZ       PO BOX 60                                                                                                                               COROZAL             PR           00783
   248490 JOSE L MARRERO NAVEDO      REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684978 JOSE L MARRERO RIVERA      BO CEDRO                                        28828 CALLE LABOY                                                                       CAYEY               PR           00736
   248491 JOSE L MARRERO SOTO        REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684980 JOSE L MARTI CARRERO       RR 3 BOX 10765                                                                                                                          ANASCO              PR           00610
   684981 JOSE L MARTIN TORRES       BOX 916                                                                                                                                 NARANJITO           PR           00719
          JOSE L MARTINEZ / ANGELITA
   684983 ORTIZ                      VILLAS DEL CAFETAL II                           T 1 CALLE HIBRIDO NACIONAL                                                              YAUCO               PR           00698
   684984 JOSE L MARTINEZ AFANADOR   HC 2 BOX 46768                                                                                                                          VEGA BAJA           PR           00693
   248492 JOSE L MARTINEZ ARROYO     REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248493 JOSE L MARTINEZ BENEJAN    REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684985 JOSE L MARTINEZ BURGOS     HC 01 BOX 5994                                                                                                                          CIALES              PR           00638
   684986 JOSE L MARTINEZ ESPADA     HC 1 BOX 3711                                                                                                                           SANTA ISABEL        PR           00757
   684989 JOSE L MARTINEZ HIDALDO    D 300 RAMEY CIRCULO                                                                                                                     AGUADILLA           PR           00603
   684674 JOSE L MARTINEZ MALAVET    HC 02 BOX 11640                                                                                                                         YAUCO               PR           00698
   684990 JOSE L MARTINEZ PEDROZA    HC 3 BOX 36436                                                                                                                          CAGUAS              PR           00725‐9705
   248495 JOSE L MARTINEZ RIVERA     REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684991 JOSE L MARTINEZ RODRIGUEZ  PO BOX 1551                                                                                                                             HORMIGUEROS         PR           00660

   684992 JOSE L MARTINEZ ROSARIO                     149 CALLE SAN JUSTO APTO 305                                                                                           SAN JUAN            PR           00901‐1752
   248496 JOSE L MARTINEZ SANTIAGO                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248498 JOSE L MARTINEZ SARIEGO                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684994 JOSE L MARTINEZ SOTO                        QUINTAS DE CUPEY               E 20 CALLE 14                                                                           SAN JUAN            PR           00926
   248499 JOSE L MARTINEZ SUAREZ                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248500 JOSE L MARTINEZ TORRES                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248502 JOSE L MARTINEZ VALDEZ                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248503 JOSE L MATEO BERLY                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248504 JOSE L MATIAS QUINONES                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248505 JOSE L MATOS MUNIZ                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   684996 JOSE L MATOS SANCHEZ                        PO BOX 136                                                                                                             BOQUERON            PR           00622



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  684997 JOSE L MEDIAVILLA                             FAJARDO GARDENS             C 9 CALLE PINO 14                                                                      FAJARDO              PR         00738
  248506 JOSE L MEDINA / SARA ORTIZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  248507 JOSE L MEDINA SANTIAGO                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  685000 JOSE L MEDINA VAZQUEZ                         BO CORAZON                  BZN 899 16                                                                             GUAYAMA              PR         00784‐4240
  685001 JOSE L MEJIAS CRUZ                            HC 3 BOX 41504                                                                                                     CAGUAS               PR         00725
  248509 JOSE L MELENDEZ MELENDEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  685002 JOSE L MELENDEZ MENENDEZ                      URB FLAMBOYAN               B 7 CALLE MARGINAL                                                                     MANATI               PR         00674
  684675 JOSE L MELENDEZ PABON                         BO PUEBLO NUEVO             9 CALLE 8                                                                              VEGA BAJA            PR         00693
  248510 JOSE L MELENDEZ ROMAN                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  248511 JOSE L MELENDEZ TORRES                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  685003 JOSE L MELENDEZ VALENTIN                      URB PARK GARDENS            U 24 CALLE KINGS CYN                                                                   SAN JUAN             PR         00926‐2142
         JOSE L MENDEZ MUNIZ Y
  248512 NELSON D SOTO                                 REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  685004 JOSE L MENDEZ RIVERA                          URB PRADERAS DEL SUR        314 CALLE CEDRO                                                                        SANTA ISABEL         PR         00757‐2055

   685005 JOSE L MENDEZ RODRIGUEZ                      BO CELADA PARCELAS NUEVAS   27 CALLE BUZON 418                                                                     GURABO               PR         00778
   248513 JOSE L MENDEZ SOJO                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685008 JOSE L MENDEZ VARGAS                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685009 JOSE L MENDEZ VELAZQUEZ                      BO PLAYITA SEC              EL ESTERO 10 CALLE B                                                                   SALINAS              PR         00751
   685010 JOSE L MENDOZA RIVERA                        753 WILLIAMS AVE                                                                                                   BROOKLYN             NY         11207
   248515 JOSE L MENDOZA ROMERO                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685011 JOSE L MENENDEZ PEREZ                        URB MIRAFLORES              23 9 CALLE 11                                                                          BAYAMON              PR         00957
   685012 JOSE L MENZA GARCIA                          URB EL VERDE                24 CALLE VENUS                                                                         CAGUAS               PR         00725
   248516 JOSE L MERCADO ALEMANY                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   248517 JOSE L MERCADO SOSA                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                       21 CALLE NEPOMUCEMA
   685014 JOSE L MERCADO VEGA                          SANTIAGO                                                                                                           SABANA GRANDE        PR         00637
   685015 JOSE L MERCED FONTANEZ                       HC 1 BOX 30714                                                                                                     CABO ROJO            PR         00623
   685016 JOSE L MIGUEL RODRIGUEZ                      URB VENUS GARDENS           BG 4 CALLE 4                                                                           RIO PIEDRAS          PR         00926
   685020 JOSE L MIRANDA CRUZ                          995 MYRTLE AVE 6 F                                                                                                 BROOKLYN             NY         11206
   685021 JOSE L MIRANDA PEDROZA                       RR 2 BOX 6003                                                                                                      CIDRA                PR         00739
   248519 JOSE L MIRANDA VIDALI                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   248521 JOSE L MOLINA ROBLES                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685022 JOSE L MONTALVO APONTE                       2608 AVENIDA LAS AMERICAS                                                                                          PONCE                PR         00731
   248522 JOSE L MONTES LUGO                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685024 JOSE L MONTOYA                               BO OBRERO                   553 C/ ARGENTINA 2DO PISO                                                              SAN JUAN             PR         00927
   685027 JOSE L MORALES ARROYO                        URB VISTA VERDE             271 CALLE 22                                                                           AGUADILLA            PR         00603
   248523 JOSE L MORALES CINTRON                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685028 JOSE L MORALES COLON                         HC 1 BOX 5356                                                                                                      BARRANQUITAS         PR         00794
   685029 JOSE L MORALES CRUZ                          HC 2 BOX 13259                                                                                                     AGUAS BUENAS         PR         00703
   685025 JOSE L MORALES FRAGOSO                       PARQUE ECUESTRE             P 1 CALLE MONTENEGRO                                                                   CAROLINA             PR         00987 8547
   685030 JOSE L MORALES GONZALEZ                      EL TUQUE                    1955 CALLE DR PILAR                                                                    PONCE                PR         00731
   248524 JOSE L MORALES MARTINEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685032 JOSE L MORALES PASTRANA                      HC 01 BOX 23639                                                                                                    CAGUAS               PR         00725
   248525 JOSE L MORALES ROBLES                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   248526 JOSE L MORALES VAZQUEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685033 JOSE L MORAN RIOS                            URB MONTE OLIMPO            C5 CALLE ZEUS                                                                          GUAYNABO             PR         00969

   248527 JOSE L MORINGLANE RODRIGUEZ REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685034 JOSE L MOYENO MORALES       P O BOX 1079                                                                                                                        BARCELONETA          PR         00617‐1079
   685036 JOSE L MULERO REYES         RR 8 BOX 9451                                                                                                                       BAYAMON              PR         00956
   248528 JOSE L MULLER RIVERA        REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685037 JOSE L MUNOZ DAVILA         VALLE DE YABUCOA                             502 CALLE ORTEGON                                                                      YABUCOA              PR         00767



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  248529 JOSE L MUNOZ JIMENEZ                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  248530 JOSE L MUNOZ REYES                           REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   685038 JOSE L MURIEL NIEVES                        PO BOX 1350 VICTORIA STATION                                                                                       AGUADILLA           PR         00605
          JOSE L NARVAEZ A/C OLGA
   685039 GONZALEZ                                    HC 01 BOX 4994                                                                                                     NAGUABO             PR         00718
   248531 JOSE L NARVAEZ GONZALEZ                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685042 JOSE L NARVAEZ MELENDEZ                     URB FLORAL PARK 243            CALLE PARIS SUITE 1087                                                              SAN JUAN            PR         00917
   685043 JOSE L NAVARRO                              P O BOX 1079                                                                                                       LAS PIEDRAS         PR         00771
   685044 JOSE L NAVEDO RIVERA                        URB LEVITTOWN 3411             PASEO CAMERON                                                                       TOA BAJA            PR         00949
   248532 JOSE L NAZARIO RODRIGUEZ                    REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685045 JOSE L NEGRON DIAZ                          DOMINGO RODRIGUEZ              C 1 CALLE 2                                                                         CIDRA               PR         00739
   248533 JOSE L NEGRON FELICIANO                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248534 JOSE L NEGRON MERCED                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248535 JOSE L NERYS ALBALADEJO                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248536 JOSE L NIETO MINGO                          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248537 JOSE L NIEVES ACEVEDO                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248538 JOSE L NIEVES PADILLA                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685046 JOSE L NIEVES REYES                         HC 1 BOX 7905                                                                                                      AGUAS BUENAS        PR         00703‐9303
   248539 JOSE L NIEVES RIVERA                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685048 JOSE L NIEVES RODRIGUEZ                     RR 3 BOX 4890                                                                                                      SAN JUAN            PR         00926
   685049 JOSE L NIEVES ROJAS                         5 CALLE PROGRESO                                                                                                   ADJUNTAS            PR         00601
   685051 JOSE L NIEVES VELEZ                         BOX 1212                                                                                                           TOA ALTA            PR         00954
   685052 JOSE L NOVAS ‐ DEBIEN                       33 CALLE BOLIVIA               SUITE 530                                                                           SAN JUAN            PR         00918
   685053 JOSE L OCACIO ORTEGA                        173 CASA LINDE VILLAGE                                                                                             BAYAMON             PR         00959
   685055 JOSE L OLIVERAS RIVERA                      HC 07 BOX 3577                                                                                                     PONCE               PR         00731‐9660
   248543 JOSE L OLIVERO PEREZ                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685057 JOSE L OLIVIERI SANCHEZ                     PO BOX 877                                                                                                         VILLALBA            PR         00766
   685058 JOSE L OLIVO SALGADO                        117 URB EL COTTO                                                                                                   DORADO              PR         00646
   248544 JOSE L ONEILL RIVERA                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248545 JOSE L ONNA MARRERO                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680852 JOSE L ORANGEL SANTIAGO                     URB VILLA FONTANA              V 8 AVE RAFAEL CARRION                                                              CAROLINA            PR         00983
   685060 JOSE L ORENGO SANTIAGO                      EXT DR PILA                    EDIF 4 APT 59                                                                       PONCE               PR         00731
   248546 JOSE L OROZCO PEREZ                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248547 JOSE L ORTA ALVAREZ                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248548 JOSE L ORTEGA DUQUE                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248549 JOSE L ORTEGA MATEO                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248550 JOSE L ORTEGA NU¥EZ                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248551 JOSE L ORTEGA NUNEZ                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685061 JOSE L ORTIZ & ASOC                         PMB 471                        PO BOX 2500                                                                         TOA BAJA            PR         00951‐2500
   685062 JOSE L ORTIZ & ASSOCIATES                   1605 AVE PONCE DE LEON                                                                                             SAN JUAN            PR         00909
   248552 JOSE L ORTIZ AGUIRRE                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248553 JOSE L ORTIZ COLLAZO                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685065 JOSE L ORTIZ CRUZ                           PO BOX 5094                                                                                                        CAGUAS              PR         00726
   685066 JOSE L ORTIZ DIAZ                           HC 2 BOX 6976                                                                                                      BARRANQUITAS        PR         00794
   248555 JOSE L ORTIZ HERNANDEZ                      REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685068 JOSE L ORTIZ LOPEZ                          BO PALO SECO                   BOX 47                                                                              MAUNABO             PR         00707
   248556 JOSE L ORTIZ MARTINEZ                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248557 JOSE L ORTIZ MUNOZ                          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685069 JOSE L ORTIZ NATAL                          11 URB VILLAS DE SAN BLAS                                                                                          COAMO               PR         00769
   248558 JOSE L ORTIZ ORTIZ                          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248559 JOSE L ORTIZ QUINONES                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248560 JOSE L ORTIZ RAMIREZ                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  248561 JOSE L ORTIZ RODRIGUEZ                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248562 JOSE L ORTIZ SANTOS                          REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685073 JOSE L ORTIZ VAZQUEZ                         HC 2 BOX 9211                                                                                              GUAYNABO           PR         00971
  248563 JOSE L ORTIZ VELLON                          REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685074 JOSE L ORTIZ ZAMBRANA                        ALMIRANTE SUR          HC 02 BOX 44‐277                                                                    VEGA BAJA          PR         00693
  248564 JOSE L OSORIO DIAZ                           REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685077 JOSE L OTERO RIVERA                          PO BOX 1350                                                                                                MANATI             PR         00674
  248566 JOSE L PABON VENEGAS                         REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685078 JOSE L PACHECO BATIZ                         PO BOX 213 STA 6                                                                                           PONCE              PR         00732
  685079 JOSE L PACHECO COLON                         1 A CALLE BARCELO                                                                                          JUANA DIAZ         PR         00795
  685080 JOSE L PACHECO SANCHEZ                       PO BOX 401                                                                                                 SANTA ISABEL       PR         00757
  685081 JOSE L PADILLA CHEVRES                       BOX 916                                                                                                    NARANJITO          PR         00719
  248567 JOSE L PADILLA COLLAZO                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685083 JOSE L PADIN MEDINA                          PO BOX 551                                                                                                 QUEBRADILLAS       PR         00678‐0551
  685084 JOSE L PADRO PEREZ                           PARC PEREZ SANTANA     79 CALLE B                                                                          ARECIBO            PR         00612
  248569 JOSE L PADRO SERRANO                         REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685085 JOSE L PAGAN CASILLAS                        PO BOX 30000                                                                                               CANOVANAS          PR         00729
  685086 JOSE L PAGAN HERNANDEZ                       URB LEVITTOWN LAKES    AN 4 CALLE LIZA ESTE                                                                TOA BAJA           PR         00949
  685087 JOSE L PAGAN MARTINEZ                        P O BOX 868                                                                                                COMERIO            PR         00782
  248571 JOSE L PAGAN MARZUETA                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248572 JOSE L PAGAN MATOS                           REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685088 JOSE L PAGAN MAYSONET                        HC 1 BOX 7517                                                                                              GURABO             PR         00778
  685089 JOSE L PAGAN NEGRON                          BO PERCHAS             HC 01 BOX 2006                                                                      MOROVIS            PR         00687
  248573 JOSE L PAGAN RIVERA                          REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685090 JOSE L PAGAN SANTOS                          PO BOX 8836                                                                                                CAROLINA           PR         00988
  680860 JOSE L PAGAN TORRES                          HC 1 BOX 27158                                                                                             VEGA BAJA          PR         00693
  685092 JOSE L PANETO VAZQUEZ                        BO CARRAIZO            CARR 843 KM 1 3                                                                     TRUJILLO ALTO      PR         00976
  248575 JOSE L PARES QUINONES                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248577 JOSE L PENA SANCHEZ                          REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248579 JOSE L PERALTA JIMENEZ                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685095 JOSE L PERDOMO RIVERA                        BO. LAVADERO           107 CALLE LOS MANGOS                                                                HORMIGUEROS        PR         00660
  685096 JOSE L PEREIRA BAEZ                          PO BOX 269                                                                                                 CULEBRA            PR         00725
  685097 JOSE L PEREZ AQUINO                          PO BOX 142384                                                                                              ARECIBO            PR         00614
  248580 JOSE L PEREZ BERENGUER                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248582 JOSE L PEREZ DEL TORO                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248583 JOSE L PEREZ DIAZ                            REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248584 JOSE L PEREZ DIODONET                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248585 JOSE L PEREZ GONZALEZ                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685099 JOSE L PEREZ LOPEZ                           URB EXT MARBELLA       339 CALLE 2                                                                         AGUADILLA          PR         00603
  685100 JOSE L PEREZ MALDONADO                       SAN GERARDO            323 CALLE TAMPAS                                                                    SAN JUAN           PR         00926
  248586 JOSE L PEREZ MENDEZ                          REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248587 JOSE L PEREZ MERCADO                         REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248588 JOSE L PEREZ NIEVES                          REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685101 JOSE L PEREZ PANDIN                          A/C PR FARM CREDIT     HC 01 BOX 3370                                                                      CAMUY              PR         00627‐9604
  685103 JOSE L PEREZ PRIETO                          PO BOX 361212                                                                                              SAN JUAN           PR         00936‐1212
  248589 JOSE L PEREZ RODRIGUEZ                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685105 JOSE L PEREZ ROSADO                          P O BOX 9024275                                                                                            SAN JUAN           PR         00902‐4275
  685107 JOSE L PEREZ RUIZ                            RESIDENCIAL BARINAS    G 17 CALLE 5                                                                        YAUCO              PR         00698
  248590 JOSE L PEREZ SANTIAGO                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  684676 JOSE L PEREZ TINEOS                          URB LAS GARDENIAS      26 CALLE VIOLETA                                                                    MANATI             PR         00674
  248591 JOSE L PEREZ TORRES                          REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685109 JOSE L PESQUERA ROLON                        P O BOX 2344                                                                                               TOA BAJA           PR         00951‐2344
  685110 JOSE L PIERRE MARQUEZ                        HC 55 BOX 8596                                                                                             CEIBA              PR         00735‐0224



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  685111 JOSE L PIZA ARINU                             REPTO ALAMAR INC            RIO HONDO 1                C 21 CALLE RIO CIALITOS                                    BAYAMON             PR         00961
  680853 JOSE L PIZARRO ROBLES                         URB VILLA CAROLINA 132 45   CALLE CENTRAL BOLEVARD                                                                CAROLINA            PR         00985
  248592 JOSE L PLAZA ANDRADES                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  248593 JOSE L PLAZA DELESTRE                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  248596 JOSE L PLAZA TORRES                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  684677 JOSE L PORRATA FERNANDEZ                      810 AVE FERNANDEZ JUNCOS                                                                                          SAN JUAN            PR         00907
  685112 JOSE L PURCELL TERRON                         PO BOX 1470                                                                                                       UTUADO              PR         00641
  248597 JOSE L QUESADA LAO                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  685113 JOSE L QUILES HERNANDEZ                       URB EL PARAISO              CALLE A 7                                                                             HUMACAO             PR         00791
  685114 JOSE L QUILICHINI GARCIA                      URB STA MARIA               20 CALLE ORQUIDEA                                                                     SAN JUAN            PR         00927
         JOSE L QUIROS Y CASSANDRA C
  248600 QUIROS                                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  685116 JOSE L RAIMUNDI MELENDEZ                      BOX 441                                                                                                           MANATI              PR         00674

   685117 JOSE L RAMIREZ COLL                          63 KINGS COURT ST APT 6 A                                                                                         SAN JUAN            PR         00911
   685120 JOSE L RAMIREZ GONZALEZ                      HC 2 BOX 28051                                                                                                    SAN LORENZO         PR         00754
   685121 JOSE L RAMIREZ MARTINEZ                      PO BOX 1845                                                                                                       ARECIBO             PR         00614
   248601 JOSE L RAMIREZ TUA                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248602 JOSE L RAMON MEJIAS                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248604 JOSE L RAMOS ACEVEDO                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685123 JOSE L RAMOS ALICEA                          HC 04 BOX 7220                                                                                                    JUANA DIAZ          PR         00795
   248606 JOSE L RAMOS MARRERO                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248607 JOSE L RAMOS MARTINEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685125 JOSE L RAMOS ORTIZ                           JARD DE GURABO              200 CALLE 10                                                                          GURABO              PR         00778
   685126 JOSE L RAMOS RODRIGUEZ                       P O BOX 60075                                                                                                     BAYAMON             PR         00960
   685127 JOSE L RAMOS SANTANA                         URB SIERRA BAYAMON          82‐19 CALLE 70                                                                        BAYAMON             PR         00961
   248608 JOSE L RENTA ORTIZ                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685128 JOSE L RESTO POMALES                         HC 04 BOX 45866                                                                                                   CAGUAS              PR         00725
   248609 JOSE L RESTO RAMOS                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248610 JOSE L REYES GARCIA                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685129 JOSE L REYES MOJICA                          HC 3 BOX 8710                                                                                                     JUNCOS              PR         00777
   248611 JOSE L REYES VALDES                          REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248612 JOSE L REYES ZAYAS                           REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248613 JOSE L RICO DAVILA                           REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                   511 CALLE ENRIQUE FERNANDEZ
   685131 JOSE L RIEFKOHL RIVAS                        URB PURPLE TREE             VARGAS                                                                                SAN JUAN            PR         00926
   685132 JOSE L RIEFKOHL SOLTERO                      URB PURPLE TREE             511 FERNANDEZ VANGA                                                                   SAN JUAN            PR         00926‐4409

   685133 JOSE L RIOPEDRE ALMODOVAR                    P O BOX 182                                                                                                       SABANA GRANDE       PR         00637
   248615 JOSE L RIOS LUGO                             REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248616 JOSE L RIOS MALPICA                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248617 JOSE L RIOS ROSARIO                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248618 JOSE L RIVAS RIVERA                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248619 JOSE L RIVERA                                REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE L RIVERA / ANA L
   248621 ZENGOTITA                                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE L RIVERA / DBA AIBONITO
   685140 HOME IMPROV                                  HC 01 BOX 5822              BO SIERRA                                                                             AIBONITO            PR         00705
   685141 JOSE L RIVERA BAEZ                           BDA VARSOVIA                P O BOX 446                                                                           YABUCOA             PR         00767
   248623 JOSE L RIVERA COLON                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248624 JOSE L RIVERA DIAZ                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248626 JOSE L RIVERA ECHEVARRIA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685142 JOSE L RIVERA HERNANDEZ                      HC 33 BOX 3170                                                                                                    DORADO              PR         00646



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  685143 JOSE L RIVERA MARTINEZ                       HC 3 BOX 41440                                                                                                    CAGUAS             PR         00725
  248627 JOSE L RIVERA MEDINA                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248628 JOSE L RIVERA MELENDEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685146 JOSE L RIVERA MENDEZ                         368 CALLE TRINITARIA                                                                                              ISABELA            PR         00662
  685147 JOSE L RIVERA MIRANDA                        URB SYLVIA B                20 CALLE 9                                                                            COROZAL            PR         00783
  685148 JOSE L RIVERA MONSERRATE                     P O BOX 1144                                                                                                      TRUJILLO ALTO      PR         00977
  248630 JOSE L RIVERA MORALES                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248631 JOSE L RIVERA NATAL                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248632 JOSE L RIVERA NAZARIO                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685151 JOSE L RIVERA NIEVES                         HC 71 BOX 2031                                                                                                    NARANJITO          PR         00719
  248634 JOSE L RIVERA ORTEGA                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248635 JOSE L RIVERA ORTIZ                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248637 JOSE L RIVERA QUILES                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685156 JOSE L RIVERA REYES                          BRISAS DE TORTUGUERO        814 I RIO CIALITO                                                                     VEGA BAJA          PR         00693
  248638 JOSE L RIVERA RIOS                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248639 JOSE L RIVERA RIVERA                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248640 JOSE L RIVERA RODRIGUEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248643 JOSE L RIVERA ROLON                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685165 JOSE L RIVERA SANTIAGO                       BO POZAS                    SECTOR LLANADAS                                                                       CIALES             PR         00638
  685167 JOSE L RIVERA TIRADO                         100 CALLE EXT BETANCES                                                                                            VEGA BAJA          PR         00693
  685169 JOSE L RIVERA TORRES                         URB NUEVO MAMEYES           E 1 CALLE 3                                                                           PONCE              PR         00731
  685171 JOSE L RIVERA VAZQUEZ                        URB PUERTO NUEVO            440 CALLE ANTARTICO                                                                   SAN JUAN           PR         00920
  248645 JOSE L RIVERA VEGA                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248646 JOSE L ROBLES NEGRON                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248647 JOSE L ROBLES RODRIGUEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         JOSE L ROCAFORT DBA PR NEW
  685172 EQUIPMENT                                    P O BOX 402                                                                                                       SAN JUAN           PR         00936402
  248648 JOSE L RODRIGUEZ                             REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
         JOSE L RODRIGUEZ a/c
  685174 RAINDROP OF PR                               HC 03 BOX 34393                                                                                                   HATILLO            PR         00659
  685175 JOSE L RODRIGUEZ DIAZ                        JARDINES DE SAN FRANCISCO   EDIF 1 APTO 304                                                                       SAN JUAN           PR         00927
         JOSE L RODRIGUEZ                                                         ESTANCIAS YAUCO I2 CALLE
  248651 FONTANEZ/JOMA DESIGN                         GROUP CORP                  TURQUESA                                                                              YAUCO              PR         00698

   248652 JOSE L RODRIGUEZ GONZALEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   248654 JOSE L RODRIGUEZ JUSINO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   685177 JOSE L RODRIGUEZ LOPEZ                      200 SIERRA ALTA             BOX 28                                                                                SAN JUAN           PR         00926
   248655 JOSE L RODRIGUEZ MADERA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   685178 JOSE L RODRIGUEZ MARTINEZ                   HC 03 BOX 39106                                                                                                   CAGUAS             PR         00725
   248656 JOSE L RODRIGUEZ MARUCCI                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   680854 JOSE L RODRIGUEZ MOJICA                     URB BRISAS DE LLANADAS      18 CALLE LOS CEDROS                                                                   BARCELONETA        PR         00617
   248657 JOSE L RODRIGUEZ MORALES                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   248658 JOSE L RODRIGUEZ OCASIO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   685179 JOSE L RODRIGUEZ ORTIZ                      URB BAYAMON GARDENS         H 35 CALLE 15                                                                         BAYAMON            PR         00957
   248660 JOSE L RODRIGUEZ PAGAN                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   685180 JOSE L RODRIGUEZ PASTRANA                   P O BOX 6862                                                                                                      CAGUAS             PR         00726
   685183 JOSE L RODRIGUEZ RIVERA                     URB CONTANCIA               3262 CALLE LAFAYETTE                                                                  PONCE              PR         00717

   248662 JOSE L RODRIGUEZ RODRIGUEZ                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          JOSE L RODRIGUEZ RODRIGUEZ
   685190 /TIO PEPE RES                               SAN LUIS                    88 CALLE JERUSALEM                                                                    AIBONITO           PR         00705
   248666 JOSE L RODRIGUEZ RUIZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   248668 JOSE L RODRIGUEZ SALINAS                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED



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  248669 JOSE L RODRIGUEZ SANCHEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  248671 JOSE L RODRIGUEZ SANJURJO                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  685191 JOSE L RODRIGUEZ TIRADO                      HC 1 4457                                                                                                         YABUCOA           PR         00767‐9403
  685194 JOSE L RODRIGUEZ VALENTIN                    COLINAS METROPOLITANAS        K 25 CALLE TORRECILLAS                                                              GUAYNABO          PR         00969‐5205
  685195 JOSE L RODRIGUEZ VAZQUEZ                     P O BOX 746                                                                                                       BAJADERO          PR         00616

   685196 JOSE L RODRIGUEZ VELAZQUEZ                  PO BOX 336                                                                                                        CANOVANAS         PR         00729
   685198 JOSE L RODRIGUEZ VELEZ                      HC 04 BOX 41759                                                                                                   MAYAGUEZ          PR         00680
   685199 JOSE L RODRIGUEZ VILLODAS                   55 VILLA NAVARRO                                                                                                  MAUNABO           PR         00707
   685200 JOSE L ROIG FRANCESCHINI                    PO BOX 560456                                                                                                     GUAYANILLA        PR         00656
   685201 JOSE L ROJAS MERCADO                        HC 1 BOX 5210                                                                                                     HATILLO           PR         00659
   685202 JOSE L ROLDAN BERRIOS                       HC BOX 10225                                                                                                      AGUADILLA         PR         00603
   248674 JOSE L ROMAN                                REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248675 JOSE L ROMAN ACEVEDO                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248676 JOSE L ROMAN BELLO                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248677 JOSE L ROMAN CASTILLO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248678 JOSE L ROMAN CRUZ                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685203 JOSE L ROMAN GONZALEZ                       HC 1 BOX 11379                                                                                                    SAN SEBASTIAN     PR         00685
   248679 JOSE L ROMAN LOPEZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685204 JOSE L ROMAN ONEILL                         HC 1 BOX 4176                                                                                                     GURABO            PR         00778
   248680 JOSE L ROMAN RODRIGUEZ                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685206 JOSE L ROMAN ROMAN                          HC 1 BOX 4883                                                                                                     CAMUY             PR         00627
   248682 JOSE L ROMAN SEGARRA                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOSE L ROMAN/HEALTHY BODY
   248683 CORP                                        VALLE ARRIBA HEIGHTS          AC 10 AVE MONSERRATE                                                                CAROLINA          PR         00983
   680855 JOSE L ROMERO BURGOS                        URB LEVITTOWN LAKES           J 44 CALLE MIREYA ESTE                                                              TOA BAJA          PR         00949
   685207 JOSE L ROMERO FELICIANO                     6TA SECC VILLA CAROLINA       235‐1 CALLE 614                                                                     SAN JUAN          PR         00985
   248684 JOSE L ROMERO LUGO                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685209 JOSE L ROSA                                 RR3 BOX 4231                                                                                                      SAN JUAN          PR         00928
   685211 JOSE L ROSA MARTINEZ                        URB REXVILLE                  A5 CALLE 1                                                                          BAYAMON           PR         00957
   248686 JOSE L ROSA ORTIZ                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248688 JOSE L ROSA PEREZ                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248689 JOSE L ROSA TORRE                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685212 JOSE L ROSADO AVILES                        425 CARR                      693 PMB 351                                                                         DORADO            PR         00646‐4802
   248690 JOSE L ROSADO DEXTER                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685213 JOSE L ROSADO MORALES                       URB LAS VEGAS Y 14 CALLE 23                                                                                       CATANO            PR         00962
   248692 JOSE L ROSADO RIVERA                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248693 JOSE L ROSARIO ALBIZU                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248694 JOSE L ROSARIO ANDINO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248695 JOSE L ROSARIO AVILES                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248696 JOSE L ROSARIO CORTES                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685215 JOSE L ROSARIO CRESPO                       BOX 308                                                                                                           AGUADA            PR         00602
   685216 JOSE L ROSARIO DIAZ                         URB VILLAS DE MAUNABO         28 CALLE LIRIOS                                                                     MAUNABO           PR         00707
   248697 JOSE L ROSARIO FABREGAS                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248698 JOSE L ROSARIO FIGUEROA                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248700 JOSE L ROSARIO FRANCO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248701 JOSE L ROSARIO GONZALEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248703 JOSE L ROSARIO ORTIZ                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248704 JOSE L ROSARIO PENA                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680856 JOSE L ROSAS MORALES                        RES. F D ROOSEVELT            EDIF 29 APT 568                                                                     MAYAGUEZ          PR         00680
   248706 JOSE L ROSSELLO ROSADO                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248707 JOSE L RUBERTE CINTRON                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685218 JOSE L RUIZ CABAN                           URB QUINTO CENTENARIO         765 CALLE REINA ISABEL                                                              MAYAGUEZ          PR         00680



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  248709 JOSE L RUIZ DE JESUS                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  248710 JOSE L RUIZ PAGAN                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  248711 JOSE L RUIZ PEREZ                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  685219 JOSE L RUIZ QUINONES                         VILLA ESPANA                 D 84 CALLE ZARAGOZA                                                                    BAYAMON             PR         00961

   685220 JOSE L RUIZ RIOS                            MSC 921                      138 AVE WINSTON CHURCHILL                                                              SAN JUAN            PR         00926
                                                      2 COND TORRE DE ANDALUCIA
   685222 JOSE L RUIZ VAZQUEZ                         APT 807                                                                                                             SAN JUAN            PR         00926

   248712 JOSE L SAAVEDRA RODRIGUEZ                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685223 JOSE L SALA                                 URB PARQUE DEL MONTE         CC 8 CALLE AGUEYBANA                                                                   CAGUAS              PR         00727
   685224 JOSE L SANABRIA MONTES                      URB VIRGEN DEL POZO          APT 314                                                                                SABANA GRANDE       PR         00637
   248713 JOSE L SANABRIA RODRIGUEZ                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248714 JOSE L SANCHEZ FIGUEROA                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248715 JOSE L SANCHEZ GARCIA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248716 JOSE L SANCHEZ GONZALEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685225 JOSE L SANCHEZ MATEO                        RES LAS MARGARITAS           ED 37 APT 835                                                                          SAN JUAN            PR         00915
   680857 JOSE L SANCHEZ NIEVES                       RR 4 BOX 3042                                                                                                       BAYAMON             PR         00956
   685227 JOSE L SANCHEZ REYES                        PO BOX 183                                                                                                          UTUADO              PR         00641
   248717 JOSE L SANCHEZ RODRIGUEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685228 JOSE L SANCHEZ SOTO                         HC 7 BOX 33019                                                                                                      HATILLO             PR         00659
   685229 JOSE L SANTANA COLON                        URB ROCHDALE                 PEDRO AYALA CALLE 9                                                                    TOA BAJA            PR         00949
   248718 JOSE L SANTIAGO APONTE                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685233 JOSE L SANTIAGO ARZUAGA                     P.O. BOX 6972                                                                                                       CAGUAS              PR         00726
   248719 JOSE L SANTIAGO CENTENO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248720 JOSE L SANTIAGO CORDERO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   685234 JOSE L SANTIAGO CRESPO                      AVE NOEL ESTRADA BOX 435 INT                                                                                        ISABELA             PR         00662
   685237 JOSE L SANTIAGO FIGUEROA                    VILLA COOPERATIVA            G 13 CALLE 9                                                                           CAROLINA            PR         00985
   248721 JOSE L SANTIAGO GONZALEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248722 JOSE L SANTIAGO MENDEZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685239 JOSE L SANTIAGO PADRO                       EXT BUENA VISTA              HCL 3952                                                                               ARROYO              PR         00714
   248725 JOSE L SANTIAGO QUINONES                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685241 JOSE L SANTIAGO SANTIAGO                    HC 01 BOX 7361                                                                                                      LAJAS               PR         00667
   685242 JOSE L SANTIAGO TIRADO                      PO BOX 7392                                                                                                         CAGUAS              PR         00726
   248726 JOSE L SANTIAGO TORRES                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248728 JOSE L SANTOS GONZALEZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685245 JOSE L SANTOS LOPEZ                         RIO PIEDRAS STATION          PO BOX 21102                                                                           SAN JUAN            PR         00928
   248729 JOSE L SANTOS MALDONADO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248730 JOSE L SANTOS ORTIZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685248 JOSE L SEGUINOT RIVERA                      P O BOX 7126                                                                                                        PONCE               PR         00732
   685249 JOSE L SENQUIZ RODRIGUEZ                    P O BOX 516                                                                                                         GURABO              PR         00778
   685250 JOSE L SERRA LOZADA                         RDF 2 BOX 5659                                                                                                      TOA ALTA            PR         00953
   685251 JOSE L SERRANO CONDE                        SAINT JUST                   5C CALLE 7                                                                             CAROLINA            PR         00978
   685253 JOSE L SIERRA ORTIZ                         166 CALLE BARCELO                                                                                                   BARRANQUITAS        PR         00794
   685254 JOSE L SIERRA RUIZ                          HC 9 BOX 58447                                                                                                      CAGUAS              PR         00725‐9240
   248731 JOSE L SIERRA VAZQUEZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248732 JOSE L SIERRA WESTON                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248733 JOSE L SIMONETTI PICORELLI                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248734 JOSE L SOCIAS SALCEDO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   248735 JOSE L SOLER BATISTA                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685258 JOSE L SOLER RAMIREZ                        BO MANI                      6376 CARR 341                                                                          MAYAGUEZ            PR         00680
   685259 JOSE L SOLIS RODRIGUEZ                      URB LOS ANGELES              C 5 CALLE G                                                                            YABUCOA             PR         00767



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MML ID                NAME                                      ADDRESS 1                     ADDRESS 2              ADDRESS 3                           ADDRESS 4             CITY        STATE    POSTAL CODE       COUNTRY
  685260 JOSE L SOLIS VEGA                            PO BOX 905                                                                                                     YABUCOA            PR         00767
  685262 JOSE L SOTO                                  PO BOX 9021112                                                                                                 SAN JUAN           PR         00902‐1112
  248736 JOSE L SOTO CUBA                             REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685263 JOSE L SOTO MENDEZ                           HC 5 BOX 56221                                                                                                 HATILLO            PR         00659
  685264 JOSE L SOTO ROSARIO                          HC 01 BOX 6448                                                                                                 AGUAS BUENAS       PR         00703
  248737 JOSE L SOTO TORRES                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685265 JOSE L SOTO VARGAS                           SANTA MARIA                  E 21 CALLE 4                                                                      SAN GERMAN         PR         00683
  685266 JOSE L SOTOMAYOR PEREZ                       PO BOX 778                                                                                                     JUANA DIAZ         PR         00795
  685267 JOSE L SUAREZ                                PO BOX 240                                                                                                     SANTA ISABEL       PR         00757
         JOSE L SUAREZ / H/N/C
  685268 CAFETERIA VAZQUEZ                            PO BOX 4413                                                                                                    MAYAGUEZ           PR         00681
  685269 JOSE L SUAREZ JANEIRO                        PO BOX 8793                                                                                                    PONCE              PR         00732
  685270 JOSE L SUAREZ MENENDEZ                       A5 CHALETS DE SANTA MARIA                                                                                      SAN JUAN           PR         00927
  248739 JOSE L SUAREZ VILLAFANE                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248740 JOSE L TAVAREZ                               REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   685272 JOSE L TEXIDOR ENCHAUTEGUI                  1 BRISA DE ARROYO            4 APT 63                                                                          ARROYO             PR         00714
   248741 JOSE L TIRADO DELGADO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248742 JOSE L TIRADO SOTO                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685274 JOSE L TORO PALACIO                         URB MONTE CLARO              MC 16 PLAZA 6                                                                     BAYAMON            PR         00961
   685275 JOSE L TORRENS FIGUEROA                     P O BOX 1524                                                                                                   LUQUILLO           PR         00773

   680858 JOSE L TORRENS MORALES                      URB METROPOLIS U 10 CALLE 30                                                                                   CAROLINA           PR         00979‐7464
   248743 JOSE L TORRES                               REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685276 JOSE L TORRES ALEMAN                        HC 71 BOX 16353                                                                                                BAYAMON            PR         00956
   685277 JOSE L TORRES ASTACIO                       HC 03 BOX 5609                                                                                                 HUMACAO            PR         00791
   248744 JOSE L TORRES BERRIOS                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685278 JOSE L TORRES CAMACHO                       HC 2 BOX 7252                                                                                                  UTUADO             PR         00641
   685279 JOSE L TORRES COLON                         EXT SAN LUIS                 25 CALLE ZARDIZ                                                                   AIBONITO           PR         00705
   248745 JOSE L TORRES ESPADA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248746 JOSE L TORRES GARCIA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685280 JOSE L TORRES GONZALES                      URB DELGADO                  E7 CALLE 8                                                                        CAGUAS             PR         00725
   685281 JOSE L TORRES GUTIEREZ                      SALINAS BOX PLAYA            A 26 INT CARR 701                                                                 SALINAS            PR         00751
   248747 JOSE L TORRES HERNANDEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685282 JOSE L TORRES MALDONADO                     PO BOX 73                                                                                                      YAUCO              PR         00698
   685283 JOSE L TORRES MARTINEZ                      BO SABANA ENEAS              388 CALLE 10                                                                      SAN GERMAN         PR         00683
   248748 JOSE L TORRES MONTANEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685284 JOSE L TORRES NIEVES                        4 PALO ALTO                                                                                                    MANATI             PR         00674
   248749 JOSE L TORRES OLIVENCIA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248750 JOSE L TORRES OLIVERAS                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685287 JOSE L TORRES ORENGO                        553 CALLE MADRID                                                                                               YAUCO              PR         00698‐2569
   248751 JOSE L TORRES ORTA                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   685288 JOSE L TORRES PABON                         MANSIONES DE CAROLINA CC 23 CALLE LOS PICACHOS                                                                 CAROLINA           PR         00987
   248752 JOSE L TORRES PEREZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685289 JOSE L TORRES RAMOS                         HC 3 BOX 37912              BO JUAN ALONSO                                                                     MAYAGUEZ           PR         00680
   248754 JOSE L TORRES RIVERA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248756 JOSE L TORRES RODRIGUEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248757 JOSE L TORRES ROMAN                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248758 JOSE L TORRES ROSA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248759 JOSE L TORRES SILVA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685293 JOSE L TORRES SUAREZ                        A/C MARITZA ALVARADO        PO BOX 70166                                                                       SAN JUAN           PR         00936‐8166
   248760 JOSE L TORRES TORRES                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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MML ID               NAME                                      ADDRESS 1                   ADDRESS 2                   ADDRESS 3                           ADDRESS 4             CITY          STATE    POSTAL CODE        COUNTRY
  685295 JOSE L TORRES VEGA                           BO AIBONITO                SECTOR PENTE COSTAL                                                                   HATILLO            PR           00659
                                                                                 1604 AVE EDUARDO RUBERT
   685296 JOSE L TORRES VELEZ                         PARC AMALIA MARIN          PLAYA                                                                                 PONCE              PR           00716
   685297 JOSE L TORRES VILLANUEVA                    PO BOX 3007                                                                                                      ARECIBO            PR           00613
   248762 JOSE L TRINIDAD TRINIDAD                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   685298 JOSE L TROCHE                               P O BOX 544                                                                                                      ADJUNTAS           PR           00601
   248763 JOSE L VALCARCEL ROMERO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   685299 JOSE L VALDERRABANO                         PO BOX 1992                                                                                                      GUAYNABO           PR           00970
   248764 JOSE L VALDES ESCALERA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   685300 JOSE L VALDEZ BRADOR                        PO BOX 9021112                                                                                                   SAN JUAN           PR           00902‐1112
   248765 JOSE L VALEDON PEREZ                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   685302 JOSE L VALLES RIVERA                        URB VILLA FONTANA VIA 38                                                                                         CAROLINA           PR           00983
   248766 JOSE L VARGAS BOCACHICA                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
          JOSE L VARGAS DBA JOLUVAR
   248767 INSTRUMENTS                                 P O BOX 192                                                                                                      GUANICA            PR           00653‐0192
   248768 JOSE L VARGAS FRATTICELLI                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   248769 JOSE L VARGAS MONTALVO                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   685304 JOSE L VARGAS ORTIZ                         URB SAN GERARDO            302 CALLE MONTGOMERY                                                                  SAN JUAN           PR           00926
   685305 JOSE L VARGAS ROSARIO                       URB BELLA VISTA            8 CALLE A                                                                             CAYEY              PR           00736
   248772 JOSE L VAZQUEZ ALEQUIN                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   685306 JOSE L VAZQUEZ CANCEL                       PO BOX 1445                                                                                                      SAN GERMAN         PR           00683‐1445
   248774 JOSE L VAZQUEZ COTTE                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   685307 JOSE L VAZQUEZ CRESPO                       VEGA BAJA LAKES            L 24 CALLE 11                                                                         VEGA BAJA          PR           00693
   248775 JOSE L VAZQUEZ GONZALEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   248776 JOSE L VAZQUEZ LOPEZ                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   248777 JOSE L VAZQUEZ MARTINEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   248779 JOSE L VAZQUEZ OLIVO                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   685312 JOSE L VAZQUEZ ORTIZ                        B 2315 BO RABANAL                                                                                                CIDRA              PR           00739
   248780 JOSE L VAZQUEZ PAGAN                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   248781 JOSE L VAZQUEZ PEDROSA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   248782 JOSE L VAZQUEZ RESTO                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
          JOSE L VAZQUEZ
   685313 RODRIGUEZ/AIDA ANDUJAR                      REP SAN JUAN               5 CALLE C                                                                             ARECIBO            PR           00612
   248783 JOSE L VAZQUEZ ROMERO                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   248784 JOSE L VAZQUEZ TORRES                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   685315 JOSE L VEGA                                 HC 05 BOX 9994                                                                                                   RIO GRANDE         PR           00745‐9607
          JOSE L VEGA DBA FERRET
   685316 JAGUAS                                      HC 2 BOX 8654                                                                                                    CIALES             PR           00638
   685318 JOSE L VEGA LOPEZ                           AVE 5 DE DICIEMBRE         BOX 165                                                                               SABANA GRANDE      PR           00637
   248785 JOSE L VEGA ORTIZ                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   248786 JOSE L VEGA RODRIGUEZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   248787 JOSE L VEGA SANTIAGO                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   248789 JOSE L VELAQUEZ ORTIZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   248790 JOSE L VELAZCO RAMOS                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   685320 JOSE L VELAZQUEZ                            PO BOX 292                                                                                                       ENSENADA           PR           00647
   248792 JOSE L VELAZQUEZ SANTIAGO                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   685323 JOSE L VELEZ ARCAY                          URB LA MILAGROSA           C 3 CALLE EUGENIO DUARTE                                                              BAYAMON            PR           00959
   685324 JOSE L VELEZ HERNANDEZ                      HC 2 BOX 11004                                                                                                   LAS MARIAS         PR           00670
   248795 JOSE L VELEZ QUINONES                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   685325 JOSE L VELEZ RAMOS                          PO BOX 491                                                                                                       CABO ROJO          PR           00623
   685326 JOSE L VELEZ SANTIAGO                       100 BO RAYO GUARAS                                                                                               SABANA GRANDE      PR           00637
   248797 JOSE L VELLON LAUREANO                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   685328 JOSE L VERDIALES MORALES                    PO BOX 364225                                                                                                    SAN JUAN           PR           00936‐4225



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          JOSE L VILELLA CASASNOVA/
   248798 KARLAN                                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   685329 JOSE L VILLA FLORES                         P O BOX 582                                                                                                     SABANA GRANDE       PR           00637
   248800 JOSE L VILLALON PICHARDO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248801 JOSE L VILLAMIL CASANOVA                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   685330 JOSE L VILLANUEVA GARCIA                    17 RES LAS DALIAS             APT 128                                                                           SAN JUAN            PR           00924
   248802 JOSE L VILLANUEVA LOPEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE L WISCOVITCH D/B/A/
   685331 ELECTRONIC MEDI                             PO BOX 191167                                                                                                   SAN JUAN            PR           00919
   248803 JOSE L ZAMBRANA MORALES                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248804 JOSE L ZAMBRANA RAMOS                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   685332 JOSE L ZAYAS MARRERO                        C/O MELVIN OCASIO             PO BOX 191118                                                                     SAN JUAN            PR           00919‐1118
   248805 JOSE L ZAYAS RODRIGUEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   685334 JOSE L ZAYAS VAZQUEZ                        HC‐01 BOX 3152                                                                                                  BARRANQUITAS        PR           00794
                                                      URB. LEVITTOWN LAKES BG‐24
   685337 JOSE L. ACOBE MONTALVO                      CALLE DR                      JOSE A DAVILA                                                                     TOA BAJA            PR           00949
   248806 JOSE L. ACOSTA RIVERA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248807 JOSE L. ALEMAN FIGUEROA                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248808 JOSE L. ALONSO COSTA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248810 JOSE L. ARCAY ARZOLA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   685338 JOSE L. ARCE                                1218 SUMMIT DRIVE                                                                                               CHARLESTON          WV           25302
   248811 JOSE L. ARROYO MARTINEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248812 JOSE L. ARROYO QUINONES                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248814 JOSE L. AVILES MUNOZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   831439 Jose L. Boscio & Associates                 P O Box 10308                                                                                                   Ponce               PR           00732
   248815 JOSE L. BRUNO DOMENECH                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248816 JOSE L. CLAUDIO GARCIA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   685342 JOSE L. COLLAZO LUCIANO                     P O BOX 759                                                                                                     TOA ALTA            PR           00954
   248817 JOSE L. COLON TORRES                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248818 JOSE L. CORDERO DIAZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248819 JOSE L. CORDERO VIERA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248820 JOSE L. CRUZ ALICEA                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248821 JOSE L. CRUZ FLORES                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248824 JOSE L. DIAZ VELAZQUEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   685345 JOSE L. GALARZA ARJONA                      ASSMCA                                                                                                          SAN JUAN            PR           00914‐0000
   685346 JOSE L. GARCIA ADORNO                       RR 2 BOX 9480                                                                                                   TOA ALTA            PR           00953
   248827 JOSE L. GOMEZ                               REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   685347 JOSE L. GOMEZ SAN JUAN                      P. O. BOX 2114                                                                                                  OROCOVIS            PR           00720
   685348 JOSE L. GONZALEZ AGUIRREZ                   PO BOX 21365                                                                                                    SAN JUAN            PR           00928
   248829 JOSE L. GONZALEZ DE JESUS                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248830 JOSE L. GONZALEZ MERCEDES                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248831 JOSE L. GONZALEZ MIRANDA                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   685350 JOSE L. GONZALEZ ROQUE                      BO RINCON                     PO BOX 1574                                                                       CIDRA               PR           00739

   248832 JOSE L. GONZALEZ VILLALONGO                 REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   685351 JOSE L. GOTAY RODRIGUEZ                     PASEO MAYOR E‐17 CALLE‐1                                                                                        SAN JUAN            PR           00926
   248833 JOSE L. GUADALUPE PEREZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   685352 JOSE L. HERRERA RODRIGUEZ                   URB ESTANCIAS                 C24 VIA SAN JOSE                                                                  BAYAMON             PR           00961
   248834 JOSE L. IRIZARRY ASOCIADOS                  P O BOX 9024275                                                                                                 SAN JUAN            PR           00902
   685354 JOSE L. JUSINO RODRIGUEZ                    HP ‐ SALA 1 BAJO                                                                                                RIO PIEDRAS         PR           009360000

   685355 JOSE L. LOPEZ DEL VALLE                     CALLE LOS PINOS BUZON 23403                                                                                     CAYEY               PR           00736
   685356 JOSE L. MACHUCA GARCIA                      CSM San Patricio                                                                                                Hato Rey            PR           00936



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  248836 JOSE L. MALDOMNADO HEVIA                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685357 JOSE L. MARIN DAVILA                         MINILLAS STATION              P O BOX 41269                                                                           SAN JUAN           PR         00940‐1269
  248837 JOSE L. MARTINEZ RUIZ                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248838 JOSE L. MONTALVO CRESPO                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248839 JOSE L. MORALES                              REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685358 JOSE L. MORALES DIAZ                         PTO NUEVO SUR                 1242 CALLE CANARIAS                                                                     RIO PIEDRAS        PR         00920
  248840 JOSE L. MORALES MELENDEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  248841 JOSE L. NEGRON FRAGUADA                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685359 JOSE L. NEGRON ROSADO                        2 CALLE MCJONES                                                                                                       VILLALBA           PR         00766
  685360 JOSE L. NIEVES RODRIGUEZ                     CSM San Patricio                                                                                                      Hato Rey           PR         00936

   685362 JOSE L. OCASIO CORDOVA                      PARC VANS SCOY S‐8 CALLE 13                                                                                           BAYAMON            PR         00957
   685363 JOSE L. OJEDA FIGUEROA                      HC‐83 BUZON 8005                                                                                                      VEGA ALTA          PR         00692
   685366 JOSE L. ORTIZ ORTIZ                         VILLA DEL CARMEN              HH57 CALLE 14                                                                           PONCE              PR         00731
                                                                                    QE08 CALLE 523 URB COUNTRY
   685367 JOSE L. ORTIZ VALENTIN                      4TA EXT COUNTRY CLUB          CLUB                                                                                    CAROLINA           PR         00982
   248843 JOSE L. ORTOLAZA SOTO                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248844 JOSE L. PENA ORMENO                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248845 JOSE L. PLAZA ALONSO                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248847 JOSE L. RAIMUNDI MELENDEZ                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   685368 JOSE L. RAMON TRUCKING INC                  HC‐71 BOX 7240                                                                                                        CAYEY              PR         00736‐9555
   248851 JOSE L. RENTA FELICIANO                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248852 JOSE L. RIOS LUGO                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      BO CAMPANILLAS PARCELA 175
   685371 JOSE L. RIVERA DIAZ                         A                             CALLE PRINCIPAL                                                                         TOA BAJA           PR         00949
   248856 JOSE L. RIVERA JIMENEZ                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248857 JOSE L. RIVERA MENDEZ                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248858 JOSE L. RIVERA MIRANDA                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685372 JOSE L. RIVERA RIOS                         BO JAREALITO 247                                                                                                      ARECIBO            PR         00612
   685374 JOSE L. RIVERA VEGA                         P O BOX 21365                                                                                                         SAN JUAN           PR         00928
   248859 JOSE L. RODRIGUEZ                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   248860 JOSE L. RODRIGUEZ CALDERON                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248861 JOSE L. RODRIGUEZ MENDEZ                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  1256607 JOSE L. RODRIGUEZ TORRES                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  1256608 JOSÉ L. RODRÍGUEZ TORRES                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248863 JOSE L. ROLDAN RAMOS                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248864 JOSE L. SALINAS CRUZ                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248865 JOSE L. SANCHEZ VAZQUEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248866 JOSE L. SOSA BARBOSA                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248867 JOSE L. SOSA RODRIGUEZ                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248868 JOSE L. TORRES CRUZ                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248869 JOSE L. TORRES SILVA                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248870 JOSE L. VALENTIN CARRILLO                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248871 JOSE L. VAZQUEZ VALDEZ                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248872 JOSE L. VEGA BENITEZ                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248873 JOSE L. VELEZ MENDEZ                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248874 JOSE LABOY MEDINA                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685385 JOSE LABOY ORTIZ                            HC 64 BOX 6478                                                                                                        PATILLAS           PR         00723
   248875 JOSE LAGES ZAYAS                            REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685387 JOSE LAMOURT PUJOLS                         135 CALLE BRUGMAN                                                                                                     LAS MARIAS         PR         00670‐2016
   685388 JOSE LANZO MARGUEZ                          BARRIOS LAS MONJAS            119 CALLE POPULAR                                                                       SAN JUAN           PR         00918



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MML ID              NAME                                        ADDRESS 1                  ADDRESS 2              ADDRESS 3                           ADDRESS 4             CITY        STATE    POSTAL CODE       COUNTRY
  685389 JOSE LARACUENTE ORTIZ                        URB CASA MIA               5114 CALLE ZORZAL                                                                PONCE              PR         00731
  685390 JOSE LARACUENTE VALENTIN                     P O BOX 879                VSS                                                                              AGUADILLA          PR         00603
  685391 JOSE LAUREANO RAMOS                          308 INTERAMERICAN COURT                                                                                     SAN GERMAN         PR         00683
  685392 JOSE LAUREANO SEPULVEDA                      URB EL ROSARIO             B G 27                                                                           VEGA BAJA          PR         00693
  685395 JOSE LEBRON ARROYO                           VILLA FONTANA              VIA 61 3BN1                                                                      CAROLINA           PR         00983
  248876 JOSE LEBRON DAVILA                           REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685396 JOSE LEBRON REYES                            HC 3 BOX 12424                                                                                              YABUCOA            PR         00767
                                                      CALLE 111 BN JARDINES DE
   685398 JOSE LEGARDI                                COUNTRY                    CLUB                                                                             CAROLINA           PR         00983
   248878 JOSE LEON ALICEA                            REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685399 JOSE LEON RODRIGUEZ                         56 CALLE COMERIO                                                                                            JUANA DIAZ         PR         00795‐1633
   248879 JOSE LEONARDI REYES VELEZ                   REDACTED                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   248880 JOSE LEONEL ALVAREZ FELICIANO REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685401 JOSE LEONEL SANTOS RIVERA     PO BOX 1822                                                                                                               AIBONITO           PR         00705
   248881 JOSE LIBRAN COUVERTIER        REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685403 JOSE LINARES COSME            RES VIRGILIO DAVILA                      EDF 40 APT 384                                                                   BAYAMON            PR         00961
          JOSE LINARES/WANDA
   248882 LINARES/JOSE BASILIO          REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685404 JOSE LIONEL CRUZ TRINIDAD     URB SAN JOSE                             251 CALLE CANILLAS                                                               SAN JUAN           PR         00923
   685406 JOSE LLANOS BULTRON           HC 3 BOX 7686                                                                                                             JUNCOS             PR         00777
   685409 JOSE LLOPIZ RIVERA            PO BOX 7126                                                                                                               PONCE              PR         00732
   248883 JOSE LLORENS QUINONES         REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685410 JOSE LOPEZ                    URB LOIZ VALLEY                          2952 CALLE ALMENDRO                                                              CANOVANAS          PR         00729
   248884 JOSE LOPEZ ACOSTA             REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685413 JOSE LOPEZ APONTE             PO BOX 13987                                                                                                              SAN JUAN           PR         00908
   248885 JOSE LOPEZ BERDECIA           REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685414 JOSE LOPEZ BONILLA            1 RES JARD DE UTUADO                     APT 86                                                                           UTUADO             PR         00641‐2524
   248886 JOSE LOPEZ CABAN              REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248887 JOSE LOPEZ CAMACHO            REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685415 JOSE LOPEZ CANALES            BO TORRECILLA                            BOX 64 A CALLE 08                                                                CANOVANAS          PR         00729
   685416 JOSE LOPEZ CARRASQUILLO       JARD DE PALMAREJO                        MM 4 CALLE 28                                                                    CANOVANAS          PR         00729
   248888 JOSE LOPEZ CRUZ               REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685417 JOSE LOPEZ GARCIA             HC 06 BOX 4282                                                                                                            COTO LAUREL        PR         00780
   248889 JOSE LOPEZ GONZALEZ           REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685419 JOSE LOPEZ LAGUERRA           PO BOX 1838                                                                                                               A¥ASCO             PR         00610
   248890 JOSE LOPEZ LOPEZ              REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685420 JOSE LOPEZ LOZADA             URB VILLA DEL REY                        LA4 CALLE 28                                                                     CAGUAS             PR         00725
   248891 JOSE LOPEZ MALDONADO          REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248892 JOSE LOPEZ NEGRON             REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248895 JOSE LOPEZ PACHECO            REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248896 JOSE LOPEZ PEREZ              REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JOSE LOPEZ PEREZ Y LUZ H
   685421 ROMAN                         AVE FELIX ALDARONDO                      BUZON 1336                                                                       ISABELA            PR         00662
   248897 JOSE LOPEZ PIZARRO            REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248898 JOSE LOPEZ QUINONEZ           REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248900 José López QuiNonez           REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248901 JOSE LOPEZ RIVERA             REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   248903 JOSE LOPEZ RODRIGUEZ          REDACTED                                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   680861 JOSE LOPEZ ROSA               URB BRISAS DEL MAR                       EH 5 CALLE E6                                                                    LUQUILLO           PR         00773
   685426 JOSE LOPEZ SEGUI              URB CASTELLAN GARDENS                    Z 10 CALLE 23                                                                    CAROLINA           PR         00983
   685427 JOSE LOPEZ TELLADO            VISTA BELLA                              G 36 CALLE 5                                                                     BAYAMON            PR         00956
   685428 JOSE LOPEZ TORRES             PO BOX 691                                                                                                                BOQUERON           PR         00622



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  685429 JOSE LOPEZ VELAZQUEZ                         P O BOX 3568                MARINA STATION                                                                            MAYAGUEZ          PR           00681
  685430 JOSE LORENZO CARRERO                         PO BOX 689                                                                                                            AGUADA            PR           00602‐0689
         JOSE LORENZO COLON
  685431 MALDONADO                                    BOX 10                                                                                                                SALINAS           PR           00751
  248904 JOSE LORENZO HERNANDEZ                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  685432 JOSE LORENZO LORENZO                         HC 58 BOX 12454                                                                                                       AGUADA            PR           00602
  248905 JOSE LORENZO TORRES                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  685435 JOSE LOUBRIEL RODRIGUEZ                      COND VALENCIA PLAZA         307 ALMENIA APT 608                                                                       SAN JUAN          PR           00923
  685436 JOSE LOZADA RODRIGUEZ                        BARRIO RINCON               RR 1 BUZON 3304                                                                           CIDRA             PR           00739
  685437 JOSE LUCCA IRIZARRY                          BOX 461                                                                                                               SANTA ISABEL      PR           00757
  685438 JOSE LUCIANO ASENCIO                         PO BOX 1508                                                                                                           LAJAS             PR           00667‐1508
  685440 JOSE LUGO IGLESIA                            PARQUE SAN MIGUEL           C 18 CALLE 1                                                                              BAYAMON           PR           00691
  685441 JOSE LUGO LUGO                               PO BOX 9                                                                                                              HORMIGUEROS       PR           00660
  685442 JOSE LUGO MERCADO                            P O BOX 613                                                                                                           SABANA GRANDE     PR           00637
  248906 JOSE LUGO OSORIO                             REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  685443 JOSE LUGO SOTO                               PO BOX 161                                                                                                            COTTO LAUREL      PR           00780
  685444 JOSE LUGO VELAZQUEZ                          PO BOX 233                                                                                                            YAUCO             PR           00698
  248907 JOSE LUGO VELEZ                              REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   685448 JOSE LUIS ACOSTA CAQUIAS                    BOLEVARD DEL RIO            300 AVE LOS FILTROS APT 7317                                                              GUAYNABO          PR           00921
   248908 JOSE LUIS AGOSTO PEREZ                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   685449 JOSE LUIS ALEJANDRO                         BO MOGOTE                   215 CALLE EVARISTO VAZQUEZ                                                                CAYEY             PR           00736
   248909 JOSE LUIS ALICEA MARTINEZ                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   685450 JOSE LUIS ALVAREZ CARDONA                   HC 01 BOX 7994                                                                                                        LAS PIEDRAS       PR           00771‐9736

   248910 JOSE LUIS AMIAMA RODRIGUEZ                  REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   685451 JOSE LUIS APONTE VEGA                       PO BOX 345                                                                                                            CIDRA             PR           00739
   248911 JOSE LUIS ATILANO ACEVEDO                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   248912 JOSE LUIS AVILES COLON                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   248913 JOSE LUIS AYALA RAMOS                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   685452 JOSE LUIS BAEZ LUGO                         BOX 2390                                                                                                              SAN JUAN          PR           00919
   685453 JOSE LUIS BAEZ MENDEZ                       HC 02 BOX 10488                                                                                                       LAS MARIAS        PR           00670‐9043

   248915 JOSE LUIS BORRERO MONTANEZ                  REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   248916 JOSE LUIS CABRERA SOTO                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   685455 JOSE LUIS CALDERON                          P O BOX 16114                                                                                                         TOA ALTA          PR           00953
   248918 JOSE LUIS CAMACHO SILVA                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   685456 JOSE LUIS CASTILLO COLON                    130 URB SIERRA REAL                                                                                                   CAYEY             PR           00736
   248920 JOSE LUIS CASTRO RIOS                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   248921 JOSE LUIS CEDENO                            REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   248922 JOSE LUIS CEDENO LARACUENTE REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   685458 JOSE LUIS CINTRON VELAZQUEZ                 CALLE BOX 3001 APT 286                                                                                                RIO GRANDE        PR           00745
   248923 JOSE LUIS COLLAZO ROSADO                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   685459 JOSE LUIS COLON GONZALEZ                    URB EL ROSARIO 2            P 17 CALLE 3                                                                              VEGA BAJA         PR           00693
   685460 JOSE LUIS COLON ROLDAN                      EMBALSE SAN JOSE            462 CALLE COZUMEL                                                                         SAN JUAN          PR           00923
   685461 JOSE LUIS COTTO DIAZ                        RR 1 BOX 3020                                                                                                         CIDRA             PR           00739

   685462 JOSE LUIS CRUZ MENDEZ                       COMUNIDAD DE HILL BROHERS   ESTRUCTURA 97 D SUR                                                                       SAN JUAN          PR           00928
   685463 JOSE LUIS CRUZ MERCADO                      HC‐01 BOX 5137                                                                                                        CAMUY             PR           00627
   248924 JOSE LUIS CRUZ RAMOS                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  685464 JOSE LUIS CRUZ SANCHEZ                        RES. JUAN FERRER            EDIF 2 APT. 21                                                                   MARICAO              PR         00606
  685465 JOSE LUIS CUEVAS                              79 CALLE AR RAMOS                                                                                            UTUADO               PR         00641
  248925 JOSE LUIS CUEVAS VELEZ                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         JOSE LUIS DBA DIGITAL OFFICE
  248926 SOLUTIONS                                     PO BOX 4398                                                                                                  AGUADILLA            PR         00605
  685466 JOSE LUIS DIAZ                                159 CALLE COSTA RICA        APT 3B                                                                           SAN JUAN             PR         00917
  248928 JOSE LUIS DIAZ GRAGIRENE                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  685467 JOSE LUIS DIAZ MONTALBAN                      RES MANUEL A PEREZ          EDIF E 6 APT 27                                                                  SAN JUAN             PR         00923
  248929 JOSE LUIS DIAZ MONTIYO                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  685470 JOSE LUIS DIAZ SOTO                           SABANA GARDENS              13‐6 CALLE 27                                                                    CAROLINA             PR         00983
                                                       CALLE CASIMIRA CASTRO BOX
   685471 JOSE LUIS DIAZ VALENTIN                      441 B                                                                                                        ISABELA              PR         00662
   685472 JOSE LUIS ESPINELL                           URB REXVILLE                AO M 2 CALLE 58                                                                  BAYAMON              PR         00957
   685473 JOSE LUIS FERNANDEZ                          REPARTO METROPOLITANO       1150 CALLE 40 SE                                                                 SAN JUAN             PR         00921

   248931 JOSE LUIS FERNANDEZ GONZALEZ REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   685475 JOSE LUIS FERNANDEZ OLALLA                   P O BOX 9020866                                                                                              SAN JUAN             PR         00902‐0866
   248932 JOSE LUIS FORTYS RAMIREZ                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   248933 JOSE LUIS FUENTES BENITES                    REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685477 JOSE LUIS GALARZA ARBONA                     PO BOX 151                                                                                                   ANGELES              PR         00611
   248934 JOSE LUIS GALARZA GARCIA                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685478 JOSE LUIS GARCIA AGOSTO                      64 CALLE SEVERO ARANA                                                                                        SAN SEBASTIAN        PR         00685
   248935 JOSE LUIS GARCIA COLON                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685479 JOSE LUIS GARCIA IRIZARRY                    PO BOX 706                                                                                                   PE¨UELAS             PR         00624
   248936 JOSE LUIS GIERBOLINI ROSA                    REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685480 JOSE LUIS GILES RIVERA                       1908 COND TOWN HOUSE                                                                                         SAN JUAN             PR         00926
   248937 JOSE LUIS GONZALEZ                           REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685481 JOSE LUIS GONZALEZ COLON                     RES LUIS LLORENS TORRES     EDIF F 131 APT 2430                                                              SAN JUAN             PR         00913
   248939 JOSE LUIS GONZALEZ REYES                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   248940 JOSE LUIS GORDREAU                           REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685483 JOSE LUIS GUZMAN CINTRON                     PO BOX 1687                                                                                                  UTUADO               PR         00641
   248941 JOSE LUIS GUZMAN GARCIA                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   248942 JOSE LUIS GUZMAN QUINONES                    REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685484 JOSE LUIS HERNANDEZ                          APARTADO 175                                                                                                 NARANJITO            PR         00719

   685485 JOSE LUIS HERNANDEZ CLAUDIO BO MARICAO BOX 5006                                                                                                           VEGA ALTA            PR         00692

   685486 JOSE LUIS HERNANDEZ VAZQUEZ PO BOX 240                                                                                                                    SANTA ISABEL         PR         00757
   248943 JOSE LUIS JIMENEZ BARRERAS  REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685487 JOSE LUIS JORDAN IRIZARRY   P O BOX 381                                                                                                                   ADJUNTAS             PR         00601
   685489 JOSE LUIS LACEN             PO BOX 497                                                                                                                    RIO GRANDE           PR         00745
   248944 JOSE LUIS LAMBOY SANTIAGO   REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   248946 JOSE LUIS LLAMAS IZQUIERDO  REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   248947 JOSE LUIS LOPEZ GUEVARA     REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JOSE LUIS LUGARO Y NELSON D
   248950 SOTO CARDONA                REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685494 JOSE LUIS MARRERO ARCE      URB METROPOLIS                               D 21 CALLE 9                                                                     CAROLINA             PR         00987

   248953 JOSE LUIS MARRERO RODRIGUEZ REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   248954 JOSE LUIS MARTINEZ ORTIZ    REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   248955 JOSE LUIS MARTINEZ PIETRI   REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  248956 JOSE LUIS MATIAS QUINONEZ                     REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  685496 JOSE LUIS MELENDEZ CRUZ                       MIRADOR DEL TOA              APT 4 D BOX 22                                                                   TOA ALTA          PR         00953
  685498 JOSE LUIS MOJICA                              HC‐01 BOX 5715                                                                                                GUAYNABO          PR         00971
  685499 JOSE LUIS MOLINARIS DAVILA                    PMB 156                      35 JUAN C BORBON 67                                                              GUAYNABO          PR         00969
  248958 JOSE LUIS MORALES ROSARIO                     REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   248960 JOSE LUIS MUNOZ HERNANDEZ REDACTED                             REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685500 JOSE LUIS MUNOZ LOPEZ          HC 4 BOX 12672                                                                                                              HUMACAO           PR         00792
   685502 JOSE LUIS NEGRON COLON         URB EXT ALAMAR                  CALLE M BLQ M 18                                                                            LUQUILLO          PR         00773
   248961 JOSE LUIS NOTARIO TOLL         REDACTED                        REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248962 JOSE LUIS NOVOA GARCIA         REDACTED                        REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248964 JOSE LUIS NUNEZ PABON          REDACTED                        REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248966 JOSE LUIS ORTA BENITEZ         REDACTED                        REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685503 JOSE LUIS ORTA GOMEZ           HC‐ 02 BOX 18208                BO JAGUAL                                                                                   GURABO            PR         00778
   685504 JOSE LUIS ORTEGA               PARC HILLS BROHERS              92 CALLE 7                                                                                  SAN JUAN          PR         00924
   248968 JOSE LUIS PACHECO CASTRO       REDACTED                        REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOSE LUIS PADILLA COLON DBA JL CALLE 3 B‐11, URB. SANTA ISIDRA
   248969 PADILLA                        I                                                                                                                           FAJARDO           PR         00738‐0000
                                                                         COM RECIO C/ VISTA ALEGRE 1
   685508 JOSE LUIS PADILLA LABOY        BO GUARDARAYA                   BAJO                                                                                        PATILLAS          PR         00723
   685510 JOSE LUIS PEREZ                URB LEVITTOWN                   PRIMERA SECCION                  J 1266 PASEO DURIAN                                        TOA BAJA          PR         00949
   685511 JOSE LUIS PEREZ MONTES         FF 4 RIO HONDO                                                                                                              MAYAGUEZ          PR         00680
   248970 JOSE LUIS PEREZ PAGAN          REDACTED                        REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   685512 JOSE LUIS PEREZ SANCHEZ                      PO BOX 9193 PLAZA CAROLINA                                                                                    CAROLINA          PR         00988
   248971 JOSE LUIS PLAZA ALONSO                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248973 JOSE LUIS PONCE LUYANDO                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685513 JOSE LUIS PUMPING SERVICE                    PO BOX 1253                                                                                                   TRUJILLO ALTO     PR         00977
   685514 JOSE LUIS RAMIREZ RAMOS                      URB VILLA VICTORIA           O 8 CALLE 16                                                                     CAGUAS            PR         00725
   248974 JOSE LUIS RAMIREZ RIVERA                     REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248977 JOSE LUIS RENTAS ORTIZ                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248978 JOSE LUIS RIOS RIVERA                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685515 JOSE LUIS RIOS SOTO                          B 30 BARRIADA NUEVA                                                                                           UTUADO            PR         00641
   248979 JOSE LUIS RIVERA AQUINO                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248981 JOSE LUIS RIVERA DIAZ                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   248982 JOSE LUIS RIVERA GONZALEZ                    REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685516 JOSE LUIS RIVERA GUERRA                      BO MARIAS                    CARR 110 KM 8.7                                                                  MOCA              PR         00676
   685517 JOSE LUIS RIVERA ORTIZ                       PO BOX 167                                                                                                    NARANJITO         PR         00719
   685519 JOSE LUIS RIVERA RIVERA                      100 CALLE EXT BETANCES                                                                                        VEGA BAJA         PR         00693
   248983 JOSE LUIS RODRIGUEZ                          REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOSE LUIS RODRIGUEZ
   248985 CANDELARIO                                   REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   685522 JOSE LUIS RODRIGUEZ GONZALEZ HC 1 BOX 5498                                                                                                                 BAJADERO          PR         00616
   248986 JOSE LUIS RODRIGUEZ MARIN    REDACTED                                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   248987 JOSE LUIS RODRIGUEZ PACHECO REDACTED                                      REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685523 JOSE LUIS RODRIGUEZ RUIZ    BOX 1293                                                                                                                       RIO GRANDE        PR         00745
   248989 JOSE LUIS RODRIGUEZ SAES    REDACTED                                      REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   685446 JOSE LUIS RODRIGUEZ VAZQUEZ 200 SIERRA ALTA                               BOX 28                                                                           SAN JUAN          PR         00926
   685524 JOSE LUIS ROLON             HC 03 BOX13948                                BARRIO PALMADITO                                                                 COROZAL           PR         00783‐9808




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   685525 JOSE LUIS ROMAN VELAZQUEZ                   PO BOX 418                                                                                                       SAN SEBASTIAN       PR           00685
          JOSE LUIS SAN MIGUEL
   685527 FERNANDEZ                                   URB SAN MIGUEL              A 6 CALLE 5                                                                          CABO ROJO           PR           00623
   685447 JOSE LUIS SANCHEZ LAZU                      COM VILLA ANGELINA          102 CALLE 1                                                                          LUQUILLO            PR           00773

   685528 JOSE LUIS SANCHEZ MARCHAND HC 1 BOX 2410                                                                                                                     FLORIDA             PR           00650

   685530 JOSE LUIS SANCHEZ RODRIGUEZ HC 1 BOX 6403                                                                                                                    GUAYNABO            PR           00971

   685532 JOSE LUIS SANTIAGO CASTILLO                 ALTURAS DE VILLALBA         125 CALLE NELIDA GUZMAN                                                              VILLALBA            PR           00766‐2034
   248992 JOSE LUIS SERRANO MONTES                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   685533 JOSE LUIS SOTO GOMEZ                        P O BOX 1814                                                                                                     RIO GRANDE          PR           00745
   685534 JOSE LUIS TIRADO                            CAPETILLO                   302 CALLE PARQUE                                                                     SAN JUAN            PR           00923
          JOSE LUIS TORREGROSA
   685535 GUERRERA                                    P O BOX 1807                                                                                                     SAN JUAN            PR           00919
   248995 JOSE LUIS TROCHE                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   685537 JOSE LUIS VALENTIN AQUINO                   HC 5 BOX 94219                                                                                                   ARECIBO             PR           00612‐9627
   248996 JOSE LUIS VARGAS VAZQUEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   685539 JOSE LUIS VAZQUEZ                           HC 02 BOX 8463                                                                                                   OROCOVIS            PR           00720
   685540 JOSE LUIS VAZQUEZ ARROYO                    URB VISTA BELLA             A 22 CALLE 2                                                                         BAYAMON             PR           00956
   685541 JOSE LUIS VAZQUEZ NILS                      URB COUNTRY CLUB            HD 26 CALLE 221                                                                      CAROLINA            PR           00982

   248997 JOSE LUIS VAZQUEZ ORLANDO                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   248998 JOSE LUIS VELEZ BERRIOS                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   685542 JOSE LUIS VERA RAMOS                        VALLE REAL                  1716 MARQUESA                                                                        PONCE               PR           00716‐0513
   248999 JOSE LUIS VILLAFANE RAMOS                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE LUIS Y ARNALDO E
   685544 TORREGROSA BULGALA                          104 CALLE PALMER NORTE                                                                                           GUAYAMA             PR           00784
          JOSE LUIS Y VIVIANA MARTINEZ
   685545 RAMIREZ                                     LAGOS DE PLATA              N 3 CALLE 14                                                                         TOA BAJA            PR           00949

   685546 JOSE LUIS ZAYAS COLON                       41 TOMAS CARRION MADURO                                                                                          COAMO               PR           00769
   685547 JOSE LUNA HERNANDEZ                         PO BOX 694                                                                                                       AIBONITO            PR           00705‐0694
   685548 JOSE LUZUNARIS PAGAN                        URB LA VISTA                VIA PANORAMICA H4                                                                    SAN JUAN            PR           00924
   685557 JOSE M ABRANTE MARQUEZ                      PO BOX 95                                                                                                        COMERIO             PR           00782

   685558 JOSE M ABREU CRESPO                         URB JARDINES DE BORINQUEN   Q 19 CALLE CANARIA                                                                   CAROLINA            PR           00985
   249000 JOSE M ABREU MERCED                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249001 JOSE M ABREU RODRIGUEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249002 JOSE M ACEVEDO ACEVEDO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   685559 JOSE M ACEVEDO ALVAREZ                      URB VILLA HILDA             A‐2 CALLE 1                                                                          YABUCOA             PR           00767
   249003 JOSE M ACEVEDO APONTE                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   249004 JOSE M ACEVEDO CARMINELLI                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   685561 JOSE M ACEVEDO CORTES                       TREASURE VALLEY             E‐13 AVE LAS AMERICAS                                                                CIDRA               PR           00739
   249005 JOSE M ACEVEDO DIAZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249006 JOSE M ACEVEDO GONZALEZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   685562 JOSE M ACEVEDO LOPEZ                        663 CALLE VISTO MAR                                                                                              QUEBRADILLA         PR           00678
   249007 JOSE M ACOSTA FERNANDEZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   685564 JOSE M ACOSTA OJEDA                         PO BOX 361298                                                                                                    SAN JUAN            PR           00936‐1298
   685565 JOSE M ADORNO MALAVE                        HC 1 BOX 4666                                                                                                    QUEBRADILLAS        PR           00678
   685566 JOSE M ADORNO SARAZAR                       PO BOX 30545                                                                                                     SAN JUAN            PR           00929



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  249008 JOSE M AGIS COLON                            REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  685567 JOSE M AGOSTO                                SAN FERNANDO                  EDIF 11 APT 189                                                                         SAN JUAN            PR         00928
  685568 JOSE M AGOSTO SANJURJO                       HC 1 BOX 2115                                                                                                         LOIZA               PR         00772

   685569 JOSE M AGRELOT                              59 KING COURT PLAYA APT 902                                                                                           SAN JUAN            PR         00911
   249009 JOSE M AGUIAR HIDALGO                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685570 JOSE M AGUILAR MALAVE                       752 CALLE 31 SO               URB LAS LOMAS                                                                           RIO PIEDRAS         PR         00921
   249011 JOSE M ALEMANY GARCIA                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685575 JOSE M ALICEA                               PO BOX 2091                                                                                                           BAYAMON             PR         00960
   685576 JOSE M ALICEA ALMODOVAR                     HC 10 BOX 8070                                                                                                        SABANA GRANDE       PR         00637
   685577 JOSE M ALICEA LOPEO                         VILLA INDIA                   6 ANTONIO R BARRETO                                                                     MAYAGUEZ            PR         00680
   685578 JOSE M ALICEA RENTAS                        BO LA CUARTA                  194 CALLE E                                                                             MERCEDITA           PR         00715‐1912
   249012 JOSE M ALICEA SANTIAGO                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249013 JOSE M ALLENDE SEDA                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   685579 JOSE M ALMODOVAR ACEVEDO                    PO BOX 3906                                                                                                           SAN JUAN            PR         00902
   249014 JOSE M ALMODOVAR FARIA                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685580 JOSE M ALONSO GARCIA                        PO BOX 9020082                                                                                                        SAN JUAN            PR         00902
   685581 JOSE M ALONSO POUSA                         PO BOX 362702                                                                                                         SAN JUAN            PR         00936‐2702
   249015 JOSE M ALVARADO ROSA                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685583 JOSE M ALVARADO TORRES                      COM LAS 500                   8 CALLE DIAMANTE                                                                        ARROYO              PR         00714
   249016 JOSE M ALVAREZ APONTE                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   685584 JOSE M ALVAREZ CABAN                        CALLE SIBONEY 514             URB BRISAS DE MONTE CASINO                                                              TOA ALTA            PR         00953
   685585 JOSE M ALVAREZ MANFREDY                     URB VILLA DEL CARMEN          CC 8 CALLE 21                                                                           PONCE               PR         00731
   249017 JOSE M ALVAREZ MARTINEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685586 JOSE M ALVAREZ O'NEILL                      URB VILLA GRANADA             486 CALLE VALLADOLID                                                                    SAN JUAN            PR         00923‐2708
   685587 JOSE M ALVAREZ PADIN                        BDA BUENA VISTA               169 CALLE B                                                                             SAN JUAN            PR         00917
                                                                                    10 CALLE SANTA CRUZ APT D
   685588 JOSE M ALVAREZ PINTO                        COND RIVER PARK               303                                                                                     BAYAMON             PR         00961
   685589 JOSE M ALVAREZ RODRIGUEZ                    EXT LA MILAGROSA              S 9 CALLE 1                                                                             BAYAMON             PR         00959
   249018 JOSE M ALVAREZ TORRES                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249019 JOSE M ALVAREZ VELEZ                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249020 JOSE M ALVAREZ VILLARAN                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685591 JOSE M AMARO VAZQUEZ                        PARK GARDEN                   K11 CALLE GENERALIFE                                                                    SAN JUAN            PR         00926
   685592 JOSE M ANADOR RAMIREZ                       HC 03 BOX 11731                                                                                                       JUANA DIAZ          PR         00795

   685593 JOSE M ANDRADES RODRIGUEZ                   COND TORRES DE CERVANTES      APTO 1108 B                                                                             SAN JUAN            PR         00924
   685594 JOSE M ANDRADES SERRANO                     BELLO MONTE                   H17 CALLE 7                                                                             GUAYNABO            PR         00969
   249021 JOSE M APONTE BELTRAN                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685595 JOSE M APONTE FUENTES                       PO BOX 2004                                                                                                           GUAYAMA             PR         00785
   249022 JOSE M APONTE HERNANDEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   685597 JOSE M APONTE JIMENEZ                       CONDADO PRINCESS              2 CALLE WASHINGTON PH 304                                                               SAN JUAN            PR         00907
   685598 JOSE M AQUINO RAMIREZ                       URB BONNEVILLE HGTS           27 CALLE LAS PIEDRAS                                                                    CAGUAS              PR         00727
   685599 JOSE M ARCE LETRIZ                          BO GERRERO                    HC 3 BOX 33234                                                                          AGUADILLA           PR         00603‐9708
   685600 JOSE M ARCE REYES                           P O BOX 503                                                                                                           LARES               PR         00669
   685601 JOSE M ARCE RIVERA                          URB VILLA AVILA               A19 CALLE MAYAGUEZ                                                                      GUAYNABO            PR         00969
   685602 JOSE M ARROYO ALICEA                        HC 01 BOX 8051                                                                                                        SANTA ISABEL        PR         00757
   685603 JOSE M ARROYO ARROYO                        PO BOX 2390                                                                                                           SAN JAN             PR         00919
   249023 JOSE M ARROYO ORTIZ                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685604 JOSE M ARROYO OTERO                         P O BOX 1773                                                                                                          MOROVIS             PR         00687
   249024 JOSE M ARZON DONATE                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  685607 JOSE M AULI RIVERA                           ALTURAS DE FLAMBOYAN       E E 12 CALLE 18                                                                         BAYAMON           PR         00959‐8068
  249026 JOSE M AVILA GUZMAN                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  249027 JOSE M AVILES VARGAS                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  685609 JOSE M AYALA VEGA                            URB LEVITTOWN              1576 PASEO DIANA                                                                        TOA BAJA          PR         00949‐3917
  685610 JOSE M BADIA                                 URB LA VILLA DE TORRIMAR   211 CALLE REY EDUARDO                                                                   GUAYNABO          PR         00969
  249028 JOSE M BAEZ COLON                            REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  249030 JOSE M BAEZ COSME                            REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  249031 JOSE M BAEZ MORALES                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  685612 JOSE M BAEZ OCASIO                           HC 01 9527                                                                                                         SAN GERMAN        PR         00683

   685613 JOSE M BARLETTA RODRIGUEZ                   PO BOX 366906                                                                                                      SAN JUAN          PR         00936‐6906
   685614 JOSE M BARREIRO PEREZ                       HC 1 BOX 2444                                                                                                      MAUNABO           PR         00707
   685615 JOSE M BARRETO MENA                         PO BOX 141564                                                                                                      ARECIBO           PR         00614
   685616 JOSE M BARRETO VARGAS                       BO PUEBLO 246 MARGINAL                                                                                             HATILLO           PR         00659
   685617 JOSE M BAUZA COLON                          BO SINGAPUR 453            CALLE 14                                                                                JUANA DIAZ        PR         00795
   249033 JOSE M BAYON SANTIAGO                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685618 JOSE M BELARDO RAMIREZ                      PO BOX 95                                                                                                          VIEQUES           PR         00765
   685619 JOSE M BENABE                               PO BOX 9023207                                                                                                     SAN JUAN          PR         00902‐3207
   249034 JOSE M BENITEZ CORDOVA                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   249035 JOSE M BERDECIA HERNANDEZ                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249036 JOSE M BERRIOS HERNANDEZ                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685626 JOSE M BERRIOS MORALES                      BDA MARIN                  64B CALLE CARLOTA                                                                       GUAYAMA           PR         00784
   249037 JOSE M BERRIOS ORTIZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685627 JOSE M BERRIOS SANTIAGO                     URB BEINDA                 3 CALLE 8 I                                                                             ARROYO            PR         00714
          JOSE M BETANCOURT
   685628 BETANCOURT                                  PO BOX 705                                                                                                         SAINT JUST        PR         00978

   770630 JOSE M BETANCOURT SKERRETT                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249039 JOSE M BIBILONI PEREZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249040 JOSE M BLANCO SAEZ                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOSE M BLANCO/VERONICA
   685629 BLANCO TORRES                               7MA SECC LEVITOWN          JT 10 CARMEN SANABRIA                                                                   TOA BAJA          PR         00949
   685631 JOSE M BONILLA RODRIGUEZ                    SAN FERNANDO               K 4 CALLE D                                                                             BAYAMON           PR         00957
   249041 JOSE M BONILLA SIERRA                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685632 JOSE M BONILLA VILLANUEVA                   HC 645 BOX 5237                                                                                                    TRUJILLO ALTO     PR         00976
   249042 JOSE M BORGES LUNA                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685633 JOSE M BORGES MERCED                        BONNEVILLE APARMENT        APT D 8 CALLE CIPRES FINAL                                                              CAGUAS            PR         00725
   249043 JOSE M BORGOS ROSARIO                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249044 JOSE M BORIA                                REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685634 JOSE M BORRERO LUCIANO                      452 MONTE SOL                                                                                                      JUANA DIAZ        PR         00795
   249045 JOSE M BOSCH ALVAREZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685636 JOSE M BOSCH FRANQUI                        URB LOIZA VALLEY           N 880 CALLE PANDANO                                                                     CAROLINA          PR         00729
   685637 JOSE M BOSQUES QUINTANA                     URB LA CUMBRE              602 CALLE MADISON                                                                       SAN JUAN          PR         00926
   249046 JOSE M BRACERO SEPULVEDA                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249048 JOSE M BRENES GONZALEZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249049 JOSE M BROTONS MOSTAZO                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249050 JOSE M BURGOS FUENTES                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249051 JOSE M BURGOS RODRIGUEZ                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249052 JOSE M BUSQUETS FERRIOL                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249053 JOSE M CABALLERO GALARZA                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685639 JOSE M CABAN VAZQUEZ                        P O BOX 246                                                                                                        MANATI            PR         00674
   249054 JOSE M CACHO NATAL                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  249055 JOSE M CALDAS PEREZ         REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  685640 JOSE M CALDERON             VILLA DEL CARMEN                                 D 40 SECTOR LA 23                                                                       LOIZA               PR         00772
         JOSE M CALDERON Y LUIS M
  249056 CALDERON                    REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249057 JOSE M CAMACHO IGUINA       REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249058 JOSE M CAMACHO RIVERA       REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  685642 JOSE M CAMACHO TORRES       URB SANTA JUANITA                                NG 13 CALLE QUINA                                                                       BAYAMON             PR         00957
         JOSE M CAMPOS /DBA/ FLORIDA
  249059 & CARIBBEAN                 PEMBROKE PINES                                   16204 NW 13 ST                                                                          FLORIDA             FL         33028
  685643 JOSE M CANDELARIA           SIERRA BAYAMON                                   28‐2 CALLE 28                                                                           BAYAMON             PR         00960

   685644 JOSE M CANDELARIO LLANOS                     URB VISTAS DEL RIO GRANDE II   508 CALLE PALMA REAL                                                                    RIO GRANDE          PR         00745

   685645 JOSE M CAQUIAS GUZMAN                        PARCELAS NUEVOS MAGUEYES       455 CALLE AMA MARIA ONEILL                                                              PONCE               PR         00728
   249060 JOSE M CAQUIAS TORRES                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   685647 JOSE M CARABALLO CORDERO                     EXT SALAZAR                    1862 CALLE SACRAMENTO                                                                   PONCE               PR         00717‐1829
   685648 JOSE M CARABALLO GARCIA                      CARR 185 K 13 H 4 BOX 11881    BO CEDROS                                                                               CAROLINA            PR         00985
   249061 JOSE M CARABALLO NEGRON                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685649 JOSE M CARBALLIDO CLERCH                     GARDEN HILLS                   JA 17 CALLE SERRANIA                                                                    GUAYNABO            PR         00966
   685651 JOSE M CARDONA MIRANDA                       BOX 7098                                                                                                               CAROLINA            PR         00986
   249062 JOSE M CARMONA PEREZ                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249063 JOSE M CARRASQUILLO                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   685652 JOSE M CARRASQUILLO CANCEL                   PO BOX 4519                                                                                                            CAROLINA            PR         00984‐4519
          JOSE M CARRASQUILLO
   249065 SANTANA                                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249066 JOSE M CARRASQUILLO VEGA                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685653 JOSE M CARRET                                P.O. BOX 21635                                                                                                         SAN JUAN            PR         00928
   685654 JOSE M CARRILLO MORALES                      PO BOX 8951                                                                                                            CAROLINA            PR         00988
   685655 JOSE M CASANOVA CARRION                      SUITE 195 PO BOX 1981                                                                                                  LOIZA               PR         00772

   249069 JOSE M CASANOVA EDELMANN                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685657 JOSE M CASILLAS                              URB SAN ANTONIO                J 9 CALLE 13                                                                            HUMACAO             PR         00791
   685658 JOSE M CASTILLO GONZALEZ                     COM ANIMAS SOLAR 752                                                                                                   ARECIBO             PR         00615
   249070 JOSE M CASTILLO OLIVERA                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685659 JOSE M CASTILLO ORTIZ                        HC 02 BOX 11014                                                                                                        HUMACAO             PR         00791
   249071 JOSE M CASTRO CALDERON                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   249072 JOSE M CASTRO CARRASQUILLO                   REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249073 JOSE M CASTRO GONZALEZ                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685661 JOSE M CASTRO HERNANDEZ                      HC 1 BOX 12139                                                                                                         CAROLINA            PR         00987
   249074 JOSE M CASTRO MUNOZ                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE M CASTRO RIVERA Y
   249075 CYNTHIA M MATEO                              REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685662 JOSE M CASTRO VEGA                           PO BOX 5075                                                                                                            SAN GERMAN          PR         00683
   249076 JOSE M CENTENO ORTIZ                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249077 JOSE M CENTENO PAGAN                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685663 JOSE M CHAPARRO ROSARIO                      BO JUNCAL CONSTRACTION         APT 2676                                                                                SAN SEBASTIAN       PR         00685
   249078 JOSE M CHAPARRO SANTIAGO                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685664 JOSE M CHEVERE ORTIZ                         PO BOX 799                                                                                                             TOA ALTA            PR         00951 0799
   249083 JOSE M CHICLANA RIVERA                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685665 JOSE M CINTRON DIAZ                          HC 764 BOX 8389                                                                                                        PATILLAS            PR         00723



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  685666 JOSE M CINTRON MERCADO                       PO BOX 1000                                                                                                       ISABELA             PR         00662
  249084 JOSE M CINTRON SALGADO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  685667 JOSE M COLL SALAS                            P O BOX 193053                                                                                                    SAN JUAN            PR         00919‐3053
  249085 JOSE M COLLAZO CINTRON                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  685668 JOSE M COLLAZO COLLAZO                       PO BOX 1914                                                                                                       JUNCOS              PR         00777
  249086 JOSE M COLLAZO CRUZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249088 JOSE M COLLAZO SOLIS                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249089 JOSE M COLLAZO TORRES                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  685670 JOSE M COLON AYALA                           P O BOX 9146                                                                                                      SAN JUAN            PR         00908‐0146

   685671 JOSE M COLON COLON                          URB LEVITTOWN LAKES 1RA SEC   1088 PASEO DAMASCO                                                                  TOA BAJA            PR         00949
   249090 JOSE M COLON FUENTES                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685673 JOSE M COLON GASTANBIDE                     106 CALLE COMERCIO                                                                                                JUANA DIAZ          PR         00795
   685675 JOSE M COLON MELENDEZ                       PO BOX 8964                                                                                                       BAYAMON             PR         00960
   249091 JOSE M COLON MUNOZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249092 JOSE M COLON ORTIZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249093 JOSE M COLON PEREZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685677 JOSE M COLON POMALES                        PO BOX 424                                                                                                        NAGUABO             PR         00718
   685678 JOSE M COLON SANTIAGO                       PO BOX 767                                                                                                        VILLALBA            PR         00766
   249095 JOSE M COLON SANTOS                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249096 JOSE M COLON TORRES                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685679 JOSE M COLON VAQUER                         PO BOX 76                                                                                                         MANATI              PR         00674

   685680 JOSE M COLON Y EDNA I GOYTIA HC 01 BOX 5815                                                                                                                   JUNCOS              PR         00777‐9706
   685681 JOSE M CONCEPCION GOMEZ      PO BOX 19663                                                                                                                     SAN JUAN            PR         00910

   249097 JOSE M CONCEPCION MARTIEZ                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249098 JOSE M CONDE MALDONADO                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   685682 JOSE M CONTRERAS HERNANDEZ BOX 1295 SUITE 322                                                                                                                 SAN LORENZO         PR         00754
          JOSE M CORA BASEBALL CLUB
   249099 INC                          URB MONTE BRISAS                             12 CALLE A                                                                          GURABO              PR         00778
   685683 JOSE M CORA SANCHEZ          BOX 6108                                                                                                                         ARROYO              PR         00714
   249100 JOSE M CORDERO ACEVEDO       REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249101 JOSE M CORDERO NIEVES        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249102 JOSE M CORRADA ALMARAZ       REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249103 JOSE M CORRALES ABREU        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                       BOX 330 CALLE ELEUTERIO
   685685 JOSE M CORREA GONZALEZ       RODRIGUEZ                                                                                                                        HATILLO             PR         00659
   685686 JOSE M CORTEZ MENDEZ         HC 03 BOX 14006                                                                                                                  UTUADO              PR         00641
   685687 JOSE M COTTO HERNANDEZ       PO BOX 370                                                                                                                       AGUAS BUENA         PR         00703
   685689 JOSE M COTTO VAZQUEZ         URB VILLA ESPERANZA                          200 CALLE FRATERNIDAD                                                               CAGUAS              PR         00725
   249104 JOSE M COUTO                 REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249105 JOSE M CRESPO                REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685691 JOSE M CRESPO ORTIZ          PO BOX 1914                                                                                                                      MANATI              PR         00674
   249106 JOSE M CRUZ                  REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685693 JOSE M CRUZ BERMUDEZ         HC 3 BOX 7377                                                                                                                    COMERIO             PR         00782
          JOSE M CRUZ C/O CARMEN SOLIS
   249107 VELEZ                        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685694 JOSE M CRUZ CARLOS           HC 66 BOX 10317                                                                                                                  FAJARDO             PR         00738
   249108 JOSE M CRUZ CERVERA          REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685695 JOSE M CRUZ ELLIS            P O BOX 653                                                                                                                      AGUADILLA           PR         00605
   249109 JOSE M CRUZ GUTIERREZ        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  249110 JOSE M CRUZ LARACUENTE                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  685696 JOSE M CRUZ LOPEZ                            PO BOX 490                                                                                                     MARICAO             PR         00606
  249111 JOSE M CRUZ MATEO                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  685697 JOSE M CRUZ MELENDEZ                         BO PAJAROS                  CARR 863 KM 0 HM 0                                                                 TOA BAJA            PR         00951
  249112 JOSE M CRUZ MORALES                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249113 JOSE M CRUZ PEREZ                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249114 JOSE M CRUZ REYES                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  685700 JOSE M CRUZ RIVERA                           URB COUNTY CLUB             MO 22 CALLE 428                                                                    CAROLINA            PR         00982
  685701 JOSE M CRUZ RODRIGUEZ                        HC‐01 6617                                                                                                     SALINAS             PR         00751
         JOSE M CRUZ ROMERO HNC & J
  685702 LEGAL S                                      PO BOX 194221                                                                                                  SAN JUAN            PR         00919‐4221
  249115 JOSE M CRUZ SANTOS                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249116 JOSE M CRUZ TANON                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOSE M CRUZ/Y/O CRISTINA
  685703 PICON                                        BO SANTANA                  BUZON 878                                                                          ARECIBO             PR         00612
  685704 JOSE M CUADRA RODRIGUEZ                      1856 CALLE PESANTE PDA 25                                                                                      SAN JUAN            PR         00912
  685705 JOSE M CUBA RAMOS                            HC 01 BOX 4850              BO CIBAO LUGO                                                                      CAMUY               PR         00627
  249117 JOSE M CUEVAS REGUERO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249119 JOSE M DAVILA CRUZ                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  685706 JOSE M DAVILA DIAZ                           PO BOX 20037                                                                                                   SAN JUAN            PR         00926
  249121 JOSE M DE JESUS CINTRON                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249122 JOSE M DE JESUS CORDERO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   685708 JOSE M DE JESUS OSORIO                      HC 01 BOX 301 LOIZA BUZON 28                                                                                   LOIZA               PR         00772
   249124 JOSE M DE LA CRUZ                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   249125 JOSE M DE LA CRUZ MACHADO                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685709 JOSE M DE LA CRUZ RIVERA                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   249127 JOSE M DE LA CRUZ RODRIGUEZ REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                  2151 CALLE TENIENTE
   685711 JOSE M DE LA CRUZ SALADIN                   OCEAN PARK                  LAVERGNES                                                                          SAN JUAN            PR         00913
   685712 JOSE M DE LA TORRE ARCE                     P O BOX 1041                                                                                                   JUNCOS              PR         00777
   685713 JOSE M DE LA TORRES REYES                   CALLE RIO AMAZONA BB‐5      VALLE VERDE                                                                        BAYAMON             PR         00961
   685714 JOSE M DE LEON                              URB HERMANAS DAVILAS        O 8 CALLE 8                                                                        BAYAMON             PR         00959
   249128 JOSE M DE LOS REYES GARCIA                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249129 JOSE M DE MIGUEL BARNES                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249130 JOSE M DE PADUA                             REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685715 JOSE M DE VICTORIA RAMOS                    URB LA RAMBLA               1286 CALLE CLARISA                                                                 PONCE               PR         00720‐4038
   685716 JOSE M DEL RIO FERRER                       PO BOX 2891                                                                                                    MAYAGUEZ            PR         00680
   685717 JOSE M DEL RIO RIVERA                       HC 02 BOX 6921                                                                                                 FLORIDA             PR         00650
   685718 JOSE M DEL TORO CORES                       FJ 16 C MARIA CADILLA       LEVITTOWN                                                                          TOA BAJA            PR         00949
   249131 JOSE M DEL VALLE LANDRON                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685722 JOSE M DEL VALLE MARTINEZ                   87 CALLEJON LOS MARTINEZ                                                                                       CABO ROJO           PR         00623
   249133 JOSE M DELGADO CRUZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685724 JOSE M DELGADO GIL                          PO BOX 50969                                                                                                   TOA BAJA            PR         00950‐0969
   685725 JOSE M DELGADO LOZADA                       P . O. BOX 16                                                                                                  HUMACAO             PR         00792
   249134 JOSE M DELGADO PONCE                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685726 JOSE M DELGADO RAMOS                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249135 JOSE M DELGADO RIVERA                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685727 JOSE M DELGADO RODRGUEZ                     P O BOX 284                                                                                                    HATILLO             PR         00659
   685728 JOSE M DIAZ                                 ALT DE VEGA BAJA            C/ W AA 59                                                                         VEGA BAJA           PR         00693
   249136 JOSE M DIAZ ACOSTA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  685729 JOSE M DIAZ CASTRO                           HC 02 BOX 35530                                                                                                   CAGUAS               PR         00725
  249137 JOSE M DIAZ ESTRADA                          REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  685730 JOSE M DIAZ GARCIA                           PO BOX 1225                                                                                                       VEGA ALTA            PR         00692
  249138 JOSE M DIAZ JIMENEZ                          REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  685731 JOSE M DIAZ MORENO                           ALTURAS VILLA DEL REY   F 16 CALLE DAMASCO                                                                        CAGUAS               PR         00725
  249139 JOSE M DIAZ NEGRON                           REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  685732 JOSE M DIAZ ORTIZ                            TURABO GARDENS          Z 76 CALLE 12                                                                             CAGUAS               PR         00725
  249140 JOSE M DIAZ PEREZ                            REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  685735 JOSE M DIAZ RIVERA                           IDAMARIS GARDENS        K 23 MYRNA DELGADO                                                                        CAGUAS               PR         00725
  249142 JOSE M DIAZ STUART                           REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  249143 JOSE M DIAZ VAZQUEZ                          REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  249144 JOSE M DONATE SOTO                           REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  685736 JOSE M DONATO                                HC 01 PO BOX 17307                                                                                                HUMACAO              PR         00791
  249145 JOSE M DONES PEREZ                           REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  685737 JOSE M DUCLET BARRIOS                        EXT ALTA VISTA          JJ 22 CALLE 28                                                                            PONCE                PR         00716

   249146 JOSE M ECHEVARRIA CHARDON                   REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JOSE M ECHEVARRIA
   249147 ECHEVARRIA                                  REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   249148 JOSE M ECHEVARRIA SANTIAGO                  REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685738 JOSE M ECHEVARRIA ZAYAS                     HC 01 BOX 5068                                                                                                    JUANA DIAZ           PR         00795
          JOSE M EMMANUELLI
   249149 MONTALVO                                    REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   249150 JOSE M ENCARNACION COSME                    REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   249151 JOSE M ENCHAUTEGUI GARCIA                   REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   249152 JOSE M ESCALERA GEIGEL                      REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   249153 JOSE M ESCALERA HERNANDEZ                   REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   249154 JOSE M ESCOBAR ALICEA                       REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685740 JOSE M ESPINAL SANCHEZ                      URB VILLAS DE CANEY     B17 CALLE MADAGUA                                                                         TRUJILLO ALTO        PR         00976
   685741 JOSE M ESPINAL VAZQUEZ                      P O BOX 361771                                                                                                    SAN JUAN             PR         00729
   249155 JOSE M ESPINOSA SANCHES                     REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685742 JOSE M ESTEVES NAZARIO                      TURABO GARDENS          R 6‐40 CALLE 34                                                                           CAGUAS               PR         00725
   685743 JOSE M ESTRADA RIVERA                       PO BOX 1739                                                                                                       LAS PIEDRAS          PR         00771
   680863 JOSE M ESTREMERA TORRES                     PO BOX 195                                                                                                        VILLALBA             PR         00766
   685744 JOSE M FEBLES GONZALEZ                      VILLA DEL CARMEN        3428 CALLE TROPICAL                                                                       PONCE                PR         00716‐2259
   249157 JOSE M FEBUS MARCANO                        REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   685745 JOSE M FELICIANO CALERO                     URB RIO HONDO II AG‐8   AG 8 CALLE RIO HERRERO NORTE                                                              BAYAMON              PR         00961

   249159 JOSE M FELICIANO MALDONADO REDACTED                                 REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   249160 JOSE M FELICIANO MARTINEZ   REDACTED                                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   249161 JOSE M FELICIANO OSORIO     REDACTED                                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   249162 JOSE M FELICIANO PEREZ      REDACTED                                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   685746 JOSE M FELICIANO RIVERA     URB FLOR DEL VALLE                      602 CALLE AMAPOLA                                                                         MAYAGUEZ             PR         00680
   685748 JOSE M FERNANDEZ AYALA      BAYAMON GARDEN                          D 8 CALLE 26                                                                              BAYAMON              PR         00957
   685752 JOSE M FERNANDEZ LEAL       VISTAMAR MARINA ESTE                    H 2 A CALLE ANDALUCIA                                                                     CAROLINA             PR         00983
   685753 JOSE M FERNANDEZ MENDEZ     ALT TORRIMAR                            1010 CALLE 11                                                                             GUAYNABO             PR         00969
          JOSE M FERNANDEZ PARA JOYCE
   249163 M SANTIAGO                  REDACTED                                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  249164 JOSE M FERNANDEZ VAZQUEZ                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  249165 JOSE M FERRER BERRIOS                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685755 JOSE M FERRER TANCO                          PO BOX 360819                                                                                                 SAN JUAN           PR         00936‐0819
  685757 JOSE M FIGUEROA GUZMAN                       HC 1 BOX 6513                                                                                                 OROCOVIS           PR         00720‐9706
  685758 JOSE M FIGUEROA PEREZ                        URB SANTA MARIA E 16      CALLE 4                                                                             SAN GERMAN         PR         00683
  685759 JOSE M FIGUEROA SANTOS                       URB EL CONQUISTADOR       G17 CALLE 6                                                                         TRUJILLO ALTO      PR         00976
  685760 JOSE M FIGUEROA VAZQUEZ                      URB BALDRICH 272          CALLE COLL Y TOSTE                                                                  SAN JUAN           PR         00918
  685761 JOSE M FLORES DE JESUS                       BO VALENCIANO ABAJO       CARR 919 KM 0.7                                                                     JUNCOS             PR         00777
  249167 JOSE M FLORES GALARZA                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685762 JOSE M FLORES RODRIGUEZ                      BONEVILLE MANOR           A 6 7 CALLE 46                                                                      CAGUAS             PR         00727
  249168 JOSE M FLORES SANTIAGO                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685763 JOSE M FONTANEZ                              HC 03 BOX 36367                                                                                               CAGUAS             PR         00725
  685764 JOSE M FONTANEZ ORTIZ                        27 CALLE LUIS ALFARO                                                                                          OROCOVIS           PR         00720
  685765 JOSE M FONTANEZ REYEZ                        P O BOX 1720                                                                                                  SAN LORENZO        PR         00754
  685766 JOSE M FONTANEZ RIVERA                       HC 04 BOX 44190                                                                                               CAGUAS             PR         00725
  685767 JOSE M FRANQUIZ MATOS                        URB BAIROA                AB 09 REINA ISABEL                                                                  CAGUAS             PR         00725
  249173 JOSE M FREYRE PEREZ                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685769 JOSE M FUENTES OSORIO                        PO BOX 416                                                                                                    LOIZA              PR         00772
  685770 JOSE M FUERTES PLANAS                        PO BOX 8967                                                                                                   PONCE              PR         00732‐8967
  249174 Jose M Fullana Hernandez                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      URB MANSIONES DE SIERRA
   685771 JOSE M GARAYUA MARTINEZ                     TAINA                     61 CALLE 6                                                                          BAYAMON            PR         00956
   249176 JOSE M GARCIA CANCEL                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249177 JOSE M GARCIA CORTES                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685772 JOSE M GARCIA MARRERO                       H C 80 BOX 8957                                                                                               DORADO             PR         00646
   685773 JOSE M GARCIA MARTINEZ                      BOX 313                                                                                                       TOA ALTA           PR         00954
   249180 JOSE M GARCIA RIOS                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685775 JOSE M GARCIA VELAZQUEZ                     PO BOX 1593                                                                                                   BARCELONETA        PR         00617‐1593
   249181 JOSE M GODEN RIVERA                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685777 JOSE M GOMEZ MATOS                          COOP VILLA KENNEDY        EDIF 8 APT 178                                                                      SAN JUAN           PR         00915
   249182 JOSE M GONZALEZ                             REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   249183 JOSE M GONZALEZ CARRASCO                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JOSE M GONZALEZ
   685781 CARRASQUILLO                                RES MONTE HATILLO         EDIF 7 APT 81                                                                       SAN JUAN           PR         00924
   249184 JOSE M GONZALEZ CASTRO                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249185 JOSE M GONZALEZ COLON                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249186 JOSE M GONZALEZ DALMASY                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249187 JOSE M GONZALEZ DE JESUS                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249189 JOSE M GONZALEZ FIGUEROA                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   685783 JOSE M GONZALEZ HERNANDEZ                   HC 02 BOX 16593                                                                                               ARECIBO            PR         00612

   249190 JOSE M GONZALEZ MALDONADO REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249191 JOSE M GONZALEZ MEDINA    REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249192 JOSE M GONZALEZ OLIVIERI  REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249194 JOSE M GONZALEZ PEREZ     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   685787 JOSE M GONZALEZ RAMOS     STA JUANITA                                 GF 31 CALLE ALAMEDA                                                                 BAYAMON            PR         00956
   249196 JOSE M GONZALEZ RIVERA    REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   685789 JOSE M GONZALEZ RODRIGUEZ                   AVE WISTON CHURCHILL      138 MSC 681                                                                         SAN JUAN           PR         00926

   685790 JOSE M GONZALEZ ROMANACE                    PO BOX 211                                                                                                    PONCE              PR         00733‐1948



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  685792 JOSE M GONZALEZ ROSARIO                      PO BOX 1065                                                                                                      BARCELONETA       PR         00617
  685793 JOSE M GONZALEZ RUIZ                         PO BOX 554                                                                                                       UTUADO            PR         00611‐0554
  249197 JOSE M GONZALEZ SANTIAGO                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  249198 JOSE M GONZALEZ VAZQUEZ                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  249199 JOSE M GORDIAN RIVERA                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   685794 JOSE M GORDO GARCIA                         ALT DE PIEDRAS BLANCAS   7 CALLE RAMON MURGA BOX 26                                                              GUAYNABO          PR         00971
          JOSE M GUADARRAMA
   685796 MONTESINO                                   RR 01 BOX 13404                                                                                                  TOA ALTA          PR         00953

   249200 JOSE M GUADARRAMA ROSADO                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685798 JOSE M GUEVAREZ PEREZ                       URB GUARICO              G28 CALLE 3                                                                             VEGA BAJA         PR         00693
   685799 JOSE M GUTIERREZ PAZ                        PO BOX183                                                                                                        RIO GRANDE        PR         00745
   249201 JOSE M GUTIERREZ SANTIAGO                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685801 JOSE M GUZMAN MERCED                        HC 01 BOX 5939                                                                                                   GUAYNABO          PR         00971
   685802 JOSE M GUZMAN QUILES                        URB SAN PEDRO 63         CALLE CRISTOBAL COLON                                                                   TOA BAJA          PR         00949
   249202 JOSE M GUZMAN RENTAS                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249203 JOSE M HERNANDEZ COLON                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249204 JOSE M HERNANDEZ CUEVAS                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685804 JOSE M HERNANDEZ DE LEON                    HC 4 BOX 4886                                                                                                    HUMACAO           PR         00791‐9513
          JOSE M HERNANDEZ E IDALIA
   685550 GARCIA                                      P O BOX 988                                                                                                      LAS PIEDRAS       PR         00771
   685806 JOSE M HERNANDEZ GARCIA                     12‐67 CALLE ALFONSO                                                                                              PONCE             PR         00716‐8032
   249205 JOSE M HERNANDEZ IRIZARRY                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOSE M HERNANDEZ
   685809 MALDONADO                                   LAGOS DE PLATA           O 15 CALLE 13                                                                           LEVITTOWN         PR         00949

   685810 JOSE M HERNANDEZ MERCADO                    PARCELAS PEREZ           7 A CALLE D SANTANA                                                                     ARECIBO           PR         00612

   685812 JOSE M HERNANDEZ RODRIGUEZ P O BOX 6761                                                                                                                      CAGUAS            PR         00726‐6761

   249206 JOSE M HERNANDEZ SANABRIA                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   249207 JOSE M HERRERO HERNANDEZ                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249208 JOSE M HIRALDO RIVERA                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   249209 JOSE M HUERTAS MONTESINOS                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685817 JOSE M IBARRA GARCIA                        URB RIVERVIEW            AA 7 CALLE 25                                                                           BAYAMON           PR         00961
   249210 JOSE M IGNACIO PERALTA                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249213 JOSE M IRIZARRY IRIZARRY                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249214 JOSE M IRIZARRY ROMAN                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685818 JOSE M IRIZARRY TORRES                      PO BOX 1111                                                                                                      VILLALBA          PR         00766‐1111
          JOSE M IZQUIERDO
   685820 ENCARNACION                                 URB EL VIGIA             27 CALLE STA ANASTASIA                                                                  SAN JUAN          PR         00926
   249215 JOSE M JIMENEZ                              REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249216 JOSE M JIMENEZ CINTRON                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249217 JOSE M JIMENEZ CONDE                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249218 JOSE M JIMENEZ GOMEZ                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685821 JOSE M JIMENEZ OQUENDO                      PMB 342 BOX 3080                                                                                                 GURABO            PR         00778
   685822 JOSE M JIMENEZ ORTIZ                        BOX 835                                                                                                          CANOVANAS         PR         00729
   249221 JOSE M JUAN ROJAS                           REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249222 JOSE M JUARBE ALICEA                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685824 JOSE M JUSINO                               PO BOX 604                                                                                                       LAJAS             PR         00667



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                                                      1502 B COND BAYOLA
   685551 JOSE M LA TORRE RAMOS                       APARTMENT                                                                                                        SAN JUAN            PR         00908
   685826 JOSE M LABOY                                PO BOX 363288                                                                                                    SAN JUAN            PR         00916‐3288
   249223 JOSE M LABOY MUNIZ                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   685827 JOSE M LACEN WALKER                         36 VILLA KENNEDY               APT 553                                                                           SAN JUAN            PR         00915
   685828 JOSE M LANDRON VILLAMIL                     275 CALLE LARRINAGA                                                                                              SAN JUAN            PR         00918‐4018
   685829 JOSE M LATALLADI                            BOX 440                                                                                                          PATILLAS            PR         00723
   249225 JOSE M LAZU NIEVES                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   685832 JOSE M LEON                                 38 D CALLE JADE                                                                                                  CIDRA               PR         00739
   685833 JOSE M LEON GONZALEZ                        HC 02 BOX 16809                                                                                                  ARECIBO             PR         00612
   685834 JOSE M LEON MERCADO                         URB JARDINES II                E24 CALLE GARDENIA                                                                CAYEY               PR         00736
   685835 JOSE M LIZARDI O'NEILL                      PO BOX 753                                                                                                       GUAYNABO            PR         00970
   249226 JOSE M LOPEZ                                REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   685840 JOSE M LOPEZ BERRIOS                        PMB 311                        P O BOX 5103                                                                      CABO ROJO           PR         00623
   249227 JOSE M LOPEZ BONILLA                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249228 JOSE M LOPEZ CABALLERO                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249229 JOSE M LOPEZ COLLAZO                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249230 JOSE M LOPEZ ESTRADA                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249231 JOSE M LOPEZ FELICIANO                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   685841 JOSE M LOPEZ GINEL                          HC 1 BOX 6551                                                                                                    GUAYANILLA          PR         00656
   685842 JOSE M LOPEZ LOPEZ                          VILLAS DE SAN AGUSTIN          Q 4 CALLE 12                                                                      BAYAMON             PR         00959
   249232 JOSE M LOPEZ MARTINEZ                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249233 JOSE M LOPEZ MEDINA                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   685844 JOSE M LOPEZ SNOW                           URB SAN GERARDO                1739 CALLE COLORADO                                                               SAN JUAN            PR         00926
   249234 JOSE M LOPEZ SOTO                           REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   685845 JOSE M LOPEZ TORO                           PO BOX 866                                                                                                       CABO ROJO           PR         00623 0866
   249235 JOSE M LOPEZ TORRES                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   680864 JOSE M LOPEZ VELEZ                          PO BOX 342                                                                                                       SANTA ISABEL        PR         00757
   249236 JOSE M LOZADA BRUNO                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249237 JOSE M LUCENA                               REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249238 JOSE M LUGO MALBERT                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249239 JOSE M LUGO QUESADA                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   685848 JOSE M LUNA FIGUEROA                        PO BOX 1541                                                                                                      COAMO               PR         00769
   685849 JOSE M MACHADO COSME                        RR 2 BOX 6130                                                                                                    CIDRA               PR         00739
   685850 JOSE M MADERA PEREIRA                       URB CAMINO DEL MAR             7040 VIA PLAYERA                                                                  TOA BAJA            PR         00949
   249240 JOSE M MALAVE FIGUEROA                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249241 JOSE M MALAVE RODRIGUEZ                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   249242 JOSE M MALDONADO BURGOS                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   685851 JOSE M MALDONADO CORTES                     VILLA DEL PARANA               S 2‐4 CALLE PARANA                                                                SAN JUAN            PR         00926
   249243 JOSE M MALDONADO DIAZ                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   685852 JOSE M MALDONADO PEREZ                      1COND. ROLLING HILLS APT 118                                                                                     CAROLINA            PR         00987
   685854 JOSE M MALONE FIGUEROA                      HC 03 BOX 28500                                                                                                  SAN SEBASTIAN       PR         00685
   685855 JOSE M MALVET SANTIAGO                      URB VILLAMAR B 3               CALLE JONICO                                                                      GUAYAMA             PR         00784‐5979
   685856 JOSE M MANGUAL CUILBE                       URB LOS CAOBOS                 2325 CALLE TABONUCO                                                               PONCE               PR         00731
   249245 JOSE M MARCOS ABREU                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249246 JOSE M MARIANI VAZQUEZ                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   685858 JOSE M MARICHAL GOMEZ                       761 CALLE LOS ANGELES                                                                                            SAN JUAN            PR         00909
   685860 JOSE M MARIN RAMOS                          E 16 URB JESUS M LAGO                                                                                            UTUADO              PR         00641
   249247 JOSE M MARQUEZ SANCHEZ                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   685861 JOSE M MARRERO                              HC 2 BOX 4198                                                                                                    LAS PIEDRAS         PR         00771
   249248 JOSE M MARRERO FOURNIER                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  249249 JOSE M MARRERO GERENA                        REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  685862 JOSE M MARRERO LANDRON                       HC 5 BOX 11198                                                                                                          COROZAL               PR         00783
  685863 JOSE M MARRERO MARRERO                       URB MARIA DEL CARMEN        C 1 CALLE 1                                                                                 COROZAL               PR         00783
                                                      70 COND BALCONES DE MONTE
   685864 JOSE M MARRERO PEREZ                        REAL                                                  5504                                                              CAROLINA              PR         00987‐2292
   249250 JOSE M MARRERO RIVERA                       REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   249251 JOSE M MARTE ORTIZ                          REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   685865 JOSE M MARTES ROSARIO                       BO CIALITOS                 HC 02 BOX 8610                                                                              CIALES                PR         00638
   685866 JOSE M MARTINEZ                             P O BOX 11855                                                                                                           SAN JUAN              PR         00910‐4225
   685867 JOSE M MARTINEZ ALSINA                      HC 44 BOX 12765                                                                                                         CAYEY                 PR         00736
   249252 JOSE M MARTINEZ ALVARADO                    REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   249253 JOSE M MARTINEZ CORREA                      REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   685868 JOSE M MARTINEZ CRUZ                        URB JARDINES FAGOT          J 6 CALLE 10                                                                                PONCE                 PR         00731
   249254 JOSE M MARTINEZ GALVES                      REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   685869 JOSE M MARTINEZ MERCADO                     887 CALLE JARDIN                                                                                                        HATILLO               PR         00659
   249255 JOSE M MARTINEZ MORALES                     REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   685870 JOSE M MARTINEZ QUILES                      PO BOX 408                                                                                                              SAINT JUST            PR         00978
   685871 JOSE M MARTINEZ RAMOS                       HC05 BOX 55228‐9214         SECTOR BUENA VISTA                                                                          CAGUAS                PR         00625
   685874 JOSE M MARTINEZ RIVERA                      VILLAS DEL PARQUE           APTO 11 A                                                                                   SAN JUAN              PR         00909
   249256 JOSE M MARTINEZ ROSADO                      REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   685877 JOSE M MARTINEZ SANTANA                     PO BOX 148                                                                                                              LAJAS                 PR         00667‐0148
   249257 JOSE M MARTINEZ SOSTRE                      REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   249258 JOSE M MARTINEZ TORRES                      REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
          JOSE M MARTINEZ TORRES
   685878 MARTINES AUTO PAR                           39 CALLE COMERCIO                                                                                                       JUANA DIAZ            PR         00795
   249259 JOSE M MARTINO REY                          REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   249260 JOSE M MARZAN MERCADO                       REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   685880 JOSE M MATHEU RAMOS                         HACIENDA SAN JOSE 570       VIA DEL GUAYABAL                                                                            CAGUAS                PR         00727‐3063
   249262 JOSE M MATIAS REYES                         REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   249263 JOSE M MAYSONET VALLE                       REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   685881 JOSE M MCLACT MARTINEZ                      HC 01 BOX 7456                                                                                                          VIEQUEZ               PR         00765
   249264 JOSE M MEDINA AROCHO                        REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   249265 JOSE M MEDINA CARRION                       REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   685882 JOSE M MEDINA CORDERO                       VILLA PALMERA               378 CALLE BUENA VENTURA                                                                     SAN JUAN              PR         00915
   685883 JOSE M MEDINA ROSADO                        COND VISTA VERDE            802 ALTAMESA                                                                                SAN JUAN              PR         00921
   685884 JOSE M MEDINA SOTOMAYOR                     BOX 231                                                                                                                 SAN SEBASTIAN         PR         00685
   685885 JOSE M MEJIAS MELENDEZ                      URB VALLE DE TIERRA         NUEVAS 85 CALLE CAOBA                                                                       MANATI                PR         00674
   249266 JOSE M MEJIAS RIVERA                        REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   249267 JOSE M MELENDEZ MALDONADO REDACTED                                      REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   249268 JOSE M MELENDEZ ORTIZ     REDACTED                                      REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   685887 JOSE M MELON              ALT DE ISABELA                                EDIF 14 APT 73                                                                              ISABELA               PR         00662
   249269 JOSE M MENDEZ             REDACTED                                      REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   249271 JOSE M MENDEZ GIBOYEAUX   REDACTED                                      REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   249272 JOSE M MENDEZ HERNANDEZ   REDACTED                                      REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   685889 JOSE M MENDEZ LOPEZ       HC 2 BOX 6259                                                                                                                             ADJUNTAS              PR         00601
   249273 JOSE M MENDEZ PAGAN       REDACTED                                      REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   249274 JOSE M MENDEZ PURCELL     REDACTED                                      REDACTED                         REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
          JOSE M MERCADO
   685552 CARRASQUILLO              PO BOX 589                                                                                                                                FAJARDO               PR         00738
   685891 JOSE M MERCED QUILES      EXT VILLA PARAISO                             1907 CALLE TEMOR                                                                            PONCE                 PR         00728 3636
   685892 JOSE M MIRANDA            HILL BROTHERS                                 616 CALLE 15                                                                                SAN JUAN              PR         00923
   685893 JOSE M MIRANDA GARCIA     URB SANTIAGO IGLESIAS                         1813 CALLE BELEN BURGOS                                                                     SAN JUAN              PR         00921



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  685894 JOSE M MIRANDA MELENDEZ                      PO BOX 122                                                                                                         CAYEY             PR         00737
  685895 JOSE M MIRANDA NUNEZ                         URB HILL BROTHERS         616 CALLE 15                                                                             SAN JUAN          PR         00924
  685898 JOSE M MOGOLLON                              HC 866 BOX 5326                                                                                                    FAJARDO           PR         00738
  249276 JOSE M MOJICA RIVERA                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  249277 JOSE M MOLINA ADORNO                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  685899 JOSE M MOLINA MARTINEZ                       PO BOX 3655                                                                                                        AGUADILLA         PR         00605
  249279 JOSE M MOLINA ROSES                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  685900 JOSE M MONCION VALDEZ                        JARDINES DE BERWIND       EDIF Q APT 172                                                                           SAN JUAN          PR         00924
  249280 JOSE M MONGE CIRINO                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  685901 JOSE M MONGE VAZQUEZ                         BO STA ROSA I             62 PARCELA HUERTAS                                                                       GUAYNABO          PR         00971
  249281 JOSE M MONTERO MARTINEZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  685902 JOSE M MONTERO MONTERO                       1507 AVE PONCE DE LEON                                                                                             SAN JUAN          PR         00909
  685903 JOSE M MORALES                               COND LAS CAMELIAS         419 APT 811                                                                              SAN JUAN          PR         00926

   249282 JOSE M MORALES BETANCOURT                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685904 JOSE M MORALES CLAUDIO                      HC 01 BOX 5205                                                                                                     GUAYNABO          PR         00970
   685905 JOSE M MORALES GARCIA                       HC 4 BOX 4838                                                                                                      HUMACAO           PR         00791‐9460
   249284 JOSE M MORALES GONZALEZ                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249285 JOSE M MORALES LORA                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685906 JOSE M MORALES MATOS                        VILLA ANDALUCIA           D 36 CALLE JUNKERA                                                                       SAN JUAN          PR         00926
          JOSE M MORALES NIEVES/A
   685907 SERVICE STATION                             HC 73 BOX 4305                                                                                                     NARANJITO         PR         00719‐9602
   249286 JOSE M MORALES ORTIZ                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249287 JOSE M MORALES QUINONES                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249288 JOSE M MORALES REYES                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   685908 JOSE M MORALES RODRIGUEZ                    BO SANTANA LOS LLANOS     D7 CALLE 8                                                                               ARECIBO           PR         00612
   685909 JOSE M MORALES SOSTRE                       COLINAS DEL MARQUEZ       D 21 CALLE MERCED                                                                        VEGA BAJA         PR         00693
   249289 JOSE M MOREIRA PENA                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685911 JOSE M MORENO BARRETO                       BO ZANJA                  HC 05 BOX 2571                                                                           CAMUY             PR         00627
   249290 JOSE M MORILLO LIMARDO                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685914 JOSE M MULLER GONZALEZ                      PO BOX 587                                                                                                         BOQUERON          PR         00622
   249291 JOSE M MUNIZ ABELENDA                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249293 JOSE M MUNOZ ALVERIO                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249294 JOSE M MUNOZ BATIZ                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249295 JOSE M MUNOZ MUNOZ                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249296 JOSE M NARVAEZ COTTO                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685915 JOSE M NARVAEZ ROLON                        PO BOX 463                                                                                                         MOROVIS           PR         00687
   249298 JOSE M NATER VAZQUEZ                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOSE M NAVAS MARIN H/N/C
   685917 NAVAS ASOCIADOS                             PO BOX 9024275                                                                                                     SAN JUAN          PR         00902‐4275
   685553 JOSE M NAZARIO LOPEZ                        76 CALLE 13 DE MARZO                                                                                               GUANICA           PR         00653
                                                                                2 D‐8 CALLE ESC LINO PADRON
   685918 JOSE M NEGRON                               URBANIZACION VILLA REAL   RIVERA                                                                                   VEGA BAJA         PR         7878554998
   685919 JOSE M NEGRON PEREIRA                       URB CAPARRA TERRACE       1406 CALLE 8 50                                                                          SAN JUAN          PR         00921
   249299 JOSE M NEGRON ROJAS                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249300 JOSE M NEGRON SANTOS                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685920 JOSE M NEGRON SOTO                          HC 2 BOX 6202                                                                                                      MOROVIS           PR         00687
   685923 JOSE M NIEVES ARROCHO                       HC 05 BOX 10587                                                                                                    MOCA              PR         00676
   249301 JOSE M NIEVES BARRETO                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249302 JOSE M NIEVES CALDERON                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249303 JOSE M NIEVES CASTRO                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   685925 JOSE M NIEVES HERNANDEZ                     210 HACIENDAS DE CAMUY                                                                                             CAMUY             PR         00627



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MML ID               NAME                                       ADDRESS 1                ADDRESS 2                ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  249304 JOSE M NIEVES MARTINEZ                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249305 JOSE M NIEVES RIVERA                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249307 JOSE M NIEVES ROMAN                          REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249308 JOSE M NIEVES SANTOS                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  685928 JOSE M NIEVES SOTO                           P O BOX 1614                                                                                                HATILLO             PR         00659
  685929 JOSE M NIEVES VAZQUEZ                        PO BOX 1143                                                                                                 GURABO              PR         00778
  249309 JOSE M NIEVES VELÁZQUEZ                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  685930 JOSE M NOLLA MORELL                          P O BOX 207                                                                                                 ARECIBO             PR         00613
  249310 JOSE M NOUE CINTRON                          REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  685931 JOSE M NOVOA GONZALEZ                        PO BOX 987                                                                                                  PE¥UELAS            PR         00624‐0987
  249311 JOSE M NUNEZ                                 REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249312 JOSE M NUNEZ COLON                           REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249313 JOSE M NUNEZ TRIAS                           REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249314 JOSE M OCASIO CASTANON                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                              206 CALLE JUAN MERCADO
   685932 JOSE M OCASIO MALDONADO                     TORRECILLAS             MORALES                                                                             MOROVIS             PR         00687
   249315 JOSE M OCASIO MARTINEZ                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249316 JOSE M OGRINSONI PACHECO                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685934 JOSE M OJEDA CASIANO                        PO BOX 2926                                                                                                 SAN GERMAN          PR         00683
   685935 JOSE M OLIVERAS CALDERON                    URB COUNTRY CLUB        JD 4 CALLE 230                                                                      CAROLINA            PR         00982
   685936 JOSE M OLIVERAS COLON                       HC 2 BOX 7988                                                                                               JAYUYA              PR         00664
   685937 JOSE M OLIVIERI RESTO                       A 4 URB VILLA ALBA                                                                                          VILLALBA            PR         00766
   685938 JOSE M OLIVO DE JESUS                       P O BOX 1186                                                                                                COROZAL             PR         00783

   685939 JOSE M OQUENDO DE LA ROSA                   HC 3 BOX 11226                                                                                              UTUADO              PR         00641
   249317 JOSE M OQUENDO GONZALEZ                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249318 JOSE M ORTA RODRIGUEZ                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685941 JOSE M ORTEGA CRUZ                          HC 80 BOX 8391                                                                                              DORADO              PR         00646
   685942 JOSE M ORTIZ                                HC 01 BOX 5080                                                                                              OROCOVIS            PR         00720
   249320 JOSE M ORTIZ ASTACIO                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685943 JOSE M ORTIZ BAERGA                         URB VENUS GARDENS       671 CALLE CANCER                                                                    SAN JUAN            PR         00926
   685946 JOSE M ORTIZ CORDERO                        URB JAIME C RODRIGUEZ   T 4 CALLE 11                                                                        YABUCOA             PR         00767
   685947 JOSE M ORTIZ COTTE                          URB REXVILLE            Z A 11 CALLE 21                                                                     BAYAMON             PR         00956
   685948 JOSE M ORTIZ KUILAN                         HC 01 BOX 9118                                                                                              TOA BAJA            PR         00949
   685950 JOSE M ORTIZ MORALES                        HC 01 BOX 17077                                                                                             HUMACAO             PR         00791
   685951 JOSE M ORTIZ PAGAN                          HC 03 BOX 12111                                                                                             JUANA DIAZ          PR         00795
   685952 JOSE M ORTIZ PEREZ                          P O BOX 656                                                                                                 SANTA ISABEL        PR         00757
   249321 JOSE M ORTIZ PRADO                          REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249322 JOSE M ORTIZ RODRIGUEZ                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249323 JOSE M OTERO CRUZ                           REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685954 JOSE M OTERO LUGO                           HC 2 BOX 8894                                                                                               CIALES              PR         00638
   249327 JOSE M OTERO VEGUILLA                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685955 JOSE M PABON BAEZ                           H C 01 BOX 5782                                                                                             SAN GERMAN          PR         00683
   249329 JOSE M PACHECO MADERA                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249330 JOSE M PACHECO TORRES                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249331 JOSE M PADILLA NEGRON                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685957 JOSE M PADILLA ORTIZ                        URB REPARTO FLAMINGO    C 19 CALLE DEL VIVI                                                                 BAYAMON             PR         00959
   249332 JOSE M PADILLA SLMO                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249333 JOSE M PAGAN BONILLA                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685958 JOSE M PAGAN CORTES                         P O BOX 1063                                                                                                BARCELONETA         PR         00617‐1063
   249334 JOSE M PAGAN CRUZ                           REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249335 JOSE M PAGAN PAGAN                          REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   685959 JOSE M PAGAN RAIMUNDI                       P O BOX 2062                                                                                                VEGA BAJA           PR         00694



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  249336 JOSE M PALOU ABASOLO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  249337 JOSE M PASCUAL FERRER                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  249339 JOSE M PEGUERO VEGA                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  249340 JOSE M PELLICIER CAMACHO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685961 JOSE M PELLICIER PAGAN                       PO BOX 786                                                                                                      YAUCO              PR         00698
  249341 JOSE M PENA                                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  249343 JOSE M PERDOMO TORRES                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  249344 JOSE M PEREIRA PEDRAZA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685963 JOSE M PEREZ ACOSTA                          BOX 1135                                                                                                        BOQUERON           PR         00622
  249345 JOSE M PEREZ ALVAREZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685964 JOSE M PEREZ ARCE                            HC 01 BOX 4296                                                                                                  ADJUNTAS           PR         00601
  685965 JOSE M PEREZ ARROYO                          URB SANTA                   B 118 MARIE                                                                         SABANA GRANDE      PR         00637
  249346 JOSE M PEREZ AVILES                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  249347 JOSE M PEREZ BERMUDEZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685966 JOSE M PEREZ CARBELO                         BOX 50401                                                                                                       TOA BAJA           PR         00950‐0401
  249349 JOSE M PEREZ CASANOVA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685967 JOSE M PEREZ CURBELO                         PO BOX 192                                                                                                      SAN JUAN           PR         00902
  249350 JOSE M PEREZ DIAZ                            REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685969 JOSE M PEREZ HERNANDEZ                       P O BOX 1772                                                                                                    SAN SEBASTIAN      PR         00685
  685970 JOSE M PEREZ NEGRON                          PO BOX 519                                                                                                      VILLALBA           PR         00766
  685972 JOSE M PEREZ OLIVENCIA                       URB EL DORADO               B27 CALLE B                                                                         SAN JUAN           PR         00926‐3483
  249352 JOSE M PEREZ ORTIZ                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  249354 JOSE M PEREZ RAMOS                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  685976 JOSE M PEREZ REYES                           PO BOX 1436                                                                                                     AIBONITO           PR         00705
  685554 JOSE M PEREZ RIVERA                          PO BOX 11872                                                                                                    SAN JUAN           PR         00922
  685977 JOSE M PEREZ RIVERA                          RES MANUEL A PEREZ          EDIF C 10 APT 109                                                                   SAN JUAN           PR         00923
  685978 JOSE M PEREZ ROSA                            PO BOX 692                                                                                                      LARES              PR         00669
  685979 JOSE M PEREZ RUIZ                            P O BOX 364                                                                                                     QUEBRADILLAS       PR         00678
  685980 JOSE M PEREZ SERRANO                         URB ALT DE FLAMBOYAN        A27 CALLE 7                                                                         BAYAMON            PR         00959
  685981 JOSE M PEREZ SUAREZ                          59 BOSQUE DEL RIO                                                                                               TRUJILLO ALTO      PR         00976‐3153
  249357 JOSE M PEREZ TORRES                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  249358 JOSE M PEREZ VILLANUEVA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   685982 JOSE M PETRALANDA ARREGUI                   232 AVE ELEONOR ROOSEVELT                                                                                       SAN JUAN           PR         00907
   685983 JOSE M PIETRI RODRIGUEZ                     BOX 42                                                                                                          YAUCO              PR         00698
   249359 JOSE M PINERO FLORES                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          JOSE M PINERO Y/O CAFETERIA
   249360 CEM                                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   685984 JOSE M PIZARRO ANDRADES                     PO BOX 20463                                                                                                    SAN JUAN           PR         00928
   249361 JOSE M PIZARRO CORREA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   249362 JOSE M PIZARRO RIVERA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   249363 JOSE M PLUMEY GONZALEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   685986 JOSE M POMALES RODRIGUEZ                    PO BOX 1414                                                                                                     CANOVANAS          PR         00729
   685987 JOSE M PONCE ORTIZ                          BO JOBOS                    SECTOR LA SIERRA BOX 6                                                              ISABELA            PR         00662
   249364 JOSE M PORTELA SUAREZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   685988 JOSE M PORTELA VALS                         URB SAN DEMETRIO 751        CALLE SARDINA                                                                       VEGA BAJA          PR         00653
   249366 JOSE M POU PACHECO                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   249367 JOSE M QUINONES                             REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   249369 JOSE M QUINONES OLMEDA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   249370 JOSE M QUINONES ROSADO                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   685991 JOSE M RAMIREZ                              P O BOX 1688                                                                                                    MAYAGUEZ           PR         00681
   685992 JOSE M RAMIREZ CASELLAS                     65 SANTIAGO                                                                                                     GURABO             PR         00778
   685555 JOSE M RAMIREZ CRISPIN                      URB VIRGINIA VALLEY         115 VALLE DEL TURABO                                                                JUNCOS             PR         00777



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MML ID              NAME                                          ADDRESS 1                   ADDRESS 2                        ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  249371 JOSE M RAMIREZ HERNANDEZ                      REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  249374 JOSE M RAMIREZ VELEZ                          REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  249375 JOSE M RAMOS ALEJANDRO                        REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  685993 JOSE M RAMOS CALZADA                          URB LA PROVIDENCIA          D 5 CALLE 1                                                                                 TOA ALTA          PR         00953
  249376 JOSE M RAMOS DEL VALLE                        REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  685994 JOSE M RAMOS DIAZ                             EL RETIRO                   C 2 CALLE 2                                                                                 QUEBRADILLA       PR         00678
  249377 JOSE M RAMOS GARCIA                           REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  249378 JOSE M RAMOS MORALES                          REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  685996 JOSE M RAMOS QUINTERO                         12 CALLE IDEAL                                                                                                          PONCE             PR         00731
  685997 JOSE M RAMOS RAMOS                            A 19 JARD ESPERANZA                                                                                                     NAGUABO           PR         00718
  249379 JOSE M RAMOS RODRIGUEZ                        REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  685998 JOSE M RAMOS SANTIAGO                         URB VENUS GARDEN            722 CALLE CUPIDO                                                                            SAN JUAN          PR         00926
  685999 JOSE M RAMOS VAZQUEZ                          VILLA PALMERAS              250 CALLE COTTON                                                                            SANTURCE          PR         00915
  686000 JOSE M RAMOS VELAZQUEZ                        PO BOX 9084                                                                                                             CAGUAS            PR         00726
         JOSE M REGUEJO Y MARIA DEL C
  249380 MENDEZ                                        REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  249381 JOSE M RENOVALES CRUZ                         REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  249382 JOSE M RENTAS MELENDEZ                        REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  686001 JOSE M RENTAS SANTIAGO                        RES LA CEIBA                28 APT 244                                                                                  PONCE             PR         00731
  249383 JOSE M REPOLLET PAGAN                         REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  686002 JOSE M RESTO BURGOS                           PO BOX 787                                                                                                              GUAYNABO          PR         00970

   686003 JOSE M REYES                                 COND JARDINES DE VALENCIA   631 CALLE PEREIRA LEAL APT 814                                                              SAN JUAN          PR         00923
   686004 JOSE M REYES BARRETO                         PO BOX 1557                                                                                                             OROCOVIS          PR         00720
   249386 JOSE M REYES BERRIOS                         REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249387 JOSE M REYES KIANES                          REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249388 JOSE M REYES LOPEZ                           REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249389 JOSE M REYES MOJICA                          REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   686006 JOSE M RIBOT                                 URB MONTE VISTA             G 53 CALLE 6                                                                                FAJARDO           PR         00738
   680862 JOSE M RIOS AMADOR                           URB VILLA RITA              F 30 CALLE 3                                                                                SAN SEBASTIAN     PR         00685
   249391 JOSE M RIOS CESTERO                          REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249392 JOSE M RIOS FERREIRA                         REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249393 JOSE M RIOS GONZALEZ                         REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   686008 JOSE M RIOS MONTANEZ                         PO BOX 844                                                                                                              HATILLO           PR         00659
   249394 JOSE M RIOS TORRES                           REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   686009 JOSE M RIOS VARGAS                           HC 33 BOX 5204                                                                                                          DORADO            PR         00646
   249395 JOSE M RIVAS SEPULVEDA                       REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249396 JOSE M RIVERA AGUIRRE                        REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   686011 JOSE M RIVERA ALBINO                         URB BARAMAYA 54             CALLE GUARIONEX                                                                             PONCE             PR         00731
   686012 JOSE M RIVERA ALVAREZ                        RR 2 BOX 8305                                                                                                           TOA ALTA          PR         00953

          JOSE M RIVERA
   686013 ARROYO(CAROLINA IMAGING )                    PO BOX 191058                                                                                                           SAN JUAN          PR         00919 1058
                                                                                   CALLE AZABACH 905 EDIF 2 APT
   686015 JOSE M RIVERA BARRETO                        COND LAS TERESAS            3H                                                                                          SAN JUAN          PR         00924‐3244
   249397 JOSE M RIVERA BERG                           REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249398 JOSE M RIVERA CABRERA                        REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249399 JOSE M RIVERA CASANAS                        REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249400 JOSE M RIVERA COLON                          REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249402 JOSE M RIVERA FELICIANO                      REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   249403 JOSE M RIVERA FERNANDEZ                      REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   686018 JOSE M RIVERA FUENTES                        COM MATA DE PLATANO         SOLAR L 14                                                                                  LUQUILLO          PR         00773
   249404 JOSE M RIVERA GONZALEZ                       REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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   686019 JOSE M RIVERA GREGORY        232 AVE ELEONOR ROOSEVELT                                                                                                 SAN JUAN            PR         00907
   686020 JOSE M RIVERA HERNANDEZ      60448 SECT LA PICA                                                                                                        CAMUY               PR         00627
   686021 JOSE M RIVERA ILARRAZA       BO CANDELARIA                         60 CALLE UNION                                                                      TOA BAJA            PR         00951
   249405 JOSE M RIVERA LEBRON         REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686023 JOSE M RIVERA LOPEZ          HC 02 BOX 8999                                                                                                            CAYEY               PR         00736
   686024 JOSE M RIVERA LUCIANO        P O BOX 2358                                                                                                              ARECIBO             PR         00613
   686025 JOSE M RIVERA MALDONADO      URB LOS RODRIGUEZ                     21 CALLE C                                                                          CAMUY               PR         00627
   249406 JOSE M RIVERA MARTINEZ       REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249408 JOSE M RIVERA MELENDEZ       REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249411 JOSE M RIVERA NUNEZ          REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249412 JOSE M RIVERA ORTIZ          REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249413 JOSE M RIVERA OTERO          REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686029 JOSE M RIVERA QUILES         HC 02 BOX 5025                                                                                                            COMERIO             PR         00782
   249414 JOSE M RIVERA RIVERA         REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JOSE M RIVERA RIVERA/WANDA I
   249415 RIVERA                       REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249416 JOSE M RIVERA ROBLES         REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249417 JOSE M RIVERA RODRIGUEZ      REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249419 JOSE M RIVERA RUIZ           REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686032 JOSE M RIVERA SANCHEZ        URB MARBELLA                          111 CALLE C                                                                         AGUADILLA           PR         00603
   249421 JOSE M RIVERA SANTIAGO       REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249422 JOSE M RIVERA SEPULVEDA      REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686034 JOSE M RIVERA SOTO           P O BOX 7126                                                                                                              PONCE               PR         00732
   249423 JOSE M RIVERA STRINGER       REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686035 JOSE M RIVERA TAPIA          PO BOX 1400                                                                                                               VIEQUES             PR         00765
   249424 JOSE M RIVERA TORRES         REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686037 JOSE M RIVERA VAZQUEZ        HC 1 BOX 2267                                                                                                             MOROVIS             PR         00687
   249425 JOSE M ROBLES BURGOS         REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249426 JOSE M ROBLES MATHEW         REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249427 JOSE M ROBLES REYES          REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249428 JOSE M RODEIGUEZ BELLO       REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249429 JOSE M RODRIGUEZ             REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686042 JOSE M RODRIGUEZ ALICEA      PO BOX 254                                                                                                                AGUAS BUENAS        PR         00703 0254
   686043 JOSE M RODRIGUEZ ALSINA      HC 01 BOX 29030 NUM 376                                                                                                   CAGUAS              PR         00725
   686044 JOSE M RODRIGUEZ ARRIETA     URB VILLAS DE CARRAIZO                RR 7 BOX 410                                                                        SAN JUAN            PR         00926
   249431 JOSE M RODRIGUEZ ARROYO      REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249432 JOSE M RODRIGUEZ BAEZ        REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686045 JOSE M RODRIGUEZ BARRERA     URB LAS COLINAS                       A 24                                                                                COAMO               PR         00769
   249433 JOSE M RODRIGUEZ BARRETO     REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249434 JOSE M RODRIGUEZ BENITEZ     REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686046 JOSE M RODRIGUEZ CASTILLO    10199 CUH STATION                                                                                                         HUMACAO             PR         00792
   249435 JOSE M RODRIGUEZ CEDENO      REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686047 JOSE M RODRIGUEZ CERDA       VILLA NEVAREZ                         1082 CALLE 8                                                                        SAN JUAN            PR         00927‐5219
   249437 JOSE M RODRIGUEZ COLON       REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249438 JOSE M RODRIGUEZ CORIANO     REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249439 JOSE M RODRIGUEZ CORNIER     REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   249440 JOSE M RODRIGUEZ ECHEVARRIA REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   249441 JOSE M RODRIGUEZ FIGUEROA                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   249442 JOSE M RODRIGUEZ GOMEZ                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED




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   249443 JOSE M RODRIGUEZ HERNANDEZ REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686056 JOSE M RODRIGUEZ LOPEZ     PO BOX 1674                                                                                                                       YAUCO               PR           00698
          JOSE M RODRIGUEZ
   686058 MALDONADO                  PO BOX 1295                                                                                                                       SAN GERMAN          PR           00683
   249445 JOSE M RODRIGUEZ MEDINA    REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   686062 JOSE M RODRIGUEZ MELENDEZ                   VILLA FONTANA              3K NI VIA 63                                                                          CAROLINA            PR           00983
   686063 JOSE M RODRIGUEZ NIEVES                     HC 1 BOX 7306                                                                                                    SALINAS             PR           00751
   249446 JOSE M RODRIGUEZ PENA                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686064 JOSE M RODRIGUEZ PEREZ                      PO BOX 390                                                                                                       CAMUY               PR           00627
   249447 JOSE M RODRIGUEZ RIVERA                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   686068 JOSE M RODRIGUEZ RODRIGUEZ BO BARAHONA                                 CARR 633 KM 4 HM 4                                                                    MOROVIS             PR           00687

   686072 JOSE M RODRIGUEZ SANTIAGO                   URB COUNTRY CLUB           MP CALLE 426                                                                          CAROLINA            PR           00982
          JOSE M RODRIGUEZ SEDA &
   686073 DIXON CANCEL                                MERCADO                    P O BOX 3151 MARINA STATION                                                           MAYAGUEZ            PR           00681
   249448 JOSE M RODRIGUEZ TORRES                     REDACTED                   REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   686074 JOSE M RODRIGUEZ URBISTON REP MARQUEZ                                  B 18 CALLE 1                                                                          ARECIBO             PR           00612
   249451 JOSE M RODRIGUEZ VAZQUEZ   REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686076 JOSE M RODRIGUEZ VELEZ     P O BOX 2961                                                                                                                      GUAYAMA             PR           00784
   686077 JOSE M RODRIGUEZ WALKER    JARDINES DE CANOVANAS                       F 11 PEPITA ALBANDOZ                                                                  CANOVANAS           PR           00729
          JOSE M RODRIGUEZ Y MARÍA I
   249453 GONZALEZ                   REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686078 JOSE M ROLDAN DE JESUS     P O BOX 9703                                                                                                                      CAROLINA            PR           00988‐9703
   249454 JOSE M ROLDAN RODRIGUEZ    REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686080 JOSE M ROLON NOQUERAS      RR 4 BOX 1643                                                                                                                     BAYAMON             PR           00956
          JOSE M ROMAN CONSTRUCTION
   686081 INC                        URB VICTORIA HEIGHTS                        J 3 CALLE 3                                                                           BAYAMON             PR           00959
   249455 JOSE M ROMAN LUCIANO       REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686083 JOSE M ROMAN NEGRON        HC 1 BOX 6078                                                                                                                     JUANA DIAZ          PR           00795
   249456 JOSE M ROMAN RODRIGUEZ     REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686085 JOSE M ROMAN ROMAN         HC 3 BOX 9709                                                                                                                     LARES               PR           00669

   686086 JOSE M ROMERO BAUZO                         URB QUINTAS DE CANOVANAS   882 CALLE TOPACIO                                                                     CANOVANAS           PR           00729‐2912
   249457 JOSE M ROMERO DIAZ                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249458 JOSE M ROMERO ROMAN                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686087 JOSE M ROMERO VAZQUEZ                       400 COND LA CEIBA 510                                                                                            PONCE               PR           00717
   686088 JOSE M ROSA MELENDEZ                        BOX DAGUAO BZ 7915                                                                                               NAGUABO             PR           00718
   686089 JOSE M ROSA RIVERA                          VILLA CALIZ 1              14 CALLE VERDAD                                                                       CAGUAS              PR           00725
   249460 JOSE M ROSA TORRES                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686090 JOSE M ROSADO RODRIGUEZ                     URB RIO CANAS              J 9 CALLE 10                                                                          PONCE               PR           00731
   686091 JOSE M ROSADO SANTIAGO                      FERNANDEZ JUNCOS STATION   PO BOX 19175                                                                          SAN JUAN            PR           00910
   249461 JOSE M ROSADO SEIJO                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686092 JOSE M ROSARIO MANTA¥EZ                     PO BOX 678                                                                                                       ARROYO              PR           00714
   686094 JOSE M ROSARIO MOJICA                       HC 01 BOX 5455                                                                                                   GUAYNABO            PR           00971
   249462 JOSE M ROSARIO RODRIGUEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249463 JOSE M ROSARIO VAZQUEZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686096 JOSE M RUIZ DELGADO                         HC 61 BOX 5405                                                                                                   TRUJILLO ALTO       PR           00976
   686098 JOSE M RUSSE ARGUELLES                      VISTA ALEGRE               1986 CALLE FORTUNA                                                                    PONCE               PR           00717
   249467 JOSE M SALA COLON                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  686099 JOSE M SALCEDO                               BO TIBES SECTOR LA ZARZA   CARR 503 KM 8 2                                                                      PONCE              PR         00731
  249468 JOSE M SALDANA ORTIZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  686100 JOSE M SAMPAYO SARRAGA                       URB ENCANTADA              6310 CALLE AVENTURA                                                                  TRUJILLO ALTO      PR         00976
  686101 JOSE M SAN MIGUEL COLON                      BO PESAS CERRO GORDO                                                                                            CIALES             PR         00638
  686102 JOSE M SANCHEZ COLON                         27 CALLE PUEBLITO                                                                                               COAMO              PR         00769
  686103 JOSE M SANCHEZ MENDEZ                        P O BOX 1278                                                                                                    MOROVIS            PR         00687
  686104 JOSE M SANCHEZ ORTIZ                         CONDOMINIO SANTA JUANA     APARTAMENTO 1406                                                                     CAGUAS             PR         00725
  249469 JOSE M SANCHEZ PEREZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  249470 JOSE M SANCHEZ RIVERA                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  249471 JOSE M SANCHEZ RODRIGUEZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  686106 JOSE M SANCHEZ RUIZ                          BO OLIMPO                  11 CALLE 1                                                                           GUAYAMA            PR         00784
  685556 JOSE M SANCHEZ SANCHEZ                       P O BOX 249                                                                                                     CAROLINA           PR         00986
  686109 JOSE M SANCHEZ VILLAFANE                     PO BOX 360339                                                                                                   SAN JUAN           PR         00936‐0339
  249473 JOSE M SANDINO GONZALEZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   249474 JOSE M SANDOVAL RODRIGUEZ                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686110 JOSE M SANTA                                P O BOX 214                                                                                                     SANTA ISABEL       PR         00757
   686111 JOSE M SANTANA LOPEZ                        VILLAS DE RIO GRANDE       G 1 CALLE SPH HERNANDEZ                                                              RIO GRANDE         PR         00745
   249475 JOSE M SANTANA ORELLANO                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249476 JOSE M SANTANA ORTIZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249477 JOSE M SANTIAGO                             REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686114 JOSE M SANTIAGO ALEQUIN                     APARTADO 501                                                                                                    MARICAO            PR         00606

   686115 JOSE M SANTIAGO BETANCOURT 150 AVE LOS PATRIOTAS 181                                                                                                        LARES              PR         00669
   686116 JOSE M SANTIAGO CALDERO    H C 71 BOX 3891                                                                                                                  NARANJITO          PR         00719
   249480 JOSE M SANTIAGO DIAZ       REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686117 JOSE M SANTIAGO FIGUEROA   FERNANDEZ JUNCOS STATION                    PO BOX 19297                                                                         SAN JUAN           PR         00910

   249481 JOSE M SANTIAGO FRANCESCHI                  REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686118 JOSE M SANTIAGO GUZMAN                      URB CAMPO ALEGRE           G‐10 LAUREL                                                                          BAYAMON            PR         00956
   686119 JOSE M SANTIAGO MARTINEZ                    URB SAN FELIPE             22CALLE 9                                                                            ARECIBO            PR         00612
   249482 JOSE M SANTIAGO MERCADO                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249483 JOSE M SANTIAGO PAGAN                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686121 JOSE M SANTIAGO RIVERA                      PO BOX 139                                                                                                      SAN LORENZO        PR         00754

   249484 JOSE M SANTIAGO RODRIGUEZ                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249486 JOSE M SANTIAGO VEGA                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249487 JOSE M SANTOS NEGRON                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686125 JOSE M SANTOS OSORIO                        HC 01 BOX 2144                                                                                                  LOIZA              PR         00772
   249488 JOSE M SANTOS SOSA                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249489 JOSE M SANTOS VAZQUEZ                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249490 JOSE M SARRO PEREZ‐MORIS                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686126 JOSE M SEDA IRIZARRY                        URB RIO PIEDRAS HEIGHTS    1696 CALLE SALVEN                                                                    SAN JUAN           PR         00926‐3120

   249491 JOSE M SEPULVEDA MARTINEZ                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686127 JOSE M SEPULVEDA RAMIREZ                    URB QUINTAS DE CUPEY       180 CALLE PICAFLOR                                                                   CABO ROJO          PR         00623
   249494 JOSE M SERRANO DELGADO                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686132 JOSE M SERRANO GONZALEZ                     HC 7 BOX 34490                                                                                                  HATILLO            PR         00659
   249496 JOSE M SERRANO TORRES                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249498 JOSE M SICARDO                              REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249499 JOSE M SIERRA AGUIAR                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686133 JOSE M SIERRA MADERA                        ESTANCIAS DEL RIO          349 CALLE CANAS                                                                      HORMIGUEROS        PR         00660
   686134 JOSE M SIERRA MARRERO                       URB MIRAFLORES             18‐40 CALLE 46                                                                       BAYAMON            PR         00957



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  249500 JOSE M SIERRA RUIZ                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  249501 JOSE M SILVA ACOSTA                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  686135 JOSE M SKERRET OSORIO                        25 A URB PH HERNANDEZ                                                                                             RIO GRANDE         PR         00745
  686136 JOSE M SOBA SANTIAGO                         PO BOX 986                                                                                                        SANTA ISABEL       PR         00757‐0986
  686137 JOSE M SOLIS ALBINO`                         PO BOX 208                                                                                                        PATILLAS           PR         00738208
  249502 JOSE M SOTO GONZALEZ                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  686138 JOSE M SOTO NIEVES                           URB FLAMBOYAN                 F3 CALLE 17                                                                         MANATI             PR         00674
  249503 JOSE M SOTO ORTIZ                            REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  249504 JOSE M SOTO RAMOS                            REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         JOSE M SOTO Y DELMA I
  249505 VELAZQUEZ                                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  686139 JOSE M SOUSS MATOS                           URB PARADISE HILLS            1648 PECOS                                                                          SAN JUAN           PR         00926
  249506 JOSE M SUAREZ MELENDEZ                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   686142 JOSE M SUAREZ PADILLA                       HC 67 BOX 13524 BO MINILLAS                                                                                       BAYAMON            PR         00956
   686143 JOSE M SUAREZ VARELA                        HC 01 BOX 6653                                                                                                    COROZAL            PR         00783
   249507 JOSE M SUSTACHE SUSTACHE                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249508 JOSE M TALAVERA DEL VALLE                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686144 JOSE M TALAVERA PEREZ                       PO BOX 141875                                                                                                     ARECIBO            PR         00614
          JOSE M TAVERAS GUZMAN
   686145 /MANATI ANESTHESIA                          PO BOX 484                                                                                                        MANATI             PR         00674
   686147 JOSE M TIRADO GIRONA                        PO BOX 141927                                                                                                     ARECIBO            PR         00614
   249510 JOSE M TIRADO SANCHEZ                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249511 JOSE M TORO ITURRINO                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249512 JOSE M TORO LABOY                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249513 JOSE M TORRES CINTRON                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249514 JOSE M TORRES COLON                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686150 JOSE M TORRES CORREA                        PO BOX 10264                                                                                                      PONCE              PR         00732‐2064
   686151 JOSE M TORRES CORTES                        HC 01 BOX 5000                                                                                                    OROCOVIS           PR         00720
   686153 JOSE M TORRES FELIX                         BO GUAVATE 22550                                                                                                  CAYEY              PR         00736
   686155 JOSE M TORRES HERNADEZ                      390 MACHUELO LAJAS                                                                                                PONCE              PR         00731
   249516 JOSE M TORRES HUERTAS                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249517 JOSE M TORRES LUGO                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                                                    902 CALLE REY FERNANDO
   686156 JOSE M TORRES MARTINEZ                      URB 5TO CENTENARIO            ARAGON                                                                              MAYAGUEZ           PR         00680‐9067
   686159 JOSE M TORRES NAZARIO                       PARCELAS JUAN SANCHEZ 617     BOX 1429                                                                            BAYAMON            PR         00959
   686160 JOSE M TORRES ORENGO                        9 EST YIDOMAR                 ST COMET                                                                            YAUCO              PR         00698
   249518 JOSE M TORRES OYOLA                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249519 JOSE M TORRES RAMOS                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686165 JOSE M TORRES RODRIGUEZ                     PO BOX 7126                                                                                                       PONCE              PR         00732
   686168 JOSE M TORRES SANTANA                       HC 1 BOX 3575                                                                                                     BAJADERO           PR         00616
   249521 JOSE M TORRES SERRANO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249522 JOSE M TORRES SUAREZ                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249523 JOSE M TORRES TORRES                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   249525 JOSE M TORRES Y JOSE R TORRES REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249526 JOSE M TORRES ZAYAS           REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686171 JOSE M TOYENS OJEDA           PO BOX 771                                                                                                                      HUMACAO            PR         00792
   686172 JOSE M TRAVERSO ROSADO        17 CALLE PABLO GUZMAN                                                                                                           SAN SEBASTIAN      PR         00685
   686173 JOSE M TRUJILLO BATISTA       PO BOX 1134                                                                                                                     HATILLO            PR         00659
   249529 JOSE M TRUJILLO TORRES        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249530 JOSE M URRUTIA VELEZ          REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686174 JOSE M VALENTIN CAJIGAS       HC 02 BOX 6474                                                                                                                  LARES              PR         00669



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  249531 JOSE M VALLE GUZMAN                          REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  249532 JOSE M VALLEJO CARMONA                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  249533 JOSE M VARELA BUNKER                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  686176 JOSE M VARGAS ARROYO                         HC 4 BOX 22020                                                                                              JUANA DIAZ        PR         00795
  686178 JOSE M VARGAS MALAVE                         VILLA PALMERA           252 CALLE PROVIDENCIA                                                               SAN JUAN          PR         00915
  686179 JOSE M VARGAS MOJICA                         PARCELAS HILL BROTHER   442 CALLE 39                                                                        SAN JUAN          PR         00924
  249534 JOSE M VARGAS RODRIGUEZ                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  249535 JOSE M VAZQUEZ CARABALLO                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  249536 JOSE M VAZQUEZ GONZALEZ                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  249537 JOSE M VAZQUEZ LEBRON                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   249538 JOSE M VAZQUEZ MALDONADO REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   249539 JOSE M VAZQUEZ RIOS      REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   249540 JOSE M VAZQUEZ RIVERA    REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   686182 JOSE M VAZQUEZ RUIZ      HC 6 BOX 70727                                                                                                                 CAGUAS            PR         00725
   249541 JOSE M VAZQUEZ SOTO      REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   686183 JOSE M VAZQUEZ VAZQUEZ   P O BOX 457                                                                                                                    HORMIGUEROS       PR         00660
   249542 JOSE M VEGA COLLAZO      REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   249543 JOSE M VEGA CRUZ         REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   249544 JOSE M VEGA MALDONADO    REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   686186 JOSE M VEGA QUINONES     MANS DE CAROLINA                           UV15 CALLE YUNQUESITO                                                               CAROLINA          PR         00987
   686187 JOSE M VEGA RIVERA       PO BOX 192533                                                                                                                  SAN JUAN          PR         00919
   686188 JOSE M VEGA ROBLES       URB VILLA EVANGELINA                       E 49 CALLE 3                                                                        MANATI            PR         00674
   249545 JOSE M VEGA SANTOS       REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   249546 JOSE M VEGA TORRES       REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   686189 JOSE M VELAQUEZ ORTIZ    HC 1 BOX 13335                                                                                                                 CABO ROJO         PR         00623
   249547 JOSE M VELAZQUEZ FORTIS  REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   249549 JOSE M VELAZQUEZ LOPEZ   REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   249550 JOSE M VELAZQUEZ PAGAN   REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   686191 JOSE M VELAZQUEZ RODRIGUEZ                  HC 02 BOX 8024                                                                                              GUAYANILLA        PR         00656
   686192 JOSE M VELAZQUEZ VAZQUEZ                    HC 1 BOX 8702                                                                                               CANOVANAS         PR         00729
   249552 JOSE M VELEZ COLON                          REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   686194 JOSE M VELEZ FARIA                          HC 3 BOX 9449                                                                                               LARES             PR         00669
   686195 JOSE M VELEZ MENDEZ                         B 7 URB EL MAESTRO                                                                                          CAMUY             PR         00627
   249553 JOSE M VELEZ RAMOS                          REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

          JOSE M VELEZ
   249554 RODRIGUEZ/MARIANNE E MEJIA                  REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   686196 JOSE M VELEZ VARGAS                         PMB 42                  PO BOX 5103                                                                         CABO ROJO         PR         00623
   249555 JOSE M VELLON SANCHEZ                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   686197 JOSE M VENDRELL VALLE                       URB CORCHADO            162 CALLE PASCUA                                                                    ISABELA           PR         00662
   686198 JOSE M VENTURA                              PENTHOUSE CONDADO       1473 WILSON AVE                                                                     SAN JUAN          PR         00907
   249556 JOSE M VICENTE LABOY                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   686199 JOSE M VIDOL MORAN                          3RA SECCION YANOS       349 CALLE FLAMBOYANES                                                               FLORIDA           PR         00650
   249558 JOSE M VILLEGAS COLON                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   686200 JOSE M VINCENTY MARTELL                     HC 1 BOX 8451                                                                                               MARICAO           PR         00606
   249559 JOSE M ZABALA RIVERA                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   249560 JOSE M ZAMBRANA ROSADO                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   249561 JOSE M ZAVALA DÍAZ                          REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   686202 JOSE M ZAVALA MARTI                         BONNEVILLE VALLEY       12 CALLE CORPUS CRISTI                                                              CAGUAS            PR         00725
   249562 JOSE M ZAYAS MOJICA                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   249563 JOSE M.                                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED



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  249564 JOSE M. ACEVEDO ROSARIO                      REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   686205 JOSE M. AGOSTO BENITEZ                      URB SANTA TERESITA              AS15 CALLE 41 REPTO TERESITA                                                              BAYAMON             PR         00961
   249565 JOSE M. ALMODOVAR                           REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249567 JOSE M. BERGODERE COLON                     REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   249568 JOSE M. CARABALLO CABRERA                   REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686207 JOSE M. CARABALLO CASTRO                    HC 02 BOX 12380                                                                                                           YAUCO               PR         00698
          JOSE M. CARRASQUILLO
   249569 VELAZQUEZ                                   REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686208 JOSE M. CARRION COLON                       EIDF 11 APTO 488                RES RAMON MARIN SOLA                                                                      ARECIBO             PR         00612

   686209 JOSE M. CASTILLO RODRIGUEZ                  HP ‐ OFICINA SERVS. LEY # 408                                                                                             RIO PIEDRAS         PR         00936‐0000
   249570 JOSE M. CATALA CATALA                       REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686210 JOSE M. CINTRON GARCIA                      RR7 BOX 6298                                                                                                              SAN JUAN            PR         00926
   686212 JOSE M. COLON ORTIZ                         PO BOX 1919                                                                                                               AIBONITO            PR         00705
   249572 JOSE M. COLON VALLES                        REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249573 Jose M. Colon Vega                          REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686213 JOSE M. CONTRERAS BENITEZ                   RR‐9 BOX 4855                                                                                                             SAN JUAN            PR         00976‐9802
   686216 JOSE M. CRUZ                                PO BOX 1325                                                                                                               FAJARDO             PR         00738
   686218 JOSE M. DE LEON TROCHE                      SANTURCE STATION                PO BOX 13661                                                                              SAN JUAN            PR         00908
   686219 JOSE M. DELGADO, INC.                       URB CARIBE                      CALLE CAVALIER 1556                                                                       SAN JUAN            PR         00927
                                                                                      D9 CALLE ANGELINA URB LOMAS
   686220 JOSE M. DIAZ VALLINES                       LOMAS VERDES                    VERDES                                                                                    BAYAMON             PR         00956
   249574 JOSE M. DOBAL FRATICHELLIE                  REDACTED                        REDACTED                    REDACTED                               REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249575 JOSE M. ESCUTE QUINONES                     REDACTED                        REDACTED                    REDACTED                               REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   249576 JOSE M. FELICIANO HERNANDEZ                 REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249577 JOSE M. FELICIANO RIVERA                    REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249578 JOSE M. FLORES SANTIAGO                     REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249581 JOSE M. FUERTES PLANAS                      REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686221 JOSE M. GARCIA                              HC 2                                                                                                                      JUANA DIAZ          PR         00795
   249582 JOSE M. GARCIA MONTES                       REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE M. GONZALEZ DBA WEST
   249583 COPY SUPPLY                                 URB EL CULEBRINAS               HUCAR R‐6                                                                                 SAN SEBASTIAN       PR         00685

   249584 JOSE M. JUSTINIANO SEPULVEDA REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249585 JOSE M. LOPEZ BENITEZ        REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249586 JOSE M. MALAVE RODRIGUEZ     REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249587 JOSE M. MARTINEZ COTTO       REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249588 JOSE M. MARTINEZ ROSADO      REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249589 JOSE M. MARXUACH FAGOT       REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249590 JOSE M. MONTANEZ HUERTAS     REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249592 JOSE M. MORALES BENITEZ      REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249593 JOSE M. MUNOZ                REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249595 JOSE M. ORTA VALDEZ          REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249597 JOSE M. ORTIZ FONSECAS       REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249598 Jose M. Ortiz Ortiz          REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249599 JOSE M. OUSLAN QUINONES      REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249600 JOSE M. PAGAN CRUZ           REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249601 JOSE M. PEREZ ECHEVARRIA     REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   249605 JOSE M. RAMIREZ HERNANDEZ                   REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  686228 JOSE M. RAMIREZ OLMEDO                       RES. VISTA DEL MAR           EDIF 10 APT 140                                                                           FAJARDO             PR           00738

   686229 JOSE M. RAMIREZ RODRIGUEZ                   PO BOX 8093                                                                                                            CAGUAS              PR           00726
  1256609 JOSE M. REYES CASTRO                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   686231 JOSE M. RIVERA AGRINZONI                    1 SAINT JUST                 CALLE BETANIA FINAL                                                                       TRUJILLO ALTO       PR           00978

   249606 JOSE M. RIVERA CARRASQUILLO REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   249608 JOSE M. RODRIGUEZ DELGADO                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   249609 JOSE M. RODRIGUEZ MEDINA                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   249610 JOSE M. RODRIGUEZ TORRES                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   249611 JOSE M. RODRIGUEZ TORREZ                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                      CARR 842 KM 3.9 CAMINO LOS
   686232 JOSE M. RODZ SANTOS                         OCASIO                                                                                                                 SAN JUAN            PR           00926
   686233 JOSE M. ROMAN RIVERA                        MAYAGUEZ COURTS APT. 318     137 CALLE MAYAGUEZ                                                                        HATO REY            PR           00917
   686234 JOSE M. ROSA ALICEA                         HP ‐ SALA 5 BAJOS VARONES                                                                                              RIO PIEDRAS         PR           009360000
   249613 JOSE M. ROSADO PEREZ                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   686235 JOSE M. RUIZ GRACIA                         RD 103 3009 LOS REYES ST                                                                                               CABO ROJO           PR           00623
   249614 JOSE M. SANCHEZ FIGUEROA                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   249615 JOSE M. SANTOS SANTIAGO                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   249616 JOSE M. SEDA MARTINEZ                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   686237 JOSE M. SERRALTA                            392 CALLE JUAN B RODRIGUEZ   URB ROOSEVELT                                                                             HATO REY            PR           00918
   249617 Jose M. Soto Velez                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   686238 JOSE M. TORO VELEZ                          BOX 331550                                                                                                             PONCE               PR           00733
   249618 JOSE M. TORRES LUGO                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   249619 JOSE M. TORRES ROSADO                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   249620 JOSE M. TOYENS CRUZ                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   249621 JOSE M. URRUTIA QUINONEZ                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   249622 JOSE M. VALLE PAGAN                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   249625 JOSE M. VEGA TORRES                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   249626 JOSE M.MALDONADO CORTES                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   686241 JOSE MA. GARCIA RODRIGUEZ                   PO BOX 1066                                                                                                            SAN JUAN            PR           00902
   686243 JOSE MACHUCA MORALES                        BOX 419                                                                                                                SAN LORENZO         PR           00754
   686244 JOSE MACIAS ACOSTA                          HC 33 BOX 5971                                                                                                         DORADO              PR           00646

   686245 JOSE MALAVE REXACH                          COND ASISIS                  1010 CARR 19 APT 59 APT 1603                                                              GUAYNABO            PR           00966
   686246 JOSE MALAVE RODRIGUEZ                       PARCELAS SOLEDAD             BUZ 714 CALLE G                                                                           MAYAGUEZ            PR           00680
          JOSE MALDONADO / ANNABEL
   249627 MARRERO                                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   249628 JOSE MALDONADO ALICEA                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   249629 JOSE MALDONADO CINTRON                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   686247 JOSE MALDONADO DIAZ                         HC 02 BOX 13699                                                                                                        ARECIBO             PR           00612
   686248 JOSE MALDONADO DICK                         6650 SW 25ST                                                                                                           MIRAMAR             FL           33023
   686249 JOSE MALDONADO GARCIA                       HC 1 BOX 3529                                                                                                          FLORIDA             PR           00650
   686250 JOSE MALDONADO GERENA                       HC 01 BOX 4207 4                                                                                                       NAGUABO             PR           00718 9711

   686251 JOSE MALDONADO HERNANDEZ URB VILLA NITZA B2/9                                                                                                                      MANATI              PR           00674
   686254 JOSE MALDONADO RIVERA    HC 1 BOX 3156                                                                                                                             BARRANQUITAS        PR           00794‐9604

   686257 JOSE MALDONADO RODRIGUEZ                    BO BARAHONA VILLA ROCA       L 8 CALLE 23                                                                              MOROVIS             PR           00687
   686258 JOSE MALDONADO SANCHEZ                      P. O. BOX 1608                                                                                                         YABUCOA             PR           00767
   249630 JOSE MALDONADO SANTANA                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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MML ID             NAME                                         ADDRESS 1                          ADDRESS 2              ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  686261 JOSE MALGOR CO INC                           PO BOX 9021904                                                                                                      SAN JUAN            PR         00902 1904
  686262 JOSE MANGOME CRUZ                            HC 67 BOX 13314                                                                                                     BAYAMON             PR         00956
  249631 JOSE MANGUAL RODRIGUEZ                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOSE MANUEL ALVARADO
  686264 BERMUDEZ                                     B 7 URB SALIMAR                                                                                                     SALINAS             PR         00751
  249632 JOSE MANUEL ARIAS SOTO                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   686266 JOSE MANUEL CAMACHO PAGAN HC 3 BOX 12679                                                                                                                        YABUCOA             PR         00767‐9709
          JOSE MANUEL CARMONA
   686267 FIGUEROA                  VILLA CLARITA                                    CALLE 2 J 6                                                                          FAJARDO             PR         00738
          JOSE MANUEL CARRASQUILLO
   249633 IRIZARRY                  REDACTED                                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   249634 JOSE MANUEL CIRINO FUENTES                  REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249635 JOSE MANUEL CRUZ ELLIS                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686268 JOSE MANUEL DEL RIO LOPEZ                   RR 2 BOX 823                                                                                                        SAN JUAN            PR         00926

   686269 JOSE MANUEL DIAZ APOLINARIS RES SAN AGUSTIN EDIF 534                                                                                                            SAN JUAN            PR         00901

   249636 JOSE MANUEL DIAZ FIGUEROA                   REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249637 JOSE MANUEL FLORES DIAZ                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   249638 JOSE MANUEL FUENTES AYALA                   REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE MANUEL GONZALEZ
   686271 ROMAN                                       BO PILETAS CASTRO                                                                                                   LARES               PR         00669
   686272 JOSE MANUEL GRACIA ARANA                    HC 3 BOX 20370                                                                                                      ARECIBO             PR         00612
          JOSE MANUEL GRACIA
   249639 MONTALVO                                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE MANUEL HUERTAS
   249640 SANCHEZ                                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   249641 JOSE MANUEL JIMENEZ CINTRON REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   249643 JOSE MANUEL MERCADO COLON REDACTED                                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249644 JOSE MANUEL MOYA PEREZ    REDACTED                                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   686275 JOSE MANUEL NIEVES AROCHO                   HC 05 BOX 10587                                                                                                     MOCA                PR         00676
                                                      CORP DEL FONDO DEL SEG DEL
   686276 JOSE MANUEL OLMO TERRASA                    ESTADO                         PO BOX 365028                                                                        SAN JUAN            PR         00936‐5028
   686277 JOSE MANUEL ORTEGA CRUZ                     1441 LINDEN ST APT 3                                                                                                ALLENTOWN           PA         18102

   686278 JOSE MANUEL ORTIZ ALVAREZ                   HILL BROTHER                   683 CALLE 13                                                                         SAN JUAN            PR         00924

   249645 JOSE MANUEL OSORIO DE JESUS                 REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249646 JOSE MANUEL OTERO COTTO                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE MANUEL OUSLAN
   249647 QUINONEZ                                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686281 JOSE MANUEL PADRO RIOS                      PLAZA MERCADO                  CALLE DR LOPEZ                                                                       FAJARDO             PR         00738
   686282 JOSE MANUEL PEREZ ARROYO                    PO BOX 16842                                                                                                        SAN JUAN            PR         00907‐6842

   249648 JOSE MANUEL PEREZ MERCADO REDACTED                                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   686283 JOSE MANUEL PEREZ OCASIO                    COND TORRE DE FRANCIA APT 27                                                                                        SAN JUAN            PR         00917



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   249649 JOSE MANUEL PEREZ OLIVARES                  REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   686285 JOSE MANUEL VALENTIN CRESPO HC 01 BOX 3511                                                                                                                       LAS MARIAS          PR           00670
   249650 JOSE MANUEL VALLE CORTES    REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE MANUEL VELAZQUEZ
   686286 LOZADA                      609 B COOP SAN IGNACIO                                                                                                               SAN JUAN            PR           00927
   249651 JOSE MANUEL VILLEGAS        REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249652 JOSE MANZANO VELEZ          REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249653 JOSE MARCANO RODRIGUEZ      REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686287 JOSE MARCANO VALDES         P O BOX 8565                                                                                                                         CAGUAS              PR           00726
   686288 JOSE MARCHAND               161 CALLE SAN JORGE                            SUITE 200                                                                             SAN JUAN            PR           00911
   686289 JOSE MARIA CALDERON         BO LA CENTRAL                                  501 CALLE 1                                                                           CANOVANAS           PR           00667

   249654 JOSE MARIA GARCIA GONZALEZ                  REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249655 JOSE MARIN ARCE                             REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686292 JOSE MARINA                                 PO BOX 1743                                                                                                          GUAYNABO            PR           00970
   686293 JOSE MARIO REYES SUAREZ                     VILLA CAROLINA                 10 8 CALLE 28                                                                         CAROLINA            PR           00985
   686294 JOSE MARIO RODRIGUEZ                        BOX 1441                                                                                                             JUANA DIAZ          PR           00795
   249656 JOSE MARQUEZ MARQUEZ                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249657 JOSE MARQUEZ YORRO                          REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE MARRERO / MAC
   686296 COMPUTER SERVICE                            PO BOX 11352                                                                                                         SAN JUAN            PR           00922‐1352
          JOSE MARRERO / MARRERO
   686297 AUTO PARTS                                  MANSIONES DEL TOA              A 2 CALLE 1                                                                           TOA ALTA            PR           00953
   249658 JOSE MARRERO LUNA                           REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686299 JOSE MARRERO MALDONADO                      URB MONTE CARLO                1272 CALLE 11                                                                         SAN JUAN            PR           00924
   249659 JOSE MARRERO MARTES                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686301 JOSE MARRERO MOLINA                         HC 1 BOX 7285                                                                                                        CANOVANAS           PR           00729
   686302 JOSE MARRERO RUSSE                          P O BOX 859                                                                                                          HUMACAO             PR           00792
   249661 JOSE MARRERO SANTIAGO                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686303 JOSE MARTE DE JESUS                         PO BOX 6483                                                                                                          BAYAMON             PR           00960
   249662 JOSE MARTELL MARCHANY                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE MARTELL/ NEW ENERGY
   249663 CONSULTANTS                                 URB PASEO LOS CORALES          658 CALLE CABO DE HORNOS                                                              DORADO              PR           00646
   686304 JOSE MARTI CASTILLO                         BO ANGOLA 17                   CARR 132                                                                              PONCE               PR           00731
   249665 JOSE MARTIN BELLO                           REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249666 JOSE MARTIN TORRES                          REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686308 JOSE MARTINEZ                               RR 9 BOX 1722                                                                                                        SAN JUAN            PR           00926‐9736
   686309 JOSE MARTINEZ ACEVEDO                       HC 2 BOX 7020                                                                                                        LARES               PR           00669
   249667 JOSE MARTINEZ ARROYO                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249668 JOSE MARTINEZ BARRETO                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249669 JOSE MARTINEZ CINTRON                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249671 JOSE MARTINEZ COLON                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   686311 JOSE MARTINEZ CRUZ                          VILLA LA MARINA H 19 CALLE 5                                                                                         CAROLINA            PR           00979
   686312 JOSE MARTINEZ CUEVAS                        ESTANCIAS DEL RIO              613 CALLE YAGUEZ                                                                      HORMIGUEROS         PR           00660
   686313 JOSE MARTINEZ CUSTODIO                      PO BOX 599                                                                                                           UTUADO              PR           00641
   249672 JOSE MARTINEZ DIAZ                          REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249673 JOSE MARTINEZ JIMENEZ                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249674 JOSE MARTINEZ LANDRON                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249675 JOSE MARTINEZ LEON                          REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249676 JOSE MARTINEZ LORENZO                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  686315 JOSE MARTINEZ MARTINEZ                       JARDINES DE TRUJILLO ALTO   EDIF F APT 203                                                                         TRUJILLO ALTO      PR           00976
  686316 JOSE MARTINEZ MELENDEZ                       URB VILLA REAL              L6 CALLE 6                                                                             VEGA BAJA          PR           00693
                                                                                  BD 27 CALLE DR. GABRIEL
   686319 JOSE MARTINEZ NAZARIO                       5TA SECCION LEVITTOWN       FERRER                                                                                 TOA BAJA           PR           00949
   686320 JOSE MARTINEZ NIEVES                        P O BOX 651                                                                                                        TRUJILLO ALTO      PR           00977‐0651
          JOSE MARTINEZ PAGAN Y/O
   249678 NELLY ALMODOVAR                             REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   249679 JOSE MARTINEZ PORTALATIN                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   249680 JOSE MARTINEZ QUINONES                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   249681 JOSE MARTINEZ RAMOS                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   686321 JOSE MARTINEZ REYES                         HC 01 BOX 18890                                                                                                    COAMO              PR           00769
   249682 JOSE MARTINEZ RIVERA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   686322 JOSE MARTINEZ ROLDAN                        BO BORINQUEN                RUTA 4 BZN 2600                                                                        AGUADILLA          PR           00603
   686323 JOSE MARTINEZ ROSADO                        JAREALITO                   1365 CALLE 7                                                                           ARECIBO            PR           00612
   249683 JOSE MARTINEZ VALENTIN                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   686324 JOSE MASS FONTANEZ                          PO BOX 7126                                                                                                        PONCE              PR           00732
   686325 JOSE MATA GIL                               SANTA RITA                  15 C/ JULIAN BLANCO                                                                    SAN JUAN           PR           00925

   686326 JOSE MATEO LUNA                             232 AVE ELEONOR ROOSEVELT                                                                                          SAN JUAN           PR           00907
   249685 JOSE MATIAS LUGO                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   686329 JOSE MATOS CARRASCO                         URB VISTA ALEGRE            99 CALLE FERRER Y GUARDIA                                                              BAYAMON            PR           00959
   249688 JOSE MATTA GONZALEZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   686332 JOSE MAYOL RENTAS                           PO BOX 7126                                                                                                        PONCE              PR           00732
   249689 JOSE MAYSONET SANCHEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   249690 Jose Medina Colon                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   249691 JOSE MEDINA DEL VALLE                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   249692 JOSE MEDINA GOMEZ                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   249693 JOSE MEDINA HERNANDEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   686335 JOSE MEDINA HERRERA                         URB SABANA GARDEN           3 43 CALLE 5                                                                           CAROLINA           PR           00983
   249694 JOSE MEDINA MARTINEZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   249696 José Medina Navedo                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   249698 JOSE MEDINA PEREZ                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   686336 JOSE MEDINA PORTALATIN                      PO BOX 6357                                                                                                        ADJUNTAS           PR           00601
   686337 JOSE MEDINA RAMOS                           HC 6 BOX 2045                                                                                                      PONCE              PR           00731‐9602
   249699 JOSÉ MEDINA RIVERA                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   249700 JOSE MEDINA ROSA                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
                                                      EDF FRANCISCO COLON
   686339 JOSE MEDINA TENA                            GORDIANY                    APT 503                                                                                CEIBA              PR           00735
   249702 José Mejias Correa                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   686340 JOSE MEJIAS CRUZ                            PO BOX 10896                                                                                                       ARECIBO            PR           00612
   686341 JOSE MEJIAS DELGADO                         P O BOX 4224                                                                                                       CAROLINA           PR           00984
   686343 JOSE MELENDEZ                               PO BOX 21365                                                                                                       SAN JUAN           PR           00926‐1365
   249703 JOSE MELENDEZ ACOBES                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   249704 JOSE MELENDEZ CARMONA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   249705 JOSE MELENDEZ CARRERAS                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   686346 JOSE MELENDEZ COLON                         P O BOX 984                                                                                                        GUAYNABO           PR           00970‐0784
   686347 JOSE MELENDEZ CORDERO                       ADM SISTEMA DE RETIRO       PO BOX 42003                                                                           SAN JUAN           PR           00940‐2003
   686348 JOSE MELENDEZ COTTO                         URB SANTA ELVIRA            L 16 CALLE SANTA INES                                                                  CAGUAS             PR           00725
   249707 JOSE MELENDEZ JIMENEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   686350 JOSE MELENDEZ MALDONADO                     AVE DOS PALMAS 2822         SEGUNDA SECCION                                                                        LEVITTOWN          PR           00949
   686352 JOSE MELENDEZ MARTINEZ                      URB CANAS HOUSING           646 CALLE LOS ROBLES                                                                   PONCE              PR           00728
   249708 JOSE MELENDEZ MELENDEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED



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  249709 JOSE MELENDEZ RODRIGUEZ     REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOSE MELENDEZ ROMERO/ INTEC
  249710 SOLAR DE PR                 PO BOX 776                                                                                                                       SAINT JUST          PR         00978
  686353 JOSE MELENDEZ SANCHEZ       PO BOX 7126                                                                                                                      PONCE               PR         00732
  249711 JOSE MELENDEZ SOLIVAN       REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686345 JOSE MELENDEZ VAZQUEZ       P O BOX 4484                                                                                                                     CAROLINA            PR         00985
  686354 JOSE MENDEZ ASENCIO         MONTE GRANDE B6                           SECTOR VEGA ALEGRE                                                                     CABO ROJO           PR         00623
  249712 JOSE MENDEZ CARRERO         REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249713 JOSE MENDEZ JUSTINIANO      REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249715 JOSE MENDEZ MENDEZ          REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686355 JOSE MENDEZ MOLL            APARTADO 7001                                                                                                                    PONCE               PR         00732‐7001
  249717 JOSE MENDEZ RODRIGUEZ       REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249718 JOSE MENDEZ ROMAN           REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686356 JOSE MENDEZ SALAS           HC 02 BOX 18773                                                                                                                  SAN SEBASTIAN       PR         00685
  686357 JOSE MENDEZ VILLARUBIA      HC 58 BOX 13573                                                                                                                  AGUADA              PR         00602
         JOSE MENDEZ/VANGUADIA COM
  686358 BO AIBONITO                 BO AIBONITO                               HC 01 BOX 9441                                                                         SAN SEBASTIAN       PR         00685

   686359 JOSE MENDIZABAL GUTIERREZ                   52 CALLE LUISA APT 5 A                                                                                          SAN JUAN            PR         00907
   249719 JOSE MENDOZA                                REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686360 JOSE MENDOZA CRUZ                           HC 4 BOX 11987                                                                                                  HUMACAO             PR         00791
   686362 JOSE MENDOZA MENDOZA                        HC 00266 BOX 5992                                                                                               FAJARDO             PR         00738
   686363 JOSE MENDOZA PAGAN                          PO BOX 167                                                                                                      CIALES              PR         00638
   249721 JOSE MENDOZA ROMAN                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686364 JOSE MENENDEZ GARCIA                        55 CALLE BOLIVIA                                                                                                SAN JUAN            PR         00917
   249722 JOSE MENENDEZ ROMAN                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686367 JOSE MERCADO MALDONADO                      MINILLAS STATION         PO BOX 41269                                                                           SAN JUAN            PR         00940269
   686368 JOSE MERCADO MORA                           PO BOX 9144                                                                                                     CAROLINA            PR         00988‐9144
   686369 JOSE MERCADO ORTIZ                          PO BOX 7126                                                                                                     PONCE               PR         00732
   686370 JOSE MERCADO RIVERA                         P O BOX 1264                                                                                                    QUEBRADILLAS        PR         00678 1264
   249723 JOSE MERCADO SANTOS                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249724 JOSE MERCADO VALE                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686371 JOSE MERCADO ZAYAS                          PO BOX 683                                                                                                      PONCE               PR         00732
   249725 JOSE MERINO VINAS                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249726 JOSE MERLE CRUZ                             REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686373 JOSE MESTEY BERGOLLO                        P O BOX 6045                                                                                                    MAYAGUEZ            PR         00681
   686374 JOSE MICHEO OHARRIZ                         P O BOX 342                                                                                                     MANATI              PR         00974

   686375 JOSE MIGUEL ANNEXY FRAITES                  ALT DE INTERAMERICAN     L 5 CALLE 9                                                                            TRUJILLO ALTO       PR         00976

   249727 JOSE MIGUEL BERMUDEZ COLON REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249729 JOSE MIGUEL CARDONA        REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686376 JOSE MIGUEL COLON          PO BOX 240                                                                                                                       SANTA ISABEL        PR         00757
          JOSE MIGUEL HERNANDEZ
   686379 GARCIA                     CALLE ALFONSO 12 NUM 67                                                                                                          PONCE               PR         00716
   686380 JOSE MIGUEL NIEVES COLON   HC 73 BOX 5240                                                                                                                   NARANJITO           PR         00719
          JOSE MIGUEL NUNEZ
   249731 HERNANDEZ                  REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249734 JOSE MIGUEL PEREZ PEREZ    REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249735 JOSE MIGUEL RIVERA ORTIZ   REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249736 JOSE MIGUEL ROMAN DAVILA   REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE MIGUEL ROMAN
   686381 RODRIGUEZ                  BO PARABUEYON                             CARR 102 KM 18 3 INTERIOR                                                              CABO ROJO           PR         00623



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          JOSE MIGUEL ROSARIO
   249738 RODRIGUEZ                                   REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE MIGUEL TALAVERA
   686382 RODRIGUEZ                                   PO BOX 141875                                                                                                         ARECIBO             PR           00614

   686383 JOSE MIGUEL TEJEDA CANARIO                  PARCELAS HILL BROTHER          111 CALLE 7                                                                            RIO PIEDRAS         PR           00924
          JOSE MIGUEL TRIDAS
   686384 FERNANDEZ                                   PO BOX 2249                                                                                                           ARECIBO             PR           00613
          JOSE MIGUEL VARGAS
   249739 FONTANEZ                                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686385 JOSE MIGUENS TOBIO                          PO BOX 29601                                                                                                          SAN JUAN            PR           00929
   249740 JOSE MILAN VAZQUEZ                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249741 JOSE MILLAYES VEGA                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   686387 JOSE MILTON OCASIO RAMIREZ JARDINES DE PALMAREJO                           BLQ AA 61 CALLE 4                                                                      CANOVANAS           PR           00729
   686388 JOSE MILTON SOLTERO         SANTURCE MEDICAL MALL                          1801 AVE PONCE DE LEON                                                                 SAN JUAN            PR           00909
   686389 JOSE MIRABAL MENDEZ         URB HERMANOS DAVILAS                           Q 31 CALLE 9                                                                           BAYAMON             PR           00959‐5180
   686390 JOSE MIRANDA                PO BOX 21365                                                                                                                          SAN JUAN            PR           00928
   686391 JOSE MIRANDA ALBINO         PO BOX 928                                                                                                                            COROZAL             PR           00783
          JOSE MIRANDA AQUINO Y HILDA
   249742 ORTIZ RAMOS                 HC 57 BOX 8966                                                                                                                        AGUADA              PR           00602
   686393 JOSE MIRANDA RAMIREZ        D 14 PLAZA 21                                  ESTANCIA                                                                               BAYAMON             PR           00961
   686394 JOSE MIRANDA RODRIGUIEZ     EXT URB LAS DELICIAS                           3456 CALLE JOSEFINA MOLL                                                               PONCE               PR           00728‐3429
   686395 JOSE MMORALES COLON         PO BOX 614                                                                                                                            SANTA ISABEL        PR           00757
   686396 JOSE MOJICA CALDERON        BO GUAVATE 22550                                                                                                                      CAYEY               PR           00736
   249743 JOSE MOJICA DIAZ            REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   686397 JOSE MOLINA ALVIRA                          BARRIADA ISRAEL‐174 CALLE‐11                                                                                          SAN JUAN            PR           00926
   686398 JOSE MOLINA COREANO                         EZQ MENDEZ VIGO                13 CALLE INDUSTRIAL                                                                    DORADO              PR           00646
   686399 JOSE MOLINA FIGUEROA                        BO SANTANA LOS LLANOS          E 25 CALLE 10                                                                          ARECIBO             PR           00612
   686400 JOSE MOLINA RIVERA                          URB BUZO                       B 6 CALLE 2                                                                            HUMACAO             PR           00791
   686401 JOSE MOLINA VAZQUEZ                         URB VEGA BAJA LAKES            D10 CALLE 3                                                                            VEGA BAJA           PR           00693
   249745 JOSE MOLINELLI FREYTES                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686402 JOSE MONERO SANCHEZ                         PO BOX 8824                                                                                                           CAGUAS              PR           00726
   686403 JOSE MONROIG JIMENEZ                        APARTADO 179                                                                                                          SAN SEBASTIAN                    00685

   249746 JOSE MONSERRATE SANTIAGO                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249747 JOSE MONT TORRES                            REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686405 JOSE MONTALVO CARRABS                       P O BOX 336                                                                                                           HORMIGUEROS         PR           00660
   249748 JOSE MONTALVO MEDINA                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249749 JOSE MONTALVO RODRIGUEZ                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE MONTALVO Y CARMEN A
   686409 DE MONTALVO                                 COND CADIZ                     253 CALLE CHILE APTO PH C                                                              SAN JUAN            PR           00917
   249750 JOSE MONTANEZ CASTILLO                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249752 JOSE MONTANEZ ROSADO                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249753 JOSE MONTANEZ SERRANO                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249754 JOSE MORA ORTIZ                             REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686410 JOSE MORALES                                URB TOA LINDA                  D 21 CALLE 2                                                                           TOA ALTA            PR           00953
   686411 JOSE MORALES ALEMAN                         PRIMAVERA ENCANTADA            S A 7 PASEO LAS FLORES                                                                 TRUJILLO ALTO       PR           00976
   249755 JOSE MORALES BAUZA                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686412 JOSE MORALES BAYALA                         APARTADO 355                                                                                                          TRUJILLO ALTO       PR           00977
   686413 JOSE MORALES CARTAGENA                      PO BOX 51120                                                                                                          TOA BAJA            PR           00950
   686414 JOSE MORALES COSME                          HC 71 BOX 1241                                                                                                        NARANJITO           PR           00719‐9724



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  249756 JOSE MORALES DELGADO                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249757 JOSE MORALES DIAZ                            REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249760 JOSE MORALES PEREZ                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686415 JOSE MORALES PLAZA                           19 RES GAUTIER BENITEZ        APT 177                                                                                CAGUAS              PR         00725
  686416 JOSE MORALES RIVERA                          URB VISTA DEL MORRO B 18      CALLE GUARAGUAO                                                                        CATANO              PR         00962
  249761 JOSE MORALES RODRIGUEZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249762 JOSE MORALES SOTO                            REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249763 JOSE MORALES VILLA                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   686419 JOSE MOREDA SERRANO                         URB ROOSEVELT                 535 CALLE OCTANIO MARCANO                                                              SAN JUAN            PR         00918
   249765 JOSE MORENO                                 REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686420 JOSE MORENO NAVARRO                         P O BOX 9011                                                                                                         PONCE               PR         00732
   686421 JOSE MORENO TIRADO                          URB PERLA DEL SUR             2717 CALLE LAS CARROZAS                                                                PONCE               PR         00717
   686422 JOSE MOYA PEREZ                             HC 1 BOX 25199                                                                                                       VEGA BAJA           PR         00693
   686423 JOSE MPERES RAMOS                           BO SALTILLO                   CARR 123 KM 31‐2                                                                       ADJUNTAS            PR         00601
   249767 JOSE MULERO QUINONEZ                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249768 JOSE MULERO REYES                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249769 JOSE MUNIZ                                  REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249770 JOSE MUNIZ AGRON                            REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249771 JOSE MUNIZ ASTACIO                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249773 JOSE MUNOZ CLAUDIO                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249774 JOSE MUNOZ FLORES                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249775 JOSE MUNOZ MALDONADO                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249778 JOSE MUNOZ TORRES                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686425 JOSE MURIEL CANCEL                          303 MOHAWK ST                                                                                                        UTICA               NY         13501
   686426 JOSE MURIEL MANGUAL                         RR 6 BOX 9496                                                                                                        SAN JUAN            PR         00926
   249780 JOSE N AYALA RESTO                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686428 JOSE N BARBERDY DIAZ                        BO COLOMBIA                   222 CALLE CONDE                                                                        MAYAGUEZ            PR         00680
   249781 JOSE N BONILLA PENA                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      COND JARDINES
   686430 JOSE N CARABALLO RIOS                       METROPOLITANO                 355 CALLE GALILEO APT 8 D                                                              SAN JUAN            PR         00927
   249783 JOSE N CARMONA OQUENDO                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249785 JOSE N COLON GONZALEZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE N CRUZ A/C JOSE N CRUZ
   686427 BURGOS                      URB COUNTRY CLUB                              8‐29 CALLE SALAMON                                                                     SAN JUAN            PR         00924
   686431 JOSE N CRUZ SANTANA         PO BOX 1415                                                                                                                          HATILLO             PR         00659
   249786 JOSE N DE JESUS COLON       REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686432 JOSE N DIAZ                 QTA EXT VILLA CAROLINA                        234‐20 CALLE 614                                                                       CAROLINA            PR         00985
          JOSE N FIGUEROA DBA FM FOOD
   249787 SERVICES                    URB HACIENDA SAN JOSE                         962 CALLE ARCADIA                                                                      CAGUAS              PR         00727‐3124
   686434 JOSE N FIGUEROA GARCIA      351 CALLE SAN MARCOS                                                                                                                 YAUCO               PR         00698‐2562
   249789 JOSE N GONZALEZ CRUZADO     REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   686437 JOSE N GONZALEZ RIVERA                      URB JARDINES DE PALO BLANCO N 10                                                                                     ARECIBO             PR         00616‐9745
   249790 JOSE N GONZALEZ TOMASINI                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE N HERNANDEZ MURIEL /
   249791 AIDA MURIEL                                 REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249792 JOSE N ITURREGUI                            REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249793 JOSE N LOPEZ CRUZ                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686440 JOSE N LOPEZ SANCHEZ                        PO BOX 6720                                                                                                          CAGUAS              PR         00726‐6720
   680865 JOSE N MARIN MARIN                          PO BOX 7000 STE 035                                                                                                  AGUADA              PR         00602

   686443 JOSE N MEJIAS COTTO                         1344 16 NO URB PUERTO NUEVO                                                                                          SAN JUAN            PR         00920



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  686444 JOSE N MONTALVO ORTIZ        PO BOX 443                                                                                                                        CABO ROJO          PR         00623
  686448 JOSE N ORTIZ RAMOS           HC 4 BOX 48810                                                                                                                    CAGUAS             PR         00725
  249796 JOSE N PIMENTEL VAZQUEZ      REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         JOSE N QUILES ADAMES / CHEPO
  686449 SOUND                        HC 03 BOX 335868                                                                                                                  HATILLO            PR         00659
  686450 JOSE N RIOS                  PO BOX 2727                                                                                                                       GUAYAMA            PR         00785
  686451 JOSE N RIVERA BALLS          URB VILLAMAR                                   A 15 CALLE JONICO                                                                  GUAYAMA            PR         00784
  249797 JOSE N RIVERA ROSARIO        REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  249798 JOSE N RIVERA TABAREZ        REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  686452 JOSE N RODRIGUEZ             HILL BROTHER                                   342 CALLE I                                                                        SAN JUAN           PR         00924
  249799 JOSE N RODRIGUEZ BERRIOS     REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  686453 JOSE N RODRIGUEZ CABAN       HC 1 BOX 6519                                                                                                                     MOCA               PR         00676
  686454 JOSE N RODRIGUEZ CARRILLO    P O BOX 406 RIO BLANCO                         RIO BLANCO HEIGHTS                                                                 NAGUABO            PR         00744
  686456 JOSE N RODRIGUEZ COLON       PO BOX 10406                                                                                                                      SAN JUAN           PR         00922‐0406
  686457 JOSE N RODRIGUEZ PEREZ       3RA EXT VILLA CAROLINA                         66‐47 CALLE 54                                                                     CAROLINA           PR         00985
  686458 JOSE N RODRIGUEZ REYES       P O BOX 595                                                                                                                       MOROVIS            PR         00687
  249800 JOSE N RODRIGUEZ VELEZ       REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  249801 JOSE N ROMAN MEDINA          REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  686459 JOSE N ROMAN SANTIAGO        P O BOX 1826                                                                                                                      ISABELA            PR         00662
  686461 JOSE N SANCHEZ SANJURJO      RIO GRANDE ESTATES                             Q 1 CALLE 19                                                                       RIO GRANDE         PR         00745
  249802 JOSE N SANCHEZ VIERA         REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                      URB SAN MARTIN 12 CALLE
  686463 JOSE N SOTO TORRES           MILAGROSA                                                                                                                         CAYEY              PR         00737
  249803 JOSE N VALLE BRENES          REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  249804 JOSE N VARGAS CRUZ           REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  686465 JOSE N VEGA                  PO BOX 1121                                                                                                                       UTUADO             PR         00641
  686466 JOSE N VELEZ CRUZ            29 URB SAN ANTONIO                                                                                                                SABANA GRANDE      PR         00637
  249805 JOSE N VELEZ GARCES          REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  686468 JOSE N. LOPEZ RIVERA         CALLE 1‐D‐67                                   PARQUE ECUESTRE                                                                    CAROLINA           PR         00957
  249807 JOSE N. MEJIAS COTTO         REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  686471 JOSE N. RIVERA ESCRIBANO     URB EL CEREZAL                                 1602 CALLE ORINOCO                                                                 RIO PIEDRAS        PR         00926
         JOSE NAIM MERHEB PELATI DBA
  249808 NAIM MERHEB                  P.O. BOX 14553bo.                                                                                                                 OBRERO STATION     PR         00983

          JOSE NAIM MERHEB PELATI DBA                  URB VILLA FONTANA VIA ELENA
   249809 NAIM MERHEB & ASSOCIAD                       BL‐9                                                                                                             CAROLINA           PR         00983
   686472 JOSE NARVAEZ CRUZ                            PMB 264                       PO BOX 4952                                                                        CAGUAS             PR         00726‐4952
   686473 JOSE NARVAEZ MARTINEZ                        URB VILLA CAROLINA            57 11 CALLE 51                                                                     CAROLINA           PR         00985
   249810 JOSE NARVAEZ ROSARIO                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   249811 JOSE NATAL HERNANDEZ                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686474 JOSE NAVARRO FLORES                          HC 30 BOX 32087                                                                                                  SAN LORENZO        PR         00754
   249812 JOSE NAVARRO RODRIGUEZ                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686475 JOSE NAVEIRA GONZALEZ                        PARC MAGUEYES                 73 B CALLE 8                                                                       BARCELONETA        PR         00617‐3145
   686476 JOSE NAZARIO FLORES                          E 8 BO CANTAGALLO                                                                                                JUNCOS             PR         00777‐4104
                                                       CALLE ROOSEVELT V‐19 JOSE
   249813 JOSE NEGRON ‐ PRESIDENTE                     MERCADO                                                                                                          CAGUAS             PR         00725
   686477 JOSE NEGRON BARRETO                          URB INTERAMERICANA            AM 17 CALLE 29                                                                     TRUJILLO ALTO      PR         00976
   686478 JOSE NEGRON COSME                            HC 02 BOX 4040                                                                                                   LAS PIEDRAS        PR         00771‐9602
   249814 JOSE NEGRON DIAZ                             REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686480 JOSE NEGRON MIRANDA                          BO SABANA HOYOS               CARR 2 R 639 KM 10 1                                                               ARECIBO            PR         00688
   686481 JOSE NEGRON PEREZ                            URB PASEOS REALES             67 CALLE LA REINA                                                                  ARECIBO            PR         00612
   686482 JOSE NEGRON TORRES                           URB SIERRA BAYAMON            13 CALLE 14                                                                        BAYAMON            PR         00961‐4434
   686483 JOSE NEGRON VIGO                             BO EL SECO                    9 CALLE THOMAS EDISON                                                              MAYAGUEZ           PR         00682



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  249816 JOSE NEGRONI VIVALDI                         REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOSE NELSON RAMIREZ LUGO
  249817 DBA CUENTA                                   REGRESIVA                      PO BOX 3187                                                                          MAYAGUEZ            PR         00681
         JOSE NELSON RODRIGUEZ
  249818 CEDENO                                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOSE NELSON VIZCARRONDO
  249819 MARRERO                                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686484 JOSE NERIS DE JESUS                          URB SAN MARTIN                 2 CALLE 4                                                                            PATILLAS            PR         00723
  686485 JOSE NESTOR CRUZ PEREZ                       URB EL MADRIGAL                E 51 CALLE 3                                                                         PONCE               PR         00731‐1415
  686486 JOSE NEVAREZ ORTIZ                           P O BOX 651                                                                                                         TRUJILLO ALTO       PR         00977‐0651
  686487 JOSE NIEVES                                  C 1 11 LA EXPERIMENTAL                                                                                              SAN JUAN            PR         00908
  686489 JOSE NIEVES ACEVEDO                          URB METROPOLIS                 2K30 CALLE 64                                                                        CAROLINA            PR         00987
  249822 JOSE NIEVES CASTRO                           REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686490 JOSE NIEVES CRUZ                             BO NUEVO                       RR 5 BOX 5470                                                                        BAYAMON             PR         00956
  249823 JOSE NIEVES GALARZA                          REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686488 JOSE NIEVES GARCIA                           PO BOX 1652                                                                                                         CANOVANAS           PR         00729‐1652
  686491 JOSE NIEVES NIEVES                           BO DOS BOCAS                   BOX 127                                                                              TRUJILLO ALTO       PR         00977
  686492 JOSE NIEVES RODRIGUEZ                        HP ‐ Forense RIO PIEDRAS                                                                                            Hato Rey            PR         009360000
  249825 JOSE NIEVES RUIZ                             REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249826 JOSE NIEVES TORRES                           REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOSE NIEVES/ CARMEN N
  249827 RODRIGUEZ                                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249828 JOSE NIN ROSARIO                             REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249829 JOSE NINE CURT                               REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   249830 JOSE NOEL RODRIGUEZ LAMBOY                  REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686495 JOSE NOGUE TORRES                           P O BOX 651                                                                                                         TRUJILLO ALTO       PR         00977‐0651
   249832 JOSE NOGUERAS VEGA                          REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249833 JOSE NORIEGA CARRERO                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686496 JOSE NORIEGA PEREZ                          HC 02 BOX 6324                                                                                                      RINCON              PR         00690
   686497 JOSE NU¥EZ VENTURA                          HC 8 BOX 38851                                                                                                      CAGUAS              PR         00725
   686498 JOSE NUNEZ CABALLERO                        51 CALLE CRISTO                APT 6                                                                                SAN JUAN            PR         00901
   249834 JOSE NUNEZ HERNANDEZ                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249836 JOSE NUNEZ SEDA                             REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249838 JOSE O ALBIZU CABRERA                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249839 JOSE O ALEJANDRO NEGRON                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686500 JOSE O ALICEA BARRETO                       27 EST LOS ROSALES III AVE 3                                                                                        MANATI              PR         00674
   249840 JOSE O ALVARADO COLON                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249841 JOSE O ALVARADO OTERO                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686502 JOSE O ALVARADO RIVERA                      URB VISTA MONTE                D 11 CALLE 2                                                                         CIDRA               PR         00739
   686503 JOSE O ALVAREZ AYALA                        URB VENUS GARDENS NORTE        A B 44 CALLE TAMAULIPAS                                                              SAN JUAN            PR         00926
   249842 JOSE O ALVAREZ GUTIERREZ                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE O ALVEIRO DOMINGUEZ
   249843 DBA CAYECO DIST                             COLINAS DE CAYEY #15 PACIFICO                                                                                       CAYEY               PR         00736
   686504 JOSE O APONTE ROSARIO                       HC 3 BOX 9890                                                                                                       BARRANQUITAS        PR         00794
   686505 JOSE O AVILES TORRES                        17 URB LAS QUINTAS                                                                                                  VEGA BAJA           PR         00693
   249844 JOSE O AYALA PRATTS                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249845 JOSE O BAEZ ALBINO                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   249846 JOSE O BENITEZ MALDONADO                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249847 JOSE O BENN SOTO                            REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686507 JOSE O BERDECIA PEREZ                       VALLE DE CERRO GORDO           R11 CALLE DIAMANTE                                                                   BAYAMON             PR         00956
   249848 JOSE O BONILLA GARCIA                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  249849 JOSE O CABAN FORTUNA                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOSE O CARRASQUILLO
  249850 FONTANEZ                                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249851 JOSE O CARRASQUILLO LOPEZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686512 JOSE O CHARDON PAGAN                         COM CANGREJOS                 SOLAR 97                                                                              HUMACAO             PR         00791
  686513 JOSE O CHIMELIS ORTEGA                       P O BOX 877                                                                                                         MANATI              PR         00674
  686514 JOSE O COLON GONZALEZ                        H C 71 BOX 6154                                                                                                     CAYEY               PR         00736 9518
  686515 JOSE O COLON TAPIA                           HC 43 BOX 10725                                                                                                     CAYEY               PR         00736
  249853 JOSE O COLON TORRES                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249856 JOSÉ O CRUZ NEGRÓN                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249857 JOSE O CRUZ RIVERA                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686518 JOSE O DELERME RIVERA                        ALT DE RIO GRANDE             C 43 CALLE 14 C                                                                       RIO GRANDE          PR         00745
  686519 JOSE O DIAZ CORTES                           URB CATALINA                  F 17 CALLE 3                                                                          BARCELONETA         PR         00617
  249859 JOSE O DIAZ MELENDEZ                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   686520 JOSE O DIAZ PEREZ                           COND GUARIONEX                3015 CALLE ALMONTE APT 1402                                                           SAN JUAN            PR         00926
   249861 JOSE O FABREGOS RAMIREZ                     REDACTED                      REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   686521 JOSE O FERNANDEZ MARTINEZ                   617 URB VILLAS DE LA SABANA                                                                                         BARCELONETA         PR         00617
   249862 JOSE O FIGUEROA BERRIOS                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249863 JOSE O FIGUEROA IRIZARRY                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680866 JOSE O FIGUEROA OLIVERAS                    HC 1 BOX 5188                                                                                                       CIALES              PR         00638
   686526 JOSE O FONSECA MARTINEZ                     PO BOX 1503                                                                                                         VEGA BAJA           PR         00694
   686528 JOSE O FRANCO GUTIERREZ                     HC 43 BOX 11600                                                                                                     CAYEY               PR         00736‐9201
   686529 JOSE O GARCIA                               HC 300 BOX 31660                                                                                                    SAN LORENZO         PR         00754
   686530 JOSE O GARCIA ALVAREZ                       URB LA CUMBRE                 15 CALLE WASHIGTON                                                                    SAN JUAN            PR         00926
   249864 JOSE O GARCIA ANDRADE                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686531 JOSE O GARCIA INCERA                        PO BOX 411                                                                                                          MAYAGUEZ            PR         00681‐0411
   686532 JOSE O GARCIA ORTIZ                         PO BOX 1630                                                                                                         CANOVANAS           PR         00729
   686533 JOSE O GARCIA VALDEZ                        URB BONNEVILLE HTS            5 CALLE YABUCOA                                                                       CAGUAS              PR         00725
   686534 JOSE O GONZALEZ CORTES                      PO BOX 7126                                                                                                         PONCE               PR         00732
   686535 JOSE O GONZALEZ GONZALEZ                    PO BOX 1904                                                                                                         PONCE               PR         00733

   249865 JOSE O GONZALEZ HERNANDEZ                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249866 JOSE O GONZALEZ MERCADO                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249867 JOSE O GONZALEZ QUINONES                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249868 JOSE O IRIZARRY MORALES                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249869 JOSE O JAVIER RIVERA                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   686536 JOSE O JIMENEZ                              1413 CALLE LAS PALMAS APT 1                                                                                         SAN JUAN            PR         00909‐2639
   686537 JOSE O JIMENEZ GOMEZ                        LAS PALMAS                    APTO 1413                                                                             SAN JUAN            PR         00909

   686538 JOSE O LAFONTAINE PIMENTEL                  URB MONTE CLARO               MF 20 CALLE PLAZA 21                                                                  BAYAMON             PR         00961
   686539 JOSE O LAGUER RUIZ                          RES COLOMBUS LANDING          EDIF 30 APT 318                                                                       MAYAGUEZ            PR         00680
   249870 JOSE O LAMBOY GONZALEZ                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686540 JOSE O LEON HERNANDEZ                       HC 44 BOX 13825                                                                                                     CAYEY               PR         00736
   686541 JOSE O LOPEZ                                432 CAHLETS DE BAYAMON                                                                                              BAYAMON             PR         00959
   686542 JOSE O LOPEZ CANALES                        BO BUEN CONSEJO               157 CALLE LEON                                                                        SAN JUAN            PR         00926
   249872 JOSE O LOPEZ LUGO                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686543 JOSE O LUGO MORALES                         6TA SECCION LEVITOWN          FR 5 FELIPE ARANA                                                                     LEVITTOWN           PR         00949
   249873 JOSE O MALDONADO LUNA                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249874 JOSE O MARRERO NIEVES                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249875 JOSE O MARTINEZ RIVERA                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  249876 JOSE O MEDINA HENRRICY                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686545 JOSE O MEDINA SANTIAGO                       JARDINES DE ADJUNTAS        B 8 CALLE AMAPOLA                                                                          ADJUNTAS            PR         00601
  686546 JOSE O MELENDEZ                              HC 2 BOX 7795                                                                                                          AIBONITO            PR         00705
  686549 JOSE O MELENDEZ SOTO                         PO BOX 7126                                                                                                            PONCE               PR         00732
  249877 JOSE O MIRANDA AROCHO                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686550 JOSE O MIRANDA JIMENEZ                       URB SIERRA BAYAMON          31 7 CALLE 29                                                                              BAYAMON             PR         00961
  249879 JOSE O MORALES COLON                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686551 JOSE O MORALES GONZALEZ                      PO BOX 191138                                                                                                          SAN JUAN            PR         00919‐1138
  249880 JOSE O MULERO ARZUAGA                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249881 JOSE O MUNIZ MERCADO                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686554 JOSE O NAVARRO                               APARTADO 623                                                                                                           ADJUNTAS            PR         00601
  249882 JOSE O NUNEZ RIVERA                          REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   249883 JOSE O OLMEDA MALDONADO                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249884 JOSE O ORTIZ ORTIZ                          REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249885 JOSE O ORTIZ SUAREZ                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686556 JOSE O ORTIZ VELDEZ                         URB JARDINES DE COAMO       P 3 CALLE 25                                                                               COAMO               PR         00769
   249886 JOSE O OSORIO FERNANDEZ                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686557 JOSE O OTERO RODRIGUEZ                      G 51 URB SEVILLA BILTMORE                                                                                              GUAYNABO            PR         00969
   686558 JOSE O PAGAN MONTALVO                       5140 MARTINIQUE                                                                                                        DR LAKE LAND        FL         33813
   686559 JOSE O PAGAN RIVERA                         P O BOX 1744                                                                                                           CAYEY               PR         00736
   249887 JOSE O PEREZ CORTES                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249888 JOSE O PEREZ MILLAN                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686560 JOSE O PEREZ SERRANO                        HC 01 BOX 2263                                                                                                         FLORIDA             PR         00650
   249889 JOSE O PIZARRO CERPA                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   249891 JOSE O PLANADEBALL NAVARRO                  REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686561 JOSE O RAMIREZ LUGO                         URB ALTOS DE LA FUENTES     G 13 CALLE 1                                                                               CAGUAS              PR         00725
   686562 JOSE O RAMOS COLLAZO                        H C 01 BOX 4183                                                                                                        MAUNABO             PR         00707
   686563 JOSE O RAMOS GONZALEZ                       P O BOX 193317                                                                                                         SAN JUAN            PR         00919‐3317
          JOSE O RAMOS VELEZ Y LUZ E
   249892 SANTIAGO                                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686564 JOSE O REYES HERRERO                        URB PARKVILLE J 23          CALLE JEFFERSON                                                                            GUAYNABO            PR         00969

   686566 JOSE O REYES PORTALATIN                     BELLA VISTA                 G21 CALLE 11 URB BELLA VISTA                                                               BAYAMON             PR         00957
   686567 JOSE O RIVERA ARROYO                        PO BOX 3359                                                                                                            BAYAMON             PR         00958‐0359
   686568 JOSE O RIVERA COLON                         CONDOMINIO VISTA REAL       STE 3 400 AVE A                                                                            FAJARDO             PR         00738
   686569 JOSE O RIVERA GARCIA                        URB LEVITTOWN               A D 15 CALLE MARGARITA                                                                     TOA BAJA            PR         00949
   686570 JOSE O RIVERA MARTINEZ                      BO JAUCA                                              193                                                              SANTA ISABEL        PR         00757
   249894 JOSE O RIVERA ORTIZ                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249895 JOSE O RIVERA QUINTANA                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249896 JOSE O RIVERA RIVERA                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249897 JOSE O ROBLES QUINONES                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249898 JOSE O RODRIGUEZ                            REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249900 JOSE O RODRIGUEZ BERRIOS                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686571 JOSE O RODRIGUEZ ERAZO                      URB SANTS SOUCI             C 3 CALLE 13                                                                               BAYAMON             PR         00957
   249902 JOSE O RODRIGUEZ GASCOT                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686572 JOSE O RODRIGUEZ MERCED                     URB. BRISAS DE LOIZA        CALLE LOE NUM 82                                                                           CANOVANAS           PR         00729
   249903 JOSE O RODRIGUEZ RAMOS                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686573 JOSE O RODRIGUEZ RIVERA                     PO BOX 3762                                                                                                            AGUADILLA           PR         00605
   686575 JOSE O RODRIGUEZ TORRES                     PO BOX 7126                                                                                                            PONCE               PR         00731
   686576 JOSE O ROJAS CASTELLA                       PO BOX 142038                                                                                                          ARECIBO             PR         00614‐2038
   686577 JOSE O ROLON DURAN                          URB HILSIDE                 A 22 CALLE 1                                                                               SAN JUAN            PR         00926



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  686578 JOSE O ROLON MIRANDA                         GOLDEN COURT 2              BZN 309                                                                                 SAN JUAN            PR         00918
  686579 JOSE O ROMAN MARTINEZ                        URB OLLER                   A2 CALLE 1                                                                              BAYAMON             PR         00956‐4416
  249904 JOSE O ROMERO JIMENEZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249905 JOSE O ROSA GARCIA                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686581 JOSE O ROSADO MORALES                        P O BOX 523                                                                                                         VILLALBA            PR         00766‐9701
  249906 JOSE O ROSARIO LAUREANO                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249907 JOSE O SAN MIGUEL                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOSE O SANABRIA MARQUEZ /
  686583 TOW SERV                                     PO BOX 1581                                                                                                         JUNCOS              PR         00777
  249908 JOSE O SANCHEZ RIVERA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249909 JOSE O SANDOVAL MUNOZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249910 JOSE O SANTIAGO CLASS                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686586 JOSE O SANTIAGO PAGAN                        HC 3 BOX 18044                                                                                                      RIO GRANDE          PR         00745
  686587 JOSE O SANTIAGO ROMAN                        HC 03 BOX 11789                                                                                                     JUANA DIAZ          PR         00795
  686589 JOSE O SERRANO DE JESUS                      BOX 30                                                                                                              BAJADERO            PR         00616
  249912 JOSE O SERRANO SAEZ                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249914 JOSE O TAVERAS LUCAS                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686591 JOSE O TOLEDO YIMET                          HC 1 BOX 3761                                                                                                       LARES               PR         00662
  249915 JOSE O TORO                                  REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  249916 JOSE O TORO DIAZ                             REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686592 JOSE O TORRES CRUZ                           URB JARDINES DE MAMEY       E 15 CALLE 2                                                                            PATILLA             PR         00723
  249918 JOSE O TORRES TORRES                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686597 JOSE O TOSADO MATOS                          BELLA VISTA                 C 7 CALLE 4                                                                             BAYAMON             PR         00957‐6030
  686598 JOSE O VALENTIN BURGOS                       BOX 549                                                                                                             JUANA DIAZ          PR         00795
  686600 JOSE O VARGAS BUFILL                         EXTENSION SAN AGUSTIN       389 CALLE 6                                                                             SAN JUAN            PR         00926

   249920 JOSE O. ALVERIO DOMINGUEZ                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249922 JOSE O. BONILLA GARCIA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249923 JOSE O. CEDENO CARABALLO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249924 JOSE O. COLON VELEZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686603 JOSE O. CRUZ MOLINA                         83 CALLE NUEVA                                                                                                      UTUADO              PR         00641
                                                                                  HG5 CALLE 267 URB COUNTRY
   686604 JOSE O. DELERME ORTIZ                       CONTRY CLUB                 CLUB                                                                                    CAROLINA            PR         00982
   249925 JOSE O. FERNANDEZ AVILES                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249926 JOSE O. FERNANDEZ CUEVAS                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249928 JOSE O. GONZALEZ DIAZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686605 JOSE O. HERNANDEZ GARCIA                    BO. OBRERO                  #712 CALLE 8                                                                            SAN JUAN            PR         00915
   249929 JOSE O. HERNANDEZ VELEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249930 JOSE O. MELENDEZ COLON                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249931 JOSE O. RIVERA MELENDEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   249932 JOSE O. ROLON MIRANDA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686607 JOSE O. SANTIAGO ROSADO                     SICOSOCIAL CAYEY                                                                                                    Hato Rey            PR         009360000
   686608 JOSE O. SOTO SANCHEZ                        HP ‐ SALA 5 BAJOS VARONES                                                                                           RIO PIEDRAS         PR         009360000
   249933 JOSE O. TORRES LOPEZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   686610 JOSE OBEN MARTINEZ                          URB LAS VEREDAS             B 21 CALLE VEREDA TROPICAL                                                              BAYAMON             PR         00961
   686611 JOSE OCACIO ORTIZ                           DORAVILLE SECCION 3         BLOQUE 5 NUM 6                                                                          DORADO              PR         00646
   686612 JOSE OCASIO CENTENO                         PORTAL DE LOS PINOS         C 55 CALLE 2                                                                            SAN JUAN            PR         00926
   249934 JOSE OCASIO COSME                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686613 JOSE OCASIO RIOS                            REPARTO SANTIAGO            D 21 BOX 337                                                                            NAGUABO             PR         00718
          JOSE OCASIO RODRIGUEZ Y
   249937 MARGARITA RODRIG                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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                                                      32 CALLE ACOSTA ESQ RUIZ
   686614 JOSE OCHOA ECHEVARRIA                       BELVIS                                                                                                            CAGUAS              PR           00725

   686616 JOSE ODALIS ROBLES VENTURA                  SECT CANTERA               2364 CALLE PUENTE                                                                      SAN JUAN            PR           00915
   249938 JOSE OJEDA & ASOC ESQ                       URB SAN AGUSTIN            410 CALLE SOLDADO LIBRAN                                                               SAN JUAN            PR           00923
          JOSE OJEDA AGOSTO Y MARTA
   249939 OJEDA LUGO                                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   686617 JOSE OJEDA APONTE                           BO LLANOS TUNA             BOQUERON CARR 103 KM 12 1                                                              CABO ROJO           PR           00623
   249940 JOSE OLIVERAS AYALA                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249941 JOSE OLIVERAS CINTRON                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686618 JOSE OLIVERAS JIMENEZ                       URB REXVILLE               AP 9 CALLE 59                                                                          BAYAMON             PR           00957
   680867 JOSE OLIVERI MARTINEZ                       URB SAGRADO CORAZON        418 CALLE SAN LEANDRO                                                                  SAN JUAN            PR           00926‐4215
   249942 JOSE OLIVIERI                               REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686619 JOSE OLIVIERI SANCHEZ                       C 15 URB LA VEGA                                                                                                  VILLALBA            PR           00766
   686620 JOSE OLIVO BATISTA                          PO BOX 7126                                                                                                       PONCE               PR           00732
   249944 JOSE OLIVO RODRIGUEZ                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249945 JOSE OLMO PEREZ                             REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686621 JOSE ONEILL FIGUEROA                        URB BARALT                 F 11 CALLE 4                                                                           FAJARDO             PR           00738

   686623 JOSE ONOFRE TORRES FERMOSO P O BOX 48                                                                                                                         YAUCO               PR           00698
   686624 JOSE OQUENDO GONZALEZ      HC 20 BOX 21600                                                                                                                    SAN LORENZO         PR           00754‐9706
   249948 JOSE OQUENDO NATAL         REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249949 JOSE ORAMA VAZQUEZ         REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   249950 JOSE ORAMAS                REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   249951 JOSE ORLANDO COLON COLLAZO REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   686627 JOSE ORLANDO CORIANO RIVERA URB SANS SOUCI                             Y 12 CALLE 15                                                                          BAYAMON             PR           00957
   249952 JOSE ORLANDO DELGADO        REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   686629 JOSE ORLANDO GARCIA GARCIA                  704 HIPODROMO APT 313                                                                                             SAN JUAN            PR           00909

   249953 JOSE ORLANDO GREEN RIVERA                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   686630 JOSE ORLANDO MATEO PEREZ                    PO BOX 57                                                                                                         AGUIRRE             PR           00704
   686631 JOSE ORLANDO MORENO                         P O BOX 191507                                                                                                    SAN JUAN            PR           00919
   686632 JOSE ORLANDO ORTIZ BAEZ                     VENUS GARDENS              1680 CALLE CUERNAVACA                                                                  SAN JUAN            PR           00926‐4728
          JOSE ORLANDO PEREZ
   686626 HERNANDEZ                                   HC 01 BOX 4211                                                                                                    GURABO              PR           00778
   686634 JOSE ORLANDO RIVERA                         CARRION MADURO             150 CALLE JOSE DE DIEGO                                                                CAYEY               PR           00736
          JOSE ORLANDO SANCHEZ
   686636 CONCEPCION                                  P.O. BOX 7896                                                                                                     CAGUAS              PR           00726
   686637 JOSE OROPEZA TORRES                         HC 1 BOX 8445                                                                                                     TOA BAJA            PR           00949
   686638 JOSE OROZCO REVERON                         P O BOX 10262                                                                                                     TAMPA               FL           33679
   686639 JOSE ORRACA                                 8 CALLE SAN SEBASTIAN                                                                                             SAN JUAN            PR           00901

   686640 JOSE ORRACA BRANDENBERGER                   8 CALLE SAN SEBASTIAN                                                                                             SAN JUAN            PR           00901
   686641 JOSE ORRIOLA RIVERA                         PO BOX 1633                                                                                                       BAYAMON             PR           00960
   686642 JOSE ORTEGA                                 RR 4 BOX 2785                                                                                                     BAYAMON             PR           00956
   686643 JOSE ORTEGA ALICEA                          COLINAS DE GUAYNABO A 2    CALLE POMARROSA                                                                        GUAYNABO            PR           00969‐6204
   686644 JOSE ORTEGA SANCHEZ                         RR 01 BOX 5773                                                                                                    MARICAO             PR           00606‐9711




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   686645 JOSE ORTIZ / AWILDA AQUINO                  PMB 27 PO BOX 819                                                                                                LARES                PR         00669
   686646 JOSE ORTIZ ACEVEDO                          63 CALLE JAGUITA                                                                                                 MAYAGUEZ             PR         00680
   686648 JOSE ORTIZ ALBIZU                           COND LAGO VISTA II APT 30 B                                                                                      TOA BAJA             PR         00949
   249956 JOSE ORTIZ BONILLA                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   686652 JOSE ORTIZ CRUZ                             BO POZUELO                    21 RR1 BOX6368                                                                     GUAYAMA              PR         00785
   249957 JOSE ORTIZ DEL VALLE                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   249958 JOSE ORTIZ DIAZ                             REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   249959 JOSE ORTIZ GONZALEZ                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   249960 JOSE ORTIZ GUZMAN                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   686656 JOSE ORTIZ ILARRAZA                         HC 1 BOX 2804                                                                                                    MOROVIS              PR         00687
   249961 JOSE ORTIZ LANZO                            REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   249962 JOSE ORTIZ LOPEZ                            REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   686658 JOSE ORTIZ MARTINEZ                         BO CELADA                     338 CALLE 27                                                                       GURABO               PR         00778
   686659 JOSE ORTIZ MEDRANO                          ESTANCIA DE TORTUGUERO        371 CALLE TARTAGO                                                                  VEGA BAJA            PR         00693
   686660 JOSE ORTIZ MELENDEZ                         URB REPARTO VALENCIA N        AE 24 CALLE 9                                                                      BAYAMON              PR         00956
   249964 JOSE ORTIZ MORALES                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   249966 JOSE ORTIZ NUNEZ                            REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   686662 JOSE ORTIZ OCASIO                           PO BOX 868                                                                                                       GUAYAMA              PR         00785
   249967 JOSE ORTIZ OLIVER                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   686663 JOSE ORTIZ ORTIZ                            HC 71 BOX 3038                                                                                                   NARANJITO            PR         00719
   249968 JOSE ORTIZ PINERO                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   686665 JOSE ORTIZ RIVERA                           HC 71 BOX 6947                                                                                                   CAYEY                PR         00736
   249969 JOSE ORTIZ RODIGUEZ                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   686668 JOSE ORTIZ RODRIGUEZ                        HC 2 BOX 9801                                                                                                    BARRANQUITAS         PR         00794
   249970 JOSE ORTIZ SANTANA                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   249971 JOSE ORTIZ TORRES                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   686672 JOSE ORTIZ VAZQUEZ                          PO BOX 4625                                                                                                      CAROLINA             PR         00984
          JOSE ORTIZ,MARIA
   686673 PADILLA,LYSSETTE MORALE                     URB VILLA BLANCA              70 CALLE AQUAMARINA                                                                CAGUAS               PR         00725‐1908
   249972 JOSE OSCAR CRUZ CRUZ                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   249974 JOSE OSCAR GONZALEZ AVILES                  REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   249976 JOSE OSCAR RIVERA FILOMENO                  REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   686675 JOSE OSCAR RODRIGUEZ PEREZ                  APARTADO 2080                                                                                                    AIBONITO             PR         00705
   686676 JOSE OSORIO BAEZ                            P O BOX 4952                                                                                                     CAGUAS               PR         00726
   249977 JOSE OSORIO CALDERON                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   686677 JOSE OSORIO FUENTES                         MINILLAS STATION              P O BOX 41269                                                                      SAN JUAN             PR         00940 1269
   686678 JOSE OSORIO RIVERA                          VILLA PALMERAS                161 CALLE LAS PALOMAS                                                              SAN JUAN             PR         00909
   686679 JOSE OSVALDO COTTO LUNA                     APARTADO 2234                                                                                                    CAYEY                PR         00737

   249978 JOSE OSVALDO VAZQUEZ PEREZ                  REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   686680 JOSE OTERO BUENAGA                          URB EL PILAR 1813             CALLE STA MARIA                                                                    SAN JUAN             PR         00926
          Jose Otero Contes y/o HG. La
   249979 Lomita                                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   249980 JOSE OTERO CRESPO                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   249981 JOSE OTERO DIAZ                             REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   249982 JOSE OTERO GARCIA                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   686684 JOSE OTERO PADILLA                          157 EL PUEBLITO                                                                                                  CIALES               PR         00638
   249984 JOSE OTERO RODRIGUEZ                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   686686 JOSE OTERO SANCHEZ                          HC 2 BOX 44645                                                                                                   VEGA BAJA            PR         00693



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  249985 JOSE OYOLA FIGUEROA                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  249986 JOSE OYOLA GARCIA                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  686687 JOSE OYOLA NEGRON                             URB VILLA RICA               AQ 13 CALLE EDMEE                                                                      BAYAMON            PR         00959
  686688 JOSE P ALEGRIA GARCIA                         BO VILLA JUSTICIA            1241 CALLE LAS MARIAS                                                                  CAROLINA           PR         00985
  686689 JOSE P APONTE TORRES                          P O BOX 740                                                                                                         TRUJILLO ALTO      PR         00977
  686690 JOSE P BURGOS CORCINO                         VILLA PRADES                 816 CALLE ARTURO PASARELL                                                              SAN JUAN           PR         00924
  249988 JOSE P MARTINEZ HARRISON                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  686691 JOSE P MAYSONET CABRERA                       URB DORADO DEL MAR           C 13 CALLE LIRIO DEL MAR                                                               DORADO             PR         00646
  249990 JOSE P PEREZ GUTIERREZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  249991 JOSE P PIZARRO OTERO                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  686693 JOSE P RIVERA RIVERA                          BOX 1300                                                                                                            GUAYAMA            PR         00785
  686694 JOSE P ROSA VEGA                              URB REXVILLE                 K6 CALLE 9                                                                             BAYAMON            PR         00957
  686695 JOSE PABLO ORTIZ                              P O BOX 323                                                                                                         GUAYAMA            PR         00785
  249993 JOSE PABLO VIVALDI RIVERA                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  249994 JOSE PABON GARCIA                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  249995 JOSE PABON SOTO                               REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  249996 JOSE PACHECO ARIZMENDI                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  686696 JOSE PACHECO FERMAID                          BO LOS NARANJALES            3 CALLE CERREZAS FINAL                                                                 VEGA BAJA          PR         00693
  686697 JOSE PACHECO ORTIZ                            BDA CLAUSELLS                4 CALLE 3                                                                              PONCE              PR         00730
  686698 JOSE PACHECO RODRIGUEZ                        SEC VILLA PAMPANOS           2023 AVE MANATI                                                                        PONCE              PR         00717
  249997 JOSE PACHECO VEGA                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  686700 JOSE PADILLA                                  PO BOX 63                                                                                                           LAS PIEDRAS        PR         00771
  686701 JOSE PADILLA DIAZ                             PO BOX 365028                                                                                                       SAN JUAN           PR         00936‐5028
  686702 JOSE PADILLA JIMENEZ                          HC 1 BOX 2185                                                                                                       BOQUERON           PR         00622‐9707
  686703 JOSE PADILLA MERCADO                          HC 2 BOX 11449                                                                                                      SAN GERMAN         PR         00683
  686704 JOSE PADILLA MONTESINO                        P O BOX 505                                                                                                         COROZAL            PR         00782
  686706 JOSE PADILLA MORALES                          BOX 645                                                                                                             SALINAS            PR         00751
  686707 JOSE PADILLA ORTIZ                            PO BOX 10666                                                                                                        SAN JUAN           PR         00922‐0666
                                                       67 RES LUIS LLORENS TORRES
   686709 JOSE PADRO                                   APT 1260                                                                                                            SAN JUAN           PR         00913
   249999 JOSE PADRO MONTALVO                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686710 JOSE PADRON VELEZ                            URB VILLA DEL CARMEN         2302 CALLE TURABO                                                                      PONC               PR         00716‐2220
   250000 JOSE PAGAN ARROYO                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686712 JOSE PAGAN AYALA                             1375 CORREO GENERAL                                                                                                 BOQUERON           PR         00602

   686713 JOSE PAGAN BECERRIL                          157 CALLE ANDRES ARUZ RIVERA                                                                                        CAROLINA           PR         00985
   686714 JOSE PAGAN FIGUEROA                          BO QDA DEL AGUA              151 CALLE 8                                                                            PONCE              PR         00731
   686715 JOSE PAGAN GINES                             PO BOX 4116                                                                                                         CIALES             PR         00638
   250001 JOSE PAGAN KORTRIGHT                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686718 JOSE PAGAN MARRERO                           PARCELAS ELIZABET            12 CALLE 6 PUERTO REAL                                                                 CABO ROJO          PR         00623
   686719 JOSE PAGAN MARTINEZ                          PO BOX 1230                                                                                                         MOROVIS            PR         00687 1230
   686720 JOSE PAGAN MONTALVO                          URB PASEOS REALES            324 CALLE DOVELLA                                                                      ARECIBO            PR         00612
   686721 JOSE PAGAN ORTIZ                             PO BOX 194461                                                                                                       SAN JUAN           PR         00919
   250002 JOSE PAGAN PEREZ                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686722 JOSE PAGAN RODRIGUEZ                         HC 01 BOX 2369                                                                                                      BARRANQUITAS       PR         00794
   686723 JOSE PAGAN TORRES                            HC 33 BOX 5358                                                                                                      DORADO             PR         00646
   686724 JOSE PALERMO FIONE                           PARK VILLE                   Q 4 CALLE TAYLON                                                                       GUAYNABO           PR         00969
   686725 JOSE PALMERO NEGRON                          PO BOX 1824                                                                                                         CABO ROJO          PR         00623
   686726 JOSE PANTOJAS CASTILLO                       PASEO DURIAN                 J 1272 ESQ BOULEVARD                                                                   LEVITTOWN          PR         00949
   686727 JOSE PARALITICCI                             PO BOX 9023323                                                                                                      SAN JUAN           PR         00902
   686728 JOSE PAREDES PUGA                            URB LAS AMERICAS             981 CALLE SAN SALVADOR                                                                 SAN JUAN           PR         00921‐2336
   686730 JOSE PASSALAQUA CACERES                      HC 764 BOX 8012              BO GUARDARRAYA                                                                         PATILLAS           PR         00723
   686731 JOSE PASTRANA ALVAREZ                        URB VILLA PRADES             701 CALLE JULIO ANDINO                                                                 SAN JUAN           PR         00924



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  250005 JOSE PEDRAGON FERRER                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250006 JOSE PEDROZA ORTIZ                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250007 JOSE PELET GONZALEZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686733 JOSE PENA                                    SANTA RITA                   63 CALLE BALBOA                                                                        SAN JUAN            PR         00925
  250009 JOSE PENA DE JESUS                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250010 JOSE PENA DIAZ                               REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250011 JOSE PENA OLMEDA                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250012 JOSE PENAGARICANO SOLER                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250013 JOSE PENCHI PORRATA                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250016 JOSE PERDOMO                                 REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   686735 JOSE PEREIRA ZAYAS                          CAPARRA HEIGTS 708 ESTANCIA                                                                                         SAN JUAN            PR         00922
   686736 JOSE PEREZ                                  RES LAS CASAS               EDF 26 APT 304                                                                          SAN JUAN            PR         00915
   686738 JOSE PEREZ ACEVEDO                          PO BOX 4                                                                                                            AGUADA              PR         00602
   250017 JOSE PEREZ AMAYA                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686740 JOSE PEREZ ARROCHO                          127 CALLE MARIA CAMPILLO                                                                                            QUEBRADILLAS        PR         00678
   686741 JOSE PEREZ BARBOSA                          HC 01 BOX 5402                                                                                                      CAMUY               PR         00627
          JOSE PEREZ BERRIOS / CONF
   686742 BEISBOL INTL                                MONTE VERDE                  H 3 CALLE 1                                                                            TOA ALTA            PR         00953
   686743 JOSE PEREZ BOSQUEZ                          HC 2 BOX 11850                                                                                                      MOCA                PR         00676
                                                      URB.PUERTO NUEVO 500
   686744 JOSE PEREZ BRAVO                            C/CONSTITUCION                                                                                                      SAN JUAN            PR         00920
   250018 JOSE PEREZ CANALES                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250019 JOSE PEREZ CASTRO                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686745 JOSE PEREZ COLLAZO                          PO BOX 10005                                                                                                        GUAYAMA             PR         00785
   250020 JOSE PEREZ FONSECA INC                      PO BOX 246                                                                                                          BAYAMON             PR         00960

   686746 JOSE PEREZ FRATICELLI                       FRENTE TERMINAL CARLOS GAR   108 CALLE UNION                                                                        PONCE               PR         00731
   250022 JOSE PEREZ GONZALEZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250023 JOSE PEREZ GULLON                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686747 JOSE PEREZ HUARNECK                         URB PATIOS DE REXVILLE       PA 07 CALLE 21 A                                                                       BAYAMON             PR         00957
   250024 JOSE PEREZ JIMENEZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250025 JOSE PEREZ LOPEZ                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250027 JOSE PEREZ MARQUEZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250028 JOSE PEREZ MORALES                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250029 JOSE PEREZ NIEVES                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250030 JOSE PEREZ NOVO                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686749 JOSE PEREZ ORTIZ                            HC 03 BOX 13881                                                                                                     COROZAL             PR         00783
   250032 JOSE PEREZ QUI¥ONES                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250033 JOSE PEREZ RAMOS                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686752 JOSE PEREZ RIVERA                           HC 03 BOX 9318                                                                                                      DORADO              PR         00646
   250035 JOSE PEREZ ROSADO                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686753 JOSE PEREZ RUIZ                             P O BOX 11324                                                                                                       SAN JUAN            PR         00931
   686755 JOSE PEREZ SANCHEZ                          HC 5 BOX 55227                                                                                                      CAGUAS              PR         00725
   686757 JOSE PEREZ SANTANA                          PMB 604 PO BOX 29029                                                                                                SAN JUAN            PR         00929‐0029
   686758 JOSE PEREZ SOLER                            PO BOX 892                                                                                                          QUEBRADILLAS        PR         00678
   686759 JOSE PEREZ SUAREZ                           59 BOSQUE DEL RIO                                                                                                   TRUJILLO ALTO       PR         00976
   686761 JOSE PEREZ TORRES                           PO BOX 2358                                                                                                         ARECIBO             PR         00613
   250037 JOSE PEREZ URENA                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686762 JOSE PEREZ VAZQUEZ                          SANTA TERESITA               AB2 CALLE 7                                                                            PONCE               PR         00731
          JOSE PEREZ Y/O ESSO CHEO
   686763 SERVICE STATION                             VILLA TORRIMAR               123 CALLE REINA MARGARITA                                                              GUAYNABO            PR         00969
   250038 JOSE PESANTE PINTO                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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                                                                                                                 Scheduled Claimants Service List
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MML ID                    NAME                                 ADDRESS 1                    ADDRESS 2                      ADDRESS 3                           ADDRESS 4              CITY       STATE    POSTAL CODE        COUNTRY
                                                                                  SEC. CUATRO CALLES CARR. #3
   250039 JOSE PET SHOP                               BO. SINGAPUR                #45                                                                                      ARROYO              PR         00714
   686764 JOSE PIMENTEL MELENDEZ                      BOX 1441                                                                                                             JUANA DIAZ          PR         00795
   250040 JOSE PINA MARTINEZ                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250041 JOSE PINEIRO VILLANUEVA                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250042 JOSE PIOVANETTI PEREZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686765 JOSE PIZARRO CORREA                         HC 01 BOX 2479                                                                                                       LOIZA               PR         00772‐9704
   250044 JOSE PIZARRO DIAZ                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686767 JOSE PIZARRO MONGE                          P O BOX 1041                                                                                                         SAINT JUST          PR         00978
   686768 JOSE PLAUD MEDINA                           URB ANAYDA                  E 10 CALLE MARGINAL                                                                      PONCE               PR         00731
   686769 JOSE PLAZA PADUA                            PO BOX 577                                                                                                           ADJUNTAS            PR         00601
   686770 JOSE PONCE                                  PO BOX 21365                                                                                                         SAN JUAN            PR         00928
   686771 JOSE PORBEN ULLOA                           PO BOX‐364624                                                                                                        SAN JUAN            PR         00936‐4624
   686772 JOSE PORTEADA ALONSO                        PO BOX 13584                                                                                                         SAN JUAN            PR         00908
   250045 JOSE POVENTUD LOPEZ                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   250046 JOSE PRADO Y CARMEN I RIVERA REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250047 JOSE PUIG RIVERA             REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686773 JOSE PUJALS                  SANTA RITA                                 56 DOMINGO CABRERA                                                                       SAN JUAN            PR         00926
   250049 JOSE Q RUIZ RUIZ             REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686774 JOSE QUESADA RIVERA          HC 1 BOX 5724                                                                                                                       CIALES              PR         00638
   686775 JOSE QUI¥ONES ELIAS          UNIVERSITY GARDENS 227                     CALLE CORNELL                                                                            SAN JUAN            PR         00927‐4124

   250050 JOSE QUI¥ONES ENCARNACION                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686776 JOSE QUIJANO DE JESUS                       CALLE RICARDO FIRPI         BOX 411                                                                                  CAMUY               PR         00627
   250051 JOSE QUILES ORTIZ                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250052 JOSE QUILICHINI                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250053 JOSE QUINONES                               REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   686778 JOSE QUINONES & ASSOCIATES                  PO BOX 13397                                              SANTURCE                                                   SAN JUAN            PR         00908
   250055 JOSE QUINONES CORREA                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250056 JOSE QUINONES DE JESUS                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250058 JOSE QUINONES LOPEZ                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250059 JOSE QUINONES MUNIZ                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250060 JOSE QUINONES ROSA                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250061 JOSE QUINONES SOTO                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686779 JOSE QUINONES TORRES                        BDA CAMPAMENTO              31 CALLE E                                                                               GURABO              PR         00778
   250063 JOSE QUINONES WILLIAMS                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250064 JOSE QUINONEZ VELAZQUEZ                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686780 JOSE QUINTANA PEREZ                         URB ZENO GANDIA             267 CALLE A                                                                              ARECIBO             PR         00612‐2252
   686781 JOSE QUINTERO RIVERA                        RIO GRANDE ESTATE           DD 14 CALLE 30                                                                           RIO GRANDE          PR         00745
   250066 JOSE R ABRAMS CASTRO                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250067 JOSE R ABREU RIVERA                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250068 JOSE R ACARON                               REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250070 JOSE R ACEVEDO DIAZ                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250071 JOSE R ACEVEDO LOPEZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686788 JOSE R ACEVEDO PINO                         CIUDAD JARDIN               3 CALLE GLADIOLA                                                                         CAROLINA            PR         00987
   250072 JOSE R ACOBES MALDONADO                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250073 JOSE R ACOSTA DESSUS                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
                                                      BO BUEN CONSEJO 157 CALLE
   686791 JOSE R ADORNO SANCHEZ                       CAPT AMEZ                                                                                                            SAN JUAN            PR         00926
   250074 JOSE R AGOSTO RIVERA                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250075 JOSE R AGOSTO ROSARIO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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          JOSE R AGUAYO RODRIGUEZ A/C
   250076 JOSE AGUAYO                 REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250077 JOSE R AGUILAR VELEZ        REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250078 JOSE R AGUILU DIAZ          REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   686793 JOSE R ALAYON & ASSOCIATES                  PO BOX 4414                                                                                                  CAROLINA            PR           00984
   686794 JOSE R ALEMAR ULLOA                         URB BORINQUEN            P 17 CALLE 12                                                                       CABO ROJO           PR           00623

   250080 JOSE R ALFONSO ALMODOVAR                    REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686795 JOSE R ALFONSO RODRIGUEZ                    HC 01 BOX 31020                                                                                              JUANA DIAZ          PR           00795
   250081 JOSE R ALICEA GALAN                         REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250082 JOSE R ALICEA TORRES                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686797 JOSE R ALLENDE NAVARRO                      URB VILLAS DE LOIZA      TT 7 CALLE 28 A                                                                     CANOVANAS           PR           00729

   250083 JOSE R ALVARADO ALMODOVAR REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   250084 JOSE R ALVARADO CARBONELL                   REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250085 JOSE R ALVARADO COLLAZO                     REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250086 JOSE R ALVARADO RIVERA                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686799 JOSE R ALVAREZ                              URB LOS ROSALES          E 34 CALLE 2                                                                        HUMACAO             PR           00791
   686800 JOSE R ALVAREZ COLON                        URB ROMANY               1859 CALLE SAN JOAQUIN                                                              SAN JUAN            PR           00926
   686801 JOSE R ALVAREZ MOSCOSO                      PO BOX 190821                                                                                                SAN JUAN            PR           00919‐0821
   686802 JOSE R ALVAREZ PEREZ                        PO BOX 1669                                                                                                  CABO ROJO           PR           00623
   686803 JOSE R ALVAREZ RIVERA                       HC 4 BOX 44866                                                                                               CAGUAS              PR           00725‐9669
   686804 JOSE R ALVAREZ VELEZ                        URB BAHIA VISTAMAR       1618 CALLE ALICANTE                                                                 CAROLINA            PR           00983
   686805 JOSE R AMADOR NAVEDO                        BDA SAN JOSE             12 CALLE C                                                                          MANATI              PR           00674
   686806 JOSE R AMILL HERNANDEZ                      6 AVENIDA LA PORTE                                                                                           GUAYAMA             PR           00784
   250089 JOSE R APONTE COLON                         REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686808 JOSE R APONTE FIGUEROA                      P O BOX 1204                                                                                                 SAN LORENZO         PR           00754‐1204
   250090 JOSE R APONTE GARCIA                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250091 JOSE R APONTE MARTINEZ                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250092 JOSE R APONTE QUINONES                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250093 JOSE R APONTE RODRIGUEZ                     REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250094 Jose R Arce Romero                          REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686809 JOSE R ARGUINZONI                           SAN LUIS                 7 CALLE JERICO                                                                      AIBONITO            PR           00705
   250095 JOSE R ARJONA DE CELIS                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686810 JOSE R ARVELO DE LEON                       VISTA VERDE              EDIF H APT 214                                                                      SAN JUAN            PR           00924
   686811 JOSE R ARZON GONZALEZ                       GRAN VISTA I             138 CAMINO REAL                                                                     GURABO              PR           00778
   250096 JOSE R ARZUAGA CASTILLO                     REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686812 JOSE R ASTACIO PLAZA                        RES VALLE VERDE          APARTAMENTO 68                                                                      ADJUNTAS            PR           00601
   686813 JOSE R ATILANO FONTANEZ                     URB LAS LOMAS            777 CALLE 31 SW                                                                     SAN JUAN            PR           00921
   686814 JOSE R AVILA                                C/O JOSE A TORRES        PO BOX 8000                                                                         SAN JUAN            PR           00910‐0800
   250097 JOSE R AVILES JIMENEZ                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250098 JOSE R AYALA MOLINA                         REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686815 JOSE R AYALA NAZARIO                        URB HERMANAS DAVILA      G 16 CALLE 16                                                                       BAYAMON             PR           00959‐5737
   686816 JOSE R AYALA ORTIZ                          SAN IGNACIO              1720 CALLE SAN EDMUNDO                                                              SAN JUAN            PR           00927‐6540
          JOSE R BACARDI/DYNAMIC
   250099 SOLAR SOLUTIONS                             PO BOX 29155                                                                                                 SAN JUAN            PR           00929‐0155
   686817 JOSE R BAEZ BAEZ                            HC 3 BOX 7496                                                                                                GUAYNABO            PR           00971‐9445
   686818 JOSE R BAEZ CASTILLO                        URB QUINTAS DE HUMACAO   B 9 CALLE D                                                                         HUMACAO             PR           00791
   686819 JOSE R BAEZ ORTIZ                           P O BOX 5745                                                                                                 CAGUAS              PR           00726
   250100 JOSE R BALZAC                               REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686821 JOSE R BARETO ROMAN                         HC 3 BOX 15186                                                                                               AGUADILLA           PR           00603



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MML ID               NAME                                       ADDRESS 1                     ADDRESS 2                        ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  686822 JOSE R BARRETO RAMOS                         JARDINES DE RIO GRANDE        CALLE 37 BOX                                                                               RIO GRANDE        PR         00745
  250101 JOSE R BARRETO ROMAN                         REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  686824 JOSE R BAS GARCIA                            URB LA CUMBRE                 289 CALLE LOS ROBLES                                                                       SAN JUAN          PR         00926
  686825 JOSE R BEAUCHAMP ROSAS                       19 PROLONGACION ORIENTE                                                                                                  HORMIGUEROS       PR         00660
  250102 JOSE R BELLO RIVERA                          REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  686826 JOSE R BENITEZ PONS                          662 CALLE CENTRAL APT 1 A                                                                                                SAN JUAN          PR         00907‐3405
  686827 JOSE R BENITO PONS                           STA DAVILA                    M 31 CALLE JUAN RAMOS                                                                      GUAYNABO          PR         00969
  686828 JOSE R BERMUDEZ ORTIZ                        1035 CALLE GUADALAJARA                                                                                                   CAROLINA          PR         00981

   250103 JOSE R BERMUDEZ QUINONEZ                    REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   686829 JOSE R BERNABE                              PO BOX 31149 65 INT STATION                                                                                              SAN JUAN          PR         00929

   686830 JOSE R BERNARD TIRADO        URB LEVITTOWN                                6 R 28 CALLE LUIS PALES MATOS                                                              TOA BAJA          PR         00949
   686831 JOSE R BERNARDI BERRIOS      HC 1 BOX 6242                                                                                                                           TOA BAJA          PR         00949
   686832 JOSE R BERRIOS FLORES        HC 3 BOX 5843                                                                                                                           HUMACAO           PR         00791
          JOSE R BETANCOURT/ NEW
   250105 ENERGY                       ESANCIAS DEL RIO                             44 CALLE YAGRUMO                                                                           CANOVANAS         PR         00745
   686836 JOSE R BONILLA PEREZ         HC 2 BOX 7862                                                                                                                           CAMUY             PR         00627
   250106 JOSE R BORDONADA RIVERA      REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   686837 JOSE R BORGES GOMEZ          HC 3 BOX 5636                                                                                                                           HUMACAO           PR         00791
          JOSE R BORIA FIGUEROA/TERESA
   686838 IRIZARRY                     MACHIN                                       8 CALLE B                                                                                  CAGUAS            PR         00725
   686839 JOSE R BOSQUE ACEVEDO        HC 01 P O BOX 4628                                                                                                                      LARES             PR         00669
   686840 JOSE R BOSQUE ROMAN          6 CALLE ALDARONDO                                                                                                                       LARES             PR         00669
   686841 JOSE R BOURDONY BAEZ         PO BOX 4032                                                                                                                             AGUADILLA         PR         00605
   686842 JOSE R BRACETTY CALDERON     VANS SCOY AK56 CALLE 6                                                                                                                  BAYAMON           PR         00957
   686843 JOSE R BURGOS ALVAREZ        HC 01 BOX 6291                                                                                                                          MOCA              PR         00676

   250108 JOSE R BURGOS CASTELLANOS                   REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   250109 JOSE R BURGOS RIVERA                        REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   680870 JOSE R BUXO RIVERA                          PO BOX 1156                                                                                                              SAN LORENZO       PR         00754
   250110 JOSE R CABAN MALDONADO                      REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   250111 JOSE R CABELLO TORRES                       REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   250112 JOSE R CABRERA ADORNO                       REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      2804 PARQUE TERRALINDA APTO
   686846 JOSE R CABRERA OTERO                        V4                                                                                                                       TRUJILLO ALTO     PR         00976
   250113 JOSE R CACHO TOSSAS                         REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   250114 JOSE R CADAVEDO                             REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   250115 JOSE R CALDERON                             REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   250116 JOSE R CALDERON CLEMENTE                    REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   250119 JOSE R CALLE AGUILU                         REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   686849 JOSE R CAMACHO BENITEZ                      MINILLAS STATION            P O BOX 41269                                                                                SAN JUAN          PR         00940 1269
   686850 JOSE R CAMACHO GONZALEZ                     VILLAS DORADA               462 CALLE 4                                                                                  CANOVANAS         PR         00729
   686851 JOSE R CAMACHO VEGA                         URB MANSIONES DEL SOL       MS 95 VIA PRIMAVERAL                                                                         SABANA SECA       PR         00952
   686852 JOSE R CAMERO ORTIZ                         BO GUAVATE 22550                                                                                                         CAYEY             PR         00736
   250122 JOSE R CANCIO GONZALEZ                      REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   686854 JOSE R CANTRELL RODRIGUEZ                   PO BOX 1644                                                                                                              MAYAGUEZ          PR         00681‐1644
   686855 JOSE R CAPELES PE¥A                         HC 04 BOX 47136                                                                                                          CAGUAS            PR         00725
   250123 JOSE R CARBONELL LOPEZ                      REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   250124 JOSE R CARDONA GONZALEZ                     REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   686857 JOSE R CARDONA ROMAN                        HC 01 BOX 1881                                                                                                           BOQUERON          PR         00622‐9705
   250125 JOSE R CARMONA                              REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  250126 JOSE R CARMONA BERROCAL      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250130 JOSE R CARRION               REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOSE R CARRION ‐ CHAPTER 13
  250132 TRUSTEE                      OLD SAN JUAN STATION       PO BOX 9023884                                                                        SAN JUAN            PR         00902‐3884
  686858 JOSE R CARRION CARRION       HC 01 BOX 6796                                                                                                   GURABO              PR         00778‐9557
  250134 JOSE R CARRION MORALES       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686859 JOSE R CARRION RAMIREZ       PO BOX 636                                                                                                       GURABO              PR         00778
  250135 JOSE R CARRION TRUSTEE       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOSE R CARRION Y/O ANTONIO
  686866 COLON                        OLD SAN JUAN STATION       PO BOX 9023884                                                                        SAN JUAN            PR         00902‐3884
         JOSE R CARRION Y/O BENJAMIN
  686867 RAMIREZ                      OLD SAN JUAN STATION       PO BOX 9023884                                                                        SAN JUAN            PR         00902‐3884
         JOSE R CARRION Y/O CARMELO P O BOX 9023884 OLD SAN JUAN
  686865 NAVARRO                      STATIO                                                                                                           SAN JUAN            PR         00902‐3884
         JOSE R CARRION Y/O CARMEN M
  686868 MERCADO                      OLD SAN JUAN STATION       PO BOX 9023884                                                                        SAN JUAN            PR         00902‐3884
         JOSE R CARRION Y/O ELIZABETH
  686869 CINTRON                      OLD SAN JUAN STATION       PO BOX 9023884                                                                        SAN JUAN            PR         00902‐3884
         JOSE R CARRION Y/O ERIC
  686870 CENTENO                      OLD SAN JUAN STATION       PO BOX 9023884                                                                        SAN JUAN            PR         00902‐3884
         JOSE R CARRION Y/O JUAN
  686871 ACOSTA MEDINA                OLD SAN JUAN STATION       PO BOX 9023884                                                                        SAN JUAN            PR         00902‐3884
         JOSE R CARRION Y/O JULIO R
  686872 MARTINEZ                     OLD SAN JUAN STATION       PO BOX 9023884                                                                        SAN JUAN            PR         00902‐3884
  250139 JOSE R CASANOVA              REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686874 JOSE R CASIANO HERNANDEZ     URB PEDREGALES             O31 CALLE ONIX                                                                        CANOVANAS           PR         00729
  250140 JOSE R CASILLAS GONZALEZ     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250141 JOSE R CASTRO ACEVEDO        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                 BOULEVARD MEDIA LUNA APT
  686877 JOSE R CASTRO RIVERA         URB ALTOS DE ESCORIAL 511  1108                                                                                  CAROLINA            PR         00987
  686878 JOSE R CASTRO SEVILLA        EMBALSE SAN JOSE           384 CALLE BURGOS                                                                      SAN JUAN            PR         00923
  250145 JOSE R CEDENO MALDONADO      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250146 JOSE R CENTENO               REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686880 JOSE R CEPEDA BORRERO        APARTADO 493                                                                                                     MERCEDITA           PR         00715‐0493
  250147 JOSE R CHEVEREZ MOLINA       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686882 JOSE R CINTRO RODRIGUEZ      PO BOX 194950                                                                                                    SAN JUAN            PR         00919‐4950
  686883 JOSE R CINTRON               PARCELAS NUEVAS            8165 BOX 58 APT 14                                                                    SABANA SECA         PR         00952
  250148 JOSE R CINTRON COLON         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250149 JOSE R CINTRON MELENDEZ      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686885 JOSE R CINTRON MOLINA        HC 4 BOX 12733                                                                                                   HUMACAO             PR         00791
  250150 JOSE R CINTRON NIEVES        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250151 JOSE R CINTRON VAZQUEZ       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250152 JOSE R CLAVELL CARMONA       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250153 JOSE R CLEMENTE ALEMAN       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686886 JOSE R COLEMAN TIO           52 KING COURT                                                                                                    SAN JUAN            PR         00911
  686887 JOSE R COLL                  URB EL MIRADOR             J 9 CALLE 6                                                                           SAN JUAN            PR         00926
  250154 JOSE R COLLAZO NIEVES        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686888 JOSE R COLON APONTE          PO BOX 2126                                                                                                      GUAYAMA             PR         00785
  250155 JOSE R COLÓN APONTE          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250156 JOSE R COLON BAEZ            REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  686889 JOSE R COLON BATTISTINI      PO BO 838                                                                                                        RINCON              PR         00677
  250157 JOSE R COLON CAMACHO         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250158 JOSE R COLON CORDERO         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  686891 JOSE R COLON FONTANEZ                        PO BOX 4551                                                                                                     SAN JUAN           PR         00919‐0000
  686892 JOSE R COLON HERNANDEZ                       SAN PATRICIO                28 RIVERA FERRER                                                                    GUAYNABO           PR         00969
  250159 JOSE R COLON MARTINEZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  686893 JOSE R COLON NEGRON                          PO BOX 2025                                                                                                     AIBONITO           PR         00705
  250160 JOSE R COLON NIEVES                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  680871 JOSE R COLON ORTIZ                           PO BOX 190                                                                                                      BARRANQUITAS       PR         00797
  250163 JOSE R COLON RODRIGUEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250165 JOSE R COLON TORRES                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  686894 JOSE R COLON VAZQUEZ                         HC 764 BUZON 6029                                                                                               PATILLAS           PR         00723
  250166 JOSE R COMAS VAZQUEZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  686896 JOSE R CORDERO                               URB JARDINES DE CAPARRA     YY4 CALLE 14                                                                        BAYAMON            PR         00959
  250167 JOSE R CORDERO VELEZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250168 JOSE R CORONAS RODRIGUEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  686898 JOSE R CORRALES CORRALES                     UPR STATION                 P O BOX 23014                                                                       SAN JUAN           PR         00931‐3014
  686899 JOSE R CORREA MOLINA                         URB VISTA BELLA             Q2 CALLE RENO                                                                       BAYAMON            PR         00956
  686900 JOSE R CORRETJER LLORENS                     URB COLINAS DE FAIR VIEW    4D3 CALLE 202                                                                       TRUJILLO ALTO      PR         00976
  686901 JOSE R CORTES SOTO                           COCO BEACH                  204 CALLE MANATI                                                                    RIO GRANDE         PR         00745
  250169 JOSE R CORTES VELEZ                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   686902 JOSE R COSTACAMPS SANABRIA                  8605 SW 160 ST                                                                                                  MIAMI              FL         33157
   686903 JOSE R COSTAS ACOSTA                        8 BRISAS DEL LAGO                                                                                               COTTO LAUREL       PR         00780
   686904 JOSE R COTTO BAEZ                           P O BOX 8652                                                                                                    CAGUAS             PR         00726
   250170 JOSE R COTTO BONILLA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250171 JOSE R COTTO ROSARIO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250173 JOSE R COTTO VILLEGAS                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686905 JOSE R CRESPO NIEVES                        BARRIO OBRERO               669 CALLE 15                                                                        SAN JUAN           PR         00915
   686906 JOSE R CRUZ AGUSTINI                        A 1 VILLAS DEL SERRAL                                                                                           LARES              PR         00669
   250174 JOSE R CRUZ CRUZ                            REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250175 JOSE R CRUZ FELICIANO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250176 JOSE R CRUZ MARRERO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250177 JOSE R CRUZ MONTALVO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686908 JOSE R CRUZ RODRIGUEZ                       URB VILLA ESPERANZA         APARTADO 6066                                                                       CAGUAS             PR         00725
   250178 JOSE R CRUZ TIRADO                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686909 JOSE R CUADRADO DIAZ                        PO BOX 4956 PMB 1218                                                                                            CAGUAS             PR         00726
   686910 JOSE R CUEBAS VAZQUEZ                       PO BOX 192966                                                                                                   SAN JUAN           PR         00919‐2966
   686911 JOSE R CUEVAS RAMOS                         PO BOX 9474                                                                                                     BAYAMON            PR         00960
   250179 JOSE R CUEVAS RODRIGUEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250180 JOSE R DAVILA                               REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   686912 JOSE R DAVILA RODRIGUEZ                     EXT QUINTAS DE MONSERRATE   22 CALLE 7                                                                          PONCE              PR         00730
   250181 JOSE R DAVILA SEPULVEDA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686913 JOSE R DE JESUS                             HC 01 BOX 14886                                                                                                 COAMO              PR         00769
   250182 JOSE R DE JESUS CRESPO                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250183 JOSE R DE JESUS MELENDEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686914 JOSE R DE JESUS NIEVES                      VILLA LOS PESCADORES        68 CALLE MERLUZA                                                                    VEGA BAJA          PR         00693
   250184 JOSE R DE JESUS PEREZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250186 JOSE R DE JESUS RIVERA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250187 JOSE R DE JESUS ROJAS                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686915 JOSE R DE JESUS VAZQUEZ                     PO BOX 148                                                                                                      CIDRA              PR         00739

   686916 JOSE R DE LA CONCHA SANTOS                  URB INTERAMERICANA GDNS     AB 17 CALLE 28                                                                      TRUJILLO ALTO      PR         00976
   250189 JOSE R DE LA VEGA                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   686918 JOSE R DE LEON NIEVES                       BOX 415                                                                                                         COROZAL            PR         00783



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                                                      URB JOSE SEVERO QUINONES H
   686920 JOSE R DEL VALLE FRAGUADO                   52                           CALLE EUSEBIO GONZALEZ                                                              CAROLINA            PR           00985

   686921 JOSE R DEL VALLE RODRIGUEZ                  PO BOX 10590                                                                                                     SAN JUAN            PR           00922‐0590
   686922 JOSE R DELANNOY PIZZINI                     COND PUERTA DEL SOL          APT 808                                                                             SAN JUAN            PR           00926
   686923 JOSE R DELERME DUARTE                       PO BOX 9024275                                                                                                   SAN JUAN            PR           00902‐4275

   686924 JOSE R DELGADO HERNANDEZ                    HC 67 BOX 16701                                                                                                  FAJARDO             PR           00738
   686925 JOSE R DELGADO LOZADA                       URB VILLA UNIVERSITARIA      V 35 CALLE 2                                                                        HUMACAO             PR           00791
   250190 JOSE R DELGADO RIVERA                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250191 JOSE R DELIZ ALVAREZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250192 JOSE R DIAZ BERRIOS                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686926 JOSE R DIAZ BETANCOURT                      ROYAL TOWN                   J 10 CALLE 26                                                                       BAYAMON             PR           00956
   686929 JOSE R DIAZ COLON                           HC 1 BOX 5742                                                                                                    YABUCOA             PR           00767
          JOSE R DIAZ DE LEON DBA ALL
   686931 SEC SERV                                    PO BOX 270214                                                                                                    SAN JUAN            PR           00927‐0214
   686932 JOSE R DIAZ DIAZ                            BO SAN ISIDRO 246           SECT MONTE VERDE                                                                     CANOVANAS           PR           00729
   250193 JOSE R DIAZ ECHANDY                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250194 JOSE R DIAZ FELIX                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250195 JOSE R DIAZ GARCIA                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686933 JOSE R DIAZ GASCOT                          PO BOX 306                                                                                                       TOA ALTA            PR           00954
   250196 JOSE R DIAZ MARQUEZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250197 JOSE R DIAZ MEDINA                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250198 JOSE R DIAZ MONGE                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250199 JOSE R DIAZ NATER                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686934 JOSE R DIAZ NIEVES                          PO BOX 413                                                                                                       JUNCOS              PR           00777
   250200 JOSE R DIAZ RIOS                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      ALTURAS DE BORINQUEN
   686935 JOSE R DIAZ RIVAS                           GARDENS                     LL 12 CALLE ROSE                                                                     SAN JUAN            PR           00926
   250202 JOSE R DIAZ RODRIGUEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686938 JOSE R DIAZ ROSA                            HC 02 BOX 30199                                                                                                  CAUGUAS             PR           00727‐9404
   250204 JOSE R DIAZ SANCHEZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      URB.PUERTO NUEVO 1206 CALLE
   686940 JOSE R DIAZ SOLLA                           4 NE                                                                                                             SAN JUAN            PR           00920
   680872 JOSE R DIEPPA BERNABE                       PO BOX 361821                                                                                                    SAN JUAN            PR           00936
   686941 JOSE R DOMENA VELEZ                         P O BOX 2331                                                                                                     ARECIBO             PR           00613
   686942 JOSE R DONES LOPEZ                          PO BOX 372077                                                                                                    CAYEY               PR           00736
   686945 JOSE R ELIAS RODRIGUEZ                      VILLA ANGELINA              10 CALLE 1                                                                           LUQUILLO            PR           00773
   250206 JOSE R ESQUILIN MANGUAL                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250207 JOSE R ESTRADA VAZQUEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250208 JOSE R FARIA COLLAZO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686949 JOSE R FELICIANO COLON                      PO BOX 7515                                                                                                      CAROLINA            PR           00986
   250209 JOSE R FELICIANO RIVERA                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686950 JOSE R FELICIANO TORRES                     BO DOMINGUITO               SECTOR ALTO CUBA                                                                     ARECIBO             PR           00612
   686951 JOSE R FERNANDEZ CHINEA                     P O BOX 8899                                                                                                     BAYAMON             PR           00960
                                                      ESQ GRANADA PUNTA LAS
   680868 JOSE R FERNANDEZ MORALES                    MARIAS                      2407 CALLE CAOBA                                                                     SAN JUAN            PR           00913
   686952 JOSE R FERNANDEZ VEGA                       P O BOX 672                                                                                                      YABUCOA             PR           00767
   250212 JOSE R FERRE MELENDEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250213 JOSE R FIGUEROA                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250214 JOSE R FIGUEROA FIGUEROA                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686955 JOSE R FIGUEROA GARCIA                      HC 3 BOX 14314                                                                                                   YAUCO               PR           00698
   686956 JOSE R FIGUEROA GONZALEZ                    VILLAS DE LOIZA             I 27 CALLE 4                                                                         CANOVANAS           PR           00729



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   686957 JOSE R FIGUEROA HERNANDEZ                   URB VILLA SERENA            A 15 CALLE DANUBE                                                                   SANTA ISABEL        PR         00757
   250215 JOSE R FIGUEROA RIVERA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250216 JOSE R FIGUEROA ROBLES                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686958 JOSE R FIGUEROA SANCHEZ                     RR 1 BOX 11182                                                                                                  MANATI              PR         00674
   250217 JOSE R FLORES CABAN                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250218 JOSE R FLORES VAZQUEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250219 JOSE R FONSECA FONTANET                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250220 JOSE R FONSECA RODRIGUEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686961 JOSE R FONTANEZ                             P O BOX 117                                                                                                     COMERIO             PR         00782
   686962 JOSE R FORTIS                               URB JARDINES DE GURABO      219 CALLE 10                                                                        GURABO              PR         00778
   250221 JOSE R FUENTES PIðERO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JOSE R FUENTES
   250226 RODRIGUEZ/CARIBBEAN                         RENEWABLE TECHNOLOGIES INC EST DE TORTUGUERO         120 CALLE TOLEDO                                           VEGA BAJA           PR         00693‐3602
   250227 JOSE R FUSTE GONZALEZ                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250228 JOSE R GALARZA FELICIANO                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686966 JOSE R GALARZA MERCADO                      URB LA QUINTA              H 22 CALLE 3                                                                         YAUCO               PR         00698
   686967 JOSE R GANDARA CARBONELL                    P.O. BOX 170                                                                                                    MAYAGUEZ            PR         00681‐0170
   250229 JOSE R GARAY LOPEZ                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250230 JOSE R GARCIA                               REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250231 JOSE R GARCIA ACEVEDO                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686969 JOSE R GARCIA COLON                         URB MARIA DEL CARMEN       E 10 CALLE 4                                                                         COROZAL             PR         00783
   686970 JOSE R GARCIA GARCIA                        HC 1 BOX 4434                                                                                                   JUANA DIAZ          PR         00795
   250232 JOSE R GARCIA GUTIERREZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250235 JOSE R GARCIA PAGAN                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250236 JOSE R GARCIA RODRIGUEZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250238 JOSE R GOITIA RODRIGUEZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686972 JOSE R GOMEZ                                HC 1 BOX 29030                                                                                                  CAGUAS              PR         00725‐8900
   250239 JOSE R GOMEZ BIAMON                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686974 JOSE R GOMEZ BLANCO                         URB VILLA DEL REY          LD 11 CALLE 30                                                                       CAGUAS              PR         00725
   250240 JOSÉ R GÓMEZ LÓPEZ                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686977 JOSE R GOMEZ RAMOS                          URB VILLA TURABO           L 15 CALLE ROBLE                                                                     CAGUAS              PR         00725

   686978 JOSE R GOMEZ RIVERA                         JARDINES DE SANTO DOMINGO   C9 CALLE 3A                                                                         JUANA DIAZ          PR         00795
   250241 JOSE R GOMEZ SOTO                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250242 JOSE R GONZALEZ COLON                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   250243 JOSE R GONZALEZ CONCEPCION                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JOSE R GONZALEZ DBA
   250244 MECANICA TITO                               PO BOX 310                                                                                                      CIALES              PR         00638
   250245 JOSE R GONZALEZ DONES                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   250246 JOSE R GONZALEZ ECHEVARRIA                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   250247 JOSE R GONZALEZ GONZALEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686980 JOSE R GONZALEZ MARQUEZ                     JARDINES DE BORINQUEN       43 CALLE 1 0                                                                        CAROLINA            PR         00985
   250248 JOSE R GONZALEZ MARRERO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686982 JOSE R GONZALEZ REYES                       HC 1 BOX 11500                                                                                                  ARECIBO             PR         00612
   686983 JOSE R GONZALEZ ROMAN                       URB LOMAS DE CAROLINA       B 3 CALLE LOS PICACHOS                                                              CAROLINA            PR         00987
   686984 JOSE R GONZALEZ RUIZ                        P O BOX 479                                                                                                     PATILLAS            PR         00723
   686985 JOSE R GONZALEZ SANTIAGO                    URB METROPOLIS              8 ‐ 2 CALLE 40                                                                      CAROLINA            PR         00987
   250249 JOSE R GONZALEZ SUAREZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   686986 JOSE R GONZALEZ VARGAS                      PO BOX 325                                                                                                      SAN ANTONIO         PR         00690




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   250250 JOSE R GONZALEZ/ SYLVIA COSTA REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250251 JOSE R GRAJALE ROLDAN         REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686987 JOSE R GRANDE FERNANDEZ       URB SAN IGNACIO                            1778 CALLE SAN DIEGO                                                                     SAN JUAN            PR           00927‐6805
   250252 JOSE R GRAZIANI IRIZARRY      REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250253 JOSE R GREEN CRUZ             REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250254 JOSE R GUADALUPE DELGADO      REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250255 JOSE R GUEVARA SANCHEZ        REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250256 JOSE R GUILLOTY MORALES       REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686990 JOSE R GUZMAN                 URB HACIENDA                               A P 2 CALLE 48                                                                           GUAYAMA             PR           00784

   686991 JOSE R GUZMAN BETANCOURT                    HACIENDA DE CARRAIZO I       RR 7 BOX 32                                                                              SAN JUAN            PR           00926
   250258 JOSE R GUZMAN MONTERO                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250259 JOSE R GUZMAN VIRELLA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250260 JOSE R GUZMAN VIROLA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686993 JOSE R HERNANDEZ                            URB BACO                     G 23 SECTOR SABANA                                                                       ENSENADA            PR           00647
   686994 JOSE R HERNANDEZ ALVAREZ                    BDA VILLA ALEGRE             61 CALLE MALAVE                                                                          CAYEY               PR           00736

   250261 JOSE R HERNANDEZ BORRERO                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250262 JOSE R HERNANDEZ BRUNO                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250263 JOSE R HERNANDEZ COLLAZO                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   686995 JOSE R HERNANDEZ DIAZ                       PO BOX 9021112                                                                                                        SAN JUAN            PR           00902‐1112
   250264 JOSE R HERNANDEZ FALCON                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   686997 JOSE R HERNANDEZ FIGUEROA                   HC 02 BOX 20601                                                                                                       MAYAGUEZ            PR           00680
   250265 JOSE R HERNANDEZ GOMEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   250266 JOSE R HERNANDEZ HERNANDEZ REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250268 JOSE R HERNANDEZ MORALES   REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250269 JOSE R HERNANDEZ MUNIZ     REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   687000 JOSE R HERNANDEZ RUIZ                       COND RIVERSIDE PLAZA         74 CALLE SANTA CRUZ APT D19                                                              BAYAMON             PR           00961
   250270 JOSE R HERNANDEZ SANCHEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250271 JOSE R HERNANDEZ SUAREZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250272 JOSE R HERNANDEZ TORRES                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687003 JOSE R HERNANDEZ VARGAS                     URB BELLA VISTA              Q89 CALLE 20                                                                             BAYAMON             PR           00957
                                                      URB LOS COLOBOS PARK 307
   687004 JOSE R HERRANS HERRANS                      C/CAOBO                                                                                                               CAROLINA            PR           00985
   687005 JOSE R IBARRA MORALES                       PO BOX 40440                 MINILLA STATION                                                                          SAN JUAN            PR           00940
                                                      COND SAN JORGE GARDENS APT
   687006 JOSE R IGLESIAS GONZALEZ                    2B                           267 CALLE SAN JORGE                                                                      SAN JUAN            PR           00912
   250274 JOSE R IRIZARRY MILAN                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250275 JOSE R IRIZARRY MUNOZ                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250276 JOSE R IRIZARRY RODRIGUEZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   250278 JOSE R IZQUIERDO II RODRIGUEZ REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687008 JOSE R JIMENEZ CANDELARIA     PARCELA IMBERY                             21 CALLE 1                                                                               BARCELONETA         PR           00617
   250279 JOSE R JIMENEZ MARRANZINI     REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250280 JOSE R JIMENEZ RUIZ           REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250281 JOSE R LA SANTA MEDINA        REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250282 JOSE R LABOY FERNANDINI       REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250283 JOSE R LABOY VELAZQUEZ        REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   250284 JOSE R LABRADOR FERNANDEZ                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   250285 JOSE R LAGO NEGRON                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   250286 JOSE R LAMBOY ROBLES                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   687011 JOSE R LANCLOS COLON                        URB CIUDAD REAL          57 ALCIRA                                                                         VEGA BAJA            PR           00693
   250287 JOSE R LANDRON GUARDIOLA                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   250288 JOSE R LATORRE ACEVEDO                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   250289 JOSE R LAZARO PAOLI                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   687012 JOSE R LEBRON                               VENUS GARDENS            666 CALLE MANZANILLO                                                              SAN JUAN             PR           00926
   687013 JOSE R LEBRON COLON                         HC 01 BOX 3312                                                                                             MAUNABO              PR           00707
   250290 JOSE R LEBRON SANABRIA                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   687015 JOSE R LEBRON VELAZQUEZ                     165 CALLE JUAN B HUYKE                                                                                     SAN JUAN             PR           00918
   250291 JOSE R LEON HERNANDEZ                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   250292 JOSE R LEON RODRIGUEZ                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   687016 JOSE R LEON TORRES                          P O BOX 190622                                                                                             SAN JUAN             PR           00919‐0622
   250293 JOSE R LLOP DAPENA                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   250294 JOSE R LOPEZ                                REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   250296 JOSE R LOPEZ CEPERO                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   250297 JOSE R LOPEZ DE VICTORIA                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JOSE R LOPEZ DE VICTORIA
   687018 BRASS                                       PO BOX 95                                                                                                  MAYAGUEZ             PR           00681
   250299 JOSE R LOPEZ DIAZ                           REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   250300 JOSE R LOPEZ NAVARRO                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   687019 JOSE R LOPEZ NAVEDO                         P O BOX 8827                                                                                               BAYAMON              PR           00960‐8827
   250301 JOSE R LOPEZ REYMUNDI                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   250302 JOSE R LOPEZ RIVERA                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   687023 JOSE R LOPEZ ROSARIO                        HC 03 BOX 22446                                                                                            RIO GRANDE           PR           00745
   250303 JOSE R LOPEZ SIERRA                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   250304 JOSE R LOPEZ TORRES                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   250305 JOSE R LOPEZ VALENCIA                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   250306 JOSE R LOPEZ VALENTIN                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   250307 JOSE R LOPEZ VARGAS                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JOSE R LOZADA DBA AUTO
   687024 SECURITY SYSTEM                             PO BOX 3854                                                                                                BAYAMON              PR           00958
          JOSE R LOZANO Y LOZANO
   687026 CATERING                                    P O BOX 1288                                                                                               GUAYAMA              PR           00785
   250308 JOSE R LUGO AFANADOR                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   250309 JOSE R LUGO LUGO                            REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   680873 JOSE R LUGO SEGARRA                         URB UNIVERSITY GDNS      256 CALLE COLOMBIA                                                                SAN JUAN             PR           00927‐4126
   250310 JOSE R MACHADO ARCE                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   250311 JOSE R MACHADO BARRETO                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   687027 JOSE R MADERA PEREZ                         URB SAN GERALDO                                                                                            SAN JUAN             PR           00926
   250312 JOSE R MADERA PRADO                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   250313 JOSE R MAISONET ALVAREZ                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   687029 JOSE R MAISONET JAVIER                      1505 BO ESPINAL                                                                                            AGUADA               PR           00602
   250314 JOSE R MAISONET RIVERA                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   687031 JOSE R MALDONADO                            1516 CALLE SAN RAFAEL                                                                                      SAN JUAN             PR           00909

   250316 JOSE R MALDONADO ESTRADA                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   687033 JOSE R MALDONADO GARAY                      3RA SEC LEVITTOWN        3197 CALLE CENTURION                                                              TOA BAJA             PR           00949

   687034 JOSE R MALDONADO SANCHEZ                    BO OLLAS                 H C 01 BOX 5105                                                                   SANTA ISABEL         PR           00757




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   680874 JOSE R MALDONADO SANCHEZ                    PO BOX 1281                                                                                                     MANATI              PR           00674‐1281
   687036 JOSE R MARCANO FANTAUZZI                    COUNTRY CLUB                ME 4 CALLE 404                                                                      CAROLINA            PR           00982

   250317 JOSE R MARCANO MALDONADO                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250318 JOSE R MARCHAND                             REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687038 JOSE R MARIN HERNANDEZ                      URB SAN FELIZ               A 43 CALLE 1                                                                        COROZAL             PR           00783
   687039 JOSE R MARQUEZ                              P O BOX 652                                                                                                     LAS PIEDRAS         PR           00771‐0652
   687040 JOSE R MARRERO DELGADO                      JARDINES DE CAPARRA         TT 33 CALLE MARGINAL 5                                                              BAYAMON             PR           00959
   250320 JOSE R MARRERO FOSSE                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250321 JOSE R MARRERO GONZALEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250322 JOSE R MARRERO MUNOZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687042 JOSE R MARTINEZ BARROSO                     PO BOX 1000                                                                                                     MANATI              PR           00674
   687043 JOSE R MARTINEZ BAUZA                       URB EXT SAN ANTONIO         M 9 CALLE 10                                                                        HUMACAO             PR           00771
   687044 JOSE R MARTINEZ COELLO                      PO BOX 1324                                                                                                     JAYUYA              PR           00664
   250324 JOSE R MARTINEZ PICART                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   687048 JOSE R MARTINEZ RAMOS                       URB JARDINES COUNTRY CLUB   CF 1 CALLE 139                                                                      CAROLINA            PR           00984
          JOSE R MARXUACH GIL DE LA
   250325 MADRID                                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687051 JOSE R MATEO SOLIVAN                        URB LEVITWON LAKES          U 5 CALLE LEILA ESTE                                                                TOA BAJA            PR           00949
   250326 JOSE R MATEO TORRES                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687054 JOSE R MATOS                                URB COLLEGE PARK            APT 801A                                                                            SAN JUAN            PR           00921
   687055 JOSE R MATOS GONZALEZ                       ESTANCIAS DE SANTA ISABEL   326 CALLE ESMERALDA                                                                 SANTA ISABEL        PR           00757

   250328 JOSE R MAXUACH DE LA MADRID REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE R MEDERO
   687056 ROSARIO/TRANSP MEDERO       VILLA DE LOIZA                              RR 7 CALLE 29                                                                       LOIZA               PR           00729
   250329 JOSE R MEDINA FEBO          REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250330 JOSE R MEDINA MONROIG       REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687059 JOSE R MEDINA SASTRE        HC 02 BOX 8503                                                                                                                  JUANA DIAZ          PR           00795
   687060 JOSE R MEDINA VELAZQUEZ     URB BUNKER                                  457 CALLE M                                                                         CAGUAS              PR           00725
   250331 JOSE R MEDRANO PAGAN        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687061 JOSE R MELENDEZ             HC 44 BOX 13457                                                                                                                 CAYEY               PR           00736

   687062 JOSE R MELENDEZ HERNANDEZ                   HC 01 BOX 3528              CARR 143 KM 40 2                                                                    VILLALBA            PR           00766
   250333 JOSE R MELENDEZ MARTINEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687063 JOSE R MELENDEZ MIRANDA                     URB METROPOLIS 111          2M 85 AVE D                                                                         CAROLINA            PR           00987

   687064 JOSE R MELENDEZ SOTOMAYOR PO BOX 70158                                                                                                                      SAN JUAN            PR           00936‐8158
          JOSE R MELENDEZ Y RAMONITA
   250334 MORALES                    REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                     PARC MANUEL CANDELARIO BO
   687066 JOSE R MENDEZ REYES        BAYANEY                                                                                                                          HATILLO             PR           00659
   250335 JOSE R MENENDEZ MARRERO    REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687067 JOSE R MERCADO DIAZ        PO BOX 211                                                                                                                       MAYAGUEZ            PR           00681
   250336 JOSE R MERCED HERNANDEZ    REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687070 JOSE R MERRERO CINTRON     P O BOX 407                                                                                                                      COROZAL             PR           00783
   687071 JOSE R MILAN NEGRON        BOX 544                                                                                                                          SABANA GRANDE       PR           00637
   687072 JOSE R MIMBS COSTAS        BO CARACOLES                                 5174 CALLE OSTRA                                                                    PONCE               PR           00717‐1451
   250337 JOSE R MIRANDA SANCHEZ     REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250338 JOSE R MIRANDA VEGA        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687073 JOSE R MOCTEZUMA HOYOS     URB SANTA JUANITA                            B 15 CALLE ALAMEDA                                                                  BAYAMON             PR           00956



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  250339 JOSE R MOLINA GONZALEZ                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  250341 JOSE R MONTALVO LORENZO                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  250343 JOSE R MONTES                                REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  250344 JOSE R MONTES CARRERAS                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  687074 JOSE R MONTES MERCADO                        CIALITOS CRUCE             HC 02 BOX 8469                                                                       CIALES             PR       00638
  250345 JOSE R MONTIJO MUNIZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  687075 JOSE R MONTILLA VARGAS                       URB REPARTO SEVILLA        809 CALLE PAGANINI                                                                   RIO PIEDRAS        PR       00923
  687076 JOSE R MORA GRANA                            VILLAS DE CAPARRA          A14 CALLE B                                                                          BAYAMON            PR       00959
  250346 JOSE R MORALES CASIANO                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  250347 JOSE R MORALES MARTELL                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  250348 JOSE R MORALES MORALES                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  250349 JOSE R MORALES RODRIGUEZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  250351 JOSE R MORALES RUIZ                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  687078 JOSE R MORALES SANCHEZ                       COUNTRY CLUB               1137 CALLE OLIVIA PAOLI                                                              SAN JUAN           PR       00924‐2417
  250353 JOSE R MORALES SANTIAGO                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  687079 JOSE R MORALES TABOADA                       PO BOX 897                                                                                                      CAYEY              PR       00737
  250355 JOSE R MORELL LOPEZ                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  250356 JOSE R MORENO                                REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  687080 JOSE R MORENO RODRIGUEZ                      STA TERESITA               AD8 CALLE 30                                                                         BAYAMON            PR       00961
  250358 JOSE R MORENO ZAMBRANA                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  250359 JOSE R MUNIZ                                 REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  250360 JOSE R MUNOZ ARZUAGA                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  250362 JOSE R MUNOZ RODRIGUEZ                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  250363 JOSE R MURATI SEPULVEDA                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  687083 JOSE R NARVAEZ                               FERNADEZ JUNCOS STATION    PO BOX 11855                                                                         SAN JUAN           PR       00910‐4225
  250364 JOSE R NAVARRO                               REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  687084 JOSE R NAVARRO PEREZ                         URB VILLAS DE LOIZA        O 39 CALLE 16                                                                        CANOVANAS          PR       00729

   687085 JOSE R NAZARIO ANTONGIORGI                  URB VILLA INTERAMERICANA   E 7 CALLE 3                                                                          SAN GERMAN         PR         00683
   250365 JOSE R NAZARIO CHERENA                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250367 JOSE R NEGRON CRUZ                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   687086 JOSE R NEGRON GONZALEZ                      PO BOX 253                                                                                                      CIALES             PR         00638
   687087 JOSE R NEGRON PABON                         BO OBRERO                  662 CALLE 7                                                                          SAN JUAN           PR         00915
   687088 JOSE R NEGRONI MERCED                       JARD MONTBLANC             CALLE G K 16                                                                         YAUCO              PR         00698
   250369 JOSE R NIETO FELIBERTY                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250370 JOSE R NIEVES GALARZA                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   687090 JOSE R NIEVES GONZALEZ                      BO OBRERO                  612 AVE BARBOSA                                                                      SAN JUAN           PR         00917 4314
   687092 JOSE R NIEVES PAGAN                         PO BOX 1092                                                                                                     JUNCOS             PR         00777
   687093 JOSE R NUNEZ VAZQUEZ                        BUEN CONSEJO               220 CALLE LATO                                                                       SAN JUAN           PR         00926
   687094 JOSE R OCASIO CORDOVA                       PO BOX 13863                                                                                                    SAN JUAN           PR         00908
   687095 JOSE R OCASIO GARCIA                        P O BOX 22625                                                                                                   SAN JUAN           PR         00931
   250371 JOSE R OCASIO NIEVES                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   687097 JOSE R OCASIO RIVERA                        P O BOX 506                                                                                                     CIALES             PR         00638
   687100 JOSE R O'FARILL RIVERA                      HC 01 BOX 7519                                                                                                  LOIZA              PR         00772
   250372 JOSE R OJEDA PEREZ                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   687101 JOSE R OJEDA VELEZ                          PO BOX 2824                                                                                                     SAN GERMAN         PR         00683
   687102 JOSE R OLIVER                               CAPARRA HEIGHTS            618 ESTONIA                                                                          SAN JUAN           PR         00920
   250373 JOSE R OLIVIERI CINTRON                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250374 JOSE R OLLER NAVARRO                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   687103 JOSE R OLMEDA BORGES                        HC 20 BOX 20796                                                                                                 SAN LORENZO        PR         00754‐9601
   687104 JOSE R OLMO MEDINA                          VILLAS DEL SOL             A9 CALLE 5                                                                           TRUJILLO ALTO      PR         00976
   687105 JOSE R OLMO RODRIGUEZ                       EL CENTRO I OFIC 215                                                                                            HATO REY           PR         00918
   687106 JOSE R OQUENDO ALBARRAN                     HC 01 BOX 4680                                                                                                  ARECIBO            PR         00612



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  250375 JOSE R ORELLANO ROSARIO                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687107 JOSE R ORENGO                                P O BOX 2390                                                                                             SAN JUAN           PR         00919
  687108 JOSE R OROZCO RIVERA                         VILLAS DE LOIZA        2 CALLE 3 BLQ M                                                                   CANOVANAS          PR         00729
  250376 JOSE R ORTA RODRIGUEZ                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250377 JOSE R ORTEGA ORTIZ                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687113 JOSE R ORTIZ BERLINGERI                      URB VILLA NEVAREZ      356 CALLE 18                                                                      SAN JUAN           PR         00927‐5104
  250378 JOSE R ORTIZ CABAN                           REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250379 JOSE R ORTIZ CASTELLO                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687114 JOSE R ORTIZ COSTACAMPS                      CAMBRIDGE PARK C‐13                                                                                      SAN JUAN           PR         00926
  687115 JOSE R ORTIZ CRUZ                            P O BOX 1140                                                                                             TRUJILLO ALTO      PR         00976
  687116 JOSE R ORTIZ FEBUS                           RR 8 BOX 1464                                                                                            BAYAMON            PR         00956‐9611
  687117 JOSE R ORTIZ GUZMAN                          HC 3 BOX 7944                                                                                            BARRANQUITAS       PR         00794
  687118 JOSE R ORTIZ MARTINEZ                        PO BOX 1844                                                                                              COROZAL            PR         00783
  687120 JOSE R ORTIZ QUILES                          P O BOX 180                                                                                              LAS MARIAS         PR         00670
  687121 JOSE R ORTIZ RENTAS                          URB IRLANDA HEIGHTS    FQ 29 CALLE POLARIS                                                               BAYAMON            PR         00956
  687122 JOSE R ORTIZ REYES                           RR 01 BOX 2782                                                                                           CIDRAS             PR         00739
  250381 JOSE R ORTIZ RIJOS                           REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687123 JOSE R ORTIZ RIVERA                          BOX 128                                                                                                  NARANJITO          PR         00719
  687124 JOSE R ORTIZ SANTIAGO                        PONCE DE LEON          P2 52 AVE ESMERALDA                                                               GUAYNABO           PR         00969
  687125 JOSE R ORTIZ SOLIS                           PO BOX 1173                                                                                              PATILLAS           PR         00723
  687126 JOSE R ORTIZ VELEZ                           ROSARIO 256 APT 204                                                                                      SANTURCE           PR         00912
  250382 JOSE R ORTUZAR RIVERA                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250383 JOSE R OSORIO COLON                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250384 JOSE R OSORIO SAMO                           REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250385 JOSE R OTERO CANCEL                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250387 JOSE R OTERO GONZALEZ                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250388 JOSE R OTERO MELENDEZ                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687127 JOSE R OTERO PADILLA                         PO BOX 694                                                                                               FLORIDA            PR         00650
  687128 JOSE R OYOLA VAZQUEZ                         HC 03 BOX 37567                                                                                          CAGUAS             PR         00725‐9744
  687129 JOSE R PADILLA                               EL RAMANSO             C 33 CALLE CALZADA                                                                SAN JUAN           PR         00926‐6103
  250389 JOSE R PADILLA AYALA                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250390 JOSE R PADILLA PADILLA                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250391 JOSE R PADILLA SERRANO                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250392 JOSE R PAGAN                                 REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250393 JOSE R PAGAN CLAUDIO                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687130 JOSE R PAGAN FIGUEROA                        HC 1 BOX 5187                                                                                            CIALES             PR         00638
  250394 JOSE R PAGAN MARCHAND                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687132 JOSE R PAGAN PIZARRO                         URB ALAMAR             CALLE L J 8                                                                       LUQUILLO           PR         00743
  687133 JOSE R PALAU RIVERA                          URB EL TORITO          D 8 CALLE 3                                                                       CAYEY              PR         00736
  687134 JOSE R PANIAGUA ORIOL                        PO BOX 20117                                                                                             SAN JUAN           PR         00928
         JOSE R PASSALACQUA
  687135 RODRIGUEZ                                    PO BOX 362402                                                                                            SAN JUAN           PR         00936‐2402
  250395 JOSE R PE¥A TORRES                           REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250396 JOSE R PEÐA MEDINA                           REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250397 JOSE R PENA                                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687136 JOSE R PENA CARRO                            PO BOX 3681                                                                                              BAYAMON            PR         00958
         JOSE R PENA COLON/HOGAR
  250398 ARCANGEL GABRIEL                             REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250399 JOSE R PENA MEDINA                           REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  771126 JOSE R PENA TORRES                           REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687137 JOSE R PEREZ                                 3RA EXT COUNTRY CLUB   JA 29 CALLE 227                                                                   CAROLINA           PR         00982
  687138 JOSE R PEREZ ALICEA                          BO CARRIZALES 207      CALLE HUCARES                                                                     HATILLO            PR         00659
  687139 JOSE R PEREZ AVILES                          HC 04 BOX 13640                                                                                          MOCA               PR         00676



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  687140 JOSE R PEREZ BONILLA                          HC 01 BOX 3440                                                                                                     LARES               PR           00669‐9607
         JOSE R PEREZ CORTES/ EP
  250400 ENERGY LLC                                    PMB 435                     1353 RD 19                                                                             GUAYNABO            PR           00966
  250401 JOSE R PEREZ FELICIANO                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  687141 JOSE R PEREZ HERNANDEZ                        PO BOX 24                                                                                                          SAN SEBASTIAN       PR           00685
  250402 JOSE R PEREZ LABIOSA                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  250403 JOSE R PEREZ LISBOA                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  250404 JOSE R PEREZ MARRERO                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   687142 JOSE R PEREZ MARTINEZ                        COND PORTICOS DE GUAYNABO   EDIF 6 APT 302                                                                         GUAYNABO            PR           00969
   687143 JOSE R PEREZ NEGRON                          PO BOX 2163                                                                                                        GUAYNABO            PR           00971
   687145 JOSE R PEREZ PEREZ                           URB SANTA MONICA            S 35 CALLE 14                                                                          BAYAMON             PR           00957
   250407 JOSE R PEREZ RIVERA                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250408 JOSE R PEREZ RODRIGUEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250409 JOSE R PEREZ SOSA                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250410 JOSE R PEREZ VIENTO                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JOSE R PEREZ ZAYAS /DBA
   250411 EDICION                                      608 CALLE OLIMPO            APT 21 A                                                                               SAN JUAN            PR           00907
   687150 JOSE R PESQUERA GARCIA                       PO BOX 19921                                                                                                       SAN JUAN            PR           00910
   250413 JOSE R PINEIRO DIAZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250414 JOSE R PINEIRO RODRIGUEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   687152 JOSE R POLANCO VELEZ                         HC 3 BOX 20607                                                                                                     LAJAS               PR           00667
   250415 JOSE R POMALES MENDOZA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250416 JOSE R PONS MADERA                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   687153 JOSE R PRADO RAMOS                           PO BOX 104                                                                                                         TOA ALTA            PR           00904
          JOSE R QUINONES HNC FLOWER
   250417 GIFT SHOP                                    URB BORINQUEN               N 14 CALLE PEDRO FLORES                                                                CABO ROJO           PR           00623
   250418 JOSE R QUINONES JIMENEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250420 JOSE R QUINONEZ MELENDEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250421 JOSE R RAMIREZ MERCED                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250422 JOSE R RAMIREZ RAMOS                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   687155 JOSE R RAMIREZ ZAPATA                        PO BOX 907                                                                                                         CABO ROJO           PR           00623
   250423 JOSE R RAMOS ANDINO                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   687156 JOSE R RAMOS GARCIA                          EXT LA ALAMEDA              A 2 CALLE B                                                                            SAN JUAN            PR           00926
   687157 JOSE R RAMOS LABOY                           PO BOX 1390                                                                                                        QUEBRADILLAS        PR           00678
   687158 JOSE R RAMOS LAMBOY                          PO BOX 633                                                                                                         NAGUABO             PR           00718
   687159 JOSE R RAMOS MILAN                           URB SANTA MARIA             E23 CALLE 4 ALTOS                                                                      SAN GERMAN          PR           00683
   250425 JOSE R RAMOS PIETRI                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250426 JOSE R RAMOS RAMOS                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250427 JOSE R RAMOS RIVERA                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   680875 JOSE R RAMOS RODRIGUEZ                       HC 02 BOX 32055                                                                                                    CAGUAS              PR           00727‐9454
   687161 JOSE R RAMOS RODRIGUEZ                       PO BOX 9024275                                                                                                     SAN JUAN            PR           00902‐4275
   687163 JOSE R RAMOS ROSARIO                         BOX 681                                                                                                            JUANA DIAZ          PR           00795
   687164 JOSE R RAMOS SANTIAGO                        HC 40 BOX 41850                                                                                                    SAN LORENZO         PR           00754
   250428 JOSE R RAMOS TORRES                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250430 JOSE R RAMOS URBINA                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250432 JOSE R RAMOS VELEZ                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   687168 JOSE R REXACH FACUNDO                        URB LOMAS VERDES            E35 CALLE DRAGON                                                                       BAYAMON             PR           00956
   250433 JOSE R REYES BENEZARIO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   687170 JOSE R REYES GUZMAN                          MISC 185                    PO BOX 391                                                                             TOA ALTA            PR           00954

   687171 JOSE R REYES PEREZ                           COLINAS DEL PLATA           29 CALLE CAMINO DEL MONTE                                                              TOA ALTA            PR           00953
   250434 JOSE R REYES REYES                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  250435 JOSE R REYES RIVERA                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   687172 JOSE R REYNOSO VAZQUEZ                       CALLE 77 BLOQUE 114 CASA 48                                                                                       VILLA CAROLINA      PR         00987

          JOSE R RIO OTERO,MRCHUCHIN
   250436 ENTERTAINMENT                                PLAZA RIO HONDO               PMB SUITE 201                                                                       BAYAMON             PR         00961
   687173 JOSE R RIOS                                  67 CALLE KRUG ATP 4                                                                                               SAN JUAN            PR         00911
   687174 JOSE R RIOS MARTINEZ                         ESPINOSA KUILAN               HC 80 BOX 8208                                                                      DORADO              PR         00646
   250437 JOSE R RIOS PABON                            REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250438 JOSE R RIOS PEREZ                            REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687175 JOSE R RIOS SEPULVEDA                        RR 2 BOX 6396                                                                                                     MANATI              PR         00674
   687176 JOSE R RIVAS BERMUDEZ                        URB EL CORTIJO                AH 20 CALLE 26                                                                      BAYAMON             PR         00956
   250439 JOSE R RIVAS ORTIZ                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687177 JOSE R RIVERA                                CALLE BARBOSA 16                                                                                                  CAGUAS              PR         00725
   250440 JOSE R RIVERA AVILES                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250441 JOSE R RIVERA BARRERA                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686783 JOSE R RIVERA CASIANO                        PO BOX 127                                                                                                        OROCOVIS            PR         00720

   687178 JOSE R RIVERA CORREA                         352 CALLE FERNANDEZ GARCIA                                                                                        LUQUILLO            PR         00773
   250442 JOSE R RIVERA CRUZ                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250443 JOSE R RIVERA DERIEUX                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687181 JOSE R RIVERA DIAZ                           EDIF B 9 APT 126                                                                                                  SAN JUAN            PR         00926
   250444 JOSE R RIVERA FERRER                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250445 JOSE R RIVERA GALARZA                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687182 JOSE R RIVERA GONZALEZ                       PO BOX 9021112                                                                                                    SAN JUAN            PR         00902‐1112
   687184 JOSE R RIVERA GUINAND                        URB VALLE ANDA LUCIA          3412 CALLE CORDOVA                                                                  PONCE               PR         00728
   687185 JOSE R RIVERA GUTIERREZ                      NONTESORIA I                  BZ 131 AGUIRRE                                                                      SALINAS             PR         00704
   687186 JOSE R RIVERA IZQUIERDO                      P O BOX 94                                                                                                        TOA ALTA            PR         00953
   687187 JOSE R RIVERA LUCIANO                        58‐B CARRETERA VALDES                                                                                             ADJUNTAS            PR         00601
   250446 JOSE R RIVERA MARRERO                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250447 JOSE R RIVERA MARTINEZ                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687189 JOSE R RIVERA MEDINA                         URB BELLA VISTA F 3 CALLE 7                                                                                       PONCE               PR         00731‐2551
   250448 JOSE R RIVERA MUNOZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687192 JOSE R RIVERA OCASIO                         HC 02 BOX 4002                                                                                                    MAUNABO             PR         00707
   250449 JOSE R RIVERA ORTIZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                     626 CALLE FRANCISCO
   687194 JOSE R RIVERA PARRILLA                       VILLA PRADES                  CASALDUC                                                                            SAN JUAN            PR         00924
   250450 JOSE R RIVERA PEREZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250451 JOSE R RIVERA QUINONES                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250454 JOSE R RIVERA RIVERA                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687197 JOSE R RIVERA ROSADO                         PO BOX 21365                                                                                                      SAN JUAN            PR         00928‐1365
   250456 JOSE R RIVERA TORRES                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250458 JOSE R RIVERA VEGA                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687199 JOSE R RIVERA VELEZ                          RR 10 BOX 5073                                                                                                    SAN JUAN            PR         00926
   250459 JOSE R RODAS NAZARIO                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   687201 JOSE R RODRIGUEZ                             MANSIONES DE SANTA BARBARA 60 AZABACHE                                                                            GURABO              PR         00778
          JOSE R RODRIGUEZ / MARIA DE
   250460 LOS A SOSA                                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687204 JOSE R RODRIGUEZ ALICEA                      HC 01 BOX 16792                                                                                                   HUMACAO             PR         00791‐9732
   250462 JOSE R RODRIGUEZ AMOROS                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250463 JOSE R RODRIGUEZ ANDREU                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687206 JOSE R RODRIGUEZ ARBONA                      URB COLINAS VERDES            E5 CALLE 8                                                                          SAN JUAN            PR         00924



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  687208 JOSE R RODRIGUEZ BERRIOS                     HC 72 BOX 7255                                                                                                      CAYEY               PR         00736
  687211 JOSE R RODRIGUEZ CAY                         PO BOX 1209                 SUITE 303                                                                               CAGUAS              PR         00726
  250464 JOSE R RODRIGUEZ DAVILA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250465 JOSE R RODRIGUEZ DIAZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   250466 JOSE R RODRIGUEZ FIGUEROA                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687214 JOSE R RODRIGUEZ FREIRE                     P.O. BOX 755                                                                                                        CAYEY               PR         00737‐0755
   687215 JOSE R RODRIGUEZ GARCIA                     HC 3 BOX 13014                                                                                                      YAUCO               PR         00698
   250467 JOSE R RODRIGUEZ GOMEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   687216 JOSE R RODRIGUEZ GONZALEZ                   P O BOX 1146                                                                                                        BARCELONETA         PR         00617

   687217 JOSE R RODRIGUEZ HERNANDEZ                  HC 1 BOX 4832                                                                                                       LAJAS               PR         00667
   687218 JOSE R RODRIGUEZ LLADO                      113 TURABO CLUSTERS                                                                                                 CAGUAS              PR         00727‐2546
   687219 JOSE R RODRIGUEZ MEDINA                     CALLE 3 D‐14 URB. ALTURAS   DE FLORIDA                                                                              FLORIDA             PR         00650
   687221 JOSE R RODRIGUEZ MIRANDA                    P O BOX 605                                                                                                         JUNCOS              PR         00777
   250468 JOSE R RODRIGUEZ NAZARIO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250469 JOSE R RODRIGUEZ NIEVES                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687223 JOSE R RODRIGUEZ ONEILL                     HC 01 BOX 25715                                                                                                     CAGUAS              PR         00725
   250472 JOSE R RODRIGUEZ ORTIZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   686784 JOSE R RODRIGUEZ PERAZZA                    URB HUCARES                 W3‐68 CALLE GRACIAN                                                                     SAN JUAN            PR         00926
   250473 JOSE R RODRIGUEZ PEREZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250474 JOSE R RODRIGUEZ RAMOS                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687225 JOSE R RODRIGUEZ RIVERA                     PO BOX 1556                                                                                                         MAYAGUEZ            PR         00681

   687226 JOSE R RODRIGUEZ RODRIGUEZ                  URB LAS DELICIAS            3006 CALLE HERMINIA TORMES                                                              PONCE               PR         00728‐3911
   250477 JOSE R RODRIGUEZ VALLE                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687230 JOSE R RODRIGUEZ VEGA                       PMB 26                      PO BOX 70344                                                                            SAN JUAN            PR         00936‐8344
   250478 JOSE R RODRIGUEZ VIVALDI                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687231 JOSE R ROIG TIRADO                          MANSIONES DE SIERRA TAINA   HC 67‐7                                                                                 BAYAMON             PR         00959
   250479 JOSE R ROLDAN CONCEPCION                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687232 JOSE R ROLON AYALA                          HC 01 BOX 6598                                                                                                      AIBONITO            PR         00705
   250480 JOSE R ROLON RODRIGUEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687233 JOSE R ROMAGUERA RAMOS                      P O BOX 3266                                                                                                        MAYAGUEZ            PR         00681
   250481 JOSE R ROMAN                                REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250482 JOSE R ROMAN DELGADO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250483 JOSE R ROMAN MEDINA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250484 JOSE R ROMAN MELENDEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687234 JOSE R ROMAN SOTO                           HC 2 BOX 15535                                                                                                      ARECIBO             PR         00612
   687235 JOSE R ROMERO PEREZ                         COND LLOVERAS 622           CALLE LLOVERAS APT 8                                                                    SAN JUAN            PR         00909
   250485 JOSE R ROMERO RIVERA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250486 JOSE R ROSA CANALES                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250487 JOSE R ROSA VILLAFANE                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250489 JOSE R ROSADO OCASIO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250490 JOSE R ROSADO RAMOS                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE R ROSADO
          ROLON/DBA/TRANSPORTE
   250491 ROSAD                                       RR 3 BOX 8750‐4                                                                                                     TOA ALTA            PR         00953
   250493 JOSE R ROSADO VAZQUEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250494 JOSE R ROSARIO COLON                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250495 JOSE R ROSARIO LARA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250496 JOSE R ROSARIO LUGO                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687237 JOSE R ROSARIO LUNA                         BOX 671                                                                                                             VIEQUES             PR         00765



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  250497 JOSE R ROSARIO MARRERO                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250498 JOSE R ROSARIO MARTINEZ                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250499 JOSE R ROSARIO SANTIAGO                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687238 JOSE R ROSELLO REYES                         APARTADO 71                                                                                                     MANATI             PR         00674
  687239 JOSE R ROUBERT COLON                         URB SAGRADO CORAZON      443 SAN JULIAN                                                                         SAN JUAN           PR         00926
  687240 JOSE R RUBERTE COLON                         PO BOX 336545                                                                                                   ATOCHA             PR         00733
  687241 JOSE R RUIZ DE JESUS                         URB SANTIAGO APOSTOL     H5 CALLE 6                                                                             SANTA ISABEL       PR         00757
  687243 JOSE R RUIZ SANTIAGO                         URB ALT DE BORINQUEN     D 11 CALLE 3 GUAYACAN                                                                  LARES              PR         00669
  250501 JOSE R RUIZ VELEZ                            REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687244 JOSE R SAEZ CORUJO                           PO BOX 360560                                                                                                   SAN JUAN           PR         00936‐0560
  687245 JOSE R SALGADO LEON                          PO BOX 364011                                                                                                   SAN JUAN           PR         00936‐4011
  687246 JOSE R SAMUELS RIVERA                        HC 2 BOX 9724                                                                                                   JUANA DIAZ         PR         00795

   687247 JOSE R SAN MIGUEL GONZALEZ                  BO BOQUILLAS             RR1 BZN 11642                                                                          MANATI             PR         00674
   250502 JOSE R SANABRIA BENITEZ                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   687248 JOSE R SANABRIA MERCADO                     URB VILLA FONTANA PARK   SFF 15 PARQUE SAN JOSE                                                                 CAROLINA           PR         00983
   250504 JOSE R SANCHEZ BRIGNONI                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   687249 JOSE R SANCHEZ CANCEL                       HC 1 BOX 5348                                                                                                   GUAYNABO           PR         00971‐9515
   250505 JOSE R SANCHEZ CARDONA                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   687250 JOSE R SANCHEZ CARRASQUILLO                 URB METROPOLIS           B 5 CALLE 1                                                                            CAROLINA           PR         00987
   687253 JOSE R SANCHEZ RIVERA                       URB CAMINO DEL MAR       CD 4 VIA CANGREJO                                                                      TOA BAJA           PR         00949
   687254 JOSE R SANCHEZ SIERRA                       STE 4                    PO BOX 1267                                                                            NAGUABO            PR         00718
   687255 JOSE R SANCHEZ SOTO                         PDA 24                   1614 ANTONSANTI                                                                        SAN JUAN           PR         00912
   250507 JOSE R SANCHEZ TORRES                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   687256 JOSE R SANTA ALICEA                         P O BOX 1261                                                                                                    SAN LORENZO        PR         00754
   250508 JOSE R SANTA ROSARIO                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   687257 JOSE R SANTANA                              URB TORRIMAR             1621 CALLE ALHAMBRA                                                                    GUAYNABO           PR         00966
   250509 JOSE R SANTANA FARDONK                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JOSE R SANTANA/ JAG
   250510 ENGINEERS PSC                               177 DORADO BEACH EAST                                                                                           DORADO             PR         00646
   250511 JOSE R SANTIAGO CORDIBA                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250512 JOSE R SANTIAGO ESCRIBANO                   REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250513 JOSE R SANTIAGO IRIZARRY                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250514 JOSE R SANTIAGO MELENDEZ                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250515 JOSE R SANTIAGO PERELES                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   687261 JOSE R SANTIAGO RODRIGUEZ                   URB CARRION MADURO       16 CALLE 5                                                                             JUANA DIAZ         PR         00795
   687262 JOSE R SANTIAGO SANTIAGO                    PO BOX 101                                                                                                      CIALES             PR         00638‐0101
          JOSE R SANTIAGO/KEMPO
   250517 KARATE STUDIO                               SEPTIMA SECC LEVITTOWN   HQ 1 CALLE AURELIO DUENO                                                               TOA BAJA           PR         00949
   250519 JOSE R SANTOS VAZQUEZ                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250520 JOSE R SCHARON SOLIVAN                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   687266 JOSE R SEGARRA SSNCHEZ                      PO BOX 334447                                                                                                   PONCE              PR         00733‐4447
   687267 JOSE R SEISE                                AVE SAN PATRICIO         1703 GENERALIFE                                                                        SAN JUAN           PR         00968
          JOSE R SELLAS APONTE DBA THE
   250521 TROPICAL                                    CORNER                   URB ANA MARIA H 5 CALLE 6                                                              CABO ROJO          PR         00623
   687268 JOSE R SEPULVEDA LABOY                      P O BOX 606                                                                                                     YAUCO              PR         00698‐0606
   250522 JOSE R SERRANO VEGA                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   687270 JOSE R SERRANO VERA                         P O BOX 122                                                                                                     CASTANER           PR         00631
   250524 JOSE R SERVERA                              REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   687271 JOSE R SERVERA RAMOS                        PO BOX 1167                                                                                                     SAN GERMAN         PR         00683
   687272 JOSE R SEVILLANO LOPEZ                      URB SANTA ELENA          N 46 CALLE A                                                                           BAYAMON            PR         00957



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  250525 JOSE R SIACA CANALS                           REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  687273 JOSE R SIERRA ARZUAGA                         P O BOX 1524                                                                                                       JUNCOS            PR         00777
  680777 JOSE R SOLANO SOLANO                          RR 3 BOX 3930                                                                                                      SAN JUAN          PR         00926
  687277 JOSE R SOLIS MERLE                            BO JACABOA               CARR 758 KM 0 9                                                                           PATILLAS          PR         00723
  687279 JOSE R SOTO CALCANO                           PMB 334                  PO BOX 605703                                                                             AGUADILLA         PR         00605
  250526 JOSE R SOTO DELGADO                           REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  687281 JOSE R SOTO GONZALEZ                          URB QUINTO CENTENARIO    1014 RODRIGO DE TRIANA                                                                    MAYAGUEZ          PR         00680
  250527 JOSE R SOTO MEDINA                            REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  250528 JOSE R SOTO RODRIGUEZ                         REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  250529 JOSE R SOTO TORRES                            REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  687282 JOSE R SOTOMAYOR CONDE                        PO BOX 9065291                                                                                                     SAN JUAN          PR         00906
  687283 JOSE R SUAREZ CABAN                           PO BOX 4572                                                                                                        AGUADILLA         PR         00605
  687285 JOSE R TIRADO ROSARIO                         URB BAIROA               AM20 CALLE 32                                                                             CAGUAS            PR         00725
  250530 JOSE R TOLENTINO TORRES                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  687287 JOSE R TORO                                   HACIENDAS CONSTANCIA     749 CALLE CAFETAL                                                                         HORMIGUEROS       PR         00660‐9610
  250531 JOSE R TORO VARGAS                            REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         JOSE R TORRECH / H/N/C
  687288 TORRECH & ASOC                                PO BOX 3196                                                                                                        BAYAMON           PR         00960
  250532 JOSE R TORRES BRULL                           REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  687289 JOSE R TORRES CARRERAS                        PO BOX 192173                                                                                                      SAN JUAN          PR         00919
  250533 JOSE R TORRES COLON                           REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  687290 JOSE R TORRES CORDERO                         35 CALLE BETANCES                                                                                                  AGUADILLA         PR         00603
  687291 JOSE R TORRES DELGADO                         URB TOALINDA E 4         CALLE 2                                                                                   TOA ALTA          PR         00953
  687293 JOSE R TORRES MEDIAVILLA                      BO PUNTA PALMA BOX 169                                                                                             BARCELONETA       PR         00617
  250534 JOSE R TORRES MENA                            REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  687295 JOSE R TORRES MENDEZ                          HC 2 BOX 20242                                                                                                     SAN SEBASTIAN     PR         00685
  250537 JOSE R TORRES ORTEGA                          REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  250538 JOSE R TORRES ORTIZ                           REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         JOSE R TORRES PARA CHRISTIAN
  250540 TORRES                                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  687296 JOSE R TORRES RAMIREZ                         URB MARIOLGA             F 14 CALLE SAN ALEJO                                                                      CAGUAS            PR         00725
  250541 JOSE R TORRES RAMOS                           REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  250542 JOSE R TORRES RIVERA                          REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  250544 JOSE R TORRES RODRIGUEZ                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   687298 JOSE R TORRES Y/O SAUL TORRES P O BOX 332                                                                                                                       JAYUYA            PR         00664
          JOSE R TORRES/PEQUENAS LIGAS
   250545 DE CAGUAX                     REDACTED                                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   687299 JOSE R TRINIDAD JORGE         PO BOX 7126                                                                                                                       PONCE             PR         00732
   250546 JOSE R UBIOR MORALES          REDACTED                                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   250547 JOSE R URBINA ACOSTA          REDACTED                                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   687300 JOSE R URE¥A VALERIO          URB VILLA ANDALUCIA                     H 26 CALLE BAILEN                                                                         SAN JUAN          PR         00926
   250548 JOSE R URENA FERNANDEZ        REDACTED                                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   250549 JOSE R VALDES MAYMI           REDACTED                                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   680869 JOSE R VALDIVIA REYES                        COND PLAZA DEL MAR       3001 AVE ISLA VERDE APT 2402                                                              CAROLINA          PR         00979‐4905
   687301 JOSE R VALLE CARRERO                         HC 03 BOX 6230                                                                                                     RINCON            PR         00677
   687303 JOSE R VALLES SIFRE                          253 GOLDEN COURT                                                                                                   SAN JUAN          PR         00918
   687305 JOSE R VARGAS                                PO BOX 484                                                                                                         JAYUYA            PR         00664‐0484
   250550 JOSE R VARGAS ACEVEDO                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   687306 JOSE R VARGAS BERNAL                         PO BOX 25                                                                                                          SAN SEBASTIAN     PR         00685
   250551 JOSE R VARGAS COLL                           REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   250552 JOSE R VARGAS CRUZ                           REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  250553 JOSE R VAZQUEZ                               REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  687308 JOSE R VAZQUEZ ALBINO                        URB VILLA CAROLINA            8 CALLE 97 BLOQUE 94                                                                CAROLINA            PR         00985
  250555 JOSE R VAZQUEZ COUTO                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  687309 JOSE R VAZQUEZ FERNANDEZ                     BOX 1408                                                                                                          JUNCOS              PR         00777
  250556 JOSE R VAZQUEZ FIGUEROA                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   687310 JOSE R VAZQUEZ MALDONADO                    URB PASO REAL                 D‐54 CALLE SAFIRO                                                                   DORADO              PR       00646
   687311 JOSE R VAZQUEZ ORTEGA                       P O BOX 1470                                                                                                      CAYEY               PR       00737
   250557 JOSE R VAZQUEZ OYOLA                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   250558 JOSE R VAZQUEZ SOTO                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   250559 JOSE R VAZQUEZ VERDEJO                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   687314 JOSE R VEGA APONTE                          P O BOX 630                                                                                                       BAYAMON             PR       00960630
   687315 JOSE R VEGA AYALA                           HC 1 BOX 6691                                                                                                     JUNCOS              PR       00777
   687316 JOSE R VEGA MOLINA                          URB SAN FELIPE                I‐18 CALLE 10                                                                       ARECIBO             PR       00612
   250562 JOSE R VEGA NIEVES                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   250564 JOSE R VEGA REINA                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   687318 JOSE R VEGA SOTO                            APT 1033                                                                                                          SAN SEBASTIAN       PR       00685
   250566 JOSE R VEGA VEGA                            REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   250567 JOSE R VELAZQUEZ                            REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   687319 JOSE R VELAZQUEZ PEREZ                      PO BOX 4324                                                                                                       CAROLINA            PR       00984
   250568 JOSE R VELAZQUEZ RIVERA                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   250569 JOSE R VELEZ LOPEZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   250570 JOSE R VELEZ PANETO                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   680876 JOSE R VELEZ RIVERA                         PO BOX 1030                                                                                                       UTUADO              PR       00641 1030
   687322 JOSE R VELEZ SOTO                           PO BOX 1421                                                                                                       LARES               PR       00669
   687323 JOSE R VELEZ Y LUZ D GARCIA                 URB ROOSEVELT                 C/J.B RODRIGUEZ 324                                                                 SAN JUAN            PR       00918‐2710
   250572 JOSE R VICENS PINERO                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   250573 JOSE R VICENTE MARTINEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   250575 JOSE R VICENTE QUINONES                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   687325 JOSE R VIERA MEDINA                         P O BOX 9021465               OLD SAN JUAN                                                                        SAN JUAN            PR       00905
   687326 JOSE R VILLAGRILLE MORALES                  Q 15 JUAN MORELL CAMPO                                                                                            CABO ROJO           PR       00623
   250576 JOSE R VILLANUEVA NUNEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   687327 JOSE R VILLODAS PASTRANA                    RR 02 BOX 7830‐10                                                                                                 TOA ALTA            PR       00953
   250578 JOSE R VILORIO HERNANDEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   687328 JOSE R VIRELLA NIEVES                       PO BOX 442                                                                                                        CIALES              PR       00638

   250580 JOSE R VIZCARRONDO SANCHEZ REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   687329 JOSE R YEYE BARRIERA                        URB NUEVA VIDA 141 CALLE 12                                                                                       PONCE               PR         00731
   687330 JOSE R YULFO CONCEPCION                     URB VILLA NORMA               5 F CALLE 5                                                                         QUEBRADILLA         PR         00678
   687331 JOSE R ZAPATA RIVERA                        ROSALEDA II LEVITTOWN         RG 57 CALLE ACACIA                                                                  TOA BAJA            PR         00949
   687332 JOSE R ZARAGOZA BUXO                        PO BOX 9457                   COTTO STATION                                                                       ARECIBO             PR         00613
   250581 JOSE R ZAYAS GOMEZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   687333 JOSE R ZAYAS MEDINA                         COND VIEW POINT APTO 1404     3011 AVE ALEJANDRINO                                                                GUAYNABO            PR         00969
                                                                                    1219 CALLE CAMAGUY URB
   687334 JOSE R. ACEVEDO CORDERO                     PUERTO NUEVO                  PUERTO NUEVO                                                                        SAN JUAN            PR         00920
   250582 JOSE R. ALVARADO                            REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   687336 JOSE R. ALVAREZ MONTES                      PO BOX 2598                                                                                                       ISABELA             PR         00662
   250583 JOSE R. BERMUDEZ BURGOS                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   250585 JOSE R. BIRD JIMENEZ                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
                                                      URB.LAS CUMBRES CALLE
   687338 JOSE R. BURGOS SANCHEZ                      HIMALAYAS#206                                                                                                     RIO PIEDRAS         PR         00926



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  687341 JOSE R. CANCEL GONZALEZ                       1995 CALLE LOIZA STE 943                                                                                            SAN JUAN            PR           00911
  687342 JOSE R. CAPO ROSARIO                          PMB 259                      P O BOX 70344                                                                          SAN JUAN            PR           00936‐8344
  687343 JOSE R. CARINO RIBOT                          PO BOX 1042                                                                                                         FAJARDO             PR           00738
         JOSE R. CARRION Y/ O MIGUEL                   P O BOX 9023884 OLD SAN JUAN
  687344 VELAZQUEZ                                     STATIO                                                                                                              SAN JUAN            PR           00902‐3884
         JOSE R. CARRION Y/O MADELINE                  P O BOX 9023884 OLD SAN JUAN
  687345 CESSE VALDE                                   STATIO                                                                                                              SAN JUAN            PR           00902‐3884
         JOSE R. CARRION Y/O PEDRO E.                  PO BOX 9023884 OLD SAN JUAN
  687346 VALES ORTIZ                                   STATION                                                                                                             SAN JUAN            PR           00902‐3884
  250586 JOSE R. CARRION, CH 13                        PO BOX 88109                                                                                                        CHICAGO             IL           60680‐1109
  250587 JOSE R. CASTRO VEGA                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  687347 JOSE R. COLON AYALA                           PO BOX 10427                                                                                                        SAN JUAN            PR           00922
  250588 JOSE R. CRUZ NIEVES                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  250589 JOSE R. CUMBA BERMUDEZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   250590 JOSE R. DE LA CRUZ FELICIANO                 REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250592 JOSE R. DE LA CRUZ PELLOT                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JOSE R. DERNANDEZ
   687350 MALDONADO                                    TOA ALTA HEIGHTS             H26 CALLE 7 URB TOA ALTA HTS                                                           TOA ALTA            PR           00953
   687351 JOSE R. DIAZ CORREA                          URB MONTE CARLO              Y9 CALLE 8                                                                             SAN JUAN            PR           00924
   250595 Jose R. Esquilin Ortiz                       REDACTED                     REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   687352 JOSE R. FIGUEROA BONILLA                     CALLEJON SIMONA PIZARRO                                                                                             SAN JUAN            PR           00925
   687353 JOSE R. FIQUEROA SANTIAGO                    URB LAS FLORES               F12 CALLE 2                                                                            JUANA DIAZ          PR           00795
                                                                                    748 CALLE LINCOLN URB LA
   687354 JOSE R. GANDIA VELAZQUEZ                     LA CUMBRE                    CUMBRE                                                                                 RIO PIEDRAS         PR           00926
   687355 JOSE R. GARCIA RIVERA                        URB CUIDAD UNIVERSITARIA     W 17 CALLE 24                                                                          TRUJILLO ALTO       PR           00976
   250596 JOSE R. GOMEZ ALBA                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   687356 JOSE R. GONZALEZ COLON                       3 CALLE PRAXEDES SANTIAGO                                                                                           CIDRA               PR           00739‐3232
   687357 JOSE R. GONZALEZ DELGADO                     PO BOX 3266                                                                                                         HATO REY            PR           00919
   250597 JOSE R. GRAU PELEGRI                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250598 JOSE R. GUZMAN ARIAS                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250599 JOSE R. GUZMAN PEREORA                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                       URB. CIUDAD UNIVERCITARIA T‐3
   687358 JOSE R. HERNADEZ CARDONA                     C/19                                                                                                                TRUJILLO ALTO       PR           00976
   250601 JOSE R. HERNANDEZ VALLE                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250602 JOSE R. LEON MORALES                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250603 JOSE R. LLAMAS LAZUZ                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250604 JOSE R. LOPEZ                                REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250605 JOSE R. LOPEZ RUIZ                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   687359 JOSE R. MARRERO CINTRON                      PO BOX 111                                                                                                          BARRANQUITAS        PR           00794
   687360 JOSE R. MARTINEZ RAMOS                       P O BOX 192946                                                                                                      SAN JUAN            PR           00919‐2946
   687362 JOSE R. MEDINA JOGLAR                        4 CALLE NUEVA                                                                                                       COROZAL             PR           00783
   250607 JOSE R. MELENDEZ MARRERO                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250608 JOSE R. MEZQUIDA ESCRIVA                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250611 JOSE R. MORENO NEGRON                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250612 JOSE R. MOYA GONZALEZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   687363 JOSE R. NADAL LLUBERES                       PO BOX 2313                                                                                                         BAYAMON             PR           00960
                                                       URB. LAS CUMBRES 679
   687364 JOSE R. NIEVES ROSADO                        C/WASHINGTON                                                                                                        SAN JUAN            PR           00926
   250613 JOSE R. ORTIZ MEDINA                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   250614 JOSE R. ORTIZ RUBIO                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   687367 JOSE R. ORTIZ VALLADARES                     VILLA CAPARRA                 17D COND SANTA ANA                                                                    GUAYNABO            PR           00966
   250615 JOSE R. PENA TORRES                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  250617 JOSE R. PEREZ                                 REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250618 JOSE R. PEREZ OLIVERA                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  687368 JOSE R. PEREZ REDONDO                         COND. AVILA APTO.11‐E   159 CALLE COSTA RICA                                                                SAN JUAN            PR         00917
  250619 JOSE R. PLA GRAU                              REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250620 JOSE R. PONS MADERA                           REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250621 JOSE R. RAMOS BERMUDEZ                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250622 JOSE R. RAMOS RIVERA                          REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250624 JOSE R. REYES BONILLA                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250625 JOSE R. RIVERA LEBRON                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250626 JOSE R. RIVERA OCASIO                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250627 JOSE R. RIVERA OLIVERO                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  687372 JOSE R. RIVERA PEREZ                          PO BOX 217                                                                                                  CIDRA               PR         00739
         JOSE R. RIVERA PEREZ DBA
  250629 TRANSPORTE ESC.                               BOX 217                                                                                                     CIDRA               PR         00739‐0000
  250630 JOSE R. RIVERA VAZQUEZ                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   250631 JOSE R. RODRIGUEZ FIGUEROA                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250632 JOSE R. RODRIGUEZ FUENTES                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687373 JOSE R. RODRIGUEZ GOMEZ                      PO BOX 14551                                                                                                SAN JUAN            PR         00916

   687374 JOSE R. RODRIGUEZ RODRIGUEZ PO BOX 13325                                                                                                                 SAN JUAN            PR         00908
   250633 JOSE R. ROSADO ROLON        REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250634 JOSE R. SANTANA RABELL      REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   250636 JOSE R. SANTIAGO RODRIGUEZ REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687378 JOSE R. SANTOS CRUZ           PO BOX 8396                                                                                                                HUMACAO             PR         00792
          JOSE R. SELLAS APONTE DBA THE
  1256610 TROPICAL CORNER               REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250637 JOSE R. TORRES CASTRO         REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   250638 JOSE R. VAZQUEZ MALDONADO                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687379 JOSE R. VELEZ MERCADO                        URB EL ROSARIO          69 CALLE 1                                                                          YAUCO               PR         00698
   687380 JOSE R. VENDRELL                             PO BOX 1787                                                                                                 PONCE               PR         00733
   250641 JOSE R. VIðALES RODRIGUEZ                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   250643 JOSE R. VILLABRILLE MORALES                  REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687382 JOSE RADAMES RODRIGUEZ                       1215 CALLE CALI                                                                                             SAN JUAN            PR         00920
   250646 JOSE RAFAEL CAPO                             REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687383 JOSE RAFAEL COLON DIAZ                       TINTILLO                6 AVE WALL                                                                          GUAYNABO            PR         00966
   687384 JOSE RAFAEL DELGADO SOTO                     HC 02 BOX 6281                                                                                              FLORIDA             PR         00650
          JOSE RAFAEL HERNANDEZ
   687386 GUZMAN                                       URB SAN CARLOS          A 10 CALLE LOS ANGELES                                                              AGUADILLA           PR         00603
   250647 JOSE RAFAEL JIMENEZ GARCIA                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250648 JOSE RAFAEL MAGE COLON                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687387 JOSE RAFAEL NET                              PO BOX 362144                                                                                               SAN JUAN            PR         00936
   687388 JOSE RAFAEL PEREZ                            PO BOX 1158                                                                                                 CIDRA               PR         00739
   250649 JOSE RAFAEL PEREZ CENTENO                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250650 JOSE RAFAEL QUINONES                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE RAFAEL QUINONES
   250651 GONZALEZ                                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   250652 JOSE RAFAEL RAMIREZ RIVERA                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250655 JOSE RAFAEL TORRES SALAS                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  250656 JOSE RAICES VEGA                             REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  687391 JOSE RAMIREZ DE ARELLANO                     INTERNACIONAL GOLD   362 CALLE SAN FRANCISCO                                                                SAN JUAN          PR         00901
  250657 JOSE RAMIREZ ESTADES                         REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  250658 JOSE RAMIREZ FUENTES                         REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  250660 JOSE RAMIREZ MALDONADO                       REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  687394 JOSE RAMIREZ NIEVES                          PO BOX 7333                                                                                                 MAYAGUEZ          PR         00681
  687396 JOSE RAMIREZ PASCUAL                         BOX 1441                                                                                                    JUANA DIAZ        PR         00795
  250661 JOSE RAMIREZ RIVERA                          REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  250667 JOSE RAMON ACOSTA CRUZ                       REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   687398 JOSE RAMON ALVAREZ APONTE                   P O BOX 8430                                                                                                HUMACAO           PR         00792‐0141

   687399 JOSE RAMON CIRINO MARTINEZ LOS ALMENDROS                         EB‐8 CALLE TILO                                                                        BAYAMON           PR         00961
   250668 JOSE RAMON COLLAZO REYES   REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   687400 JOSE RAMON COLON BERMUDES BO CORAZON                             45‐26 CALLE SAN MARTIN                                                                 GUAYAMA           PR         00784

   250669 JOSE RAMON COLON FIGUEROA REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOSE RAMON CORDERO
   250670 RODRIGUEZ                 REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   250671 JOSE RAMON CURET ESQUILIN                   REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOSE RAMON DE JESUS
   687403 MERCADO                                     PO BOX 51898                                                                                                TOA BAJA          PR         00950
   250672 JOSE RAMON DIAZ MUNDO                       REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   687406 JOSE RAMON FELICIANO                        PO BOX 7126                                                                                                 PONCE             PR         00732
          JOSE RAMON FERNANDEZ
   250674 RODRIGUEZ                                   REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   687407 JOSE RAMON FIGUEROA TORRES APARTADO 561471                                                                                                              GUAYANILLA        PR         00656
   687408 JOSE RAMON GONZALEZ        PO BOX 959                                                                                                                   HATILLO           PR         00659
          JOSE RAMON GONZALEZ Y
   250675 JAVIER GONZALEZ            REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   250677 JOSE RAMON LOPEZ IRIZARRY  REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   250678 JOSE RAMON LOPEZ MURIEL    REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   250679 JOSE RAMON LOPEZ ROSADO    REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   687410 JOSE RAMON MARTINEZ BOGLIO PO BOX 2304                                                                                                                  GUAYAMA           PR         00785
          JOSE RAMON MELENDEZ
   250681 MONTANEZ                   REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   687411 JOSE RAMON MONTES BERRIOS                   URB VILLA HILDA      C 14 CALLE 6                                                                           YABUCOA           PR         00767‐3519
          JOSE RAMON MORALES
   687412 MELENDEZ                                    URB LA MERCED        517 CABO H ALVERIO                                                                     SAN JUAN          PR         00918

   687413 JOSE RAMON NIEVES ACEVEDO                   URB FLORAL PARK      102 CALLE GAUTIER BENITEZ                                                              SAN JUAN          PR         00917‐3835
   687414 JOSE RAMON ORTIZ                            BARRIADA POLVORIN    87 CALLE 15                                                                            CAYEY             PR         00736

   687416 JOSE RAMON ORTIZ VELAZQUEZ PO BOX 205                                                                                                                   LOIZA             PR         00772

   250682 JOSE RAMON ORTIZ VILLANUEVA REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   687418 JOSE RAMON PEREZ GARCIA     LA FERMINA SOLAR 164 A                                                                                                      LAS PIEDRAS       PR         00771
   250683 JOSE RAMON QUILES RIVERA    REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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   687419 JOSE RAMON QUINONEZ SANTOS URB SANTA JUANA 2                               J13 CALLE 12                                                                         CAGUAS              PR           00725
          JOSE RAMON RIVERA Y/O ORG
   687420 SENSACION                  F 19 URB SAN JOSE                                                                                                                    AIBONITO            PR           00705

   250684 JOSE RAMON ROMAN CARDONA REDACTED                                          REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE RAMON SANCHEZ
   687422 GONZALEZ                 HC 1 BOX 4314                                                                                                                          NAGUABO             PR           00718
          JOSE RAMON SANCHEZ
   687423 RIVOLEDA                 URB SAN GERARDO                                   1643 ANNAPOLIS                                                                       SAN JUAN            PR           00926
          JOSE RAMON SEPULVEDA
   687424 MARTINEZ                 PO BOX 419                                                                                                                             GUAYANILLA          PR           00656

   250686 JOSE RAMON TORRES TORRES                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE RAMON VELAZQUEZ
   250688 CALCANO                                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687426 JOSE RAMON VELEZ NEGRON                     URB. VILLA FONTANA             VIA 45 4QZ18                                                                         CAROLINA            PR           00983
   687427 JOSE RAMON VIERA                            PARC 255 COM CEIBA                                                                                                  JUNCOS              PR           00777
   250689 JOSE RAMOS CABRERA                          REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      JARDINES DE COUNTRY CLUB BJ‐
   687429 JOSE RAMOS CORTES                           5 C/114                                                                                                             CAROLINA            PR       00983
   250690 JOSE RAMOS DIAZ                             REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   687431 JOSE RAMOS FLORES                           URB ALGARROBOS                 G7 CALLE A                                                                           GUAYAMA             PR       00784
   250691 JOSE RAMOS FUENTES                          REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   687433 JOSE RAMOS LEBRON                           HC 05 BOX 36860                                                                                                     SAN SEBASTIAN       PR       00685
   250692 JOSE RAMOS MONTANEZ                         REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   687434 JOSE RAMOS ORTIZ                            PO BOX 29381                                                                                                        SAN JUAN            PR       00929
   250693 JOSE RAMOS PEREZ                            REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   250694 JOSE RAMOS RAMOS                            REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   250696 JOSE RAMOS RIVERA                           REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   250700 JOSE RAMOS RODRIGUEZ                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   250701 JOSE RAMOS ROLDAN                           REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   250702 JOSE RAMOS SOTOMAYOR                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   687442 JOSE RAMOS VALLES                           HC 63 BOX 3357                                                                                                      PATILLAS            PR       00723
   687443 JOSE RAMOS VEGA                             PO BOX 8391                                                                                                         BAYAMON             PR       00956
   250703 JOSE RAMOS VELEZ                            REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   687446 JOSE RASCHID GITANY                         PO BOX 269                                                                                                          MAYAGUEZ            PR       00681

   250704 JOSE RAUL ADORNO MARRERO                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250705 JOSE RAUL ARIAGA                            REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   687447 JOSE RAUL ARZUAGA GONZALEZ                  HC 1 BOX 5436                                                                                                       JUNCOS              PR           00777
          JOSE RAUL COMPUSING Y
   687448 ASOCIADOS                                   HC BOX 7255                                                                                                         CAYEY               PR           00736
   250707 JOSE RAUL LOPEZ LEON                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE RAUL MARRERO/
   687450 CANTORES DE BAYAMON                         PO BOX 13925                                                                                                        SAN JUAN            PR           00918
   687451 JOSE RAUL MARTINEZ ORTIZ                    URB JARDINS I F 13 CALLE 12                                                                                         CAYEY               PR           00736
   687452 JOSE RAUL MATOS                             URB PARQUE SAN MIGUEL          I 5 CALLE 6                                                                          BAYAMON             PR           00956

   250708 JOSE RAUL MELENDEZ MORALES REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250709 JOSE RAUL MENDEZ           REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250710 JOSE RAUL MONTANEZ LOPEZ   REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  250711 JOSE RAUL NEGRON CABIYA                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250712 JOSE RAUL ORTIZ                              REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  687454 JOSE RAUL PLANAS HUERTAS                     URB CAGUAX                M 7 CALLE COA                                                                            CAGUAS              PR         00728
  687455 JOSE RAUL RIVERA ALLENDE                     LOMAS DE CAROLINA         L 15 CALLE LOMA ANCHA                                                                    CAROLINA            PR         00987
         JOSE RAUL RIVERA DBA
  687456 ACEVEDO SERVICE                              URB. SANTIAGO IGLESIA     1407 CALLE SANTIAGO CARRERA                                                              RIO PIEDRAS         PR         00921
  687457 JOSE RAUL RIVERA TIRADO                      URB JARDINES DE YABUCOA   A 13 CALLE 1                                                                             YABUCOA             PR         00767

   250713 JOSE RAUL RODRIGUEZ PACHECO REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250714 JOSE RAUL RUIZ RUIZ         REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687458 JOSE RAUL SANTIAGO TORRES   COND PORTAL DE LA REINA                   APT 124                                                                                  SAN JUAN            PR         00924
   250715 JOSE RAUL TORRES VAZQUEZ    REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   250716 JOSE RAUL VAZQUEZ VAZQUEZ                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687462 JOSE RECARDO DIAZ                           RR 10 BOX 10246                                                                                                    SAN JUAN            PR         00926‐9000
   250717 JOSE REGUERO MORALES                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   687463 JOSE REINALDO COLON RIVERA                  LOMAS VERDES              3J 22 CALLE CLAVEL                                                                       BAYAMON             PR         00956

   250718 JOSE REINALDO RIVERA RAMOS                  REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687465 JOSE RENE PEREZ                             A 25 ACRES CORZEGA                                                                                                 RINCON              PR         00677
   250719 JOSE RENGEL OQUENDO                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687466 JOSE RENTAS                                 24 INT CALLE LA CRUZ                                                                                               JUANA DIAZ          PR         00795
   250720 JOSE RENTAS DIAZ                            REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250721 JOSE RESTO CASIANO                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687470 JOSE RETAMAR RUIZ                           BOX 1441                                                                                                           JUANA DIAZ          PR         00795
   687471 JOSE REVERON GEORGE                         PO BOX 7126                                                                                                        PONCE               PR         00732
   250722 JOSE REXACH MATTA                           REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   250723 JOSE REY HERNANDEZ CEDENO                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250724 JOSE REYES                                  REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250725 JOSE REYES ANYELO                           REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687474 JOSE REYES BERMUDEZ                         PO BOX 739                                                                                                         NARANJITO           PR         00719
   687475 JOSE REYES CASTRO                           PO BOX 7126                                                                                                        PONCE               PR         00732
                                                                                650 PLAZA AVE. MUÑOZ RIVERA
  1420122 JOSÉ REYES CONTRACTOR, INC.                 JOSÉ E. RAMÍREZ           #650 STE. 205                                                                            SAN JUAN            PR         00918
   687477 JOSE REYES DOMINGUEZ                        4TA SECCION LEVITTOWN     F 16 CALLE MARUJA                                                                        TOA BAJA            PR         00949
   250729 JOSE REYES MALAVE                           REDACTED                  REDACTED                    REDACTED                              REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687479 JOSE REYES OQUENDO                          PO BOX 850                                                                                                         VIEQES              PR         00765
   687480 JOSE REYES ORTIZ                            HC 71 BOX 6149                                                                                                     CAYEY               PR         00736
          JOSE REYES ORTIZ /DBA/ REYES
   250730 ELECTRIC                                    PO BOX 616                SAINT JUST                                                                               SAN JUAN            PR         00978
          JOSE REYES ORTIZ/JOSE REYES
   250731 CONTRACTOR                                  URB DAVILA Y LLENZA       CALLE EMANUELI # 217                                                                     SAN JUAN            PR         00917
   250732 JOSE REYES REYES                            REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687483 JOSE REYES ROBLES                           P O BOX 172                                                                                                        MANATI              PR         00674‐0172
   687484 JOSE REYES VAZQUEZ                          HC 3 BOX 9463                                                                                                      YABUCOA             PR         00946
   687485 JOSE REYMUNDI RIOS                          1607 AVE PONCE DE LEON    COBIAN S PLAZA APT 806                                                                   SAN JUAN            PR         00909
   687486 JOSE RIAL GARCIA                            CENTRO COMERCIAL 2                                                                                                 CAROLINA            PR         00985
          JOSE RIAL H/N/C
   687487 SUPERMERCADO ENCONO                         P O BOX 1618                                                                                                       CANOVANAS           PR         00729

   250733 JOSE RICARDO LOYOLA COLON                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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          JOSÉ RICARDO SERRANO
   250734 GUERRA                                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   687489 JOSE RICCI BENITEZ                          COND FLORAL PLAZA              15 MATIENZO CINTRON APT 604                                                              SAN JUAN            PR           00917
   687491 JOSE RIOS                                   P.O. BOX 21635                                                                                                          SAN JUAN            PR           00928
   687492 JOSE RIOS BETANCOURT                        P O BOX 60‐075                                                                                                          BAYAMON             PR           00960
          JOSE RIOS BONET /EQUIP
   687493 CERVECEROS BUFALO                           BO MAGUEYES                    BZ 12 CALLE 5                                                                            BARCELONETA         PR           00617
   687494 JOSE RIOS CENTENO                           PO BOX 7126                                                                                                             PONCE               PR           00732
                                                                                     BLOQ 10 NO 7AVE AGUAS
   687495 JOSE RIOS CERVANTES                         URB SANTA ROSA                 BUENAS                                                                                   BAYAMON             PR           00959
   250736 JOSE RIOS CRUZ                              REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687499 JOSE RIOS GARAU                             BO FRONTON ALTURA              APT 638                                                                                  CIALES              PR           00638

   687500 JOSE RIOS GRACIA                            URB JOSE DELGADO E 2 CALLE 8                                                                                            CAGUAS              PR           00725‐3130
   250737 JOSE RIOS GUTIERREZ                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250738 JOSE RIOS LUCIANO                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687501 JOSE RIOS OLIVERAS                          STA JUANITA                    BK 22 CALLE KENYAS                                                                       BAYAMON             PR           00956
   250739 JOSE RIOS QUILES                            REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250740 JOSE RIOS RAMOS                             REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250741 JOSE RIOS RIOS                              REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687503 JOSE RIOS RIVERA                            HP ‐ SERVICIOS GENERALES                                                                                                RIO PIEDRAS         PR           009360000
   250742 JOSE RIOS ROBLES                            REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250744 JOSE RIOS VEGA                              REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687506 JOSE RIVALTA GOMEZ                          P O BOX 315                                                                                                             GURABO              PR           00778‐0315
   250745 JOSE RIVAS ABRAHAM                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250746 JOSE RIVERA                                 REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250747 JOSE RIVERA ARROYO                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687510 JOSE RIVERA AYALA                           BOX 1441                                                                                                                JUANA DIAZ          PR           00795
   687511 JOSE RIVERA BERRIOS                         BDA SAN LUIS                   5 CALLE CICAL                                                                            AIBONITO            PR           00705
   687512 JOSE RIVERA BLANCO                          URB MIRAFLORES 10              CALLE 31 BLG 18                                                                          BAYAMON             PR           00956
   687513 JOSE RIVERA BORRERO                         17 SANTANA MONTALVO                                                                                                     UTUADO              PR           00641
   250748 JOSE RIVERA CARTAGENA                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687515 JOSE RIVERA CASANOVA                        PO BOX 1025                                                                                                             YABUCOA             PR           00767
   687516 JOSE RIVERA CHICO                           238 URB ALTAMIRA                                                                                                        LARES               PR           00669
   687517 JOSE RIVERA COLON                           URB MONTE VERDE                3145 CALLE MONTE COQUI                                                                   MANATI              PR           00674
   687519 JOSE RIVERA CONSTRUCTION                    URB LOS CERROS                 B 22                                                                                     ADJUNTAS            PR           00601
   250751 JOSE RIVERA DE JESUS                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSE RIVERA DEL VALLE /
   687520 LOREINE MARIE                               URB JARD DE ADJUNTAS           B 4 CALLE AMAPOLA                                                                        ADJUNTAS            PR           00601
   687521 JOSE RIVERA DIAZ                            BO GUAVATE 22550                                                                                                        CAYEY               PR           00736
          JOSE RIVERA DUENO
   250752 /RETAURANTE CASA MONTE                      COND REXVILLE PARK             APT 305 C CALLE 17A                                                                      BAYAMON             PR           00957
   250753 JOSE RIVERA ESPADA                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687524 JOSE RIVERA FELICIANO                       P O BOX 184                                                                                                             MARICAO             PR           00606
   250754 JOSE RIVERA GARCIA                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687527 JOSE RIVERA GONZALEZ                        32 CALLE ENTRADA ARENAS                                                                                                 JAYUYA              PR           00664
   687528 JOSE RIVERA IRRIZARRY                       P O BOX 324                                                                                                             CABO ROJO           PR           00623
                                                                                     3015 CALLE ALMONTE RIO
   687530 JOSE RIVERA LEBRON                          COND GUARIONEX APTO 1704       PIEDRAS                                                                                  SAN JUAN            PR           00926
   687531 JOSE RIVERA LOPEZ                           P O BOX 535                    SABANA SECA STATION                                                                      TOA BAJA            PR           00952
   687532 JOSE RIVERA MADERA                          URB BARAMAYA                   55 CALLE GUARIONEX                                                                       PONCE               PR           00731




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          JOSE RIVERA MALDONADO &
   687533 JEANNETTE RAMOS                             FLORAL PARK                    128 F PARIS STREET                                                                       SAN JUAN            PR           00917
   250756 JOSE RIVERA MANDES                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687534 JOSE RIVERA MANZANO                         HC 2 BOX 8050                                                                                                           CIALES              PR           00638
   687535 JOSE RIVERA MARQUEZ                         PO BOX 9021112                                                                                                          SAN JUAN            PR           00902
   687536 JOSE RIVERA MARRERO                         HC 05 BOX 5219                                                                                                          YABUCOA             PR           00767
   680877 JOSE RIVERA MEDINA                          HC 01 BUZON 9000               BO PALMA SOLA                                                                            CANOVANAS           PR           00729‐9800
   250758 JOSE RIVERA MELENDEZ                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250759 JOSE RIVERA MERCADO                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687538 JOSE RIVERA MORALES                         HC 1 BOX 3627                                                                                                           ADJUNTAS            PR           00601‐9549
   250760 JOSE RIVERA MUNOZ                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250761 JOSE RIVERA NIEVES                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250762 JOSE RIVERA NUNEZ                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687540 JOSE RIVERA PACHECO                         PO BOX 8354                                                                                                             BAYAMON             PR           00960
   687541 JOSE RIVERA PAGAN                           HC 2 BOX 5718                                                                                                           MOROVIS             PR           00687
   250763 JOSE RIVERA PARRILLA                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687542 JOSE RIVERA PASTRANA                        URB PARQUE ECUESTRE            D 56 CALLE 1                                                                             CAROLINA            PR           00987
   250764 JOSE RIVERA PENA                            REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250765 JOSE RIVERA PEREZ                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   680878 JOSE RIVERA PITRE                           BOX 1165                                                                                                                SAN SEBASTIAN       PR           00685
   687544 JOSE RIVERA PITRE                           P O BOX 9024275                                                                                                         SAN JUAN            PR           00902‐4275
   250766 JOSE RIVERA QUINONEZ                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250767 JOSE RIVERA RAMOS                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250768 JOSE RIVERA RENTAS                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   687546 JOSE RIVERA REY                             SIERRA BAYAMON 42‐5 CALLE 37                                                                                            BAYAMON             PR           00961
   687547 JOSE RIVERA REYES                           BOX 1441                                                                                                                JUANA DIAZ          PR           00795
   687549 JOSE RIVERA RIVERA                          HC 80 BOX 8410                                                                                                          DORADO              PR           00646
          JOSE RIVERA RIVERA Y DAISY
   687553 RIVERA LOPEZ                                BO LA PLATA                    BOX 228                                                                                  LA PLATA            PR           00786

   687554 JOSE RIVERA ROBLEDO                         URB LOS PASEOS DEL PARQUE      11 CALLE LA RAMBLA                                                                       SAN JUAN            PR           00926
   250769 JOSE RIVERA RODRIGUEZ                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250771 JOSE RIVERA ROLDAN                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250772 JOSE RIVERA ROSA                            REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      232 CALLE APONTE ESQ
   687558 JOSE RIVERA SANABRIA                        BARBOSA                                                                                                                 SAN JUAN            PR           00915
   250773 JOSE RIVERA SANCHEZ                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      RESIDENCIAL FELIPE SANCHEZ
   687559 JOSE RIVERA SANTAELLA                       OSORIO                                                                                                                  CAROLINA            PR           00985
   687560 JOSE RIVERA SANTIAGO                        PO BOX 7126                                                                                                             PONCE               PR           00732

   687562 JOSE RIVERA SERRANO                         URB VILLAS DE SANTA JUANITA    B 9 CALLE TORRECH                                                                        BAYAMON             PR           00956
   250774 JOSE RIVERA SOUFFRONT                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687563 JOSE RIVERA VAZQUEZ                         P O BOX 853                                                                                                             CIDRA               PR           00739
                                                                                     N6 CALLE 27 JARD DE COUNTRY
   687565 JOSE RIVERA VERDEJO                         URB JARDINES DE                CLUB                                                                                     CAROLINA            PR           00983
   687566 JOSE RIVERA VERGNE                          COND PORTICOS DE CUPEY         100 CARR 845                  APT 14101                                                  SAN JUAN            PR           00926
          JOSE RIVERA/GLADYS
   250775 RIVERA/DORIS ANDINO                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      1605 CRICKET CLUB CIRCLE APT
   687567 JOSE ROBERT TORRES                          102                                                                                                                     ORLANDO             FL           32828




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          JOSE ROBERTO CASANOVA
   250778 LABOY                                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687568 JOSE ROBERTO FEIJOO                         EDF FIRST FEDERAL OFIC 720   1519 AVE PONCE DE LEON                                                                SAN JUAN            PR           00909‐1718
          JOSE ROBERTO GONZALEZ
   687569 CHARDON                                     VILLA DE MAYAGUEZ            EDIF B APT 303                                                                        MAYAGUEZ            PR           00680
          JOSE ROBERTO LEBRON
   250779 SANABRIA                                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   250780 JOSE ROBERTO LOPEZ FELICIANO REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250781 JOSE ROBERTO LOPEZ PAGAN     REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687570 JOSE ROBERTO MATIAS          260 CALLE JUNCOS                                                                                                                  SAN JUAN            PR           00914
          JOSE ROBERTO PEREZ Y
   687571 ASSOCIATES                   P O BOX 53                                                                                                                        YAUCO               PR           00698‐0053

   687572 JOSE ROBERTO VARGAS CASTRO                  PO BOX 191281                                                                                                      SAN JUAN            PR           00919‐1281
   687573 JOSE ROBERTO VEGA DIAZ                      BRISAS DEL MAR               BOX 1210                                                                              LUQUILLO            PR           00773‐1210
          JOSE ROBLES DBA AMERICAN
   687574 CLEANING SERV                               258 AVE ELEANOR ROOSEVELT                                                                                          SAN JUAN            PR           00918
   687575 JOSE ROBLES DE JESUS                        P O BOX 1173                                                                                                       BAJADERO            PR           00616
   250782 JOSE ROBLES ENCARNACION                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250783 JOSE ROBLES NUNEZ                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687576 JOSE ROBLES OTERO                           P O BOX 564                                                                                                        CIALES              PR           00638
   250784 JOSE ROBLES ROSA                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   687577 JOSE ROBLES SANTIAGO                        COND HATO REY PLAZA APT 81                                                                                         SAN JUAN            PR           00918
   250785 JOSE ROBRIGUEZ COLON                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250786 JOSE ROCAFORT BUSTELO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250787 JOSE RODIRGUEZ CRUZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250788 JOSE RODRIGUEZ                              REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250789 JOSE RODRIGUEZ AGRELOT                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687585 JOSE RODRIGUEZ ALICEA                       URB COUNTRY CLUB             911 AVE CAMPO RICO                                                                    SAN JUAN            PR           00924
   250790 JOSE RODRIGUEZ ALVAREZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687586 JOSE RODRIGUEZ ALVELO                       HC 01 BOX 6502                                                                                                     SALINAS             PR           00751
   250791 JOSE RODRIGUEZ APONTE                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687591 JOSE RODRIGUEZ BURGOS                       PO BOX 318                                                                                                         JUANA DIAZ          PR           00795
   687592 JOSE RODRIGUEZ CAMACHO                      6937 BO BRANDERI                                                                                                   GUAYAMA             PR           00784
   687593 JOSE RODRIGUEZ CARABALLO                    URB CAMPO ALEGRE             411 CALLE ACUARIO SUR                                                                 PONCE               PR           00731
   687594 JOSE RODRIGUEZ CARRERAS                     PO BOX 2412                                                                                                        SAN GERMAN          PR           00683
   687595 JOSE RODRIGUEZ CEDENO                       CALLE DIAMANTE D 10                                                                                                SABANA GRANDE       PR           00637
   687596 JOSE RODRIGUEZ COLIN                        PO BOX 3502                                                                                                        VEGA ALTA           PR           00692

   687598 JOSE RODRIGUEZ CONCEPCION                   HC 01 BOX 2154                                                                                                     FLORIDA             PR           00650
   250792 JOSE RODRIGUEZ COSME                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   250793 JOSE RODRIGUEZ CRESPO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687601 JOSE RODRIGUEZ CRUZ                         URB VILLA DEL REY            2B 37 CALLE CARLOS MAGNO                                                              CAGUAS              PR           00725

   250794 JOSE RODRIGUEZ DE LOS SANTOS REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687602 JOSE RODRIGUEZ DENIZARD        BO QUEBRADA GRANDE                        HC 2 BOX 26506                                                                        MAYAGUEZ            PR           00680
   250795 JOSE RODRIGUEZ DIAZ            REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          Jose Rodriguez Diaz y/o HG. La
   250796 Lomita                         PO BOX 607087                                                                                                                   BAYAMON             PR           00960‐7087
   250797 JOSE RODRIGUEZ DONATE          REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   687603 JOSE RODRIGUEZ ESCARIN         PO BOX 362845                                                                                                                   SAN JUAN            PR           00936‐2845



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  687604 JOSE RODRIGUEZ ESTRELLA                      HC 4 BOX 42337                                                                                                     CAGUAS               PR           00727
  687606 JOSE RODRIGUEZ FIGUEROA                      RES MONTE HATILLO            EDIF 45 APT 545                                                                       SAN JUAN             PR           00924
  687607 JOSE RODRIGUEZ FONSECA                       URB MONTE CARLO              1242 CALLE 5                                                                          SAN JUAN             PR           00924
  687608 JOSE RODRIGUEZ FORTUNA                       PO BOX 12365                                                                                                       SAN JUAN             PR           00926‐1365
  687610 JOSE RODRIGUEZ FUENTES                       189 BDA CANTERA                                                                                                    CAYEY                PR           00736

   687611 JOSE RODRIGUEZ GALARZA                      232 AVE ELEONOR ROOSEVELT                                                                                          SAN JUAN             PR           00907
   687612 JOSE RODRIGUEZ GALLOZA                      P O BOX 4638                                                                                                       AGUADILLA            PR           00605‐4638
   687614 JOSE RODRIGUEZ GERENA                       URB VILLA DEL OESTE          725 CALLE TAURO                                                                       MAYAGUEZ             PR           00680
   250798 JOSE RODRIGUEZ GOMEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   250800 JOSE RODRIGUEZ GONZALEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   680879 JOSE RODRIGUEZ GUERRO                       PO BOX 21414                                                                                                       SAN JUAN             PR           00928‐1414

   250801 JOSE RODRIGUEZ HERNANDEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   687620 JOSE RODRIGUEZ LAGUARES                     BO OBRERO                    2009 CALLE ROSALINE                                                                   SAN JUAN             PR           00915
   687621 JOSE RODRIGUEZ LANZAR                       TOWN PARK                    D 14 SAMTIAM                                                                          SAN JUAN             PR           00924
   687622 JOSE RODRIGUEZ LERMA                        PO BOX 3504                                                                                                        GUAYNABO             PR           00970
   687623 JOSE RODRIGUEZ LOPEZ                        HC 01 8583                                                                                                         HATILLO              PR           00659

   250804 JOSE RODRIGUEZ MALDONADO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
                                                      1 COND TORRES DE ANDALUCIA
   687625 JOSE RODRIGUEZ MANZANO                      APT 1808                                                                                                           SAN JUAN             PR           00926

   687626 JOSE RODRIGUEZ MARRERO                      BRISAS DEL ROSARIO           5415 CALLE ROBERTO CLEMENTE                                                           VEGA BAJA            PR           00693
   250805 JOSE RODRIGUEZ MARTINEZ                     REDACTED                     REDACTED                    REDACTED                           REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   687630 JOSE RODRIGUEZ MENA                         760 CALLE FRANCISCO GARCIA                                                                                         DORADO               PR           00646
   687631 JOSE RODRIGUEZ MENDEZ                       RR 1 BOX 4668                                                                                                      MARICAO              PR           00606
   687632 JOSE RODRIGUEZ MERCADO                      HC 1 BOX 4377                BO FLORIDA                                                                            NAGUABO              PR           00718
   680778 JOSE RODRIGUEZ MERCED                       HC 1 BOX 9121                                                                                                      AGUAS BUENAS         PR           00703
   687634 JOSE RODRIGUEZ MONTA¥EZ                     PO BOX 810308                                                                                                      CAROLINA             PR           00981‐0308
   250807 JOSE RODRIGUEZ MORALES                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   250808 JOSE RODRIGUEZ NEGRON                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   687635 JOSE RODRIGUEZ ORENGO                       PO BOX 70344                                                                                                       SAN JUAN             PR           00936‐8344
   250809 JOSE RODRIGUEZ ORTIZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   250810 JOSE RODRIGUEZ OSORIO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   250811 JOSE RODRIGUEZ PACHECO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   250812 JOSE RODRIGUEZ PADILLA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   250814 JOSE RODRIGUEZ PEREZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   687636 JOSE RODRIGUEZ RIVAS                        PO BOX 3230                                                                                                        BAYAMON              PR           00958
   250815 JOSE RODRIGUEZ RIVERA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   250816 JOSE RODRIGUEZ RODRIGUEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   687640 JOSE RODRIGUEZ ROSARIO                      PO BOX 764                                                                                                         BARCELONETA          PR           00617
   687642 JOSE RODRIGUEZ SANTIAGO                     RES ROOSEVELT                EDIF 20 APT 448                                                                       MAYAGUEZ             PR           00680
   250820 JOSÉ RODRÍGUEZ SANTIAGO                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          JOSE RODRIGUEZ SANTIAGO Y
   250821 LUZ MORALES                                 REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   250822 JOSE RODRIGUEZ SUAREZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   250823 JOSE RODRIGUEZ TORO                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   250824 JOSE RODRIGUEZ TORRES                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   687652 JOSE RODRIGUEZ VARGAS                       BOX 1441                                                                                                           JUANA DIAZ           PR           00795
   687653 JOSE RODRIGUEZ VAZQUEZ                      HC M BOX 9514                                                                                                      TOA BAJA             PR           00949
   687583 JOSE RODRIGUEZ VELEZ                        URB VILLAS DE SAN ANTON      B 17 CALLE 4                                                                          BAYAMON              PR           00959



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  687654 JOSE RODRIGUEZ VELEZ                         PO BOX 439                                                                                                         ARECIBO             PR         00613
  250825 JOSE RODRIGUEZ VERA                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  687657 JOSE RODRIQUEZ CRESPO                        146 HAMPSHIRE ST                                                                                                   BUFFALO             NY         14213
                                                      CARR 842 KM 3.9 CAMINO LOS
   687658 JOSE RODZ GUZMAN                            OCASIO                                                                                                             SAN JUAN            PR         00926
   687659 JOSE ROHENA RIVERA                          HC 02 BOX 14461                                                                                                    CAROLINA            PR         00985
   250827 JOSE ROJAS CORREA                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250828 JOSE ROJAS PEREZ                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250829 JOSE ROLDAN GONZALEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687660 JOSE ROLDAN SORIA                           PARC IMBERY                  10 CALLE 16                                                                           BARCELONETA         PR         00617
   250830 JOSE ROLON MORALES                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      AD 23 CALLE 29
   687661 JOSE ROMAN                                  INTERAMERICANA                                                                                                     TRUJILLO ALTO       PR         00976
   687662 JOSE ROMAN DE LEON                          PO BOX 21365                                                                                                       SAN JUAN            PR         00928‐1365
   687663 JOSE ROMAN DEL VALLE                        BELLA VISTA                  Y32 CALLE 29                                                                          BAYAMON             PR         00957
   687664 JOSE ROMAN DIAZ                             P O BOX 306                                                                                                        HATILLO             PR         00659
   250831 JOSE ROMAN MEDINA                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250832 JOSE ROMAN MORALES                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687666 JOSE ROMAN PADIN                            PO BOX 21269 MINILLAS STA                                                                                          SAN JUAN            PR         00901
   687667 JOSE ROMAN RAMOS                            PO BOX 3091                                                                                                        VEGA ALTA           PR         00692
   250833 JOSE ROMAN RIVERA                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250834 JOSE ROMAN RUDON                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687668 JOSE ROMAN SANTOS                           BOX 1441                                                                                                           JUANA DIAZ          PR         00795
   687669 JOSE ROMAN VEGA                             URB EL CERESAL               1606 CALLE INDO                                                                       SAN JUAN            PR         00926‐3031
   250835 JOSE ROQUE COLON                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250837 JOSE ROQUE VELAZQUEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250839 JOSE ROSA GONZALEZ                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687672 JOSE ROSA QUINTANA                          P O BOX 659                                                                                                        SAN SEBASTIAN       PR         00685
   687673 JOSE ROSA RIVERA                            PO BOX 191318                                                                                                      SAN JUAN            PR         00919‐1318
   250841 JOSE ROSA RODRIGUEZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250842 JOSE ROSA ROSA                              REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250844 JOSE ROSA VELEZ                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687674 JOSE ROSADO                                 P O BOX 235                                                                                                        KINGSBURG           CA         93631
   687675 JOSE ROSADO & ASOC.                         PO BOX 98                                                                                                          CAMUY               PR         00627
   250845 JOSE ROSADO CRUZ                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250846 JOSE ROSADO LOPEZ                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250847 JOSE ROSADO MALDONADO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   687677 JOSE ROSADO MOURA                           URB FAIR VIEW                742 CALLE GONZALO GALLEGOS                                                            SAN JUAN            PR         00926
   250848 JOSE ROSADO NEGRON                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   680880 JOSE ROSADO PACHECO                         HC 2 BOX 46707                                                                                                     VEGA BAJA           PR         00693
   250849 JOSE ROSADO PEREZ                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250850 Jose Rosado Ramos                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687678 JOSE ROSADO REYES                           PTA DE TIERRA                102 CALLE MATIAS LEDESMA                                                              SAN JUAN            PR         00906
   250851 José Rosado Rosario                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687679 JOSE ROSADO SALGADO                         PMB 133                      PO BOX 30500                                                                          MANATI              PR         00674
   687681 JOSE ROSADO SANCHEZ                         PO BOX 10                                                                                                          GUANICA             PR         00653
   250852 JOSE ROSADO TORRES                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687682 JOSE ROSADO VICENTE                         URB LOS LLANOS               D4 CALLE 8                                                                            ARECIBO             PR         00612
   250853 JOSE ROSARIO ALVAREZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687684 JOSE ROSARIO BERTIN                         HC 2 BOX 20211                                                                                                     AGUADILLA           PR         00603‐9604
   687685 JOSE ROSARIO BONILLA                        HC 1 BOX 5265                                                                                                      OROCOVIS            PR         00720
   250854 JOSE ROSARIO CABA                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  250855 JOSE ROSARIO GARCIA         REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687686 JOSE ROSARIO LOPEZ          VILLA COOPERATIVA                  G23 CALLE 1                                                                          CAROLINA           PR         00985
  687687 JOSE ROSARIO PEREZ          PIEDRA CORDA                       SOLAR 174 A                                                                          CAMUY              PR         00627
  250856 JOSE ROSARIO SANTIAGO       REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687688 JOSE ROSARIO URRUTIA        URB COLINAS DEL MARQUEZ            D 14 CALLE MONSERRATE                                                                VEGA BAJA          PR         00693
  250857 José Rosario Valdéz         REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687689 JOSE ROSSY ASENCIO INC      PO BOX 363729                                                                                                           SAN JUAN           PR         00936‐3729
  250859 JOSE ROSSY LAMPON           REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687690 JOSE RUBI SANCHEZ           193 CALLE NUEVA                                                                                                         SAN JUAN           PR         00917
  687691 JOSE RUBIO GONZALEZ         URB CAMPO ALEGRE                   I 56 CALLE ACACIA                                                                    PONCE              PR         00976
  687693 JOSE RUIZ LOPEZ             BOX 1441                                                                                                                JUANA DIAZ         PR         00795
  687695 JOSE RUIZ MORALES           P O BOX 1164                                                                                                            HATILLO            PR         00659
  687696 JOSE RUIZ ORTIZ             URB MARIANI                        7925 CALLE JOSE HEMMA                                                                PONCE              PR         00731
  687698 JOSE RUIZ RIVERA            URB VISTA ALEGRE                   611 CALLE ORQUIDEA                                                                   VILLALBA           PR         00766
  687700 JOSE RUIZ SANCHEZ           COM STELLA                         2874 CALLE 12                                                                        RINCON             PR         00677
  250860 JOSE RUIZ TORRES            REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687701 JOSE RUIZ VELEZ             P O BOX 189                                                                                                             LARES              PR         00669
  687702 JOSE S ACOSTA BETANCOURT    PARQUE MONTEBELLO                  F 10 CALLE I                                                                         TRUJILLO ALTO      PR         00976
  250862 JOSE S APONTE PAGAN         REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687703 JOSE S BABILONIA GALARZA    BO BALBOA 255 CALLE                MARIANA BRACETTY                                                                     MAYAGUEZ           PR         00680‐5236
  687704 JOSE S BARREA ECHEVARIA     PO BOX 6826                                                                                                             CAGUAS             PR         00726
  687705 JOSE S DIAZ                 COND PLAYA BUYE                    APT 204 MC 013914                                                                    CABO ROJO          PR         00623
  250863 JOSE S DIAZ SOTOMAYOR       REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250864 JOSE S LEBRON IRIZARRY      REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687706 JOSE S LOPEZ VELAZQUEZ      VILLA VELAZQUEZ JOSE               A 34 ENSENADA                                                                        GURABO             PR         00778
  687707 JOSE S MARTINEZ MORALES     P O BOX 132                                                                                                             NARANJITO          PR         00719
  250865 JOSE S MELENDEZ COLON       REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250866 JOSE S MENDOZA GARCIA       REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687709 JOSE' S MUFFLER SHOP        HC 866 BOX 10099                                                                                                        FAJARDO            PR         00738
  687710 JOSE S NOVOA CENTENO        BOX 337                                                                                                                 BAJADERO           PR         00616
  687711 JOSE S ORTIZ MALDONADO      BDA SAN LUIS 44                    CALLE JERUSALEM                                                                      AIBONITO           PR         00705
  687712 JOSE S PADILLA MENDOZA      5 CALLE PABLO CASALS                                                                                                    MAYAGUEZ           PR         00682
  250869 JOSE S PEREZ MEDINA         REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250870 JOSE S PIZARRO DAVILA       REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250871 JOSE S RAMOS COLON          REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250872 JOSE S RAMOS GUZMAN         REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250873 JOSE S REYES MATEO          REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         JOSE S RODRIGUEZ ROSA/BANCO
  687713 SANTANDER PR                H C 03 BOX 36258                                                                                                        SAN JUAN           PR         00936‐2589
  250875 JOSE S SOTO VICENT          REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687714 JOSE S VAZQUEZ TORRES       URB LEVITTOWN LAKES HM 6           CALLE VICTORIANO JUAREZ                                                              TOA BAJA           PR         00949
  250876 JOSE SAAVEDRA CASTRO        REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687715 JOSE SAEZ OTERO             HC 01 BOX 7458                                                                                                          AGUAS BUENAS       PR         00703
  687716 JOSE SALA ARANA             URB LAS AMERICAS                   798 CALLE MONTEVIDEO                                                                 SAN JUAN           PR         00923
  250877 JOSE SALAS MORALES          REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687718 JOSE SALGADO BAEZ           BO MAGUAYO                         83 SECTOR EL COTTO                                                                   DORADO             PR         00646
  687720 JOSE SALGADO SALGADO        HC 03 BUZON 19071                                                                                                       RIO GRANDE         PR         00745

   250878 JOSE SALOMON ORTIZ DE LEON                  REDACTED          REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250879 JOSE SAMPAYO FERNANDEZ                      REDACTED          REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   687722 JOSE SANABRIA ORTIZ                         URB MONTE MAR     A 32                                                                                 FAJARDO            PR         00738
   687723 JOSE SANCHEZ                                P O BOX 7428                                                                                           SAN JUAN           PR         00916
   687724 JOSE SANCHEZ ACOSTA                         URB SAN GERARDO   1704 CALLE AUGUSTA                                                                   SAN JUAN           PR         00926‐3467



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  687725 JOSE SANCHEZ AMARO                           BO VISTA ALEGRE               BZN 3514                                                                          MAUNABO             PR         00707
  250881 JOSE SANCHEZ CASTILLO                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250882 JOSE SANCHEZ COLON                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   687726 JOSE SANCHEZ CRUZ                           JARDINES DE AARROYO C/XX 33                                                                                     ARROYO              PR         00714
   250883 JOSE SANCHEZ GINES                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250884 JOSE SANCHEZ GUTIERREZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250885 JOSE SANCHEZ LUGO                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250886 JOSE SANCHEZ MARTINEZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687728 JOSE SANCHEZ MORALES                        P O BOX 10163                                                                                                   SAN JUAN            PR         00908‐1163
   687730 JOSE SANCHEZ NAVARRO                        PO BOX 1509                                                                                                     YABUCOA             PR         00767
   250887 JOSE SANCHEZ OSORIO                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687731 JOSE SANCHEZ PAGAN                          PO BOX 2103                                                                                                     MAYAGUEZ            PR         00681
   680881 JOSE SANCHEZ PE¥A                           RES JARDINES DE CONCORDIA     EDIF. 13 APT 174                                                                  MAYAGUEZ            PR         00680
   250888 JOSE SANCHEZ RIVERA                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687734 JOSE SANCHEZ RODRIGUEZ                      HC 01 BOX 3138                                                                                                  LAS MARIAS          PR         00670
   250889 JOSE SANCHEZ ROSADO                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250890 JOSE SANCHEZ RUBIO                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250891 JOSE SANCHEZ SANCHEZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687735 JOSE SANCHEZ SURILLO                        HC 02 BOX 8176                                                                                                  YABUCOA             PR         00767
   250894 JOSE SANCHEZ VELEZ                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687736 JOSE SANJURJO PIZARRO                       BOX B 9 BO SAN ISIDRO                                                                                           CANOVANAS           PR         00729
   250895 JOSE SANTA DE LA PAZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250896 JOSE SANTANA                                REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250897 JOSE SANTANA APONTE                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687739 JOSE SANTANA GANDIA                         URB VENUS GARDENS OESTE       BC 12 CALLE C                                                                     SAN JUAN            PR         00926
   687740 JOSE SANTANA GARCIA                         UNIVERSY GARDENS              220 CALLE CORNELL                                                                 SAN JUAN            PR         00927
   687741 JOSE SANTANA KUILAN                         HC 33 BOX 5900                                                                                                  DORADO              PR         00646‐9630

   687742 JOSE SANTANA MORALES                        SECTOR BRISA DE PLATA BOX 40                                                                                    DORADO              PR       00646
   250898 JOSE SANTANA QUINTERO                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   250899 JOSE SANTANA VAZQUEZ                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   687743 JOSE SANTIAGO                               PO BOX 191795                                                                                                   SAN JUAN            PR       00919
   687744 JOSE SANTIAGO APONTE                        PO BOX 7126                                                                                                     PONCE               PR       00732
   250901 JOSE SANTIAGO CONCEPCION                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   687746 JOSE SANTIAGO FUENTES                       3RA SECCION LEVITTOWN        3111 PASEO CIPRESES                                                                TOA BAJA            PR       00949
   250902 JOSE SANTIAGO GONZALEZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   250903 JOSE SANTIAGO INC                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   250905 JOSE SANTIAGO JORGE                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   687747 JOSE SANTIAGO LAFONTAINE                    BO HIQUILLAR SECT            SAN ANTONIO PARC 29 C                                                              DORADO              PR       00646
   687750 JOSE SANTIAGO MALDONADO                     P O BOX 584                                                                                                     GUAYAMA             PR       00785
   687751 JOSE SANTIAGO MARRERO                       VALLE ARRIBA HEIGHTS         DK 15 CALLE 2D 1                                                                   CAROLINA            PR       00983
   250906 JOSE SANTIAGO MARTINEZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   687752 JOSE SANTIAGO MEJIAS                        RES VIRGILIO DAVILA          EDIF 38 APT 361                                                                    BAYAMON             PR       00961
   687753 JOSE SANTIAGO ORTIZ                         VILLALBA HOUSING             APT 9                                                                              VILLALBA            PR       00766
   250908 JOSE SANTIAGO RAMOS                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
                                                      PO BOX 7187‐14384 BO OBRERO
   687756 JOSE SANTIAGO REILLO                        STA                                                                                                             SAN JUAN            PR         00916
   250909 JOSE SANTIAGO RIVERA                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250910 JOSE SANTIAGO RODRIGUEZ                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

          JOSE SANTIAGO RODRIGUEZ
   250911 D/B/A GUAYNABO CITY RENTAL                  PO BOX 130                                                                                                      GUAYNABO            PR         00970



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  250912 JOSE SANTIAGO ROMERO                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  250913 JOSE SANTIAGO ROSADO                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  250914 JOSE SANTIAGO RULLAN                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  250915 JOSE SANTIAGO SANTIAGO                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  687761 JOSE SANTIAGO SERRANO                        HC 04 BOX 14260                                                                                                  ARECIBO           PR         00612
  687762 JOSE SANTIAGO TORRES                         P O BOX 434                                                                                                      SAN LORENZO       PR         00754
  687763 JOSE SANTIAGO VEGA                           P O BOX 40277                                                                                                    SAN JUAN          PR         00940‐0277
  250916 JOSE SANTIAGO VELEZ                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   250917 JOSE SANTIAGO VELEZ FIGUEROA REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   687764 JOSE SANTISTEBAN             PO BOX 361336                                                                                                                   SAN JUAN          PR         00936‐1336
   687765 JOSE SANTORI COLL            P O BOX 3067                                                                                                                    SAN SEBASTIAN     PR         00685
                                       BO RIO ABAJO 5930 CALLE
   687766 JOSE SANTOS BRUNO            MONSERRATE                                                                                                                      VEGA BAJA         PR         00693‐0000
   687767 JOSE SANTOS GUEVARA          P O BOX 17                                                                                                                      COROZAL           PR         00783‐0017
   687768 JOSE SANTOS MARTINEZ         HC‐1 BOX‐6385                                                                                                                   AIBONITO          PR         00705
   687769 JOSE SANTOS NIEVES           HC 1 BOX 4427                                                                                                                   QUEBRADILLAS      PR         00678
   250918 JOSE SANTOS PINOL            REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   687770 JOSE SANTOS ROSADO           URB FOREST VIEW                            B 46 CALLE DAKAR                                                                     BAYAMON           PR         00956
   250919 JOSE SANYET SILVA            REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   687771 JOSE SAYAN OQUENDO           SAN JOSE 361                               CALLE ALGARVEZ                                                                       SAN JUAN          PR         00923
   687773 JOSE SEDA MARTINEZ           HC 04 BOX 42311                                                                                                                 MAYAGUEZ          PR         00680
   687774 JOSE SEGARRA PEREZ           ROYAL TOWN                                 E 6 CALLE 8                                                                          BAYAMON           PR         00956
   250920 JOSE SEGUINOT BARBOSA        REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   687775 JOSE SEOANE RAMIREZ          URB COUNTRY CLUB                           MV 3 CALLE 409                                                                       CAROLINA          PR         00985
   687776 JOSE SEPULVEDA               31 CALLE ANGEL MARTINEZ                                                                                                         SABANA GRANDE     PR         00637
   687777 JOSE SEPULVEDA GONZALEZ      URB HIPODROMO                              859 AVE AVELINO VICENTE                                                              SAN JUAN          PR         00909
   687779 JOSE SEPULVEDA RIVAS         URB VISTA HERMOSA                          L 5 CALLE 9                                                                          HUMACAO           PR         00791
   687780 JOSE SERBIA                  URB ONEIL                                  GG 142 CALLE D                                                                       MANATI            PR         00674
   687781 JOSE SERRA ORTIZ             P O BOX 721                                                                                                                     COROZAL           PR         00783

   687782 JOSE SERRA TAYLOR                           232 AVE ELEONOR ROOSEVELT                                                                                        SAN JUAN          PR         00907
   250921 JOSE SERRANO AQUIRRE                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   250922 JOSE SERRANO MARTINEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   687785 JOSE SERRANO MORALES                        RR 1 BOX 5774                                                                                                    MARICAO           PR         00606 9711
   687786 JOSE SERRANO ROMERO                         PO BOX 1062                                                                                                      LAS PIEDRAS       PR         00771
   687787 JOSE SERRANO SOTO                           PO BOX 834                                                                                                       SABANA SECA       PR         00952
   687788 JOSE SERRANO TORRES                         HC 4 BOX 18016                                                                                                   CAMUY             PR         00627
   687789 JOSE SERVICE STATION                        349 BO PAMPANOS                                                                                                  PONCE             PR         00717‐0358
   687790 JOSE SERVICENTER                            8 CALLE PROGRESO                                                                                                 PONCE             PR         00731
   687791 JOSE SEVILLA FLORES                         BO JUAN DOMINGO             200 CALLE FLORES                                                                     GUAYNABO          PR         00966
   687792 JOSE SIERRA CRESPO                          BO LLANO SECT PIMIENTOS                                                                                          GUAYANILLA        PR         00656‐9740
          JOSE SIERRA MERCADO /
   687793 ELIZABETH MELENDEZ                          COM HILL BROTHER            ESTRUCTURA 97 C                                                                      SAN JUAN          PR         00924
   687794 JOSE SIERRA SOTO                            HC 33 BOX 4407                                                                                                   DORADO            PR         00646‐4407
   687795 JOSE SIERRA TORRES                          P O BOX 590                                                                                                      AGUAS BUENAS      PR         00703

   250925 JOSE SIGFREDO DIAZ MIRANDA                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   250926 JOSE SIGNORET                               REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   687796 JOSE SILVA BONER                            12 CALLE BARCELO                                                                                                 TOA ALTA          PR         00953
   687797 JOSE SILVA PERREZ                           JARDINES DE COUNTRY CLUB    AL‐16 CALLE 43                                                                       CAROLINA          PR         00983
   250927 JOSE SOBRINO CATONI                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   250928 JOSE SOJO MORALES                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  250929 JOSÉ SOLÁ LAO                                REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250930 Jose Sola Reyes                              REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250931 JOSE SOLIS ESTRADA                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOSE SOLIVAN GARCIA &
  687799 NEREIDA ASENCIO                              URB ROYAL TOWN             A 34 CALLE 13                                                                        BAYAMON             PR         00956
  687800 JOSE SOSA OLIVERAS                           RES VILLA ESPANA           Q 7 CALLE LAS MERCEDES                                                               BAYAMON             PR         00959
  687801 JOSE SOSTRE OLIVO                            VLLA PALMERA               198 CALLE RAFAEL CEPEDA                                                              SAN JUAN            PR         00915
  250932 JOSE SOSTRE PEREZ                            REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  687802 JOSE SOTO / GOMERA TATY                      3324 AVE JUAN HERNANDEZ                                                                                         ISABELA             PR         00662
  687803 JOSE SOTO CEPEDA                             PO BOX 7126                                                                                                     PONCE               PR         00732
  687804 JOSE SOTO CHAPARRO                           HC 73 BOX 29962                                                                                                 AGUADA              PR         00602
  250933 JOSE SOTO DIAZ                               REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250935 JOSE SOTO FONSECA                            REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  687805 JOSE SOTO PEREZ                              HC 04 BOX 4244                                                                                                  HUMACAO             PR         00791
  687806 JOSE SOTO RIVERA                             HC 1 BOX 4164                                                                                                   ADJUNTAS            PR         00601
  687807 JOSE SOTO TORRES                             URB CAMPO ALEGRE           18 CALLE CENTRAL                                                                     LARES               PR         00669
  687808 JOSE SOUND EXPRESS                           199 CALLE LA PLATA                                                                                              HUMACAO             PR         00791
  687809 JOSE SOWI MARQUEZ GUISAO                     PUNTA SANTIGO              124 CALLE PRINCIPAL                                                                  PUNTA SANTIAGO      PR         00741
 1420123 JOSÉ SUÁREZ DÍAZ, ET. ALS.                   CARMEN BENABE              PO BOX 1287                                                                          LUQUILLO            PR         00773
  687810 JOSE SUAREZ MATOS                            HC 01 BOX 6306                                                                                                  GUAYANILLA          PR         00656
  687811 JOSE SUIZA ALEMAN                            BO DOS BOCAS HC 645 5215                                                                                        TRUJILLO ALTO       PR         00976
  250941 JOSE SURITA RODRIGUEZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  687813 JOSE T APONTE MELENDEZ                       BOX 1079                                                                                                        COAMO               PR         00769
  687814 JOSE T CENTENO                               PO BOX 324                                                                                                      CAROLINA            PR         00986
  250942 JOSE T GONZALEZ MORENO                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  687815 JOSE T KERCADO RIVERA                        PO BOX 374                                                                                                      SAN LORENZO         PR         00754
  250943 JOSE T MOLINI RAMIREZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250944 JOSE T QUINONEZ BURGOS                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  687818 JOSE T ROMAN BARCELO                         PO BOX 367                                                                                                      LARES               PR         00669
  250945 JOSE T SANTIAGO DIAZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  687819 JOSE T VAZQUEZ CAMACHO                       JARDINES DE CAYEY 2        C 25 CALLE ORQUIDEA                                                                  CAYEY               PR         00737
  687820 JOSE T VELAZQUEZ FELICIANO                   BOX 560169                                                                                                      GUAYANILLA          PR         00656
  250946 JOSE T.LIMA QUINONES                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOSE TAVAREZ /CTRO CLINICO
  687822 SAN PATRICIO                                 PO BOX 360013                                                                                                   SAN JUAN            PR         00936
                                                      PDA 16 AVE PONCE DE LEON
   687823 JOSE TAVAREZ GUERRERO                       1067                                                                                                            SAN JUAN            PR         00908
   687824 JOSE TELLADO BARRETO                        HC 4 BOX 13693                                                                                                  MOCA                PR         00676
   687825 JOSE TERON RIVERA                           HC 08 BOX 891                                                                                                   PONCE               PR         00731
   687826 JOSE TEXEIRA ROSADO                         URB SANTA TERESITA         AN‐3 CALLE11                                                                         PONCE               PR         00731
   687827 JOSE TIRADO BENITEZ                         PO BOX 73                                                                                                       LA PLATA            PR         00786‐0073
   250947 JOSE TIRADO FIGUEROA                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687828 JOSE TIRADO RODRIGUEZ                       URB VILLA UNIVERSITARIA    B 17 CALLE 6                                                                         HUMACAO             PR         00791‐4318
   687829 JOSE TOLEDO JIMENEZ                         RES VILLANUEVA             EDIF 1 APT 13                                                                        AGUADILLA           PR         00603
          JOSE TOMAS BERRIOS
   250948 HERNANDEZ                                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250950 JOSE TORO LOPEZ                             REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250951 JOSE TORRENS / ISO                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250952 JOSE TORRENT RIVERA                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687832 JOSE TORRES                                 PO BOX 2390                                                                                                     SAN JUAN            PR         00919
   687833 JOSE TORRES ALICEA                          JUAN SANCHEZ PARC 187      BOX 162 E                                                                            BAYAMON             PR         00959
   687834 JOSE TORRES ALVARADO                        BOX 4293                                                                                                        BAYAMON             PR         00958
   250953 JOSE TORRES CARABALLO                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  687835 JOSE TORRES CORCINO                          HC BOX 13401                                                                                                          VIEQUES            PR         00765 9635
  250955 JOSE TORRES DIAZ                             REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  250957 JOSE TORRES GARCIA                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687838 JOSE TORRES GONZALEZ                         P O BOX 7628                                                                                                          MAYAGUEZ           PR         00681
  687840 JOSE TORRES GUADALUPE                        PO BOX 714                                                                                                            PENUELAS           PR         00624
  250958 JOSE TORRES HERNANDEZ                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687841 JOSE TORRES LOPEZ                            RES EL EDEN                   EDIF 15 APT 104                                                                         COAMO              PR         00769
  687843 JOSE TORRES MARTY                            URB EL ESCORIAL               S 510 CALLE CATARATA                                                                    SAN JUAN           PR         00925
  250959 JOSE TORRES MAS                              REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687844 JOSE TORRES MEDINA                           BO CAMUY ARRIBA               BOX 27700                                                                               CAMUY              PR         00627
  250960 JOSE TORRES MENDEZ                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687846 JOSE TORRES MORALES                          REPARTO ARENALES              53 CALLE 2                                                                              LAS PIEDRAS        PR         00771
                                                      URB.JARDINES FAGOT C/14 #M‐
   687847 JOSE TORRES NEGRON                          35                                                                                                                    PONCE              PR         00731
   250961 JOSE TORRES OTERO                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250962 JOSE TORRES PEREZ                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250964 JOSE TORRES RAMIREZ                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250965 JOSE TORRES REYES                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   687848 JOSE TORRES RIVAS                           RR 6 BOX 9682                                                                                                         SAN JUAN           PR         00926
   687849 JOSE TORRES RODRIGUEZ                       PO BOX 80                                                                                                             ANGELES            PR         00611‐0080
   250966 JOSE TORRES ROSARIO                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250967 JOSE TORRES ROSENDO                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250968 JOSE TORRES TORRES                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   687853 JOSE TOSADO TORRES                          URB TOALINDA                  C 11 CALLE A                                                                            TOA ALTA           PR         00953‐4611
   687854 JOSE TRICOCHE RIVERA                        VILLA DEL CARMEN              478 CALLE SOLIMAR                                                                       PONCE              PR         00716
   687856 JOSE TRINADAD                               PO BOX 774                                                                                                            MANATI             PR         00674‐0774
   687857 JOSE TROCHE FERNANDEZ                       75 CALLE MARIANO ABRIL                                                                                                MAYAGUEZ           PR         00680
   687858 JOSE TRUJILLO BENITEZ                       MONTE MORIAH                                           8                                                              GURABO             PR         00778
   250969 JOSE TURELL GONZALEZ                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250970 JOSE U DALMAU SANTIAGO                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   687859 JOSE U DE JESUS CORDERO                     URB ROYAL TOWN                13 26 CALLE 54                                                                          BAYAMON            PR         00956

   687860 JOSE U ECHEVERRIA RODRIGUEZ                 URB JACAGUEX                  12 CALLE 2                                                                              JUANA DIAZ         PR         00795‐1502
   250971 JOSE U GRAZIANI IRIZARRY                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250972 JOSE U ZAYAS CINTRON                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250973 JOSE U. PEREZ MALDONADO                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   687862 JOSE U. RUIZ HERNANDEZ                      PO BOX 2105                                                                                                           SALINAS            PR         00751
   250975 JOSE URIEL RIVERA TORRES                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   250976 JOSE V ACABA RAICES                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   687866 JOSE V ARENAS ACOSTA                        LADERAS DE PALMA REAL         W7 33 CALLE CERVANTES                                                                   SAN JUAN           PR         00926
   250977 JOSE V BENCON ROSARIO                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   687867 JOSE V BONANO GOMEZ                         P O BOX 1096                                                                                                          YABUCOA            PR         00767
   687869 JOSE V CARRION ORTIZ                        URB JARDINES PLA B 9          CALLE RAMON SANTINI                                                                     CAGUAS             PR         00725
   687870 JOSE V CASIANO CRUZ                         HC 01 BOX 9199                                                                                                        LAJAS              PR         00667‐9708
   250978 JOSE V CASTRO ROMERO                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   687871 JOSE V COLON AGUIRRE                        PO BOX 435                                                                                                            ARECIBO            PR         00613
   687872 JOSE V COLON COLON                          PO BOX 922                                                                                                            OROCOVIS           PR         00720
   687873 JOSE V COLON RIOS                           HC 4 BOX 46856                                                                                                        CAGUAS             PR         00725
   687874 JOSE V CORDERO MU¥OZ                        URB LA INMACULADA             401 CALLE E RIVERA                                                                      VEGA ALTA          PR         00692
   687875 JOSE V CORDERO TORRES                       PO BOX 617                                                                                                            ANGELES            PR         00611
   250979 JOSE V CRUZ FLORES                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   687876 JOSE V DIAZ TEJERA                          PO BOX 423                                                                                                            TRUJILLO ALTO      PR         00977
   687877 JOSE V DIAZ TRONCOSO                        HC 08 BOX 880                                                                                                         PONCE              PR         00731‐9706



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  250981 JOSE V FABRE LABOY                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  250982 JOSE V FABRE SANTIAGO                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   687880 JOSE V GORBEA VARONA                        CAPITAL CENTER SOUTH TOWER    SUITE 1106               239 ARTERIAL HOSTOS                                        SAN JUAN            PR         00918‐1477
   687881 JOSE V HEREDIA MEJIAS                       HC 3 BOX 22080                                                                                                    ARECIBO             PR         00612
   687882 JOSE V HERNANDEZ                            P O BOX 19651                                                                                                     SAN JUAN            PR         00910
   687883 JOSE V LLORENS CAMACHO                      URB LA ALMEDA                 783 CALLE RUBI                                                                      SAN JUAN            PR         00926
   250983 JOSE V LOPEZ ORTIZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250984 JOSE V MARERO MARRERO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687884 JOSE V MARTINEZ                             PO BOX 1980                                                                                                       LOIZA               PR         00772
   250985 JOSE V MARTINEZ MARTINEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687885 JOSE V MASSO COLON                          URB SAN ANTONIO               2320 CALLE DANIELA                                                                  PONCE               PR         00728‐1706
   687886 JOSE V MATOS IRIZARRY                       PO BOX 46                                                                                                         CABO ROJO           PR         00623
   250987 JOSE V MATOS PAGAN                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      BO PITAHAYA CARRETERA 9324
   687887 JOSE V MORALES VEGA                         KM 3.8                                                                                                            HUMACAO             PR         00792
   687889 JOSE V NEGRON FEBLES                        URB GLENVIEW GARDEN           V 9 AVE GLEN                                                                        PONCE               PR         00730
   250988 JOSE V NIEVES ALICEA                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250989 JOSE V NOLASCO PEREZ                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250990 JOSE V NUNEZ BERRIOS                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687890 JOSE V OCASIO GONZALEZ                      F 5 CALLE RODRIGUEZ OLMO                                                                                          ARECIBO             PR         00612
   687891 JOSE V OJEDA MORALES                        HC 1 BOX 2275                                                                                                     JAYUYA              PR         00664‐9604
   687892 JOSE V OLIVER JR.                           PO BOX 107                                                                                                        ARECIBO             PR         00613
   250991 JOSE V OLIVER LEDESMA                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687893 JOSE V ORTEGA RODRIGUEZ                     EXT COLINAS VERDES            B 4 CALLE 1                                                                         SAN JUAN            PR         00924
   250992 JOSE V OTERO AGOSTO                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSE V PIZARRO MERCADO /
   250993 LESLIE MERCADO                              REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687894 JOSE V QUILES RIVERA                        257 CALLE ADUANA SUITE 103                                                                                        MAYAGUEZ            PR         00681‐8650
   687895 JOSE V QUINTANA MORALES                     HC 4 BOX 14009                                                                                                    MOCA                PR         00676
   250994 JOSE V RODRIGUEZ PEREZ                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   250995 JOSE V RODRIGUEZ RODRIGUEZ                  REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687897 JOSE V ROSARIO REYES                        COND SANTA MARIA II           APARTAMENTO 805                                                                     SAN JUAN            PR         00924
   250996 JOSE V SEGARRA GONZALEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250997 JOSE V VAZQUEZ LLAMBIAS                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687900 JOSE V VELEZ PLAZA                          HC 7 BOX 2588                                                                                                     PONCE               PR         00731‐9631
   687901 JOSE V VILLEGAS SANCHEZ                     URB BAIROA                    CS 4 CALLE 11                                                                       CAGUAS              PR         00725
   687902 JOSE V ZAYAS RIVERA                         PO BOX 223                                                                                                        VILLALBA            PR         00766
   250998 JOSE V. FIGUEROA SANTIAGO                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   250999 JOSE V. ORTIZ MORALES                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251000 Jose V. Rivera Collazo                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   687904 JOSE VALDERRAMA LLANES                      COND SAN JUAN PARK APTO E 5                                                                                       SAN JUAN            PR         00909
   251001 JOSE VALDES FERNANDEZ                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251004 JOSE VALENTIN                               REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687906 JOSE VALENTIN CASTRO                        PO BOX 240                                                                                                        SANTA ISABEL        PR         00757
   687907 JOSE VALENTIN FIGUEROA                      PO BOX 7126                                                                                                       PONCE               PR         00732
   251005 JOSE VALENTIN FLORES                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687908 JOSE VALENTIN GUZMAN                        URB LOS MAESTROS              19 CALLE SALVADOR LUGO                                                              ADJUNTAS            PR         00769
   251006 JOSE VALENTIN MALDONADO                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687909 JOSE VALENTIN PEREZ                         URB MOUNTAIN VIEW             N 2 CALLE 9                                                                         CAROLINA            PR         00987
   680882 JOSE VALENTIN ROSADO                        HC 01 BOX 3393                                                                                                    ADJUNTAS            PR         00601



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  687910 JOSE VALENTIN VALENTIN                        BO MANI                     165 CALLE ELENA SEGARRA                                                              MAYAGUEZ          PR         00680
  251008 JOSE VALLE FLORES                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  687913 JOSE VARELA                                   URB LAS LOMAS               861 CALLE 37 S O                                                                     SAN JUAN          PR         00921
  251009 JOSE VARELA RODRIGUEZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251010 JOSE VARGAS ALAMEDA                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251011 JOSE VARGAS COLON                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  687914 JOSE VARGAS CRUZ                              PO BOX 195                                                                                                       LAJAS             PR         00667
  687915 JOSE VARGAS FELICIANO                         HC 01 BOX 30853                                                                                                  CABO ROJO         PR         00623‐9729
  251012 JOSE VARGAS MARQUEZ                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251013 JOSE VARGAS MERCADO                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251014 JOSE VARGAS NEGRON                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  687916 JOSE VARGAS RIVERA                            HC 04 BOX 12107                                                                                                  HUMACAO           PR         00791
  687917 JOSE VARGAS SANCHEZ                           PO BOX 7126                                                                                                      PONCE             PR         00732
  687918 JOSE VARGAS SOTO                              PO BOX 7126                                                                                                      PONCE             PR         00732
  251015 JOSE VAZQUEZ                                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251016 JOSE VAZQUEZ ARROYO                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  687922 JOSE VAZQUEZ CAMACHO                          HC 01 BOX 7539                                                                                                   GUAYANILLA        PR         00656‐9752
  687923 JOSE VAZQUEZ CARTAGENA                        PO BOX 467                                                                                                       AGUAS BUENAS      PR         00703
  687924 JOSE VAZQUEZ COLON                            380 BDA LA GRANJA                                                                                                UTUADO            PR         00641
  687925 JOSE VAZQUEZ DAVILA                           P O BOX 512                                                                                                      DORADO            PR         00646
  687926 JOSE VAZQUEZ FIGUEROA                         HC 01 BOX 7539                                                                                                   GUAYANILLA        PR         00656‐9752
  251017 JOSE VAZQUEZ MERCADO                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251018 JOSE VAZQUEZ MIRANDA                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251019 JOSE VAZQUEZ MUNOZ                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  687927 JOSE VAZQUEZ ORTEGA                           APARTADO 285                                                                                                     GUAYNABO          PR         00970
  251020 JOSE VAZQUEZ ORTIZ                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  687929 JOSE VAZQUEZ RAMOS                            PMB 479                     PO BOX 1283                                                                          SAN LORENZO       PR         00754
         JOSE VAZQUEZ REYES Y EVELYN
  251021 MARQUEZ                                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  687930 JOSE VAZQUEZ RIVERA                           PO BOX 9021112                                                                                                   SAN JUAN          PR         00902‐1112
  251023 JOSE VAZQUEZ RODRIGUEZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  687934 JOSE VAZQUEZ THILLER                          URB SEVILLA 888             CALLE PAGANI                                                                         SAN JUAN          PR         00924
  251028 JOSE VAZQUEZ VAZQUEZ                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251029 JOSE VAZQUEZ VERA                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251030 JOSE VEGA                                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251031 JOSE VEGA & ASOCIADO, INC.                    PO BOX 7802                                                                                                      PONCE             PR         00732‐0000
  687937 JOSE VEGA & ASSOC                             P O BOX 7802                                                                                                     PONCE             PR         00732
  687938 JOSE VEGA & ASSOCIADO                         PO BOX 7802                                                                                                      PONCE             PR         00732
  687939 JOSE VEGA ARCE                                P O BOX 481                                                                                                      CAMUY             PR         00627
  251034 JOSE VEGA ASOC INC                            URB CONSTANCIA              1817 PASEO LAS COLONIAS                                                              PONCE             PR         00717
  687941 JOSE VEGA CINTRON                             PO BOX 7126                                                                                                      PONCE             PR         00732
  251035 JOSE VEGA COSME                               REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251036 JOSE VEGA CRUZ                                REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  687942 JOSE VEGA GIMENEZ                             PO BOX 213                                                                                                       MANATI            PR         00674
  687943 JOSE VEGA GONZALEZ                            HC 03 BOX 9413                                                                                                   LARES             PR         00669‐9512
  251037 JOSE VEGA LUGO                                REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251038 JOSE VEGA MERCADO                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  687945 JOSE VEGA RIVERA                              B2 URB SAN MIGUEL                                                                                                SABANA GRANDE     PR         00637
         JOSE VEGA RIVERA Y SANTA H
  687946 SILVA                                         266 CALLE NARCIZO COLLAZO                                                                                        CAYEY             PR         00736
  251039 JOSE VEGA RODRIGUEZ                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  680883 JOSE VEGA RODRIGUEZ                           BO MARIANA BZN 1705                                                                                              NAGUABO           PR         00718
  251040 JOSE VEGA TORRES                              REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  680884 JOSE VELAZCO OTERO                           URB CUPEY GARDENS           H 19 CALLE 4                                                                           SAN JUAN            PR         00926
  251041 JOSE VELAZQUEZ ANDRADES                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  687950 JOSE VELAZQUEZ FRANCO                        P O BOX 1092                                                                                                       CIDRA               PR         00739
         JOSE VELAZQUEZ GUZMAN JMV
  251042 CONTRACTOR DBA                               CALLE 1 H 7 ESTANCIAS       DE SAN FERNANDO                                                                        CAROLINA            PR         00985
  687951 JOSE VELAZQUEZ PAGAN                         41 CALLE BALDORIOTY         SUITE 357                                                                              JUNCOS              PR         00777
  687952 JOSE VELAZQUEZ SHELL                         P O BOX 9                                                                                                          PE¨UELAS            PR         00624
  687954 JOSE VELAZQUEZ VELAZQUEZ                     HC 01 BOX 7780                                                                                                     LAS PIEDRAS         PR         00771
  687955 JOSE VELEZ ALICEA                            PO BOX 11855                                                                                                       SAN JUAN            PR         00910‐4225
  251044 JOSE VELEZ ARROYO                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  687956 JOSE VELEZ CASTRO                            PARK GARDENS                N 49 ACADIA                                                                            SAN JUAN            PR         00926
  251045 JOSE VELEZ CRUZ                              REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  687957 JOSE VELEZ DEJARDIN                          PO BOX 985                                                                                                         SAN GERMAN          PR         00683
  251046 JOSE VELEZ FERNANDEZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251047 JOSE VELEZ GONZALEZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  687958 JOSE VELEZ IRIZARRY                          P O BOX 1791                                                                                                       YAUCO               PR         00698‐1791
  687960 JOSE VELEZ MORALES                           HC 03 BOX 7570                                                                                                     MOCA                PR         00676
  687961 JOSE VELEZ OLIVERA                           PO BOX 985                                                                                                         SAN GERMAN          PR         00683
  687962 JOSE VELEZ PEREZ                             5TA SECCION LEVITTOWN       BV 2 DR MANUEL ALONSO                                                                  TOA BAJA            PR         00949
  687963 JOSE VELEZ QUI¥ONEZ                          URB PUERTO NUEVO 629        CALLE APENINOS                                                                         SAN JUAN            PR         00920
  687965 JOSE VELEZ REBOYRA                           PO BOX 995                                                                                                         UTUADO              PR         00641
  251048 JOSE VELEZ RIVERA                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251049 JOSE VELEZ RODRIGUEZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251050 JOSE VELEZ ROMAN                             REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251051 JOSE VELEZ SANTIAGO                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251052 JOSE VELEZ SIERRA                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251053 JOSE VELEZ TORRES                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251054 JOSE VELEZ VEGA                              REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251055 JOSE VELEZ VELEZ                             REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251056 JOSE VELEZ ZAYAS                             REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      PLAYA DE PONCE 6 CALLE
   687968 JOSE VERA RAMOS                             TABAIDA                                                                                                            PONCE               PR         00731
   251057 JOSE VERDEJO SANTIAGO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251058 JOSE VICENS APONTE                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251059 JOSE VICTOR DIAZ                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251060 JOSE VICTOR ROJAS ROMAN                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687970 JOSE VIDAL LAGARES                          HC 7 BOX 2405                                                                                                      PONCE               PR         00731
   687971 JOSE VILANOVA PORTALATIN                    PO BOX 1501                                                                                                        TRUJILLO ALTO       PR         00977
   687972 JOSE VILLA                                  PO BOX 9024275                                                                                                     SAN JUAN            PR         00902‐4275
   687973 JOSE VILLANUEVA MORALES                     URB HILL BROTHERS           72 B CALLE 7                                                                           SAN JUAN            PR         00924
                                                                                  PARCELA 396 CALLE 23 HILL
   687974 JOSE VILLANUEVA PANET                       SABANA LLANA                BROTHER                                                                                SAN JUAN            PR         00924
   251066 JOSE VILLARINI SANTIAGO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687975 JOSE VILLARMAN MATOS                        URB VILLAS DEL BOSQUE E 9   CALLE TULIPAN                                                                          CIDRA               PR         00739
   251067 JOSE VILLEGAS ENCARNACION                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687976 JOSE VILLODAS VEGA                          BOX 1441                                                                                                           JUANA DIAZ          PR         00795
   687977 JOSE VIRELLA MELENDEZ                       URB REXVILLE                2 45 CALLE 17 A                                                                        BAYAMON             PR         00957
   687978 JOSE VIVES RODRIGUEZ                        P O BOX 690                                                                                                        BAYAMON             PR         00960‐0690

   687979 JOSE VIZCARONDO RODRIGUEZ                   URB MIRAFLORES              5 BLQ 43 C‐ 46                                                                         BAYAMON             PR         00957
   251069 JOSE VIZCARRONDO PINE                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   687984 JOSE W ABREU                                HC 3 BOX 30237                                                                                                     SAN SEBASTIAN       PR         00685
   251070 JOSE W ANAYA SANTIAGO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  687985 JOSE W APONTE TORRES                         HC 1 BOX 5813                                                                                                       OROCOVIS           PR         00720
  251071 JOSE W CABEZA SANABRIA                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  251072 JOSE W CARTAGENA ORTIZ                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687986 JOSE W COLON MARQUEZ                         PARC FALU SABANA LLANA        148 CALLE 8                                                                           SAN JUAN           PR         00901
  687987 JOSE W DIAZ MARRERO                          PARC JAUCA                    69 CALLE 3                                                                            SANTA ISABEL       PR         00757
  687988 JOSE W DIAZ RIVERA                           CARR 693 KM 7 2                                                                                                     DORADO             PR         00646
  251074 JOSE W ESCALERA MORALES                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  251076 JOSE W GONZALEZ RUIZ                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687990 JOSE W GONZALEZ TIRADO                       VILLA BLANCA                  N3 AVE JOSE GARRIDO                                                                   CAGUAS             PR         00725
  251077 JOSE W JAMES REYES                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  251078 JOSE W LEON DELGADO                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687991 JOSE W LINARES ROSADO                        HC 01 BOX 8557                                                                                                      LUQUILLO           PR         00773‐9616
  687983 JOSE W MAISONET RIVERA                       PO BOX 1734                                                                                                         BAYAMON            PR         00960‐1734
  251079 JOSE W MARRERO                               REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  251080 JOSE W MARZAN ALBA                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687992 JOSE W MATIAS FLORES                         BDA ISRAEL 393 CALLE 11                                                                                             SAN JUAN           PR         00917
  687993 JOSE W PABON SILVA                           P O BOX 6069                                                                                                        MAYAGUEZ           PR         00681
  687994 JOSE W RAMIREZ RIVERA                        PO BOX 395                                                                                                          AGUADA             PR         00602
  251081 JOSE W RAMOS ROSADO                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  251082 JOSE W RIOS SANTIAGO                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  251083 JOSE W RIVERA LEON                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  687997 JOSE W RUIZ RODRIGUEZ                        HC 2 BOX 8925                                                                                                       COROZAL            PR         00783
  687998 JOSE W SALGADO VAZQUEZ                       URB SILVIA B1                 CALLE 8                                                                               COROZAL            PR         00783
  688000 JOSE W SANTIAGO SOTO                         PO BOX 667                                                                                                          LARES              PR         00669
  688001 JOSE W SANTIAGO VAZQUEZ                      VALLE ARRIBA HEIGTS           CT 12 CALLE 101                                                                       CAROLINA           PR         00983
  251084 JOSE W VAZQUEZ VAZQUEZ                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  688002 JOSE W VEGA GARCIA                           PB 12 PO BOX 70344 SUITE 12                                                                                         SAN JUAN           PR         00936‐8344

   251085 JOSE W VELAZQUEZ RODRIGUEZ                  REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251086 JOSE W VELEZ CALDER                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   688003 JOSE W VELEZ SISCO                          HC 3 BOX 8153                                                                                                       LARES              PR         00669
   688004 JOSE W. DAVILA PANTOJA                      URB SANTA RITA                1053 CALLE JOAQUIN LOPEZ                                                              SAN JUAN           PR         00925
   688005 JOSE W. GUZMAN                              CALLE DUFFAUT #255            PDA. 19                                                                               SAN JUAN           PR         00907
   251087 JOSE W. GUZMAN MONTERO                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251088 JOSE W. JIMENEZ RIVERA                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   688006 JOSE W. RAMIREZ GONZALEZ                    PO BOX 9023207                                                                                                      SAN JUAN           PR         00902

   688008 JOSE WILLIAM AROCHO                         107 REPARTO SAN FRANCISCO                                                                                           MAYAGUEZ           PR         00680

   251089 JOSE WILLIAM CABEZA SANABRIA REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   688009 JOSE X VAZQUEZ               P O BOX 9024118                                                                                                                    SAN JUAN           PR         00902‐4118
          JOSE Y ADIEL OSORIO
   251090 RODRIGUEZ                    REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251091 JOSE Y COLON FELICIANO       REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251092 JOSE Y HERNANDEZ CAMPIS      REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251093 JOSE Y MONTANEZ AGOSTO       REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   688010 JOSE Y NAVARRO SANCHEZ       PO BOX 9021112                                                                                                                     SAN JUAN           PR         00902‐1112
          JOSE Y OCHOA DBA J W
   251094 CATERING                     P O BOX 1414                                                                                                                       CAGUAS             PR         00726‐7930
   688011 JOSE Y RESTO ROJAS           PALO SECO                                    62 MANUEL ENRIQUE                                                                     TOA BAJA           PR         00949
   688012 JOSE Y TORO PADILLA          P O BOX 1099                                                                                                                       BOQUERON           PR         00622
          JOSE Y/O AMPARO M RIVERA
   688013 SANTIAGO                     E 18 URB SAN JOSE                                                                                                                  AIBONITO           PR         00705



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  688014 JOSE YAMIR LOZADA                            BDA OLIMPO                524 CALLE G                                                                        GUAYAMA             PR         00784
  251095 JOSE YANEZ ORTIZ                             REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251096 JOSE YARIEL MENDEZ LOPEZ                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  688016 JOSE ZABALA                                  Q 2 HIGUERO VAH                                                                                              CAROLINA            PR         00983
         JOSE ZAMBRANA DBA JE POWER
  251097 AND REF CONTR                                VILLA ESPANA              M 33 CALLE PONTEVEDRA                                                              BAYAMON             PR         00961
  251098 JOSE ZAPATA                                  REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  688017 JOSE ZARAGOZA GOMEZ                          ALTURAS VILLA DEL REY     F 16 CALLE DAMASCO                                                                 CAGUAS              PR         00725
  688018 JOSE ZARAGOZA URDAZ                          P P BOX 403                                                                                                  ARECIBO             PR         00613
  688019 JOSE ZAVALA REYES                            URB VILLA BLANCA          2 CALLE ESMERALDA                                                                  CAGUAS              PR         00725
  251099 JOSE ZAVALA SANTIAGO                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  251100 JOSE ZAYAS CALDERON                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   688020 JOSE ZAYAS DRAGONI           2 CALLE B‐26 URB. SANTA ELENA                                                                                               SABANA GRANDE       PR         00637
   251101 JOSE ZAYAS GONZALEZ          REDACTED                      REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JOSE ZAYAS OCASIO Y/O VICTOR
   251102 QUINONES                     REDACTED                      REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   688024 JOSE ZENEN VIRELLA MORALES                  P O BOX 79184                                                                                                SAN JUAN            PR         00902
   251103 JOSE ZOFAKIS DE LEON                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251104 JOSE, CAEZ                                  REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251105 JOSE, HERNANDEZ                             REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251107 JOSE, RAMIREZ                               REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251109 JOSEAMID ALVAREZ APONTE                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   688025 JOSEAN AVILES                               1010 AVE LUIS VOGOREAUX   BNZ 5                                                                              GUAYNABO            PR         00966
   688026 JOSEAN BAEZ SUAREZ                          URB VISTA DEL MAR         1‐7 CALLE MEJIL                                                                    GUANICA             PR         00653
   251110 JOSEAN BARBOSA TORO                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   688027 JOSEAN BONILLA RAMOS`                       URB IDAMARIS GDNS K 11    CALLE MIRNA DELGADO                                                                CAGUAS              PR         00725
   688028 JOSEAN CALDERA                              PO BOX 22372                                                                                                 SAN JUAN            PR         00931
   251111 JOSEAN CORTES QUINONES                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251112 JOSEAN CRUZ OYOLA                           REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   688029 JOSEAN D MARRERO ARROYO                     URB SAN ATONIO            1577 CALLE DAMASCO                                                                 PONCE               PR         00728
          JOSEAN FELICIANO DBA VERDE
   251113 MENTA CAFE                                  PO BOX 1148                                                                                                  ISABELA             PR         00662
   688030 JOSEAN FELICIANO GARCIA                     URB VISTA VERDE           28 CALLE HUCAR                                                                     ISABELA             PR         00662
          JOSEAN GAUD/H/N/C LCEIBA
   688031 DIST                                        1310 CAMINO LA CUCHILLA                                                                                      MAYAGUEZ            PR         00680
   251115 JOSEAN GONZALEZ ACEVEDO                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251117 JOSEAN GORRITZ FIGUEROA                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251118 JOSEAN GUILBE PADILLA                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251121 JOSEAN LAGUNA PIZARRO                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   688032 JOSEAN LOPEZ RAMOS                          RR 1 BOX 46BB                                                                                                CAROLINA            PR         00987
   251122 JOSEAN MARTINEZ CAMACHO                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251123 JOSEAN MARTINEZ RIVERA                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251124 JOSEAN O MARRERO RUIZ                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   688033 JOSEAN O MONTALVO RIVERA                    14 BO EL RETIRO                                                                                              SAN GERMAN          PR         00683
   251125 JOSEAN OCASIO SERRANO                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JOSEAN OMAR CASANOVA
   251126 LABOY                                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251127 JOSEAN PADILLA ALGARIN                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251128 JOSEAN PENA TORRES                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251129 JOSEAN PÉREZ ALBINO                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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  688035 JOSEAN PEREZ RODRIGUEZ       VISTA AZUL                                     T 20 CALLE 25                                                                            ARECIBO             PR         00612
  251130 JOSEAN POLO MORALES          REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOSEAN R MATOS
  251131 BENITEZ/GEMA BENITEZ         REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  688036 JOSEAN R ROSARIO AYUSO       ADM SERV GEN                                   P O BOX 7428                                                                             SAN JUAN            PR         00916‐7428
  251132 JOSEAN RIVERA ALCOVER        REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JOSEAN RIVERA ALVAREZ / JOSE
  251133 D RIVERA                     REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  688037 JOSEAN RIVERA COLON          BOX 2993                                                                                                                                SAN GERMAN          PR         00683
  251134 JOSEAN RIVERA RUIZ           REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251135 JOSEAN SANJURJO RIVERA       REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  688038 JOSEAN SANTIAGO ORTA         452 CALLE CUBA                                                                                                                          HATO REY            PR         00917
  251136 JOSEAN SANTOS ROSADO         REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251137 JOSEAN SEPULVEDA MORALES     REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  688039 JOSEAN TORRES RODRIGUEZ      PO BOX 7126                                                                                                                             PONCE               PR         00732
  251138 JOSEAN TROCHE ALLENDE        REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251139 JOSEAN VALES AMADOR          REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  688040 JOSEAN X ROSARIO CABRERA     111 CRUCE DAVILA                                                                                                                        BARCELONETA         PR         00617
  251140 JOSECIR E CABALLERO ALICEA   REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251141 JOSEDITH CALDERON MOJICA     REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  688042 JOSEE L SANTIAGO FLORES      HC‐03 BOX 22803                                                                                                                         LAJAS               PR         00667
  688043 JOSEEIE ARROYO ACEVEDO       P O BOX 5130                                                                                                                            HUMACAO             PR         00791
  251142 JOSEF PONS DE JESUS          REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  688045 JOSEFA ALMESTICA DIAZ        PO BOX 19175                                                                                                                            SAN JUAN            PR         00910
  688046 JOSEFA AVILES FLORES         RR 4 BOX 512                                   CERRO GORDO                                                                              BAYAMON             PR         00956
  688047 JOSEFA AYALA LARA            HC 01 BOX 5483                                                                                                                          AGUAS BUENAS        PR         00703
  251143 JOSEFA B BERRIOS RIVERA      REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  688048 JOSEFA BAEZ RODRIGUEZ        HC 3 BOX 8215                                                                                                                           GUAYNABO            PR         00971
  688049 JOSEFA BELTRAN RODRIGUEZ     ABRA SAN FRANCISCO                             7094 CALLE RODRIGUEZ                                                                     ARECIBO             PR         00614
  688051 JOSEFA CARABALLO             HC 1 BOX 5563                                                                                                                           LOIZA               PR         00772
  251144 JOSEFA CARRASQUILLO          REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  688052 JOSEFA CARRERO FUENTES       URB MEDINA                                     B 1 CALLE 2                                                                              ISABELA             PR         00662
  688053 JOSEFA CASTILLO CAMACHO      61 RIUS RIVERA                                                                                                                          MAYAGUEZ            PR         00680
  688054 JOSEFA CASTRO PABON          HC 2 BOX 445079632                             ALMIRANTE SUR                                                                            VEGA BAJA           PR         00693
  251145 JOSEFA CENTENO               REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   688055 JOSEFA COLON RIVERA                          URB TREASURE VALLEY SECC II   10 CALLE E                                                                               CIDRA               PR         00739
   688057 JOSEFA CURET SOTO                            RES KENNEDDY                  EDIF B29 APT 258                                                                         MAYAGUEZ            PR         00681
   251148 JOSEFA DURAN CEPEDA                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688059 JOSEFA FELICIANO LOPEZ                       P O BOX 1350                                                                                                           AGUADA              PR         00602
   251149 JOSEFA FELIZ                                 REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251150 JOSEFA FLORES CRUZ                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688060 JOSEFA GARCIA RAMIREZ                        URB LA PLATA                  D 5 CALLE JARDINES                                                                       CAYEY               PR         00736
   688061 JOSEFA GONZALEZ                              P O BOX 162                                                                                                            CIALES              PR         00638
          JOSEFA GONZALEZ DE
   688062 IZQUIERDO                                    BOX 875                                                                                                                MAYAGUEZ            PR         00681
   688063 JOSEFA GONZALEZ DE JESUS                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688064 JOSEFA GRIJALVA                              LAS DOLORES                   58 A CALLE BRASIL                                                                        RIO GRANDE          PR         00745

   688065 JOSEFA HERNANDEZ GONZALEZ                    P O BOX 564                                                                                                            LAS PIEDRAS         PR         00771‐0564
   688066 JOSEFA I TORRES OLIVO                        206 AVE LAGUNA                                       1232                                                              CAROLINA            PR         00979
          JOSEFA IGLESIA Y MARIA J
   251151 PORTELA                                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  688067 JOSEFA JIMENEZ COLON                         HC 4 BOX 45714                                                                                             CAGUAS            PR         00725
  251152 JOSEFA LEBRON REYES                          REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251153 JOSEFA LEON ACOSTA                           REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251154 JOSEFA LEVY RODRIGUEZ                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  688073 JOSEFA M OQUENDO COLON                       BOX 438                                                                                                    BOQUERON          PR         00622

   251155 JOSEFA M. PABON RODRIGUEZ                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688074 JOSEFA MALDONADO LUGO                       PO BOX 103                                                                                                 ARECIBO           PR         00612
   251156 JOSEFA MARTINEZ ROSA                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688075 JOSEFA MEDINA DE JESUS                      HC 2 BOX 15161                                                                                             ARECIBO           PR         00612
   688076 JOSEFA MEDINA RIVERA                        EXT ZENO GANDIA        EDIF A 4 APT 6 B                                                                    ARECIBO           PR         00612
   688077 JOSEFA MEDINA TORRES                        HC 3 BOX 9806                                                                                              BARRANQUITAS      PR         00794
   688078 JOSEFA MELENDEZ                             PO BOX 698                                                                                                 FAJARDO           PR         00738
   688079 JOSEFA MERCADO TIRADO                       HC 2 BOX 11253                                                                                             QUEBRADILLAS      PR         00678

   251157 JOSEFA MONTERROSA ARRIETA                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688080 JOSEFA MORALES BERRIOS                      BO MOROVIS SUR         HC 02 BOX 1497                                                                      MOROVIS           PR         00687
   251158 JOSEFA OLMEDA VARGAS                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251160 JOSEFA PACHECO RAMOS                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688083 JOSEFA RAMOS ACEVEDO                        HC 1 BOX 5515                                                                                              CAMUY             PR         00627
   251161 JOSEFA RAMOS MONTALVO                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688084 JOSEFA RAMOS ORTIZ                          P O BOX 454                                                                                                AGUAS BUENAS      PR         00703
          JOSEFA RIVERA ACEVEDO /
   688085 EDDID SILVA                                 PO BOX 3034                                                                                                MAYAGUEZ          PR         00681
   688086 JOSEFA RIVERA CARTAGENA                     PO BOX 21365                                                                                               SAN JUAN          PR         00928
   688087 JOSEFA RIVERA LATORRE                       COM EL MANI            SOLAR 194‐A                                                                         MAYAGUEZ          PR         00708
   688088 JOSEFA RIVERA MELENDEZ                      BDA BUENA VISTA        128 CALLE 4                                                                         SAN JUAN          PR         00918
   688089 JOSEFA RIVERA MONTES                        LOMAS VERDES           441 TULIPAN                                                                         BAYAMON           PR         00956
   251162 JOSEFA RIVERA PEREZ                         REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   251163 JOSEFA RODRIGUEZ PORRINOS                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688090 JOSEFA RODRIGUEZ RAMOS                      JARD DE CAYEY 11       B 5 PASEO DE LAS ROSAS                                                              CAYEY             PR         00736
   688044 JOSEFA RODRIGUEZ SANTINI                    1 C DR VEVE NORTE                                                                                          COAMO             PR         00769
   251164 JOSEFA SANCHEZ SIERRA                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251165 JOSEFA TAPIA ROMAN                          REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688092 JOSEFA TORO ORTIZ                           REPTO SANTA ANA        20 CALLE JUPITER                                                                    SABANA GRANDE     PR         00637
   251166 JOSEFA TORRES POLLOCK                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251167 JOSEFA VAZQUEZ RIOS                         REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688094 JOSEFA VEGA ORTIZ                           60 CALLE MALAVE                                                                                            CAYEY             PR         00736
   688095 JOSEFA VELEZ OLIVENCIA                      URB LA MONSERRATE      K 17 CALLE 3                                                                        HORMIGUEROS       PR         00660
          JOSEFINA A GONZALEZ
   251168 GONZALEZ                                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688099 JOSEFINA ACEVEDO BUSIGO                     PMB 129                2000 CARR 8177 STE 26                                                               GUAYNABO          PR         00966‐3762
   251170 JOSEFINA ALICEA RODRIGUEZ                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688100 JOSEFINA ALLEN FIGUEROA                     VALLE ARRIBA HEIGHTS   Q 5 CALLE HIGUERO                                                                   CAROLINA          PR         00983
   688101 JOSEFINA ALVAREZ                            BO ANGELES             SECTOR LA ALTURA                                                                    UTUADO            PR         00611
   688102 JOSEFINA ALVAREZ ALVAREZ                    1513 CALLE MIRSONIA                                                                                        SAN JUAN          PR         00911
   688103 JOSEFINA ALVAREZ ALVERIO                    PO BOX 951                                                                                                 CANOVANAS         PR         00729
   251171 JOSEFINA ALVAREZ JIMENEZ                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688104 JOSEFINA ALVAREZ LUNA                       PO BOX 711                                                                                                 CAYEY             PR         00737
   688105 JOSEFINA ALVAREZ SANTIAGO                   URB VISTAMAR 1001      CALLE NAVARRA                                                                       CAROLINA          PR         00983
   251172 JOSEFINA APONTE RIVERA                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251173 JOSEFINA APONTE TORRES                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  251174 JOSEFINA AQUINO DELGADO                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  688107 JOSEFINA ARCE MALDONADO                      BO JAREALITO               302 CALLE 2                                                                               ARECIBO             PR         00612
  251175 JOSEFINA ARCE QUINONES                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  688108 JOSEFINA ARROYO SAURI                        URB PARQUE DEL RIO A5      CALLE YAHUECA                                                                             CAGUAS              PR         00725
  251176 JOSEFINA ARUZ PEREZ                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  688097 JOSEFINA AVILA PONTS                         URB VILLAS DE CUPEY        A 9 CALLE MINFIAS                                                                         SAN JUAN            PR         00928

   251177 JOSEFINA AYALA VDA DE REYES                 REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   688109 JOSEFINA BADENAS DE ROMAN                   URB LEVITOWN F S           11 CALLE LUIS LLORENS TORRES                                                              TOA BAJA            PR         00949
   251178 JOSEFINA BAEZ DIAZ                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688110 JOSEFINA BENITEZ CASTRO                     P O BOX 7428                                                                                                         SAN JUAN            PR         00916

   688112 JOSEFINA BETANCOURT TORRES BO SAN ISIDRO                               PARC 1 CALLE 1 BOX 1                                                                      CANOVANAS           PR         00729

   688113 JOSEFINA BONILLA ESCALANTE                  LA PLATA                   J 31 CALLE RUBI                                                                           CAYEY               PR         00736
   251179 JOSEFINA BURGOS ORTIZ                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSEFINA CALDERON
   688115 CARRASQUILLO                                PO BOX 1303                                                                                                          RIO GRANDE          PR         00745
   688116 JOSEFINA CALDERON MATTA                     JARDINES DE COUNTRY CLUB   AS 16 CALLE 1                                                                             CAROLINA            PR         00983
                                                                                 402 CALLE FRNCSC SN URB
   688117 JOSEFINA CAMPUSANO SOSA                     FLORAL PARK                FLORAL PARK                                                                               SAN JUAN            PR         00917

   251180 JOSEFINA CANDELARIA TORRES                  REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   688118 JOSEFINA CANDELARIA VIRUET                  URB LOMAS VERDES           2 R 3 CALLE GRANADILLA                                                                    BAYAMON             PR         00956
   688120 JOSEFINA CARABALLO CRUZ                     PO BOX 99                                                                                                            GURABO              PR         00778
   688121 JOSEFINA CARDONA                            HC 58 BOX 12565                                                                                                      AGUADA              PR         00602

   251181 JOSEFINA CARDONA MATIENZO                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   688122 JOSEFINA CARRILLO ARIZMENDI                 111 CALLE VICTORIA                                                                                                   FAJARDO             PR         00738

   688124 JOSEFINA CARTAGENA SANCHEZ BOX 59373                                                                                                                             CAGUAS              PR         00725

   688126 JOSEFINA CASIANO BERGA                      URB ROOSEVELT              405 CALLE FERNANDO CALDER                                                                 SAN JUAN            PR         00918
   688127 JOSEFINA CASTELL TORRES                     CUARTA EXT LEVITTOWN       U 1 LEILA ESTE                                                                            TOA BAJA            PR         00949
   688128 JOSEFINA CASTRO BORIA                       HC 80 BOX 7748                                                                                                       DORADO              PR         00646
   251182 JOSEFINA CASTRO FELIPE                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688129 JOSEFINA CATALA MELENDEZ                    HC 3 BOX 8883                                                                                                        GUAYNABO            PR         00971
   688130 JOSEFINA CENTENO SANTOS                     ADM SERV GEN               P O BOX 7428                                                                              SAN JUAN            PR         00916‐7428
   251183 JOSEFINA CENTERNO REYES                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251184 JOSEFINA CEPEDA VELLON                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251185 JOSEFINA CLASS RIVERA                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688134 JOSEFINA COLLAZO AYALA                      PO BOX 21365                                                                                                         SAN JUAN            PR         00926‐1365
   251186 JOSEFINA COLON ORTIZ                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688137 JOSEFINA COLON RIOS                         PO BOX 492                                                                                                           CIDRA               PR         00739
   688139 JOSEFINA COLON RODRIGUEZ                    PO BOX 1713                                                                                                          COROZAL             PR         00783

   251189 JOSEFINA CONFESOR SANTANA                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251190 JOSEFINA CORREA TRICOCHE                    REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688141 JOSEFINA CORTES PACHECO                     HC‐03 BOX 40601                                                                                                      CAGUAS              PR         00725
   688143 JOSEFINA CRUZ GARCIA                        CALE DR QUEVEDO BAEZ       BU 10 5TA EXT                                                                             LEVITTOWN           PR         00949



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  251191 JOSEFINA CRUZ TORRES                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  688145 JOSEFINA DAVILA RIVERA                        HC 2 BOX 4021                                                                                                        MAUNABO             PR         00707
  251192 JOSEFINA DE JESUS                             REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   688147 JOSEFINA DE JESUS FELICIER                   JARDS DE CANOVANAS         G9 CALLE 4 JARD DE CANOVANAS                                                              CANOVANAS           PR         00729
   688148 JOSEFINA DE LEON BURGOS                      RES VISTA HERMOSA          EDIF 18 APT 233                                                                           SAN JUAN            PR         00921

   688149 JOSEFINA DEL VALLE DEL VALLE                 VISTAS DE LUQUILLO         BLQ C 6 CALLE VI                                                                          LUQUILLO            PR         00773
   251193 JOSEFINA DELGADO NUNEZ                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688150 JOSEFINA DIAZ                                HC 40 BOX 46600                                                                                                      SAN LORENZO         PR         00754‐9902
   251194 JOSEFINA DIAZ PIZARRO                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   688151 JOSEFINA ENCARNACION PEREZ4 BDA. BORINQUEN #20                                                                                                                    SAN JUAN            PR         00921
   688152 JOSEFINA ESQUILIN DE LEON   RES VISTA HERMOSA                           EDIF 69 APT 793                                                                           SAN JUAN            PR         00921

   688153 JOSEFINA FELICIANOL CARRILLO                 PO BOX 104                                                                                                           FAJARDO             PR         00738
   688154 JOSEFINA FERNANDEZ                           PO BOX 360615                                                                                                        SAN JUAN            PR         00918

   688155 JOSEFINA FIGUEROA MELENDEZ                   486 A CALLE SIMON MADERA                                                                                             RIO PIEDRAS         PR         00924
   688156 JOSEFINA FIGUEROA NIEVES                     C 58 URB REXVLLE                                                                                                     BAYAMON             PR         00957
   251196 JOSEFINA FLORES MORALES                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251197 JOSEFINA FLORES SANTANA                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688157 JOSEFINA FONTANEZ FLORES                     20 A BDA PLAYA HUCARES                                                                                               NAGUABO             PR         00718
   251198 JOSEFINA FUENTES AGOSTO                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251199 JOSEFINA FUENTES RIVERA                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251200 JOSEFINA GANTU PEREZ                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688159 JOSEFINA GARCIA AMADOR                       COLLEGE STATION            PO BOX 5919                                                                               MAYAGUEZ            PR         00681
   688163 JOSEFINA GARCIA FLORES                       REPARTO VALENCIANO         B 15 ALMENDRO                                                                             JUNCOS              PR         00777
   251201 JOSEFINA GARCIA PEREZ                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688165 JOSEFINA GARCIA PONCE                        PO BOX 21365                                                                                                         SAN JUAN            PR         00926‐1365
   688168 JOSEFINA GONZALEZ                            PO BOX 21365                                                                                                         SAN JUAN            PR         00926‐1365
   251202 JOSEFINA GONZALEZ COTTO                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251203 JOSEFINA GONZALEZ RIVERA                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251204 JOSEFINA GONZALEZ TORRES                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   251205 JOSEFINA GRISEL PEPIN SANCHEZ REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251206 JOSEFINA GUINOT MELENDEZ      REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251207 JOSEFINA GUZMAN VEGA          REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   688172 JOSEFINA HERNANDEZ MARRERO HC 764 BOX 6370                                                                                                                        PATILLAS            PR         00723

   251208 JOSEFINA HERNANDEZ MORALES REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688174 JOSEFINA HERNANDEZ NIEVES  URB VILLA CAROLINA                           112‐30 CALLE 79                                                                           CAROLINA            PR         00985

   688175 JOSEFINA HERNANDEZ PADILLA                   URB LEVITTOWN LAKES        FH18 CALLE MARIA CADILLA                                                                  TOA BAJA            PR         00949
   688176 JOSEFINA HERNANDEZ VEGA                      HC 1 BOX 5336                                                                                                        ARROYO              PR         00714
   251209 JOSEFINA IBANEZ                              REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   251210 JOSEFINA IGLESIAS RODRIGUEZ                  REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688178 JOSEFINA JAPA ENCARNACION                    BO OBRERO                  608 CALLE CORTIJO                                                                         SAN JUAN            PR         00915
   251212 JOSEFINA JIMENEZ BONILLA                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688179 JOSEFINA JORDAN RIVERA                       COND EL MONTE SUR          180 AVE HOSTOS APT 733 B                                                                  SAN JUAN            PR         00918
   251214 JOSEFINA JUAREZ LOPEZ                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  688182 JOSEFINA JURADO WALKER                       BO JUAN MARTIN                                                                                                        LUQUILLO            PR           00772
         JOSEFINA L ECHEVARRIA
  688184 MIRABAL                                      URB LOS CAOBOS              527 CALLE ACEITILLO                                                                       PONCE               PR           00716‐2600

   688185 JOSEFINA LABOY DE RODRIGUEZ                 EL EDEN                     CALLE C 37                                                                                COAMO               PR           00769
   688186 JOSEFINA LAMBOY IRIZARRY                    GUANAJIBO HOMES             814 G PALES MATOS                                                                         MAYAGUEZ            PR           00682
   251215 JOSEFINA LANDRON BRUNO                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251216 JOSEFINA LEBRON LEBRON                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   688187 JOSEFINA LINARES CRUZ                       COND TORRE DE CAPARRA       APT 4D                                                                                    GUAYNABO            PR           00964
   688188 JOSEFINA LOPEZ ARRIAGA                      PO BOX 991                                                                                                            COAMO               PR           00769
   688189 JOSEFINA LOPEZ FERNANDEZ                    30 CALLE SOL                                                                                                          SAN JUAN            PR           00901
   251218 JOSEFINA LOPEZ RIVERA                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   688190 JOSEFINA LORA                               URB RIO CRISTAS BALBINO     TRINTO 9102                                                                               MAYAGUEZ            PR           00680
   688192 JOSEFINA LOZADA PAGAN                       HC 2 BOX 8701                                                                                                         CIALES              PR           00638
   688193 JOSEFINA MALAVE GOMEZ                       MEDIANIA ALTA               SECTOR LAS CARRERAS                                                                       LOIZA               PR           00772

   688195 JOSEFINA MALDONADO TORRES 334 CALLE TAMARINDO                                                                                                                     ARECIBO             PR           00612
   688197 JOSEFINA MARCANO PEREZ    URB CAMPAMENTO NUM 13                         CALLE B                                                                                   GURABO              PR           00778

   688198 JOSEFINA MARRERO GONZALEZ                   VILLA CONTESSA              D16 CALLE BORGONA                                                                         BAYAMON             PR           00956
   688199 JOSEFINA MARRERO RIVERA                     P O BOX 20374                                                                                                         SAN JUAN            PR           00928

   251220 JOSEFINA MARTINEZ MARTINEZ                  REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251221 JOSEFINA MARTINEZ VALDEZ                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   688201 JOSEFINA MASSA BETANCOURT                   BOSQUE DEL LAGO             BB 5 PLAZA 4                                                                              TRUJILLO ALTO       PR           00976‐6031
   688202 JOSEFINA MATEO                              HC 1 BOX 6910                                                                                                         SALINAS             PR           00751
   688203 JOSEFINA MENDEZ CABAN                       P O BOX 133                                                                                                           CAMUY               PR           00627
   688204 JOSEFINA MENDEZ GARAY                       P O BOX 1252                                                                                                          NAGUABO             PR           00718‐1252
   251222 JOSEFINA MONGE SANTOS                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   688205 JOSEFINA MONTES LOPEZ                       P O BOX 1905                                                                                                          UTUADO              PR           00641
   688207 JOSEFINA MORALES GUZMAN                     URB VILLAS PRADES           630 CALLE F GUTIRREZ                                                                      YAUCO               PR           00698

   688208 JOSEFINA MORALES MARTINEZ                   HC 1 BOX 6747                                                                                                         GUAYANILLA          PR           00656‐9721

   688209 JOSEFINA MORALES RODRIGUEZ URB VISTA HERMOSA                            B 4 CALLE 1                                                                               HUMACAO             PR           00792
   251223 JOSEFINA MUNOZ OQUENDO     REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   251224 JOSEFINA NAVARRO MARTINEZ                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                                                  EF23 CALLE E6 URB BRISAS DEL
   688210 JOSEFINA NAZARIO ALLENDE                    BRISAS DEL MAR              MAR                                                                                       LUQUILLO            PR           00773
   251226 JOSEFINA NIEVES FORTY                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251227 JOSEFINA NIEVES PABON                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251228 JOSEFINA NUNEZ                              REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JOSEFINA O RODRIGUEZ
   251229 FONSECA                                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251230 JOSEFINA OCASIO QUINONES                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   688213 JOSEFINA OJEDA AGOSTO                       COND PONTEZUELA VISTA MAR   EDIF B 4 APT 3 H                                                                          CAROLINA            PR           00983
   251231 JOSEFINA OLMO COTTO                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251232 JOSEFINA ORTEGA CRUZ                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   688216 JOSEFINA ORTIZ                              RES MANUEL A PEREZ          EDF B 13 APT 155                                                                          SAN JUAN            PR           00923
   251236 JOSEFINA ORTIZ RIVERA                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  251237 JOSEFINA P ROSADO TORRES                      REDACTED                       REDACTED                     REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  251238 JOSEFINA PANTOJA DE JESUS                     REDACTED                       REDACTED                     REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                                                      129 CALLE RODRG D TRN URB EL
   688221 JOSEFINA PASTRANA SANTIAGO EL VEDADO                                        VEDADO                                                                                 SAN JUAN             PR         00918

   251239 JOSEFINA PEDRAZA QUINONES REDACTED                                          REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JOSEFINA PEREZ BURGOS / JULIO
   251240 N CHARDON                     REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   688223 JOSEFINA PEREZ DE LOS SANTOS                 PO BOX 141244                                                                                                         ARECIBO              PR         00614
   771128 JOSEFINA PEREZ DIAZ                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251241 JOSEFINA PEREZ NIEVES                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251242 JOSEFINA PEREZ PEDROGO                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251243 JOSEFINA PEREZ SEPULVEDA                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688225 JOSEFINA PEREZ VEGA                          BDA BALDORIOTY                 4409 CALLE GAITA                                                                       PONCE                PR         00728
   688226 JOSEFINA PLAZA ORTIZ                         HC 02 BOX 6650                                                                                                        ADJUNTAS             PR         00601
   251244 JOSEFINA QUILES LOPEZ                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                       PROYECTO 17 SAN JOSE EDIF 39
   688228 JOSEFINA QUINONES COLON                      APT935                         CALLE ALCANIZ                                                                          SAN JUAN             PR         00920
   251245 JOSEFINA QUINONES PEREZ                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251246 JOSEFINA QUINTERO MURGA                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   688229 JOSEFINA RAIMUNDI RODRIGUEZ BOX 1006                                                                                                                               VEGA BAJA            PR         00694
   251247 JOSEFINA RAMIREZ FERRER     REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688231 JOSEFINA RAMIREZ LEON       PO BOX 7301                                                                                                                            CAGUAS               PR         00726
   688232 JOSEFINA RAMOS CORCHADO     BO ARENALES BAJOS                               BOX 1039                                                                               ISABELA              PR         00662
   251248 JOSEFINA RAMOS VELEZ        REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688233 JOSEFINA REYES ROBLES       SECTOR PALACHE                                                                                                                         BAJADERO             PR         00616
   688234 JOSEFINA REYES VAZQUEZ      SECT VILLA IRIARTE                              PARC 281                                                                               DORADO               PR         00646
   251249 JOSEFINA RIOS CORIANO       REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688237 JOSEFINA RIVERA             APARTADO 708                                                                                                                           HATILLO              PR         00659
   688239 JOSEFINA RIVERA ADORNO      PO BOX 677                                                                                                                             CATA¥O               PR         00962
   251250 JOSEFINA RIVERA BERRIOS     REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688240 JOSEFINA RIVERA CASANOVA    HC‐01 BOX 7104                                                                                                                         LUQUILLO             PR         00773
   251251 JOSEFINA RIVERA CASTILLO    REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688241 JOSEFINA RIVERA CHEVALIER   ADM SERV GENERALES                              P O BOX 7428                                                                           SAN JUAN             PR         00916‐7428
   688243 JOSEFINA RIVERA DE PAULO    90 CENTRAL CALLE 2                                                                                                                     HUDSON               MA         01749
   251252 JOSEFINA RIVERA DIAZ        REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251253 JOSEFINA RIVERA DUENO       REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   688244 JOSEFINA RIVERA HERNANDEZ                    RES JARDIN DE CIDRA            EDIF 2 APT 51                                                                          CIDRA                PR         00739
   688245 JOSEFINA RIVERA LANDRAU                      COND DE DIEGO 444              APT 1909                                                                               SAN JUAN             PR         00903
   688247 JOSEFINA RIVERA LUQUIS                       URB DELGADO                    G 5 CALLE 4                                                                            CAGUAS               PR         00725
   688248 JOSEFINA RIVERA MONTANEZ                     URB SIERRA BAYAMON 37 5        CALLE 32                                                                               BAYAMON              PR         00961
   688249 JOSEFINA RIVERA NAZARIO                      HC 1 BOX 5065                                                                                                         JAYUYA               PR         00664
          JOSEFINA RIVERA Y/O LAZARO
   251255 COTTO                                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251256 JOSEFINA ROCHE SANTIAGO                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688252 JOSEFINA RODRIGUEZ                           FLAMINGO HILLS                 230 CALLE 8                                                                            BAYAMON              PR         00957

   688253 JOSEFINA RODRIGUEZ BENITEZ                   BO TRAS TALLERES               1008 CALLE LA ROSA                                                                     SAN JUAN             PR         00907‐5428
          JOSEFINA RODRIGUEZ
   251257 FERNANDEZ                                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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          JOSEFINA RODRIGUEZ GONZALEZ
   688255 Y                           HC 764 BOX 8022                                                                                                                 PATILLAS            PR           00723

   251258 JOSEFINA RODRIGUEZ LEBRON                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   688098 JOSEFINA RODRIGUEZ OCASIO                   URB JARDINES DE TRUJILLO ALTO A 21 CALLE 1                                                                      TRUJILLO ALTO       PR           00976
   688257 JOSEFINA RODRIGUEZ RIVERA                   EMBALSE SAN JOSE              434 CALLE FERROL                                                                  SAN JUAN            PR           00923

   688258 JOSEFINA RODRIGUEZ ROSADO                   PO BOX 628                                                                                                      NARANJITO           PR           00719
          JOSEFINA RODRIGUEZ/ FELIX
   251260 SANCHEZ                                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251261 JOSEFINA ROJAS RIVERA                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688260 JOSEFINA ROJAS RUIZ                         229 CALLE DEL PARQUE         APT 1101                                                                           SAN JUAN            PR           00912
   251262 JOSEFINA ROMERO RIOS                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251263 JOSEFINA ROSA MERCADO                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251264 JOSEFINA ROSADO SANCHEZ                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   688263 JOSEFINA ROSARIO CALDERON                   PO BOX 257                                                                                                      FAJARDO             PR           00738‐0257
   251265 JOSEFINA ROSARIO GOMEZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251266 JOSEFINA ROYO MENDOZA                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688265 JOSEFINA RUIZ DE ROJAS                      51 KINGS COURT APT 8B                                                                                           SAN JUAN            PR           00911
   688266 JOSEFINA SANCHEZ FELIX                      HC 01 BOX 6831                                                                                                  JUNCOS              PR           00777‐9720
   688267 JOSEFINA SANCHEZ TORRES                     PARC SABANETA                21 CALLE 4 DE JULIO                                                                MERCEDITA           PR           00715
   688268 JOSEFINA SANTIAGO                           PUERTO NUEVO                 1168 CALLE 8 NE                                                                    SAN JUAN            PR           00920
   688269 JOSEFINA SANTIAGO LASALLE                   BOX 1322                                                                                                        MOCA                PR           00676

   688270 JOSEFINA SANTIAGO MELENDEZ URB METROPOLIS                                HI 46 CALLE 1                                                                      CAROLINA            PR           00987

   688271 JOSEFINA SANTIAGO MENDOZA                   URB LA MARINA                F 8 CALLE GARDENIA                                                                 CAROLINA            PR           00979
   688272 JOSEFINA SANTIAGO RIVERA                    BOX 475                                                                                                         COAMO               PR           00769

   688273 JOSEFINA SANTIAGO SERRANO                   RR 2 BOX 6620                                                                                                   TOA ALTA            PR           00953
   688274 JOSEFINA SANTOS LUNA                        HP ‐ Forense RIO PIEDRAS                                                                                        Hato Rey            PR           009360000
   251268 JOSEFINA SAVINON LOVELACE                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688275 JOSEFINA SOJO LUCIANO                       BO BROADWAY                  370 CALLE SAN IGNACIO                                                              MAYAGUEZ            PR           00680
   688276 JOSEFINA SOLER CASTILLO                     URB VILLA DEL ROSARIO        B 9 CALLE 1                                                                        NAGUABO             PR           00718
   688277 JOSEFINA SONIA LEBRON                       8‐17 CALLE ARIZONA                                                                                              ARROYO              PR           00714
   251269 JOSEFINA SOTO LINARES                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSEFINA SOTO PARA CASEY I
   251270 VARGAS                                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251271 JOSEFINA TORRES                             REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251272 JOSEFINA TORRES ADORNO                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   688281 JOSEFINA TORRES HERNANDEZ                   BO SABANA HOYOS              SEC MENDEZ                                                                         SABANA HOYOS        PR           00689
   688283 JOSEFINA TORRES OSTOLAZA                    PLAYA PONCE                  107 CALLEJON VIGO                                                                  PONCE               PR           00731
   251273 JOSEFINA TORRES UMARRI                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688285 JOSEFINA TRAVERSO SOTO                      URB MARBELLA                 318 CALLE 1                                                                        AGUADILLA           PR           00603
   688286 JOSEFINA VALDEZ                             PO BOX 191513                                                                                                   SAN JUAN            PR           00919
   251274 JOSEFINA VARGAS OCASIO                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688287 JOSEFINA VASALLO                            CANTERA                      2385 CALLE MILAGROSA                                                               SAN JUAN            PR           00915
   688288 JOSEFINA VAZQUEZ CRUZ                       P O BOX 7428                                                                                                    SAN JUAN            PR           00916

   688291 JOSEFINA VELAZQUEZ ESCOBAR                  P O BOX 35                                                                                                      MANATI              PR           00674



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  688294 JOSEFINA VENCEBI RIVERA                      P O BOX 1527                                                                                                      RIO GRANDE        PR           00745

   688295 JOSEFINA VIDAL DE FELICIANO                 URB SAN GERARDO 303         CALLE MONTGOMERY                                                                      SAN JUAN          PR           00926

   251276 JOSEFINA VILLAFANE RODRIGUEZ REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          JOSEFINA VILLALOBOS Y RITA DEL
   251277 RIO                            REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   688296 JOSEFINA VILLEGAS GONZALEZ                  SECTOR EL GUPANGO KM18 7    LOS COTOS                                                                             SAN JUAN          PR           00926
   251278 JOSEFINA ZEDA BATISTA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   251279 JOSEFITA OJEDA FIGUEROA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   688300 JOSEFITA PEREZ PEREZ                        ESTANCIAS DEL CERRO GORDO   F 7 CALLE 2                                                                           BAYAMON           PR           00957
   688301 JOSEFITA RIVERA RIVERA                      COM EL MANI                 SOLAR 194 A                                                                           MAYAGUEZ          PR           00708

   251280 JOSEHIRAM MARTINEZ PELLICIA REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
                                      MA 5 MIRAMONTES GARDENS
   688302 JOSEHP P O'NEILL            HILLS                                                                                                                             GUAYNABO          PR           00966
   688303 JOSEIA CASTILLO ROSARIO     BO MANI                                     439 CALLE JUAN RODRIGUEZ                                                              MAYAGUEZ          PR           00680
   251281 JOSEIRA NEGRON ORTIZ        REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   251282 JOSEIRA RIVERA ORTIZ        REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   688305 JOSEITO SOTO GONZALEZ       BOX 208                                                                                                                           LARES             PR           00669
   688306 JOSELEEN GRACIA ARANA       PO BOX 143046                                                                                                                     ARECIBO           PR           00614
   251283 JOSELI COLON COLON          REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   251284 JOSELI MELENDEZ MORALES     REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   688307 JOSELI MORALES MARTINEZ     HC 1 BOX 6747                                                                                                                     GUAYANILLA        PR           00656
   251285 JOSELI ROSADO BERRIOS       REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   688308 JOSELIN BURGOS TORRES       BO QDA ARENA                                CARR 645 KM 2                                                                         VEGA BAJA         PR           00693
   688309 JOSELIN FLORES MELENDEZ     HC 1 BOX 12959                                                                                                                    CAROLINA          PR           00985
   251287 JOSELIN GUZMAN ROBLES       REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          JOSELIN J CONCEPCION / MAC
   251288 PRECISION IND               REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   251289 JOSELIN MALDONADO           REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   251290 JOSELIN MONTALVO CALES      REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   251291 JOSELIN QUI¥ONES CARABALLO                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          JOSELINE ANGELINE GARCIA
   251292 MARTINEZ                                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   688310 JOSELINE COTTE RIOS                         232 AVE ELEONOR ROOSEVELT                                                                                         SAN JUAN          PR           00907
   251293 JOSELINE D MEDINA FONT                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   251294 JOSELINE FRANCESCHI FELICIANO REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   251298 JOSELINE IZQUIERDO VALLE      REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   688313 JOSELINE MARCANO TORRES       PO BOX 1279                                                                                                                     TRUJILLO ALTO     PR           00977‐1279

   251299 JOSELINE MARTINEZ CASTILLO                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   251300 JOSELINE PAGAN DIAZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   688315 JOSELINE PEREZ GARCIA                       HC 3 BOX 14925                                                                                                    COROZAL           PR           00783
   688316 JOSELINE RIOS CARABALLO                     P O BOX 141935                                                                                                    ARECIBO           PR           00614‐1935

   251301 JOSELINE RODRIGUEZ VARGAS                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   251302 JOSELINE ROSA MEDINA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  251303 JOSELINE ROSARIO CORTES                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251304 JOSELINE VARGAS ROSADO                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251305 JOSELINE VARGAS SANTIGO                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   251306 JOSELINE Y PEREZ MALDONADO REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   251307 JOSELINE Y. PEREZ MALDONADO REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688318 JOSELINO REYES DIAZ         HC 01 BOX 7060                                                                                                           AGUAS BUENAS        PR         00703‐9715

   688319 JOSELITO ACEVEDO RODRIGUEZ                  BO BUENA VISTA         71 CALLE LIRIOS                                                                   CAROLINA            PR         00985
   251308 JOSELITO ALICEA MORALES                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251309 JOSELITO BURGOS BURGOS                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251310 JOSELITO CARDONA TORRES                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688320 JOSELITO COLON CRUZ                         PO BOX 398                                                                                               CIDRA               PR         00739
   251312 JOSELITO COLON RIVERA                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   251314 JOSELITO CORDERO RODRIGUEZ                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251315 JOSELITO DIAZ SANTOS                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251316 JOSELITO FIGUEROA MEDINA                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688324 JOSELITO GONZALEZ REYES                     H C 02 BOX 8443                                                                                          CIALES              PR         00638

   251317 JOSELITO MORALES MARTINEZ                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251318 JOSELITO MORALES MORALES                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688325 JOSELITO RIVERA RIVERA                      45 EST DE EMBERY                                                                                         BARCELONETA         PR         00617
          JOSELITO RODRIGUEZ
   688326 RODRIGUEZ                                   APT 767                                                                                                  SABANA HOYO         PR         00688
   688327 JOSELITO ROMAN                              URB CAMINO DEL MAR     8037 VIA PLAYERA                                                                  TOA BAJA            PR         00949‐4362
   688329 JOSELITO ROMERO LOPEZ                       PO BOX 577                                                                                               ISABELA             PR         00662
   688330 JOSELITO SANTIAGO ROMAN                     HC 3 BOX 30799                                                                                           AGUADA              PR         00602
   251320 JOSELITO VALE HERNANDEZ                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251321 JOSELIU ROSADO                              REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251322 JOSELLE VAZQUEZ LOPEZ                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251323 JOSELLY GONZALEZ RIVERA                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251324 JOSELLY MANZANO VILA                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   251325 JOSELLY VELAZQUEZ DE LA CRUZ                REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251326 JOSELY A RODRIGUEZ RIOS                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JOSELY A. CARRERAS
   251327 HERNANDEZ                                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251328 JOSELY CARINA LOPEZ NIEVES                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   251329 JOSELY CARRERAS HERNANDEZ                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251330 JOSELY H SANCHEZ                            REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251331 JOSELYN A. TORRES ROQUE                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251332 JOSELYN ALBELO RAMIREZ                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251333 JOSELYN ANDUJAR GONZALEZ                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251334 JOSELYN BURGOS CRUZ                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251335 JOSELYN CEPEDA ALICEA                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251336 JOSELYN COLON NOGUERAS                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251337 JOSELYN CRUZ TORRES                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251339 JOSELYN DRULLARD ALONSO                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   251340 JOSELYN FIGUEROA MARTINEZ                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  251341 JOSELYN FIGUEROA MUNIZ                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  688333 JOSELYN GARCIA VALE                          HC 1 BOX 6160                                                                                                   MOCA                 PR         00676
  251343 JOSELYN GOLDEN SANTIAGO                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   688334 JOSELYN GONZALEZ GONZALEZ                   HC 01 BOX 2621                                                                                                  ARECIBO              PR         00616
          JOSELYN I RODRIGUEZ
   688335 RODRIGUEZ                                   PO BOX 8019                                                                                                     PONCE                PR         00732‐8019
   688336 JOSELYN LOPEZ ORTIZ                         PO BOX 362                                                                                                      NAGUABO              PR         00718
   688337 JOSELYN M GONZALEZ CRUZ                     HC 02 BOX 8604                                                                                                  JUANA DIAZ           PR         00795
   688331 JOSELYN M LANGA VEGA                        RR 7 BOX 404                                                                                                    SAN JUAN             PR         00926‐9802
   251345 JOSELYN M OTERO DURANT                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688338 JOSELYN M PEREZ REYES                       PO BOX 9821                                                                                                     CIDRA                PR         00739‐9821

   688339 JOSELYN M RODRIGUEZ RIVERA                  LAS GRANJAS                8 CALLE EUGENIO CRUZ                                                                 VEGA BAJA            PR         00693
   251347 JOSELYN M TEXIDOR ROSA                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251348 JOSELYN M. SIERRA REYES                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   251349 JOSELYN MANGUAL RODRIGUEZ                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251350 JOSELYN MARIE PEREZ REYES                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JOSELYN MARIE VALENTIN
   251351 TRAVERSO                                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251352 JOSELYN MATOS NAVARRO                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251353 JOSELYN MOJICA CINTRON                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251354 JOSELYN MOLINA AVILA                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688340 JOSELYN MOLINA SANCHEZ                      RIO HONDO II               AD 30 RIO HERRERA SUR                                                                BAYAMON              PR         00961
   251355 JOSELYN MORALES MORALES                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251356 JOSELYN NATAL ARROYO                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688341 JOSELYN NEGRON BANKS                        HC 01 BOX 6311                                                                                                  STA ISABEL           PR         00757
   251357 JOSELYN NIEVES SEDA                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688342 JOSELYN PEREZ GOMEZ                         P O BOX 1267                                                                                                    YAUCO                PR         00698
   251358 JOSELYN PEREZ ORTIZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251359 JOSELYN PEREZ VELEZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688343 JOSELYN R TORRES MORALES                    URB LOS REYES              36 CALLE ORO                                                                         JUANA DIAZ           PR         00795
   688344 JOSELYN RAMIREZ                             1‐1 PARK VILLE CT                                                                                               GUAYNABO             PR         00966
   688347 JOSELYN RIVERA MENDOZA                      RIO CRISTAL                M 8 CALLE 9                                                                          MAYAGUEZ             PR         00680
   688345 JOSELYN RIVERA ORTIZ                        HC 2 BOX 7011                                                                                                   BARRANQUITAS         PR         00794
   688348 JOSELYN RIVERA PARRA                        URB RIVERAS DEL RIO        F 22 CALLE 7                                                                         BAYAMON              PR         00959‐8823
   251360 JOSELYN RIVERA RIVERA                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   688349 JOSELYN RODRIGUEZ REYES                     COND LOS ALMENDROS PLAZA   701 CALLE EIER APT 1012                                                              SAN JUAN             PR         00924
   251361 JOSELYN SANTANA FIGUEROA                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688350 JOSELYN SANTIAGO RIVERA                     URB COTTO LAUREL                                                                                                PONCE                PR         00731
   251362 JOSELYN SERRA LATORRE                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688351 JOSELYN SIERRA FRET                         PO BOX 2301                                                                                                     VEGA BAJA            PR         00694
   251363 JOSELYN STEIDEL RAMOS                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688352 JOSELYN TORRES SANTIAGO                     URB CONDADO MODERNO        K2 CALLE 8                                                                           CAGUAS               PR         00725

   251364 JOSELYNE MARTINEZ FIGUEROA REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251365 JOSELYS PEREZ ESPIET       REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251366 JOSEM REYES ROSA           REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   688353 JOSEMARY NEGRON CHARDON                     EXT ALTA VISTA             JJ 12 CALLE 28                                                                       PONCE                PR         00716
   251367 JOSEMILIO SUAREZ FIGUEROA                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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          JOSEPH & EDNA JOSEPHSON INST                                      SUITE 300 BRADLEY
   251369 OF ETHICS                    9841 AIRPORT BLVD                    INTERNATIONAL                                                                           LOS ANGELES         CA           90045
          JOSEPH & EDNA JOSEPHSON
   251370 INST. OF ETHICS              9841 AIRPORT BOULEVARD                                                                                                       LOS ANGELES         CA           90045
   251371 JOSEPH A ALVAREZ FEIJOO      REDACTED                             REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251372 JOSEPH A AYENDE REYES        REDACTED                             REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   688355 JOSEPH A CAMACHO GONZALEZ REPARTO TERESITA                        AA 25 CALLE 26                                                                          BAYAMON             PR           00957
          JOSEPH A ESPADA / IRAIDA
   251374 OCASIO                    REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   688356 JOSEPH A FIELD                              WITHERS BERGMAN LLP   430 PARK AVENUE 10TH FLOOR                                                              NEW YORK            NY           10022
   251375 JOSEPH A LONARDO                            REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   251376 JOSEPH A MALDONADO BURGOS REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   251377 JOSEPH A MENDEZ RENGEL    REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   251379 JOSEPH A PEREIRA VINAS    REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   688357 JOSEPH A PLUTO KOZAK      138 CALLE WING                                                                                                                  AGUADILLA           PR       00603‐1400
   251380 JOSEPH A RIVERA ARROYO    REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   251381 JOSEPH A RIVERA MINNICH   REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   251382 JOSEPH A RIVERA MORALES   REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   688358 JOSEPH A RIVERA OCASIO    4 C/ AURORA                                                                                                                     GUAYNABO            PR       00965

   251383 JOSEPH A RODRIGUEZ MERCADO REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688359 JOSEPH A SANDOVAL          NEMESIO CANALES                        EDIF 18 APT 353                                                                         SAN JUAN            PR           00918
   251384 JOSEPH A SPLAIN OTERO      REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688360 JOSEPH A STERLING LEBRON   COOP VILLA BORINQUEN                   18 CALLE JORGE R GAUTIER                                                                SAN JUAN            PR           00921
   688361 JOSEPH A THOMPSON          HC 02 BOX 12908                                                                                                                VIEQUES             PR           00765‐9470
   251385 JOSEPH A VEGA GALARZA      REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688362 JOSEPH A VIERA CINTRON     ALTURAS DE RIO GRANDE                  M 584 CALLE 13                                                                          RIO GRANDE          PR           00745

   688363 JOSEPH A. AVILES GUZMAN                     URB. FAIRVIEW         1878 CALLE SEBASTIAN OLANO                                                              SAN JUAN            PR           00926
   251387 JOSEPH AGOSTO SANCHEZ                       REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSEPH ALAN MONTALVO
   688364 SANTIAGO                                    116 CALLE D A COSTA                                                                                           SABANA GRANDE       PR           00637

   251388 JOSEPH ALEXANDER MC CARTHY                  REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSEPH ALEXANDER PEREZ
   251389 CORDERO                                     REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251390 JOSEPH AMARO LEBRON                         REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251391 JOSEPH ANDUJAR FIGUEROA                     REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688365 JOSEPH ARCE MARTIR                          HC 02 6305                                                                                                    LARES               PR           00669
   688366 JOSEPH B JORDAN                             26 ORLANDO            AVE ARSDHEY                                                                             NEW YORK            NY           10502
   251394 JOSEPH BAEZ PAGAN                           REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251395 JOSEPH BENITEZ                              REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   251396 JOSEPH BONILLA CARRASQUILLO REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251397 JOSEPH BROCCO SANTIAGO      REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688367 JOSEPH C LO PRESTI TORRES   PO BOX 9024098                                                                                                                SAN JUAN            PR           00902‐4098
          JOSEPH CACERES/CARMEN CRUZ
   688370 RODRIGUEZ                   BO VENEZUELA                          5 CALLE CAPARRA BAJOS                                                                   SAN JUAN            PR           00923
   688371 JOSEPH CAMPOS SALGADO       URB SANTA PAULA                       L 10 CALLE 1                                                                            GUAYNABO            PR           00969
   251399 JOSEPH CARMONA LOZANO       REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  688372 JOSEPH CARROLL                               200 CENTER DRIVE                                                                                                 RIVERHEAD          NY         11901
  251402 JOSEPH CELUSAK HERNANDEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         JOSEPH CHATT SANTOS/ POWER
  251405 COMM INC                                     PO BOX 3757                                                                                                      AGUADILLA          PR         00605‐3757
  688373 JOSEPH COLLAZO                               COND CRYSTAL HOUSE         368 CALL DE DIEGO          APT 113                                                    SAN JUAN           PR         00923‐2904
  251406 JOSEPH COLON CORDERO                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         JOSEPH CONCEPCION
  688374 RODRIGUEZ                                    VILLA PALMERAS             D 12 B CALLE FAJARDO                                                                  SAN JUAN           PR         00915
  251407 JOSEPH CUEVA PAGAN                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  251408 JOSEPH CUEVAS PAGAN                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   251409 JOSEPH D CITRINITI ALVARADO                 REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   251410 JOSEPH D FIGUEROA MORALES                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   688377 JOSEPH D ORTIZ                              PO BOX 1481                                                                                                      CAYEY              PR         00737
   688378 JOSEPH D RIVERA LOPEZ                       PALACIO REALES             55 CALLE BALBI                                                                        TOA ALTA           PR         00953
   688381 JOSEPH D YAMBO RIVERA                       HC 06 BOX 98650                                                                                                  ARECIBO            PR         00612
   251411 JOSEPH DE JESUS RAMOS                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251413 JOSEPH DELGADO DIAZ                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   688383 JOSEPH DELIZ HERNANDEZ                      URB SANTA CRUZ             53 CALLE ESTEBAN PADILLA                                                              BAYAMON            PR         00961‐6700
   688384 JOSEPH E BINARD                             902 SHAGOS DR                                                                                                    APOLLO BEACH       FL         33572
   688385 JOSEPH E ESPARRA ALVAREZ                    PO BOX 5062                                                                                                      AGUADILLA          PR         00605‐5062
   688386 JOSEPH E LAMOUREUX                          P O BOX 420205                                                                                                   ROOSEVELT ROAD     PR         00742
   251414 JOSEPH E REYES CRUZ                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   251415 JOSEPH E RODRIGUEZ ROMAN                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   688387 JOSEPH E VALENTIN CUEBAS                    PORTALES DE PARQUE ESCORIAL B 2304                                                                               CAROLINA           PR         00987
   251416 JOSEPH E VEGA QUINONES                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251417 JOSEPH E VELEZ FIGUEROA                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   251418 JOSEPH E. CAICEDO ECHEVARRI                 REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251419 JOSEPH EMMER FLORES                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251420 JOSEPH ESCOBALES ALBINO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251422 JOSEPH FEBUS MARTINEZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   251424 JOSEPH G FELDSTEIN DEL VALLE                REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JOSEPH G SANTIAGO
   251425 GUADALUPE                                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251426 JOSEPH GARCIA ANDRADES                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251427 JOSEPH GARCIA FERNANDEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251428 JOSEPH GARCIA SERRANO                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251429 JOSEPH GARCIA VERA                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JOSEPH GONZALEZ
   251431 PANTELOGLOUS                                REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   688388 JOSEPH GUZMAN                               PO BOX 2818                                                                                                      CAROLINA           PR         00984‐2818
   251433 JOSEPH GUZMAN MARRERO                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251434 JOSEPH GUZMAN RIVERA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251435 JOSEPH H RODRIGUEZ CRUZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251436 JOSEPH H VOGEL                              REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   688389 JOSEPH HARRISON FLORES                      BOX 567                                                                                                          BAYAMON            PR         00960
   688390 JOSEPH HERNANDEZ SEDA                       BOX 312                                                                                                          CANOVANAS          PR         00729
   251437 JOSEPH HUDSON                               REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  688391 JOSEPH J LOPEZ PAGAN                          PO BOX 3024                                                                                                       RIO GRANDE        PR           00745
         JOSEPH J RIVERA DBA JOHNNY'S
  688392 AUTO REPAIR                                   CAPARRA TERRACE         1150 CALLE 2 SE                                                                           SAN JUAN          PR           00921
  251438 JOSEPH J TORRES                               REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
         JOSEPH JAVIER MONTALVO /
  251439 JAVIER MONTALVO                               REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  688394 JOSEPH JIMENEZ PIZARRO                        PMB 27 P O BOX 1980                                                                                               LOIZA             PR           00772‐1980

   688395 JOSEPH JONES FRANCHESCHINI                   PO BOX 7126                                                                                                       PONCE             PR           00732
   251440 JOSEPH JONES MALAVE                          REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   688396 JOSEPH L CARN ALVAREZ                        COND LAS CARMELITAS     364 CALLE SAN JORGE APT 11 A                                                              SAN JUAN          PR           00912

   688397 JOSEPH L MALDONADO OCASIO                    ESTANCIA CERRO GORDO    D‐24 CALLE 2                                                                              BAYAMON           PR           00957
   251442 JOSEPH L MARTINEZ LEDUC                      REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   688398 JOSEPH L MARTINEZ PEREZ                      PO BOX 362204                                                                                                     SAN JUAN          PR           00936‐2204
   688399 JOSEPH L MORRIS                              PO BOX 6004 MS 6136                                                                                               VILLALBA          PR           00766‐6004
   688400 JOSEPH L SARDINAS JR                         43 SOMERSET DR                                                                                                    WINDSOR           CT           06095

   251443 JOSEPH L SERRANO QUINONES                    REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          JOSEPH LEE RODRIGUEZ
   251444 SANJURJO                                     REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          JOSEPH LO PRESTI LAW OFFICE
   251446 PSC                                          PMB 357                 405 AVE ESMERALDA STE 2                                                                   GUAYNABO          PR           00969‐4427
          JOSEPH LO PRESTI TORRES LAW
   251447 OFFICE PSC                                   PMB 357                 405 AVE ESMERALDA SUITE 2                                                                 GUAYNABO          PR           00969
   251448 JOSEPH LOPEZ VIGO                            REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   251451 JOSEPH LOUIS CORTES LUGO                     REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   688401 JOSEPH LUGO VAZQUEZ                          PO BOX 7126                                                                                                       PONCE             PR           00732
                                                                               CALLE DR DIEGO ALVAREZ
   688402 JOSEPH M CRESPO RIOS                         LEVITTOWN LAKES BX 46   CHANCA                                                                                    TOA BAJA          PR           00949
   251452 JOSEPH M CRUZ ALVARADO                       REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   688403 JOSEPH M GUTIERREZ GONZALEZ 470 CALLE 1 EXT LA RAMBLA                                                                                                          PONCE             PR           00731
          JOSEPH M MALDONADO
   251453 MORALES                     REDACTED                                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   251454 JOSEPH M MAYA RODRIGUEZ     REDACTED                                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   251455 JOSEPH M PEREZ ROMAN        REDACTED                                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   251456 JOSEPH MACHINI NURELIAN     REDACTED                                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          JOSEPH MANUEL VAZQUEZ
   688405 GUZMAN                      PO BOX 1456                                                                                                                        YAUCO             PR           00698
   688406 JOSEPH MARINUCCI            55 WATER ST 33RD FLOOR                                                                                                             NEW YORK          NY           10041
   688407 JOSEPH MARRERO RAMOS        RES AMAPOLAS                                                                                                                       SAN JUAN          PR           00927

   688408 JOSEPH MARTINEZ RODRIGUEZ                    URB LOS COLOBOS         563 CALLE ACEITILLO                                                                       PONCE             PR           00731
   688409 JOSEPH MARTINEZ ROMAN                        URB 3T                  22 CALLE BROMELIA                                                                         ISABELA           PR           00662
   688410 JOSEPH MARTINEZ SUAREZ                       PO BOX 361119                                                                                                     SAN JUAN          PR           00936‐1119
   688411 JOSEPH MAYA GAMBINO                          PO BOX 7126                                                                                                       PONCE             PR           00732
   251457 JOSEPH MEDINA RIVERA                         REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   251458 JOSEPH MELENDEZ CARDONA                      REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          JOSEPH MICHAEL GONZALEZ
   251459 HERNANDEZ                                    REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   251460 JOSEPH MOLINA CABRERA                        REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  688413 JOSEPH MONIQUE DECEUS                        MANSIONES DE MONSERRATE     164 A 15 CALLE 436                                                                     CAROLINA           PR         00985
  688414 JOSEPH MONTES CRUZ                           706 FRANCISCO GARCIA FARI                                                                                          DORADO             PR         00646
  251461 JOSEPH MORALES PACHECO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  251462 JOSEPH MORAN FERNANDEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  251463 JOSEPH MOURE DURAN                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  251464 JOSEPH MUNOZ CORDERO                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  251465 JOSEPH NAIL PABON GAGO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  688415 JOSEPH NEGRON QUILES                         RES JARDINES DE SELLES      EDIF 8 A APT 8 A 2                                                                     SAN JUAN           PR         00924
  688416 JOSEPH NEIRA FERNANDEZ                       CONDOMINIO MUNDO FELIZ      APARTADO 802                                                                           CAROLINA           PR         00939
  688417 JOSEPH NEMELKA                               897 SOUTH ARTTISTIC                                                                                                SPRINGVILLE        UT         84663
  688418 JOSEPH O ARCE GONZALEZ                       PO BOX 198                                                                                                         TOA BAJA           PR         00952
  251466 JOSEPH O RIVERA SANCHEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  688420 JOSEPH O VADIA                               100 NE 15 STREET 102                                                                                               HOMESTEAD          FL         33030
  688421 JOSEPH OLMO VEGA                             URB LA UTT                  28 CALLE LINO PADRO FINAL                                                              SAN JUAN           PR         00926
  251467 JOSEPH ORTIZ MORALES                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  688422 JOSEPH OYOLA TORRES                          LEVITTOWN 4ta SECC          Y5 CALLE LADI ESTE                                                                     TOA BAJA           PR         00949
                                                      770 WASHINGTON AVE SUITE
   688423 JOSEPH P BORG                               570                                                                                                                MONTGOMERY         AL         36130‐4700
   688424 JOSEPH P McCAIN                             8940 NORTH KENDALL DRIVE    STE 604‐E                                                                              MIAMI              FL         33076

   251468 JOSEPH PEREZ / AZ ENERGY LLC                URB TORRIMAR                M 25 CALLE RIDGEWOOD                                                                   GUAYNABO           PR         00966

   688425 JOSEPH PEREZ FELICIANO                      URB JARDINES DE CONCORDIA   EDIF 14 APT 188                                                                        MAYAGUEZ           PR         00680
   251469 JOSEPH PEREZ RODRIGUEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   688426 JOSEPH PEREZ ZAMBRANA                       PO BOX 164                                                                                                         CAYEY              PR         00937
   688428 JOSEPH QUI¥ONES RIBOT                       URB MELENDEZ                C 10 CALLE B                                                                           FAJARDO            PR         00783
   251472 JOSEPH R COLON                              REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251473 JOSEPH R CRUZ CORDERO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251474 JOSEPH R DAVIS PAGAN                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   688354 JOSEPH R MATTHEWS                           165 B HOOK RD                                                                                                      AGUADILLA          PR         00603
   251476 JOSEPH R TOSSAS OTERO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   688429 JOSEPH R TURBE RIVERA                       26 CALLE DIAMANTES                                                                                                 PONCE              PR         00731

   688430 JOSEPH RAMIREZ HERNANDEZ                    HC 1 BOX 6015               SECTOR EL CAMPITO                                                                      CABO ROJO          PR         00623‐9701
   251477 JOSEPH RAMOS                                REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251478 JOSEPH RIOS PRATTS                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251480 JOSEPH RODRIGUEZ ALVAREZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JOSEPH RODRIGUEZ
   251481 BETANCOURT                                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251482 JOSEPH RODRIGUEZ MADERA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   251483 JOSEPH RODRIGUEZ MARTINEZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   688432 JOSEPH RODRIGUEZ PEREZ                      COLINAS DE FAIR VIEW        4H‐1 CALLE 206                                                                         TRUJILLO ALTO      PR         00976
   251484 JOSEPH RODRIGUEZ ROCHE                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251485 JOSEPH ROMAN CRUZ                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   251486 JOSEPH RUBEN CACERES CRUZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251487 JOSEPH S FRANQUI PEREZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   688433 JOSEPH S MAIZ ALONSO                        MANSIONES DE TOA ALTA       A 7 CALLE 2                                                                            TOA ALTA           PR         00953

   688434 JOSEPH SAMPSON FERNANDEZ                    URB. TORRIMAR 4‐1           CALLE ALHAMBRA                                                                         GUAYNABO           PR         00966
   251488 JOSEPH SANABRIA                             REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   688435 JOSEPH SANCHEZ CRUZ                         URB EL COMANDANTE           90 CALLE SAN FERNANDO                                                                  CAROLINA           PR         00982



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  251489 JOSEPH SANTAELLA VARELA                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251490 JOSEPH SOSA ANDRADES                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  688437 JOSEPH SUAREZ GONZALEZ                       PO BOX 452                                                                                                            MAYAGUEZ          PR         00681
  688438 JOSEPH TORRES SIERRA                         URB VISTA AZUL                CASA Z‐13 CALLE 29                                                                      ARECIBO           PR         00612
  251491 JOSEPH TORRES VARGAS                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  688439 JOSEPH UPTON                                 830 BOYLSTON ST                                                                                                       CHESTNUT HILL     MA         02467
         JOSEPH URBINA GARCED Y
  251492 NANCY HERNANDEZ                              REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251493 JOSEPH V MONTANEZ LYON                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  688440 JOSEPH V ROUNDTREE                           PSC 1008 BOX 3004 FPO AA                                                                                              CEIBA             PR         34051‐5000
  251494 JOSEPH VALE ACEVEDO                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251495 JOSEPH VALENTIN CORTES                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251496 JOSEPH VAZQUEZ MORALES                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251497 JOSEPH VELAZQUEZ WEBB                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  688442 JOSEPH W. HEISER MARON                       LAGUNA GARDENS 5              APTO. 1 A                                                                               CAROLINA          PR         00979
         JOSEPH WELDON Y JANET L
  688443 WELDON                                       PSC 1009 BOX 735              FPI AA 34053‐0006            SABANA SECA                                                TOA BAJA          PR         00952
  251500 JOSEPH X RIVERA TORRES                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   251501 JOSEPH Y CORDERO MERCADO                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251502 JOSEPH Y MARRERO GARCIA                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251503 JOSEPH YAMILL GEIGEL                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   688444 JOSEPHINE ALVARADO RESTO    COUNTRY CLUB                                  11‐40 CALLE CARLOS BERTERO                                                              CAROLINA          PR         00924
   251504 JOSEPHINE APONTE SANCHEZ    REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                      BO MIRAFLORES SECT PALO
   688445 JOSEPHINE ARGUILLES SANCHEZ BLANCO                                        15 CALLE 3                                                                              ARECIBO           PR         00616

   688446 JOSEPHINE AUDAIN MOLINA                     SECTOR GUARICO VIEJO BOX 63                                                                                           VEGA BAJA         PR         00693

   251506 JOSEPHINE C ACEVEDO ESQUILIN REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   688448 JOSEPHINE E CACERES GARCIA                  P.O. BOX 944                                                                                                          PENUELAS          PR         00624

   251507 JOSEPHINE E GONZALEZ NUNEZ                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688449 JOSEPHINE GUADALUPE                         ROLLINGS HILLS                P 327 CALLE LIMA                                                                        CAROLINA          PR         00987

   688450 JOSEPHINE HIRALDO SANTANA                   HC 3 BOX 15005                                                                                                        RIO GRANDE        PR         00745‐9754
   251508 JOSEPHINE LOPEZ QUINONEZ                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOSEPHINE M MOCTEZUMA
   688451 MARTINEZ                                    PO BOX 10074 CUH STATION                                                                                              HUMACAO           PR         00792‐1074
   688452 JOSEPHINE MATIAS SALTARES                   HC‐01 BOX 4695                                                                                                        RINCON            PR         00677
   688453 JOSEPHINE MEDINA SANCHEZ                    RES EL PRADO                  EDF 02 APT 8                                                                            SAN JUAN          PR         00924
   251509 JOSEPHINE MERCADO SOTO                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688454 JOSEPHINE OLIVERAS VEGA                     SOLAR 288 COM PLACITA III                                                                                             JUNCOS            PR         00627
   251510 JOSEPHINE ORTIZ RODRIGUEZ                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251511 JOSEPHINE POU RODRIGUEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251512 JOSEPHINE R AVILES RICART                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251513 JOSEPHINE RIOS RODRIGUEZ                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   251514 JOSEPHINE ROBLEDO QUINONES REDACTED                    REDACTED                                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                     108 CALLE FRANCISCO G BRUNO
   688455 JOSEPHINE TORRES PEREZ     OESTE                                                                                                                                  GUAYAMA           PR         00784



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   251516 JOSEPHINE VALENTIN DELGADO                  REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688456 JOSEPHINE VELEZ ARROYO                      URB MIRAFLORES         BUZON 26 CALLE 5                                                                       BAYAMON             PR           00957
   251517 JOSEPHINE VIVONI SUAREZ                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251520 JOSEPHS GALBRAITH III                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688457 JOSEPTH J BRAZEAU                           URB TERRAZAS DEL TOA   2 N 1 CALLE 19                                                                         TOA ALTA            PR           00953
   688458 JOSES PIZZA AND REST                        PO BOX 720722                                                                                                 OROCOVIS            PR           00720
   688460 JOSE'S PIZZA DELIVERY                       PO BOX 722                                                                                                    OROCOVIS            PR           00720
          JOSET EXPOSITO /DBA/ CINCO
   251521 LUCES INC                                   PMB 218                1507 PONCE DE LEON                                                                     SAN JUAN            PR           00909

   251522 JOSETH MARIE COTTO MORILLO REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   251523 JOSETTE C CENTURION HOLSTERS URB ENCANTADA                         350 VIA AVENTURA APT 6701                                                              TRUJILLO ALTO       PR           00976‐6188
          JOSETTE MARIE VELAZQUEZ
   251524 LEBRON                       REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688462 JOSETTE PEREZ GIUSTI         PO BOX 607                                                                                                                   CAGUAS              PR           00726
   251525 JOSETTE RODRIGUEZ ORTIZ      REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251527 JOSEYDA GOMEZ CARMONA        REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251528 JOSHABEL RENTAS NEGRON       REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSHARONIEL MARRERO
   251529 BETANCOURT                   REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251530 JOSHAUA PEREZ MORENO         REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   251531 JOSHCAR MELENDEZ SANTIAGO                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251532 JOSHIRA M RIVERA MOJICA                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251533 JOSHMEL E. RIVERA NIEVES                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251534 JOSHUA A CARRERAS VELEZ                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   251535 JOSHUA A FORNES RODRIGUEZ                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251536 JOSHUA A MEDINA DE JESUS                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSHUA A RODRIGUEZ
   251537 GUILFUCCI                                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   251538 JOSHUA A RODRIGUEZ ROSARIO REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   251539 JOSHUA A ROMAN GUTIERREZ                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688463 JOSHUA AUTO                                 44 SABANETA                                                                                                   MERCEDITA           PR           00715
   251540 JOSHUA BATALLA GOYTIA                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251542 JOSHUA CABRERA TORRES                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251543 JOSHUA CALDERON RIVERA                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251544 JOSHUA CALEB NORKUS                         REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOSHUA CANDELARIO
   251545 RODRIGUEZ                                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251546 JOSHUA CARRERO ALEQUIN                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251547 JOSHUA CARRERO LOPEZ                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251548 JOSHUA CRUZ CRUZ                            REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251549 JOSHUA CRUZ GUZMAN                          REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688464 JOSHUA D BAILEY                             110 PEBBLE CREEK LN                                                                                           RED OAK             TX           75154
   251550 JOSHUA DAVILA RAMIREZ                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251551 JOSHUA DE JESUS DELGADO                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251552 JOSHUA DÍAZ FRANCO                          REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   251553 JOSHUA DIAZ MERCADO                         REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  688465 JOSHUA E CASTRO COLON                        BO PESAS               35 PARC MARIA                                                                   CIALES              PR           00638

   251554 JOSHUA E CONCEPCION RIVAS                   REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251555 JOSHUA E FRANCO MARQUEZ                     REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251556 JOSHUA E MATOS GONZALEZ                     REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   688466 JOSHUA E PADILLA TORRES                     606 ANIMAS SUR                                                                                         ARECIBO             PR           00612
   251558 JOSHUA ESCOBAR QUIROS                       REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   251559 JOSHUA F MARTINEZ SABATER                   REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   688467 JOSHUA F SANTOS                             PO BOX 9021112                                                                                         SAN JUAN            PR           00902‐1112
   251560 JOSHUA FERRER IRIZARRY                      REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   251561 JOSHUA FIGUEROA CARTAGENA                   REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   251562 JOSHUA FONTANEZ ZAYAS                       REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   251563 JOSHUA FRED GINES                           REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   251564 JOSHUA G GUTIERREZ                          REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   251565 JOSHUA G SEDA RIVERA                        REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   688468 JOSHUA G TORRES SUAREZ                      PO BOX 552                                                                                             PATILLAS            PR       00723
   251566 JOSHUA GONZALEZ FREYTES                     REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   251567 JOSHUA GONZALEZ SUAREZ                      REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   251569 JOSHUA I CAMACHO ORTIZ                      REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   251570 JOSHUA I MARRERO RUIZ                       REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   251571 JOSHUA J BURGOS BAUZA                       REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   251572 JOSHUA J COLLAZO COLON                      REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED

   251573 JOSHUA J CRUZ TEISSONNIERE                  REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251574 JOSHUA J DIAZ SANTIAGO                      REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251575 JOSHUA J FARINACCI COLON                    REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251576 JOSHUA J FRANCO PANTOJA                     REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   251577 JOSHUA J GONZALEZ VALENTIN                  REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251578 JOSHUA J LOPEZ VALENTIN                     REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251579 JOSHUA J RIVERA AVILES                      REDACTED               REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   251580 JOSHUA J RIVERA CARRASQUILLO REDACTED                              REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251581 JOSHUA J RODRIGUEZ CORA      REDACTED                              REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JOSHUA JAVIER TIRADO
   251582 CAMBRELEN                    REDACTED                              REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251583 JOSHUA JIMENEZ RIVERA        REDACTED                              REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251584 JOSHUA JIMENEZ SOTO          REDACTED                              REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251585 JOSHUA JUSINO ROSADO         REDACTED                              REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251586 JOSHUA L RODRIGUEZ CRUZ      REDACTED                              REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251587 JOSHUA LASANTA ROLON         REDACTED                              REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251588 JOSHUA LEVIS HERNANDEZ       REDACTED                              REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251590 JOSHUA LUNA DAVID            REDACTED                              REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251592 JOSHUA M GARCIA              REDACTED                              REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   251593 JOSHUA M MARTINEZ SANTIAGO REDACTED                                REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JOSHUA M MELENDEZ
   251594 MELENDEZ                   REDACTED                                REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251595 JOSHUA M NUNEZ RIVERA      REDACTED                                REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251596 JOSHUA M SOTO ADAMS        REDACTED                                REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   251597 JOSHUA MAISONET AVILES     REDACTED                                REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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MML ID             NAME                                          ADDRESS 1                    ADDRESS 2              ADDRESS 3                           ADDRESS 4              CITY       STATE     POSTAL CODE       COUNTRY
  251598 JOSHUA MALCON MENDEZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251600 JOSHUA MARTINEZ MATOS                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251601 JOSHUA MEDINA RIVERA                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251602 JOSHUA MENDEZ ROMAN                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   251603 JOSHUA MERCADO MELENDEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   251604 JOSHUA MONTALVO CINTRON                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251605 JOSHUA N BERRIOS RIVERA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   688469 JOSHUA N MARTINEZ                           459 12 WALLONGFORD RD                                                                                          DURHAM              CT       06422
   251606 JOSHUA N PENA NUNEZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251607 JOSHUA NEGRON ROSADO                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251608 JOSHUA O ORTIZ TORRES                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251609 JOSHUA OCASIO OTERO                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   688470 JOSHUA OQUENDO MATOS                        9 RES LIBORIO ORTIZ APT 70                                                                                     AIBONITO            PR       00705
   251610 JOSHUA ORTIZ MUNIZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251611 JOSHUA ORTIZ VILLA                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251612 JOSHUA P PAGAN CARRION                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   688471 JOSHUA P WAGNER                             68 WOLCOTT ST                                                                                                  PORTLAMD            ME       04102
   251613 JOSHUA PACHECO CORTES                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251614 JOSHUA PADILLA AMESQUITA                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251615 JOSHUA PADUA APONTE                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251616 JOSHUA PAREDES RIVERA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251618 JOSHUA R ORTIZ CORREA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251619 JOSHUA RIOS SEPULVEDA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251620 JOSHUA RIVERA LARTIGAUT                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251621 JOSHUA RIVERA SANTIAGO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251622 JOSHUA RIVERO MEDINA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251623 JOSHUA ROSADO ORTIZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251624 JOSHUA ROSARIO COLON                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251625 JOSHUA ROSARIO PEREZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251626 JOSHUA RUIZ MARTINEZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251627 JOSHUA S PACHECO CRUZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251628 JOSHUA S RIVERA VELEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   688472 JOSHUA S SOTO MONTALVO                      URB COLINAS DEL OESTE        F 29 CALLE 8                                                                      HORMIGUEROS         PR       00660
   251629 JOSHUA S0LA PEREZ                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251630 JOSHUA SANCHEZ QUINTERO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251631 JOSHUA SANTOS FIGUEROA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251633 JOSHUA SIERRA RODRIGUEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251634 JOSHUA SIERRA ROLON                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251635 JOSHUA SUAREZ RODRIGUEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251636 JOSHUA TANNENBAUM                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251637 JOSHUA TORRES VEGA                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251638 JOSHUA VAZQUEZ ALIERS                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251639 JOSHUA VELAZQUEZ                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251640 JOSHUA VIDAL ESTRADA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
          JOSHUA X FIGUEROA
   251641 HERNANDEZ                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251642 JOSHUA X ORTIZ DELGADO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   251643 JOSHUA X VAZQUEZ RODRIGUEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JOSHUA Y DEL VALLE
   251644 HERNANDEZ                  REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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MML ID               NAME                                      ADDRESS 1                     ADDRESS 2                   ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  251645 JOSHUA Y MEDERO PADIN                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251646 JOSHUALIE IRIZARRY TORRES                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  688473 JOSHUANA SANTIAGO GARCIA                     RES NEMESIO CANALES          EDIF 32 APTO 602                                                                      SAN JUAN            PR         00918

   251647 JOSHUANTHONY ORTIZ BERRIOS REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251648 JOSHUEL RIVERA SANCHEZ     REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251649 JOSHWA H LOPEZ IRIZARRY    REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   688474 JOSHWELL MALDONADO ORTIZ                    URB JARD DEL CARIBE          PP 6 CALLE 40                                                                         PONCE               PR         00728
   688475 JOSHY PARTY LINE                            PO BOX 70005 SUITE 297                                                                                             FAJARDO             PR         00738
   688476 JOSIAH Z RAMOS FLORES                       P O BOX 1824                                                                                                       CANOVANAS           PR         00729

   688478 JOSIAN HERNANDEZ HERNANDEZ JARD DE DORADO                                G 7 CALLE 6                                                                           DORADO              PR       00646
   688479 JOSIAN RENTAL              PO BOX 116                                                                                                                          COMERIO             PR       00782
   251651 JOSIAN RIVERA TORRES       REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251653 JOSIANNIE ROSSELLO         REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251654 JOSIE DELGADO VELEZ        REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   688481 JOSIE HERNANDEZ RAMOS      P M B 319                                     1353 CARR 19                                                                          GUAYNABO            PR       00966‐2700
   251655 JOSIE IVAN DIAZ ORTIZ      REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251656 JOSIE J.MARTINEZ LOPEZ     REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251657 JOSIE LOPEZ CRUZ           REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   688480 JOSIE M MILLER             PO BOX 20002 4                                                                                                                      CEIBA               PR       00735 2002
   688482 JOSIE M OLIVERAS SANCHEZ   HC 02 BOX 11805                                                                                                                     YAUCO               PR       00698
   251658 JOSIE R. VICENS PINERO     REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   688483 JOSIE ROSADO ROLDAN        P O BOX 9021112                                                                                                                     SAN JUAN            PR       00902112
   251659 JOSIEL BARREIRO CORDERO    REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   688484 JOSIEL MEJIA ROSSO         P O BOX 7776                                                                                                                        CAROLINA            PR       00986
   251660 JOSILETTE SANTIAGO MUNOZ   REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   688485 JOSINELL M SERRANO CANALS  LAS LEANDRAS                                  V 14 CALLE 3                                                                          HUMACAO             PR       00791
   688486 JOSIRIS OCASIO VEGA        P O BOX 670                                                                                                                         CIALES              PR       00638
   688487 JOSIRIS RIVERA COLON       RES JARDINES DE GUAMANI                       EDF 6 APTO 38                                                                         GUAYAMA             PR       00784
   251661 JOSIVAN ROJAS              REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251662 JOSLI A NAVARRO CHEVERE    REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251663 JOSLIAM JIMENEZ RAMIREZ    REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251664 JOSLIN DIABETES CENTER     1 JOSLIN PL 440                                                                                                                     BOSTON              MA       02215
   688488 JOSMAR CLAUDIO FLORES      BO VEGAS                                      26610 CALLE ISMAEL COLON                                                              CAYEY               PR       00736
   688489 JOSMAR ESTEVES NIEVES      HC 05 BOX 34636                                                                                                                     SAN SEBASTIAN       PR       00685

   251666 JOSMARIE MORALES SANTIAGO                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JOSMARIE R VALLADARES
   688490 SANTIAGO                                    PO BOX 10596                                                                                                       PONCE               PR         00732
   251668 JOSMARIE RIOS ROSARIO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   688491 JOSMARIE RIVERA ALICEA                      URB. SANTA ELENA CALLE B 2                                                                                         SABANA GRANDE       PR         00637
   688492 JOSMARIE UNIFORMS                           ROYAL PALM                   IF 45 AVE LOMAS VERDES                                                                BAYAMON             PR         00956

   251669 JOSMARIS SANTOS RODRIGUEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   688493 JOSMARY COSME VAZQUEZ                       P O BOX 583                                                                                                        VILLALBA            PR         00766
   251670 JOSMERIE PEREZ SANCHEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   251671 JOSSELIE M RIVERA LAWRENCE                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251672 JOSSELINE SOTO AROCHO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   688494 JOSSELLIN VAZQUEZ GONZALEZ                  BO BLONDET                   46 APT C                                                                              GUAYAMA             PR         00784



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MML ID                NAME                                      ADDRESS 1                     ADDRESS 2                      ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  251673 JOSSELYN A. COLON ORTIZ                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  688495 JOSSENIA MALAVE RIVERA                        ARECIBO OCEAN VEAW                                                                                                    ARECIBO             PR         00688
                                                                                   6 CALLE CELIS AGUILERA SUITE
  1420124 JOSSHEID SANTIAGO, JORDAN                    RICARDO PRIETO GARCIA       201‐A                                                                                     FAJARDO             PR         00738
   251676 JOSSIAN PAGAN LISBOA                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251677 JOSSIAN SERRANO DAVILA                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251680 JOSSIANNE M ANADON ORTIZ                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251681 JOSSIE A PEREZ GUZMAN                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251682 JOSSIE ADORNO QUINTANA                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251683 JOSSIE AGUILA RODRIGUEZ                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   251684 JOSSIE AUTO AIR                              211 CALLE ROLANDO CABANAS                                                                                             UTUADO              PR         00641
   251685 JOSSIE DE JESUS RIVERA                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   688499 JOSSIE E CEPERO RAMIREZ                      LAGOS DE PLATA              V 8 CALLE 19                                                                              TOA BAJA            PR         00949
          JOSSIE ESTEBAN Y/O LA                                                    15 LOS DMNCS SHP #5 URB
   688500 PATRULLA                                     RASALEDA 2                  LEVITTOWN                                                                                 TOA BAJA            PR         00949
   688501 JOSSIE FIGUEROA LOPEZ                        URB LOMAS DE CAROLINA       S 2 CALLE CERRO TAITA                                                                     CAROLINA            PR         00987
   688502 JOSSIE FLORES FLORES                         COND LAGUNA GARDENS         EDIF 1 APT 3 L                                                                            CAROLINA            PR         00979
   688503 JOSSIE I VEGA RODRIGUEZ                      HC 4 BOX 44571                                                                                                        MAYAGUEZ            PR         00680
   251686 JOSSIE I VEGA SANTIAGO                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251687 JOSSIE I. SOTO HERNANDEZ                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251688 JOSSIE I. VEGA SANTIAGO                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   251689 JOSSIE J. VELAZQUEZ MEDERO                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251690 JOSSIE M OLIVERO REYES                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251691 JOSSIE M PAGAN SANCHEZ                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   688508 JOSSIE M VEGA VAZQUEZ                        HC 1 BOX 5431                                                                                                         BARRANQUITAS        PR         00794
   688510 JOSSIE NAZARIO                               COND LOS ROBLES             EDIF A APTO 114                                                                           SAN JUAN            PR         00927

   688511 JOSSIE P MOULLIER FIGUEROA                   PO BOX 31                                                                                                             NAGUABO             PR         00718
   251695 JOSSIE RAMIREZ CASTRO                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   251696 JOSSIE RIVERA RODRIGUEZ                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   688513 JOSSIE RODRIGUEZ RAMIREZ                     HC 01 BOX 3952                                                                                                        LAS MARIAS          PR         00670
   688514 JOSSIE SALGUERO PECUNIA                      URB BAIROA GOLDEN GATE II   D8 CALLE G                                                                                CAGUAS              PR         00725
   688515 JOSSIE SANTANA SIERRA                        BO BUENAVENTURA             201 CALLE NARANJO                                                                         CAROLINA            PR         00987
   688516 JOSSIE V DE VARONA                           PASEO REAL PASEOS           B 6 CALLE A                                                                               SAN JUAN            PR         00926
   688517 JOSSIE YUNQUE LOPEZ                          PO BOX 11741                                                                                                          SAN JUAN            PR         00922
   251697 JOSSIEBEL OSORIO PIZARRO                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   688518 JOSSIEMER PEREZ MOLINA                       JARDINES DE CAROLINA        42‐A CALLE E                                                                              CAROLINA            PR         00987
   251700 JOSSIRA A DE JESUS GARCIA                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   251701 JOSSMARIE NIEVES MONTALVO                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251702 JOSSUE A OQUENDO BURGOS                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251703 JOSSUE H MORALES RIVERA                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   251704 JOSSUE MALAVE SANTIAGO                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   688519 JOSSY L VELEZ RIVERA                         INT ALTOS DE LA TORRE       BOX 786                                                                                   JUNCOS              PR       00777
   251705 JOSSY M CENTENO PEREZ                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   688520 JOSSY SEDA MATOS                             HC 01 BOX 15519                                                                                                       CABO ROJO           PR       00623

   251706 JOSTEN G CENTENO GONZALEZ                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   688521 JOSTEN LEARNING CORP.                        PO BOX 360392                                                                                                         SAN JUAN            PR         00936

   251707 JOSTIN O PADILLA HERNANDEZ                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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MML ID               NAME                                       ADDRESS 1              ADDRESS 2               ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  251708 JOSTRA BENTLEY INC                           PO BOX 1553                                                                                              ANASCO            PR         00610
  251709 JOSTYN FIGUEROA CRUZ                         REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251710 JOSUA BERMUDEZ TEJERO                        REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251711 JOSUA M PEREZ VARGAS                         REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  688522 JOSUAN HILERIO SANCHEZ                       BO RIO CA¥AS ARRIBA   CARR 354 KM 2 8 INT                                                                MAYAGUEZ          PR         00680
  688523 JOSUANY LLORENS TORT                         URB GREEN HILLS       E 14 CALLE GIRASOL                                                                 GUAYAMA           PR         00784
  251712 JOSUE A ACEITUNO DIAZ                        REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251713 JOSUE A ASTOR REYES                          REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251714 JOSUE A BARRETO VALENTIN                     REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251715 JOSUE A BENJAMIN RIVERA                      REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251716 JOSUE A COLON JIMENEZ                        REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  688529 JOSUE A CUEVAS CASILLA                       BDA ROOSEVELT         405 CALLE BUENA VISTA                                                              FAJARDO           PR         00738
         JOSUE A DONES MARTINEZ
  251717 /JAHAIRA MARTINEZ                            REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251718 JOSUE A DURAN PEREZ                          REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251719 JOSUE A LOPEZ SERRANO                        REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251720 JOSUE A LUGO RAMOS                           REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   251721 JOSUE A MERCADO VELAZQUEZ                   REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251722 JOSUE A ORTIZ CASILLAS                      REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688531 JOSUE A PAGAN PEREZ                         URB LOMA ALTA         J 11 CALLE 9                                                                       CAROLINA          PR         00987
   688532 JOSUE A RIVERA CARMONA                      PO BOX 518                                                                                               FAJARDO           PR         00738
   251723 JOSUE A RIVERA MORALES                      REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688533 JOSUE A RODRIGUEZ CRUZ                      ALT DE COVADONGA      40 B S BRAU                                                                        TOA BAJA          PR         00949
   251724 JOSUE A RODRIGUEZ RIVERA                    REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251725 JOSUE A SANTIAGO VAZQUEZ                    REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688535 JOSUE A TORES RIVERA                        HC 02 BOX 8488                                                                                           CANOVANAS         PR         00729‐9800
   688536 JOSUE A TORRES SERRANO                      HC 2 BOX 6315                                                                                            BAJADERO          PR         00616
   688537 JOSUE A VEGA VELEZ                          P O BOX 679                                                                                              AGUADILLA         PR         00690
   251727 JOSUE ACEVEDO CARRION                       REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251728 JOSUE ACEVEDO RIVERA                        REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251729 JOSUE ADORNO NUNEZ                          REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251730 JOSUE AGUEDA MALDONADO                      REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251731 JOSUE ALBERT MEDINA                         REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   251732 JOSUE ALBERTO ALETRIZ RAMOS REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688538 JOSUE ALEJANDRO DE LEON     DOS PINOS TOWN HOUSE                  D2 CALLE TIMOTHEE                                                                  SAN JUAN          PR         00923
                                      PARC MARIA JIMENEZ BO HATO
   688539 JOSUE ALICEA DIAZ           NUEVO                                 HC 01 BOX 5577                                                                     GURABO            PR         00778
          JOSUE ALMODOVAR SANTIAGO
   251734 DBA                         TALLER ALMODOVAR                      P O BOX 1134                                                                       AGUADA            PR         00602
   688540 JOSUE ALVARADO SANBRANO     BO ESTERO                             BZN B 6                                                                            SALINAS           PR         00751
   251735 JOSUE ALVAREZ               REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688541 JOSUE AMBERT DIAZ           93 EUGENIO SANCHEZ LOPEZ                                                                                                 MANATI            PR         00674
   251736 JOSUE ANDUJAR MARTINEZ      REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251737 JOSUE ANTONETTY RIVERA      REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688543 JOSUE AQUINO ORTIZ          RR 2 BOX 806                                                                                                             SAN JUAN          PR         00926
          JOSUE ARMANDO RIVERA
   251739 FRANCO                      REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JOSUE ARROYO AYALA & LUIS
   251740 PINTO ANDINO                REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251741 JOSUE B RODRIGUEZ LORA      REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251742 JOSUE BADILLO BATISTA       REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  251743 Josue Baez Alvelo                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      PO BOX 19175 FERNANDEZ
   688545 JOSUE BAEZ BURGOS                           JUNCOS STA                                                                                                            SAN JUAN            PR         00910
   251745 JOSUE BAEZ P.S.C.                           BOX 8007                                                                                                              BAYAMON             PR         00960‐8007
                                                                                   381 AVE F RINCON DE GAUTIER
   688546 JOSUE BARBOSA MARTINEZ                      COND PASEO MONTE             APT 804                                                                                  SAN JUAN            PR         00976
   688547 JOSUE BATISTA                               REP FLAMINGO                 K 28 DEL TURABO                                                                          BAYAMON             PR         00959

   251747 JOSUE C MARTINEZ MARRERO                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   688551 JOSUE C MORALES LESPIER                     714 CALLE ALFARO BO OBRERO                                                                                            SAN JUAN            PR         00915
   251748 JOSUE C RIOS CASTRO                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688552 JOSUE C RIVERA MIRANDA                      RR 02 BOX 6312                                                                                                        MANATI              PR         00674
   251750 JOSUE CAMACHO PEREZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688553 JOSUE CANALES QUILES                        PARQUE ECUESTRE              G 50 CALLE 9                                                                             CAROLINA            PR         00987
   251751 JOSUE CANALES TORRES                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688554 JOSUE CARRERAS MARTINEZ                     P O BOX 159                                                                                                           OROCOVIS            PR         00720
                                                      B 109 LAS VILLAS DE CIUDAD
   688555 JOSUE CARRION CARRERO                       JARDIN                                                                                                                BAYAMON             PR         00957
          JOSUE CASTRESANAS
   688556 BETANCOURT                                  PMB 258                      PO BOX 10000                                                                             CAYEY               PR         00737‐9601
   688525 JOSUE CASTRO RIVERA                         PO BOX 1713                                                                                                           CANOVANAS           PR         00729
   688557 JOSUE CINTRON AYALA                         BAHIA VISTAMAR               1531 CALLE ROBALLO                                                                       CAROLINA            PR         00983
   688558 JOSUE CINTRON CARBONEL                      URB COLINAS DEL QUEMAO       CARR 106 INT                                                                             MAYAGUEZ            PR         00680
   688559 JOSUE CINTRON CARBONELL                     HC‐04 BOX 41109                                                                                                       MAYAGUEZ            PR         00680
   688561 JOSUE COLON GUEITS                          HC 08 BOX 150                                                                                                         PONCE               PR         00731
   251752 JOSUE CORREA MALAVE                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251753 JOSUE CORTES MERCADO                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251755 JOSUE COSME OJEDA                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251756 JOSUE CRUZ RIOS                             REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251757 JOSUE CRUZ RIVERA                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      SECT MANUEL REYES BO
   688563 JOSUE CRUZ SOTO                             PALOMA                       P O BOX 747                                                                              COMERIO             PR         00782
   688564 JOSUE D AGUAYO ARIAS                        BO LAS CUEVAS                CARR 951 KM 7 2                                                                          LOIZA               PR         00772

   688565 JOSUE D CALDERON MORALES                    URB CAROLINA ALTA            G33 CALLE SEGUNDO DELGADO                                                                CAROLINA            PR         00987
   688566 JOSUE D COLLAZO RUPERTO                     URB HERMANOS DAVILA          J 33 CALLE 4                                                                             BAYAMON             PR         00959
   688567 JOSUE D COLON MATEO                         P O BOX 34221                                                                                                         PONCE               PR         00734‐0221
   251759 JOSUE D CRUZ RAMIREZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688568 JOSUE D GOICOCHEA ROMAN                     VISTA AZUL                   Y 25 CALLE 30                                                                            ARECIBO             PR         00612

   251760 JOSUE D MANGUAL CASTELLAR                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251761 JOSUE D NIEVES GONZALEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251762 JOSUE D PIZARRO DELESTRE                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251763 JOSUE D TALAVERA ACEVEDO                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688569 JOSUE D VALENCIA                            URB ALT DE JUNCOS            22‐2 CALLE ACACIA                                                                        ARECIBO             PR         00612
   251764 JOSUE D VEGA                                REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251765 JOSUE D VELAZQUEZ LOPEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251766 JOSUE DE JESUS RUIZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688570 JOSUE DE LEON RODRIGUEZ                     URB CIUDAD UNIVERSITARIA     P43 CALLE 16                                                                             TRUJILLO ALTO       PR         00976

   251767 JOSUE DE LOS SANTOS MARTIR                  REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688571 JOSUE DEL VALLE BONILLA                     HH 15 CALLE 26                                                                                                        BAYAMON             PR         00961



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  251768 JOSUE DELGADO FIGUEROA                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  251769 JOSUE DELGADO MORALES                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  251770 JOSUE DELUCCA COLON                          REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  688572 JOSUE DIAZ RIVERA                            LOS ANGELES                 WA 23 CALLE JAZMIN                                                                         CAROLINA             PR         00979
  688573 JOSUE DIAZ ROSADO                            HC 01 BOX 4670              SABANA HOYO                                                                                ARECIBO              PR         00688
  688574 JOSUE DIAZ SANTIAGO                          CACAO BAJO                  SECTOR MARGOTE BOX 570                                                                     PATILLAS             PR         00723
  251772 JOSUE E CEBOLLERO ALICEA                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         JOSUE E GONZALEZ
  251773 ALADARONDO                                   REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  688575 JOSUE E OCACIO                               PO BOX 506                                                                                                             CIALES               PR         00639

   688576 JOSUE E VAZQUEZ RODRIGUEZ                   JARD DEL CARIBE             VV 10 CALLE 46                                                                             PONCE                PR         00728
   688526 JOSUE ECHEVARRIA MIRABAL                    PO BOX 40050                                                                                                           SAN JUAN             PR         00940
   688577 JOSUE ECHEVARRIA RIVERA                     387 URB ESTANCIAS DEL RIO                                                                                              HORMIGUEROS          PR         00660
   688579 JOSUE ELIAS RODRIGUEZ                       P O BOX 1039                                                                                                           SABANA SECA          PR         00952
   688580 JOSUE ESCALERA RIVERA                       EXT JARD DE COAMO           J 5 CALLE 10                                                                               COAMO                PR         00769
   251774 JOSUE F GARCIA PAGAN                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688581 JOSUE F ROSARIO REYES                       REPARTO MARQUEZ X 12        CALLE 7                                                                                    ARECIBO              PR         00612
   251775 JOSUE FAS RAMIREZ                           REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688582 JOSUE FIGUEROA BAEZ                         PO BOX 1227                                                                                                            BAYAMON              PR         00959
   251776 JOSUE FIGUEROA NUNEZ                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688583 JOSUE G AYALA VALENTIN                      38 CARR SAN JOSE                                                                                                       MANATI               PR         00674
   688584 JOSUE G GONZALEZ LANDRAU                    HC 6 BOX 75872                                                                                                         CAGUAS               PR         00725
   688585 JOSUE G ROSA VILLEGAS                       RR 3 BOX 4636                                                                                                          SAN JUAN             PR         00926‐8683
   688586 JOSUE G SANCHEZ VALENTIN                    BO MIRADERO                 514 SECTOR PITILLO                                                                         MAYAGUEZ             PR         00680
   688587 JOSUE GARCIA PADILLA                        BDA ISRAEL                  167 CALLE PARAGUAY                                                                         SAN JUAN             PR         00907
   251778 JOSUE GARCIA TORRES                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688588 JOSUE GASCOT RODRIGUEZ                      HATO TEJAS                  94 CALLE PAJAROS                                                                           BAYAMON              PR         00959

   688589 JOSUE GIMENEZ SANTANA                       URB VILLA CAROLINA          3ERA EXT BLOQ 73 #13 CALLE 61                                                              CAROLINA             PR         00985
   688591 JOSUE GOMEZ VAZQUEZ                         HC 1 BOX 7759                                                                                                          YAUCO                PR         00698‐9732

   251779 JOSUE GONZALEZ BOCANEGRA                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688592 JOSUE GONZALEZ PEREZ                        P O BOX 21365                                                                                                          SAN JUAN             PR         00928‐1365
   251781 JOSUE GONZALEZ RIOS                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688593 JOSUE GONZALEZ TORRES                       HC 04 BOX 13917                                                                                                        ARECIBO              PR         00612
   251782 JOSUE GUZMAN RIVERA                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688594 JOSUE GUZMAN TORRES                         URB LOS MAESTROS            788 G PHILIPPI STREET                                                                      SAN JUAN             PR         00920‐4563
   251784 JOSUE H RAMOS RIVERA                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   251785 JOSUE H VELAZQUEZ VALENTIN                  REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251786 JOSUE HERNANDERZ ROMAN                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688595 JOSUE HERNANDEZ ARVELO                      ALTURAS DEL VEGA BAJA       W 10 CALLE V                                                                               VEGA BAJA            PR         00693

   251787 JOSUE HERNANDEZ CAMACHO                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251788 JOSUE HERNANDEZ LUGO                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251789 JOSUE HERNANDEZ NEGRON                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251790 JOSUE HERNANDEZ RIVERA                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251791 JOSUE HERRERA LOPEZ                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   688597 JOSUE HIRALDO CARRION                       BUENCONSEJO                 246 CALLE CARRION MADURO                                                                   SAN JUAN             PR         00926
   251792 JOSUE I PINERO TORRES                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251793 JOSUE I VELEZ CRUZ                          REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  688598 JOSUE IRIZARRY GONZALEZ                      G 34 JESUS LAGO                                                                                         UTUADO               PR         00641
  251794 JOSUE IRRIZARY FUENTES                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  251795 JOSUE J COLON VAZQUEZ                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  688599 JOSUE J JORGE VAZQUEZ                        URB LA PROVIDENCIA    IF 4 CALLE 6                                                                      TOA ALTA             PR         00953

   251796 JOSUE J MAISONET MALDONADO REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688600 JOSUE J MORALES TIMOTHEE   REPARTO METROPOLITANO                  1213 CALLE 485E                                                                   SAN JUAN             PR         00920
   251798 JOSUE J QUILES FIGUEROA    REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251799 JOSUE J RIVERA MENA        REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251800 JOSUE JIMENEZ BAEZ         REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688601 JOSUE JIMENEZ SALAS        PO BOX 1456                                                                                                              UTUADO               PR         00641
   251801 JOSUE JIMENEZ VAZQUEZ      REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251803 JOSUE LA LUZ APONTE        REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688603 JOSUE LAUREANO MIRANDA     VILLA NEVAREZ                          319 CALLE 22                                                                      SAN JUAN             PR         00927
   688604 JOSUE LEBRON RAMOS         PO BOX 9021112                                                                                                           SAN JUAN             PR         00902‐1112
   688606 JOSUE LIONEL RIVERA        SECC LEVITOWN                          AR 52 LILLIAM OESTE                                                               TOA BAJA             PR         00949
   688607 JOSUE LOPEZ ESTREMERA      URB BUENA VISTA                        89 CALLE 4                                                                        LARES                PR         00669‐2200
   251804 JOSUE LOPEZ MARTINEZ       REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251805 JOSUE LOPEZ RIOS           REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688608 JOSUE LOPEZ SIERRA         COND LAS AMERICAS                      TORRE I APTO 313                                                                  SAN JUAN             PR         00921
   251806 JOSUE LUGO MORALES         REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251807 JOSUE LUGO VELAZQUEZ       REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688609 JOSUE M AVILES HERNANDEZ   HC 05 BOX 25932                                                                                                          CAMUY                PR         00627
   251808 JOSUE M BUTTER TORRES      REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688610 JOSUE M CADIZ VAZQUEZ      BO CORAZON                             3 CALLE SANTA ROSA                                                                GUAYAMA              PR         00784
   688611 JOSUE M CANCEL OTERO       PO BOX 1662                                                                                                              VEGA BAJA            PR         00694
   251809 JOSUE M CARIDE ROMAN       REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251810 JOSUE M COLON SOLER        REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251811 JOSUE M DE JESUS DIAZ      REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688612 JOSUE M HEREDIA PAGAN      BDA SANTA CLARA                        11 CALDRIN                                                                        JAYUYA               PR         00664
   251812 JOSUE M RIVERA LEBRON      REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251813 JOSUE M RIVERA RODRIGUEZ   REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   251814 JOSUE MALDONADO CUSTODIO REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251815 JOSUE MALDONADO RAMOS     REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688613 JOSUE MALDONADO VEGA      ESTANCIAS DE TORTUGUERO                 527 CALLE TULIPA                                                                  VEGA BAJA            PR         00693
   688614 JOSUE MANUEL VEGA SOTO    PO BOX 140501                                                                                                             ARECIBO              PR         00614‐0501
   688615 JOSUE MARQUEZ ACEVEDO     MONTE CARLO                             CALLE 8 1352                                                                      RIO PIEDRAS          PR         00924
   688616 JOSUE MARTINEZ            PO BOX 73                                                                                                                 GUAYAMA              PR         00785
   251816 JOSUE MARTINEZ MATOS      REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251817 JOSUE MARTINEZ RODRIGUEZ  REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688527 JOSUE MEDINA DIAZ         BOX 2102 SUITE 239                                                                                                        CAROLINA             PR         00984
   251818 JOSUE MEDINA DOMINGUEZ    REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688617 JOSUE MEDINA NAZARIO      HACIENDA CARRAIZO 11                    E19 CALLE 5                                                                       SAN JUAN             PR         00926
   251819 JOSUE MEDINA SANCHEZ      REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251820 JOSUE MELENDEZ LOPEZ      REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251821 JOSUE MERCADO ROMAN       REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688620 JOSUE MERCADO ROSADO      90 URB MONTE GRANDE                                                                                                       CABO ROJO            PR         00623
          JOSUE MERCED DBA ESMANDAU
   251822 TECHNOLOGIES              HC 3 BOX 8478                                                                                                             GUAYNABO             PR         00971
   688621 JOSUE MIRANDA GARCIA      BO FLORES                               5 C/ FINAL PAGAN                                                                  JUNCOS               PR         00777
   251823 JOSUE MONTANEZ MARTINEZ   REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   251824 JOSUE MONTANEZ RIVERA     REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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MML ID             NAME                                         ADDRESS 1                      ADDRESS 2                  ADDRESS 3                           ADDRESS 4              CITY       STATE     POSTAL CODE       COUNTRY
  251825 JOSUE MONTANEZ SANTANA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      URB EXT VILLA RITA BO
   688622 JOSUE MORALES IBARRONDO                     GUATEMALA                   EE 20 CALLE 30                                                                          SAN SEBASTIAN       PR         00685
   251829 JOSUE MORALES ROSARIO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251830 JOSUE MORENO RODRIGUEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251831 JOSUE MUNOZ GONZALEZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251832 JOSUE MUNOZ MUNIZ                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251833 JOSUE MUNOZ RIVERA                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251834 JOSUE N BECERRIL RAMOS                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251835 JOSUE N SALAS GALARZA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688623 JOSUE NADAL RODRIGUEZ                       URB PUNTO ORO               L 25 CALLE 11                                                                           PONCE               PR         00728‐6809
   251836 JOSUE NEGRON GARCIA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251837 JOSUE NIEVES ROSARIO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251838 JOSUE NUNEZ CABAN                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251839 JOSUE NUNEZ PEREZ                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251840 JOSUE O ACEVEDO RIVERA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251841 JOSUE O JIMENEZ LOPEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251842 JOSUE OLIVERAS COLON                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251843 JOSUE OLIVIERI OLMEDA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688625 JOSUE OQUENDO NATAL                         URB HIGH PARK               908 CALLE PALMA REAL APT 1                                                              SAN JUAN            PR         00927
   251844 JOSUE ORTEGA GONZALEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688628 JOSUE ORTIZ FONSECA                         PO BOX 6898                                                                                                         CAGUAS              PR         00726‐0000
   688629 JOSUE ORTIZ PIZARRO                         ALT VEGA BAJA               8 CALLE MUNICIPAL II                                                                    VEGA BAJA           PR         00693
   688630 JOSUE ORTIZ RODRIGUEZ                       VILLA NEVAREZ               1046 CALLE 14                                                                           SAN JUAN            PR         00927
   251846 JOSUE ORTIZ ROSADO                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688631 JOSUE ORTIZ TORRES                          HC 645 BOX 4683                                                                                                     TRUJILLO ALTO       PR         00976
   251847 JOSUE PACHECO MOLINA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688632 JOSUE PACHECO NEGRON                        RES KENNEDY                 EDIF 29 APT 257                                                                         MAYAGUEZ            PR         00680
   688634 JOSUE PADILLA                               BO GUADIANA                 HC 73 BOX 5618                                                                          NARANJITO           PR         00719
   251849 JOSUE PELLOT PEREZ                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251850 JOSUE PERAZA RIVERA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251851 JOSUE PEREZ CARTAGENA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688636 JOSUE PEREZ COLON                           PO BOX 52316                                                                                                        TOA BAJA            PR         00945
   688638 JOSUE PEREZ CRUZ                            PO BOX 1119                                                                                                         LUQUILLO            PR         00773
   251852 JOSUE PEREZ FELICIANO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251853 JOSUE PEREZ FIGUEROA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   688639 JOSUE PEREZ SANTIAGO                        80 BALCONES DE MONTE REAL   APTO 7401                                                                               CAROLINA            PR         00987‐2298
   688641 JOSUE PIMENTEL RIVERA                       URB STA MARIA               B 2 C/ 1                                                                                CEIBA               PR         00735
   688528 JOSUE PIZARRO RIVERA                        URB LA RIVIERA 977          CALLE 3 SE                                                                              SAN JUAN            PR         00921
   251854 JOSUE PLASENCIA CRUZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251855 JOSUE QUILES QUINONES                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251857 JOSUE R BARRIOS SANTIAGO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251858 JOSUE R BRENES                              REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   251859 JOSUE R CARDONA HERNANDEZ                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688643 JOSUE R COLON MEDINA                        HC 06 BOX 97000                                                                                                     ARECIBO             PR         00612
   251860 JOSUE R GARCIA                              REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251862 JOSUE R GONZALEZ OYOLA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251863 JOSUE R MORALES RIOS                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251865 JOSUE R TORRES CINTRON                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251866 JOSUE R. CACERES CRUZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251867 JOSUE R. RESTO ROSA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  688645 JOSUE R. RODRIGUEZ ORTIZ                      PO BOX 2406                                                                                                     CAYEY               PR         00737
  251869 JOSUE RAMOS PEREZ                             REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251870 JOSUE RAMOS RUIZ                              REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  688646 JOSUE REFRIGERATION                           P O BOX 141857                                                                                                  ARECIBO             PR         00614
  251871 JOSUE REFRIGERATION INC.                      PO BOX 141857                                                                                                   ARECIBO             PR         00614
  688647 JOSUE RENTAS ROSA                             PO BOX 680                                                                                                      TOA BAJA            PR         00951
  251873 JOSUE RIJOS MERCADO                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  688648 JOSUE RIOS GONZALEZ                           BDA ISRAEL 190           CALLE CUBA                                                                             SAN JUAN            PR         00917
  251874 JOSUE RIVERA ORTIZ                            REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251875 JOSUE RIVERA PADILLA                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  251876 JOSUE RIVERA PETERSON                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  688650 JOSUE RIVERA ROSARIO                          BOX 362                                                                                                         TOA BAJA            PR         00951
                                                       URB ESTANCIAS DE MARIA
   688652 JOSUE RIVERA VEGA                            ANTONIA                  F‐750 CALLE 4                                                                          GUANICA             PR         00653
   251877 JOSUE ROBLES MARTINEZ                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   688655 JOSUE RODRIGUEZ CARTAGENA                    P O BOX 37513                                                                                                   SAN JUAN            PR         00937
   688656 JOSUE RODRIGUEZ COLLADO                      PO BOX 759                                                                                                      ENSENADA            PR         0647
   251878 JOSUE RODRIGUEZ GONZALES                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   251879 JOSUE RODRIGUEZ GONZALEZ                     REDACTED                 REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                35 JUAN CARLOS DE BORBON STE
   688657 JOSUE RODRIGUEZ MIRANDA                      PMB 205                  67                                                                                     GUAYNABO            PR         00969
   251880 JOSUE RODRIGUEZ PEREZ                        REDACTED                 REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688658 JOSUE RODRIGUEZ PONCE                        A 7 URB EL RECREO                                                                                               HUMACAO             PR         00791
   688653 JOSUE RODRIGUEZ QUI¥ONEZ                     COM. LA DOLORES          318 CALLE MEXICO                                                                       RIO GRANDE          PR         00745

   251882 JOSUE RODRIGUEZ RODRIGUEZ                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688654 JOSUE RODRIGUEZ ROSADO                       URB LEVITTOWN            3311 CALLE PASEO COLINAS                                                               TOA BAJA            PR         00949
   688524 JOSUE ROLON MORENO                           PO BOX 1924                                                                                                     VEGA BAJA           PR         00694
   688659 JOSUE ROLON ROLON                            PO BOX 209                                                                                                      LAS PLATA           PR         00786‐0209
   251884 JOSUE ROMAN MUNIZ                            REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251885 JOSUE ROMAN PEREZ                            REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688661 JOSUE ROMERO MERCED                          HC 01 BOX 6202                                                                                                  OROCOVIS            PR         00720
   251886 JOSUE RONDON RIVERA                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251887 JOSUE ROSADO GARCIA                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688662 JOSUE ROSADO PATOJAS                         MARICAO STATION          PO BOX 5123                                                                            VEGA ALTA           PR         00692
   251888 JOSUE ROSADO SANTIAGO                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688663 JOSUE RUIZ AYALA                             AMALIA MARIN             4239 CALLE COLIRRUBIA                                                                  PONCE               PR         00716‐1006
   688664 JOSUE RUIZ RODRIGUEZ                         PO BOX 1455                                                                                                     YAUCO               PR         00698‐1455
   688665 JOSUE S GONZALEZ VAZQUEZ                     URB SANTA ELENA          K 37 CALLE C                                                                           BAYAMON             PR         00957‐1663
   251889 JOSUE S LUZUNARIS NU¥EZ                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688666 JOSUE SAAVEDRA VERA                          HC 1 BOX 4714                                                                                                   QUEBRADILLAS        PR         00678
   251890 JOSUE SANTANA MOLINA                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688668 JOSUE SANTANA ORTIZ                          34 BELLA VISTA GARDENS                                                                                          MAYAGUEZ            PR         00680

   251891 JOSUE SANTIAGO BETANCOURT                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251892 JOSUE SANTIAGO CAMPOS                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688669 JOSUE SANTIAGO GONZALEZ                      BO CALLEJONES            HC 01 BOX 4212                                                                         LARES               PR         00669
   251893 JOSUE SANTIAGO LOPEZ                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   251894 JOSUE SANTIAGO MORALES                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   251895 JOSUE SANTIAGO VALLADARES                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  688670 JOSUE SANTOS MELENDEZ                        URB LA CUMBRE 497         AVE AMILANO POL SUITE 277                                                              SAN JUAN          PR         00926‐0000
  251896 JOSUE SANTOS TIRADO                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  688672 JOSUE SEGARRA LUCENA                         BO SABANA ENEAS           342 CALLE 15                                                                           SAN GERMAN        PR         00683
  688673 JOSUE SEIN MELENDEZ                          HC 6 BOX 2191                                                                                                    PONCE             PR         00731
  688674 JOSUE SERRANO CINTRON                        P O BOX 1458 HATILLO                                                                                             HATILLO           PR         00659
  251898 JOSUE SILVERIO                               REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251899 JOSUE SOTO GONZALEZ                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  251900 JOSUE TAPIA CARINO                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  688675 JOSUE TORO SEPULVDA                          D 13 URB VIVONI                                                                                                  SAN GERMAN        PR         00683
  688676 JOSUE TORRES BAEZ                            TURABO GARDENS            M 8 CALLE 9                                                                            CAGUAS            PR         00725
  688677 JOSUE TORRES CASTRO                          URB STA BARBARA           CALLE SOTO BOX 15704                                                                   GURABO            PR         00778
  688678 JOSUE TORRES COLON                           URB VENUS GARDENS         679 CALLE PUERTO VALLARTE                                                              SAN JUAN          PR         00926
  251901 JOSUE TORRES CRESPO                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   251903 JOSUE TORRES DE LOS SANTOS                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   251905 JOSUE TORRES FLORES                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   251906 JOSUE TORRES MUNOZ                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   251907 JOSUE TORRES ORTIZ                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   251908 JOSUE TORRES PANETO                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   688679 JOSUE TORRES RIVERA                         TORRECILLA ALTA           257 CALLE 17                                                                           CANOVANAS         PR       00729
   251913 JOSUE VALENTIN CHAVEZ                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   251914 JOSUE VALLEJO LOPEZ                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   251915 JOSUE VAZQUEZ DELGADO                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   251916 JOSUE VAZQUEZ VAZQUEZ                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   688681 JOSUE VEGA BURGOS                           PO BOX 1435                                                                                                      SABANA SECA       PR       00952 1435
   688682 JOSUE VEGA VEGA                             RR 4 BOX 1297                                                                                                    BAYAMON           PR       00956
   688683 JOSUE VELAZQUEZ MADERA                      HC 2 BOX 10798                                                                                                   YAUCO             PR       00698
   688684 JOSUE VELEZ CORREA                          29 BO LA GRUA                                                                                                    MANATI            PR       00674
   688685 JOSUE VIERA SANTANA                         HC 61 6096                                                                                                       TRUJILLO ALTO     PR       00976
   251919 JOSUE ZAPATA VAZQUEZ                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   251920 JOSUELI AVILES                              REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   251921 JOSYMIR LOPEZ FERRER                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   251922 JOTACE GROUP ET ALS INC                     PO BOX 56023                                                                                                     BAYAMON           PR       00960‐6023
   251924 JOTAN J LOPEZ CALDERO                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   251927 JOU CRUZ SALCEDO                            REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
          JOUBERT GILBERT ANA,
   251935 VICTORIA                                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251944 JOUEL NEVAREZ FONSECA                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251945 JOURA MONTANEZ VEGA                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688689 JOURNAL OF ACCOUNTANEY                      PO BOX 2208                                                                                                      JERSEY CITY       NJ         07303‐2208
          JOURNAL OF INTERNATIONAL                    SCHOOL O LAW 11075 EAST
   688691 LAW                                         BOULEVARD                                                                                                        CLEVELAND         OH         44106‐7148
   688692 JOURNAL OF LEGISLATION                      NOTRE DAME LAW SCHOOL                                                                                            NORTH DAME        IN         46560780
   251957 JOUSEPH L TORRES GARCIA                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251958 JOUSSETTE MEDINA VIDAL                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251959 JOUVANNI CRUZ REYES                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   251960 JOVA ROSA ROSARIO DIAZ                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688693 JOVAHN E FIGUEROA                           HC 2 BOX 14760                                                                                                   CAROLINA          PR         00987
   688694 JOVALISE ALVAREZ PANELLI                    URB VISTAS DE CAMUY       H 10 CALLE 7                                                                           CAMUY             PR         00627
   688695 JOVAN A ALICEA CASANOVA                     HC 05 BOX 58001                                                                                                  HATILLO           PR         00659
   251962 JOVAN A ROSARIO ORTIZ                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   251963 JOVAN G LA TORRE RODRIGUEZ                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  251964 JOVAN INC                                    120 VISTA DEL VALLE                                                                                             ANASCO             PR         00610
  251965 JOVAN J FIGUEROA VAZQUEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  251966 JOVAN MORALES RIVERA                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  251967 JOVANA F PEREZ ROBLES                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  688697 JOVANA ORTIZ SANTIAGO                        ESTACIAS DE BAIROA            G 4 CALLE GARDENIA                                                                CAGUAS             PR         00725
  688698 JOVANA SANTIAGO                              RESIDENTE EL BATEY APT I 88                                                                                     VEGA ALTA          PR         00692
  688699 JOVANEE PENZA BENITEZ                        104 RES LLORENS TORRES        APT 1987                                                                          SAN JUAN           PR         00913‐6986
  251968 JOVANI MERCADO MATOS                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  251969 JOVANIE E CRUZ SOTO                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  251970 JOVANIEL PEREZ ROLON                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  251971 JOVANIER RIVERA ESTRADA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  688700 JOVANNA FIGUEROA                             10 DUNKEL STREET 2                                                                                              DORCHESTER         MA         02121
  251972 JOVANNA FLORES TORRES                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  688701 JOVANNA GARCIA SOTO                          HC 04 BOX 44506                                                                                                 HATILLO            PR         00659
  688702 JOVANNA ZAMBRANA                             URB LAS AGUILAS               5 B CALLE 5                                                                       COAMO              PR         00769
  688703 JOVANNI GUZMAN CRUZ                          HC 01 BOX 4430                                                                                                  ARECIBO            PR         00616

   251974 JOVANNI LORENZO GONZALEZ                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   251953 JOVANNIE A OTERO HERNANDEZ REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JOVANNIE ALEJANDRO
   251975 CAMACHO                    REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251977 JOVANNY BENITEZ CRUZ       REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JOVANNY DE LOS A LLUBERAS
   251978 DEL JESUS                  REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251979 JOVANNY RIVERA TORRES      REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251980 JOVANNY ROSARIO PADILLA    REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251982 JOVANNY ROSAS STRICKER     REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251983 JOVANNY SANABRIA LOPEZ     REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   688704 JOVANNY TRINIDAD VELEZ     RR 2 BOX 7060                                                                                                                    MANATI             PR         00674
   688705 JOVANNY VAZQUEZ RIVERA     BO CA¥ABON SECT LA TORRE                       CARR 770 KM 4 2                                                                   BARRANQUITAS       PR         00794
   251984 JOVANNY W MONGE ROMAN      REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   251985 JOVANSKA TAVERAS CARDONA                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251986 JOVANY A COLON SANTIAGO                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   688708 JOVANY A ORTIZ SANTOS                       RR 2 BOX 6398                                                                                                   CIDRA              PR         00739
   688709 JOVANY CLAUDIO RIVERA                       HC 3 BOX 10678                                                                                                  YABUCOA            PR         00767
   251988 JOVANY DIAZ LOPEZ                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JOVANY JUSTINIANO
   251989 ALMODOVAR                                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251990 JOVANY PAGAN RODRIGUEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   251992 JOVANY RIVERA VALENTIN                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   688707 JOVANY ROQUE LOPEZ                          RR 01 BOX 3674 BO RINCON                                                                                        CIDRA              PR         00739
   688710 JOVANY VELAZQUEZ CRUZ                       PARCELAS SUSUA                2 A CALLE MARGINAL                                                                SABANA GRANDE      PR         00637
   251993 JOVASKA VEGA CUBERO                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   688711 JOVE DENTAL PSC                             PO BOX 555                                                                                                      ARECIBO            PR         00613
   688712 JOVE JIMENEZ S E                            P O BOX 555                                                                                                     ARECIBO            PR         00613
  1420125 JOVE MATOS, GINA M.                         JAIME PICO MUÑOZ              AEELA PO BOX 70199                                                                SAN JUAN           PR         00936‐8190
   688713 JOVE SERVICE STATION                        BO HATO ARRIBA                HC 3 BOX 21208                                                                    ARECIBO            PR         00612

   688714 JOVELYN X ROSA ENCARNACION PROYECTO GALATEO                               I 53 CALLE 1                                                                      RIO GRANDE         PR         00745
          JOVENES DE PUERTO RICO EN
   688715 RIESGO                     PO BOX 7428                                                                                                                      SAN JUAN           PR         00916



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          JOVENES DE PUERTO RICO EN                   3071 AVE. ALEJANDRINO PMB
   252018 RIESGO INC.                                 164                                                                                                                 GUAYNABO            PR           00969‐0000

   252019 JOVENES DEL PASADOS INST.                   C/25 3C‐14 URB LA PROVIDENCIA                                                                                       TOA ALTA            PR           00953
   252033 JOVHANNY SANTANA COLON                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688716 JOVI AUTO SERVICE INC                       HC 05 BOX 56021                                                                                                     CAGUAS              PR           00725
          JOVIAN GONZALEZ SOSTRE /
   252034 JOVINO GONZALEZ                             REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOVIAN MANUEL GARCIA
   252035 TRINIDAD                                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252036 Joviliano Lopez Santos                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOVINA HERNANDEZ
   688717 HERNANDEZ                                   BO OBRERO                   710 CALLE GAUTIER BENITEZ                                                               SAN JUAN            PR           00915
   252037 JOVINA ROBERTO MATTA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688718 JOVINA SERRANO SANTIAGO                     HC 2 BOX 14266                                                                                                      ARECIBO             PR           00612
   252038 JOVINO A CANDELARIA ALERS                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   688719 JOVINO GONZALEZ RODRIGUEZ                   HC 2 BOX 9117                                                                                                       COROZAL             PR           00783‐9749
   688721 JOVINO RIVERA AYALA                         P O BOX 7439                                                                                                        CAROLINA            PR           00986
   688722 JOVINO RIVERA SANTOS                        PO BOX 931                                                                                                          CIDRA               PR           00739

   688723 JOVINO SERRANO SANCHEZ                      LA GRAMA                    CARR 633 KM 1 2 HATO VIEJO                                                              CIALES              PR           00638
   688724 JOVINO VAZQUEZ ALICEA                       COND PARQUE CENTRO          EDIF ACACIA APT A 19         AVE ARTERIAL HOSTOS 170                                    SAN JUAN            PR           00918
   252040 JOVITA ALICEA VEGA                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252041 JOVITA ARROYO MARTINEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688725 JOVITA CANCEL GARCIA                        P O BOX 153                                                                                                         TOA BAJA            PR           00951
   252042 JOVITA JIMENEZ MARCIAL                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252043 JOVITA LAUREANO LOPEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688726 JOVITA MIRANDA ORTIZ                        BOX 2584                                                                                                            CAYEY               PR           00736
   688727 JOVITA NIEVES JIMENEZ                       PO BOX 142144                                                                                                       ARECIBO             PR           00614‐2144
   252044 JOVITA OTERO SAN MIGUEL                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOVITA PINERO Y/O ELSA V
   252045 RODRIGUEZ                                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   252046 JOVITA QUINONEZ MONTANEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   688729 JOVITA RIVERA RIVERA                        URB EL MADRIGAL             G 21 CALLE MARGINAL NORTE                                                               PONCE               PR           00731

   688730 JOVITA RODRIGUEZ CANDELARIO 5‐A‐115 RES F D ROOSEVELT                                                                                                           MAYAGUEZ            PR           00680
   688731 JOVITA ROMAN SALAS          RR 01 BOX 12809                                                                                                                     TOA ALTA            PR           00953
   688732 JOVITA VARGAS MENENDEZ      82920 LAS LAJAS                                                                                                                     ARECIBO             PR           00612
   688733 JOVITAS BEAUTY SALON        URB CAMPO REY                               C 11 CALLE 2                                                                            AIBONITO            PR           00705
   252047 JOVITO SANTANA COSME        REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688735 JOWIE CURBELO JARAMILLO     URB COUNTRY CLUB                            OL 17 CALLE 511                                                                         CAROLINA            PR           00982

   252049 JOWIE RODRIGUEZ RODRIGUEZ                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688737 JOWSY Y BAEZ SUAREZ                         URB BRISAS DE CANOVANAS     139 CALLE ZORZAL                                                                        CANOVANAS           PR           00729
   252050 JOXELL RAMIREZ VELEZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252051 JOXUANY SANTIAGO LABOY                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688738 JOY A MALDONADO                             11242 IROQUOIS TRAIL                                                                                                ORLANDO             FL           32825
          JOY J RAMIREZ GONZALEZ DBA
   252052 RAMZ                                        CONTRACTOR SERVICE          PO BOX 1174                                                                             CAROLINA            PR           00987




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          JOY J. RAMIREZ GONZALEZ DBA
   252053 RAMZ CONTRAC                                PO BOX 1174                                                                                                   CAROLINA            PR           00987‐0000
   252054 JOY L SANTELL DIAZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252055 JOY M. MORRIS PADILLA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688740 JOY MASAROVIC ESPINO                        URB TINTILLO HILLS          515 CALLE TINTILLO                                                                GUAYNABO            PR           00966
          JOY OF FREDOM PHYSICAL
   252056 THERAPY SERVICES                            PO BOX 142771                                                                                                 ARECIBO             PR           00614‐2771
   252062 JOY SANTIAGO FERNANDEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252063 JOY SOBRINO MD, LUIS M                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252065 JOY TRANSMISION                             PO BOX 372353                                                                                                 SAN JUAN            PR           00901‐2353
   688741 JOY VILARDI RIZZUTO                         PO BOX 22119 UPR STATION                                                                                      SAN JUAN            PR           00931‐2119
   252066 JOY X ROSARIO CORREA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688742 JOYCE A CARABALLO LOPEZ                     URB CAFETAL II              N 17 MUNDO NUEVO                                                                  YAUCO               PR           00698
   688743 JOYCE ALVAREZ ROSARIO                       VILLA HUMACAO               G 8 CALLE 13                                                                      HUMACAO             PR           00791
   252067 JOYCE BAEZ RIVERA                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252068 JOYCE CALDERON ROSADO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688744 JOYCE CARMENATTY CUEVA                      URB REXVILLE                DF 1 CALLE 29                                                                     BAYAMON             PR           00956
   252070 JOYCE D PALLENS PEREZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688746 JOYCE D RIVERA PADUA                        URB VALLE ALTO              2326 CALLE LOMA                                                                   PONCE               PR           00730‐4145
   252071 JOYCE DEL VALLE OGLESBY                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688750 JOYCE GONZALEZ COLLAZO                      COND LA CEIBA               EDIF E APT 505                                                                    PONCE               PR           00717
   252072 JOYCE GRIFFITH                              REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688751 JOYCE HASKELL                               32 THORNTON AVE             APT 3                                                                             VENICE              CA           90291
   252073 JOYCE I. RUMMEL ARILL                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   252074 JOYCE K MEADOWS MARQUEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252075 JOYCE L TAPIA MALDONADO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JOYCE LESLIE CINTRON
   688752 ALVARADO                                    PMB 104                     PO BOX 6004                                                                       VILLALBA            PR           00766

   252076 JOYCE LYNN VARGAS GONZALEZ                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688753 JOYCE M ACEVEDO RAMIREZ                     URB VISTAS DEL MAR          2578 CALLE NACAR                                                                  PONCE               PR           00716
   688754 JOYCE M BURGOS SANTIAGO                     URB VALLE REAL              18 BO LOS LLANOS                                                                  COAMO               PR           00769
   688755 JOYCE M CRUZ DIAZ                           SAN FERNANDO VILLAGE        EDIF B APT 310                                                                    CAROLINA            PR           00987

   688756 JOYCE M DELGADO GONZALEZ                    COM ARUS                    SECTOR EL CALLEJON                                                                JUANA DIAZ          PR           00795
  1256611 JOYCE M MARRERO CINTRON                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252078 JOYCE M PEREZ RIVERA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   688757 JOYCE M SANTISTEBAN PADRO                   URB GREEN HLS               C12 CALLE GLADIOLA                                                                GUAYAMA             PR           00784

   688759 JOYCE M WESTON RIVERA                       URB SOMBRAS DEL REAL ANON   410 CALLE ROBLES                                                                  COTO LAUREL         PR           00780

   252079 JOYCE M. MARRERO CINTRON                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688760 JOYCE MENDEZ MARTINEZ                       URB LAS LOMAS               754 CALLE 43 SO POZ                                                               BAYAMON             PR           00961
   688761 JOYCE P NELSON SANTIAGO                     PO BOX 132                                                                                                    LA PLATA            PR           00786
   688762 JOYCE QUINONES RAMIREZ                      BARRIO PALOMAS              CALLE 3                                                                           YAUCO               PR           00698
   252081 JOYCE RODRIGUEZ PEREZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252082 JOYCE TIRADO RUIZ                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688765 JOYCE TORRES GRAS                           BO FACTOR                   935 CALLE BANDERA                                                                 ARECIBO             PR           00612
   252084 JOYCE VERDEJO VIGO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252086 JOYCELINE MONTERO GARCIA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252087 JOYCETTE SANTOS SANTORI                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  252088 JOYDALIS OTERO GALINDEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  688766 JOYDI CORPORATION                            P O BOX 607077                                                                                                  BAYAMON             PR         00960
  688767 JOYERIA ABYS                                 34 3 PASEO DEL CAFE                                                                                             YAUCO               PR         00698
  688768 JOYERIA AL SALAM INC                         PO BOX 9024275                                                                                                  SAN JUAN            PR         00902‐4275
         JOYERIA ALEXANDRA Y CASA DE
  252090 EMPENO                                       HC 01 BOX 3290                                                                                                  COROZAL             PR         00783‐9603
         JOYERIA APONTE AND VIDEO
  688769 CLUB                                         55 CALLE GERONIMO MENDEZ                                                                                        AIBONITO            PR         00705
  688770 JOYERIA APONTE INC                           P O BOX 245                                                                                                     NARANJITO           PR         00719
  688771 JOYERIA BENCO                                PO BOX 1418                                                                                                     ISABELA             PR         00662
  688772 JOYERIA BORINQUEN                            211 MANUEL PEREZ FREYTES                                                                                        ARECIBO             PR         00612
  688773 JOYERIA BORINQUEN INC                        P O BOX 7126                                                                                                    SAN JUAN            PR         00916
  252091 JOYERIA CHIJO                                REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  688774 JOYERIA CRIZOL                               4 CALLE PRINCIPAL                                                                                               MOROVIS             PR         00687
         JOYERIA CRIZOR / CRISPULO
  688775 GONZALEZ                                     4 PRINCIPAL                                                                                                     MOROVIS             PR         00687
         JOYERIA EDIV / LYDIA
  688776 HERNANDEZ LOPEZ                              PO BOX 7                                                                                                        BARCELONETA         PR         00617
  688777 JOYERIA GLAMOUR                              21 CALLE DR VEVE                                                                                                COAMO               PR         00769
         JOYERIA GLAMOUR / MAYURI
  688779 VEGA PEREZ                                   21 CALLE BOBY CAPO                                                                                              COAMO               PR         00769
  688780 JOYERIA GOLD INC                             COND NEW SAN JUAN             APT 1022                                                                          CAROLINA            PR         00979‐0000
  688781 JOYERIA ISABELA                              105 CALLE EMILIO GONZALEZ                                                                                       ISABELA             PR         00662

   688782 JOYERIA JANETT                              C/ GERONIMO MARTINEZ NO. 11                                                                                     AIBONITO            PR         00705
   688783 JOYERIA JUDITH INC                          PO BOX 21258                                                                                                    SAN JUAN            PR         00928
   688784 JOYERIA LA TURQUESA INC                     52 PASEO DE LA ATENAS                                                                                           MANATI              PR         00674‐5200
          JOYERIA PANTALLAS &
   688785 PANTALLAS                                   PLAZA CAPARRA                                                                                                   CAPARRA HEIGHTS     PR         00920
   688786 JOYERIA PATRIA                              22 CALLE BOU                                                                                                    COROZAL             PR         00783
   252092 JOYERIA REFLECTIONS                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688787 JOYERIA REFLEXION                           PO BOX 943                                                                                                      VIEQUES             PR         00765
   688788 JOYERIA RENE                                153 AVE DE DIEGO SUITE 3                                                                                        ARECIBO             PR         00613‐4524
   688789 JOYERIA RIVERA E HIJOS                      PO BOX 9020004                                                                                                  SAN JUAN            PR         00902‐0004
   688790 JOYERIA SUNY INC                            CALL BOX 5004                                                                                                   YAUCO               PR         00698
   688791 JOYERIA TORRES                              28 CALLE COMERCIO                                                                                               YAUCO               PR         00698
   688792 JOYERIA UNIVERSAL                           306 CALLE SAN FRANCISCO                                                                                         SAN JUAN            PR         00903

   688793 JOYERIA Y OPTICA ALEJANDRO                  URB SAN FRANCISCO             104 AVE DE DIEGO                                                                  SAN JUAN            PR         00927
          JOYERIA Y PERFUMERIA ORTIZ
   688794 ALFREDO ORTIZ                               32 CALLE BALDORIOTY                                                                                             COAMO               PR         00769
          JOYERIA Y VIAJES TONY DE LA
   688795 CRUZ INC                                    1106 AVE PONCE DE LEON                                                                                          SAN JUAN            PR         00925

   688797 JOYFE MEDICAL SUPPLY CORP.                  PO BOX 13513                                                                                                    SAN JUAN            PR         00908

   688798 JOYLEEN GONZALEZ SANTIAGO                   PO BOX 161                                                                                                      HUMACAO             PR         00792
   688799 JOYLIZ GONZALEZ SOTO                        URB APRIL GARDENS             I 23 CALLE 14                                                                     LAS PIEDRAS         PR         00771
   688800 JOYMEL SCHOOL SUPPLIES                      PLAYA                         30 AVE PADRE NOEL                                                                 PONCE               PR         00731
   252094 JOYNER CRUZ MERCADO                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   252095 JOYNETTE BERNARDINI RIVERA                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252096 JOYNETTE M TORRES SANTOS                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  252097 JOYNETTE TORRES LACOURT                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   252098 JOYNY RODRIGUEZ GONZALEZ                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688801 JOYRA RIVERA                                HC 80 BOX 8900                                                                                                          DORADO              PR         00646
                                                                                     73 CALLE SANT CLR EXT SANTA
   688802 JOYSE LAVERGME                              UR SANA ELENA 111              ELENA 3                                                                                  GUAYANILLA          PR         00656

   252100 JOYSMARI BELTRAN RODRIGUEZ REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252101 JOZAIRY ALVAREZ IRIZARRY    REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688805 JP BUSINESS SERV INC        PO BOX 691                                                                                                                              CANOVANAS           PR         00729‐0691
          JP DESIGNS LLC Y CENTRO
   252103 CORTINAS                    162 AVE FD ROOSEVELT                           URB EL VEDADO                                                                            SAN JUAN            PR         00918
          JP FORMS AND PRINTED
   688804 PRODUCTS                    RR 3 BOX 3862                                                                                                                           SAN JUAN            PR         00926
   252104 JP INDUSTRIAL SALES CO INC  PO BOX 9020758                                                                                                                          SAN JUAN            PR         00907
          JP MORGAN INVESTOR SERVICES
   252106 CO                          BRENDON HERRICK                                70 FARGO ST SUITE 3 EAST                                                                 BOSTON              PR         002210

   252107 JP OFFICE MACHINE CORP                      BOX 24613 CARR 743 BO VEGAS                                                                                             CAYEY               PR         00736‐9442
   252111 JP OFFICE MACHINES CORP                     BOX 24613                   CARR 743                                                                                    CAYEY               PR         00736

   252114 JP RECOVERY SERVICE INC                     20220 CENTER RIDGE ROAD 370                                                                                             ROCKY RIVER         OH         44116

   252115 JPATS / USMS                                1251 NW BRIARCLIFF PARKWAY     STE 300                                                                                  KANSAS CITY         MO         64116
  1256612 JPATS/USMS                                  REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688806 JPJ & ASOCIATES                             BOX 19775                                                                                                               SAN JUAN            PR         00919‐3775
   252117 JPMORGAN CHASE BANK                         P O BOX 659750                                                                                                          SAN ANTONIO         TX         78265
   688808 JPP ASSET MANAGEMENT INC                    HC 3 BOX 10337                                                                                                          CAMUY               PR         00627
          JPR RESERVES & ECOLOGICAL
   252118 AVENTURE INC                                BO COCOS                       42176 CARR 482                                                                           QUEBRADILLAS        PR         00678
   252119 JPROLLC                                     356 CESAR GONZALEZ                                                                                                      SAN JUAN            PR         00918

   252120 JPS HEALTH NETWORK                          925 NORTH POINT PKWY STE 350                                                                                            ALPHARETTA          GA         30005‐5214
          JR AIR CONDITIONING/DBA JOSE                                               VILLA DE SAN AGUSTIN P 46
   252122 A RODRIGUEZ                                 MOLINA                         CALLE 12                                                                                 BAYAMON             PR         00959
          JR AUTO IMPORTS / RAMON
   688809 VELAZQUEZ                                   MSC 413                        PO BOX 80000                                                                             ISABELA             PR         00662
          JR AUTOMATIC TRANSMISSION
   688810 PARTS                                       POLICIA DE PR                  PO BOX 70166                                                                             SAN JUAN            PR         00936‐8166
   252123 JR BUILDERS INC                             65TH INFANTRY STATION          PO BOX 30296                                                                             SAN JUAN            PR         00929‐1296
   688812 JR CAR CARE CENTER                          102 PARC CALDERONA             BUZON 7212 CALLE 4                                                                       CEIBA               PR         00735
   252124 JR CARPET CLEANER                           P O BOX 8650                                                                                                            BAYAMON             PR         00960

   252125 JR CATERING SERVICE                         COLEGIO REGIONAL DE CAYEY      PO BOX 5300 CUC STATION                                                                  CAYEY               PR         00634
          JR COLEMAN DAVIS PAGAN
   688813 ARQUITECTOS                                 PO BOX 9023912                                                                                                          SAN JUAN            PR         00902
   688814 JR COMPUTER CABLES                          A 6 URB AGUSTIN STAHL          CARR 174                                                                                 BAYAMON             PR         00956
          JR CONSTRUCTION EQUIPMENT
   688815 INC                                         PO BOX 2867                                                                                                             BAYAMON             PR         00960
   252127 JR DAY & NIGHT CARE                         HC 04 BOX 5061                                                                                                          HUMACAO             PR         00791
          JR DESIGN AND CONTRACTOR
   252128 CORP                                        RR BOX 780A                                                                                                             SAN JUAN            PR         00926
   688816 JR DEVELOPMENT CORP                         P O BOX 360417                                                                                                          SAN JAUN            PR         00936‐0417



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  688817 JR EAGLE ARMY CORPS INC         PO BOX 1272                                                                                                                     AGUADILLA         PR           00605‐1272
  771129 JR ENTERTAINMENT GROUP          VILLA CAROLINA                           D 9 AVE ROBERTO CLEMENTE                                                               CAROLINA          PR           00987
         JR ENTERTAINMENT GROUP DBA
  252131 JESUS M DIAZ                    VILLA CAROLINA                           D 9 AVE ROBERTO CLEMENTE                                                               CAROLINA          PR           00985
 1256613 JR EXCHANGE COFFEE CORP         REDACTED                                 REDACTED                   REDACTED                             REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
                                         CALLE MAYAGUEZ URB. PEREZ
  252132 JR FAST DIGITAL PRINTING , INC. MORRIS # 108                                                                                                                    SAN JUAN          PR           00922‐1985
  831440 JR Fast Digital Printing Inc.   PO Box 11985                                                                                                                    San Juan          PR           00922

   252133 JR FAST DIGITAL PRINTING, INC                PO BOX 11985                                                                                                      SAN JUAN          PR           00922‐1985

   688819 JR FOOD SERVICE                              CAMPAMENTO SANTIAGO CLUB BUILDING 196                                                                             SALINAS           PR           00751
   252134 JR GUEVARA MD, ALEX                          REDACTED                 REDACTED                     REDACTED                             REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   252135 JR GULF STATION                              HC 3 BOX 8675                                                                                                     BARRANQUITAS      PR           00794
   252136 JR HOLDING INC.                              PO BOX 9066636                                                                                                    SAN JUAN          PR           00906

   688821 JR MARBLE & GRANITE WORKS                    PO BOX 1400                                                                                                       CABO ROJO         PR           00623
   252138 JR OFFICE PRODUCTS INC                       PMB 291 400 STREET KALAF                                                                                          SAN JUAN          PR           00919
          JR RAMOS INC ENGINEERS &
   688822 CONT                                         12 CALLE HW SANTAELLA                                                                                             COAMO             PR           00769
   252139 JR RAVRY MD, MARIO                           REDACTED                   REDACTED                   REDACTED                             REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          JR REFRIGERATION & AIR
   688823 CONDITIONING SERV                            PO BOX 2123                                                                                                       JUNCOS            PR           00777
   688824 JR SANCH INC                                 HC 1 BOX 6859                                                                                                     CIALES            PR           00638
   688825 JR SHEET METAL MFG INC                       PO BOX 1152                                                                                                       BAYAMON           PR           00960‐1152
   688826 JR TRANSMISSION                              P.O. BOX 14434                                                                                                    AGUADILLA         PR           00603‐9337
   688827 JR VICENTY SERVICE                           206 CALLE COMERCIO                                                                                                MAYAGUEZ          PR           00680
   688828 JR. ELECTRONICS CENTER                       PO BOX 533                                                                                                        GARROCHALES       PR           00652
   688830 JR. REFRIELECTRIC                            PARCELAS EL TUQUE          CALLE PEDRO SHUCK 178                                                                  PONCE             PR           00782‐7213

   688832 JRA LAW OFFICES PSC                          CAPITAL CENTER BLDG        N 239 SOUTH TOWER SUITE 305 ARTERIAL HOSTOS AVE                                        SAN JUAN          PR           00918‐1476
   688833 JRA TRANSPORT INC                            P O BOX 5                                                                                                         YAUCO             PR           00698
   252141 JRAF LAW FIRMA INC                           PO BOX 7498                                                                                                       PONCE             PR           00732‐7498
   252142 JRC AIR CONDITIONING                         PO BOX 625                                                                                                        LUQUILLO          PR           00773
          JRC BUSINESS MANAGEMENT
   252143 CONSULTAN LLC                                URB LAS LEANDRAS           CALLE 9 F11                                                                            HUMACAO           PR           00791
   252145 JRD CORP                                     39 THE CLUSTERS                                                                                                   DORADO            PR           00646
   688834 JRJ CELEBRATE INC                            PO BOX 9088                                                                                                       CAGUAS            PR           00726
   252147 JRM DEYGNS INC                               785 AVE DE DIEGO           CAPARRA TERRACE                                                                        SAN JUAN          PR           00921
   688835 JRM EC CONSULTING GROUP                      P O BOX 193212                                                                                                    SAN JUAN          PR           00919
          JRNA, INC. DBA UNCLAIMED
   252148 FREIGHT                                      2260 INDUSTRIAL DRIVE                                                                                             BETHLEHEM         PA           18017
   252149 JRO CONSTRUCTION INC                         COND LAGOS DEL NORTE       APT 1003                                                                               TOA BAJA          PR           00949
   252150 JRRA & ASOCIADOS CSP                         PO BOX 3312                                                                                                       CAGUAS            PR           00726
          JRV REFRIGERATION & A/C
   688836 SERVICES INC                                 PO BOX 2123                                                                                                       JUNCOS            PR           00777
   252154 JS ARTE ESPANA                               REDACTED                   REDACTED                   REDACTED                             REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   688837 JS AUTO SERVICE                              P O BOX 821                                                                                                       HORMIGUEROS       PR           00660‐0821
   688838 JS ELECTRICAL INC                            HC 10 BOX E 7                                                                                                     SABANA GRANDE     PR           00637
   252155 JS GENERAL CONTRACTOR                        HC 71 BOX 3021                                                                                                    NARANJITO         PR           00719
   688839 JSB AUTO SALES INC                           PMB 606 PO BOX 4952                                                                                               CAGUAS            PR           00726
   688840 JSI DBA FARMACIA IRIZARRY                    P O BOX 236                                                                                                       SABANA GRANDE     PR           00637




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          JSI RESEARCH & TRAINING
   252158 INSTITUTE INC                               1725 BLAKE STREET STE 400                                                                                           DENVER              CO           80202
          JT INTERNATIONAL MFG
   688841 AMERICA INC                                 P O BOX 70                                                                                                          YABUCOA             PR           00767
          JT REMODELING &                             AVE. PONCE DE LEON 408 SUITE
   252162 CONTRACTORS , INC.                          2‐D                                                                                                                 SAN JUAN            PR           00901‐0000
   688842 JT TRANSPORTE URBANO INC                    METRO TRUCK & CAR RENTAL     P O BOX 29849                                                                          SAN JUAN            PR           00929‐0849
          JTA APEL SOBRE CONST LOT/
   252164 AIDA A TORRES                               P O BOX 41118                MINILLAS STATION                                                                       SAN JUAN            PR           00940‐1118
          JTA DE CERTIFICACION PARA                   EN ADICCION Y ALCOHOLISMO    VILLA BORINQUEN 469 CALLE
   252165 PROFESIONALES                               DE PR INC                    DRESDE                                                                                 SAN JUAN            PR           00920
          JTA DIRECTCORP RES JUAN C
   688843 CORDERO DAVILA                              RES JUAN CORDERO DAVILA      EDIF 10 APT 86                                                                         SAN JUAN            PR           00917
   688844 JTA LIBERTAD BAJO PALABRA                   P O BOX 40945                                                                                                       SAN JUAN            PR           00940
          JTA REC CULTURAL RIO GDE
   252166 STATE II‐III‐IV                             URB RIO GRANDE STATE         10126 CALLE REY RICARDO                                                                RIO GRANDE          PR           00745
          JTA RELACIONES DEL TRAB                                                  EDIF STOP 22‐2DO PISO PDA
   252168 /JOHANNA I RAMOS                            1507 AVE PONCE DE LEON       221/2                                                                                  SAN JUAN            PR           00926
          JTA RES ASOC EXT VILLA LOS
   688845 SANTOS II                                   EXT VILLA LOS SANTOS II      343 CALLE TOPACIO                                                                      ARECIBO             PR           00612
          JTED RENTAL AND
   252169 CONSTRUCTION GROUP                          PMB 113                      RR 5 BOX 4999                                                                          BAYAMON             PR           00956‐9708
   688847 JTJ CONSTRUCTION CORP                       P O BOX 9932                                                                                                        SAN JUAN            PR           00908‐9932
   252170 JTP DEVELOPMENT CORP                        PO BOX 29166                                                                                                        SAN JUAN            PR           00929

   252171 JTRILLA DBA P R MOTOR COACH                 PO BOX 190811                                                                                                       SAN JUAN            PR           00919‐0811
   252172 JU                                          PASEO LAS VISTAS II          95 CALLE 1                                                                             SAN JUAN            PR           00926
   252173 JU YANG MD, BEN                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252174 JUA R SANCHEZ REYES                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688916 JUAN A ACARON SOUFRONT                      B16 URB ROMANI GARDENS                                                                                              SAN JUAN            PR           00926

   688929 JUAN A ACEVEDO HERNANDEZ                    COND MONTE NORTE APTO 204    175 AVE HOSTOS                                                                         SAN JUAN            PR           00918
   688930 JUAN A ACEVEDO LOPEZ                        P O BOX 1651                                                                                                        SAN SEBASTIAN       PR           00685 1651
   688931 JUAN A ACEVEDO RUIZ                         P O BOX 56                                                                                                          LARES               PR           00669
   252175 JUAN A ACHA GARCIA                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252176 JUAN A ACOSTA HERNANDEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252177 JUAN A AGUADO SANTIAGO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688932 JUAN A ALAMEDA JIMENEZ                      HC 1 BOX 4696 B                                                                                                     CAMUY               PR           00627‐9607
   688933 JUAN A ALEMAN MIRANDA                       PO BOX 29214                                                                                                        SAN JUAN            PR           00929
   688858 JUAN A ALICEA HUACUZ                        URB SIERRA REAL              250 J 05                                                                               CAYEY               PR           00736
   688935 JUAN A ALVARADO APONTE                      PO BOX 1492                                                                                                         JAYUYA              PR           00664
   252178 JUAN A ALVARADO LA TORRE                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252179 JUAN A ALVAREZ NEGRON                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688936 JUAN A ALVAREZ REYES                        VISTA MAR                    G 276 CALLE GRANADA                                                                    CAROLINA            PR           00983
   252180 JUAN A ALVELO GONZALEZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252181 JUAN A AMADOR SANTIAGO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688937 JUAN A ANDINO ORTIZ                         PO BOX 571                                                                                                          JUANA DIAZ          PR           00795
   688941 JUAN A ARROYO RODRIGUEZ                     URB BAIRO GOLDEN GATE 2      F 10 CALLE I                                                                           CAGUAS              PR           00725
   252161 JUAN A ARRUZA LATIMER                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252183 JUAN A ASTOR VILLANUEVA                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688942 JUAN A AVILA CUEVAS                         HC 03 BOX 17067                                                                                                     QUEBRADILLAS        PR           00678
   688943 JUAN A AVILES MALDONADO                     PO BOX 17                                                                                                           GARROCHALES         PR           00652
   252184 JUAN A BALAGUER SANTIAGO                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  252185 JUAN A BARBOSA OJEDA                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  688944 JUAN A BARRIOS MOLINA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  252187 JUAN A BERDECIA RIVERA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   252188 JUAN A BERMUDEZ MELENDEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   252189 JUAN A BERNIER RIVERA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688853 JUAN A BERRIOS GONZALEZ                     HC 71 BOX 3606                                                                                                     NARANJITO            PR         00719 9716
   688946 JUAN A BERRIOS SALGADO                      HC 01 BOX 6385                                                                                                     CIALES               PR         00638‐5644
   688947 JUAN A BLANCHI NIEVES                       BOX 64                                                                                                             MOROVIS              PR         00687
   688948 JUAN A BONILLA RAMOS                        P O BOX 492                                                                                                        JUNCOS               PR         00777
   688949 JUAN A BORIA REYES                          P O BOX 388                                                                                                        LOIZA                PR         00772

   688950 JUAN A BORRALI                              COND VILLAMAR APT 2B         CALLE VENDI ESQ AVE ASHFORD                                                           SAN JUAN             PR         00910
   688951 JUAN A BOSQUE LASSALLE                      URB EL PRADO                 115 CALLE JOSE ALVAREZ                                                                AGUADILLA            PR         00603
   688952 JUAN A BUITRAGO RUIZ                        URB VILLAS DEL PILAR         B 17 CALLE SAN MIGUEL                                                                 CEIBA                PR         00735
   252190 JUAN A BURGOS PADUA                         REDACTED                     REDACTED                    REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688953 JUAN A CABAN PEREZ                          HC 04 BOX 44349                                                                                                    LARES                PR         00669
   252191 JUAN A CABRERA DAVILA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688954 JUAN A CALDERON DONES                       BDA BUENA VISTA              124 CALLE MAGNOLIA                                                                    CAROLINA             PR         00985
   688956 JUAN A CALO BIRRIEL                         URB JOSE SEVERO QUI¥ONES     241 CALLE 9                                                                           CAROLINA             PR         00985
   688957 JUAN A CAMACHO CORDOVA                      P O BOX 5                                                                                                          JUNCOS               PR         00777
   688958 JUAN A CANCEL ALEGRIA                       COND MAR DE ISLA VERDE       7185 CARR 187 APT 8 M                                                                 CAROLINA             PR         00979

   688960 JUAN A CANDELARIA SANCHEZ                   URB SANTA RITA               C 8 CALLE 5                                                                           VEGA ALTA            PR         00692

   252192 JUAN A CARABALLO VALENTIN                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JUAN A CARRASQUILLO
   688859 MALDONADO                                   HC 09 BOX 58113                                                                                                    CAGUAS               PR         00725
                                                      URB UNIVERSITY GARDENS 320
   688961 JUAN A CARRERO MELENDEZ                     C/HOWARD                                                                                                           SAN JUAN             PR         00927
   688962 JUAN A CARTAJENA LUCAS                      HC 01 BOX 6817                                                                                                     SALINAS              PR         00751
   688917 JUAN A CASANAS AMADOR                       URB TORREMOLINOS             H 16 CALLE E                                                                          GUAYNABO             PR         00906‐3728
   252194 JUAN A CASTANER MARTINEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688963 JUAN A CASTILLO CRESPO                      HC 03 BOX 33901                                                                                                    AGUADILLA            PR         00603
   252195 JUAN A CASTRO ALVAREZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   252196 JUAN A CASTRO LEBRON                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   252197 JUAN A CAUSSADE VEGLIO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688965 JUAN A CELAYA PABON                         P O BOX 956                                                                                                        LAJAS                PR         00667
   688966 JUAN A CINTRON AYALA                        PO BOX 2285                                                                                                        SAN GERMAN           PR         00683
   688968 JUAN A CLASS APONTE                         URB SANTA ROSA               51‐4 CALLE 21                                                                         BAYAMàN              PR         00959
   252199 JUAN A COLLAZO MARTINEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688969 JUAN A COLON AGUIRRE                        PO BOX 140400                                                                                                      ARECIBO              PR         00614‐0400
   688970 JUAN A COLON CRDENALES                      HC 2 BOX 5495                                                                                                      COAMO                PR         00769
   252200 JUAN A COLON MARTINEZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688971 JUAN A COLON MORALES                        PO BOX 21365                                                                                                       SAN JUAN             PR         00928
   688972 JUAN A COLON NELSON                         PO BOX 609                                                                                                         SAN LORENZO          PR         00754‐0609
   688973 JUAN A COLON NIEVES                         RR 4 BOX 1193                                                                                                      BAYAMON              PR         00956
   688974 JUAN A COLON RIVERA                         RR 03 BZ 10778‐6                                                                                                   TOA ALTA             PR         00953
   688975 JUAN A COLON ROSADO                         URB FLAMINGO GARDENS         E 16 CALLE 7E                                                                         BAYAMON              PR         00959
          JUAN A COLON Y MIRIAM D
   252202 FILIBERTY                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688976 JUAN A COMAS ORTIZ                          615 URB MANSIONES BZN 29                                                                                           SABANA GRANDE        PR         00637
   688978 JUAN A CORDERO PEREZ                        PO BOX 1935                                                                                                        BARCELONETA          PR         00617‐1935



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  252204 JUAN A CORREA MUNIZ                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  688980 JUAN A CORREA TORRES                         PO BOX 7126                                                                                                     PONCE             PR         00732
  252205 JUAN A CORTES RIVERA                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  688920 JUAN A CORTES VELEZ                          175 AVE DUSCOMBE SUITE 2                                                                                        MAYAGUEZ          PR         00680
  688981 JUAN A CORTIJO RIVERA                        URB TOA ALTA HEIGHTS         AN 43 CALLE 33                                                                     TOA ALTA          PR         00953
  252206 JUAN A COSME SANCHEZ                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  252208 JUAN A CRESPO FIGUEROA                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  688982 JUAN A CRUZ                                  VISTA BELLA                  Q 27 CALLE LAREDO                                                                  BAYAMON           PR         00956
  688983 JUAN A CRUZ ABREU                            27 PASEO DE LA ATENA                                                                                            MANATI            PR         00674
         JUAN A CRUZ CANEL /
  688984 RECON.MAESTROS RECIB                         P O BOX 2843                                                                                                    ARECIBO           PR         00613
  688985 JUAN A CRUZ FLORES                           HC 72 BOX 6876                                                                                                  CAYEY             PR         00736
  688986 JUAN A CRUZ LOPEZ                            33 CALLE ROOSVELT                                                                                               SAN JUAN          PR         00907
  688987 JUAN A CRUZ MORA                             URB RIBERAS DEL SE¥ORIAL     W 814 TIRSO DE MOLINA                                                              SAN JUAN          PR         00926
                                                      PO BOX 9535 PLAZA CAROLINA
   688988 JUAN A CRUZ RIVERA                          MALL STA                                                                                                        CAROLINA          PR         00988
   252210 JUAN A CRUZ VARGAS                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252211 JUAN A CRUZ VAZQUEZ                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688989 JUAN A CRUZ ZAMBRANA                        856 CALLE RICARDO ARROYO                                                                                        DORADO            PR         00646‐5032
   252212 JUAN A CUBERO ALVAREZ                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252213 JUAN A DAVID REYES                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688990 JUAN A DAVID ZAYAS                          P O BOX 3000                                                                                                    COAMO             PR         00769
   252214 JUAN A DAVILA                               REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252215 JUAN A DAVILA BRENES                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252216 JUAN A DE JESUS DE JESUS                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252217 JUAN A DE JESUS JIMENEZ                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252218 JUAN A DE LEON DE LEON                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252219 JUAN A DE LEON RODRIGUEZ                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688991 JUAN A DEL VALLE JIMENEZ                    BO LA TORRE                  HC 04 BOX 17054                                                                    LARES             PR         00669
   252220 JUAN A DEL VALLE ORTEGA                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688993 JUAN A DELGADO RIVERA                       URB SIERRA BERDECIA          D 14 CALLE BENITEZ                                                                 GUAYNABO          PR         00669
   688994 JUAN A DIAZ CABRERA                         P O BOX 1792                                                                                                    CAGUAS            PR         00726
   252222 JUAN A DIAZ CANCEL                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252223 JUAN A DIAZ LOPEZ                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252224 JUAN A DIAZ MONTANEZ                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JUAN A DIAZ NAZARIO/MARIA G
   252226 MELENDEZ                                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252227 JUAN A DIAZ RIVERA                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688996 JUAN A DIAZ SOTO                            PO BOX 336863                                                                                                   PONCE             PR         00733
   252228 JUAN A DIAZ SUAZO                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252229 JUAN A DIAZ TORRES                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688998 JUAN A ECHEVARRIA GARCIA                    URB LOS CAOBOS               2031 YAGRUMO                                                                       PONCE             PR         00716
   252231 JUAN A ESPA¥OL BONILLA                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689001 JUAN A ESTEVES MASSO                        URB VISTAMAR                 1018 CALLE NAVARRA                                                                 CAROLINA          PR         00983
   252232 JUAN A ESTRADA NERIS                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252233 JUAN A ESTRELLA MARTINEZ                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   689003 JUAN A FANTAUZZI DE LA CRUZ                 BDA MARIN                    61 A CALLE 5                                                                       GUAYAMA           PR         00784
   689004 JUAN A FARIA HILL                           P O BOX 69                                                                                                      COAMO             PR         00769

   689005 JUAN A FELICIANO & ASOCIADOS URB LA ARBOLEDA                             100 CALLE 18                                                                       SALINAS           PR         00751

   689006 JUAN A FELICIANO CARABALLO                  PO BOX 353                                                                                                      YAUCO             PR         00698



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   252234 JUAN A FELICIANO CHARNECO                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   252235 JUAN A FELICIANO MORALES                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   689007 JUAN A FELICIANO RAMOS                      P O BOX 21365                                                                                                   SAN JUAN            PR         00928‐1365
   689008 JUAN A FERNANDEZ CHINEA                     P O BOX 8899                                                                                                    BAYAMON             PR         00960

   252237 JUAN A FERNANDEZ CORDOVA                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   688921 JUAN A FIGUEROA ANDINO                      URB RIO GRANDE STATE          HH‐25 CALLE 33                                                                    RIO GRANDE          PR         00745
   252239 JUAN A FIGUEROA FELICIANO                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   689009 JUAN A FIGUEROA GARCIA                      500 PASEO MONACO 25                                                                                             BAYAMON             PR         00956‐9773
   689010 JUAN A FIGUEROA PADILLA                     P O BOX 2571                                                                                                    BAYAMON             PR         00960
   252240 JUAN A FIGUEROA PEREZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   252241 JUAN A FIGUEROA VAILLANT                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JUAN A FIGUEROA WILLIAM Y
   252242 NELSON D SOTO                               REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   252243 JUAN A FIQUEROA ACEVEDO                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   689011 JUAN A FLORES DOMENECH                      URB MARBELLA                  27 CALLE A                                                                        AGUADILLA           PR         00603
   252244 JUAN A FLORES REYES                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   252245 JUAN A FONSECA BAEZ                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   252246 JUAN A FONSECA RAMOS                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   689012 JUAN A FONTAN DEL VALLE                     URB MADELINE                  L‐46 CALLE TOPACIO                                                                TOA ALTA            PR         00953
   689013 JUAN A FRANCO ALEJANDRO                     RR 2 BOX 53912                                                                                                  CIDRA               PR         00739
   689014 JUAN A FRANQUI ROSADO                       PO BOX 371840                                                                                                   CAYEY               PR         00737‐1840
   252247 JUAN A FRAU ESCUDERO                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   689015 JUAN A FUENTES FERNANDEZ                    PO BOX 1242                                                                                                     GUAYNABO            PR         00970‐1242
   252248 JUAN A GANDIA ADORNO                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   689016 JUAN A GARCIA CONTRERAS                     10275 COLLINS AVE 306‐5                                                                                         MIAMI               FL         33154
   252249 JUAN A GARCIA DE THOMAS                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   689017 JUAN A GARCIA GARCIA                        HC 01 BOX 6691                                                                                                  CIALES              PR         00638
   688860 JUAN A GARCIA IGUINA                        URB BALDRICH                  252 LARRINAGA                                                                     SAN JUAN            PR         00918
   689018 JUAN A GARCIA MOJICA                        2340 CARR 2 APT 34                                                                                              BAYAMON             PR         00961
   252250 JUAN A GARCIA NAZARIO                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   252251 JUAN A GARCIA VILLANUEVA                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   252252 JUAN A GERENA RAMIREZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   252254 JUAN A GINES VEGA                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   252255 JUAN A GIUSTY CORDERO                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   252257 JUAN A GONZALEZ ALICEA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   252258 JUAN A GONZALEZ APONTE                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   689022 JUAN A GONZALEZ CRUZ                        P O BOX 2748                                                                                                    VEGA BAJA           PR         00694
   252259 JUAN A GONZALEZ DAVID                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   689024 JUAN A GONZALEZ FIGUEROA                    PO BOX 764                                                                                                      NAGUABO             PR         00718
   252260 JUAN A GONZALEZ GREEN                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   252261 JUAN A GONZALEZ HERNANDEZ                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JUAN A GONZALEZ
   689027 IRIZARRY/LIGA DOMINO LA                     CALLE ANDRES MENDEZ LICIAGA   ESQ MJ CABRERA ALTOS                                                              SAN SEBASTIAN       PR         00685
   689028 JUAN A GONZALEZ JAURIDEZ                    VILLA GUADALUPE               FF2 CALLE 18                                                                      CAGUAS              PR         00725
   252262 JUAN A GONZALEZ MEDINA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   689029 JUAN A GONZALEZ MENDEZ                      URN VILLA ESPANA              20 B                                                                              ISABELA             PR         00662
   252263 JUAN A GONZALEZ MOSCOSO                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   252264 JUAN A GONZALEZ ORTIZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   252265 JUAN A GONZALEZ OSORIO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   689030 JUAN A GONZALEZ OTERO                       PO BOX 504                                                                                                      VEGA BAJA           PR         00692



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  689031 JUAN A GONZALEZ REYES                        HC 3 BOX 25171                                                                                                   SAN SEBASTIAN     PR         00685
  252266 JUAN A GONZALEZ RIVERA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  252267 JUAN A GONZALEZ SANCHEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         JUAN A GRACIA / SAN PABLO
  689033 ORTHOPEDIC                                   URB EL REMANSO              E 8 CALLE CAUSE                                                                      SAN JUAN          PR         00926
  252268 JUAN A GUERRERO FIGUEROA                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689035 JUAN A GUILLEN FIGUEROA                      ASSMCA                      PO BOX 21414                                                                         ARECIBO           PR         00928‐1414
                                                      BO MAMEYAL P 6 CALLE
   689036 JUAN A GUISTI ORTIZ                         KENNEDY                                                                                                          DORADO            PR         00646
   252270 JUAN A GUZMAN GARAY                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252271 JUAN A GUZMAN MORALES                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252272 JUAN A GUZMAN RIVERA                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252273 JUAN A HERNANDEZ                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   689040 JUAN A HERNANDEZ ACEVEDO                    PO BOX 841                                                                                                       AGUAS BUENAS      PR         00703
   689041 JUAN A HERNANDEZ APONTE                     SANTA JUANITA               AK 30 CALLE JARAGUA                                                                  BAYAMON           PR         00956
   252275 JUAN A HERNANDEZ AVILES                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252276 JUAN A HERNANDEZ COLON                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252277 JUAN A HERNANDEZ LOPEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   689044 JUAN A HERNANDEZ MERCADO                    PO BOX 1286                                                                                                      SABANA HOYOS      PR         00688
   252278 JUAN A HERNANDEZ PAGAN                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689045 JUAN A HERNANDEZ RAMOS                      C 1 CALLE PRIMO DELGADO                                                                                          ADJUNTAS          PR         00601
   252283 JUAN A HERNANDEZ RUIZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   252284 JUAN A HERNANDEZ SANTIAGO                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JUAN A HUERTAS/RAQUEL
   689046 BURGOS                                      HC 83 BOX 6245                                                                                                   VEGA ALTA         PR         00692
   252285 JUAN A IGLESIAS MONTANEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   689047 JUAN A JIMENEZ MALDONADO                    PO BOX 896                                                                                                       UTUADO            PR         00641
   689048 JUAN A JORGE GARCIA                         URB BERWIND ESTATES         C‐8 CALLE 6                                                                          SAN JUAN          PR         00924

   688923 JUAN A LA LINDEZ NAZARIO                    BO PESAS SECTOR TORTUGUERO                                                                                       CIALES            PR         00638
   252289 JUAN A LA SANTA ARROYO                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688854 JUAN A LABOY                                URB BRISAS DEL LAUREL      405 CALLE DIAMANTE                                                                    COTTO LAUREL      PR         00780‐2216
   252290 JUAN A LAINO CEDENO                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689050 JUAN A LANCARA REYES                        COND PARQUE SAN PATRICIO   EDIF 1 APT 703                                                                        GUAYNABO          PR         00968
   689051 JUAN A LARIOS ANDINO                        COND PLAZA DEL MAR         3001 AVE ISLA VERDE PH 5                                                              CAROLINA          PR         00979
   688861 JUAN A LASTRA ARACIL                        PARQUE SAN IGNACIO         D 18 CALLE 3                                                                          SAN JUAN          PR         00917
   252291 JUAN A LAUREANO ROSARIO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689052 JUAN A LEBRON RODRIGUEZ                     BDA SANTA CATALINA         P O BOX 74                                                                            ARROYO            PR         00714
   252293 JUAN A LEON GARCIA                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689053 JUAN A LICEAGA SALAS                        298 AVE NOEL ESTRADA                                                                                             ISABELA           PR         00662
   252294 JUAN A LLORET RIOS                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252295 JUAN A LOJO ACOSTA                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689054 JUAN A LOPEZ AGOSTO                         CONF JARDINES DE CUENCA    EDIF 602 APT 3B                                                                       SAN JUAN          PR         00918
   689055 JUAN A LOPEZ DAVID                          URB MEDINA                 D 31 CALLE 5                                                                          ISABELA           PR         00662
          JUAN A LOPEZ DELGADO DBA
   252296 ALMA MUSIC                                  P O BOX 79240                                                                                                    CAROLINA          PR         00984
   252297 JUAN A LOPEZ MEDINA                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689057 JUAN A LOPEZ QUILES                         PO BOX 3668                                                                                                      VEGA ALTA         PR         00692
   252298 JUAN A LOPEZ RODRIGUEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  252299 JUAN A LOPEZ SANTANA                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  252300 JUAN A LOZANO CAEZ                           REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689058 JUAN A LUCIANO JIMENEZ                       PO BOX 11145                                                                                                       SAN JUAN          PR         00910
  689062 JUAN A MALDONADO DOZAL                       BAYAMON GARDENS               O 7 CALLE 12                                                                         BAYAMON           PR         00957
  252302 JUAN A MALDONADO GARCIA                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689063 JUAN A MALDONADO RIVERA                      BO TIBURON 3                  336 CALLE 22                                                                         BARCELONETA       PR         00717
  689064 JUAN A MARQUES GOITIA                        PO BOX 904                                                                                                         ARECIBO           PR         00613‐0904
  252304 JUAN A MARQUEZ DE LEON                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689066 JUAN A MARTINEZ ALMANZA                      PO BOX 322                                                                                                         ANASCO            PR         00610
  689067 JUAN A MARTINEZ ALVAREZ                      1518 GOLDEN HILL                                                                                                   DORADO            PR         00646
  689068 JUAN A MARTINEZ CALDERON                     URB LA HACIENDA               CALLE 47 AU 25                                                                       GUAYAMA           PR         00784
  252305 JUAN A MARTINEZ CRUZ                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  252306 JUAN A MARTINEZ OTERO                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689069 JUAN A MARTINEZ QUILES                       COND PLAZA                    103 LOS ALMENDROS II                                                                 SAN JUAN          PR         00924
  252307 JUAN A MARTINEZ REYES                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  252308 JUAN A MARTINEZ RIVERA                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  252309 JUAN A MARTINEZ VAZQUEZ                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689073 JUAN A MASJUAN HODGE                         URB JARDINES DE CATA¥O        Y 23 CALLE ROBLES                                                                    CATA¥O            PR         00962
  689074 JUAN A MATIAS COLLAZO                        BDA NADAL                     70 BO SABACOS                                                                        MAYAGUEZ          PR         00680
  689075 JUAN A MATIAS RIVERA                         URB METROPOLIS GI             19 CALLE 4                                                                           CAROLINA          PR         00987
  689076 JUAN A MATIAS VELEZ                          HC 10 BOX 3887                                                                                                     ADJUNTAS          PR         00601‐9708
  689077 JUAN A MATOS SANCHEZ                         HC 01 BOX 4261                                                                                                     LARES             PR         00669
  689078 JUAN A MEDINA COLON                          HC 5 BOX 56703                                                                                                     HATILLO           PR         00659
  689080 JUAN A MEDINA LUCIANO                        P O BOX 34203                 PLAYA STATION                                                                        PONCE             PR         00734
  689081 JUAN A MEDINA ROSA                           URB VENUS GDNS NORTE          1683 CALLE MANZANILLO                                                                SAN JUAN          PR         00926
  689082 JUAN A MEJIAS                                HC 3 BOX 10299                                                                                                     YABUCOA           PR         00767‐9787
  689083 JUAN A MELECIO DAVILA                        URB LOMAS VERDES              U 12 CALLE CASIA                                                                     BAYAMON           PR         00956
  252311 JUAN A MELENDEZ BORGES                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  252312 JUAN A MELENDEZ ORTIZ                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  252313 JUAN A MELENDEZ REYES                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   252314 JUAN A MELENDEZ RODRIGUEZ                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   252316 JUAN A MELENDEZ VAZQUEZ                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   252317 JUAN A MENDEZ AYALA                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   689086 JUAN A MENDEZ PALOU                         URB EL RETIRO                 B 13 CALLE DEL COMERCIO                                                              CAGUAS            PR         00725

   252318 JUAN A MERCADO JUSTINIANO                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   689088 JUAN A MERCADO LOPEZ                        PO BOX 2121                                                                                                        CAROLINA          PR         00987
   252319 JUAN A MERCADO VELEZ                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   689089 JUAN A MILLER LUCCA                         PO BOX 29707                  65 INF STATION                                                                       SAN JUAN          PR         00924
   688855 JUAN A MIRANDA                              PO BOX 753                                                                                                         COTTO LAUREL      PR         00780
   252320 JUAN A MIRANDA CASIANO                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   252321 JUAN A MIRANDA COLON                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
                                                      268 AVE PONCE DE LEON SUITE
   689091 JUAN A MOLDES RODRIGUEZ                     440                                                                                                                SAN JUAN          PR         00919
   689092 JUAN A MOLINA MENDEZ                        WATER VIEW 502                613 PONCE DE LEON                                                                    SAN JUAN          PR         00907
   689093 JUAN A MOLINA NIEVES                        ALT DE RIO GRANDE             W 1212 C/22                                                                          RIO GRANDE        PR         00745
   689094 JUAN A MONTALVO AVILES                      PMB 67 PO BOX 5103                                                                                                 CABO ROJO         PR         00623
   689095 JUAN A MORALES AGOSTO                       URB COUNTRY CLUB              HD 105 CALLE 259                                                                     CAROLINA          PR         00982
   252323 JUAN A MORALES GONZALEZ                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   689098 JUAN A MORALES MEJIAS                       69 CALLEJON CUBA                                                                                                   SAN JUAN          PR         00901
   689099 JUAN A MORALES ORTIZ                        HC 03 BOX 10276                                                                                                    YABUCOA           PR         00767




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   689101 JUAN A MOREIRA                              BOSQUE DEL LAGO ENCANTADA   BI‐8 PLAZA 19                                                                        TRUJILLO ALTO       PR           00976
   689102 JUAN A MOREIRA VIDAL                        SANTA MARIA                 55 ORQUIDEA                                                                          SAN JUAN            PR           00926
   252325 JUAN A MOYETT MERCEDES                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252326 JUAN A MUNIZ ROSARIO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   689103 JUAN A NAVARRO                              PO BOX 253                                                                                                       CAGUAS              PR           00726

   252327 JUAN A NAVARRO RODRIGUEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   689104 JUAN A NAVARRO RODRIGUEZ                    P O BOX 19652                                                                                                    SAN JUAN            PR           00919‐1652
   689106 JUAN A NAVARRO ROSADO                       PO BOX 253                                                                                                       CAGUAS              PR           00726

   689107 JUAN A NAVARRO SALGADO                      EL MONTE SUR TOWNHOUSES     G 910 145 AVE HOSTO                                                                  SAN JUAN            PR           00918
   689108 JUAN A NAZARIO SERRANO                      COND QUINTA VALLE 74        CALLE ACUARELA APT 2002                                                              GUAYNABO            PR           00969
   689109 JUAN A NEGRON BERRIOS                       PO BOX 1291                                                                                                      OROCOVIS            PR           00720
   689110 JUAN A NEGRON CORDERO                       HC 1 BOX 23121                                                                                                   MOROVIS             PR           00687
   252328 JUAN A NEGRON CRUZ                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252329 JUAN A NEGRON GARCIA                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   689111 JUAN A NEGRON PEREZ                         HC 2 BOX 6462                                                                                                    ADJUNTAS            PR           00601
   689113 JUAN A NEGRONI VAZQUEZ                      PO BOX 9021112                                                                                                   SAN JUAN            PR           00902‐1112
   689115 JUAN A NEVAREZ                              URB RIO PIEDRAS HEIGHTS     1699 CALLE PARANA                                                                    SAN JUAN            PR           00926
   252331 JUAN A NIEVES SANTIAGO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   689118 JUAN A NU¥EZ DEL VALLE                      HC 02 BOX 15046                                                                                                  CAROLINA            PR           00986
   252332 JUAN A NUNEZ                                REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252334 JUAN A NUNEZ ABREU                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252335 JUAN A NUNEZ GARCIA                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252338 JUAN A OLMO TRINIDAD                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252339 JUAN A ORENGO DUENO                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   689119 JUAN A ORTA TORRES                          106 CALLE CALIFORNIA                                                                                             PONCE               PR           00730‐3593
   689120 JUAN A ORTEGA COLON                         H C 02 BOX 72309                                                                                                 CIALES              PR           00638
   689121 JUAN A ORTIZ GONZALEZ                       HC 01 BOX 4467                                                                                                   VILLABA             PR           00766
   689122 JUAN A ORTIZ HORRACH                        HC 01 BOX 5817                                                                                                   SAN GERMAN          PR           00683
   252340 JUAN A ORTIZ ORTIZ                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252341 JUAN A ORTIZ PAGAN                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JUAN A ORTIZ PANETO Y
   252342 RAMONITA RODRIGUEZ                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252343 JUAN A ORTIZ RIVERA                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252344 JUAN A OSORIO AVILA                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   689125 JUAN A OSORIO DIAZ                          URB ENCANTADA               PE 11 VIA DEL RIO                                                                    TRUJILLO ALTO       PR           00976
   252345 JUAN A OTERO CHARDON                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   688926 JUAN A PABON SOTO                           PO BOX 1089                                                                                                      LUQUILLO            PR           00773
   252346 JUAN A PACHECO CAMACHO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252347 JUAN A PADILLA CARDONA                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   689127 JUAN A PADILLA DE LOS SANTOS                BO. MAGUEYES # 10 CALLE 1                                                                                        BARCELONETA         PR           00617
   252348 JUAN A PADILLA MARTI                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   252349 JUAN A PADILLA ORTEGA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   689128 JUAN A PAGAN ORTIZ                          HC‐01 BOX 2834                                                                                                   FLORIDA             PR           00650
   252351 JUAN A PAGAN RAMIREZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   689129 JUAN A PAGAN REYES                          P O BOX 1091                                                                                                     CAMUY               PR           00627
   689130 JUAN A PAGAN ROMAN                          HC 4 BOX 43527                                                                                                   LARES               PR           00669
   689131 JUAN A PARDO VALLE                          HC 02 BOX 7048                                                                                                   ADJUNTAS            PR           00601
   252352 JUAN A PENA HEVIA                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  252353 JUAN A PENA RIVERA                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  689132 JUAN A PERALTA JIMENEZ                        324 AVE BARBOSA                                                                                               SAN JUAN            PR         00917
  689133 JUAN A PEREZ CORREA                           HC 3 BOX 7585                                                                                                 COMERIO             PR         00782
  252354 JUAN A PEREZ GONZALEZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  252355 JUAN A PEREZ QUINONES                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  252356 JUAN A PEREZ SOTO                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  252357 JUAN A PEROZA GONZALEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JUAN A PIMENTEL / TONYS SEC
  689136 SERV CORP                                     COND STA MARIA II           APT 210                                                                           SAN JUAN            PR         00924‐4506
  252359 JUAN A PINEIRO FIGUEROA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  689137 JUAN A PIZARRO RIVERA                         PO BOX 948                                                                                                    LUQUILLO            PR         00773
  252361 JUAN A PLAZA ROMAN                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  689138 JUAN A POLANCO SOLER                          PO BOX 411                                                                                                    FLORIDA             PR         00650
  689139 JUAN A QUEVEDO TORRES                         PO BOX 323                                                                                                    COAMO               PR         00769‐0323
  252362 JUAN A QUINONES GONZALEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  252363 JUAN A QUINONES SOTO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   252365 JUAN A RAMIREZ DE ARELLANO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689140 JUAN A RAMON VARGAS                          PO BOX 4541                                                                                                   SAN SEBASTIAN       PR         00685
                                                       359 DE DIEGO AVENUE SUITE
   689142 JUAN A RAMOS DIAZ                            601                                                                                                           SAN JUAN            PR         00909‐1711
   252367 JUAN A RAMOS FIGUEROA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689145 JUAN A RAMOS FUENTES                         PO BOX 40549                                                                                                  SAN JUAN            PR         00940
   252368 JUAN A RAMOS MARTINEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689150 JUAN A RAMOS NIEVES                          BOX 395                                                                                                       UTUADO              PR         00641
   689151 JUAN A RAMOS ORTIZ                           URB VILLAS DE CANEY         J 8 CALLE 15                                                                      TRUJILLO ALTO       PR         00976
   689152 JUAN A RAMOS RAMOS                           PO BOX 440                                                                                                    NARANJITO           PR         00719
   252370 JUAN A RAMOS SEDA                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252371 JUAN A RAMOS TORRES                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689153 JUAN A RESTO CHEVERE                         BZN 22 CARR 872             RIO PLANTATION                                                                    BAYAMON             PR         00961
   689154 JUAN A RESTO HERNANDEZ                       PO BOX 851                  SUITE 246                                                                         HUMACAO             PR         00791
   252372 JUAN A RESTO MONTANEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252373 JUAN A REYES CARIBE                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689155 JUAN A REYES FIGUEROA                        PARCELAS LAS CAROLINA       HC 6 BOX 69658                                                                    CAGUAS              PR         00725‐9502
   252374 JUAN A REYES GARCIA                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252375 JUAN A REYES RIVERA                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252376 JUAN A RIBOT ENCARNACION                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252377 JUAN A RIEFKOHL RIVERA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689156 JUAN A RIOS                                  URB FLANBOYAN GARDENS       S 14 CALLE 17                                                                     BAYAMON             PR         00959
   252378 JUAN A RIOS AROCHO                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252379 JUAN A RIOS BLAY                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688856 JUAN A RIOS RODRIGUEZ                        BRISAS DEL PLATA 21                                                                                           DORADO              PR         00646
   252380 JUAN A RIVERA                                REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689158 JUAN A RIVERA ALICEA                         H C 1 BOX 2419                                                                                                BARRANQUITAS        PR         00794
   252381 JUAN A RIVERA BETANCOURT                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252382 JUAN A RIVERA CABRERA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                       VILLA ESPERANZA 164 A C/
   688857 JUAN A RIVERA COTTO                          NOBLEZA                                                                                                       CAGUAS              PR         00725
   252384 JUAN A RIVERA DE LEON                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689159 JUAN A RIVERA DELGADO                        P O BOX 189                                                                                                   YABUCOA             PR         00767
   252385 JUAN A RIVERA DIAZ                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252386 JUAN A RIVERA GARCIA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252387 JUAN A RIVERA GONZALEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  252388 JUAN A RIVERA GUZMAN                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  689161 JUAN A RIVERA LEBRON                         URB BONN VALLEY          10 SAGRADA FAMILIA                                                                     CAGUAS              PR         00725

   689162 JUAN A RIVERA LEDESMA                       URB STA JUANITA          8VA SECC WD 15 CALLE PEDRIRA                                                           BAYAMON             PR         00956
   252389 JUAN A RIVERA LOPEZ                         REDACTED                 REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689164 JUAN A RIVERA MONTERO                       COOP ROLLING HILLS       APT N 6 BOX 12                                                                         CAROLINA            PR         00987
   252390 JUAN A RIVERA MUNOZ                         REDACTED                 REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689165 JUAN A RIVERA NEGRON                        QUINTAS DEL RIO          F 17 PLAZA 19                                                                          BAYAMON             PR         00961
   689166 JUAN A RIVERA NU¥EZ                         MONTE CARLO              900 CALLE 4                                                                            SAN JUAN            PR         00924
                                                      COOP JARDINES DE SAN
   689167 JUAN A RIVERA PEREZ                         FRANCISCO                APT 1113                                                                               SAN JUAN            PR         00927
   252392 JUAN A RIVERA RIVERA                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN A RIVERA RIVERA /IGLESIA
   689169 LIRIO DE L                    HC 01 BOX 6954                                                                                                                BAJADERO            PR         00616
   689171 JUAN A RIVERA RODRIGUEZ       URB MONTE REY                          K4 CALLE 2                                                                             COROZAL             PR         00783
   689172 JUAN A RIVERA ROSA            858 FRANCISCO GAUTHIER                                                                                                        CEIBA               PR         00735
   252394 JUAN A RIVERA SANCHEZ         REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689173 JUAN A RIVERA SANTIAGO        BO PITAHAYA SECTOR PIOJO               APT 846                                                                                ARROYO              PR         00714
   252396 JUAN A RIVERA SOLIS           REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252397 JUAN A RIVERA TORREFORTE      REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689174 JUAN A RIVERA VEGA            HC 2 BOX 22870                                                                                                                AGUADILLA           PR         00603
   252398 JUAN A RIVERA VELAZQUEZ       REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689175 JUAN A RIVERA VELEZ           MINILLAS STATION                       PO BOX 41269                                                                           SAN JUAN            PR         00940‐1269
   689177 JUAN A RODRIGUEZ              HC 2 BOX 18508                                                                                                                LAJAS               PR         00667
          JUAN A RODRIGUEZ DBA LA CASA
   252399 DE LOS DEP                    HC 4 BOX 5604                                                                                                                 GUAYNABO            PR         00971

   252400 JUAN A RODRIGUEZ DEL VALLE                  REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252401 JUAN A RODRIGUEZ GUZMAN                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689180 JUAN A RODRIGUEZ LABOY                      URB LA VEGA              C NO 60                                                                                VILLALBA            PR         00766
   689181 JUAN A RODRIGUEZ LOPEZ                      URB ALTOS DE LA FUENTE   H 10 CALLE 2                                                                           CAGUAS              PR         00725
          JUAN A RODRIGUEZ
   689182 MALDONADO                                   PO BOX 55                                                                                                       TOA ALTA            PR         00953

   252402 JUAN A RODRIGUEZ MARTINEZ REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252403 JUAN A RODRIGUEZ MEDINA      REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689183 JUAN A RODRIGUEZ MIRANDA     BOX 222 SECTOR MOGOTE                   CALLE EVARISTO HERNANDEZ                                                               CAYEY               PR         00736
   689185 JUAN A RODRIGUEZ ORTIZ       P O BOX 520                                                                                                                    HORMIGUEROS         PR         00668
   689187 JUAN A RODRIGUEZ PEREZ       URB CANA JJ 28                          CALLE 22                                                                               BAYAMON             PR         00957
   689188 JUAN A RODRIGUEZ REYES       URB LOMAS VERDES                        2A‐39 CALLE DURAZNO                                                                    BAYAMON             PR         00956
   688863 JUAN A RODRIGUEZ RIOS        P M B 182 RR 5                          BOX 4999                                                                               BAYAMON             PR         00956‐9708
   689189 JUAN A RODRIGUEZ SANTOS      RR 02 BOX 6648                                                                                                                 MANATI              PR         00674
   252404 JUAN A RODRIGUEZ TORRES      REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252405 JUAN A RODRIGUEZ VAZQUEZ     REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252406 JUAN A RODRIGUEZ VIERA       REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN A RODRIGUEZ VILA/ GREEN
   252407 ENERGY                       SYSTEMS CORP                            DORADO BEACH STATES LOTE 14                                                            DORADO              PR         00646
                                                                               H23 CALLE 4 URB BRAULIO
   689190 JUAN A ROJAS RIVERA                         BRAULIO DUE O COLON      DUENO                                                                                  BAYAMON             PR         00959
   252408 JUAN A ROMAN BURGOS                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689191 JUAN A ROMAN GONZALEZ                       URB COLINAS VERDES       J 101 CALLE 4                                                                          SAN SEBASTIAN       PR         00685
   689192 JUAN A ROMAN MENDEZ                         459 K AVE NOEL ESTRADA                                                                                          ISABELA             PR         00662
   252409 JUAN A ROMAN MERCADO                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  689193 JUAN A ROMAN RAMIREZ                         QUINTAS DEL RIO             K 1 PLAZA 20                                                                             BAYAMON            PR         00961
  689196 JUAN A ROQUE ORTIZ                           HC 2 BOX 4239                                                                                                        LAS PIEDRAS        PR         00771
  252410 JUAN A ROSA ALGARIN                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689197 JUAN A ROSA GUZMAN                           RES RAUL CASTELLON          EDIF 11 APT 129                                                                          CAGUAS             PR         00725
  689198 JUAN A ROSA RODRIGUEZ                        RR‐2 BOX 7773                                                                                                        TOA ALTA           PR         00953
  689199 JUAN A ROSA RUIZ                             1085 AVE MIRAMAR SUITE 1                                                                                             ARECIBO            PR         00612
  689200 JUAN A ROSADO AVILES                         PO BOX 603                                                                                                           MANATI             PR         00674
  252411 JUAN A ROSADO ORTIZ                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689202 JUAN A ROSADO PAMIAS                         PO BOX 993                                                                                                           CAMUY              PR         00627
  252412 JUAN A ROSADO RIVERA                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         JUAN A ROSADO SANCHEZ/
  252413 HOGAR CASA HARET                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689203 JUAN A ROSARIO COLON                         P O BOX 3423                                                                                                         RIO GRANDE         PR         00745
  252416 JUAN A ROSARIO FIGUEROA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   689204 JUAN A ROSARIO GONZALES                     58 ESTANCIAS DE BORINQUEN                                                                                            MANATI             PR         00674
   689205 JUAN A ROSARIO NIEVES                       URB VILLA VERDE             D 15 CALLE 4                                                                             BAYAMON            PR         00959
   689206 JUAN A ROSARIO PAGAN                        P O BOX 1178                                                                                                         AGUAS BUENAS       PR         00703
                                                                                  BO JAGUAS VENTANAS CARR 145
   689207 JUAN A ROSARIO SANTIAGO                     QUINTAS DE CIALES           KM 2 5                                                                                   CIALES             PR         00638
          JUAN A ROSARIO Y LYDIA
   252417 CUBERO                                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689209 JUAN A ROVIRA NAZARIO                       PO BOX 2005                                                                                                          ARECIBO            PR         00613
          JUAN A RUIZ & LAURA SOTO
   689210 HERNANDEZ                                   CH 4 BOX 46807                                                                                                       HATILLO            PR         00659
   252418 JUAN A RUIZ FIGUEROA                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689211 JUAN A RUIZ LASALLE                         849 BO SANTAN                                                                                                        ARECIBO            PR         00612‐6812
   252419 JUAN A RUIZ MARTINEZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689213 JUAN A RULLAN VERA                          PO BOX 993                                                                                                           LARES              PR         00669
   252420 JUAN A SALA RIVERA                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689214 JUAN A SALAS ACEVEDO                        PO BOX 113                                                                                                           AGUADILLA          PR         00605
   689215 JUAN A SALAS MATTA                          LEVITTOWN                   CJ 10 CALLE DR GUZMAN                                                                    TOA BAJA           PR         00969
   252421 JUAN A SALDANA NOGUE                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689216 JUAN A SAMALOT SOLER                        PO BOX 882                                                                                                           ISABELA            PR         00662‐0882
   252422 JUAN A SANCHEZ CUSTODIO                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252423 JUAN A SANCHEZ MULERO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252424 JUAN A SANCHEZ RIOS                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252425 JUAN A SANCHEZ RIVERA                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689218 JUAN A SANCHEZ RIVOLEDA                     PO BOX 20015                                                                                                         SAN JUAN           PR         00928‐0015
   252426 JUAN A SANCHEZ SANCHEZ                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689219 JUAN A SANTANA RODRIGUEZ                    EXTENSION PEREYO            C 13 DR PALAU                                                                            HUMACAO            PR         00791
   252427 JUAN A SANTANA VELAZQUEZ                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689220 JUAN A SANTIAGO                             PO BOX 594                                                                                                           BAJADERO           PR         00616
   252428 JUAN A SANTIAGO CUADRA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252429 JUAN A SANTIAGO DEL VALLE                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689224 JUAN A SANTIAGO GONZALEZ                    680 FRANKLIN AVEL                                                                                                    BROKLYN            NY         11238

   689225 JUAN A SANTIAGO HERNANDEZ                   PO BOX 1126                                                                                                          JAYUYA             PR         00664
   689226 JUAN A SANTIAGO MEJIAS                      PARCELAS EL TUQUE           1271 CALLE PEDRO SHUCK                                                                   PONCE              PR         00731
   252432 JUAN A SANTIAGO ORTIZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252433 JUAN A SANTIAGO PEREZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252434 JUAN A SANTIAGO RUIZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689228 JUAN A SANTOS BERRIOS                       PO BOX 9102                                                                                                          HUMACAO            PR         00792



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  689229 JUAN A SANTOS FONTAN                         P O BOX 1355                                                                                                       MOROVIS             PR         00687
  252435 JUAN A SANTOS RIVERA                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  689230 JUAN A SANTOS RODRIGUEZ                      8005 N 14TH ST                                                                                                     TAMPA               FL         33604
  689231 JUAN A SANTOS ROLON                          PO BOX 795                                                                                                         TOA ALTA            PR         00954‐0795
  688927 JUAN A SANTOS SERRANO                        ABRA SAN FRANCISCO           BOX 1                                                                                 ARECIBO             PR         00612

   689232 JUAN A SANTOS TORRES                        BO EL TUQUE                  CALLE RAFAEL MARTINEZ NADAL NUM 200                                                   PONCE               PR         00731
   252436 JUAN A SANTOS VELEZ                         REDACTED                     REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689233 JUAN A SARDUI NICOLAS                       RES YUQUIYU                  EDIF 3 APT 18                                                                         LOIZA               PR         00772
   689234 JUAN A SEGARRA BRACERO                      575 SUR CALLE POST                                                                                                 MAYAGôEZ            PR         00680
   252437 JUAN A SEMIDEI VELEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689235 JUAN A SEPULVEDA                            Georgetti #46                                                                                                      Caguas              PR         00725

   689238 JUAN A SEPULVEDA RODRIGUEZ                  P O BOX 251                                                                                                        LAS PIEDRAS         PR         00771
   252438 JUAN A SERRANO ALVAREZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688852 JUAN A SERRANO PEREZ                        URB SANTA JUANITA            A L 20 CALLE 30                                                                       BAYAMON             PR         00956
   689239 JUAN A SERRANO TORRES                       EMBALSE SAN JOSE             380 CALLE CALAF                                                                       SAN JUAN            PR         00923
   689240 JUAN A SOLTERO LOPEZ                        HC 02 BOX 8621                                                                                                     AGUADILLA           PR         00603‐9614
   252439 JUAN A SOSA HERNANDEZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689242 JUAN A SOSA MATOS                           COND PLAZA DEL ESTE          APTO 40                                                                               CANOVANAS           PR         00729
   689243 JUAN A SOTO ARROYO                          16 RES LLORENS TORRES        APT 323                                                                               SAN JUAN            PR         00913‐6810
   689246 JUAN A SOTO GONZALEZ                        URB JARDINES DE TOA ALTA     303 CALLE 7                                                                           TOA ALTA            PR         00953
   252440 JUAN A SOTO GUTIERREZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252442 JUAN A SOTO MOLINA                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689249 JUAN A SOTO MORALES                         BO CAPA                      CARR 125 KM 13 3                                                                      MOCA                PR         00676
   252443 JUAN A SOTO ROMAN                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN A SOTOMAYOR Y/O ADA D
   252444 CLAVEL CAMPOS                               REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252445 JUAN A SUAREZ MELENDEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689251 JUAN A SUAREZ OCASIO                        JARDINES DE CAPARRA          N31 CALLE 21                                                                          BAYAMON             PR         00959
   689252 JUAN A SUAREZ RIVERA                        18 BO BOU                                                                                                          COROZAL             PR         00783
   252447 JUAN A TAPIA ORTIZ                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252448 JUAN A TELLADO CHICLANA                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689253 JUAN A TEXIDOR GARCIIA                      P O BOX 1404                                                                                                       MAUNABO             PR         00707
   252450 JUAN A TIRADO RIOS                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689255 JUAN A TOLEDO HERNANDEZ                     HC 2 BOX 3825                                                                                                      LUQUILLO            PR         00773
   252451 JUAN A TORRES                               REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252452 JUAN A TORRES BARRETO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689256 JUAN A TORRES BERRIOS                       HC 2 BOX 7778                                                                                                      AIBONITO            PR         00705
   252453 JUAN A TORRES BURGOS                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252454 JUAN A TORRES CABAN                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689257 JUAN A TORRES CORTES                        URB CANA                     A 533 CALLE LOS CEDROS                                                                PONCE               PR         00731
   252455 JUAN A TORRES DE LA TORRE                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   689258 JUAN A TORRES GLUEX                         300 AVE LOS FILTROS SUITE 5101                                                                                     GUAYNABO            PR         00971
   252456 JUAN A TORRES GONZALEZ                      REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252457 JUAN A TORRES MARTINEZ                      REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689259 JUAN A TORRES MATEO                         PO BOX 372500                                                                                                      CAYEY               PR         00737‐2500
   689260 JUAN A TORRES NIEVES                        HC 03 BOX 34087                                                                                                    AGUADILLA           PR         00603
   252459 JUAN A TORRES RAMIREZ                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689261 JUAN A TORRES RODRIGUEZ                     PO BOX 679                                                                                                         SAN SEBASTIAN       PR         00685
   252460 JUAN A TORRES SANTIAGO                      REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252461 JUAN A TORRES SANTOS                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  252462 JUAN A TORRES TORRES                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  252463 JUAN A TORRES VELEZ                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  252464 JUAN A TOSADO POLANCO                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689263 JUAN A TRABAL VILLALOBOS                      113 SECTOR PITILLO                                                                                                 MAYAGUEZ          PR         00682‐7324
  689264 JUAN A VALDES LAZO                            PO BOX 820                                                                                                         BAJADERO          PR         00616
  252466 JUAN A VALENTIN CLAUDIO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689265 JUAN A VALENTIN FUENTES                       HC 01 BOX 5875                                                                                                     CAMUY             PR         00627
  252467 JUAN A VALENTIN MATOS                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         JUAN A VALENTIN/ JOSEFA RIOS
  252468 VAZQUEZ                                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  252469 JUAN A VALIENTE MARRERO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689266 JUAN A VALLE MERCADO                          URB JDNS DEL CARIBE          115 CALLE 19                                                                          PONCE             PR         00731
  252470 JUAN A VAZQUEZ ADORNO                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689270 JUAN A VAZQUEZ BATISTA                        PMB 435                      PO BOX 2500                                                                           TOA BAJA          PR         00951

   689271 JUAN A VAZQUEZ HERNANDEZ                     HC 01 BOX 4315                                                                                                     COROZAL           PR         00783
   252471 JUAN A VAZQUEZ JIMENEZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689272 JUAN A VAZQUEZ RIVERA                        HC 04 BOX 6695                                                                                                     COROZAL           PR         00783
   689273 JUAN A VAZQUEZ VEGA                          BO COCO NUEVO                227 CALLE BARBOSA                                                                     SALINAS           PR         00751
   688864 JUAN A VEGA BURGOS                           HC‐01 Box 17147                                                                                                    Humacoa                      00791‐9736
   252472 JUAN A VEGA CRUZ                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252473 JUAN A VEGA RIVERA                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689274 JUAN A VEGA SANTIAGO                         PO BOX 1459                                                                                                        CIALES            PR         00638
   689275 JUAN A VEGA SANTOS                           PO BOX 89                                                                                                          LOIZA             PR         00772
   252474 JUAN A VELAZQUEZ SANCHEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   252475 JUAN A VELAZQUEZ VELAZQUEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252476 JUAN A VELEZ                                 REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252477 JUAN A VELEZ CABRERA                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252478 JUAN A VELEZ DIAZ                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689277 JUAN A VELEZ QUI¥ONES                        8012 AVE JOBOS                                                                                                     ISABELA           PR         00662
   252479 JUAN A VELEZ RIVERA                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689279 JUAN A VERA                                  PO BOX 785                                                                                                         MOROVIS           PR         00687
   252480 JUAN A VICTORIA GARCIA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689281 JUAN A VIERA MIRAMDA                         CONDADO MODERNO              M 7 CALLE 18                                                                          CAGUAS            PR         00725
   252481 JUAN A VILLAFANE                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252482 JUAN A VILLALOBOS COLON                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252483 JUAN A VILLANUEVA MATOS                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689284 JUAN A VILLETA TRIGO                         PO BOX 360240                                                                                                      SAN JUAN          PR         00936‐0240
          JUAN A Y PRIMITIVO RIVERA
   689285 RIVERA                                       PO BOX 351                                                                                                         BARCELONETA       PR         00617
   689286 JUAN A ZAPATA VAZQUEZ                        6 CALLE LIBERTAD                                                                                                   SAN GERMAN        PR         00683
   689287 JUAN A ZAYAZ GOMEZ                           P.O. BOX 1108                                                                                                      AGUAS BUENAS      PR         00703
          JUAN A. ALDARONDO
   252486 HERNANDEZ                                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                    1758 CALLE 24 SO URB LAS
   689288 JUAN A. ALVARADO ZAYAS                       LAS LOMAS CALLE              LOMAS                                                                                 SAN JUAN          PR         00921
   689289 JUAN A. ARSUAGA ALVAREZ                      SUITE 112 MSC 169 100 GRAN   BULEVAR PASEOS                                                                        SAN JUAN          PR         00926
   252487 JUAN A. BALLESTER RIVERA                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689290 JUAN A. CAINS BORIA                          URB PARK GARDENS             A13 CALLE MARACAIBO                                                                   SAN JUAN          PR         00926
   252489 JUAN A. COLON DIAZ                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252490 JUAN A. DE JESUS RODRIGUEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252491 JUAN A. DE JESUS RUBETS                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  252492 JUAN A. DEL VALLE CELEZ                      REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  689294 JUAN A. FERNANDEZ RIVERA                     ALT VILLA DEL REY               Q4 CALLE SUIZA                                                                           CAGUAS              PR         00725
  252493 JUAN A. FIGUEROA CRUZ                        REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  252495 JUAN A. GALARZA PEDROSA                      REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  689295 JUAN A. GONZALEZ ACOSTA                      P O BOX 2390                                                                                                             SAN JUAN            PR         00919
  252496 JUAN A. GONZALEZ CLAUDIO                     REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  689296 JUAN A. GONZALEZ JIMENEZ                     P. O. BOX 329                                                                                                            CIDRA               PR         00739
  252497 JUAN A. GONZALEZ SANCHEZ                     REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  689297 JUAN A. HERNANDEZ                            URB BERWIND ESTATES             K20 CALLE 10                                                                             SAN JUAN            PR         00924‐5720
  252498 JUAN A. HERNANDEZ TORRES                     REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  252499 JUAN A. LASTRA ARACIL                        REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  252501 JUAN A. MELENDEZ BORGES                      REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      URB. VILLAS DEL REY V‐9 CALLE9‐
   689299 JUAN A. MOLINA CANDELARIO                   A                                                                                                                        CAGUAS              PR         00725
   252502 JUAN A. NEGRON BERRIOS                      REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                      304 CALLE D # D INDUSTRIAL
   689302 JUAN A. RAMOS SANCHEZ                       CONDOMINIO CANTIZALEZ II        MINILLAS                                                                                 BAYAMON             PR         00959
   252503 JUAN A. REYES MALDONADO                     REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252504 JUAN A. RIOLLANOS CHICO                     REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689303 JUAN A. RIVERA MEDINA                       HC‐02 BOX 7077                                                                                                           ADJUNTAS            PR         00601‐9614
   689304 JUAN A. RIVERA MELECIO                      P O BOX 757                                                                                                              DORADO              PR         00646‐0757
                                                                                      JJ6 CALLE 34 URB CASTELLANA
   689305 JUAN A. RIVERA SALAMANCA                    CASTELLANA GARDENS              GDN                                                                                      CAROLINA            PR         00983

   252505 JUAN A. RODRIGUEZ FIGUEROA                  REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252506 JUAN A. ROMAN MERCADO                       REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252507 JUAN A. ROMAN PAGAN                         REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252508 JUAN A. RUANO OROZCO                        REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252509 JUAN A. RUIZ PEREZ                          REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   252510 JUAN A. SANTIAGO HERNANDEZ                  REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252511 JUAN A. SANTIAGO RIVERA                     REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252512 JUAN A. SOMOZA MARTINEZ                     REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689306 JUAN A. SOTOMAYOR SANTOS                    PO BOX 3264                                                                                                              AGUADILLA           PR         00605
   252513 JUAN A. TORRES LEBRON                       REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252514 JUAN A. TORRES RODRIGUEZ                    REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252518 JUAN A.MASSA VELAZQUEZ                      REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689308 JUAN A.RODRIGUEZ COLON                      HP ‐ Forense RIO PIEDRAS                                                                                                 Hato Rey            PR         009360000
   252519 JUAN ACABA AGOSTO                           REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689309 JUAN ACEVEDO BAUZA                          554 EAST 149TH STREET 5                                                                                                  BRONX               NY         10455
   252520 JUAN ACEVEDO FONSECA                        REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689310 JUAN ACEVEDO GONZALEZ                       HC 59 BOX 5248                                                                                                           AGUADA              PR         00602
   689311 JUAN ACEVEDO MARTINEZ                       VICTOR ROJAS 2                 102 CALLE 6                                                                               ARECIBO             PR         00612
   689313 JUAN ACOSTA CINTRON                         1 EXT BACO                                                                                                               ENSENADA            PR         00647
   689314 JUAN ACOSTA ESCOTOLIFF                      ALTURAS DE SAN JUAN            BO OBRERO 415                                                                             SAN JUAN            PR         00915
   252521 JUAN ACOSTA GARCIA                          REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252522 JUAN ACOSTA RUIZ                            REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689315 JUAN ADAMES PEREZ                           HC 2 BOX 78631                                                                                                           CAMUY               PR         00627
   689316 JUAN ADAMS LARA                             BOX 13                         2044 AVE BORINQUEN                                                                        SAN JUAN            PR         00915
          JUAN ADOLFO MORALES
   689317 HERNANDEZ                                   LAS CUMBRES                    BOX 929                                                                                   SAN JUAN            PR         00926
   689318 JUAN ADOLFO SINGER                          SIRACUSA 2249                                                                                                            MONTEVIDEO                                  URUGUAY
   252523 JUAN ADORNO ALVAREZ                         REDACTED                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  689319 JUAN ADORNO FIGUEROA                         PO BOX 1583                                                                                                           TRUJILLO ALTO      PR         00977
  252524 JUAN ADORNO PENA                             REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689320 JUAN AGOSTO PEREZ                            LOMAS COLES                   HC 1 BOX 7913                                                                           CANOVANAS          PR         00729
  689321 JUAN AGOSTO RIVERA                           RR 1 BOX 14750                                                                                                        MANATI             PR         00674
  688865 JUAN AGOSTO VEGA                             VILLA PALMERAS                405 CALLE WILLIAMS                                                                      SAN JUAN           PR         00915 4206
  689323 JUAN ALACAN VIERA                            BO ESPINAR BOX 1174                                                                                                   AGUADA             PR         00602
  252526 JUAN ALBELO SANCHEZ                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   689324 JUAN ALBERTO DELGADO BIAGGI SAN PATRICIO APTS                             14 AVE SAN PATRICIO APT907                                                              GUAYNABO           PR         00968
   689325 JUAN ALBERTO DEVARIE        HC 01 BOX 5603                                                                                                                        ARROYO             PR         00714
   252528 JUAN ALBERTO ESCALERA       REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   252529 JUAN ALBERTO FIGUEROA VEGA                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689327 JUAN ALBERTO PRIETO                         200 ANAIDA GARDEN             APT 201                                                                                 PONCE              PR         00731
   252530 JUAN ALBERTO PRIETO SUST                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JUAN ALBERTO ROMERO
   252531 RODRIGUEZ                                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JUAN ALBERTO SANTIAGO
   252532 GONZALEZ                                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689328 JUAN ALBINO RODRIGUEZ                       VILLA DEL CARMEN              AB 5 CALLE 2A                                                                           GURABO             PR         00778
   252534 JUAN ALBINO TORRES                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689332 JUAN ALEJANDRO CHEVREZ                      BO GUADIANA                   HC 73 BOX 5398                                                                          NARANJITO          PR         00719

   252535 JUAN ALEJANDRO RODRIGUEZ                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   252537 JUAN ALEXIS MARQUEZ RIVERA                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JUAN ALEXIS MELENDEZ
   252538 ALGARIN                                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689334 JUAN ALGARIN PIMENTEL                       URB VILLA DE CANEY            G4 CALLE YUISA                                                                          BAYAMON            PR         00976
   252539 JUAN ALICEA COSME                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   689336 JUAN ALICEA COTTO                           URB EL VERDE E‐3 CALLE ESTE                                                                                           CAGUAS             PR         00725
          JUAN ALICEA GARCIA ,JOSE
   252540 BURGOS BURGOS &                             REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252541 JUAN ALICEA LOPEZ                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252542 JUAN ALICEA MERCADO                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252543 JUAN ALICEA RENTAS                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689337 JUAN ALMODOVAR                              BAIROA PARK                   JON REQUIRO 2‐69                                                                        CAGUAS             PR         00725
   689338 JUAN ALMODOVAR OLIVERA                      BO PARAISO                    BOX 8705                                                                                FAJARDO            PR         00738
   689339 JUAN ALMODOVAR VEGA                         RES. LA TORRE BUZON 105                                                                                               SABA GRANDE        PR         00637
   252545 JUAN ALONSO                                 REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252546 JUAN ALVARADO MORALES                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   688866 JUAN ALVAREZ                                COND TORRE DEL PARQUE         1700 F MONTILLA APT 1001                                                                BAYAMON            PR         00956 3659
   252548 JUAN ALVAREZ CASTRILLON                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JUAN ALVAREZ LEBRON LUZ
   252549 COLLAZO VAZQUEZ                             REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252550 JUAN ALVAREZ MERCADO                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      PO BOX 3355 BAYAMON
   689341 JUAN ALVAREZ O'NEILL                        GARDENS STA                                                                                                           BAYAMON            PR         00958
   689342 JUAN ALVAREZ PAGAN                          LAS GARDENIAS                 27 CALLE CLAVEL                                                                         MANATI             PR         00674
   689343 JUAN ALVAREZ RAMIREZ                        A 6 VISTAMAR PLAZA                                                                                                    CAROLINA           PR         00983
   689344 JUAN ALVAREZ VELAZQUEZ                      HC 5 BOX 91486                                                                                                        ARECIBO            PR         00612
   689345 JUAN ALVAREZ VELEZ                          HC 01 BOX 7502                                                                                                        CABO ROJO          PR         00623‐9706



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  689346 JUAN ALVIRA CINTRON                          P O BOX 1732                                                                                                   CAROLINA            PR           00984‐1732
  689348 JUAN AMIL RAMOS                              URB IRLANDA HEIGHTS     FG 16 CALLE POLARIS                                                                    BAYAMON             PR           00957
         JUAN AND ROSA RODRIGUEZ
  252553 ESTATE                                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  689349 JUAN ANDINO LABOY                            HC 3 BOX 9992                                                                                                  YABUCOA             PR           00767
  689350 JUAN ANDINO TORRES                           HC 02 BOX 12530                                                                                                YABUCOA             PR           00767 9802

   252554 JUAN ANDRES AGOSTO CONRAD REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   252555 JUAN ANDRES CINTRON RAMOS REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   689351 JUAN ANDRES GONZALEZ RIOS                   ALT CASTELLANA          BB 26 CASTILLA                                                                         CAROLINA            PR           00983
   689352 JUAN ANDUJAR CORTES                         BO ANGELES              BOX 53                                                                                 UTUADO              PR           00611
   689353 JUAN ANDUJAR LEBRON                         B A 56 URB STELLA                                                                                              GUAYANILLA          PR           00656
   252556 JUAN ANGEL MATEO TORRES                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   252557 JUAN ANGEL MOJICA ROCHE                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JUAN ANGEL NOGUERAS
   689354 RODRIGUEZ                                   PO BOX 372996                                                                                                  CAYEY               PR           00737
   689355 JUAN ANGEL SANTANA SUAZO                    PO BOX 191225                                                                                                  SAN JUAN            PR           00919‐1225
          JUAN ANTONIO DE LA PAZ
   252559 RODRIGUEZ                                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   689358 JUAN ANTONIO DIAZ ALVAREZ                   PO BOX 191118                                                                                                  SAN JUAN            PR           00919‐1118

   252561 JUAN ANTONIO FALERO FLORES                  REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   252562 JUAN ANTONIO FERNANDEZ                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JUAN ANTONIO GARCIA
   689359 GONZALEZ                                    URB FLORAL PARK         511 CALLE ITALIA‐INTERIOR                                                              SAN JUAN            PR           00917
   252564 JUAN ANTONIO LOPEZ                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   252565 JUAN ANTONIO LOTTI ORAN                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   689360 JUAN ANTONIO MATOS JIMENEZ HC 05 BOX 27000                                                                                                                 CAMUY               PR           00627
          JUAN ANTONIO NAZARIO
   689361 TOERRES                    PO BOX 1082                                                                                                                     MANATI              PR           00674‐1082

   689362 JUAN ANTONIO OCASIO AGOSTO CALLE BLANCA 32 PDA 18 1/2                                                                                                      SANTURCE            PR           00907

   252567 JUAN ANTONIO ORTIZ ROMAN                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   252568 JUAN ANTONIO PEREZ GARCIA                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   689364 JUAN ANTONIO RAMOS SOTO                     URB LOMAS VERDES        4M 18 CALLE OLIVA                                                                      BAYAMON             PR           00956
   689365 JUAN ANTONIO RIVERA                         PUERTO NUEVO            306 CALLE 3 NE                                                                         SAN JUAN            PR           00920
   252569 JUAN ANTONIO ROIG OLIVARI                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JUAN ANTONIO SANCHEZ
   252570 RODRIGUEZ                                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JUAN ANTONIO SANDOZ DE LA
   252572 CRUZ                                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   252573 JUAN ANTONIO VAZQUEZ                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   689366 JUAN APONTE CORDOVA                         URB BORINQUEN           J 5 CALLE 5                                                                            CABO ROJO           PR           00623
          JUAN APONTE CRUZ / HILDA
   252574 ROSA APONTE                                 REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   252575 JUAN APONTE FEBUS                           REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   689367 JUAN APONTE ORTIZ                           204 COLLINS ST APT 1E                                                                                          HARTFORD            CT           06105



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  689368 JUAN APONTE OSARIO                           COM MATA DE PLATANO   PARCELA R 5                                                                             LUQUILLO            PR         00773
  252576 JUAN APONTE PELAEZ                           REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  689369 JUAN APONTE PIZARRO                          URB PUERTO NUEVO      403 CALLE ARAGON APT 2                                                                  SAN JUAN            PR         00920
  689370 JUAN APONTE RUIZ                             BELLA VISTA           O 34 CALLE 18                                                                           BAYAMON             PR         00957
         JUAN AQUINO / BLANCA P
  252577 NIEVES                                       REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  252578 JUAN AQUINO CRESPO                           REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  689371 JUAN ARCE ALAMEDA                            P O BOX 2493                                                                                                  ISABELA             PR         00662
  252579 JUAN ARENAS GONZALEZ                         REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  252580 JUAN ARIEL LOPEZ GONZALEZ                    REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JUAN ARMANDO CAUSSADE
  689372 VEGLIO                                       URB MIRADOR BAIROA    2 T 63 CALLE 29                                                                         CAGUAS              PR         00725
  689373 JUAN ARROYO                                  PO BOX 154                                                                                                    HUMACAO             PR         00741

   689374 JUAN ARROYO / ENEIDA SIERRA URB LA CUMBRE                         497 EMILIANO POL SUITE 377                                                              SAN JUAN            PR         00926‐5636
   252581 JUAN ARROYO RIOS              REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252582 JUAN ARROYO RODRIGUEZ         REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689375 JUAN ARROYO SANTIAGO          HC 01 BOX 18421                                                                                                             COAMO               PR         00769
   252583 JUAN ARVELO CLASS             REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689376 JUAN ARZUAGA CABRERA          RES LOS DOMINICOS                   EDF B 3 APT 41                                                                          BAYAMON             PR         00957
   252584 JUAN ARZUAGA SANCHEZ          REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN ASENCIO 1 SECTOR LA TIZA
   252585 INC                           PO BOX 476                                                                                                                  AGUAS BUENAS        PR         00703
   252586 JUAN ATILES RIVERA            REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252587 JUAN AVILES CORDERO           REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689379 JUAN AVILES GONZALEZ          HC 01 BOX 3237                                                                                                              LARES               PR         00669
   689380 JUAN AVILES RIVERA            P O BOX 887                                                                                                                 BARCELONETA         PR         00617
   689381 JUAN AVILES SANTIAGO          PO BOX 11023                                                                                                                SAN JUAN            PR         00922‐1023
   689383 JUAN AYALA                    345 HAMILTON AV                                                                                                             RIVERHEAD           NY         11901
   689384 JUAN AYALA ACEVEDO            P O BOX 407                                                                                                                 CIALES              PR         00638
   252588 JUAN AYALA CRUZ               REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689386 JUAN AYALA GARAY              HC 4 BOX 48164                                                                                                              CAGUAS              PR         00725
   252590 JUAN AYALA NATER              REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252591 JUAN AYALA ONEIL              REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252592 JUAN AYALA ROBLES             REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689387 JUAN AYALA SERRANO            P O BOX 1473                                                                                                                BAYAMON             PR         00959
   252593 JUAN AYALA VAZQUEZ            REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252595 JUAN B ADAMES SOTO            REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689390 JUAN B ARROYO RIVERA          BO CEIBA                            RR 02 BOX 7901                                                                          CIDRA               PR         00739
   689391 JUAN B AYALA ALVAREZ          RR I BOX 13921                                                                                                              TOA ALTA            PR         00953‐9732
   252596 JUAN B AYALA SOTO             REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252597 JUAN B BERNAL VERA            REDACTED                            REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689393 JUAN B CANTERO MARTINEZ       P O BOX 70184                                                                                                               SAN JUAN            PR         00936‐8184
   689394 JUAN B CARMONA SANTIAGO       URB VILLA DEL MONTE                 49 CALLE MONTREAL                                                                       TOA ALTA            PR         00953

   689395 JUAN B CARROMERO SANTIAGO VILLA CAROLINA                          188‐9 CALLE 517                                                                         CAROLINA            PR         00986
   252598 JUAN B CARTAGENA BAUZA    REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252599 JUAN B COLON COLON        REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                            200 AVE RAFAEL CORDERO STE
   689400 JUAN B COLON VALDEZ                         PMB 387               140                                                                                     CAGUAS              PR         00725‐5838
   689402 JUAN B CRESPO RODRIGUEZ                     PO BOX 1287                                                                                                   RIO GRANDE          PR         00745
   252600 JUAN B CRUZ RODRIGUEZ                       REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689403 JUAN B DE JESUS BONILLA                     URB FLAMINGO HILLS    183 CALLE G                                                                             BAYAMON             PR         00957



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  689404 JUAN B DE JESUS GONZALEZ                      RR 3 BOX 6854                                                                                               CIDRA                PR         00739
  689405 JUAN B DEL VALLE RIVERA                       URB SANTA ELVIRA       C 3 CALLE SANTA CECILIA                                                              CAGUAS               PR         00725
  252601 JUAN B ESCALERA MELENDEZ                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         JUAN B FELICIANO Y LOIDA R
  252602 FOURNIER                                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  689408 JUAN B FONSECA LOZANO                         56 CALLE VIZCARRONDO                                                                                        CAGUAS               PR         00725
  252603 JUAN B FUENTES REYES                          REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  252604 JUAN B GARCIA NEGRON                          REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  252605 JUAN B JIMENEZ RODRIGUEZ                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  689411 JUAN B MALDONADO RIVERA                       ALT VILLA DEL REY      G10 CALLE DAMASCO                                                                    CAGUAS               PR         00727‐6745
  689413 JUAN B MARRERO TORRES                         LA TROCHA              170 B CALLE ROBLE                                                                    VEGA BAJA            PR         00693

   689414 JUAN B MARTINEZ MALDONADO URB PARK GARDENS                          D19 CALLE 7A                                                                         SAN JUAN             PR         00926‐2151
                                    RES GUARICO III CALLE 9
   689415 JUAN B MARTINEZ TIRADO    BLOQUE T7                                                                                                                      VEGA BAJA            PR         00693
   252606 JUAN B MARTINEZ VAZQUEZ   REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689416 JUAN B MATOS MORALES      50 BDA ROSA                                                                                                                    MANATI               PR         00674
   252607 JUAN B MEDINA COLON       REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689417 JUAN B MENDEZ TORRES      P O BOX 583                                                                                                                    LARES                PR         00669
   689418 JUAN B MILAN CORDERO      PO BOX 79707                                                                                                                   SAN JUAN             PR         00929
   689419 JUAN B MIRANDA CRUZ       URB CANA                                  HH 16 CALLE 25                                                                       BAYAMON              PR         00957
   689420 JUAN B MORALES CRUZ       HC 1 BOX 5034                                                                                                                  YABUCOA              PR         00767
   689421 JUAN B MORALES NUNCI      HC 01 BOX 3136                                                                                                                 LAJAS                PR         00667‐9702
   689422 JUAN B MORALES VELEZ      BDA ESPERANZA CALLE C 4                                                                                                        GUANICA              PR         00653
   252608 JUAN B MUNIZ SUAREZ       REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689423 JUAN B NORIEGA MEDINA     URB ROOSEVELT 377                         CALLE JOSE R ACOSTA                                                                  SAN JUAN             PR         00918
   252609 JUAN B OLMEDA RIVERA      REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JUAN B ORTIZ / SYLVIA J
   689425 RODRIGUEZ                 HC 3 BOX 11517                                                                                                                 YABUCOA              PR         00767
   689426 JUAN B ORTIZ LOPEZ        C/O JUAN ROSARIO LOPEZ                    P O BOX 190917                                                                       SAN JUAN             PR         00919‐0917
   689427 JUAN B ORTIZ RAMOS        RES LUIS LLORENS TORRES                   EDIF 43 APT 867                                                                      SAN JUAN             PR         00915
   689428 JUAN B PADILLA GONZALEZ   VILLA ANDALUCIA                           301 CALLE RONDA                                                                      SAN JUAN             PR         00926
   689429 JUAN B PEREZ CORTES       BO CUCHILLAS                              HC 02 BOX 10819                                                                      MOCA                 PR         00676
   689388 JUAN B PEREZ PEREZ        HC 03 BOX 124523                                                                                                               MOCA                 PR         00676
   252610 JUAN B PEREZ RIVERA       REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689432 JUAN B PEREZ SANCHEZ      JARDINES DE GURABO                        43 CALLE 3 A                                                                         GURABO               PR         00778
   252611 JUAN B RAMOS RAMOS        REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689433 JUAN B REYES RAMOS        URB VILLA DEL REY                         4Q 30 CALLE 8                                                                        CAGUAS               PR         00725
   689434 JUAN B RIOS RIVAS         HC 2 BOX 10258                                                                                                                 COROZAL              PR         00783‐9800
   252612 JUAN B RIVERA             REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   252613 JUAN B RIVERA CLEMENTE    REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689436 JUAN B RIVERA PLAZA       P O BOX 679                                                                                                                    ADJUNTAS             PR         00601
   689437 JUAN B RIVERA RODRIGUEZ   P O BOX 2042                                                                                                                   CAYEY                PR         00737
   252616 JUAN B RODRIGUEZ ACEVEDO  REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689438 JUAN B RODRIGUEZ COLLAZO  HC 1 BOX 3331                                                                                                                  LAS MARIAS           PR         00670
   252617 JUAN B RODRIGUEZ MATTTEI  REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689439 JUAN B RODRIGUEZ MOLINA   VILLA CAROLINA                            110 332 CALLE 81                                                                     CAROLINA             PR         00985
   252618 JUAN B ROMAN TORRES       REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689440 JUAN B ROSA               COMUNIDAD CAPIRO                          736 CALLE COMUNIDAD                                                                  ISABELA              PR         00662
   689389 JUAN B ROSARIO MILLAN     P O BOX 812                                                                                                                    GURABO               PR         00778
                                    262 BO GALATEO SECTOR VILLA
   689442 JUAN B RUIZ ANAIRO        JOSCO                                                                                                                          TOA ALTA             PR         00953
   689443 JUAN B SAMPOLL SOBA       REPARTO ANAIDA                            H 4 CALLE 5                                                                          PONCE                PR         00716



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  252619 JUAN B SANCHEZ LINARES                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  689446 JUAN B SANTIAGO RIVERA                       PMB 38                         PO BOX 819                                                                             LARES                PR         00669
  689447 JUAN B SANTIAGO SANTIAGO                     P O BOX 973                                                                                                           COAMO                PR         00769
  689449 JUAN B SOTO BALBAS                           PO BOX 9023980                                                                                                        SAN JUAN             PR         00902‐3980
  689450 JUAN B SOTO HERNANDEZ                        P O BOX 90                                                                                                            LARES                PR         00669
  252620 JUAN B SOTO MUNOZ                            REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  252621 JUAN B SOTO OCASIO                           REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  252622 JUAN B SOTO RODRIGUEZ                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  252623 JUAN B SOTO SASTRE                           REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                      COOP JARDINES DE SAN
   689451 JUAN B SOTOMAYOR RIVERA                     FRANCISCO                      EDIF 1 APT 216                                                                         SAN JUAN             PR         00927
                                                                                     800 CALLE PIEDRAS NEGRAS APT
   689452 JUAN B TOMASSINI PARES                      COND LAS VEREDAS DE VENUS      4304                                                                                   SAN JUAN             PR         00926
   252624 JUAN B TORRES MARTINEZ                      REDACTED                       REDACTED                     REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   252625 JUAN B TORRES RAMIREZ                       REDACTED                       REDACTED                     REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689453 JUAN B VELEZ ANDUJAR                        P O BOX 40504                                                                                                         SAN JUAN             PR         00940‐0504
   689455 JUAN B VELEZ CARRASQUILLO                   BO SAN ANTONIO                 HC 5 BOX 53183                                                                         CAGUAS               PR         00725
   252626 JUAN B. APONTE MIRANDA                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689459 JUAN B. AQUINO ROBLES                       P.O. BOX 50072                                                                                                        TOA BAJA             PR         00950‐0072
   689460 JUAN B. CORA MORALES                        BO PITAHAYA                    PO BOX 584                                                                             ARROYO               PR         00714
   689463 JUAN B. JIMENEZ DEL VALLE                   URB LOS MAESTROS               804 CALLE JOSE B ACEVEDO                                                               SAN JUAN             PR         00923
   689464 JUAN B. LOPEZ                               PO BOX 1594                                                                                                           SAN SEBASTIAN        PR         00685
   689466 JUAN B. MENDEZ ESTRADA                      BO ESPINO                      HC 3 BOX 8744                                                                          LARES                PR         00669
   689468 JUAN B. TORRES ROSADO                       BO BAYAMON                     PO BOX 1023                                                                            CIDRA                PR         00739

   689469 JUAN B. VAZQUEZ FUENTES JR.                 REPTO. TERESITA AN‐16 CALLE 33                                                                                        BAYAMON              PR         00961
   252631 JUAN BAEZ GONZALEZ                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   252632 JUAN BAEZ MELENDEZ                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689471 JUAN BAEZ MONTANEZ                          HC 2 BOX 31406                                                                                                        CAGUAS               PR         00725
   252633 JUAN BAEZ NAVARRO                           REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689472 JUAN BAEZ RIVERA                            VILLA COOPERATIVA              G 15 CALLE 9                                                                           CAROLINA             PR         00985
   252634 JUAN BAEZ SANCHEZ                           REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   252635 JUAN BARBOSA BARBOSA                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689474 JUAN BARLUCEA CORDOVES                      PO BOX 674                                                                                                            ADJUNTAS             PR         00601
   252636 JUAN BARNES LLINAS                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   252637 JUAN BARRERA RODRIGUEZ                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689476 JUAN BARRETO HERNANDEZ                      HC 3 BOX 9926                                                                                                         CAMUY                PR         00627‐9707
   689477 JUAN BARRETO REYES                          PO BOX 135                                                                                                            OROCOVIS             PR         00720
   252638 JUAN BARRETO SOTO                           REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689478 JUAN BARRIOS PINO                           34 AVE SOL                                                                                                            VEGA BAJA            PR         00694
   252639 JUAN BATISTA ALAMO                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   252640 JUAN BATISTA COTTO                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   252641 JUAN BATISTA GARCIA GOMEZ                   REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689481 JUAN BATISTA PEREZ                          URB SAN GERARDO                1560 CALLE ASTORIA                                                                     SAN JUAN             PR         00926
   689482 JUAN BAUTISTA                               TERRAZAS DE CUPEY              E 13 CALLE 3                                                                           TRUJILLO ALTO        PR         00976
   689483 JUAN BAUTISTA LOPEZ PAGAN                   URB SANTA JUANITA              HH 26 CALLE 31                                                                         BAYAMON              PR         00956
          JUAN BAUTISTA MELENDEZ
   252642 TORRES                                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689484 JUAN BAUTISTA MENDEZ                        BO RABANAL BOX 2709                                                                                                   CIDRA                PR         00739
   252643 JUAN BAUTISTA REYES                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   252644 Juan Bautista Rivera Viera                  REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED




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          JUAN BAUTISTA VALENTIN
   252645 GONZALEZ                                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   252646 JUAN BAUZA DE AZUA                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   689485 JUAN BAUZA SALAS                            COND VILLAS DEL MANATI      232 AVE LAS PALMAS                                                                   MANATI              PR         00674
   252647 JUAN BENIGUEZ                               REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   689486 JUAN BENIQUEZ BENIQUEZ                      P O BOX 4549                                                                                                     CAROLINA            PR         00984
   252648 JUAN BENITEZ ALAMO                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JUAN BENITEZ ALAMO /
   252651 MECANICA BENITEZ                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   252652 JUAN BENITEZ GOITIA                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   252653 JUAN BENITEZ LAGUER                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   689489 JUAN BERGOLLO VILLANUEVA                    PO BOX 1111                                                                                                      MANATI              PR         00674
   689491 JUAN BERRIOS LOPEZ                          HC 4 BOX 4282                                                                                                    HUMACAO             PR         00791
   252655 JUAN BERRIOS SANTIAGO                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   689492 JUAN BERRIOS VELAZQUEZ                      URB. RIVERSIDE              PARK F‐7 CALLE 6                                                                     BAYAMON             PR         00961
   252656 JUAN BETANCOURT ALEMAN                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   252657 JUAN BETANCOURT MUNDO                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   252658 JUAN BIBILONI                               REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   252659 JUAN BIGIO RAMOS                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   252660 JUAN BISONO RODRIGUEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JUAN BLONDET SILVA Y AIDA
   252661 MENDEZ STEIN                                REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   689496 JUAN BOADA COLON                            EXT SAN ISIDRO              92 CALLE FIDEL VELEZ                                                                 SABANA GRANDE       PR         00637
   252662 JUAN BONEU MORALES                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   689497 JUAN BONILLA BEAUCHAMP                      HC 01 BOX 2499                                                                                                   CABO ROJO           PR         00623
   689498 JUAN BONILLA MEDINA                         39 URB MONTEMAR                                                                                                  AGUADA              PR         00602‐3032
   688868 JUAN BORGES ALICEA                          URB PASEO SOL Y MAR         623 CALLE PERLA                                                                      JUANA DIAZ          PR         00795
   689500 JUAN BORRERO VELEZ                          RR36 BOX 8230                                                                                                    SAN JUAN            PR         00926
   252663 JUAN BOTTA                                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   689501 JUAN BRAVO SILVA                            COLINAS DEL MARQUEZ         D 9 CALLE MONSERRATE                                                                 VEGA BAJA           PR         00693
   689502 JUAN BRUNO                                  161 CESAR GONZALEZ          BUZON 133                                                                            SAN JUAN            PR         00918
   252664 JUAN BUCH BARZAGA                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   689503 JUAN BURGOS                                 COMUNIDAD MARQUES           23 CALLE CAIMITO                                                                     MANATI              PR         00674
   689504 JUAN BURGOS COLON                           HC 71 BOX 7665                                                                                                   CAYEY               PR         00736
   252667 JUAN BURGOS CRUZ                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   689505 JUAN BURGOS MIRANDA                         2 CALLE DOMINGO SEPULVEDA                                                                                        JUANA DIAZ          PR         00795
   689507 JUAN BURGOS ORTIZ                           PO BOX 1266                                                                                                      GUAYNABO            PR         00970
   689512 JUAN C ABREU VARGAS                         HC 2 BOX 17200                                                                                                   YABUCOA             PR         00767‐9520
   689513 JUAN C ACEVEDO FIGUEROA                     HC 7 BOX 20732                                                                                                   AGUADILLA           PR         00603‐9316
   252668 JUAN C ACEVEDO MENDEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   252669 JUAN C ACEVEDO SANTA MARIA                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   689514 JUAN C ACOSTA RIVERA                        HC 1 BOX 30715                                                                                                   CABO ROJO           PR         00623
   689515 JUAN C AGUAYO BADILLO                       URB VILLA GRILLASCA         1739 C/ JULIO C ARTEAGA                                                              PONCE               PR         00717
          JUAN C ALEJANDRO DBA THE
   252670 REPTILE SPOT                                383 C/ LAS CUEVITAS                                                                                              QUEBRADILLAS        PR         00678
   689516 JUAN C ALERS                                RES APONTE                  EDIF 24 APT 231                                                                      AGUADILLA           PR         00605
   689517 JUAN C ALMEDINA TORRES                      BOX 53 PARC EL COTTO        BO MAGUAYO                                                                           DORADO              PR         00646
   689519 JUAN C ALVERIO RIVERA                       BDA LAS MONJAS              60 PACHIN MARIN                                                                      SAN JUAN            PR         00917
   252671 JUAN C ANAYA RIVERA                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   252673 JUAN C ARCE CANCEL                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   252674 JUAN C AROCHO VALENTIN                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  252675 JUAN C AROCHO/                               REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689520 JUAN C AYALA COTTO                           PO BOX 2                                                                                                         DORADO             PR         00646
  252676 JUAN C AYALA SANCHEZ                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  252677 JUAN C BAEZ RIVERA                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689522 JUAN C BARREIRO SANTIAGO                     URB SAN FERNANDO           B 30 CALLE 6                                                                          TOA ALTA           PR         00953
  688869 JUAN C BARTOLOMEI PERAZA                     PO BOX 404                                                                                                       ARECIBO            PR         00659
  689523 JUAN C BERRIOS BAEZ                          P O BOX 5059               CVC STATION                                                                           CAYEY              PR         00737
  689524 JUAN C BERRIOS ESPADA                        HC 3 BOX 7751                                                                                                    BARRANQUITAS       PR         00794‐9500
  689525 JUAN C BERRIOS ORTIZ                         BO ASOMANTE                SECTOR LOS MANGOS                                                                     AIBONITO           PR         00705
  252682 JUAN C BIDOT AVILA                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  252683 JUAN C BIGAS VALEDON                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689527 JUAN C BONET SANTIAGO                        URB EL PARQUE              B 11 CALLE 3                                                                          BARCELONETA        PR         00617
  252685 JUAN C BRANA OCASIO                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689528 JUAN C BRUNO VALE                            PO BOX 1280                                                                                                      MOCA               PR         00676
  689529 JUAN C BUITRAGO MEDINA                       PO BOX 1568                                                                                                      GUAYAMA            PR         00785‐1568
  689530 JUAN C BURGOS                                HC 02 BOX 6352                                                                                                   JAYUYA             PR         00664
  689532 JUAN C CABANILLAS                            VILLA VENECIA APARTMENTS   TORRE 2 APTO 10D                                                                      GUAYNABO           PR         00970
  252687 JUAN C CABRERA MUSSE                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689533 JUAN C CACHO ALVEDO                          URB VILLA REAL             L 15 CALLE 7                                                                          VEGA BAJA          PR         00693
  252689 JUAN C CALCANO FUENTES                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  252690 JUAN C CALDER MELENDEZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  252691 JUAN C CALDERON MIRANDA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  252693 JUAN C CAMARENO GOMEZ                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  252695 JUAN C CANCIO REICHARD                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689534 JUAN C CAPIN ENRIQUEZ                        COND EL GENERALIFE         AVE SAN PATRICIO APT 903                                                              GUAYNABO           PR         00968

   689535 JUAN C CARABALLO SANTIAGO                   URB COSTA DEL SUR          E 74 CALLE F                                                                          YAUCO              PR         00698
   689536 JUAN C CARDONA CABAN                        URB LAS PALMAS 239         CALLE PALMA COROSO                                                                    MOCA               PR         00676‐4409
   252696 JUAN C CARDONA ORTIZ                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252697 JUAN C CARILLO SANTOS                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252698 JUAN C CARRASCO COLLAZO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252699 JUAN C CARRASQUILLO                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252700 JUAN C CARRASQUILLO ORTIZ                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252701 JUAN C CARRILLO SEGARRA                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689537 JUAN C CARRION COLON                        5 CALLE ISIDRO ANDREU                                                                                            PUNTA SANTIAGO     PR         00741
   689538 JUAN C CARRION VILLAFANE                    PO BOX 1411                                                                                                      MANATI             PR         00674
   252702 JUAN C CASIANO NAZARIO                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252703 JUAN C CASTELLANO SOTO                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252704 JUAN C CENTENO LOPEZ                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689539 JUAN C CERVANTES                            PO BOX 1213                                                                                                      SAN GERMAN         PR         00683
   252705 JUAN C CINTRON BERRIOS                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689540 JUAN C CINTRON CORDOVA                      URB NORTE DAME             G 13 SAN FELIPE                                                                       CAGUAS             PR         00725
   252706 JUAN C CLAUDIO BORGES                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252707 JUAN C CLAUDIO CERVERA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689541 JUAN C COLON LABOY                          HC 2 BOX 5106                                                                                                    GUAYAMA            PR         00784
   689542 JUAN C COLON MEDINA                         URB VILLA CAROLINA         70‐97 CALLE 89                                                                        CAROLINA           PR         00985
   689543 JUAN C COLON RIVERA                         URB EL TORITO              D 7 CALLE 3                                                                           CAYEY              PR         00736
   689544 JUAN C COLON VELAZQUEZ                      RR 6 BOX 9827                                                                                                    RIO PIEDRAS        PR         00926
   689545 JUAN C CONCEPCION                           PARQUE LASALLE             EE 7 CALLE PARQUE                                                                     BAYAMON            PR         00661
   689546 JUAN C CONDE RIVERA                         HC 764 BOX 8343                                                                                                  PATILLAS           PR         00723
   252708 JUAN C CONTRERAS ARRIAGA                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689547 JUAN C CORDERO                              COND QUINTANA APT 213 A                                                                                          SAN JUAN           PR         00917
   252710 JUAN C CORDOVA CORDERO                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  252711 JUAN C CORREA ARROYO                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  252712 JUAN C CORREA LOPEZ                          REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  252713 JUAN C CORREA MARTINEZ                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689548 JUAN C CORTES DIAZ                           HC 1 BOX 5130                                                                                               GUAYNABO          PR         00971
  252714 JUAN C CORTES SEIN                           REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  252715 JUAN C COTTO NEGRON                          REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  252716 JUAN C COTTO ORTIZ                           REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  252719 JUAN C CRESPO LUGO                           REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  252720 JUAN C CRIADO ORTIZ                          REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689551 JUAN C CRUZ FIGUEROA                         HILL BROTHERS SUR       395 CALLE 4                                                                         SAN JUAN          PR         00924
  689552 JUAN C CRUZ HERNANDEZ                        RES PRAXEDES            EDIF 16 APT 106                                                                     CIDRA             PR         00739
  252721 JUAN C CRUZ MORALES                          REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689553 JUAN C CRUZ NEGRON                           URB SANTA MARIA         O 2 CALLE SANTA MARTHA                                                              TOA BAJA          PR         00949
  252722 JUAN C CRUZ PAGAN                            REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689554 JUAN C CRUZ RODRIGUEZ                        P O BOX 482                                                                                                 LAS MARIAS        PR         00670
  689555 JUAN C CRUZ VAZQUEZ                          PO BOX 7126                                                                                                 PONCE             PR         00732
  252725 JUAN C DAVILA GARCIA                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689556 JUAN C DE JESUS CRESPO                       URB VILLA DEL REY 4TA   4V 7 CALLE 9                                                                        CAGUAS            PR         00725
  252726 JUAN C DE JESUS MARRERO                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689557 JUAN C DE JESUS OSORIO                       HC 01 BOX 3301                                                                                              LOIZA             PR         00772
  689559 JUAN C DE LEON FIGUEROA                      BOX 210                                                                                                     TOA BAJA          PR         00959
  689560 JUAN C DELGADO                               URB VILLA MARIA         T 8 CALLE 13                                                                        CAGUAS            PR         00725
  689561 JUAN C DELGADO CALDERON                      URB. VISTAMAR 261       CALLE GRANADA                                                                       CAROLINA          PR         00983

   689562 JUAN C DELGADO ENCARNACION PO BOX 1109                                                                                                                  RIO GRANDE        PR         00745
   252727 JUAN C DELGADO ROMAN       REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252728 JUAN C DELIZ MORALES       REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252733 JUAN C DIAZ ORTIZ          REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252734 JUAN C DIAZ RIVERA         REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252736 JUAN C DIAZ RODRIGUEZ      REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252737 JUAN C DUMENG DANIEL       REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252738 JUAN C ECHEANDIA VELEZ     REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252739 JUAN C ECHEVARRIA ROMAN    REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   252740 JUAN C ENCARNACION SANCHEZ REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689569 JUAN C ESCOBAR RIVERA      P O BOX 1597                                                                                                                 RIO GRANDE        PR         00745
   252741 JUAN C ESPINOSA CHARRIEZ   REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252742 JUAN C ESTARELLAS SABATER  REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252743 JUAN C FALCON RIVERA       REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689570 JUAN C FELICIANO VALIENTE  COND CHALETS DEL PARQUE                  12 AVE ARBOLOTE STE 67                                                              GUAYNABO          PR         00969
   252744 JUAN C FERNANDEZ           REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JUAN C FERNANDEZ DBA
   252745 JUMPING AND PARTY          RENTAL                                   PO BOX 576                                                                          CAYEY             PR         00737
   252746 JUAN C FIGUEROA            REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252747 JUAN C FIGUEROA OCASIO     REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252748 JUAN C FIGUEROA ORTIZ      REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252749 JUAN C FIGUEROA RIVERA     REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JUAN C FIGUEROA SOTO /
   252750 MIGDALIA SOTO              REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252751 JUAN C FIGUEROA VAZQUEZ    REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252752 JUAN C FLORES OLIVERAS     REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689572 JUAN C FLORES PEREZ        100 CALLE MU¨OZ RIVERA                                                                                                       TOA ALTA          PR         00953‐2426
   689573 JUAN C FONSECA FRANCO      VILLA ESPERANZA                          158 CALLE NOBLEZA                                                                   CAGUAS            PR         00725



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   689574 JUAN C FONTANEZ RODRIGUEZ                   URB SANTA ELVIRA            E 2 CALLE SANTA ANA                                                               CAGUAS               PR           00725
   252756 JUAN C FORTUNO FAS                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   689575 JUAN C FRANQUI SANTIAGO                     PMB 654 PO BOX 5000                                                                                           CAMUY                PR           00627
   689577 JUAN C FRATICELLI MERCADO                   9NA SECCION STA JUANITA     ND 6 CALLE DANTE                                                                  BAYAMON              PR           00956
   252758 JUAN C FRONTERA GARCIA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   689578 JUAN C FUENTES PAZ                          PO BOX 34583                                                                                                  SAN JUAN             PR           00934
   252761 JUAN C GARCIA AVILES                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   252762 JUAN C GARCIA MARRERO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   689579 JUAN C GARCIA MORELL                        PO BOX 989                                                                                                    AGUADILLA            PR           00605
   689580 JUAN C GARCIA NIEVES                        PO BOX 1236                                                                                                   BAJADERO             PR           00616

          JUAN C GARCIA RAMOS/MAGALY
   689581 MATOS ARROYO               RR 5 BOX 1580                                                                                                                  SAN JUAN             PR           00926‐9739
   689582 JUAN C GARCIA SOSA         PO BOX 51001                                                                                                                   TOA BAJA             PR           00950

   252763 JUAN C GAZTAMBIDE LLAVONA                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   252765 JUAN C GOITIA ROSA                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   252766 JUAN C GOMEZ BATIZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   689583 JUAN C GOMEZ FRAGOSO                        URB DORADO DEL MAR          M 24                                                                              DORADO               PR           00646
   689586 JUAN C GONZALEZ                             LOMAS VERDES                555 CALLE BELIRIO                                                                 MOCA                 PR           00767
   252767 JUAN C GONZALEZ BAEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   252768 JUAN C GONZALEZ CASTRO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   689587 JUAN C GONZALEZ COLLAZO                     HC 1 BOX 25843                                                                                                VEGA BAJA            PR           00693
   252769 JUAN C GONZALEZ LABARCA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   252770 JUAN C GONZALEZ MALDONADO REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   252772 JUAN C GONZALEZ RODRIGUEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   252773 JUAN C GONZALEZ ROSADO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   689590 JUAN C GONZALEZ ZAYAS                       PO BOX 929                                                                                                    FAJARDO              PR           00738
   252774 JUAN C GUTIERREZ FLORES                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   689591 JUAN C GUZMAN                               HC 44 BOX 14475                                                                                               CAYEY                PR           00736
   252775 JUAN C GUZMAN CINTRON                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   252776 JUAN C GUZMAN GONZALEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   252777 JUAN C GUZMAN RIVERA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   252778 JUAN C HERNANDEZ CARRERO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   252779 JUAN C HERNANDEZ GONZALEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   252781 JUAN C HERNANDEZ REILLO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   252782 JUAN C HERNANDEZ RIVERA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   689592 JUAN C HERNANDEZ SAAVEDRA                   41 CALLE DE DIEGO APT 106                                                                                     MAYAGUEZ             PR           00680
   252783 JUAN C HIDALGO BALLENILLA                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   252784 JUAN C IBANEZ HERNANDEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   252787 JUAN C IRIZARRY                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   689593 JUAN C IRIZARRY ROMAN                       VISTA AZUL                  BB 15 CALLE 33                                                                    ARECIBO              PR           00612

   689594 JUAN C IRRIZARRY RODRIGUEZ                  URB EL CAFETAL              K 30 CALLE 14                                                                     YAUCO                PR           00968
   252788 JUAN C JAIMAN GONZALEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   252789 JUAN C JEREZ URRUTIA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   252790 JUAN C JOVER CRESPO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  689596 JUAN C KATCHETT                              312 CALLE BETANCES                                                                                             SAN JUAN          PR         00915
  689597 JUAN C KUANG                                 LOS VERSALLES          2030 CALLE LUIS XIV                                                                     MAYAGUEZ          PR         00682
  252791 JUAN C LAMBERTY MANGUAL                      REDACTED               REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  252792 JUAN C LANZOT DELGADO                        REDACTED               REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  252793 JUAN C LASSALLE PELLOT                       REDACTED               REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689598 JUAN C LAZU REYES                            RR 8 BOX 9454                                                                                                  BAYAMON           PR         00956
  689599 JUAN C LEDESMA RODRIGUEZ                     COND PALMAR DEL RIO    APARTADO 353                                                                            GUAYNABO          PR         00969
  252794 JUAN C LIMARDO DEFENDINI                     REDACTED               REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  252795 JUAN C LIZARDI VALDES                        REDACTED               REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689508 JUAN C LLADO RODRIGUEZ                       P O BOX 1325                                                                                                   LARES             PR         00669

   689600 JUAN C LLUSCO CALLEJAS                      PMB 410                609 AVE TITO CASTRO SUITE 102                                                           PONCE             PR         00716
   252796 JUAN C LOPEZ                                REDACTED               REDACTED                      REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252797 JUAN C LOPEZ COLON                          REDACTED               REDACTED                      REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252798 JUAN C LOPEZ COMPRES                        REDACTED               REDACTED                      REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689602 JUAN C LOPEZ TORRES                         URB COUNTRY CLUB       HM 19 CALLE 252                                                                         CAROLINA          PR         00982
   689603 JUAN C LOPEZ VELLON                         URB CIUDAD CRISTIANA   127 CALLE EL SALVADOR                                                                   HUMACAO           PR         00791

   252800 JUAN C MALDONADO IRIZARRY REDACTED                      REDACTED                               REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689604 JUAN C MANGUAL BAEZ         URB VILLA RITA              D 21 CALLE 4                                                                                       SAN SEBASTIAN     PR         00685
   689605 JUAN C MARCIAL VEGA         URB ALTURAS DE BERWIND      7 CALLE 1 A                                                                                        SAN JUAN          PR         00924 2465
   252801 JUAN C MARIANI VAZQUEZ      REDACTED                    REDACTED                               REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252802 JUAN C MARQUEZ MARRERO      REDACTED                    REDACTED                               REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689606 JUAN C MARRERO ARRIAGA      HC 1 BOX 7349                                                                                                                  COROZAL           PR         00783
   252803 JUAN C MARRERO DONATE       REDACTED                    REDACTED                               REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252805 JUAN C MARRERO NAVARRO      REDACTED                    REDACTED                               REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689607 JUAN C MARRERO TORRES       PO BOX 1051                                                                                                                    VILLALBA          PR         00766
          JUAN C MARRERO VISALDEN DBA
   689608 JUAN C ELECT                PO BOX 3145                                                                                                                    VEGA ALTA         PR         00962‐3145
   252806 JUAN C MARTINEZ             REDACTED                    REDACTED                               REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252807 JUAN C MASSA MUNOZ          REDACTED                    REDACTED                               REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252808 JUAN C MATOS CALCANO        REDACTED                    REDACTED                               REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252809 JUAN C MATOS FLORES         REDACTED                    REDACTED                               REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                      URB LAREDOS DE PALMA REAL W
   689611 JUAN C MAYMI STRIKER        7‐ 8                        CALLE J BOSCAN                                                                                     SAN JUAN          PR         00926
   252810 JUAN C MELENDEZ RIVERA      REDACTED                    REDACTED                               REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689612 JUAN C MELENDEZ SERRANO     PO BOX 7126                                                                                                                    PONCE             PR         00732
   689613 JUAN C MENDEZ RUIZ          PO BOX 328                                                                                                                     LAJAS             PR         00667
   689615 JUAN C MENESES PAZ          JARDINES DE FAGOT           A 37 CALLE 6                                                                                       PONCE             PR         00716

   689616 JUAN C MERCADO CANDELARIO                   31 CALLE MIOSOTI                                                                                               HORMIGUEROS       PR         00660
   252812 JUAN C MERCADO FELICIANO                    REDACTED               REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689617 JUAN C MERCED HERNANDEZ                     URB BAIROA PARK        2J73 CALLE JOSE M SOLIS                                                                 CAGUAS            PR         00725
   689618 JUAN C MERHEB CARRERAS                      COND SAINT TROPEZ      AVE ISLA VERDE APT 4 L                                                                  CAROLINA          PR         00979
   688870 JUAN C MIRANDA                              REPARTO ESPERANZA      22 CALLE ALELI                                                                          GUAYNABO          PR         00969
   689619 JUAN C MIRANDA RODRIGUEZ                    PO BOX 291                                                                                                     HUMACAO           PR         00792
   689621 JUAN C MONTES ROCHE                         PO BOX 211                                                                                                     SANTA ISABEL      PR         00757
   252815 JUAN C MORALES ESPINOSA                     REDACTED               REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252816 JUAN C MORALES SOSA                         REDACTED               REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689624 JUAN C MORALES VIDOT                        HC 1 BOX 7395                                                                                                  BARCELONETA       PR         00617‐9708
   252817 JUAN C MORENO RODRIGUEZ                     REDACTED               REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252818 JUAN C MUNIZ GARCIA                         REDACTED               REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252820 JUAN C MUNOZ SANCHEZ                        REDACTED               REDACTED                    REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  689625 JUAN C NAVARRO CENTENO                       P O BOX 3466                                                                                                   GUAYNABO           PR         00970
  252821 JUAN C NAZARIO TORRES                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  252823 JUAN C NEGRON LLOPIZ                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689626 JUAN C NEGRON MACHADO                        PO BOX 814                                                                                                     ISABELA            PR         00662‐0814
  252824 JUAN C NEGRON RODRIGUEZ                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  252825 JUAN C NEVAREZ ESCALERAS                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689627 JUAN C NIEVES BETANCOURT                     CARR 181 BO DOS BOCAS    P O BOX 463                                                                           TRUJILLO ALTO      PR         00907
  689628 JUAN C NIEVES CINTRON                        VICTOR ROJAS II          157 CALLE 7                                                                           ARECIBO            PR         00612
  252826 JUAN C NIEVES LINARES                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  252827 JUAN C NIEVES MURCELO                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  252828 JUAN C NIEVES SANCHEZ                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689629 JUAN C NIEVES SOSA                           MANSION DEL SOL          MS 5 VIA GIRASOLES                                                                    TOA BAJA           PR         00949
  252829 JUAN C NUNEZ                                 REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   252830 JUAN C ORDUNEZ FERNANDEZ                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689631 JUAN C ORENGO                               518 CALLE LUTZ                                                                                                 SAN JUAN           PR         00915
   252831 JUAN C ORTIZ AROCHO                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252832 JUAN C ORTIZ BENITEZ                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689632 JUAN C ORTIZ ECHEVARRIA                     PO BOX 9021112                                                                                                 SAN JUAN           PR         00902‐1112
   689633 JUAN C ORTIZ GARAY                          URB JARDINES DE GURABO   54 CALLE 3                                                                            GURABO             PR         00778‐2705
   689634 JUAN C ORTIZ PEREZ                          PO BOX 135                                                                                                     SABANA GRANDE      PR         00637
   689635 JUAN C ORTIZ RAMOS                          HC 3 BOX 13836                                                                                                 COROZAL            PR         00783
   689636 JUAN C ORTIZ RIVERA                         URB PUNTO ORO            4788 CALLE ALMIRANTA                                                                  PONCE              PR         00728
   689637 JUAN C ORTIZ ROLON                          URB FERNANDEZ            19 CALLE PEDRO D FONSECA                                                              CIDRA              PR         00739
   689638 JUAN C ORTIZ VAZQUEZ                        HC 1 BOX 8649                                                                                                  LAJAS              PR         00667
   252834 JUAN C ORTIZ VEGA                           REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689639 JUAN C ORTIZ VELEZ                          PO BOX 1141                                                                                                    LAJAS              PR         00667
   252835 JUAN C OTERO RIVERA                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252836 JUAN C OYOLA RIVERA                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252837 JUAN C PACHECO CAMACHO                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252838 JUAN C PACHECO RENTAS                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689640 JUAN C PADILLA VALLE                        URB SAN MIGUEL           E26 CALLE 1                                                                           CABO ROJO          PR         00623
   252839 JUAN C PADUA BORRERO                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689641 JUAN C PAGAN COLON                          HC 2 BOX 7656                                                                                                  CIALES             PR         00638
   252840 JUAN C PAGAN FERNANDEZ                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689644 JUAN C PAGAN VELEZ                          HC 1 BOX 25973                                                                                                 VEGA BAJA          PR         00693
   252842 JUAN C PATINO PERALTA                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252843 JUAN C PENA MARTINEZ                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252845 JUAN C PENABAD SANCHEZ                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252846 JUAN C PERDOMO SILVA                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689646 JUAN C PEREZ BARRETO                        HC 2 BOX 124523                                                                                                MOCA               PR         00676
   252847 JUAN C PEREZ BONILLA                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JUAN C PEREZ OTERO/ GVELOP
   252848 LLC                                         URB MONTEHIEDRA          148 CALLE GUARAGUAO                                                                   SAN JUAN           PR         00926
   689510 JUAN C PICHARDO                             CAPARRA TERRAS           1170 B AVE CENTRAL                                                                    SAN JUAN           PR         00920
   689649 JUAN C PIZARRO PAGAN                        PO BOX 7126                                                                                                    PONCE              PR         00732
   252851 JUAN C PLATA RODRIGUEZ                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252852 JUAN C PONCE MARTINEZ                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689650 JUAN C PORTELA ARRAIZA                      P O BOX 45                                                                                                     VEGA BAJA          PR         00693
   252853 JUAN C PORTILLO RAMIREZ                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252854 JUAN C PRADO NICASIO                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252855 JUAN C PUIG HERNANDEZ                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   252856 JUAN C QUINONES PIZARRO                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  252857 JUAN C QUINONES RIVERA                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  689651 JUAN C QUINTANA MENDEZ                       HC‐01 BOX 4451                                                                                            ADJUNTAS            PR         00601
  252859 JUAN C QUINTANA SOTO                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  252860 JUAN C QUIROS CARABALLO                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  252861 JUAN C RAMIREZ RODRIGUEZ                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  252863 JUAN C RAMOS MARRERO                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  252864 JUAN C RAMOS OTERO                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  252865 JUAN C RESTO PAGAN                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  252866 JUAN C REY ASENCIO                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  689655 JUAN C REYES ACEVEDO                         BOX PALO SECO BZN 159                                                                                     MAUNABO             PR         00707
  252867 JUAN C REYES ORTIZ                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  252868 JUAN C RIOS LAGARES                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  252869 JUAN C RIOS MENDEZ                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  689657 JUAN C RIOS ORTIZ                            URB FOREST HILL         D22 CALLE 23                                                                      BAYAMON             PR         00959
         JUAN C RIVERA / ISABEL C
  252871 BETANCOURT                                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  252872 JUAN C RIVERA ABREU                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  252873 JUAN C RIVERA ARCE                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  252874 JUAN C RIVERA CARABALLO                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  689659 JUAN C RIVERA CASTRO                         VILLA CAROLINA          3‐13 CALLE 26                                                                     CAROLINA            PR         00985
  252876 JUAN C RIVERA FUENTES                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  689658 JUAN C RIVERA GARCIA                         HC 2 BOX 11449                                                                                            COROZAL             PR         00783
  252877 JUAN C RIVERA MORALES                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  252878 JUAN C RIVERA NEGRON                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  689661 JUAN C RIVERA ORTOLAZA                       P O BOX 1437                                                                                              OROCOVIS            PR         00720
  252879 JUAN C RIVERA PENA                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  252880 JUAN C RIVERA RAMOS                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  689663 JUAN C RIVERA RIVAS                          PO BOX 1714                                                                                               GUAYAMA             PR         00785
  689664 JUAN C RIVERA RIVERA                         CALLE AMAPOLA H‐9       REPARTO VALENCIA                                                                  BAYAMON             PR         00959
  252881 JUAN C RIVERA RODRIGUEZ                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  689667 JUAN C RIVERA ROSARIO                        HC 03 BOX 11300                                                                                           JUANA DIAZ          PR         00795
  689669 JUAN C RIVERA SOTO                           PO BOX 3000 SUITE 340                                                                                     COAMO               PR         00769
  252882 JUAN C RIVERA VARGAS                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  252883 JUAN C RIVERA VEGA                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  252884 JUAN C ROBLES ADORNO                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  252885 JUAN C RODRIGUEZ ARZUAGA                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  252886 JUAN C RODRIGUEZ BAEZ                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  689672 JUAN C RODRIGUEZ CRESPO                      PTO REAL                436 CALLE CAPULINA                                                                CABO ROJO           PR         00623
  689673 JUAN C RODRIGUEZ DAVILA                      BO POLVORIN BZN 150                                                                                       MANATI              PR         00674

   252887 JUAN C RODRIGUEZ HERNANDEZ REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   252888 JUAN C RODRIGUEZ LOPEZ     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   689676 JUAN C RODRIGUEZ MATEO     HC 1 BOX 6557                                                                                                              SANTA ISABEL        PR         00757
   252889 JUAN C RODRIGUEZ MIRANDA   REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   252890 JUAN C RODRIGUEZ MORALES   REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   689680 JUAN C RODRIGUEZ RIVERA    URB LA QUINTA                            N 3 CALLE 14                                                                      YAUCO               PR         00698

   252891 JUAN C RODRIGUEZ SANTIAGO                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   252892 JUAN C RODRIGUEZ TIRADO                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   689682 JUAN C RODRIGUEZ VALDES                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   252894 JUAN C ROMAN FERRER                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   252895 JUAN C ROMAN FIGUEROA                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   252896 JUAN C ROMAN GONZALEZ                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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  252897 JUAN C ROMAN MONROING                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689685 JUAN C RONDON RIVERA                         BDA VIETNAM 11           CALLE B                                                                             GUAYNABO           PR         00965
  689686 JUAN C ROSADO CRUZ                           344 SAN IGNACIO                                                                                              MAYAGUEZ           PR         00680
  252899 JUAN C ROSADO FIGUEROA                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  252900 JUAN C ROSANA GONZALEZ                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  252901 JUAN C ROSARIO DIAZ                          REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  252902 JUAN C RUIZ BOURDOIN                         REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  252903 JUAN C RUSSE RIVERA                          REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689689 JUAN C SALGADO                               JARDINES DE CAPARRA      H 2 CALLE 11                                                                        BAYAMON            PR         00959
  252904 JUAN C SALGADO RAMIREZ                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689692 JUAN C SANAME SEMINARIO                      URB BONNEVILLE HEIGHTS   25 CALLE GUAYNABO                                                                   CAGUAS             PR         00725
  252905 JUAN C SANCHEZ MORALES                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689693 JUAN C SANTANA REYES                         SANTA RITA               C 23 CALLE 4                                                                        VEGA ALTA          PR         00692
  689694 JUAN C SANTANA RODRIGUEZ                     PARQUE LAS MERCEDES      D 9 CALLE PEYO MERCED                                                               CAGUAS             PR         000725
  252908 JUAN C SANTIAGO ALICEA                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689696 JUAN C SANTIAGO CAMACHO                      HC 01 BOX 5393                                                                                               JUNCOS             PR         00777
  689697 JUAN C SANTIAGO CASTRO                       VILLA PALMERAS           A5B RES MIRA PALMERAS                                                               SAN JUAN           PR         00915
  252909 JUAN C SANTIAGO COLON                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689700 JUAN C SANTIAGO FLORES                       HC 9 BOX 4525                                                                                                SABANA GRANDE      PR         00637

   252910 JUAN C SANTIAGO RODRIGUEZ                   REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   252911 JUAN C SANTIAGO TORRES                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   252912 JUAN C SANTOS FERRER                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   689702 JUAN C SANTOS SANTIAGO                      PO BOX 7126                                                                                                  PONCE              PR         00732
   689703 JUAN C SANTOS SANTOS                        P O BOX 208                                                                                                  MOROVIS            PR         00687
   252913 JUAN C SEGARRA OLIVERA                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   252914 JUAN C SEGUI                                REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   252915 JUAN C SERRANO OJEDA                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   252916 JUAN C SIERRA DUARTE                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   689706 JUAN C SIERRA TORRES                        URB PUETO NUEVO          454 CALLE COLIMAR                                                                   SAN JUAN           PR         00920
   252917 JUAN C SILVAGNOLI COLON                     REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   252918 JUAN C SIMONS BURGOS                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   252919 JUAN C SUAREZ IZQUIERDO                     REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   689708 JUAN C SUAREZ MALDONADO                     PO BOX 1381                                                                                                  YABUCOA            PR         00767
   252920 JUAN C SUAREZ ORTIZ                         REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          JUAN C TORRES CANCEL/ CARLA
   252922 JOAN TORRES                                 REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   689710 JUAN C TORRES CARTAGENA                     BO GUAVATE               22307 SECTOR MONTA¨EZ                                                               CAYEY              PR         00976
   252923 JUAN C TORRES ESTRADA                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   252924 JUAN C TORRES LOPEZ                         REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   689711 JUAN C TORRES LUGO                          2DA EXT SANTA ELENA      C 13 CALLE 3                                                                        GUAYANILLA         PR         000656
   689712 JUAN C TORRES MALDONADO                     URB STA ELVIRA           N 33 CALLE STA LUCIA                                                                CAGUAS             PR         00725
   689713 JUAN C TORRES MELENDEZ                      LIRIOS DEL SUR           28 APT 372                                                                          PONCE              PR         00731
   252925 JUAN C TORRES ORTIZ                         REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   252926 JUAN C TORRES OTERO                         REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   689715 JUAN C TORRES RAMOS                         URB GLENVIEW GARDENS     L4 CALLE E9                                                                         PONCE              PR         00731
   252927 JUAN C TORRES RODRIGUEZ                     REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   689717 JUAN C TRINIDAD TRINIDAD                    URB LOS JARDINES         127 CALLE FLOR DE LUZ                                                               GARROCHALES        PR         00652
   252928 JUAN C TROCHE TORO                          REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   252929 JUAN C TROCHE TORRES                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   252930 JUAN C TUA OTANO                            REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   689718 JUAN C VALENTIN PEREZ                       URB ESTANCIAS REALES     126 PRINCIPE GUILLERMO                                                              GUAYNABO           PR         00969
   689719 JUAN C VALLE PEREZ                          HC 58 BOX 13467                                                                                              AGUADA             PR         00602



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  252931 JUAN C VALLEJO ROLDAN                        REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  689720 JUAN C VARGAS CASTILLO                       HC‐03 9710                     BO. PUEBLO                                                                              LARES               PR         00669
  689721 JUAN C VARGAS MERCADO                        URB ESTANCIAS DE LA CEIBA      260 CALLE ALMENDRA                                                                      HATILLO             PR         00659
  252932 JUAN C VARGAS TORRES                         REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  252933 JUAN C VAZQUEZ                               REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   689723 JUAN C VAZQUEZ HERNANDEZ                    BO LAS CUEVAS I BOX 15                                                                                                 TRUJILLO ALTO       PR         00976
   689724 JUAN C VAZQUEZ MARIANI                      LAS MAREAS                     HC 01 BOX 4920                                                                          SALINAS             PR         00751
   689725 JUAN C VAZQUEZ MENDEZ                       PO BOX 7126                                                                                                            PONCE               PR         00732
   252934 JUAN C VAZQUEZ TORRES                       REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689726 JUAN C VEGA MORALES                         BO PUEBLITO DEL RIO                                                                                                    JUNCOS              PR         00777
   689727 JUAN C VELASCO CERVILLA                     PO BOX 3004                                                                                                            YAUCO               PR         00698‐3004
          JUAN C VELAZQUEZ
   252937 QUIRINDONGO                                 REDACTED                       REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252938 JUAN C VELEZ ARROYO                         REDACTED                       REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                     84 CALLE RIVERA OLAN INTERIOR
   689728 JUAN C VELEZ PADILLA                        BO BALBOA                      BAJOS                                                                                   MAYAGUEZ            PR         00680
   252939 JUAN C VELEZ VELAZQUEZ                      REDACTED                       REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN C VERA AMODIZ DBA
   252940 AFFARDABLE                                  OFFICE SUPPLY                  PO BOX 7787                                                                             PONCE               PR         00732‐7787
   689729 JUAN C VICENS RODRIGUEZ                     URB SAN GERARDO                1730 CALLE DALLAS                                                                       SAN JUAN            PR         00926
   689730 JUAN C VIDAL CARO                           PO BOX 34394                                                                                                           FORT BUCHANAN       PR         00934
   252941 JUAN C VIRELLA CRESPO                       REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   689732 JUAN C VIZCARRONDO RAMIREZ PO BOX 366071                                                                                                                           SAN JUAN            PR         00936‐6071

   252942 JUAN C ZAMBRANA CARTAGENA                   REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252943 JUAN C ZAYAS HERNANDEZ                      REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252944 JUAN C ZULOAGA CARBONELL                    REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252945 JUAN C. CEPEDA FERNANDEZ                    REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252946 JUAN C. CORDOVA NIEVES                      REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252947 JUAN C. DE SANTIAGO ARNAU                   REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252951 JUAN C. FIGUEROA QUINONES                   REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689734 JUAN C. FLORES GONZALEZ                     MINILLAS STATION               P O BOX 41269                                                                           SAN JUAN            PR         00940‐1269
   252952 JUAN C. FUENTES CASILLAS                    REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689735 JUAN C. FUENTES INC.                        P O BOX 439                                                                                                            LOIZA               PR         00772
   252955 JUAN C. GONZALEZ                            REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252957 JUAN C. GORDILLO APONTE                     REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252958 JUAN C. JUSTO SCHELMETTY                    REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689738 JUAN C. LATORRE                             P.O. BOX 376                                                                                                           SAN JUAN            PR         00936

   689741 JUAN C. MARTINEZ SUAREZ                     D19 VILLA DEL CARMEN CALLE 1                                                                                           PONCE               PR         00731
   252963 JUAN C. MUNOZ GONZALEZ                      REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252964 JUAN C. ORTIZ MALDONADO                     REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252970 JUAN C. PENABAD SANCHEZ                     REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689744 JUAN C. REYES LOPEZ                         AVE MAIN 3 R5                  ALTURAS DE BUCARABONES                                                                  TOA ALTA            PR         00953
   252972 JUAN C. RIVERA NIEVES                       REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252973 JUAN C. RIVERA VELEZ                        REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   689746 JUAN C.RIOS PEREZ                           SANTA RITA                     ANTIGUO EDIFICIO ALMA MATER 867 CALLE DOMINGO CABRERA                                   SAN JUAN            PR         00925
   252975 JUAN CABALLERO NUNEZ                        REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   252976 JUAN CABAN TUBENS                           REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689747 JUAN CABEZUDO PEREZ                         HC 2 BOX 12265                                                                                                         GURABO              PR         00778



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  689748 JUAN CAEZ ALICEA                             HC 40 BOX 44338                                                                                                        SAN LORENZO       PR         00754
  689749 JUAN CAEZ ALONSO                             113 CALLE RUCAVADO                                                                                                     SAN JUAN          PR         00907
  689750 JUAN CAJIGAS GONZALEZ                        BO ARELES 48 RUTA 30                                                                                                   ISABELA           PR         00662
  252977 JUAN CALDERON FERRAN                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  252978 JUAN CALDERON MERCADO                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689751 JUAN CALO CALDERON                           PO BOX 40429                                                                                                           SAN JUAN          PR         00940
  689753 JUAN CAMACHO CUADRADO                        BO CAMPANILLA                 BZN 195 CALLE EL MONTE                                                                   TOA BAJA          PR         00949
  689754 JUAN CAMACHO DIAZ                            RES LA PLATA                  E 30 CALLE 6                                                                             CAYEY             PR         00736
  689755 JUAN CAMACHO MOLINA                          URB FRONTERAS                 101 CALLE JAIME PERICAS                                                                  BAYAMON           PR         00961
  252980 JUAN CAMACHO PACHECO                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  252981 JUAN CAMACHO RODRIGUEZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689756 JUAN CAMACHO SANTIAGO                        BOX 1441                                                                                                               JUANA DIAZ        PR         00795
  688871 JUAN CAMERON ORTIZ                           PO BOX 536                                                                                                             GARROCHALES       PR         00612
  689757 JUAN CAMPOS                                  HC 2 BOX 15696                                                                                                         GURABO            PR         00778
  689760 JUAN CANCEL OCASIA                           URB JARDINES DE CAROLINA      K 11 CALLE 1                                                                             CAROLINA          PR         00985
  252982 Juan Cancel Rivera                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   689761 JUAN CANDELARIA CANDELARIA                  PO BOX 759                                                                                                             HATILLO           PR         00659
   689762 JUAN CANDELARIA GERENA                      161 REVER CHASE DRIVE                                                                                                  ORLANDO           FL         32807
   252983 JUAN CANDELARIA NIEVES                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252984 JUAN CANDELARIA RIVERA                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689763 JUAN CANDELARIA VEGA                        APARTADO 9                                                                                                             BAJADERO          PR         00616
   689764 JUAN CANTRES OCASIO                         URB SIERRA LINDA              A 17 CALLE 1                                                                             BAYAMON           PR         00957
                                                                                    25 CALLE FRANCISCO SEIN APT
   689765 JUAN CAPELLA NOYA                           COND PARK TOWER               801                                                                                      SAN JUAN          PR         00917
   689766 JUAN CAPPAS LOPEZ                           HC 1 BOX 12376                                                                                                         CABO ROJO         PR         00623
                                                      TURABO GARDENS R1‐21 CALLE
   689767 JUAN CARABALLO FERNANDEZ                    H                                                                                                                      CAGUAS            PR         00725
   252986 JUAN CARABALLO MORALES                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688873 JUAN CARABALLO ORTIZ                        BOX 1318                                                                                                               ARROYO            PR         00714
   689768 JUAN CARABALLO TORO                         PO BOX 5117                                                                                                            YAUCO             PR         00698

   689769 JUAN CARDONA ACEVEDO                        BDA ISRAEL 7 CALLE CALLEJON                                                                                            SAN JUAN          PR         00917
   689770 JUAN CARDONA MOJICA                         HC 1 BOX 5427                                                                                                          GUAYNABO          PR         00971
   252987 JUAN CARIDES JIMENEZ                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689771 JUAN CARLO AUTO SERVICIO                    COND ATRIO REAL               APT 8 CALLE ANASCO 829                                                                   SAN JUAN          PR         00925
          JUAN CARLO DE LA CRUZ
   252988 METIVIER                                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JUAN CARLO MARTINEZ
   252989 GONZALEZ                                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   689772 JUAN CARLO MELENDEZ RIVERA                  URB RIVER VIEW                T 18 CALLE 22                                                                            BAYAMON           PR         00961‐3809
          JUAN CARLO RODRIGUEZ
   252990 ALFONSO                                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JUAN CARLOS ACCORNERO
   252991 OSORIO                                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   252992 JUAN CARLOS ARCE                            REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   252993 JUAN CARLOS ARCE RODRIGUEZ REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   252995 JUAN CARLOS BENITEZ BENITEZ                 REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   689773 JUAN CARLOS BENITEZ JIMENEZ                 FERNANDEZ JUNCOS STATION      PO BOX 19175                                                                             SAN JUAN          PR         00910



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   252996 JUAN CARLOS BLANCO URRUTIA REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   252997 JUAN CARLOS BONILLA OLIVER                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   689777 JUAN CARLOS CARABALLO DIAZ                  P O BOX 430                                                                                                      CAYEY                PR           00737

   689778 JUAN CARLOS CARDONA ACOSTA P O BOX 1698                                                                                                                      SAN SEBASTIAN        PR           00685
          JUAN CARLOS CARRERO
   252998 HERNANDEZ                  REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JUAN CARLOS CASTELLANOS DE
   689779 JESUS                      P O BOX 1826                                                                                                                      CANOVANAS            PR           00729‐1826
   689780 JUAN CARLOS CATASUS        MARIO JULIA                                  536 CALLE A SUITE 2                                                                  SAN JUAN             PR           00920‐2012
          JUAN CARLOS CENTENO
   689781 FONTANEZ                   HC 2 BOX 71052                                                                                                                    COMERIO              PR           00782
          JUAN CARLOS CINTRON
   689782 ARBASETTI                  HC 71 BOX 2170                                                                                                                    NARANJITO            PR           00719
   689783 JUAN CARLOS COLON          FAIR VIEW                                    1933 CALLE M MALDONADO                                                               SAN JUAN             PR           00926
   689784 JUAN CARLOS COLON ROBLES   URB VENUS GARDENS                            1685 CALLE MERIDA                                                                    SAN JUAN             PR           00926
          JUAN CARLOS COLON
   252999 RODRIGUEZ                  REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   253000 JUAN CARLOS CORTES JIMENEZ                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   689785 JUAN CARLOS COSTA YUSTE                     664 CALLE UNION APT 1102                                                                                         SAN JUAN             PR           00907
   253001 JUAN CARLOS CRUZ PRATTS                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   689787 JUAN CARLOS CRUZ RODRIGUEZ URB RIO HONDO II                             AH 38 CALLE RIO HUMACAO                                                              BAYAMON              PR           00961

   253002 JUAN CARLOS DAVILA SANTIAGO REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   689788 JUAN CARLOS DISLA                           232 AVE ELEONOR ROOSEVELT                                                                                        SAN JUAN             PR           00907
   253003 JUAN CARLOS DONES FLORES                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   689789 JUAN CARLOS ELECTRIC                        P O BOX 3145                                                                                                     VEGA ALTA            PR           00692‐3145
   253004 JUAN CARLOS FIGUEROA                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JUAN CARLOS FIGUEROA
   689792 SANTIAGO                                    URB VILLA CAROLINA          49‐16 CALLE 42                                                                       CAROLINA             PR           00985
   253006 JUAN CARLOS FLORES                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JUAN CARLOS GARABITO
   689793 MEDINA                                      TORRIMAR                    5‐25 CALLE OVIEDO                                                                    GUAYNABO             PR           00966

   253007 JUAN CARLOS GASTON TORRES                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   689794 JUAN CARLOS GINES CRUZ                      HATO VIEJO CUMBRE BO 4035   CARR 149 R 632 KM 1.5                                                                CIALES               PR           00638

   689796 JUAN CARLOS GOMEZ ESCARCE                   PO BOX 363507                                                                                                    SAN JUAN             PR           00936‐3507
          JUAN CARLOS GUADALUPE
   689797 SERRANO                                     METROPOLIS                  2 C 14 CALLE 33                                                                      CAROLINA             PR           00987
   253009 JUAN CARLOS HERNANDEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   689798 JUAN CARLOS JIMENEZ BOSQUES PO BOX 225                                                                                                                       MOCA                 PR           00676
   253010 JUAN CARLOS LEBRON MIRO     REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   253011 JUAN CARLOS LEMOS RAMIREZ                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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   253013 JUAN CARLOS LOPEZ MERCADO                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253014 JUAN CARLOS LOPEZ ROMAN                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   689799 JUAN CARLOS MADERA                          RR 02 BOX 694                                                                                                      SAN JUAN            PR           00926
          JUAN CARLOS MARTINEZ
   253016 FIGUEROA                                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JUAN CARLOS MARTINEZ
   253017 MARTINEZ                                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   689800 JUAN CARLOS MATOS RIOS                      106 CALLE SAN JOSE                                                                                                 AGUADA              PR           00602

   689801 JUAN CARLOS MATOS VAZQUEZ                   URB PUERTO NUEVO           1156 CALLE 8 NE                                                                         SAN JUAN            PR           00920
          JUAN CARLOS MATTEI
   689802 CARABALLO                                   PO BOX 501260                                                                                                      GUAYANILLA          PR           00656
   253018 JUAN CARLOS MELON VELEZ                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   689803 JUAN CARLOS MENDEZ SERVERA URB LA MONSERRATE                           H 6 CALLE 7                                                                             HORMIGUEROS         PR           00660
   689804 JUAN CARLOS MENENDEZ       VILLA EVANGELINA                            15 CALLE 7 K                                                                            MANATI              PR           00674

   689805 JUAN CARLOS MENENDEZ RUIZ                   3675 W LLARE APT 220                                                                                               HIALEAH             FL           33012
   253019 JUAN CARLOS MIRANDA                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   689806 JUAN CARLOS MORALES ORTEGA PO BOX 312                                                                                                                          NARANJITO           PR           00719
   253020 JUAN CARLOS MORENO         REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253021 JUAN CARLOS MUNIZ GARCIA   REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253022 JUAN CARLOS MUSA           REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JUAN CARLOS OCASIO
   253024 BERMUDEZ                   REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   689807 JUAN CARLOS OLMEDA AYALA   BOX 2407                                                                                                                            SAN GERMAN          PR           00683
   689808 JUAN CARLOS ORTEGA         URB BAYAMON GARDENS                         15K 35                                                                                  BAYAMON             PR           00957
   689809 JUAN CARLOS ORTIZ          URB LA HACIENDA                             AQ 11 CALLE 54                                                                          GUAYAMA             PR           00784
   253025 JUAN CARLOS ORTIZ NIEVES   REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   689810 JUAN CARLOS ORTIZ SANTIAGO                  PO BOX 6808                                                                                                        CAGUAS              PR           00726

   253026 JUAN CARLOS ORTIZ VAZQUEZ                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   253028 JUAN CARLOS PADRON CANCELO REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253029 JUAN CARLOS PEREZ BOFILL   REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   253030 JUAN CARLOS POMALES TORRES                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253031 JUAN CARLOS PUIG MORALES                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JUAN CARLOS RAMIREZ
   689814 BAUTISTA                                    COND THE FALLS CARR 177    BUZON 411 I‐4                                                                           GUAYNABO            PR           00966
   253033 JUAN CARLOS RAMIREZ ORTIZ                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   253034 JUAN CARLOS RAMOS TORRES                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   689815 JUAN CARLOS RENTA ACEVEDO                   EDIF A PORRATA PILA 2431   AVE LAS AMERICAS SUITE 201                                                              PONCE               PR           00717‐2114
   253035 JUAN CARLOS REY ASENCIO                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   253036 JUAN CARLOS REYES FIGUEROA                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253037 JUAN CARLOS REYES PULLIZA                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   689816 JUAN CARLOS RIVERA                          URB VALLE ESCONDIDO        238 CALLE MIOSOTIS                                                                      CAROLINA            PR           00987‐8774



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  253038 JUAN CARLOS RIVERA ALAMO                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   689818 JUAN CARLOS RIVERA ALVAREZ                  HC 03 BOX 14237                                                                                               UTUADO              PR         00641
   253039 JUAN CARLOS RIVERA ARCE                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253040 JUAN CARLOS RIVERA PEREZ                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689819 JUAN CARLOS RIVERA RIVERA                   P O BOX 517                                                                                                   TOA ALTA            PR         00954

   253041 JUAN CARLOS RIVERA ROSADO                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   689820 JUAN CARLOS RIVERA SANTIAGO URB PUNTO ORO                              3617 CALLE EL CADEMUS                                                              PONCE               PR         00728‐2011
   253042 JUAN CARLOS RIVERA TORRES   REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   689821 JUAN CARLOS ROBLES MORALES                  URB VILLA INTERAMERICANA   F 1 CALLE 1                                                                        SAN GERMAN          PR         00683
   253043 JUAN CARLOS RODRIGUEZ                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN CARLOS RODRIGUEZ
   253044 ALMODOVAR                                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN CARLOS RODRIGUEZ
   253045 COLON                                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN CARLOS RODRIGUEZ
   689822 GONZALEZ                                    URB VILLA COOPERATIVA      A 51 CALLE 1                                                                       CAROLINA            PR         00985
          JUAN CARLOS RODRIGUEZ
   253046 MONTANEZ                                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN CARLOS RODRIGUEZ
   253047 MORALES                                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN CARLOS RODRÍGUEZ
   253048 QUINONEZ                                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253049 JUAN CARLOS ROMAN ITHIER                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN CARLOS SALGADO
   253050 RAMIREZ                                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   253051 JUAN CARLOS SANABRIA VIERA                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   689824 JUAN CARLOS SANCHEZ ROSADO 1255 CASTILLA                                                                                                                  SAN JUAN            PR         00920

   689825 JUAN CARLOS SANTIAGO ROLON PO BOX 827                                                                                                                     JUANA DIAZ          PR         00795

   253053 JUAN CARLOS SANTOS ROLDAN                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN CARLOS SERRANO
   253054 SANTIAGO                                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   253057 JUAN CARLOS TORO SEPULVEDA REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   253061 JUAN CARLOS VAZQUEZ GARCIA REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   253062 JUAN CARLOS VAZQUEZ OCASIO REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689826 JUAN CARLOS VEGA           URB SANTA JUANITA SECC 12                   FB 21 CALLE ARIES                                                                  BAYAMON             PR         00956

   253063 JUAN CARLOS VEGA MARTINEZ                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   689829 JUAN CARLOS VELEZ RODRIGUEZ 0‐6 CALLE 14                                                                                                                  PONCE               PR         00731

   689830 JUAN CARLOS VELEZ SANTANA                   PO BOX 362976                                                                                                 SAN JUAN            PR         00936‐2976
   253065 JUAN CARLOS VERA ALVAREZ                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  689831 JUAN CARMONA CRUZ                            BO ESPEREANZA                448 CALLE GLADIOLA                                                                  VIEQUES             PR         00765
  689832 JUAN CARMONA DEL VALLE                       RES LOPEZ SICARDO            EDIF 17 APT 158                                                                     SAN JUAN            PR         00923
  689833 JUAN CARO SANCHEZ                            URB ISABEL LA CATOLICA       B 17 CALLE 6                                                                        AGUADA              PR         00602
  253068 JUAN CARRASQUILLO                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   253069 JUAN CARRASQUILLO ORLANDO                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253070 JUAN CARRASQUILLO RIVERA                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253071 JUAN CARRASQUILLO SOTO                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689834 JUAN CARRERO ORTIZ                          URB BALDRICH                 273 CALLE COLL Y TOSTE                                                              SAN JUAN            PR         00918
          JUAN CARRION / EQUIP CLASE B
   689835 MIRAFLORES                                  HC 1 BOX 4711                                                                                                    SABANA HOYOS        PR         00688
   689836 JUAN CARRION ORTIZ                          P O BOX 282                                                                                                      DORADO              PR         00646
   689837 JUAN CARRION RONDON                         PO BOX 240                                                                                                       SANTA ISABEL        PR         00757
   253072 JUAN CARTAGENA APONTE                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253073 JUAN CASELLAS                               REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253074 JUAN CASELLAS MARQUES                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253076 JUAN CASELLAS MARQUEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253077 JUAN CASSANOVAS LUIGGI                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689838 JUAN CASTILLO                               PMB 342 HC 01 BOX 29030                                                                                          CAGUAS              PR         00725‐8900
   689840 JUAN CASTRO RAMOS                           URB FLAMBOYANES              1713 CALLE LIMA                                                                     PONCE               PR         00716‐4616
   253079 JUAN CASTRO VEGA                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253080 JUAN CAY ORTIZ                              REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253081 JUAN CEDENO RIJO                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689844 JUAN CENTENO RIOS                           PO BOX 501                                                                                                       GARROCHALES         PR         00652
   253082 JUAN CERVANTES OCASIO                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253083 JUAN CHAPARRO GONZALEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689845 JUAN CHAPARRO PEREZ                         J C AIR CONDITIONING         H 58 BOX 14424                                                                      AGUADA              PR         00602
   689846 JUAN CHARLES & ASSOCIATES                   PO BOX 9978                                                                                                      SAN JUAN            PR         00908
   689847 JUAN CHERVONY RODRIGUEZ                     PO BOX 1265                                                                                                      ISABELA             PR         00662‐1265
   689848 JUAN CHEVERE RIVERA                         PO BOX 804                                                                                                       TOA ALTA            PR         00954‐0804
   689849 JUAN CINTRON                                PO BOX 1578                                                                                                      JUANA DIAZ          PR         00795
   253087 JUAN CINTRON CRUZ                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253088 JUAN CINTRON FIGUEROA                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253089 JUAN CINTRON LOPEZ                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689850 JUAN CINTRON MARRERO                        URB RIVERVIEW                LL NUM 6 CALLE 27                                                                   BAYAMON             PR         00961
   253092 JUAN CIRINO MARTINEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689851 JUAN CLAUDIO DE LEON                        PO BOX 680                                                                                                       TRUJILLO ALTO       PR         00977
   253093 JUAN CLAUDIO HERNANDEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689853 JUAN CLAUDIO SALGADO                        URB VILLA ANDALUCIA          B 13 CALLE MONFORTE                                                                 SAN JUAN            PR         00926
   253094 JUAN COLL JIMENEZ                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689854 JUAN COLLAZO CRUZADO                        VILLA MACHUELO I 4 CALLE 5                                                                                       PONCE               PR         00730
   253095 JUAN COLLAZO MORALES                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253096 JUAN COLLAZO VAZQUEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253097 JUAN COLON BENITEZ                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689856 JUAN COLON BONET                            CALLE C‐20 VALLE VERDE                                                                                           PONCE               PR         00731
   689857 JUAN COLON CORREA                           URB EL ROSARIO               F3 CALLE B                                                                          VEGA BAJA           PR         00693
   689858 JUAN COLON FERRER                           BOX 1441                                                                                                         JUANA DIAZ          PR         00795
   689859 JUAN COLON GANDELL                          P O BOX 1961                                                                                                     YABUCOA             PR         00767
   689860 JUAN COLON GONZALEZ                         23 BDA LAS CUEVAS                                                                                                CIALES              PR         00638
   253100 JUAN COLON LEBRON                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253101 JUAN COLON MOYA                             REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689862 JUAN COLON PADILLA                          P O BOX 1179                                                                                                     SABANA GRANDE       PR         00637
   688874 JUAN COLON RANGEL                           PO BOX 52                                                                                                        PE¥UELAS            PR         00624



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  689864 JUAN COLON RIVAS                             HC 1 BOX 8213                                                                                                  TOA BAJA             PR         00949
  253102 JUAN COLON RIVERA                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  253103 JUAN COLON ROBLES                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  253104 JUAN COLON RUBERT                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  689867 JUAN COLON SANTIAGO                          HC 1 BOX 4459                                                                                                  ADJUNTAS             PR         00601
  253105 JUAN COLON VAZQUEZ                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  253106 JUAN COMAS CRUZ                              REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  689868 JUAN CONCEPCION                              BDA SANDIN                  BOX 11                                                                             VEGA BAJA            PR         00693

   253108 JUAN CONCEPCION CHAPARRO                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   253109 JUAN CONDE SAN MIGUEL                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   253111 JUAN CORCHADO GARCIA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689870 JUAN CORCHADO JUARBE                        URB ENRAMADA                C 14 PASEO LIRIO                                                                   BAYAMON              PR         00960
   689871 JUAN CORCINO CORCINO                        PO BOX 3870                                                                                                    LUQUILLO             PR         00773
   689872 JUAN CORDERO AVILES                         PO BOX 83                                                                                                      MOCA                 PR         00676
                                                      BO. CAMUYARRIBA HC‐01 BOX
   689873 JUAN CORDERO CALERO                         3327                                                                                                           CAMUY                PR         00627
   689875 JUAN CORDERO RODRIGUEZ                      PO BOX 1386                                                                                                    SAN GERMAN           PR         00683‐1386
   253112 JUAN CORDOVA MARRERO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689877 JUAN CORREA                                 P O BOX 21365                                                                                                  SAN JUAN             PR         00902
   253113 JUAN CORREA RIVERA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689878 JUAN CORREA RODRIGUEZ                       URB PARQUE ECUESTRE         D 15 CALLE CANARIO                                                                 CAROLINA             PR         00987
   253116 JUAN CORREA VILLANUEVA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689879 JUAN CORTES DIAZ                            PO BOX 6998                                                                                                    GURABO               PR         00778
   253117 JUAN CORTES ECHEVARRIA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689881 JUAN CORTES FELICIANO                       PO BOX 1282                                                                                                    AGUADILLA            PR         00605
   253118 JUAN CORTES LUGO                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689882 JUAN CORUJO RAMOS                           HILL MANSION                BA 24 CALLE 60                                                                     SAN JUAN             PR         00926
   689883 JUAN COSME GOMEZ                            BO BARRANCA 151 CALLE 3                                                                                        GUAYAMA              PR         00784
   253120 JUAN COTTO PINAS                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689885 JUAN CRESPO ACEVEDO                         HC 1 BOX 3773                                                                                                  BARRANQUITAS         PR         00794
   689886 JUAN CRESPO FIGUEROA                        URB ROOSEVELT               383 CALLE ANTOLIN NIN                                                              SAN JUAN             PR         00918
   689887 JUAN CRESPO RODRIGUEZ                       86 CALLE RAMON FREYRE                                                                                          MAYAGUEZ             PR         00680
   689889 JUAN CRUZ                                   BO CASABLANCA               BOX 7506                                                                           LUQUILLO             PR         00773
   689890 JUAN CRUZ AVILAN                            HC 01 BOX 7550                                                                                                 LUQUILLO             PR         00773‐9607
   253121 JUAN CRUZ CORDERO                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689891 JUAN CRUZ COTTO                             BO RIO LAJA                 APT 208 TA                                                                         DORADO               PR         00646
   689892 JUAN CRUZ DIAZ                              RES PRAXEDES                EDIF 16 APT 106                                                                    CIDRA                PR         00739
   689893 JUAN CRUZ FALERO                            RFB 7 BZN 8297              CAMINO EL MUDO                                                                     SAN JUAN             PR         00926
   689894 JUAN CRUZ HERNANDEZ                         PO BOX 704                                                                                                     OROCOVIS             PR         00720
   253122 JUAN CRUZ LAUREANO                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689895 JUAN CRUZ MANZANO                           PO BOX 3401                                                                                                    MANATI               PR         00674
   253123 JUAN CRUZ MARTINEZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689897 JUAN CRUZ MATOS                             A13 CLARISSA ROW            PO BOX 1438                                                                        LUQUILLO             PR         00773
   689898 JUAN CRUZ ORTEGA                            HC 73 BOX 6048                                                                                                 NARANJITO            PR         00719
   253125 Juan Cruz Ortiz                             REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   689900 JUAN CRUZ PABON                             APARTADO 933                                                                                                   PATILLAS             PR         00723
   689901 JUAN CRUZ RAMOS                             HC ‐1 BOX 15034                                                                                                AGUADILLA            PR         00603
   253126 JUAN CRUZ RIOS                              REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   253127 Juan Cruz Rivera                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JUAN CRUZ RIVERA & MARY
   689902 RIVERA MARTINEZ                             P O BOX 195032                                                                                                 SAN JUAN             PR         00919‐5032
   253128 JUAN CRUZ RODRIGUEZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  253130 JUAN CRUZ SALCEDO                            REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689907 JUAN CRUZ SANCHEZ                            COM AGUILITA                  SOLAR 118                                                                          JUANA DIAZ        PR         00795
  689908 JUAN CRUZ SANTIAGO                           BOX 16310                                                                                                        MAYAGUEZ          PR         00681
  253132 JUAN CRUZ TORO                               REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  253135 JUAN CRUZADO MOLINA                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689913 JUAN CUADRADO RODRIGUEZ                      URB MIRAFLORES                23 3 CALLE 10                                                                      BAYAMON           PR         00957
  253137 JUAN CUENCA LAGO                             REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  253141 JUAN CURBELO SOTO                            REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  253142 JUAN CUSTODIO QUILES                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  689919 JUAN D ANDUJAR ALEJANDRO                     LOS DOMINICOS                 H 145 SAN RAYMUNDO                                                                 BAYAMON           PR         00957

   689920 JUAN D ANGULO BALLESTEROS                   VILLA NEVAREZ                 307 CALLE 4                                                                        SAN JUAN          PR         00927‐5314
   689921 JUAN D AYALA                                P O BOX 212 GARROCHALES                                                                                          ARECIBO           PR         00652
   253143 JUAN D BASCO MORALES                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253144 JUAN D CALERO KREMER                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253145 JUAN D COLLAZO                              REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689923 JUAN D CRUZ FERNANDEZ                       HC 02 BOX 6311                                                                                                   FLORIDA           PR         00650
   253146 JUAN D CUEVAS QUILES                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689924 JUAN D DAVILA MARTINEZ                      RES VILLA VALLE VERDE         EDIF P APT 128                                                                     ADJUNTAS          PR         00601
   688878 JUAN D DE JESUS                             URB JARDINES DE ARECIBO       I 24 CALLE J                                                                       ARECIBO           PR         00612
   253147 JUAN D FERRER VIDOT                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689925 JUAN D FIGUEROA ALVAREZ                     BOX 757                                                                                                          LARES             PR         00669
   689926 JUAN D GARCIA                               BOX 1052                                                                                                         YAUCO             PR         00698
   689918 JUAN D GASTON RODRIGUEZ                     RES KENNEDY BLQ 14 APT 81                                                                                        JUANA DIAZ        PR         00795

   689927 JUAN D GOMEZ IGLESIAS                       501 COND PLAZA DEL ESTE #64                                                                                      CANOVANAS         PR         00729
   253148 JUAN D GONZALEZ COLON                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253149 JUAN D GONZALEZ RAMOS                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253150 JUAN D GONZALEZ RUIZ                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253151 JUAN D GONZALEZ VAZQUEZ                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   689928 JUAN D LA ROSA RIVERA ORTIZ                 HC 02 BOX 5830                                                                                                   COMERIO           PR         00782
   689929 JUAN D LOPEZ                                JARD DE CANOVANAS             E30 CALLE 3                                                                        CANOVANAS         PR         00729
   689930 JUAN D LOPEZ CLAUDIO                        BO MAMEYAL                    PARC 153 CALLE 3                                                                   DORADO            PR         00646
   688879 JUAN D LOPEZ DIAZ                           HC 3 BOX 14765                                                                                                   COROZAL           PR         00783
   689931 JUAN D LOPEZ PLUMEY                         HC02 BOX 16341                BARRIO DOMINGUITO                                                                  ARECIBO           PR         00612
   689932 JUAN D MOJICA ROSA                          HC 40 BOX 44817                                                                                                  SAN LORENZO       PR         00754
   689933 JUAN D MORALES RIVERA                       P O BOX 480                                                                                                      YAUCO             PR         00698
   253153 JUAN D MORALES VEGA                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253154 JUAN D OLIVERAS HUANCA                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689934 JUAN D PANTOJAS                             P O BOX 5038                                                                                                     VEGA ALTA         PR         00692
   253155 JUAN D PEREZ RUIZ                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253156 JUAN D POPOTER MONCION                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   253157 JUAN D QUINONEZ QUINONEZ                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689935 JUAN D QUINTERO TORRES                      P O BOX 5514                                                                                                     CAGUAS            PR         00726
   253158 JUAN D RAMOS TORRES                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   689936 JUAN D RIVERA CORREA                        A 730 VILLA RENA                                                                                                 AGUADA            PR         00602
   689937 JUAN D RIVERA FELICIANO                     HC 1 BOX 2528                 BO CUCHILLA                                                                        MOROVIS           PR         00687
                                                      URB JARDINES DE SANTA
   688876 JUAN D RIVERA NEGRON                        ISABEL                        J 16 CALLE 7                                                                       SANTA ISABEL      PR         00757

   253159 JUAN D RODRIGUEZ SANTIAGO                   REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  688877 JUAN D RUIZ FERNANDEZ                        URB PONCE DE LEON           8 CALLE SENTERVAS                                                                      MAYAGUEZ         PR           00680‐5122

   689938 JUAN D SANTANA SCORTBORES                   URB. MORA                   213 CALLE LA PAZ                                                                       RIO PIEDRAS      PR           00925
   253161 JUAN D TIRADO REYES                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   689939 JUAN D TORRES MURIEL                        HC 01 BOX 17415                                                                                                    HUMACAO          PR           00791
   253163 JUAN D TORRES RODRIGUEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   253164 JUAN D TRINIDAD MARTINEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   689941 JUAN D VARGAS GONZALEZ                      LEVITOWN 5TA SECCION        BS10 CALLE DR JM AMADEO                                                                TOA BAJA         PR           00949
                                                      7151 AVE AGUSTIN RAMOS
   689943 JUAN D VERA GOMEZ                           CALERO                                                                                                             ISABELA          PR           00662
   689944 JUAN D ZAYAS GARCIA                         BQ 13 M 1                   ANTIGUA VIA                                                                            RIO PIEDRAS      PR           00926
   253165 JUAN D. MARRERO JIMENEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   253166 JUAN D. ZAYAS GARCIA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   253167 JUAN DALMAU RAMIREZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   689945 JUAN DAVID OTERO CRUZ                       RR 2 BOX 5335                                                                                                      CIDRA            PR           00739
   689946 JUAN DAVID ROSARIO                          PO BOX 21365                                                                                                       SAN JUAN         PR           00926

   689947 JUAN DAVID RUIZ GONZALEZ                    BAIROA PARK                 2‐J‐27 PARQUE DEL CONDADO                                                              CAGUAS           PR           00625
   253168 JUAN DAVILA CORTES                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
          JUAN DAVILA DBA SUNSET T‐
   253169 SHIRT                                       COLINAS DE CUPEY            D 5 CALLE 1                                                                            SAN JUAN         PR           00926
   253171 JUAN DAVILA SANCHEZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   689948 JUAN DE DIOS GOMEZ GONZALEZ VALLE TOLINA                                B 12 CALLE CARLOS OSORIO                                                               CAGUAS           PR           00725
          JUAN DE DIOS MALDONADO
   253173 GONZALEZ                    REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   253174 JUAN DE DIOS ORTIZ CASTANEDA REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   253175 JUAN DE DIOS QUINONEZ        REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
          JUAN DE DIOS RODRIGUEZ
   253176 MADERA                       REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
          JUAN DE DIOS VELAZQUEZ
   689950 VELAZQUEZ                    PARQUE DEL RIO CAGUAS                      B 30 CALLE YABUCOA                                                                     CAGUAS           PR           00727
          JUAN DE DIOS VILLANUEVA
   689951 ESTEVES                      RES VILLAMAR                               EDIF C APT 66                                                                          AGUADILLA        PR           00603

   253177 JUAN DE J.MEDINA MONTALVO                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   689953 JUAN DE JESUS ACEVEDO                       HC 01 BOX 7543                                                                                                     VILLALBA         PR           00766
   253178 JUAN DE JESUS ALAMO                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   689954 JUAN DE JESUS AQUINO                        URB METROPOLIS              E 11 CALLE 2                                                                           CAROLINA         PR           00987
   253179 JUAN DE JESUS CRUZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   689955 JUAN DE JESUS DE JESUS                      HC 1 BOX 4938                                                                                                      CAMUY            PR           00627
   253180 JUAN DE JESUS JUSTINIANO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
          JUAN DE JESUS MEDINA
   689956 MONTALVO                                    P O BOX 9550                                                                                                       ARECIBO          PR           00613
   253181 JUAN DE JESUS OQUENDO                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   689958 JUAN DE JESUS RIOS                          HC 3 BOX 20322                                                                                                     ARECIBO          PR           00612
   689959 JUAN DE JESUS RIVERA                        HC 02 BOX 13921                                                                                                    ARECIBO          PR           00612
   253183 JUAN DE JESUS RODRIGUEZ                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
                                                      RES VILLAS DE MABO EDIF A APT
   689961 JUAN DE JESUS VELEZ                         26                                                                                                                 GUAYNABO         PR           00970
          JUAN DE JESUS VELEZ
   253184 RODRIGUEZ                                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED



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  689962 JUAN DE LA CRUZ RAMIREZ                      402 CALLE BELLA VISTA                                                                                               SAN JUAN           PR         00915
  253185 JUAN DE LA PAZ RODRIGUEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689964 JUAN DE LOS A ADORNO                         BO SABANA HOYOS             CAMINOS LOS REYES                                                                       VEGA BAJA          PR         00693
  253187 JUAN DE M ROSADO LUGO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689965 JUAN DE M. ALVES RUEDA                       PO BOX 612                                                                                                          BOQUERON           PR         00622
  689966 JUAN DE MARCOS                               URB COVADONGA               2H4 CALLE 4                                                                             TOA BAJA           PR         00949
         JUAN DE MATA TORRES
  689967 RODRIGUEZ                                    RR 1 BOX 11690                                                                                                      OROCOVIS           PR         00720
  689968 JUAN DE MATTA GARCIA                         URB VISTA AZUL              A 22 CALLE 3                                                                            ARECIBO            PR         00612
  689969 JUAN DEL C JUSINO BARSORA                    39 CALLE SAN BLAS                                                                                                   LAJAS              PR         00667
         JUAN DEL C MALDONADO
  253193 RODRIGUEZ                                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253196 JUAN DEL RIO PITRE                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689970 JUAN DEL RIO RODRIGUEZ                       BO GUAVATE 22550                                                                                                    CAYEY              PR         00736
  253197 JUAN DEL TORO CEBOLLERO                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253198 JUAN DEL VALLE                               REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689971 JUAN DEL VALLE FONSECA                       HC 30BOX 33162                                                                                                      SAN LORENZO        PR         00745
  253199 JUAN DEL VALLE GOMEZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  689972 JUAN DEL VALLE GUADALUPE                     VALLE UNIVERSITARIO         43 CALLE NAVIO                                                                          SAN JUAN           PR         00927
  253200 JUAN DEL VALLE HERNANDEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      CALLE 800 NN‐10 VILLAS DE
   689973 JUAN DEL VALLE RIVERA                       CASTRO                                                                                                              CAGUAS             PR         00725
   689974 JUAN DEL VALLE RODRIGUEZ                    BOX 74                                                                                                              CANOVANAS          PR         00729
   253202 JUAN DELGADO CARBONELL                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689975 JUAN DELGADO CLAUDIO                        PROG. SERA BAYAMON                                                                                                  Hato Rey           PR         009360000
   689976 JUAN DELGADO MORALES                        BOX 971                     SAN JUST                                                                                TRUJILLO ALTO      PR         00976
   689977 JUAN DELGADO ORTIZ                          RR 3 BOX 10324                                                                                                      TOA ALTA           PR         00953
   253205 JUAN DELGADO RIOS                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689978 JUAN DELGADO SOLER                          COND LUCERNA                EDIF A3 # 2 J                                                                           CAROLINA           PR         00983
   689979 JUAN DENIZ MARQUEZ                          PO BOX 192373                                                                                                       SAN JUAN           PR         00919‐2373
   253206 JUAN DERLES                                 REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      URB REPT UNIVERSIDAD B 11
   689980 JUAN DETRES TORRES                          CALLE 12                                                                                                            SAN GERMAN         PR         00683
   689981 JUAN DIAZ ALBADEJO                          URB LEVITTOWN 6TA SEC       F10 CALLE ANTONIO P PIERET                                                              TOA BAJA           PR         00949
   253207 JUAN DIAZ ALVERIO                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253208 JUAN DIAZ ARROYO                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689982 JUAN DIAZ BUSQUETS                          URB QUINTAS DEL BULEVAR     13 CALLE MEMORIAL DRIVE                                                                 BAYAMON            PR         00961
   253209 JUAN DIAZ CARBONELL                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JUAN DIAZ DBA JD WELDING &
   253210 CONSTRUCTION                                HC 03 BOX 21899                                                                                                     ARECIBO            PR         00612
   253211 JUAN DIAZ DE JESUS                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253213 JUAN DIAZ DIAZ                              REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689983 JUAN DIAZ FELICIANO                         HC 1 BOX 8042                                                                                                       HATILLO            PR         00659
   689984 JUAN DIAZ GOMEZ                             PO BOX 435                                                                                                          OROCOVIS           PR         00720
   253214 JUAN DIAZ HERNANDEZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253215 JUAN DIAZ HUERTAS                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689985 JUAN DIAZ LOPEZ                             200 CALLE GEROFE ORTIZ                                                                                              SABANA SECA        PR         00949
   689986 JUAN DIAZ MARTINEZ                          PO BOX 708                                                                                                          DORADO             PR         00646‐0708
   253216 JUAN DIAZ NEGRON                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253217 JUAN DIAZ ORTIZ                             REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253218 JUAN DIAZ RIJOS                             REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   689989 JUAN DIAZ RIVERA                            P O BOX 1291                                                                                                        COROZAL            PR         00783‐7001
   253219 JUAN DIAZ RODRIGUEZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  253221 JUAN DIAZ VALENTIN                           REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  689992 JUAN DIEGO DAZA VACA                         213 CALLE LAS MARIAS             304 HIL PARK TOWER                                                                  SAN JUAN            PR         00927
  689993 JUAN DOMENECH                                PARCELAS FALU                    477 CALLE SIMON MADERA                                                              SAN JUAN            PR         00924
                                                      RES. VILLA SOIGAR #20 CALLE G.
   689994 JUAN DOMINGO CASTRO                         MEND                             CARDONA APT.15                                                                      SAN SEBASTIAN       PR         00685

   253222 JUAN DOMINGO EN ACCION INC                  1353 AVE LUIS VIGOREAUX                                                                                              GUAYNABO            PR         00966
          JUAN DOMINGO FERREIRA
   689995 COVALEDA                                    706 EST SAN BENITO                                                                                                   MAYAGUEZ            PR         00680
   689996 JUAN DOMINGO RIOS                           HC 03 BOX 13476                                                                                                      YAUCO               PR         00698
   253223 JUAN DOMINGO VAZQUEZ                        REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   689997 JUAN DOMINGUEZ BIDOT                        VILLAMAR                         1255 MARGINAL                                                                       CAROLINA            PR         00979
   689998 JUAN DORTA PEREZ                            HC‐4 BOX 45801                                                                                                       HATILLO             PR         00659
   688880 JUAN DURAN                                  PO BOX 2249                                                                                                          TOA BAJA            PR         00951
   689999 JUAN DURAN CRUZ                             URB SAN CRISTOBAL                F 2 B CALLE 3                                                                       BARRANQUITAS        PR         00794
   690002 JUAN E ABREU MORALES                        HC 2 BOX 7602                                                                                                        YABUCOA             PR         00767
   690003 JUAN E AGOSTINI RIVERA                      PO BOX 297                                                                                                           LAS MARIAS          PR         00670
   253224 JUAN E ALICE MONTANEZ                       REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   253225 JUAN E ALVARADO PENALVERT                   REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253226 JUAN E ALVAREZ                              REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253227 JUAN E APONTE COLON                         REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253229 JUAN E BELTRAN RODRIGUEZ                    REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253230 JUAN E BERNIER RIVERA                       REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   690005 JUAN E BONILLA CONCEPCION                   URB LEVITOWN                     AJ 3 PASEO MAGDALENA                                                                TOA BAJA            PR         00949
   253231 JUAN E BONILLA VALLE                        REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690007 JUAN E BRUNET JUSTINIANO                    PO BOX 50071                                                                                                         SAN JUAN            PR         00902
   253233 JUAN E BURGOS OCACIO                        REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253234 JUAN E CABAN SOSA                           REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN E CARRASQUILLO
   253238 DELGADO                                     REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690010 JUAN E CARTAGENA COLON                      URB JARD DE GUAMANI              D 36 CALLE 15                                                                       GUAYAMA             PR         00784
   690011 JUAN E CASANOVA                             URB LAS ALONDRAS                 CALLE 1 A 7                                                                         VILLALBA            PR         00766
   690012 JUAN E CASIANO DIAZ                         PO BOX 916                                                                                                           OROCOVIS            PR         00720
   253239 JUAN E CATALA SANCHEZ                       REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253241 JUAN E CHINEA COTTO                         REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253242 JUAN E COLÓN ARROYO                         REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253243 JUAN E COLON CARMONA                        REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690014 JUAN E COLON CRUZ                           PO BOX 3483                                                                                                          CAYEY               PR         00737
   690015 JUAN E COLON GARCIA                         PO BOX 189 BO RABANAL                                                                                                AIBONITO            PR         00705
   690016 JUAN E COLON MARRERO                        BO PALMAS                        8 CALLEJON PILAR                                                                    CATANO              PR         00962
   253244 JUAN E COLON MORENO                         REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      40 CALLE MATEI LLUBERAS
   690017 JUAN E COLON RENOVALES                      ALTOS                                                                                                                YAUCO               PR         00698
   690018 JUAN E COLON RIVERA                         2496 PLAYUELA                                                                                                        AGUADILLA           PR         00603
   253245 JUAN E CONCEPCION PELLOT                    REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253246 JUAN E CORDERO COLON                        REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690020 JUAN E COSME VAZQUEZ                        PO BOX 504                                                                                                           TOA ALTA            PR         00954‐0504

   690023 JUAN E CRUZ DIAZ                            MANCIONES DE ALEJANDRINO         15 PRINCIPAL                                                                        GUAYNABO            PR         00969
   253247 JUAN E DE JESUS DEL VALLE                   REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253248 JUAN E DEL ROSARIO MASINI                   REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  690024 JUAN E DELIZ HERNANDEZ                       PO BOX 448                                                                                                    ISABELA           PR         00662‐0448
  690025 JUAN E DIAZ BELLIARD                         14 D VILLA DEL PARQUE                                                                                         SAN JUAN          PR         00909
  690026 JUAN E DIAZ COLON                            BOX 203                                                                                                       BARRANQUITAS      PR         00974
  253250 JUAN E FUENTES QUINONES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  253251 JUAN E GARCIA GONZALEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      COND ALTA VISTA APTO 13B
   690029 JUAN E GARCIA USCOCOVICH                    TORRE 1                                                                                                       GUAYNABO          PR         00969
          JUAN E GOMEZ
   690030 [REMODELACIONES GOMEZ                       157 CALLE PALESTINA                                                                                           SAN JUAN          PR         00917
   690031 JUAN E GONZALEZ COLON                       MONTE CLARO                 MB 8 PLAZA 2                                                                      BAYAMON           PR         00961
   690032 JUAN E GONZALEZ FONSECA                     JARD DE COUNTRY CLUB        CG 41 CALLE 143                                                                   CAROLINA          PR         00983
   690035 JUAN E HERNANDEZ CRUZ                       PO BOX 1544                                                                                                   SAN GERMAN        PR         00683
   253252 JUAN E HERNANDEZ DAVILA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690036 JUAN E HERNANDEZ INC                        PO BOX 598                                                                                                    ARECIBO           PR         00613‐0598

   253253 JUAN E HERNANDEZ MAYORAL                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688881 JUAN E HERNANDEZ ORTIZ                      HC 1 BOX 5141                                                                                                 OROCOVIS          PR         00720
   690037 JUAN E INCLE CARLO                          CANTERA                     2364 CALLE GUANO                                                                  SAN JUAN          PR         00915
   253254 JUAN E INCLE MATOS                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253255 JUAN E LOPEZ SANTOS                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253256 JUAN E LOPEZ TORRES                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253257 JUAN E MALDONADO RIOS                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JUAN E MARRERO
   253258 CARRASQUILLO                                REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690038 JUAN E MARRERO NEGRON                       71 CALLE ARIZMENDI                                                                                            FLORIDA           PR         00650
   690039 JUAN E MARTINEZ BURGOS                      HC 2 BOX 8132                                                                                                 OROCOVIS          PR         00720
          JUAN E MARTINEZ
   253259 CARRASQUILLO                                REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690042 JUAN E MEDINA NIEVES                        HC 04 BOX 48916                                                                                               CAGUAS            PR         00725‐9637
   253260 JUAN E MEDINA QUINTANA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253261 JUAN E MEDINA TORRES                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690043 JUAN E MENDEZ                               APARTADO 192                                                                                                  SAN GERMAN        PR         00683
   253262 JUAN E MENDEZ QUINONES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253263 JUAN E MENDEZ VALENTIN                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253264 JUAN E MILLAYES VEGA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690000 JUAN E MIRANDA MISLAN                       URB PRADERA                 AP 12 CALLE 16                                                                    LEVITTOWN         PR         00949
   253265 JUAN E MONTES CORBETT                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690045 JUAN E MORALES CLAUDIO                      P O BOX 850                                                                                                   YABUCOA           PR         00767
   690048 JUAN E MORALES ORTA                         HC 2 BOX 14900                                                                                                CAROLINA          PR         00985
                                                      BO.LOMAS VALLE HC‐71 BOX‐
   690049 JUAN E MORALES RIVERA                       2791                                                                                                          NARANJITO         PR         00719
   253267 JUAN E MORALES SANTIAGO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690050 JUAN E MORALES VELEZ                        HC 1 BOX 4147                                                                                                 LARES             PR         00669
   253268 JUAN E MUJICA GONZALEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253269 JUAN E MUJICA HERNANDEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253271 JUAN E MUNOZ DIAZ                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690051 JUAN E NATER SANTANA                        P O BOX 7469                                                                                                  CAGUAS            PR         00726
   690054 JUAN E NEGRON PADILLA                       39 CALLE BOU                                                                                                  COROZAL           PR         00783
   690055 JUAN E NEGRON RIOS                          RR 4 BOX 961                                                                                                  BAYAMON           PR         00956
   253272 JUAN E NIEVES COLON                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690056 JUAN E NIEVES MORA                          307 EDIF OLIVER             66 JOSE DE DIEGO                                                                  ARECIBO           PR         00612
   253273 JUAN E NUNEZ VELEZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690058 JUAN E OCASIO ROJAS                         BO LA CHANGA                PO BOX 129                                                                        CAGUAS            PR         00726



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  253274 JUAN E OCASIO TORRES                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  690059 JUAN E ORTIZ ESTRADA                         URB VALENCIA               Y 18 CALLE 1                                                                              BAYAMON           PR         00959
  253275 JUAN E ORTIZ LEON                            REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  253276 JUAN E ORTIZ RIVERA                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  690060 JUAN E OYOLA CINTRON                         PO BOX 198                                                                                                           NARANJITO         PR         00719
  690061 JUAN E PADUA VELEZ                           HC 1 BOX 3079                                                                                                        ADJUNTAS          PR         00601
  253277 JUAN E PENA RODRIGUEZ                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  253279 JUAN E PEREZ FERNANDEZ                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  690062 JUAN E PEREZ GOMEZ                           URB VILLA CRIOLLA          C 12 CALLE COROZAN                                                                        CAGUAS            PR         00725
  253280 JUAN E PEREZ NIEVES                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  253282 JUAN E PEREZ PEREZ                           REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  253283 JUAN E PEREZ REILLY                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  690063 JUAN E PORRATA ORTIZ                         URB LOS FRAILES NORTE      J 10 CALLE 1                                                                              GUAYNABO          PR         00969
  253284 JUAN E QUINTANA TOLEDO                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  253285 JUAN E RAMIREZ FERNANDEZ                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  690064 JUAN E RAMOS JOVE                            PARQUE ECUESTRE            L 20 CALLE THE KID                                                                        CAROLINA          PR         00987
  253286 JUAN E REYES DEL VALLE                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  690065 JUAN E RIVERA                                RES NARCISO VARONA         EDIF 22 APT 180                                                                           JUNCOS            PR         00777
                                                      SECTOR EL CUATRO BO
   690066 JUAN E RIVERA ANDALUZ                       QUEBRADA                   CARR 824 KM 6 3                                                                           TOA ALTA          PR         00953

          JUAN E RIVERA
   690067 APONTE/TAQUERIA LOS JUANES                  HC 1 BOX 8313                                                                                                        LOIZA             PR         00772
   253287 JUAN E RIVERA DIAZ                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253288 JUAN E RIVERA GONZALEZ                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690070 JUAN E RIVERA RIVERA                        RR 6 BOX 9507                                                                                                        SAN JUAN          PR         00926
   253289 JUAN E RIVERA RODRIGUEZ                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   253291 JUAN E RODRIGUEZ DE HOSTOS                  REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      URB ENCANTADA PARQUE DEL
   688882 JUAN E RODRIGUEZ MAIZ                       RIO                        PE 17 CALLE VIA DEL RIO                                                                   TRUJILLO ALTO     PR         00976
          JUAN E RODRIGUEZ
   690072 OPPENHEIMER                                 URB SANTA CLARA            T5 CALLE REINA DE LAS FLORES                                                              GUAYNABO          PR         00969
   690073 JUAN E ROMERO MORALES                       COLINAS VERDES             28A CALLE 1                                                                               SAN JUAN          PR         00924
   690074 JUAN E ROSA MORALES                         HC 3 BOX 10289                                                                                                       CAMUY             PR         00627
   690075 JUAN E ROSARIO ROSADO                       HC 01 BOX 3200                                                                                                       JAYUYA            PR         00664
   253292 JUAN E RUIZ ASPRILLA                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253293 JUAN E RUIZ CRUZ                            REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253294 JUAN E SABATHIE QUINONES                    REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690077 JUAN E SANCHEZ                              BAYAMON GARDENS            F 17 CALLE 18                                                                             BAYAMON           PR         00957
   690078 JUAN E SANCHEZ RODRIGUEZ                    LAGOS DE PLATA LEVITTOWN   J 47 CALLE 9                                                                              TOA BAJA          PR         00949
   690079 JUAN E SANTANA FELIX                        PO BOX 25097                                                                                                         SAN JUAN          PR         00928‐5097
   253295 JUAN E SANTIAGO CASIANO                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253296 JUAN E SANTIAGO LOPEZ                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253297 JUAN E SANTIAGO NUNEZ                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253298 JUAN E SANTOS LOPEZ                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253299 JUAN E SERINO CRUZ                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253300 JUAN E SERRANO SANTIAGO                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253301 JUAN E SIERRA VEGA                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690086 JUAN E SOTO LOPEZ                           PO BOX 40050                                                                                                         SAN JUAN          PR         00940‐0050
   253302 JUAN E TORO TOLEDO                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690087 JUAN E TORRES                               A 110 BUENA VISTA                                                                                                    PONCE             PR         00731
   253303 JUAN E TORRES PALMER                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  253304 JUAN E TORRES RAMOS                          REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  690088 JUAN E TORRES RODRIGUEZ                      URB SAN ANTONIO                2554 CALLE DAMASCO                                                                    PONCE               PR         00728‐1800
  690089 JUAN E TORRES TORRES                         URB VILLA DEL CARMEN           NN2 CALLE 13                                                                          PONCE               PR         00731
  253305 JUAN E TORRUELLA                             REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  253306 JUAN E TORRUELLAS ROJAS                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  690090 JUAN E VAZQUEZ RIVERA                        HC 1 BOX 7586                                                                                                        LUQUILLO            PR         00773

   690091 JUAN E VAZQUEZ RODRIGUEZ                    COND TORRES DE CERVANTES       240 CALLE 49 APT A 402                                                                SAN JUAN            PR         00924
   253307 JUAN E VAZQUEZ ROSA                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690001 JUAN E VEGA HERNANDEZ                       PO BOX 3154                                                                                                          VEGA ALTA           PR         00692 3154
   253308 JUAN E VEGA ROQUE                           REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253309 JUAN E VELAZQUEZ DIAZ                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688883 JUAN E VELAZQUEZ REYES                      URB SAINT JUST                 5 CALLE BETANIA                                                                       TRUJILLO ALTO       PR         00976

   690092 JUAN E VELAZQUEZ RODRIGUEZ                  H C 03 BOX 12111                                                                                                     CAROLINA            PR         00987‐9602
   690093 JUAN E VELEZ GUZMAN                         HC 1 BOX 8271                                                                                                        LOIZA               PR         00772
   690094 JUAN E VELEZ SANTIAGO                       JARDINES DE CAPARRA            MM 23 CALLE 22                                                                        BAYAMON             PR         00959‐7625
   690096 JUAN E VILLAFA¥E COLON                      URB HORIZONTES                 63 CALLE ALEGRIA                                                                      GURABO              PR         00778
   690097 JUAN E VILLANUEVA                           URB LOMAS DE CAROLINA          R 5 CALLE CERRO LA SANTA                                                              CAROLINA            PR         00967
   690098 JUAN E VILLEGAS ANDINO                      VILLA FONTANA                  4BN 13 VIA 31                                                                         CAROLINA            PR         00983
   690099 JUAN E YAMBO RAMOS                          HC 06 BOX 4320                                                                                                       COTTO LAUREL        PR         00780
   690101 JUAN E. AGOSTINI                            PO BOX 367070                                                                                                        SAN JUAN            PR         00936
   690102 JUAN E. APONTE                              PO BOX 50067                                                                                                         SAN JUAN            PR         00902
                                                      URB. RIVIERA DE CUPEY M‐1
   690104 JUAN E. BORRERO RIVERA                      CALLE MAR                      QUEZA                                                                                 SAN JUAN            PR         00926
          JUAN E. LOPEZ Y/O JOHNNY EL
   690106 BRAVO                                       URB COLINAS VERDES             F44 CALLE 7                                                                           SAN JUAN            PR         00924
   253313 JUAN E. MARTINEZ BAEZ                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253314 JUAN E. PEREZ TORRES                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253315 JUAN E. REYES SALAMO                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253316 JUAN E. RIOS LOPEZ                          REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253318 JUAN E. SEGARRA                             REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      URB. LAS LOMAS 1681 CALLE 24
   690111 JUAN ECHEVARIA                              SO                                                                                                                   SAN JUAN            PR         00921
                                                      URB LAS LOMAS 1681 SO CALLE
   690112 JUAN ECHEVARRIA                             24                                                                                                                   SAN JUAN            PR         00921
   690113 JUAN ECHEVARRIA ARRIAGA                     PO BOX 366583                                                                                                        SAN JUAN            PR         00936
   253319 JUAN ECHEVARRIA ROMAN                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN ECHEVARRIA/TRINIDAD
   253320 ECHEVARRIA                                  REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   253321 JUAN EDUARDO MOJICA CAMIS                   REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253323 JUAN ELI DIAZ FLORES                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253324 JUAN ELIZA BAEZ                             REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690115 JUAN ELLIN GUILLET                          HC 02 BOX 6628                                                                                                       RINCON              PR         00677
   690116 JUAN EMANUELLI TORRES                       PO BOX 171                                                                                                           JAYUYA              PR         00664‐0171

   690117 JUAN EMILIO LUGO RODRIGUEZ OFIC. DEL GOBERNADOR                            PO BOX 9020082                                                                        SAN JUAN            PR         00902
          JUAN ENCARNACION
   690119 DOMINGUEZ                  URB PARQUE ECUESTRE                             AB 33 CALLE 30                                                                        CAROLINA            PR         00987
   253325 JUAN ENCARNACION DURAN     REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN ENCARNACION
   253326 ENCARNACION                REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  253327 JUAN ENCARNACION FLORES                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   690120 JUAN ENRIQUE NOGUERA AMY                    CARIBE DEV                     1589 CALLE GILA                                                                         SAN JUAN            PR         00926
          JUAN ENRIQUE QUILES
   690121 LORENZANA                                   URB ATENAS                     C 40 CALLE MARTINEZ QUILES                                                              MANATI              PR         00674

   253328 JUAN ENRIQUE SANTANA FELIX                  REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN ENRIQUE SEGARRA
   690122 PALMER                                      URB BALDRICH                   203 CALLE ROSSY                                                                         SAN JUAN            PR         00918
          JUAN ENRIQUE TABOAS
   690123 SANTIAGO                                    P O BOX 2547                                                                                                           ARECIBO             PR         00613
   690124 JUAN ERAZO RODRIGUEZ                        BOX 1013                                                                                                               BAYAMON             PR         00956
                                                      SECTOR CUBA BOX 1714 CARR
   690125 JUAN ESCABI MENDEZ                          108                                                                                                                    MAYAGUEZ            PR         00680
                                                      EDIF 228 APT 2361 R/LUIS LL.
   690126 JUAN ESCALERA CRUZ                          TORRES                                                                                                                 SAN JUAN            PR         00915
   690129 JUAN ESPADA FONT                            HC 1 BOX 6022                                                                                                          SANTA ISABEL        PR         00757
   690130 JUAN ESPINAL                                121 ISMAEL RIVERA                                                                                                      SAN JUAN            PR         00911
          JUAN ESQUERDO RIOS H/N/C
   253331 CARNAVAL RENTAL                             PO BOX 287                                                                                                             GURABO              PR         00778
   253333 JUAN ESTEVES MASSO                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253334 JUAN ESTRADA FIGUEROA                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690131 JUAN ESTRADA RIVERA                         PO BOX 35                                                                                                              PUERTO REAL         PR         00740
   253336 JUAN F ALCANTARA OGANDO                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690132 JUAN F ALMODOVAR DONATE                     HC 01 BOX 7420                                                                                                         HATILLO             PR         00659
   690133 JUAN F ALVAREZ GHERSI                       URB LA SERRANIA                123 CALLE UNIDAD                                                                        CAGUAS              PR         00725
   253337 JUAN F BADO PEREZ                           REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690134 JUAN F BATTISTINI BAEZ                      SUITE 248 PO BOX 3002                                                                                                  RIO GRANDE          PR         00745
   253338 JUAN F BATTISTINI ORTIZ                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688884 JUAN F BATTISTINI ORTIZ                     F 8 BDA LA OLIMPIA                                                                                                     ADJUNTAS            PR         00601‐2377
   253339 JUAN F BERRIOS ALTIERY                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253341 JUAN F BRACERO COLON                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253342 JUAN F CABAN CRUZ                           REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253343 JUAN F CABAN VELEZ                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN F CABREJA FERMIN Y LUCY
   253344 DIPRE                                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253345 JUAN F CABRERA BUSTOS                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   253346 JUAN F CALDERON MALDONADO REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690135 JUAN F CARDONA            URB APOLO                                        009 CALLE ATENAS                                                                        GUAYNABO            PR         00969‐5025
   690136 JUAN F CARDONA JIMENEZ    PO BOX 9023593                                                                                                                           SAN JUAN            PR         00902‐3593
   690137 JUAN F CATALA LUGO        P O BOX 695                                                                                                                              YAUCO               PR         00698
   253347 JUAN F COLON MONTANEZ     REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690138 JUAN F CORA DELGADO       PO BOX 48                                                                                                                                ARROYO              PR         00714
   253348 JUAN F CORREA LUNA        REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253349 JUAN F CRUZ ACOSTA        REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690140 JUAN F CRUZ COLON         CALLE RAMON PEREZ #23                                                                                                                    FLORIDA             PR         00650
   253350 JUAN F DELGADO LOPEZ      REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253351 JUAN F DELGADO TORRES     REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688850 JUAN F ESTEVES MARQUEZ    268 AVE PONCE DE LEON                            SUITE 418                                                                               SAN JUAN            PR         00918 2010
   690142 JUAN F FALCON FLORAN      SANTA CRUZ                                       21 CALLE ONGAY                                                                          BAYAMON             PR         00959
   690143 JUAN F FELIU RABASSA      VETERANS STATION PLAZA                           PO BOX 33089                                                                            SAN JUAN            PR         00933




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                                                      URB VILLA CAROLINA 30A‐16
   690144 JUAN F FIGUEROA CANCEL                      CALLE 8A                                                                                                         CAROLINA            PR           00985
   690145 JUAN F FIGUEROA FIGUEROA                    PO BOX 9023670                                                                                                   SAN JUAN            PR           00902‐3670

   690146 JUAN F FONTANEZ HERNANDEZ RES ALTURAS DE ADJUNTAS #31                                                                                                        ADJUNTAS            PR           00601
   690147 JUAN F FRADERA CARABALLO    URB TREASURE VALLEY                         J 7 AVE LAS AMERICAS                                                                 CIDRA               PR           00739
   690148 JUAN F GARCIA               PO BOX 1549                                                                                                                      GUAYNABO            PR           00970‐1549
   690149 JUAN F GARCIA INC           PO BOX 1549                                                                                                                      GUAYNABO            PR           00970‐1549
   690150 JUAN F GONZALEZ             I 14 PARQUE SAN MIGUEL                                                                                                           BAYAMON             PR           00959
   690151 JUAN F GONZALEZ ALCOVER     PO BOX 156                                                                                                                       LARES               PR           00669
   690152 JUAN F GONZALEZ OTERO       HC‐01 BOX 4368                                                                                                                   HATILLO             PR           00659
   690153 JUAN F GONZALEZ RAMOS       RR 36 BOX 11590                                                                                                                  SAN JUAN            PR           00926
   253352 JUAN F GUERRERO REYES       REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   690154 JUAN F GUEVARA              P O BOX 193311                                                                                                                   SAN JUAN            PR           00919‐3311
   253353 JUAN F HERNADEZ CASTRO      REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253354 JUAN F HERNANDEZ JIMENEZ    REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   690155 JUAN F HERNANDEZ ORTIZ      PO BOX 7144                                                                                                                      CAGUAS              PR           00726
   690156 JUAN F HERNANDEZ PEREZ      HC 2 BOX 9115                                                                                                                    QUEBRADILLAS        PR           00678
   690157 JUAN F HERNANDEZ RIVERA     BO ZANJAS HC 05 BOX 25454                                                                                                        CAMUY               PR           00627‐9834
          JUAN F HERNANDEZ Y CARMEN L
   253355 HERNANDEZ                   REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   690158 JUAN F HERRERA SILVERIO     HC 1 BOX 7954                                                                                                                    HATILLO             PR           00659
   690159 JUAN F IRIZARRY FELICIANO   P O BOX 501                                                                                                                      CASTANER            PR           00631
   690160 JUAN F IRIZARRY VELEZ       PO BOX 458                                                                                                                       LARES               PR           00669
   688849 JUAN F JIMENEZ HILARIO      URB FLORAL PARK                             122 CALLE PARIS                                                                      SAN JUAN            PR           00917
   253356 JUAN F JIMENEZ RODRIGUEZ    REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   690161 JUAN F LEBRON               VILLAS DEL ESTE                             10 CALLE BENITO FEIJO                                                                SAN JUAN            PR           00926
          JUAN F LUIS HOSPITAL AND
   253358 MEDICAL CENTER              4007 EAST DIAMOND RUBY                      CHRISTIANSTED                                                                        ST CROIX            VI           00821‐4421
   253359 JUAN F MARTINEZ GUZMAN      REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253360 JUAN F MARTINEZ RIVERA      REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253361 JUAN F MEDINA TEJEDA        REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253362 JUAN F MERCADO PEREZ        REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   690165 JUAN F MERCADO SERRANO      HC 01 BOX 6173                                                                                                                   HATILLO             PR           00659
   690166 JUAN F MIRANDA FELICIANO    PO BOX 909                                                                                                                       SANTA ISABEL        PR           00757
   690167 JUAN F MIRANDA MONTALVO     PO BOX 1812                                                                                                                      ARECIBO             PR           00613
   690168 JUAN F MONTALVO             PO BOX 2390                                                                                                                      SAN JUAN            PR           00919

   690169 JUAN F MONTALVO RODRIGUEZ                   PO BOX 364664                                                                                                    SAN JUAN            PR           00936
   253363 JUAN F MORALES MORA                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   690170 JUAN F OLIVERAS PACHECO                     HC 02 BOX 10735                                                                                                  YAUCO               PR           00698
   253365 JUAN F ORTIZ MALDONADO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253366 JUAN F ORTIZ PABON                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253367 JUAN F OTERO MOLINA                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                  A43 CALLE 37 URB TURABO
   690173 JUAN F PEDRAZA COLON                        TURABO GARDENS              GDNS                                                                                 CAGUAS              PR       00725
   253368 JUAN F PENA ORTIZ                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   253370 JUAN F PICHARDO REYES                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   253371 JUAN F PINERO PINERO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   690174 JUAN F RAMOS ORTIZ                          BO BAYAMON                  BOX 6122                                                                             CIDRA               PR       00739
   690175 JUAN F RAMOS VAZQUEZ                        HC 763 BOX 3068                                                                                                  PATILLAS            PR       00723

   253372 JUAN F RIVERA CARRASQUILLO                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  253373 JUAN F RIVERA COLON                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  253374 JUAN F RIVERA HERNANDEZ                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  690177 JUAN F RIVERA MORALES                        URB LA PLATA             22 CALLE 6                                                                              COMERIO             PR         00782
  253375 JUAN F RODRIGUEZ MARTI /                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   253376 JUAN F RODRIGUEZ MELENDEZ                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                               CARR 2 KM 103 4 INT CALLE
   690178 JUAN F RODRIGUEZ SERRANO                    BO TERRA NOVA            PENIEL                                                                                  QUEBRADILLAS        PR         00678
                                                      URB.COUNTRY CLUB OK‐19
   690179 JUAN F ROLON DELIZ                          CALLE 508                                                                                                        CAROLINA            PR         00982
   253379 JUAN F ROMAN SANTIAGO                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690180 JUAN F ROSADO                               P O BOX 21365                                                                                                    SAN JUAN            PR         00928‐1365
   690181 JUAN F ROSARIO AYALA                        URB LOMAS VERDES         P4 CALLE CAMPANILLA                                                                     BAYAMON             PR         00956
   253381 JUAN F SOTO DEL VALLE                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690182 JUAN F TORRES CACERES                       HC 03 BOX 7007                                                                                                   HUMACAO             PR         00791‐9524
   253382 JUAN F TORRES SANDOVAL                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690183 JUAN F UBARRI MESTRES                       PO BOX 4098                                                                                                      CAROLINA            PR         00984‐4098
   253383 JUAN F VARGAS SERRANO                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253384 JUAN F VAZQUEZ PACHECO                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   690185 JUAN F VELAZQUEZ GONZALEZ                   URB ISABEL LA CATOLICA   B 28 CALLE 5                                                                            AGUADA              PR         00602
   253385 JUAN F VELEZ QUINONES                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN F WOODROFFE &                                                   530 CONSTITUTION AVE SUITE
   253386 ASSOCIATES INC                              ATRIUM BUSINESS CENTER   320                                                                                     SAN JUAN            PR         00901
   690187 JUAN F. DE JESUS MEDINA                     HC 1 BOX 4115                                                                                                    LARES               PR         00669
   690189 JUAN F. GONZALEZ LUNA                       PO BOX 4099              OFIC. SUPTE. ESC. CAROLINA                                                              CAROLINA            PR         00984
   253387 JUAN F. GUERRERO REYES                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN F. GUILLOTY MERCADO
   253388 DBA COMERCIAL                               P.O.BOX 101                                                                                                      LAS MARIAS          PR         00670
   253389 JUAN F. JIMENEZ RODRIGUEZ                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253390 JUAN F. MALDONADO MARIN                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253391 JUAN F. NIEVES MARTINEZ                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690190 JUAN F. RUIZ ORONOZ                         PO BOX 705                                                                                                       ARECIBO             PR         00613
   690191 JUAN F. WOODROFFE                           PARQ DE SANTA MARIA      K3 CALLE PETUNIA                                                                        SAN JUAN            PR         00927
   253392 JUAN FALCON VAZQUEZ                         REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690193 JUAN FEBO RODRIGUEZ                         URB SAN AGUSTIN          419 CALLE SOLDADO LIBRAN                                                                SAN JUAN            PR         00923
   253393 JUAN FELICIANO                              REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253394 JUAN FELICIANO ORTIZ                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690195 JUAN FELICIANO RAMOS                        BO CACAO                 CARR 477 BOX 2356                                                                       QUEBRADILLAS        PR         00678
   253396 JUAN FELICIANO RODRIGUEZ                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690196 JUAN FELICIANO VEGA                         HC 1 BOX 6440                                                                                                    MOCA                PR         00676
   690197 JUAN FELICIER CRUZ                          PO BOX 715                                                                                                       SAINT JUST          PR         00978

   690198 JUAN FELIPE BONILLA SANTIAGO 8 BO ROCHA                                                                                                                      MOCA                PR         00676
   253401 JUAN FELIX BONANO BENITEZ    REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690199 JUAN FELIX RAMIREZ TERRON    P O BOX 16                                                                                                                      FLORIDA             PR         00693
   690201 JUAN FELIX RIVERA SANCHEZ    PO BOX 4103                                                                                                                     CAROLINA            PR         00984
   253403 JUAN FERNANDEZ CRUZ          REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN FERNANDO PACHECO
   690204 DUARTE                       CORP UNIV MINUTO DE DIOS                DIAGONAL 87 NUM 72‐55                                                                   BOGOTA                                      COLOMBIA
   690205 JUAN FERRER MILLAN           URB EXT VERDE MAR                       1124 CALLE 33                                                                           PUNTA SANTIAGO      PR         00741
   690207 JUAN FIGUEROA                PO BOX 11855                                                                                                                    SAN JUAN            PR         00910‐4225
   253408 JUAN FIGUEROA CARRER         REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  253409 JUAN FIGUEROA COLON                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690209 JUAN FIGUEROA GONZALEZ                       PO BOX 958                                                                                                   VEGA BAJA          PR         00693
  690211 JUAN FIGUEROA HERNANDEZ                      HC 03 BOX 34613                                                                                              AGUADILLA          PR         00603
  253410 JUAN FIGUEROA MARTINEZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690212 JUAN FIGUEROA ORTEGA                         HC 02 BOX 72201                                                                                              CIALES             PR         00638
         JUAN FIGUEROA ORTIZ/RITA
  690213 MARTINEZ                                     PO BOX 810107                                                                                                CAROLINA           PR         00981
  690214 JUAN FIGUEROA RIVERA                         BOX 272                                                                                                      OROCOVIS           PR         00720
  253412 JUAN FIGUEROA RODRIGUEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690216 JUAN FIGUEROA ROSADO                         CAGUAS NORTE               H 6 CALLE GENOVA                                                                  CAGUAS             PR         00725
  253413 JUAN FIGUEROA SANCHEZ                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253414 JUAN FIGUEROA TORRES                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690218 JUAN FIGUEROA VELAZQUEZ                      HC 01 BOX 6167                                                                                               LAS PIEDRAS        PR         00771
  690219 JUAN FLORES CUADRADO                         HC 3 BOX 39304                                                                                               CAGUAS             PR         00725
  690220 JUAN FLORES DASTA                            URB EL CAFETAL             E 28 CALLE 5                                                                      YAUCO              PR         00698
  253415 JUAN FLORES FIGUEROA                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253416 JUAN FLORES OLIVENCIA                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  688885 JUAN FLORES SANTANA                          URB EL COMANDANTE          384 CALLE KELLY                                                                   CAROLINA           PR         00982
  253417 JUAN FONSECA CLAUDIO                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690221 JUAN FONSECA DIAZ                            RES QUINTANA               EDF 22 APT 279                                                                    HATO REY           PR         00917
  253418 JUAN FONSECA ORTEGA                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690222 JUAN FONT TORRES                             58 CALLE ARIZMENDI                                                                                           FLORIDAD           PR         00650
  253419 JUAN FRANCISCO BARROSO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         JUAN FRANCISCO DE JESUS
  253420 MEDINA                                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690226 JUAN FRANQUI ROSARIO                         HC 1 BOX 7389                                                                                                HATILLO            PR         00659
  690227 JUAN FUENTES                                 HC 1 BOX 8792                                                                                                AGUAS BUENAS       PR         00703 9727
  253422 JUAN FUENTES MENDEZ                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253423 JUAN FUENTES MOLINA                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690229 JUAN FUENTES ROBLES                          RR 3 BOX 9162                                                                                                TOA ALTA           PR         00953
  253424 JUAN G AGOSTO LAUREANO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   253425 JUAN G ALMODOVAR FABREGAS                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253426 JUAN G ALMONTE OLIVENCE                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253427 JUAN G ALVAREZ DIAZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   688886 JUAN G ARCHILLA NEGRON                      BO ARENALES                2078 AVE ARENALES                                                                 VEGA BAJA          PR         00693
   253428 JUAN G BAEZ VAZQUEZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253429 JUAN G BALLESTER RIVERA                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253430 JUAN G BARBOSA TORO                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690232 JUAN G BARRETO SANTOS                       PMB 459 BOX 6400                                                                                             CAYEY              PR         00757

   690233 JUAN G BATISTA REYES                        URB ENCANTADA PARQUE RIO   150 C/ VIA PARQUE                                                                 TRUJILLO ALTO      PR         00976

   690234 JUAN G CALDERON GONZALEZ                    HC 01 BOX 5298                                                                                               CIALES             PR         00638‐9607
   253431 JUAN G COLON RIVERA                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690235 JUAN G COREANO ERAZO                        URB LA ESPERANZA           A13 CALLE 2                                                                       VEGA ALTA          PR         00692
   690236 JUAN G CORTES                               PO BOX 960                                                                                                   BAYAMON            PR         00960‐0096
   253432 JUAN G DOMIGUEZ SANCHEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   253433 JUAN G FERNANDEZ MARTINEZ                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   253434 JUAN G FERNANDEZ SANTIAGO                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690237 JUAN G FIGUEROA                             FERNANDEZ JUNCOS STATION   PO BOX 11855                                                                      SAN JUAN           PR         00910‐3855



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  253435 JUAN G GARCIA CORUJO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  253436 JUAN G GARCIA NATAL                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  253437 JUAN G GOMEZ BATIZ                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  690238 JUAN G GONZALEZ LAGOA                        PO BOX 9027                                                                                                     MAYAGUEZ          PR         00681‐9027
  690239 JUAN G GONZALEZ RIOS                         P O BOX 9021112                                                                                                 SAN JUAN          PR         00902‐1112
  253438 JUAN G GONZALEZ VEGA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   253440 JUAN G HERNANDEZ CINTRON                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253441 JUAN G IRIZARRY RODRIGUEZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690241 JUAN G JACOB GREENAWAY                      PO BOX 20105                                                                                                    SAN JUAN          PR         00928
   253442 JUAN G JORGE CORDERO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   253443 JUAN G LAUREANO HERNANDEZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   690242 JUAN G LEON RIVERA                          HC 07 BOX 3368                                                                                                  PONCE             PR       00731‐9607
   690230 JUAN G LOZADA ROCA                          HC 3 BOX 17401                                                                                                  COROZAL           PR       00783
   253444 JUAN G LUGO                                 REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   253445 JUAN G MALAVE BARBOSA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   253446 JUAN G MANGUAL VILANOVA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   690243 JUAN G MARRERO RIVERA                       P O BOX 60                                                                                                      AIBONITO          PR       00705

   253447 JUAN G MARRERO RODRIGUEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690244 JUAN G MARTINEZ DIAZ                        URB CAPARRA TERRACE         1402 SO CALLE 36                                                                    SAN JUAN          PR         00921

   690245 JUAN G MARTINEZ RODRIGUEZ                   P O BOX 105                                                                                                     CIDRA             PR         00739
   253449 JUAN G MEDINA RIVERA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253450 JUAN G MELENDEZ RIVERA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253451 JUAN G MICHEL PEREZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690246 JUAN G MORALES VARGAS                       903 CALLE SAN JOSE                                                                                              QUEBRADILLAS      PR         00678
   253452 JUAN G MUNIZ RUIZ                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JUAN G MUNIZ/ GAMBLE TERRI
   253453 MUNIZ                                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690247 JUAN G NEGRON JIMENEZ                       P O BOX 779                                                                                                     SABANA SECA       PR         00952
   253454 JUAN G NUNEZ BURGOS                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   253456 JUAN G OLIVIERI CARRASQUILLO                REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253457 JUAN G ORTIZ HORRACH                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253458 JUAN G OTERO OYOLA                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253459 JUAN G OYOLA ORTA                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253460 JUAN G PAMIAS CRUZ                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253461 JUAN G PERALTA PEREZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690248 JUAN G PEREZ MARQUEZ                        HC 2 BOX 22568                                                                                                  SAN SEBASTIAN     PR         00685
   253462 JUAN G PEREZ RAMOS                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253464 JUAN G PIZA AMADEO                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690249 JUAN G RIVERA                               URB APOLO                   42 CALLE TANAGRA                                                                    GUAYNABO          PR         00969
   253466 JUAN G RIVERA MUNOZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253467 JUAN G RIVERA PAGAN                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690250 JUAN G RIVERA RODRIGUEZ                     BO BUENA VISTA              98 CALLE 5                                                                          SAN JUAN          PR         00917

   690251 JUAN G RIVERA ROSARIO                       VILLA COOPERATIVA F17 CALLE 4                                                                                   CAROLINA          PR         00985
   253469 JUAN G RIVERA SANTANA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690252 JUAN G RODRIGUEZ DIAZ                       HC 40 BOX 45301                                                                                                 SAN LORENZO       PR         00754‐9895

   688887 JUAN G RODRIGUEZ GUEVARA                    PO BOX 3781                                                                                                     AGUADILLA         PR         00605



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  253470 JUAN G RODRIGUEZ ROIG                        REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  253471 JUAN G RODRIGUEZ TOSADO                      REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  690253 JUAN G SANTANA NEVAREZ                       P O BOX 34                                                                                               DORADO            PR         00646
  690254 JUAN G SANTIAGO                              P O BOX 5000          CAJA 136                                                                           SAN GERMAN        PR         00683
  690255 JUAN G SANTOS RAMIREZ                        URB VILLA RICA        A O 22 CALLE EVANS                                                                 BAYAMON           PR         00959
  253472 JUAN G SERRANO FIGUEROA                      REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  253473 JUAN G SOSA ROSADO                           REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  253474 JUAN G SOTO FONALLEDAS                       REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  253475 JUAN G TIRADO MUNIZ                          REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  253476 JUAN G VALENTIN MEDINA                       REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  253477 JUAN G VALLE RIVERA                          REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  690256 JUAN G VAYAS SALAZAR                         URB HERMANAS DAVILA   200 AVE BETANCES                                                                   BAYAMON           PR         00957
  253478 JUAN G VELEZ COURT                           REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  253479 JUAN G VELEZ RODRIGUEZ                       REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   253480 JUAN G. ALMODOVAR FABREGAS REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   690257 JUAN G. HERNANDEZ FELICIANO HC 1 BOX 3718                                                                                                            FLORIDA           PR         00650
   253482 JUAN G. MARTINEZ GARCIA     REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253483 JUAN G. ORTEGA CRUZ         REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JUAN G. SANTANA NEVAREZ DBA
   253484 TRANSPORTE E                P. O. BOX 34                                                                                                             DORADO            PR         00646‐0000
   253485 JUAN G. SANTOS ARROYO       REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JUAN GABRIEL MATOS
   253486 CONCEPCION                  REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   253487 JUAN GABRIEL RAMIREZ MALAVE REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253489 JUAN GABRIEL SANCHEZ DIAZ   REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JUAN GABRIEL SERRANO
   690259 MARCANO                     PO BOX 522                                                                                                               COROZAL           PR         00783
   253490 JUAN GABRIEL VELEZ COURT    REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690260 JUAN GALARZA FRAGOSA        URB VILLA CAROLINA                    115 I CALLE 73                                                                     CAROLINA          PR         00985
   253491 JUAN GALARZA NEGRON         REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688888 JUAN GALLO FINAMORE         URB VISTAMAR MARIAN                   F 13 CALLE JAEN                                                                    CAROLINA          PR         00983
   690261 JUAN GALLO FINAMORE         URB VISTAMAR MARINA                   F13 CALLE JEAN                                                                     CAROLINA          PR         00983
   253492 JUAN GARCIA                 REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690262 JUAN GARCIA ANDINO          95 BO CANTERA                                                                                                            MANATI            PR         00674
   690263 JUAN GARCIA BETANCOUT       COND TORRE DE CAROLINA                EDIF I APT 909 A                                                                   CAROLINA          PR         00979
   253493 JUAN GARCIA CARRASQUILLO    REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690265 JUAN GARCIA DAVILA          ADM SISTEMA DE RETIRO                 PO BOX 42003                                                                       SAN JUAN          PR         00940‐2003
   690268 JUAN GARCIA DE TOMAS        PO BOX 9204                                                                                                              HUMACAO           PR         00791
   690269 JUAN GARCIA FELIA           PO BOX 221                                                                                                               PATILLAS          PR         00723
   690270 JUAN GARCIA GARCIA          URB PARK GARDEN                       A4 18 CALLE VERSALLES                                                              SAN JUAN          PR         00926
   690271 JUAN GARCIA MARCANO         BO DUQUE                              BZN 2002 CALLE 4                                                                   NAGUABO           PR         00718
   690272 JUAN GARCIA MELENDEZ        URB RAFAEL BERMUDEZ                   J 10 CALLE 12                                                                      FAJARDO           PR         00738
   690274 JUAN GARCIA MONGE           CL 19 6387                                                                                                               CEIBA             PR         00735
   253494 JUAN GARCIA PACHECO         REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253495 JUAN GARCIA PEREZ           REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253496 JUAN GARCIA QUILES          REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690276 JUAN GARCIA RAMIREZ         RES ZENON DIAZ                        VALCARCEL RUIZ ED 6                                                                GUAYNABO          PR         00965
   253497 JUAN GARCIA RODRIGUEZ       REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253498 JUAN GARCIA SANTANA         REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253499 JUAN GARCIA SERRANO         REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  690278 JUAN GARCIA SIERRA                           PO BOX 15                                                                                                       PUNTA SANTIAGO     PR         00791
  253500 JUAN GARCIA Y IRENE GARCIA                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         JUAN GARCIA/ JUAN C GARCIA/
  253502 RUTH GARCIA                                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253503 JUAN GEORGE APELLANIZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   253504 JUAN GERARDO BATISTA REYES                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253505 JUAN GINES VAZQUEZ                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690282 JUAN GIRAUD JIMENEZ                         HC 3 BOX 18411                                                                                                  QUEBRADILLAS       PR         00678
   690283 JUAN GOMEZ BONILLA                          PO BOX 9300113                                                                                                  SAN JUAN           PR         00930‐0113
          JUAN GOMEZ VELEZ
   253506 ARQUITECTOS CSP                             PO BOX 1544                                                                                                     CAGUAS             PR         00726
   690286 JUAN GONZALEZ ABREU                         AVE JOBOS BOX 8084                                                                                              ISABELA            PR         00662
   253507 JUAN GONZALEZ ALVAREZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253508 JUAN GONZALEZ CABAN                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690287 JUAN GONZALEZ COLON                         PO BOX 650                                                                                                      JAYUYA             PR         00664‐0650
   690288 JUAN GONZALEZ CORDERO                       URB VILLA CAROLINA            237 14 CALLE 615                                                                  CAROLINA           PR         00985
   690289 JUAN GONZALEZ CRUZ                          P O BOX 9067                  PAMPANOS STATION                                                                  PONCE              PR         00732‐9067
   690290 JUAN GONZALEZ DE TORRES                     HC 02 18362                                                                                                     GURABO             PR         00778

   690291 JUAN GONZALEZ DIAZ                          HERMANAS DAVILA 271 CALLE 2                                                                                     BAYAMON            PR         00959

   690292 JUAN GONZALEZ ENCARNACION                   FERNANDEZ JUNCOS STATION      PO BOX 11855                                                                      SAN JUAN           PR         00910‐4225
   253509 JUAN GONZALEZ FELICIANO                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253510 JUAN GONZALEZ FONTANEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690293 JUAN GONZALEZ GARCES                        URB LAS DELICIAS 2            CALLE BUENOS AIRES                                                                VEGA BAJA          PR         00693
   253511 JUAN GONZALEZ HERNANDEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690294 JUAN GONZALEZ JUARBE                        COLINAS DE FAIRVIEW 4 J8      CALLE 208                                                                         TRUJILLO ALTO      PR         00976
   253512 JUAN GONZALEZ MARTINEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690297 JUAN GONZALEZ MATOS                         URB SANTA JUANITA             BL 5 CALLE HAITI                                                                  BAYAMON            PR         00956
   253513 JUAN GONZALEZ MENDEZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690299 JUAN GONZALEZ MERCADO                       BO PUEBLO NUEVO               CALLE 8 BOX 9                                                                     VEGA BAJA          PR         00693
   253514 JUAN GONZALEZ MUNIZ                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253515 JUAN GONZALEZ PEREZ                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253516 JUAN GONZALEZ PUCHALES                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690301 JUAN GONZALEZ REYES                         BO CEIBA                      CARR 140 R631 K2 H                                                                FLORIDA            PR         00650
   253517 JUAN GONZALEZ RIVERA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253519 JUAN GONZALEZ RODRIGUEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253520 JUAN GONZALEZ ROMAN                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253521 JUAN GONZALEZ ROSA                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690306 JUAN GONZALEZ SANCHEZ                       HC 2 BOX 10975                                                                                                  JUNCOS             PR         00777
   253522 JUAN GONZALEZ SANTANA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690308 JUAN GONZALEZ SANTIAGO                      HC 01 BOX 4610                                                                                                  SABANA HOYOS       PR         00688
   690309 JUAN GONZALEZ SOLER                         P O BOX 6706                                                                                                    SAN JUAN           PR         00914
   690310 JUAN GONZALEZ TAPIA                         BO TRUJILLO ALTO              CARR 858 KM 1 0                                                                   CAROLINA           PR         00986
   690311 JUAN GONZALEZ VEGA                          PO BOX 21365                                                                                                    SAN JUAN           PR         00926‐1365
          JUAN GUADALUPE DEL VALLE
   253523 DBA TAPICERIA                               Y TALABARTERIA                594 CALLE ESPANA                                                                  SAN JUAN           PR         00920
   253524 JUAN GUERRERO GARCIA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JUAN GUEVARAREZ DBA J.G
   253525 TRAINDING                                   PO BOX 223                                                                                                      COROZAL            PR         00783
          JUAN GUEVAREZ DBA JG
   253526 TRADING                                     PO BOX 223                                                                                                      COROZAL            PR         00787



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          JUAN GUEVAREZ SANTOS DBA JG
   253527 TRADING                     PO BOX 223                                                                                                                            COROZAL             PR           00783

   690312 JUAN GUSTAVO FONSECA LARA                   URB VALENCIA                   566C CALLE PAMPLONA APT D                                                              SAN JUAN            PR           00923
   690313 JUAN GUTIERREZ DE JESUS                     URB VILLA BORINQUEN            F 47 CALLE YAGUEZ                                                                      CAGUAS              PR           00725
   690314 JUAN GUZMAN                                 RR 6 BOX 11675                 COM DON DIEGO                                                                          CUPEY ALTO          PR           00926
          JUAN GUZMAN CRUZ Y/O
   690315 WILLIAM GUZMAN                              620 FINCH LANE                 P O BOX 61                                                                             CUDDEBACK VILLE     NY           12729‐0061
   253529 JUAN GUZMAN QUINONEZ                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   690318 JUAN GUZMAN ROMERO                          BO GUAVATE                                                                                                            CAYEY               PR           00736
   253530 Juan Guzman Rosado                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JUAN GUZON Y ACELA L. SURIA
   690319 PEREZ                                       VILLA DE SAN IGNACIO           # 22 CALLE SAN EDMUNDO                                                                 SAN JUAN            PR           00927‐6450
   690320 JUAN H ACEVEDO RUIZ                         112 SANTANA                                                                                                           ARECIBO             PR           00612‐6831
   253533 JUAN H ALMODOVAR GARCIA                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   690322 JUAN H COMULADA ORTIZ                       1110 COND DE DIEGO                                                                                                    SAN JUAN            PR           00923
   690323 JUAN H FIGUEROA                             LAS MONJAS 98                  CALLE 5                                                                                SAN JUAN            PR           00917
   690324 JUAN H RUIZ TORRES                          URB ALAMBRA E 105              CALLE ASTURIAS                                                                         BAYAMON             PR           00956
   690325 JUAN H SANCHEZ LASSISE                      PO BOX 8429                                                                                                           SAN JUAN            PR           00926
   690326 JUAN H SANCHEZ VEGA                         PO BOX 638                                                                                                            ARROYO              PR           00714
   690327 JUAN H SANTANA ORTIZ                        HC 71 BOX 2932                                                                                                        NARANJITO           PR           00719
   253535 JUAN H SOTO SOLA                            REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   690328 JUAN H SUAREZ NEVAREZ                       URB JUAN PONCE DE LEON         341 AVE LOPATEGUI                                                                      GUAYNABO            PR           00969‐4449
   690329 JUAN H TORRES SANTIAGO                      P O BOX 331412                                                                                                        PONCE               PR           00733
   690331 JUAN H VAZQUEZ DIAZ                         PO BOX 647                                                                                                            SABANA HOYOS        PR           00688

   690333 JUAN H. ACEVEDO MENDEZ                      URB. VISTA AZUL G‐54 CALLE 4                                                                                          ARECIBO             PR           00612
   690332 JUAN H. ALVARADO BURGOS                     BOX 1112                                                                                                              BARRANQUITAS        PR           00794
   690334 JUAN H. CINTRON GARCIA                      PO BOX 10271                                                                                                          PONCE               PR           00732
   253540 JUAN H. SAAVEDRA CASTRO                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   690336 JUAN HERNADEZ CORDERO                       LAS GAVIOTAS D‐8 CALLE FENIX                                                                                          TOA BAJA            PR           00949
   253541 JUAN HERNAIZ CORTES                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253542 JUAN HERNAN VELEZ                           REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253543 JUAN HERNANDEZ                              REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253544 JUAN HERNANDEZ AVILES                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   690338 JUAN HERNANDEZ CRUZ                         P O BOX 5300                                                                                                          YAUCO               PR           00698
   690340 JUAN HERNANDEZ FLECHA                       COND TORRE DE FRANCIFA         APT 2 B                                                                                SAN JUAN            PR           00917
   690341 JUAN HERNANDEZ GOMEZ                        P O BOX 3080 SUITE 380                                                                                                GURABO              PR           00778
   690343 JUAN HERNANDEZ GONZALEZ                     URB SUMIT HILLS                610 CALLE GRENWOOD                                                                     SAN JUAN            PR           00920

   690345 JUAN HERNANDEZ MALDONADO PO BOX 987                                                                                                                               AIBONITO            PR           00705
   690346 JUAN HERNANDEZ MELENDEZ  PO BOX 994                                                                                                                               TOA ALTA            PR           00954
   690348 JUAN HERNANDEZ OCASIO    STE 256 PO BOX 10007                                                                                                                     GUAYAMA             PR           00784
   690349 JUAN HERNANDEZ OYOLA     PO BOX 6263                                                                                                                              JUNCOS              PR           00777
   690350 JUAN HERNANDEZ RIVERA    PO BOX 1005                                                                                                                              CIALES              PR           00638

   690351 JUAN HERNANDEZ RODRIGUEZ                    HC 3 BOX 16056                                                                                                        QUEBRADILLAS        PR           00678
   690352 JUAN HERNANDEZ SUAREZ                       HC 3 BOX 22445                                                                                                        RIO GRANDE          PR           00745
   690353 JUAN HERNANDEZ TORRES                       PO BOX 29                                                                                                             BARCELONETA         PR           00617
                                                      URB VISTA VERDE CALLE 17 CASA
   690354 JUAN HERNANDEZ VEGA                         599                                                                                                                   AGUADILLA           PR           00603
   253546 JUAN HERNANDEZ VELEZ                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          JUAN HERNANDEZ Y ANA P
   253547 HERNANDEZ                                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JUAN HERNANDEZ Y/ O
   690355 FLORENTINA HERNANDEZ                        PO BOX 4322                                                                                                      MAYAGUEZ            PR         00681
   690356 JUAN HERNANDEZ ZAYAS                        P O BOX 7428                                                                                                     SAN JUAN            PR         00916
   253548 JUAN HEYLIGER RIVERA                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   690357 JUAN HILERIO GORDILS                        MSC 109 PO BOX 427                                                                                               MAYAGUEZ            PR         00681
   690358 JUAN HOMS ROSADO                            BO FLORIDA CARR 9929         APARTADO 439                                                                        SAN LORENZO         PR         00754
   690361 JUAN HORTA RUIZ                             URB BUENAVENTURA             9021 CALLE PASCUA                                                                   MAYAGUEZ            PR         00682
   253549 JUAN HOWE HERNANDEZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JUAN HUMBERTO MALAVE
   690362 COLON                                       OFICINAS SUPTE DE ESCUELAS   PO BOX 1123                                                                         COMERIO             PR         00782
   690363 JUAN I AULET MENDEZ                         HC 1 BOX 2324                                                                                                    FLORIDA             PR         00650‐0000
   253550 JUAN I COLON DEL VALLE                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   253551 JUAN I COLON GONZALEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   690364 JUAN I CRUZ SANTIAGO                        16 URB MONTEMAR                                                                                                  AGUADA              PR         00602‐3018
   690365 JUAN I DE JESUS                             HC 01 BOX 7650                                                                                                   CANOVANAS           PR         00729
   690366 JUAN I HATCHETT ISAAC                       VILLA PALMERAS               312 CALLE BETANCES                                                                  SAN JUAN            PR         00915
   253554 JUAN I IRIZARRY NIEVES                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   253555 JUAN I JIMENEZ DE LA MOTA                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   253556 JUAN I LOPEZ MALAVE                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JUAN I MEDINA / SONYA M
   253557 TIRADO DE MEDINA                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   253559 JUAN I MORALES VELAZQUEZ                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   690368 JUAN I NAVARRO CRUZ                         URB CAPARRA TERRACE          S O 850 CALLE 15                                                                    SAN JUAN            PR         00921
   253560 JUAN I ORENGO GUERRIDO                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   690369 JUAN I ORTIZ BEAUCHAMP                      8 CALLE LUIS MOLINA                                                                                              BARCELONETA         PR         00617
   690370 JUAN I PEREZ LOPEZ                          PO BOX 140076                                                                                                    ARECIBO             PR         00614‐0076
   690371 JUAN I PINO OLIVA                           VILLA PRADES                 718 CALLE JULIO ANDINO                                                              SAN JUAN            PR         00924

   690372 JUAN I RIVERA / CARMEN RIVERA 11604 S AVENUE M                                                                                                               CHICAGO             IL         60617
   690373 JUAN I RIVERA HERNANDEZ       RES VIRJILIO DAVILA                        EDIF 30 APT 802                                                                     BAYAMON             PR         00961
   690374 JUAN I RIVERA ROSADO          BDA MARIN                                  HC 1 BOX 4019                                                                       ARROYO              PR         00714
   690375 JUAN I ROSA RUIZ              HC 6 BOX 12605                                                                                                                 SAN SEBASTIAN       PR         00685
   253561 JUAN I SANCHEZ BORRERO        REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   690377 JUAN I VELEZ MORALES          PO BOX 168                                                                                                                     MARICAO             PR         00637

   690378 JUAN I ZAMORA TORRES                        232 AVE ELEONOR ROOSEVELT                                                                                        SAN JUAN            PR         00907
   253562 JUAN IBANEZ MARTINEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   690379 JUAN IBERN MALDONADO                        URB COLINAS MONTE CARLO      E 32 CALLE 40                                                                       SAN JUAN            PR         00924
   253563 JUAN IGLESIAS RODRIGUEZ                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   253564 JUAN IGNACIO BRAVO LAGUNA                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   690380 JUAN ILLAS VELAZQUEZ                        P O BOX 1418                                                                                                     MOCA                PR         00676
   690381 JUAN IRIZARRY ALVAREZ                       BO SABANA SEC LAS VIUDAS     HC 2 BOX 6275                                                                       LUQUILLO            PR         00773
   690383 JUAN IRIZARRY LARACUENTE                    RES LA CEIBA                 BLOQ 3 APTO 32                                                                      PONCE               PR         00731
   690384 JUAN IRIZARRY MARTINEZ                      118 CALLE ROMAN                                                                                                  ISABELA             PR         00662
   690385 JUAN IRIZARRY RODRIGUEZ                     PO BOX 697                                                                                                       MAYAGUEZ            PR         00681
   690386 JUAN IRIZARRY SANCHEZ                       URB ONIELL                   25 CALLE C                                                                          MANATI              PR         00674
   253567 JUAN IRIZARRY TORRES                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   253568 JUAN ISAAC AGOSTO RIVERA                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   690388 JUAN J ALVARADO MALAVE                      P O BOX 406                                                                                                      AGUIRRE             PR         00704
   690389 JUAN J ALVAREZ AVILES                       RR 4 BOX 339                                                                                                     BAYAMON             PR         00956



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  690390 JUAN J AMARAL HERNANDEZ                      HC 3 BOX 6484                                                                                             RINCON            PR         00677
  253570 JUAN J ANDUJAR ZENGOTITA                     REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  690391 JUAN J APONTE JIMENEZ                        PO BOX 2763                                                                                               SAN SEBASTIAN     PR         00685
  253572 JUAN J AVELLANET RIVERA                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  688889 JUAN J AYALA CEBOLLERO                       PO BOX 626                                                                                                COMERIO           PR         00782
  253573 JUAN J AYALA RIVERA                          REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  690392 JUAN J BABA PEEBLES                          RR 3 BOX 9079                                                                                             TOA ALTA          PR         00953‐9639
  690393 JUAN J BARRERO PICHARDO                      URB SABANA GARDENS    15‐28 CALLE 26                                                                      CAROLINA          PR         00983‐2917
  690395 JUAN J BENIQUEZ TORRES                       BOX 5354                                                                                                  SAN SEBASTIAN     PR         00685
  690396 JUAN J BERRIOS CUEVAS                        HC 71 BOX 3251                                                                                            NARANJITO         PR         00719
  253574 JUAN J BOSCHETTI APONTE                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  690398 JUAN J CAMACHO CENTENO                       BDA PASARELL          CARR 77KM 1HM                                                                       COMERIO           PR         00782
  690399 JUAN J CANCEL RUIZ                           HC 01 BOX 9219                                                                                            QUEBRADILLAS      PR         00678

   253576 JUAN J CANDELARIO GONZALEZ REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JUAN J CARRASQUILLO
   690400 SALGUEIRO                    PO BOX 5856                                                                                                              CAGUAS            PR         00726
   253577 JUAN J CENTENO FIGUEROA      REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690401 JUAN J CINTRON FIGUEROA      HC 1 BOX 11268                                                                                                           ARECIBO           PR         00612
   253578 JUAN J CINTRON GARCIA        REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JUAN J CINTRON RAMOS Y
   253579 ELIBET LOPEZ                 REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253580 JUAN J CIRINO RODRIGUEZ      REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690402 JUAN J CLAUDIO SANCHEZ       COND NARANJALES                      APT 342                                                                             CAROLINA          PR         00985
   690403 JUAN J COLLAZO NEGRON        HC 2 BOX 6486                                                                                                            UTUADO            PR         00641‐9502
   690404 JUAN J COLON BERRIOS         HC 3 BOX 37630                                                                                                           CAGUAS            PR         00725‐9716
   690406 JUAN J COLON MARTINEZ        RR 01 BOX 117                                                                                                            ANASCO            PR         00610‐9704
   690407 JUAN J CONTRERAS PABON       VILLA CAPRI                          556 CALLE SAVOYA                                                                    SAN JUAN          PR         00924
          JUAN J COSTAS / GEN
   690409 CONTRACTOR                   P O BOX 161                                                                                                              PONCE             PR         00733‐0161
          JUAN J COSTAS GENERAL
   690410 CONTRACTORS                  PO BOX 161                                                                                                               PONCE             PR         00733‐0161
   690411 JUAN J CRUZ DELGADO          HC 1 BOX 8267                                                                                                            GURABO            PR         00778
   253583 JUAN J CRUZ FERNANDEZ        REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253584 JUAN J CUESTA HERNANDEZ      REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253585 JUAN J CUESTA ROBLEDO        REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253586 JUAN J DE JESUS              REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JUAN J DE LOS SANTOS
   253588 CALDERON                     REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690412 JUAN J DE ZENGOTITA RUBIO    COND PLAZA GRANDE 1                  CALLE TATF APT 4 F                                                                  SAN JUAN          PR         00911
   690413 JUAN J DEL RIO REY           HACIENDA MONTE VERDE                 A 7 CALLE PERU                                                                      VEGA BAJA         PR         00693
   690414 JUAN J DELGADO               PO BOX 51745                                                                                                             TOA BAJA          PR         00950‐1745
   253589 JUAN J DELGADO DELGADO       REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690415 JUAN J DELGADO ROSA          P O BOX 295                                                                                                              FLORIDA           PR         00650
   690416 JUAN J DERIEUX PEREZ         SULTANA                              423 ALAMEDA                                                                         MAYAGUEZ          PR         00680
   253590 JUAN J DIAZ BERMUDEZ         REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690417 JUAN J DIAZ CASTRO           PASEOS DE SAN LORENZO                719 CALLE CRISTOBAL                                                                 SAN LORENZO       PR         00754
   690418 JUAN J DIAZ COLON            URB DORAVILLE                        14 SECCION 1‐1                                                                      DORADO            PR         00646
   690419 JUAN J DIAZ DIAZ             P O BOX 21905                                                                                                            CAYEY             PR         00736
          JUAN J DIAZ ROSADO & MARIA A
   690420 RIVERA                       URB SYLVIA                           A3 CALLE 9                                                                          COROZAL           PR         00783
   253591 JUAN J DIAZ SANTIAGO         REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690421 JUAN J DIAZ SANTOS           PO BOX 975                                                                                                               SALINAS           PR         00751



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  690422 JUAN J DORESTE RODRIGUEZ                     5 CALLE POST SUR                                                                                                    MAYAGUEZ          PR         00680
  253593 JUAN J ESQUILIN RODRIGUEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  253594 JUAN J FEBO LOPEZ                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                  437 VILLA CARIBE CALLE
   690424 JUAN J FELICIANO VEGA         HACIENDA SAN JOSE                         CAMPI¥A                                                                                 CAGUAS            PR         00727
   690425 JUAN J FERNANDEZ ADORNO       4TA EXT COUNTRY CLUB                      858 CALLE BORNEO                                                                        SAN JUAN          PR         00924
          JUAN J FERRER BELTRAN / MARIA
   253595 BELTRAN                       REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253596 JUAN J FLORES CASTRO          REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                  150 CALLE PACHIN MARIN SAN
   690426 JUAN J FONSECA                              URB FLORAL PARK             ANTONIO                                                                                 SAN JUAN          PR         00917
   690427 JUAN J FUSTER MARRERO                       HC‐02 BOX 6213                                                                                                      LARES                        00669
   690428 JUAN J GALARZA FIGUEROA                     URB VILLA ALBA A‐5                                                                                                  VILLALBA          PR         00766
                                                                                  690 CALLE CESAR GONZALEZ APT
   690429 JUAN J GARCIA FERNANDEZ                     COND PARQUE DE LA FUENTE    2106                                                                                    SAN JUAN          PR         00918
   253598 JUAN J GARCIA ROMAN                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253599 JUAN J GOMEZ ALAMO                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253602 JUAN J GOMEZ ROSARIO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   253603 JUAN J GONZALEZ ARMENTEROS REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   690431 JUAN J GONZALEZ CONCEPCION                  PO BOX 3000 SUITE 651                                                                                               SANTA ISABEL      PR         00757
   253604 JUAN J GONZALEZ LARA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253605 JUAN J GONZALEZ SERRALLES                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690432 JUAN J GOTAY GUZMAN                         HC 5 BOX 57841                                                                                                      CAGUAS            PR         00725
   253606 JUAN J GUADALUPE DIAZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253607 JUAN J GUADALUPE ORTIZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253608 JUAN J GUZMAN RAMOS                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690433 JUAN J HERNANDEZ                            COND EL TREBOL 802 C                                                                                                SAN JUAN          PR         00924
   690434 JUAN J HERNANDEZ BELLO                      SANDIN V B                  CALLE PEDRO                                                                             VEGA BAJA         PR         00693
   690435 JUAN J HERNANDEZ BONILLA                    HC 03 BOX 33037                                                                                                     HATILLO           PR         00659
          JUAN J HERNANDEZ LOPEZ DE
   690436 VICTORIA                                    PO BOX 21513                                                                                                        SAN JUAN          PR         00931‐1513

   253609 JUAN J HERNANDEZ MARTINEZ                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690437 JUAN J HERNANDEZ PRINCIPE                   URB VALLE ALTO              2066 CALLE COLINA                                                                       PONCE             PR         00730‐4139
   690438 JUAN J HERNANDEZ TORRES                     421 EXT PUNTA PALMA                                                                                                 BARCELONETA       PR         00617
   253611 JUAN J IRIZARRY LOPEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253612 JUAN J JARAMILLO MEDINA                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253613 JUAN J JIMENEZ NUNEZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690439 JUAN J JORGE MALDONADO                      URB VALLE ALTO              1408 CALLE CIMA                                                                         PONCE             PR         00730‐4130
   253614 JUAN J JUARBE ROMAN                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253615 JUAN J LASALLE ATRA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690440 JUAN J LEBRON CONCEPCION                    REPTO VALENCIA              P7 CALLE A                                                                              BAYAMON           PR         00959
   253616 JUAN J LEBRON DELGADO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690441 JUAN J LEBRON SOTO                          HC 01 BOX 3299                                                                                                      MAUNABO           PR         00707
   690442 JUAN J LEDESMA                              URB BRAULIO DUENO           CALLE IF 6                                                                              BAYAMON           PR         00959

   690443 JUAN J LEDOUX MIRABAL                       232 AVE ELEONOR ROOSEVELT                                                                                           SAN JUAN          PR         00907
   253618 JUAN J LOPEZ NAVARRO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253619 JUAN J LOPEZ ROSARIO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690446 JUAN J LOZADA RIVERA                        HC 02 BOX 14365                                                                                                     CAROLINA          PR         00987‐9715
   688890 JUAN J LUCIANO TORRES                       HC 2 BOX 10062                                                                                                      GUAYNABO          PR         00971



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  253620 JUAN J LUNA VELAZQUEZ                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  253621 JUAN J LUZARDO                               REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  253622 JUAN J MACHADO MARTINEZ                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  690447 JUAN J MADRIGAL JIMENEZ                      PO BOX 8792                                                                                             SAN JUAN            PR         00910
  690448 JUAN J MARQUEZ DIAZ                          HC 1 BOX 11279                                                                                          CAROLINA            PR         00985

   690449 JUAN J MARRERO MEDIAVILLA                   PO BOX 691                                                                                              COROZAL             PR         00783
   690450 JUAN J MATIAS MENDEZ                        P O BOX 1001                                                                                            LARES               PR         00669
   253623 JUAN J MAUNEZ DIAZ                          REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690451 JUAN J MAYOL ARIZMENDI                      PO BOX 361116                                                                                           SAN JUAN            PR         00936
   253624 JUAN J MEDINA                               REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253625 JUAN J MEDINA LAMEDA                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690452 JUAN J MELENDEZ                             P O BOX 1441                                                                                            CAYEY               PR         00736
   690453 JUAN J MENDEZ DIAZ                          HC 01 BOX 3163                                                                                          VILLALBA            PR         00766‐9701

   690454 JUAN J MERCADO RODRIGUEZ                    BO PALOMAS            CALLE 19                                                                          YAUCO               PR         00968
   253626 JUAN J MILAN OTERO                          REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253627 JUAN J MONTANEZ AYALA                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253628 JUAN J MONTANEZ RIVERA                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253629 JUAN J MORALES AQUINO                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253630 JUAN J MORALES AYALA                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253631 JUAN J MORALES RODRIGUEZ                    REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253632 JUAN J MUJICA RIVERA                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690455 JUAN J MULERO LEONARDO                      COND LAS AMERICAS     EDIF 2 APT 813                                                                    SAN JUAN            PR         00921
   253633 JUAN J NEGRON COLON                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253634 JUAN J NIEVES ALICEA                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253635 JUAN J NOLLA AMADO                          REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253637 JUAN J OCASIO SANTOS                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690459 JUAN J ORENGO IRIZARRY                      PO BOX 886                                                                                              ADJUNTAS            PR         00601
   253638 JUAN J ORTIZ CRESPO                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253639 JUAN J ORTIZ GARCIA                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253641 JUAN J PACHECO BENITEZ                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690460 JUAN J PACHECO TIRADO                       URB ALTURAS CAMPO     312 CALLE 12                                                                      CANOVANAS           PR         00729

   253642 JUAN J PAGAN E INES GALLOZA                 REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253644 JUAN J PANTOJA BOBE                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253645 JUAN J PASTRANA NEGRON                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690462 JUAN J PASTRANA ORTIZ                       HC 3 BX 18004                                                                                           RIO GRANDE          PR         00745
   690463 JUAN J PERAZA MORA                          CARRIZALES            HC 01 BOX 8076                                                                    HATILLO             PR         00659

   253646 JUAN J PEREZ / MARTA PASCUAL REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253647 JUAN J PEREZ FELICIANO       REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690465 JUAN J PEREZ MALDONADO       BO MARICAO                           CORREO GENERAL                                                                    VEGA ALTA           PR         00692
   690466 JUAN J PEREZ RODRIGUEZ       HC 2 BOX 6969                                                                                                          LARES               PR         00669
   690467 JUAN J PEREZ SANTANA         URB SAGRADO CORAZON                  A 8 CALLE 3                                                                       PONCE               PR         00731
   690468 JUAN J PEREZ TORRES          3A 24 REPTO SABANETAS                                                                                                  MERCEDITAS          PR         00715
   690469 JUAN J POL ECHEVARRIA        HC 2 BOX 5009                        BO PUEBLO                                                                         LARES               PR         00669
   253649 JUAN J PUIG MONTANEZ         REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690471 JUAN J RAMIREZ RIVERA        APARTADO 0720                                                                                                          MAYAGUEZ            PR         00681‐0720
   253650 JUAN J RAMOS LOPEZ           REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690472 JUAN J RAMOS MORALES         HC 1 BOX 33765                                                                                                         CAMUY               PR         00627
   690473 JUAN J RAMOS NIEVES          HC 03 BOX 33066                                                                                                        AGUADILLA           PR         00603
   690474 JUAN J RAMOS RODRIGUEZ       PO BOX 191682                                                                                                          SAN JUAN            PR         00919‐1682



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  253651 JUAN J REYES ORTIZ                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   690475 JUAN J RIGAU & ASSOCIATES INC 497 CALLE EMILIANO POL                      SUITE 156                                                                                SAN JUAN            PR         00926
   690476 JUAN J RIOS REBOYRAS          PARK GARDENS                                V1 CALLE KINGS CANYON                                                                    SAN JUAN            PR         00926
   690478 JUAN J RIVERA AYALA           HC 02 BOX 13405                                                                                                                      AGUAS BUENAS        PR         00703
   253652 JUAN J RIVERA BERRIOS         REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253655 JUAN J RIVERA LOPEZ           REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253656 JUAN J RIVERA MORALES         REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253657 JUAN J RIVERA RIVERA          REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690479 JUAN J ROCA ESTEVES           650 AVE MIRAMAR                                                                                                                      ARECIBO             PR         00612
   253660 JUAN J RODRIGUEZ ALVAREZ      REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690482 JUAN J RODRIGUEZ BARRETT      RR 1 BOX 3546                                                                                                                        MARICAO             PR         00606
   253661 JUAN J RODRIGUEZ CRUZ         REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   690483 JUAN J RODRIGUEZ GILIBERTYS                  VIA PIEDRAS RE 11            RIO CRISTAL ENCANTADA                                                                    TRUJILLO ALTO       PR         00976

   690484 JUAN J RODRIGUEZ GONZALEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690485 JUAN J RODRIGUEZ RAMIREZ                     URB BORINQUEN GDNS           309 CAL ALFREDO GALVEZ                                                                   SAN JUAN            PR         00926
   690486 JUAN J RODRIGUEZ REYES                       URB ENROMADA                 F4 CAMINO BEGOMIA                                                                        BAYAMON             PR         00961
   688891 JUAN J RODRIGUEZ RIVAS                       HC 1 BOX 2865                                                                                                         MOROVIS             PR         00687
   253662 JUAN J RODRIGUEZ VAZQUEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   690487 JUAN J RODRIGUEZ VELAZQUEZ                   HC 4 BOX 14502                                                                                                        MOCA                PR         00676‐9801
   253664 JUAN J ROMAN MUNOZ                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690488 JUAN J ROQUE HERNANDEZ                       URB VILLA NUEVA              Y 23 CALLE 19                                                                            CAGUAS              PR         00725
   690489 JUAN J ROSARIO POMALES                       URB VILLA FONTANA            4 L S 6 CALLE VILLA LETICIA                                                              CAROLINA            PR         00983
   253665 JUAN J ROSARIO RODRIGUEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690490 JUAN J RUIZ LOPEZ                            PO BOX 696                                                                                                            HATILLO             PR         00659
   253666 JUAN J SALA BOTELLO                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253667 JUAN J SALGADO GARCIA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253668 JUAN J SANCHEZ DEL VALLE                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690491 JUAN J SANTANA                               3 CALLE NORTE                                                                                                         DORADO              PR         00646
                                                       TRIBUNAL EXAMINADOR DE
   690492 JUAN J SANTANA RODRIGUEZ                     MEDICOS                      P O BOX 13969                                                                            SAN JUAN            PR         00908
                                                       BO TRUJILLO BAJO SECT HOYA
   690494 JUAN J SANTIAGO SERRANO                      FRIA                         CARR 853 KM 4                                                                            CAROLINA            PR         00984‐6011
   253669 JUAN J SANTIAGO TIRADO                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690495 JUAN J SANTOS BERNARD                        HC 02 BOX 9112                                                                                                        COROZAL             PR         00783
   253670 JUAN J SANTOS PEREZ                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690496 JUAN J SERRANO PENCHI                        PO BOX 3815                                                                                                           BAYAMON             PR         00958
                                                       1486 AVE F D ROOSEVELT APT
   690497 JUAN J SILVA BERMUDEZ                        1201                                                                                                                  SAN JUAN            PR         00920
          JUAN J SOLDEVILA / MARIA E
   253671 ARSUAGA                                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690498 JUAN J SOSTRE GONZALEZ                       P O BOX 9021112                                                                                                       SAN JUAN            PR         00902‐1112
   253672 JUAN J SOTO MUNIZ                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690499 JUAN J SOTO VELEZ                            URB NUEVA VILLAS MANATI      BUZON 166 AVE LAS PALMAS                                                                 MANATI              PR         00674
   690500 JUAN J SOTOMAYOR LOPEZ                       URB FLORAL PARK              454 CALLE CARIBE                                                                         SAN JUAN            PR         00917
   253674 JUAN J TORRES CASTRO                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN J TORRES CRUZ DBA/ EL
   253675 SAZON DE ABBU                                URB COLINAS METROPOLIS       CALLE LA SANTA F 8                                                                       GUAYNABO            PR         00969
   253676 JUAN J TORRES PINELA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690501 JUAN J TROCHE                                PO BOX 23314 UPR STATION                                                                                              SAN JUAN            PR         00931‐3314



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  253677 JUAN J TURULL ECHEVARRIA                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  253678 JUAN J VALLE VELEZ                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   690502 JUAN J VARGA TANON                          URB VASCOY DD 29 VIA REXVILLE                                                                                   BAYAMON             PR         00957
   690503 JUAN J VARGAS OLIVERAS                      HC 01 BOX 3320                                                                                                  FLORIDA             PR         00650‐9506
   690504 JUAN J VARGAS PAREDES                       RIO VERDE                     ZZ 23 CALLE 25                                                                    CAGUAS              PR         00725
   690506 JUAN J VAZQUEZ HERNANDEZ                    P O BOX 9042                                                                                                    CAROLINA            PR         00988‐9042
   253679 JUAN J VEGA ROSADO                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253680 JUAN J VELEZ RODRIGUEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690508 JUAN J VERA VAZQUEZ                         URB LA PLANICE                G 19 CALLE 6                                                                      CAYEY               PR         00736
   690509 JUAN J VIDAL ROSARIO                        BARRIO PARAISO CARR 976       BUZON 9300                                                                        FAJARDO             PR         00738
   253681 JUAN J VILELLA JANEIRO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253682 JUAN J ZAITER TERC                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690512 JUAN J ZAVALA ROSADO                        URB COLINAS DE FAIRVIEW       4W6 CALLE 223                                                                     TRUJILLO ALTO       PR         00976
   690513 JUAN J ZENO SANCHEZ                         PO BOX 1791                                                                                                     MANATI              PR         00674
   253683 JUAN J. ACEVEDO BERMUDEZ                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253684 JUAN J. ACEVEDO VARGAS                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253685 JUAN J. ALICEA TORRES                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690515 JUAN J. CAMACHO CRESPO                      HC 91 BOX 9152                                                                                                  VEGA ALTA           PR         00692
   690516 JUAN J. CARMONA QUINONES                    PROG. SERA BAYAMON                                                                                              Hato Rey            PR         009360000
   253686 JUAN J. CENTENO FIGUEROA                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN J. COSTAS GENERAL
   253687 CONTRACTOR                                  P. O. BOX 161                                                                                                   PONCE               PR         00733‐0000
   690518 JUAN J. GONZALEZ CRESPO                     172 CALLE MARINA                                                                                                AGUADA              PR         00602
   253688 JUAN J. LOPEZ GUZMAN                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253689 JUAN J. NARVAEZ ROMERO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253690 JUAN J. ORTIZ TORRES                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253692 JUAN J. RAMOS FIGUEROA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253694 JUAN J. REYES ORTIZ                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690522 JUAN J. RIOS MARTINEZ                       URB VILLA CAPRI               1169 CALLE CATANIA                                                                SAN JUAN            PR         00924
   253695 JUAN J. RIVERA ALVAREZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690523 JUAN J. RIVERA ESCRIBANO                    URB MONTE CARLO               811 CALLE 20                                                                      RIO PIEDRAS         PR         00924
   690524 JUAN J. RIVERA SANCHEZ                      HC 1 BOX 8511                                                                                                   AGUAS BUENAS        PR         00703
   690525 JUAN J. RIVERA ZAYAS                        PO BOX 123                                                                                                      COMERIO             PR         00782
   253696 JUAN J. RODRIGUEZ REYES                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253697 JUAN J. ROSADO CAPELES                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253698 JUAN J. SANCHEZ CORDERO                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253699 JUAN J. SIERRA TORRES                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690528 JUAN J. TORRES TORRES                       P O BOX 7171                                                                                                    ARECIBO             PR         00613‐7171
   253700 JUAN J. VELEZ RIVERA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253701 JUAN J. ZAVALA NUEZ                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253706 JUAN JAIME RODRIGUEZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690529 JUAN JAVIER DIAZ GONZALEZ                   P O BOX 7906                                                                                                    CIDRA               PR         00739
   690530 JUAN JAVIER SANCHEZ SOLER                   URB BELMONTE                  401 CALLE MADRID                                                                  MAYAGUEZ            PR         00680

   253707 JUAN JERIEL CIRINO RDRIGUEZ                 REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690531 JUAN JESUS ALICEA TORRES                    PO BOX 476                                                                                                      ADJUNTAS            PR         00601
   253710 JUAN JIMENEZ                                REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690533 JUAN JIMENEZ JIMENEZ                        HC 8 BOX 49350                                                                                                  CAGUAS              PR         00725
   253714 JUAN JIMENEZ VEGA                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690535 JUAN JOEL MORALES AYALA                     URB EL CORTIJO                E 44 CALLE 10                                                                     BAYAMON             PR         00956
   253715 JUAN JOSE ARCAY GARCIA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253716 JUAN JOSE BABA LOPEZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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                                                                             T17 CALL GRNDL URB VALLE
   690539 JUAN JOSE BURGOS RIVERA                     VALLE ARRIBA HEIGHTS   ARRIBA HTS                                                                                   CAROLINA            PR           00983
   253718 JUAN JOSE CALDERON PAGAN                    REDACTED               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JUAN JOSE CANDELARIO
   253719 GONZALEZ                                    REDACTED               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253720 JUAN JOSE CANIZARES                         REDACTED               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   690540 JUAN JOSE CARABALLO                         PO BOX 1175                                                                                                         MAYAGUEZ            PR           00681‐1175
   690541 JUAN JOSE CARABALLO LUGO                    JARD DE MAYAGUEZ       EDIF 2 APT 209                                                                               MAYAGUEZ            PR           00680
   253721 JUAN JOSE CARDONA CORTES                    REDACTED               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   253722 JUAN JOSE CARRERO DE JESUS                  REDACTED               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253723 JUAN JOSE CINTRON GARCIA                    REDACTED               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253724 JUAN JOSE COLON LOPEZ                       REDACTED               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253725 JUAN JOSE DELGADO RIVERA                    REDACTED               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   690542 JUAN JOSE DONESTEVES                        PO BOX 29228                                                                                                        SAN JUAN            PR           00925‐0228
   253727 JUAN JOSE FIGUEROA                          REDACTED               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JUAN JOSE GEN CONTRACTOR &                                         PMB 327 S1 AVE LUIS MUNOZ
   253728 IRON WORK INC                               URB MARIOLGA           MARIN                                                                                        CAGUAS              PR           00725‐6460

   690545 JUAN JOSE GONZALEZ LACOMBA URB INTERAMERICANA                      Z 28 CALLE 12                                                                                TRUJILLO ALTO       PR           00976
          JUAN JOSE LAGARES DBA
   690546 COLMADO YARIS              P O BOX 4035 SUITE 437                                                                                                               ARECIBO             PR           00612
   690547 JUAN JOSE MARTINEZ BAEZ    COM FERNANDEZ                           SOLAR 17                                                                                     HUMACAO             PR           00791

   253730 JUAN JOSE MARTINEZ VAZQUEZ REDACTED                                REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   253731 JUAN JOSE MATEO RODRIGUEZ                   REDACTED               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   690548 JUAN JOSE MONELL                            D 77 VILLA VERDE                                                                                                    CAYEY               PR           00736

   253732 JUAN JOSE MONTANEZ BURGOS                   REDACTED               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253734 JUAN JOSE NOLLA ACOSTA                      REDACTED               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253735 JUAN JOSE NUNEZ SOSA                        REDACTED               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253737 JUAN JOSE PERAZA DELGADO                    REDACTED               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253738 JUAN JOSE PEREIRA GARCIA                    REDACTED               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253740 JUAN JOSE PEREZ GARCIA                      REDACTED               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253741 JUAN JOSE RAMOS MEDINA                      REDACTED               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253742 JUAN JOSE RIVERA MIRANDA                    REDACTED               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253743 JUAN JOSE RIVERA TORRES                     REDACTED               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   253744 JUAN JOSE ROBLES GONZALEZ   REDACTED                               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253745 JUAN JOSE RODRIGUEZ         REDACTED                               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253746 JUAN JOSE RODRIGUEZ VELEZ   REDACTED                               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   690557 JUAN JOSE SANCHEZ VARELA    ESTANCIAS DEL CARMEN                                              2173                                                              PONCE               PR           00716
   690558 JUAN JOSE SANTANA NALES     PO BOX 2118                                                                                                                         RIO GRANDE          PR           00745
   690561 JUAN JOSE SANTIAGO ORTIZ    57 NORTE CALLE 81 VEVE                                                                                                              COAMO               PR           00769
                                      URB EL PARAISO 1531 CALLE
   690562 JUAN JOSE SERRANO VELAZQUEZ TAMASIS                                                                                                                             SAN JUAN            PR           00926

   690563 JUAN JOSE VAZQUEZ VAZQUEZ                   P O BOX 1422                                                                                                        UTUADO              PR           00641‐1422
   690564 JUAN JR CHAPARRO CARRERO                    APARTADO 2105                                                                                                       AGUADA              PR           00602
   253749 JUAN JUSINO DIAZ                            REDACTED               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253751 JUAN L ACEVEDO RODRIGUEZ                    REDACTED               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   253752 JUAN L AGOSTO MORENO                        REDACTED               REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  253753 JUAN L ARISTUD RIVERA                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  253754 JUAN L ARROYO SANTANA                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  690569 JUAN L BALAGUER                              PO BOX 8274                                                                                                           HUMACAO             PR         00792
  690570 JUAN L BARRETO AYALA                         9 URB DOS RIOS                                                                                                        CIALES              PR         00638
  253756 JUAN L BATISTA ESCOBAR                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  690572 JUAN L CAMACHO VELEZ                         5TA SEC LEVITTOWN             CF 7 DR VIDAL RIOS                                                                      TOA BAJA            PR         00949

   690573 JUAN L CARDET & ASSOCIATES                  PLAZA SAN FRANCISCO           201 AVE DE DIEGO SUITE 202                                                              SAN JUAN            PR         00927‐5814
                                                      AR1 CALLE 37 URB SANTA
   690574 JUAN L CARMONA PADILLA                      TERESITA                                                                                                              BAYAMON             PR         00961
   690575 JUAN L CASTILLO                             VALLE DE CERRO GORDO          AB 10 CALLE SAFIRO                                                                      BAYAMON             PR         00957
   253758 JUAN L CASTRO ABRAHAMS                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690576 JUAN L COLON GUZMAN                         URB LA RAMBLA                 331 CALLE 1                                                                             PONCE               PR         00731
   690577 JUAN L CONCEPCION                           PO BOX 847                                                                                                            DORADO              PR         00646
   690578 JUAN L CORNIER                              BO BALDORIOTY                 39 AVE ROOSEVELT                                                                        PONCE               PR         00731
   253760 JUAN L COTTO ROQUE                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253761 JUAN L CRUZ DELGADO                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253762 JUAN L CRUZ RIVERA                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN L CRUZ RODRIGUEZ/JAG
   253763 ENGINEERS PSC                               PO BOX 1896                                                                                                           MANATI              PR         00674
          JUAN L CRUZ ROSARIO/ EP
   253764 ENERGY LLC                                  ESTANCIAS DE TORRIMAR         3 CALLE ORQUIDEA                                                                        GUAYNABO            PR         00966
   253765 JUAN L DAVILA                               REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253766 JUAN L DIAZ ESCOBAR                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253767 JUAN L DIAZ LOPEZ                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253768 JUAN L DIAZ PEREZ                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253769 JUAN L DOMINGUEZ                            REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253770 JUAN L DOMINGUEZ MILLAN                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690581 JUAN L ESCOBAR VELEZ                        5 URB RIO GRANDE ESTATES      I 13 CALLE 10                                                                           RIO GRANDE          PR         00745
   690582 JUAN L ESTEVEZ VALLE                        527 CALLE SERGIO CUEVAS                                                                                               SAN JUAN            PR         00918
   253771 JUAN L FERNANDEZ CRUZ                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690583 JUAN L FONTANEZ BERRIOS                     PO BOX 403                                                                                                            COMERIO             PR         00782

   690584 JUAN L FONTANEZ GOMEZ                       HC 04 BOX 59200 BO LA BARRA                                                                                           CAGUAS              PR         00725
   690585 JUAN L FONTANEZ ROLON                       PO BOX 170                                                                                                            SABANA SECA         PR         00952‐0170
   690586 JUAN L FRAGUADA MUNDO                       BO OBRERO                     460 CALLE 10                                                                            SAN JUAN            PR         00915
   253772 JUAN L FUENTES MARQUEZ                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253773 JUAN L GALARZA MELENDEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690587 JUAN L GARAY MELENDEZ                       EXT CAMPO ALEGRE              B 17 CALLE AMAPOLA                                                                      BAYAMON             PR         00956
   253774 JUAN L GARCIA HERNANDEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690588 JUAN L GONZALEZ CRUZ                        PO BOX 1468                                                                                                           QUEBRADILLAS        PR         00678

   690589 JUAN L GONZALEZ HERNANDEZ                   URB LOMAS DE CAROLINA         Q 13 CALLE CERRO MORALES                                                                CAROLINA            PR         00987
   253777 JUAN L GONZALEZ SANTIAGO                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN L GONZALEZ Y MARIA M
   690591 GONZALEZ                                    P O BOX 6707                                                                                                          SAN JUAN            PR         00914
   253778 JUAN L GUZMAN BARRETO                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   253779 JUAN L HERNANDEZ CORDERO                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253780 JUAN L HERNANDEZ LATORRE                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690592 JUAN L IRIZARRY DE JESUS                    URB BAHIA VISTAMAR            1531 CALLE ROBALO                                                                       CAROLINA            PR         00983
   253781 JUAN L IRIZARRY DUMONT                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   253782 JUAN L IRIZARRY HERNANDEZ                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  690593 JUAN L JIMENEZ CRESPO                        P O BOX 8877                                                                                                    VEGA BAJA            PR         00694
  253783 JUAN L LOPEZ CRUZ                            REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  253784 JUAN L LOPEZVILLANUEVA                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  253785 JUAN L LUJAN FREMAINT                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   690565 JUAN L MALDONADO FIGUEROA                   URB COUNTRY CLUB           757 CALLE AMELIO ROLDAN                                                              SAN JUAN             PR         00982
   253787 JUAN L MALDONADO FLORES                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   253788 JUAN L MARTINEZ GUZMAN                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   253789 JUAN L MARTINEZ TORRES                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   690594 JUAN L MATOS                                BDA SANDIN                 44 AVE SATURNO                                                                       VEGA BAJA            PR         00693
   690595 JUAN L MATOS OSTOLAZA                       HC 01 BOX 5250                                                                                                  CIALES               PR         00630
   253790 JUAN L MEDINA RUIZ                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   690597 JUAN L MELENDEZ COTTO                       MIRADOR UNIVERSITARIO      L 8 CALLE 15                                                                         CAYEY                PR         00736

   253791 JUAN L MERCADO CONCEPCION REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   690599 JUAN L MERCADO ESTREMERA                    PO BOX 813                                                                                                      QUEBRADILLAS         PR         00678
   690600 JUAN L MONTALVO BATISTA                     CALLE OSTRA 5175           CARACOLES                                                                            PONCE                PR         00717
   690601 JUAN L MONTALVO LEBRON                      38C BO HIGUILLAR                                                                                                DORADO               PR         00646
   253794 JUAN L MURIEL CARABALLO                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   690603 JUAN L NEGRON MEDINA                        PO BOX 199                                                                                                      YABUCOA              PR         00767
   690604 JUAN L NIEVES LOPEZ                         VICTOR ROJAS               2 63 CALLE 11                                                                        ARECIBO              PR         00612
   253795 JUAN L NUNEZ RIVERA                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   690605 JUAN L ORTIZ LEFEBRE                        HC 03 BOX 8890                                                                                                  BARRANQUITAS         PR         000794
   253796 JUAN L ORTIZ MATOS                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   253797 JUAN L ORTIZ RIVERA                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   690608 JUAN L OSORIO ELVIRA                        PO BOX 7647                                                                                                     SAN JUAN             PR         00916‐7647
   690609 JUAN L PACHECO CABRERA                      PMB 3021                   P O BOX 90000                                                                        COROZAL              PR         00783
   253798 JUAN L PENA COLON                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   690610 JUAN L PEREIRA PEREZ                        RES LAS MARGARITAS         EDIF 20 APT 201           PROYECTO 214                                               SAN JUAN             PR         00915
   690612 JUAN L PEREZ PACHECO                        376 CALLE POST SUR                                                                                              MAYAGUEZ             PR         00680
   253799 JUAN L QUINONES NUNEZ                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   253800 JUAN L QUINONEZ CABALLERO                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   253801 JUAN L QUINTERO FONTANEZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   253802 JUAN L RAMIREZ NAVARRO                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   253803 JUAN L RAMOS CECILIO                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   253804 JUAN L RAMOS RODRIGUEZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                      COND. PARQUE SAN ANTONIO
   690614 JUAN L REYES RAMOS                          1403                                                                                                            CAGUAS               PR         00725
   253805 JUAN L RIVAS GARCIA                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   253806 JUAN L RIVERA ATILES                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   253807 JUAN L RIVERA GERENA                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   253808 JUAN L RIVERA PENA                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   690615 JUAN L ROBLES FIGUEROA                      P O BOX 934                                                                                                     LUQUILLO             PR         00773
   253810 JUAN L RODRIGUEZ ESTRADA                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   253811 JUAN L RODRIGUEZ JIMENEZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   690616 JUAN L RODRIGUEZ MIRANDA                    HC 40 BOX 44302                                                                                                 SAN LORENZO          PR         00754
   690617 JUAN L RODRIGUEZ QUESADA                    PO BOX 192999                                                                                                   SAN JUAN             PR         00919‐2999
   253812 JUAN L RODRIGUEZ SERRANO                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   690619 JUAN L RODRIGUEZ VAZQUEZ                    COTTO LAUREL               BUZON 35492                                                                          PONCE                PR         00780
   253813 JUAN L ROSA STRAWN                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   253814 JUAN L ROSARIO ROMAN                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  253815 JUAN L SANCHEZ PARRILLA                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253816 JUAN L SANCHEZ RIVERA                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253817 JUAN L SANTANA SOTO                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690622 JUAN L SANTIAGO LEON                         3599 CALLE BARAMAYA                                                                                       PONCE              PR         00728
  253818 JUAN L SANTIAGO ROLON                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690623 JUAN L SANTOS MOLINA                         PO BOX 7110                                                                                               SABANA HOYOS       PR         00688
  690624 JUAN L SCHAENING PEREZ                       UNIVERSITY GARDENS      910 GEORGETOWN                                                                    SAN JUAN           PR         00927
  253819 JUAN L SEGARRA BERRIERA                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690625 JUAN L SEMPRIT RIVERA                        RES VIGILIO DAVILA      EDIF 39 APT 374                                                                   BAYAMON            PR         00957
  690626 JUAN L SIACA SANCHEZ                         URB LEVITTOWN           3584 PASEO CONDADO                                                                TOA BAJA           PR         00949
  253820 JUAN L SIERRA ARGUESO                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690627 JUAN L SOTO NEGRON                           PO BOX 1225                                                                                               VEGA BAJA          PR         00694
  253821 JUAN L SUAREZ ALVARADO                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253822 JUAN L TIRADO SANCHEZ                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253823 JUAN L TORRES                                REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690629 JUAN L TORRES GONZALEZ                       HC 2 BOX 14177                                                                                            ARECIBO            PR         00612
  253824 JUAN L TORRES TORRES                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690630 JUAN L VAZQUEZ LOPEZ                         URB. REXVILLE           AC‐11 CALLE 49                                                                    BAYAMON            PR         00957
  253825 JUAN L VAZQUEZ MERCADO                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253826 JUAN L VEGA SANTIAGO                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253827 JUAN L VELEZ CARDONA                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690631 JUAN L VELEZ RIVERA                          URB VILLA NUEVA         L 28 CALLE 2                                                                      CAGUAS             PR         00725
  690632 JUAN L VELILLA MORTON                        HC 05 BOX 55962                                                                                           AGUADILLA          PR         00603
  253828 JUAN L. CASANOVA NATAL                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253829 JUAN L. CORTES LOPEZ                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253830 JUAN L. DE JESUS BURGOS                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253831 JUAN L. ESCALANTE AYALA                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690634 JUAN L. ESCUDERO                             URB VISTAMAR MARINA     H33 AVE GALICIA                                                                   CAROLINA           PR         00983
  690635 JUAN L. FERNANDEZ RAMOS                      HP ‐ PLANTA FISICA                                                                                        RIO PIEDRAS        PR         00936‐0000
  253832 JUAN L. GARCIA                               REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253833 JUAN L. LEBRON RIVERA                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690636 JUAN L. MELENDEZ FRESNEDA                    URB UNIVERSITY GDNS     352B CALLE COLUMBIA                                                               SAN JUAN           PR         00927‐4019
  253834 JUAN L. MOJICA ROHENA                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253835 JUAN L. MOLINA NEGRON                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253836 Juan L. Morales Cruz                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253837 JUAN L. NEGRON SALAS                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690637 JUAN L. PAGAN SANTIAGO                       P.O. BOX 21635                                                                                            SAN JUAN           PR         00928
  253839 JUAN L. REYES MARIN                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253840 JUAN L. REYES RAMOS                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253841 JUAN L. REYES ROSA                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690638 JUAN L. VILLALOBOS ORTIZ                     P O BOX 21365                                                                                             SAN JUAN           PR         00928
  253843 JUAN LA PORTE MARCIAL                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690639 JUAN LA VIENA CINTRON                        HC 1 BOX 17306                                                                                            HUMACAO            PR         00791
  690640 JUAN LABOY                                   PO BOX 192131                                                                                             SAN JUAN           PR         00919‐2131
  690641 JUAN LABOY CENTENO                           PO BOX 7132                                                                                               CAROLINA           PR         00986
  253844 JUAN LABOY FIGUEROA                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690642 JUAN LABOY QUIROS                            URB VILLA DEL CARMEN    4324 AVE CONSTANCIA                                                               PONCE              PR         00716 2143
  253846 JUAN LABOY RUIZ                              REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690643 JUAN LABOY TOLEDO                            URB COUNTRY CLUB        BA 23 CALLE 102                                                                   CAROLINA           PR         00983‐2002
  690644 JUAN LACEND GOMEZ                            URB JARD DE BORINQUEN   YH 7 CALLE VIOLETA                                                                CAROLINA           PR         00985
  253847 JUAN LAJARA PEREZ                            REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253850 JUAN LARACUENTE RIVERA                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690646 JUAN LASALLE CORTES                          PO BOX 1098                                                                                               MOCA               PR         00676



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  253852 JUAN LAUREANO GONZALEZ                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  690647 JUAN LEBRON MORALES                          PO BOX 10163                                                                                                          SAN JUAN          PR         00908
  253853 JUAN LEBRON RODRIGUEZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  690648 JUAN LEON CARRASQUILLO                       2 CALLE LUNA                                                                                                          YABUCOA           PR         00767
  690649 JUAN LEON ISIANO                             2615 W GRAND RESERVE         CIR APT 3                                                                                CLEARWATER        FL         33759
  690650 JUAN LEON PADUA                              BO BALBOA 256 PIRINOLA                                                                                                MAYAGUEZ          PR         00680
  690651 JUAN LICIAGA GALVAN                          PO BOX 1978                                                                                                           ISABELA           PR         00662
  690652 JUAN LINANO CENTRERA                         P O BOX 60‐075                                                                                                        BAYAMON           PR         00960

   690653 JUAN LINARES                                BOX 9066600 PTA DE TIERRA STA                                                                                         SAN JUAN          PR         00906‐6600
   690654 JUAN LINARES PAGAN                          PO BOX 7967                                                                                                           PONCE             PR         00732
   253855 JUAN LIZARRA LOPEZ                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690655 JUAN LLAMA DIAZ                             HC BOX 3275                                                                                                           BOQUERON          PR         00622
   253856 JUAN LLANES SANTOS                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   771130 JUAN LLANOS TORRES                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JUAN LOPEZ / JEANNETTE
   690657 LAMBERT                                     BO COQUI                      10 CALLE LEOPORDO CEPEDA                                                                AGUIRRE           PR         00704
                                                      275 CALLE SAN SEBASTIAN APT 2
   690658 JUAN LOPEZ BAUZA                            B                                                                                                                     SAN JUAN          PR         00901
                                                                                    3RA EXTENCION HN 37 CALLE
   690659 JUAN LOPEZ DAVILA                           URB COUNTRY CLUB              254                                                                                     CAROLINA          PR         00982‐2635
   253857 JUAN LOPEZ ISAAC                            REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253858 JUAN LOPEZ MALAVE                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253859 JUAN LOPEZ MALDONADO                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253860 JUAN LOPEZ MANGUAL                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253861 JUAN LOPEZ MOLINA                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253862 JUAN LOPEZ NUNEZ                            REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253863 JUAN LOPEZ QUINONES                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253865 JUAN LOPEZ RODRIGUEZ                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253866 JUAN LOPEZ RUIZ                             REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253868 JUAN LOPEZ SALDANA                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253869 Juan López Santos                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253870 JUAN LOPEZ SOTO                             REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253872 Juan Lorenzo González                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JUAN LORENZO MARTINEZ &                                                   9410 AVE LOS ROMEROS SUITE
   690664 ASSOC                                       MONTEHIEDRA TOWN CENTER 202                                                                                           SAN JUAN          PR         00926
          JUAN LORENZO
   253873 MARTINEZ/GVELOP LLC                         URB ARBOLES DE MONTEHIEDRA 460 CALLE BAUHINIA                                                                         SAN JUAN          PR         00926
   690666 JUAN LOYOLA FELICIANO                       PO BOX 810                                                                                                            CAMUY             PR         00627
   690667 JUAN LOZADA ROSADO                          HC 03 BOX 13985                                                                                                       COROZAL           PR         00783
   690668 JUAN LOZADA SALAS                           PO BOX 7126                                                                                                           PONCE             PR         00732
   253874 JUAN LOZANO                                 REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690669 JUAN LUCCA CORTES                           PO BOX 50407                                                                                                          LEVITTOWN         PR         00950
   253875 JUAN LUCERNO                                REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253876 JUAN LUGO                                   REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688892 JUAN LUGO LEBRON                            URB EL CEREZAL             1625 CALLE GUADIANA                                                                        SAN JUAN          PR         00926
   253878 JUAN LUGO PEREZ                             REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253879 JUAN LUGO RIVERA                            REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690671 JUAN LUIS COLON SUAREZ                      BO SAN ANTON               PO BOX 28                                                                                  PONCE             PR         00731

   690672 JUAN LUIS FERNANDEZ VALDIVIA PO BOX 10083                                                                                                                         SAN JUAN          PR         00922
   253881 JUAN LUIS GALAN ALICEA       REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253882 JUAN LUIS HERNANDEZ CRUZ     REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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   253883 JUAN LUIS HERNANDEZ VAZQUEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   253884 JUAN LUIS JIMENEZ HERNANDEZ                 REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   253886 JUAN LUIS MIRANDA CASILLAS                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   690674 JUAN LUIS MOLINA NEGRON                     VISTAS DE RIO GRANDE         J 21 CALLE HIGUERO                                                                CANOVANAS            PR           00745
   253887 JUAN LUIS PANTOJA JIMENEZ                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   253888 JUAN LUIS PEREZ BERENGUER                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   253889 JUAN LUIS PINERO PEREZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   690676 JUAN LUIS RODRIGUEZ RIVERA                  URB JARDINES DE V B          O 10 CALLE T                                                                      VEGA BAJA            PR           00693
   253891 JUAN LUIS ROMAN                             REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   253892 JUAN LUIS ROSA RODRIGUEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   253893 JUAN LUIS TORRES MARTINEZ                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   253894 JUAN LUPERCIO MORALES VELEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   690677 JUAN LUQUIS SIERRA          HC 01 BOX 5482                                                                                                                 CIALES               PR           00638
   690678 JUAN LUZARY BARIL           BO OBRERO                                    667 CALLE 14                                                                      SAN JUAN             PR           00915

   690680 JUAN M AGUAYO NAVARRO                       BB 10 URB JARDINES DE CAGUAS                                                                                   CAGUAS               PR           00725
   690681 JUAN M AGUIAR GONZALEZ                      1205 COND GALAXY                                                                                               CAROLINA             PR           00979
   253896 JUAN M ALVAREZ DELGADO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   690683 JUAN M APONTE CASTRO                        BUFETE ALICEA MARTINEZ       5 CALLE LA CRUZ                                                                   JUANA DIAZ           PR           00795
   253898 JUAN M ASTACIO BARRETO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   690684 JUAN M AYALA                                HC 2 BOX 7316                                                                                                  YABUCOA              PR           00767
   253899 JUAN M BARRE LOPEZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   690685 JUAN M BARRIENTOS GAYOSO                    PMB 376                      PO BOX 5075                                                                       SAN GERMAN           PR       00683
   253900 JUAN M BELLO MENDOZA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   253901 JUAN M BELTRAN VALENTIN                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   253902 JUAN M BERTRAN ASTOR                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   253903 JUAN M BRUNET RIVERA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   253904 JUAN M CALCANO DE JESUS                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   690686 JUAN M CALDERON MEDINA                      HC 2 BOX 11198                                                                                                 JUNCO                PR       00777‐1196
   253905 JUAN M CANCIO BIAGGI                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   690687 JUAN M CARMONA SANCHEZ                      HB 1 BOX 8157                                                                                                  LUQUILLO             PR       00773

   253906 JUAN M CARRILLO BERMUDEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   690688 JUAN M CARTAGENA DE JESUS                   A 9 JARDINES DE SAN BLAS                                                                                       COAMO                PR           00769

   690689 JUAN M CASELLAS RODRIGUEZ                   P O BOX 364225                                                                                                 SAN JUAN             PR           00936‐4225
   690690 JUAN M COLBERG BONILLA                      URB ANA MARIA                CALLE 2J 12                                                                       CABO ROJO            PR           00623
   690691 JUAN M COLON CATERING                       PO BOX 165                                                                                                     GUAYANILLA           PR           00656
   253907 JUAN M COLON COLON                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   690692 JUAN M COLON TORRES                         TERRAZA DE FAIR VIEW         5B13 CALLE 51                                                                     SAN JUAN             PR           00926
   253908 JUAN M CORDERO MORALES                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   690694 JUAN M CORDOVA GIBOYEAUX                    P O BOX 360911                                                                                                 SAN JUAN             PR           00936‐0911
   690695 JUAN M CORONA AMARO                         PO BOX 289                                                                                                     AGUADA               PR           00602
   253910 JUAN M CRUZ MORALES                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   690699 JUAN M CRUZ RAMOS                           VILLAS DE MONTEREY           EDIF 46 APT G                                                                     BAYAMON              PR           00957
   690700 JUAN M CRUZ RUIZ                            RES MANUEL A PEREZ           EDF D3 APT 25                                                                     SAN JUAN             PR           00923



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  690701 JUAN M CRUZ SANTIAGO                         HC 8 BOX 82732                                                                                                   SAN SEBASTIAN     PR         00685
  253911 JUAN M CRUZADO LAUREANO                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  690702 JUAN M CUEBAS BASORA                         HC 2 BOX 20589                                                                                                   MAYAGUEZ          PR         00680
  690703 JUAN M DAVILA GARCIA                         PO BOX 1067                                                                                                      FAJARDO           PR         00738

   253912 JUAN M DE JESUS HERNANDEZ                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690704 JUAN M DE JESUS MARTINEZ                    PLEBISCITO SAN JOSE     204 CALLE CANILLA                                                                        SAN JUAN          PR         00930
   253914 JUAN M DE LA ROSA                           REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   253915 JUAN M DEL VALLE FERNANDEZ                  REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690706 JUAN M DIAZ MORALES                         URB EL PILAR 1818       CALLE SANTA MARTA                                                                        SAN JUAN          PR         00926‐5433
   690707 JUAN M DIAZ RIVERA                          PO BOX 3185                                                                                                      BAYAMON           PR         00960‐3185

   253916 JUAN M DOMINGUEZ ESPADAS                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690708 JUAN M DURAN ARGUELLAS                      URB LOMAS VERDES        3V 8 AVE LOMAS VERDES                                                                    BAYAMON           PR         00956‐3309
          JUAN M ECHEVARRIA
   690709 ECHEVARRIA                                  URB BALDORIOTY          3837 CALLE GLOBAL                                                                        PONCE             PR         00728‐2969
   253917 JUAN M ECKERDT                              REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253918 JUAN M ESCALERA SANTIAGO                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690710 JUAN M ESTRADA IZQUIERDO                    P O BO 58                                                                                                        MARICAOA          PR         00606

   690711 JUAN M FARINACI VERA                        URB PERLA DEL SUR       4423 CALLE PEDRO M CARATINI                                                              PONCE             PR         00717
   690712 JUAN M FERNANDEZ ESTRADA                    VILLA FONTANA           J L 1 VIA 24                                                                             CAROLINA          PR         00983
   253919 JUAN M FERNANDEZ OCHOA                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690714 JUAN M FERNANDEZ PARIS                      P O BOX 4229                                                                                                     CAROLINA          PR         00984
   690715 JUAN M FERNANDEZ SILVA                      VILLA FONTANA           JL 1 VIA 24                                                                              CAROLINA          PR         00983
   253920 JUAN M FUENTE ROJAS                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253921 JUAN M GARCIA ARRARAS                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   690718 JUAN M GARCIA PEREZ                         BOX 930                                                                                                          HATILLO           PR         00659‐0930
   690719 JUAN M GARCIA ROMAN                         HC 1 BOX 26922                                                                                                   CAGUAS            PR         00725
   253922 JUAN M GAU PACHECO                          REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253923 JUAN M GOMEZ TORRES                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                              1680 CALLE VIOLET URB SAN
   690723 JUAN M GONZALEZ LAMELA                      SAN FRANCISCO           FRANCISCO                                                                                SAN JUAN          PR         00927

   253924 JUAN M GONZALEZ MONTANEZ                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253925 JUAN M GONZALEZ RIVERA                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   690726 JUAN M GONZALEZ RODRIGUEZ                   A 6 URB VILLA DEL SOL                                                                                            JUANA DIAZ        PR         00795
   253926 JUAN M GUILLEN TAVAREZ                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253927 JUAN M GUZMAN RODRIGUEZ                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688893 JUAN M HERNANDEZ BENITEZ                    PO BOX 70344                                                                                                     SAN JUAN          PR         00936‐8344
   253928 JUAN M HERNANDEZ FLORES                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   690727 JUAN M HERNANDEZ GONZALEZ RR 2 BOX 9257                                                                                                                      TOA ALTA          PR         00953

   690728 JUAN M HERNANDEZ MARRERO                    RR 2 BOX 9257                                                                                                    TOA ALTA          PR         00953
   690729 JUAN M HUERTAS                              HC 1 BOX 4776                                                                                                    YABUCOA           PR         00767
   690730 JUAN M ILLAS VELAZQUEZ                      PO BOX 1418                                                                                                      MOCA              PR         00676
   253930 JUAN M JOAQUIN HIDALGO                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253931 JUAN M JORDAN RODRIGUEZ                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253932 JUAN M JORDAN SAIZ                          REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   253933 JUAN M JUARBE MARTINEZ                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  690732 JUAN M LA SANTA                              PO BOX 1458                                                                                                  COROZAL            PR         00783
  690733 JUAN M LABOY HERNANDEZ                       SABANA ENEAS               336 CALLE D                                                                       SAN GERMAN         PR         00683
  690734 JUAN M LIZARDI DONES                         PO BOX 933                                                                                                   CIDRA              PR         00739
  688894 JUAN M LIZARDI LIZARDI                       PO BOX 933                                                                                                   CIDRA              PR         00739
  690735 JUAN M LLANTIN ORTIZ                         URB EL VALLE               569 CALLE JAZMIN                                                                  LAJAS              PR         00667
  253935 JUAN M LOPEZ CALDERON                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253936 JUAN M LOPEZ COLLAZO                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690736 JUAN M LOPEZ CRUZ                            COM ELIZABETH              SOLAR 644                                                                         CABO ROJO          PR         00694
  253937 JUAN M LOPEZ ROSARIO                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690737 JUAN M LUGO ACOSTA                           A 2 URB BUENOS AIRES                                                                                         SANTA ISABEL       PR         00757
  690738 JUAN M LUGO ROCHE                            PO BOX 288                                                                                                   COTO LAUREL        PR         00780
  253938 JUAN M LUGO RODRIGUEZ                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690739 JUAN M LUZUNARIS AGOSTO                      URB JARDINES DE CAROLINA   E 5 CALLE E                                                                       CAROLINA           PR         00987

   253939 JUAN M MALDONADO LOZADA                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JUAN M MALDONADO
   690740 MALDONADO                                   RR 3721 BOX 3                                                                                                SAN JUAN           PR         00956
   253940 JUAN M MARRERO AGOSTO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690741 JUAN M MARRERO OTERO                        LOS PUERTOS DORADO         HC 33 BOX 5483                                                                    DORADO             PR         00646
   690742 JUAN M MARTINEZ                             COND MONTERRAL             RR 2 BOX 147                                                                      SAN JUAN           PR         00926
   253941 JUAN M MARTINEZ COLON                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690743 JUAN M MARTINEZ NEVAREZ                     PO BOX 11609                                                                                                 SAN JUAN           PR         00910‐1609
   690744 JUAN M MARTINEZ QUILES                      BO MONTOSO                 CARR 105 KM 22 2                                                                  MARICAO            PR         00606
   253942 JUAN M MARTINEZ RIVERA                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253943 JUAN M MARTINEZ SOBA                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253944 Juan M Masini Soler                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253945 JUAN M MATOS MATOS                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690746 JUAN M MATOS VELAZQUEZ                      URB VILLA UNIVERSITARIA    AG 4 CALLE 27                                                                     HUMACAO            PR         00791
          JUAN M MELENDEZ / ZAIMARY
   253948 RIVERA                                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   690747 JUAN M MELENDEZ MELENDEZ                    53 AVE JOSE DE DIEGO       APT 304                                                                           ARECIBO            PR         00612
   690748 JUAN M MENDEZ LAZARO                        URB EL CONQUISTADOR        Q 30 CALLE 13                                                                     TRUJILLO ALTO      PR         00976
   253949 JUAN M MERCADO NIEVES                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253950 JUAN M MIRANDA CRESPO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   690749 JUAN M MONTALVO MIRANDA                     HC 01 BOX 24545                                                                                              VEGA BAJA          PR         00693

   253951 JUAN M MONTANEZ BERNARDI                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690750 JUAN M MORALES NIEVES                       RR 3 BOX 3452                                                                                                SAN JUAN           PR         00926
   253952 JUAN M MUðOZ AMADOR                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253953 JUAN M MUNIZ DE JESUS                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253954 JUAN M MUNOZ AMADOR                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253955 JUAN M MUNOZ FERNANDEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690751 JUAN M NAVEDO LOPEZ                         P O BOX 7428                                                                                                 SAN JUAN           PR         00916
   690752 JUAN M NEGRON ORTEGA                        VILLA REALES               413 VIA ESCORIAL                                                                  GUAYNABO           PR         00969
   253956 JUAN M NUNEZ MARQUEZ                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690753 JUAN M OCASIO COLON                         URB LAS LOMAS              835 CALLE 27 SO                                                                   SAN JUAN           PR         00921
   690754 JUAN M OCASIO RAMOS                         C/O ANCONIA DE JESUS       DEPT DE SALUD          PO BOX 70184                                               SAN JUANJ          PR         00936‐8184
   253957 JUAN M OROZCO SOLER                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690756 JUAN M ORTIZ COLON                          PO BOX 1837                                                                                                  COROZAL            PR         00783
   690757 JUAN M ORTIZ ORTIZ                          EL TORITO                  B 11 CALLE 1                                                                      CAYEY              PR         00736
   253958 JUAN M ORTIZ VEGA                           REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  253959 JUAN M OSORIO ROSA                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690758 JUAN M OTERO REYES                           PARC AMADEO 46              CALLE B                                                                           VEGA BAJA          PR         00693
  253960 JUAN M PADILLA MAIZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253962 JUAN M PENA GARCIA                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253963 JUAN M PENA RAMOS                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  253964 JUAN M PEREZ LOPEZ                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690761 JUAN M PEREZ VENTURA                         P O BOX 706                                                                                                   SAN GERMAN         PR         00683
                                                      COND LEMANS 602 AVE MUNOZ
   690762 JUAN M PONCE FANTAUZZI                      RIVERA                      STE 405                                                                           SAN JUAN           PR         00918
   253965 JUAN M PRIETO RODRIGUEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253966 JUAN M QUEVEDO QUEVEDO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253967 JUAN M QUINONES ROSARIO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690764 JUAN M RAMOS GONZALEZ                       908 PARQUE DE LA FUENTES                                                                                      SAN JUAN           PR         00918
   690765 JUAN M RAMOS HILARIO                        HC 2 BOX 15343                                                                                                CAROLINA           PR         00927
   253968 JUAN M RAMOS PEREZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253970 JUAN M RAMOS RODRIGUEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   253971 JUAN M REQUENA HERNANDEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
   253972 JUAN M REVELLES PERES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
   690766 JUAN M REYES ALICEA                         HC 6 BOX 4443                                                                                                 COTO LAUREL        PR       00780
   253973 JUAN M REYES CLAUDIO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
   253974 JUAN M REYES MORALES                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
   690767 JUAN M REYES SANTANA                        P O BOX 6284                                                                                                  CAGUAS             PR       00726
   253975 JUAN M RIVAS GONZALEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
   253977 JUAN M RIVERA GIOVANNETTI                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
   253978 JUAN M RIVERA GROENNOU                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
   253979 JUAN M RIVERA ORTIZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
   253980 JUAN M RIVERA RIVERA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
          JUAN M RIVERA SANCHEZ E
   253981 IDALINA VAZQUEZ                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690770 JUAN M RIVERA TORRES                        PO BOX 862                                                                                                    AGUAS BUENAS       PR         00703‐0862
   253983 JUAN M RODRIGUEZ ALSINA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253984 JUAN M RODRIGUEZ DIAZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690772 JUAN M RODRIGUEZ LOPEZ                      HC 3 BOX 37250                                                                                                CAGUAS             PR         00725
   690773 JUAN M RODRIGUEZ PABON                      PUERTO REAL                 604 CALLE 1                                                                       CABO ROJO          PR         00623
   253985 JUAN M RODRIGUEZ POCHY                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253986 JUAN M RODRIGUEZ ROSA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253987 JUAN M RODRIGUEZ SELLES                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253988 JUAN M RODRIGUEZ TORRES                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690774 JUAN M RODRIGUEZ VELEZ                      C 23 URB SAN PEDRO                                                                                            MAUNABO            PR         00707
          JUAN M RODRIGUEZ Y ADRIAN
   253989 RODRIGUEZ                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690775 JUAN M ROLDAN VIERA                         RR 5 BOX 4652                                                                                                 BAYAMON            PR         00956
   253990 JUAN M ROSADO GONZALEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253991 JUAN M ROSADO OTERO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253992 JUAN M ROSARIO ORTIZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690776 JUAN M ROSARIO ROSADO                       URB COUNTRY STATE           C 27 CALLE 4                                                                      BAYAMON            PR         00956
   690777 JUAN M ROSARIO SANTANA                      APARTADO 41269                                                                                                SAN JUAN           PR         00940‐1269
   690779 JUAN M SANCHEZ                              APARTADO 1345                                                                                                 AGUAS BUENAS       PR         00703
   253993 JUAN M SANCHEZ ORTIZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253994 JUAN M SANCHEZ SILVA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   253996 JUAN M SANDOVAL ANDINO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690781 JUAN M SANTANA GARCIA                       P O BOX 4956                                                                                                  CAGUAS             PR         00726



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MML ID              NAME                                        ADDRESS 1                    ADDRESS 2                     ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  690782 JUAN M SANTIAGO BRITO                        HC 1 BOX 3275                                                                                                        MAUNABO             PR         00707
  253997 JUAN M SANTIAGO ESCABI                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   690783 JUAN M SANTIAGO RODRIGUEZ                   PO BOX 667                                                                                                           NARANJITO           PR         00719
   690784 JUAN M SANTIAGO ROLDOS                      659 URB CIUDAD REAL                                                                                                  VEGA BAJA           PR         00693
   690785 JUAN M SEGARRA                              P O BOX 2390                                                                                                         SAN JUAN            PR         00919
   690786 JUAN M SERRANO ARZOLA                       RR 8 BOX 9630                                                                                                        BAYAMON             PR         00956

   690787 JUAN M SERRANO DE JESUS                     CAMPO ALEGRE                H 58 CALLE ROBERTO CLEMENTE                                                              PONCE               PR         00731
   690788 JUAN M SOLA GAY                             URB PARQUE FORESTAL         B 53 CALLE POPPY                                                                         SAN JUAN            PR         00926
   690789 JUAN M SOTO CANCEL                          VILLA PALMERAS              3015 CALLE EDNA                                                                          SAN JUAN            PR         00915
   690790 JUAN M STEIDEL LEBRON                       PO BOX 11251                                                                                                         SAN JUAN            PR         00910‐2351
   690791 JUAN M SUAREZ COBO                          BOX 316 SENORIAL STATION                                                                                             SAN JUAN            PR         00926‐6023

   690792 JUAN M SUAREZ COBO                          138 WINSTON CHURCHILL AVE   STE 316                                                                                  SAN JUAN            PR         00926‐6023
   253999 JUAN M SUAREZ OSORIO                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690793 JUAN M SURILLO PUMARADA                     P O BOX 1183                                                                                                         MAYAGUEZ            PR         00681‐1183
   254000 JUAN M SYEVENS QUILES                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690794 JUAN M TIRU SEGARRA                         HC 37 BOX 4702                                                                                                       GUANICA             PR         00653
   690795 JUAN M TOLEDO DIAZ                          PO BOX 19943                                                                                                         SAN JUAN            PR         00910
   254001 JUAN M TOMASINI NIEVES                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254002 JUAN M TORRES FIGUEROA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254003 JUAN M TORRES SERRANO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690796 JUAN M TORRES TOLEDO                        URB SABANA GRANDE           1‐22 CALLE 3                                                                             CAROLINA            PR         00983
   254004 JUAN M TRABAL CRUZ                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254005 JUAN M VALENTIN PEREZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   254006 JUAN M VALENTIN RODRIGUEZ                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254007 JUAN M VAZQUEZ                              REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254008 JUAN M VAZQUEZ ALVAREZ                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254009 JUAN M VAZQUEZ BERRIOS                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254010 JUAN M VAZQUEZ CASTRO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN M VAZQUEZ DBALE PETIT
   254011 VISION CENTER                               PO BOX 9192                                                                                                          CAGUAS              PR         00726
   254012 JUAN M VAZQUEZ DIAZ                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254013 JUAN M VAZQUEZ NIEVES                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   690797 JUAN M VELAZQUEZ MORALES                    HC 4 BOX 47910                                                                                                       HATILLO             PR         00659
   254014 JUAN M VELEZ AYALA                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254015 JUAN M VIERA FIGUEROA                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   254016 JUAN M VILLANUEVA ACEVEDO                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690799 JUAN M WALKER RODRIGUEZ                     RIO GRANDE                  9 C/ SAN NARCISO                                                                         RIO GRANDE          PR         00745
   690800 JUAN M. ALERS                               PO BOX 19175                EXT FERNANDEZ JUNCOS                                                                     SAN JUAN            PR         00910‐9175
   254018 JUAN M. ALVAREZ OLIVER                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   690802 JUAN M. AYALA HERNANDEZ                     PO BOX 1917                                                                                                          YAUCO               PR         00698
   254020 JUAN M. AYUSO MENDEZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254021 JUAN M. CABALLERO OCASIO                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254022 JUAN M. DELGADO POLANCO                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254023 JUAN M. ESCALERA ESCALERA                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254024 Juan M. Figueroa Sanchez                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254025 JUAN M. FUENTES VILLEGAS                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254026 JUAN M. HERNANDEZ FLORES                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  254027 JUAN M. HERNANDEZ RUIZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  690803 JUAN M. IGLESIAS                             PO BOX 9022984                                                                                                  SAN JUAN            PR         00902
  690804 JUAN M. LEON AMADOR                          PO BOX 21365                                                                                                    SAN JUAN            PR         00928
  254028 JUAN M. LOPEZ BATISTA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  254030 JUAN M. OTERO                                REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  254031 Juan M. Perez                                REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  254032 JUAN M. QUEVEDO QUEVEDO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  254033 JUAN M. RIOS GARAY                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  254034 JUAN M. ROBLES FELIBERTI                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   254035 JUAN M. RODRIGUEZ VAZQUEZ                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   254036 JUAN M. SANCHEZ SANTIAGO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   254037 JUAN M. SYEVENS QUILES                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   690807 JUAN MACHUCA BAEZ                           P O BOX 123                                                                                                     GUAYNABO            PR         00971
   254039 JUAN MADERA GARCIA                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   690808 JUAN MAISONET MURIEL                        RES RAFAEL MARTINEZ NADAL     EDIF D APT 43                                                                     GUAYNABO            PR         00970
   254040 JUAN MALAVE HERNANDEZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   254042 JUAN MALDONADO BERRIOS                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   254043 JUAN MALDONADO CLEDE                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   254044 JUAN MALDONADO COLON                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   254045 JUAN MALDONADO GASTON                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   254046 JUAN MALDONADO LOZADA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   254047 JUAN MALDONADO SANTIAGO                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   690814 JUAN MALDONADO TORO                         PO BOX 711                                                                                                      GARROCHALES         PR         00652

   254049 JUAN MANUEL DE JESUS AYUSO REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
                                     400 CALLE JUAN CALAF SUITE
   690815 JUAN MANUEL DEL RIO GARCIA 231                                                                                                                              SAN JUAN            PR         00918
   254050 JUAN MANUEL FONT LOPEZ     REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   254051 JUAN MANUEL FRONTERA SUAU                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JUAN MANUEL MOSCOSO
   254054 ALVAREZ                                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JUAN MANUEL NAVARRO
   254055 ACEVEDO                                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JUAN MANUEL OYOLA
   254056 RODRIGUEZ                                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JUAN MANUEL RIVERA
   690817 MAYSONET                                    RES MANUEL A PEREZ            E 12 APT 85                                                                       SAN JUAN            PR         00923
          JUAN MANUEL TORRES
   254058 VILLANUEVA                                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JUAN MANUEL VAZQUEZ
   254059 ALVAREZ                                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   690818 JUAN MANZANO CHIMELIS                       BO CAMPAMENTO                 HC 01 BOX 6944                                                                    CIALES              PR         00638
   254060 JUAN MARCELO RUIZ RIOS                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   690819 JUAN MARCHADO MARTINEZ                      URB.SAN JOSE BUZON 43 CALLE 8                                                                                   SABANA GRANDE       PR         00637
   690820 JUAN MARCO VARGAS BABA                      QUINTAS DEL RIO               H 11 PLAZA 14                                                                     BAYAMON             PR         00961

   254062 JUAN MARCOS CRUZ SANTIAGO                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   254063 JUAN MARIN HERNANDEZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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  690821 JUAN MARQUEZ GARCIA                          VILLA PALMERAS             303 CALLE BELLEVUE                                                                  SAN JUAN           PR       00915
  690822 JUAN MARQUEZ OSORIO                          PO BOX 10115                                                                                                   CAROLINA           PR       00988‐0115
  254064 JUAN MARQUEZ PINERO                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  690823 JUAN MARRERO COLON                           HC 04 BOX 47602                                                                                                HATILLO            PR       00659
  690824 JUAN MARRERO LAUREANO                        URB EL CORTIJO             H 43 CALLE 12                                                                       BAYAMON            PR       00956
  254065 JUAN MARRERO RIOS                            REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  690825 JUAN MARRERO SANTIAGO                        URB VALLE ARAMANA          52 CALLE POMAROSA                                                                   COROZAL            PR       00783
  690826 JUAN MARRERO TORRES                          HC 1 BOX 69946                                                                                                 CIALES             PR       00638
  254066 JUAN MARRERO VEGA                            REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  690827 JUAN MARTIN SANTA TORRES                     PMB 311 SUITE 140          200 AVE RAFAEL CORDERO                                                              CAGUAS             PR       00725‐3757
  690828 JUAN MARTINEZ                                PARCELAS JAUCA             147 E CALLE 2                                                                       SANTA ISABEL       PR       00757
  690830 JUAN MARTINEZ ARROYO                         ALTURAS INTERAMERICANA     S 12 CALLE 17                                                                       TRUJILLO ALTO      PR       00976
  690831 JUAN MARTINEZ CARABALLO                      URB LEVITTOWN LAKES        AJ 32 PASEO MAGDALENA                                                               TOA BAJA           PR       00949
  690832 JUAN MARTINEZ DIAZ                           P O BOX 2500 SUITE 449                                                                                         TOA BAJA           PR       00949
  254067 JUAN MARTINEZ ESTRADA                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  254068 JUAN MARTINEZ GERENA                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  690833 JUAN MARTINEZ GUADALUPE                      URB SANTA ROSA             9 BLOQ 15 CALLE 17                                                                  BAYAMON            PR       00959
  690834 JUAN MARTINEZ JIMENEZ                        PO BOX 70166                                                                                                   SAN JUAN           PR       00936‐8166
  690836 JUAN MARTINEZ MAIZONET                       59 BO CAMPO ALEGRE                                                                                             MANATI             PR       00674
  254069 JUAN MARTINEZ MEDINA                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  690837 JUAN MARTINEZ MERLE                          PO BOX 915                                                                                                     YABUCOA            PR       00767
  690838 JUAN MARTINEZ NIEVES                         FLAMBOYAN GARDENS          A 35 CALLE 3                                                                        BAYAMON            PR       00956
  254071 JUAN MARTINEZ OCASIO                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  254072 JUAN MARTINEZ ORTIZ                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  690839 JUAN MARTINEZ PADILLA                        BO GUAVATE 22550                                                                                               CAYEY              PR       00736
  254073 JUAN MARTINEZ RAMOS                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED

   690840 JUAN MARTINEZ RINCON                        LAS MONJAS 88 CALLE POPULAR                                                                                    SAN JUAN           PR         00917
   690841 JUAN MARTINEZ RODRIGUEZ                     HC 01 BOX 5065                                                                                                 BARRANQUITAS       PR         00794
   254074 JUAN MARTINEZ SANTIAGO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED   REDACTED
   254075 JUAN MARTINEZ TRINIDAD                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED   REDACTED
                                                      REPARTO SEVILLA 886 CALLE
   690842 JUAN MARTINEZ VILAR                         RABEL                                                                                                          SAN JUAN           PR         00926
          JUAN MARTINEZ Y/O JOAQUINA
   690843 MARTINEZ                   HC 04 BOX 4013                                                                                                                  LAS PIEDRAS        PR         00771
   690844 JUAN MASS ALVAREZ          BDA SANTA CLARA                             16 CALLE KENNEDY                                                                    JAYUYA             PR         00664
   690845 JUAN MASSA RIVERA          P O BOX 3087                                                                                                                    CANOVANAS          PR         00729

   254076 JUAN MASSA Y MARIA MUNOZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED   REDACTED
   254077 JUAN MASSANET ROSADO                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED   REDACTED
   254078 JUAN MATEO ZAMBRABA                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED   REDACTED
   254079 JUAN MATEO ZAMBRANA                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED   REDACTED
   690847 JUAN MATIAS FERNANDIN                       P O BOX 2636                                                                                                   SAN SEBASTIAN      PR         00685
   690848 JUAN MATIAS GONZALEZ                        135 BRISAS DEL MAR                                                                                             AGUADA             PR         00602
   690849 JUAN MATOS CORDERO                          HC 06 BOX 13427                                                                                                HATILLO            PR         00659
   690850 JUAN MATOS GONZALEZ                         PO BOX 6542                                                                                                    BAYAMON            PR         00960
   690851 JUAN MATOS PAGAN                            HC 1 BOX 6600                                                                                                  CANOVANAS          PR         00729
   254080 JUAN MATOS RIVERA                           REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED   REDACTED
                                                      PO BOX 19175 FERNANDEZ
   690852 JUAN MAYO MENDOZA                           JUNCOS STA                                                                                                     SAN JUAN           PR         00910
   690853 JUAN MEDINA ACOSTA                          HC 01 BOX 6685                                                                                                 HORMIGUEROS        PR         00660
   690854 JUAN MEDINA CARRASQUILLO                    URB REPARTO CAGIAX         H 22 CALLE BATEY                                                                    CAGUAS             PR         00725
   254081 JUAN MEDINA CRESPO                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED   REDACTED



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  690857 JUAN MEDINA GUADALUPE                        RIVIERAS DE CUPEY           17 CALLE GALLEGOI                                                                      SAN JUAN            PR           00926

          JUAN MEDINA LOPEZ/DYNAMIC
   254082 SOLAR SOLUTION                              PO BOX 2713                                                                                                        MAYAGUEZ            PR           00681
   690859 JUAN MEDINA RIVERA                          CALLE DR JOSE MARTORELL     BK 17 LEVITOWN                                                                         TOA BAJA            PR           00949
   254083 JUAN MELENDEZ ALICEA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   690862 JUAN MELENDEZ CARINO                        PUERTO NUEVO                1329 CALLE 5 NO                                                                        SAN JUAN            PR           00923
   690866 JUAN MELENDEZ LUGO                          PO BOX 191837                                                                                                      SAN JUAN            PR           00919‐1837
   690867 JUAN MENDEZ                                 REPARTO METROPOLITANO       1138 CALLE 54 SE                                                                       SAN JUAN            PR           00921
   690868 JUAN MENDEZ ARIZ                            UNION PLAZA BLD SUITE 912   416 AVE PONCE DE LEON                                                                  SAN JUAN            PR           00918
   690869 JUAN MENDEZ FEBUS                           PARQUE SAN IGNACIO          E 20 CALLE 5                                                                           SAN JUAN            PR           00921
   690870 JUAN MENDEZ MAYORAL                         URB MILAVILLE               186 CALLE PAJUIL                                                                       SAN JUAN            PR           00926
   690871 JUAN MENDEZ MORALES                         CHALET DE SANTA CLARA       14 CALLE OPALO                                                                         GUAYNABO            PR           00969
   690873 JUAN MENDEZ TORRES                          PO BOX 1736                                                                                                        SAN SEBASTIAN       PR           00685
   254085 JUAN MENDOZA FELICIANO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   690874 JUAN MENLENDEZ SANTINI                      VILLA DE CUPEY              B 5 CARR 845                                                                           SAN JUAN            PR           00926
   254086 JUAN MERCADO ARROYO                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   254087 JUAN MERCADO DE JESUS                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   254088 JUAN MERCADO ESTRELLA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   690875 JUAN MERCADO RIOS                           HC 56 BOX 4498                                                                                                     AGUADA              PR           00602
   690876 JUAN MERCADO RODRIGUEZ                      PUNTA DIAMANTE              B 9 CALLE 10                                                                           PONCE               PR           00733
   690877 JUAN MERCADO ROSADO                         BOX 1441                                                                                                           JUANA DIAZ          PR           00795
   254090 JUAN MERCADO TORRES                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   690880 JUAN MERCED HERNANDEZ                       PO BOX 37024                                                                                                       SAN JUAN            PR           00937
   690881 JUAN MERCED MATEO                           PO BOX 809                                                                                                         GURABO              PR           00778‐0809
   690882 JUAN MIGUEL HIGGINS AYALA                   JARD DE MONACO III          CALLE RAINIER BOX 573                                                                  MANATI              PR           00674
   690883 JUAN MILLAN ALONSO                          PO BOX 270205                                                                                                      SAN JUAN            PR           00927
   254091 JUAN MILLAN MUNIZ                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JUAN MIRANDA DBA PL
   690885 SECURITY SYSTEM                             P O BOX 391                                                                                                        TOA BAJA            PR           00951‐0391
   254094 JUAN MIRANDA RAMIREZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   254095 JUAN MIRANDA REYES                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   690886 JUAN MIRANDA RODRIGUEZ                      URB CRISTAL                 57 COMUNIDAD CORRALES                                                                  AGUADILLA           PR           00603
   690887 JUAN MOLINA MOLINA                          HC 2 BOX 15579                                                                                                     ARECIBO             PR           00612
   690888 JUAN MOLINA SANTIAGO                        HC 71 BOX 1821                                                                                                     NARANJITO           PR           00719

   690889 JUAN MONGE/CARMEN E RIVERA URB SIERRA DE BAYAMON                        CALLE 5 BLQ 5 CASA 10                                                                  BAYAMON             PR       00961
   690890 JUAN MONSERRATE REYES      78 CALLE ESTEBAN PADILLA                                                                                                            BAYAMON             PR       00959
   254097 JUAN MONTANEZ PEREZ        REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   254098 JUAN MONTANEZ ROLDAN       REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   254099 JUAN MONTANEZ SANTIAGO     REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   254100 JUAN MONTANEZ TORRES       REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   690891 JUAN MONTERO NEGRON        PARC A MARIN                                 5575 CALLE LOBINA                                                                      PONCE               PR       00716
   254101 JUAN MONTES ROSARIO        REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   254103 JUAN MONTES SANCHEZ        REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   254104 JUAN MONTILLA ROSARIO      REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   690892 JUAN MORALES ALICEA        PO BOX 942                                                                                                                          YABUCOA             PR       00767
   254105 JUAN MORALES ALMENARA      REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   688895 JUAN MORALES AYALA         URB SAGRADO CORAZON                          1663 CALLE SANTA EDUVIGES                                                              SAN JUAN            PR       00926
                                     HC 01 BOX 4108 BO SAN
   690894 JUAN MORALES CARDONA       ANTONIO                                                                                                                             QUEBRADILLA         PR           00678
   690895 JUAN MORALES CORDOVA       PMB 298 BOX 7886                                                                                                                    GUAYNABO            PR           00970‐7886
   254107 JUAN MORALES CRUZ          REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  690897 JUAN MORALES FONTANEZ                        PO BOX 7126                                                                                                         PONCE                PR         00732
  690898 JUAN MORALES MENDEZ                          CALLE ALVARO SANTAELLA                                                                                              PONCE                PR         00731
  690899 JUAN MORALES MERCADO                         BO PUENTE                     545 AVE BALTAZAR JIMENEZ                                                              CAMUY                PR         00627
  254108 JUAN MORALES MOLINA                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  690900 JUAN MORALES OLIVEROS                        PARC HILL BROTHERS            381 CALLE 17                                                                          SAN JUAN             PR         00924
  254109 JUAN MORALES ORTIZ                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  690901 JUAN MORALES OTERO                           JARD DE VEGA BAJA             T 11 CALLE A                                                                          VEGA BAJA            PR         00693
  254111 JUAN MORALES RIVERA                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  254112 JUAN MORALES RUIZ                            REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  254113 JUAN MORALES SANTOS                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  690906 JUAN MORALES VELEZ                           HC 01 BOX 11673                                                                                                     LAJAS                PR         00667
         JUAN MORALES/ JAQUELINE
  254116 TORRES                                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                      URB. PUERTO NUEVO SUR#526
   690907 JUAN MOREL CAPUTIS                          C/ARABIA                                                                                                            SAN JUAN             PR         00926
   254117 JUAN MOTA SANTANA                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   690908 JUAN MOYA FIGUEROA                          PARCELAS LAS 35               32 E CALLE MENA                                                                       CABO ROJO            PR         00623
   254119 JUAN MUNIZ GALARZA                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   254121 JUAN MUNIZ GONZALEZ                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   254122 JUAN MUNIZ HERNANDEZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   254123 JUAN MUNIZ MEDINA                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   690912 JUAN MUNIZ ROSADO                           P O BOX 7126                                                                                                        PONCE                PR         00732
   254124 JUAN MUNOZ GONZALEZ                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   254125 JUAN MUNOZ MARTINEZ                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   254126 JUAN MUNOZ MUNOZ                            REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   254127 JUAN MUNOZ RUIZ                             REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   254128 JUAN MUNOZ STORER                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   690913 JUAN MURPHY ORTIZ                           URB LIRIOS DEL SUR            D 12 CALLE 6                                                                          PONCE                PR         00731
   254129 JUAN N ALVAREZ RIVERA                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   254130 JUAN N CRUZ FIGUEROA                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   254132 JUAN N MIRANDA NIEVES                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   254133 JUAN N MORALES RODRIGUEZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   690916 JUAN N PAGAN MERCADO                        URB MARIANI                   2151 CALLE ESPERANZA                                                                  PONCE                PR         00717‐0110
   690917 JUAN N PUJOLS CARDONA                       P O BOX 527                                                                                                         SAN SEBASTIAN        PR         00685
   254135 JUAN N. JOGINS MEDINA                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   254137 JUAN NATAL ADORNO                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688896 JUAN NATAL CRUZ                             PO BOX 1229                                                                                                         RIO GRANDE           PR         00745

   690919 JUAN NAVARRO DIAZ                           113 CALLE FERNANDEZ GARCIA                                                                                          LUQUILLO             PR         00773
   690920 JUAN NAVARRO FELIX                          BDA POLVORIN                  CALLE 44                                                                              CAYEY                PR         00736
   690921 JUAN NAVARRO QUILES                         P O BOX 1480                                                                                                        HATILLO              PR         00659
   690922 JUAN NAVARRO RIVERA                         HC 20 BOX 26043                                                                                                     SAN LORENZO          PR         00754
   254142 JUAN NAZARIO FERNANDEZ                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   690924 JUAN NAZARIO LANZO                          PARC SAN ISIDRO 176           CALLE 6                                                                               CANOVANAS            PR         00729
   254143 JUAN NEGRON                                 REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   254144 JUAN NEGRON DIAZ                            REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                      TERRESAS DEL TOA 2G‐1 CALLE
   690926 JUAN NEGRON NIEVES                          19                                                                                                                  TOA ALTA             PR         00953
   690927 JUAN NEGRON ORTIZ                           HC 3 BOX 12138                                                                                                      COROZAL              PR         00783
          JUAN NEGRON REYES H N C
   690928 MUROS CONST                                 HC 02 BOX 6699                                                                                                      UTUADO               PR         00761
   690929 JUAN NEGRON RIVERA                          URB VIEW SEOY                 M 13 CALLE 6 ESTE                                                                     BAYAMON              PR         00956



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  254146 JUAN NIEVES GOMEZ                            REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690934 JUAN NIEVES GONZALEZ                         HC 02 OX 11133                                                                                                  QUEBRADILLAS       PR         00678
  254147 JUAN NIEVES MARTINEZ                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690935 JUAN NIEVES MOJICA                           BO BUCARABONES               57 G CALLE 14                                                                      TOA ALTA           PR         00953
  690936 JUAN NIEVES RIVERA                           HP ‐ SALA 5 BAJOS VARONES                                                                                       RIO PIEDRAS        PR         009360000
  254149 JUAN NUNEZ                                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  690939 JUAN O ACEVEDO ROSARIO                       LOMAS VERDES                 3J 7 CALLE MIRTO                                                                   BAYAMON            PR         00956
  690940 JUAN O ALICEA BARRETO                        HC 2 BOX 5109                                                                                                   LARES              PR         00669
  690941 JUAN O ALMEYDA                               37 AVE LOS ROBLES                                                                                               AGUADILLA          PR         00603
  690942 JUAN O ANGUEIRA LOPEZ                        RES ALT DE ISABELA           EDIF 4 APT 15                                                                      ISABELA            PR         00662
  690943 JUAN O ASENCIO GUZMAN                        PO BOX 8786                                                                                                     CAROLINA           PR         00988‐8786
  254151 JUAN O AYALA VAZQUEZ                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   254152 JUAN O BERMUDEZ RODRIGUEZ                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690945 JUAN O BUDET MELENDEZ                       VILLA CAROLINA               63‐66 CALLE 54                                                                     CAROLINA           PR         00985
   254153 JUAN O CALZADA MERCADO                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254154 JUAN O DEL VALLE GALARZA                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   688899 JUAN O DIAZ CLEMENTE                        URB ALTURAS DE RIO GRANDE    S 1004 CALLE 19                                                                    RIO GRNADE         PR         00745
   690946 JUAN O DIAZ OCASIO                          PO BOX242                                                                                                       QUEBRADILLAS       PR         00678
   254155 JUAN O DIAZ PAGAN                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254157 JUAN O GERENA LOPEZ                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690948 JUAN O HERNANDEZ                            11 BETANCES                                                                                                     COAMO              PR         00769
   254158 JUAN O HODELIN GAINZA                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      CONDOMINIO JARDINES DE
   690949 JUAN O LEON GONZALEZ                        VALENCIA                     APTO 1010                                                                          SAN JUAN           PR         00923
   690950 JUAN O LOPEZ GONZALEZ                       PO BOX 878                                                                                                      AGUADILLA          PR         00605
   254160 JUAN O MARRERO SUAREZ                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   690952 JUAN O MARTINEZ RODRIGUEZ                   P O BOX 492                                                                                                     TOA BAJA           PR         00951‐0492
   254161 JUAN O OLMEDA HERNANDEZ                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690953 JUAN O ORTIZ NEGRON                         PO BOX 7126                                                                                                     PONCE              PR         00732
   690954 JUAN O OSORIO FIGUEROA                      RIO GRANDE ESTATES           B 28 CALLE 2                                                                       RIO GRANDE         PR         00745
   254162 JUAN O PAGAN TORRES                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   690955 JUAN O PEREZ CANALES                        HC BOX 8607 BO JUAN MARTIN                                                                                      LUQUILLO           PR         00773
   690957 JUAN O RIOS RODRIGUEZ                       HC 71 BOX 3980                                                                                                  NARANJITO          PR         00719
   254163 JUAN O RIVERA CINTRON                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690959 JUAN O RIVERA RODRIGUEZ                     P O BOX 19403                                                                                                   SAN JUAN           PR         00910‐1403
   254164 JUAN O RODRIGUEZ LOPEZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   688898 JUAN O RODRIGUEZ LOPEZ                      PO BOX 12291                 LOIZA STATION                                                                      SAN JUAN           PR         00914‐2291

   254165 JUAN O RODRIGUEZ MARTINEZ                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690960 JUAN O ROSADO HERNANDEZ                     URB LOS SUACES               369 CALLE CAOBA                                                                    HUMACAO            PR         00791
   690961 JUAN O SANCHEZ                              HOTEL MIRAMAR                606 PONCE DE LEON                                                                  SAN JUAN           PR         00907
   254166 JUAN O SANTIAGO VELEZ                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254167 JUAN O SERRANO RIVERA                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690963 JUAN O TORO VEGA                            URB CORALES                  C 18 CALLE 8                                                                       HATILLO            PR         00659
   254168 JUAN O TORRES CARTAGENA                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254169 JUAN O TORRES GONZALEZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254170 JUAN O VAZQUEZ MERCADO                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254171 JUAN O VILLEGAS OLLER                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   690965 JUAN O VIRELLA                              71 CALLE BOU                                                                                                    COROZAL            PR         00783



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  254172 JUAN O. ALEMANY OLIVIERA                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  254173 JUAN O. IRIZARRY                             REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  254174 JUAN O. LOPEZ OSORIO                         REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  254175 JUAN O. LOPEZ RIVERA                         REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  690967 JUAN O. RUIZ LOPEZ                           PO BOX 464                                                                                                     CIDRA                PR         00739
  254176 JUAN OCASIO SANTIAGO                         REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         JUAN OCASIO VELAZQUEZ /
  690970 HOGAR DON ANDRES                             PO BOX 1057                                                                                                    AGUAS BUENAS         PR         00703
  688900 JUAN OFARRIL ALAMO                           VILLA FONTANA 2YR 59   VIA 20                                                                                  CAROLINA             PR         00983
  690971 JUAN OJEDA COREANO                           STATION I              BOX 55039                                                                               BAYAMON              PR         00960
  254177 JUAN OJEDA DIAZ                              REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  690972 JUAN OLIVERAS AMELY                          PO BOX 695                                                                                                     SAN GERMAN           PR         00683
  254178 JUAN OLIVIERI VILLAFANE                      REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  690975 JUAN OLIVO ROSADO                            PO BOX 1426                                                                                                    DORADO               PR         00646
  690977 JUAN OLMEDA REYES                            PO BOX 1466                                                                                                    GUAYNABO             PR         00970
  690978 JUAN OQUENDO FIGUEROA                        URB MIRAFLORES         14‐11 CALLE 28                                                                          BAYAMON              PR         00957
  690979 JUAN ORELLANA                                12205 CAPITAL BLVD                                                                                             WAKE FOREST          NC         27587
  688901 JUAN ORTEGA MARTINEZ                         BO MIRADERO            1612 CARR ZOOLOGICO                                                                     MAYAGUEZ             PR         00680‐7844
  690982 JUAN ORTIZ                                   PO BOX 21365                                                                                                   SAN JUAN             PR         00926‐1365
  690984 JUAN ORTIZ ALMODOVAR                         PO BOX 379                                                                                                     GUANICA              PR         00653
  690985 JUAN ORTIZ ALVAREZ                           HC 02 BOX 14592                                                                                                ARECIBO              PR         00612
  690986 JUAN ORTIZ ANAYA                             EXT COQUI              654 CALLE EL TURPILAL                                                                   AGUIRRE              PR         00704
  690987 JUAN ORTIZ BERRIOS                           P O BOX 190104                                                                                                 SAN JUAN             PR         00919
  690988 JUAN ORTIZ CADIZ                             P O BOX 1212                                                                                                   GUAYAMA              PR         00785‐1212
  690990 JUAN ORTIZ CRUZ                              URB ALGARROBOS         I3 CALLE B                                                                              GUAYAMA              PR         00784

          JUAN ORTIZ DBA COMMERCIAL                                          CALLE CAMINO DEL VALLE 104
   770664 PLEASURE BOATS               P.O. BOX 190104                       URB.                         CAMINO DEL SOL VEGA BAJ                                    VEGA BAJA            PR         00693
   690992 JUAN ORTIZ DE JESUS          URB ALAMAR                            K12 CALLE M                                                                             LUQUILLO             PR         00773
          JUAN ORTIZ DERIVADOS DE
   690993 PETROLEO                     42 CALLE 3                                                                                                                    GUAYAMA              PR         00784
   690994 JUAN ORTIZ FERRER            RES JUANA MATOS                       EDIF 67 APT 663                                                                         COAMO                PR         00962
   690995 JUAN ORTIZ FIGUEROA          H C 1 BOX 5828                                                                                                                COROZAL              PR         00783
          JUAN ORTIZ GONZALEZ Y NELSON
   254182 D SOTO                       REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   690996 JUAN ORTIZ HERNANDEZ         PO BOX 702                                                                                                                    CAYEY                PR         00737
   690998 JUAN ORTIZ MARTINEZ          URB BELLA VISTA                       C7 CALLE VIOLETA                                                                        AIBONITO             PR         00705
   254183 JUAN ORTIZ MELENDEZ          REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   254185 JUAN ORTIZ MOLINA            REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   690999 JUAN ORTIZ OLIVERA           URB PUERTO NUEVO                      1224 CALLE CALI                                                                         SAN JUAN             PR         00920
   254186 JUAN ORTIZ ORTIZ             REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   691001 JUAN ORTIZ PAGAN             HC 1 BOX 7857                                                                                                                 LAS PIEDRAS          PR         00771
   254187 JUAN ORTIZ PEROZA            REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   691002 JUAN ORTIZ RAMOS             PO BOX 702                                                                                                                    CAYEY                PR         00737
   691003 JUAN ORTIZ RIVAS             HC 3 BOX 10677                                                                                                                YABUCOA              PR         00767
   254188 JUAN ORTIZ RODRIGUEZ         REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   691004 JUAN ORTIZ ROLON             204 AVE FELIX RIOS                                                                                                            AIBONITO             PR         00705
   254190 JUAN ORTIZ SANCHEZ           REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   254191 JUAN ORTIZ SANTIAGO          REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   688902 JUAN ORTIZ SERRANO           BO RIO BLANCO                         BOX 7                                                                                   NAGUABO              PR         00744

   691006 JUAN ORTIZ SOLER                            URB PABELLONES         297 PABELLONES DE NORVEJA                                                               TOA BAJA             PR         00949
   254192 JUAN ORTIZ VELEZ                            REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  691007 JUAN ORTOLAZA QUINTANA                       HC 2 BOX 8430                                                                                                   CIALES               PR         00638
  691008 JUAN OSCAR ALVARADO                          MADRIGAL                     Y 27 CALLE 7                                                                       PONCE                PR         00730
  254194 JUAN OSCAR BUDO                              REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         JUAN OSCAR HERNANDEZ
  254195 ALVAREZ                                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  254198 JUAN OSORIO LOPEZ                            REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  691009 JUAN OTERO GARABIS                           154 CALLE SAN JORGE APTO 4                                                                                      SAN JUAN             PR         00911
  254199 JUAN OTERO PADILLA                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  691011 JUAN OTERO SEDA                              666 CALLE JULIO C ARTEAGA                                                                                       SAN JUAN             PR         00924
  254201 JUAN OYOLA/ MYRNA OYOLA                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  691012 JUAN OZTALAZA RODRIGUEZ                      BO BAJURA ALMIRANTE          BZN 8550 CALLE 91                                                                  VEGA ALTA            PR         00692
  691013 JUAN P ALICEA SOTO                           HC 01 BOX 6204                                                                                                  ARROYO               PR         00714
  691015 JUAN P ANDINO MORALES                        RES LOS LAURELES             EDIF 5 APT 82                                                                      SAN JUAN             PR         00926
  254203 JUAN P BIBILONI MAYSONET                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  691017 JUAN P CARRASQUILLO ARIAS                    EXT MANUEL A PEREZ           EDIFICIO J 17 APT 165                                                              SAN JUAN             PR         00923
  254204 JUAN P COLON PIZARRO                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  254205 JUAN P COLON ROMAN                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  254206 JUAN P CRUZ ARROYO                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         JUAN P CUEVAS DELGADO Y
  254207 NELSON D SOTO                                REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  254208 JUAN P DELGADO IRIZARRY                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  691019 JUAN P DIAZ GUTIERREZ                        113 CALLE ESTACION                                                                                              PALMER               PR         00721
  254209 JUAN P FIGUEROA COLON                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  254211 JUAN P GOICOCHEA PAREDES                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  691021 JUAN P IRIZARRY COLON                        PO BOX 6638                                                                                                     SAN JUAN             PR         00914
  691022 JUAN P LOPEZ ALAMO                           PARCELAS FALU                467 CALLE 29                                                                       SAN JUAN             PR         00924
  254212 JUAN P MONTALVO PEREZ                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  691023 JUAN P ORTIZ RIVERA                          PO BOX 418                                                                                                      COAMO                PR         00769
                                                      BUZON 4 69 B BO COTO
   691024 JUAN P ORTIZ RODRIGUEZ                      LLANADAS                                                                                                        ISABELA              PR         00662
   691026 JUAN P RICHIUSA MANCHO                      2934 AVE EMILIO FAGOT        STE 2 PMB 211                                                                      PONCE                PR         00716
   691027 JUAN P RIOS ESCOBAR                         JARDINES DE PALMAREJO II     6 CALLE 29                                                                         CANOVANAS            PR         00729
   254214 JUAN P RIVERA MATIAS                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   254215 JUAN P RIVERA RODRIGUEZ                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   691028 JUAN P RIVERA ROMAN                         PO BOX 7498                                                                                                     PONCE                PR         00732
   691029 JUAN P RODRIGUEZ VICENS                     URB CARIBE GARDENS           F 6 CALLE LIRIO                                                                    CAGUAS               PR         00725
   254217 JUAN P ROJAS CALAFAT                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   254219 JUAN P ROMERO                               REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   254220 JUAN P ROSARIO SANCHEZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   691030 JUAN P SANTIAGO                             PO BOX 364686                                                                                                   SAN JUAN             PR         00936‐4686
   254221 JUAN P SANTIAGO MARTINEZ                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   254222 JUAN P TORRES BONILLA                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   254224 JUAN P TORRES HERNANDEZ                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   254225 JUAN P TORRES MARTINEZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   691031 JUAN P TROCHE RODRIGUEZ                     HC 4 BOX 41110                                                                                                  MAYAGUEZ             PR         00680
   254226 JUAN P VALENTIN MORALES                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JUAN P VARGAS PESANTE &
   691032 CRUZ SANTIAGO                               URB LOS CAOBOS               643 CALLE ACEITILLO                                                                PONCE                PR         00716‐2603
   254227 JUAN P VAZQUEZ TORRES                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   691033 JUAN P VELAZQUEZ ROLDAN                     MIRADOR DE BAIROA            2T 27 CALLE 27                                                                     CAGUAS               PR         00725
   254228 JUAN P VILLALBA CABRERA                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   254229 JUAN P. ACOSTA BARRERAS                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   254231 JUAN P. RICHIUSA MANCHO                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  254232 JUAN P. SERRANO PEREZ                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  254233 JUAN P. TORRES MARTINEZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  691034 JUAN P. ZAYAS DIAZ                           URB BONNEVILLE TERR          E11 CALLE 4                                                                        CAGUAS              PR         00725

   691035 JUAN PABLO DE LEON BENITEZ                  CUARTA EXT COUNTRY CLUB      MG 29 CALLE 406                                                                    CAROLINA            PR         00982
          JUAN PABLO FONSECA
   254234 GONZALEZ                                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691036 JUAN PABLO LOPEZ                            SABANA LLANA                 467 C/29 PARCELA FALU                                                              SAN JUAN            PR         00908

   254237 JUAN PABLO NAVARRO ACEVEDO REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   254238 JUAN PABLO OREGON GONZALEZ REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254240 JUAN PABLO QUEVEDO         REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254241 Juan Pablo Rodríguez       REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691040 JUAN PABLO ROJAS           P O BOX 60075                                                                                                                    BAYAMON             PR         00960
          JUAN PABLO SANTANA
   691041 MELENDEZ                   140 CORDOVA DAVILA                                                                                                               MANATI              PR         00674

   254242 JUAN PABLO SANTIAGO MONTES REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   691043 JUAN PABLO SEMIDEY CAPRILES                 P O BOX 70171                P M B 249                                                                          SAN JUAN            PR         00936‐8171
   691045 JUAN PABLO VEGA                             HC 763 BUZON 3822                                                                                               PATILLAS            PR         00723‐3822
   691046 JUAN PABON MARRERO                          PO BOX 3502 SUITE 116                                                                                           JUANA DIAZ          PR         00795
   254244 JUAN PACHECO ORTIZ                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254245 JUAN PACHECO TORRES                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691048 JUAN PADILLA                                RR 02 BOX 8156                                                                                                  TOA ALTA            PR         00953
          JUAN PADILLA DBA JUNIOR BUS
   254246 LINE                                        PO BOX 262                                                                                                      NARANJITO           PR         00719‐0000
   254247 Juan Padilla Lugo                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254249 JUAN PADILLA PADILLA                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254250 JUAN PADILLA VEGA                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691049 JUAN PADIN LOPEZ                            HC 01 BOX 5169 B                                                                                                CAMUY               PR         00627
   691051 JUAN PAGAN CARABALLO                        URB LUCHETTI                 E 1 CALLE 1                                                                        YAUCO               PR         00698
   254251 JUAN PAGAN COLON                            REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691052 JUAN PAGAN GONZALEZ                         481 CALLE TRAFALGAR                                                                                             SAN JUAN            PR         00923
   688903 JUAN PAGAN RODRIGUEZ                        SEC OJO DE AGUA              110 CALLE BEGONIA                                                                  VEGA BAJA           PR         00693‐4108
   691054 JUAN PAGAN SANTIAGO                         PO BOX 21635                                                                                                    SAN JUAN            PR         00928
   691055 JUAN PAGAN TRUJILLO                         EXT PARKVILLE                ZA 14 CALLE NEVADA                                                                 GUAYNABO            PR         00969
   254252 JUAN PALERM NEVARES                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691056 JUAN PANETO MORALES                         BO FRONTON PARC              HC 2 BOX 80306                                                                     CIALES              PR         00638‐9740
   691058 JUAN PAOLI CASTILLO                         HC 02 BOX 6937                                                                                                  LARES               PR         00669
   254254 JUAN PARDO ARTEAGA                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN PARRA BDA JPG
   254255 MNAGEMENT GROUP                             URB SABANERA                 320 CALLE PRADO                                                                    CIDRA               PR         00739
                                                      URB METROPOLIS 2A 24 CALLE
   691060 JUAN PASTRANA DE LEON                       33                                                                                                              CAROLINA            PR         00987
   691061 JUAN PASTRANA ORTIZ                         HC 3 BOX 18004                                                                                                  RIO GRANDE          PR         00745
          JUAN PASTRANA ROMAN
   254257 PRIMARY CARE AMB INC                        BAYAMON GARDEN STATION       P O BOX 3583                                                                       BAYAMON             PR         00958
   254258 JUAN PELLICIER VARGAS                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691062 JUAN PELLOT CABAN                           PO BOX 250616                                                                                                   AGUADILLA           PR         00604
   691063 JUAN PELLOT MENDEZ                          HC 04 BOX 44846                                                                                                 AGUADILLA           PR         00603‐9615
   691064 JUAN PEREZ ANDINO                           URB SANTA ELENA              N 32 CALLE B                                                                       BAYAMON             PR         00954



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  691065 JUAN PEREZ AYALA                             URB APOLO 005            CALLE ATENAS                                                                        GUAYNABO           PR         00969
  688904 JUAN PEREZ BAEZ                              PO BOX 9848                                                                                                  JUNCOS             PR         00777
  691066 JUAN PEREZ CHINEA                            CARR VIA REXVILLE DD 5                                                                                       BAYAMON            PR         00957
  254261 JUAN PEREZ GALARZA                           REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691067 JUAN PEREZ GARCET                            P O BOX 1021                                                                                                 CEIBA              PR         00735‐1021
  691068 JUAN PEREZ HERNANDEZ                         HC 2 BOX 8034                                                                                                CAMUY              PR         00627
  254262 JUAN PEREZ HIRALDO                           REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691069 JUAN PEREZ LOPEZ                             HC 2 BOX 8034                                                                                                CAMUY              PR         00627
  691070 JUAN PEREZ LOZANO                            URB LAGO ALTO            4 CALLE CAONILLAS                                                                   TRUJILLO ALTO      PR         00976
  254263 JUAN PEREZ PABON                             REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  254264 JUAN PEREZ PACHECO                           REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691071 JUAN PEREZ PEREZ                             HC 5 BOX 55359                                                                                               CAGUAS             PR         00725
         JUAN PEREZ PEREZ/CLASE DE
  691072 NOVENO GRADO                                 HC 03 BOX 16440                                                                                              QUEBRADILLAS       PR         00678
  691073 JUAN PEREZ QUINTANA                          P O BOX 370592                                                                                               CAYEY              PR         00737‐0592
  691074 JUAN PEREZ RAMIREZ                           416 B AVE NOEL ESTRADA                                                                                       ISABELA            PR         00662
  691076 JUAN PEREZ RIVERA                            HC 1 BOX 23634                                                                                               CAGUAS             PR         00725‐8920
  691078 JUAN PEREZ RODRIGUEZ                         RR 2 BOX 5465            QUEBRADA ARENAS                                                                     TOA ALTA           PR         00953
  254265 JUAN PEREZ ROMAN                             REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  254266 JUAN PEREZ SANTIAGO                          REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691080 JUAN PEREZ SANTOS                            HC 71 BOX 2475                                                                                               NARANJITO          PR         00719‐9706
  691081 JUAN PEREZ SIERRA                            PO BOX 8185                                                                                                  CAGUAS             PR         00726
  254267 JUAN PEREZ SOTO                              REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691083 JUAN PEREZ TOLEDO                            HC 3 BOX 14496                                                                                               URUADO             PR         00641
  691084 JUAN PEREZ VARGAS                            PMB 773                  PO BOX 5000                                                                         AGUADA             PR         00602
  691085 JUAN PEREZ VILLAMIL                          VILLAS DEL ESTE II       993 CALLE AMBAL                                                                     CANOVANAS          PR         00729
         JUAN PETERSON VIEQUES
  691087 COUNTRY CLUB                                 PO BOX 196                                                                                                   VIEQUES            PR         00765
  254269 JUAN PINTO ORTIZ                             REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691089 JUAN PITRE ROSADO                            HC 04 BOX 42663                                                                                              MAYAGUEZ           PR         00680
  254270 JUAN PIZA RAMOS                              REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691090 JUAN PIZARRO                                 LA CENTRAL               P 63 CALLE 12                                                                       CANOVANAS          PR         00723
  254271 JUAN POMALES PACHECO                         REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691095 JUAN PONCE DE LEON                           PO BOX 9300220                                                                                               SAN JUAN           PR         00930‐0220
  691096 JUAN PORTABLE TAILILETS                      BOX 598                                                                                                      CABO ROJO          PR         00623

   691098 JUAN PORTALATIN MAYSONET    URB ATENAS                               J 46 CALLE REYES LOPEZ                                                              MANATI             PR         00674
   254272 JUAN PORTALATIN ROSARIO     REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254274 JUAN PROSPERE SERRANO       REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   691100 JUAN QUEZADA DE LA CRUZ     HC 02 12607                                                                                                                  VIEQUES            PR         00765
   691101 JUAN QUIJANO JOURNET        URB PUERTO NUEVO                         1270 CALLE CANADA                                                                   SAN JUAN           PR         00920
   691102 JUAN QUILES CLAUDIO         HC 37 BOX 7083                                                                                                               GUANICA            PR         00653‐9708
   254275 JUAN QUILES RIVERA          REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   691106 JUAN QUILES TORRES          URB VILLA HUMACAO                        21 CALLE E                                                                          HUMACAO            PR         00791
          JUAN QUINONES ESQUILIN JUAN
   254277 SANCHEZ                     REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254278 JUAN QUINONES MOTOS         REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254279 JUAN QUINONES ORTIZ         REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   691107 JUAN QUINONES RODRIGUEZ     EGIDA DEL POLICIA APTO 210               B 12 CALLE TOMMAYRA                                                                 PONCE              PR         00731
   254280 JUAN QUINONES SANTIAGO      REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254281 JUAN QUIROZ TAPIA           REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254282 JUAN R ACEVEDO ACEVEDO      REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   691108 JUAN R ACEVEDO AYALA        HC 61 BOX 4776                                                                                                               TRUJILLO ALTO      PR         00976



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  691109 JUAN R ACEVEDO CORDERO                       HC 1 BOX 5489                                                                                                         CIALES              PR           00638

   691110 JUAN R ACEVEDO SANTIAGO                     232 AVE ELEONOR ROOSEVELT                                                                                             SAN JUAN            PR           00907
   691112 JUAN R AGOSTO LOPEZ                         URB ALTAMIRA                 602 CALLE CENTAURO                                                                       SAN JUAN            PR           00920

   691114 JUAN R ALAMO REYES                          BO SANTA ROSA I SECT         CANTA GALLO CARR 20 APT 694                                                              GUAYNABO            PR           00987
   691115 JUAN R ALEJANDRO CINTRON                    URB JARDINEZ DE TOA ALTA     265 CALLE 9                                                                              TOA ALTA            PR           00953
   691116 JUAN R ALOMAR MARTINEZ                      PO BOX 604                                                                                                            MOROVIS             PR           00687

   691117 JUAN R ALVARADO                             VOLEIBOL FEMENINO CAROLINA   VILLA CAROLINA B 112 CALLE 78                                                            CAROLINA            PR           00985
   254283 JUAN R ALVAREZ MEDIAVILLA                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   691118 JUAN R AMEZAGA MADRIGAL                     JARD DE BAYAMONTE            84 CALLE GORRION                                                                         BAYAMON             PR           00956
   691119 JUAN R APARICIO MONTES                      HC 2 BOX 7650                                                                                                         CIALES              PR           00638
   254284 JUAN R ARBELO ESQUILIN                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   691121 JUAN R ARCE VALLE                           PO BOX 2493                                                                                                           ISABELA             PR           00662
   254285 JUAN R AROCHO SANTOS                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   691122 JUAN R AROCHO VELEZ                         PO BOX 350                                                                                                            HATILLO             PR           00659
   691123 JUAN R ARROYO RIVERA                        P O BOX 705                                                                                                           MANATI              PR           00674

   691124 JUAN R ASENCIO MALDONADO                    URB STARLIGHT                II‐10 CALLE A                                                                            PONCE               PR           00731
   691126 JUAN R AYALA LOPEZ                          BO BUENA VISTA               BOX 293                                                                                  HUMACAO             PR           00731
   254286 JUAN R AYUSO PEREZ                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   254287 JUAN R BELTRAN PENA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   691127 JUAN R BERRIOS FIGUEROA                     BO AZUCENAS                  10 AUGUSTA                                                                               HUMACAO             PR           00791
   254288 JUAN R BERRIOS SANTIAGO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   691128 JUAN R BERRIOS SILVA                        BO CEDRO ARRIBA              HC 71 BOX 3898                                                                           NARANJITO           PR           00719
   254289 JUAN R BONILLA RODRIGUEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JUAN R BOSQUES DBA LA CASA
   691129 DE DEPORTES                                 170 CALLE COLON                                                                                                       AGUADA              PR           00602
          JUAN R BOU PACHECO Y
   691130 CARMEN BOU                                  P O BOX 1005                                                                                                          COROZAL             PR           00783
   691131 JUAN R BRAVO ANDINO                         50 CONDOMINIO VILLAS         EL DIAMANTINO APT 5           BO MARTIN GONZALEZ                                         CAROLINA            PR           00987
   691132 JUAN R BRAVO BONIT                          1107 SUSSEX LN                                                                                                        LIBERTYVILLE        IL           66048‐1246
   254290 JUAN R BURGOS MARTINEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   254291 JUAN R CABRERA PACHECO                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   688905 JUAN R CABRERA PACHECO                      URB SIERRA BAYAMON           75 4 CALLE 24                                                                            BAYAMON             PR           00961
   254292 JUAN R CALCANO ORTIZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   254293 JUAN R CALDERIN GONZALEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   691134 JUAN R CALDERON GARCIA                      HC 02 BOX 12933                                                                                                       AGUAS BUENAS        PR           00703
   691135 JUAN R CANDAMO ORTIZ                        EDIF PARRA                   SUITE706 APTDO 7632                                                                      PONCE               PR           00732
   691136 JUAN R CANDELARIO PEREZ                     P O BOX 50759                LEVITTOWN                                                                                TOA BAJA            PR           00950‐0759
   254294 JUAN R CANSOBRE FEBUS                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   691137 JUAN R CARABALLO CEDE¥O                     URB TOA ALTA HEIGHTS         F 49 CALLE 6                                                                             TOA ALTA            PR           00953
   691138 JUAN R CARABALLO INGOYEN                    504 BELL AIR MANSIIONES                                                                                               GUAYNABO            PR           00969

   691139 JUAN R CARDONA SEPULVEDA                    B1449 URB REPARTO LANDRAU    CARR 21                                                                                  SAN JUAN            PR           00921
   254295 JUAN R CARRION COLON                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   254296 JUAN R CARRION URDAZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   691140 JUAN R CASTRO DIAZ                          PO BOX 29467                                                                                                          SAN JUAN            PR           00929
   254297 JUAN R CASTRO GONZALEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   691141 JUAN R CASTRO LOZADA                        D 5 URB RIVERA DONATO                                                                                                 HUMACAO             PR           00791
   254298 JUAN R CEDENO RIVERA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   691142 JUAN R CINTRON HERNANDEZ                    PO BOX 1067                                                                                                           LAS PIEDRAS         PR           00771



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  691143 JUAN R CINTRON SANTANA                        URB NOTRE DAME              G13 CALLE SAN FELIPE                                                                    CAGUAS             PR         00725
  691144 JUAN R CLASS CHEVERE                          BO TORRECILLAS              107 A CALLE SATURNO FEBO                                                                MOROVIS            PR         00687
  254299 JUAN R COBIAN GUZMAN                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  254300 JUAN R COLON CORTES                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691146 JUAN R COLON COTTO                            HC 9 BOX 2916                                                                                                       SABANA GRANDE      PR         00637
  254301 JUAN R COLON GONZALEZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  254302 JUAN R COLON MORALES                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  254303 JUAN R COLON NUNEZ                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691147 JUAN R CORAL HERNANDEZ                        PO BOX 194468                                                                                                       SAN JUAN           PR         00919‐4468
  691150 JUAN R CORREA TOLEDO                          URB SANTA RITA              55 CALLE ROMANI                                                                         SAN JUAN           PR         00925
  691151 JUAN R COSTA WOOD                             PO BOX 9066275                                                                                                      SAN JUAN           PR         00906 6275
  691154 JUAN R COUVERTIER CRUZ                        RR 1 BOX 40 GG                                                                                                      CAROLINA           PR         00983
  254304 JUAN R CRUZ BURGOS                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  254305 JUAN R CRUZ CORRADA                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  254306 JUAN R CRUZ MARTINEZ                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691156 JUAN R CRUZ MEDINA                            PO BOX 548                                                                                                          SAN LORENZO        PR         00754
  254307 JUAN R CRUZ MONROIG                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  254308 JUAN R DAVILA DIAZ                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  254309 JUAN R DAVILA REYES                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691157 JUAN R DE ARCE RODRIGUEZ                      URB STA JUANA II            L21 CALLE 11                                                                            CAGUAS             PR         00725
  691158 JUAN R DE LA CRUZ RIVERA                      URB OCEAN FRONT I           3436 ST ATLANTIC                                                                        VEGA BAJA          PR         00693
  254310 JUAN R DE LEON SALDANA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691159 JUAN R DE TORRES SUCR INC.                    P O BO 3434                                                                                                         CAROLINA           PR         00984
  254311 JUAN R DELGADO FRADERA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691160 JUAN R DELGADO RIVERA                         HC 2 BOX 13051                                                                                                      AGUAS BUENAS       PR         00703‐9604

   254312 JUAN R DELGADO RODRIGUEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   254313 JUAN R DELIZ ROMAN                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   691161 JUAN R DIAZ ANDINO                           BO OJO DE AGUA              35 CALLE GERANIO                                                                        VEGA BAJA          PR         00693
   254314 JUAN R DIAZ MALDONADO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   254315 JUAN R DIAZ ROMAN                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          JUAN R DIAZ TROCHE /
   254316 CIRUJANOS C S P                              REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   691164 JUAN R DIAZ Y MARIA L GARCIA                 HC 1 BOX 8042                                                                                                       HATILLO            PR         00659
   254317 JUAN R EMMANUELLI                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          JUAN R ERAZO/ JOSE ERAZO/
   254319 ESTHER ERAZO                                 REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   254320 JUAN R ESQUILIN QUINONES                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   254321 JUAN R FELICIANO MOJICA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
                                                                                   1715 AVE PONCE DE LEON PDA
   691166 JUAN R FERNANDEZ                             PLAZA INMACULADA APT 1901   25                                                                                      SAN JUAN           PR         00909
   254322 JUAN R FIGUEROA PEREZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   691167 JUAN R FIGUEROA RIVERA                       URB REXVILLE                BN1 CALLE 42                                                                            BAYAMON            PR         00957
   254323 JUAN R FLORES FIGUEROA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   254324 JUAN R FONSECA PAGAN                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   254325 JUAN R FORTEZA/ IDALIA DIEPPA REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   691168 JUAN R FUENTES MARTINEZ       URB. SANTA JUANITA                         GG‐36 CALLE 33 OESTE                                                                    BAYAMON            PR         00956
   254326 JUAN R GALERA AVILES          REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   254327 JUAN R GARCIA JANER           REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   254328 JUAN R GARCIA MARTINEZ        REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED




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          JUAN R GARCIA PATRON
   691169 BUILDERS CO                                 HC 03 BOX 9024                                                                                                   JUNCOS               PR         00777
   254329 JUAN R GARCIA SOTO                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   254330 JUAN R GAUD RODRIGUEZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   254331 JUAN R GELPI BARRIOS                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   691171 JUAN R GERENA DIAZ                          URB CIUDAD REAL            320 CALLE VALORA                                                                      VEGA BAJA            PR         00693
   254332 JUAN R GONZALEZ                             REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   691172 JUAN R GONZALEZ CARASQUILLO URB JARDINES DEL CARIBE                    200 4TH ST                                                                            PONCE                PR         00728‐4465
   254333 JUAN R GONZALEZ CASTRO      REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   691173 JUAN R GONZALEZ CRUZ        PO BOX 608                                                                                                                       VIEQUES              PR         00765
   254334 JUAN R GONZALEZ DE JESUS    REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   254335 JUAN R GONZALEZ DIAZ        REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   691174 JUAN R GONZALEZ GUTIEREZ    SEC 10 SANTA JUANITA                       DT 2 CALLE NAPOLES                                                                    BAYAMON              PR         00956
   254336 JUAN R GONZALEZ MUNOZ       REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   254337 JUAN R GONZALEZ RODRIGUEZ                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   691175 JUAN R GUZMAN SOTO                          URB LAS MERCEDES           3 CALLE 47                                                                            SALINAS              PR         00751
   691176 JUAN R HEREDIA AVILES                       PO BOX 39                                                                                                        BARCELONETA          PR         00617‐0039
   691177 JUAN R HERNANDEZ ALAYON                     HC 2 BOX 6128                                                                                                    LARES                PR         00669
   691178 JUAN R HERNANDEZ LOPEZ                      HC 5 BOX 25411                                                                                                   CAMUY                PR         00627 9830
   254338 JUAN R HERNANDEZ OTERO                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   254339 JUAN R HERNANDEZ RIVERA                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   254340 JUAN R HERNANDEZ SANCHEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   691182 JUAN R IRIZARRY MEDINA                      HC 01 BOX 6568                                                                                                   GUAYANILLA           PR         00656
   691183 JUAN R JIMENEZ COLLAZO                      HC 01 BOX 8036             BO LOMAS                                                                              CANOVANAS            PR         00729
   691184 JUAN R JIMENEZ GONZALEZ                     PO BOX 5080 SUITE 114                                                                                            AGUADILLA            PR         00605
   254341 JUAN R JIMENEZ LUCENA                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   691186 JUAN R JIRAU COLON                          URB LEVITTOWN LAKES        HH6 CALLE MONSITA FERRER                                                              TOA BAJA             PR         00949
   254342 JUAN R JORGE MENDOZA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   691187 JUAN R LAPAIX FRANCO                        PO BOX 9021112                                                                                                   SAN JUAN             PR         00902‐1112
   254344 JUAN R LAUREANO PENA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   254345 JUAN R LEBRON SANCHEZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   691191 JUAN R LEBRON TROCHE                        URB CAMPO ALEGRE G 6       CALLE LAUREL                                                                          BAYAMON              PR         00956
   691193 JUAN R LEON GONZALEZ                        Z‐8 URB LOS ANGELES                                                                                              CAROLINA             PR         00979
   691194 JUAN R LLERAS DIAZ                          HC 645 BOX 6235                                                                                                  TRUJILLA ALTO        PR         00976‐9737
   691195 JUAN R LOPEZ                                COND BELLO HORIZONTE       APT 1010                                                                              SAN JUAN             PR         00924
   691196 JUAN R LOPEZ COTTO                          HC 3 BOX 8499                                                                                                    GUAYNABO             PR         00971
   254347 JUAN R LOPEZ ESQUILIN                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   691198 JUAN R LOPEZ MARTINEZ                       HC 03 BOX 11206                                                                                                  YABUCOA              PR         00767
   691199 JUAN R LOPEZ RAMOS                          PO BOX 34                                                                                                        COROZAL              PR         00783
                                                      BO SABANA ABAJO CALLEJON
   691200 JUAN R LOREN AYALA                          ORTIZ                      CARR 190 KM 4 2                                                                       CAROLINA             PR         00986
   254348 JUAN R MADERA LATONI                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   691201 JUAN R MALDONADO DE JESUS                   PO BOX 50603                                                                                                     TOA BAJA             PR         00950‐0630
   691202 JUAN R MALDONADO DONES                      P O BOX 1787                                                                                                     COROZAL              PR         00783
   691204 JUAN R MARI PESQUERA                        BOX 326                                                                                                          RINCON               PR         00677
   254349 JUAN R MARIN ESPIET                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   254350 JUAN R MARQUEZ GINORIO                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   254351 JUAN R MARRERO ROSADO                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   254352 JUAN R MARROIG MARENGO                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   691205 JUAN R MARTINEZ GARCIA                      BDA BUENA VISTA            2302 CALLE D                                                                          SAN JUAN             PR         00915



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  254353 JUAN R MARTINO DIAZ                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   691206 JUAN R MARTY CARO                           URB BAIROA                   Q 20 CALLE F GOLDEN GATE II                                                              CAGUAS              PR         00727
   688851 JUAN R MASSAS PEREZ                         PO BOX 610                                                                                                            CEIBA               PR         00785‐0610
   254354 JUAN R MATEO VEGA                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254355 JUAN R MATOS ARROYO                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254356 JUAN R MATOS DIAZ                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                   120 MARGINAL NORTE APTO B
   691208 JUAN R MEDINA MOJICA                        COND SAN FRANCISCO           603                                                                                      BAYAMON             PR         00959

   691209 JUAN R MEJIAS                               URB ALTOMONTE Q27 BLOQUE 2                                                                                            CAGUAS              PR         00725

   254357 JUAN R MELENDEZ ALVARADO                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254358 JUAN R MELENDEZ LOPEZ                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254359 JUAN R MELENDEZ PADRO                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN R MELENDEZ Y ROSA N
   254360 MELENDEZ                                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254361 JUAN R MENDEZ MARTINEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691211 JUAN R MENDEZ ROLDAN                        PO BOX 1175                                                                                                           AGUADILLA           PR         00605
   254362 JUAN R MENDEZ SANDOVAL                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254363 JUAN R MENDEZ TARAN                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691212 JUAN R MERCADO VELEZ                        URB ROSALEDA I ED 62         CALLE ROSA DE FRANCIA                                                                    TOA BAJA            PR         00949
   254364 JUAN R MILIAN LOPEZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254365 JUAN R MIRABAL RAMOS                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691214 JUAN R MOLINA DOMINGUEZ                     76 PARC PALMAS ALTAS                                                                                                  BARCELONETA         PR         00617‐2208
   254366 JUAN R MONTA¥EZ RAMOS                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN R MONTIJO DIAZ /
   254367 MONTIJO BUS CORP                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691215 JUAN R MORALES DEL RIO                      BO AMELIA                    7 CALLE ACERINA                                                                          GUAYNABO            PR         00965
   691217 JUAN R MORALES SANCHEZ                      314 NORTH 25 ST                                                                                                       READING             PA         19606
   254368 JUAN R MORAN SILVA                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   691219 JUAN R NAVARRO HERNANDEZ                    PO BOX 176                                                                                                            HUMACAO             PR         00792
   691220 JUAN R NEGRON GAY                           PO BOX 167                                                                                                            JUNCOS              PR         00777‐0167

   691221 JUAN R NEGRON PIZARRO                       URB REPTO CONTEMPORANEO      A 16 CALLE D                                                                             SAN JUAN            PR         00926
   691222 JUAN R NEVARES                              PO BOX 78                                                                                                             TOA ALTA            PR         00954
   254369 JUAN R NUNEZ CRUZ                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254371 JUAN R NUNEZ MINAYA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691223 JUAN R OCASIO BARRETO                       HC‐ 02 BOX 5986                                                                                                       MOROVIS             PR         00687
   691224 JUAN R OJEDA OJEDA                          PO BOX 2809                                                                                                           BAYAMON             PR         00960
   254372 JUAN R OLIVO CEPEDA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691225 JUAN R OLMEDA RIVERA                        PO BOX 8010                                                                                                           HUMACAO             PR         00792
   254373 JUAN R OQUENDO VELEZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254374 JUAN R ORACA NAZARIO                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691227 JUAN R ORTEGA RIOS                          47 LOS LIRIOS, URB. RUSSE                                                                                             MOROVIS             PR         00687
   254375 JUAN R ORTEGA RIVERA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691228 JUAN R ORTIZ ATILANO                        BDA MARICUTANA BOX 36                                                                                                 HUMACAO             PR         00791
   254376 JUAN R ORTIZ BURGOS                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254377 JUAN R ORTIZ MATTA                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691230 JUAN R ORTIZ PEREZ                          LOMAS VERDE                  C 37 CALLE AMAPOLA                                                                       BAYAMON             PR         00956
   254378 JUAN R OSORIO                               REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691232 JUAN R OTERO MARTINEZ                       ALTOMONTE                    2Q 13 CALLE 19                                                                           CAGUAS              PR         00725



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  254379 JUAN R PADILLA RODRIGUEZ                     REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691233 JUAN R PADUA ALICEA                          PMB 143 PO BOX 7105                                                                                               PONCE             PR         00732
  691234 JUAN R PAGAN CARRERA                         P.O. BOX 1165                                                                                                     RIO GRANDE        PR         00745
  691235 JUAN R PAGAN FERRER                          QUINTAS DE DORADO              G 4 CALLE 4                                                                        DORADO            PR         00646
  254380 JUAN R PAGAN FONSECA                         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691236 JUAN R PAGAN MARTI                           P O BOX 1097                                                                                                      SABANA HOYOS      PR         00688
  254381 JUAN R PAGAN PENA                            REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254382 JUAN R PARRILLA ROCCA                        REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691238 JUAN R PATXOT RODRIGUEZ                      URB ALEMANY                    6 CALLE SANTA ROSA                                                                 MAYAGUEZ          PR         00680
  691239 JUAN R PEDRO                                 URB LOS TOMARINDOS             4 CALLE G 8                                                                        SAN LORENZO       PR         00754
  691240 JUAN R PEREZ AVILES                          HC 1 BOX 4709                                                                                                     LAJAS             PR         00667‐9704
  254383 JUAN R PEREZ CRUZ                            REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691241 JUAN R PEREZ CRUZADO                         URB VILLA VERDE                G 18 CALLE 10                                                                      BAYAMON           PR         00959
  691242 JUAN R PEREZ DIAZ                            VICTOR BRAGGER                 CALLEJON 14                                                                        GUAYNABO          PR         00966
  254384 JUAN R PEREZ OCANA                           REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254385 JUAN R PEREZ RIVERA                          REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691243 JUAN R PEREZ RODRIGUEZ                       PO BOX 6037                                                                                                       MAYAGUEZ          PR         00681

   254386 JUAN R PINEIRO CARRASQUILLO                 REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254387 JUAN R PLAZA CALLEJO                        REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254388 JUAN R POLANCO CEPEDA                       REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   688906 JUAN R PRADO MENDOZA                        440 N DRAKE AVE APT 1207                                                                                          CHICAGO           IL         60624
   691244 JUAN R RAIMUNDI                             REPARTO METROPOLITANO          3 CALLE B                                                                          VEGA BAJA         PR         00693
   254389 JUAN R RAMIREZ GONZALEZ                     REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254390 JUAN R RAMIREZ LOPEZ                        REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   688907 JUAN R RAMIREZ PEREZ                        URB BELLO MONTE I 11 CALLE 6                                                                                      GUAYNABO          PR         00969
   254391 JUAN R RAMOS RIVERA                         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   691245 JUAN R RAMOS SERRANO                        RR 3 BOX 9195                                                                                                     TOA ALTA          PR         00953
   254392 JUAN R RECONDO LOPEZ                        REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   254393 JUAN R REQUENA & ASOCIADOS P O BOX 191587                                                                                                                     SAN JUAN          PR         00919‐1587
   691246 JUAN R REQUENA & ASSOC       P O BOX 191587                                                                                                                   SAN JUAN          PR         00919
          JUAN R REYES NEGRON/ESC LUIS
   691247 MUNOZ RIVER                  Q 12 JESUS MARIA LAGO                                                                                                            UTUADO            PR         00641
   254394 JUAN R REYES RAMOS           REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   691248 JUAN R RIVERA CANCEL         BO VILLA HOSTO                                227 CALLE TRINITARIA                                                               TOA BAJA          PR         00949
   254396 JUAN R RIVERA COLLAZO        REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   691249 JUAN R RIVERA COLON          PO.BOX 2632                                                                                                                      JUNCOS            PR         00777
   254397 JUAN R RIVERA CORDERO        REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254399 JUAN R RIVERA ESTRADA        REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254400 JUAN R RIVERA LOMENA         REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254401 JUAN R RIVERA LOPEZ          REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   691250 JUAN R RIVERA ORTIZ          PO BOX 120                                                                                                                       TOA ALTA          PR         00953
   254402 JUAN R RIVERA RIOS           REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254403 JUAN R RIVERA SOTO           REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254404 JUAN R RIVERA TORRES         REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254405 JUAN R RIVERA VEGA           REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   691253 JUAN R RIVERA VELEZ          P.O. BOX 8769                                                                                                                    VEGA BAJA         PR         00694
   691254 JUAN R ROBLES COLON          PO BOX 113                                                                                                                       PUERTO REAL       PR         00740
   691255 JUAN R ROBLES RAMOS          RES MONTE HATILLO                             RDF 50 APTO 615                                                                    SAN JUAN          PR         00924

   254408 JUAN R RODRIGUEZ CANDELARIA REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  691256 JUAN R RODRIGUEZ CASILLA                     HC 3 BOX 12269                                                                                                 CAROLINA           PR           00985
  691257 JUAN R RODRIGUEZ DE LEON                     19 CALLE JOHN F KENNEDY                                                                                        LAS PIEDRAS        PR           00771
                                                      PO BOX 19175 FERNANDEZ
   691258 JUAN R RODRIGUEZ ILARRAZA                   JUNCOS STA                                                                                                     SAN JUAN           PR           00910

   691259 JUAN R RODRIGUEZ MERCADO                    HC 01 BOX 3319                                                                                                 ARECIBO            PR           00612
   691261 JUAN R RODRIGUEZ NIEVES                     HC 08 BOX 1737                                                                                                 PONCE              PR           00731
   254409 JUAN R RODRIGUEZ RAMOS                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   691263 JUAN R RODRIGUEZ RIVERA                     PO BOX 7126                                                                                                    PONCE              PR           00732

   254410 JUAN R RODRIGUEZ RODRIGUEZ REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   691264 JUAN R RODRIGUEZ TORRES    HC 02 BOX 6273                                                                                                                  GUAYANILLA         PR           00656

   254411 JUAN R RODRIGUEZ VALENTIN                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
          JUAN R RODRIGUEZ Y SONIA D
   254412 GONZALEZ                                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   691266 JUAN R ROJAS MOLINA                         SAINT JUST 104              CALLE BETANIA                                                                      TRUJILLO ALTO      PR           00976
   254413 JUAN R ROLON DELGADO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   691268 JUAN R ROMAN AULET                          PO BOX 40571                                                                                                   SAN JUAN           PR           00940
          JUAN R ROMAN/GARAGE SAN                     SABANA LLANA PARC HILL
   691269 ANTON                                       BROTHER                     420 CALLE 23                                                                       SAN JUAN           PR           00924
   691270 JUAN R ROSA ALVAREZ                         PO BOX 3303                                                                                                    VEGA ALTA          PR           00692
   254414 JUAN R ROSA SANTOS                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   254415 JUAN R ROSARIO                              REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   254416 JUAN R ROSARIO GONZALEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   691272 JUAN R ROSARIO LOPEZ                        FERRETERIA ROYAL PALM       IC27 AVE LOMAS VERDES                                                              BAYAMON            PR           00957
   691273 JUAN R ROSARIO PIZARRO                      65 INF STATION              P O BOX 29578                                                                      SAN JUAN           PR           00929
   691274 JUAN R ROSARIO RIVERA                       RR 1 BOX 13192                                                                                                 MANATI             PR           00674
   691276 JUAN R RUIZ RIOS                            PARCELAS LA FE 46 CALLE 1                                                                                      NAGUABO            PR           00718
   691277 JUAN R RUIZ ROSARIO                         HC 03 BOX 31575                                                                                                AGUADILLA          PR           00603
   254417 JUAN R RUIZ VALLE                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   691279 JUAN R SANCHEZ FIGUEROA                     COLINAS DE BAYOAN           301 CALLE HIGUEY                                                                   BAYAMON            PR           00957
   254419 JUAN R SANCHEZ MORALES                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   691280 JUAN R SANDOVAL RIVERA                      HC 02 BOX 48615                                                                                                VEGA BAJA          PR           00693
   254420 JUAN R SANTANA GONZALEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   691282 JUAN R SANTIAGO COLON                       P O BOX 1269                                                                                                   COAMO              PR           00769
   688908 JUAN R SANTIAGO GONZALEZ                    PO BOX 364548                                                                                                  SAN JUAN           PR           00936
   254421 JUAN R SANTIAGO GUEVARA                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
                                                      33 CALLE NEPOMUCENA
   691285 JUAN R SANTIAGO RAMOS                       SANTIAGO                                                                                                       SABANA GRANDE      PR           00637
   691286 JUAN R SANTIAGO RIVERA                      BDA AMELIA                  136 AVE PONCE DE LEON                                                              GUAYNABO           PR           00965
   691288 JUAN R SEDA                                 RR 2 BOX 7113                                                                                                  MANATI             PR           00674
   254422 JUAN R SEPULVEDA                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   254423 JUAN R SIERRA QUINONES                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   254424 JUAN R SIERRA RODRIGUEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   254426 JUAN R SOLIVAN GONZALEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   254427 JUAN R SOTO CRUZ                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   691291 JUAN R TARAZA BURGOS                        PO BOX 51655                                                                                                   TOA BAJA           PR           00950
   691292 JUAN R TIRADO VIRUET                        RR 2 BOX 8448                                                                                                  MANATI             PR           00674
   691294 JUAN R TORRES DELGADO                       P O BOX 925                 PUNTA SANTIAGO                                                                     HUMACAO            PR           00741
   254428 JUAN R TORRES GONZALEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   254429 JUAN R TORRES LOPEZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   691298 JUAN R TORRES ORTIZ                         58 CALLE ENRIQUE VAZQUEZ                                                                                       MAYAGUEZ           PR           00680



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  691299 JUAN R TORRES RAMIREZ                        VILLA PALMERA             367 CALLE ISABEL                                                                    SAN JUAN          PR           00915
  691300 JUAN R TORRES ROSADO                         URB PUEBLO NUEVO          84 CALLE CORAL                                                                      SAN GERMAN        PR           00683‐4305
         JUAN R TRICOCHE/CESAR E
  254430 TRICOCHE/ EILEEN                             REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
         JUAN R VALDES, ANTONIO
  254431 VALDES,                                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  254432 JUAN R VAZQUEZ RAMOS                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  254433 JUAN R VAZQUEZ RIVERA                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  254434 JUAN R VAZQUEZ RODRIGUEZ                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  254436 JUAN R VEGA ROLDAN                           REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  254437 JUAN R VEGA ZAYAS                            REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
         JUAN R VELAZQUEZ
  254438 CARRASQUILLO                                 REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  691304 JUAN R VELAZQUEZ ORTIZ                       JARDINES DE RIO GRANDE    BZ 498 CALLE 78                                                                     RIO GRANDE        PR           00745
  691305 JUAN R VELEZ JUSINO                          URB EL ROSARIO            69 CALLE 1                                                                          YAUCO             PR           00698
  254439 JUAN R VELEZ RODRIGUEZ                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  254440 JUAN R VELLON GOMEZ                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  691307 JUAN R VERA JIMENEZ                          MINILLAS STATION          P O BOX 41269                                                                       SAN JUAN          PR           00940‐1269
  254441 JUAN R VICENTE BARBOSA                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  254442 JUAN R VICENTE FLORES                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  254443 JUAN R VIDAL GAMBARO                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  691308 JUAN R VILARO                                16 TERRAZAS DE TINTILLO                                                                                       GUAYNABO          PR           00966

   691309 JUAN R VILLANUEVA CORDERO                   PO BOX 752                                                                                                    ISABELA           PR           00662
   691310 JUAN R ZALDUONDO VIERA                      420 AVE PONCE DE LEON     OFICINA 101                                                                         SAN JUAN          PR           00918‐3401
   691311 JUAN R ZAMALOT MUNIZ                        P O BOX 352                                                                                                   QUEBRADILLAS      PR           00678
   254444 JUAN R ZAYAS OTERO                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   691312 JUAN R. CHEVERE COLON                       PO BOX 1693                                                                                                   COROZAL           PR           00783
   254445 JUAN R. DE LA PAZ MELENDEZ                  REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   691314 JUAN R. DE LEON                             BO CUPEY ALTO             RR 6 BOX 10728                                                                      SAN JUAN          PR           00926
   254446 JUAN R. HUERTAS MARTINEZ                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   691316 JUAN R. ITURREGUI PAGAN                     P O BOX 1778                                                                                                  MAYAGUEZ          PR           00681
   254447 JUAN R. LEBRON SANCHEZ                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   254448 JUAN R. MARIN SANTOS                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   254450 JUAN R. MARTINEZ MALDONADO REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   691318 JUAN R. MIRANDA DIAZ         MARGINAL FLAMBOYAN 16‐B                  OFICINA 2                                                                           MANATI            PR           00674
   691319 JUAN R. MOLINA ROSARIO       JDNSDE SELLES                            APARTAMENTO 902 EDIF 9                                                              SAN JUAN          PR           00924
   691320 JUAN R. MONTIJO DIAZ         HC 05 BOX 55600                                                                                                              HATILLO           PR           00659
   254451 JUAN R. OCASIO SANTA         REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   254452 JUAN R. PAGAN FERRER         REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   691321 JUAN R. PENA CASTRO          VILLA VALENCIA D‐21 CALLE 5                                                                                                  SAN JUAN          PR           00921
   691322 JUAN R. RAMOS MEDINA         HC 3 BOX 38128                                                                                                               CAGUAS            PR           00725
          JUAN R. REYES VIDAL Y CELINA
   691323 GONZALEZ                     MSC‐191                                  HC‐01 BOX 29030                                                                     CAGUAS            PR           00725‐8900
   254456 JUAN R. RIVERA FONT          REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   691324 JUAN R. RIVERA GALARZA       P O BOX 21365                                                                                                                SAN JUAN          PR           00926‐1365
   254458 Juan R. Sanchez Ayuso        REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   691325 JUAN R. SEGARRA              65TH INFANTERIA 42 SUR                                                                                                       LAJAS             PR           00667
   254459 JUAN R. TORRES               REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   691327 JUAN R. VELEZ OSORIO         HP ‐ POSADA DIURNA                                                                                                           RIO PIEDRAS       PR           009360000
   691328 JUAN R.BURGOS NIEVES         HC‐2 BOX 4279                                                                                                                LAS PIEDRAS       PR           00771‐9611




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          JUAN RAFAEL RODRIGUEZ
   691330 VALLES                                      HC 01 BOX 3032                                                                                                 ARROYO              PR           00714
   254460 JUAN RAMIREZ ALERS                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   691331 JUAN RAMIREZ ALVAREZ                        HC 1 BOX 5265                                                                                                  HATILLO             PR           00659
   691332 JUAN RAMIREZ CORTES                         HC 59 BOX 5956                                                                                                 AGUADA              PR           00602
   254461 JUAN RAMIREZ PASTOR                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   254462 JUAN RAMIREZ RIVERA                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   691333 JUAN RAMIREZ SILVA                          P O BOX 1863                                                                                                   ARECIBO             PR           00613
   691336 JUAN RAMON ADORNO                           MANSIONES DE RIO PIEDRAS   436 CALLE MADRESELVA                                                                SAN JUAN            PR           00926

   254463 JUAN RAMON ALICEA ROLDAN                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   691337 JUAN RAMON ARIAS                            1479 AVE ASHFORD APT 502                                                                                       SAN JUAN            PR           00907
   691338 JUAN RAMON ARROYO COTTS                     HC 01 BOX 3759                                                                                                 LARES               PR           00669
   691339 JUAN RAMON CRUZ ALAMO                       BOX 533                                                                                                        CIDRA               PR           00739

   691340 JUAN RAMON DE JESUS LEBRON HC 03 BOX 40668                                                                                                                 CAGUAS              PR           00725‐9737
          JUAN RAMON FIGUEROA
   254464 LAUREANO                   REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   691341 JUAN RAMON GONZALEZ        P.O BOX 1040                                                                                                                    PONCE               PR           00731
                                                                                 21504 SECTOR VILLAS DE
   691342 JUAN RAMON GONZALEZ RAMOS BO GUAVATE                                   GUAVATE                                                                             CAYEY               PR           00736

   254465 JUAN RAMON GONZALEZ SOTO                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   691343 JUAN RAMON GORGAS ROSADO CAMPO ALEGRE                                  H 24 CALLE CEREZA                                                                   BAYAMON             PR           00956‐4447
          JUAN RAMON HERNANDEZ
   691344 ACOSTA                   PO BOX 1024                                                                                                                       LAJAS               PR           00667
   254466 JUAN RAMON JIMENEZ VELEZ REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   691345 JUAN RAMON LOPEZ CASELLAS                   VILLA CAROLINA             234 16 CALLE 614                                                                    CAROLINA            PR           00985

   691346 JUAN RAMON LOPEZ SANCHEZ                    HC 01 BOX 6829                                                                                                 LOIZA               PR           00772
   254467 JUAN RAMON NEGRON VEGA                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   254468 JUAN RAMON NEVAREZ MOJICA REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   691349 JUAN RAMON ORTALAZA RIVERA HC 2 BOX 8430                                                                                                                   CIALES              PR           00638
          JUAN RAMON ORTIZ
   691350 CONSTRUCTION               URB VILLA UNIVERCITARIA                     Q12 CALLE 20                                                                        HUMACAO             PR           00791

   691351 JUAN RAMON RIVAS CONTRERAS MONTEHIEDRA                                 259 CALLE REINA MORA                                                                SAN JUAN            PR           00926
   691352 JUAN RAMON RODRIGUEZ       8 CALLE BARCELO                                                                                                                 CIDRA               PR           00739
          JUAN RAMON RODRIGUEZ
   691353 SANTIAGO                   COND RIVER PARK                             APT 1 10                                                                            BAYAMON             PR           00959
   254469 JUAN RAMON SOTO PILLOT     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   254470 JUAN RAMON TORRES RIVERA   REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   254472 JUAN RAMON VEGA RODRIGUEZ                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JUAN RAMON VELAZQUEZ
   254473 GARCIA                                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   691354 JUAN RAMON VIDAL BURGOS                     PO BOX 3094                                                                                                    JUNCOS              PR           00777
   254474 JUAN RAMOS                                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   691356 JUAN RAMOS APONTE                           URB TERRANOVA              J8 CALLE LILA                                                                       GUAYNABO            PR           00969



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  691357 JUAN RAMOS APONTE                            HC 20 BOX 28068                                                                                                      SAN LORENZO        PR         00754‐9623
  254475 JUAN RAMOS BETANCOURT                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691358 JUAN RAMOS CALDERON                          BO MEDIANIA BAJA            APT 523                                                                                  LOIZA              PR         00772
  691359 JUAN RAMOS CAMACHO                           HC‐37 BOX 5621                                                                                                       GUANICA            PR         00653‐9705
  254476 JUAN RAMOS CANSECO                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  254478 JUAN RAMOS CRESPO                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691363 JUAN RAMOS FRANQUI                           PO BOX 404                                                                                                           CAMUY              PR         00627‐0404
  254480 JUAN RAMOS GARCIA                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691364 JUAN RAMOS GOMEZ                             PO BOX 1198                                                                                                          LAS PIEDRAS        PR         00771
  254481 JUAN RAMOS HERNANDEZ                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      120 AVE LOS FILTROS SUITE
   691366 JUAN RAMOS JIMENEZ                          11108                                                                                                                BAYAMON            PR         00959
   254482 JUAN RAMOS LOPEZ                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   688909 JUAN RAMOS LOPEZ                            ISLA VERDE TOWER            SUITE 5 B                                                                                CAROLINA           PR         00979
   691367 JUAN RAMOS MELENDEZ                         HC 3 BOX 9988                                                                                                        YABUCOA            PR         00767
   254483 JUAN RAMOS ORTIZ                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   691368 JUAN RAMOS RAMOS                            RR 2 BOX 7510                                                                                                        TOA ALTA           PR         00953
   254484 JUAN RAMOS RODRIGUEZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   254485 JUAN RAMOS TEXIDOR                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   254486 JUAN RAMOS TORRES                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   691371 JUAN REGUERO MENDEZ                         BO BORINGUEN                13 REPTO RAMOS                                                                           AGUADILLA          PR         00603
   254487 JUAN RENE SEPULVEDA ORTIZ                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   254488 JUAN RENTA CRUZ                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   254489 JUAN RENTA DEFILLO                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   254490 JUAN REPOLLET RIVERA                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   254492 JUAN REVERON VARGAS                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   254493 JUAN REXACH URDAZ                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          JUAN REY FIGUEROA/ SOFTBALL
   691372 LOS REY MANA                                URB MONACO II               46 CALLE HOLANDA                                                                         MANATI             PR         00674
   254494 JUAN REYES CARABALLO                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   254495 JUAN REYES CHICO                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   691373 JUAN REYES CRUZ                             COMUNIDAD LOS LLANOS        77 SOLAR                                                                                 COAMO              PR         00769
   254496 JUAN REYES DIAZ                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   254497 JUAN REYES FELIX                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   254498 JUAN REYES FONTANEZ                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   691375 JUAN REYES MACHUCA                          BOX G 2C RUTA ESTRELLA 1                                                                                             GUAYNABO           PR         00971
  1256614 JUAN REYES MORENO                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   688910 JUAN REYES NIEVES                           PO BOX 623                                                                                                           COMERIO            PR         00782

   691378 JUAN REYES ORTIZ                            URB VISTA DE JAGUEYES       APT 2 ‐ 128 CALLE MARGARITA                                                              AGUAS BUENAS       PR         00703
   254501 JUAN REYES PEREZ                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
                                                      P O BOX 4016 BAYAMON GDNS
   691380 JUAN REYES RODRIGUEZ                        STA                                                                                                                  BAYAMON            PR         00958
          JUAN REYNALDO JAIME
   254502 RODRIGUEZ                                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          JUAN RIESTRA / PROJECT
   691381 ENGINEERING S P                             PO BOX 2064                                                                                                          BARCELONETA        PR         00617
   254503 JUAN RIJOS MORALES                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   691382 JUAN RIOS                                   URB VILLAS DEL REY          CALLE ORLEANS 2 DA SECCION                                                               CAGUAS             PR         00725
   691384 JUAN RIOS APONTE                            PO BOX 21365                                                                                                         SAN JUAN           PR         00928
   691385 JUAN RIOS CESTERO                           HC 67 BOX 15516                                                                                                      BAYAMON            PR         00956
   691387 JUAN RIOS FELICIANO                         3560W LYNDALE ST.,                                                                                                   CHICAGO            IL         60647



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  691388 JUAN RIOS LUGO                               URB LOMA ALTA               E 3 CALLE 1                                                                       CAROLINA           PR         00983
  691389 JUAN RIOS MARTINEZ                           BO PUERTO NUEVO             21 CALLE 9                                                                        VEGA BAJA          PR         00693
  254509 JUAN RIOS MATOS                              REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  254510 JUAN RÍOS RÍOS                               REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691390 JUAN RIOS RIVERA                             PO BOX 443                                                                                                    AGUADA             PR         00602‐0443
  254511 JUAN RIOS SOTO                               REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691392 JUAN RIVAS BAEZ                              HC 30 BOX 30408                                                                                               SAN LORENZO        PR         00754
  691393 JUAN RIVAS LEON                              HC 4 BOX 15162                                                                                                SAN SEBASTIAN      PR         00685
  254512 JUAN RIVAS REMIGIO                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  254513 JUAN RIVAS RIVERA                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  254514 JUAN RIVERA                                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         JUAN RIVERA / ASOC COL MUS
  691400 DEL AYER                                     URB TT ESTEVES              115 B ALMENDRO                                                                    AGUADILLA          PR         00605

   691401 JUAN RIVERA ALICEA                          1 CALLE GERONIMO MARTINEZ                                                                                     AIBONITO           PR         00705
   691402 JUAN RIVERA ALVARADO                        P O BOX 166                                                                                                   CIDRA              PR         00739
   691403 JUAN RIVERA ARROYO                          HC 01 BOX 4448                                                                                                JUANA DIAZ         PR         00795
   691404 JUAN RIVERA ASIA                            PO BOX 7428                                                                                                   SAN JUAN           PR         00916‐7428
   691405 JUAN RIVERA BARRETO                         HC‐866 BUZON 5812                                                                                             FAJARDO            PR         00738
   691407 JUAN RIVERA BURGOS                          CAMINO DEL MAR              7046 VIA PLAYERA                                                                  TOA BAJA           PR         00949
   691409 JUAN RIVERA CABRERA                         URB COUNTRY CLUB            M‐O 32 CALLE 424                                                                  CAROLINA           PR         00982
   254515 JUAN RIVERA CAMACHO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   691410 JUAN RIVERA CANCEL                          URB FOREST HLS              E‐8 CALLE 21                                                                      BAYAMON            PR         00959
   254516 JUAN RIVERA CASTRO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   691411 JUAN RIVERA CIURO                           ALTURAS DE RIO GRANDE       D 166 CALLE 4                                                                     RIO GRANDE         PR         00745
   691412 JUAN RIVERA COLON                           HC 73 BOX 5423                                                                                                NARANJITO          PR         00719
   691414 JUAN RIVERA CONTRERAS                       HC 02 BOX 13891                                                                                               AGUAS BUENAS       PR         00703
   691415 JUAN RIVERA CORDERO                         PO BOX 386                                                                                                    CANOVANAS          PR         00729
   691417 JUAN RIVERA DIAZ C/O                        PO BOX 362708                                                                                                 SAN JUAN           PR         00936
   691418 JUAN RIVERA ESCALERA                        PO BOX 1196                                                                                                   COAMO              PR         00769
   254517 JUAN RIVERA GARCIA                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   691419 JUAN RIVERA GOMEZ                           URB CIUDAD JARDIN           385 CALLE JACINTO                                                                 CAROLINA           PR         00985
   691420 JUAN RIVERA GONZALEZ                        URB VALLE VERDE III         D L5 CALLE PLANICE                                                                BAYAMON            PR         00961
   254518 JUAN RIVERA GUIO                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254519 JUAN RIVERA HERNANDEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254520 JUAN RIVERA HIDALGO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254521 JUAN RIVERA LOPEZ                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   691422 JUAN RIVERA MALDONADO                       RES DR PILA                 EDIF 24 APT 373                                                                   PONCE              PR         00730
   691424 JUAN RIVERA MARTINEZ                        VILLA BLANCA                7 CALLE DIAMANTE                                                                  CAGUAS             PR         00725
   254522 JUAN RIVERA MELENDEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254524 JUAN RIVERA MERCED                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   691428 JUAN RIVERA MILLAN                          HC 02 BOX 6368                                                                                                ADJUNTAS           PR         00601
   691429 JUAN RIVERA MIRANDA                         PO BOX 7126                                                                                                   PONCE              PR         00732
   691430 JUAN RIVERA MORALES                         PO BOX 57                                                                                                     BAJADERO           PR         00616
   691431 JUAN RIVERA NAVARRO                         RES MONTE HATILLO           EDIF 16 APTO 199                                                                  SAN JUAN           PR         00924
   691432 JUAN RIVERA NAZARIO                         SANTA JUANITA               DT 34 CALLE MARCELLA                                                              BAYAMON            PR         00956
   254525 JUAN RIVERA NEGRON                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   691398 JUAN RIVERA OCASIO                          URB BELLA VISTA             G 8 CALLE HERA                                                                    BAYAMON            PR         00957
   254526 JUAN RIVERA ORTIZ                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   691436 JUAN RIVERA PACHECO                         HC 71 BOX 2765                                                                                                NARANJITO          PR         00719‐9709
   254527 JUAN RIVERA PAGAN                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254529 JUAN RIVERA PEREZ                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254530 JUAN RIVERA RAMOS                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  691440 JUAN RIVERA REYES                            URB REGIONAL                 G8 CALLE 8                                                                          ARECIBO            PR         00612‐3418
  691441 JUAN RIVERA RIVERA                           HC 1 BOX 2400                                                                                                    MOROVIS            PR         00687
  691445 JUAN RIVERA RODRIGUEZ                        PO BOX 7109                                                                                                      CAGUAS             PR         00726‐7109
  691449 JUAN RIVERA ROJAS                            URB BUCARE II                21 CALLE TULEY                                                                      GUAYNABO           PR         00970
  691451 JUAN RIVERA ROSARIO                          CIUDAD MASSO                 L 13 CALLE 15                                                                       SAN LORENZO        PR         00754
  691452 JUAN RIVERA RUIZ                             BO SANTA BOX 860                                                                                                 ARECIBO            PR         00612
  691454 JUAN RIVERA SANTIAGO                         SICOSOCIAL CAYEY                                                                                                 Hato Rey           PR         009360000
  254531 JUAN RIVERA TORRES                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  254532 JUAN RIVERA VAZQUEZ                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691457 JUAN RIVERA VERDEZ                           RES PEDRO DESCARTE           EDIF 16 APT 107                                                                     SANTA ISABEL       PR         00757
  254540 JUAN RIVERA/ IDA V NEGRON                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         JUAN ROBERTO MELENDEZ
  691458 COLON                                        HC 01 BOX 2240                                                                                                   MAUNABO            PR         00707
  691459 JUAN ROBINSON RIVERA                         URB SAN JOSE                 B 22 CALLE 3                                                                        PATILLAS           PR         00723
  254541 JUAN ROBLES CORA                             REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691460 JUAN ROBLES GERENA                           MARINA STATION               PO BOX 6702                                                                         MAYAGUEZ           PR         00681
  691461 JUAN ROBLES LASANTA                          PO BOX 67                                                                                                        MOROVIS            PR         00687
  691462 JUAN ROBLES MORALES                          HC 01 BOX 3286                                                                                                   COROZAL            PR         00683
  691463 JUAN ROBLES PELLICCIA                        PO BOX 7791                                                                                                      PONCE              PR         00732
  691465 JUAN ROBLES RIVERA                           URB LEVITTOWN                DA 27 LAGO GUAJATACA                                                                TOA BAJA           PR         00950
  254542 JUAN ROBLES VELAZQUEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      735 CALLE FRANCISCO GARCIA
   688911 JUAN RODRIGUEZ                              FARIA                                                                                                            DORADO             PR         00646
   254543 JUAN RODRIGUEZ ALVAREZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254544 JUAN RODRIGUEZ BENITEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   691468 JUAN RODRIGUEZ CANDELARIA                   PO BOX 1937                                                                                                      BARCELONETA        PR         00617
   691470 JUAN RODRIGUEZ CASTILLO                     606 CARR EL GUAYO                                                                                                MAYAGUEZ           PR         00680
   254545 JUAN RODRIGUEZ CLAUDIO                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254546 JUAN RODRIGUEZ COLON                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JUAN RODRIGUEZ D\B\A SAN
   691473 JUAN COPY SERV                              P O BOX 9828                                                                                                     SAN JUAN           PR         00908‐0828
   691475 JUAN RODRIGUEZ DAVILA                       URB RIO GRANDE ESTATES       Q 7 CALLE 19                                                                        RIO GRANDE         PR         00745
   691476 JUAN RODRIGUEZ DEL VALLE                    SANTURCE MEDICAL MALL        1801 AVE PONCE DE LEON                                                              SAN JUAN           PR         00909
   254547 JUAN RODRIGUEZ DIAZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   691478 JUAN RODRIGUEZ ECHEVARRIA                   HC 52 BOX 13567                                                                                                  AGUADA             PR         00602
   254548 JUAN RODRIGUEZ ESCALERA                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254549 JUAN RODRIGUEZ GERENA                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254550 JUAN RODRIGUEZ MORALES                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254551 JUAN RODRIGUEZ ORTIZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   691480 JUAN RODRIGUEZ OTERO                        VILLA MARINA                 E16 CALLE 3 SUR                                                                     CAROLINA           PR         00979
   254552 JUAN RODRIGUEZ PAGAN                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   691481 JUAN RODRIGUEZ PEREZ                        HC 2 BOX 8029‐1                                                                                                  CAMUY              PR         00627
   254553 JUAN RODRIGUEZ PLAZA                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   691484 JUAN RODRIGUEZ REY                          3 CANTERA SUITE 3                                                                                                MANATI             PR         00674
   254554 JUAN RODRIGUEZ REYES                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254555 JUAN RODRIGUEZ RIVERA                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   691486 JUAN RODRIGUEZ SANTIAGO                     URB SANTA JUANITA            C23 CALLE CAMBODIA                                                                  BAYAMON            PR         00956
   691488 JUAN RODRIGUEZ TORANZO                      14 OESTE MENDEZ VIGO                                                                                             MAYAGUEZ           PR         00680
   254556 JUAN RODRIGUEZ TORO                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254557 JUAN RODRIGUEZ VAZQUEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254558 JUAN RODRIGUEZ VEGA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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   691493 JUAN RODRIGUEZ VELAZQUEZ                    58 SAN JOSE                                                                                                  CIDRA           PR       00739
   691495 JUAN RODRIQUEZ PUMAREJO                     A CHAVIER BLQ             33 APT 289                                                                         PONCE           PR       00731
   691496 JUAN ROJAS LA SANTA                         PO BOX 400                                                                                                   COROZAL         PR       00783
   691497 JUAN ROJAS MORALES                          P O BOX 646                                                                                                  OROCOVIS        PR       00720
   691498 JUAN ROJAS TORRES                           BDA JUAN DOMINGO          22 CALLE LAS MARIAS                                                                GUAYNABO        PR       00966
   254559 JUAN ROLDAN                                 REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED        REDACTED REDACTED        REDACTED
   254560 JUAN ROLDAN TORRES                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED        REDACTED REDACTED        REDACTED
   254561 JUAN ROLON ROLON                            REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED        REDACTED REDACTED        REDACTED
   254562 JUAN ROLON SANTIAGO                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED        REDACTED REDACTED        REDACTED
   691502 JUAN ROMAN                                  PO BOX 430                                                                                                   AGUADILLA       PR       00605
   691503 JUAN ROMAN ARROYO                           BDA ISRAEL                118 CALLE FRANCIA                                                                  SAN JUAN        PR       00917
   691505 JUAN ROMAN CLAUDIO                          HC‐03 BOX 37631                                                                                              CAGUAS          PR       00725‐9716
   254563 JUAN ROMAN LOPEZ                            REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED        REDACTED REDACTED        REDACTED
   691508 JUAN ROMAN MARTINEZ                         PO BOX 70166                                                                                                 SAN JUAN        PR       00936‐8166
   691509 JUAN ROMAN RIVERA                           HC 1 BOX 3336                                                                                                VILLALBA        PR       00766
   691510 JUAN ROMAN RUIZ                             BO OBRERO                 767 CALLE 13                                                                       SAN JUAN        PR       00918
   254564 JUAN ROMAN VALENTIN                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED        REDACTED REDACTED        REDACTED
   691512 JUAN ROQUE RAMOS                            PO BOX 8622                                                                                                  CAGUAS          PR       00726
   254565 JUAN ROQUE, LILLIAM                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED        REDACTED REDACTED        REDACTED
   254567 JUAN ROSA CRUZ                              REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED        REDACTED REDACTED        REDACTED
   254568 JUAN ROSA MARCANO                           REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED        REDACTED REDACTED        REDACTED
   691514 JUAN ROSA MATTA                             BO FLORENCIO              HC 866 BOX 9741                                                                    FAJARDO         PR       00738
   691515 JUAN ROSA RIVERA                            RR 2 BOX 6897                                                                                                CIDRA           PR       00739
   254569 JUAN ROSADO FELICIANO                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED        REDACTED REDACTED        REDACTED
   691516 JUAN ROSADO FUENTES                         EXT VILLA LOS SANTOS II   E 16 BOX 300                                                                       ARECIBO         PR       00612
   691517 JUAN ROSADO GIOL                            PO BOX 11522                                                                                                 SAN JUAN        PR       00910
   254570 JUAN ROSADO GONZALEZ                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED        REDACTED REDACTED        REDACTED
   691520 JUAN ROSADO ORTIZ                           URB VILLA DEL MONTE       99 CALLE MONTE BLANCO                                                              TOA ALTA        PR       00953
   254571 JUAN ROSADO RIVERA                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED        REDACTED REDACTED        REDACTED
   254573 JUAN ROSADO ROJAS                           REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED        REDACTED REDACTED        REDACTED
   691521 JUAN ROSADO SANTIAGO                        C/O SARA REYES            DEPTO. VIVIENDA         PO BOX 21365                                               SAN JUAN        PR       00928‐1365
   254574 JUAN ROSADO SOTO                            REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED        REDACTED REDACTED        REDACTED
   691524 JUAN ROSARIO ALVARADO                       RR 02 BOX 757                                                                                                SAN JUAN        PR       00926
   691525 JUAN ROSARIO AROCHO                         URB VISTA VERDE           468 CALLE 11                                                                       AGUADILLA       PR       00603
   254575 JUAN ROSARIO CRUZ                           REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED        REDACTED REDACTED        REDACTED
   691528 JUAN ROSARIO DANZA                          BO OBRERO                 521 CALLE WILLIAM                                                                  SAN JUAN        PR       00915
   254577 JUAN ROSARIO PEREZ                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED        REDACTED REDACTED        REDACTED
   691530 JUAN ROSARIO QUILES                         BOX 1236                                                                                                     ISABELA         PR       00662
   691531 JUAN ROSARIO REYES                          P O BOX 1376                                                                                                 MANATI          PR       00674
   254578 JUAN ROSARIO ROSARIO                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED        REDACTED REDACTED        REDACTED
   691532 JUAN ROSARIO TORRES                         VILLA DE LOIZA            QQ 47 CALLE 19                                                                     CANOVANAS       PR       00729
   691533 JUAN ROSARIO VALLE                          URB TERESITA              AX 1 C/ 47                                                                         BAYAMON         PR       00961‐8360
          JUAN ROSARIO VELEZ/ PALO
   691534 ALTO DE MANATI                              URB MONACO                3 CALLE PRINCIPE 607                                                               MANATI          PR         00674
   691536 JUAN RUEDA CORTIJO                          URB CARIBE                1598 CALLE CAVALIERI                                                               SAN JUAN        PR         00927
   691537 JUAN RUIZ                                   EDIF EMMANUEL             153 HERACLIO RAMOS                                                                 ARECIBOS        PR         00612
   691538 JUAN RUIZ CARDONA                           URB RIO CRISTAL           I 20 CALLE 8                                                                       MAYAGUEZ        PR         00680
   691539 JUAN RUIZ CRUZ                              PO BOX 1369                                                                                                  ARECIBO         PR         00613
   691541 JUAN RUIZ DOMINGO                           HC‐1 BOX 8532                                                                                                GURABO          PR         00778
   691542 JUAN RUIZ GALARZA                           PO BOX 86                                                                                                    LARES           PR         00669
   254579 JUAN RUIZ RODRIGUEZ                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED        REDACTED   REDACTED      REDACTED
   254581 JUAN RUIZ SOTO                              REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED        REDACTED   REDACTED      REDACTED



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MML ID                NAME                                      ADDRESS 1                  ADDRESS 2                 ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  691543 JUAN RUIZ VEGA                               URB BELLA VISTA            P 58 CALLE 18                                                                       BAYAMON           PR         00957
  691546 JUAN S IRIZARRY MEDINA                       HC 02 BOX 6250                                                                                                 ADJUNTAS          PR         00601
  254583 JUAN S LOPEZ RODRIGUEZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691547 JUAN S MARIN SANTIAGO                        URB CAPARRA TERRACE        1182 CALLE 30 SE                                                                    SAN JUAN          PR         00921
  691548 JUAN S MATIENZO LEON                         1103 CALLE RIBOT APT 1 A                                                                                       SAN JUAN          PR         00907
  254584 JUAN S MOLINA MERCADO                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254585 JUAN S NEVAREZ GARCIA                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691549 JUAN S ORTIZ FIGUEROA                        VILLA CAROLINA             230‐7 CALLE 609                                                                     CAROLINA          PR         00985
  691550 JUAN S PAGAN MELENDEZ                        PO BOX 9953                                                                                                    SAN JUAN          PR         00908‐0953
  254586 JUAN S RIOS MUNOZ                            REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691551 JUAN S ROBLES CARDONA                        PO BOX 609                                                                                                     SAN SEBASTIAN     PR         00685

   254587 JUAN S RODRIGUEZ RODRIGUEZ                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   691552 JUAN S SANTIAGO SANTIAGO                    2078 VIRGIL PL                                                                                                 BRONX             NY         10473
   691553 JUAN SAEZ COLON                             BO SANTA OLAYA             BOX 1174                                                                            BAYAMON           PR         00956
   691554 JUAN SAEZ FIGUEROA                          VILLA MARINA               17 NORTE CALLE 5                                                                    CAROLINA          PR         00982
   691555 JUAN SALAS TORRES                           358 CALLE JESUS R RAMOS                                                                                        MOCA              PR         00676
   254588 JUAN SALCEDO RUIZ                           REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   691557 JUAN SALICRUP CORREA                        P O BOX 1997                                                                                                   ISABELA           PR         00662‐1997
   254589 JUAN SAMALOT FRAGUADA                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   691558 JUAN SAMO TORRES                            PO BOX 3328                                                                                                    VEG ALTA          PR         00692

   691559 JUAN SAMUEL I BONILLA PEREZ                 URB. VILLA GRANADA         492 CALLE TERUEL                                                                    SAN JUAN          PR         00923

   254590 JUAN SAMUEL I. BONILLA PEREZ                REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   691560 JUAN SANABRIA CERPA                         111 CALLE FONT MARTELO                                                                                         HUMACAO           PR         00791
   691561 JUAN SANABRIA DE JESUS                      16 LOCHNER PL                                                                                                  ROCHESTER         NY         14605
   254592 JUAN SANCHEZ                                REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254593 JUAN SANCHEZ ACEVEDO                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   691564 JUAN SANCHEZ CRESPO                         PO BOX 1006                                                                                                    RINCON            PR         00677
   691565 JUAN SANCHEZ DELGADO                        P O BOX 60075                                                                                                  BAYAMON           PR         00960
   691566 JUAN SANCHEZ JIMENEZ                        HC 1 BOX 5427                                                                                                  CAMUY             PR         00627
   691567 JUAN SANCHEZ QUINONEZ                       URB SANTA ELVIRA           I21 CALLE SANTA ISABEL                                                              CAGUAS            PR         00725
   254596 JUAN SANTANA FLORES                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   691569 JUAN SANTANA MARQUEZ                        HC 3 BOX 10408                                                                                                 COMERIO           PR         00782
   691570 JUAN SANTANA MELECIO                        HC 83 BOX 6187                                                                                                 VEGA ALTA         PR         00692
   254597 JUAN SANTANA ORTIZ                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   691571 JUAN SANTANA REYES                          URB CAPARRA TERRACE        1250 CALLE 4 SE                                                                     SAN JUAN          PR         00921
   691573 JUAN SANTANA RODRIGUEZ                      HC‐01 BOX 5570                                                                                                 HORMIGUEROS       PR         00660
   254598 JUAN SANTANA TORRES                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254599 JUAN SANTIAGO                               REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254600 JUAN SANTIAGO BOBE                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254603 JUAN SANTIAGO CRUZ                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   691575 JUAN SANTIAGO FIGUEROA                      BO MONTE BELLO             210 PARCELAS NUEVAS                                                                 MANATI            PR         00638
   691577 JUAN SANTIAGO HERNANDEZ                     LAS LOMAS                  858 CALLE 37 SO                                                                     SAN JUAN          PR         00921
   691578 JUAN SANTIAGO LAMBOX                        URB. JESUS M. LAGO H‐10                                                                                        UTUADO            PR         00641
   691579 JUAN SANTIAGO MERCADO                       HC 2 BOX 11720                                                                                                 SAN GERMAN        PR         00683
   691581 JUAN SANTIAGO MOLINA                        BO SANTANA PARCELA PEREZ   19 CALLE C                                                                          ARECIBO           PR         00612
   691582 JUAN SANTIAGO MONTERO                       BO MANACILLO               CARR 21 KM 4 6                                                                      SAN JUAN          PR         00916
   254604 JUAN SANTIAGO OQUENDO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254605 JUAN SANTIAGO PEREZ                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254606 JUAN SANTIAGO RAMIREZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   691584 JUAN SANTIAGO RIVERA                        PO BOX 21365                                                                                                   SAN JUAN          PR         00928



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  254607 JUAN SANTIAGO RODRIGUEZ                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254608 JUAN SANTIAGO SANCHEZ                        REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254609 JUAN SANTIAGO SEDA                           REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254610 JUAN SANTIAGO SOTO                           REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254611 JUAN SANTIAGO TORRES                         REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254612 JUAN SANTIAGO VARGAS                         REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254613 JUAN SANTIAGO VAZQUEZ                        REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254614 JUAN SANTIAGO ZAYAS                          REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254615 JUAN SANTILLANA MONTILLA                     REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254617 JUAN SANTOS CRESPO                           REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254618 JUAN SANTOS DIAZ                             REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691585 JUAN SANTOS FELIX                            PO BOX 673                                                                                                    CAYEY             PR         00737
  254619 JUAN SANTOS FLORES                           REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691586 JUAN SANTOS GONZALEZ                         VILLA RICA              A O 22 CALLE EVANS                                                                    BAYAMON           PR         00959
  254620 JUAN SANTOS MARTINEZ                         REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254621 JUAN SANTOS ORTIZ                            REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691587 JUAN SANTOS RIVERA                           BOX 2217                                                                                                      CAYEY             PR         00737
  691588 JUAN SANTOS ROSARIO                          4202 PASEO EL VERDE                                                                                           CAGUAS            PR         00725‐6372
  691589 JUAN SEGARRA                                 URB MARGARITA           D 6 CALLE 6                                                                           CABO ROJO         PR         00623
  254624 JUAN SEGARRA VELEZ                           REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254625 JUAN SEGURA PINALES                          REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691590 JUAN SEMPRIT RIVERA                          RES VIRGILIO DAVILA     1550 CARR 2 APT 374                                                                   BAYAMON           PR         00961
  691591 JUAN SEPULVEDA GONZALEZ                      PO BOX 139                                                                                                    MARICAO           PR         00606
  691592 JUAN SEPULVEDA MERCADO                       URB JARDINES DE LARES   B 14 CALLE 2                                                                          LARES             PR         00669
  254626 JUAN SERRANO                                 REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691593 JUAN SERRANO AYALA                           ADM SERV GENERALES      P O BOX 7428                                                                          SAN JUAN          PR         00916‐7428
  254627 JUAN SERRANO BEAUCHAMP                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254628 JUAN SERRANO DE JESUS                        REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254629 JUAN SERRANO ESPINOSA                        REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254631 JUAN SERRANO GONZALEZ                        REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254632 JUAN SERRANO MATA                            REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254633 JUAN SERRANO NIEVES                          REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254634 JUAN SERRANO OSORIO                          REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691595 JUAN SERRANO QUEZADA                         RR 1 P O BOX 6669       PUERTO DE JOBOS                                                                       GUAYAMA           PR         00784
  691597 JUAN SERRANO SERRANO                         PO BOX 3162                                                                                                   ARECIBO           PR         00613
  254635 JUAN SERRANO TORRES                          REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691599 JUAN SEVILLAS GONZALEZ                       PO BOX 239                                                                                                    RIO BLANCO        PR         00744
  254636 JUAN SIBERIO GALARZA                         REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691600 JUAN SICARDO RODRIGUEZ                       URB PUERTO NUEVO        1132 AVE FD ROOSEVELT                                                                 SAN JUAN          PR         00920
  254637 JUAN SIERRA RODRIGUEZ                        REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254638 JUAN SIFUENTES LOPEZ                         REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254639 JUAN SIFUENTES VILLAFANE                     REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691601 JUAN SILVA                                   HC 01 BOX 1544                                                                                                BOQUERON          PR         00622
  691603 JUAN SKERRETT CARMONA                        VILLA MARINA 01         CALLE 7                                                                               CAROLINA          PR         00979
  691604 JUAN SOLER                                   PO BOX 21365                                                                                                  SAN JUAN          PR         00928
  254640 JUAN SOLER TORRES                            REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691605 JUAN SOLIS CINTRON                           HC 01 BOX 4993                                                                                                YABUCOA           PR         00767
  254641 JUAN SOSA CABAN                              REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691607 JUAN SOSTRE VALENTIN                         PO BOX 2661                                                                                                   ARECIBO           PR         00613
  254642 JUAN SOTO                                    REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  688912 JUAN SOTO ARCINO                             PO BOX PMB 240          CALLE TABONUCO SUITE A 9                                                              GUAYNABO          PR         00968
  254643 JUAN SOTO CARCANAS                           REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254644 JUAN SOTO LOPEZ                              REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  254645 JUAN SOTO LORENZO                            REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED     REDACTED
  691608 JUAN SOTO MILETI                             HC 1 BOX 3366                                                                                              ADJUNTAS            PR       00601
  691610 JUAN SOTO RIVERA                             HC 4 BOX 14122                                                                                             MOCA                PR       00676
  254646 JUAN SOTO SANCHEZ                            REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED     REDACTED
  254647 JUAN SOTO SILVA                              REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED     REDACTED
  254653 JUAN SUAREZ INC                              PO BOX 79649                                                                                               CAROLINA            PR       00984‐9649
  254654 JUAN SUAREZ NIEVES                           REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED     REDACTED
  254655 JUAN T ECHEVARRIA PEREZ                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED     REDACTED
  254656 JUAN T GONZALEZ MARTINEZ                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED     REDACTED
  691614 JUAN T HERNANDEZ MOLINA                      HC‐1 BOX 11388‐4                                                                                           ARECIBO             PR       00612
  691615 JUAN T NUNEZ GUERRERO                        BO OBRERO NUM 725        CALLE DOLORES                                                                     SAN JUAN            PR       00917
  254657 JUAN T PADILLA NEGRON                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED     REDACTED

   254658 JUAN T PENAGARICANO SOLER                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN T RIOS ROMAN / JUAN T
   254659 RIOS MORALES                                REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254660 JUAN TEJADA                                 REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254662 JUAN TIRADO FIGUEROA                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691618 JUAN TIRADO PANIAGUA                        TOA ALTA HEIGHTS AE 18   CALLE 28                                                                          TOA ALTA            PR         00953
   254663 JUAN TIRADO TORRES                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                               7128 CALLE DIVINA
   691619 JUAN TIRU IRIZARRY          URB SANTA MONTE                          PROVIDENCIA                                                                       PONCE               PR         00717‐1019
   254664 Juan Tolentino Tolentino    REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691620 JUAN TOLLINCHI BENGOCHEA    URB VILLAS DEL CAFETAL                   I 104 CALLE 13                                                                    YAUCO               PR         00698
   254665 JUAN TORRES AGUAYO          REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691621 JUAN TORRES ALICEA          HC 4 BOX 48046                                                                                                             CAGUAS              PR         00725
   254666 JUAN TORRES APONTE          REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   688913 JUAN TORRES ARROYO          HC 1 BOX 9312                                                                                                              SAN GERMAN          PR         00683
   254667 JUAN TORRES AULET           REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691622 JUAN TORRES BARRETO         506 CALLE RUISENOR                                                                                                         ISABELA             PR         00662
   691623 JUAN TORRES BERRIOS         COM MATA DE PLATANO                      PARCELA H 1                                                                       LUQUILLO            PR         00755
   691624 JUAN TORRES BOBYN           PUEBLO STATION CAROLINA                  PO BOX 1185                                                                       CAROLINA            PR         00986
   691626 JUAN TORRES CUEVAS          PO BOX 1147                                                                                                                ARECIBO             PR         00613
          JUAN TORRES DBA TORRES BUS
   254668 LINE                        HC 01 BOX 5531                                                                                                             OROCOVIS            PR         00720
   691627 JUAN TORRES DE JESUS        URB VISTAMAR                             806 CALLE ALICANTE                                                                CAROLINA            PR         00983
   254670 JUAN TORRES GALARZA         REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254671 JUAN TORRES GONZALEZ        REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691628 JUAN TORRES HERNANDEZ       PO BOX 551                                                                                                                 BARCELONETA         PR         00617
   254672 JUAN TORRES LOPEZ           REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691629 JUAN TORRES MELENDEZ        P O BOX 342                                                                                                                COAMO               PR         00769
   691631 JUAN TORRES MERCED          VILLA ALEGRIA                            266 TOPACIO                                                                       AGUADILLA           PR         00603
   254673 JUAN TORRES NUNEZ           REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691634 JUAN TORRES ORTIZ           METROPOLIS A 60 CALLE 1                                                                                                    Carolina            PR         00987
   254674 JUAN TORRES PASTRANA        REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691635 JUAN TORRES PEREZ           P O BOX 4300                                                                                                               RIO GRANDE          PR         00745
   691636 JUAN TORRES RAMIREZ         P O BOX 460                                                                                                                UTUADO              PR         00641460
          JUAN TORRES REYES / LYDIA M
   691637 TORRES REYES                HC 5 BOX 4789                                                                                                              YABUCOA             PR         00767
   691638 JUAN TORRES RIVERA          BONEVILLE TOWN HOUSE                     59 CALLE REY MECHOR                                                               CAGUAS              PR         00725
   254676 JUAN TORRES RODRIGUEZ       REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN TORRES RODZ AMI CENTRO
   691641 REF                         PO BOX 1032                                                                                                                BAYAMON             PR         00960‐1032



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  254677 JUAN TORRES ROMERO                           REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  254679 JUAN TORRES SANCHEZ                          REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  691643 JUAN TORRES SERRANO                          HC 02 BOX 14177                                                                                         ARECIBO             PR         00612
  691644 JUAN TORRES TOBI                             PO BOX 1208                                                                                             BAJADERO            PR         00616
  691645 JUAN TORRES TORO                             URB SA TOMAS          A 29 CALLE C                                                                      PONCE               PR         00731
  254680 JUAN TORRES VELAZQUEZ                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  254681 JUAN TORRES VILLANUEVA                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  691647 JUAN TORRES VILLARUBIA                       59 CALLE VICTORIA                                                                                       ANASCO              PR         00610

   254682 JUAN TORRES Y MARIA A ROBLES REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254683 JUAN TREMOLS CASTILLO        REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254684 JUAN TULIER CRUZ             REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691651 JUAN V GOMEZ ROSARIO         2237 N LEAVITT                                                                                                         CHICAGO             IL         60647
   691652 JUAN V HERNANDEZ CHUAN       VILLA NEVAREZ                        1072 CALLE 19                                                                     SAN JUAN            PR         00927
          JUAN V MALDONADO
   254685 MALDONADO                    REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691650 JUAN V ORTIZ CARRASQUILLO    BOX 8184                                                                                                               CAGUAS              PR         00725
   691653 JUAN V SOTO JIMENEZ          PO BOX 264                                                                                                             LARES               PR         00669
   254686 JUAN V. IRENE AGUILA         REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691654 JUAN VALCALCER PEREZ         P O BOX 60075                                                                                                          BAYAMON             PR         00960
   254687 JUAN VALCARCEL GARCIA        REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691655 JUAN VALENTIN                PO BOX 21365                                                                                                           SAN JUAN            PR         00928
   691657 JUAN VALENTIN GONZALEZ       ADM SISTEMA DE RETIRO                PO BOX 42003                                                                      SAN JUAN            PR         00940‐2003
   691658 JUAN VALENTIN MALAVE         EXT JARDINEZ DE ARROYO               12 CALLE OW                                                                       ARROYO              PR         00714
   254688 JUAN VALENTIN NIEVES         REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691660 JUAN VALENTIN PITRE          HC 5 BOX 36485                                                                                                         SAN SEBASTIAN       PR         00685
   254689 JUAN VALIENTE                REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254692 JUAN VARGAS                  REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUAN VARGAS COLON / INDIAS II 33 BO RIO HONDO LOMAS
   691662 DE MAYAGUEZ                  VERDES                                                                                                                 MAYAGUEZ            PR         00680
   691663 JUAN VARGAS CORTES           PO BOX 50821                                                                                                           LEVITTOWN           PR         00950
   254693 JUAN VARGAS CRESPO           REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254694 JUAN VARGAS FERNANDEZ        REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691666 JUAN VARGAS SERRANO          PO BOX 7126                                                                                                            PONCE               PR         00732
   691667 JUAN VARGAS TORRES           VEGA BAJA LAKES                      G‐25 CALLE 7                                                                      VEGA BAJA           PR         00693
   691668 JUAN VARONA ECHEANDIA        COND ARCO SUCHILLE                   APT 207                                                                           GUAYNABO            PR         00966
   691670 JUAN VATER AND CO.           PO BOX 3496                                                                                                            CAROLINA            PR         00984
   691671 JUAN VAZQUEZ AMARO           PO BOX 1024                                                                                                            SALINAS             PR         00751
   691672 JUAN VAZQUEZ AMBERT          BO CIALITOS CRUCE                                                                                                      CIALES              PR         00638
                                       URB LA SALAMANCA 133 CALLE
   691673 JUAN VAZQUEZ CARRERO         VALDE                                                                                                                  SAN GERMAN          PR         00683
   691674 JUAN VAZQUEZ CASTRO          HC 01 BOX 3579                                                                                                         LOIZA               PR         00772
   691675 JUAN VAZQUEZ CUEBAS          BO PUERTOS                           HC 01 BOX 4811                                                                    CAMUY               PR         00627 9607
   691676 JUAN VAZQUEZ DEL VALLE       PO BOX 7126                                                                                                            PONCE               PR         00732
   691677 JUAN VAZQUEZ DIAZ            FLAMINGO HILLS                       204 CALLE 7                                                                       SAN JUAN            PR         00957
   691678 JUAN VAZQUEZ LOPEZ           URB VILLA DEL CARMEN                 B 10 CARR 1                                                                       CAGUAS              PR         00725
   691679 JUAN VAZQUEZ MENDEZ          HC 33 BOX 5860                                                                                                         DORADO              PR         00646
   254695 JUAN VAZQUEZ MERCADO         REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254697 JUAN VAZQUEZ MONTA¥EZ        REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254698 JUAN VAZQUEZ MUNOZ           REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   254699 JUAN VAZQUEZ NAZARIO         REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   691683 JUAN VAZQUEZ PADILLA         URB BAYAMON GARDENS                  Z 16 CALLE 20                                                                     BAYAMON             PR         00957
   691684 JUAN VAZQUEZ PAGAN           RES NEMESIO R CANALES                EDIF 52 APT 958                                                                   SAN JUAN            PR         00918



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  254700 JUAN VAZQUEZ RODRIGUEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691686 JUAN VAZQUEZ ROSARIO                         PO BOX 434                                                                                                        JAYUYA             PR         00664
  691687 JUAN VEGA ANDUJAR                            1851 LAND ST RD             APT 3328 B                                                                            ORLANDO            FL         32809
  254702 JUAN VEGA CESAREO                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  254703 JUAN VEGA GARCIA                             REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  254704 JUAN VEGA MALDONADO                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691689 JUAN VEGA MELENDEZ                           HC 01 BUZON 6431                                                                                                  LAS PIEDRAS        PR         00771
  691690 JUAN VEGA MONTES                             URB LA HACIENDA             AO 2 CALLE 54                                                                         GUAYAMA            PR         00784
  254705 JUAN VEGA PAGAN                              REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  254706 JUAN VEGA QUILES                             REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  254707 JUAN VEGA QUINONES                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691691 JUAN VEGA RAMOS                              URB SANTA JUANITA           DG 1 CALLE BABILONIA                                                                  BAYAMON            PR         00956
  691692 JUAN VEGA RIVERA                             HC 1 BOX 3541                                                                                                     JAYUYA             PR         00664
  254708 JUAN VEGA RODRIGUEZ                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691693 JUAN VEGA SALAMANCA                          BO LLANADAS                 1160 CALLE INGLATERRA                                                                 ISABELA            PR         00662
  691694 JUAN VEGA TORRES                             PO BOX 211                                                                                                        AGUAS BUENAS       PR         00703‐0211
  691695 JUAN VELAZQUEZ DIAZ                          HC 763 BOX 3898                                                                                                   PATILLAS           PR         00723
  254709 JUAN VELAZQUEZ MARTINEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  254710 JUAN VELAZQUEZ MORALES                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691696 JUAN VELAZQUEZ ORTIZ                         VILLA UNIVERSITARIA         C 55 CALLE ROIG                                                                       GUAYAMA            PR         00784
  254711 JUAN VELAZQUEZ PIZARRO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   254712 JUAN VELAZQUEZ RODRIGUEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   691697 JUAN VELAZQUEZ ROSADO                       BO EMAJAGUAS                HC 1 BOX 3042                                                                         MAUNABO            PR         00707
   254713 JUAN VELAZQUEZ SERRANO                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   691699 JUAN VELAZQUEZ THOMPSON                     URB LEVITOWN LAKES          JG 16 C/ JOSE E PEDREIRA                                                              TOA BAJA           PR         00649
   254714 JUAN VELEZ AROCHO                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   691700 JUAN VELEZ BELTRAN                          HC 1 BOX 17289                                                                                                    HUMACAO            PR         00791
   691701 JUAN VELEZ CAMACHO                          BOX 1441                                                                                                          JUANA DIAZ         PR         00795
   691702 JUAN VELEZ CHAPARRO                         PO BOX 5000‐9                                                                                                     SAN GERMAN         PR         00683

   691703 JUAN VELEZ DBA AGRO TIERRA                  HC 3 BOX 12950                                                                                                    JUANA DIAZ         PR         00795
   254715 JUAN VELEZ FELICIANO                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
                                                      CALLE ISRAEL # 18 BO. LOS
   691705 JUAN VELEZ LOPEZ                            HOYOS                                                                                                             CAGUAS             PR         00725
   254717 JUAN VELEZ MUNOZ                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   691706 JUAN VELEZ RAMOS                            P.O. BOX 7911                                                                                                     CAGUAS             PR         00726
   691707 JUAN VELEZ SOTO                             HC 01 BOX 6711                                                                                                    MOCA               PR         00676
   254718 JUAN VELEZ UBINAS                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   691708 JUAN VELEZ VEGA                             P O BOX 1696                                                                                                      AGUADILLA          PR         00605
   254719 JUAN VELEZ VELEZ                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   254720 JUAN VERA GONZALEZ                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   688915 JUAN VERA GONZALEZ                          AVE PONCE DE LEON           PDA 19 SANTURCE                                                                       SAN JUAN           PR         00907
   691709 JUAN VERA MARTINEZ                          PO BOX 168                                                                                                        YAUCO              PR         00698
   691710 JUAN VERGARA GOMEZ                          URB CAMPAMENTO              34 CALLE B                                                                            GURABO             PR         00778
   254721 JUAN VICENTE RODRIGUEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   254722 JUAN VIERA PEREZ                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   691712 JUAN VIGO ZENON                             PO BOX 2120                                                                                                       JUNCOS             PR         00777
   254723 JUAN VILLAFANE LOPEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   691713 JUAN VILLAMAN                               URB CAPARRA TERRACE         1416 CALLE 8 SW                                                                       SAN JUAN           PR         00921
          JUAN VILLANUEVA PARA MERIAN
   254727 YULEISY                     REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   254730 JUAN WAGNER MENDEZ          REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED



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  254732 JUAN Y AGOSTO MARTINEZ                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691718 JUAN Y JOSE CATERING                         HC 01 BOX 6907                                                                                                    LAS PIEDRAS        PR         00771
  254733 JUAN Y ROSAS RODRIGUEZ                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691719 JUAN Z GUZMAN DIAZ                           COM LA TORRE               SOLAR 283 C                                                                            LOIZA              PR         00772
  254737 Juan Zapata Rodríguez                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  254738 JUAN ZARAGOZA GOMEZ                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691720 JUAN ZAYAS DIAZ                              HC 2 BOX 4668                                                                                                     GUAYAMA            PR         00784
  254740 JUAN ZAYAS ORTIZ                             REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         JUAN ZENON BENITEZ
  254741 MALDONADO                                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  254742 JUAN, CARRERAS                               REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691723 JUANA A BRITO RODRIGUEZ                      HC 11 BOX 12861                                                                                                   HUMACAO            PR         00791
  254743 JUANA A COLON LOPEZ                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691732 JUANA A GARCIA FANA                          COND MADRID PLAZA          APT 509                                                                                SAN JUAN           PR         00924
  691733 JUANA ACEVEDO RAMOS                          NUEVA VIDA EL TUQUE        H 17 CALLE H                                                                           PONCE              PR         00728
  691734 JUANA ACOSTA                                 6508 GOLDEN PLACE                                                                                                 TAMPAS             FL         33634
  254744 JUANA ALCANTARA FAMILIA                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  254745 JUANA ALICEA OROZCO                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691739 JUANA ALVAREZ GARCIA                         RES MONTE PARK             EDIF M 164                                                                             SAN JUAN           PR         00924
  254746 JUANA ALVAREZ NIEVES                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691740 JUANA ALVAREZ VILLAFANEZ                     HC 01 BOX 10558                                                                                                   ARECIBO            PR         00612
  691741 JUANA AMARO OCASIO                           HC 01 BOX 4105             BAJADERO                                                                               ARECIBO            PR         00617
  691742 JUANA ANDINO ESCALERA                        JARDINES DE BORINQUEN      O 21 CALLE GLADIOLAS                                                                   CAROLINA           PR         00985
  691743 JUANA APONTE                                 51 BDA CARMEN                                                                                                     SALINAS            PR         00751
  691744 JUANA APONTE RIVERA                          BOX 23802                  BO VEGAS                                                                               CAYEY              PR         00736
  691745 JUANA ASENCIO VELEZ                          BO MONTE GRANDE            CARR 102 BZN 74                                                                        CABO ROJO          PR         00623‐3615

   254748 JUANA B ALCANTARA CALDERON REDACTED                                    REDACTED                     REDACTED                           REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                                                 CARR 848 K 3 H 5 CALLE RAMON
   691747 JUANA B LANDAN SANCHEZ                      SAINT JUST                 RIVERA                                                                                 CAROLINA           PR         00978
   691749 JUANA B PEDROZA PEREIRA                     URB VILLA DEL REY P 21     CALLE CUMBERLAND                                                                       CAGUAS             PR         00725

   691750 JUANA B PIZARRO MALDONADO URB VALENCIA                                 C 16 AP 7                                                                              BAYAMON            PR         00959

   254749 JUANA B SANTIAGO RODRIGUEZ                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254750 JUANA B THOMAS ESTEVE                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   691751 JUANA BULTRON GONZALEZ                      PARCELAS VILLA REALIDAD    231 CALLE FALCON                                                                       RIO GRANDE         PR         00745
   691752 JUANA C MEJIAS                              URB TERRAZAS DE CUPEY      J 34 CALLE 2                                                                           TRUJILLO ALTO      PR         00976
   254751 JUANA C VARELA CARABALLO                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   691756 JUANA CARDONA HERNANDEZ                     VOLADORAS CONTRACT STATION APT 2147                                                                               MOCA               PR         00676

   691757 JUANA CARRASQUILLO SANCHEZ RIO GRANDE ESTATES                          K 22 CALLE 19                                                                          RIO GRANDE         PR         00745
   254753 JUANA CASTILLO INOSTROZA   REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254754 JUANA CASTRO DIAZ          REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254755 JUANA CASTRO FLECHA        REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254756 JUANA CASTRO RIVERA        REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254757 JUANA CAZANAS VENTO        REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   691759 JUANA CEPEDA CARRION       HC 1 BOX 772                                                                                                                       LOIZA              PR         00772
   254758 JUANA CEPEDA QUINONEZ      REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254759 JUANA CHARRIEZ BAEZ        REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   691760 JUANA CLASS RIVERA         PO BOX 1236                                                                                                                        VEGA BAJA          PR         00694
   691761 JUANA CLAUDIO RODRIGUEZ    243 PMB 1608 CALLE PARIS                                                                                                           SAN JUAN           PR         00917



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  691762 JUANA COLON CRUZ                             VILLA DEL CARMEN              549 CALLE SALAMANCA                                                                      PONCE             PR         00716‐2114
  254760 JUANA CONTRERAS VAZQUEZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254761 JUANA CORREA RIVERA                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254762 JUANA CORTES OYOLA                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691766 JUANA COSME SALGADO                          PO BOX 481                                                                                                             TOA BAJA          PR         00951
  691768 JUANA CRESPO JIMENEZ                         56 LUIS DIAZ                                                                                                           MOCA              PR         00676
  254763 JUANA CRUZ ALVAREZ                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254764 JUANA CRUZ CARTAGENA                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691771 JUANA CRUZ RAMOS                             LA GUADALUPE                  3077 SAN JUDAS                                                                           PONCE             PR         00730‐4202
  691773 JUANA CUEBAS SANABRIA                        HC 03 BOX 35705                                                                                                        MAYAGUEZ          PR         00680
  691724 JUANA CUEVAS ARZUAGA                         EDIF A‐1 APTO 06 LA ROSA                                                                                               SAN JUA           PR         00926
  254767 JUANA CURET FONTANEZ                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254768 JUANA D MARCANO VAZQUEZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254769 JUANA D PADILLA MORALES                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691776 JUANA DAVILA SUAREZ                          BO RIO BLANCO                 P O BOX 172                                                                              NAGUABO           PR         00744

   691777 JUANA DE JESUS HERNANDEZ                    BARRIADA VIETNAN 16 CALLE‐F                                                                                            GUAYNABO          PR         00965
   691778 JUANA DE LA PAZ LOPEZ                       HC 2 BOX 10218                                                                                                         GUAYNABO          PR         00971

   691779 JUANA DEL C RIVERA SANTIAGO PO BOX 1577                                                                                                                            MOROVIS           PR         00687
   691725 JUANA DELGADO COELLO        EXT VILLA CAPRI                               C 5 CALLE PERUGIA                                                                        SAN JUAN          PR         00924
   254770 JUANA DELGADO PENA          REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
                                      58 CALLE TOMAS CARRION
   691782 JUANA DIAZ AUTO AIR         MADURO                                                                                                                                 JUANA DIAZ        PR         00795
   691783 JUANA DIAZ AUTO PARTS       PO BOX 88                                                                                                                              JUANA DIAZ        PR         00795

   691784 JUANA DIAZ BEAUTY SUPPLY                    PLAZA JUANA DIAZ              ANEXO A PUEBLO XTRA LOCAL 7                                                              JUAN DIAZ         PR         00795
   691785 JUANA DIAZ CASH & CARRY                     BOX 7838                                                                                                               PONCE             PR         00732

   691788 JUANA DIAZ CENTRO                           71 B CALLE CARRION MADURO                                                                                              JUANA DIAZ        PR         00795
   254771 JUANA DIAZ ECO PARK LLC                     PO BOX 582                                                                                                             VEGA BAJA         PR         00694
   691789 JUANA DIAZ PINO                             P O BOX 40804                                                                                                          SAN JUAN          PR         00940
   691790 JUANA DINGUI ZAYAS                          HC 3 BOX 38042                                                                                                         CAGUAS            PR         00725
   691791 JUANA DOMINGO GONZALEZ                      PARC AMADEO                   20 CALLE A                                                                               VEGA BAJA         PR         00693

   254772 JUANA DOMINGUEZ GONZALEZ                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   254773 JUANA E ALVAREZ CONCEPCION                  REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   254774 JUANA E CRUZ ORTIZ                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   691794 JUANA E DIAZ SUAREZ                         RES VILLA REAL                EDF 14 APT 53                                                                            PATILLAS          PR         00727
   254775 JUANA E JIMENEZ CAPELLAN                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   254776 JUANA E MUNOZ TINEO                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   254777 JUANA E NUNEZ ROSARIO                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          JUANA E SEPULVEDA /
   254778 MERCEDES ROBLES                             REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   254779 JUANA E. ALVAREZ CONCEPCION REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   254780 JUANA E. HILARIO CARELA     REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   691796 JUANA ENCARNACION CASTRO                    BUENA AVENTURA                BOX 177 CALLE DALIA                                                                      CAROLINA          PR         00985
   691797 JUANA ENCARNACION PEREZ                     BDA. BORINQUEN 18                                                                                                      SAN JUAN          PR         00921
   254781 JUANA ESPINAL PLACENCIA                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED




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          JUANA ESTHER REYES
   691798 RODRIGUEZ                                   P O BOX 8777                                                                                                       BAYAMON              PR           00960
   691800 JUANA F PEGUERO MORETA                      COND CONDADO GARDENS        1436 CALLE ESTRELLA 202                                                                SAN JUAN             PR           00902
   691801 JUANA F TORRES LOPEZ                        PO BOX 319                                                                                                         VEGA ALTA            PR           00692

   691802 JUANA FCA VAZQUEZ CHEVERE                   RR‐4 BOX 27681              BO ORTIZ SECT LOS AYALA                                                                TOA BAJA             PR           000953
   691803 JUANA FELICIANO BONILLA                     HC 1 BOX 44653              ALMIRANTE SUR                                                                          VEGA BAJA            PR           00693
   254782 JUANA FIGUEROA                              REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   254784 JUANA FIGUEROA YAMBO                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   254786 JUANA FLECHA MEDINA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   691804 JUANA FLORES ALAMO                          JUAN DOMINGO                38 CALLE LAS FLORES                                                                    GUAYNABO             PR           00957
   691805 JUANA FRADERA CRUZ                          URB LEVITTOWN               FB 14 A PEREZ 6TA SECCION                                                              TOA BAJA             PR           00949
          JUANA FUENTES DE OCASIO Y
   691806 CARMEN MOLINA                               915 BAYBERRY LN                                                                                                    RANDOLPH             MA           02368‐5101
   691808 JUANA GALI ROSADO                           17 CALLE CARMELO APONTE                                                                                            COROZAL              PR           00783
   691809 JUANA GALLEGOS ESPARZA                      P O BOX 1060                                                                                                       HORMIGUEROS          PR           00660
   691810 JUANA GARAY TRINIDAD                        HC 01 BOX 7012                                                                                                     VIEQUEZ              PR           00765
   691811 JUANA GARCIA DE LEON                        RES NEMESIO CANALES         EDIF 19 APT 367                                                                        SAN JUAN             PR           00920
   254787 JUANA GARCIA GARCIA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   254788 JUANA GARCIA RIVERA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   254789 JUANA GARCIA SORIANO                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   691812 JUANA GARCIA VAZQUEZ                        PROG. SERA BAYAMON                                                                                                 Hato Rey             PR           009360000
   691813 JUANA GOMEZ TOMASINI                        HC 1 BOX 8900                                                                                                      AGUAS BUENAS         PR           00703
   691814 JUANA GONZALEZ COLON                        P O BOX 1728                                                                                                       YABUCOA              PR           00767‐1728

   691815 JUANA GONZALEZ COMULADA                     HC 01 BOX 5595 BAJADERO                                                                                            ARECIBO              PR           00616
   691816 JUANA GONZALEZ GONZALEZ                     48 URB VILLA DEL BOSQUE                                                                                            CIDRA                PR           00739
   254790 JUANA GUZMAN ROSA                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JUANA HERNANDEZ
   254791 ALMODOVAR                                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   691817 JUANA HERNANDEZ CRESPO                      HC 3 BOX 7146                                                                                                      JUNCOS               PR           00777
   691818 JUANA HERNANDEZ NEGRON                      16 INT URB BELLA VISTA                                                                                             VEGA BAJA            PR           00693
   691819 JUANA HERNANDEZ ORTA                        RES LUIS LLOREN TORRES      EDIF 31 APT 648                                                                        SAN JUAN             PR           00913

   254792 JUANA HERNANDEZ QUINONES                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   691820 JUANA HILDA BREHMER                         TURABO GARDENS              Z 8‐9 CALLE 13                                                                         CAGUAS               PR           00725
   691821 JUANA HUERTAS GARCIA                        URB MAESTROS                7589 CALLE COSTAS DIAZ                                                                 PONCE                PR           00717‐0257
   691822 JUANA I DAVILA                              4TA EXT COUNTRY CLUB        GW 23 CALLE 411                                                                        CAROLINA             PR           00982
   691823 JUANA I MARTINEZ LUGO                       PO BOX 3222                                                                                                        GUAYNABO             PR           00970
   691824 JUANA I MIRANDA TORRES                      P O BOX 1522                                                                                                       MOROVIS              PR           00687
   254794 JUANA I NOYOLA                              REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   691825 JUANA I RIVERA HERNANDEZ                    URB VILLAS DE LOIZA         B 3 CALLE 13                                                                           CANOVANAS            PR           00729
   691826 JUANA I SANTIAGO                            REPTO FLAMINGO              N 27 C/ CAPITAN CORREA                                                                 BAYAMON              PR           00960
   691827 JUANA I TORRES QUI ONES                     URB TURABO GDNS             K1 CALLE 40                                                                            CAGUAS               PR           00725
   254795 JUANA I VELEZ SANTIAGO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   691828 JUANA J HERNANDEZ                           P O BOX 323                                                                                                        MAUNABO              PR           00707

   691832 JUANA L GONZALEZ SANTIAGO                   HC 02 BOX 10925                                                                                                    MOCA                 PR           00676
   254797 JUANA L MARTE ACOSTA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   691833 JUANA L PELLOT RIVERA                       PARCELAS RODRIGUEZ OLMO     10 CALLE 1                                                                             ARECIBO              PR           00612
   254798 JUANA L PENA ROMAN                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   691834 JUANA L VENTURA INFANTE                     URB EXT LA MILAGROSA S 10   CALLE 1                                                                                BAYAMON              PR           00956
   254799 JUANA LABOY MARTINEZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  691835 JUANA LOPEZ BENITEZ                          139 AVE CARLOS CHARDON                                                                                             SAN JUAN           PR         00918‐0902
  254800 JUANA LOPEZ BERRIOS                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691839 JUANA LOPEZ RIOS                             HP ‐ SALA DE ENFERMERIA                                                                                            RIO PIEDRAS        PR         009360000
  691840 JUANA LORENZO UGARTE                         HC 2 BOX 13209                                                                                                     MOCA               PR         00676
  691841 JUANA LOZADA RIVERA                          URB LAS CAROLINA 111        BUZON 214                                                                              CAGUAS             PR         00727
  691842 JUANA LUCAS MONEGRO                          PMB 268                     PO BOX 4985                                                                            CAGUAS             PR         00726‐4985
  691843 JUANA M ALICEA RIVERA                        R R 1 BOX 2441                                                                                                     CIDRA              PR         00739
  254801 JUANA M ANDINO PACHECO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691844 JUANA M AVILES / GOYITA                      PO BOX 479                                                                                                         MOROVIS            PR         00687
  691845 JUANA M BAEZ ROMAN                           RIO LAJAS                   13 CALLE 1                                                                             DORADO             PR         00646
         JUANA M BERMUDEZ
  691846 RODRIGUEZ                                    URB SAN FERNANDO            D6 CALLE 1                                                                             BAYAMON            PR         00957
  254802 JUANA M CANELA CRUZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  691848 JUANA M CARRASQUILLO                         HC 01 BOX 11815                                                                                                    CAROLINA           PR         00985‐9620
  691849 JUANA M CENTENO                              URB EL PLANTIO              G19 CALLE GUAYACAN                                                                     TOA BAJA           PR         00949‐4460
  691850 JUANA M CENTENO RIVERA                       URB EL PLANTIO              G 19 CALLE GUAYACAN                                                                    TOA BAJA           PR         00949‐4460
  691851 JUANA M COLON THOMAS                         SAINT JUST                  BZ 455 CALLE OREGON                                                                    TRUJILLO ALTO      PR         00976
         JUANA M FELICIANO
  691854 ALMODOVAR                                    BO PARAISO                  BZN 8443                                                                               FAJARDO            PR         00738
  691856 JUANA M FUENTES                              REPARTO SAN JOSE            A 19 CALLE 5                                                                           GURABO             PR         00778

   691857 JUANA M GARCIA MARTINEZ                     QDA CRUZ SECTOR LOS SANCHEZ LAS LOMAS CARR 165 KM 3 1                                                              TOA ALTA           PR         00953
   691858 JUANA M JIMENEZ ARCE                        PO BOX 1828                                                                                                        SAN SEBASTIAN      PR         00685
   254804 JUANA M JOSE RODRIGUEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   691859 JUANA M LIRANZO FERNADEZ                    PO BOX 669                                                                                                         VEGA BAJA          PR         00694
   254805 JUANA M MARTINEZ MENA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   691860 JUANA M MORALES RODRIGUEZ BO SANTANA LOS LLANOS                         D7 CALLE 8                                                                             ARECIBO            PR         00792

   691861 JUANA M MULERO RODRIGUEZ                    HC 20 BOX 28947             BO FLORIDA                                                                             SAN LORENZO        PR         00754
   691862 JUANA M NEGRON SANCHEZ                      HC 2 BOX 7222                                                                                                      UTUADO             PR         00641
   691864 JUANA M OJEDA DE JESUS                      PO BOX 171                                                                                                         MOROVIS            PR         00687
   691865 JUANA M ORTIZ DUENO                         URB VILLA CAROLINA          85 6 CALLE 89                                                                          CAROLINA           PR         00985
   691866 JUANA M ORTIZ PABON                         URB VILLA CAROLINA          173‐11 CALLE 439                                                                       CAROLINA           PR         00985
   254806 JUANA M OSORIO GONZALEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254807 JUANA M OYOLA FRANCO                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   691867 JUANA M PEREZ PEREZ                         HC 1 BOX 4684                                                                                                      SABANA HOYOS       PR         00688

          JUANA M RAMOS
   691868 CRUZ/DEBORAH PAGAN RAMOS SAINT JUST                                     54 CALLE 7                                                                             TRUJILLO ALTO      PR         00976
   691869 JUANA M RAMOS LOZADA     URB VIVES                                      71 CALLE B                                                                             GUAYAMA            PR         00784

   691870 JUANA M RAMOS MOCTEZUMA                     BO PASTO VIEJO                                                                                                     HUMACAO            PR         00791

   691871 JUANA M RENTAS HERNANDEZ                    PO BOX 596                                                                                                         DORADO             PR         00646
   691872 JUANA M RIVERA PAGAN                        HC 3 BOX 9767                                                                                                      BARRANQUITAS       PR         00794
   691726 JUANA M RIVERA VEGA                         URB SAN MARTIN              C 2 CALLE 3                                                                            JUANA DIAZ         PR         00795

   691727 JUANA M ROMERO MEDRANO                      PO BOX 192164                                                                                                      SAN JUAN           PR         00919 2164

   691874 JUANA M ROSARIO GAZPARINI                   RES LAS AMAPOLAS            EDIF B APT 119                                                                         SAN JUAN           PR         00927
   254809 JUANA M ROSARIO PEREZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   254810 JUANA M ROSARIO TORRES                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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   691877 JUANA M TORRES RODRIGUEZ                    PO BOX 1676                                                                                                       JUANA DIAZ          PR         00795
   254811 JUANA M VAZQUEZ SANCHEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   691878 JUANA M. NEGRON GALARZA                     PO BOX 1315                                                                                                       BARCELONETA         PR         00617
   691880 JUANA MARCANO FIGUEROA                      URB LA RIVIERA                962 CALLE 15 S                                                                      SAN JUAN            PR         00921‐2553
   254813 JUANA MARTINEZ                              REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   691883 JUANA MARTINEZ BAEZ                         POLICIA PR                    PO BOX 70166                                                                        SAN JUAN            PR         00936
   254814 JUANA MARTINEZ DE RIVERA                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   691884 JUANA MARTINEZ MONTES                       485 AVE NOEL                                                                                                      ISABELA             PR         00662
   254815 JUANA MARTINEZ RAMOS                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   691887 JUANA MATIAS VAZQUEZ                        PARQ DE SAN FRANCISCO 120     MARGINAL NORTE #1704 B                                                              BAYAMON             PR         00956
   691888 JUANA MAYMI SANTIAGO                        HC 33 BOX 6118                                                                                                    DORADO              PR         00646‐9629
   691889 JUANA MEDINA CUEVA                          COMUNIDAD ROCA DURA           1607 CALLE PEBBLES                                                                  VEGA BAJA           PR         00693
   254816 JUANA MEDINA SANTANA                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   691890 JUANA MELENDEZ RIVERA                       URB VILLA FONTANA             4LS 3 VIA LETICIA                                                                   CAROLINA            PR         00983
   254817 JUANA MELENDEZ RUIZ                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   691891 JUANA MENDEZ TORRES                         HC 43 BOX 11786                                                                                                   CAYEY               PR         00736
   254818 JUANA MERCADO LOZADA                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   691892 JUANA MERCED CLAUDIO                        BO JUAN SANCHEZ               CALLE 4 BOX 1476                                                                    BAYAMON             PR         00959
   691893 JUANA MOJICA RODRIGUEZ                      PO BOX 1492                                                                                                       SABANA SECA         PR         00952‐1492

   691728 JUANA MONTES RIVERA                         ESTANCIAS DE PRADO HERMOSO 98 CALLE GUZMAN                                                                        CEIBA               PR         00735
   691894 JUANA MORALES COREANO                       PO BOX 9203                                                                                                       BAYAMON             PR         00956
   254819 JUANA MORALES PINEIRO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   691895 JUANA MULERO MELENDEZ                       HC 2 BOX 19011                                                                                                    RIO GRANDE          PR         00745
   691896 JUANA MUNOZ GONZALEZ                        VILLAS DEL CARMEN O 18     CALLE 13                                                                               GURABO              PR         00778
          JUANA NAVARRO Y RAMON A
   254822 JIMENEZ                                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   691898 JUANA NEGRON SANTIAGO                       RIVER VIEW                    M 12 CALLE 11                                                                       BAYAMON             PR         00961
                                                      URB. COUNTRY CLUB NA‐36
   691899 JUANA O CASIANO COLON                       CALLE 415                                                                                                         CAROLINA            PR         00982
   254823 JUANA O PEREZ FELIZ                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   691900 JUANA OCASIO RODRIGUEZ                      38 CALLE BETANIA SAINT JUST                                                                                       TRUJILLO ALTO       PR         00976
   691901 JUANA OLIVERA SALGADO                       5 CALLE ACOSTA                                                                                                    VEGA ALTA           PR         00692
   691902 JUANA ORTIZ LOPEZ                           3 TALLERES                    942 CALLE SOLA                                                                      SAN JUAN            PR         00907
   691903 JUANA ORTIZ SOLIS                           HC 1 BOX 4051                                                                                                     YABUCOA             PR         00767
   254824 JUANA OYOLA RODRIGUEZ                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   254825 JUANA PABON DE CLAUDIO                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   254826 JUANA PACHECO ESTURIO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   691906 JUANA PADILLA PASTRANA                      HC 71 BOX 3153                                                                                                    NARANJITO           PR         00719
   691729 JUANA PASTRANA GOTAY                        BDA LAS MONJAS                101 PEPE DIAZ                                                                       SAN JUAN            PR         00917
   691730 JUANA PEREZ                                 VILLA CAROLINA                20‐3 CALLE 19                                                                       CAROLINA            PR         00985
   691908 JUANA PEREZ                                 PO BOX 50063                                                                                                      SAN JUAN            PR         00902
   691909 JUANA PEREZ CABRERA                         RR 5 BOX 5812                                                                                                     BAYAMON             PR         00956
   691910 JUANA R MARRERO TOLEDO                      URB CROWN HILLS               141 CALLE GUAJATACA                                                                 SAN JUAN            PR         00926
   254827 JUANA RAMOS ARBELO                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   691911 JUANA RAMOS NEGRON                          HC 71 BOX 2934                                                                                                    NARANJITO           PR         00719
   691722 JUANA RAMOS RAMOS                           HC 04 BOX 13690                                                                                                   MOCA                PR         00716
   254829 JUANA REYES AVILES                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   691913 JUANA RIVERA                                PO BOX 50063                                                                                                      SAN JUAN            PR         00902
   691914 JUANA RIVERA APONTE                         HC 1 BOX 4403                                                                                                     COMERIO             PR         00782
   691916 JUANA RIVERA DEL VALLE                      COND BORINQUEN TOWER 3        APT 103                                                                             SAN JUAN            PR         00920
   691917 JUANA RIVERA HERNANDEZ                      135 GEORGETTI                                                                                                     COMERIO             PR         000782



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                                                      PSIQUIATRIA FORENSE RIO
   691919 JUANA RIVERA LOPEZ                          PIEDRAS                                                                                                           SAN JUAN            PR           00914‐0000
   691920 JUANA RIVERA MEDINA                         HC 80 BOX 8590                                                                                                    DORADO              PR           00646
   254831 JUANA RIVERA MERCADO                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   254832 JUANA RIVERA MONTANEZ                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   254833 JUANA RIVERA OTERO                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   691923 JUANA RIVERA RAMOS                          BO RABANAL                BZN 2901                                                                                CIDRA               PR           00739
   254834 JUANA RIVERA RIVERA                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   691925 JUANA RIVERA RODRIGUEZ                      PO BOX 495                                                                                                        JUANA DIAZ          PR           00795
   691928 JUANA ROBLES TORRES                         PO BOX 532                                                                                                        MOROVIS             PR           00687
   691929 JUANA RODRIGUEZ                             VILLA HUMACAO             L175 CALLE 5                                                                            HUMACAO             PR           00791
   254835 JUANA RODRIGUEZ CRUZ                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   691930 JUANA RODRIGUEZ CUADRADO                    HC 4 BOX 45990                                                                                                    CAGUAS              PR           00725
   691931 JUANA RODRIGUEZ FERRER                      BO RABANAL PARC 77        LA MILAGROSA BOX 2491                                                                   CIDRA               PR           00739

   691932 JUANA RODRIGUEZ MERCADO                     PO BOX 7545                                                                                                       DORADO              PR           00646

   691934 JUANA RODRIGUEZ RODRIGUEZ 1055 AVE LAS PALMAS                                                                                                                 SAN JUAN            PR           00916
   254836 JUANA RODRIGUEZ ROMAN       REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   254837 JUANA RODRIGUEZ SANTIAGO    REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   691935 JUANA RODRIGUEZ TORRES      LA CUARTA                                 174 MERCEDITA CALLE E                                                                   PONCE               PR           00715
   254838 JUANA ROLDAN CUADRADO       REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JUANA ROSA COLON Y/O ANIBAL
   254839 OCANA                       REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   691936 JUANA ROSA COTTO            HC 2 BOX 10158                                                                                                                    GUAYNABO            PR           00971
   254840 JUANA ROSA PIMENTEL         REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   691937 JUANA ROSARIO RIVERA        BOX 516                                                                                                                           GARROCHALES         PR           00652
   691938 JUANA ROSARIO TORRES        PMB 113 PO BOX 7004                                                                                                               VEGA BAJA           PR           00694
   691939 JUANA S GUERRIDO FLORES     P O BOX 9020981                                                                                                                   SAN JUAN            PR           00902
   691941 JUANA SANCHEZ RODRIGUEZ     RR 2 BOX 6134                                                                                                                     CIDRA               PR           00739
   691942 JUANA SANDOVAL              PO BOX 21365                                                                                                                      SAN JUAN            PR           00928
   691943 JUANA SANTANA GARCIA        HP ‐ SERVICIO GENERALES                                                                                                           RIO PIEDRAS         PR           009360000
   254842 JUANA SANTANA VELEZ         REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   691944 JUANA SANTIAGO              MIRADOR ECHEVARRIA                        C 6 CALLE LAS ALMENDRAS                                                                 CAYEY               PR           00736
   691945 JUANA SANTIAGO OTERO        BO CUCHILLAS BOX 2521                                                                                                             MOROVIS             PR           00687
   254843 JUANA SANTOS OSORIO         REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   691731 JUANA SERRANO CRUZ          ADM SERV GENERALES                        PO BOX 7428                                                                             SAN JUAN            PR           00916‐7428
   691947 JUANA SERRANO RIVERA        HC 2 BOX 14569                                                                                                                    CAROLINA            PR           00987
   691948 JUANA SILVA SILVA           HC 01 BOX 17186                                                                                                                   HUMACAO             PR           00791
   254844 JUANA SOTO BATISTA          REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                EGIDA NAVE ALEJANDRINA APT
   691949 JUANA SOTO DIAZ                             ROUND HILL                809                                                                                     TRUJILLO ALTO       PR           00976
   691950 JUANA SOTO QUILES                           BO CIBAO                  HC 03 BOX 30220                                                                         SAN SEBASTIAN       PR           00685
   254845 JUANA TOMASSINI GONZALEZ                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   254846 JUANA TORRES CARRASCO                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   691952 JUANA TORRES CORTES                         HC 01 BOX 11154                                                                                                   ARECIBO             PR           00612
   691953 JUANA TORRES GARCIA                         BDA. BELJICA              5877 CALLE COSTA RICA                                                                   PONCE               PR           00717‐1751
   691954 JUANA TORRES LOPEZ                          HC 2 BOX 5651                                                                                                     JUANA DIAZ          PR           00795‐9614
   691955 JUANA V CARRION CACERES                     PMB 127 PO BOX 30000                                                                                              CANOVANAS           PR           00729
   691957 JUANA VALENTIN MARTINEZ                     URB LAS FLORES            D 10 CALLE B                                                                            VEGA BAJA           PR           00693
   254847 JUANA VAZQUEZ BERMUDEZ                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   691958 JUANA VAZQUEZ MARTINEZ                      URB REXVILLE              BM 22 CALLE 41                                                                          BAYAMON             PR           00957



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  254848 JUANA VAZQUEZ MUNOZ                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  691959 JUANA VAZQUEZ RIOS                           URB VILLA FONTANA           VR 9 AVE RAFAEL CARRION                                                               CAROLINA          PR         00983
  691960 JUANA VAZQUEZ RIVAS                          HC 20 BOX 22949                                                                                                   SAN LORENZO       PR         00754
  691961 JUANA VEGA DAVILA                            RES LAS MARGARITAS          EDIF 25 APT 250 PRY 214                                                               SAN JUAN          PR         00915
  691962 JUANA VEGA MATTA                             BO INGENIO                  Q 10 CALLE 10 PARC                                                                    TOA BAJA          PR         00949
  691963 JUANA VELAZQUEZ                              PO BOX 334241                                                                                                     PONCE             PR         00733‐4241
  254850 JUANA VELAZQUEZ CRUZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254851 JUANA VELAZQUEZ DEL VALLE                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   254852 JUANA VELAZQUEZ GONZALEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   691964 JUANA VELAZQUEZ PINTO                       RIO PLANTATION              B 7 CALLE KOREA                                                                       BAYAMON           PR         00961
   254853 JUANA VELEZ VIRELLA                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254854 JUANA VILLANUEVA RAMOS                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   691966 JUANA VILLEGAS CRUZ                         RES LUIS LLORENS TORRES     EDIF 8 APT 146                                                                        SAN JUAN          PR         00915
   691967 JUANA ZAYAS OROSCO                          PO BOX 262                                                                                                        JUNCOS            PR         00777
          JUANCARLO MARTINEZ
   254855 GONZALEZ                                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JUANCARLOS R MUNOZ
   254856 CANDANEDO                                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254857 JUANCARLOS SONERA RIVERA                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254858 JUANITA ACEVEDO PEREZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254859 JUANITA ACOSTA ACEVEDO                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JUANITA ALVARADO
   254862 MALDONADO                                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   691981 JUANITA ALVERIO CINTRON                     BAIROA                      AT 4 CALLE 29                                                                         CIDRA             PR         00739
   254863 JUANITA AMEZQUITA BENITEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   691982 JUANITA ANDINO MORENO                       COND PUERTA DEL SOL APT 410                                                                                       SAN JUAN          PR         00926
   691983 JUANITA APONTE MORALES                      URB VILLA GRANADA           482 CALLE VALLADOLID                                                                  SAN JUAN          PR         00923
          JUANITA ASTACIO Y MARIA A
   254865 ASTACIO                                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254866 JUANITA ATANACIO ORTIZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254867 JUANITA AYALA CINTRON                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   691969 JUANITA AYALA ORTIZ                         HC 02 BOX 30046                                                                                                   CAGUAS            PR         00727‐9404
   691985 JUANITA AZIZE ORTIZ                         PO BOX 7619                                                                                                       CAGUAS            PR         00726‐7619
   691986 JUANITA BAEZ DIAZ                           BO SAN ANTONIO                                                                                                    CAGUAS            PR         00725

   691987 JUANITA BEAUCHAMP BONILLA                   URB ESTANCIAS DEL RIO       C 31 C/ GUAMANI BZN 467                                                               HORMIGUEROS       PR         00660
   691988 JUANITA BENITEZ LUGO                        PO BOX 1436                                                                                                       CAYEY             PR         00737
   691990 JUANITA BISBAL                              ALT DE BORINQUEN GARDEN     HH1 CALLE ORQUIDEA                                                                    SAN JUAN          PR         00926
   691991 JUANITA BODON VAZQUEZ                       URB PASEO SOL Y MAR         622 CALLE SERENITA                                                                    JUAN DIAZ         PR         00795
   691992 JUANITA BORGES                              HC 30 BOX 32614                                                                                                   SAN LORENZO       PR         00754
   691993 JUANITA BOSQUE CORDERO                      P O BOX 8132                FERNANDEZ JUNCOS STATION                                                              SAN JUAN          PR         00910‐8132
   254870 JUANITA C ALAMO GARCIA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   254871 JUANITA CALDERON MELENDEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   691994 JUANITA CAMACHO                             RES JARDINES DE BERWIND     EDIF O APT 159                                                                        SAN JUAN          PR         00924
   691995 JUANITA CARDEC RODRIGUEZ                    P O BOX 2304                                                                                                      JUNCOS            PR         00777
   691996 JUANITA CARRION                             VICTOR ROJAS II             108 CALLE 13                                                                          ARECIBO           PR         00612

   254873 JUANITA CARTAGENA BENITEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254874 JUANITA CARTAGENA GARCIA                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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   254875 JUANITA CASTRO MALDONADO                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   254876 JUANITA CECILIA LEON ORTIZ                  REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   691997 JUANITA CEPEDA                              BOX 185                                                                                                              LOIZA               PR           00772
   254877 JUANITA CHAMARRO LOPEZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   691998 JUANITA COLLAZO BURGOS                      URB SANTA JUANITA             WR‐19 CALLE DELFIN                                                                     BAYAMON             PR           00956
   691999 JUANITA COLON ALSINA                        BDA POLVORIN                  30 EVARISTO VAZQUEZ                                                                    CAYEY               PR           00736
                                                      BO FELIX CORDOVA DAVILA 176
   692000 JUANITA COLON BURGOS                        B                                                                                                                    MANATI              PR           00674
   692003 JUANITA COLON VDA BATISTA                   PO BOX 394                                                                                                           RIO BLANCO          PR           00744

   254878 JUANITA CORDOVA RODRIGUEZ                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   254879 JUANITA CORREA RODRIGUEZ                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   254881 JUANITA CRESPO LAGARES                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   254882 JUANITA CRUZ BURGOS                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   254883 JUANITA CRUZ CRUZ                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   254884 JUANITA CRUZ FALCON                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   692006 JUANITA CRUZ GONZALEZ                       RR 2 BOX 5262                                                                                                        CIDRA               PR           00739
   254885 JUANITA CRUZ REYES                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   692007 JUANITA CRUZ RIVERA                         C/O CONCILIACION (99‐272)                                                                                            SAN JUAN            PR           00904
   692008 JUANITA CRUZ TORRES                         APARTADO # 3                                                                                                         LARES               PR           00669

   692011 JUANITA DE JESUS ALMODOVAR                  3RA SECC LEVITTOWN            3624 CALLE MARGINAL OESTE                                                              TOA BAJA            PR           00949
   254886 JUANITA DE LEON ROSENDO                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   254887 JUANITA DEL VALLE DE JESUS                  REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   692013 JUANITA DEL VALLE MATOS                     URB P H HERNANDEZ             154 CALLE 4                                                                            RIO GRANDE          PR           00745
   692014 JUANITA DELGADO SOTO                        PMB 1202                      243 CALLE PARIS                                                                        SAN JUAN            PR           00917‐3632
   692015 JUANITA DIAZ                                HC 63 BOX 4358                                                                                                       PATILLAS            PR           00723‐9646
   254889 JUANITA DIAZ FIGUEROA                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   691970 JUANITA DIAZ GUILFU                         URB VISTAMAR                  446 CALLE PORTUGAL                                                                     CAROLINA            PR           00983
                                                      E 53 A 1042 LUIS LLORENS
   692016 JUANITA DIAZ ORTIZ                          TORRES                                                                                                               SAN JUAN            PR           00915
   254890 JUANITA DIAZ PEREZ                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   692017 JUANITA DIAZ PLAZA                          34 CALLE JOAQUIN POUPART                                                                                             LAS PIEDRAS         PR           00771
   692019 JUANITA DIAZ VELEZ                          HC01 BOX 5174                                                                                                        GUAYNABO            PR           00971
   254891 JUANITA DUMONT FERRER                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   692021 JUANITA E GOMEZ MOLINA                      COND PARK VIEW TERRACE        EDIF 6 APT 602                                                                         CANOVANAS           PR           00729
          JUANITA E. ROSADO Y/O HOGAR
   254893 JUANITA                     REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   254894 JUANITA ENCHAUTEGUI ROMAN REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JUANITA F /MARIA S / JOSEPH
   692024 BOUTIN                      706 COND PARKSIDE                                                                                                                    SAN JUAN            PR           00920
   692026 JUANITA FELICIANO DIAZ      HC 02 BOX 10260                                                                                                                      PONCE               PR           00795

   692027 JUANITA FIGUEROA CALDERON                   URB PARQUE ECUESTRE           D 69 CALLE 1                                                                           CAROLINA            PR           00987
   254895 JUANITA FIGUEROA CANCEL                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   254896 JUANITA FIGUEROA RODRIGUEZ REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   254897 JUANITA FIGUEROA SANTIAGO                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   692029 JUANITA FLECHA MERCED                       COOP CIUDAD UNIVERSITARIA     EDIF A APTO 1006                                                                       TRUJILLO ALTO       PR           00976



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  254898 JUANITA FONTANEZ REYES                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  254899 JUANITA FUENTES VAZQUEZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   692031 JUANITA GAMERON SANTIAGO                    P O BOX 43                                                                                                           GAROCHALES          PR         00652‐0043
   254900 JUANITA GARCIA BERMUDEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692033 JUANITA GARCIA FERNANDEZ                    BAIROA PARK                  H 13 PARQUE DEL CISNE                                                                   CAGUAS              PR         00725
   692034 JUANITA GARCIA GONZALEZ                     HC 01 BOX 5815                                                                                                       JUNCOS              PR         00777
   692035 JUANITA GARCIA LEON                         HC 1 BOX 3940                                                                                                        MAUNABO             PR         00707

   692036 JUANITA GARCIA MARTINEZ                     4TA SEC LEVITOWN             AH 13 CALLE MAGALY CENTRAL                                                              TOA BAJA            PR         00949
   692040 JUANITA GAYA CASTRO                         HC 02 BOX 14628                                                                                                      LAJAS               PR         00667
   692042 JUANITA GOMEZ RIVERA                        REPARTO METROPOLITANO        978 CALLE 15 SE                                                                         SAN JUAN            PR         00921
   692043 JUANITA GOMEZ TORRES                        VILLA DEL REY                3D 10 CALLE NORMANDRA                                                                   CAGUAS              PR         00725
   692044 JUANITA GONZALES ACEVEDO                    URB JARDINES DE ADJUNTAS     B 10 CALLE AMAPOLA                                                                      ADJUNTAS            PR         00601
   254901 JUANITA GONZALEZ ACEVEDO                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   692047 JUANITA GONZALEZ BORRERO                    URB VILLAS DEL OESTE         D 19 A CALLE ARIES                                                                      MAYAGUEZ            PR         00680
   692049 JUANITA GONZALEZ MILLAN                     EXT PARQUE ECUESTRE          F‐2 CALLE 11                                                                            CAROLINA            PR         00985
   692050 JUANITA GONZALEZ SERRANO                    URB VILLA CAROLINA 4TA EXT   141‐14 CALLE 411                                                                        CAROLINA            PR         00985

   692051 JUANITA GONZALEZ VALENTIN                   H C 58 BOX 13682                                                                                                     AGUADA              PR         00602‐9723
   254902 JUANITA GUZMAN BARBOSA                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692053 JUANITA HERNANDEZ AVILES                    PO BOX 3573                                                                                                          MAYAGUEZ            PR         00681
          JUANITA HERNANDEZ DE
   692054 CARRION                                     URB CAGUAS NORTE             T7 CALLE HAWAI                                                                          CAGUAS              PR         00725

   692055 JUANITA HERNANDEZ ROLDAN                    BOX 697                                                                                                              SABANA HOYOS        PR         00608

   254903 JUANITA HERNANDEZ SANTIAGO REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   692056 JUANITA HERNANDEZ SERRANO                   HC 20 BOX 24408                                                                                                      SAN LORENZO         PR         00754
   692057 JUANITA HERNANDEZ SOTO                      HC 1 BOX 7170                                                                                                        MOCA                PR         00676
   254904 JUANITA I COLOMBANI LOPEZ                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692059 JUANITA I GONZALEZ PEREZ                    URB EL DORADO                A 4 CALLE E                                                                             SAN JUAN            PR         00926
   254905 JUANITA II HOGAR                            APARTADO 141924                                                                                                      ARECIVO             PR         00614
          JUANITA JIMENEZ DE LA CRUZ Y
   692060 ROSANA SANT                                 RES VILLA DEL REY 2DA SECC   2 K 19 CALLE ORLEANS                                                                    CAGUAS              PR         00725
   692061 JUANITA JIMENEZ NIEVES                      RFD 02 BOX 7024                                                                                                      MANATI              PR         00674
   254906 JUANITA LEBRON GARCIA                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692063 JUANITA LEBRON ROMAN                        PO BOX 94                                                                                                            GUAYNABO            PR         00970
   692064 JUANITA LEON                                PO BOX 9021112                                                                                                       SAN JUAN            PR         00902‐1112

   692065 JUANITA LEON RIOS                           BORINQUEN TOWER I APT 113                                                                                            SAN JUAN            PR         00920
   691971 JUANITA LOPEZ GONZALEZ                      URB BAHIA VISTAMAR           1434 CALLE BARRACUDA                                                                    CAROLINA            PR         00983
   254907 JUANITA LOPEZ LOPEZ                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692070 JUANITA LOPEZ NIEVES                        RES LUIS LLORENS TORRES      EDIF 75 APT 1436                                                                        SAN JUAN            PR         00913
   692071 JUANITA LOPEZ RIVERA                        APARTADO 967                                                                                                         AIBONITO            PR         00705
   691972 JUANITA LOPEZ VICENTA                       PO BOX 231                                                                                                           SALINAS             PR         00751
   254909 JUANITA LOZADA SABASTRO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692072 JUANITA LUGO CARDONA                        COND TEH FALLS APTO D 5                                                                                              GUAYNABO            PR         00966

   254910 JUANITA LUZ RABASSA TORRES                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   254911 JUANITA M OLIVERAS RAMIREZ                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   254912 JUANITA M RODRIGUEZ MONTES REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   692073 JUANITA MAISONET ADORNO    PO BOX 270078                                                                                                                   SAN JUAN            PR           00936
   254913 JUANITA MALPICA ARROYO     REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   692075 JUANITA MANSO CRUZ           PORTAL DE LA REINA APT 251                 1306 AVE MONTECARLO                                                                SAN JUAN            PR           00924
          JUANITA MARQUEZ GOMEZ / JM
   254914 ENTERTAINMENT                URB LOS COLOBOS PARK                       1201 CALLE ALMENDRO                                                                CAROLINA            PR           00985
          JUANITA MARQUEZ GOMEZ DBA C / ALMENDRO 1201 URB. LOS
   254915 JM ENTERTAINMU               COLOBOS PARK                                                                                                                  CAROLINA            PR           00985‐0000
          Juanita Marquez Gomez DBA JR
   831441 Entertainment Group          Almendro 1201                              Urb. Los Colobos Park                                                              Carolina            PR           00985
   692076 JUANITA MARRERO PADIN        URB PUERTO NUEVO                           1011 CALLE 10 NE                                                                   SAN JUAN            PR           00920
   692077 JUANITA MARTINEZ             HC 43 BOX 11035                            MATON ABAJO                                                                        CAYEY               PR           00736

   254916 JUANITA MARTINEZ MARTINEZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   692080 JUANITA MARTINEZ MORALES                    URB VERDE MAR               1070 CALLE 20                                                                      PUNTA SANTIAGO      PR           00741

   692081 JUANITA MARTINEZ RODRIGUEZ                  URB LAS MERCEDES            I 163 CALLE 1                                                                      LAS PIEDRAS         PR           00771
   254917 JUANITA MARTINEZ URBINA                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   254918 JUANITA MARTINEZ VELEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   692082 JUANITA MATOS                               BO DAGUAO BOX 630                                                                                              NAGUABO             PR           00718
   254919 JUANITA MAYSONET PI¥EIRO                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   692083 JUANITA MEDINA BERNARD                      PO BOX 30040                65 INFANTERIA STATION                                                              SAN JUAN            PR           00929
   692084 JUANITA MEDINA MARTINEZ                     PO BOX 143694                                                                                                  ARECIBO             PR           00614
   692085 JUANITA MEDINA RIOS                         195 CAMPO ALEGRE PDA 18                                                                                        SAN JUAN            PR           00907

   254920 JUANITA MELENDEZ CENTENO                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   692086 JUANITA MELENDEZ DAVILA                     URB JARDINES DE BORINQUEN   W 13 CALLE ROSA                                                                    CAROLINA            PR           00985
   254921 JUANITA MELENDEZ DIAZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   692087 JUANITA MELENDEZ LOPEZ                      PO BOX 70184                                                                                                   SAN JUAN            PR           00936‐8184
   254922 JUANITA MELENDEZ RIVERA                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JUANITA MENDEZ LALLAVE /
   692089 CARMEN ROSA                                 URB VICTORIA                5 CALLE GIRASOL                                                                    AGUADILLA           PR           00603
   692088 JUANITA MENDEZ ROMAN                        HC 1 BOX 4781                                                                                                  CAMUY               PR           00627
   692090 JUANITA MERCED MASAS                        HC 1 BOX 7474                                                                                                  LAS PIEDRAS         PR           00771
                                                      P O BOX 40853 MINILLAS
   692091 JUANITA MILLS BRUNO                         STATION                                                                                                        SAN JUAN            PR           00940‐0553
   692092 JUANITA MOLINA RIVERA                       P O BOX 364466                                                                                                 SAN JUAN            PR           00936‐4466
   254923 JUANITA MORALES GUZMAN                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   254924 JUANITA MORALES TORRES                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   254925 JUANITA MORALES VARGAS                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   692095 JUANITA MORALES VEGA                        LOMAS DE TRUJILLO           B 7 CALLE 1                                                                        TRUJILLO ALTO       PR           00976
          JUANITA MORALES Y EVELYN
   254926 SEAMAN                                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   692096 JUANITA MORRABAL CINTRON                    URB COSTA AZUL              HH 17 CALLE 12                                                                     GUAYAMA             PR           00784
   692098 JUANITA MULERO BAEZ                         URB MATIENZO CINTRON        529 CALLE PUEBLA                                                                   SAN JUAN            PR           00923
   254928 JUANITA NATER ARROYO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   254929 JUANITA NIEVES ARCHILLA                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  692100 JUANITA NIEVES RODRIGUEZ                     BO CERRO ABAJO LA SABANA     HC 7 BOX 3305                                                                        NARANJITO         PR         00719‐9714
  254930 JUANITA NIEVES VAZQUEZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254931 JUANITA NUNEZ CORDOVA                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  692102 JUANITA OJEDA MEJIAS                         HC 2 BOX 8249                                                                                                     CIALES            PR         00638‐9746
  692103 JUANITA OLIVER RIVERA                        P O BOX 361207                                                                                                    SAN JUAN          PR         00936‐1207
  692104 JUANITA OLIVERAS RAMIREZ                     REPTO MACIAS                 162 AVE PORVENIR                                                                     MAYAGUEZ          PR         00680
  692105 JUANITA OLIVIERI SANTANA                     P O BOX 2112                                                                                                      CAROLINA          PR         00984
  692106 JUANITA ORTIZ DE JESUS                       URB SEVILLA                  940 CALLE PAGANINI                                                                   SAN JUAN          PR         00924
  692107 JUANITA ORTIZ DIAZ                           EMBALSE SAN JOSE             451 C/JARANDILLA                                                                     SAN JUAN          PR         00923
  254934 JUANITA ORTIZ GUZMAN                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  254935 JUANITA ORTIZ ORTIZ                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  692109 JUANITA ORTIZ RAMOS                          PO BOX 494                                                                                                        CIDRA             PR         00739
  254936 JUANITA OSORIO BOULOGNE                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   692111 JUANITA PABON SANCHEZ                       91 CALLE PERPETUO SOCORRO                                                                                         GUAYAMA           PR         00784
   692112 JUANITA PADILLA ORTIZ                       BO PARCELAS VAZQUEZ          PARC 18 CASA 4                                                                       SALINAS           PR         00751
                                                      PUERTA DE TIERRA CALLE SAN
   692113 JUANITA PAGAN ROSADO                        AGUSTIN                      EDIF 311 APT 101 A                                                                   SAN JUAN          PR         00901
   692114 JUANITA PAGAN TORRES                        PO BOX 801                                                                                                        VEGA BAJA         PR         00694

   692115 JUANITA PARODI CARRASQUILLO URB MONTE BRISAS                             S 3 CALLE Q                                                                          FAJARDO           PR         00738
   692116 JUANITA PASTRANA SIERRA     URB LA PLATA                                 H 1 CALLE TOPACIO                                                                    CAYEY             PR         00736
   254938 JUANITA PERALES ALVARADO    REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254939 JUANITA PEREZ LOPEZ         REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254940 JUANITA PEREZ MELENDEZ      REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254941 JUANITA PEREZ MONTALVO      REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254942 JUANITA PEREZ PEREZ         REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254943 JUANITA PINEIRO VIERA       REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   692119 JUANITA QUILES ARVELO       HC 2 BOX 7493                                                                                                                     CAMUY             PR         00627‐9113
   254944 JUANITA QUINONES FLORES     REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   692120 JUANITA RAMOS CARRASQUILLO URB COUNTRY CLUB                              874 CALLE FELIPE ROEY                                                                SAN JUAN          PR         00924
   692121 JUANITA RAMOS COLON        URB FOREST HILLS                              H 10 CALLE 3                                                                         BAYAMON           PR         00959
   692122 JUANITA RAMOS CRUZ         RES PUERTA DE TIERRA                          EDIF H APT 140                                                                       SAN JUAN          PR         00901
   692123 JUANITA RAMOS RIVAS        URB ROOSEVELT                                 419 CALLE JOSE R ACOSTA                                                              SAN JUAN          PR         00918
          JUANITA RAMOS Y/O ELENA
   254947 RAMOS                      REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254948 JUANITA REINA PAGAN        REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   692125 JUANITA REYES AYALA        COND EL TAINO                                 EDIF K APT 301 SAN JOSE                                                              RIO PIEDRAS       PR         00923
   254949 JUANITA REYES MEDINA       REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   692126 JUANITA REYES PADILLA      HC 04 BOX 3017                                                                                                                     FLORIDA           PR         00650
   254951 JUANITA REYES RONDON       REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254952 JUANITA RIVERA CAMACHO     REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   692129 JUANITA RIVERA CAMPIS      HC 01 BOX 10056                                                                                                                    CABO ROJO         PR         00623
   254953 JUANITA RIVERA DE JESUS    REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   254954 JUANITA RIVERA DIAZ        REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                     URB CAGUAS NORTE AH 10
   692131 JUANITA RIVERA FIGUEROA    CALLE QUEBEC                                                                                                                       CAGUAS            PR         00725
                                     URB LEVITTOWN 1699 PASEO
   691968 JUANITA RIVERA GARCIA      DUNA                                                                                                                               TOA BAJA          PR         00949
                                     URB MANSIONES DE RIO
   692132 JUANITA RIVERA GARCIA      PIEDRAS                                       1797 CALLE GARDENIA                                                                  SAN JUAN          PR         00926‐7212
   692133 JUANITA RIVERA HERNANDEZ   320 CALLE JOSE OLMO                                                                                                                ARECIBO           PR         00612



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  692134 JUANITA RIVERA LLANOS                        URB EL COMANDANTE        384 CALLE SAN CARLOS                                                               CAROLINA            PR           00982
  692135 JUANITA RIVERA MATIAS                        HC 1 BOX 4163                                                                                               UTUADO              PR           00641
  692136 JUANITA RIVERA MERCADO                       URB LAS GARDENIAS        2 CALLE HORTENCIA                                                                  MANATI              PR           00674
  692137 JUANITA RIVERA RIVERA                        LA PLATA                 N 5 CALLE TOPACIO                                                                  CAYEY               PR           00736
  692139 JUANITA RIVERA SANTIAGO                      COND BAYAMONTE           APTO 1711                                                                          BAYAMON             PR           00956
  692140 JUANITA ROBLES ARROYO                        P O BOX 33                                                                                                  JAYUYA              PR           00664
         JUANITA ROBLES
  254955 ARROYOJUANITA                                REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  254956 JUANITA ROBLES VELAZQUEZ                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
         JUANITA RODRIGUEZ
  254957 CANDELARIO                                   REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
         JUANITA RODRIGUEZ
  254958 CARRASQUILLO                                 REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  692143 JUANITA RODRIGUEZ CASTRO                     HC 1 BOX 7472                                                                                               CANOVANAS           PR           00729

   692144 JUANITA RODRIGUEZ MARREEO                   PO BOX 21636                                                                                                SAN JUAN            PR           00931

   771131 JUANITA RODRIGUEZ MARRERO                   REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   254959 JUANITA RODRIGUEZ NOBLE                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   254960 JUANITA RODRIGUEZ RAMOS                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   692147 JUANITA RODRIGUEZ RIVERA                    RIO GRANDE ESTATE        L 40 CALLE 17                                                                      RIO GRANDE          PR           00745

   254961 JUANITA RODRIGUEZ RODRIGUEZ REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   692149 JUANITA RODRIGUEZ ROSARIO                   BO MAMEY I               SECTOR PEDRO REYES                                                                 GUAYNABO            PR           00967
   692150 JUANITA RODRIGUEZ TORRES                    RR 2 BOX 8284                                                                                               TOA ALTA            PR           00953
   254963 JUANITA ROJAS RODRIGUEZ                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   254964 JUANITA ROLDAN MEDINA                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   692154 JUANITA ROSA ALICEA                         URB MARIOLGA             P 39 CALLE SAN MIGUEL                                                              CAGUAS              PR           00725
   692155 JUANITA ROSA DEL VALLE                      HC 20 BOX 26016                                                                                             SAN LORENZO         PR           00754
   254965 JUANITA ROSA TRINIDAD                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   254966 JUANITA ROSADO SANTIAGO                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   254968 JUANITA ROSARIO CAMACHO                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   692157 JUANITA ROSARIO FALCON                      HC 01 BOX 25820                                                                                             CAGUAS              PR           00725
   254969 JUANITA ROSARIO FRANCO                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   692158 JUANITA RUIZ RAMOS                          BO PALO SECO             BZN 32 A                                                                           MAUNABO             PR           00707
   692160 JUANITA SANCHEZ RIVERA                      PO BOX 300                                                                                                  GUAYNABO            PR           00970‐0300
   691974 JUANITA SANCHEZ TRINIDAD                    HC 02 BOX 10145                                                                                             GUAYNABO            PR           00971
   254971 JUANITA SANTANA NOLASCO                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   254972 JUANITA SANTANA RAMOS                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                      81 C/ EUGENIO MARIA DE
   692162 JUANITA SANTIAGO                            HOSTOS                                                                                                      JUANA DIAZ          PR           00795
   692163 JUANITA SANTIAGO MELECIO                    P O BOX 11398                                                                                               SAN JUAN            PR           00910‐1398

   254973 JUANITA SANTIAGO VELAZQUEZ                  REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   692165 JUANITA SEGARRA OLIVENCIA                   P O BOX 620                                                                                                 HORMIGUERO          PR           00660
          JUANITA SEGARRA YO VICTOR
   692166 SEGARRA ROLDAL                              BO PINAS                 HC 03 BOX 8000                                                                     JUNCOS              PR           00777
   691975 JUANITA SEPULVEDA LOPEZ                     URB VILLAS DE LOIZA      0 50 CALLE 16                                                                      CANOVANAS           PR           00729
   691976 JUANITA SIERRA GONZALEZ                     COND FONTANA TOWERS      APT 804                                                                            CAROLINA            PR           00987
   692167 JUANITA SOLA DELGADO                        J1 VILLA CARMEN                                                                                             CAGUAS              PR           00725
   692168 JUANITA SOLER MELENDEZ                      BDA SANDIN               44 A CALLE URANO                                                                   VEGA BAJA           PR           00693‐3253
   692169 JUANITA SOSA PEREZ                          HC 01 BOX 11463                                                                                             CAROLINA            PR           00985



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  692170 JUANITA SOTO MONROIG                         ADM DE SISTEMAS DE RETIRO   PO BOX 42003                                                                            SAN JUAN          PR           00940‐2003
  692173 JUANITA TORRES                               620 WEST MAIN ST                                                                                                    HUMMELSTOWN       PA           17036‐1208
         JUANITA TORRES /ROSARIO
  254975 PEREZ                                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  692175 JUANITA TORRES COLON                         HC 8 BOX 327                                                                                                        PONCE             PR           00731‐9704
  692176 JUANITA VAZQUEZ                              HC 3 BOX 40663                                                                                                      CAGUAS            PR           00725
  254978 JUANITA VAZQUEZ ARROYO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  692177 JUANITA VAZQUEZ GOMEZ                        HC 6 BOX 76070                                                                                                      CAGUAS            PR           00725‐9518
  254979 JUANITA VAZQUEZ ROSADO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  692179 JUANITA VAZQUEZ SANCHEZ                      HC 03 BOX 14871                                                                                                     COROZAL           PR           00783
  254980 JUANITA VEGA PEDROZA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  692180 JUANITA VEGA RIOS                            JARD DE TOA ALTA            350 CALLE 10                                                                            TOA ALTA          PR           00953
                                                      C/CORTIJO #485, BARRIO
   692182 JUANITA VEGA VALENTIN                       OBRERO                                                                                                              SANTURCE          PR           00915
   254981 JUANITA VELAZQUEZ                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   692185 JUANITA VELEZ ECHEVARRIA                    PO BOX 51217                                                                                                        TOA BAJA          PR           00950

   692186 JUANITA VERA ROSADO                         VILLA FONTANA PARK          5 EE 11                      CALLE PARQUE MUNOZ RIVERA                                  CAROLINA          PR           00983

   692188 JUANITA VICENTE COLON                       232 AVE ELEONOR ROOSEVELT                                                                                           SAN JUAN          PR           00907
   254982 JUANITA VILLOT ORTIZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   692189 JUANITA ZAYAS VAZQUEZ                       P O BOX 5921                                                                                                        CAGUAS            PR           00726
   692190 JUANITAS SANTOS VARGAS                      AM 29 CALLE RIO MAMEYES                                                                                             SAN JUAN          PR           00961
   254983 JUANITO HIDALGO SOTO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   254984 JUANITO JIMENEZ MORALES                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   254985 JUANITO PEREZ BRITO                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   692191 JUANITO QUINTANA HERNANDEZ BO MANI CARR 341                             BZN 5512 CALLE LA FLORESTA                                                              MAYAGUEZ          PR           00680
   692192 JUANJOS TRAVEL SERVICE     MINILLAS STATIONS                            PO BOX 41102                                                                            SAN JUAN          PR           00940
   254987 JUANL ROSADO FLORES        REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   692193 JUANRA GULF SERVICE STATION A 2 URB SAN MIGUEL                                                                                                                  SAN LORENZO       PR           00754
   254989 JUAR GON CORP               1745 AVE JESUS T PINERO                                                                                                             SAN JUAN          PR           00920

   255060 JUARBE MALAVE MD, HECTOR                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   255119 JUARBE SANTOS MD, CHARLES                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   255120 JUARBE SERRANO, GLENDA I                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  1420126 JUARBE SERRANO, ISAMAR                      NOEL TORRES ROSADO          PO BOX 777                                                                              ARECIBO           PR           00613
  1420127 JUARBE SOTO, EFRAIN                         EFRAIN JUARBE SOTO          P.O BOX 3000 SUITE 189                                                                  ANGELES           PR           00611
   255148 JUARELYS SANTIAGO QUILES                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   692195 JUBA REALTY INC                             PO BOX 40849                MINILLAS STATION                                                                        SAN JUAN          PR           00940
   255151 JUBEN DELGADO DAVILA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          JUBENCIO CARABALLO
   692197 MARTINEZ                                    BO PALOMAS                  2 CALLE 5                                                                               YAUCO             PR           00698
   255152 JUBENCIO CASTRO MORALES                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   255153 JUBETSY ALICEA SOLIVERAS                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   255154 JUBETTSSY M ESCUDERO SAEZ                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          JUBILEE GOSPEL PRODUCTIONS
   692198 INC                                         PO BOX 11221                                                                                                        SAN JUAN          PR           00910‐2321

   255155 JUBILEE INVESTMENT GROUP INC PO BOX 11221                                                                                                                       SAN JUAN          PR           00910‐2321



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  255156 JUBILEE Z CHIESA GONZALEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  692199 JUCAR COACH AND TOURS                         PO BOX 9546                                                                                                     CAGUAS               PR         00726
  692200 JUDARYS MARRERO                               BOX 417                                                                                                         VEGA ALTA            PR         00692
  255158 JUDCEL QUILES ESTREMERA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   255160 JUDE ACLOQUE MALLEBRANCHE REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   255162 JUDEX CANCEL TORRES       REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   255165 JUDICELY RODRIGUEZ MARTINEZ REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   255166 JUDIEL A GONZALEZ RODRIGUEZ                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   692203 JUDILEE SANTIAGO CANCEL                      RR 1 BOX 16030                                                                                                  TOA ALTA             PR         00953
   692204 JUDIMAR NEGRON REYES                         271 CALLE LUNA APT 3 F                                                                                          SAN JUAN             PR         00901
   692205 JUDIMAR PEREZ REYES                          COND BOSQUE DEL RIO           APT H 201 BUZON 55                                                                TRUJILLO ALTO        PR         00976‐3153
   255167 JUDIT P NUNEZ RODRIGUEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   255169 JUDITH A CARRION RODRIGUEZ                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   692211 JUDITH A GOMEZ MARTINEZ                      232 AVE ELEONOR ROOSEVELT                                                                                       SAN JUAN             PR         00907
   255170 JUDITH A TORRES KILGORE                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   255171 JUDITH A. TORRES KILGORE                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   255172 JUDITH ABREU GONZALEZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   255173 JUDITH AGOSTO NATAL                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JUDITH ALEJANDRO RESTO MD,
   255175 MARIA                                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   692212 JUDITH ALVALLE MEJIAS                        I 2 CALLE JOSE DE DIEGO INT                                                                                     CIDRA                PR         00739
   255176 JUDITH ANDUJAR QUINONES                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   692213 JUDITH ANGLERO                               SICOSOCIAL TRUJILLO ALTO                                                                                        Hato Rey             PR         009360000
   255177 JUDITH AVILES                                REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   255178 JUDITH AVILES ROMERO                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   692217 JUDITH B VAZQUEZ HIDALGO                     PO BOX BAYAMON GARDENS STA                                                                                      BAYAMON              PR         00958

   692218 JUDITH BAEZ                                  VILLA COOPERATIVA G21 CALLE 9                                                                                   CAROLINA             PR         00985
   692219 JUDITH BAEZ BAEZ                             PO BOX 470                                                                                                      LUQUILLO             PR         00773
   255179 JUDITH BAEZ TORRES                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   692220 JUDITH BARBOSA                               RES EL DORADO                 EDIF 6 APAT 41                                                                    DORADO               PR         00646
   692221 JUDITH BECERRIL                              VILLAS DE LOMAS VERDES        EDIF F APT 203                                                                    SAN JUAN             PR         00926
   692223 JUDITH BENZAQUEN PARKES                      202 ST LOIZA CORDERO                                                                                            SAN JUAN             PR         00918‐3313
   692224 JUDITH BERKAN                                URB HYDE PARK                 206 CALLE LAS MARIAS                                                              SAN JUAN             PR         00927
   255181 JUDITH BONILLA SANTOS                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   255182 JUDITH BORRERO WALKER                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   255183 JUDITH C RAMOS DAVILA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   692227 JUDITH CABASSA ASENCIO                       CONDADO 67                    CALLE WASHINGTON                                                                  SAN JUAN             PR         00907
   255184 JUDITH CALA GONZALEZ                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   255185 JUDITH CANCEL MONTES                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   692229 JUDITH CARTAGENA VEGA                        21 BO PUEBLO SECO                                                                                               TRUJILLO ALTO        PR         00976
   255186 JUDITH CASTRO SANTIAGO                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   692231 JUDITH CATERING                              EXT VILLA LOS SANTOS I        99 C/ ESTRELLA                                                                    ARECIBO              PR         00612
   692232 JUDITH CENTENO DIAZ                          P O BOX 190136                                                                                                  SAN JUAN             PR         00919‐0136
   692233 JUDITH CERVONI FIGUEROA                      HC 02 BZN 8024                                                                                                  GUAYANILLA           PR         00698
   255187 JUDITH CINTRON RODRIGUEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   255188 JUDITH CLASS MUNIZ                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  692235 JUDITH COLLAZO GARCIA                        URB EL CORTIJO        A Q 60 CALLE 18                                                                        BAYAMON             PR         00956
  255189 JUDITH COLON SUAREZ                          REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  255191 JUDITH CONCEPCION                            REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   692237 JUDITH CONCEPCION FERREIRA                  URB LAS CUMBRES       497 CALLE E POL SUITE 701                                                              SAN JUAN            PR         00926
   255192 JUDITH CONDE PACHECO                        REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      COND COOP CUIDAD
   692238 JUDITH CORTES GARBAN                        UNIVERSITARIA         EDIF A APT 209                                                                         TRUJILLO ALTO       PR         00976
   255193 JUDITH CRUZ                                 REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692207 JUDITH CRUZ GONZALEZ                        URB LOMAS VERDES      T 11 CALLE AMAPOLA                                                                     BAYAMON             PR         00956
   255194 JUDITH D FONSECA SANTIAGO                   REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUDITH DE JESUS C/O BENITO
   692242 RODRIGUEZ                                   PO BOX 1192                                                                                                  COAMO               PR         00769
   255195 JUDITH DE JESUS MORALES                     REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255196 JUDITH DE LEON QUINONES                     REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   692243 JUDITH DEL VALLE RODRIGUEZ                  HC 02 BOX 13436                                                                                              AGUAS BUENAS        PR         00703
   692244 JUDITH DELGADO DE LA PAZ                    URB DELGADO           E 14 CALLE 7                                                                           CAGUAS              PR         00725
   692245 JUDITH DIANA TORRES                         HC 2 BOX 9802                                                                                                JUANA DIAZ          PR         00795
   692246 JUDITH DIAZ                                 VILLA DEL CARMEN      XX11 CALLE 5                                                                           PONCE               PR         00731
   255198 JUDITH DRUET MARTINEZ                       REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255199 JUDITH DUENAS PENA                          REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692249 JUDITH E RIO                                HC 01 6709                                                                                                   AIBONITO            PR         00705
   255200 JUDITH E SANTIAGO ORTIZ                     REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692251 JUDITH E SCOOT SANCHEZ                      PO BOX 251                                                                                                   YABUCOA             PR         00767
   692252 JUDITH E SERRANO ALICEA                     P O BOX 1558                                                                                                 CIDRA               PR         00739
   255202 JUDITH ERAZO RIVERA                         REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255203 JUDITH ESPINOSA GUTIERREZ                   REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255204 JUDITH ESPINOSA ORTEGA                      REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255205 JUDITH ESPINOZA GUITIERREZ                  REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUDITH ESTHER CAPETILLO
   692258 BERMUDEZ                                    URB LINDA GARDENS     74 CALLE SAUCE                                                                         GUAYNABO            PR         00971
   692260 JUDITH FELICIANO CORDERO                    HC 3 BOX 35434                                                                                               AGUADILLA           PR         00603
   692261 JUDITH FERNANDEZ ROLDAN                     1001 MIRAMAR AVE                                                                                             ARECIBO             PR         00612
   255207 JUDITH FIGUEROA TORRES                      REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255208 JUDITH FLORES AYALA                         REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692262 JUDITH FUENTES HERNANDEZ                    SAN PATRICIO BOX 93                                                                                          LOIZA               PR         00772
   692264 JUDITH GARCIA MARCANO                       PO BOX 8784                                                                                                  VEGA BAJA           PR         00694
   692265 JUDITH GAUTIER MILLAN                       URB CONDADO VIEJO     CALLE MAGNOLIA 73                                                                      CAGUAS              PR         00725
   692266 JUDITH GERENA CRUZ                          HC 866 BOX 9450                                                                                              FAJARDO             PR         00738
   692267 JUDITH GOMEZ CABRERA                        HC 1 BOX 6410                                                                                                JUNCOS              PR         00777‐9714
   255209 JUDITH GOMEZ ROSARIO                        REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692268 JUDITH GONZALEZ                             SANTA CLARA           U 14 CALLE CALABURA                                                                    GUAYNABO            PR         00969
   692270 JUDITH GONZALEZ MATOS                       PO BOX 105                                                                                                   BARRANQUITAS        PR         00794
   255210 JUDITH GONZALEZ OCASIO                      REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255211 JUDITH GONZALEZ SANCHEZ                     REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692272 JUDITH GONZALEZ SOLIS                       BONNEVILLE HEIGHTS    62 AGUAS BUENAS                                                                        CAGUAS              PR         00725
   255212 JUDITH GONZALEZ VALERA                      REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   255213 JUDITH GUADALUPE RODRIGUEZ REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692274 JUDITH HERNANDEZ           HC 01 BOX 8267                                                                                                                GURABO              PR         00778

   692208 JUDITH HERNANDEZ MERCADO                    PO BOX 8036                                                                                                  SAN JUAN            PR         00910



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  692275 JUDITH HERNANDEZ ROSADO                      PO BOX 2121                                                                                                     RIO GRANDE        PR           00745

   255214 JUDITH HERNANNDEZ SERRANO REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   255216 JUDITH HIRSCH SELSBY      REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   255217 JUDITH I ECHEVARRIA DE JESUS                REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   692276 JUDITH I HERNANDEZ PADIN                    HC 02 BOX 8087                                                                                                  QUEBRADILLAS      PR           00678
   692279 JUDITH I VIERA GARCIA                       110 MANSIONES DE BAIROA                                                                                         CAGUAS            PR           00727‐1160
   692281 JUDITH ISAAC PABON                          VILLAS DE LOIZA           AB 10 CALLE 25                                                                        CANOVANAS         PR           00729
   692282 JUDITH J JIMENEZ RIVERA                     PMB 479                   PO BOX 6017                                                                           CAROLINA          PR           00984
   692284 JUDITH J LOPEZ SANTIAGO                     BOX 368                                                                                                         AGUAS BUENAS      PR           00703
          JUDITH J SANCHEZ / HOMAR
   255218 TORRES                                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   692285 JUDITH JIMENEZ CRUZ                         PO BOX 1818                                                                                                     ISABELA           PR           00662
   692287 JUDITH JIMENEZ MATOS                        PO BOX 7401                                                                                                     CAROLINA          PR           00986
   692289 JUDITH L DAVILA LONEMA                      PO BOX 8610               FERNANDEZ JUNCOS STATION                                                              SAN JUAN          PR           00910‐0610
   692290 JUDITH L MEDINA PERFECTO                    URB MONTE BRISAS          5 R 13 CALLE 10                                                                       FAJARDO           PR           00738
   692291 JUDITH L ROSARIO ORTIZ                      HC BOX 3613                                                                                                     NARANJITO         PR           00719
   255220 JUDITH LOPEZ TENES                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   692294 JUDITH M ACOSTA MONGE                       BO OBRERO                 658 ALTOS C/ 10                                                                       SAN JUAN          PR           00915
   692295 JUDITH M ALVAREZ COIRA                      URB CAPARRA HEIGHTS 556   CALLE ELMO                                                                            SAN JUAN          PR           00920
   255222 JUDITH M COLON BERMUDEZ                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   255223 JUDITH M CONCEPCION OLIVO                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   692296 JUDITH M GONZALEZ CRUZ                      HC 1 BOX 11670                                                                                                  RIO GRANDE        PR           00745
   255226 JUDITH M MARCOS                             REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   692298 JUDITH M MATOS MELENDEZ                     COOP VILLA KENNEDY        EDIF 8 APT 178                                                                        SAN JUAN          PR           00915
   692299 JUDITH M RAMOS RIVAS                        144 CALLE VEVE CALZADA                                                                                          FAJARDO           PR           00738

   692300 JUDITH M RODRIGUEZ APONTE                   URB VILLA DEL CARMEN      218 CALLE SEGOVIA                                                                     PONCE             PR           00716‐2101

   692301 JUDITH M RODRIGUEZ RIVERA                   HC 764 BOX 6106                                                                                                 PATILLAS          PR           00723

   692302 JUDITH M RODRIGUEZ TORRES                   6 HACIENDA LA CIDRA                                                                                             CIDRA             PR           00739
          JUDITH M RODRIGUEZ
   255227 VELAZQUEZ                                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   255230 JUDITH M SOSA RODRIGUEZ                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   692304 JUDITH M SOTO MARTINEZ                      2431 MIRADOR LADE         APT 208                                                                               WESLEY SHAPEL     FL           33543000

   692293 JUDITH M Y RAFAEL HERNANDEZ 15 MONTE APOLO ESTATE                                                                                                           SAN JUAN          PR           00926
   692305 JUDITH M ZAYAS RODRIGUEZ    URB RIO HONDO                             4 DI 15 CALLE PRADOS                                                                  BAYAMON           PR           00961‐3305
   255231 JUDITH M. ROSARIO SANTEL    REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   255232 JUDITH MALDONADO            REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   692307 JUDITH MARRERO LEBRON       URB COUNTRY CLUB                          M I 4 CALLE 410                                                                       CAROLINA          PR           00982
   255233 JUDITH MARRERO MELENDEZ     REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   692309 JUDITH MEDINA RODRIGUEZ     BALCONES DE SANTA MARIA                   1500 AVE SAN IGNACIO                                                                  SAN JUAN          PR           00921
   255235 JUDITH MELENDEZ INFANTE     REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   692310 JUDITH MELENDEZ MARRERO     COND LAS GLADIOLAS                        EDIF 300 APT 408                                                                      SAN JUAN          PR           00918
          JUDITH MELENDEZ Y DOMINGA
   255236 ORTIZ                       REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   692311 JUDITH MENDEZ MEJIAS        D 2 CALLE ECUADOR                                                                                                               CIDRA             PR           00739
   255237 JUDITH MENDEZ PORRATA       REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   255238 JUDITH MERCADO COLON        REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  255239 JUDITH MERCADO ROSADO                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  692313 JUDITH MONTALVO CASIANO                      206 CALLE ARROYO MESTRE                                                                                               MAYAGUEZ           PR         00680
  692314 JUDITH MONTES RIVERA                         PO BOX 9013                                                                                                           CAGUAS             PR         00726
  692315 JUDITH MORALES                               KINGSHILL                   PO BOX 3268                                                                               ST CROIX           VI         00851
  255241 JUDITH MUNIZ GONZALEZ                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  255242 JUDITH MUNIZ QUILES                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  255243 JUDITH MUNIZ RIVERA                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  692318 JUDITH N RODRIGUEZ LOPEZ                     92 PRLONGACION STA ROSA                                                                                               GUANICA            PR         00653
  255245 JUDITH NARVAEZ MARRERO                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  255246 JUDITH NIEVES VELEZ                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  692319 JUDITH OLMO TORO                             BSA ISRAEL 190              CALLE PARAGUAY                                                                            SAN JUAN           PR         00917
  692320 JUDITH ORTIZ ARROYO                          601 PINE ST                                                                                                           BROOKLYN           NY         11208
  692321 JUDITH ORTIZ DE JESUS                        HC 1 BOX 6263                                                                                                         ARROYO             PR         00714
  255248 JUDITH OTERO MARTINEZ                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  692322 JUDITH PADILLA MARTINEZ                      5TA SECCION LEVITTOWN       DD 9 CALLE LAGO CARITE                                                                    TOA BAJA           PR         00949
  255249 JUDITH PAGAN MORALES                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  692324 JUDITH PEREZ FLORES                          URB BUNKER                  236 CALLE MEJICO                                                                          CAGUAS             PR         00725
  255250 JUDITH PEREZ GRIMALDI                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  692327 JUDITH PIZARRO ADORNO                        MSC 143                     RR 36 BOX 1390                                                                            SAN JUAN           PR         00926
  692328 JUDITH PIZARRO TORRES                        PO BOX 409                                                                                                            PUNTA SANTIAGO     PR         00741
  255251 JUDITH POMALES SANTIAGO                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  255252 JUDITH PRATTS QUINTANA                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  692329 JUDITH QUILES ROSA                           HC 2 BOX 8362                                                                                                         QUEBRADILLAS       PR         00678
  255253 JUDITH QUINONES ARROYO                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  255255 JUDITH QUINONES ROMAN                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  255256 JUDITH QUINTERO VEGA                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  255257 JUDITH R FELIPE BRILLANTE                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  255258 JUDITH R VEGA BRUNET                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  255259 JUDITH RAMIREZ ROLDAN                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  692331 JUDITH RAMOS                                 BO BORINQUEN                BOX 2150                                                                                  AGUADILLA          PR         00603
  692332 JUDITH RAMOS RIVERA                          URB VENUS GDNS              646 CALLE AFRODITA                                                                        SAN JUAN           PR         00926
  692333 JUDITH REPOLLET MENDEZ                       HC 2 BOX 49065                                                                                                        VEGA BAJA          PR         00693
  692206 JUDITH RIOS CASTRO                           PARQ DEL MONTE              LL 6 CALLE ORAYOAN                                                                        CAGUAS             PR         00725
         JUDITH RIOS FORTY/MULTI
  255260 BATERRIES                                    AND FORKLIFTS               JARDINES CAROLINA C6 CALLE D                                                              CAROLINA           PR         00987
  692336 JUDITH RIVERA ALVARADO                       BO.PALO HINCADO             HC 2 BOX 8800                                                                             BARRANQUITAS       PR         00794
  692338 JUDITH RIVERA CABAN                          HC 5 BOX 51129                                                                                                        AGUADILLA          PR         00603‐9520

   692339 JUDITH RIVERA DAVILA                        URB JARDINES DE CANOVANAS   I 19 CALLE 4                                                                              CANOVANAS          PR         00729
   255261 JUDITH RIVERA IRIZARRY                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JUDITH RIVERA PARA PAOLA N
   255262 MARRERO                                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   692340 JUDITH RIVERA RAMOS                         REPTO FLAMINGO              F 9 ISLA NENA                                                                             BAYAMON            PR         00957
   255263 JUDITH ROBLES LOZADA                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   255264 JUDITH ROBLES LOZADO                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   692341 JUDITH RODRIGUEZ ALICEA                     HC 07 BOX 2368                                                                                                        PONCE              PR         00731

   692343 JUDITH RODRIGUEZ DIAZ                       EL COMANDANTE               940 CALLE CARMEN HERNANDEZ                                                                SAN JUAN           PR         00924
   255265 JUDITH RODRIGUEZ PEREZ                      REDACTED                    REDACTED                   REDACTED                                REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   255266 JUDITH RODRIGUEZ RAMOS INC URB HACIENDA EL ZORZAL                       CALLE 01 C‐2                                                                              BAYAMON            PR         00956
   255267 JUDITH RODRIGUEZ RIVERA    REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   255269 JUDITH RODRIGUEZ SOTO      REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  255270 JUDITH RODRIGUEZ TORO                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  255271 JUDITH ROSADO MELENDEZ                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  692347 JUDITH ROSARIO                               PO BOX 10072                                                                                                      CAROLINA           PR         00988‐0072
  692348 JUDITH SANCHEZ COLON                         URB CONTRY CLUB            892 CALLE EIDER                                                                        SAN JUAN           PR         00924
  255273 JUDITH SANCHEZ DIAZ                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  255274 JUDITH SANTANA                               REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  692209 JUDITH SANTANA MARTINEZ                      PMB‐273 P.O. BOX 2400                                                                                             TOA BAJA           PR         00951
  692351 JUDITH SANTANA ZAYAS                         HP ‐ Forense RIO PIEDRAS                                                                                          Hato Rey           PR         009360000
  255275 JUDITH SANTIAGO                              REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  692352 JUDITH SANTIAGO CLEMENTE                     RESIDENCIAL LOS MIRTOS     EDIF 5 APT 66                                                                          CAROLINA           PR         00985
  255276 JUDITH SANTIAGO CRUZ                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  692354 JUDITH SANTIAGO DIAZ                         URB MENIMA                 2 CALLE PRINCIPAL                                                                      ARROYO             PR         00714
  255278 JUDITH SANTOS GUISONA                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  692355 JUDITH SEPULVEDA ORTEGA                      HC 02 BOX 44270                                                                                                   VEGA BAJA          PR         00695
  255280 JUDITH SERRANO MEDINA                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  255281 JUDITH SERRANO SANTIAGO                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  255282 JUDITH SOLA DUMEY                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  692357 JUDITH SOLIS LOPEZ                           HC 2 BOX 8407                                                                                                     YABUCOA            PR         00767
  692358 JUDITH SOTO CALDERON                         BUENA VISTA                18 C/ LAUREL                                                                           CAROLINA           PR         00985
  692359 JUDITH SOTO DATEL                            HC 02 BOX 14278                                                                                                   ARECIBO            PR         00613
  692360 JUDITH SOTO LEDESMA                          COLINAS METROPOLITANA      W 2 MONTE DEL ESTADO                                                                   GUAYNABO           PR         00969
  692361 JUDITH SPRINGER                              COND GREEN VILLAGE         472 DE DIEGO ST APT 1002B                                                              SAN JUAN           PR         00923
  692362 JUDITH T RODRIGUEZ PEREZ                     COND LUCERNA               EDIF A‐1 APTO 1‐A                                                                      CAROLINA           PR         00983
  692363 JUDITH TORRES                                PO BOX 9198                                                                                                       CAROLINA           PR         00988‐9198
  692365 JUDITH TORRES ACEVEDO                        HC 2 BOX 12606                                                                                                    SAN GERMAN         PR         00683
         JUDITH TORRES BAEZ / JUAN
  255283 NEGRON                                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
  255284 JUDITH TORRES CRUZ                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
  255285 JUDITH TORRES CUADRADO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
  692366 JUDITH TORRES LEON                           HC 01 BOX 3552                                                                                                    VILLALBA           PR       00766
  255286 JUDITH TORRES NEGRON                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
  692368 JUDITH TORRES REYES                          HC 01 BOX 15542                                                                                                   COAMO              PR       00769
  692369 JUDITH TORRES SAMBOLIN                       HC 1 BOX 15545                                                                                                    COAMO              PR       00769
  692370 JUDITH TORRES SANTIAGO                       URB CAPARRA TERRACE        1560 CALLE 34 SO                                                                       SAN JUAN           PR       00921
  255287 JUDITH TRINIDAD CORTEZ                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
  692371 JUDITH VALENCIA                              PMB 160                    PO BOX 70344                                                                           SAN JUAN           PR       00936
  692372 JUDITH VALENTIN ACEVEDO                      P O BOX 251                                                                                                       AGUADILLA          PR       00605
  255289 JUDITH VALLE VEGA                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
  255290 JUDITH VAZQUEZ                               REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
  255291 JUDITH VAZQUEZ PEREZ                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
  255292 JUDITH VEGA GONZALEZ                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
  692375 JUDITH VEGA LABOY                            19 CALLE DUFRESNE                                                                                                 HUMACAO            PR       00791
  692378 JUDITH VELAZQUEZ ISAAC                       P O BOX 1213                                                                                                      GUAYAMA            PR       00785
  692379 JUDITH VELEZ FLOREZ                          HC 02 BOX 11996                                                                                                   LAJAS              PR       00667
  692380 JUDITH VELEZ HERNANDEZ                       COM POLE OJEA              SOLAR 71 D                                                                             CABO ROJO          PR       00623
  255293 JUDITH VILLALOBOS VARGAS                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
  692381 JUDITH W ANGLERO ROSARIO                     URB LA CEIBA               G 17 CALLE ALMENDRO                                                                    JUNCOS             PR       00777
  255294 JUDITH WILSON MAGRIS                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
  255295 JUDITH YOUNGER KRUGER                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
  692383 JUDMILA CURET DIAZ                           URB SAN IGNACIO            1711 CALLE GUILLERMO                                                                   SAN JUAN           PR       00926
  255297 JUDY A SANTANA NIEVES                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
  692386 JUDY ANN CARO OFARRILL                       HC 01 BOX 21363                                                                                                   RIO GRANDE         PR       00745




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   692387 JUDY ANN MELENDEZ SANCHEZ                   P O BOX 2482                                                                                                         JUNCOS              PR         00777
   255298 JUDY COTTO FRANCO                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255299 JUDY E RIOS LEBRON                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692385 JUDY FERNANDEZ GALLARDO                     PASEO DEL MAR                451 VIA NIZA                                                                            DORADO              PR         00646
   255300 JUDY FERNANDEZ ROMAN                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692389 JUDY GARCIA ALLENDE                         URB JARDINES DE CAPARRA      00‐13 CALLE 14                                                                          BAYAMON             PR         00959
   255301 JUDY HANER                                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692391 JUDY HEREDIA COLON                          BO PAJAROS SECT 2DA          CARR 2 RAMAL 863 KM 1 8                                                                 TOA BAJA            PR         00949
   255302 JUDY I COSTA JIMENEZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   692392 JUDY KENT                                   215 GEORGES ROAD RR 2 PICTON                                                                                         ONTARIO             ON         KOK2TO        Canada
   692393 JUDY L VELEZ CUEVAS                         BO DUQUE                     BZN 2107 CALLE 9                                                                        NAGUABO             PR         00718
   255303 JUDY LUGO RIVERA                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692394 JUDY OCASIO BENIQUEZ                        URB EL MADRIGAL              Q 7 CALLE 7                                                                             PONCE               PR         00730
   255305 JUDY RODRIGUEZ GONZALEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692396 JUDY SANTANA NEVAREZ                        COND LOS OLMOS               APT 11 F                                                                                SAN JUAN            PR         00927
   255306 JUDY SOTO ORTEGA                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255307 JUDYAN ORTIZ DE LA ROSA                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   255308 JUDYBEL RODRIGUEZ CORDERO                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692397 JUELDY FLORES                               HC 01 BOX 4916                                                                                                       JUANA DIAZ          PR         00795
   692398 JUERGEN W KREBEL                            COND BOULEVARD DEL RIO II    500 AVE LOS FILTROS APT 62                                                              GUAYNABO            PR         00971
   692399 JUEZ JOSE A FUSTE PEREZ                     US DISTRICT COURT            CH133 AVE CHARDON 150                                                                   SAN JUAN            PR         00918‐1758
   255309 JUFRAN LAND SERVICES                        PMB 162                      220 PLAZA WESTERN AUTO                                                                  TRUJILLO ALTO       PR         00976
   255310 JUGOS YUCAYEQUE                             REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692400 JUGUETELANDIA                               P O BOX 9024275                                                                                                      SAN JUAN            PR         00902‐4275
   692401 JUGUETES EDUCATIVOS                         P O BOX 1472                                                                                                         RIO GRANDE          PR         00745
   692402 JUHESALA S P                                P O BOX 8429                 FERNANDEZ JUNCOS STATION                                                                SAN JUAN            PR         00910
   692403 JUHESALA S P                                PO BOX 8429                                                                                                          SAN JUAN            PR         00910‐4290
   692404 JUITXA BEZ                                  148 TURABO CLUSTER                                                                                                   CAGUAS              PR         00725
   692405 JUL‐ NIL FASHION CORP                       P O BOX 391                                                                                                          MERCEDITA           PR         00715‐0391
   255312 JULADI CORP                                 PO BOX 929                                                                                                           ISABELA             PR         00662
   255313 JULAI ORTIZ MADERA                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255314 JULAIDA RIVERA RIOS                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255315 JULAIKA QUI¥ONES ORTIZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255316 JULAISY GUZMAN RAMOS                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255318 JULEIKA BAEZ FIGUEROA                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255319 JULEIKA MALBERT NARVAEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255320 JULEINNY PETERSON MONELL                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   255322 JULEISKA VAZQUEZ GONZALEZ                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255323 JULENNY BRITO                               REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
                                                                                   12A CAL BN SMRTN BDA BUEN
   692406 JULENNY FLOWERS                             JUAN DOMINGO                 SAMARITAN                                                                               GUAYNABO            PR         00966
   255324 JULES GORDIAN MUNIZ                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692407 JULHERIS DIAZ PACHECO                       PO BOX 305                                                                                                           PALMER              PR         00721
   692415 JULIA A DEL RIO GARCIA                      HC 1 BOX 6316                                                                                                        CIALES              PR         00638
   692416 JULIA A DIAZ TORRES                         VILLA PALMERAS               242 CALLE JUNCOS                                                                        SAN JUAN            PR         00915
   255325 JULIA A LASTRA INSERNI                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255328 JULIA A. HERNANDEZ CORTES                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692418 JULIA A. HIGH                               PO BOX 9641                                                                                                          SAN JUAN            PR         00908




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   692408 JULIA AIDA FIGUEROA MELENDEZ COND MONTE BRISAS                          351 CALLE 104                                                                        FAJARDO             PR         00738
   692419 JULIA ALEMAN MEDERO          58 E CALLE NARCISO FONT                                                                                                         CAROLINA            PR         00985
   255329 JULIA ALICEA ALICEA          REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255330 JULIA ALICEA CAMPOS          REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   771132 JULIA ALICEA GONZALEZ        REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692421 JULIA ALVARADO GONZALEZ      BO PARC VAZQUEZ                            HC 0 BOX 7309                                                                        SALINAS             PR         00751
   692422 JULIA ALVAREZ ESCALERA       CALLE UNION #16                            URB VILLA PALMERA                                                                    SAN JUAN            PR         00915
   692423 JULIA APONTE RIGUELONY       MARELL CAMPOS                              19 CALLE NOVEDADES                                                                   PONCEQ              PR         00730
   255331 JULIA ARBONA ORTIZ           REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255332 JULIA ARZUAGA CABALLERO      REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   692424 JULIA AYALA REYES                           BO OBRERO BDA BUENA VISTA   750 CALLE HAYDEE REXACH                                                              SAN JUAN            PR         00915
   692425 JULIA BAERGA JIMENEZ                        PO BOX 48                                                                                                        SABANA HOYOS        PR         00688
   255333 JULIA BAEZ SANCHEZ                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255336 JULIA BERASTAIN OQUENDO                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255337 JULIA BERMUDEZ LLANOS                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692427 JULIA BETANCOURT MEDERO                     HP ‐ Forense RIO PIEDRAS                                                                                         Hato Rey            PR         009360000
   255338 JULIA BONILLA CAMACHO                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255339 JULIA BORGOS LÓPEZ                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   255341 JULIA C BARTOLOMEI GUZMAN                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255342 JULIA C COSTA COMAS                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692428 JULIA C MORANT DIAZ                         HC 04 BOX 5109                                                                                                   HUMACAO             PR         00791
   255343 JULIA C ROJAS FLORES                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692430 JULIA CABRERA CAMACHO                       COLINAS FAIR VIEW           L 18 CALLE 209                                                                       TRUJILLO ALTO       PR         00976
   692431 JULIA CAEZ ALICEA                           FOREST HILLS                110 CALLE 14                                                                         BAYAMON             PR         00959
                                                                                  CALLE SANTIAGO IGLESIAS
   692432 JULIA CALDERON AGOSTO                       BO AMELIA 9                 PANTIN                                                                               CATA¨O              PR         00962
   255344 JULIA CALDERON OSORIO                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692434 JULIA CANO SERRANO                          APT 9065176                                                                                                      SAN JUAN            PR         00906‐5176
   692435 JULIA CAPETILLO BERMUDEZ                    URB COUNTRY CLUB            893 C/ DURBEC                                                                        SAN JUAN            PR         00924
   692436 JULIA CARABALLO GONZALEZ                    VILLA ESPERANZA I           A 81 CALLE PROGRESO                                                                  CAROLINA            PR         00985
                                                      URB SANTA MONICA P 23 CALLE
   692437 JULIA CARDONA FLORES                        5                                                                                                                BAYAMON             PR         00957
   255346 JULIA CARRION LOPEZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   692439 JULIA CARRION PEREZ          154 CALLE ROSENDO M CINTRON                                                                                                     LUQUILLO            PR         00773
   692440 JULIA CASTILLO DE JESUS      26 B RACE BROOK DR                                                                                                              EAST HARTFORD       CT         06108
   692441 JULIA CASTRO DE LEON         HC 11 BOX 12842                                                                                                                 HUMACAO             PR         00791
   692409 JULIA CASTRO HERNANDEZ       URB ROSA MARIA              E 23 CALLE 4                                                                                        CAROLINA            PR         00985
   692442 JULIA CASTRO VAZQUEZ         HC O3 BOX 16353                                                                                                                 HUMACAO             PR         00791‐9728
   255347 JULIA CEDENO RIVERA          REDACTED                    REDACTED                                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255348 JULIA CLAUDIO RODRIGUEZ      REDACTED                    REDACTED                                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692444 JULIA CLUTTERBUCK            BO MAMEYAL                  APT 2 A CALLE 4 150 D                                                                               DORADO              PR         00646
   692445 JULIA COLON RIVERA           BO FACTOR I                 85 CALLE B                                                                                          ARECIBO             PR         00612
   692446 JULIA COLON RODRIGUEZ        BO DOMINGUITO               184 CALLE H                                                                                         ARECIBO             PR         00612
   255349 JULIA COLON SANCHEZ          REDACTED                    REDACTED                                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JULIA COLON/ GILBERTO COLON/
   255350 EVELYN                       REDACTED                    REDACTED                                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255351 JULIA CORREA ABREGO          REDACTED                    REDACTED                                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692447 JULIA COSME LOZADA           BO CONTORNO                 CARR 165 KM 9 8                                                                                     TOA ALTA            PR         00953
   255352 JULIA CRUZ RIVERA            REDACTED                    REDACTED                                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  692449 JULIA CRUZ ROSA                              HC 8 BOX 866                                                                                                  PONCE                 PR         00731‐9706
  255353 JULIA CRUZ VEGA                              REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  255355 JULIA CRUZADO GONZALEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  692450 JULIA D GADEA RIVERA                         FLAMINGO HILLS              232 CALLE 8                                                                       BAYAMON               PR         00956
  692452 JULIA DAVILA RAMOS                           PARC AMADEO                 CALLE LINO PADRO                                                                  VEGA BAJA             PR         00693
  255356 JULIA DE JESUS LABOY                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  692453 JULIA DE JESUS OSORIO                        PUERTO NUEVO                523 CALLE ARDENAS                                                                 SAN JUAN              PR         00920
  692454 JULIA DE LEON SANTANA                        ESTANCIAS DEL ROCIO         513 RAMON POWER                                                                   LAS PIEDRAS           PR         00771

   692455 JULIA DEL C COLON FELICIANO                 PO BOX 593                                                                                                    BAJADERO              PR         00616

   255358 JULIA DEL C HIDALGO ALMEYDA                 REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   692456 JULIA DELGADO                               ALT DE SANTA MARIA          98 CALLE NOGAL                                                                    GUAYNABO              PR         00969
   692457 JULIA DELGADO ARROYO                        HOGAR CRISTO REY APT 513                                                                                      CAGUAS                PR         00625
   692459 JULIA DELGADO RIVERA                        HC 5 BOX 59373                                                                                                CAGUAS                PR         00725‐9244
   692462 JULIA DIAZ RODRIGUEZ                        12 CRUCE ANONES PL                                                                                            NARANJITO             PR         00719
   692463 JULIA DIPRE                                 VILLA CAROLINA              2 CALLE 89 BLQ 85                                                                 CAROLINA              PR         00985
   692464 JULIA E BIDOT LOPEZ                         URB STELLA                  22 CALLE B                                                                        GUAYANILLA            PR         00656
   692466 JULIA E BURGOS PEREZ                        URB PASEO LAS VISTAS        C 60 CALLE 2                                                                      SAN JUAN              PR         00926
   692467 JULIA E CANALES GOITIA                      P O BOX 683                                                                                                   ISABELA               PR         00662
   692468 JULIA E COLON COLON                         P O BOX 922                                                                                                   VIEQUES               PR         00765
   255360 JULIA E CORREA ABREGO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   692471 JULIA E GARCIA RODRIGUEZ                    APRIL GARDEN                CH 23 CALLE 10                                                                    LAS PIEDRAS           PR         00771
   692410 JULIA E MONTE DE OCA                        URB LA CUMBRE               164 CALLE PIRINEOS                                                                SAN JUAN              PR         00926
   255362 JULIA E ORTIZ ORTIZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   255363 JULIA E PESQUERA MORALES                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   692473 JULIA E RODRIGUEZ IRIZARRY                  HC 2 BOX 7381                                                                                                 UTUADO                PR         00641
   255365 JULIA E SALDANA CRUZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   692476 JULIA E SANTIAGO DELIZ                      JARD RIO GRANDE             BT484 CALLE 70                                                                    RIO GRANDE            PR         00745
   255367 JULIA E VELAZQUEZ DE PEREZ                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   255368 JULIA E. RIVERA RAMOS                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   255369 JULIA ECHEVARRIA RIVERA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   692479 JULIA ELENA ARROYO OSORIO                   ADM SERV GEN                PO BOX 7428                                                                       SAN JUAN              PR         00916‐7428
   692481 JULIA FELICIANO CINTRON                     P O BOX 810                                                                                                   OROCOVIS              PR         00720

   692482 JULIA FERNANDEZ FERNANDEZ                   232 AVE ELEONOR ROOSEVELT                                                                                     SAN JUAN              PR         00907

   692483 JULIA FERNANDEZ MARTINEZ                    URB ALTURAS DE MONTE BRISAS 4B 7 CALLE 4 2                                                                    FAJARDO               PR         00738
   692484 JULIA FIGUEROA                              PO BOX 6042                                                                                                   GUAYNABO              PR         00970
   255373 JULIA FIGUEROA CASTELLANO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   692485 JULIA FIGUEROA DIAZ                         ENTRADA SALVADOR BRAU       CARR 176 KM 8 4                                                                   SAN JUAN              PR         00926
                                                      RES.LUIS LLORENS TORRES
   692486 JULIA FIGUEROA LOPEZ                        EDIF.106                                                                                                      APT#2014 SAN JUAN     PR         00913
   692487 JULIA FIGUEROA SIERRA                       HACIENDA DE CARRAIZO        F 7 CALLE 5                                                                       SAN JUAN              PR         00926
   255374 JULIA FIGUEROA TORRES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   255375 JULIA FIGUEROA VELAZQUEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   255376 JULIA FUENTES QUINONES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   255377 JULIA GALLARDO RAMOS                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   255378 JULIA GANDARILLA BURGOS                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
          JULIA GARAY Y/O ZEIDA
   255379 MORALES                                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED




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                                                      COND. FLORIMAR GARDENS
   692488 JULIA GARCIA RIVERA                         APT.B‐301                                                                                                          RIO PIEDRAS         PR         00926
   255380 JULIA GARCIA VAZQUEZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692490 JULIA GARRIGA DE CHICO                      PASEO SAN JUAN              E 7 CALLE GAVITA                                                                       SAN JUAN            PR         00926
   255381 JULIA GIL AYALA                             REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255382 JULIA GOMEZ CAPELES                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692492 JULIA GOMEZ VALLE                           URB SAN GERARDO             333 CALLE OHIO                                                                         SAN JUAN            PR         00926
   692493 JULIA GONZALES BURGOS                       HC 15 BOX 15841                                                                                                    HUMACAO             PR         00791
   692494 JULIA GONZALEZ                              URB LA MARINA               B 13 CALLE HORTENCIA                                                                   CAROLINA            PR         00979
   255383 JULIA GONZALEZ DE GUZMAN                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255384 JULIA GONZALEZ GARRIGA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255385 JULIA GONZALEZ PARRILLA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255386 JULIA GONZALEZ RODRIGUEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   255387 JULIA H CARRASQUILLO MATTA                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JULIA H MOLINA Y/O RAMON A
   255388 BERMUDEZ                                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   692411 JULIA HERNANDEZ HERNANDEZ                   URB APRIL GARDENS           A 6 CALLE 4                                                                            LAS PIEDRAS         PR         00771
   255389 JULIA HERNANDEZ LOPEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692502 JULIA HERNANDEZ SANTIAGO                    REPT TERESITA               U7 CALLE 22                                                                            BAYAMON             PR         00961
   255390 JULIA HERNANDEZ TORRES                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692505 JULIA I ALVAREZ VALENTIN                    QUINTA BALDWIN              50 AVE A APT 302                                                                       BAYAMON             PR         00959
   255391 JULIA I COLLADO QUINONES                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692507 JULIA I COLON PIZARRO                       URB VILLA CAROLINA          CALLE 53 BLOQUE 65 NO 20                                                               CAROLINA            PR         00985
   692508 JULIA I DEL VALLE                           URB KENNEDY                 70 CALLE JOSE PEREZ SOLER                                                              QUEBRADILLAS        PR         00678

   692509 JULIA I ENCARNACION MEDINA                  PORTAL DE LA REINA          APT PH 5 225                                                                           SAN JUAN            PR         00924
   255392 JULIA I FERNANDEZ TORRES                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692511 JULIA I IGLESIAS RAMOS                      URB LA MILAGROSA            C 6 CALLE 6                                                                            ARROYO              PR         00714
   255393 JULIA I MOCTEZUMA RIVERA                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255394 JULIA I ORTIZ ESPINOSA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
                                                      BO BAYAMON SECTOR
   692512 JULIA I SIERRA VELEZ                        CERTENEJAS II               CARR 172 KM 7 5                                                                        CIDRA               PR         00739
  1256615 JULIA I. MALAVE VELEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692515 JULIA IGARTUA COLON                         URB CAPARRA TERRACE         SO 1560 CALLE 2                                                                        SAN JUAN            PR         00921

   255396 JULIA IVETTE FELICIANO RIVERA               REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255398 JULIA J CRESPO FIGUEROA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255399 JULIA J DAVILA DE JESUS                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692516 JULIA J LACEN REMIGIO                       PO BOX 62                                                                                                          LOIZA               PR         00772
   692517 JULIA J LOPEZ ALVARADO                      URB LAS ALONDRAS            D 19 CALLE 3                                                                           VILLALBA            PR         00766

   692519 JULIA J. DEL VALLE CABALLERO                107 CALLE SAN JOSE APT B2                                                                                          SAN JUAN            PR         00901
   692521 JULIA JIMENEZ MELENDEZ                      HC 2 BOX 443366                                                                                                    VEGA BAJA           PR         00693
   692522 JULIA JIMENEZ OTERO                         RR 3 BOX 9574                                                                                                      TOA ALTA            PR         00953
   692523 JULIA L DE JESUS OSORIO                     URB LOS MAESTROS            9 CALLE A                                                                              RIO GRANDE          PR         00745
   255400 JULIA L DONES REYES                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   692524 JULIA L GARCIA HIRALDO                      902 CALLE CARRION MADURO                                                                                           SAN JUAN            PR         00909
   692525 JULIA L MELENDEZ                            URB EXT SANTA ELENA III     E 3 CALLE SANTA CLARA                                                                  GUAYANILLA          PR         00757
   692528 JULIA LEON HERNANDEZ                        PARQUE ECUESTRE             E 11 CALLE BACHILLER                                                                   CAROLINA            PR         00987
   255401 JULIA LISA MELENDEZ DATIMY                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  255402 JULIA LOPEZ                                  REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  692529 JULIA LOPEZ FUENTES                          PO BOX 291                                                                                                         LOIZA             PR         00772
  692530 JULIA LOPEZ LOZADA                           HC 64 BOX 6438                                                                                                     PATILLAS          PR         00723
  255403 JULIA LOPEZ MENDEZ                           REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  255404 JULIA LOPEZ PEREZ                            REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  692533 JULIA LUGO AVILES                            VISTA HERMOSAS                EDIF 38 APTO 492                                                                     SAN JUAN          PR         00921
  255407 JULIA M ACOSTA ORTIZ                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  692535 JULIA M BOSQUE PUGGIS                        HC 02 BOX 11003                                                                                                    LAS MARIAS        PR         00670
  255408 JULIA M CARABALLO ROMAN                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  692538 JULIA M DAVILA PEREZ                         BO SANTIAGO Y LIMA            BUZN 86                                                                              NAGUABO           PR         00718
  255410 JULIA M DIAZ                                 REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  255411 JULIA M DIAZ OSBORNE                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  692540 JULIA M DIAZ TRINIDAD                        EL VERDE SUR F1               CALLE ESTE                                                                           CAGUAS            PR         00725
  692542 JULIA M GARCIA MALPICA                       VILLA CAROLINA                117‐40 CALLE 75                                                                      CAROLINA          PR         00985
  255413 JULIA M GARRIGA TRILLO                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  255414 JULIA M JAMES SOTO                           REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  692544 JULIA M LEBRON ALVERIO                       JARD DE YABUCOA               B 5 CALLE 3                                                                          YABUCOA           PR         00767 3053
  255416 JULIA M LUGO LUYANDO                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   255417 JULIA M NEGRON COLONDRES                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   255418 JULIA M ORTIZ ORTIZ                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   692548 JULIA M ORTIZ ROMAN                         BRISAS DEL NORTE 66                                                                                                MANATI            PR         00674
                                                      COND PARK GARDEN TOWN
   692549 JULIA M PEREZ POL                           HOUSE                         APT 302                                                                              SAN JUAN          PR         00926
   255419 JULIA M PEREZ RODRIGUEZ                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   692550 JULIA M POU ROMAN                           HC 4 BOX 5160                                                                                                      HUMACAO           PR         00791
   692551 JULIA M QUINTANA MARTIR                     PO BOX 48                                                                                                          LAS MARIAS        PR         00670
   692552 JULIA M REYES OLIVERAS                      2 GREGLEN PMB 350                                                                                                  NANTUCKET         MA         02554
   692553 JULIA M RIVERA                              116 E MOSHOLU PKWY SO                                                                                              BRONX             NY         10458
   692554 JULIA M RIVERA AYALA                        BO LA QUINTA                  226 BALBOA                                                                           MAYAGUEZ          PR         00680
   692556 JULIA M RIVERA MENDEZ                       HC 01 BOX 7310                BO PARCELAS VAZQUEZ                                                                  SALINAS           PR         00751
   692557 JULIA M RIVERA RIVERA                       RES LOS LAURELES              EDF 10 APT 164                                                                       SAN JUAN          PR         00926
          JULIA M RODRIGUEZ
   255421 CONCEPCION                                  REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   692560 JULIA M SANTIAGO CASANOVA                   232 CALLE DUARTE 3C                                                                                                SAN JUAN          PR         00917
   692562 JULIA M SOTO DIAZ                           SANTA PAULA                   A9 CALLE 1                                                                           GUAYNABO          PR         00969
   255422 JULIA M VICENTE                             REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   692565 JULIA M VIVAS GONZALEZ                      15 CHALETS DEL BOULEVARD                                                                                           PONCE             PR         00716
   255423 JULIA M. BELLO MORALES                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   255425 Julia M. Downs Llanos                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   255426 JULIA M. GALINDEZ DE JESUS                  REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   255427 JULIA M. NEGRON‐COLONDRES                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   692568 JULIA MAISONET FIGUEROA                     PARQUE ECUESTRE               N 51 CALLE IMPERIAL                                                                  CAROLINA          PR         00987
   255428 JULIA MALAVE ORTEGA                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   692569 JULIA MALDONADO ANDINO                      53 CALLE CPL FELICIANO RIVERA                                                                                      LUQUILLO          PR         00738
   255430 JULIA MALDONADO LOPEZ                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   692571 JULIA MALDONADO MEDINA                      EXT SAN ANTONIO               F 14 CALLE 4                                                                         CAGUAS            PR         00725

   692572 JULIA MALDONADO RODRIGUEZ BO RABANAL SECT SAN JOSE                        RR 01 BNZ 3045 CARR 173                                                              CIDRA             PR         00739
   692575 JULIA MARRERO             SECTOR LA PICA                                  ALMIRANTE SUR                                                                        VEGA BAJA         PR         00693



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MML ID               NAME                                       ADDRESS 1                        ADDRESS 2                   ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  692576 JULIA MARRERO MELENDEZ                       P O BOX 1017                                                                                                           FLORIDA             PR         00650
  692577 JULIA MARRERO SANTANA                        PMB 109                        400 CALAF                                                                               SAN JUAN            PR         00918
  255431 JULIA MARTINEZ DE JESUS                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      URB VILLA NEVAREZ 1027 CALLE
   692579 JULIA MARTINEZ MAYSONET                     10                                                                                                                     SAN JUAN            PR         00927
   255432 JULIA MARTINEZ MD, JIMMY J                  REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   692580 JULIA MARTINEZ SANTOS                       RR 1 BOX 2767                                                                                                          CIDRA               PR         00739
   692412 JULIA MATIAS MU¥IZ                          RR 02 BOX 3498                                                                                                         A¥ASCO              PR         00610
   255436 JULIA MAYSONET RIVERA                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   692582 JULIA MEDINA RAMOS                          LUIS LLORENS TORRES            EDIF 1 APT 11                                                                           SAN JUAN            PR         00913
   255437 JULIA MENDEZ MERCADO                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   692585 JULIA MENDOZA DIAZ                          HC 44 BOX 12901                                                                                                        CAYEY               PR         00736
   692586 JULIA MERCADO ECHEVARRIA                    PO BOX 8655                                                                                                            PONCE               PR         00732
   692588 JULIA MERCADO SANTIAGO                      PO BOX 13173                                                                                                           SAN JUAN            PR         00908
   255439 JULIA MOJICA CABASSA                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   255440 JULIA MORALES                               REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   255443 JULIA MUNIZ RAMOS                           REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   692591 JULIA N CRUZ JURADO                         HC 06 BOX 4509                                                                                                         PONCE               PR         00731
   255444 Julia Narváez Negrón                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   255445 JULIA NAVARRO MERCADO                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   692593 JULIA NIEVES GONZALEZ                       RR 4 BOX 1035                                                                                                          BAYAMON             PR         00956
   255447 JULIA NUðEZ CRUZ                            REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   255450 JULIA NUNEZ RIVERA                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   255452 JULIA O FELIU VARELA                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   255453 JULIA OFARRILL MORALES                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
                                                                                     1887 CALL SN ALVR URB SAN
   692595 JULIA OLIVIERI DE INFANZON                  SAN JUAN GARDENS               JUAN GDNS                                                                               SAN JUAN            PR         00926
   255455 JULIA ORTIZ LOPEZ                           REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   692597 JULIA ORTIZ MARRERO                         SAINT JUST                     178 CALLE 3                                                                             TRUJILLO ALTO       PR         00976
   692599 JULIA ORTIZ ORTIZ                           PO BOX 1168                                                                                                            UTUADO              PR         00641
   255456 JULIA ORTIZ PADILLA                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   692600 JULIA ORTIZ TORRES                          2DA EXT DR PILA                12 APT 187                                                                              PONCE               PR         00731
   692601 JULIA PALACIOS DAVILA                       URB LEVITTOWN                  FS 25 CALLE FELIPE N ARANA                                                              TOA BAJA            PR         00949
   255459 JULIA PENA GUEVARA                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   255460 JULIA PEREZ CARRILLO                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   255462 JULIA PEREZ CLAUDIO                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   692602 JULIA PEREZ CORREA                          RES EL PRADO                   EDF 20 APT E 1                                                                          SAN JUAN            PR         00924
   692603 JULIA PEREZ ORTEGA                          ALEGRIA APARTAMENTS            EDIF 1 APT 202               BUZON 4                                                    BAYAMON             PR         00956
   255463 JULIA PISCIOTTA GREO                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   255465 JULIA QUILES                                REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   692604 JULIA QUILES COTTO                          PO BOX 97                                                                                                              COMERIO             PR         00782
   255466 JULIA R ANDUJAR ZACCHEUS                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JULIA R CASTILLO/ MAGDA L
   255467 ROMERO                                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   692606 JULIA R FELICIANO DIAZ                      URB EL MADRIGAL                B 11 CALLE 2                                                                            PONCE               PR         00731
   692607 JULIA R MELENDEZ AYALA                      56 BRISAS DEL NORTE                                                                                                    MANATI              PR         00674
   255468 JULIA R PINERO CRUZ                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   255469 JULIA R RODRIGUEZ FAJARDO                   REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   692609 JULIA R VAZQUEZ COLON                       P O BOX 1135                                                                                                           GUAYAMA             PR         00785
   255470 JULIA R VIERA DE CARLO                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   255471 JULIA R. COLON CRUZ                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JULIA RAMIREZ CRUZ Y GERMAN
   255472 FIGUEROA                                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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  255476 JULIA RAMOS CINTRON                          REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  255477 JULIA RAMOS MARTINEZ                         REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  692611 JULIA RAMOS NIEVES                           VISTA DEL TURABO           APT D12                                                                                 CAGUAS              PR         00725
  255480 JULIA REYES CARRION                          REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  692612 JULIA REYES PADILLA                          HC 01 BOX 3028                                                                                                     FLORIDA             PR         00650

   692613 JULIA REYES TORRES                          7MA SECCION                JC‐8 CALLE CARMELO DIAZ SOLER                                                           LEVITTOWN           PR         00949
   255481 JULIA RIBOT QUINONEZ                        REDACTED                   REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692614 JULIA RIOS CASTILLO                         COND PALMAR DEL RIO        I ARBOLOTE 18 APART 326                                                                 GUAYNABO            PR         00969
   692615 JULIA RIOS VELEZ                            2541 CALLE LASALLE                                                                                                 QUEBRADILLAS        PR         00678
   692618 JULIA RIVERA DIAZ                           PO BOX 511                                                                                                         GURABO              PR         00778‐0511
   255482 JULIA RIVERA FIGUEROA                       REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692619 JULIA RIVERA GOMEZ                          IRLANDA HEIGHTS            25 F M CALLE REGASO                                                                     BAYAMON             PR         00956
   692620 JULIA RIVERA GUZMAN                         410 CALLE LOS PINOS                                                                                                UTUADO              PR         00641
   255484 JULIA RIVERA MARQUEZ                        REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255485 JULIA RIVERA MARRERO                        REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255486 JULIA RIVERA MORALES                        REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255487 JULIA RIVERA RODRIGUEZ                      REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692413 JULIA RIVERA RODRIGUEZ                      PO BOX 2953                                                                                                        SAN GERMAN          PR         00683
   255488 JULIA RIVERA ROSADO                         REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692624 JULIA RIVERA SANCHEZ                        HC 3 BOX 11995             BO PLAYITA                                                                              YABUCOA             PR         00767
   255489 JULIA RIVERA SANTANA                        REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255490 JULIA RIVERA SIERRA                         REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692626 JULIA RODRIGUEZ ALGARIN                     BO CAMINO NUEVO            HC BOX 4548                                                                             YABUCOA             PR         00767
   255494 JULIA RODRIGUEZ ALVAREZ                     REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692627 JULIA RODRIGUEZ BARILLAS                    PO BOX 1303                                                                                                        LAJAS               PR         00667
   692629 JULIA RODRIGUEZ DE JESUS                    BO VIETNAM                 57 CALLE B                                                                              GUAYNABO            PR         00962
   692630 JULIA RODRIGUEZ PINTO                       PO BOX 1023                                                                                                        RIO GRANDE          PR         00745
   255495 JULIA RODRIGUEZ ROBLES                      REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255496 JULIA RODRIGUEZ TIRADO                      REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255497 JULIA RODRIGUEZ VAZQUEZ                     REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692632 JULIA ROJAS CRUZ                            HC 01 BOX 3210                                                                                                     BARRANQUITAS        PR         00794
   255498 JULIA ROMERO BURGOS                         REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692635 JULIA ROMERO TORRES                         P O BOX 30625              65 INF STA                                                                              SAN JUAN            PR         00929
   692638 JULIA ROSA MARTINEZ                         RR 1 BOX 2317                                                                                                      CIDRA               PR         00739
   255499 JULIA ROSA VEGA                             REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692640 JULIA ROSADO TEXIDOR                        PAARCELAS BETANCES         62 AVE LUIS MARIN                                                                       CABO ROJO           PR         00623
   692641 JULIA ROSARIO                               PO BOX 21365                                                                                                       SAN JUAN            PR         00928‐1365
   692642 JULIA ROSARIO ALEJANDRO                     P O BOX 7428                                                                                                       SAN JUAN            PR         00916
   255500 JULIA ROSARIO RODRIGUEZ                     REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692643 JULIA ROSARIO TORRES                        LOS ROSALES                EDIF 2 APT 7                                                                            TRUJILLO ALTO       PR         00976
   255502 JULIA S CORDERO ARROYO                      REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255503 JULIA S MAGNUCCI SANCHEZ                    REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692646 JULIA SANCHEZ RODRIGUEZ                     COM ALMIRANTITO            PARCELA 465                                                                             VEGA BAJA           PR         00693
   692647 JULIA SANCHEZ VARGAS                        URB IRLANDA HEIGHTS        FK 39 CALLE POLARIS                                                                     BAYAMON             PR         00956
   692649 JULIA SANTANA                               JARD METROPOLITANOS        959 VOLTA                                                                               SAN JUAN            PR         00927
   692650 JULIA SANTANA AYALA                         159 CALLE JOSE MARTIN                                                                                              SAN JUAN            PR         00917
   255505 JULIA SANTANA BAEZ                          REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255506 JULIA SANTANA MEDINA                        REDACTED                   REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692653 JULIA SANTIAGO CALDERON                     BO SAN ISIDRO VILLA TIRO   P 744 CALLE 10                                                                          CANOVANAS           PR         00729

   692654 JULIA SANTIAGO DE GONZALEZ                  HC 01 BOX 3605                                                                                                     AIBONITO            PR         00705
   692655 JULIA SANTIAGO LEDUC                        PO BOX 1246                                                                                                        NAGUABO             PR         00718



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  692656 JULIA SANTIAGO RAMOS                         94 MATADERO VIEJO                                                                                                YAUCO             PR         00698
  255507 JULIA SANTOS RONCAL                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  692658 JULIA SOLER RUIZ                             BDA SANDI 52 CALLE JUPITER                                                                                       VEGA BAJA         PR         00693
  692659 JULIA SOTO NIEVES                            170 CALLE MORSE                                                                                                  ARROYO            PR         00714

   692660 JULIA T ACOSTA BETANCOURT                   URB VISTA DEL MORRO          A30 CALLE RUISENOR                                                                  CATANO            PR         00962
   692661 JULIA T MALAVET PANTOJAS                    URB CAMINO DEL MAR           CG 20 PLAZA ARENALES                                                                TOA BAJA          PR         00949
   255511 JULIA T MARRERO LOPEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   255512 JULIA TAPIA NAVARRO                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   692663 JULIA TAPIA RIVERA                          RES MANUEL A PEREZ           EDIF B 4 APTO 55                                                                    SAN JUAN          PR         00923
   255513 JULIA TORRES AGUAYO                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   692414 JULIA TORRES CORREA                         RR 1 BOX 12177                                                                                                   TOA ALTA          PR         00953
   255514 JULIA TORRES HERNANDEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   692665 JULIA TORRES RIVERA                         PARCEKLAS AMALIA MARIN       4531 CALLE DELFIN                                                                   PONCE             PR         00717‐1024
          JULIA TORRES/ CARMEN
   255515 TORRES/ MICHELLE                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   255516 JULIA TOURS INC                             EDIF MIDTOWN OFIC 513        420 AVE MUNOZ RIVERA                                                                SAN JUAN          PR         00918
   692667 JULIA V BONILLA FEBRES                      CALLE CAMBINBORA             PLAYA HURACANES BOX 72                                                              NAGUABO           PR         00718
   255517 JULIA V CRUZ IZQUIERDO                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   255518 JULIA VALENTIN DE VEGA                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   692668 JULIA VARGAS ALVAREZ                        URB LAS AMERICAS 12          CALLE BRAZIL                                                                        AGUADILLA         PR         00603
   255519 JULIA VARGAS VARGAS                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   692669 JULIA VAZQUEZ                               OLD SAN JUAN STA             PO BOX 50063                                                                        SAN JUAN          PR         00902
   255520 JULIA VAZQUEZ MORALES                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   692671 JULIA VAZQUEZ OCASIO                        APARTADO 632                                                                                                     COROZAL           PR         00783

   255521 JULIA VAZQUEZ Y ANA M ORTIZ                 REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   692672 JULIA VEGA MARTINEZ                         PARCELAS PEREZ               CALLE 27 A                                                                          ARECIBO           PR         00612
   692673 JULIA VEGUILLA BONILLA                      HC 4 BOX 13101                                                                                                   CAYEY             PR         00736
   255523 JULIA VELAZQUEZ                             REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   692675 JULIA VELEZ CRUZ                            P O BOX 953                                                                                                      VIEQUES           PR         00765
   692676 JULIA VICENTY LOPEZ                         URB VERDUM II                609 CALLE TULIPAN                                                                   HORMIGUEROS       PR         00660
   255524 JULIA VILLAFANE MARTIN                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   692678 JULIA VILLANUEVA ACEVEDO                    BOX 1107                                                                                                         AGUADA            PR         00602
   692679 JULIA VILLARINI JUSINO                      PTO NUEVO                    1223 CALLE CARDERAS                                                                 SAN JUAN          PR         00920
   692680 JULIA WINCLAIR TORRES                       PO BOX 13861                                                                                                     SAN JUAN          PR         00908
   692681 JULIA Y PACHECO PASCAL                      VILLA LAS MERCEDES           A 11 C/ 1                                                                           CAGUAS            PR         00725
   692682 JULIA Y SANTIAGO ESTRADA                    PO BOX 1128                                                                                                      PATILLAS          PR         00723
          JULIA Z CARDONA Y ALCIDES
   255525 CARDONA                                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   255526 JULIA, GUTIERREZ                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   692685 JULIAN A ALCANTARA VARGAS                   URB BONNEVILLE HEIGHTS       57 CALLE CAYEY                                                                      CAGUAS            PR         00725
   255527 JULIAN A ALVARADO TORO                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          JULIAN A DOMENECH
   255528 CARRASQUILLO                                REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   255529 JULIAN A HERENCIA GARCIA                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   255530 JULIAN A HILARIO FERNANDEZ                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   255531 JULIAN A LUCIANO SILVA                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   692686 JULIAN A RODRIGUEZ GALVAN                   BO SANTIAGO PENDULA          CAR 821                                                                             CAMUY             PR         00627
   692687 JULIAN A TORRES                             URB COUNTRY CLUB             888 CALLE DURBEC                                                                    SAN JUAN          PR         00924
   692688 JULIAN ALAMEDA CARABALLO                    20 URB ROOSEVELT                                                                                                 YAUCO             PR         00698



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          JULIAN ALEJANDRO AMADOR /
   255533 JUAN AMADOR                                 REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   255534 JULIAN ALICEA LOPEZ                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   255535 JULIAN ALVAREZ SERRANO                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   692689 JULIAN AMARO ORTIZ                          URB MARIEN                  130 B CALLE 5                                                                            GUAYAMA             PR           00784

   692690 JULIAN ANGULO ANGULO                        PMB 379                     UU 1 CALLE 39 SANTA JUANITA                                                              BAYAMON             PR           00956

   255536 JULIAN ANTONIO DIAZ RIVERA                  REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   255537 JULIAN ARROYO CAMACHO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   255538 JULIAN ARROYO RAMOS                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   692692 JULIAN AYALA ESPERANZA                      BOX 46                                                                                                               CULEBRA             PR           00775
   692693 JULIAN BATISTA PIZARRO                      BARRIO CACAO CENTRO         CARR. 588 KM. 3.4                                                                        CAROLINA            PR           00985
   692684 JULIAN BATISTA RIVERA                       PO BOX 7254                                                                                                          CAROLINA            PR           00986
   692694 JULIAN COLLAZO PEREZ                        GLENVIEW GARDENS            X 24 CALLE N 20                                                                          PONCE               PR           00731
   255542 JULIAN D ACUNA ROMAN                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   255543 JULIAN D RIVAS LEAL                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   692695 JULIAN DE LA ROSA SANTANA                   RES COLINAS DE MAGNOLIA     APT 105                                                                                  JUNCOS              PR           00777
   692697 JULIAN E BLANCO                             CALLE MARTIN TRAVIESO       ESQ ESTRELLA PDA 22                                                                      SAN JUAN            PR           00907
   255544 JULIAN E MUNOZ PEREZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   692699 JULIAN ESPINAL STUDIO                       URB BALDRICH                554 CALLE JOSE R ACOSTA                                                                  SAN JUAN            PR           00918
   692700 JULIAN F ALVAREZ ARROYAVE                   URB VISTA BELLA             U‐11 CALLE RENO                                                                          BAYAMON             PR           00956
   255546 JULIAN FLECHA REYES                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   255547 JULIAN GARCIA                               REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   692701 JULIAN GONZALEZ AGUILAR                     PO BOX 814                                                                                                           BAJADERO            PR           00616
   692702 JULIAN GONZALEZ CORDERO                     451 CALLE LOS PRIETOS                                                                                                QUEBRADILLAS        PR           00678
   255548 JULIAN GUIA GARCIA                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   255549 JULIAN GUIZ GARCIA                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   255550 JULIAN GUZMAN MORENO                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   692703 JULIAN IRIZARRY BAEZ                        232 AVE ELEONOR ROOSEVELT                                                                                            SAN JUAN            PR           00907
   255551 JULIAN J RIVAS MONTANEZ                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   255552 JULIAN J ROSADO ALVAREZ                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   255553 JULIAN J SANTIAGO                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   692704 JULIAN J VIGO SOTO                          LOIZA VALLEY                6 415 CALLE LAUREL                                                                       CANOVANAS           PR           00729
   255554 JULIAN LAMADRID GONZALEZ                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   255555 JULIAN LIZARDO RIVERO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   255556 JULIAN LONDONO GUZMAN                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   692707 JULIAN LOPEZ NIEVES         URB REPARTO METROPOLITANO                   944 CALLE 11                                                                             SAN JUAN            PR           00921
   255557 JULIAN M MALAVE MIRANDA     REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   692708 JULIAN M RIVERA MORALES     HC 1 BOX 4093                                                                                                                        YAUCO               PR           00767‐9603
   255558 JULIAN M VELEZ FIGUEROA     REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   692709 JULIAN MARIAS AGUILERA      VALLE HERMOSO                               34‐5 OCHOA 28015                                                                         MADRID              MA           28015         SPAIN
   255559 JULIAN MARQUEZ ROSADO       REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   255560 JULIAN MCCONNIE NAVARRO     REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   692712 JULIAN MILLANO RAMOS        HC‐3 BOX 36303                                                                                                                       CAGUAS              PR           00725‐9703
   255561 JULIAN MOLINA VAZQUEZ       REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   692713 JULIAN MOLINARI RAMIREZ     URB PARQUE ECUESTRE                         N 43 CALLE MONTE NEGRO                                                                   CAROLINA            PR           00984
   255562 JULIAN MONTANEZ CLAUDIO     REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   692714 JULIAN NIEVES TORRES        RES MANUEL A PEREZ                          I‐9 APT 82                                                                               SAN JUAN            PR           00923
                                      COND JARDINES
   692715 JULIAN O FERNANDEZ FIGUEROA METROPOLITANOS                              II APT 1 E                                                                               SAN JUAN            PR           00928



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  255563 JULIAN OMS RODRIGUEZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  692716 JULIAN ORTIZ VAZQUEZ                         PO BOX 477                                                                                                     CAYEY             PR         00737
  692717 JULIAN OTERO RODRIGUEZ                       BO LA GRUA 17                                                                                                  Manati            PR         00674
  255564 JULIAN P VELEV                               REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  692718 JULIAN PAGAN CAMACHO                         HC 02 BOX 15080                                                                                                AGUAS BUENAS      PR         00703
         JULIAN PAGAN CAMACHO DBA
  255565 PAGAN BUS LINE                               HC 03 BOX 15080                                                                                                AGUAS BUENAS      PR         00703
  255566 JULIAN PAULINO ALONSO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  255567 JULIAN PEREZ RODRIGUEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  692719 JULIAN PIETRI CARABALLO                      HC 1 BOX 6354                                                                                                  YAUCO             PR         00698
  692720 JULIAN PIETRI RUIZ                           HC 1 BOX 6354                                                                                                  YAUCO             PR         00698
  692721 JULIAN R EGEA CARDONA                        VILLAS DE ALMERIA           150 CALLE MACAEL                                                                   AGUADILLA         PR         00603
  692722 JULIAN R PAGAN LOPEZ                         PO BOX 176                                                                                                     BARRANQUITAS      PR         00794
  255568 JULIAN RESTITUYO CACERES                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  255569 JULIAN REYES ALVARADO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  692724 JULIAN RIVERA CALDERON                       URB RES BAIROA              BJ 10 CALLE 22 B 1                                                                 CAGUAS            PR         00725
  255571 JULIAN RIVERA CINTRON                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  255572 JULIAN RIVERA HERNANDEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  255573 JULIAN RIVERA O NEILL                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  692726 JULIAN RODRIGUEZ                             661 CALLE MARTI                                                                                                SAN JUAN          PR         00907
                                                      BO LA MESA(FRENTE ESC LA
   692727 JULIAN RODRIGUEZ FONTANEZ                   MESA)                                                                                                          CAGUAS            PR         00725
   692729 JULIAN RODRIGUEZ REYES                      2NDA EXT DR PILA            EDIFICIO 2 30                                                                      PONCE             PR         00731

   255576 JULIAN RODRIGUEZ SACRISTAN                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   255580 JULIAN SANTOS AYALA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   255584 JULIAN SOLIS DE JESUS                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   692730 JULIAN SOTO CABAN                           535 CARRETERA 112                                                                                              ISABELA           PR         00662
   692731 JULIAN TIRE CENTER                          100 CALLE CENTRAL                                                                                              COTO LAUREL       PR         00780
   692733 JULIAN TIRE SERV.                           C‐100 COTTO LAUREL                                                                                             PONCE             PR         00780
   255586 JULIAN TORO                                 REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   692734 JULIAN TORRES CRUZ                          URB BELLA VISTA             U 33 CALLE 24                                                                      BAYAMON           PR         00957
   255587 JULIAN VAZQUEZ PEREZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   692735 JULIAN VEGA COLON                           JARD DE CAPARRA             PP5 CALLE 14                                                                       BAYAMON           PR         00959
   692736 JULIAN VEGA RIVERA                          P O BOX 1067                                                                                                   VEGA BAJA         PR         00694
   255588 JULIAN VIALET PENA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   692738 JULIANA ALOYO NIEVES                        BO DAGUAO PARCELAS VIEJAS   CARR 3 HM 6 3 BOX 713                                                              NAGUABO           PR         00718
   255589 JULIANA CADIZ BLACKMAN                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   255591 JULIANA CARPIO CEDENO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   255593 JULIANA GARCIA LUGO                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   255594 JULIANA HERNANDEZ GONZALEZ REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   255595 JULIANA I RIVERA ORTIZ     REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   255596 JULIANA M CINTRON RODRIGUEZ REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   255597 JULIANA M CUEVAS DIAZ       REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   255598 JULIANA M FELICIANO MERCADO REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   255599 JULIANA M. VAZQUEZ RIVERA   REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   255600 JULIANA MERCADO RODRIGUEZ REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   692740 JULIANA MOREL HELENA      LA PLATA                                      L 9 CALLE RUBI                                                                     CAYEY             PR         00736



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  255601 JULIANA NERIS PADILLA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  255602 JULIANA ORTIZ FONTANEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  255603 JULIANA ORTIZ MEJIAS                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      CALLE GUAYAMA EDIF A APTO
   692742 JULIANA PACA MARTINEZ                       205                                                                                                               SAN JUAN            PR         00930
   255604 JULIANA PEREA HERNANDEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255605 JULIANA QUINONES HELMA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255606 JULIANA RENTAS                              URB LOS CAOBOS              3055 CALLE CAIMITO                                                                    PONCE               PR         00715
          JULIANA RODRIGUEZ / HECTOR
   692743 BERMUDEZ                                    BO PLAYA SEGUNDA            CALLE B 20                                                                            SALINAS             PR         00897
   255608 JULIANA ROSADO GARCIA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255609 JULIANA T SANABRIA SANTOS                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   692746 JULIANA VELASQUEZ RAMIREZ                   PO BOX 9023825                                                                                                    SAN JUAN            PR         00902‐3825
   255610 JULIANA VELEZ PACHECO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   692747 JULIANCITO VELEZ GAS SERVICES 29 CALLE 25 DE JULIO                                                                                                            YAUCO               PR         00698
   255611 JULIANET MATOS DONES          REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255612 JULIANIS MARTINEZ APONTE      REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255613 JULIANIS OYOLA DAVILA         REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255614 JULIANNA ANDINO FIGUEROA      REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255615 JULIANNA ELIZABETH ZALESKI    REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                  716 CALLE BARTOLOMES LAS
   692748 JULIANNA M ABREU FORTI                      BO OBRERO                   CASA                                                                                  SAN JUAN            PR         00915
   692749 JULIANNA M MALDONADO                        MANSIONES DE CAROLINA       EE 9 FRAILE                                                                           CAROLINA            PR         00987
   255616 JULIANNA RIOS QUILES                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JULIANNA RODRIGUEZ
   255617 SANTIAGO                                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255618 JULIANNE C QUINONES                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255619 JULIANNE VELEZ CARINO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692750 JULIANNETTE OTERO RIVERA                    HILL BROTHERS SUR           412 E CALLE 31                                                                        SAN JUAN            PR         00924

   255621 JULIANNETTE SANTIAGO TORRES REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JULIANY MARRERO VEGA/JOSE J
   692751 MARRERO                     VILLA DE LEVITTOWN                          D 9 CALLE 1A                                                                          TOA BAJA            PR         00949
   255624 JULIARIS SANTIAGO PADILLA   REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JULIE A DEL VALLE
   255625 CARRASQUILLO                REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255626 JULIE A GONZALEZ ROBLES     REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   255627 JULIE ANN CARTAGENA CUADRA                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255628 JULIE ANN MATOS RUIZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692752 JULIE ANN RODRIGUEZ                         URB MONTE BRISAS 5          C 1 CALLE 3                                                                           FAJARDO             PR         00738
   255629 JULIE BLASSINO ALVARADO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255630 JULIE CHARLES RIVERA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692755 JULIE D LOPEZ GONZALEZ                      URB BALDRICH                213 CAMPECHE                                                                          SAN JUAN            PR         00918
          JULIE DE JESUS
   692756 ALVARADO/MICHAEL RIVERA                     SECT BUEN VECINO            233 B CALLE LAUREL                                                                    TOA BAJA            PR         00949

   692757 JULIE ELAINE MERCADO RIVERA                 HC 04 BOX 48135                                                                                                   CAGUAS              PR         00727
   692759 JULIE I VELEZ CRUZ                          URB ESTANCIAS DE YAUCO      I 40 CALLE TURQUESA                                                                   YAUCO               PR         00698
   692760 JULIE IRIZARRY ROMAN                        URB COLLEGE PARK            1800 P 2 CALLE GLASGOW                                                                SAN JUAN            PR         00921787
   692761 JULIE M FERNANDEZ GOMEZ                     URB BRISAS DEL MAR          29 CALLE SOLIMAR                                                                      GUAYAMA             PR         00784



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  255631 JULIE MARIE MENDEZ PEREZ                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  255632 JULIE MARIN MARQUEZ                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  692762 JULIE MAYORAL WIRSHING                       39 EL VIGIA                                                                                                       PONCE               PR         00730
  255633 JULIE MELENDEZ MAGRINA                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  255634 JULIE O GOMEZ GOMEZ                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  692763 JULIE ORTA                                   155 AVE ARTERIAL HOSTOS   BZ 293                                                                                  SAN JUAN            PR         00918
  692764 JULIE OTERO CANDELARIA                       FACTOR 1                  784 CALLE 18                                                                            ARECIBO             PR         000612
  255635 JULIE RIVERA NAZARIO                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                601 AVE DE DIEGO APART 1 A
   692766 JULIE RUIZ                                  PUERTO NUEVO              ALTOS                                                                                   SAN JUAN            PR         00920
   255636 JULIE S MARTINEZ BURGOS                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255637 JULIE SERRANO COLON                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255638 JULIE VILLEGAS MEDINA                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255639 JULIEBETH MORALES RUIZ                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255641 JULIEMAR MORALES NIEVES                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JULIEMAR QUINONEZ
   255642 RODRIGUEZ                                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255643 JULIEMAR RIVERA SIERRA                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692769 JULIEMAR RIVERA SNADOVAL                    PO BOX 1771                                                                                                       CIALES              PR         00638
   692770 JULIENETTE VARGAS BONILLA                   URB LAS MONJITAS          427 CALLE CAPELLAN                                                                      PONCE               PR         00730
   255646 JULIESKA RIVERA TORRES                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692771 JULIESSA NIEVES ROBLES                      BO ISLOTE                 SECTOR VIBORA CARR 681                                                                  ARECIBO             PR         00613
   255647 JULIESY VALLE MARTINEZ                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JULIETA GALIS MENENDEZ
   255648 ANGULO                                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692773 JULIETA GARCIA DE RIVERA                    PO BOX 761                                                                                                        SANTA ISABEL        PR         00757
   692774 JULIETA GONZALEZ                            VIEJO SAN JUAN            200 CALLE SOL APT B 2                                                                   SAN JUAN            PR         00901
   255649 JULIETA MUNOZ ALVARADO                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   692775 JULIETTE M COLORADO ESPADA BH 14 URB LA MARGARITA                                                                                                             SALINAS             PR         00751

   692776 JULIETTE M GARCIA GERARDINO                 ESTANCIAS DEL PARRA       10 BLVD DE SANTALUCIA                                                                   LAJAS               PR         00667
   692777 JULIETTE ORTIZ VICENTE                      PASEOS REALES             199 CESTILLO                                                                            ARECIBO             PR         00612
   255650 JULIETTE RIVERA COLLAZO                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255651 JULIETTE RUVIRA OCASIO                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692778 JULIETTE Y VERA SOTO                        URB MOTECASINO            M6 ALMACIGO                                                                             TOA ALTA            PR         00953
   255652 JULIETTZZA TORRES LOPEZ                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255653 JULIMAR MARTINEZ ZAYAS                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255654 JULIMAR SAEZ COLON                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   255655 JULIMAR VAZQUEZ VELÁZQUEZ                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JULINELLY GONZALEZ
   692779 RODRIGUEZ                                   BASE RAMEY                135 CALLE E                                                                             AGUADILLA           PR         00603
   255656 JULINETTE REYES GONZALEZ                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692796 JULIO A ACEVEDO RIVAS                       JARDINES DE PALMAREJO     L20 C5                                                                                  CANOVANAS           PR         00729
   255657 JULIO A ADORNO                              REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692797 JULIO A ALAMO GOMEZ                         VILLA HUMACAO             L 67 CALLE 3                                                                            HUMACAO             PR         00791
   692798 JULIO A ALARCON RAMOS                       6 WATERVIEW AVE                                                                                                   RONKONKOMA          NY         11779
                                                      URB MANSIONES DE RIO
   692799 JULIO A ALBINO SERRANO                      PIEDRAS                   1129 CALLE HORTENCIA                                                                    SAN JUAN            PR         00926
   692800 JULIO A ALDEBOL COLON                       BO TRASTALLERES           302 AVE LLORENS TORRES                                                                  MAYAGUEZ            PR         00682‐5825

   255658 JULIO A ALDORONDO MENDOZA REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  255659 JULIO A ALVARADO ROSARIO                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  255661 JULIO A ALVAREZ TORANO                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JULIO A ANDINO Y BEATRIZ DIAZ
  255662 (TUTORA)                                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  255663 JULIO A ARCE CORTES                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  255664 JULIO A AROCHO PENDAS                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  692802 JULIO A ARROYO OCASIO                         URB BORINQUEN GARDENS    324 CAL ALFREDO GALVEZ                                                                 SAN JUAN            PR         00926
  255665 JULIO A BACO DAVILA                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  692804 JULIO A BAEZ SILVA                            URB MONSERRATE           105 CALLE ORIENTE                                                                      SAN JUAN            PR         00683
  692805 JULIO A BATISTA                               COND TORRES DEL PARQUE   1501 SUR                                                                               BAYAMON             PR         00956‐3071

   692806 JULIO A BENIQUEZ GUEVARRA                    220 SECT CALIFORNIA                                                                                             ISABELA             PR         00662
   255666 JULIO A BERRIOS KEYSER                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255667 JULIO A BONILLA NEGRON                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255668 JULIO A BRUNO SALGADO                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255669 JULIO A BURGOS APONTE                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255670 JULIO A CAMPOS TORRES                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255671 JULIO A CARDONA PLAZA                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255672 JULIO A CARRILO RIVERA                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   255673 JULIO A CARTAGENA GONZALEZ                   REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692808 JULIO A CARTAGENA VICENTE                    LOIZA VALLEY             Q 586 CALLE BUGAMBILLA                                                                 CANOVANAS           PR         00729
   692809 JULIO A CASTILLO GARCIA                      PO BOX 20770                                                                                                    SAN JUAN            PR         00925
   255675 JULIO A CHICO HERNANDEZ                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255676 JULIO A CINTRON MORALES                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255677 JULIO A CINTRON ORENGO                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692810 JULIO A CIRINO PIZARRO                       MEDIANA ALTA             HC 01 BOX 6804                                                                         LOIZA               PR         00772
   255678 JULIO A COLLAZO RIVERA                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255679 JULIO A COLLAZO SUAREZ                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255680 JULIO A COLON                                REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255682 JULIO A COLON NEGRON                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255684 JULIO A COLON SANTOS                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255685 JULIO A CONCEPCION ALERS                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255686 JULIO A CORREA ALAMO                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255687 JULIO A COX PARRILLA                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255689 JULIO A CRUZ MIRANDA                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JULIO A CUBANO REYES &
   692812 AWILDA VAZQUEZ                               PO BOX 513                                                                                                      BARCELONETA         PR         00617
   692814 JULIO A DAVILA ADORNO                        BO ESPINOSA              PARE CARMEN C/AGUILA 29 A                                                              VEGA ALTA           PR         00692
   692816 JULIO A DE JESUS SANTIAGO                    URB CHALET LA HACIENDA   AY 2 CALLE 54                                                                          GUAYAMA             PR         00784
   692817 JULIO A DE LEON                              D 2 URB EL RECREO                                                                                               HUMACAO             PR         00791

   255690 JULIO A DE SANTIAGO ACOSTA                   REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692783 JULIO A DELGADO VEGA                         HC 04 BOX 17797                                                                                                 CAMUY               PR         00627
   255691 JULIO A DIAZ ORTIZ                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255692 JULIO A DIAZ PIZARRO                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   692819 JULIO A ENCARNACION ROMAN                    P O BOX 190283                                                                                                  SAN JUAN            PR         00919
   255694 JULIO A FELICIANO RIVERA                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692823 JULIO A FONSECA MERCADO                      PO BOX 12383                                                                                                    SAN JUAN            PR         00919‐0383
   255698 JULIO A FONSECA PEREZ                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255699 JULIO A GASTON VERDEJO                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692825 JULIO A GONZALES RIOS                        VILLA PALMERA            365 CALLE COTTON                                                                       SANTURCE            PR         00915



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  255700 JULIO A GONZALEZ FIGUEROA                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  692826 JULIO A GONZALEZ LOUBRIEL                    URB LUCHETTI 32             CALLE RAMON FERNANDEZ                                                              MANATI              PR         00674
  255701 JULIO A GONZALEZ PANIAGUA                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  255703 JULIO A GUZMAN GONZALEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  255704 JULIO A HERNANDEZ DE LUNA                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  255705 JULIO A HERNANDEZ ORTEGA                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  692827 JULIO A HERNANDEZ RIVERA                     FERNANDEZ JUNCOS STATION    PO BOX 19175                                                                       SAN JUAN            PR         00910

   255706 JULIO A HERNANDEZ SANCHEZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255707 JULIO A ILLANAS                             REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692795 JULIO A IRIZARRY                            URB. LOS ANGELES            8 CALLE C                                                                          YABUCOA             PR         00767
   692830 JULIO A JIMENEZ DIAZ                        HC 01 BOX 3670                                                                                                 LAS MARIAS          PR         00670
   255708 JULIO A JIMENEZ LOPEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692831 JULIO A LABOY BAEZ                          HC 4 BOX 22107                                                                                                 LAJAS               PR         00667

   255709 JULIO A LAGUNA UDEMBURGH                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   692784 JULIO A LEON RIVERA                         PO BOX 372795                                                                                                  CAYEY               PR       00737
   692834 JULIO A LOPEZ CRUZ                          HC 01 BOX 7603                                                                                                 BARCELONETA         PR       00617‐9709
   692835 JULIO A LOPEZ MARRERO                       HC 1 BOX 6032                                                                                                  SANTA ISABEL        PR       00757‐9714
   692836 JULIO A LOPEZ PEREZ                         HC 01 BOX 3680                                                                                                 LARES               PR       00669
   255711 JULIO A LUGO MENDOZA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   255712 JULIO A LUNA CANUELAS                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   692837 JULIO A MALDONADO DIAZ                      PO BOX 1296                                                                                                    BARCELONETA         PR       00617
   255713 JULIO A MALDONADO FELIX                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   255714 JULIO A MANGUAL CUBERO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   692839 JULIO A MANZANO RIOS                        P O BOX 363621                                                                                                 SAN JUAN            PR       00936
   692841 JULIO A MARQUEZ RUIZ                        PO BOX 2714                                                                                                    GUAYNABO            PR       00970‐2714
   255717 JULIO A MARRERO ORSINI                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   692842 JULIO A MARTINEZ RIJOS                      HC 1 BOX 7507                                                                                                  AGUAS BUENAS        PR       00703
   255719 JULIO A MARTINEZ SIERRA                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   255720 JULIO A MEDERO DIAZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
          JULIO A MEDINA A/C ELBA N
   692843 APONTE                                      CIUDAD CENTRO               64 CALLE GUARIONEX                                                                 CAROLINA            PR         00987
   255722 JULIO A MERCEDES REYES                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692844 JULIO A MORALES INFANTE                     PARC FALU                   332 CALLE 37                                                                       SAN JUAN            PR         00926
   255723 JULIO A MORALES JIMENEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   255724 JULIO A MORALES MONTALVO                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692845 JULIO A MORALES RIVERA                      PO BOX 10299                                                                                                   PONCE               PR         00732‐0299
   692846 JULIO A NAZARIO ROSSY                       327 CALLE SAN IGNACIO                                                                                          MAYAGUEZ            PR         00680
   692847 JULIO A NEGRON ORTIZ                        URB VILLA DEL REY I         J 12 CALLE TUDOR                                                                   CAGUAS              PR         00725
          JULIO A NUNEZ/ASOC RES
   255725 URB.GARCIA UBARRI                           AREA DEL TESORO             CONTADURIA GENERAL                                                                 SAN JUAN            PR         00902
   770672 JULIO A OCASIO TASCON                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255727 JULIO A ORTIZ CARINO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255728 JULIO A ORTIZ CRUZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255729 JULIO A PACHECO PASCUAL                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   692849 JULIO A PADILLA VELEZ                       NAVAL STA ROOSEVELT ROADS   53 RANGER DR                                                                       CEIBA               PR         00735
   692851 JULIO A PANELL MALDONADO                    PMB 48 P O BOX 2510                                                                                            TRUJILLO ALTO       PR         00977
   692852 JULIO A PEDRAZA AYALA                       URB CIUDAD MASSO            AL 36 CALLE 4                                                                      SAN LORENZO         PR         00756
   255730 JULIO A PEGUERO RIVERA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   692854 JULIO A PEREZ ALMODOVAR                     PO BOX 988                                                                                                     LAJAS               PR         00667



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  255732 JULIO A PEREZ BERMUDEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  255733 JULIO A PEREZ HERNANDEZ                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  255734 JULIO A PEREZ MELENDEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  255735 JULIO A PEREZ PRIETO                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  255736 JULIO A QUINONES PACHECO                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  692857 JULIO A RAMOS RIVERA                         HC 9 BOX 2353                                                                                                        SABANA GRANDE      PR         00637‐9601
  255739 JULIO A RAMOS ROMERO                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  255740 JULIO A REYES NEGRON                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  692859 JULIO A RIOS MARTINEZ                        RES CARIOCA                 EDIF 23 APT 135                                                                          GUAYAMA            PR         00784
  255741 JULIO A RIVERA ALICEA                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  255744 JULIO A RIVERA GUIO                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  692861 JULIO A RIVERA MALPICA                       COND SKY TOWER I            APT 2 G                                                                                  SAN JUAN           PR         00926
  255745 JULIO A RIVERA PACHECO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  255746 JULIO A RIVERA PADRO                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  255747 JULIO A RIVERA REYES                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  692862 JULIO A RIVERA SERRANO                       COND GARDENS VALLEY CLUB    APT 121                                                                                  SAN JUAN           PR         00926
  255748 JULIO A ROBLES MEDINA                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  255749 JULIO A ROCHE LOPEZ                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  692865 JULIO A RODRIGUEZ ALOMAR                     18 CALLE CONSTITUCION                                                                                                SANTA ISABEL       PR         00757

   255750 JULIO A RODRIGUEZ CARABALLO                 REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   255752 JULIO A RODRIGUEZ RENTAS                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JULIO A RODRIGUEZ
   692866 SOTOMAYOR                                   HC 01 BOX 6301              PLAYA CORTADA                                                                            SANTA ISABEL       PR         00757‐9716
   692867 JULIO A RODRIGUEZ TORRES                    40 CALLE ERNESTO ANTONINI                                                                                            LAS PIEDRAS        PR         00771
   692868 JULIO A ROSA CORREA                         PO BOX 230                                                                                                           SAN LORENZO        PR         00754
   692869 JULIO A ROSARIO FERREIRA                    PO BOX 94                                                                                                            GUAYNABO           PR         00657‐0094
   692870 JULIO A ROSARIO HEREDIA                     PO BOX 10130                                                                                                         CAROLINA           PR         00979
   692871 JULIO A ROSARIO LEBRON                      URB EL COMANDANTE           1218 NICOLAS AGUAYO                                                                      SAN JUAN           PR         00924

   692872 JULIO A ROSSY                               HATO TEJAS                  8 PASEO ROSSY BO HATO TEJAS                                                              BAYAMON            PR         00959
   692873 JULIO A ROSSY & ASSOCIATES                  HATO TEJAS                  8 ROSSY STREET                                                                           BAYAMON            PR         00959
   692874 JULIO A RUIZ                                ALT DE SANTA                E10 CALLE DILDO                                                                          GUAYNABO           PR         00969
   255753 JULIO A RUIZ MARTINEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   255754 JULIO A SAEZ VEGA                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   255755 JULIO A SANCHEZ CLAUDIO                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   255756 JULIO A SANCHEZ MARTINEZ                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   692875 JULIO A SANTIAGO CRUZ                       URB COSTA AZUL              F 12 CALLE 11                                                                            GUAYAMA            PR         00784
   255757 JULIO A SANTIAGO GARCIA                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   255758 JULIO A SANTIAGO PEREZ                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JULIO A SANTOS /NILDA
   255761 ACEVEDO                                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JULIO A SANTOS RIVERA / SUN
   255762 PRO PR                                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   692876 JULIO A SANTOS SANTOS                       HC‐01 BOX 13201                                                                                                      COMERIO                       00782
   255763 JULIO A SAUNDERS GARCIA                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   255764 JULIO A SEGARRA SANTIAGO                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   692877 JULIO A SEPULVEDA FRANCO                    PO BOX 7335                                                                                                          PONCE              PR         00732
   255765 JULIO A SORIA DIAZ                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   692878 JULIO A SUAREZ VEGA                         HC 37 BOX 4531                                                                                                       GUANICA            PR         00653 9703
   692879 JULIO A TOBAL CORTES                        1RA SECCION LEVITTOWN       1425 PASEO DELFIN                                                                        TOA BAJA           PR         00950
   255766 JULIO A TORO APONTE                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   692882 JULIO A TORRES MEDINA                       EXT VILLA DE LOIZA          JJ 50 CALLE 41                                                                           LOIZA              PR         00772



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   692883 JULIO A TORRES MORALES                      URB MATIENZO CINTRON            543 CALLE TARRAGONA ALTOS                                                                 SAN JUAN             PR           00923‐2113
   255767 JULIO A VALENTIN TORRES                     REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   692885 JULIO A VALLE SANTOS                        COM ANGEL SANDIN                SOLAR 149 A                                                                               VEGA BAJA            PR           00693
   692886 JULIO A VAZQUEZ VELEZ                       URB LUCHETTI                    H 23 CALLE 1                                                                              YAUCO                PR           00698
   692785 JULIO A VEGA AYALA                          URB RES BAIROA                  DN 10 CALLE 40                                                                            CAGUAS               PR           00725
   255770 JULIO A VEGUILLA GONZALEZ                   REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   255771 JULIO A VELAZQUEZ ORTEGA                    REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   255772 JULIO A VIZCARRONDO OLIVO                   REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   692887 JULIO A WRIGHT JR                           PO BOX 360328                                                                                                             SAN JUAN             PR           00936
   692888 JULIO A. ALVARADO TORRES                    HC 01 BOX 5621                                                                                                            OROCOVIS             PR           00720
   255773 JULIO A. BACO DAVILA                        REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   255774 JULIO A. DE JESUS ORTIZ                     REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   692890 JULIO A. DE LA CRUZ ROSADO                  PO BOX 637                                                                                                                HUMACAO              PR           00792
   692891 JULIO A. DIAZ VALDEZ                        P O BOX 364428                                                                                                            SAN JUAN             PR           00936‐4428
   255776 Julio A. Lopez Velazquez                    REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   770673 JULIO A. OCASIO TASCON                      REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   255777 JULIO A. OTERO OTERO                        REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   255778 JULIO A. RAMOS VELAZCO                      REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      I R S AUTOMATED COLLECT
   692893 JULIO A. RODRIGUEZ                          SYSTEM                          PO BOX 4001                                                                               WOBURN               MA           01888
   255780 Julio A. Rodriguez Planell                  REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   692894 JULIO A. SERRANO GONZALEZ                   43 CALLE LUCILA SILVA                                                                                                     SAN JUAN             PR           00936
   692896 JULIO ABRAHAM GARCIA                        URB MABU                        C 26 CALLE 3                                                                              HUMACAO              PR           00791
   692897 JULIO ABRIL NAVARRO                         URB VENUS GARDENS 1694          AGUAS CALIENTES                                                                           SAN JUAN             PR           00926
                                                                                      AE 12 CALLE RIO GRANDE DE
   692898 JULIO ACEVEDO                               URB RIO HONDO                   LOIZA                                                                                     BAYAMON              PR           00961
   255783 JULIO ACEVEDO CORNIER                       REDACTED                        REDACTED                     REDACTED                              REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                      CALLE RIO GRANDE DE LOIZA AE
   692899 JULIO ACEVEDO MORALES                       URB RIO HONDO II                12                                                                                        BAYAMON              PR           00961
   255784 JULIO ACEVEDO SEGUI                         REDACTED                        REDACTED                     REDACTED                              REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   255785 JULIO ACEVEDO TOSADO                        REDACTED                        REDACTED                     REDACTED                              REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   692900 JULIO ACOSTA BAEZ                           URB. EXT. ALAMAR B‐32 CALLE L                                                                                             LUQUILLO             PR           00773

   692901 JULIO ADORNO RIVERA                         HP ‐ OFIC. DIRECTORA EJECUTIVA                                                                                            RIO PIEDRAS          PR           00936‐0000
   692902 JULIO AGOSTO CUEVAS                         URB VILLA GUADALUPE CC 37      CALLE 18                                                                                   CAGUAS               PR           00725‐4053
   255787 JULIO AGUILA DE JESUS                       REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   255788 JULIO ALBINO VAZQUEZ                        REDACTED                       REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   255789 JULIO ALEXANDER PENA NIEVES                 REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   255791 JULIO ALICEA VASALLO                        REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   692904 JULIO ALMODOVAR JUSINO                      EXT SAN ISIDRO                  37 CALLE FELIX RIGAO CARRERA                                                              SABANA GRANDE        PR           00637
   255792 JULIO ALVARADO MARRERO                      REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   692907 JULIO ALVARADO SANCHEZ                      P O BOX 229                                                                                                               ADJUNTAS             PR           00601
   692908 JULIO ALVAREZ CANEDA                        COND SIERRA ALTA                200 CARR 842 P0 BOX 116                                                                   SAN JUAN             PR           00926
   692909 JULIO ALVAREZ RAMIREZ                       BANCO COOPERATIVO               623 AVE PONCE DE LEON                                                                     SAN JUAN             PR           00917
   255793 JULIO ALVERIO DE JESUS                      REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   255795 JULIO AMARO ORTIZ                           REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   255796 JULIO ANDINO QUINONES                       REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   692911 JULIO ANDINO RODRIGUEZ                      PO BOX 2501                                                                                                               GUAYAMA              PR           00678



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   692912 JULIO ANGEL CARMONA RIVERA                  P O BOX 6007 SUITE 001                                                                                                 CAROLINA             PR           00984
          JULIO ANGEL DEL VALLE
   255797 RODRIGUEZ                                   REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JULIO ANGEL GUZMAN
   255798 GONZALEZ                                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   255799 JULIO ANGEL VEGA ESCOBAR                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   255800 JULIO ANTONIO SANTOS RIVERA                 REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   255803 JULIO APONTE COLON                          REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   692913 JULIO AQUINO GERENA                         P O BOX 461                                                                                                            MAYAGUEZ             PR           00681
   692914 JULIO ARAUJO                                URB HACIENDA REAL           513 CALLE COQUI BLANCO                                                                     CAROLINA             PR           00987

   692915 JULIO ARCHEVAL ECHEVARRIA                   URB LAS DELICIAS            713 CALLE RAFAEL RIVERA ESBRI                                                              PONCE                PR           00725
   692916 JULIO ARISTOD BENITEZ                       URB JARDINES DE CUPEY       EDIF 16 APT 191                                                                            SAN JUAN             PR           00926
   692917 JULIO ARRIAGA RIVERA                        HC 01 BOX 6380                                                                                                         AGUAS BUENAS         PR           00707
   692918 JULIO ARROYO CASTRO                         HC 3 BOX 11215                                                                                                         YABUCOA              PR           00767
   692919 JULIO ARROYO INOSTROZA                      PO BOX 484                                                                                                             LAS PIEDRAS          PR           00771

          JULIO ARROYO ROBLES/MANATI
   692920 BOYS BASEBALL                               URB LUCHETTI                87 CALLE SIERRA BERDECIA                                                                   MANATI               PR           00674
          JULIO ARROYO Y ZORAIDA
   692921 HERNANDEZ                                   172 CALLE MAYOR CANTERA                                                                                                PONCE                PR           00731
   692922 JULIO AVILES MALDONADO                      URB EL ROSARIO              E 7 CALLE A                                                                                BEGA BAJA            PR           00693
   692923 JULIO AVILES MARIN                          C 13 URB JESUS MARIA LAGO                                                                                              UTUADO               PR           00641
   692924 JULIO AXEL LANDRON                          PO BOX 908                                                                                                             SAN JUAN             PR           00902
   692925 JULIO AYALA RIVERA                          REPTO FLAMINGO              C 2 CALLE DEL VIVI                                                                         BAYAMON              PR           00959
   692926 JULIO AYALA RODRIGUEZ                       PORTALES DE CAROLINA        208 BERNARDO GARCIA                                                                        CAROLINA             PR           00985
   692927 JULIO B LUCCA TORRES                        29 URB MORELL CAMPOS                                                                                                   PONCE                PR           00730‐2790
   692928 JULIO B RODRIGUEZ ODUM                      EL REMANSO                  B 4 CALLE ARROYO                                                                           SAN JUAN             PR           00926
   255806 JULIO BAEZ ALGARIN                          REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   255807 Julio Baez Reyes                            REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   255808 JULIO BALBUENA MUNOZ                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   255810 JULIO BARRETO PEREZ                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   692930 JULIO BAYRON LARACUENTE                     PO BOX 8615                                                                                                            HUMACAO              PR           00792
   692931 JULIO BENABE CRUZ                           URB FAJARDO GARDENS         73 CALLE CEIBA                                                                             FAJARDO              PR           00738
   692933 JULIO BERRIOS SANTOS                        BO ARENAS                   SECTOR LOS PINOS BOX 5216                                                                  CIDRA                PR           00739
   692934 JULIO BIGIO AGOSTO                          ALTURAS BORINQUEN GDENS     100 CALLE TULIP                                                                            SAN JUAN             PR           00926
   692935 JULIO BLANCO & ASSOC                        P O BOX 364712                                                                                                         SAN JUAN             PR           00936‐4712
   692936 JULIO BLANCO D ARCY                         P O BOX 277                                                                                                            CAGUAS               PR           00726‐0277
   255811 JULIO BONILLA CINTRON                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   692937 JULIO BONILLA RIVERA                        PO BOX 1766                                                                                                            JUNCOS               PR           00777
   692938 JULIO BONILLA RODRIGUEZ                     PO BOX 7126                                                                                                            PONCE                PR           00732
   692940 JULIO BORIA MALDONADO                       URB LOS ROBLES              C 1 CALLE 2                                                                                GURABO               PR           00778
   255814 JULIO BORRERO ALVARADO                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   255815 JULIO BOU SANTIAGO                          REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   255816 JULIO BRACERO RODRIGUEZ                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   255818 JULIO BRENES                                REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   692941 JULIO BRUNO SIERRA                          AVE CAPITAN BOX 8270                                                                                                   TOA BAJA             PR           00949
   255819 JULIO C ABREU PENA                          REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   255820 JULIO C ACOSTA LOPEZ                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   255821 JULIO C ALVAREZ ABREU                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   255822 JULIO C AMARO MARTINEZ                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  692945 JULIO C APONTE RIVERA                        PMB 54                      PO BOX 607071                                                                   BAYAMON             PR           00960‐7071

   255823 JULIO C ARAGUREN CARMONA                    REDACTED                    REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   692946 JULIO C AYALA BARCELO                       BOX 1149                                                                                                    SAN GERMAN          PR           00683
   255825 JULIO C AYALA VELEZ                         REDACTED                    REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   255827 JULIO C BERENGUER LOPEZ                     REDACTED                    REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   255828 JULIO C BERRIOS CASTRO                      REDACTED                    REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

          JULIO C BONILLA
   692948 GONZALEZ/JUNCOS RADIATOR                    PO BOX 1248                                                                                                 JUNCOS              PR           00777
   692951 JULIO C CAJIGAS JIMENEZ                     P O BOX 3356                                                                                                AGUADILLA           PR           00605‐3556
   255831 JULIO C CARDONA GONZALEZ                    REDACTED                    REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   255832 JULIO C CARMONA ARIAS                       REDACTED                    REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   692954 JULIO C CARMONA MALDONADO URB ALTURA DE JAYUYA                          82 CALLE EUCALIPTO                                                              JAYUYA              PR           00664
   255833 JULIO C CASTILLO LOPEZ    REDACTED                                      REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   692955 JULIO C CASTRO            PUERTO NUEVO                                  1333 CALLE 20 N O                                                               SAN JUAN            PR           00920
   692956 JULIO C CASTRO RODRIGUEZ  RES DR PEDRO PALOU                            EDIF 12 APT 95                                                                  HUMACAO             PR           00791
   255834 JULIO C COLLAZO FELICIANO REDACTED                                      REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   692958 JULIO C COLON ORTIZ       4 CALLE DR MODESTO VELEZ                                                                                                      SANTA ISABEL        PR           00757

   692959 JULIO C CONCEPCION MELENDEZ HC 03 BOX 9509                                                                                                              COMERIO             PR           00782
   255835 JULIO C CORDERO CORTES        REDACTED                                  REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JULIO C CORREA Y JENNIFER
   255836 PAGAN                         REDACTED                                  REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   692960 JULIO C CORTES ZENO           RES LOS MORALES                           EDIF 6 APT 57                                                                   MANATI              PR           00674
          JULIO C CRUZ / CLASE GRAD 4TO
   255837 ANO 02‐03                     9 CALLE PACHIN                                                                                                            MARICAO             PR           00606
   692961 JULIO C CRUZ PEREZ            URB OREILLY                               81 CALLE 3                                                                      GURABO              PR           00778
   255839 JULIO C CUADRADO BERRIOS      REDACTED                                  REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   692962 JULIO C DELGADO VAZQUEZ       PO BOX 924                                                                                                                AGUAS BUENAS        PR           00703‐0924
   692963 JULIO C DIAZ COLON            PMB 140                                   BOX 1800                                                                        CIDRA               PR           00739
   692964 JULIO C DIAZ JUSTINIANO       RES EL RECREO                             EDIF 40 APT 275                                                                 SAN GERMAN          PR           00683
   255840 JULIO C FELICIANO BONILLA     REDACTED                                  REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   692965 JULIO C FELICIANO MELENDEZ                  URB FAJARDO GARDENS         S 15 CALLE GUAMA                                                                FAJARDO             PR           00738
   255841 JULIO C FELIZ FIGUEROA                      REDACTED                    REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   255842 JULIO C FIGUEROA CAMUNAS                    REDACTED                    REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   255843 JULIO C FIRPI RIVERA                        REDACTED                    REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   255844 JULIO C FONTANEZ PRADO                      REDACTED                    REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   692966 JULIO C FRAGOSO GONZALEZ                    525 CARR 8860 BOX 2554                                                                                      TRUJILLO ALTO       PR           00976
   255845 JULIO C GALARCE ORTIZ                       REDACTED                    REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   255847 JULIO C GARCIA SANTANA                      REDACTED                    REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   255848 JULIO C GARCIA VELEZ                        REDACTED                    REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   692967 JULIO C GONZALEZ GERENA                     PO BOX 541                                                                                                  LAS PIEDRAS         PR           00771

   692968 JULIO C GONZALEZ LAUREANO                   220 CALLE GAUTIER BENITEZ                                                                                   SAN JUAN            PR           00915
   255850 JULIO C GONZALEZ VAZQUEZ                    REDACTED                    REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   255851 JULIO C GRACIA                              REDACTED                    REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   255852 JULIO C HERNANDEZ CORREA                    REDACTED                    REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   692969 JULIO C HERNANDEZ LOPEZ                     HC 01 BOX 5625                                                                                              MOCA                PR           00676
   692970 JULIO C HERNANDEZ NIEVES                    URB VILLA DEL REY           3F 2 CALLE MONACO                                                               CAGUAS              PR           00725




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   255853 JULIO C HERNANDEZ RODRIGUEZ REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   255854 JULIO C HERNANDEZ SANCHEZ                   REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692971 JULIO C HERRERA MEDRANO                     URB LAS DELICIAS      BM 8 CALLE 10                                                                      PONCE               PR         00731
   692972 JULIO C LA SANTA LOPEZ                      PO BOX 1358                                                                                              NAGUABO             PR         00718‐1358
   692973 JULIO C LOPEZ GERENA                        PO BOX 158                                                                                               HUMACAO             PR         00792
   255855 JULIO C LOPEZ GUZMAN                        REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255856 JULIO C LOPEZ RIOS                          REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255857 JULIO C LUGO AVILA                          REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255858 JULIO C MARTINEZ AVILES                     REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   255859 JULIO C MARTINEZ ESCARFULLER REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255860 JULIO C MARTINEZ QUINONES    REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692974 JULIO C MARTINEZ RIVERA      1590 AVE PONCE DE LEON               SUITE 100                                                                          SAN JUAN            PR         00926
   255861 JULIO C MARTINEZ VARGAS      REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255862 JULIO C MARTINEZ VAZQUEZ     REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255864 JULIO C MATIAS RAMOS         REDACTED                             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   255865 JULIO C MATIAS Y INES RAMIREZ REDACTED                            REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692977 JULIO C MEDINA LEON           PMB 2114 P O BOX 6029                                                                                                  CAROLINA            PR         00985

   255866 JULIO C MELENDEZ ALMEDINA                   REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692978 JULIO C MELENDEZ GOMEZ                      JARDINES DEL CARIBE   D 15 CALLE 2                                                                       PONCE               PR         00731
   692979 JULIO C MELENDEZ MORALES                    JARD DE CAYEY 1       F 7 CALLE 11                                                                       CAYEY               PR         00736
   692980 JULIO C MENDEZ LOPEZ                        LOS FRAILES GARDENS   2070 CALLE 1 APT 112                                                               GUAYNABO            PR         00966‐3504
          JULIO C MERCADO
   692981 CARRASQUILLO                                BONEVILLE MANOR       A 1 ‐7 CALLE 45                                                                    CAGUAS              PR         00725
   692982 JULIO C MERCADO JUSINO                      P.O. BOX 851                                                                                             SABANA GRANDE       PR         00637
   692983 JULIO C MERCED TORRES                       HC 6 BOX 764 35       BO BAIROA                                                                          CAGUAS              PR         00725
   692984 JULIO C MOJICA CUEVAS                       PO BOX 12670                                                                                             CAROLINA            PR         00985
   692985 JULIO C MORALES CASTRO                      URB COSTA SUR         F E 70                                                                             YAUCO               PR         00698
   692986 JULIO C MORALES LAPORTE                     P O BOX 1294                                                                                             MOROVIS             PR         00687
   255868 JULIO C MORALES RAMIREZ                     REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255869 JULIO C MORALES VELEZ                       REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692987 JULIO C MORO ROMERO                         264 CALLE COLON                                                                                          AGUADA              PR         00602
   692988 JULIO C NARVAEZ OMS                         BOX 9237                                                                                                 ARECIBO             PR         00613
   692989 JULIO C NAVEIRA RIVERA                      URB COAMO GARDENS     C 6 CALLE 2                                                                        COAMO               PR         00769
   692990 JULIO C NAZARIO BARRERAS                    327 SAN IGNACIO                                                                                          MAYAGUEZ            PR         00680
   255870 JULIO C NEGRON VAZQUEZ                      REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255871 JULIO C ORENGO MENDEZ                       REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692993 JULIO C ORTEGA RIOS                         URB SULTANA           58 TENERIFE                                                                        MAYAGUEZ            PR         00680
   255872 JULIO C ORTIZ ALVAREZ                       REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692995 JULIO C ORTIZ RIVERA                        401 CALLE LUNA                                                                                           SAN JUAN            PR         00902
   255873 JULIO C ORTIZ RODRIGUEZ                     REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   692996 JULIO C PACHECO NEGRON                      P O BOX 1864                                                                                             YAUCO               PR         00698‐1864
   692997 JULIO C PANTOJA SANCHEZ                     PO BOX 8886                                                                                              VEGA BAJA           PR         00694‐8886
   692999 JULIO C PEREZ CRUZ                          H C 2 BOX 6390                                                                                           PE¥UELAS            PR         00624
   255874 JULIO C PEREZ MATOS                         REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   255875 JULIO C PEREZ VEGA                          REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JULIO C PINERO LOPEZ Y SONIA
   255876 ALGARIN                                     REDACTED              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   693000 JULIO C QUILES SANTOS                       22 CALLE DR IGUINA                                                                                       CIDRA               PR         00739



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  255878 JULIO C QUINONES MORENO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   255879 JULIO C QUINONES RODRIGUEZ                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255881 JULIO C QUINTANA DIAZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255882 JULIO C RAMIREZ VEGA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693002 JULIO C RAMOS AGOSTINI                      PO BOX 522                                                                                                     YAUCO               PR         00698‐0522
   693003 JULIO C RAMOS MALAVE                        PO BOX 1818                                                                                                    CAYEY               PR         00737
   255883 JULIO C RAMOS TORRES                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255884 JULIO C RENTA PUJOLS                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693005 JULIO C REYES SANDOVAL                      URB VILLA MARINA            N 4 CALLE 7                                                                        CAROLINA            PR         00985
   693006 JULIO C RIOS RODRIGUEZ                      HC 5 BOX 39097                                                                                                 SAN SEBASTIAN       PR         00685
   255885 JULIO C RIVERA ANDINO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255886 JULIO C RIVERA HIDALGO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693008 JULIO C RIVERA RODRIGUEZ                    HC 763 BOX 3211                                                                                                PATILLAS            PR         00728

   693009 JULIO C RODRIGUEZ CABRERA                   COND GOLDEN COURT           II 155 AVE ARTERIAL     HOSTOS STE 261                                             SAN JUAN            PR         00918

   255887 JULIO C RODRIGUEZ MARTINEZ                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   693010 JULIO C RODRIGUEZ MONTALV                   3104 N NATOMA AVE                                                                                              CHICAGO             IL         60634

   255888 JULIO C RODRIGUEZ MORALES                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693011 JULIO C RODRIGUEZ RUIZ                      HC 8 BOX 49115                                                                                                 CAGUAS              PR         00725
   255889 JULIO C ROJAS                               REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693013 JULIO C ROSADO OYOLA                        URB LAS DELICIAS            3796 CALLE GUANINA                                                                 PONCE               PR         00728
   255890 JULIO C ROSARIO SANTIAGO                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255891 JULIO C ROSARIO TORRES                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693014 JULIO C ROSSY ACEVEDO                       PO BOX 788                                                                                                     SABANA GRANDE       PR         00637
   255892 JULIO C RUIZ RIOS                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255893 JULIO C SAEZ OLIVERA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255894 JULIO C SANTIAGO                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693016 JULIO C SANTOS MONTALVO                     MANS DE VILLANOVA           C1‐2 CALLE D                                                                       SAN JUAN            PR         00926
   255895 JULIO C SOSA GIRON                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693018 JULIO C TORO FELICIANO                      PO BOX 83                                                                                                      HORMIGUEROS         PR         00660
   255896 JULIO C TORRES CAMARA                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255897 JULIO C TORRES COLON                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255898 JULIO C TORRES GONZALEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693019 JULIO C TORRES JIMENEZ                      PO BOX 2438                                                                                                    SAN GERMAN          PR         00683
   255899 JULIO C TORRES MORALES                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255900 JULIO C TORRES QUIROS                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693020 JULIO C TORRES RODRIGUEZ                    13 BDA MAGUEYES                                                                                                PONCE               PR         00731
   255901 JULIO C TORRES VIERA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693023 JULIO C VALLE ACEVEDO                       PO BOX 7126                                                                                                    PONCE               PR         00732
   693024 JULIO C VARGAS DE LA PAZ                    ESTANCIAS DE SAN PEDRO      T 11 CALLE SAN MARCOS                                                              FAJARDO             PR         00738
   255902 JULIO C VARGAS ORTIZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693025 JULIO C VAZQUEZ                             HC 37 BOX 6673                                                                                                 GUANICA             PR         00653
   693026 JULIO C VAZQUEZ NEGRON                      BOX 64                                                                                                         BARCELONETA         PR         00617
   693027 JULIO C VAZQUEZ RIVERA                      HC 01 BOX 6525              BO COLLORES                                                                        LAS PIEDRAS         PR         00771
   693028 JULIO C VEGA ACOSTA                         P O BOX 1308                                                                                                   GUAYNABO            PR         00970
   693029 JULIO C VEGA GARCIA                         URB RIO GRANDE STATES       T 2 CALLE 9A                                                                       RIO GRANDE          PR         00745
   693030 JULIO C VEGA MERCADO                        CALLE LAS FLORES BOX 1049                                                                                      ENSENADA            PR         00647
   693032 JULIO C VEGA VAZQUEZ                        REPTO PUEBLO NUEVO          67 CORAL                                                                           SAN GERMAN          PR         00683
   693033 JULIO C VELAZQUEZ                           HC 01 BOX 7632                                                                                                 AGUAS BUENAS        PR         00782



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  255904 JULIO C VELAZQUEZ FLORES                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   255905 JULIO C VELAZQUEZ SANABRIA                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   255906 JULIO C VELEZ ACOSTA                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   693036 JULIO C VELEZ TORO                          HC 2 BOX 12375                                                                                                    LAJAS               PR         00667
   693037 JULIO C ZAVALA DIAZ                         HC 1 BOX 9355                                                                                                     GURABO              PR         00778
   693038 JULIO C. LEON GONZALEZ                      URB. BAIROA AR7 CALLE#29                                                                                          CAGUAS              PR         00725

   255908 JULIO C. PLAZA MONTENEGRO                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   255909 JULIO C. TORRES CASTILLO                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          JULIO CABRERA / PANADERIA
   693041 REP JUNIOR                                  HC 71 BOX 1112                                                                                                    NARANJITO           PR         00719
   255910 JULIO CABRERA CARMONA                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   693042 JULIO CABRERA ORTIZ                         PO BOX 240                                                                                                        SANTA ISABEL        PR         00757
   693043 JULIO CADIZ CALDERON                        VILLA PALMERA              210 CALLE RAFAEL CEPEDA                                                                SAN JUAN            PR         00915
   255911 JULIO CALDERO RIOS                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   255912 JULIO CALDERON BETANCOURT                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   693045 JULIO CALDERON COSME                        BOX 1441                                                                                                          JUANA DIAZ          PR         00795
   255913 JULIO CALDERON FLORES                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   693044 JULIO CALDERON FUENTES                      BO PALMAREJOS              V 2 C/14                                                                               CANOVANAS           PR         00685
   255914 JULIO CAMACHO MATTEI                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   255916 JULIO CAMPOS                                REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   693046 JULIO CAMPUZANO ARIAS                       322 EAST 73 ST                                                                                                    NEW YORK            NY         10021

   255917 JULIO CANDELARIA CHAPARRO                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   255918 JULIO CANTRES RIVERA                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   693047 JULIO CAPACETTI                             URB SAN JOSE CASAS YOYO    533 CALLE ARANJUEZ                                                                     SAN JUAN            PR         00923
   693048 JULIO CARABALLO SANTIAGO                    P O BOX 1363                                                                                                      YAUCO               PR         00698
   255920 JULIO CARDONA MUNIZ                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   255921 JULIO CARINO                                REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   255922 JULIO CARINO COBIAN                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   693049 JULIO CARRASQUILLO ABREU                    PO BOX 8009                                                                                                       HUMACAO             PR         00792
   255923 JULIO CARRASQUILLO COLON                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   692780 JULIO CARRASQUILLO VAZQUEZ                  PARCELA NUEVA CELADA       350 CALLE NUM 30                                                                       GURABO              PR         00778
   255924 JULIO CARRILLO RIVERA                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   693050 JULIO CARRILLO SOTO                         URB COOP V BORINQUEN       11 CALLE J RIVERA GAUTIER                                                              RIO PIEDRAS         PR         00921
   693051 JULIO CARRION GALARZA                       COND PPC APT 709                                                                                                  SAN JUAN            PR         00918
   693052 JULIO CARRIOS GUZMAN                        PO BOX 393                                                                                                        MANATI              PR         00674
   255925 JULIO CARTAGENA AVILES                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   693053 JULIO CARTAGENA SEMIDEY                     URB LA QUINTA              12 CALLE F 2                                                                           YAUCO               PR         00698
   255926 JULIO CASTILLO BETANCOURT                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   255927 JULIO CASTRO GUERRA                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   255928 Julio Castro Ramos                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   255929 JULIO CATALA CORTES                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   693054 JULIO CELPA DE LEON                         URB ROUND HILL             757 CALLE AMAPOLA                                                                      TRUJILLO ALTO       PR         00976
   255930 JULIO CENTENO ROSA                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   255931 JULIO CESAR ACEVEDO NIEVES                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   693057 JULIO CESAR ARROYO SANTIAGO HC 02 BOX 12371                                                                                                                   YAUCO               PR         00698
   693058 JULIO CESAR CABRERA         9 CAMINO TOMAS MORALES                                                                                                            SAN JUAN            PR         00926



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  693059 JULIO CESAR CRUZ                             PO BOX 20065                                                                                                    SAN JUAN             PR         00928
  693060 JULIO CESAR DE JESUS                         5 CALLE ESPIRITU SANTO                                                                                          LOIZA                PR         00772
  693061 JULIO CESAR DEL VALLE                        COND CONESA               CALLE TRUJILLO APT 11 K                                                               PONCE                PR         00731
  255936 JULIO CESAR DURAN                            REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  255937 JULIO CESAR LEBRON RIVERA                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  693063 JULIO CESAR MELENDEZ                         PO BOX 1831                                                                                                     CAGUAS               PR         00726

   693064 JULIO CESAR RODRIGUEZ COLON URB EL MADRIGAL                           J 2 CALLE 8                                                                           PONCE                PR         00730
   693065 JULIO CESAR SOTO FELICIANO  BO SABANA YEGUA                           CARR 115 IN T 117 KM 1                                                                LAJAS                PR         00667

   255939 JULIO CESAR TORRES MORALES                  REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   693066 JULIO CHARDON HERRERA                       URB ROYAL TOWN            Y12 CALLE 32                                                                          BAYAMON              PR         00956
   693067 JULIO CINTRON ARGUESO                       P O BOX 16572                                                                                                   SAN JUAN             PR         00908
   693068 Julio Cintron Cintron                       HC‐73 Box 6066                                                                                                  Naranjito                       00719
   255940 JULIO CINTRON LINARES                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   255941 JULIO CINTRON ROSA                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   255944 JULIO CIRINO FUENTES                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   693070 JULIO CIRINO PINET                          RES LA MARGARITA          EDIF 9 APT 100                                                                        SAN JUAN             PR         00915
   693071 JULIO CLEMENTE RIVERA                       RES LUIS LLORENS TORRES   EDIF 52 APT 1033                                                                      SAN JUAN             PR         00908
   693072 JULIO COLLAZO BOSH                          JARDINES DE BUBAO A6                                                                                            UTUADO               PR         00641
   255947 JULIO COLON BAEZ                            REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   693074 JULIO COLON DE JESUS                        BO OLIMPO                 479 CALLE CAIMITAL PANEL                                                              GUAYAMA              PR         00784
   255949 JULIO COLON FIGUEROA                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   693075 JULIO COLON GARCIA                          HC 1 BOX 9135                                                                                                   RIO GRANDE           PR         00745
   693076 JULIO COLON GUETTS                          HP ‐ FARMACIA                                                                                                   RIO PIEDRAS          PR         00936‐0000
   255950 JULIO COLON MALDONADO                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   255951 JULIO COLON MORALES                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   255952 JULIO COLON RIVERA                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   693080 JULIO COLON SANTIAGO                        P O BOX 1129                                                                                                    AIBONITO             PR         00705

   255953 JULIO CONCEPCION MAYSONET                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   693081 JULIO CONTRERAS ROQUE                       HC 03 BOX 30402                                                                                                 SAN LORENZO          PR         00754
   693083 JULIO CORAZON DE JESUS                      VILLA PALMERAS            2072 CALLE RUIZ BELVIS                                                                SAN JUAN             PR         00915
   693084 JULIO CORDERO SANTOS                        HC 1 BOX 5068                                                                                                   JUANA DIAZ           PR         00795
   693085 JULIO CORREA COLON                          URB DOS PINOS             770 CALLE POLARIS                                                                     SAN JUAN             PR         00923
   693086 JULIO CORREA LOPEZ                          190 CALLE CONCORDIA                                                                                             MAYAGUEZ             PR         00682

   693087 JULIO CORREA Y LUCY CORREA                  3199 RUNNING PATH M                                                                                             KISSIMMEE            FL         34746
   255954 JULIO CORTES HERNANDEZ                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          JULIO CORTES Y/O JEREMIAS
   255955 VARGAS                                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   255956 JULIO CORUJO                                REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   693088 JULIO COSME RODRIGUEZ                       P O BOX 1477                                                                                                    TOA BAJA             PR         00951
   693090 JULIO COTTO RIVERA                          8 CANTA GALLO                                                                                                   VEGA ALTA            PR         00692
   693092 JULIO CRESPO SANCHEZ                        HC 57 BOX 12050                                                                                                 AGUADA               PR         00602
   693093 JULIO CRUZ CARDONA                          H C 03 BOX 19448                                                                                                ARECIBO              PR         00612
   255959 JULIO CRUZ CORCHADO                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   693094 JULIO CRUZ FLORES                           HC 06 BOX 71011                                                                                                 CAGUAS               PR         00725
   693096 JULIO CRUZ JR                               PARC MORA GUERRERO        PO BOX 101                                                                            ISABELA              PR         00662
   255960 JULIO CRUZ MALDONADO                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   693097 JULIO CRUZ MORALES                          PARC SAN ROMUALDO         47 CALLE G                                                                            HORMIGUEROS          PR         00660‐9733
   693099 JULIO CRUZ PLAZA                            RES ARISTIDE CHAVIER 58   EDIF 11                                                                               PONCE                PR         00728
   255961 JULIO CRUZ RIVERA                           REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  693101 JULIO CRUZ RODRIGUEZ                         VILLAS DE CARRAIZO             RR 7 BOX 191                                                                         SAN JUAN            PR           00926
         JULIO CRUZ SANCHEZ/ GREEN
  255962 ENERGY                                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  693102 JULIO CUADRADO DEL VALLE                     RES LUIS LLORENS TORRES        EDIF 140 APT 2597                                                                    SAN JUAN            PR           00913
  255964 JULIO CUBERO AGOSTO                          REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  771133 JULIO CUMBA COLON                            REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  693104 JULIO D COLON MEDINA                         300 MARYS FANCY                C STED                                                                               ST CROIX            VI           0082051
  693105 JULIO D ESTRADA CACERES                      URB FULLANA                    24 CALLE LOS ROBLES                                                                  CAYEY               PR           00736
  255965 JULIO D GUZMAN AGOSTO                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  255966 JULIO D VAZQUEZ GONZALEZ                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  693106 JULIO DAVILA                                 BOX 202                                                                                                             TOA BAJA            PR           00951
  693107 JULIO DAVILA MONTES                          BO SABANA SECA 6681            B 136 CALLE FRANCIA                                                                  TOA BAJA            PR           00925‐4313

   693108 JULIO DAVILA PIMENTEL                       2149 CALLE LOS MILLONARIOS                                                                                          LOIZA               PR           00772
   693109 JULIO DE JESUS ALMEDINA                     2 AVE ANTONIO R BARCELO                                                                                             CAYEY               PR           00736
   693110 JULIO DE JESUS ALVARADO                     BOX 1281                                                                                                            RIO GRANDE          PR           00745
   693111 JULIO DE JESUS BERRIOS                      MARIOLGA                     A 20 CALLE SAN ANTONIO                                                                 CAGUAS              PR           00725
   255967 JULIO DE JESUS CRUZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   255968 JULIO DE JESUS MARIN                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   255969 JULIO DE JESUS MD, WILLIAM                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   255970 JULIO DE JESUS RAMOS                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   693112 JULIO DE JUAN GOMEZ                         BO ISLOTE SECTOR BOAN                                                                                               ARECIBO             PR           00613
   693113 JULIO DE LA MATTA SUAREZ                    PO BOX 3081                                                                                                         RIO GRANDE          PR           00745
   693114 JULIO DE LA ROSA                            BARRIADA CABAN               163 CALLE PARQUE                                                                       AGUADILLA           PR           00603
   693115 JULIO DE LA ROSA RIVE                       PO BOX 16332                                                                                                        SAN JUAN            PR           00908‐6332
   693117 JULIO DE LEON CUADRADO                      P O BOX 512                                                                                                         HUMACAO             PR           00792
   255972 JULIO DE LEON QUINONES                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   255973 JULIO DEL TORO PACHECO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   255974 JULIO DEL VALLE MELENDEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   255975 JULIO DELGADO CARRION                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                      URB CIUDAD MASSO F1 69 CALLE
   693119 JULIO DELGADO MONTES                        8                                                                                                                   SAN LORENZO         PR           00754
   255976 JULIO DELGADO PEREZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   255977 JULIO DELGADO TOLEDO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   693121 JULIO DIAZ / PET DELIVERY                   AVE ASHFORD                  1022 SUITE C 4                                                                         SAN JUAN            PR           00907
   693122 JULIO DIAZ BENITEZ                          URB IDAMARIS GARDENS         D 23 CALLE MIGUEL A GOMEZ                                                              CAGUAS              PR           00727‐5720
   693123 JULIO DIAZ CABRERA                          URB SANTA MARIA              41 CALLE 2B                                                                            CEIBA               PR           00735
   693125 JULIO DIAZ DAVILA                           P O BOX 7470                                                                                                        CEIBA               PR           00735

   693127 JULIO DIAZ GONZALEZ                         URB VALLE ALTO G 31 CALLE 12                                                                                        PONCE               PR           00731
   693129 JULIO DIAZ IRIZARRY                         VALLE REAL                     1841 CALLE INFANTA                                                                   PONCE               PR           00716
   255978 JULIO DIAZ PADILLA                          REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   693131 JULIO DIAZ PADIN                            URB VILLA NEVAREZ              1035 CALLE 11                                                                        SAN JUAN            PR           00927
   255979 JULIO DIAZ RODRIGUEZ                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   255981 JULIO DIAZ ROSADO                           REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   255982 JULIO DIAZ SANCHEZ                          REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   693133 JULIO DIMAS CIRINO                          41 BC SANTILLANA DEL MAR                                                                                            LOIZA               PR           00772
   692781 JULIO DURAN ARAUJO                          URB ALTURAS DE MOCA            901 CALLE LOS SAUCES                                                                 MOCA                PR           00676
   693134 JULIO E ABREU MIRANDA                       PO BOX 368                                                                                                          JUNCOS              PR           00777
   693135 JULIO E ALMODOVAR GARCIA                    PARC SABANETAS                 82 CALLE PROGRESO                                                                    PONCE               PR           00715
          JULIO E ALVARADO JOYERIA
   693136 ALVARADO                                    68 CALLE COMERIO                                                                                                    JUANA DIAZ          PR           00795
   693138 JULIO E BACLEA COURET                       URB JARD DE JAYUYA             130 CALLE ORQUIDEA                                                                   JAYUYA              PR           00664‐1604



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  693139 JULIO E BARRETO SOTO                          HC 04 BOX 13813                                                                                                    MOCA                PR         00676
  255983 JULIO E BENABE MOJICA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  255984 JULIO E BRILLON FELICIANO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693140 JULIO E CAMERON PARRILLA                      19 CAMINO PABLO ORTIZ                                                                                              SAN JUAN            PR         00926
  693141 JULIO E CAMPOS OLMEDO                         URB LOS MAESTROS            E 6 CALLE F                                                                            HUMACAO             PR         00791
  255986 JULIO E CARABALLO DE JESUS                    REDACTED                    REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                   212 CALLE DIEZ DE ANDINO APT
   693142 JULIO E CARDONA ALONSO                       COND BALDORIOTY PLAZA       804                                                                                    SAN JUAN            PR         00912
   693143 JULIO E CASTRO QUINONES                      OFICINA DE SUPTE ESCUELAS   APARTADO 6                                                                             YABUCOA             PR         00767
   693144 JULIO E CIRINO OSORIO                        P O BOX 5183                                                                                                       LOIZA               PR         00772
   255990 JULIO E COLON CORREA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693145 JULIO E COLON SANTIAGO                       PO BOX 2057                                                                                                        BAYAMON             PR         00960
   693146 JULIO E COLON VALENTIN                       HC 1 BOX 5502                                                                                                      GUAYNABO            PR         00971
   693147 JULIO E CORA LOPEZ                           PO BOX 803                                                                                                         HUMACAO             PR         00792
   255991 JULIO E CRUZ PENA                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693150 JULIO E CRUZ RIVERA                          URB EL ROSARIO              149 CALLE 7                                                                            YAUCO               PR         00698
   255992 JULIO E CRUZ RODRIGUEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693151 JULIO E CUBERO VEGA                          HC 2 BOX 6954                                                                                                      AGUADILLA           PR         00603
   693152 JULIO E CUSTODIO                             URB COUNTRY CLUB            MK 20 CALLE 414                                                                        CAROLINA            PR         00928
   255993 JULIO E DE JESUS MENDOZA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255994 JULIO E DE LEON CUADRADO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   693153 JULIO E DELGADO BERENGUER                    P O BOX 2177                                                                                                       YAUCO               PR         00698
   255995 JULIO E DIAZ ORTIZ                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255996 JULIO E DIAZ RIVERA                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   255997 JULIO E DOMINGUEZ ORTIZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693155 JULIO E ESPADA RIVERA                        P O BOX 21365                                                                                                      SAN JUAN            PR         00926‐1365
   693157 JULIO E ESTIEN ALVAREZ                       PO BOX 8902                                                                                                        SAN JUAN            PR         00910‐0902
   693158 JULIO E FERNANDEZ TORRES                     URB COUNTRY CLUB            785 CALLE PAMPERO                                                                      SAN JUAN            PR         00924
   255998 JULIO E FERRER RIVERA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693160 JULIO E GARCIA                               BO YEGUADA                  HC 03 BOX 12239                                                                        CAMUY               PR         00627
   255999 JULIO E GERALDINO MUNIZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256000 JULIO E GIL DE LA MADRID                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693162 JULIO E GINES RODRIGUEZ                      URB VILLA GEORGETTI         12 CALLE GUAJANA                                                                       BARCELONETA         PR         00617
   693163 JULIO E GONZALEZ                             HILLBROTHERS                43 CALLE 15                                                                            RIO PIEDRAS         PR         00924
   256001 JULIO E GONZALEZ COLLAZO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256002 JULIO E GONZALEZ MORALES                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693164 JULIO E GONZALEZ RIVERA                      PO BOX 1893                                                                                                        CAYEY               PR         00736
   693165 JULIO E GORDILS CASTRO                       71 CALLE PROTESTANTE                                                                                               PONCE               PR         00733‐6263
   256003 JULIO E GUZMAN FREIRE                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256004 JULIO E IRIZARRY DELGADO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256005 JULIO E LAZU LUGO                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693167 JULIO E LOPEZ PEREZ                          JARDINES DE CAPARRA         D‐10 CALLE 1                                                                           BAYAMON             PR         00959‐7833

   693170 JULIO E MALDONADO ALTRECHE                   PO BOX 1145                                                                                                        ISABELA             PR         00662
   256007 JULIO E MATIAS CAAMANO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256008 JULIO E MEDINA COLON                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256009 JULIO E MEDINA RAMOS                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256010 JULIO E MENDEZ GONZALEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256011 JULIO E MUNOZ                                REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693173 JULIO E NAZARIO RAMIREZ                      VILLA PALMERAS              308 CALLE JUNCO                                                                        SANTURCE            PR         00915
   256012 JULIO E NAZARIO RUIZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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          JULIO E NEGRON MARTINEZ /
   693174 NYDIA L NEGRON                              HC 2 BOX 40920                                                                                               VEGA BAJA           PR         00693
   693175 JULIO E NEGRON NEGRON                       100 VILLAS DE MONTEREY   APT 274                                                                             BAYAMOM             PR         00957
   693176 JULIO E NIEVES RAMOS                        BO GUERRERO              CARR 466 KM 2 1                                                                     AGUADILLA           PR         00603
   693177 JULIO E NIEVES RODRIGUEZ                    P O BOX 565                                                                                                  ADJUNTAS            PR         00601
   693178 JULIO E OCACIO AYALA                        URB ALTA GRACIA          K12 CALLE 10                                                                        TOA BAJA            PR         00949
   693179 JULIO E OJEDA FELICIANO                     P O BOX 11382                                                                                                TOA BAJA            PR         00949
   693180 JULIO E OLIVERAS SANTIAGO                   URB LAS DELICIAS         1226 CALLE FCO VASALLO                                                              PONCE               PR         00728
   256015 JULIO E ORTIZ FLORES                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   256016 JULIO E OSORIO RODRIGUEZ                    REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   693181 JULIO E PADIN                               46 CALLE PEDRO PABON                                                                                         MOROVIS             PR         00687
   693182 JULIO E PANCORBO ORTIZ                      20 CALLE AMISTAD                                                                                             LAJAS               PR         00667
   256018 JULIO E PEREZ MUNOZ                         REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   693183 JULIO E PEREZ RAMOS                         PO BOX 459                                                                                                   GUAYAMA             PR         00785
   693184 JULIO E PEREZ RODRIGUEZ                     P O BOX 79                                                                                                   CABO ROJO           PR         00623
   256019 JULIO E PIJEM BERRIOS                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          JULIO E QUINONES GONZALEZ /
   256021 INSP FORENSE                                REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   693185 JULIO E QUIROS ALCALA                       MONTE CASINO HEIGHTS     482 RIO GRANDE STREET                                                               TOA ALTA            PR         00953
   693186 JULIO E RAMOS COLON                         HC 1 BOX 4771                                                                                                SALINAS             PR         00751
   256022 JULIO E RAMOS SUAREZ                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   256023 JULIO E REYES ESPADA                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   256025 JULIO E RIBAS DOMINICCI                     REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   256026 JULIO E RIOS RIOS                           REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   256027 JULIO E RIVERA                              REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   693187 JULIO E RIVERA AVILES                       URB CAPARRA TERRACE      1261 CALLE CATALU¥A                                                                 SAN JUAN            PR         00921
   256028 JULIO E RIVERA FUENTES                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   256029 JULIO E RIVERA PEREZ                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   256030 JULIO E RIVERA RAMOS                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   693191 JULIO E RODRIGUEZ GONZALEZ                  URB COLINAS VERDES       U 8 CALLE 1                                                                         SAN SEBASTIAN       PR         00685
   256031 JULIO E RODRIGUEZ ROSADO                    REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   693192 JULIO E RODRIGUEZ VAZQUEZ                   URB VILLA CAROLINA       66 27 CALLE 53                                                                      CAROLINA            PR         00985
   256032 JULIO E RODRIGUEZ YORDAN                    REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   693195 JULIO E ROMAN MILLET                        HC 04 BOX 17828          ZANJAS                                                                              CAMUY               PR         00627
   256033 JULIO E ROSADO MORALES                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   256034 JULIO E ROSARIO PEREZ                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   256035 JULIO E RUIZ ALVAREZ                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   256036 JULIO E RUIZ DURAN                          REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   256038 JULIO E SANCHEZ APONTE                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   693199 JULIO E SANTOS                              PO BOX 403                                                                                                   PALMER              PR         00721‐0403

   256039 JULIO E SEPULVEDA ANAVITARTE REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   256040 JULIO E SIERRA MELENDEZ      REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   693200 JULIO E SOLIS CRUZ           PO BOX 511                                                                                                                  LAS PIEDRAS         PR         00771
   693202 JULIO E SOLIS ORTIZ          URB SAN PEDRO                           E 11 CALLE D                                                                        MAUNABO             PR         00707
          JULIO E SOLIVAN / ADELINA
   693203 RODRIGUEZ                    PO BOX 1584                                                                                                                 AIBONITO            PR         00705
   693204 JULIO E SOTO VELEZ           PO BOX 1113                                                                                                                 MOCA                PR         00676
   693205 JULIO E TORRES DE JESUS      VILLA ESPERANZA                         109 CALLE 6                                                                         PONCE               PR         00731
   256041 JULIO E TORRES ORTIZ         REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   693206 JULIO E TORRES RUIZ          HC 10 BOX 6743                                                                                                              SABANA GRANDE       PR         00637



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   256042 JULIO E TORRUELLA HERNANDEZ REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693207 JULIO E TROCHE FIGUEROA     URB JARD METROP                        969 CALLE VOLTA                                                                        SAN JUAN            PR           00927
   256043 JULIO E VARGAS GONZALEZ     REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256044 JULIO E VAZQUEZ VAZQUEZ     REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256045 JULIO E VIZCARRONDO         REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693208 JULIO E. AVELLANET IRIZARRY P.O. BOX 655                                                                                                                  HORMIGUEROS         PR           00660
   256046 JULIO E. CASTRO PACHECO     REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   256047 JULIO E. DELGADO CHARNECO                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256049 JULIO E. GONZALEZ CAEZ                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256050 JULIO E. LANDRO GONZALEZ                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256051 JULIO E. MARTINEZ TORRES                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                             101 CALLE CAYEY URB
   693210 JULIO E. MERCED VARGAS                      BONNEVILLE HEIGHTS     BONNEVILLE HTS                                                                         CAGUAS              PR           00725
   256052 JULIO E. NAZARIO GONZALEZ                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   256053 JULIO E. QUIðONEZ FELICIANO                 REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256056 JULIO E. RIOS RIOS                          REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256057 JULIO E. ROMAN PEREZ                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256058 Julio E. Velez Robles                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693213 JULIO EDUARDO TORRES HIJO                   BOX 1387                                                                                                      AIBONITO            PR           00705
          JULIO ELI CALDERON
   256059 HERNANDEZ                                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   256060 JULIO ELI VALENCIA HERNANDEZ REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256061 JULIO ENCARNACION            REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256062 JULIO ENCARNACION LOPEZ      REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   256063 JULIO ENCARNACION SANTIAGO                  REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256064 JULIO ENCARNACION SUAREZ                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JULIO ENRIQUE MELENDEZ
   256065 HERNANDEZ                                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JULIO ENRIQUE PANCORBO
   692786 ORTIZ                                       20 CALLE AMISTAD                                                                                              LAJAS               PR           00667

   256066 JULIO ENRIQUE VAZQUEZ LOPEZ REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256067 JULIO ESPINOSA GARCIA        REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256068 JULIO ESTADES VALDES         REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693216 JULIO ESTRADA SERRANO        HC 1 BOX 7236                                                                                                                LAS PIEDRAS         PR           00771
          JULIO EUSEBIO/REMODELING INT
   256070 SYST INC                     VALLE ARRIBA HEIGHT                   W 1 CALLE JOBOS                                                                        CAROLINA            PR           00983
   693217 JULIO F CORREA VILA          PO BOX 366531                                                                                                                SAN JUAN            PR           00936‐6531
          JULIO F GARRIGA BERMUDEZ/
   256071 FARMACIA                     REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256072 JULIO F MENA MARTINEZ        REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                       COND SAGRADO CORAZON APT
   693218 JULIO F VIVES FIGUEROA       401                                   505 CALLE SAGRADO CORAZON                                                              SAN JUAN            PR           00915
   256074 JULIO FELICIANO ACEVEDO      REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693219 JULIO FELICIANO LOPEZ        163 CALLE PAZ                                                                                                                AGUADA              PR           00602
   693220 JULIO FELICIANO ORTIZ        SAN JOSE                              38 CALLE VISTA MAR                                                                     MAYAGUEZ            PR           00680
   256076 JULIO FELICIANO SANTIAGO     REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693221 JULIO FERNANDEZ PORTO        URB VALLE DE SAN JUAN                 SJ 17 PLAZA BOHIOS                                                                     TRUJILLO ALTO       PR           00976



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  256078 JULIO FERNANDEZ POU                          REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   256079 JULIO FERNANDEZ RODRIGUEZ                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   256080 JULIO FIGUEROA CONCEPCION                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256081 JULIO FIGUEROA GUERRIDO                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256082 JULIO FIGUEROA NUNEZ                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693225 JULIO FIGUEROA QUINTANA                     PO BOX 7126                                                                                                         PONCE               PR         00732
   693228 JULIO FIGUEROA VELEZ                        BUENA VENTURA              1221 CALLE MAGNOLIA                                                                      MAYAGUEZ            PR         00682
   693229 JULIO FLORES CARABALLO                      P O BOX 141                                                                                                         AGUAS BUENAS        PR         00703‐0141
   256083 JULIO FLORES ROSA                           REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693232 JULIO FONTANET MALDONAD                     PO BOX 8897                                                                                                         SAN JUAN            PR         00910
   693234 JULIO FUENTES FIGUEROA                      URB VALPARAISO A 10        CALLE 1                                                                                  TOA BAJA            PR         00949
   256084 JULIO G ACEVEDO DE JESUS                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256086 JULIO G COLON VERA                          REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256087 JULIO G RAMOS GONZALEZ                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693235 JULIO GALAN                                 74 CALLE SANTA CRUZ        APTO 17 F                                                                                BAYAMON             PR         00961‐7029
   693236 JULIO GALARZA ALGARIN                       HP ‐ Forense RIO PIEDRAS                                                                                            Hato Rey            PR         009360000
   256088 JULIO GALARZA VELAZQUEZ                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   693237 JULIO GALINDO VEGA            BO SANTANA MAQUINA BZN 40                                                                                                         SABANA GRANDE       PR         00637
   256089 JULIO GALIS MENENDEZ          REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693238 JULIO GAMBOA SANTIAGO         HC 02 BOX 8027                                                                                                                    SALINAS             PR         00751
   256090 JULIO GARCIA ARZUAGA          REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JULIO GARCIA FIGUEROA Y ANA L
   256091 TORRES                        REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693240 JULIO GARCIA LEON             COLINAS SAN MARTIN                       A 6 CALLE 2                                                                              JUANA DIAZ          PR         00795

   693241 JULIO GARCIA MILLAN                         CORREO GENERAL             VALLE ARRIBA HIGHT BOX CC 6                                                              CAROLINA            PR         00983
   256092 JULIO GARCIA RAMOS                          REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693244 JULIO GARCIA RODRIGUEZ                      BO GUAVATE 22550                                                                                                    CAYEY               PR         00736
   256093 JULIO GARCIA VAZQUEZ                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256095 JULIO GARCIA VERA                           REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   693245 JULIO GARRASTEGUI RODRIGUEZ URB BALDORIOTY                             3304 CALLE GOCE                                                                          PONCE               PR         00728
          JULIO GARRIGA GIL DBA
   256096 FARMACIA CENTRAL            BOX 669                                                                                                                             HUMACAO             PR         00792
   693246 JULIO GAS SERVICE           BDA ISRAEL                                 131 CALLE PALESTINA                                                                      SAN JUAN            PR         00917
   693247 JULIO GODREAU               PO BOX 4492                                                                                                                         CAROLINA            PR         00984‐4492
                                                                                 ED 7 CALLE LOLA RODRIGUEZ DE
   693248 JULIO GOMEZ FERNANDEZ                       LEVITTOWN                  TIO                                                                                      TOA BAJA            PR         00949
   692787 JULIO GONZALES FIGUEROA                     PARQUE DEL MONTE 11        LL 9 URAYOAN                                                                             CAGUAS              PR         0000725
   256098 JULIO GONZALEZ                              REDACTED                   REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693251 JULIO GONZALEZ COLON                        HC 40 BOX 42605                                                                                                     SAN LORENZO         PR         00745
   693252 JULIO GONZALEZ DEL VALLE                    HC 03 BOX 41463                                                                                                     CAGUAS              PR         00725‐9743
   256099 JULIO GONZALEZ FIGUEROA                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256100 JULIO GONZALEZ FORTUNO                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256101 JULIO GONZALEZ GONZALEZ                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256102 JULIO GONZALEZ HERNANDEZ                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693254 JULIO GONZALEZ MORALES                      HC 01 BOX 3860                                                                                                      VILLALBA            PR         00766
   256103 JULIO GONZALEZ PAGAN                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693255 JULIO GONZALEZ RODRIGUEZ                    COND BELEN                 APT 703                                                                                  GUAYNABO            PR         00969
   256104 JULIO GONZALEZ SANTIAGO                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  693258 JULIO GONZALEZ SEDA                          PO BOX 7126                                                                                                       PONCE              PR         00732
  256105 JULIO GRACIA OYOLA                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  256107 JULIO GUADALUPE COLON                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  693259 JULIO GUERRERO SERRATO                       BOX MSC 258 138           AVE WINSTON CHURCHILL                                                                   SAN JUAN           PR         00926
  693260 JULIO GUILBE SANTIAGO                        HC 2 BOX 8465                                                                                                     JUANA DIAZ         PR         00798
  693261 JULIO GUTIERREZ DIAZ                         PO BOX 193803                                                                                                     SAN JUAN           PR         00919
  693262 JULIO GUZMAN DE LA PAZ                       P O BOX 7126                                                                                                      PONCE              PR         00732
  693263 JULIO GUZMAN RODRIGUEZ                       PO BOX 9023907                                                                                                    SAN JUAN           PR         00902
  693264 JULIO H APONTE GUERRERO                      CAPARRA HEIGHTS STATION   PO BOX 10268                                                                            SAN JUAN           PR         00922‐0268
  256109 JULIO H MONTILLA LOPEZ                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  693266 JULIO H ROSARIO                              URB VALLE HUCARES         15 CALLE LA CAOBA                                                                       JUANA DIAZ         PR         00795
  256110 JULIO H SILVA OCASIO                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  256113 JULIO HERNANDEZ ABRIL                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  693268 JULIO HERNANDEZ COLON                        URB LAS COLINAS 1311      CALLE 3                                                                                 VEGA ALTA          PR         00692
  256114 JULIO HERNANDEZ COTTO                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   692788 JULIO HERNANDEZ HERNANDEZ                   PO BOX 21365                                                                                                      VEGA ALTA          PR         00692
   693269 JULIO HERNANDEZ SANTIAGO                    P O BOX 7126                                                                                                      PONCE              PR         00732
   693270 JULIO HERNANDEZ VEGA                        URB PASEOS REALES         93 CALLE BELMONTE                                                                       SAN ANTONIO        PR         00690
   256115 JULIO HERRAN GARCIA                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   693272 JULIO I ALAMO RIVERA                        BO PARCELAS VAZQUEZ       APARTADO 728 SECTOR MATEY                                                               SALINAS            PR         00751

   693273 JULIO I BERMEJO CHICO                       LAS MARGARITAS            221 CALLE RAFAEL HERNANDEZ                                                              PONCE              PR         00728
   256117 JULIO I GARCIA RODRIGUEZ                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256118 JULIO I MARCANO FANTAUZZI                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693274 JULIO I SANTIAGO SASSO                      VILLA LINARES             G 14 CALLE 8                                                                            VEGA ALTA          PR         00692
   256119 JULIO I. BORRAS OSORIO                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256123 JULIO IRIZARRY FUENTES                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693277 JULIO IRIZARRY SANABRIA                     PO BOX 2325                                                                                                       MAYAGUEZ           PR         00681
   693278 JULIO IV RODRIGUEZ ORTIZ                    MONTE BRISA 5             P 10 C/ 5‐18                                                                            FAJARDO            PR         00738
   256124 JULIO J BERRIOS HERNANDEZ                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256125 JULIO J CINTRON PACHECO                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693279 JULIO J DIAZ DIAZ                           HC 04 BOX 44900                                                                                                   HATILLO            PR         00659
   693280 JULIO J FRANCO TORRES                       153 LAS BRISAS APTS                                                                                               JAYUYA             PR         00664‐1461
   693281 JULIO J GARCIA RAMOS                        URB DEL CARMEN            21 CALLE SAN JOSE                                                                       RIO GRANDE         PR         00745
   256127 JULIO J LOPEZ LEON                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256128 JULIO J MONTERO                             REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256129 JULIO J PAGAN PEREZ                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256130 JULIO J PASCUAL GODINEZ                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693282 JULIO J PIMENTEL SEVILLA                    BO JUAN DOMINGO           CARR 2 CALLE SEVILLA 25                                                                 GUAYNABO           PR         00906
   256131 JULIO J RENTAS REYES                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256132 JULIO J RIVERA ROSARIO                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256133 JULIO J SANTIAGO LOPEZ                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256134 JULIO J SANTOS                              REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693284 JULIO J VEIRA                               URB RIO PIEDRAS HEIGHTS   1685 CALLE TINTO                                                                        SAN JUAN           PR         00926‐3233
   693287 JULIO J. DAVILA BRAVO                       PO BOX 886                                                                                                        DORADO             PR         00646
   256136 JULIO J. DIAZ PADILLA                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693288 JULIO J. PUJALS DALECCIO                    HOGAR GRUPAL DE PONCE                                                                                             Hato Rey           PR         00936

   256137 JULIO J. RODRIGUEZ FIGUEROA                 REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693289 JULIO JIMENEZ AYALA                         HC 1 BOX 7687                                                                                                     SAN GERMAN         PR         00683‐9710
   256138 JULIO JIMENEZ CANDELARIA                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  256139 JULIO JIMENEZ Y ASOCIADOS                     URB LOS INGENIEROS          257 AVE DOMENECH                                                                    SAN JUAN            PR         00918‐3510
  256140 JULIO JOSE ANDINO VELEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JULIO JOSE RODRIGUEZ
  256141 QUINONES                                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  256142 JULIO K SOLER VILLANUEVA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JULIO L AYALA / GLADYS
  256143 PARRILLA                                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693294 JULIO L CADIZ VELAZQUEZ                       COND APT 101                                                                                                    PONCE               PR         00731
  693295 JULIO L CALDERON DIAZ                         RR 4 BOX 3262                                                                                                   BAYAMON             PR         00956
  693296 JULIO L DIAZ MALDONADO                        HC 02 BOX 6285                                                                                                  FLORIDA             PR         00650
  693297 JULIO L FIGUEROA                              BO PASTILLO CANA 3          1103 CALLE JUAN BORIAS                                                              PONCE               PR         00728
         JULIO L FIGUEROA Y MARIA DEL
  693298 C. MIRANDA                                    HILL BROTHES                389 CALLE 11                                                                        SAN JUAN            PR         00924
         JULIO L FIGUEROA/MARIA DEL C
  693299 MIRANDA                                       HILL BROTHERS               389 CALLE 11                                                                        SAN JUAN            PR         00924

   693300 JULIO L GONZALEZ HERNANDEZ                   URB VISTA HERMOSA           A17 CALLE 2                                                                         HUMACAO             PR         00791
   693301 JULIO L LEBRON RAMAN                         MSC 127 200 AVE A SUITE 7                                                                                       FAJARDO             PR         00788
   693303 JULIO L MARIN LUYANDO                        HC 1 BOX 4220                                                                                                   NAGUABO             PR         00718
   256144 JULIO L MERCADO LANDRON                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693304 JULIO L NUNEZ JULIAN                         172 CALLE DUFFAUT                                                                                               SAN JUAN            PR         00907
   693305 JULIO L ORTEGA MIRANDA                       URB VENUS GARDENS           783 ANGUEISES                                                                       SAN JUAN            PR         00926
   256145 JULIO L RIVERA SANTIAGO                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693306 JULIO L. DIAZ ORTIZ                          21009 LITHEDA APTS                                                                                              SAN JUAN            PR         00926
   693307 JULIO LABOY PEREZ                            URB SANTA RITA 11           1038 CALLE SANTA ANA                                                                COTTO LAUREL        PR         00780
   256146 JULIO LANGE MARINEZ                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256149 JULIO LASANTA RODRIGUEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256150 JULIO LASSUS RUIZ                            REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693309 JULIO LEANDRY SANTIAGO                       URB PASEOS DE JACARANDA     15459 CALLE FLAMBOYAN                                                               SANTA ISABEL        PR         00757
   693310 JULIO LEBRON CAMACHO                         URB COUNTRY CLUB OU 15      CALLE 509                                                                           CAROLINA            PR         00982
                                                       COOP JARD DE VALENCIA APT
   693311 JULIO LEGRAND BERMUDEZ                       806                                                                                                             SAN JUAN            PR         00923
   256152 JULIO LEON RODRIGUEZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256153 JULIO LOPEZ BENITEZ                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693314 JULIO LOPEZ IGUINA                           HC 01 BOX 2200                                                                                                  BAJADERO            PR         00616
   693315 JULIO LOPEZ MATOS                            ALTURAS DE RIO GRANDE       CALLE 4 BLQ E 183                                                                   RIO GRANDE          PR         00745
   256154 JULIO LOPEZ MORALES                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256156 JULIO LOPEZ ORTIZ                            REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256157 JULIO LOPEZ PENA                             REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256158 JULIO LOPEZ RIVERA                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693317 JULIO LOPEZ ROMAN                            HC 01 BOX 1104                                                                                                  QUEBRADILLAS        PR         00678
   693318 JULIO LOZADA ORTIZ                           URB BONNEVILLE HEIGHTS      5 CALLE CAMUY                                                                       CAGUAS              PR         00725
   256161 JULIO LUGO MALAVE                            REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256162 JULIO LUIS CADIZ VELAZQUEZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693319 JULIO LUIS CALDERON VEGA                     PO BOX 190579                                                                                                   SAN JUAN            PR         00919‐0579
   256163 JULIO LUIS CASTRO                            REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693326 JULIO M BONILLA RODRIGUEZ                    61 HELLER PARK WAY                                                                                              NEWWARK             NJ         07104

   692782 JULIO M CALDERON BIBILONI                    COOP CIUDAD UNIVERSITARIA   1 AVE PERIFERIA 1204                                                                TRUJILLO ALTO       PR         00976‐2124
   256164 JULIO M CANINO LAPORTE                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256165 JULIO M CASTANEDA REYES                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693327 JULIO M COLON MEJIAS                         HC 1 BOX 6003                                                                                                   JUANA DIAZ          PR         00795
   256166 JULIO M GOMEZ                                REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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   256167 JULIO M HERNANDEZ BERRIOS                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256168 JULIO M LOPEZ KEELAN                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256169 JULIO M MARCANO LOPEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256171 JULIO M MATIAS MALAVE                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   693330 JULIO M MERCADO MARTORELL                   URB EXT MARBELLA            344 CALLE 4                                                                           AGUADILLA           PR           00603
          JULIO M MONTALVO
   693331 MALDONADO                                   URB BUENA VISTA             1527 CALLE 1                                                                          PONCE               PR           00731
   693333 JULIO M OTERO FERNANDEZ                     BOX 536                                                                                                           CIALES              PR           00638
   256172 JULIO M PAGAN MARTI                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256173 JULIO M SANTANA CENTENO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   692789 JULIO M SANTANA RODRIGUEZ                   HC 2 BOX 7232                                                                                                     YABUCOA             PR           00767‐9504

   256174 JULIO M SANTANA VELAZQUEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256176 JULIO M SEPULVEDA ACOSTA                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256177 JULIO M SEPULVEDA VEGA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693336 JULIO M SOTO VAZQUEZ                        M 6 PATIO HILL              TORRIMAR ALTO                                                                         GUAYNABO            PR           00966‐3145
   693337 JULIO M TORRES VEGA                         P O BOX 251                                                                                                       GURABO              PR           00778

   256178 JULIO M ZALDUONDO NEGRON                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256179 Julio Malave Santiago                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256181 JULIO MALDONADO FALCON                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   693339 JULIO MALDONADO FIGUEROA                    PO BOX 1027                                                                                                       BARCELONETA         PR           00617
   693341 JULIO MALDONADO RAMOS                       34 B URB LA HACIENDA                                                                                              COMERIO             PR           00782
   693342 JULIO MALDONADO RIVERA                      BO GATO SECT LA LOMA        HC 02 BOX 7170                                                                        OROCOVIS            PR           00720

   693344 JULIO MALDONADO RODRIGUEZ                   URB SAN MIGUEL              12 CALLE 6                                                                            CABO ROJO           PR           00623
   256182 JULIO MALDONADO VARGAS                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256183 JULIO MALDONADO VELEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JULIO MANTERO SBARBARO Y
   693345 MILAGROS HORMAZ                             P O BOX 15                                                                                                        JUNCOS              PR           00777

   693346 JULIO MARQUEZ CRUZ                          PASEO LOS ROBLES            3010 CALLE JOSE MARLA MONGE                                                           MAYAGUEZ            PR           00682‐7732
   256184 JULIO MARRERO PEDROSA                       REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693347 JULIO MARRERO PEREZ                         C.S.M. BAYAMON                                                                                                    Hato Rey            PR           00936
   693348 JULIO MARRERO RUIZ                          PISO 3 SUITE 301            33 BOLIVIA                                                                            SAN JUAN            PR           00917
   256185 JULIO MARTINEZ                              REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256186 JULIO MARTINEZ COLON                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256189 JULIO MARTINEZ FELICIANO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693352 JULIO MARTINEZ ORTIZ                        PO BOX 641                                                                                                        GUAYAMA             PR           00785‐0641
   693355 JULIO MARTINEZ RIVERA                       28 CALLE RAFAEL LAZZA                                                                                             AGUAS BUENAS        PR           00703
   693349 JULIO MARTINEZ SANCHEZ                      HC 71 BOX 7084                                                                                                    CAYEY               PR           00737
   693357 JULIO MARTINEZ SOLER                        URB JARDINES DE MONACO II   9 CALLE FRANCIS                                                                       MANATI              PR           00674
   693358 JULIO MARTINEZ VAZQUEZ                      SABANA BRANCH               PO BOX 8774                                                                           VEGA BAJA           PR           00693
   256191 JULIO MASSAS SANTANA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693360 JULIO MATIAS RAMOS                          BO BEJUCOS                  2039 LORENZO CABRERA                                                                  ISABELA             PR           00662
   256192 JULIO MATOS                                 REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693362 JULIO MATOS ELBA                            VILLA VICTORIA              K 7 CALLE 7                                                                           CAGUAS              PR           00725
   256193 JULIO MATOS GOTAY                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693363 JULIO MATTA FLORES                          BO ROOSVELT                 190 SAN ISIDRO                                                                        FAJARDO             PR           00738



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  693364 JULIO MEDINA CONCEPCION                      P O BOX 576                                                                                                   CEIBA               PR         00735
  256195 JULIO MEDINA ORTIZ                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693366 JULIO MEDINA RAMOS                           CARRIZALES                  CALLE 1                                                                           HATILLO             PR         00659
  693367 JULIO MELENDEZ                               PO BOX 184                                                                                                    TOA BAJA            PR         00951

   256196 JULIO MELENDEZ HERNANADEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693368 JULIO MELENDEZ MARRERO                      PO BOX 546                                                                                                    CAYEY               PR         00737
   693369 JULIO MENDEZ BRUNO                          PO BOX 7126                                                                                                   PONCE               PR         00732
   256198 JULIO MENDEZ MARTI                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693370 JULIO MENDEZ PEREZ                          PO BOX 461                                                                                                    MAYAGUEZ            PR         00681
   693371 JULIO MENDEZ RIVERA                         MUNEQUI II BEN 2            BOX 202                                                                           AGUADILLA           PR         00603
   256199 JULIO MENDOZA CHAPARO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693372 JULIO MERCADO LANDRON                       URB VILLAS DE CANEY         J11 CALLE MABO                                                                    TRUJILLO ALTO       PR         00976‐3543
   256201 JULIO MERCADO NEGRON                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256203 JULIO MERCADO RIVERA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256204 JULIO MOJICA SANDOZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   693376 JULIO MOLINA ESPADA                         COND CONCORDIA GARDENS I    APTO 8N                                                                           SAN JUAN            PR         00924
   256205 JULIO MOLINA MARCANO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256206 JULIO MOLINA RIOS                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   256207 JULIO MOLINUEVO MARANON                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JULIO MONSERRATE RIVERA
   693377 VEGA                                        REPARTO METROPOLITANO S E   1023 CALLE 9                                                                      SAN JUAN            PR         00921
   693378 JULIO MONTES DE OCA                         PO BOX 1671                                                                                                   MOCA                PR         00676
   256208 JULIO MONZONI ORTIZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693381 JULIO MORALES APONTE                        PO BOX 95                                                                                                     CAGUAS              PR         00726
   693382 JULIO MORALES CAEZ                          LAS VEGAS                   HH 22 CALLE 19                                                                    CATANO              PR         00962
   693383 JULIO MORALES CASTRO                        BOX 1441                                                                                                      JUANA DIAZ          PR         00795
   256210 JULIO MORALES FIGUEROA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256211 JULIO MORALES GARCIA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256212 JULIO MORALES MUNIZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256213 JULIO MORALES RIVERA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693385 JULIO MORALES ROSARIO                       BO PALMAS                   2 CALLE BUENA SUERTE                                                              CATA¨O              PR         00963
   693380 JULIO MORALES SOLIS                         BDA SANTA ANA               121 # 14 CALLE C                                                                  GUAYAMA             PR         00784
          JULIO MORALES Y NAZARETH
   693387 JUNE                                        PO BOX 1479                                                                                                   SABANA SECA         PR         00952
   693388 JULIO MORAN PEREZ                           PO BOX 7126                                                                                                   PONCE               PR         00732
   256214 JULIO MUNIZ BURGOS                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256215 JULIO MUNIZ GALARZA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256216 JULIO MUNIZ VAQUER                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256217 JULIO MUNIZ WIKINSON                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256218 JULIO MURCELO PEREZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256219 JULIO N ALVARADO MATTEI                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256220 JULIO N DELERME AYALA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256221 JULIO N MUNIZ NIEVES                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693390 JULIO NAVARRO RODRIGUEZ                     PO BOX 7126                                                                                                   PONCE               PR         00732
   693391 JULIO NAZARIO PEREZ                         PARQUE ECUESTRE             KID L 24                                                                          CAROLINA            PR         00987
   693392 JULIO NAZARIO VELEZ                         PO BOX 370                                                                                                    SAN GERMAN          PR         00683‐0370
   256222 JULIO NICOLAS DIAZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256224 JULIO NIEVES RIVERA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693393 JULIO NIEVES RODRIGUEZ                      C 6 CALLE GANDULES                                                                                            YAUCO               PR         000698
   256225 JULIO NIEVES ROSADO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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MML ID                    NAME                                 ADDRESS 1                      ADDRESS 2               ADDRESS 3                           ADDRESS 4               CITY          STATE   POSTAL CODE        COUNTRY
                                                      URB COUNTRY CLUB 1002 C/ M
   693394 JULIO NIEVES RUIZ                           CADILLA                                                                                                         SAN JUAN             PR           00924
   693395 JULIO NIGAGGLIONI ARRACHE                   PO BOX 364966                                                                                                   SAN JUAN             PR           00936‐4966
   256226 JULIO NIGAGLIONI GARCIA                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   693396 JULIO NIVES RUIZ                            PO BOX 5001                                                                                                     AGUADILLA            PR           000603
   693397 JULIO NUÃEZ ARGUELLES                       PO BOX 192640                                                                                                   SAN JUAN             PR           00919
   256227 JULIO NUNEZ JULIAN                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   256228 JULIO O ACEVEDO MATOS                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JULIO O CADIZ / RICARDO CADIZ
   693400 MARTINEZ                      RES LUIS LLORENS TORRES                    EDIF 27 APT 559                                                                    SAN JUAN             PR           00913
   693401 JULIO O CALDERIN MARTINEZ     PO BOX 1048                                                                                                                   JUNCOS               PR           00777

   256229 JULIO O CARRASQUILLO ADORNO REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   693403 JULIO O DIAZ ALEJANDRO      FH 11 CALLE PACHIN MARIN                                                                                                        LEVITTOWN            PR           00949
   693404 JULIO O GONZALEZ FERRER     PO BOX 1260                                                                                                                     SAINT JUST           PR           00978
   256230 JULIO O MENDEZ FELICIANO    REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   256231 JULIO O RAMOS FIGUEROA      REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   256232 JULIO O RIVAS SEPULVEDA     REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   256233 JULIO O SERNA VELAZQUEZ     REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   693405 JULIO O TORRES PACHECO      URB HACIENDA BORINQUEN                       1017 CALLE UKA                                                                     CAGUAS               PR           00725

   256234 JULIO O TURBIDES GAUTREAUX                  REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   256235 JULIO O VALDES ESQUILIN                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   256236 JULIO O VAZQUEZ MAYSONET                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   693411 JULIO OCASIO CRUZ                           URB HIPODROMO                1462 CALLE SAN RAFAEL                                                              SAN JUAN             PR           00909
   256237 JULIO OLAVARRIA RIVAS                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   256238 JULIO OMAR VALDES ESQUILIA                  REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   693415 JULIO ORENGO RAMOS                          BOX 1441                                                                                                        JUANA DIAZ           PR           00795
   693416 JULIO OROZCO MONGE                          HC 3 BOX 2227                                                                                                   YABUCOA              PR           00767
   693417 JULIO ORTEGA                                HC 67 15258                  BO MINILLAS                                                                        BAYAMON              PR           00956
   693418 JULIO ORTEGA COLON                          URB EL COMANDANTE            CALLE ARTURO H DIAZ                                                                RIO PIEDRAS          PR           00925
   693419 JULIO ORTIZ BERRIOS                         HC 2 BOX 129                                                                                                    SAN GERMAN           PR           00683
   693421 JULIO ORTIZ BETANCES                        PO BOX 10432                                                                                                    PONCE                PR           00732
   256241 JULIO ORTIZ CARRASQUILLO                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   256242 JULIO ORTIZ LOPEZ                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   693422 JULIO ORTIZ MARTINEZ                        PO BOX 1083                                                                                                     COAMO                PR           00769
   693423 JULIO ORTIZ ORTIZ                           PO BOX 364466                                                                                                   SAN JUAN             PR           00936 4466
   256243 JULIO ORTIZ PASTRANA                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   256244 JULIO ORTIZ RAMOS                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   256245 JULIO ORTIZ RESTO                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   693424 JULIO ORTIZ RIVERA                          BO ESPINOSA                  SECTOR KUILAN                                                                      DORADO               PR           00646
   693425 JULIO ORTIZ TEJEDA                          PO BOX 270189                                                                                                   SAN JUAN             PR           00927‐0189
   693426 JULIO ORTIZ VALENTIN                        BDA BLONDET                  98 CALLE B                                                                         GUAYAMA              PR           00784
   256247 JULIO OSORIO LOPEZ                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   693427 JULIO OSTALAZA VELAZQUEZ                    REPTO VALENCIA               D 11 CALLE JASMIN                                                                  BAYAMON              PR           00959‐4151
   693428 JULIO OTERO MOLINA                          LA PONDEROSA                 B 54 CALLE 2                                                                       VEGA ALTA            PR           00692
   256249 JULIO OTERO OTERO                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          JULIO OYOLA DBA ADVANCE
   256250 CONSULTANTS GRP                             URB LOS PINOS                ST PINO PONDEROSA 277                                                              ARECIBO              PR           00612‐5945
   256251 JULIO PABON MARRERO                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   693429 JULIO PABON NIEVES                          TRAS TALLERES                1067 CALLE PALMA                                                                   SAN JUAN             PR           00907
   693430 JULIO PABON ROJAS                           PARC AMADEO CALLE 60                                                                                            VEGA BAJA            PR           00693



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  693431 JULIO PADILLA MERCED                         PO BOX 7126                                                                                                         PONCE              PR         00732
  256252 JULIO PADILLA RIVERA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  693432 JULIO PAGAN ORTIZ                            P O BOX 6774                BO BAJOS                                                                                PATILLAS           PR         00723
  693433 JULIO PANIAGUA SANTANA                       URB COUNTRY CLUB            GS 61 CALLE 210                                                                         CAROLINA           PR         00982
  693435 JULIO PEREZ DE JESUS                         PO BOX 7126                                                                                                         PONCE              PR         00732
  693436 JULIO PEREZ DIAZ                             PO BOX 574143                                                                                                       ORLANDO            FL         32857‐4143
  693437 JULIO PEREZ FERNANDEZ                        HC 2 BOX 6120                                                                                                       MOROVIS            PR         00687
  693438 JULIO PEREZ FIGUEROA                         URB LEVITTOWN LAKES         A 1‐6 CALLE MAGALY                                                                      TOA BAJA           PR         00949
  693439 JULIO PEREZ LANDRON                          PO BOX 881                                                                                                          TOA ALTA           PR         00758
  693440 JULIO PEREZ MILLAN                           524 CALLE ALVERIO                                                                                                   SAN JUAN           PR         00918
  693441 JULIO PEREZ ORTIZ                            P O BOX 866                                                                                                         PATILLAS           PR         00723
  693442 JULIO PEREZ QUI¥ONES                         HC 01 BOX 6503                                                                                                      LOIZA              PR         00772‐9730
  256254 JULIO PEREZ SANTIAGO                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  692791 JULIO PEREZ TIRADO                           P O BOX 1542                                                                                                        SANTA ISABEL       PR         00757
  693443 JULIO PEREZ TORRES                           PO BOX 988                                                                                                          LAJAS              PR         00667
  693444 JULIO PEREZ VAZQUEZ                          HC 1 BOX 5676                                                                                                       GUAYNABO           PR         00965
  692790 JULIO PEREZ VIERA                            URB HORIZONTE A 17          CALLE ILUSION                                                                           GURABO             PR         00778
  256255 JULIO PINEIRO VELEZ                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  693445 JULIO PIZARRO SIERRA                         PO BOX 5351                                                                                                         SAN SEBASTIAN      PR         00685
  256256 JULIO PLAZA FORTY                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  693446 JULIO POLAIN BALLESTER                       P O BOX 93                                                                                                          BARCELONETA        PR         00617

   693447 JULIO PONCE DE LEON LESPIER                 PO BOX 364428                                                                                                       SAN JUAN           PR         00936
   693448 JULIO PORRATA VALLE                         BDA LA MAYOR                30 CALLE B                                                                              ISABELA            PR         00662
   256257 JULIO PUJALS DALECCIO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   693449 JULIO PURCELL BAUZA                         P O BOX 11042                                                                                                       SAN JUAN           PR         00907
   256258 JULIO QUILES GUZMAN                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   256259 JULIO QUILES VILLANUEVA                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   256260 JULIO QUINONES GONZALEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   256261 JULIO QUINONES SAEZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   256262 JULIO QUINONES SAGARDIA                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
                                                                                  SUITE 1100 AVE LOS ROMEROS
   693452 JULIO R CALDERIN GARCIA                     MONTEHIEDRA OFFICE CENTRE   9615                                                                                    SAN JUAN           PR         00926
   693453 JULIO R COLON SANCHEZ                       PO BOX 2263                                                                                                         SALINAS            PR         00751
   256263 JULIO R CONCEPCION                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   256264 JULIO R CONTRERAS JIMENEZ                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   256265 JULIO R DAVID TORRES                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   256266 JULIO R DEL RIO ADAMES                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   256267 JULIO R ESTRADA MUNOZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   693454 JULIO R FIRPO NIEVES                        URB LOMAS VERDE             K 14 CALLE BELLISIMA                                                                    BAYAMON            PR         00956

   693455 JULIO R GONZALEZ RODRIGUEZ                  P O BOX 19175                                                                                                       SAN JUAN           PR         00928

   256268 JULIO R HERNANDEZ CLAUDIO                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   693456 JULIO R LOPEZ HERNANDEZ                     HC 01 BOX 6906                                                                                                      GUAYANILLA         PR         00656
   693457 JULIO R MARTINEZ FELICIANO                  37 URB BROOKLYN             CARR 3                                                                                  ARROYO             PR         00714

   693458 JULIO R MIRANDA LARROY                      COND LA ALBORADA APT 2612                                                                                           BAYAMON            PR         00959
   256270 JULIO R MORALES RIVERA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   256271 JULIO R MORALES SANTOS                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   693460 JULIO R ORTIZ BERMUDEZ                      HC 03 BOX 13224                                                                                                     JUANA DIAZ         PR         00795
   693461 JULIO R ORTIZ LEBRON                        PO BOX 134                                                                                                          MAUNABO            PR         00707
   693462 JULIO R ORTIZ MARTINEZ                      URB IRLANDA HEIGHTS         FV 8 CALLE MIZA                                                                         BAYAMON            PR         00957



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MML ID                NAME                                       ADDRESS 1                  ADDRESS 2              ADDRESS 3                           ADDRESS 4            CITY         STATE    POSTAL CODE       COUNTRY
  693463 JULIO R ORTIZ OQUENDO                         PO BOX 128                                                                                                  SABANA SECA        PR         00952
  256272 JULIO R PIMENTEL VAZQUEZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  692792 JULIO R REYES FERNANDO                        URB RIO PIEDRAS HEIGHTS   203 CALLE WESER                                                                   SAN JUAN           PR         00926
  256273 JULIO R RIVERA GONZALEZ                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  256274 JULIO R RIVERA RENTAS                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  256275 JULIO R RIVERA ROSARIO                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  256276 JULIO R RIVERA SANTIAGO                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  693465 JULIO R ROSARIO MARTINEZ                      5 CALLE ANTONIO VAZQUEZ                                                                                     BARRANQUITAS       PR         00794
  256277 JULIO R RUBEN DIAZ BERRIOS                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  693466 JULIO R VALENTIN FIGUEROA                     HC 02 BOX 9400                                                                                              LAS MARIAS         PR         00670
  256278 JULIO R. BADILLO VEGA                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   256280 JULIO R. SANTANA VELAZQUEZ                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693468 JULIO RAFAEL DAVID                           PO BOX 1555                                                                                                 COAMO              PR         00769
   693469 JULIO RAFAEL SUAREZ ALAMO                    PO BOX 3894                                                                                                 GUAYNABO           PR         00970‐3894
   693470 JULIO RAMIREZ BARRETO                        VILLA PALMERAS            304 CALLE TAPIA                                                                   SAN JUAN           PR         00915
   693472 JULIO RAMIREZ IRIZARRY                       2 CALLE HENNA             PO BOX 48                                                                         CABO ROJO          PR         00623
   256282 JULIO RAMIREZ RAMOS                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693475 JULIO RAMOS                                  BERWIND STATE             17B CALLE 8                                                                       SAN JUAN           PR         00924
   256283 JULIO RAMOS FIGUEROA                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256284 JULIO RAMOS GOTAY                            REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256286 JULIO RAMOS ROSA                             REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693477 JULIO RAMOS SALES                            URB PALMER                9 CARR JOYUDAS                                                                    CABO ROJO          PR         00623
   256287 JULIO RAMOS SANTIAGO                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256288 JULIO REGUERO HERNANDEZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693479 JULIO RENGEL RAMOS                           URB LEVITTOWN             1210 PASEO DONCELLA                                                               TOA BAJA           PR         00949
   693480 JULIO RESTO MELENDEZ                         PO BOX 186                                                                                                  PUNTA SANTIAGO     PR         00741
   693481 JULIO REYES                                  PARK GARDENS TOWN         HOUSE APT 504                                                                     SAN JUAN           PR         00926
   256289 JULIO REYES CARBALLO                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256290 JULIO REYES LEON                             REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256291 JULIO RIOS GONZALEZ                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693482 JULIO RIVERA                                 HC 2 BOX 11207                                                                                              QUEBRADILLAS       PR         00678
   693485 JULIO RIVERA APONTE                          P O BOX 232                                                                                                 JUANA DIAZ         PR         00795
   256292 JULIO RIVERA ARZOLA                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693486 JULIO RIVERA BURGOS                          5 CALLE MOREL CAMPOS                                                                                        CAYEY              PR         00736
   693487 JULIO RIVERA COLON                           PO BOX 559                                                                                                  AGUAS BUENA        PR         00703
   693488 JULIO RIVERA COTTO                           HC 71 BOX 6433                                                                                              CAYEY              PR         00736
   256293 JULIO RIVERA CRESPO                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693489 JULIO RIVERA DEL VALLE                       PO BOX 240                                                                                                  SANTA ISABEL       PR         00757
   256294 JULIO RIVERA DIAZ                            REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256295 JULIO RIVERA FEBUS                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693491 JULIO RIVERA GELPI                           JARD RIO GRANDE           BN 295 CALLE 64                                                                   RIO GRANDE         PR         00745
   256298 JULIO RIVERA LOPEZ                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256299 JULIO RIVERA MARCUCCI                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693492 JULIO RIVERA MARTINEZ                        URB GLENVIEW GARDENS      A 24 CALLE W 23                                                                   PONCE              PR         00731
   256300 JULIO RIVERA MORALES                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693494 JULIO RIVERA ORTIZ                           URB CAMPO ALEGRE          I 8 CALLE CEREZA                                                                  BAYAMON            PR         00956
   256303 JULIO RIVERA PEREZ                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256304 JULIO RIVERA RAMOS                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256305 JULIO RIVERA RIVERA                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256306 JULIO RIVERA ROBLES                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693498 JULIO RIVERA RODRIGUEZ                       URB EL PRADO              BOX 32                                                                            CAYEY              PR         00736
   256307 JULIO RIVERA ROMAN                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  256309 JULIO RIVERA SANIEL                          REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693502 JULIO RIVERA TORO                            P O BOX 335090                                                                                                        PONCE               PR         00733‐5090
  693504 JULIO ROBERTO REYES OLEA                     LOS ANGELES                W M 19 AVE LAS FLORES                                                                      CAROLINA            PR         00979
  256313 JULIO RODRIGUEZ                              REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  256314 JULIO RODRIGUEZ ALVAREZ                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  256315 JULIO RODRIGUEZ BAEZ                         REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693507 JULIO RODRIGUEZ CORREA                       VEREDA DEL PALMAR          3031 CAMINO DEL MAR                                                                        TOA BAJA            PR         00949
  256316 JULIO RODRIGUEZ CRUZ                         REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  256317 JULIO RODRIGUEZ DE JESUS                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693508 JULIO RODRIGUEZ GOMEZ                        P O BOX 9023431                                                                                                       SAN JUAN            PR         00902‐3431
         JULIO RODRIGUEZ LOPEZ C/O
  693509 DPTO VIVIENDA                                606 AVE BARBOSA                                                                                                       SAN JUAN            PR         00928‐1365
  693511 JULIO RODRIGUEZ LUIS                         HC 03 BOX 12761                                                                                                       CAMUY               PR         00627
  693512 JULIO RODRIGUEZ OCASIO                       HC 03 BOX 32006                                                                                                       SAN LORENZO         PR         00754
  693514 JULIO RODRIGUEZ PAGAN                        ADM SERV GENERALES         P O BOX 7428                                                                               SAN JUAN            PR         00916‐7428
  256321 JULIO RODRIGUEZ PEREZ                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  256322 JULIO RODRIGUEZ QUINONES                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  256323 JULIO RODRIGUEZ RAMIREZ                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      COND EL MONTE SUR APTO G
   693515 JULIO RODRIGUEZ REYES                       903                        145 AVE HOSTOS                                                                             SAN JUAN            PR         00918
   256325 JULIO RODRIGUEZ RIVERA                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693517 JULIO RODRIGUEZ ROSA                        URB RIO PLANTATION         1 CALLE 3 OESTE                                                                            BAYAMON             PR         00961
   693518 JULIO RODRIGUEZ SANTIAGO                    HC 3 BOX 6303                                                                                                         HUMACAO             PR         00791
   256326 JULIO RODRIGUEZ TORRES                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693520 JULIO RODRIGUEZ VEGA                        HC 2 BOX 505                                                                                                          COAMO               PR         00769
          JULIO RODRIGUEZ Y/O PLATERIA
   693521 RODRIGUEZ                    P O BOX 1571                                                                                                                         JUANA DIAZ          PR         00795

   693524 JULIO ROLON RIVERA             BO VEGA                                 CALLE EFRAIN DAVILA BOX 24319                                                              CAYEY               PR         00736
   693525 JULIO ROMAN                    HC 01 BOX 6371                                                                                                                     MOCA                PR         00676
   693527 JULIO ROMAN GOMEZ              HC 3 BOX 40669                                                                                                                     CAGUAS              PR         00725‐9769
   256327 JULIO ROMAN ORTIZ              REDACTED                                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256328 JULIO ROSA FIGUEROA            REDACTED                                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256329 JULIO ROSA MONTANEZ            REDACTED                                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693530 JULIO ROSA SANTIAGO            8 CALLE 8                                                                                                                          VEGA BAJA           PR         00693
   256330 JULIO ROSA VALENTIN            REDACTED                                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256332 JULIO ROSADO RODRIGUEZ         REDACTED                                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693532 JULIO ROSARIO AVILES           HC 1 BOX 5542                                                                                                                      BARCELONETA         PR         00617
   256333 JULIO ROSARIO CRUZ             REDACTED                                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256334 JULIO ROSARIO DELGADO          REDACTED                                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693534 JULIO ROSARIO GINES            PO BOX 707                                                                                                                         VEGA BAJA           PR         00694
   693536 JULIO RUIZ JIMENEZ             PO BOX 589                                                                                                                         LARES               PR         00669 0589
   693537 JULIO RUIZ VEGA                ENRAMADA                                E 7 CAMINO AMAPOLAS                                                                        BAYAMON             PR         00961
          JULIO S CANALES GARCIA / JULIO
   256336 CANALES                        REDACTED                                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693539 JULIO S GALARZA IBERN          P O BOX 417                                                                                                                        CABO ROJO           PR         00623
   256337 JULIO S MERCADO ARROYO         REDACTED                                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   256338 JULIO S RODRIGUEZ RODRIGUEZ                 REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JULIO S SEA DOO & YAMAHA
   256339 SPECIALTY                                   REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693540 JULIO SAEZ FIGUEROA                         BO PALOMAS                 24 CALLE 3                                                                                 YAUCO               PR         00698
   693541 JULIO SALAMO FERNANDEZ                      URB VILLA EL ENCANTO       H 42 CALLE 7                                                                               JUANA DIAZ          PR         00795



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  256340 JULIO SALCEDO MEDINA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  256341 JULIO SALINAS SOTO                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693542 JULIO SANABRIA SANTIAGO                      PARCELAS ACOSTA BLANCA      133 CALLE JAZMIN                                                                   LAJAS               PR         00667
  256342 Julio Sanabria Silva                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JULIO SANCHEZ & AUREA
  693543 COLLAZO RODRIGUEZ                            URB EL PARAISO              1502 CALLE RHIN                                                                    SAN JUAN            PR         00926
  256343 JULIO SANCHEZ MALDONADO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693545 JULIO SANCHEZ ORTIZ                          URB ROUND HILLS             661 CALLE VIOLETA                                                                  TRUJILLO ALTO       PR         00976
  693546 JULIO SANTANA LOZADA                         HC 1                                                                                                           LAS PIEDRAS         PR         00771
  256345 JULIO SANTANA MARINO                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693547 JULIO SANTANA RODRIGUEZ                      PLAYA AZUL I                APTO. 603                                                                          LUQUILLO            PR         00773
  256346 JULIO SANTIAGO APONTE                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  256347 JULIO SANTIAGO BONILLA                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693549 JULIO SANTIAGO CRUZ                          URB PUERTO NUEVO            1163 CALLE CALI                                                                    SAN JUAN            PR         00920
  256348 JULIO SANTIAGO FEBUS                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  256349 JULIO SANTIAGO GONZALEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  256350 JULIO SANTIAGO MONTANEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693550 JULIO SANTIAGO ORTIZ                         LA CENTRAL DE CANOVANAS     PARCELA 110 CALLE 2                                                                CANOVANAS           PR         00729
  256351 JULIO SANTIAGO PEREZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  256352 JULIO SANTIAGO RALAT                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693551 JULIO SANTIAGO ROMAN                         BDA BUENA VISTA             120 CALLE 5                                                                        SAN JUAN            PR         00917
  693552 JULIO SANTIAGO ROSARIO                       PO BOX 9300871                                                                                                 SAN JUAN            PR         00930‐0871
  256353 JULIO SANTIAGO VEGA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693553 JULIO SANTORA                                VILLA CAROLINA              12 CALLE 435 189                                                                   CAROLINA            PR         00985
  693554 JULIO SANTORI TRISTANI                       VILLA CAROLINA              189‐12 CALLE 435                                                                   CAROLINA            PR         00985
         JULIO SANTOS CARRUCINI DBA
  256354 J.A. OFFICE M                                P. O. BOX 250484                                                                                               AGUADILLA           PR         00604‐0000
  693555 JULIO SANTOS LOPEZ                           3RA EXT VILLA CAROLINA      3 CALLE 39 BLQ 43                                                                  CAROLINA            PR         00985
  256356 JULIO SANTOS VILAR                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693556 JULIO SEBASTIAN                              AVE LAS PALMAS                                                                                                 SAN JUAN            PR         00907
  256357 JULIO SEMIDEI VELEZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  256358 JULIO SEPULVEDA IRIZARRY                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693557 JULIO SERRANO GONZALEZ                       BDA LA PERLA                43 CALLE LUCILA SILVA                                                              SAN JUAN            PR         00901
  693558 JULIO SERRANO NERIS                          PMB 352 PO BOX 2017                                                                                            LAS PIEDRAS         PR         00771
  256359 JULIO SERRANO RODRIGUEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  692793 JULIO SERRANO RODRIGUEZ                      URB WONDERVILLE             46 CALLE NEPTURNO                                                                  TRUJILLO ALTO       PR         00976
  693560 JULIO SERRANO SANTIAGO                       HC 1 BOX 4722                                                                                                  SABANA HOYOS        PR         00688
  256360 JULIO SILVA RODRIGUEZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693561 JULIO SOLA APONTE                            URB COUNTRY VIEW            81 CALLE JOSE AUBRAY                                                               CANOVANAS           PR         00729
  693562 JULIO SOLARES DETRES                         BOX CRYSTI                  59 CALLE VALENCIA                                                                  MAYAGUEZ            PR         00680
  693563 JULIO SOLERO TORRES                          PO BOX 773                                                                                                     ENSENADA            PR         00647‐0773
  693564 JULIO SOSA PEREZ                             PUERTO NUEVO                1132 CALLE BOHEMIA                                                                 SAN JUAN            PR         00920
  693565 JULIO SOTO LOPEZ                             PO BOX 5109                                                                                                    CIDRA               PR         00739
         JULIO SOTO ORTIZ (IN
  693566 REPRESENTATION SF)                           FOR 3 G GOLF VENTURES LLC   58 CARIBE STREET                                                                   SAN JUAN            PR         00907‐1909
  256361 JULIO SOTO SOTO                              REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  256362 JULIO SUAREZ HERNANDEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  256363 JULIO SUAREZ RIVERA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693568 JULIO SZORENYI                               P O BOX 361833                                                                                                 SAN JUAN            PR         00936
  256364 JULIO T FIGUEROA TORRES                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  256365 JULIO T. DE JESUS CASTRO                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693569 JULIO TARRATS DAVILA                         EDIF GIANNA LAURA           APT 207                                                                            PONCE               PR         00716‐3703
  693571 JULIO TIRADO ORTIZ                           PO BOX 7563                                                                                                    CAGUAS              PR         00726



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  693572 JULIO TOLEDO DELGADO                         HC 546 BOX 6594                                                                                                 TRUJILLO ALTO      PR         00976
  693573 JULIO TOLEDO OLIVENCIA                       HC 2 BOX 8572                                                                                                   HORMIGUEROS        PR         00660
  256366 JULIO TORO MARTINEZ                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  693574 JULIO TORO PAGAN                             PO BOX 809                                                                                                      CABO ROJO          PR         00623‐0809
  693575 JULIO TORRES                                 BDA EXT MARIANI           22A EXT VILLA                                                                         PONCE              PR         00731
  256368 JULIO TORRES ACEVEDO                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  693576 JULIO TORRES DELGADO                         RR 6 BOX 9455                                                                                                   SAN JUAN           PR         00926
  256369 JULIO TORRES GONZALEZ                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  256370 JULIO TORRES MUNOZ                           REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  693578 JULIO TORRES NEGRON                          PQUE TORREMOLINOS         D 13 CALLE AZALEA                                                                     GUAYNABO           PR         00969
  693579 JULIO TORRES SEDA                            PO BOX 50071                                                                                                    SAN JUAN           PR         00902
  693581 JULIO TORRES TORRES                          JARDINES DE PONCE BC 17                                                                                         PONCE              PR         00730
  256372 JULIO TOSTE PINERO                           REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  693583 JULIO TOWING SERVICE                         BOX 1025                                                                                                        JUNCOS             PR         00777
  693585 JULIO UBIDES DOMENECH                        P O BOX 191387                                                                                                  SAN JUAN           PR         00919‐1387
  256375 JULIO V MARTINEZ SANCHEZ                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  256376 JULIO V NUNEZ RODRIGUEZ                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  693587 JULIO V RIVERA PADILLA                       HC 01 BOX 7843                                                                                                  SAN GERMAN         PR         00683
  693588 JULIO V RIVERA VELEZ                         PO BOX 249                                                                                                      HORMIGUEROS        PR         00660

   256377 JULIO V RODRIGUEZ MARRERO                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   256378 JULIO V RUIZ                                REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   693590 JULIO VADI ROMERO                           PO BOX 428                                                                                                      CANOVANAS          PR         00729
          JULIO VALCARCEL Y/O
   256379 FRANCISCO VALCARCEL                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   693591 JULIO VALDEZ                                25‐04 33 AVE 2D                                                                                                 ASTORIA            NY       11106
   693592 JULIO VALENTIN FIGUEROA                     URB CONTRY CLUB           891 CALLE FLAMINGO                                                                    SAN JUAN           PR       00924
   256380 JULIO VALENTIN LUGO                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   256381 JULIO VARGAS                                REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   693594 JULIO VARGAS APONTE                         LOIZA VALLEY              K 376 CALLE MADRESELVA                                                                CANOVANAS          PR       00729
   693595 JULIO VARGAS MEDINA                         BO CACAO                  BUZON 2107 CALLE 4                                                                    QUEBRADILLAS       PR       00678
   693596 JULIO VARGAS OTERO                          111 CALLE O                                                                                                     AGUADILLA          PR       00603
   256382 JULIO VARGAS ROSA                           REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   256383 JULIO VARGAS SANCHEZ                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   693598 JULIO VARGAS TIRU                           URB JARDINES DEL CARIBE   HH 15 CALLE 35                                                                        PONCE              PR       00731
   256384 JULIO VARGAS VARGAS                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   256385 JULIO VAZQUEZ AGOSTO                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   256386 JULIO VAZQUEZ ALVAREZ                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   256387 JULIO VAZQUEZ FRED                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   256389 JULIO VAZQUEZ PEREZ                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   693601 JULIO VAZQUEZ RIVERA                        REPARTO MARQUEZ 29        CALLE 5                                                                               ARECIBO            PR       00612
   256390 JULIO VAZQUEZ VEGA                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   256391 JULIO VEGA BONILLA                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   693602 JULIO VEGA HERNANDEZ                        ALTURAS DE MONTE BRISAS   M 8 CALLE 4 15                                                                        FAJARDO            PR       00738
   256392 JULIO VEGA MONTALVO                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   256393 JULIO VELAZQUEZ APONTE                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   693604 JULIO VELAZQUEZ CORTES                      RR 03 BOX 4829                                                                                                  CIDRA              PR       00739

   693605 JULIO VELAZQUEZ HERNANDEZ                   SABANA SECA               7323 CALLE REJAS BZN 150                                                              TOA BAJA           PR         00952
   256394 JULIO VELEZ                                 REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   693607 JULIO VELEZ CLASSEN                         PO BOX 2768                                                                                                     ARECIBO            PR         00613
   256395 JULIO VELEZ CRUZ                            REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED




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          JULIO VELEZ LUGO DBA JAYS
   256397 CAFE CATERING                               URB SIERRA BAYAMON     BK 77 6 CALLE 65                                                                  BAYAMON             PR           00961
   256399 JULIO VELEZ TROCHE                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   256400 JULIO VELEZ Y MIRTA CEDENO                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   693612 JULIO VICTOR RAMIREZ ROSARIO BO HATO TEJAS                         88 CALLE PAJAROS                                                                  BAYAMON             PR           00959
   693615 JULIO VIGOREUX CARRERAS      URB LOS FRAILES                       A8 CALLE VILLAS IRIS                                                              GUAYNABO            PR           00969
                                       39 RES.VISTA HERMOSA APT.
   693616 JULIO VILLALOBO COLON        498                                                                                                                     SAN JUAN            PR           00921
   693617 JULIO VILLEGAS ORTIZ         P O BOX 3650                                                                                                            JUNCOS              PR           00777
   693618 JULIO VILLEGAS TRINIDAD      RR 6 BOX 4026                                                                                                           SAN JUAN            PR           00926
   693619 JULIO VIZCARRONDO            BO ANGELES                            P O BOX 234                                                                       UTUADO              PR           00611
   693620 JULIO VIZCARRONDO PARSON     URB VILLA CAROLINA                    114 21 CALLE 76                                                                   CAROLINA            PR           00985
   256401 JULIO W MATOS ARROYO         REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693621 JULIO ZAPATA MORALES         HC 01 BOX 30811                                                                                                         CABO ROJO           PR           00623
   692794 JULIO ZAPATA PEREZ           P O BOX 1030                                                                                                            BOQUERON            PR           00622
   693622 JULIO ZUARES FAJARDO         URB CROWN HILLS                       135 CALLE CARITE                                                                  SAN JUAN            PR           00926
   256404 JULIOMAR ROSADO PEREZ        REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693623 JULISA CARRERO MEDINA        HC 02 BOX 8828                                                                                                          RINCON              PR           00677
   256405 JULISA FERMIN                REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256406 JULISA GARCIA CASTRO         REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693624 JULISA MELENDEZ GONZALEZ     VILLAS DE CUPEY                       A 15 CALLE MENFIAS                                                                SAN JUAN            PR           00926
   256407 JULISA MELENDEZ QUINONES     REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256408 JULISA ROSADO LUGO           REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   693625 JULISETTE M COLLAZO CABRERA                 COND WINDSOR TOWER     410 DE DIEGO APT 907                                                              SAN JUAN            PR           00923
   256409 JULISHA M MARRERO RUIZ                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256410 JULISSA ARROYO ACOSTA                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256411 JULISSA ARROYO RODRIGUEZ                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256412 JULISSA AVILES VELEZ                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256413 JULISSA CASTING INC                         PO BOX 3300                                                                                              CAROLINA            PR           00984
   693630 JULISSA DAVID TORRES                        HC 06 BOX 75854                                                                                          CAGUAS              PR           00725‐9517
   693631 JULISSA DEL C ALVERIO LAZU                  PO BOX 12226 HC3                                                                                         YABUCOA             PR           00767
   256414 JULISSA E RIVERA CHICLANA                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256415 JULISSA GERENA MEDINA                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693633 JULISSA GONZALEZ                            11 CALLE ARIZMA 7                                                                                        ARROYO              PR           00714

   693634 JULISSA GONZALEZ GONZALEZ                   PO BOX 117                                                                                               VILLALBA            PR           00766
   256417 JULISSA I IRIZARRY ROSARIO                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693636 JULISSA LE LORENZANA                        46 CALLE NUEVA                                                                                           CIALES              PR           00638
   256418 JULISSA LOPEZ SANTIAGO                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256419 JULISSA M BURGOS ORTIZ                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256420 JULISSA M SANCHEZ LOPEZ                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   256421 JULISSA M. CAMPIS CANDELARIO REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256422 JULISSA MANNERS ROJAS        REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256423 JULISSA MERCED LEGRAND       REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693640 JULISSA MORALES MELENDEZ     URB MONACO II                         5 CALLE DINAMARCA                                                                 MANATI              PR           00674
   693641 JULISSA NIEVES CORTES        COTTO STATION                         PO BAOX 9269                                                                      ARECIBO             PR           00613
   693642 JULISSA NORAT BRACERO        BO PALMAREJO                          CARR 702 KM 5 5                                                                   COAMO               PR           00769
   256424 JULISSA OCASIO SANCHEZ       REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256425 JULISSA OJEDA CANDELARIO     REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  256426 JULISSA ORTIZ CARDONA                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  693643 JULISSA OSUMA RIVERA                         RES LOS MURALES           EDIF 19 APTO 186                                                                    MANATI             PR         00674
  256427 JULISSA QUILES QUILES                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  256429 JULISSA RAMOS SUAREZ                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  256430 JULISSA REVEROL RIVERA                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  256431 JULISSA REYES REYES                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  693645 JULISSA RIOS FABIAN                          PO BOX 50040                                                                                                  TOA BAJA           PR         00950‐0040
  256432 JULISSA RIVAS BONILLA                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  256433 JULISSA RIVERA ORTIZ                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  256434 JULISSA RIVERA PEREZ                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  693646 JULISSA RODRIGUEZ MOYET                      M S C 29 PO BOX 4035                                                                                          ARECIBO            PR         00614
  693647 JULISSA RODRIGUEZ RIVERA                     URB CANEY                 G 3 CALLE YUISA                                                                     TRUJILLO ALTO      PR         00976
  256435 JULISSA RUIZ AYALA                           REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  693648 JULISSA SANCHEZ SUAREZ                       COND SUNSET VIEW          APTO 302 A                                                                          BAYAMON            PR         00959
  693649 JULISSA SANTIAGO ALVARADO                    PO BOX 226                                                                                                    OROCOVIS           PR         00720
  256437 JULISSA TORRES SUAREZ                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  693651 JULISSA VALDES GONZALEZ                      PMB 137 HC 01 BOX 29030                                                                                       CAGUAS             PR         00725‐8900
  256438 JULISSA VERA GONZALEZ                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  693652 JULISSE MALDONADO PAGAN                      URB MONTE VERDE           609 CALLE MONTE BLANCO                                                              MANATI             PR         00674
  256440 JULITA M GALINDEZ                            REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  693654 JULITA ORTIZ MARIN                           URB CANA                  TT 4 CALLE 14                                                                       BAYAMON            PR         00957
  256441 JULITA SANTA FLORES                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  256442 JULITA VIDAL GIL                             REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  256443 JULITO B CABRERA MARTINEZ                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  693656 JULITO MARRERO LOPEZ                         HC 01 BOX 5623                                                                                                COROZAL            PR         00783

   256444 JULITSA N FERNANDEZ MASSAS                  REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256445 JULITZA CRUZ CRESPO                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   693657 JULITZA I RODRIGUEZ VARGAS                  BO BARTOLO GUZMAN ABAJO   PARC 423‐48 CALLE 1                                                                 RIO GRANDE         PR         00745
   256446 JULITZA PEREZ DAVILA                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693658 JULITZA ROSADO MARCUCCI                     URB VILLA DEL CARMEN      110 CALLE SACRA                                                                     PONCE              PR         00716
          JULITZA SANTIAGO
   693660 CARRASQUILLO                                RIO GRANDE ESTATES        C 39 CALLE 5                                                                        RIO GRANDE         PR         00745
   256448 JULIUS ALVAREZ CHARDON                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693662 JULIUS DAVID BILLETER                       PO BOX 2593                                                                                                   OLYMPIA            WA         98507‐2593
   693664 JULIUS PEREZ TORRES                         URB MONTECASINO           449 CALLE CEDRO                                                                     TOA ALTA           PR         00953
   256449 JULIUS RAMIREZ MEDINA                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693665 JULIZA ORTIZ SANTIAGO                       EST DEL LLANO             11 FLAMBOYAN ROJO                                                                   AIBONITO           PR         00705
   256451 JULIZZETTE COLON BILBRAUT                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256452 JULLIAN EATON                               REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256453 JULLIE A RENTA RAMIREZ                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   256456 JULMARIE ALVARADO BATISTA                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256457 JULMARIE CASIANO CABOT                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256458 JULMARIE VARGAS RIOS                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256459 JULO MORENO CANDELARIO                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JULY M TAVAREZ/MARIANO
   256461 PAGAN                                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256462 JULY M. VELAZQUEZ MEDINA                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   256463 JULY MARY SANTIAGO PACHECO REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256464 JULY POMALES URRUTIA       REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  256465 JULYAN FIGUEROA DE JESUS                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         JULYMAR / COLMADO
  693667 VETERINARIA                                  BO SANTA MARIA               CARR 200 KM 0 7                                                                       VIEQUES             PR         00765

   256466 JULYMAR FIGUEROA QUINTANA                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256467 JULYMAR SURIS ROSA                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256468 JULYVETTE COLON TEXEIRA                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693668 JULYVETTE RIVERA QUINTANA                   PO BOX 560989                                                                                                      GUAYANILLA          PR         00656

   256474 JUMAR CLEANING SERVICES INC                 CITY VIEW PLAZA II           48 CARR 165 SUITE 2000                                                                GUAYNABO            PR         00968
   256475 JUMARA MEDINA MORALES                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUMARIE D HERNANDEZ
   256477 MARRERO                                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693669 JUMET O MIRANDA ORTIZ                       HC 1 BOX 6493                                                                                                      CIALES              PR         00638
   256478 JUMPING PARTY KIDS INC                      PO BOX 500                                                                                                         CIDRA               PR         00739
   256479 JUN ARIAN REYES PEREZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256480 JUN D CARVAJAL JR CASTRO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256482 JUN RANG LUNG                               REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693670 JUN S MARTINEZ RODRIGUEZ                    P O BOX 9021112                                                                                                    SAN JUAN            PR         00902‐1112
   256483 JUNARYS SOLER VELEZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256484 JUNCO GALLETI MD, RICARDO                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256487 JUNCO STEEL                                 REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUNCOS AL & CONSTRUCTION
   693672 CORP                                        HC 22 BOX 9024                                                                                                     JUNCOS              PR         00777
   256489 JUNCOS DEL RIO LP SE                        P O BOX 362536                                                                                                     SAN JUAN            PR         00936‐2536
          JUNCOS FIRST MEDICAL CENTER
   256490 IPA E 05                                    PO BOX 1340                                                                                                        JUNCOS              PR         00777

   256491 JUNCOS GALLETI MD, RICARDO                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693673 JUNCOS GLASS                                # 56 CALLE R BUNKERS                                                                                               CAGUAS              PR         00725
   256492 JUNCOS STEEL CORP                           PO BOX 364682                                                                                                      SAN JUAN            PR         00936‐4682
   693674 JUNCOS TUBING CORP                          PO BOX 364682                                                                                                      SAN JUAN            PR         00936‐4682
   693675 JUNE C ANDRADES MURIEL                      URB SAN JUAN GARDENS         112 CALLE SAN BRUNO                                                                   SAN JUAN            PR         00926
   693676 JUNE M JAMISON                              PO BOX 4057                                                                                                        AGUADILLA           PR         00605
   256493 JUNEILLY MERCADO BONILLA                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693677 JUNELBA                                     10 CALLE UNION                                                                                                     LAJAS               PR         00667
   256494 JUNELLIE PADILLA MARRERO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256495 JUNEMARIE DIAZ MARTINEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   693678 JUNER RENTAL EQUIPMENT INC                  HC 01 BOX 9002                                                                                                     TOA BAJA            PR         00949
   256496 JUNG MD , ICHABOD S                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   693679 JUNGLE CAMP CORP                            301 CIUDAD JARDIN ORQUIDEA                                                                                         CAROLINA            PR         00985
   256497 JUNGLE PARK CORP                            PO BOX 371597                                                                                                      CAYEY               PR         00737‐1597
   693680 JUNIL RIVERA ORTIZ                          URB RIVERA CUPEY             P 10 CALLE PERLA                                                                      SAN JUAN            PR         00926
   693681 JUNIO GAS                                   22 CALLE MUNOZ RIVERA                                                                                              CIDRA               PR         00739
   256499 JUNIOR A. NUNEZ CRUZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693682 JUNIOR AUTO AIR                             PO BOX 1090                                                                                                        YABUCOA             PR         00767
   693683 JUNIOR AUTO ELECTRIC                        HC 2 BOX 7122                                                                                                      BARRANQUITAS        PR         00794
   693684 JUNIOR AUTO PARTS                           P O BOX 1782                                                                                                       CAGUAS              PR         00725
   256500 JUNIOR AUTO SERVICES                        CARACOLES III                PANORAMICA FINAL SOLAR 6                                                              PENUELAS            PR         00624
   693685 JUNIOR AUTO SHOP                            URB VISTA AZUL               H 12 CALLE 9                                                                          ARECIBO             PR         00612




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          JUNIOR AUTOMATIC
   693686 TRANSMISSION                                HC 56 BOX 5020                                                                                                        AGUADA              PR           00602
   693687 JUNIOR BEAUTY SUPPLY                        HC 1 BOX 5690                                                                                                         BARRANQUITAS        PR           00794
   693688 JUNIOR BUS                                  P O BOX 807                                                                                                           PATILLAS            PR           00723
   693689 JUNIOR BUS LINE                             BOX 262                                                                                                               NARANJITO           PR           00719
  1256616 JUNIOR BUS LINE INC                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256503 JUNIOR BUS LINE, INC.                       JUNIOR BUS LINE             PO BOX 807                                                                                PATILLAS            PR           00723‐0807
   693690 JUNIOR CARE CARE                            PARC CALDERONAS 102         BUZON CL 777212                                                                           CEIBA               PR           00735
   693691 JUNIOR ELECTRONICS                          PO BOX 533 GARROCHALES                                                                                                ARECIBO             PR           00652

   256505 JUNIOR F PERALTA ALMANZAR                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256506 JUNIOR GAS                                  22 CALLE MUNOZ BARRIOS                                                                                                CIDRA               PR           00739
          JUNIOR IRON WORKS AND
   693693 ALUMINUM SERVICE                            H C 01 BOX 4913                                                                                                       VILLALBA            PR           00766
          JUNIOR P HERNANDEZ
   256508 GONZALEZ                                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   693695 JUNIOR PEREZ AUTO SALES INC                                          300 35 CALLE JUAN C BORBON        SUITE 67                                                   GUAYNABO            PR           00969‐5375
   693697 JUNIOR PEREZ PADILLA                        HC 1 BOX 6330                                                                                                         SANTA ISABEL        PR           00757
                                                      CALLE QUINTANA 294 BO
   256510 JUNIOR PEREZ QUIJOTE CORP                   BALBOA                                                                                                                MAYAGUEZ            PR           00680
   256511 JUNIOR R HILARIO DIAZ                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   256512 JUNIOR RENTAL EQUIPMENT INC P O BOX 700                                                                                                                           PATILLAS            PR           00723
          JUNIOR SANTIAGO CAFETERIA Y
   693698 LECHONERA                   I RA SECCION SANTA JUANITA                  C/ 22 JJ                                                                                  BAYAMON             PR           00956

   693699 JUNIOR'A ELECTRONICS         URB LA CUMBRE                              497 AVE EMILIANO POL BZN 133                                                              SAN JUAN            PR           00926
   256514 JUNIORS PIZZA                29 CALLE MUNOZ RIVERA                                                                                                                AGUAS BUENAS        PR           00703
   693700 JUNIOR'S TRANSMISSION        HC 01 BOX 14434                                                                                                                      AGUADILLA           PR           00603‐9337
   256515 JUNITO BUS LINE INC          BO TOITA                                   PO BOX 416                                                                                CAYEY               PR           00737
   693701 JUNITO BUSS LINE INC         P O BOX 416                                                                                                                          CAYEY               PR           00737
   693702 JUNITO SERVICE STATION       P O BOX 372287                                                                                                                       CAYEY               PR           00736
          JUNITZA HERNANDEZ
   693703 HERNANDEZ                    BOX 331                                                                                                                              MOCA                PR           00676
   256517 JUNKER CRESPO                REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693705 JUNKER EDWIN                 P O BOX 401                                                                                                                          SAN LORENZO         PR           00754
          JUNKER EL MANA/ANGEL L ILLAS
   693706 CARDONA                      HC 02 BOX 18902                                                                                                                      SAN SEBASTIAN       PR           00685
   693707 JUNKER EMMANUEL              BOX 5116                                                                                                                             SAN SEBASTIAN       PR           00685
   693708 JUNKER HERNANDEZ             HC 2 BOX 6150                                                                                                                        LARES               PR           00669
   256518 JUNKER KENNEY INC            PO BOX 65                                                                                                                            ANASCO              PR           00610
   693709 JUNKER MARIANO               HC 1 BOX 11383                                                                                                                       SAN SEBASTIAN       PR           00685
   693710 JUNKER MARTINEZ              PO BOX 10007 128                                                                                                                     GUAYAMA             PR           00785
   693711 JUNKER MISLA                 BZN 5‐101                                                                                                                            ISABELA             PR           00662
   693712 JUNKER PARRILLA              PO BOX 711                                                                                                                           ISABELA             PR           00662
   693713 JUNKER PEREZ                 CARR 112                                                                                                                             ISABELA             PR           00662
   693714 JUNKER RIOS                  BZN 10893                                                                                                                            SAN SEBASTIAN       PR           00685
   693715 JUNKER SAN ANTON             P O BOX 881                                                                                                                          CAROLINA            PR           00986
   693716 JUNKER SANTA ROSA            PUEBLO NUEVO                               B 26 CALLE 7                                                                              VEGA BAJA           PR           00696
   256519 JUNNIEL COLON PEREZ          REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256520 JUNOT TEISSONNIERE RIVERA    REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          JUNTA ADM MUELLES
   693717 MUNICIPALES                                 PO BOX 34125                                                                                                            PONCE               PR           00734‐4125
   256522 JUNTA C S C /JOSE S BELAVAL                 REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JUNTA COMUNITARIA DEL
   256524 POBLADA COQUI INC                           P O BOX 543                                                                                                             AGUIRRE             PR           00704
          JUNTA COMUNITARIA LA
   256525 PUNTILLA INC                                LA PUNTILLA                3 SAN ANTONIO                                                                                CATANO              PR           00962
          JUNTA CONDOMINES                                                       COND LUNA 357 CALLE SOL APT
   693721 CONDOMINIO CEBRIAN                          MARIA M HERNANDEZ VILLAMIL 303                                                                                          SAN JUAN            PR           00901
          JUNTA CONDOMINES DEL
   693722 CONDOMINIO QUINTANA                         CONDOMINIO QUINTANA           EDIF A APT                                                                                SAN JUAN            PR           00917
          JUNTA COORDINADORA DE
   256526 CIENCIAS DE LA                              REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JUNTA DE ACCION
   256528 COMUNITARIA                                 REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   693724 JUNTA DE AMIGOS DEL CENTRO PO BOX 3134                                                                                                                              MAYAGUEZ            PR           00681
                                                                                    200 CALLE DR C FERNANDEZ APT
   693725 JUNTA DE BRISAS BORINQUEN II COND BRISAS DE BORINQUEN II                  103                                                                                       CAROLINA            PR           00985‐5958

   256529 JUNTA DE CALIDAD AMBIENTAL                  REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                    URB. VILLA CAROLINA 186 18
  1420128 JUNTA DE CALIDAD AMBIENTAL                  CONCEPCIÓN CINTRÓN, VALERIE   CALLE 518                                                                                 CAROLINA            PR           00985
                                                                                    URB. VILLA CAROLINA 186 18
  1420129 JUNTA DE CALIDAD AMBIENTAL                  CONCEPCIÓN CINTRÓN, VALERIE   CALLE 518                                                                                 CAROLINA            PR           00985
                                                                                    URB. VILLA CAROLINA 186 18
  1420130 JUNTA DE CALIDAD AMBIENTAL                  CONCEPCIÓN CINTRÓN, VALERIE   CALLE 518                                                                                 CAROLINA            PR           00985
                                                                                    URB. VILLA CAROLINA 186 18
  1420131 JUNTA DE CALIDAD AMBIENTAL                  CONCEPCIÓN CINTRÓN, VALERIE   CALLE 518                                                                                 CAROLINA            PR           00985
                                                                                    URB. VILLA CAROLINA 186 18
  1420132 JUNTA DE CALIDAD AMBIENTAL                  CONCEPCIÓN CINTRÓN, VALERIE   CALLE 518                                                                                 CAROLINA            PR           00985
                                                                                    URB. VILLA CAROLINA 186 18
  1420133 JUNTA DE CALIDAD AMBIENTAL                  CONCEPCIÓN CINTRÓN, VALERIE   CALLE 518                                                                                 CAROLINA            PR           00985
                                                                                    URB. VILLA CAROLINA 186 18
  1420134 JUNTA DE CALIDAD AMBIENTAL                  CONCEPCIÓN CINTRÓN, VALERIE   CALLE 518                                                                                 CAROLINA            PR           00985
                                                                                    URB. VILLA CAROLINA 186 18
  1420135 JUNTA DE CALIDAD AMBIENTAL                  CONCEPCIÓN CINTRÓN, VALERIE   CALLE 518                                                                                 CAROLINA            PR           00985
                                                                                    URB. VILLA CAROLINA 186 18
  1420136 JUNTA DE CALIDAD AMBIENTAL                  CONCEPCIÓN CINTRÓN, VALERIE   CALLE 518                                                                                 CAROLINA            PR           00985
                                                                                    URB. VILLA CAROLINA 186 18
  1420137 JUNTA DE CALIDAD AMBIENTAL                  CONCEPCIÓN CINTRÓN, VALERIE   CALLE 518                                                                                 CAROLINA            PR           00985
                                                                                    URB. VILLA CAROLINA 186 18
  1420138 JUNTA DE CALIDAD AMBIENTAL                  CONCEPCIÓN CINTRÓN, VALERIE   CALLE 518                                                                                 CAROLINA            PR           00985
                                                                                    URB. VILLA CAROLINA 186 18
  1420139 JUNTA DE CALIDAD AMBIENTAL                  CONCEPCIÓN CINTRÓN, VALERIE   CALLE 518                                                                                 CAROLINA            PR           00985
                                                                                    URB. VILLA CAROLINA 186 18
  1420140 JUNTA DE CALIDAD AMBIENTAL                  CONCEPCIÓN CINTRÓN, VALERIE   CALLE 518                                                                                 CAROLINA            PR           00985
                                                                                    URB. VILLA CAROLINA 186 18
  1420141 JUNTA DE CALIDAD AMBIENTAL                  CONCEPCIÓN CINTRÓN, VALERIE   CALLE 518                                                                                 CAROLINA            PR           00985
                                                                                    URB. VILLA CAROLINA 186 18
  1420142 JUNTA DE CALIDAD AMBIENTAL                  CONCEPCIÓN CINTRÓN, VALERIE   CALLE 518                                                                                 CAROLINA            PR           00985
          JUNTA DE CERTIF. PARA PROF.
   256530 EN ADICCION                                 REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          JUNTA DE COND DEL
   693728 CONDOMINIO COOPERATIVA                      JARDINES DE VALENCIA                                                                                SAN JUAN            PR           00917

          JUNTA DE COND
   693729 DELCONDOMINIO JARD FRANCIA ESQ FRANCIA                             CALLE GUAYAMA                                                                SAN JUAN            PR           00917

   256531 JUNTA DE COND SANDY BEACH #46 CALLE MUNOZ RIVERA                   SUITE 3                                                                      RINCON              PR           00677
          JUNTA DE CONDOMINES RAFAEL
   693730 HERNANDEZ                    COND RAFAEL HERNANDEZ                 EDIF C APT 102                                                               SAN JUAN            PR           00923
          JUNTA DE DIRECT BEISBOL AA
   693731 BARRANQUITAS                 PO BOX 455                                                                                                         BARRANQUITAS        PR           00794
          JUNTA DE DIRECTORES/COND
   693732 MIRAMAR PLAZA                PO BOX 362333                                                                                                      SAN JUAN            PR           00936‐2333
          JUNTA DE GOBIERNO AL
   693733 SERVICIO 911                 PO BOX 270200                                                                                                      SAN JUAN            PR           00927‐0200
          JUNTA DE GOBIERNO DEL
   256533 SERVICIO 9‐1‐1               PO BOX 270200                                                                                                      SAN JUAN            PR           00927‐0200
          JUNTA DE GOBIERNO SERVICIO                                         URB. VILLA CAROLINA 186 18
  1420143 911                          CONCEPCIÓN CINTRÓN, VALERIE           CALLE 518                                                                    CAROLINA            PR           00985
          JUNTA DE PLANIFICACION DE
   256535 PUERTO RICO                  PO BOX 41119                                                                                                       SAN JUAN            PR           00940‐1119
          JUNTA DE RES COMUNIDAD JARD
   693735 SAN CARLOS                   JARDINES DE SAN CARLOS                EL 4 APT 34                                                                  CAGUAS              PR           00725
          JUNTA DE RES DEL COND VILLAS
   693736 PELICANO                     C/ CONSTITUCION APTO 28                                                                                            SAN JUAN            PR           00915
          JUNTA DE RES RINCON ESPANOL
   256537 T.A. INC                     WESTER AUTO PLAZA SUITE 101           P O BOX 355                                                                  TRUJILLO ALTO       PR           00976
          JUNTA DE RESIDENTES DE VILLA
   693737 MARISOL INC                  VILLA MARISOL                         6855 CALLE LIRIO BOX 99                                                      SABANA SECA         PR           00952
          JUNTA DE RESIDENTES RES
   693738 ALEJANDRINO                  RES ALEJANDRINO                                                                                                    SAN JUAN            PR           00901
          JUNTA DE RESIDENTES RES LOS
   693739 LIRIOS                       RES LOS LIRIOS                                                                                                     CUPEY               PR           00908‐3926
          JUNTA DE RETIRO PARA
   256538 MAESTRO                      PO BOX 191879                                                                                                      SAN JUAN            PR           00919‐1829
          JUNTA DE TITULARES COND
   256539 BARRANQUITAS                 COND BARRANQUITAS                     1022 AVE ASHFORD APT E1                                                      SAN JUAN            PR           00907

   256540 JUNTA DEPORTIVA DE PATILLAS VILLAS DE PATILLAS                     10 CALLE CORAL                                                               PATILLAS            PR           00723
          JUNTA EXPORTACION DEL CAFE
   256541 100%DE PR INC                 100 GRAND PASEOS BLVD                PMB 417 SUITE 112                                                            SAN JUAN            PR           00926‐5902
          JUNTA LOCAL WIB CONSORCIO
   693740 DEL SUROESTE                  P O BOX 1448                                                                                                      SAN GERMAN          PR           00683‐1448
   693741 JUNTA LOS LAURELES            RES LOS LAURELES                     CARR 176 CUPEY                                                               SAN JUAN            PR           00926
          JUNTA PARA EL DES DEL CAPITAL
   256542 HUMANO INC                    PO BOX 193480                                                                                                     SAN JUAN            PR           00936
          JUNTA PLANIFICACION/JORGE L
   256543 NAVARRO                       PO BOX 41119                                                                                                      SAN JUAN            PR           00940
          JUNTA RES HACIENDA
   693744 BORINQUEN                     PEDRO M ACOSTA                       SIERRA LINDA                 H 32 CALLE 4                                    BAYAMON             PR           00957
          JUNTA RESIDENTES COM
   693745 CARIOCA                       RES CARIOCA                          EDIF 6 APT 34                                                                GUAYAMA             PR           00784




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          JUNTA RESIDENTES DE GAUTIER
   693746 BENITES INC                 RES JOSE GAUTIER BENITEZ       EDIF 30 APT 269                                                                   CAGUAS              PR           00725
          JUNTA RETIRO MAESTRO Y
   256544 RAMON PEREZ                 REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JUNTA RETIRO MAESTRO Y
   256545 TAYZIR SALEH                REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JUNTA TECNICOS REG DE LA
   693747 PROPIEDAD CORP              P O BOX 1925                                                                                                     SAN SEBASTIAN       PR           00685
          JUNTAS DE RESIDENTES LUIS
   256547 PALES MATOS                 REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256548 JUNY CAR COVER              HC 06 BOX 13483                                                                                                  COROZAL             PR           00783
   693748 JUNY TOWING                 JARDINES DE MONTELLANOS        EDIF 40 APT 80                                                                    CAYEY               PR           00736
   256568 JURADO MD, JERRY            REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256589 JURISAM RAMOS VELEZ         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256590 JURISCOOP                   URB VILLA BLANCA               50 CALLE AQUAMARINA                                                               CAGUAS              PR           00725
   256555 JURY S AIZPRUA DE GRACIA    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256591 JUSEIM SOTO RIVERA          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256593 JUSHUA ESCOBAR QUIROS       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256594 JUSILA BENAJAN RIVERA       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256596 JUSINA HERNANDEZ JOSE LUIS  REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693750 JUSINO BUS LINE             BOX 242                                                                                                          ENENADA             PR           00647
          JUSINO MCDOUGAL MD,
   256660 EDMUNDO                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JUSINO MCDOUGAL MD, ISMAEL
   256661 E                           REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693751 JUSINO TORRES AWILDA M.     PO BOX 1140                                                                                                      SAN GERMAN          PR           00683
   256786 JUSMARY ORTIZ GARCIA        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693752 Jusor Corp.                 PO BOX 222                                                                                                       MAYAGUEZ            PR           00681
   693753 JUSSEF M GALIB FRAU         PO BOX 9023699                                                                                                   SAN JUAN            PR           00902‐3699
                                      CALLE RAMON EMETERIO
   256788 JUST 4 KIDS DAY CARE        BETANCES                       567 SUR                                                                           MAYAGUEZ            PR           00680
   256681 JUST FOR FEET               PLAZA DEL SOL NO 81                                                                                              BAYAMON             PR           00916
   693754 JUSTA BETANCOURT RAMOS      BO SAN ISIDRO                  17 CALLE 392                                                                      CANOVANAS           PR           00729
   693755 JUSTA CALDERON RIVERA       SAINT JUST                     47 BETANIA                                                                        TRUJILLO ALTO       PR           00976
   693756 JUSTA E PEREZ REYES         PO BOX 3309                                                                                                      ARECIBO             PR           00613
   693757 JUSTA ESTRADA PEREZ         HC 1 BOX 5834                                                                                                    JUNCOS              PR           00777
   693758 JUSTA M CRESPO TORRES       PO BOX 52278                                                                                                     TOA BAJA            PR           00950
   693759 JUSTA MAISONET NARVAEZ      VILLA EVANGELINA               T 264 CALLE 17                                                                    MANATI              PR           00674
   256796 JUSTA NAVARRO LAUREANO      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693760 JUSTA RAMIREZ RUIZ          256 CALLE MARINA ALTA                                                                                            AGUADA              PR           00602
   693761 JUSTA RIVERA PEREZ          HC 07 BOX 32048                                                                                                  HATILLO             PR           00659
   256797 JUSTA RODRIGUEZ PEREZ       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693762 JUSTA ROJAS ANDINO          BO SAINT JUST                  16 B CALLE BETANIA                                                                TRUJILLO ALTO       PR           00970
   256798 JUSTA SABATER PABEY         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                      777 NORTH CAPITOL ST SUITE
   693763 JUSTICE RESEARCH            801                                                                                                              WASHINGTON          DC           20002‐4239
          JUSTICIA NIE / INDIRA ORTIZ
   256803 LIBRAN                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   693764 JUSTICIANO MORALES LUGO     HC 4 BOX 14077                                                                                                   MOCA                PR           00676
   256807 JUSTILIANA BATISTA          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          JUSTIN C LARACY & GREGORY R
   256808 LARACY                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   256809 JUSTIN CACHOLA BONILLA      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  693765 JUSTIN CASTRO AYALA                          COUNTRY CLUB                908 CALLE TABOA REAL                                                                    SAN JUAN           PR         00924
  256810 JUSTIN CASTRO ORTEGA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  256811 JUSTIN D MALIN                               REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  256812 JUSTIN DELGADO RIVERA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  256813 JUSTIN DIAZ ORTIZ                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  256821 JUSTIN LOPEZ MATOS                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  256822 JUSTIN MARKU                                 REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  256823 JUSTIN RESTO SANCHEZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  256824 JUSTIN ROMAN SERRANO                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  256825 JUSTIN VELEZ RODRIGUEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  693767 JUSTINA APONTE SANTIAGO                      HC 01 BOX 7427                                                                                                      BARRANQUITAS       PR         00794
  693768 JUSTINA ARRIAGA LUGO                         HC 2 BOX 43548                                                                                                      VEGA BAJA          PR         00693
  693772 JUSTINA CAJIGAS FRANQUI                      HC 03 BOX 11049                                                                                                     CAMUY              PR         00627
  693773 JUSTINA CARMONA CABRERA                      HC 646 BOX 6562                                                                                                     TRUJILLO ALTO      PR         00976
  693774 JUSTINA COLON                                RYDER VILLAGE                                                                                                       HUMACAO            PR         00791

   693776 JUSTINA DEL VALLE RODRIGUEZ                 URB ATENAS                  B‐65 CALLE BRUNO VIDAL                                                                  MANATI             PR         00674
   256827 JUSTINA DELGADO CASTRO                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      CALLE I BLQ G‐4 JARD DE
   693777 JUSTINA DELGADO DE JESUS                    CAROLINA                                                                                                            CAROLINA           PR         00984
   693779 JUSTINA DIAZ FANTAUZZI                      635 WEST SCHELLER ST                                                                                                PHILADELPHIA       PA         19140

   693780 JUSTINA FERNANDEZ MENDOZA URB APRIL GARDENS                             J 40 CALLE 16                                                                           LAS PIEDRAS        PR         00771

   693781 JUSTINA GERMAN REYES                        SANTURCE                    615 CALLE SAN RAMON PDA 18                                                              SAN JUAN           PR         00907
   693782 JUSTINA GONZALEZ                            EXT EL VERDE                51 CALLE VENUS                                                                          CAGUAS             PR         00725

   256828 JUSTINA GUARDIOLA PICORELLI                 REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693784 JUSTINA GUZMAN URBINA                       BARRIADA VENEZUELA          45 CALLE PRINCIPAL                                                                      SAN JUAN           PR         00926
   693785 JUSTINA HERNANDEZ APONTE                    PO BOX 7126                                                                                                         PONCE              PR         00732

   693786 JUSTINA LABOY DE PLAZA                      232 AVE ELEONOR ROOSEVELT                                                                                           SAN JUAN           PR         00907
   256829 JUSTINA LOPEZ MEDINA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256830 JUSTINA LOPEZ TOLEDO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256831 JUSTINA MARIE SANTIAGO                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693788 JUSTINA MAYSONET                            PO BOX 21365                                                                                                        SAN JUAN           PR         00928
   693790 JUSTINA MORALES VAZQUEZ                     49 URB MINIMA                                                                                                       CAYEY              PR         00736
   693792 JUSTINA OTERO CRUZ                          URB VISTA MONTE             H 7 CALLE 5                                                                             CIDRA              PR         00739
   256832 Justina Pagan                               REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693793 JUSTINA PAGAN CARRION                       HC 1 BOX 8418                                                                                                       TOA BAJA           PR         00949
   693794 JUSTINA PEREZ PEREZ                         HC 20 BOX 28083                                                                                                     SAN LORENZO        PR         00754
   693795 JUSTINA PEREZ RIVERA                        P O BOX 2074                                                                                                        VEGA ALTA          PR         00692
   256835 JUSTINA PINERO                              REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          JUSTINA QUINONES Y/O JOSE M
   256836 QUINONES                                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693797 JUSTINA RAMOS RIVERA                        P O BOX 372595                                                                                                      CAYEY              PR         00737‐2595
   693798 JUSTINA RIVAS ORTIZ                         URB ALTAGRACIA              J 14 PALOMA                                                                             TOA BAJA           PR         00949

   256838 JUSTINA RIVERA ENCARNACION                  REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   256839 JUSTINA RIVERA SOTO                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   693800 JUSTINA RODRIGUEZ ALGARIN                   EXT SAN LUIS                CALLE TESALONICA PARC 3                                                                 AIBONITO           PR         00705

   693801 JUSTINA RODRIGUEZ FIGUEROA                  HC 57 BOX 11857                                                                                                     AGUADA             PR         00602



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  256841 JUSTINA RODRIGUEZ VICENTI                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  256842 JUSTINA ROSA SANTANA                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693803 JUSTINA ROSARIO MORALES                      P O BOX 725                                                                                                  CIDRA               PR         00739
  693804 JUSTINA SANCHEZ CRUZ                         RES CARIOCA                EDIF 26 APT 151                                                                   GUAYAMA             PR         00784
  256843 JUSTINA SANCHEZ MATIAS                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693805 JUSTINA SANCHEZ VEGA                         HC 2 BOX 18210                                                                                               GURABO              PR         00778‐9625
  256844 JUSTINA SANTANA VERGARA                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  256845 JUSTINA SANTIAGO FLORES                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  256846 JUSTINA SOLIS DE RAMOS                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693806 JUSTINA SOTO DE MAYMI                        URB BAYAMON GDNS           F22 CALLE 18                                                                      BAYAMON             PR         00957
  693807 JUSTINA TORRES VARGAS                        COND JARDINES DE BERWIND   EDIF D APTO 1305                                                                  SAN JUAN            PR         00924
  693810 JUSTINA VAZQUEZ NAZARIO                      URB ESTANCIAS DE BAIROA    B 2 CALLE BROMELIA                                                                CAGUAS              PR         00725
  693811 JUSTINA VEGA BERNAT                          BO RINCON MORRILLO         PO BOX 18                                                                         CAYEY               PR         00736
  693813 JUSTINA ZAMBRANA SANTOS                      HC‐1 BOX‐18580                                                                                               COAMO               PR         00769

   256855 JUSTINIANO ALVAREZ QUINONES REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   256879 JUSTINIANO CONSTRUCTION INC PO BOX 341                                                                                                                   MARICAO             PR         00606
   256882 JUSTINIANO CRUZ, SERGIO     REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693814 JUSTINIANO DIAZ IRIZARRY    URB NUEVA VIDA                             I 8 CALLE 4 A                                                                     PONCE               PR         00728‐6623

   693815 JUSTINIANO DIAZ MALDONADO                   PARC NUEVA VIDA            D 64 CALLE 8 B                                                                    PONCE               PR         00728

   256889 JUSTINIANO GARCIA MD, JANICE REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUSTINIANO GARCIA MD, JORGE
   256890 L                            REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUSTINIANO GARCIA MD, MARIA
   256891 E                            REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUSTINIANO GARCIA MD, RAFAEL
   256892 A                            REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693816 JUSTINIANO GARCIA ROSARIO    JARD DE CAYEY                             B49 CALLE AZUCENA                                                                 CAYEY               PR         00736
   256959 JUSTINIANO ROMAN, WILMA      REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUSTINIANO SANCHEZ
   256965 HERNANDEZ                    REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   256966 JUSTINIANO SANTIAGO EFRAIN                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256979 JUSTINIANO TORRES FLORES                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256996 JUSTINO A CORTES RIOS                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          JUSTINO A CRUZ /MARIA A
   256997 TORRES                                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   256998 JUSTINO A HERNANDEZ LECLER                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   256999 JUSTINO ANDUJAR PIETRI                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257000 JUSTINO AYALA VARGAS                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257001 JUSTINO BAEZ CANDELARIO                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   257002 JUSTINO BETANCOURT COLLAZO                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693821 JUSTINO BRUNO ROLON                         PO BOX 21365                                                                                                 SAN JUAN            PR         00926‐1365
   257003 JUSTINO CALZADA GARCIA                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693823 JUSTINO COLON TORRES                        RR 10 BOX 10298                                                                                              SAN JUAN            PR         00926
   693824 JUSTINO CRUZ FIGUEROA                       HC 67 BOX 23590                                                                                              FAJARDO             PR         00738
   693819 JUSTINO FERRER MU¥OZ                        PO BOX 1144                                                                                                  CAGUAS              PR         00726‐1144
   693826 JUSTINO GARCIA SEPULVEDA                    PO BOX 4952 PMB 236                                                                                          CAGUAS              PR         00726‐4952



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  693827 JUSTINO MIRANDA RIOS                         PO BOX 1036                                                                                                  NAGUABO           PR         00718
  257007 JUSTINO MOLINA GONZALEZ                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  257009 JUSTINO MORALES GONZALEZ                     REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  693829 JUSTINO MORALES RIVERA                       PARC FALU SABANA LLANA   223 C CALLE 22                                                                      SAN JUAN          PR         00928
  693830 JUSTINO NARVAEZ                              HC 73 BOX 4547                                                                                               NARANJITO         PR         00719
  693831 JUSTINO NARVAEZ SANTIAGO                     HC 55 BOX 8554                                                                                               CEIBA             PR         00735‐9741
  257010 JUSTINO NEVAREZ FIGUEROA                     REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  257011 JUSTINO NIEVES DIAZ                          REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  257012 JUSTINO ORTIZ PEDRAZA                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  693832 JUSTINO ORTIZ VAZQUEZ                        PO BOX 5931                                                                                                  CIDRA             PR         00739
  257013 JUSTINO PACHECO NIEVES                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  257014 JUSTINO PACHECO QUINONES                     REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  693833 JUSTINO PIZARRO MARTINEZ                     URB VILLA SANS SOUCI     Z 8 CALLE 19                                                                        BAYAMON           PR         00957
  257015 JUSTINO QUINONES ORTEGA                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  257016 JUSTINO QUINONES TORO                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  693834 JUSTINO RIVERA GARCIA                        P O BOX 315                                                                                                  SAN LORENZO       PR         00754
  257017 JUSTINO RIVERA ROBLES                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   257018 JUSTINO RODRIGUEZ RODRIGUEZ REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   693839 JUSTINO SANCHEZ FIGUEROA    PO BOX 8603                                                                                                                  CAGUAS            PR         00726
   693840 JUSTINO SANTIAGO BLANCO     HP ‐ SERVICIO GENERALES                                                                                                      RIO PIEDRAS       PR         009360000
   693841 JUSTINO SANTIAGO NEGRON     URB SAN JOSE                             483 CALLE JANDA                                                                     SAN JUAN          PR         00923
   257020 JUSTINO SANTIAGO ORTEGA     REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   693842 JUSTINO VARGAS TIRU         P O BOX 311                                                                                                                  GUANICA           PR         00653
          JUSTINO VAZQUEZ Y/O
   693843 MARGARITA VAZQUEZ           PO BOX 658                                                                                                                   AGUADA            PR         00602
   693844 JUSTINO VEGA GONZALEZ       HC 02 BOX 47746                                                                                                              VEGA BAJA         PR         00693
   257022 JUSTINO VILLAFANE DE JESUS  REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   693846 JUSTO A AVILES VELEZ        1001 HANGING VINE POINT                                                                                                      LONGWOOD          FL         32750
   693847 JUSTO A CONTRERAS INFANTE   VILLA CAROLINA                           97 29 CALLE 93                                                                      CAROLINA          PR         00985
   693848 JUSTO A GONZALEZ            URB BERWIND ESTATES                      A31 CALLE 7                                                                         SAN JUAN          PR         00924
   257027 JUSTO A HIRALDO SANTIAGO    REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257029 JUSTO APONTE IRIZARRY       REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                      URB. LEVITTOWN AR‐11 LYDIA
   693851 JUSTO APONTE MORALES        ESTE                                                                                                                         TOA BAJA          PR         00949
   257030 JUSTO BENITEZ FONTANEZ      REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   693852 JUSTO COLON RIOS            HC 1 BOX 4464                                                                                                                ADJUNTAS          PR         00601‐9716
   693845 JUSTO COLON SANCHEZ         PO BOX 988                                                                                                                   COAMO             PR         00769
   257031 JUSTO COLON SOTOMAYOR       REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   693853 JUSTO CORTON GARCIA         96 CALLE PATILLAS                                                                                                            SAN JUAN          PR         00902
   257032 JUSTO COTTO RAMOS           REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   693854 JUSTO CRUZ RAMOS            PO BOX 638                                                                                                                   YABUCOA           PR         00767

   693855 JUSTO CUEVAS DE LOS SANTOS                  VILLA PALMERA 266        AVE EDUARDO CONDE                                                                   SAN JUAN          PR         00915
   257033 JUSTO DAVILA                                REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   693856 JUSTO DE JESUS MENDEZ                       MANSIONES DE CAROLINA    KK 13 CALLE PANDORA                                                                 CAROLINA          PR         00987
   693857 JUSTO E COLON CRUZ                          URB BAYAMON GARDENS      HH‐30 CALLE SANDY                                                                   BAYAMON           PR         00957
   693859 JUSTO E JORGE ORTIZ                         URB ESTANCIAS DEL GOLF   622 CALLE WITO MORALES                                                              PONCE             PR         00730
   693860 JUSTO E RIVERA RODRIGUEZ                    RIO PIEDRAS HEIGHTS      217 CALLE SAN LORENZO                                                               SAN JUAN          PR         00926
   693861 JUSTO E RODRIGUEZ RIVERA                    RR 01 BOX 3115                                                                                               CIDRA             PR         00739‐9615
   693862 JUSTO E VARELA DIEPPA                       P O BOX 51387                                                                                                TOA BAJA          PR         00950‐1387
   693865 JUSTO FLORES ORTIZ                          PO BOX 195                                                                                                   SALINAS           PR         00751‐0195
   693866 JUSTO G DIAZ SANTIAGO                       URB SAN ANTONIO          D 63 CALLE 8                                                                        PONCE             PR         00728



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  693867 JUSTO G ORTIZ                                URB MARIOLGA R 16            CALLE SAN MARCOS                                                                     CAGUAS              PR           00725
         JUSTO H SOTO Y OPHA B
  693868 JIMENEZ                                      BO ASOMANTE B.R. 1007                                                                                             AGUADA              PR           00602
  693869 JUSTO HERNANDEZ LOPEZ                        PO BOX 3663                                                                                                       CAROLINA            PR           00984
  693870 JUSTO J SANTIAGO                             32 HARRISON                  DR NORTHPORT                                                                         LI                  NY           11768

   693871 JUSTO L GONZALEZ FERNANDEZ                  URB REXMANOR                 A 18 CALLE 3                                                                         GUAYAMA             PR           00784
   693873 JUSTO L. PEREZ MORELL                       PO BOX 1693                                                                                                       JUANA DIAZ          PR           00795
   257034 Justo Lebron Nieves                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   257035 JUSTO LEON SANTOS                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   257036 JUSTO M ECHEVARRIA GARCIA                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   257037 JUSTO MARRERO HUERTAS                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   257038 JUSTO MENDEZ COLON                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   693875 JUSTO MORALES AMARO                         BO ISRAEL                    102 CALLE CUBA                                                                       SAN JUAN            PR           00917
   257039 JUSTO MORALES SANTIAGO                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   693876 JUSTO O RAMIREZ ACEVEDO                     PO BOX 386                                                                                                        LARES               PR           00669
                                                      URB.LEVITTOWN CK‐12 C/DR.A
   693877 JUSTO ORTIZ ALVARADO                        M FERRER                                                                                                          TOA BAJA            PR           00949
   257041 JUSTO ORTIZ CEPEDA                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   693878 JUSTO ORTIZ SANTIAGO                        HC 02 BOX 7098                                                                                                    BARRANQUITAS        PR           00794
                                                      URB LAS LOMAS SO 795 CALLE
   693879 JUSTO P NEGRON HERNANDEZ                    25                                                                                                                SAN JUAN                         00925
   693880 JUSTO P RODRIGUEZ VALLE                     EDIF OLIVER                  SUITE 301                                                                            ARECIBO             PR           00612
   257042 JUSTO P VAZQUEZ DIAZ                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   257043 JUSTO P. RODRIGUEZ VALLE                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   257044 JUSTO QUINONES TORRES                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   693881 JUSTO R COLLAZO                             URB REXVILLE                 AE 5 CALLE 51                                                                        BAYAMON             PR           00957
   693882 JUSTO R SANCHEZ BAREA                       URB SANTA MARIA              7140 DIVINA PROVIDENCIA                                                              PONCE               PR           00717‐5667
   257045 JUSTO REYES TORRES                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   693883 JUSTO RIVERA ENCARNACION                    HC 02 BOX 15177                                                                                                   CAROLINA            PR           00985
   693884 JUSTO RIVERA NIEVES                         HC 1 BOX 5155                                                                                                     BARRANQUITAS        PR           00794
   693885 JUSTO RIVERA PEDROZA                        PO BOX 1520                                                                                                       OROCOVIS            PR           00720
   257046 JUSTO RIVERA PEREZ                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   257047 JUSTO RODRIGUEZ VEGA                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   693887 JUSTO ROLDAN                                HC 02 BOX 11249                                                                                                   HUMACAO             PR           00791
   693888 JUSTO ROSARIO SILVA                         41 CALLE VALENCIA NORTE                                                                                           GUAYAMA             PR           00784
   257048 JUSTO SOTO ESPINOSA                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   257049 JUSTO SOTOMAYOR & CIA                       P O BOX 363687                                                                                                    SAN JUAN            PR           00936‐3687
   257050 JUSTO SOTOMAYOR CIA                         PO BOX 7217                                                                                                       SANTURCE            PR           00916
          JUSTO SOTOMAYOR SAFE
   257051 WAREHOUSE                                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          JUSTO SOTOMAYOR SAFE
   257052 WAREHOUSE INC                               REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   693890 JUSTO TORRES BETANCOURT                     PO BOX 595                                                                                                        CANOVANAS           PR           00729
   257053 JUSTO TORRES RODRIGUEZ                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   693893 JUSTO TURPO GONZALEZ                        PARC JAUCA                   134 CALLE 2                                                                          SANTA ISABEL        PR           00757
   693894 JUSTO VAZQUEZ DIAZ                          P M B 227 CALL BOX 30000                                                                                          CANOVANAS           PR           00729
   257054 JUSTO VEGA FIGUEROA                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   257055 JUSTO VELAZQUEZ DONATO                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   693895 JUSTO VILLA DE JESUS                        172 CALLE ARISMENDI                                                                                               SAN JUAN            PR           00925
   693896 JUSTO VILLA DE LA CRUZ                      852 AVE B PARADA 22                                                                                               SAN JUAN            PR           00909
   693897 JUSTO ZAYAS PIZARRO                         PO BOX 378                                                                                                        COAMO               PR           00769



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  257056 JUSTY DAVID CAMPOS                           REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   693898 JUSTY VELAZQUEZ TIRADO                      URB MONTE VERDE            CALLE MONTE ALBERIA BOX 303                                                              MANATI              PR         00674
          JUUAN BENITEZ ALAMO DBA
   257057 MECANICA BENITEZ                            RR 10 BOX 10262                                                                                                     SAN JUAN            PR         00926
   693899 JUVAL TRADING INC                           PO BOX 362587                                                                                                       SAN JUAN            PR         00936
   257058 JUVENAL ACEVEDO SOLA                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   693900 JUVENAL APONTE MALDONADO HC 2 BOX 5308                                                                                                                          LARES               PR         00669
                                                                                 402 BLVD DE LA MEDIA LUNA
   693901 JUVENAL RIVERA RODRIGUEZ                    VEREDAS DEL PARQUE         APT 1401                                                                                 CAROLINA            PR         00987
   257059 JUVENAL SANTOS ALICEA                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693902 JUVENCIA MERCADO                            URB REPARTO VALENCIANO     H 8 CALLE 4                                                                              JUNCOS              PR         00777
   693903 JUVENCIO CRUZ NIEVES                        P O BOX 156                                                                                                         YABUCOA             PR         00767
   693904 JUVENCIO LABOY SANABRIA                     HC‐1 BOX 4607                                                                                                       HUMACAO             PR         00791‐9509
          JUVENILE DIABETES FUNDATION
   257060 PR CORP                                     PASEO COVADONGA            54 SUITE 201                                                                             SAN JUAN            PR         00901

   257061 JUVENTUD AL DIA INC                         COND CORAL BEACH TORRE 2   AVE ISLA VERDE APTO 818                                                                  CAROLINA            PR         00979
          JUVENTUD UNIDA PARA
   693905 PROTEGER AMBIENTE                           URB LAGO ALTO              I 157 CALLE GARITE                                                                       TRUJILLO ALTO       PR         00976
          JV CONSULTORES & ASOCIADOS
   693906 INC                                         BQ 75 SANTA TERESITA                                                                                                PONCE               PR         00730
   257063 JV ELECTRONICS INC                          PO BOX 810198                                                                                                       CAROLINA            PR         00981‐0198
   257065 JV ELEVATOR                                 RR 2 BOX 5614                                                                                                       CIDRA               PR         00739
          JV ELEVATOR SERVICES &
   257066 CONSTRACTOR                                 134 AVE. CAMPOBELLO                                                                                                 CIDRA               PR         00739‐0000
          JV MECHANICAL CONTRACTORS
   257067 INC                                         63 HACIENDA PARQUE                                                                                                  SAN LORENZO         PR         00754
   257068 JV MUSIC CORP.                              PO BOX 51308                                                                                                        TOA ALTA            PR         00950‐1308
          JVID ELECTRICAL SERV & GEN
   257073 CONTRACTORS                                 P O BOX 1896                                                                                                        CAYEY               PR         00737
          JVM PROFESSIONAL
   257074 CONTRACTOR                                  PO BOX 956                                                                                                          SABANA GRANDE       PR         00637
   693907 JVTS PARTS CORP                             PO BOX 51630                                                                                                        TOA BAJA            PR         00950‐1630
   257075 JVZ SPORTS INC                              URB VISTA DEL SOL          CALLE C 34                                                                               COAMO               PR         00769
   693908 JW GENESIS SECURITIES INC                   P O BOX 11855                                                                                                       SAN JUAN            PR         00910‐3855
   693909 JW REPAIR SERVICE                           VILLAVILLE GARCIA          32 CALLE A                                                                               SAN JUAN            PR         00926
          JW STEINER AND ASSOCIATES
   693910 INC                                         PI BOX 9023062                                                                                                      SAN JUAN            PR         00902‐3062
   257077 JX COMPUTER TECHNICIANS                     HC 05 BOX 11249                                                                                                     COROZAL             PR         00783
   257080 JYMMI SANTIAGO ROSARIO                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257081 JYORDANO SANTIAGO RIOS                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693911 K & K POZO INC                              PO BOX 822                                                                                                          VEGA ALTA           PR         00692
   693912 K + E PRINTING INKS                         1122 COINER COURT          CITY OF INDUSTRY                                                                         CALIFORNIA          CA         91748
   693913 K B K ENTERTAIMENT LLC                      4547 MORRO DRIVE                                                                                                    WOODLAND HILLS      CA         91364
          K COUNSELOR EDUCATION
   257084 CORPORATION                                 PMB 607 SUITE 105          89 DE DIEGO AVENUE                                                                       SAN JUAN            PR         00927‐6346
   693914 K D BORRAS GROUP INC                        170 AVE ARTERIAL HOSTOS    APT E 8                                                                                  SAN JUAN            PR         00918
   257086 K J BAKER, INC                              BOX 540                                                                                                             MOCA                PR         00676
   257087 K J BAKERS                                  P O BOX 540                                                                                                         MOCA                PR         00676
   693915 K L MEDICAL & BOOKS DIST                    PO BOX 936                                                                                                          GUAYNABO            PR         00970‐0936
   693917 K L MEDICAL & BOOKS INC                     1207 AVE AMERICO MIRANDA                                                                                            SAN JUAN            PR         00921



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  693918 K LOVE FASHIONS                               65 TH INF. STA.        PO BOX 29699                                                                      SAN JUAN             PR         00929
  693919 K MART                                        4494 CARR 181 KM 3 5                                                                                     TRUJILLO ALTO        PR         00976
  693920 K MIER PAPER                                  PO BOX 173                                                                                               TRUJILLO ALTO        PR         00977‐1173
  257089 K NOS POOL CENTER                             URB CACUAX             E 21 AVE MUNOZ MARIN                                                              CACUAS               PR         00725
  693921 K R R CORP                                    PO BOX 190852                                                                                            SAN JUAN             PR         00919
  257090 K TORO GARRATON INC                           PO BOX 8629                                                                                              SAN JUAN             PR         00910‐0629
  257091 K& V TIRE COLLECTOR                           COM LA DOLORES         221 CALLE ARGENTINA                                                               RIO GRANDE           PR         00745
  257092 K&A INDUSTRIES, INC.                          51 CRAGWOOD ROAD       SUITE 204                                                                         SOUTH PLAINFIELD     NJ         07080
  693922 K.MIER CHEMICAL SALES INC                     URB VILLAMAR           144 CALLE 6                                                                       ISLA VERDE           PR         00979
  693924 K‐9 SENTINEL DOGS INC                         PO BOX 358                                                                                               TRUJILLO ALTO        PR         00977
  257094 KABIR B SOLARAS GARCIA                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         KABIR E. ENCARNACION
  257095 GONZALEZ                                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  257096 KABIR R RODRIGUEZ                             REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  693925 KACHITOS INC                                  PMB 309 350 CALLE 32                                                                                     SAN JUAN             PR         00927

   257097 KADELIS N ALMENAS SERRANO                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   693926 KADEN CONSTRUCTION INC                       PO BOX 9321                                                                                              ARECIBO              PR         00613
   693927 KADESH RODRIGUEZ BAUZA                       VILLA FONTANA          KL 24 VIA 23                                                                      CAROLINA             PR         00983

   257098 KADHAFY A ROSARIO CORDOVA                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   257099 KAEIMY Z ORTIZ TORRES                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   257101 KAELY A RAMOS RIVERA                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  1256617 KAELY A. RAMOS RIVERA                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   693928 KAFE BRISAS DE KALICHE                       P O BOX 740                                                                                              CIALES               PR         00638
   257103 KAGE MD, BARBARA                             REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   257104 KAGI                                         1442‐A WALNUT ST                                                                                         BARKELEY             CA         94709‐1405

   257105 KAHALIL FERNANDEZ CABEZUDO REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   257106 KAHEH CORDERO MD, PEDRO M                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          KAHLIL J ENCARNACION
   693929 RODRIGUEZ                                    HC 1 BOX 26664                                                                                           CAGUAS               PR         00725
   257107 KAHN DM , MARC L                             REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   257108 KAI RONG LIU                                 REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   257109 KAICEI EDUCTIONAL SERVICES                   URB LAS TERRENAS 129                                                                                     VEGA BAJA            PR         00693
   693930 KAICELINA SOLANO CORREA                      P 2 SANTA CECILIA                                                                                        SAN JUAN             PR         00911
          KAILLYMARIE RODRIGUEZ
   693931 RODRIGUEZ                                    PO BOX 1198                                                                                              RIO GRANDE           PR         00745
   693932 KAIMAN CASH & CARRY                          PO BOX 496                                                                                               MOCA                 PR         00676
   257110 KAIRA ALVAREZ RODRIGUEZ                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   257111 KAIROS                                       P O BOX 11856                                                                                            SAN JUAN             PR         00922

   257112 KAIROS CONSULTING GROUP INC BOX 935                                                                                                                   BOQUERON             PR         00622
   257115 KAISER                      19185 SW 90TH AVE                                                                                                         TUALATIN             OR         97062

   257116 KAISER FOUNDATION HOSPITAL                   4867 W SUNSET BLVD                                                                                       LOS ANGELES          CA         90027‐5969
   257117 KAISER SACRAMENTO SOUTH                      6600 BRUCEVILLE        BLDG 1 ROOM 114                                                                   SACRAMENTO           CA         95823
   257118 KAISHA P ROSADO BAYONA                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   257119 KAISHA RAMIREZ GALLARDO                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          KAISHLA M MALDONADO
   257120 BURGOS                                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   257122 KAISMMARI PEREZ CRUZ                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  693933 KAITY SANCHEZ RIOS                           URB JAIME L DREW            143 CALLE 5                                                                                PONCE               PR         00731
  257125 KALACHE MD, JEAN                             REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   257127 KALAKOTA MD, MADHUSUDANA REDACTED                                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   257128 KALANI SALDANA BETANCOURT                   VILLA CAROLINA              108‐19 CENTRAL BOULEVARD                                                                   CAROLINA            PR         00985

   257129 KALANTAR LOPEZ MD, DAVID H                  REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693934 KALEB DE MARTINEZ RIVERA                    URB TURABO GARDENS          A 23 CALLE 32                                                                              CAGUAS              PR         00725
   257130 KALEB E RODRIGUEZ                           REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693935 KALEB M SANTIAGO SEDA                       HC 01 BOX 8089                                                                                                         LAS PIEDRAS         PR         00771
   257131 KALEEL OT , WALEED M                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257132 KALEISHA ALICEA ROSADO                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257134 KALEYMI MORALES MULERO                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693936 KALI VILLEGAS GARCIA                        RR 10 BOX 5066                                                                                                         SAN JUAN            PR         00926
   257136 KALIA TORO SEPULVEDA                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257137 KALIAMINET A TORRES                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257138 KALIANI RIVERA CRUZ                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693937 KALICO CORP                                 P O BOX 4315                                                                                                           BAYAMON             PR         00958‐4315
   257142 KALIL MALOFF SAIED                          REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257143 KALIL R QUINONES SANTIAGO                   REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   693939 KALIMAR FELICIANO MARTINEZ                  PO BOX 240                                                                                                             SANTA ISABEL        PR         00757
                                                      PUERTO NUEVO EDF 3014 APTO
   693940 KALIMAR MARTOS OLIVERA                      A                          CALLE 7 N E                                                                                 SAN JUAN            PR         00921
   257144 KALIP A PEREZ VELEZ                         REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257146 KALIS PHD, ISABELLE                         REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   693941 KALITCHI FIGUEROA RODRIGUEZ                 PO BOX 964                                                                                                             NAGUADO             PR         00718
          KALKOMEY ENTERPRISES INC
   257147 DBA BOATED                                  14086 PROTON ROAD                                                                                                      DALLAS              TX         75244
   693944 KALY ENTERPRISES CORP                       URB VILLA MATILDE           A 12 CALLE 1 A                                                                             TOA ALTA            PR         00953
   257151 KALY ESTHER TORO TORO                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257152 KAM H CHEN                                  REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   257154 KAMAGUY MONTANEZ SANTOS                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257155 KAMAL ABDEL RAHMAN                          REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          KAMAL ELIAS REBAIZ / AMELIA L
   257156 CUENCA                                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693946 KAMALICH CALVO PASTRANA                     P O BOX 9024275                                                                                                        SAN JUAN            PR         00902‐4275
  1256618 KAMALIS WILLIAMS GARCIA                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257159 KAMARIA PEREZ MORALES                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          KAMI GENERAL CONSTUCTION
   257163 INC                                         HC 01 BOX 4261                                                                                                         BARRANQUITAS        PR         00794
   693949 KAMIL BANDES DELGADO                        ROUND HILL                  119 CALLE GARDENIA                                                                         TRUJILLO ALTO       PR         00976
   257165 KAMIL GONZALEZ AYUSO                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257166 KAMIL RAMOS MARRERO                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257167 KAMIL SULIVERES CARABALLO                   REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257168 KAMIL TORRES FUENTES                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257169 KAMILAH M IRIZARRY REYES                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693950 KAMILE G SOTO MENDEZ                        PO BOX 7000 SUITE 20                                                                                                   SAN SEBASTIAN       PR         00685
   693951 KAMILE GUERRA RODRIGUEZ                     URB ARQUELIO TORRES                                    18                                                              SAN GERMAN          PR         00683




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          KAMILICH HERNANDEZ
   693952 CABALLERO                                   URB RIO GRANDE ESTATES          DD 12 CALLE 30                                                                     RIO GRANDE           PR           00745
   693953 KAMILL ASSAD                                PO BOX 81033                                                                                                       CAROLINA             PR           00981‐0333
   257170 KAMILLE GONZALEZ AMARO                      REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   257171 KAMILLE M. RIVERA MENDEZ                    REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   257172 KAMILLE QUILES ORTIZ                        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   693954 KAMILLE RUIZ                                HACIENDA EL CARIBE              H 8 CALLE NABORIA                                                                  TOA ALTA             PR           00953
   257173 KAMIR CINTRON RODRIGUEZ                     REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   693955 KAMIR MARTINEZ GONZALEZ                     HC 02 BOX 5302                                                                                                     GUAYAMA              PR           00784
   257174 KAMME MD, AHMAD                             REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   693956 KAMRAN KHOSRAVANI                           P O BOX 13146                                                                                                      SAN JUAN             PR           00908
   257176 KANAYA BABANI                               REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      504 ZONA INDUSTRIAL
   257177 KANDOR MANUFACTURING INC                    ZENOGANDIA                      VICTOR ROJAS 2                                                                     ARECIBO              PR           00612
   257178 KANDY A COLON ORTEGA                        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   693957 KANE CARIBBEAN                              PO BOX 366307                                                                                                      SAN JUAN             PR           00936‐6307
   693958 KANE CARIBBEAN INC                          PO BOX 366307                                                                                                      SAN JUAN             PR           00936‐6307
   693959 KANEKO ENTERPRISES INC                      16421 D GOTHARD AVE                                                                                                HUNTINGTON BEACH     CA           92647
   257180 KANER MEDICAL GROUP                         412 N MAIN ST STE 100                                                                                              EULESS               TX           76039
   693960 KANGRIMAN CORP                              P O BOX 3030                                                                                                       YAUCO                PR           00698
   257182 KANIA GONZALEZ FRANCO                       REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   257183 KANIA JUSTINIANO RIOS                       REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   693961 KANIL ASSAD                                 PO BOX 810333                                                                                                      CAROLINA             PR           00981‐0333
   257185 KANILYN DIAZ SANTIAGO                       REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   257186 KANISHA L. SIERRA RIOS                      REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   257187 KANOSO AUTO SALES INC                       MARINA STA                      P O BOX 3889                                                                       MAYAGUEZ             PR           00681
   257189 KANTOLA PRODUCTIONS                         55 SUNNYSIDE AVE                                                                                                   MILL VALLEY          CA           94941
   693963 KANYRA OLIVERAS MARTINEZ                    P O BOX 438                                                                                                        YAUCO                PR           00698
   257191 KAOS WEAVER                                 PO BOX 8702                     800 DELAWARE AVE.                                                                  WILMINGTOD           DE           19899
   693964 KAP IMC                                     PO BOX 9065225                                                                                                     SAN JUAN             PR           00906
   693965 KAP INC                                     PO BOX 9065225                                                                                                     SAN JUAN             PR           00906
   693966 KAPCO INDUSTRIES INC                        PO BOX 3920                                             CAROLINA                                                   CAROLINA             PR           00984
   770677 KAPLAN                                      804 AVE PONCE DE LEON           SUITE 200                                                                          SAN JUAN             PR           00907‐3369

   257192 KAPLAN EARLY LEARNING CORP                  P O BOX 890575                                                                                                     CHARLOTTE            NC           28289‐0575
   257193 KAPLAN FINANCIAL                            P O BOX 935357                                                                                                     ATLANTA              GA           31193‐5357

   693967 KAPLAN I T DBA TRANSCENDER                  500 NORTHRIDE RD                SUITE 240                                                                          ATLANTA              GA           30350
   257194 KAPLAN MD , STEVEN L                        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   257195 KAPLAN SCHOOL SUPPLY CORP                   P O BOX 609                                                                                                        LEWISVILLE           NC           27023
   257197 KAPOOR MD, ANIL                             REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   693968 KAPRICORN                                   PO BOX 5003                     LEVITTOWN STA                                                                      TOA BAJA             PR           00950
   693969 KAR KLINIC                                  P O BOX 9021052                                                                                                    SAN JUAN             PR           00902‐1052
   693970 KAR PRODUCTS INC                            P O BOX 2445                                                                                                       DES PLAINES          IL           60017 2445
   693971 KARALIZ BONILLA PEREZ                       PO BOX 427                                                                                                         TOA ALTA             PR           00954

   693972 KARBAN TRAVEL                               3 CALLE JOSE DE JESUS ESTEVES                                                                                      AGUADILLA            PR           00603
   257200 KARDOS MD , FRANK L                         REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   693973 KAREANGELY ROLON RIOS                       PMB 291 HC 01 BOX 29030                                                                                            CAGUAS               PR           00725‐8900
   693974 KAREEM K MICHAEL                            SABANA SECA                     7488 PROGRESO                                                                      TOA BAJA             PR           00952
   257201 KAREEN A MANGUAL ROTGER                     REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   257202 KAREEN SUED VAZQUEZ                         REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  257203 KAREH CORDERO MD, JOSE A                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   257204 KAREH CORDERO MD, PEDRO M REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257209 KARELINE CENTENO ROSARIO  REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   693975 KARELINE RIVERA RIVERA                      11 CALLE GERONIMO MARTINEZ                                                                                      AIBONITO            PR         00705
   257210 KARELIZ ROSARIO PAGAN                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257212 KARELLY NIEVES RIVERA                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257213 KARELY ESCOBAR GONZALEZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   257214 KARELY ZOE MORALES BATISTA                  REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   257215 KARELYN SANTANA BERBERENA                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257216 KARELYS BELTRAN BERRIOS                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693976 KARELYS DEL VALLE ACOSTA                    JARD DE BORINQUEN         P 37 CALLE GARDENIA                                                                   CAROLINA            PR         00985
   257217 KAREM B RIVERA GARCIA                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257218 KAREM CARABALLO LA SANTA                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257219 KAREM DEL HOYO MELENDEZ                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693978 KAREM E ALICEA SANTIAGO                     LAS DELICIAS              4018 CALLE FIDELA MATHEW                                                              PONCE               PR         00728
   257220 KAREM J CALO PEREZ                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   693979 KAREM K HERNANDEZ SANCHEZ URB SAN ANTONIO                             2436 CALLE DIAMELA                                                                    PONCE               PR         00728
   257221 KAREM L RIVERA LOPEZ      REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693980 KAREM LUCILLE MIR BADILLO JARDINES CAPARRA                            B 36 CALLE 2                                                                          BAYAMON             PR         00959

   693981 KAREM M ALVAREZ ECHEONDIA                   COND JARNINES DE          EDIF I APT 411                                                                        SAN JUAN            PR         000927
   257222 KAREM M CASTILLO CUEVAS                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257223 KAREM M COLON REYES                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693982 KAREM M HERNANDEZ DIAZ                      LUZ M DIAZ (TUTORA)       REPARTO UNIVERSITARIO      CALLE CITADEL #364                                         RIO PIEDRAS         PR         00926
          KAREM M MARRERO
   257224 FERNANDEZ                                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257225 Karem N. Andino LandraU                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257226 KAREM RIOS FERNANDEZ                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693984 KAREM RIVERA                                URB VILLA LYDIA           5 CIRCULO                                                                             AGUADILLA           PR         00603
   257227 KAREN A DECLET                              REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257228 KAREN A LANGEVIN                            REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257229 KAREN A LOPEZ BERRIOS                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693987 KAREN A PEREZ HERNANDEZ                     HC 10 BOX 7648                                                                                                  SABANA GRANDE       PR         00637
   257230 KAREN A RAMOS NUNEZ                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257231 KAREN A RIVERA VARGAS                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257232 KAREN ADAN PUENTES                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257233 KAREN ANN MIRANDA OTERO                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                1204 CAL NCLS AGY URB EL
   693988 KAREN APONTE HERNANDEZ                      ALTOS EL COMANDANTE       COMANDANTE                                                                            SAN JUAN            PR         00924
   257234 KAREN AUSUA ROMAN                           REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257236 KAREN B AYALA                               REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257237 KAREN B RODRIGUEZ                           REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693990 KAREN BENGOA                                22 URB LOS FLAMBOYANES                                                                                          AGUADA              PR         00602
   257239 KAREN BETANCOURT DIAZ                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257240 KAREN BURGOS BURGOS                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   693992 KAREN BURGOS CRESPO                         P O BOX 5005 PMB 149                                                                                            SAN LORENZO         PR         00754‐5005
   693993 KAREN BURGOS FUENTES                        COND TERRAZAS DEL CIELO   EDF E APT 207                                                                         TOA ALTA            PR         00953
   693994 KAREN C PADILLA ORTIZ                       PO BOX 9021112                                                                                                  SAN JUAN            PR         00902‐1112



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  693996 KAREN C PEREZ MORALES                        CARIOCA                  EDIF 21‐126                                                                           GUAYAMA             PR         00784
  257241 KAREN C. COLON ARENA                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693997 KAREN CALO ORTIZ                             URB PARQUE ECUESTRE      F 6 CALLE 11                                                                          CAROLINA            PR         00985
  257242 KAREN CAMACHO BARBOSA                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693998 KAREN CAMACHO MARINA                         URB VISTA AZUL           Q 37 CALLE 19                                                                         ARECIBO             PR         00612
         KAREN CEDENO OJEDA /
  257243 JANETTE OJEDA                                REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  693999 KAREN COLON COLON                            PO BOX 1175                                                                                                    COTO LAUREL         PR         00780‐1360
  257245 KAREN COLON SOTO                             REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  257246 KAREN CRUZ SANCHEZ                           REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  257249 KAREN D CENTENO CASILLAS                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  257250 KAREN D CORDERO SANTOS                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  257251 KAREN D PABON MORALES                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  694001 KAREN D RIVERA LUGO                          HC 1 BOX 11444                                                                                                 TOA BAJA            PR         00949
  694002 KAREN D RIVERO ROMERO                        URB SAN JUAN             127 CALLE B                                                                           ARECIBO             PR         00612
  257252 KAREN D. RIVERA GONZALEZ                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  694003 KAREN DE JESUS MILLET                        185 CAMPO ALEGRE                                                                                               UTUADO              PR         00641

   694004 KAREN DEL MAR LOPEZ AMADOR PO BOX 307                                                                                                                      CAMUY               PR         00627
   694005 KAREN DELGADO TORRES       HC 01 BOX 5151                                                                                                                  SALINAS             PR         00751
   257253 KAREN DIAZ RIVERA          REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          KAREN DOVE FOR LAURENE
   694006 ROBBINS                    7505 JACKSON STREET NE                                                                                                          FRIDLEY             MN         55432‐3212
   257254 KAREN E CASIANO GARCIA     REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694007 KAREN E CHAPMAN THOMAS     VILLA CAROLINA                            118 24 CALLE 67                                                                       CAROLINA            PR         00985
   257255 KAREN E HERNANDEZ PAGAN    REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257256 KAREN E LARSON MICHELL     REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          KAREN E MCCLENAHAN
   694008 FONTANEZ                   URB VENUS GARDEN                          A 24 CALLE ENEA                                                                       SAN JUAN            PR         00926
   257257 KAREN E MEDINA OTERO       REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694009 KAREN E ORTIZ LOPEZ        URB VILLA UNIVERSITARIA                   C37 CALLE 8                                                                           HUMACAO             PR         00791
   694010 KAREN E ORTIZ RODRIGUEZ    HC 37 BOX 3535                                                                                                                  GUANICA             PR         00653
   257258 KAREN E RIOLLANO MORELL    REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257259 KAREN E RIVERA COUVERTIER  REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694011 KAREN E RIVERA NIEVES      URB SABANERA DEL RIO                      4 CAMINO DE LOS FRUTALES                                                              GURABO              PR         00778
   257260 KAREN E ROBLES CRUZ        REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257261 KAREN E SIERRA DIAZ        REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257262 KAREN E SOTO IRIZARRY      REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694012 KAREN E TORRES RIVERA      P O BOX 50873                                                                                                                   TOA BAJA            PR         00950‐0873
   257263 KAREN E VAN RIPER          REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257264 KAREN EFRE NIEVES          REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694013 KAREN ESQUILIN RODRIGUEZ   URB CAGUAX                                N 43 CALLE BOHIO                                                                      CAGUAS              PR         00725
   257266 KAREN FELICIANO NEGRON     REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694014 KAREN FERRER               PO BOX 8124                                                                                                                     BAYAMON             PR         00960
   257267 KAREN FIGUEROA ACEVEDO     REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   257268 KAREN FIGUEROA RODRIGUEZ                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694015 KAREN G ALVAREZ VEGA                        RR 36 BOX 1390 MSC 182                                                                                         SAN JUAN            PR         00926
   257269 KAREN G PONCE CORCHADO                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694016 KAREN G RENTA TORRES                        MARIANI                  7927 DR JOSE HENNA                                                                    PONCE               PR         00717‐0214
   694017 KAREN GARCIA                                VILLA MATILDE            C3 CALLE 1                                                                            TOA ALTA            PR         00953‐2312
   694018 KAREN GARCIA NOKOCHNA                       EXT ROOSEVELT            473 CALLE ARRIGOITIA                                                                  SAN JUAN            PR         00918
   257270 KAREN GARCIA PEREZ                          REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  694019 KAREN GARNIK MERCADO                         P O BOX 16102                                                                                                      SAN JUAN            PR         00908‐6102
  257271 KAREN GINES DOMINGUEZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   694020 KAREN GONZALEZ CAMACHO                      2000 COND LA COLINA        APT 206 CALLE SALVADOR TIO                                                              MAYAGUEZ            PR         00682
   257272 KAREN GONZALEZ ELLIS                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694021 KAREN GONZALEZ JENSEN                       PO BOX 190049                                                                                                      SAN JUAN            PR         00919‐0049
   694023 KAREN GONZALEZ ORTEGA                       RR 3 BOX 9253                                                                                                      TOA ALTA            PR         00953
   694024 KAREN GRACIANI SERRANO                      PO BOX 1581                                                                                                        GUAYAMA             PR         00785
   257273 KAREN GRANA MARTINEZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694026 KAREN H VELEZ RODRIGUEZ                     HC 2 BOX 7837                                                                                                      CAMUY               PR         00627
   694027 KAREN HERNANDEZ ORTIZ                       VISTAMAR                   K 612 CALLE GERONA                                                                      CAROLINA            PR         00983
   257274 KAREN HERNANDEZ PITRE                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   694028 KAREN HUTCHINS LANDRON                      URB MONTERREY ABUCOA 846                                                                                           MAYAGUEZ            PR         00680‐5196
   257275 KAREN I DIAZ BERNABE                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257276 KAREN I PINTO ORTIZ                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257277 KAREN I RAMOS CORTES                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694030 KAREN I SOTO ANDREWS                        P O BOX 3426                                                                                                       MAYAGUEZ            PR         00681
   257278 KAREN I. OSSA DIAZ                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257279 KAREN IVETTE OSSA DIAZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694031 KAREN J APONTE ACEVEDO                      BP CACAO                   CARR 157 KM 3 8                                                                         OROCOVIS            PR         00720
   257280 KAREN J CABAN NUNEZ                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          KAREN J CEDENO/ JANET OJEDA
   257281 FALCON                                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694033 KAREN J FIGUEROA AGOSTO                     URB DEL PILAR              72 CALLE EUSEBIO ITURRINO                                                               CANOVANAS           PR         00729
   694034 KAREN J GONZALEZ RIVERA                     ARTURAS DEL ALBA           101102 CALLE ARCOIRIS                                                                   VILLALBA            PR         00766‐2355
   257282 KAREN J OCASIO MORALES                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257284 KAREN J. ORTIZ ORTIZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694036 KAREN JIMENEZ                               HC 56 BOX 5053                                                                                                     AGUADA              PR         00602
   257285 KAREN JULIA SOTO                            REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          KAREN KIM HERNANDEZ
   694037 SANCHEZ                                     URB SAN ANTONIO            2436 CALLE DIAMELA                                                                      PONCE               PR         00728
   257286 KAREN L BURGOS FONSECA                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257287 KAREN L IRIZARRY TORRES                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   694038 KAREN L MELENDEZ RODRIGUEZ                  161 CALLE CANTERA                                                                                                  CAYEY               PR         00736
   257290 KAREN L MONTES RABRY                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257291 KAREN L NEGRON VEGA                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694041 KAREN L PRINCIPE RAMIREZ                    COND PAVILLON COURT        161 CESAR GONZALEZ                                                                      SAN JUAN            PR         00918
   694042 KAREN L RAMIREZ SIERRA                      PO BOX 4575                                                                                                        CAROLINA            PR         00984‐4575
   694044 KAREN L SPOHN DAVILA                        URB LAS LOMAS              809 CALLE 27 SO                                                                         SAN JUAN            PR         00921

   257292 KAREN L ZAMBRANA SORRENTINI REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694045 KAREN L. MEYER & ASSOC.     954 W MONTANA ST                                                                                                                   CHICAGO             IL         60614
   257293 KAREN LEE SOTO RODRIGUEZ    REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257294 KAREN LOPEZ COLON           REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257295 KAREN LUCIANO RODRIGUEZ     REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694047 KAREN M AYALA TORRES        PO BOX 9020903                                                                                                                     SAN JUAN            PR         00902‐0903
   694048 KAREN M BERRIOS COLON       PO BOX 50075                                                                                                                       LEVITTOWN           PR         00950
   257296 KAREN M COLON SANTANA       REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694049 KAREN M FELICES VARGAS      4TA EXT URB LEVITTOWN                      P 16 CALLE LUZ                                                                          TOA BAJA            PR         00949
   694050 KAREN M FELICIANO           P O BOX 21365                                                                                                                      SAN JUAN            PR         00918
   694051 KAREN M GONZALEZ PADRO      URB SAN GERALDO                            1656 CALLE AUGUSTA                                                                      SAN JUAN            PR         00926



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  257297 KAREN M HADDOCK ROMAN                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  694052 KAREN M LOPEZ MORALES                        URB BAIROA             BV 1 CALLE 3                                                                      CAGUAS            PR         00725
  694053 KAREN M NEGRON TORRES                        URN SANTA TERESITA     CM 2 CALLE G                                                                      PONCE             PR         00731
  694054 KAREN M ORTIZ SANCHEZ                        URB VILLA MADRID       T 3 CALLE 19                                                                      COAMO             PR         00769
  257298 KAREN M QUINONES UFRET                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  257299 KAREN M RIVERA DELGADO                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  694055 KAREN M RODRIGUEZ REYES                      URB LAS FLORES         H 60 CALLE 2                                                                      JUANA DIAZ        PR         00795

   694056 KAREN M VAZQUEZ CHEVEREZ                    HC 5 BOX 7157                                                                                            GUAYNABO          PR         00971
   257300 KAREN M VELEZ MERCADO                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   257301 KAREN M. SIERRA CASTELLANOS                 REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257303 KAREN M.MEDINA RAMIREZ                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257304 KAREN MALAPERO                              REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          KAREN MALDONADO
   257305 MALDONADO                                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694058 KAREN MARTI                                 QUINTA BALDWIN         50 AVE A APT 706                                                                  BAYAMON           PR         00959
   694059 KAREN MARTINEZ                              ALTS DE RIO GRANDE     368 CALLE 8                                                                       RIO GRANDE        PR         00745
   257308 KAREN MATOS SOSTRE                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257309 KAREN MATTEI BENGOCHEA                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257310 KAREN MAYA LOPEZ                            REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257311 KAREN MELENDEZ DE JESUS                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694061 KAREN MENA CABRERA                          PO BOX 140826                                                                                            ARECIBO           PR         00614
   257313 KAREN MENDEZ MERCADO                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694062 KAREN MIRANDA RIVERA                        EXT STA ANA            D 4 CALLE OPALO                                                                   VEGA ALTA         PR         00692
   257315 KAREN MUNOZ VARGAS                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257316 KAREN NATER PINEIRO                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694063 KAREN OCASIO CABRERA                        PO BOX 364428                                                                                            SAN JUAN          PR         00936‐4428
   257319 Karen Ortiz Melendez                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257321 KAREN ORTIZ ROSA                            REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257322 KAREN ORTIZ TOLEDO                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257323 KAREN OTERO FALCON                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257324 KAREN PABON CRUZ                            REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694064 KAREN PAGAN PAGAN                           URB EL PILAR           D14 CALLE SAN TOMAS                                                               SAN JUAN          PR         00926
   694065 KAREN PAGAN RODRIGUEZ                       P O BOX 2887                                                                                             CEIBA             PR         00777
   257327 KAREN PEREZ SANTIAGO                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257328 KAREN PIERANTONI QUIROS                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257329 KAREN QUILES GONZALEZ                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257331 KAREN QUINONES ORTIZ                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694066 KAREN RAMIREZ SANTAPAU                      HC 01 BOX 8471                                                                                           CABO ROJO         PR         00623‐9711
   257332 KAREN RAMOS SERRANO                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694067 KAREN RENTAS QUESTELL                       PMB 278‐2135           CARR 2 SUITE 15                                                                   BAYAMON           PR         00959
   257334 KAREN RIOS RAMOS                            REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257335 KAREN RIOS RODRIGUEZ                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694068 KAREN RIVERA BAJANDAS                       PO BOX 8904                                                                                              HUMACAO           PR         00792
   694069 KAREN RIVERA LEBRON                         HILL MANSIONS          BE 9 CALLE 65                                                                     SAN JUAN          PR         00926
   694070 KAREN RIVERA PIZARRO                        ALTURAS MONTE BRISAS   4H8 CALLE 9                                                                       FAJARDO           PR         00738
   257336 KAREN RIVERA ROMAN                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257337 KAREN ROBLES MUNOZ                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257338 KAREN RODRIGUEZ                             REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694071 KAREN RODRIGUEZ CURBELO                     P O BOX 257                                                                                              SABANA HOYO       PR         00688
          KAREN RODRIGUEZ
   257339 MALDONADO                                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  257340 KAREN RODRIGUEZ ROSARIO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  694072 KAREN RODRIGUEZ VERA                         URB PERLA DEL SUR           4209 CALLE AGUSTIN DAVIU                                                               PONCE              PR         00717‐0322
  694073 KAREN ROMAN CAMACHO                          A 6 URB JESUS MARIA LAGO                                                                                           UTUADO             PR         00641
  257341 KAREN ROMAN GUERRIOS                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  257344 KAREN S. FIGUEROA REYES                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  694074 KAREN SALA MULERO                            HC 3 BOX 14769                                                                                                     AGUAS BUENA        PR         00703
  257345 KAREN SANCHEZ CINTRON                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  694075 KAREN SANCHEZ JIMENEZ                        BO SAN ISIDRO               CALLE 2 PARC 138 A                                                                     CANOVANAS          PR         00729
  694076 KAREN SANCHEZ RODRIGUEZ                      HC 91 BOX 9482                                                                                                     VEGA ALTA          PR         00692

   257346 KAREN SANDOVAL CARDENALES REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   693985 KAREN SANTANA RIVERA      URB MONTE TRUJILLO 1903                       PARQ TERRALINDA APT R 3                                                                TRUJILLO ALTO      PR         00976

   694078 KAREN SANTIAGO HERNANDEZ                    HC 04 BOX 18175                                                                                                    CAMUY              PR         00627
   257347 KAREN SANTIAGO VELAZQUEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   257349 KAREN SERRANO CRUZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   694079 KAREN SOTO AVILES                           COND GOLDEN TOWER APT 810                                                                                          CAROLINA           PR         00982
                                                      MANATI MEDICAL PLAZA OFIC
   694082 KAREN SOTO MEDINA                           206                                                                                                                MANATI             PR         00674
   694083 KAREN T QUINTANA RUIZ                       BOX 212                                                                                                            LARES              PR         00631
   257350 KAREN T TAVERAS RAMIREZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   257351 KAREN TERRAZA VILLAFANE                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   694084 KAREN THOMAS CONNEL                         VILLA CAROLINA              18 24 CALLE 67                                                                         CAROLINA           PR         00985
   257352 KAREN TORRADO CRUZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   257353 KAREN TORRES FIGUEROA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   257354 KAREN TORRES MALDONADO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   694085 KAREN TORRES MARTINEZ                       167 C CALLE NOGAL                                                                                                  SABANA GRANDE      PR         00637
   257355 KAREN TORRES PARRA                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   257357 KAREN TORRES RIVERA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   257358 KAREN TORRES RODRIGUEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   257359 KAREN V DIAZ COLON                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   694086 KAREN VAZQUEZ                               HC 03 BOX 37488                                                                                                    CAGUAS             PR         00725
   694087 KAREN VAZQUEZ REY                           LUQUILLO MAR                CC 103 CALLE D                                                                         LUQUILLO           PR         00773
   694088 KAREN VEGA MIELES                           PO BOX 584                                                                                                         ARECIBO            PR         00613
   694089 KAREN VEGA RIVERA                           31 VALLE BORINQUEN                                                                                                 GURABO             PR         00778
   694090 KAREN VELEZ ALCAIDE                         COND. REEF TOWER 3939       AVE ISLA VERDE APT 19 D                                                                CAROLINA           PR         00979
                                                                                  313 CALLE CAMINO DE LA
   694091 KAREN VELEZ COLON           URB CAMINO DEL SOL                          COLINA                                                                                 VEGA BAJA          PR         00693
   694093 KAREN VILLALON RENOVALES    PO BOX 8297                                                                                                                        SAN JUAN           PR         00910
   257362 KAREN VON NESSI VEGA        REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          KAREN WATTS DBA SHOOT LATIN
   257363 AMERICA                     8 VISTA LAGO                                                                                                                       RSM                CA         92688

   694094 KAREN Y CRUZ TORRES                         VILLA PRADES                839 CALLE CARMEN SANABRIA                                                              SAN JUAN           PR         00924
   257364 KAREN Y FLORES CRUZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   257366 KAREN Y GARCIA ORTIZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   694096 KAREN Y RIVERA VEGA                         HC 1 BOX 4366                                                                                                      YABUCOA            PR         00767

   694097 KAREN Y SOBERAL RIVERA                      BO MAGUAYO PARC EL COTTO    26 CALLE 8                                                                             DORADO             PR         00646
          KAREN YARELIZ MALDONADO
   257368 SIERRA                                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED




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          KAREN Z DE LOS SANTOS
   694098 MALDONADO                   URB SABANA REAL                             BZN 130                                                                           SAN LORENZO         PR         00754
   257369 KARENIE MUNIZ CRUZ          REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   257370 KARENIN J SANTIAGO PENA     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   257371 KARENIN VARGAS              REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   257374 KARENLINZ COSME RIVERA      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   257377 KARI LUZ RIVERA NUNEZ       REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          KARIAM BOU COLON / CARLOS M
   257380 BOU RODRIGUE                REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   257382 KARIANA Y CAMACHO OJEDA     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   694099 KARIBBEAN SIGNS             LEVITTOWN                                   3023 CALAMAR                                                                      TOA BAJA            PR         00949
   257383 KARIDES MD, DEMETRIOS       REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   257384 KARIELA RIVERA BUSTELO      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   257385 KARIL GONZALEZ              REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   257386 KARILMA MELENDEZ GARCIA     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   257388 KARILYN HERRERA GONZALEZ    REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   694101 KARILYN LOPEZ NEGRON        VILLA CAROLINA                              173‐8 CALLE 439                                                                   CAROLINA            PR         00985
   257389 KARILYN MELENDEZ GARCIA     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   257391 KARILYN RAMOS DELGADO       REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   257393 KARILYN VELEZ RODRIGUEZ     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   694103 KARILYNS ASENCIO DE JESUS   5TAS DE SAN LUIS 2 SECC                     A8 CAMPECHE                                                                       CAGUAS              PR         00725
   257394 KARILYS COLON SANTA         REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   257395 KARIM BENITEZ               REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   257396 KARIM BERMUDEZ LUGO         REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   257397 KARIM BERRIOS RAMIREZ       REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   694104 KARIM CARABALLO GUZMAN      JARD DEL MONTE BLANCO                       1 CALLE CE                                                                        YAUCO               PR         00689
   257398 KARIM E. BERMUDEZ LUGO      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   694105 KARIM GARCIA RODRIGUEZ      URB COLINAS DE FAIR VIEW                    4 G CALLE 215                                                                     TRUJILLO ALTO       PR         00976
   257399 KARIM J.TORRES SANCHEZ      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   257400 KARIM PEREZ TORRES          REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   694106 KARIM SALEH VEGA            URB NIZACION COSTA SUR                      CALLE GG 18                                                                       YAUCO               PR         00698

   694107 KARIM SAN INOCENCIO TORRES                  COND LAGUNA GARDENS 4       APT 9 I                                                                           CAROLINA            PR         00979
   694108 KARIM SANTIAGO DIAZ                         HC 3 BOX 1122                                                                                                 JUNCOS              PR         00777
   694109 KARIMAR COLON DE LA ROSA                    RR 36 BOX 8355                                                                                                SAN JUAN            PR         00926
   257402 KARIMAR VARGAS TORRES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   694110 KARIMAR ZAYAS PEREZ                         URB EL MADRIGAL             I 21 MARGINAL NORTE                                                               PONCE               PR         00730
   694112 KARIMYL ORTIZ SANTIAGO                      URB SAN ANTONIO             166 CALLE N                                                                       ARROYO              PR         00714
   257404 KARIN ALICEA REYES                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   257405 KARIN C NIN MATOS                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   257406 KARIN FRANQUI MARTINEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   694113 KARIN I LOPEZ BONILLA                       URB VALLE VERDE             D 32 CALLE 3                                                                      SAN GERMAN          PR         00683
                                                      URB ALTOMONTE 2N‐49 CALLE
   694114 KARIN K SANTOS SAURI                        30                                                                                                            CAGUAS              PR         00725
   257407 KARIN M ASTACIO CUEVAS                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   694116 KARIN M GOMEZ COLON                         LEVITT VILLE                5B 23 CALLE MINERVA                                                               TOA BAJA            PR         00949
   257408 KARIN M RODRIGUEZ MATTA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   257409 KARIN PEREZ                                 REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   694117 KARIN RENTAS COLON                          URB PUNTO ORO               CALLE 23 U 24                                                                     PONCE               PR         00731
   257410 KARIN RODRIGUEZ RIVERA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   694118 KARIN SCHMIDT DE RICHNER                    2123 INVERNESS CT                                                                                             OVIEDO              FL         32765‐5841
   257411 KARIN SKAU                                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED




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          KARIN TORRES / RAMYLIS BEADS
   257412 STORE                                       291 BO VALLAS TORRES     PASEO DEL SUR PLAZA                                                               PONCE                PR           00715
   257413 KARIN TORRES PARRA                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   257414 KARINA A. MALDONADO                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   694120 KARINA ACHECAR MARTINEZ                     URB EL CORTIJO           AC 1 ESQ 22 CALLE 21                                                              BAYAMON              PR           00956
   694121 KARINA ALMONTE RIOS                         200 CALLE JOAQUINA                                                                                         CAROLINA             PR           00979
   257415 KARINA ANDUJAR IRIZARRY                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   694122 KARINA BALLESTER MARTINEZ                   168 CALLE ROMAGUERAS                                                                                       MAYAGUEZ             PR           00680
   694123 KARINA CASIANO FERRER                       P O BOX 10072                                                                                              SAN JUAN             PR           00922

   257419 KARINA CLEMENTE CARUNCHO                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   694124 KARINA DEL S HERNANDEZ VERA                 BOX 6510 CARR 2 KM 100                                                                                     QUEBRADILLA          PR           00678
   257420 KARINA DIAZ CARABALLO                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   257421 KARINA ESCUDERO CHU                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   257422 KARINA FERRER PIZARRO                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   694125 KARINA FIGUEROA MALDONADO URB STAR LIGHT                             4536 CALLE DENEB                                                                  PONCE                PR           00716

   694126 KARINA FIGUEROA SEPULVEDA                   609 AVE TITO CASTRO      PMB 162 SUITE 102                                                                 PONCE                PR           00716
   257423 KARINA FONT VAZQUEZ                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   694127 KARINA GONZALEZ MONTIJO                     HC 2 BOX 6335                                                                                              UTUADO               PR           00641
   257424 KARINA GONZALEZ ROSARIO                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   257425 KARINA I CINTRON ALVARADO                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   257426 KARINA I COLON LOPEZ                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   257427 KARINA I RAMOS SOTO                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   257428 KARINA IBARRONDO GOYCO                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   694128 KARINA JIMENEZ DE RODRIGUEZ                 P O BOX 1536                                                                                               YAUCO                PR           00698
   257429 KARINA JIMENEZ RIVERA                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   694129 KARINA JUSTINIANO PEREZ                     SANTA OLAYA              RR 4 BOX 809                                                                      BAYAMON              PR           00956
   257431 KARINA K. REYES MOURE                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   257432 KARINA L MEVS KORFF                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   257433 KARINA LASALDE TARRATS                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   257434 KARINA M AROCHO GONZALEZ                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          KARINA M GARCIA / MARIA J
   694130 REYES                                       URB MONTECARLO           71 CALLE D                                                                        VEGA BAJA            PR           00693
   771134 KARINA M GARCIA SANTIAGO                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   257435 KARINA M GUZMAN RIVERA                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   257436 KARINA M LOPEZ MERCADO                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   257437 KARINA M ROSARIO MENDEZ                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   694133 KARINA M VELAZCO RODRIGEZ                   PASEO LAS VISTAS         C 75 CALLE 3                                                                      SAN JUAN             PR           00926
   257438 KARINA M. GARCIA SANTIAGO                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   694134 KARINA MARQUEZ                              LA CENTRAL               1359 CALLE GUAMANI                                                                CANOVANAS            PR           00727
   257439 KARINA MERCADO MEJIAS                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   257441 KARINA MONTANEZ AGOSTO                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   257442 KARINA MURATI                               REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   257445 KARINA NEGRON SANCHEZ                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   257446 KARINA NELSON DOMINGUEZ                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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          KARINA NICOLE GARCIA
   257447 MARTINEZ                                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257448 KARINA OJEDA ERAZO                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257450 KARINA PAGAN RODRIGUEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257451 KARINA PEREZ MATOS                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257453 KARINA QUILES BARNECET                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257454 KARINA QUINONES LEBRON                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257455 KARINA QUINONEZ VARGAS                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694135 KARINA RAMOS CORREA                         PO BOX 2382                                                                                                     ARECIBO             PR           00613
   694136 KARINA RASHID GARGIA                        ESTANCIAS DEL RIO             3 CALLE TANAMA                                                                    AGUAS BUENAS        PR           00703
   257456 KARINA RODRIGUEZ ORTIZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   257459 KARINA RODRIGUEZ RODRIGUEZ                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257460 KARINA RODRIGUEZ ROSARIO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694138 KARINA TORRES VILLOCH                       PO BOX 24089                                                                                                    PONCE               PR           00731‐9606
   694139 KARINA VALIENTE PEREZ                       COND BAYAMON GARDEN           EDIF 6 APT 615                                                                    BAYAMON             PR           00956

   257463 KARINA VELAZQUEZ DE LA ROSA                 REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257464 KARINA VILA RIVERA                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694119 KARINA Y VAZQUEZ DIAZ                       HC 01 3783                                                                                                      VILLALBA            PR           00766
   257465 KARINA, CARMONA                             REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257466 KARINAS BAKERY                              PO BOX 1805                                                                                                     TOA BAJA            PR           00952
   257467 KARINE MARIE HEIN                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KARINELL M MONTALVO
   257468 NAZARIO                                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257469 KARINES RIVERA MARRERO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257470 KARINLYN CABEZAS VALENTIN                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694142 KARIOWAXXA MELENDEZ                         URB BONNEVILLE HEIGHTS        12 CALLE LUQUILLO                                                                 CAGUAS              PR           00725
   257471 KARISBEL DIAZ MOJICA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257472 KARISHNA KHELANI                            REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257473 KARISMA J MUNIZ ROSADO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257474 KARISMARIE TORRES AGOSTO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257475 KARISOL CHEVERE RIVERA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257476 KARISSA L MENDEZ CACERES                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694145 KARITZA FIGUEROA ORTIZ                      PO BOX 148                                                                                                      COMERIO             PR           00782

   257477 KARITZMA HERNANDEZ VARGAS REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KARKAXARY ROSADO
   257478 RODRIGUEZ                 REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694146 KARL AMALIA & SONS INC                      PO BOX10354 CAPARRA STATION                                                                                     SAN JUAN            PR           00922
          KARL ANTHONY VAZQUEZ
   257480 SANCHEZ                                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694147 KARL E KATZAMAN COLON                       PO BOX 190564                                                                                                   SAN JUAN            PR           00919 0564
   257481 KARL JOACHIM PORTH                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694148 KARL K ORTIZ RIVERA                         JARDINES LOS ALMENDROS        G9                                                                                MAUNABO             PR           00707
   257482 KARL M SANTIAGO SEDA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257483 KARL PEREZ MONTALVO                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257484 KARL R. SORIANO TORRES                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      815 NW 57 TH AVENUE SUITE
   694149 KARL STORZ                                  480                                                                                                             MIAMI               FL           33126‐2042
   257485 KARLA A CINTRON RIVERA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694152 KARLA A COTT DORTA                          PO BOX 9021112                                                                                                  SAN JUAN            PR           00902‐1112



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  257486 KARLA A NARVAEZ MORALES                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  257487 KARLA A REYES CRUZ                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  694153 KARLA A ROSA MARRERO                         PO BOX 1016                                                                                                      BARRANQUITAS       PR         00794
  257488 KARLA A TORRES JIMENEZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  257489 KARLA A. AGOSTO CARDONA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  257490 KARLA ACOSTA MORALES                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  694150 KARLA AGUIRRE PILLOT                         HC 01 BOX 5502                                                                                                   ARROYO             PR         00714
  694154 KARLA ANGLERO GONZALEZ                       290 TORRIMAR TOWN PARK     42 AVE SANTA ANA                                                                      GUAYNABO           PR         00969
  694155 KARLA APONTE PEREZ                           49 CALLE NUEVA                                                                                                   CIALES             PR         00638
  257491 KARLA APONTE TORRES                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  694157 KARLA B BERNARDI NARVAEZ                     URB EL CONQUISTADOR        Q 3 CALLE 14                                                                          TRUJILLO ALTO      PR         00976‐6430
  694158 KARLA B DE JESUS FUENTES                     CIUDAD UNIVERSITARIA       DE B CALLE D 3 ESTE                                                                   TRUJILLO ALTO      PR         00976
  694159 KARLA BERRIOS MILLIN                         RES SAGRADO CORAZON A 29                                                                                         ARROYO             PR         00714
  257492 KARLA BONILLA ORDONEZ                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  694160 KARLA C RIVERA FRESE                         BO TRASTALLERES            942 CALLEJON NUEVA PALMA                                                              SAN JUAN           PR         00907
  694161 KARLA CABRERA LOZADA                         URB VILLA LOS PESCADORES   63 CALLE MERLUZA                                                                      VEGA BAJA          PR         00693
  257493 KARLA CADILLA BAEZ                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  257494 KARLA CALZADA OLIVERA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  257495 KARLA CARAZO REYES                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  257496 KARLA CINTRON MARTINEZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  257497 KARLA COLON                                  REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  257498 KARLA CONCEPCION BATISTA                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  257499 KARLA CORDERO ESCRIBANO                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  257500 KARLA CORREA NEGRON                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  694162 KARLA CORTES ESCOBAR                         COND LAS CARMELITAS 364    CALLE SAN JORGE APT 9H                                                                SAN JUAN           PR         00912
  257501 KARLA COSTAS RIVERA                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   694163 KARLA CRISTINA ORTEGA RIVERA PO BOX 977                                                                                                                      GURABO             PR         00778
   257502 KARLA CRUZ CRESPO            REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   694164 KARLA D CRUZ DE JESUS        P O BOX 1061                                                                                                                    GUAYAMA            PR         00785
   257503 KARLA D MUNOZ RIVERA         REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   694165 KARLA D SANTIAGO GONZALEZ                   BO LA PONDEROSA            626 CALLE LIRIO                                                                       RIO GRANDE         PR         00745

   257505 KARLA D SANTIAGO RODRIGUEZ                  REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   257506 KARLA DE JESUS ECHEVARRIA                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   257507 KARLA DE JESUS SANTANA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          KARLA DE LA TORRE UGARTE
   257508 OTINIANO                                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   694166 KARLA DE LEON CRUZ                          URB OPER LAND              454 CALLE OLOT                                                                        SAN JUAN           PR         00923
   257509 KARLA DEL VALLE RIVERA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   257510 KARLA DIAZ GARRATON                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   257511 KARLA DIAZ RAMOS                            REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   694167 KARLA E CHEBAILE                            PARC MATTEI DOMINGUITO     42 CALLE A                                                                            ARECIBO            PR         00612
   257512 KARLA E DOMENA MENDEZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   694168 KARLA E GONZALEZ MATOS                      URB BRISAS DEL MAR         HH 38 CALLE 3                                                                         LUQUILLO           PR         00773
   257513 KARLA E. MALDONADO CRUZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   694170 KARLA F AGUILU BONILLA                      URB LAS MUESAS             18 FCO COLON JULIA                                                                    CAYEY              PR         00736
   257514 KARLA F. VELEZ RIVERA                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   257515 KARLA FONTANEZ BERRIOS                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   257516 KARLA FURNITURE MFG. , INC.                 P. O. BOX 2524                                                                                                   TOA BAJA           PR         00951‐2524
   257517 KARLA FURNITURE MFG., INC.                  PO BOX 29505                                                                                                     SAN JUAN           PR         00929‐0505
   257518 KARLA G ALACAN RIOS                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  257520 KARLA G VENEGAS BIGAS                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  694171 KARLA GIOBANA CABAN                           BARRIO OBRERO             622 CALLE RIO DE JANEIRO                                                              SAN JUAN            PR         00915
  257521 KARLA GONZALEZ BELTRAN                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  694172 KARLA GONZALEZ CONDE                          VILLA FONTANA PARK        5L 11 PARQUE CONDADO                                                                  CAROLINA            PR         00983
  257523 KARLA I CASALDUC CINTRON                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  257524 KARLA I VAZQUEZ DEL VALLE                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  257525 KARLA I. BERRIOS GARCIA                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  257526 KARLA J LOPEZ DIAZ                            REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  257527 KARLA J MATIAS CORREA                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  694173 KARLA J RAMOS MENDEZ                          URB COLINAS DEL GIGANTE   A 9 CALLE LIRIO                                                                       ADJUNTAS            PR         00601
  694174 KARLA J RIVERA SANCHEZ                        PO BOX 9021112                                                                                                  SAN JUAN            PR         00902‐1112
  257528 KARLA J ROLON SUAREZ                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   694175 KARLA J ROMERO RODRIGUEZ                     URB LAS ALONDRAS          F 42 CALLE 5                                                                          VILLALBA            PR         00766
   257529 KARLA J SIERRA FERRER                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   257531 KARLA L KRAUSE LOPEZ                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   257532 KARLA L MARTINEZ GONZALEZ                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   257533 KARLA L VARGAS SOLIS                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   257534 KARLA L VELEZ RIVERA                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   257535 KARLA LEAVITT CARABALLO                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   257537 KARLA LIZBETH LOPEZ VEGA                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694151 KARLA LOPEZ NEGRON                           URB SANTA JUANITA         538 CALLE CIPRES                                                                      BAYAMON             PR         00956
   257538 KARLA M ANDRILLON TOSTE                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   257539 KARLA M BERNARD RODRIGUEZ                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   694177 KARLA M BOGGIANO VELDECIA / URB ROSALEDA II                            CALLE ACADIA                                                                          TOA BAJA            PR         00949

   257540 KARLA M CANDELARIO CARDONA REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694178 KARLA M CASIANO ACOSTA     2 DA EXT SANTA ELENA                        CALLE 2 B 38                                                                          GUAYANILLA          PR         00656
   257542 KARLA M CLAUDIO BERRIOS    REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694179 KARLA M COLLAZO ORTIZ      TORRE DE LAS CUMBRES                        APT 1005                                                                              SAN JUAN            PR         00926
   257543 KARLA M COLON DIAZ         REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694180 KARLA M COLON SANTOS       HC 02 BOX 14451                                                                                                                   AGUAS BUENAS        PR         00703
   694181 KARLA M COTTO DELGADO      BO TOMAS CASTROLL                           CARR 183 KM 5                                                                         CAGUAS              PR         00725

   257545 KARLA M DEL TORO HERNANDEZ REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   257546 KARLA M DIAZ BURGOS        REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694182 KARLA M ESQUILIN ROSARIO   PO BOX 487                                                                                                                        HUMACAO             PR         00792
   257547 KARLA M FLORES PEREZ       REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   257548 KARLA M GONZALEZ COLON     REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   257549 KARLA M GONZALEZ DIAZ      REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   257550 KARLA M GONZALEZ RODRIGUEZ REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   257551 KARLA M GUADALUPE ROSARIO                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   257552 KARLA M LEBRON RIVERA                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   257553 KARLA M LOPEZ SANTIAGO                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   257554 KARLA M MARTINEZ AVILES                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   257555 KARLA M MARTINEZ FUENTES                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694184 KARLA M MILLAN PASTRANA                      LA PONDEROSA              378 CALLE GARDENIA                                                                    RIO GRANDE          PR         00745




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   257556 KARLA M MORALES CAMACHO                     REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   257557 KARLA M MORALES SANTIAGO                    REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257558 KARLA M MORALES TROCHE                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257559 KARLA M NARVAEZ PEREZ                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257560 KARLA M NEGRON PANTOJA                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

          KARLA M ORTEGA
   694185 RODRIGUEZ/MARIA RODRIGUEZ                   SANTA MARIA              14 CALLE SANTA LUCIA                                                                      TOA BAJA            PR           00949
   257561 KARLA M ORTIZ                               REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694186 KARLA M ORTIZ CRUZ                          HC 01 BOX 7445                                                                                                     LAS PIEDRAS         PR           00771
   257562 KARLA M ORTIZ ROSARIO                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257563 KARLA M OTERO NEGRON                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257564 KARLA M PACHECO SERRANO                     REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257566 KARLA M PADILLA NIVAL                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257567 KARLA M PAGAN GONZALEZ                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257568 KARLA M RAMOS RIVERA                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694187 KARLA M RIVERA LOPEZ                        HC 44 BOX 12987                                                                                                    CAYEY               PR           00736
   257570 KARLA M RIVERA MORALES                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694188 KARLA M RIVERA ROCHE                        ESTANCIAS DE LA FUENTE   125 CALLE GARDENIA                                                                        TOA ALTA            PR           00953
   257571 KARLA M RIVERA SUAREZ                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694189 KARLA M RODRIGUEZ CAMPOS                    EDIF FAUSTA GENOVEVA     APT 1 A AVE FERNANDEZ JUNCOS                                                              SAN JUAN            PR           00907

   257572 KARLA M RODRIGUEZ GUZMAN                    REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694190 KARLA M RODRIGUEZ ROSARIO                   URB MONTE BRISAS I       E 41 CALLE N SUR                                                                          FAJARDO             PR           00738
          KARLA M RODRIGUEZ
   257573 TORREGROSA                                  REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694191 KARLA M ROSADO OCASIO                       PO BOX 1470                                                                                                        TOA BAJA            PR           00951
   257574 KARLA M SANCHEZ FALU                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694192 KARLA M SIERRA VELEZ                        P O BOX 5163                                                                                                       CAGUAS              PR           00726
   257576 KARLA M TEXEIRA DIAZ                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257577 KARLA M TIRADO GONZALEZ                     REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257578 KARLA M TORRES GONZALEZ                     REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257579 KARLA M TORRES VEGA                         REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694193 KARLA M VAZQUEZ ROQUE                       60 ALT DE MONTELLANO                                                                                               CAYEY               PR           00736
   257581 KARLA M VEGA                                REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257582 KARLA M. FIGUEROA CORREA                    REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257583 KARLA M. GONZALEZ CRUZ                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257584 KARLA M. PEREZ RIVERA                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257585 KARLA M. SANCHEZ FALLU                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257586 KARLA MACIAS GARCIA                         REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   257588 KARLA MARIE CARRION OLMEDA REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KARLA MARIE ROBLES
   257590 RODRIGUEZ                  REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257591 KARLA MELENDEZ CASTRO      REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257592 KARLA MERCED FRAGUADA      REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KARLA MICHELLE CANDELARIA
   257593 ROMAN                      REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          KARLA MICHELLE CASTILLO
   694195 MORALES                                     VISTA AZUL             K 21 CALLE 11                                                                         ARECIBO             PR           00612

   694194 KARLA MICHELLE FLORES RIVERA PO BOX 2264                                                                                                                 BAYAMON             PR           00960

   257596 KARLA MICHELLE TORRES RIVERA REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694196 KARLA MICHELLE ZAVALA SOTO                  URB LAS LOMAS          846 C/ 47 BLQ SO                                                                      SAN JUAN            PR           00921
   694197 KARLA MILLAN RIVERA                         PO BOX 2555                                                                                                  GUAYAMA             PR           00785
   257597 KARLA MORALES ORTIZ                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KARLA N SEDA BERRIOS/ZORY
   257598 ANN BERRIOS                                 REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257599 KARLA NIEVES SANTOS                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694198 KARLA O MARQUEZ CALIXTO                     BOX 83                                                                                                       PATILLAS            PR           00723
   257600 KARLA ORTIZ ALVARADO                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694199 KARLA ORTIZ SIERRA                          P O BOX 795                                                                                                  AGUAS BUENAS        PR           00703
   257601 KARLA P FIGUEROA MERCED                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257602 KARLA P ROMAN TORRES                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257603 KARLA PADILLA HERNANDEZ                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694200 KARLA PAGAN RODRIGUEZ                       EL PATIO               D 40 CALLE JAGUEY                                                                     TOA BAJA            PR           00949
   694201 KARLA PARDO RIVERA                          URB STA ELENA          DD 4 CALLE 3A                                                                         BAYAMON             PR           00957
   257604 KARLA PLAZA MADERA                          REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   257606 KARLA REBECA VALENTIN RIVERA REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694203 KARLA RETEGUIS SANCHEZ       P O BOX 417                                                                                                                 BOQUERON            PR           00622
   257607 KARLA RIVERA CASALDUC        REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694205 KARLA RIVERA LOPEZ           BARRIADA ISRAEL                       131 CALLE PALESTINA                                                                   SAN JUAN            PR           00917
   257608 KARLA RIVERA MARTINEZ        REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257609 KARLA RIVERA RAMIREZ         REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257610 KARLA RIVERA SANTIAGO        REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694206 KARLA RODRIGUEZ              SANTA JUANITA                         11‐16 CALLE 29                                                                        BAYAMON             PR           00956
   694207 KARLA ROLON CUEVAS           HC 71 BOX 2134                                                                                                              NARANJITO           PR           00719
   257611 KARLA S MELLADO DELGADO      REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KARLA SANCHEZ / CARLOS
   257612 SANCHEZ                      REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257613 KARLA SANCHEZ NIEVES         REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                             62 CALLE BERNARDO GARCIA
   694208 KARLA SANTIAGO MENDEZ                       PORTALES DE CAROLINA   APT 220                                                                               CAROLINA            PR           00985
          KARLA SEDA A/C ZORY ANN
   257614 BERRIOS                                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KARLA SILVESTRINI
   257615 CARRASQUILLO                                REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257616 KARLA SOLANO MALDONADO                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257617 KARLA TABOAS FRANCO                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694209 KARLA TORRES ROSADO                         P O BOX 1751                                                                                                 MOROVIS             PR           00687
   257619 KARLA V PESQUERA ACOSTA                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694210 KARLA V POLO PADILLA                        URB VILLA NUEVA        D 14 CALLE 15                                                                         CAGUAS              PR           00725
   257620 KARLA V RIVERA ROLON                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257621 KARLA VANESSA RUIZ AYALA                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257622 KARLA VAZQUEZ MELENDEZ                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257623 KARLA VERDEJO ALVAREZ                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257624 KARLA VIERA NEGRON                          REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694211 KARLA W VELEZ OLIVENCIA                     PO BOX 194452                                                                                                SAN JUAN            PR           00919‐4452



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  257625 KARLA X MORALES FIGUEROA                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  257626 KARLA Y BONILLA FELICIANO                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  694212 KARLA Y HERNANDEZ PEREZ                      HC 3 BOX 10742                                                                                                 YABUCOA             PR         00767
  257627 KARLA Y PADIN DE JESUS                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  257628 KARLA Y VEGA RIVERA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         KARLA YAZMIN BURGOS
  694213 VAZQUEZ                                      BDA BLONDET                 275 CALLE C                                                                        GUAYAMA             PR         00784
  694214 KARLA ZULEY BIGIO LOPEZ                      HC 3 BOX 8602               BO ESPINOSA                                                                        DORADO              PR         00646
         KARLAMARE PADILLA
  257629 MALDONADO                                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  257630 KARLAMARIE MERCED                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  257631 KARLAMARIE TORRES PEREZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   257632 KARLAMARY RIVERA SANTANA                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257633 KARLAN GROUP CORP                           LEVITTOWN STATION           PO BOX 51410                                                                       TOA BAJA            PR         00950
   257634 KARLEEN WAGNER VEGA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257635 KARLI ROSADO BERRIOS                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694215 KARLIA D RUIZ MATOS                         A 28 REPTO FELICIANA                                                                                           MAYAGUEZ            PR         00680
   694216 KARLIE RODRIGUEZ ROMERO                     MONTE PARK                  EDIF A APT 4                                                                       SAN JUAN            PR         00924
   694217 KARLINE GUMS PARRILLA                       URB LOS ANGELES             W 12 CALLE LAS FLORES                                                              CAROLINA            PR         00979
   257637 KARLIS ROBLES RIVERA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   257638 KARLITZA DELGADO SANTIAGO                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257640 KARLLANETTE RIVERA GARCIA                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694218 KARLO A IBARRA DELGADO                      MAGNOLIA GARDENS            O 18 CALLE 18                                                                      BAYAMON             PR         00956
   694220 KARLO A LOPEZ                               PO BOX 360507                                                                                                  SAN JUAN            PR         00936‐0507
   257641 KARLO PEREZ COLON                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694222 KARLO ROSA VAZQUEZ                          URB SANTA PAULA             IA‐05 LAS COLINAS                                                                  GUAYNABO            PR         00969

   257642 KARLOS A RODRIGUEZ ROMAN                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694224 KARLOS CATERING SERVICE                     URBANIZACION EL JARDIN      B‐37 CALLE 2‐A                                                                     GUAYNABO            PR         00969

   694223 KARLOS J RIVERA CRUZ                        URB ALTURAS DE BUCARABONES 3 Q 28 CALLE 44                                                                     TOA ALTA            PR         00953
   257643 KARLY PADRO                                 REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257645 KARMARI RIOS PEREZ                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257646 KARMARIE FRANCO CRUZ                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          KARMARIE MALDONADO
   694226 FUENTES                                     URB VISTA BELLA             H 17 CALLE 6                                                                       BAYAMON             PR         00956

   771135 KARMARIE SANTOS FERNANDEZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257649 KARMEN VEGA SANCHEZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257650 KARMY GARABITO DIAZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694227 KAROL COLLAZO MARTINEZ                      URB LAS FLORES              F 7 CALLE D                                                                        VEGA BAJA           PR         00693

   257651 KAROL CONCEPCION PACHECO                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257652 KAROL HERNANDEZ LUGO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   694228 KAROL J GONZALEZ RODRIGUEZ                  URB STA RITA                613 CALLE SAN IGNACIO                                                              COTTO LAUREL        PR         00780
   694229 KAROL L ANGLERO GONZALEZ                    REPTO UNIVERSIDAD           L 26 CALLE 4                                                                       SAN GERMAN          PR         00688

   257653 KAROL LEE HERNANDEZ VACAS                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257654 KAROL OYOLA FERRER                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257655 KAROL SANCHEZ MARRERO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  257656 KAROL Z MATIAS VELEZ                         REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  694233 KAROLEE GARCIA FIGUEROA                      225 VILLA CAPARA PLAZA   CARR2 APT 304                                                                    GUAYNABO          PR         00966
  257657 KAROLENE FARIA RAMIREZ                       REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  257658 KAROLINA LUNA ALAMO                          REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   257659 KAROLINA MACHADO CARRASCO REDACTED                                   REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257660 KAROLINA PABON ROSA       REDACTED                                   REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257661 KAROLINA ZAYAS ROJAS      REDACTED                                   REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   257662 KAROLINE DEL M ACOSTA QUILES REDACTED                                REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257664 KAROLL H. ROSA AVILLAN       REDACTED                                REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   257665 KAROLYN GARRIGA RODRIGUEZ                   REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   257666 KAROLYN N.CARLO RODRIGUEZ                   REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257667 KAROLYNE SANTIAGO CERDA                     REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257668 KAROLYNN IRIZARRY SOTO                      REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   257669 KAROLYNNE COLON DELGADO                     REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   694235 KARON BUSINESS FORMS, INC.                  PO BOX 361042                                                                                             SAN JUAN          PR         00936‐1042
   257670 KARP MD, SHARON                             REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257671 KARPENOS MD, ALEXANDER                      REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694236 KARRASS                                     8370 WILSHIRE BLVD                                                                                        BEVERLY HILLS     CA         90211‐2333
   257672 KARREN M WHITAKER                           REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257673 KARREN M. WHITAKER                          REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694239 KARTHIA NIEVES PEREZ                        BAYAMON GARDENS          APART 2125 EDUF 21                                                               BAYAMON           PR         00957
   257676 KARTIK SE                                   251 CALLE CHILE                                                                                           SAN JUAN          PR         00917
   257677 KARUCHA KRANS                               REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257679 KARVIN SILVA VEGA                           REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257680 KARY E CINTRON RODRIGUEZ                    REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257681 KARY GONZALEZ MONZON                        REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257682 KARY L MIRANDA CALDERON                     REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   694241 KARYLEEN MANGUAL FUENTES                    HC 645 BOX 6287                                                                                           TRUJILLO ALTO     PR         00976

   694240 KARYLEEN VELAZQUEZ ROMAN                    RR 1 BOX 11455                                                                                            TOA ALTA          PR         00953

   694243 KARYLYN MELENDEZ MARRERO                    URB ALTA VISTA           L 2 CALLE 10                                                                     PONCE             PR         00716
          KARYM & HERMANOS AA GAS
   257683 STATION INC                                 PO BOX 9953                                                                                               CAROLINA          PR         00988
   694244 KARYMAR TRAVEL INC                          VILLA CAROLINA           8‐8 CALLE 29                                                                     CAROLINA          PR         00985

   257684 KARYMAR VILLANUEVA SERRANO REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694247 KARYNA AMADOR GONZALEZ     HC 3 BOX 9825                                                                                                              CAMUY             PR         00627
                                     C 2 G 2 JARD DE SANTO
   694248 KARYNA LOPEZ SANTIAGO      DOMINGO                                                                                                                    JUANA DIAZ        PR         00795

   694249 KARYNA SANTANA MALDONADO PO BOX 9021112                                                                                                               SAN JUAN          PR         00902‐1112
   694250 KARYNELLE MARRERO SOTO   RES MARISOL                                 EDIF 3 APT 11                                                                    MAYAGUEZ          PR         00680
   257687 KARYSSA J ROSA RODRIGUEZ REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257688 KASA BELLA CORP          PO BOX 1016                                                                                                                  CABO ROJO         PR         00623
   694251 KASALTA BAKERY           SANTA CECILIA                               1996 MC LEARY ESQ A                                                              SAN JUAN          PR         00911



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   694252 KASANDRA RIVERA RODRIGUEZ                   HC 2 BOX 7042                                                                                                           CIALES              PR           00638
   257691 KASEGA DIGITAL SOLUTIONS                    PO BOX 195082                                                                                                           HATO REY            PR           00919‐5082
   257692 KASEY R JACOBS CURRAN                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694253 KASIM BERNABE RODRIGUEZ                     URB COCO BEACH 529           CALLE MARINA                                                                               RIO GRANDE          PR           00745‐4636
   257694 KASPER MD , JOHN F                          REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KASSAN AUTO SUPPLIES /
   694255 RAFAEL SANTIAGO                             PO BOX 326                                                                                                              GUANICA             PR           00653
          KASSANDRA D.M LUCKEROTH
   257695 MORALES                                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KASSANDRA DM LUCKERO TH
   257696 MORALES                                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257697 KASSANDRA FLORES ROMAN                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257699 KASSANDRA LUGO CRUZ                         REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   257700 KASSANDRA M DIAZ DELGADO                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257701 KASSANDRA MOLINA RIVERA                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KASSANDRA RODRIGUEZ
   257702 ACEVEDO                                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257703 KASSANDRA VERA GONZALEZ                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257705 KASTOFF MD , STEPHEN J                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257706 KASVIN QUILES RIVERA                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694256 KATALINA ITURRALDE LEON                     3064 CALLE CALAMAR                                                                                                      TOA BAJA            PR           00949
   694257 KATALYN RAMOS ORTIZ                         STA MONICA                   Q 10 CALLE 11 A                                                                            BAYAMON             PR           00957
   257707 KATARINA SAIL CHARTERS LLC                  PO BOX 689                                                                                                              RINCON              PR           00677
   694258 KATE BONILLA AYALA                          PO BOX 2162                                                                                                             SAN GERMAN          PR           00683
   257708 KATE D. ALVAREZ DIAZ                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257709 KATE LOLA FILMS INC                         AREA DEL TESORO              DIVISION DE RECLAMACIONES                                                                  SAN JUAN            PR           00902‐4140

   694259 KATELEEN MELENDEZ COLLAZO                   HC 1 BOX 6079                                                                                                           OROCOVIS            PR           00720
   694260 KATERI L GALARZA CUEVAS                     IRLANDA APARTMENTS         APTO B 12 10MA SECCION                                                                       BAYAMON             PR           00956
   694261 KATERIN RIVERA RUIZ                         EL TUQUE N V               CALLE 8 B D 120                                                                              PONCE               PR           00728
   257711 KATERINA BONILLA TORO                       REDACTED                   REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      URB MANSIONES DE ESMERALDA
   694262 KATERINA DORNA LLOMPART                     A6                         277 AVE LOPATEGUI                                                                            GUAYNABO            PR           00969
   257712 KATERINA NESTE GALLISA                      REDACTED                   REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257713 KATERINA PIETRI LEITH                       REDACTED                   REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694263 KATHALINE ESTREMERA ROMAN CARR 477 BOX 1626                                                                                                                         QUEBRADILLAS        PR           00678

   257715 KATHARINA FELICIANO CASTILLO REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   257716 KATHARINNE ROMAN URQUIJO                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KATHELEEN BARRET
   694265 ENTERPRISES I                               RR 1 BOX 3736610                                                                                                        SAN SEBASTIAN       PR           00685

   694266 KATHELINE CELEIDA ROMAN                     HC03 BOX 9753 SEBURUQUILLO                                                                                              LARES               PR           00669

   694267 KATHELINE VILLALONGO ACASIO HC 2 BOX 15367                                                                                                                          CAROLINA            PR           00987

   694268 KATHERIN GONZALEZ RIVERA                    COND TEIDE                   185 CALLE COSTA RICA APT 1003                                                              SAN JUAN            PR           00917

   694269 KATHERIN GONZALEZ VALENTIN S3‐25 CALLE 4                                                                                                                            SAN JUAN            PR           00926



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  257717 KATHERIN SANTIAGO PEREZ                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   257718 KATHERINA MAISONET ALGARIN REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257719 KATHERINA RUIZ MILLAN      REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   257720 KATHERINE A GUERRERO GOMEZ REDACTED                    REDACTED                            REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          KATHERINE A. BARTENES      URB. MONTE CARLO 1286 CALLE
   694271 MIRANDA                    11                                                                                                                         SAN JUAN            PR         00924

   257721 KATHERINE ACEVEDO MARTINEZ REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694272 KATHERINE ACLECA           URB EL CORTIJO                           AC 1 CALLE 21                                                                     BAYAMON             PR         00956
   694273 KATHERINE AGOSTO PEREZ     26 URB EL DUQUE                                                                                                            NAGUABO             PR         00718
   694274 KATHERINE ALBINO SAEZ      COND PLAZA UNIVERSIDAD                   2000 TORRE A APT 420                                                              SAN JUAN            PR         00925
   694275 KATHERINE ALMA ALMA        ESTEVES                                  414 CALLE ALMENDRO                                                                AGUADILLA           PR         00603

   694276 KATHERINE AMADOR DELGADO                    URB EL MAESTRO          A 12 CALLE C                                                                      CAMUY               PR         00627
   694277 KATHERINE ANDUJAR TORRES                    HC 01 BOX 11486                                                                                           PENUELAS            PR         000624

   257722 KATHERINE ASTACIO NAVARRO                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   257723 KATHERINE AYALA PAGÁN                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   257724 KATHERINE BATISTA VAZQUEZ                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   257726 KATHERINE BERMUDEZ BONES                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   257727 KATHERINE BERRIOS GUZMAN                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694279 KATHERINE BORRERO CRUZ                      BO RABANAL BOX 3039                                                                                       CIDRA               PR         00739
   257728 KATHERINE BURGOS OCASIO                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   257729 KATHERINE C ROSAS COLLADO                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          KATHERINE C VELAZQUEZ
   257730 ALFONSO                                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   257731 KATHERINE CABANILLAS VELEZ                  REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   257732 KATHERINE CABRERA LUCIANO                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694280 KATHERINE CASANOVA PINET                    HC 1 BOX 4474                                                                                             LOIZA               PR         00772
          KATHERINE CEPEDA / PAUL Y
   257734 CHRISTIAN GONZ                              REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694281 KATHERINE CHACON RIVERA                     P O BOX 7107                                                                                              CAROLINA            PR         00986
   694282 KATHERINE CIRIACRUZ ROSA                    HC 04 BOX 4647                                                                                            HUMACAO             PR         00791
   694283 KATHERINE COLLAZO GARCIA                    VILLA FONTANA           289 VIA 9 2EL                                                                     CAROLINA            PR         00983
   257735 KATHERINE COLLAZO RIVERA                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   257736 KATHERINE CORDERO DE JESUS                  REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694284 KATHERINE CORTES CUEVAS                     URB VALLE ARRIBA HGTS   BD 11 CALLE NARANJO                                                               CAROLINA            PR         00983‐3334
          KATHERINE D PASQUINUCCI
   694270 RODRIGUEZ                                   1 PRIME OUTLETS BLVD                                                                                      BARCELONETA         PR         00617
          KATHERINE D SYLVESTRY
   694287 HERNANDEZ                                   MANSIONES REALES        I 12 ALFONSO XIII                                                                 GUAYNABO            PR         00969
          KATHERINE DEL CASTILLO
   257738 JIMENEZ                                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694288 KATHERINE ERAZO                             P O BOX 50071                                                                                             SAN JUAN            PR         00902‐6271



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   257740 KATHERINE ESTRADA GONZALEZ REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   257741 KATHERINE FIGUEROA GORDIAN REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694289 KATHERINE FIGUEROA MARTINEZ PO BOX 5234 CUC STA                                                                                                             CAYEY               PR           00737

   257742 KATHERINE FIGUEROA MERCADO REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257743 KATHERINE GARCIA           REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257744 KATHERINE GARCIA ALBIZU    REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257745 KATHERINE GOMEZ ALVAREZ    REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   257746 KATHERINE GONZALEZ MATOS                    REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KATHERINE GONZALEZ
   694292 MERCADO                                     URB SANTIAGO IGLESIAS   1791 CALLE FERRER Y FERRER                                                              SAN JUAN            PR           00921

   694293 KATHERINE GONZALEZ RIVERA                   PO BOX 1591                                                                                                     GUAYAMA             PR           00784
          KATHERINE HARGROVE
   694295 CORDERO                                     COTTO LAUREL            3028 CALLE ESMERALDA                                                                    PONCE               PR           00780‐2420

   257748 KATHERINE HERNANDEZ PEREZ                   REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   257750 KATHERINE HERNANDEZ PIETRI                  REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   257751 KATHERINE I MERCADO NAZARIO REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   257752 KATHERINE I VAZQUEZ RIVERA                  REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694297 KATHERINE I VAZQUEZ VAZQUEZ P.O. BOX 55257                                                                                                                  BAYAMON             PR           00960‐4257
   257753 KATHERINE I. MERCADO N      REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   257754 KATHERINE IRIZARRY ACEVEDO                  REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694298 KATHERINE J ALAMO CAMPOS                    RR 2 BOX 6842                                                                                                   TOA ALTA            PR           00953
   694302 KATHERINE JIMENEZ AROCHO                    HC 1 BOX 12900                                                                                                  GUAYANILLA          PR           00656
   694303 KATHERINE KUHN                              PMB 6                   PO BOX 20000                                                                            CANOVANAS           PR           00729
   257755 KATHERINE L PAGAN VEGA                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257756 KATHERINE L REYES PERALES                   REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257757 KATHERINE LE HARDY VELEZ                    REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694304 KATHERINE LEON RIOS                         CALLE CHAVIER                                                                                                   GUAYNABO            PR           00917
   694305 KATHERINE LEON VAZQUEZ                      HC 44 BO 13610                                                                                                  CAYEY               PR           00736
   694306 KATHERINE LERGIER ROMAN                     479 CALLE PARAGUAY                                                                                              SAN JUAN            PR           00917
   694307 KATHERINE LOPEZ LORENZO                     HC 05 BOX 10996                                                                                                 MOCA                PR           00676
   694308 KATHERINE LORENZO COLL                      BOSQUE DE LAS FLORES    109 CALLE TIAGOSAN                                                                      BAYAMON             PR           00956
          KATHERINE M GONZALEZ
   257759 GONZALEZ                                    REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694309 KATHERINE M MUZIK                           P O BOX 3023                                                                                                    OTHELLO             WA           99344
   694310 KATHERINE M REYES RENTAS                    COM SAN JOSE            B 10                                                                                    HORMIGUEROS         PR           00660

   694311 KATHERINE M SANCHEZ ORTIZ                   PO BOX 7747             BO OBERO STA                                                                            SAN JUAN            PR           00916
          KATHERINE M ZUNIGA
   694312 MALDONADO                                   469 CALLE DEGETAU                                                                                               FAJARDO             PR           00738
   694313 KATHERINE MARTINEZ                          HC 03 BOX 10967                                                                                                 CAMUY               PR           00627
   257761 KATHERINE MARTINEZ REYES                    REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   694315 KATHERINE MARTINEZ SANTOS                   EXT MONSERRATE             E 37                                                                              SALINAS             PR           00751

   694317 KATHERINE MELENDEZ COLON     PO BOX 2426                                                                                                                 GUAYNABO            PR           00970
          KATHERINE MICHELLE FELICIANO
   257762 RIVERA                       REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257763 KATHERINE MILLER             REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KATHERINE MORALES
   257764 BERMUDEZ                     REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   257765 KATHERINE MORALES VAZQUEZ                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257766 KATHERINE MORENO NIEVES                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257767 KATHERINE N CUEVAS NIEVES                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257768 KATHERINE NAVARRO CIRINO                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257770 KATHERINE NIEVES TAVAREZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   257771 KATHERINE ONNA CASTELLANO                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257772 KATHERINE ORTIZ NIEVES                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257773 KATHERINE ORTIZ PEREZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   257774 KATHERINE PADILLA COLBERG                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257775 KATHERINE PEREZ BURGOS                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KATHERINE PIZARRO
   257776 HERNANDEZ                                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694320 KATHERINE RAMOS COBIAN                      URB. MONTE ELENA           160 CALLE MAGNOLIA                                                                DORADO              PR           00646‐5606

   257777 KATHERINE RIVERA VELAZQUEZ                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KATHERINE ROCAFORT
   694321 MARQUEZ                                     HC 01 BOX 13568                                                                                              RIO GRANDE          PR           00745‐9627

   694322 KATHERINE RODRIGUEZ RIVERA                  8 CALLE CASTILLO APT 2 A                                                                                     PONCE               PR           00733
   257779 KATHERINE ROJAS JIMENEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694323 KATHERINE ROJAS TORRES                      HC 01 BOX 11172                                                                                              ARECIBO             PR           00612
   257780 KATHERINE ROSARIO CRUZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   257781 KATHERINE SANTIAGO ROMAN                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257783 KATHERINE SOLER GONZALEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257784 KATHERINE SUBIRANA REYES                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257785 KATHERINE TANIGUCHI                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257786 KATHERINE TORRES CUEVA                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694324 KATHERINE TORRES TORRES                     PO BOX 1467                                                                                                  CIDRA               PR           00739

   257787 KATHERINE VALENTIN VAZQUEZ                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257788 KATHERINE VARGAS SANCHEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257789 KATHERINE VAZQUEZ RIVERA                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257790 KATHERINE VEGA BLANCO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694325 KATHERINE VEGA SANTIAGO                     HC 9 BOX 4396                                                                                                SABANA GRANDE       PR           00637
   694326 KATHERINE VELAZQUEZ DIAZ                    APRIL GARDENS              52 CALLE IG                                                                       LAS PIEDRAS         PR           00771

   257791 KATHERINE VELAZQUEZ GARCIA REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KATHERINE VELAZQUEZ Y
   694327 LISBETH RODRIGUEZ          EXT VILLAS DE LOIZA                         NN 30 CALLE 37                                                                    CANOVANAS           PR           00729




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   257793 KATHERINE Z FIGUEROA LOPEZ                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KATHERINE ZAMBRANA LE
   257794 HARDY                                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   257795 KATHERINNE ACEVEDO SERRANO REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257796 KATHERLEEN LEDESMA CALO    REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257797 KATHERLINE GOMEZ JUSTINO   REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257798 KATHERYN S. LOPEZ SANCHEZ  REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257799 KATHIA A MATIAS COLON      REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257800 KATHIA A. RIVERA GONZALEZ  REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KATHIA B TACORONTE
   257801 MALDONADO                  REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257802 KATHIA CATALA GONZALEZ     REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257803 KATHIA FEBRES ALLENDE      REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257804 KATHIA FIGUEROA MARTINEZ   REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694329 KATHIA J RODRIGUEZ ROSARIO                  535 BO SEBORUCO                                                                                          BARCELONETA         PR           00617

   257805 KATHIA J VELAZQUEZ MORALES                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694330 KATHIA M LOZADA VELAZQUEZ                   PO BOX 402                                                                                               YABUCOA             PR           00767
   257806 KATHIA M LUGO VELEZ                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694331 KATHIA M PEREZ MERCADO                      51 MANUEL M SAMAS                                                                                        MAYAGUEZ            PR           00682
   257807 KATHIA MARRERO GOMEZ                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257809 KATHIA PRATTS SOSA                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257810 KATHIA S BAUCAGE                            REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257811 KATHIA Y COLON PENA                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KATHIA YARI ALAMEDA
   257812 LARACUENTE                                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257813 KATHIANA VEGA                               REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257815 KATHIRIA COLON VAZQUEZ                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257816 KATHIRIA NALES NIEVES                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KATHLEEN AURIT SCHAEFER FOR
   257819 TEDD A AURIT                                REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694333 KATHLEEN CARRUCINI REYES                    HC 2 BOX 38246                                                                                           ARECIBO             PR           00612
   257820 KATHLEEN CASILLAS BARRETO                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257822 KATHLEEN FLYNN                              REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257823 KATHLEEN J JONES TROTH                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694334 KATHLEEN L VANDEVER                         URB BALDWIN PARK       B 27 SOUTHVIEW CT                                                                 GUAYNABO            PR           00969
   257824 KATHLEEN LUNA SERRANO                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   257825 KATHLEEN M PEREZ RODRIGUEZ REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   770678 KATHLEEN M. KELLY DELVIN   REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   257827 KATHLEEN MARTELL ALVARADO REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257828 KATHLEEN PACHECO DIAZ     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   257829 KATHLEEN RODRIGUEZ GUZMAN REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257830 KATHLEEN ROSARIO LUGO     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257831 KATHLEEN T BATISTA ANDINO REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694336 KATHLENE ACOSTA DIAZ      COND LA PUNTILLA                         EDIF D 2 APT 39                                                                   SAN JUAN            PR           00901
   694337 KATHRINE VEGA MORALES     CIUDAD JARDIN 2                          157 CALLE BUGANVILIA                                                              TOA ALTA            PR           00953



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   257832 KATHRINE VELAZQUEZ SANCHEZ                  REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694338 KATHRYN FELICIANO SOLER                     URB LOS LIRIOS            D 9 CALLE 2                                                                           JUNCOS              PR           00777
   694340 KATHY BERDECIA RODRIGUEZ                    RIO GRANDE ESTATE         C/5 B BLOQUE I A ‐9                                                                   RIO GRANDE          PR           00745
   257833 KATHY BRAYFIELD VARGAS                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257834 KATHY BURGOS COLON                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257835 KATHY CARABALLO RIVERA                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694341 KATHY ESTRADA SIERRA                        HC 1 BOX 6392                                                                                                   LAS PIEDRAS         PR           00771
   257836 KATHY G LEYVA RIVERA                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257837 KATHY LOPEZ MALDONADO                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694344 KATHY ROSADO CHAMORRO                       URB LOS CAOBOS            1987 CALLE GUAYACAN                                                                   PONCE               PR           00716
   257839 KATHYA LIZ SANTOS ROSADO                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257840 KATHYA S MERCADO RIVERA                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KATHYENID RIVERA FELICIANO
   257841 A/C EMER RIVE                               REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257842 KATHYRIA M. RAMOS BONES                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   257843 KATHYUSKA M MENDEZ LOPEZ                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257844 KATIA B VARGAS MORALES                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   257845 KATIA DE JESUS VELEZ                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694346 KATIA EMIL REYESW FIGUEROA                  P O BOX 1250                                                                                                    MANATI              PR           00674
   694347 KATIA FUENTES RIOS                          URB LAS COLINAS           B 10 CALLE 5                                                                          TOA BAJA            PR           00949
   694348 KATIA GONZALEZ PUELLO                       113 CALLE SANTA CECILIA                                                                                         SAN JUAN            PR           00911
   694349 KATIA HERNANDEZ RIVERA                      P O BOX 1334                                                                                                    CIDRA               PR           00739‐1334
   694350 KATIA I MORENO RODRIGUEZ                    BO RIO JUEYES             CARR 154 KM 3 3                                                                       COAMO               PR           00769
   694351 KATIA M DECLET ESTRADA                      HACIENDA BORINQUEN        1103 REINA DE LAS FLORES                                                              CAGUAS              PR           00725
   257849 KATIA M RIVERA MORALES                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   257850 KATIA MENENDEZ DELMESTRE                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                N28 CALLE 23 ALT DE
   694353 KATIA QUINTANA                              FLAMBOYAN                 FLAMBOYAN                                                                             BAYAMON             PR           00959

   257851 KATIA R BETANCOURT JIMENEZ                  REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694354 KATIA RIVERA RAMIREZ                        SUITE 158 PO BOX 71325                                                                                          SAN JUAN            PR           00936

   694355 KATIA S CARRASQUILLO COLON                  URB EL PLANTIO            K 5 CALLE POMAROSA                                                                    TOA BAJA            PR       00949
   694356 KATIA Y CALDERON GARCIA                     MELILLA MEDIANIA ALTA     CARR 187 K 6 H 1                                                                      LOIZA               PR       00772
   257852 KATIA Y DIAZ APONTE                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   257853 KATIA Y GONZALEZ LORENZO                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   257854 KATIA Y ORTIZ LOPEZ                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   257855 KATIA Y. PRINCIPE PAGAN                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   257856 KATIA YARI GONZALEZ PENA                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   257857 KATIA YARI PEREIRA RIVERA                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED

   257858 KATIA YARITZA PRINCIPE PAGAN REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                405 CALLE BAHIA URB COCO
   694357 KATIA Z. LOPEZ ESTRADA                      COCO BEACH                BEACH                                                                                 RIO GRANDE          PR           00745
          KATIANA GARCIA VAZQUEZ /
   257859 JESUS AGUILAR                               REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694358 KATIANA PEREZ                               P O BOX 9024118                                                                                                 SAN JUAN            PR           00902‐4118
   694359 KATIANA ROMAN                               BO ESPERANZA              SECTOR PATILLA CARR 626                                                               ARECIBO             PR           00612
   257860 KATIE RIVERA                                REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  257861 KATIEL FONSECA ZALDIVAR                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  694360 KATIRA CASTRO RODRIGUEZ                      HC 04 BOX 21179                                                                                                      LAJAS             PR         00667
  257862 KATIRIA ALFARO RIVERA                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  694361 KATIRIA BLAS ORTEGA                          URB BORINQUEN                 91 CALLE B                                                                             AGUADILLA         PR         00603
  257864 KATIRIA CALO CALDERON                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  694362 KATIRIA CARBALLO                             URB SYLVIA                    E 19 CALLE 1                                                                           COROZAL           PR         00783
  257865 KATIRIA CASTRO GONZALEZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  257867 KATIRIA CINTRON RIVERA                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  257868 KATIRIA COTTO RODRIGUEZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  257869 KATIRIA CRUZ                                 REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  257870 KATIRIA DE JESUS ARROYO                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  694364 KATIRIA FERNANDEZ ROSARIO                    RIO PLANTATION                12 CALLE COREA                                                                         BAYAMON           PR         00961
  257873 KATIRIA HERNANDEZ APONTE                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  257874 KATIRIA I GONZALEZ SOTO                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  257875 KATIRIA L PEREZ TORRES                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  257876 KATIRIA M LOPEZ VAZQUEZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   257877 KATIRIA M ORTIZ ENCARNACION                 REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257878 KATIRIA M PEREZ LOPEZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257879 KATIRIA M RIVERA ROVIRA                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          KATIRIA M RODRIGUEZ
   257880 SANDOVAL                                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257881 KATIRIA M ROSSINI PADILLA                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694367 KATIRIA MERCADO DIAZ                        BO SAN FELIPE                 PO BOX 2244                                                                            AGUIRRE           PR         00704
   694368 KATIRIA NIEVES RIVERA                       BARRIADA CABON                CALLE SOL 188                                                                          AGUADILLA         PR         00603
   257882 KATIRIA ORONA MEDINA                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257883 KATIRIA PEREZ ORTIZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257884 KATIRIA QUINONES MONGE                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   694369 KATIRIA RAMOS GOMEZ                         URB EL COMANDANTE             874 CALE CERMEN HERNANDEZ                                                              SAN JUAN          PR         00924
   257885 KATIRIA RIVAS TORRES                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   257887 KATIRIA RODRIGUEZ SANDOVAL                  REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257888 KATIRIA SANCHEZ SANTANA                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694370 KATIRIA SANCHEZ VEGA                        RES ALEJANDRINO               EDIF 11 APTO 149                                                                       GUAYNABO          PR         00969
   257889 KATIRIA SENERIZ LONGO                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694371 KATIRIA SIERRA NIEVES                       HC 73 BOX 5275                                                                                                       NARANJITO         PR         00719
   257890 KATIRIA SOTO RIVERA                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257891 KATIRIA SUAREZ VELAZQUEZ                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   257892 KATIRIA V TROCHE CARRABALLO                 REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257893 KATIUSHKA SANCHEZ VELEZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257894 KATIUSKA BOLANO LUGO                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257896 KATKA KONECNA                               REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694372 KATO ENGINEERING                            P O BOX 191804                                                                                                       SAN JUAN          PR         00919‐1804
   257897 KATRICIA RIVERA MARTINEZ                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          KATRINA M. RODRIGUEZ
   257898 STRELLER                                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257899 KATRINA PEREZ ORTIZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257900 KATRYNA MATOS LUCIANO                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694373 KATSI CHARRON                               UNIVERSITY GARDENS            1003 CALLE FORDHAN                                                                     SAN JUAN          PR         00926

   694374 KATTAN MEYER                                I GUSTAVE LEVY PL/ BOX 1200                                                                                          NEW YORK          NY         10029



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  694375 KATTIA Z WALTERS PACHECO                     VILLA COOPERATIVA            H 13 CALLE 7                                                                       CAROLINA          PR         00985
  257902 KATTY CALDERON LAVAYEN                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  694377 KATTY L ALEMAN TORRES                        HC 2 BOX 12234                                                                                                  MOCA              PR         00676
  257903 KATTY MALDONADO PEREZ                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  694378 KATTY PAGAN MARTINEZ                         K 23 URB RIVERSIDE                                                                                              SAN GERMAN        PR         00683
  257908 KATTYA I SANTIAGO ANSA                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   694380 KATTYBEL PEDRO TORRES                       MIRADERO SJ 92 SANJUANERA                                                                                       CAGUAS            PR         00727
   257909 KATTYNED CHARRIEZ ALBINO                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257910 KATTYS RIVERA                               REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694381 KATUNY CORPORATION                          P O BOX 195699                                                                                                  SAN JUAN          PR         00919‐5699
   257912 KATY FELICIANO CORDERO                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257913 KATY SIERRA CASILLAS                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257914 KATY SOTO MEDINA                            REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257915 KATYA M SOTO JUARBE                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257916 KATYA MICHELLE SILVA                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257917 KATYA ROMERO FALU                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257918 KATYLIDA HERNANDEZ BAEZ                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257919 KATYNA ROSARIO FIGUEROA                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257920 KATYRIA ROSARIO MORALES                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   694382 KATYUSKA SAN MIGUEL OTERO                   CAMPO ALEGRE NUM 60                                                                                             MANATI            PR         00674
   257921 KATZ MD, AMIR                               REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257922 KATZ VANESSA JOEL                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257924 KAUFFMAN ALVAREZ INC                        397 AVENIDA ANDALUCIA                                                                                           PUERTO NUEVO      PR         00920

   694383 KAUFMAN BROS L P                            800 THIRD AVENUE 25 TG FLOOR                                                                                    NEW YORK          NY       10022
   257926 KAUL MD, SHARDA                             REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   257927 KAVIER CORDERO PEREZ                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   257930 KAWILLE CEDENO MORALES                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   694384 KAY BEE TOYS STORE                          P O BOX 21365                                                                                                   SAN JUAN          PR       00928‐1365
   257932 KAY M TOMASHEK                              REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   257933 KAY OYOLA MD, VERONICA                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   694385 KAY PAGAN RIVERA                            BO BORINQUEN                 CARR 765 R 761 KM 3 9                                                              CAGUAS            PR       00725
   694386 KAYAK RENTAL                                PO BOX 899                                                                                                      BOQUERON          PR       00622
          KAYAKINS PUERTO RICO
   257935 ADVENTURES INC                              HC 4 BOX 12672                                                                                                  RIO GRANDE        PR         00745
   694387 KAYAN LAI                                   VILLA TURABO                 G 36 CALLE PINO                                                                    CAGUAS            PR         00725
   257937 KAYLA GARCIA TRINIDAD                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257938 KAYLA I OTERO RODRIGUEZ                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          KAYLA MARIE MORILLO
   257939 SANTIAGO                                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257940 KAYLA RODRIGUEZ RIVERA                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694389 KAYLALIZE YULFO                             BOX 4953                                                                                                        AGUADILLA         PR         00603

   257941 KAYLIN M FIGUEROA QUINONEZ REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694390 KAYNO RIOS LINARES         PO BOX 7126                                                                                                                      PONCE             PR         00732

   694391 KAYRA KEODI GONZALEZ LOPEZ                  JARDINES                     F 8 PEPITA ALBANDOZ                                                                CANOVANAS         PR         00729
   257942 KAYRA MORET                                 REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257943 KAYRA MORET RODRIGUEZ                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   257944 KAYSE DOMINGUEZ GARCIA                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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   257945 KAYSER CONSTRUCTION CORP                    EDIF BANCO POPULAR           SUITE 906                                                                              SAN JUAN              PR           00902
          KAYSER ROTH HOSIERY DE
   694392 PUERTO RICO INC                             PO BOX 286                                                                                                          ARECIBO               PR           00613‐0286
   257946 KAYSHA M CARRER BURGOS                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   257947 KAYSHLA M TOLEDO TORRES                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   257948 KAYSSA M OTERO APONTE                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   694393 KAYTA M MENDEZ CABRERA                      HC 1 BOX 5563                                                                                                       CIALES                PR           00638
   257949 KAYVAN VEGA VEGA                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   257950 KAYZEDEE GARCIA PACHECO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   257951 KAZDAN MD , SCOTT D                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   257952 KAZEMI MD, AHMAD                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   694394 KAZIMIERS DOMEK                             P O BOX 437                                                                                                         FLORIDA               PR           00650
   694395 KB TOYS                                     CARR 2 KB TOYS                                                                                                      ISABELA               PR           00662
   257954 KB TOYS RETAIL INC                          100 WEST STREET                                                                                                     PITTSFIELD            MA           01201
   694396 KBS CORP                                    URB ALAMEDA                  780 CALLE RUBI                                                                         SAN JUAN              PR           00926
                                                                                   497 AVE. EMILIANO POL LAS
   257955 KBT CONSULTING INC                          BOX 589                      CUMBRES                                                                                SAN JUAN              PR           00926‐5636
   694398 K‐CHE CONSTRUCTION                          PO BOX 81                                                                                                           NARANJITO             PR           00719
  1256619 KCI MEDICAL CORP                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   257956 KCI MEDICAL CORP.                           PO BOX 203086                                                                                                       HOUSTON               TX           77216‐3086
   257957 KCPR INC                                    URB VICTOR BRAEGGUER         D 10 CALLE 9                                                                           GUAYNABO              PR           00966
   694399 KEAN UNIVERSITY                             P O BOX 411                                                                                                         UNION                 NJ           07083 0411

   694400 KEAN UNIVERSITY BOOKSTORE                   1000 MORIS AVE                                                                                                      UNION                 NJ           07083
   694401 KEANE INC                                   AMELIA INDUSTRIAL PARK       9 CLAUDIA STREET            SUITE 301                                                  GUAYNABO              PR           00968
   257962 KEBDIEL RODRIGUEZ PADILLA                   PMB 606                      PO BOX 144035                                                                          ARECIBO               PR           00614
          KEDDYNKESSEPHT MELENDEZ
   257963 SANCHEZ                                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   694402 KEEBLER CO. P.R. INC                        PO BOX 2549                                                                                                         BAYAMON               PR           00960
   694403 KEEBLER COMPANY P R INC                     PO BOX 50004                                                                                                        SAN JUAN              PR           00902‐0004
   694404 KEEBLER DE PR                               PO BOX 50004                                                                                                        SAN JUAN              PR           00902‐0004
   257967 KEEP CLEAN LLC                              PO BOX 367532                                                                                                       SAN JUAN              PR           00936‐7532
   694406 KEEP INTERNATIONAL LTD                      306 BRADHURST AVE                                                                                                   HAWTHORNE             NY           10532
          KEEPERS HOME STORAGE
   694407 STORES                                      1105 AVE ROOSEVELT                                                                                                  SAN JUAN              PR           00920
          KEEVAN IVAN FERMAINT
   694408 HERNANDEZ                                   RR 5 BOX 5073                                                                                                       BAYAMON               PR           00956
   694409 KEFREM M VELAZQUEZ                          URB FAIR VIEW              I 1 CALLE 13                                                                             SAN JUAN              PR           00926
                                                      COMUNIDAD EL RETIRO APTO A
   694410 KEHOE IRIZARRY CARATINE                     1108                                                                                                                SAN JUAN              PR           00924
   257968 KEHYLA M. RODRIGUEZ DIAZ                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   257969 KEICHLA Y SANTIAGO GONZALEZ                 REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   257970 KEIDY CONCEPCION PEREZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   257971 KEIDY I CASANOVA ORTIZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   694411 KEIDY I MALDONADO APONTE                    505 PASEO ABRIL                                                                                                     TOA BAJA              PR           00949

   257972 KEIDY I. MALDONADO APONTE                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   694412 KEIDY RODRIGUEZ LAMOURT                     HC 3 BOX 27794                                                                                                      SAN SEBASTIAN         PR           00684
   257973 KEIFER LOZANO BRISTOL                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          Keikis Creciendo y Aprendiendo              URB LOS ROSALES J 1 CARR 2
   257974 Juntos                                      MARGINAL                                                                                                            MANATI                PR           00674



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          KEILA A ALICEA
   694413 FIGUEROA/REBECCA CORDERO                    SECT IGLESIA BO CANDELAR    208 CALLE SN 1                                                                     TOA BAJA              PR           00951
   257975 KEILA A HERNANDEZ VELEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   694414 KEILA A MARTINEZ GARCIA                     LOS FLAMBOYANES APARTS      EDIF C APT 1 A BZ 331                                                              CAGUAS                PR           00725
   694415 KEILA A ROMAN VELAZQUEZ                     PO BOX 560088                                                                                                  GUAYANILLA            PR           00656
   257976 KEILA ACEVEDO AQUINO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   257978 KEILA ALMENA SANTOS                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   694416 KEILA ALMODOVAR MORCIGLIO 101 CALLE 25 DE JULIO                                                                                                            GUANICA               PR           00653

   694417 KEILA ANDERSON ASENCIO                      712 SAN MIGUEL APARTMENTS                                                                                      MAYAGUEZ              PR           00680
   694418 KEILA ARLIE VEGA                            PO BOX 814                                                                                                     CAMUY                 PR           00627
   257979 KEILA AROCHO NEGRON                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   257980 KEILA ARZUAGA RIVERA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   694419 KEILA BAHAMUNDI VEGA                        BO MONTE GRANDE             SECTOR VEGA ALEGRE                                                                 CABO ROJO             PR           00623
   257981 KEILA C SILVA                               REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   257983 KEILA C. ARISMENDI BONNIN                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   694421 KEILA CACHO CABAN                           URB VILLAS EVANGELINA       J 21 C CALLE 8                                                                     MANATI                PR           00674
   694422 KEILA CAMACHO VELAZQUEZ                     COND SAN FRANCISCO          EDIF 1 APT 807                                                                     SAN JUAN              PR           00927
   257984 KEILA CARDONA RODRIGUEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   257985 KEILA COLON HERNANDEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   694424 KEILA CRUZ DIAZ                             RR 1 BOX 3644                                                                                                  BAYAMON               PR           00956
   694425 KEILA D OSLAN SANTIAGO                      HC 80 BOX 8231                                                                                                 DORADO                PR           00646
   257986 KEILA D SANTANA FELICIANO                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   257987 KEILA DONES                                 REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   257988 KEILA DONES PAGAN                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   257989 KEILA E GONZALEZ GALAN                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   694426 KEILA E GUTIERREZ MEDINA                    RR 01 BOX 11265                                                                                                TOA ALTA              PR           00953
   257990 KEILA E RODRIGUEZ DIAZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   694428 KEILA G ROMERO CHAPUAN                      URB VILLA CAROLINA          CALLE 511 BLOQ 210 29                                                              CAROLINA              PR           00985
   694429 KEILA GARCIA SANCHEZ                        PO BOX 1221                                                                                                    CAGUAS                PR           00726
   694430 KEILA HERNANDEZ CABAN                       URB JARDINES DE CAPARRA     Y 3 CALLE 43                                                                       BAYAMON               PR           00959
   257991 KEILA I CABRERA                             REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   694431 KEILA I FONTANEZ LA SALLE                   P O BOX 22273                                                                                                  SAN JUAN              PR           00931‐2273
   257992 KEILA I REYES DAVID                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   257993 KEILA I RIVERA MATOS                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   257994 KEILA I RIVERA NEVAREZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   257995 KEILA J CRUZADO DEL VALLE                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   694434 KEILA J MILLAN MARTELL                      COND TORRES DE CERVANTES    APT 901 B                                                                          SAN JUAN              PR           00924
   257996 KEILA J MONTANEZ DELGADO                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   257997 KEILA J PAGAN GONZALEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   257998 KEILA JANET COLON CRUZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   694435 KEILA JARED SANTIAGO AVILES                 URB LAS FLORES              D 9 CALLE B                                                                        VEGA BAJA             PR           00693
   694436 KEILA K ALEMAN JIMENEZ                      P O BOX 65 SAINT JUST STA                                                                                      SAINT JUST            PR           00978‐0065
   694437 KEILA L DIAZ CRUZ                           VILLA PRADES                701 CASIMIRO DUCHESNE                                                              SAN JUAN              PR           00924
   694438 KEILA L KUILAN BRUNO                        BO INGENIO                  PARC 18 C CALLE ALELI                                                              TOA BAJA              PR           00951
   694439 KEILA L LUHRING RODRIGUEZ                   COND LOS ALMENDROS          PLAZA III APT 801                                                                  SAN JUAN              PR           00924
   694440 KEILA L VAZQUEZ REYES                       PO BOX 291                                                                                                     FLORIDA               PR           00650
   694441 KEILA LEBRON RIVERA                         BO POLVORIN                 4 COTTO SUR                                                                        MANATI                PR           00674
   694442 KEILA LOPEZ CONCEPCION                      HC 80 BOX 6503                                                                                                 DORADO                PR           00646



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  694443 KEILA LOPEZ ORTIZ                            RR 1 BOX 45131                                                                                                    SAN SEBASTIAN     PR         00685
  257999 KEILA LOPEZ RIVERA                           REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258001 KEILA LY MONTANEZ NEGRON                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258002 KEILA M BATISTA QUINONES                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258003 KEILA M CARDONA ACEVEDO                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258004 KEILA M DIAZ BAEZ                            REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  694444 KEILA M DIAZ BENITEZ                         HC 9 BOX 59340                                                                                                    CAGUAS            PR         00725
  258005 KEILA M DIAZ MORALES                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258006 KEILA M GARCIA VEGA                          REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   694445 KEILA M GONZALEZ GONZALEZ                   20 VUELTA DEL DOS                                                                                                 MANATI            PR         00674
   258007 KEILA M IRAOLA ROSA                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258008 KEILA M MERCED CARRION                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   694446 KEILA M NEGRON ALVARADO                     CARR 514 K 2 2 BOX 458                                                                                            VILLALBA          PR         00766
   258009 KEILA M OCASIO RAMIREZ                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   258010 KEILA M ORTIZ ENCARNACION                   REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258012 KEILA M RODRIGUEZ NADAL                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   694447 KEILA M SIERRA CINTRON                      PARK GARDENS             M 7 CALLE 15                                                                             SAN JUAN          PR         00926
   694448 KEILA M TORRES ALVARADO                     HC 01 BOX 5005                                                                                                    SALINAS           PR         00751
   258013 KEILA M TORRES CRESPO                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258014 KEILA M VELEZ MAYA                          REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258015 KEILA M. MARTINEZ MUNOZ                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   258016 KEILA M. ORELLANA RODRIGUEZ                 REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258017 KEILA M. ORTIZ DE JESUS                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258018 KEILA M. PAGAN HIRALDO                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258019 KEILA M. QUINTANA SANTOS                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258020 KEILA MARIA FLORES RAMOS                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258021 KEILA MELENDEZ RIVERA                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   694450 KEILA MELISSA RIVERA RIVERA                 URB LOIZA VALLEY         668 CALLE ADONIS                                                                         CANOVANAS         PR         00729
   258022 KEILA NEGRON RIVERA                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   694451 KEILA O' NEILL SEPULVEDA                    HC 05 BOX 52694                                                                                                   CAGUAS            PR         00725
   694452 KEILA OCASIO CLEMENTE                       URB SAN GERARDO          330 CALLE MONTGOMERY                                                                     SAN JUAN          PR         00926
   694453 KEILA OCASIO RIVERA                         HC 1 BOX 6630                                                                                                     OROCOVIS          PR         00720
   694454 KEILA ORTIZ LLANOS                          PO BOX 1604                                                                                                       CAROLINA          PR         00984
   258023 KEILA OSORIA GARCIA                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   694455 KEILA PEREZ OLIVERAS                        RES SAN FERNANDO         EDIF 14 APT 204                                                                          SAN JUAN          PR         00927
   258024 KEILA PEREZ SOLIS                           REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258026 KEILA RAMOS CRESPO                          REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258027 KEILA RIOS RIVERA                           REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   694456 KEILA RIVERA GOMEZ                          C 701 COND EL TREBOL                                                                                              SAN JUAN          PR         00924
   258028 KEILA RIVERA RIVERA                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258030 KEILA ROMAN PAGAN                           REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   694457 KEILA ROSA CINTRON                          URB. SANTA JUANITA       CALLE ATENAS D‐F9             SECCION 10                                                 BAYAMON           PR         00956
   694458 KEILA SANCHEZ MORALES                       VAN SCOY                 BB 52 CALLE COLON                                                                        BAYAMON           PR         00957
   258031 KEILA SANTOS SANTIAGO                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258032 KEILA SIOMARA COLON PENA                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   694459 KEILA SOSA GONZALEZ                         URB LOS MAESTROS         458 CALLE TRINIDAD ORELLANA                                                              SAN JUAN          PR         00923
   258033 KEILA T CASTRO RODRIGUEZ                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED




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          KEILA TALAVERA RODRIGUEZ,
   258034 ALVIN TALAVERA                              REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   258035 KEILA TIRADO SANTANA                        REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   258036 KEILA TORRES ADORNO                         REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   258037 KEILA TORRES ZAMBRANA                       REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   258039 KEILA V COLON RIVERA                        REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   258040 KEILA V DAVILA                              REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   694460 KEILA VELAZQUEZ ARCELAY                     P O BOX 217                                                                                                    CANOVANAS            PR         00729
   694461 KEILA W FIGUEROA ARROYO                     URB BUENA VISTA        1313 CALLE BONITA                                                                       PONCE                PR         00731
   694462 KEILA Y LAFONTAINE                          HC 2 BOX 12459                                                                                                 MOCA                 PR         00676
   258041 KEILA Y PANIZO SANCHEZ                      REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   694463 KEILA Y RIVERA RODRIGUEZ                    PO BOX 1193                                                                                                    COAMO                PR         00709
   694464 KEILA ZOE FIGUEROA ORTIZ                    PO BOX 20608                                                                                                   SAN JUAN             PR         00928

   694465 KEILANETTE COLON PORTALATIN PO BOX 644                                                                                                                     VEGA BAJA            PR         00693
   258042 KEILANY SANTINI SANTA       REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   258043 KEILEEN BRACERO NIEVES      REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   694467 KEILINE BORRERO HERNANDEZ                   URB ALTAMESA           1716 CALLE SANTA ALODIA                                                                 SAN JUAN             PR         00921
   258045 KEILY A VARGAS MARTE                        REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   258046 KEILYMAR RODRIGUEZ ROBLES                   REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
                                                                             CALLE VALBERDE EDIF 14 APT
   694468 KEILYN J RAMOS KUILAN                       SAN JOSE               112                                                                                     SAN JUAN             PR         00923
   258047 KEILYN M. VALE LASSALLE                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   694469 KEIMARA MANSILLA RIVERA                     HC 1 BOX 16288                                                                                                 HUMACAO              PR         00791
   258048 KEIMARI MENDEZ MARTINEZ                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   694470 KEIMILLY MELENDEZ COLON                     HC 02 BOX 5616                                                                                                 MOROVIS              PR         00687
   258049 KEIN G VAZQUEZ RODRIGUEZ                    REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   258050 KEIRA B VARGAS ALVELO                       REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   694472 KEIRA RIVERA VARGAS                         625 CARR GUAYANILLA                                                                                            PONCE                PR         00717‐1787
   694473 KEISA L GONZALEZ                            HC 1 BOX 24160                                                                                                 VEGA BAJA            PR         00693
   258051 KEISA TORRES FIGUEROA                       REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   258052 KEISALIZ ROBLES FEBLES                      REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
          KEISAND J SANTIAGO
   258053 MALDONADO                                   REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   258054 KEISDLA D PADILLA                           REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   258055 KEISHA D URBINA NAVARRO                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   258056 KEISHA GONZALEZ ACEVEDO                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   258058 KEISHA LOPEZ                                REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   694475 KEISHA M DOMINGUEZ CHEVERE RES SAN FERNANDO                        EDF 18 APT 298                                                                          SAN JUAN             PR         00927
   258059 KEISHA M ORTIZ ROQUE       REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   694476 KEISHA M PEREZ MARTINEZ    CALLE ARGENTINA H 218                                                                                                           RIO GRANDE           PR         00745
   258060 KEISHA M PEREZ MONTALVO    REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   258061 KEISHA M POMALES NIEVES    REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   258062 KEISHA M SOSA COLON        REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   258063 KEISHA MORALES RODRIGUEZ   REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   258064 KEISHA OLIVENCIA SOJO      REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   258065 KEISHA TORRES NEGRON       REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   258066 KEISHA TORRES RODRIGUEZ    REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   258068 KEISHA VELAZQUEZ DIAZ      REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   258069 KEISHIA M COLON SALOME     REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED



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   258070 KEISHLA A ANDUJAR CORDERO                   REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258071 KEISHLA A MORALES SILVA                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258072 KEISHLA ALICEA ALMODOVAR                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258073 KEISHLA BORRERO BAEZ                        REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258074 KEISHLA BRUNO CRESPO                        REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258075 KEISHLA BURGOS MILANES                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258076 KEISHLA CANCEL NEGRON                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258077 KEISHLA D BORRERO JIMENEZ                   REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258078 KEISHLA D RIVERA SANCHEZ                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258079 KEISHLA E DE JESUS ROSARIO                  REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   258080 KEISHLA E FIGUEROA SERRANO                  REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258081 KEISHLA E SALCEDO SOSA                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258082 KEISHLA F SOTO                              REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258083 KEISHLA GOMEZ CEBALLOS                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694477 KEISHLA GONZALEZ BURGOS                     HC 01 BOX 4171                                                                                              BARRANQUITAS        PR           00794
   258084 KEISHLA I SILVA BURGOS                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258085 KEISHLA J APONTE RUIZ                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258086 KEISHLA J PABON REBOLLAR                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694478 KEISHLA LEE RODRIGUEZ VEGA                  BLVD DEL CARMEN        66 BO EL SECO                                                                        MAYAGUEZ            PR           00680

   694479 KEISHLA M ALVAREZ PASTRANA                  HILL BROTHER           PARC 34 CALLE 15 PISO 1                                                              SAN JUAN            PR           00924
   258089 KEISHLA M CRUZ RIVERA                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258090 KEISHLA M ESPADA GARCIA                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258091 KEISHLA M NUNEZ RIVERA                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258092 KEISHLA M PEREZ LOZADA                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258093 KEISHLA M RIVERA RAMOS                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258094 KEISHLA M SANTIAGO CRUZ                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258095 KEISHLA M SURILLO                           REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   258096 KEISHLA M VAZQUEZ QUINONES REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   258097 KEISHLA M. NOGUERAS GUZMAN REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   258098 KEISHLA M. RIVERA VALENTINE                 REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   258099 KEISHLA MALDONADO BERRIOS                   REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   258100 KEISHLA MARIE MARTINEZ LEON                 REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KEISHLA MARY MACHADO
   258102 HUERTAS                                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258103 KEISHLA MAYA LOPEZ                          REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258104 KEISHLA MERCADO SANTIAGO                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258105 KEISHLA NAZARIO RIVERA                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694481 KEISHLA PALMA MARTINEZ                      ROYAL GARDENS          D 4 CALLE ESTHER                                                                     BAYAMON             PR           00957
   258107 KEISHLA PROSPERE SOSA                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258108 KEISHLA RIOS NIEVES                         REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258109 KEISHLA RIVERA DIAZ                         REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258110 KEISHLA RODRIGUEZ RIVERA                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258111 KEISHLA RODRIGUEZ TORRES                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694483 KEISHLA ROSADO OLIVERAS                     EMBALSE SAN JOSE       335 CALLE CASTUERA                                                                   SAN JUAN            PR           00923



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  258112 KEISHLA SANTIAGO RAICES                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258114 KEISHLA SUAREZ VELEZ                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258115 KEISHLA TIRADO VALENTIN                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258116 KEISHLA TORRES MEDINA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258117 KEISHLA VALENTIN CHINEA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   258118 KEISHLEY SANTIAGO GONZALEZ                  REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258119 KEISHLY A BERMUDEZ ORTIZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   258120 KEISHLY M MELENDEZ MONGE                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258121 KEISLA PASSAPERA BARBOSA                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258123 KEISSA LIZ MORALES MEDINA                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258124 KEITH A GRAFFAM                             REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258125 KEITH A SOTO FRAGOSO                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694485 KEITH B JOHNSON                             PSC 1008 BOX 3023 FPO AA                                                                                         CEIBA               PR         34051
   694486 KEITH CRUDUP MASSEY                         P O BOX 588                                                                                                      RIO BLANCO          PR         00744

   258126 KEITH E MC FARQUHAR HOSINE                  REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258127 KEITH EDWIN TAPIA                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          KEITH M MALDONADO
   258128 MALDONADO                                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258129 KEITH VEGA RIVERA                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694487 KEITHA V PAREDES MEDINA                     PO BOX 1063                                                                                                      ISABELA             PR         00662
   694488 KEITHY L SANTANA VEGA                       PO BOX 606                                                                                                       NAGUABO             PR         00744
   258130 KEITZA M VARGAS COLON                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258131 KEIZIA RIVERA CIDELY                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258132 KEJO LIMITED COMPANY                        1201 S HIGHLAND AVE                                                                                              CLEARWATER          FL         033756
   258133 KEKO AUTO PAINTING                          259 GUAYAMA ST                                                                                                   HATO REY            PR         00917
   694490 KEKO AUTO PAINTING INC                      259 CALLE GUAYAMA                                                                                                SAN JUAN            PR         00917
   258134 KELEB J VERA RAMOS                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258135 KELEHER & ASSOCIATES, LLC                   1210 35TH STREET NW                                                                                              WASHINGTON          WA         20007
   694492 KELIA M ADORNO FIGUEROA                     PO BOX 271                                                                                                       MOROVIS             PR         00687

   258137 KELIBETH MALDONADO VELEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258138 KELIMER OCASIO PAGAN                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258140 KELINETH CANALES RIVERA                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694493 KELISHA PADRO TORRES                        RES MANUEL A PEREZ         EDIF D 11 APT 131                                                                     SAN JUAN            PR         00923
   258142 KELITZA QUINONES                            REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694494 KELLAIRA LOZADA SEDA                        SAN JOSE                   461 CALLE BAENA                                                                       SAN JUAN            PR         00928
   258143 KELLANIE A CRUZ MORALES                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694495 KELLER L VAZQUEZ MESTRE                     LOS ANGELES                V 24 CALLE L                                                                          CAROLINA            PR         00979
   258147 KELLI KILLINGSWORTH                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          KELLIAMS L MARTINEZ
   258148 HERNANDEZ                                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694497 KELLIE M HAMMAND RIVERA                     VILLA PLATA MAMEYAL        L 7 CALLE 21                                                                          DORADO              PR         00646
   258150 KELLIE M. MUNIZ VELAZQUEZ                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258151 KELLOGG COMPANY                             67 W MICHIGAN AVE          PO BOX 3200                                                                           BATTLE GREEK        MI         49016
   694498 KELLOGGS SNACKS                             PO BOX 50004                                                                                                     SAN JUAN            PR         00902‐0004
   694499 KELLY A CASTRO SANTOS                       30 CALLE VIRTUD                                                                                                  PONCE               PR         00731
   258153 KELLY ALAMO SANTIAGO                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694500 KELLY ALVAREZ                               PO BOX 366888                                                                                                    SAN JUAN            PR         00936
   258154 KELLY ANN REAGAN LOPEZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258156 KELLY BUS LINE                              EDIF CENTRO NOVIOS PLAZA   475 AVE HOSTOS SUITE 207                                                              MAYAGUEZ            PR         00680‐1554



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MML ID                 NAME                                     ADDRESS 1                     ADDRESS 2              ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  258159 KELLY BUS LINE, INC                          HC‐06 BOX 62388                                                                                                MAYAGUEZ          PR         00680
  258165 KELLY DURAN ALVAREZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  694501 KELLY E KENYON                               PO BOX 2002 155                                                                                                CEIBA             PR         00735 2002
  258166 KELLY GOMEZ CASTRO                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258167 KELLY I CARI ARVELO                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258168 KELLY JAN C                                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  694502 KELLY L ZAYAS ESCUDERO                       URB LEVITTOWN                2068 PASEO ATENAS                                                                 TOA BAJA          PR         00949
  258169 KELLY MALTES                                 REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  694503 KELLY MILLER MARTINEZ                        URB DELICIAS                 D 22 CALLE 3                                                                      PONCE             PR         00731

   258170 KELLY NICOLE NIEVES SANTIAGO                REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694504 KELLY OLIVERAS CASTILLO                     PO BOX 7126                                                                                                    PONCE             PR         00732
          KELLY RICARDO TORRES
   694505 VENTURA`                                    PO BOX 824                                                                                                     VILLALBA          PR         00766
   258172 KELLY RIVERO ALEN                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   258173 KELLY SEGARRA NUNEZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  1256620 KELLY SERVICES                              REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   258174 KELLY SERVICES INC                          999 WEST BIG BEAVER ROAD                                                                                       TROY              MI         48084‐4782

   258178 KELLY SERVICES INCSEC SOC INC P O BOX 198477                                                                                                               ATLANTA           GA         30384‐8477

   258179 KELLY SERVICES PUERTO RICO                  250 MUNOZ RIVERA SUITE 704                                                                                     HATO REY          PR         00918

   694507 KELLY SHARI SUAREZ TABOADA                  PO BOX 371701                                                                                                  CAYEY             PR         00737
   694508 KELLY SPRINGFIELD P R                       PO BOX 218                                                                                                     BAYAMON           PR         00960
   258180 KELLY SURINA                                REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694509 KELLY TORRES CINTRON                        HC 01 BOX 4465                                                                                                 VILLALBA          PR         00766
   694510 KELLYNES FRATICELI AQUINO                   URB CABRERA                  B 10                                                                              UTUADO            PR         00641
   694511 KELLYNES NIEVES ROMAN                       URB LA PROVIDENCIA           2311 CALLE SUARE                                                                  PONCE             PR         00728‐3136
   694512 KELLYS ALUMINUM & GLASS                     BDA SAN ISIDRO               C 78 CALLE CARRERA                                                                SABANA GRANDE     PR         00637

   258184 KELMESSA CONCEPCION ORTEGA REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   258185 KELMIS BAEZ DE LEON        REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694513 KELMY MORALES              P O BOX 2911                                                                                                                    MAYAGUEZ          PR         00681

   694514 KELSEY D RAMIREZ ALVARADO                   PO BOX 220                                                                                                     PATILLAS          PR         00723
   694515 KELSIE D GARCIA MONTALVO                    RR 03 BOX 2710                                                                                                 TOA ALTA          PR         00953
   258186 KELSIS A ORTIZ TORRES                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   258187 KELVIN A ALICEA SOTO                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   258188 KELVIN A AVARADO ORTIZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   258189 KELVIN A COMULADA LUGO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694518 KELVIN A DEL ROSARIO MELO                   URB ALTAMESA 1695            CALLE SANTA ELENA                                                                 SAN JUAN          PR         00921
   258190 KELVIN A FUENTES COLON                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694519 KELVIN A MARRERO NABLES                     BOX 810 BO DAGUAO                                                                                              NAGUABO           PR         00718
   258191 KELVIN A PEREZ SALAMAN                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          KELVIN A RODRIGUEZ DE LA
   258192 ROSA                                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   258193 KELVIN A SANTOS RIVERA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   258194 KELVIN ADORNO MARIN                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   258195 KELVIN ALVARADO ROSARIO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   258196 KELVIN ALVAREZ RIVERA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   258197 KELVIN APONTE SANTIAGO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   694521 KELVIN AVELO GARCIA                         HC 1 BOX 7151                                                                                                  AGUAS BUENAS      PR         00703



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MML ID                 NAME                                      ADDRESS 1               ADDRESS 2                   ADDRESS 3                           ADDRESS 4              CITY          STATE   POSTAL CODE        COUNTRY
          KELVIN AYALA VAZQUEZ Y
   258198 JESMARIE COLON                              REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258199 KELVIN BAEZ                                 REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258200 KELVIN BATISTA PEREZ                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258201 KELVIN BLANCO MELENDEZ                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258202 KELVIN C PEREZ VALENTIN                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258203 KELVIN CALCANO                              REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694522 KELVIN CARO PEREZ                           HC 5 BOX 61782                                                                                                 MAYAGUEZ            PR           00680
   258204 KELVIN CARRION RODRIGUEZ                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694523 KELVIN CASTILLO HENRIQUEZ                   80 ST NICOLAS PLACE     APTO 4 L                                                                               NEW YORK            NY           10032
   694524 KELVIN COFFIE MATOS                         PO BOX 505                                                                                                     SAN JUAN            PR           00622‐0505
   258206 KELVIN COLON CLAUSELL                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258207 KELVIN COLON ROJAS                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258208 KELVIN D ORTIZ ROMAN                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258209 KELVIN D. DIAZ                              REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258210 KELVIN DIAZ ALVARADO                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694525 KELVIN DIAZ DIAZ                            RR 2 BOX 729 CARRAIZO                                                                                          TRUJILLO ALTO       PR           00976
   258211 KELVIN E LABOY RIVERA                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258212 KELVIN E MORALES ROMAN                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694526 KELVIN E NEGRON SOTO                        VISTAMAR                C 397 CALLE CADIZ                                                                      CAROLINA            PR           00983

   694527 KELVIN E RODRIGUEZ BURGOS                   URB SAN ANTONIO         E 17 CALLE 5                                                                           HUMACAO             PR           00791

   258213 KELVIN F ALANCASTRO GOMEZ                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694528 KELVIN FIGUEROA GARAY                       HC 06 BOX 4377                                                                                                 TRUJILLO ALTO       PR           00976

   258214 KELVIN FIGUEROA MALDONADO                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258215 KELVIN GONZALEZ MUNOZ                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258216 KELVIN GONZALEZ RIVERA                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258217 KELVIN GUADALUPE VILLEGAS                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258218 KELVIN GUZMAN CRUZ                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258219 KELVIN HEREDIA VELAZQUEZ                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694530 KELVIN HERNANDEZ RODRIGUEZ URB VILLA BLANCA                         72 AVE JOSE GARRIDO                                                                    CAGUAS              PR           00725
   694531 KELVIN I SANTANA MARTINEZ  URB VILLA ANDALUCIA                      H 18 CALLE BEILEN                                                                      SAN JUAN            PR           00926
   694532 KELVIN J BERRIOS ROSADO    BO BARRANCAS                             HC 02 BOX 6935                                                                         BARRANQUITAS        PR           00794
   258220 KELVIN J CARTAGENA REYES   REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694533 KELVIN J CRUZ RUIZ         UNIVERSITY GARDENS                       A 4 CALLE 2                                                                            ARECIBO             PR           00612
   258221 KELVIN J CRUZ SANCHEZ      REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694534 KELVIN J FRONTANY HERNANDEZ URB MIRAFLORES                          11‐20 CALLE 23                                                                         BAYAMON             PR           00957
   258222 KELVIN J GONZALEZ DE JESUS  REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   258223 KELVIN J MACUCA MALDONADO                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694535 KELVIN J MORALES NEGRON                     HC 01 BOX 3013                                                                                                 VILLALBA            PR           00766
   258224 KELVIN J PEREZ                              REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258225 KELVIN J QUINONES SOTO                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258226 KELVIN J SANTIAGO ORTIZ                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694536 KELVIN J VELEZ CASTRO                       SAN JUAN PARK 1         CALLE LOS ANGELES APT A 2                                                              SAN JUAN            PR           00909
   258227 KELVIN JOEL QUINONES SOTO                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258228 KELVIN JOSE ORTIZ VIERA                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258229 KELVIN L RODRIGUEZ LEBRON                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258230 KELVIN LEON RIVERA                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  258231 KELVIN LOPEZ COLON                           REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258232 KELVIN LOPEZ LOPEZ                           REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258233 KELVIN LOPEZ PIZARRO                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258234 KELVIN M CORTES FUENTES                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   258235 KELVIN M DELGADO RODRIGUEZ REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258236 KELVIN M MELENDEZ CRUZ     REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694538 KELVIN M RAMOS SILVA       BO GUAYABOS LA MAYOR                    7 CALLE B                                                                             ISABELA             PR         00662
   694539 KELVIN M SILVA VAZQUEZ     PO BOX 1920                                                                                                                   YABUCOA             PR         00767
          KELVIN MALDONADO
   694540 HERNANDEZ                  HC 03 BOX 5664                                                                                                                HUMACAO             PR         00791

   258237 KELVIN MALDONADO SANTIAGO                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694541 KELVIN MARIANI ORTIZ                        90 CALLE MORSE                                                                                               ARROYO              PR         00714
   258238 KELVIN MELENDEZ COLON                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258240 KELVIN MONROIG GUZMAN                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258241 KELVIN N SANTIAGO CABAN                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694543 KELVIN N TEXEIRA CORTES                     PO BOX 240                                                                                                   SANTA ISABEL        PR         00757
   694544 KELVIN NEGRON GARCIA                        URB LAS ALONDRAS       B 80 MARGINAL                                                                         VILLALBA            PR         00756
   258242 KELVIN NEGRON LOPEZ                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258243 KELVIN NEGRON MARTINEZ                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258244 KELVIN O BERMUDEZ LOPEZ                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258245 KELVIN O MERLE MEDINA                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258246 KELVIN O MORALES CRUZ                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258247 KELVIN O PEREIRA GONZALEZ                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694545 KELVIN ORTIZ GARCIA                         URB VILLA COOERATIVA   L 55 CALLE 1                                                                          CAROLINA            PR         00985
   694546 KELVIN ORTIZ RIVERA                         HC 01 BOX 3694                                                                                               LAS MARIAS          PR         00670
   258248 KELVIN ORTIZ ROSARIO                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258249 KELVIN OTERO BURGOS                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694547 KELVIN OTERO OYOLA                          HC 01 BOX 7134                                                                                               AGUAS BUENAS        PR         00703
   694550 KELVIN PEREZ RIVERA                         BO CERRO GORDO         CARR 150 KM 10.1 INT                                                                  VILLALBA            PR         00766
          KELVIN PIZZA / GUADALUPE
   694551 MELENDEZ OLMEDA                             BOX 466                                                                                                      OROCOVIS            PR         00720
   694552 KELVIN R COLON SANTIAGO                     URB LA MARGARITA       D 6 CALLE C                                                                           SALINAS             PR         00751
   258250 KELVIN R MARTINEZ COLON                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694553 KELVIN R ORONA COLLAZO                      COM SABANA HOYO I      SOLAR 186                                                                             ARECIBO             PR         00612
   258251 KELVIN R TORRES BERMEJO                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258253 KELVIN RIVERA ALCOVER                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694554 KELVIN RIVERA FEBO                          URB EL PILAR           76 CALLE JAVIER ZEQUEIRA                                                              CANOVANAS           PR         00729
   258254 KELVIN RIVERA FIGUEROA                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   694555 KELVIN RODRIGUEZ ALVARADO                   HC 01 BOX 27730                                                                                              CAMUY               PR         00627

   694556 KELVIN RODRIGUEZ CARABALLE                  PO BOX 560748                                                                                                GUAYANILLA          PR         00656

   258255 KELVIN RODRIGUEZ MARQUEZ                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258256 KELVIN RODRIGUEZ MOJICA                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694557 KELVIN RUIZ MOLINARI                        HC 1 BOX 6632                                                                                                GUAYANILLA          PR         00656
   258257 KELVIN RUIZ VILLANUEVA                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258258 KELVIN S ADORNO MARIN                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258259 KELVIN S MARRERO ROSARIO                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258260 KELVIN SERRANO BLANCO                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258261 KELVIN SERRANO LOPEZ                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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  694559 KELVIN SERRANO RODRIGUEZ                     URB VILLA SERENA        K 12 CALLE GLADIOLA                                                                    ARECIBO             PR         00612
  694560 KELVIN SERRRANO MARTINEZ                     HC 3 BOX 12158                                                                                                 YAUCO               PR         00767
  258262 KELVIN SOTO REYES                            REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258263 KELVIN TORRES APONTE                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258264 KELVIN TORRES DE JESUS                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  694516 KELVIN TORRES RENTAS                         P O BOX 4652                                                                                                   VILLALBA            PR         00766
  258265 KELVIN VARGAS OCASIO                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258266 KELVIN VAZQUEZ ROSADO                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   258267 KELVIN VELAZQUEZ HERNANDEZ                  REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258268 KELVIN VELEZ GARCIA                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694561 KELVIN VELEZ TORRES                         BUZON 5‐196             BO GALATEO ALTO                                                                        ISABELA             PR         11662
   694562 KELVIN VIRELLA RODRIGUEZ                    LAS CUMBRES             497 AVE EPOLL SUITE 96                                                                 SAN JUAN            PR         00926
   258270 KELVIN WILLIAM PEREZ ALEJO                  REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   694563 KELVIN WILSON GONZALEZ CRUZ PO BOX 1239                                                                                                                    MOCA                PR         00676

   258271 KELVIN X GONZALEZ SERRANO                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   258272 KELVIN Y RUIZ MOLINARI                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   258273 KELVIN YAMBO POGGY                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   258274 Kelvindranath Perez Gutierrez               REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   258275 KELWIN PAGAN GONZALEZ                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   258276 KELWIN POLONIO SANTIAGO                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
          KEM CONSTUCTION / PROJECT
   258277 MANAGEMENT                                  URB SABANERA DEL RIO    178 CALLE LOS FLAMBOYANES                                                              GURABO              PR         00778
                                                                              644 AVE FERNANDEZ JUNCOS
   770680 KEM CONSULTING GROUP                        DISTRICT VIEW PLAZA     STE 201                                                                                SAN JUAN            PR         00907‐3122
   258278 KEM TECH CHEMICAL IND                       PO BOX 8450                                                                                                    SAN JUAN            PR         00910

   258281 KEMERIE ROSARIO RODRIGUEZ                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258282 KEMERY MONTES DIAZ                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694564 KEMMA SOFTWARE                              2919 EAST HARDIES RD                                                                                           GIBSONIA            PA         15044
   258283 KEMP MD , GEORGE M                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   258284 KEMPHYS MORALES MONTALVO REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   258285 KEMUEL A IZQUIERDO VAZQUEZ REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   258286 KEMUEL A RODRIGUEZ RIVERA                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694565 KEMUEL FIGUEROA BERRIOS                     URB PARK GARDENS X 13   CALLE YORKSHIRE                                                                        SAN JUAN            PR         00926
   258287 KEMUEL FONSECA SANCHEZ                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694566 KEMUEL TANCO VALCARCEL                      RR 3 BOX 5387                                                                                                  SAN JUAN            PR         00926
   258288 KEN A HERNANDEZ VARELA                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258289 KEN AIR CONTRACTORS                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          KEN COMPUTER Y/O JORGE A
   694567 DIAZ                                        VALLE DE CERRO GORDO    U 8 CALLE TURQUESA                                                                     BAYAMON             PR         00957
   258290 KEN F CHAN YAU                              REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258291 KEN FRENCH GROUP                            PMB 484                 90 AVE RIO HONDO                                                                       BAYAMON             PR         00961
          KENAN YALIEL MEDINA
   258292 MIRANDA                                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258293 KENDA TORRES ORTIZ                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258294 KENDAL O CALDERON PEREZ                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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          KENDALL DINIELLI CONSULTING
   258295 LLC                                         2095 HWY AIA              4502 INDIAN HARBOUR BEACH                                                              FLORIDA             FL           32937
   694569 KENDALL E KRANS NEGRON                      P O BOX 363614                                                                                                   SAN JUAN            PR           00936
   694570 KENDALL KRANS LAW OFFICES                   PMB 283 B 5               TABONUCO STREEL STE A9                                                                 GUAYNABO            PR           00968‐3003
   258297 KENDALL L REYES MEDINA                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694571 KENDALL RODRIGUEZ AULLET                    PO BOX 1438                                                                                                      CAROLINA            PR           00984‐1438
          KENDALL Y CORCHADO
   258298 MARTINEZ                                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   258299 KENDALL Y KRANS MALDONADO                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258301 KENDRA CARABALLO LOPEZ                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694573 KENDRA GOMEZ SANTIAGO                       RR 3 BOX 10866                                                                                                   TOA ALTA            PR           00953
   694574 KENDRA J ROJAS LOPEZ                        URB LUQUILLO MAR          G HH 78 CALLE 3                                                                        LUQUILLO            PR           00733
   258302 KENDRA K. SIERRA PINERO                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   258303 KENDRA L QUINONES PIZARRO                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694576 KENDRA M IRIZARRY PAGAN                     URB SULTANA               54 CALLE MUDEJAR                                                                       MAYAGUEZ            PR           00680
   258305 KENDRA PAGAN ABADIAS                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694577 KENDRA PERALES GARCIA                       VILLA ESPERANZA           BZN 1631 C 11 CENTRO                                                                   CAROLINA            PR           00985
   258306 KENDRA V CARABALLO LOPEZ                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694578 KENDRA WESTERBAND ORTIZ                     HC 1 BOX 7839                                                                                                    PATILLAS            PR           00723
   258307 KENDYS PIMENTEL SOTO                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258308 KENELL L PELLOT ORTIZ                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694580 KENETH GONZALEZ SAEZ                        PO BOX 267                                                                                                       COAMO               PR           00769
   258311 KENETH RIVERO TRINIDAD                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258312 KENETH RODRIGUEZ ORTIZ                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258313 KENFRENCH GROUP, INC.                       PMB 484 #90               AVE. RIO HONDO                                                                         BAYAMON             PR           00961‐3105
   258314 KENGIE DUARTE MENDOZA                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258315 KENGIE LUCIANO RUPERTO                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694581 KENIA ALEJANDRO PENA                        URB LOS ALMENDRO          F4 CALLE 1                                                                             JUNCOS              PR           00777
   694582 KENIA ALMONTE                               URB SANTA TERESITA        2205 CALLE CACIQUE                                                                     SANTURCE            PR           00913
   694583 KENIA C HERNANDEZ RAMOS                     BOX 1192                                                                                                         RIO GRANDE          PR           00745
   694584 KENIA CRISPIN DIAZ                          COND QUINTANA APT 713 A                                                                                          SAN JUAN            PR           00917
   694585 KENIA E CARABALLO RIVERA                    CAPARRA TERRACE           1345 CALLE DIEPA                                                                       RIO PIEDRA          PR           00920
   258316 KENIA E OCASIO MARTINEZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694586 KENIA E RODRIGUEZ FLECHA                    PO BOX 117                                                                                                       BAYAMON             PR           00957
   694587 KENIA J MINAYA SORIANO                      URB VALENCIA              310 CALLE LERIDA                                                                       SAN JUAN            PR           00923‐1919
   694588 KENIA L ACEVEDO IRIZARRY                    PO BOX 9021112                                                                                                   SAN JUAN            PR           00902
                                                      PARC PALO BLANCO BO
   694589 KENIA L AVILES RIOS                         MIRAFLORES                259 CALLE 10                                                                           ARECIBO             PR           00612
   258317 KENIA LEYBA JOSE                            REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694590 KENIA LOZADA CACERES                        STA MONICA                AM 13 CALLE 6                                                                          BAYAMON             PR           00957

   694591 KENIA M CARABALLO PIZARRO                   CALLEJON BULON            287 CARR 21 KM 3 H 4                                                                   RIO PIEDRAS         PR           00921
          KENIA M.RODRIGUEZ
   258318 RODRIGUEZ                                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258319 KENIA N MEDINA TEJADA                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258320 KENIA OJEDA OTERO                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      1057 CALLE FERNANDEZ
   694592 KENIA ORTIZ SARANTE                         CAMPOS                    APT A 1                                                                                SAN JUAN            PR           00907
   258321 KENIA S HERNANDEZ                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694594 KENIA SOTO                                  URB CAPARRA TERRACE       1426 CALLE Z O S O                                                                     SAN JUAN            PR           00921
   258322 KENIALIS ESTRADA COLON                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  258323 KENIALIZ CASTRO ORTIZ                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258324 KENICHI CRUZ PLUMEY                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  694596 KENIS GUERRA HERNANDEZ                       URB LOS ANGELES              3 W 21 CALLE Q                                                                            CAROLINA            PR         00979
         KENJEMUEL FERNANDEZ
  258325 PESANTE                                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258326 KENLLA COLON LABRADOR                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  694597 KENNAYRA L SOTO SERRANO                      EXT ZENO GANDIA                                                                                                        ARECIBO             PR         00612
  258327 KENNCH RIVERA NATER                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   258328 KENNEDY ELEMENTARY, JOHN F. PO BOX 80,000 PMB 236                                                                                                                  ISABELA             PR         00662
   258329 KENNEDY MD, RICHARD         REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

          KENNEDY MEMORIAL HOSPITALS
   258330 UNIVERSITY MEDICAL         2201 W CHAPEL AVE                                                                                                                       CHERRY HILL         NJ         08002‐2048
   258331 KENNEDY R LEON GUTIERREZ   REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694598 KENNEDY SALGADO VEGA       URB FOREST HILLS                              280 CALLE 15                                                                              BAYAMON             PR         00959
   258333 KENNET BURGOS PEREZ        REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258334 KENNET CALDERON ORTIZ      REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   694599 KENNETH A BONILLA TOSADO                    REPARTO FLAMINGO             I 34 CALLE SULTANA DEL OESTE                                                              BAYAMON             PR         00959

   694600 KENNETH A CAMACHO HORRACH HC 01 BOX 5889                                                                                                                           SAN GERMAN          PR         00683

   258335 KENNETH A FUENTES NEGRON                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   258336 KENNETH A GONZALEZ VARGAS                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694601 KENNETH A HADDOCK RIVERA                    URB RIBERAS DEL RIO          B 16 CALLE 5                                                                              BAYAMON             PR         00959

   258337 KENNETH A REXACH GONZALEZ                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   694602 KENNETH A ROSADO ALVAREZ                    URB SANTA JUANITA            LL 31 CALLE 28                                                                            BAYAMON             PR         00959
   258338 KENNETH A VALENTIN MATOS                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258339 KENNETH A VIGO ACEVEDO                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694603 KENNETH ALLEN                               HERBER M WELLS BUILDING      160 EAST 300 SOUTH             BOX146705                                                  SALT LAKE CITY      UT         84114‐6705
   258340 KENNETH ALVARADO                            REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258341 KENNETH ARROYO MALAVE                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694605 KENNETH ARZOLA MARTINEZ                     CASTELLAN GDNS               F‐10 CALLE 5                                                                              CAROLINA            PR         00983
   258342 KENNETH AYALA HERNANDEZ                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258343 KENNETH BAEZ NIEVES                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   258344 KENNETH BETANCOURT FLORES                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694607 KENNETH BORIA RODRIGUEZ                     PARC LA DOLORES              89B CALLE ARGENTINA                                                                       RIO GRANDE          PR         00745‐2351
   258345 KENNETH BRUTON MOLINA                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694608 KENNETH BURGOS QUIROS                       URB STA ELENA                B 11 A CALLE 1                                                                            SABANA GRANDE       PR         00637
   258347 KENNETH C OLIVER MENDEZ                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694610 KENNETH C SURIA                             PO BOX 9023596                                                                                                         SAN JUAN            PR         00902‐3596

   258348 KENNETH CAR RENTAL, INC                     COND PLAYA SERENA APT 1008                                                                                             CAROLINA            PR         00979
          KENNETH CARRASQUILLO
  1256621 VAZQUEZ                                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694611 KENNETH CASTILLO                            RIO PIEDRAS HEIGHTS          1650 CALLE TIBER                                                                          SAN JUAN            PR         00926
   694612 KENNETH CEMBALEST JUARBE                    URB RIVERA DEL RIO           H 21 CALLE 6                                                                              BAYAMON             PR         00959
   258350 KENNETH COLON ALICEA                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  258351 Kenneth Colon Rivera                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  694614 KENNETH CORTES PABON                         P O BOX 5946                                                                                                       MAYAGUEZ            PR         00681
  258352 KENNETH CRESPO MUPHY                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  694616 KENNETH CRUZ TORRES                          EL VALLE                      233 CALLE FLAMBOYAN                                                                  LAJAS               PR         00667
  694617 KENNETH DAVILA                               REPARTO METROPOLITANO         917 CALLE 1 S E                                                                      SAN JUAN            PR         00921
  694618 KENNETH DAVILA PIZARRO                       EXT PARQUE ECUESTRE           G 3 CALLE 11                                                                         CAROLINA            PR         00987
  258353 KENNETH DIAZ CRUZ                            REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  694619 KENNETH E FELIPE ALVARADO                    P O BOX 1808                                                                                                       OROCOVIS            PR         00920
         KENNETH E RAMIREZ
  694620 MONTALVO                                     URB ALTAGRACIA                K 35 CALLE 11                                                                        TOA BAJA            PR         00949
  694621 KENNETH E SALYER ASSOC                       7777 FOREST LN STE C 717                                                                                           DALLAS              TX         75230

   694622 KENNETH E VEGA SWEET                        HC 764 BOX 6205 BO APEADERO                                                                                        PATILLAS            PR         00723
          KENNETH ENCARNACION
   258354 ESCOBAR                                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694623 KENNETH F SANTIAGO FEBRES                   VILLA DEL CARMEN              2960 CALLE TUDELA                                                                    PONCE               PR         00717‐2246

   694624 KENNETH FELICIANO RODRIGUEZ VISTAS DEL VALLE                              72 ACROPOLIS                                                                         MANATI              PR         00674
   258355 KENNETH G FLORES RUIZ       REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694625 KENNETH G KELLY PHD         3726 MONROE ST                                                                                                                     COLUMBIA            SC         29205
   258356 KENNETH GARCIA DE JESUS     REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258357 KENNETH GONZALEZ PEREZ      REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258358 KENNETH H LUGO MORALES      REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                      13 RIVERDALE DRIVE DIEGO
   694626 KENNETH H MANCHOUCK         MARTIN                                                                                                                             TRINIDAD TOBAGO                00000
   694627 KENNETH H SURIS ORTIZ       PO BOX 1561                                                                                                                        SAN GERMAN          PR         00683
   258359 KENNETH HENRIQUEZ RAMOS     REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694628 KENNETH I GLASSBERG         445 LENOX RD BOX 79                                                                                                                BROOKLIN            NY         11203
   694629 KENNETH J ALMODOVAR         URB PUEBLO NUEVO                              26 CALLE JADE                                                                        SAN GERMAN          PR         00683
          KENNETH J ALVARADO
   694630 ALVARADO                    P O BOX 3330                                  BAYAMON GARDENS STATION                                                              BAYAMON             PR         00958
   694631 KENNETH J ANDERSON          BOX 20002 230                                                                                                                      CEIBA               PR         00735‐2002
   258360 KENNETH J ARROYO PADILLA    REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   694632 KENNETH J COLONDRES RIVERA                  COND CAMINO REAL              1500 CARR 19 APT C 204                                                               GUAYNABO            PR         00969

   694633 KENNETH J GOMEZ MEDINA                      232 AVE ELEONOR ROOSEVELT                                                                                          SAN JUAN            PR         00907
   258361 KENNETH J JIMENEZ                           REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258362 KENNETH J MEDINA CALCANO                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   258363 KENNETH J MORALES GONZALEZ REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   258364 KENNETH J PIZARRO BERNARD                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   258365 KENNETH J RODRIGUEZ SANTOS                  REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694634 KENNETH JACKSON RIVERA                      HC 1 BOX 8828 EL VERDE                                                                                             RIO GRANDE          PR         00745
   694635 KENNETH JIMENEZ ROSADO                      URB LOMAS VERDES              5 CALLE DD                                                                           MAYAGUEZ            PR         00680
          KENNETH JOHN HERNANDEZ
   258367 RIVERA                                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258368 KENNETH KENDALL                             REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258369 KENNETH L GONZALEZ ORTIZ                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694636 KENNETH L SUMRALL                           P O BOX 34336                                                                                                      FORT BUCHANAN       PR         00934
   258370 KENNETH LA SALLE MERCED                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  694637 KENNETH LABRADOR COLL                        URB BERWING ESTATES        6B CALLE 1                                                                        SAN JUAN              PR         00924
  694638 KENNETH LEBRON RIVERA                        BO POLVORIN                4 COTO SUR                                                                        MANATI                PR         00674
  258371 KENNETH LOPEZ GARCIA                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  258372 KENNETH LOPEZ RIOS                           REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  258374 KENNETH MARQUEZ PINERO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  258375 KENNETH MARTINEZ                             REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   258377 KENNETH MONTALVO MARTINEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   694639 KENNETH MONTALVO PADILLA                    VISTAS DE LUQUILLO         D 44 CALLE V 2                                                                    LUQUILLO              PR         00773
   694640 KENNETH N PASTOR VARGAS                     URB VALLE HERMOSO          SY 22 CALLE LOTO                                                                  HORMIGUEROS           PR         00660

   694641 KENNETH NAVARRO POMALES                     PO BOX 1891                                                                                                  GUAYAMA               PR         00785

   258379 KENNETH O TORRES GONZALEZ                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   694642 KENNETH OFOSU BARKO                         MANS DE GUAYNABO           B3 CALLE 2                                                                        GUAYNABO              PR         00969
          KENNETH OMAR BETANCOURT
   694643 CAMACHO                                     VALPARAISO                 A 8 CALLE 1                                                                       LEVITTOWN             PR         00949
   694644 KENNETH ORTIZ DE JESUS                      COND SIERRA ALTA           200 CARR 842 APT 66                                                               SAN JUAN              PR         00926‐9659

   258380 KENNETH P CHRISTIAN RIVERA                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
                                                      URB VISTA VERDE 24 CALLE
   694646 KENNETH P SMITH                             CORAL                                                                                                        MAYAGUEZ              PR         00680‐2508
   258382 KENNETH PARRILLA RIVERA                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
          KENNETH PEREZ
   258383 MENDOZA/FELIX A PEREZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   694648 KENNETH R ALPER                             18 EAST 42ST SUITE 1203                                                                                      NEW YORK              NY         10017
   694649 KENNETH R HILLMAN                           PO BOX 325                                                                                                   LAJAS                 PR         00667

   694650 KENNETH R RIVERA SANTIAGO                   PO BOX 9021112                                                                                               SAN JUAN              PR         00902‐1112
   258384 KENNETH R. ALPER                            REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   258385 KENNETH RIVERA ROSA                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   258386 KENNETH ROBLES JIMENEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   258387 KENNETH RODRIGUEZ ESPADA                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   694652 KENNETH RODRIGUEZ GONZALEZ HC 11 BOX 13049                                                                                                               HUMACAO               PR         00791
   694653 KENNETH ROMERO CRUZ        151 AVE DE DIEGO SUITE B                                                                                                      SAN JUAN              PR         00911

   694654 KENNETH ROSADO CASTELLANO                   107 BALDORIOTY                                                                                               MOROVIS               PR         00687
   258388 KENNETH ROSARIO DE JESUS                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   258389 KENNETH ROSARIO ORTIZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
          KENNETH SCOTT VILLANUEVA
   258390 RIVERA                                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   694655 KENNETH SNELSON INC                         37 WEST 12TH STREET                                                                                          NEW YORK CITY         NY         10011
   694660 KENNETH TORRES REYES                        SANTA CLARA                32 CALLE APOLO                                                                    JAYUYA                PR         00664
   694661 KENNETH VELEZ CASTILLO                      JARD DEL CARIBE            5240 CALLE ROMBOIDAL                                                              PONCE                 PR         00728‐3511
   258396 KENNETH W YOUNG CENTERS                     MEDICAL RECORDS DEPT       1001 ROHLWING RD                                                                  ELK GROVE VILLAGE     IL         60007
          KENNETH Y CRESPO MATOS/
   258397 ASHLEY M MATOS                              REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
          KENNETH Y MARTINEZ
   258398 LOZADA/MARIELBA                             REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   258399 KENNETH Y PEREIRA ALVEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED



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          KENNETH YANUEL MARRERO
   258400 ROBLES                                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   694664 KENNIA L RIVERA RIVERA                      PO BOX 6007                                                                                                            CAROLINA             PR           00985‐6007
   694665 KENNIE ACEVEDO COLON                        REPARTO LAS MARIAS           24 CALLE A                                                                                JUANA DIAZ           PR           00795
          KENNIEL Y RIVERA / INDIABEL
   258401 GONZALEZ                                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   694666 KENNIZ L RIVERA RIVERA                      P O BOX 6007                                                                                                           CAROLINA             PR           00985‐6007
   258402 KENNY A CARTAGENA RAMOS                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   694667 KENNY A. DIAZ GUARDIOLA                     PO BOX 835                                                                                                             VEGA ALTA            PR           00692
   694668 KENNY CABRERA GARCIA                        P O BOX 989                                                                                                            AIBONITO             PR           00705

   258403 KENNY CARABALLO RODRIGUEZ                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   694669 KENNY CARMONA                               VILLA ESPERANZA              A 118 CALLE PROGRESO                                                                      CAROLINA             PR           00982
   694670 KENNY CASTRO PAGAN                          A 15 URB VILLA REAL                                                                                                    LARES                PR           00669

   694671 KENNY COLON GONZALEZ                        COND TORRES DE CERVANTES     CALLE EIDER APT 915 B                                                                     SAN JUAN             PR           00924
   258404 KENNY DIAZ CRUZ                             REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   694672 KENNY G MERCADO RODRIGUEZ P O BOX 1181                                                                                                                             SABANA GRANDE        PR           00637‐1181
   694673 KENNY G RIVERA TIRADO     AVE MONSERRATE                                 12 BLOQUE143 CALLE 401                                                                    CAROLINA             PR           00985

   694674 KENNY GONZALEZ CARMONA                      COND TOWN HOUSE              500 CALLE GUAYANILLA APT 804                                                              SAN JUAN             PR           00923
   694675 KENNY GUERRA ALCAZAR                        PO BOX 240                                                                                                             SANTA ISABEL         PR           00757
   694676 KENNY IRIZARRY BAEZ                         P O BOX 1136                                                                                                           SAN GERMAN           PR           00683
                                                                                   48 CALLE 3 PARC MARIANO
   694677 KENNY J COLON ALVARADO                      RIO JUEYES                   COLON                                                                                     COAMO                PR           00769
   694678 KENNY J CRUZ                                HC 763 BOX 3770                                                                                                        PATILLAS             PR           00723
   258406 KENNY J GUTIERREZ VELEZ                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   258407 KENNY L KUILAN NARVAEZ                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   258408 KENNY L RAMOS BURGOS                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   694679 KENNY L. LORENZO VARGAS                     URB. COSTA SUR CALLE G G‐3                                                                                             YAUCO                PR           00698
   694680 KENNY LIANG                                 90 URB PASEO DE PRADO                                                                                                  CAROLINA             PR           00987
   258409 KENNY MONTALVO REYES                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          KENNY O GALARZA AROCHO
   694681 ELIZABETH AROCHO                            HC 03 BOX 11797                                                                                                        JUANA DIAZ           PR           00795
   258410 KENNY PEREZ MIRANDA                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   258412 KENNY RIVERA MORALES                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   694683 KENNY RIVERA RODRIGUEZ                      1 SAN LORENZO                APTS OFIC 71                                                                              SAN LORENZO          PR           00754‐3738
                                                                                   SECTOR LOS PONES CARR 1 KM
   694684 KENNY RODRIGUEZ ESCRIBANO                   BO BEATRIZ                   44 9                                                                                      CAGUAS               PR           00725

   694685 KENNY S GONZALEZ CONTRERAS                  P O BOX 126                                                                                                            SAN LORENZO          PR           00754
   694686 KENNY SANCHEZ AYALA                         HC 5 BOX 50618                                                                                                         MAYAGUEZ             PR           00680
   258413 KENNY SANTIAGO AREVALO                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   258414 KENNY SANTOS COLON                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   694687 KENNY SIEBENS BORRELI                       BO SUSUA BAJA                192 CALLE AMAPOLAS                                                                        SABANA GRANDE        PR           00637
   258415 KENNY SIERRA VARGAS                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   694688 KENNY VEGA VEGA                             HC 10 BOX 6993                                                                                                         SABANA GRANDE        PR           00637
   694689 KENNY VELEZ GONZALEZ                        PO BOX 509                                                                                                             YAUCO                PR           00698
   694690 KENNY VELEZ LIZARDI                         COND BAYAMONTE               APTO 602                                                                                  BAYAMON              PR           00956

   258416 KENNYA S QUINONES NEGRONI                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  258417 KENNYEL SUAREZ CORTES                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  694691 KENNY'S BAKERY INC                           411 CALLE BALEARES                                                                                                SAN JUAN            PR         00920
         KENNYS BAKERY/JOSE
  694694 MONTALVO TRIAS                               TORRIMAR                     14‐22 CALLE GUANADA                                                                  GUAYNABO            PR         00966

   258418 KENRY FERNANDEZ GONZALEZ                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694695 KEN'S HOTEL CASA BLANCA                     4 CALLE ROSA                                                                                                      CAROLINA            PR         00979
   258419 KENSINGTON HOSPITAL                         PO BOX 19072                                                                                                      GREEN BAY           WI         54307‐9072

   258420 KENSINGTON MEDICAL CENTER                   PO BOX 556                                                                                                        PUEBLO              CO         81002
   258421 KENT MD , RAYMOND J                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694696 KENT METER/DBA ABB                          P O BOX 225                                                                                                       ISABELA             PR         00662

   258422 KENTUCKIANA PAIN SPECIALISTS                MEDICAL RECORDS              PO BOX 24261                                                                         LOUISVILLE          KY         40224‐0261
   694697 KENTUCKY FRIED CHICKEN                      PO BOX 11858                                                                                                      SAN JUAN            PR         00922‐1858
   258423 KENTUCKY STATE TRESURER                     1050 US HWY 127 SOUTH        SUITE 100                                                                            FRANKFORT           KY         40601
          KENTUCKY UNIVERSITY                         WESTWERN KENTUCKY            1 BIG RED WAY 344 TPH
   694698 RESEARCH FOUNDATION                         UNIVERSITY                   BOWLING                   GREEN                                                      KENTUCKY            KY         42101‐3576
                                                                                   HS 22 CALLE GREGORIA
   694699 KENY KEMPO RYU INC                          URB LEVITTOWN SEPTIMA SECC   LEDESMA                                                                              TOA BAJA            PR         00949
   258424 KENY RODRIGUEZ SANTIAGO                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258425 KENYA A GUERRA CESINO                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694700 KENYA M IZQUIERDO CRUZ                      HC 40 BOX 44615                                                                                                   SAN LORENZO         PR         00754
          KEOPS ENTERPRISES DBA /
   258426 OFFICE EQUIPMENT                            PO BOX 810138                                                                                                     CAROLINA            PR         00981‐0138

   258436 KERCADO ESTRADA & CO.                       CAPITAL CENTER SOUTH TOWER   239 ARTERIAL HOSTOS SUI                                                              SAN JUAN            PR         00918‐1478
  1420144 KERCADO MORÁN, EILEEN                       FRANCISCO SAN MIGUEL         PO BOX 190406                                                                        SAN JUAN            PR         00919
   258462 KERELENE SOTO LOPEZ                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258463 KEREM MAR TORRES AVILA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258464 KEREM VALENTIN ALVAREZ                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258465 KEREN ALGARIN SANCHEZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694701 KEREN E CLAUDIO VAZQUEZ                     VICTOR ROJAS II              CALLE 11‐79                                                                          ARECIBO             PR         00612
   694702 KEREN J REYES PEREZ                         LAS COLINAS                  K 46 CALLE 14                                                                        TOA BAJA            PR         00949

   258466 KEREN L SANCHEZ RODRIGUEZ                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694703 KEREN M NIEVES MERCED                       PO BOX 1151                                                                                                       AGUAS BUENAS        PR         00703
   694704 KEREN M OCASIO LOPEZ                        HC 1 BOX 5998                                                                                                     CIALES              PR         00638
   258467 KEREN M. ROSA GONZALEZ                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258468 KEREN MENDEZ RAMIREZ                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258469 KEREN PEREZ SILVESTRY                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258470 KEREN RIVERA COLON                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694705 KEREN RIVERA GONZALEZ                       PO BOX 3195                                                                                                       CAROLINA            PR         00984
   694707 KEREN ROSADO GONZALEZ                       CIUDAD JARDIN                41 CALLE AZALEA                                                                      TOA ALTA            PR         00953
   258472 KERESZTES MD , ROGER S                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258473 KERIC INC                                   156 CALLE DE DIEGO                                                                                                SAN JUAN            PR         00925
   694708 KERIGMA INC                                 ALFREDO VALLELLANES          PO BOX 2814                                                                          BAYAMON             PR         00961‐2814
   258474 KERISABEL SILVA SERRA                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694709 KERKY'S EXPRESS                             PO BOX 9024275                                                                                                    SAN JUAN            PR         00902‐4275

   258480 KERLA E BERMUDEZ HERNANDEZ REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   694711 KERLINDA DEGLANS OLIVENCIA                  EL PILAR                     1797 SANTA ISABEL                                                                    SAN JUAN            PR         00926



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  258481 KERLLY CORALEING TRINIDAD                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         KERLY CORREA/TOMASA ORTIZ
  694712 PINET                                        BO PARCELAS MEDIANIA BAJA    140 CALLE 7                                                                       LOIZA               PR         00772
  258482 KERMARENID RIVAS TORRES                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  694714 KERMELL OCASIO CABRERA                       EDIF PROFESSIONAL OFIC 104                                                                                     AIBONITO            PR         00705
  694715 KERMET J VELEZ FELIU                         URB TORRIMAR                 18‐6 CALLE ALCAZAR                                                                GUAYNABO            PR         00966

   258484 KERMIDT R TIRADO MERCADO                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   694717 KERMIDT R TROCHE MERCADO                    PO BOX 239                                                                                                     HATILLO             PR         00659‐0239
   694719 KERMIT BLACK                                HC 2 BOX 11424                                                                                                 LAJAS               PR         00667
   694720 KERMIT D NIEVES DE JESUS                    PO BOX 605                                                                                                     ARROYO              PR         00714
   258485 KERMIT J PEREZ RIVERA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258486 KERMIT LUGO GARCIA                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258487 KERMIT OLIVERA PEREZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258488 KERMIT ORTIZ MORALES                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258489 KERMIT PEREZ RODRIGUEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258490 KERMIT R TORO LOPEZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258491 KERMIT RIVERA DE LEON                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694724 KERMIT ROSADO CRUZ                          BUENA VISTA                  EE 31 CALLE RAMOS                                                                 BAYAMON             PR         00957
   258493 KERMIT SANTANA QUINONES                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258494 KERMIT SANTIAGO GARCIA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258495 KERMIT VEGA AQUINO                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   258496 KERMITH J VALDIVIESO SUAREZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694725 KERMITH SILVA HERNANDEZ     URB LOS ROSALES                              K3 CALLE 5                                                                        HUMACAO             PR         00791
   258497 KERMITH SUAREZ RODRIGUEZ    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694726 KERMITH VARGAS VARGAS       URB VALLE ALTO                               1229 CALLE PRADERA                                                                PONCE               PR         00730
   258498 KERMY E VARGAS RODRIGUEZ    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694727 KERNYS RAMIREZ ORTIZ        P O BOX 1508                                                                                                                   ARROYO              PR         00714
   694728 KEROM DEVELOPMENT INC       PO BOX 818                                                                                                                     SANTA ISABEL        PR         00757
   258502 KERR MD, CATHERINE          REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694729 KERRLIZ SANTOS RIVERA       VILLA FONTANA                                LL 8 VIA 23                                                                       CAROLINA            PR         00983
   694731 KERRY ROBLES ACEVEDO        A 2 GARDENS HILLS                            CLALE SERANIA                                                                     GUAYNABO            PR         00966
   258504 KERSTIN CRUZ MELENDEZ       REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258506 KERVIN A MORALES RIVERA     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694732 KERVIN RUIZ COLON           BOX 1441                                                                                                                       JUANA DIAZ          PR         00795
   258509 KERWIN A GARCIA SANTOS      REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694733 KERY NAVA INC.              PO BOX 1826                                                                                                                    CAROLINA            PR         00984
   258514 Kery Oquendo Martinez       REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          KERYGMA SERVICENTRO TEXACO
   694734 241 INC                     P.O.BOX 5687                                                                                                                   CAGUAS              PR         00726
   694735 KERYN RODRIGUEZ GARCIA      PO BOX 696                                                                                                                     CANOVANAS           PR         00729
   694736 KES IMPORT INC.             BO OBRERO                                    2021 AVE BORINQUEN                                                                SAN JUAN            PR         00915
   258516 KESHA C VAZQUEZ ROBLES      REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   258517 KESHIA M RODRIGUEZ BRACERO                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258518 KESHYA M JIRAU SANTIAGO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          KESIA JASMINE MULERO
   258519 SANTIAGO                                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258520 KESIA SOTO CINTRON                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258521 KESLIE GUTIERREZ VELEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   694740 KESSENDIS MARTINEZ AGOSTO                   URB LOS ANGELES              WJ 1 CALLE ALELI                                                                        CAROLINA            PR           00979
   258522 KESSLER MD , HOWARD S                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KESSLER SPORTS MEDICINE
   258523 CENTER                                      4800 N FEDERAL HWY FL 3                                                                                              FORT LAUDERDALE     FL           33308
                                                      1201 CONNECTICUT AVE SUITE
   694741 KETCHUM PUBLIC RELATIONS                    300                                                                                                                  WASHINGTON          DC           20036
   258525 KETHELINE BURGOS RIVERA                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694742 KETHY RAMIREZ                               BOX 284                                                                                                              CAYEY               PR           00736
   694743 KETIH HOWARD                                73 LOMB MEMORIAL DRIVE                                                                                               ROCHESTER           NY           14623‐5603
   694744 KETRUS VAZQUEZ RIVERA                       P O BOX 1050                                                                                                         CANOVANAS           PR           00729
   694745 KETSIA J CARDONA                            URB EL CONQUISTADOR          G 4 CALLE 6                                                                             TRUJILLO ALTO       PR           00976
   258526 KETSIE CALDERON VIGO                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258530 KETSY A CRUZ RIVERA                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   258531 KETSY CAMACHO MALDONADO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258532 KETSY GARCIA MERCADO                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694747 KETSY I PAGAN MERCADO                       PARQUE SAN ANTONIO           2901 PARQUE SAN ANTONIO II                                                              CAGUAS              PR           00727
   694748 KETSY IVONNE SEDA                           MONTE GRANDE                 CARR 102 KM 21.4 CASA 70                                                                CABO ROJO           PR           00623
   694749 KETSY MARTINEZ                              RES ZORRILLA                 EDIF 13 APT 93                                                                          MANATI              PR           00674
   258533 KETSY RIVERA RIVERA                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258534 KETSY VAZQUEZ ALOMAR                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258535 KETSYANN RIVERA FLORES                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258536 KETTY A FLORENZAN GARCIA                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   258537 KETTY BETANCOURT LANCARA                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258538 KETTY D CRUZ MADERA                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694751 KETTY GONZALEZ CARRION                      HC 645 BOX 5165                                                                                                      TRUJILLO ALTO       PR           00976
   694752 KETTY REYES BURGOS                          RIO PIEDRAS HEIGHT           203 CALLE WESER                                                                         SAN JUAN            PR           00926
   258541 KETTY RIVERA SOTO                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694753 KETTY RODRIGUEZ CASILLAS                    57 HORIZONTES                                                                                                        GURABO              PR           00778

   258542 KETTY RODRIGUEZ RODRIGUEZ                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694754 KETTY ROLDAN BENITEZ                        HC 02 BOX 5074                                                                                                       LARES               PR           00669
   258543 KETZI RIVERA FIGUEROA                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KETZY A BERENGER TROCHE /
   694755 YASHIRA CARLO                               92 CAMINO LOS PADILLAS       CALLEJON LOS MARTINEZ                                                                   CABO ROJO           PR           00623
   694757 KETZY MENDOZA ESPINOSA                      P O BOX 8179                                                                                                         HUMACAO             PR           00792

   258544 KEVANE GRANT THORNTON LLP                   33 CALLE BOLIVIA             SUITE 400                                                                               SAN JUAN            PR           00917‐2013
          KEVANE PETERSON SOTO
   694758 PASARELL                                    FOURTH FLOOR                 33 BOLIVAR STREET                                                                       SAN JUAN            PR           00917
   258546 KEVANE SOTO PASARELL                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694760 KEVEN BOSQUE DEL TORO                       BZN 20 CENTRO DE GOBIERNO                                                                                            MAYAGUEZ            PR           00680
   694761 KEVEN COLON SANTIAGO                        35 EL VIGIA                                                                                                          ARECIBO             PR           00612
   258547 KEVEN J DIAZ MENDOZA                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258548 KEVEN J MEJIAS HERNANDEZ                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258549 KEVEN MARTE                                 REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258550 KEVEN ROLDAN MENDEZ                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258551 KEVEN STEVEN OTERO MUNIZ                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258552 KEVIAN K ORTIZ LECLERES                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  258553 KEVIEL O RIVERA AGOSTO                       REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258554 KEVIN A ALICEA APONTE                        REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258555 KEVIN A ALICEA CRUZ                          REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258556 KEVIN A ALVAREZ MARRERO                      REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258558 KEVIN A ARCOS HERNANDEZ                      REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  694762 KEVIN A BAEZ ORTIZ                           URB TOALINDA         F 8 CALLE 3                                                                       TOA ALTA          PR         00953
  258560 KEVIN A DALBY                                REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258561 KEVIN A DAVILA DAVILA                        REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  694763 KEVIN A DAVILA RIVERA                        SUMIDERO LA RAMPLA   HC 01 BOX 6284                                                                    AGUAS BUENAS      PR         00703
  258562 KEVIN A DIAZ MARTINEZ                        REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   258563 KEVIN A MARENGO VELAZQUEZ                   REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258564 KEVIN A MOLINA LOPEZ                        REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258565 KEVIN A MORALES RAMOS                       REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258566 KEVIN A PARRILLA ALICEA                     REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258567 KEVIN A PIETRI CORDERO                      REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258568 KEVIN A SANTO DIAZ                          REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258570 KEVIN A. RAMOS HERNANDEZ                    REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258572 KEVIN ALEMAN SALGADO                        REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          KEVIN ALEXANDER GONZALEZ
   258573 ORTIZ                                       REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   258574 KEVIN ALEXIS RIVERA VELAZQUEZ REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          KEVIN AMAURI AROCHO
   258575 ESCALANTE                     REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258576 KEVIN AVILES DE LEON          REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258577 KEVIN BASCO FEBO              REDACTED                           REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   694764 KEVIN BETANCOURT MELENDEZ                   RR BOX 108                                                                                             SAN JUAN          PR         00926
   258578 KEVIN BURGOS VEGA                           REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258579 KEVIN CALDERON LOPEZ                        REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258580 KEVIN CARTAGENA CRESPO                      REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   694765 KEVIN CENTENO VILLANUEVA                    HC 1 BOX 4816                                                                                          SABANA HOYOS      PR         00668
   258581 KEVIN COLON DE JESUS                        REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   694766 KEVIN CONDE MONTERO                         PO BOX 57                                                                                              JUANA DIAZ        PR         00795
   694767 KEVIN CRUZ HERNANDEZ                        25 CALLE GEORGETTI                                                                                     BARCELONETA       PR         00617
   258582 KEVIN CRUZ RODRIGUEZ                        REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258583 KEVIN D ORTIZ RODRIGUEZ                     REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258584 KEVIN D RAMOS CANDANEDO                     REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258585 KEVIN DEL VALLE APONTE                      REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   258586 KEVIN DELGADO MALDONADO                     REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258587 KEVIN DIAZ DONES                            REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258588 KEVIN DOUGLAS DUNCAN                        REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258589 KEVIN DUQUE GONZALEZ                        REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          KEVIN E ANDINO CARDONA /
   258590 EVELYN ORTIZ                                REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258591 KEVIN E AYRA RIBOT                          REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258593 KEVIN E CASTRO RODRIGUEZ                    REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258594 KEVIN E COLON SOTO                          REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          KEVIN E FLORES / ESTEBAN
   258595 FLORES LOPEZ                                REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258596 KEVIN E VEGA TORRES                         REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED



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  258597 KEVIN E VELEZ BRIGANTTI                      REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258599 KEVIN ESPINAL FALERO                         REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  694771 KEVIN FERNANDEZ ORTIZ                        CASTELLANA GARDENS   V 4 CALLE 18                                                                           CAROLINA            PR         00983‐1951
  258601 KEVIN FIGUEROA ALVAREZ                       REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258602 KEVIN FIGUEROA CRUZ                          REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258603 KEVIN FIGUEROA ROSADO                        REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258604 KEVIN FUNG                                   REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258605 KEVIN G LEBRON ROSA                          REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   694772 KEVIN G PABON CARRASQUILLO URB RIO GRANDE STATES                 I A 14 C/ 5 B                                                                          RIO GRANDE          PR         00947
   258606 KEVIN G QUINTANA FUENTES   REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   258607 KEVIN G RODRIGUEZ RODRIGUEZ REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   258608 KEVIN GABRIEL ALVAREZ LOPEZ                 REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258609 KEVIN GABRIEL GARCIA REYES                  REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258610 KEVIN GARCIA ACEVEDO                        REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694773 KEVIN GARCIA COLON                          HC ‐ 67              BOX 106                                                                                BAYAMON             PR         00956
   258611 KEVIN GONZALEZ VARGAS                       REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694774 KEVIN H MAC ISAAC                           PO BOX 559                                                                                                  RINCON              PR         00677

   258612 KEVIN HERNANDEZ HERNANDEZ REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694775 KEVIN I COLLAZO SANCHEZ   P O BOX 1209                                                                                                                  UTUADO              PR         00641

   258613 KEVIN J CARABALLO FIGUEROA                  REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258614 KEVIN J CASEY                               REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258615 KEVIN J CASIANO FIGUEROA                    REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258616 KEVIN J COLON VAZQUEZ                       REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258617 KEVIN J DIAZ OTERO                          REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   258618 KEVIN J HERNANDEZ ALVARADO REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258619 KEVIN J INDART ROSARIO     REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   258620 KEVIN J JIMENEZ ENCARNACION REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   258621 KEVIN J MARTINEZ RODRIGUEZ                  REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694776 KEVIN J MARTINEZ ROSARIO                    URB LINDA VISTA      B 9 CALLE 4                                                                            CAMUY               PR         00627
          KEVIN J MATOS BENITEZ/ GEMA
   258622 BENITEZ                                     REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258623 KEVIN J MONTALVO BERRIOS                    REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258624 KEVIN J NAVARRO SANTIAGO                    REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258625 KEVIN J ORTIZ FIGUEROA                      REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258626 KEVIN J PADILLA CORDOVA                     REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258627 KEVIN J QUINTERO MORALES                    REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258628 KEVIN J RIVERA LOPEZ                        REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   258629 KEVIN J RODRIGUEZ CENTENO                   REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258630 KEVIN J RODRIGUEZ VAZQUEZ                   REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258631 KEVIN J ROMAN SANCHEZ                       REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258632 KEVIN J SOTO CRUZ                           REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258633 KEVIN J TORRES VEGA                         REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694777 KEVIN J TYLER                               URB RIO CRISTAL      834 CALLE JULIO BALOIZ 12                                                              MAYAGUEZ            PR         00680
   258634 KEVIN J VARGAS CARABALLO                    REDACTED             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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MML ID                 NAME                                      ADDRESS 1               ADDRESS 2              ADDRESS 3                           ADDRESS 4              CITY       STATE    POSTAL CODE        COUNTRY
          KEVIN JAVIER MORALES
   258635 MARTINEZ                                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          KEVIN JESUS QUINTERO
   258636 MORALES                                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   258637 KEVIN JOEL ACEVEDO PEREZ                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   258638 KEVIN JOEL CARRION TORRES                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          KEVIN JOSE MORALES
   258639 ALEJANDRO                                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258640 KEVIN L ABREU SEVERINO                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258641 KEVIN L MELENDEZ APONTE                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258642 KEVIN L RIVERA ORTIZ                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258643 KEVIN LABOY PEREZ                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258644 KEVIN LAGARES FARIA                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258645 KEVIN LAO CRUZ                              REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258646 KEVIN LIZASUAIN RIVERA                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258647 KEVIN LOPEZ DELGADO                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258648 KEVIN M BURGOS LOPEZ                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258649 KEVIN M BUSH NUNEZ                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258650 KEVIN M CARMONA QUILES                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   694778 KEVIN M CREPO TORRES                        URB MONTE CLARO MO 15   PASEO DEL VALLE                                                                   BAYAMON             PR       00961
   258651 KEVIN M GUZMAN TORRES                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258652 KEVIN M HERRERA RIOS                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   694779 KEVIN M HORTA RODRIGUEZ                     BOX 384                                                                                                   LARES               PR       00631
   258653 KEVIN M NESBITT PERCIVAL                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258654 KEVIN M OQUENDO ROLDAN                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258655 KEVIN M PASTRANA RIVERA                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258657 KEVIN M RIVERA SIERRA                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258658 KEVIN MARTINEZ SEDA                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258659 KEVIN MARTIR BELTRAN                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258660 KEVIN MEDINA FLORES                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258661 KEVIN MELENDEZ APONTE                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258662 KEVIN MERCADO MARTINEZ                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258663 KEVIN MERCADO VALLESPIL                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258664 KEVIN MOJICA RONDON                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   258665 KEVIN MORALES CRUZ                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
          KEVIN MORALES CRUZ /
   258666 MARISOL CRUZ                                REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   258667 KEVIN MUNOZ GOIRI                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   258668 KEVIN N CARABALLO MORALES                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   258669 KEVIN N GONZALEZ BORDALINO                  REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   694780 KEVIN NEARY                                 PO BOX 9066597                                                                                            SAN JUAN            PR         00906 6597
   258670 KEVIN NEGRON APONTE                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   258672 KEVIN O DIAZ VELEZ                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   258673 KEVIN O FIGUEROA RODRIGUEZ                  REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   258674 KEVIN O MENDEZ CRUZ                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   258675 KEVIN O MORALES VAZQUEZ                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   694781 KEVIN O ORTIZ RODRIGUEZ                     HC 06 BOX 13651                                                                                           COROZAL             PR         00783
   694782 KEVIN O RAMIREZ CRUZ                        BDA SAN ISIDRO          41 ANGEL SAAVEDRA                                                                 SABANA GRANDE       PR         00637
   258676 KEVIN O SOLIS ARIZMENDI                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   694783 KEVIN OLIVENCIA MARTINEZ                    NUEVA VIDA EL TUQUE     M 28 CALLE 1                                                                      PONCE               PR         00728



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  258677 KEVIN ONGAY SOTO                             REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258678 KEVIN P ROMAN HERNANDEZ                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258679 KEVIN PELLOT CUBERO                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258680 KEVIN PENA PINEIRO                           REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258681 KEVIN QUINONES                               REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   694784 KEVIN R BERMUDEZ PORTALATIN PO BOX 433                                                                                                               FLORIDA             PR         00650
   258682 KEVIN R DELGADO RIVERA        REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258683 KEVIN R MARTINEZ RIVERA       REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258684 KEVIN R SANABRIA GOMEZ        REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          KEVIN R SANTIAGO A/C RAFAEL E
   258686 SANTIAGO                      REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694785 KEVIN R SIERRA AROCHE         BO BAYAMONCITO                       HC 1 BOX 6442                                                                     AGUAS BUENAS        PR         00703
   258687 KEVIN R VAZQUEZ ORTIZ         REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258688 KEVIN RAMIREZ RODRIGUEZ       REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258689 KEVIN REYES DOMINGUEZ         REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258690 KEVIN RIVERA RODRIGUEZ        REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258691 KEVIN RIVERA SALCEDO          REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258692 KEVIN RIVERA VALENTIN         REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258693 KEVIN RODRIGUEZ PANTOJAS      REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258694 KEVIN RODRIGUEZ SANTIAGO      REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258695 KEVIN ROMAN TORO              REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258696 KEVIN ROMAN TORRES            REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258697 KEVIN ROSARIO MOJICA          REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258698 KEVIN ROSARIO RIVERA          REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258699 KEVIN S FISCHBACH MOTTA       REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258700 KEVIN SANABRIA CRUZ           REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258701 KEVIN SANCHEZ BARRETO         REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694788 KEVIN SANCHEZ GONZALEZ        MANSIONES DE CAROLINA                NN 3 CALLE 57                                                                     CAROLINA            PR         00987
   258702 KEVIN SERRANO ZABALA          REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258703 KEVIN T ORTIZ VALENTIN        REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258704 KEVIN TOLEDO ORTIZ            REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258705 KEVIN TORO HERNANDEZ          REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258707 KEVIN TORRES RODRIGUEZ        REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258708 KEVIN TRRUELLA RODRIGUEZ      REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694789 KEVIN VALDIZAN LOPEZ          URB CIUDAD REAL                      33 CALLE ALCALA                                                                   VEGA BAJA           PR         00693
   258710 KEVIN VALLES SILVA            REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   694790 KEVIN VARGAS                  PMB 156                              PO BOX 4002                                                                       VEGA ALTA           PR         00692
   258711 KEVIN VEGA COLON              REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258712 KEVIN VEGA NEGRON             REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258713 KEVIN VEGA VEGA               REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258714 KEVIN VELEZ GAUD              REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258715 KEVIN W VELEZ MENDEZ          REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258716 KEVIN X PADILLA CRUZ          REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258717 KEVIN Y DEIDA ARBELO          REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258718 KEVIN Y FIGUEROA SANTOS       REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258719 KEVIN Y FRANCO CARTAGENA      REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258720 KEVIN Y PEREZ SOTO            REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
                                        CONDOMINIO LOS OLMOS APT
   694791 KEVIN Y RIVERA COLON          14 J                                                                                                                   SAN JUAN            PR         00927
   258721 KEVIN Y RIVERA MORALES        REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258722 KEVIN Y RIVERA PADUA          REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   258723 KEVIN Y ROLDAN GOMEZ          REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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  258724 KEVIN ZAYAS DAVILA                           REDACTED                   REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258725 KEVYN JOSE DIAZ RODRIGUEZ                    REDACTED                   REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258726 KEWIN SANTIAGO ALVARADO                      REDACTED                   REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  694792 KEY ASSET MANAGEMENT INC                     127 PUBLIC SQUARE          CLEVELAND                                                                       OHIO                OH         44114‐1306
  694793 KEY INSURANCE AGENCY INC                     P O BOX 70128                                                                                              SAN JUAN            PR         00936‐8128

   258728 KEY INTEGRATED SOLUTIONS INC P O BOX11885                                                                                                              SAN JUAN            PR         00922‐1885
   258729 KEY MAN                      BOX 5183 CUC STA.                                                                                                         CAYEY               PR         00736‐0000
   258730 KEY OYOLA MD, VERONICA       REDACTED                                  REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694794 KEY PHONE INC                P O BOX 11614                             CAPARRA HEIGHTS                                                                 SAN JUAN            PR         00922
   694795 KEY SOLUTION S INC.          PO BOX 195003                                                                                                             SAN JUAN            PR         00919
   258732 KEYE HSIAO RAMOS             REDACTED                                  REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258733 KEYE PRODUCTIVITY CENTER     PO BOX 27‐480                                                                                                             KANSAS CITY         MI         64180‐0001
   694799 KEYLA AVILES ACEVEDO         HC 56 BOX 35735                                                                                                           AGUADA              PR         00602
   258734 KEYLA BAEZ ALBINO            REDACTED                                  REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258735 KEYLA CABRERA CINTRON        REDACTED                                  REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694800 KEYLA CRUZ GARCIA            URB EST DE YAUCO                          E 9 CALLE JASPE                                                                 YAUCO               PR         00698
   694801 KEYLA D CASTRO COLLAZO       P O BOX 161                                                                                                               CAYEY               PR         00736
   694803 KEYLA ENID                   VILLAS DEL MONTE ATENAS                   APT 202                                                                         SAN JUAN            PR         00926

   258736 KEYLA ENID SANCHEZ ESTRADA                  REDACTED                   REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694804 KEYLA GOVEO RIVERA                          RR 4 BOX 3101                                                                                              BAYAMON             PR         00956
   694805 KEYLA I DAVILA ARROYO                       LA ESPERANZA S 33          CALLE 16                                                                        VEGA ALTA           PR         00692
   694806 KEYLA I LOPEZ                               SOLAR 44 COM VILLA VERDE                                                                                   SALINAS             PR         00751
   258737 KEYLA I. ROBLES GONZALEZ                    REDACTED                   REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258738 KEYLA J DAVILA MARCANO                      REDACTED                   REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694807 KEYLA J DIAZ                                HC 02 BOX 03                                                                                               BARRANQUITAS        PR         00794
   258739 KEYLA J NEGRON MOLINA                       REDACTED                   REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258741 KEYLA J NEGRON PAGAN                        REDACTED                   REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258742 KEYLA J ORTIZ MONTERO                       REDACTED                   REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   258743 KEYLA JANICE DAVILA MARCANO REDACTED                                   REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694808 KEYLA L MERCADO CUEBAS      PO BOX 9073                                                                                                                MAYAGUEZ            PR         00681

   258744 KEYLA M CONCEPCION ROMERO REDACTED                                     REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694810 KEYLA M DE LA CRUZ        RES EL MANANTIAL                             EDIF 2 APTO 29                                                                  RIO PIEDRAS         PR         00921

   258745 KEYLA M FERNANDEZ JIMENEZ                   REDACTED                   REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   258746 KEYLA M GANDARA UMPIERRE                    REDACTED                   REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258747 KEYLA M LOPEZ BURGOS                        REDACTED                   REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694811 KEYLA M MARTINEZ SANCHEZ                    VILLA COOPERATIVA          G 47 CALLE 6                                                                    CAROLINA            PR         00985
   258748 KEYLA M MEDINA NEVAREZ                      REDACTED                   REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258749 KEYLA M NIEVES ACEVEDO                      REDACTED                   REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694812 KEYLA M PADILLA ALEQUIN                     HC 02 BOX 16900                                                                                            LAJAS               PR         00667
   258750 KEYLA M QUINONES LABOY                      REDACTED                   REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258751 KEYLA M RIOS CABRERA                        REDACTED                   REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258752 KEYLA M ROMAN CRUZ                          REDACTED                   REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   258755 KEYLA M VELAZQUEZ LUCIANO                   REDACTED                   REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   694813 KEYLA M VELEZ SEPULVEDA                     HC 3 BOX 36659                                                                                             MAYAGUEZ            PR         00680

   258757 KEYLA M. MALDONADO OJEDA                    REDACTED                   REDACTED             REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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MML ID                    NAME                                   ADDRESS 1                    ADDRESS 2                   ADDRESS 3                           ADDRESS 4              CITY          STATE   POSTAL CODE        COUNTRY

   258758 KEYLA M. RIVERA HERNANDEZ                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258759 KEYLA MAISONET ORTIZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   258760 KEYLA MARIE BADILLO RIVERA                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258761 KEYLA MARTINEZ PAGAN                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694814 KEYLA MATEO MATOS                           BO CA¥ABON SECTOR LA TORRE   CARR 770 KM 1 3                                                                        BARRANQUITAS        PR           00794
   258764 KEYLA MELENDEZ BELTRAN                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694798 KEYLA MERCADO VALLE                         HC 1 BOX 5170                                                                                                       HORMIGUERO          PR           00660
   694815 KEYLA N DAVID REYES                         PO BOX 543                                                                                                          COAMO               PR           00769
   694816 KEYLA NIEVES RIVERA                         PO BOX 871                                                                                                          CIDRA               PR           00739
   258765 KEYLA RIOS CALDERON                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694817 KEYLA RIVERA CENTENO                        PO BOX 442                                                                                                          CAROLINA            PR           00986
   258766 KEYLA RIVERA RODRIGUEZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258767 KEYLA RIVERA ROSARIO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258768 KEYLA RODRIGUEZ                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694818 KEYLA RODRIGUEZ BURGOS                      COND MARIVI 100              6617 APTO 207                                                                          MOROVIS             PR           00687
   258769 KEYLA RODRIGUEZ LEON                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258770 KEYLA ROSADO DIAZ                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694821 KEYLA ROSARIO WESTERBAND                    URB TOA ALTA HTS             AM 13 CALLE 36                                                                         TOA ALTA            PR           00953‐4421

   258771 KEYLA SARIT MARTINEZ PEREZ                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258772 KEYLA SOSA RIVERA                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258773 KEYLA TROCHE SANTIAGO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258774 KEYLA VAZQUEZ SANTIAGO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258775 KEYLA VÉLEZ RIVERA                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694822 KEYLA Y GARCIA FEBO                         P O BOX 187                                                                                                         CANOVANAS           PR           00729
   258776 KEYLA Y MOLERO GARCIA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694823 KEYLA Y ROSA RIVERA                         HC 44 BOX 13810                                                                                                     CAYEY               PR           00736
   258777 KEYLA Y. GARCIA MEDEZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694824 KEYLA ZOE TORRES MATEO                      P O BOX 709                                                                                                         COAMO               PR           00769
   258778 KEYLANI PADRON RODRIGUEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258779 KEYLIZ J. MENDEZ TORRES                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694825 KEYLLA IRIZARRY RODRIGUEZ                   URB RIO CRISTAL              8350 CALLE BALBINO TRINTA                                                              MAYAGUEZ            PR           00680
   258780 KEYMARIE RIVERA GONZALEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258781 KEYRA M RIVERA MORALES                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258782 KEYRA PENA DIAZ                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694826 KEYSA L. NEGRON VELEZ                       PO BOX 265                   DIST. BAYAMON 2                                                                        BAYAMON             PR           00959
   258784 KEYSCHA DIAZ RODRIGUEZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694827 KEYSHA M BAERGA CRUZ                        P O BOX 350                                                                                                         PATILLAS            PR           00723
   694828 KEYSHA M GOMEZ ARZON                        6B BO RELAMPAGO                                                                                                     NAGUABO             PR           00718
   258785 KEYSHA M ORTIZ MAYSONET                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694829 KEYSHA MALDONADO AVILES                     URB LOMAS ALTA               H4 CALLE 9                                                                             CAROLINA            PR           00987

   258786 KEYSHA MALDONADO MONTES                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KEYSHA NANETTE SANTIAGO
   258787 ROJAS                                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258788 KEYSHA ROIG NIEVES                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   258789 KEYSHALA M ORTIZ GARCIA                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694831 KEYSHIA K SLODARZ CRUZ                      HC 06 BOX 73015                                                                                                     CAGUAS              PR           00725
   258790 KEYSHIA M NAZARIO LOPEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  258791 KEYSHLA A MARTINEZ ROSALY                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  258792 KEYSHLA BRUNO CRESPO                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  258794 KEYSHLA CORDERO MORALES                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  258795 KEYSHLA FLORES PABON                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  694832 KEYSHLA GORRITZ AQUINO                       PASEO COSTA DEL SUR         J 2 CALLE 8                                                                            SALINAS              PR         00751
  258796 KEYSHLA LOPEZ FLORES                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  258797 KEYSHLA M DIAZ ORTEGA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  258799 KEYSHLA M RIVERA TORRES                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   258800 KEYSHLA M SCUTIERE CASANOVA REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   258801 KEYSHLA M TORRES FERNANDEZ                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   258803 KEYSHLA M VAZQUEZ CRUZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   258804 KEYSHLA RIVERA CRUZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   694833 KEYSTONE                                    PO BOX 790364                                                                                                      SAINT LOUIS          MO         63179‐0364
          KEYSTONE INFORMATION                        530 AVE PONCE DE LEON
   694835 SYSTEM INC                                  SUITE254                                                                                                           SAN JUAN             PR         00902
          KEYSTONE LEARNING SYSTEMS                   5300 WESTVIEW DRIVE SUITE
   694836 LLC                                         405                                                                                                                FREDERICK            MD         21703
          KEYSTONE ORTHOPAEDIC
   258806 SPECIALISTS                                 PO BOX 9202                                                                                                        BELFAST              ME         04915‐9202
   258807 KEYVEN ACOSTA BAEZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   258808 KEZIAH CASTRO BURGOS                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   831773 KF Solutions Corp                           P O Box 399                                                                                                        Bayamón              PR         00960
   258809 KF SOLUTIONS CORP.                          P.O. BOX 399                                                                                                       BAYAMON              PR         00960‐0000
          KF SOLUTIONS CORP/BCO
   258810 DESARROLLO ECONOMI                          PO BOX 399                                                                                                         BAYAMON              PR         00960‐0399
   694837 KHALTED MAZKATLI                            P O BOX 143571                                                                                                     ARECIBO              PR         00614‐3571
   258820 KHAMALY CARATTINI TORRES                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   258822 KHAN MD, AGHA                               REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   258827 KHARLA JANICE CASILLAS RIVERA REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   258830 KHEILA Y MORALES CEPEDA       REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          KHEIRA LIZ RODRIGUEZ
   694841 PIMENTEL                      HC 55 BOX 8427                                                                                                                   CEIBA                PR         00735‐9736
   258832 KHEIRYS G DUME MEJIAS         REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   258833 KHEM KHOOBLALL DR             6731 RIDGE RD                             ROOM 303                                                                               PARMA                OH         44129
   258834 KHENIA MELENDEZ RESENDEZ      REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                        ATLIXCO 100‐15 COLONIA
   694842 KHERY CAMARA THIAM            CONDESA                                                                                                                                                          06140        MEXICO DF
   694843 KHIN MARLAR                   PO BOX 12023                                                                                                                     NEWARK               NJ         07101‐6270
   258835 KHRIS S LAMPON TORRES         REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   258836 KHRIS S. LAMPON TORRES        REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          KHRISTHIAN ALEKSEI MELENDEZ
   694844 LICIER                        EL ROSARIO                                5 CALLE DM                                                                             VEGA BAJA            PR         00693
   258837 KHRISTIAN COLON BAEZ          REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   258840 KHWAJA MD, SHAMSUDDIN         REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   258841 KHYRA CRUZ NAVARRO            REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   258842 KHYRSYS RODRIGUEZ CRESPO      REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                                                  STE 1425 208 AVE PONCE DE
   258843 KI INVESTMENTS INC                          POPULAR CENTER BUILDING     LEON                                                                                   SAN JUAN             PR         00918
   258844 KIAMIES DIAZ LAUREANO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   694845 KIAMORIE TORRES MARTINEZ                    HC 1 BOX 5202                                                                                                      BARRANQUITAS         PR         00794



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  258845 KIAMYLEE NEGRON KUILAN                       REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258846 KIANA S PAGAN SOLIS                          REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258855 KIANIVETTE MARTINEZ CRUZ                     REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258856 KIANNA J GONZALEZ                            REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258857 KIANYS YARY SANCHEZ RUIZ                     REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258858 KIARA CENTENO SANTANA                        REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258859 KIARA FUENTES COFRESI                        REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258860 KIARA G QUINONES MARIN                       REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258861 KIARA I CRUZ TORRES                          REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  694846 KIARA I FERNANDEZ MORALES                    PO BOX 514                                                                                               NARANJITO         PR         00719
  258862 KIARA I SANTOS CUEVAS                        REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258863 KIARA I SOLIS SANTIAGO                       REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258864 KIARA IRIZARRY COLLAZO                       REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258865 KIARA J BURGOS LUGARO                        REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258866 KIARA J IRIZARRY CORNIER                     REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258867 KIARA J MONTANEZ NEGRON                      REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258868 KIARA K REYES OLIVO                          REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258870 KIARA L GONZALEZ FLORES                      REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  258871 KIARA L PENA SANCHEZ                         REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  694848 KIARA M CANCEL CASIANO                       PARC SABANA ENEAS    145 CALLE J                                                                         SAN GERMAN        PR         00683

   258872 KIARA M CASTILLO HERNANDEZ                  REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          KIARA M ELIAS A/C SHEILA
   258873 NEGRETTI                                    REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258874 KIARA M HORTALAZA                           REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258875 KIARA M NEGRON DIAZ                         REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   694849 KIARA M ORTEGA                              RR 1 BOX 10419                                                                                           TOA ALTA          PR         00953
   694850 KIARA M ORTIZ CORREDOR                      BO PLAYITA           CALLE 80 D                                                                          SALINAS           PR         00751
   258876 KIARA M RIVERA CARDONA                      REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258877 KIARA M RODRIGUEZ TORRES                    REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258878 KIARA M SERRANO TORRES                      REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258879 KIARA M. CRUZ SANTIAGO                      REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   258880 KIARA MALDONADO RODRIGUEZ REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          KIARA MICHELL SANTIAGO
   258881 MORALES                   REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258882 KIARA N PEREZ REVERON     REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258884 KIARA ORTIZ RODRIGUEZ     REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258885 KIARA SANTIAGO VELEZ      REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258886 KIARA TORRES RODRIGUEZ    REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258887 KIARA VELEZ RODRIGUEZ     REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   258888 KIARA Y. ALMODOVAR ROMAN                    REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   258890 KIARALIZ MARTINEZ MARTINEZ                  REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258891 KIARALIZZ ALVIRA MERCADO                    REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258892 KIARANEL RAMOS GONZALEZ                     REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   258895 KID`S PLAY                                  PO BOX 25307                                                                                             SAN JUAN          PR         00928
   258897 KIDANNY PEREZ NIEVES                        REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   694851 KIDANY FIGUEROA MORENO                      HC 01 BOX 5684                                                                                           GUAYNABO          PR         00971

   258898 KIDANY OROPEZA CONCEPCION                   REDACTED             REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   694852 KIDANY SANTIAGO LABOY                       PO BOX 652                                                                                               VILLALBA          PR         00766



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  258899 KIDAVID CRESPO GOMEZ                         REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   694853 KIDDER, PEABODY PR INC                      ROYAL BANK CENTER SUITE 209                                                                                               SAN JUAN             PR         00917
          KIDDY LAND EL MUNDO DE LOS
   258902 NINOS INC                                   P O BOX 328                                                                                                               CAYEY                PR         00737

   694854 KIDIAM Y RODRIGUEZ CORREA                   ALT DE HATO NUEVO             TT 3 CALLE 4                                                                                GURABO               PR         00778
   258903 KIDIAN AYALA APONTE                         REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   258904 KIDIAN E RIVERA BERRIOS                     REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   694855 KIDLINK                                     SKIBEVIG RV 5                                                                                                             SALTROD                         4815
          KIDS AND GROWTH SKILLS
   694856 CENTER                                      PO BOX 0563                                                                                                               MERCEDITA            PR         00715
   258906 KIDS CAPITOL                                PO BOX 9021820                                                                                                            SAN JUAN             PR         00902
          KIDS CAPITOL/MONICA PATINO
   258908 THOMPSON                                    URB SUMMIT HILLS            584 CALLE BERWIN                                                                              SAN JUAN             PR         00921
   258909 KIDS CLUB DAY CARE INC                      COLINAS VERDES              X 13 CALLE 10                                                                                 SAN SEBASTIAN        PR         00685
                                                      URB. SABANA GARDENS BLQ 11‐
   258910 KIDS CLUB HOUSE DAY CARE                    8 AVE SOUTH MAIN                                                                                                          CAROLINA             PR         00983
          KIDS CLUB HOUSE DAY CARE &
   258911 LERNING CENTE                               SABANA GARDENS                11 8 AVE SOUTH MAIN                                                                         CAROLINA             PR         00983
   258912 KIDS FUN HOUSE & SCHOOL                     PMB STE 216                   90 AVE RIO HONDO                                                                            BAYAMON              PR         00961

   258913 KIDS IN GROWTH THERAPY, INC                 PO BOX 1205                                                                                                               BAJADERO             PR         00616
                                                      URB LEVITTOWN BR 26 CALLE DR
   258914 KIDS KINGDOM CHILD CARE INC                 EMIGDIO ANTIQUE                                                                                                           TOA BAJA             PR         00949
   258915 KIDS LIFE Y/O ANA M PEREZ                   URB STA MARIA                121 CALLE ROMERILLO                                                                          SAN JUAN             PR         00927
   258916 KIDS ONLY CRYM INC                          2599 AVE HOSTOS SUITE 3                                                                                                   MAYAGUEZ             PR         00682
          KIDS PLANET / FOUR A S KINDS
   258917 CORP                                        URB MONTE CARLO               1267 AVE MONTE CARLO                                                                        SAN JUAN             PR         00924
          KIDS SCHOOL SUPPLY DBA
   694857 FRANCISCO ROSADO                            7 ANTONIO R BARCELO                                                                                                       TOA ALTA             PR         00953
   258918 KIDS STORY, INC.                            HC 01 BOX 2201                BARRIO PERCHAS                                                                              MOROVIS              PR         00687
                                                      828 AVE EUGENIO MARIA DE
   258919 KIDS THERAPY SERVICES INC                   HOSTOS                        EDIF VILLA CAPITAN II OFIC 203                                                              MAYAGUEZ             PR         00681
          KIDS ZONE DEVELOPMENT &
   258922 LANGUAGES CENTER                            #525 AVE. ESCORIAL            CAPARRA HEIGHTS                                                                             SAN JUAN             PR         00920
                                                      1022 CALLE VALLEJO BDA.
   258923 KidsLearning and Computer cen               CAPETILLO                                                                                                                 SAN JUAN             PR         00925
   258924 KIDSVILLE PEDIATRICS PA                     ATTN MEDICAL RECORDS          11886 LAKE UNDERHILL RD                                                                     ORLANDO              FL         32825
   694858 KIEN VAN BUI                                AVE RIO HONDO                 PMB 440 90                                                                                  BAYAMON              PR         00961
   258931 KIEVAL MD , RAPHAEL I                       REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
          KIEWIT KENNY & ZACHARY JOINT
   694859 V                             1017 AVE PONCE DE LEON                                                                                                                  SAN JUAN             PR         00925

   258932 KIGM PRODUCTIONS GROUP INC 203 SABANA SECA                                                                                                                            MANATI               PR         00674
   258933 KIKE FRENO JR                 REDACTED                                    REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   258935 KIKI AUTO ELECTRIC            Box 1806                                                                                                                                VEGA Alta            PR         00692
          KIKO MUFFLER AND GARAGE
   694860 GONZALEZ                      AVE CEMENTERIO NACIONAL                     HATO TEJAS                                                                                  BAYAMON              PR         00961
          KIKO TRAVEL INC/ JORGE NIEVES
   258936 ROMAN                         PO BOX 1570                                                                                                                             SAN SEBASTIAN        PR         00685
   694861 KIKOS SCREENS                 P O BOX 903                                                                                                                             AGUADA               PR         00602
   258937 KIKUET, ALMACENES             REDACTED                                    REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED



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  694862 KILANIE SERRANO ROSA                         HC 01 BOX 5549                                                                                                 CAMUY               PR           00627
  694863 KILMA DE JESUS MENDOZA                       PO BOX 779                                                                                                     SALINAS             PR           00751

   258945 KILMARIS MALDONADO PEREZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   258947 KILSI NICOLE ROSARIO                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   694865 KIM CORRO DA ROSSY                          7 AVE LA PALMA                                                                                                 CIALES              PR           00638
   694866 KIM DONG SUK                                327 RECINTO SUR                                                                                                SAN JUAN            PR           00901
   694867 KIM KIENTZ ABREU                            URB MU¥OZ RIVERA             56 CALLE PARENTESIS                                                               GUAYNABO            PR           00969
   258948 KIM KRAVITZ                                 REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   258949 KIM N SANCHEZ RIVERA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   694868 KIM OPTICAL STORAGE                         801 AVE FERNANDEZ JUNCOS                                                                                       SAN JUAN            PR           00907
   694864 KIM R RODRIGUEZ LOZADA                      PO BOX 476                                                                                                     CABO ROJO           PR           00623
   258950 KIMAR AUTO BODY PARTS                       1004 REPARTO MEJIA                                                                                             MANATI              PR           00674
   694870 KIMAR AUTO PARTS                            1004 REPARTO MEJIAS                                                                                            MANATI              PR           00674
   258951 KIMBALL MEDICAL CENTER                      PO BOX 409822                                                                                                  ATLANTA             GA           30384‐9822
   694872 KIMBERLY A COLON CRUZ                       BO COLLORES                  SAN CARLOS CARR 517                                                               JUANA DIAZ          PR           00795
          KIMBERLY A. RODRIGUEZ
   258953 RODRIGUEZ                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          KIMBERLY ALMODOVAR
   258954 FERNANDEZ                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   258955 KIMBERLY BURGOS                             REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   694873 KIMBERLY CARDONA ROMERO                     HC 01 BOX 11485                                                                                                SAN SEBASTIAN       PR           00685

   694874 KIMBERLY CASTILLO VELAZQUEZ P O BOX 487                                  OFIC SUPTE ESC                                                                    HUMACAO             PR           00792
   694875 KIMBERLY CLARK              PO BOX 1859                                                                                                                    SAN JUAN            PR           00919

   258956 KIMBERLY CONTRERAS RIVERA                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   258957 KIMBERLY CRUZ ORTIZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   258959 KIMBERLY FERNANDEZ MORALES REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   258960 KIMBERLY FITZGERALD LANDIS                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   258961 KIMBERLY FLORES RIVERA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   258962 KIMBERLY FRANQUI RIVERA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   258963 KIMBERLY GONZALEZ CRUZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          KIMBERLY HERNANDEZ
   258964 CORDERO                                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   258965 KIMBERLY L MENDEZ NUNEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   258966 KIMBERLY LOPEZ RAMOS                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          KIMBERLY M CASTRO
   258967 CARABALLO                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   258968 KIMBERLY M GINES GARCIA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          KIMBERLY MALDONADO
   258970 DELGADO                                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   258971 KIMBERLY MARTINEZ MARTINEZ                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   694871 KIMBERLY MCGUIRE                            PSC BOX 820                  FPO AA 34053                                                                      TOA BAJA            PR           00949
   694876 KIMBERLY MELON MATOS                        P O BOX 1757                                                                                                   ISABELA             PR           00662
   258972 KIMBERLY N RIGUAL ROSADO                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   694877 KIMBERLY NEWTON                             1 GUSTAVE LEVE PL BOX 1263                                                                                     NEW YORK            NY           10029
   258973 KIMBERLY ORTIZ PACHECO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   258974 KIMBERLY PAGAN DIAZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  258975 KIMBERLY RAMOS RAMOS                         REDACTED                          REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258976 KIMBERLY RODRIGUEZ                           REDACTED                          REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258977 KIMBERLY ROSA MATTA                          REDACTED                          REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258979 KIMBERLY S RIVERA MOLINA                     REDACTED                          REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258980 KIMBERLY YOUNTS                              REDACTED                          REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  258981 KIMELEE J LOPEZ NIEVES                       REDACTED                          REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   694878 KIMELYS FUENTES FUENTES                     MEDIANIA ALTA SECTOR EL JOBO CARR 187 KM 8 9 INT                                                                     LOIZA               PR         00772
   258982 KIMIK                                       P O BOX 195452                                                                                                       SAN JUAN            PR         00919‐5452
   258983 KIMMARA QUILES MERCADO                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   258985 KIMPO GARDEN RESTAURANT                     264 AVE JESUS T PINEIRO                                                                                              SAN JUAN            PR         00918
   694880 KIMS                                        981 FDEZ. JUNCOS AVENUE                                                                                              SAN JUAN            PR         00907
   258986 KIMS ACUPUNCTURE                            ATTN MEDICAL RECORDS         7215 LITTLE RIVER TURNPIKE                                                              ANNANDALE           VA         22003
   258987 KIMS NEW YORK PIZZA, INC                    EXTENSION COUNTRY CLUB       NA 43 CALLE 415                                                                         CAROLINA            PR         00982
          KIN AUTO PARTS / KIN CENTRO
   694881 DE SERVICIOS                                HC 01 BOX 5286                                                                                                       MOCA                PR         00676

   694882 KINARD FOOD DISTRIBUTORS INC PO BOX 13922                                                                                                                        SAN JUAN            PR         00908
          KINDER KIDS DAY CARE &
   258991 LEARNING CENTER              CALLE PEDRO ARROYO #4 ALTOS                                                                                                         OROCOVIS            PR         00720
   258993 KINDER PLUS DE P.R.          CALLE LLORENS TORRES 455       FLORAL PARK                                                                                          SAN JUAN            PR         00917
   258995 KINESIS INC                  PROFESSIONAL OFFICE PARK II    AXESA BUILDING SUITE 101                  1001 SAN ROBERTO STREET                                    SAN JUAN            PR         00727‐6346
                                       2000 CARR. 8177, SUITE 26, PBM
   258996 KINESIS, INC.                206                                                                                                                                 Guaynabo            PR         00966

   694883 KING AUDIO PERFOMANCE INC                   PO BOX 342                                                                                                           FLORIDA             PR         00650

   694884 KING AUTO REPAIR                            Lomas Verdes #2U‐10 Ave. Laurel                                                                                      Bayamon             PR         00956
   694885 KING CO DICTAPHONE                          1816 AVE PONCE DE LEON                                                                                               SAN JUAN            PR         00909
   694886 KING COURT RESIDENCE INC                    PO BOX 2255                                                                                                          GUAYNABO            PR         00970‐2255
   258997 KING DOLLAR INC                             27 CALLE GERGETTI                                                                                                    BARCELONETA         PR         00617
   694887 KING DONUTS                                 P O BOX 979                                                                                                          AGUADA              PR         00602
   694888 KING FURNITURE S E                          PO BOX 9300274                                                                                                       SAN JUAN            PR         00930
   694889 KING GRAPHIX INC                            PO BOX 468                                                                                                           BAYAMON             PR         00960
          KING OF WATER O CASCADA
   694890 CRISTAL                                     METRO MAIL ST MCS 60              PO BOX 70158                                                                       SAN JUAN            PR         00936‐8158
   259001 KING OIL CORP                               PO BOX 69001                      STE 118                                                                            HATILLO             PR         00659
   259005 KING S DAUGHTERS HOSPITAL                   1901 SW HK DODGEN LOOP                                                                                               TEMPLE              TX         76502‐1896

   259008 KING STREET ENTERPRISES LTD                 370 KING STREET WEST                                                                                                 TORONTO             ON         M5V 1J9
   694891 KING TRAVEL AGENCY INC                      PO BOX 8222                                                                                                          HUMACAO             PR         00792‐8222
          KING UNIFORMS & INDUSTRIAL
  1256622 LAUNDRY INC                                 REDACTED                          REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          KING UNIFORMS INDUSTRIAL
   259010 LAUNDRY INC.                                BOX 1138                                                                                                             ARECIBO             PR         00613
   694892 KING VIDEOS                                 PO BOX 343                                                                                                           TOA BAJA            PR         00951
   694893 KINGDOM PACKING CO INC                      PO BOX 10275                                                                                                         SAN JUAN            PR         00922
   259011 KINGDOM SOLUTIONS CORP                      AC22 CALLE ESPIRITU SANTO                                                                                            BAYAMON             PR         00961
   259013 KINGS COUNTY HOSPITAL                       451 CLARKSON AVE                                                                                                     BROOKLYN            NY         11203‐2097

   694894 KING'S CREAM INCORPORADO                    19 C/ BOBY CAPO                                                                                                      COAMO               PR         00769
   694895 KINGS MEN'S WARE                            BAYAMON OESTE 23                                                                                                     BAYAMON             PR         00961
   259014 KINGS SCU                                   AREA DEL TESORO                   DIV DE RECLAMACIONES                                                               SAN JUAN            PR         00902‐4140



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                                                                                  2525 AVE EDUARDO RUBERTE
   694896 KINGS SEPTICS CORP                          COLICEO SHOPING CENTER      ST207                                                                                  PONCE               PR           00728
   694897 KINGS SPORT WEAR                            AVE WEST MAIN               55‐8 CALLE 46                                                                          BAYAMON             PR           00961
   694898 KING'S SPORT WEAR                           PMB 572 P O BOX 607061                                                                                             BAYAMON             PR           00960‐7061
          KINGS SPORTS WEAR & PRO
   694899 SHOP INC                                    PMB 419                      PO BOX 194000                                                                         SAN JUAN            PR           00961
          KINGS SPORTS WEAR & SPORT                   AVE. WEST MAIN BLOQUE # 55‐8
   259015 SHOP                                        SIERRA BAYAMON                                                                                                     BAYAMON             PR           00961

   259019 KINGSLEY OVALLES, CLAUDIA M REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694900 KINO COMMUNITY HOSPITAL      130 W CONGRESS ST                          TUCSON AZ 85701                                                                        TUCSON              AZ           85701
          KINTETSU WORD EXPRESS [U S A
   694901 INC                          PO BOX 810426                                                                                                                     CAROLINA            PR           00981

   694902 KINTHERLANDIA APEK SCHOOL                   33 CALLE PALMER                                                                                                    SALINAS             PR           00751
   259024 KIOMAR OCASIO CINTRON                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   259025 KIOMARA DOMINGUEZ RIVERA                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694903 KIOMARA GONZALEZ SANTIAGO P O BOX 74                                                                                                                           NARANJITO           PR           00719
   259026 KIOMARA LIZ MORALES CRUZ  REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                  SECTOR HATO BUEY CARR 165
   694904 KIOMARA REYES FIGUEROA                      BO CONTORNO                 KM 8 1                                                                                 TOA ALTA            PR           00953
   259027 KIOMARA SOTO RODRIGUEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KIOMARICE SANTIAGO
   259028 RODRIGUEZ                                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694905 KIOMARIE IGNACIO SILVESTRINI                COND SERENITY BY THE SEA    DB 2 BO BELVEDERE                                                                      CABO ROJO           PR           00623
   259029 KIOMARY ORTIZ                               REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259030 KIOMARY TORRES CRUZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259031 KIONEL SANTIAGO ALVARADO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694908 KIR J VARGAS RAMOS                          HC 2 BOX 9245                                                                                                      GUAYNABO            PR           00970
   259032 KIRA A CRUZ LEDDE                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259033 KIRA A MESSINA ROMERO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259034 KIRA ORTIZ PEREZ                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259035 KIRBY LESTER                                REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259037 KIRENIA PEREZ RIVERA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259038 KIRIA N TAPIA RODRIGUEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259039 KIRIAN M ECHEVARRIA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694909 KIRK FORTE MALAVE                           URB SANTA CLARA A 8         CALLE MEGA                                                                             GUAYNABO            PR           00969
   694910 KIRK KEVIN DE SOUZA GARCIA                  4TA SECC LEVITTOWN          F 2 CALLE MAGDA ESTE                                                                   TOA BAJA            PR           00949
   694911 KIRKEGAARD PERRY LABS INC                   P O BOX 63411                                                                                                      BALTIMORE           MD           21263‐1411
   259040 KIRKLAND & ELLIS LLP                        655 15TH STREET NW                                                                                                 WASHINGTON          DC           20005
   694912 KIRNA PEREZ ROSA                            VILLA CONTESSA              B 4 BARBON                                                                             BAYAMON             PR           00937
   694913 KIRSEY C. COLL VAZQUEZ                      URB. BERWIND ESTATES        6 B CALLE 1                                                                            SAN JUAN            PR           00924

   259044 KIRSIES M RODRIGUEZ BONILLA                 REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259045 KIRSIS Y. COLON ALVARADO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694914 KIRZA VAZQUEZ CASTRO                        PO BOX 881                                                                                                         CEIBA               PR           00735
   259046 KISAIRIS GUERRERO PEREZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259047 KISHA A AYALA ALVAREZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694915 KISHA TIKINA BURGOS SIERRA                  207 CALLE LUNA APT 2 A                                                                                             SAN JUAN            PR           00902
   259048 KISHA VIRUET MALDONADO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  259049 KISHALY RIVERA BASCO                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  694916 KISHIA GARCIA FIGUEROA                        VILLAS DE LOMAS             12 VERDESK                                                                             SAN JUAN              PR         00926
  259053 KISSIE ACEVEDO RODRIGUEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  694917 KISSIE COLON                                  PO BOX 2277                                                                                                        SALINAS               PR         00751
  694918 KISSIE M COLON MARTINEZ                       BOX 2277                                                                                                           SALINAS               PR         00751
         KISSIMMEE FALSE ALARM
  259054 REDUCTION PROGRAM                             PO BOX 865033                                                                                                      ORLANDO               FL         32886‐5033
         KISSIMMEE FAMILY WELLNESS
  259055 CENTER                                        ATTN: MEDICAL RECORDS       618 N MAIN ST                                                                          KISSIMMEE             FL         34744
         KISSIMMEE UTILITY AUTHORITY‐
  259056 CIS                                           P.O. BOX 850001                                                                                                    ORLANDO               FL         32885‐0096
  259057 KISSY ACOSTA MALDONADO                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  259058 KISTA D AYALA ANTONSANTI                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
                                                       AVE CAMPO RICO COUNTRY
   694919 KITCHEN ART AND OFFICE                       CLUB                        C ‐ K 32                                                                               CAROLINA              PR         00982

   259062 KITCHEN CLEANING SERVICES INC P O BOX 79198                                                                                                                     CAROLINA              PR         00984
          KITCHEN TO TABLE
   694920 CATERING/ELIEZER PEREZ        HC 01 BOX 4109                                                                                                                    VILLALBA              PR         00706
   259065 KITSA ESCOBAR RODRIGUEZ       REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
          KITTIE FRANZ ‐ GEDDES
   259066 PRODUCTIONS                   P.O.BOX 41761                                                                                                                     LOS ANGELES           CA         90041‐0761

   259067 KITTYBELLE RIVERA UMPIERRE                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   694921 KITZA D LOPEZ SILVA                          PO BOX 9614 COTTO STATION                                                                                          ARECIBO               PR         00612
   259069 KITZIE CAMILO PEREZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   259070 KIXIA LIZ TANCO VALCARCEL                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   259071 KIYAVI CORP                                  P O BOX 12111               LOIZA STA.                                                                             SAN JUAN              PR         00914
   259072 KIYOMI CRUZ PLUMEY                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   259073 KIZZY GONZALEZ PEREZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   694924 KIZZY ORTIZ REYES                            HC 01 BOX 12283                                                                                                    CAROLINA              PR         00986

   694925 KJE COMPUTER SOLUTIONS LLC                   PMB 111                     1730 NEW BRIGHTON BLVD                                                                 MINNEAPOLIS           MN         55413
          KLAP REALTY AND
   259074 MANAGEMENT                                   AREA DEL TESORO             DIVISION DE RECLAMACIONES                                                              SAN JUAN              PR         00902‐4140
   831443 Klarmann Rulings, Inc                        480 Charles Bancroft Hwy                                                                                           Litchfield            NH         03052
   259078 KLASKIN MD , BRUCE D                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   259079 KLASS MD , STEPHEN C                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   694926 KLEAR SYSTEMS INTEGRATIONS                   PO BOX 12383‐126                                                                                                   SAN JUAN              PR         00914
   259083 KLEIN ENGINEERING PSC                        PO BOX 12009                                                                                                       SAN JUAN              PR         00922
   694927 KLESICO INC                                  4TA EXT VILLA DEL REY       BB17 CALLE 13                                                                          CAGUAS                PR         00725

   694928 KLUMER ACADEMIC PUBLISHERS P O BOX 358                                   ACCORD STATION                                                                         HINGHAM               MA         02018‐0358
   259094 KM RENTA INC               208 CALLE ISMAEL RIVERA                                                                                                              SAN JUAN              PR         00911
   259095 KMART                      601 YAUCO PLAZA                                                                                                                      YAUCO                 PR         00698
   694934 KMART INC                  HC 1 BOX 12010                                                                                                                       SAN SEBASTIAN         PR         00685

   694935 KMART PLAZA DEL ATLANTICO                    PLAZA DEL ATLANTICO                                                                                                ARECIBO               PR         00612
   259100 KMI JONEHSTONE                               4717 ST ANTOINE BLVD                                                                                               DETROIT               MI         48201
   259101 KMILAS BAKERY                                HC 02 BOX 6103                                                                                                     BARRANQUITAS          PR         00794




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   694937 KN PRODUCTS SERVICES CORP                   PO BOX 8753               PLAZA CAROLINA                                                                      CAROLINA             PR           09888753
                                                      SABANA ABAJO INDUSTRIAL   50109 MARGINAL COUNTRY
   259103 KN WHOLESALE LLC                            PARK                      CLUB                                                                                CAROLINA             PR           00985
   259107 KNATIB MAHMOD                               REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   694938 KNICHETTES ALL OCCASIONS                    BO CALABAZAS BOX 254      CARR 119 KM 38 5 INT                                                                SAN SEBASTIAN        PR           00685
   694939 KNIGHTS OF COLUMBUS                         I COLUMBUS PLAZA                                                                                              NEW HAVEN            CO           06510‐3326
   694940 KNIT RITE INCORPORATED                      PO BOX 3900                                                                                                   KANSAS CITY          KS           66103‐0900
                                                      8030 LA MESA BOULEVARD
   694941 KNIVE MARCHANT                              SUITE 161                                                                                                     LA MESA              CA           91941
   694942 KNIVE MERCHANT                              8030 LA MESA BOULEVARD    SUITE 161                                                                           LA MESA              CA           91941
          KNO NEGRON PRODUCTIONS
   694943 INC.                                        URB. VISTAMAR             990 CALLE NAVARRA                                                                   CAROLINA             PR           00983
   259117 KNOLL LLC B V                               PO BOX 278                                                                                                    BARCELONETA          PR           00617
   259119 KNOWLEDGE POWER GROUP                       PO BOX 191166                                                                                                 SAN JUAN             PR           00919‐1166
   694944 KNOWTECH INC                                P O BOX 194238            HATO REY STATION                                                                    SAN JUAN             PR           00919‐4238
          KNOX COUNTY REGIONAL
   259121 FORENSIC CENTER                             2761 SULLINS STREET                                                                                           KNOXVILLE            TN           37919

   259123 KNUMETRIX CORP             EDIFICIO EMILIO BACARDI 101                CALLE JUNIN SUITE 202                                                               SAN JUAN             PR           00926
   259124 KO DEUKY Y                 URB LAS COLINAS                            L 46 CALLE 9                                                                        TOA ALTA             PR           00953
   259125 KOALAS BABY DAY CARE       PO BOX 3015                                                                                                                    MANATI               PR           00674
                                     17767 N PERIMETER DRIVE STE
   694945 KOCH FINANCIAL CORPORATION 101                                                                                                                            SCOTTSDALE           AZ           85255
   259129 KODAK AMERICAS LTD         PO BOX 3618                                                                                                                    CAROLINA             PR           00984
   259132 KODAK CARIBBEAN            PO BOX 3618                                                                                                                    SAN JUAN             PR           00984‐3618
   259133 KODAK RAHOLA               PLAZA LAS AMERICAS                                                                                                             SAN JUAN             PR           00919
   259134 KODSI MD , BAROUKH E       REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          KOENRAAD JAN DE SMEDT
   694949 VERBIEST                   HERMAN FOSSGT 14                                                                                                               BERGEN                            5007
   259137 KOFRESI, PICADERO          REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   831774 KOI Americas LLC           Urbanizacion Muñoz Rivera                  A‐3 Calle Acuarela                                                                  Guaynabo             PR           00969
   259140 KOI ARAISE CORP            URB MUNOZ RIVERA                           CALLE ACUARELA A 3                                                                  GUAYNABO             PR           00969
   259141 KOI ARISE CORP             URB MUNOZ RIVERA                           A3 CALLE ACUARELA                                                                   GUAYNABO             PR           00969‐3577
                                     ACUARELA 3 URB. MUNOZ
   259142 KOI GC                     RIVERA                                                                                                                         GUAYNABO             PR           00969
   259143 KOI INC                    URB MUNOZ RIVERA                           3A CALLE ACUARELA                                                                   GUAYNABO             PR           00969
          KOIG CORP/DBA BANCO
   259144 DESARROLLO ECONOMICO       PO BOX 2134                                                                                                                    SAN JUAN             PR           00922‐2134
   259145 KOINE INC.                 RR‐3 APT. 3801                                                                                                                 SAN JUAN             PR           00926
   694950 KOKO AUTO COLLISION        615 CARPENTER ROAD                                                                                                             SAN JUAN             PR           00915
   259147 KOLLA MD, RAJASEKHAR       REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   694951 KOMET TRAILER CORP         103 CALLE 350                              URB RIVIERA                                                                         RIO PIEDRAS          PR           00921
   259152 KOMMOR MD, DAVID           REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   694952 KOMODIDAD DISTRIBUTORS     P O BOX 6359                                                                                                                   CAGUAS               PR           00726
   694953 KOMPUTEK                   URB LOMAS VERDES                           AVE NOGAL 3D 29                                                                     BAYAMON              PR           00956

   694954 KONCECOM INC D/B/A MEDCOM ASHFORD 1452 SUITE 305 A                                                                                                        SAN JUAN             PR           00907
   694955 KONDOM KLASIC             URB VILLA MATILDE                           A 8 LOCAL 4 CALLE 1                                                                 TOA ALTA             PR           00953
   259155 KONG LEUNG MD, MAN        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   694956 KONGOTY SUPPLIES          P O BOX 244                                                                                                                     CULEBRA              PR           00645
          KONICA MINOLTA BUSINESS
   259156 SOLUTIONS                 500 DAY HILL ROAD                                                                                                               WINDSOR              CT           06095



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          KONIK EQUIPMENT
   694957 TECHNOLOGY AND SUPPLIES                     5701 NW 79 TH AVE                                                                                                          MIAMI               FL           33166

   259159 KONIZZIMO PUERTO RICO INC                   PO BOX 1870                                                                                                                ISABELA             PR           00662
   694958 KONRAD M MARINE                             202 EAST WATER STREET                                                                                                      DECORAH             IA           52101
   259160 KONY R FUENTES RIVERO                       REDACTED                      REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694959 KOOKIE Y LAS NENAS                          8 CALLE ESMERALDA                                                                                                          MANATI              PR           00674
   694960 KOOLEE DE P.R. INC.                         PO BOX 363341                                                                                                              SAN JUAN            PR           00936

   259161 KOPER FURNITURE INC                         CALLE ELEONOR ROOSEVELT 120                                                                                                HATO REY            PR           00918

   259162 KOPER II FURNITURE INC                      CALLE ELEANOR ROOSVELT 120                                                                                                 HATO REY            PR           00918
   694961 KOPER II FURNITURE INC.                     149 COND ROOSEVELT PLZ                                                                                                     SAN JUAN            PR           00917
   259163 KOPITZY MELENDEZ DIAZ                       REDACTED                      REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259167 KORAL GONZALEZ VERGES                       REDACTED                      REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KORALLYS MARIEL FERNANDEZ
   259168 MARRERO                                     REDACTED                      REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259169 KORALYZ RAMIREZ CASAS                       REDACTED                      REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694963 KORAN A MIRANDA MELENDEZ                    COOP VILLA KENNEDY            EDIF 12 APT 219                                                                              SAN JUAN            PR           00915
          KOREAN CHURCH OF PUERTO
   694964 RICO INC                                    134 ELEANOR ROOSEVELT                                                                                                      SAN JUAN            PR           00918
   259172 KORKUS MD, VICTORIA                         REDACTED                      REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259173 KORMARIE PENALOZA CRUZ                      REDACTED                      REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694965 KORP INTERIOR DESIGN PR INC                 PO BOX 194000 PMB 369                                                                                                      SAN JUAN            PR           00919‐4000
   259174 KORT MD , JAMES S                           REDACTED                      REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694967 KORTINAS Y ALGO MAS                         URB VALLE HERMOSO             SO6 CALLE CIPRES                                                                             HORMIGUEROS         PR           00660
   694968 KOTMANN INC.                                2281 PLANTATION CT                                                                                                         LAWRENCEVILLE       GA           30044
   694969 KOU FENG CHENG                              PO BOX 9023553                                                                                                             SAN JUAN            PR           00902
   259191 KOZINN MD , MARK A                          REDACTED                      REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259192 KOZOWER MD, MICHAEL                         REDACTED                      REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   259193 KP AITA VISTA INC                           A PONCE B3 LEON               EDIF 221 PLAZA PISO 8 SUITE 803                                                              HATO REY            PR           00917
   259194 KPG INC                                     P O BOX 191166                                                                                                             SAN JUAN            PR           00919‐1166
          KPG KNOWLEDGE POWER
   259195 GROUP                                       PO BOX 191166                                                                                                              SAN JUAN            PR           00919‐1166
   259197 KPMG LLP                                    3 CHESTNUT RIDGE ROAD                                                                                                      MONTVALE            NJ           07645‐0435
                                                      ANGEL PEREZ & LUISETTE        AMERICAN INTERNATIONAL            250 AVENUE LUIS MUÑOZ
  1260407 KPMG, LLC                                   NEGRON                        PLAZA                             RIVERA                                                     SAN JUAN            PR           00918
   259202 KRAEMER RIVERA MD, JAN J                    REDACTED                      REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259205 KRAFT FOODS GLOBAL INC                      THREE LAKES DRIVE NF 132                                                                                                   NORTHFIELD          IL           60093
   259207 KRAMAS INC                                  MARGINAL MARTINEZ NADAL       592 CALLE ALDEBARAN                                                                          SAN JUAN            PR           00920
   694971 KRAMER NOVIS                                P O BOX 191775                                                                                                             SAN JUAN            PR           00919‐1775
   259212 KRASENBAUM MD , LYNDA J                     REDACTED                      REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259213 KRASSEN MD, JUSHUA                          REDACTED                      REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259219 KRAUT MD, ROBERT                            REDACTED                      REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694972 KRAVAZ PRODUCTIONS                          407 CALLE AUSUBO                                                                                                           TOA ALTA            PR           00953
   694973 KRAVAZ PRODUCTIONS INC                      CONDADO CENTRO                54 CALLE VILLAMIL                                                                            SAN JUAN            PR           00927
                                                      URB. VISTA HERMOSA B‐47
   259223 KRAYOLA KIDS DAY CARE                       CALLE 6                                                                                                                    HUMACAO             PR           00791
   259224 KRAYOLA KIDS INC                            URB VISTA HERMOSA             B 47 C/ 6                                                                                    HUMACAO             PR           00791
   694974 KREATIVE KIDS COM                           43110 HOLDERLANE                                                                                                           HAMMOND             LA           70403



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   694975 KRENLLY RODRIGUEZ VALENTIN                  PO BOX 1121                                                                                                      CIALES              PR           00638
   694976 KRESIENDO INC                               PO BOX 363614                                                                                                    SAN JUAN            PR           00936‐3614
   259229 KRESJI T DIAZ RIVERA                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259231 KRESLOFF MD , MICHAEL S                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694977 KRESPO ROWING                               PO BOX 2161                                                                                                      SAN JUAN            PR           00922‐2161
   259232 KRESTON PR LLC                              PO BOX 193488                                                                                                    SAN JUAN            PR           00919‐3488
   259233 KRESTON TLSR LLC                            PO BOX 270233                                                                                                    SAN JUAN            PR           00927‐0233
          KRESTON TLSR,LLC Y BANCO DES
   259234 ECO PARA PR                                 1056 MUNOZ RIVERA AVENUE      SUITE 304                                                                          SAN JUAN            PR           00927‐5013
          KRESTON,TLSR,LLC Y BANCO DES
   259235 ECO PARA PR                                 P.O. BOX 270233                                                                                                  SAN JUAN            PR           00927‐0233

   694979 KRETHLLEN RODRIGUEZ PEREZ                   PARC SAN ROMUALDO             190 CALLE P                                                                        HORMIGUEROS         PR           00660
   259236 KRIEGER MD , HOWARD M                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259237 KRIETMAN MD, GARY                           REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259238 KRIFFABDIEL COLON PAGAN                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694980 KRIMHILDA DUMONT MARTINEZ URB COUNTRY CLUB                                JD 15 CALLE 229                                                                    CAROLINA            PR           00982
   694981 KRIMILDA ALVAREZ CRUZ     BO BORINQUEN                                    BZN 2189                                                                           AGUADILLA           PR           00603

   694982 KRIMILDA GARCIA FELICIANO                   URB. SAN PEDRO D‐20 CALLE‐2                                                                                      TOA BAJA            PR           00949
          KRIMILDA GOMEZ / MARIA J
   694983 GOMEZ                                       HC 1 BOX 4773‐9716                                                                                               RINCON              PR           00677
   259242 KRIMILDA OTERO BRACERO                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259243 KRIMILDA VEGA ROSARIO                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259245 KRIS KOCH                                   REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KRIS MIGUEL ECHEVARRIA
   259246 ECHEVARRIA                                  REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694986 KRISCIA JIMENEZ MEDINA                      P O BOX 1745                                                                                                     MANATI              PR           00674
   259247 KRISELE ECHEVARRIA TAPIA                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   259248 KRISHIA M SANTIAGO MORALES REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694987 KRISHNA A ANGUEIRA DEL VALLE REDACTED                        REDACTED                             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259250 KRISHNA ANGUEIRA             REDACTED                        REDACTED                             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                       RIO CRISTAL APT 13 C CLUSTER 9‐
   694988 KRISHNA POL BACO             0                               5628 CALLE ROBERTO COLE                                                                         MAYAGUEZ            PR           00680
          KRISHNAMURTI GALARZA
   259252 VAZQUEZ                      REDACTED                        REDACTED                             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          KRISMARIE A CARRION
   259254 RODRIGUEZ                    REDACTED                        REDACTED                             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259255 KRISMARIE COLON MARCANO      REDACTED                        REDACTED                             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259256 KRIST L DELGADO DIAZ         REDACTED                        REDACTED                             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694989 KRISTA H VAUGHAN             URB SABANERA DORADO             12 CAMINO DE LAS GARZAS                                                                         DORADO              PR           00646
   259257 KRISTAL BAS SANCHEZ          REDACTED                        REDACTED                             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694990 KRISTAL C CAPPAS CORDERO     URB VILLA DEL CARMEN            G 8 CALLE 7                                                                                     GURABO              PR           00778
   259259 KRISTAL M. PEREZ ARROYO      REDACTED                        REDACTED                             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259261 KRISTAL TORRES AYALA         REDACTED                        REDACTED                             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694992 KRISTALERIA LOS TORRES       PO BOX 397                                                                                                                      JUNCOS              PR           00777
   694993 KRISTALY M GARCIA CRUZ       HC 8 BOX 39545                                                                                                                  CAGUAS              PR           00725‐9671
   259262 KRISTEN WILLIAMS             REDACTED                        REDACTED                             REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          KRISTHIAN L RIVERA / YISELA
   259263 CONCEPCION                                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259264 KRISTIA ABREU DIAZ                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   694994 KRISTIA HERNANDEZ GALARZA                   LAS DELICIAS                2321 CALLE JOSE DEL TORO                                                              PONCE               PR           00728‐3832
   259265 KRISTIA M BAEZ NAZARIO                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   259266 KRISTIAN A. VELAZQUEZ RAMOS REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   259267 KRISTIAN CASTRO HERNANDEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694995 KRISTIAN D GINORIO                          HC 03 BOX 11298                                                                                                   JUANA DIAZ          PR           00795

   259268 KRISTIAN G LEBRON HERNANDEZ REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259269 KRISTIAN J RIVERA GONZALEZ  REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259270 KRISTIAN J ZAYAS TORRES     REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259271 KRISTIAN J. CRUZ GARCIA     REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259273 KRISTIAN MEDINA MORALES     REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694996 KRISTIAN PEREZ              PO BOX 709                                                                                                                        COROZAL             PR           00783‐0709
   259274 KRISTIAN STAIMAN DELGADO    REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259275 KRISTIAN VALLE ORTIZ        REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259276 KRISTIE LOPEZ RODRIGUEZ     REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259277 KRISTIE M CARMONA CARINO    REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   694998 KRISTIE RAMOS LAMBERT       COND RIVERPARK                              APT J 105                                                                             BAYAMON             PR           00961‐7013
   694999 KRISTINA BRANDI             16107 CADBURY COURT                                                                                                               TAMPA               FL           33647
   259278 KRISTINA CAQUIAS MORALES    REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259279 KRISTINA CEYTON             REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   695000 KRISTINA CORTES CORUJO      BAHIA VISTAMAR                              1544 MARLIN ST                                                                        CAROLINA            PR           00983

   259280 KRISTINA DE LA MATA CASTRO                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   695001 KRISTINA GONZALEZ BOGALLO                   URB FOREST HILLS            116 CALLE 14                                                                          BAYAMON             PR           00957
   259281 KRISTINA L DIAZ                             REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259282 KRISTINA RAMIREZ IRIZARRY                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259283 KRISTINA Y ABREU DIAZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259284 KRISTINE A VEGA TORRE                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259285 KRISTINE BEAUCHAMP ORTIZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   695003 KRISTINE BURGOS SANTIAGO                    URB EL DORADO               27 CALLE BB                                                                           SAN JUAN            PR           00926
   259286 KRISTINE FLORES ROSADO                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   695004 KRISTINE M SERVIA PEREZ                     PO BOX 9021112                                                                                                    SAN JUAN            PR           00902‐1112
   259287 KRISTINE MORALES FERRARI                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   259288 KRISTOPHER BONEFONT FLORES REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   695005 KRISTY D RODRIGUEZ SANTIAGO PO BOX 1578                                                                                                                       MOROVIS             PR           00687
   695006 KRISTY M ORTIZ ROSADO       EXT JARD DE COAMO                           J 7 CALLE 10                                                                          COAMO               PR           00769
   259289 KRISTY M RODRIGUEZ NATAL    REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   259290 KRISTY M. SANTOS RODRIGUEZ                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259291 KRISTY OJEDA SANTOS                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   695007 KRISTY PEREZ JIMENEZ                        PARCELAS CHIVAS             BUZON 2016 CALLE 7                                                                    QUEBRADILLA         PR           00678
   695008 KRISTY RODRIGUEZ COLON                      ESTANCIAS DE JUANA DIAZ     166 CALLE ROBLE                                                                       JUANA DIAZ          PR           00795

   695009 KRISTY V ALOYO OJEDA                        640 BO DAGUAO PARC NUEVAS                                                                                         NAGUABO             PR           00718



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  259294 KRITSIA J QUINONES GARCIA                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  259295 KRITSY A SANTIAGO RIVERA                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   259296 KRITZALIS M FERMIN PACHECO                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   259298 KRITZIA S TORRES CUETO                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   259299 KRITZIA SANCHEZ RAMOS                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   259300 KRIZANYELUIS RIOS RIOS                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   695010 KRIZIA DROWNE ESPIN                          MAGNOLIA GARDENS            CALLE 20 V‐1                                                                         BAYAMON             PR         00956

   695011 KRIZIA FIGUEROA HERNANDEZ                    HC 09 BOX 5793                                                                                                   SBANA GRANDE        PR         00637
   695012 KRIZIA GARCIA GARCIA                         PO BOX 3123                                                                                                      GUAYNABO            PR         00970

   695013 KRIZIA GONZALEZ COLON                        1108 B COOP JARD SAN IGNACIO                                                                                     SAN JUAN            PR         00927
   259301 KRIZIA M PAGAN RIVERA                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   259302 KRIZIA M TOSADO CRUZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   259303 KRIZIA MARTINEZ IRIZARRY                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   259304 KRIZIA SANTANA GUZMAN                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   259305 KRIZIA V RIVERA VELEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   695014 KRIZIA V TORRES                              URB SAN PEDRO                G4 CALLE 7                                                                          TOA BAJA            PR         00949
   695015 KRIZIA VIDAL JIMENEZ                         URB VEGA BAJA LAKES          C 7 CALLE 2                                                                         VEGA BAJA           PR         00693
   259306 KRIZIA Y. PEREZ OCASIO                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   259307 KRIZIALIZ ELIAS RIVERA                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   259308 KRK MEDICAL SUPPLY                           146 AVE ROOSEVELT                                                                                                SAN JUAN            PR         00920
   259310 KROLL ASSOCIATES INC                         PO BOX 848098                                                                                                    DALLAS              TX         75284‐8098
   695016 KROM CORP                                    714 CALLE CERRA                                                                                                  SAN JUAN            PR         00907
   695017 KROMA ADVERTISING INC                        PO BOX 9778                                                                                                      SAN JUAN            PR         00908
   259311 KROMA ADVERTISING, INC.                      PMB 256                      AVE PONCE DE LEON 1507                                                              SAN JUAN            PR         00909
   259313 KRONE FURNITURE CORP                         1237 FD ROOSEVELT AVE                                                                                            SAN JUAN            PR         00920
   695019 KRONO PRODUCTION                             PO BOX 1773                                                                                                      BAYAMON             PR         00916
   695020 KRONOS PRODUCTIONS                           P O BOX 1763                                                                                                     BAYAMON             PR         00960
   695021 KRONUS                                       1000 CALLE AMANACER          SAN CLEMENTE                                                                        CALIFORNIA          CA         92673
   259315 KROUM CORP, INC                              CALLE CERRA 714                                                                                                  SAN JUAN            PR         00917
   831445 Kroum Corp.                                  Calle Cerra #714                                                                                                 San Juan            PR         00907
   259316 KRSKO CHIROPRACTIC CLINIC                    7000 S 76TH ST                                                                                                   FRANKLIN            WI         53132
   259321 KRUPP & CO INC                               EDIF BANCO POPULAR           SUITE 906                                                                           SAN JUAN            PR         00902
   695022 KRUXAN CLAUDIO                               PARC FALU                    287 A CALLE 34                                                                      SAN JUAN            PR         00924
   695023 KRYONIX CORPORATION                          P O BOX 194972                                                                                                   SAN JUAN            PR         00919‐4972
   259322 KRYONYX CORPORATION                          PO BOX 194972                                                                                                    SAN JUAN            PR         00919‐4972
   695024 KRYSIA VELAZQUEZ MORALES                     PARC FALU                    29 C 34                                                                             RIO PIEDRAS         PR         00924
   259323 KRYSTAL BURGOS GONZALEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   259324 KRYSTAL CARABALLO RODRIGUEZ REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   259325 KRYSTAL E CRUZ LOPEZ        REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   695025 KRYSTAL E MARRERO MARTIN    URB LOURDES                                  782 CALLE GAVE                                                                       TRUJILLO ALTO       PR         00976
          KRYSTAL E RODRIGUEZ
   259326 FELICIANO                   REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          KRYSTAL E RODRIGUEZ
   259327 RODRIGUEZ                   REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          KRYSTAL GARDENS &
   695026 LANDSCAPING                 PO BOX 736                                                                                                                        RINCON              PR         00677

   259328 KRYSTAL GONZALEZ GONZALEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   259329 KRYSTAL K TORRES RAMOS                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  259330 KRYSTAL L BENAVE SANTIAGO                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  259331 KRYSTAL L. RIVERA BERNARD                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         KRYSTAL LUCIANO MENDEZ /
  259332 MARITZA MENDEZ                               REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   259333 KRYSTAL M BUTLER FERNANDEZ REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   259334 KRYSTAL M CRUZ MILLER      REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   259335 KRYSTAL M LOPEZ CASTRO     REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   259336 KRYSTAL M MAGARINOS ORTIZ                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   259337 KRYSTAL M RODRIGUEZ COLON                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   259338 KRYSTAL M SERRANO DIAZ                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   259339 KRYSTAL MARIE BAEZ LOPEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   695027 KRYSTAL MEDICAL EQUIPMENT                   PO BOX 467                                                                                                        MAYAGUEZ            PR         00681
   259340 KRYSTAL N RIVERA PENA                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   695028 KRYSTAL PEREZ MARTINEZ                      VILLA NEVAREZ                 1133 C/ 17                                                                          SAN JUAN            PR         00927

   259342 KRYSTALEE NAZARIO RODRIGUEZ REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   259343 KRYSTALET D VALENTIN ROSARIO REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   259344 KRYSTEL NAVARRO ACEVEDO      REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   259345 KRYSTEL RUIZ SERRANO         REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   695030 KRYSTEL SOTERO BONILLA       MANSIONES DE STA BARBARA                     C 45 CALLE AZABACHE                                                                 GURABO              PR         00778
   259346 KRYSTIAN A AVILES RIVERA     REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   259347 KRYSTINA ARROYO SALAS        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   259348 KRYSTLE KNIGHT CARDONA       REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   695031 KRYSTLE M NIEVES BERMUDEZ                   378 CALLE JARDIN LIBERTAD                                                                                         TOA BAJA            PR         00953
   259350 KRYSTLE VILLAFANE RIVERA                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          KRYSTOPHER ALVARADO
   259351 RAMIREZ                                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   695032 KT PRESS                                    EAST GREENWICH 38 BELLOT ST                                                                                       LONDON                         SE10 OAQ     UNITED KINGDOM
   259353 KTG                                         28 SANTA CRUZ                                                                                                     BAYAMON             PR         00961

   259354 KUAY CHAN RIVERA SANTIAGO                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   259357 KUC LEGAL CONSULTANTS LLC                   P O BOX 229                                                                                                       AGUADILLA           PR         00605‐0299
   259359 KUFLIK MD , ROSS M                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   259360 KUFNER MD , GERALD M                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          KUILAN MARTINEZ MD,
   259395 NERYMAR                                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   259409 KUILAN PEREZ MD, IRIS L                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   695033 KUMAR INC                                   EL PEDREGAL                   RR 4 BOX 3508                                                                       BAYAMON             PR         00956
   259438 KUMAR MD, SURESH                            REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   259439 KUNDU MD, KAUSHIK                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   695034 KUON HONG NG                                PO BOX 1423                                                                                                       HORMIGUEROS         PR         00660
   695035 KURT GROSSEN FRAUCHIGER                     URB SANTA ISIDRA III          E6 CALLE A                                                                          FAJARDO             PR         00738‐4116
   259444 KURTIS WAYNE GRAY                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   695036 KURY MFG                                    PO BOX 9021381                                                                                                    SAN JUAN            PR         00902‐1381
   259446 KUTAK ROCK LLP                              CONNECTICUT AVENUE NW         1101 SUITE 1000                                                                     WASHINGTON          WA         20036‐4374



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  695037 K‐VAN DISTRIBUTORS                            REPARTO RAMOS                  23 BO BORINQUEN                                                                          AGUADILLA         PR           00603
         KVOKUSHIN KARATE DO P R
  259448 TIGER                                         URB DOS PINOS                  837 CALLE LOPEZ SICARDO                                                                  SAN JUAN          PR           00923
  259449 KW INVESTMENT. S.E.                           PO BOX 190858                                                                                                           SAN JUAN          PR           00919‐0858
  695038 KWOK HUNG SHUM SUM                            COND GALERIA I APT 608         AVE ARTERIAL DE HOSTOS                                                                   SAN JUAN          PR           00908‐0000
  695039 KWOK ON TSANG                                 PO BOX 10134                                                                                                            CAROLINA          PR           00988
  695040 KWS SEEOS INC                                 P O BOX 1784                                                                                                            JUANA DIAZ        PR           00795
  695041 KYAN SUE A QUAN BEGUN                         INTERSUITES BLD 8K                                                                                                      CAROLINA          PR           00979
  259452 KYARA RIVERA CRUZ                             REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  695042 KYDIAN M CABRERA DIAZ                         URB VILLAS DELM RECREO         C 3 CALLE 3                                                                              YABUCOA           PR           00767
  259453 KYFRAN J ORAMA                                REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  259454 KYLE I VALLE CRUZ                             REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  259456 KYLE MARING                                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  259457 KYLE RODERIC RYFF                             REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  259459 KYLIANA I QUINONES                            REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  695043 KYNTAN ENTERPRISES                            P O BOX 6227                                                                                                            CAGUAS            PR           00726
         KYOKUSHIN KAIKAN / KKO P R
  695044 INC                                           PO BOX 1347                                                                                                             AGUAS BUENAS      PR           00703
  695045 KYOMARA GOMEZ LUGO                            URB PARQUE LAS HACIENDAS       D 29 CALLE AYMANIO                                                                       CAGUAS            PR           00727
  259461 KYRIA E ECHEVARRIA ALICEA                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  259462 KYRIANET NUNEZ MIRANDA                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   259463 KYRIOS INTERNAL MEDICINE SVC. PO BOX 1492                                                                                                                            HATILLO           PR           00659
                                        65 CALLE PEPITA ALBANDEZ 2ND
   259464 KYROS CORP                    FLOOR                                                                                                                                  CANOVANAS         PR           00729
   259468 KYSHA Z. MARTINEZ             REDACTED                     REDACTED                                       REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   259469 L & A INDUSTRIAL SERVICES INC                PMB 221                        609 AVE TITO CASTRO STE 102                                                              PONCE             PR           00766
   695048 L & A QUICK PRINTING                         105 CALLE COLON                                                                                                         AGUADA            PR           00602

   695049 L & E AUTO PARTS                             VILLA CAROLINA 123‐1 CALLE 63                                                                                           CAROLINA          PR           00985‐5309
   259470 L & E CONTRACTING INC                        PMB 441                       PO BOX 4040                                                                               JUNCOS            PR           00777

   695050 L & ELECTRICAL CONTRACTORS                   PMB 1075                       243 CALLE PARIS                                                                          SAN JUAN          PR           00917
   259471 L & J EVENTS                                 VILLA PLATA                    BO MAMEYAL PARADA B2                                                                     DORADO            PR           00646
   695051 L & L CIGARRETES SERVICES                    URB GLENVIEW GARDEN            P 9 CALLE E 11                                                                           PONCE             PR           00730
   695052 L & L CONSTRUCTION                           PO BOX 364                                                                                                              BARRANQUITAS      PR           00794
          L & M AUTO PARTS / ROBERTO
   695053 BAUZO                                        APARTADO BMS 595 BOX 607061                                                                                             BAYAMON           PR           00960‐7061
          L & M HUMAN RESOURCES
   695054 CONSULTING GROUP                             PO BOX 950                                                                                                              TRUJILLO ALTO     PR           00977‐0950
   695055 L & M WASTE SERV CORP                        147 AVE HOSTOS                                                                                                          PONCE             PR           00731
   259472 L & PM MEDICAL INC.                          CONDOMINIO CAMELOT             APARTAMENTO 2503              CARR. 842                                                  SAN JUAN          PR           00926
   831446 L & PM Medical, Inc.                         Carr. 842 Condominio Camelot   Apartamento 2503                                                                         San Juan          PR           00926
   695056 L & QUICK PRINTING                           105 CALLE COLON                                                                                                         AGUADA            PR           00602

   259473 L & R ENGINEERING GROUP LLC                  URB EL PILAR 148               CALLE SAN VALENTIN                                                                       SAN JUAN          PR           00926
          L & R EQUESTRIAN
   259474 MANAGEMENT CORP                              URB VILLA VERDE                CALLE L G4                                                                               GUAYNABO          PR           00966
          L & R JOYEROS D/B/A JOYERIA
   695057 LAURA                                        111 CALLE ARZUAGA                                                                                                       SAN JUAN          PR           00925

   695058 L & S GENERAL CONTRACTORS                    HC 2 BOX 8276                                                                                                           YABUCOA           PR           00767



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  695059 L & T ELECTRIC                               593 CALLE INFANTE                                                                                    CAROLINA          PR           00982
  259475 L & T RETAIL CORP                            HC 1 BOX 5042                                                                                        BARCELONETA       PR           00617
         L A ACCOUNTANTS &
  695060 CONSULTANT SERV INC                          ESQ RUIZ BELVIS               32 CALLE ACOSTA                                                        CAGUAS            PR           00725
  695061 L A EVENTS AND EVENTS                        ER 13 ENRAMADA                                                                                       TRUJILLO ALTO     PR           00976

   695062 L A LATINO INTERNATIONAL                    7060 HOLLYWOOD BL SUITE 225                                                                          HOLLYWOOD         CA           90028
   695063 L A N T SURVEYORS CORP                      URB ALTAMIRA                  626 CALLE ALDEBARAN                                                    SAN JUAN          PR           00920
   695064 L A P COMPRESSORS                           1123 AVE 65 INFANTERIA        KM 5 2 SUITE 3                                                         SAN JUAN          PR           00924
   259477 L A PROSTHETIC                              AVE SAN MARCO                 EXT EL COMANDANTE 238                                                  CAROLINA          PR           00982
   695066 L A RECORDING STUDIO                        URB LEVITTOWN                 D 21 CALLE MARINA                                                      TOA BAJA          PR           00949

   695067 L AND L MANUFACTURING INC                   P O BOX 599                                                                                          BAYAMON           PR           00960‐0599
   695068 L AND M AUTO PARTS                          31 CALLE MUNOZ RIVERA                                                                                CIDRA             PR           00739

   259479 L B A LIGA BASEBALL ADULTO INC PO BOX 4741                                                                                                       CAROLINA          PR           00984
   695069 L B CARIBE SERVICES INC        PO BOX 9022391                                                                                                    SAN JUAN          PR           00902 2391
   695070 L B CONSTRUCTION               HC 02 BOX 12335                                                                                                   MOCA              PR           00670
   695071 L BARFIELD DE CASTRO C S P     180 AVE HOSTOS B 118                                                                                              SAN JUAN          PR           00918
   259480 L C A CONTRACTORS              PMB 1115                                   PO BOX 4956                                                            CAGUAS            PR           00725
   259481 L C TRANSPORT COM INC          PO BOX 362588                                                                                                     SAN JUAN          PR           00936
          L CZERNIAK CONSULTING GROUP
   695072 INC                            CITIBANK TOWER SUITE 1900                  PONCE DE LEON AVE                                                      SAN JUAN          PR           00918
   695073 L E AUTO AIR                   URB EL CONQUISTADOR                        B 10 CALLE 1                                                           TRUJILLO ALTO     PR           00976
   695074 L E R G AUTO SALES/DBA         88 CALLE BARBOSA                                                                                                  LAS PIEDRAS       PR           00771
   695075 L' ESTHETIQUE INC              PO BOX 9024275                                                                                                    SAN JUAN          PR           00902‐4275
   259483 L F D C CORP                   URB COSTA NORTE                            142 AVE LAS OLAS                                                       HATILLO           PR           00659‐2733
   259484 L F D C CORP.                  URB JARDINES DE MONACO II                  6 CALLE ESPANA                                                         MANATI            PR           00674
   259486 L F M CORP                     P O BOX 1288                                                                                                      GUAYAMA           PR           00785
   695076 L G GUIJARRO TRUST             1004 CALLE LABRA                                                                                                  SAN JUAN          PR           00907
   695077 L I H GROUP INC                PO BOX 11846                                                                                                      SAN JUAN          PR           00922‐1846
   695078 L I J U B I INC                PO BOX 1056                                                                                                       COAMO             PR           00769
   259488 L J ENTERPRISES INC            URB LAS VEREDAS                            B 10 CALLE LAS FLORES                                                  BAYAMON           PR           00961
   695079 L J MUFFLERS INC               P O BOX 29214                                                                                                     SAN JUAN          PR           00929
   259489 L J N CORP                     1213 AVE PONCE DE LEON                                                                                            SAN JUAN          PR           00907

   259490 L L ONE SHOT EXTERMINATING                  PMB 225 1353 CARR 19                                                                                 GUAYNABO          PR           00966‐2715
          L L R AND BRR PHOTO
   259491 LABORATORY INC                              304 CALLE SAN FRANCISCO                                                                              SAN JUAN          PR           00901
   695080 L M B ENTERPRISES INC                       1509 CALLE LOIZA                                                                                     SAN JUAN          PR           00911
          L M M MATERIALES DE
   695081 CONSTRUCCION                                P O BOX 4431                                                                                         VEGA BAJA         PR           00694
   259493 L M N FRIED CHICKEN                         5 AVE MUNOZ RIVERA                                                                                   CAYEY             PR           00736
   695082 L M QUALITY MOTORS INC                      PO BOX 31                                                                                            MANATI            PR           00674
   695083 L M SERVICES INC                            PO BOX 51710                                                                                         TOA BAJA          PR           00950‐1710
   259494 L O FLOWERS & RENTAL                        PUERTO NUEVO                  369 BALEARES ST                                                        SAN JUAN          PR           00920
          L O FLOWERS & RENTAL
   259495 COORDINATORS CORP                           PUERTO NUEVO                  369 CALLE BALEARES                                                     SAN JUAN          PR           00920

   695086 L O FLOWERS & RENTAL CORP                   311 AVE F D ROOSEVELT                                                                                SAN JUAN          PR           00918‐0000
                                                      369 BALEARES ST PUERTO
   259496 L O FLOWERS Y RENTAL                        NUEVO                                                                                                SAN JUAN          PR           00920‐4010
   695087 L O R CLEANER PRODUCTS                      LOMAS VERDES                  4G 38 CALLE TULIPAN                                                    BAYAMON           PR           00956



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  259497 L OREAL USA INC                              TREASURER OFFICE              50 CONNELL DRIVE 2 FLOOR                                                   BERKELEY HEIGHTS     NJ           07922
  259498 L ORTIZ TRUCKING                             PO BOX 397                                                                                               SALINAS              PR           00751
  259499 L ORTIZ TRUCKING INC                         PO BOX 419                                                                                               SALINAS              PR           00751
  695088 L P INVESTMENT GROUP INC                     P O BOX 270005                                                                                           SAN JUAN             PR           00927 0005
  695090 L P RECHARGE                                 89 CALLE DUQUE SUR                                                                                       GUAYAMA              PR           00784
         L P V PITIRRES
  695091 BARRANQUITAS/LUIS O ORTIZ                    PO BOX 868                                                                                               BARRANQUITAS         PR           00794

   695092 L R A O SECURITY SERVICE CORP               PO BOX 930‐0098                                                                                          SAN JUAN             PR           00928
   695093 L R BUILDERS INC                            JARDINES DE SANTA ISABEL      A 8 CALLE 1                                                                SANTA ISABEL         PR           00757
   695094 L S C EXTERMINATING CORP                    PO BOX 238                                                                                               SALINAS              PR           00751
          L S SERVICES & EXTERMINATING
   695095 SYSTEM INC                                  PO BOX 238                                                                                               SALINAS              PR           00751
   259501 L S TEXTILES INC                            P O BOX 362385                                                                                           SAN JUAN             PR           00936
   695096 L TECH ENTERPRISES INC                      509 TEXAS SCHOOL ROAD                                                                                    EUBANK               KY           42567
   695097 L W CONTRACTOR INC                          PO BOX 193433                                                                                            SAN JUAN             PR           00919‐3433
                                                      C/ 83 BLOQ. 123 # 1 AVE.
   695098 L Y E AUTO PARTS                            SANCHEZ                       CASTRO VILLA CAROLINA                                                      CAROLINA                          00936
   695100 L Y M AUTO PARTS                            436 SGTO MALARET JUARBE                                                                                  UTUADO               PR           00641
   695101 L Y M GUAYNABO INC                          PO BOX 768                                                                                               GUAYNABO             PR           00970
          L&R TRANSPORTATION
   259503 SERVICES, INC.                              PO BOX 2                                                                                                 SABANA GRANDE        PR           00637
   259504 L. M. ELECTRIC                              P.M.B. 110, P.O. BOX 5008                                                                                YAUCO                PR           00698
   259505 L. ORTIZ TRUCKING INC.                      BO. POLEO CARR. #1 KM 92.5    PO BOX 419                                                                 SALINAS              PR           00751
   695102 L. S. GENERAL CONTRACTOR                    HC‐02 BOX 8843                                                                                           YABUCOA              PR           00767‐9506
   695103 L.& F.PRODUCTS                              PO BOX 11869                                                                                             SAN JUAN             PR           00922
  1420145 L.A.C. CONSTRUCION CORP                     EDGARDO L. RIVERA             PO BOX 360764                                                              SAN JUAN             PR           00936‐0764
   259507 L.L. FOOK SERVICES                          PO BOX 22917 UPR STATION                                                                                 RIO PIEDRAS          PR           00931
   259508 L.L.A.C INC                                 1421 AVE LAS PALMAS PDA 20                                                                               SANTURCE             PR           00909
   831447 L.L.A.C., Inc                               1421 Calle Las Palmas                                                                                    San Juan             PR           00918
                                                      P.O.BOX 190262 TRES MONJITA
   259509 L.L.A.C., INC.                              STA.                                                                                                     SAN JUAN             PR           00919‐0000
          L.O. FLOWERS & RENTAL
   259510 COORDINATORS CORP.                          AVE. F.D ROOSEVELT # 311                                                                                 HATO REY             PR           00918
   259511 L.O.F.F. SERVICES, INC.                     CARR. 834 KM.0 HM. 1          BO. RIO                                                                    GUAYNABO             PR           00969‐0000

   695104 L.R. PRODUCTIONS ENTERPRICES LOS ARBOLES DE MONTEHIEDRA BLVD BOX 339                                                                                 SAN JUAN             PR           00926
   259512 L.S.C. EXTERMINATING, CORP.  APARTADO #238                                                                                                           SALINAS              PR           00751‐0000
   695106 L.T.J. FOODS                 PO BOX 106                                                                                                              GUAYNABO             PR           00970
          L+M HUMAN RESOURCES
   259513 CONSULTING GROUP INC         P O BOX 950                                                                                                             TRUJILLO ALTO        PR           00977‐0950

   259514 L3 COMMUNICATIONS SECURITY 10 COMMERCE WAY                                                                                                           WABURN               MA           01801
   695109 LA 14 MUFFLER SHOP         PO BOX 806                                                                                                                COTO LAUREL          PR           00780‐0806
   695110 LA 31 CONSTRUCTION INC     PO BOX 240                                                                                                                JUNCOS               PR           00777
          LA 85TA CONFERENCIA EDUC
   695111 INT'L DE IAPES             PO BOX 194960                                                                                                             SAN JUAN             PR           00919‐4960
   259517 LA ABEJITA BORICUA         PO BOX 630581                                                                                                             CATANO               PR           00963
          LA ABEJITA BORICUA /
   259518 BIENVENIDO MARRERO         P O BOX 630581                                                                                                            CATANO               PR           00963
          LA ACADEMIA AMERICANA DE
   695112 PED CAP PR                 PO BOX 2579                                                                                                               BAYAMON              PR           00960‐2579
   695113 LA ACEITERA INC.           PO BOX 1720                                                               JUNCOS                                          JUNCOS               PR           00777



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          LA ADM PARA EL DESARROLLO
   695114 DE VIVIENDA                       PO BOX 31365                                                                                                              SAN JUAN            PR           00928‐1365
          La Administarción de Servicios de
   831448 Salud Mental                      PO Box 607087                                                                                                             San Juan            PR           00956
   695115 LA AGUADILLANA                    P O BOX 983                                                                                                               AGUADILLANA         PR           00605
   695116 LA AGUJA                          52 CALLE CASTILLO                                                                                                         PONCE               PR           00731
   695117 LA ALAMEDA STEAK HOUSE            H C 06 BOX 76445                                                                                                          CAGUAS              PR           00725‐9519
   259519 La Alcoba                         2511, Ave. Los Veteranos                                                                                                  Camuy               PR           00627
   695118 LA ALDEA AUTO PARTS               P O BOX 4298                                                                                                              BAYAMON             PR           00958

   259520 LA AMERICANA HOME CENTER                     PO BOX 363891                                                                                                  SAN JUAN            PR           00936
   259521 La Amiga del Pueblo                          Muñoz Rivera #13                                                                                               Adjuntas            PR           00601
   695119 LA ARANA INC                                 PO BOX 30211                                                                                                   SAN JUAN            PR           00925211
          LA ARMERIA METROPOLITANA ,                   DE DIEGO 799 CAPARRA
   259522 INC.                                         TERRACE                                                                                                        SAN JUAN            PR           00000‐0000
          LA ARMERIA METROPOLITANA
   259523 INC                                          CAPARRA TERRACE              799 AVE DE DIEGO                                                                  SAN JUAN            PR           00921
          LA ASOC COMERCIANTES PROF
   695120 DE COROZAL INC                               47 CALLE BOU                                                                                                   COROZAL             PR           00783
          LA ASOC DE ATLETISMO
   259524 VETERANOS DE PR INC                          P O BOX 9785                                                                                                   SAN JUAN            PR           00908
          LA ASOC.PUERTORRIQUENA DE
   695121 EDUC                                         URB SANTA RITA               103 CALLE JANER                                                                   SAN JUAN            PR           00925
          LA ASOCIACION MISIONERA
   259525 CAPUCHINA                                    APARTADO 21350                                                                                                 RIO PIEDRAS         PR           00928
   259526 LA BABY MUSA INC                             PUERTO NUEVO                 506 AVE ANDALUCIA                                                                 SAN JUAN            PR           00920
   695108 LA BANDEJA DE BENGY                          URB PRADERAS                 AL 3 CALLE 8                                                                      TOA BAJA            PR           00949
   259527 LA BECKETT CORP                              PO BOX 2230                                                                                                    BAYAMON             PR           00960‐2230
   259528 LA BIBLIOTECA INC                            PO BOX 20480                                                                                                   SAN JUAN            PR           00928
   695122 LA BODEGA DE DON FELIX                       EXT SAN SALVADOR             3 CALLE MARGINAL                                                                  MANATI              PR           00674

   259530 LA BODEGA VALENCIANA                         CENTRO COMERCIAL VILLA ANA   LOCAL 4                                                                           JUNCOS              PR           00777
   695123 LA BOMBONERA                                 259 CALLE SAN FRANCISCO                                                                                        SAN JUAN            PR           00901
   259531 LA BON CUISINE                               HC‐01 BOX 6847                                                                                                 LAS PIEDRAS         PR           00771‐9762

   259532 LA BORINQUENA ORIGINAL CORP P O BOX 7136                                                                                                                    CAGUAS              PR           00726

   695126 LA BOUTIQUE DEL HERRAJE INC                  URB PUERTO NUEVO             263 AVE DE DIEGO                                                                  SAN JUAN            PR           00920
   695127 LA BOUTIQUE DU VIN                           CALLE CHARDON 10                                                                                               SAN JUAN            PR           00918
   259534 LA BROCHA GORDA                              CALLE 9 J37 LAGO DE PLATA                                                                                      TOA BAJA            PR           00949
          LA CADENA BICYCLE
   695128 CENTER/GERMAN MARTINEZ                       PO BOX 7919                                                                                                    PONCE               PR           00732
   695129 LA CADENA DEL MILAGRO                        PO BOX 949                                                                                                     CAMUY               PR           00627

   259535 LA CAJA DE LAS HERRAMIENTAS PO BOX 365047                                                                                                                   SAN JUAN            PR           00936‐5047
          LA CAJA DE LAS HERRAMIENTAS
   259536 INC                         PO BOX 365047                                                                                                                   SAN JUAN            PR           00936‐5047
   695130 LA CALESA                   161 CALLE SAN FELIPE                                                                                                            ARECIBO             PR           00612
   259537 LA CALLE LOIZA INC          1505 CALLE LOIZA 2B                                                                                                             SAN JAUN            PR           00911
  1256623 LA CALLE LOIZA, INC.        REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   695131 LA CAMPESINA                PO BOX 560229                                                                                                                   GUAYANILLA          PR           00656
          LA CAMPESINA FOOD PRODUCTS
   695132 INC Y VIZCAYA               P O BOX 50988                                                                                                                   TOA BAJA            PR           00951



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  695133 LA CANASTA FRIED CHICKEN                     8 CALLE JERONIMO                                                                                            AIBONITO            PR           00705
  695134 LA CANASTA INC                               PO BOX 7109                                                                                                 CAGUAS              PR           00726‐7109
         LA CAOBA INC PANADERIA Y
  695135 CAFETERIA                                    CAPARRA TERRACE                   1234 AVE JESUS T PI¨ERO                                                   SAN JUAN            PR           00922
  259539 LA CARPA DE LOS MUEBLES                      CALLE CARBONEL #27                                                                                          CABO ROJO           PR           00623

   695136 LA CARRETA DEL MULO BAR REST P O BOX 2508                                                                                                               GUAYNABO            PR           00970
   259540 LA CASA COMERCIAL            337 AVE JUAN ROSADO                                                                                                        ARECIBO             PR           00612

   259541 LA CASA COMERCIAL Y BILLARES                337 AVE JUAN ROSADO                                                                                         ARECIBO             PR           00612
          LA CASA COMERCIAL Y DE
   259542 BILLARES                                    337 AVE JUAN ROSADO                                                                                         ARECIBO             PR           00612
   259543 LA CASA DE AMPI INC                         PO BOX 1891                                                                                                 MAYAGUEZ            PR           00681‐1891
   259544 LA CASA DE DONA HERE INC                    PO BOX 1962                                                                                                 MAYAGUEZ            PR           00681‐1962
   259545 LA CASA DE JUNNY INC                        PO BOX 1881                                                                                                 MAYAGUEZ            PR           00681
   695137 LA CASA DE LA OFICINA                       PO BOX 241                                                                                                  CAGUAS              PR           00726
   695138 LA CASA DE LA PISCINA                       URB SAN FRANCISCO                 5 AVE DE DIEGO                                                            SAN JUAN            PR           00927
   831450 La Casa De Las Banderas                     812 Ave. De Diego                 Caparra Terrace,                                                          San Juan            PR           00921
   695139 LA CASA DE LAS BATERIAS                     URB VALENCIA                      613 AVE BARBOSA                                                           SAN JUAN            PR           00923
   695140 LA CASA DE LAS BOMBILLAS                    P O BOX 7092                                                                                                PONCE               PR           00731

   259546 LA CASA DE LAS CANASTAS INC                 URB SUCHVILLE                     1 A CALLE WILSON                                                          GUAYNABO            PR           00966
   695141 LA CASA DE LAS CARTERAS                     416 AVE PONCE DE LEON                                       SANTURCE                                        SAN JUAN            PR           00918
   695142 LA CASA DE LAS CORTINAS                     3H5 AVE LOMAS VERDES                                                                                        BAYAMON             PR           00956

   695143 LA CASA DE LAS ENMARCADOS                   PO BOX 362626                                                                                               SAN JUAN            PR           00936

   695144 LA CASA DE LAS ESCALERAS      245 CALLE ELEONOR ROOSVELT                                                                                                SAN JUAN            PR           00922
   695146 LA CASA DE LAS GOMAS          URB FRANCISCO OLLER                             F 16 CALLE 6                                                              BAYAMON             PR           00956‐4406
   695150 LA CASA DE LAS PASCUAS        CARR 14 KM 53 3                                                                                                           AIBONITO            PR           00705
   259547 LA CASA DE LAS PUERTAS        URB FLORAL PARK                                 CALLE GUAYAMA #78                                                         SAN JUAN            PR           00917
                                        264 CALLE RAMON EMETERIO
   259549 LA CASA DE LAS PUERTAS CRISTY BETANCE                                                                                                                   MAYAGUEZ            PR           00680
   695151 LA CASA DE LAS TELAS          PO BOX 2403                                                               CAYEY                                           CAYEY               PR           00737
   695153 LA CASA DE LAS VENTANAS       C 26 URB BLONDET                                                                                                          GUAYAMA             PR           00784
   695154 LA CASA DE LOS BISCOCHOS      PO BOX 447                                                                                                                LAS MARIAS          PR           00670
   695155 LA CASA DE LOS CRISTALES      P O BOX 848                                                                                                               ARECIBO             PR           00613

   695156 LA CASA DE LOS CUADROS                      1864 AVE FERNANDEZ JUNCOS         PARADA 26                                                                 SAN JUAN            PR           00909
   695157 LA CASA DE LOS DEPORTES                     162 CALLE COLON                                                                                             AGUADA              PR           00602
          LA CASA DE LOS DEPORTES
   259550 TROPHY SIGN &                               PRINTING INC                      CALLE COLON 170                                                           AGUADA              PR           00902
   695159 LA CASA DE LOS DULCES                       33 CALLE ESTRELLA                                                                                           PONCE               PR           00731

   259551 La Casa De los Enseres                      Carr. 10, Ave. Juan Rosado #317                                                                             Arecibo             PR           00612
   695160 LA CASA DE LOS ENTREMESES                   PO BOX 9808 CAROLINA STA                                                                                    CAROLINA            PR           00988‐9808

   259552 LA CASA DE LOS INTERCOMS                    1313 AVE JESUS T PIÐERO       , ,                                                                           SAN JUAN            PR           00920‐0000
          LA CASA DE LOS PROGRAMAS Y
   259554 COMPUTADORAS                                URB VILLA CAROLINA                1 BLQ 172 CALLE 401                                                       CAROLINA            PR           00985
   695161 LA CASA DE LOS ROTULOS                      PO BOX 362543                                                                                               SAN JUAN            PR           00936‐2543
          LA CASA DE LOS SCREENS Y FAB
   695162 DE PUERTAS                                  PO BOX 1214                                                                                                 FAJARDO             PR           00738



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 1256624 LA CASA DE LOS TORNILLOS                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
 1256625 LA CASA DE LOS TORNILLOS                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  259556 LA CASA DE LOS TORNILLOS 3                    CARR 167 MARGINAL              A 6 FORREST HILL                                                                        BAYAMON           PR         00959
  695169 LA CASA DE LOS TORNILLOS 4                    P O BOX 365047                                                                                                         SAN JUAN          PR         00936‐5047
  259557 LA CASA DE LOS TORNILLOS 5                    PO BOX 365047                                                                                                          SAN JUAN          PR         00936‐3047
  695170 LA CASA DE LOS TORNILLOS 9                    PO BOX 365047                                                                                                          SAN JUAN          PR         00936‐5047
  695171 LA CASA DE LOS TROFEOS                        159 CALLE AGUILA                                                                                                       MAYAGUEZ          PR         00680
                                                       1073 AVE PONCE DE LEON PDA
   695172 LA CASA DE LOS UNIFORMES                     16                                                                                                                     SAN JUAN          PR         00908
   695173 LA CASA DE MUSICA                            PO BOX 99                                                                                                              CAGUAS            PR         00726
   695174 LA CASA DE TODOS                             HC 23 BOX 6128                                                                                                         JUNCOS            PR         00777‐9710
   695175 LA CASA DEL AGRICULTOR                       PO BOX 9024275                                                                                                         SAN JUAN          PR         00902‐4275
          LA CASA DEL AGRICULTOR
   259558 GUARE CORP                                   HC 72 BOX 4043                                                                                                         NARANJITO         PR         00719

   259559 LA CASA DEL ARBITRO DE PR INC                SANTA JUANITA                  NI 9 AVE MINILLA                                                                        BAYAMON           PR         00956
   695179 LA CASA DEL BILLAR                           19 CALE GUAYAMA                                                                                                        SAN JUAN          PR         00917
   695180 LA CASA DEL BUZO                             293 AVE JESUS T PI¨ERO                                                                                                 SAN JUAN          PR         00927
   259560 LA CASA DEL CAMIONERO                        P. O. BOX 366766                                                                                                       SAN JUAN          PR         00936‐6766
  1256626 LA CASA DEL CAMIONERO INC                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   259562 LA CASA DEL CAMIONERO, INC                   PO BOX 366766                                                                                                          SAN JUAN          PR         00936‐6766
   695182 LA CASA DEL CONTRATISTA                      BO SAN ANTON                   145 CALLE ERASMO CABRERA                                                                PONCE             PR         00731
          LA CASA DEL CONVALECIENTE,
   259563 INC.                                         PO BOX 9066366                                                                                                         SAN JUAN          PR         00906‐6368
   695183 LA CASA DEL CRISTAL                          PO BOX 3672                                                                                                            MAYAGUEZ          PR         00681‐3672
                                                       AVE. CEMENTERIO NACIONAL
   259564 LA CASA DEL ENMARCADOR                       #53                            HATO TEJAS                                                                              BAYAMON           PR         00961
          LA CASA DEL ENMARCADOR ,
   259567 INC.                                         PO BOX 19436 FDEZ JUNCOS STA                                                                                           SAN JUAN          PR         00910‐1436

   259568 LA CASA DEL ENMARCADOR INC                   PO BOX 19436                                                                                                           SAN JUAN          PR         00910‐1436
   259569 LA CASA DEL ESTUDIANTE                       8 MUÐOZ RIVERA                                                                                                         CAGUAS            PR         00725
   695184 LA CASA DEL FRANCES                          PO BOX 458                                                                                                             VIEQUES           PR         00765
          LA CASA DEL GOMERO Y DEL
   695185 ALINEADOR                                    P O BOX 8007                                                                                                           BAYAMON           PR         00960‐8007
   695186 LA CASA DEL JARDINERO                        RR 9 BOX 5250                                                                                                          SAN JUAN          PR         00926
   259573 LA CASA DEL JEEP INC                         HC 01 BOX 2110                                                                                                         LAS MARIAS        PR         00670‐9747
   259574 LA CASA DEL LIBRO INC                        PO BOX 9023544                                                                                                         SAN JUAN          PR         00902‐3544
   259575 LA CASA DEL LIMBER INC                       RR 4 BOX 5542                                                                                                          ANASCO            PR         00610‐9052
   695187 LA CASA DEL MAESTRO                          19 PADILLA CARIBE                                                                                                      CAGUAS            PR         00725
   259576 LA CASA DEL MAR INC                          P O BOX 560                                                                                                            LUQUILLO          PR         00773
   259577 LA CASA DEL MARCO                            AVE CENTRAL                    1765 SUMMIT HILLS                                                                       GUAYNABO          PR         00920
   259578 LA CASA DEL MEDICO INC                       P O BOX 7727                                                                                                           PONCE             PR         00732
   695188 LA CASA DEL PESCADOR                         PO BOX 217                                                                                                             HUMACAO           PR         00792
   695189 LA CASA DEL REPOSTERO                        URB MAG GARDENS                A 39 CALLE MARGINAL                                                                     BAYAMON           PR         00956
   259579 LA CASA DEL SOLDADOR INC                     AREA DEL TESORO                DIVISION DE RECLAMACIONES                                                               SAN JUAN          PR         00902‐4140
   695190 LA CASA DEL TAPICERO                         PO BOX 359                                                                                                             VEGA ALTA         PR         00692

   695191 LA CASA DEL VITRAL                           VILLA CAROLINA                 27‐09 AVE ROBERTO CLEMENTE                                                              CAROLINA          PR         00630
   695192 LA CASA FUERTE INC.                          229 COND ROOSEVELT PLZ                                      HATO REY                                                   SAN JUAN          PR         00917
   695193 LA CASA MAGICA                               1‐C 14‐B SUITE 116             AVE LOMAS VERDES                                                                        BAYAMON           PR         00956




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          LA CASCADA B B Q / JULIO
   695194 ROSADO ROSADO                               HC 1 BOX 15869                                                                                               COROZAL             PR           00783

   259582 LA CASCADA MILAGROSA, INC.                  HC‐4 BOX 9078 SECT. GUAONICO BO. SALTO ARRIBA                                                                UTUADO              PR           00641
   695195 LA CASITA                                   HC 1 BOX 4086                                                                                                COROZAL             PR           00783
   695196 LA CASITA ART CRAFT                         URB STA RITA                 1063 CALLE GONZALEZ                                                             SAN JUAN            PR           00925
   695197 LA CASITA ARTCRAFT                          URB SANTA RITA               1063 CALLE GONZALEZ                                                             RIO PIEDRAS         PR           00925
                                                                                   1063 CALLE GONZALEZ URB
   695198 LA CASITA CRAFT                             SANTA RITA                   SANTA RITA                                                                      RIO PIEDRAS         PR           00925
   259583 LA CASITA DE ANITA CORP                     URB FAIRVIEW                 1920 DIEGO PENALOZA                                                             SAN JUAN            PR           00926
                                                      CALLE DR. BEBE, PLAZA
   259584 LA CASITA DE LAS VELAS                      MERCADO PUESTO 17                                                                                            SAN GERMAN          PR           00683
   259586 LA CASITA DE MARTITA INC                    BONEVILLE HEIGHTS            16 CALLE VIEQUEZ                                                                CAGUAS              PR           00726
   259587 LA CASITA DE STEPHANIE                      URB. EL VIVERO CALLE 5 C‐23                                                                                  GURABO              PR           00778
   259588 LA CASITA DE YANIEL                         HC 72 BOX 3605               BO. CEDRO ARRIBA                SEC. FEIJOO CARR 809 KM 3.9                     NARANJITO           PR           00719
   695199 LA CASITA DE ZARI                           957 AVE FERNANDEZ JUNCOS                                                                                     SAN JUAN            PR           00907
   259589 LA CASITA DULCE INC                         REXVILLE BAYAMON             B‐B‐5 CALLE 31                                                                  BAYAMON             PR           00957
   695200 LA CASITA ZART                              VILLA ANDALUCIA              295 CALLE RONDA                                                                 SAN JUAN            PR           00926
   695201 LA CASONA RESTAURANT                        609 CALLE SAN JORGE                                                                                          SAN JUAN            PR           00909
   695202 LA CAVA DE SERALLES                         PO BOX 11972                                                                                                 SAN JUAN            PR           00922‐1972
                                                                                   1245 AVE ROOSEVELT URB
   695203 LA CEIBA                                    LA MISMA                     PUERTO NUEVO                                                                    PUERTO NUEVO        PR           00920
   695205 LA CEIBA AUTO PART                          AVE GLEN R 26                GLENVIEW                                                                        PONCE               PR           00731
   695207 LA CEIBA AUTO PARTS                         BOX 812                                                                                                      PONCE               PR           00733
   695208 LA CEIBA DISTRIBUTORS                       1310 CAMINO LA CUCHILLA                                                                                      MAYAGUEZ            PR           00680
   695209 LA CHANGA DECOR BLOCK                       52 SANTA CECILIA                                                                                             CAGUAS              PR           00725
   695210 LA CHEQUERA UNIVERSITARIA                   BOX 604                                                                                                      NAGUABO             PR           00718
   695211 LA CHIC CUISINE                             PO BOX 51611                                                                                                 TOA BAJA            PR           00950
   695212 LA CIBELES INC.                             EXT VILLAMAR                 AO19 CALLE MARGINAL                                                             CAROLINA            PR           00979

   695213 LA CIMA /ALBERTO MENDOZA                    203 MONTECILLO                                                                                               TRUJILLO ALTO       PR           00976
   695214 LA CIMA HOTEL                               P O BOX 250269                                                                                               AGUADILLA           PR           00604‐0269

   259590 LA CIUDADELA DE SANTURCE INC 53 CALLE PALMERAS                                                                                                           SAN JUAN            PR           00901‐2421
   259591 LA CLASE GRADUANDA 1965      PO BOX 141495                                                                                                               ARECIBO             PR           00614‐1495

   259592 LA CLASE GRADUANDA 1988‐89                  URB SANTA MONICA              B 7 CALLE 2                                                                    BAYAMON             PR           00957
   695215 LA CLAVE MUSIC STORE                        B5 CALLE MARGINAL             FLAMINGO TERRACE                                                               BAYAMON             PR           00957
   695216 LA COBACHA REST                             PO BOX 560                                                                                                   OROCOVIS            PR           00720
   259593 LA COBACHA RESTAURANT                       PO BOX 1559                                                                                                  OROCOVIS            PR           00720
   695218 LA COCINA DE GLADYS                         HC 2 BOX 15842                                                                                               CAROLINA            PR           00987
   695219 LA COCINA DE JUANITA                        37 CALLE ANTONIO BARCELO                                                                                     MAUNABO             PR           00707
                                                      URB. SUMMIT HILLS 608 CALLE
   259594 LA COCINA DE YOLY                           BERWING                                                                                                      SAN JUAN            PR           00920
          LA COLECTIVA GULF SERVICE
   695220 STATION                                     P O BOX 560031                                                                                               GUAYANILLA          PR           00656
          LA COLOMBINA DEPT. STORE
   695221 INC.                                        PO BOX 21377                                                                                                 SAN JUAN            PR           00928
          LA COMEDIA PUERTORRIQUENA
   259595 INC                                         URB BALDRICH                  210 CALLE PRESIDENTE RAMIREZ                                                   SAN JUAN            PR           00918‐4318
   259596 LA COMPANIA GEOPRACTICA                     P O BOX 19034                                                                                                SAN JUAN            PR           00910 1034
          LA COMUNIDAD RANCHO
   259598 GRANDE INC                                  P O BOX 1028                                                                                                 NAGUABO             PR           00718



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  259599 LA CONCHA RESORT                             1077 ASHFORD AVENUE                                                                                                       SAN JUAN            PR           00907
  695222 LA CONDESA CORP                              2071 CALLE CACIQUE                                                                                                        SAN JUAN            PR           00911‐1512
                                                      THE HOUSE OF GOUMET
   695223 LA CONFISERIE                               COOKIES                         911 REFUGIO ST                                                                            SAN JUAN            PR           00907
          LA CONSTRUCION/FELIX DIAZ
   695224 MELENDEZ                                    BO SABANA                       RR 1 BOX 10861                                                                            OROCOVIS            PR           00720
                                                      CONDOMINIO EL CENTRO 1
   259600 LA CORNUCOPIA                               LOCAL 16                                                                                                                  SAN JUAN            PR           00918
   695226 LA CORP METRO VERDE                         PO BOX 1204                                                    CAGUAS                                                     CAGUAS              PR           00726

   259601 LA CORP PARA COM Y ESCUELAS SEGURA Y LIBRE DE DROGAS                        P O BOX 541                                                                               CAGUAS              PR           00726
          LA CORP.NEW YORK FOUNDING
   695227 HOSPITAL                    P.O.BOX 191274                                                                                                                            SAN JUAN            PR           00919‐1274
          LA CORPORACION DEL
          CONSERVATORIO DE MUSICA DE
   259602 PR                          951 AVE. PONCE DE LEÓN                                                                                                                    SAN JUAN            PR           00907

   695228 LA CORPORACION DES HOTELER PO BOX 41226                                                                                                                               SAN JUAN            PR           00940
   695229 LA CORPORACION IPSES INC.  180 AVE. HOSTOS                                  APTO. B‐902                                                                               HATO REY            PR           00918
   259604 LA CRUZ AZUL DE P.R.       P.O. BOX 366069                                                                                                                            SAN JUAN            PR           00963

   259605 LA CRUZ AZUL DE PUERTO RICO                 AREA DEL TESORO                 CONTADURIA GENERAL                                                                        SAN JUAN            PR           00902
          LA CRUZ AZUL DE PUERTO RICO,
   259609 INC                                         CARR. #1 KM. 17.3 RIO PIEDRAS                                                                                             SAN JUAN            PR           00927
          LA CRUZ CASTELLANO MD,
   259611 MIGUEL DE                                   REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   695231 LA CRUZ MACHINE SHOP                        PO BOX 13026                                                                                                              SAN JUAN            PR           00908‐9999
          LA CRUZ MEDINA MD, MARITZA
   259612 DE                                          REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LA CRUZ MIRANDA MD,
   259613 ANTONIO DE                                  REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   259615 LA CRUZ ROSADO MD, JULIO DE                 REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  1420146 LA CRUZ VARELA, HÉCTOR A.                   ANTONIO L. ORTIZ GILOT          PO BOX 364503                                                                             SAN JUAN            PR           00936
   259616 LA CUESTA AUTO PARTS                        HC 05 BOX 11213                                                                                                           MOCA                PR           00676
   695232 LA CUEVA DEL CHICKEN INN                    P O BOX 191526                                                                                                            SAN JUAN            PR           00919‐1526
          LA CUEVA SUBMARINA / EFRAIN
   695233 ACEVEDO                                     PO BOX 151                                                                                                                ISABELA             PR           00662

   695234 LA CUISINE CATERING SERV.INC.               57 CALLEJON BAEZ                                                                                                          SAN JUAN            PR           00918
   695235 LA CUMBRE GULF                              271 SIERRA MORENA               SUITE 204                                                                                 SAN JUAN            PR           00926
   695236 LA CUMBRE SE                                METRO OFFICE PARK               13 CALLE 2                                                                                GUAYNABO            PR           00968‐1712
   695237 LA CUMBRE SERVICE STA.                      BUZON 2782 BO RABANAL                                                                                                     CIDRA               PR           00739
   695238 La Cumbre Services Station                  P.O. BOX 2782                                                                                                             CIDRA               PR           00739
   695239 LA CUMBRE STATION                           P O BOX 175                                                                                                               CAGUAS              PR           00726
   259617 LA CURVA DE PEDRO                           PO BOX 7506                                                                                                               CIDRA               PR           00739
   695240 LA CURVA SPORT SHOP                         7444 AVE RAMOS CALERO                                                                                                     ISABELA             PR           00662
   695241 LA DEFENSA SHOE                             AVE. NACIONAL A‐6                                                                                                         BAYAMON             PR           00961‐0000
   259618 LA DESIGN GROUP PSC                         AREA DEL TESORO                 DIVISION DE RECLAMACIONES                                                                 SAN JUAN            PR           00902‐4140
          LA EDITORIAL, UNIVERSIDAD DE
   259621 PR                                          PO BOX 23322                                                                                                              SAN JUAN            PR           00931‐3322

   259622 LA EGIDA DEL NINO INC                       BO ESPERANZA                    SECTOR LAS MARIAS CARR 635‐8                                                              ARECIBO             PR           00612



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  695242 LA ELECTRICAL INC                             PO BOX 33‐1625                                                                                     PONCE               PR           00733‐1625
  259625 LA ENFERMERA ELEGANTE                         150 JESUS CORTES TORRES                                                                            ARECIBO             PR           00612
  259626 LA ESCUELA DE TEATRO INC                      URB FAIR VIEW                695 CALLE 44                                                          SAN JUAN            PR           00926

   695243 LA ESCUELITA DE ANASTACIA INC URB BRISAS DE CEIBA                         3 CALLE 4                                                             CEIBA               PR           00735
   695244 LA ESMERALDA                  URB MUNOZ RIVERA                            77 AVE ESMERALDA                                                      GUAYNABO            PR           00969
   695245 LA ESMERALDA INC.             URB MUNOZ RIVERA                            77 AVE ESMERALDA                                                      GUAYNABO            PR           00969
   695246 LA ESPA OLA                   32 CALLE MUNOZ RIVERA                                                                                             MAUNABO             PR           00707
   259627 LA ESPAÑOLA                   CARR 2 EDIF 51                                                                                                    MANATI              PR           00674
   259628 LA ESPANOLA BEAUTY SUPPLY     EDIF 51 CARR 2                                                                                                    MANATI              PR           00674
          LA ESPANOLA BEAUTY SUPPLY
   259629 INC.                          PO BOX 1101                                                                                                       MANATI              PR           00674
          LA ESPANOLA BEAUTY SUPPLY,
   259630 INC                           EDIF. 51 CARR. 2                                                                                                  MANATI              PR           00674

   695247 LA ESPECIALIDADES Y SERVICIOS                VISTAMAR                     K 634 AVE PONTEZUELA                                                  CAROLINA            PR           00983
   259631 LA ESPERANZA BUS LINE                        PO BOX 161                                                                                         AGUAS BUENAS        PR           00703
   259632 LA ESPERANZA BUS LINE INC                    PO BOX 161                                                                                         AGUAS BUENAS        PR           00703
   259633 LA ESQUINA                                   APARTADO 544                                                                                       MAUNABO             PR           00707‐0544
   695248 LA ESQUINA DE PACOCHIN                       BOX 300                                                                                            OROCOVIS            PR           00677
   695249 LA ESQUINA FAMILIAR                          URB SAN PEDRO                B 34 CALLE E                                                          MAUNABO             PR           00707
                                                       PRIMER NIVEL PLAZA LAS
   259634 LA ESQUINA FAMOSA                            AMERICA                                                                                            HATO REY            PR           00918
   259635 LA ESTRELLA                                  P O BOX 366298                                                                                     SAN JUAN            PR           00936‐6298
                                                       RAMOS ANTONINI #22 OESTE
   259637 LA ESTRELLA DE PUERTO RICO                   BOX 816                                                                                            MAYAGUEZ            PR           00681
          LA ESTRELLA SERVICE STATION
   695251 INC                                          PO BOX 271                                                                                         SAN LORENZO         PR           00754‐0271
   695253 LA EXISTOSA WEXS A M                         PO BOX 640                                                                                         PATILLAS            PR           00723
   695254 LA EXQUISITA BAKERY INC                      73 BALDORIOTY                                                                                      SALINAS             PR           00751
   695255 LA FAMILIA AUTO                              P. O. BOX 276                                                                                      VEGA ALTA           PR           00692
                                                       B 37 AVE LAURO PINERO ESQ
   259638 LA FAMILIA CATERING                          SAN JORGE                                                                                          CEIBA               PR           00735
   259639 LA FAMILIA HOME CARE INC                     P O BOX 2245                                                                                       BAYAMON             PR           00960‐2245
   695256 LA FAMILIA REST INC                          HC 01 BOX 6493                                                                                     CANOVANAS           PR           00729
   695257 LA FAVORITA INC                              655 CALLE CUBITAS                                                                                  GUAYNABO            PR           00969‐2802
   259641 LA FE TABLE & CHAIR INC                      HC 01 BOX 4984                                                                                     NAGUABO             PR           00718
   695258 LA FE TABLE RENTAL                           HC 1 BOX 4984                                                                                      NAGUABO             PR           00718

   695259 LA FIESTA CATERING                           W A 14 MARGINAL LOS ANGELES                                                                        CAROLINA            PR           00979
   259642 LA FIESTECITA CATERING                       URB LOS ANGELES              2008 CALLE CELESTIAL                                                  CAROLINA            PR           00979‐1760
                                                       Urb. Los Angeles 2008, Calle
   831452 La Fiestecitecita Catering                   Celestial                                                                                          Carolina            PR           00979

   695260 LA FINQUITA SERVICE STATION                  P O BOX 1478                                                                                       LAS PIEDRAS         PR           00771‐1478

   695261 LA FLOR DE MAYO EXPRESS INC                  P O BOX 516                                                                                        TOA BAJA            PR           00951‐0516
   695262 LA FLOR RIVERA RESTAURANT                    HC 2 BOX 5037                                                                                      GUAYAMA             PR           00784
   259643 LA FONDITA DE JESUS                          PO BOX 19384                                                                                       SAN JUAN            PR           00910‐1384
   259652 LA FONTAINE RUTH S                           PO BOX 390                                                                                         PUERTO REAL         PR           00740
   259654 LA FRANCAISE                                 HC 20 BOX 255538                                                                                   SAN LORENZO         PR           00754
          LA FRATERNIDAD ALPHA PHI
   695264 SIGMA                                        PO BOX 11794                                                                                       SAN JUAN            PR           00922



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  695265 LA FUENTE OCEAN FRONT                        P O BOX 1374                                                                                                       VIEQUES             PR           00765
  695266 LA FUNDACION DE PR                           P O BOX 70362                                                                                                      SAN JUAN            PR           00936
  695267 LA FUNDADORA INC                             PO BOX 2453                                                                                                        MOCA                PR           00676
                                                      Carr.2 Km 101.1 Int. Calle
   259659 La Galeria Del Pirata                       Lamela 56                                                                                                          Quebradilla         PR           00678
   695268 LA GALLEGA BAKERY                           URB FLORAL PARK              422 CALLE ITALIA                                                                      SAN JUAN            PR           00928
   695269 LA GARITA QUICK LUNCH                       ESTANCIAS DE TORTUGUERO      430 CALLE TULANE                                                                      VEGA BAJA           PR           00693
   695270 LA GASOLINERA                               PO BOX 464                                                                                                         CABO ROJO           PR           00623
   695271 LA GLORIA                                   PO BOX 160                   6 CALLE RAMOS ANTONINI W                                                              MAYAGUEZ            PR           00680
          LA GLORIA LAUNDRY CLEANERS
   695272 ASSOC                                       411 CALLE SAN FRANCISCO                                                                                            SAN JUAN            PR           00901
          LA GLORIA LUNDRY CLEANERS
   259660 ASSOC. INC                                  SAN FRANCISCO 411                                                                                                  SAN JUAN            PR           00901
   695273 LA GOTERA WATER SHOP                        HC 645 BOX 8185                                                                                                    TRUJILLO ALTO       PR           00976
   695274 LA GRAN BANDA INC                           PO BOX 3774                                                                                                        BAYAMON             PR           00958‐0774

   695275 LA GRAN ENCICLOPEDIA DE P.R.                PO BOX 194140                                                                                                      SAN JUAN            PR           00919
   695276 LA GRAN FAMILIA                             28 CALLE GANDARA                                                                                                   COROZAL             PR           00783
   695277 LA GRAN TIENDA FREDDIE                      PO BOX 306                                              COMERIO                                                    COMERIO             PR           00782
   695278 LA GRAN VIA                                 167 CALLE DE DIEGO                                                                                                 ARECIBO             PR           00612
   695279 LA GRAN VIA AUTO PARTS                      P.O. BOX 1150                                                                                                      AGUADA              PR           00602
          LA GRAN VIA DE PUERTO RICO
   695280 INC                                         211 AVE DOMENECH                                                                                                   SAN JUAN            PR           00918

  1256627 LA GRANDE MOVING & SHIPPING REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LA GRANDE MOVING & SHIPPING
   259662 INC.                        PO BOX 2408                                                                                                                        TOA BAJA            PR           00951‐2408
   259663 LA GRANJA LLC               1354 AVE MAGDALENA                           APT 201                                                                               SAN JUAN            PR           00907
   259664 LA GUADALUPE TIRE CENTER    23 CALLE GUADALUPE                                                                                                                 PONCE               PR           00731
          LA GUARDIA COMMUNITY        INTERPRETER EDUCATION
   695283 COLLEGE                     PROJECT                                      31 10 THOMSON AVE C239                                                                LONG ISLAND         NY           11101
   695284 LA HACIENDA                 P O BOX 69                                                                                                                         YABUCOA             PR           00767
   259665 LA HACIENDA 8A              APARTADO 428                                                                                                                       CAGUAS              PR           00726

   695285 LA HACIENDA COFFEE BREAK INC PMB 248                                     PO BOX 7105                                                                           PONCE               PR           00732
   695286 LA HACIENDA COUNTRY CLUB     PO BOX 1898                                                                                                                       GUAYNABO            PR           00970
  1256628 LA HACIENDA EL FLAMBOYAN     REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LA HACIENDA EL FLAMBOYAN
   259666 LLC                          SABANERO DEL RIO                            11 CAMINO LOS FRUTALES                                                                GURABO              PR           00778
   695287 LA HACIENDA MARIA INC        PO BOX 637                                                                                                                        MOROVIS             PR           00687
          LA HAMBURGUESA TROPICAL
   695288 INC                          P O BOX 10000 STE 241                                                                                                             CAYEY               PR           00737
   695289 LA HIELERA INC               25 CALLE ROSICH                                                                                                                   PONCE               PR           00731
   695290 LA HOME SECURITY SYST INC    PO BOX 191669                                                                                                                     SAN JUAN            PR           00919‐1669

   259667 LA IDEAL INC                                7 CALLE CARRION MADURO T                                                                                           JUANA DIAZ          PR           00795
   695291 LA IDEALA                                   1678 CALLE PARANTI                                                                                                 SAN JUAN            PR           00926
   695292 LA IGLESIA EN CAROLINA                      EXT COUNTRY CLUB             ME 27 CALLE 404                                                                       CAROLINA            PR           00982
   259668 LA IGLESIA EN SAN JUAN INC                  VILLA NEVAREZ                1049 CALLE 10                                                                         SAN JUAN            PR           00927
          LA INMACULADA LIMITED
   695293 PARTNERSHIP                                 PO BOX 3006                                                                                                        MAYAGUEZ            PR           00681‐3006
   695294 LA ISLA JANITORIAL SERVICES                 P O BOX 2185                                                                                                       TOA BAJA            PR           00951
   695295 LA ITALIANA PIZZA                           4 C/ GERONIMO MARTINEZ                                                                                             AIBONITO            PR           00705



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  259670 LA JUNTA LLC                                 1505 CALLE LOIZA 2B                                                                                     SAN JUAN             PR           00911
         LA JUSTA SPORTING GOODS &
  259671 SUPPLY                                       P.O. BOX 233                                                                                            VILLALBA             PR           00766

   259673 LA KBANA DEL MEDITERRANEO                   RES ALT DE CIBUCO           51 CALLE C                                                                  COROZAL              PR           00783
   259675 LA KOCINITA INC                             HC 72 BOX 3766‐99                                                                                       NARANJITO            PR           00719

   695296 LA LECHE LEAGUE                             PO BOX 4079                 NORTH MEACHAM ROAD 1400                                                     SCHAUMBURG           IL           60168‐4079
   695297 LA LEY LA PAZ Y CULTURA INC                 PO BOX 542                                                                                              NARANJITO            PR           00719
   695298 LA LIBRETA ART SUPPLIES                     376 AVE 65 INF                                                                                          RIO PIEDRAS          PR           00926
   695300 LA LINEA BAKERY                             PO BOX 1357                                                                                             GUAYAMA              PR           00785
   695301 LA LINTERNA MAGICA INC                      667 AVE PONCE DE LEON                                                                                   SAN JUAN             PR           00907

   695302 LA LLAVE MAESTRA SUPER KEY                  COND EL MONTE SUR           180 AVE HOSTOS APT 320B                                                     SAN JUAN             PR           00918
   259677 LA LLAVE'S ICE PLANT                        PO BOX 1518                                                                                             AGUADILLA            PR           00605
   695303 LA LOMITA AUTO PARTS                        P.O. BOX 1231                                                                                           AIBONITO             PR           00705
   695304 LA LOSETA                                   PMB 180                     405 AVE ESMERALDA SUITE 2                                                   GUAYNABO             PR           00969‐4457

   259678 LA LUNA HEALING CENTER                      DR DARLENE FLORES FONTANEZ URB LA RIVIERA               1261 CALLE 52                                   SAN JUAN             PR           00921
   695305 LA MALLORQUINA INC                          PO BOX 9020970                                                                                          SAN JUAN             PR           00902‐0970
  1420147 LA MAR CONSTRUCTION                         FERNANDO BARNES ROSICH     PO BOX 331031                                                                PONCE                PR           00733‐1031

   259706 LA MAR CONSTRUCTION CORP                    PO BOX 595                                                                                              LAJAS                PR           00667
   695306 LA MARGINAL ESSO                            P O BOX 842                                                                                             CAROLINA             PR           00986
   695307 LA MARKETA                                  SANTA TERESITA              2233 CALLE SOLDADO CRUZ                                                     SAN JUAN             PR           00913
   259707 LA MARKETA & COMPANY INC                    900 FERNANDEZ JUNCOS        2DO PISO STE 3                                                              SAN JUAN             PR           00907
   695308 LA MARQUESA                                 SUITE 114                   53 AVE ESMERALDA                                                            GUAYNABO             PR           00971 9527
   695309 LA MARQUETA                                 2233 CALLE SOLDADO CRUZ                                                                                 SAN JUAN             PR           00913
   695310 LA MEJOR COMIDA                             C/O LUIS E ALFONSO DIAZ     PO BOX 21414                                                                SAN JUAN             PR           00928‐1414
          LA MERCED LIMITED PARTNER /
   695313 FIRSTBANK PR                                PO BOX 9146                 PISO 15                                                                     SAN JUAN             PR           00908‐0146
   695314 LA MERCEDITA                                66 CALLE ACOSTA                                                                                         CAGUAS               PR           00725
          LA MILAGROSA ESSO SERVICE
   695315 STATION                                     URB QUINTA DE FLAMINGO      B10 CALLE 2                                                                 BAYAMON              PR           00959
   259712 LA MONTAÐA INC                              BOX 909                                                                                                 SAINT JUST           PR           00978
   259713 LA MONTANA INC                              BOX 909                                                                                                 SAINT JUST           PR           00978
   259716 LA MONTANA OFFICE                           P.O. BOX 177                                                                                            BARRANQUITAS         PR           00794
          LA MONTANA OFFICE AND
   259717 SCHOOL SUPPLY                               P.O. BOX 177                                                                                            BARRANQUITAS         PR           00794
          LA MONTANA OFFICE AND
   259718 SCHOOL SUPPLY INC                           P O BOX 177                                                                                             BARRANQUITAS         PR           00794
   259719 LA MUEBLERIA NUEVA                          BOX 937                                                                                                 VIEQUES              PR           00765
          LA MUEBLERIA NUEVA/ TEOFILO
   695316 BERMUDEZ                                    47 CALLE BENITEZ GUZMAN     BOX 937                                                                     VIEQUES              PR           00765
   259720 LA NUEVA BODEGA BAKERY                      64 CALLE COLON                                                                                          AGUADA               PR           00602
          LA NUEVA CASA DE LOS
   695317 CRISTALES                                   149 VILLA                                                                                               PONCE                PR           00731

   695318 LA NUEVA CASA DEL MECANICO P O BOX 297                                                                                                              BARRANQUITAS         PR           00974
          LA NUEVA CASA DEL SOLDADOR
   259721 INC                        PO BOX 2020 SUITE 147                                                                                                    BARCELONETA          PR           00617

   259722 LA NUEVA CEIBENA                            KM 42 H5 BARRIO ALGARROBO                                                                               VEGA BAJA            PR           00693



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                                                      BO GARROCHALES CARR 682 KM
   259723 LA NUEVA ERA                                7.4                                                                                                         ARECIBO             PR           00612
          LA NUEVA ESCUELA JUAN PONCE
   259724 DE LEON                     130 CARR 2                                                                                                                  GUAYNABO            PR           00966‐1865
   695321 LA NUEVA ESQUINA            PO BOX 222                                                                                                                  MOROVIS             PR           00687
   695322 LA NUEVA HORNILLITA         VILLA CAROLINA                                 21‐43 CALLE 35                                                               CAROLINA            PR           00985
   695323 LA NUEVA IDEAL INC          13 BO 6 GARRIDO MORALES                                                                                                     FAJARDO             PR           00735
   695324 LA NUEVA MINA               PO BOX 9024275                                                                                                              SAN JUAN            PR           00902‐4275
   259725 LA NUEVA OPTICA             34 MUNOZ RIVERA                                                                                                             TOA ALTA            PR           00953
   695325 LA NUEVA P BAR              EXT JARDINES ARROYO                            H 10 CALLE F                                                                 ARROYO              PR           00714
          LA NUEVA PUERTA DE SANTURCE
   259726 INC                         P O BOX 41274                                                                                                               SAN JUAN            PR           00940
   695326 LA NUEVA REFORMA            P O BOX 3295                                                                                                                MAYAGUEZ            PR           00682 3295
   695327 LA NUEVA SEVILLANA INC      PMB 101                                        3071 AVE ALEJANDRINO                                                         GUAYNABO            PR           00969

   695328 LA OPINION SUR                              #36 AVE. CRUZ ORTIZ STELLA‐N                                                                                HUMACAO             PR           00791‐3744

   695329 LA ORQUESTA ROBERTO ORTIZ                   PO BOX 5                                                                                                    CABO ROJO           PR           00623
   259731 LA PALETERIA LLC                            153 CALLE TETUAN APT 1‐A                                                                                    SAN JUAN            PR           00902
          LA PANETTERIA CORP DBA
   259732 ARTISAN BAKERY                              AND C                          PO BOX 3338                                                                  MAYAGUEZ            PR           00681
   695330 LA PARADA DEL DEPORTISTA                    CARR 149 KM 17.7 INTERIOR      BO PESAS SECTOR LA LINEA                                                     CIALES              PR           00638
   259733 LA PARADA TIPICA                            HC 59 BOX 6879                 BO NARANJO                                                                   AGUADA              PR           00602

   259734 LA PAZ SANTOS JOSE H                        VIA 2 #NR‐561 VILLA FONTANA                                                                                 CAROLINA            PR           00983

   259735 LA PENINSULA BAKERS OF PR INC URB SAN AGUSTIN                              408 AVE 65 INFANTERIA                                                        SAN JUAN            PR           00926
   259736 LA PERA DEVELOPMENT INC       PO BOX 4321                                                                                                               BAYAMON             PR           00958‐1321

   259739 LA PERLA DEL GRAN PRECIO INC PO BOX 928                                                                                                                 GUAYNABO            PR           00657
   259740 LA PERLA DEL SUR             P O BOX 7256                                                                                                               PONCE               PR           00732

   259743 LA PERLA DEL SUR ENERGY CORP P O BOX 1409                                                                                                               CIALES              PR           00638
   259744 LA PERLA INDUSTRIAL PARK     PO BOX 4321                                                                                                                BAYAMON             PR           00958‐1321
   695333 LA PERLA INVESTMENT          PO BOX 362617                                                                                                              SAN JUAN            PR           00936‐2617
                                                                                     CALLE TENIENTE CESAR
   695334 LA PICA DEVELOPMENT CORP                    URB ROOS 550 ALTOS             GONZALEZ                                                                     SAN JUAN            PR           00918
   695335 LA PIEDRA RESTAURANT                        BOX 1404                                                                                                    AIBONITO            PR           00705
   695336 LA PLANCHA XPRESS                           PMB 150 P O BOX 30500                                                                                       MANATI              PR           00674
          LA PLANCHITA MINILAUNDRY /
   695337 CARMEN I LUGO                               EXT STA ELENA                  B 10 CALLE 1                                                                 GUAYANILLA          PR           00656
                                                                                     100 GRAN BULEVAR PASEOS STE
   259750 LA PLATA DEVELOPMENT CO                     GALARIA PASEOS                 112‐227                                                                      SAN JUAN            PR           00926
   695339 LA PLATA MEDICAL FACILITIES                 P O BOX 16818                                                                                               SAN JUAN            PR           00918
   259751 LA PLATA MINI MARKET INC                    PMB 556 SUITE 140              200 AVE RAFAEL CORDERO                                                       CAGUAS              PR           00725‐3757
   259752 LA PLAZA FILMS CORP                         900 AVE FERNANDEZ JUNCOS       SUITE 2                                                                      SAN JUAN            PR           00907
   259753 LA POLA LLC                                 LOS PASEOS                     H 5 SANTA CATALINA                                                           SAN JUAN            PR           00926
   259757 LA POSADA                                   PO BOX 1559                                                                                                 JAYUYA              PR           00664
   695341 LA PRADERA SUPERETTE                        BO PITAHAYA                    HC 1 BOX 5106                                                                ARROYO              PR           00714

   259758 LA PROMESA DE JEHOVA , CORP HC ‐ 40 BOX 44305                                                                                                           SAN LORENZO         PR           00754‐9891

   695342 LA PROVANSE INC                             MSC 231‐100                    BOULEVARD PASEOS SUTE 112                                                    SAN JUAN            PR           00926‐5955



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  695343 LA PROVIDENCIA                                1014 AVE PONCE DE LEON                                                                                                  SAN JUAN            PR           00925
  259759 LA PROVIDENCIA ESSO                           RR 1 BOX 17007                                                                                                          TOA ALTA            PR           00953
         LA PUERTA DE LAS FLORES
  695345 WHOLESALES                                    URB PUERTO NUEVO                452 DE DIEGO                                                                            SAN JUAN            PR           00920
  259765 LA PVC                                        840 DIANA                                                                                                               SAN JUAN            PR           00923
  695346 LA PVC INC                                    CAPARRA TERRACE                 728 AVE ESCORIAL                                                                        SAN JUAN            PR           00920
  695347 LA QUINTA GAS                                 BOX 745                                                                                                                 YAUCO               PR           00698
  695348 LA QUINTA GULF                                P O BOX 745                                                                                                             YAUCO               PR           00698

   695349 LA RAMBLA PLAZA                              606 AVE TITO CASTRO SUITE 235                                                                                           PONCE               PR           00716‐0210

   259766 LA RAMBLA PLAZA CORP                         606 AVE TITO CASTRO SUITE 601 RAMBLA TOWER                                                                              PONCE               PR           00716

   695350 LA RAMBLA SHOPPING CENTER                    RAMBLA SHOPPING CENTER          CARR 14 SEGUNDO PISO                                                                    PONCE               PR           00751
   695351 LA REVES                                     RR 1 BOX 14254                                                                                                          OROCOVIS            PR           00720
   695352 LA REVES CAR WASH                            RR‐1 BOX 13922                                                                                                          OROCOVIS                         00720
   695353 LA RICOMINI BAKERY                           PO BOX 1280                                                                                                             HORMIGUERO          PR           00660
   695354 LA RIVERA REST                               PO BOX 2240                                                                                                             VEGA BAJA           PR           00694
   695355 LA RIVIERA                                   PO BOX 8730                                                                                                             HUMACAO             PR           00792
   695356 LA RIVIERA GULF                              URB .LA RIVIERA                 CALLE 54 SE 1258 ESQ 52 SE                                                              SAN JUAN            PR           00921
   695358 LA RIVIERA GULF STATION                      URB LA RIVIERA                  1258 ESQ 52 SE CALLE 54 SE                                                              SAN JUAN            PR           00921
   831453 La Rosa del Monte Express                    PO BOX 2358                                                                                                             Toa Baja            PR           00749
          LA ROSA DEL MONTE EXPRESS
   259769 INC.                                         PO BOX 2358                                                                                                             TOA BAJA            PR           00951‐2358
   259770 LA ROSA DIAZ MD, JAVIER DE                   REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LA ROSA SARON CARRING
   695359 FURNITURE                                    259 AVE JUAN ROSADO                                                                                                     ARECIBO             PR           00612
   259773 LA ROTONDA                                   P O BOX 9065234                                                                                                         SAN JUAN            PR           00906
   695360 LA SABROSA BAKERY                            115 CALLE COMERCIO                                                                                                      JUANA DIAZ          PR           00795
   259777 LA SALLE SERVICE STATION                     HC 3 BOX 9624                                                                                                           LARES               PR           00669‐9513
   695362 LA SELECTA                                   563 AVE DE DIEGO                                                                                                        PUERTO NUEVO        PR           00920
   695364 LA SELVA PET SHOP                            PO BOX 906                                                                                                              CAROLINA            PR           00986
   259799 LA SEMANA                                    PO BOX 6537                                                                                                             CAGUAS              PR           00726
          LA SEVILLANA (PANADERIA Y
   695365 REPOSTERIA)                                  URB METROPOLIS                  A 17 CALLE 3                                                                            CAROLINA            PR           00987

   259800 LA SIERRA COUNTY AUTO PARTS PO BOX 1804                                                                                                                              CIDRA               PR           00739
   695366 LA SIERRA LANDSCAPING INC   BOX 8283                                                                                                                                 CAGUAS              PR           00725
          LA SOCIEDAD AMERICANA PARA
   259801 LA CALIDAD                  CAPITULO DE PUERTO RICO                          PO BOX 1959                                                                             CAGUAS              PR           00726‐1959

   259802 LA SOCIEDAD EDUCACIONAL DEL PO BOX 40                                                                                                                                MAYAGUEZ            PR           00681
   695367 LA SORPRESA                 47 CALLE BARBOSA                                                                                                                         ISABELA             PR           00662

   259803 LA SORPRESA AUTO PART GOM                    HC‐05 BOX 61867                                                                                                         MAYAGÜEZ            PR           00680
          LA SULTANA AMBULANCE
   695368 SERVICE                                      VALLE SECO                      SECTOR RIO HONDO B                                                                      MAYAGUEZ            PR           00680
   695369 LA SUPER KADENA NOTICIOSA                    P O BOX 21365                                                                                                           SAN JUAN            PR           00928‐1365
          LA TAHONA BAKERY Y/O JOSE A
   695371 CARRASQUILLO                                 1 CALLE CRISTOBAL COLON                                                                                                 YABUCOA             PR           00767
   695372 LA TASCA TRAVEL                              PUERTA DE TIERRA                54 AVE MUNOZ RIVERA                                                                     SAN JUAN            PR           00901

   695373 LA TERRAZA DEL CONDADO INC                   CONDADO                         1406 AVE MAGDALENA                                                                      SAN JUAN            PR           00907



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          LA TIENDA DE JUAN DEL PUEBLO
   259804 INC                                         JOSE CELSO RIVERA             PMB 133 PO BOX 1345                                                               TOA ALTA            PR           00954
   695374 LA TIENDA NUEVA                             PO BOX 342                                                                                                      JAYUYA              PR           00664
   259805 LA TIERRA PROMETIDA                         P. O. BOX 3762                                                                                                  AGUADILLA           PR           00605‐0000
   695375 LA TIERRA PROMETIDA INC                     PO BOX 3762                                                                                                     AGUADILLA           PR           00605
   695377 LA TIJERA DE ORO                            2 DERKES CALLE PALMER                                                                                           GUAYAMA             PR           00784
   695378 LA TIJERA FABRICS                           73 CALLE PALMER                                                                                                 CANOVANAS           PR           00729

  1420148 LA TORRE CINTRON, GABRIELA                  ANGEL A. TRIANA LOPEZ         PO BOX 2927                                                                       GUAYNABO            PR           00970‐2927

   259820 LA TORRE LA TORRE DAMARIS                   P.O. BOX 227                                                                                                    SAN SEBASTIAN       PR           00685

   259821 LA TORRE LA TORRE DAMARYS                   P.O. BOX 227                                                                                                    SAN SEBASTIAN       PR           00685
          LA TORRE MORALES MD,
   259826 FRANCISCO DE                                REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259837 LA TORRE RIOS, IRMA                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   259855 LA TRINIDAD ELDERLY LP SE                   2116 TURQUESA STREET          ALTO APOLO                                                                        GUAYNABO            PR           00969‐4922
   695379 LA TRIPLETA                                 HC 01 BOX 6130                                                                                                  CIALES              PR           00638‐9637

   695380 LA TRIUNFADORA AUTO PARTS PO BOX 841                                                                                                                        CABO ROJO           PR           00623
   259856 LA UNION INDEPENDIENTE        PO BOX 29522                                                                                                                  SAN JUAN            PR           00929
          LA VARIENTE BAKERY/ ENERGIA Y
   259857 SOL PR                        RR 2 BUZON 2905                                                                                                               ANASCO              PR           00610
          LA VEGA DE SUGRANES MD,
   259858 GLORIA DE                     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LA VEGA LANDFILL & RESOURCES
   259859 INC                           PO BOX 582                                                                                                                    VEGA BAJA           PR           00694‐0582
   695381 LA VEINTIDOS INC              HC 1 BOX 7030                                                                                                                 CABO ROJO           PR           00623
          LA VIA MODELO DE SUPERACION
   695382 INC                           14 CALLE GREGORIO VOZ                                                                                                         AGUADILLA           PR           00603
   259860 LA VID AUTO OUTLET INC        HC 3 BOX 14274                                                                                                                AGUAS BUENAS        PR           00703
   695383 LA VILLA TEXACO INC           532 AVE MIRAMAR                                                                                                               ARECIBO             PR           00612 4359
   259865 LA VINA CPRC INC              HC 59 BOX 6117                                                                                                                AGUADA              PR           00602
   695384 LA VOZ DEL CAMBIO INC         PO BOX 361444                                                                                                                 SAN JUAN            PR           00936
   695385 LA VOZ EVANGELICA DE P R      PO BOX 13324                                                                                                                  SAN JUAN            PR           00908
   259868 LAAP CAPITULO DE SAN JUAN     P O BOX 360744                                                                                                                SAN JUAN            PR           00936‐0744

   695386 LAB ARECIBO MEDICAL CENTER                  PO BOX 1109                                                                                                     ARECIBO             PR           00613
   259870 LAB BLASOR                                  8163 CONCORDIA SUITE 1                                                                                          PONCE               PR           00717‐1551
          LAB CLINICO ANEXO IRIZARRY
   695387 GUASCH                                      BOX 125                                                                                                         LAJAS               PR           00667
          LAB CLINICO ASHFORD
   695389 BAYAMON                                     PO BOX 70250 SUITE 144                                                                                          SAN JUAN            PR           00936‐8250
          LAB CLINICO BACTERIOLOGICO
   695390 GENESIS                                     P O BOX 986                                                                                                     PATILLAS            PR           00723
          LAB CLINICO BACTERIOLOGICO
   695391 VIOR                                        64‐C CALLE BETANCES                                                                                             AGUADILLA           PR           00603
   695392 LAB CLINICO BRISTOL ANGELI                  6 CALLE BALDORIOTY ESTE                                                                                         GUAYAMA             PR           00784
   695394 LAB CLINICO CENTRAL                         P O BOX 902                                                                                                     TOA ALTA            PR           00954
          LAB CLINICO DEVAL/DEBORAH
   695395 TALAVERA                                    PO BOX 399                                                                                                      BARCELONETA         PR           00617

   259878 LAB CLINICO DOCTORS CENTER                  PO BOX 29491 65 INF STATION                                                                                     SAN JUAN            PR           00929



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  695396 LAB CLINICO GORDO                            71 CARAZO                                                                                                 GUAYNABO           PR           00969
  695397 LAB CLINICO HATO ARRIBA                      P O BOX 3175                 HATO ARRIBA STATION                                                          SAN SEBASTIAN      PR           00685
  259887 LAB CLINICO HEG MARR INC                     P O BOX 4571                                                                                              VEGA BAJA          PR           00694

   695398 LAB CLINICO HOSP METROPOLI                  PO BOX 11981                                                                                              SAN JUAN           PR           00922

   259888 LAB CLINICO IRIZARRY GUASCH                 PO BOX 125                                                                                                LAJAS              PR           00667
   259891 LAB CLINICO LLANADAS INC                    700 CARR 140 STE 3                                                                                        BARCELONETA        PR           00617

   259893 LAB CLINICO MAGDALENA INC                   COND ADA LIGIA               1452 AVE ASHFORD SUITE 309                                                   SAN JUAN           PR           00907
   695399 LAB CLINICO MARBELLA                        P O BOX 218                                                                                               AGUADILLA          PR           00605
          LAB CLINICO MEDICO DE
   695400 CAROLINA                                    PLAZA CAROLINA STA           PO BOX 8848                                                                  CAROLINA           PR           00988‐8848
   695401 LAB CLINICO NOY INC                         239 ARTERIAL HOSTO           STE 107                                                                      SAN JUAN           PR           00918 1475
          LAB CLINICO PATOLOGICO
   259896 SEVILLA                                     100 AVE MUNOZ MARIN                                                                                       HUMACAO            PR           00791
   695403 LAB CLINICO RAMIREZ                         65 DE INF 20 SUITE 2                                                                                      LAJAS              PR           00667
   695404 LAB CLINICO SAMA CSP                        EDIF MICHELLE PLAZA          OFICINA 102                                                                  MERCEDITA          PR           00715
   695405 LAB CLINICO UMPIERRE                        P O BOX 364367                                                                                            SAN JUAN           PR           00936‐4367

          LAB CLINICO Y
   695406 BACETERIOLOGICO DEL OESTE     27 CALLE BRAU                                                                                                           CABO ROJO          PR           00673
          LAB CLINICO Y BACTEREOLOGICO
   695407 LARES                         2 CALLE SAN JOSE                                                                                                        LARES              PR           00669
          LAB CLINICO Y DE REF DE
   259911 FAJARDO INC                   PO BOX 70006                                                                                                            FAJARDO            PR           00738
          LAB CLINICO Y DE REFERENCIA
   259912 DE FAJARDO                    PO BOX 70006                                                                                                            FAJARDO            PR           00738
          LAB CLINICO Y REF ESCUELA MED
   259913 DE PONCE                      URB INDUSTRIAL REPARADA                    280 MONTEREY                                                                 PONCE              PR           00732

   695408 LAB CORP OF AMERICA HOLDING PO BOX 2270                                                                                                               BURLINGTON         NC           27216‐2270

   695409 LAB DE PATOLOGIA DR NOY INC                 URB EL VEDADO                123 CALLE RODRIGO DE TRIANA                                                  SAN JUAN           PR           00919
          LAB DOCUMENTS GRAPHIC
   695411 RESOURCES                                   1911 VERNON STREET                                                                                        KANSAS CITY        MO           64116
   259916 LAB ESSENTIAL INC                           201 OLD CROSSLANE RD                                                                                      MONROL             PR           30656
   695412 LAB MEDICINA NUCLEAR                        PO BOX 360064                                                                                             SAN JUAN           PR           00936‐0064
   695413 LAB METABOLICO INC                          753 AVE HIPODROMO                                                                                         SAN JUAN           PR           00909‐2545

   259918 LAB NORTH WESTERN MEDICAL                   P.O. BOX 250451                                                                                           AGUADILLA          PR           00604‐0451
   695414 LAB PRODUCT REALTY INC                      PO BOX 361810                                                                                             SAN JUAN           PR           00936‐1810
                                                                                   EDIF MEDICO PROFESIONAL STE
   259920 LAB PRO‐LAB                                 1065 AVE LOS CORAZONES       207                                                                          MAYAGUEZ           PR           00680

   695415 LAB PULMONAR CAROLINA INC                   COND ADA LIGIA SUITE 4       1452 ASHFORD AVE                                                             SAN JUAN           PR           00907‐1581
          LAB QUIMICO BIOLOGICO                       8133 CALLE CONCORDIA SUITE
   695416 RAMIREZ                                     101                                                                                                       PONCE              PR           00717‐1543
   695417 LAB SAFETY SUPPLY CO.                       PO BOX 1368                                                                                               JANESVILLE         WI           53547
   695418 LAB SAFETY SUPPLY INC.                      PO BOX 1368                                                                                               JAMESVILLE         WI           53547‐1368
   831455 Lab Science Instrument, Inc.                352 Ave. San Claudio         Suit 260                                                                     San Juan           PR           00926




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                                                      AVE. NORTH MAIN 32 ‐ 13
          LAB SCIENCE INSTRUMENTS ,                   OFFICE #4 URB. SIERRA
   259921 INC.                                        BAYAMON                                                                                                  BAYAMON             PR           00964‐0000

   259922 LAB SCUNA INSTRUMENTS INC    SIERRA BAYAMON                             AVE NORTE 32‐13 OFIC 4                                                       BAYAMON             PR           00964
   695419 LAB TORRES ANTOMMATTEI       PO BOX 441                                                                                                              YAUCO               PR           00698
          LAB VASCULAR NO INVASIVO DEL
   695420 OESTE                        109 MENDEZ VIGO ESTE                                                                                                    MAYAGUEZ            PR           00680
   259924 LAB WAREHOUSE INC            P O BOX 125                                                                                                             LAJAS               PR           00667

          LAB. CLINICO BACTERIOLOGICO
   259925 SAN ANTONIO                                 BOX 791                                                                                                  SAN ANTONIO         PR           00690
   695421 LAB. CLINICO CARMAR                         PO BOX 37169                                                                                             SAN JUAN            PR           00937
   695422 LAB. CLINICO CIMA                           PO BOX 243                                                                                               YABUCOA             PR           00767
   695423 LAB. CLINICO EUROPA INC.                    619 CALLE PAVIA FDEZ                                                                                     SAN JUAN            PR           00909
          LAB. CLINICO FDO. MONTILLA
   259926 INC.                                        URB PARQUE CENTRAL          401 CALLE FERNANDO MONTILLA                                                  SAN JUAN            PR           00918
   695425 LAB. CLINICO PLATZER                        BOX 1759                                                                                                 BAYAMON             PR           00960
   695426 LAB. CLINICO ROXEL INC                      E 104 CALLE FONT MARTELLO                                                                                HUMACAO             PR           00791
   695427 LAB. SAFETY SUPPLY                          PO BOX 1368                                                                                              JANESVILLE          WI           53547
   259930 LABAOLA FLORES VEGA                         BO AMELIA                   33 CALLE DIAZ NAVARRO                                                        GUAYNABO            PR           00965
   831454 LabCorp                                     PO Box 12140                                                                                             Burlington          NC           27216‐2140
   259939 LABELS SOLUTIONS LLC                        PO BOX 8755                                                                                              CAGUAS              PR           00726‐8755
                                                      250 PONCE DE LEON AVENUE
   259948 LABOR COUNSELS                              402                                                                                                      SAN JUAN            PR           00918
          LABOR MARKET INFORMATION
   259949 TRAINING INST                               P O BOX 100127                                                                                           ARLINGTON           VA           22210

   695428 LABOR READY PUERTO RICO INC                 1015 A STREET                                                                                            TACOMA              WA           98402
          LABOR SAFE HARBOR WORKERS
   695429 CORP                                        P O BOX 10445                                                                                            SAN JUAN            PR           00922 0445
   259950 LABOR TRENDS                                AVE. MUðOZ RIVERA 268       HATO REY TOWER SUITE 1604                                                    SAN JUAN            PR           00918
   259953 LABORATORI CLINICO RIOS                     P.O. BOX 528                                                                                             SAN SEBASTIAN       PR           00685‐0528

   695430 LABORATORIO ANTONMATTEI                     PO BOX 751                                                                                               ARECIBO             PR           00612
   695431 LABORATORIO BIO/QUIM                        PO BOX 7722                                                                                              PONCE               PR           00732
   259956 LABORATORIO BIOMEDICO                       392 AVE DOMENECH                                                                                         SAN JUAN            PR           00918
          LABORATORIO
   259959 CARDIOVASCULAR                              12 CALLE CARRERAS                                                                                        HUMACAO             PR           00791

   259963 LABORATORIO CLINICO ADAMS                   BOX 3088                                                                                                 AGUADILLA           PR           00605‐0000

   695432 LABORATORIO CLINICO ALMI INC URB ALTAMESA                 1332 AVE SAN ALFONSO                                                                       SAN JUAN            PR           00921
          LABORATORIO CLINICO ALMI,    AVE. SAN ALFONSO # 1332 URB.
   259965 INC.                         ALTAMESA                                                                                                                SAN JUAN            PR           00921‐0000
          LABORATORIO CLINICO          COND. EL SENORIAL 1326 CALLE
   259969 ANALITICO                    SALUD STE 309                                                                                                           PONCE               PR           00717
          LABORATORIO CLINICO
   259970 ANALITICO INC                COND EL SENORIAL             1326 SUITE 309 CALLE SALUD                                                                 PONCE               PR           00717‐1689

   695433 LABORATORIO CLINICO ANAMAR PO BOX 4115                                                                                                               BAYAMON             PR           00958
          LABORATORIO CLINICO
   695434 AQUARIUM                   RR 02 BOX 7590                                                                                                            TOA ALTA            PR           00953



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          LABORATORIO CLINICO
   259971 BACTERIOLOGICO                              PO BOX 791                                                                                             SAN ANTONIO          PR           00690
          LABORATORIO CLINICO BAIROA
   259974 INC                                         2 CALLE BALDORIOTY                                                                                     CAGUAS               PR           00725‐2606

   695436 LABORATORIO CLINICO BLAZOR                  8163 CALLE CONCORDIA SUITE 1                                                                           PONCE                PR           00717‐1551
          LABORATORIO CLINICO
   259979 BORINQUEN INC                               2 CALLE BALDORIOTY             ESQUINA GOYCO                                                           CAGUAS               PR           00726‐0000
          LABORATORIO CLINICO
   259980 CAMASEYES                                   2704 RIO HONDO                                                                                         MAYAGUEZ             PR           00680

   695437 LABORATORIO CLINICO CANTERA BO CANTERA                                     CARR 2 KM 44 HM 6                                                       MANATI               PR           00654
          LABORATORIO CLINICO CAPARRA
   695438 INC                         PO BOX 11560                                                                                                           SAN JUAN             PR           00922

   695439 LABORATORIO CLINICO CARIBE                  EXT VILLA RICA                 A 31 CALLE 1                                                            BAYAMON              PR           00959

   695440 LABORATORIO CLINICO CELADA                  CARR 181 KM 23 0                                                                                       GURABO               PR           00778

   695442 LABORATORIO CLINICO CHEGAR                  P O BOX 497                                                                                            RIO GRANDE           PR           00745‐0497
          LABORATORIO CLINICO
   695443 CLAUSELLS                                   333 VICTORIA                                                                                           PONCE                PR           00731
          LABORATORIO CLINICO COSTA
   259988 ISABELA                                     8165 AVE JOBOS STE 1                                                                                   ISABELA              PR           00662
          LABORATORIO CLINICO COTO
   259990 LAUREL                                      PO BOX 801176                                                                                          COTO LAUREL          PR           00780‐1176
          LABORATORIO CLINICO DE                      2006 COLS DE ALTURAS DE
   259991 HOSTOS                                      MAYAGUEZ                                                                                               MAYAGUEZ             PR           00682‐6272
          LABORATORIO CLINICO DE
   695446 NAGUABO                                     PO BOX 602 RIO BLANCO STA                                                                              NAGUABO              PR           00747

   695447 LABORATORIO CLINICO DEL ESTE PO BOX 901                                                                                                            LAS PIEDRAS          PR           00771
          LABORATORIO CLINICO
   259993 DELGADO AMADOR               PSC DBA LAB CLINICO SAN JOSE                  URB VISTA VERDE                                        47               CAMUY                PR           00627
          LABORATORIO CLINICO
   695448 DOMENECH                     283 AVE DOMENECH                                                                                                      SAN JUAN             PR           00918
          LABORATORIO CLINICO DR
   695449 BASORA                       24 NORTE CALLE DR BASORA                                                                                              MAYAGUEZ             PR           00680
          LABORATORIO CLINICO DR
   695450 CAJIGAS                      PO BOX 1527                                                                                                           BAYAMON              PR           00960
          LABORATORIO CLINICO DR.
   259996 BASORA                       24N CALLE BASORA                                                                                                      MAYAGUEZ             PR           00680‐0000
          LABORATORIO CLINICO EL
   259998 MONTE INC                    650 AVE MUNOZ RIVERA                          SUITE 103                                                               SAN JUAN             PR           00918‐4110
          LABORATORIO CLINICO EL       URB. EL CEREZAL 1648 CALLE
   259999 PARAISO                      PARANA                                                                                                                SAN JUAN             PR           00926‐0000
          LABORATORIO CLINICO EL
   260000 ROSARIO INC                  PO BOX 3031                                                                                                           VEGA ALTA            PR           00692

   695451 LABORATORIO CLINICO FERAM                   65 CALLE RAMON FLORES                                                                                  AIBONITO             PR           00705

   260008 LABORATORIO CLINICO FLORES                  P.O. BOX 29483                                                                                         SAN JUAN             PR           00929‐0483




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          LABORATORIO CLINICO
   260009 FRONTERA                     MARINA STATION P.O. BOX 3032                                                                          MAYAGUEZ             PR           00681‐0000
          LABORATORIO CLINICO GARCIA
   695452 INC                          PO BOX 609                                                                                            CABO ROJO            PR           00623
          LABORATORIO CLINICO GAUDIER
   260011 INC.                         3 CALLE DE DIEGO ESTE                                                                                 MAYAGUEZ             PR           00680
          LABORATORIO CLINICO
   695453 GUAYAMA                      47‐0 BALDORIOTY                                                                                       GUAYAMA              PR           00785
          LABORATORIO CLINICO
   260014 GUAYANES                     BRISAS DE GUAYANES           188 CALLE INVIERNO                                                       PENUELAS             PR           00624
          LABORATORIO CLINICO
   695454 GUAYANILLENSE                PO BOX 560‐579                                                                                        GUAYANILLA           PR           00656
          LABORATORIO CLINICO
   695455 GUAYNABO                     P O BOX 1968                                                                                          GUAYNABO             PR           00970
          LABORATORIO CLINICO HATO
   260016 REY                          5 CALLE FERNANDEZ                                                                                     SAN JUAN             PR           00918
          LABORATORIO CLINICO
   695456 HENRIQUEZ                    P O BOX 7528                                                                                          CAGUAS               PR           00726
   260018 LABORATORIO CLINICO INC      9N CALLE DR BASORA STE 2                                                                              MAYAGUEZ             PR           00680
          LABORATORIO CLINICO IRIZARRY
   260019 GUASCH                       1266 AVE MUNOZ RIVERA                                                                                 PONCE                PR           00717
          LABORATORIO CLINICO IRIZARRY
   260021 GUASH                        P.O. BOX 125                                                                                          LAJAS                PR           00667‐0125

   695458 LABORATORIO CLINICO JAYUYA                  PO BOX 549                                                                             JAYUYA               PR           00664
          LABORATORIO CLINICO
   695459 JERUSALEN                                   PO BOX 9024275                                                                         SAN JUAN             PR           00902‐4275

   695461 LABORATORIO CLINICO KARBAN 3 CALLE JOSE DE JESUS ESTEVES                                                                           AGUADILLA            PR           00603

   260029 LABORATORIO CLINICO KARMAR PO BOX 10050                                                                                            SAN JUAN             PR           00922
          LABORATORIO CLINICO LA 100,
   260030 INC                         2301 CARR. 100 SUITE 103                                                                               CABO ROJO            PR           00623‐0000
          LABORATORIO CLINICO LAS
   695463 MARIAS                      URB HYDE PARK                    214 CALLE LAS MARIAS                                                  SAN JUAN             PR           00927
          LABORATORIO CLINICO LAS
   695464 TORRES                      P O BOX1759                                                                                            BAYAMON              PR           00960‐1759

   260037 LABORATORIO CLINICO LING INC PO BOX 140699                                                                                         ARECIBO              PR           00614

   260039 LABORATORIO CLINICO LORIMAR 172 CALLE COLON                                                                                        AGUADA               PR           00602‐0000
          LABORATORIO CLINICO LOS
   260040 COLOBOS, INC                PMB 142 PO BOX 20000                                                                                   CANOVANAS            PR           00729
          LABORATORIO CLINICO M
   260041 LANDRON                     PO BOX 4605                                                                                            VEGA BAJA            PR           00694

   260042 LABORATORIO CLINICO MANATI PO BOX 2387                                                                                             MANATI               PR           00674
          LABORATORIO CLINICO
   695465 MARBELLA                   P O BOX 250274                                                                                          AGUADILLA            PR           00604‐0274
          LABORATORIO CLINICO MOCA
   260052 INC                        PO BOX 576                                                                                              AGUADA               PR           00602

   260053 LABORATORIO CLINICO MODELO P O BOX 598                                                                                             CATANO               PR           00963



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          LABORATORIO CLINICO
   695467 MONTELLANO                                  PMB 379                  PO BOX 6400                                                                CAYEY                PR           00737

   260055 LABORATORIO CLINICO NAIDA         P.O. BOX 579                                                                                                  SABANA GRANDE        PR           00637‐0579
   695470 LABORATORIO CLINICO NBH           40 CALLE MATEI LLUBERAS                                                                                       YAUCO                PR           00698
          LABORATORIO CLINICO OBYMAR
   260059 INC                               PO BOX 47                                                                                                     ISABELA              PR           00662
          LABORATORIO CLINICO OMARIS
   695471 INC                               EDIF TROPICAL PLAZA                SUITE 3 272 CARR 2                                                         HATILLO              PR           00659
                                            9 CALLE ANGEL GREGORIO
   260062 LABORATORIO CLINICO PACHECO MARTINEZ                                                                                                            SABANA GRANDE        PR           00637‐0000
   695472 LABORATORIO CLINICO PAOLI         PO BOX 1181                                                                                                   FAJARDO              PR           00738
          LABORATORIO CLINICO PARQUE PARQ ESCORIAL SHOPPING                    CARIBBEAN CINEMA BUILDING
   260063 ESCORIAL                          CENTER                             STE109                                                                     CAROLINA             PR           00987
          LABORATORIO CLINICO PLAZA
   260066 DEL MAR INC                       PO BOX 3432                                                                                                   VEGA ALTA            PR           00692‐3432
                                            9 NORTE CALLE DR. BARBOSA
   260068 LABORATORIO CLINICO POL           SUITE 2                                                                                                       MAYAGUEZ             PR           00680‐0000
          Laboratorio Clinico Principal San
   831456 Fernando Inc.                     PO Box 1528                                                                                                   Bayamon              PR           00960
          LABORATORIO CLINICO
   695473 PROFESIONAL EMANUEL               PO BOX 9024275                                                                                                SAN JUAN             PR           00902‐4275
          LABORATORIO CLINICO
   695474 PROGRESO                          P O BOX 9024275                                                                                               SAN JUAN             PR           00902‐4275

   695475 LABORATORIO CLINICO RAMEY                   P O BOX 250371                                                                                      AGUADILLA            PR           00604
          LABORATORIO CLINICO RIO
   260074 PIEDRAS                                     1056 CALLE FERROCARRIL                                                                              RIO PIEDRAS          PR           00925‐0000
                                                      13 CALLE ANDRES MENDEZ
   260075 LABORATORIO CLINICO RIOS                    LICIAGA                                                                                             SAN SEBASTIAN        PR           00685
          LABORATORIO CLINICO RIOS
   260076 LISOJO                                      P.O. BOX 50                                                                                         LAS MARIAS           PR           00670‐0000
          LABORATORIO CLINICO
   695476 RODRIGUEZ                                   PO BOX 3031                                                                                         VEGA ALTA            PR           00692

   260078 LABORATORIO CLINICO ROLON                   PO BOX 142292                                                                                       ARECIBO              PR           00614
          LABORATORIO CLINICO ROYAL
   260080 GARDENS INC                                 URB ROYAL GARDENS E4     CALLE ESTHER                                                               BAYAMON              PR           00956

   695477 LABORATORIO CLINICO SAN BLAS PO BOX 1933                                                                                                        COAMO                PR           00769
          LABORATORIO CLINICO SAN
   260085 CRISTOBAL INC                PO BOX 1600                                                                                                        LAS PIEDRAS          PR           00771
          LABORATORIO CLINICO SAN
   260086 GERMENO INC                  P O BOX 3008                                                                                                       SAN GERMAN           PR           00683
          LABORATORIO CLINICO SANTA
   695478 RITA                         PO BOX 9398                                                                                                        BAYAMON              PR           00960
          LABORATORIO CLINICO
   695479 SEPULVEDA                    COND CENTRO PLAZA                       OFICINA 6A MENDEZ VIGO63E                                                  MAYAGUEZ             PR           00680

   260093 LABORATORIO CLINICO SULTANA URB. BUENA VENTURA                       1159 CALLE MAGNOLIA                                                        MAYAGUEZ             PR           00682‐1284
          LABORATORIO CLINICO TOA
   695480 ALTA INC                    PO BOX 1027                                                                                                         TOA ALTA             PR           00954‐1027




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   260095 LABORATORIO CLINICO TOLEDO 51 CALLE PALMA                                                                                                               ARECIBO              PR           00612‐0000

   695481 LABORATORIO CLINICO TORRES                  47 BETANCES                                                                                                 UTUADO               PR           00641
          LABORATORIO CLINICO
   260097 TROPICAL                                    PO BOX 445                                                                                                  CAGUAS               PR           00726
          LABORATORIO CLINICO
   695483 VALPARAISO                                  PO BOX 6157                                                                                                 SAN JUAN             PR           00914‐6157
          LABORATORIO CLINICO VAN
   695484 SCOY                                        MSC 178 RR 8 BOX 19950                                                                                      BAYAMON              PR           00956‐9613
          LABORATORIO CLINICO VILLA
   695485 LOS SANTOS                                  PO BOX 9980                                                                                                 ARECIBO              PR           00613
          LABORATORIO CLINICO
   695486 VILLANUEVA                                  MARIA E RODRIGUEZ           100 CALLE EMILIO GONZALEZ                                                       ISABELA              PR           00662
          LABORATORIO DE MEDICINAS
   260110 NUCLEAR                                     PO BOX 360064                                                                                               SAN JUAN             PR           00936‐0064

   260112 LABORATORIO DEL SUENO DE PR CPR PROFESSIONAL BLDG                       55 CALLE DE DIEGO E SUITE 405                                                   MAYAGUEZ             PR           00680
          LABORATORIO DENTAL GMA
   260114 PABLO ORTIZ                 141 SUR CALLE DUQUE                                                                                                         GUAYAMA              PR           00784
   260115 LABORATORIO DIAZ GARCIA     PO BOX 140519                                                                                                               ARECIBO              PR           00614‐0519
          LABORATORIO GARCIA
   260116 CORPORATION                 PO BOX 540                                                                                                                  ANASCO               PR           00610‐0540
   695487 LABORATORIO LANDRON         359 AVE DE DIEGO                                                                                                            SAN JUAN             PR           00909

   695489 LABORATORIO LAS AMERICAS                    400 AVE DOMENECH STE 203B                                                                                   SAN JUAN             PR           00918
   695491 LABORATORIO MONTERO                         PO BOX 931                                                                                                  FAJARDO              PR           00738‐0931

   260121 LABORATORIO NEOCLINICO INC PMB 164 PO BOX 4002                                                                                                          VEGA ALTA            PR           00692
          LABORATORIO ORTOPEDICO DE P
   695492 R INC                       67 MENDEZ VIGO OESTE                                                                                                        MAYAGUEZ             PR           00708
          LABORATORIO ORTOPEDICO DEL
   695493 NORTE                       317 AVE JOSE                                                                                                                ARECIBO              PR           00612
          LABORATORIO ORTOPEDICO
   260122 PROTESCICO PR               67 OESTE MENDEZ VIGO                                                                                                        MAYAGUEZ             PR           00680
          LABORATORIO ORTOPEDICO Y
   260123 PROSTESICO DE P             P.O. BOX 1569                                                                                                               MAYAGUEZ             PR           00681
   695494 LABORATORIO PORTA COELI     CALLE COLON ESQUINA SOL                                                                                                     SAN GERMAN           PR           00683
          LABORATORIO RIVERA
   260124 GONZALEZ II                 PO BOX 1352                                                                                                                 GURABO               PR           00778
   695497 LABORATORIO SALIMAR         12 CALLE PALMER                                                                                                             SALINAS              PR           00751
   695498 LABORATORIO SAN MARTIN      PO BOX 46                                                                                                                   LARES                PR           00669
          LABORATORIO VASCULAR
   260131 CLINICO                     OFIC DE SONOGRAFIA VASCULAR P O BOX 194478                                                                                  SAN JUAN             PR           00919‐4478
          LABORATORIO VASCULAR
   695500 CLINICO DE PONCE            P O BOX 7123                                                                                                                PONCE                PR           00732‐7123
          LABORATORIOM CLINICO
   260133 CAMASEYES                   2704 RIO HONDO                                                                                                              MAYAGUEZ             PR           00680‐0000
          LABORATORIOS PROFESIONALES
   260135 CINE Y                      CREACION A C                COL GUADALUPE INN                               98 FELIPE VILLANUEVA DEP 201                    MEXICO                            01020         MEXICO

   260137 LABORATORY CORP OF AMERICA PO BOX 8029                                                                                                                  BURLINGTON           NC           27216‐8029




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          LABORATORY CORP OF AMERICA
  1256629 HOLDING                    REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   695501 LABORATORY INST.& SERV.CO.                  PO BOX 361796                                                                                                 SAN JUAN            PR           00936

   260141 LABORATORY PHYSICIANS ASSOC P O BOX 740968                                                                                                                DALLAS              NY           75374‐0968
          LABORATORY PHYSICIANS
   260142 ASSOC.                      PO BOX 740968                                                                                                                 DALLAS              TX           75374‐0968
          LABORDE SANFIORENZO MD,
   260164 JANINE                      REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   831457 Labotek Group               PO Box 6687                                                                                                                   Bayamon             PR           00960
   260200 LABOY AUTO REPAIR           PO BOX 1102                                                                                                                   ANASCO              PR           00610
   260250 LABOY CONESA MD, MIRZIA     REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LABOY FIGUEROA MD, ERNESTO
   260306 R                           REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1420149 LABOY GONZÁLEZ, JOSÉ OSCAR                  VICTOR CASALS VÁZQUEZ     PO BOX 363527                                                                       SAN JUAN            PR           00936‐3527
   260335 LABOY GRAFICS DESING                        AVE. ANDALUCIA 769                                                                                            PUERTO NURVO        PR           00921
   260356 LABOY LOCKSMIHT SERVICES                    AVE ISLA VERDE            5960 LOCAL 1                                                                        CAROLINA            PR           00979
   695503 LABOY LOCKSMITH SERVICE                     PALMAR NORTE              1 AVE ISLA VERDE                                                                    CAROLINA            PR           00979
          LABOY MOLINARI MD, OSVALDO
   260410 R                                           REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                PMB‐133 1353 AVE. LUIS
  1420150 LABOY MORALES, JOSE A                       YARLENE JIMENEZ ROSARIO   VIGOREAUZ                                                                           GUAYNABO            PR           00966‐2700
   260480 LABOY RAMOS MD, VICENTE                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   260553 LABOY RODRIGUEZ, MARYANN                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420151 LABOY ROSA, JOSE MANUEL                     LUIS LAGUNA MIMOSO        PO BOX 1116                                                                         CAGUAS              PR           00726
                                                      HP‐PSIQUIATRICO FORENSE
   695504 LABOY ROSADO,HECTOR                         PONCE                                                                                                         Hato Rey            PR           009360000
   260590 LABOY SALES RENTAL                          SANTA ROSA UNIT           APARTADO 6394                                                                       BAYAMON             PR           00956
                                                      HP‐PSIQUIATRICO FORENSE
   695505 LABOY TEXEIRA,MAGDA                         PONCE                                                                                                         Hato Rey            PR           009360000
   260641 LABOY TORRES MD, JOAQUIN                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   260673 LABOY VAZQUEZ, JEANNETTE                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      HP‐PSIQUIATRICO FORENSE
   695506 LABOY VELAZQUEZ,IVETTE                      PONCE                                                                                                         Hato Rey            PR           009360000
                                                      HP‐PSIQUIATRICO FORENSE
   695507 LABOY VELAZQUEZ,JANNETTE                    PONCE                                                                                                         Hato Rey            PR           009360000
   260714 LABOY, SANTA                                REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   260721 Laboy‐Rodríguez, Rodolfo                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   695508 LABRADA AUTO REPAIR                         URB SAN JOSE 53           CALLE ALMIJARRA                                                                     SAN JUAN            PR           00923
                                                      COUNTRY CLUB INDUSTRIAL
   260724 LABRADA DISTRIBUTORS INC                    PARK                      CALLE 220                                                                           CAROLINA            PR           00982
   260750 LABT TOURS                                  PMB 496 P O BOX4952                                                                                           CAGUAS              PR           00726‐4952
   260751 LABT TOURS INC                              PMB 496                   PO BOX 4952                                                                         CAGUAS              PR           00726‐4952
   260754 LAB‐VOLT PUERTO RICO, INC.                  CALLE ELBA #1466          CAPARRA HEIGHTS                                                                     SAN JUAN            PR           00920

   695510 LABZONE MEDICAL BOOKSTORE                   P O BOX 7004                                                                                                  PONCE               PR           00732
   695512 LAC COMMUNICATIONS INC                      URB ALTAVISTA             Q 46 CALLE 21                                                                       PONCE               PR           00731
   260755 LAC TECH SERVICES                           137 PARABUEYON                                                                                                CABO ROJO           PR           00623
   260803 LACKMAN MD , RICHARD D                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   695513 LACOM INC.                                  PO BOX 1630                                                                                                   TRUJILLO ALTO       PR           00977



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          LACOMBA HERNANDEZ MD,
   260811 RAFAEL M                                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
  1420152 LACOURT EXIAS, HILDA                        CARLOS GARCIA CEBALLOS        APARTADO 427                                                                          MAYAGUEZ             PR           00681‐0427
   695514 LACTATION ASSOCIATES                        254 CONANT ROAD                                                                                                     WESTON               MA           02493
   260835 LACTATION LIAISON                           9 BANCROFT STREET                                                                                                   PEPPERELL            MA           01463

   695515 LACYBETH FIGUEROA FERREIRA                  VILLAS DE GURABO              D‐26 CALLE 2                                                                          GURABO               PR           00778
   695516 LADDER TOWERS INC                           64 COCALICO CREEK ROAD                                                                                              EPHRATA              PA           17522
          LADERAS RIO ELDERLY LIMITED
   260836 PARTNERSHIP                                 P O BOX 195288                                                                                                      SAN JUAN             PR           00919‐5288
   260837 LADIE G MERCADO MARTINEZ                    HC 2 BOX 12294                                                                                                      SAN GERMAN           PR           00683
   695517 LADIES AUTO PARTS                           HC ‐71 BOX 3818                                                                                                     NARANJITO            PR           00719‐9718
   260838 LADIMIL ANDUJAR MATOS                       PO BOX 87                                                                                                           CABO ROJO            PR           00623‐0087
   260839 LADIMILA DE LIMA PAYERO                     CALLE 82 BLOQUE 108 #28       VILLA CAROLINA                                                                        CAROLINA             PR           00985
   695518 LADIS PLACE                                 PO BOX 195569                                                                                                       SAN JUAN             PR           00919‐5569
   695520 LADIS RESTAURANT INC                        PO BOX 486                                                                                                          SALINAS              PR           00751
          LADISLAO FIGUEROA
   695522 MALDONADO                                   HC 4 BOX 46641                                                                                                      AGUADILLA            PR           00603
   695523 LADISLAO ORTIZ SUSTACHE                     PO BOX 270122                                                                                                       SAN JUAN             PR           00927‐0122
   695524 LADISNELSA PEREZ PEREZ                      100 LOCHLYN PL APT 2403                                                                                             BONAIRE              GA           31005

   260846 LADURNER INTERNAZIONALE S A EDIF 25 AVE SAN MARTIN                                                                                                              SANTO DOMINGO                                   DOMINICAN REPUBLIC

   695526 LADY ALFONSO DE CUMPIANO                    VILLA LISSETTE                C S CALLE P MARTINEZ                                                                  GUAYNABO             PR           00969‐3436

   695527 LADY CORTES PEREZ                           HACIENDA LA MATILDE           5625 PASEO MORELL CAMPOS                                                              PONCE                PR           00728‐2455
          LADY DE LOS A RAFALS
   695528 MARTINEZ                                    PO BOX 132 VICTORIA STA                                                                                             AGUADILLA            PR           00605
   695529 LADY DIAZ                                   URB JARD BARCELONA            G 6 CALLE 9                                                                           JUNCOS               PR           00777
   260848 LADY J BONILLA TRILLA                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   260849 LADY JOAN TORRES TORRES                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   695532 LADY JORDI INC                              P O BOX 43                                                                                                          CAROLINA             PR           00986‐0043
   695533 LADY K OLAN VAZQUEZ                         HC 2 BOX 30445                                                                                                      CAGUAS               PR           00727
   695534 LADY M LOPEZ RUIZ                           JARD DEL CARISE               215 CALLE 15                                                                          PONCE                PR           00728‐3514
   695535 LADY M OCASIO LABOY                         PARC DEL GUAYABAL             CALLE 3 FINAL                                                                         JUANA DIAZ           PR           00795‐9518
                                                      CARR VIEJA DE RIO PIEDRAS A
   695536 LADY PRINCIPE RIVERA                        CAGUAS                        KM 18 4 RR 7 83                                                                       SAN JUAN             PR           00928
          LADY SACHA M RIVERA
   260850 TALAVERA                                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   695537 LADY SANCHEZ RODRIGUEZ                      BOX 266                                                                                                             COAMO                PR           00769
   260851 LADYLIZ VIRUET                              REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   695538 LADYRAH ESCOBAR GARCIA                      LOS FLAMBOYANES               64 CALLE CEIBA                                                                        GURABO               PR           00778
   695539 LAERDAL MEDICAL CORP                        PO BOX 1840                   167 MYERS CORNERS ROAD                                                                WAPPINGERS FALLS     NJ           12590
   695540 LAFAYETTE INSTRUMENTS                       P O BOX 5729                                                                                                        LAFAYETTE            IN           47903
          LAFAYETTE PHYSICAL REHAB
   260853 HOSPITAL                                    PO BOX 80542                                                                                                        BATON ROUGE          LA           70898
   260860 LAFONT PEREZ MD, EMILIO A                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

  1420153 LAFONTAINE ANDUJAR, MARGIE JOSE MARTINEZ CUSTODIO                         PO BOX 599                                                                            UTUADO               PR           00641
          LAFONTAINE BARREIRO MD,
   260865 EZEQUIEL                   REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   260869 LAFONTAINE COLON, IRIS M   REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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                                                                                    EDIFICIO PUERTA DEL ESTA NÚM.
  1420154 LAFONTAINE, ANA M. Y/O 27                   MICHELLE VELEZ RIVERA         101 SUITE 2                                                                                MANATÍ               PR           00674‐4917
          LAGARES DRIVING SCHOOL /
   260942 MARIA D LAGARES                             URB LAS DELICIAS              3271 CALLE URSULA CARDONA                                                                  PONCE                PR           00728‐3917
          LAGE LANDEN FINANCIAL
   695541 SERVICES                                    PNC BANK LOCK BOX 41601       ROUTE38 CAST GATE DRIVE                                                                    MORRISTWON           NJ           08057
                                                      Mansiones deColinas#G‐4
   695543 LAGO ALTO SERV.STA./GAS P.R.                C/Eucalipto                                                                                                              San Juan             PR           00926

   260988 LAGO ALTO SERVICE STATION URB MANS COLINAS DE CUPEY                       G 4 CALLE EUCALIPTO                                                                        SAN JUAN             PR           00926‐7555
          LAGO ESMERALDA DEVELOPERS
   695544 INC                       PO BOX 363042                                                                                                                              SAN JUAN             PR           00936‐3042
   261016 LAGO ROBLES, ZORIMIL      REDACTED                                        REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   261026 LAGO VISTA SHELL                            CENTRO COMERCIAL LAGO VISTA                                                                                              LEVITTOWN            PR           00950
   261027 LAGOA AUTO REPAIR                           CAMINO LA CUCHILLA 1204                                                                                                  MAYAGUEZ             PR           00680

   695545 LAGRIMA MARIN DE MARQUEZ                    PO BOX 191504                                                                                                            SAN JUAN             PR           00919‐1504
   261046 LAGUER AUTO SALES                           COM MANTILLA                  5 CALLE BZN 111                                                                            QUEBRADILLAS         PR           00662
                                                      ROBERTO O. MALDONADO                                          OFIC. 1A ESQ. FRANKLIN D.
  1422582 LAGUERRE, SAAVEDRA                          NIEVES                        CALLE 7 NE NÚM. 344             ROOSEVELT                                                  SAN JUAN             PR           00921
   261166 LAH LAW OFICCE CSP                          P.O. BOX 361203                                                                                                          SAN JUAN             PR           00936

   261172 LAHEY CLINIC MEDICAL CENTER                 2250 FOURTH AVE STE 105                                                                                                  SAN DIEGO            CA           92101
   695546 LAIDA F COTTO RIOS                          PO BOX 997                                                                                                               CAYEY                PR           00736
   261184 LAILA JUMA JACOUB                           REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   695547 LAILA RIVERA RIVERA                         P O BOX 538                                                                                                              VEGA ALTA            PR           00692
   261185 LAILA VELEZ SEPULVEDA                       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   695548 LAIN GOMEZ GARCIA                           266 CALLE SAN FRANCISCO                                                                                                  SAN JUAN             PR           00901
   261186 LAINA AYALA RODRIGUEZ                       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   695549 LAIRA E TERRUEL ACOSTA                      MANS DE CAROLINA CC 7         CALLE YUNQUESITO                                                                           CAROLINA             PR           00987
   695550 LAIRA J MERCADO MORALES                     URB CAPARRA HEIGHTS           550 CALLE ESTONIA                                                                          SAN JUAN             PR           00921
   695551 LAIRA S CALDERON JUARBE                     80 ALTOS CALLE CARIBE                                                                                                    SAN JUAN             PR           00907
   261188 LAISIS MATOS/ JOSE A VIERA                  REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   261189 LAIYA R. HERNANDEZ ROSARIO                  REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   261191 LAIZA C SANCHEZ SANTIAGO                    REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   261192 LAIZA M CARRASQUILLO PEREZ                  REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   695552 LAIZA M PARAVISINI DOMENECH URB LEVITOWN                                  M 15 CALLE LUZ NORTE                                                                       TOA BAJA             PR           00949

   261193 LAIZA M VAZQUEZ RODRIGUEZ                   REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   261194 LAIZLA RIOS JIMENEZ                         REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   261217 LAJARA RADINSON / ALICEA PSC                URB CAPARRA TERRACE           1303 AVE AMERICO MIRANDA                                                                   SAN JUAN             PR           00921
          LAJARA‐RADINSON & ALICEA
   261234 P.S.C.                                      1303 AMERICO MIRANDA AVE.                                                                                                SAN JUAN             PR           00921‐2109
          LAJAS APARTMENTS LTD
   261235 PARTNERSHIP                                 VILLA NEVAREZ PROF CENTER     120 CALLE 2 STE 302                                                                        SAN JUAN             PR           00927
          LAJAS AUTO IMPORTS INC
   695554 /ROBERTO GONZALEZ                           6 BELLA VISTA GARDENS                                                                                                    MAYAGUEZ             PR           00680




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          LAJAS BASEBALL DEVELOPERS
   261236 CLUBS INC                                   PO BOX 3022                                                                                                             LAJAS               PR           00667

   261237 LAJAS DEVELOPMENT CORP INC                  1 CALLE 65 INF NORTE STE 2                                                                                              LAJAS               PR           00667

   261238 LAJAS RACING INC                            1 CALLE 65 INFANTERIA NORTE 2                                                                                           LAJAS               PR           00667
   261239 LAJAS SERVICE CENTER                        21 CALLE 65 DE INFANTERIA                                                                                               LAJAS               PR           00667
   695555 LAJENO PARTS                                APARTADO 551                                                                                                            LAJAS               PR           00667
   695556 LAKE ENGINEERING                            P O BOX 191684                                                                                                          SAN JUAN            PR           00919‐1684
   261240 LAKE FOREST HOSPITAL                        660 N WESTMORELAND RD                                                                                                   LAKE FOREST         IL           60045
          LAKE SHORE COMMUNITY
   261241 MENTAL HEALTH                               951 NIAGARA ST                                                                                                          BUFFALO             NY           14213
          LAKELAND REGIONAL MEDICAL
   261242 CENTER                                      PO BOX 403747                                                                                                           ATLANTA             GA           30384
          LAKES ENVIRONMENTAL                         450 PHILLP STREET SUITE 2
   695557 SOFTWARE                                    WATERLOO                                                                                                                ONTARIO             ON           N2L512        Canada
          LAKESHORE LEARNING
   695558 MATERIALS                                   2695 E DOMINQUEZ ST                                                                                                     CARSON              CA           90749
   261243 LAKESHORE MEDICAL CLINIC                    PO BOX 19072                                                                                                            GREEN BAY           WI           54307‐9072
          LAKESHORE MEDICAL CLINIC
   261244 SOUTH MILWAUKEE                             3611 S CHICAGO RD                                                                                                       SOUTH MILWAUKEE     WI           53172
          LAKESIDE BEHAVIORAL
   261245 HEALTHCARE INC                              1800 MERCY DR                   STE 302                                                                                 ORLANDO             FL           32808
   261246 LAKESIDE MEDICAL CENTER                     39200 HOOKER HWY                                                                                                        BELLE GLADE         FL           33430

   261247 LAKEVIEW CENTER INC                         MEDICAL RECORDS                 1221 W LAKEVIEW AVE BLDG D                                                              PENSACOLA           FL           32501

   261248 LAKEVIEW MEDICAL ASSOCIATES 125 ROUTE 46 EAST                                                                                                                       BUDD LAKE           NJ           07828

   261249 LAKEWOOD MEDIA GROUP, LLC                   5353 KNOX AVE S                                                                                                         MINNEAPOLIS         MN           55419
   695559 LAKEWOOD PUBLICATIONS                       50 SOUTH NINTH                                                                                                          MINNEAPOLIS         MN           55402
   695560 LAKISHA M COLLAZO TORRES                    RES PEDRO J ROSALY              BLOQUE 6 APTO 41                                                                        SAN JUAN            PR           00931
   261252 LALIN S INC                                 1617 AVE JESUS T PINERO                                                                                                 SAN JUAN            PR           00920
   261253 LALISSE GUILLEN MARTY                       REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   695561 LALITZA LOPEZ BURGOS                        URB VALLE ARRIBA HGTS           CO 9 CALLE 125                                                                          CAROLINA            PR           00984
   261257 LALLY LCSW, DINA                            REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   695562 LALO CASH & CARRY                           PUERTA DE TIERRA                315 SAN AGUSTIN                                                                         SAN JUAN            PR           00901
          LALOS AUTO AIR / ELADIO
   695563 GARCIA ORTIZ                                PO BOX 877                                                                                                              MAUNABO             PR           00707
                                                      315 SAN AGUSTIN PUERTA DE
   261262 LALO'S CASH & CARRY                         TIERRA                                                                                                                  SAN JUAN            PR           00901
   695564 LALO'S CASH AND CARRY                       PUERTA DE TIERRA                315 SAN AGUSTIN                                                                         SAN JUAN            PR           00914‐6676

   695565 LALY M RODRIGUEZ RODRIGUEZ HC 01 BOX 5664                                                                                                                           OROCOVIS            PR           00720
   261279 LAMAR ADVERTISING           CORONA COMERCIAL PARK                           54 CALLE PROGRESO PISO 3                                                                SAN JUAN            PR           00909‐2522
          LAMAR ADVERTISING OF PUERTO
   261281 RICO INC                    PO BOX 9021                                                                                                                             SAN JUAN            PR           00908‐9021
   261286 LAMARIS PORRAS CARDONA      REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   695566 LAMB STYLE CABINETS INC     VILLA CAROLINA                                  67 57 CALLE 55                                                                          CAROLINA            PR           00985
   695567 LAMBCAR INC                 URB VALLE REAL                                  1676 CALLE MARQUESA                                                                     PONCE               PR           00716‐0504
   695568 LAMBDA LASERS               PO BOX 29111                                                                                                                            SAN JUAN            PR           00929
                                      MONTEHIEDRA OFFICE CENTER
   261297 LAMBERS CPA REVIEW          9410 AVE. LOS                                   SUITE 202                                                                               SAN JUAN            PR           00926



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   261298 LAMBERT ROSADO JEANNETTE                    REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   695569 LAMBERTY'S ELECTRIC                         PO BOX 7826                                                                                                              PONCE               PR           00732
   261347 LAMBOY BRUNO INC                            9 CALLE SAN JUAN                                                                                                         MAYAGUEZ            PR           00680
   261356 LAMBOY CEDENO, ZULEIKA                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   261418 LAMBOY SANTIAGO, IVIS Y                     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LAMDA OPERATIONS
   695570 CORPORATION                                 1305 CAMPUS PARKWAY                                                                                                      NEPTUNE             NJ           07753
   695571 LAMECO                                      P O BOX 70344                                                                                                            SAN JUAN            PR           00936 0344

   261447 LAMEIRO AGUAYO MD, JUAN A                   REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   695572 LAMINADOS DE TODAS CLASES                   CARR 172 SALIDA HACIA CIDRA   H41 AVE PINO # C VILLA TURABO                                                              CAGUAS              PR           00725
   695573 LAMINE CATERING                             BOX 1088                                                                                                                 TOA ALTA            PR           00646
   261453 LAMINOFOTOS INC                             CAPARRA TERRACE               1227 AVE JESUS T PINERO                                                                    SAN JUAN            PR           00920
   695575 LAMKA CONSTRUCTION S E                      PO BOX 1417                                                                                                              GUAYNABO            PR           00970

   695576 LAMOURT TOSADO BENJAMIN                     BO. DOMINGUITO SEC. CUCHI I   HC 3 BOX 20421 SECT CUCHIL                                                                 ARECIBO             PR           00612
                                                                                    1002 AVE MUNOZ RIVERA SUITE
   261495 LAMP RECYCLING CO                           COND OLIMPO PLAZA             403                                                                                        SAN JUAN            PR           00927

                                                      COND. OLIMPO PLAZA SUITE 403,
   261496 LAMP RECYCLING CO.                          AVE. MUNOZ RIVERA 1002                                                                                                   SAN JUAN            PR           00927
                                                      1002 AVE MUNOZ RIVERA COND
   261497 LAMP RECYCLING COMPANY                      OLIMPO PLAZA                  SUITE 403                                                                                  SAN JUAN            PR           00927‐5001
   695577 LAMP TECHNOLOGY ING                         PO BOX 19475                                                                                                             SAN JUAN            PR           00910
          LAMPARAS VITRALES Y BRONCE
   695578 INC                                         1383 AVE PONCE DE LEON                                                                                                   SAN JUAN            PR           00936

   261510 LAMSIU MEDICAL SERVICES PSC                 VILLA FRANCA 2                35 CALLE ALFARO                                                                            HUMACAO             PR           00791
   261511 LAN CONSTRUCTION                            HC‐02 BOX 7728                                                                                                           CIALES              PR           00638

   261526 LANCASTER GENERAL HOSPITAL PO BOX 409822                                                                                                                             ATLANTA             GA           30384‐9822
          LANCASTER ORTHOPEDIC GROUP
   261527 INC                        231 GRANITE RUN DR STE 100                                                                                                                LANCASTER           PA           17601‐6816
          LANCASTER REGIONAL MEDICAL
   261528 CENTER                     250 COLLEGE AVE                                                                                                                           LANCASTER           CA           17603
   261530 LANCELOT, INC.             PO BOX 367435                                                                                                                             SAN JUAN            PR           00936‐7435
   695579 LANCER FURNITURE CO        210 AVE CHARDON                                                                                                                           SAN JUAN            PR           00918‐1492

   261532 LANCER INSURANCE COMPANY                    370 WEST PARK AVENUE                                                                                                     LONG BEACH          NY           11561
          LANCO GLOBAL SYSTEMS
   261541 CARIBBEAN, INC                              PO BOX 191771                                                                                                            SAN JUAN            PR           00919
   261543 LANCO MANUFACTURING                         5 URB APONTE                                                                                                             SAN LORENZO         PR           00754‐0000

   695580 LANCO MANUFACTURING CORP 5 URB APONTE                                                                                                                                SAN LORENZO         PR           00754
          LANCO MANUFACTURING
  1420155 CORPORATION              JOHNNY CORREA NOA                                PO BOX 270064                                                                              SAN JUAN            PR           00927
   261547 LAND COLORS INC          PO BOX 99                                                                                                                                   BAYAMON             PR           00960
                                                                                    650 AVE MUNOZ RIVERA 7TH
   261548 LAND DEVELOPMENT S E                        DORAL BUILDING                FLOOR                                                                                      SAN JUAN            PR           00918‐4149

   695582 LAND INFO INTERNATIONAL LTD SOUTH XANADU WAY                              SUITE 2280                                                                                 AURORA              CO           80014



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          LAND LEASE & DEVELOPMEMT
   695583 CORP                                        PO BOX 3865                                                                                                            GUAYNABO            PR           00970
          LAND PRODUCTS & SERV /
   695584 FRANCISCO VAZQUEZ                           PMB 910                       PO BOX 2500                                                                              TOA BAJA            PR           00951
   695585 LANDA DISTRIBUTORS                          PO BOX 30311 65TH INF                                                                                                  SAN JUAN            PR           00929
   695586 LANDA UMPIERRE & CO                         PO BOX 363642                                                                                                          SAN JUAN            PR           00936‐3642
   695587 LANDA UMPIERRE PSC                          P O BOX 363642                                                                                                         SAN JUAN            PR           00936‐3642
          LANDAN ARROYO, JIMMY                                                      PMB 914 # 138 AVE WINSTON
  1420156 ORLANDO Y OTROS                             YAZMET PÉREZ GIUSTI           CHURCHILL                                                                                SAN JUAN            PR           00926‐6013
   261556 LANDAU MD , LEON C                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   695588 LANDAUER                                    2 SCIENCE ROAD                                                                                                         GLENWOOD            IL           60425‐1586
   695589 LANDAUER INC                                2 SCIENCE ROAD                                                                                                         GLENWOOD            IL           60425‐1586
   831458 Landauer, Inc.                              P.O. Box 809051                                                                                                        Chicago             IL           60680
   261560 LANDES MD, SHERRY                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   695590 LANDESIGNS / JOSE M. PEREZ                  34 AVE SAN JOSE                                                                                                        UTUADO              PR           00641
   695591 LANDESIGNS INC                              BO SANTANA                    SECT CAMBALACHE CARR 2                                                                   ARECIBO             PR           00612

   261563 LANDESTOY ZAPATA MD, LUIS E                 REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   261565 LANDFILL TECHNOLIGIES LLC.                  P.O.BOX 13487                                                                                                          SAN JUAN            PR           00920‐0000
          LANDFILL TECHNOLIGIES OF
   261566 FAJARDO LLC                                 PO BOX 1322                                                                                                            GURABO              PR           00778
   695592 LANDFILL TECHNOLOGIES                       P O BOX 13487                                                                                                          SAN JUAN            PR           00908
          LANDFILL TECHNOLOGIES OF
   695593 ARECIBO                                     PO BOX 13487                                                                                                           SAN JUAN            PR           00908
          LANDFILL TECHNOLOGIES OF
   695594 CABO ROJO                                   PO BOX 13487                                                                                                           SAN JUAN            PR           00908
   695595 LANDO'S TIN SHOP                            HC 3 BOX 38914                                                                                                         CAGUAS              PR           00725

   261581 LANDRA SCELINE SANTANA                      BO PALMAS                     6 CALLE CEREZAL CUCHARILLAS                                                              CATANO              PR           00962
          LANDRAU DE VELEZ MD,
   261595 MORAIMA                                     REDACTED                      REDACTED                  REDACTED                                REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   695596 LANDRAU INDUSTRIES                          URB VILLA NEVAREZ             1061 CALLE 14                                                                            SAN JUAN            PR           00927
                                                                                    GODREAU & GONZALEZ PO BOX
  1420157 LANDRAU RIVERA, NOEMI                       AIMEE I. LOPEZ PABON          9024176                                                                                  SAN JUAN            PR           00902

   261584 LANDRON & VERA LLP                          100 CARRETERA 165 SUITE 611                                                                                            GUAYNABO            PR           00968
   695597 LANDS END CORPORATE SALE                    6 LANDS END LANE                                                                                                       DODGEVILLE          WI           53595

   261711 LANDS END CORPORATE SALES                   PO BOX 217                                                                                                             DODGEVILLE          WI           53533‐0217
          LANDSCAPE
   695598 ARCHIT.MAG.CIR.DEPT.                        AVE NW                        4401 CONNECTICUT AVE NW                                                                  WASHINGTON          DC           20008
          LANDSCAPE CONSTRACTOR
   695599 DESIGNER                                    RR 6 BOX 11225                                                                                                         SAN JUAN            PR           00926
   261713 LANDSCAPE SOLUTION INC                      PO BOX 482                                                                                                             DORADO              PR           00646
          LANDYMAR CUEVAS
   261714 CARRASQUILLO                                PO BOX 715                                                                                                             SAN LORENZO         PR           00754
                                                      213 AVE BALDORIOTY DE
   261716 LANES CAR TRUCK RENTAL                      CASTRO                                                                                                                 SAN JUAN            PR           00915
   695601 LANGE AUTO PARTS                            P.O.BOX 362012                                                                                                         SAN JUAN            PR           00936
   695602 LANGUAGE INNOVATIONS INC                    P M B 217                     2434 LOIZA STREET                                                                        SAN JUAN            PR           00913‐4745
   261726 LANI MONTALVO DEL TORO                      PO BOX 2                                                                                                               CABO ROJO           PR           00623
   261670 LANIER DE PR                                PO BOX 2110                                                                                                            CAROLINA            PR           00628‐2110
   261706 LANIER DE PR / RICOH                        PO BOX 2110                                                                                                            CAROLINA            PR           00628‐2110



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  261727 LANIER PUERTO RICO INC       PO BOX 71459                                                                                                                 SAN JUAN            PR           00936‐8559
  695603 LANIER WORLDWIDE INC         PO BOX 71459                                                                                                                 SAN JUAN            PR           00936‐8559
         LANSCANSTER GENERAL
  261729 HOSPITAL                     2100 HARRISBURG PIKE                 P O BOX 3200                                                                            LANSCANSTER         PA           17604
  261730 LANSDALE HOSPITAL            100 MEDICAL CAMPUS DRIVE                                                                                                     LANSDALE            PA           19446
         LANTIGUA VAZQUEZ, HIPOLITO Y
 1420158 OTROS                        IVAN MARRERO CANINO                  VILLA CAROLINA 18‐12 CALLE 20                                                           CAROLINA            PR           00985
  261747 LANTNER MD, HOWARD           REDACTED                             REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  695606 LANZA & SON INC              162 AVE WINSTON CHURCH                                                                                                       SAN JUAN            PR           00926
  261768 LANZO ALLENDE, WILMA E.      REDACTED                             REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
 1420159 LANZO MICHAEL, RAFAEL        VALENRY J. RIVERA SANTIAGO           PO BOX 5009                                                                             CAYEY               PR           00737
  261808 LANZO SANTIAGO MORALES       REDACTED                             REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  695607 LAO CALVENTE RIOS            283 CALLE GIRASOL                                                                                                            ISABELA             PR           00622
 1420160 LAO RODRIGUEZ, JOSE LUIS     FRANCISCO J. TORRES DÍAZ             PO BOX 874                                                                              CAGUAS              PR           00726‐0874
  261853 LAO SAM MD, FLORENCIO        REDACTED                             REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
         LAO THAI FLOWERS CORPORATE
  695608 & SOCIAL PLAN                EDIF MIDTOWN SUITE 104               420 AVE PONCE DE LEON                                                                   SAN JUAN            PR           00918
  261856 LAO VELEZ MD, CARLOS R       REDACTED                             REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  695609 LAP AUTO AIR                 PO BOX 903                                                                                                                   GUAYNABO            PR           00970
  261858 LAP CONSULTING GROUP INC     URB ISABELLA                         141 BLVD LOS PRADOS                                                                     CAGUAS              PR           00727
  261859 LAP CONSULTING GROUP, INC    URB. ISABELLA                        141 BLVD. LOS PRADOS                                                                    SAN JUAN            PR           00727
  695610 LAPEL PINS ONLINE            5703 RED BUG LAKE                    SUITE 152                   WINTER SPRINGS                                              FLORIDA             FL           32708

   695611 LAR MUFFLER / LA 25 MUFFLER                  97 25 DE JULIO                                                                                              YAUCO               PR           00698
   695613 LARA AB TOUR                                 PMB 496             BOX 4952                                                                                CAGUAS              PR           00726‐4952
   261911 LARA B TOURS                                 TURABO GARDENS      F3 CALLE 5                                                                              CAGUAS              PR           00725
   261924 LARA COTTO, ADA I                            REDACTED            REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   261926 LARA COTTO, DESIRE                           REDACTED            REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   695615 LARA CRUZ                                    URB EXT ROOSEVELT   344 CALLE HECTOR SALAMAN                                                                SAN JUAN            PR           00918
   695612 LARA K DUNN                                  1111 SHERMAN AVE                                                                                            HOOD RIVER          OR           97031
   261947 LARA LEE MENDEZ CRUZ                         REDACTED            REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   261950 LARA MARTINEZ                                REDACTED            REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   261953 LARA MERCADO MALDONADO                       REDACTED            REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   261956 LARA N SANTIAGO RAMIREZ                      REDACTED            REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   261968 LARA RODRIGUEZ PSYD, YAMIL J                 REDACTED            REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   262039 LARACUENTE ORTIZ, EVELYN                     REDACTED            REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LARACUENTE RIVERA MD, EDNA
   262051 E                                            REDACTED            REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LARACUENTE VALIENTE MD,
   262086 WALLACE                                      REDACTED            REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   262098 LARAINE ROMAN ROMERO                         REDACTED            REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   262099 LARAIXA SAEZ                                 REDACTED            REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LARAMMIE G MALDONADO
   262100 ROSADO                                       REDACTED            REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   262101 LARAMY LOPEZ CUEVAS                          REDACTED            REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   262103 LAREAJO INC                                  P O BOX 6655                                                                                                CAGUAS              PR           00726
   695617 LAREL CORDERO VARGAS                         URB VILLA SOL       72 CALLE SAN FERNANDO                                                                   MAYAGUEZ            PR           00680
          LARES AMATEUR RADIO
   695618 EMERGENCY SERVICE                            P O BOX 1363                                                                                                LARES               PR           00669
   695619 LARES BATERRY SERVICES                       P O BOX 1306                                                                                                LARES               PR           00669
   695620 LARES BATTERY SERVICE                        P O BOX 1306                                                                                                LARES               PR           00669



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  262104 LARES BRILLO CENTER                          HC 3 BOX 9537                                                                                               LARES               PR         00669
  695621 LARES CASH & CARRY                           PO BOX 798                                                                                                  LARES               PR         00669
  262106 LARES CHRISTIAN ACADEMY                      PO BOX 1125                                                                                                 LARES               PR         00669
  262107 LARES MEDICAL CENTER                         PO BOX 1427                                                                                                 LARES               PR         00669
  695622 LARES MEDICAL CENTER INC                     PO BOX 9024275                                                                                              SAN JUAN            PR         00902‐4275
  695623 LARES PROFECIONAL AUTO                       PO BOX 166                                                                                                  LARES               PR         00669‐0166
  695625 LARIANA SOTO PEREZ                           COND VIZCALLA EDIF 7 24                                                                                     CAROLINA            PR         00983
  262112 LARIBEL DEL VALLE ORTIZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   695627 LARIMAR LAUREANO HORNEDO                    PO BOX 101                                                                                                  BARCELONETA         PR         00617
   262113 LARIN HOYOS MD, FRANCES                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   695628 LARIS M RODRIGUEZ                           EXT JARDINES DE ARROY0    D 11 CALLE C                                                                      ARROYO              PR         00714
   695629 LARISA RACHELLE RIVERA                      HC 1 BOX 5967                                                                                               ARROYO              PR         00714
   695630 LARISA TORRES ORTIZ                         BO SINGAPUR               233 CALLE 8                                                                       JUANA DIAZ          PR         00795
   695631 LARISHA BALRAJ BUDHRANI                     PO BOX 11855                                                                                                SAN JUAN            PR         00910‐3855
   695633 LARISSA COSTA MARRERO                       PO BOX 50071                                                                                                SAN JUAN            PR         00902
   262116 LARISSA DIAZ ORTIZ                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   262117 LARISSA GARCIA CABRERA                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   262118 LARISSA J RANCIER OTERO                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   262119 LARISSA L CARDONA                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LARISSA MALDONADO
   262120 CARRASCO                                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   262121 LARISSA MOLINA DUCOS                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   262123 LARISSA TRIANA LOPEZ                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   695637 LARISSA V DELGADO BARREIRO                  HC 01 BOX 6853                                                                                              LAS PIEDRAS         PR         00771
   262127 LARISSA VISSEPO FIGUEROA                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   262128 LARITZA COLON TORRES                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   695638 LARITZA RIVERA MATOS                        P O BOX 901                                                                                                 CEIBA               PR         00735

   695640 LARITZA SANABRIA MAISONAVE P O BOX 4317                                                                                                                 AGUADILLA           PR         00605‐4317
   262129 LARIZA M RIVERA MARTINEZ   REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   261815 LARKIN COMMUNITY HOSPITAL                   7031 SW 62 AVE                                                                                              SOUTH MIAMI         FL         33143‐4701
   695641 LARKIN HOSPITAL                             7031 SW 62 ND AVE         SOUTH MIAMI                                                                       MIAMI               FL         33143
   262134 LAROPTIKAL INC                              HC 5 BOX 58950                                                                                              HATILLO             PR         00659
          LARRACUENTE GIERBOLINI, JOSE
   262143 A                                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LARRACUENTE ORTIZ, CARMEN
   262148 M                                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   262155 LARRAGOITY MURIENTE, LAURA REDACTED                   REDACTED                               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LARRAGVOTTY MURIENTE,                                 URB. LEVITTOWN AN‐3 CALLE
  1420161 LAURA                      LAURA LARRAGVOTTY MURIENTE LISA                                                                                              TOA BAJA            PR         00949

   262159 LARRAINE I MARQUEZ MARTINEZ REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   695642 LARRAINE LLERAS FIGUEROA    CAGUAX                                    L 31 CALLE JURACAN                                                                CAGUAS              PR         00725
   262163 LARRAURI RENTAS MD, JOSE J  REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

  1420162 LARREGUI MAISONET, HIPOLITO                 HECTOR SANTIAGO RIVERA    60‐E ESTEBAN PADILLA                                                              BAYAMON             PR         00619
   262216 LARRIEUX BENIQUEZ, LIZBETH                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   262218 LARRIEUX CRUZ MD, TOMAS                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   262238 LARRY A. MCKINNEY                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  695644 LARRY ALMODOVAR LUGO                         PO BOX 1192                                                                                                           SABANA GRANDE     PR           00637

   695645 LARRY BERNIER GONZALEZ                      REPTO UNIVERSITARIO        2366 CALLE ANTONIO EGIPCIANO                                                               PONCE             PR           00717‐0640
   262220 LARRY CALERO ROMAN                          REDACTED                   REDACTED                     REDACTED                               REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   261870 LARRY G LIRIANO ESPINAL                     REDACTED                   REDACTED                     REDACTED                               REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   695646 LARRY G WELLS                               19 COWPEN DRIVE                                                                                                       CEIBA             PR           00735
   261889 LARRY G. LIRIANO ESPINAL                    REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   261908 LARRY J BRASSARD RIVERA                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   261983 LARRY J RIVERA COTTY                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   695648 LARRY JOHNSON                               4506 W VIRGINIA AVE                                                                                                   BETHESDA          MD           20814
   695649 LARRY JONES                                 Q M2 COMUSNAAVSO           N335B FPO AA                                                                               CEIBA             PR           34099
   262239 LARRY K CAMACHO ESCOBAR                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   262240 LARRY K RAMOS MORALES                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   695650 LARRY MALDONADO FERRER                      28 B CALLE UNION                                                                                                      SALINAS           PR           00751
   262241 LARRY MARINI VAZQUEZ                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   262242 LARRY MELENDEZ TANON                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   262244 LARRY OCASIO RAMOS                          REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   695652 LARRY RHODES                                PO BOX 10328                                                                                                          EUGENE            OR           97440
   695653 LARRY RODRIGUEZ FORNARIS                    PO BOX 890                                                                                                            HUMACAO           PR           00792
   695654 LARRY RODRIGUEZ MARQUEZ                     AVE FERNANDEZ JUNCOS       BOX 1202                                                                                   SAN JUAN          PR           00907
   262245 LARRY S. AGUILAR ERICKSON                   REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   695655 LARRY W DAVILA GARCIA                       ALT DE SAN BENITO          63 CALLE ARCA DE ALIANZA                                                                   HUMACAO           PR           00791
   262246 LARRY WEISS                                 REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   695656 LARRY`S CATERING SERVICES                   PO BOX 51397                                                                                                          TOA BAJA          PR           00950
          LARRYS PAINT & CONTRACTOR
   695657 SERVICE INC                                 633 AVE ANDALUCIA                                                                                                     PUERTO NUEVO      PR           00920
   262247 LARSEN PRODUCTS INC                         PO BOX 5308                                                                                                           CAGUAS            PR           00723
   262254 LARUSCHKA SANTOS BAEZ                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   695659 LAS 40 BAKERY                               BOX 233                                                                                                               MOROVIS           PR           00687

   262258 LAS AGUILAS DE ANASCO CORP                  PO BOX 871                                                                                                            ANASCO            PR           00610
   695660 LAS AMERICAS AUTO PARTS                     HC 1 BOX 5473                                                                                                         TOA BAJA          PR           00949

   695661 LAS AMERICAS BAKERY                         PMB 341                    609 AVE TITO CASTRO SUITE 102                                                              PONCE             PR           00716‐0211
   695663 LAS AMERICAS BODY SHOP                      BDA MARIN                  121 A CALLE 3                                                                              GUAYAMA           PR           00784

   695664 LAS AMERICAS CAR CENTER INC. P O BOX 7262                              BY PASS AVE HOSTOS                                                                         PONCE             PR           00731

   695665 LAS AMERICAS HOSPITAL SUPPLY PO BOX 9072                                                                                                                          PONCE             PR           00732
          LAS AMERICAS PETROLEUM
   695658 SERVICE                      PO BOX 38027                                                                                                                         SAN JUAN          PR           00937‐0027

   262259 LAS AMERICAS TELE COMM.INC. PO BOX 762                                                                                                                            SAINT JUST        PR           00978
                                      PMB 462‐200 AVE RAFAEL
   262260 LAS AMERICAS VOLLEYBALL INC CORDERO                                    SUITE 140                                                                                  CAGUAS            PR           00725
   695667 LAS ARENAS AUTO PARTS       P O BOX 393                                                                                                                           BAYAMON           PR           00622

   262261 LAS BRAVAS DE SAN JUAN CORP                 VILLAS DE HABITAD           AVE EDUARDO CONDE APT 205                                                                 SAN JUAN          PR           00915
   695668 LAS BRISAS                                  COTTO STA                   P O BOX 9297                                                                              ARECIBO           PR           00613
   695669 LAS BRISAS GULF                             PO BOX 619                                                                                                            HATILLO           PR           00659
          LAS BRISAS PROPERTY                         EDF COLGATE PALMOLIVE SUITE
   262262 MANAGEMENT INC                              300 LOTE 8                  METRO OFFICE PARK                                                                         GUAYNABO          PR           00968‐5702




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   695670 LAS CAPITALINAS DE SAN JUAN                 URB LACUMBRE            448 LOS ROBLES                                                                SAN JUAN            PR           00926
          LAS CAROLINAS CONSTRUTIONS
   695671 CORP                                        PO BOX 71385                                                                                          SAN JUAN            PR           00936‐8485
   695672 LAS CASITAS DEVELOPMENT II                  PO BOX 363529                                                                                         SAN JUAN            PR           00936
          LAS CHARLOTTES HORNES
   695673 \PLAYA PUERTO REAL                          PLAYA PUERTO REAL       BOX 55                                                                        PUERTO REAL         PR           00740

   695674 LAS CROABAS SERVICES STATION PO BOX 370                                                           FAJARDO, P.R                                    FAJARDO             PR           00738
   695675 LAS CUEVAS DE CAMUY          HC 2 BOX 7220                                                                                                        CAMUY               PR           00627‐9111
   695676 LAS CUMBRES GULF             VILLA PALMERA                          2151 AVE PUERTO RICO                                                          SAN JUAN            PR           00915
          LAS DELICIAS ESSO SERVICE
   262263 STATION                      URB LAS DELICIAS                       417 CALLE JUAN DAVILA                                                         PONCE               PR           00728
   262264 LAS DELICIAS SWIN CLUB       URB LAS DELICIAS                       606 CALLE JUAN RONDON                                                         PONCE               PR           00728
   695677 LAS DELICIAS TIRE CENTER     98 CALLE COMERIO                                                                                                     YAUCO               PR           00698
          LAS DIVAS VOLLEYBOLL
   262265 SUPERIOR INC                 PO BOX 698                                                                                                           MOCA                PR           00676
   695678 LAS FLORES BABY CENTER       COND MONTE REAL                        RR 2 BOX 147                                                                  SAN JUAN            PR           00926
   695679 LAS FLORES ICE PLANT         SECTOR LAS FLORES 55                                                                                                 RIO GRANDE          PR           00745
   695680 LAS FLORES METALARTE INC     P O BOX 1904                                                                                                         COAMO               PR           00769‐1904
   695681 LAS GANGAS                   29 CALLE CRISTOBAL COLON                                                                                             YABUCOA             PR           00767
                                       938 CALLE SEVERIANO FUENTES
   695682 LAS GANGAS DE CEIBA          FRIA                                   BOX 339                                                                       CEIBA               PR           00735
          LAS GUASIMAS DEVELOPMENT
   695683 CORP                         PMB 105                                HC 1 BOX 29030                                                                CAGUAS              PR           00725
   695684 LAS HANCIEDAS‐SE             PO BOX‐9023368                                                                                                       SAN JUAN            PR           00902
   695685 LAS JUSTA SPORT              LAS VEGA                               49 CALLE PRINCIPAL                                                            VILLALBA            PR           00766
          LAS LEONAS DE PONCE LITTLE
   262266 LEAGUE INC                   PERLA DEL SUR                          4009 CALLE CARLOS CARTAGENA                                                   PONCE               PR           00717

   695686 LAS LOMAS CONSTRUCTION S E                  PO BOX 346                                                                                            SAN GERMAN          PR           00683

  1420163 LAS LOMAS CONSTRUCTION SE                   JANE BECKER WHITAKER    PO BOX 9023914                                                                SAN JUAN            PR           00902‐3914

   695687 LAS LOMAS T.SHIRTS & PRINTS                 APARTADO 234            PO BOX 5000                                                                   SAN GERMAN          PR           00683

   695688 LAS MAREAS SERVICE STATION                  PO BOX 371121                                                                                         CAYEY               PR           00737
   695689 LAS MARIA REFERENCE LAB                     881 AVE MU¨OZ RIVERA                                                                                  SAN JUAN            PR           00925
   695691 LAS MARIAS FARM                             P O BOX 120                                                                                           MOCA                PR           00676
   695692 LAS MARTAS INC                              HC 03 BOX 18935                                                                                       ARECIBO             PR           00612
          LAS NENAS FERRA D/B/A/
   695693 ANTONINOS PIZZA                             HC 01 BOX 4542                                                                                        VILLALBA            PR           00766
   695694 LAS NOVEDADES DICOUNT                       15 CALLE DR VEVE                                                                                      COAMO               PR           00769
          LAS NUBES DAIRY INC/GREEN
   262271 ENERGY AND                                  FUELS INC               HC 4 BOX 17705                                                                CAMUY               PR           00627
          LAS NUEVAS INDIAS DE
   262272 MAYAGUEZ INC                                PO BOX 37                                                                                             MAYAGUEZ            PR           00681
   695695 LAS OLLAS GAS SERVICES                      PO BOX 240                                                                                            SANTA ISABEL        PR           00757

   262273 LAS PAGINAS AMARILLAS COM                   PO BOX 1111                                                                                           EASTON,             MA           02324‐1111
   695697 LAS PALMAS BBQ                              BO PALMAS               CARR 869                                                                      CATA¨O              PR           00962
   695698 LAS PALMAS CATERING                         LAS PALMAS              ED 3 APTO 23                                                                  CATA¨O              PR           00962
   695699 LAS PALMAS GAS STA SHELL                    P.O. BOX 2209                                                                                         BAYAMON             PR           00960



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                                                      120 BLUEGRASS VALLEY
   262274 LAS PALMAS MEDICAL CENTER                   PARKWAY                                                                                                              ALPHARETTA          GA           30005
   262275 LAS PAULINAS                                164 CALLE ARZUAGA              RIO PIEDRAS                                                                           SAN JUAN            PR           00925‐3322
          LAS PIEDRAS CONSTRUCTION
   695700 CORP                                        PO BOX 2025                                                                                                          LAS PIEDRAS         PR           00771
          LAS PIEDRAS CONSTRUCTION
  1420164 CORP                                        ROBERTO CORRETJER PIQUER       625 AVE. PONCE DE LEON                                                                SAN JUAN            PR           00917‐4819
   695701 LAS PIEDRAS GAS INC                         PO BOX 1077                                                                                                          GURABO              PR           00778
   695702 LAS PIEDRAS MEDICAL                         BO COLLORES SECT SABANA        18 VICENTE DE LEON                                                                    LAS PIEDRAS         PR           00771
   695703 LAS PIEDRAS MUFFLER SHOP                    PO BOX 471                                                                                                           LAS PIEDRAS         PR           00771
   695704 LAS PIEDRAS READY MIX                       P O BOX 1596                                                                                                         LAS PIEDRAS         PR           00771
   695705 LAS PIEDRAS SAND                            P O BOX 183                                                                                                          LAS PIEDRAS         PR           00771
   695706 LAS PINAS BAKERY                            HC 2 BOX 16630                                           GURABO                                                      GURABO              PR           00778
   262277 LAS PIRANAS INC                             BO ALMIRANTE SUR               CARR 646 KM 0 3                                                                       VEGA BAJA           PR           00693
   262278 LAS SENCILLAS INC                           URB JARD DE GUANANI            H 12 CALLE 5                                                                          GUAYAMA             PR           00784
   695707 LAS TORTUGAS INC                            COND LA PUNTILLA               D 1 APT 12                                                                            SAN JUAN            PR           00901
          LAS VALEROSAS DREAM TEAM
   262279 INC                                         HC 03 BOX 12812                                                                                                      CAMUY               PR           00627‐9724
   695708 LAS VEGAS AUTO PARTS                        P.O. BOX 5146                                                                                                        AGUADILLA           PR           00605
   695709 LAS VEGAS CENTRO                            HC 3 BOX 33254                                                                                                       AGUADA              PR           00602
   695710 LAS VEGAS SHELL                             AVE FLOR DEL VALLE #100        URB LAS VEGAS                                                                         CATANO              PR           00962
          LASALLE BANK & BARBARA A
   695711 SCHMALEZ                                    135 SOUTH LASALLE STREET                                                                                             CHICAGO             IL           60603‐4177
          LASALLE CONCEPCIÓN, JUAN C
          (16546); LIZETTE DE LA CRUZ
          LÓPEZ Y SLG; GINA ANN VLQZ
          WEBB, X SÍ Y EN REP. HIJOS                  LDCA. ZORAIDA SAMO             PO BOX 51952 LEVITOWN
  1420165 MENS.                                       MALDONADO                      STATION                                                                               TOA BAJA            PR           00950‐1952
  1420166 LASALLE PITRE, LUIS                         NO TIENE/ DERECHO PROPIO       173 HARMON ST APT 2‐C                                                                 BROOKLYN            NY           11221
          LASALLE PROFESSIONAL
   695712 SERVICES INC                                URB SAN FERNANDO               2 CALLE 1                                                                             TOA ALTA            PR           00953
   262341 LASALLE RUIZ MD, CONFESOR                   REDACTED                       REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   695713 LASALLE SERVICE STATION                     PO BOX 170                                                                                                           QUEBRADILLA         PR           00678
   695714 LASAMI CONSTRUCTION                         PO BOX 519                                                                                                           CIALES              PR           00638

   262381 LASANTA MORALES MD, DORIS                   REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                     MARAMAR PLAZA 101 AVE. SAN
  1420167 LASANTA MORALES, OSVALDO                    PEDRO J. SANTANA GONZÁLEZ      PATRICIO SUITE 1120                                                                   GUAYNABO            PR           00968
   262426 LASER COMMUNICATION INC                     1848 CHARTER LAVE              SUITE 7                                                                               LAVCASTER           PA           17605‐0066
   262427 LASER COPY                                  PO BOX 193571                                                                                                        SAN JUAN            PR           00919‐3571
   695715 LASER COPY PRODUCTS                         PO BOX 193571                                                                                                        SAN JUAN            PR           00919
   695716 LASER DJ                                    URB MADELINE                   L 6 CALLE AMBAR                                                                       TOA ALTA            PR           00953
          LASER IMAGING
   262428 MANUFACTURING INC                           PO BOX 20000 PMB 200                                                                                                 CANOVANAS           PR           00729
   695718 LASER LABS                                  454 FIRST PARISH ROAD                                                                                                SCITUATE            MA           02066‐3000

   262429 LASER PRODUCTS INC                          PO BOX 1723 ROAD 185 KM 19.0                                                                                         JUNCOS              PR           00777
          LASER PROLIGHTS SOUNDS & DJ
   695719 S                                           URB EL CORTIJO                 M1 CALLE 16                                                                           BAYAMON             PR           00956
   831459 Laser Technology Inc.                       6912 South Quentin Street                                                                                            Centennial          CO           80112
   695720 LASER TECNOLOGY                             7070 S TUCSON WAY                                                                                                    CENTENNIAL          CO           80112
   695721 LASER TONE INTERNATIONAL                    OCEAN PARK                     2151 CALLE CACIQUE                                                                    SAN JUAN            PR           00913
   262430 LASER WARE                                  P.O. BOX 11534                                                                                                       SAN JUAN            PR           00922



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  695726 LASER‐COPY‐PROMOTEC                          PO BOX 193571                                                                                                             SAN JUAN            PR         00919
  262499 LASSMAN MD , MARSHALL N                      REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  262514 LAST COLONY CORP                             PO BOX 13353                                                                                                              SAN JUAN            PR         00908
  695727 LAST JUMP AUTO REPAIR                        URB VALENCIA                    565 CALLE PEREIRA LEAL                                                                    SAN JUAN            PR         00923
  262515 LASTRA ARACIL MD, JUAN                       REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   262527 LASTRA HERNANDEZ MD, RAFAEL REDACTED                                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   262528 LASTRA INSERNI MD, JORGE J  REDACTED                                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   695728 LASTRA SHELL SERVICE CENTER                 PO BOX 3231                                                                                                               CAROLINA            PR         00984
   262543 LAT DISENO GRAFICO                          1123 SEAVIEW ST APT 4C                                                                                                    SAN JUAN            PR         00907
          LATCO / ROOFING AND
   262554 ELECTRICAL SERVICES                         PMB 139 P. O. BOX 1345                                                                                                    TOA ALTA            PR         00954‐0000
          LATCO ROOFING & ELECTRICAL
   262555 SERVICES CORP                               PMB 139 P O BOX 1345                                                                                                      TOA ALTA            PR         00954
          Latco Roofing & Electrical
   831460 Services Corp.                              PMP 139 P.O. Box 1345                                                                                                     Toa Alta            PR         00954
   262556 LATHAM CENTERS, INC                         14 LOTS HOLLOW ROAD                                                                                                       ORLEANS             MA         02653
   262558 LATIF MD, MOHAMMAD                          REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   262559 LATIGOS CAFE INC                            URB VILLA MARINA                C 88 CARR 189 LOCAL C                                                                     GURABO              PR         00778
          LATIMER ARZUAGA MD, CARLOS
   262565 A                                           REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LATIN ACADEMY OF RECORDING
   695729 ARTS & SCIEN                                311 LINCOLN ROAD SUITE 301                                                                                                MIAMI BEACH         FL         33139
          LATIN AMERICAN BOOK SOURCE
   695730 INC                                         289 3ER AVENUE                                                                                                            CHULA               CA         91910
   695731 LATIN AMERICAN CAFE                         1357 ASHFORD AVE                SUITE 162                                                                                 SAN JUAN            PR         00907
          LATIN AMERICAN CAFE
   695732 RESTAURANT                                  521 AVE FERNANDEZ JUNCOS                                                                                                  SAN JUAN            PR         00901
          LATIN AMERICAN
   262584 CONSTRUCTION INC                            1785 CALLE FERRER Y FERRER      COND MILLENIA PARK I APT 305                                                              SAN JUAN            PR         00921
          LATIN AMERICAN FINANCIAL
   262586 CORP                                        PO BOX 10998                                                                                                              SAN JUAN            PR         00922

   695733 LATIN AMERICAN MUSIC CO INC PO BOX 366714                                                                                                                             SAN JUAN            PR         00936‐6714
   262587 LATIN AMERICAN SUBS LLC     PO BOX 366999                                                                                                                             SAN JUAN            PR         00936‐6999

   695734 LATIN AMERICAN TRADING CO                   PMB 139                         PO BOX 1345                                                                               TOA ALTA            PR         00954‐9905
          LATIN AMERICAN TRADING CO.
   262588 OF PR (LATCO)                               P.O. BOX 6386 SANTA ROSA UNIT                                                                                             BAYAMON             PR         00960‐0000
                                                      2121 PONCE DE LEON BLVD STE
   695737 LATIN FINANCE                               1020                                                                                                                      CORAL GABLES        FL         33134
          LATIN KNOWLEDGE CONSULTING
   262589 C A                        COLINA DE LOS RUICES                             C/ COROZO C C LOS RUISENORES                                                              CARACAS                        1070         VENEZUELA
          LATIN KNOWLEDGE CONSULTING
   262591 GROUP LLC                  13242 SW 144 TERR                                                                                                                          MIAMI               FL         33186
          LATIN KNOWLEDGE CONSULTING
   695738 PA                         13242 SW 144 TERRACE                                                                                                                       MIAMI               FL         33186
   262592 LATIN MEDIA HOUSE          PO BOX 12130                                                                                                                               SAN JUAN            PR         00914‐0130
   262593 LATIN MEDIA HOUSE LLC      PO BOX 12130                                                                                                                               SAN JUAN            PR         00914‐0130
                                     AMERICAN INTERNATIONAL                           250 AVE MUNOZ RIVERA SUITE
   262594 LATIN MODELS OF THE WORLD PLAZA                                             1400                                                                                      SAN JUAN            PR         00918
   695739 LATIN TRADE                PO BOX 15398                                                                                                                               N HOLLYWOOD         CA         91615



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  695740 LATIN TRAVEL & TOUR                           PO BOX 29197                                                                                                         SAN JUAN          PR           00929‐0197
  262595 LATIN UNO INC                                 604 AVENIDA ESCORIAL                                                                                                 GUAYNABO          PR           00920
  695741 LATINO AUTO CORP                              PO BOX 937                                                                                                           DORADO            PR           00646
  695742 LATINO BI CORP                                P O BOX 193309                                                                                                       SAN JUAN          PR           00919‐3309
         LATINO EMPLOYMENT &
  695743 TRAINING DIRECTORY                            8707 D LINDLEY AVE SUITE III                                                                                         NORTHRIDGE        CA           91325
         LATINOS INTL FILM FESTIVA /
  695744 OLMOS PROD                                    2505 WEST SIXTH ST PENTHOUSE                                                                                         LOS ANGELES       CA           90057
                                                       101 DITMARS STREET CITY
   695746 LATITUD 18 ART STUDIO LTD                    ISLAND                                                                                                               BRONX             NY           10464‐1309

   262597 LATITUDE FIGHT FITNESS CENTER COND MONTECILLO 1                             1 VIA PRINCIPAL APT 1606                                                              TRUJILLO ALTO     PR           00976‐6618
   262598 LATITUDE FILM                 2203 GENERAL PATTON                                                                                                                 SAN JUAN          PR           00913

   262604 LATONI CABANILLAS MD, DAVID                  REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          LATONI MALDONADO MD,
   262609 JORGE                                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   695747 LATORRE MACHINE SHOP                         BO RINCON                      CARR 171 KM 3 6 BOX 1653                                                              CIDRA             PR           00739
   695748 LATORRE MACHINES SHOP                        PO BOX 1653                                                                                                          CIDRA             PR           00739
   262671 LATORRE RODRIGUEZ, ELSA                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
                                                       CALLE MANUEL TEXIDOR 1438
  1420168 LATORRE RODRIGUEZ, JOSE A.                   SANTIAGO IGLESIAS                                                                                                    SAN JUAN          PR           00921
   695749 LATSI I MENDEZ GONZALEZ                      URB COUNTRY CLUB SECC 4        QO 11 CALLE 535                                                                       CAROLINA          PR           00982
                                                       27 CALLE NELSON AEREA OFIC
   695750 LATUNI PLASTICO RECONST                      105                                                                                                                  MAYAGUEZ          PR           00681
   262709 LAU WAI T                                    REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   695753 LAUDA LIZ COLON APONTE                       COND RIVER PARK                APT T 304                                                                             BAYAMON           PR           00961
   695755 LAUDELINA TOLENTINO                          HC 02 BOX 4131                                                                                                       HUMACAO           PR           00791
   262713 LAUDELINA VILLAFANE BAEZ                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   262716 LAUDELINO VARGAS ROSAS                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          LAUDELINO VELAZQUEZ
   695758 VELAZQUEZ                                    P O BOX 548                                                                                                          LAS PIEDRAS       PR           00771‐0548
   695759 LAUDELIZ CRUZ BERGOLLO                       MUNOZ RIVERA                   CALLE SONATA 34                                                                       GUAYNABO          PR           00969
   262717 LAUDELYS ROSADO REYES                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   695760 LAUDER ENTERPRISES                           21115 WHISPER HOLLOW                                                                                                 SAN ANTONIO       TX           78230‐3609
   262718 LAUDEVIS MARRERO RIVERA                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   262722 LAUNDRY ANDALUCIA                            530 AVE AMDALUCIA                                                                                                    PUERTO NUEVO      PR           00920

   695761 LAUNDRY CELIA                                247 AVE ELEONOR ROOSEVELT                                                                                            SAN JUAN          PR           00918
   695762 LAUNDRY D AZUL                               SIERRA BAYAMON                 A15‐32 AVE NORTH MAIN                                                                 BAYAMON           PR           00961
   695763 LAUNDRY NARVAEZ DORADO                       353 CALLE MENDEZ VIGO                                                                                                DORADO            PR           00646
          LAUNDRY SAN JOSE DBA PEDRO
   695764 RIVERA                                       EMBALSE SAN JOSE               368 CALLE BLANES                                                                      SAN JUAN          PR           00923
   262723 LAURA A ASSAM ANDRADE                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   695766 LAURA A CICCIARELLI                          PO BOX 20002 ‐311                                                                                                    CEIBA             PR           00735‐2002
   695767 LAURA A CRUZ TORRES                          PO BOX 20370                                                                                                         SAN JUAN          PR           00928
   695768 LAURA A DAHDAH RAMIREZ                       P O BOX 1183                                                                                                         MAYAGUEZ          PR           00681‐1183
   695769 LAURA A GARCIA AVILES                        ALT DE VEGA BAJA               D 10 CALLE E                                                                          VEGA BAJA         PR           00693
   262724 LAURA A PAGAN SANTANA                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   695770 LAURA A RIVERA RIVERA                        PO BOX 0155                                                                                                          LAJAS             PR           00667 0155

   262725 LAURA A SALAMANCA TORRES                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   695771 LAURA A VELEZ CARDONA                        EL MIRADOR                     N 6 CALLE 9                                                                           SAN JUAN          PR           00926



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  695772 LAURA ADORNO HERNANDEZ                       HC 645 BOX 4701                                                                                               TRUJILLO ALTO      PR           00976
  695774 LAURA AGOSTO ZAYAS                           REPTO METRO                 1014 CALLE 21 SE                                                                  SAN JUAN           PR           00921
  695775 LAURA ALAMEDA                                BOX 559                                                                                                       MARICAO            PR           00606
  695777 LAURA ALAMEDA GONZALEZ                       BAMADA COLCHADO              29 CALLE A6IHI                                                                   ISABELA            PR           00662

          LAURA ALBIZU CAMPOS/INSTU
   695779 PEDRO ALBIZU                                148 CALLE MAYAGUEZ APTO 302                                                                                   SAN JUAN           PR           00917
   695780 LAURA ALEJANDRO VAZQUEZ                     HC 3 BOX 71163                                                                                                BARRANQUITAS       PR           00794
   695781 LAURA ALVERIO MELENDEZ                      HC 1 BOX 3310                                                                                                 MAUNABO            PR           00707‐9721
   262726 LAURA APONTE MEDERO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   695782 LAURA APONTE SANTIAGO                       PO BOX 1856                                                                                                   COAMO              PR           00769
   695783 LAURA ARROYO                                PO BOX 99                                                                                                     COMERIO            PR           00782
   262727 LAURA ARROYO LUGO                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   262728 LAURA AVILES BIRRIEL                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   262729 LAURA AVILES‐CARRO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   695784 LAURA AYALA ARROYO                          RIO GRANDE ESTATES          M 15 CALLE 15                                                                     RIO GRANDE         PR           00745
   262730 LAURA B MELENDEZ ROSA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   695785 LAURA B RIVERA RIVERA                       SECC 12 SANTA JUANITA       FO 24 CALLE POLARIS                                                               BAYAMON            PR           00956
   695786 LAURA B SAMPOLL MARTINEZ                    URB TOMAS C MADURO          62 CALLE 2                                                                        JUANA DIAZ         PR           00795
   262731 LAURA B VAZQUEZ ROBLES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   695787 LAURA BALDRICH GONZALEZ                     PO BOX 366277                                                                                                 SAN JUAN           PR           00936
   695789 LAURA BENIQUEZ                              PO BOX 50063                                                                                                  SAN JUAN           PR           00902
   262732 LAURA BERNACETT NEGRON                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   262733 LAURA BETANCOURT RUIZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   695791 LAURA C AMEZQUITA                           SUCHVILLE PARK J 103                                                                                          GUAYNABO           PR           00731
   262735 LAURA C COLON BELTRAN                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   695790 LAURA C JIMENEZ MALDONADO                   URB SIERRA BAYAMON           13‐2 CALLE 13                                                                    BAYAMON            PR           00961
   262736 LAURA C. FIGUEROA DIAZ                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   695792 LAURA CABIYA PAGAN                          REPARTO FLAMINGO             F 49 CALLE CENTRAL                                                               BAYAMON            PR           00959
   262737 LAURA CAICEDO QUIROGA                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   262738 LAURA CANDELARIO VELAZQUEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   695794 LAURA CARRO DE BOU         EL REMANSO                                   A10 CALLE ARROYO                                                                  SAN JUAN           PR           00926
   262739 LAURA CARTER               REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   695796 LAURA CEPEDA RIVERA        RES LUIS LLOREN TORRES                       EDF 19 APT 378                                                                    SAN JUAN           PR           00913

   695797 LAURA COLON MARTINEZ                        COOP CIUDAD UNIVERSITARIA   411 A AVE PERIFERIAL                                                              TRUJILLO ALTO      PR           00976‐2100
   262741 LAURA COLON PENA                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   262742 LAURA CONTY NIEVES                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   695799 LAURA CORAL ROBLES COLON                    7819 LAS LOMAS              CALLE 39                                                                          SAN JUAN           PR           00921
   262743 LAURA CORDOVA MORALES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   262744 LAURA CORREA Y MARIA POL                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   695800 LAURA CORTES MORAN                          HC 4 BOX 44942                                                                                                CAGUAS             PR           00725
   695801 LAURA COSME CASTRO                          BAYAMON GARDENS             018 CALLE 12                                                                      BAYAMON            PR           00957
   262745 LAURA COSME SANCHEZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   262746 LAURA CRESPO MULERO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   695803 LAURA CRESPO VILLALOBOS                     PO BOX 754                                                                                                    MANATI             PR           00674
   262747 LAURA D LOPEZ ORTIZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
          LAURA D MEDINILLA
   262748 MALDONADO                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   262749 LAURA D ORTIZ                               REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED



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  262750 LAURA D ORTIZ FERRER                         REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  695805 LAURA DAEN                                   28 CALLE SOL                                                                                               SAN JUAN             PR         00901
  262751 LAURA DE BIEN DIAZ                           REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  262752 LAURA DE JESUS CORREA                        REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   262753 LAURA DEL C VAZQUEZ FRANCO                  REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          LAURA DEL MAR GONZALEZ
   262754 PEREZ                                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   695807 LAURA DIAZ CORTES                           PO BOX 140252                                                                                              ARECIBO              PR         00614‐0252
   262755 LAURA DIAZ SOLA                             REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   695810 LAURA E ADAMES VELEZ                        PO BOX 475                                                                                                 FLORIDA              PR         00650
   695811 LAURA E AGUIRRE COLON                       URB JARDINES DE MAMEY   C 24 CALLE 3                                                                       PATILLAS             PR         00723
   262756 LAURA E AYALA MARRERO                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   695812 LAURA E BERDECIA VAZQUEZ                    PO BOX 21057                                                                                               SAN JUAN             PR         00928‐1057
   262758 LAURA E CARDONA CORTES                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   695814 LAURA E COLE ARCE                           PMB 352                 PO BOX 5075                                                                        SAN GERMAN           PR         00683
   695815 LAURA E COLON CALDERON                      URB VANSCOY             U21 CALLE 1 ESTE                                                                   BAYAMON              PR         00957
   262759 LAURA E COLON DIAZ                          REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262762 LAURA E COSTA RODRIGUEZ                     REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   695816 LAURA E CRUZ AQUINO                         URB VILLAS DE LOIZA     LL 37 CALLE 39                                                                     CANOVANAS            PR         00729
   262765 LAURA E ELTON                               REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262766 LAURA E FREIRE RODRIGUEZ                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   695818 LAURA E FRET MARTINEZ                       COM DOLORES             122 CALLE COLOMBIA                                                                 RIO GRANDE           PR         00745
   262767 LAURA E FUXENCH                             REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   695819 LAURA E GENARO MACEIRA                      PO BOX 1934                                                                                                SAN JUAN             PR         00936‐1934
   695820 LAURA E GONZALEZ JAMISON                    P O BOX 1283                                                                                               SAN LORENZO          PR         00754

   695821 LAURA E GONZALEZ RODRIGUEZ FINCA MARTINEZ                           46 CALLE BETANCES                                                                  CAYEY                PR         00736
   695822 LAURA E GONZALEZ VAZQUEZ   BOX 4901                                                                                                                    SALINAS              PR         00751

   695824 LAURA E HERNANDEZ DE COSTA URB FAIRVIEW 1931                        CALLE 46                                                                           SAN JUAN             PR         00926
   262768 LAURA E JIMENEZ NAZARIO    REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   695825 LAURA E MALDONADO CASILLAS                  PMB PO BOX 607077                                                                                          BAYAMON              PR         00960
   695826 LAURA E MARRERO ROSADO                      54 CALLE UNION                                                                                             VEGA ALTA            PR         00692
   262769 LAURA E MARTINEZ PEREZ                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   695827 LAURA E MATIAS NIEVES                       URB CAGUAS NORTE        S16 CALLE MONTREAL                                                                 CAGUAS               PR         00725
   262770 LAURA E MISNER AGUADO                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262771 LAURA E MONTALVO SOSA                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262772 LAURA E NIEVES FLORES                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   262773 LAURA E OSORIO MALDONADO                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262774 LAURA E OYOLA RIOS                          REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262775 LAURA E PAGAN RAMIREZ                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   695828 LAURA E PEREZ VALLE                         BO GALOTEO ALTO         2204 CALLE GOLONGRINA                                                              ISABELA              PR         00662
   695829 LAURA E QUINTERO CARRION                    BO DAGUAO               BZN 538                                                                            NAGUABO              PR         00718
   262776 LAURA E RAIMUNDI MORALES                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   695831 LAURA E RAMOS RODRIGUEZ                     PO BOX 726                                                                                                 JUANA DIAZ           PR         00795
   695832 LAURA E RIVERA CAMACHO                      URB VILLA MARINA        C 69 CALLE BAHIA SUR                                                               GURABO               PR         00778
   695833 LAURA E RIVERA MARTINEZ                     P O BOX 772                                                                                                ROSARIO              PR         00636‐0772
   262777 LAURA E RIVERA RAMIREZ                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   695834 LAURA E RODRIGUEZ ALMEYDA                   149 CALLE C BARBOSA                                                                                        MOCA                 PR         00676



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   262779 LAURA E RODRIGUEZ MONTANEZ REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   262780 LAURA E RODRIGUEZ RIVERA   REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   695835 LAURA E ROSARIO BRUNO      BDA SANTIN                                   CALLE PISCIS BOX 19                                                                VEGA BAJA            PR         00693
   262781 LAURA E SALAS ALERS        REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   262782 LAURA E SANTIAGO CASIANO   REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   262783 LAURA E SANTIAGO GALARZA   REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   262784 LAURA E TORRES ADORNO      REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
          LAURA E VALENTIN / JOSE A
   695839 SANTONI                    1RA SECCION COUNTRY CLUB                     827 URANETA                                                                        SAN JUAN             PR         00924
   262785 LAURA E. COTTO ALICEA      REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   262786 LAURA E. CRUZ AQUINO       REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   262787 LAURA E. FELIX ALGARIN     REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   262788 LAURA E. FUXENCH           REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   262789 LAURA E. RIVERA RIVERA     REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   262790 LAURA E. RIVERA RODRIGUEZ  REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   262791 LAURA E. RODRIGUEZ RIVERA  REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   695843 LAURA EMMANUELLI SANTIAGO VILLA CAROLINA                                196‐41 CALLE 529                                                                   CAROLINA             PR         00985
   695844 LAURA ESTHER GOMEZ VEGA     PO BOX 7529                                                                                                                    PONCE                PR         00732
   262792 LAURA F ALTIERI             REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   695846 LAURA FELICIANO             109 POMAROSA ALTO                                                                                                              SAN JUAN             PR         00911
   695847 LAURA FERNANDEZ LAZARO      HATO REY PLAZA APT 3 E                                                                                                         SAN JUAN             PR         00918
   695848 LAURA FERNANDEZ TRINIDAD    BO FRANTON                                  HC 02 BOX 8003                                                                     CIALES               PR         00638
   695849 LAURA FIGUEROA CAMACHO      P O BOX 560299                                                                                                                 GUAYANILLA           PR         00656
          LAURA FIGUEROA NARVAEZ/ LUZ
   262794 S NARVAEZ                   REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   262795 LAURA FRONTERA SANTIAGO     REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   262796 LAURA G CHEVERE SANTIAGO    REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   262797 LAURA G MARTINEZ LUGO       REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   262798 LAURA G ORTIZ MELENDEZ      REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   262799 LAURA G. CHEVERE SANTIAGO                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   262800 LAURA GAGO SAMPAYO                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   695850 LAURA GALARZA GARCIA                        1479 AVE ASHFORD APTO 310                                                                                      SAN JUAN             PR         00907
   695851 LAURA GARAY GARAY                           HC 8 BOX 49252                                                                                                 CAGUAS               PR         00725‐9666
   695852 LAURA GARCIA GARCIA                         #1 CALLE JOSE C BARBOSA                                                                                        CAGUAS               PR         00725
   262801 LAURA GERMAN                                REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   695853 LAURA GOMEZ                                 BO MONTILLA                 CALLE 13 APT P D 1272                                                              ISABELA              PR         00662
   695854 LAURA GONZALEZ BORGOS                       COND EL GIRASOL APT 508     4837 AVE ISLA VERDE                                                                CAROLINA             PR         00979
   695855 LAURA GONZALEZ GONZALEZ                     URB SIERRA MAESTRA          A 14 CALLE CANILLA                                                                 SAN JUAN             PR         00923
   695856 LAURA GONZALEZ LUGO                         URB FLORAL PARK             106 MALLORCA                                                                       SAN JUAN             PR         00917‐3122
   695857 LAURA GONZALEZ MARTINEZ                     HC 01 BOX 6520                                                                                                 ARECIBO              PR         00616‐9715

   262802 LAURA GONZALEZ RODRIGUEZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   695858 LAURA GRANADO DE SOTO                       RIO PIEDRAS HEIGTHS         223 CALLE RUBICON                                                                  SAN JUAN             PR         00926
   262803 LAURA GUEITS NADAL                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   695859 LAURA GUERRERO DE LEON                      RR 3 BOX 45                                                                                                    SAN JUAN             PR         00926
   695860 LAURA GUZMAN MONSERRAT                      CAMINO DON DIEGO            RR6 BOX 11475                                                                      SAN JUAN             PR         00926

   695861 LAURA GUZMAN Y ASOCIADOS                    URB PUERTO NUEVO            1011 CALLE ALPES                                                                   SAN JUAN             PR         00920
   262804 LAURA H MERCED FELIX                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   695863 LAURA H ORTIZ FRANQUIZ                      RR 3 BOX 3500                                                                                                  SAN JUAN             PR         00926



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  695864 LAURA H TORRES RAMOS                         BO GALATEO ALTO             SECTOR CAPIRO                                                                            ISABELA             PR           00662
  695865 LAURA HERNANDEZ                              CALLE AMAPOLA #14           APTO. 203                                                                                CAROLINA            PR           00979

   695867 LAURA HERNANDEZ CALDERON                    URB SANTA JUANITA           BO 28 CALLE ALFA                                                                         BAYAMON             PR           00956

   262805 LAURA HERNANDEZ GREGORAT                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   262806 LAURA HERNANDEZ RIVERA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   262807 LAURA I ARROYO TROCHE                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   262808 LAURA I BURGOS ORTIZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LAURA I BURGOS ORTIZ DBA
   262809 BARRANQUITAS TR                             HC 01 BOX 5750                                                                                                       BARRANQUITAS        PR           00794
   695869 LAURA I CABRERA MERCADER                    COND VEREDAS DEL PARQUE     402 BLVD MEDIA LUNA 2001                                                                 CAROLINA            PR           00987‐4959
   695870 LAURA I DELGADO DIAZ                        P O BOX 329                                                                                                          GUAYNABO            PR           00970

   695871 LAURA I ESCALANTE FACUNDO                   PO BOX 365082                                                                                                        SAN JUAN            PR           00936‐1378
   262810 LAURA I RAMOS RIVERA                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   695872 LAURA I RIVERA CARRION                      URB ROUND HILLS             1619 CALLE DALIA                                                                         TRUJILLO ALTO       PR           00976
   695873 LAURA I RIVERA SANCHEZ                      URB BORINQUEN               143 CALLE B3                                                                             PONCE               PR           00730
   262811 LAURA I ROMAN RAMOS                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   262812 LAURA I SANTA SANCHEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   262813 LAURA I SANTIAGO LOPERENA                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   695876 LAURA I. HERNANDEZ FAVALE                   URB LOMAS VERDES            4D46 CALLE PLAYERA                                                                       BAYAMON             PR           00956
   262814 LAURA I. PENA MARRERO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   695877 LAURA ILEANA RAMIREZ                        PO BOX 9021112                                                                                                       SAN JUAN            PR           00902‐1112
   695878 LAURA IRIARTE RIVERA                        22 TERRAZAS DE CARRAIZO                                                                                              SAN JUAN            PR           00926
   262815 LAURA J BELEN CONCEPCION                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   262816 LAURA J COLON NEGRON                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   695880 LAURA J MERCADO TORRES                      REPARTO TERESITA            AJ 16 CALLE 38                                                                           BAYAMON             PR           00961‐8301
   695881 LAURA JIMENEZ MALDONADO                     SIERRA BAYAMON              H 2 BLOQUE 13 CALLE 12                                                                   BAYAMON             PR           00961
   262817 LAURA KEZNER GALIA                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   695883 LAURA L ESCOBALES RAMOS                     URB LAS DELICIAS            3029 CALLE HERMINIA TORRES                                                               PONCE               PR           00728
   695884 LAURA L LOPEZ ROCHE                         PO BOX 22556                                                                                                         SAN JUAN            PR           00931‐2556
   695885 LAURA L MALAVE COSME                        BO ARENAS                   P O BOX 5064                                                                             CIDRA               PR           00739

   262818 LAURA L MALDONADO ALICEA                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   695886 LAURA L MARTINEZ RIVERA                     PO BOX 615                                                                                                           JAYUYA              PR           00664
   695887 LAURA L MIGUEL RODRIGUEZ                    CUIDAD UNIVERSIDAD 2317     COND PLAZA VERDE I                                                                       PONCE               PR           00731
   695888 LAURA L ORTIZ MIRANDA                       HC 01 BOX 7419                                                                                                       SANTA ISABEL        PR           00757
   262819 LAURA L ORTIZ NEGRON                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   262820 LAURA LABORDE CORRETJER                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                      1 COND TORRE DE ANDALUCIA
   695889 LAURA LARRAGOITY MURIENTE                   APT 1407                                                                                                             SAN JUAN            PR           00926
   262822 LAURA LEBRON ALEMAN                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   695890 LAURA LEBRON TORRES                         CAMINO DEL MAR              5020 VIA CANGREJOS                                                                       TOA BAJA            PR           00949
   695891 LAURA LEON MALDONADO                        HC 2 BOX 8388                                                                                                        COROZAL             PR           00783

   262823 LAURA LINNETTE AVILES MEDINA REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   262824 LAURA LLANO CALDERON         REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   695893 LAURA LLAVONA CARRASQUILLO MSG BOX 184                                  SANTA JUANITA UU 1 CALLE 39                                                              BAYAMON             PR           00956
   262825 LAURA LOPEZ LOPEZ          REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   262826 LAURA LUNA CRUZ            REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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                                                      RES UNIVERSITARIA TORRES
   695897 LAURA M ALVAREZ ESPONDA                     NORTE                      AVENIDA UNIVERSIDAD                                                                     SAN JUAN             PR           00923
   262827 LAURA M BAEZ LANZA                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   695899 LAURA M BARBOSA NORIEGA                     RIO PIEDRAS HEIGHTS        1724 YAGUEZ                                                                             SAN JUAN             PR           00926
   695900 LAURA M BASULTO FORTE                       PO BOX 2944                                                                                                        JUNCOS               PR           00777
   695901 LAURA M BENITEZ MARTINEZ                    EL CONQUISTADOR            E 51 AVE DIEGO VELAZQUEZ                                                                TRUJILLO ALTO        PR           00976
   262828 LAURA M CRUZ GUZMAN                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   262829 LAURA M GONZALEZ BONILLA                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   262831 LAURA M MARTI GONZALEZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   262832 LAURA M MARTINEZ RAMOS                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   262833 LAURA M MATOS APONTE                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   262834 LAURA M MEAUX PEREDA                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   695902 LAURA M MIRANDA SANFELIZ                    URB CHALETS SEVILLANOS     BOX 2551 G 3001                                                                         TRUJILLO ALTO        PR           00976
                                                                                 EDF 176 APT 201 CALLE
   695905 LAURA M ORTIZ COLON                         URB HYDE PARK              FLAMBOYANES                                                                             SAN JUAN             PR           00927
   262835 LAURA M ORTIZ RAMOS                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   695903 LAURA M ORTIZ RAMOS                         C/O ANTONIA DE JESUS       DEPT SALUD                   PO BOX 70184                                               SAN JUAN             PR           00936‐8184
   695906 LAURA M ORTIZ VAZQUEZ                       BOX 343                                                                                                            BARRANQUITAS         PR           00794
   262836 LAURA M PEREZ ALFONSO                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   262837 LAURA M PEREZ CRUZ                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   262838 LAURA M RAFOLS SEGARRA                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   695910 LAURA M RIVERA RODRIGUEZ                    URB REPTO ANA LUISA        B 7 CALLE 1                                                                             CAYEY                PR           00736
   695911 LAURA M ROSADO ALICEA                       PO BOX 633                                                                                                         COROZAL              PR           00783
   695912 LAURA M ROSADO RIVERA                       URB LEVITTOWN              D 2247 PASEO AMAPOLA                                                                    TOA BAJA             PR           00949
          LAURA M SANTIAGO PONCE DE
   695914 LEON                                        120 AVE LA SIERRA          SUITE 19                                                                                SAN JUAN             PR           00926
   262839 LAURA M TORRES GONZALEZ                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   262840 LAURA M TRUCCO MONTALVO                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   695915 LAURA M VEGA MIRANDA                        65 CALLE OTERO                                                                                                     ISABELA              PR           00662
   262841 LAURA M. DELIZ BAUZA                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   262842 LAURA M. DIAZ VAZQUEZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   262843 LAURA M. VELEZ VELEZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   695917 LAURA MAISONET MATIAS                       PO BOX 26                                                                                                          SABANA SECA          PR           00952

   262844 LAURA MALDONADO CAETANI                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   695918 LAURA MALDONADO GUERRERO PR 3 BUZON 4581                                                                                                                       SAN JUAN             PR           00926

   695919 LAURA MALDONADO MENDEZ                      COM ALMIRANTE SOLAR 473                                                                                            VEGA BAJA            PR           00858

   695920 LAURA MARES GARCIA                          URB VILLA UNIVERSITARIA    B 19 CALLE CENTRAL AGUIRRE                                                              GUAYAMA              PR           00784
   262845 LAURA MARISTANY                             REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   695922 LAURA MARTINEZ PADRO                        134 CALLE PEPE DIAZ                                                                                                SAN JUAN             PR           00917
   695923 LAURA MARTINEZ VAZQUEZ                      HC 33 BOX 2278                                                                                                     DORADO               PR           00646
   695924 LAURA MATOS PEREZ                           LAGOS DE BLASINA           EDIF 2 APT 26                                                                           CAROLINA             PR           00985
   262848 LAURA MEAUX PEREDA                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   695925 LAURA MELENDEZ RIVERA                       COND BORINQUEN TOWER III   APT 1308                                                                                SAN JUAN             PR           00920
   695926 LAURA MENDOZA CRUZ                          URB PARKVILLE              L4 CALLE MONROE                                                                         GUAYNABO             PR           00969
          LAURA MERCEDES CASTRO
   262850 MARTINEZ                                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LAURA MERCEDES DELGADO
   695927 SERRANO                                     2305 CALLE LAUREL 816                                                                                              SAN JUAN             PR           00913



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MML ID               NAME                                        ADDRESS 1                 ADDRESS 2                    ADDRESS 3                           ADDRESS 4             CITY        STATE    POSTAL CODE       COUNTRY
  262851 LAURA MIRANDA BAEZ                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  695928 LAURA MIRANDA PEREZ                          HC 01 BOX 4063             CAONILLAS ABAJO                                                                        UTUADO             PR         00641
  695765 LAURA MOJICA O' NEILL                        URB LOMAS VERDES           3 A11 AVE LAUREL                                                                       BAYAMON            PR         00956
  262852 LAURA MONTANEZ MOLINA                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  262853 LAURA MORALES GONZALEZ                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  262854 LAURA MUNOZ VALENTIN                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  262855 LAURA N CORTES RODRIGUEZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  262856 LAURA N FIGUEROA ALVAREZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  262857 LAURA N ORTIZ MARRERO                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  262858 LAURA N VIRELLA                              REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  262859 LAURA NATER VAZQUEZ                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  262860 LAURA NAVARRO REYES                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  262861 LAURA NEGRON MONLLOR                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  695929 LAURA NEIVES DE VAN RHYN                     141 CALLE ONEILL                                                                                                  SAN JUAN           PR         00918
  262862 LAURA NIEVES ALCARAZ                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  262863 LAURA NIEVES RIVERA                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  695930 LAURA O. FENANDEZ PEREZ                      PO BOX 1195                                                                                                       SAN GERMAN         PR         00683
  695931 LAURA OJEDA TORRES                           RR 6 BOX 9776                                                                                                     SAN JUAN           PR         00926
  262864 LAURA ORTEGA RODRIGUEZ                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  262865 LAURA ORTIZ MATOS                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  695933 LAURA ORTIZ SANTOS                           1677 APARTAMENTO 4         CALLE JOSE H CORA                                                                      SAN JUAN           PR         00909
  695936 LAURA P CRUZ SANTIAGO                        LOIZA VALLEY               D 179 C/ TULIPAN                                                                       CANOVANAS          PR         00729
  695937 LAURA PADILLA DIAZ                           HC 01 BOX 5630                                                                                                    COROZAL            PR         00783‐9613
  262866 LAURA PADILLA NUNEZ                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  262867 LAURA PAGAN SOTO                             REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  695938 LAURA PASTRANA GARCIA                        P. O. BOX 8769                                                                                                    VEGA BAJA          PR         00694

   695939 LAURA PATRICIA ORTIZ NIEVES                 20 INMACULADA CONCEPCION                                                                                          GUAYANILLA         PR         00656
   695940 LAURA PENA MARRERO                          COLINAS DEL OESTE          I 12 CALLE II                                                                          HORMIGUEROS        PR         00660
   262868 LAURA PEREZ MALDONADO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   695941 LAURA PEREZ PEREZ                           URB EL CONQUISTADOR        K 8 CALLE 9                                                                            TRUJILLO ALTO      PR         00976
   695942 LAURA PURCEY                                COLINAS METROPOLITANA      U4 CALLE LAS MESAS                                                                     GUAYNABO           PR         00969 5244
   695943 LAURA QUI¥ONES OLMO                         RR 11 BOX 10328                                                                                                   BAYAMON            PR         00956
   262869 LAURA QUINONES PIMENTEL                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   262870 LAURA QUINONEZ PIZARRO                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   695944 LAURA R ARIAS GONZALEZ                      OCEAN PARK                 18 GERTRUDIS ST                                                                        SAN JUAN           PR         00911
   262871 LAURA R COLLAZO MARRERO                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   262872 LAURA R FONTANES GOMEZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   695945 LAURA R GUZMAN                              PALMAS DEL MAR             30 PALMAS REALES                                                                       HUMACAO            PR         00792
   695946 LAURA R GUZMAN LOPEZ                        885 BO SANTANA                                                                                                    ARECIBO            PR         00612
   262873 LAURA R OTERO VELEZ                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   695949 LAURA R VEGA ALVARADO                       REPARTO METROPOLITANO      852 CALLE 53 SE                                                                        SAN JUAN           PR         00921

   262874 LAURA RAKEL DOMENA MENDEZ REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   262875 LAURA RAMIREZ DELGADO     REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   262876 LAURA RAMOS MELENDEZ      REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   262877 LAURA RAMOS PENA          REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   695952 LAURA RAMOS SANTA         VILLAS DEL TURABO                            LC 11 CALLE 29                                                                         CAGUAS             PR         00725
   695954 LAURA REYES CAIJIGAS      PARK GARDEN COURT                            100 AVE MARACAIBO APT 202                                                              SAN JUAN           PR         00926
   262878 LAURA REYES CARRION       REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   262879 LAURA RIOS MUNIZ          REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   262880 LAURA RIVERA              REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   262881 LAURA RIVERA BENETT       REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  262882 LAURA RIVERA CORREA                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   695957 LAURA RIVERA COTTO                          URB SANTA RITA            118 CALLE DOMINGO CABRERA                                                              SAN JUAN             PR         00925
   262883 LAURA RIVERA IRIZARRY                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   695958 LAURA RIVERA LLANERAS                       RR 3 BOX 10890 BO ORTIZ                                                                                          TOA ALTA             PR         00958
   695961 LAURA RIVERA RODRIGUEZ                      47 CALLE CARAZO                                                                                                  GUAYNABO             PR         00969

   695963 LAURA RIVERA THURBUSH                       RES MANUEL ROMAN ADAMES   EDIF 6 APTO 38                                                                         CAMUY                PR         00627
   262884 LAURA ROBLES ACEVEDO                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   695965 LAURA RODRIGUEZ CRUZ                        LOS LAURELES              EDIF 4 APTO 403                                                                        BAYAMON              PR         00956
   695966 LAURA RODRIGUEZ MERCED                      553 CALLE LUNA                                                                                                   SAN JUAN             PR         00901
   695967 LAURA RODRIGUEZ MOLINA                      URB MILLAVILLE            147 MORADILLA                                                                          SAN JUAN             PR         00926‐5124
   262885 LAURA RODRIGUEZ MUNIZ                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262888 LAURA RODRIGUEZ PIZARRO                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262889 LAURA RODRIGUEZ TORRES                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262890 LAURA ROLON SIERRA                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262891 LAURA ROMAN NIEVES                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262892 LAURA ROQUE SERRANO                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   695968 LAURA ROSA VALCARCEL                        P O BOX 9905                                                                                                     CAROLINA             PR         00988
   262894 LAURA ROSARIO RIVAS                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262895 LAURA ROSS                                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262896 LAURA RUIZ LARREA                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262897 LAURA S CARRERAS                            REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262898 LAURA S DEL RIO HERNANDEZ                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262899 LAURA S KEZNER GALIANO                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   695969 LAURA S SANCHEZ ALONSO                      SIERRA BAYAMON            45 14 CALLE 40                                                                         BAYAMON              PR         00959
   695970 LAURA SALAS                                 OFICINA DEL GOBERNADOR    LA FORTALEZA                                                                           SAN JUAN             PR         00902
   262900 LAURA SANABRIA VALENTIN                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   695972 LAURA SANFIORENZO ADROVET                   MONTEVERDE                K 4 CALLE 7                                                                            TOA ALTA             PR         00953
   695974 LAURA SANTIAGO DIAZ                         LA PONDEROSA              3 CALLE 135                                                                            VEGA ALTA            PR         00692
   262901 LAURA SANTIAGO GUZMAN                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   695975 LAURA SANTOS SANTOS                         BO LA PONDEROSA           E 197 CALLE 6                                                                          VEGA ALTA            PR         00692
   262902 LAURA SUAREZ PEREZ                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262903 LAURA SWAN                                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262904 LAURA T. PEREZ JIMENEZ                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262905 LAURA T. SANTIAGO RAMOS                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   695977 LAURA TIRADO NEGRON                         PUERTO NUEVO              NE 308 CALLE 25                                                                        SAN JUAN             PR         00920
   262906 LAURA TORRES BERRIOS                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   695979 LAURA TORRES ORTIZ                          HC 2 BOX 11676                                                                                                   HUMACAO              PR         00791
   695980 LAURA TORRES RAMOS                          URB FERNANDEZ             JOHN F KENNEDY                                                                         CIDRA                PR         00739
   262907 LAURA TORRES RIVERA                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   695981 LAURA V ACEVEDO CARRERO                     P O BOX 887                                                                                                      RINCON               PR         00677‐0887
   262908 LAURA V CABRERA MCGUIRE                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262909 LAURA V CRUZ RAMOS                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262910 LAURA V RODRIGUEZ TORRES                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   695983 LAURA V ROMAN SUSANA                        HC 09 BOX 62218                                                                                                  CAGUAS               PR         00725
          LAURA VALENTIN/ CARMEN
   262911 VALENTIN                                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262912 LAURA VARGAS VEGA                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   262913 LAURA VAZQUEZ ROMAN                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   695986 LAURA VELEZ RODRIGUEZ                       RR 03 BOX 9237                                                                                                   TOA ALTA             PR         00953




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   695987 LAURA VILLAFANE PEREZ                       226 CALLE CAROLINA PLAYITA                                                                                         SAN JUAN             PR           00913
   695988 LAURA VILLEGAS                              RR 3 BOX 3688                                                                                                      SAN JUAN             PR           00925
   262914 LAURA W ROBLES VEGA                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   262915 LAURA YAMILET PORRAS PAEZ                   REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   262916 LAURA Z JIMENEZ DAVIS                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   695990 LAURA Z PEREZ                               URB SULTANA                    56 CALLE GIRALDO                                                                    MAYAGUEZ             PR           00680

   695991 LAURACELIS ROQUES ARROYO                    URB SANTA MARIA                62 CALLE ORQUIDEA                                                                   SAN JUAN             PR           00926
   695992 LAURALISSE COSME CENTENO                    URB ARIEL                      EDIF 2 APT B 3                                                                      COMERIO              PR           00782
   262918 LAURAMAR SANTA RIVERA                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   262919 LAURAMIR RIVERA VELEZ                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   262920 LAURANGELIC ACOSTA VIRUET                   REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LAURAS BEAUTY
   262921 SUPPLY/DBA/CTIVA HIGIENE                    URB AMERICA                    4521 CALLE BARRANQUITA                                                              SAN JUAN             PR           00923
          LAUREANA GONZALEZ
   695993 CARMONA                                     P O BOX 2246                                                                                                       ARECIBO              PR           00613
   695997 LAUREANA PEREZ PEREZ                        URB VALENCIA                   350 CALLE LERIDA                                                                    RIO PIEDRAS          PR           00923

   262923 LAUREANE MARTINEZ SANCHEZ                   REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LAUREANO A. GIRALDEZ
   262924 RODRIGUEZ, MD                               REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   695998 LAUREANO BRACERO LANDRON PO BOX 419                                                                                                                            VEGA BAJA            PR           00694

   695999 LAUREANO CASTILLO CASERES                   PO BOX 890                                                                                                         HUMACAO              PR           00791
   263004 LAUREANO GARCIA GARCIA                      REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LAUREANO LARACUENTE
   263030 PACHECO                                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   263067 LAUREANO MARTINEZ, SUHEILY                  REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   696002 LAUREANO NEGRON COLON                       P O BOX 881                                                                                                        MOROVIS              PR           00687
   263113 LAUREANO NUNEZ                              REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LAUREANO PEREZ & JUANA
   696003 PEREZ                                       CALLE DE LA CRUZ 101 APT 2‐A                                                                                       SAN JUAN             PR           00901
   696004 LAUREANO PEREZ CRUZ                         CAMPANILLAS                    384 CALLE FORTALEZA                                                                 TOA BAJA             PR           00949

   696007 LAUREANO ROCAFORT CASIANO P O BOX 5103                                     SUITE 132 A                                                                         CABO ROJO            PR           00623
          LAUREANO RODRIGUEZ MD,
   263171 ZAIDA                     REDACTED                                         REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   263172 LAUREANO RODRIGUEZ ZAYAS                    REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

  1420169 LAUREANO RODRÍGUEZ, CARLOS LUZ RÍOS ROSARIO                                CALLE COLL Y TOSTE #54                                                              SAN JUAN             PR           00918
   263220 LAUREANO TORRES TORRES     REDACTED                                        REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   696009 LAUREANO TROPHY            PO BOX 1520                                                                                                                         BARCELONETA          PR           00617
   696010 LAUREANOS BAKERY           BDA CATALA                                                                                                                          BARCELONETA          PR           00617
   696011 LAUREEN M ORTIZ LUGO       A 31 CALLE PABLO COLON                                                                                                              COAMO                PR           00769
          LAUREL RIDGE TREATMENT
   263253 CENTER                     PO BOX 19072                                                                                                                        GREEN BAY            WI           54307‐9072
   263254 LAURELIZ ALQUIZA ARCHILLA  REDACTED                                        REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  263255 LAUREN KECARDO                               REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  696012 LAUREN L LERNER                              4399 NOB HILL ROAD FT                                                                                             LAUDER              FL         33351
  263256 LAUREN LAU ANGARITA                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  696013 LAUREN M GARCIA                              473 ARRIGOITIA ST.                                                                                                HATO REY            PR         00918
  263258 LAUREN ROSE DIAZ                             REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  263259 LAUREN, MOWREY                               REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   696014 LAURENCE E MOBLEY RAMIREZ                   PO BOX 222                                                                                                        BAYAMON             PR         00622
   263260 LAURENCE ORTIZ LUCIANO                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LAURENTINO RAMOS
   696015 HERNANDEZ                                   URB COLINAS                  22 CALLE BALDORITY                                                                   GUAYNABO            PR         00969
   263262 LAURI A BARTTETT NEGRON                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1420170 LAURIANO NEGRÓN, PEDRO                      DALIA S. GONZÁLEZ DÍAZ       PO BOX 1050                                                                          GUAYAMA             PR         00785
   263264 LAURIE BONILLA MIRANDA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696018 LAURIE E GARCIA JIMENEZ                     URB SULTANA                  437 CALLE ALAMEDA                                                                    MAYAGUEZ            PR         00680

   263265 LAURIE G GONZALEZ VAZQUEZ                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   263266 LAURIE MOLINA COLLAZO                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   263267 LAURIE PEREZ CAMPOS                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   263269 LAURIE RAMOS                                REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696020 LAURILIM ROSADO MARTINEZ                    BO SABANA                    34 MARITIMA                                                                          GUAYNABO            PR         00965‐5558
   696021 LAURIMAR FLORES SOTO                        P O BOX 6031                                                                                                      CAGUAS              PR         00726
   696022 LAURIMAR KUILAN TORRES                      MIRADOR DEL TOA              APTO 58 BZN 26                                                                       TOA ALTA            PR         00602
   696023 LAURIMAR ORTEGA ESPINELL                    HC 73 BOX 5038                                                                                                    NARANJITO           PR         00719
   263270 LAURIMAR RIVERA VELEZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696024 LAURINELL SANTA AQUINO                      ESC ARTES PLASTICAS DE P R   PO BOX 9021112                                                                       SAN JUAN            PR         00902‐1112
   696025 LAURITZA CORREA KIANEZ                      RES GALATEO EDIF B 130                                                                                            RIO GRANDE          PR         00745
                                                      BO BERMEJALES SECT EL
   696026 LAURIZA RODRIGUEZ ORTIZ                     COMETA                       PO BOX 1284                                                                          OROCOVIS            PR         00720
   696027 LAURO DIAZ NIEVES                           BUZON HC 03                  BOX 18405                                                                            RIO GRANDE          PR         00745
   696028 LAURO RIVERA MELENDEZ                       12 CALLE PEDREGAL                                                                                                 HUMACAO             PR         00791
   696029 LAURY A PADIN HERNANDEZ                     130 A COM ANGEL SANDINI                                                                                           VEGA BAJA           PR         00693
   696030 LAURY C ORTIZ MARTINEZ                      PO BOX 103                                                                                                        NAGUABO             PR         00744‐0103
   263272 LAURY D CRUZ                                REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   263273 LAURY I CRUZ MARTINEZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696031 LAURY MEJIA BERRIOS                         EL PLANTIO                   E 35 CALLE LAUREL                                                                    TOA BAJA            PR         00949

   263274 LAURY VAZQUEZ DE LOS SANTOS REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   263275 LAURYMAR RODRIGUEZ MEJIAS                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LAUSELL ALUMINUM JALOUSIES
   263276 INC                                         PO BOX 938                                                                                                        BAYAMON             PR         00960
   696032 LAUSELL COMERCIAL INC.                      PO BOX 938                                                                                                        BAYAMON             PR         00960
   263299 LAUSELL, INC.                               PO BOX 938                                                                                                        BAYAMON             PR         00960‐0938
   263301 LAUTERIA VELEZ LEONIDES                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696033 LAVANDERIA DEL ESTE                         EXT MILAVILLE                200 CALLE QUENEPA                                                                    SAN JUAN            PR         00926
   263311 LAVERGNE MATIAS LOPEZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696034 LAVIA DE BIEN DIAZ                          COND WHITE TOWERS            1049 CALLE 3 SE APT 903                                                              SAN JUAN            PR         00921
   263317 LAVIENA BUS LINE INC                        HC 01 BOX 17333                                                                                                   HUMACAO             PR         00791
   696035 LAVIN SERVICE CENTER                        APARTADO 538                                                                                                      SABANA HOYOS        PR         00688
   696036 LAVINA HENRY RAMIREZ                        PARQUE DE LOYOLA 504         500 AVE PI¥ERO                                                                       SAN JUAN            PR         00918
          LAVINE BMC TECHNOLOGIES L L
   696037 C                                           1950 PAREDES LINE ROAD                                                                                            BROWNSVILLE         TX         78521



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  263340 LAVINIA APARICIO LOPEZ                        REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   263342 LAVINIA SANTIAGO / GLORY DIAZ REDACTED                              REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   263343 LAVINIA SOTO                  REDACTED                              REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   263344 LAVONNE FRANCO DIAZ           REDACTED                              REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696042 LAVONNE SPA                   P O BOX 308                                                                                                                      CAYEY               PR         00737
   263345 LAW AFFAIRS P S C             URA VILLA TURABO                      H 23 CALLE PINO                                                                            CAGUAS              PR         00725

   696045 LAW AND SOCIETY ASSOCIATION HAMPSHIRE HOUSE                         P O BOX 33615                                                                              AMHREST             MA         01003‐3615
          LAW ENFORCEMENT ASSOCIATES
   696043 INC                         PO BOX 16642                                                                                                                       WASHINGTON          DC         20041
          LAW ENFORCEMENT INTERNET
   696046 INTELLIGENCE                100 A HUNTER PLACE                      PO BOX 639                                                                                 YOUNGSVILLE         NC         27596
          LAW ENFORCEMENT PRODUCTS
   696047 INC                         PO BOX 5623                                                                                                                        PARSIPPANY          NJ         07054‐6623
   696048 LAW FIRM OF KING SPALDING   P O BOX 9020192                                                                                                                    SAN JUAN            PR         00902 0192
   263346 LAW MAX CORP                81 AVE MUNOZ RIVERA                                                                                                                SAN JUAN            PR         00918

   263347 LAW OFF. OF LUIS G. RULLAN PSC COND. EL CENTRO II STE 1504          500 MUNOZ RIVERA AVE.                                                                      SAN JUAN            PR         00918‐3384

   263348 LAW OFFICCES DAVID EFRON PC PO BOX 29314                                                                                                                       SAN JUAN            PR         00929‐0314
          LAW OFFICE OF USERA.
   263350 FIGUEROA & GINER, PSC       PO BOX 9022487                                                                                                                     SAN JUAN            PR         00902‐2487
          LAW OFFICES GONZALEZ TORRES
   696049 PSC ALTORNEY                SUITE 505 BANCO POPULAR                 206 CALLE TETUAN                                                                           SAN JUAN            PR         00901‐1801
          LAW OFFICES ISMAEL H
   263351 HERRERO III                 PO BOX 16681                                                                                                                       SAN JUAN            PR         00908‐6681
          LAW OFFICES MELENDEZ PEREZ
   263353 DE DIEGO JIME               PO BOX 19328                                                                                                                       SAN JUAN            PR         00910
          LAW OFFICES OF EDUARDO
   263354 GUZMAN PSC                  PO BOX 364665                                                                                                                      SAN JUAN            PR         00936‐4665
          LAW OFFICES OF EVELYN
   263355 PACHECO, P.S.C.             PLAZA LAS AMERICAS                      11TH FLOOR, OFFICE 1101         525 F.D. ROOSEVELT                                         SAN JUAN            PR         00918‐8059

   263356 LAW OFFICES OF HERRERO III & R PO BOX 362159                                                                                                                   SAN JUAN            PR         00936
          LAW OFFICES OF MARCELLE D      JULIO BOGORICIN BLG SUITE L‐
   696050 MARTELL JOVET                  08B                                  1606 PONCE DE LEON AVE.                                                                    SAN JUAN            PR         00909
          LAW OFFICES OF MERCADO &
   263357 SOTO P S C                     COND. SANTA MONICA APT 4‐B           73 CALLE KRUG                                                                              SAN JUAN            PR         00911

   696051 LAW OFFICES PEREZ VILLANUEVA BANCO COOP PLAZA                       623 PONCE DE LEON SUITE 305‐A                                                              SAN JUAN            PR         00917
   263359 LAW OFFICES ROBLES & FRIAS   P O BOX 363973                                                                                                                    SAN JUAN            PR         00936‐3973

   771138 LAW OFFICES WOLF POPPER, INC 654 PLAZA                              SUITE 1001                      AVE MUNOZ RIVERA                                           SAN JUAN            PR         00918

   263360 LAW OFFICES WOLF POPPER, PSC 654 PLAZA                              SUITE 1001                      AVE MUNOZ RIVERA                                           SAN JUAN            PR         00918
   696054 LAWMAN GUN SHOP              P.O. BOX 2057                                                                                                                     BAYAMON             PR         00960
   696055 LAWMAN GUN SHOP INC.         PO BOX 2057                                                                                                                       BAYAMON             PR         00960
   263364 LAWRENCE A ROSSELLO PENA     REDACTED                               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   771141 LAWRENCE A. ROSSELLO PENA                    REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LAWRENCE AND MEMORIAL
   263365 HOSPITAL                                     365 MONTAUK AVE                                                                                                   NEW LONDON          CT         06320‐4769



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   263366 LAWRENCE ANDREW BIASOTTO                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   263367 LAWRENCE CRUZ CONCEPCION                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696056 LAWRENCE E DUFFY                            P O BOX 13615                                                                                                   SAN JUAN            PR           00908

   263368 LAWRENCE GENERAL HOSPITAL                   PO BOX 869102                                                                                                   MILTON              MA           02186‐9102
          LAWRENCE K VELAZQUEZ
   696057 ROSARIO                                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   263369 LAWRENCE MATTA BORRAS                       REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   263370 LAWRENCE MD , MILLER I                      REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LAWRENCE N SEILHAMER
   263371 RODRIGUEZ                                   REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   263372 LAWRENCE N. LEE                             REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LAWRENCE RAGAN
   696059 COMMUNICATION INC                           PO BOX 21365                                                                                                    SAN JUAN            PR           00928
          LAWRENCE RAGAN
   263373 COMMUNICATIONS                              316 N MICHIGAN AVE     STE 300                                                                                  CHICAGO             IL           60601
   263374 LAWRENCE RAMIREZ COLON                      REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   696061 LAWSON DUNNING THURSTON                     URB EL VEDADO          220A CALLE ALMIRANTE PINZON                                                              SAN JUAN            PR           00918
          LAWSON MARDON WHEATON
   696062 OF PR INC                                   PO BOX 6500                                                                                                     CAYEY               PR           00737
   263377 LAWSON PRODUCTS INC                         1666 E TOUHY AVE                                                                                                DESPLAINES          IL           60018
          LAWYERS ADVANCEMENT
   263379 PROGRAMS LLC                                BALDRICH               264 TOUS SOTO                                                                            SAN JUAN            PR           00918
          LAYANNE M MARTINEZ
   263383 RODRIGUEZ                                   REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696064 LAYKA N PEREZ VEGA                          4TA SECC LEVITTOWN     D 36 CALLE MARINA                                                                        TOA BAJA            PR           00949
   696065 LAYLA RAMOS VALENTIN                        URB CAMBRIDGE          H‐5 CALLE OXFORD                                                                         SAN JUAN            PR           00926
   696066 LAYLANIE RUIZ OLMO                          PO BOX 28                                                                                                       BARCELONETA         PR           00617

   696067 LAYLANNIE TORRES GONZALEZ                   URB QUINTAS SAN LUIS   E 8 CALLE OLLER                                                                          CAGUAS              PR           00725
   263392 LAYSHARNEST MUNIZ LOPEZ                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   263393 LAYSHI CURBELO VEGA                         REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   263394 LAYTON MD , MICHAEL A                       REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   263395 LAYZA M. TORRES SERRANO                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   263415 LAZARA FLORES                               REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696069 LAZARO AUTO PARTS INC                       URB SIERRA BAYAMON     16 7 CALLE 10 WEST MAIN                                                                  BAYAMON             PR           00961
   696070 LAZARO BORIS PEREZ                          URB LOS CACIQUES       294 CALLE URAYDAN                                                                        CAROLINA            PR           00984
   696071 LAZARO DECORACIONES INC                     177 MANUEL CORCHADO    ESQ BALDORIOTY DE CASTRO                                                                 SAN JUAN            PR           00911
   263420 LAZARO DIAZ DE TUESTA                       REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   263422 LAZARO F CUBERO AROCHO                      REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   263423 LAZARO FERNANDEZ PARED                      REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696072 LAZARO GANDIA                               705 LOS NARANJOS ST                                                                                             SAN JUAN            PR           00907
          LAZARO HARLEY MARTINEZ
   263426 RODRIGUEZ                                   REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696073 LAZARO MEDICAL                              MARI OLGA PMB 320                                                                                               CAGUAS              PR           00725
   263430 LAZARO MEDICAL SERVICES                     PMB 320 URB MARIOLGA   S 1 AVE LUIS MUNOZ MARIN                                                                 CAGUAS              PR           00725‐6460
          LAZARO MEDINA Y LEXIMAR
   263431 IRIZARRY                                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   263432 LAZARO NUNEZ SANCHEZ                        REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696074 LAZARO OYOLA DIAZ                           P O BOX 55                                                                                                      COMERIO             PR           00782



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  263433 LAZARO PEÑA PHD, LYDIA M                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  263434 LAZARO RIVERA PENA                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                    CITIBANK TOWER, STE 601 252
  1420171 LAZARO RODRIGUEZ, JOSE A                    JOSUE RODRIGUEZ ROBLES        PONCE DE LEON                                                                            SAN JUAN            PR         00918
   263438 LAZARO ROSARIO ROSARIO                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696075 LAZARO VEGA FIGUEROA                        JARD DE YABUCOA               C 10 CALLE 2                                                                             YABUCOA             PR         00767
   696076 LAZARO VIGOA BARRIOS                        LOMAS VERDES                  4Q41 CALLE PLAYERA                                                                       BAYAMON             PR         00956
   696077 LAZARO YANES ROSARIO                        URB VILLAS DEL PILAR          B 3 CALLE STA MARTA                                                                      CEIBA               PR         00735
   696078 LAZEREC S E                                 PO BOX 13487                                                                                                           SAN JUAN            PR         00908
   263447 LAZO MD, ANGELO                             REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   263469 LAZU IRIZARRY, BETZAIDA                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   263499 LB CONSTRUCTION                             HC 71 BOX 3251                                                                                                         NARANJITO           PR         00719
   696079 LB GRAPHICS EQUIPMENT                       PMB 157 NBOX 4956                                                                                                      CAGUAS              PR         00726‐4956
          LB/LJ INC[ MCDONALDS VIEJO
   696080 SAN JUAN                                    PO BOX 9023528                                                                                                         SAN JUAN            PR         00902‐3528
   263502 LBM SYSEMS LLC                              2 STON HILL ROAD                                                                                                       BETHEL              CT         06801
   696081 LBM SYSTEMS CORP                            145 CHERRY STREET                                                                                                      NEW CANAAN          CT         06840
   696082 LC EXTERMINITING INC                        PO BOX 9024275                                                                                                         SAN JUAN            PR         00902‐4275
   263504 LC GENERAL SERVICES INC                     PO BOX 8850                                                                                                            BAYAMON             PR         00960‐8850
                                                      SIGNATUREWORK DIV 1
   263505 LC INSUSTRIES INC                           SIGNATURE                     DRIVE POSTOFFICE DREVER 30                                                               HAZLE HURST         MS         39083
   696084 LC LATIN PRODUCTIONS INC                    PO BOX 11256                                                                                                           SAN JUAN            PR         00910
   696085 LC OPTICAL VISION CENTER                    PO BOX 10007 SUITE 313                                                                                                 GUAYAMA             PR         00785
   696086 LC TUNING INC                               PO BOX 7891                                                                                                            GUAYNABO            PR         00970
          LCA CONSTRUCTION AND
   263506 MANAGEMENT INC                              HACIENDA SAN JOSE             VIA PRIMAVERA 812                                                                        CAGUAS              PR         00727
                                                      PROVIDENCIA ORELLANA
  1420172 LCA CONTRACTORS INC                         FRANCOIS                      PO BOX 415                                                                               HUMACAO             PR         00792
          LCD FRANCISCO A PADILLA
   696087 RODRIGUEZ                                   528 AVE PONCE DE LEON         SUITE 202                                                                                SAN JUAN            PR         00918
   696088 LCDA ABIGAIL LEON CRUZ                      P O BOX 1466                                                                                                           TRUJILLO ALTO       PR         00977
          LCDA AIDA JUARBE DE                         OFIC DE ADM DE LOS
   696089 MELENDEZ                                    TRIBUNALES                    P O BOX 190917                                                                           SAN JUAN            PR         00919 0917
   263508 LCDA AILKA TORRES ROMAN                     PO BOX 9438                                                                                                            CAGUAS              PR         00726‐9438

   696090 LCDA ANA M TORRES DE SOTO                   URB SANTA ROSA                10 17 AVE AGUAS BUENAS                                                                   BAYAMON             PR         00959
          LCDA ANNETTE M RAMIREZ
   696091 LOPEZ DE VICTORIA                           CIUDAD JARDIN                 154 CALLE ALCANFOR                                                                       GURABO              PR         00778‐9669
          LCDA CAROLINE J MORALES
   263509 COLON                                       RR 4 BOX 116                                                                                                           BAYAMON             PR         00956
          LCDA GLORIMAR DE L ANDUJAR
   263510 MATOS                                       P O BOX 191537                                                                                                         SAN JUAN            PR         00919‐1537
          LCDA MARIA EUGENIA ROSAS
   263511 SALGADO                                     COND PUERTA DEL MAR 500       CALLE G APTO 32                                                                          AGUADILLA           PR         00603
   696092 LCDA MARIA L PEREZ VARGAS                   77 CALLE RAMON TORRES                                                                                                  FLORIDA             PR         00650
          LCDA MARIA RODRIGUEZ
   263512 CINTRON                                     BLVD MIGUEL POU               PASEO DEL REY                 APARTAMENTO 1101                                           PONCE               PR         00731
          LCDA MARIAM BERRIOS
   696093 SANCHEZ                                     101 4 CALLE ESTEBAN PADILLA                                                                                            BAYAMON             PR         00960‐1734
   263515 LCDA MILLIE C. ROSA PADUA                   URB. RIVER VALLEY             5323 CALLE CANOVANA                                                                      CANOVANAS           PR         00729
          LCDA MONICA B. ROMERO
   263516 MARRERO CPA                                 COLLEGE PARK APARTMENT 200 CALLE ALCALA                                                                                SAN JUAN            PR         00921‐3910




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   696094 LCDA NANCY FONSECA SIERRA                   PO BOX 675                                                                                              TOA BAJA            PR           00951

   263517 LCDA NOEMI CARABALLO LOPEZ CALL BOX 43002                                SUITE 255                                                                  RIO GRANDE          PR           00745
   263518 LCDA SARA SALDANA          PO BOX 16                                                                                                                GUAYNABO            PR           00971
                                     PMB 654# 1353 AVE. LUIS
   263519 LCDA VILMA OJEDA RODRIGUEZ VIGOREAUX                                                                                                                GUAYNABO            PR           00966
   263520 LCDA. ANA LOPEZ PRIETO     APARTADO 13056                                                                                                           SAN JUAN            PR           00908‐1356
          LCDA. ANA M. HERNANDEZ
   263521 ALVAREZ                    35 JUAN CARLOS DE BORBON                      SUITE 67 PMB 249                                                           GUAYNABO            PR           00969
          LCDA. BLANCA ALVAREZ       URB. LAS LOMAS 872 CALLE 37
   263522 RAMIREZ                    SW                                                                                                                       SAN JUAN            PR           00921
          LCDA. DENNISSE M. RIVERA
   263523 EAVES                      EST. DE SAN RAFAEL                            100 C2 #21                                                                 TRUJILLO ALTO       PR           00976
          LCDA. ERINALDY AGOSTO
   263524 MUJICA                     PO BOX 6400                                   PMB 445                                                                    CAYEY               PR           00736

   263525 LCDA. EVA H. SANTIAGO ROSADO URB. PASEO REAL                             #028                                                                       COAMO               PR           00769
   263526 LCDA. IRIS V. CEPEDA RIVERA  ATTORNEY AT LAW                             PO BOX 2048                                                                RIO GRANDE          PR           00745

   263527 LCDA. IVELISSE PINERO RIVERA                URB. CASA BELLA              35 CALLE NAPOLES                                                           NAGUABO             PR           00718‐2826
   263528 Lcda. Ivonne M. García Torres               PO Box 7608                                                                                             Ponce               PR           00732‐7608
          LCDA. LOURDES E. MORALES
   263529 DIAZ                                        CALLE ATENAS R 145           EXT. FOREST HILLS                                                          BAYAMON             PR           00965
          LCDA. MARI NILDA APARICIO
   263531 LASPINA                                     ABERDEEN 2018                COLLEGEVILLE                                                               GUAYNABO            PR           00969
          LCDA. MARIA CRISTINA
   263532 MAYORAL MALDONADO                           SANTOS & NIEVES BLAS         PO BOX 1809                                                                MAYAGUEZ            PR           00681
          LCDA. MARIA DEL C IRIZARRY
   263533 MARQUES                                     100 CALLE MAYAGUEZ                                                                                      SAN JUAN            PR           00917‐5100

   263534 LCDA. MARIE E. LOPEZ ADAMES                 EDIF. DIPLOMAT OFIC C‐10     1126 AVE. ASHFORD CONDADO                                                  SAN JUAN            PR           00907
   696095 LCDA. NEREIDA M SALVA                       PMB 296‐5900                 L 2 AVE ISLA VERDE                                                         CAROLINA            PR           00979‐4901
          LCDA. PATRICIA FULLANA
   263536 ACOSTA                                      WESER 201                    RIO PIEDRAS HEIGHTS                                                        SAN JUAN            PR           00926

   263538 LCDA. RUTH COSME SANTIAGO                   PO BOX 130                                                                                              MANATI              PR           00674
          LCDA. SALLY D. DELGADO
   263539 ARROYO                                      PO BOX 367054                                                                                           SAN JUAN            PR           00936‐7054
   696096 LCDO A LOPEZ MALDONADO                      BOX 1298                                                                                                SAN GERMAN          PR           00683
   263540 LCDO AGUSTIN FORTU¥O FAS                    PO BOX 364225                                                                                           SAN JUAN            PR           00936‐4225

   263541 LCDO ANDRES MONTA¥EZ COSS PO BOX 193501                                                                                                             SAN JUAN            PR           00919‐3501
          LCDO ANGEL A VAZQUEZ
   263542 GONZALEZ                  URB CAPARRA TERRACE                            1410 AVE T PI¥ERO                                                          SAN JUAN            PR           00921

   263543 LCDO ARISTIDES RAMON CRUZ                   PO BOX 1803                                                                                             CIDRA               PR           00739‐1803

   263544 LCDO CARLOS ALSINA BATISTA                  638 ALDEBARAN ST BDE BLDNG   2ND FL SUITE HQ 7                                                          SAN JUAN            PR           00920

   696097 LCDO CARMELO BAEZ FIGUEROA CALLE MORSE 83                                                                                                           ARROYO              PR           00714
   696098 LCDO EDGARDO DELGADO       P O BOX 3562                                                                                                             AGUADILLA           PR           00605
   263545 LCDO EDGARDO MESONERO      PO BOX 990                                                                                                               AGUADILLA           PR           00605



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          LCDO HECTOR ROBLES
   263546 ABRAHAM                                     PO BOX 516 7                    AVE MU¥OZ RIVERA                                                               FAJARDO             PR           00738
   696099 LCDO HERMAN COLBERG                         PO BOX 9023451                                                                                                 SAN JUAN            PR           00902
                                                      7312 AVE AGUSTIN RAMOS
   263547 LCDO JUAN A LOPEZ DAVID                     CALERO                                                                                                         ISABELA             PR           00662
   696100 LCDO JUAN R MARCHAND                        PO BOX 9024227                                                                                                 SAN JUAN            PR           00902
   696101 LCDO LUIS A GONZALEZ                        P O BOX 613                                                                                                    ISABELA             PR           00662

   263548 LCDO LUIS E LAGUNA MIMOSO                   APARTADO 1116                                                                                                  CAGUAS              PR           00726
          LCDO MANUEL RIVERA
   263549 SANTIAGO                                    OFICINA DEL CONTRALOR DE P.R.                                                                                  SAN JUAN            PR           00919
   263550 LCDO ORESTE RAMOS DIAZ                      P O BOX 8686                                                                                                   SAN JUAN            PR           00910‐8686
          LCDO PEDRO JOEL LANDRAU
   263551 LOPEZ                                       PO BOX 29407                                                                                                   SAN JUAN            PR           00929‐0407

   263552 LCDO PEDRO RIVAS TOLENTINO                  P.O. BOX 444 PUERTO REAL                                                                                       Puerto Real         PR           00740

   263553 LCDO RAFAEL J BORRAS PABON                  URB VALLE ALTO                  C 10                                                                           PATILLAS            PR           00723
          LCDO RICARDO J CACHO
   263554 RODRIGUEZ                                   AVE GLASGOW 1782                COLLEGE PARK                                                                   SAN JUAN            PR           00921
          LCDO ROLANDO MACHADO
   696103 ACEVEDO                                     AVE MILITAR 4‐229 SUITE 1                                                                                      ISABELA             PR           00662
          LCDO VICTOR A SUAREZ
   263555 MELENDEZ                                    AREA DEL TESORO                 DIVISION DE RECLAMACIONES                                                      SAN JUAN            PR           00902‐4140
          LCDO. ALBERTO MEDINA
   263558 CARRERO                                     MARGINAL ALAMEDA 849                                                                                           SAN JUAN            PR           00926
          Lcdo. Alberto O. Jiménez
   263559 Santiago                                    PO Box 191802                                                                                                  San Juan            PR           00919‐1802

   263560 LCDO. ALFREDO ORTIZ RIVERA                  165 CALLE BALDORIOTY NORTE      OFICINA # 11                                                                   AIBONITO            PR           00705
   696104 LCDO. ANGEL L SAAVEDRA                      PO BOX 287                                                                                                     QUEBRADILLAS        PR           00678

   263561 LCDO. ANTONIO L. ORTIZ GILOT                PO BOX 364503                                                                                                  SAN JUAN            PR           00936
   263562 LCDO. ARISTIDES RAMOS                       PO BOX 1803                                                                                                    CIDRA               PR           00739
          Lcdo. Armando Francheschi
   263563 Figueroa                                    Extension Forest Hills F‐419    Calle Lima Esq. Atenas                                                         Bayamon             PR           00959
   263564 Lcdo. Edwin E. León León                    2153 Calle Loiza                Suite 1                                                                        San Juan            PR           00913‐4512
   263565 Lcdo. Héctor E. Valdes Ortiz                644 Ave. Fernández Juncos       District View Plaza Suite 301                                                  San Juan            PR           00907
          LCDO. HECTOR L. CLAUDIO
   263566 ROSARIO                                     PO BOX 607087                                                                                                  BAYAMON             PR           00960‐7087

   263567 Lcdo. Hermes F. Acevedo Lebrón              Apartado 2198                                                                                                  Mayaguez            PR           00681‐2198
          LCDO. JAIME RUBERTE
   263568 SANTIAGO                                    PO BOX 601                                                                                                     PENUELAS            PR           00624
          LCDO. JOSE ALFREDO MENDEZ
   263569 ORTIZ                                       APARTADO 7001                                                                                                  PONCE               PR           00732
   263570 Lcdo. José G. Barea Fernández               100 GRAND BLVD #112                                                                                            SAN JUAN            PR           00926

   263573 LCDO. MIGUEL SIMONET SIERRA MIRAMAR PLAZA 101                               STE 1120 AVE SAN PATRICIO                                                      GUAYNABO            PR           00968
   263574 Lcdo. Nancy Fonseca Sierra  PO Box 675                                                                                                                     Toa Baja            PR           00951

   263575 LCDO. NEFTALI GARCIA SANCHEZ PO BOX 9024040                                                                                                                SAN JUAN            PR           00902‐4040




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          LCDO. NORMAN VELAZQUEZ
   263576 TORRES                                      PO BOX 801400                                                                                                    COTTO LAUREL        PR           00780‐1400

   263577 LCDO. OVIDIO RUIZ FONTANET                  MUNOZ RIVERA #7 NORTE                                                                                            CAROLINA            PR           00985
   263578 LCDO. RAFAEL COX ALOMAR                     PO BOX 362166                                                                                                    SAN JUAN            PR           00936
   263579 LCDO. RAFAEL DOITTEAU                       PO BOX 173                                                                                                       BOQUERON            PR           00622

   263580 LCDO. RAFAEL GONZALEZ VELEZ OCEAN PARK SUITE 1‐B                         MC LEARY 1806                                                                       SAN JUAN            PR           00911‐0132
                                      107 CALLE ENRIQUE VAZQUEZ
   263581 LCDO. RAMON ORTIZ ORTIZ     BAEZ                                                                                                                             MAYAGUEZ            PR           00680
   263584 LCDO. RENE TORRES PLATET    EXT ROOSEVELT, H R                           476 CALLE R LAMAR                                                                   SAN JUAN            PR           00918
          LCDO. RICARDO FERNANDEZ
   263585 DIAZ                        PO BOX 3254                                  HATO ARRIBA STATION                                                                 SAN SEBASTIAN       PR           00685
   263586 Lcdo. Sotero León Colón     1313 Ave. Jesús T, PiNero                    Urb. Caparra Terrace                                                                San Juan            PR           00920
          L'CEIBA DISTRIBUTOR DBA
   696105 JOSEAN GAUD RAMI            P O BOX 5699                                                                                                                     MAYAGUEZ            PR           00681

   263587 LCG INC                                     170 ARTERIAL HOSTOS APT C8                                                                                       SAN JUAN            PR           00918‐5022
   263588 LCS APARTMENTS                              P.O BOX 8479                                                                                                     SAN JUAN            PR           00910‐0479
   696106 LDA INCORPORADO                             VILLA REALES                 429 CALLE VIA ESCORIAL                                                              GUAYNABO            PR           00969

   263589 LDG TECHNICAL SERVICES CORP                 PO BOX 190275                                                                                                    SAN JUAN            PR           00919‐0275
          LDP MANAGEMENT SOLUTION
   263590 P.S.C.                                      HOSPITAL DE PSIQUIATRIA      P.O. BOX 2100                                                                       SAN JUAN            PR           00922‐2100
   696107 LE COURTINE                                 ESTANCIA                     D 7 VIA CARACAS                                                                     BAYAMON             PR           00961
          LE COURTIVE VERTICAL &
   696108 DRAPERY                                     D 7 VIA CARACAS ESTANCIA                                                                                         BAYAMON             PR           00961
   263596 LE FRANCIS LAGUER CRUZ                      URB VILLA BORINQUEN          CALLE YUCAYEQUE M8                                                                  CAGUAS              PR           00725

   696109 LE GRAND ASSOCIATES                         1601 WALNUT STREET SUITE 616                                                                                     PHILADELPHIA        PA           19102
   696110 LE HARDY SOUND                              JARDINES DE COUNTRY CLUB     BN I CALLE 111                                                                      CAROLINA            PR           00983
   263598 LE LO LAI TOYS CORP.                        HC‐05 BOX 13891                                                                                                  JUANA DIAZ          PR           00795
   696111 LE MURIEL                                   URB SANTA ANA                CALLE YALE                                                                          SAN JUAN            PR           00927
  1256630 LE PETIT VISION CENTER                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696112 LE PETITE CAFE                              VILLAS DE CAFETAL            L 26 CALLE 13                                                                       YAUCO               PR           00698
          LE ROSE BOUTIQUE /
   696113 ALEJANDRINA ROMAN                           PLAZA COOPERATIVA MALL                                                                                           ISABELA             PR           00662
   696114 LE SALON UNISEX                             PO BOX 344                                                                                                       SAN GERMAN          PR           00683‐3274
   696115 LE SANDRA MATOS RAMOS                       HC 1 BOX 8350                                                                                                    SALINAS             PR           00751
   263600 LE SHADE PLISSE                             PO BOX 192944                                                                                                    SAN JUAN            PR           00919‐2944

   263602 LEA ENTERPRISES INC                         URB MANSIONES DE LOS CEDROS 135 CALLE CAOBA                                                                      CAYEY               PR           00736
   696117 LEA MIRANDA PEREZ                           53 CALLE MANATI                                                                                                  SAN JUAN            PR           00917‐4419
   263603 LEADER CO                                   PO BOX 6992                                                                                                      BAYAMON             PR           09609002
          LEADER PROFESSIONAL
   696118 TRAINING GROUP                              VILLA CONTESA                B 21 CALLE NAVARRA                                                                  BAYAMON             PR           00957
   696119 LEADER SPECIALTY CO.                        PO BOX 412555                                                                                                    KANSAS CITY         MO           64141

   263604 LEADERS FOR THE WORLD INC                   PO BOX 7183                                                                                                      SAN JUAN            PR           00916‐7187
          LEADERSHIP CHRISTIAN
   263605 ACADEMY                                     BO ULTIMO CHANCE             CALLE VENUS FINAL                                                                   GUAYNABO            PR           00969‐4003
                                                      1047 FIFTH AVENUE SECOND
   696120 LEADERSHIP DIRECTORIES INC                  FLOOR                                                                                                            NEW YORK            NY           10011‐0000



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   263607 LEADERSHIP DIRECTORIES, INC.                1407 BROADWAY SUITE 318                                                                                                NEW YORK            NY           10018
          LEADERSHIP DYNAMICS
   263608 INSTITUTE                                   URB CARIBE 1565 ALDA STREET                                                                                            SAN JUAN            PR           00926
   263609 LEADERSHIP STRATEGIES                       1101 30TH ST N W                                                                                                       WASHINGTON          DC           20007
   696123 LEAF ADVERTISING & FORMS                    220 WESTERNS AUTO PLAZA       MCS 111 OFIC 101                                                                         TRUJILLO ALTO       PR           00976‐3604
  1256631 LEAF ENTERPRISES INC                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LEAFAR A RODRIGUEZ
   263613 RODRIGUEZ                                   HC 4 BOX 53703                                                                                                         MOROVIS             PR           00687
   263614 LEAFY GREEN INC                             PO BOX 7604                                                                                                            PONCE               PR           00732
   831461 Leafy Green Inc.                            P.O. Box 7604                                                                                                          Ponce               PR           00732
          LEAFY GREEN LANDS DBA JOSE
   263615 W. GUTIERREZ                                PO BOX 7604                                                                                                            PONCE               PR           00732‐0000
   696124 LEAFY GREEN LANDSCAPING                     PO BOX 7604                                                                                                            PONCE               PR           00732

   696125 LEAH LEDESMA VIVALDI                        URB EL VEDADO                 225 CALLE RODRIGUEZ TRIANA                                                               SAN JUAN            PR           00918
   263617 LEAHEY EYE CLINIC INC                       9 CENTRAL ST STE 5                                                                                                     LOWELL              MA           01852
   263619 LEAL ARECIBO FUTBOL CLUB                    PO BOX 416                                                                                                             GARROCHALES         PR           00652

   263629 LEAL TERRIBLE MD, FRANCISCO                 REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   696126 LEAMSI FONTANER GONZALEZ                    PMB 222 BOX 7994                                                                                                       MAYAGUEZ            PR           00681‐7994
   263631 LEAMSI PEREZ MARTINEZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   263632 LEAMSY OTERO GARCIA                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696127 LEANA FEBUS BORRERO                         RES LUIS LLORENS TORRES       EDIF 37 APTO 2543                                                                        SAN JUAN            PR           00915
   696128 LEANA M SILVA GONZALEZ                      URB EL DORADO                 B 40 CALLE B                                                                             SAN JUAN            PR           00926
   263634 LEANDRA NUNEZ ACEVEDO                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   263635 LEANDRA TORRES MALDONADO REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LEANDRO A RIVERA
   263636 MALDONADO                REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   263637 LEANDRO BRIGNONI RODRIGUEZ REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696130 LEANDRO COLON ALICEA       URB ALTURAS DE MAYAGUEZ                        623 YAUREL                                                                               MAYAGUEZ            PR           00682‐6237
   696131 LEANDRO FLORES             REPARTO ESPERANZA                              5 CALLE DALIA                                                                            GUAYNABO            PR           00969
   263638 LEANDRO GONZALEZ MEDINA    REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   263639 LEANDRO GONZALEZ MERCADO REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   263640 LEANDRO H GARCIA NUNEZ   REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696133 LEANDRO LUGO IRIZARRY    P O BOX 560920                                                                                                                            GUAYANILLA          PR           00656

   263641 LEANDRO M TORRES GONZALEZ                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696129 LEANDRO MERCADO ARROYO                      PO BOX 8877                                                                                                            PONCE               PR           00732
   696134 LEANDRO OTERO CARABALLO                     URB SIERRA BAYAMON            CALLE 65 NUM 10 BLOQUE 77                                                                BAYAMON             PR           00961
   263642 LEANDRO PENA                                REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696135 LEANDRO PEREZ DE JESUS                      PO BOX 2366                                                                                                            ARECIBO             PR           00613
   263645 LEANDRO RIOS LYLE                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      PO BOX 19175 FERNANDEZ
   696136 LEANDRO RUIZ MARTINEZ                       JUNCOS STA                                                                                                             SAN JUAN            PR           00910
                                                                                    URB. JARDINES DE FAGOT C‐19
  1420173 LEANDRY HERNANDEZ, JULIO                    ORLANDO ORTIZ CINTRÓN         CALLE ALMENDRA                                                                           PONCE               PR           00716‐4018
   263659 LEANDRY PUMAREJO, GLADYS                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696137 LEANEL RODRIGUEZ RIVERA                     URB PARQUE ECUESTRE           D 36 COLABORADOR                                                                         CAROLINA            PR           00987



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  696138 LEANIS I ARIAS RAMIREZ                       ALT DE FLAMBOYAN             GG 22 CALLE 19 APTO 1                                                                BAYAMON             PR         00959
  263673 LEANN H ARJONA                               REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  696139 LEANNE RIVERA VILA                           METADONA PONCE                                                                                                    Hato Rey            PR         00936
  263674 LEANNETTE Z. CRUZ RAMIREZ                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  263676 LEANY I VILLAR VALENTIN                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         LEANY PAOLA PRIETO
  263677 RODRIGUEZ                                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         LEARMING & EDUC MEDICAL                      BO CALLEJONES CARR 129 INT
  263678 RESPONSE SYSTEM                              454 KM 3                                                                                                          LARES               PR         00669
  263681 LEARN AID LLC                                P M B 352 #405               AVE ESMERALDA                                                                        GUAYNABO            PR         00969
  263682 LEARN AID OF P R INC                         PMB 352                      405 AVE ESMERALDA                                                                    GUAYNABO            PR         00969
  263684 LEARN IT SYSTEMS, LLC                        15 C/HORMIGUEROS             URB BONNEVILLE HEIGHTS                                                               CAGUAS              PR         00725

   263688 LEARN LANGUEGE CENTER CORP 250 OESTE CALLE MCKINLEY                      SUITE B                                                                              MAYAGUEZ            PR         00680
          LEARNING ALLIANCES LLC
   263690 PUERTO RICO                PO BOX 3822                                                                                                                        BAYAMON             PR         00958
   696140 LEARNING AROUND INC        GRAN BULEVAR PASEOS                           171‐100 SUITE 112                                                                    SAN JUAN            PR         00926‐5955
   696141 LEARNING CENTER            1737 PURPLE TREE                              CARR EST 844 KM 4                                                                    SAN JUAN            PR         00928

   696142 LEARNING CO CONSULTANTS INC PO BOX 697                                                                                                                        SAN JUAN            PR         00926
          LEARNING PROGRAMS &
   696143 SYSTEMS INC                 PO BOX 193641                                                                                                                     SAN JUAN            PR         00919‐3641
          LEARNING SIGHT & SOUND      145 RIVER DRIVER ROCK DR
   263692 MADE EASIER                 BUFFALO                                                                                                                           NEW YORK            NY         14207‐2172
   696144 LEARNING TOGETHER           PMB 224                                      BOX 3500                                                                             CAMUY               PR         00627
          LEARNING ZONE/LOW FAT
   696145 EXPRESS                     P O BOX 1022                                                                                                                      OWATONNA            MN         55060
   263693 LEARNKEY, INC.              93 S. MOUNTAIN WAY DR.                                                                                                            OREM                UT         84058
   263694 LEARNTEK LLC                107 ORTEGON AVE STE 211                                                                                                           GUAYNABO            PR         00968
   263695 LEASEWAY DE PUERTO RICO     CAPARRA HEIGHTS STA.                         PO BOX 11311                                                                         SAN JUAN            PR         00922‐1311
   263696 LEASEWAY OF P R INC         PO BOX 11311                                 CAPARRA HGTS STA                                                                     CATANO              PR         00922
  1420174 LEASEWAY OF PR, INC.        SORAYA C. RAMOS VAZQUEZ                      PO BOX 70320                                                                         SAN JUAN            PR         00936‐8320
  1420175 LEASEWAY OF PR, INC.        SORAYA C. RAMOS VAZQUEZ                      PO BOX 70320                                                                         SAN JUAN            PR         00936‐8320
  1420176 LEASEWAY OF PUERTO RICO     GATELL GARCIA, ANGEL L                       PO BOX 13713                                                                         SAN JUAN            PR         00908‐3713

   263701 LEASEWAY OF PUERTO RICO INC                 PO BOX 11311                                                                                                      SAN JUAN            PR         00922‐0000
   696146 LEASIN MORALES RIVERA                       C/O MIGUEL A GONZALEZ        P O BOX 21414                                                                        SAN JUAN            PR         00928‐1414
          LEATHER QUALITY PRODUCTS
   696147 INC                                         P O BOX 9024275                                                                                                   SAN JUAN            PR         00902‐4275
   263704 LEATHER REPAIR SHOP                         FERNANDEZ JUNCOS STA        PO BOX 19964                                                                          SAN JUAN            PR         00910
   696148 LEATHER UNLIMITED                           COUNTRY CLUB                GK 33 AVE CAMPO RICO                                                                  CAROLINA            PR         00982
          LEATHERNECK SECURITY SERV                   162 CALLE MARIA MOCZO VILLA
   263705 INC                                         PALMERAS                                                                                                          SAN JUAN            PR         00911
          LEATHERNECK SECURITY                                                    11‐20 CARR 174 URB SANTA
   696150 SERV.INC                                    SANTA ROSA                  ROSA                                                                                  BAYAMON             PR         00959
          LEAVITT CARABALLO MD, JORGE
   263706 L                                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LEBANON ORTHOPEDIC
   263712 ASSOCIATES                                  912 RUSSEL DR                                                                                                     LEBANON             PA         17042
          LEBCARD LEBANON CARDIO                      1150 NORTH MEADOW PKWY
   263713 ASSO                                        STE 100                                                                                                           ROSWELL             GA         30076
   263714 LEBISA MORALES VELEZ                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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          LEBON Y TORRES DESPACHO
   263717 LEGAL                                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   263720 LEBRON & ASSOCIATES                         PO BOX 175                                                                                                         ANASCO              PR           00610

   263729 LEBRON ALGORI MD, ALEJANDO REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1420177 LEBRON ALVAREZ, LUZ BRENDA                  MARITZA LÓPEZ CAMUY       PO BOX 195587                                                                            SAN JUAN            PR           00919‐5587
   263755 LEBRON ARCE, ARIEL                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   263764 LEBRON ARZON MD, FRANCISCO REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696151 LEBRON ASSOCIATES          PO BOX 50055                                                                                                                        SAN JUAN            PR           00902
   263884 LEBRON CORREA, ANGELES     REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                PMB‐133 1353 AVE. LUIS
  1420178 LEBRON DAVILA, JANNIRE                      YARLENE JIMENEZ ROSARIO   VIGOREAUZ                                                                                GUAYNABO            PR           00966‐2700
   263943 LEBRON DELGADO, HEIDDY A                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   263949 LEBRON DEVELOPERS CORP                      400 CALLE CALAF           PMB 128                                                                                  SAN JUAN            PR           00918
  1420179 LEBRÓN DÍAZ, RAMÓN A.                       ARTURO RÍOS ESCRIBANO     PO BOX 3007                                                                              GUAYNABO            PR           00970‐3007

   696152 LEBRON ESSO SERVICE STATION                 REPTO SAN ANTONIO         6041 CALLE TOPACIO                                                                       ISABELA             PR           00662‐3251
  1420180 LEBRÓN FIGUEROA, NYDIA                      HECTOR A. CASTRO          APARTADO 227                                                                             YABUCOA             PR           00767
   264009 LEBRON FLORES, ERIC J                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   696154 LEBRON FORKLIFT SERVICE INC                 PO BOX 9160                                                                                                        BAYAMON             PR           00960
   264179 LEBRON LISBOA MD, SERGIO                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   263718 LEBRON LOPEZ, MARISELY                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   264207 LEBRON LOPEZN, EFRAIN                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420181 LEBRON MARTINEZ, FRANK                      DIEGO LEDEE BAZAN         APARTADO 891                                                                             GUAYAMA             PR           00785

   264294 LEBRON MORALES, CARMEN L.                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1420182 LEBRON QUEVEDO, LEONCIO                     NO TIENE (PRO SE)         PONCE BYPASS PRINCIPAL 3793                                                              PONCE               PR           00728‐1504
   264417 LEBRON RAMIREZ, LIZA N                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LEBRÓN REYES, MARISOL Y
  1420183 OTROS                                       ÁNGEL DÍAZ PALENQUE       PO BOX 5159                                                                              CAGUAS              PR           00726
   264542 LEBRON RODRIGUEZ, LIDIA                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                ESTANCIAS DEL ATLÁNTICO 180
  1420184 LEBRON ROSADO, CYNELLE Y.                   EDITH FRED ANGONGIORGI    CALLE MARINA                                                                             LUQUILLO            PR           00773
   264601 LEBRON RUIZ, MERCEDES                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   264602 LEBRON RUIZ, ROBERTO                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   264607 LEBRON SANCHEZ MD, MARIA                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1420185 LEBRÓN SANTIAGO, JOSÉ CARLOS PANTOJA OQUENDO, JOSEFINA                PO BOX 21370                                                                             SAN JUAN            PR           00928
  1420186 LEBRÓN SANTIAGO, WILMARY     WILMARY LEBRON SANTIAGO                  HC 3 BOX 16040                                                                           AGUAS BUENAS        PR           00703
  1420187 LEBRON SEPULVEDA, CAMILO     TOMS SANTIAGO ROMERO                     3 CALLE HOSTOS NORTE                                                                     GUAYAMA             PR           00784
   264654 LEBRON SOTO MD, MARIBEL      REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LEBRÓN TORRES, JUAN A.; CRUZ
          LEÓN, SONIA A.; EN REP DE
          AMINELLIS CAMILLE CORREA                                              521 CALLE PIRANDELLO URB.
  1420188 TORRES                       JUAN G. NIEVES CASSAS                    PURPLE TREE                                                                              SAN JUAN            PR           00926
   264767 Lebrón‐Lebrón, Josefina      REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   264769 Lebrón‐Rivera, Pedro         REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LECHONERA EL MOJITO / JOSE
   696155 COLON CLAUDIO                PO BOX 371977                                                                                                                     CAYEY               PR           00737



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  696156 LECHONERA EL PUENTE                          PO BOX 403                                                                                                   JAYUYA            PR           00664
  696157 LECHONERA FIGUEROA                           OFIC ADM DE TRIBUNALES     PO BOX 190917                                                                     SAN JUAN          PR           00919‐0917
  696159 LECHONERA LOS PINOS                          HC 4 BOX 48956                                                                                               CAGUAS            PR           00725‐9637
  696160 LECHONERA MARTINEZ                           PO BOX 278 ST 77                                                                                             GUAYANILLA        PR           00656
  696161 LECHONERA Y REST EL PINO                     RR 2 BOX 7719                                                                                                SAN JUAN          PR           00926

          LECLAIRRYAN, A PROFESSIONAL
   264773 CORPORATION                                 4405 COX ROAD SUITE 200                                                                                      GLEN ALLEN        VA           23060
   696162 LECLER RENTAL EQUIPMENT                     RR03 BOX 11259                                                                                               A¥ASCO            PR           00610
   264781 LECMAYNS AMBULANCE INC                      HC 09 BOX 94571                                                                                              SAN SEBASTIAN     PR           00685
   696163 LECTORUM PUBLICATIONS                       PO BOX 193609                                                                                                SAN JUAN          PR           00919‐3609

   696164 LEDA ALMODOVAR ALMODOVAR PO BOX 424                                                                                                                      CABO ROJO         PR           00623
   264788 LEDA LUCIANO OLIVERAS    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   696166 LEDA N HERNANDEZ VEGA    URB SAN DEMETRIO                              311 CALLE MACACO                                                                  VEGA BAJA         PR           00694
   264789 LEDA ROSADO CERDA        REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   696167 LEDA ZORILLA MEJIA       URB LA RIVIERA                                CALLE 54 SE 1273                                                                  SAN JUAN          PR           00921
   696168 LEDALIZ COLLAZO FLORES   COND IBERIA II                                APT 904                                                                           SAN JUAN          PR           00920
   264792 LEDDA M PEDRAGO GRAULAU  REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          LEDESMA & RODRIGUEZ
  1420189 INSURANCE GROUP, INC.    ALFONSO FERNANDEZ CRUZ                        PO BOX 9023479                                                                    SAN JUAN          PR           00902‐3479

   264843 LEDESMA MORALES MD, JAIME                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          LEDESMA VARGAS &
   264873 VILLARRUBIA LA OFFICE                       221 PLAZA SUITE 903        AVE. PONCE DE LEON                                                                SAN JUAN          PR           00917
   696171 LEDETH DOMENECH ABREU                       61 CALLE HERNANDEZ                                                                                           ISABELA           PR           00662

   264882 LEDIALIZ GUERRERO MARTINEZ                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   264883 LEDIANIX E QUINTANA                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   696172 LEDIF SANCHEZ ORENGO                        URB VISTAS DE MONTE SOL    540 CALLE NEPTUNO                                                                 YAUCO             PR           00698
                                                      EDIF 24 APTO 306 R/MONTE
   696173 LEDIF TORRES GARCIA                         HATILLO                                                                                                      SAN JUAN          PR           00926
          LEDIT INTERNATIONAL
   264884 CORPORATION                                 PO BOX 50717                                                                                                 TOA BAJA          PR           00950‐0717

   264887 LEDOUX COTON MD, KARLA M                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   264914 LEDUCTECH SOLUTIONS INC                     URB PLAZA DE LAS FUENTES   1078 FIRLANDIA                                                                    TOA ALTA          PR           00953
   696174 LEDY R TORRES CORTES                        LOS CAOBOS                 1643 CALLE GROSELLA                                                               PONCE             PR           00731‐6119
   696175 LEDYS MONSERRATE BERRIOS                    RR 2 BOX 6966                                                                                                CIDRA             PR           00739
   696176 LEE & GARCIA ENGINEERS PSC                  P O BOX 9207                                                                                                 SAN JUAN          PR           00908
   696177 LEE A ALVARADO COSME                        HC 1 BOX 5806                                                                                                SALINAS           PR           00751
   264916 LEE A COLLINS SWAIN                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   264917 LEE A SOTO FRAGOSO                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   696178 LEE ANN RODRIGUEZ                           ALTURAS DEL PARQUE         309 CALLE ICARO                                                                   CAROLINA          PR           00987
   264920 LEE ANN TORRES ALVARADO                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
                                                      524 SAN ANSELMO AVENUE
   696179 LEE BOOKS                                   STE215                                                                                                       CALIFORNIA        CA           94960
          LEE CORP A/C DOMINGO DE LA
   696180 CRUZ PERALTA                                URB VALENCIA               305 CALLE NAVARRO                                                                 SAN JUAN          PR           00923
   264924 LEE D SANTANA RIVERA                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   696181 LEE ENGINEERING LLC                         P O BOX 9207                                                                                                 SAN JUAN          PR           00908‐0207
   264925 LEE GEORGE MALDONADO                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   264926 LEE GONZALEZ DE OLEO                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  264928 LEE H ROSARIO ORTIZ                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  264929 LEE JOHN                                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  264931 LEE M AYALA SEDA                             REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  696183 LEE M CRUZ                                   HC 01 BOX 4716                                                                                                    ARROYO            PR         00714
  264932 LEE M QUINONEZ DELGADO                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  696184 LEE M RIVERA                                 RR 01 BOX 2426                                                                                                    CIDRA             PR         00739‐9607
  264933 LEE MD , SUNG K                              REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  264934 LEE MD, DAEWOO                               REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  264936 LEE MENTAL HEALTH CENTER                     2789 ORTIZ AVE                                                                                                    FT MYERS          FL         33905
  696186 LEE PETER QUETEL                             1215 N NASH ST                                                                                                    ARLINGTON         VA         22209
                                                      3511 DR MARTIN LUTHER KING
   264939 LEE PHYSICIANS GROUP                        JR BLVD                                                                                                           FORT MYERS        FL         33916
   264940 LEE R GONZALEZ DE OLEO                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   264942 LEE ROY ARROYO ORTIZ                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   264943 LEE SANDRA MOJICA CARRION                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   696187 LEE SERVICE STATION                         APARTADO 2751                                                                                                     SAN SEBASTIAN                00685
   696188 LEE SHEET METAL                             109‐97 GRANDE PREIRIE                                                                                             ALBERTA           CA         L8N1         Canada
   696189 LEE TIRE CENTER                             HC‐01 BOX 4108                                                                                                    SALINAS           PR         00751‐9710
                                                                                                             AVE. PONCE DE LEON EDIF.
  1422965 LEE WHITFIELD, JUSTIN                       EDUARDO A. VERA‐RAMIREZ      LANDRON & VERA LLC 1606   BOGORICIN SUITE 501                                        SAN JUAN          PR         00909
   696190 LEE WILLIAM CARDONA                         CARIBE GARDENS               G9 CALLE LIRIO                                                                       CAGUAS            PR         00725
   264945 LEE X MERCADO AGUILAR                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   696191 LEE Y CASTRO RODRIGUEZ                      URB MABU                     E 15 CALLE 2                                                                         HUMACAO           PR         00791
   696192 LEE ZAIDA BERMUDEZ COLON                    BOX 716                                                                                                           CIDRA             PR         00739

   696193 LEE ZUANETTE M SEMPRIT FEBUS PARCELAS FALU                               286 CALLE 32                                                                         SAN JUAN          PR         00924
   264946 LEEAN Z GOMEZ VAZQUEZ        REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   264948 LEEMAR MERCED RODRIGUEZ      REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   696196 LEENMAR VALDES MONTIJO       PO BOX 1191                                                                                                                      MOROVIS           PR         00787
   264949 LEES Z ROMAN GARCIA          REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   264950 LEEXA M MARTINEZ LUGO        REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   264951 LEF SUBS INC                 BOX 360313                                                                                                                       SAN JUAN          PR         00936‐0313
   264952 LEFARA PAGAN RIVERA          REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  1256632 LEFEBRE TIRE CENTER          REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   264959 LEFEBRE TIRE CENTER, INC.    HC 3 BOX 8890                                                                                                                    BARRANQUITAS      PR         00794
          LEFEBREX FERNANDEZ MD,
   264960 AMEDEE                       REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   264962 LEFFINGWELL INF.ASSOC.INC.   P.O.BOX 3067                                                                                                                     CAYEY             PR         00737
          LEFTHY E. ESQUILIN
   264971 CARRASQUILLO                 REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LEG AMERICANA LUIS F ALVAREZ LEG AMER LUIS F ALVAREZ
   696197 DELGADO                      DELGADO                                     PUESTO 140                                                                           SAN JUAN          PR         00926
   264973 LEGACY ADVERTISING CORP      403 LOS MONTES                                                                                                                   DORADO            PR         00646
   264974 LEGACY GOOD SAMARITAN        1015 NW 22ND AVE                                                                                                                 PORTLAND          OR         97210
   264975 LEGACY PHYSICAL THERAPY      MEDICAL RECORDS                             PO BOX 1155                                                                          ELLENTON          FL         34222‐1156
   696198 LEGAL ACTION CENTER          153 WAVERLY PL                                                                                                                   NEW YORK          NY         10014
   696199 LEGAL ADVISOR P.S.C.         P O BOX 566                                                                                                                      BAYAMON           PR         00960
   264977 LEGAL ADVISORS GROUP PSC     PO BOX 194178                                                                                                                    SAN JUAN          PR         00919‐4178

   264978 LEGAL ADVISORS GROUPM PSC                   PO BOX 194178                                                                                                     SAN JUAN          PR         00919‐4178
   264979 LEGAL COMPLIANCE PSC                        PO BOX 610                                                                                                        MERCEDITA         PR         00715
   264980 LEGAL CONSULTANTS P S C                     PMB 299                      PO BOX 2500                                                                          TRUJILLO ALTO     PR         00977‐2500



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  264981 LEGAL COUNSELORS PSC                         712 PONCE DE LEON                                                                                                    SAN JUAN              PR           00918

   264982 LEGAL EXTERNAL SERVICES INC                 AREA DEL TESORO               DIVISION DE RECLAMACIONES                                                              SAN JUAN              PR           00902‐4140
   264986 LEGAL OPS INC                               COND PLAYA DORADA             7045 CARR 187 APT TH4                                                                  CAROLINA              PR           00979
   264987 LEGAL OUTDOOR                               POX 11504                                                                                                            SAN JUAN              PR           00910‐2604
   264988 LEGAL PARTNERS PSC                          6777 ISLA VERDE               AVE STE 217                                                                            CAROLINA              PR           00979
   264989 LEGAL SOLUTIONS LLC                         118 AVE CARLOS CHARDON        BOX 089                                                                                SAN JUAN              PR           00918
   696200 LEGARRETA S DIGGER                          HC 02 BOX 7634                                                                                                       CAMUY                 PR           00627

   265001 LEGARRETA SANTIAGO, AUREA   REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
                                      CARR. 867 KM. 7.3 PARQUE
   696201 LEGEND INTERNATIONAL, CORP. INDUSTRIAL                                    P.O. BOX 2282                                                                          TOA BAJA              PR           00952

   265008 LEGENDS GOLDEN COMMUNITY                    273 SIERRA MORENA SUITE 502                                                                                          SAN JUAN              PR           00926
   696202 LEGION AMERICANA AUFELIN                    URB SANTIAGO IGLESIA          1793 CALLE PAZ GRANELA                                                                 SAN JUAN              PR           00921
   265011 LEGION AMERICANA AUXILIAR                   HC 02 BOX 14173                                                                                                      CAROLINA              PR           00987
          LEGION AMERICANA DE JUANA
   696203 DIAZ INC                                    HC 01 BOX 6110                                                                                                       JUANA DIAZ            PR           00795

   696205 LEGION AMERICANA DE UTUADO PO BOX 364                                                                                                                            UTUADO                PR           00641
          LEGION AMERICANA DISTRITO IX
   265012 CAGUAS                       URB BAIROA                                   CK 6 BOHIQUE                                                                           CAGUAS                PR           00725

          LEGION AMERICANA MARCELO
   696206 GOTAY MALDONADO             PO BOX 266                                                                                                                           FAJARDO               PR           00738
          LEGION AMERICANA P 67
   265013 RINCON                      P O BOX 656                                                                                                                          RINCON                PR           00677
          LEGION AMERICANA PUESTO #83
   265014 DE HATILLO                  56 CALLE PEDRO PABLO                                                                                                                 HATILLO               PR           00659
          LEGION AMERICANA PUESTO 134
   696207 GUAYNABO                    55 CALLE CARRASCO                                                                                                                    GUAYNABO              PR           00970
          LEGION AMERICANA PUESTO 150
   696208 INC                         P O BOX 3349                                                                                                                         AGUADILLA             PR           00605‐3349
          LEGION AMERICANA PUESTO 4
   696209 GUAYAMA INC                 PO BOX 702                                                                                                                           GUAYAMA               PR           00785
          LEGION AMERICANA PUESTO 48
   696210 INC                         BO JUAN SANCHEZ                               CALLE 5                                                                                BAYAMON               PR           00960
          LEGION AMERICANA PUESTO 50
   696211 DE LOIZA                    PO BOX 517                                                                                                                           LOIZA                 PR           00772
          LEGION AMERICANA PUESTO 51
   696212 RODRIGO FONT                PO BOX 343                                                                                                                           SAN SEBASTIAN         PR           00685

   696213 LEGION AMERICANA PUESTO 66 P O BOX 274                                                                                                                           SAINT JUST            PR           00978
          LEGION AMERICANA PUESTO 7
   696214 HUMACAO                    50 EXTENSION PARQUE                                                                                                                   HUMACAO               PR           00791
          LEGION AMERICANA PUESTO
   696215 NUM 41                     CENTRO COMERCIAL LAS LOMAS                                                                                                            SAN JUAN              PR           00922

   696216 LEGNA A CALDERON FERNANDEZ PO BOX 360190                                                                                                                         SAN JUAN              PR           00936
   265015 LEGNA I CORREA ESTRADA     REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
   696217 LEGNA I GONZALEZ GARCIA    HC 02 BOX 10008                                                                                                                       YAUCO                 PR           00698
   265016 LEGNA I HERNANDEZ RIVERA   REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED       REDACTED
   696218 LEGNA I PEREZ LOPEZ        URB LOS ARBOLES                                323 CALLE POMARROSA                                                                    RIO GRANDE            PR           00745



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  265018 LEGNA L SIBERON BELTRAN                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   696220 LEGNA M SANTIAGO BARROSO                    PO BOX 270                                                                                                              GUAYNABO             PR         00970
   265020 LEGNA M VELEZ GARCIA                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   265021 LEGNA M. MATOS COLÓN                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   265022 LEGNA M. RODRIGUEZ MOJICA                   REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          LEGNA MARIE RODRIGUEZ
   265023 MOJICA                                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   265024 LEGNA MEDINA MOLINA                         REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   265026 LEGNA RIVERA BURGOS                         REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   696221 LEGNA TORRES TORRES                         JARDINES DE CUNTRY CLUB       BP 25 CALLE 117                                                                           CAROLINA             PR         00983
   696222 LEGNALIE DAVILA MELENDEZ                    HC 02 BOX 44374                                                                                                         VEGA BAJA            PR         00693
   265027 LEGNALY DIAZ LOPEZ                          REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   696223 LEGNO M RODRIGUEZ MOJICA                    PO BOX 8701                                                                                                             CAGUAS               PR         00726
          LEGORE ENVIRONMENTAL
   696224 ASSOCIATES INC                              2804 GULF DRIVE                                                                                                         HOLMES BEACH         FL         34217‐2144
          LEHIGH MUNICIPAL LEASING
   696225 (PAYMENT SERV)                              P O BOX 978                                                                                                             TRELERTWN            PA         18087‐0978
   265065 LEHIGH NEUROLOGY                            PO BOX 61507                                                                                                            KING OF PRUSSIA      PA         19406
          LEHIGH REGIONAL MEDICAL
   265066 CENTER                                      PO BOX 409822                                                                                                           ATLANTA              GA         30384‐9822
   265067 LEHIGH SAFETY SHOE CO                       P O BOX 371958                                                                                                          PITTSBURG            PA         15250‐7958
          LEHIGH VALLEY CENTER FOR
   265068 SIGHT                                       1739 FAIRMONT ST                                                                                                        ALLENTOWN            PA         18104‐0000
          LEHIGH VALLEY COMMUNITY
   265069 MENTAL HEALTH CENTER                        PO BOX 5349                                                                                                             BETHLEHEM            PA         18015‐0349
          LEHIGH VALLEY FAMILY HEALTH
   265070 CENTER                                      1730 W CHEW ST                                                                                                          ALLENTOWN            PA         18104
   265071 LEHIGH VALLEY HOSPITAL                      PO BOX 6410                                                                                                             SOUTHEASTERN         PA         19398

   265072 LEHIGH VALLEY MENTAL HEALTH 210 N 6TH ST                                                                                                                            ALLENTOWN            PA         18102‐0000

   265073 LEHIGH VALLEY PSYSICIAN GRP                 PO BOX 1754                                                                                                             ALLENTOWN            PA         18105‐1754
          LEHMAN BROTHERS HOLDINGS                    THOMAS HOMMELL, GENERAL       1271 AVENUE OF THE AMERICAS,
  1260406 INC.                                        COUNSEL                       35TH FLOOR                                                                                NEW YORK             NY         10020

   265074 LEHMAN BROTHERS INC.                        70 HUDSON STREET 7 TH FLOOR                                                                                             JERSEY CITY          NJ         07302
   696227 LEICA CAMARA INC                            156 LUDLOW AVE                                                                                                          NORTH WALES          NJ         07647
   831463 Leica Geosystems                            PO Box 536874                                                                                                           Atlanta              GA         30353
          LEICHA MARIE ZAPATA
   265076 SANTIAGO                                    REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   265077 LEIDA A. DIURAND ARCE                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   265080 LEIDA B COLON RODRIGUEZ                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   696231 LEIDA CANALES MARTINEZ                      BO SABANA SECA 8457           CALLE CEREZA                                                                              TOA BAJA             PR         00952
   696232 LEIDA CARRERO OLMO                          HC 1 BOX 5585                                                                                                           HORMIGUEROS          PR         00660
   696233 LEIDA CEDADO BARETTY                        I‐RA SECCION VILLA DEL REY    T 10 CALLE VOKINHAGH                                                                      CAGUAS               PR         00725
   696234 LEIDA COLON                                 PO BOX 50063                                                                                                            SAN JUAN             PR         00902
   696235 LEIDA E CORA SERRANO                        10 BERG ST APT B                                                                                                        DANBURY              CT         06810
   265081 LEIDA E CORUJO RODRIGUEZ                    REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   696236 LEIDA E MARTINEZ SOTOMAYOR URB RADIO VILLE                                23 CALLE 2                                                                                ARECIBO              PR         00612



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  696237 LEIDA E OTERO PAGAN                          P O BOX 12017                                                                                                      HATILLO             PR         00659
  696238 LEIDA E RAMOS NEVAREZ                        717 CALLE MAGDALENA                                                                                                SAN JUAN            PR         00915
  265082 LEIDA E VELEZ PAGAN                          REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  696239 LEIDA G ALICEA COTTO                         COND CHATEAU SAN JUAN E6                                                                                           SAN JUAN            PR         00918
  696241 LEIDA G COLLAZO BURGOS                       33 CALLE BUENOS AIRES                                                                                              COAMO               PR         00769
  265083 LEIDA GONZALEZ DEGRO                         REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  265085 LEIDA HERNANDEZ TARAFA                       REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  265086 LEIDA I HERNANDEZ LUCENA                     REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   265087 LEIDA J SANTIAGO RODRIGUEZ                  REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696242 LEIDA L CUEVAS RAMOS                        PMB 3 P O BOX 25000                                                                                                QUEBRADILLAS        PR         00678
   265090 LEIDA LIZ ESPINOSA DIAZ                     REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265091 LEIDA M GONZALEZ VAZQUEZ                    REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      COND TORRE DEL PARQUE
   696243 LEIDA M RIVERA VELEZ                        NORTE                        APT 1405                                                                              BAYAMON             PR         00956
                                                                                   7MA SECC HM 37 CALLE RAMON
   696244 LEIDA M SANTIAGO DECLET                     URB LEVITTOWN                MORLA                                                                                 TOA BAJA            PR         00949
   696228 LEIDA M SOLTERO VENEGAS                     MANSION DEL SOL              106 VIA PRIMAVERAL                                                                    TOA BAJA            PR         00952
   265093 LEIDA M VERA NATER                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265094 LEIDA M. SOLTERO VENEGAS                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265095 LEIDA MEDINA LEVANTE                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696246 LEIDA MOLINA CORDERO                        VAN SCOY E‐17                1 CALLE PRINCIPAL                                                                     BAYAMON             PR         00957
   265096 LEIDA MONTALVO CORDERO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696247 LEIDA NEGRON IRIZARRY                       PO BOX 199                                                                                                         YAUCO               PR         00698
   696248 LEIDA PAGAN TORRES                          PLAZA ANTILLANA I‐6301       151 CESAR GONZALEZ                                                                    SAN JUAN            PR         00918
   265099 LEIDA PARIS VELEZ                           REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696250 LEIDA RAMIREZ ROCHET                        256 E CALLE IGNACIO FLORES                                                                                         MAYAGUEZ            PR         00680‐3258
   696251 LEIDA RIVERA GONZALEZ                       AVE JOSE ZAYAS GREEN         REP SAN ANTONIO APT C 5                                                               BARRANQUITAS        PR         00794
   265100 LEIDA RODRIGUEZ MATOS                       REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696252 LEIDA RODRIGUEZ VAZQUEZ                     RES KENNEDY                  EDIF 4 APT 430                                                                        MAYAGUEZ            PR         00680
   696254 LEIDA RUIZ RODRIGUEZ                        P O BOX 1814                                                                                                       TRUJILLO ALTO       PR         00977
   265101 LEIDA S TORRE S RIVERA                      REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265102 LEIDA S. TORRES RIVERA                      REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LEIDA SOTO Y/O RICHARD
   265103 ROSADO                                      REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265104 LEIDA T GARCIA SANTIAGO                     REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696258 LEIDA V CINTRON MERRERO                     18 CALLE JOSE VALIENTE                                                                                             COROZAL             PR         00783
   696259 LEIDA V GUZMAN MIRANDA                      P O BOX 1070                                                                                                       COAMO               PR         00769
   265105 LEIDALIZ RIVERA RAMOS                       REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696261 LEIDED LEBRON                               HC 1 BOX 7686                                                                                                      YAUCO               PR         00698‐9729
   696262 LEIDI DE LEON                               SOLAR 220 COM SAN ISIDRO                                                                                           CANOVANAS           PR         00729

   696263 LEIDIANA RODRIGUEZ TORRES                   P O BOX 1849                                                                                                       JUANA DIAZ          PR         00795
   265106 LEIDIANA SANTIAGO VEGA                      REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696264 LEIDY M REYES DELGADO                       URB MIRAFLORES               448 CALLE 53                                                                          BAYAMON             PR         00957
   265108 LEIDYLIZ MARRERO REYES                      REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   696265 LEIGHT SUZANNE GOOD MARC                    740 15TH STREET NW                                                                                                 WASHINTON           DC         20005
   696266 LEIKA TERON ALVAREZ                         1851 CALLE LOIZA APT A                                                                                             SAN JUAN            PR         00911
   696270 LEILA AGUILA OTERO                          PO BOX 261                                                                                                         GARROCHALES         PR         00652
          LEILA ALEXANDRA MARRERO
   265111 MALDONADO                                   REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696271 LEILA ALVAREZ COLON                         PO BOX 1431                                                                                                        DORADO              PR         00646



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  265113 LEILA BERMUDEZ GONZALEZ                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  265114 LEILA C CABELLO LOPEZ                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  696267 LEILA CASTRO MOYA                            105 AVE ARTERIAL HOSTOS   BOX 236                                                                                SAN JUAN            PR         00918‐2991
         LEILA DE LOS A RODRIGUEZ
  696275 ROMAN                                        P O BOX 1404                                                                                                     ARECIBO             PR         00613
  265115 LEILA DIAZ OCASIO                            REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  265116 LEILA DOMINGUEZ SANCHEZ                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  696268 LEILA E SABATER QUI¥ONES                     PO BOX 1015                                                                                                      RIO GRANDE          PR         00745
  696276 LEILA FRANCO                                 250 AVE IRLANDA APT 221                                                                                          BAYAMON             PR         00957

   696277 LEILA G GINORIO CARRASQUILLO URB VERSALLES                            P23 CALLE 15                                                                           BAYAMON             PR         00959
   696278 LEILA G HERNANDEZ RIVERA     URB LOS MAESTROS                         511 CALLE INDEPENDENCIA                                                                SAN JUAN            PR         00918‐3321
   265119 LEILA GARCIA MATIAS          REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696279 LEILA GARCIA MORALES         P O BOX 718                                                                                                                     GUAYNABO            PR         00970
   696280 LEILA GONZALEZ RIVERA        PO BOX 19175                                                                                                                    SAN JUAN            PR         00910
   696281 LEILA I BONILLA GONZALEZ     PO BOX 113                                                                                                                      LAS PIEDRAS         PR         00771
   265120 LEILA I DE JESUS OLMO        REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696282 LEILA I ROSADO OLIVERAS      1 BO PAJAROS                                                                                                                    TOA BAJA            PR         00949
   265121 LEILA I RUBERO CENTENO       REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696285 LEILA M COMULADA TORRES      COND TORRE LINDA                         85 CALLE MAYAGUEZ APT 804                                                              SAN JUAN            PR         00917
   696286 LEILA M SILVA                IRB COLINAS DE FAIR VIEW                 4D 11 CALLE 202                                                                        TRUJILLO ALTO       PR         00976
   265122 LEILA M VIRELLA PAGAN        REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696287 LEILA MALAVE FELIX           URB VICTOR BRAEGER                       1 CALLE LUHN                                                                           GUAYNABO            PR         00966
   696288 LEILA MEDINA RIVERA          EXT ZENO GANDIA                          EDIF A 7 APT 107                                                                       ARECIBO             PR         00612
   265125 LEILA MUNIZ ROMERO           REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696289 LEILA O GARDNER LACOURT      PO BOX 1100                                                                                                                     HORMIGUEROS         PR         00660
   265126 LEILA ORTIZ AVILES           REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696291 LEILA P COLON LOPEZ          URB EL PARAISO                           131 CALLE EUFRATES                                                                     SAN JUAN            PR         000926
   696292 LEILA P. BALAGUER            URB LA VILLA DE TORRIMAR                 120 CALLE REINA MARGARITA                                                              GUAYNABO            PR         00969
   696269 LEILA PABLOS VAZQUEZ         VILLA UNIVERSITARIA                      BH 6 CALLE 35                                                                          HUMACAO             PR         00791
   696293 LEILA R CRUZ CARRILLO        HC 02 BOX 17361                                                                                                                 ARECIBO             PR         00612
   696294 LEILA RIVERA ACOSTA          PO BOX 679                                                                                                                      VIEQUES             PR         00765
   265127 LEILA RODRIGUEZ MORALES      REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696295 LEILA ROSADO RIVERA          APT 1971                                                                                                                        SAN GERMAN          PR         00683

   265128 LEILA VELAZQUEZ RODRIGUEZ                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   696296 LEILAINE RODRIGUEZ FELICIANO 232 AVE ELEONOR ROOSEVELT                                                                                                       SAN JUAN            PR         00907

   265129 LEILAMAR CHEVERE FIGUEROA                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   265130 LEILANI CARTAGENA SANTANA                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265131 LEILANI CRUZ NARVAEZ                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265132 LEILANI K COTTO GOMEZ                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265133 LEILANI MATTEI ROMAN                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   696297 LEILANI MEDINA MONGE                        VILLA NAVARRA             609 CALLE RAFAEL MERCADO # C                                                           SAN JUAN            PR         00924
   265134 LEILANIE LOUBRIEL RAMOS                     REDACTED                  REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   265135 LEILANIE Y CRESPO HERNANDEZ REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LEILANIS HERNANDEZ
   265136 BERMUDEZ                    REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265138 LEILANY R. LOPEZ LOPEZ      REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  265139 LEILANY ROBLES SANTIAGO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  265140 LEILANY ROSADO TORRES                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   265141 LEILANYS M RIVERA RODRIGUEZ                 REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   696298 LEILIANI CHIESA GONZALEZ                    PO BOX 736                                                                                                    JAYUYA              PR         00664
   696299 LEILIE ANN RODRIGUEZ DIAZ                   HC 03 BOX 7885                                                                                                BARRANQUITAS        PR         00794
   696301 LEINAD J MARTINEZ AVILES                    JARD DEL C                  PP 23 CALLE 49                                                                    PONCE               PR         00728

   696302 LEINAMAR SANTIAGO AGOSTO                    HC 01 BOX 3035                                                                                                BAJADERO            PR         00616

   696303 LEINYN HERNANDEZ CORRALIZA                  HC 02 BOX 6795                                                                                                FLORIDA             PR         00650
   265144 LEIRA FRATICELLI QUINONES                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   265147 LEIRA I FIGUEROA COLLAZO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   265148 LEIRA MARZAN GONZALEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          LEIRAM HERNANDEZ
   265150 GASTALITURRI                                REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   265151 LEIRANNETTE RUIZ SANTIAGO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   265152 LEIRYANN RODRIGUEZ BURGOS                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   696304 LEISA ESTRADA SANTIAGO                      P O BOX 100                                                                                                   BARCELONETA         PR       00617
   265153 LEISA JORGE MARTINEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   696305 LEISA VELEZ CRUZ                            234 CALLE CACHICHUELA                                                                                         ISABELA             PR       00662
   265154 LEISBY DELGADO LOZADA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   265155 LEISCHLA PEREZ PEREZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   265157 LEISHA CLAUDIO RIVERA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   265158 LEISHA M. ALAMO OSORIO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
   265160 LEISHA NIEVES FERRER                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED

   265161 LEISHA S QUINONES CAMACHO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   265162 LEISHIA M RAMOS DE DIOS                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   265163 LEISHKA SALGADO DIAZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   265164 LEISHLA ESMURIA ACEVEDO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   265165 LEISHLA M. ALAMO OSORIO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          LEISHLA MERIE ACEVEDO
   696306 ACEVEDO                                     HC 1 BOX 7164                                                                                                 MOCA                PR         00676
   265166 LEISHLA MORENO GUTIERREZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   265167 LEISHLA O PONCE SILVA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   265168 LEISHLA RIVERA CRUZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          LEISHLA S CORDERO
   696307 ALMODOVAR                                   HC 10 BOX 7557                                                                                                SABANA GRANDE       PR         00637
   265170 LEISHMARIE GARCIA SANTOS                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   265171 LEISKA M. SANCHEZ MORALES                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   265172 LEISMARIE SANCHEZ MEJIAS                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          LEISON MALDONADO                            1029 PDA 15 PUERTO ARTURO
   696308 MONSERRATE                                  ST                                                                                                            SAN JUAN            PR         00907
   265173 LEISURE SERVICES INC                        URB ATLANTIC VIEW           93 CALLE VENUS                                                                    CAROLINA            PR         00979
   265174 LEISURE TRAVEL                              PONCE DE LEON 1610                                                                                            SAN JUAN            PR         00909
   696310 LEITHA Y CANDELAS ORTEGA                    PO BOX 23                                                                                                     MANATI              PR         00674
   265176 LEITY ACEVEDO MORALES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   265179 LEIVA JORDAN MD, CARLOS A                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   265182 LEIXA Y NEGRON PARES                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   265183 LEIZA M CINTRON PEREZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   265184 LEIZA M RIVERA VARGAS                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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   265185 LELEAN GONZALEZ GONZALEZ                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   265186 LELIA MORALES MUNICH                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   696312 LELIANA DIAZ SEPULVEDA                      URB JARDINES DE ARROYO        6 CALLE Z                                                                                ARROYO              PR       00714
   265187 LELIS ALVARADO                              REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   696313 LELIS ALVARADO MATOS                        BO OBRERO STATION             PO BOX 14427                                                                             SAN JUAN            PR       00916‐4427
   265188 LELIS H LOPEZ ALEMAN                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   265189 LELOS BUS LINE                              REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
  1256633 LELOS BUS LINE INC                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   265191 LELOS BUS LINE, INC                         HC 05 BOX 7832                                                                                                         YAUCO               PR       00698
   265192 LELY B BURGOS ORTIZ                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
          LELY STEPHANIE FELICIANO
   265193 VELAZQUEZ                                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   265194 LELY TORO MOLINA                            REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   265197 LEMA EMS                                    VICTORIA STATION P O BOX 38                                                                                            AGUADILLA           PR           00605‐0038
   265199 LEMANUEL SEGARRA CRUZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   696315 LEMARAL AUTO AIR INC                        171 AVE ROOSEVELT(MARGINAL)                                                                                            SAN JUAN            PR           00917

   696316 LEMARIE AYALA SANCHEZ                       VALLE TOLIMA                  O 2 CALLE MILAGROS CARRILLO                                                              CAGUAS              PR           00725
   265200 LEMARIE HERNANDEZ DIAZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696317 LEMARYS DE LEON RIVERA                      COLINA DEL PLATA              54 CALLE CAMINO DEL VALLE                                                                TOA ALTA            PR           00953
   265203 LEMIL COLLAZO                               REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LEMUEL A MARTINEZ
   696318 ENCARNACION                                 RES ROBERTO CLEMENTE          CALLE 4 EDIF B 11 APT 7                                                                  CAROLINA            PR           00987
   265209 LEMUEL A TORRES ROSARIO                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696319 LEMUEL APONTE CABAN                         HC 8 BOX 997                                                                                                           PONCE               PR           00731
          LEMUEL CANCEL Y OLGA N
   265210 COLON                                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696321 LEMUEL COLON                                BO CANDELARIA                 375 CALLE MARGINAL                                                                       TOA BAJA            PR           00951
   265211 LEMUEL CUASCUT CEDENO                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696322 LEMUEL DE JESUS VARONA                      PO BOX 1198                                                                                                            LUQUILLO            PR           00773‐1198
   265213 LEMUEL GONZALEZ LABOY                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696323 LEMUEL GONZALEZ VELEZ                       HC 01 BOX 4555                                                                                                         QUEBRADILLA         PR           00678
   265214 LEMUEL GUZMAN PABON                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696324 LEMUEL HOMAR RAMOS                          HC 03 BOX 22834                                                                                                        LAJAS               PR           00667
   696325 LEMUEL IRIZARRY HEYLIGER                    BO TRASTALLERES               69 SAN PEDRO                                                                             MAYAGUEZ            PR           00680
   696326 LEMUEL J GONZALEZ OTERO                     PO BOX 332                                                                                                             MOROVIS             PR           00687
   265216 LEMUEL MARTINEZ BONILLA                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   265217 LEMUEL MASSO MARRERO                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   265218 LEMUEL MELENDEZ HERNANDEZ REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   265219 LEMUEL ORTIZ DIAZ         REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696327 LEMUEL PEREZ RODRIGUEZ    PO BOX 399                                                                                                                               BAJADERO            PR           00616

   696328 LEMUEL QUIJANO GUADALUPE                    RR 2 BOX 355                                                                                                           SAN JUAN            PR           00926
   265220 LEMUEL TORRES ROSADO                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   265223 LENA A PENA PASCUAL                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   265224 LENA CHANLATTE ITHIER                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LEND LEASE US CONSTRUCTION
   265226 INC                                         P O BOX 32755                                                                                                          CHARLOTTE           NC           28232
   696331 LENDA PAGAN MATOS                           HC 67 BOX 15955                                                                                                        FAJARDO             PR           00738



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  265228 LENELIS M LARRIUZ SOTO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  696332 LENER BATISTA GARCIA                         P O BOX 50                                                                                                        ADJUNTAS            PR         00601
  265229 LENIA BOTTI GILCHRIST                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      CONDIMINIO TORRES DEL
   696334 LENIEL COLLAZO NAZARIO                      PARQUE                     APARTQAMENTO 410 NORTE                                                                 BAYAMON             PR         00956
          LENIEL COLLAZO Y ANABELLE
   265230 SOTO                                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   265231 LENIEL OMAR SANTANA MUNIZ                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265232 LENIEL SANTANA MUNIZ                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265233 LENIER BERRIOS RODRIGUEZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696335 LENIER PEREZ MARTINEZ                       HC4 BOX 44175                                                                                                     LARES               PR         00669
   696336 LENIER VELEZ DOMENECH                       P O BOX 48                                                                                                        LARES               PR         00669 0048

          LENIGH VALLEY MUHLENBERG
   265234 MEDICAL CENTER                              PO BOX 152472                                                                                                     IRVING              TX         75015‐2472
   265235 LENIH A AROCHO ACEVEDO                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   696337 LENIN CEPEDA ROMERO                         VILLA DE SAN ANTON         N23 CALLE EDUARDO KERCADO                                                              CAROLINA            PR         00987
   265236 LENIN FELICIANO TAPIA                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265237 LENIN W CACERES THAMINA                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696339 LENIO LARACUENTE SANCHEZ                    RESIDENCIAL SAN FERNANDO   EDIF 16 APT 253                                                                        SAN JUAN            PR         00927
   696340 LENIS DROPEZA                               RR 2 BOX 5578                                                                                                     TOA ALTA            PR         00953
   696341 LENIS E FELICIANO MARTINEZ                  HC 01 BOX 10614                                                                                                   ARECIBO             PR         00612
   696342 LENIS E PONT TORO                           URB EL VALLE               106 CALLE PALMA REAL                                                                   CAGUAS              PR         00727
   265238 LENIS M BERRIOS DIAZ                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696343 LENIS N OCASIO AGOSTO                       P O BOX 1418                                                                                                      CANOVANAS           PR         00729
   265239 LENISSE PEREZ SANTIAGO                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265240 LENISSE PORTALATIN PEREZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696345 LENIT MERCADO MATIAS                        HC 1 BOX 9152                                                                                                     TOA BAJA            PR         00949
   696346 LENIZA VEGA CONDE                           1702 PASEO LAS CATALINAS                                                                                          CAGUAS              PR         00725
   265241 LENM CONSTRUCTION CORP                      P O BOX 1094                                                                                                      MAUNABO             PR         00707
   265242 LENMARIE IRIZARRY PABON                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265243 LENNA M AVILES PORRATA                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265244 LENNEN VELEZ ALICEA                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265245 LENNIE E DE ORBETA CRUZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265246 LENNIE M ORTEGA GONZALEZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265247 LENNIE W MARTINEZ TARAFA                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696347 LENNIK VELEZ HERNANDEZ                      PO BOX 142633                                                                                                     ARECIBO             PR         00614

   696348 LENNIN SEPULVEDA FIGUEROA                   URB VILLAS ALBA            J 3 CALLE 11                                                                           SABANA GRANDE       PR         00637

   265248 LENNIS CARABALLO FONTANEZ                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

          LENNOX RIVERA
   265251 RODRIGUEZ/ARLYN RODRIGUEZ                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265252 LENNY A FRED NAVARRO                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696349 LENNY COLON                                 HC 02 BOX 7085                                                                                                    BARRANQUITAS        PR         00794
   265253 LENNY CORA GOMEZ                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265254 LENNY E SANTIAGO REYES                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696352 LENNY GONZALEZ CHEVEREZ                     HC 1 BOX 1901                                                                                                     MOROVIS             PR         00687
   696353 LENNY GONZALEZ GONZALEZ                     RR 6 BOX 11168‐A                                                                                                  SAN JUAN            PR         00926




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   265255 LENNY JOENN REYES GONZALEZ                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   265256 LENNY PAGAN RODRIGUEZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696354 LENNY RODRIGUEZ                             URB VALENCIA               549 CALLE ASTORGAS                                                                      SAN JUAN            PR           00923
   265257 LENNY SANTIAGO RAMOS                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   265258 LENNY TUA MENDEZ                            REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   265259 LENNYS J GARCIA VEGA                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   265260 LENNYS M NATAL ORTIZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   265261 LENNYS Z CABRERA LOPEZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   265262 LENORA BYER PONS                            REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   265263 LENOX HILL HOSPITAL                         PO BOX 19058                                                                                                       GREEN BAY           WI           54307‐9058
   696356 LENOX HILL INTERVENCIONAL                   PO BOX 1054/LHS                                                                                                    NEW YORK            NY           10021
   265264 LENS CRAFTERS                               PLAZA LAS AMERICAS         525 AVE FD ROOSEVELT                                                                    SAN JUAN            PR           00918
   265265 LENS VISION LLC                             GALERIA PASEOS MALL #116   AVE LAS CUMBRES                                                                         SAN JUAN            PR           00926
   265266 LENS VISION OUTLET                          75 CALLE BETANCES                                                                                                  VEGA BAJA           PR           00693
   265267 LENSCRAFTERS                                PLAZA DEL CARIBE MALL      2050 PONCE BY PASS STE 101                                                              PONCE               PR           00717‐1313
   265269 LENUEL RODRIGUEZ CABEZA                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696358 LENYS M MARTINEZ ORTIZ                      JARDINES DEL CARIBE        TT‐31 CALLE 46                                                                          PONCE               PR           00728‐2642
          LENYXA M CARRASQUILLO
   265270 LASANTA                                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   265271 LEO A CRUZ RIOS                             REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696361 LEO BURNETT PUERTO RICO.                    PO BOX 361856                                                                                                      SAN JUAN            PR           00936

   265273 LEO D SOTOMAYOR HERNANDEZ REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   265274 LEO E LOPEZ MONTIJO       REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   265275 LEO G PABON JIMENEZ       REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696363 LEO Y LIU                 810 MELLON STREET                                                                                                                    LITTLE ROCK         AR           72205
   265277 LEO ZURKOUSKY QUINONES    REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   265278 LEOB CONSTRUCTION         P O BOX 2507                                                                                                                         GUAYNABO            PR           00970
          LEOBARDO ALVARADO
   265279 GONZALEZ                  REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   265280 LEOCADIA ALEJANDRO REYES  REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   696365 LEOCADIA DE LA CRUZ GARCIA                  ALTURAS DE RIO GRANDE      AA 4 CALLE B                                                                            RIO GRANDE          PR           00745

   696366 LEOCADIA GUADALUPE RESTO                    COND PARK GARDENS          TOWNHOUSE APT 212                                                                       SAN JUAN            PR           00926

   696368 LEOCADIA MERCED CARDONA                     PO BOX 8695                                                                                                        CAGUAS              PR           00736
   265281 LEOCADIO AYALA AYALA                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   265282 LEOCADIO ESCALANTE LEON                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   265283 LEOCADIO FERREIRA GONZALEZ                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696369 LEOCADIO GONZALEZ                           BOX 4521                                                                                                           AGUADILLA           PR           00603

   696370 LEOCADIO HERNANDEZ JIMENEZ URB VISTA DEL RIO                           CALLE 8 F 3                                                                             ANASCO              PR           00610

   265284 LEOCADIO MEDINA GONZALEZ                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   696371 LEOCADIO MORALES RODRIGUEZ P O BOX 2908                                                                                                                        SAN GERMAN          PR           00683‐2908
          LEOCADIO PAGAN Y ANGELICA
   265285 PAGAN                      REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   265286 LEOCADIO RAMIREZ GUZMAN    REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696372 LEOCADIO ROBLES FELICIANO  BUENA VISTA                                 136 CALLE 4                                                                             SAN JUAN            PR           00917



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  696373 LEOCRICIA BAYRON ORTIZ                       BO OBRERO                   662 CALLE 8                                                                                SAN JUAN            PR           00907

   696374 LEODANEL MONTALVO CORREA P O BOX 526                                                                                                                               GARROCHALES         PR           00652

   265288 LEODI INTERNATIONAL INC                     CALLE MAESTRO CORDERO #8                                                                                               HATO REY            PR           00917
   265289 LEODORA ORTIZ ZAPATA                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   265290 LEOFRANCIS ALICEA FLORES                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   696375 LEOMAR ROMAN HERNANDEZ                      HC 3 BOX 9709                                                                                                          LARES               PR           00669
   265292 LEOMAR SOSA CAMACHO                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   265293 LEOMAR VELEZ GERENA                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   696377 LEOMARDIS CORDERO UGARTE                    HC 1 BOX 6976                                                                                                          GUAYANILLA          PR           00656‐9732
   696379 LEOMARIS COLON ORTIZ                        PO BOX 779                                                                                                             AIBONITO            PR           00705

   265294 LEOMARIS JUSTINIANO CHARON REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   696380 LEOMARIS LOPEZ CONCEPCION                   LEVITTOWN                   JD 4 CALLE CARMELO DIAZ SOLER                                                              TOA BAJA            PR           00949

   696381 LEOMARIS MATIENZO GONZALEZ PO BOX 624                                                                                                                              NAGUABO             PR           00718
   265295 LEOMARY RIVERA CARMONA     REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   265296 LEOMINSTER HOSPITAL        60 HOSPITAL ROAD                                                                                                                        LEONMINSTER         MA           01453
   265298 LEON & JOVER LLC           5900 AVE ISLA VERDE                          SUITE 2 PMB 448                                                                            CAROLINA            PR           00979
          LEON ALVARADO, YAMIL Y     MARÍA CELESTE RODRIGUEZ
  1420190 MAPFRE PRAICO              MIRANDA                                      PO BOX 365072                                                                              SAN JUAN            PR           00936‐5072
          LEON ALVARADO, YAMIL Y     MARÍA CELESTE RODRIGUEZ
  1420191 MAPFRE PRAICO              MIRANDA                                      PO BOX 365072                                                                              SAN JUAN            PR           00936‐5072
   265345 LEON BELTRAN, CRISTAL M    REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  1420192 LEON BERRIOS, VICTOR X     GENOVEVA VALENTÍN SOTO                       PO BOX 13695                                                                               SAN JUAN            PR           00908‐3695
  1420193 LEON CALVERT, JOSE RAMON   ERASMO RODRIGUEZ                             PO BOX 1468                                                                                GUAYAMA             PR           00785

  1420194 LEON CINTRON, LIZMARIE                      CARLOS A. SOTO LARACUENTE   PO BOX 334620                                                                              PONCE               PR           00733‐4620
   265399 LEON COLLAZO, JANETTE                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   265403 LEON COLON, ALEXIS J                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   265465 LEON DE LEON MD, CARMEN DE REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   265494 LEON FIGUEROA MD, HECTOR   REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   265495 LEON FIGUEROA MD, HECTOR R                  REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   265506 LEON GARCIA DIAZ                            REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                                                  CAPARRA HEIGHTS 382 AVE
  1420195 LEON GIRAU, LUIS                            MANUEL PORRO VIZCARRA       ESCORIAL                                                                                   SAN JUAN            PR       00920
   265480 LEON HERNANDEZ, ADA N.                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   265548 LEON IRIZARRY, ALEXANDER                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   265567 LEON LAWRENCE, KATHERINE                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   696383 LEON MAITRE                                 100 CALLE TANCA                                                                                                        VIEJO SAN JUAN      PR       00901
   265638 LEON MD, FERMIN                             REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   265649 LEON MENDEZ, LINNETTE                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   265690 LEON ORTIZ MD, JUANITA C                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   265692 LEON ORTIZ, CANDIDA R                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   265706 León Pacheco, Pura                          REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED

   265711 LEON PEDROZA MD, HECTOR R                   REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  265712 LEON PEDROZA MD, YARIS A                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  265717 LEON PEREZ MD, ROBERTO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                  654 PLAZA SUITE 915 AVE.
  1420196 LEON PEREZ, NITZA N.                        MIGUEL NEGRON MATTA         MUÑOZ RIVERA                                                                          SAN JUAN            PR         00918‐4128
   265730 LEON R APONTE GUZMAN                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265736 LEON REEVES AVILES                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265713 LEON RIVERA ,LYDIA DE                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265751 LEON RIVERA CHRISTIAN                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

  1420197 LEON RIVERA, FELIX                          BERNARDO NEGRON MONTALVO 27 CALLE MUNOZ                                                                           RIVERA VILLALBA     PR         00766
   265785 LEON RIVERO MD, FELIX I                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   265787 LEON RODRIGUEZ MD, JERRY L                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265852 LEON RUBIN                                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265895 LEON STERENBERG PINEDO                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                  UNIDAD DE LITIGIOS
  1423056 LEÓN SUERO, MAGALY                          BRUNILDA FIGUEROA NATER     DEPARTAMENTO               DE RECLAMACIONES                    PO BOX 70244           SAN JUAN            PR         00936‐8244
   265938 LEON VALIENTE MD, ANA I                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                  PMB 133 1353 AVE. LUIS
  1420198 LEÓN VÉLEZ, CARLOS                          YARLENE JIMÉNEZ ROSARIO     VIGOREAUX                                                                             GUAYNABO            PR         00966‐2700
   265964 LEON VIERA MARIA, DEL L                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696385 LEON WHOLESALES                             149 CALLE VILLA                                                                                                   PONCE               PR         00731
   265972 LEON, CARMEN L.                             REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696386 LEONA KIM SCHLUGER                          1 GUSTAVE LEVY P/BOP 3000                                                                                         NEW YORK            NY         10029
   265979 LEONAL F FALCON RIVERA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265980 LEONARD CONSTRUCTION                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265981 LEONARD FIGUEROA NEGRON                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   265983 LEONARD JAURIDES RODRIGUEZ                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265984 LEONARD MARTE DE LEON                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LEONARD STRRET COUNSELING
   265986 CENTER                                      1400 LEONARD STREET NE                                                                                            GRAND RAPIDS        MI         49505
          LEONARDA FERNANDEZ
   265987 GONZALEZ                                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   265989 LEONARDA SANCHEZ ROMERO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   265990 LEONARDO A CORUJO ALVAREZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265991 LEONARDO A PEREZ SANCHEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LEONARDO A. LUCCHESI
   696389 GONZALEZ                                    SUITE 262                   PO BOX 194000                                                                         SAN JUAN            PR         00919‐4000

   265992 LEONARDO ABENDANO PEREZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   265993 LEONARDO AGOSTO SANTOS                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   696390 LEONARDO ALEJANDRO TORRES                   0‐16 CALLE 12               URB. ALTURAS DE YAUCO                                                                 YAUCO               PR         00693
          LEONARDO ALEJANDRO TORRES
   696391 HERNANDEZ                                   URB ALTURAS DE YAUCO        O 16 CALLE 12                                                                         YAUCO               PR         00698
          LEONARDO ANTONIO GARCIA
   265994 LEBRON                                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696392 LEONARDO APONTE RIOS                        PARC TIBURONES              CALLE 7 BOX 5                                                                         BARCELONETA         PR         00617

   696393 LEONARDO ARRIAGA MORALES                    URB EXT PARQUE ECUESTRE     H37 CALLE 38                                                                          CAROLINA            PR         00987



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  265995 LEONARDO ARTAUD PAJAN                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  265997 LEONARDO AVILES NEGRON                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  696394 LEONARDO AYALA FINES                         RR 36 BOX 11628                                                                                                      SAN JUAN            PR         00926
  696395 LEONARDO AYENDE                              SANTARIA 473                                                                                                         ARECIBO             PR         00612
  265998 LEONARDO BLANCO PENA                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         LEONARDO BRASA MOLINA
  696397 D/B/A                                        PO BOX 8372                                                                                                          BAYAMON             PR         00960
  696399 LEONARDO CALDERON BAEZ                       RES NEMESIO CANALES          EDIF 22 APT 416                                                                         SAN JUAN            PR         00918

   696400 LEONARDO CINTRON VAZQUEZ                    URB HACIENDA                 B 16 CALLE A                                                                            COMERIO             PR         00787
          LEONARDO COLON A/C BANCO
   696401 POPULAR                                     84 BO VIGIA                                                                                                          ARECIBO             PR         00612
   696403 LEONARDO CORREA DIAZ                        1074 2 BO CERCADILLO                                                                                                 ARECIBO             PR         00612
   265999 LEONARDO D ARTAUD PAJAN                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   696406 LEONARDO DAVILA CAMACHO                     BOX 595                                                                                                              TOA ALTA            PR         00954
          LEONARDO DE J GARCIA
   696407 DELGADO                                     HC 5 BOX 92235                                                                                                       ARECIBO             PR         00612‐9538
   266000 LEONARDO DE LA CRUZ FELIX                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LEONARDO DE LOS SANTOS
   696408 PERALTA                                     134 CALLE BUENA VISTA APT2                                                                                           MAYAGUEZ            PR         00680

   266001 LEONARDO DELGADO NAVARRO REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   266002 LEONARDO DIAZ GARCIA     REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696410 LEONARDO DIAZ SANTANA    P O BOX 1062                                                                                                                            BAJADERO            PR         00616

   696411 LEONARDO DOMENECH GARCIA URB VENUS GARDENS 1678                          CALLE MANZANILLO                                                                        SAN JUAN            PR         00926
   266003 LEONARDO E PABON COLON   REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   266004 LEONARDO E. VAZQUEZ RAMOS                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   266005 LEONARDO F ROSADO DIAZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696412 LEONARDO FALCON DIAZ                        PMB 60 HC 1 BOX 29030                                                                                                CAGUAS              PR         00725
   696413 LEONARDO FELICIANO                          EXT GUAYDIA                  66 CALLE JOSE PACHECO                                                                   GUAYANILLA          PR         00656

   696414 LEONARDO GELABERT VAZQUEZ BO GUARAGUAO                                   HC 69 BOX 15814                                                                         BAYAMON             PR         00956
   266006 LEONARDO GERENA SOTO      REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   266007 LEONARDO GONZALEZ CLAUDIO REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   696415 LEONARDO GONZALEZ CORDERO HC 1 BOX 6015                                                                                                                          MOCA                PR         00676‐9612
   696416 LEONARDO GONZALEZ CRUZ    BO ALTOZANTO RR 1                              BOX 40007                                                                               SAN SEBASTIAN       PR         00685
   266008 LEONARDO GONZALEZ LOPEZ   REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   266009 LEONARDO GONZALEZ ORTEGA                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   266010 LEONARDO GONZALEZ RIVERA  REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                    19 RES VILLA ESPERANZA APT
   696417 LEONARDO GONZALEZ SERRANO 281                                                                                                                                    SAN JUAN            PR         00926
   696419 LEONARDO GUEVAREZ         PO BOX 45                                                                                                                              MOROVIS             PR         00687
   266011 LEONARDO GUZMAN RIVERA    REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   696421 LEONARDO HENRRICY SANTIAGO URB QUINTAS DEL RIO                           M5 CALLE CAMINO DEL HOSTAL                                                              BAYAMON             PR         00961
   696422 LEONARDO I CRUZ FLORES     CARR 156 EL CAMPITO                           BUZON L 9                                                                               CAGUAS              PR         00725



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          LEONARDO I. VALENTIN
   266013 GONZALEZ                                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LEONARDO J GALLOZA /
   266014 MILAGROS GALLOZA                            REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   266015 LEONARDO J GALLOZA OCASIO                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266016 LEONARDO J HERNAIZ CRUZ                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   266017 LEONARDO J RIVERA SANTIAGO                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   696423 LEONARDO J TORRES BERRIOS                   PHB COND VILLA CAPARRA                                                                                     GUAYNABO             PR           00966

   696424 LEONARDO J VIDAL ENTRALGO                   P O BOX 363164                                                                                             SAN JUAN             PR           00936‐3164
   696425 LEONARDO JIMENEZ MARTIR                     HC 2 BOX 6965                                                                                              LARES                PR           00669
   266019 LEONARDO L BIRRIEL MILLAN                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   696427 LEONARDO L SAURI SANTIAGO                   URB LOMAS ALTA           L 14 CALLE 12                                                                     CAROLINA             PR           00987‐5450
   266020 LEONARDO L. BIRRIEL MILLAN                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266021 LEONARDO LEBRON VARGAS                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   696428 LEONARDO LIMBAL CARDONA                     HC 83 BOX 7226                                                                                             VEGA ALTA            PR           00692
   696429 LEONARDO LOCKS KEYS                         URB PUERTO NUEVO         620 AVE ANDALUCIA                                                                 SAN JUAN             PR           00920
   696430 LEONARDO LOPEZ MORALES                      HC 33 BOX 5532                                                                                             DORADO               PR           00646

   266022 LEONARDO LOPEZ RODRIGUEZ                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LEONARDO M ALDRIDGE
   266023 KONTOS                                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   266024 LEONARDO M FERNANDEZ LOPEZ REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LEONARDO MARRERO
   696431 RODRIGUEZ                  BO PASO SECO                              SECT LA GUANCHA                                                                   SANTA ISABEL         PR           00757

   696432 LEONARDO MARTINEZ ROSARIO P O BOX 278                                                                                                                  CIALES               PR           00638

   696433 LEONARDO MELENDEZ RIVERA                    BDA OLIMPO               267 CALLE 7                                                                       GUAYAMA              PR           00784
          LEONARDO MENDEZ CARRERO
   266026 ESTATE                                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   696434 LEONARDO MILIAN RIVERA                      BOX 1275                                                                                                   LAS PIEDRAS          PR           00771
   266027 LEONARDO MILLAN ROSA                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   696435 LEONARDO MONTES GOMEZ                       URB VENUS GDNS           717 CALLE CUPIDO                                                                  SAN JUAN             PR           00926
          LEONARDO MORALES
   266028 TOMASSINI                                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266029 LEONARDO MUNIZ GOMEZ                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266030 LEONARDO MUNIZ JIMENEZ                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LEONARDO N CATALONA
   266031 VAZQUEZ                                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LEONARDO N. CATALANO
   266032 VAZQUEZ                                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266033 LEONARDO NASON CRUZ                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266034 LEONARDO NUNEZ RIVERA                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   266035 LEONARDO O COLON MARTINEZ REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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   696436 LEONARDO ORELLANA NIEVES                    HC 40 BOX 45616                                                                                                        SAN LORENZO         PR           00754‐9896
   696437 LEONARDO ORTIZ TORRES                       URB JAIME G RODRIGUEZ        B 11 CALLE 1                                                                              YABUCOA             PR           00617
   266036 LEONARDO PAGAN ROSARIO                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   266039 LEONARDO PEREZ CORCHADO                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696439 LEONARDO PEREZ PEREZ                        COMUNIDAD RAMAL              324 CALLE RAMAL                                                                           ISABELA             PR           00662

   696440 LEONARDO PEREZ RIVERA                       D 12 MIRADOR UNIVERSITARIO                                                                                             CAYEY               PR           00737
   266040 LEONARDO PIRILLO FAVOT                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   696441 LEONARDO PIRILO FAVOT                       URB EL PILAR                 1829 CALLE SAN BERNARDINO                                                                 SAN JUAN            PR           00926
   696442 LEONARDO QUILES RIVERA                      URB VILLA DEL CARMEN         A 6 CALLE 3                                                                               CIDRA               PR           00739
   696443 LEONARDO R CRUZ ALVAREZ                     MANSIONES DE RIO PIEDRAS     1788 CALLE ASTROMELIA                                                                     SAN JUAN            PR           00926
          LEONARDO R CRUZ Y BEATRIZ M
   266041 MARQUEZ                                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LEONARDO R ENCHAUSTEGUI
   266042 GONZALLEZ                                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266045 LEONARDO R ROMAN PEREZ                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LEONARDO RAFAEL HERNANDEZ
   266046 ORAMA                                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696444 LEONARDO RAMIREZ MELLA                      URB SAN FRANCISCO            34 CALLE C                                                                                AGUADA              PR           00602
   266047 LEONARDO RIJOS CRUZ                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266048 LEONARDO RIVERA ARROYO                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266049 LEONARDO RIVERA LABOY                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266050 LEONARDO RIVERA MALAVE                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266051 LEONARDO RIVERA SANCHEZ                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   696448 LEONARDO RIVERA SOUFFRONT P O BOX 500 SUITE 586                                                                                                                    SAN GERMAN          PR           00683
   266052 LEONARDO RIVERA VAZQUEZ   REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   266053 LEONARDO RODRIGUEZ GARCIA REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   696449 LEONARDO RODRIGUEZ PEREZ                    RIO PIEDRAS HEIGHTS          1725 CALLE THEIS                                                                          SAN JUAN            PR           00926

   696450 LEONARDO ROMAN MAISONET                     PO BOX 663                                                                                                             BARCELONETA         PR           00617‐0663

   266054 LEONARDO ROSADO SANTIAGO                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696451 LEONARDO RUIZ HERNANDEZ                     HC 59 BOX 5444                                                                                                         AGUADA              PR           00602
   696452 LEONARDO RUIZ MARTINEZ                      BO CEIBA BZN 408                                                                                                       CIDRA               PR           00739
   266055 LEONARDO RUIZ RODRIGUEZ                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   696453 LEONARDO SAN ROMAN RIVERA PO BOX 9301                                                                                                                              SAN JUAN            PR           00908

   266056 LEONARDO SANCHEZ BERNEZEL                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266058 LEONARDO SANCHEZ MOLINA                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696454 LEONARDO SANTANA RABELL                     PO BOX 21878                                                                                                           SAN JUAN            PR           00923‐1878
          LEONARDO SANTIAGO
   696455 HERNANDEZ                                   PO BOX 4509                                                                                                            SAN SEBASTIAN       PR           00685
   696458 LEONARDO SOTO BENITEZ                       ESTANCIAS DE MEMBRILLO                                526                                                              CAMUY               PR           00627
   696459 LEONARDO SOTO COLON                         PO BOX 726                                                                                                             SABANA HOYOS        PR           00688
   696460 LEONARDO SOTO VAZQUEZ                       356 COND SAN JOSE                                                                                                      SAN JUAN            PR           00907




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          LEONARDO SOTOMAYOR
   266059 MONTALVO                                    REDACTED                   REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266060 LEONARDO SUAZO TEJADA                       REDACTED                   REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LEONARDO T0RRES DE LOS
   696461 SANTOS                                      RES NEMESIO R CANALES      EDF 45 APT 844                                                                           SAN JUAN            PR           00918
   696462 LEONARDO TIRADO DIAZ                        HC‐4 BOX 48945                                                                                                      CAGUAS              PR           00725‐9638
   696464 LEONARDO TORRES PAGAN                       PARCELAS LA LUISA          34 CALLE OPALO                                                                           MANATI              PR           00674
   696465 LEONARDO TORRES TORRES                      URB SANTA ELENA 3          220 CALLE SANTA FE                                                                       GUAYANILLA          PR           00656
          LEONARDO VALENTIN
   696467 VALDERRAMA                                  URB VILLA CAROLINA         106 18 CALLE 102                                                                         CAROLINA            PR           00985

   696468 LEONARDO VARGAS COREANO                     BARRIO NUEVO               RR 5 BOX 5958                                                                            BAYAMON             PR           00959
   266062 LEONARDO VAZQUEZ TORRES                     REDACTED                   REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696471 LEONARDO VELAZQUEZ                          PO BOX 2103                                                                                                         ARECIBO             PR           00613
   266063 LEONARDO VELEZ ITURRINO                     REDACTED                   REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LEONARDO VERAS
   266064 CONSTRUTION CORP                            PO BOX 25008                                                                                                        SAN JUAN            PR           00928

   266065 LEONARDO VILLEGAS AGOSTO                    REDACTED                   REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LEONARDO X GONZALEZ
   696472 MALDONADO                                   URB SAN JOSE               D1                                                                                       AIBONITO            PR           00705
   266066 LEONARDO'S                                  AVE. PONCE DE LEON                                                                                                  SANTURCE            PR           00100
   266067 LEONARDO'S FIFTH AVENUE                     PO BOX 8781                                                                                                         SAN JUAN            PR           00910‐8781
   266070 LEONCIA QUINONEZ TORRES                     REDACTED                   REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266073 LEONCILANDIA INC                            P O BOX 34598                                                                                                       PONCE               PR           00734‐4598
                                                                                 VILLA GRILLASCA 2140 BLVD.
  1420199 LEONCILANDIA INC.                           JUAN E MEDINA QUINTANA     LUIS A FERRE                                                                             PONCE               PR           00717‐0722
                                                                                 VILLA GRILLASCA 2140 BLVD LUIS
  1420200 LEONCILANDIA INC.                           JUAN E. MEDINA QUINTANA    A FERRER                                                                                 PONCE               PR           00717‐0722
   266076 LEONCIO CRUZ MARTINEZ                       REDACTED                   REDACTED                       REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696473 LEONCIO DIAZ DE JESUS                       BO JAGUAL                  HC 763 BOX 3474                                                                          PATILLAS            PR           00723
   696474 LEONCIO DIAZ RIVERA                         HC 2 BOX 6780                                                                                                       YABUCOA             PR           00767
   696475 LEONCIO DIAZ ROCHE                          HP ‐ SERVICIO GENERALES                                                                                             RIO PIEDRAS         PR           009360000
   696476 LEONCIO FONSECA CARDONA                     RES VICTOR BERRIOS         75 EDIF 10                                                                               YABUCOA             PR           00767

   696477 LEONCIO GONZALEZ BELTRAN                    11 CALLE JUAQUIN POUPAN                                                                                             LAS PIEDRAS         PR           00771

   266078 LEONCIO M QUINONES RIVERA                   REDACTED                   REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266079 LEONCIO PARRILLA ORTIZ                      REDACTED                   REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266080 LEONCIO PEREZ BEATO                         REDACTED                   REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266081 LEONCIO QUINONES ALICEA                     REDACTED                   REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696479 LEONCIO RIVERA OLIVO                        HC‐03 BOX 36153                                                                                                     CAGUAS              PR           00725

   266082 LEONCIO RODRIGUEZ SANCHEZ                   REDACTED                   REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LEONEL A SANTIAGO DBA
   266089 WILDER SAFETY SERV                          335 CAMINO DEL PRADO       URB SABANERA                                                                             CIDRA               PR           00739
          LEONEL A. SANTIAGO DBA                      AVE. ESMERALDA 201 URB.
   266092 WILDER SAFETY SER                           PONCE DE LEON                                                                                                       GUAYNABO            PR           00969‐0000
          Leonel A. Santiago DBA Wilder
   831775 Safety Serv.                                PO BOX 1518                                                                                                         Cidra               PR           00739
   696481 LEONEL ALAMO PAGAN                          HC 33 BOX 5741                                                                                                      DORADO              PR           00646
   266093 LEONEL ALBINO RIOS                          REDACTED                   REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696482 LEONEL ALVELO OLIVENCIA                     FERNANDEZ JUNCOS STATION   PO BOX 19175                                                                             SAN JUAN            PR           00910‐9175



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  266095 LEONEL CRUZ ALAMEDA                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  696483 LEONEL CRUZ RODRIGUEZ                        URB METROPOLIS              2 C 35 AVE C                                                                         CAROLINA            PR         00987
         LEONEL E GUERRERO
  696484 RODRIGUEZ                                    BO TORTUGO                  400 CORDOVA PARK BOX 17                                                              SAN JUAN            PR         00926
  696485 LEONEL F ORAMAS PACHECO                      COND TORRES DE CAROLINA     EDIF A APT 1043                                                                      CAROLINA            PR         00961
  266096 LEONEL FELICIANO PALOMO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  696487 LEONEL FUENTES CRESPO                        HC 1 BOX 5139                                                                                                    CAMUY               PR         00627
  696488 LEONEL GONZALEZ REYES                        HC 2 BOX 8443                                                                                                    CIALES              PR         00638
  266101 LEONEL I DIAZ ROSA                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  696489 LEONEL LOPEZ MORALES                         P O BOX 1245                                                                                                     AGUADILLA           PR         00605
                                                      AVE TITO CASTRO NUM 301 C
   696490 LEONEL MARTINEZ MENESES                     605                                                                                                              PONCE               PR         00731
   266103 LEONEL MOLINA GONZALEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   266104 LEONEL NEGRON VELEZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LEONEL OMAR CARRION
   696491 SANCHEZ                                     PUERTO NUEVO                1130 CALLE 2 SE                                                                      SAN JUAN            PR         00921

   266105 LEONEL PASTRANA RODRIGUEZ                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   266106 LEONEL PEREZ GREEN                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   266107 LEONEL R HERNANDEZ ORTIZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   266108 LEONEL R MARTINEZ RIVERA                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   266109 LEONEL RAMIREZ TORRES                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   266110 LEONEL RAMOS TORRES                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   266111 LEONEL RIOS TARDI                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696493 LEONEL RIVERA ROMAN                         VILLA DEL RIO               413 CALLE 14                                                                         TOA ALTA            PR         00953‐0000
   266113 LEONEL ROBLES SANTIAGO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696496 LEONEL SANTIAGO ROMERO                      1261 CALLE IZCOA DIAZ       BDA VENUEZUELA                                                                       SAN JUAN            PR         00926
          LEONEL SHOB H/N/C HMC
   266114 MEDICAL SERVICES                            803 HIPODROMO AVENUE                                                                                             SAN JUAN            PR         00915
          LEONEL SHUB DBA HMC
   266115 MEDICAL SERVICES                            803 HIPODROMO AVE.                                                                                               SANTURCE            PR         00909‐2516
          LEONEL SHUB MIZRAHI HNC
   696497 HMC MED SERVICES                            803 HIPODROMO AVE.                                                                                               SANTURCE            PR         00909‐2516
   266116 LEONEL SHUB MIZRAMI                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696498 LEONEL TORRES                               P O BOX 2390                                                                                                     SAN JUAN            PR         00919
   266117 LEONEL TORRES BENITEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696499 LEONEL TORRES COLON                         APARTADO 549                                                                                                     VILLALBA            PR         000766
   696500 LEONEL TORRES VALENTIN                      URB VISTA VERDE             CALLE 6 BOX 407                                                                      AGUADILLA           PR         00603
   266118 LEONEL URIBE ORTIZ                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   266119 LEONEL VALLE ANDUJAR                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   266120 LEONEL VAZQUEZ BENITEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696502 LEONEL VENTURA VALENTIN                     PO BOX 461                                                                                                       MAYAGUEZ            PR         00681
   266121 LEONELA ENID LOPEZ CRUZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   266122 LEONELA P TORRADO GONZALEZ REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   266123 LEONELL FREYTES SANTIAGO   REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   696503 LEONELL TORRES PAGAN       P O BOX 8319                                                                                                                      PONCE               PR         00732‐8319
   696504 LEONELLYS FLORES ORTIZ     RR 1 BOX 11390                                                                                                                    OROCOVIS            PR         00720
   266125 LEONELY QUILES RAMOS       REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   266126 LEONERO COLON MUNIZ        REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   266127 LEONES DE PONCE PR         REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   266128 LEONES FUTBOL CLUB CORP    VISTA ALEGRE                                 1645 PASEO LAS COLONIAS                                                              PONCE               PR         00717




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   696505 LEONICIA FELICIANO HERNANDEZ HC 4 BOX 45204                                                                                                                 AGUADILLA           PR           00603
   266130 LEONIDA ORTIZ ALVARADO       REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   266131 LEONIDAS A BLANCO CAPELLAN                  REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                602 AVE FERNANDEZ JUNCOS
   266132 LEONIDAS CASTRO RINCON                      COND CARIBE SEA VIEW      APT 806                                                                               SAN JUAN            PR           00907

   266134 LEONIDAS FERMIN FERNANDEZ                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696508 LEONIDAS SANTANA                            COND LAGUNA VIEW TOWER    TORRE 2 APT 311                                                                       SAN JUAN            PR           00924
   266136 LEONIDAS URENA                              REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   696509 LEONIDAS VAZQUEZ MERCADO                    RR 1 BOX 41917                                                                                                  SAN SEBASTIAN       PR           00685
   266137 LEONIDES AVILES BARRETO                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696510 LEONIDES BAEZ TORRES                        HC 01 BOX 7830                                                                                                  YAUCO               PR           00698
   696511 LEONIDES COLON BURGOS                       HC 01 BOX 5701                                                                                                  BARRANQUITAS        PR           00794
   266138 LEONIDES COLON VELEZ                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   696513 LEONIDES DE JESUS FIGUEROA                  HC 3 BOX 7900                                                                                                   BARRANQUITAS        PR           00794‐9501
          LEONIDES DIAZ / ESTEFANIA A
   266139 HERNANDEZ                                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   266141 LEONIDES GRAULAU QUINONES                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   266142 LEONIDES HERNANDEZ MATOS                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   266143 LEONIDES IZQUIERDO GUILLAMA REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LEONIDES JUSTINIANO
   266144 JUSTINIANO                  REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LEONIDES LANDIN Y/O MARIANO
   266145 PEREZ                       REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696515 LEONIDES MANSO CRUZ         LEVITTOWN                                 J D 7 CARMELO DIAZ SOLER                                                              TOA BAJA            PR           00949

   696517 LEONIDES MERCADO MERCADO URB EL CORTIJO                               G 2 CALLE 11                                                                          BAYAMON             PR           00956

   696519 LEONIDES MURIEL TORRUELLA                   HC 6 BOX 4028                                                                                                   PONCE               PR           00731
   266146 LEONIDES PAGAN MARRERO                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   696520 LEONIDES PEREZ ROMAN                        CALLE ACANTILADO BUZON 234                                                                                      ISABELA             PR           00662
   696521 LEONIDES PITRE LOPEZ                        PO BOX 3551                                                                                                     AGUADILLA           PR           00605
   266147 LEONIDES QUILES BERNAL                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266148 LEONIDES QUINONES                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696522 LEONIDES R FIGUEROA                         PO BOX 9417                                                                                                     ENSENADA            PR           00647
   696523 LEONIDES REYES ARROYO                       PO BOX 3266                                                                                                     VEGA ALTA           PR           00692

   266149 LEONIDES RODRIGUEZ BERRIOS                  REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696525 LEONIDES RODRIGUEZ PAZ                      SANTA TERESITA            AD 8 CALLE 30                                                                         BAYAMON             PR           00961
   696526 LEONIDES ROLON DELGADO                      URB RIO PIEDRAS HEIGHTS   1688 CALLE URAL                                                                       SAN JUAN            PR           00926
   696527 LEONIDES ROMAN VARGAS                       HC 03 9709                                                                                                      LARES               PR           00669
   696530 LEONIDES SOSA FELICIANO                     URB VISTA VERDE           455 CALLE 11                                                                          AGUADILLA           PR           00603
   696531 LEONIDES SOTO PEREZ                         URB FLAMINGO TERRACE      F7 CALLE MARGARITA                                                                    BAYAMON             PR           00957
   696533 LEONIDEZ ZAMBRANA                           PO BOX 21365                                                                                                    SAN JUAN            PR           00928‐1365
   266151 LEONILA AGUILAR CASTILLO                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          LEONILA MENA PINO Y JOSE
   266152 CARRASCO FRIAS                              REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   266153 LEONILDA ESPADA RODRIGUEZ                   REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696534 LEONILDA GONZALEZ                           RES LAGO DE BLASINA            EDIF 5 APT 61                                                                          CAROLINA            PR           00985
   696535 LEONILDA MEDINA PEREZ                       PO BOX 114                                                                                                            MOCA                PR           00676

   696536 LEONILDA MERCADO DE JESUS                   PMB 206 PO BOX 6400                                                                                                   CAYEY               PR           00737
   696538 LEONILDA PADILLA ANDUJAR                    BDA. BORINQUEN #32                                                                                                    SAN JUAN            PR           00921

   266154 LEONILDA SEPULVEDA SUAREZ                   REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696540 LEONILDE TORRENS NADAL                      BO OBRERO                      761 CALLE 11                                                                           SAN JUAN            PR           00910
   696541 LEONOR A DELGADO NIEVES                     URB VILLA NEVAREZ              1108 CALLE 17                                                                          SAN JUAN            PR           00927

   696542 LEONOR ACEVEDO RODRIGUEZ                    226 CALLE SAN NARCISO                                                                                                 AGUADA              PR           00602
   696543 LEONOR ACOSTA                               HC 1 BOX 10313                                                                                                        LAJAS               PR           00667
   696544 LEONOR AVILES INGLES                        ALTURAS DE SOUCI               B 23 CALLE 2                                                                           BAYAMON             PR           00956
          LEONOR BARRETO Y/O REGINO
   266158 CONCEPCION                                  REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266159 LEONOR BLASINI RAMOS                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266160 LEONOR BONET REYES                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   696546 LEONOR C CARBONELL TAVARES                  URB JARDINES DE DORADO         E 2 CALLE 2                                                                            DORADO              PR           00692
   696547 LEONOR CABAN MORALES                        BOX 567                                                                                                               MOCA                PR           00676
   266161 LEONOR CAMACHO CRUZ                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266162 LEONOR CARABALLO GARCIA                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696549 LEONOR COLON PEREZ                          PO BOX 7126                                                                                                           PONCE               PR           00732
   696550 LEONOR CRUZ SOTO                            P O BOX 664                                                                                                           CIALES              PR           00638
   696551 LEONOR DE JESUS IRIZARRY                    HC 12 BOX 8647                                                                                                        YABUCOA             PR           00767
   696553 LEONOR DIAZ GONZALEZ                        RR 02 BZN 8288                                                                                                        MANATI              PR           00674
   266163 LEONOR E COCOMBA RIVERA                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LEONOR E RODRIGUEZ
   266164 GONZALEZ                                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266165 LEONOR FELICIANO COLON                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266166 LEONOR FIGUEROA LUGO                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696554 LEONOR FIGUEROA PEREZ                       RES JARDINES DE CUPEY          EDIF 28 APT 286                                                                        SAN JUAN            PR           00926
   696555 LEONOR FLORES PADILLA                       PO BOX 322                                                                                                            SAN GERMAN          PR           00683
   696556 LEONOR G BENITEZ DE JESUS                   VILLA CAPRI                    10 K CALLE SORRENTO                                                                    SAN JUAN            PR           00924
                                                                                     626 CALLE FRANCISCO
   696557 LEONOR GARCIA CRUZ                          URB VILLA PRADES               CASALDUC                                                                               SAN JUAN            PR           00924
   696559 LEONOR HERNANDEZ RIVERA                     HC 2 BOX 8184                                                                                                         JAYUYA              PR           00664‐9612
   266167 LEONOR IGLESIAS SANTIAGO                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266168 LEONOR INVESTMENT                           URB HERMANAS DAVILA            142 CALLE 3A                                                                           BAYAMON             PR           00959
                                                      URB VILLA FONTANA 3 QN 8 VIA
   696562 LEONOR KROON DE TINEO                       68                                                                                                                    CAROLINA            PR           00983
   266169 LEONOR LOPEZ MATIENZO                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696564 LEONOR M RIVERA ARROYO                      HC 2 BOX 30045                                                                                                        CAGUAS              PR           00725
   266170 LEONOR M RIVERA ROSA                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266171 LEONOR MARQUEZ RIVERA                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266172 LEONOR MATOS NIEVES                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LEONOR MCCALL RODRIGUEZ
   266173 DBA ONE VOICE                               INSURANCE SERVICE              2409 HUNTINGTON LN UNIT B                                                              REDONDO BEACH       NY           90278
   696567 LEONOR MELENDEZ SIERRA                      URB MONTE VERDE 26             CALLE AGUILINO                                                                         MAYAGUEZ            PR           00680



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  266174 LEONOR MERCEDES GUZMAN                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         LEONOR OPPENHEIMER
  266175 ALMODOVAR                    REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                      CALLE CARRION MADURO 802
   696570 LEONOR OSOIRO DE LOS SANTOS PDA 22 1/2                                                                                                                              SAN JUAN             PR         00912
   696571 LEONOR PAGAN OLMEDO         RR 4 BOX 1267                                                                                                                           BAYAMON              PR         00956
   696572 LEONOR PEREIRA MENDOZA      URB LOS ALMENDROS                            3 B 13 CALLE 2                                                                             JUNCOS               PR         00777
   266176 LEONOR PEREZ RODRIGUEZ      REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   696573 LEONOR PEREZ VARGAS         HC 2 BOX 20676                                                                                                                          MAYAGUEZ             PR         00680
   696574 LEONOR PORRATA DORIA        1519 AVE PONCE DE LEON                       OFICINA 717                                                                                SAN JUAN             PR         00909‐1723

   696575 LEONOR RIVERA CASTRO                        URB COUNTRY CLUB             1164 BCALLE CARLOS TERRACEN                                                                SAN JUAN             PR         00924
   696576 LEONOR RIVERA FIGUEROA                      URB HIGHLAND PARK            747 CALLE CAFETO                                                                           SAN JUAN             PR         00924
   696578 LEONOR RIVERA HERNANDEZ                     29‐31 EAST 17 ST APT 7‐L                                                                                                BAYONNE              NJ         07002
   266177 LEONOR RIVERA ROSARIO                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   696579 LEONOR RIVERA TORRES                        RR 5 BOX 5860                                                                                                           BAYAMON              PR         00956‐9716
   266178 LEONOR RODRIGUEZ RIVERA                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   696581 LEONOR RODRIGUEZ RODRIGUEZ URB SIERRA LINDA                              K 20 CALLE 4                                                                               BAYAMON              PR         00957

   696582 LEONOR ROSARIO RODRIGUEZ                    EXT FOREST HILL              S 658 CALLE URUGUAY                                                                        BAYAMON              PR         00959
   696583 LEONOR RUIZ MERCADO                         P O BOX 1941                                                                                                            VEGA BAJA            PR         00694
   696584 LEONOR SANCHEZ                              PO BOX 566                                                                                                              SALINAS              PR         00751
   266179 LEONOR SERRANO GUZMAN                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   266180 LEONOR SOTO VELEZ                           REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   696587 LEONOR TORRES DELGADO                       URB VILLA GUADALUPE          BB 6 CALLE 18                                                                              CAGUAS               PR         00725
   696588 LEONOR VALLE PEREZ                          HC 58 BOX 13467                                                                                                         AGUADA               PR         00602
   696589 LEONOR VAZQUEZ BAEZ                         RR 2 BZN 6006                                                                                                           CIDRA                PR         00739
   696590 LEONOR VELEZ LAUREANO                       HC 02 BOX 6126                                                                                                          FLORIDA              PR         00650
   696591 LEONOR Y ACOSTA SEGARRA                     URB JARD DE RINCON           B 3 CALLE 2                                                                                RINCON               PR         00677
   266182 LEONOR YORRO MARQUEZ                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   266183 LEONORA ABREU                               REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   266184 LEONORD TORRES QUINONES                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                                                   CALDERON DE LA BARCA COND       DEL MAR 1479 AVE ASHFORD
   696593 LEOPALD KOPPEL GOLDMAN                      URB HUCARES W4 10 CALLE      DEL                             1603                                                       SAN JUAN             PR         00907

   266185 LEOPALDO RAMOS RODRIGUEZ                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          LEOPOLDO ANDRES BONILLA
   696595 ORTIZ                                       PMB 514                      609 AVE TITO CASTRO SUITE 102                                                              PONCE                PR         00716‐2232

   696596 LEOPOLDO AYALA RIVERA                       URB ESTANCIA DE CERRO GORDO A 4 CALLE 2                                                                                 BAYAMON              PR         00957
   266186 LEOPOLDO DE LA ROSA                         REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   266187 LEOPOLDO DEL HOYO QUINONES REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   696598 LEOPOLDO DELANOY RIVERA    BO FERRAN                                     13 CALLE B                                                                                 PONCE                PR         00731
          LEOPOLDO E HERNANDEZ Y
   696599 MARTHA M GARCIA            BO OBRERO                                     467 CALLE 10                                                                               SAN JUAN             PR         00915

   266189 LEOPOLDO FERRER RODRIGUEZ                   REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   696600 LEOPOLDO FOMATILLAS, INC.                   P O BOX 120                                                                                                             PONCE                PR         00734‐3120
   266191 LEOPOLDO GARCIA GUZMAN                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          LEOPOLDO GONZALEZ
   266192 MELENDEZ                                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  266193 LEOPOLDO GREGORY JULIA      REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  266194 LEOPOLDO J VENEGAS RIOS     REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  696602 LEOPOLDO LOPEZ LOPEZ        PO BOX 205                                                                                                                     SAINT JUST            PR         00978
  266195 LEOPOLDO LUNA MADERA        REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
                                     CALLE PRINCIPAL BOCA DE
   696603 LEOPOLDO MALER KRAISENBORD CHAVON                                                                                                                         SANTO DOMINGO                                 DOMINICAN REPUBLIC

   696604 LEOPOLDO MALER KRAISENBURD 2 CALLE RESTAURACION                                                                                                           LA ROMANA                                     DOMINICAN REPUBLIC
   266196 LEOPOLDO NEGRON ARRYO      REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   696606 LEOPOLDO NIEVES CRUZ       619 CALLE BUENOS AIRES                                                                                                         SAN JUAN              PR         00915

   266197 LEOPOLDO OCACIO FIGUEROA                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   696607 LEOPOLDO PAGAN DIAZ                         PO BOX 69                                                                                                     RIO BLANCO            PR         00744
   266199 LEOPOLDO RIJO                               REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   696609 LEOPOLDO ROBLES RIVAS                       MIRAFLORES                47 B CALLE 56                                                                       BAYAMON               PR         00957
          LEOPOLDO RODRIGUEZ /
   696610 CARMEN L GONZALEZ                           PO BOX 2901                                                                                                   BAYAMON               PR         00960‐2901

   696611 LEOPOLDO RODRIGUEZ REYES                    JULIO RODRIGUEZ (TUTOR)   COND MONTE SUR           18 APT UGB SECC 190                                        HATO REY              PR         00918
          LEOPOLDO RODRIGUEZ
   696612 VELAZQUEZ                                   PO BOX 560740                                                                                                 GUAYANILLA            PR         00656

   266200 LEOPOLDO ROLDAN RODRIGUEZ                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   696613 LEOPOLDO ROSSO CASTAING                     PO BOX 360100                                                                                                 SAN JUAN              PR         00936‐0100
   696614 LEOPOLDO SANTANA KUILAN                     HC 33 BOX 5902                                                                                                DORADO                PR         00646
   696615 LEOPOLDO VAZQUEZ                            VICTOR ROJAS 2            54 CALLE 9                                                                          ARECIBO               PR         00612
   266201 LEOPOLDO ZENO COLON                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   266202 LEOPORDO DIOU AGRAIT                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   696616 LEOPORDO OLIVERA RIVERA                     BO PESAS TURQUERO         APT 872                                                                             CIALES                PR         00638
          LEOPORDO VEGA/CLUB
   696617 ADMIRADORES MUSICA                          EXT DEL CARMEN            G 8 CALLE 6                                                                         JUANA DIAZ            PR         00795
   696619 LEORNARDO S FIFTH AVENUE                    1665 AVE PONCE DE LEON                                                                                        SAN JUAN              PR         00909
   266209 LEOTILDE ROSARIO FRAGOSO                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   266211 LEOVALDO M GONZALEZ PENA                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   266212 LEOVALDO MENDOZA ROMERO                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   266213 LEOVIGILDO CARDONA SULSONA REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   696620 LEOVIGILDO FIGUEROA SERRANO P O BOX 224                                                                                                                   GARROCHALES           PR         00652‐0224
          LEOVIGILDO RODRIGUEZ
   266215 ENCARNACION                 REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
          LEOVIGILDO RODRIGUEZ
   696623 RODRIGUEZ                   P O BOX 10419                                                                                                                 SAN JUAN              PR         00922‐0419

   696624 LEOVIGILDO VAZQUEZ BONILLA                  158 CALLE JUAN B HUYKE                                                                                        SAN JUAN              PR         00918
   696625 LEPIDO BOTELLO                              VENUS GARDENS             1686 CALLE JALAPA                                                                   SAN JUAN              PR         00926
   266221 LERGIER SALIVA MD, JULIO E                  REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   696626 LERIBEL RIVERA ROMAN                        BOX 987                                                                                                       SAINT JUST            PR         00978
   266224 LERIDA I RIOS MENDOZA                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   696627 LERIS M TORRES TORRES                       HC 1 BOX 5155                                                                                                 BARRANQUITAS          PR         00794




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   266225 LERIS MARIEL TORRES TORRES                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696628 LERIVIVIAN TURELL CAPIELO                   PO BOX 1162                                                                                                        ARROYO              PR           00714
   266226 LERIZ S CAMACHO MONT                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   696629 LERMAJ MANUFACTURING INC                    P O BOX 9033                                                                                                       SAN JUAN            PR           00908
                                                                                 497 CALLE ADONIS URB LOIZA
   696630 LERNICE DAVILA ALEMAN                       LOIZA VALLEY               VALLEY                                                                                  CANOVANAS           PR           00729
   266228 LERNIS SANTIAGO TORRES                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266229 LERNY CASILLAS                              REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266230 LEROUX PEGUERO MD, CESAR                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696631 LEROY ALICEA CABASSA                        PO BOX 1097                                                                                                        HORMIGUEROS         PR           00660
   266231 LEROY CRUZ FARGOS                           REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266232 LEROY ORTEGA ZAYAS                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696632 LEROY RIVERA MEDINA                         PO BOX 1080                                                                                                        TRUJILLO ALTO       PR           00977‐1080
   266234 LERY R PINERO RODRIGUEZ                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696633 LES MANNING                                 P MO BOX 9021112                                                                                                   SAN JUAN            PR           00902‐1112
   696634 LES MUSIC MANAGEMENT INC                    URB PUERTO NUEVO           1331 CALLE 10                                                                           SAN JUAN            PR           00920
                                                      33 BOULEVARD ALEXANDRE
   696635 LES MUTUALLES DU MANS                       OYON                       72019 LEMANS CEDEX 2                                                                                                                   FRANCE
          LESANDRA RODRIGUEZ
   266235 GONZALEZ                                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696637 LESBIA BAUZO REYES                          URB COUNTRY CLUB           941 CALLE EIDER                                                                         SAN JUAN            PR           00924
   266236 LESBIA BENGOA PEREZA                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LESBIA BETANCOURT
   266237 CARABALLO                                   URB COUNTRY CLUB           CALLE LABRADOR #911                                                                     SAN JUAN            PR           00924‐1764
   696638 LESBIA C MARTINEZ ROSAS                     URB JARDIN DE LA FUENTE    144 LINCOLN                                                                             TOA ALTA            PR           00953‐3626
   266239 LESBIA CARRION                              REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696639 LESBIA CRUZ                                 PMR 157 BOX 1980                                                                                                   LOIZA               PR           00722
   696640 LESBIA CRUZ BONILLA                         P O BOX 1063                                                                                                       COAMO               PR           00769

   266240 LESBIA E HERNANDEZ MIRANDA                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696644 LESBIA E SANTOS HERNANDEZ                   BO CONTORNO SECT CIELITO   CARR 165 KM 10 5                                                                        TOA ALTA            PR           00953
   266241 LESBIA E. ORTIZ TOLENTINO                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266242 LESBIA FEBLES GARCIA                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696646 LESBIA HERNANDEZ                            PASEO LA FUENTE            B 18 CALLE TREVI                                                                        SAN JUAN            PR           00926
   266244 LESBIA HERNANDEZ MIRANDA                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   266245 LESBIA HERNANDEZ QUINONES                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696647 LESBIA I DAVILA LOPEZ                       SUMMIT HILLS               572 YUNQUE                                                                              SAN JUAN            PR           00920‐4314
   266246 LESBIA I MENDEZ CABRERA                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LESBIA I ORTEGA/GABRIEL O
   696648 SANTOS                                      CANDELARIA ARENAS          CARR 865 KM 3 HM 2                                                                      TOA BAJA            PR           00951
   696649 LESBIA I RUIZ SANTIAGO                      P O BOX 3317                                                                                                       MANATI              PR           00674
   266247 LESBIA I. PEREZ ORTIZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266248 LESBIA IRASEMA ALBERT                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266249 LESBIA JIMENEZ ARCE                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   266250 LESBIA M SANTIAGO RODRIGUEZ REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696653 LESBIA NEGRON IRIZARRY      P O BOX 199                                                                                                                        YAUCO               PR           00698
   696654 LESBIA PASTORA SANTIAGO     P O BOX 7428                                                                                                                       SAN JUAN            PR           00916
   696655 LESBIA RIVERA LUGO          EXT STA TERESITA                           BZN 17 CALLE C                                                                          PONCE               PR           00731




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          LESBIA ROLON / SABANERA
   696657 BAKERY & DELY                               PO BOX 9983                                                                                                 CIDRA               PR           00739

   266252 LESBIA SANCHEZ MALDONADO                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696658 LESBIA TARDY MERCADO                        HC 37 BOX 6678                                                                                              GUANICA             PR           00653
   266253 LESBIA VELEZ RODRIGUEZ                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266255 LESBIA Z. LEBRON GOMEZ                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696659 LESBY W COLON COLON                         PO BOX 897                                                                                                  JUANA DIAZ          PR           00795
   696660 LESCANO TRAVEL AGENCY                       REPTO SAN JOSE          577 AVE BARBOSA                                                                     SAN JUAN            PR           00923
   266257 LESILE A. CRUZ AYALA                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   266258 LESILIE A HERNANDEZ ROMAN                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266259 LESLEI M MAS VARGAS                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266260 LESLEY A MANGUAL REYES                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696662 LESLEY A PABON                              PO BOX 9021112                                                                                              SAN JUAN            PR           00902‐1112
   266261 LESLEY A PEREZ OSORIO                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696663 LESLEY A ZAYAS MATOS                        VILLA VERDE             C 69 CALLE 10                                                                       BAYAMON             PR           00959

   696664 LESLEY ANN BELTRAN NEGRON                   VISTAS DE MONTECASINO   500 AVE NORTE APT 3301                                                              TOA ALTA            PR           00953

   696665 LESLEY ANN PEREZ SALAMANCA                  VILLA CAROLINA          136‐6 CALLE 406                                                                     CAROLINA            PR           00985
   266262 LESLEY APONTE NAVARRO                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696666 LESLEY JIMENEZ DIAZ                         P O BOX 338                                                                                                 GUAYNABO            PR           00970
   696667 LESLEY O IRIZARRY                           PO BOX 1271                                                                                                 CABO ROJO           PR           00623
   266264 LESLEY O MONTERO OCASIO                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LESLI ANN SALAS IVONNE BERIO
   696668 CANAL                                       DR. PADILLA CL 28       5TA. SECCION LEVITTOWN                                                              TOA BAJA            PR           00949
   266266 LESLI FUENTES GONZALEZ                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266267 LESLIANN RIVERA ORTIZ                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266268 LESLIANNE SOTO CLASS                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266270 LESLIBELL RODRIGUEZ BAEZ                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266271 LESLIE A AGOSTO MELENDEZ                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266272 LESLIE A BERRIOS MONTALVO                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266273 LESLIE A BURSIAN OBEN                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266274 LESLIE A CRUZ LASALLE                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266275 LESLIE A DAVILA OCASIO                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696670 LESLIE A DE JESUS RIVERA                    URB MONTE ELENA         144 CALLE MAGNOLIA                                                                  DORADO              PR           00646
   266276 LESLIE A DIAZ RODRIGUEZ                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LESLIE A FERNANDEZ
   266278 RIECKENOFF                                  REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266279 LESLIE A FIGUEROA LLERAS                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696671 LESLIE A HAGEN                              PO BOX 601                                                                                                  POR AUSTIN          MI           48467
          LESLIE A HERNANDEZ
   266280 MONTANEZ                                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   266282 LESLIE A HERNANDEZ MORALES                  REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696672 LESLIE A LEBRON SANTIAGO                    URB VALLE DE GUAYAMA    U 2 CALLE 15                                                                        GUAYAMA             PR           00784
   266283 LESLIE A LOPEZ COTTO                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266285 LESLIE A LOPEZ OFRAY                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696673 LESLIE A MENDEZ ROSADO                      REXVILLE                CD 12 CALLE 22                                                                      BAYAMON             PR           00957
   696674 LESLIE A MORALES COTTO                      URB VILLA HUMACAO       M 2 CALLE 3                                                                         HUMACAO             PR           00791
   696675 LESLIE A ORTEGA MATIAS                      URB SULTANA             3‐58 CALLE TENERIFE                                                                 MAYAGUEZ            PR           00680
   696676 LESLIE A ORTIZ ALAYON                       URB QUINTO CENTENARIO   856 DIEGO SALCEDO                                                                   MAYAGUEZ            PR           00681



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   266286 LESLIE A PACHECO MONTANEZ                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266287 LESLIE A PRINCIPE ALVARADO                  HC 06 BOX 44071                                                                                                COTTO LAUREL         PR           00780
   266288 LESLIE A RODRIGUEZ DIAZ                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266289 LESLIE A RODRIGUEZ LOPEZ                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266290 LESLIE A ROSADO MONTES                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   266291 LESLIE A RUBERO MULTI SERVICE RR 4 BOX 26449                                                                                                               TOA ALTA             PR           00953‐9409
   266292 LESLIE A SANTIAGO RUIZ        REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   696677 LESLIE A SANTOS               HC 43 BOX 11897                                                                                                              CAYEY                PR           00736
   696678 LESLIE A TORRES MORALES       HC 1 BOX 6208                                                                                                                YAUCO                PR           00698
   696679 LESLIE A TORRES NEGRON        URB LA ESPERANZA                      N10 CALLE 6                                                                            VEGA ALTA            PR           00692
   266293 LESLIE A VAZQUEZ GARCIA       REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266294 LESLIE A VELEZ QUINONEZ       REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266295 LESLIE A. GALARZA CAMACHO     REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266296 LESLIE A. VAZQUEZ GARCIA      REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   696681 LESLIE ACEVEDO MARIN          PO BOX 1074                                                                                                                  VIEQUES              PR           00765
   266297 Leslie Acevedo Nieves         REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266298 LESLIE ALEXANDER              REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   696682 LESLIE ANN CASTILLO PEREZ     URB KENNEDY                           6 CARLOS ROURE                                                                         QUEBRADILLAS         PR           00678

   266299 LESLIE ANN CORDERO CARINO                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   696684 LESLIE ANN COTTO GARCIA                     RAMOS ANTONINI          EDIF 62 APT 621 RP                                                                     SAN JUAN             PR           00924
   696685 LESLIE ANN CRUZ AYALA                       PO BOX 1096                                                                                                    VIEQUES              PR           00765
   266302 LESLIE ANN DISDIER POU                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   696686 LESLIE ANN FELICIANO RAMOS                  NUEVA VIDA EL TUQUE     88 CALLE 12                                                                            PONCE                PR           00728
   266303 LESLIE ANN GALAN VELEZ                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LESLIE ANN GONZALEZ
   696687 OQUENDO                                     RIO ABAJO               CALLE LINO PADRON                                                                      VEGA BAJA            PR           00693
   266304 LESLIE ANN MATOS TORRES                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266305 LESLIE ANN MENDEZ PEREZ                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   266306 LESLIE ANN MERCADO ROLON                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LESLIE ANN QUINTANA
   696689 GONZALEZ                                    BO LEGUISAMO            CARR 352 KM 3.8                                                                        MAYAGUEZ             PR           00680

   696690 LESLIE ANN RODRIGUEZ BELTRAN HC 01 BOX 17414                                                                                                               HUMACAO              PR           00791‐9720
   266307 LESLIE ANN ROSADO MUNOZ      REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   696691 LESLIE ANN SIERRA ROLON      VEGA BAJA LAKES                        B 30 CALLE 2                                                                           VEGA BAJA            PR           00693
   696692 LESLIE ANN SILVA RIVERA      PO BOX 6943                                                                                                                   CAGUAS               PR           00726
   266308 LESLIE ANN VAZQUEZ DAVILA    REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   696693 LESLIE ANNE BURDEN DAVILA    VILLAS DEL RIO                         F 4 CALLE 11                                                                           BAYAMON              PR           00959
   696694 LESLIE ANNE HIDALGO          VILLA HERMOSA                          J 30 CALLE 41                                                                          CAGUAS               PR           00725

   696695 LESLIE ANNE VELEZ SEPULVEDA                 HC 01 BOX 2200                                                                                                 LAS MARIAS           PR           00670

   266309 LESLIE ANNETTE RUIZ GUTIERREZ REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   696697 LESLIE ARNALDO DEL VALLE      RESIDENCIAL LOS LIRIOS                EDIF 10 APT 23              CUPEY BAJO                                                 SAN JUAN             PR           00926
   266310 LESLIE AVILES CANDELARIA      REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   696698 LESLIE AVILES RIVERA          UNIVERSITY GARDENS                    275 B CALLE CLEMSON APT 4                                                              SAN JUAN             PR           00925
   266311 LESLIE B ROLDAN SALDANA       REDACTED                              REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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   696701 LESLIE BERRIOS                              EXT SANTA ANA GRANATE C 24                                                                                      VEGA ALTA            PR           00692
   696702 LESLIE BONILLA SAUDER                       PO BOX 1318                                                                                                     ARECIBO              PR           00613
   696703 LESLIE BORRERO BRISTEL                      HC 2 BOX 33441                                                                                                  CAGUAS               PR           00725‐9415
   696704 LESLIE BURSIAN                              PO BOX 6373                                                                                                     SAN JUAN             PR           00914
   266312 LESLIE C GARCIA ROSADO                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266314 LESLIE C MELENDEZ COSS                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   696706 LESLIE C MORENO RODRIGUEZ                   BO MARICAO                   P O BOX 5044                                                                       VEGA ALTA            PR           00962
   266315 LESLIE C SNYDER MORALES                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266316 LESLIE CABEZA MORALES                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   696708 LESLIE CALERO VAZQUEZ                       BERWIND ESTATE               S 7 CALLE 16                                                                       SAN JUAN             PR           00924
   696709 LESLIE CAMACHO MOJICA                       HC 33 BOX 5317                                                                                                  DORADO               PR           00646
   266317 LESLIE CAMPOS MARTINEZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266318 LESLIE CANDELARIO RAMOS                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266319 LESLIE CARDONA HERNANDEZ                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   266320 LESLIE CARRASQUILLO ESCOBAR REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   696710 LESLIE COFRESI VIZCARRONDO                  EXT VILLA MAR                CO 3 CALLE 81                                                                      CAROLINA             PR           00979
          LESLIE COLOMBANI
   266321 MALDONADO                                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   696712 LESLIE CRIADO RUIZ                          VAN SCOY                     T 7 CALLE 12                                                                       BAYAMON              PR           00957
   266322 LESLIE CRUZ ALMANZAR                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266323 LESLIE CRUZ HERNANDEZ                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266324 LESLIE CRUZ MARTINEZ                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   696713 LESLIE D BENIQUEZ CONCEPCION COMUNIDAD CAPIRO                            1319 CALLE PICAFLOR                                                                ISABELA              PR           00662
   696714 LESLIE D SOTO LOPEZ          URB BORINQUEN                               H 11 CALLE 6                                                                       CABO ROJO            PR           00623
   266326 LESLIE DAVILA GUADALUPE      REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266327 LESLIE DAVILA SANTOS         REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266328 LESLIE DEMORIZI GUZMAN       REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266329 LESLIE DIAZ SANTIAGO         REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266330 LESLIE E APONTE CARABALLO    REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   696715 LESLIE E BONILLA SANTIAGO    PO BOX 108                                                                                                                     TOA BAJA             PR           00952‐0108
   266331 LESLIE E CABEZUDO PEREZ      REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266332 LESLIE E EATON RODRIGUEZ     REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   266333 LESLIE E MALDONADO FELICIANO REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266336 LESLIE E VIDAL RIOS          REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266340 LESLIE FERRER MARINO         REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   266343 LESLIE FIGUEROA VAZQUEZ      REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   696719 LESLIE FLEMING NEGRON                       LA RAMBLA SHOPPING CENTER    360 AVE TITO CASTRO 1                                                              PONCE                PR           00716
   696720 LESLIE FRANCO SOTO                          PO BOX 37241                 AIRPORT STATION                                                                    SAN JUAN             PR           00937
   266345 LESLIE G ALGARIN PLAZA                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   696721 LESLIE GARCIA RIVERA                        165 CALLE BALDORIOTY                                                                                            AIBONITO             PR           00705
   266346 LESLIE GONZALEZ ARVELO                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   696723 LESLIE GONZALEZ MENDOZA                     URB SAN AGUSTIN              113 SAN BRUNO                                                                      VEGA BAJA            PR           00694
   696724 LESLIE GOTAY ZARAGOZA                       COND LAS GLADIOLAS II        EDIF 300 APT 310                                                                   SAN JUAN             PR           00917
   266348 LESLIE HERNANDEZ                            REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   266349 LESLIE HERNANDEZ QUINONES                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  696725 LESLIE HORNAN                                 BELLAS LOMAS                   836 CALLE PROVIDENCIA                                                                MAYAGUEZ          PR         00680
  696726 LESLIE HORNEDO VAZQUEZ                        PARC MARQUEZ                   92 CALLE BUCARE                                                                      MANATI            PR         00674
  266350 LESLIE I ALVAREZ CRUZ                         REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  696727 LESLIE I PALERMO ORTIZ                        HC 01 BOX 8644                                                                                                      LAJAS             PR         00667‐9707
  266351 LESLIE I RODRIGUEZ ORTIZ                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   696728 LESLIE I RODRIGUEZ RODRIGUEZ                 LAS GRANJAS                    8 CALLE INOCENCIA REY                                                                VEGA BAJA         PR         00693
   696729 LESLIE I ROMAN GUZMAN                        P O BOX 555                                                                                                         BAJADERO          PR         00616
   266353 LESLIE I VEGA VALCARCEL                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   696731 LESLIE J BEATTY                              PO BOX 190435                                                                                                       SAN JUAN          PR         00919‐0435
   696732 LESLIE J FLORES JAIMAN                       VILLAS DE SAN AGUSTIN          P 23 CALLE 10                                                                        BAYAMON           PR         00959
   266355 LESLIE J MARTINEZ BOTET                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266356 LESLIE J R SOTO PACHECO                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266357 LESLIE J SPROLITTO SKERRET                   REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   266362 LESLIE JOEHANN CRUZ ANGULO                   REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   266363 LESLIE JOHN NUNEZ RODRIGUEZ                  REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266366 LESLIE L ORTIZ FLORES                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   696734 LESLIE LAMBOY COLLAZO                        PO BOX 432                                                                                                          JAYUYA            PR         00664
   266367 LESLIE LOPEZ SOLIS                           REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   696737 LESLIE LUGO Y/O BATO PLENA                   HC 73 BOX 5545                                                                                                      NARANJITO         PR         00719

   696738 LESLIE M ACEVEDO CRUZ                        33 A URB BRISAS DE RIO HONDO                                                                                        MAYAGUEZ          PR         00680
          LESLIE M CONCEPCION
   266368 MARTINEZ                                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266369 LESLIE M CRESPO RAMOS                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266370 LESLIE M DUPREY MERCADO                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   696739 LESLIE M FIGUEROA RIVERA                     PO BOX 178                                                                                                          FLORIDA           PR         00650‐0178
   696740 LESLIE M GONZALEZ GUERRA                     RES EL MANANTIAL               EDIF 2 APTO 30                                                                       SAN JUAN          PR         00927
   266371 LESLIE M JUSINO DIAZ                         REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266373 LESLIE M PEREZ CUBERO                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266374 LESLIE M PEREZ RIVERA                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   696741 LESLIE M RIVERA MALAVE                       URB SOL Y MAR                  BOX 490                                                                              ISABELA           PR         00662
   696742 LESLIE M ROLDAN RAMOS                        URB SANTA JUANA 3              T 18 CALLE 10                                                                        CAGUAS            PR         00725
   266376 LESLIE M RUIZ RIVERA                         REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   696743 LESLIE M VAZQUEZ COTTO                       P O BOX 936                                                                                                         CULEBRA           PR         00775
   266378 LESLIE M. COURET GONZALEZ                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   696744 LESLIE M. FLORES OTERO                       PO BOX 1278                                                                                                         MOROVIS           PR         00687

   266379 LESLIE M. MALDONADO MONTES REDACTED                                         REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266380 LESLIE MALAVE COLON        REDACTED                                         REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                     3RA SECC URB TURABO
   696745 LESLIE MARIE SANTOS ROMAN GARDENS                                           CALLE D ‐ R 13 ‐ 10                                                                  CAGUAS            PR         00725
   266381 LESLIE MARTINEZ COLON      REDACTED                                         REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                     JARDINES DEL CONDADO
   696746 LESLIE MARTINEZ GALVEZ     MODERNO                                          APT C 22 D                                                                           CAGUAS            PR         00725
   696748 LESLIE MELENDEZ SANCHEZ    10 CALLE PATRON                                                                                                                       MOROVIS           PR         00687
   696749 LESLIE MELLMAN DEBRA       COD PALMA REAL                                   2 CALLE MADRID APT 15 F                                                              SAN JUAN          PR         00907
   696750 LESLIE MERCADO MILLET      29 CALLE RIO GRANDE                                                                                                                   SAN JUAN          PR         00915
   266382 LESLIE MERCED MAYSONET     REDACTED                                         REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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          LESLIE MILAGROS DUPREY
   266383 MERCADO                                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   696751 LESLIE MIRANDA CRUZ                         HC 67 BOX 15595                                                                                                BAYAMON             PR         00960
   266384 LESLIE MONSE COURET                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   266385 LESLIE MORALES MARQUES                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   266386 LESLIE MORALES MARTINEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   696752 LESLIE MUNOZ ALONSO                         PO BOX 258                                                                                                     JUANA DIAZ          PR         00795
   696753 LESLIE NADAL HERNANDEZ                      URB SANTA ROSA              16 CALLE22 BLOQUE 40                                                               BAYAMON             PR         00959
   696754 LESLIE NAZARIO ARROYO                       PO BOX 800905                                                                                                  COTTO LAUREL        PR         00780‐0905
   696755 LESLIE NIEVES RODRIGUEZ                     URB. REPARTO ALHAMBRA       E 108 CALLE ASTURIAS                                                               BAYAMON             PR         00957
   696757 LESLIE ORAMA RIOS                           P O BOX 143411                                                                                                 ARECIBO             PR         00614‐3411
   266387 LESLIE ORTEGA REYES                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   266388 LESLIE ORTIZ RODRIGUEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   266389 LESLIE PAGAN                                REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   266390 LESLIE PAGAN VALENTIN                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   696759 LESLIE PEREZ ROMAN                          COUNTRY CLUB                976 HYPOLAIS                                                                       SAN JUAN            PR         00924
   696760 LESLIE R RIVERA ERAZA                       PMB SUITE 170               90 AVE RIO HONDO                                                                   BAYAMON             PR         00961‐3105

   696763 LESLIE R. RODRIGUEZ CARMONA                 URB SANTA JUANA IV          X‐7 CALLE 10‐A                                                                     CAGUAS              PR         00725
   696764 LESLIE RAMOS                                URB BAIROA                  J 5 CALLE SANTA MARIA                                                              CAGUAS              PR         00725
   696765 LESLIE RAMOS SILVA                          VILLA DEL CARMEN            4494 AVE CONSTACIA                                                                 PONCE               PR         00716
   696766 LESLIE ROBLES ACEVEDO                       URB JARD DEL CARIBE         GG 38 C/ 36                                                                        PONCE               PR         00728
   266391 LESLIE ROBLES RIVERA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   696767 LESLIE RODRIGUEZ                            PO BOX 21365                                                                                                   SAN JUAN            PR         00928
   266392 LESLIE RODRIGUEZ CORDERO                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   696768 LESLIE RODRIGUEZ CORREA                     HC 2 BOX 20490                                                                                                 RIO GRANDE          PR         00745
   696769 LESLIE RODRIGUEZ MATEO                      URB CIUDAD JARDIN           194 CALLE LOS CAOBOS                                                               CANOVANAS           PR         00729
   266393 LESLIE RODRIGUEZ MENDOZA                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   696770 LESLIE ROJAS MACHADO                        HC 1 BOX 5114                                                                                                  BARCELONETA         PR         00617
          LESLIE ROSIE CAMACHO
   266394 ACEVEDO                                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   266395 LESLIE RUBERO MULTI SERVICE                 RR 4 BOX 26449                                                                                                 TOA ALTA            PR         00953‐0000
   266396 LESLIE RUIZ CRUZ                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   266397 LESLIE S PINA VEGA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   266398 LESLIE S ZIMMERMA                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   696771 LESLIE SANTIAGO MORALES                     URB ALTAMIRA                D 53 CALLE 11                                                                      FAJARDO             PR         00738
   266399 LESLIE SANTOS BERMUDEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   696772 LESLIE SERRANO CLASS                        232 AVE ELEONOR ROOSEVELT                                                                                      SAN JUAN            PR         00907
   696773 LESLIE SONERA HERNANDEZ                     HC 1 BOX 4785                                                                                                  CAMUY               PR         00627
   696774 LESLIE SOTO ORTIZ                           ALTURAS DE FLAMBOYAN        E 56 CALLE 6                                                                       BAYAMON             PR         00959
   266400 LESLIE SUAREZ SUAREZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   696775 LESLIE TOLEDO GARCIA                        PO BOX 132                                                                                                     HATILLO             PR         00659
   266401 LESLIE TORRES BONILLA                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   696776 LESLIE VALENTIN JIMENEZ                     26 COM MARQUES BUCARE                                                                                          MANATI              PR         00674
   266402 LESLIE VELEZ ROBLES                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   266403 LESLIE WALLACE COOK                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   696779 LESLIES GARDEN                              4 SECTOR OTERO COTTO                                                                                           ISABELA             PR         00662
   266406 LESLY A DIAZ MONTANEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   266407 LESLY ANN BRUNO HERNNADEZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   266408 Lesly Ann Díaz MontaNez                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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   266409 LESLY ANN SALCEDO SANTANA                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266411 LESLY M COLON SANCHEZ                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   266412 LESLY RODRIGUEZ RODERIGUEZ                  REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696781 LESLYE A LEBRON QUILES                      URB VILLAS DEL BOSQUE      G 1 CALLE GERANIO                                                                    CIDRA               PR           00739
   266413 LESMARY A RIVERA PADILLA                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266414 LESMES DELGADO APONTE                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266416 LESMES O ACEVEDO CRESPO                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696785 LESMUEL ABREU ROLDAN                        PO BOX 240                                                                                                      SANTA ISABEL        PR           00757
   696786 LESOURD & PATTEN PS                         2401 ONE UNION SQUARE      600 UNIVERSITY ST                                                                    SEATTLE             WA           98101

   266423 LESPIER DE JESUS MD, IZEWSKA                REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   266427 LESPIER MUÐOZ NOYA & RIVERA PO BOX 364428                                                                                                                   SAN JUAN            PR           00936‐4428

   266428 LESPIER MUNOZ NOYA & RIVERA PO BOX 364428                                                                                                                   SAN JUAN            PR           00936‐4428
   266437 Lespier, Hector L. Baez     REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266438 LESSER DE MARCHENA DIAZ     REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266439 LESSIDETH MILLAN APONTE     REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   266440 LESSUR JOHNSON MD, ANDRES G REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266441 LESTER A ALVAREZ TORRES     REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266443 LESTER AVILES PACHECO       REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266444 LESTER BURGOS BERRIOS       REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696788 LESTER COLON DARDER         URB DOS PINOS                              779 CALLE CERES                                                                      SAN JUAN            PR           00923

   266445 LESTER CORDERO RODRIGUEZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   266446 LESTER D HERNANDEZ COLON                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   266447 LESTER D. HERNANDEZ COLON                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266449 LESTER E GOGLES GOMEZ                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696789 LESTER E KEYS SMITH                         URB SANTA PAULA            2 B #6 CALLE 1                                                                       GUAYNABO            PR           00969
   696790 LESTER E OZUNA GONZALEZ                     HC 3 BUZON 12155                                                                                                YABUCOA             PR           00767 9707
   266450 LESTER F MENDEZ ROSADO                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266451 LESTER GARCIA PEREZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696791 LESTER GARCIA VARGAS                        P.O. BOX 1631                                                                                                   MAYAGUEZ            PR           00681
          LESTER GUSTAVO MORALES
   696792 GARCIA                                      ESTANCIAS DE JUANA DIAZ    136 CALLE MOCA                                                                       JUANA DIAZ          PR           00795‐2828
   266453 LESTER I NURSE ALLENDE                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266455 LESTER J MORALES ORTIZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266456 LESTER J OQUENDO CEDENO                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266457 LESTER JIMENEZ QUIEL                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266458 LESTER L CABANILLAS HOMS                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266459 LESTER LUGO MORALES                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696794 LESTER LYLE                                 HC 01 BOX 2402                                                                                                  MAUNABO             PR           00707
   696795 LESTER MALDONADO VELEZ                      URB LA GUADALUPE           D 3 CALLE LA MONSERRATE                                                              PONCE               PR           00730‐2404
   266462 LESTER NAVARRO BENITEZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696796 LESTER NEGRON AYALA                         FERNANDEZ JUNCOS STATION   PO BOX 19175                                                                         SAN JUAN            PR           00918‐9175
          LESTER O FERNANDEZ
   266464 MALDONADO                                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696799 LESTER R RIOS ROMERO                        CALLE CAPESTANY 27 B                                                                                            MAYAGUEZ            PR           00680



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  266465 LESTER R RIVERA RIGAU                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  696802 LESTER RODRIGUEZ BAEZ                        RES JARDINES DE CUPEY       EDIF 10 APT 122                                                                   SAN JUAN             PR         00926
  266466 LESTER ROHENA TORRES                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  266467 LESTER ROSADO MATOS                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  266468 LESTER SOLIS BETANCOURT                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  266469 LESTER TORRES FERNANDEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         LESTHER A MORALES / CARMEN
  266470 U SANTIAGO                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  696803 LESTON COLLEGE                               52 CALLE DR VEVE                                                                                              BAYAMON              PR         00961

   266471 LESTON R LUCIANO MONTALVO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   266472 LESTRANGE MD, NILE                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   266473 LESVIA E SEDA MARTINEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   696806 LESVIA L LOPEZ MATIAS                       BO VOLCAN                   137 CALLE VOLCAN                                                                  BAYAMON              PR         00959
   696807 LESVIA M DIAZ ORTIZ                         CALLE JOSE DE DIEGO 27                                                                                        SALINAS              PR         00751
   266477 LESVIA MEDINA NIETO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   696808 LESY A IRIZARRY PAGAN                       URB FAIR VIEW               B 32 CALLE 5                                                                      SAN JUAN             PR         00926
   266478 LESYNIA GARCIA                              REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   266479 LETHZEN M REXACH DIAZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   696809 LETHZEN VELEZ ROSADO                        AA 35 CALLE MARGARITA SUR                                                                                     LEVITTOWN            PR         00949
   696811 LETICIA A COSTA SIERRA                      HC04 BOX 17801                                                                                                CAMUY                PR         00627

   696812 LETICIA A GONZALEZ LEZCANO                  EL CEREZAL 1661             CALLE ORINOCO                                                                     SAN JUAN             PR         00926
          LETICIA A Y RANDY ARVELO
   696813 MEJIA                                       115 CALLE RAFAEL ALERS                                                                                        SAN JUAN             PR         00911
   696814 LETICIA ACEVEDO MONT                        HC‐02 BOX 6205              BAJADERO                                                                          ARECIBO              PR         00616
   266481 LETICIA ALAMO ADORNO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   266482 LETICIA ALBERT GUZMAN                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   696815 LETICIA ALBINO MILIAN                       HC 765 BOX 5432                                                                                               PATILLAS             PR         00723
   696816 LETICIA ALICEA                              EXT DR PILA EDIF 6 APT 86                                                                                     PONCE                PR         00731
   266483 LETICIA ALVARADO SERRANO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   696818 LETICIA ALVAREZ VEGA                        P O BOX 678                                                                                                   GARROCHALES          PR         00652
   696819 LETICIA APONTE LOPEZ                        PO BOX 409                                                                                                    SAN LORENZO          PR         00754
   696821 LETICIA ARROYO OJEDA                        57 GRANITE ST               APT. # 2                                                                          WORCESTER            MA         01604
   266484 LETICIA BAEZ ROLDAN                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   266486 LETICIA C GIMENEZ SOLER                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   266488 LETICIA CARTAGENA TORRES                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   696826 LETICIA CASALDUC RABELL                     PO BOX 9023557                                                                                                SAN JUAN             PR         00902‐3557
   696828 LETICIA CASTALDO                            URB SANTA ROSA              50‐22 CALLE 25                                                                    BAYAMON              PR         00959
   266490 LETICIA CASTRO                              REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   696829 LETICIA CHUPANY SILVA                       BOX 4                                                                                                         SALINAS              PR         00751
   266491 LETICIA COLLAZO OSORIO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   266492 LETICIA COLON MALAVE                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   696830 LETICIA COLON MILLAN                        P O BOX 2956                                                                                                  RIO GRANDE           PR         00745

   696832 LETICIA CONCEPCION JIMENEZ                  EXT LA GRANJA               A 9 CALLE LOS PACIOS                                                              CAGUAS               PR         00725
   266493 LETICIA CORDERO ACEVEDO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   696834 LETICIA COSME ESPADA                        TURABO CLUSTERS             BOX 96                                                                            CAGUAS               PR         00725
   696836 LETICIA CRUZ AGOSTO                         BO MARIACAO                 BOX 5072                                                                          VEGA ALTA            PR         00692
   696838 LETICIA CUADRADO COLON                      COND PARQUE SAN ANTINIO     APTO 1306                                                                         CAGUAS               PR         00727‐5920
   266494 LETICIA D ACEVEDO CRESPO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   696839 LETICIA DAVILA CRUZ                         10 CALLE SAN RAFAEL                                                                                           FAJARDO              PR         00738
   696840 LETICIA DE JESUS GONZALEZ                   URB MONTEMAR                B 4 CALLE B                                                                       FAJARDO              PR         00738



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   696841 LETICIA DEL C RAMIREZ MOJICA                29 CALLE BETANCES                                                                                                   SAB GRANDE          PR           00637
   696842 LETICIA DELGADO RIVERA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266475 LETICIA DIAZ MARRERO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696847 LETICIA ESPADA ROLDAN                       PO BOX 5080                 SUITE 222                                                                               AGUADILLA           PR           00605‐5080

   696848 LETICIA FELICIANO HERNANDEZ                 COND DOS PINOS PLAZA        833 CALLE LINCE APTO 402 A                                                              SAN JUAN            PR           00923
   696849 LETICIA FERRER RIVERA                       PO BOX 710                                                                                                          YAUCO               PR           00698
   266496 LETICIA FERRER SOTO                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266497 LETICIA FIGUEROA LOZADA                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266498 LETICIA GALARZA GARCIA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266499 LETICIA GOMEZ ECHEVARRIA                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696850 LETICIA GOMEZ ORTIZ                         RES MONTE HATILLO           EDIF 18 APTO 242                                                                        SAN JUAN            PR           00924
   696851 LETICIA GONZALEZ CORTEZ                     URB VISTA MAR               8 CALLE ADRIAN GONZALEZ                                                                 ARECIBO             PR           00612
   266500 LETICIA GONZALEZ MUNOZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696853 LETICIA GONZALEZ RIVERA                     HC 4 BOX 44287                                                                                                      LARES               PR           00669
   696854 LETICIA HERNANDEZ BURGOS                    URB VILLA UNIVERSITARIA     S 21 CALLE 26                                                                           HUMACAO             PR           00791

   696855 LETICIA HERNANDEZ HUERTAS                   HC 1 BOX 6653                                                                                                       GUAYNABO            PR           00971
   696856 LETICIA HERNANDEZ ORTIZ                     HC 02 BOX 4636                                                                                                      COAMO               PR           00769

   696857 LETICIA I RIVERA RODRIGUEZ                  107 BOBWHITE RD EGG HARBOR                                                                                          TWP                 NY           08234
   696858 LETICIA IGLESIA QUINONES                    P O BOX 360228                                                                                                      SAN JUAN            PR           00936
   696859 LETICIA IRRIZARRY MENDEZ                    CIUDAD JARDIN              186 CALLE LIRIO                                                                          CAROLINA            PR           00987
   266501 LETICIA J SANTAELLA VELEZ                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266502 LETICIA JONES ALCALA                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696861 LETICIA LOPEZ DIAZ                          BOX 1894                                                                                                            GUAYNABO            PR           00970
   696862 LETICIA LOPEZ MALDONADO                     PO BOX 2523                                                                                                         VEGA BAJA           PR           00694
   696863 LETICIA LUGO MARRERO                        CAMINO LOS PIZARROS        KM 0 HM 9                                                                                SAN JUAN            PR           00926
   696864 LETICIA M BLAKE WALTERS                     URB TORRIMAR               J3 CALLE CHURCH HILL                                                                     GUAYNABO            PR           00966

   696865 LETICIA M HERNANDEZ BURGOS                  HC 2 BOX 6505                                                                                                       MOROVIS             PR           00687
   696866 LETICIA M LOPEZ RODRIGUEZ                   URB VISTA HERMOSA           29 CALLE 6B                                                                             HUMACAO             PR           00791
   696867 LETICIA M RIVERA CASTRO                     P O BOX 2755                                                                                                        ARECIBO             PR           00613
          LETICIA MALDONADO
   266504 MALDONADO                                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696868 LETICIA MALDONADO RUIZ                      LAGO ALTO                   D 45 CALLE CARTAGENA                                                                    TRUJILLO ALTO       PR           00976

   266505 LETICIA MARRERO HERNANDEZ                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266507 LETICIA MARTINEZ PARRILLA                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266508 LETICIA MELENDEZ SANCHEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266509 LETICIA MOLINA CRUZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266511 LETICIA MORALES LOPEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266512 LETICIA MORALES SANTIAGO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266513 LETICIA NEGRON GARCIA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266514 LETICIA NUNEZ CLAUDIO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266516 LETICIA ORTIZ RIVERA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266518 LETICIA OYOLA MARTINEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696871 LETICIA PICON COLON                         BO SABANA HOYOS             SECT BALLAJA                 CARR 663 KM 1.4                                            ARECIBO             PR           00688
   266520 LETICIA PIMENTEL RIOS                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696872 LETICIA PINERO CHEVALIER                    URB PUERTO NUEVO            1012 CALLE ALEJANDRIA                                                                   SAN JUAN            PR           00920
   266521 LETICIA PLANELL LARRINAGA                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   696875 LETICIA R DETRES MARTINEZ                   URB. SAN JOSE 61                                                                                                    SABANA GRANDE       PR           00637



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  696878 LETICIA RAMOS DIAZ                           HC 5 BOX 17405                                                                                                         QUEBRADILLAS      PR           00678
  696879 LETICIA RAMOS LACEN                          PO BOX 58                                                                                                              LOIZA             PR           00772
         LETICIA REXACH Y/O RAMONA
  696880 FUSILIER                                     URB LAS VEREDAS                B 26 CALLE VEREDA TROPICAL                                                              BAYAMON           PR           00961
  696881 LETICIA REYES                                COLINAS MONTE BELLO            7 CALLE VISTA MAR                                                                       TRUJILLO ALTO     PR           00976
  266522 LETICIA RIVAS CRESPO                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  696882 LETICIA RIVERA ALVARADO                      207 CALLE JULIO ROSARIO                                                                                                AIBONITO          PR           00735
  696883 LETICIA RIVERA CRUZ                          P O BOX 429                                                                                                            COMERIO           PR           00782
  266523 LETICIA RIVERA FLORES                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  266524 LETICIA RIVERA MARRERO                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  266525 LETICIA RIVERA MELENDEZ                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  696886 LETICIA RIVERA PEREZ                         HC 02 BOX 9918                                                                                                         AIBONITO          PR           00705
  696888 LETICIA ROBLES OQUENDO                       JARDINES DE PONCE              I 22 CALLE G                                                                            PONCE             PR           00731
  696889 LETICIA RODRIGUEZ                            COND SEGOVIA APT 1807                                                                                                  HATO REY          PR           00918

   770693 LETICIA RODRIGUEZ DE SEVILLA                REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   696891 LETICIA RODRIGUEZ FERRER                    URB BORINQUEN                  BB13 CALLE 2 A                                                                          CABO ROJO         PR           00623
   696892 LETICIA RODRIGUEZ GUZMAN                    828 CALLE RICARDO ARROYO                                                                                               DORADO            PR           00646

   696893 LETICIA RODRIGUEZ MORALES                   BO GALATEO CENTRO              CARR 804 K1 H 1                                                                         TOA ALTA          PR           00953
   696894 LETICIA ROMAN TORRES                        VILLA NEVARES                  1032 CALLE 10                                                                           SAN JUAN          PR           00927
   266526 LETICIA RONDA                               REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  1256634 LETICIA ROSA LÓPEZ                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   266527 LETICIA ROSARIO DIAZ                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   266528 LETICIA RUIZ CHICO                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   696895 LETICIA SANCHEZ ROMAN                       RUTA I BOX 40 GG                                                                                                       CAROLINA          PR           00983
   266529 LETICIA SANTIAGO BONILLA                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   696896 LETICIA SANTIAGO GONZALEZ                   PO BOX 1190                                                                                                            MOCA              PR           00676
   696897 LETICIA SANTIAGO GUZMAN                     PO BOX 8886                                                                                                            HUMACAO           PR           00792
   266530 LETICIA SANTIAGO RIVERA                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   696898 LETICIA SANTOS HERNANDEZ                    D 50 CALLE 16 FINAL APTO 701                                                                                           GUAYNABO          PR           00969

   696899 LETICIA SOLIS JORDAN                        URB LADERAS DE PALMAS REAL     W 733 CALLE CERVANTES                                                                   SAN JUAN          PR           00926
   696901 LETICIA STELLA                              125 E 12TH STREET APT 4 H                                                                                              NEW YORK          NY           10003
   696902 LETICIA TORRES DE LEON                      EXT BDA CLARK                  PARC 175 CALLE 2                                                                        CULEBRA           PR           00775‐0727
   266532 LETICIA UBINAS CARDONA                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   266533 LETICIA UBINAS LOPEZ                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   266534 LETICIA VALDEZ HUERTAS                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   266535 LETICIA VEGA SANTIAGO                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   696906 LETICIA VELAZQUEZ ROBLEDO                   RES RAMOS ANTONINI             EDF 29 APT 278                                                                          PONCE             PR           00731
   266536 LETICIA VELEZ LOPEZ                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   696907 LETICIA VERGAR TORRES                       8718 COTBRIAR LONE                                                                                                     ORLANDO           FL           32829‐0000

   266537 LETICIA VILLANUEVA OLIVERAS                 REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   696908 LETICIA VIZCARRONDO                         PO BOX 171                                                                                                             LOIZA             PR           00772
   266538 LETIES M RIVERA COLON                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   266539 LETILU RAMIREZ FELICIANO                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   266541 LETRAS KOINE                                RR3 BOX 3801                                                                                                           SAN JUAN          PR           00926

   266542 LETRATANAKUL MD, YONGSUK                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   696909 LETSI R RAMIRES TORRES                      TAMARINDO                      175 CALLE 4                                                                             PONCE             PR           00716



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MML ID                 NAME                                      ADDRESS 1                         ADDRESS 2                ADDRESS 3                           ADDRESS 4             CITY        STATE    POSTAL CODE       COUNTRY
  266551 LETSIMARA BRANDI VAZQUEZ                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  696910 LETSIMARA PEREZ VARGAS                       PO BOX 7126                                                                                                           PONCE              PR         00732
  696911 LETTER PUBLICATIONS                          PO BOX 31104                                                                                                          BETHESDA           MD         20824‐1104
  831464 Letter Publications Inc.                     P.O. Box 271617                                                                                                       West Hartford      CT         06127
  266552 LETTERS MEDAL INC                            BOX 4183                                                                                                              SAN JUAN           PR         00902
  696912 LETTY ANN GARCIA TORRES                      URB LOMAS VERDES               3A1 AVE NOGAL                                                                          BAYAMON            PR         00956
  266554 LETTY C. AVILÉS BLANCO                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   696913 LETTY IVETTE CARRION MORALES MARGARITA II                                  EDIF 5 APT 561                                                                         SAN JUAN           PR         00915
   266555 LETTY MACIAS ORDONEZ         REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   696915 LETTY VELAZQUEZ              HC 1 BOX 4304                                                                                                                        LOIZA              PR         00772
   696916 LETTY ZAPATA CALDERON        P O BOX 1250                                                                                                                         CABO ROJO          PR         00623

   266556 LETXY F RODRIGUEZ RODRIGUEZ                 REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   266558 LETZA M ROSADO GUZMAN                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   696917 LEUDY E HIDALGO                             207 COND TOWN HOUSE                                                                                                   SAN JUAN           PR         00923
          LEUGIM A MORALES
   266559 MAISSONETT                                  REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          LEUKEMIA & LYMPHOMA
   266560 SOCIETY                                     304 AVE PONCE DE LEON PISO 8                                                                                          SAN JUAN           PR         00918‐2029
   266567 LEUVIS RIVERA PAGAN                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   696919 LEVE ENTERPRISES                            PO BOX 363542                                                                                                         SAN JUAN           PR         00936‐8847
   696920 LEVEL CONSTRUCTION CORP                     PO BOX 1828                                                                                                           CIDRA              PR         00739
   696922 LEVI ARROYO CRESPO                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   266577 LEVI M DIAZ LLOMPART                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   266578 LEVI RAY & SHOUP INC                        100 GALLERIA PARWAY            SUITE 900                                                                              ATLANTA            GA         30339
   696923 LEVICOR                                     2029 LOIZA STATION                                                                                                    SANTURCE           PR         00911
   696924 LEVID A BRUNO ORTIZ                         JARDINES DE BORINQUEN          Q 22 CALLE CANARIA                                                                     CAROLINA           PR         00985
   696925 LEVIITOWN AUTO REPAIR                       AVE DOS PALMAS 2836                                                                                                   LEVITTOWN          PR         00949
   266582 LEVINSTEIN MD, GENE                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   266585 LEVIS MORALES LUCCA                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   266586 LEVIS O MENDEZ TORRES                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   266587 LEVIT BAUTA PIZARRO                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   696926 LEVITT CARBURATORS                          AVE DOS PALMAS 2757            LEVITTOWN                                                                              TOA BAJA           PR         00949
   266588 LEVITT HOMES CORP                           PO BOX 2119                                                                                                           SAN JUAN           PR         00922‐2119

   696927 LEVITT HOMES PUERTO RICO INC P O BOX 2119                                                                                                                         SAN JUAN           PR         00922‐2119
   696928 LEVITT O CRUZ ZAYAS          HC 20 BOX 27875                                                                                                                      SAN LORENZO        PR         00754

   696929 LEVITTOWN AUTO ZONE                         7ma SEC LEVITTOWN              H2‐1 AVE GREGORIO LEDESMA                                                              TOA BAJA           PR         00949
   696930 LEVITTOWN COMMERCIAL                        FERNANDEZ JUNCOS STATION       PO BOX 8459                                                                            SAN JUAN           PR         00910
   266589 LEVITTOWN EXPRESS MAIL                      1178 DOS PALMAS AVE            URB LEVITTOWN                                                                          TOA BAJA           PR         00949

   696931 LEVITTOWN RADIOLOGY CENTER PMB 124‐1353                                    CARR 19                                                                                GUAYNABO           PR         00966‐2700
   266592 LEVOC INC                  URB RIO CANAS                                   2509 CALLE INABON                                                                      PONCE              PR         00728
   696933 LEVON FURNITURE            BAYAMON CENTRO                                  CARR 2 KM 114                                                                          BAYAMON            PR         00957
   266593 LEVY CONSTRUCTION, CORP    PO BOX 16125                                                                                                                           SAN JUAN           PR         00908‐6125
   696934 LEVY FRANCISCO HIJO        PO BOX 2708                                                                                                                            SAN JUAN           PR         00902‐2708
   696936 LEVY H BOBE ACOSTA         URB EL MIRADOR                                  I 2 CALLE 6                                                                            SAN JUAN           PR         00926
   266596 LEVY J CORTES COUVERTIER   REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   266598 LEVY MD , ROBERT G         REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   266599 LEVY RESTAURANTS           980 N MICHIGAN AVE STE 400                                                                                                             CHICAGO            IL         60611
   696937 LEVY RIVERA                72 SARATOGA DRIVE                                                                                                                      CEIBA              PR         00735



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  266605 LEVYN MD, JONATHAN                           REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  696938 LEWDAMI COLON DIAZ                           URB VILLA CAROLINA        13‐6 CALLE 26                                                                         CAROLINA          PR         00985
  696939 LEWIS GARCIA MORENO                          4TA SECCION LEVITOWN      AU 55 CALLE LEONOR                                                                    TOA BAJA          PR         00950
  696940 LEWIS M GRANT WILSON                         COND CHALETS DEL PARQUE   12 AVE ARBOLOTE APT 123                                                               GUAYNABO          PR         00969
  696942 LEWIS PEREZ OYOLA                            JARD DE COUNTRY CLUB      BK 10 CALLE 11                                                                        CAROLINA          PR         00985
  266615 LEWIS QUINONES GARCIA                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  266616 LEWIS R FONSECA                              REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         LEWISTON BAEZ, CORE Y
 1420201 LEWISTON BAEZ, MIRANDA                       CARLOS RIESTRA CORTÉS     TORRE DEL CARDENAL PH‐17                                                              SAN JUAN          PR         00918
  266626 LEX CONSULTING GROUP PSC                     URB EL SENORIAL           2009 CALLE LOPE DE VEGA                                                               SAN JUAN          PR         00926
  696943 LEX INC                                      PO BOX 2432                                                                                                     GUAYNABO          PR         00970
  266627 LEX LEGIS PORTO RICO LLC                     PO BOX 193594                                                                                                   SAN JUAN          PR         00919‐3594
  266628 LEX SANTOS RIVERA                            REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  696944 LEXA J MARQUEZ VELAZQUEZ                     PO BOX 1159                                                                                                     LAS PIEDRAS       PR         00771
  266629 LEXA L RIVERA VAZQUEZ                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   266632 LEXAVIER RIVERA GIOVANETTI                  REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   696945 LEXICA INTERNATIONAL CORP                   P O BOX 6756                                                                                                    SAN JUAN          PR         00914‐6756

   266633 LEXIER LARACUENTE FELICIANO                 PO BOX 8339                                                                                                     PONCE             PR         00732

   266637 LEXINGTON NEUROLOGY ASSOC 530 EAST 72ND STREET                                                                                                              NEW YORK          NY         10021‐5107
   266638 LEXIRIA RIVERA LORENZANA  REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   266639 LEXIS NERIS MATHEW BENDER                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266640 LEXIS NEXIS                                 REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266641 LEXIS NEXIS CASE SOFT                       9393 SPRINGBORO PIKE                                                                                            MIAMISBURG        OH         45342‐4425

   696946 LEXIS NEXIS MATHEW BENDER                   PO BOX 7247‐0178                                                                                                PHILADELPHIA      PA         19170‐0178
   266644 LEXIS NEXIS OF PR INC                       PO BOX 9066550                                                                                                  SAN JUAN          PR         00909‐6550
   266645 LEXIS NEXIS RISK ACCURINT                   PO BOX 7247‐6157                                                                                                PHILADELPHIA      PA         19170‐6157
   266646 LEXIS PUBLISHING                            ACCT# 0394092001          PO BOX 9066550                                                                        SAN JUAN          PR         00906‐0550
   266647 LEXIS‐NEXIS                                 PO BOX 9024180                                                                                                  SAN JUAN          PR         00902‐4180
          LEXISNEXIS MATHEW BENDER &
   266648 CO, INC                                     1275 BROADWAY                                                                                                   ALBANY            NY         12204
          LEXISNEXIS OCC. HEALTH
   266649 SOLUTIONS                                   PO BOX 7247‐0377                                                                                                PHILADELPHIA      PA         19170‐0377
          LEXISNEXIS RISK DATA
   266650 MANAGEMENT INC                              ACCOUNT 6673693           28330 NETWORK PLACE                                                                   CHICAGO           IL         60673‐1283

   266651 LEXISNEXIS RISK SOLUTION INC                PO BOX 7247‐6157                                                                                                PHILADELPHIA      PA         19170‐6157
   266652 LEXMARK INTERNATIONAL                       PO BOX 11898                                                                                                    SAN JUAN          PR         00922

   266653 LEXMARK INTERNATIONAL INC                   740 W NEW CIRCLE ROAD                                                                                           LEXINGTON         KY         40550
   266655 LEXMARK INTERNATIONAL PR                    PO BOX 11898                                                                                                    SAN JUAN          PR         00922‐1898
   266656 LEXMAYRIS AMBULANCE INC                     HC 09 BOX 94571                                                                                                 SAN SEBASTIAN     PR         00685
   696952 LEXSY COLON GONZALEZ                        APARTADO 1289                                                                                                   RIO GRANDE        PR         00745
   266659 LEXTER A ROSARIO COTTO                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   696954 LEXTER ROSARIO SANJURJO                     JARD DE CAROLINA          CALLE B 6                                                                             CAROLINA          PR         00986

   696955 LEYCHAMARIE TORRES ALGARIN URB JARD DE PALMAREJO                      H 2 CALLE 4                                                                           CANOVANAS         PR         00729
   696956 LEYDA ANDUJAR MERCADO      PO BOX 16                                                                                                                        LAS MARIAS        PR         00670
   696958 LEYDA BATIZ RUIZ           URB SANTA PAULA                            8‐15 CALLE 7                                                                          GUAYNABO          PR         00969



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  266664 LEYDA CINTRON SANTOS                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  266665 LEYDA CRUZ CRUZ                              REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  696961 LEYDA CRUZ PEREZ                             BOX 8505                                                                                                           RIO GRANDE        PR         00745
  266666 LEYDA DAMIANI MONTALBAN                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  696963 LEYDA E CRUZ BERRIOS                         URB VILLA DEL CARMEN        G 2 CALLE 7                                                                            CIDRA             PR         00739
  266667 Leyda E. Riquelme Cortes                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  266668 LEYDA E. SIERRA ESTRADA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  266669 LEYDA FIGUEROA GONZALEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  696964 LEYDA FRANQUI VALENTIN                       172 VILLA LAS VIOLETAS                                                                                             MAYAGUEZ          PR         00680
  266670 LEYDA GARCIA CRUZ                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  696965 LEYDA GARCIA DIAZ                            URB CONDADO MODERNO         I11 CALLE 8                                                                            CAGUAS            PR         00725
  266672 LEYDA GUZMAN                                 REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   696966 LEYDA HERNANDEZ CORDERO                     P O BOX 584                                                                                                        MOCA              PR         00676
   266673 LEYDA I. ALICEA RAMOS                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LEYDA JOSEFINA MASSAS
   696969 CRESPO                                      ALTOS BO INGENIO            361 CALLE DAVID                                                                        TOA BAJA          PR         00749

   266675 LEYDA L CONCEPCION MARQUEZ REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266676 LEYDA L PANTOJA ORTIZ      REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                  711 CALLE ASTER URB VENUS
   696971 LEYDA LEBRON SANTOS                         VENUS GARDENS               GDNS                                                                                   SAN JUAN          PR         00926
   266678 LEYDA LUGO ORTIZ                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   696972 LEYDA LUGO PEREZ                            URB REPARTO CAGUAX          F 25 CALLE NABORIA                                                                     CAGUAS            PR         00725
   266679 LEYDA M CARDONA ROSA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   696973 LEYDA M QUINONES QUINONES CONF MALL STA SUITE 581                       BOX 2500                                                                               TOA BAJA          PR         00951

   266680 LEYDA M VIZCARRONDO AYALA REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   696974 LEYDA MARTINEZ LUGO          RR 02 BOX 5573                                                                                                                    TOA ALTA          PR         00953
   696975 LEYDA MATOS ORTA             URB VISTA AZUL                             CC 25 CALLE 28                                                                         ARECIBO           PR         00612
   696976 LEYDA MIRANDA ROJAS          HC 1 BOX 6588                                                                                                                     MOCA              PR         00676
   266681 LEYDA MORAN GARCIA           REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266682 LEYDA NIEVES RUIZ            REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266683 LEYDA O RIVERA CARDONA       REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   696977 LEYDA OCASIO                 HC 44 BOX 14157                                                                                                                   CAYEY             PR         00736
   266684 LEYDA ONEILL OYOLA           REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   696978 LEYDA ORTEGA TORRES          EXT VILLAS DE LOIZA                        CC 16 CALLE 46                                                                         CANOVANAS         PR         00729
   266685 LEYDA P. FEBRES DELGADO      REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266686 LEYDA PITRE SANTIAGO         REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266687 LEYDA QUINONES ALVARADO      REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LEYDA RIVERA HERNANDEZ / IAN
   696979 D CARDONA                    P O BOX 61                                                                                                                        AGUAS BUENAS      PR         00703
   696980 LEYDA RIVERA PEREZ           BO SAN ANTON                               1 CALLE MONICA RIVERA                                                                  CAROLINA          PR         00987

   696981 LEYDA ROLON FALERO                          URB CIUDAD INTERAMERICANA   602 CALLE DORADO                                                                       BAYAMON           PR         00956
   266688 LEYDA ROMAN MATOS                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266689 LEYDA RUIZ SUAREZ                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   696983 LEYDA SANTIAGOA CALDERON                    URB COUNTRY CLUB            GO 30 CALLE 219                                                                        CAROLINA          PR         00982
   696984 LEYDA SOTO DE JESUS                         PO BOX 464                                                                                                         NAGUABO           PR         00718‐0464
   266690 LEYDA SOTO MENDEZ                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266691 LEYDA T MALDONADO SAEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  696985 LEYDA T RODRIGUEZ SOTO                       P.O. BOX 961                                                                                                   MAYAGUEZ          PR         00681
  696986 LEYDA TIRADO COLMENARES                      150 AVE PONCE DE LEON                                                                                          SAN JUAN          PR         00901
  266692 LEYDA V CASTRO ALVERIO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  696988 LEYDA V ROJAS LLANOS                         URB PARQUE ECUESTRE        F 22 CALLE COLABORADOR                                                              CAROLINA          PR         000987
  266693 LEYDA Z OQUENDO VELEZ                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  266694 LEYDI M. ORTIZ PENZO                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  266695 LEYDIMILT CUEVAS VAZQUEZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  266696 LEYINSKA TORRES                              REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   266697 LEYKA M. RODRIGUEZ CALDERON REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   696990 LEYKA ROIG NARVAEZ          COND RIO VISTA APT G52                                                                                                         CAROLINA          PR         00987
   696991 LEYKAMARIE ALMA PADILLA     VILLA NEVAREZ                              1099 CALLE 1                                                                        SAN JUAN          PR         00927
   696993 LEYLA BARBOSA MONTANEZ      URB SIERRA BAYAMON                         56‐4 CALLE 44                                                                       BAYAMON           PR         00961
   266698 LEYLA DE LEON ROSARIO       REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   696992 LEYLA GONZALEZ IBARRIA      PO BOX 7332                                                                                                                    CAGUAS            PR         00726
   266699 LEYLA GONZALEZ PINO         REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   696994 LEYLA I ALVARADO ALVELO     HC 1 BOX 2288                                                                                                                  AGUAS BUENAS      PR         00703
   266700 LEYLA I GRAULAU IGARTUA     REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266701 LEYLA I TIRADO AGOSTO       REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   696995 LEYLA M JIMENEZ AROCEMENA                   136 CALLE DEL PARQUE 2 C                                                                                       SAN JUAN          PR         00911
   696996 LEYLA N REYES SEPULVEDA                     HC 5 BOX 55230                                                                                                 CAGUAS            PR         00725
   266702 LEYLA NIEVES SOSA                           REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LEYLA QUINONES
   266703 PORTOCARRERO                                REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266704 LEYLIANIE CRUZ MERCED                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266705 LEYMARIE GOMEZ CORREA                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   266706 LEYNAD C DE ARMAS FIGUEROA                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266708 LEYNE GONZALEZ RAMOS                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   696998 LEYRA A PEREZ ORTIZ                         HC 02 BOX 6337                                                                                                 MOROVIS           PR         00687
   266714 LEYSHA GUZMAN VAZQUEZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266715 LEYSHA LOPEZ RECCI                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

          LEYSHA PALACIO
   696999 RODRIGUEZ/MARIA DEL C ROD                   COM PUNTA SALINAS          L 9 CALLE 1                                                                         TOA BAJA          PR         00950

   266716 LEYSHA SHAKIRA RUIZ RAMIREZ                 REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   266717 LEYSHLA Z SANTIAGO BALLESTER REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266718 LEYSI M LEYRO ROSADO         REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LEYSLA LORENIES ORTIZ
   697000 SANCHEZ                      URB. RIO GRANDE HILLS                     CALLE A #4                                                                          RIO GRANDE        PR         00745
   266724 LEYVA MD , EDWARD S          REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697001 LEYVA RODRIGUEZ DEL VALLE    PO BOX 487                                                                                                                    CANOVANAS         PR         00729
   266728 LEYZA B NOGUERAS DEL RIO     REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   266729 LEYZA LOPEZ ESTREMERA        REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697002 LEZDA I TORRES               PO BOX 8543                                                                                                                   HUMACAO           PR         00792‐8543
   266740 LF OFFICE INTERIORS INC      URB CUPEY GARDENS                         F 1 CALLE 9                                                                         SAN JUAN          PR         00926
          LFM CONTRACTORS & PROJECT
   266741 MANAGERS CORP                130 WISTON CHURCHILL                      AVE PUB 298                                                                         SAN JUAN          PR         00926
   266743 LGA INC ‐ PUBLICACIONES JTS  PO BOX 9024120                                                                                                                SAN JUAN          PR         00902‐4120
   697003 LGB DRUG DISTRIBUTOR INC     PO BOX 1510                                                                                                                   CAGUAS            PR         00726



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  266745 LGB PUBLIC REALATIONS LLC                    9595 WILSHIRE BLD 900                                                                                           BEBERLY HILLS      CA         90212
  266747 LGDT CORP                                    100 PASEO ABRIL             APT 302                                                                             TOA BAJA           PR         00949‐4268
  266748 LGP CONSULTING GROUP INC                     PMB 68                      PO BOX 5103                                                                         CABO ROJO          PR         00623
  266750 LHIZA M CASADO PAGAN                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         LHV INC/SUPERMERCADO
  266751 ECONO                                        PO BOX 1178                                                                                                     LARES              PR         00669‐1178
  266752 LI HUANG MD, HUI                             REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  266754 LI OBJIO MD, PERLA                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  266756 LI ZHANG                                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  266757 LIA PADILLA SANTANA                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  697004 LIA W CARO DANIEL                            CANDELARIA                  343 APT 4 B                                                                         SAN JUAN           PR         00912
  266758 LIAM MORALES CASTILLO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  697005 LIAMAR CORA GARCIA                           VALLE ARRIBA HEIGHT         BR 6 CALLE 120                                                                      CAROLINA           PR         00958
  266759 LIAMAR GARCIA DIAZ                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  266760 LIAMAR J PESANTE ORTIZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   266761 LIAMNELL ALVAREZ MARTINEZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   266762 LIAN D RODRIGUEZ ALVAREZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   266763 LIAN I MENDEZ CLARK                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   697007 LIANA ALVARADO COLON                        BO CUCHILLAS                SECTOR PIMIENTO BOX 93                                                              MOROVIS            PR         00687
   266764 LIANA B. BLANCO FONSECA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   266765 LIANA COLON CORTES                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   697008 LIANA COLON VALENTIN                        URBFAIR VIEW 1908           CALLE 46                                                                            SAN JUAN           PR         00926‐7641
   697009 LIANA FIOL MATTA                            URB SANTA MARIA             224 CALLE MIMOSA                                                                    SAN JUAN           PR         00927
   697010 LIANA GUTIERREZ IRIZARRY                    PO BOX 70294                                                                                                    SAN JUAN           PR         00936‐8294
   266767 LIANA I DIAZ VELAZQUEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   266768 LIANA M ASTACIO MONTANEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   697012 LIANA M PANTOJAS QUINTERO                   HC 91 BOX 8911                                                                                                  VEGA ALTA          PR         00692
   697013 LIANA MORENO FERRER                         GARDEN COURT                F 1 CALLE FRANCIA                                                                   GUAYNABO           PR         00966
   697015 LIANA R RODRIGUEZ LEBRON                    56 CALLE DE DIEGO NORTE                                                                                         CAROLINA           PR         00985‐6032
   266769 LIANABEL AMADO BURGOS                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          LIANABEL C. VILLANUEVA
   266770 SANCHEZ                                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   266771 LIANABEL M OLIVER BIGAS                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   266772 LIANABEL ORTIZ MORALES                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   697017 LIANABEL VILLANUEVA SANCHEZ 23 VILLAS SOTO MAYOR                                                                                                            AGUADA             PR         00602

   266773 LIANANGELY CAMACHO SIERRA                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   266774 LIANCA FOLDING BOX INC                      PO BOX 5068                                                                                                     CAROLINA           PR         00984
                                                      167 CALLE MANANTIAL MONTE
   697018 LIANEL PADILLA RODRIGUEZ                    GRANDE                                                                                                          CABO ROJO          PR         00623
   266775 LIANESSA LEON BERMUDEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   266776 LIANETTE GONZALEZ DE JESUS                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      PARQUE LOS ALMENDRO NUM
   697019 LIANETTE M PEREZ                            10                          620 CALLE AA                                                                        PONCE              PR         00731‐4159
   266777 LIANEX NIEVES CABAN                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   266780 LIANI CABAN REYES                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   697020 LIANI L TORRES COLLAZO                      COND LAS OLAS               1503 ASHFORD APTO 8 A                                                               SAN JUAN           PR         00911
   266781 LIANIS G. FERREIRA MORALES                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   697021 LIANITZA ROSADO JIMENEZ                     HC 1 BOX 5198                                                                                                   CIALES             PR         00638



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  266782 LIANN V CAMPAGNE                             REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  266783 LIANNE M COLON SANTIAGO                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  697023 LIANNETTE FARHAT SANCHEZ                     VALLE TOLIMA                   L 37 CALLE JOSSIE PEREZ                                                                 CAGUAS              PR         00725
  697024 LIANNY R TORRES GILOT                        J 35 VILLA ANDALUCIA                                                                                                   SAN JUAN            PR         00926‐2521
  266784 LIAÑO MERA MD, ANGEL L                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  266786 LIANY A VEGA NAZARIO                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      1010 A COOP JARD DE SAN
   697025 LIANY DE JESUS SANCHEZ                      IGNACIO                                                                                                                SAN JUAN            PR         00927

   697026 LIANYBELLE COLON FIGUEROA                   HC 1 BOX 6592                                                                                                          AIBONITO            PR         00705
          LIB. CULTURAL
   697027 PUERTORRIQUENA                              873 AVE MUNOZ RIVERA                                                                                                   RIO PIEDRAS         PR         00925
          LIBAC LIGA INSTRUCCIONAL DE
   266789 BALONCESTO                                  DE CAGUAS INC                  HC 5 BOX 55024                                                                          CAGUAS              PR         00725
   266790 LIBARDO HERNANDEZ PEREZ                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   266791 LIBBY MARRERO VAZQUEZ                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   266792 LIBED AVILES, YOLANDA                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   266795 LIBELISSE RIVERA PAGAN                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   697029 LIBERTAD CARDONA LAMOUNT                    PO BOX 1594                                                                                                            SAN SEBASTIAN       PR         00685
   697031 LIBERTAD CHICLANA MEDINA                    440 CALLE RINCON                                                                                                       SAN JUAN            PR         00921
   697032 LIBERTAD DIAZ ORTIZ                         ORIENTAL BANK & TRUST          SUITE302                                                                                BAYAMON             PR         00961

   697033 LIBERTAD ESCOBAR DE SIERRA                  ALT RIO GRANDE                 D168 CALLE 4                                                                            RIO GRANDE          PR         00745

   697034 LIBERTAD GRAJALES GONZALEZ                  URB. DOMENECH                  227 CALLE ARIES                                                                         ISABELA             PR         00662
          LIBERTAD ISABEL RUSCALLEDA
   266805 REYES                                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697035 LIBERTAD LOPEZ MORALES                      HC 3 BOX 15597                                                                                                         YAUCO               PR         00698
   266806 LIBERTAD LOPEZ PAGAN                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697037 LIBERTAD NAZARIO RODON                      BDA SAN ANTONIO                767 CALLE GARCIA FARIA                                                                  DORADO              PR         00646
   697039 LIBERTAD ORTIZ SANTIAGO                     PLAYA TEXIDOR                  SECTOR CANTASAPO BOX 437                                                                SANTA ISABEL        PR         00757
   697040 LIBERTAD PEREZ TORRES                       RES LOS CEDROS                 EDIF 2 APT 1709                                                                         TRUJILLO ALTO       PR         00976
          LIBERTAD PORTALATIN
   266807 RODRIGUEZ                                   REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697041 LIBERTAD RIOS ROSARIO                       PO BOX 306                                                                                                             FLORIDA             PR         00650
   697044 LIBERTAD TORRES MERCADO                     P.O.BOX 9020192                                                                                                        SAN JUAN            PR         00902
   697045 LIBERTO PAGAN GARCIA                        BO AMELIA                      9 CALLE SANTA ROSA DE LIMA                                                              GUAYNABO            PR         00965
   266809 LIBERTY                                     PO BOX 71496                                                                                                           SAN JUAN            PR         00936‐8596
                                                      C/O LIBERTY PROPERTY LIMITED
   266810 LIBERTY 1100 17TH STREET LP                 PARTNERSHIP                    PO BOX 828438                                                                           MALVERNA            PA         19355
   266811 LIBERTY CABLEVISION OF PR                   AREA DEL TESORO                DIVISION DE RECLAMACIONES                                                               SAN JUAN            PR         00902‐4140

   266813 LIBERTY CABLEVISION OF PR LLC P.O. BOX 192296                                                                                                                      SAN JUAN            PR         00919‐2296
          LIBERTY CABLEVISION PUERTO
   266816 RICO                          AREA DEL TESORO                              DIVISION DE RECLAMACIONES                                                               SAN JUAN            PR         00902‐4140
                                        3419 APALACHEE PARKWAY
   697047 LIBERTY COMMUNICATIONS        TALLAHASSEE                                                                                                                          FLORIDA             FL         32311
   697048 LIBERTY FINANCE INC           PO BOX 71493                                                                                                                         SAN JUAN            PR         00936‐8593
   266825 LIBERTY MEDIA SERVICES        PO BOX 719                                                                                                                           LUQUILLO            PR         00773
          LIBERTY MUTUAL FIRE
   266827 INSURANCE COMPANY             175 BERKLEY STREET                                                                                                                   BOSTON              MA         02117‐0140




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          LIBERTY MUTUAL INSURANCE
   266835 COMPANY                                     304 PONCE DE LEON AVE        SUITE 903                                                                                    SAN JUAN            PR           00918
          LIBERTY SURPLUS INSURANCE
   697049 CORP                                        175 BERKELEY STREET          MAILSTOP A 7 A                                                                               BOSTON              MA           02117
          LIBERTY UNIVERSITY‐ FINANCIAL
   266847 AID                                         1971 UNIVERSITY BLVD                                                                                                      LYNCHBURG           VA           24502
   697050 LIBESA                                      APARTADO CORREOS                                       47120                                                              MADRID                           28080         SPAIN

   697051 LIBETSY CRUZ MATEO                          A 19 CALLE SEGUNDO BERNIER                                                                                                COAMO               PR           00769
   697052 LIBETTE SILVA MORALES                       PO BOX 419                                                                                                                SAN LORENZO         PR           00754
   697053 LIBIA PEREDES CASTRO                        1803 PQUE DE LAS GAVIOTAS                                                                                                 SABANA SECA         PR           00952‐4032
   697054 LIBIED H MALDONADO REYES                    PO BOX 532                                                                                                                SANTA ISABEL        PR           00757
          LIBNA A SANJURJO MELENDEZ
   266849 PSYD                                        PO BOX 7171                                                                                                               SAN JUAN            PR           00916
   697055 LIBNA MORALES COLON                         PO BOX 334401                                                                                                             PONCE               PR           00733
   266851 LIBNY J ALVARADO RIVERA                     REDACTED                     REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697057 LIBORIO GARCIA SERRANO                      HC 3 BOX 13853                                                                                                            UTUADO              PR           00641
   266852 LIBORIO ROMERO ROMERO                       REDACTED                     REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697059 LIBRA PUBLISHERS INC                        3089 C CLAIREMONTE           DR SUITE 383                                                                                 SAN DIEGO           PR           92117‐6892
   697063 LIBRADA AROCHO MERCADO                      HC 8 BOX 54514                                                                                                            HATILLO             PR           00659
   697064 LIBRADA AYALA                               P O BOX 7440                                                                                                              PONCE               PR           00732
   266868 LIBRADA ESQUILIN AGOSTO                     REDACTED                     REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697065 LIBRADA ESTRADA                             7437 GRACE STREET                                                                                                         SPINGFIELD          VA           22150
   697066 LIBRADA G VALENZUELA                        COSTA MARINA 2 APT 4G                                                                                                     CAROLINA            PR           00983
   697060 LIBRADA GUASP GALES                         RES MONTE ISLE¥O             EDIF 2 APTO. 18                                                                              MAYAGUEZ            PR           00680
   266870 LIBRADA HERNANDEZ MUNIZ                     REDACTED                     REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   266871 LIBRADA MARTINEZ RODRIGUEZ REDACTED                                      REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697067 LIBRADA MENDOZA CRESPO       265 CALLE SAN JOSE                                                                                                                       AGUADA              PR           00602
   697068 LIBRADA MOLINA SERRANO       BOX 9121 CALLE 80                                                                                                                        LAJAS               PR           00646
   697069 LIBRADA MORALES APONTE       HC 2 BOX 6577                                                                                                                            BARRANQUITAS        PR           00794
   697070 LIBRADA REYES RIVERA         HC 3 BOX 21309                                                                                                                           ARECIBO             PR           00612
   697071 LIBRADA SEDA ESPADA          RES LAS PALMAS                              EDIF 2 APT 19                                                                                COAMO               PR           00769
   266873 LIBRADO DE JESUS OCASIO      REDACTED                                    REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697074 LIBRADO MARTINEZ BONILLA     HC 43 BOX 10714                                                                                                                          CAYEY               PR           00736
   697075 LIBRADO MARTINEZ GARCIA      URB ROUND HILLS                             239A CALLE ALPHA                                                                             TRUJILLO ALTO       PR           00976
   697076 LIBRADO RIVERA MORALES       PO BOX 649                                                                                                                               YABUCOA             PR           00767
   697077 LIBRADO RODRIGUEZ NU¥EZ      PO BOX 370650                                                                                                                            CAYEY               PR           00737
   697078 LIBRADO RODRIGUEZ RIVERA     PO BOX 852                                                                                                                               RINCON              PR           00677
          LIBRARIES UNLIMITED TEACHERS
   697079 IDEAS                        PO BOX 6633                                                                                                                              ENGLEWOOD           CO           80155‐6633
          LIBRARY & MEDIA CENTER
   697080 SUPPLIE                      MAIN STREET                                 PO BOX 101‐517                                                                               HOLYOKE             MA           01041

                                                      CATALOGING DISTRIBUTION
   266885 LIBRARY OF CONGRESS                         SERVICE CUSTOMER SERV SECT                                                                                                WASHINGTON          DC           20541‐4912

   697081 LIBRARY RESEARCH ASSOCIATION 474 DUNDERBERG RD                                                                                                                        MONROE              NY           10950
   697082 LIBRARY VIDEO COMPANY .      DEPARTAMENTO M‐23                           PO BOX 1110                                                                                  BALA CYNWYD         PA           19004
   697084 LIBRERIA ANAWIN              59 AVE DE DIEGO                                                                                                                          ARECIBO             PR           00612
   697085 LIBRERIA ARCHE INC           1550 PONCE DE LEON                                                                                                                       SAN JUAN            PR           00926
   266886 LIBRERIA AVE MARIA INC       460 AVE DE DIEGO                                                                                                                         ARECIBO             PR           00612
   266887 LIBRERIA BETANCES            SAN FERNANDO                                F 11 AVE BETANCES FINAL                                                                      BAYAMON             PR           00957



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  697086 LIBRERIA CAMAR INC                            VILLA UNIVERSITARIA         BA 6 CALLE 26                                                              HUMACAO             PR           00791
  697087 LIBRERIA CATOLICA                             CALLE PRINCIPAL SUITE 2                                                                                MOROVIS             PR           00687
         LIBRERIA CATOLICA MARIA DE
  697088 LOS ANGELES                                   3 CALLE BALDORIOTY                                                                                     COAMO               PR           00769
  697089 LIBRERIA COUNTRY CLUB                         URB COUNTRY CLUB            929 CALLE DURBEC                                                           SAN JUAN            PR           00924
  697091 LIBRERIA CRISTIANA                            7 NORTE                     CALLE ZENON VAZQUEZ                                                        GURABO              PR           00778
  697092 LIBRERIA CRISTIANA BOOKS                      PO BOX 810247                                                                                          CAROLINA            PR           00981
  697093 LIBRERIA CRISTIANA RENACER                    324 CALLE LA CUMBRE                                                                                    ISABELA             PR           00662
  697094 LIBRERIA CRISTINA SHALOM                      42 CALLE BETANCES                                                                                      SAN SEBASTIAN       PR           00685
         LIBRERIA CULT.
  697095 PUERTORRIQUENA                                1406 AVE FERNANDEZ JUNCOS                                                                              SAN JUAN            PR           00909
         LIBRERIA CULTURAL
  266888 PUERTORRIQUEÐA                                PO BOX 8863                                                                                            SAN JUAN            PR           00910‐0000
         LIBRERIA CULTURAL
  266890 PUERTORRIQUENA                                PO BOX 8863                                                                                            SAN JUAN            PR           00910

   697096 LIBRERIA DIVINA PROVIDENCIA                  1259 AVE. AMERICO MIRANDA                                                                              RIO PIEDRAS         PR           00921‐1619
   266892 LIBRERIA DIVINO NINO JESUS                   P O BOX 9103                                                                                           SAN JUAN            PR           00908‐9103

   266893 LIBRERIA DOMINGO DELGADO                     REPTO METROPOLITANO         971 AVE AMERICO MIRANDA                                                    SAN JUAN            PR           00921‐0000
   697098 LIBRERIA ECONOLIBRO                          1016 AVE PONCE DE LEON                                                                                 SAN JUAN            PR           00925
   266894 LIBRERIA EDUCATIVA                           1117 MUNOZ RIVERA                                                                                      SAN JUAN            PR           00925
   697099 LIBRERIA EL BUHO INC                         PO BOX 700                                                                                             MERCEDITA           PR           00715‐0700
   697103 LIBRERIA EL QUIJOTE                          63 CALLE POST                                                                                          MAYAGUEZ            PR           00680
          LIBRERIA ESCOLAR
   266895 PUERTORRIQUENA                               74 CALLE MC KINLEY OESTE                                                                               MAYAGUEZ            PR           00680
          LIBRERIA EVANGELICA LA
   697104 FUENTE                                       BOX 1170                                                                                               BAYAMON             PR           00959

   697105 LIBRERIA FENIX               URB EL VEDADO                               3 CALLE ELEONOR ROOSEVELT                                                  SAN JUAN            PR           00918
   697107 LIBRERIA GAUTIER BENITEZ     32 CALLE BETANCES                                                                                                      CAGUAS              PR           00725
          LIBRERIA GIBRAN Y/O MANUEL E
   697108 ZAPATA                       2913 AVE MILITAR                                                                                                       ISABELA             PR           00662
   697109 LIBRERIA JESUS DE NAZARET    122 CALLE GEORGETTI                                                                                                    SAN JUAN            PR           00925
   697110 LIBRERIA KARY VIEL           P O BOX 903                                                                                                            FLORIDA             PR           00652‐0903
   697111 LIBRERIA KHALIL GIBRAN       2913 AVE MILITAR                                                                                                       ISABELA             PR           00662
   697112 LIBRERIA LA BIBLIOTECA INC   PO BOX 20482                                                                                                           SAN JUAN            PR           00928‐0482
   266896 LIBRERIA LA ESMERALDA        AVE ESMERALDA NUM.13                                                                                                   GUAYNABO            PR           00969
   266897 LIBRERIA LA PONCENA          1279 AVE MUNOZ RIVERA                                                                                                  PONCE               PR           00731
   266898 LIBRERIA LA TERTULIA         1002 AVE PONCE DE LEON                                                                                                 SAN JUAN            PR           00925
   697113 LIBRERIA LA TERTULIA INC.    1002 AVE PONCE DE LEON                                                                                                 SAN JUAN            PR           00925
   266900 LIBRERIA MAGICA INC          1013 AVE PONCE DE LEON                                                                                                 SAN JUAN            PR           00925
   266901 LIBRERIA MARIA               51 CALLE ROBLE                                                                                                         SAN JUAN            PR           00925
          LIBRERIA MEDICA INC (
   697114 DOMINGO DELGADO)             971 AVE AMERICO MIRANDA                     REPARTO METROPOLITANO                                                      SAN JUAN            PR           00921
   697115 LIBRERIA MUNDO ESCOLAR       COUNTRY CLUB                                934 AVE CAMPO RICO                                                         SAN JUAN            PR           00924
   266902 LIBRERIA NACIONAL            HATO TEJAS                                  CARR 864‐61                                                                BAYAMON             PR           00959

   266903 LIBRERIA NACIONAL INC        CARR 864 # 61 BO HATO TEJAS                                                                                            BAYAMON             PR           00969
          LIBRERIA NORBERTO GONZALEZ ,
   266904 INC.                         AVE. PONCE DE LEON 1014                                                                                                SAN JUAN            PR           00925‐0000
          LIBRERIA NORBERTO GONZALEZ
   266905 INC                          1014 AVE PONCE DE LEON                                                                                                 SAN JUAN            PR           00925



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          LIBRERIA NORBERTO GONZALEZ,
   266906 INC                         AVE. PONCE DE LEON 1012                                                                                                               SAN JUAN            PR           00925
                                      52 CALLE FRANCISCO COLON
   697117 LIBRERIA NORTE              BRUNET                                                                                                                                SAN JUAN            PR           00925
   697118 LIBRERIA NORTE INC          52 CALLE FRANCISCO COLON                                                                                                              SAN JUAN            PR           00925
   697119 LIBRERIA NOVEDADES INC      898 AVE MUNOZ RIVERA                                                       RIO PIEDRAS                                                SAN JUAN            PR           00927

   697120 LIBRERIA PANAMERICANA INC.                  PO BOX 2672                                                                                                           SAN JUAN            PR           00919
   266907 LIBRERIA PARAKLETOS                         URB UNIVERSITY GDNS             E 53 CALLE ALMACIGO                                                                   ARECIBO             PR           00612‐7823
   266908 LIBRERIA PAULINAS                           164 CALLE ARZUAGA                                                                                                     SAN JUAN            PR           00925

          LIBRERIA PIONERA/PONTIFICIA                 2250 AVE LAS AMERICAS SUITE
   266909 UNIV CATOLIC                                505                                                                                                                   PONCE               PR           00717‐9997
   697123 LIBRERIA PROGRESO                           36 CALLE PROGRESO                                                                                                     AGUADILLA           PR           00603
   266910 LIBRERIA REGIONAL INC                       PO BOX 9152                                                                                                           BAYAMON             PR           00960
                                                      VILLA STATION SUITE 183 P A 3
   697124 LIBRERIA REPSA INC                          26 ST                                                                                                                 HUMACAO             PR           00791‐4349
   697125 LIBRERIA SAN PABLO                          164 CALLE ARZUAGA                                                                                                     RIO PIEDRAS         PR           00925
   697126 LIBRERIA TERESA MARTINEZ                    PO BOX 48                                                                                                             SAN JUAN            PR           00902
   697127 LIBRERIA TERTULIA                           ESQ AVE GONZALEZ                                                                                                      SAN JUAN            PR           00925
   697128 LIBRERIA THE BOOK SHOP                      PO BOX 361641                                                                                                         SAN JUAN            PR           00936‐1641
   266912 LIBRERIA THEKES                             PLAZA LAS AMERICAS                                                                                                    HATO REY            PR           00918
   697129 LIBRERIA THEKES INC                         PLAZA LAS AMERICAS              525 AVE ROOSEVELT                                                                     SAN JUAN            PR           00918
                                                      CTRO COMERCIAL ITURREGUI
   697130 LIBRERIA UNI TEC                            PLAZA                           AVE 65 DE INFANTERIA                                                                  SAN JUAN            PR           00924

   697131 LIBRERIA UNIV DE PUERTO RICO                P O BOX 9008 COLLEGE STA                                                                                              MAYAGUEZ            PR           00981 9008
   697132 LIBRERIA UNIVERSAL                          55 N CALLE POST                                                                                                       MAYAGUEZ            PR           00680
   697133 LIBRERIA UNIVERSITARIA                      PO BOX 23088                    UPR STATION                                                                           SAN JUAN            PR           00931
   266913 LIBRERIA UNIVERSITAS                        PO BOX 23088 UPR STATION                                                                                              SAN JUAN            PR           00931

   697135 LIBRERIA VALDIVIA                           URB SANTA RITA                  54 CALLE DOMINGO CABRERA                                                              SAN JUAN            PR           00925
   697136 LIBRERIAS UNIVERSITAS                       PO BOX 23088                    UNIV DE PR STA                                                                        SAN JUAN            PR           00931

   266916 LIBREROS CUPIDO MD, JAIRD D                 REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      73 CIUDAD MONFORTE DE
   697137 LIBRO EUROPAL 2001 SL                       LEMOS                                                                                                                 MADRID              MA           28029         SPAIN
   266917 LIBRO MUNDI CORP                            P.O. BOX 9024                                                                                                         SAN JUAN            PR           00908‐0024
   697138 LIBROGUIA                                   P O BOX 379880                                                                                                        CAYEY               PR           00737‐0880
   266918 LIBROMAR DE P.R.                            PO BOX 40749                                                                                                          SAN JUAN            PR           00940
   266920 LIBROMAR DE PR                              MINILLAS STATION                PO BOX 40749                                                                          SAN JUAN            PR           00940
          LIBROS DE BARLOVENTO DBA
   697139 RENE GRULLON                  PO BOX 364991                                                                                                                       SAN JUAN            PR           00936‐4991
          LIBROS EL NAVEGANTE INC( EDIC
   266921 CALLEJON)                     404 CALLE NORZAGARAY                                                                                                                SAN JUAN            PR           00901
   266922 LIBROS EL NAVEGANTE, INC      CALLE NOZZAGAZAY 404                                                                                                                SAN JUAN            PR           00901
   697140 LIBROTEX INC.                 1167 AVE PONCE DE LEON                                                                                                              SAN JUAN            PR           00925
   697143 LIC GERARDO PICO              P O BOX 223                                                                                                                         CIALES              PR           00638
          LIC HECTOR MARRERO
   697144 MARRERO                       P O BOX 283                                                                                                                         NARANJITO           PR           00719

   266924 LIC HECTOR MOYANO NORIEGA                   EXT VILLA RICA                  I 28 CALLE 8                                                                          BAYAMON             PR           00959




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          LIC HERNAN IRIZARRY
   697146 MALDONADO                                   BO GARZAS 56                                                                                                           ADJUNTAS            PR           00601
   697147 LIC JOSE L OTERO                            PMB 37                        P O BOX 60401                                                                            AGUADILLA           PR           00604
   697148 LIC JOSE VELAZQUEZ ORTIZ                    37 CALLE SOL                                                                                                           PONCE               PR           00731
          LIC MANUEL A SANTIAGO                       C‐36 CAMINO DE NARDOS URB
   266925 TIRADO                                      ERRAMADA                                                                                                               BAYAMON             PR           00961
          LIC RAMON A CESTERO
   266926 MOSCOSO                                     27 AVE GONZALEZ GIUSTI        EDIF TRES RIOS OFIC 300                                                                  GUAYNABO            PR           00968

   266927 LIC RAMON F LOPEZ                           DEPARTAMENTO DE HACIENDA                                                                                               SAN JUAN            PR           00901
                                                      URB. VILLA PRADES 613 CALLE
   266928 LIC ROSA BELL BAYRON                        DOMINGO CRUZ                                                                                                           SAN JUAN            PR           00924
                                                      PRESIDENTE URB ESTANCIAS B‐
   266929 LIC. ENRIQUE RIVERA SANTANA                 12                            PLAZA 13                                                                                 BAYAMON             PR           00961

   266930 LIC. JOSE R CARRION                         DEPARTAMENTO DE HACIENDA                                                                                               SAN JUAN            PR           00901
   266931 LIC. LUIS E. LAGUNA MIMOSO                  PO BOX 1116                                                                                                            CAGUAS              PR           00726
   266932 LIC. LUIS M. RIVERA SANTANA                 PO BOX 3410                                                                                                            BAYAMON             PR           00958
          LIC. MARCELLE D. MARTELL
   266933 JOVET                                       JULIO BOGORICIN BLDG.        SUITE 500‐A 1606 PONCE DE LE                                                              SAN JUAN            PR           00909
                                                      CALLE JUNCAL #741 LOS CAMPOS
   266934 LIC. RAUL BURGOS SOLA                       DE MONTEHIEDRA                                                                                                         SAN JUAN            PR           00926
          LIC. REYNALDO QUINONEZ                      URB EL VEDADO 109 PADRE LAS
   266935 MARQUEZ                                     CASAS                                                                                                                  SAN JUAN            PR           00918

   266936 LIC. UBALDO LUGO CRUZ                       AVENIDA MUNOZ RIVERA 1056     EDIFICIO FIRST FEDERAL 401                                                               RIO PIEDRAS         PR           00927
   266937 LIC. VANESSA CARLO CAJIGAS                  PO BOX 726                                                                                                             QUEBRADILLAS        PR           00678
          LIC. VICTOR A VAZQUEZ
   266938 GONZALEZ                                    VILLA NEVAREZ 1078 CALLE 1                                                                                             SAN JUAN            PR           00927
   266939 LIC. VICTOR GRATACOS DIAZ                   APARTADO 7571                                                                                                          CAGUAS              PR           00726
   697149 LICAR AUTO PART                             P O BOX 444                                                                                                            NARANJITO           PR           00719
   266940 LICARMEN PEREZ SANTIAGO                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266941 LICATESE MD, ANTHONY                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266942 LICCETT MORALES BURGOS                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   697151 LICCIE YOLANDA LOPEZ CONDE                  URB SANTA JUANITA L 9         CALLE SANTANDER                                                                          BAYAMON             PR           00956

   266952 LICEAGA SANCHEZ MD, JUAN B                  REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266853 LICEDIA CRUZ RODRIGUEZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266914 LICELIS BAEZ MORALES                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   266955 LICELIS MARIN CARABALLO                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697154 LICELLE M ALCALA CABRERA                    HACIENDA LA MATILDE           L 12 CALLE 3                                                                             PONCE               PR           00731

   697155 LICELOTT MALDONADO NOBOA                    PO BOX 10278                                                                                                           PONCE               PR           00732‐0278
   697156 LICELY FALCON DEL TORO                      COND SEGOVIA APT 814                                                                                                   SAN JUAN            PR           00918
   697157 LICELYS SCHOOL SUPPLY                       HC 1 BOX 4427                                                                                                          ARROYO              PR           00714
   697158 LICEO DE ARTE DEL SUR INC                   URB MARIANI                   3041 FD ROOSEVELT AVE                                                                    PONCE               PR           00717‐0114

   697159 LICEO DE ARTE T TECNOLOGIA                  PO BOX 192346                                                                                                          SAN JUAN            PR           00919

   266956 LICEO DE ARTE Y DISENOS INC                 PO BOX 1889                                                                                                            CAGUAS              PR           00726

   266957 LICEO DE ARTE Y TECNOLOGIA                  PO BOX 192346                                                                                                          SAN JUAN            PR           00919‐2346



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  266958 LICEO INFANTIL NIEVES                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         LICEO PUERTORRIQUENO
  266959 PARLAMENTARIO                                654 AVE PONCE DE LEON                                                                                               SAN JUAN             PR         00916
  266960 LICET AYALA ORTIZ                            REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  266994 LICIE J. LOZADA                              REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  697161 LICO'S ALUMINUM WORKS                        P O BOX 138                                                                                                         JUNCOS               PR         00777
  697162 LICOS TV SERVICES                            BUZON 101                  BO LLANADAS                                                                              BARCELONETA          PR         00617
  266997 LICRE'S AUTO PARTS                           HC 1 BOX 2515                                                                                                       MOROVIS              PR         00687
  266999 LICY DELGADO VAZQUEZ                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   697163 LICY E RODRIGUEZ RODRIGUEZ HC 01 BOX 11726                                                                                                                      CAROLINA             PR         00987
   697164 LICY VEGA COLON              HC 1 BOX 24576                                                                                                                     VEGA BAJA            PR         00693
          LIDA E GONZALEZ / FRANCHESKA
   697165 MARIE LOPEZ                  URB LEVITTOWN                             B 9 12 CALLE QUEVEDO BAEZ                                                                TOA BAJA             PR         00949
   697167 LIDA E NEGRON ROSADO         COUNTRY CLUB 3ext                         PC 14 CALLE 266                                                                          CAROLINA             PR         00982
   267000 LIDA E. MUNIZ RIVERA         REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   697168 LIDA G MORALES SUSTACHE      P O BOX 475                                                                                                                        YABUCOA              PR         00767
   267001 LIDA I QUINTERO VARGAS       REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   697169 LIDA ISIS LOPEZ APONTE       P O BOX 8490                                                                                                                       PONCE                PR         00732
   697170 LIDA RAMIREZ RODRIGUEZ       42 BARBOSA                                                                                                                         CABO ROJO            PR         00623
   697171 LIDA VAZQUEZ RAMIREZ         URB MANSION REAL                          J 3 CALLE CASTILLA                                                                       COTTO LAUREL         PR         00780‐2060

   267002 LIDA YANIR QUINONES ORAMAS REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   267003 LIDANA GONZALEZ NEGRON     REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                                                 C7 CALLE PRINCIPAL PARC VAN
   697173 LIDDA B MORALES MARCANO                     VAN SCOY                   SCOY                                                                                     BAYAMON              PR         00957

   267004 LIDDA I. RODRIGUEZ MARTINEZ                 REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   697174 LIDEDIA P GONZALEZ                          VILLAS DE LOMAS            EDIF J APT J 10                                                                          SAN JUAN             PR         00926
   697175 LIDELISSE APONTE MATOS                      RES VICTOR BERRIOS         EDIF 6 APT 47                                                                            YABUCOA              PR         00767
   267005 LIDELIZ VIRUET ACEVEDO                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   697177 LIDERES INDEP LLORENS TORRES                RES LUIS LLORENS TORRES    EDIF 85 APT 1681                                                                         SAN JUAN             PR         00913
          LIDERES INDEPENDIENTES
   697178 LLORENS TORRES                              RES LLORENS TORRES         EDIF 85 APT 1671                                                                         SAN JUAN             PR         00910
   267007 LIDIA A. CRUZ ACOSTA                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   697181 LIDIA BAUTISTA LINARES                      RIO PLANTATION             CALLE 7 BZ 11                                                                            BAYAMON              PR         00961
                                                      63B CALLE FRANCISCO M
   697180 LIDIA COLLADO DE VARGAS                     QUI¥0NES                   ESQ 25 DE JULIO                                                                          SABANA GRANDE        PR         00637
   697182 LIDIA COLON LOPEZ                           8 PDA                      18 CALLE ORTA                                                                            SAN JUAN             PR         00914
   267008 LIDIA CORDERO RIVERA                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   697183 LIDIA DIAZ DE CEBALLOS                      URB VILLA CAROLINA         55 7 CALLE 50                                                                            CAROLINA             PR         00985
   267009 LIDIA ESTER LUGO ALVARADO                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   267011 LIDIA GOMEZ RIVERA                          REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   697186 LIDIA GONZALEZ                              PO BOX 366324                                                                                                       SAN JUAN             PR         00936‐6324

   267013 LIDIA INES COLLADO DE VARGAS REDACTED                                  REDACTED                       REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                                                 EDIFICIO JULIO BOGORICÍN SUITE
  1422849 LIDIA JORGE, CARMEN                         EILEEN LANDRÓN GUARDIOLA   501                            #1606 AVE. PONCE DE LEÓN                                  SAN JUAN             PR         00909
   267014 LIDIA L MELAIS MORENO                       REDACTED                   REDACTED                       REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   697187 LIDIA LUGO MARTINEZ                         BO CONSUMO                 HC 05 BOX 55117                                                                          MAYAGUEZ             PR         00681
   267015 LIDIA M. RIVAS AGUILERA                     REDACTED                   REDACTED                       REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   697188 LIDIA MARTINEZ ROBLES                       RES EL PRADO               EDF 12 APT 64                                                                            SAN JUAN             PR         00924



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  697189 LIDIA NEGRON GONZALEZ                        HC 01 BOX 8661                                                                                                        CANOVANAS         PR           00729
  697190 LIDIA PEREZ MELENDEZ                         BO AMALIA                    32 JOSE CELSO BARBOSA                                                                    GUAYNABO          PR           00965
  697191 LIDIA PEREZ SANCHEZ                          RES LAS MARGARITAS           EDIF 44 APT 690                                                                          SAN JUAN          PR           00915

   267016 LIDIA QUINONEZ CANDELARIO                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   267017 LIDIA RONDA RONDA                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   697193 LIDIA ROSADO ACEVEDO                        COND VIZCAYA                 200 CALLE 535 APTO 239                                                                   CAROLINA          PR           00985
   267018 LIDIA ROVIRA LOPEZ                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   697194 LIDIA RUIZ SERRANO                          HC 02 BOX 11391                                                                                                       HUMACAO           PR           00791‐9610
   697195 LIDIA S BONILLA BENITEZ                     QUINTA DEL RIO               M6 CAMINO DEL HOSTAL                                                                     BAYAMON           PR           00961
   697196 LIDIA SANABRIA ALAMEDA                      8 CALLE BASORA                                                                                                        LAJAS             PR           00667
   697197 LIDIA TORRES COLLAZO                        HC 2 BOX 6437                                                                                                         YABUCOA           PR           00767
   267019 LIDIA TORRES MONTANEZ                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   697198 LIDIA Y IRIZARRY MEDINA                     HC 01 BOX 9633                                                                                                        SAN GERMAN        PR           00683
   267020 LIDIA, ALMODOVAR                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   267021 LIDIAN J ROSARIO VAZQUEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   267022 LIDIANA SALAS RODRIGUEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   267023 LIDIBETH TORRES OYOLA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   267024 LIDIS L. JUSINO CRUZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   267025 LIDO NOEL F VALES TORRES                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   267026 LIDU I BERNARD VAZQUEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   697204 LIDUBINA VAZQUEZ VAZQUEZ                    EL TORITO                    C 23 CALLE 1                                                                             CAYEY             PR           00736
   697205 LIDUVINA CORREA ZAYAS                       HC 01 BOX 3507                                                                                                        SALINAS           PR           00751

   267027 LIDUVINA ENCARNACION LOPEZ REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   697207 LIDUVINA JOSEPH            EGIDA CRISTO REY                              APT 306                                                                                  CAGUAS            PR           00725
   697208 LIDUVINA LOPEZ VIVES       URB VISTAS DEL SOL                            G8 CALLE 7                                                                               GUAYAMA           PR           00784

   697210 LIDUVINA MATOS                              JM GROUP PLAZA OFICINA 107   URB CARIBE                                                                               RIO PIEDRAS       PR           00924
   697211 LIDUVINA MEDINA TALAVERA                    BOX 475‐273                                                                                                           ISABELA           PR           00662
   697212 LIDUVINA MENDOZA                            P O BOX 2390                                                                                                          SAN JUAN          PR           00919
   697213 LIDUVINA PADILLA RIVERA                     15 BARBOSA                                                                                                            SALINAS           PR           00751
   697214 LIDUVINA ROMAN DELGADO                      LAS LEANDRAS                 O 2 CALLE 11                                                                             HUMACAO           PR           00791
   697215 LIDUVINA SANTIAGO LEBRON                    2DA SECCION LEVITTOWN        2175 PASEO ARPA                                                                          TOA BAJA          PR           00949

   267029 LIDUVINA WESTERBAND GARCIA REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   697216 LIDUVINAS CATERING         HC 2 BOX 6471                                                                                                                          LARES             PR           00669

   697218 LIDY LOPEZ GONZALEZ                         407 SAN FRANCISCO APTO 301                                                                                            SAN JUAN          PR           00901
   697220 LIDY LOPEZ MATOS                            COND EL MONTE SUR            180 AVE HOSTOS APT B 941                                                                 SAN JUAN          PR           00918
   697221 LIDY LOPEZ MORALES                          RR 36 BOX 6145                                                                                                        SAN JUAN          PR           00926‐9805

   697222 LIDY MORENO FIGUEROA                        URB LAS DELICIAS             2434 CALLE VIVES VALDIVIESO                                                              PONCE             PR           00728‐3820
   697223 LIDYA CUEVA TORRES                          PO BOX 468                                                                                                            MAYAGUEZ          PR           00681
   267030 LIDYA E VELAZQUEZ TORRES                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   267031 LIDYA M LATABAN LOPEZ                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   267032 LIDYA MUNIS ROSAS                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   697224 LIDYA RIVERA RODRIGUEZ                      HC 1 BOX 5470                                                                                                         CIALES            PR           00638
   267033 LIDYA VELAZQUEZ AGOSTO                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   267034 LIDYLIA I COLON MALDONADO                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   267038 LIETCHEN SARRAMIA WYS                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   697225 LIETZA J BARRAL ROSA                        URB VILLA DEL CARMEN         2674 CALLE TETUAN                                                                        PONCE             PR           00716‐2225



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  697226 LIFARDO BARBOSA RAMIREZ                      HC 2 BOX 5178                                                                                        LARES               PR           00669
         LIFE & VALUE PROTECTION
  697227 SYSTEMS                                      TOA ALTA HEIGHTS              AG 22 CALLE 29                                                         TOA ALTA            PR           00953

   697228 LIFE AMBULANCE SERVICE INC.                 PO BOX 2262                                                                                          GUAYAMA             PR           00785‐2262

   697229 LIFE ASSIST MEDICAL PRODUCTS PO BOX 51459                                                                                                        TOA BAJA            PR           00950

   267045 LIFE FLIGHT OF PUERTO RICO INC PO BOX 13638                                                                                                      SAN JUAN            PR           00908
   697230 LIFE GOODIES INC               URB FLORAL PARK                            188 CALLE DUARTE                                                       SAN JUAN            PR           00917
          LIFE GUARDIANS AMBULANCE
   267046 SERVICE INC                    P O BOX 262                                                                                                       NARANJITO           PR           00719
   267047 LIFE HEALTH SOLUTIONS          PO BOX 570                                                                                                        BOQUERON            PR           00680
   697231 LIFE ILLUSION ENTERTAIMENT     PO BOX 11635                                                                                                      SAN JUAN            PR           00910
          LIFE INSURANCE CO OF NORTH
   697232 AMERICA                        TAX DEPARTMENT S‐260                       900 COTTAGE GRAVE RD                                                   HARTFORD            CT           06252‐2260
   697234 LIFE INSURANCE SERVICES INC    PO BOX 9021804                                                                                                    SAN JUAN            PR           00902‐1804
          LIFE INVESTORS INSURANCE CO
   697235 OF AMERICA                     4333 EDGEWOOD RD NE                                                                                               CEDAR RAPIDS        IA           52499‐3320

   697236 LIFE LINK                                   601 BAYSHORE BLVD SUITE 600                                                                          TAMPA               PR           33606
          LIFE MANAGEMENT CENTER OF
   267056 NW FL                                       ATTN DR MASON GULF COUNTY 525 E 15TH ST                                                              PANAMA CITY         FL           32405‐5400
   267057 LIFE NET INC                                6225 ST MICHAEL DR                                                                                   TEXARKANIA          TX           75503‐2690
   267058 LIFE ORTHOPEDICS CORP                       URB. VILLAS DE RIO GRANDE CALLE 16, W‐6                                                              RIO GRANDE          PR           00745
                                                      HOSPITAL METROPOLITANO DE
   267059 LIFE PARCIAL                                CABO ROJO                 PO BOX 910                                                                 CABO ROJO           PR           00623

   697237 LIFE STAR AMBULANCE SERVICE MIGUEL A ROMERO                               452 CALLE BARBE                                                        SAN JUAN            PR           00912
          LIFE STAR MEDICAL TRANSP
   267061 CORP                        PO BOX 1890                                                                                                          CANOVANAS           PR           00729
   267062 LIFE STONE GROUP INC        700 CALLE EUROPA                              OFICINA 305                                                            SAN JUAN            PR           00910
   697238 LIFE TECNHOLOGIES           PO BOX 7886 SUITE 500                                                                                                GUAYNABO            PR           00970
   267064 LIFE UNIVERSITY             1269 BARCLAY CIRCLE                                                                                                  MARIETTA            GA           30060

   697239 LIFEILLUSION ENTERTAINMENT                  PO BOX 12383‐142                                                                                     SAN JUAN            PR           00914‐0383
   697240 LIFELINK TRANS INST                         2111 SANN AVENUE                                                                                     TAMPA               FL           33606
   697241 LIFERAFTS INC                               PO BOX 902281                                                                                        SAN JUAN            PR           00902‐2081
   697242 LIFERAFTS INC OF PR                         PO BOX 9022081                                                                                       SAN JUAN            PR           00922
   267065 LIFESCAN LLC                                475 CALLE C                   SUITE 401                                                              GUAYNABO            PR           00969‐0000
   267067 LIFESCAN PRODUCTS LLC                       SUITE 401 475 CALLE C                                                                                GUAYNABO            PR           00969
          LIFESTREAM BEHAVIORAL
   267068 CENTER                                      2020 TALLY ROAD                                                                                      LEESBURG            FL           34748
   267070 LIFT TRUCK PARTS INC.                       PO BOX 9066570                                                                                       SAN JUAN            PR           00906

   267071 LIFT TRUCKS & PARTS, INC.     CARR. 189 KM. 2.3 BO. RINCON                                                                                       GURABO              PR           00778‐0000
          LIG INF Y JUV JUAN ESPARRA
   697245 SALINAS                       P O BOX 362                                                                                                        SALINAS             PR           00751
          LIGA ATLETICA INTER
   697246 UNIVERSITARIA DE P R          PO BOX 1388                                                                                                        SAN GERMAN          PR           00683
          LIGA BALONCESTO DE LOIZA OBLI
   267073 INC                           P O BOX 276                                                                                                        LOIZA               PR           00772




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          LIGA BEISBOL SUPERIOR DOBLE A
   267074 INC                           PO BOX 191897                                                                                           SAN JUAN            PR           00919‐1897
          LIGA CANDIDO
   697248 MALDONADO/JAVIER BIAGGIE      URB LAS BRISAS               BOX 72 CALLE 6 A                                                           ARECIBO             PR           00612
   697249 LIGA CORNIE MARK SANTANA      P O BOX 1290                                                                                            BARCELONETA         PR           00617
          LIGA DE BAL INFANTIL
   697250 SANGERMENA                    P O BOX 231                                                                                             SAN GERMAN          PR           00683
          LIGA DE BALONCESTO DE
   267075 AIBONITO INC                  HC 1 BOX 5644                                                                                           AIBONITO            PR           00705
          LIGA DE BALONCESTO
   697251 EXPLOSIVOS DE MOCA            P O BOX 245                                                                                             MOCA                PR           00676
          LIGA DE BALONCESTO FEMENINO
   267076 (LBDF)PR INC                  1078 URB BRISAS TROPICAL                                                                                QUEBRADILLAS        PR           00678
          LIGA DE BALONCESTO FEMENINO                                URB ESTANCIA C36 VIA STO
   267077 VAQUERAS DE                   BAYAMON INC                  DOMINGO                                                                    BAYAMON             PR           00961
          LIGA DE BALONCESTO INFANTIL
   697252 DE GUAYAMA                    PO BOX 2395                                                                                             GUAYAMA             PR           00785
          LIGA DE BALONCESTO INFANTIL
   267078 DORADO                        PO BOX 103                                                                                              DORADO              PR           00646
          LIGA DE BALONCESTO REXVILLE
   697254 INC                           URB MIRAFLORES               33‐43 CALLE 48                                                             BAYAMON             PR           00957
          LIGA DE BASEBALL INFANTIL Y
   267079 JUVENIL DE                    TRUJILLO ALTO INC            A22 CAMINO TOMAS MORALES                                                   SAN JUAN            PR           00926
          LIGA DE BEISBOL DOBLE AA
   267080 JUVENIL INC                   P O BOX 191817                                                                                          SAN JUAN            PR           00919‐1887
          LIGA DE BEISBOL FEMENINO DE
   267081 PR INC                        PO BOX 191897                                                                                           SAN JUAN            PR           00919‐1897
          LIGA DE BEISBOL FEMENINO DE
   267082 PUERTO RICO                   PO BOX 191897                                                                                           SAN JUAN            PR           00919‐1897
          LIGA DE BEISBOL JUVENIL DOBLE
   267083 A INC                         PO BOX 191897                                                                                           SAN JUAN            PR           00919
          LIGA DE BEISBOL PROFESIONAL
   267084 DE PR INC                     PO BOX 191852                                                                                           SAN JUAN            PR           00919‐1852

   267085 LIGA DE COOPERATIVAS DE PR   PO BOX 360707                                                                                            SAN JUAN            PR           00936‐0707
          LIGA DE DESARROLLO DE FUTBOL
   267087 DE PR INC                    PMB 726                       1353 AVE LUIS VIGOREAUX                                                    GUAYNABO            PR           00966
          LIGA DE LEVANTAMIENTO DE
   697255 PESAS SALINAS                A‐26 EXT MARGARITA                                                                                       SALINAS             PR           00951
          LIGA DE NATACION MASTER DE P
   697256 R                            PO BOX 194201                                                                                            SAN JUAN            PR           00919‐4201
          LIGA DE SOFBOL COAMENA
   267088 PERCY BORGES INC             PO BOX 1056                                                                                              COAMO               PR           00769

   267089 LIGA DE SOFTBOL SANGERMENA NELSON CAYITO MORALES           BOX 5000‐135                                                               SAN GERMAN          PR           00683

   697257 LIGA DE VOLIBOL VOLIVIEW INC URB FAIR VIEW                 721 CALLE 44                                                               SAN JUAN            PR           00926
          LIGA DE VOLLEYBALL
   267090 LOMANVIEW                    LOMAS DE CAROLINA             D 38 C/ MONTEMEMBRILLO                                                     CAROLINA            PR           00987
          LIGA DE VOLLEYBALL MASCULINA
   697258 Y FEMENINA                   C/O PEDRO COLON CRUZ          URB EL CULEBRINA           N12 CALLE CEIBA                                 SAN SEBASTIAN       PR           00685
          LIGA DOMINO LUIS CHINO
   697259 MENDEZ                       PO BOX 1367                                                                                              SAN SEBASTIAN       PR           00685



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          LIGA ESTUDIANTES DE ARTE DE
   267091 SAN JUAN                       1 CALLE FRANCISCO RUFFOX DE          GOENAGA                                                                    SAN JUAN            PR           00901
   267093 LIGA FERNANDO GRIFFO INC       BO OBRERO STATION                    BOX 14007                                                                  SAN JUAN            PR           00916
   697260 LIGA GINO VEGA                 BO. SANTANA                          CARR. 120, KM. 0.9                                                         SABANA GRANDE       PR           00637
   267094 LIGA GUAKIA TAINA KE           X 9 CALLE BISCAGNE                                                                                              BAYAMON             PR           00956
   267095 LIGA GUAKIATAINA‐KE            CALLE BISCAYNE X‐9                                                                                              BAYAMON             PR           00956
   267096 LIGA GUAYAMA A A CORP          PO BOX 2767                                                                                                     GUAYAMA             PR           00785
   697261 LIGA GUAYCUMCAI INC            URB PASEO REAL                       D 23 CALLE A                                                               SAN JUAN            PR           00926
          LIGA INF JUV R GRANDE/ TOMAS
   697262 L CARABALLO                    ALT DE RIO GRANDE                    K 179 C/ 14                                                                RIO GRANDE          PR           00745
          LIGA INF Y JUVENIL BEISBOL
   267097 CIDRENA INC                    PO BOX 528                                                                                                      CIDRA               PR           00739
          LIGA INFANTIL BAL LARES/JOSE R
   697263 GONZALEZ                       BOX 322                                                                                                         LARES               PR           00669
          LIGA INFANTIL BASEBALL
   697264 INFANTIL CAGUAS                VILLA BORINQUEN                      F 37 CALLE YAGUEZ                                                          CAGUAS              PR           00725

   697265 LIGA INFANTIL DE BALONCESTO                 URB SANTA ELENA         101 CALLE 9                                                                YABUCOA             PR           00767
          LIGA INFANTIL DE BALONCESTO
   267098 ARROYANO INC                                P O BOX 1043                                                                                       ARROYO              PR           00714
          LIGA INFANTIL DE BALONCESTO
   697266 JUVENIL                                     REPTO UNIVERSITARIO     14 CALLE 3L                                                                SAN GERMAN          PR           00683
          LIGA INFANTIL DE BALONCESTO
   267099 MICKEY INC                                  REPTO UNIVERSITARIO     1 CALLE BERNARD                                                            SAN JUAN            PR           00926
          LIGA INFANTIL Y JUV 3RA EXT
   697268 COUNTRY CLUB                                URB MONTECARLO          1263 AVE MONTECARLO                                                        SAN JUAN            PR           00925
          LIGA INFANTIL Y JUV DE
   697270 COUNTRY CLUB                                MONTECARLO              1263 AVE MONTECARLO                                                        SAN JUAN            PR           00923
          LIGA INFANTIL Y JUVENIL DE
   267100 BASEBALL                                    MIGUEL LUZUNARIS INC    PO BOX 350                                                                 HUMACAO             PR           00792
          LIGA INFANTIL Y JUVENIL DE LA
   697271 3RA EXT                                     3RA EXT COUNTRY CLUB    HD57 CALLE 222                                                             SAN JUAN            PR           00982
          LIGA INFANTIL Y JUVENIL DE                  PARQUE CARLOS QUEVEDO
   697272 SAINT JUST                                  ZONA IND                                                                                           TRUJILLO ALTO       PR           00976
          LIGA INFANTIL Y JUVENIL
   267101 PONCENA INC                                 PO BOX 203                                                                                         PONCE               PR           00733
          LIGA INSTRUCCIONAL USSSA
   267102 CAROLINA CORP                               VILLA FONTANA PARK      5HH3 CALLE P MUNOZ RIVERA                                                  CAROLINA            PR           00983

   267103 LIGA INTERCAMBIO DEPORTIVO EL SENORIAL                              S 9 R MENENDEZ PIDAL                                                       SAN JUAN            PR           00926
   697273 LIGA MANUEL NOLIN RUIZ      URB COUNTRY CLUB                        903 CALLE URANETA                                                          SAN JUAN            PR           00924
          LIGA MASTER PEPIMARI
   267104 INCORPORETED                HC 8 BOX 83531                                                                                                     SAN SEBASTIAN       PR           00685
          LIGA METROPOLITANA BASEBALL
   697274 FCO ALVAREZ                 PO BOX 7428                                                                                                        SAN JUAN            PR           00916
          LIGA METROPOLITANA DE
   697275 VOLIBOL JUVENIL             PO BOX 9023207                                                                                                     SAN JUAN            PR           00902‐3207
          LIGA NACIONAL DE VOLLEYBALL
   697277 INC                         P O BOX 367282                                                                                                     SAN JUAN            PR           00969

   697278 LIGA NATACION MASTER DE PR                  PO BOX 19402                                                                                       SAN JUAN            PR           00918
          LIGA PEQUENAS RADAMES
   267105 LOPEZ INC                                   AREA DEL TESORO         DIVISION DE RECLAMACIONES                                                  SAN JUAN            PR           00902‐4140



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  697279 LIGA POTE INC               PO BOX 885                                                                                                               MOCA                PR           00676
         LIGA PUERTORRIQUEÐA CONTRA
  267107 EL CANCER IN                PO BOX 191811                                                                                                            SAN JUAN            PR           00919‐1811
         LIGA PUERTORRIQUENA
  267109 ARCANGELES DE UTUADO        P O BOX 128                                                                                                              UTUADO              PR           00641
         LIGA PUERTORRIQUENA CONTRA
  697280 EL CANCER INC               PO BOX 759                                                                                                               DORADO              PR           00646
         LIGA PUERTORRIQUENA DE      563 CALLE JOSE A CEDENO SUITE
  267111 BALONCESTO INC              205                                                                                                                      ARECIBO             PR           00612
  267113 LIGA RICHARD VALENTIN INC   BO VICTOR ROJAS II            66 CALLE 9                                                                                 ARECIBO             PR           00612
         LIGA ROBERTO RIVERA MIRANDA
  267114 INC                         PO BOX 370895                                                                                                            CAYEY               PR           00737

   697281 LIGA ROSARIO Y CARDONA INC PO BOX 146                                                                                                               MAUNABO             PR           00707
          LIGA SHORINGI RYU KARATE DO
   267115 DE PTO RICO                 CONDADO PRINCESS APTO 801       WASHINGTON 2                                                                            SAN JUAN            PR           00907
          LIGA SOFTBALL AFICINADO
   697282 ZONON HERNANDEZ             P O BOX 729                                                                                                             LAS PIEDRAS         PR           00771

          LIGA SOFTBALL INTERAGENCIAL
   267116 DE GUAYAMA                    BOX 1952                                                                                                              GUAYAMA             PR           00785
          LIGA VALLEYBALL LOMANVIEW
   267117 CORP                          LOMAS DE CAROLINA             D 38 CALLE MONTE MEMBRILLO                                                              CAROLINA            PR           00985
          LIGA VOLEIBOL LOS GIGANTES
   697284 AREVICA INC                   P O BOX 2797                                                                                                          CAROLINA            PR           00984
          LIGA VOLEIBOL LOS GIGANTES DE
   697285 ARREVICA I                    CUARTA EXT COUNTRY CLUB       865 A CALLE CURAZAO                                                                     SAN JUAN            PR           00924
          LIGA VOLEIBOL SUP FEM
   697286 GIGANTES CAROLINA             PO BOX 270379                                                                                                         SAN JUAN            PR           00927‐0379
          LIGA VOLLEYBALL FEMENINO DE
   697287 COROZAL INC                   P O BOX 209                                                                                                           COROZAL             PR           00783
          LIGA VOLLEYBALL LAS PIONERAS
   697289 INC                           URB VENUS GARDENS NORTE       AB 24 CALLE TORREON                                                                     SAN JUAN            PR           00926

   697290 LIGAS INF Y JUV BASEBALL LARES P O BOX 1941                                                                                                         LARES               PR           00669
          LIGAS INF Y JUV UTUADO / JOSE L
   697291 MONTALVO                        P O BOX 158                                                                                                         UTUADO              PR           00641
          LIGAS INFANTIL Y JUVENILES DE
   697292 RIO GRANDE                      RIO GRANDE ESTATES          S 20 CALLE 8                                                                            RIO GRANDE          PR           00745
          LIGAS INFANTILES Y JUVENILES
   697293 DE UTUADO                       P O BOX 1103                                                                                                        UTUADO              PR           00641
   697294 LIGHMASTER COMPANY              PO BOX 4529                                                                                                         CAROLINA            PR           00984‐4529
   697295 LIGHT CENTER                    1666 AVE PONCE DE LEON                                                                                              SANTURCE            PR           00909
   697296 LIGHT GAS                       BOX 1155                                                                                                            SALINAS             PR           00751
  1256635 LIGHT GAS CORP                  REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   831776 Light Gas Corporation           PO BOX 1155                                                                                                         Salinas             PR           00751‐1155
          LIGHT GAS FORK CYLINDER
   267121 EXCHANGE                        PO BOX 1155                                                                                                         SALINAS             PR           00751‐1155
          LIGHT GAS FORKLIFT CYLINDER
   267122 EXCHANGE PRO                    PO BOX 1155                                                                                                         SALINAS             PR           00751
          LIGHT HOUSE POINT ENTERPRISE
   267123 INC                             PMB 134 PO BOX 144100                                                                                               ARECIBO             PR           00614‐4100
   697297 LIGHT HOUSE TROPICAL INN        PO BOX 1105                                                                                                         CABO ROJO           PR           00623



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  697298 LIGHT IMPRESSIONS                             P O BOX 22708                                                                                                        ROCHESTER         NY           14693‐2708
  267124 LIGHT INNOVATION                              PO BOX 1609                                                                                                          FAJARDO           PR           00738‐1609
  267125 LIGHT MASTER COMPANY                          P.O. BOX 4529                                                                                                        CAROLINA          PR           00984‐4529
         LIGHT ONE D B A ZOILO G
  697300 RODRIGUEZ                                     EXT SANTA ELENA2              F 16 CALLE 4                                                                           GUAYANILLA        PR           00656‐1456

   697301 LIGHTHOUSE BAPTIST ACADEMY PO BOX 1103                                                                                                                            FAJARDO           PR           00738
          LIGHTHOUSE CAFE AND
   267127 CONVENIENCE STORE          PO BOX 754                                                                                                                             LUQUILLO          PR           00773‐0754
          LIGHTHOUSE HISTORICAL
   267128 FOUNDATION, INC.           PO BOX 141300                                                                                                                          ARECIBO           PR           00614
          LIGHTHOUSE INSURANCE GROUP
   267129 INC                        PMB 637                                         1353 CARR 19                                                                           GUAYNABO          PR           00966
          LIGHTHOUSE INTEGRATED
   267130 SERVICES CO                2449 MILITAR AVE                                                                                                                       ISABELA           PR           00662
          LIGHTHOUSE INTEGRATED
   267131 SERVICES COPR.             P.O. BOX 472                                                                                                                           San Sebastian     PR           00685
          LIGHTHOUSE INTERGRATED
   267132 SERVICES CORP              P.O. BOX 472,                                                                                                                          San Sebastian     PR           00685
          LIGHTHOUSE MARKET
   267133 INTELLIGENCE INC           100 GRAND PASEOS BLUD                           SUITE 112‐362                                                                          SAN JUAN          PR           00926
          LIGHTHOUSE PLAZA HOTEL &
   267134 SPA                        P O BOX 1317                                                                                                                           CABO ROJO         PR           00623
          LIGHTHOUSE POINT
   267135 ENTERPRISES, INC.          PO BOX 141300                                                                                                                          ARECIBO           PR           00614‐1300
          LIGHTHOUSE TECHNICAL
   697302 CONSULTANTS INC            149 MAIN STREET                                                                                                                        ROCKPORT          MA           01966
   267137 LIGHTHOUSE TRANSLATIONS    PO BOX 472                                                                                                                             SAN SEBASTIAN     PR           00685
          LIGHTHOUSES ADVENTURES OR
   267138 PR INC                     PMB 134 P O BOX 144100                                                                                                                 ARECIBO           PR           00614‐4100
          LIGHTING ADVERTISING &
   267139 DESIGN CORP                HC 03 BOX 13545                                                                                                                        YAUCO             PR           00698
          LIGHTING LINK /D/B/A DARIO
   697303 NAZARIO                    HC 1 BOX 8045                                                                                                                          SAN GERMAN        PR           00683
   697304 LIGHTMASTER COMPANY INC    P O BOX 4529                                                                                                                           CAROLINA          PR           00984‐4529
   697305 LIGHTNING PRODUCTIONS      P O BOX 2211                                                                                                                           BAYAMON           PR           00960
   697306 LIGHTS & MORE              PO BOX 195382                                                                                                                          SAN JUAN          PR           00919‐5382

   697307 LIGHTSOURCE GROUP                            752 ACACIA ST HIGHLAND PARK                                                                                          SAN JUAN          PR           00924
   697308 LIGHTSPEED SOFTWARE                          1800 19TH STREET                                                                                                     BAKERSFIELD       CA           93301
   697309 LIGIA A FEBLES                               P O BOX 11964                                                                                                        SAN JUAN          PR           00922‐1964

   697311 LIGIA CORTES TORRES                          COUNTRY CLUB 2DA EXT          1153 CALLE ANTONIO LUCIANO                                                             SAN JUAN          PR           00924
   697312 LIGIA D. MARTINEZ PACHECO                    14 L‐17 URB EL CAFETAL                                                                                               YAUCO             PR           00698

   697313 LIGIA DEL CAMPO DE BENITEZ                   URB ENCANTADA                 CO22 CALLE QUEBRADA GRANDE                                                             TRUJILLO ALTO     PR           00976
   267141 LIGIA E COLON AYALA                          REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   267142 LIGIA ESTILIN SANTOS TORRES                  REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   697314 LIGIA FRIAS PACHECO                          PDA 20 1468                   CALLE LAS PALMAS                                                                       SAN JUAN          PR           00912
   267143 LIGIA G HERNANDEZ PUJOL                      REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   267146 LIGIA J PEREZ TEXIDOR                        REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   267147 LIGIA L ROSARIO VEGA                         REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   267148 LIGIA LEBRON LOPEZ                           REDACTED                      REDACTED                   REDACTED                             REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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   697317 LIGIA M VIZCARRONDO BONILLA ROOSEVELT                                   434 CALLE ALVARADO                                                                    SAN JUAN            PR           00918

   267150 LIGIA MALDONADO MARRERO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697318 LIGIA MARQUEZ CARTAGENA                     RR 1 BOX 48 BB                                                                                                    CAROLINA            PR           00987

   697319 LIGIA MELENDEZ PACHECO                      232 AVE ELEONOR ROOSEVELT                                                                                         SAN JUAN            PR           00907
   697321 LIGIA N JORDAN ROJAS                        PO BOX 360657                                                                                                     SAN JUAN            PR           00936‐0657
   267151 LIGIA NIEVES ROSARIO                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267152 LIGIA NINA RODRIGUEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267153 LIGIA PEREZ MORALES                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697323 LIGIA PESQUERA SEVILLANO                    PLAZA ANTILLANA APT 302                                                                                           SAN JUAN            PR           00918
   267155 LIGIA QUINONES ROMAN                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697324 LIGIA ROMAN LUGO                            COND LA CEIBA TORRE 100     APT 201                                                                               PONCE               PR           00717‐1804
   697325 LIGIA SANTOS                                URB LA MARINA               D 16 CALLE GARDENIA                                                                   CAROLIN             PR           00797
   697326 LIGIA SOTOMAYOR ELLIS                       P O BOX 51901                                                                                                     TOA BAJA            PR           00950
   697327 LIGINETTE CALDERON RIVERA                   HC 2 BOX 5177                                                                                                     COMERIO             PR           00782
   697328 LIGNE BAEZ BURGOS                           URB COLINAS DEL PLATA       102 CAMINO DEL PARQUE                                                                 TOA ALTA            PR           00953‐4736
   267159 LIIZA RAMOS                                 REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267162 LIKE FAMILY INC                             P O BOX 962                                                                                                       AIBONITO            PR           00705‐0962
   697329 LIL ORBITS INC                              2850 VICKBURG LANE                                                                                                PLYMOUTH            MN           55447
   267164 LILA E PEREZ MORENO                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697330 LILA E RIVERA ROSARIO                       34 CALLE BALDORIOTY                                                                                               SANTA ISABEL        PR           00757
   697332 LILA GUZZARDO                               1609 C COLON APT 401                                                                                              SAN JUAN            PR           00911
   267166 LILA I JANER OJEDA                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697333 LILA J QUERO MUNOZ                          PO BOX 250005                                                                                                     AGUADILLA           PR           00604
   697334 LILA M COLL RODRIGUEZ                       PO BOX 9862                                                                                                       SAN JUAN            PR           00908‐0862
   267167 LILA M MUNOZ BERRIOS                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697335 LILA M SAEZ RIVERA                          RES PORTUGUEZ               B APT 117                                                                             PONCE               PR           00731
   267169 LILAWALA CRUZ MORALES                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697336 LILEANA MARQUEZ REYES                       DORADO DEL MAR              VILLA DE PLAYA 1 APT I 1                                                              DORADO              PR           00646
   267170 LILEANA SILVA MONTES                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697337 LILETTE CLEMENTE AVILES                     COND INMACULADA APT 205     457 CALLE INMACULADA                                                                  SAN JUAN            PR           00915
   267171 LILI ACEVEDO ECHEVARRIA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   697338 LILI E MONTENEGRO SALGUERO                  URB SANTA ROSA              B 19 CALLE MAUREEN                                                                    CAGUAS              PR           00725
   267173 LILI GENG                                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697340 LILIA A MARTINEZ RIVERA                     195 AVE ARTERIAL HOSTOS     APT 3015                                                                              SAN JUAN            PR           00918‐2944
   697341 LILIA A PEREIRA RESTO                       HC02 BOX 9953                                                                                                     GUAYNABO            PR           00971
   267174 LILIA BERRIOS CASTRO                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697343 LILIA DE GRACIA BARAHONA                    LADERAS DE PALMA REAL       W 79 JOSE BOSCON                                                                      SAN JUAN            PR           00926
   697344 LILIA G RODRIGUEZ                           URB EL SENORIAL             2012 CALLE GARCIA LORCA                                                               SAN JUAN            PR           00926
   267175 LILIA I CALDERON GARCIA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697345 LILIA I PAGAN DE CHACHO                     PO BOX 141375                                                                                                     ARECIBO             PR           00614 1375
   267176 LILIA I REYES BASAN                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697346 LILIA LOPEZ LINARES                         COND EL PONCE               274 CALLE CANAL APT 801                                                               SAN JUAN            PR           00907
   267178 LILIA M LEYRO ROSADO                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697350 LILIA M MARQUEZ                             URB LA MARINA               Q 31 CALLE I                                                                          CAROLINA            PR           00979
   267179 LILIA M OQUENDO SOLIS                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267180 LILIA M PEREA GINORIO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267181 LILIA M PEREZ ROMAN                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267182 LILIA M RIVERA DE JESUS                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697352 LILIA M VEGA ENCARNACION                    PO BOX 1                                                                                                          CANOVANAS           PR           00729



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  697353 LILIA M. LUCIANO MELENDEZ                    APART A5                       904 CALLE MARTI                                                                          SAN JUAN            PR         00907
  267183 LILIA M. QUINONES FUENTES                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  267186 LILIA ORTIZ PUIG                             REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   267188 LILIA QUINONEZ MALDONADO                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LILIA R JIMENEZ GUZMAN/JESUS
   697354 JIMENEZ                                     PO BOX 385                                                                                                              COAMO               PR         00769‐0385
   697355 LILIA R SANCHEZ PEREZ                       URB JARDINES DE CAPARRA        K‐14 CALLE 17                                                                            BAYAMON             PR         00959
   697356 LILIA RIVERA                                306 CAPITAL CENTER                                                                                                      SAN JUAN            PR         00918

   267189 LILIA RIVERA PSC                            CAPITAL CENTER                 239 ARTERIAL HOSTOS STE 306                                                              SAN JUAN            PR         00918
   267190 LILIA RIVERA ROMAN                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697357 LILIA RODRIGUEZ DE MILLER                   HC 01 BUZON 7649                                                                                                        CANOVANAS           PR         00729
   267191 LILIA RODRIGUEZ RUIZ                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LILIA RODRIGUEZ Y FRANCISCO
   770694 RAMIREZ                                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267192 LILIA ROSARIO MUNOZ                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697358 LILIA T SABATER BERROCAL                    URB ENTRERIOS                  140 CALLE PLAZA SERENA                                                                   TRUJILLO ALTO       PR         00976
   697339 LILIA TIRADO CUMBA                          PO BOX 23190                                                                                                            SAN JUAN            PR         00931‐3190
   697359 LILIAM ESPINOSA SACHEZ                      MIRAMAR                        711 B CALLE HERNANDEZ                                                                    SAN JUAN            PR         00907

   267193 LILIAM J. VALCARCEL NAVARRO                 REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      BO ARENALES BAJO PARCELA
   697360 LILIAM L CORTES GALVAN                      MORA                           BZN 59 CALLE 1                                                                           ISABELA             PR         00662

   697361 LILIAMAR OLIVERAS SANTIAGO                  COND PLAZA ATHENEE             APT 1003                                                                                 GUAYNABO            PR         00966
   267194 LILIAN LUGO                                 REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267195 LILIAN MARTINEZ FUENTES                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267196 LILIAN R SANTANA ARROYO                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   697363 LILIANA ANDREA MATTALLANA                   80 CALLE ESTEBAN PADILLA INT                                                                                            BAYAMON             PR         00959
   267197 LILIANA APONTE HERNANDEZ                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267198 LILIANA ARROYO VALLE                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267199 LILIANA BARRETO RUIZ                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267200 LILIANA BERGOLLO PAEZ                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267201 LILIANA BERMUDEZ FUENTES                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267202 LILIANA BICCHI                              REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267203 LILIANA BICCHI CONSUEGRA                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267204 LILIANA BURGOS ALBINO                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697364 LILIANA CARABALLO FEYJOO                    URB ALT DE FLORIDA G 12                                                                                                 FLORIDA             PR         00650
   267205 LILIANA CESANI BELLAFLORES                  REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267206 LILIANA COTTO MORALES                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267207 LILIANA CUEVAS MATOS                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697366 LILIANA DEL C ORTIZ RIVERA                  27107 CARR 742                                                                                                          CAYEY               PR         00736
   267208 LILIANA E JIMENEZ MENDEZ                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267209 LILIANA GONZALEZ BARRETO                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LILIANA GUIBERT/ ELEGE
   267210 PRINTING SOLUTION                           BOX 39 COND EL LAUREL          J 8 SAN PATRICIO AVE                                                                     GUAYNABO            PR         00968‐4463

   267211 LILIANA HERNANDEZ GONZALEZ REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   267213 LILIANA HERNANDEZ MARTINEZ REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267215 LILIANA LOPEZ ORTIZ        REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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   267216 LILIANA M. EMANUELLI FREESE                 REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          LILIANA MARGARITA VIERA
   267217 CALDERON                                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   697369 LILIANA MARTINEZ                            URB VISTAMAR MARINA OESTE     B2 PONTEVEDRA                                                                        CAROLINA            PR         00983
   267218 LILIANA MARTINEZ MARIN                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   267219 LILIANA MORALES RODRIGUEZ                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   267221 LILIANA ORTEGA SANTANA                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   697370 LILIANA ORTIZ MORALES                       4 CALLE PETARDO FINAL                                                                                              PONCE               PR         00731

   697371 LILIANA PAGAN PICORELI                      EXT VILLAS DE BUENA VENTURA   44 7 CALLE ZAFIRO                                                                    YABUCOA             PR         00767
   697372 LILIANA PORTER                              720 GREENWICH STREET 10G                                                                                           NEW YORK            NY         10014
   267223 LILIANA RAMOS GUIDICELLI                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   267224 LILIANA RIVERA NEGRON                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   267225 LILIANA ROBLES RODRIGUEZ                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   267226 LILIANA RODRIGUEZ ALVARADO                  REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   267227 LILIANA RODRIGUEZ MURIEL                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   267228 LILIANA ROMERO BERMUDEZ                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   267229 LILIANA RUPERTO TORRES                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   267230 LILIANA T MARTINEZ MARIN                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   697375 LILIANA URDANIVIA MENDEZ                    PO BOX 2082                                                                                                        SAN GERMAN          PR         00683
   267231 LILIANA VAZQUEZ RIVERA                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   697376 LILIANETTE RIOS                             PO BOX 546                                                                                                         ADJUNTAS            PR         00601
          LILIANETTE RODRIGUEZ
   267232 ALVARADO                                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          LILIANETTE RODRIGUEZ
   697377 GONZALEZ                                    P O BOX 300                                                                                                        HATILLO             PR         00659
   267234 LILIANNA RIVERA                             REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   697378 LILIBED OTERO SOTO                          URB VILLAS DEL SOL            CALLE PRINCIPAL BOX 170                                                              TRUJILLO ALTO       PR         00976
   697379 LILIBEL LOPEZ VAZQUEZ                       RR 1 BOX 3759                                                                                                      CIDRA               PR         00739
   697381 LILIBETH ACOSTA CALDERON                    URB RIO GRANDE STATE          O 16 CALLE 20                                                                        RIO GRANDE          PR         00745‐9717
   267235 LILIBETH ALICEA ROSADO                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   697382 LILIBETH BERRIOS VELAZQUEZ                  PARCELAS VAN SCOY             N 15 CALLE 6A                                                                        BAYAMON             PR         00957
   267236 LILIBETH CINTRON RIEFKOHL                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   697383 LILIBETH LOPEZ SOTO                         HC 4 BOX 46814                                                                                                     AGUADILLA           PR         00603
   267238 LILIBETH NADAL JIMENEZ                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   697385 LILIBETH ORTIZ VELAZQUEZ                    SECTOR SAN JOSE               RR 2 BOX 6497                                                                        CIDRA               PR         00739
   267240 LILIBETH REYES RAMOS                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   267241 LILIBETH RIVERA VALENTI                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   267243 LILIBETH RODRIGUEZ NAVARRO                  REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   697388 LILIBETH SANCHEZ                            PO BOX 932                                                                                                         VILLALBA            PR         00766
   697389 LILIBETH SANCHEZ RIVERA                     BOX 1404                                                                                                           CIDRA               PR         00739
   697390 LILIBETH TABALES                            APARTADO 191                                                                                                       JUNCOS              PR         00777
   267245 LILIBETH VEGA NAZARIO                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   267246 LILIBETTE CANCEL ROSADO                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   697391 LILIN G ZAYAS MALAVE                        P O BOX 426                                                                                                        CAYEY               PR         00736
   697392 LILINETTE ASTACIO ALEQUIN                   HC 1 BOX 6229                                                                                                      CABO ROJO           PR         00623
   267248 LILIOSA AYALA AVILA                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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MML ID                 NAME                                      ADDRESS 1                       ADDRESS 2                   ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  697393 LILIPUN INC                                   PO BOX 193773                                                                                                         SAN JUAN          PR         00919‐3773
  267249 LILISETTE NIEVES TORRES                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267250 LILIVETTE COLON CARDONA                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267252 LILIVETTE ORTIZ GONZALEZ                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697394 LILIVETTE SANABRIA BELVIS                     PERLA DEL SUR                  2514 COMPARSA                                                                          PONCE             PR         00717‐0424
  697395 LILIVETTE VALLE OTERO                         URB JARD DEL CARIBE            175 CALLE ALAMOS                                                                       MAYAGUEZ          PR         00680
  267253 LILIVETTE VELEZ VELAZQUEZ                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697396 LILLE I TROCHE FLORES                         LAS AMERICAS                   KK 12 CALLE 5                                                                          BAYAMON           PR         00959
  267254 LILLI H STERLING PETSCH                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267255 LILLIA CRUZ VINAS                             REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267256 LILLIA E PLANELL HERNANDEZ                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   697399 LILLIAM A CABRERA PLA                        COND LOS PINOS APT 11 A ESTE   6410 AVE ISLA VERDE                                                                    CAROLINA          PR         00979
   697400 LILLIAM A DAVILA                             EXT SANTA ANA                  B 9 CALLE ESMERALDA                                                                    VEGA ALTA         PR         00692
   697401 LILLIAM A VALENTIN CRUZ                      HC 7 BOX 34150                                                                                                        HATILLO           PR         00659
   267257 LILLIAM ALBERT MEDINA                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267258 LILLIAM ALEMAN CARDONA                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267259 LILLIAM ALICEA MALDONADO                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697402 LILLIAM ALVARADO BARRIOS                     HC 44 BOX 13371                                                                                                       CAYEY             PR         00736
   267260 LILLIAM ALVAREZ LABIOSA                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697404 LILLIAM AMADO SARQUELLA                      ALT DE FLAMBOYAN               X‐19 CALLE 14                                                                          BAYAMON           PR         00959
   697405 LILLIAM AMBERT SANCHEZ                       HC 01 BOX 4837                                                                                                        SABANA HOYOS      PR         00688
   697406 LILLIAM ARCE GALBAN                          COM MORA GUERRERO              BOX 316                                                                                ISABELA           PR         00662
   697407 LILLIAM ARLENE                               108 EL PRADO                                                                                                          AGUADILLA         PR         00603
   697408 LILLIAM ARROYO MORALES                       URB LA ESPERANZA               R 7 CALLE 2                                                                            VEGA ALTA         PR         00692
   267261 LILLIAM ARROYO SANCHEZ                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267262 LILLIAM ARVELO LOPEZ                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697409 LILLIAM ASENCIO REYES                        BDA POLVORIN                   10 CALLE EVARISTO VAZQUEZ                                                              CAYEY             PR         00736

   267264 LILLIAM B HERNANDEZ NIEVES                   REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267265 LILLIAM B SUAREZ OCASIO                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697410 LILLIAM BAEZ CORDERO                         HC 2 BOX 33047                                                                                                        CAGUAS            PR         00725 9413
   697411 LILLIAM BAEZ ORTIZ                           COUNTRY CLUB                   873 CALLE COFRE                                                                        SAN JUAN          PR         00924
   697412 LILLIAM BERMUDEZ BONES                       HC 01 BOX 3502                                                                                                        SANTA ISABEL      PR         00757
   697413 LILLIAM BERRIOS GONZALEZ                     HC 02 BOX 6733                                                                                                        BARRANQUITAS      PR         00794
   267267 LILLIAM BERRIOS ROBLES                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697414 LILLIAM BEZARES GOMEZ                        URB CAGUAX                     F 23 CALLE NABORIA                                                                     CAGUAS            PR         00725
   697415 LILLIAM BIRD DE PULGAR                       PO BOX 21952                                                                                                          SAN JUAN          PR         00931‐1952
   697416 LILLIAM BONILLA NEGRON                       HC 02 BOX 4379                                                                                                        VILLALBA          PR         00766‐9712
   697418 LILLIAM BURGOS CALIZ                         URB LOS ANGELES                WL 19 CALLE CRISANTEMO                                                                 CAROLINA          PR         00979
   267268 LILLIAM BURGOS RIVERA                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267269 LILLIAM C LEMELL                             REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267270 LILLIAM C VIENTOS VALLE                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697419 LILLIAM CALISTO PEREZ                        ALT RIO GRANDE                 BB31 CALLE F                                                                           RIO GRANDE        PR         00745

   267271 LILLIAM CAMARENO FIGUEROA                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697420 LILLIAM CAMPOS DE JESUS                      PO BOX 15825                                                                                                          ARECIBO           PR         00612

   267272 LILLIAM CARABALLO RODRIGUEZ REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267273 LILLIAM CARRERO RAMIREZ     REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697422 LILLIAM CARRION SILVA       HC 1 BOX 6992                                                                                                                          GURABO            PR         00778
   267274 LILLIAM CASTILLO GUEVARA    REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697424 LILLIAM CHAVEZ LAMBERTY     LA QUINTA                                       252 BALBOA APT 7                                                                       MAYAGUEZ          PR         00680



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  267275 LILLIAM CHEVERE SANCHEZ                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697425 LILLIAM COLBERG ZAPATA                        HC 01 BOX 1897                                                                                                     BOQUERON          PR         00622‐9705
  697427 LILLIAM COLON MORALES                         EXT EL VERDE              92 CALLE MERCURIO                                                                        CAGUAS            PR         00725
  697428 LILLIAM COLON VILLANUEVA                      URB VALLE ARRIBA          59 CALLE CAOBA                                                                           COAMO             PR         00769
  697429 LILLIAM CORDOVA SALAS                         PO BOX 221                                                                                                         TOA BAJA          PR         00950
  697430 LILLIAM CORTEZ SANTOS                         PO BOX 396                                                                                                         CIDRA             PR         00739
  697431 LILLIAM COTTO CHEVERE                         VILLA NEVAREZ             1061 CALLE 8                                                                             SAN JUAN          PR         00927
  697432 LILLIAM CRESPO                                HC 01 BOX 5011                                                                                                     BAJADERO          PR         00616‐9710
  697433 LILLIAM CRUZ APONTE                           PO BOX 5362                                                                                                        CAGUAS            PR         00725
  697434 LILLIAM CRUZ CRUZ                             SANS SOUCI                R 7 CALLE 4                                                                              BAYAMON           PR         00957
  267276 LILLIAM CRUZ PITRE                            REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697435 LILLIAM CRUZ ROJAS                            P O BOX 7428                                                                                                       SAN JUAN          PR         00916
  697436 LILLIAM CRUZ SOTO                             P O BOX 1048                                                                                                       CEIBA             PR         0007351048
  697437 LILLIAM CRUZ TEJERIA                          HC 03 BOX 11279                                                                                                    JUANA DIAZ        PR         00795‐9505
  697438 LILLIAM CUEVAS DURAN                          50 A CALLE DEL AGUA                                                                                                ADJUNTAS          PR         00601
  267277 LILLIAM CUMBA SANTANA                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         LILLIAM D BELTRAN / NELSON
  697439 SILVA BELTRAN                                 VILLA ALBIZU CANDELARIA   PARC 31 CALLE GIRASOL                                                                    TOA BAJA          PR         00951
  267278 LILLIAM D LUGO CARMONA                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697440 LILLIAM D RIVERA LANDRON                      URB MARIA DEL CARMEN      L‐2 CALLE 7                                                                              COROZAL           PR         00783
  267279 LILLIAM DAVID BONILLA                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267280 LILLIAM DE JESUS REYES                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697441 LILLIAM DE JESUS SANCHEZ                      HACIENDA DEL MONTE        H 8 CALLE E                                                                              COTTO LAUREL      PR         00780
  267281 LILLIAM DE LEON MARTINEZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267282 LILLIAM DE LEON VAZQUEZ                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697442 LILLIAM DEFILLO GONZALEZ                      OCEAN PARK                18 C /ATLANTIC PLACE                                                                     SAN JUAN          PR         00911
         LILLIAM DEL C. RODRIGUEZ
  267283 PEREZ                                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         LILLIAM DEL CARMEN GARCIA
  267284 CARRILLO                                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267285 LILLIAM DEL VALLE BENITEZ                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697443 LILLIAM DEL VALLE NIEVES                      167 CALLE ROBLES                                                                                                   SAN JUAN          PR         00925
  697446 LILLIAM DELGADO AYENDE                        URB VISTA AZUL            Y 19 CALLE 30                                                                            ARECIBO           PR         00612
  267286 LILLIAM DELGADO CARDONA                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267287 LILLIAM DELGADO VEGA                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697447 LILLIAM DELPIN MARTINEZ                       EL CORTIJO                AJ7 CALLE 26                                                                             BAYAMON           PR         00936
  697448 LILLIAM DIAZ CARABALLO                        PO BOX 143673                                                                                                      ARECIBO           PR         00614
  267288 LILLIAM DIAZ COTES                            REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697449 LILLIAM DIAZ CRUZ                             JARD DE VALENCIA          1413 CALLE PEREIRA LEAL 631                                                              SAN JUAN          PR         00923
  267289 LILLIAM DIAZ DE LEON                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267290 LILLIAM DIAZ NIEVES                           REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697450 LILLIAM DIAZ ZABALA                           EXT EL COMANDATE          111 CALLE DUCAL                                                                          CAROLINA          PR         00982

   697451 LILLIAM DOMINGUEZ GONZALEZ HC 1 BOX 26193                                                                                                                       VEGA BAJA         PR         00693
          LILLIAM DOMINGUEZ
   697452 RODRIGUEZ                  HC 3 BOX 11774                                                                                                                       JUANA DIAZ        PR         0007959505
   267291 LILLIAM E ALAYON AGOSTINI  REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   697453 LILLIAM E CINTRON DOMINGUEZ RR 1 BOX 11603                                                                                                                      MANATI            PR         00674

   697454 LILLIAM E FERNANDEZ DE JESUS                 RIO GRANDE ESTATE         N5 AVE B                                                                                 RIO GRANDE        PR         00745
   267292 LILLIAM E FRED AVILES                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267293 LILLIAM E GARCIA CADIZ                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  267294 LILLIAM E GAUD FIGUEROA                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   267295 LILLIAM E IRIZARRY ECHEVARRIA REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   267296 LILLIAM E MARTINEZ RODRIGUEZ REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   267297 LILLIAM E PACHECO CARTAGENA REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697456 LILLIAM E PEREZ ROBLES      JARD DE CAPARRA                            K 14 CALLE 17                                                                          BAYAMON             PR         00959
   267298 LILLIAM E REYES REYES       REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267300 LILLIAM E ROLDAN TORRES     REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697460 LILLIAM E SANTIAGO GARCIA   URB VALLE HUCARES 40                       CALLE MAGA                                                                             JUANA DIAZ          PR         00795‐2805

   697461 LILLIAM E SANTIAGO GUZMAN                   SANTA TERESITA             BC 1 CALLE 17                                                                          PONCE               PR         00731
   267301 LILLIAM E. MERCADO REYES                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697463 LILLIAM EDNE ANES CRUZ                      URB PARADIS                10 CALLE A                                                                             CAGUAS              PR         00725
   267302 LILLIAM ELIAS QUIJANO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697464 LILLIAM ESTEVA ROSARIO                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267303 LILLIAM F TROCHE RUIZ                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697465 LILLIAM FELICIANO BAEZ                      PO BOX 767                                                                                                        CAGUAS              PR         00726

   267304 LILLIAM FERNANDEZ FERNANDEZ REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697466 LILLIAM FERNANDEZ PEREZ     RAMON MERCADO TORRES                       PO BOX 41269                                                                           SAN JUAN            PR         00940‐1269
   697467 LILLIAM FERRER ALLENDE      HC 01 BOX 2004                                                                                                                    LOIZA               PR         00772
   697468 LILLIAM FIGUEROA            HC 03 BOX 39553                                                                                                                   CAGUAS              PR         00725

   697469 LILLIAM FIGUEROA LOZADA                     URB VALLE TOLIMA           D 13 CALLE EMMA ROSA VICENTI                                                           CAGUAS              PR         00725
   267305 LILLIAM FIGUEROA PUENTE                     REDACTED                   REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697471 LILLIAM FLORES                              BOX 65                                                                                                            SAN SEBASTIAN       PR         00685
   697472 LILLIAM FONTANEZ ORTEGA                     HC 3 BOX 10184                                                                                                    COMERIO             PR         00782
   267306 LILLIAM FRANCO BAEZ                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697473 LILLIAM G GORDON PAGAN                      URB TOA ALTAHEIGHTS        4 40 CALLE 13                                                                          TOA ALTA            PR         00953

   267307 LILLIAM G SEMIDEI ROLHAUSEN                 REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697474 LILLIAM GARCIA RAMOS                        URB LAS LEANDRAS           M 6 CALLE 15                                                                           HUMACAO             PR         00792
   697475 LILLIAM GARCIA RIVERA                       48 A BO MAMEYAL                                                                                                   DORADO              PR         00646
   697476 LILLIAM GARCIA SCHMIDT                      HC 01 BOX 4798                                                                                                    JUANA DIAZ          PR         00795
   697477 LILLIAM GARCIA VEGA                         H C 03 BOX 18558                                                                                                  ARECIBO             PR         00612
   697478 LILLIAM GELPI ROSARIO                       JARD RIO GRANDE            BN295 CALLE 64                                                                         RIO GRANDE          PR         00745
   267308 LILLIAM GOMEZ CABRERA                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697480 LILLIAM GOMEZ FUSTER                        PO BOX 817                                                                                                        ARROYO              PR         00714
   267309 LILLIAM GONZALEZ                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267310 LILLIAM GONZALEZ DE JESUS                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      COND MONTERREY ESTATES APT
   697483 LILLIAM GONZALEZ ORTIZ                      A 21                       121 AVE LAGUNA                                                                         CAROLINA            PR         00979
   697484 LILLIAM GONZALEZ RIVERA                     BOX 11116                                                                                                         ARECIBO             PR         00613
   267311 LILLIAM GUADALUPE RIVERA                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697487 LILLIAM GUEVARA GONZALEZ                    URB BERWIND ESTATES        C 11 CALLE 2                                                                           SAN JUAN            PR         00924
   697488 LILLIAM GUZMAN CRUZ                         P O BOX 473                                                                                                       YAUCO               PR         00698
   697491 LILLIAM HADDOCK CORUJO                      URB VILLA ROSA 11          E2                                                                                     GUAYAMA             PR         00784
   697492 LILLIAM HERNANDEZ CORTES                    146 BDA CARACOLES                                                                                                 PE¥UELAS            PR         00624

   267312 LILLIAM HERNANDEZ DE JESUS                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697493 LILLIAM HERNANDEZ DIAZ                      PO BOX 432                                                                                                        JUANA DIAZ          PR         00795



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   697494 LILLIAM HERNANDEZ FONSECA                    PO BOX 9066597                                                                                                   SAN JUAN            PR           00906 6597
   267313 LILLIAM HERNANDEZ LEBRON                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   697496 LILLIAM HERNANDEZ RODRIGUEZ URB SANTA ELENA                              I 18 CALLE 1                                                                         GUAYANILLA          PR       00656
   697497 LILLIAM HERNANDEZ TORRES    JARD DE GURABO                               207 CALLE 10                                                                         GURABO              PR       00778
   697498 LILLIAM I ADORNO MARRERO    PO BOX 3016                                                                                                                       VEGA ALTA           PR       00692
   697499 LILLIAM I ALVELO RIVERA     PARC 89 BAYAMONCITO                          CARR 156 KM 41.3                                                                     AGUAS BUENAS        PR       00703
   267314 LILLIAM I ANNABLE           REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   267315 LILLIAM I BAEZ CUEVAS       REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   267316 LILLIAM I CABRERA DIAZ      REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   697501 LILLIAM I CRUZ REYES        URB JARDINES                                 E 9 CALLE 2                                                                          DORADO              PR       00646
   267317 LILLIAM I DIAZ PEREZ        REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   697502 LILLIAM I FERNANDEZ RUIZ    PARQUES DE BONNEVILLE                        EDIF 1 APT 2G                                                                        CAGUAS              PR       00725
   267318 LILLIAM I GOZALEZ VAZQUEZ   REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   697503 LILLIAM I HERNANDEZ RIOS    ABRA LOS CABALLOS                            PARC 398                                                                             BARCELONETA         PR       00617
          LILLIAM I MALDONADO DEL
   697506 VALLE                       HC 1 BOX 17027                                                                                                                    HUMACAO             PR           00791
   697507 LILLIAM I MERCED ANDINO     URB PARQUE FLAMINGO                          79 CALLE ZEUS                                                                        BAYAMON             PR           00959

   697510 LILLIAM I PEREZ VALLE                        232 AVE ELEONOR ROOSEVELT                                                                                        SAN JUAN            PR           00907
   697511 LILLIAM I RAMOS FONTANEZ                     COND DE DIEGO               575 APT 310                                                                          SAN JUAN            PR           00924‐3827
   267319 LILLIAM I RIVERA NIEVES                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697512 LILLIAM I RIVERA SANTIAGO                    PO BOX 843                                                                                                       VILLALBA            PR           00766
   697513 LILLIAM I RIVERA VICENTE                     PO BOX 166                                                                                                       CIDRA               PR           00739
          LILLIAM I RODRIGUEZ
   267320 MONTALVO                                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   697515 LILLIAM I SAEZ / VIAJES SELLAS               8 CALLE BALDORIOTY                                                                                               COAMO               PR           00769
   267321 LILLIAM I SANTIAGO                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697516 LILLIAM I TORRES COLON                       URB LAS MERCEDES            83 CALLE 13                                                                          SALINAS             PR           00751
   267322 LILLIAM I VARGAS ORTIZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267323 LILLIAM I. BAEZ CUEVAS                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267324 LILLIAM I. CORTIJO RIVERA                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   267325 LILLIAM I. MORRIS CARABALLO                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267326 LILLIAM I. NIEVES ROSARIO                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267327 LILLIAM I. VILLEGA GONZALEZ                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267328 LILLIAM I.RIVERA SANTIAGO                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   697517 LILLIAM IRIS LOZADA MENDOZA 406 URB VALLE PIEDRA                                                                                                              LAS PIEDRAS         PR           00771
   697518 LILLIAM IRIZARRY            HC 01 BOX 1991                                                                                                                    BOQUERON            PR           00622‐9706
          LILLIAM IVETTE GONZALEZ
   267329 ROMAN                       REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   697520 LILLIAM J DELGADO CARDONA                    URB VILLA MARIA             G1 CALLE 2                                                                           CAGUAS              PR           00725
   267331 LILLIAM J GARCIA GUTIERREZ                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267332 LILLIAM J JIMENEZ VALENTIN                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267334 LILLIAM J LLERAS SOTO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697521 LILLIAM J QUILES COLON                       PO BOX 1780                                                                                                      OROCOVIS            PR           00720
   267335 LILLIAM J QUINONES SOLANO                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   697522 LILLIAM J RODRIGUEZ ROSADO                   ALTURAS DE FLAMBOYAN        J 6 CALLE 3                                                                          BAYAMON             PR           00956



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  267336 LILLIAM J RUIZ GONZALEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  267338 LILLIAM J TORRES GONZALEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         LILLIAM J VALCARCEL TRT ANNIE
  697524 NUNIN                                         GUADALUPE                   COND MAR DE ISLA VERDE     7185 CARR 187 3G                                           CAROLINA            PR         00979‐7001
  267339 LILLIAM J VALLE BECERRA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  267340 LILLIAM JIMENEZ NAVEDO                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  697525 LILLIAM JIMENEZ SIERRA                        BO JAGUAS                   SECTOR STA CLARA CALLE 7                                                              CIALES              PR         00638

   267341 LILLIAM K. TONOS HERNANDEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697527 LILLIAM L GARCIA GUZMAN                      RIBERAS DEL RIO             A 15 CALLE 9                                                                          BAYAMON             PR         00959
   267342 LILLIAM L PEREZ PADILLA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267343 LILLIAM L RIVERA SALERNA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267344 LILLIAM L SANCHEZ BENITEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267345 LILLIAM LA SANTA FIGUEROA                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697528 LILLIAM LABOY VELEZ                          URB ESTANCIAS DE YAUCO      J 17 CALLE ALEJANDRINO                                                                YAUCO               PR         00698
   267346 LILLIAM LAMBERTY                             REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267347 LILLIAM LIZARDI O'NEILL                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267348 LILLIAM LOPEZ FELIX                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697532 LILLIAM LUGO TORRES                          P O BOX 1953                                                                                                      YAUCO               PR         00698
   697535 LILLIAM M APONTE ROSA                        PMB 2400 SUITE 136                                                                                                TOA BAJA            PR         00951
   267349 LILLIAM M AULET BERRIOS                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697398 LILLIAM M BACOT FABRE                        COND TORRELINDA             85 APT MAYAGUEZ 706                                                                   SAN JUAN            PR         00917
          LILLIAM M BORREN / LILYS
   697536 SCHOOL SUPPLY                                P O BOX 972                                                                                                       GUANICA             PR         00653
   267350 LILLIAM M BURGOS RIVERA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697537 LILLIAM M CENTENO GERENA                     PO BOX 731                                                                                                        GARROCHALES         PR         00652

   267351 LILLIAM M FAJARDO TRABANCO REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   267352 LILLIAM M FELICIANO MEDINA                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697539 LILLIAM M GONZALEZ COLON                     URB SAN ANTONIO             E7                                                                                    COAMO               PR         00769

   697540 LILLIAM M GONZALEZ TORRES                    P O BOX 269                                                                                                       SALINA              PR         00751

   267354 LILLIAM M HERNANDEZ PADIN                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   697541 LILLIAM M IRIZARRY PEREZ                     H 5 URB JARD DE GUATEMALA                                                                                         SAN SEBASTIAN       PR         00685
   697542 LILLIAM M JIRAU LAMBOY                       SAN RAFAEL STATES           CASA 11                                                                               TRUJILLO ALTO       PR         00976

   267355 LILLIAM M MACHIN MELENDEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   697545 LILLIAM M MALAVE ALVARADO                    VILLA MADRID                K 26 CALLE 7                                                                          COAMO               PR         00769
          LILLIAM M RODRIGUEZ
   697546 GONZALEZ                                     RES ROBERTO CLEMENTE        BOX 16055                                                                             CAROLINA            PR         00984
          LILLIAM M RODRIGUEZ
   267356 MARTINEZ                                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LILLIAM M RODRIGUEZ
   267357 RODRIGUEZ                                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697547 LILLIAM M. GALAN DIAZ                        VILLA OLIMPICA              586 CALLE BONDAD                                                                      RIO PIEDRAS         PR         00924
   267358 LILLIAM M. SANTOS ORTIZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267359 LILLIAM MALAVE TORRES                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   267360 LILLIAM MALDONADO CORDERO REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  697549 LILLIAM MALDONADO ORTIZ                      URB VILLA CRISTINA            F 3 CALLE 6                                                                             COAMO               PR           00769
  697550 LILLIAM MALDONADO PINEDA                     URB VISTA BELLA H‐1 CALLE 9                                                                                           BAYAMON             PR           00956
  697551 LILLIAM MALDONADO RIVERA                     URB LA HACIENDA               34 CALLE B                                                                              COMERIO             PR           00782
         LILLIAM MALDONADO
  697552 RODRIGUEZ                                    P O BOX 155                                                                                                           PENUELAS            PR           00624

   697553 LILLIAM MALDONADO TORRES                    TOA ALTA HGTS                 I 13 CALLE 2                                                                            TOA ALTA            PR           00953
          LILLIAM MANGUAL SOTO KEVIN
   267361 J. BAEZ MANGU                               REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   697554 LILLIAM MARCANO                             P O BOX 21365                                                                                                         SAN JUAN            PR           00926‐1365
          LILLIAM MARGARITA ROMAN
   267362 HERNANDEZ                                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   697555 LILLIAM MARTINEZ ICASIO                     BO ARENALES ABAJA             2993 CALLE ADORACION                                                                    ISABELA             PR           00662
   697556 LILLIAM MARTINEZ LOPEZ                      ARENALES BAJOS                BZN 21 108‐A                                                                            ISABELA             PR           00662
   697557 LILLIAM MARTINEZ RIVERA                     RIO LAJAS                     HC 80 BOX 8808                                                                          DORADO              PR           00646
   697559 LILLIAM MATOS ROMAN                         DOS PINOS TOWNHOUSES          A 18 CALLE TERUEL                                                                       SAN JUAN            PR           00907
   697560 LILLIAM MEDINA VELAZQUEZ                    BO MANSIONES I                CARR 183 KM 20                                                                          LAS PIEDRAS         PR           00771
   697561 LILLIAM MEKENDEZ RIVERA                     PARCELAS AMADEO               10 CALLE B 1                                                                            VEGA BAJA           PR           00693
   267364 LILLIAM MELENDEZ GUZMAN                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   697562 LILLIAM MENDEZ                              PO BOX 9021112                                                                                                        SAN JUAN            PR           00902‐1112
   697565 LILLIAM MENDOZA TORO                        URB ROOSEVELT                 376 AVE CESAR GONZALEZ                                                                  HATO REY            PR           00918

   697566 LILLIAM MERCADO CRUZ                        COND QUINTANA VALLE           112 CALLE ACUARELA BOX 128                                                              GUAYNABO            PR           00969

   267365 LILLIAM MERCADO GONZALEZ                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   697567 LILLIAM MERCADO HERNANDEZ                   P O BOX 7457                                                                                                          UTUADO              PR           00641
   697568 LILLIAM MERCADO PADILLA                     SAN ROMUALDO                  168 CALLE M                                                                             HORMIGUERO          PR           00660
   697569 LILLIAM MERCADO TORRES                      HC 2 BOX 29400                                                                                                        CAGUAS              PR           00725
   697570 LILLIAM MILAGROS ROSA                       52 URB MONTEMAR                                                                                                       AGUADA              PR           00602

   267366 LILLIAM MIRANDA RODRIGUEZ                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   267367 LILLIAM MOLINA ESTRELLA                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   697571 LILLIAM MONGE CABRERA                       BOX 43002 SUITE 340                                                                                                   RIO GRANDE          PR           00745
   697572 LILLIAM MONTALVO                            44 AVE BETANCES                                                                                                       PONCE               PR           00731
   267368 LILLIAM MONTES ROSARIO                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   267370 LILLIAM MORALES CHARLES                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   697573 LILLIAM MORALES CLASS                       313 CARR 864 HATO TEJAS                                                                                               BAYAMON             PR           00956
   267371 LILLIAM MORALES RIVERA                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   697577 LILLIAM MORENO CARLO                        URB RIO CRISTAL               834 JULIO BALAEZ                                                                        MAYAGUEZ            PR           00680‐1919

   267373 LILLIAM N MALDONADO ZAYAS                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   697578 LILLIAM N NAVEDO CLAUDIO                    URB IDAMARIS GARDENS          H 3 CALLE BENITO RODRIGUEZ                                                              CAGUAS              PR           00725
   697579 LILLIAM N OSORIO OSORIO                     URB BUCARE                    18 DIAMANTE                                                                             GUAYNABO            PR           00969
          LILLIAM N PEREZ RIVERA/EDGAR
   267374 HERNANDEZ                                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   697581 LILLIAM NAZARIO SOTO                        P O BOX 125                                                                                                           COAMO               PR           00769
   267375 LILLIAM NIEVES GONZALEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   267377 LILLIAM O. SANTIAGO REYES                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   267378 LILLIAM OJEDA ADRIAN                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   267379 LILLIAM OLIVENCIA SOJO                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   267380 LILLIAM ORTIZ COLON                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  267381 LILLIAM ORTIZ DELGADO                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697587 LILLIAM ORTIZ DIAZ                            BO SAN JOSE                    PARC 124‐A                                                                               TOA BAJA          PR         00949
  267382 LILLIAM ORTIZ GALARZA                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267383 LILLIAM ORTIZ GONZALEZ                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267384 LILLIAM ORTIZ MEDINA                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267385 LILLIAM ORTIZ OJEDA                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267386 LILLIAM ORTIZ SUAREZ                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697591 LILLIAM PANETO SOTO                           HC 37 BOX 6039                                                                                                          GUANICA           PR         00653
  697592 LILLIAM PEDRAZA OLMEDA                        HC 4 BOX 45682                                                                                                          CAGUAS            PR         00725‐9615
  697593 LILLIAM PEREZ                                 P O BOX 21365                                                                                                           SAN JUAN          PR         00926
  697594 LILLIAM PEREZ IRIZARRY                        163 PASAJE ARROYO                                                                                                       MAYAGUEZ          PR         00681
  697595 LILLIAM PEREZ MORALES                         HC 06 BOX 17513                                                                                                         SAN SEBASTIAN     PR         00685
  697596 LILLIAM PEREZ SANTANA                         URB SIERRA BAYAMON             13 CALLE 3                                                                               BAYAMON           PR         00961
  697597 LILLIAM PUJOLS GOMEZ                          VILLA KENNEDY                  EDIF 34 APT 521                                                                          SAN JUAN          PR         00915
  697598 LILLIAM QUILES MARIANI                        PO BOX 21742                                                                                                            SAN JUAN          PR         00931‐1742
  697599 LILLIAM QUILES ORAMA                          LAS MONJAS                     83 CALLE POPULAR                                                                         SAN JUAN          PR         00917
  267390 LILLIAM R PEREZ BERMUDEZ                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267391 LILLIAM R PINTADO SOSA                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697600 LILLIAM R RODRIGUEZ VELEZ                     53 COLL Y TOSTE                                                                                                         MAYAGUEZ          PR         00680
  267392 LILLIAM RAMOS LAGUNA                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                       RES. LAS CASAS EDIF 22 APTO
   697602 LILLIAM RAMOS ROMERO                         138                                                                                                                     SAN JUAN          PR         00915
   267394 LILLIAM RAMOS TRABAL                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267395 LILLIAM REYES NIEVES                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697603 LILLIAM RIOS CAMACHO                         URB VILLAS DEL CARMEN          BB 10 AVE CONSTANCIA                                                                     PONCE             PR         00731
   267396 LILLIAM RIOS CAMANO                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697604 LILLIAM RIOS DAVILA                          P O BOX 6645                   MARINA STATION                                                                           MAYAGUEZ          PR         00681 6645
   267397 LILLIAM RIOS SANTANA                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267398 LILLIAM RIVERA                               REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697606 LILLIAM RIVERA ALBINO                        PO BOX 560751                                                                                                           GUAYANILLA        PR         00656
   697608 LILLIAM RIVERA CALDERON                      URB MAGNOLIA GARDENS           L 7 CALLE 19                                                                             BAYAMON           PR         00956

   267399 LILLIAM RIVERA CARRASQUILLO                  REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697609 LILLIAM RIVERA COLON                         EXT VALLE ALTO                 1836 CALLE LLANURA                                                                       PONCE             PR         00730‐4144
   697610 LILLIAM RIVERA CONTRERAS                     PO BOX 34433                                                                                                            FORT BUCHANAN     PR         00934
                                                                                      EH 23 CALLE JOSE GAUTIER
   697611 LILLIAM RIVERA CRUZ                          6TA SECCION LEVITTOWN          BENITEZ                                                                                  TOA BAJA          PR         00949

   697614 LILLIAM RIVERA HERNANDEZ                     URB. JARDINES DEL CARIBE       B11 CALLE 2 JARD DEL CARIBE                                                              CAYEY             PR         00736
                                                                                      F21 CALLE ABETO URB LOMAS
   697615 LILLIAM RIVERA LAUREANO                      LOMAS VERDES                   VERDES                                                                                   BAYAMON           PR         00956
  1256636 LILLIAM RIVERA ORTEGA                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697616 LILLIAM RIVERA RABASSA                       ARECIBO GARDENS 65                                                                                                      ARECIBO           PR         00612
   267402 LILLIAM RIVERA RIVERA                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697618 LILLIAM RIVERA RODRIGUEZ                     URB LA TUNA                                                                                                             BARCELONETA       PR         00617
   267403 LILLIAM RIVERA ROMAN                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697619 LILLIAM RIVERA TROCHE                        PARCELA BETANCES               CARR 101 BZN 18                                                                          CABO ROJO         PR         00623

   697620 LILLIAM RIVERA TRUJILLO                      8757 VILLAS DE CIUDAD JARDIN                                                                                            CANOVANAS         PR         00729
   267404 LILLIAM RODRIGUEZ                            REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   267405 LILLIAM RODRIGUEZ AREIZAGA                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267406 LILLIAM RODRIGUEZ ARROYO                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  697622 LILLIAM RODRIGUEZ DIAZ                       BOX 456                                                                                                                 LAS PIEDRAS        PR           00771
         LILLIAM RODRIGUEZ
  697623 DOMINGUEZ                                    HC 2 BOX 16250                                                                                                          ARECIBO            PR           00612
         LILLIAM RODRIGUEZ
  697624 MALDONADO                                    HC 1 BOX 6805                                                                                                           GUAYANILLA         PR           00656

   267408 LILLIAM RODRIGUEZ MARTINEZ                  REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   267411 LILLIAM RODRIGUEZ PINA                      REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   697625 LILLIAM RODRIGUEZ PIZARRO                   URB EL PLANTIO                  A 144 CALLE MAJAGUA                                                                     TOA BAJA           PR           00949
   697626 LILLIAM RODRIGUEZ RAMOS                     BO BALDORIOTY                   6 CALLE A 1                                                                             PONCE              PR           00731
   267413 LILLIAM RODRIGUEZ RIVERA                    REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   697628 LILLIAM ROLDAN HERNANDEZ                    HC 2 BOX 20725                                                                                                          AGUADILLA          PR           00603
   267415 LILLIAM ROSARIO CAMACHO                     REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   697630 LILLIAM RUIZ RAMIREZ                        PMB B 30                        PO BOX 70158                                                                            SAN JUAN           PR           00936‐8158
   697632 LILLIAM S ROMAN ROLDAN                      URB BONNEVILLE HTS              38 CALLE AIBONITO                                                                       CAGUAS             PR           00725
   267416 LILLIAM SALAS SANTIAGO                      REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   697633 LILLIAM SANCHEZ MARCANO                     URB LAS ALONDRAS                E 5 CALLE 3                                                                             VILLALBA           PR           00766
   267417 LILLIAM SANCHEZ MONGE                       REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   697634 LILLIAM SANCHEZ ORTIZ                       C/O DIV CONCILIACION (00‐116)                                                                                           SAN JUAN           PR           00902‐4140
   267419 LILLIAM SANCHEZ RAMOS                       REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   697637 LILLIAM SANCHEZ SANCHEZ                     HC 01 BOX 5997                                                                                                          GUAYNABO           PR           00971
   267420 LILLIAM SANTANA BAEZ                        REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   697640 LILLIAM SANTANA CHEVERRE                    VILLAS DE LOIZA                 H 25 CALLE 5                                                                            CANOVANAS          PR           00729
   697641 LILLIAM SANTANA ROSARIO                     RES EL FLAMBOYAN                EDIF 3 APT 16                                                                           SAN JUAN           PR           00924
   697642 LILLIAM SANTIAGO RIVAS                      URB PALACIOS DEL RIO            BOX 531 L 10 CALLE BOTIJAS                                                              TOA ALTA           PR           00953
   267421 LILLIAM SANTOS BERRIOS                      REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   697643 LILLIAM SANTOS MARTINEZ                     RES VILLA ESPERANZA             EDIF 19 APT 277                                                                         SAN JUAN           PR           00926
   697644 LILLIAM SANTOS MENDOZA                      URB MORA 1145                   CALLE PADRE CAPUCHINO                                                                   SAN JUAN           PR           00925
   267422 LILLIAM SEGARRA IRIZARRY                    REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   267425 LILLIAM SNOW                                REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   697645 LILLIAM SOTO FERNANDEZ                      RIO LAJAS                       PARC 119‐D                                                                              DORADO             PR           00646
   267426 LILLIAM TAPIA SOLIS                         REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   267427 LILLIAM TORES MARIN                         REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   697647 LILLIAM TORRES                              HC 02 BOX 7071                                                                                                          ADJUNTAS           PR           00601
   697648 LILLIAM TORRES ALEMAN                       COND VISTA VERDE APT 112                                                                                                SAN JUAN           PR           00924
   697649 LILLIAM TORRES CRUZ                         URB BRISAS DEL PRADO            1840 C ALLE GAVIOTA                                                                     SANTA ISABEL       PR           00757

   697650 LILLIAM TORRES GONZALEZ                     JARDINES NUEVA PUERTA DE S J    15 CALLE SICILIA APTO 306                                                               SAN JUAN           PR           00923
   697651 LILLIAM TORRES IRIZARRY                     P O BOX 561282                                                                                                          GUAYANILLA         PR           00656
   267428 LILLIAM TORRES MARTORELL                    REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   267429 LILLIAM TORRES NATAL                        REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   697652 LILLIAM TORRES NEVAREZ                      PO BOX 1200                                                                                                             COROZAL            PR           00783
   697653 LILLIAM TORRES RAMOS                        BDA POLVORIN                    84 CALLE 15                                                                             CAYEY              PR           00736
   267432 LILLIAM TORRES VALENTIN                     REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
                                                                                      Q34 CALLE EMAJAGUA URB
   697655 LILLIAM V ALFONSO LOPEZ                     SANTA CLARA                     SANTA CLARA                                                                             GUAYNABO           PR           00969
   267433 LILLIAM V DIAZ ROSADO                       REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED
   697657 LILLIAM VALLE TORRES                        PO BOX 414                                                                                                              ARECIBO            PR           00612
   697659 LILLIAM VAZQUEZ                             CALL BOX 5005 PMB 004                                                                                                   YAUCO              PR           00698‐9615
   267434 LILLIAM VAZQUEZ CRUZ                        REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED     REDACTED       REDACTED

   697660 LILLIAM VAZQUEZ MALDONADO METADONA PONCE                                                                                                                            Hato Rey           PR           00936



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  267436 LILLIAM VELEZ VALLE                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   697663 LILLIAM VENTADEZ DIAZ                        CALLE GAUTIER BENITEZ ED 33   6TA SECCION LEVITTOWN                                                                   TOA BAJA            PR         00949
   697664 LILLIAM VIALIZ VELAZQUEZ                     URB DOS RIOS                  N 2 CALLE 12                                                                            TOA BAJA            PR         00949
   697665 LILLIAM VILARO TORRES                        1RA SECCION LEVITTOWN         1670 PASEO DORADO                                                                       TOA BAJA            PR         00949
   697666 LILLIAM VILLA MALAVE                         URB BELMONTE                  68 CALLE CORDOVA                                                                        MAYAGUEZ            PR         00680
   267437 LILLIAM VILLANUEVA ROSA                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697667 LILLIAM VILLEGAS MORALES                     PO BOX 377                                                                                                            NARANJITO           PR         00719
   697669 LILLIAM Y MALDONADO SOTO                     HC 3 BOX 14744                                                                                                        UTUADO              PR         00641
   697670 LILLIAM Y NAZARIO                            APARTADO 242                                                                                                          GUAYNABO            PR         00970
   267438 LILLIAN A. RIVERA GONZALEZ                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697671 LILLIAN ACEVEDO OCASIO                       COND EL JARDIN J7             10B AVE SAN PATRICIO                                                                    GUAYNABO            PR         00968‐4408
   697672 LILLIAN ALBITE VELEZ                         EL VEDADO                     422 BONAFOUX                                                                            SAN JUAN            PR         00918
   697674 LILLIAN ARIZMENDI VARGAS                     BDA ESPERANZA                 23 CALLE E                                                                              GUANICA             PR         00653
   697676 LILLIAN BATIZ CARTAGENA                      PLAYA PONCE                   47 CALLE ALFONSO XII                                                                    PONCE               PR         00716
   267439 LILLIAN BAYRON FERREIRA                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267441 LILLIAN BEANCOURT COLON                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697678 LILLIAN CARDONA GONZALEZ                     PO BOX 1219                                                                                                           MOCA                PR         00676
   267443 LILLIAN CEDENO CESTERO                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267444 LILLIAN COLON                                REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697679 LILLIAN COLON DIAZ                           ROLLING HILLS                 D 169 CALLE QUITO                                                                       CAROLINA            PR         00987
   267445 LILLIAN COLON TORRES                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697681 LILLIAN CRUZ CINTRON                         SANTA MONICA                  B 42 CALLE 2                                                                            BAYAMON             PR         00957
   697682 LILLIAN CRUZ LOPEZ                           P O BOX 845                                                                                                           CAROLINA            PR         00986

   267446 LILLIAN CRUZ Y MARIA D CRUZ                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697683 LILLIAN D MERCADO RIOS                       PMB 333 PO BOX 70250                                                                                                  SAN JUAN            PR         00936‐7250
   697684 LILLIAN D RABRI COLON                        BO CAIMITAL BAJO SOLAR 3      CARR 7748 KM 0.7                                                                        GUAYAMA             PR         00784

   267448 LILLIAN DE LOS SANTOS RAMOS                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   697686 LILLIAN DIAZ COLON                           URB VILLA SAN ANTON           G 12 CALLE FLORENTIN ROMAN                                                              CAROLINA            PR         00987
   697687 LILLIAN DIAZ MARTIR                          173 CALLE ROMAN                                                                                                       ISABELA             PR         00662
   267449 LILLIAN DIAZ PEREZ                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LILLIAN E ACEVEDO
   267450 MALDONADO                                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   697689 LILLIAN E BETANCOURT FLORES                  HC 0646 BOX 6321                                                                                                      TRUJILLO ALTO       PR         00976
   697690 LILLIAN E BEZARES GOMEZ                      URB CAGUAX                    F 23 CALLE NABORIA                                                                      CAGUAS              PR         00725
   267451 LILLIAN E CRUZ RODRIGUEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267452 LILLIAN E FALERO RIVERA                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697692 LILLIAN E RIVERA                             RR 4 BOX 17511                                                                                                        TOA ALTA            PR         00953
   697693 LILLIAN E RODRIGUEZ DIAZ                     P O BOX 19613                                                                                                         SAN JUAN            PR         00910‐1613
   267453 LILLIAN E TORRES MONTERO                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267455 LILLIAN EMMANUELLI SURO                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267457 LILLIAN FERNANDEZ LEON                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697694 LILLIAN FIGUEROA MORALES                     HC 764 BOX 6450                                                                                                       PATILLAS            PR         00723
   267458 LILLIAN FIGUEROA MUNOZ                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   697695 LILLIAN FIGUEROA RODRIGUEZ                   HC 2 BOX 6289                                                                                                         ADJUNTAS            PR         00601
   267459 LILLIAN FONSECA DE JESUS                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697697 LILLIAN GOMEZ VICENTE                        URB COUNTRY CLUB              MZ 28 CALLE 438                                                                         CAROLINA            PR         00982




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                                                      URB SANTA MARIA 1916 CALLE
   697698 LILLIAN GONZALEZ DE ARABIA                  PETUNIA                                                                                                              SAN JUAN            PR           00927
   267460 LILLIAN H PEREZ RODRIGUEZ                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697700 LILLIAN HERNANDEZ CAMPOS                    HC 04 BOX 4316                                                                                                       LAS PIEDRAS         PR           00771
   697701 LILLIAN HERNANDEZ REY                       JARDINES LA SIERRA           5 RAMON MEDINA                                                                          MOCA                PR           00676
   267461 LILLIAN I ORTIZ SANCHEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267466 LILLIAN I TAPIA ROLON                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697702 LILLIAN I TORRES RUIZ                       HC 8 BOX 51904                                                                                                       HATILLO             PR           00659
   697703 LILLIAN I VAZQUEZ                           PO BOX 160                                                                                                           AGUADA              PR           00607
   697704 LILLIAN IRIZARRY MARTINEZ                   URB LOS MAESTRO              454 TRINIDAD ORELLANA                                                                   SAN JUAN            PR           00923
          LILLIAN IVETTE GARCIA
   267467 GONZALEZ                                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267468 LILLIAN J GUZMAN GALARZA                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267469 LILLIAN J MORALES MARTINEZ                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697707 LILLIAN J RULLAN DIAZ                       PO BOX 296                                                                                                           VEGA ALTA           PR           00692
   267470 LILLIAN J. REYES VAZQUEZ                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697708 LILLIAN L OQUENDO CAMPOS                    COND PARQUE REAL APT 316                                                                                             GUAYNABO            PR           00969
   267471 LILLIAN L RAMOS CEDENO                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   108 CALLE JOSE ACEVEDO
   697709 LILLIAN L RAMOS SANCHEZ                     EL PRADO                     ALVAREZ                                                                                 AGUADILLA           PR           00603
   697710 LILLIAN LEBRON LEBRON                       JUNCAL CONTRACT STATION      P O BOX 2829                                                                            SAN SEBASTIAN       PR           00685
   267472 LILLIAN LEBRON RIVERA                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697711 LILLIAN LEWIS MARRACINO                     EL ESCORIAL                  S 5 8 CALLE 6                                                                           SAN JUAN            PR           00926

   697712 LILLIAN LOPEZ AVILES                        URB PONCE DE LEON            274 CALLE RAMOS ANTONINI E                                                              MAYAGUEZ            PR           00680
   267473 LILLIAN LOPEZ CONCEPCION                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697713 LILLIAN LOPEZ GONZALEZ                      PO BOX 188                                                                                                           COTTO LAUREL        PR           00780‐0188
   267474 LILLIAN M LARA                              REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697715 LILLIAN M PADRO REYES                       COND MONTE NORTE             531 A                                                                                   SAN JUAN            PR           00917
          LILLIAN M. HERNANDEZ
   267475 RODRIGUEZ                                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267476 LILLIAN MALDONADO PAGAN                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267477 LILLIAN MALDONADO RIVERA                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267478 LILLIAN MANNERS SANDS                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267479 LILLIAN MARIA MALDONADO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697717 LILLIAN MARTI DIAZ                          URB VILLAS DE CASTRO         F 12 CALLE 4                                                                            CAGUAS              PR           00725
          LILLIAN MARTINEZ
   697718 DEV.CONSULTAN                               108 CALLE MAYAGUEZ                                                                                                   SAN JUAN            PR           00917
                                                      URB MARTORELL D‐15 J T
   697719 LILLIAN MARTINEZ PETERSON                   PINERO                       EA‐19 CALLE TILO                                                                        DORADO                           00646
   267480 LILLIAN MELENDEZ ROMAN                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267481 LILLIAN MENDEZ SANCHEZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267482 LILLIAN MENDOZA ACEVEDO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LILLIAN MERARY CANDELARIO
   267483 DELGADO                                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   267484 LILLIAN MERCADO SANTIAGO                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697720 LILLIAN MIRANDA VELAZQUEZ                   JARDINES DEL CARIBE          ZZ 12 CALLE 53                                                                          PONCE               PR           00728‐2662
   697721 LILLIAN MOLINA ROSADO                       HC 01 BOX 6300                                                                                                       CANOVANAS           PR           00729
   697723 LILLIAN MORALES RIVERA                      TOAVILLE                     20 CALLE MARTE BOX 241                                                                  TOA BAJA            PR           00949
   267486 LILLIAN MUNIZ VALERA                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   697724 LILLIAN N ROMAN VAZQUEZ                     CLAUSELL                     37 CALLE 5                                                                              PONCE               PR           00731
          LILLIAN NEGRON & ANA
   267488 DOMINGUEZ                                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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MML ID                NAME                                       ADDRESS 1                      ADDRESS 2              ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  267489 LILLIAN NIEVES CRUZ                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  267490 LILLIAN OCASIO RIOS                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  267491 LILLIAN ORTIZ                                 REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  697726 LILLIAN OYOLA DEL VALLE                       PO BOX 556                                                                                                      HUMACAO             PR         00792
  697727 LILLIAN PARRILLA DAVILA                       URB ROSIVELLEI              462 CALLE BARCELONA                                                                 CEIBA               PR         00735
  697728 LILLIAN PEREZ CRUZ                            RR 1 BOX 14597                                                                                                  MANATI              PR         00674
  267496 LILLIAN PEREZ RODRIGUEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  267497 LILLIAN PINTADO SOSA                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  267498 LILLIAN QUINTANA MUNIZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  697729 LILLIAN RAMIREZ VELEZ                         RES MANUEL A PEREZ          EDIF D 24 APT 269                                                                   SAN JUAN            PR         00923
  267499 LILLIAN RAMOS BAHAMUNDI                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  267500 LILLIAN RAMOS PEREZ                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  267501 LILLIAN REYES QUINONES                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         LILLIAN RIOS PEREZ / DEPTO DE
  267502 LA FAMILIA                                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  267503 LILLIAN RIOS REYES                            REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  267504 LILLIAN RIVERA DE GONZALEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   697731 LILLIAN RIVERA MENDEZ                        49 CALLE FLORENCIO SANTIAGO                                                                                     COAMO               PR         00769
   697732 LILLIAN RIVERA RIVERA                        URB VALLE VERDE             70 CALLE 6                                                                          FAJARDO             PR         00738

   697733 LILLIAN RODRIGUEZ MIRANDA                    URB TOA ALTA HEIGHTS        Q 37 CALLE 21                                                                       TOA ALTA            PR         00953
   267505 LILLIAN RODRIGUEZ RIVERA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697736 LILLIAN ROIG FLORES                          URB MILAVILLE               80 CALLE MAMEY                                                                      SAN JUAN            PR         00926
   267506 LILLIAN ROSADO ROCHE                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697738 LILLIAN ROSADO ROSADO                        URB EL TORITO               A‐14 CALLE 2                                                                        CAYEY               PR         00734
   267507 LILLIAN RUIZ VEGA                            REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267508 LILLIAN S SULLIVAN SOTO                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267509 LILLIAN SALVA RIVERA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267510 LILLIAN SANCHEZ PEREZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267511 LILLIAN SANTIAGO BATTISTINI                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267512 LILLIAN SANTIAGO CORDOBA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267513 LILLIAN SANTOS MENDOZA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697740 LILLIAN SANTOS MONTES                        VILLA DEL CARMEN            775 CALLE SICILIA                                                                   PONCE               PR         00716‐2119
   267514 LILLIAN SOTO CORDERO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267516 LILLIAN SOTO MARENGO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697741 LILLIAN SOTO RUIZ                            URB TINTILLO GDNS           B 37 CALLE 2                                                                        GUAYNABO            PR         00966
   697742 LILLIAN STUART CRESPO                        116 B RES LAS BRISAS                                                                                            JAYUYA              PR         00664
   267517 LILLIAN T COLLAZO                            REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697743 LILLIAN T DE LA CRUZ TORRES                  PO BOX 364966                                                                                                   SAN JUAN            PR         00936‐4966
   267518 LILLIAN T ORAMA QUINONES                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697745 LILLIAN TERESA AZIZE                         PO BOX 20083                                                                                                    SAN JUAN            PR         00928
   267519 LILLIAN TIRADO GALINDEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697747 LILLIAN TORRES FIGUEROA                      COND RIVER PARK             APT 205 EDIF 1                                                                      BAYAMON             PR         00961‐8636
   267520 LILLIAN TORRES LUGO                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697748 LILLIAN TORRES MALDONADO                     P M B 280                   P O BOX 144035                                                                      ARECIBO             PR         00614
   267521 LILLIAN TORRES MONTERO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697749 LILLIAN TORRES OQUENDO                       P O BOX 2254                                                                                                    JUNCOS              PR         00777‐2254
   697751 LILLIAN VARELA DE RULLAN                     ESTANCIAS DE YAUCO          K 19 TURQUESA                                                                       YAUCO               PR         00698
   697752 LILLIAN VARGAS BORALI                        PO BOX 9022917                                                                                                  SAN JUAN            PR         00902 2917
   267523 LILLIAN VAZQUEZ MUNIZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697754 LILLIAN VELEZ CASTRO                         HACIENDAS DE CANOVANAS      CALLE PELICANO BOX 604                                                              CANOVANAS           PR         00729
   267524 LILLIAN VENTURA FOX                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  697755 LILLIAN VERTICALS                             SANTA JUANITA               H 12 CALLE VISALIAS                                                              BAYAMON           PR         00956
  267525 LILLIAN YERA SANTIAGO                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697758 LILLIANA A CHAVARRY RIVERA                    59 QUINTANA DULCES LABIOS                                                                                    MAYAGUEZ          PR         00680
  267526 LILLIANA B PEREZ PAULINO                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697759 LILLIANA E ALFONZO AGOSTO                     603 AVE MIRAMAR                                                                                              ARECIBO           PR         00612
  267527 LILLIANA E ARCE ESCOBAR                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267528 LILLIANA FRANCO RIVERA                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697765 LILLIANA LOPEZ TROCHE                         HC 3 BOX 12595                                                                                               CAROLINA          PR         00987

   697766 LILLIANA M DE JESUS MORALES                  HILL BROTHER NORTE          CALLE 15 41                                                                      SAN JUAN          PR         00924
   697767 LILLIANA M JIMENEZ RIVERA                    HC 1 BOX 2121                                                                                                BARRANQUITAS      PR         00794
   267530 LILLIANA MANSO ALVAREZ                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LILLIANA MARIE PEREZ
   267531 HERNANDEZ                                    REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697768 LILLIANA MARINA SOSA                         BIEL 251 1ER PISO D                                                                                          BUENOS AIRES      AR         1424         ARGENTINA
   697769 LILLIANA MARRERO RIVERA                      BOX 527                                                                                                      AIBONITO          PR         00705
   697770 LILLIANA MARTINEZ RAMOS                      URB SANTA TERESITA          AZ 8 CALLE 39                                                                    BAYAMON           PR         00961
   697771 LILLIANA MILLER                              HC 01 BOX 7656                                                                                               CANOVANAS         PR         00729
   697757 LILLIANA MORALES CANCEL                      URB LA MONSERRATE           K 10 CALLE 3                                                                     HORMIGUEROS       PR         00660

   267532 LILLIANA MORALES RODRIGUEZ                   REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LILLIANA MORELL Y
   697772 BERGANTINOS                                  2140 AVE LAS AMERICAS                                                                                        PONCE             PR         00717‐0750
   697773 LILLIANA PEREZ SANTOS                        EXT. SAN LUIS               20 CALLE ATENAS                                                                  AIBONITO          PR         00705
   697774 LILLIANA RAMOS COLLADO                       URB VALPARAISO              E 24 CALLE 10                                                                    TOA BAJA          PR         00949
   267533 LILLIANA RIOS MATOS                          REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   697776 LILLIANA RIVERA CINTRON                      BO NUEVO 1 SECTOR LOS SOSTRE                                                                                 NARANJITO         PR         00719‐9626
   267534 LILLIANA RODRIGUEZ DIAZ                      REDACTED                     REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267535 LILLIANA VILLANUEVA GARCIA                   REDACTED                     REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267536 LILLIANE M PILLOT RIVERA                     REDACTED                     REDACTED             REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697779 LILLIANETTE RIOS                             P O BOX 546                                                                                                  ADJUNTAS          PR         00601
          LILLIBELL M GONZALEZ
   267538 MONTERO                                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267539 LILLIBET FEBRES RODRIGUEZ                    REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267540 LILLIBETH ARROYO MERCADO                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697782 LILLIBETH CORREA GOMEZ                       314 RENWICK AVE                                                                                              SYRACUSE          NY         0013210
   267541 LILLIBETH GARAY MARTINEZ                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267542 LILLIBETH LOPEZ TROCHE                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697783 LILLIBETH MARTINEZ CHANG                     HC 67 BOX 15637                                                                                              BAYAMON           PR         00956‐9518
   697784 LILLIBETH MERCUCCI ORTIZ                     URB COSTA SUR               G E 76                                                                           YAUCO             PR         00698
   697785 LILLIBETH RIVERA COLON                       VISTA DEL RIO               345 BOX 1258                                                                     TRUJILLO ALTO     PR         00976
   697786 LILLIBETH RIVERA RIVERA                      URB VILLA VICTORIA          Q24 CALLE 11                                                                     CAGUAS            PR         00725

   697787 LILLIBETH RODRIGUEZ COLON                    A 2 URB JARD DEL CARIBE                                                                                      CAYEY             PR         00736
   697788 LILLIBETTE MIRANDA RIVERA                    RODRIGUEZ OLMO              26 CALLE J                                                                       ARECIBO           PR         00612
   697789 LILLIE A COLON MIRANDA                       HC 02 BOX 3954                                                                                               PENUELAS          PR         00624

   697790 LILLIE IVETTE RIVERA MELENDEZ                URB MONTE VISTA             C/ 27 C/2                                                                        FAJARDO           PR         00738
   267543 LILLIE M RODRIGUEZ CLAVELL                   REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267544 LILLIIAM ORTIZ GONZALEZ                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267545 LILLINETTE GARCIA RIOS                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267546 LILLINETTE QUINONES                          REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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MML ID                 NAME                        ADDRESS 1                                 ADDRESS 2                      ADDRESS 3                           ADDRESS 4              CITY       STATE    POSTAL CODE        COUNTRY
          LILLIVETTE PEREIRA/J A RIVERA &
   697791 ASSOC                           URB PARKVILLE                         V 13 CALLE HARDING                                                                          GUAYNABO            PR         00969‐3918
   267548 LILLIVETTE PEREZ CHEVERE        REDACTED                              REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

  1420202 LILLO RENTA, IRMA M.                        NORBERTO COLON ALVARADO   46 CALLE CASTILLO                                                                           PONCE               PR         00730
   267551 LILLY A CABAN                               REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   267552 LILLY A FLECHA MOLINA                       REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   697792 LILLY A SANCHEZ VAZQUEZ                     HC 05 BOX 57790                                                                                                       CAGUAS              PR         00725
   267553 LILLY BELL OLIVO RIVERA                     REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   267554 LILLY DEL CARIBE                            PO BOX 1198                                                                                                           CAROLINA            PR         00986 1198
   267555 LILLY DEL CARIBE INC                        P O BOX 10000                                                                                                         GUAYAMA             PR         00785
   267557 LILLY GONZALEZ GONZALEZ                     REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   267558 LILLY I FIGUEROA DIAZ                       REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   697794 LILLY I HERRERA CARRASQUILLO                COND PARK VIEW TERRACE    EDIF G 9 APTO 603 LOIZA VALLEY                                                              CANOVANAS           PR         00729
   697795 LILLY J DIAZ PHI                            7 CALLE PERAL                                                                                                         MAYAGUEZ            PR         00680
   697796 LILLY KITCHEN                               PMB 170                   8 AVE ESMERALDA                                                                             GUAYNABO            PR         00969‐4429
   267559 LILLY MERCADO MERCADO                       REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   697797 LILLY MIRANDA VEGA                          HC 1 BOX 6681                                                                                                         CIALES              PR         00638
   267560 LILLY ORONOZ RODRIGUEZ                      REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   697798 LILLYBETH AMARO AMARO                       URB SANTA ELVIRA          L 20 CALLE SANTA INES                                                                       CAGUAS              PR         00725
   267561 LILLYBETH CAQUIAS CRUZ                      REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          LILLYBETH FIGUEROA
   697800 FERNANDEZ                                   URB PARKVILLE SUR         E 1 CALLE GARFIELD                                                                          GUAYNABO            PR         00969
   697801 LILLYBETH GARAY MARTINEZ                    URB PARQUE DEL MONTE II   CC 24 CALLE JUMACAO                                                                         CAGUAS              PR         00727
   267562 LILLYBETH PACHECO ZAYAS                     REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   697804 LILLYBETH VIERA VIERA                       556 CALLE VIERA                                                                                                       QUEBRADILLAS        PR         00678
          LILLYBETH Z. LOPEZ
   267563 MALDONADO                                   REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   267564 LILLYBETTE AMARO AMARO                      REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   697806 LILLYVETTE MONTALVO                         URB MARBELLA              212 CALLE E                                                                                 AGUADILLA           PR         00603
   267566 LILMARIE FERRER RODRIGUEZ                   REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   697807 LILO J VARGAS                               JARD DE CONDADO MODERNO   APT C 17 B                                                                                  CAGUAS              PR         00725
   267567 LILY A NARVAEZ MARTINEZ                     REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   267568 LILY B GUZMAN BOSCH                         REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   267569 LILY B. GUZMAN BOSCH                        REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   697809 LILY BETH ACOSTA RIVERA                     HC 01 BOX 28919                                                                                                       CABO ROJO           PR         00623‐9728
   267570 LILY CASTRO MARTINEZ                        REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   697810 LILY GARCIA                                 COND LA PUNTILLA          EDIF D2 APT 46                                                                              SAN JUAN            PR         00901
   697811 LILY I FELICIANO FELICIANO                  URB LA QUINTA             M 35 CALLE 12                                                                               YAUCO               PR         00698
   267571 LILY I RAMIREZ RAMOS                        REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   267572 LILY IVETTE AVILES RUIZ                     REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   697813 LILY JIMENEZ MARTINEZ                       URB SANTA TERESITA 2301   CALLE SOLDADO CRUZ                                                                          SAN JUAN            PR         00913
   267573 LILY JOA VALDEZ                             REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   267574 LILY M RIEFKOHL ORTIZ                       REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   267575 LILY RIVERA ROSADO                          REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   697815 LILYANA VELEZ FERNANDEZ                     URB BALDRICH              209 CALLE DR STAHL                                                                          SAN JUAN            PR         00918
   697817 LILYBELL REYES ZAYAS                        BOX 532                                                                                                               SANTA ISABEL        PR         00757
          LILYBETH CANDELARIA
   267576 RODRIGUEZ                                   REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   697819 LILYBETH FONSECA ERAZO                      RR 1 BOX 10197                                                                                                        TOA ALTA            PR         00953
   267577 LILYBETH GONZALEZ VIERA                     REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  697820 LILYBETH M PAGAN MORALES                     SANTA CECILIA                1 AVE ESPIRITU SANTO                                                               CAGUAS              PR           00725
  697822 LILYBETH SOSA COTTO                          RR 9 BOX 1620                CUPEY ALTO                                                                         SAN JUAN            PR           00926‐9740
  697823 LILYBETH SOTO REYES                          HC 8 BOX 50407                                                                                                  HATILLO             PR           00659

   697824 LILYBETH VELEZ VELEZ                        BO MONTE GRANDE BUZON 501                                                                                       CABO ROJO           PR           00623
   267579 LILYBETTE CAMACHO SAEZ                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   267581 LILYMARIE MARIN RAMOS                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   267582 LILYNETTE HERNANDEZ RAMIREZ REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   697825 LILYS FLOWER SHOP           PO BOX 9024275                                                                                                                  SAN JUAN            PR           00902‐4275
   697827 LILYVETTE ROMAN HIDALGO     EXT EL COMANDANTE                            382 CALLE SAN CARLOS                                                               CAROLINA            PR           00982
   267602 LIMA QUIÑONEZ MD, JOSE T    REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LIMADI CONSTRUCTION &
   697828 MAINTENANCE INC             PMB 065                                      PO BOX 4952                                                                        CAGUAS              PR           00725
   267609 LIMAEL E RODRIGUEZ VEGA     REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   267610 LIMAEL RODRIGUEZ VEGA       REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   267611 LIMARDO DEFENDINI MD, ABNER REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   697829 LIMARI ALVAREZ NIEVES       URB EMBALSE SAN JOSE                         362 CALLE ALMAGRO                                                                  SAN JUAN            PR           00923
   697830 LIMARI COBIAN LUGO          ESTANCIAS DEL GOLF CLUB                      BOX 663                                                                            PONCE               PR           00731
   267622 LIMARI R COLON MEDINA       REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   697831 LIMARI SANTIAGO RIVERA      HC 91 BOX 9197                                                                                                                  VEGA BAJA           PR           00699607
   267623 LIMARI VELEZ DELGADO        REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   697832 LIMARIE AVILES GOMEZ        P O BOX 1097                                                                                                                    CANOVANAS           PR           00729
   697833 LIMARIE COLLS COLON         SABANA GARDENS                               9‐9 CALLE 12                                                                       CAROLINA            PR           00983
   697834 LIMARIE COLON RIVERA        BOX 613                                                                                                                         CIDRA               PR           00739

   697836 LIMARIE GALARZA ESCOBAR                     COND VILLA MAGNA APTO 1502                                                                                      SAN JUAN            PR           00921
   267625 LIMARIE GONZALEZ RIVERA                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   267626 LIMARIE J REYES TORRES                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   697837 LIMARIE JIMENEZ LOPEZ                       LAKEVIEW ESTATES             AVE 4000 SUITE 64                                                                  CAGUAS              PR           00725
   267627 LIMARIE JIMENEZ ROSARIO                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   267628 LIMARIE LLERA BOTET                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   697838 LIMARIE LOPEZ VEGA                          HILL BROTHER                 390 CALLE 11                                                                       SAN JUAN            PR           00926
   267629 LIMARIE MARTINEZ RIVERA                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   267630 LIMARIE MARTINEZ RUIZ                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   267631 LIMARIE NIEVES ROSADO                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   267632 LIMARIE RIVERA GULLON                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   267633 LIMARIE RODRIGUEZ CORREA                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   267634 LIMARIE RODRIGUEZ FIGUEROA                  REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   267635 LIMARIE TORRES TORRES                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   697839 LIMARIE VEGA VELEZ                          URB ARROYO VILLAGE           D 7 CALLE 3                                                                        ARROYO              PR           00714
   697840 LIMARIEL COLON ROSADO                       PO BOX 189                                                                                                      AIBONITO            PR           00705
   697841 LIMARIS BEZARES                             PO BOX 94                                                                                                       SAN LORENZO         PR           00754
   267636 LIMARIS BRIGNONI MARERO                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   697842 LIMARIS CRUZ CANDELARIO                     816 3951 AVE MIRAMAR 705                                                                                        ARECIBO             PR           00612
   267637 LIMARIS DIAZ SANTANA                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   267639 LIMARIS FELICIANO TARAFA                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   697843 LIMARIS GOMEZ DIAZ                          URB JARD DEL CARIBE          EE 25 CALLE 30                                                                     PONCE               PR           00731
   697845 LIMARIS HERNANDEZ ORTIZ                     URB LAS DELICIAS             977 AVE PONCE DE LEON                                                              PONCE               PR           00728
   697846 LIMARIS MARREROS CRUZ                       139 CALLE ZUMBADOR           BO. CUCHICHAS                                                                      MOROVIS             PR           00687
   267640 LIMARIS ORTIZ CRUZ                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  697848 LIMARIS PACHECO AYALA                        URB MONTE REY           D 10 CALLE 3                                                                       COROZAL             PR         00783
  267641 LIMARIS REYES MIRANDA                        REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  697849 LIMARIS RODRIGUEZ BENABE                     HC 2 BOX 6582                                                                                              LUQUILLO            PR         00773
  267642 LIMARIS ROMAN TORRES                         REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  267643 LIMARIS RUSSE GOMEZ                          REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  697850 LIMARIS SANCHEZ DIAZ                         URB MONTE SOL           D 22 CALLE 3                                                                       TOA ALTA            PR         00953
  697851 LIMARIS SOTO AQUINO                          1006 FONTANA TOWERS                                                                                        CAROLINA            PR         00982
  267644 LIMARIS SOTO ROBLES                          REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  267645 LIMARIS TORRES QUI¥ONES                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  697852 LIMARIS VARGAS VARGAS                        HC 03 BOX 19940                                                                                            LAJAS               PR         00667
  267646 LIMARIS Z. GOMEZ AYALA                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  697853 LIMARY BORGES COLON                          PO BOX 3000 SUITE 217                                                                                      COAMO               PR         00769
  267647 LIMARY GUZMAN PENA                           REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  267648 LIMARY J CRUZ MARTINEZ                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  267649 LIMARY J RIVERA SANTANA                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   267651 LIMARY L. MELENDEZ ALMESTICA REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267653 LIMARY MARTINEZ FELICIANO    REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267654 LIMARY MERCADO ROMAN         REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267655 LIMARY ORTIZ MERCADO         REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   267656 LIMARY ORTIZ Y MANUEL ORTIZ                 REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697855 LIMARY PAGAN SEDA                           PO BOX 56                                                                                                  CABO ROJO           PR         00623‐0056
          LIMARY PASTRANA GOMEZ /
   697856 CLUBS 3‐4 INC                               SABANA GARDENS          16‐8 CALLE 24                                                                      CAROLINA            PR         00983
   697857 LIMARY PEREZ GARCIA                         VILLAS DE CANEY         B 1 CALLE ARACIBO                                                                  TRUJILLO ALTO       PR         00976
   697858 LIMARY RIOS CAMACHO                         PO BOX 9328                                                                                                CAGUAS              PR         00726‐9328

   267657 LIMARY RODRIGUEZ GONZALEZ                   REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267662 LIMARY VAZQUEZ ALSINA                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267663 LIMARY VELEZ MARRERO                        REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267664 LIMARYS BERNARD ROMERO                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267666 LIMARYS LUGO PAGAN                          REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267667 LIMARYS MEDERO RIVERA                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   267668 LIMARYS RODIRGUEZ MONTERO REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   267669 LIMARYS RODRIGUEZ GUERRERO REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267670 LIMARYS ROMERO MEDINA      REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697863 LIMARYS VARGAS RIERA       HC 4 BOX 17227                                                                                                              CAMUY               PR         00627
   697864 LIMERRY E PEREZ TORRES     25 CALLE JIMENEZ                                                                                                            CAGUAS              PR         00725
   267685 LIMETTE SANABRIA REYES     REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267686 LIMETZIE M DIAZ ACOSTA     REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                     TAX DEPARTMENT THREE
   267687 LIMITED BRANDS INC         LIMITED                                  PARKWAY PO BOX 182787                                                              COLUMBUS            OH         43218
   697865 LIMON AUTO BODY            HC 05 BOX 11330                                                                                                             COROZAL             PR         00783
   697866 LIN AUTO BODY PARTS        HC‐02 BOX 6204                                                                                                              LARES               PR         00669
   267689 LINA A. DESANCTIS MORALES  REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267690 LINA ACOSTA LEON           REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   267691 LINA AGUAYO COLON          REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697867 LINA ARROYO VAZQUEZ        P O BOX 1184                                                                                                                AVON PARK           FL         33825
   267692 LINA B. RODRIGUEZ ROSARIO  REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   697868 LINA CANDELARIA CARDONA    BO JARILITO                              255 CALLE 2                                                                        ARECIBO             PR         00612



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  697869 LINA D ALCAZAR RIVERO                        ALTURAS DE TORRMAR        13‐6 AVE SANTA ANA                                                                        GUAYNABO          PR         00969‐3206
  697870 LINA F COLON HERNANDEZ                       URB COLLEGE PARK          1770 CALLE ALCALA                                                                         SAN JUAN          PR         00921
  697871 LINA GONZALEZ RODRIGUEZ                      URB VILLAS DEL REY        EE5 CALLE 13                                                                              CAGUAS            PR         00725‐6833
  267695 LINA I RIVERA RODRIGUEZ                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267697 LINA L DIAZ MARRERO                          REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267699 LINA M AGOSTINI VELAZQUEZ                    REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697874 LINA M FLORES ROMAN                          PO BOX 10484                                                                                                        PONCE             PR         00732‐0484
  267700 LINA M JIMENEZ RIAZA                         REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267702 LINA M MARTINEZ CUELLO                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267703 LINA M ORTIZ MORENA                          REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267704 LINA M SEDA OLIVERAS                         REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697875 LINA M TANGARIFE PUERTA                      JARD DEL CARIBE           4963 CALLE PELTADA                                                                        PONCE             PR         00728‐3524
  697876 LINA M TORRES RIVERA                         URB ROOSEVELT             469 CALLE ANTOLIN NIN                                                                     SAN JUAN          PR         00918
  267705 LINA M. NIEVES GONZALEZ                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697877 LINA PONTANI MESTRE                          GARDEN HILLS ESTATES      22 CALLE 4                                                                                GUAYNABO          PR         00966
  267708 LINA URSULA PAYERA                           REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         LINA VIERA Y JUAN A GUZMAN
  267709 MORALES                                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697878 LINAKAY CLEANERS                             P O BOX 1544                                                                                                        SAN JUAN          PR         00919
  267710 LINAMARI RUIZ RIVERA                         REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697879 LINARDO E BAEZ RUIZ                          URB ANA LUISA             F 3 CALLE 1                                                                               CAYEY             PR         00736

   267725 LINARES CASTRO MD, MAXIMINO REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   267793 LINARES RAMOS, MAGDALENA REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267822 LINARIS MOLINA LOPEZ         REDACTED                                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267823 LINARIS SOTO VAZQUEZ         REDACTED                                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697880 LINAROSANA DE JESUS          LAS MONJAS                               128 CALLE 4                                                                               SAN JUAN          PR         00917
          LINAVIS CATERING Y/O
   697881 WILFREDO CARDONA             13 JOSE QUINTON                                                                                                                    COAMO             PR         00769
   267824 LINCH MD, CARMEN             REDACTED                                 REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267825 LINCOLN HEALTH CENTER        573 W LINCOLN AVE                                                                                                                  MILWAUKEE         WI         53207
          LINCOLN HERITAGE LIFE
   697882 INSURANCE COMPANY            4343 E CAMELBACK RD STE                                                                                                            PHOENIX           AZ         85018
          LINCOLN LIFE & ANN CO OF NEW 100 NORTH GREEN CORP TAX ‐
   267826 YORK                         MC                                                               4950                                                              GREENSBORO        NC         27401
          LINCOLN MANUEL MANANA
   267827 RAMIREZ                      621 CALLE DEL PARQUE 2A                                                                                                            SAN JUAN          PR         00909
          LINCOLN MEDICAL AND MENTAL
   267829 HEALTH CENTER                PO BOX 19058                                                                                                                       GREEN BAY         WI         54307 9058
          LINCOLN MEDICAL AND MENTAL
   267830 HEALTH SERVICES              PO BOX 19072                                                                                                                       GREEN BY          WI         54307‐9072
   267831 LINCOLN MEDICAL CENTER       PO BOX 19072                                                                                                                       GREEN BAY         WI         54307‐9072

   697883 LINCOLN NATIONAL LIFE INS CO                PO BOX 7807                                                                                                         FORTWAYNE         IN         46801
   697884 LINCOLN PROPERTY CORP                       PO BOX 741                                                                                                          SAN JUAN          PR         00952

   697885 LINCOLN RAMPERSAD CABRERA                   HC 01 BOX 2820                                                                                                      MOROVIS           PR         00687
          LINCOLN ROAD PRODUCTIONS,
   267832 INC                                         PO BOX 40561                                                                                                        SAN JUAN          PR         00940
   697886 LIND MERLE FELICIANO                        17 B CALLE PEDRO VARGAS                                                                                             GUANICA           PR         00653‐2602
   267882 LINDA A ORTIZ ALICEA                        REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267883 LINDA A RIVERA ECHEVARRIA                   REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  697888 LINDA A SILVERIO PONCE                       153 AVE LAMELA                                                                                                         ISABELA            PR         00662
  267884 LINDA A. LEON COLON                          REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  267887 LINDA ALICEA FLYNN                           REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  697890 LINDA ALICEA FYNN                            AVE PONCE DE LEON            PDA 19                                                                                    SAN JUAN           PR         00936
  697892 LINDA AVILES MALDONADO                       268 BRISAS DEL CARIBE                                                                                                  PONCE              PR         00728‐5313
  697893 LINDA AYALA BOUSSON                          COND COSTA MARINA I          APT CFG                                                                                   CAROLINA           PR         00983
  267888 LINDA B LUGO SEGARRA                         REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  697894 LINDA C GONZALEZ SANTOS                      RR‐01 BOX 3091                                                                                                         CIDRA              PR         00739
  697895 LINDA C MARRERO CORREA                       RES SAN JUAN BAUTISTA        APT 38 B                                                                                  SAN JUAN           PR         00909
  697896 LINDA C REYES GONZALEZ                       RES JUANA MATOS              EDIF 63 APTO 615                                                                          CATANO             PR         00962
  697897 LINDA CAMACHO PACHECO                        45 URB BAHIA                                                                                                           GUANICA            PR         00653
  267889 LINDA CARLO PADILLA                          REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  267890 LINDA CENTENO SOTO                           REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  267891 LINDA CLARK MORA                             REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  267892 LINDA COLON REYES                            REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  267893 LINDA COSME RODRIGUEZ                        REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  697900 LINDA D CAMACHO MORALES                      HC 01 BOX 4887                                                                                                         LAJAS              PR         00667
  697901 LINDA D ZAMORA                               BAYAMON GARDENS              JJ 21 C/ ANTHONY                                                                          BAYAMON            PR         00957
  697902 LINDA DARLING HAMMOND                        525 W 120TH ST                                                                                                         NEW YORK           NY         10027
  697903 LINDA DIAZ RIVERA                            PO BOX 191793                                                                                                          SAN JUAN           PR         00919
  697904 LINDA DUMONT                                 SIERRA BAYAMON               70 12 CALLE 45                                                                            BAYAMON            PR         00961
  267894 LINDA E ALIER VAZQUEZ                        REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  267895 LINDA E MERCADO ROSA                         REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  697905 LINDA E MURPHY ROLDAN                        136 CALLE HARRISON                                                                                                     AGUADILLA          PR         00605
  697908 LINDA E ROMAN MERCADO                        BO LLANOS                    HC 2 BOX 11807                                                                            LAJAS              PR         00667
  697909 LINDA ESPINOSA VAZQUEZ                       BDA SANDIN                   40 AVE SATURNO                                                                            VEGA BAJA          PR         00693
  267896 LINDA FRANCO COLON                           REDACTED                     REDACTED                        REDACTED                           REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                                                   E9 CALL VL FLRS URB LOS FRAILES
   697910 LINDA G GONZALEZ BERRIOS                    LOS FRAILES                  SUR                                                                                       GUAYNABO           PR         00969
   267897 LINDA G ORTIZ GALARZA                       REDACTED                     REDACTED                        REDACTED                           REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   267898 LINDA GONZALEZ                              REDACTED                     REDACTED                        REDACTED                           REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   267899 LINDA GONZALEZ ANDERSON                     REDACTED                     REDACTED                        REDACTED                           REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   267900 LINDA H TOLEDO PAGAN                        REDACTED                     REDACTED                        REDACTED                           REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   697912 LINDA HO LEE                                CARIBBEAN TOWER 311          670 PONCE DE LEON                                                                         SAN JUAN           PR         00907
                                                      5 BALCONES DE MONTE REAL
   697914 LINDA I ALERS                               APT 4001                                                                                                               CAROLINA           PR         00987
   697915 LINDA I CINTRON RODRIGUEZ                   URB BONILLA NUM 2                                                                                                      CABO ROJO          PR         00623‐3111
   697916 LINDA I GONZALEZ NAZARIO                    RR 474 BOX 54                                                                                                          ISABELA            PR         00662
   267902 LINDA I GONZALEZ VELEZ                      REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   697917 LINDA I MOJICA MEJIAS                       1956 CALLE JOSE H CORA                                                                                                 SAN JUAN           PR         00909 3906
   267903 LINDA I NARVAEZ SANTIAGO                    REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   697918 LINDA I RAMIREZ SANTOS                      URB BELLA VISTA GARDENS      L28 CALLE 15                                                                              BAYAMON            PR         00957
   267904 LINDA I RODRIGUEZ RAMOS                     REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   697919 LINDA I SANTIAGO TORRES                     URB JOSE I QUINTON                                                                                                     COAMO              PR         00769
   697920 LINDA I SOLER SANTANA                       PO BOX 1435                                                                                                            YABUCOA            PR         00767

   267905 LINDA I. MALDONADO TORRES                   REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   267906 LINDA IVELISSE VELEZ BURGOS                 REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      COND JARDS METROPOLITANO I
   697921 LINDA J CARR                                355                          CALLE GALILEO APT 9 J                                                                     SAN JUAN           PR         00927
   267907 LINDA J ORTIZ BRENES                        REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   267908 LINDA J QUILES PACHECO                      REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  267909 LINDA J RIVAS GONZALEZ                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697923 LINDA J RUIZ ROSADO                          URB STA JUANITA                AK 41 CALLE INDIA                                                                    BAYAMON           PR         00956
  697924 LINDA J SANTINI TORRES                       PO BOX 891                                                                                                          AIBONITO          PR         00705
  267910 LINDA J. ESCHEIK YEPEZ                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697925 LINDA L NEGRON VEGA                          URB MAGNOLIA GDNS              G 15 CALLE 9                                                                         BAYAMON           PR         00956‐2601
  267911 LINDA L SANTIAGO                             REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267912 LINDA LARAS GARCIA                           REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697927 LINDA LEDRAY                                 4180 BUCK LAKE RD                                                                                                   WATERTOWN         MN         55388
  267913 LINDA LEE FONTANEZ                           REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         LINDA LIZBETH SANTIAGO
  697929 RODRIGUEZ                                    RR 2 BOX 4074                                                                                                       TOA ALTA          PR         00953
  267914 LINDA M BIRD GUZMAN                          REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267916 LINDA M JUST ISERN                           REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267917 LINDA M KOSMOLL MEW                          REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267918 LINDA M LEDEE DIAZ                           REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   267920 LINDA M MARTINEZ ORELLANA                   REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697931 LINDA M MILLAN GARCIA                       URB DIPLO                      O 18 CALLE 7                                                                         NAGUABO           PR         00718
   267921 LINDA M NUNEZ MONTANEZ                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      1014 AVE PONCE DE LEON APT 3
   697932 LINDA M OLMO FIGUEROA                       A                                                                                                                   SAN JUAN          PR         00925
   267922 LINDA M RODRIGUEZ GARAY                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697933 LINDA M RUIZ                                HC 2 BOX 5817                                                                                                       RINCON            PR         00677
   697934 LINDA M TORRUELLA THILLET                   URB LEVITTOWN                  1497 B PASEO DULCEMAR                                                                TOA BAJA          PR         00949‐3930
   697935 LINDA MALAVE SANTANA                        110 CALLE JOSE DE DIEGO                                                                                             ARECIBO           PR         00612
   267923 LINDA MARIE TORRE CRUZ                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697936 LINDA MARTINEZ                              URB SANTA RITA                 5 A CALLE                                                                            VEGA ALTA         PR         00692
   697937 LINDA MASSENA GUEVIER                       COND LUNA                      357 CALLE SOL APT 205                                                                SAN JUAN          PR         00901
   267924 LINDA MATIAS PEREZ                          REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267925 LINDA MATIENZO CARRERO                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697938 LINDA MATTA IRIZARRY                        PO BOX 1531                                                                                                         LUQUILLO          PR         00773
   697939 LINDA MELENDEZ LUYANDO                      BO DAGUAO                      BZN 195                                                                              NAGUABO           PR         00718
   267926 LINDA MELENDEZ VEGA                         REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267927 LINDA MESTRE SUAREZ                         REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697940 LINDA MIRANDA SANTIAGO                      URB LOS CAOBOS 2397            CALLE POMARROSA                                                                      PONCE             PR         00716
   267928 LINDA MORALES PONS                          REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267929 LINDA NAVEDO CORTES                         REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697941 LINDA OCASIO AGOSTO                         PO BOX 1418                                                                                                         CANOVANAS         PR         00729
   267930 LINDA ORTEGA FIGUEROA                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267931 LINDA ORTIZ ACOSTA                          REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267932 LINDA ORTIZ ORTIZ                           REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267933 LINDA PADILLA MATOS                         REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697943 LINDA PAGAN GUERRERO                        CAROLINA HOUSING               EDIF 7 APT 67                                                                        CAROLINA          PR         00987
   697944 LINDA PEREZ CABALLERO                       RES LAS VIOLETAS               EDIF 1 APT 8                                                                         VEGA ALTA         PR         00692
   267934 LINDA QUINONES ARROYO                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267935 LINDA R CRUZ GONZALEZ                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697945 LINDA R GRACIA                              COND RIVERSIDE PLAZA 74        CALLE SANTA CRUZ APT 61                                                              BAYAMON           PR         00961

   267937 LINDA R PORRATA CARTAGENA                   REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697947 LINDA R RUIZ CORTES                         URB COUNTRY CLUB               M D 34 CALLE 402                                                                     CAROLINA          PR         00982
   697948 LINDA R SANTIAGO PEREZ                      PMB 368                        PO BOX 1999                                                                          BARRANQUITAS      PR         00794‐1999
   697949 LINDA R VELEZ SANTIAGO                      860 C/ RICARDO ARROYO                                                                                               DORADO            PR         00646
   267938 LINDA RAMIREZ SIERRA                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  697887 LINDA RENZ                                   HC 5 BOX 55028                                                                                                    AGUADILLA         PR         00603
  267939 LINDA RIVERA DE JESUS                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267940 LINDA RODRIGUEZ REYES                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697951 LINDA ROSA TAVARES                           PO BOX 80000                                                                                                      ISABELA           PR         00662
  267941 LINDA RUIZ CARDONA                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  697952 LINDA S MORTON                               PO BOX 130                                                                                                        AARONSBURG        PA         16820

   697953 LINDA S ROSADO ROSADO                       RIO LAJAS SECT LOS MARRERO   SOLAR 6 CARR 823 KM 4 5                                                              TOA ALTA          PR         00953
   697954 LINDA SANCHEZ MANDES                        URB ARROYO DEL MAR           238 CALLE CARIBE                                                                     ARROYO            PR         00714
                                                      602 AVE FERNANDEZ JUNCOS
   697955 LINDA SANCHEZ PINTOR                        APT 1705                                                                                                          SAN JUAN          PR         00907
   697956 LINDA SANTIAGO GONZALEZ                     HC 02 BOX 20531                                                                                                   AGUADILLA         PR         00603‐9604
   697957 LINDA SEGEL                                 1 GUSTAVE LEVE PL BOX 1200                                                                                        NEW YORK          NY         10029
   267947 LINDA SEPULVEDA IRIZARRY                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697958 LINDA SOTO                                  33 CALLE A                                                                                                        MAYAGUEZ          PR         00680

   267949 LINDA SPIRIDIGLIOZZI FATICATO               REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697961 LINDA SUAREZ SEGUI                          PO BOX 133                                                                                                        MOCA              PR         00676
   267950 LINDA T SOTO TORRES                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267952 LINDA TORRES FIGUEROA                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697962 LINDA VAZQUEZ MONTALVO                      RES CARIOCA                  EDIF 11 APT 64                                                                       GUAYAMA           PR         00784
   267954 LINDA VAZQUEZ MUNIZ                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      JARDINES DE LA FUENTE
   697963 LINDA VIANA VAZQUEZ                         ESCORIAL                     191 CALLE GARCIA LORCA                                                               TOA ALTA          PR         00953
          LINDA VICTORIA NAVEDO
   267955 CORTES                                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697965 LINDA VILORIO BERAS                         P O BOX 313                                                                                                       TOA BAJA          PR         00951
   697966 LINDA WHEELER RUIZ                          TERRAZAS DE GUAYNABO         T‐7 CALLE GIRASOL                                                                    GUAYNABO          PR         00969
   267957 LINDA Y MATOS ROSADO                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LINDA YOMARI MORALES
   697967 TORRES                                      URB CUPEY GARDENS            A 6 CALLE 3 T                                                                        SAN JUAN          PR         00926
   697968 LINDALIZ JIMENEZ PLAZA                      URB EL MADRIGAL              F 7 CALLE 4                                                                          PONCE             PR         00730
   697969 LINDAS CLOWN DESIGNER                       HC‐02 BOX 34189                                                                                                   CAGUAS            PR         00725‐9420
          LINDAS MODAS DE S/AUCO
   697970 [RITMO]                                     13 MCKINLEY                                                                                                       MAYAGUEZ          PR         00680
   267962 LINDE GAS P R INC                           PO BOX 71491                                                                                                      SAN JUAN          PR         00936‐1491
   831465 Linde Gas Puerto Rico                       P.O. Box 363868                                                                                                   San Juan          PR         00936
   267964 LINDE NORTH AMERICA INC                     575 MOUNTAIN AVE                                                                                                  MURRAY HILL       NJ         07974
   267969 LINDIA S. DIAZ SALDANA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   697971 LINDO`S RENTAL & CAKE                       30 ALMIRANTE SUR             COOP KM. 8 HM. 1                                                                     VEGA BAJA         PR         00603
   267970 LINDOLFO ARROYO SOTO                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   697973 LINDOLFO RODRIGUEZ HERNAND VILLA FONTANA                                 BR 543 VIA 2                                                                         CAROLINA          PR         00983
   267973 LINDRANES CRUZ HERRERA     REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267975 LINDSAY CASADO PEREZ       REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LINDSAY CLEANERS D/B/A
   697974 FRANCISCO A OTERO          VILLA NEVAREZ                                 1046 CALLE 18                                                                        SAN JUAN          PR         00927
   267976 LINDSAY J. GONZALEZ SOTO   REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267977 LINDSAY M VAZQUEZ TORRES   REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   267978 LINDSAY MITCHELL HERNANDEZ REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267981 LINE LANCELLOTI ESPOSITO   REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   267982 LINE OF SIGHT              PO BOX 363067                                                                                                                      SAN JUAN          PR         00936



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  267983 LINE OF SIGHT INC.                           PO BOX 363067                                                                                                      SAN JUAN          PR         00936
  697975 LINELLY FIGUEROS DIAZ                        RES FLAMBOYAN GARDENS         B 66                                                                                 MAYAGUEZ          PR         00680
  267985 LINELLY OLMEDA SANTOS                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  267987 LINENS R US                                  RIO PIEDRA HEIGHTS            194 CALLE SAN LORENZO                                                                SAN JUAN          PR         00926
  697976 LINES MOUX DAVILA                            26 AVE BUENA VISTA                                                                                                 MOROVIS           PR         00687
                                                                                    623 CALLE BARTOLOME LAS
   697977 LINESSE CALDERON CONDER                     BARRIO OBRERO                 CASAS                                                                                SAN JUAN          PR         00901
   697978 LINET MALAVE SOLIS                          HC 064 P O BOX 8325                                                                                                PATILLAS          PR         00723
   697979 LINET PANTOJAS ROJAS                        PARC AMADEO                   90 CALLE A                                                                           VEGA BAJA         PR         00693
   697980 LINETE M CARABALLO RUIZ                     URB VILLAS DE FELISA          A 1 CALLE MUNAMARTI                                                                  MAYAGUEZ          PR         00681
   267996 LINETH NIEVES MUNIZ                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   697981 LINETSSY BATISTA FIGUEROA                   HC 61 BOX 4453 BO LA GLORIA                                                                                        TRUJILLO ALTO     PR         00976
   267997 LINETTE ALVAREZ SANTIAGO                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   697984 LINETTE CAMACHO DENIS                       RIO ABAJO                     5012 CALLE PRINCIPAL                                                                 VEGA BAJA         PR         00693

   267999 LINETTE CARRASQUILLO VIERA                  REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   268000 LINETTE COLON RODRIGUEZ                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   268001 LINETTE DIAZ ROSADO                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   697985 LINETTE DORTA MORALES                       HC 4 BOX 49001                                                                                                     HATILLO           PR         00659
   268002 LINETTE FIGUEROA TORRES                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   268003 LINETTE GONZALEZ VARGAS                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   268004 LINETTE HODGE                               REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   268005 LINETTE LORENZO BARRETO                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   697986 LINETTE LUGO COLON                          PO BOX 193618                                                                                                      SAN JUAN          PR         00919
   268006 LINETTE M CLASS NIEVES                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   697987 LINETTE M. ECHEVARIA DEL RIO                MCS 269 PO BOX 7999                                                                                                MAYAGUEZ          PR         00681
          LINETTE MARIE ORAMAS
   268007 MERCADO                                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   268008 LINETTE MARTINEZ MORALES                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   268009 LINETTE ORTIZ TORRES                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   697988 LINETTE PADILLA MORALES                     RR 7 BOX 128                                                                                                       SAN JUAN          PR         00926
   697989 LINETTE PAGAN IRIZARRY                      VILLAS DEL CAFETAL            C 35 CALLE 3                                                                         YAUCO             PR         00698
   268010 LINETTE PAGAN MOLINA                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   268012 LINETTE PEREZ MADERA                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   697991 LINETTE RIVERA COLON                        HC 01 BOX 2247                                                                                                     BARRANQUITAS      PR         00794

   268014 LINETTE RIVERA MALDONADO                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   697992 LINETTE RIVERA PAGAN                        RIO GRANDE ESTATE             S 18 CALLE 8                                                                         RIO GRANDE        PR         00745
   697993 LINETTE RIVERA RAMOS                        SANTA ELVIRA                  G 9 SANTA ELENA                                                                      CAGUAS            PR         00725
   268015 LINETTE RIVERA SANTIAGO                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   697994 LINETTE ROSA RIVERA                         PO BOX 65                                                                                                          NARANJITO         PR         00719
   697995 LINETTE ROSADO ORTIZ                        URB PUERTO NUEVO              1005 CALLE AMBERES 4                                                                 SAN JUAN          PR         00920
   268016 LINETTE SANCHEZ QUINONES                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   268017 LINETTE SANTIAGO ARROYO                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   697997 LINETTE SANTOS PAGAN                        HC 01 BOX 2451                                                                                                     BARRANQUITAS      PR         00794
   268019 LINETTE TORRES BAEZ                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   268020 LINETTE TORRES MONTALVO                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   268021 LINETTE TORRES MUNIZ                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   268022 LINETTE TORRES ROSA                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   268023 LINETTE VEGA JIMENEZ                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   268024 LINETTE VELAZQUEZ ORTIZ                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED



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   697998 LINETTE VELAZQUEZ VELAZQUEZ HC 04 BOX 6982                                                                                                                     YABUCOA             PR           00767
   268025 LINETTE WILSON ACOSTA       REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268026 LINEXY M. MARTINEZ GERENA   REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698001 LING FONG                   D 22 CALLE ANICETO                                                                                                                 TRUJILLO ALTO       PR           00976

   268027 LING RIVERA BONANO MD, MEI                  REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698002 LINGMEY PARIS SANTANA                       URB VILA CAROLINA              BLOQ 76‐55 CALLE 59                                                                 CAROLINA            PR           00985
   268028 LINK ADVISORS GROUP CORP                    PO BOX 195488                                                                                                      SAN JUAN            PR           00919
   268029 LINK ADVISORS GROUP,INC.                    PO.BOX 195488                                                                                                      SAN JUAN            PR           00919‐5488

   698003 LINK COMMUNICATIONS GROUP CAPARRA HEIGHTS STA.                             PO BOX 2114                                                                         SAN JUAN            PR           00922
   268031 LINKACTIV INC             PO BOX 366398                                                                                                                        SAN JUAN            PR           00936‐6398
   268033 LINKPARTNERS GROUP INC    500 STE 7 CARR 149 KM 9.8                                                                                                            CIALES              PR           00638

   268034 LINKPARTNERS GROUP INC.                     500 CARR 149 SUITE #7 KM 9.8                                                                                       CIALES              PR           00638‐0000
   268035 LINKS GROUP, LLC                            1225 AVE PONCE DE LEON         SUITE 1405 VIG TOWER                                                                SAN JUAN            PR           00907
   268036 LINNA IRIZARRY MAYORAL                      REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268037 LINNA M. IRIZARRY MAYORAL                   REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   698005 LINNETTE AYALA PEÑALOZA                     UNID. ALCOHOLISMO Y DESINT                                                                                         Hato Rey            PR           009360000
   698006 LINNETTE C VIERAS                           CIUDAD UNIVERSITARIA           B 15 AVE PERIFERAL                                                                  TRUJILLO ALTO       PR           00976
                                                      COND FONTANA TOWWERS
   698007 LINNETTE CARRERA RANOS                      APTO 1203                                                                                                          CAROLINA            PR           00987
   268039 LINNETTE CONDE QUINONES                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268040 LINNETTE CORREA FILOMENO                    REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698009 LINNETTE DIAZ                               PO BOX 2000                                                                                                        COAMO               PR           00769
   698010 LINNETTE FALCON CUEVAS                      COND LA FLORESTA               CARR 831 1000 APTO 342                                                              BAYAMON             PR           00959

   268043 LINNETTE FIGUEROA MELENDEZ REDACTED                                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   698012 LINNETTE FIGUEROA MORALES                   HC 73 BOX 5558                                                                                                     NARANJITO           PR           00719
          LINNETTE FITTPALDI / HOGAR
   698013 FITTIPALDI                                  VILLA RICA                     AI 22 CALLE EDMEE                                                                   BAYAMON             PR           00959
   268044 LINNETTE GUZMAN MEDINA                      REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268046 LINNETTE JIMENEZ GONZALEZ                   REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268048 LINNETTE M COLON RIVERA                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268049 LINNETTE M LEON MENDEZ                      REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698015 LINNETTE M OLIVENCIA CRUZ                   HC 1 BOX 6415                                                                                                      HORMIGUEROS         PR           00660
          LINNETTE M TORRES
   698016 ALDARONDO                                   1324 CALLE 21                                                                                                      SAN JUAN            PR           00924
   698017 LINNETTE M VELEZ ESQUILIN                   EXT PARQ ECUESTRE              T1 CALLE 40                                                                         CAROLINA            PR           00987

   698018 LINNETTE MADERA MAISONET                    VILLA PALMERA                  3 CALLE AMPARO                                                                      SAN JUAN            PR           00915
          LINNETTE MARI VAZQUEZ
   698019 RIVERA                                      P O BOX 371453                                                                                                     CAYEY               PR           00737

   268050 LINNETTE MARIA COLON RIVERA REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268051 LINNETTE MATOS CASTRO       REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698023 LINNETTE MELENDEZ           PO BOX 21365                                                                                                                       SAN JUAN            PR           00928

   268054 LINNETTE MENDEZ DE LA CRUZ                  REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268055 LINNETTE MONTALVO VELEZ                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          LINNETTE MORAIMA CRUZ
   698024 BARRIENTOS                                  PO BOX 2022                                                                                                          TOA BAJA            PR           00951
   698025 LINNETTE MORALES                            PO BOX 1822                                                                                                          SAN GERMAN          PR           00683
   698026 LINNETTE NIEVES ARCE                        URB VISTA VERDE               BOX 755                                                                                AGUADILLA           PR           00603
   698027 LINNETTE OFERRALL IGLESIAS                  URB MONTECASINO               HTS 97 CALLE RIO JAJOME                                                                TOA ALTA            PR           00953
   268056 LINNETTE ORTIZ COSME                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268057 LINNETTE ORTIZ POWELL                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698028 LINNETTE PADUA ROLDAN                       PO BOX 257                                                                                                           JAYUYA              PR           00664
   268058 LINNETTE PLAZA GARCIA                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268059 LINNETTE QUINONES                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268060 LINNETTE RODRIGUEZ BLOISE                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698031 LINNETTE ROSA RIVERA                        PO BOX 65                                                                                                            NARANJITO           PR           00719
   268061 LINNETTE ROSADO ALMA                        REDACTED                      REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                    1570 CALLE 18 SO URB CAPARRA
   698032 LINNETTE S OLIVENCIA                        CAPARRA TERRACE               TER                                                                                    SAN JUAN            PR           00921

   268062 LINNETTE SANTANA QUINONES                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268063 LINNETTE SOLER SANTIAGO                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268064 LINNETTE TORO RIVERA                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698033 LINNETTE TORRES RUIZ                        MONTE GRANDE                  CANTERA AGRAIT BOX 696 C                                                               CABO ROJO           PR           00623
   698034 LINNETTE V RIVERA                           P O BOX 274                                                                                                          CEIBA               PR           000735
   268065 LINNETTE VEGA REYES                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268066 LINNETTE VEGA RIVERA                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698036 LINNETTE VELEZ FIGUEROA                     PO BOX 3139                                                                                                          GUAYNABO            PR           00970
   698038 LINO BONILLA                                P O BOX 1508                                                                                                         CAYEY               PR           00736

   698039 LINO COLON VERA                             COND CAMINO REAL APTO F 404                                                                                          GUAYNABO            PR           00966
   698040 LINO DE JESUS                               P O BOX 912                                                                                                          CANOVANAS           PR           00729
   268068 LINO DELGADO DIAZ                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698041 LINO DIAZ ROMAN                             UNIVERSIDAD DE PR           BOX 122580                                                                               SAN JUAN            PR           00925

   698042 LINO HERNANDEZ BETANCOURT                   285 CALLE DELBREY                                                                                                    SAN JUAN            PR           00912
   268070 LINO J CEPEDA RODRIGUEZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698043 LINO J RIVERA GONZALEZ                      PO BOX 9021112                                                                                                       SAN JUAN            PR           00902‐1112
   268071 LINO J. CEPEDA RODRIGUEZ                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698046 LINO ORTIZ                                  BO CORAZON 236 14             SAN CIPRIAN                                                                            GUAYNABO            PR           00784
   698048 LINO PADRON                                 P O BOX 362139                                                                                                       SAN JUAN            PR           00936‐2139
   268074 LINO PADRON ROSADO                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698049 LINO PIZARRO CIRINO                         HC 01 BOX 4071                                                                                                       LOIZA               PR           00772‐9715
   698050 LINO RAMIREZ SANTIAGO                       4TA SEC URB COUNTRY CLUB      MH 2 CALLE 408                                                                         CAROLINA            PR           00982
                                                                                    Q5 CALLE 14 URB EL
   698051 LINO RIVERA HERNANDEZ                       EL CONQUISTADOR               CONQUISTADOR                                                                           TRUJILLO ALTO       PR           00976
   698052 LINO RIVERA MELENDEZ                        HC‐1 BOX 26764                                                                                                       CAGUAS                           00725

   698053 LINO ROMAN GARCIA                           URB COUNTRY CLUB 3ERA. EXT.   HS 21 CALLE 248                                                                        CAROLINA            PR           00982
   698054 LINO SANCHEZ BERRIOS                        BO BUEN CONSEJO               195 CALLE SAN RAFAEL                                                                   SAN JUAN            PR           00926
   268076 LINO SANTIAGO MUNOZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268077 LINO VALENZUELA                             REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698055 LINO VEGA SEDA                              PO BOX 7653                                                                                                          PONCE               PR           00732‐7653
   698056 LINORYS GONZALEZ JIMENEZ                    P O BOX 962                                                                                                          UTUADO              PR           00641
   268078 LINOSHKA DIAZ SANTIAGO                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   268079 LINOSHKA M CASTRO GONZALEZ REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   268080 LINOSHKA M.BERNARDI RIVERA REDACTED                          REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268081 LINOSHKA PAGAN MARRERO       REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LINOSHKA SALAMANCA MENDEZ
   698057 /NELIDA MENDEZ               EXT VILLA RICA                  BB 10 CALLE 25                                                                     SAN SEBASTIAN       PR           00685
   268082 LINSON MD , MARC A           REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268084 LIOMARYS SOLIS ARIZMENDI     REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698058 LION BUSINESS                62 CALLE PAVIA FERNANDEZ                                                                                           SAN SEBASTIAN       PR           00685
   268087 LIONEL A GARCIA SANTANA      REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268088 LIONEL A MENDEZ SEISE        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268089 LIONEL A SANTIAGO VEGA       REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LIONEL A. VERA DBA VERA PEST VILLA ESPANA B‐20 CALLE
   268090 CONTROL                      ZARAGOZA                                                                                                           BAYAMON             PR           00961‐0000
          LIONEL ATILAS VERA RAMIREZ
  1256637 DBA VERA PEST CONTROL        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698060 LIONEL BERRIOS RIVERA        BOX 831                                                                                                            COMERIO             PR           00782
   268091 LIONEL CRUET GONZALEZ        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698062 LIONEL CRUZ GARAY            BO OBRERO                       2301 AVE REXACH                                                                    SAN JUAN            PR           00915
   268092 LIONEL CRUZ GUINDIN          REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268093 LIONEL CRUZ RODRIGUEZ        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698063 LIONEL DIAZ                  COND EL ATLANTICO               APT 1510                                                                           LEVITTOWN           PR           00950
   698065 LIONEL FERNANDEZ CRUZ        HC 3 BOX 40594                                                                                                     CAGUAS              PR           00725
   698066 LIONEL FUENTES RIVERA        HC 01 BOX 7568                                                                                                     LUQUILLO            PR           00773
   698067 LIONEL GONZALEZ PEREZ        HC 03 BOX 39175                                                                                                    AGUADILLA           PR           00603
   698068 LIONEL GORDON PAGAN          REPTO METROPOLITANO             976 CALLE 19 SE                                                                    SAN JUAN            PR           00921
   698059 LIONEL HOYTE                 2080 CHILD ST                                                                                                      JACKSONVILLE        FL           32214‐5005
   268095 LIONEL LOPEZ MALDONADO       REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LIONEL MALDONADO
   268096 VELAZQUEZ                    REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698069 LIONEL MARTINEZ RENTA        MIRADOR BAIROA                  2N‐36 CALLE 19                                                                     CAGUAS              PR           00725‐1044
   268097 LIONEL MARTINEZ REYES        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268100 LIONEL MARTINEZ REYEZ        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268101 LIONEL MATTEI                REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698070 LIONEL MOTTA BACO            MARGINAL BALDORITOTY            602 MIRAMAR APT 2 A                                                                SAN JUAN            PR           00907
   698071 LIONEL ORAMA EXCLUSA         PO BOX 5057                                                                                                        MAYAGUEZ            PR           00681‐5057
   698072 LIONEL ORTIZ ORTIZ           PO BOX 141406                                                                                                      ARECIBO             PR           00614
   698076 LIONEL REYES COTTO           URB TREASURE VALLEY             F 5 CALLE COLOMBIA                                                                 CIDRA               PR           00739
                                       AVE LOS ROMEROS SUITE
   698077 LIONEL REYES RUIZ            1169415                                                                                                            SAN JUAN            PR           00926‐7001
   268102 LIONEL REYES SANCHEZ         REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268103 LIONEL RIVERA TORRES         REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LIONEL RODRIGUEZ
   268104 MALDONADO                    REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268105 LIONEL ROSARIO COLON         REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268106 LIONEL ROSARIO GARCIA        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698078 LIONEL RUIZ VALENTIN         HC 1 BOX 3009                                                                                                      LAS MARIAS          PR           00670
   698079 LIONEL SIMONETI FIGUEROA     PO BOX 7487                     BO OBRERO STATION                                                                  SAN JUAN            PR           00916
   698080 LIONEL TEXIDOR ARROYO        VILLA PRADES                    622 CASIMIRO DUCHESNE                                                              SAN JUAN            PR           00924
   268107 LIONEL TORRES MORALES        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268108 LIONEL TRILLA QUI¥ONES       REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698081 LIONEL VELEZ MONTIJO         BOX 68                                                                                                             BOQUERON            PR           00622
   698082 LIONEL VERA CARABALLO        VALLE SAN LUIS                  274 VIA DE LA VEREDA                                                               CAGUAS              PR           00725
   698085 LIONER VELEZ PEREZ           URB VILLA DEL CARMEN            2882 CALLE TOLEDO                                                                  PONCE               PR           00717



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   268113 LIONS FESTIVAL CANNES LIONS                 33 KINGSWAY                                                                                                         LONDON                           EC2B6UF       UNITED KINGDOM
   268115 LIONS SECURITY CORP                         BOX 665                                                                                                             BAYAMON             PR           00960

   268116 LIONSGATE COMMUNICATIONS                    303 CALLE VILLAMIL         APT 1503                                                                                 SAN JUAN            PR           00907

   268117 LIONY I ADMAN ECHEAUTEGUI                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698086 LIONZA RIVERA NOLASCO                       VILLA CAROLINA             143‐11 CALLE 401                                                                         CAROLINA            PR           00985
   831467 Lippincott William & Wilkins                P.O. Box 1590                                                                                                       Hagerstown          MD           21741

   698087 LIPPINCOTT WILLIAMS& WILKINS PO BOX 1610                                                                                                                        HAGERSTOWN          MD           21741
          LIQUET SUAREZ PSYD,
   268130 MINOSHKA D                   REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268133 LIQUIDOS A GRANEL, INC       URB ESTANCIAS DE BAIROA                   D‐6 CALLE MIRAMELINDA                                                                    CAGUAS              PR           00725
   698089 LIQUILUX GAS                 137 CALLE D                                                                                                                        RAMEY               PR           00603
   698090 LIQUILUX GAS CORP            PLAYA STATION                             PO BOX 189                                                                               PONCE               PR           00734‐0189
   268134 LIQUILUX GAS CORPORATION     P O BOX 34189                                                                                                                      PONCE               PR           00734‐4189

   698092 LIQUILUX GAS SERV OF PONCE                  PO BOX 189                                                                                                          PONCE               PR           00734

   698093 LIRA INC ( COUNTRY CHICKEN )                PMB 167 P O BOX 7105                                                                                                PONCE               PR           00728
   698096 LIRBA JIMENEZ RIVERA                        BRISAS DE CAMPO ALEGRE     EDIF 3 APT 43                                                                            MANATI              PR           00674
   268160 LIRIANO RODRIGUZ, ROSA E.                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698097 LIRICA INC                                  P O BOX 360926                                                                                                      SAN JUAN            PR           00936‐0926
   698099 LIRIO ALVARADO COLON                        MONTE BRISAS               563 CALLE 8                                                                              FAJARDO             PR           00738
   698100 LIRIO BERNAL SANCHEZ                        COND FOUNTAINBLUE PLAZA    APT 1601                                                                                 GUAYNABO            PR           00969
   698101 LIRIO C REY SIACA                           VENUS GARCENS              800 CALLE POLAR                                                                          SAN JUAN            PR           00926
   698102 LIRIO G CARDONA COLON                       URB MIRAFLORES             26 2 CALLE 32                                                                            BAYAMON             PR           00956
   268164 LIRIO GONZALEZ RULLAN                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   698103 LIRIO HERNANDEZ CARABALLO                   URB VALLE ARRIBA HEIGHTS   A Y 9 CALLE 38 B                                                                         CAROLINA            PR           00983
   268165 LIRIO JIMENEZ MARQUEZ                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268166 LIRIO M NIEVES POGGI                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698104 LIRIO MARQUEZ D ACUNTI                      URB PUNTA LAS MARIAS       4 CALLE HISTELLA                                                                         SAN JUAN            PR           00913
   698098 LIRIO N AVILES FELICIANO                    1826 WHIISPERING           OAKS LANE FT                                                                             WALTON BEACH        FL           32547
   698105 LIRIOS CAR CARE                             P O BOX 9127                                                                                                        JUNCOS              PR           00777‐9602
                                                                                 C11 CALLE 4 URB MONTEBELLO
   698106 LIRIOS DEL VALLE                            MONTE BELLO STATES         EST                                                                                      TRUJILLO ALTO       PR           00976
   698107 LIRIOS SERVICES STATION                     PO BOX 9024275                                                                                                      SAN JUAN            PR           00902‐4275
   698108 LIS INC                                     PO BOX 195055                                                                                                       SAN JUAN            PR           00919‐5055
   268172 LIS M AGOSTO RIVERA                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698111 LISA A NEGRON LOPEZ                         BRISAS DE TORTUGUERO       CALLE RIO CIBUCO              BUZON 118                                                  VEGA BAJA           PR           00693
   268174 LISA A PRINCIPE SNYDER                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   698112 LISA A SOTO TORRES                          RIO HONDO                  AD 25 CALLE RIO HERRERA SUR                                                              BAYAMON             PR           00961
   268175 LISA A VILLAFANE SOTO                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698113 LISA ABREU                                  PO BOX 153                                                                                                          JUNCOS              PR           00777
   698114 LISA ARRIETA                                RR 03 BOX 10250                                                                                                     TOA ALTA            PR           00953
   268176 LISA CORRETJER QUINONES                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268177 LISA CRUZ GONZALEZ                          REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698115 LISA D COLON ROSA                           506 CALLE 3                BARRIO BUENA VISTA                                                                       ARROYO              PR           00714
   698116 LISA D. COLON ROSA                          BO. BUENA VISTA            506 CALLE 3                                                                              ARROYO              PR           00714
   268178 LISA DE LA CRUZ FEBUS                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  268140 LISA ESCRIBANO COLON                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  268179 LISA F ALVARADO ABRAHAM                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  698118 LISA G PORTALATIN                             PO BOX 644                                                                                                          VEGA BAJA          PR         00694
  268180 LISA G VILLASENOR                             REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  698119 LISA I GONZALEZ RIVERA                        TORRECILLA ALTA             16 CALLE 14                                                                             CANOVANAS          PR         00729
  698120 LISA IVETTE DIAZ CASTILLO                     URB JARD DE CAGUAS          B 61 CALLE CARLOS LOSADA                                                                CAGUAS             PR         00727
  268181 LISA J ORTIZ DEL RIO                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  698121 LISA L CARRILLO SANJURJO                      BO PALMAREJO                KM 19 H O                                                                               CANOVANAS          PR         00729
  698122 LISA LOPEZ                                    HC 1 BOX 3951                                                                                                       LOIZA              PR         00772
  268182 LISA LOPEZ SANCHEZ                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  698123 LISA LOPEZ SMITH                              HC 71 BOX 3531                                                                                                      NARANJITO          PR         00719
  698126 LISA M ALVERIO FLORES                         HACIENDA SAN JOSE           125 VIA MATINAL                                                                         CAGUAS             PR         00727‐3013
  268184 LISA M BABILONIA CABAN                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  698127 LISA M CORDOVA SEGARRA                        CARR 616 BUZON 8            TIERRAS NUEVAS                                                                          MANATI             PR         00674
  698128 LISA M CORTES CURBELO                         F 8 URB BRISAS DE HATILLO                                                                                           HATILLO            PR         00659
  268186 LISA M COUCEIRO ANGULO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  698129 LISA M CRESPO HYMAN                           VALLE ARRIBA HGTS           CB 3 CALLE 130                                                                          CAROLINA           PR         00983
  698130 LISA M DE JESUS FLORES                        EXT LOS TAMARIENDOS         A 10 CALLE 11                                                                           SAN LORENZO        PR         00754
  268187 LISA M DEL VALLE SOTO                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  268190 LISA M GUTIERREZ FELICIANO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  698132 LISA M JAMES QUINTANA                         VILLA CAROLINA              119‐28 CALLE 67                                                                         CAROLINA           PR         00985
  698133 LISA M LOPEZ NEGRON                           PO BOX 4093                                                                                                         VEGA BAJA          PR         00693
  268191 LISA M NADAL ROSELLO                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  698134 LISA M NAVAS SENERIL                          ARCOS DE CUPEY              650 AVE CECILIANA APT 1105                                                              SAN JUAN           PR         00926
  268192 LISA M OCASIO PEREZ                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  268193 LISA M RAMOS SANTOS                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  268194 LISA M RIVERA BERRIOS                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  698137 LISA M RIVERA CALDERON                        HC 2 BOX 7148                                                                                                       COMERIO            PR         00782
  268195 LISA M RIVERA MALDONADO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  268196 LISA M ROBERT SWANICK                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  268197 LISA M RODRIGUEZ LUGO                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  698139 LISA M ROMAN RIOS                             VILLA GRILLASCA             2245 CALLE RITO M CAMPOS                                                                PONCE              PR         00717‐0571
  698140 LISA M SOTOMAYOR VEGA                         PORTALES DEL MONTE          APT 3802 COTO LAUREL                                                                    PONCE              PR         00780
  698141 LISA M TORRES COLON                           RIO HONDO                   AE 4 RIO GRANDE DE LOIZA                                                                BAYAMON            PR         00961
  698142 LISA M VEGA MIRANDA                           URB VALENCIA                E 37 CALLE MARGARITA                                                                    BAYAMON            PR         00959
  268198 LISA M VENTURA GARCIA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   698143 LISA MARIE CARBONELL CORREA VILLA NEVAREZ                                1100 CALLE 17                                                                           SAN JUAN           PR         00927

   698144 LISA MARIE GONZALEZ HIRALDO                  BOX 754                                                                                                             CAROLINA           PR         00986‐0754
   268199 LISA MARIE JIMENEZ COLON                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698110 LISA MARQUEZ GARCIA                          URB LOMAS DE CAROLINA       J 9 CALLE MONTEGUILARTE                                                                 CAROLINA           PR         00987
   268202 LISA MARTINEZ MANGUAL                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698145 LISA MEDINA LASALLE                          URB MONTE CLARO STATES      ME 40 PLAZA 16                                                                          BAYAMON            PR         00961
   268203 LISA MICHELLE ROSADO BAEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268204 LISA MINELY SEPULVEDA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268205 LISA MONCION RICARVETT                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268209 LISA NAVAS SENERIZ                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268210 LISA O. JIMENEZ ECHEVARRIA                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268211 LISA O'BRIEN                                 REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268212 LISA OROPEZA                                 REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268213 LISA ORTIZ APONTE                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698147 LISA OSTOLAZA RUIZ                           HC 37 BOX 5275                                                                                                      GUANICA            PR         00653



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  268215 LISA PEREZ ROLDAN                            REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  698148 LISA REILLY MARTINEZ                         484 CALLE ALVERIO                                                                                             SAN JUAN           PR         00918
  698149 LISA RIVERA                                  C/O ANTONIA DE JESUS      DEPT DE SALUD            PO BOX 70184                                               SAN JUAN           PR         00936‐8184
  268217 LISA ROBLES CAMACHO                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  268218 LISA RODRIGUEZ HERNANDEZ                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  268219 LISA V RODRIGUEZ MORALES                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  268221 LISA VARGAS PADIN                            REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  698154 LISA VELAZQUEZ RODRIGUEZ                     BONNEVILLE SECC II        F 4 CALLE S                                                                         CAGUAS             PR         00726
  268223 LISABEL MUNIZ ORTIZ                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  698156 LISABETH CARLSON PHD                         315 NW 138 TH TERRACE                                                                                         JONESVILLE         FL         32669

   268224 LISABETTE LLADO RODRIGUEZ                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698157 LISAIDA YOURNET CORTES                      P O BOX 732                                                                                                   FLORIDA            PR         00650
   268225 LISALEE ESCALANTE ESPADA                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          LISAMARDIE SANTIAGO
   268226 QUINONES                                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698158 LISAMARIE RIVERA PEDROGO                    TERESITA                  AC 13 CALLE 30                                                                      BAYAMON            PR         00961

   268227 LISAMARIS ROSADO SEPULVEDA REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   268228 LISAMARY FIGUEROA COLLAZO                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698159 LISANDRA A LOPEZ CASILLAS                   URB REP. METROPOLITANO    1223 CALLE 36 SE                                                                    SAN JUAN           PR         00921
   698160 LISANDRA ACEVEDO NEGRON                     VILLA PLATA MAMEYAL       G 19 CALLE 8                                                                        DORADO             PR         00646
   268230 LISANDRA ACEVEDO SOTO                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698161 LISANDRA ALICEA RODRIGUEZ                   BO ROBLES PO BOX 217                                                                                          AIBONITO           PR         00705
   698163 LISANDRA BADILLO SOSA                       PO BOX 294                                                                                                    SAN ANTONIO        PR         00690
   268231 LISANDRA BENITEZ MORALES                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268232 LISANDRA BERMUDEZ DIAZ                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698165 LISANDRA BONILLA GERENA                     URB SAN FELIPE            L 41 CALLE 8                                                                        ARECIBO            PR         00612

   698166 LISANDRA BORGES HERNANDEZ                   URB RPT LANDRAU           1450 CALLE FRASER                                                                   SAN JUAN           PR         00921
   268233 LISANDRA BRUNELL                            REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          LISANDRA CABALLERO
   268234 GONZALEZ                                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268235 LISANDRA CASTRO FARRULLA                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   268237 LISANDRA CLAUDIO FIGUEROA                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   698167 LISANDRA COLON BERLINGERI                   HC 1 BOX 5284                                                                                                 OROCOVIS           PR         00720‐9701
          LISANDRA CONCEPCION
   698168 GONZALEZ                                    161 CALLE PEDRO ARZUAGA                                                                                       CAROLINA           PR         00985
   268241 LISANDRA CORCINO CUEVAS                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268242 LISANDRA CORDERO NIEVES                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268244 LISANDRA CRESPO CASTRO                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698170 LISANDRA CRUZ MARQUEZ                       EDIF TORRES APT 34        2844 AVE R D ROOSEVELT                                                              PONCE              PR         00717

   268245 LISANDRA DAVILA RODRIGUEZ                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268246 LISANDRA DEL RIO ROSA                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   268249 LISANDRA ECHEVARRIA LABOY                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          LISANDRA ECHEVARRIA
  1256638 MORALES                                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698172 LISANDRA ESPINELL                           HC 71 BOX 1211                                                                                                NARANJITO          PR         00719



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  698175 LISANDRA GARCIA RIVERA                       PO BOX 523                                                                                                     MAUNABO              PR           00707
  698176 LISANDRA GARCIA TORRES                       URB VALLE ARRIBA             245 CALLE SAUCE                                                                   COAMO                PR           00769

   698177 LISANDRA GONZALEZ GONZALEZ JARD DE BORINQUEN                             M 25 CALLE AZUCENA                                                                CAROLINA             PR           00985

   698178 LISANDRA GONZALEZ MORALES                   BOX 298                                                                                                        JUNCOS               PR           00777
   698179 LISANDRA GRACIA CRUZ                        HC 9 BOX 5148                                                                                                  SABANA GRANDE        PR           00673
   698180 LISANDRA GUTIERREZ REYES                    HC 2 BOX 6317                                                                                                  UTUADO               PR           00641

   268253 LISANDRA HERNANDEZ NIEVES                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698181 LISANDRA I CORDERO SOTO                     PO BOX 2566                                                                                                    ARECIBO              PR           00613
   268255 LISANDRA I OLIVIERI DAVILA                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698182 LISANDRA I REYES RAMOS                      C 19 JARD DE BUBAO                                                                                             UTUADO               PR           00641
   268256 LISANDRA I VIRUET PLAZA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   698185 LISANDRA LACOURT MONTALVO VILLAS DEL OESTE                               B 18 CALLE AIRES                                                                  MAYAGUEZ             PR           00680
   698186 LISANDRA LOPEZ GONZALEZ   HC 04 BOX 8260                                                                                                                   COMERIO              PR           00782
   268257 LISANDRA LUGO ALAGO       REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698187 LISANDRA M PAGAN MALAVE   BO LA SIERRA CARR 722                          KM 1 4                                                                            AIBONITO             PR           00705

   698188 LISANDRA M SALAZAR SERRANO                  P O BOX 252                                                                                                    UTUADO               PR           00641
   268258 LISANDRA M. GUZMAN SOTO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          LISANDRA MALDONADO DE
   268259 LEON                                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   268260 LISANDRA MALDONADO PENA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   698189 LISANDRA MALDONADO REYES                    HC 4 BOX 14960 B                                                                                               ARECIBO              PR           00612
   268262 LISANDRA MARQUEZ TORRES                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   268263 LISANDRA MARTES VIERA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   698190 LISANDRA MARTINEZ LOPEZ                     COND EL PORTAL DE LA REINA   APT 1805                                                                          SAN JUAN             PR           00924
   268264 LISANDRA MATOS BORGES                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   698192 LISANDRA MAYSONET SANTOS                    REP LA PRADERA               BZ 3 CARRET 686                                                                   VEGA BAJA            PR           00693
   698193 LISANDRA MENA COLON                         HC 3 BOX 12065                                                                                                 UTUADO               PR           00641

   268265 LISANDRA MERCADO FIGUEROA                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   268266 LISANDRA MONTES CINTRON                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698196 LISANDRA MONTES SANTIAGO                    PO BOX 382                                                                                                     CIALES               PR           00638
   698197 LISANDRA MORALES LAVERO                     HC 1 BOX 5585                                                                                                  HORMIGUEROS          PR           00660
   268268 LISANDRA ORTIZ CRUZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698198 LISANDRA ORTIZ MARRERO                      HC 1 BOX 5071                                                                                                  OROCOVIS             PR           00720
   698200 LISANDRA ORTIZ RODRIGUEZ                    B 6 LA MILAGROSA                                                                                               ARROYO               PR           00714
   698201 LISANDRA OTERO NIEVES                       PO BOX 1163                                                                                                    CIDRA                PR           00739
   268269 LISANDRA PENA MONTES                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698202 LISANDRA PEREZ BURGOS                       HC 1 BOX 3778                                                                                                  COROZAL              PR           00783
   268270 LISANDRA PEREZ MUNIZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   268272 LISANDRA PEREZ PEREZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   268273 LISANDRA PEREZ RIVERA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   268274 LISANDRA PINA ALVAREZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   268275 LISANDRA QUILES MERLY                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698204 LISANDRA RAMIREZ MOLINA                     146 SECTOR MONROIG                                                                                             ARECIBO              PR           00612
   698205 LISANDRA RAMOS VELEZ                        HC 05 BOX 54728                                                                                                HATILLO              PR           00659



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  698207 LISANDRA REYES RIVERA                        URB VILLA ORIENTE        F 96                                                                             HUMACAO              PR           00791
  698208 LISANDRA RIOS FIGUEROA                       LAS AMERICAS             DD 32 CALLE 9                                                                    BAYAMON              PR           00959
  698209 LISANDRA RIVERA ABREU                        HC 02 BOX 7443                                                                                            FLORIDA              PR           00650

   268277 LISANDRA RIVERA CANDELARIA                  REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698210 LISANDRA RIVERA GARCIA                      PO BOX 240                                                                                                JUNCOS               PR           00777
   698212 LISANDRA RIVERA MOLINA                      PO BOX 2031                                                                                               VEGA ALTA            PR           00692

   698213 LISANDRA RIVERA RODRIGUEZ                   HC 83 BOX 6939                                                                                            VEGA ALTA            PR           00692‐9512
          LISANDRA RODRIGUEZ
   268280 CARRASQUILL                                 REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698214 LISANDRA RODRIGUEZ CRUZ                     P O BOX 5151                                                                                              VEGA ALTA            PR           00692

   698215 LISANDRA RODRIGUEZ MARRERO URB ROYAL GARDENS                         C 10 CALLE BLANCA                                                                BAYAMON              PR           00957
          LISANDRA RODRIGUEZ
   268282 MARTINEZ                   REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   268284 LISANDRA RODRIGUEZ NUNEZ   REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698216 LISANDRA ROMAN ASTACIO     HC 1 BOX 7444                                                                                                              LUQUILLO             PR           00773
   698217 LISANDRA ROMAN RIVERA      VICTOR ROJAS I                            37 CALLE ATOCHA                                                                  ARECIBO              PR           00612
          LISANDRA ROSARIO
   268285 MALDONADO                  REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   268286 LISANDRA ROSARIO MOLINA    REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          LISANDRA SAAVEDRA
   698219 HERNANDEZ                  HC 1 BOX 8049                                                                                                              HATILLO              PR           00659

   698220 LISANDRA SANJURJO RODRIGUEZ PO BOX 1042                                                                                                               CANOVANAS            PR           00729
   698221 LISANDRA SANTIAGO GARCIA    P O BOX 1983                                                                                                              RIO GRANDE           PR           00745

   268287 LISANDRA SANTIAGO MARRERO                   REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698223 LISANDRA SANTIAGO RIVERA                    COND ALBORADA APT 4111                                                                                    BAYAMON              PR           00959
   268288 LISANDRA SANTOS COLON                       REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698224 LISANDRA SANTOS GONZALEZ                    BOX 419                                                                                                   CIDRA                PR           00739
   698225 LISANDRA SANTOS PEREZ                       BO RABANAL               BOX 2944                                                                         CIDRA                PR           00739
   698226 LISANDRA SOTO RODRIGUEZ                     P O BOX 884                                                                                               SABANA HOYOS         PR           00688
   698227 LISANDRA SOTO TORRES                        BARRIO JAREALITO         267 CALLE 2                                                                      ARECIBO              PR           00612
   268290 LISANDRA TARAFA ORTIZ                       REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   268291 LISANDRA TEXIDOR MONTANEZ                   REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698228 LISANDRA TIRADO OTERO                       P O BOX 137                                                                                               CIALES               PR           00638

   268292 LISANDRA TORRES MONTENEZ                    REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   268293 LISANDRA TORRES RIVERA                      REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   268294 LISANDRA TORRES RUIZ                        REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698229 LISANDRA TORRES TORRES                      HC 01 BOX 5843                                                                                            OROCOVIS             PR           00720
   698231 LISANDRA VAZQUEZ FERRER                     LA DOLORES               124 CALLE BRASIL                                                                 RIO GRNDE            PR           00745
          LISANDRA VAZQUEZ
   698232 MALDONADO                                   PO BOX 926                                                                                                COMERIO              PR           00782
   268296 LISANDRA VELEZ GONZALEZ                     REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   268298 LISANDRO DE LEON ACOSTA                     REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   268299 LISANDRO DUMENG MARTINEZ                    REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698233 LISANDRO LOPEZ ALVARADO                     PO BOX 1539                                                                                               VILLALBA             PR           00766
   698234 LISANDRO MENDEZ MORALES                     HC 2 BOX 24476                                                                                            AGUADILLA            PR           00603



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   268300 LISANDRO MORALES VAZQUEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   268301 LISANDRO NATAL BATISTA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   698236 LISANDRO PAGAN ORTA                         HC 01 4130                                                                                                          LARES                PR           00669
   698237 LISANDRO RAMOS VERA                         145 CALLE FELIPE N SOTO                                                                                             SAN SEBASTIAN        PR           00685
   698238 LISANDRO REYES HERNANDEZ                    P O BOX 924                                                                                                         BARCELONETA          PR           00617

   698239 LISANDRO SALABERRY GRANELA                  URB ALTURAS DE VEGA BAJA    Z 23 CALLE AA                                                                           VEGA BAJA            PR           00693
   698240 LISANDRO VEGA CASIANO                       PO BOX 1185                                                                                                         YAUCO                PR           00968
   698242 LISANDY GONZALEZ SOTO                       URB APRIL GARDENS           I 23 CALLE 14                                                                           LAS PIEDRAS          PR           00771
   268304 LISANIA A ALVAREZ DE JESUS                  REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   268305 LISANIA SERRANO RIVERA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   698243 LISANRA SANTIAGO MAYSONET                   C/ALTURAS 5569              RIO ABAJO                                                                               VEGA BAJA            PR           00693
   268307 LISANY E CARMONA RIVERA                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   268308 LISARA RIVERA GONZALEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   698244 LISARDO SANCHEZ PAREDES                     296 CALLE DESVIO                                                                                                    FAJARDO              PR           00738‐4337
   268309 LISAURA PENA CRUZ                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   698245 LISAURA SANTIAGO GONZALEZ                   HC 03 BOX 13227                                                                                                     UTUADO               PR           00641
   698246 LISAVETTE COLON SANCHEZ                     6 A 34 PUEBLO NUEVO                                                                                                 VEGA BAJA            PR           00693
   698247 LISAYLIS CRUZ DE LEON                       HC 44 BOX 14249                                                                                                     CAYEY                PR           00736
   268310 LISBEIDY RAMOS MARTINEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   268311 LISBEL SANTIAGO RIVERA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   268313 LISBET BASILIS RODRIGUEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   698250 LISBETH A ODUM DE RODRIGUEZ PO BOX 742                                                                                                                          ARECIBO              PR           00613
   698251 LISBETH AVILES CANDELARIA   URB RIVERAS DE CUPEY                        6 CALLE LIRIO                                                                           SAN JUAN             PR           00926

   698252 LISBETH BARETTI ORTIZ                       URB IDAMARIS GARDENS        26 L 12 CALLE CARLITOS RAMOS                                                            CAGUAS               PR           00725
   268315 LISBETH COLON RIVERA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   698248 LISBETH GONZALEZ MARTINEZ                   URB VILLA PRADES 637        CALLE JULIO C ARTEAGAS                                                                  SAN JUAN             PR           00924
   268316 LISBETH I GONZALEZ FOSTER                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   698255 LISBETH IRIZARRY RIOS                       165 BO LOS PINOS                                                                                                    UTUADO               PR           00641

   698256 LISBETH M REYES MARTINEZ                    232 AVE ELEONOR ROOSEVELT                                                                                           SAN JUAN             PR           00907
   698257 LISBETH M SANTOS                            RR 01 BOX 2927                                                                                                      CIDRA                PR           00739‐9610

   268317 LISBETH MARTÍNEZ MERCADO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   698258 LISBETH MEDINA REYES                        ALTURAS DE VILLALBA         220 CALLE MODESTO MELENDEZ                                                              VILLALBA             PR           00766
   698260 LISBETH NIEVES LUGO                         P O BOX 1095                                                                                                        CIALES               PR           00638
   698261 LISBETH PEREZ ROSADO                        HP ‐ FARMACIA                                                                                                       RIO PIEDRAS          PR           009360000
   698262 LISBETH RIVERA                              URB NUEVO MAMEYES           I 11 CALLE 8                                                                            PONCE                PR           00731
   698263 LISBETH RIVERA GONZALEZ                     RES ENRIQUE CATONI          EDF 7 APT 90                                                                            VEGA BAJA            PR           00693
   698264 LISBETH ROMAN MAYSONET                      VISTA VERDE                 11 CALLE BRAZIL                                                                         VEGA BAJA            PR           00693
   698265 LISBETH ROSALES GUZMAN                      URB BAYAMON GARDENS         N 53 CALLE 21 SUR                                                                       BAYAMON              PR           00957
   268319 LISBETH SOBERAL LOPEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   268320 LISBETH SOTO ROMAN                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   268321 LISBETH TORRES ALICEA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   268322 LISBETH VELEZ SANCHEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   698267 LISBETT FERNANDEZ                           HC 58 BOX 13110                                                                                                     AGUADA               PR           00602



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  698268 LISBETT SOTO MALDONADO                       HC 866 BOX 9749                                                                                               FAJARDO              PR           00738
  698269 LISCETT ALAMO TORRES                         HC 1 BOX 103                                                                                                  GURABO               PR           00778

   268359 LISDAIRA SERRANO MARTINEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   268361 LISDALIS GONZALEZ RODRIGUEZ                 REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   268362 LISDANET MOLINA CALDERO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   268363 LISDIAN ACEVEDO ROMAN                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698271 LISEL M VARGAS CRUZ                         URB RIO HONDO               J 3 CALLE RIO BAUTA                                                               BAYAMON              PR           00961
   698272 LISELA MARTINEZ TROCHE                      URB LOMAS VERDES            64 CALLE 11                                                                       MAYAGUEZ             PR           00680
   698273 LISELIA CONCEPCION                          P O BOX 21365                                                                                                 SAN JUAN             PR           00928‐1365
   268364 LISELIE REYES MARTINEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698274 LISELLY A SANTIAGO                          BO SAN ANTON PO BOX 6                                                                                         PONCE                PR           00717‐2246
   268365 LISELY MENDEZ RIVERA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   268366 LISETTE ACEVEDO RODRIGUEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698275 LISETTE ALGARIN FIGUEROA                    PO BOX 151                                                                                                    VILLALBA             PR           00766
   698276 LISETTE ARROYO RAMOS                        P O BOX 1304                                                                                                  GUAYAMA              PR           00785
   268367 LISETTE BERRIOS ORTIZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   698277 LISETTE BETANCOURT FIGUEROA VEGA BAJA LAKES                             K 35 CALLE 10                                                                     VEGA BAJA            PR           00693
   698278 LISETTE CASTRO LEBRON       P O BOX 372557                                                                                                                CAYEY                PR           00737
   698279 LISETTE CORDERO COBIAN      1 BDA PASARELL                                                                                                                COMERIO              PR           00782
   268368 LISETTE FERNANDEZ SANCHEZ   REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   268370 LISETTE FIGUEROA TRAVERSO   REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   268371 LISETTE GONZALEZ AYALA      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698280 LISETTE JUARBE MARIN        REPARTO METROPOLITANO                       SE 770 CALLE 41                                                                   SAN JUAN             PR           00921

   698281 LISETTE LAGARES SERRANO                     232 AVE ELEONOR ROOSEVELT                                                                                     SAN JUAN             PR           00907
   268373 LISETTE MARIE ORTIZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   268374 LISETTE MARRERO VALLADARES                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698282 LISETTE MORALES ORTIZ                       URB LAS AMERICAS            DD 13 CALLE 8                                                                     BAYAMON              PR           00959
   268377 LISETTE NIEVES FELICIANO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   268378 LISETTE OLMO SABATER                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   268379 LISETTE OQUENDO                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698283 LISETTE ORTIZ                               3950 CARR 176               98 GARDEN VALLEY CLB                                                              SAN JUAN             PR           00926
   268381 LISETTE RODRIGUEZ CAMPOS                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   698284 LISETTE RODRIGUEZ FERNANDEZ HC 04 BOX 49319                                                                                                               CAGUAS               PR           00725

   268382 LISETTE RODRIGUEZ MORALES                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   268383 LISETTE RODRIGUEZ QUINONES                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   268384 LISETTE SANTIAGO TORRES                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   268385 LISETTE TORRES FERNANDEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   268386 LISETTE V SEMIDEY CHELEUITTE                REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698286 LISETTE VELEZ TRUJILLO                      URB SAN GERARDO             1662 CALLE ALASICA                                                                SAN JUAN             PR           00926
   268387 LISETTE ZAMBRANA                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   698287 LISHA J TIRADO BARRERAS                     CON BOSQUE REAL             APTO 609                                                                          SAN JUAN             PR           00926
   698288 LISHA QUINTANA PLUMEY                       PO BOX 9021112                                                                                                SAN JUAN             PR           00902‐1112
   698289 LISHEILY VARGAS MENDOZA                     HC 02 BOX 11052                                                                                               HUMACAO              PR           000791



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  698290 LISHER M CINTRON RIVERA                      CASA LINDA VILLAGE     C 6 CALLE 3                                                                             GUAYNABO          PR           00969

   698291 LISIANNETTE LARACUENTE ORTIZ URB STARLINGT                         3116 CALLE PASEO                                                                        PONCE             PR           00717
   268388 LISIBELL SANTOS LOPEZ        REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   698292 LISICHELY COLON CRUZ         COLINAS DE FAIRVIEW                   4 Q 31 C/ 220                                                                           TRUJILLO ALTO     PR           00976
   268390 LISJOAN BAEZ VEGA            REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   698294 LISLIAN I RAMIREZ CALZADA    URB RIO PIEDRAS HEIGHTS               1725 CALLE THEIS                                                                        SAN JUAN          PR           00926
   698295 LISMABEL RIVERA ATILES       URB DEL CARMEN                        F 16 CALLE 6                                                                            CAMUY             PR           00627
   268391 LISMAR E URRUTIA SANTIAGO    REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   698296 LISMAR I RODRIGUEZ SILVA     PUERTO NUEVO                          1044 CALLE ALEJANDRO                                                                    SAN JUAN          PR           00920
   698297 LISMAR MATOS HERNANDEZ       URB VILLA CARMEN                      J 8 CALLE PONCE                                                                         CAGUAS            PR           00725
   698298 LISMARI ELICIER LEBRON       ESTANCIAS DEL SOL                     122 CALLE ESMERALDA                                                                     RIO GRANDE        PR           00745
   698299 LISMARI FLORES SANTIAGO      HC 01 BOX 5280                                                                                                                JUANA DIAZ        PR           00795
   698300 LISMARI RIVERA RIVERA        HC 01 BOX 4376                                                                                                                CIALES            PR           00638
   268393 LISMARIE AVILES GONZALEZ     REDACTED                              REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   698301 LISMARIE CARTAGENA ROSARIO BO MAMEYAL 76 A                         CALLE PRINCIPAL                                                                         DORADO            PR           00646

   268394 LISMARIE MARTINEZ CAMACHO                   REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   698303 LISMARIE MEDINA JIMENEZ                     VILLA ALEGRIA          126 CALLE DIAMANTE                                                                      AGUADILLA         PR           00603
   698304 LISMARIE PACHECO BAGUE                      HC 4 BOX 7272                                                                                                  COROZAL           PR           00783
   268395 LISMARIE RESTO DECLET                       REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   268396 LISMARIE RIVERA FONSECA                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   698302 LISMARIE RIVERA RODRIGUEZ                   184 E CALLE VIVAS                                                                                              PONCE             PR           00730 3513
   268397 LISMARIE RIVERA VEGA                        REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   268398 LISMARIE ROSA BOBE                          REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   268399 LISMARIE SANDOVAL BURGOS                    REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   268400 LISMARIE SEDA NATER                         REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   268401 LISMARIE TORRES OCASIO                      REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   268403 LISMARIEL DIAZ VERA                         REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   698305 LISMARIEL GARCIA GARCIA                     PO BOX 1162                                                                                                    ARECIBO           PR           00613
   268404 LISMARY BRITO MALDONADO                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   698306 LISMARY DAVILA OTERO                        PO BOX 12                                                                                                      VEGA BAJA         PR           00694
   268405 LISMARY MANGUAL ZAYAS                       REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   268406 LISMARY VILA COLON                          REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   268407 LISNEIDY PAGAN ROSA                         REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          LISOETTE MALDONADO
   698307 RODRIGUEZ                                   MAGUEYES               437 CALLE ANA M ONEILL                                                                  PONCE             PR           00731
   698308 LISPOLDO J. ORAMA ALVAREZ                   740 AVE. HOSTOS        EDIF. MEDICAL CENTER PLAZA   SUITE 108                                                  MAYAGUEZ          PR           00682
   698312 LISSA COLON MELENDEZ                        URB BRISAS DEL MAR     E A 12 CALLE E 2                                                                        LUQUILLO          PR           00773
   698311 LISSA E TORRES PEREZ                        URB REPARTO VALENCIA   AD 13 CALLE 5                                                                           BAYAMON           PR           00959
          LISSANDRA IVETTE CEDENO
   268421 TORRES                                      REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   268422 LISSANDRA RIVERA PEREZ                      REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   268423 LISSELLE M VILLARRUBIA OCASIO REDACTED                             REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   268424 LISSENID MARTINEZ LOPEZ       REDACTED                             REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   268425 LISSET ACEVEDO ROQUE          REDACTED                             REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   268426 LISSETE LOPEZ MEDINA          REDACTED                             REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   268427 LISSETTE ACEVEDO MARTINEZ     REDACTED                             REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   698319 LISSETTE AGUILAR GARCIA       HC 04 BOX 45703                                                                                                              HATILLO           PR           00659‐9713
   698320 LISSETTE ALVAREZ              P O BOX 575                                                                                                                  MOROVIS           PR           00687
   698317 LISSETTE ALVAREZ BRENES       89 CASTILLAS DEL MAR                                                                                                         CEIBA             PR           00735



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   268429 LISSETTE ALVAREZ RODRIGUEZ                  REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698321 LISSETTE ARCE TORRES                        BO ESPINAL BOX 1396                                                                                              AGUADA              PR           00602
   268430 LISSETTE ARROYO GALBAN                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268431 LISSETTE AVILES NIEVES                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698322 LISSETTE AVILES PAGAN                       PO BOX 1474                                                                                                      ARROYO              PR           00714

   698323 LISSETTE BABILONIA BABILONIA                COND VENUS PLAZA B APT 606    130 CALLE COSTA RICA                                                               SAN JUAN            PR           00917‐2518
   698325 LISSETTE BARRETO                            BOX 160                                                                                                          MOCA                PR           00676
   268433 LISSETTE BODON LABOY                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268434 LISSETTE BORGE OTERO                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698318 LISSETTE CALDERON                           RES VILLA ESPA¨A              EDIF 42 APT 438                                                                    SAN JUAN            PR           00921
   268435 LISSETTE CALDERON ARROYO                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268436 LISSETTE CAMACHO LEON                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268437 LISSETTE CAMACHO PEREZ                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698327 LISSETTE CARLO                              CARR 313 KM 1.7 INTERIOR      BO BALLAJA BUZON 516                                                               CABO ROJO           PR           00623
   268438 LISSETTE CARO BONET                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268439 LISSETTE CENTENO LOPEZ                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268440 LISSETTE COLON SALCEDO                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   698330 LISSETTE CORDOVA SANTIAGO                   COOP DE VIVIENDA EL ALCAZAR   APTO 5‐C                                                                           SAN JUAN            PR           00923
   698331 LISSETTE CORSOVA SANTIAGO                   PO BOX 9022118                                                                                                   SAN JUAN            PR           00902‐2118
   698332 LISSETTE CORTES JIMENEZ                     PO BOX 51272                                                                                                     TOA BAJA            PR           00950

   698333 LISSETTE CORTES PAGAN                       W 621 VILLAS DE CIUDAD JARDIN                                                                                    BAYAMON             PR           00957
   698334 LISSETTE CORUJO C/O CHUBB                   SECURITIES CORPORATION        502 EDIF ROYAL BANK                                                                SAN JUAN            PR           00917
   268441 LISSETTE CRESPO NIEVES                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268442 LISSETTE DIAZ OYOLA                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268443 LISSETTE DUCO JUARBE                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   268445 LISSETTE E VAZQUEZ RODRIGUEZ REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698335 LISSETTE E. ARACENA PEREZ    PROG. SERA BAYAMON                                                                                                              Hato Rey            PR           009360000
   268446 LISSETTE ESCOBAR MARTINEZ    REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698336 LISSETTE ESTREMERA DEIDA     HC 1 BOX 3477                                                                                                                   QUEBRADILLAS        PR           00678
   268447 LISSETTE FEBLES MEDINA       REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268448 LISSETTE FELIBERTI MEDINA    REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268449 LISSETTE FERNANDEZ MARIN     REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   698337 LISSETTE G VAZQUEZ SALAZAR                  URB VISTAMAR                  226 CALLE MURCIA                                                                   CAROLINA            PR           00983
   268450 LISSETTE GARCIA GARCIA                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LISSETTE GARCIA/ KENNETH
   268451 MARTINEZ                                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698339 LISSETTE GONZALEZ                           EXT EL COMANDANTE             460 CALLE SANTA MARIA                                                              CAROLINA            PR           00982
   268452 LISSETTE GONZALEZ ALVAREZ                   REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268453 LISSETTE GONZALEZ AYALA                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268454 LISSETTE GONZALEZ JIMENEZ                   REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   698341 LISSETTE GONZALEZ MARTINEZ                  VISTA ALEGRE                  1956 CALLE FORTUNA                                                                 PONCE               PR           00717

   698342 LISSETTE GUTIERREZ VAZQUEZ                  VALLE REAL CALLE CB‐1                                                                                            PONCE               PR           00731
   268455 LISSETTE GUZMAN PEREZ                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268457 LISSETTE HERNANDEZ LOPEZ                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268459 LISSETTE HERNANDEZ SOTO                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  698345 LISSETTE I CABRERA ROJAS                      URB LOS PINOS           A 8 CALLE 1                                                                           HUMACAO             PR           00791

   698346 LISSETTE INTRIAGO RODRIGUEZ                  HC 645 BOX 6291                                                                                               TRUJILLO ALTO       PR           00976
   268460 LISSETTE JIMENEZ                             REDACTED                REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   698347 LISSETTE JIMENEZ DAVILA                      LAS AMERICAS PROF CTR   400 DOMENECH SUITE 407                                                                SAN JUAN            PR           00918
   698348 LISSETTE JUARBE RAMOS                        HC 4 BOX 42389          CAIMITAL ALTO                                                                         AGUADILLA           PR           00603
   698349 LISSETTE LACOMBA                             PO BOX 366999                                                                                                 SAN JUAN            PR           00936‐6999
   268462 LISSETTE LOPEZ HILERIO                       REDACTED                REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   268463 LISSETTE LUGO COLON                          REDACTED                REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   268464 LISSETTE LUGO OSTOLAZA                       REDACTED                REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   268465 LISSETTE M AVILES CRESPO                     REDACTED                REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   698351 LISSETTE M JIMENEZ RODRIGUEZ VILLA ANDALUCIA                         JJ 20 CALLE FIGUEROA                                                                  RIO PIEDRAS         PR           00926
   698352 LISSETTE M MEDINA MU¥IZ      PO BOX 250268                                                                                                                 AGUADILLA           PR           00604‐0268

   268466 LISSETTE M MORENO ROMERO                     REDACTED                REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   268467 LISSETTE M QUINONES ALVAREZ REDACTED                                 REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   698355 LISSETTE MALDONADO OYOLA                     HC 01 BOX 10708                                                                                               ARECIBO             PR           00612

   698356 LISSETTE MALDONADO ROSADO HC 1 BOX 5862                                                                                                                    JUANA DIAZ          PR           00795
   268468 LISSETTE MARIN APONTE     REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                                               CALLE ANDRES NARVAEZ BUZON
   698360 LISSETTE MARQUEZ PAGAN       BO BARAHONA                             180                                                                                   MOROVIS             PR           00687
          LISSETTE MARTINEZ / JONATHAN
   698361 FIGUEROA                     PO BOX 1062                                                                                                                   AGUAS BUENAS        PR           00703
   698363 LISSETTE MEJIAS GOMEZ        HC 07 BOX 2308                                                                                                                PONCE               PR           00731‐9604

   268470 LISSETTE MELENDEZ CASTILLO                   REDACTED                REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   268471 LISSETTE MELENDEZ ORTIZ                      REDACTED                REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   268472 LISSETTE MELENDEZ QUINONES                   REDACTED                REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   268473 LISSETTE MIRANDA                             REDACTED                REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   268474 LISSETTE MORELL MACHUCA                      REDACTED                REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   268475 LISSETTE MUðOZ MEJIAS                        REDACTED                REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   268476 LISSETTE MULERO MARTINEZ                     REDACTED                REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   698364 LISSETTE OCASIO                              HC 2 BOX 6527                                                                                                 MOROVIS             PR           00638
   698365 LISSETTE ORTEGA MERCEDES                     URB ROSA MARIA          E 18 CALLE 4                                                                          CAROLINA            PR           00985

   698366 LISSETTE ORTIZ COLLAZO                       EL COMANDANTE           857 CALLE CARMEN HERNANDEZ                                                            SAN JUAN            PR           00924
   268479 LISSETTE ORTIZ ORTIZ                         REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   698368 LISSETTE ORTIZ RIVERA                        HC 2 BOX 7074                                                                                                 BARRANQUITAS        PR           00794
   268480 LISSETTE PADILLA PADILLA                     REDACTED                REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   698369 LISSETTE PEREZ COLON                         BO PALMARITO CENTRO     HC 06 BOX 15031                                                                       COROZAL             PR           00783
   268481 LISSETTE PEREZ FIGUEROA                      REDACTED                REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   268483 LISSETTE PEREZ MONTAZ                        REDACTED                REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   698370 LISSETTE PEREZ SOTO                          HC 73 BOX 5336                                                                                                NARANJITO           PR           00719
   268484 LISSETTE PINEIRO DELIZ                       REDACTED                REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   268485 LISSETTE PLANTEN MORA                        REDACTED                REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   268486 LISSETTE PONCE JAVIER                        REDACTED                REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   268487 LISSETTE PONCE VELEZ                         REDACTED                REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED       REDACTED




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   268488 LISSETTE PORTUONDO SOCIAS                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   698371 LISSETTE QUILES LUCIANO                     HC 01 BOX 4687                                                                                                  CAMUY               PR         00627
   698372 LISSETTE RAMIREZ RUIZ                       URB LAS AMERICAS          75 CALLE ARGENTINA                                                                    AGUADILLA           PR         00603
   698374 LISSETTE REVERON PEREZ                      P O BOX 13156                                                                                                   SAN JUAN            PR         00908
   268489 LISSETTE REYES MALAVE                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   698375 LISSETTE REYES MALDONADO                    43 AVE SAN JOSE                                                                                                 UTUADO              PR         00641

   698376 LISSETTE RIVERA CASTRO                      BO MOROVIS GUZMAN ABAJO   HC 02 BOX 19030                                                                       RIO GRANDE          PR         00745
   698377 LISSETTE RIVERA CORDERO                     BUENAVENTURA              212 CALLE CLAVEL BOX 631                                                              CAROLINA            PR         00987
   268490 LISSETTE RIVERA MATIAS                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   268491 LISSETTE RIVERA MONTANEZ                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   698379 LISSETTE RIVERA VALENTIN                    PO BOX 12365                                                                                                    SAN JUAN            PR         00926‐1365

   698381 LISSETTE RODRIGUEZ JIMENEZ                  PO BOX 357                                                                                                      SALINAS             PR         00751
   268492 LISSETTE RODRIGUEZ MATEO                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          LISSETTE RODRIGUEZ
   268494 RODRIGUEZ                                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   268495 LISSETTE ROLON COLLAZO                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   268496 LISSETTE ROMAN PEREZ                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   268498 LISSETTE ROSADO                             REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   268499 LISSETTE ROSARIO GUZMAN                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   698383 LISSETTE SALAMAN FERRER                     P O BOX 7428                                                                                                    SAN JUAN            PR         00916
   698386 LISSETTE SALAS HILLA                        COM MONTILLA BOX 7                                                                                              ISABELA             PR         00662

   268503 LISSETTE SANCHEZ RODRIGUEZ                  REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   268505 LISSETTE SANTANA SANCHEZ                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   268506 LISSETTE SANTOS MOLINA                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   698387 LISSETTE SERRANO RODRIGUEZ                  URB VILLA MARISOL         904 CALLE ALELI                                                                       TOA BAJA            PR         00952
   698388 LISSETTE SOTO GARCIA                        P O BOX 449                                                                                                     JAYUYA              PR         00664
   698389 LISSETTE SOTO VELAZQUES                     HC 02 BOX 12238                                                                                                 MOCA                PR         00676
   698390 LISSETTE T VARGAS VERA                      PO BOX 899                                                                                                      SAN SEBASTIAN       PR         00685
   698391 LISSETTE TORO VELEZ                         ESTANCIA DE GOLF CLUB     440 CALLE JACOBO MORALES                                                              PONCE               PR         00730
   268508 LISSETTE TORRES CANIZARES                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   268509 LISSETTE TORRES MELENDEZ                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   698393 LISSETTE TORRES ROJAS                       PO BOX 21365                                                                                                    SAN JUAN            PR         00928‐1365
   698395 LISSETTE VALLE RAMIREZ                      VICTOR ROJAS              N 153 CALLE 3                                                                         ARECIBO             PR         00618
   698396 LISSETTE VELEZ GONZALEZ                     RES LAS MARGARITAS        EDIF 17 APT 163                                                                       SAN JUAN            PR         00915
   698397 LISSETTE VERGARA GOMEZ                      PO BOX 607                                                                                                      GURABO              PR         00778
   698398 LISSETTE VIDOT SANTIAGO                     URB LAS PRADERAS 1246     CALLE PERLA                                                                           BARCELONETA         PR         00617
          LISSETTE VILLAVICENCIO
   698399 NEVAREZ                                     TERRALTA                  O 3 LAS GOLONDRINAS                                                                   GUAYNABO            PR         00969
   698400 LISSETTE VILLEGAS FONSECA                   PO BOX 626                                                                                                      NARANJITO           PR         00719
   268510 LISSETTE W SUAZO CATALA                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   698401 LISSETTE Y FIGUEROA SANCHEZ                 29 BDA LLUBERAS           HC 02 BOX 10204                                                                       YAUCO               PR         00698
   268511 LISSIE M GONZALEZ SANCHEZ                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   698404 LISSY A ESPINEL GARCIA                      HACIENDA DE CANVANA       651 CALLE PICAFLOR                                                                    CANOVANAS           PR         00729

   698405 LISSY I CARRASQUILLO AGOSTO                 PO BOX 1931                                                                                                     JUNCOS              PR         00777
   268512 Lissy Imports                               RR 03 Box 11030                                                                                                 Añasco              PR         00610
   268513 LIST SANDRA RIVERA MERLY                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  268514 LISTER POLANCO HERNANDEZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  268518 LISVETTE SALVA PEREZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  698407 LITA M CRUZ PAGAN                            REP DELICIAS                  NO 17                                                                                  HORMIGUEROS       PR         00660
  698408 LITANIA MELENDEZ ALMONTE                     722 CALLE LIPPIT                                                                                                     SAN JUAN          PR         00915
         LITERACY VOLUNTEERS OF
  698409 AMERICA                                      635 JAMES ST                                                                                                         SYRACUSE          NY         13203
  698411 LITHBETH LUGO VIRUET                         MARINA                        RF 12 CALLE BAHIA GUANICA                                                              TOA BAJA          PR         00962

   698412 LITSA K MERMIGAS CARTAGENA URB VILLAS BLANCO                              L 19 CALLE 11                                                                          CAGUAS            PR         00725

   268523 LITTLE ANGELS BARRANQUITAS                  PO BOX 99                                                                                                            BARRANQUITAS      PR         00794
   698413 LITTLE BODDIES CLUB                         VILLA CLEMENTINA              C 4 CAMINO ALEJANDRINO                                                                 GUAYNABO          PR         00969
   268524 LITTLE BRAINS INC                           PMB 225                       2000 CARR 8177 STE 26                                                                  GUAYNABO          PR         00966‐3762
   268525 LITTLE BROWN & CO.                          LAW DIV. SUBSCRIPTIONS        34 BEACON ST.               PO BOX 2158                                                BOSTON            MA         02106‐9987
   698414 LITTLE BROWN AND CO                         PO BOX 745                                                                                                           BOSTON            MA         02117
          LITTLE CASTLE CHILD CARE &
   268526 PRESCHOOL                                   6042 S EUCLID AVE                                                                                                    TUCSON            AZ         85706
   698415 LITTLE CITIZENS                             HERMANAS DAVILA               C 185 Y 186 AVE BETANCES                                                               BAYAMON           PR         00959

   698416 LITTLE CREEK DEVELOPMENT S E P O BOX 11805                                                                                                                       SAN JUAN          PR         00922‐1805

   268527 LITTLE FRIENDS DAY CARE CORP                URB JARD DE MONACO 11         A 6 CALLE ESPANA                                                                       MANATI            PR         00674
          LITTLE INACTION DAYCARE&
   268528 LEARNING CENTER                             URB SANTA JUANITA             TT 17 AVE LOMAS VERDE                                                                  BAYAMON           PR         00956
          LITTLE LAND LEARNING CENTER
   268529 CORP                                        LA COSTA GARDENS HOME         172 C/ ORQUIDEA                                                                        FAJARDO           PR         00738
          LITTLE LEAGUE OF PUERTO RICO
   268530 INC                                         705 CALLE DEL PARQUE PDA 23                                                                                          SAN JUAN          PR         00909
          LITTLE LEAGUES OF PR DIVISION
   268533 CHALLENGER                                  URB LAS LOMAS                 CALLE 2450 1677                                                                        SAN JUAN          PR         00921
          LITTLE PARADISE SCHOOL & DAY
   698417 CARE                                        474 CALLE BARBOSA                                                                                                    MOCA              PR         00676
   268534 LITTLE PEOPLE                               URB SANTA CRUZ                C 14 CALLE 3                                                                           BAYAMON           PR         00961
   268535 LITTLE PIECE OF HEAVEN                      PO BOX 30921                                                                                                         SAN JUAN          PR         00929
          LITTLE RAINBOW LEARNING
   268536 CENTER                                      P O BOX 80000 PMB 236                                                                                                ISABELA           PR         00662
   698418 LITTLE RANCH DAY CARE                       URB PARKVILLE                 G 13 AVE WASHINGTON                                                                    GUAYNABO          PR         00969

   268537 LITTLE RIVER MEDICAL CENTER                 7724 NORTH KINGS HWY                                                                                                 MYRTLE BEACH      SC         29572 0000

   268538 LITTLE STAR BUS SERVICE, INC.               PO BOX 1387                                                                                                          RIO GRANDE        PR         00745

   268539 LITTLE STAR BUS SERVICES INC                PO BOX 1387                                                                                                          RIO GRANDE        PR         00745
   268540 LITTLE STAR NURSERY                         VILLA NEVAREZ                 1005 CALLE 18                                                                          SAN JUAN          PR         00927
   268541 LITTLE TREE INC                             2175 AVE LAS AMERICAS                                                                                                PONCE             PR         00717
   268542 LITTLER MENDELSON PC                        P O BOX 45547                                                                                                        SAN FRANCISCO     CA         94145‐0547
          LITTMAN KROOKS ROTH & BAU
   698419 PC                                          655 THIRD AVE 20 FLOOR                                                                                               NEW YORK          NY         10017
                                                      268 AVE PONCE DE LEON SUITE
   268543 LITTON/PRC,INC.                             1120                                                                                                                 SAN JUAN          PR         00918‐2007

   268545 LITZ ARLEEN PRINCIPE RAMIREZ                REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   268546 LITZA AYALA NIEVES                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  698423 LITZA CRUZ RODRIGUEZ                          ROYAL TOWN                  2 54 CALLE 44                                                                    BAYAMON            PR         00956
  268547 LITZA D REYES CORDOVA                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  698425 LITZA LAYER ROJAS                             PATIOS DE REXVILLE          PA 2 CALLE 21                                                                    BAYAMON            PR         00957
  268548 LITZA M DIAZ HIELES                           REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  268549 LITZA M FIGUEROA ROSARIO                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  698421 LITZA M MEDINA REMESAL                        PO BOX 4                                                                                                     NARANJITO          PR         00719
  268550 LITZA M MONTAÐEZ SOLIS                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  268551 LITZA M MONTANEZ SOLIS                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  698426 LITZA M SERRANO RIVERA                        PO BOX 1465                                                                                                  UTUADO             PR         00641
  698427 LITZA M VEGA NIEVES                           URB CANA                    FF 8 CALLE 27                                                                    BAYAMON            PR         00956
  268552 LITZA M. VAZQUEZ PAGAN                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  268553 LITZA MIRANDA ALVAREZ                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  698422 LITZA N RIOS CRUZ                             PO BOX 345                                                                                                   VEGA ALTA          PR         00962
  698428 LITZA RIVERA NEGRON                           VILLA CAROLINA              149 26 CALLE 413                                                                 CAROLINA           PR         00985
  268554 LITZA RIVERA TORRES                           REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  698431 LITZAIDA SERRANO RIVERA                       URB PUERTO NUEVO            1356 CALLE 12 NW                                                                 SAN JUAN           PR         00920‐2232
  698432 LITZALEE CAMACHO VEGA                         URB LA RIVIERA              SE 1019 CALLE 7                                                                  SAN JUAN           PR         00921‐3125
  698433 LITZALY NEGRON PEREZ                          HC 2 BOX 8922                                                                                                COROZAL            PR         00783
  268556 LITZIE M FRANCO SANTIAGO                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  268557 LITZY VAZQUEZ MORALES                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  268558 LIU MD , EUGENE J                             REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         LIUDMILA MONTES DE OCA
  268559 CARTAYA                                       P O BOX 194535                                                                                               SAN JUAN           PR         00919‐4535
  268560 LIUDMILA ORTIZ MARRERO                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  268561 LIUMARIE CRUZ CRUZ                            REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  698434 LIURKA ORTIZ LEDESMA                          HC 01 BOX 2215                                                                                               BOQUERON           PR         00622
  268562 LIV J CUYAR BERMUDEZ                          REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  268563 LIV. J. CUYAR BERMUDEZ                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  698435 LIVANIS RIVERA PEREZ                          BO BEATRIZ BOX 5745                                                                                          CIDRA              PR         00739
         LIVERY OF PR INC/F & R CONST
  268566 GRUP INC                                      PO BOX 9932                                                                                                  SAN JUAN           PR         00908
  698437 LIVIA A DELGADO RAMOS                         ALTURAS DE FLAMBOYAN        D‐3 CALLE 5                                                                      BAYAMON            PR         00959
  698438 LIVIA ALICEA RIOS                             PO BOX 12                                                                                                    MOROVIS            PR         00687
  268568 LIVIA ALVARADO RODRIGUEZ                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   698441 LIVIA ALVAREZ                                COND PUERTA DEL SOL APT 810                                                                                  SAN JUAN           PR         00926‐2000
   268569 LIVIA B TORRES ORTIZ                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268570 LIVIA CORDERO GONZALEZ                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268571 LIVIA E LOPEZ RAMOS                          REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698442 LIVIA E ROVIRA DE FUSTER                     PO BOX 1378                                                                                                  GUAYAMA            PR         00785
   698443 LIVIA GONZALEZ AVILES                        2 EXT CALLE SOL                                                                                              SAN GERMAN         PR         00683
   698444 LIVIA HERNANDEZ BERNARD                      PO BOX 1454                                                                                                  MAYAGUEZ           PR         00681‐1454
   698445 LIVIA I GONZALEZ PEREZ                       132 BRISAS DEL MAR                                                                                           AGUADA             PR         00602
   698446 LIVIA J RIVERA FRESSE                        PO BOX 522                                                                                                   UTUADO             PR         00641

   698436 LIVIA M BERMUDEZ RIVERA                      138 AVE WINSTON CHURCHILL   SUITE 533                                                                        SAN JUAN           PR         00926
   268572 LIVIA M FELIX NAVEDO                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268573 LIVIA M ROSADO BERMUDEZ                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268574 LIVIA MIRO QUINONES                          REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698447 LIVIA ORTIZ MORI                             PO BOX 3069                                                                                                  SAN JUAN           PR         00698
   698448 LIVIA RIVERA ROSARIO                         P O BOX 329                                                                                                  SAN GERMAN         PR         00683‐0329
   268576 LIVIA SALDALA SEDA                           REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698449 LIVIA SANTIAGO PLAUD                         PO BOX 1503                                                                                                  GUAYAMA            PR         00785



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  268577 LIVIAN PEREZ ORENCH                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   268579 LIVING ICONS ENTERPRISES CORP PO BOX 1277                                                                                                                   SAN LORENZO         PR         00754
   698451 LIVIO PUIG II INC             P O BOX 6925                                                                                                                  CAGUAS              PR         00726
   268581 LIVIU C HERCUT                REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698452 LIXA E LAJARA PAGAN           VILLA NEVAREZ                              1082 CALLE 3                                                                       SAN JUAN            PR         00927
   268582 LIXA Y NIEVES MARCANO         REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698453 LIXAMARIE CAMACHO REYES       HC 3 BOX 11147                                                                                                                UTUADO              PR         00641

   268584 LIXANDER PEREIRA CLEMENTE                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   268585 LIXANDRA OSORIO FELIX                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   268586 LIXARIS BAUZA MARTINEZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   268587 LIXCEIRA VELEZ PEREZ                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   268589 LIZ A ALBINO MORALES                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   268590 LIZ A BURGOS RAMOS                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   268591 LIZ A FRECHEL RODRIGUEZ                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698458 LIZ A GRACIA MATOS                          URB SANTA TERESITA           42 CALLE O CU                                                                      PONCE               PR         00731

   268592 LIZ A HERNANDEZ FERNANDEZ                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698460 LIZ A MARQUEZ MINONDO                       PO BOX 1009                                                                                                     PATILLAS            PR         00723
   268593 LIZ A SANCHEZ MARCANO                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      BO BORINQUEN BZN 2119 RUTA
   698463 LIZ A SOTO RAMOS                            9                                                                                                               AGUADILLA           PR         00603
   698464 LIZ A TRUJILLO AGOSTO                       PO BOX 704                                                                                                      JUNCOS              PR         00777
   698465 LIZ A. GONZALEZ                             402 COND ROSARIO APT 219                                                                                        SAN JUAN            PR         00912
   268594 LIZ ACOSTA DELGADO                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698466 LIZ ALICIA AYALA                            COUNTRY CLUB                 JW A5 CALLE 220                                                                    CAROLINA            PR         00982
   268595 LIZ ANDREA ORTIZ QUINONEZ                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698467 LIZ ANN ZAYAS                               HC 01 BOX 4069                                                                                                  VILLALBA            PR         00766
   698456 LIZ ARCHILLA BETANCOURT                     URB CUIDAD JARDIN III        140 CALLE MALAGUETA                                                                TOA ALTA            PR         00953
   698468 LIZ BERNARD BARREIRO                        P O BOX 409                                                                                                     UTUADO              PR         00641

   698469 LIZ BETH Y ALVARADO TORRES                  7‐102 JARDINES DEL CARIBE                                                                                       PONCE               PR         00728
          LIZ BETZAIDA FELICIANO
   268596 CORDERO                                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698470 LIZ COLON MENDEZ                            PO BOX 73                                                                                                       COMERIO             PR         00782
   698471 LIZ D AMABLE FANTAUZZI                      RR BOX 3683                                                                                                     SAN JUAN            PR         00926‐9611
   698472 LIZ D BAEZ FRED                             B 7 COND CENTURY GADNS                                                                                          TOA BAJA            PR         00949
   268597 LIZ D CEPEDA HERNANDEZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   268598 LIZ D LABRADOR RIVERA                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   268599 LIZ D QUINONES RODRIGUEZ                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698473 LIZ DAMARIS MORALES CRUZ                    URB VERDOR                   30 BOX 18                                                                          HORMIGUEROS         PR         00660

   268601 LIZ DAMARIS RODRIGUEZ LOPEZ                 REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   268602 LIZ DE LEON BAEZ                            REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   268604 LIZ DIANA RUZ FRANCO                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   268605 LIZ DIANN LOPEZ LACEN                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   268607 LIZ DIEPPAN GARCIA                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   268608 LIZ E DUPREY SANTIAGO                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   268609 LIZ E. RIVERA RIVERA                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   268610 LIZ FUENTES RIVERA                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698475 LIZ G ROJAS PEREZ                           214 VILLAS DE SAN JOSE                                                                                          CAYEY               PR         00736
   268611 LIZ GARCIA MARTINEZ                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  268612 LIZ GRISELLE MERCADO VEGA                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  268613 LIZ H FELICIANO VELEZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  698478 LIZ I GONZALEZ SANCHEZ                        PO BOX 14161                                                                                                    SAN JUAN            PR         00916
  268614 LIZ J CALLEJO ORENGO                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  698479 LIZ J DE JESUS ACEVEDO                        BO OBRERO                  692 CALLE EL NENE                                                                    SAN JUAN            PR         00915
         LIZ J DE LA VEGA/ JOHANNA DE
  268615 WINDT                                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  268616 LIZ J HERNANDEZ BORRERO                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  268617 LIZ J MATTAS ORTIZ                            REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  268619 LIZ J MORALES ACEVEDO                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  268620 LIZ J MUNOZ CAMPS                             REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  268621 LIZ J PAGAN RIVERA                            REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  698481 LIZ J PEREZ SANTIAGO                          P O BOX 9578                                                                                                    ARECIBO             PR         00613
  698482 LIZ J RIVERA VAZQUEZ                          HC 01 BOX 26903                                                                                                 CAGUAS              PR         00725 8933
  698483 LIZ J ROSADO GONZALEZ                         HC 03 BOX 16751                                                                                                 COROZAL             PR         00783
  268622 LIZ J. MATIAS ORTIZ                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         LIZ JANICE HERNANDEZ
  268623 BORRERO                                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   268624 LIZ JANNETTE LEON LAUREANO                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   268625 LIZ JOAN MORALES RAMOS                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   268626 LIZ JOHANNA ORTIZ LAUREANO                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698484 LIZ K MARENGO MONTOYO                        PO BOX 1135                                                                                                     ARECIBO             PR         00688
   698485 LIZ M BETANCES FIGUEROA                      URB RIVERSIDE PARK         E 13 CALLE 1                                                                         BAYAMON             PR         00961
   268627 LIZ M CANDELARIO GARCIA                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   268628 LIZ M CARTAGENA ORTIZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   268629 LIZ M CAUTINO ACABAO                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698486 LIZ M CHAPARRO GALLOZA                       205 CALLE SAN FRANCISCO                                                                                         AGUADA              PR         00602
   698487 LIZ M CRUZ JIMENEZ                           ALT DE TORRIMAR            11 6 CALLE 3                                                                         GUAYNABO            PR         00969
   268630 LIZ M CRUZ PEREZ                             REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698488 LIZ M DEDOS GONZALEZ                         P O BOX 21365                                                                                                   SAN JUAN            PR         00918
   698489 LIZ M FONTAN CATALA                          RES VILLA ESPERANZA        EDIF 15 APT 213                                                                      SAN JUAN            PR         00926
   698491 LIZ M LACEN TAPIA                            RES MANUEL A PEREZ         EDIF B 2 APTO 16                                                                     SAN JUAN            PR         00923
   268631 LIZ M LAMBOY LOPEZ                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698493 LIZ M MERCADO ROLON                          C M 1 DOCTOR CARBONELL                                                                                          TOA BAJA            PR         00949
   698494 LIZ M MERCADO ROSA                           HC 3 BOX 35501                                                                                                  MOCA                PR         00676
   268633 LIZ M MERCADO VELEZ                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698495 LIZ M NIEVES CANCEL                          P O BOX 19101                                                                                                   SAN JUAN            PR         00910
   268634 LIZ M ORTEGA LOPEZ                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698496 LIZ M ORTIZ LOPEZ                            URB REINA DE LOS ANGELES   M 17 CALLE 7                                                                         GURABO              PR         00778
   698497 LIZ M PADILLA ORTIZ                          BO LOMAS JAGUAS            CARR 164 KM 8 5                                                                      NARANJITO           PR         00719
   698498 LIZ M PEREZ MEDINA                           BO TIBES                   KM 8 2                                                                               PONCE               PR         00731
   268635 LIZ M PUCHALES TORRES                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   268636 LIZ M QUEZADA BERMUDEZ                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   268637 LIZ M RAMIREZ ROJAS                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   268638 LIZ M RESTO                                  REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698499 LIZ M RIJOS NEGRON                           BO CAMPANILLA              PARC 15 CALLE PRINCIPAL                                                              TOA BAJA            PR         00949
   698500 LIZ M RODRIGUEZ AQUINO                       HC 4 BOX 44005                                                                                                  LARES               PR         00669
   698501 LIZ M RODRIGUEZ VEGA                         PO BOX 461                                                                                                      SABANA GRANDE       PR         00637
   268642 LIZ M TRAVERSO CACERES                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   268643 LIZ M VALENTIN LOPEZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698502 LIZ M VAZQUEZ ROSARIO                        LOMAS VERDES               4 P 10 CALLE PASCUA                                                                  BAYAMON             PR         00956



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  268644 LIZ M VELEZ ROMERO                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  268645 LIZ M. ALICEA TOLEDO                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  268646 LIZ M. CABAN CABAN                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  698503 LIZ M. RIVERA PEREZ                          HP ‐ UTILIZACION                                                                                               RIO PIEDRAS        PR         009360000
  268647 LIZ M. RIVERA RODRIGUEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  268648 LIZ M. VAZQUEZ TORRES                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  698506 LIZ MARIE BURGOS GUZMAN                      PMB 225 P O BOX 6400                                                                                           CAYEY              PR         00737
  268649 LIZ MARIE CORTES CAMACHO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  268650 LIZ MARIE COTTO GONZALEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  268651 LIZ MARIE FIGUEROA PAGAN                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   268652 LIZ MARIEL BERMUDEZ COLON                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698507 LIZ MARIELA RUIZ RIVERA                     HC 764 BOX 8118                                                                                                PATILLAS           PR         00723
   268653 LIZ MARITZA LOPEZ MUNIZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698508 LIZ MARY FELIU RODRIGUEZ                    HC 04 BOX 23100                                                                                                LAJAS              PR         00667‐9507
   268654 LIZ MAURA FUENTES ORTIZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698510 LIZ MAYSONET MORALES                        R R 01 BOX 12542                                                                                               TOA ALTA           PR         00953
                                                      VILLAS BLANCAS APARTMENS
   698511 LIZ MEDINA PEREZ                            APTO.406                                                                                                       CAGUAS             PR         00725
   268655 LIZ MELANIE COLON ALICEA                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268656 LIZ MELENDEZ GONZALEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268657 Liz Mercado Rolon                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268658 LIZ MERCADO ZAYAS                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698512 LIZ MILLAN TORRES                           200 AVE LOS CHALETS BOX 86                                                                                     SAN JUAN           PR         00926
   268659 LIZ N CANDELARIO PEREZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   268660 LIZ N RODRIGUEZ MALDONADO                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268661 LIZ N VAZQUEZ TIRADO                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268662 LIZ N ZAYAS LEON                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698513 LIZ NEIDA INECIA FRANCO                     RES ALT DE CUPEY             EDF 23 APT 242                                                                    SAN JUAN           PR         00925
   268663 LIZ NEL RODRIGUEZ TAPIA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268664 LIZ NIEVES FIGUEROA                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698514 LIZ O SANO RODRIGUEZ                        P O BOX 837                                                                                                    CANOVANAS          PR         00729
   268665 LIZ OMARY LOPEZ CARDONA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268666 LIZ RAMOS CRUZ                              REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      COMUNIDAD CANDARAS 2 BZN
   698515 LIZ RIVERA BLANCO                           52‐A                                                                                                           CIDRA              PR         00739
   268667 LIZ ROSARIO CALDERON                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698516 LIZ ROSARIO NEGRON                          PO BOX 941                                                                                                     JUANA DIAZ         PR         00795
   268668 LIZ S ALDEA FIGUEROA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268669 LIZ S AYALA LUNA                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268670 LIZ S. ALDEA FIGUEROA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268672 LIZ SOTO CALDERON                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268673 Liz T. Maldonado Velazquez                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698517 LIZ TEJADA MARTINEZ                         PO BOX 833                                                                                                     LAJAS              PR         00667‐0833
   268674 LIZ V PEREZ MORALES                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698518 LIZ V ROQUE SOBRADO                         P O BOX 45                                                                                                     TRUJILLO ALTO      PR         00977
   698520 LIZ VAZQUEZ ALICEA                          HC 3 BOX 7194                                                                                                  HUMACAO            PR         00791
   698521 LIZ VAZQUEZ MATOS                           P O BOX 5223                                                                                                   CAROLINA           PR         00984
   268675 LIZ Y ALVARADO RIVERA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   698522 LIZ Y APONTE LLITERAS                       PO BOX 183                                                                                                     MANATI             PR         00674‐0183
   268676 LIZ Y BERRIOS NEGRON                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   268677 LIZ Y CARDONA PERALES                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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MML ID                 NAME                                      ADDRESS 1                     ADDRESS 2                     ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  698524 LIZ Y GUADALUPE DE JESUS                      61 CALLE BDA FERRAN                                                                                                   PONCE             PR         00731
  268678 LIZ Y PEREZ ROSA                              REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  698525 LIZ Y QUILES COLON                            PO BOX 136                                                                                                            JAYUYA            PR         00664
  268679 LIZ Y RODRIGUEZ GONZALEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  268680 LIZ Y RODRIGUEZ MONTANEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  268681 LIZ Y SANTANA RODRIGUEZ                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  268682 Liz Y. Guadalupe de Jesús                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  268683 LIZ YAJAIRA FLORES MORALES                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  698526 LIZ YARIE CRUZ                                HC 3 BOX 41468                                                                                                        CAGUAS            PR         00725‐9743
  268684 LIZ ZAYMARA LACEN MILIAN                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  268686 LIZA A MARRERO DELGADO                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  698528 LIZA A. RIOS RAMIREZ                          PO BOX 586                                                                                                            RINCON            PR         00677
  698529 LIZA ALGARIN NARVAEZ                          URB DEL PILAR                102 CALLE PEPITA ALBANDOZ                                                                CANOVANAS         PR         00729
  268687 LIZA BAEZ BURGOS                              REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  268688 LIZA C. MARRERO DELGADO                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  268689 LIZA CHICO ALBOLEDA                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  698531 LIZA COLON BENGOA                             URB GUANAJIBO HOMES          599 BLVD GUANAJIVO                                                                       MAYAGUEZ          PR         00682
  268690 LIZA COLON PARILLA                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  268691 LIZA CORTES FERNANDEZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  268692 LIZA CRISTINA VIEJO LOPEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  698532 LIZA CRUZ MOJICA                              PO BOX 1906                                                                                                           COROZAL           PR         00783
  268693 LIZA D. GONZALEZ BENITEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  268695 LIZA DE GONZALEZ BENITEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  698534 LIZA DE JESUS MONGE                           RR 36 BOX 1460                                                                                                        SAN JUAN          PR         00926
  268696 LIZA DIAZ GONZALEZ                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  268697 LIZA E ALGARIN MARIANI                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  268698 LIZA E DAVILA RUIZ                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                       LAURELES APTS EDIF 22 APTO
   698536 LIZA E VELEZ HOWARD                          2202                         AVE LOMAS VERDES                                                                         BAYAMON           PR         00956
   268699 LIZA E. SAN MIGUEL MONTES                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   698537 LIZA F LOPEZ PEREZ                           COND CARIBBEAN TOWER         APT 306 MIRAMAR                                                                          SAN JUAN          PR         00913
   698538 LIZA FERNANDEZ ARROYO                        P O BOX 9226                                                                                                          CAGUAS            PR         00726
   698539 LIZA GARCIA ROSADO                           DORAVILLE SEC 2              4 7 CALLE 3                                                                              DORADO            PR         00646
   268700 LIZA GOMEZ SANTANA                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   268702 LIZA H CARMENELLI JANER                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   268703 LIZA HERGER                                  REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          LIZA HERNANDEZ FOR ISMAEL
   268704 HERNANDEZ                                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   698540 LIZA I ERAZO RODRIGUEZ                       URB TERRACE DE FAIR VIEW     5 A 10 CALLE 51                                                                          SAN JUAN          PR         00926
   698541 LIZA I MARTINEZ CRESPO                       19 CALLE MIRADERO                                                                                                     AGUADA            PR         00602
   268705 LIZA I PEREZZA MARTINEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   268706 LIZA IVETTE MILLAN PEREZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   268707 LIZA J ALVARADO TORRECH                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   698543 LIZA J PEREZ VARGAS                          HC 02 BOX 20676                                                                                                       MAYAGUEZ          PR         00680
   268708 LIZA JUARBE FRANCESCHINI                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   698546 LIZA JUARBE HERRERA                          COND LOS LIRIOS              PDA 18 APT 6 O                                                                           SAN JUAN          PR         00907
   268709 LIZA L ROSADO RODRIGUEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   268710 LIZA M ALEJANDRO CORDERO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   698547 LIZA M BABILONI                              HC 2 BOX 8451                                                                                                         YABUCOA           PR         00767
   268711 LIZA M CRUZ SANTIAGO                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   698549 LIZA M DE JESUS CRUZ                         ROSADELDA LEVITTOWN          EA 25 CALLE ROSA DE FRANCIA                                                              TOA BAJA          PR         00949
   698551 LIZA M FIGUEROA TIRADO                       P O BOX 595                                                                                                           ARROYO            PR         00714



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  698552 LIZA M GALLARDO                              PO BOX 902‐0907                                                                                                    SAN JUAN            PR         00902‐0907
  268714 LIZA M GARCIA VELEZ                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  268717 LIZA M GONZALEZ NUNEZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   698553 LIZA M GONZALEZ RODRIGUEZ                   PO BOX 1058                                                                                                        BAJADERO            PR         00616
   268718 LIZA M JIMENEZ ORENGO                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   698554 LIZA M MATOS LAGO                           BAIROA PARK                J 9 CALLE PARQUE DE LA LUZ                                                              CAGUAS              PR         00727
   698555 LIZA M MEDINA MARTINEZ                      COND LA PLAYA              EDIF B APT 101                                                                          ARECIBO             PR         00612
   698527 LIZA M MONTERO AYALA                        PO BOX 372                                                                                                         JAYUYA              PR         00664
   268719 LIZA M MORALES MORALES                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   698556 LIZA M NEGRON                               JARDINES DE CANOVANAS      E 17 CALLE PEPITA ALBANDOZ                                                              CANOVANAS           PR         00729
   268720 LIZA M OCASIO TACORONTE                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   268721 LIZA M ORTIZ CAMACHO                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   268722 LIZA M PAGAN CORREA                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   698558 LIZA M PAULO MALAVE                         JDNES DE PARQUE ESCORIAL   APT 5004                                                                                CAROLINA            PR         00987

   698559 LIZA M RAMIREZ DE ARELLANO                  LAS CUMBRES                333 CALLE SAN JUAN                                                                      SAN JUAN            PR         00926
   698560 LIZA M RAMOS DIAZ                           PO BOX 140441                                                                                                      ARECIBO             PR         00614
   698561 LIZA M RAMOS RODRIGUEZ                      4 CALLE FLORIDA                                                                                                    BARRANQUITAS        PR         00794
   268723 LIZA M RIVERA GONZALEZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  1256639 LIZA M RIVERA LUGO                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   268724 LIZA M RODRIGUEZ MENDEZ                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   268725 LIZA M RODRIGUEZ RODRIGUEZ                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   268727 LIZA M SANTIAGO SANTIAGO                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   268728 LIZA M TORRES ARCE                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   698565 LIZA M VELEZ MENDEZ                         HC 07 BOX 32634                                                                                                    HATILLO             PR         00659
          LIZA M. FIGUEROA
   268729 CARRASQUILLO                                REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   268731 LIZA M. MOCTEZUMA ALICEA                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   268732 LIZA M. SOTO DECLET                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          LIZA M. VELEZ FIGUEROA, LIZA
   268733 M.                                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   268734 LIZA M. VILLAFANE OCASIO                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   268735 LIZA MARCHEU                                REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   268736 LIZA MARIE CLAUDIO VAZQUEZ                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   698570 LIZA MARIE CONTY SOTO                       URB VICTORIA               13 CALLE TULIPAN                                                                        AGUADILLA           PR         00603
   268737 LIZA MARIE MORALES ORTIZ                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          LIZA MARIEL RODRIGUEZ
   268738 RODRIGUEZ                                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   698571 LIZA MARQUEZ                                RR 36 BOX 1187                                                                                                     SAN JUAN            PR         00926
   268739 LIZA MICELLI                                REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   268740 LIZA MIREYA NATAL RODRIGUEZ REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   698573 LIZA N MELENDEZ VELAZQUEZ                   MIRADOR DE BAIROA          T31 CALLE 24                                                                            CAGUAS              PR         00725
   268741 LIZA NAZARIO RODRIGUEZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   698574 LIZA O OLIVERAS RIVERA                      URB MADELINE               N 6 CALLE AMATISTA                                                                      TOA ALTA            PR         00953
   268743 LIZA OTANO                                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   698575 LIZA PADILLA ILARRAZA                       URB LOMAS VERDES           2 P‐20 CALLE GIRASOL                                                                    BAYAMON             PR         00956
   268744 LIZA PEREZ RIVERA                           REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   268745 LIZA QUINONES VAZQUEZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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MML ID                NAME                                      ADDRESS 1                     ADDRESS 2              ADDRESS 3                           ADDRESS 4               CITY        STATE    POSTAL CODE       COUNTRY
  268746 LIZA R BERMUDEZ COTTO                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  268747 LIZA RIOS RODRIGUEZ                           REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  698578 LIZA RIVERA ACOSTA                            URB CERRO GORDO HLS          13 CALLE RAUL JULIA                                                              VEGA ALTA            PR         00692
         LIZA ROSADO LOPEZ / SRI
  268748 EMERGY LLC                                    LOS ARBOLES                  Q 8 CALLE 504                                                                    RIO GRANDE           PR         00745
  698579 LIZA RUIZ RUIZ                                URB SANTA JUANA              A 20 CALLE 3                                                                     CAGUAS               PR         00725

   698580 LIZA V FERNANDEZ ROSSELLI                    1506 CALLE MARTIN TRAVIESO                                                                                    SAN JUAN             PR         00911
   698581 LIZA V MARTINEZ CARABALLO                    URB ARROYO DEL MAR           129 CALLE CARIBE                                                                 ARROYO               PR         00714
   268749 LIZA V. SANTANA DAVILA                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   268750 LIZA Y RIVERA COLON                          REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   268752 LIZABEL RAMOS CHEVERE                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   698584 LIZABEL RIVERA ROLON                         P O BOX 1248                                                                                                  MOROVIS              PR         00687
   698586 LIZABETH OCASIO SOTO                         BAYAMON GARDENS              APTO 2112                                                                        BAYAMON              PR         00956
          LIZABETH RODRIGUEZ
   268753 OPPENHAIMER                                  REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   268754 LIZADAMARIS MUNIZ GONZALEZ                   REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   698587 LIZADELLE FLORES VELEZ                       597 CALLE MADRID                                                                                              YAUCO                PR         00698
   268755 LIZAHILY TORRES SERRANO                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   698588 LIZAIDA BERRIOS FLORES                       HC 3 BOX 5843                                                                                                 HUMACAO              PR         00791
   698589 LIZAIDA CAMACHO RIVERA                       RR 2 BOX 5605                                                                                                 TOA BAJA             PR         00953
   268756 LIZAIDA E RIVERA CARRER                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   268757 LIZAIDA HERNANDEZ ALVAREZ                    REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   698590 LIZAIDA LOPEZ PADILLA                        URB SAN RAMON                1979 CALLE SAUCO                                                                 GUAYNABO             PR         00969‐3938
   698592 LIZAIDA LUGO RIVERA                          RR 36 BOX 930                                                                                                 SAN JUAN             PR         00926

   268759 LIZAIDA MELENDEZ MELENDEZ                    REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   268760 LIZAIDA NOGUE JIMENEZ                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   268761 LIZAIDA REYES CORTES                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   268762 LIZAIDA RIVERA MARTINEZ                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   698594 LIZAIDE RODRIGUEZ                            PO BOX 1087                                                                                                   CIDRA                PR         00739‐1087
   698595 LIZAINA I NORIEGA CORTES                     HC 04 BOX 46343              CAIMITAL ALTO                                                                    AGUADILLA            PR         00603

   268763 LIZAINELL RAMIREZ GONZALEZ                   REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   268764 LIZAIRA QUIJANO FIGUEROA                     REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   698597 LIZAIRY AVILES GONZALEZ                      URB LAS COLINAS              64 CALLE 1                                                                       VEGA ALTA            PR         00692
   698598 LIZALER RODRIGUEZ LOPEZ                      BRISAS DEL MAR               E 02 CALLE E 10                                                                  LUQUILLO             PR         00773
   698599 LIZAMAR COLON OCASIO                         PO BOX 1111                                                                                                   GUAYAMA              PR         00785
   268765 LIZAMAR SANJURJO CORREA                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          LIZAMARIE NEGRON
   698600 MALDONADO                                    HC 1 BOX 3396                                                                                                 UTUADO               PR         00641
   268766 LIZANABELLE TORRES TORRES                    REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   268769 LIZANDRA ARROYO RODRIGUEZ                    REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   268771 LIZANDRA CARRERO AVILES                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          LIZANDRA CONCEPCION
   268772 MARRERO                                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                       C/AMARILLO #1702 BDA VISTA
   698602 LIZANDRA DELGADO                             ALEGRE                                                                                                        SAN JUAN             PR         00926
   698603 LIZANDRA E RAMOS LABOY                       PO BOX 1390                                                                                                   QUEBRADILLAS         PR         00678‐1390
   698604 LIZANDRA I TORRES SOTO                       75 CALLE CANAS                                                                                                ADJUNTAS             PR         00601



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  698605 LIZANDRA LABOY OCINALDI                      HC 3 BOX 13059                                                                                               JUANA DIAZ        PR           00795‐9511
  698606 LIZANDRA LUGO VAZQUEZ                        PO BOX 945                                                                                                   CIDRA             PR           00739

   268775 LIZANDRA MARTINEZ VAZQUEZ                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   698607 LIZANDRA MORALES PABON                      P O BOX 694                                                                                                  MANATI            PR           00674
   698608 LIZANDRA OLIVO RIVERA                       SANTA ELENITA             C BC 2‐11                                                                          BAYAMON           PR           00957

   268776 LIZANDRA ORTIZ DE LEON PSYD                 150 AVE FONT MARTELO                                                                                         HUMACAO           PR           00791
   698610 LIZANDRA RIVERA PEREZ                       P O BOX 903                                                                                                  ARECIBO           PR           00613
   268777 LIZANDRA SILVA AROCHO                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   268778 LIZANDRA TORRES MARTINEZ                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   698611 LIZANDRA TORRES ROSARIO                     HC 02 BOX 7593‐3                                                                                             CAMUY             PR           00627
   698612 LIZANDRA VELEZ VALLE                        REP LOS PINOS             1712 SAN ANTONIO                                                                   AGUADILLA         PR           00690
          LIZANDRO CARRASQUILLO
   698613 GOICOCHEA                                   URB JARD DE GURABO        158 C/ 6                                                                           GURABO            PR           00778
   698614 LIZANDRO PEREZ RODRIGUEZ                    HC 4 BOX 16561                                                                                               LAJAS             PR           00669

   268779 LIZANDRO RODRIGUEZ BURGOS                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   698615 LIZANDRO ROSARIO OCASIO                     PO BOX 755                                                                                                   RIO GRANDE        PR           00745
   268780 LIZANEE LORENZO CORTES                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   268781 LIZANETTE M VEGA ORTIZ                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   268782 LIZANIA ALVARADO MERCADO                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   268783 LIZANIZ M FIGUEROA OYOLA                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   698617 LIZANNETTE HERNANDEZ PEREZ 116 SECTOR LA PRRA                                                                                                            TRUJILLO ALTO     PR           00976
          LIZANNETTE M BURGOS
   698618 ROSARIO                    LOS COLOBOS PARK                           910 CALLE OLMO                                                                     CAROLINA          PR           00987
   698619 LIZARD TECH INC.           1520 BELLEWE AVENUE                                                                                                           SEATTLE           WA           98122

   698620 LIZARDA NEGRON RODRIGUEZ                    URB JARDINES DE COUNTRY   CLUB BJ 9 CALLE 9 114                                                              CAROLINA          PR           00983
          LIZARDI ‐ FABRICA DE
   698621 RADIADORES                                  SIERRA BAYAMON            23 CALLE 42 BK                                                                     BAYAMON           PR           00619
   268787 LIZARDI AMBULANCE                           P O BOX 7277                                                                                                 CAGUAS            PR           00726

   698622 LIZARDI AUTO AND WHOL CORP                  HC 91 BOX 9076                                                                                               VEGA ALTA         PR           00692
  1420203 LIZARDI LÓPEZ, JORGE                        SR. JORGE LIZARDI LÓPEZ   CARR. 7CAGÜITAS                                                                    AGUAS BUENAS      PR           00703
   268865 LIZARDO BURGOS                              REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          LIZARDO HERRERA VALDEZ /
   268866 WENDY VALDEZ                                REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   698623 LIZARDO NIEVES PEREZ                        URB VILLA DEL RIO         A 5 CALLE 1                                                                        GUAYANILLA        PR           00656
                                                      HE 37 CALLE DOMINGO DE
   698624 LIZARDO RIVERA                              ANDINO                                                                                                       TOA BAJA          PR           00949
   268872 LIZARDO RIVERA MORALES                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   268874 LIZARDO W MATTEI ROMAN                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   268876 LIZARRAGA MD, ESTEBAN                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   698625 LIZARY RAMOS CAPO                           EXT CERRO GORDO           R 4 CALLE 9                                                                        BAYAMON           PR           00957‐6813
   698626 LIZARY RODRIGUEZ                            URB VENUS GARDENS         A 35 CALLE ENEA                                                                    SAN JUAN          PR           00926
   268884 LIZASHA CATERING & BUFFET                   RR 5 BOX 8418 SUITE 86                                                                                       BAYAMON           PR           00956

   268887 LIZASOAIN RENTAS MD, JOSE A                 REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   268897 LIZASUAIN MARTINEZ, KEYLA                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED




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   698627 LIZAURA DELIZ VELEZ                         URB COLINAS METROPOLITANAS E 11 CALLE LOS PICACHOS                                                              GUAYNABO            PR           00969

   268903 LIZAURA E BARRIENTOS ALICEA                 REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268909 LIZBEDY CRUZ ROSA                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268910 LIZBEL BERRIOS MERCADO                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698628 LIZBEL GONZALEZ SANTOS                      HC 02 BOX 6091                                                                                                  MOROVIS             PR           00687
   268912 LIZBELIA SANCHEZ DESARDEN                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698629 LIZBELL COLON RIVERA                        TOA VILLE                   16 CALLE SOL                                                                        TOA BAJA            PR           00949
   268913 LIZBELLE ANDINO ROSADO                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268914 LIZBELLE CORDERO BONILLA                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268915 LIZBET AVILES VEGA                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   268919 LIZBETH A AGOSTO ARRIGOITIA                 REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268920 LIZBETH ADAMS MIRANDA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   698631 LIZBETH ALVARADO DOMINICCI                  LAS ALONDRAS                F 21 CALLE 1                                                                        VILLALBA            PR           00766
   698633 LIZBETH APONTE ESTRADA                      HC 02 BOX 7174                                                                                                  BARRANQUITAS        PR           00794
   698634 LIZBETH BENABE SANTIAGO                     7MA SECCION LEVITTOWN       HN 5 CALLE RAMON MORLA                                                              TOA BAJA            PR           00949
   268921 LIZBETH BENITEZ CRESPO                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698635 LIZBETH BERRIOS BONILLA                     HC 2 BOX 9203                                                                                                   AIBONITO            PR           00705

   698636 LIZBETH BERROCALES ALVAREZ                  HC 2 BOX 11028                                                                                                  YAUCO               PR           00698‐9606
   268922 LIZBETH BURGOS RIVERA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698637 LIZBETH CALDERIN DELGADO                    PO BOX 338                                                                                                      HUMACAO             PR           00792
   698638 LIZBETH CINTRON SANTIAGO                    BOX 769                                                                                                         AIBONITO            PR           00705
   698639 LIZBETH COLON                               HC 02 BOX 12344                                                                                                 SAN GERMAN          PR           00683
   268924 LIZBETH COLON DEGLANS                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698640 LIZBETH COLON TORRES                        SIERRA BAYAMON              EDIFICIO C 6 APT 16                                                                 BAYAMON             PR           00961
   698641 LIZBETH CRUZ GONZALEZ                       URB TIERRA SANTA            B 2 CALLE 2                                                                         VILLALBA            PR           00766
   698642 LIZBETH CRUZ MOLINA                         BO INGENIO                  PARC 40 CALLE BEGONIA                                                               TOA BAJA            PR           00951
   268925 LIZBETH CRUZ ZAYAS                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268926 LIZBETH DEIDA MALDONADO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698643 LIZBETH DELGADO VEGA                        PO BOX 486                                                                                                      HUMACAO             PR           00792
                                                                                  897 CALLE SORBN URB
   698644 LIZBETH FABREGAS TROCHE                     UNIVERSITY GARDENS          UNIVERSITY GDNS                                                                     SAN JUAN            PR           00927
   268927 LIZBETH FEIJOO MARRERO                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268928 LIZBETH FIGUEROA DE JESUS                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698645 LIZBETH FIGUEROA VEGA                       MAGINAS                     95 CALLE EUCALIPTO                                                                  SABANA GRANDE       PR           00637
   698646 LIZBETH FLORES SOTO                         HC 03 BOX 7229                                                                                                  JUNCOS              PR           00777
   268929 LIZBETH GALARZA PACHECO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698648 LIZBETH GONZALEZ RAMOS                      BO QUEBRADA                 HC 2 BOX 7521                                                                       CAMUY               PR           00627
   268930 LIZBETH GONZALEZ RIVERA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   268931 LIZBETH GONZALEZ RODRIGUEZ                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268933 LIZBETH HERNANDEZ PEREZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698649 LIZBETH HUERTAS DIAZ                        RES MANUEL MARTORELL        EDIF 1 APT 5                                                                        COMERIO             PR           00782
   268934 LIZBETH L JAIME LOPEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268935 LIZBETH LOPEZ GUEVARA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698650 LIZBETH LOPEZ RIVERA                        PARC NAVAS                  55 CALLE F                                                                          ARECIBO             PR           00612
   698651 LIZBETH LUNA ALAMO                          HC 01 BOX 4371                                                                                                  AIBONITO            PR           00705
   268936 LIZBETH M ORTIZ RIVERA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   698652 LIZBETH M SANCHEZ RODRIGUEZ PO BOX 753                                                                                                                       COAMO               PR           00769
   698653 LIZBETH M TRUJILLO MUNDO    SECTOR LA CORTE                             37 CAMINO LOS VELAZQUEZ                                                              SAN JUAN            PR           00926

   268938 LIZBETH M VELAZQUEZ NIEVES                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268939 LIZBETH M. GUZMAN RIVERA                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LIZBETH M. MARTINEZ
   268940 MERCADO                                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268941 LIZBETH MARIE RIVERA PEREZ                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   268942 LIZBETH MARIE TROCHE FLORES                 REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698655 LIZBETH MARRERO CASTILLO                    18 CALLE CESAR GONZALEZ                                                                                          ADJUNTAS            PR           00601
   698656 LIZBETH MARTINEZ CRUZ                       URB MEDINA                  D 8 CALLE 13                                                                         ISABELA             PR           00662
   268943 LIZBETH MEDINA CORTES                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698659 LIZBETH MEDINA LOPEZ                        URB VILLA LOS SANTOS        M 6 CALLE 9                                                                          ARECIBO             PR           00612
   268944 LIZBETH MEDINA VELEZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698660 LIZBETH MELENDEZ REYES                      LEVITTOWN                   2477 PASEO AMPARO                                                                    TOA BAJA            PR           00949
   268945 LIZBETH MENDEZ COLON                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268946 LIZBETH MERCADO ROSARIO                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698663 LIZBETH MORALES CASTRO                      HC 1 BOX 7649                                                                                                    YAUCO               PR           00698
   268947 LIZBETH MORALES MONELL                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268948 LIZBETH MORALES VELEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268949 LIZBETH MULERO CRUZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268950 LIZBETH N. TORRES FONTANE                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698664 LIZBETH NIEVES RODRIGUEZ                    TOA ALTA HEIGHTS            D 11 CALLE 12                                                                        TRUJILLO ALTO       PR           00953
   698665 LIZBETH O VELEZ ALVAREZ                     711 CALLE ESTADO            APT 3 A                                                                              SAN JUAN            PR           00907

   268955 LIZBETH RAMOS CARRASQUILLO                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698666 LIZBETH RIVERA AYALA                        14 JARDINES DE VILLA ALBA                                                                                        SABANA GRANDE       PR           00637
   698667 LIZBETH RIVERA MEJIAS                       PO BOX 7596                                                                                                      CAGUAS              PR           00726
   268956 LIZBETH RIVERA MORALES                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268957 LIZBETH RIVERA MUNET                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698668 LIZBETH RIVERA ORTIZ                        HC 1 BOX 4470                                                                                                    LOIZA               PR           00772
   698672 LIZBETH RIVERA RIVERA                       PO BOX 4213                                                                                                      CAROLINA            PR           00985
          LIZBETH RODRIGUEZ
   698673 ALBERTORIO                                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   268959 LIZBETH RODRIGUEZ CINTRON                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698674 LIZBETH RODRIGUEZ DIAZ                      URB LAS LEANDRAS            P 9 CALLE 9                                                                          HUMACAO             PR           00791

   698677 LIZBETH RODRIGUEZ SERRANO                   URB JARDIBNES DE MONACO 111 424 CALLE GRECE                                                                      MANATI              PR           00674
   268963 LIZBETH ROMAN MAYSONET                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698680 LIZBETH ROSA GARCIA                         HC 03 BOX 8841                                                                                                   GUAYNABO            PR           00971
   268964 LIZBETH ROSA QUINTANA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698682 LIZBETH SAEZ CARDONA                        URB SAN MIGUEL              G 4 CALLE 6                                                                          CABO ROJO           PR           00623
   698683 LIZBETH SALGADO                             URB TERAZAS DE CUPEY        09 CALLE 5                                                                           TRUJILLO ALTO       PR           00976
   698684 LIZBETH SANTIAGO MORALES                    P O BOX 765                                                                                                      VILLALBA            PR           00766
   698685 LIZBETH SANTIAGO REYES                      BOX 811                                                                                                          CIDRA               PR           00739
   268965 LIZBETH SANTIAGO SANTIAGO                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   268968 LIZBETH SILVA GONZALEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698686 LIZBETH SIMPSON                             P O BOX 34063               FORT BUCHANAN                                                                        SAN JUAN            PR           00934
   698687 LIZBETH SOBERAL CORREA                      BO TIBURON                  15 CALLE 10                                                                          BARCELONETA         PR           00617
   268969 LIZBETH SOLER RUIZ                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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                                                                                   1151 CALLE LUIS CORDOVA
   698688 LIZBETH V ROLON CRUZ                        URB COUNTRY CLUB             CHIRINO                                                                              SAN JUAN            PR         00924
   268971 LIZBETH VARGAS RIVERA                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   698689 LIZBETH VAZQUEZ RIVERA                      13 CALLE CAMELLY                                                                                                  SAN GERMAN          PR         00683
   698690 LIZBETH VERGARA REYES                       URB LOMAS VERDES             BLQ 4 G6 CALLE ROBLES                                                                BAYAMON             PR         00959
   698691 LIZBETH Y MIRANDA TIRADO                    PO BOX 2141                                                                                                       OROCOVIS            PR         00720
   268972 LIZBETH ZAMORA VARGAS                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   268973 LIZBETTE MARTINEZ SANCHEZ                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   268974 LIZBETTE RUIZ GONZALEZ                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   268975 LIZDALIA MARCANO ROMERO                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   268976 LIZDALY ROSARIO ORTIZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   698693 LIZDELLY GOMEZ TORRES                       SABANA HOYOS                 HC 01 BOX 4409                                                                       ARECIBO             PR         00688
   698694 LIZDELY RODRIGUEZ PAGAN                     HC 02 BOX 7225                                                                                                    CIALES              PR         00638
   268978 LIZEIDY NIEVES VERA                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   268982 LIZETTE BAEZ MOJICA                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   698697 LIZETTE BARRANCO SANTANA                    URB VALLE VERDE              F 8 CALLE CAUDAL                                                                     PONCE               PR         00716
   268983 LIZETTE CABRERA SALCEDO                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   268984 LIZETTE CARRASQUILLO RIVERA                 REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   268985 LIZETTE CASTRO LOPEZ                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   698698 LIZETTE CASTRO ROSARIO                      APARTADO 165                                                                                                      CAMUY               PR         00627
   268987 LIZETTE CHABRIER                            REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   698699 LIZETTE CINTRON SILVA                       URB ALTURAS DE SAN PEDRO     P 29 CALLE SAN MARTIN                                                                FAJARDO             PR         00738
   698700 LIZETTE COLON COLON                         URB ALTURAS VILLA DEL REY    B1 CALLE 28                                                                          CAGUAS              PR         00725
   268988 LIZETTE COLON SANCHEZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   268989 LIZETTE COSTA LEBRON                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   268990 LIZETTE COTTO PEREZ                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   698701 LIZETTE CRUZ PEREZ                          8 CALLE VILLA ANITA                                                                                               LAJAS               PR         00667
          LIZETTE DAMARIS OCASIO
   268992 TORRES                                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   268993 LIZETTE DE LA CRUZ LOPEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   698702 LIZETTE DELPIN OLIVIERI                     IMPERIAL SUITE              APTO 302 B                 467 SAGRADO CORAZON                                        SAN JUAN            PR         00915
   698703 LIZETTE FELICIANO GAYA                      HC‐2 BOX 14628                                                                                                    LAJAS               PR         00667
                                                      COND TORRES DE SAN JUAN APT
   698705 LIZETTE FLORES ROSARIO                      1004                        210 CALLE JOSE OLIVER                                                                 SAN JUAN            PR         00918
   698706 LIZETTE FUENTES RODRIGUEZ                   VILLA SERENA                S 4 ORQUIDEA                                                                          ARECIBO             PR         00612
   268995 LIZETTE GARCIA MARTINEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   268996 LIZETTE GONZALEZ CORTEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          LIZETTE HERNANDEZ / JULIA DE
   268997 LA FUENTE                                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   268998 LIZETTE HERNANDEZ VERA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   698709 LIZETTE J SANES BERMUDEZ                    44 BO RESACA                 BOX 613                                                                              CULEBRA             PR         00775

   698710 LIZETTE JIMENEZ MALDONADO                   BOX 570                                                                                                           AGUIRRE             PR         00704
   268999 LIZETTE L DIAZ MASSO                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   698711 LIZETTE LABOY ARROYO                        HC 03 BOX 11993                                                                                                   JUANA DIAZ          PR         00795‐9505
   269000 LIZETTE LIZARDI ORTIZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   698712 LIZETTE LOPEZ GARCIA                        BOX 1194                                                                                                          GUANICA             PR         00653
   269001 LIZETTE LOPEZ LOPEZ                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   698713 LIZETTE LUGO                                G 155 COSTA DE ORO                                                                                                DORADO              PR         00646
   698714 LIZETTE M COLLAZO BONILLA                   151 CALLE SERRANIA                                                                                                CAGUAS              PR         00725

   269002 LIZETTE M COLON HERNANDEZ                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  698716 LIZETTE M COSME NEGRON                        P O BOX 993                                                                                                       VILLALBA             PR         00766
  269003 LIZETTE M FUENTES FEBLES                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  269004 LIZETTE M LOPEZ GARCIA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  269005 LIZETTE M NIEVES SOLA                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         LIZETTE M RODRIGUEZ
  698718 GONZALEZ                                      232 AVE ELEONOR ROOSEVELT                                                                                         SAN JUAN             PR         00907
  269006 LIZETTE M. GONZALEZ REYES                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  698719 LIZETTE MARCIAL SOLERO                        URB TERRAZAS DEMAJAGUA      96 CALLE BOHIQUE                                                                      FAJARDO              PR         00738
  269008 LIZETTE MARIN RIOS                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  698720 LIZETTE MARIN RIVERA                          URB VALLE ALTO              2140 CALLE COLINA                                                                     PONCE                PR         00730
  269009 LIZETTE MATOS PIMENTEL                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   698721 LIZETTE MEJIAS AVILES                        COND UNIVERSITY PARK APT 405 5 CALLE AMAPOLA                                                                      SAN JUAN             PR         00927

   698722 LIZETTE MERCADO RODRIGUEZ                    BALBOA 110                                                                                                        MAYAGUEZ             PR       00680
   269010 LIZETTE MORALES AVILES                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED REDACTED      REDACTED
   269011 LIZETTE MORALES NAVEDO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED REDACTED      REDACTED
   698723 LIZETTE NEGRON MARIN                         URB VALLE ALTO              O3 CALLE 22                                                                           PONCE                PR       00731
   269012 LIZETTE ORTA MIRANDA                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED REDACTED      REDACTED
   269013 LIZETTE OSUMA SANTIAGO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED REDACTED      REDACTED
   698726 LIZETTE OSUNA SANTIAGO                       URB SOMBRA DEL REAL         1115 CALLE EUCALIPTO                                                                  COTO LAUREL          PR       00780‐2921
   269014 LIZETTE PEREZ LOPEZ                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED REDACTED      REDACTED
   698727 LIZETTE PEREZ TORRES                         PO BOX 834                                                                                                        YAUCO                PR       00698
   269015 LIZETTE PÉREZ ZAYAS                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED REDACTED      REDACTED
   269016 LIZETTE PINERO PENA                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED REDACTED      REDACTED
   698728 LIZETTE RAMIREZ OLIVARI                      URB ELEANOR ROOSEVELT 3                                                                                           YAUCO                PR       00698
   698729 LIZETTE RAMOS CIVIDANES                      PASEO LAS VISTAS            A 13 CALLE 1                                                                          SAN JUAN             PR       00926
   698730 LIZETTE RAMOS MAISONET                       URB LA MARINA               20 CALLE IN                                                                           CAROLINA             PR       00929
   269017 LIZETTE RIVERA APONTE                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED REDACTED      REDACTED
   698733 LIZETTE RIVERA SANTIAGO                      PARC NUEVA VIDA EL TUQUE    D 73 CALLE 8 B                                                                        PONCE                PR       00731
   269018 LIZETTE RIVERA TORRES                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED REDACTED      REDACTED
   698734 LIZETTE RIVERA VILLARRUBIA                   PO BOX 1248                                                                                                       RINCON               PR       00677
   698736 LIZETTE ROBLES AGOSTO                        URB REPARTO FLAMINGO        C22 C/ SAN JUAN BAUTISTA                                                              BAYAMON              PR       00956
   269020 LIZETTE RODRIGUEZ PEREZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED REDACTED      REDACTED
   698737 LIZETTE RODRIGUEZ RIVERA                     BOX 5319                                                                                                          CIDRA                PR       00739
   698738 LIZETTE ROLDAN ALVERIO                       BO TEJAS                    HC 01 BOX 7850                                                                        LAS PIEDRAS          PR       00771‐9734
   269021 LIZETTE ROSARIO QUINONES                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED REDACTED      REDACTED
   269022 LIZETTE SANTIAGO MONTERO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED REDACTED      REDACTED
   269023 LIZETTE SANTIAGO PACHECO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED REDACTED      REDACTED
   269025 LIZETTE SOSTRE FALCON                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED REDACTED      REDACTED
   698740 LIZETTE SOTO MONTERO                         P O BOX 141351                                                                                                    ARECIBO              PR       00614
   269026 LIZETTE TORRES SERRANT                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED REDACTED      REDACTED
   698741 LIZETTE VELEZ RIVE                           PO BOX 363128                                                                                                     SAN JUAN             PR       00936‐3128
   698742 LIZETTE VILLANUEVA NIEVES                    PO BOX 188                                                                                                        ARECIBO              PR       00613‐0188
   698743 LIZIDIA CARDONA ROSADO                       URB SAN MIGUEL              G 4 CALLE 6                                                                           CABO ROJO            PR       00623
   698744 LIZIE O RIVERA MALAVE                        URB APONTE                  D 12 CALLE 3                                                                          CAYEY                PR       00736
   269028 LIZIVETTE NUNEZ KARRY                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED REDACTED      REDACTED
   698745 LIZMALIE CRUZ DIAZQ                          866 CALLE PRINCIPAL         P 167                                                                                 SABANA SECA          PR       00952

   269029 LIZMALIE MALDONADO MEDINA                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   269030 LIZMAR E ROQUE PEREZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   269031 LIZMAR INC                                   PO BOX 2646                                                                                                       VEGA BAJA            PR         00694
   698746 LIZMAR MIRANDA GONZALEZ                      URB VILLA NITZA             B 3 CALLE 11                                                                          MANATI               PR         00674



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  698747 LIZMARA RIVERA GUTIERREZ                      VILLA CAROLINA              195‐33 CALLE 517                                                                     CAROLINA            PR         00985
 1256640 LIZMARI APONTE GONZALEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  269032 LIZMARI GONZALEZ ORTIZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         LIZMARIA RODRIGUEZ
  269033 RODRIGUEZ                                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         LIZMARIE AFANADOR
  269034 DOMENECH                                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  269035 LIZMARIE BERNIER ROSARIO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  698749 LIZMARIE BUTTER FELICIANO                     HC 02 BOX 8814                                                                                                   QUEBRADILLAS        PR         00678
  269036 LIZMARIE COLON FIGUEROA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  269037 LIZMARIE CREITOFF RIVERA                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   698750 LIZMARIE FIGUEROA ALVARADO                   HC 01 BOX 6513                                                                                                   OROCOVIS            PR         00720
          LIZMARIE MALDONADO
   269043 CABRERA                                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698751 LIZMARIE OFFICE SUPPLY                       P O BOX 705                                                                                                      MANATI              PR         00674‐0705
   269044 LIZMARIE ORENGO SANTIAGO                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269045 LIZMARIE PADILLA OYOLA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269046 LIZMARIE RAMOS ISERN                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698752 LIZMARIE RODRIGUEZ ORTIZ                     HC 4 BOX 6903                                                                                                    YABUCOA             PR         00767‐9511
   269047 LIZMARIE SANTIAGO COLON                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269048 LIZMARIE SEDA NAZARIO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698753 LIZMARIE SILVA FIGUEROA                      VILLA MARIA                 X 18 CALLE 3                                                                         CAGUAS              PR         00725‐4020
   698754 LIZMARIE SOBERAL MOLINA                      URB VISTA AZUL              S 16 CALLE 23                                                                        ARECIBO             PR         00612
   698755 LIZMARIE TORRES GARCIA                       EL CORTIJO                  AE 18 C 21                                                                           BAYAMON             PR         00956
   269049 LIZMARIE VELEZ QUINTANA                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269050 LIZMARY ALERS MALDONADO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   698756 LIZMARY ECHANDY GIERBOLINI                   URB REXMANAR                CALLE 3                                                                              GUAYAMA             PR         00784
   698757 LIZMARY HERNANDEZ DIAZ                       HC 40 BOX 44013                                                                                                  SAN LORENZO         PR         00754
   269051 LIZMARY LOPEZ ALVAREZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269052 LIZMARY NAZARIO IRIZARRY                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698758 LIZMARY PACHECO CAPPAS                       HC 2 BOX 7756                                                                                                    GUAYANILLA          PR         00656

   269054 LIZMATHY FLORES VELAZQUEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269055 LIZNALLYS J. CRUZ LOPEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   698761 LIZNELIA CARRASQUILLO REYES                  URB BRISAS DE LOIZA         121 CALLE LIBRA                                                                      CANOVANAS           PR         00729
   269057 LIZNELL ROMAN GONZALEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269058 LIZNELLY PABON DAVID                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698762 LIZNELLY SASTRE                              P O BOX 1436                                                                                                     CIALES              PR         00638
   269059 LIZNELLY TORRES RODRIGUEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698763 LIZNELLY ZAYAS BONILLA                       CONDADO                     1363 CALLE ESTRELLA                                                                  SAN JUAN            PR         00907

   698764 LIZNERI CARTAGENA MARRERO                    BO BONANCA SECTOR EL COQUI                                                                                       BARRANQUITAS        PR         00794
   269061 LIZOVEIRA ANTONETTI                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   269063 LIZVA INC                                    CENTRO COMERCIAL ITURREGUI 65 AVE INFANTERIA STE 15                                                              SAN JUAN            PR         00926
          LIZVETTE COLOMBANI
   698765 BERMUDEZ                                     BOX 728 SAN ANTONIO                                                                                              AGUADILLA           PR         00690
   698766 LIZVETTE GARCIA ORTIZ                        URB VALENCIA                313 F CALLE GUIPUZCOA                                                                SAN JUAN            PR         00923
   269064 LIZVETTE MOJICA RODRIGUEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269066 LIZVETTE PEREZ FIGUEROA                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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   698768 LIZVITH RAMOS LARREGUI                      182 BDA FELIX CORDOBA DAVILA                                                                                           MANATI              PR           00674
   269067 LIZXANDRA FLORES RIVERA                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269068 LIZY E RIVERA TORRES                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698769 LIZYANIRA COLON DIAZ                        HC 2 BOX 12344                                                                                                         SAN GERMAN          PR           00683
   269070 LIZZ GRACIANI FERRI                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269071 LIZZA HOFFMAN RIVERA                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   698770 LIZZA M. COLON ROBLES                       VENUS GARDENS 1685 MERIDA                                                                                              SAN JUAN            PR           00926
   269072 LIZZA RODRIGUEZ MUNIZ                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LIZZESKA SANTIAGO
   269073 MALDONADO                                   REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698771 LIZZET PEREZ RIVERA                         URB BONNEVILLE HEIGHTS      4 CALLE QUEBRADILLAS                                                                       CAGUAS              PR           00725
   698772 LIZZETE GONZALEZ RODZ                       RES MONTE HATILLO           EDIF 41 APTO 506                                                                           SAN JUAN            PR           00926
   269074 LIZZETE SANTIAGO TORRES                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698773 LIZZETT PARES RUIZ                          BOX 3761                                                                                                               MAYAGUEZ            PR           00681

   269075 LIZZETTE A CORDOVA SANTIAGO REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698777 LIZZETTE ALEMAN ORTIZ       URT VILLA BLANCA 71                         CALLE ORQUIDEA                                                                             TRUJILLO ALTO       PR           00976

   269076 LIZZETTE ALVARADO CASTILLO                  REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698779 LIZZETTE BERRIOS OTERO                      URB MADELINE                L 13 CALLE TOPACIO                                                                         TOA ALTA            PR           00953
                                                      URB EXTENCION LA
   698774 LIZZETTE CANDELARIO VELEZ                   INMACULADA                  E 10 CALLE 5                                                                               TOA BAJA            PR           00949‐3935

   269078 LIZZETTE CARDONA MONTANEZ                   REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269079 LIZZETTE CASTILLO ORTIZ                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698781 LIZZETTE CRUZ MORALES                       URB SAN JOSE                473 CALLE BAGUR                                                                            SAN JUAN            PR           00915
   698782 LIZZETTE DIAZ NEGRON                        HC 1 BOX 3320                                                                                                          VILLALBA            PR           00766‐9701
          LIZZETTE EULALIA HENRIQUEZ
   698783 CABRERA                                     LA RAMBLA                   2308 CALLE BARCELONA                                                                       PONCE               PR           00730

   698784 LIZZETTE FERNANDEZ ALLENDE                  2DA SECC VILLA CAROLINA     25 ‐16 CALLE 6                                                                             CAROLINA            PR           00985

   269080 LIZZETTE FERRERIS GONZALEZ                  REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269081 LIZZETTE FIALLO PEREZ                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269082 LIZZETTE GAUTIER LOPEZ                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698785 LIZZETTE GIRON DELGADO                      SAINT JUST                  46 A CALLE BETANIA                                                                         TRUJILLO ALTO       PR           00976

   698787 LIZZETTE GONZALEZ PEREZ                     COND VENUS PLAZA C          160 APT 301 CALLE COSTA RICA                                                               SAN JUAN            PR           00917
   269083 LIZZETTE GUZMAN CLEMENTE                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698788 LIZZETTE I DIAZ CARDONA                     URB RIVERVIIEW              Y 15 CALLE 20                                                                              BAYAMON             PR           00961
   269084 LIZZETTE IGLESIAS FAJARDO                   REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269085 LIZZETTE IRIZARRY LOYOLA                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698775 LIZZETTE LOPEZ ALDAHONDO                    VILLAS RICA                 AP 5 CALLE EDMEE                                                                           BAYAMON             PR           00959 7907
   269086 LIZZETTE M ABADIA FLORES                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269087 LIZZETTE M CASTRO PAGAN                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269088 LIZZETTE M SANCHEZ COTTO                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698789 LIZZETTE M TORRES NEGRON                    PO BOX 2459                                                                                                            SAN GERMAN          PR           00683

   698790 LIZZETTE M TORRES RODRIGUEZ HC 3 BOX 29349                                                                                                                         SAN SEBASTIAN       PR           00685

   698791 LIZZETTE M VELAZQUEZ RIVERA                 COOP TORRES DE CAROLINA     100 CALLE JOAQUINA APT 1208 A                                                              CAROLINA            PR           00979‐1221



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          LIZZETTE MAGALY MUNIZ
   269089 SANCHEZ                                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   269091 LIZZETTE MALDONADO RUBERT                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   269092 LIZZETTE MARRERO MARTINEZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   269093 LIZZETTE MARTINEZ BARBOSA                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698792 LIZZETTE MATOS                              HC 01 BOX 13540                                                                                                 CABO ROJO           PR           00623
   269094 LIZZETTE MOLINA FELICIANO                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269095 LIZZETTE MONTALVO BAEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LIZZETTE MONTALVO
   698794 MONTALVO                                    SAN ANTONIO                 1580 CALLE DILENIA                                                                  PONCE               PR           00728‐1631
   269096 LIZZETTE MUNIZ TIRADO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269097 LIZZETTE PAGAN MARTINEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269098 LIZZETTE PEREZ BARBOSA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269099 LIZZETTE PEREZ GONZALEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   269100 LIZZETTE PEREZ GONZALEZ DBA                 RR 5 BOX 8418               SUITE 86                                                                            BAYAMON             PR           00956
   698796 LIZZETTE PEREZ HERNANDEZ                    HC 56 BOX 4971                                                                                                  AGUADA              PR           00602

   698797 LIZZETTE PEREZ VAZQUEZ                      MICHELLE'S APARTMENTS 302 A                                                                                     MERCEDITAS          PR           00715
   269101 LIZZETTE PINERO BORRA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   269102 LIZZETTE QUINONES CARDONA                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269103 LIZZETTE RIOS CRESPO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698801 LIZZETTE RIVERA ALVARADO                    AVE PONCE DE LEON           PDA 19                                                                              SAN JUAN            PR           00936

   269104 LIZZETTE RIVERA MALDONADO                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   269105 LIZZETTE RIVERA/IVETTE RIVERA               REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269106 LIZZETTE RUIZ VALENTIN                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269107 LIZZETTE SALAS CARLO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698803 LIZZETTE SANTIAGO                           URB ALTAMESA                1372 CALLE SAN IGNACIO                                                              SAN JUAN            PR           00921
          LIZZETTE SANTIAGO Y/O JESUS
   698804 GARCES                                      URB LAS AMERICAS            807 CALLE KINGSTON                                                                  SAN JUAN            PR           00921

   698805 LIZZETTE VALENZUELA LLORENZ                 URB VILLA NUEVA             S 9 CALLE 24                                                                        CAGUAS              PR           00725
   698806 LIZZETTE VAZQUEZ CINTRON                    P O BOX 334                                                                                                     ARROYO              PR           00714
   698807 LIZZETTE ZAPATA PAGAN                       HC 5635590                                                                                                      AGUADA              PR           00602
   698808 LIZZIE ALVARADO                             P M B 301                   P O BOX 3000                                                                        COAMO               PR           00769
   269108 LIZZIE CEDENO MARTINEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269109 LIZZIE COBIAN QUINONES                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698810 LIZZIE COLON SANTIAGO                       URB VENUS GARDENS           664 CALLE MANZANILLA                                                                SAN JUAN            PR           00926
   269110 LIZZIE COTTO CHINEA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   269111 LIZZIE ENID CASTRO SANTIAGO                 REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269112 LIZZIE GALAN MUNIZ                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   698811 LIZZIE J RUIZ PAGAN                         URB JARDINES DEL VALENCIANO B 6 CALLE ORQUIDEA                                                                  JUNCOS              PR           00777

   698812 LIZZIE M PORTELA FERNANDEZ                  PO BOX 366517                                                                                                   SAN JUAN            PR           00936‐6517
   269113 LIZZIE MEDINA CURIS                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  698815 LIZZIE NEGRON SOTO                            PO BOX 3024                                                                                                          ARECIBO             PR         00613
  269114 LIZZIE NEVAREZ DE JESUS                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  269115 LIZZIE R. NEVAREZ DE JESUS                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  698816 LIZZIE SAMPAYO TORRES                         URB EL VEDADO                 420 CALLE PAOLI                                                                        SAN JUAN            PR         00918
  269117 LIZZIE SANTIAGO RAMOS                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  698818 LIZZY G GONZALEZ SUAREZ                       RES LLORENS TORRES            EDIF 60 APT 1153                                                                       SAN JUAN            PR         00913
  698819 LIZZY M ORTIZ ROSARIO                         VILLA FONTANA                 2XX 8 VIA 13‐A                                                                         CAROLINA            PR         00983
  698820 LIZZY SANTAELLA MANGUAL                       PMB 607                       HC 1 BOX 29030                                                                         CAGUAS              PR         00725
  269119 LJ BUSINESS SOLUTIONS                         PO BOX 494                                                                                                           VILLALBA            PR         00766
  269121 LJL, LLC                                      PMB 448                       5900 AVE ISLA VERDE STE 2                                                              CAROLINA            PR         00979
                                                       5900 AVE.ISLA VERDE SUITE 2
   269122 LJL,LLC                                      PMB 448                                                                                                              CAROLINA            PR         00979
   269124 LK AUTOS LLC                                 1880 PONCE BY PASS                                                                                                   PONCE               PR         00716
   269126 LKCG LLC                                     13242 SW 144 TERRACE                                                                                                 MIAMI               FL         33186

   269127 LKISTADO BIENES RAICES C S P                 PASEOS DE LAS CUMBRES         345 # 76                                                                               TRUJILLO ALTO       PR         00976
          LL A C Inc D/B/A DESSERTS &
   269128 SOMETHING                                    1421 AVE LAS PALMAS           PARADA 20                                                                              SANTURCE            PR         00909
          LLAC INC /DBA/DESSERTS &
   269141 SOMETHING ELSE                               191 CALLE O`NEILL                                                                                                    SAN JUAN            PR         00918
          LLAC INC DBA DESERTS &
   269147 SOMETHING ELSE                               PO BOX 190262                                                                                                        SAN JUAN            PR         00919
   269149 LLADO DIAZ MD, JOSE R                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269151 LLADO DIAZ, VICTOR J                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269153 LLADO GONZALEZ MD, IVAN J                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LLAIMA S SANFIORENZO DE
   269163 ORBETA                                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LLAIMA S SANFLORENZO DE
   269164 ORBETA                                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   698821 LLAMAS DENTAL LABORATORY                     JARDINES METROPOLITANO        CALLE MANIONI 967                                                                      RIO PIEDRAS         PR         00927
   269177 LLANERAS DE TOA BAJA INC                     HACIENDAS DEL NORTE           BB 3 CALLE D                                                                           TOA BAJA            PR         00949
          LLANERAS DE TOA BAJA
   269178 VOLLEYBALL CLUB INC                          PO BOX 519                                                                                                           CATANO              PR         00963
   698822 LLANERAS DEL TOA INC                         URB REPARTO TERESITA          Q 5 CALLE 18                                                                           BAYAMON             PR         00961
   269180 LLANEROS 21 INC                              7175 CALLE VEGA                                                                                                      SABANA SECA         PR         00952

   698823 LLANEROS BASEBALL CLUB INC                   SECT LA VRGA SABADA SECA      PARCELAS 37                                                                            TOA BAJA            PR         00952
   698824 LLANEROS DE TOA BAJA                         LOS ALMENDROS                 EF 4 CALLE TILO                                                                        BAYAMON             PR         00961
   269187 LLANES MD, FRANKLIN                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269188 LLANES MONTES, ARACELYS                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269205 Llanes‐Toro, Neftalí                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269207 LLANILIN RIVERA FLORES                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269222 LLANOS ALGARIN, LUZLIBETT                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269227 LLANOS ARROYO, ANA                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LLANOS QUIÑONES,
  1420204 FERNANDITO                                   CESAR LUGO                    AEELA PO BOX 70199                                                                     SAN JUAN            PR         00936‐8190
   269352 LLANOS RAMOS, ANA M                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269390 LLANOS SANTOS, AURORA                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                     AVE. DOMENCH #207 OFICINA
  1420205 LLANOS, CARMEN                               PEDRO J. LANDRAU LOPEZ        106                                                                                    SAN JUAN            PR         00918
          LLAURADOR NIEVES MD,
   269435 ALBERTO                                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  269451 LLAVONA CASAS                                REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   269452 LLAVONA CASAS, CPA PSC                      EDIF. ORIGINAL COSVI          #400 AVE. AMERICO MIRANDA    4TO PISO                                                   SAN JUAN            PR         00927
   269461 LLAVONA DIAZ MD, LUIS A                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LLAVONA GONZALEZ MD,
   269467 ORLANDO                                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269468 LLAVONA MEDICAL SERVICES                    PO BOX 1717                                                                                                           LAJAS               PR         00667
   269480 LLCR CORPORATION                            PO BOX 755                                                                                                            HORMIGUEROS         PR         00660
          LLEDNEW MARTINEZ
   269482 CHAMORRO                                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                    450 CALLE FRANCIA URB FLORAL
   698825 LLEIG ENTERPRISES INC D/B/A                 AUTO PIEZA MILLENIO           PARK                                                                                    SAN JUAN            PR         00917
   698826 LLEIS PEREZ MATOS                           RR 3 BOX 110562                                                                                                       TOA ALTA            PR         00953

   698827 LLENZA & LLENZA ARCHITECTS  PO BOX 362081                                                                                                                         SAN JUAN            PR         00936
   269488 LLERA ARZOLA BRYAN ALEXIS   REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LLERA GULF STATION/CARLOS A
   698828 LLERA                       PO BOX 2424                                                                                                                           CAYEY               PR         00737

   269526 LLERAS SANTANA MD, VICTOR L                 REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698829 LLERENA HARDWARE INC                        PO BOX 361832                                                                                                         SAN JUAN            PR         00936
          LLIANA ALVAREZ/ DYNAMIC
   269532 SOLAR SOLUTION                              PO BOX 29155                                                                                                          SAN JUAN            PR         00929‐0155
   269533 LLILIAN J RIVERA RODRIGUEZ                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698830 LLILLIAM I RIVERA NIEVES                    PO BOX 524                                                                                                            QUEBRADILLAS        PR         00678
   269534 LLIME RAMIREZ SEPULVEDA                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   269552 LLIRMARIE E DE LEON SANCHEZ                 REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269553 LLISEL RODRIGUEZ                            REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698831 LLISER ORTIZ LOPEZ                          P O BOX 1022                                                                                                          OROCOVIS            PR         00720
   269554 LLITERA MAYA, KAREN                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269566 LLM&D PSC                                   165 PONCE DE LEÓN             PISO 2                                                                                  SAN JUAN            PR         00917‐8033
   269567 LLM&D, PSC                                  165 PONCE DE LEON                                                                                                     SAN JUAN            PR         00917
          LLOBET CALDEYRO MD, RAMON
   269568 E                                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269570 LLOEL MUNOZ LOPEZ                           REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698832 LLOMAR A PEREZ ESCALERA                     URB SANTIAGO                  67 CALLE C                                                                              LOIZA               PR         00772
   269581 LLOP DEVELOPMENT GROUP                      PO BOX 191114                                                                                                         SAN JUAN            PR         00919‐1114
   698833 LLOPIZ & CIA                                P O BOX 190152                                                                                                        SAN JUAN            PR         00919‐0152
   269592 LLOPIZ DIAZ, NEREIDA                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269612 LLORELIS OSORIO ELIZIER                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LLORELYS MARIE FUENTES DE
   269613 JESUS                                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269624 Llorens Hospital Supply                     Llorens Hospital Supply 200                                                                                           Arecibo             PR         00612

   269638 LLORENS PEREZ MD, SANTIAGO                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LLORENS PHARMACEUTICAL                                                    497 AVE EMILIANO POL SUITE
   698834 CORP                                        LA CUMBRE                     396                                                                                     SAN JUAN            PR         00926
          LLORENS RIVERA PHD,
   269643 NANNETTE E                                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   269659 LLORENS, LUIS E                             REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698835 LLOVIENDO FLORES                            RR 3 PO BOX 3452                                                                                                      SAN JUAN            PR         00926




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   269695 LLOYD A RAMIREZ RODRIGUEZ      REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LLOYD C HAWKS TROOP
   269696 MEDICAL CLINIC                 1061 HARMON AVE                                                                                                                      FT STEWART          GA           31314‐5300
          LLUBERAS AUTO PAINT & TALLER
   698836 CINTRON                        PO BOX 464                                                                                                                           YAUCO               PR           00698
   698837 LLUCH FIRE & SAFETY CO, INC    PMB 4352135                               ROAD #2 SUIT 15                                                                            BAYAMON             PR           00959‐5259
                                         PMB # 435 2135 ROAD # 2
   269703 LLUCH FIRE & SAFETY CO. , INC. SUITE 15                                                                                                                             BAYAMON             PR           00961‐0000

   269704 LLUCH FIRE SAFETY                           PMB 435 2135 ROAD 2 SUITE 15                                                                                            BAYAMON             PR           00959
   698838 LLUCH FIRED SAFETY                          PO BOX 9146                                                                                                             SAN JUAN            PR           00908‐0146
   269705 LLUCH GARCIA, JOSE F.                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698840 LLUGAR RENTALS                              J M TORO BASORA                                          5                                                              LAJAS               PR           00667

   269724 LM & IA INC                                 171 AVE MUNOZ RIVERA OESTE                                                                                              CAMUY               PR           00627
   698841 LM AUTO COMPUTERS CORP                      959 AVE HOSTOS PLAYA                                                                                                    PONCE               PR           00731
   269725 LM CAR RENTAL                               PO BOX 38020 AIRPORT STA                                                                                                CAROLINA            PR           00932
   698842 LM CLEANING SUPPLIES                        P O BOX 7202                                                                                                            PONCE               PR           00731

   269727 LM OFFICE & CLEANING SUPPLIES TITO CASTRO AVE 532                                                                                                                   PONCE               PR           00716
                                        CENTRO COMERCIAL MARINA
   269729 LM SERVICE, INC.              BAHIA                                      LOCAL #3, CARR. 165                                                                        Guaynabo            PR           00965
   269730 LM WASTE SERVICE CORP         PMB 123                                    PO BOX 7886                                                                                GUAYNABO            PR           00970‐7886
                                        3199 AVE. SANTIAGO DE LOS
   269731 LM WASTE SERVICE CORP.        CABALLEROS                                                                                                                            PONCE               PR           00917
   269732 LM WASTE SERVICES CORP        AVE HOSTOS                                 PMB H 819                                                                                  PONCE               PR           00716‐1107
   770697 LMC & ASSOCIATES              SAN JOSE BUILDING                          1250 PONCE DE LEON AVE          10TH FLOOR SUITE 1001                                      SAN JUAN            PR           00907‐3914
                                                                                   644 AVE FERNANDEZ JUNCOS
   269735 LMG AUTO SPORT INC                          DISTRICT VIEW PLAZA          STE 301                                                                                    SAN JUAN            PR           00907
   269736 LMG AUTO SPORT, INC                         DISTRICT VIEW PLAZA          SUITE 301                       #644 FERNANDEZ JUNCO                                       SAN JUAN            PR           00907
   269738 LMM FOOD GROUP CORP                         PASEO LOS ROBLES 4008        CALLE CELSO TORRES RAMIRE                                                                  MAYAGUEZ            PR           00682
   698843 LMS, ASSOCIATES                             17 EAST HENRIETA STREET                                                                                                 BALTIMORE           MD           21230
          LN ENVIROMENTAL SERVICE
   269739 CORP                                        PO BOX 9300439                                                                                                          SAN JUAN            PR           00928
   698844 LO FEMME NOUVELLE                           PO BOX 922                                                                                                              VIEQUES             PR           00765
          LO GLEZ GENERAL
   698845 CONTRACTORS INC                             HC 01 BOX 6077                                                                                                          MOCA                PR           00676
   269741 LOAIDI LOPEZ ROMAN                          REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      1207 CALLE DEL CARMEN BOX
   698846 LOAIZA BENITEZ PIZARRO                      201                                                                                                                     SAN JUAN            PR           00907
   269747 LOAIZA CANDELARIO LOPEZ                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698847 LOAIZA MALDONADO MATEO                      BO CEDRO                     CARR 185 KM 14 0                                                                           CAROLINA            PR           00986

   698848 LOALIS M RODRIGUEZ PAGAN                    URB FAIRVIEW                 692 CALLE FRANCISCO CASSANS                                                                SAN JUAN            PR           00926
   269750 LOALIS S QUINONES PEREZ                     REDACTED                     REDACTED                    REDACTED                                REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   770698 LOALY E MARTINEZ TORRES                     REDACTED                     REDACTED                    REDACTED                                REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   698849 LOALY EL MARTINEZ TORRES                    232 AVE ELEONOR ROOSEVELT                                                                                               SAN JUAN            PR           00907

   269751 LOANDA MORALES MALDONADO REDACTED                                        REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269752 LOANIS COLL COLON        REDACTED                                        REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   698850 LOARINA DE JESUS COLLAZO                    1814 ALTOS AVE PONCE DE LEON                                                                                           SANTURCE            PR           00909
   698852 LOARINA GARCIA FALCON                       CAPARRA HEIGHS               1518 CALLE ENCINA                                                                         SAN JUAN            PR           00920

   269753 LOARNEL ROSARIO RODRIGUEZ REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LOAS BRAVES DE ALAMAR CAT 9‐
   698853 10 PRE MAYOR                 PO BOX 9023207                                                                                                                        SAN JUAN            PR           00902‐3207
          LOBE CONTRACTORS &
   269759 EQUIPMENT                    PO BOX 364925                                                                                                                         SAN JUAN            PR           00936‐4925
   269764 LOBOS FILMS INC              1937 DIEGO PENALOZA                                                                                                                   SAN JUAN            PR           00926
   269766 LOBSANG BERNARD CABRERA      REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269768 LOC&D                        PO BOX 2025                                                                                                                           LAS PIEDRAS         PR           00771

   269769 LOCAL EL HIGUERITO                          PLAZA LAS MONJITAS           1255 AVE TITO CASTRO STE 125                                                              PONCE               PR           00730
          LOCAL EMERGENCY PLANNING
   698856 COMMITEE                     828 AVE HOSTOS ST 201                                                                                                                 MAYAGUEZ            PR           00682
   269770 LOCAL INITIATIVES CORP.      P.O. BOX 1007                  ROOSVELT MAIL STA.162                                                                                  SAN JUAN            PR           00919
   269771 LOCATION GUIDE LTD           1 LOWER JOHN STREET                                                                                                                   LONDON                           WIF9TDUK      UNITED KINGDOM
   698857 LOCATION TRAVEL              55 CALLE CERVANTES                                                                                                                    SAN JUAN            PR           00907
   698858 LOCK & E                     PO BOX 29579                                                                                                                          SAN JUAN            PR           00929
   698859 LOCK & SAFE INC              CIUDAD UNIVERSITARIA           C1 11 AVE PERIFERAL                                                                                    TRUJILLO ALTO       PR           00976
                                       CIUDAD UNIVERSITARIA CI‐II AVE
   269774 LOCK & SAFE SECURITY CONTROL PERIFERAL                                                                                                                             TRUJILLO ALTO       PR           00976

   698860 LOCK / LINE OF PUERTO RICO INC 7400 STATE LINE ROAD                                                                                                                PRAIRIE VILLAGE     KS           66208
   698861 LOCK SMITH 24 HRS              PLAZA RIO HONDO SUITE 416                                                                                                           BAYAMON             PR           00961‐3100
                                         1040 S PARKWAY FRONTAGE
   269776 LOCKHEED MARTIN CORP           ROAD                                                                                                                                LAKELAND            FL           33811
   269779 LOCKMOBILE                     P O BOX 29579                                                                                                                       SAN JUAN            PR           00929
   698862 LOCKMOBILE INC.                PO BOX 29579                                                                                                                        SAN JUAN            PR           00929
   698863 LOCKSMITH 24 HOURS INC         SUITE 416 PLAZA RIO HONDO                                                                                                           BAYAMON             PR           00961
          LOCKSMITH EQUIPMENT &          PO BOX 1007 ROOSEVELT MAIL
   698864 SUPPLY CO                      STATION                                                                                                                             SAN JUAN            PR           00923‐1007
          LOCKWOOD FINANCIAL SERVICES
   698865 INC                            10 VALLEY STREAM PARKWAY                  SUITE 210                                                                                 MALVERN             PA           19355
                                         TAX DEPT 9191 SOURTH
   269781 LOCKWOOD GREENE PR INC         JAMAICA ST                                                                                                                          ENGLEWOOD           CO           80112
   698866 LOCTITE P.R. INC.              P.O. BOX 669                                                                                                                        SABANA GRANDE       PR           00637
   698867 LOCTITE PUERTO RICO            BOX 669                                                                                                                             SABANA GRANDE                    00637
   269782 LOCTITE PUERTO RICO INC        PO BOX 669                                                                                                                          SABANA GRANDE       PR           00637
          LODDER TOWERS
   698868 INCORPORATED                   64 COCALICO GREEK ROAD                                                                                                              EPHRATA             PA           17522‐9403

   269785 LODERAY BRACERO MARRERO                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698869 LODIA FAMILIA GALVA                         1241 MAJESTIC PALM CT                                                                                                  APOPKA              FL           32712‐2455
   698870 LODIA RODRIGUEZ MERCED                      HC 1 BOX 5040                                                                                                          SALINAS             PR           00751
   269789 LODYS N GONZALEZ ALICEA                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269791 LOEDDA NUNEZ ARANA                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269792 LOENIA L SANCHEZ                            REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269795 LOFF SERVICES INC                           AREA DEL TESORO              DIVISION DE RECLAMACIONES                                                                 SAN JUAN            PR           00902‐4140
   269796 LOFF SERVICIOS INC                          PMB 151 PO BOX 2500                                                                                                    TRUJILLO ALTO       PR           00977
   269797 LOFT HAUS INC                               1205 ROOSEVELT                                                                                                         SAN JUAN            PR           00920
   269798 LOGAN RIVER ACADEMY LLC                     PO BOX 3662                                                                                                            LOGAN               UT           84323



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  269799 LOGAN SHORT                                  78 KINGS COURT APT 2A                                                                                                 SAN JUAN            PR           00911

   698872 LOGI COMP TECHNICAL SERVICES 601 AVE DE DIEGO                                                                                                                     PUERTO NUEVO        PR           00920
   698874 LOGIA ADELPHIA 1             PO OX 995                                                                                                                            MAYAGUEZ            PR           00680
   698875 LOGIA DELTA 64               PO BOX 52                                                                                                                            MANATI              PR           00674
   269800 LOGIA FARO DE BORINQUEN      P.O. BOX 35                                                                                                                          LARES               PR           00669

   698876 LOGIA JOSE LAMAS BESTARD #27 P.O. BOX 10606                                                                                                                       SAN JUAN            PR           00922‐0606

   269801 LOGIA RAYOS DE UN NUEVO SOL PO BOX 58                                                                                                                             LARES               PR           00669

   698877 LOGIA UNION Y ARMONIA 336                   P.O. BOX 10606                                                                                                        SAN JUAN            PR           00922‐0606
          LOGIC EXT ROSOURCES/A DIV                   MEASUREMENT PROFESSIONALS
   698878 APPLIED                                     INC                       435 MARINA DRIVE                                                                            GEORGETOWN          SC           29440‐2410
          LOGISTIC & PLANNING MANG
   698879 INC                                         DORADO DEL MAR              F‐16 AZULES DEL MAR                                                                       DORADO              PR           00646

   269803 LOGMEIN IRELAND LTD                         BLOODSTONE BUILDING BLOCK C 70 SIR JOHN ROGERSON'S QUAY                                                               DUBLIN                           00002          IRELAND
                                                                                  100 CALLE RÍO ESPÍRITU SANTO
  1420206 LOGORIA SEPULVEDA, PETER                    MIGUEL A. RODRÍGUEZ‐ROBLES APT. 101                                                                                   BAYAMON             PR           00961
   269809 LOGROS DE PUERTO RICO                       CALLE AURORA #4010                                                                                                    PONCE               PR           00717‐1513

   698880 LOGROS DE PUERTO RICO INC                   4010 CALLE AURORA                                                                                                     PONCE               PR           00717
   698881 LOHR GONZALEZ SMITH                         60 CALLE CRUZ                                                                                                         SAN JUAN            PR           00901
   269810 LOID TORRES REYES                           REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LOIDA A. RODRIGUEZ
   269811 RODRIGUEZ                                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   269813 LOIDA AGUEDA DE RIVERA                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   269815 LOIDA BERMUDEZ OFARRIL                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   698883 LOIDA CARRASQUILLO FUENTES                  PO BOX 50063                                                                                                          SAN JUAN            PR           00772
   698884 LOIDA CARRASQUILLO REYES                    URB JARDINES COAMO          K 6 CALLE 6                                                                               COAMO               PR           00769
   269816 LOIDA CEPEDA CIRINO                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LOIDA DEL CARMEN GONZALEZ
   269817 CUEVAS                                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   698886 LOIDA DEL VALLE MARQUEZ                     PO BOX 137                                                                                                            CANOVANAS           PR           00729‐0137
   698887 LOIDA DIAZ RODRIGUEZ                        HC 03 BOX 9016              BO ACEITUNA                                                                               MOCA                PR           00676
   269818 LOIDA E LUGO SALVADOR                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   698888 LOIDA E RIVERA MELENDEZ                     214 BO ALTAGRACIA                                                                                                     MANATI              PR           00674
   698890 LOIDA E SOTO PORTALATIN                     PO BOX 66                                                                                                             ARROYO              PR           00714
   269819 LOIDA E VIERA CASTRO                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   269820 LOIDA E. DE GRACIAS COLON                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   269821 LOIDA E. DEYNES ROLDAN                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   698893 LOIDA ESPADA                                PARC JAUCA                  513 CALLE A 4                                                                             SANTA ISABEL        PR           00757
   269823 LOIDA ESPINOSA DIAZ                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   269824 LOIDA ESTRELLA MATOS                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   269826 LOIDA FERNANDEZ OQUENDO                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   698894 LOIDA GARCIA BAEZ                           COND VILLAS DEL PARQUE      APT 9                                                                                     SAN JUAN            PR           00909
   698895 LOIDA GUTIERREZ MELENDEZ                    URB REXVILLE BE7 CALLE 40                                                                                             BAYAMON             PR           00956
   269828 LOIDA I CATALA FLORES                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   698896 LOIDA I MARTINEZ COLON                      URB PASEO DE SAN LORENZO    910 CALLE TOPACIO                                                                         SAN LORENZO         PR           00754
   269829 LOIDA IVETTE CATALA FLORES                  REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  269830 LOIDA J. RUIZ DIAZ                            REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   269831 LOIDA LUZ PEREZ CARTAGENA                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   698899 LOIDA M HERNANDEZ VAZQUEZ 301 C SUITE 561 LA RAMBLA                                                                                                            PONCE                PR         00731

   269832 LOIDA MALDONADO ALCAZAR                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   698900 LOIDA MELENDEZ MEJIAS                        214 BO ALTAGRACIA                                                                                                 MANATI               PR         00674
   698901 LOIDA MORALES ZAYAS                          RES LA ROSA                   EDF A 1 APT 11                                                                      SAN JUAN             PR         00923
   269833 LOIDA PEREZ MIRANDA                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   698902 LOIDA RAMOS CORDERO                          PO BOX 597                                                                                                        HATILLO              PR         00659
   698903 LOIDA RODRIGUEZ OCASIO                       RR 02 APARTADO 7121                                                                                               MANATI               PR         00674
   698905 LOIDA RODRIGUEZ ORTIZ                        URB ARROYO DEL MAR            107 CALLE CARIBE                                                                    ARROYO               PR         00714
   698906 LOIDA RODRIGUEZ PADUA                        VALLE DE ANDALUCIA            CALLE CADIZ                                                                         PONCE                PR         00728
   698907 LOIDA RODRIGUEZ RAMOS                        PO BOX 1198                                                                                                       RIO GRANDE           PR         00745

   698908 LOIDA RODRIGUEZ RODRIGUEZ                    HC‐03 BOX 25977                                                                                                   LAJAS                PR         00667
   269834 LOIDA RODRIGUEZ ROSADO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   698909 LOIDA RODRIGUEZ SANCHEZ                      LOMAS VERDES                  2 T 7 CALLE JACINTO                                                                 BAYAMON              PR         00956
   698910 LOIDA RONDA CRUZ                             ONEILL                        AA 1 CALLE 2                                                                        MANATI               PR         00674
   698911 LOIDA ROSADO SANTANA                         URB CROWN HILLS               218 CALLE ZAMBEZE                                                                   SAN JUAN             PR         00926
   269836 LOIDA SOTO NOGUERAS                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   698913 LOIDA TORRES BAEZ                            COUNTRY CLUB                  873 CALLE COLFA                                                                     SAN JUAN             PR         00926
   698914 LOIDA TROSSI ORTIZ                           2 CALLE ARIZONA                                                                                                   ARROYO               PR         00714
   698915 LOIDA VAZQUEZ GARCIA                         PO BOX 907                                                                                                        CIDRA                PR         00739
   269838 LOIDA VEGA DIAZ                              REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   698916 LOILDO MENDEZ MORALES                        HC 83 BUZON 6792              SABANA HOYOS                                                                        VEGA ALTA            PR         00692‐9711
   269840 LOIMEX OVANDO RIVERA                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   269842 LOINAZ RIVERA MD, MARITZA H REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   269843 LOIRA ACOSTA BAEZ           REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   269846 LOIRA M ACOSTA BAEZ         REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   698917 LOISETTE BARBOSA PEREZ                       UNID. ALCOHOLISMO Y DESINT                                                                                        Hato Rey             PR         009360000
   269856 LOIZ M ARROYO RAMIREZ                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          LOIZA BASKETBALL CLUB
   269870 COCOTEROS INC                                HC 1 BOX 6617                                                                                                     LOIZA                PR         00772
   698918 LOIZA DEVELOPMENT S E                        DRC CENTER 1608 SUITE 401     AVE PONCE DE LEON                                                                   SAN JUAN             PR         00909
   269871 LOIZA FUNERAL HOME                           CALLE SAN PATRICIO FINAL #5                                                                                       LOIZA                PR         00772
   269874 LOJACK CORPORATION                           40 PEQUOT WAY                                                                                                     CANTON               MA         02021

   269881 LOLA AND THE BOYS                            1006 AVE ASHFORD CONDADO                                                                                          SAN JUAN             PR         00907
   698919 LOLA C BONILLA                               P O BOX 9514                                                                                                      BAYAMON              PR         00960‐9514
   698920 LOLA MILLAN ORELLANO                         PO BOX 848                                                                                                        RIO GRANDE           PR         00745
   269882 LOLA RUNLIKE A LOLA INC                      PO BOX 2963                                                                                                       CAROLINA             PR         00984
   698921 LOLIN CANDELARIA SILVA                       PO BOX 751                                                                                                        MANATI               PR         00674
   698922 LOLIN'S CAFE                                 VISTAS DE MONTE CASINO        500 AVE NORTE APT 2605                                                              TOA ALTA             PR         00953
   269883 LOLITA COLON COLON                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   269884 LOLITA FELICIANO RAMOS                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          LOLITA GANDARILLA DE CASAS
   269885 NOVAS                                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   269886 LOLITA GARCIA ORTIZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED




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   698923 LOLITA MONTALVO CORDERO                     PLAZA MERCADO PUESTO 11     122 CALLE CARBONELL                                                                        CABO ROJO           PR           00622
   269887 LOLITA WHATTS                               REDACTED                    REDACTED                   REDACTED                            REDACTED                    REDACTED            REDACTED     REDACTED      REDACTED
   269888 LOLITAS MEXICAN FOOD                        REDACTED                    REDACTED                   REDACTED                            REDACTED                    REDACTED            REDACTED     REDACTED      REDACTED
   698925 LOLLIS TRAVELS                              631 CALLE ANDALUCIA                                                                                                    SAN JUAN            PR           00926
          LOLLYMAR BETANCOURT                         URB LOS ANGELES W 1 CALLE
   698926 PIRABAN                                     ALELI                                                                                                                  CAROLINA            PR           00979
   269889 LOM CONSTRUCTION CORP                       583 AVE HOSTO                                                                                                          HATO REY            PR           00918
          LOMANVIEW BASEBALL LEAGUE
   698927 INC                                         MANSIONES DE CAROLINA       MM CALLE 58                                                                                CAROLINA            PR           00987
          LOMANVIEW BEISBOLL LEAGUE
   698928 INC                                         MANSIONES DE CAROLINA       MM24 CALLE 58                                                                              CAROLINA            PR           00987
   698929 LOMANVIEW INC                               LOMAS DE CAROLINA           UU 28 CALLE YUNQUESITO                                                                     CAROLINA            PR           00987
   269892 LOMAS BUS LINE INC                          P.O. BOX 504                                                                                                           NARANJITO           PR           00719
          LOMAS DE SANTA MARTA INV.
   698930 INC.                                        PO BOX 3609                                                                                                            SAN JUAN            PR           00936
          LOMAS DE SANTA MARTA
   269893 LIMITED PARTNERSHIP                         PO BOX 71361                                                                                                           SAN JUAN            PR           00936‐8461
          LOMAS VERDE SERVICE STA
   698931 TEXACO                                      PO BOX 683                                             BAYAMON                                                         BAYAMON             PR           00960
          LOMAS VERDES ANIMAL
   269894 HOSPITAL                                    URB ROYAL PALM              1C28 AVE LOMAS VENDES                                                                      BAYAMON             PR           00956
          LOMAS VERDES MEDICAL
   269895 CENTER                                      PO BOX 395                                                                                                             BAYAMON             PR           00960‐0395
   269896 LOMAS VERDES, JARDIN                        REDACTED                    REDACTED                   REDACTED                            REDACTED                    REDACTED            REDACTED     REDACTED      REDACTED

   698932 LOMBA LUCIANO AND MENDEZ 165 PONCE DE LEON                                                                                                                         SAN JUAN            PR           00917‐1233
          LOMBARDO PEREZ DBA ARECIBO
   698933 EXECUTIV HALL              P O BOX 1883                                                                                                                            PONCE               PR           00733
   698934 LOMBARDO PEREZ PEREZ       PO BOX 331883                                                                                                                           PONCE               PR           00733‐1883
          LONE STAR INSURANCE
   269916 PRODUCERS INC              1302 PONCE DE LEON AVE                       SUITE 302                                                                                  SAN JUAN            PR           00907
   698935 LONG ALDRIDGE & NORMAN     303 PEACHTREE ST                             SUITE 5300                                                                                 ATLANTA             GA           30308

   269921 LONG ISLAND COLLEGE HOSPITAL 339 HICKES ST                                                                                                                         BROOKLYN            NY           11201‐5509
          LONG ISLAND HEALTH
   269922 MANAGEMENT                   1065 OLD COUNTRY RD STE 206                                                                                                           WESTBURG            NY           11590
                                       6502 GRAN TETON PLAZA SUITE
   269923 LONG TERM CARE INSTITUTE INC 107                                                                                                                                   MADISON             WI           53719
   269927 LONGINIO DIAZ SERRANO        REDACTED                                   REDACTED                   REDACTED                            REDACTED                    REDACTED            REDACTED     REDACTED      REDACTED
   698937 LONGINO CALDERON SANTINI     PO BOX 7126                                                                                                                           PONCE               PR           00732
   269928 LONGINO ORTIZ POCHE          REDACTED                                   REDACTED                   REDACTED                            REDACTED                    REDACTED            REDACTED     REDACTED      REDACTED
   698939 LONGMAN, INC.                95 CHURCH STREET                                                                                                                      WHITE PLAINS        NY           10601
                                       1018 ASHFORD AVE. ASTOR
   698940 LONGO DE P.R.                CONDADO                                    BLDG. # 349                                                                                SANTURCE                         00907
   698941 LONGO DE PR                  AVE ASHFORD 1018 .                         EDIF ASTOR OFIC 3‐C                                                                        SANTURCE            PR           00907
   269932 LONGO DE PUERTO RICO INC     1018 AVE ASHFORD STE 3 A 9                                                                                                            SAN JUAN            PR           00907
          LONGO EN TECH PUERTO RICO,                                              WEINSTEIN‐BACAL MILLER &                                       154 RAFAEL CORDERO ST. PLAZA
  1423071 INC                          STUART A. WEINSTEIN BACAL                  VEGA GONZALEZ              PADIN BULD.‐PENTHOUSE               DE ARMAS                     OLD SAN JUAN       PR           00901
          LONGO RODRIGUEZ MD,
   269942 FERNANDO                     REDACTED                                   REDACTED                   REDACTED                            REDACTED                    REDACTED            REDACTED     REDACTED      REDACTED
   698942 LONKA ALVAREZ                666 MCKINLEY APT 3                                                                                                                    SAN JUAN            PR           00907
   698943 LONKA DIAZ DIAZ              HC 04 BOX 8368                                                                                                                        AGUAS BUENAS        PR           00703



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   698944 LOOK AT ME PRODUCTIONS, INC. PO BOX 129                                                                                                               SCHAUMBURG          IL           60168‐0129
   269953 LOOMIS FARGO INC             P O BOX 70282                                                                                                            SAN JUAN            PR           00936‐8282
   269955 LOOMIS PUERTO RICO INC       P O BOX 191666                                                                                                           SAN JUAN            PR           00919‐1666
   698945 LOOMIS SAYLES & CO LP        POST OFFICE BOX 3400‐72                                                                                                  BOSTON              MA           0022410472
   269956 Loop 1 Systems, Inc.         PO Box 5322                                                                                                              Austin              TX           78763
   698946 LOPE CARRASQUILLO CASTRO     HC 03 BOX 9073                                                                                                           JUNCOS              PR           00777‐9602
   698947 LOPE ROLDAN VAZQUEZ          PO BOX 606                                                                                                               SAN LORENZO         PR           00754
   698948 LOPEL DISTRIBUTOR            165 CALLE SAN NARCISO                 PO BOX 974                                                                         AGUADA              PR           00602
   698949 LOPEL DISTRIBUTORS           PO BOX 974                                                                                                               AGUADA              PR           00602
          LOPERENA JIMENEZ MD,
   269974 ELEUTERIO                    REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   269975 LOPERENA LOPEZ, CLARIBEL     REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   270018 LOPEZ & HERMIDA CORP         PO BOX 974                                                                                                               AGUADA              PR           00602

   270019 LOPEZ & LOPEZ CONTRACTORS                   P O BOX 1379                                                                                              LARES               PR           00669
   270020 LOPEZ & MONZON SE                           LA VILLA DE TORRIMAR   388 CALLE REY RICARDO                                                              GUAYNABO            PR           00969
   270025 LOPEZ ABRAHANTE, TIFFANY                    REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   270029 LOPEZ ACEVEDO MD, CARMEN E REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   270031 LOPEZ ACEVEDO MD, MARJERY REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LÓPEZ ACOSTA, MARÍA DOLORES
  1420207 Y OTROS                     OLGA D. ÁLVAREZ GONZÁLEZ               PO BOX 70244                                                                       SAN JUAN            PR           00936‐8244
   270120 LOPEZ AGUDO MD, JOSE J      REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698950 LOPEZ ALEJANDRO Y CO.       PO BOX 192032                                                                                                             SAN JUAN            PR           00919
   270146 LOPEZ ALERS, JOSHUA J.      REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   270154 LOPEZ ALICEA, ALBERTO       REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   270177 LOPEZ ALICEA, ROSALIA       REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   270243 LOPEZ ALVELO, JESSICA       REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   270320 LOPEZ AROCHO, CARMELO       REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   270328 LOPEZ ARRIAGA, MILDRED      REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   270386 LOPEZ ASENCIO MD, CARLOS    REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698951 LOPEZ AUTO BODY             HC 2 BOX 11091                                                                                                            HUMACAO             PR           00661
   698952 LOPEZ AUTO SALES            P O BOX 19                                                                                                                QUEBRADILLAS        PR           00678
   270441 LOPEZ BAEZ MD, PABLO M      REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   270486 LOPEZ BATALLA MD, JORGE     REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   270517 LOPEZ BELTRAN, CARMEN       REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   270548 LOPEZ BERRIOS MD, JUAN      REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LOPEZ BROTHERS
   270648 CONSTRUCTION                HC 01 BOX 5324                                                                                                            BARRANQUITAS        PR           00794
   270687 LOPEZ BUS LINE              URB FERRY BARRANCAS                    61 CALLE ALELIES                                                                   PONCE               PR           00730
   270688 LOPEZ BUS LINE ‐ PONCE      URB FERRY BARRANCAS                    61 CALLE ALELI                                                                     PONCE               PR           00731
                                      URB. FERRY BARRANCALLE
   270689 LOPEZ BUS LINE , INC.       ALELIES 61                                                                                                                PONCE               PR           00731‐0000
          LOPEZ BUS LINE DBA WALDEMAR
   270690 LOPEZ                       BOX 6745                                                                                                                  HORMIGUEROS         PR           00660‐9715
          LOPEZ BUS LINE WALDEMAR
   270691 LOPEZ                       BO LAVADERO                            HC 02 BOX 6745                                                                     HORMIGUEROS         PR           00660‐9715
   270602 LOPEZ BUS LINE, INC         URB FERRY BARRANCAS                    61 CALLE ALELI                                                                     PONCE               PR           00731
  1420208 LOPEZ CAMACHO, EDGARDO      YARLENE JIMENEZ                        PMB 291 #1353 RD. 19                                                               GUAYNABO            PR           00966‐2700

   270826 LOPEZ CARDONA MD, CARLOS                    REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  270827 LOPEZ CARDONA MD, JULIO C                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  270848 LOPEZ CARDONA, WANDA T                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   270907 LOPEZ CARTAGENA, DOMINGA                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698953 LOPEZ CASH CARRY                            PO BOX 9024275                                                                                                   SAN JUAN            PR         00902‐4275
   270951 LOPEZ CASTRO MD, LUIS A                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   270980 LOPEZ CASTRO, MARIA H.                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   270999 LOPEZ CEDENO, MADELINE                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   271017 LOPEZ CEPERO MD, JOSE                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                               INSTITUCIÓN MÁXIMA
  1422939 LOPEZ CHARLES, CARLOS                       LOPEZ CHARLES, CARLOS    SEGURIDAD PONCE:             3793 PONCE BY PASS                                         PONCE               PR         00728‐1504
   271062 LOPEZ CINTRON, LINOSHKA                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LÓPEZ COLÓN, ANDERSON Y
  1420209 TORRES MATOS, ADALBERTO                     ALFREDO UMPIERRE SOLER   10 CARR. 174 AGUSTÍN STAHL                                                              BAYAMÓN             PR         00956
   271131 LOPEZ COLON, EMMANUEL                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698954 LOPEZ CONSTRUCTION SE                       PO BOX 550                                                                                                       AGUADA              PR         00602

   271240 LOPEZ CORDERO MD, VIONETTE                  REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   271250 LÓPEZ CORDERO, ZULMA A.                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   271252 LÓPEZ CORDOVA, LOYDA                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1420210 LOPEZ CORREA, NEDINIA                       ANGEL RIVERA RUIZ        PO BOX 195386                                                                           SAN JUAN            PR         00919‐5386
                                                                               URB SAN ANTONIO 1744 CALLE
  1420211 LÓPEZ COTTO, MYRIAM                         LUIS M. BARNECET VÉLEZ   DONCELLA                                                                                PONCE               PR         00728‐1624
   271328 LOPEZ COVAS MD, AGUSTIN                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   271449 LOPEZ CRUZ, WANDA                           REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   271512 LOPEZ DE JESUS MD, FERNANDO REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   271520 LOPEZ DE JESUS, FERNANDO    REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   271570 LOPEZ DE PINTO, MYRNA       REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LOPEZ DE VICTORIA MD,
   271588 ORLANDO                     REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   271509 LOPEZ DE VICTORIA, JOSE R   REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   271527 LOPEZ DE VICTORIA, MANUEL A                 REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   271611 LOPEZ DEL POZO MD, JORGE                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   271646 LOPEZ DELGADO, MAYLEEN                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   271663 LOPEZ DIAZ MD, MIGUEL A                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   271664 LOPEZ DIAZ MD, NYDIA                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   271665 LOPEZ DIAZ MD, NYDIA M                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                               COND TORRE ALTA PH01 274
  1420212 LOPEZ DIAZ Y OTROS, ANGEL R                 DIANA T DÍAZ TORRES      URUGUAY PH01                                                                            SAN JUAN            PR         00917‐2027
   698956 LOPEZ DISTRIBUTORS                          463 B AVE NOEL ESTRADA                                                                                           ISABELA             PR         00662
   271813 LOPEZ DUQUE MD, LUZ M                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LOPEZ E FIGUEROA INC HNC
   271816 TIENDAS FERCO                               2 MUNOZ RIVERA                                                                                                   CAYEY               PR         00736
   698957 LOPEZ ELECTRIC SERVICES                     45 CALLE 40 # 7                                                                                                  SAN JUAN            PR         00923
   698958 LOPEZ ELECTRONIC RAPAIR                     P O BOX 851                                                                                                      HATILLO             PR         00659

   271832 LOPEZ ENCARNACION, MARINA                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   271835 LOPEZ ENRIQ0E0 MD, REYNOLD                  REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   271836 LOPEZ ENRIQUEZ MD, ALBERTO                  REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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   271837 LOPEZ ENRIQUEZ MD, EDRICK D                 REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LOPEZ ENTERPRISE
   271841 CONTRACTORS                                 APARTADO 29770                                                                                                        SAN JUAN            PR           00929
   271900 LÓPEZ FELICIANO, CARLOS I.                  REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   272076 LOPEZ FLORES, JEANETTE                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   272139 LOPEZ GALARZA MD, LUIS                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   272163 LOPEZ GARCIA MD, JUAN M                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   272215 LOPEZ GARCIA, LUZ C                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   272244 LOPEZ GARCIA, YESENIA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420213 LOPEZ GOMEZ, MIGDALIA                       MIGDALIA LÓPEZ GÓMEZ         URB. ALTAMESA                                                                            RIO PIEDRAS         PR           00921

   272293 LOPEZ GONZALEZ MD, ARTURO                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LOPEZ GONZALEZ MD,
   272294 FRANCISCO                                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   272372 LOPEZ GONZALEZ, JANYRALISSE                 REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   272512 LOPEZ GUZMAN MD, EVA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   272538 LOPEZ GUZMAN, ROSAURA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   272559 LOPEZ HERNANDEZ MD, MYRNA REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420214 LÓPEZ HERNÁNDEZ, CARLOS   WANDA I. CRUZ PACHECO                          PO BOX 6255                                                                              MAYAGÜEZ            PR           00681
                                                                                   1498 CAMINO LOS GONZÁLEZ
  1420215 LÓPEZ HERNÁNDEZ, IVÁN                       ISABEL BARRADAS BONILLA      APT. 52                                                                                  SAN JUAN            PR           00926‐8805
   272689 LOPEZ HIDALGO MD, VICENTE                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   272911 LOPEZ LLAVONA MD, VICTOR                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   SUITE 707 954 PONCE DE LEON
   272919 LOPEZ LOPEZ ASOCIADOS                       MIRAMAR PLAZA CENTER         AVE                                                                                      SAN JUAN            PR           00907
   272922 LOPEZ LOPEZ MD, BENIGNO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   272923 LOPEZ LOPEZ MD, JOSE J                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   272924 LOPEZ LOPEZ MD, LINETH                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   272925 LOPEZ LOPEZ MD, PEDRO M                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   272926 LOPEZ LOPEZ MD, RICARDO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1420216 LÓPEZ LÓPEZ, ALEXIS                         RAFAEL ALEN GONZALEZ         PLAZA 10 RD‐18 MARINA BAHIA                                                              CATAÑO              PR           00962
   272961 LOPEZ LOPEZ, CARMEN                         REDACTED                     REDACTED                    REDACTED                              REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   URB. HERMANAS DAVILA AVE.
  1420217 LÓPEZ LÓPEZ, JANNETTE                       JUAN CORCHADO JUARBE         BETENCES I‐2                                                                             BAYAMÓN             PR           00959
                                                                                   URB. HERMANAS DAVILA AVE.
  1420218 LÓPEZ LÓPEZ, JANNETTE                       JUAN CORCHADO JUARBE         BETENCES I‐2                                                                             BAYAMÓN             PR           00959
   273027 LOPEZ LOPEZ, JESUS E.                       REDACTED                     REDACTED                    REDACTED                              REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   273170 LOPEZ LOPEZ, WILLIAM                        REDACTED                     REDACTED                    REDACTED                              REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1420219 LOPEZ LUGO, PEDRO                           RAMON A. LLORACH GONZALEZ    61 VIRGINIA ST SABALOS WARD                                                              MAYAGUEZ            PR           00680
   273216 LOPEZ LUNA INSURANCE                        1731 AVE PINERO                                                                                                       SAN JUAN            PR           00920

   698960 LOPEZ MAINTENANCE SERVICE                   P O BOX 8009                                                                                                          BAYAMON             PR           00960
   273342 LOPEZ MARQUEZ MD, JOSE L                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   273354 LOPEZ MARQUEZ, NILDA N.                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   273388 LOPEZ MARTINEZ , ANNETTE                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      SR. ANGEL FRANCISCO FERRER   PO BOX 29247 UGT ESTACIÓN
  1420220 LOPEZ MARTINEZ, CARLOS                      CRUZ                         65 DE INFANTERIA                                                                         SAN JUAN            PR           00929




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  1420221 LOPEZ MARTÍNEZ, FRANCISCO                   NORANA SANCHEZ ALVARADO   HC‐01 BOX 6187                                                                          CABO ROJO           PR           00623
   273488 LOPEZ MARTINEZ, MERCEDES                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420222 LOPEZ MARTINEZ, NANCY                       OSVALDO BURGOS            PO BOX 194211                                                                           SAN JUAN            PR           00919‐4211
   273577 LOPEZ MD , ELDA M                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   273578 LOPEZ MD , HECTOR M                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   273579 LOPEZ MD, ROSARIO                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   273622 LOPEZ MELENDEZ, CINDY                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   273641 LOPEZ MELENDEZ, JOSEMARIE                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   273688 LOPEZ MENDEZ, MILDRED                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   273719 LOPEZ MERCADO, MAYRA                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   273725 LOPEZ MERCADO, REINALLY                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   273733 LOPEZ MERCADO, YOLANDA                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   273855 LOPEZ MONTANEZ, YINELLY                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                URB. PUERTO NUEVO 610 AVE.
  1420223 LOPEZ MORA, RAFAEL                          DANIEL CACHO SERRANO      DE DIEGO                                                                                SAN JUAN            PR           00920
                                                                                3536 BLVD. MEDIALUNA THE
  1420224 LOPEZ MORA, WILMA                           WILMA LOPEZ MORA          RESIDENCES 1930                                                                         CAROLINA            PR           00987‐5050
                                                                                3536 BLVD. MEDIALUNA THE
  1420225 LOPEZ MORA, WILMA                           WILMA LOPEZ MORA          RESIDENCES 1930                                                                         CAROLINA            PR           00987‐5050
   273885 LOPEZ MORALES MD, ANGEL                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420226 LOPEZ MORALES, ZAHIRA                       EMILIO CANCIO BELLO       SAN MATEO 1702                                                                          SANTURCE            PR           00912
   698961 LOPEZ MUFFLER                               HC 02 BOX 10408                                                                                                   QUEBRADILLA         PR           00678
                                                                                SUITE 204 650 AVE. MUNOZ
   274008 LOPEZ MULERO ESTUDIO LEGAL EDIFICIO PLAZA                             RIVERA                                                                                  SAN JUAN            PR           00918
   274108 LOPEZ NEGRON MD, ARTURO    REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   274146 LOPEZ NIEVES MD, MYRNA     REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   274147 LOPEZ NIEVES MD, ZOILO     REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   274234 LOPEZ OJEDA ,DIANA ESTHER  REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   274238 LOPEZ OJEDA, MARJORIE      REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   274274 LOPEZ OPEZ MD, ULISES M    REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   274455 LOPEZ ORTIZ, REBECCA       REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420227 LÓPEZ ORTIZ, VILMARIE      JUAN R. DÁVILA DÍAZ                        134 MAYAGÜEZ                                                                            HATO REY            PR           00917
   698962 LOPEZ ORZA ROBERTO         AL54 URB VISTA ALEGRE                      PO BOX 10283                                                                            PONCE               PR           00732
                                     MANUEL LUIS MORALES                        URB. SANTA CRUZ 47 ESTEBAN
  1420228 LÓPEZ PABÓN, EDGAR J.      SCHMIDT                                    PADILLA SUITE 1‐A                                                                       BAYAMÓN             PR           00961
   274538 LOPEZ PACHECO, SATURNINO   REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1420229 LOPEZ PACHECO, VIOLETA                      EDGARDO PABON RODRIGUEZ   PO BOX 364966                                                                           SAN JUAN            PR           00936‐4966
   274619 LOPEZ PAGAN, MARIA M                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   274633 LOPEZ PAGAN, RAIMUNDO                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   274672 LOPEZ PEÑA MD, MARICARMEN                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   274688 LOPEZ PEREZ MD, HECTOR                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   274689 LOPEZ PEREZ MD, JOSE                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420230 LÓPEZ PÉREZ, EDWIN                          LÓPEZ PÉREZ, EDWIN        2260 CALLE DR. LUGO                                                                     SAN ANTONIO         PR           00690
   274729 LOPEZ PEREZ, EDWIN O.                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   274749 LOPEZ PEREZ, HECTOR                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   274818 LOPEZ PEREZ, NYDIA                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   274834 LOPEZ PEREZ, ROSAURA                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420231 LOPEZ PEREZ, SHARELYS                       CESAR MARAVER MARRERO;    BOX 9688                                                                                SAN JUAN            PR           00908
   274849 LOPEZ PEREZ, YAMARITZA N                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  274894 LOPEZ PLAZA, DIXIE                           REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         LOPEZ POGGI AUREA CTA
  698963 CARMEN G SANTIAGO                            BO PLAYA SECT SAN PEDRO       CARR 127 KM 13 HM 1                                                                  GUAYANILLA          PR         00656
  274918 LOPEZ PUJOLS MD, ALVIN                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  275000 LOPEZ RAMIREZ MD, ELSA V                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
 1420232 LÓPEZ RAMOS, CARLOS                          JUAN SOTO BALBAS              PMB 270 #1353 VIGOREAUX                                                              GUAYNABO            PR         00966
  275165 LOPEZ REVEROL MD, JAIME P                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  275170 LOPEZ REYES MD, MANUEL                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  275230 LOPEZ REYES, WILLIAM                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  275232 LOPEZ REYES, YEMILY                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  275244 LOPEZ RIOS, DORIS                            REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  698964 LOPEZ RIVERA ANA M.                          URB VILLA ALBA CALLE 6 E‐32                                                                                        SABANA GRANDE       PR         00637
  698965 LOPEZ RIVERA JOSE                            PARQUE MEDITERRANEO           E6 CALLE CAPRI                                                                       SAN JUAN            PR         00969

   275284 LOPEZ RIVERA MA, MARCOS M                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   275285 LOPEZ RIVERA MD, ANABEL                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   275286 LOPEZ RIVERA MD, ARTURO J                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   275291 LOPEZ RIVERA, AGAL                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   275340 LOPEZ RIVERA, CARMEN M.                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   275375 LOPEZ RIVERA, ELSIA N                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   275502 LOPEZ RIVERA, LAISHA                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      MANUEL LOPEZ RIVERA
  1420233 LOPEZ RIVERA, MANUEL                        (CONFINADO)                   PO BOX 607073                                                                        BAYAMON             PR         00960
   275575 LOPEZ RIVERA, MILAGROS                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1420234 LOPEZ RIVERA, SAMUEL                        NESTOR D. ZAMORA SANTOS       PO BOX 6416                                                                          BAYAMON             PR         00960
   275694 LOPEZ ROCA MD, ARGELIO                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   275699 LOPEZ RODRIGUEZ MD, ANGEL L REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   275700 LOPEZ RODRIGUEZ MD, CARMEN REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   275747 LOPEZ RODRIGUEZ, CARIDAD   REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1420235 LOPEZ RODRIGUEZ, ELBA      OCTAVIO RIVERA BUJOSA                          PO BOX 676                                                                           MERCEDITA           PR         00715‐0676
   275794 LOPEZ RODRIGUEZ, ELIA      REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   275800 LOPEZ RODRIGUEZ, ELSIE     REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   275811 LOPEZ RODRIGUEZ, EVA L     REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   275945 LOPEZ RODRIGUEZ, MADELINE                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   275992 LOPEZ RODRIGUEZ, NEYSHA N                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   276012 LOPEZ RODRIGUEZ, OSVALDO                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   276082 LOPEZ ROJAS MD, SALVADOR                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

  1420236 LÓPEZ ROLÓN, CARMEN ALICIA                  FREDESWIN PÉREZ CABALLERO     PO BOX 723                                                                           CAGUAS              PR         00726‐0723

  1420237 LÓPEZ ROMÁN, ANGEL Y OTROS                  FRANCO I. CÁTALA DÍAZ         403 AVE. MUÑOZ RIVERA                                                                HATO REY            PR         00918‐3345
   276164 LOPEZ ROMAN, REBECCA                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   276227 LOPEZ ROSADO PHD, YMA J                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   276278 LOPEZ ROSARIO MD, LOIDA                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   276279 LOPEZ ROSARIO MD, ROBERTO E REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   276287 LOPEZ ROSARIO, CRISTINA     REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LÓPEZ ROSARIO, DELFINA;
  1420238 BENITO ACEVEDO Y/O          IVONNE GONZALEZ MORALES                       PO BOX 9021828                                                                       SAN JUAN            PR         00902‐1828



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  276311 LOPEZ ROSARIO, MANUEL      REDACTED                                        REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  276343 LOPEZ RUIZ MD, ANGEL L     REDACTED                                        REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
 1420239 LOPEZ RUIZ, CARMEN         IVONNE CRUZ SERRANO                             PO BOX 11897                                                                                SAN JUAN          PR         00922
  276388 LOPEZ RUYOL MD, LUIS R     REDACTED                                        REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  276391 LOPEZ SAAVEDRA, AWILDA E.  REDACTED                                        REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  276410 LOPEZ SALDANA, JAN CARLOS  REDACTED                                        REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
 1420240 LÓPEZ SALGADO, JORGE       ISRAEL ROLDAN GONZALEZ                          49 CALLE BETANCES                                                                           AGUADILLA         PR         00603
         LOPEZ SANCHEZ PIRILLIO &
  276431 HYMOVITS LLC               PO BOX 11917                                                                                                                                SAN JUAN          PR         00922‐1917
  276437 LOPEZ SANCHEZ, ANA         REDACTED                                        REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  276472 LOPEZ SANCHEZ, LYDIA M.    REDACTED                                        REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         LOPEZ SANTIAGO MD, ORLANDO
  276538 A                          REDACTED                                        REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   276539 LOPEZ SANTIAGO MD, TANYA I REDACTED                                       REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LÓPEZ SANTIAGO, MARIBEL;
          KEYRA K. Y SERGIO L. GONZALEZ
          LÓPEZ, HIJOS; Y RICARDO
  1420241 MARRERO MATOS                 CHARLES ZENO SANTIAGO                       PO BOX 70351                                                                                SAN JUAN          PR         00936‐8351

  1420242 LOPEZ SANTOS, CARLOS M.                     ANABEL M. DEL RIO SANTIAGO    PO BOX 64                                                                                   VEGA BAJA         PR         00693
  1420243 LOPEZ SEPULVEDA, LESBIA                     CARMEN I. AMY ROMÁN           PO BOX 9023954                                                                              SAN JUAN          PR         00902‐3954
   698966 LOPEZ SMALL ENGINE REPAIR                   PO BOX 1478                                                                                                               GUANICA           PR         00653
   276825 LOPEZ SOLER, HAYDEE                         REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   276857 LOPEZ SOTO, EDWIN                           REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   276859 LOPEZ SOTO, EDWIN D                         REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   698968 LOPEZ SPORTS SHOP                           2 AVE ROBERTO CLEMENTE B 27                                                                                               CAROLINA          PR         00983
                                                                                    PMB 133 1353 AVE. LUIS
  1420244 LÓPEZ TORO, BETSY J.                        YARLENE JIMENEZ ROSARIO       VIGOREAUX                                                                                   GUAYNABO          PR         00966‐2700
                                                                                    PMB 133 1353 AVE. LUIS
  1420245 LÓPEZ TORO, BETSY J.                        YARLENE JIMENEZ ROSARIO       VIGOREAUX                                                                                   GUAYNABO          PR         00966‐2700
   698969 LOPEZ TORRES HELIODORO                      PO BOX 1465                                                                                                               CAGUAS            PR         00726
   276964 LOPEZ TORRES MD, JOSE A                     REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   276965 LOPEZ TORRES MD, SARA                       REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

  1420246 LÓPEZ TORRES, ISMAEL                        SYLVIA SOTO MATOS             URB. LA PLANICIE CALLE 2‐ D 18                                                              CAYEY             PR         00736
   277094 LOPEZ TORRES, RICARDO                       REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   277116 LOPEZ TOSADO, GILDA                         REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   277120 LOPEZ TOSADO, MARIA M.                      REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      ALEJANDRA ANGELET
  1420247 LOPEZ TROCHE, LILIBETH                      RODRÍGUEZ                     PO BOX 9023904                                                                              SAN JUAN          PR         00902‐3904
   277137 LOPEZ TRUCK & BUS PARTS                     HC 02 BOX 6745                                                                                                            HORMIGUEROS       PR         00660
   277117 LOPEZ VALENTIN MD, ENID                     REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                    ANEXO 448 SECCIÓN 4‐A CARR.      UNIDAD 307 INDUSTRIAL
  1422532 LÓPEZ VÁZQUEZ, JAIME                        SR. JAIME LÓPEZ VÁZQUEZ       50                               LUCHETTI                                                   BAYAMÓN           PR         00961
   277267 LOPEZ VAZQUEZ, JAZMIN J                     REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   277307 LOPEZ VEGA PSC                              EL CEREZAL                    1686 CALLE PARANA                                                                           SAN JUAN          PR         00926
  1256641 LOPEZ VEGA, CPA, PSC                        REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      CALLE PARANA #1686, URB. EL
   277314 LOPEZ‐ VEGA, CPA, PSC                       CEREZAL                       1686 CALLE PARANA                                                                           SAN JUAN          PR         00926‐3144

   277362 LOPEZ VELAZQUEZ MD, JOSE A                  REDACTED                      REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  277441 LOPEZ VELEZ, MIGDALIA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  277471 LOPEZ VERGE MD, RAUL E                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  277478 LOPEZ VIDAL MD, HERNAN                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   277490 LOPEZ VILELLA ‐ ARQUITECTOS                 P O BOX 8778                                                                                                          SAN JUAN            PR         00910‐0778
   277491 LOPEZ VILLAFAÑE MD, JORGE                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LOPEZ VIZCARRONDO MD,
   277532 FRANK                                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   698970 LOPEZ WILSON / GALERIA DUEY                 86 CALLE MAYAGUEZ                                                                                                     SAN JUAN            PR         00917

   698972 LOPEZ Y LOPEZ ELECTRICAL CORP HC 9893                                    BO PUEBLO                                                                                LARES               PR         00669
   277541 LOPEZ YAMBO, CARMEN           REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   277586 LOPEZ, EMILIO                 REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1420248 LOPEZ, GUILLERMO              OSVALDO BURGOS                             PO BOX 194211                                                                            SAN JUAN            PR         00919‐4211
  1420249 LOPEZ, GUILLERMO              OSVALDO BURGOS                             PO BOX 194211                                                                            SAN JUAN            PR         00919 4211

  1420250 LOPEZ, JUAN F                               JOSE VILLAMIL CASANOVA       MCS PLAZA SUITE 804 AVENIDA                                                              HATO REY            PR         00917
   277607 Lopez, Nereida Madera                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1420251 LOPEZ, NOELIA                               JOSE H. LORENZO ROMAN        PO BOX 8728                                                                              HUMACAO             PR         00792‐8728
   277614 LOPEZ, RAYMOND                              REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1420252 LÓPEZ, SUHAILY                              ANA CAJIGAS                  PO BOX 2111                                                                              AGUADA              PR         00602
          LOPEZCEPERO SANCHEZ,
   277634 CARMEN A                                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   277638 López‐Dávila, Margarita                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   277644 López‐Jimenez, Alberto                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   277660 López‐Vera, Margarita                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698973 LOPITO ILEANA & HOWIE INC                   P O BOX 11856                                                                                                         SAN JUAN            PR         00922‐1856
   698974 LOPLE CORPORATION INC.                      4804 SCOTT RD                                                                                                         LUTZ                FL         33549
   698975 LORA & ADAMES CSP                           URB EL VEDADO                128 ISABEL ANDREU AGUILAR                                                                SAN JUAN            PR         00918
   277669 LORA DANETTE NIELD                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698976 LORA J ESPADA MEDINA                        74 AVE LOPATEGUI SUITE 200                                                                                            GUAYNABO            PR         00969‐3845
   698979 LORAIMA GONZALEZ CORTES                     HC 3 BOX 32986                                                                                                        AGUADILLA           PR         00603
          LORAIN COMMUNITY REGIONAL
   277687 HOSPITAL                                    3700 KOLBE RD                                                                                                         LORAIN              OH         44053
   277688 LORAINE A COLON                             REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   277689 LORAINE ALICEA MALDONADO                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   277690 LORAINE BAERGA AMARAT                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   277691 LORAINE CANCEL ADORNO                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   277692 LORAINE COTTO ROSA                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   277693 LORAINE CUEVAS SANDOVAL                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   277694 LORAINE E VAZQUEZ DIAZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   277695 LORAINE FELICIANO DIAZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   698980 LORAINE HERNANDEZ DIAZ                      BO OBRERO                    C/MOREL CAMPOS 516                                                                       SN JUAN             PR         00912
   277697 LORAINE I SEDA PAGAN                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   277698 LORAINE I TORRES DIAZ                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LORAINE M ACEVEDO
   277699 RODRIGUEZ                                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   277700 LORAINE MARTINEZ MELENDEZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   277702 LORAINE PEREZ COLON                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   698983 LORAINNE I RODRIGUEZ VARGAS URB ESTANCIAS DEL RIO                         505 CALLE PORTUGUES                                                                       HORMIGUEROS         PR           00660
   277703 LORAMI S PEREZ ROMAN        REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   277707 LORAN HERNANDEZ, SANTIAGO                   REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698984 LORANDA BLASINI GRAU                        COND. PATRICIOS APT. 604                                                                                                GUAYNABO            PR           00965
   698985 LORANE DE CASTRO                            EXT VILLA CAPARRA             D 16 CALLE ROMA                                                                           GUAYNABO            PR           00966

   698986 LORANGERIE DECOR                            URB MERCEDITA                 CALLE B COND BUENA VISTA 104                                                              PONCE               PR           00731
                                                      CALLE 8 S‐8 F17 VILLAS DE
   277714 LORCK CONTRACTORS , CORP.                   PARANA , RIO PIEDRAS                                                                                                    SAN JUAN            PR           00926‐0000
   277715 LORCK CONTRATORS CORP                       VILLAS DE PARANA              17 CALLE 8 S 8                                                                            SAN JUAN            PR           00926
   698988 LORD & YAGNAN                               PO BOX 195397                                                                                                           SAN JUAN            PR           00919

   698989 LORD BISSELL & BROOK L L P                  885 THIRD AVENUE 26TH FLOOR                                                                                             NEW YORK            NY           10022‐4802
   698990 LORD ELECTRIC CO OF PR INC                  PO BOX 363408                                                                                                           SAN JUAN            PR           00936‐3408
          LORD ELECTRIC COMPANY OF
   277716 PUERTO RICO INC                             PO BOX 363408                                                                                                           SAN JUAN            PR           00936‐3408
          LORD ELECTRIC/MAR ELECTRIC
   277717 LLC                                         PO BOX 363408                                                                                                           SAN JUAN            PR           00936
   698992 LORD JIM                                    250 CALLE SAN FRANCISCO       LOCAL 5                                                                                   SAN JUAN            PR           00901
                                                      PASEO PALAM REAL CALLE
   277718 LORD OF THE PRAY                            GUARIONEX #84                                                                                                           JUNCOS              PR           00777
   698993 LORD S AUTO CLASS CORP                      PO BOX 51135                                                                                                            TOA BAJA            PR           00950
   698987 LORD TITLE SERVICE CORP                     URB PUERTO NUEVO              550 CALLE DUNAS                                                                           SAN JUAN            PR           00920‐3729
   277719 LORDES DIAZ GARCIA                          REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277720 LORDS                                       PO BOX 3126 BAYAMON                                                                                                     BAYAMON             PR           00960
   698994 LORDS INC                                   PO BOX 3126                                                                                                             BAYAMON             PR           00960
   698995 LOREAINE ORTIZ ORTIZ                        URB OASIS GARDENS E11         CALLE ARGETINA                                                                            GUAYNABO            PR           00969
   277722 L'OREAL CARIBE INC                          PO BOX 195492                                                                                                           SAN JUAN            PR           00919
   277723 LOREANE CAMACHO                             REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277724 LOREANNIE FIGUEROA CRUZ                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   277727 LOREEN RODRIGUEZ SANTIAGO                   REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LOREINNE I ARROYO
   277728 MALDONADO                                   REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277729 LORELAINE GARCIA RIVERA                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277730 LORELAINE LEON LEYVA                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   698999 LORELAY ROBLES FIGUEROA                     COVADONGA                     3B 21 CALLE PALACIO VALDES                                                                TOA BAJA            PR           00949
   277731 LORELEI GARCIA TRABAL                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277733 LORELI ROSARIO ABREU                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   277734 LORELL BETANCOURT ROSADO                    REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699001 LORELL C VARAS RODRIGUEZ                    VALENCIA                      415 RIVADAVIA                                                                             SAN JUAN            PR           00923
   277735 LORELL E LEDESMA NEGRON                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699002 LORELL GONZALEZ                             PORTIGOS GUAYNABO             1 CALLE VILLEGAS APT 5101                                                                 GUAYNABO            PR           00971
   277737 LORELL LOPEZ IRIZARRY                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277738 LORELL PEREZ GALINDO                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699003 LORELL ROSARIO MERCADO                      EXT SANTA TERESITA            CALLE STA ALODIA                                                                          PONCE               PR           00730
   277739 LORELL V RUIZ ALVAREZ                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277740 LORELL VALERO NOBLE                         REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277742 LORELL VELAZQUEZ TAPIA                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          LORELLE AIMEE CERVONI
   699004 MENDEZ                                      QUINTAS DE SAN LUIS          B 4 CALLE DALI                                                                     CAGUAS              PR           00725
   277743 LORELLY MARCANO REYES                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699005 LORELY BAREA IRIZARRY                       NUEVA SALAMANCA              9 CALLE CADIZ                                                                      SAN GERMAN          PR           00683
   277746 LORELY E. MENDEZ PAIROL                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277747 LORELY TAPIA RODRIGUEZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      APARTADO 9631 COTTO
   699006 LOREN FERNANDEZ FELICIANO                   STATION                                                                                                         ARECIBO             PR           00613

   277749 LOREN M ALVARADO VAZQUEZ                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   277750 LOREN MONTANEZ QUINONES                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699007 LORENA BIAGGI                               19 PASEOS DE LA ATENAS                                                                                          MANATI              PR           00654
   277751 LORENA BONET COLON                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277752 LORENA COLON ANABITARTE                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   699009 LORENA DELGADO ALVARADO                     BRISAS DEL MAR               C 4 CALLE 5                                                                        LUQUILLO            PR           00773
   699010 LORENA E CARRILLO RIVERA                    COND METROMONTE              APT 405 BZN 141                                                                    CAROLINA            PR           00987

   277754 LORENA ESCORIAZA SOCORRO                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277755 LORENA FARGAS RODRIGUEZ                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277756 LORENA I. ROSA                              REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   277757 LORENA INES ROSARIO BURGOS                  REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277758 LORENA LARRETA JAUREGUI                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277759 LORENA M GARCIA RIOS                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277761 LORENA MEDINA RIVERA                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699012 LORENA MONTALVO                             PORTAL DE LA REINA APT 177   1306 AVE MONTE CARLOS                                                              SAN JUAN            PR           00924
   277762 LORENA PEREZ VERA                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277763 LORENA QUINONES MORENO                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277764 LORENA RODRIGUEZ CLASS                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699013 LORENA ROMAN TERON                          P O BOX 3149                                                                                                    ARECIBO             PR           00613

   699014 LORENA SANTIAGO HERNANDEZ                   URB JARDINES DE ARECIBO      C/L MI 9                                                                           ARECIBO             PR           00612
   277765 LORENA TORRES BURGOS                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277766 LORENA TORRES MERCADO                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277767 LORENA VAZQUEZ SANTIAGO                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LORENCITA RAMIREZ DE
   699015 ARELLANO                                    3RA SEC LEVITTOWN            PASEO COSTA FINAL                                                                  TOA BAJA            PR           00949
   699016 LORENE JOHNSON                              160 E HAWES AVE                                                                                                 FRESNO              CA           93706

   277769 LORENE M ALVAREZ HERNANDEZ REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   277770 LORENI RODRIGUEZ VAZQUEZ                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   277772 LORENLY GARCIA ECHEVARRIA                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277773 LORENS R REYES NUNEZ                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277782 LORENZA CIRIACO                             REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277783 LORENZA CRESPO                              REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277784 LORENZA GARCIA MERCADO                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699019 LORENZA SANTOS ESPINOSA                     COND PONTEZUELA              APT 1‐L EDIF 1‐A                                                                   CAROLINA            PR           00983
   699020 LORENZA VARGAS TORO                         CASA 1083                    MONTE GRANDE                                                                       CABO ROJO           PR           00623




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          LORENZANA MARTINEZ
   699021 FIGUEROA                                    HC 37 BOX 3598                                                                                                  GUANICA             PR           00653
                                                                                  PMB 133 1353 AVE. LUIS
  1420253 LORENZI RODRÍGUEZ, DIANA Y.                 YARLENE JIMÉNEZ ROSARIO     VIGOREAUX                                                                           GUAYNABO            PR           00966‐2700
   277834 LORENZO A LOPEZ MARIA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699023 LORENZO A LUCIANO ACOSTA                    URB EST DE LA SABANA        7106 SABANA HOYOS                                                                   ARECIBO             PR           00688
   699024 LORENZO A MEJIA                             URB VISTAMAR                J 180 CALLE CATALUNA                                                                CAROLINA            PR           00983
   277835 LORENZO ABREU ALMANZAL                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277836 LORENZO ABREU BOCAS                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699025 LORENZO ALICEA AYALA                        HC 03 BOX 7487              BO DONA ELENA                                                                       COMERIO             PR           00782
   699026 LORENZO APONTE MATOS                        URB ALT DEL REMANSO         M 21 CALLE CASCADA                                                                  SAN JUAN            PR           00926
   699027 LORENZO APONTE ROSA                         PO BOX 7498                                                                                                     CAGUAS              PR           00726
   699029 LORENZO ASTACIO FIGUEROA                    RR 2 BOX 664                                                                                                    SAN JUAN            PR           00926
   277856 LORENZO ATILES, ELSA I.                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   771144 LORENZO AUTO KOOL INC                       RR 01 BOX 1910                                                                                                  ANASCO              PR           00610
   277859 LORENZO AYBAR FRANCO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277860 LORENZO BAEZ ARROYO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   699030 LORENZO CARABALLO RIVERA                    P O BOX 75                                                                                                      CASTANER            PR           00631
   699031 LORENZO CARDONA TORRES                      PO BOX 7126                                                                                                     PONCE               PR           00732
   699035 LORENZO CRUZ SOTO                           BDA SAN LUIS                BOX 170 CALLE SIQUEN                                                                AIBONITO            PR           00705
                                                      COND LAS AMERICAS TORRE I
   699036 LORENZO DIAZ REYES                          APT 2107                                                                                                        SAN JUAN            PR           00909
   699037 LORENZO DORTA ROMAN                         BO NARANJITO                HC 04 BOX 45705                                                                     HATILLO             PR           00659
   277903 LORENZO E PEREZ MONTERO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277904 LORENZO E PINEIRO BESAREZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   699038 LORENZO FERNANDINI TORRES                   P.O. BOX 632                                                                                                    ADJUNTAS            PR           00601

   699039 LORENZO G BLAS SANTAMARIA                   RR 36 BZN 1362                                                                                                  RIO PIEDRAS         PR           00926
          LORENZO G LLERANDI / NANCY
   277915 FLORES CARO                                 REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   277916 LORENZO G. BLAS SANTAMARIA REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277917 LORENZO GALARZA LOPEZ      REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277919 LORENZO GARCIA REYES       REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   699044 LORENZO GONZALEZ ALEMAN                     PO BOX 2020 SUITE 120                                                                                           BARCELONETA         PR           00617
   277923 LORENZO GONZALEZ BAEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   699045 LORENZO GONZALEZ CAMPOS                     URB LA FABRICA              A 11                                                                                AGUIRRE             PR           00704

   277924 LORENZO GONZALEZ FELICIANO                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699047 LORENZO J BONILLA D/B/A                     3D 30 AVE NOGAL             LOMAS VERDES                                                                        BAYAMON             PR           00956
   277962 LORENZO J PEREZ BAEZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   277963 LORENZO J TRINIDAD ADORNO                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699049 LORENZO JIMENEZ POLANCO                     URB VILLA CAROLINA          8 BLQ 167 CALLE40                                                                   CAROLINA            PR           00985

   699052 LORENZO MARTINEZ IRIZARRY                   PO BOX 847                                                                                                      ARROYO              PR           00714
   277992 LORENZO MD, ROBERT                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   277995 LORENZO MENDEZ, ISAURA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699054 LORENZO O CABAN AROCHO                      124 CALLE 22 DE JUNIO                                                                                           MOCA                PR           00676



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  699055 LORENZO ORTIZ TORRES                         A 12 URB SAN ANTONIO                                                                                                COAMO               PR           00769
         LORENZO OSORIO
  278034 ENCARNACION                                  REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  278035 LORENZO PALOMARES                            REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  278038 LORENZO PEREZ RIVERA                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  699058 LORENZO PRATTS LAZZARINI                     PO BOX 838                                                                                                          ISABELA             PR           00662

   278052 LORENZO PUESAN MD, CRISTINA REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278055 LORENZO R RIERA MATENZO     REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LORENZO RAMIREZ DE
   699059 ARELLANO                    701 PONCE DE LEON OFIC 310                                                                                                          SAN JUAN            PR           00907
   699060 LORENZO RIOS LOPEZ          HC 03 BOX 9375                                BO ESPINO                                                                             LARES               PR           00669
          LORENZO RODRIGUEZ
   278070 CARRASQUILLO                REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699061 LORENZO RODRIGUEZ ORTIZ     HC 2 BOX 3716                                                                                                                       LUQUILLO            PR           00773‐9708

   278071 LORENZO RODRIGUEZ RIVERA                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LORENZO RODRIGUEZ
   699062 RODRIGUEZ                                   VILLA PRADES                  683 FERNANDO CALLEJO                                                                  SAN JUAN            PR           00924
   699063 LORENZO SANCHEZ LEON                        AVE. LAPORTE 8                                                                                                      GUAYAMA             PR           00784
   699022 LORENZO SILVA MERCHAN                       COND SAN AGUSTIN              445 CALLE 8 E APT 2C                                                                  SAN JUAN            PR           00926
  1420254 LORENZO SUÁREZ, DERLING                     ROGER A. LEYBA RODRIGUEZ      PO BOX 873                                                                            HORMIQUEROS         PR           00660‐0873
   699064 LORENZO TORRES FERRER                       RES. NEMESIO CANALES          EDIF. 56 APTO. 1007                                                                   SAN JUAN            PR           00918

   278107 LORENZO TORRES MALDONADO                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278110 LORENZO VALE VALE                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699067 LORENZO VELEZ DE JESUS                      URB MILLAVILLE                169 CALLE PAJUIL                                                                      GUAYNABO            PR           00965
   278089 LORENZO VILLALBA ROLON                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278139 LORETO CONST CORP                           VISTAS DEL CONVENTO           2‐A 19 CALLE 2                                                                        FAJARDO             PR           00738
   278140 LORETO FIGUROA CORREA                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699068 LORETO LOPEZ                                PO BOX 2086                                                                                                         AGUADILLA           PR           00605
   699069 LORETT CARO ARROYO                          RES MARTINEZ NADAL            APT A 3                                                                               GUAYNABO            PR           00969
   699070 LORETTA GOGOJEWICZ ORTIZ                    BO CAPETILLO                  161 CALLE ROBLES APT 303                                                              SAN JUAN            PR           00925
          LORETTA LOPEZ CEPERO DE
   278141 RIVERA                                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278142 LORGIA JURADO ORTIZ                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278143 LORGIO PAGAN CAMACHO                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699072 LORGIO RENTAS ROSARIO                       PO BOX 644                                                                                                          SANTA ISABEL        PR           00757
   278144 LORI A RUMPEL                               REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278145 LORI JURGENS D D S                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278146 LORI W CRISPO                               REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  1420255 LORIA FINETTO, AUGUSTO                      ARTURO O. RIOS ESCRIBANO      PO BOX 29247                                                                          SAN JUAN            PR           00929
   278149 LORIAN RIVERA DELGADO                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   699073 LORIANE JIMENEZ RODRIGUEZ                   HC 1 BOX 5402                                                                                                       CAMUY               PR           00627
   278150 LORIANE SANTIAGO ORTIZ                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278151 LORIANNE SANTIAGO FALERO                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   278152 LORIANNYS                                   176 CALLE LUIS MUNOZ RIVERA                                                                                         SAN LORENZO         PR           00754
          LORIANNYS SCHOOL & OFFICE
   699074 SUPPLY                                      176 CALLE LUIS MUNOZ RIVERA                                                                                         SAN LORENZO         PR           00754
   699075 LORIDA CRESPO VELEZ                         HC 01 BOX 5090                                                                                                      ADJUNTAS            PR           00601
   699076 LORIDALIA RAMIREZ LOPEZ                     HC 2 BOX 6337                                                                                                       LUQUILLO            PR           00773



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  278153 LORIE M OCHOA RODRIGUEZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  699077 LORIEELY BURGOS                              URB MONTE BRISAS              BB 11 CALLE 101                                                                        FAJARDO             PR         00738

   278156 LORIELIS SANTIAGO MELÉNDEZ                  REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699078 LORIELLE VAZQUEZ JULIA                      URB LADERAS DE SAN JUAN       50 CALLE GUAYAMA                                                                       SAN JUAN            PR         00927
   699079 LORIMAR JIRAU RODRIGUEZ                     P O BOX 71325 SUITE 156                                                                                              SAN JUAN            PR         00936
   699080 LORIMAR LOPEZ PIAZZA                        A 40 RES VILLA VALLE VERDE                                                                                           ADJUNTAS            PR         00601
          LORIMAR MARRERO
   699081 ALBALADEJO                                  PO BOX 1466                                                                                                          COMERIO             PR         00687

   699082 LORIMAR MORALES GONZALEZ                    13 BDA CAMBALACHE                                                                                                    COAMO               PR         00769
   278157 LORIMAR ORTIZ ORTIZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699083 LORIMAR PEREZ RAMIREZ                       BOX 1327                                                                                                             CIDRA               PR         00739
   278160 LORIMAR PEREZ RIVERA                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278161 LORIMAR RAMOS MORALES                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278162 LORIMAR RIVERA RIVERA                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278163 LORIMER DIAZ MARTINEZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699086 LORIMIR COURET FUENTES                      PO BOX 193609                                                                                                        SAN JUAN            PR         00919‐3609
   278164 LORINET MARTELL MARTINEZ                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278165 LORMARIE RIVERA MELENDEZ                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278166 LORNA A DIAZ RIOS                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699087 LORNA AGUILAR RODRIGUEZ                     URB SAN FELIPE K1 CALLE 11                                                                                           ARECIBO             PR         00612
   699089 LORNA ASSEO GARCIA                          1557 TAIMESIS EL PARAISO                                                                                             SAN JUAN            PR         00926

   278167 LORNA B DE CASTRO CAPPACETTI REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278168 LORNA BARREIRO SANTOS        REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278147 LORNA BELTRAN GERENA         REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278169 LORNA BERRIOS APONTE         REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278170 LORNA BUDET FIGUEROA         REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699091 LORNA CAMBRELEN CRUZ         RES LLORENS TORRES                           EDIF 72 APT 1378                                                                       SAN JUAN            PR         00913
   278171 LORNA CHEVRES DIAZ           REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278173 LORNA D ARES CUADRADO        REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278174 LORNA D CORDERO RIVERA       REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699095 LORNA D RIVERA SERRANO       URB DOS RIOS                                 C 21 CALLE 5                                                                           TOA BAJA            PR         00949
   699096 LORNA DE JESUS SANCHEZ       URB EL CORTIJO                               AF38 CALLE 23                                                                          BAYAMON             PR         00956

   278175 LORNA DENISE TORRES LOPEZ                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699097 LORNA DIAZ RIVERA                           URB VILLA NUEVA               R 9 CALLE 23                                                                           CAGUAS              PR         00725

   699098 LORNA E ALEJANDRO ROLDAN                    URB VILLA RICA AN 34          CALLE EVANS                                                                            BAYAMON             PR         00959
   699099 LORNA E ALICEA VICENTE                      BOX 1702                                                                                                             CIDRA               PR         00739
                                                                                    JA4 CALLE 220 URB COUNTRY
   699100 LORNA E AYALA MARTINEZ                      CONTRY CLUB                   CLUB                                                                                   CAROLINA            PR       00982
   278176 LORNA E GIPPSON REYES                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   278178 LORNA E LOPEZ ORTIZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   278179 LORNA E NARVAEZ PINERO                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   699102 LORNA E RAMOS                               8940 N KENDALL DR STE 904                                                                                            MIAMI               FL       33176

   278180 LORNA E RAMOS INC                           8940 N KENDALL DR SUITE 904                                                                                          MIAMI               FL         33176

   278181 LORNA E RAMOS, INC                          8490 N KENDALL DR ‐ SUITE 904                                                                                        MIAMI               FL         33176
   278182 LORNA E SALAMAN JORGE                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278183 LORNA E SANCHEZ HIRALDO                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  278184 LORNA E. SANCHEZ HIRALDO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  278185 LORNA ECHEVARRIA MEDINA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  699103 LORNA G COLON SANES                          HC 01 BOX 9216                                                                                                   VIEQUES             PR         00765

   699104 LORNA G DIAZ COLON                          COND PARQUE LOS MONACILLOS CALLE SAN GREGORIO APTO 912                                                           SAN JUAN            PR         00921
   278186 LORNA GONZALEZ AGUILA                       REDACTED                   REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   278187 LORNA HERNANDEZ MARTINEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   699105 LORNA HERNANDEZ MIRANDA                     VILLA LLANOS               2743 CALLE TOLEDO                                                                     PONCE               PR         00716‐2237
   278189 LORNA I AGUILA RODRIGUEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699106 LORNA I CAMPOS MU¥OZ                        161 CALLE CARITE           CROWN HILLS                                                                           SAN JUAN            PR         00926
   278190 LORNA I COLON GOMEZ                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278192 LORNA I DELIZ RUIZ                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278193 LORNA I DOS SANTOS SANTOS                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699108 LORNA I ESTEVES                             PO BOX 5080 SUITE 247                                                                                            AGUADILLA           PR         00605‐5080
   699109 LORNA I LOPEZ LOPEZ                         P O BOX 940                                                                                                      SALINAS             PR         00751
   699110 LORNA I LOZADA DE JESUS                     P O BOX 331                                                                                                      GUAYNABO            PR         00970
   699111 LORNA I PADIN MONROIG                       VICTOR ROJAS 2             126 CALLE 5                                                                           ARECIBO             PR         00612
   278194 LORNA I. ESTEVES LAZZARINI                  REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278195 LORNA I. GONZALEZ RIVERA                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278196 LORNA J OLIVERAS TORRES                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699112 LORNA J SOTO VILLANUEVA                     P O BOX 1403                                                                                                     CANOVANAS           PR         00729
   278197 LORNA L BATTISTINI RUIZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278198 LORNA L BOSCH PAGAN                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278199 LORNA L LOPEZ ORTIZ                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699114 LORNA LEC SIVLA VAZQUEZ                     URB CAMPO REAL             34 CALLE REY JUAN CARLOS                                                              LAS PIEDRAS         PR         00771
   278201 LORNA LEE SILVA VAZQUEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699116 LORNA M MARTINEZ BRUNO                      RES COLUMBUS LANDING       EDIF 7 APT 73                                                                         MAYAGUEZ            PR         00680

   699117 LORNA M MARTINEZ VALENTIN                   JARD DEL CARIBE            LOS ALAMOS BOX M 17                                                                   MAYAGUEZ            PR         00682
   699120 LORNA M RODRIGUEZ CORA                      URB VILLA DE LA PLAYA      320 CALLE ISLA VERDE                                                                  VEGA BAJA           PR         00693
   278204 LORNA M. PENA                               REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   278205 LORNA MARIE HUERTAS PADILLA REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699121 LORNA MEJIAS MARTINEZ       BOX 1000                                                                                                                         CAYEY               PR         00736
   699122 LORNA MELENDEZ RONDON       P O BOX 29591                                                                                                                    SAN JUAN            PR         00929‐0591
   278206 LORNA MERCADO               REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   278207 LORNA O GONZALEZ MARTINEZ                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278208 LORNA O. CORDERO RIVERA                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699125 LORNA OLMO HERNANDEZ                        4TA EXT METROPOLIS         G I 11 CALLE 6                                                                        CAROLINA            PR         00987‐7426
   278217 LORNA ORTIZ                                 REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699126 LORNA OTERO AVILES                          VILLA REAL                 C 42 CALLE 3                                                                          VEGA BAJA           PR         00693
   278218 LORNA OTERO MONSERRAT                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278219 LORNA P. PADILLA TORRES                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699127 LORNA PADILLA CARTAGENA                     BELLO MONTE                C 33 CALLE 16                                                                         GUAYNABO            PR         00969
   699129 LORNA PEREZ CARRERAS                        FLAMBOYAN GARDENS          A 21 CALLE 3                                                                          BAYAMON             PR         00959
   278220 LORNA RIOS JIMENEZ                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278221 LORNA RIVERA CORREA                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278222 LORNA RIVERA SANTIAGO                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278223 LORNA RIVERA SOLER                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   278224 LORNA RODRIGUEZ FIGUEROA                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   699130 LORNA RODRIGUEZ HERNANDEZ                   P O BOX 2440                                                                                                      GUAYNABO            PR           00970
   699131 LORNA RODRIGUEZ RIVERA                      URB LOMA LINDA               BOX 642                                                                              COROZAL             PR           00783
   278225 LORNA S MONGE ROBLES                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LORNA SANCHEZ / NATASHA
   278227 RIVERA                                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278228 LORNA SERRANO NIEVES                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278230 LORNA SOTO ORTIZ                            REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699132 LORNA V TORRES SANTIAGO                     PO BOX 51694                                                                                                      TOA BAJA            PR           00950‐1694
   699133 LORNA VEGA CARMONA                          MADELINE                     O 17 CALLE OPALO                                                                     TOA ALTA            PR           00953
   699134 LORNA Y ALVARADO OYOLA                      URB CAMPO ALEGRE             E 6 CALLE ROBLES                                                                     BAYAMON             PR           00956
          LORNA Y LOZANO Y JUAN J
   278232 MERCED                                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699136 LORNA YEAMPIERRE ADORNO                     PO BOX 30950 65INF STATION                                                                                        SAN JUAN            PR           00929

   278233 LORNA Z CONTRERAS GONZALEZ REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278234 LORNA Z ROMAN ORTIZ        REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278235 LORNA ZOE RIVERA           REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278236 LORNNA I JIMENEZ BARBOSA   REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256642 LORRAIN J. MERCED RIVERA   REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278238 LORRAIN MERCED RIVERA      REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699138 LORRAINA KOKANGOL          6 WEST CIRCLE DRIVE APTO 2                                                                                                         KEY WEST            FL           33040

   278239 LORRAINE AGUIRRE QUINONES                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699139 LORRAINE BELMONT RUIZ                       REPARTO ESPERANZA            P18 CALLE 3                                                                          YAUCO               PR           00698
   278240 LORRAINE BERRIOS RIVERA                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699140 LORRAINE C GAGLIANI                         HILL BROTHERS                CALLE 140                                                                            SAN JUAN            PR           00926
   278241 LORRAINE CANET CARDONA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   699141 LORRAINE CASIANO ESTEEFANI                  PO BOX 1552                                                                                                       SAN GERMAN          PR           00683
   699142 LORRAINE CASTRO MIRANDA                     EL TUQUE                     803 CALLE ELIAS BARBOSA                                                              PONCE               PR           00728

   278243 LORRAINE CONSTRUCTION CORP P O BOX 1029                                                                                                                       COTTO LAUREL        PR           00780
   278244 LORRAINE CRESPO TORRES     REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                     VISTAMAR MARINA G16
   699143 LORRAINE DE CASTRO         GRANADA                                                                                                                            CAROLINA            PR           00983

   699144 LORRAINE DE LA CRUZ COBIAN                  MONTE APOLO                  RR 3 BOX 11                                                                          SAN JUAN            PR           00926
   278245 LORRAINE DELEON MARTINEZ                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278246 LORRAINE DIAZ MORA                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699145 LORRAINE ESPADA ESPADA                      PO OX 1484                                                                                                        COAMO               PR           00769

   278247 LORRAINE FERNANDEZ OCASIO                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278248 LORRAINE FERNANDEZ PEREZ                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   278249 LORRAINE FLETCHER SCHNEIDER REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   278250 LORRAINE FORTUNO MORALES                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699146 LORRAINE GARCIA LOPEZ                       URB EMBALSE SAN JOSE         456 CALLE TRAFALGAR                                                                  SAN JUAN            PR           00923
   699147 LORRAINE GARCIA MELENDEZ                    LOS CAOBOS                   1099 CALLE ALBIZIA                                                                   PONCE               PR           00716
   699148 LORRAINE GONZALEZ PEREZ                     BO TORRECILLAS               159 CALLE ELIAS RUSSE                                                                MOROVIS             PR           00687



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   699149 LORRAINE HERRERA BATISTA                    RES SEVERO QUI¥ONEZ       1138 CALLE PABLO GONZALEZ                                                                CAROLINA            PR           00983
   699150 LORRAINE I RIOS MARTINEZ                    URB LAS MERCEDES          102 CALLE 14                                                                             SALINAS             PR           00751
                                                      PMB 424 89 AVE DE DIEGO
   699151 LORRAINE J RIEFKOHL GORBEA                  SUITE105                                                                                                           SAN JUAN            PR           00927‐6345

   699152 LORRAINE J SIERRA MERCADO                   2DA EXT STA ELENA         F 14 CALLE 4                                                                             GUAYANILLA          PR           00656
   278251 LORRAINE J. GORIS LEON                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278252 LORRAINE JUARBE SANTOS                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      CALLE 201 4D1 COLINAS
   699155 LORRAINE M COTTO ORTIZ                      FAIRVIEW                                                                                                           TRUJILLO ALTO       PR           00976
   278253 LORRAINE M LOPEZ VALDES                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LORRAINE M NEGRON
   699156 HERNANDEZ                                   URB CALDAS 10             CALLE GLORIMAR                                                                           SAN JUAN            PR           00926
   699157 LORRAINE M PEREZ VELEZ                      BO DULCE LABIOS           83 CALLE SAN JUAN                                                                        MAYAGUEZ            PR           00680
   278254 LORRAINE M ROQUE LOZANO                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278255 LORRAINE MARTINEZ NERIS                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   699159 LORRAINE MEJIAS RODRIGUEZ                   RPTO METROPOLITANO        1205 CALLE 45 SE                                                                         SAN JUAN            PR           00921

   278256 LORRAINE MELENDEZ CALERO                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   278257 LORRAINE MORALES RAMIREZ                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278258 LORRAINE MUNDO KODESH                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278259 LORRAINE N PEREZ ORTIZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278260 LORRAINE N VELEZ TORRES                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278261 LORRAINE PEREZ BONILLA                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699160 LORRAINE PEREZ ROSADO                       BO INGENIO                PARCELA 264                   B CALLE FLAMBOYAN                                          TOA BAJA            PR           00951
   278262 LORRAINE PIERALDI                           REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278263 LORRAINE PIETRI COLON                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278264 LORRAINE RIVERA MENDEZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278265 LORRAINE RIVERA RAMOS                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278266 LORRAINE RIVERA ROSAS                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278267 LORRAINE RUIZ DE CANO                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LORRAINE S CAKE & GOURMET
   278268 FOODS                                       VILLA FONTANA PARK        5 N 1 PARQUE PALOMAS                                                                     CAROLINA            PR           00983
   699161 LORRAINE SANCHEZ                            SEXTA SECCION LEVITTOWN   EF7 EUGENIO A BUSATTI                                                                    TOA BAJA            PR           00949
   699162 LORRAINE SMITH SUMAZA                       268 CALLE CONVENTO        APT 3                                                                                    SAN JUAN            PR           00912‐3233
   278269 LORRAINE TIRADO TUBENS                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699163 LORRAINE TORRES MORALES                     HC 06 BOX 4800                                                                                                     COTO LAUREL         PR           00780
   278270 LORRAINE VAZQUEZ                            REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278272 LORRAINE VEGA VELEZ                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278273 LORRAINE VELEZ ACEVEDO                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278275 LORRAINE VISSEPO VELEZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278276 LORRAINE YURET VERA                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LORRAINE'S CAKE & GOURMET
   278278 FOODS                                       VILLA CAROLINA            114‐53 CALLE 77                                                                          CAROLINA            PR           00985
          LORRAINES CAKES AND
   699164 GOURMET FOODS                               VILLA FONTANA PARK        5N 1 PARQUE LAS PALOMAS                                                                  CAROLINA            PR           00983

   699165 LORRAINES GOURMET FOODS                     VILLA FONTANA PARKS       5 N 1 CALLE PARQUES PALOMAS                                                              CAROLINA            PR           00983

   278279 LORRAINNE B CARRION BURGOS REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   278280 LORRAINNE B. CARRION BURGOS REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   699169 LORRIE ANN MORALES MORALES URB LOS ALMENDROS                               EE 16 ROBLES                                                                         BAYAMON             PR           00961
          LORRISON MEDICAL EQUIPMENT
   278281 INC                        HC 1 BOX 13142                                                                                                                       PENUELAS            PR           00624
   278282 LORRY A COLLADO RIVERA     REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   699170 LORRY ANN FALCON FIGUEROA                   BONNEVILLE TERRACE             E 1 CALLE 2                                                                          CAGUAS              PR           00725
   699171 LORTIZ I LOPEZ ORTIZ                        URB VENUS GARDEN               1732 CALLE CEFIRO                                                                    SAN JUAN            PR           00926
                                                      CARLOS E. POLO Y ERNESTO L.    BANCO COOPERATIVO PLAZA   AVE. PONCE DE LEON SUITE 705‐
  1422556 LORTU‐TA, INC.                              POLO                           623                       A                                                          SAN JUAN            PR           00917
                                                                                     BANCO COOPERATIVO PLAZA   AVE. PONCE DE LEON SUITE 705‐
  1422557 LORTU‐TA, INC.                              POLO MELENDEZ, ERNESTO L       623                       A                                                          SAN JUAN            PR           00917‐4827

   699172 LORUDES SANTANA                             904 CALLE JOSE MARTI APT E 3                                                                                        SAN JUAN            PR           00907
   278285 LORY G VILLANUEVA RIVERA                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699173 LORY JERGENS VIVIANA                        52 CALLE KINGS CT APT 1B                                                                                            SAN JUAN            PR           00911
   699174 LORYMAR FONSECA SOTO                        BOX 1538                                                                                                            JUNCOS              PR           00777
   278286 LOS A LOPEZ, MARIA DE                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LOS A SIVERON NAPOLEONI MD,
   278287 MARIA DE                                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LOS AMIGOS DE LELO AUTO
   699176 REPAIR                                      URB. JARDINES DE CAROLINA      10 BLQ. A CALLE C                                                                    CAROLINA            PR           00987
   278288 LOS AMIGOS DEL HOSTAL INC                   MSC 377                        RR 18 APARTADO 1390                                                                  SAN JUAN            PR           00926
          LOS AMIGOS DEPORTISTAS
   699177 SOFTBALL INC.                               P O BOX 198                                                                                                         NAGUABO             PR           00718
   699178 LOS ANDES INC                               1107 AVE ROOSEVELT                                                                                                  SAN JUAN            PR           00920

   278289 LOS ANGELES BOXING CLUB INC                 URB LOS ANGELES                35 ANDROMEDA                                                                         CAROLINA            PR           00979

          LOS ANGELES DE
   699179 FATIMA/NATIVIDAD GONZALEZ 29 CALLE CRISTINA                                                                                                                     PONCE               PR           00730
          LOS ANGELES GUARDIANES DE
   278290 PR                           COND FIRST FEDERAL OFIC 409                   1056 AVE MUNOZ RIVERA                                                                SAN JUAN            PR           00927
          LOS ANGELES SHELL
   699180 SERVICENTER                  P.O.BOX 30527 65TH INF. STA                                                                                                        SAN JUAN            PR           00929
          LOS ANGELES TRADE/ TECHNICAL
   278291 COLLEGE                      400 W WASHINGTON BLVD                                                                                                              LOS ANGELES         CA           90015
          LOS BANDIDOS DE UN SOLO
   278292 BRAZO INC                    CALLE PARIS AD33                              URB CAGUAS NORTE                                                                     CAGUAS              PR           00925
          LOS BARRIOS UNIDOS
   278293 COMMUNITY                    ATTN MEDICAL RECORDS                          3111 SYLVAN AVE                                                                      DALLAS              TX           75212
   278294 LOS BIZCOCHOS CATERING       P O BOX 2017 PMB 192                                                                                                               LAS PIEDRAS         PR           00771
          LOS BORICUAS SOFTALL TEAN
   278295 INC                          URB JARDINES DE COAMO                         E7 CALLE 3                                                                           COAMO               PR           00769
   699182 LOS BRAZOS DE ABUELA         URB SANTIAGO IGLESIAS                         1386 AVE PAZ GRANELA                                                                 SAN JUAN            PR           00921
   699183 LOS CAÃOS LUMBER YARD        HC 2 BOX 13201                                                                                                                     ARECIBO             PR           00612
   699184 LOS CANTIZALES II            COND LOS CARTIZALES II                        APT A 303                                                                            SAN JUAN            PR           00926‐2524
   278297 LOS CAOBOS AUTO PARTS        PO BOX 9257                                                                                                                        COTO LAUREL         PR           00780
   699186 LOS CAOBOS FOOD INC          PO BOX 10000 SUITE 241                                                                                                             CAYEY               PR           00737
          LOS CARDENALES BASEBALL DE
   699187 RIO PIEDRAS                  MONTECARLOS                                   908 CALLE 29                                                                         SAN JUAN            PR           00924



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  699188 LOS CARLINES INC                             HC 72 BOX 7350                                                                                             CAYEY               PR           00736‐9515
         LOS CHARROS PRODUCCIONES
  278299 LLC                                          PMB 329 SUITE 216           B‐5 TABONUCO ST                                                                GUAYNABO            PR           00968
  699190 LOS CIDRINES                                 PO BOX 2112                                                                                                ARECIBO             PR           00613

   278300 LOS CIDRINES DEL ESCAMBRON                  51 AVE MUðOZ RIVERA         CALLE ROSALES Y SAN JERONIMO                                                   SAN JUAN            PR           00901 2181
   699192 LOS COCOS BAKERY                            P O BOX 9024275                                                                                            SAN JUAN            PR           00902
          LOS CORRECAMINOS DE TOA
   699193 ALTA                                        ALTURAS DE TOA ALTA         7 CALLE 1                                                                      TOA ALTA            PR           00953
          LOS CUNADOS ESSO
   699194 SERVICENTER                                 PO BOX 3594                                                                                                AGUADILLA           PR           00605
   699195 LOS DIAZ SERVICES INC                       PMC SUITE 301               B 2 CALLE TABONUCO                                                             GUAYNABO            PR           00970
   699196 LOS DOS MANGOES                             CARRETERA 173 K.M. 11.9     SALIDA AIBONITO                                                                CIDRA               PR           00739
   699198 LOS GEMELOS                                 HC‐01 BOX10872                                                                                             ARECIBO             PR           00612
   699199 LOS GORDITOS INC                            REPARTO ALAMBRA             A 10 CALLE GRANADA                                                             BAYAMON             PR           00957
   699200 LOS GUARES                                  P O BOX 689                                                                                                RIO GRANDE          PR           00745
   699201 LOS HEAVY JANITOR                           57 NARCIZO FOND                                                                                            CAROLINA            PR           00987
   699202 LOS HERMANOS INC                            1020 CALLE WILLIAMS JONES                                                                                  SAN JUAN            PR           00923
   278303 LOS HIJOS DE BELGICA INC                    URB VILLA DEL CARMEN 3296   CALLE TOSCANIA                                                                 PONCE               PR           00716‐0000
                                                      PRECIOSAS VISTA LAGO TOA
   699203 LOS INDIOS INC                              ALTA                        À 32 CALLE 10                                                                  TOA ALTA            PR           00953
          LOS LANCHEROS CATANO DEL
   278304 BALONCESTO INC                              BO JUANA MATOS              212 AVE BARBOSA                                                                CATANO              PR           00962

   278305 LOS MAHONES UNISEX            27 CALLE LUIS MUNOZ RIVERA                                                                                               SALINAS             PR           00751
          LOS MARLINS JR DE LA COLICEBE
   278306 JUVENIL                       DE CEIBA INC                              RES PEDRO ROSARIO NIEVES       EDIF 23 APT 161                                 FAJARDO             PR           00738

   699204 LOS MUCHACHOS AUTO PARTS 125 CALLE JOSE I QUINTAN                                                                                                      COAMO               PR           00769
   699205 LOS MUCHACHOS BAKERY          PO BOX 7225                                                                                                              PONCE               PR           00732‐7225
          LOS MULOS DEL VALENCIANO
   278307 DOBLE A INC                   HC 23 BOX 6382                                                                                                           JUNCOS              PR           00777
          LOS MULOS VALENCIANO DOBLE
   278308 A INC                         HC‐23 BOX 6382                                                                                                           JUNCOS              PR           00777
          LOS NUEVOS TORITOS AA CAYEY
   278309 INC                           HC 43 BOX 11297                                                                                                          CAYEY               PR           00736
   278310 LOS OLIVOS RESTAURANTE        P O BOX 2007                                                                                                             CAGUAS              PR           00726
   699206 LOS OLMOS GALERIA             794 AVE CAMPO RICO                        COUNTRY CLUB                                                                   CAROLINA            PR           00924
          LOS PAISAJES EN CIUDAD JARDIN
   699207 CORP                          LAS LOMAS                                 856 AVE SAN PARTICIO                                                           SAN JUAN            PR           00921‐1308

   278311 LOS PAISAJES EQUESTRIAN CORP P O BOX 486                                                                                                               FAJARDO             PR           00738
          LOS PAJAROS AZULES BASEBALL
   699208 TEAM INC                     PO BOX 6                                                                                                                  LAS PIEDRAS         PR           00771
          LOS PALANCUDOS JUEYEROS DE
   278313 MAUNABO INC                  URB SAN PEDRO                 G 2 CALLE D                                                                                 MAUNABO             PR           00707
          LOS PAMPANOS DEVELOPMENT
   278314 CORP                         PO BOX 299                                                                                                                ANASCO              PR           00610
                                       URB RIO HONDO II C/AE‐24 ESP.
   278315 LOS PINOS NURSING HOME INC. SANTOS                                                                                                                     BAYAMON             PR           00961
   278316 LOS PINOS SE                 PO BOX 195353                                                                                                             SAN JUAN            PR           00919‐5353
   278317 LOS PINTORES                 CALLE E BLOQ I                190 COSTA DE ORO                                                                            DORADO              PR           00646




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   699209 LOS PIRATAS DE QUEBRADILLAS                 PO BOX 1442                                                                                                         QUEBRADILLAS        PR           00678
   278318 LOS PITUFO                                  P.O. BOX 371787                                                                                                     CAYEY               PR           00737

   278319 LOS PLAYEROS SANCHEZ CORP                   5TAS DE FAJARDO               J 1 CALLE 8                                                                           FAJARDO             PR           00738

  1422589 LOS PORTALES DE MADECO                      RAMIREZ VALE, EDDIE           CAPITAL CENTER BLDG. SUR   SUITE 301 239 ARTERIAL HOSTOS                              SAN JUAN            PR           00918
   278321 LOS PRADOS URBANOS S E                      PO BOX 3443                                                                                                         GUAYNABO            PR           00970
   699210 LOS PRIMOS AUTO COLLISION                   P O BOX 29196                                                                                                       SAN JUAN            PR           00929‐0196
   699211 LOS PRIMOS MUFFLERS                         314 SUR CALLE POST                                                                                                  MAYAGUEZ            PR           00708

   278322 LOS PRIMOS RESTAURANT INC                   PO BOX 743                                                                                                          SAN LORENZO         PR           00754
          LOS PRIMOS SCREEN AND
   699212 VERTICAL BLIN                               VILLA FONTANA                 HL 13 VIA 25                                                                          CAROLINA            PR           00983
   699213 LOS QUERUBINES                              URB VILLA NEVAREZ             1024 CALLE 10                                                                         SAN JUAN            PR           00927
   278323 LOS RIOS PEREZ INC.                         P.O. BOX 860                                                                                                        AGUAS BUENAS        PR           00703‐0000
   699214 LOS ROBLES VILLAGE INC                      PMB 430 1357 AVE ASHFORD                                                                                            SAN JUAN            PR           00907
   699215 LOS RODRIGUEZ AUTO PARTS                    CARR 132 KM 22 2                                                                                                    PONCE               PR           00731
   699175 LOS SABROSOS INC                            SUITE 122 PO BOX 607071                                                                                             BAYAMON             PR           00960
                                                      EXT FOREST HILL E 146 CALLE
   699216 LOS SABROSOS INC.                           ATENA                                                                                                               BAYAMON             PR           00959
   699217 LOS SIERVOS DE JESUS                        VILLA PALMERAS                219 CALLE APONTE                                                                      SAN JUAN            PR           00912

   699218 LOS TECNICOS AUTO REPAIR &                  HYDRAULIC SERVIC              422 CALLE VILLA                                                                       PONCE               PR           00731
          LOS TRAVIESOS BASEBALL CLUB
   699220 INC                                         URB COLINAS DE CUPEY          B 17 CALLE 2                                                                          SAN JUAN            PR           00926
   699221 LOS TRES AMIGOS INC                         PO BOX 362708                                                                                                       SAN JUAN            PR           00936
          LOS TRORITOS DE VOLLEYBALL
   699222 INC                                         PO BOX 11998 SUITE 199                                                                                              CIDRA               PR           00739
   699223 LOS VAQUEROS COOP.                          PO BOX 9185                                                                                                         SAN JUAN            PR           00908
   699224 LOS VERSALLES S E                           155 CALLE LUNA                                                                                                      SAN JUAN            PR           00901
   699225 LOS VIEJITOS UNIFORMS                       1114 CALLE VALLEJO                                                                                                  SAN JUAN            PR           00928
          LOS VIEJITOS UNIFORMS
   699226 CENTERS                                     1116 CALLE VALLEJO                                                                                                  SAN JUAN            PR           00928

   278324 LOS VIOLINES DE MARQUITO INC COND HATO REY PLAZA          200 AVE PINEROS APT 2 L                                                                               SAN JUAN            PR           00918
   278328 LOSADA AUTO                  P.O. BOX 3158                                                                                                                      BAYAMON             PR           00960
   699227 LOSADA AUTO PARTS            67 BO LOS LLANOS                                                                                                                   COAMO               PR           00769‐9736
   699228 LOSADA AUTO TRUCK INC        PO BOX 3158                                                                                                                        BAYAMON             PR           00960
   699229 LOSAS NUEVO ESTILO INC       PO BOX 9024275                                                                                                                     SAN JUAN            PR           00902‐4275
   278329 LOSCAR SANTIAGO RIVERA       REDACTED                     REDACTED                                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LOTERIA DE PR Y SARAH G
   771146 CARRERAS CEDENO              REDACTED                     REDACTED                                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                       3434 W ANTHEM WAY SUITE 118‐
   278334 LOTOS PHOTOGRAPHY            169                                                                                                                                ANTHEM              AZ           85086
   278344 LOTTIE BOU Y JAIME BOU       REDACTED                     REDACTED                                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278345 LOTTIE GARAYUA OLMEDA        REDACTED                     REDACTED                                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LOTUS NOTES & DOMINO
   699230 ADVISOR                      P O BOX 469017                                                                                                                     ESCONDIDO           CA           92046‐9017
   699231 LOTUSPHERE 99                PO BOX 25635                                                                                                                       ROCHESTER           NY           14625‐0635
          LOU ALERS COMMUNICATION
   278346 GROUP                        P.O. BOX 367015                                                                                                                    SAN JUAN            PR           00936
   699232 LOU ALERS GRAJALES           PO BOX 367015                                                                                                                      SAN JUAN            PR           00936



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   699233 LOU ANN DELGADO DELGADO                     2831 CHALETS DE BAYAMON                                                                                            BAYAMON             PR         00959
   699234 LOU ESTELA TORRES                           P.O. BOX 943                                                                                                       RIO GRANDE          PR         00745
   278347 LOU REITER                                  REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          LOU WILSON RODRIGUEZ
   699235 SANDOZ                                      4 CALLE SAN BARTOLOME                                                                                              YABUCOA             PR         00767
   278348 LOUANSON ALERS                              REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   278349 LOUBRIEL A CRUZ GUZMAN                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          LOUBRIEL MENDEZ MD,
   278385 FRANCISCO                                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   278386 LOUBRIEL MORALES RIVERA                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   278389 LOUBRIEL ORTIZ MD, FRANCISCO REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          LOUBRIEL RIVERA MD,
   278395 BRENDALIZ                    REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          LOUBRIEL ROSADO, WILLIAM Y                                            PO BOX 810386 BUFETE RIVERA
  1420256 OTROS                        EVELYN T. MARQUES ESCOBAR                ORTIZ / ASOC                                                                             CAROLINA            PR         00981'0386
   278413 LOUCHAIN SANCHEZ ORTIZ       REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   278414 LOUCIL BARREIRO, EVELYN      REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   278422 LOUD MUSIC                   PO BOX 280                                                                                                                        MAYAGUEZ            PR         00681
   699237 LOUI ARCELAY MELENDEZ        BO ALGARNADO                             CARR 102 BOX 352                                                                         MAYAGUEZ            PR         00680
                                                                                601 AVE DE DIEGO APART A
   699238 LOUIE M CAMCARTE                            PUERTO NUEVO              ALTOS                                                                                    SAN JUAN            PR         00920
   278423 LOUIS A GOMILA SANCHEZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   699239 LOUIS A LOPEZ                               URB LAS MONJITAS          183 CALLE FATIMA                                                                         PONCE               PR         00730
   278424 LOUIS A MAYSONET SANTANA                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   699240 LOUIS A ROSADO OTERO                        URB SANTA ISIDRA 1        A 10 CALLE 4                                                                             FAJARDO             PR         00738
   278425 LOUIS A SILVAGNOLI VEGA                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   699241 LOUIS A TROCHE HERNANDEZ                    URB EL ARRENDADO          B 6 CALLE A                                                                              SABANA GRANDE       PR         00637
   278426 LOUIS A. MEDINA DIAZ                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   278427 LOUIS BERRIOS SANCHEZ                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   278428 LOUIS BURGIO                                REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   699242 LOUIS BURGOS COLON                          MSC 735                   138 AVE W CHURCHILL                                                                      SAN JUAN            PR         00926‐6023
   278429 LOUIS BURGOS MARRERO                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   278430 LOUIS CAMACHO CLEMENTE                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   278431 LOUIS CANCEL VALENTIN                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   699243 LOUIS DE MIER GONZALEZ                      PMB 072                   1750 CALLE LOIZA                                                                         SAN JUAN            PR         00911
   699244 LOUIS DE MOURA                              URB ROOSEVELT             352 JUAN DAVILA                                                                          SAN JUAN            PR         00918

   699245 LOUIS E HERNANDEZ FIGUEROA                  URB UNIVERSITY GARDENS    910 CALLE INTERAMERICANA                                                                 SAN JUAN            PR         00927
   699246 LOUIS E VALIENTE LUCIANO                    URB SANTA CLARA           I 30 CALLE PINO                                                                          GUAYNABO            PR         00969
   278433 LOUIS E. CESPEDES                           REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   278434 LOUIS EMANUELLI PACHECO                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   699247 LOUIS ESTRADA RAMOS                         PMB 231                   BOX 70011                                                                                FAJARDO             PR         00738
   699248 LOUIS F GARCIA RODRIGUEZ                    P O BOX 50433                                                                                                      TOA BAJA            PR         00949‐0433
   278435 LOUIS F MC CLINTOCK                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   278436 LOUIS G INFERRI                             REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   699249 LOUIS G MEYER COMAS                         PO BOX 1140                                                                                                        GUANICA             PR         00653‐1140
   278437 LOUIS G RIVERA QUINONES                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   699251 LOUIS GARCIA BLASCO                         URB QUINTAS REALES        S 4 CALLE REY ENRIQUE                                                                    GUAYNABO            PR         00969
   699252 LOUIS GAUTIER CARDONA                       PO BOX 1662                                                                                                        YAUCO               PR         00698
   278438 LOUIS GONZALEZ MORALES                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   278442 LOUIS J BAEZ PRIETO                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  278444 LOUIS J VARGAS ALICEA                        REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  278446 LOUIS L SOTO RIVERA                          REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         LOUIS LAWRENCE GALIANO
  278447 MANGO                                        REDACTED                 REDACTED                    REDACTED                                REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  699253 LOUIS M LOZADA SORCIA                        URB VALPARAISO           D 9 CALLE 8                                                                                TOA BAJA            PR         00949
  278448 LOUIS M PINO RIVERA                          REDACTED                 REDACTED                    REDACTED                                REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  278449 LOUIS M PORTELA RIVAS                        REDACTED                 REDACTED                    REDACTED                                REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                               186 CALLE GUATEMALA PARC LA
   699254 LOUIS MAISONETT MARQUEZ                     LAS DOLORES              DOLORES                                                                                    RIO GRANDE          PR         00745
   278451 LOUIS MIRANDA DIAZ                          REDACTED                 REDACTED                    REDACTED                                REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699256 LOUIS MORALES                               20220 NW 9TH DR                                                                                                     PENNBROKE PINES     FL         33029
   699257 LOUIS OSCAR RIOS                            BALCONES DE MONTE REAL   APT 1104 D                                                                                 CAROLINA            PR         00987
   278453 LOUIS PEREYRA RUIZ                          REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   699259 LOUIS R BEAUCHAMP DE HOYOS URB ALTAMESA                              1700 CALLE SANTA INES                                                                      SAN JUAN            PR         00921
   278454 LOUIS R SALVADOR CARDONA   REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                     URB TURABO GARDENS R 13 50
   699260 LOUIS R VAZQUEZ FLORES     CALLE A                                                                                                                              CAGUAS              PR         00725
   699261 LOUIS RAMIREZ MIRANDA      URB.VILLA FONTANA                         4NS 12 VIA 47                                                                              CAROLINA            PR         00983
   278455 LOUIS RIVERA RODRIGUEZ     REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278457 LOUIS RODRIGUEZ            REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699263 LOUIS SIERRA ALVELO        P O BOX 51294                                                                                                                        TOA BAJA            PR         00949
   699264 LOUIS TOWING               PO BOX 1454                                                                                                                          VEGA BAJA           PR         00694
   278458 LOUIS TURULL               REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699265 LOUISE KRAFFT              3215 VALLEY DR                                                                                                                       ALEXANDRIA          VA         22302

   278460 LOUISETTE LOPEZ HERNANDEZ                   REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278461 LOUISIANA LAW REVIEW                        AREA DEL TESORO          DIVISION DE RECLAMACIONES                                                                  SAN JUAN            PR         00902‐4140

   699266 LOUISIANA PRISON ENTERPRISES PO BOX 44314                                                                                                                       BATON ROUGE         LA         70804‐4314
          LOUMAR EXTERMINATING
   278463 SERVICE                      URB LAS CUMBRES                         497 AVE EMILIANO POL SUITE 54                                                              SAN JUAN            PR         00926‐5636
          LOUMAR EXTERMINATING
   699269 SERVICES                     URB LAS CUMBRES                         497 AVE EMILIANO POL SUITE 54                                                              SAN JUAN            PR         00926 5636

   278464 LOUMARIELIX ORTIZ COLLAZO                   REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   278467 LOURDE DEL R NUNEZ GARCIA                   REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278468 LOURDE PEREZ PEREZ                          REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278469 LOURDELIS JIMENEZ JIMENEZ                   REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278470 LOURDELIZ TORRES NEGRON                     REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LOURDEMAR CARABALLO
   699270 RODRIGUEZ                                   P O BOX 7428                                                                                                        SAN JUAN            PR         00916
   278472 LOURDES A BAEZ QUINTANA                     REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699278 LOURDES A DELGADO COLON                     PO BOX 138 SAINT JUST                                                                                               TRUJILLO ALTO       PR         00978
   278473 LOURDES A FLORES RANGEL                     REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278474 LOURDES A MARRERO PABON                     REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   699281 LOURDES A NIEVES GONZALEZ                   URB MOUNTAIN VIEW        C 40 CALLE 58                                                                              CAROLINA            PR         00985
                                                      519 URB PARQUE CENTRAL
   699272 LOURDES A ORELLANA                          ALTOS                                                                                                               SAN JUAN            PR         00918
   278475 LOURDES A QUINONES VELEZ                    REDACTED                 REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699282 LOURDES A ROBLES TORRES                     AVE MIRAMAR 706          APT 6                                                                                      SAN JUAN            PR         00907



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  278476 LOURDES A SANTANA RIOS                       REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  278477 LOURDES A SILVA CALZADA                      REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   699283 LOURDES ACEVEDO TOMASINI                    PMB 084 356                 CALLE 32                                                                                SAN JUAN            PR         00927
   278480 LOURDES ADAMES VERA                         REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699286 LOURDES ALICEA SOTO                         POST OFFICE 330951                                                                                                  PONCE               PR         00733‐0951
   278483 LOURDES ALMANZAR PRANDI                     REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278484 LOURDES ALONSO                              REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   699288 LOURDES ALONSO BALLATE                      232 AVE ELEONOR ROOSEVELT                                                                                           SAN JUAN            PR         00907

   278485 LOURDES ALVARADO SANTIAGO                   REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LOURDES ALVARADO
   699289 SOTOMAYOR                                   PARC EL TUQUE               4927 CALLE LORENCITA FERRE                                                              PONCE               PR         00728
   278486 LOURDES ALVAREZ CRUZ                        REDACTED                    REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699290 LOURDES ALVAREZ PEREZ                       BO JAREALITO                                          238                                                           ARECIBO             PR         00612
   278487 LOURDES ANDINO ALICEA                       REDACTED                    REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   699291 LOURDES ANDUJAR FELICIANO                   PO BOX 941                                                                                                          CIALES              PR         00638
   699292 LOURDES ANDUJAR MEDINA                      PO BOX 497                                                                                                          CIDRA               PR         00739
   699293 LOURDES APOLINARIS LOPEZ                    JARD DE SAN CARLOS          EDIF 6 APT 62                                                                           CAGUAS              PR         00725
   278489 LOURDES APONTE CEDEÐO                       REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278490 LOURDES APONTE CEDENO                       REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278491 LOURDES APONTE RUIZ                         REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278492 LOURDES ARBELO MEDINA                       REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699298 LOURDES ARMAIZ PINTO                        URB MONTECASINO             CALLE PINO BOX 333                                                                      TOA ALTA            PR         00953
   278493 LOURDES ARROYO COLON                        REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278494 LOURDES ARROYO MASSA                        REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278495 LOURDES ARROYO MUNIZ                        REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278496 LOURDES AVILA HERNANDEZ                     REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699299 LOURDES AVILES MANGUAL                      LOMAS VERDES                4X23 RUDAS                                                                              BAYAMON             PR         00956
   278497 LOURDES AYALA DE JESUS                      REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699300 LOURDES AYALA SANTIAGO                      P O BOX 40109                                                                                                       SAN JUAN            PR         00940‐0109
   699301 LOURDES AYALA VAZQUEZ                       P O BOX 572                                                                                                         TOA ALTA            PR         00954
   278498 LOURDES BENES LIMA                          REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699304 LOURDES BERRIOS MARTINEZ                    URB ORIENTE 228             CALLE MARTIN L KING                                                                     LAS PIEDRAS         PR         00771
   699305 LOURDES BERRIOS ROSARIO                     PMB 43 PO BOX 607071                                                                                                BAYAMON             PR         00960
   699306 LOURDES BETANCOURT                          306 CALLE BARSO FACTO I                                                                                             ARECIBO             PR         00612
   278499 LOURDES BONET IRIZARRY                      REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LOURDES BRUSELAS
   278500 VAZQUEZ/HOGAR MIS                           REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699307 LOURDES BURGOS MARQUEZ                      HC 02 BOX 9236                                                                                                      GUAYNABO            PR         00971

   699308 LOURDES C GARCIA MARTORELL PO BOX 606                                                                                                                           ADJUNTA             PR         00601
          LOURDES C HERNANDEZ
   699309 VENEGAS                    PO BOX 363128                                                                                                                        SAN JUAN            PR         00936‐3128
   699310 LOURDES C LOZADA NEGRON    3 A 158 DELICIAS                                                                                                                     SAN JUAN            PR         00907

   278501 LOURDES C MALDONADO ROLON REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LOURDES C MONTEAGUDO
   278502 PEREZ                     REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   278503 LOURDES C RAMIREZ FELICIANO REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  699311 LOURDES C RIVERA CRUZ                        HC 67 BOX 23500                                                                                                    FAJARDO             PR           00738
  699312 LOURDES C VIERA CRUZ                         URB COLLEGE PARK               269 CALLE GRENOBLE                                                                  SAN JUAN            PR           00921

   278504 LOURDES CABRERA FERNANDEZ                   REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278505 LOURDES CALES ALVAREZ                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699315 LOURDES CAMPOS                              EL CORTIJO                     G 12 CALLE 11                                                                       BAYAMON             PR           00956
   278506 LOURDES CANCEL RIVERA                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   699316 LOURDES CANDELARIO RIVERA                   ROSALINDA II                   RG 65 CALLE ELIOTROPO                                                               TOA BAJA            PR           00949
   278507 LOURDES CAPO VELEZ                          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699317 LOURDES CARBALLO                            PMB 375                        220 WESTERN AUTO PLAZA                                                              TRUJILLO ALTO       PR           00976
   278508 LOURDES CARBALLO RIVERA                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699318 LOURDES CARDONA LIMBERT                     JARDINES DE CERRO GORDO        B 44 CALLE 6                                                                        SAN LORENZO         PR           00754

   699319 LOURDES CARMONA LEBRON                      HP ‐ OFIC. DIRECTORA EJECUTIVA                                                                                     RIO PIEDRAS         PR           00936‐0000
   278509 LOURDES CARRASQUILLO                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699320 LOURDES CARRILLO LONGO                      VILLAS DEL RIO                 26 CALLE 15 D                                                                       BAYAMON             PR           00959
   278510 LOURDES CARRION TROCHE                      REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LOURDES CASPESTANY
   278511 FIGUEROA                                    REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   278512 LOURDES CASTELLANO RIVERA                   REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278513 LOURDES CASTILLO COLON                      REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699321 LOURDES CASTILLO RUIZ                       HC 2 BOX 8226                                                                                                      CAMUY               PR           00627
   699322 LOURDES CASTRO MARIN                        PO BOX 671                                                                                                         MERCEDITA           PR           00715
   278514 LOURDES CASTRO PINEIRO                      REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699323 LOURDES CATALANO GARCIA                     URB SAN GERALDO                331 CALLE OHAIO                                                                     SAN JUAN            PR           00926
                                                                                     256 PLAZA 25 URB MONTE
   699324 LOURDES CHACON RODRIGUEZ                    SIERRA BAYAMON                 CLARO                                                                               BAYAMON             PR           00961
   278515 LOURDES CHARLES                             REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699326 LOURDES COLLAZO IRIZARRY                    VILLAS DE MONTE CARLO 2        APTO 1201 CALLE B                                                                   SAN JUAN            PR           00924‐4123
   278516 LOURDES COLLAZO RIVERA                      REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699329 LOURDES COLON                               BOX 271                                                                                                            VILLALBA            PR           00766
   699330 LOURDES COLON AYALA                         URB VALLE ARRIBA HEIGHTS       DA 12 CALLE 203                                                                     CAROLINA            PR           00985
   278517 LOURDES COLON DUMONT                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278518 LOURDES COLON MORALES                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278519 LOURDES COLON ORTIZ                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278520 LOURDES COLON PEREZ                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278522 LOURDES COLON VELEZ                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   278523 LOURDES COLONDRES ROSADO                    REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278524 LOURDES CONTRERAS MASSA                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699332 LOURDES CORDERO                             120 ISABEL ANDREU AGUILAR                                                                                          SAN JUAN            PR           00918

   278525 LOURDES CORDERO MACHADO                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699333 LOURDES CORREA CARLO                        PO BOX 9021112                                                                                                     SAN JUAN            PR           00902‐1112
   699336 LOURDES CRESPO GONZALEZ                     PARC SABANA ENEAS              CALLE D BOX 327                                                                     SAN GERMAN          PR           00683
   699337 LOURDES CRESPO ROSADO                       HC 57 BOX 9478                                                                                                     AGUADA              PR           00602

   278527 LOURDES CRUZ / RICHARD CRUZ                 REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699338 LOURDES CRUZ MULERO                         RES YUQUIYU I                  EDIF 4 APT 42                                                                       LOIZA               PR           00772
   278528 LOURDES CRUZ ORTIZ                          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699339 LOURDES CRUZ RIVERA                         URB MONTECASINO HEIGHS         150 CALLE RIO SONADOR                                                               TOA ALTA            PR           00953



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  699340 LOURDES CRUZ ROSA                            35 CALLE JUAN C BORBON    STE 67 PMB 164                                                                           GUAYNABO            PR           00969‐5375
  699341 LOURDES CRUZ SANCHEZ                         HC 07 BOX 32877                                                                                                    HATILLO             PR           00659
  699342 LOURDES CRUZ TORRES                          COM CRISTINA              HC 01 BOX 5479                                                                           JUANA DIAZ          PR           00795‐9719

   278529 LOURDES CUADRADO SAAVEDRA REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278530 LOURDES CUEVAS PADUA      REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278531 LOURDES CUEVAS VELEZ      REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278532 LOURDES CURBELO IRIZARRY  REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LOURDES D MARTINEZ
   699343 RODRIGUEZ                 119 URB VALLE HUCARES                                                                                                                JUANA DIAZ          PR           00795

   699344 LOURDES D MARTINEZ ROSARIO URB LA GUADALUPE                           H 4R AVE JARDIN PONCIANA                                                                 PONCE               PR           00731

   278535 LOURDES DE JESUS HERNANDEZ REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278536 LOURDES DE JESUS SUAREZ    REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   699345 LOURDES DEL C RIVERA COLON                  LAS LOMAS                 1695 AVE AMERICO MIRANDA                                                                 SAN JUAN            PR           00921
          LOURDES DEL CARMEN LAO
   278537 COLON                                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   699348 LOURDES DEL P CRUZ VALENTIN                 PO BOX 1075                                                                                                        LAJAS               PR           00667
          LOURDES DEL PILAR APONTE
   278538 CEDENO                                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LOURDES DEL R ORTEGA
   699349 FONSECA                                     RR 4 BOX 2787                                                                                                      BAYAMON             PR           00956
   699350 LOURDES DEL VALLE                           P O BOX 11850 SUITE 253                                                                                            SAN JUAN            PR           00922

   278539 LOURDES DELGADO SILVESTRY                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278541 LOURDES DIAZ ESQUILIN                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278542 LOURDES DIAZ LA TORRES                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699354 LOURDES DIAZ RAMOS                          HC 05 BOX 52421                                                                                                    CAGUAS              PR           00725
   699355 LOURDES DIAZ VALCARCEL                      URB MONTECASINO           67 CALLE NOGAL                                                                           TOA ALTA            PR           00953

   278543 LOURDES DOMENECH VALENTIN REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   699356 LOURDES DONATO SEPULVEDA                    393 SHERMAN RD                                                                                                     NORTH BRUNSWICH     NJ           00902
          LOURDES DONATO Y DIANE
   278544 SCIACCA                                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699357 LOURDES E ACOSTA NAZARIO                    P O BOX 771                                                                                                        SABANA GRANDE       PR           00637
   278545 LOURDES E CRESPO ALICEA                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   699358 LOURDES E CRUZ ESCUTE                       BO MARTIN GONZALEZ        KM 10 H 0 AVE 65 INFANTERIA                                                              CAROLINA            PR           00985

   278548 LOURDES E DE JESUS MORALES                  REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   278549 LOURDES E HERNANDEZ RIVERA                  REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278550 LOURDES E LUCIANO RAMOS                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699359 LOURDES E MOLINA SILVA                      PO BOX 262                                                                                                         SANTA ISABEL        PR           00757‐0262
   699360 LOURDES E NICOLE                            140 S W 94TH TERR                                                                                                  PLANTATION          FL           33324
          LOURDES E ORTIZ
   278551 MENDEZ/ACCURATE                             REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699361 LOURDES E POLANCO ORTIZ                     BA BUENA VISTA            731 CALLE MARTINO                                                                        SAN JUAN            PR           00915
   699362 LOURDES E RIOS DE JESUS                     RES MANUEL A PEREZ        EDIF G G APT 51                                                                          SAN JUAN            PR           00923



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  278553 LOURDES E RIOS MUNIZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  699363 LOURDES E RIVERA COLON                       PO BOX 84                                                                                                            POPLAR BLUFF      MO         63902

   278554 LOURDES E ROSADO ACEVEDO                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   278555 LOURDES E SALCEDO MEDINA                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   278556 LOURDES E SUAREZ VALLE                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   278557 LOURDES E TORRES MILLAN                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   699367 LOURDES E VAZQUEZ ZAYAS                     COM EL TORITO F 46            CALLE 5                                                                                CAYEY             PR         00736

   278558 LOURDES E. AYENDE GONZALEZ                  REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   278559 LOURDES E. NAZARIO ORTIZ                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   699368 LOURDES E. PEREZ ARROYO                     COUNTRY CLUB 933 YABOA REAL                                                                                          SAN JUAN          PR         00924

   278560 LOURDES E. RODRIGUEZ LOPEZ                  REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   278561 LOURDES E. SOTO DE LAURINO                  REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   278562 LOURDES E. SOTO VAZQUEZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LOURDES ECHEVARRIA
   699369 CARRASQUILLO                                232 AVE ELEONOR ROOSEVELT                                                                                            SAN JUAN          PR         00907

   699370 LOURDES ECHEVARRIA GARCIA                   P O BOX 798                                                                                                          GARROCHALES       PR         00652
   699372 LOURDES ESPINET ORTIZ                       VILLA FLORES                  D 16 LOS FRAILES SUR                                                                   GUAYNABO          PR         00969
   699373 LOURDES ESPINOSA CANCEL                     HC 3 BOX 13303                                                                                                       YAUCO             PR         00698
   278564 LOURDES F. VAZ SANCHEZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   278565 LOURDES FEBRES RIVERA                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   699375 LOURDES FELICIANO OCASIO                    PO BOX 0275                                                                                                          GUANICA           PR         00653

                                                      URB. COLINAS DEL PRADO CALLE
   278567 LOURDES FERNANDEZ C0RNIER                   REY ALFREDO NUM 123                                                                                                  JUANA DIAZ        PR         00795
   278568 LOURDES FIGARO BARRET                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   278569 LOURDES FIGARRO BARRET                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   699378 LOURDES FIGUEROA FRANCO                     JARDINES DE QUINTANA         A 22 CALLE IRLANDA                                                                      SAN JUAN                     00917
   278571 LOURDES FLORES CRESPO                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   278573 LOURDES FORNES PEREZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   699380 LOURDES FRAMIL DURAN                        URB LAS AMERICAS             807 CALLE KINGSTON                                                                      SAN JUAN          PR         00921
   278574 LOURDES FUENTES REYES                       PO BOX 5246                                                                                                          CAGUAS            PR         00726
          LOURDES G ANDUJAR/ JORGE G
   278575 ANDUJAR                                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   278577 LOURDES G CECILIO REYES                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   278578 LOURDES G GONZALEZ                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   699381 LOURDES G PIERLUISSI                        URB CONSTANCIA                2532 CALLE COLOSO                                                                      PONCE             PR         00717
   699382 LOURDES G VALDES GARDEN                     VILLA CLEMENTINA ESTE         D3 CALLE R RODRIGUEZ                                                                   GUAYNABO          PR         00969

   699383 LOURDES G. COLON COLON                      URB. LAS DELICIAS             U 28 SANTIAGO OPPENHEIMER                                                              PONCE             PR         00731
   699385 LOURDES GARCIA                              RES TIBES                     I 220                                                                                  PONCE             PR         00731
   699387 LOURDES GARCIA GONZALEZ                     URB JARDINES DEL CASRIBE      45 TT 8                                                                                PONCE             PR         00731

   699388 LOURDES GARCIA PRODUCTIONS PO BOX 92                                                                                                                             CAGUAS            PR         00726
   278580 LOURDES GARCIA RIVERA      REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   699389 LOURDES GARCIA TORMOS      TERRAZAS DE GUAYNABO                           G 17 CALLE DALIA                                                                       GUAYNABO          PR         00969
   699390 LOURDES GIRAUD SERVERA     FERNANDEZ JUNCOS STATION                       PO BOX 11855                                                                           SAN JUAN          PR         00910‐4225
   278581 LOURDES GOMEZ TORO         REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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          LOURDES GOMEZ/ EFRAIN
   278582 SUAREZ                                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699391 LOURDES GONZALEZ                            PO BOX 758                                                                                                    JAYUYA              PR           00664

   699392 LOURDES GONZALEZ ALVAREZ                    PO BOX 426                                                                                                    SALINAS             PR           00785‐0426
   278583 LOURDES GONZALEZ ANAYA                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LOURDES GONZALEZ BOSQUES
   278584 MD, MARIA DE                                REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278585 LOURDES GONZALEZ CHINEA                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699394 LOURDES GONZALEZ COTTO                      PO BOX 7533                                                                                                   CAGUAS              PR           00726
          LOURDES GONZALEZ
   699395 HERNANDEZ                                   HC 2 BOX 10477                                                                                                MOCA                PR           00676
   699396 LOURDES GONZALEZ JIMENEZ                    LA CUMBRE              184 LOS PICACHOS                                                                       SAN JUAN            PR           00926
   278587 LOURDES GONZALEZ MENDEZ                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278588 LOURDES GONZALEZ NUNEZ                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278589 LOURDES GONZALEZ OPIO                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699397 LOURDES GONZALEZ PEREZ                      1758 CALLE CAROLINA                                                                                           SAN JUAN            PR           00912

   699401 LOURDES GONZALEZ SERRANO                    PO BOX 141463                                                                                                 ARECIBO             PR           00614
   699402 LOURDES GONZALEZ SOTO                       HC 01 BOX 4712                                                                                                LARES               PR           00669
   699403 LOURDES GRAJALES DIAZ                       98 COM CABAN                                                                                                  AGUADILLA           PR           00603

   699405 LOURDES GUZMAN CLEMENTE                     VALLE HILLS            PARC 218 SAN ISIDRO                                                                    CANOVANAS           PR           00729
   699407 LOURDES HERNANDEZ                           MOUNTAIN VIEW          L 6 CALLE 7                                                                            FAJARDO             PR           00928

   699408 LOURDES HERNANDEZ CANOVAS URB ROUND HLS                            438 CALLE GLADIOLA                                                                     TRUJILLO ALTO       PR           00976
   278591 LOURDES HERNANDEZ LOPEZ   REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699411 LOURDES HERNANDEZ ORTIZ   HC 71 BOX 1637                                                                                                                  NARANJITO           PR           00719
   699412 LOURDES HERNANDEZ ZAYAS   APARTADO 8042                                                                                                                   CAGUAS              PR           00726‐8042
   699413 LOURDES HOMES OLAVARRIA   URB NUEVA VIDA EL TUQUE                  AA 1 CALLE 1                                                                           PONCE               PR           00731
   699415 LOURDES I AQUINO MEDINA   PO BOX 1055                                                                                                                     MAYAGUEZ            PR           00681
   278592 LOURDES I CABAN DAVILA    REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699274 LOURDES I COLON LOPEZ     PO BOX 881                                                                                                                      BOQUERON            PR           00622

   699416 LOURDES I COLON VELAZQUEZ                   RR 6 BOX 9827                                                                                                 SAN JUAN            PR           00926
                                                                             W3‐9 CALLE PDR SN MGL URB
   699417 LOURDES I COSME PEREZ                       LAS LOMAS              LAS LOMAS                                                                              SAN JUAN            PR           00921
   699418 LOURDES I DONES                             PO BOX 902‐1372                                                                                               SAN JUAN            PR           00902

   699420 LOURDES I ESTREMERA RIVERA                  52 CALLE VILLAMADRID                                                                                          PONCE               PR           00730
   699421 LOURDES I GOMEZ VELEZ                       ALTURAS DE MAYAGUEZ    V 8 LA TORRE                                                                           MAYAGUEZ            PR           00680
   699422 LOURDES I GONZALEZ DIAZ                     VENUS GARDENS          1758 AFRODITA                                                                          SAN JUAN            PR           00926

   278594 LOURDES I GONZALEZ VALENTIN REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278595 LOURDES I HOLBERT COLON     REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   278596 LOURDES I MALDONADO MUNOZ REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699424 LOURDES I MARTIZ MENDOZA  P O BOX 250655                                                                                                                  AGUADILLA           PR           00604
   278597 LOURDES I NAZARIO RIVERA  REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699426 LOURDES I ORTIZ SOTO      LOS CAOBOS                               669 CALLE ACEITILLO                                                                    PONCE               PR           00731
   278598 LOURDES I PAGAN PEREZ     REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   278599 LOURDES I QUINTANA LLORENS                  REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  699427 LOURDES I RAMOS                              501 CALLE NORZAGARAY                                                                                           SAN JUAN            PR           00901

   278600 LOURDES I ROMERO GUTIERREZ                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278603 LOURDES I ROMERO REYES                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278605 LOURDES I. BELLO TIRADO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278606 LOURDES I. COLON ORTIZ                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699429 LOURDES I. DAVILA                           13 CALLE DR VEVE S                                                                                             COAMO               PR           00769
   278607 LOURDES I. MARTINEZ COTTO                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278610 LOURDES I. RIBERA SANTIAGO                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   278611 LOURDES IMBERT CANDELARIO                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   278612 LOURDES IRAIDA ROSARIO LUGO REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278613 LOURDES IRIZARRY RIVERA     REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   278614 LOURDES IRIZARRY RODRIGUEZ                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   278616 LOURDES ISABEL ROMERO REYES REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   278617 LOURDES IVETTE COLON ROSA                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LOURDES IVETTE SANTIAGO
   699430 ROCHE                                       HC 01 BOX 4228                                                                                                 SANTA ISABEL        PR           00757
   699431 LOURDES J CABAN LOPEZ                       URB RIO GRANDE STATE       10618 CALLE REY FELIPE                                                              RIO GRANDE          PR           00745
   278618 LOURDES J DIAZ FERNANDEZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699433 LOURDES J MATOS RIVERA                      FLAMBOYAN GARDENS          D 10 CALLE 6                                                                        BAYAMON             PR           00959

   278619 LOURDES J ORTIZ MALDONADO                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699435 LOURDES J PEREZ VEGA                        P O BOX 311                                                                                                    MARICAO             PR           00606

   278621 LOURDES J TORRES SANTIAGO                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278622 LOURDES J URBINA ANAYA                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LOURDES JANELLE QUINONES
   278623 VELEZ                                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LOURDES JANET FONSECA                                                  A 65 CALLE JORGE
   699437 RAMOS                                       URB JOSE MERCADO           WASHINGTON                                                                          CAGUAS              PR           00725
   278624 LOURDES JEANNETTE RIZEK                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699438 LOURDES JIMENEZ BONILLA                     PO BOX 21365                                                                                                   SAN JUAN            PR           00926‐1365
   278625 LOURDES JIMENEZ ROSADO                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LOURDES JUDITH VARGAS
   278626 MALAVET                                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699440 LOURDES L ALFONSO                           VICTORIA STATION           PO BOX 1069                                                                         AGUADILLA           PR           00605

   278627 LOURDES L AMBERT GONZALEZ                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   278628 LOURDES L COLON RODRIGUEZ                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278629 LOURDES L CRUZ VELEZ                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699443 LOURDES L ROMERO SOTO                       HC 03 BOX 12289                                                                                                CAMUY               PR           00627
   699444 LOURDES L SANTIAGO RIVERA                   PO BOX 191                                                                                                     TOA ALTA            PR           00954
   699445 LOURDES L TORRES COSME                      PMB 4 PO BOX 70158                                                                                             SAN JUAN            PR           00936‐8158
   699446 LOURDES L. DIAZ RIVERA                      COND EL JARDIN             APT 2 H                                                                             GUAYNABO            PR           00968
   278630 LOURDES LABOY LOPEZ                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699447 LOURDES LABOY RODRIGUEZ                     URB. VISTA ALEGRE          205 CALLE AMAPOLA                                                                   VILLALBA            PR           00766
   699448 LOURDES LABOY SANTIAGO                      BO SALTO SECTOR LA TOSCA   RR 1 BOX 3111                                                                       CIDRA               PR           00739



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  699449 LOURDES LAMOURT SEGARRA                      BO ESPINOSA CEIBA           HC 03 BOX 9451                                                                     LARES               PR         00669
  699450 LOURDES LASALLE ROMAN                        PO BOX 2444                                                                                                    MOCA                PR         00676
  278631 LOURDES LEANDRY MEDINA                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  699451 LOURDES LEBRON PATRON                        BOX 837                                                                                                        MAUNABO             PR         00707
  699452 LOURDES LESPIER PADILLA                      25 CALLE ROMAGUERA                                                                                             PONCE               PR         00730‐3112
  699453 LOURDES LOPEZ CRUZ                           RES JARD DE ORIENTE         EDIF 1 APT 4                                                                       HUMACAO             PR         00791
  278632 LOURDES LOPEZ ROMAN                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  278634 LOURDES LOPEZ VARGAS                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

                                                      MIRAMAR HOUSING EDERLY APT
   278635 LOURDES LOZADA NEGRON                       301 AVE PONCE DE LEON 816                                                                                      SAN JUAN            PR         00907‐3300
   278637 LOURDES LUGO LOPEZ                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699455 LOURDES LUGO ORTIZ                          COND REEF TOWER            APT 18 A                                                                            CAROLINA            PR         00979
   699456 LOURDES LUNA RIVERA                         150 AVE PONCE DE LEON                                                                                          SAN JUAN            PR         00901
   699457 LOURDES M ABELLAS                           CALLE I H‐4 RIVERSIDE PARK P O BOX 315                                                                         BAYAMON             PR         00960
   278638 LOURDES M ACEVEDO CRUZ                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699459 LOURDES M ACEVEDO ORTA                      URB SANTA JUANITA          EE18 CALLE 28                                                                       BAYAMON             PR         00956
   699461 LOURDES M ANCA SANCHEZ                      COND LUCEMA                EDIF A APT 1H                                                                       CAROLINA            PR         00983

   278639 LOURDES M APONTE RODRIGUEZ REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278640 LOURDES M APONTE VEGA      REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278641 LOURDES M AQUINO QUILES    REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                  116 ANTONIO RODRIGUEZ
   699462 LOURDES M AVILES TIRADO                     LAS GRANJAS                 SOSTRE                                                                             VEGA BAJA           PR         00693
   278643 LOURDES M BAEZ ROSARIO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699463 LOURDES M BARBOSA COLON                     RES DR PILA                 33 APT 537                                                                         PONCE               PR         00732
   699464 LOURDES M BEBE SANTIAGO                     PO BOX 9066252                                                                                                 SAN JUAN            PR         00906‐6252
   699465 LOURDES M BERRIOS OYOLA                     MC 73 BOX 4600                                                                                                 NARANJITO           PR         00719‐9607

   278644 LOURDES M BORRERO TORRES                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   278645 LOURDES M CAMACHO MEDINA REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   278646 LOURDES M CANCEL SANTANA                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   278647 LOURDES M CANTRES BERRIOS                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699467 LOURDES M CARLO FLORES                      EL SECO                     61 CALLE JUAN LOJO                                                                 MAYAGUEZ            PR         00682
          LOURDES M CARRILLO
   278648 MALDONADO                                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   278649 LOURDES M COLLAZO ALGARIN                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LOURDES M COLLAZO
   699470 RODRIGUEZ                                   COND VINDSOR TOWER          APTO 1112                                                                          SAN JUAN            PR         00923
   278650 LOURDES M COLON OLIVIERI                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699472 LOURDES M COLON REXACH                      URB EL COMANDANTE           310 CALLE ITALIA                                                                   CAROLINA            PR         00982

   278651 LOURDES M CORDERO MOLINA                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   699474 LOURDES M CORDERO MORALES PO BOX 875                                                                                                                       CAMUY               PR         00627

   699476 LOURDES M DE LA CRUZ COLON URB REPARTO SAN JOSE 420                     CALLE FINISTEROL                                                                   SAN JUAN            PR         00923
   699477 LOURDES M DIAZ VELAZQUEZ   URB LAS CUMBRES                              11 CALLE LOS ROBLES                                                                SAN JUAN            PR         00926




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          LOURDES M ENCARNACION
   699478 MARTINEZ                                    P O BOX 1417                                                                                                     VIEQUES             PR           00765
          LOURDES M FERNANDEZ
   699479 CASTELLANO                                  BOX 1135                                                                                                         YABUCOA             PR           00767
          LOURDES M FIGUEREDO
   278653 FIGUEREDO                                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   278654 LOURDES M FREYTES ACEVEDO                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278655 LOURDES M GARCIA JIMENEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   278656 LOURDES M GARCIA MARTINEZ                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278657 LOURDES M GELY MAURAS                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      T 203‐10 COND FLORIMAR
   699482 LOURDES M GOMEZ DE JESUS                    GARDENS                                                                                                          SAN JUAN            PR           00926
   278659 LOURDES M JIMENEZ APONTE                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   278660 LOURDES M JIMENEZ BERMUDEZ REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278661 LOURDES M LABOY DIAZ       REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LOURDES M LOPEZ AIMAGUER /
   699484 D B A ECLIPSE              OLD SAN JUAN STA                            PO BOX 9020902                                                                        SAN JUAN            PR           00902
   278663 LOURDES M LOPEZ ORTIZ      REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278664 LOURDES M LOPEZ REYES      REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   278665 LOURDES M LOZADA NAZARIO                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278666 LOURDES M MALDONADO                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LOURDES M MALDONADO
   278667 MERCADO                                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   278669 LOURDES M MARCANO LOPEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278670 LOURDES M MATOS RIVERA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LOURDES M MELENDEZ
   699485 DELGADO                                     VALLE ARRIBA HEIGHTS       L 8 CALLE AUSUBO                                                                      CAROLINA            PR           00983
   278671 LOURDES M MORA SANTIAGO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   699487 LOURDES M MORALES CORREA                    COND PLAZA ANTILLANA 151   CESAR GONZALEZ APT 7304                                                               SAN JUAN            PR           00918

   278672 LOURDES M MORALES RIVERA                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699488 LOURDES M MORALES SOLIS                     VILLA VERDE                F 5 CALLE E                                                                           GUAYNABO            PR           00966
   278674 LOURDES M NEGRON PLACER                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278676 LOURDES M NIEVES ORTEGA                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278677 LOURDES M ORTIZ ARIAS                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278678 LOURDES M ORTIZ CA¥UELAS                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699492 LOURDES M ORTIZ PEREZ                       MONTE CLARO                MQ 11 PLAZA 37                                                                        BAYAMON             PR           00961
   699493 LOURDES M OTERO PADRO                       URB GRAND PALM             35 PALM BOULEVARD                                                                     VEGA BAJA           PR           00692

   699494 LOURDES M PEREZ CALDERON                    URB LA RIVIERA             1018 CALLE 3 S O APT 301                                                              SAN JUAN            PR           00921
   771147 LOURDES M PEREZ OLIVERAS                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   699496 LOURDES M RAMIREZ RAMIREZ                   BOX 1436                                                                                                         HORMIGUEROS         PR           00660
   699275 LOURDES M RIVERA APONTE                     P O BOX 1318                                                                                                     YABUCOA             PR           00767
   278679 LOURDES M RIVERA ASENCIO                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699498 LOURDES M RIVERA PADRO                      CIUDAD JARDIN III          19 CALLE UCAR                                                                         TOA ALTA            PR           00953
   278680 LOURDES M RIVERA RIVERA                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  278681 LOURDES M RIVERA ROBLES                      REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  278682 LOURDES M RIVERA VAZQUEZ                     REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  699500 LOURDES M RODRIGUEZ                          PARQUE ARCOIRES          227 CALLE 2 APT 231                                                              TRUJILLO ALTO      PR         00976

   278683 LOURDES M RODRIGUEZ AYALA                   REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          LOURDES M RODRIGUEZ
   699501 HERNANDEZ                                   URB CONSTANCIA           2070 CALLE FORTUNA                                                               PONCE              PR         00717

   278684 LOURDES M RODRIGUEZ ORTIZ                   REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   278685 LOURDES M RODRIGUEZ SOTO                    REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   699502 LOURDES M RODRIGUEZ TORRES URB BALDORIOTY                            4214 CALLE GARDEL                                                                PONCE              PR         00728‐2894

   699503 LOURDES M ROMERO FELICIANO HC 4 BOX 17351                                                                                                             CAMUY              PR         00627
   278686 LOURDES M ROSADO ALICEA    REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   278687 LOURDES M ROSARIO ANDINO                    REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   699505 LOURDES M ROSARIO SANCHEZ                   URB REPARTO ROBLES       A‐74                                                                             AIBONITO           PR         00705
   699508 LOURDES M SANTIAGO GELY                     P O BOX 347                                                                                               SAINT JUST         PR         00978
   699512 LOURDES M TORO COLOME                       BOX 1095                                                                                                  LAJAS              PR         00667

   278690 LOURDES M TORRES CARABALLO REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   699513 LOURDES M TORRES DELGADO                    PO BOX 10000 SUITE 3                                                                                      CAYEY              PR         00737
   278691 LOURDES M TORRES ESTEVES                    REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          LOURDES M VAZQUEZ
   699515 MATIENZO                                    GARDEN VALLEY CLUB       B 137 CARR 176                                                                   SAN JUAN           PR         00926

   699516 LOURDES M VERDEJO GONZALEZ RESIDENCIAL FELIPE S OSORIO               EDIF 23 APT 166                                                                  CAROLINA           PR         00985

   699271 LOURDES M VILLAMIL HERRANS                  Q 2 LUZ ESTE STREET                                                                                       TOA BAJA           PR         00949
          LOURDES M. COLLAZO
   278692 CHARNECO                                    REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   278693 LOURDES M. DE JESUS OLIVO                   REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   278694 LOURDES M. FUENTES                          REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   699519 LOURDES M. ORTIZ BERRIOS                    VILLA BORINQUEN          E13 CALLE YAGUEZ                                                                 CAGUAS             PR         00725
   699520 LOURDES M. ORTIZ PAGAN                      P O BOX 593                                                                                               CABO ROJO          PR         00623

   278695 LOURDES M. RODRIGUEZ LUGO                   REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   278696 LOURDES M. ROGRIGUEZ SOTO                   REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   278697 LOURDES M. TORRES BAEZ                      REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   278698 LOURDES M. TORRES RUIZ                      REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   699523 LOURDES MACHADO DEL VALLE                   PO BOX 9021112                                                                                            SAN JUAN           PR         00902‐1112
   699524 LOURDES MALAVE COLON                        160 CALLE RUIZ RIVERA                                                                                     AIBONITO           PR         00705
   699525 LOURDES MALAVE RIVERA                       MIRAFLORES POLO BLANCO   333 CALLE 11                                                                     ARECIBO            PR         00688
   278699 LOURDES MALDONADO ARIAS                     REDACTED                 REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   278700 LOURDES MALDONADO CORTES REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED




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   278701 LOURDES MALDONADO DE JESUS REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LOURDES MALDONADO
   278702 FIGUEROA                   REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LOURDES MALDONADO
   278703 MORALES                    REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LOURDES MALDONADO
   278704 VILLEGAS                   REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   699530 LOURDES MALDONANO ROSARIO URB PERLA DEL SUR                             2635 CALLE 6AS CARRIZAS                                                              PONCE               PR           00717‐0429
   278705 LOURDES MALINES SANTIAGO  REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278706 LOURDES MANTILLA RIOS     REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699531 LOURDES MARIE BENES       COSTA AZUL III                                PASEO LAS BRISAS                                                                     SAN JUAN            PR           00926
   278707 LOURDES MARIN             REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278708 LOURDES MARRERO DIAZ      REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   699532 LOURDES MARRERO GONZALEZ                    CONDOMINIO LOS ROBLES       203‐A                                                                                SAN JUAN            PR           00927

   278709 LOURDES MARRERO HERNANDEZ REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   699533 LOURDES MARRERO LOPEZ                       COND CAGUAS TOWER APT 401                                                                                        CAGUAS              PR           00725

   699535 LOURDES MARRERO RODRIGUEZ 9 CERRO GANDIA                                                                                                                     MANATI              PR           00674
          LOURDES MARTINA GARAY
   699536 APONTE                    URB ESTANCIAS LA TRINITARIA                   BOX 732                                                                              AGUIRRE             PR           00704
   699537 LOURDES MARTINEZ          389 BOX 4035                                                                                                                       ARECIBO             PR           00614
   699539 LOURDES MARTINEZ ACOSTA   106 COND SAN JOSE APT 3 3                                                                                                          SAN JUAN            PR           00901‐0000

   699540 LOURDES MARTINEZ DIODONET                   VALLE ARRIBA HEIGTS         B 2 5 CALLE 128                                                                      CAROLINA            PR           00983
   699541 LOURDES MARTINEZ FLORES                     BO VIETNAM                  50 CALLE B                                                                           GUAYNABO            PR           00965
   278711 LOURDES MARTINEZ GARCIA                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699542 LOURDES MARTINEZ RIVERA                     HC 2 BOX 15428                                                                                                   CAROLINA            PR           00985
   699543 LOURDES MARTINEZ ROLON                      URB MONTE ALVERNIA          2 VIA BERNARDO                                                                       GUAYNABO            PR           00969

   278712 LOURDES MARTINEZ ROSARIO                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   699544 LOURDES MARTINEZ VAZQUEZ                    HC 03 BOX 32112                                                                                                  MAYAGUEZ            PR           00680
   278713 LOURDES MATOS                               REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278714 LOURDES MATOS AGOSTO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699545 LOURDES MATOS ARIAS                         UNIVERSITY GARDENS          J 23 CALLE 10                                                                        ARECIBO             PR           00612

   278715 LOURDES MED CTR OF BURL CTY PO BOX 152472                                                                                                                    IRVING,             TX           75015‐2472
   699546 LOURDES MEDINA ARCE         VILLA DEL CARMEN                            507 CALLE SALAMANCA                                                                  PONCE               PR           00716‐2114
   278716 LOURDES MEDINA ROSADO       URB. CORALES C‐32 CALLE 5                                                                                                        HATILLO             PR           00659

   699548 LOURDES MENDEZ RODRIGUEZ                    BOX 816                                                                                                          RINCON              PR           00677

   699549 LOURDES MERCADO MELENDEZ                    PO BOX 1269                                                                                                      MANATI              PR           00674
   699550 LOURDES MERCED VEGA                         URB VALLE PUERTO REAL       B 7 CALLE 1 PUERTO REAL                                                              FAJARDO             PR           00740
          LOURDES MICHELLE RODRIGUEZ
   699551 TORRES                                      HC 2 BOX 6273                                                                                                    GUAYANILLA          PR           00656
          LOURDES MILAGROS SOTO
   278717 NAZARIO                                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  699552 LOURDES MIRANDA                              PO BOX 1444                                                                                                          OROCOVIS            PR           00720
  699553 LOURDES MIRANDA COLON                        17 CALLEJON GIBRALTAR                                                                                                ARECIBO             PR           00612
  699554 LOURDES MIRANDA OLIVO                        URB RIO PLANTATION           14 CALLE 7                                                                              BAYAMON             PR           00961‐3505

   699555 LOURDES MOLINARI GIRAU                      URB LEVITTOWN                CD 32 DR FRANCISCO TRELLES                                                              TOA BAJA            PR           00949

   278718 LOURDES MONCLOVA TIRADO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   699556 LOURDES MONTALVO FIGUEROA PO BOX 907                                                                                                                             LAJAS               PR           00667
   699557 LOURDES MONTES OQUENDO    URB VILLA FLORES                               2508 CALLE GARDENIA                                                                     PONCE               PR           00716‐2908
   278720 LOURDES MORALES CABAN     REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278721 LOURDES MORALES OLMEDA    REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699559 LOURDES MORALES TIRADO    PO BOX 561045                                                                                                                          GUAYANILLA          PR           00656
   278722 LOURDES MORALES VALLE     REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699560 LOURDES MORALES VAZQUEZ   URB VENUS GARDENS                              AX 21 CALLE MONTE REY                                                                   SAN JUAN            PR           00926

   699561 LOURDES MORALES VILLANUEVA 180 C/ BRISAS DEL MAR                                                                                                                 AGUADA              PR           00602
   699562 LOURDES MORAN              PO BOX 9022893                                                                                                                        SAN JUAN            PR           00902‐2893
   278723 LOURDES MORENO             REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   699563 LOURDES MORENO MARTINEZ                     PO BOX 901                                                                                                           BARCELONETA         PR           00617
   699276 LOURDES MUNOZ NECO                          LA TROCHA                    301 CALLE MAGA                                                                          VEGA BAJA           PR           00693
                                                      COND PLAZA ANTILLANA APT 1
   699564 LOURDES N ACEVEDO                           503                          151 CALLE CESAR GONZALEZ                                                                SAN JUAN            PR           00918
   278725 LOURDES N RUIZ NAVEDO                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278726 LOURDES N SANTOS TIRADO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699566 LOURDES NARVAEZ RIVERA                      RIO LAJAS                    117A CALLE 3                                                                            DORADO              PR           00646
          LOURDES NASHARA RIVERA
   699567 FIGUEROA                                    RR 7 BOX 25                                                                                                          SAN JUAN            PR           00926
   699277 LOURDES NEGRON NATAL                        URB COUNTRY CLUB             HM 10 AVE EL COMANDANTE                                                                 CAROLINA            PR           00982
   278727 LOURDES NEGRON ORTIZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   699569 LOURDES NIEVES MALDONADO                    DORADO                        460 CALLE SUR                                                                          DORADO              PR           00646
                                                      QUINTAS DE SAN LUIS D13 CALLE
   699570 LOURDES NIEVES ORTEGA                       MONET                                                                                                                CAGUAS              PR           00725
   699571 LOURDES NIEVES RUIZ                         URB LOS PINOS                 522 CALLE GARDENIA                                                                     YAUCO               PR           00698
   278728 LOURDES NIEVES VALENTIN                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278729 LOURDES NIEVES VAZQUEZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LOURDES NOEMI GARCIA
   699572 SANTIAGO                                    HC 02 BOX 9732                                                                                                       COROZAL             PR           00783‐9709
   278730 LOURDES NUNEZ LOPEZ                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278731 LOURDES OBREGON GARCIA                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699573 LOURDES OCASIO AVILES                       HC 03 BOX 16939                                                                                                      QUEBRADILLAS        PR           00678

   278732 LOURDES OLIVERA HERNANDEZ                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699574 LOURDES ONEILL ARANA                        URB LA SIERRA DEL RIO        300 AVE LA SIERRA BUZON 21                                                              SAN JUAN            PR           00926
   278733 LOURDES ORSINI VELAZQUEZ                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278734 LOURDES ORTIZ DIAZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699576 LOURDES ORTIZ FANTAUZZI                     COLINAS DE FAIRVIEW          4 S 44 CALLE 223                                                                        TRUJILLO ALTO       PR           00976
   278735 LOURDES ORTIZ FRAGOSO                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699577 LOURDES ORTIZ GARCIA                        PO BOX 1088                                                                                                          SAN LORENZO         PR           00754‐1088
   278736 LOURDES ORTIZ JIMENEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699578 LOURDES ORTIZ MARTINEZ                      EXT SANTA TERESITA           BQ 7 CALLE C                                                                            PONCE               PR           00730



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  278737 LOURDES ORTIZ NOGUERAS                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  278738 LOURDES ORTIZ PAGAN                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  699580 LOURDES ORTIZ RECIO                          53 PARQUE REAL RUBI                                                                                                LAJAS               PR         00667
  699582 LOURDES OTERO SANTIAGO                       HC 1 BOX 6701                                                                                                      COROZAL             PR         00783

   278739 LOURDES P FELICIANO CASTRO                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278740 LOURDES PADILLA VELEZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699584 LOURDES PADIN JIMENEZ                       HC 3 BOX 10808                                                                                                     CAMUY               PR         00627

   699585 LOURDES PADRO MALDONADO                     URB CIUDAD JARDIN III      19 CALLE UCAR                                                                           TOA ALTA            PR         00953‐4864
   699586 LOURDES PAGAN                               ALT REMANSO                L 1 OSCAR MENDOZA                                                                       SAN JUAN            PR         00902
   278741 LOURDES PAGAN MARIN                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278742 LOURDES PAGAN OTERO                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278743 LOURDES PAGAN PEREZ                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699588 LOURDES PAGAN VELEZ                         A 17 URB VILLA SERAL                                                                                               LARES               PR         00669

   699589 LOURDES PEDRAZA RODRIGUEZ                   URB STA CLARA              96 CALLE 3                                                                              SAN LORENZO         PR         00754
   278744 LOURDES PENA SANCHEZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   699590 LOURDES PEREDA VARGAS                       TURABO GARDENS 2DA SECCION Z‐8‐9 CALLE 13                                                                          CAGUAS              PR         00725
                                                                                 8118 CALLE CONCORDIA SUITE
   699591 LOURDES PEREZ                               GALERIA PROFESIONAL        104                                                                                     PONCE               PR         00717
   699592 LOURDES PEREZ DE RIVERA                     PO BOX 33122                                                                                                       SAN JUAN            PR         00933‐3122
   278746 LOURDES PEREZ MEDINA                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278747 LOURDES PEREZ ROSADO                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699594 LOURDES PEREZ VERDEJO                       BO CAMPAMENTO              30 CALLE B                                                                              GURABO              PR         00778
   699596 LOURDES PIERLUISI                           PO BOX 9023146                                                                                                     SAN JUAN            PR         00902‐3146
   278748 LOURDES PIETRI VELEZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278749 LOURDES PINEIRO DISDIER                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278750 LOURDES PUEYO FONT                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LOURDES QUINONES
   278751 HERNANDEZ                                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278752 LOURDES QUINONES NELSON                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   699597 LOURDES R BERRIOS FERNANDEZ URB ALTURAS DE FLAMBOYAN                   DD 3 CALLE 18                                                                           BAYAMON             PR         00959
          LOURDES R FELICIANO
   699598 CARBONELL                   BOX 154 CALLE PERLA                                                                                                                ENSENADA            PR         00647
   278754 LOURDES R GOMEZ VAZQUEZ     REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699599 LOURDES R LA LUZ AYALA      HC 02 BOX 7550                                                                                                                     CIALES              PR         00638

   699601 LOURDES R QUINTANA IRIZARRY PO BOX 250506                                                                                                                      AGUADILLA           PR         00604
   699602 LOURDES R RIVERA ROSADO     HC 02 BOX 8257                                                                                                                     COROZAL             PR         00783
   699603 LOURDES R ROSARIO LUGO      B 121 URB STA CLARA                                                                                                                PONCE               PR         00731

   278756 LOURDES R TORRES GONZALEZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   699604 LOURDES R TORRES OLMEDA                     UNIVERSITY GARDENS         1010 CALLE INTERAMERICANA                                                               SAN JUAN            PR         00927
   278757 LOURDES R. LAGO GONZALEZ                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699605 LOURDES R. RAMOS                            3104 ALEXANDER CRES                                                                                                FLOSSMOOR           IL         60422
   278758 LOURDES RAMOS BARRIOS                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699606 LOURDES RAMOS GONZALEZ                      36 RAFAEL HERNANDEZ                                                                                                HORMIGUEROS         PR         00660
   278759 LOURDES RAMOS PESQUERA                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699608 LOURDES RAMOS RODRIGUEZ                     URB JARD COUNTRY CLUB      CF 4 CALLE 139                                                                          CAROLINA            PR         00983



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  278760 LOURDES RAMOS TORRES                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  699609 LOURDES REMIGIO ROBLES                       RIO LAJAS                   PARC 15 C CALLE 1                                                                   DORADO              PR         00646
  699610 LOURDES RIVERA                               PO BOX 493                                                                                                      CAYEY               PR         00737
  278761 LOURDES RIVERA ARCE                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  699611 LOURDES RIVERA COLON                         URB CONDADO MODERNO         F6 C/6                                                                              CAGUAS              PR         00725
  278763 LOURDES RIVERA DIAZ                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   278764 LOURDES RIVERA MALDONADO                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278765 LOURDES RIVERA MARTINEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699614 LOURDES RIVERA MIRANDA                      URB ALTAMIRA                633 CALLE CENTAURO                                                                  SAN JUAN            PR         00920
   278768 LOURDES RIVERA RIVERA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278770 LOURDES RIVERA SANTOS                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699621 LOURDES RIVERA VAZQUEZ                      VILLA IRIARTE               PARCELA 266                                                                         DORADO              PR         00646
   699622 LOURDES RODRIGUEZ                           P O BOX 9377                                                                                                    ARECIBO             PR         00613

   278771 LOURDES RODRIGUEZ ACEVEDO REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   278772 LOURDES RODRIGUEZ ALDEBOL                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278773 LOURDES RODRIGUEZ ANAYA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LOURDES RODRIGUEZ ANAYA                     URB HACIENDAS DE SAN
   278774 CPL                                         GERMAN                      CALLE BROMELIA 286                                                                  SAN GERMAN          PR         00683‐9007

   699623 LOURDES RODRIGUEZ BALAGUER PO BOX 3041                                                                                                                      CAROLINA            PR         00984

   278775 LOURDES RODRIGUEZ BERRIOS                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   278776 LOURDES RODRIGUEZ CARRILLO REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   699625 LOURDES RODRIGUEZ GALARZA                   BO DAGUAO                   BOX 7921                                                                            NAGUABO             PR         00718
          LOURDES RODRIGUEZ
   278778 HERNANDEZ                                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LOURDES RODRIGUEZ
   278779 LAUREANO                                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699626 LOURDES RODRIGUEZ LOPEZ                     ESTANCIAS DEL RIO           90 CALLE CEIBA                                                                      CANOVANAS           PR         00729

   278781 LOURDES RODRIGUEZ MARRERO REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   699628 LOURDES RODRIGUEZ MIRANDA P O BOX 8711                                                                                                                      PONCE               PR         00732

   278782 LOURDES RODRIGUEZ NEGRON                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699629 LOURDES RODRIGUEZ NIEVES                    PO BOX 21365                                                                                                    SAN JUAN            PR         00928‐1365
   699630 LOURDES RODRIGUEZ PEREZ                     PO BOX 1863                                                                                                     OROCOVIS            PR         00720
   699632 LOURDES RODRIGUEZ RIVERA                    VILLAS DE LOIZA             L 2 CALLE 8                                                                         CANOVANAS           PR         00729
          LOURDES RODRIGUEZ
   699633 RODRIGUEZ                                   P O BOX 467                                                                                                     SAN LORENZO         PR         00754

   278783 LOURDES RODRIGUEZ SANTIAGO REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   278784 LOURDES RODRIGUEZ TERRON                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699637 LOURDES ROJAS SANTIAGO                      P.O. BOX 2087                                                                                                   AIBONITO            PR         00705
   278786 LOURDES ROMAN SOTO                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   699639 LOURDES ROMERO DE JESUS                     URB ESTANCIAS DEL MAYORAL   12049 CALLE LA CARRETA                                                              VILLALBA            PR         00766



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  699640 LOURDES ROSA MONTIJO                         234 CALLE M ALCAIDE                                                                                                 HATILLO             PR           00659
         LOURDES ROSA RODRIGUEZ
  278787 RIVERA                                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  699641 LOURDES ROSADO                               HC 01 BOX 3178                                                                                                      VILLALBA            PR           00766
  699642 LOURDES ROSADO AGOSTO                        341 CALLE OASIS MANANTIAL                                                                                           VEGA ALTA           PR           00692
  278788 LOURDES ROSADO ESTELA                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  278789 LOURDES ROSARIO                              REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  699643 LOURDES ROSARIO GERENA                       VILLAS DE CANEY               B 17 CALLE MAJAGUA                                                                    TRUJILLO ALTO       PR           00976
  699644 LOURDES ROSARIO LUGO                         P O BOX 936                                                                                                         SAN GERMAN          PR           00683
  699645 LOURDES ROSARIO PEREZ                        HC 1 BOX 6630                                                                                                       CIALES              PR           00638
                                                      URB ATENAS C 9 J TIRADO
   278790 Lourdes Rrivera Pena                        GRACIA                                                                                                              MANATI              PR           00674
   699647 LOURDES RUIZ APONTE                         41 VILLAS DE LA ESPERANZA                                                                                           JUANA DIAZ          PR           00795
   278791 LOURDES RUIZ DIEZ MURO                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278793 LOURDES RUIZ MATOS                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699649 LOURDES RUIZ PAGAN                          PMB 1376                      243 CALLE PARIS                                                                       SAN JUAN            PR           00917‐3632
   278794 LOURDES RUIZ VAZQUEZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   699650 LOURDES S ALVAREZ FELICIANO                 HC 01 BOX 6675                                                                                                      AGUAS BUENAS        PR           00703
   699652 LOURDES S CRUZ CRUZ                         HC 2 BOX 11553                                                                                                      LAJAS               PR           00667
   699653 LOURDES S MARTIR MOJICA                     HC 3 BOX 22802                                                                                                      LAJAS               PR           00667

   278796 LOURDES S MENDEZ CARRERO                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   278797 LOURDES S TORRES RODRIGUEZ REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   699655 LOURDES S. ROSA DE VADI                     URB. SAN SOUCI A15 CALLE 12                                                                                         BAYAMON             PR           00957
   278798 LOURDES SALABARRIA VALLE                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   278799 LOURDES SALDANA ZAMBRANA                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   278800 LOURDES SANCHEZ GONZALEZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   699659 LOURDES SANCHEZ HERNANDEZ                   URB APRIL GARDEN              I‐44                                                                                  LAS PIEDRAS         PR           00771
   278801 LOURDES SANCHEZ OLIVERAS                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699661 LOURDES SANTANA BORRERO                     P M B 258                     P O BOX 2400                                                                          TOA BAJA            PR           00951‐2400
   699662 LOURDES SANTANA CRUZ                        PO BOX 1194                                                                                                         SABANA HOYOS        PR           00688
          LOURDES SANTIAGO
   699663 ALBALADEJO                                  HC 71 BOX 3863                                                                                                      NARANJITO           PR           00719

   699664 LOURDES SANTIAGO ALEJANDRO VILLA ESPERANZA                                203 A CALLE ESPERANZA                                                                 CAGIAS              PR           00725

   699665 LOURDES SANTIAGO FERREIRA                   URB LA VILLA DE TORRIMAR      358 CALLE REY CARLOS                                                                  GUAYNABO            PR           00969‐3253
   699666 LOURDES SANTIAGO IRIZARRY                   508 EDIF PARRAS                                                                                                     PONCE               PR           00731
   699668 LOURDES SANTIAGO MEJIAS                     EL TUQUE                      1271 CALLE PEDRO SHUCK                                                                PONCE               PR           00728‐4749

   699670 LOURDES SANTIAGO SANTIAGO                   URB ESTANCIAS DEL MAYORAL     12056 CALLE CARRETA                                                                   VILLALBA            PR           00766
   699671 LOURDES SANTOS ROLON                        TURABO GARDENS                Q 4 AVE CHUMLET                                                                       CAGUAS              PR           00725
   278804 LOURDES SANTOS TORRES                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278805 LOURDES SANTOS VARGAS                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   699672 LOURDES SASTRE FERNANDEZ                    65 CALLE SANTIAGO IGLESIAS    CONDOMINIO PARKLANE PH 1                                                              CONDADO             PR           00907
   278807 LOURDES SCHARON PENA                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  278808 LOURDES SEGUINOT                             REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   699675 LOURDES SEPULVEDA PADILLA                   URB LEVITTOWN              A4 CALLE MARISOL                                                                      TOA BAJA             PR         00949
   278809 LOURDES SERRANO MOLINA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   278810 LOURDES SOBRINO IZCOA                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   699677 LOURDES SOLER MUNIZ                         PO BOX 9787                                                                                                      SAN JUAN             PR         00908
   699678 LOURDES SOLIVAN TIRADO                      BO BEATRIZ                 CALLE MAMEY BOX 20807                                                                 CAYEY                PR         00736‐9489
   699679 LOURDES SOTO ORTIZ                          HC 01 BOX 5785                                                                                                   BARRANQUITAS         PR         00794
   699680 LOURDES SOTO RAMOS                          URB LOS CAOBOS             CALLE 2323 TABONUCO                                                                   PONCE                PR         00731‐6002
   699681 LOURDES SUAREZ PEREZ                        URB CAPARRA TERRACE 1258   CALLE 10 SE                                                                           SAN JUAN             PR         00921
   699682 LOURDES SUAREZ ROMAN                        HC 1 BOX 10885                                                                                                   AGUADILLA            PR         00603
   699683 LOURDES T BERLINGERI                        PO BOX 50071                                                                                                     SAN JUAN             PR         00902
          LOURDES T. BENITEZ
   278812 CONCEPCION                                  REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   278813 LOURDES TAPIA DE SOUSS                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   699685 LOURDES TIRADO CASALS                       BOX 1009                                                                                                         AIBONITO             PR         00705
   278814 LOURDES TIRADO FLORES                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   278815 LOURDES TIRADO OURDES                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   278816 LOURDES TORMOS FERNANDEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   699687 LOURDES TORRES                              SABANA BRANCH              CALLE 13 PARC 449                                                                     VEGA BAJA            PR         00693
          LOURDES TORRES DE
   699690 MONTALVO                                    URB LOMAS DE CAROLINA      T 12 C/ CERRO TAILA                                                                   CAROLINA             PR         00987
   278817 LOURDES TORRES GUZMAN                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   699691 LOURDES TORRES MELENDEZ                     RR 1 BOX 14274                                                                                                   OROCOVIS             PR         00720

   699694 LOURDES TORRES RODRIGUEZ                    HACIENDA LA MONSERRATE 403 CALLE GUARAGUAO                                                                       MANATI               PR         00674

   699697 LOURDES V GANDARILLA TRABAL P O BOX 8117                                                                                                                     MAYAGUEZ             PR         00610

   699698 LOURDES V MATOS GONZALEZ                    URB ESTANCIAS DEL GOLF     CALLE JUAN H CINTRON                                                                  PONCE                PR         00730‐0516

   278819 LOURDES V VELAZQUEZ CAJIGAS REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                      SANTA JUANITA WT‐6 CALLE
   699699 LOURDES V. BAEZ DELGADO     GIOCONDA                                                                                                                         BAYAMON              PR         00956
   699700 LOURDES V. RIVERA           PO BOX 1192                                                                                                                      PONCE                PR         00780‐1192
   699701 LOURDES VALENTIN CASADO     URB FAIR VIEW                              1872 CALLE DIEGO MORGUEY                                                              SAN JUAN             PR         00926
   278820 LOURDES VARGAS FIGUEROA     REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   278821 LOURDES VARGAS VELEZ        REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   278822 LOURDES VAZQUEZ ARROYO      REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   278823 LOURDES VAZQUEZ BRENES      REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   699702 LOURDES VAZQUEZ MORALES     219 5TH AVE APT 2 L                                                                                                              BROOKLYN             NY         11215
   278824 LOURDES VAZQUEZ RIVERA      REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   699704 LOURDES VEGA ANDUJAR        COND LAS GAVIOTAS                          APT 1103                                                                              CAROLINA             PR         00979
   278825 LOURDES VEGA GONZALEZ       REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   278826 LOURDES VELAZQUEZ MILLAN    REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   278827 LOURDES VELAZQUEZ ORTIZ     REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   278828 LOURDES VELEZ CRESPO        REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   278830 LOURDES VELEZ SERRA         REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   278831 LOURDES VERA ROLDAN         REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   699709 LOURDES VERTICAL BLINDS     URB MAGNOLIAS                              1 A 25 CALLE MARGINAL                                                                 BAYAMON              PR         00959
   699710 LOURDES VIDAL               OFICINA REGIONAL                           PO BOX 818                                                                            MAYAGUEZ             PR         00681
   699711 LOURDES VIERA SERRANO       BOX 575                                                                                                                          BAJADERO             PR         00616



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  699714 LOURDES VILLEGAS ORTIZ                       RR 03 BUZON 3617                                                                                                      SAN JUAN            PR         00926‐9611
  278833 LOURDES VIRELLA TORRES                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  699715 LOURDES VIVES FANTAUZZI                      BDA BELGICA                  36 CALLE 5                                                                               PONCE               PR         00731

   278835 LOURDES X. MAFFUZ CAMACHO REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LOURDES XIOMARA AGUILO
   278836 RODRIGUEZ                 REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   278837 LOURDES Y COLON FERNANDEZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278838 LOURDES Y LOZADA LOPEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278839 LOURDES Y MUNIZ BADILLO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   699717 LOURDES Y TEJEDA RODRIGUEZ                  EXT VILLA RITA               GG 18 CALLE 31                                                                           SAN SEBASTIAN       PR         00685

   278841 LOURDES Y. MAFFIZ CAMACHO                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278842 LOURDES Y. MUNOZ BADILLO                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LOURDES Z DOMINQUEZ
   278843 ROSADO                                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699718 LOURDES ZAPATA ROSAS                        A 5 URB SIERRA LINDA                                                                                                  CABO ROJO           PR         00625
   278844 LOURDES ZAYAS RAMOS                         843 ESTEBAN GONZALEZ         CONDOMINIO MARIMIR 502                                                                   SAN JUAN            PR         00925‐2113

   699720 LOURDES ZOE RIOS ROMERO                     VALLE ARRIBA HEIGHTS STATION P O BOX 1792                                                                             CAROLINA            PR         00984
   278845 LOURED RIVERA CALIZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   699722 LOUREEN RODRIGUEZ ENRIQUE                   RES ROSSY SAN GERMAN         EDIF 12 APT 87                                                                           SAN GERMAN          PR         00683
   699723 LOURES ACEVEDO HERNADEZ                     44 EXT LA RUEDA CARR 108                                                                                              MAYAGUEZ            PR         00680
          LOURIDO FERRER MD,
   278850 HERIBERTO D                                 REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LOURIEL MARIE OJEDA
   699724 MELENDEZ                                    HC 2 BOX 10392                                                                                                        JUANA DIAZ          PR         00795
   699725 LOURITZ E RIVERA MANGUAL                    URB FLAMINGO HILLS           299 CALLE 9                                                                              BAYAMON             PR         00957
   278864 LOURNET MARTINEZ LOPEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LOUSIANA CENTER FOR THE
   699726 BLIND                                       101 SOUTH TRENTON                                                                                                     RUSTON              LA         71270

   699727 LOVEIDA CARTAGENA NEGRON                    HC 2 BOX 8639                                                                                                         JUANA DIAZ          PR         00795
   699728 LOVELIZ LOPEZ VELEZ                         URB REXVILLE                 J 36 CALLE 6                                                                             BAYAMON             PR         00957
   278874 LOVENIA PEREZ TORRES                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699729 LOW PRICES SHOES                            321 CALLE MENDEZ VIGO                                                                                                 DORADO              PR         00646
   278877 LOW VISION CENTER                           ATTN MEDICAL RECORDS         215 E NEW HAMPSHIRE ST                                                                   ORLANDO             FL         32804
                                                                                   252 AVE PONCE DE LEON SUITE
   699730 LOWE CIRCULO                                CITIBANK TOWER               700                                                                                      SAN JUAN            PR         00918
          LOWELL COMMUNITY HEALTH
   278882 CENTER                                      585 MERRIMACK ST                                                                                                      LOWELL              MA         01854
   278883 LOWELL GENERAL HOSPITAL                     PO BOX 869102                                                                                                         MILTON              MA         02186
   278884 LOWENDARINE MUNIZ LOPEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   278885 LOWENSKI J MARTINEZ GARCIA                  REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278886 LOWER BUCKS HOSPITAL                        PO BOX 19072                                                                                                          GREEN BAY           WI         54307‐9072
   278888 LOWNEY MD, JERIMIAH                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   278889 LOWRY MD, PHILIP                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699731 LOWY DAIRY FARM                             HC 1 BOX 10318                                                                                                        HATILLO             PR         00659
   278890 LOY CONTRACTOR CORP                         VISTA BAHIA                  182 PASEO CIELO Y MAR                                                                    PENUELAS            PR         00624



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  699732 LOYD SANABRIA HERNANDEZ    PO BOX 449                                                                                                                        SALINAS             PR           00751
         LOYD SANABRIA HERNANDEZDBA
  278892 HACIENDA                   SANTA FE                                 PO BOX 449                                                                               SALINAS             PR           00751
  699734 LOYDA A SANCHEZ SOTO       PARADA 25                                1767 CALLE SAN MATEO                                                                     SAN JUAN            PR           00912
  699735 LOYDA APONTE PEREIRA       ESCUELA SUP VOCACIONAL                   P O BOX 650                                                                              CIDRA               PR           00739
  278893 LOYDA ARCE HERNANDEZ       REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  278894 LOYDA CRUZ CUEVAS          REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  699738 LOYDA E ABREU PARIS        COLINAS DEL OESTE                        A 12 CALLE 2                                                                             HORMIGUEROS         PR           00660‐1902
  699740 LOYDA E MORALES MORALES    CIUDAD MASSO                             G 43 CALLE 15                                                                            SAN LORENZO         PR           00754
  699741 LOYDA E RIVERA NEGRON      URB LUCHETTI                             40 CALLE VIRGILIO DEL POZO                                                               MANATI              PR           00674
  699742 LOYDA E TORRES COLON       HC 03 BOX 10676                                                                                                                   JUANA DIAZ          PR           00795
  699743 LOYDA E VELAZQUEZ CASTRO   HC 1 BOX 61851                                                                                                                    LAS PIEDRAS         PR           00771

   278895 LOYDA ESTADES CARRASQUILLO REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699744 LOYDA GUZMAN RODRIGUEZ      BOX 1659                                                                                                                        UTUADO              PR           00641
   278898 LOYDA I DIAZ MONTANEZ       REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699745 LOYDA I FIGUEROA DIAZ       PO BOX 9106                                                                                                                     CAGUAS              PR           00726
   278899 LOYDA I MORALES ACOSTA      REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LOYDA I RIJOS / RUFINA
   699746 MERCADO OTERO               SAN PEDRO                              120 CALLE ROSADO IRIZARRY                                                                TOA BAJA            PR           00949
   278900 LOYDA I. MORALES ACOSTA     REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LOYDA JACKSON CENTENO / ANA
   699748 RAMOS                       PO BOX 29526                                                                                                                    SAN JUAN            PR           00929‐0526
   699749 LOYDA KUILAN MATIAS         URB JARD DE DORADO                     E 6 CALLE 2                                                                              DORADO              PR           00646
   699750 LOYDA L ROSA FIGUEROA       MIRAMAR A 608                          42 CALLE OLIMPO                                                                          SAN JUAN            PR           00907
   699751 LOYDA L ROSAS NEGRON        URB VERSALLES                          O 6 CALLE 13                                                                             BAYAMON             PR           00959
   278901 LOYDA LOPEZ CARDONA         REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699752 LOYDA LOPEZ RONDON          RES CILLA ANDALUCIA                    EDIF 2 APTO 50                                                                           SAN JUAN            PR           00926

   278902 LOYDA M. COUVERTIER REYES                   REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278904 LOYDA MELENDEZ NUNEZ                        REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699753 LOYDA MOJICA REYES                          PO BOX 5004                                                                                                     CAGUAS              PR           00726
   699755 LOYDA MORALES                               RES LOS LAURELES       EDIF 1 APT 21                                                                            SAN JUAN            PR           00928
   278905 LOYDA NIEVES RIOS                           REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699757 LOYDA PAGAN                                 P O BOX 20830                                                                                                   CAYEY               PR           00736
   278906 LOYDA POMALES CRUZADO                       REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699758 LOYDA R AYALA ROSADO                        EST DEL RIO            2025 CALLE CAMELIA                                                                       SABANA GRANDE       PR           00637
   699759 LOYDA R LOPEZ RAMOS                         PO BOX 678                                                                                                      CAMUY               PR           00627
   699762 LOYDA RIVERA COLON                          HC 01 BOX 8806                                                                                                  CANOVANAS           PR           00729‐9729

   699763 LOYDA RODRIGUEZ ECHEVARRIA URB LOS CEIBAS                          527 CALLE ACEITILLO                                                                      PONCE               PR           00716‐2600
                                                                             770 CALLE LOLA RODRIGUEZ DE
   699764 LOYDA RUIZ GARCIA                           URB COUNTRY CLUB       TIO                                                                                      SAN JUAN            PR           00924
   278907 LOYDA TORRES CRUZ                           REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278908 LOYDA TORRES MARCANO                        REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699766 LOYDA TORRES RIVERA                         EXT VILLA DEL CARMEN   G 6                                                                                      CAMUY               PR           00627
   699733 LOYDA VARGAS COREANO                        SANTA RITA             983 CALLE MADRID APT 25                                                                  SAN JUAN            PR           00925
   699768 LOYDA VENTURA ORTIZ                         HC 1 BOX 6505                                                                                                   VIEQUES             PR           00765
   278909 LOYDIANNE TORRES BERRIOS                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   278910 LOYDIS LOPEZ ORTIZ                          REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699769 LOYNA GONZALEZ MENDOZA                      HILLSIDE               C 14 CALLE 2                                                                             SAN JUAN            PR           00926
   699770 LOYOEL INC                                  COND PLAYA GRANDE      APTO 16 F                                                                                SAN JUAN            PR           00911




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                                                                                   PMB‐133 1353 AVE. LUIS
  1420257 LOYOLA ALICEA, ANA L & OTROS                YARLENE JIMENEZ ROSARIO      VIGOREAUZ                                                                             GUAYNABO            PR           00966‐2700
   278936 LOYOLA DOVAL MD, MARIO A                    REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278947 LOYOLA MD , ANGEL M                         REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278953 LOYOLA OD , JOSE J                          REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LOYOLA PASQUINUCCI DANTE
   278955 ENRIQUE                                     REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278956 LOYOLA PEREZ MD, ANGEL E                    REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278966 LOYOLA SANTOS, SHIRLEY                      REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LOYOLA UNIVERSITY MEDICAL
   278977 CENTER                                      2160 S FIRST AVE                                                                                                   MAYWOOD             IL           60153
                                                      URB PUERTO NUEVO 1330 C/12
   699771 LOYRDES ROJAS REINOSO                       N.O                                                                                                                SAN JUAN            PR           00920
   699772 LOYSED M CRUZ AYALA                         BOX 83 BO DAGUAO                                                                                                   NAGUABO             PR           00718
          LOYSENIA DELITMA PACHECO
   699773 CORREA                                      URB FAJARDO GARDENS          658 CALLE TINTILLO                                                                    FAJARDO             PR           00738

   278983 LOYVETTE L MARQUEZ RAMIREZ                  REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   278985 LOZA DELGADO, LUIS R.                       REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699774 LOZADA AUTO TECHNICALS                      CARR 545 KM 1.0              67 BO LOS LLANOS                                                                      COAMO               PR           00769‐9736
   699775 LOZADA AUTO TRUCK INC                       P O BOX 3158                                                                                                       BAYAMON             PR           00960‐3158
  1420258 LOZADA BERDECÍA, ARNALDO                    ROGER A. LEYBA RODRIGUEZ     PO BOX 873                                                                            HORMIQUEROS         PR           00660‐0873

   279028 LOZADA BONILLA, SARANGELLY                  REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   279078 LOZADA COSTAS MD, JOSE                      REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   279093 LOZADA CRUZ, MARTA                          REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   279140 LOZADA FIGUEROA MD, DAVID                   REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   279199 LOZADA LOPEZ MD, ALMA                       REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   279271 LOZADA MORALES, CARMEN M. REDACTED                                       REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   279326 LOZADA PABON ROSA, IZELA  REDACTED                                       REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   770700 LOZADA RIVERA MD, JOSE L  REDACTED                                       REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                                             SUITE 205‐B AVE. PONCE DE
  1422562 LOZADA RIVERA, HIRAM                        KAREN K. MORALES PEREZ       BANCO COOPERATIVO PLAZA   LEON 623                                                    HATO REY            PR           00917
  1420259 LOZADA SANTIAGO, CARLOS                     HÉCTOR I. RAMOS MARTÍNEZ     PO BOX 51                                                                             BARCELONETA         PR           00617
                                                      EMANUEL LOZADA SERRANO
  1422600 LOZADA SERRANO, EMANUEL                     (CONFINADO)                  CARCEL REGIONAL DE BAYAMON ANEXO 308 MODULO 1A NUM 6 PO BOX 60307                     BAYAMON             PR           00960
   279540 LOZADA, EMPRESAS                            REDACTED                     REDACTED                   REDACTED                  REDACTED                         REDACTED            REDACTED     REDACTED      REDACTED
          LOZANO ELECTRICAL
   279574 CONTRCTOR CORP                              BARAHONA                     66 A ROSA VEGA                                                                        MOROVIS             PR           00687
   279643 LOZANO RUIZ MD, HECTOR                      REDACTED                     REDACTED                  REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699778 LP SHIPPING CORP                            PO BOX 953                                                                                                         CANOVANAS           PR           00729
   279666 LPC & D                                     PO BOX 2025                                                                                                        LAS PIEDRAS         PR           00771
   279668 LPG CPA PSC                                 PMB 516                      1353 AVE LUIS VIGOREAUX                                                               GUAYNABO            PR           00966

   699781 LR AUTO RENTALS & SALES INC                 P O BOX 4961                 SUITE 121                                                                             CAGUAS              PR           00726

   279671 LR HANDYMAN SERVICES, INC.                  HC 2 BOX 5019                                                                                                      VILLALBA            PR           00766‐0802
          LRF PROJECT FUNDING &
   279672 MANAGEMENT CORP                             CAPARRA HEIGTHS STATION   CALL BOX 11851                                                                           SAN JUAN            PR           00922‐3530
                                                      COND GALERIA NUEVO CENTRO
   699782 LRI OFFICE SUPPLIES                         UNO                       ART HOSTOS SUITE 201                                                                     SAN JUAN            PR           00918‐1405



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  279674 LROD INC                                      PMB 112                     PO BOX 81353                                                                            GUAYNABO          PR           00966
  279675 LRP PUBLICATIONS                              P O BOX 24668                                                                                                       WEST PALM         FL           33416
         LRS MEDICAL EQUIPMENT &
  279676 PHARMACY                                      259 AVE JUAN ROSADO                                                                                                 ARECIBO           PR           00612
  699786 LS EXTERMINATING SYSTEM                       P O BOX 238                                                                                                         SALINAS           PR           00751
         LS INNOVATIVE EDUCATION
 1256643 CENTER INC.                                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
         LS INNOVATIVE EDUCATION
  279677 CENTER, INC.                                  PO BOX 1561                                                                                                         MOCA              PR           00676
  279678 LS QUILTING INC                               PO BOX 362385                                                                                                       SAN JUAN          PR           00936‐2385
  279679 LS TECH SERVICES LLC                          P O BOX 13026                                                                                                       SAN JUAN          PR           00908‐3026
  279680 LS UNIVERSAL INC                              PO BOX 3794                                                                                                         SAN SEBASTIAN     PR           00685
                                                       URB. ESTANCIAS DE BORINQUEN
   279681 LSB Professional Services, LLC               #54                                                                                                                 MANATI            PR           00674
   279644 LSOFT TECHNOLOGIES INC.                      2550 ARGENTIA ROAD          SUITE 218                                                                               MISSISAUGA        ON                          CANADA
          LSREF2 ISLAND HOLDINGS LTD
   279683 INC /HUDSON                                  PO BOX 70222                                                                                                        SAN JUAN          PR           00936
   699787 LSU SCAVMA BOOKSTORE                         SOUTH STADIUM RD                                                                                                    BATON ROUGE       LA           70803
   279684 LT AUTOMATION INC                            PMB 401 89 AVE DE DIEGO     SUITE 105                                                                               SAN JUAN          PR           00927
   699788 LT PIEZAS TOYOTA                             PO BOX 8162                                                                                                         SAN JUAN          PR           00910
   279686 LT TRAVEL AGENCY                             PLAZA BUXO SUITE 1          216 LUIS MUNOZ RIVERA                                                                   SAN LORENZO       PR           00754
   279688 LTCI                                         149 MAIN STREET                                                                                                     ROCKPORT          MA           01966
   279689 LU JESENIA VARGAS GUILBE                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   279690 LU MD, LEIGHMIN                              REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   279691 LU QUIONG CHENG                              REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   699789 LUAIDA OYOLA MERCADO                         VILLA SAN AGUSTIN           D11 CALLE 2                                                                             BAYAMON           PR           00956
   699790 LUAN INVESTMENT                              PO BOX 96                                                                                                           AGUADILLA         PR           00605
   699791 LUANA APONTE RUIZ                            URB BELLA VISTA             O34 CALLE 18                                                                            BAYAMON           PR           00957
   279693 LUANA FERNANDEZ ROSA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   279694 LUANA M BATISTA IRIZARRY                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   699792 LUANA R RAMOS CARRION`                       URB PUERTO NUEVO            503 CALLE ARDENAS                                                                       SAN JUAN          PR           00920
   279695 LUANA SANTOS                                 REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   699793 LUANDA HUERTAS GAUTIER                       41 BC SANTILLANA DEL MAR                                                                                            LOIZA             PR           00772
   279696 LUANELLI ROBLES RIVERA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   279697 LUANETTE HODGE NARVAEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   699794 LUANI COLON LOPEZ                            PO BOX 8260                                                                                                         BAYAMON           PR           00960‐8032
   279698 LUANIE GARCIA PIAZZA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   279699 LUANN M NIEVES RAMOS                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   279700 LUANNA LEE SANTOS ISALES                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   699795 LUANNA SANTIAGO DEL RIO                      HC 3 BOX 33358                                                                                                      HATILLO           PR           00659

   279701 LUANNE MARTINEZ GONZALEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   699796 LUAR CLEANERS                                PO BOX 50109                                                                                                        TOA BAJA          PR           00950‐0109
                                                                                   100 GRAN BULEVAR MSC SAN
   699797 LUAR MUSIC                                   PASEO SUITE 112             JUAN                                                                                    SAN JUAN          PR           00929
   699798 LUARNY R PAGAN DIEPPA                        URB BATISTA 7 CALLE NUEVA                                                                                           CAGUAS            PR           00725

   279707 LUBERTY TECHNICAL COLLEGE                    CARR 735 KM .5              BO MONTELLANO                                                                           CAYEY             PR           00737
   699799 LUBRICACION EXPRESO                          URB SANTA MARIA             1900 MARGINAL                                                                           SAN JUAN          PR           00927‐6626
                                                                                   220 PLAZA WESTERN AUTO STE
   699800 LUBRICACION EXPRESO LINO'S                   PMB 381                     101                                                                                     TRUJILLO ALTO     PR           00976 3607
   699801 LUBRICANTES INC                              URB LEVITTOWN               1017 A AVE DOS PALMAS                                                                   TOA BAJA          PR           00949
   699803 LUBRICENTRO DE PR INC                        P.O. BOX 194793                                                                                                     SAN JUAN          PR           00919‐4793



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   279711 LUBRIEL COLLADO RODRIGUEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699806 LUBRIEL F PABON ROLON                       SECT PABON 44               CALLE PEDRO PABON                                                                     MOROVIS             PR           00687
   279712 LUBRIEL VEGA COLLAZO                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   279713 LUBY MUNOZ RIVERA                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUBY SOUND /DBA/LUBY A
   279714 MUNOZ RIVERA                                BARRIO MAMEYAL              PARC 152 C CALLE 2                                                                    DORADO              PR           00646
   699807 LUCA BARBAROSSA BALCARO                     OCEAN PARK APT 6            2063 CALLE ESPA¥A                                                                     SAN JUAN            PR           00911
   279716 LUCAS A CASTRO RIVERA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699810 LUCAS A MEDINA GONZALEZ                     BOX 2130                                                                                                          ISABELA             PR           00662
   699812 LUCAS ACOSTA SOTO                           PUERTO NUEVO                1051 CALLE ALPES                                                                      SAN JUAN            PR           00920
   279717 LUCAS ALTURET MARTES                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   279718 LUCAS ALVARADO CAQUIAS                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   699813 LUCAS BIRRIEL CASTRO                        URB PARGUE DE SAN IGNACIO   A 27 CALLE 1                                                                          SAN JUAN            PR           00921
   279719 LUCAS BUS LINE                              HC 5 BOX 52724                                                                                                    MAYAGUEZ            PR           00680
   279720 LUCAS BUS LINE INC                          HC ‐ 05 51734                                                                                                     MAYAGUEZ            PR           00680
   279723 LUCAS BUS LINE, INC.                        HC‐05 BOX 52724                                                                                                   MAYAGUEZ            PR           00680‐0000
   699815 LUCAS CASUL CRUZ                            RES COLINAS DE MAGNOLIAS    EDIF N APT 114                                                                        JUNCOS              PR           00777
   699816 LUCAS COLON ORTIZ                           BOX 5500                                                                                                          HUMACAO             PR           00795
   699817 LUCAS CRESPO AGRON                          HC 2 BOX 8815                                                                                                     RINCON              PR           00677
   699818 LUCAS D MONTES                              PO BOX 219                                                                                                        AGUAS BUENAS        PR           00703
   279724 LUCAS DE JESUS CAMILO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699820 LUCAS E BONEU OROPEZA                       P O BOX 1277                                                                                                      COROZAL             PR           00783
   279725 LUCAS E CAMBO SAAVEDRA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699821 LUCAS E MATOS DOTEL                         11 CALLE MARTE                                                                                                    VEGA BAJA           PR           00693
   279726 LUCAS E RODRIGUEZ ARNAUT                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699822 LUCAS GALVES OCASIO                         PO BOX 43001                                                                                                      RIO GRANDE          PR           00745‐6600
   279727 LUCAS GONZALEZ PEREZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699824 LUCAS GOYTIA HERNANDEZ                      URB VILLAS DE LOIZA         R 4 CALLE 18                                                                          CANOVANAS           PR           00729
          LUCAS HERNANDEZ HOTEL
   699825 HACIENDA MARGARITA                          HC 3 BOX 9904                                                                                                     BARRANQUITAS        PR           00794
   279728 LUCAS HOME FURNITURE                        4 CALLE COSTAS                                                                                                    JUNCOS              PR           00777
          LUCAS J HERNANDEZ PARA
   770701 ANGEL L RIVERA                              REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699808 LUCAS M FERRER CARDONA                      URB DORADO DEL MAR          0 3 CALLE LAS OLAS                                                                    DORADO              PR           00646
   699826 LUCAS M IRIZARRI CASTRO                     URB VILLA CLEMENTINA        C10 CAMINO ALEJANDRINO                                                                GUAYNABO            PR           00969
   279729 LUCAS MARTINEZ TOME                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   279730 LUCAS MEDINA RIVERA                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   279731 LUCAS MONTANEZ CASILLAS                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   279732 LUCAS MORALES RODRIGUEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699827 LUCAS MOYET PEDRAZA                         3173 WEST 58 STREET                                                                                               CLEVELAND           OH           44102
   699828 LUCAS MULERO HERNANDEZ                      140 CALLE APONTE                                                                                                  SAN JUAN            PR           00912
   279734 LUCAS N AVILES RODRIGUEZ                    REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                  CALLE PRAXEDES SANTIAGO BOX
   699829 LUCAS NEGRON                                BO LAS VEGAS                24502                                                                                 CAYEY               PR           00736
   279735 LUCAS O BAEZ CABRERA                        REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699830 LUCAS O NEILL MOJICA                        BO HATO NUEVO               CARR 834 K7                                                                           GUAYNABO            PR           00969
          LUCAS PIMENTEL FERNANDEZ
   279736 MD, JOSE                                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   279737 LUCAS R BENNAZAR ORTIZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   699809 LUCAS R LOMBERT                             PO BOX 194895                                                                                                     SAN JUAN            PR           00918
   279738 LUCAS REYES CARLO                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  699831 LUCAS ROSARIO MENDEZ                         RES DORADO                EDIF 7 APT 52                                                                         DORADO              PR         00646
  699832 LUCAS S CANTON TERCERO                       URB GLANVIEW GARDENS      AA8 CALLE N 16                                                                        PONCE               PR         00730
  279739 LUCAS S NAZARIO COLON                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  279741 LUCAS THERAPIES PC                           MEDICAL RECORDS           4533 BRAMBLETON AVE                                                                   ROANOKE             VA         24018

   699834 LUCAS TORRES MATOS                          5 TA SECCION              BX 2 CALLE FRANCISCO RONDON                                                           LEVITTOWN           PR         00949
                                                                                K5 CALLE JACNT GLB URB SAN
   699835 LUCAS VALDIVIESO GALIB                      LOS CAOBOS                PATRICIO                                                                              GUAYNABO            PR         00968
   279743 LUCAS VAZQUEZ SERRANO                       REDACTED                  REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   279746 LUCAS VILLANUEVA SERRANO                    REDACTED                  REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   279747 LUCAS, REYNA                                REDACTED                  REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699837 LUCE M. VILLAFANE                           URB SANTA ISIDRA 2        198 CALLE MARGINAL                                                                    FAJARDO             PR         00738
   279780 LUCE VILLAFANE CARMONA                      REDACTED                  REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   279782 LUCELIGIA DOMINGUEZ VALERA                  REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699840 LUCELY CRUZ FIGUEROA                        HC 43 BOX 11327                                                                                                 CAYEY               PR         00736
   279784 LUCENA & RAICES PSC                         PO BOX 2304                                                                                                     GUAYNABO            PR         00970‐2304
   699842 LUCENA DAIRY INC                            BOX 69001 SUITE 101                                                                                             HATILLO             PR         00659
   699843 LUCENA HARDWARE                             HC 4 BOX 41900                                                                                                  MAYAGUEZ            PR         00680
                                                                                INSTITUCIÓN CORRECCIONAL
  1420260 LUCENA SOTO, DIONISIO                       LUCENA SOTO, DIONISIO     GUERRERO 304 PO BOX 3999                                                              AGUADILLA           PR         00603
   279839 LUCENA ZABALA, KERMIT                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699844 LUCERITO PEREZ ESTIEN                       BRISAS LAS MARIAS         APT 119                                                                               VIEQUEZ             PR         00765
   699845 LUCERITO VILA VELAZQUEZ                     HC 2 BOX 11507                                                                                                  HUMACAO             PR         00791‐9614
   699846 LUCERMINA CRUZ                              37 CALLE ROMAN                                                                                                  ADJUNTAS            PR         00601
   279842 LUCERMINA RIVERA                            REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUCERNA CONTRACTOR
   279843 SERVICES                                    HC 05 BOX 94197                                                                                                 ARECIBO             PR         00612
   279844 LUCERO DE, AMOR                             REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   279848 LUCERO INC                                  RAMEY STATION             PO BOX 250333                                                                         AGUADILLA           PR         00604‐0333
   699847 LUCERO ROSARIO GUZMAN                       URB LA MARINA C 20        CALLE GARDENIA                                                                        CAROLINA            PR         00979
   279850 LUCERY MEDINA LAUREANO                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699848 LUCES Y SONIDOS NML                         PO BOX 8660                                                                                                     PONCE               PR         00732‐8660
   279851 LUCESITA DE LA PAZ                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699849 LUCESITA DIAZ TORRES                        VILLA FONTANA             LL20 VIA 23                                                                           CAROLINA            PR         00983
   279852 LUCESITA ESTRELLA RAMOS                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   279853 LUCESITA RAMOS PEREZ                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699851 LUCETTE DROUSSE PETIT                       1357 AVE WILSON APT 303                                                                                         CONDADO             PR         00907
   279854 LUCETTE MOLINA ESCOBA                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   279855 LUCETTE RAMOS PIZARRO                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699852 LUCHA CONTRA EL SIDA INC                    PO BOX 8479                                                                                                     SAN JUAN            PR         00910
                                                      AVE BARBOSA 567
   279856 LUCHA INC.                                  URB.VALENCIA                                                                                                    SAN JUAN            PR         00924‐0000
          LUCHADORES UNIDOS DE
   699853 MINILLAS                                    PO BOX 2026                                                                                                     SAN GERMAN          PR         00683
   279857 LUCHETTI AUTO PARTS                         PO BOX 265                                                                                                      CATANO              PR         00963
          LUCHETTI FIRE & QUICK LUBE
   279858 CENTER                                      PO BOX 693                                                                                                      MANATI              PR         00674
   699855 LUCIA A MELENDEZ RIVERA                     6487 CALLE DOLORES CRUZ   BUZON 75                                                                              SABANA SECA         PR         00952‐4511
   699854 LUCIA ABREU PICHARDO                        PMB 96 PO BOX 7997                                                                                              MAYAGUEZ            PR         00681‐7997
   279859 LUCIA ADORNO SANTOS                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699856 LUCIA ALARS DUMENG                          HC 4 BOX 46241                                                                                                  AGUADILLA           PR         00603
   279860 LUCIA ALBERTO CASTILLO                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  699857 LUCIA ALVAREZ OYOLA                          A H DE RYDER APT 116        CALLE 3 ED F 25                                                                           HUMACAO             PR           00791
  699858 LUCIA AMARO COLON                            254 CALLE RAFAEL ALERS                                                                                                SAN JUAN            PR           00913
  699859 LUCIA BARRET ACEVEDO                         PO BOX 734                                                                                                            MARICAO             PR           00606
  279861 LUCIA BEACH VILLAS                           PO BOX 397                                                                                                            YABUCOA             PR           00767
  699861 LUCIA BERGOLLO RIVERA                        SECTOR LA JOLLA             BOX 21                                                                                    FLORIDA             PR           00650
  699862 LUCIA C ORTIZ MARTINEZ                       108 CALLE LUNA                                                                                                        SAN JUAN            PR           00917
                                                      COND TORRE DEL PARQUE APT
   699863 LUCIA CALDERON CUILAN                       707 SUR                     1700 CALLE FEDERICO MONTILLA                                                              BAYAMON             PR           00956‐3065
          LUCIA CARRASQUILLO
   699864 FRAGUADA                                    HC 01 BOX 9188                                                                                                        CANOVANAS           PR           00729
   279862 LUCIA CASAS CASAL                           REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699868 LUCIA COLON TORRES                          231 CALLE DOMINGO COLON                                                                                               AIBONITO            PR           00705
   279864 LUCIA CRESPO CONCEPCION                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   279865 LUCIA CRUZ DE JESUS                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   279866 LUCIA DAVILA GARCIA                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699869 LUCIA DE LOS RIOS                           JARDINES DE COUNTRY CLUB    102 CALLE BA 28                                                                           CAROLINA            PR           00983
   699870 LUCIA DEL R MARTINEZ                        51 C COND PINE GROVE                                                                                                  CAROLINA            PR           00979
          LUCIA DEL ROSARIO MARTINEZ
   699871 COLON                                       COND PINE GROVE             APT 51C                                                                                   CAROLINA            PR           00979
   279867 LUCIA DIAZ / JUAN VALDEZ                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   699874 LUCIA DIAZ MARTINEZ                         COND CORCORDIA GARDENS II   560 CALLE NAPOLES APT 16A                                                                 SAN JUAN            PR           00924
   279868 LUCIA DIAZ MORALES                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699875 LUCIA DOMENECH RIVERA                       PO BOX 972                                                                                                            CAROLINA            PR           00986‐0972
   279869 LUCIA FONTANEZ                              REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699880 LUCIA FRANCO DOMINICCI                      BO GUAYABAL CARR 149                                                                                                  JUANA DIAZ          PR           00795
   279870 LUCIA FRET CORTES                           REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699882 LUCIA GARCIA                                HC 764 BOX 6381                                                                                                       PATILLAS            PR           00723
   279871 LUCIA GARCIA ROMERO                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                      175 SECTOR SAN CARLOS
   699883 LUCIA GONZALEZ FIGUEROA                     HIGUILLAR                                                                                                             DORADO              PR           00646
   699884 LUCIA GRISEL RIVERA                         COUNTRY CLUB                HD 58 CALLE 222                                                                           CAROLINA            PR           00982
   279872 LUCIA IRIZARRY SANCHEZ                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699885 LUCIA JIMENEZ VELEZ                         980 FRIENZA AVE APT F                                                                                                 SACRAMENTO          CA           95815
   279873 LUCIA L FERNANDEZ FONTAN                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   279874 LUCIA LAUREANO CORDERO                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   279875 LUCIA LAUREANO MARTINEZ                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   279876 LUCIA LEBRON MORALES                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699888 LUCIA LEBRON RIVERA                         P O BOX 1180                BO CAMPO RICO FINCA FEBO                                                                  CANOVANAS           PR           00729
   699889 LUCIA LOZADA                                HC 02 BOX 7285                                                                                                        LAS PIEDRAS         PR           00791
                                                      104 ST 1 A CALLE DIEZ DE
   699890 LUCIA LOZADA LARACUENTE                     ANDINO                                                                                                                SAN JUAN            PR           00911
   699892 LUCIA M COLLADO TORRES                      HC 1 BOX 24526                                                                                                        CAGUAS              PR           00725
   699893 LUCIA M. KLUPPEL CARRARA                    SQS 107 ‐ BLD‐              APTV 106                                                                                  BRASILIA                         70346040
   279878 LUCIA MARTINEZ PERDOMO                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   279879 LUCIA MARTINEZ QUILES                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   279880 LUCIA MATEO RIVERA                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699896 LUCIA MEDINA TORRES                         HC 3 BOX 12525                                                                                                        YABUCOA             PR           00767
   699897 LUCIA MENDEZ ORSINI                         PO BOX 3145                                                                                                           VEGA ALTA           PR           00692
   699898 LUCIA MENDEZ RAMOS                          GALATEO BAJO                BNZ 25‐18                                                                                 ISABELA             PR           00662
   279881 LUCIA MERCADO SANTIAGO                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   279882 LUCIA MERCEDES MARTÍNEZ                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   699899 LUCIA MORALES CLAUDIA                       HC 30 BOX 35309                                                                                                       SAN LORENZO         PR           00754



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  279883 LUCIA MORALES CLAUDIO                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  279884 LUCIA MORALES OLIVO                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  699900 LUCIA MORALES PEREZ                          URB 5TO CENTENARIO          344 CALLE SANTA FE                                                                     MAYAGUEZ          PR         00680
  279885 LUCIA NIEVES SANTIAGO                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  279886 LUCIA OCASIO FELICIANO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  699901 LUCIA OPIO SANTANA                           HC 01 BOX 6232                                                                                                     JUNCOS            PR         00777 9711
         LUCIA ORTIZ AMADOR BRYAN
  279887 HERNANDEZ                                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  699904 LUCIA ORTIZ MORALES                          HILL BROTHERS               359 CALLE 4                                                                            SAN JUAN          PR         00924
  279888 LUCIA ORTIZ SANTIAGO                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  699905 LUCIA OTERO VAZQUEZ                          HC 02 BOX 26676                                                                                                    MAYAGUEZ          PR         00680
  699908 LUCIA PAGAN RIVERA                           RES FELIPE SANCHEZ OSORIO   EDIF 11 APT 59                                                                         CAROLINA          PR         00985
  279890 LUCIA PEREZ COSTANZA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  699909 LUCIA PEREZ PIZARRO                          B 61 SANTILLANA DEL MAR                                                                                            LOIZA             PR         00772
  699910 LUCIA PIZARRO MANSO                          29 CALLE ESPIRITU SANTO                                                                                            LOIZA             PR         00772
  279891 LUCIA RAMOS HERNANDEZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  699912 LUCIA RIVERA GARCIA                          COND CRYSTAL HOUSE          CALLE DE DIEGO APT 1214                                                                SAN JUAN          PR         00923
  279892 LUCIA RIVERA RIVERA                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  699914 LUCIA RIVERA RODRIGUEZ                       URB VENUS GARDENS           729 CALLE ASTER                                                                        SAN JUAN          PR         00926
  279893 LUCIA RIVERA VELAZQUEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  279894 LUCIA RODRIGUEZ AVILES                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  699915 LUCIA RODRIGUEZ PEREZ                        JDNDS DE CAROLINA           A 49 CALLE E                                                                           CAROLINA          PR         00983‐7103
  699916 LUCIA RODRIGUEZ RIVERA                       URB CAPARRA TERRACE         1167 CALLE 4 SE                                                                        CANOVANAS         PR         00921
  279895 LUCIA RODRIGUEZ TORRES                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  279896 LUCIA ROMAN RIVERA                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  699917 LUCIA ROMERO CIPRIAN                         BDA BUEN CONSEJO            1320 CALLE VALLEJO                                                                     RIO PIEDRAS       PR         00926
  699918 LUCIA ROSA LOPEZ                             EXT VILLA RITA              BB CALLE 28                                                                            SAN SEBASTIAN     PR         00685
  279897 LUCIA ROSADO RODRIGUEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  699919 LUCIA ROSARIO COLLAZO                        URB PLANICE                 A 9 CALLE 7                                                                            SAN JUAN          PR         00736
  279898 LUCIA ROSARIO CRUZ                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  279899 LUCIA RUIZ                                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  699921 LUCIA RUIZ CORTES                            206 CASA LINDA VILLAGE                                                                                             BAYAMON           PR         00959

   279900 LUCIA SAN MIGUEL LA FONTAINE REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   699922 LUCIA SANTANA                HC 01 BOX 5158                                                                                                                    ADJUNTAS          PR         00601‐9719
   699924 LUCIA SERRANO PEREZ          JARDINES DE BALCELONA                      C 8 CALLE 4                                                                            JUNCOS            PR         00777
   699925 LUCIA TORRES DELGADO         Santa Teresita CR 17 Calle B                                                                                                      Ponce                        00731
   279901 LUCIA TORRES GARCIA          REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   699926 LUCIA TORRES PERALTA         COND LAGO MAR                              APT 3 B ISLA VERDE                                                                     CAROLINA          PR         00979
   699927 LUCIA V MARTINEZ DE CRUZ     PO BOX 20077                                                                                                                      SAN JUAN          PR         00928‐0077
   279902 LUCIA V MARTINEZ MORA        REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   279905 LUCIA VARGAS CABAN           REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   279907 LUCIA VAZQUEZ ARANGO         REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   279908 LUCIA VEGA MARCANO           REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   279909 LUCIA VEGA MEDINA            REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   279910 LUCIA VELEZ CRESPO           REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   699931 LUCIA VELEZ VAZQUEZ          BO MARAVILLA SUR                           HC 01 BOX 5655                                                                         LAS MARIAS        PR         00670
   279911 LUCIA, PUENTES               REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   699932 LUCIANA BOTTY RODRIGUEZ      HC 59 BOX 5796                                                                                                                    AGUADA            PR         00602
                                                                                  361 CALLE J EG 1 LEOPOLDO
   699933 LUCIANA FLORES RODRIGUEZ                    EXT EL COQUI                CEPEDA                                                                                 AGUIRRE           PR         00704
   279912 LUCIANA M SOTO                              REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   699934 LUCIANA SEVERINO                            PO BOX 14234                                                                                                       SAN JUAN          PR         00916



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  279913 LUCIANA SHAW BEVILACQUA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  279914 LUCIANA SOTO NIEVES                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  279915 LUCIANA VIDRO VIDRO                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   279916 LUCIANN COLON CONCEPCION                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   279917 LUCIANNE ALBIZU ROSARIO                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   699935 LUCIANNE AYALA BERRIOS                      URB VISTA VERDE             12 CALLE ARGENTINA                                                                      VEGA BAJA            PR         00693
   279918 LUCIANNE CARBO RIVERA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   699936 LUCIANNE CENTENO PEREZ                      PO BOX 447                                                                                                          TOA BAJA             PR         00951

   699937 LUCIANNE COLON RODRIGUEZ                    BDA MARIN                   108 B CALLE 3                                                                           GUAYAMA              PR         00784

   279919 LUCIANNE DE LA ROSA AQUINO                  REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   279921 LUCIANNE MARQUEZ BURGOS                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   279922 LUCIANNE V MILLAN MARTINEZ                  REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   699938 LUCIANO ACEVEDO                             194 HAZELWOOD DR                                                                                                    WESTBURY             NY         11590‐1212
   279937 LUCIANO ATANACIO AVILES                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   699939 LUCIANO BOURDOIN VARGAS                     HC 02 BOX 9004              BO MARAVILLA ESTE                                                                       LAS MARIAS           PR         00670
   699940 LUCIANO CASTILLO                            URB VILLA CAPRI             642 CALLE TREVISO                                                                       SAN JUAN             PR         00924
                                                      BRISAS DE BAYAMON EDIF 23
   699941 LUCIANO COTTO SIERRA                        APT 239                                                                                                             BAYAMON              PR         00959
   699942 LUCIANO E CRUZ DAVILA                       HC9 BOX 58871                                                                                                       CAGUAS               PR         00725

  1420261 LUCIANO FELICIANO, JENIFFER                 IVAN RODRIGUEZ              PO BOX 11155                                                                            SAN JUAN             PR         00922‐1155
   699945 LUCIANO GONZALEZ MOLINA                     URB VILLA SAN ANTON         P 35 CALLE JESUS ALLENDE                                                                CAROLINA             PR         00982
   699946 LUCIANO GONZALEZ RAMOS                      URB COUNTRY CLUB HE         28 CALLE 222                                                                            CAROLINA             PR         00982

   699947 LUCIANO HERNANDEZ JUAREZ                    RR 3 BOX 9550                                                                                                       TOA ALTA             PR         00953‐9645
   699948 LUCIANO JOA FONG                            HOTEL PRESIDENTE            294 AVE DUARTE                                                                          SANTO DOMINGO                                DOMINICAN REPUBLIC

   280028 LUCIANO KUILAN / EVELYN DIAZ REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   280052 LUCIANO MENDOZA              REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   699952 LUCIANO MILLAN DE LEON       URB JAIME C RODRIGUEZ                      B 25 CALLE 1                                                                            YABUCOA              PR         00767

   280058 LUCIANO MORALES, BIENVENIDA REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   280062 LUCIANO N CARRILLO MERCADO REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   280066 LUCIANO NEGRON VAZQUEZ     REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   699954 LUCIANO OQUENDO SANTIAGO                    URB VILLA CAROLINA          81‐14 CALLE 87                                                                          CAROLINA             PR         00985
   699955 LUCIANO ORTIZ AVILES                        URB FOREST VIEW K           172 CALLE GUATEMALA                                                                     BAYAMON              PR         00956
   280070 LUCIANO ORTIZ CRUZ                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   280072 LUCIANO ORTIZ MD, ORLANDO                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   699956 LUCIANO ORTIZ OQUENDO                       URB MIRAFLORES              7‐7 CALLE 16                                                                            BAYAMON              PR         00956
   280073 LUCIANO ORTIZ PROSPERE                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   280078 LUCIANO ORTIZ, MARIA A                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   699957 LUCIANO PAGAN SANTIAGO                      URB LOS CAOBOS              2855 CALLE TABONUCO                                                                     PONCE                PR         00716‐2736

   699958 LUCIANO RIVERA                              COND MIDTOWN 311 3R         PISO AVE PONCE DE LEON 420                                                              HATO REY             PR         00918
   699959 LUCIANO RIVERA RIVAS                        PO BOX 2390                                                                                                         SAN JUAN             PR         00919



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  280113 LUCIANO RIVERA RIVERA                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

          LUCIANO RIVERA, ALEXANDER;                                             EDIF MARIA ISABEL CALLE VILLA
  1420262 ORTIZ DIAZ, JESSICA                         ARNALDO RIVERA SEDA        125 SUITE 2                                                                                PONCE               PR         00717

   699960 LUCIANO RODRIGUEZ BURGOS                    HC 2 BOX 6614                                                                                                         YABUCOA             PR         00767
   699961 LUCIANO RODRIGUEZ FONT                      PO BOX 240                                                                                                            SANTA ISABEL        PR         00757

   280133 LUCIANO ROMAN MD, CARLOS                    REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   280142 LUCIANO RUIZ, ORLANDO                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   280157 LUCIANO TORO FERNANDEZ                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699964 LUCIANO VARGAS                              PO BOX 3742                                                                                                           AGUADILLA           PR         00605
   699965 LUCIANO VARGAS ALGARIN                      HC 03 BOX 15603                                                                                                       JUANA DIAZ          PR         00795
   699966 LUCIANOS ESSO SERVICENTER                   PO BOX 831                                                                                                            CAROLINA            PR         00986
   280188 LUCIBETH COLON GASCOT                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699967 LUCIDA M NEGRON REYES                       13 ALT DE ROBLEGAR                                                                                                    UTUADO              PR         00641
   280189 LUCIE OLIVO FLORAL DESIGNS                  311 F D ROOSEVELT AVENUE                                                                                              SAN JUAN            PR         00918
   699968 LUCIE OLIVO FLOWER SHOP                     311 AVE FD ROOSEVELT                                                                                                  SAN JUAN            PR         00918
   699969 LUCIELE INC                                 PO BOX 808                                                                                                            CAROLINA            PR         00986‐0808
          LUCIENNE HERNANDEZ
   280190 RODRIGUEZ                                   REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699970 LUCIENNE L LAUREANO ROSA                    URB PRADO ALTO             6 CALLE K 57                                                                               GUAYNABO            PR         00956
   280192 LUCILA ACEVEDO RUIZ                         REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699971 LUCILA ALBINO SERRANO                       URB LOMAS DE CAROLINA      H 2 CALLE MONTE ALEGRE                                                                     CAROLINA            PR         00987
   699972 LUCILA APONTE YORRO                         HC 1 BOX 8141                                                                                                         TOA BAJA            PR         00949
   699973 LUCILA AROCHO RUIZ                          HC 02 BOX 20209            HATO ARRIBA                                                                                SAN SEBASTIAN       PR         00685
   280193 LUCILA ARROYO DAVILA                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   280194 LUCILA AYALA TORRES                         REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   280195 LUCILA BARRIENTOS MENDEZ                    REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   699975 LUCILA BEAUCHAMP LOPETEGUI URB SAGRADO CORAZON                         1629 SANTA EDUVIGIS                                                                        SAN JUAN            PR         00926
   280196 LUCILA BENITEZ MORALES     REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   699978 LUCILA CASTRO ENCARNACION                   SUNRISE ELDERLY APT 706    196 CALLE LOS MIRTOS                                                                       SAN JUAN            PR         00927‐4341
   699979 LUCILA COLON MALDONADO                      VILLA NUEVA                L 23 CALLE 2                                                                               CAGUAS              PR         00727
   699980 LUCILA COLON MEDINA                         RES LA CEIBA               EDIF 5 APT 57                                                                              PONCE               PR         00716

   699981 LUCILA CONCEPCION RODRIGUEZ 47 GREY ROCK RD                                                                                                                       BRIDGEPORT                     06606
   699982 LUCILA CORA HUERTAS         HC 1 BOX 4542                                                                                                                         ARROYO              PR         00714
   280197 LUCILA DAVILA GARCIA        REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699984 LUCILA DENIZARD VELEZ       VILLA BLANCA 2 CALLE JADE                                                                                                             CAGUAS              PR         00725
   699985 LUCILA DIAZ                 URB AHBOR GDNS                             BB 11 DAISY                                                                                SAN JUAN            PR         00926‐6315
   699987 LUCILA ESQUILIN RIVERA      501 CALLE MODESTA                          APT 1808                                                                                   SAN JUAN            PR         00924‐4541
   280198 LUCILA FIGUEROA ALVAREZ     REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   280199 LUCILA FIGUEROA SOTO        REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   280200 LUCILA FONSECA VAZQUEZ      REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   280201 LUCILA GARCIA TORRES        REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   280202 LUCILA GOMEZ ATANACIO       REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   280203 LUCILA HERNANDEZ LOPEZ      REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   280204 LUCILA LOPEZ LABOY          REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   699991 LUCILA M VAZQUEZ INIGO      EL VEDADO                                  406 LA RABIDA                                                                              SAN JUAN            PR         00918‐3020
   699992 LUCILA MARTINEZ CAMACHO     URB VILLA REAL                             K 17 CALLE 6                                                                               VEGA BAJA           PR         00693
   699996 LUCILA MATOS HERNANDEZ      PO BOX 3987                                                                                                                           BAYAMON             PR         00958



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  699997 LUCILA NEGRON                                20 CALLE J                                                                                                        ENSENADA          PR         00647
  699998 LUCILA ORTA SOTO                             P O BOX 2703                                                                                                      SAN SEBASTIAN     PR         00685
  280205 LUCILA P OLIVO MONTANEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   699999 LUCILA PAGAN REYES                          232 AVE ELEONOR ROOSEVELT                                                                                         SAN JUAN          PR         00907
   700000 LUCILA RIVERA CARDONA                       URB SANTA MARIA             B 109 PEDRO DE ACOSTA                                                                 SABANA GRANDE     PR         00637
   280207 LUCILA RIVERA MARQUEZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700001 LUCILA RIVERA NEGRON                        URB PARQUE ECUESTRE         078 CALLE 29                                                                          CAROLINA          PR         00987

   700002 LUCILA RIVERA SANTANA                       BO OBRERO                   2067 CALLE SAGRADO CORAZON                                                            SAN JUAN          PR         00915
   280208 LUCILA RODRIGUEZ RIVERA                     REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700004 LUCILA ROSARIO FERNANDEZ                    RES LOPEZ NUSSA             BLQ 32 APT 307                                                                        PONCE             PR         00717
   280210 LUCILA SANCHEZ RODRIGUEZ                    REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                  CALLE SERGIO BUSTAMANTE APT
   700006 LUCILA SANTIAGO MORALES                     COND JENARO CORTES          204                                                                                   SAN JUAN          PR         00918
   280211 LUCILA SANTIAGO RIVERA                      REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   700007 LUCILA SANTIAGO RODRIGUEZ                   65 CALLE LICIA VAZQUEZ                                                                                            CAYEY             PR         00736

   700008 LUCILA SERRANO TORRES                       56 CALLE GONZALEZ GINORIO                                                                                         ARECIBO           PR         00612
   700009 LUCILA SOTO VAZQUEZ                         AVE LOS VETERANOS                                                                                                 GUAYAMA           PR         00784
   700010 LUCILA SUAREZ MONSANTO                      URB VILLA CONTESSA          T 2 CALLE BUCKINGHAM                                                                  BAYAMON           PR         00956
   700011 LUCILA TELLADO FENTE                        E308 COND RIVER PARK                                                                                              BAYAMON           PR         00961
   280213 LUCILA TIRADO GARCIA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   280214 LUCILA TORRES GOTAY                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700012 LUCILA TORRES LOPEZ                         HC 03 BOX 11844                                                                                                   JUANA DÖAZ        PR         00795‐9505
   700013 LUCILA TORRES SANTIAGO                      BO COLUMBIA                 207 CONDE BAJO                                                                        MAYAGUEZ          PR         00680
   700014 LUCILA TOSADO CABAN                         15 CALLE SALVADOR BRAU                                                                                            CAMUY             PR         00627
   700015 LUCILA VAZQUEZ VALDES                       RES LA GLADIOLAS            EDIF 300 APT 1703                                                                     SAN JUAN          PR         00924

   280215 LUCILA VELAZQUEZ MONTANEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700017 LUCILA VILLANUEVA                           BO QUEBRADA ARENA           SECT LOS HOYOS                                                                        TOA ALTA          PR         00953
   280216 LUCILA ZAMBRANA FONT                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   280217 LUCILA ZAPATA CASIANO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   280218 LUCILA ZARAGOZA CLASS                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700018 LUCILE MARIE CARIGNAN                       631 PARK AVENUE             APT 114                                                                               KEENE             NH         03431
   700019 LUCILLA FULLER MARVEL                       14 D TORRE DE LA REINA      450 AVE PONCE DE LEON                                                                 SAN JUAN          PR         00901
          LUCILLA FULLER/DBA/TALLER DE
   700021 PLANIFICACI                                 450 AVE CONSTITUCION 12 B                                                                                         SAN JUAN          PR         00901
   700022 LUCILLA VAZQUEZ                             BO MORALES                  1127 CALLE X                                                                          CAGUAS            PR         00725
   280220 LUCILLE BORGES CAPO                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUCILLE C QUINONES / LUCILLE
   280221 M STELLA                                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700023 LUCILLE D ROBERTSON                         URB LAGUNAS GARDENS         EDIF 5 BLOQUE G5 APT 1                                                                CAROLINA          PR         00979
   700024 LUCILLE E TORRES ARCE                       RR 6 BOX 10739                                                                                                    SAN JUAN          PR         00926
   280222 LUCILLE M PREVIDI DAVILA                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   280223 LUCILLE M RODRIGUEZ SOTO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   280224 LUCILLE REYES PEREZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   280225 LUCILO GUERRA HERNANDEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700025 LUCILO SALAS ABREU                          COND LOS NARANJALES         EDIF C 62 APTO 322                                                                    CAROLINA          PR         00985
   700027 LUCIN TAPIA ORTIZ                           HC 01 BOX 17229                                                                                                   COAMO             PR         00769
   280226 LUCINA APONTE CRESPO                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700028 LUCINA LORENZI                              AVE SAN IGNACIO             803 COND VISTA VERDE                                                                  SAN JUAN          PR         00921



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  700029 LUCINDA COLON NIEVES                         URB PARQUE DE FLAMINGO   182 CALLE ALEJANDRIA                                                                  BAYAMON           PR         00959
  280227 LUCINDA GONZALEZ GARCIA                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700030 LUCINDA HERNANDEZ FRESS                      HC1 BOX 5423                                                                                                   GUAYNABO          PR         00971
  700031 LUCINDA MORALES NIEVES                       249 URB DORAVILLA                                                                                              DORADO            PR         00646
  700032 LUCINDA PAGAN ORTIZ                          HC 33 BOX 3744                                                                                                 DORADO            PR         00646
  280229 LUCINDA ROMAN DE PABON                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  280230 LUCINDA ROSARIO VELEZ                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  280231 LUCINDA TORRES FIGUEROA                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   700034 LUCINDO PARACHE RODRIGUEZ                   URB PARK GARDENS         Y 124 CALLE MARACAIBO                                                                 SAN JUAN          PR         00926

   700035 LUCINETTE GONZALEZ COLON                    EDIF BO OBRERO           922 CALLE CARIBE APT 922                                                              ARECIBO           PR         00612

   700036 LUCINETTE RODRIGUEZ IRIZARRY P O BOX 944                                                                                                                   JAYUYA            PR         00664

   700037 LUCINIA GRIGLIOTTY IRIZARRY                 12N COND ST TROPEZ                                                                                             CAROLINA          PR         00979
   280232 LUCIO A SALAZAR                             REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700038 LUCIO H ALFONSO SANCHEZ                     URB VILLA NEVAREZ 1046   CALLE 11                                                                              SAN JUAN          PR         00926
   700040 LUCIO NEGRON PEREZ                          PO BOX 331                                                                                                     MOROVIS           PR         00687‐0331

   700041 LUCIOLA FIGUEROA DE CUBA A/C ALTURAS DE INTERAMERICANA               BLQ S 2 CALLE 17                                                                      TRUJILLO ALTO     PR         00976
          LUCIOLA NICOLE FIGUEROA DE
   280236 CUBA                         REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   280239 LUCKY PRODUCTIONS INC        EXT PARKVILLE                           Z A 9 NEVADA                                                                          GUAYNABO          PR         00969
   280240 LUCKY PRODUCTIONS INC.       URB. PARKVILLE                          CALLE NEVADA ZA9                                                                      GUAYNABO          PR         00969‐3928
                                       PMB 460 , CALLE 39 UU ‐ 1
   280241 LUCMAR SOLUTIONS INC.        SANTA JUANITA                                                                                                                 BAYAMON           PR         00956‐0000
   700043 LUCRE SALGADO DOMINGUEZ      URB LA ALTAGRACIA                       28 CALLE 9 F                                                                          TOA BAJA          PR         00949
   700044 LUCRECIA ACEVEDO GUZMAN      P O BOX 7428                                                                                                                  SAN JUAN          PR         00916
   280245 LUCRECIA ALICEA ACEVEDO      REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700046 LUCRECIA APONTE OLIVERAS     URB TERRAZAS DE CUPEY                   G 1 CALLE 1                                                                           TRUJILLO ALTO     PR         00976
   280246 LUCRECIA APONTE SANTIAGO     REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   700049 LUCRECIA CARTAGENA APONTE                   METADONA PONCE                                                                                                 Hato Rey          PR         00936
   280247 Lucrecia Colon Camacho                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700050 LUCRECIA CRUZ PASTORIZA                     HC 1 BOX 104606                                                                                                ARECIBO           PR         00612
   700051 LUCRECIA DUPEROY RIVERA                     368 AVE GUANAJIBO                                                                                              MAYAGUEZ          PR         00680
          LUCRECIA FIGUEROA
   700052 ALBALADEJO                                  PO BOX 2309                                                                                                    ISABELA           PR         00662
   280248 LUCRECIA FORBES BENITEZ                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   280249 LUCRECIA GONZALEZ                           REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700055 LUCRECIA LOPEZ SANCHEZ                      BDA POLVORIN             3 CALLE JOSE M PUENTES                                                                CAYEY             PR         00736
          LUCRECIA REYES JIMENEZ H/N/C
   700056 COCINA DE                                   SIERRA BAYAMON           25 A CALLE 25                                                                         BAYAMON           PR         00961

   700057 LUCRECIA RIVERA ENCARNACION PO BOX 10000 PMB 162                                                                                                           CANOVANAS         PR         00729
   700058 LUCRECIA SANCHEZ ESQUILIN   LAGOS DE BLASINA                         EDIF 9 APT 118                                                                        CAROLINA          PR         00985
   700062 LUCRECIA SOTO CARABALLO     HC 3 BOX 8276                                                                                                                  LARES             PR         00652
   280250 LUCRECIA TORRES CORDERO     REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700063 LUCRECIA TORRES DE RIVERA   HC 03 BOX 15943                                                                                                                LAJAS             PR         00667
   700064 LUCRECIO GONZALEZ RAMOS     BO GALATEO BAJO                          PO BOX 478                                                                            ISABELA           PR         00662
          LUCRECIO RAMOS & ANGELINA
   280251 PEREZ                       REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  700066 LUCY ACEVEDO COLON                            BO CAMPO ALEGRE               CALLE PISCIS 1                                                                       PONCE               PR           00716

   700068 LUCY ANN MARTINEZ MERCED                     1RA SECCION                   1115 PASEO DELEITE                                                                   TOA BAJA            PR           00949

   700069 LUCY ANN OTERO RIVERA                        COND TORRES DE CERVANTES      TORRE B APTO 1409                                                                    SAN JUAN            PR           00924
   700070 LUCY BENITEZ CASTRO                          P O BOX 7428                                                                                                       SAN JUAN            PR           00916
   700071 LUCY CALDERON COLON                          BUENA VISTA 42                CALLE LOS PINOS                                                                      CAROLINA            PR           00985
   280254 LUCY CARRASCO MUNOZ                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   700072 LUCY CARRION SANTOS                          COND SAINT TROPEZ 6267        AVE ISLA VERDE APT 12 I                                                              CAROLINA            PR           00979
   280255 LUCY CHIGLIOTTY SEPULVEDA                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   700073 LUCY CINTRON LOPEZ                           EXT EL PRADO G 10                                                                                                  AGUADILLA           PR           00603
   280256 LUCY CIRINO PIZARRO                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   280257 LUCY CLAUDIO DIAZ                            REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   280258 LUCY CLAUDIO GUZMAN                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   280259 LUCY COLON MARTINEZ                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   700074 LUCY CONCEPCION GASPAR                       CALLE 4‐A‐3                                                                                                        SAN JUAN            PR           00927
   700075 LUCY CUBANO                                  URB SAN GERARDO               326 CALLE MONTGOMERY                                                                 SAN JUAN            PR           00926
   280260 LUCY DAVIS PENALVERT                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   700076 LUCY DE LEON CARAMBOT                        URB CIUDAD MASSO              I‐14 CALLE 13                                                                        SAN LORENZO         PR           00754
   280261 LUCY DIAZ CLAUDIO                            REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   280262 LUCY DIAZ RODRIGUEZ                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LUCY E GARCIA DE QUEVEDO
   280263 LOPEZ                                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   700080 LUCY E LEDEE PEREZ                           URB CIUDAD UNIVERSITARIA      I 10 C TIJERILLA                                                                     GUAYAMA             PR           00784

   700081 LUCY E THOMPSON DE CIPREN                    RR 2 BOX 5744                 BO RIO LAJAS CARR 82                                                                 TOA ALTA            PR           00953
   700083 LUCY FLORES ROSARIO                          VILLA HOSTOS CAMPANILLA       BOX 1307                                                                             TOA BAJA            PR           00949
   280264 LUCY FUENTES DIAZ                            REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   700084 LUCY GARCIA REYES                            PO BOX 1467                                                                                                        CANOVANAS           PR           00729
   700085 LUCY GONZALEZ MARTINEZ                       32 A CALLE 4                                                                                                       GUAYAMA             PR           00703
   700087 LUCY GONZALEZ RODRIGUEZ                      VICTOR ROJAS I                362 CALLE 4                                                                          ARECIBO             PR           00612
   280265 LUCY GUADALUPE FONTANEZ                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   700088 LUCY GUZMAN                                  PO BOX 298                                                                                                         NARANJITO           PR           00719
   280267 LUCY I MONTANEZ AHEDO                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   280268 LUCY I SANTANA RIVERA                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                                                     1100 CALL CRMN BZL URB
   700089 LUCY I TORRES ROIG                           COUNTRY CLUB                  COUNTRY CLUB                                                                         SAN JUAN            PR           00924
   700090 LUCY I VAZQUEZ DE CRUZ                       PO BOX 899                                                                                                         CIDRA               PR           00739
   280269 LUCY I. PRADO RIVERA                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   700092 LUCY J HERNANDEZ GRILLASCA                   URB LA VISTA                  F VIA LAS ALTURAS                                                                    SAN JUAN            PR           00924
   700093 LUCY JIMENEZ MC DOUGALL                      PO BOX 6192                                                                                                        PONCE               PR           00733
   700097 LUCY LAWTON                                  P O BOX 9994                                                                                                       CAROLINA            PR           00988

   700098 LUCY LOPEZ ROIG / EAP INC                    400 AVE DOMENECH SUITE 701                                                                                         SAN JUAN            PR           00918

   280271 LUCY LOPEZ ROIG EAP INC.                     400 AVE. DOMENECH OFIC. 701                                                                                        SAN JUAN            PR           00918
                                                       400 Domenech Avenue,
   831468 Lucy López Roig EAP, Inc.                    Penthouse Suite 701                                                                                                San Juan            PR           00918
                                                       400 AVE DOMENECH
   280272 LUCY LOPEZ ROIG Y ASOCIADOS                  PENTHOUSE                     SUITE 701                                                                            HATO REY            PR           00918

   280276 LUCY M LEBRON CRUZ DE RIVERA REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  280277 LUCY M LOPEZ MORELL                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         LUCY M. CALEN ROJAS/HOG.
  280278 INST. ARCO IRIS                              PO BOX 707                                                                                                        COROZAL             PR         00783‐0000
  700099 LUCY MATEO GONZALEZ                          PASEO DE LA REINA APT 2401                                                                                        PONCE               PR         00716‐2429
  700065 LUCY MEDINA DIAZ                             PO BOX 264                                                                                                        VEGA ALTA           PR         00692
         LUCY MILAGROS OLFERRALL                      F 133 COND SAN FERNANDO
  700100 CORDERO                                      VILLAGE                                                                                                           CAROLINA            PR         00985
  280279 LUCY MUNOZ MEDINA                            REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      BO SABANA HOYOS SECT VILLA
   700101 LUCY N ARROYO MARRERO                       LAGUNA                       PARC 321                                                                             VEGA ALTA           PR         00692
   700102 LUCY N PERICHI GARCIA                       PO BOX 1208                                                                                                       SAN GERMAN          PR         00683
   280282 LUCY PEREZ                                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700104 LUCY PIZARRO AYUSO                          PLAYITA                      3005 CALLEJON REPUBLICA                                                              SAN JUAN            PR         00913
   280283 LUCY PLAZA PACHECO                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700105 LUCY POLO                                   COND TOTRRE ORO 201          175 CALLE MEXICO                                                                     SAN JUAN            PR         00917
   700106 LUCY RAMIREZ COLON                          P O BOX 1027                                                                                                      COAMO               PR         00769
   700107 LUCY RAMIREZ RAMIREZ                        HC 01 BOX 14166                                                                                                   CABO ROJO           PR         00623
   280284 LUCY RIVERA BERDECIA                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700108 LUCY RODRIGUEZ COCA                         JARD FAGOT                   K6 CALLE 9                                                                           PONCE               PR         00731
   700109 LUCY RODRIGUEZ RAMOS                        PARC VIEJAS                  136 A COQUI                                                                          AGUIRRE             PR         00704
   280285 LUCY ROMAN ROSA                             REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   280286 LUCY ROMERO                                 REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   280287 LUCY ROSARIO TORRES                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700110 LUCY RUIZ CONTRERAS                         154 CALLE TAFT APT 701                                                                                            SAN JUAN            PR         00914
   700111 LUCY RUIZ FIGUEROA                          P O BOX 8301                                                                                                      CAGUAS              PR         00726
   280288 LUCY SANTANA RODRIGUEZ                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   280289 LUCY SEPULVEDA AROCHO                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700112 LUCY SERRANO MEDINA                         823 CALLE JARDIN                                                                                                  HATILLO             PR         00659
   280290 LUCY SOSA CAMBIAZO                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700113 LUCY SOTO VALENTIN                          HC 2 BOX 19684                                                                                                    SAN SEBASTIAN       PR         00685
   280291 LUCY SULLIVAN CORTES                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700114 LUCY TORRES LUCIANO                         B 1 N 66 BDA BORINQUEN                                                                                            PONCE               PR         00731
   280292 LUCY TRINIDAD MONTAS                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   280293 LUCY VEGA DE BRACER                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700116 LUCY VELAZQUEZ ALICEA                       HC 02 BOX 8909                                                                                                    YABUCOA             PR         00767
   700117 LUCY VILLANUEVA PERALES                     HC 01 BOX 7630                                                                                                    MOCA                PR         00676
   700118 LUCY W SANTIAGO                             SANTO DOMINGO II 186                                                                                              PE¥UELAS            PR         00624

   280295 LUCYAMN FERNANDEZ COLON                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   280297 LUCYANN BERNIER RIVERA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUCYBETH MALDONADO DBA
   280299 BAMBINI PARLANO                             URB LAS COLINAS              C/TRES PISTACHOS S‐1                                                                 TOA BAJA            PR         00949
          LUCYBETH MALDONADO
   280301 SANTIAGO                                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700119 LUCYLLE LAUREANO                            RES MANUEL A PEREZ           EDF J 20 APT 199                                                                     SAN JAUN            PR         00923
   700120 LUCYS CATERING                              PO BOX 492                                                                                                        SABANA HOYOS        PR         00668

   280303 LUCYVETTE MARTINEZ PICART                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   280304 LUCYVETTE OCASIO SANCHEZ                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700121 LUDAN INDUSTRIES INC                        SANTA ROSA UNIT              P O BOX 6527                                                                         BAYAMON             PR         00960
   700122 LUDELIANE ORTIZ CAPELES                     PO BOX 1036                                                                                                       SAN LORENZO         PR         00754
   280306 LUDGARDA BAEZ AMADOR                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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          LUDGARDA NUNEZ
   280307 ENCARNACION                                 REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                  290 AVE STA ANA APT B 203 BZN
   700123 LUDGARDO E GONZALEZ MARIN                   COND TORRIMAR PARK          39                                                                                       GUYNABO              PR           00969‐3360
   280308 LUDGARDO JUSTINIANO                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   700125 LUDGERIA LEON TEXEIRA                       3 VILLA FRANCES                                                                                                      JUANA DIAZ           PR           00795
   280310 LUDIM DIAZ SANCHEZ                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   280311 LUDIMAR BONILLA SOLIS                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   280312 LUDIN GARCIA RAMOS                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   280313 LUDIN GARCIA SANCHEZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   700126 LUDIN RIVERA GONZALEZ                       BO SANTIAGO Y LIMA          BOX 415                                                                                  NAGUABO              PR           00718
   280314 LUDINIA PEREZ RIVERA                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   280315 LUDITZA PEREZ BADILLO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   280316 LUDIVINA MIRANDA SANFELIZ                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   700129 LUDLUM MEASUREMENTS INC                     PO BOX 972965                                                                                                        DALLAS               TX           75397‐2965
   700131 LUDMAR ALVALLE RIVERA                       HC 04 BOX 7093                                                                                                       JUANA DIAZ           PR           00795
   700135 LUDMILA PAGAN ICASIO                        P O BOX 9069                                                                                                         PONCE                PR           00732‐9069
   700136 LUDMILDA RIVERA BURGOS                      COND MONTE BELLO            APT D 408                                                                                TRUJILLO ALTO        PR           00976
                                                      URB JARDINES DE COUNTRY
   700138 LUDOVINA CAMACHO PERALTA                    CLUB                        BN15 CALLE 113                                                                           CAROLINA             PR           00983
   700139 LUDWIG E DAVILA MESTRE                      HC 1 BOX 6451                                                                                                        LAS PIEDRAS          PR           00771‐9736
   280317 LUDWIG ORTIZ BELAVAL                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   280319 LUDWIG S DAVILA PACHECO                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   280320 LUDWIN PEREZ BORIA                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   700141 LUDY HERNANDEZ                              1360 PH CALLE LUCHETTI                                                                                               CONDADO SAN JUAN     PR           00907
   280300 LUDY MORALES MORALES                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   280325 LUET ORTIZ NIEVES                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   280327 LUFEDA CORP                                 PO BOX 2342                                                                                                          MAYAGUEZ             PR           00681

   700142 LUFTHANSA GERMAN AIRLINES                   1640 HEMPSTEAD TURNPIKE                                                                                              EAST MEADOW          NY           11554

   700143 LUGALINA RODRIGUEZ BARRAL                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   700144 LUGARDA SIERRA MONTALVO                     BO. SAN ANTON P.O. BOX 72                                                                                            PONCE                PR           00731

   700145 LUGARO IMPORTS                              LOS CAOBOS                  J30 CALLE 16 URB LOS CAOBOS                                                              PONCE                PR           00731
  1420263 LUGARO PAGAN, NELSON                        DIMARY CASIANO COTTY        URB. ALTA VISTA 18 T4                                                                    PONCE                PR           00716

   280355 LUGELINA RODRIGUEZ BARRAL                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   280364 LUGO ADAMS MD, FELIX                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

  1420264 LUGO ARROYO, FRANCISCO                      FRANCISCO LUGO (CONFINADO) PO BOX 10009                                                                              GUAYAMA              PR           00785
   280414 LUGO ARROYO, MARILYN                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   280421 LUGO ARVELO DC, WALDEMAR                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   700146 LUGO AUTO SALES INC                         PO BOX 789                                                                                                           HORMIGUEROS          PR           00660
   280452 LUGO BELEN, LUZ E                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   280462 LUGO BONETA MD, ADALBERTO                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   280473 LUGO BRETON MD, RAMON R                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   280479 LUGO BUS LINE INC                           P O BOX 1373                                                                                                         SAN SEBASTIAN        PR           00685
  1420265 LUGO CABAN, ROSA H.                         LUGO CABAN, ROSA H.         HC 04 BOX 43797 BO. PILETAS                                                              LARES                PR           00669

   280531 LUGO CINTRON MD, SYLVETTE M REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  280546 LUGO COLON, IRIS                             REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  280557 LUGO CONCEPCION, CATHY                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
                                                      KEVIN A . LUGO COSME          FLAMBOYÁN Y‐7 VALLE ARRIBA
  1420266 LUGO COSME, KEVIN A .                       (DERECHO PROPIO)              HEIGHTS                                                                                 CAROLINA              PR         00983

   280602 LUGO CRUZ MD, MARICARMEN                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   280694 LUGO EMANUELLI, JOSE M                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   700148 LUGO EURO PARTS                             JARD DE FAGOT M‐43 CALLE 14                                                                                           PONCE                 PR         00716

   280706 LUGO FAGUNDO MD, MARTIN H REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   280776 LUGO GONZALEZ MD, BASILISO                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   280827 LUGO GUTIERREZ MD, FABIO H                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   280894 LUGO LAMBERTY, GLORIA                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  1420267 LUGO LOZANO, ANGELICA                       ERNESTO MATOS MIRANDA         PO BOX 361058                                                                           SAN JUAN              PR         00936‐1058
   280938 LUGO LUGO MD, EDWIN I                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   281017 LUGO MATIAS, LIZ M                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
                                                                                    CASAL LAW OFFICE PO BOX
  1420268 LUGO MATOS, IBRAHIM                         VICTOR J. CASAL VAZQUEZ       363527                                                                                  SAN JUAN              PR         00936‐3527
   281025 LUGO MATTEI, JOHN F                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   700151 LUGO MIRANDA LAW OFFICES                    252 AVE PONCE DE LEON         SUITE 901                                                                               SAN JUAN              PR         00918

   281092 LUGO MONTALVO MD, JOSE N                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   281122 LUGO MORENO, MARIBEL                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   281176 LUGO NOEL, STEPHANIE                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   281233 LUGO OSTOLAZA, LISSETTE                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   700152 LUGO OUTLET INC                             PO BOX 9                                                                                                              HORMIGUEROS           PR         00660 0009
   281262 LUGO PAGAN, MARIA E                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   281278 LUGO PEREZ, DORALICE                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   281308 LUGO PORTALATIN, JON B                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   281309 LUGO PORTALATIN, JUAN                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   281315 LUGO QUILES, ACENET                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   281320 LUGO QUILES, MIGDALIA                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   281339 LUGO RAMIREZ MD, WILMER                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   281451 LUGO RIVERA, LUIS R.                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   281479 LUGO RODRIGUEZ MD, FAUSTO C REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   281480 LUGO RODRIGUEZ MD, LIONEL                   REDACTED                      REDACTED                      REDACTED                           REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   281526 LUGO RODRIGUEZ, MARIA D                     REDACTED                      REDACTED                      REDACTED                           REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  1420269 LUGO RODRIGUEZ, WILLIAM                     ALEXIS ALVAREZ DEL VALLE      PO BOX 681                                                                              SAINT JUST            PR         00978‐0681
   281578 LUGO ROSAS MD, ANIBAL J                     REDACTED                      REDACTED                      REDACTED                           REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
                                                                                    BARRIADA ARTURO LLUVERAS HC BOX 10218 7086‐B GAUDIER
  1422575 LUGO SEGARRA, BRENDA                        SRA. BRENDA LUGO SEGARRA      02                            TEXIDOR                                                   MAYAQUES              PR         00692‐6616
                                                                                    GALERÍA PASEOS SUITE 207A 100
  1420270 LUGO SOMOLINOS, CARMEN                      SHIRLEY M. MONGE              GRAN BOULEVAR PASEOS                                                                    SAN JUAN              PR         00926

   281765 LUGO TORO LAW OFFICES, PSC                  400 CALLE CALAF               PMB 171                                                                                 SAN JUAN              PR         00918

   281885 LUGO VELAZQUEZ MD, AGRIPINO REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED




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   281926 LUGO VICENTE MD, HUMBERTO                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700153 LUGO VINA INC                               PO BOX 9445                                                                                                  SAN JUAN            PR         00908
   281935 LUGO VINA INC.                              P O BOX 9445                                                                                                 SAN JUAN            PR         00908‐9445
   700154 LUGO VIVA INC.                              PO BOX 9445                                                                                                  SAN JUAN            PR         00908‐9445
  1420271 LUGO, OMAR                                  JANE A. BECKER‐WHITAKER   PO BOX 9023914                                                                     SAN JUAN            PR         00902
   281962 LUGORIOS MD , MIGUEL A                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700155 LUGOS ALFOMBRAS                             BOX 611                                                                                                      ARROYO              PR         00714
   700156 LUGOS SCREEN S                              ROSALEDA II               RG 20 CALLE GARDENIA                                                               TOA BAJA            PR         00949
   281966 LUHAN INVESTMENT                            PO BOX 7                                                                                                     AGUADILLA           PR         00605
   700157 LUHARI COLON RIVERA                         HC 1 BOX 2135                                                                                                BARRANQUITAS        PR         00794
   281972 LUI G ACOSTA SANCHEZ                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700158 LUIDGI AUTO ELECTRIC INC                    P O BOX 8791                                                                                                 CAGUAS              PR         00725
   281984 LUIGGIE FIGUEROA RIVAS                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700159 LUIGGY LLANOS CRUZ                          EL FARO EDIF 5 APT 48                                                                                        CAROLINA            PR         00958

   281991 LUIGI SANCHEZ MD, GIANCARLO REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   281992 LUIGIE ALVARADO RODRIGUEZ REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700160 LUIGIS CATERING              PARQUE DEL NORTE                         BB 13 AGUAYBANA                                                                    CAGUAS              PR         00725
   281993 LUILLY A TORRES GUZMAN       REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700162 LUIMA TRANSPORT              P O BOX 1202                                                                                                                CAGUAS              PR         00726
   281999 LUINA PORTILLA MD, ALEJO     REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282000 LUINNETTE LASALLE ALFARO     REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700163 LUIRMA TORRES                VILLA PARAISO                            1396 CALLE TCCITO                                                                  PONCE               PR         00728
   282002 LUIS A . ROSARIO ARROYO      REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700263 LUIS A ABREU LOPEZ           PO BOX 1691                                                                                                                 LAS PIEDRAS         PR         00771
   282003 LUIS A ACEVEDO DENIS         REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282004 LUIS A ACEVEDO ESTEVES       REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282005 LUIS A ACEVEDO GALARZA       REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700264 LUIS A ACEVEDO GUZMAN        JARD DE BARCELONA                        1 CALLE 7                                                                          JUNCOS              PR         00777
   282006 LUIS A ACEVEDO IRIZARRY      REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700265 LUIS A ACEVEDO LAZARINI      PO BOX 1868                                                                                                                 AGUADILLA           PR         00605
   282007 LUIS A ACEVEDO LOPEZ         REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700266 LUIS A ACEVEDO MEDINA        HC 04 BOX 48529                                                                                                             CAGUAS              PR         00725‐9600
   282008 LUIS A ACEVEDO SANCHEZ       REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          LUIS A ACEVEDO SOTO / EQUIPO
   700267 ANGEL S                      BO CAMASEYES                             125 CALLE LOS MORALES                                                              AGUADILLA           PR         00603
   282009 LUIS A ACEVEDO VALENTIN      REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700268 LUIS A ACOSTA                P O BOX 11                                                                                                                  ENSENADA            PR         00647
   700269 LUIS A ACOSTA LOPEZ          P O BOX 2568                                                                                                                SAN GERMAN          PR         00683
   700270 LUIS A ACOSTA MONTIJO        40 SAN FELIPE                            CALLE AURELIO BERNAL                                                               LARES               PR         00669
   700271 LUIS A ACOSTA RODRIGUEZ      PO BOX 475                                                                                                                  ADJUNTAS            PR         00601
   700272 LUIS A ACOSTA TROCHE         P O BOX 826                                                                                                                 CABO ROJO           PR         00623
   282010 LUIS A ACUNA GERENA          REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282011 LUIS A AGOSTO LEDUC          REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700275 LUIS A AGOSTO MARTINEZ       PO BOX 40907                                                                                                                SAN JUAN            PR         00940
   700276 LUIS A AGUAYO                TORREMOLINOS TOWER                       SUITE 401                                                                          GUAYNABO            PR         00969 3626
   700277 LUIS A AGUAYO GONZALEZ       URB BAIROA                               CQ 15 CALLE 11A                                                                    CAGUAS              PR         00725
   282012 LUIS A AGUIRRE QUINONEZ      REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700279 LUIS A ALAMO TORRES          URB METROPOLIS                           2 A1 CALLE 33                                                                      CAROLINA            PR         00987
   282014 LUIS A ALAYON ROMERO         REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700280 LUIS A ALBINO CASTRO         PO BOX 1161                                                                                                                 SABANA GRANDE       PR         00637



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  700281 LUIS A ALBINO RIVERA                         URB VILLA HERMOSA              SU‐20 CALLE BUCARE                                                                       HORMIGUEROS       PR           00660
  700282 LUIS A ALBINO ROMAN                          P O BOX 80182                                                                                                           COROZAL           PR           00783
  700283 LUIS A ALEJANDRINO                           RESIDENCIAL BAIROA             BG 19 CALLE 24                                                                           CAGUAS            PR           00725

   700285 LUIS A ALEJANDRO                            EST REALES                     107 CALLE PRINCESA CRISTINA                                                              GUAYNABO          PR           00969
   282015 LUIS A ALEJANDRO NARVAEZ                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   282016 LUIS A ALEMAN ADORNO                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   700288 LUIS A ALERS VARGAS                         HC 2 BOX 11932                                                                                                          MOCA              PR           00676
                                                      APT 909 TORRE 3 BORINQUEN
   700289 LUIS A ALICEA                               TOWER                                                                                                                   SAN JUAN          PR           00920
   700290 LUIS A ALICEA ALVAREZ                       URB VILLA FONTANA              AF 5‐8 VIA 51                                                                            CAROLINA          PR           00983
   700291 LUIS A ALICEA CALDERON                      PO BOX 1100                                                                                                             BAYAMON           PR           00960‐1100
   282017 LUIS A ALICEA MARRERO                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   282018 LUIS A ALICEA ORTIZ                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   700294 LUIS A ALICEA PARRILLA                      PMB 440                        HC 1 BOX 29030                                                                           CAGUAS            PR           00725‐8900
   700295 LUIS A ALICEA ROBLES                        HC 03 BOX 10375                                                                                                         COMERIO           PR           00782
   282019 LUIS A ALMODOVAR RIVERA                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   700298 LUIS A ALVARADO HERNANDEZ                   PO BOX 36‐1299                                                                                                          SAN JUAN          PR           00936‐1299

   282022 LUIS A ALVARADO RODRIGUEZ                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   700299 LUIS A ALVARADO SANTIAGO                    6 CALLE RUIZ BELVIS INTERIOR                                                                                            COAMO             PR           00769
   282023 LUIS A ALVARADO VAZQUEZ                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   700300 LUIS A ALVAREZ                              2026 CALLE LOIZA               ESQ TAPIA                                                                                SAN JUAN          PR           00911‐1740
   282024 LUIS A ALVAREZ ARROYO                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   700301 LUIS A ALVAREZ CABRERA                      PO BOX 12086                                                                                                            SAN JUAN          PR           00914
   700302 LUIS A ALVAREZ NAZARIO                      P O BOX 1372                                                                                                            YAUCO             PR           00698
   282025 LUIS A ALVAREZ RAMOS                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   700305 LUIS A ALVAREZ RODRIGUEZ                    PO BOX 142012                                                                                                           ARECIBO           PR           00614‐2012
   282026 LUIS A ALVAREZ VAZQUEZ                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   282027 LUIS A ALVAREZ ZENQUIZ                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   700306 LUIS A ANDINO ANDINO                        HC 02 BOX 10132                                                                                                         GUAYNABO          PR           00971
   282028 LUIS A ANDUJAR FABAL                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   282029 LUIS A APONTE BURGOS                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   282030 LUIS A APONTE COLON                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   282032 LUIS A APONTE DIAZ                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   700309 LUIS A APONTE LOPEZ                         PO BOX 1155                                                                                                             CIDRA             PR           00739‐1155
   282034 LUIS A APONTE PEREZ                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   700311 LUIS A APONTE QUINONES                      105 RAMEY CALLE M                                                                                                       AGUADILLA         PR           00604
   700312 LUIS A APONTE TORRES                        P O BOX 1303                                                                                                            TOA BAJA          PR           00951‐1303
   700313 LUIS A APONTE VEGA                          219 CALLE CANAL                                                                                                         SABANA GRANDE     PR           00637
   700314 LUIS A AQUINO RAMOS                         URB VILLA ASTURIA              BLOQ 30‐18 CALLE PRAVIA                                                                  CAROLINA          PR           00983
   282035 LUIS A AQUINO RIVERA                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   700315 LUIS A ARAUJO BRAVO                         1805 AVE MAGDALENA                                                                                                      SAN JUAN          PR           00911
   282036 LUIS A ARCE TIRADO                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   282037 LUIS A ARCHILLA DIAZ                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   700251 LUIS A ARCHILLA DIAZ                        H F MORTGAGE CTER              1ER PISO 279 AVE F D ROOSVELT                                                            SAN JUAN          PR           00917
   282042 LUIS A ARENAS CUPELES                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   700252 LUIS A ARIAS MALDONADO                      EXT TORRES DE GUAYNABO         E 4 CALLE LAS FLORES                                                                     GUAYNABO          PR           00969
   700316 LUIS A AROCHO GONZALEZ                      URB LAS PALMAS                 301 CALLE SIERRA                                                                         MOCA              PR           00678
   282043 LUIS A AROCHO PIRIS                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  282044 LUIS A ARRIETA RODRIGUEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   282045 LUIS A ARROYO / INES S COLON                REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282046 LUIS A ARROYO ANDUJAR                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700317 LUIS A ARROYO AVILES                        URB SANTA JUANITA             AA 23 CALLE QUINTANA                                                              BAYAMON             PR         00956
   282047 LUIS A ARROYO BERRIOS                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700254 LUIS A ARROYO BERRIOS                       QUINTAS DE CAMPECHE           502 CALLE FLAMBOYAN                                                               CAROLINA            PR         00987
   700318 LUIS A ARROYO FERNANDEZ                     PO BOX 1268                                                                                                     MOCA                PR         00676‐1268
   282048 LUIS A ARROYO FREYTES                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700319 LUIS A ARROYO LASSALLE                      707 ESTANCIAS SAN BENITO                                                                                        MAYAGUEZ            PR         00680
   282049 LUIS A ARROYO ORTIZ                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282050 LUIS A ARROYO RODRIGUEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   700166 LUIS A ARRUFAT PIMENTEL                     URB REPARTO METROPOLITANO     905 AVE DE DIEGO                                                                  SAN JUAN            PR         00921
   282051 LUIS A ARZOLA CARDIN                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700324 LUIS A AVILES CARTAGENA                     HC 01 BOX 6803                                                                                                  SALINAS             PR         00751
   700325 LUIS A AVILES MARRERO                       PO BOX 69                                                                                                       COROZAL             PR         00783‐0069
   282052 LUIS A AVILES ROMAN                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282053 LUIS A AYALA DIAZ                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282054 LUIS A AYALA FEBUS                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700326 LUIS A AYALA NAVARRETE                      VILLA SERENA                  K 10 CALLE GLADIOLA                                                               ARECIBO             PR         00612
   282055 LUIS A AYALA RIJOS                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700327 LUIS A AYALA VEGA                           HC 01 BOX 10043                                                                                                 ARECIBO             PR         00612
   700328 LUIS A BADILLO ACEVEDO                      HC 3 BOX 35035                                                                                                  AGUADILLA           PR         00603
   282057 LUIS A BADILLO CORDERO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282058 LUIS A BAEZ BLACK                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700329 LUIS A BAEZ FLORES                          RES RAUL CASTELLON            EDIF 8 APT 92                                                                     CAGUAS              PR         00725
   282060 LUIS A BAEZ TORRES                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700330 LUIS A BANUCHI QUIJANO                      PO BOX 2437                                                                                                     ISABELA             PR         00662‐2004
   282061 LUIS A BARNECET RAMOS                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282063 LUIS A BARRETO NUNEZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700332 LUIS A BARRETO VARGAS                       HC 04 BOX 13686                                                                                                 MOCA                PR         00676
   282066 LUIS A BASORA RODRIGUEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282067 LUIS A BATISTA BENITEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282068 LUIS A BAUZA GONZALEZ                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282069 LUIS A BELEN SOTO                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      URB. LOS CASIQUES 237 CALLE
   700333 LUIS A BENDEZU                              URAYUAN                                                                                                         CAROLINA            PR         00987
   700334 LUIS A BENIQUEZ VALENTIN                    P O BOX 2390                                                                                                    SAN JUAN            PR         00919
   282070 LUIS A BENITEZ MARTINEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282071 LUIS A BENITEZ NAVAS                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700336 LUIS A BENITEZ REPOLLET                     HC 2 BOX 48624                                                                                                  VEGA BAJA           PR         00693
   282072 LUIS A BENITO ACEVEDO                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700337 LUIS A BERDECIA RIVERA                      PO BOX 975                                                                                                      SANTA ISABEL        PR         00757
   282073 LUIS A BERDECIA RODRIGUEZ                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282074 LUIS A BERDIEL RIVERA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282075 LUIS A BERLINO MELENDEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282076 LUIS A BERMUDEZ GONZALEZ                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282077 LUIS A BERNIER SANTOS                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700340 LUIS A BERRIOS BERRIOS                      HC 3 BOX 9691                                                                                                   BARRANQUITAS        PR         00794
   700341 LUIS A BERRIOS COLON                        HC 02 BOX 7215                                                                                                  BARRANQUITAS        PR         00954
   700342 LUIS A BERRIOS FIGUEROA                     PO BOX 877                                                                                                      PATILLAS            PR         00723
   700344 LUIS A BERRIOS PEREZ                        PO BOX 70166                                                                                                    SAN JUAN            PR         00936‐8166



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  282079 LUIS A BERRIOS RIVERA                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282080 LUIS A BETANCOURT MEDINA                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   282081 LUIS A BETANCOURT SANTIAGO                  REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   282082 LUIS A BLANCO BLANCO                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   282083 LUIS A BLAS NIEVES                          REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   700347 LUIS A BONAFONT GARCIA                      HC 2 BOX 8080                                                                                                 YABUCOA             PR       00767
   282084 LUIS A BONES MORALES                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   700348 LUIS A BONILLA CRUZ                         POLICIA DE PR            PO BOX 70166                                                                         SAN JUAN            PR       00936‐8166
   700349 LUIS A BONILLA ESPADA                       ALT DE MONTE BRISAS      A 23 CALLE 2                                                                         GURABO              PR       00778‐9695
   282085 LUIS A BONILLA FEBUS                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   282086 LUIS A BONILLA ROJAS                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   700351 LUIS A BONILLA TORRES                       TINTILLO GARDENS         G 38 CALLE 6                                                                         GUAYNABO            PR       00966
   700352 LUIS A BORDONI MARTINEZ                     P O BOX 717                                                                                                   LARES               PR       00669
   282087 LUIS A BORRERO MANGUAL                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   700353 LUIS A BORRERO NAZARIO                      P O BOX 1217                                                                                                  GUANICA             PR       00653
   282088 LUIS A BORRERO QUINONES                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   700354 LUIS A BORRERO RODRIGUEZ                    1068 CALLE NUEVA PALMA                                                                                        SAN JUAN            PR       00907 5250
   700355 LUIS A BOURDON ROMAN                        URB VISTA VERDE          13 CASA 314                                                                          AGUADILLA           PR       00603
   282089 LUIS A BRACERO PAGAN                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   282090 LUIS A BRACERO QUINONES                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   282091 LUIS A BRANA BERDECIA                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   282092 LUIS A BUENO QUINONES                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   282093 LUIS A BUITRAGO AMARO                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   700356 LUIS A BULA HERNANDEZ                       PARCELAS JUAN SANCHEZ    BUZON 1626 CALLE 8                                                                   BAYAMON             PR       00959
   282094 LUIS A BURGOS CARABALLO                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   282095 LUIS A BURGOS CINTRON                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   282096 LUIS A BURGOS COLLAZO                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   282097 LUIS A BURGOS CRUZ                          REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   700358 LUIS A BURGOS FELICIANO                     PARQUE SAN IGNACIO       A 1 CALLE UPSALA                                                                     SAN JUAN            PR       00921
   282098 LUIS A BURGOS GONZALEZ                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   282100 LUIS A BURGOS MELENDEZ                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   282101 LUIS A BURGOS MIRANDA                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   700359 LUIS A BURGOS MORALES                       P O BOX 8963                                                                                                  HUMACAO             PR       00791
   700360 LUIS A BURGOS MUNDO                         EL PRADO                 414 CALLE ITALIA                                                                     SAN JUAN            PR       00917
   700361 LUIS A BURGOS SALGADO                       URB PRADERAS DEL RIO     3216 CALLE RIO GUAYNABO                                                              TOA ALTA            PR       00953
   700362 LUIS A BURGOS SANTIAGO                      P O BOX 72                                                                                                    COAMO               PR       00769
   700363 LUIS A CABA DE HOYOS                        PO BOX 844                                                                                                    ADJUNTAS            PR       00601
   700366 LUIS A CABAN JIMENEZ                        PO BOX 5266                                                                                                   CAGUAS              PR       00726‐5266
   700256 LUIS A CABAN OLIVER                         HC 06 BOX 73411                                                                                               CAGUAS              PR       00725
   700368 LUIS A CABRERA CACERES                      BARIO FLORIDA            HC 1 BOX 4502                                                                        NAGUABO             PR       00718‐9720
   700367 LUIS A CABRERA MERCADO                      BO CEDRO ARRIBA          HC 71 BOX 3785                                                                       NARANJITO           PR       00694
   700369 LUIS A CABRERA OQUENDO                      PMB BOX 1283 APT 36                                                                                           SAN LORENZO         PR       00754
   700370 LUIS A CABRERA REYES                        URB LOS CAOBOS           1199 CALLE BAMBU                                                                     PONCE               PR       00731
   282102 LUIS A CACERES ORTIZ                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   282103 LUIS A CADIZ PEREZ                          REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   282104 LUIS A CAEZ PEDRAZA                         REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED

   282105 LUIS A CALAHORRANO RENETO                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700373 LUIS A CALDERA TORRES                       URB LOMAS VERDES         2N 5 CALLE ORTENSIA                                                                  BAYAMON             PR         00956‐3418
   700374 LUIS A CALDERO ROSADO                       HC 72 BOX 3400                                                                                                NARANJITO           PR         00719
   700375 LUIS A CALDERON CIRINO                      BOX HC 01‐6409                                                                                                LOIZA               PR         00772
   282106 LUIS A CALDERON ORTIZ                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  700378 LUIS A CALDERON REYES                        COND VILLAS DEL CENTRO   110 P ARZUAGA APT 55                                                              CAROLINA             PR           00985
  700379 LUIS A CALDERON RIOS                         RR 03 BOX 10244                                                                                            TOA ALTA             PR           00953

   700380 LUIS A CALDERON RODRIGUEZ                   REPTO TERESITA           AL 9 CALLE 40                                                                     BAYAMON              PR           00961
   282108 LUIS A CALDERON ROSARIO                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   700381 LUIS A CAMACHO DIAZ                         BOX 373                                                                                                    LAS PIEDRAS          PR           00771
   282110 LUIS A CAMACHO RODRIGUEZ                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   282111 LUIS A CAMACHO ROSADO                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   700382 LUIS A CAMACHO SANCHEZ                      PMB 252 P O BOX 7891                                                                                       GUAYNABO             PR           00970‐7891
   282112 LUIS A CAMACHO TORRES                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   700384 LUIS A CANCEL HERNANDEZ                     BOX 412                                                                                                    HORMIGUEROS          PR           00660
   700387 LUIS A CANDELARIA                           HC 02 BOX 6129                                                                                             FLORIDA              PR           00650

   282115 LUIS A CANDELARIO QUINTANA                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   700388 LUIS A CANDELARIO RODRIGUEZ                 PUEBLITO NUEVO           270 CALLE 1                                                                       PONCE                PR           00730
   282116 LUIS A CANDELARIO ROSARIO                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   700391 LUIS A CAPELES SERRANO                      VILLAS DE CASTRO         DD 18 CALLE 23                                                                    CAGUAS               PR           00725
   282117 LUIS A CAPETILLO AROCHO                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   700165 LUIS A CAPO TORO                            PO BOX 2533                                                                                                SAN GERMAN           PR           00683‐2533

   282118 LUIS A CARABALLO MONTALVO                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   282119 LUIS A CARABALLO ORENGO                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   282120 LUIS A CARABALLO PEREZ                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   700392 LUIS A CARABALLO RODRIGUEZ                  URB VILLAS DEL CAFETAL   CALLE 9‐03                                                                        YAUCO                PR           00698
   282121 LUIS A CARABALLO ROSARIO                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          LUIS A CARBONELL Y VIVIAN DE
   282122 LA TORRE                                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   282123 LUIS A CARDONA CIRINO                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   282124 LUIS A CARDONA NUNEZ                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   700394 LUIS A CARDONA SAEZ                         BO SANTA CATALINA        SECTOR DESCALABRADO                                                               COAMO                PR           00769
   700396 LUIS A CARRASQUILLO LANZO                   PMB 102                  PO BOX 1981                                                                       LOIZA                PR           00772

   282125 LUIS A CARRASQUILLO MORALES REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   700397 LUIS A CARRILLO DELGADO     6 CALLE JULIAN BLANCO                                                                                                      SAN JUAN             PR           00925
   700398 LUIS A CARRION CARRION      HC 03 BOX 4402                                                                                                             GURABO               PR           00778
   282126 LUIS A CARRION MARRERO      REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   700399 LUIS A CARRION TAVAREZ      URB CIELO DORADO VILLAGE                 AVE CIELO DORADO 86                                                               VEGA ALTA            PR           00692
   282127 LUIS A CARRION VIERA        REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   700400 LUIS A CARRUCINI GONZALEZ   BO RIO ABAJO                             BOX 812                                                                           CIDRA                PR           00739

   700401 LUIS A CARTAGENA CARTAGENA                  URB VISTA BELLA          A 25 CALLE 3                                                                      VILLALBA             PR           00766
   282128 LUIS A CARTAGENA ORTIZ                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   282129 LUIS A CARTAGENA ROQUE                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   700403 LUIS A CASIANO                              HC 37 BOX 7080                                                                                             GUANICA              PR           00653
   700404 LUIS A CASIANO CINTRON                      RR 1 BOX 6675                                                                                              GUAYAMA              PR           00784
   282130 LUIS A CASIANO OLMEDA                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   282131 LUIS A CASIANO SANTIAGO                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   282132 LUIS A CASTANEDA RODRIGUEZ                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   282133 LUIS A CASTILLO CASAS                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   282134 LUIS A CASTRO BRUGOS                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED



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MML ID               NAME                                        ADDRESS 1                    ADDRESS 2                    ADDRESS 3                           ADDRESS 4              CITY       STATE     POSTAL CODE       COUNTRY
  282135 LUIS A CASTRO BURGOS                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282136 LUIS A CASTRO HERNANDEZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   700183 LUIS A CASTRO MARTINEZ                      URB VILLAS DE BUENAVENTURA   J 19 CALLE AGUEBANA                                                                     YABUCOA             PR         00767
   700405 LUIS A CASTRO MATOS                         BARRIO OBRERO                704 CALLE 7                                                                             SAN JUAN            PR         00915
   700406 LUIS A CASTRO PEREZ                         BOX 1557                                                                                                             CABO ROJO           PR         00623
   700410 LUIS A CAY DELGADO                          P.O. BOX 134                                                                                                         LAS PIEDRAS                    00771
   282138 LUIS A CEDENO TORRES                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700412 LUIS A CENTENO BERRIOS                      COND MELIYAN                 APT 402                                                                                 SAN JUAN            PR         00921
   700413 LUIS A CENTENO COLON                        22 CALLE DOCTOR IGINA                                                                                                CIDRA               PR         00739
   282139 LUIS A CHARDON BERMUDEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282140 LUIS A CHAVEZ PINEIRO                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700414 LUIS A CHINEZ SUAREZ                        HERMANAS DAVILA              337 CALLE 1                                                                             BAYAMON             PR         00959
   282141 LUIS A CINTRON CRUZ                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700167 LUIS A CINTRON GONZALEZ                     PO BOX 1073                                                                                                          PATILLAS            PR         00723
   700415 LUIS A CINTRON IRIZARRY                     RR 3 BOX 9092                                                                                                        ANASCO              PR         00610
   282142 LUIS A CINTRON LOPEZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700416 LUIS A CINTRON LUGO                         PO BOX 217                   APARTADO 217 SG                                                                         SABANA GRANDE       PR         00637
   282145 LUIS A CINTRON PEREZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282147 LUIS A CINTRON RIVERA                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282148 LUIS A CINTRON VELAZQUEZ                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282149 LUIS A CINTRON VELEZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700417 LUIS A CIRINO RIVERA                        P O BOX 262                                                                                                          CANOVANAS           PR         00729‐0262
   700418 LUIS A CLASS FELICIANO                      HC 2 BOX 5100                                                                                                        GUAYNABO            PR         00656

   700419 LUIS A CLAUDIO ROSADO                       1394 COND GEORGETTI APT A‐2                                                                                          SAN JUAN            PR         00909
   282151 LUIS A COLLAZO CAMACHO                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282152 LUIS A COLLAZO COLON                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700421 LUIS A COLON                                EE 2 CALLE JOSE G BENITEZ                                                                                            TOA BAJA            PR         00949
          LUIS A COLON / BARBERIA LOS
   282153 MUCHACHOS                                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUIS A COLON / DBA HUMACAO
   700422 EXTERMINATING                               124 EXTENSION ROIG                                                                                                   HUMACAO             PR         00791
   282154 LUIS A COLON ALVARADO                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282155 LUIS A COLON CABRERA                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUIS A COLON DBA HUMACAO
   700424 EXTERMINATING                               MSC 505 P O BOX 890                                                                                                  HUMACAO             PR         00792
   700425 LUIS A COLON FIGUEROA                       HC 1 BOX 3675                                                                                                        BARRANQUITAS        PR         00794
   700426 LUIS A COLON GARCIA                         GLENUCO GARDENS              15 CALLE N 19                                                                           PONCE               PR         00730
   282156 LUIS A COLON HERNANDEZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700428 LUIS A COLON JIMENEZ                        URB VISTA VERDE                                     502                                                              AGUADILLA           PR         00603
   282157 LUIS A COLON LOPEZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282158 LUIS A COLON LUNA                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700430 LUIS A COLON MILLAN                         URB GLENVIEW GARDENS         Y 2 CALLE N 18                                                                          PONCE               PR         00731
   282159 LUIS A COLON MORALES                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282160 LUIS A COLON PERALES                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282161 LUIS A COLON QUINONES                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282163 LUIS A COLON RIVERA                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700432 LUIS A COLON RODRIGUEZ                      P O BOX 1660                                                                                                         CAYEY               PR         00737
   700434 LUIS A COLON ROMAN                          PO BOX 578                                                                                                           MOCA                PR         00676
   282164 LUIS A COLON ROSARIO                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282165 LUIS A COLON SANCHEZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700435 LUIS A COLON SANTIAGO                       16 BO BUENOS AIRES                                                                                                   ARROYO              PR         00714



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  282166 LUIS A COLON TIRADO                          REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  700440 LUIS A COLON TOLEDO                          P O BOX 215                                                                                                  HATILLO             PR         00659

   282167 LUIS A COLON Y CARMEN D VEGA REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700446 LUIS A COLTON ROSA           PO BOX 8738                                                                                                                 BAYAMON             PR         00960
   700447 LUIS A CONCEPCION COLON      COTTO STATION                        PO BOX 9624                                                                            ARECIBO             PR         00613
   700448 LUIS A CONSTANTINO COLON     URB VALLE HUCARES                    105 CALLE EL GUAYACAN                                                                  JUANA DIAZ          PR         00795‐2813
          LUIS A CONSTANTINO
   282168 DOMINGUEZ                    REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700450 LUIS A CORCHADO BARRETO      BOX 1266                                                                                                                    ISABELA             PR         00662
   700451 LUIS A CORDERO HERNANDEZ     HC 3 BOX 11860                                                                                                              CAMUY               PR         00627
   700452 LUIS A CORDERO MIRANDA       URB VILLA DEL CARMEN                 4474 AVE CONSTANCIA                                                                    PONCE               PR         00716‐2208
   700257 LUIS A CORDERO PESQUERA      341 CALLE CANARIO                                                                                                           ISABELA             PR         00662
   700454 LUIS A CORDERO TOLEDO        PO BOX 69001 SUITE 111                                                                                                      HATILLO             PR         00659
          LUIS A CORDOVA & NOEMI
   700455 SUSAMA                       PO BOX 445                                                                                                                  SABANA SECA         PR         00952
   700458 LUIS A CORDOVA SANCHEZ       HC 02 BOX 11332                                                                                                             HUMACAO             PR         00791
   700168 LUIS A COROMINAS ROVIRA      URB PUERTO NUEVO                     1165 CALLE 10 N E                                                                      SAN JUAN            PR         00920‐2432
   700459 LUIS A CORREA CORCINO        59 RES DIEGO ZALDUONDO                                                                                                      LUQUILLO            PR         00773
   282170 LUIS A CORREA PEREZ          REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282172 LUIS A CORSINO VILLAFANE     REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700462 LUIS A CORTES BABILONIA      136 CONCEPCION VERA                                                                                                         MOCA                PR         00676
   700463 LUIS A CORTES CORTES         HC 03 BOX 36653                                                                                                             AGUADILLA           PR         00603
   282173 LUIS A CORTES CRUZ           REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700464 LUIS A CORTES ISONA          VENUS GARDENS                        1727 CALLE ISTER                                                                       SAN JUAN            PR         0090100902
   282175 LUIS A CORTES ROSADO         REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282176 LUIS A CORTES VELEZ          REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700465 LUIS A COSME RIVERA          RES KENNEDY                          29 BLOQUE 5                                                                            JUANA DIAZ          PR         00795
   282178 LUIS A COTTO HUERTAS         REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700469 LUIS A COTTO LUNA            JARDINES DE BUENA VISTA              24 B CALLE 3                                                                           CAYEY               PR         00736
   700470 LUIS A COTTO RIVERA          PO BOX 878                                                                                                                  CIDRA               PR         00739
   700471 LUIS A CRESPO AROCHO         BOX 11                                                                                                                      MARICAO             PR         00606
   282179 LUIS A CRESPO BAZAN          REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282180 LUIS A CRESPO LLORENS        REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282181 LUIS A CRESPO MERCADO        REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                            BO GUAYABO SECTOR
   700472 LUIS A CRESPO VARGAS                        HC 03 BOX 29123       CASUALIDAD                                                                             AGUADA              PR         00602
   282182 LUIS A CRUZ                                 REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700474 LUIS A CRUZ ACOSTA                          HC 01 10565                                                                                                  LAJAS               PR         00667
   700475 LUIS A CRUZ AGUAYO                          URB VALLE TOLIMA      M 13 CALLE ROBERTO RIVERA                                                              CAGUAS              PR         00727
   700476 LUIS A CRUZ BENITEZ                         PO BOX 9066600                                                                                               SAN JUAN            PR         00906‐6600
   700477 LUIS A CRUZ CARRASQUILLO                    PO BOX 1014                                                                                                  CIDRA               PR         00739
   282183 LUIS A CRUZ CINTRON                         REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700258 LUIS A CRUZ CINTRON                         BO CERCADILLO         BUZON 1048‐A                                                                           ARECIBO             PR         00612
   282184 LUIS A CRUZ CORREA                          REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282185 LUIS A CRUZ CUBERO                          REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282186 LUIS A CRUZ DEL VALLE                       REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700479 LUIS A CRUZ ECHEVARRIA                      PO BOX 1748                                                                                                  RINCON              PR         00677‐1748
   282187 LUIS A CRUZ GALARZA                         REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700481 LUIS A CRUZ LEBRON                          HC 44 BOX 14000                                                                                              CAYEY               PR         00736
   282191 LUIS A CRUZ MALDONADO                       REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700482 LUIS A CRUZ MARTIN                          PO BOX 3033                                                                                                  MAYAGUEZ            PR         00681‐3033
   282192 LUIS A CRUZ MENDEZ                          REDACTED              REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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MML ID                    NAME                                 ADDRESS 1                     ADDRESS 2                      ADDRESS 3                           ADDRESS 4              CITY       STATE    POSTAL CODE        COUNTRY
                                                                                  APT C8 CALLE PRUDENCIO
   700484 LUIS A CRUZ MORALES                         TERRAZAS SAN FRANCISCO      QUINONES                                                                                  VIEQUES             PR         00765
   282193 LUIS A CRUZ NIEVES, EIT                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282194 LUIS A CRUZ NUNEZ                           REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700485 LUIS A CRUZ OQUENDO                         RES ALT DE CUPEY            EDIF 8 APT 73                                                                             SAN JUAN            PR         00926
   282196 LUIS A CRUZ REYES                           REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282198 LUIS A CRUZ RIVERA                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282199 LUIS A CRUZ SOTO                            REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282200 LUIS A CRUZ VAZQUEZ                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   282201 LUIS A CRUZ Y MARIA L BAEZA                 REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700489 LUIS A CRUZADO DIAZ                         RR 4 BOX 3510                                                                                                         BAYAMON             PR         00956
   700490 LUIS A CUADRADO DIAZ                        URB LOS PINOS G 9                                                                                                     HUMACAO             PR         00791
   700491 LUIS A CUADRO SANTIAGO                      HC 3 BOX 19687                                                                                                        ARECIBO             PR         00612
   282202 LUIS A CUBA ORENGO                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700492 LUIS A CUBERO NIEVES                        22 CALLE HERNAN CORTES                                                                                                AGUADILLA           PR         00603
   700493 LUIS A CUEVAS                               P O BOX 1656                                                                                                          UTUADO              PR         00641
   282203 LUIS A CUEVAS ALVARADO                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          LUIS A CURBELO B/B/A
   700494 AGROTEMAS DE PR                             P O BOX 140039                                                                                                        ARECIBO             PR         00614
   282205 LUIS A CURBELO FERNANDEZ                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282206 LUIS A DALMASI MARTINEZ                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282207 LUIS A DATIZ GORDILLO                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700497 LUIS A DAUMONT GRACIA                       27 PASEO DE LOS ARTESANOS                                                                                             LAS PIEDRAS         PR         00771
   282208 LUIS A DAVILA DIAZ                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700498 LUIS A DAVILA RIVERA                        BO PLAYITA                  80 B CALLE A                                                                              SALINAS             PR         00751
   282210 LUIS A DAVILA ROSADO                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282211 LUIS A DE JESUS                             REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          LUIS A DE JESUS & ASOCIADOS
   700500 INC                                         VILLA CAROLINA              8013 CALLE 85                                                                             CAROLINA            PR         00985
   700501 LUIS A DE JESUS CENTENO                     RR 6 BOX 9821                                                                                                         SAN JUAN            PR         00926
   282212 LUIS A DE JESUS CORTIJO                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700184 LUIS A DE JESUS CORTIJO                     EST DE LA FUENTE            AA 46 DEL REY                                                                             TOA BAJA            PR         00949
   282213 LUIS A DE JESUS CRUZ                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700502 LUIS A DE JESUS FIGUEROA                    BDA SANTA ANA               60‐19 CALLE E                                                                             GUAYAMA             PR         00784

   700503 LUIS A DE JESUS MATOS                       COOP VILLAS DE NAVARRA      EDIF 18 APAT F SANTA JUANITA                                                              BAYAMON             PR         00956
   282214 LUIS A DE JESUS MENDEZ                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282215 LUIS A DE JESUS OLMO                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282216 LUIS A DE JESUS ORTIZ                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282217 LUIS A DE JESUS PAGAN                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282218 LUIS A DE JESUS RAMOS                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700505 LUIS A DE JESUS RODRIGUEZ                   PO BOX 2123                                                                                                           SALINAS             PR         00751
   700506 LUIS A DE JESUS RONDON                      4TA EXT SECCION LEVITTOWN   P 15 CALLE LUZ OESTE                                                                      TOA BAJA            PR         00949
   700508 LUIS A DE JESUS SANCHEZ                     URB CONSTANCIA              1807 PASEO LAS COLONIAS                                                                   PONCE               PR         00717‐2235
   282219 LUIS A DE LA ROSA RIVERA                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282221 LUIS A DE PABLO VAZQUEZ                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700510 LUIS A DEL RIO MARTINEZ                     P O BOX 30482               65 INF STATION                                                                            RIO PIDRAS          PR         00929
   700511 LUIS A DEL TORO ROMEU                       HC 02 BOX 12060                                                                                                       LAJAS               PR         00667
   700512 LUIS A DEL VALLE DIAZ                       URB ZALAZAR 21              CALLE 1                                                                                   PONCE               PR         00731
   282222 LUIS A DEL VALLE VELEZ                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282223 LUIS A DELGADO ALVARADO                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282224 LUIS A DELGADO BRUNO                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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MML ID                 NAME                                     ADDRESS 1                   ADDRESS 2               ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  282225 LUIS A DELGADO CADIZ                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282226 LUIS A DELGADO CARTAGENA                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282227 LUIS A DELGADO GARCIA                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700514 LUIS A DELGADO LOPEZ                         URB VILLA RITA             F 37 CALLE 3                                                                       SAN SEBASTIAN     PR         00685
  282228 LUIS A DELGADO NUNEZ                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700515 LUIS A DELGADO PAGAN                         HC 01 BOX 6200                                                                                                YAUCO             PR         00698
         LUIS A DELGADO RODRIGUEZ /
  282229 ALAS                                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700516 LUIS A DELIZ CORCHADO                        BOX 196                                                                                                       QUEBRADILLAS      PR         00678
  282230 LUIS A DIAZ                                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700520 LUIS A DIAZ BADIAS                           HC 01 BOX 6288                                                                                                GUAYNABO          PR         00971‐9546
  282232 LUIS A DIAZ CORTES                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700522 LUIS A DIAZ DAVILA                           P O BOX 372                                                                                                   JAYUYA            PR         00664
  282234 LUIS A DIAZ DE JESUS                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282236 LUIS A DIAZ DUCHESNE                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700524 LUIS A DIAZ HERNANDEZ                        URB PONCE DE LEON          225 CALLE 25                                                                       GUAYNABO          PR         00969
  700525 LUIS A DIAZ REYES                            PO BOX 21286                                                                                                  SAN JUAN          PR         00928
  700526 LUIS A DIAZ RIVERA                           PO BOX 1402                                                                                                   AIBONITO          PR         00705
  282237 LUIS A DIAZ RODRIGUEZ                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700528 LUIS A DIAZ RUIZ                             PO BOX 1319                                                                                                   TOA ALTA          PR         00977
  282239 LUIS A DIAZ TORRES                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282241 LUIS A DIAZ VARGAS                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700531 LUIS A DUANY BLANCO                          URB COLLEGE PARK           1798 B 4 CALLE ALCALA                                                              SAN JUAN          PR         00921
  700533 LUIS A DUPEROY SANTIAGO                      PO BOX 2427                                                                                                   ARECIBO           PR         00613‐2427
  700534 LUIS A DUPREY FIGUEROA                       URB REINA DE LOS ANGELES   D 2 CALLE 7                                                                        GURABO            PR         00778
  282242 LUIS A ECHEVARRIA BEZA                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700535 LUIS A ECHEVARRIA ROMAN                      CARR 572 5970                                                                                                 SABANA SECA       PR         00952
  700536 LUIS A ECHEVARRIA YANTIN                     URB VISTA ALEGRE           611 CALLE ORQUIDEAS                                                                VILLALBA          PR         00766
  700539 LUIS A ESBRI TARDY                           PO BOX 821                                                                                                    YAUCO             PR         00698
         LUIS A ESCALERA PADILLA Y
  282243 JUANA M ROMÁN                                REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700540 LUIS A ESCOBAR FELIX                         URB BLONDET                15 CARR 3                                                                          GUAYAMA           PR         00784
  282244 LUIS A ESQUILIN                              REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282245 LUIS A ESTEVES GONZALEZ                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700543 LUIS A ESTEVES INC                           PO BOX 361325                                                                                                 SAN JUAN          PR         00936
  700544 LUIS A ESTREMERA RUIZ                        PO BOX‐1142                                                                                                   VILLALBA          PR         00766
  282247 LUIS A FALTO CRUZ                            REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282248 LUIS A FARIS ELBA                            REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700545 LUIS A FEBLES GONZALEZ                       20 RESD DE PONCE ANGOLA                                                                                       PONCE             PR         00731
  700546 LUIS A FEBOS PASTRANA                        PO BOX 1011                                                                                                   CANOVANAS         PR         00729
  282249 LUIS A FEBRES FEBRES                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700547 LUIS A FEBUS RIVERA                          URB SANTA MARIA            F 18 CALLE 7                                                                       CEIBA             PR         00735
         LUIS A FELICIANO / DORIS M
  282250 MARTINEZ                                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700549 LUIS A FELICIANO CARRERA                     P O BOX 362049                                                                                                SAN JUAN          PR         00936‐2049
  282251 LUIS A FELICIANO CRUZ                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282252 LUIS A FELICIANO FONTANEZ                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700551 LUIS A FELICIANO GONZALEZ                    93 CALLE DEGESTAU                                                                                             SALINAS           PR         00751

   700552 LUIS A FELICIANO HERNANDEZ                  P O BOX 9020268                                                                                               SAN JUAN          PR         00902‐0268
   700185 LUIS A FELICIANO MALAVE                     HC 2 BOX 7045                                                                                                 RINCON            PR         00677

   282253 LUIS A FELICIANO MALDONADO                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  282254 LUIS A FELICIANO RAMOS                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700553 LUIS A FELICIER LOPEZ                        URB LOIZA VALLEY          379 CALLE MADRE SELVA                                                              CANOVANAS         PR         00729
  700554 LUIS A FELIU OTERO                           PO BOX 5162                                                                                                  CAYEY             PR         00737
  282255 LUIS A FELIX FELICIANO                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700555 LUIS A FERNANDEZ ALLICOCK                    PO BOX 810232                                                                                                CAROLINA          PR         00981

   700556 LUIS A FERNANDEZ DOMENECH                   P O BOX 1768                                                                                                 CABO ROJO         PR         00623
   700557 LUIS A FERNANDEZ MARTINEZ                   HC 1 BOX 6670                                                                                                AGUAS BUENAS      PR         00703
   282256 LUIS A FERNANDEZ PENA                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   282257 LUIS A FERNANDEZ RAMOS                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   700558 LUIS A FERNANDEZ SANTIAGO                   PO BOX 465                                                                                                   MERCEDITA         PR         00715
   700559 LUIS A FERRAO DELGADO                       PO BOX 22388                                                                                                 SAN JUAN          PR         00931
   282259 LUIS A FERRER FIGUEROA                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   700560 LUIS A FERRER NIEVES                        HC 4 BOX 46570                                                                                               AGUADILLA         PR         00603
   282262 LUIS A FERRER TORRES                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   282263 LUIS A FIELDS AROSEMENA                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   700561 LUIS A FIGUEROA                             140 URB SANTA MARIA                                                                                          SABANA GRANDE     PR         00637
   282264 LUIS A FIGUEROA AYALA                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   700562 LUIS A FIGUEROA CABRERA                     URB LIRIOS DEL SUR A 17   CALLE 1 PLAZA                                                                      PONCE             PR         00731

   700563 LUIS A FIGUEROA CANDELARIA                  JARD DE BUENA VISTA       G 2 CALLE G                                                                        CAROLINA          PR         00985
   282265 LUIS A FIGUEROA CARABALLO                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   700564 LUIS A FIGUEROA COLON                       URB VALLE DEL PARAISO     D 11 CALLE 1                                                                       COAMO             PR         00769
   700565 LUIS A FIGUEROA CORREA                      P O BOX 129                                                                                                  VILLALBA          PR         00766
   282266 LUIS A FIGUEROA CRESPO                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   700164 LUIS A FIGUEROA IRIZARRY                    PO BOX 1095                                                                                                  NAGUABO           PR         00718
   700566 LUIS A FIGUEROA IRIZARRY                    PO BOX 2477                                                                                                  SAN GERMAN        PR         00683
   282268 LUIS A FIGUEROA LOPEZ                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   700567 LUIS A FIGUEROA PEREZ                       H C 5 BOX 61745                                                                                              CAGUAS            PR         00725
   282269 LUIS A FIGUEROA REYES                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   282270 LUIS A FIGUEROA ROJAS                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   700568 LUIS A FIGUEROA ROMAN                       URB VALENCIA              543 C / ASTORGA                                                                    SAN JUAN          PR         00923
   282271 LUIS A FIGUEROA SANCHEZ                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   282272 LUIS A FIGUEROA SANTOS                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   282273 LUIS A FIGUEROA TORRES                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   282274 LUIS A FIGUEROA VAN‐RHYN                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   282275 LUIS A FIGUEROA VILLANUEVA                  REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          LUIS A FIGUEROA Y TANIA E
   282276 RODRIGUEZ                                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   282278 LUIS A FLECHA SANTIAGO                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   700571 LUIS A FLORAN SANCHEZ                       PO BOX 12                                                                                                    TOA ALTA          PR         00954
          LUIS A FLORES / EQ PIRATA
   700572 DOBLE A C ROJO                              13 CALLE MACEO                                                                                               CABO ROJO         PR         00623
   282279 LUIS A FLORES BELLINO                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   282280 LUIS A FLORES BONILLA                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          LUIS A FLORES COLON/SONIA M
   700573 MATOS ROSADO                                PO BOX 2400‐197                                                                                              AIBONITO          PR         00705
   700574 LUIS A FLORES CORONEL                       PO BOX 1316                                                                                                  TOA ALTA          PR         00954
   700576 LUIS A FLORES GONZALEZ                      PARC FALU                 292 CALLE 34                                                                       SAN JUAN          PR         00924
   282282 LUIS A FLORES MARTINEZ                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   282283 LUIS A FLORES MUNIZ                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   282284 LUIS A FLORES NAZARIO                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED



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  700577 LUIS A FLORES RIVERA                          URB CONDADO MODERNO           L 44 CALLE 17                                                                            CAGUAS            PR         00725
  282285 LUIS A FONSECA FIGUEROA                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282286 LUIS A FONSECA MELENDEZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700578 LUIS A FONT RAMIREZ                           PO BOX 194                                                                                                             AGUADILLA         PR         00605
  282287 LUIS A FONTANEZ                               REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282288 LUIS A FONTANEZ PEREZ                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282289 LUIS A FONTANEZ VELAZQUEZ                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700580 LUIS A FORESTIER                              68 B URB ESTEVES                                                                                                       AGUADILLA         PR         00603
  282290 LUIS A FRAGUADA PEREZ                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         LUIS A FRANCESHINI Y AIDA E
  282291 FRANCESCHINI                                  REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700582 LUIS A FRANCIS MARCON                         PO BOX 3473                                                                                                            CAROLINA          PR         00984 3473
  700584 LUIS A FRANQUI ROMAN                          HC 3 BOX 9878                                                                                                          CAMUY             PR         00627
  700586 LUIS A FREIRE PEREZ                           COOP LOS ROBLES               APTO 708 A                                                                               SAN JUAN          PR         00927
  282292 LUIS A FRONTERA DAVILA                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282293 LUIS A FUENTES TORRES                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282294 LUIS A FUSTE LACOURT                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700589 LUIS A GALARCE BERNARDY                       8 GAUTIER BENITEZ                                                                                                      CIDRA             PR         00739‐2888
         LUIS A GALARZA /H/N/C
  700590 TROPICAL QUALITY                              PO BOX 1771                                                                                                            MANATI            PR         00674‐1771
  700592 LUIS A GALINDO ROSADO                         H C 10 BOX 8570                                                                                                        SABANA GRANDE     PR         00637
  282295 LUIS A GANDIA PORTELA                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         LUIS A GARAY RODRIGUEZ Y
  700593 YUBET TORRES                                  PO BOX 2891                   VALLE ARRIBA HEIGHT                                                                      CAROLINA          PR         00984
                                                       SANTA MARIA MEDICAL           450 CALLE FERROCARRIL SUITE
   700594 LUIS A GARCIA BARRETO                        BUILDING                      126                                                                                      PONCE             PR         00731
   700169 LUIS A GARCIA BENITEZ                        URB COUNTRY CLUB              879 CALLE FLAMINGO                                                                       SAN JUAN          PR         00924

   700595 LUIS A GARCIA CENTENO                        URB COSTA DEL ATLANTICO 111   CALLE PLAYERA                                                                            ARECIBO           PR         00612
   700596 LUIS A GARCIA COLON                          P O BOX 694                                                                                                            GURABO            PR         00778
   282296 LUIS A GARCIA DOMINGUEZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282298 LUIS A GARCIA FELIX                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700597 LUIS A GARCIA GARCIA                         PO BOX 464                                                                                                             GUAYAMA           PR         00785
   282300 LUIS A GARCIA LOPEZ                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700598 LUIS A GARCIA MARCANO                        PO BOX 424                                                                                                             GURABO            PR         00778
   282301 LUIS A GARCIA MORALES                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282302 LUIS A GARCIA NAVAREZ                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700601 LUIS A GARCIA OCASIO                         URB QUINTAS DE CABO ROJO      150 CALLE RUISE¨OR                                                                       CABO ROJO         PR         00623
   282303 LUIS A GARCIA ORTIZ                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700602 LUIS A GARCIA PACHECO                        P O BOX 391                                                                                                            YAUCO             PR         00698
   700604 LUIS A GARCIA RIVERA                         HC 763 BOX 3691                                                                                                        PATILLAS          PR         00723
   282304 LUIS A GARCIA RODRIGUEZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282305 LUIS A GARCIA ROLON                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282306 LUIS A GARCIA ROSARIO                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   700609 LUIS A GARCIA VAZQUEZ        PARQ MONTERREY III                            160 CALLE MONTERREY APT 132                                                              PONCE             PR         00717‐1346
   282309 LUIS A GARCIA ZAYAS          REDACTED                                      REDACTED                    REDACTED                              REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUIS A GERENA/ DYNAMIC SOLAR
   282311 SOLUTIONS                    PO BOX 29155                                                                                                                           SAN JUAN          PR         00929‐0115
   282312 LUIS A GOMEZ DIAZ            REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282313 LUIS A GOMEZ PEREZ           REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700170 LUIS A GONZALEZ              URB LA VISTA K 6                              VIA LAS ALTURAS                                                                          SAN JUAN          PR         00924
   700613 LUIS A GONZALEZ              HC 03 BOX 30891                                                                                                                        AGUADA            PR         00602



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  282314 LUIS A GONZALEZ AGUAYO                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  700616 LUIS A GONZALEZ ALGARIN                      URB EL VIVERO             F 11 CALLE 7                                                                            GURABO              PR         00778
  700617 LUIS A GONZALEZ AVILES                       JARD DE LA FUENTE         173 CALLE WASHINGTON                                                                    TOA ALTA            PR         00953
  282315 LUIS A GONZALEZ BAQUE                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   700618 LUIS A GONZALEZ BOSQUE                      LAS MONJAS                156 CALLE PRUDENCIO RIVERA                                                              HATO REY            PR         00917
          LUIS A GONZALEZ C/O LCDO
   700619 MANUEL SUAREZ                               P O BOX 267                                                                                                       PUERTO REAL         PR         00740
   282316 LUIS A GONZALEZ CAMACHO                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700620 LUIS A GONZALEZ CANCEL                      P O BOX 1123                                                                                                      TRUJILLO ALTO       PR         00977
   700621 LUIS A GONZALEZ COTTO                       HC 02 BOX 10082                                                                                                   GUAYNABO            PR         00971
   700622 LUIS A GONZALEZ CRUZ                        PUERTO REAL               947 CALLE URAYOAN                                                                       CABO ROJO           PR         00623
   700623 LUIS A GONZALEZ CURBERLO                    BO SAN DANIEL             1783 CALLE SAN DANIEL                                                                   ARECIBO             PR         00612
   700624 LUIS A GONZALEZ DELGADO                     P O BOX 526                                                                                                       YAUCO               PR         00698
   282318 LUIS A GONZALEZ FELICIANO                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282320 LUIS A GONZALEZ FIGUEROA                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700625 LUIS A GONZALEZ GANDIA                      JARDINES DE JAYUYA        191 CALLE GLADIOLA                                                                      JAYUYA              PR         00664‐1611
   282321 LUIS A GONZALEZ GONZALEZ                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   700628 LUIS A GONZALEZ HERNANDEZ                   HC 3 BOX 18079                                                                                                    QUEBRADILLAS        PR         00678
   700629 LUIS A GONZALEZ LASALLE                     PO BOX 250407                                                                                                     AGUADILLA           PR         00604‐0407
   700630 LUIS A GONZALEZ LOPEZ                       EDIF BO OBRERO            922 CALLE CARIBE APT 922                                                                ARECIBO             PR         00612
   700632 LUIS A GONZALEZ LUNA                        220THROOP AVE APT 4G                                                                                              BROOKLYN            NY         11206

   282324 LUIS A GONZALEZ MAISONAVE                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282325 LUIS A GONZALEZ MATOS                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700636 LUIS A GONZALEZ MILLAN                      URB EL TORITO             G 8 CALLE 5                                                                             CAYEY               PR         00736
   700637 LUIS A GONZALEZ MOLINA                      URB VIRGINIA VALLEY 723   VALLE DEL ESTE                                                                          JUNCOS              PR         00777
   700638 LUIS A GONZALEZ MORALES                     URB VILLA ASTURIAS        30 30 CALLE PRAVIA                                                                      CAROLINA            PR         00983
   700639 LUIS A GONZALEZ NATAL                       HC 01 BOX 3802                                                                                                    FLORIDA             PR         00650
   282326 LUIS A GONZALEZ NIEVES                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282327 LUIS A GONZALEZ NU¥EZ                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700641 LUIS A GONZALEZ ORTIZ                       PO BOX 525                                                                                                        SANTA ISABEL        PR         00757
   282328 LUIS A GONZALEZ PLAZA                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282330 LUIS A GONZALEZ REY                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282331 LUIS A GONZALEZ REYES                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282334 LUIS A GONZALEZ RIOS                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700647 LUIS A GONZALEZ RIVERA                      D 86 VILLA ORIENTE                                                                                                HUMACAO             PR         00791

   282335 LUIS A GONZALEZ RODRIGUEZ                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   700171 LUIS A GONZALEZ RODRIGUEZ                   HC 01 BUZON 6066          BARRIO PASTO                                                                            AIBONITO            PR         00705
   700172 LUIS A GONZALEZ ROLON                       HC 1 BOX 5550                                                                                                     SALINAS             PR         00751
   282337 LUIS A GONZALEZ ROMAN                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282338 LUIS A GONZALEZ ROSADO                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282340 LUIS A GONZALEZ SANTIAGO                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282341 LUIS A GONZALEZ SANTOS                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282342 LUIS A GONZALEZ SERRANO                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700651 LUIS A GONZALEZ SIERRA                      HC 02 BOX 6899                                                                                                    JAYUYA              PR         00664 9604
   282343 LUIS A GONZALEZ SOLA                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282344 LUIS A GONZALEZ SOLER                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282345 LUIS A GONZALEZ TORRES                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282346 LUIS A GOYTIA DE JESUS                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  282348 LUIS A GRAULAU BURGOS                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282349 LUIS A GREEN DIAZ                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  700656 LUIS A GREEN VILCHES                         QUINTAS DE JAGUEYES          BOX 493                                                                                AGUAS BUENAS       PR         00703
  282352 LUIS A GUARDADO DIAZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  700657 LUIS A GUARDIOLA RIVERA                      URB ENTRE ER                 47 VIA ENRAMADA                                                                        TRUJILLO ALTO      PR         00976
  700658 LUIS A GUEVARA                               HC 30 BOX 33015                                                                                                     SAN LORENZO        PR         00754
                                                                                   458 CALLE JOSE A CNLS URB
   700660 LUIS A GUTIERREZ                            AVE ROOSEVELT                ROOSEVELT                                                                              SAN JUAN           PR         00918
   700661 LUIS A GUTIERREZ FRATICELLI                 PO BOX 240                                                                                                          SANTA ISABEL       PR         00757
          LUIS A GUZMAN & SERVICIO DE
   700662 GRUAS GUZMAN                                PO BOX 955                                                                                                          COTTO LAUREL       PR         00780
   700664 LUIS A GUZMAN DIAZ                          COND GIRASOLES               1 302                                                                                  SAN JUAN           PR         00923
   282354 LUIS A GUZMAN FLORES                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   700665 LUIS A GUZMAN GUZMAN                        78 CALLE MIRADERO                                                                                                   UTUADO             PR         00641
   700666 LUIS A GUZMAN IZQUIERDO                     RR 4 BOX 564                                                                                                        BAYAMON            PR         00957
   282355 LUIS A GUZMAN LUGO                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   282356 LUIS A GUZMAN RUIZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   700668 LUIS A HERMINA GONZALEZ                     URB PUERTO NUEVO             1128 CALLE BAHIA                                                                       SAN JUAN           PR         00920
   700669 LUIS A HERNANDEZ ACEVEDO                    PO BOX 370                                                                                                          RINCON             PR         00677
   282357 LUIS A HERNANDEZ BARRETO                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   282358 LUIS A HERNANDEZ CHEVERE                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   700670 LUIS A HERNANDEZ COLLAZO                    832 CALLE RICARDO ARROYO                                                                                            DORADO             PR         00646
   282359 LUIS A HERNANDEZ COLON                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   282360 LUIS A HERNANDEZ CORCINO                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   282361 LUIS A HERNANDEZ CRUZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   282362 LUIS A HERNANDEZ DAVILA                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   700671 LUIS A HERNANDEZ DEGOS                      HC 4 BOX 17395                                                                                                      CAMUY              PR         00627 9998

   282363 LUIS A HERNANDEZ HERNANDEZ                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   282364 LUIS A HERNANDEZ HERRERA                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   700672 LUIS A HERNANDEZ JAIME                      272 URB CRISTAL                                                                                                     AGUADILLA          PR         00603
   282365 LUIS A HERNANDEZ MORALES                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   700676 LUIS A HERNANDEZ NEGRON                     P O BOX 840                                                                                                         JUNCOS             PR         00777
   700677 LUIS A HERNANDEZ NIEVES                     RR 4 BOX 26996                                                                                                      TOA ALTA           PR         00953
   282367 LUIS A HERNANDEZ PEREZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   282368 LUIS A HERNANDEZ RENTAS                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   700678 LUIS A HERNANDEZ REVERON                    158 CALLE NEMESIO GONZALEZ                                                                                          MOCA               PR         00676

   282370 LUIS A HERNANDEZ RODRIGUEZ                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   282371 LUIS A HERNANDEZ ROMAN                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   282372 LUIS A HERNANDEZ UBIES                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   282373 LUIS A HERRERA RODRIGUEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   282374 LUIS A HIRALDO CARRASQUILLO                 REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   282375 LUIS A HIRALDO FLECHA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   700684 LUIS A HOYOS GONZALEZ                       HC 01 BOX 4577                                                                                                      ADJUNTAS           PR         00601
   700686 LUIS A HUERTAS OJEDA                        RR 8 BOX 1995 P M B 247                                                                                             BAYAMON            PR         00956 9676
   700687 LUIS A HUGGINS COUVERTIER                   JARDINES DE BORINQUEN        W 22 CALLE ROSA                                                                        CAROLINA           PR         00985
   700688 LUIS A IBARRA CINTRON                       URB ARROYO DEL MAR           236 CALEL CARIBE                                                                       ARROYO             PR         00714
   282376 LUIS A IRIZARRY                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   282377 LUIS A IRIZARRY BONILLA                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   282378 LUIS A IRIZARRY COTTO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  700691 LUIS A IRIZARRY DUPREY                       PO BOX 2626                                                                                                   SAN SEBASTIAN      PR         00685
  700692 LUIS A IRIZARRY FLORES                       HC 2 BOX 13792                                                                                                LAJAS              PR         00667
  700693 LUIS A IRIZARRY IRIZARRY                     URB MARIANI                 2150 CALLE ESPERANZA                                                              PONCE              PR         00717‐0111
  700694 LUIS A IRIZARRY MONTALVO                     PO BOX 23                                                                                                     LAJAS              PR         00667‐0023
  700695 LUIS A IRIZARRY ORTIZ                        COM LA MAQUINA              HC 10 BOX 80                                                                      SABANA GRANDE      PR         00637
  700696 LUIS A IRIZARRY QUINTERO                     URB DOS PINOS               840 C/ DIANA                                                                      SAN JUAN           PR         00923
  282379 LUIS A IRIZARRY SANTANA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282380 LUIS A IRRIZARY GUZMAN                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  700698 LUIS A ISLAND EUSEBIO                        URB VICTORIA                355 FIGUEROA                                                                      RIO PIEDRAS        PR         00923
  282381 LUIS A ITARA DELIZ                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  700699 LUIS A ITURRINO MERCADO                      URB SAN GERARDO             1645 CALLE ANAPOLIS                                                               SAN JUAN           PR         00926
  700700 LUIS A JIMENEZ ALVAREZ                       HC 03 BOX 10341                                                                                               CAMUY              PR         00627
  282382 LUIS A JIMENEZ BENITEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282383 LUIS A JIMENEZ COLON                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  700260 LUIS A JIMENEZ CRESPO                        PO BOX 4995                                                                                                   SAN SEBASTIAN      PR         00685
  700701 LUIS A JIMENEZ DAVILA                        VILLA CAROLINA              53‐11 CALLE 24                                                                    CAROLINA           PR         00985
  282384 LUIS A JIMENEZ MONROIG                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282385 LUIS A JIMENEZ RODRIGUEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282386 LUIS A JIMENEZGUZMAN                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  700703 LUIS A JIRAU COLON                           HC 2 BOX 5724                                                                                                 LARES              PR         00669
  700704 LUIS A JUARBE SANTIAGO                       PO BOX 190072                                                                                                 SAN JUAN           PR         00919
  700705 LUIS A JUSINO GONZALEZ                       49 A CALLE 25 DE JULIO                                                                                        SABANA GRANDE      PR         00637
  282387 LUIS A JUSINO MORENO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282388 LUIS A LABOY                                 REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  700710 LUIS A LABOY LABOY                           HC 4 BOX 4607                                                                                                 HUMACAO            PR         00791
  282389 LUIS A LABOY MELENDEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282390 LUIS A LABOY TORRES                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  700711 LUIS A LAGARES MORALES                       PO BOX 393                                                                                                    ADJUNTAS           PR         00601
  282391 LUIS A LAJARA ORTIZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  700712 LUIS A LANDA MENENDEZ                        URB ALTURAS DE REMANSO      M 3 CALLE CANADA                                                                  SAN JUAN           PR         00926
  700713 LUIS A LARA FONTANEZ                         MONTE FLORES                459 CALLE 12                                                                      SAN JUAN           PR         00915‐3624
  282392 LUIS A LASALLE MENDEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282393 LUIS A LASSALA ORENGO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  700715 LUIS A LATORRE CARDONA                       URB VILLA BORINQUEN         BZN 380                                                                           LARES              PR         00669
  282394 LUIS A LEBRON GARCIA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282395 LUIS A LEBRON SERRANO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282396 LUIS A LEON ALVARADO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282397 LUIS A LEON CARRION                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282398 LUIS A LEON DE JESUS                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282399 LUIS A LEON MATHUE                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282400 LUIS A LICIAGA ACEVEDO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282401 LUIS A LIND HERNANDEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   700720 LUIS A LIZARDI ADORNO                       URB BONNEVILLE GARDENS G1   CALLE 6                                                                           CAGUAS             PR         00725
   700721 LUIS A LIZARDI BALDAGUEZ                    MANSIONES DE VILLANOVA      22 CALLE CE 1                                                                     SAN JUAN           PR         00926
   282402 LUIS A LLANOS SIERRA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   700722 LUIS A LLORENS                              URB VALLE VERDE             954 CALLE ARBOLADA                                                                PONCE              PR         00716
   700723 LUIS A LOPERENA GONZALEZ                    P O BOX 1568                                                                                                  MOCA               PR         00676
   700724 LUIS A LOPEZ BAEZ                           HC 69 BOX 16178 SUITE 1                                                                                       BAYAMON            PR         00956
   282405 LUIS A LOPEZ CARDONA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   700725 LUIS A LOPEZ CARRASQUILLO                   P O BOX 872                                                                                                   GURABO             PR         00778
   700726 LUIS A LOPEZ CASTRO                         PAMPANOS BOX 7670                                                                                             PONCE              PR         00732
   700727 LUIS A LOPEZ COLON                          PARC 12 BO PALO HINCADO                                                                                       BARRANQUITAS       PR         00794



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  282406 LUIS A LOPEZ CRUZ                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700729 LUIS A LOPEZ ESTREMERA                       HC 3 BOX 12451                                                                                                   CAMUY             PR         00627
  282409 LUIS A LOPEZ HERNANDEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282410 LUIS A LOPEZ LOPEZ                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700735 LUIS A LOPEZ MORALES                         ZENO GANDIA                  EDIF A 11 APTO 227                                                                  ARECIBO           PR         00612
  700736 LUIS A LOPEZ NIEVES                          HC 71 BOX 3306                                                                                                   NARANJITO         PR         00719‐9714
  700739 LUIS A LOPEZ ORTIZ                           P O BOX 1011                                                                                                     CAYEY             PR         00737
  282412 LUIS A LOPEZ PADILLA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282413 LUIS A LOPEZ REYES                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   700740 LUIS A LOPEZ RIVERA                         HC 01 BOX 6127 BO COLLORES                                                                                       LAS PIEDRAS       PR         00771
   282415 LUIS A LOPEZ RODRIGUEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700749 LUIS A LOPEZ ROQUE                          URB ROUND HILLS              1418 CALLE ALELI                                                                    TRUJILLO ALTO     PR         00976
   700751 LUIS A LOPEZ SANTIAGO                       8400 AVE LOS JOBOS                                                                                               ISABELA           PR         00662
   282417 LUIS A LOPEZ SCHRODER                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282418 LUIS A LOPEZ SEIJO                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700752 LUIS A LOPEZ SERRANO                        BO ARENAS P O BOX 960                                                                                            CIDRA             PR         00739
   700753 LUIS A LOPEZ SOLIVAN                        PO BOX 739                                                                                                       AIBONITO          PR         00705
   282419 LUIS A LOPEZ TORRES                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282420 LUIS A LOPEZ VELAZQUEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282422 LUIS A LORENZO SALINAS                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282423 LUIS A LOZADA GONZALEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282424 LUIS A LOZADA HERNANDEZ                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282425 LUIS A LOZADA RODRIGUEZ                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700756 LUIS A LOZADA ROSARIO                       PO BOX 1415                                                                                                      RIO GRANDE        PR         00745
   282426 LUIS A LOZADA TUAS                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282427 LUIS A LUCIANO FIGUEROA                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700757 LUIS A LUCIANO RAMOS                        299 RUTA 475                                                                                                     ISABELA           PR         00662‐4604
          LUIS A LUCIANO Y/O EQUIPO                   FEMENINO LASTURISTAS CABO
   282428 BALONCESTO SUP                              ROJO                         BO GALATEO ALTO          BOX 475‐299                                                ISABEL            PR         00662
   700758 LUIS A LUGO ARENAS                          URB STA ELENA                B 12 CALLE 12                                                                       YABUCOA           PR         00767
   282429 LUIS A LUGO GARCIA                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700759 LUIS A LUGO MIRANDA                         HC 01 BOX 8011                                                                                                   SAN GERMAN        PR         00683
   282430 LUIS A LUGO PEREZ                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282431 LUIS A LUGO ROSARIO                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700760 LUIS A LUGO SANTANA                         HC 02 BOX 11321                                                                                                  SAN GERMAN        PR         00683
   700761 LUIS A LUGO SANTIAGO                        HC 01 BOX 6822                                                                                                   GUAYANILLA        PR         00656 9724
   282432 LUIS A LUGO VAZQUEZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282433 LUIS A LUGO VELEZ                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700763 LUIS A LUNA MELENDEZ                        TREASURE VALLEY              J 3 LAS AMERICAS                                                                    CIDRA             PR         00739
   282434 LUIS A LUNA MIRANDA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282436 LUIS A LUNA ORTIZ                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700764 LUIS A LUNA SANTIAGO                        RES CARIOCA                  EDF 10 APT 76                                                                       GUAYAMA           PR         00784
   282437 LUIS A MALAVE PELLOT                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700766 LUIS A MALAVE ROSARIO                       BDA NUEVA C 7                P O BOX 874                                                                         VILLALBA          PR         00766

   282438 LUIS A MALDONADO CABRERA                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   282439 LUIS A MALDONADO COLLADO                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      URB TOMAS CARRION
   700767 LUIS A MALDONADO COLON                      MALDONADO                    87 CALLE 7                                                                          JUANA DIAZ        PR         00795

   700768 LUIS A MALDONADO GONZALEZ HACIENDA LA MATILDE                            5026 CALLE CARRETA                                                                  PONCE             PR         00728‐2401



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  282440 LUIS A MALDONADO IRIZARY                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   700771 LUIS A MALDONADO MARTINEZ                   PO BOX 10203                                                                                                    PONCE               PR         00732
   700772 LUIS A MALDONADO PAGAN                      PO BOX 532                                                                                                      VILLALBA            PR         00766
   700773 LUIS A MALDONADO RIVERA                     URB SAN ANTONIO          2314 CALLE DANIELA                                                                     PONCE               PR         00728

   282443 LUIS A MALDONADO RODRIGUEZ REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282444 LUIS A MALDONADO SOSIAS    REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282445 LUIS A MALDONADO ZAYAS     REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700777 LUIS A MANCEBO ORTIZ       STA JUANITA                               WT 15 CALLE FRESNO                                                                     BAYAMON             PR         00956
   700173 LUIS A MANZANO CRUZ        PO BOX 1249                                                                                                                      JAYUYA              PR         00664
   700778 LUIS A MARCANO COSME       RR 36 BOX 8009                                                                                                                   SAN JUAN            PR         00926
   700779 LUIS A MARIN ALICEA        PO BOX 914                                                                                                                       FAJARDO             PR         00738
          LUIS A MARIN RIOS / MAXIMO
   282446 SOLAR                      INDUSTRIES                                2066 PUNTA DIAMANTE                                                                    PONCE               PR         00728

   700781 LUIS A MARQUEZ MORALES                      URB LAS VEGAS            BOX 26705 CALLE ISABEL COLON                                                           CAYEY               PR         00736
   282447 LUIS A MARQUEZ RIVERA                       REDACTED                 REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282448 LUIS A MARQUEZ RUIZ                         REDACTED                 REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282449 LUIS A MARQUEZ VARELA                       REDACTED                 REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700783 LUIS A MARQUEZ VAZQUEZ                      HC 4 BOX 6673                                                                                                   COMERIO             PR         00782
   282450 LUIS A MARRERO                              REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   282451 LUIS A MARRERO ALBALADEJO                   REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282453 LUIS A MARRERO LUGO                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282454 LUIS A MARRERO RAMOS                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282456 LUIS A MARRERO VAZQUEZ                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700786 LUIS A MARTEL CORDERO                       URB METROPOLIS           206 CALLE ISLE¨O                                                                       CAROLINA            PR         00723‐0512
   282457 LUIS A MARTI CARRION                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700787 LUIS A MARTINEZ                             P O BOX 50807                                                                                                   TOA BAJA            PR         00950‐0807
   282458 LUIS A MARTINEZ AVILES                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282459 LUIS A MARTINEZ BARROSO                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700791 LUIS A MARTINEZ BORROTO                     COND TORRES DEL PARQUE   TORRE SUR APT 1511                                                                     BAYAMON             PR         00956
   282460 LUIS A MARTINEZ BURGOS                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282461 LUIS A MARTINEZ CAMACHO                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700792 LUIS A MARTINEZ CAMARA                      HC 02 BOX 5867                                                                                                  RINCON              PR         00677
   282462 LUIS A MARTINEZ COLON                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700796 LUIS A MARTINEZ CRUZ                        BRISAS DE CANOVANAS      13 CALLE HALCON                                                                        CANOVANAS           PR         00729‐2147
   282464 LUIS A MARTINEZ DIAZ                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700797 LUIS A MARTINEZ FELICIANO                   PO BOX 191118                                                                                                   SAN JUAN            PR         00919‐1118
   282466 LUIS A MARTINEZ GONZALEZ                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700798 LUIS A MARTINEZ GUEVARA                     P O BOX 1481                                                                                                    GUAYNABO            PR         00970

   700799 LUIS A MARTINEZ LARACUENTE                  PASEO DEL BOSQUE 2011    AVE SAGRADO CORAZON                                                                    SAN JUAN            PR         00915
   700800 LUIS A MARTINEZ LOPEZ                       HC 1 BOX 7486                                                                                                   SALINAS             PR         00751
   282467 LUIS A MARTINEZ MATIAS                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700790 LUIS A MARTINEZ MELENDEZ                    URB VILLA TABAIBA        139 CALLE CASIMAR                                                                      PONCE               PR         00716 1300
   700801 LUIS A MARTINEZ MOLINA                      URB LOMAS VERDES         4F24 CALLE ROBLE N                                                                     BAYAMON             PR         00956
   700802 LUIS A MARTINEZ MORALES                     URB VALLES DE GUAYAMA    CALLE J 8                                                                              GUAYAMA             PR         00784
   282470 LUIS A MARTINEZ OQUENDO                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700803 LUIS A MARTINEZ ORTEGA                      COND FLORIMAR GARDEN     APT D 302                                                                              SAN JUAN            PR         00926
   700804 LUIS A MARTINEZ OTERO                       HC 71 BOX 2183                                                                                                  NARANJITO           PR         00931
   700806 LUIS A MARTINEZ PUEYO                       HC 01 BOX 7412                                                                                                  YAUCO               PR         00698



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MML ID               NAME                                       ADDRESS 1                    ADDRESS 2                  ADDRESS 3                           ADDRESS 4               CITY        STATE    POSTAL CODE       COUNTRY
  700807 LUIS A MARTINEZ RAMIREZ                      PMB 224 BOX 4002                                                                                                  VEGA ALTA            PR         00692
  282471 LUIS A MARTINEZ RAMOS                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  700808 LUIS A MARTINEZ REMIGIO                      PO BOX 9023207                                                                                                    SAN JUAN             PR         00902‐3207
  282472 LUIS A MARTINEZ RIVERA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  282475 LUIS A MARTINEZ RODRIGUEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  700811 LUIS A MARTINEZ ROMAN                        HC 80 9358 RIO NUEVO                                                                                              DORADO               PR         00646
  700812 LUIS A MARTINEZ ROQUE                        URB CIUDAD UNIVERSITARIA    U 15 CALLE PELICANO                                                                   GUAYAMA              PR         00784
  700813 LUIS A MARTINEZ SEGARRA                      P O BOX 9024275                                                                                                   SAN JUAN             PR         00902‐4275
  282477 LUIS A MARTINEZ SUAREZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  282478 LUIS A MARTINEZ VARGAS                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  282479 LUIS A MARTINEZ VAZQUEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  282480 LUIS A MARTINEZ VELAZQUEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  282481 LUIS A MARXUACH GONZALEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  700814 LUIS A MARZAN SOTO                           URB JOSE MERCADO            88 A CALLE F D ROOSEVELT                                                              CAGUAS               PR         00725
  282482 LUIS A MATEO CAINS                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  700815 LUIS A MATEO MIRANDA                         HC 02 BOX 5961                                                                                                    COAMO                PR         00769
  282483 LUIS A MATEO REYES                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  282484 LUIS A MATEO SANTOS                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  282485 LUIS A MATIAS FLORENZANA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  700816 LUIS A MATOS GONZALEZ                        PO BOX 1595                                                                                                       AIBONITO             PR         00705
  282486 LUIS A MATOS MATOS                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  700818 LUIS A MATOS SANCHEZ                         1207 CALLE DEL CARMEN                                                                                             SAN JUAN             PR         00907
  282487 LUIS A MAYMI MEDINA                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  282488 LUIS A MAYSONET ALICEA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  700820 LUIS A MAZO AMILL                            6 AVE LAPORDE                                                                                                     GUAYAMA              PR         00784
  700821 LUIS A MEDINA AVILES                         H C 01 BOX 6870             BAJADERO                                                                              ARECIBO              PR         00616

   700822 LUIS A MEDINA CARRASQUILLO                  PMB 1223                    PO BOX 4956                                                                           CAGUAS               PR         00726‐4956
   282489 LUIS A MEDINA COLON                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   700823 LUIS A MEDINA COTTO                         HC 2 BOX 30290                                                                                                    CAGUAS               PR         00725
   282490 LUIS A MEDINA FONTANA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   700824 LUIS A MEDINA GAUD                          URB COUNTRY CLUB            977 CALLE MIRLO                                                                       SAN JUAN             PR         00924
   282491 LUIS A MEDINA IRIZARRY                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   282492 LUIS A MEDINA LEBRON                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   700825 LUIS A MEDINA MORALES                       BO CARMELITAS               BOX 19 CALLE 5                                                                        VEGA BAJA            PR         00693
   282493 LUIS A MEDINA MUNIZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   700827 LUIS A MEDINA NIEVES                        P O BOX 537                                                                                                       CANOVANAS            PR         00729
   282494 LUIS A MEDINA QUILES                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   282495 LUIS A MEDINA QUINONEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   282496 LUIS A MEDINA RIVERA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   282498 LUIS A MEDINA TORRES                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          LUIS A MEDINA VALENTIN
   700829 /CARMEN MEDINA                              BO BUBAO                    83 AVE ESTEVES                                                                        UTUADO               PR         00641
   700831 LUIS A MEJIAS RODRIGUEZ                     HC 07 BOX 35715                                                                                                   CAGUAS               PR         00725
   700832 LUIS A MEJIAS ROY                           P O BOX 9023916                                                                                                   SAN JUAN             PR         00902‐3916

   700833 LUIS A MELENDEZ                             ESTACION FERNANDEZ JUNCOS   PO BOX 11855                                                                          SAN JUAN             PR         00910‐4225
   700836 LUIS A MELENDEZ ARROYO                      BO CARMELITA                CALLE CAROLINA BOX 3                                                                  VEGA BAJA            PR         00693
   700839 LUIS A MELENDEZ MELENDEZ                    BO DAGUAO                   BZ 179                                                                                NAGUABO              PR         00718
   700835 LUIS A MELENDEZ NAVARRO                     APARTADO 9501                                                                                                     CAGUAS               PR         00726
   282500 LUIS A MELENDEZ ORTIZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   282501 LUIS A MELENDEZ RODRIGUEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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                                                                                 625 CALLE CENTAURO URB
   700842 LUIS A MELENDEZ SANTOS                      ALTAMIRA                   ALTAMIRA                                                                                SAN JUAN            PR           00920
   700843 LUIS A MELENDEZ TOLEDO                      COUNTRY CLUB               885 CALLE ESPIONCELA                                                                    SAN JUAN            PR           00924

   282502 LUIS A MELENDEZ VELAZQUEZ                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   282503 LUIS A MENDEZ BIROLA                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   282504 LUIS A MENDEZ MULERO                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   700845 LUIS A MENDEZ PEREZ                         URB EL COMANDANTE          1216 CALLE ANTONIO LUCIANO                                                              SAN JUAN            PR           00925
   282505 LUIS A MENDEZ RIOS                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   282508 LUIS A MENDEZ ROSADO                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   282509 LUIS A MENDEZ SANTOS                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   700847 LUIS A MENDEZ TORRES                        COUNTRY CLUB               MC 19 CALLE 400                                                                         CAROLINA            PR           00982

   700848 LUIS A MENENDEZ HENRIQUEZ                   URB BORINQUEN              H12 CALLE 6                                                                             CABO ROJO           PR           00623
   282510 LUIS A MERCADO CORDOVA                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   700850 LUIS A MERCADO JIMENEZ                      2208 CALLE SOLDADO CRUZ                                                                                            SAN JUAN            PR           00913
   282512 LUIS A MERCADO PACHECO                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   700852 LUIS A MERCADO RAMOS                        HC 03 BOX 9961                                                                                                     LARES               PR           00669
   282514 LUIS A MERCADO RIVERA                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   282517 LUIS A MERCADO SANTANA                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   700855 LUIS A MERCADO TORO                         BO PARIS HC 02 BOX 12244                                                                                           LAJAS               PR           00667
   282518 LUIS A MERCADO TORRES                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   282519 LUIS A MERCADO VELEZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   700856 LUIS A MERCED COTTO                         PO BOX 1354                                                                                                        CAYEY               PR           00737
   282520 LUIS A MILLAN SUSTACHE                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   700857 LUIS A MIRANDA ARCE                         HC 1 BOX 7611                                                                                                      LUQUILLO            PR           00773

   700858 LUIS A MIRANDA CONCEPCION                   105 PAYSON AVE                                                                                                     NEW YORK            NY           10034
   282522 LUIS A MIRANDA CRUZ                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   282523 LUIS A MIRANDA NIEVES                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   700174 LUIS A MIRANDA ORTIZ                        PO BOX 732                                                                                                         MANATI              PR           00674
   700175 LUIS A MIRANDA PEREZ                        BDA BUENA VISTA            207 CALLE B                                                                             SAN JUAN            PR           00917
   282524 LUIS A MIRANDA RIVERA                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   282525 LUIS A MLENDEZ MALDONADO                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   700860 LUIS A MOJICA CARRASQUILLO                  HC 1 BOX 6114                                                                                                      JUNCOS              PR           00777‐9710
   700861 LUIS A MOJICA GOITIA                        780 CALLE 41 SE                                                                                                    PUERTO NUEVO        PR           00920
   282526 LUIS A MOJICA GONZALEZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   282528 LUIS A MOLINA VELEZ                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUIS A MOLINARY / JOAQUIN A
   282529 MOLINARY                                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   282532 LUIS A MONGE RODRIGUEZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   700862 LUIS A MONTA¥EZ KENNEL                      SECTOR LOMA DEL VIENTO     123 C/ ALFONSO PELLOT                                                                   GUAYAMA             PR           00784
   700863 LUIS A MONTALVO                             URB BORINQUEN              E 38 CALLE PEDRO FLORES                                                                 CABO ROJO           PR           00623

   700865 LUIS A MONTALVO ANTEQUERAS HC 5 BOX 59885                                                                                                                      MAYAGUEZ            PR           00680
   282533 LUIS A MONTALVO BAEZ       REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   282534 LUIS A MONTANEZ DEL VALLE  REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   282535 LUIS A MONTANEZ MONTANEZ                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   282536 LUIS A MONTANEZ RIVERA                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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MML ID              NAME                                          ADDRESS 1                  ADDRESS 2                 ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  700867 LUIS A MONTES ACEVEDO                         P O BOX 21365                                                                                                   SAN JUAN          PR         00928
  282539 LUIS A MONTES COLON                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282540 LUIS A MONTES CORDERO                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282541 LUIS A MONTES FONSECA                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282542 LUIS A MORALES ANAYA                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700870 LUIS A MORALES ARROYO                         URB METROPOLIS             U 18 CALLE 30                                                                        CAROLINA          PR         00987
  282544 LUIS A MORALES BLANCO                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700872 LUIS A MORALES BLAS                           BO BORINQUEN BUZON         2452 RUTA 9                                                                          AGUADILLA         PR         00603
  700873 LUIS A MORALES COLON                          6 CALLE IDILIO                                                                                                  COROZAL           PR         00783
  282545 LUIS A MORALES DE JESUS                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                  1236 CALLE REINA DE LAS
   700874 LUIS A MORALES FIGUEROA                      URB HACIENDA BORINQUEN     FLORES                                                                               CAGUAS            PR       00725
   700876 LUIS A MORALES LOPEZ                         PO BOX 335375                                                                                                   PONCE             PR       00733‐5375
   282546 LUIS A MORALES LOUBRIEL                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   282547 LUIS A MORALES MARTINEZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   282548 LUIS A MORALES MONTANEZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   282549 LUIS A MORALES MORALES                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   700879 LUIS A MORALES ORTEGA                        2569 BENSON AVE                                                                                                 BROOKLYN          NY       11214
   282550 LUIS A MORALES ORTIZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   282551 LUIS A MORALES ORTOLAZA                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   282552 LUIS A MORALES PEREZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   282553 LUIS A MORALES RIVERA                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   700881 LUIS A MORALES RODRIGUEZ                     URB COUNTRY CLUB           OT 13 CALLE 524                                                                      CAROLINA          PR       00982
   282554 LUIS A MORALES ROMAN                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   700882 LUIS A MORALES SAEZ                          P O BOX 948                                                                                                     AIBONITO          PR       00705
   282555 LUIS A MORALES SALVA                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   700883 LUIS A MORALES SANTIAGO                      HC 1 BOX 5191                                                                                                   CIALES            PR       00638
   282556 LUIS A MORALES SERRANO                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   282557 LUIS A MORALES TORRES                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED

   700884 LUIS A MORELL GONZALEZ                       ESTRUCT 555 CERRO SAN TOMAS                                                                                     PONCE             PR         00731
   282558 LUIS A MORELL RODRIGUEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700885 LUIS A MORENO                                URB VALLE ALTO              CALLE E 26                                                                          PONCE             PR         00731
   700887 LUIS A MORENO DIAZ                           VILLAS DE CANEY A 1‐A                                                                                           TRUJILLO ALTO     PR         00957
   700888 LUIS A MORENO VALENTIN                       PO BOX 901                                                                                                      BARCELONETA       PR         00617
   282559 LUIS A MORET GONZALEZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282560 LUIS A MORET MORALES                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700889 LUIS A MORO HERNANDEZ                        P O BOX 642                                                                                                     MOCA              PR         00676‐0642
   700891 LUIS A MOYENO RIOS                           HC 1 BOX 5813                                                                                                   BAJADERO          PR         00616‐9713
   700892 LUIS A MULERO                                EDIF MAI CENTER OFIC 212    2000 AVE KENNEDY                                                                    SAN JUAN          PR         00920
   282561 LUIS A MULERO FLORES                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282563 LUIS A MUNIZ HEREDIA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282564 LUIS A MUNIZ HERNANDEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282565 LUIS A MUNIZ PACHECO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282566 LUIS A MUNIZ TORO                            REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282568 LUIS A MUNIZ VIERA                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282569 LUIS A MUNOS ROMAN                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282570 LUIS A MUNOZ NEGRON                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282571 LUIS A MUNOZ ROMAN                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282572 LUIS A MUNOZ VILLANUEVA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282573 LUIS A MUNOZ ZAVALA                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700893 LUIS A MURIEL CASTRO                         BOX 40 B B RR1                                                                                                  CAROLINA          PR         00983




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MML ID                NAME                                    ADDRESS 1                    ADDRESS 2               ADDRESS 3                           ADDRESS 4              CITY       STATE    POSTAL CODE        COUNTRY
          LUIS A NARVAEZ DBA TOP
   282574 GROUP CONTRACTORS                           PO BOX 8703                                                                                                  BAYAMON             PR         00960‐8036
   282575 LUIS A NATAL MONTERO                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282576 LUIS A NATAL RIOS                           REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282577 LUIS A NATERA RODRIGUEZ                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282579 LUIS A NAVEDO GONZALEZ                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700176 LUIS A NAZARIO MORALES                      HC 57 BOX 11947                                                                                              AGUADA              PR         00602
   282580 LUIS A NAZARIO RODRIGUEZ                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282581 LUIS A NEGRON BONILLA                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282582 LUIS A NEGRON CRUZ                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700897 LUIS A NEGRON LEON                          EL TORITO                 D 12 CALLE 3                                                                       CAYEY               PR         00736
   282583 LUIS A NEGRON MATOS                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700898 LUIS A NEGRON MORALES                       VENUS GARDENS             1763 CALLE HORAS                                                                   SAN JUAN            PR         00926
                                                      115 NORTH EAST RAMEY
   700899 LUIS A NEGRON PEREZ                         COSTGUARD BASE                                                                                               AGUADILLA           PR         00603‐0000
   700902 LUIS A NEGRON SERRANO                       MONTE REY                 H 30 CALLE 5                                                                       COROZAL             PR         00783
   282584 LUIS A NEGRON VIERA                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282585 LUIS A NERIS VELAZQUEZ                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700903 LUIS A NEVAREZ HERNANDEZ                    BOX 1436                                                                                                     CIALES              PR         00638
   282586 LUIS A NIETO CHAYLE                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282588 LUIS A NIETZSCHE CRUZ                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282589 LUIS A NIEVES CASTRO                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   700908 LUIS A NIEVES MILLAYES                      CALLE MERCADO APARTADO 137                                                                                   AGUADILLA           PR         00603
   282591 LUIS A NIEVES NEGRON                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700909 LUIS A NIEVES NIEVES                        756 SE AVE ANDALUCIA                                                                                         SAN JUAN            PR         00921
   700910 LUIS A NIEVES ROBLES                        PO BOX 133                                                                                                   NARANJITO           PR         00719
   700911 LUIS A NIEVES RODRIGUEZ                     PO BOX 82                                                                                                    CAMUY               PR         00627
   282593 LUIS A NIEVES RUIZ                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282594 LUIS A NIEVES SERRANO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700912 LUIS A NIEVES TORRES                        HC 2 BOX 8557                                                                                                BAJADERO            PR         00616‐9742
   700913 LUIS A NIGAGLIONI                           VILLA ASTURIN              25 CALLE 31                                                                       CAROLINA            PR         00783
   700914 LUIS A NIN LASALLE                          URB RIVERVIEW              H 26 CALLE 9                                                                      BAYAMON             PR         00961
   700915 LUIS A NORIEGA MORALES                      PO BOX 9065293                                                                                               SAN JUAN            PR         00906‐5293
   282595 LUIS A NUNEZ                                REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282598 LUIS A NUNEZ REVERON                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282599 LUIS A NUNEZ RIVERA                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282600 LUIS A NUNEZ SALGADO                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700916 LUIS A OCASIO FIGUEROA                      URB STELLA                 F 31 CALLE A                                                                      GUAYANILLA          PR         00656
   282601 LUIS A OCASIO MONTANEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282602 LUIS A OCASIO ORTIZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700261 LUIS A OCASIO REYES                         CALLE 10 H 34              URB MAGNOLIA GARDENS                                                              BAYAMON             PR         00956
   700917 LUIS A OCASIO SANTIAGO                      HC 09 BOX 4140                                                                                               SABANA GRANDE       PR         00637
   700918 LUIS A OLIVER ROMAN                         HC 4 BOX 44971                                                                                               AGUADILLA           PR         00603‐9770
   700919 LUIS A OLIVERA AMELY                        HC 1 BOX 5200                                                                                                HORMIGUEROS         PR         00660
   282604 LUIS A OLIVERAS CRUZ                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282605 LUIS A OLIVERAS FIRPI                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700921 LUIS A OLIVERAS TORRES                      907 CALLE QUEBRADA CEIBA                                                                                     PENUELAS            PR         00624
   700922 LUIS A OLIVERO NEGRON                       91 CALLE ORQUIDEA                                                                                            TRUJILLO ALTO       PR         00976
   700923 LUIS A OLIVO MEJIAS                         SEC CANTERA                15 CALLE APONTE                                                                   SAN JUAN            PR         00915‐3104
   282606 LUIS A OLMEDA ORTIZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282607 LUIS A OQUENDO ADORNO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282608 LUIS A ORJALES VELEZ                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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MML ID                    NAME                                 ADDRESS 1                      ADDRESS 2                    ADDRESS 3                           ADDRESS 4              CITY          STATE   POSTAL CODE        COUNTRY
                                                                                    O8 CALLE GLADIOLA JARD DE
   700925 LUIS A OROZCO LABOY                         JARDS DE BORINQUEN            BORINQUEN                                                                              CAROLINA            PR           00985
   700926 LUIS A ORTEGA ROSADO                        RUTA 22 BZN 1578                                                                                                     ISABELA             PR           00662

   700927 LUIS A ORTIZ                                60 INT AVE FERNANDEZ GARCIA                                                                                          CAYEY               PR           00736
   282609 LUIS A ORTIZ AGOSTO                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   282610 LUIS A ORTIZ ALAMEDA                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   282611 LUIS A ORTIZ BERMUDEZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   700928 LUIS A ORTIZ CANO                           PO BOX 1456                                                                                                          SABANA SECA         PR           00952
   700929 LUIS A ORTIZ CARRASQUILLO                   PO BOX 458                                                                                                           YABUCOA             PR           00767
   282613 LUIS A ORTIZ CLAUDIO                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   700931 LUIS A ORTIZ CONCEPCION                     1412 CALLE LUCERO                                                                                                    ISABELA             PR           00662

          LUIS A ORTIZ
   282614 FERNANDEZ/LILLIAM N ROMAN                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   700932 LUIS A ORTIZ FLORES                         SABANA ENEAS                  BZN 197 CALLE A                                                                        SAN GERMAN          PR           00683
   700933 LUIS A ORTIZ HEREDIA                        PO BOX 33‐5251                                                                                                       PONCE               PR           00733‐5251
   282615 LUIS A ORTIZ HERNANDEZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   700934 LUIS A ORTIZ IRIZARRY                       65 INFANTERIA 28 SUR                                                                                                 LAJAS               PR           00667
   700935 LUIS A ORTIZ JAIME                          URB FAIRVIEW                  1912 CALLE JUAN GIL                                                                    SAN JUAN            PR           00926‐7635
   282617 LUIS A ORTIZ LABOY                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      55 CALLE ULISES BRENES
   700936 LUIS A ORTIZ LOPEZ                          MARTINEZ                                                                                                             HUMACAO             PR           00791
   282618 LUIS A ORTIZ LOZADA                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   700940 LUIS A ORTIZ MELENDEZ                       URB EL CORTIJO                J25 CALLE12                                                                            BAYAMON             PR           00956
   700941 LUIS A ORTIZ NEGRON                         URB STA TERESITA              AH 3 CALLE 2                                                                           PONCE               PR           00730
   282621 LUIS A ORTIZ RODRIGUEZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   282624 LUIS A ORTIZ ROMERO                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   700946 LUIS A ORTIZ ROSADO                         BOX 1414                                                                                                             COAMO               PR           00769
   282625 LUIS A ORTIZ SANTIAGO                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   700947 LUIS A ORTIZ SANTOS                         HC 02 BOX 4880                                                                                                       GUAYAMA             PR           00784
   700948 LUIS A ORTIZ SIERRA                         BO NEGROS                     HC 3 BOX 16981                                                                         COROZAL             PR           00783
   700949 LUIS A ORTIZ SOTO                           HC 01 BOX 5137                                                                                                       JAYUYA              PR           00664‐9711
   700950 LUIS A ORTIZ TORO                           P O BOX 704                                                                                                          LAJAS               PR           00667
   282627 LUIS A ORTIZ TORRES                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   282628 LUIS A OSORIO BORRIA                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   282630 LUIS A OTERO GONZALEZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   282631 LUIS A OTERO MERCADO                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   282632 LUIS A OYOLA COLON                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   282633 LUIS A PABON CARPIO                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   282634 LUIS A PABON DIAZ                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   700953 LUIS A PABON MIRANDA                        URB VILLA SAN ANTON           N 23 CALLE EDDIE KERCADO                                                               CAROLINA            PR           00987
   282635 LUIS A PABON PANTOJAS                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   700954 LUIS A PABON RIVAS                          BELLA VISTA                   O 40 CALLE 18                                                                          BAYAMON             PR           00956
   700955 LUIS A PABON RIVERA                         PMB 98 PO BOX 5103                                                                                                   CABO ROJO           PR           00623
   700956 LUIS A PACHECO ALMESTICA                    URB CAPARRA TERRACE           1229 CALLE CATALU¥A                                                                    SAN JUAN            PR           00920
   700957 LUIS A PACHECO NEGRON                       PO BOX 7126                                                                                                          PONCE               PR           00732
   282640 LUIS A PADILLA QUINONES                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   700958 LUIS A PADILLA RUIZ                         HC 08 BOX 51904                                                                                                      HATILLO             PR           00659
   700959 LUIS A PADILLA VAZQUEZ                      LA PONDEROSA                  3 CALLE A                                                                              VEGA ALTA           PR           00692
   282641 LUIS A PADILLA VELEZ                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   282642 LUIS A PADILLA VIDRO                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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MML ID                    NAME                                  ADDRESS 1                    ADDRESS 2                   ADDRESS 3                           ADDRESS 4              CITY       STATE    POSTAL CODE        COUNTRY
                                                      RESIDENCIAL SAGRADO
   700962 LUIS A PADRO SOLIS                          CORAZON C 8                                                                                                        ARROYO              PR         00714
   282644 LUIS A PAGAN                                REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700963 LUIS A PAGAN CALDERON                       NEMESIO CANALES             EDIF 43 APT 814                                                                        SAN JUAN            PR         00918
   700964 LUIS A PAGAN GONZALEZ                       OJO DE AGUA                 79 CALLE BORIA                                                                         VEGA BAJA           PR         00693
   282646 LUIS A PAGAN LOPEZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700965 LUIS A PAGAN ORTEGA                         PO BOX 34                                                                                                          COROZAL             PR         00783
   700966 LUIS A PAGAN RIVERA                         URB VISTA ALEGRE 223        CALLE ORGUIDEAS                                                                        VILLALBA            PR         00766
   282648 LUIS A PAGAN VELEZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700968 LUIS A PANTOJAS NIEVES                      PO BOX 3586                                                                                                        VEGA ALTA           PR         00692
   282649 LUIS A PAREDES MENDEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700969 LUIS A PAREDES RODRIGUEZ                    P O BOX 2213                                                                                                       ISABELA             PR         00662
   282650 LUIS A PASARELL JULIAO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700186 LUIS A PASTOR GINORIO                       PO BOX 193903                                                                                                      SAN JUAN            PR         00919‐3903
   282651 LUIS A PASTRANA ORTIZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282652 LUIS A PAZ REYES                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700970 LUIS A PE¥A LOPEZ                           SUITE 66                    PO BOX 70344                                                                           SAN JUAN            PR         00936
   700971 LUIS A PEGUERO MENDOZA                      URB LAGOS DE PLATA          H17 CALLE 6                                                                            TOA BAJA            PR         00949
   282653 LUIS A PENA                                 REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282654 LUIS A PENA CORREA                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282656 LUIS A PENA GONZALEZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282657 LUIS A PENAVEL                              REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   700972 LUIS A PERAZZA SANTIAGO                     PO BOX 3229 MARINA STATION                                                                                         MAYAGUEZ            PR         00681
   700974 LUIS A PEREZ                                114 CALLE BARCELONA        APT A2                                                                                  SAN JUAN            PR         00907
   282658 LUIS A PEREZ ABREU                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282660 LUIS A PEREZ ALVARADO                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700975 LUIS A PEREZ APONTE                         PO BOX 3306                                                                                                        ARECIBO             PR         00613
   700976 LUIS A PEREZ BARRETO                        HC 02 BOX 12229                                                                                                    MOCA                PR         00676
   282661 LUIS A PEREZ CARDONA                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700977 LUIS A PEREZ COSTANZA                       P O BOX 12383                                                                                                      SAN JUAN            PR         00914‐0383
   282662 LUIS A PEREZ CRUZ                           REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282663 LUIS A PEREZ DE JESUS                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700979 LUIS A PEREZ ECHEVARRIA                     EXT PUNTO ORO              6405 CALLE PACIFICO                                                                     PONCE               PR         00728
   282664 LUIS A PEREZ GONZALEZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   700982 LUIS A PEREZ MALDONADO                      COND CHATEAU LAGOON 5       CALLE CLEMENCEAU APT 1102                                                              SAN JUAN            PR         00907
   282666 LUIS A PEREZ MEDINA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700983 LUIS A PEREZ MERCED                         URB COSTA DE ORO            E‐101 CALLE C                                                                          DORADO              PR         00646
   282667 LUIS A PEREZ ORTIZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700984 LUIS A PEREZ PEREZ                          137 A BO SANTANA                                                                                                   ARECIBO             PR         00612
   282668 LUIS A PEREZ PINO                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282669 LUIS A PEREZ QUINONES                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700985 LUIS A PEREZ RIVERA                         PO BOX 918                                                                                                         UTUADO              PR         00641
   282671 LUIS A PEREZ ROSADO                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282673 LUIS A PEREZ SANTIAGO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700988 LUIS A PEREZ SANTOS                         P O BOX 880                                                                                                        VILLALBA            PR         00766
   282676 LUIS A PEREZ VALDIVIESO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700989 LUIS A PEREZ VARGAS                         PO BOX 8590                                                                                                        PONCE               PR         00732‐8590
   282677 LUIS A PEREZ VILLANUEVA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700990 LUIS A PIETRI VAZQUEZ                       24 BDA LAUREANO                                                                                                    CIALES              PR         00638
   282679 LUIS A PINEIRO FERNANDEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   282680 LUIS A PINEIRO FIGUEROA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  282681 LUIS A PINERO FERNANDEZ                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282682 LUIS A PINERO SANTIAGO                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282683 LUIS A PINO CORCHADO                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282684 LUIS A PIZARRO LOPEZ                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  700991 LUIS A PIZARRO MIRANDA                       6 REPARTO GALLERO       P O BOX 317                                                                            COAMO               PR         00769
  700992 LUIS A PLAZA LOPEZ                           68 CALLE SAN MIGUEL                                                                                            YAUCO               PR         00698
  282685 LUIS A PLAZA MARIOTA                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  700993 LUIS A PLAZA REYES                           E 4 URB LAS VEGAS                                                                                              FLORIDA             PR         00650
  700994 LUIS A POLANCO RUIZ                          BOX 1809                                                                                                       MAYAGUEZ            PR         00681
  282686 LUIS A PONCE MORALES                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  700995 LUIS A PUMAREJO ROLDAN                       URB VISTA VERDE         454 CALLE 11                                                                           AGUADILLA           PR         00603
  700177 LUIS A QUILES GUZMAN                         1489 STONINGTON CT                                                                                             VILLA RICA          GA         30180
  700996 LUIS A QUILES RODRIGUEZ                      HC 04 BOX 44145         BO PILETAS                                                                             LARES               PR         00669
  700997 LUIS A QUILES VELEZ                          HC 3 BOX 29067                                                                                                 SAN SEBASTIAN       PR         00685
  282687 LUIS A QUINONES                              REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282688 LUIS A QUINONES AVILES                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282689 LUIS A QUINONES CORTES                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282690 LUIS A QUINONES CRUZ                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  700998 LUIS A QUINONES GARCIA                       BO CAMPO ALEGRE 3       BOX 228                                                                                AGUADILLA           PR         00603
  282691 LUIS A QUINONES IRIZARRY                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282692 LUIS A QUINONES MARRERO                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282693 LUIS A QUINONES RIVERA                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282694 LUIS A QUINONES SANTIAGO                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282695 LUIS A QUINONEZ TORRES                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   282696 LUIS A QUINTERO HERNANDEZ                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   701000 LUIS A RAMIREZ                              URB EL COMANDANTE       1203 CALLE NICOLAS AGUAYO                                                              SAN JUAN            PR         00924
   282697 LUIS A RAMIREZ CRESPO                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282698 LUIS A RAMIREZ DIAZ                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282699 LUIS A RAMIREZ FLORES                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282700 LUIS A RAMIREZ GARCIA                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282701 LUIS A RAMIREZ GOMEZ                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   701002 LUIS A RAMIREZ OLIVERAS                     URB PERLA DEL SUR 344   CALLE C                                                                                PONCE               PR         00731
   282702 LUIS A RAMIREZ RAMOS                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   701003 LUIS A RAMIREZ TORRES                       75 CALLE BALDORIOTY                                                                                            CABO ROJO                      00623
   282705 LUIS A RAMIREZ VAZQUEZ                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282706 LUIS A RAMOS                                REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282708 LUIS A RAMOS AGOSTINI                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282709 LUIS A RAMOS ALEJANDRO                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282710 LUIS A RAMOS ALENAN                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700187 LUIS A RAMOS AVILES                         HC 5 BOX 25223                                                                                                 CAMUY               PR         00627
   701005 LUIS A RAMOS BERRIOS                        PO BOX 849                                                                                                     BARRANQUITAS        PR         00794
   282711 LUIS A RAMOS BRGOS                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282712 LUIS A RAMOS CARABALLO                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   701006 LUIS A RAMOS CASTILLO                       PO BOX 1116                                                                                                    YAUCO               PR         00698
   282713 LUIS A RAMOS CRUZ                           REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   282714 LUIS A RAMOS DE JESUS                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   701010 LUIS A RAMOS FRANQUI                        HC 5 BOX 30390                                                                                                 CAMUY               PR         00627
   701011 LUIS A RAMOS GONZALEZ                       BO SAN ISIDRO           PARC 79 CALLE 8                                                                        CANOVANAS           PR         00729
   701012 LUIS A RAMOS MIRANDA                        PO BOX 561004                                                                                                  GUAYANILLA          PR         00656
   701013 LUIS A RAMOS NEGRON                         HC 1 BOX 8607                                                                                                  PR                  LUQUILLO   00773‐9572
   701014 LUIS A RAMOS ORTIZ                          HC BOX 60221                                                                                                   MAYAGUEZ            PR         00680
   282715 LUIS A RAMOS PELLOT                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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MML ID                NAME                                      ADDRESS 1                    ADDRESS 2              ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  282716 LUIS A RAMOS PEREZ                           REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282717 LUIS A RAMOS RAMOS                           REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282718 LUIS A RAMOS RIVERA                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701016 LUIS A RAMOS SANABRIA                        HC 1 BOX 6603                                                                                                 SALINAS             PR         00751
  700178 LUIS A RAMOS SANCHEZ                         PO BOX 1118                                                                                                   GUANICA             PR         00653
  701017 LUIS A RAMOS SANTIAGO                        PO BOX 297                                                                                                    COAMO               PR         00769
  701018 LUIS A RAMOS SEPULVEDA                       LA JOYA                   CALLE O BOX 15                                                                      ENSENADA            PR         00647
  282719 LUIS A RAMOS VAZQUEZ                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701019 LUIS A RAMOS VERA                            252 CALLE SAN JOSE                                                                                            SAN JUAN            PR         00901
  282720 LUIS A RANCEL CENTENO                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701020 LUIS A RECHANY TORRES                        URB VILLA ASTURIAS        25 11 CALLE 34                                                                      CAROLINA            PR         00983
         LUIS A RENTA RIVERA /MAYRA
  701021 LUNA VEGA                                    BO CLAUSELLS              59 CALLE 4                                                                          PONCE               PR         00730‐3305
  282722 LUIS A RENTAS RODRIGUEZ                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282723 LUIS A RENTAS SANTIAGO                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701022 LUIS A RENTAS VELEZ                          PO BOX 2038                                                                                                   COAMO               PR         00769
  282724 LUIS A RESTO PAGAN                           REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701023 LUIS A REYES                                 HC 2 BOX 7858                                                                                                 BARCELONETA         PR         00617
  701024 LUIS A REYES ALVAREZ                         P O BOX 883                                                                                                   JAYUYA              PR         00664
  282725 LUIS A REYES CARABALLO                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  700179 LUIS A REYES CARRASQUILLO                    PO BOX 1162                                                                                                   COROZAL             PR         00783‐1162
  282726 LUIS A REYES CRUZ                            REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         LUIS A REYES GARCIA DBA
  282727 PLACITA REYES                                PO BOX 35000 SUITE20018                                                                                       CANOVANAS           PR         00729
  701025 LUIS A REYES GONZALEZ                        BO EL TUQUE NUEVA VIDA    CALLE 8 B D97 C                                                                     PONCE               PR         00731
  282728 LUIS A REYES LOPEZ                           REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  700180 LUIS A REYES ROMAN                           HC 01 BOX 11353                                                                                               ARECIBO             PR         00612
  282729 LUIS A REYES SANTINI                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701028 LUIS A REYES TORRES                          HC‐04 BOX 44835                                                                                               CAGUAS                         00725
  282730 LUIS A REYES VEGA                            REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701029 LUIS A REYES ZAYAS                           URB LEVITTOWN E N 14      CALLE VIRGILIO DAVILA                                                               TOA BAJA            PR         00949
  282731 LUIS A RIOS HERNANDEZ                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701032 LUIS A RIOS MORALES                          RR 7 BOX 6932                                                                                                 SAN JUAN            PR         00926
  282733 LUIS A RIOS RAMIREZ                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282735 LUIS A RIOS RODRIGUEZ                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701034 LUIS A RIOS TORRES                           HC‐02 BOX 6026                                                                                                ADJUNTAS            PR         00601
  282736 LUIS A RIOS VELAZQUEZ                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701035 LUIS A RIVAS VAZQUEZ                         C5 CALLE 2                                                                                                    BAYAMON             PR         00961
  701036 LUIS A RIVERA                                P O BOX 1545                                                                                                  VILLALBA            PR         00766
  282737 LUIS A RIVERA ACEVEDO                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282738 LUIS A RIVERA ALVARADO                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282739 LUIS A RIVERA APONTE                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282740 LUIS A RIVERA BARRETO                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701040 LUIS A RIVERA BATISTA                        CARR 149 KM               25 0 BO CIALITOS                                                                    CIDRA               PR         00639
  282741 LUIS A RIVERA BURGOS                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282742 LUIS A RIVERA CAPELLA                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282743 LUIS A RIVERA COLON                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282744 LUIS A RIVERA CONSTANTINO                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282746 LUIS A RIVERA CRUZ                           REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282748 LUIS A RIVERA DIAZ                           REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282749 LUIS A RIVERA ECHEVARRIA                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701044 LUIS A RIVERA FLORES                         BOX 24809 CARR 743                                                                                            CAYEY               PR         00736
  701045 LUIS A RIVERA GALVEZ                         HC 06 BOX 75365                                                                                               CAGUAS              PR         00725



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  701046 LUIS A RIVERA GARCIA                          URB SYLVIA                  C 25 CALLE 1                                                                     COROZAL             PR         00783
  282751 LUIS A RIVERA GOMEZ                           REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701047 LUIS A RIVERA GONZALEZ                        BO POZAS                    CARR 615 KM 7.4                                                                  Ciales              PR         00638
  701049 LUIS A RIVERA GUTIERREZ                       PO BOX 1050                                                                                                  AIBONITO            PR         00705
  282753 LUIS A RIVERA HERNANDEZ                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282754 LUIS A RIVERA IRIZARRY                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282755 LUIS A RIVERA LABOY                           REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  282756 LUIS A RIVERA LOPEZ                           REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         LUIS A RIVERA LOPEZ Y GLORIA
  282757 HERNANDEZ                                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  282758 LUIS A RIVERA LUGO                            REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  701053 LUIS A RIVERA MANSO                           P O BOX 285                                                                                                  LOIZA               PR         00772
  282759 LUIS A RIVERA MARTINEZ                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  282760 LUIS A RIVERA MELENDEZ                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  282762 LUIS A RIVERA MORALES                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  282763 LUIS A RIVERA MORELL                          REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  282764 LUIS A RIVERA NARVAEZ                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  282765 LUIS A RIVERA OJEDA                           REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  701060 LUIS A RIVERA OQUENDO                         PO BOX 1751                                                                                                  CIALES              PR         00638
  282766 LUIS A RIVERA ORTIZ                           REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  701061 LUIS A RIVERA PABON                           HC 4 BOX 80                                                                                                  JUANA DIAZ          PR         00795
         LUIS A RIVERA PACHECO Y
  282770 BRENDA RODRIGUEZ                              REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  701062 LUIS A RIVERA PEDRAZA                         URB FREIRE                  85 CALLE TOPACIO                                                                 CIDRA               PR         00739
  282772 LUIS A RIVERA PEREZ                           REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  701063 LUIS A RIVERA PIZARRO                         RIO GRANDE STATES           E 17 CALLE 15                                                                    RIO GRANDE          PR         00745
  701065 LUIS A RIVERA QUILES                          PO BOX 500                                                                                                   JAYUYA              PR         00664
  282773 LUIS A RIVERA QUINONES                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  282774 LUIS A RIVERA REYES                           REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  282777 LUIS A RIVERA RIVERA                          REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  700188 LUIS A RIVERA RIVERA                          BO ESPINO HC 3 BOX 8764                                                                                      LARES               PR         00669
  701073 LUIS A RIVERA ROBLES                          PO BOX 8336                                                                                                  CAGUAS              PR         00726
  282779 LUIS A RIVERA RODRIGUEZ                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  282781 LUIS A RIVERA SALGADO                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  282782 LUIS A RIVERA SANCHEZ                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  282783 LUIS A RIVERA SANTIAGO                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  282784 LUIS A RIVERA SANTOS                          REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  701080 LUIS A RIVERA SIACA                           P.O. BOX 192215                                                                                              SAN JUAN            PR         00919
  282785 LUIS A RIVERA SOLER                           REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  282786 LUIS A RIVERA TORRES                          REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  282787 LUIS A RIVERA VAZQUEZ                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  282788 LUIS A RIVERA VICENTE                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  701087 LUIS A RIVERA VIGO                            BO MINERAL                  73 CALLE JAGUITA                                                                 MAYAGUEZ            PR         00680
  282789 LUIS A ROBLES CARABALLO                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  701088 LUIS A ROBLES CHAMORRO                        MONTE SOL                   378 CALLE MORALES                                                                JUANA DIAZ          PR         00757
  701090 LUIS A ROBLES NOLASCO                         PO BOX 51850                                                                                                 TOA BAJA            PR         00956
  701091 LUIS A ROBLES PEREZ                           BOX 954                                                                                                      PE¨UELAS            PR         00624
  282790 LUIS A ROBLES RUIZ                            REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  282791 LUIS A RODENAS MEDINA                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  282793 LUIS A RODRIGUEZ                              REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
         LUIS A RODRIGUEZ (RODRIGUEZ
  701092 CATERING)                                     P O BOX 10072 CUH STATION                                                                                    HUMACAO             PR         00792
  282794 LUIS A RODRIGUEZ ACOSTA                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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  282795 LUIS A RODRIGUEZ ARCHILLA                    REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282796 LUIS A RODRIGUEZ BATISTA                     REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  701097 LUIS A RODRIGUEZ BAUZA                       HC‐1 BOX 9221                                                                                          GUAYANILLA        PR         00656‐9768

   282797 LUIS A RODRIGUEZ BERGOLLO                   REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   282798 LUIS A RODRIGUEZ BERMUDEZ                   REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282799 LUIS A RODRIGUEZ BIGAS                      REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282801 LUIS A RODRIGUEZ BLASINI                    REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701098 LUIS A RODRIGUEZ BONILLA                    P O BOX 21365                                                                                          SAN JUAN          PR         00928‐1365
   282802 LUIS A RODRIGUEZ BURGOS                     REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282803 LUIS A RODRIGUEZ CASTRO                     REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282804 LUIS A RODRIGUEZ CIFREDO                    REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282805 LUIS A RODRIGUEZ CINTRON                    REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282806 LUIS A RODRIGUEZ CLAUDIO                    REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282807 LUIS A RODRIGUEZ COLLAZO                    REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282808 LUIS A RODRIGUEZ COLON                      REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701093 LUIS A RODRIGUEZ COLON                      27 URB CANA 7713                                                                                       BAYAMON           PR         00957
   701104 LUIS A RODRIGUEZ CORTES                     PO BOX 744                                                                                             CAGUAS            PR         00726
   701105 LUIS A RODRIGUEZ DE JESUS                   P O BOX 9551                                                                                           CAROLINA          PR         00988

   282810 LUIS A RODRIGUEZ DE LA CRUZ                 REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282811 LUIS A RODRIGUEZ DELGADO                    REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282812 LUIS A RODRIGUEZ DIAZ                       REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701106 LUIS A RODRIGUEZ ESCOLA                     MIRAMAR              609 CUEVILLAS APT 8A                                                              SAN JUAN          PR         00907
   282813 LUIS A RODRIGUEZ FELICIANO                  REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282814 LUIS A RODRIGUEZ GALARZA                    REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282815 LUIS A RODRIGUEZ GARCIA                     REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   282816 LUIS A RODRIGUEZ GONZALEZ                   REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701094 LUIS A RODRIGUEZ INC                        PO BOX 1536                                                                                            QUEBRADILLAS      PR         00678
   282819 LUIS A RODRIGUEZ JUSINO                     REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   282821 LUIS A RODRIGUEZ JUSTINIANO                 REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   282822 LUIS A RODRIGUEZ LA PUERTA                  REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   282823 LUIS A RODRIGUEZ LARAGOZA                   REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701113 LUIS A RODRIGUEZ LOPEZ                      PO BOX 1253                                                                                            OROCOVIS          PR         00720

   701114 LUIS A RODRIGUEZ MALDONADO RES LUIS LLORENS TORRES               EDIF 104 APT 1990                                                                 SAN JUAN          PR         00913
   282824 LUIS A RODRIGUEZ MARTINEZ  REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282825 LUIS A RODRIGUEZ MEDINA    REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282830 LUIS A RODRIGUEZ NEGRON    REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282831 LUIS A RODRIGUEZ ORTIZ     REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282834 LUIS A RODRIGUEZ PAGAN     REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   282836 LUIS A RODRIGUEZ QUINONEZ                   REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282837 LUIS A RODRIGUEZ RAMOS                      REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701095 LUIS A RODRIGUEZ RAMOS                      P O BOX 1014                                                                                           CIALES            PR         00638
   282838 LUIS A RODRIGUEZ RANGEL                     REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282840 LUIS A RODRIGUEZ RIVERA                     REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701118 LUIS A RODRIGUEZ ROBLES                     HC 02 BOX 6177                                                                                         LUQUILLO          PR         00773



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   282842 LUIS A RODRIGUEZ RODRIGUEZ                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701121 LUIS A RODRIGUEZ ROMAN                      HC 1 BOX 8678                                                                                               AGUAS BUENAS      PR         00703
   701122 LUIS A RODRIGUEZ ROSADO                     PO BOX 7126                                                                                                 PONCE             PR         00732
   282846 LUIS A RODRIGUEZ ROSARIO                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   282848 LUIS A RODRIGUEZ SANCHEZ                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701125 LUIS A RODRIGUEZ SANTIAGO                   ESTANCIAS D' JUANA DIAZ   166 CALLE ROBLE                                                                   JUANA DIAZ        PR         00795
   282851 LUIS A RODRIGUEZ SERRANO                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701126 LUIS A RODRIGUEZ SIERRA                     URB RIO PIEDRAS HEIGHTS   1631 CALLE TIGRIS                                                                 SAN JUAN          PR         00926 2944
   282853 LUIS A RODRIGUEZ VALENTIN                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   282854 LUIS A RODRIGUEZ VARGAS                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   282856 LUIS A RODRIGUEZ VAZQUEZ                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED

   282858 LUIS A RODRIGUEZ VELAZQUEZ REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701131 LUIS A ROHENA MOJICA          URB COUNTRY CLUB                        909 CALLE LLAUSETINA                                                              SAN JUAN          PR         00926
   282859 LUIS A ROIG                   REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701132 LUIS A ROJAS COLON            PO BOX 1739                                                                                                               OROCOVIS          PR         00720
   701133 LUIS A ROJAS RAMIREZ          URB EL VALLE 108                        CALLE ALAMO                                                                       LAJAS             PR         00667
   701134 LUIS A ROJAS RUIZ             PO BOX 240                                                                                                                SANTA ISABEL      PR         00757
   282860 LUIS A ROLON MELENDEZ         REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   282861 LUIS A ROLON ROSADO           REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701136 LUIS A ROLON VAZQUEZ          RR 02 BOX 7626                                                                                                            TOA ALTA          PR         00953
   701137 LUIS A ROMAN                  HC 1 BOX 10896                                                                                                            ARECIBO           PR         00612
          LUIS A ROMAN / D/B/A TROPICAL
   701138 RENTAL                        PO BOX 1051                                                                                                               CIDRA             PR         00739
   282862 LUIS A ROMAN AGOSTO           REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701139 LUIS A ROMAN AROCHO           P O BOX 51                                                                                                                MOCA              PR         00676
   282863 LUIS A ROMAN BELTRAN          REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   282864 LUIS A ROMAN BERBERENA        REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   282866 LUIS A ROMAN CASTILLO         REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701140 LUIS A ROMAN DELGADO          HC 5 BOX 30231                                                                                                            CAMUY             PR         00627
   282867 LUIS A ROMAN GONZALEZ         REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701142 LUIS A ROMAN PONCE            URB MEDINA                              D 46 CALLE 5                                                                      ISABELA           PR         00662‐3833
   282868 LUIS A ROMAN RIVERA           REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701143 LUIS A ROMAN RODRIGUEZ        CARR 474 25 125                                                                                                           ISABELA           PR         00662
   282869 LUIS A ROMAN ROMAN            REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   282871 LUIS A ROMERO CENTENO         REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701144 LUIS A ROMERO MORALES         HC 2 BOX 7212                                                                                                             LARES             PR         00669‐9736
   282872 LUIS A ROMERO PEREZ           REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   282873 LUIS A ROMERO SALGADO         REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701146 LUIS A RONDA PAGAN            URB VILLA MGNA 1841                     CALLE 6 SO                                                                        SAN JUAN          PR         00921
   282874 LUIS A ROSA ABRAHAMS          REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   282875 LUIS A ROSA COLON             REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   282876 LUIS A ROSA DEL VALLE         REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701147 LUIS A ROSA DIAZ              URB LAS PLANICIES                       B 10 CALLE 1                                                                      CAYEY             PR         00736
   282877 LUIS A ROSA GARCIA            REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   282878 LUIS A ROSA QUIRINDONGO       REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   282880 LUIS A ROSA TORRES            REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701150 LUIS A ROSA VIERA             4TA SECC METROPOLIS                     H 1‐44 CALLE 1                                                                    CAROLINA          PR         00987
   701152 LUIS A ROSADO NARVAEZ         BDA SAN MIGUEL APT 248                                                                                                    NARANJITO         PR         00719
   282881 LUIS A ROSADO ORTIZ           REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   282882 LUIS A ROSADO PALERMO         REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   282883 LUIS A ROSADO QUINONES        REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED



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  282884 LUIS A ROSADO RODRIGUEZ                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282886 LUIS A ROSADO ROSARIO                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  701153 LUIS A ROSADO SANTIAGO                       HC 3 BOX 13837                                                                                              UTUADO            PR         00641
  701155 LUIS A ROSADO VENDRELL                       SECTOR PUEBLO NUEVO     879 CALLE FLORAL                                                                    ISABELA           PR         00662
  282887 LUIS A ROSARIO                               REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282888 LUIS A ROSARIO ARROYO                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  701157 LUIS A ROSARIO OYOLA                         HC 01 BOX 6443                                                                                              AGUAS BUENAS      PR         00703
  701158 LUIS A ROSARIO PABON                         P O BOX 9021112                                                                                             SAN JUAN          PR         00902‐1112
  282891 LUIS A ROSARIO RODRIGUEZ                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282893 LUIS A ROSARIO TORRES                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282894 LUIS A ROSARIO VARGAS                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282895 LUIS A ROSARIO VELEZ                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282896 LUIS A RUIZ BERMUDEZ                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282897 LUIS A RUIZ CAMACHO                          REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282898 LUIS A RUIZ HANCE                            REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  701163 LUIS A RUIZ JIMENEZ                          P O BOX 6633                                                                                                MAYAGUEZ          PR         00681 0633
                                                      BO RABANAL PARC LA
   701164 LUIS A RUIZ LOPEZ                           MILAGROSA               BOX 2377                                                                            CIDRA             PR         00739
   701166 LUIS A RUIZ MEDINA                          HC 4 BOX 48617                                                                                              CAGUAS            PR         00725‐9635
   701167 LUIS A RUIZ OTERO                           HC 07 BOX 26115                                                                                             MAYAGUEZ          PR         00680
   701169 LUIS A SABRINO RIVAS                        URB ALTAMESA            1686 SANTA GUADALUPE                                                                SAN JUAN          PR         00921
   282900 LUIS A SALAS VAZQUEZ                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282902 LUIS A SALGADO RODRIGUEZ                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUIS A SALINAS FIGUEROAS DBA
   282903 TRANSPORT                    BO. TUMBAOAPT. 194                                                                                                         MAUNABO           PR         00707‐0000

   282905 LUIS A SAN MIGUEL SANDOVAL                  REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   701172 LUIS A SANABRIA ALMODOVAR                   P O BOX 842 ENSENADA                                                                                        ENSENADA          PR         00641
   701173 LUIS A SANCHES COLON                        QUINTAS BALWIN          50 A A 807                                                                          BAYAMON           PR         00959
   701174 LUIS A SANCHEZ CORRALISA                    PO BOX 310                                                                                                  UTUADO            PR         00641
   701175 LUIS A SANCHEZ CORREA                       URB LOMAS DE CAROLINA   2A 10 CALLE YUNQUESITO                                                              CAROLINA          PR         00987
   701176 LUIS A SANCHEZ CORTES                       P O BOX 673                                                                                                 CIALES            PR         00638
   282907 LUIS A SANCHEZ FELICIANO                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282908 LUIS A SANCHEZ MERCADO                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282909 LUIS A SANCHEZ MORALES                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282910 LUIS A SANCHEZ OJEDA                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701179 LUIS A SANCHEZ RAFFUCCI                     URB SANTA ANA           E4 SALAMANCA                                                                        SAN JUAN          PR         00927
   282911 LUIS A SANCHEZ RODRIGUEZ                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUIS A SÁNCHEZ ROLDÁN/LUIS
   282912 SÁNCHEZ CRUZ                                REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282913 LUIS A SANCHEZ SEVILLA                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282914 LUIS A SANCHEZ VALENTIN                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700181 LUIS A SANCHEZ VARGAS                       HC 7 BOX 33974                                                                                              HATILLO           PR         00659
   701182 LUIS A SANCHEZ VEGA                         HC 01 BOX 7966                                                                                              CANOVANAS         PR         00729
          LUIS A SANCHEZ Y ANA L
   282915 RODRIGUEZ                                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700182 LUIS A SANTA DAVILA                         HC 03 BOX 9177                                                                                              JUNCOS            PR         00777
   282917 LUIS A SANTA TORRES                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701184 LUIS A SANTANA ALVARADO                     PO BOX 1686                                                                                                 SAN GERMAN        PR         00683
   282918 LUIS A SANTANA BARBOSA                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701185 LUIS A SANTANA CABRERA                      HC 3 BOX 10454                                                                                              COMERIO           PR         00782
   282919 LUIS A SANTANA CACERES                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  282920 LUIS A SANTANA GONZALEZ       REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701188 LUIS A SANTANA PENA           URB PONCE DE LEON                           278 CALLE 27                                                                     GUAYNABO           PR         00969
  701189 LUIS A SANTANA QUILES         HC 2 BOX 10255                                                                                                               LAS MARIA          PR         00670‐9041
  282921 LUIS A SANTANA RIVERA         REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282922 LUIS A SANTANA RODRIGUEZ      REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282923 LUIS A SANTANA ROSADO         REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282924 LUIS A SANTANA RUIZ           REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282925 LUIS A SANTANA SANTIAGO       REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701192 LUIS A SANTIAGO               PO BOX 5126                                                                                                                  CAROLINA           PR         00984
  701193 LUIS A SANTIAGO BERRIOS       C1 L 1URB MONTE VERDE                                                                                                        COROZAL            PR         00783
  701194 LUIS A SANTIAGO CALDERO       BOX 241                                                                                                                      NARANJITO          PR         00719
  282926 LUIS A SANTIAGO CARABALLO     REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701195 LUIS A SANTIAGO CASTRO        HC 5 BOX 12960                                                                                                               JUANA DIAZ         PR         00795‐9511
  701196 LUIS A SANTIAGO CINTRON       EL MIRADOR                                  N 6 CALLE 9                                                                      SAN JUAN           PR         00926
  701197 LUIS A SANTIAGO CRUZ          COM MIRAFLORES II                           SOLAR 339                                                                        ARECIBO            PR         00612
  282927 LUIS A SANTIAGO FIGUEROA      REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282929 LUIS A SANTIAGO GRAU          REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701199 LUIS A SANTIAGO IRIZARRY      URB LA MONSERRATE                           55 CALLE SANTA ROSA                                                              SAN GERMAN         PR         00683
         LUIS A SANTIAGO LABOY Y
  282931 WANDA A SANTIAGO              REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282932 LUIS A SANTIAGO LOPEZ         REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282933 LUIS A SANTIAGO MALARET       REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282934 LUIS A SANTIAGO MALAVE        REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282935 LUIS A SANTIAGO MARTINEZ      REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282936 LUIS A SANTIAGO MIRANDA       REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701203 LUIS A SANTIAGO ORTIZ         150 CALLE TREN                                                                                                               CATANO             PR         00962
  282937 LUIS A SANTIAGO PACHECO       REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282938 LUIS A SANTIAGO PADILLA       REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282939 LUIS A SANTIAGO PEDROSA       REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282940 LUIS A SANTIAGO PINEIRO       REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701205 LUIS A SANTIAGO RAMOS         BO LOMAS JAGUAS                             CARR 164 KM 8 4                                                                  NARANJITO          PR         00719
  701206 LUIS A SANTIAGO REYES         9 BO SABANETA                                                                                                                MERCEDITA          PR         00715
  701209 LUIS A SANTIAGO RIVERA        HC 01 BOX 11376                                                                                                              CAROLINA           PR         00987
  282941 LUIS A SANTIAGO RODRIGUEZ     REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282943 LUIS A SANTIAGO ROSADO        REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         LUIS A SANTIAGO RUIZ/ASOC REC
  701210 CARRISALE                     HC 1 BOX 4768                                                                                                                HATILLO            PR         00659‐9702
  282945 LUIS A SANTIAGO SANTANA       REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282946 LUIS A SANTIAGO SANTIAGO      REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282947 LUIS A SANTIAGO TAPIA         REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282948 LUIS A SANTIAGO TORRES        REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701213 LUIS A SANTIAGO VAZQUEZ       BA URB LAS MARIAS                                                                                                            JUANA DIAZ         PR         00795
  282949 LUIS A SANTIAGO VELEZ         REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   701214 LUIS A SANTOS ALVAREZ                        SOLAR 50 COMUNIDAD ANIMAS                                                                                    ARECIBO            PR         00612
   701215 LUIS A SANTOS BAEZ                           PO BOX 373356                                                                                                CAYEY              PR         00737
   701216 LUIS A SANTOS BARROSO                        BDA SANDIN                  BUZON 8 CALLE SOL                                                                VEGA BAJA          PR         00693
   701217 LUIS A SANTOS GONZALEZ                       VISTAS DEL MAR 3292         CALLE CAVIAR                                                                     PONCE              PR         00716
   701219 LUIS A SANTOS MALDONADO                      P O BOX 96                                                                                                   VIEQUES            PR         00765
   282951 LUIS A SANTOS ORTIZ                          REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   701220 LUIS A SANTOS RIVERA                         PO BOX 325                                                                                                   COROZAL            PR         00783
   701221 LUIS A SANTOS SALGADO                        POLICIA DE PR               PO BOX 70166                                                                     SAN JUAN           PR         00936‐8166
   701223 LUIS A SANTOS SOTO                           180 CALLE LAS FLORES                                                                                         JUANA DIAZ         PR         00795



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MML ID                NAME                        ADDRESS 1                     ADDRESS 2              ADDRESS 3                           ADDRESS 4            CITY         STATE    POSTAL CODE       COUNTRY
  701224 LUIS A SANTOS TORRES          HC 04 BOX 49117                                                                                                 CAGUAS             PR         00725
  282953 LUIS A SANTOS VEGA            REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282954 LUIS A SANTOS VELEZ           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701225 LUIS A SEGARRA AQUINO         HC 1 BOX 3207                                                                                                   LARES              PR         00669
  701226 LUIS A SEGUINOT ACEVEDO       P O BOX 3089                  HATO ARRIBA STATION                                                               SAN SEBASTIAN      PR         00685
  282955 LUIS A SEGUINOT RODRIGUEZ     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701227 LUIS A SEPULVEDA FIGUEROA     EDIF LA ELECTRONICA           1608 BORI STE 214‐A                                                               SAN JUAN           PR         00927
  701228 LUIS A SEPULVEDA MONGE        PO BOX 21362                                                                                                    SAN JUAN           PR         00931‐1362
  282956 LUIS A SERRANO JUSTINIANO     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701230 LUIS A SERRANO MORALES        BOX 804                                                                                                         PUNTA SANTIAGO     PR         00741
  701231 LUIS A SERRANO RODRIGUEZ      HC 01 BOX 4902                                                                                                  SABANA HOYO        PR         00688
  701232 LUIS A SERRANO SERRANO        BOX 1441                                                                                                        JUANA DIAZ         PR         00795
  282958 LUIS A SERRANO VEGA           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282959 LUIS A SIERRA LOPEZ           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282960 LUIS A SIERRA ORTIZ           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282961 LUIS A SIERRA RIVERA          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282962 LUIS A SIERRA RODRIGUEZ       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282963 LUIS A SOLDEVILA MEJIA        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701237 LUIS A SOLER ALICEA           66 CALLE MANUEL COLON                                                                                           FLORIDA            PR         00650
  282964 LUIS A SOLER GORDILS          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282965 LUIS A SOSA COSME             REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         LUIS A SOTO AREIZAGA Y NELSON
  282967 D SOTO                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282968 LUIS A SOTO NIEVES            REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         LUIS A SOTO NIEVES Y MIRIAM
  282969 TOLEDO                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282970 LUIS A SOTO PEREZ             REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282971 LUIS A SOTO QUILES            REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282972 LUIS A SOTO RODRIGUEZ         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701244 LUIS A SOTO SANTANA           HC 4 BOX 43348                                                                                                  MAYAGUEZ           PR         00680
  282973 LUIS A SOTO SANTOS            REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701246 LUIS A SOTO SOTO              HC 3 BOX 9129                                                                                                   LARES              PR         00669
  282974 LUIS A SOTO TORRES            REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701247 LUIS A SOTO VALENTIN          BUZON 32                                                                                                        ISABELA            PR         00662
  282975 LUIS A SOTOMAYOR MIRABAL      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282976 LUIS A SOTOMAYOR ROMAN        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701249 LUIS A SUAREZ AYALA           URB RAFAEL BERMUDEZ           D 20 CALLE 8                                                                      FAJARDO            PR         00738
  701250 LUIS A SUAREZ BERRIOS         P O BOX 165                                                                                                     CAYEY              PR         00737
  282977 LUIS A SUAREZ LABRADOR        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  282978 LUIS A SUAREZ MONTALVO        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         LUIS A SUAREZ Y FATIMA
  701251 M.CLINTON                     URB SANTA ROSA                25 CALLE BLOQUE 51                                                                BAYAMON            PR         00959
  701252 LUIS A SURILLO GONZALEZ       PO BOX 354                                                                                                      GUAYAMA            PR         00784
  701255 LUIS A TEJADA                 PO BOX 8214                                                                                                     BAYAMON            PR         00960
  700189 LUIS A TEJADA ALVAREZ         URB CIUDAD REAL               536 CALLE ANDALUCIA                                                               VEGA BAJA          PR         00693
  701256 LUIS A TEJADA RIVERA          URB SAN FELIPE                117 CALLE 10                                                                      ARECIBO            PR         00612
  701257 LUIS A TELLADO COLON          HC 1 BOX 4315                                                                                                   LARES              PR         00669
  701258 LUIS A TELLADO LOPEZ          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701259 LUIS A TERRON GARCIA          RFD 4 BOX 1821                                                                                                  BAYAMON            PR         00619
  701261 LUIS A TIRADO LOZADA          HC 3 BOX 38127                                                                                                  CAGUAS             PR         00726‐9720
  701262 LUIS A TIRADO MATOS           APARTADO 17010                                                                                                  TOA ALTA           PR         00953
  282980 LUIS A TIRADO VILLAFANE       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701265 LUIS A TIRU MALAVE            PO BOX 7126                                                                                                     PONCE              PR         00732



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  701266 LUIS A TOLEDO MONROIG                        PO BOX 351                                                                                                        ARECIBO           PR         00613
  282981 LUIS A TOLEDO OLIVIERI                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282982 LUIS A TOLEDO VAZQUEZ                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  701268 LUIS A TORO                                  CONCORDIA 11 APT 3B                                                                                               PONCE             PR         00731
  282983 LUIS A TORO HERNANDEZ                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282984 LUIS A TORO LLOVERAS                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282985 LUIS A TORO PEREZ                            REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  701270 LUIS A TORO RIVERA                           VILLA DEL CARMEN              VV 6 CALLE PASEO SAURI                                                              PONCE             PR         00731
  701272 LUIS A TORRADO COLON                         PO BOX 1346                                                                                                       GUAYAMA           PR         00785
  282986 LUIS A TORRENS ORTIZ                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  701273 LUIS A TORRES                                HC 2 BOX 12261                                                                                                    LAJAS             PR         00667
  701276 LUIS A TORRES ANDUJAR                        HC 01 BOX 6428                                                                                                    GUAYNABO          PR         00971
  701277 LUIS A TORRES BARRETO                        BRISAS DE MONTE CASINO        H 8 CALLE PIRAGUA                                                                   TOA ALTA          PR         00953
  282989 LUIS A TORRES CAQUIAS                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  282991 LUIS A TORRES COLON                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         LUIS A TORRES DBA TORRES                     C / 113 BN ‐ 21 JARDINES DE
  282994 PLUMBING SERV.                               COUNTRY CLUB                                                                                                      CAROLINA          PR         00983‐0000
  282995 LUIS A TORRES DE JESUS                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  701281 LUIS A TORRES DEL VALLE                      P O BOX 6962                                                                                                      CAGUAS            PR         00762‐6962
  701283 LUIS A TORRES DELGADO                        URB COUNTRY CLUB              881 CALLE FLAMINGO                                                                  CAROLINA          PR         00983
  701284 LUIS A TORRES FERNANDEZ                      URB BONEVILLE HGTS            B 82 CALLE CAYEY                                                                    CAGUAS            PR         00725
  701285 LUIS A TORRES GARCIA                         57 S CALLE 65 DE INFANTERIA                                                                                       LAJAS             PR         00667
  701286 LUIS A TORRES GUILBE                         BDABELGICA                    36 CALLE 4                                                                          PONCE             PR         00730
                                                      10 A 2R URB MIRADOR DE
   701289 LUIS A TORRES LAMBOY                        BAIROA                                                                                                            CAGUAS            PR         00725
   282997 LUIS A TORRES LOPEZ                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   282998 LUIS A TORRES MARTINEZ                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701290 LUIS A TORRES MENDEZ                        URB VILLA FONTANA             HR 3 VIA 16                                                                         CAROLINA          PR         00983
   283000 LUIS A TORRES MILETY                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283001 LUIS A TORRES NEGRON                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701294 LUIS A TORRES ORTIZ                         URB VILLA DEL CAFETAL I       144 CALLE 7                                                                         YAUCO             PR         00698
                                                      UNIV INTER RECINTO SAN
   701295 LUIS A TORRES PADILLA                       GERMAN                        CALL BOX 5100                                                                       SAN GERMAN        PR         00683
   701296 LUIS A TORRES PEREZ                         URB VILLAS DE LOIZA           AH 11 CALLE 30                                                                      CANOVANAS         PR         00729
   701298 LUIS A TORRES RAMOS                         VILLAS DE LA PLAYA            13 CALLE BOQUERON                                                                   VEGA BAJA         PR         00693
   701299 LUIS A TORRES RIVERA                        HC 01 BOX 8621                                                                                                    LAJAS             PR         00667
   283002 LUIS A TORRES RODRIGUEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283004 LUIS A TORRES RUIZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283005 LUIS A TORRES SANTANA                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701305 LUIS A TORRES SANTIAGO                      BO LA CUARTA                  144 A CALLE C                                                                       MERCEDITA         PR         00715
   283006 LUIS A TORRES SANTOS                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      RES.VILLA ANDALUCIA EDIF.1
   701307 LUIS A TORRES SERRANO                       APT# 10                                                                                                           SAN JUAN          PR         00926
   283008 LUIS A TORRES TORRES                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283009 LUIS A TORRES VALDES                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701311 LUIS A TORRES VEGA                          PO BOX 315                                                                                                        JUANA DIAZ        PR         00795‐0315
   701312 LUIS A TORRES VELEZ                         SANTIAGO IGLESIAS             1771 CALLE JULIO AYBAR                                                              SAN JUAN          PR         00921
   701313 LUIS A TORRES VIDRO                         URB SANTA ELVIRA              F 12 CALLE SANTA ANA                                                                CAGUAS            PR         00725
   701314 LUIS A TORRES ZAPATER                       PO BOX 810366                                                                                                     CAROLINA          PR         00981‐0366
   701315 LUIS A TOSADO FELICIANO                     BO MAGUEYEZ                   BOX 8                                                                               BARCELONETA       PR         00617
   283010 LUIS A TOSADO MEDINA                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701316 LUIS A TOSSAS COLON                         HC 02 BOX 7184                                                                                                    COMERIO           PR         00782
   283011 LUIS A TRINIDAD GARCIA                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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MML ID                NAME                                      ADDRESS 1                   ADDRESS 2              ADDRESS 3                           ADDRESS 4             CITY        STATE  POSTAL CODE       COUNTRY
  701318 LUIS A TROCHE                                HC 1 BOX 7174                                                                                                YAUCO              PR       00698
  701319 LUIS A TRUJILLO COLON                        URB COUNTRY CLUB           MM5 CALLE 420                                                                     CAROLINA           PR       00982
  283012 LUIS A URBINA TORRES                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  701320 LUIS A VALENTIN GONZALEZ                     78 BDA JUDEA                                                                                                 UTUADO             PR       00641‐2708
  283013 LUIS A VALENTIN LOZADA                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  701321 LUIS A VALENTIN PAGAN                        HC‐02 BOX 12059                                                                                              MOCA               PR       00676
  283015 LUIS A VALENTIN QUINONES                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  701322 LUIS A VALENTIN SANCHEZ                      MEDICAL PLAZA STE 212      740 AVE HOSTOS                                                                    MAYAGUEZ           PR       00682
  283016 LUIS A VALLE GONZALEZ                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  283019 LUIS A VARELA TORRES                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  283020 LUIS A VARGAS FRASQUERI                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  701326 LUIS A VARGAS GALARZA                        PO BOX 1656                                                                                                  TRUJILLO ALTO      PR       00977‐1656
  701327 LUIS A VARGAS LOZADA                         HC 01 BOX 7566                                                                                               CABO ROJO          PR       00623
  701329 LUIS A VARGAS RAMOS                          257 CALLE ADUANA STE 160                                                                                     MAYAGUEZ           PR       00682
  283022 LUIS A VAZQUEZ ALFONSO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  283024 LUIS A VAZQUEZ BURGOS                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  283025 LUIS A VAZQUEZ CARTAGENA                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  701332 LUIS A VAZQUEZ CRUZ                          HC 2 BOX 7936                                                                                                JAYUYA             PR       00664
  283026 LUIS A VAZQUEZ LAGARES                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  701334 LUIS A VAZQUEZ MARIN                         URB IRLANDA HTS            FG2 CALLE MIZAR                                                                   BAYAMON            PR       00956
  701335 LUIS A VAZQUEZ MELENDEZ                      BOX 485                                                                                                      LAS PIEDRAS        PR       00771
  283027 LUIS A VAZQUEZ MOYET                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  283028 LUIS A VAZQUEZ MUNIZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  701337 LUIS A VAZQUEZ RAMOS                         URB METROPOLIS             0 15 CALLE 19                                                                     CAROLINA           PR       00982
  283029 LUIS A VAZQUEZ RODRIGUEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  283030 LUIS A VAZQUEZ ROSADO                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  701339 LUIS A VAZQUEZ ROSARIO                       URB SANTA ROSARIO          R 3 CALLE 14                                                                      BAYAMON            PR       00959‐1811
  701340 LUIS A VAZQUEZ VAZQUEZ                       PO BOX 441                                                                                                   GUAYAMA            PR       00784
         LUIS A VAZQUEZ Y RAMON
  283031 VAZQUEZ                                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  283032 LUIS A VAZQUEZ ZABILLAGA                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  283033 LUIS A VEGA AYALA                            REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  283035 LUIS A VEGA BAEZ                             REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  283037 LUIS A VEGA BORRERO                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  283038 LUIS A VEGA COLLAZO                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  701341 LUIS A VEGA DIAZ                             PO BOX 403                                                                                                   YABUCOA            PR       00767
  283039 LUIS A VEGA MORALES                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  701343 LUIS A VEGA NAZARIO                          PO BOX 505                                                                                                   SABANA GRANDE      PR       00637
  283042 LUIS A VEGA RODRIGUEZ                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  283043 LUIS A VEGA ROMAN                            REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  283046 LUIS A VELAZQUEZ GONZALEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  283047 LUIS A VELAZQUEZ MERCADO                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  283048 LUIS A VELAZQUEZ MORALES                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED
  283049 LUIS A VELAZQUEZ NIEVES                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED REDACTED     REDACTED

   283051 LUIS A VELAZQUEZ VELAZQUEZ                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED   REDACTED
   701352 LUIS A VELEZ CORDERO                        P O BOX 618                                                                                                  LARES              PR         00669
   701354 LUIS A VELEZ FIGUEROA                       5328 URB RIVER VALLEY                                                                                        CANOVANAS          PR         00729
   283053 LUIS A VELEZ HERNANDEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED   REDACTED
   283054 LUIS A VELEZ MONTERO                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED   REDACTED
   283056 LUIS A VELEZ PAGAN                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED   REDACTED
   701356 LUIS A VELEZ RIOS                           BO MAGUEYES                BZN 6 CALLE 9                                                                     BARCELONETA        PR         00617
   283057 LUIS A VELEZ SANTIAGO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED   REDACTED



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  283058 LUIS A VELEZ VAZQUEZ                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  283059 LUIS A VELEZ VELAZQUEZ                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701360 LUIS A VENDRELL REVERON                      PO BOX 432                                                                                                            ISABELA             PR         00662
  283060 LUIS A VERA MELENDEZ                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  283061 LUIS A VERA PEREZ                            REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701362 LUIS A VI¥AS SORBA                           COND DEL MAR                   20 CALLE DELCASSE APT 901                                                              SAN JUAN            PR         00907‐1680

   701363 LUIS A VICENTE LOPEZ                        URB VISTAMONTE G1 CALLE 6                                                                                             CIDRAS              PR         00739
   283063 LUIS A VIERA FARIS                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   283064 LUIS A VIERA TORRES                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   701365 LUIS A VILA OLIVIERI                        URB ARBOLADA                   A8 CALLE YAGRUMO                                                                       CAGUAS              PR         00725
   283065 LUIS A VILLAFA¥E VILLAFA¥E                  REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   701366 LUIS A VILLAFA¥E VILLAFA¥E                  BO VOLACORAS                   HC 4 BOX 13429                                                                         MOCA                PR         00676
   283066 LUIS A VILLANUEVA LAGUER                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   283067 LUIS A VILLANUEVA MARTINEZ                  REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   701367 LUIS A VILLEGAS LEON                        COND ASISI                     1010 CARR 19 APT 40                                                                    GUAYNABO            PR         00966‐8900
   283068 LUIS A VINAS CRUZ                           REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUIS A Y ANGEL A PENCHI
   701368 RAMIREZ                                     CHALETS DE BAYAMON             APTO 2421                                                                              BAYAMON             PR         00959
   283069 LUIS A ZABALA FIGUEROA                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   283071 LUIS A ZAYAS COLLAZO                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   701370 LUIS A ZAYAS GOMEZ                          PARC FALU                      258 CALLE 30                                                                           SAN JUAN            PR         00924
   701371 LUIS A ZAYAS HERNANDEZ                      URB SANTA JUANITA              AB 44 CALLE 43                                                                         BAYAMON             PR         00956
   701372 LUIS A ZAYAS VEGA                           EL CORTIJO                     Q 20 CALLE 18                                                                          BAYAMON             PR         00956
   701373 LUIS A ZENO CRUZ                            JARDINES DE COUNTRY CLUB       BM 15 CALLE 111                                                                        CAROLINA            PR         00983
   283072 LUIS A ZENO REYES                           REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   701374 LUIS A, RIVERA ROSADO                       URB PASEO REALES 400                                                                                                  ARECIBO             PR         00612
                                                      BO. LA QUINTA 318 CALLE
   701376 LUIS A. AGUILAR NAZARIO                     BALBOA                                                                                                                MAYAGUEZ            PR         00680
   701377 LUIS A. ALGARIN RODRIGUEZ                   BO BUEN CONSEJO                188 CALLE SAN RAFAEL                                                                   SAN JUAN            PR         00926
                                                      RESIDENCIAL MANUEL
   701378 LUIS A. ALVARADO DIAZ                       MANTORELL                      APT 31 EDIF. 03                                                                        COMERIO             PR         00782
   701380 LUIS A. AQUINO SOTO                         VILLA DEL MONTE                106 CALLE MONTE CLARO                                                                  TOA ALTA            PR         00953
   283073 LUIS A. AVILES NEGRON                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   283074 LUIS A. BELTRE VICENTE                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   283075 LUIS A. BERRIOS COLON                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   701382 LUIS A. BERRIOS MOLINA                      P O BOX 185                                                                                                           BAJADERO            PR         00616
   283076 LUIS A. CAMACHO RIOS                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      RES. PUERTO REAL EDIF 19 APT
   701383 LUIS A. CANO DE LOS SANTOS                  96                                                                                                                    FAJARDO             PR         00740

   283077 LUIS A. CARABALLO FELICIANO                 REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   283078 LUIS A. CARRION TAVAREZ                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   283079 LUIS A. CASTRO DENIS                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   283081 LUIS A. CINTRON ROMAN                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   283082 LUIS A. COLON CARRILLO                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   283083 LUIS A. COLON FELICIANO                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   283084 LUIS A. COLON RODRIGUEZ                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   283086 LUIS A. CONDE OCASIO                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   283087 LUIS A. CRUZ MATTOS                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   701385 LUIS A. CZERNIAK                            URB BUENA VISTA                35 CALLE C                                                                             PONCE               PR         00731




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MML ID                    NAME                                   ADDRESS 1                ADDRESS 2                      ADDRESS 3                           ADDRESS 4              CITY          STATE   POSTAL CODE        COUNTRY
                                                                                2362 PASEO ALEGRE URB
   701387 LUIS A. DE JESUS CRUZ                       LEVITTOWN LAKES           LEVITTOWN                                                                                TOA BAJA            PR           00949
   283088 LUIS A. DE LEON GUZMAN                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283089 LUIS A. DIAZ CRUZ                           REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   701392 LUIS A. ESCABI PEREZ                        EXT VILLA CAPARRA         A15 CALLE GENOVA                                                                         GUAYNABO            PR           00966
                                                                                B24 VEREDA TROPICAL URB LAS
   701393 LUIS A. FELIX ARROYO                        LAS VEREDAS               VEREDAS                                                                                  BAYAMON             PR           00961

   283090 LUIS A. FERRE FOUNDATION INC. PO BOX 9027                                                                                                                      PONCE               PR           00732‐9027
   701394 LUIS A. FERRER BOSQUES        27 CALLE CUESTA VIEJA                                                                                                            AGUADILLA           PR           00603‐5320
   701396 LUIS A. GARCIA LUGO           P O BOX 21365                                                                                                                    SAN JUAN            PR           00928‐1365
   283091 LUIS A. GARCIA SANTANA        REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283092 LUIS A. GONZALEZ AGUAYO       REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   701398 LUIS A. GONZALEZ CAMACHO      BOX 8646                                                                                                                         HUMACAO             PR           00660
   283093 LUIS A. GONZALEZ CORDOVA      REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   701400 LUIS A. GONZALEZ GONZALEZ     RR 1 BOX 13401                                                                                                                   TOA ALTA            PR           00953
   283095 LUIS A. GONZALEZ ROSADO       REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283096 LUIS A. HERNANDEZ AYALA       REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283097 Luis A. Hernández Martinez    REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   700190 LUIS A. IRIZARY LOPEZ         PO BOX 718                                                                                                                       LAJAS               PR           00667 0718
   283099 LUIS A. LOPEZ DEL CASTILLO    REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283100 LUIS A. LOPEZ ORTIZ           REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283101 LUIS A. LOPEZ ROJAS           REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   701403 LUIS A. LOPEZ VELEZ           URB SALVADOR RIOS                       135 CALLE DORADO                                                                         ISABELA             PR           00662
   283102 LUIS A. LOYO ALICEA           REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283103 LUIS A. MARRERO SOTO          REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   701404 LUIS A. MARTINEZ ORTEGA       HP ‐ SALA CCEP                                                                                                                   RIO PIEDRAS         PR           009360000
   283105 LUIS A. MARTINEZ REYES        REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283106 LUIS A. MARTINEZ SEGARRA      REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                        147 CALLE LCDO E. VAZQUEZ
   701375 LUIS A. MARTINEZ SEGARRA      BAEZ                                                                                                                             MAYAGUEZ            PR           00680
   701406 LUIS A. MEJIAS CUEVAS         PO BOX 19175                                                                                                                     SAN JUAN            PR           00910‐9175
   283107 LUIS A. MELENDEZ REYES        REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   701408 LUIS A. MENDEZ                PROG. SERA BAYAMON                                                                                                               Hato Rey            PR           009360000
   701412 LUIS A. MIRANDA               URB. CASTELLA GARDENS                   CC 14 CALLE CASTILLA                                                                     CAROLINA            PR           00983
                                                                                64 CALLE SANTA CRUZ APT N
   701413 LUIS A. MOLINARY TERON                      COND RIVER PARK           205                                                                                      BAYAMON             PR           00961
   701414 LUIS A. MONTES SOTO                         PO BOX 28                                                                                                          HORMIGUEROS         PR           00660
   283111 LUIS A. MORERA LOPEZ                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283112 LUIS A. MUNIZ CAMPOS                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283114 LUIS A. NIEVES VELEZ                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283115 LUIS A. ORENGO GONZALEZ                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283116 LUIS A. ORSINI CINTRON                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   701416 LUIS A. ORTIZ DIAZ                          PO BOX 278                                                                                                         TRUJILLO ALTO       PR           00977
          LUIS A. ORTIZ MATOS/HOGAR
   283117 ANGEL L. ORTIZ                              REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283118 LUIS A. ORTIZ PIZARRO                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUIS A. PABON PEREZ /
   283120 MECANICA DAISY                              HC 1 BOX 29030 PB 416                                                                                              CAGUAS              PR           00725
   701420 LUIS A. PAGAN GONZALEZ                      HC 3 BOX 6806                                                                                                      HUMACAO             PR           00791
   283121 LUIS A. PAGAN PADRO                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   701421 LUIS A. PEREZ ADORNO                        62 AVE DE DIEGO APT 204                                                                                            SAN JUAN            PR           00907
   283122 LUIS A. PEREZ CABAN                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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MML ID                 NAME                                      ADDRESS 1                    ADDRESS 2               ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  283123 LUIS A. PEREZ DIAZ                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  283124 LUIS A. PEREZ QUINONES                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  283125 LUIS A. PIZARRO VAZQUEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  283126 LUIS A. PLAZA GUTIERREZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701424 LUIS A. RAMIREZ CEDENO                        P O BOX 983                                                                                                    LARES               PR         00669
  283128 LUIS A. RAMIREZ CENTENO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         LUIS A. RAMIREZ FLORES/
  283129 NALDITO BUS LINE                              P.O. BOX 2                                                                                                     SABANA GRANDE       PR         00637
  283130 LUIS A. RAMIREZ MARTINEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  283131 LUIS A. RAMIREZ VAZQUEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  283133 LUIS A. RECHANI CARDONA                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  701426 LUIS A. RENTA DIAZ                            URB ALAMO                   D17 CALLE SAN ANTONIO                                                              GUAYNABO            PR         00969
         LUIS A. REYES DBA TRANSPORTE
  283134 ESCOLAR                                       HC 01 BOX 7290                                                                                                 YAUCO               PR       00698
  701427 LUIS A. RIOS JIMENEZ                          RR 2 BOX 317                                                                                                   SAN JUAN            PR       00928
  283136 LUIS A. RIOS RIVERA                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
  283137 LUIS A. RIVEA ALICEA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
  701428 LUIS A. RIVERA ALICEA                         SICOSOCIAL CAYEY                                                                                               Hato Rey            PR       009360000
  283141 LUIS A. RIVERA FLORES                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
  283142 LUIS A. RIVERA HERNANDEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
  283143 LUIS A. RIVERA MORALES                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
 1256644 LUIS A. RIVERA ORTIZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
  701429 LUIS A. RIVERA PEREZ                          HC 01 BOX 1248                                                                                                 NARANJITO           PR       00719
  283144 LUIS A. RIVERA PRINCIPE                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED
  283147 LUIS A. ROBLES GONZALEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED      REDACTED

   283148 LUIS A. RODRIGUEZ BERMUDEZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   771148 LUIS A. RODRIGUEZ MATOS                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283150 LUIS A. RODRIGUEZ SANCHEZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283151 LUIS A. ROMAN BERBERENA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
                                                       BO. CAMARONES CALLE RADIO
   701430 LUIS A. ROMAN ROLDAN                         AFICIONA                    #109                                                                               AGUADILLA           PR         00623
   283154 LUIS A. ROMERO MARTINEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283155 LUIS A. ROSADO BULTES                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283156 LUIS A. ROSADO RODRIGUEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283157 LUIS A. ROSARIO COLON                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   701432 LUIS A. ROSARIO DIAZ                         PARC. NUEVA VIDA            51 CALLE 12                                                                        PONCE               PR         00728
   701433 LUIS A. SALAMAN SANTIAGO                     PLAZA CAROLINA STATION      PO BOX 9871                                                                        CAROLINA            PR         00988
   701434 LUIS A. SANCHEZ                              BUZON 73 MOATALVA                                                                                              ENSENADA            PR         00647
   283159 LUIS A. SANCHEZ ALEJANDRO                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   701435 LUIS A. SANCHEZ PEREZ                        L & M AUTO PARTS            31 CALLE MUNOZ RIVERA                                                              CIDRA               PR         00739
   283161 LUIS A. SANCHEZ RODRIGUEZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283163 LUIS A. SANTIAGO DE LEON                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   701436 LUIS A. SANTIAGO ROMAN                       SECTOR LAS ANIMAS           84 CALLE B                                                                         ARECIBO             PR         00612
   283164 LUIS A. SANTIAGO ROSADO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283165 LUIS A. SANTOS MARTINEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283166 LUIS A. SANTOS ORTIZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   701437 LUIS A. SOSA CRUZ                            HC 43 BOX 11579                                                                                                CAYEY               PR         00736
   283167 LUIS A. TORRES COLON                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   701440 LUIS A. TORRES DE JESUS                      PO BOX 670                                                                                                     JUANA DIAZ          PR         00795
   283168 LUIS A. TORRES MEDINA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283169 LUIS A. TORRES TORRES                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283170 LUIS A. VARGAS SILVA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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MML ID                NAME                                      ADDRESS 1                ADDRESS 2                     ADDRESS 3                           ADDRESS 4            CITY        STATE  POSTAL CODE       COUNTRY
  701444 LUIS A. VAZQUEZ SANTIAGO                     BO PUEBLO NUEVO           A197 CALLE TOPACIO                                                                     SAN GERMAN        PR       00683
  701445 LUIS A. VAZQUEZ VELAZQUEZ                    P O BOX 1611                                                                                                     LARES             PR       00669 1611
  283171 LUIS A. VAZQUEZ ZUBILLAGA                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  283172 LUIS A. VELAZQUEZ ACOSTA                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  283173 LUIS A.BERMUDEZ SANTIAGO                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED

   283174 LUIS A.MALDONADO RODRIGUEZ REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   283175 LUIS ABDIEL LABOY HERNANDEZ                 REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283176 LUIS ABDIER GARCIA ORTIZ                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701449 LUIS ABRAHAM CASTRO                         552 WAYMOUTH ST TH D                                                                                             SAN JUAN          PR         00907
   283177 LUIS ABRAHAM JUST PINERO                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701450 LUIS ABRAHAN ORTIZ                          VILLA ANDALUCIA           I 39 CALLE MOTRIL                                                                      SAN JUAN          PR         00926
   701451 LUIS ABREU                                  BOX 2545                                                                                                         ISABELA           PR         00662
   701452 LUIS ABREU & ASSOCIATES                     RIO PIEDRAS HEIGHTS       131 CALLE SALVEN                                                                       SAN JUAN          PR         00926
   701454 LUIS ABREU GARCIA                           P O BOX 70                                                                                                       NAGUABO           PR         00718
   283178 LUIS ABREU TORRES                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701455 LUIS ACEVEDO                                URB REXVILLE              2 20 CALLE 16                                                                          BAYAMON           PR         00957
   283179 LUIS ACEVEDO BONILLA                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701458 LUIS ACEVEDO GARCIA                         BOX 3399                                                                                                         ADJUNTAS          PR         00601‐9703
   701460 LUIS ACEVEDO LAZZARINI                      BOX 1868                                                                                                         AGUADILLA         PR         00605‐1868
   701461 LUIS ACEVEDO SOLTERO                        PO BOX 4491                                                                                                      AGUADILLA         PR         00605‐4491
   701462 LUIS ACOSTA INC                             P O BOX 449                                                                                                      SAN JUAN          PR         00922‐1509
                                                      COND JARDINES
   701463 LUIS ACOSTA MARTINEZ                        METROPOLITANO             1355 CALLE GALILEO APT 7A                                                              SAN JUAN          PR         00927
   700191 LUIS ACOSTA MONROIG                         PO BOX 944                                                                                                       CAGUAS            PR         00726
   701464 LUIS ACOSTA RIVERA                          ALTS DE SAN PEDRO         O 36 CALLE SAN CRISTOBAL                                                               FAJARDO           PR         00738
   701465 LUIS ACOSTA RODRIGUEZ                       URB LEVITTOWN 1120        PASEO DELEITE                                                                          TOA BAJA          PR         00949

   701466 LUIS ADRIAN RODRIGUEZ PEREZ                 PO BOX 4315                                                                                                      CAROLINA          PR         00984‐4315
   701467 LUIS AGOSTO BAEZ                            PORTICOS DE CUPEY         CARR 845 APT 7 102                                                                     SAN JUAN          PR         00926
   701468 LUIS AGOSTO MERTINEZ                        P O BOX 685                                                                                                      VEGA ALTA         PR         00692
   283181 LUIS AGRAIT BETANCOURT                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283182 LUIS AGUAYO GONZALEZ                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      PO BOX 21937 UNIVERSITY
   701472 LUIS AGUIRRE                                STATION                                                                                                          SAN JUAN          PR         00931‐1937
   283183 LUIS ALAMO PEREZ                            REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701474 LUIS ALBARRAN OQUENDO                       PO BOX 562                                                                                                       YAUCO             PR         00698
   283184 LUIS ALBERTO CANDELARIO                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   701477 LUIS ALBERTO DE ALBA GARCIA                 PO BOX 1061                                                                                                      PATILLAS          PR         00723
   701475 LUIS ALBERTO DIAZ ALICEA                    VILLA MARIA               V 4 CALLE 15                                                                           CAGUAS            PR         00725

   283185 LUIS ALBERTO FEBUS CALDERON                 REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUIS ALBERTO FIGUEROA
   283186 JIMENEZ                                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUIS ALBERTO FRANCESCHINI
   701478 ROMAGUERA                                   URB MARIANI               AVE ROOSEVELT 2909                                                                     PONCE             PR         00717
          LUIS ALBERTO GONZALEZ
   283187 GUZMAN                                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   701479 LUIS ALBERTO NEGRON LOPEZ                   COMUNIDAD EL LAUREL       615 PASEO SAN PEDRITO                                                                  COTO LAUREL       PR         00780‐2412




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   701480 LUIS ALBERTO NIEVES GONZALEZ URB SANTIAGO IGLESIAS                     1755 CALLE P PILLOT GARCIA                                                              SAN JUAN            PR           00921
   701482 LUIS ALBERTO RAMIREZ         VISTA VERDE                               CORAL BAY THE SEA                                                                       SAN JUAN            PR           00914
   283190 LUIS ALBERTO REYES FEBLES    REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283191 LUIS ALBERTO RIVERA LOPEZ    REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   283192 LUIS ALBERTO ROLDAN VELILLA                 REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   283193 LUIS ALBERTO ROSARIO QUILES                 REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283194 LUIS ALBERTO SANTANA PENA                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   283195 LUIS ALBERTO TORRES TORRES                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   283196 LUIS ALBERTO VAZQUEZ ROSADO REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   701483 LUIS ALBINO ALBINO          PO BOX 560754                                                                                                                      GUAYANILLA          PR           00656
   283198 LUIS ALCAGEL GONZALEZ JR    REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   700192 LUIS ALEJANDRINO GARCIA     MONSERRATE TOWERS                          1707 EDIF II                                                                            CAROLINA            PR           00983
   701484 LUIS ALEJANDRO CESTARIS     300 S PLUMOSA ST                                                                                                                   MERRITT IS          FL           32952‐3326
   701485 LUIS ALEMANY SANCHEZ        PO BOX 221                                                                                                                         GUAYAMA             PR           00785
   701486 LUIS ALERS SERRA            P O BOX 396                                                                                                                        AGUADILLA           PR           00605

   283200 LUIS ALEXANDER COLON SOTO                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   701487 LUIS ALEXIS RODRIGUEZ COLON                 B 1 13 JARD DE LAFAYETTE                                                                                           ARROYO              PR           00714
   701488 LUIS ALFAU REQUENA                          COND IRIZARRY 2065         AVE LAS AMERICAS STE 206                                                                PONCE               PR           00717‐0782
   701489 LUIS ALFONSO DIAZ RAMIREZ                   URB LOMAS VERDES           3U 10 CALLE JUNQUITO                                                                    BAYAMON             PR           00956

   701490 LUIS ALFREDO CANCEL ROSADO                  PO BOX 396                                                                                                         LAJAS               PR           00667

   701491 LUIS ALFREDO CORTES RIVERA                  HC3 BOX 32986                                                                                                      AGUADILLA           PR           00603
          LUIS ALFREDO PANTOJAS DEL
   283201 VALLE                                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   701492 LUIS ALFREDO PEREZ LOPEZ                    PO BOX 34237                                                                                                       FORT BUCHANAN       PR           00934

   283202 LUIS ALFREDO RIVERA ANDUJAR                 REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283203 LUIS ALGARIN DE JESUS                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   701493 LUIS ALICEA DELGADO                         PRK VANS COY               DD 64 REXVILLE                                                                          BAYAMON             PR           00957
   283204 LUIS ALICEA RODRIGUEZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   701494 LUIS ALLEND GUADALUPE                       HC 02 BOX 19080                                                                                                    GURABO              PR           00778
   701495 LUIS ALMODOVAR TRAVERSO                     P O BOX 4091               SALUD STATION                                                                           MAYAGUEZ            PR           00681
   701496 LUIS ALONSO VEGA                            EXT COUNTRY CLUB           QI 1 CALLE 529                                                                          CAROLINA            PR           00928
   701497 LUIS ALVARADO                               PO BOX 4956‐336                                                                                                    CAGUAS              PR           00725
   283206 LUIS ALVARADO GARCIA                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   701498 LUIS ALVARADO LOPEZ                         HC 72 BOX 6776                                                                                                     CAYEY               PR           00736
   701500 LUIS ALVARADO LUGO                          PO BOX 539                                                                                                         SAN GERMAN          PR           00683
   701501 LUIS ALVARADO ORTIZ                         EXT PUNTO ORO              4857 CALLE EL TEMIDO                                                                    PONCE               PR           00728‐2112
   283207 LUIS ALVARADO THIELE                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   701502 LUIS ALVAREZ GALVAN                         POBLADO SAN ANTONIO        150 CALLE GENARO BADILLO                                                                AGUADILLA           PR           00690
   283208 LUIS AMADOR MARRERO                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   701503 LUIS AMADOR RIVERA                          P O BOX 533                                                                                                        CAROLINA            PR           00650
          LUIS AMARO VAZQUEZ / ANA
   701505 BURGOS                                      PO BOX 452                                                                                                         AGUIRRE             PR           00704
   701506 LUIS AMARZAN SOTO                           URB JOSE MERCADO           88 A CALLE F D ROOSEVELL                                                                CAGUAS              PR           00725



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  701507 LUIS AMATO GARCIA                            BOX 138                                                                                                  ARECIBO             PR         00612
  283209 LUIS AMAURI SUAREZ ZAYAS                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701508 LUIS AMBERT ROBLES                           BOX 813                                                                                                  CIALES              PR         00638

   283210 LUIS AMBULANCE SERVICES INC P O BOX 783                                                                                                              JAYUYA              PR         00664‐0783
   283211 LUIS AMEZQUITA MELENDEZ       REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   283212 LUIS AMPUDIA                  REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   283213 LUIS AN GOMEZ DIAZ            REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   283214 LUIS ANDINO RODRIGUEZ         REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUIS ANDINO RODRIGUEZ / ADA I
   283216 ANDINO                        REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   283217 LUIS ANDRADE MANTILLA         REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   701510 LUIS ANGEL ALICEA BONES       L 5 CALLE GILBERTO ROLON                                                                                               CAGUAS              PR         00725
   701512 LUIS ANGEL BURGOS ORTIZ       P O BOX 53                                                                                                             HORMIQUEROS         PR         00660
          LUIS ANGEL CACERES
   283218 RODRIGUEZ                     REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUIS ANGEL CARRASQUILLO
   283219 GONZALEZ                      REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUIS ANGEL CARRASQUILLO
   283220 RODRIGUEZ                     REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   701513 LUIS ANGEL COLON DIAZ         HC 01 BOX 6680                                                                                                         JUNCOS              PR         00777
   701514 LUIS ANGEL COTTO LEON         RR 01 3305                                                                                                             CIDRA               PR         00739
   283221 LUIS ANGEL DAVILA             REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   283223 LUIS ANGEL DIAZ MUðOZ         REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUIS ANGEL ESMURRIA
   701515 GONZALEZ                      HC 3 BOX 10798                                                                                                         JUANA DIAZ          PR         00795
   283227 LUIS ANGEL FEBLES RAMOS       REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   283228 LUIS ANGEL FLORES COLLAZO     REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   701516 LUIS ANGEL GARAY LOPEZ        E 41 CALLE SAN MIGUEL                                                                                                  SALINAS             PR         00751
   283229 LUIS ANGEL GARCIA VEGA        REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUIS ANGEL GONZALEZ
   283230 JUSTINIANO                    REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   701517 LUIS ANGEL GONZALEZ VEGA      URB LA CONCEPCION                    129 CALLE CANDELARIA                                                              GUAYANILLA          PR         00656
   283231 LUIS ANGEL KARRY VALLE        REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   283232 LUIS ANGEL MARRERO            REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   283233 LUIS ANGEL MELENDEZ VILA      REDACTED                             REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   283234 LUIS ANGEL MENDEZ RODRIGUEZ REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUIS ANGEL MORALES
   283235 CHAPARRO                    REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   701518 LUIS ANGEL NIEVES           137 CALLE MERCADO                                                                                                        AGUADILLA           PR         00603
   701519 LUIS ANGEL RAMIREZ TORRES   VILLA REAL                             C 48 CALLE 3                                                                      VEGA BAJA           PR         00693
   283238 LUIS ANGEL RIVERA DIAZ      REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   283239 LUIS ANGEL RIVERA LABOY     REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   701520 LUIS ANGEL RIVERA NATAL     HC 1 BOX 5710                                                                                                            BAJADERO            PR         00612
   701521 LUIS ANGEL RIVERA SANCHEZ   PO BOX 896                                                                                                               DORADO              PR         00646

   283240 LUIS ANGEL RIVERA SULIVERES                 REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUIS ANGEL RODRIGUEZ
   283241 FERNANDEZ                                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUIS ANGEL RODRIGUEZ
   701522 GONZALEZ                                    HC 01 BOX 4845                                                                                           BAJADERO            PR         00616‐9710




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          LUIS ANGEL RODRIGUEZ
   701523 MELENDEZ                                    HC 1 BOX 4967                                                                                                  JUANA DIAZ           PR           00795

   283242 LUIS ANGEL RODRIGUEZ RAMOS REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   701524 LUIS ANGEL RODRIGUEZ RIVERA                 HC 2 BOX 48110                                                                                                 VEGA BAJA            PR           00693
   283243 LUIS ANGEL ROSA CASTRO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   283244 LUIS ANGEL ROSA GONZALEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   283246 LUIS ANGEL TORRES ROMAN                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   283247 LUIS ANGEL VAZQUEZ ROSARIO                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   701525 LUIS ANGEL VIERA VIERA                      RES NEMESIO R CANALES        EDIF 33 APT 610                                                                   SAN JUAN             PR           00918
   283248 LUIS ANTOMATTEI CARMONA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LUIS ANTONIO AGOSTO
   283249 HERNANDEZ                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   283250 LUIS ANTONIO APONTE DIAZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LUIS ANTONIO ARENAS
   283251 MONTALVO                                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   701526 LUIS ANTONIO BIGIO BENITEZ                  RR 10 BOX 10228                                                                                                SAN JUAN             PR           00926
                                                      CARR.8667 BUZON 16 SABANA
   701527 LUIS ANTONIO BRIGNONI VERA                  SECA                                                                                                           TOA BAJA             PR           00952
   701528 LUIS ANTONIO CASTRO VEGA                    RRN 3 BOX 3545                                                                                                 SAN JUAN             PR           00928

   283253 LUIS ANTONIO COLON PERALES                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   283254 LUIS ANTONIO CURET                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   283255 LUIS ANTONIO FIGUEROA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LUIS ANTONIO GONZALEZ
   701529 DELGADO                                     P O BOX 526                                                                                                    YAUCO                PR           00698
   701530 LUIS ANTONIO LOPEZ ORTIZ                    RES CANDELARIA               EDIF 15 APT 128                                                                   MAYAGUEZ             PR           00680
          LUIS ANTONIO MARTINEZ
   283256 CRESPO                                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   283258 LUIS ANTONIO MUÐIZ MARCIAL                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   283259 LUIS ANTONIO MUNIZ MARCIAL REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   283261 LUIS ANTONIO NEGRON COLON                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   701531 LUIS ANTONIO ORENGO RAMOS HC 01 BOX 5987                                                                                                                   GUAYANILLA           PR           00656
   283262 LUIS ANTONIO ORTIZ        REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   283263 LUIS ANTONIO PENA MERCED  REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   283264 LUIS ANTONIO PEREZ ALVARADO REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   701533 LUIS ANTONIO TORRES ACOSTA                  BO PALOMAS                   9 CALLE 11                                                                        YAUCO                PR           00698
   283265 LUIS ANTONIO VEGA PEREZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   283266 LUIS ANTONIO ZAYAS BORGES                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   701534 LUIS ANTONMACHY RIVERA                      BO LAS MARIAS                6 CALLE PRINCIPAL                                                                 SALINAS              PR           00751
   701535 LUIS APONTE APONTE                          18 CALLE CRUZ ORTIZ STELLA                                                                                     HUMACAO              PR           00791
   283267 LUIS APONTE ECHEVARRIA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   701536 LUIS APONTE LOPEZ                           PO BOX 9024275                                                                                                 SAN JUAN             PR           00902‐4275
   283269 Luis Aponte Martinez                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   701538 LUIS APONTE RODRIGUEZ                       P O BOX 163                                                                                                    SANTA ISABEL         PR           00757



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  701539 LUIS APONTE ROSARIO                          PO BOX 142                                                                                                           LAS MARIAS        PR           00670
         LUIS APONTE TUTOR LUIS
  283270 APONTE VEGA                                  REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  701540 LUIS APONTE VICENS                           BDA SAN LUIS                11 CALLE SILOE                                                                           AIBONITO          PR           00705
  701543 LUIS ARANA PALACIO                           COND CORAL BEACH I          5869 AVE ISLA VERDE APT 808                                                              CAROLINA          PR           00979‐5713
  283271 LUIS ARBELO ENCARNACION                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
                                                                                  AVE SAGRADO CORAZON ESQ
   701544 LUIS ARCE HERNANDEZ                         SUPERINTENCIA DE ESCUELA    CALLE 11                                                                                 SAN JUAN          PR           00915
   700193 LUIS ARCE NIEVES                            BO COMASEYES                406 CALLE LOS VAZQUEZ                                                                    AGUADILLA         PR           00603
   283272 LUIS ARENAS PEREZ                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   283273 LUIS AREVALO                                REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   283274 LUIS ARIAS MALDONADO                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   701545 LUIS ARIEL RIVERA RIVERA                    BO GUZMAN ABAJO             HC 03 BOX 180 10                                                                         RIO GRANDE        PR           00745
   701546 LUIS ARILL VAZQUEZ                          LOMAS VERDES                2 P 39 GRANADILLA                                                                        BAYAMON           PR           00956
   283275 LUIS ARISTUD                                REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   701547 LUIS ARIVERA OROZCO                         P O BOX 1870                                                                                                         CANOVANAS         PR           00729
   283276 LUIS ARMANDO ABREU BRITO                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          LUIS ARMANDO ANDINO
   283277 CINTRON                                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          LUIS ARMANDO BERMUDEZ
   283278 PEREZ                                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   701548 LUIS ARMANDO BERRIOS                        SIERRA BAYAMON              14 AVE WEST MAIN                                                                         BAYAMON           PR           00956
          LUIS ARMANDO BURGOS
   283279 MELENDEZ                                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   283280 LUIS ARMANDO COLON DUENO                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          LUIS ARMANDO MIGNUCCI
   283281 GARCIA                                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   283282 LUIS ARMANDO RIVERA CRUZ                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   701549 LUIS ARMSTRONG CORTADA                      1 CHALETS DEL BOULEVARD     APT 1                                                                                    PONCE             PR           00716‐2490

   283283 LUIS ARNALDO DUENO VARGAS                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   701550 LUIS ARNALDO LAZU HERRERA                   BO COLLORES                 CARR 926 KM 0 9                                                                          HUMACAO           PR           00791
   701551 LUIS AROCHO RODRIGUEZ                       MIRAMAR                     608‐65 B CALLE OLIMPO                                                                    SAN JUAN          PR           00907
   701552 LUIS ARROYO ADORNO                          URB PARQUE ECUESTRE         H 6 CALLE EL TITAN                                                                       CAROLINA          PR           00987‐8528
   701553 LUIS ARROYO COLLADO                         ATOCHA STATION              PO BOX 6756                                                                              PONCE             PR           00733‐6756
   700194 LUIS ARROYO FIOL                            URB VILLA BLANCA            46 CALLE TOPACIO                                                                         CAGUAS            PR           00725
   701554 LUIS ARROYO MALDONADO                       URB LA GUADALUPE            O 30 CALLE SAN JUDAS                                                                     PONCE             PR           00731
   283284 LUIS ARROYO MONTALVO                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   701555 LUIS ARROYO PIETRI                          VILLA BLANCA                21 CALLE JOSLE                                                                           CAGUAS            PR           00725
   701556 LUIS ARROYO ROMAN                           ALT DEL MAR                 BOX 97 A CALLE CRUCEROS                                                                  ISABELA           PR           00662
   283285 LUIS ARROYO VILLANUEVA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   283286 LUIS ARZUAGA DAVILA                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   701558 LUIS ASENCIO CID                            PO BOX 5000‐119                                                                                                      SAN GERMAN        PR           00683
   701559 LUIS ASENCIO PABON                          CALLE LUNA (ALTOS) 121                                                                                               SAN GERMAN        PR           00683
                                                      URB.VILLA CAROLINA 142‐4
   701560 LUIS ASTACIO ENCARNACION                    CALLE‐409                                                                                                            CAROLINA          PR           00985
                                                      COOP JARDINES DE VALENCIA
   701563 LUIS ATILANOS FONTANEZ                      APT 105                                                                                                              SAN JUAN          PR           00923
   701564 LUIS AUTO COLLISION                         PARC AMADEO                 10 CALLE B 1                                                                             VEGA BAJA         PR           00693
   701565 LUIS AVILES BARRETO                         355 CALLE LA PROVIDENCIA                                                                                             MOCA              PR           00676
   283287 LUIS AVILES JIMENEZ                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  701568 LUIS AVILES RIVERA                           HC 01 BOX 6803                                                                                                        SALINAS           PR           00751
  701569 LUIS AVILES VERA                             BOQUERON                       APARTADO 1177                                                                          BOQUERON          PR           00622
         LUIS AYALA COLON SUCESORES
  283288 INC/VERA LOPE                                AND ASSOCIATES PSC             PO BOX 7066                                                                            PONCE             PR           00732‐7066
  701570 LUIS AYALA CORA                              7 CAMPITO BRENES                                                                                                      ARROYO            PR           00714
  283290 LUIS AYALA FINES                             REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  283291 LUIS AYALA GONZALEZ                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  283292 LUIS AYALA LANDON                            REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  283293 LUIS AYALA RIVERA                            REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  283294 LUIS AYMAT ILLA                              REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  283295 LUIS AYMAT RIVERA                            REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  701572 LUIS B AGOSTINI ALVAREZ                      PQUE SAN PATRICIO II           APT 805                                                                                GUAYNABO          PR           00968
  283296 LUIS B BONILLA DIAZ                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  283297 LUIS B BONILLA OLIVENCIA                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  701574 LUIS B BONILLA VICENTE                       HC 43 BOX 11241                                                                                                       CAYEY             PR           00736
  701575 LUIS B GONZALEZ                              P O BOX 191689                                                                                                        SAN JUAN          PR           00919‐1689
  701577 LUIS B GONZALEZ INGLES                       URB VISTA BELLA                D 5 CALLE 2                                                                            BAYAMON           PR           00956
  701578 LUIS B JURADO                                BO CAMARONES CARR K 7 0                                                                                               GUAYNABO          PR           00970

   701579 LUIS B JURADO BEQUER                        LOMAS DE CAROLINA              M 14 CALLE MONTE MEMBRILLO                                                             CAROLINA          PR           00987
   283298 LUIS B LOPEZ RODRIGUEZ                      REDACTED                       REDACTED                   REDACTED                             REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   701580 LUIS B MARCIAL REICHARD                     30 CALLE BETANCES                                                                                                     AGUADILLA         PR           00603
   283299 LUIS B MENDEZ MENDEZ                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   283301 LUIS B MUNIZ COLON                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   701581 LUIS B ORTIZ                                URB LAS DELICIAS               CALLE 6 HB 15                                                                          PONCE             PR           00731
   283302 LUIS B ORTIZ ARROYO                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   701582 LUIS B PEREZ CURCIO                         MALAGA PARK APT 11                                                                                                    GUAYNABO          PR           00971
   701583 LUIS B RAMOS MARRERO                        URB EL CONQUISTADOR            D 5 CALLE DIEGO VELAZQUEZ                                                              TRUJILLO ALTO     PR           00976‐6402
   283305 LUIS B RAMOS RODRIGUEZ                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   701584 LUIS B RIEFKOHL                             COND GREEN VILLAGE 472         AVE DE DIEGO APT 801 A                                                                 SAN JUAN          PR           00921
   701586 LUIS B RIVERA VELAZQUEZ                     PO BOX 372                                                                                                            YABUCOA           PR           00767
   701587 LUIS B RODRIGUEZ BERRIOS                    PO BOX 5479                    BO ARENAS                                                                              CIDRAS            PR           00739
   283306 LUIS B RODRIGUEZ LAZANEY                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   283308 LUIS B WATKINS ROSADO                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   701589 LUIS BADILLO ARROYO                         380 CALLE TAMARINDO                                                                                                   ARECIBO           PR           00612
   701591 LUIS BAERGA GARCIA                          HC 1 BOX 2520                                                                                                         MAUNABO           PR           00707‐9712
   701593 LUIS BAEZ FIGUEROA                          HC 37 BOX 7505                                                                                                        GUANICA           PR           00653
   701594 LUIS BAEZ MALDONADO                         412 CALLE VILLA                                                                                                       PONCE             PR           00731
   283309 LUIS BAEZ RONDA                             REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   283310 LUIS BARBOSA CRUZ                           REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   283311 LUIS BARBOSA TORRES                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   701595 LUIS BARRETO HIDALGO           COND CIUDAD UNIVERSITARIA B                 2 AVE PEROFERAL APT 140                                                                TRUJILLO ALTO     PR           00976
   283312 LUIS BARTOLOMEI RAMOS          REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   283313 Luis Batista                   REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   283314 LUIS BATIZ VEGA                REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   283315 LUIS BAUZO FELICIANO           REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   701599 LUIS BAYO DERIBERPREY          153 CALLE GUAYAMA                                                                                                                  SAN JUAN          PR           00917
   283316 LUIS BEAUCHAMP LLANOS          REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          LUIS BELLO TIRADO / EQUIPO A A
   701600 VEGA BAJA                      URB JARDINES                                9 CALLE T O                                                                            VEGA BAJA         PR           00693

   701601 LUIS BENABE DIAZ                            123 A CALLE FERNANDEZ GARCIA                                                                                          LUQUILLO          PR           00773



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  701603 LUIS BENABE HERNANDEZ                        PO BOX 9024275                                                                                                  LUQUILLO             PR         00902‐4275
  701606 LUIS BENABE PEREZ                            VISTAS DEL CONVENTO         C 5 CALLE 2                                                                         FAJARDO              PR         00738
  283317 LUIS BENIQUEZ CORTES                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  701608 LUIS BENITEZ LABOY                           7234 CALLE 79                                                                                                   CEIBA                PR         00735
  701609 LUIS BENITEZ RODRIGUEZ                       URB CIUDAD REAL             456 CALLE ALBA                                                                      VEGA BAJA            PR         00694
  283318 LUIS BENITEZ TAPIA                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   283319 Luis Benjamin Mendez Mendez                 REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283320 LUIS BERBERENA SERRANO                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   701610 LUIS BERDEGUEZ MARRERO                      URB. SANTA JUANITA          4 ONICE NH‐16                                                                       BAYAMON              PR         00956
   283321 LUIS BERGUNO FERRER                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283322 LUIS BERMUDEZ RODRIGUEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   701612 LUIS BERNAL VARGAS                          HATO ARRIBA                 P O BOX 3092                                                                        SAN SEBASTIAN        PR         00685
   283323 LUIS BERRIOS                                REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   701614 LUIS BERRIOS AGOSTO                         URB SIERRA LINDA R 27       CALLE 5                                                                             BAYAMON              PR         00957
   283324 LUIS BERRIOS AMADEO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   701615 LUIS BERRIOS ARZUAGA                        URB LEVITTOWN               BM 4 CALLE DR CORONADO                                                              TOA BAJA             PR         00949
   701616 LUIS BERRIOS CASTRO                         URB METROPOLIS II           2 161 CALLE 64                                                                      CAROLINA             PR         00987
   283325 LUIS BERRIOS DE HOSTOS                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   701618 LUIS BERRIOS DURAN                          URB EL DORADO O 2 CALLE C                                                                                       SAN JUAN             PR         00926
   701619 LUIS BERRIOS FLORES                         LA SALAMANCA TOLEDO 251                                                                                         SAN GERMAN           PR         00683
   701620 LUIS BERRIOS LOPEZ                          URB SAN ANTONIO             HC CALLE 58                                                                         ARROYO               PR         00714
   283326 LUIS BERRIOS PASTRANA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283327 LUIS BERRIOS PIZARRO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283328 LUIS BERRIOS RUIZ                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   701621 LUIS BERROCALES VEGA                        HC 09 BOX 4803                                                                                                  SABANA GRANDE        PR         00637
   283330 LUIS BETANCOURT DE LEON                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   283331 LUIS BETANCOURT GUERRERO                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283332 LUIS BETANCOURT GUZMAN                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   701623 LUIS BETANCOURT PIZARRO                     HC 2 BOX 15457                                                                                                  CAROLINA             PR         00985
   701624 LUIS BILLOCH INC                            PO BOX 670                                                                                                      MAYAGUEZ             PR         00681
   283333 LUIS BLANCO MALDONADO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283334 Luis Blasini Ortiz                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283336 LUIS BOBIN SOLTREN                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283338 LUIS BONEO BURGOS                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283339 LUIS BONILLA RIVERA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283340 LUIS BORGES BORGES                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   701629 LUIS BORGES MACHADO                         PO BOX 118                                                                                                      CIDRA                PR         00739
   701631 LUIS BOSCH DE HASETH                        CAPARRA HGTS STATION        PO BOX 11727                                                                        SAN JUAN             PR         00922
   283343 LUIS BRACERO                                REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   701632 LUIS BRAU CEBRIAN                           PO BOX 9702                                                                                                     SAN JUAN             PR         00908

   701634 LUIS BULTRON VIZCARRONDO                    2263 AVE BORINQUEN                                                                                              SAN JUAN             PR         00915
   701636 LUIS BURGOS ANAYA                           HC 72 BOX 7053                                                                                                  CAGUAS               PR         00726
   701637 LUIS BURGOS BURGOS                          ESTANCIA DE LA LOMA         BOX 88 CALLE 8                                                                      HUMACAO              PR         00791
   701635 LUIS BURGOS CORTES                          BDA SANTA ANA               142 17 CALLE D                                                                      GUAYAMA              PR         00784
   283344 LUIS C AVILES JIMENEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   701639 LUIS C AYES GARCIA                          PO BOX 583                                                                                                      SALINAS              PR         00751‐0583
   701640 LUIS C BONILLA ALVARADO                     P O BOX 281                                                                                                     VILLALBA             PR         00766
   283345 LUIS C BRIGNONI SANFELIZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283346 LUIS C CAPRE MARTINEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   701641 LUIS C CARRASCO VAZQUEZ                     HC 40 BOX 43105                                                                                                 SAN LORENZO          PR         00754



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  701642 LUIS C CARRASQUILLO                           C 2 URB LAS VEGAS                                                                                                CANOVANAS         PR         00729
  283347 LUIS C CLASS VENDRELL                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  701643 LUIS C CORP TORMOS                            BOX 78                  PUNTA SANTIAGO                                                                           HUMACAO           PR         00741
  283348 LUIS C CORUJO SANTOS                          REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  283349 LUIS C CRESPO ORTIZ                           REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  283350 LUIS C CRUZ GARCIA                            REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   701645 LUIS C DE JESUS TIRADO                       COND EL ALCAZAR         500 CALLE VALCARCEL APT 7 D                                                              SAN JUAN          PR         00923
   283351 LUIS C DELGADO GERENA                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701647 LUIS C FERNANDEZ TRINCHET                    268 AVE PONCE DE LEON   SUITE 517                                                                                HATO REY          PR         00918

   701648 LUIS C HERNANDEZ HERNANDEZ                   HC 01 BOX 5543                                                                                                   MOCA              PR         00676
   701651 LUIS C MOLINA GUADALUPE                      VILLA GUADALUPE         DD11 CALLE 23                                                                            CAGUAS            PR         00725
   283354 LUIS C ORTIZ RAMOS                           REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701652 LUIS C ROBLES VICENTI                        PO BOX 1229                                                                                                      ARROYO            PR         00714
   283356 LUIS C RODRIGUEZ IRIZARRY                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283357 LUIS C ROSADO GALARZA                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283358 LUIS C SANTIAGO PAGAN                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283359 LUIS C SANTIAGO PEREZ                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283360 LUIS C TORRELLAS RUIZ                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283361 LUIS C VELASQUEZ BARBOSA                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283362 LUIS C VICENTI COLON                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283363 LUIS C. DUENO VARGAS                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701654 LUIS C. FERNANDEZ MATEO                      URB FLAMBOYANES         2005 CALLE NAVARRA                                                                       PONCE             PR         00716‐4611
   283364 LUIS C. ROJAS RUIZ                           REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701657 LUIS CABAN SOTO                              PO BOX 77                                                                                                        SAN ANTONIO       PR         00690
   283366 LUIS CABRERA HERNANDEZ                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283367 LUIS CABRERA MEDINA                          REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701658 LUIS CABRERA TORRES                          PO BOX 7126                                                                                                      PONCE             PR         00732
   701659 LUIS CADIZ SANTIAGO                          BO COCO                 164 CALLE J C BARBOSA                                                                    SALINAS           PR         00751‐2531
   701660 LUIS CALDERON                                URB VISTAMAR            W1100 CALLE GUADALAJARA                                                                  CAROLINA          PR         00983
   283368 LUIS CALDERON NAVARRO                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701661 LUIS CALDERON PEREZ                          35 AVE BUENA VISTA                                                                                               MOROVIS           PR         00687
   283369 LUIS CAMACHO GONZALEZ                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283370 LUIS CAMACHO MATTEI                          REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701662 LUIS CAMIS MELENDEZ                          HC 2 BOX 4601                                                                                                    LAS PIEDRAS       PR         00771
   701663 LUIS CANCEL MALAVE                           HC 3 BOX 36681                                                                                                   MAYAGUEZ          PR         00680
   701664 LUIS CANDELARIO GONZALEZ                     HC 1 BOX 6764                                                                                                    AGUAS BUENAS      PR         00703
   701665 LUIS CANDELARIO VARGAS                       JARD DE CAPARRA         EDIF 2 APTO 56                                                                           BAYAMON           PR         00959
   701667 LUIS CAR CLEANER                             PO BOX 789                                                                                                       CIDRA             PR         00739
   283371 LUIS CARABALLO CARTAGENA                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   701668 LUIS CARABALLO FELICIANO                     BO DIEGO HERNANDEZ      SEC LOMAS BONIFE PO BOX 771                                                              YAUCO             PR         00698
   283372 LUIS CARABALLO QUINONES                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283373 LUIS CARABALLO RUIZ                          REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283374 LUIS CARBONELL LANUZA                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283375 LUIS CARDONA GARCIA                          REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283376 LUIS CARDONA MORALES                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701671 LUIS CARLO AYMAT                             P O BOX 629                                                                                                      CABO ROJO         PR         00623

   283377 LUIS CARLO COLLAZO MD, JOSE                  REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283378 LUIS CARLO SUAREZ                            REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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   701672 LUIS CARLOS DELGADO TORRES                  URB ROSA MARIA               CALLE 3 C 20                                                                        CAROLINA             PR           00985

   283379 LUIS CARLOS GUTIERREZ BLANCO REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   283380 LUIS CARLOS JIMENEZ          REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   283382 LUIS CARMONA VAZQUEZ         REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   283383 LUIS CARO ACEVEDO            REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   701674 LUIS CARRASQUILLO ALEMAN     COLINA DE FAIR VIEW                         42 CALLE 220 4 Q                                                                    SAN JUAN             PR           00976
   701675 LUIS CARRASQUILLO DIAZ       LAS FLAMBOYANES                             71 CALLE CEIBA                                                                      GURABO               PR           00778
   701676 LUIS CARRASQUILLO LLIMAS     HC 2 BOX 18669                                                                                                                  GURABO               PR           00778
   283384 LUIS CARRASQUILLO TORRES     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   701677 LUIS CARRASQUILO LLINAS      HC 2 BOX 18669                                                                                                                  GURABO               PR           00778
   701678 LUIS CARRIL VELEZ            P O BOX 1720                                                                                                                    SAN SEBASTIAN        PR           00685

   283385 LUIS CARRILLO / RETO JUVENIL                PO BOX 580166                                                                                                    KISSIMMEE            FL           34758

   701680 LUIS CARRILLO RIVERA                        PARCELA 192‐E COM LA BARRA                                                                                       CAGUAS               PR           00725
   283386 LUIS CARRION BAUZO                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   701681 LUIS CARTAGENA RIOS                         LOMAS DE TRUJILLO            G 30 CALLE 7                                                                        TRUJILLO ALTO        PR           00976
   283387 LUIS CASADO RODRIGUEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   283388 LUIS CASTILLO SOSTRE                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   701682 LUIS CASTRO FLORES                          URB DEL CARMEN               C 41 CALLE ACASIA                                                                   RIO GRANDE           PR           00745
   283389 LUIS CASTRO LUGO                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   283390 LUIS CASTRO MALDONADO                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   283391 LUIS CASTRO PADILLA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   701686 LUIS CASTRO RIOPEDRE        232 AVE ELEONOR ROOSEVELT                                                                                                        SAN JUAN             PR           00907
   283392 LUIS CENTENO RODRIGUEZ      REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   283393 LUIS CEPEDA RIVERA          REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   701689 LUIS CESAREO MELENDEZ       PO BOX 625                                                                                                                       SABANA SECA          PR           00952
   283395 LUIS CHAPARRO SANCHEZ       REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   283396 LUIS CHARON LOPEZ           REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   701690 LUIS CHEVERE DUPEROY        PO BOX 9020485                                                                                                                   SAN JUAN             PR           00902‐0485
   283397 LUIS CHEVERE VAZQUEZ        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   283398 LUIS CHEVERRE VAZQUEZ       REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   701691 LUIS CINTRON BURGOS         CAPARRA TERRACE                              1575 CALLE 16 SO                                                                    SAN JUAN             PR           00921
   701692 LUIS CINTRON MALDONADO      P O BOX 2390                                                                                                                     SAN JUAN             PR           00919
   701693 LUIS CINTRON OJEDA          ALT DE RIO GRANDE                            R 928 CALLE 17B                                                                     RIO GRANDE           PR           00745
   283399 LUIS CINTRON ORTIZ          REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   283401 LUIS CINTRON ROSARIO        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   283403 LUIS CINTRON VILEGAS        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   283404 LUIS CLAUDIO ALAMO          REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   283405 LUIS COLLADO CUEVAS         REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   701695 LUIS COLLAZO                F 12 PASEO DEL PARQUE                                                                                                            GUAYNABO             PR           00966
   701696 LUIS COLLAZO BURGOS         PO BOX 77                                                                                                                        OROCOVIS             PR           00720
   701697 LUIS COLLAZO MARTINEZ       PO BOX 1721                                                                                                                      JUNCOS               PR           00777
   701698 LUIS COLLAZO RODRIGUEZ      P O BOX 60075                                                                                                                    BAYAMON              PR           00960
   283409 LUIS COLON BELTRAN          REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LUIS COLON CARRERAS/ENERGIA
   283410 Y SOL PR                    URB JARDINES 1                               C 13 CALLE 5                                                                        CEIBA                PR           00735
   701700 LUIS COLON CRUZ             P O BOX 674                                                                                                                      CEIBA                PR           00735
   701701 LUIS COLON GILES            URB DORAVILLE                                4 11 SEC 1                                                                          DORADO               PR           00646
   283413 LUIS COLON GONZALEZ         REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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MML ID                NAME                                      ADDRESS 1                      ADDRESS 2                  ADDRESS 3                           ADDRESS 4             CITY        STATE    POSTAL CODE       COUNTRY
  283415 LUIS COLON LOPEZ                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  283416 Luis Colon Masso                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  283417 LUIS COLON MONTES                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701704 LUIS COLON ORTIZ                             PO BOX 1478                                                                                                         ARROYO             PR         00714
  701705 LUIS COLON PLANAS                            PO BOX 7126                                                                                                         PONCE              PR         00732
  283418 LUIS COLON RESTO                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701706 LUIS COLON RIVERA                            PO BOX 7126                                                                                                         PONCE              PR         00732
  701707 LUIS COLON RODRIGUEZ                         BO SATANA                    20 CALLE A                                                                             ARECIBO            PR         00612
  701708 LUIS COLON ROMEU                             URB TORRIMAR 5 2             AVE RAMIREZ DE ARELLANO                                                                GUAYNABO           PR         00966
  283419 LUIS COLON TORRES                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701709 LUIS CONCEPCION ALERS                        URB MANUEL CORDERO           88 CALLE VIOLETA                                                                       ISABELA            PR         00662
  283420 LUIS CONCEPCION NUNEZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701710 LUIS CONDE GRECO                             URB MU¥OZ RIVERA             6 CALLE CAMELIA                                                                        GUAYNABO           PR         00969
  283421 LUIS CONTRERAS RIVERA                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  283422 LUIS COPRA ROSADO                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701712 LUIS CORDERO GONZALEZ                        PO BOX 1470                                                                                                         LAS PIEDRAS        PR         00771
  700195 LUIS CORDOVA RIVERA                          PO BOX 22306                                                                                                        SAN JUAN           PR         00931‐2306
                                                      URB. LOMAS VERDES 2220 CALLE
   701713 LUIS CORDOVA RODRIGUEZ                      JAZMI                                                                                                               BAYAMON            PR         00956
   701714 LUIS CORREA DELGADO                         PO BOX 189                                                                                                          HATILLO            PR         00659
   283424 LUIS CORREA DIAZ                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   701716 LUIS CORREA RODRIGUEZ                       5TA SECCION LEVITOWN         CG 11 CALLE DR VIDAL RIOS                                                              TOA BAJA           PR         00949
   283425 LUIS CORREA SOTO                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   283426 LUIS CORTES HERNANDEZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   701717 LUIS CORTES LOPEZ                           2924 REPARTO GONZALEZ                                                                                               SAN ANTONIO        PR         00690
   701718 LUIS COSTA ELENA                            URB SANTA MARIA              34 CALLE ORQUIDEA                                                                      RIO PIEDRAS        PR         00927
   701721 LUIS COTTO AYALA                            MANSIONES DE SAN RAFAEL      C 19 CALLE RUBI                                                                        TRUJILLO ALTO      PR         00976
   701722 LUIS COTTO BAEZ                             URB SAN MARTIN               1290 CALLE 2                                                                           SAN JUAN           PR         00924
   701723 LUIS COTTO CINTRON                          URB JARD DE ARROYO           J 3 CALLE F                                                                            ARROYO             PR         00714
   701724 LUIS COTTO MELENDEZ                         PO BOX 30709                                                                                                        SAN JUAN           PR         00929
   283427 LUIS COTTO ORTIZ                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                                                   7 CALLE COMERIO URB
   701725 LUIS COTTO RAMOS                            BONNEVILLE HEIGHTS           BONNEVILLE HTS                                                                         CAGUAS             PR         00725
   701727 LUIS COTTO SERRANO                          PO BOX 1308                                                                                                         CANOVANAS          PR         00729
   283428 LUIS CRESPO GONZALEZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   701729 LUIS CRESPO LOPEZ                           PO BOX 429                                                                                                          CAMUY              PR         00627
   283429 LUIS CRESPO RAMOS                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   283430 LUIS CRESPO RODRIGUEZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   283431 LUIS CRESPO VALLE                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   701730 LUIS CRUZ                                   BO BAYAMON                   CARR 7787 KM 1.5                                                                       CIDRA              PR         00739
   700196 LUIS CRUZ APONTE                            PO BOX 507                                                                                                          LAJAS              PR         00667
   283432 LUIS CRUZ CASILLAS                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   701731 LUIS CRUZ CRUZ                              URB SANTA JUANITA            COOP VILLA NAVARRA 11 D                                                                BAYAMON            PR         00956
          LUIS CRUZ DBA CRUZ BUS &
   283433 TOURS SERVICES                              BOX 804                                                                                                             MOCA               PR         00676
   283434 LUIS CRUZ FERNANDEZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   283435 LUIS CRUZ FLORES                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   283436 LUIS CRUZ GRANELL                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   701732 LUIS CRUZ MAYSONET                          RR 02 BOX 6040                                                                                                      MANATI             PR         00674
   701733 LUIS CRUZ REYES                             CIUDAD JARDIN                173 C/ LIRIO                                                                           CAROLINA           PR         00987
   701734 LUIS CRUZ ROBLES                            BOX 1623                                                                                                            JUANA DIAZ         PR         00795
   283439 LUIS CRUZ ROMAN                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   701735 LUIS CRUZ SANTIAGO                          PO BOX 341                                                                                                          UTUADO             PR         00641 0341



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  283440 LUIS CRUZ SERRANO                            REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701736 LUIS CRUZ SOJOS                              URB PTO NUEVO             1104 CALLE BOHEMIA                                                                  SAN JUAN            PR         00920‐5356
  701737 LUIS CRUZ TORRES                             URB ROYAL TOWN            K12 CALLE 1                                                                         BAYAMON             PR         00956‐4555
  701739 LUIS CRUZ VALENTIN                           PO BOX 2203                                                                                                   MOCA                PR         00676
  283441 LUIS CRUZ VAZQUEZ                            REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  283442 LUIS CRUZ VIDAL                              REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  283443 LUIS CUADRO HERNANDEZ                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701741 LUIS CUEVAS CUEVAS                           VICTOR ROJAS 2            84 CALLE 13                                                                         ARECIBO             PR         00612
                                                                                307 CALLE ALMERIA URB
   701742 LUIS CUSTODIO GONZALEZ                      COND VALENCIA PLAZA       VALENCIA                                                                            SAN JUAN            PR         00923
   283444 LUIS D ALLENDE CIRINO                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   701745 LUIS D ALVAREZ MENDEZ                       RES LAGOS DE BLASINA      EDIF 17 APT 232                                                                     CAROLINA            PR         00985
   701746 LUIS D ANAVITATE SANTIAGO                   HC 02 BOX 9949                                                                                                GUAYANILLA          PR         00656
   701747 LUIS D APONTE BERMUDEZ                      PO BOX 2464                                                                                                   BAYAMON             PR         00960
   283445 LUIS D ARROYO DIAZ                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283446 LUIS D BARCELO GENER                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   701749 LUIS D BELTRAN NIEVES                       COM AQUILINO              SOLAR 165                                                                           MOCA                PR         00676
   283448 LUIS D BERNIER RIVERA                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   700200 LUIS D BULTRON AYALA                        URB PARQUE ECUESTRE       CALLE 36 BLQ A 14                                                                   CAROLINA            PR         00984

   283450 LUIS D CALDERON HERNANDEZ                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283451 LUIS D CAMACHO TORRES                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283452 LUIS D CANCEL GONZALEZ                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283453 LUIS D CARABALLO GOMEZ                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   701750 LUIS D CARABALLO ORENGO                     PLAZA DEL MERCADO         PUESTO 19                                                                           CABO ROJO           PR         00623
   283455 LUIS D CARABALLO RIVERA                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   283456 LUIS D CARABALLO SEPULVEDA                  REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283457 LUIS D CARDONA COLON                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283458 LUIS D CARRASQUILLO NIEVES                  REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283459 LUIS D CASTILLO RODRIGUEZ                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   701752 LUIS D CINTRON RAMOS                        URB BUZO                  E 6 CALLE 4                                                                         HUMACAO             PR         00791
   283460 LUIS D CINTRON RIVERA                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   701754 LUIS D COLON CRUZ                           RES NEMESIO R CANALES     EDIF 42 APT 787                                                                     SAN JUAN            PR         00918
   701755 LUIS D COLON TORRES                         P O BOX 56                                                                                                    OROCOVIS            PR         00720
   283461 LUIS D CORREA LUNA                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   701757 LUIS D CORTES MARTINEZ                      5TA SECC VILLA DEL REY    L G 7 CALLE 31                                                                      CAGUAS              PR         00725
   701758 LUIS D CRUZ                                 P O BOX 1436                                                                                                  CIALES              PR         00638
   283462 LUIS D CRUZ ORTIZ                           REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283463 LUIS D CRUZ SERRANO                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283464 LUIS D CUEVAS MALDONADO                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   701759 LUIS D DAVILA CORDERO                       BO FRANQUEZ               HC2 BOX 5561                                                                        MOROVIS             PR         00687
   701760 LUIS D DAVILA RIVERA                        BO PLAYITA                80 B CALLE A                                                                        SALINAS             PR         00751
   283465 LUIS D DE LEON VEGA                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283466 LUIS D DE SOTO TORRES                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283467 LUIS D DEL RIO MIRANDA                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   701762 LUIS D DEL VALLE CRESPO                     COND TORRE DE CERVANTES   1207A                                                                               RIO PIEDRAS         PR         00924
   283468 LUIS D DIAZ CRUZ                            REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   701764 LUIS D DIAZ ROSARIO                         JARD DE VEGA BAJA         105 CALLE LOS MARREROS                                                              VEGA BAJA           PR         00693
   283470 LUIS D DONATE SOLTERO                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283471 LUIS D DONES GARCIA                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   283472 LUIS D DONES NIEVES                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED




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   701765 LUIS D DUPEROYS ALDARONDO                   142 RES SEIN                                                                                            LARES             PR         00669
   283473 LUIS D FIGUEROA MORALES                     REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283474 LUIS D FIOL FIGUEROA                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283475 LUIS D FLORES GONZALEZ                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283476 LUIS D FLORES VELAZQUEZ                     REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701766 LUIS D GALAN ALICEA                         URB COUNTRY CLUB      760 CALLE VINYATER                                                                SAN JUAN          PR         00923
   283477 LUIS D GARCIA FRAGA                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283478 LUIS D GARCIA GUEVARA                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701768 LUIS D GARCIA MOLINA                        LA PONDEROSA          A 12 CALLE 1                                                                      VEGA ALTA         PR         00692
   700197 LUIS D GARCIA RIVERA                        PO BOX 1352                                                                                             HATILLO           PR         00659
   283479 LUIS D GOMEZ SANTIAGO                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283480 LUIS D GONZALEZ GUZMAN                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283481 LUIS D GONZALEZ IRIZARRY                    REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283482 LUIS D GONZALEZ RUIZ                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283483 LUIS D GONZALEZ VELEZ                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701769 LUIS D GOTAY MONTALVO                       SAN GERARDO           1644 CALLE AUGUSTA                                                                SAN JUAN          PR         00926
   701770 LUIS D HERNANDEZ LOUBRIEL                   P O BOX 579                                                                                             FLORIDA           PR         00650
   283484 LUIS D HERNANDEZ ORTIZ                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283485 LUIS D HERNANDEZ RIVERA                     REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   700198 LUIS D HERNANDEZ SELPA                      BO BUENAVENTURA       537 CALLE NARANJO                                                                 CAROLINA          PR         00987
   283486 LUIS D IRIZARRY MONTALVO                    REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283487 LUIS D IRIZARRY RAMOS                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701771 LUIS D JIMENEZ ESQUILIN                     URB VILLAS DE LOIZA   C 28 A MM 10                                                                      CANOVANAS         PR         00729
   283488 LUIS D JIMENEZ RIVERA                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283489 LUIS D LAZU SURILLO                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701772 LUIS D LOPEZ ROMERO                         163 URB ESTEVES                                                                                         AGUIDILLA         PR         00603
   283490 LUIS D LUGO RAMOS                           REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283491 LUIS D LUGO RIVERA                          REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701773 LUIS D MARCANO VAZQUEZ                      HC 40 BOX 40280                                                                                         SAN LORENZO       PR         00754
   701774 LUIS D MARRERO RIVERA                       COUNTRY STATE         A 12 CALLE 1                                                                      BAYAMON           PR         00956
   283492 LUIS D MARSANT MERCADO                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283493 LUIS D MARTINEZ QUINONEZ                    REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283494 LUIS D MARTINEZ RAMIREZ                     REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701776 LUIS D MARTINEZ VALENTIN                    URB REP SAN JUAN      108 CALLE B                                                                       ARECIBO           PR         00612
   701777 LUIS D MARTINEZ VELEZ                       URB VICTOR ROJAS 2    144 CALLE 7                                                                       ARECIBO           PR         00612
   283495 LUIS D MEDINA BERMUDEZ                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283496 LUIS D MEDINA CARMONA                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701778 LUIS D MEDINA RAMOS                         URB MONTE BRISAS      U 15 CALLE N                                                                      FAJARDO           PR         00738
   283497 LUIS D MEJIAS FERNANDEZ                     REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283498 LUIS D MEJIAS FONTANEZ                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283499 LUIS D MENDEZ GONZALEZ                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283500 LUIS D MILLAN DE JESUS                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283501 LUIS D MILLAN PENA                          REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283502 LUIS D MOLINA RAMIREZ                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   701780 LUIS D MONTALVO MIRANDA                     BOX 190                                                                                                 LAS MARIAS        PR         00670
   283503 LUIS D MORALES ALVAREZ                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   700199 LUIS D MORENO DIAZ                          PO BOX 1758                                                                                             COAMO             PR         00769
   701781 LUIS D MU¥OZ RENTA                          PO BOX 1559                                                                                             SANTA ISABEL      PR         00757
   283504 LUIS D MUNIZ ACOSTA                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283506 LUIS D NIEVES DIAZ                          REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283507 LUIS D OLMO MATOS                           REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED
   283508 LUIS D OQUENDO RIVERA                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED      REDACTED



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  701783 LUIS D ORTA MATTHEW                          URB TERRAZA DE CUPEY        K 4 CALLE 8                                                                         TRUJILLO ALTO      PR         00976
  701784 LUIS D ORTIEZ GARCIA                         HC 2 BOX 44540                                                                                                  CAGUAS             PR         00725‐9688
  283509 LUIS D ORTIZ ABREU                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  283510 LUIS D ORTIZ BURGOS                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701788 LUIS D ORTIZ CACERES                         HC 3 BOX 10291                                                                                                  YABUCOA            PR         00767
  701743 LUIS D ORTIZ RODRIGUEZ                       APARTADO 435                                                                                                    SALINAS            PR         00751
  283511 LUIS D ORTIZ VELEZ                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  283512 LUIS D PABON RODRIGUEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701791 LUIS D PACHECO GARCIA                        URB LA QUINTA               J13 CALLE 5                                                                         YAUCO              PR         00698
  283513 LUIS D PADILLA OYOLA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  283514 LUIS D PAGAN RIVERA                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  283515 LUIS D PAGAN ROSADO                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  283516 LUIS D PASTRANA ROMAN                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  283517 LUIS D PEDRAZA                               REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  283518 LUIS D PEREZ AGOSTO                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  283519 LUIS D PEREZ MINYETTY                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701792 LUIS D PEREZ RIVERA                          BELLA VISTA                 J 7 CALLE 13                                                                        BAYAMON            PR         00957
  283520 LUIS D PINEIRO                               REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  283521 LUIS D PRIETO MENDOZA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  701793 LUIS D RAMIREZ LUGO                          PO BOX 193852                                                                                                   SAN JUAN           PR         00919
  283523 LUIS D RAMIREZ SEGARRA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  283524 LUIS D RAMOS BUXO                            REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  283525 LUIS D RAMOS HERNANDEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  283526 LUIS D RAMOS MEDINA                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   701796 LUIS D RAMOS RIVERA                         URB VILLAS DE BUENA VENTURA CALLE MAJAGUAS BNZ 154                                                              YABUCOA            PR         00767‐9545
          LUIS D RAMOS Y LILIA I
   283528 CALDERON                                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   283529 LUIS D REYES DE LEON                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   701797 LUIS D RIOS GONZALEZ                        BOX 6773                                                                                                        CAGUAS             PR         00773
   701798 LUIS D RIOS PEREZ                           P O BOX 3811                                                                                                    AGUADILLA          PR         00605
   701799 LUIS D RIVERA                               URB INDUSTRIAL MINILLAS     150 CARR 174                                                                        BAYAMON            PR         00959
   701744 LUIS D RIVERA COLON                         HC 5 BOX 10961                                                                                                  COROZAL            PR         00783
   283531 LUIS D RIVERA DEL VALLE                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   283532 LUIS D RIVERA JIMENEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   283533 LUIS D RIVERA LUGO                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   283534 LUIS D RIVERA NEGRON                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   701800 LUIS D RIVERA RAMIREZ                       URB CASAMIA                 5116 CALLE ZORZAL                                                                   PONCE              PR         00728
   283535 LUIS D RIVERA RIOS                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   701801 LUIS D RIVERA RIVERA                        HC 3 BOX 14301                                                                                                  UTUADO             PR         00641
   283536 LUIS D RIVERA ROSADO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   283537 LUIS D RIVERA VAZQUEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   701803 LUIS D ROBERT GARCIA                        PO BOX 1760                                                                                                     OROCOVIS           PR         00720
   701804 LUIS D RODRIGUEZ                            HC 1 BOX 7198                                                                                                   GUAYANILLA         PR         00656
   701805 LUIS D RODRIGUEZ DIAZ                       HC 71 BOX 7126                                                                                                  CAYEY              PR         00736
   283538 LUIS D RODRIGUEZ HIRALDO                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   283539 LUIS D RODRIGUEZ IRIZARRY                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   701807 LUIS D RODRIGUEZ JIMENEZ                    HC 5 BOX 58204                                                                                                  HATILLO            PR         00659
   701808 LUIS D RODRIGUEZ MARTINEZ                   PO BOX 2231                                                                                                     ARECIBO            PR         00613 2231
   701809 LUIS D RODRIGUEZ MERCADO                    HC 52 BOX 2202              GARROCHALES                                                                         ARECIBO            PR         00652
   283540 LUIS D RODRIGUEZ MORALES                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   283541 LUIS D RODRIGUEZ PEREZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED




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   283542 LUIS D RODRIGUEZ RODRIGUEZ                  REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701810 LUIS D ROMAN FIGUEROA                       EXT VISTA DE CAMUY                                 350                                                              CAMUY               PR         00627
   701811 LUIS D ROSA ABRAHAMS                        URB VISTA DEL ATLANTICO   F 2 CALLE MERO BZN 93                                                                     ARECIBO             PR         00612‐2919
   283543 LUIS D ROSA VELAZQUEZ                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283544 LUIS D ROSARIO ORTIZ                        REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701813 LUIS D ROSARIO ROJAS                        HC 1 BOX 5245                                                                                                       OROCOVIS            PR         00720
   701814 LUIS D ROSAS ALAYON                         BRISAS DE RIO HONDO       18 CALLE K                                                                                MAYAGUEZ            PR         00680
   283545 LUIS D RUIZ CENTENO                         REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701815 LUIS D RUIZ RODRIGUEZ                       HC 1 BOX 8189                                                                                                       MARICAO             PR         00606
   701816 LUIS D SANCHEZ CARMONA                      PO BOX 30052              SUITE 280                                                                                 RIO GRANDE          PR         00745
   283546 LUIS D SANCHEZ RODRIGUEZ                    REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283547 LUIS D SANTANA LUZUNARIS                    REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701817 LUIS D SANTIAGO APONTE                      QUINTAS DE CANOVANAS      408N CALLE 4                                                                              CANOVANAS           PR         00729
   283548 LUIS D SANTIAGO RIVERA                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283549 LUIS D SANTIAGO RODRIGUEZ                   REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701819 LUIS D SANTIAGO ROSARIO                     URB SAN JOSE              475 CALLE ARANJUEZ                                                                        SAN JUAN            PR         00923
   283551 LUIS D SOTO HARRISON                        REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283552 LUIS D SOTO PAGAN                           REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701821 LUIS D TAVAREZ CARVAJAL                     URB NUEVAS ESTANCIAS      162 CALLE DORADO                                                                          MANATI              PR         00674
   283553 LUIS D TORRES CRUZ                          REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701822 LUIS D TORRES FERNANDEZ                     PO BOX 7126                                                                                                         PONCE               PR         00732
   283554 LUIS D TORRES FLORES                        REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283556 LUIS D TORRES ORTIZ                         REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283557 LUIS D TORRES PANET                         REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283558 LUIS D TORRES RIVERA                        REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283559 LUIS D TORRES RODRIGUEZ                     REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283560 LUIS D TORRES VILLAFANE                     REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283561 LUIS D TRABANCO                             REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283562 LUIS D VAZQUEZ AVILES                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283563 LUIS D VÁZQUEZ AVILÉZ                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   771150 LUIS D VELAZQUEZ LABOY                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283564 LUIS D VELAZQUEZ ROSADO                     REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701827 LUIS D ZAMBRANA CRUZ                        HC 03 BOX 18687                                                                                                     ARECIBO             PR         00612
   283565 LUIS D. COLLAZO OCHOA                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283567 LUIS D. LLINS MAZORRA                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701828 LUIS D. ORTIZ FILOMENO                      HC5 BOX‐62322                                                                                                       CAGUAS              PR         00725
   283568 LUIS D. PACHECO ARROYO                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701829 LUIS D. PAGAN MORALES                       HC 1 BOX 4582                                                                                                       YABUCOA             PR         00767
   283569 LUIS D. RIVERA ALVAREZ                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283570 LUIS D. RIVERA MARTINEZ                     REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283571 LUIS D. RIVERA MORGES                       REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   283572 LUIS D. RODRIGUEZ RODRIGUEZ                 REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283573 LUIS D. RUIZ QUILES                         REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283574 LUIS D. VAZQUEZ CORTIJO                     REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701830 LUIS DALMAU GONZALEZ                        PO BOX 70184                                                                                                        SAN JUAN            PR         00936‐8184

   283575 LUIS DANIEL ALVARADO JIMENEZ REDACTED                                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   283577 LUIS DANIEL CALDERIN MEDINA                 REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          LUIS DANIEL CARRASQUILLO
   283578 NIEVES                                      REDACTED                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  701831 LUIS DANIEL CORREA CANCEL                    LOMAS DE CAROLINA             E 2 CALLE CERRO                                                                         CAROLINA            PR           00987

   283579 LUIS DANIEL DE JESUS GONZALEZ REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   283580 LUIS DANIEL FIGUEROA REYES    REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LUIS DANIEL MARRERO
   701832 MALDONADO                     MONTE CARLO                                 1272 CALLE 11                                                                           SAN JUAN            PR           00924
   701833 LUIS DANIEL MARTINEZ          URB RIVIERA DE CUPEY BAJO                   B 32 CALLE ALELI                                                                        SAN JUAN            PR           00926
   701834 LUIS DANIEL MEJIA SANTOS      LA RAMBLA                                   398 CALLE 4                                                                             PONCE               PR           00731

   701835 LUIS DANIEL MUNIZ                           URB ALTAMIRA                  B2 100 SECTOR SEBURUQUILLO                                                              LARES               PR           00669

   283582 LUIS DANIEL MUNIZ MARTINEZ                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   283583 LUIS DANIEL NIEVES VALENTIN                 REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   283584 LUIS DANIEL NUNEZ DEL VALLE                 REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   701836 LUIS DANIEL PADILLA TORRES                  PO BOX 2684                                                                                                           GUYNABO             PR           00970
   283585 LUIS DANIEL PEREZ JIMENEZ                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   701837 LUIS DANIEL RIVERA INC                      PO BOX 51534                                                                                                          TOA BAJA            PR           00950
          LUIS DANIEL RODRIGUEZ
   283588 DELGADO                                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   701838 LUIS DANIEL ROSARIO ROSARIO                 BOX 318                                                                                                               RIO BLANCO          PR           00744

   283589 LUIS DANIEL SANTIAGO DICUPE                 REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   283590 LUIS DANIEL SANTIAGO RIVERA                 REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   701839 LUIS DANIEL SILVA MONJE                     PMB 1887                      243 CALLE PARIS                                                                         SAN JUAN            PR           00917

   701840 LUIS DANIEL TORRES MARTINEZ                 HC 2 BOX 7878                                                                                                         AIBONITO            PR           00705
   701841 LUIS DANIEL TORRES ORTIZ                    HC 03 BOX 25982                                                                                                       LAJAS               PR           00667

   701843 LUIS DANIEL VAZQUEZ SANTOS                  URB ROSALEDA ‐2               R G ‐30 CALLE GARDENIA                                                                  TOA BAJA            PR           00949
   701844 LUIS DATIL MERCADO                          HC 1 BOX 5455                                                                                                         BAJADERO            PR           00616
   701845 LUIS DAVID AUTO SALES                       PO BOX 1828                                                                                                           MOCA                PR           00676
   701846 LUIS DAVID AUTO SALES INC                   PO BOX 1828                                                                                                           MOCA                PR           00676
   701847 LUIS DAVID CRUZ PEREZ                       FACTOR 1                      443 CALLE 16                                                                            ARECIBO             PR           00612
   283591 LUIS DAVID DAVILA ROSARIO                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   283593 LUIS DAVILA / LUZ M RIVERA                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   701848 LUIS DAVILA DAVILA                          HC 83 BOX 6267                                                                                                        VEGA ALTA           PR           00692
   701849 LUIS DAVILA MALAVE                          PO BOX 2788                                                                                                           GUAYAMA             PR           00785
   701850 LUIS DAVILA RONDON                          BO AMELIA NUM 3               CALLE ESMERALDA                                                                         GUAYNABO            PR           00966
   701851 LUIS DAVILA ROSADO                          P O BOX 7428                                                                                                          SAN JUAN            PR           00916

   701852 LUIS DAVILA TORRES                          5 RES RAMOS ANTONINI APT 42                                                                                           SAN JUAN            PR           00924
   701853 LUIS DE JESUS AYALA                         HC 04 BOX 48023                                                                                                       CAGUAS              PR           00725
   283594 LUIS DE JESUS FERNANDEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   701856 LUIS DE JESUS ORTOZ                         HC 01 BOX 3600                                                                                                        LOIZA               PR           00772
   283596 LUIS DE JESUS PEREZ                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   283598 LUIS DE JESUS RIVERA                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   701858 LUIS DE JESUS SANCHEZ                       HC 03 BOX 10439                                                                                                       YABUCOA             PR           00767
   283599 LUIS DE JESUS SERRANO                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   283600 LUIS DE LA TORRE                            REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  283601 LUIS DE LEON OCASIO                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  283602 LUIS DE LEON RODRIGUEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  283603 LUIS DE SOTO GARCIA                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  701860 LUIS DEL C VAZQUEZ LOPEZ                     PO BOX 1104                                                                                                          CIDRA             PR         00739‐1104
  701861 LUIS DEL RIO PEREZ                           PO BOX 5476                                                                                                          MAYAGUEZ          PR         00681‐5476
  283605 LUIS DEL RIOS SOTO                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  283606 LUIS DEL VALLE                               REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  701863 LUIS DEL VALLE CARABALLO                     PO BOX 7225                                                                                                          CAROLINA          PR         00986

   701865 LUIS DEL VALLE DIEZ                         VILLA SAN ANTON             K 1 CALLE ERNESTO RODRIGUEZ                                                              CAROLINA          PR         00987
   701866 LUIS DEL VALLE HERNADEZ                     PO BOX 6505                                                                                                          TRUJILLO ALTO     PR         00977
   283607 LUIS DEL VALLE ORTIZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701869 LUIS DEL VALLE TORRES                       URB PQUE ESCUESTRE          K 7 CALLE 41                                                                             CAROLINA          PR         00987
   283608 LUIS DELGADO GARCIA                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701871 LUIS DELGADO GONZALEZ                       URB COUNTRY CLUB            H D 1000 CALLE 267                                                                       CAROLINA          PR         00982
   283609 LUIS DELGADO JIMENEZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   701872 LUIS DELGADO MEDERO                         URB MANSIONES DE CAROLINA   MM 5 CALLE YAUREL                                                                        CAROLINA          PR         00987
   283610 LUIS DELGADO RIVERA                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701874 LUIS DELGADO RODRIGUEZ                      PO BOX 5782                                                                                                          CAGUAS            PR         00726 5782
   701875 LUIS DELGADO SEPULVEDA                      PO BOX 671                                                                                                           YAUCO             PR         00698‐0071
   283611 LUIS DIAZ AGUIRRE                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701876 LUIS DIAZ CHARRIEZ                          HC 71 BOX 1646                                                                                                       NARANJITO         PR         00719‐9729
   283612 LUIS DIAZ DIAZ                              REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283613 LUIS DIAZ FIGUEROA                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701879 LUIS DIAZ GARAY                             HC 04 BOX 48080                                                                                                      CAGUAS            PR         00725‐9630
   283614 LUIS DIAZ GARCIA                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283615 LUIS DIAZ GONZALEZ                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283616 LUIS DIAZ LOPEZ                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701882 LUIS DIAZ O'FARRIL                          HP ‐ SERVICIO GENERALES                                                                                              RIO PIEDRAS       PR         009360000
   701883 LUIS DIAZ ORTIZ                             VILLAS DEL REY              2823 CALLE BONAPARTE                                                                     CAGUAS            PR         00725
          LUIS DIAZ ORTIZ C/O TRANSP Y
   701884 OBRAS PUBLI                                 BOX 41269                                                                                                            SAN JUAN          PR         00940‐1269
   283617 LUIS DIAZ RODRIGUEZ                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      VILLA SULTANITA 421 CALLE
   701885 LUIS DIAZ ROSA                              BECHARE                                                                                                              MAYAGUEZ          PR         00680
   701886 LUIS DIAZ SOLA                              PO BOX 524                                                                                                           BARCELONETA       PR         00617
   701887 LUIS DIAZ VEGA                              PO BOX 327                                                                                                           PATILLAS          PR         00723
   701891 LUIS DOMINGUEZ RIVERA                       URB VILLA FONTANA           VIA 4 JR 676                                                                             CAROLINA          PR         00983

   701892 LUIS DOMINGUEZ RODRIGUEZ                    URB VILLA DEL CARMEN        2728 CALLE TOLEDO                                                                        PONCE             PR         00716‐2235
   701893 LUIS DUBON DUBON                            1405 AVE ASHFORD            SUITE 1203 I                                                                             SAN JUAN          PR         00907‐1551
   701894 LUIS DUCHESNE JIMENEZ                       PMB 122                     405 AVE ESMERALDA             STE 2                                                      GUAYNABO          PR         00969
   701895 LUIS DUPREY PORRATA                         CALLE GENOVA B‐4            EXT. VILLA CAPARRA                                                                       GUAYNABO          PR         00970
   283621 LUIS DUQUE HERNANDEZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701898 LUIS E ABRAHAM ARROYO                       257 ADUANA STE 121                                                                                                   MAYAGUEZ          PR         00680
   283623 LUIS E ACEVEDO RIVERA                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283624 LUIS E ACOSTA ITHIER                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283625 LUIS E AGOSTO VAZQUEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701901 LUIS E ALFONSO DIAZ                         VILLA CAROLINA              222‐7 CALLE 601                                                                          CAROLINA          PR         00985
   283626 LUIS E ALICEA LAZZO                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   701902 LUIS E ALMEIDA                              PO BOX 190171                                                                                                        SAN JUAN          PR         00919‐0171
   283627 LUIS E ALONSO                               REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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MML ID                NAME                        ADDRESS 1                                     ADDRESS 2                  ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  283628 LUIS E ALONSO CONTY           REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701903 LUIS E ALOYO OQUENDO          HC 2 BOX 10326                                                                                                                      JUNCOS              PR         00777
         LUIS E ALVARADO/ORG DEP INF Y
  701904 JUV MECETE                    URB SANTA JUANITA                             G 15 CALLE 31                                                                         BAYAMON             PR         00956
  701905 LUIS E ALVAREZ LOPEZ          RR 1 BOX 17094                                                                                                                      TOA ALTA            PR         00953
  283629 LUIS E AMUNDARAY AYMAT        REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701906 LUIS E AROCHO                 58 CALLE COMERCIO                                                                                                                   YAUCO               PR         00698
  701907 LUIS E AROCHO HERNANDEZ       58 CALLE COMERCIO                                                                                                                   YAUCO               PR         00698
  283630 LUIS E ARROYO MENDEZ          REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701908 LUIS E ARZAN SANCHEZ          PO BOX 361731                                                                                                                       SAN JUAN            PR         00936‐1731
  283631 LUIS E AVILES UJAQUE          REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  283632 LUIS E AYALA ALVARADO         REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  283633 LUIS E AYALA BERMUDEZ         REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701910 LUIS E AYALA GERENA           PO BOX 7126                                                                                                                         PONCE               PR         00732
  701896 LUIS E AYALA ROMAN            J U 09 CALLE LIZZIE GRAHAM                                                                                                          LEVITTOWN           PR         00949
  701912 LUIS E AYUSO WALKER           URB SANTA RITA                                CALLE 7 H‐6                                                                           VEGA ALTA           PR         00692
  701913 LUIS E BACO RODRIGUEZ         P.O. BOX 5004                                                                                                                       MAYAGUEZ            PR         00681
  283634 LUIS E BAEZ TORRES            REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  283635 LUIS E BATLLE VALLE           REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  701914 LUIS E BELTRAN MIRANDA        URB BELLA VISTA C‐1 CALLE 4                                                                                                         BAYAMON             PR         00957
  283636 LUIS E BENITEZ HERNANDEZ      REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   283638 LUIS E BETANCOURT GONZALEZ                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   701917 LUIS E BETANCOUT REYES                       PO BOX 31257                                                                                                        SAN JUAN            PR         00929‐2257
   283640 LUIS E BLASINI IRIZARRY                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   283641 LUIS E BONILLA VARGAS                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   701918 LUIS E BONNET ALEMAR                         VILLA LISSETTE                B 15 BENITEZ                                                                          GUAYNABO            PR         00969
                                                                                     503 URB SAN MARTIN CALLE
   701919 LUIS E BORGES REYES                          1107 GOLDEN VIEW PLAZA        MODESTA                                                                               SAN JUAN            PR         00924‐4544
   283642 LUIS E BOSQUE ROSA                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   701920 LUIS E BRACERO MENDEZ                        HC 04 BOX 7531                                                                                                      JUANA DIAZ          PR         00795‐9602
   701921 LUIS E BRUNO HERNANDEZ                       FLORAL PARK                   152 AMERICA                                                                           SAN JUAN            PR         00917
   701922 LUIS E BURGOS BORIA                          PO BOX 334                                                                                                          GURABO              PR         00778

   701924 LUIS E BUTTER PAGAN                          BOX 8 CARR 413 SEC ENSENADA                                                                                         RINCON              PR       00677
   283643 LUIS E CABAN MUNIZ                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   283644 LUIS E CABAN VAZQUEZ                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   701925 LUIS E CABRERA                               HC 02 BOX 6938                                                                                                      YABUCOA             PR       00767 9503
   701927 LUIS E CALDERON GAVILLAN                     FERNANDEZ JUNCOS STATION      PO BOX 19175                                                                          SAN JUAN            PR       00910
   701928 LUIS E CALIMANO DIAZ                         PO BOX 2142                                                                                                         GUAYAMA             PR       00785
   283645 LUIS E CAMACHO SANTIAGO                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   283646 LUIS E CANCEL CANDELARIA                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   283647 LUIS E CAPO COLON                            REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   701933 LUIS E CARDONA JIMENEZ                       HC 3 BOX 28500                                                                                                      SAN SEBASTIAN       PR       00685
   283648 LUIS E CARDONA MORALES                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   701934 LUIS E CARRASQUILLO LOPEZ                    PO BOX 3870                                                                                                         GUAYNABO            PR       00966
   701935 LUIS E CARRO MEDINA                          P O BOX 417                                                                                                         COROZAL             PR       00783
   283649 LUIS E CARVAJAL ZARABOZO                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   283650 LUIS E CASTILLO CONTRERAS                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   283651 LUIS E CASTRO RIOPEDRE                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   283652 LUIS E CATALA FRANCESCHINI                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   283653 LUIS E CEDENO CARABALLO                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED




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MML ID                 NAME                                    ADDRESS 1                    ADDRESS 2                 ADDRESS 3                           ADDRESS 4              CITY       STATE    POSTAL CODE        COUNTRY
          LUIS E CEREZO ACEVEDO Y
   283654 NELSON D SOTO                               REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701937 LUIS E CHEVERE SANCHEZ                      RR 1 BOX 13077                                                                                                  MANATI              PR         00650
   283655 LUIS E CHIESA APONTE                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701938 LUIS E CINTRON ANDINO                       HC 2 BOX 8597                                                                                                   YABUCOA             PR         00767‐9506
   701939 LUIS E CINTRON CINTRON                      PO BOX 365001                                                                                                   SAN JUAN            PR         0099365001
          LUIS E CINTRON FIGUEROA DBA
   283657 PREMIUM AUTO                                AREA DEL TESORO          DIVISION DE RECLAMACIONES                                                              SAN JUAN            PR         00902‐4140
   283659 LUIS E COLLAZO ORTIZ                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701941 LUIS E COLON FELIX                          HC 01 BOX 4460                                                                                                  YABUCOA             PR         00767
   283662 LUIS E COLON GONZALEZ                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283663 LUIS E COLON III                            REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283664 LUIS E COLON OYOLA                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701943 LUIS E COLON RAMERY                         PO BOX 330183                                                                                                   PONCE               PR         00733‐0183
   701944 LUIS E COLON RODRIGUEZ                      HC 7 BOX 32008                                                                                                  HATILLO             PR         00659‐9612
   283665 LUIS E CORREA OCASIO                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283666 LUIS E CORREA PONCE                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701945 LUIS E COSS RIVERA                          HC 20 BOX 25995                                                                                                 SAN LORENZO         PR         00754‐9617
   283667 LUIS E COSTA LATONI                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701946 LUIS E COSTAS PAGAN                         URB LAS DELICIAS         2252 CARTAGENA CALLE JJ                                                                PONCE               PR         00728‐3837
   701947 LUIS E COUVERTIER SANCHEZ                   1700 COND CONDADO REAL   APTO 303                                                                               SAN JUAN            PR         00911
   283669 LUIS E CRUZ                                 REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701948 LUIS E CRUZ ADORNO                          BO CERCADILO             BUZON 104‐4A                                                                           ARECIBO             PR         00612
   701949 LUIS E CRUZ GONZALEZ                        PO BOX 270289                                                                                                   SAN JUAN            PR         00927‐0289
   283671 LUIS E CUADRO HERNANDEZ                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283672 LUIS E CUEBAS AGOSTO                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283673 LUIS E DALMAU CABAN                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701951 LUIS E DANASTORG MORILLO                    COND CONDADO DEL MAR     1479 AVE ASHFORD APT 409                                                               SAN JUAN            PR         00907
   283674 LUIS E DAVILA                               REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701952 LUIS E DAVILA CARRASQUILLO                  PO BOX 607                                                                                                      SAN LORENZO         PR         00754
   283675 LUIS E DE JESUS CARMONA                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283676 LUIS E DE JESUS CASADO                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701953 LUIS E DE JESUS MELENDEZ                    URB JARD AVILA           72 CALLE 5                                                                             CEIBA               PR         00735
   283677 LUIS E DE JESUS SANTANA                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701954 LUIS E DE LA CRUZ BATISTA                   PO BOX 1692                                                                                                     CAROLINA            PR         00984

   283678 LUIS E DE LA CRUZ MONTANEZ                  REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701956 LUIS E DEL TORO                             PO BOX 142                                                                                                      CABO ROJO           PR         00623
   701957 LUIS E DENTON CASANOVA                      PO BOX 143776                                                                                                   ARECIBO             PR         00614
   283679 LUIS E DIAZ COLLAZO                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701960 LUIS E DIAZ COLON                           URB VILLA FONTANA        4 GN 10 VIA 28                                                                         CAROLINA            PR         00983
   283680 LUIS E DIAZ ESCRIBANO                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283681 LUIS E DIAZ NUNEZ                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283683 LUIS E DIAZ PADILLA                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701961 LUIS E DIAZ ROMERO                          VILLAS DE TORIMAR        252 REY FEDERICO                                                                       GUAYNABO            PR         00969
   701962 LUIS E DIAZ RUIZ                            HC 763 BOX 3802                                                                                                 PATILLAS            PR         00723
   283684 LUIS E DOMINGUEZ                            REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   701963 LUIS E DUCHESNE JIMENEZ                     PMB 122                  405 AVE ESMERALDA SUITE 2                                                              GUAYNABO            PR         00969
   701964 LUIS E DURAN VALENTIN                       P O BOX 590                                                                                                     LARES               PR         00669

   700203 LUIS E EMMANUELLY PONDERIDE PO BOX 41                                                                                                                       FAJARDO             PR         00738
   283685 LUIS E ENCARNACION RIVERA   REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283686 LUIS E ENRIQUEZ MARIN       REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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MML ID                 NAME                                     ADDRESS 1                   ADDRESS 2                      ADDRESS 3                           ADDRESS 4               CITY        STATE    POSTAL CODE       COUNTRY
  701965 LUIS E ESQUILIN NAVARRO                      URB VILLA CAROLINA          54 7 CALLE 52                                                                            CAROLINA             PR         00985
  701966 LUIS E ESTREMERA DE JESUS                    URB CIUDAD REAL             424 CALLE ALVA                                                                           VEGA BAJA            PR         00693
  701967 LUIS E FERNADEZ FERNADEZ                     P O BOX 15                                                                                                           CIALES               PR         00638
  701968 LUIS E FERNANDEZ GONZALEZ                    610 CALLE NIN                                                                                                        SAN JUAN             PR         00915
  283688 LUIS E FIGUEROA CORREA                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  283689 LUIS E FIGUEROA ESTRADA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  701969 LUIS E FIGUEROA FIGUEROA                     URB LA GUADALUPE            H 20 AVE JARD PONCIANA                                                                   PONCE                PR         00730
  701972 LUIS E FIGUEROA MOLINA                       SECTOR LOS AYALA            CARR 823 K 3 2                                                                           TOA ALTA             PR         00953
  283691 LUIS E FIGUEROA OLIVER                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  283692 LUIS E FILION TRUJILLO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   701973 LUIS E FIRPI MATOS                          URB CAROLINA ALTA           G10 CALLE SEGUNDO DELGADO                                                                CAROLINA             PR         00987
   701974 LUIS E FLORES CRUZ                          BRISAS DE CAMPANERO         D 6 CALLE 14                                                                             TOA BAJA             PR         00949
   701976 LUIS E FLORES DIAZ                          HC 30 BOX 32030                                                                                                      SAN LORENZO          PR         00754

   701977 LUIS E FLORES RAMOS                         URB SANTIAGO IGLESIAS       1756 CALLE J RIVERA GAUTIER                                                              SAN JUAN             PR       00921
   701978 LUIS E FLORES RODRIGUEZ                     130 ALTERIAL HOSTOS N 102                                                                                            SAN JUAN             PR       00924
   701980 LUIS E FONTANEZ CORTES                      URB CIUDAD CRISTIANA        20 CALLE MEJICO                                                                          HUMACAO              PR       00791
   283693 LUIS E GALAN APONTE                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   283694 LUIS E GARCIA                               REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   283695 LUIS E GARCIA ARZUAGA                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   283697 LUIS E GARCIA OYOLA                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   701983 LUIS E GARCIA PAGAN                         PO BOX 9021112                                                                                                       SAN JUAN             PR       00902‐1112
   283699 LUIS E GERVITZ CARBONEL                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   283700 LUIS E GERVITZ CARBONELL                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   701985 LUIS E GIRON HIGUITA                        URB QUINTAS DE VILLA MAR    X 6 CALLE 16                                                                             DORADO               PR       00646
   283701 LUIS E GIRON VERGNE                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   283703 LUIS E GOMEZ CACHO                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   283705 LUIS E GOMEZ RODRIGUEZ                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   701986 LUIS E GONZALEZ                             BDA BLONDET                 76 CALLE B                                                                               GUAYAMA              PR       00784
   701987 LUIS E GONZALEZ ADORNO                      BUENA VISTA                 208 CALLE 3 ESQ A                                                                        SAN JUAN             PR       00917
   283706 LUIS E GONZALEZ ALMEYDA                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   283707 LUIS E GONZALEZ ARVELO                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   283709 LUIS E GONZALEZ CRUZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   283711 LUIS E GONZALEZ ORTIZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   283713 LUIS E GONZALEZ REYNOSO                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   283714 LUIS E GONZALEZ RODRIGUEZ                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   283715 LUIS E GONZALEZ TORRES                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED

   283716 LUIS E GONZALEZ VIZCARRONDO REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283717 LUIS E GRULLON JAVIER       REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   701990 LUIS E GUASE SOTO           URB SAN MIGUEL ST Z A ‐18                                                                                                            CABO ROJO            PR         00623
   701991 LUIS E GUITIERREZ RIVERA    URB ALTA VISTA                              A3 CALLE 2                                                                               PONCE                PR         00731
   701992 LUIS E GUTIERREZ ROSADO     URB STARLIGHT 3470                          CALLE GALIXIA                                                                            PONCE                PR         00717‐1483
   701994 LUIS E HERNANDEZ COTTO      URB LOS DOMINICOS                           0282 CALLE SAN FRANCISCO                                                                 BAYAMON              PR         00957
   283719 LUIS E HERNANDEZ OCASIO     REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283720 LUIS E HERNANDEZ RAMOS      REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   701995 LUIS E HERNANDEZ RIOS       URB JARDINES DE ARECIBO                     108 CALLE M                                                                              ARECIBO              PR         00612
   283721 LUIS E HERNANDEZ SANTIAGO   REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283722 LUIS E HUGAS                REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283724 LUIS E IRIZARRY MATOS       REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   701996 LUIS E ISALES MARQUEZ       BUENA VISTA                                 43 CALLE MARGINAL                                                                        CAROLINA             PR         00984
   283726 LUIS E IZQUIERDO MARTIN     REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  283727 LUIS E JEAN KERG                             REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  701998 LUIS E JIMENEZ SALGADO                       HC 33 BOX 6898                                                                                                         VEGA ALTA             PR         00962
                                                                                    30 CAL RSNR CHALETS DE SANTA
   701999 LUIS E KOLB ORTIZ                           URB SANTA BARBARA             BARBAR                                                                                   GURABO                PR         00778
   283728 LUIS E LACOURT ALICEA                       REDACTED                      REDACTED                     REDACTED                             REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   283729 LUIS E LAHOZ ARROYO                         REDACTED                      REDACTED                     REDACTED                             REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   283730 LUIS E LAMBOY MEDINA                        REDACTED                      REDACTED                     REDACTED                             REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   702000 LUIS E LANDESTOY ZAPATA                     URB VILLA FONTANA             AL5 VIA ELENA                                                                            CAROLINA              PR         00983
   283732 LUIS E LEBRON COLON                         REDACTED                      REDACTED                     REDACTED                             REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   702003 LUIS E LOPEZ COLON                          PO BOX 295                                                                                                             DORADO                PR         00646‐0295
   283734 LUIS E LOPEZ DEL POZO                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   283735 LUIS E LOPEZ DIFUT                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   702006 LUIS E LOPEZ PABON                          BO CAMPANILLAS                189C CALLE DEL MONTE                                                                     TOA BAJA              PR         00949
   283736 LUIS E LOPEZ RIVERA                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   283737 LUIS E LOPEZ TORRES                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   702008 LUIS E LUGO                                 BAYAMON GARDENS               M 15 CALLE 14                                                                            BAYAMON               PR         00957
   283738 LUIS E LUNA FUENTES                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   702009 LUIS E LURIDO                               URB JARDINES DE CASA BLANCA 103 CALLE ROOSEVELT                                                                        TOA ALTA              PR         00953
   702010 LUIS E MACHADO SIMANCAS                     URB SANTA ROSA              A 25 CALLE DIANA                                                                           CAGUAS                PR         00725
   283739 LUIS E MALARET GARCIA                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   702012 LUIS E MALAVE RIVERA                        P O BOX 1662                                                                                                           COAMO                 PR         00769

   702013 LUIS E MALDONADO DELGADO                    RR 01 BOX 11747                                                                                                        TOA ALTA              PR         00953‐9721
          LUIS E MALDONADO
   702014 MALDONADO                                   P O BOX 4462                                                                                                           VEGA BAJA             PR         00694
   702016 LUIS E MARALET SERRANO                      HC 07 BOX 34035                                                                                                        HATILLO               PR         00659
   702017 LUIS E MARINI ROIG                          PO BOX 907                                                                                                             SAINT JUST            PR         00978

   702018 LUIS E MARRERO ECHEVARRIA                   URB LAS MONJAS                5050 CALLE MANUEL G TABARES                                                              PONCE                 PR         00728 2511
   702019 LUIS E MARTI LUGO                           HC 5 BOX 55523                                                                                                         HATILLO               PR         00659
   283742 LUIS E MARTINEZ ACOSTA                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   283743 LUIS E MARTINEZ MERCADO                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   283744 LUIS E MARTINEZ VEGA                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
          LUIS E MARTIR Y EVYANNE
   283745 MARTIR                                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
                                                      REPTO VALENCIANO A 20 CALLE
   702020 LUIS E MASSANET ROSADO                      ACACIAS                                                                                                                JUNCOS                PR         00777‐8489
   702022 LUIS E MATEO RIVERA                         HC 01 BOX 6325                                                                                                         SANTA ISABELA         PR         00757
   702023 LUIS E MATOS                                2DO PISO 1916 CALLE LOIZA                                                                                              SAN JUAN              PR         00911
   702024 LUIS E MATOS BARTOLOMEI                     PO BOX 2586                                                                                                            GUAYAMA               PR         00785
   702025 LUIS E MATOS BAYO                           SANTA ANA                     C 16 CALLE TULANE                                                                        SAN JUAN              PR         00927
   283746 LUIS E MATOS DIAZ                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   702026 LUIS E MATOS SANCHEZ                        BO CACAO CENTRO               KM 2 8 CARR 858                                                                          CAROLINA              PR         00986
   702028 LUIS E MEDINA MORALES                       URB TINTILLO GARDENS          F4 CALLE 9                                                                               GUAYNABO              PR         00966
   702029 LUIS E MEDINA RIVERA                        HC 3 BOX 1574                                                                                                          BOQUERON              PR         00622
   283747 LUIS E MEDINA VELEZ                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   702030 LUIS E MEDINA VERGARA                       19 BRISAS DEL PLATA                                                                                                    DORADO                PR         00646
   283749 LUIS E MENDEZ GARCIA                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   702032 LUIS E MENDEZ MORALES                       616 SANTANA                                                                                                            ARECIBO               PR         00612
   283750 LUIS E MENDEZ VAZQUEZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   702033 LUIS E MERCADO CINTRON                      URB BUENAVENTURA              8024 CALLE NARDO                                                                         MAYAGUEZ              PR         00682‐1277




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   702034 LUIS E MERCADO HERNANDEZ                    URB SAN ANTONIO                132 A CALLE 1                                                                            DORADO              PR           00646
   283751 LUIS E MERCADO MELENDEZ                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283752 LUIS E MIRANDA CRUZ                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702035 LUIS E MIRANDA TORRES                       CONDADO MODERNO                C 17 CALLE 1                                                                             CAGUAS              PR           00725
   283753 LUIS E MONTALVO SANCHEZ                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702037 LUIS E MORA ANTONGIORGI                     PO BOX 9024275                                                                                                          SAN JUAN            PR           00902‐4275
   700201 LUIS E MORA DELGADO                         URB MEDINA                     G 12 CALLE 6                                                                             ISABELA             PR           00662
                                                      101 CALLE MIGUEL DE
   702038 LUIS E MORA FARIA                           UNAMUNO                                                                                                                 MAYAGUEZ            PR           00682‐6637
   702039 LUIS E MORALES COLON                        HC 71 BOX 3550                                                                                                          NARANJITO           PR           00719
   702042 LUIS E MORAN GARCIA                         BO SABANA 690 HOYOS CARR       HC 83 BOX 6632                                                                           VEGA ALTA           PR           00692

   702045 LUIS E MORENO DE JESUS                      SAN JORGE                      364 COND LAS CARMELITAS 2 E                                                              SAN JUAN            PR           00912
   283754 LUIS E MORRABAL ORTIZ                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283755 LUIS E MUNIZ COLON                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283756 LUIS E MUNOZ BLANCO                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702046 LUIS E NAVARRO RIVERA                       BO PADILLA                     HC 5 BOX 10133                                                                           COROZAL             PR           00783
   702047 LUIS E NAVARRO TORRES                       SABANA LLANA                   338 G CALLE 1                                                                            SAN JUAN            PR           00924
   283757 LUIS E NAVAS MARIN                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702048 LUIS E NEGRON CRUZ                          URB PRADERA ALMIRA             CALLE Z AH 32                                                                            LEVITOWN            PR           00949
   283759 LUIS E NEGRON GONZALEZ                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283760 LUIS E NEGRON MOJICA                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702049 LUIS E NIEVES GONZALEZ                      P O BOX 2346                                                                                                            ARECIBO             PR           00613
   702050 LUIS E NIEVES NIEVES                        URB LA ROMANA                  27 CALLE SONERA                                                                          QUEBRADILLAS        PR           00678
   283762 LUIS E NIEVES TORRES                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283763 LUIS E NUNEZ SALGADO                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283764 LUIS E OCASIO RIVERA                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283765 LUIS E OLIVERAS CARABALLO                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702051 LUIS E OLIVERO ALVAREZ                      VILLA SAN ANTON                H 14 CALLE LUIS VIGO                                                                     CAROLINA            PR           00987
   283766 LUIS E OMS RIVERA                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702053 LUIS E ORTEGA CANDELARIA                    PO BOX 901                                                                                                              SABANA HOYOS        PR           00688
   283767 LUIS E ORTIZ ORTIZ                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702058 LUIS E ORTIZ RIVERA                         CMMS 202 P O BOX 70344                                                                                                  SAN JUAN            PR           00969
   702059 LUIS E ORTIZ VARGAS                         BZN 2012 APT 3                 CARR 348                                                                                 MAYAGUEZ            PR           00680
   283770 LUIS E OTERO OTERO                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283771 LUIS E PABON COCA                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702060 LUIS E PABON ROCA                           606 AVE MUNOZ RIVERA                                                                                                    SAN JUAN            PR           00918
   283772 LUIS E PACHECO ASENCIO                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702061 LUIS E PACHECO MEDINA                       19 WAVERLY ST BASEMEN                                                                                                   JERSEY CITY         NJ           07306
   702062 LUIS E PADOVANI PADILLA                     12 CALLE JAVILLA                                                                                                        SAN GERMAN          PR           00683
   702064 LUIS E PAGAN ARANA                          URB SIERRA BAYAMON             32 A 10 CALLE 35 A                                                                       BAYAMON             PR           00961
   283774 LUIS E PAGAN GOMEZ                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283775 LUIS E PAGAN GRANA                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702065 LUIS E PALACIOS ARIZA                       BO HIGUILLAR SECT ARENAL       592 CALLE 17                                                                             DORADO              PR           00646

   702066 LUIS E PALACIOS GERENA                      613 AVE PONCE DE LEON ST 206                                                                                            SAN JUAN            PR           00917
   702067 LUIS E PALOU BALSA                          PO BOX 364225                                                                                                           SAN JUAN            PR           00936‐4225
          LUIS E PANTOJAS / MARILDA
   283776 MALDONADO                                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283777 LUIS E PARDO DIAZ                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702070 LUIS E PAREDES ROMAN                        PO BOX 1063                                                                                                             ISABELA             PR           00662
   283778 LUIS E PEREZ DE JESUS                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   702071 LUIS E PEREZ ESQUILIN                       URB MANSIONES DE CAROLINA   PPB CALLE FARALLON                                                                  CAROLINA            PR           00987
   283779 LUIS E PEREZ JIMENEZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702073 LUIS E PEREZ LEBRON                         PO BOX 1466                                                                                                     MAYAGUEZ            PR           00681‐1466
   283780 LUIS E PEREZ PEDRERO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702074 LUIS E PEREZ PEREZ                          URB SIERRA BAYAMON          45‐16 CALLE 42                                                                      BAYAMON             PR           00961‐4351
   283781 LUIS E PEREZ RIVERA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283782 LUIS E PEREZ SANCHEZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702078 LUIS E QUI¥ONES VALENTIN                    URB ESTANCIAS DE YAUCO      K 22 CALLE TURQUESA                                                                 YAUCO               PR           00698
   283784 LUIS E QUINONES NEGRON                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283785 LUIS E QUINONES RAMIREZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702079 LUIS E QUINONES RODRIGUEZ                   HC 01 BOX 8754                                                                                                  PE¨UELAS            PR           00624
   283786 LUIS E QUINTANA PEREZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702080 LUIS E RAMIREZ IRIZARRY                     VILLA TORREI                16 CALLE B                                                                          LAJAS               PR           00667
   702081 LUIS E RAMIREZ MONTALVO                     PO BOX 216                                                                                                      CABO ROJO           PR           00623
   702082 LUIS E RAMIREZ RIVERA                       URB VICTORIA                29 CALLE CLAVEL                                                                     AGUADILLA           PR           00603
   702083 LUIS E RAMON                                P O BOX 786                                                                                                     RINCON              PR           00677
   702084 LUIS E RAMOS MALAVE                         URB DOS PINOS TOWNHOUSE     B 10 CALLE 2                                                                        SAN JUAN            PR           00923
   283789 LUIS E RAMOS RIVERA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702086 LUIS E RAMOS RODRIGUEZ                      EDIF MEDICO SUITE 102                                                                                           BAYAMON             PR           00961
   283790 LUIS E RANGEL MERCED                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283792 LUIS E RICHARDSON RAMOS                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283793 LUIS E RIOS MORALES                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283794 LUIS E RIOS SANCHEZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702088 LUIS E RIVERA                               CAPARRA TERRACE             811 30ST SE                                                                         SAN JUAN            PR           00921
   283795 LUIS E RIVERA CARABALLO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUIS E RIVERA COLLAZO Y LUZ H
   283796 RIVERA                                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702092 LUIS E RIVERA COLON                         PO BOX 30676                                                                                                    SAN JUAN            PR           00929‐1676
   283797 LUIS E RIVERA CORTES                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   700202 LUIS E RIVERA FELICIANO                     PARCELAS RODRIGUEZ OLMO     50 CALLE B                                                                          ARECIBO             PR           00612
   702093 LUIS E RIVERA GARCIA                        P O BOX 275                                                                                                     SABANA HOYOS        PR           00688
   283798 LUIS E RIVERA JURADO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283799 LUIS E RIVERA MARTINEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283801 LUIS E RIVERA MATIAS                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702095 LUIS E RIVERA MEDINA                        BO LAS GRANJAS 8            CALLE LOS MEDINAS                                                                   VEGA BAJA           PR           00693
   283802 LUIS E RIVERA MELENDEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283803 LUIS E RIVERA OCASIO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283805 LUIS E RIVERA REYES                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702097 LUIS E RIVERA RIVERA                        PO BOX 2951                                                                                                     CAROLINA            PR           00984‐2951
   283806 LUIS E RIVERA ROSADO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702098 LUIS E RIVERA SANTIAGO                      URB MELENDEZ                B 7 CALLE B                                                                         FAJARDO             PR           00738
   283807 LUIS E ROBLES RODRIGUEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702099 LUIS E RODRIGUEZ                            VALLE VERDE                 BC 6 CALLE NILO                                                                     BAYAMON             PR           00961
   283808 LUIS E RODRIGUEZ AYALA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702101 LUIS E RODRIGUEZ BENITEZ                    COND LOS NARANJALES         EDIF D 55 APT 282                                                                   CAROLINA            PR           00985

   283809 LUIS E RODRIGUEZ CONTRERAS                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   702102 LUIS E RODRIGUEZ CUADRADO                   BO PLAYITA                  PARC NUEVAS                                                                         YABUCOA             PR           00767
   283810 LUIS E RODRIGUEZ GONZALEZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   702103 LUIS E RODRIGUEZ HERNANDEZ                  HC 3 BOX 10129                                                                                                  CAMUY               PR           00627



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  283812 LUIS E RODRIGUEZ LEBRON                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  283813 LUIS E RODRIGUEZ LOPEZ                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702104 LUIS E RODRIGUEZ MARI                        PARC BARINAS            356 CALLE PEDRO ACOSTA                                                                   YAUCO             PR         00698
  283814 LUIS E RODRIGUEZ MONTES                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702105 LUIS E RODRIGUEZ PASTRANA                    URB PARK GARDENS        Y10 CALLE YORKSHIRE                                                                      SAN JUAN          PR         00312
  283815 LUIS E RODRIGUEZ POMALES                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702106 LUIS E RODRIGUEZ REMUS                       P O BOX 1860                                                                                                     SAN GERMAN        PR         00683
  283816 LUIS E RODRIGUEZ RIVERA                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702109 LUIS E RODRIGUEZ ROBLES                      101 VISTA DEL VALLE                                                                                              MANATI            PR         00674

   283817 LUIS E RODRIGUEZ RODRIGUEZ                  REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702110 LUIS E RODRIGUEZ ROSA                       1004 REPARTO MIJIA                                                                                               MANATI            PR         00674

   283818 LUIS E RODRIGUEZ SANOGUET                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283819 LUIS E RODRIGUEZ SANTIAGO                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283820 LUIS E RODRIGUEZ VAZQUEZ                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283821 LUIS E RODRIGUEZ VELEZ                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283822 LUIS E RODRIQUEZ VERA                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702114 LUIS E ROMAN MIRANDA                        URB LAS FLORES          F 11 CALLE 2                                                                             JUANA DIAZ        PR         00795
   702115 LUIS E ROMERO MARRERO                       P O BOX 672                                                                                                      MANATI            PR         00674
   283823 LUIS E ROMERO NIEVES                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283824 LUIS E ROMERO ORTIZ                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283825 LUIS E ROSADO RODRIGUEZ                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702116 LUIS E ROSARIO ALVARADO                     VALLE DEL CERRO GORDO   Q 2 AMBAR                                                                                BAYAMON           PR         00957
   702117 LUIS E ROSARIO BONILLA                      HC 1 BOX 5265                                                                                                    OROCOVIS          PR         00720
   702118 LUIS E ROSARIO CRUZ                         HC 1 BOX 16381                                                                                                   HUMACAO           PR         00791+
   702119 LUIS E ROSARIO FERNANDEZ                    PO BOX 1704                                                                                                      AIBONITO          PR         00705
   283826 LUIS E ROSARIO RODRIGUEZ                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283827 LUIS E ROSARIO SANTIAGO                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702120 LUIS E RUIZ COLON                           URB EL CONQUISTADOR     PE1 CALLE 11                                                                             TRUJILLO ALTO     PR         00976
   702121 LUIS E RUIZ MARQUEZ                         BO CACAO ALTO           BZN 3401                                                                                 PATILLAS          PR         00723
   283829 LUIS E SALICETI RIVERA                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283830 LUIS E SANATALIZ RODRIGUEZ                  REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283831 LUIS E SANTALIZ RUIZ                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702123 LUIS E SANTIAGO COLON                       EXT VILLA RETIRO        B 7 CALLE 2                                                                              SANTA ISABEL      PR         00757
   283832 LUIS E SANTIAGO CRUZ                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283834 LUIS E SANTIAGO NEGRON                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283835 LUIS E SANTIAGO NIEVES                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702126 LUIS E SANTIAGO ORTIZ                       URB SABANARENA          353 CAMINO DEL PRADO                                                                     CIDRA             PR         00739
   283836 LUIS E SANTIAGO RAMOS                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283838 LUIS E SANTIAGO RODRIGUEZ                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702128 LUIS E SANTIAGO RUIZ                        P O BOX 1432                                                                                                     AGUADILLA         PR         00602
   702129 LUIS E SANTIAGO SANTIAGO                    P O BOX 348                                                                                                      OROCOVIS          PR         00720
          LUIS E SANTIAGO Y TERESA
   283839 MEDIAVILLA                                  REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283841 LUIS E SANTOS RAMIREZ                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283843 LUIS E SEDA GONZALEZ                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   702130 LUIS E SEGARRA MALDONADO                    PO BOX 363686                                                                                                    SAN JUAN          PR         00936‐3686
   283844 LUIS E SERRANO DAVILA                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   283845 LUIS E SERRANO RODRIGUEZ                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   702132 LUIS E SIERRA SIERRA                        COND SKY TOWER III      8 CALLE HORTENCIA APTO 10 P                                                              SAN JUAN          PR         00926



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  283846 LUIS E SILVA MENDOZA                         REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  702135 LUIS E SOLER GARCIA                          HC 1 BOX 3736                                                                                             FLORIDA              PR         00650
  702136 LUIS E SOTO CABALLERO                        A 11 CALLE 2                                                                                              LOIZA                PR         00772
  283847 LUIS E SOTO HARRISON                         REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  283848 LUIS E SOTOMAYOR AGOSTO                      REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   702139 LUIS E SURIS GARCIA            232 AVE ELEONOR ROOSEVELT                                                                                              SAN JUAN             PR         00907
   283851 LUIS E TAPIA GONZALEZ          REDACTED                           REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   702140 LUIS E TIRADO RODRIGUEZ        PO BOX 1677                                                                                                            RINCON               PR         00677
   283852 LUIS E TIRADO ROHENA           REDACTED                           REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283853 LUIS E TORRES BOSQUES          REDACTED                           REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283854 LUIS E TORRES DE JESUS         REDACTED                           REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283855 LUIS E TORRES DIAZ             REDACTED                           REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   702141 LUIS E TORRES JIMENEZ          PO BOX 1414                                                                                                            SAN GERMAN           PR         00683
          LUIS E TORRES MARTINEZ/ LUIS E
   283858 TORRES                         REDACTED                           REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283859 LUIS E TORRES MORA             REDACTED                           REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   702142 LUIS E TORRES MUNIZ            URB VALLE ALTO                     1704 CALLE LLANURA                                                                  PONCE                PR         00730
   702143 LUIS E TORRES RAMIREZ          14 INTENDENTE RAMIREZ                                                                                                  PONCE                PR         00730
   283860 LUIS E TORRES RAMOS            REDACTED                           REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283862 LUIS E TORRES RIVERA           REDACTED                           REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283863 LUIS E TORRES RODRIGUEZ        REDACTED                           REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283864 LUIS E TORRES TORRES           REDACTED                           REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283865 LUIS E TOVAR                   REDACTED                           REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   702147 LUIS E VARGAS CASTILLO         30 CALLE VIRTUD                                                                                                        PONCE                PR         00731
   283866 LUIS E VARGAS PEREZ            REDACTED                           REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283868 LUIS E VAZQUEZ ELIAS           REDACTED                           REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283869 LUIS E VAZQUEZ RIOS            REDACTED                           REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283870 LUIS E VAZQUEZ SMITH           REDACTED                           REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   702148 LUIS E VAZQUEZ VELEZ           URB VILLA DEL MONTE                241 CALLE MONTE BLANCO                                                              TOA ALTA             PR         00953
   702149 LUIS E VAZQUEZ ZAYAS           PO BOX 3177                                                                                                            CAROLINA             PR         00984
   702150 LUIS E VEGA ROSARIO            HC 03 BOX 12228                                                                                                        CAMUY                PR         00627‐9743
   702151 LUIS E VEGA SANTIAGO           HC 03 BOX 13479                                                                                                        COROZAL              PR         00783
   702152 LUIS E VELAZQUEZ FIGUEROA      6 CALLE MOLINO                                                                                                         LARES                PR         00669

   702153 LUIS E VELAZQUEZ RODRIGUEZ                  PO BOX 231                                                                                                TOA ALTA             PR         00954
   283871 LUIS E VELAZQUEZ TORRES                     REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   702154 LUIS E VELAZQUEZ VELAZQUEZ                  EDIF MIDTOWN          420 AVE PONCE DE LEON                                                               SAN JUAN             PR         00916
   283872 LUIS E VELEZ                                REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   702155 LUIS E VELEZ DIAZ                           P O BOX 2143                                                                                              JUNCOS               PR         00777
          LUIS E VELEZ LAVERNEG &
   283874 ELIEZER RIVERA                              REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   702156 LUIS E VELEZ RODRIGUEZ                      HC 01 BOX 4084                                                                                            LARES                PR         00669
   283875 LUIS E VICENTI COLON                        REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          LUIS E VICENTY & YOLANDA I
   702158 BERNARD                                     HC 1 BOX 26181                                                                                            VEGA BAJA            PR         00693
   283876 LUIS E VIERA SANTIAGO                       REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283877 LUIS E VIVONI LOPEZ                         REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   702160 LUIS E ZERPA HUERTA                         BO PRRA               P O BOX 1369                                                                        VIEQUES              PR         00765
   283878 LUIS E. BERNARD MATOS                       REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   283879 LUIS E. CANO GANDIA                         REDACTED              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED




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   702162 LUIS E. CHINEA RIVERA                       PO BOX 11855               ESTACION FERNANDEZ JUNCOS                                                              SAN JUAN            PR         00910‐4225
   283880 LUIS E. CINTRON RIVERA                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283881 LUIS E. CORREA GUTIERREZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283882 LUIS E. DAVILA BRIGANTI                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702164 LUIS E. DE JESUS                            HC 1 BOX 4044                                                                                                     YABUCOA             PR         00767
   702165 LUIS E. DE LA CRUZ PELLOT                   PO BOX 16832                                                                                                      SAN JUAN            PR         00908‐6832
   283883 LUIS E. GONZALEAZ ROSARIO                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283884 LUIS E. GONZALEZ CARRERO                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283885 LUIS E. GONZALEZ ORTIZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702166 LUIS E. GUTIERREZ DIAZ                      URB DOS RIOS               L23 CALLE 5                                                                            LEVITTOWN           PR         00949

   283886 LUIS E. HERNANDEZ MARTINEZ                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702167 LUIS E. IRIZARRY PACHECO                    HC‐03 BOX 14887                                                                                                   YAUCO               PR         00698
   283887 LUIS E. LONGO LOPEZ                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283890 LUIS E. MARTINEZ ORTIZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283891 LUIS E. MARTIR LUGO                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283892 LUIS E. MELENDEZ MUNOZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283893 LUIS E. MERINO ROBLES                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283894 LUIS E. MORA                                REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283895 LUIS E. MORA ANTONGIORGI                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283896 LUIS E. NIEVES ROSADO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702168 LUIS E. PASTOR                              URB SIERRA BERDECIA        C14 CALLE BENITEZ                                                                      GUAYNABO            PR         00969
   283897 Luis E. PeNa Gonzalez                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702169 LUIS E. PEREZ TORRES                        HC 04 BOX 16560                                                                                                   LARES               PR         00669
   702170 LUIS E. QUIÑONES CRUZ                       SICOSOCIAL TRUJILLO ALTO                                                                                          Hato Rey            PR         009360000
   702171 LUIS E. RECCI RIVERA                        VILLA PALMERAS             257 CALLE LAGUNA                                                                       SAN JUAN            PR         00915
   283898 LUIS E. REYES MALAVE                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283900 LUIS E. RIVERA GIUSTI                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283901 LUIS E. RIVERA MELENDEZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283902 LUIS E. RIVERA MENDOZA                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283903 Luis E. Rodriguez Laboy                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283905 LUIS E. ROIG TORRES                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283906 LUIS E. ROMERO ALVELO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283907 LUIS E. ROSADO DE ALBA                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283908 LUIS E. ROSARIO GARCIA                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283911 LUIS E. SALICETI RIVERA                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702175 LUIS E. SALICETTI RIVERA                    PO BOX 766                                                                                                        ADJUNTAS            PR         00601
   702177 LUIS E. SANCHEZ CABRANES                    RR‐8 BOX 9185                                                                                                     BAYAMON             PR         00956
   283912 LUIS E. SANTALIZ RUIZ                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283913 LUIS E. SERRANO TORRES                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283914 LUIS E. TOMASSINI SEGARRA                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283915 LUIS E. TORRES VELEZ                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702178 LUIS E. VALENTIN                            PO BOX 9533                                                                                                       CAGUAS              PR         00726

   283916 LUIS E. VALLADARES MONTALVO REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283917 LUIS E. VAZQUEZ RODRIGUEZ   REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283918 LUIS E. VAZQUEZ SMITH       REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283919 LUIS E. VELAZQUEZ LOPEZ     REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   283920 LUIS E.LEON VEGA            REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   283923 LUIS ECHEGARAY MENDEZ, P P                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED




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MML ID               NAME                                        ADDRESS 1                   ADDRESS 2                     ADDRESS 3                           ADDRESS 4              CITY          STATE   POSTAL CODE        COUNTRY
          LUIS ECHEVARRIA / ANA L
   283924 ECHEVARRIA                                  REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283925 LUIS ECHEVARRIA CORCHADO                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283926 LUIS ECHEVARRIA FERRER                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702179 LUIS ECHEVARRIA GONZALEZ                    PO BOX 7126                                                                                                          PONCE               PR           00732
   283927 LUIS ECHEVARRIA RIVERA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283928 LUIS ECHEVARRIA SANTIAGO                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUIS EDGARDO FUENTES
   283929 WALKER                                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUIS EDGARDO SANTANA
   702181 SANCHEZ                                     PO BOX 5176 HC 01                                                                                                    BARRANQUITAS        PR           00794
   283930 LUIS EDUARDO CRUZ RUIZ                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   702182 LUIS ELADIO VELEZ RODRIGUEZ                 URB VALLE ANDALUCIA                                3422                                                              PONCE               PR           00728‐3131
   702183 LUIS ELVIN GONZALEZ                         PO BOX 192376                                                                                                        SAN JUAN            PR           00919‐2376
          LUIS EMMANUEL MEDINA
   702184 QUINTANA                                    BOX 72                                                                                                               LARES               PR           00669
   702185 LUIS ENCARNACION MEJIAS                     URB VALENCIA                208 LERIDA                                                                               SAN JUAN            PR           00923
   702186 LUIS ENCHAUTEGUI ROMAN                      PO BOX 2582                                                                                                          GUAYAMA             PR           00785
   283931 LUIS ENRIQUE COSME NIEVES                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283932 LUIS ENRIQUE CRUZ CRUZ                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUIS ENRIQUE DE LA CRUZ
   283933 PELLOT                                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUIS ENRIQUE ECHEVARRIA
   283934 MEDINA                                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702189 LUIS ENRIQUE JULIA                          CAPARRA HEIGHTS             553 CALLE ESTOCOLMO                                                                      SAN JUAN            PR           00920‐4715
   283935 LUIS ENRIQUE LEON RIVERA                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   283936 LUIS ENRIQUE NEVAREZ ORTIZ                  REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   283937 LUIS ENRIQUE NIEVES GONZALEZ REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUIS ENRIQUE VELAZQUEZ
   283939 RIVERA                       REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702191 LUIS ERAZO GONZALEZ          PO BOX 70150‐354                                                                                                                    SAN JUAN            PR           00936
          LUIS ERNESTO NIEVES
   283940 CARABALLO                    REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702192 LUIS ERNESTO PAGAN PAGAN     HC 6 BOX 4164                                                                                                                       COTO LAUREL         PR           00780

   283941 LUIS ERNESTO TORRES ZAMORA                  REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702193 LUIS ESBRI RIVERA                           URB VILLA ASTURIAS          Q 37 CALLE 35                                                                            CAROLINA            PR           00983
   283942 LUIS ESCALERA BENITEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283943 LUIS ESCOBAR                                REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   702195 LUIS ESCOBAR RIVERA                         URB JARDINES DE BARCELONA   I 11 CALLE 1                                                                             JUNCOS              PR           00777‐0034
   283945 LUIS ESPADA                                 REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283946 LUIS ESPADA COLON                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702196 LUIS ESTARELLA AGUIRRE                      PO BOX 7126                                                                                                          PONCE               PR           00732
   283947 LUIS ESTEVES UNISOURCE                      PO BOX 361325                                                                                                        SAN JUAN            PR           00936‐1325
   283948 LUIS ESTEVES VENEGAS                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702197 LUIS ESTEVEZ INC                            P O BOX 361325                                                                                                       SAN JUAN            PR           00936 1325
   700204 LUIS ESTRADA OCASIO                         PO BOX 2516                                                                                                          BAYAMON             PR           00960
   283949 LUIS F ADORNO BURGOS                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283950 LUIS F ADORNO CABAN                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  283952 LUIS F ALVARADO RIVERA                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  283953 LUIS F ALVAREZ TORRES                         REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  283954 LUIS F ANAYA ESCOBAR                          REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  702201 LUIS F ANDUJAR GONZALEZ                       P O BOX 800                                                                                                   HATILLO            PR         00659
  702202 LUIS F ANTONETTI ZEQUEIRA                     PO BOX 70364                                                                                                  SAN JUAN           PR         00936‐0364
  283955 LUIS F APONTE ROBLES                          REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  283956 LUIS F ARIAS ESPINAL                          REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  702204 LUIS F AYALA ACEVEDO                          U 15 CALLE PELICANO                                                                                           GUAYAMA            PR         00784
  283957 LUIS F BAEZ BAEZ                              REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  702206 LUIS F BAYON SOTO                             HC 02 BOX 12452                                                                                               MOCA               PR         00676
  702207 LUIS F BERMUDEZ GUZMAN                        URB MONTE CARLO        1315 CALLE 31                                                                          SAN JUAN           PR         00924
  283959 LUIS F BEZA ALERS                             REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  283960 LUIS F BOBONIS CALO                           REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  702208 LUIS F BON FEBUS                              VILLA CAROLINA         99‐30 CALLE 93                                                                         CAROLINA           PR         00985‐4158
  702209 LUIS F BON NAZARIO                            URB EL CORTIJO         NN 5 CALLE 3                                                                           BAYAMON            PR         00956
  702210 LUIS F BUZO ROSA                              168 CALLE PROGRESO                                                                                            AGUADILLA          PR         00603
  702212 LUIS F CABRERA GONZALEZ                       PO BOX 50891                                                                                                  TOA BAJA           PR         00950
  283962 LUIS F CABRERA VELAZQUEZ                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  702213 LUIS F CAICEDO YUSTI                          LA RIVIERA             N 10‐12 CALLE 7 SE                                                                     SAN JUAN           PR         00921
  702216 LUIS F CALO TORRES                            HC 61 BOX 4702                                                                                                TRUJILLO ALTO      PR         00976
  283963 LUIS F CAMPOS BISTANI                         REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  283964 LUIS F CAMPOS PUJALS                          REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  702217 LUIS F CANDELARIA                             MSC 18 PO B OX 4035                                                                                           ARECIBO            PR         00614

   283965 LUIS F CARABALLO ALVARADO                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   702218 LUIS F CARATINI & SON INC                    PO BOX 194663                                                                                                 SAN JUAN           PR         00919‐4663
   702219 LUIS F CARLO MENDOZA                         P O BOX 2633                                                                                                  MAYAGUEZ           PR         00681

   702220 LUIS F CARRAQUILLO NIETZSCHE BDA SANDIN                             15 CALE TAUROL                                                                         VEGA BAJA          PR         00693
   702221 LUIS F CASADO ALGARIN          MINILLAS STATION                     BOX 41269                                                                              SAN JUAN           PR         00940
   702222 LUIS F CASTILLO RIVERA         HC 01 BOX 3894                                                                                                              QUEBRADILLAS       PR         00678
   283966 LUIS F CASTRO CRUZ             REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   283967 LUIS F CINTRON PINEIRO         REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   702223 LUIS F COLON CARTAGENA         URB LEVITTOWN LAKES                  HS 45 CALLE ROSARIO ARUTI                                                              TOA BAJA           PR         00949
   702224 LUIS F COLON HERNANDEZ         P O BOX 841                                                                                                                 NARANJITO          PR         00719‐0841
   702225 LUIS F CORA SANTORY            PMB#164 PO BOX 5103                                                                                                         CABO ROJO          PR         00623
   283968 LUIS F CORDERO RODRIGUEZ       REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   702227 LUIS F CORUJO VEGA             PARQUE LAS MERCEDES                  B 2 CALLE EL JOSCO                                                                     CAGUAS             PR         00725
   283969 LUIS F COTTO FIGUEROA          REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   283970 LUIS F CRESPO                  REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   283971 LUIS F CRESPO HERNANDEZ        REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   702228 LUIS F CRUZ BATISTA            COND AVILA 159 CALLE                 COSTA RICA APT 1D                                                                      SAN JUAN           PR         00917‐2511
   283972 LUIS F CRUZ PANTOJA            REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   283973 LUIS F CUEVAS MORALES          REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   283975 LUIS F DAVID LOPEZ             REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          LUIS F DE JESUS PARA SARILYS M
   283976 DE JESUS                       REDACTED                             REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   702233 LUIS F DEL VALLE COLON         RR 3 BOX 7134                                                                                                               CIDRA              PR         00739
   702234 LUIS F DELGADO DELGADO         BOX 116                                                                                                                     CAMUY              PR         00627
   702235 LUIS F DIAZ COLON              P O BOX 1265                                                                                                                YABUCOA            PR         00767
   702236 LUIS F DIAZ GONZALEZ           PO BOX 1262                                                                                                                 UTUADO             PR         00641
   702237 LUIS F DIAZ MIRANDA            HC 1 BOX 5352                                                                                                               COROZAL            PR         00783




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   702238 LUIS F DIV OF KMA ASSC PR INC               PO BOX 191874                                                                                               SAN JUAN            PR           00919 1874
   702242 LUIS F ESPINOSA                             HC 1 BOX 6793                                                                                               TOA ALTA            PR           00949
   702243 LUIS F ESTRELLA MARTINEZ                    PO BOX 566                                                                                                  BAYAMON             PR           00960‐0566
   702244 LUIS F FERNANDEZ                            A 262 MANUEL A PEREZ                                                                                        SAN JUAN            PR           00923
   283977 LUIS F FERRER NUIN                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702245 LUIS F FIGUEROA BORRERO                     PO BOX 8421                                                                                                 PONCE               PR           00732
   283978 LUIS F FIGUEROA RAMIREZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702246 LUIS F FLORES RODRIGUEZ                     P O BOX 7126                                                                                                PONCE               PR           00732
   702247 LUIS F FONT LUGO                            PO BOX 1128                                                                                                 BARCELONETA         PR           00617
   283979 LUIS F FONTANEZ SANTOS                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283980 LUIS F FRANQUI ESPIET                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702248 LUIS F GARCIA                               PO BOX 226                                                                                                  TRUJILLO ALTO       PR           00976
   283983 LUIS F GARCIA ALMESTICA                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702249 LUIS F GARCIA NIEVES                        URB ALTS DE BUCARABONES   3I 28 CALLE 49                                                                    TOA ALTA            PR           00953

   702250 LUIS F GAUTHIER ENCARNACION                 URB INTERAMERICANA        AG 16 CALLE 24                                                                    TRUJILLO ALTO       PR           00976
   283984 LUIS F GAUTIER RIVERA                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283985 LUIS F GIL SANTIAGO                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283986 LUIS F GOMEZ PABON                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283988 LUIS F GONZALEZ GERENA                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702251 LUIS F GONZALEZ PEREZ                       BO HATO NUEVO             CARR 173 KM 1 6                                                                   GUAYNABO            PR           00970
   283989 LUIS F GONZALEZ RAMIREZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283990 LUIS F GONZALEZ RAMOS                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283991 LUIS F GONZALEZ REYES                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702253 LUIS F HERMINA ACEVEDO                      URB DEL CARMEN            F 87 CALLE 7                                                                      CAMUY               PR           00627
   283993 LUIS F HERNANDEZ SANCHEZ                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702254 LUIS F HERNANDEZ TORRES                     11 LEXINGTON DRIVE                                                                                          CEIBA               PR           00735
   283994 LUIS F HUERTAS SOTO                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283995 LUIS F JIMENEZ CORDERO                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   283996 LUIS F JIMENEZ ROSA                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702257 LUIS F JONGH                                1486 AVE FD ROOSEVELT     P O BOX 614                                                                       CAPARRA HEIGHTS     PR           00920
   283997 LUIS F JUARBE JIMENEZ                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702258 LUIS F JUARBE RODRIGUEZ                     BO ARENALES BAJOS         BOX 5 134                                                                         ISABELA             PR           00662
          LUIS F JUARBE Y JUANA M
   284001 MATOS                                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   702259 LUIS F LARRAZABAL MERCADO                   343 CALLE JESUS RAMOS                                                                                       MOCA                PR           00676
   702260 LUIS F LEDESMA FONALLEDAS                   P O BOX 1611                                                                                                DORADO              PR           00646‐1611
   702261 LUIS F LEFRANC CINTRON                      BO LA CUARTA              179 CALLE PRINCIPAL                                                               MERCEDITA           PR           00715
   284002 LUIS F LEGRAND PERALTA                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702262 LUIS F LOPEZ                                65TH INF STA              P O BOX 29434                                                                     SAN JUAN            PR           00929
   284003 LUIS F LOPEZ AGUEDA                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284004 LUIS F LOPEZ PEREZ                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284005 LUIS F LOPEZ RODRIGUEZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702263 LUIS F LOPEZ ROSADO                         COLINAS METROPOLITANAS    Y 18 CALLE EL VIGIA                                                               GUAYNABO            PR           00969
   702264 LUIS F LUGO CRESPO                          URB BUENA VISTA           A 11 CALLE 4                                                                      LARES               PR           00669
   284006 LUIS F MALDONADO                            REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   284007 LUIS F MALDONADO MIRANDA                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   702268 LUIS F MALDONADO RODRIGUEZ EMBALSE SAN JOSE                           2‐47 CAYO HUESO                                                                   SAN JUAN            PR           00923
   700205 LUIS F MANGUAL MUJICA      URB EL MIRADOR                             L 3 CALLE 7                                                                       SAN JUAN            PR           00926



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  284008 LUIS F MARQUEZ PANTOJA                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  702269 LUIS F MARRERO CASTRO                        RR 7 BOX 7980                                                                                                  SAN JUAN            PR         00926

   702270 LUIS F MARTINEZ DE LA TORRE                 EXT SAN MARTIN            1301 CALLE 2                                                                         RIO PIEDRAS         PR         00926
   702271 LUIS F MARTINEZ GONZALEZ                    BO GALATEO BAJO           4729 AVE MILITAR                                                                     ISABELA             PR         00662
   702272 LUIS F MARTINEZ ORTIZ                       P O BOX 373                                                                                                    AIBONITO            PR         00705
   284009 LUIS F MARTINEZ VAZQUEZ                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702273 LUIS F MATOS PACHECO                        REPTO UNIVERSITARIO       387 CALLE CITADEL                                                                    SAN JUAN            PR         00926
   284010 LUIS F MEDINA ESCAMILLA                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284011 LUIS F MEDINA GONZALEZ                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702275 LUIS F MELENDEZ APONTE                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284012 LUIS F MENDEZ TORRES                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284013 LUIS F MERCADO ROSARIO                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284014 LUIS F MERCADO VARGAS                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702278 LUIS F MERLE FIGUEROA                       2 JARD DE SAN FRANCISCO   APT 714                                                                              SAN JUAN            PR         00927
   284015 LUIS F MIRANDA MORALES                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284016 LUIS F MIRANDA NUNEZ                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702279 LUIS F MOJICA MARTINEZ                      URB MONTECASINO           283 PINO L 9                                                                         TOA ALTA            PR         00953
   702280 LUIS F MOLINA NAVARRO                       PO BOX 1056                                                                                                    MOROVIS             PR         00687‐0003
   702281 LUIS F MOLINARIS CASTILLO                   PALMAR DEL RIO            18 AVE ARBOLOTE BOX 361                                                              GUAYNABO            PR         00969
   702282 LUIS F MONTES PEREZ                         COND BORINQUEN            APT E 402                                                                            SAN JUAN            PR         00923
   284018 Luis F Montijo                              REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702283 LUIS F MONTIJO COLON                        URB ROOSEVELT             534 OCTAVIO MARCANO                                                                  SAN JUAN            PR         00918‐2747
   702284 LUIS F MORALES CAMERON                      P O BOX 698                                                                                                    CAMUY               PR         00627
   284019 LUIS F MORALES COLON                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284020 LUIS F MORALES MATOS                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284021 LUIS F MORALES SANTOS                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284022 LUIS F MOYA PEREZ                           REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284023 LUIS F NIEVES / BRISEIDA DIAZ               REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702287 LUIS F NIEVES CORDERO                       HC 4 BOX 18034                                                                                                 CAMUY               PR         00627
   284025 LUIS F NORAT MACFRE                         REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284026 LUIS F OLMEDO MORALES                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284027 LUIS F ORTIZ ARROYO                         REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284028 LUIS F ORTIZ TORRES                         REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284029 LUIS F PAGAN GUTIERREZ                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUIS F PASSALAQUA
   284030 SOTOMAYOR                                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284031 LUIS F PAZ CANDELARIA                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284032 LUIS F PENA SANTIAGO                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702289 LUIS F PEREZ                                19 CALLE CRISTOBAL                                                                                             UTUADO              PR         00641
   702290 LUIS F PEREZ BAEZ                           PO BOX 9023653                                                                                                 SAN JUAN            PR         00902
   702291 LUIS F PEREZ CABAN                          P O BOX 980                                                                                                    SAN SEBASTIAN       PR         00685
   284033 LUIS F PEREZ CRUZ                           REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702294 LUIS F PEREZ PEREZ                          HC 02 BOX 7450                                                                                                 QUEBRADILLAS        PR         00678
   284034 LUIS F PEREZ RAMOS                          REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702295 LUIS F PEREZ TORRES                         PO BOX 159                                                                                                     GARROCHALES         PR         00652
   284035 LUIS F PIQUET GONZALEZ                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284036 LUIS F POMALES HERNANDEZ                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702296 LUIS F PUMARADA ONEILL                      PMB 370                   PO BOX 5075                                                                          SAN GERMAN          PR         00683
   284037 LUIS F RAMOS BELTRAN                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284038 LUIS F RAMOS CRUZ                           REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284039 LUIS F RAMOS PADILLA                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702300 LUIS F RAMOS RAMOS                          PO BOX 8002                                                                                                    ARECIBO             PR         00613



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  284042 LUIS F REYES HERRERA                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  702301 LUIS F RIEFKOHL COLON                         BOX 333                                                                                                         HUMACAO             PR         00791
  702302 LUIS F RIVERA COLON                           PO BOX 239                                                                                                      HUMACAO             PR         00792

   702303 LUIS F RIVERA FIGUEROA                       RR‐1 BUZON 14052 BO BOTIJAS NUM. 1                                                                              OROCOVIS            PR         00720
   702304 LUIS F RIVERA FLORES                         HC 3 BOX 5649                                                                                                   BARRANQUITAS        PR         00794
   284043 LUIS F RIVERA MARQUEZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702305 LUIS F RIVERA MELENDEZ                       URB MACIAS                  403 CALLE BENAVIDES                                                                 MAYAGUEZ            PR         00680
   702306 LUIS F RIVERA RIVERA                         39 CALLE FLAMINGO EPHESUS                                                                                       BAYAMON             PR         00959
   284044 LUIS F RIVERA ZAYAS                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284045 LUIS F ROCHE RODRIGUEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284046 LUIS F RODRIGUEZ                             REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284048 LUIS F RODRIGUEZ CORDERO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702309 LUIS F RODRIGUEZ CUADRO                      P O BOX 1506                                                                                                    BARCELONETA         PR         00617
   284049 LUIS F RODRIGUEZ GONZALEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284050 LUIS F RODRIGUEZ GOTAY                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284051 LUIS F RODRIGUEZ MONTIJO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   284052 LUIS F RODRIGUEZ RODRIGUEZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284054 LUIS F ROMAN MARIN                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284055 LUIS F ROMAN OTERO                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284057 LUIS F ROMAN RUIZ                            REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284058 LUIS F ROMAN SOLER                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702313 LUIS F ROMERO FRATISELLI                     URB CORCHADO                200 CALLE PASCUA                                                                    ISABELA             PR         00662
   284059 LUIS F ROSA CORTES                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284060 LUIS F ROSARIO MATEO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702315 LUIS F RUIZ                                  PO BOX 84                                                                                                       HATILLO             PR         00659
   702316 LUIS F RUIZ LOPEZ                            HC 1 BOX 10318                                                                                                  HATILLO             PR         00659
   284061 LUIS F RUIZ RIVERA                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284062 LUIS F SANABRIA HOMS                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284063 LUIS F SANCHEZ AYALA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284064 LUIS F SANCHEZ FELICIANO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702319 LUIS F SANCHEZ GARCIA                        PO BOX 762                                                                                                      PATILLAS            PR         00723‐0762
   284065 LUIS F SANCHEZ RIVERA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284066 LUIS F SANCHEZ SERRANO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284067 LUIS F SANCHEZ SIERRA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284068 LUIS F SANTANA MARRERO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702320 LUIS F SANTIAGO ALVAREZ                      621 REPARTO GUAYANEY                                                                                            MANATI              PR         00674
   284069 LUIS F SANTIAGO OCASIO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284070 LUIS F SANTOS RODRIGUEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284071 LUIS F SEGUINOT RIVERA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284072 LUIS F SERRANO                               REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   284073 LUIS F SERRANO BARRIONUEVO                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284074 LUIS F SILVA VINAS                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                       URB.PUERTO NUEVO 311 AVE DE
   702325 LUIS F SOLARES MIRANDA                       DIEGO                                                                                                           SAN JUAN            PR         00920
   702326 LUIS F SOTO SANTIAGO                         URB JARDINES DE ARROYO      15 CALLE D                                                                          ARROYO              PR         00714
          LUIS F SOTOMAYOR
   284075 GUARDARRAMA                                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702327 LUIS F TIRADO HUERTAS                        BOX 302                                                                                                         PATILLAS            PR         00723
   284076 LUIS F TORREGROSA VELEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   702328 LUIS F TORRENS ORTIZ                        URB VILLA BORINQUEN          NUM 60 CALLE LOPEZ LANDRON                                                               SAN JUAN            PR         00921
   284078 LUIS F TORRES GALLEGO                       REDACTED                     REDACTED                   REDACTED                               REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702331 LUIS F TORRES ORTIZ                         HC 3 BOX 12615                                                                                                        JUANA DIAZ          PR         00795
   284081 LUIS F TORRES PEREZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702333 LUIS F TORRES VELAZQUEZ                     EXT PERLA DEL SUR            CALLE PEDRO M CARATINI                                                                   PONCE               PR         00717‐0317
   284082 LUIS F TROCHE                               REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   702334 LUIS F TUCUNANGO VALENTIN                   P O BOX 867                                                                                                           GURABO              PR         00778
   702335 LUIS F UMPIERRE VELA                        TORRIMAR                     15‐8 GRANADA                                                                             GUAYNABO            PR         00966
   702337 LUIS F VARGAS HEREDIA                       PO BOX 7126                                                                                                           PONCE               PR         00732
   284083 LUIS F VARGAS MALDONADO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702199 LUIS F VARGAS VELAZQUEZ                     EXT SAN AGUSTIN              389 CALLE 6                                                                              SAN JUAN            PR         00926
   702338 LUIS F VAZQUEZ ORTIZ                        150 PISO 2                                                                                                            SAN JUAN            PR         00901
   284084 LUIS F VAZQUEZ ROBLES                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284085 LUIS F VAZQUEZ SUREN                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284086 LUIS F VEGA PALACIOS                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284087 LUIS F VEGA VEGA                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284088 LUIS F VEGA Y RAUL VEGA                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   702339 LUIS F VELEZ FERRER                         URB UNIVERSITY GARDENS        401 CALLE COLOMBIA APT 302                                                              SAN JUAN            PR         00927
   284089 LUIS F VELEZ QUINONES                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702340 LUIS F VERDEJO PACHECO                      HC 66 BOX 8496                                                                                                        FAJARDO             PR         00730
   702341 LUIS F VIERA PEREZ                          1486 AVE FD ROOSEVELT         APT 711                                                                                 SAN JUAN            PR         00920
   284090 LUIS F. ALVAREZ PEREZ                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702343 LUIS F. BERRIOS                             HC 1 BOX 2456                                                                                                         BARRANQUITAS        PR         00794
                                                      URB. VICTOR ROJAS‐2 66 CALLE‐
   702344 LUIS F. BONANO SINDO                        9                                                                                                                     ARECIBO             PR         00612
   284093 LUIS F. GARCIA TORRADO                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702347 LUIS F. HIRALDO                             BO LAS FLORES                 HC 2                                                                                    RIO GRANDE          PR         00745
   284094 LUIS F. ITURRINO ECHEANDIA                  REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702350 LUIS F. MARTINEZ SANTIAGO                   PO BOX 828                                                                                                            COAMO               PR         00769

   284097 LUIS F. MENDOZA RODRIGUEZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284098 LUIS F. MONTES PEREZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702352 LUIS F. MORALES GONZALEZ                    SUITE 156                    PO BOX 4020                                                                              ARECIBO             PR         00613
   702353 LUIS F. NIETO PADRO                         PO BOX 860                                                                                                            GUANICA             PR         00653
   284100 Luis F. Perez Rivera                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702354 LUIS F. RIVERA DIAZ                         SANTA JUANITA                BN 7 CALLE YOKOHAMA                                                                      BAYAMON             PR         00956
   284101 LUIS F. RODRIGUEZ CAMASCO                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284102 LUIS F. RODRIGUEZ GOTAY                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284103 LUIS F. ROSARIO MENA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284104 LUIS F. SANCHEZ VAZQUEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284105 LUIS F. SANTIAGO MARTINEZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284106 LUIS F.SANTIAGO MELENDEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702358 LUIS FALCON FALCON                          HC 1 BOX 20403                                                                                                        COMERIO             PR         00782
          LUIS FALCON HNC FALCON
   702359 GROUP                                       RR 5 BOX 4999                                                                                                         BAYAMON             PR         00956
   702360 LUIS FALCON ORTIZ                           RR4 BOX 26103                                                                                                         TOA ALTA            PR         00953 9402
   702362 LUIS FALTO                                  PO BOX 3597                  MARINA STATION                                                                           MAYAGUEZ            PR         00681
   284107 LUIS FANTAUZZI RODRIGUEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702364 LUIS FARGAS BENITEZ                         PO BOX 29964                                                                                                          SAN JUAN            PR         00929
   284108 LUIS FEBLES GANDIA                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  284109 LUIS FEBLES RIVERA             REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284110 LUIS FEBO COLON                REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702365 LUIS FELICIANO                 PO BOX 714                                                                                                                     GUANICA           PR         00653
  702366 LUIS FELICIANO ACEVEDO         HCO1 BOX 2400                               BARRIO BAJADERO                                                                    ARECIBO           PR         00616
  702367 LUIS FELICIANO ARROYO          HC‐08 BOX 771                                                                                                                  PONCE             PR         00731
  702369 LUIS FELICIANO GONZALEZ        HC 3 BOX 30873                                                                                                                 AGUADILLA         PR         00603
  284111 LUIS FELICIANO MEDINA          REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         LUIS FELICIANO NELSON
  284112 FELICIANO &                    REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702370 LUIS FELICIANO PEREZ           PO BOX 499                                                                                                                     TOA ALTA          PR         00954
  284113 LUIS FELICIANO RIVERA          REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284114 LUIS FELIPE DIAZ CASTILLO      REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284115 LUIS FELIPE NEGRON BAEZ        REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284116 LUIS FELIPE ORTIZ FIGUEROA     REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         LUIS FELIPE PIZARRO Y SAMUEL A
  284117 ESTRADA                        REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284118 LUIS FELIPE ROMAN RUIZ         REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702374 LUIS FELIPE TORRES             PO BOX 21365                                                                                                                   SAN JUAN          PR         00928

   284120 LUIS FELIPE VELAZQUEZ APONTE                 REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284121 LUIS FELIPE VIERA                            REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUIS FELIPE Y JUAN L OYOLA
   702375 SALGADO                                      9921 MARTINIQUE DRIVE                                                                                           MIAMI             FL         33189
   284122 LUIS FELIX COLON DAVILA                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702376 LUIS FERNANDEZ AMALBERT                      116 JARDINES DE JUNCOS                                                                                          JUNCOS            PR         00771

   284123 LUIS FERNANDEZ‐ ARDOIS PEREZ REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284124 LUIS FERNANDEZ CRUZ          REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700206 LUIS FERNANDEZ ORENSE        16 ESTANCIAS DE BALSERIO                                                                                                        ARECIBO           PR         00612
   702377 LUIS FERNANDEZ RAMIREZ       PO BOX 360700                                                                                                                   SAN JUAN          PR         00936‐0700
   284125 LUIS FERNANDEZ TIRADO        REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702378 LUIS FERNANDEZ TORRES        URB JARD DEL CARIBE                          4983 PERALTADA STREET                                                              PONCE             PR         00728‐3524
          LUIS FERNANDO CANDELARIA
   702379 RIVERA                       HC 4 BOX 48103                                                                                                                  HATILLO           PR         00659

   284129 LUIS FERNANDO CINTRON ORTIZ                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUIS FERNANDO GARCIA                         AVE TITO CASTRO MARGINAL LA
   700207 AGUIRRE                                      RAMBLA                      301‐C NUM G05                                                                       PONCE             PR         00731
   702380 LUIS FERNANDO QUESADA                        COLINAS DE PLATA            12 AVE PRINCIPAL # 3R                                                               TOA ALTA          PR         00953
          LUIS FERNANDO SANCHEZ
   284131 TROCHE                                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   284132 LUIS FERNANDO ZEDA RIESTRA                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702381 LUIS FERRER CAMPIS                           PARC PUERTO REAL             17 CALLE 13                                                                        CABO ROJO         PR         00623
   702382 LUIS FERRER DIAZ                             P O BOX 365001                                                                                                  SAN JUAN          PR         00936‐5001
   702383 LUIS FERRER VEGA                             HC 02 BOX 23132                                                                                                 AGUADILLA         PR         00603633
   702384 LUIS FIDEL CASTRO VELEZ                      PARQUE VALENCIA              29 CALLE ASTURIAS                                                                  BAYAMON           PR         00959
   702385 LUIS FIGUEROA                                110 CALLE AGUILA                                                                                                MAYAGUEZ          PR         00680
   284133 LUIS FIGUEROA ASTACIO                        REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284134 LUIS FIGUEROA CONTRATISTA                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702387 LUIS FIGUEROA IRIZARRY                       P O BOX 688                                                                                                     GUAYNABO          PR         00970
   284135 LUIS FIGUEROA MALDONADO                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702388 LUIS FIGUEROA MARTINEZ                       URB COLINAS VERDE            A‐21 CALLE 1                                                                       SAN JUAN          PR         00924



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  702389 LUIS FIGUEROA MENDEZ                         HC 2 BOX 6470                                                                                                      RINCON            PR         00677
  284136 Luis Figueroa Perez                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  700208 LUIS FIGUEROA PEREZ                          BO CANTERA                  126 SUITE 5                                                                            MANATI            PR         00674
  702390 LUIS FIGUEROA ROSARIO                        CIUDAD MASSO                G 48 CALLE 15                                                                          SAN LORENZO       PR         00754
  284137 LUIS FIGUEROA SALAMAN                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702391 LUIS FIGUEROA SANCHEZ                        BO POLVORIN                 9 CALLE 1                                                                              CAYEY             PR         00736
  702392 LUIS FIGUEROA SANTIAGO                       667 AVE PONCE DE LEON                                                                                              SAN JUAN          PR         00907
  702393 LUIS FLORAN LEDESMA                          URB MIRAFLORES              17 CALLE 45 BLOQUE 39                                                                  BAYAMON           PR         00957
  284139 LUIS FLORES ALOMAR                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284140 LUIS FLORES ARQUITECTOS                      AREA DEL TESORO             DIVISION DE RECLAMACIONES                                                              SAN JUAN          PR         00902‐4140
  284141 LUIS FLORES CANCEL                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702396 LUIS FLORES FERNANDEZ                        URB VILLA BLANCA            CALLE JADE                                                                             CAGUAS            PR         00725
  284142 LUIS FLORES FLORES                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702397 LUIS FLORES NIEVES                           BO VENEZUELA                50 CALLE ACUEDUCTO                                                                     SAN JUAN          PR         00926
  702398 LUIS FLORES PELLOT                           P O BOX 4050                PUERTO REAL                                                                            FAJARDO           PR         00738
  284143 LUIS FLORES SANABRIA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702400 LUIS FONT ARROYO                             HC 01 2695                                                                                                         BOQUERON          PR         00622
  702401 LUIS FONTANEZ                                254 CALLE CRUZ                                                                                                     SAN JUAN          PR         00902‐3228
  284144 LUIS FONTANEZ MARIN                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702402 LUIS FORESTIER                               URB.ESTEVES #68 B                                                                                                  AGUDILLA          PR         00603
  702403 LUIS FRANCESCHI PACHECO                      HC 02 BOX 10207                                                                                                    YAUCO             PR         00698‐9604

   284145 LUIS FRANCIS AND ASOCIADOS                  PO BOX 3473                                                                                                        CAROLINA          PR         00984‐3473
   702404 LUIS FRANCISCO CRUZ LOPEZ                   URB REXVILLE                CALLE 40 BF 15                                                                         BAYAMON           PR         00957
   702405 LUIS FRANCISCO MARTINEZ                     268‐CALLE‐SAN JORGE‐APT#2                                                                                          SAN JUAN          PR         00913
          LUIS FRANCISCO RODRIGUEZ
   702406 BONILLA                                     ESQ MARGINAL BALDORIOTY     174 CALLE TAFT                                                                         SAN JUAN          PR         00911
          LUIS FRANCISCO RODRIGUEZ
   702407 GOTAY                                       PO BOX 1210                                                                                                        OROCOVIS          PR         00720
   284147 LUIS FRANCISCO SANCHEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702408 LUIS FRANCO                                 JARD DE BORINQUEN           J 7 CALLE LAS FLORES                                                                   CAROLINA          PR         00985
   284150 LUIS FRANESCHI CORDERO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702409 LUIS FRED SANTIAGO                          AVE E; POL 497              SUITE 15                    LA CUMBRE STATION                                          SAN JUAN          PR         00926‐5636
   284151 LUIS FREIRE MELENDEZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702410 LUIS FREYTES                                PO BOX 1329                                                                                                        SAN GERMAN        PR         00683
   284152 LUIS FRIAS TABOAS                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702411 LUIS FUENTES JIMENEZ                        BARRIO LA 23                                                                                                       LOIZA             PR         00772
   284153 LUIS FUENTES OCASIO                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702413 LUIS FUENTES PIZARRO                        COND EL MONTE165            431 A CALLE HOSTOS                                                                     SAN JUAN          PR         00918
   284154 LUIS G ACOSTA CINTRON                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      URB LEVITTOWN TERCERA
   702416 LUIS G AGOSTINI                             SECCION                     3491 PASEO CRIOLLA WEST                                                                TOA BAJA          PR         00949
   284155 LUIS G AGUILAR SANTIAGO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702417 LUIS G ALCARAZ MICHELLI                     PO BOX 99                                                                                                          AGUADILLA         PR         00605
   284156 LUIS G AQUINO GINORIO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702419 LUIS G ARCE SANTIAGO                        HC 4 BOX 46634                                                                                                     MAYAGUEZ          PR         00680
   284157 LUIS G ARROYO SANTIAGO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702420 LUIS G ARROYO VELEZ                         BO LLANADAS BZN 4‐124                                                                                              ISABELA           PR         00662
   702422 LUIS G AYENDE GABRIEL                       BO. SANTANA 460                                                                                                    ARECIBO           PR         00612
   284158 LUIS G BARAHONA CINTRON                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284159 LUIS G BORREGO CONDE                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284160 LUIS G BRAVO PAGAN                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702425 LUIS G CALIZ                                PO BOX 507                                                                                                         PE¨UELAS          PR         00624



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  284161 LUIS G CAMACHO COTTE                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   284162 LUIS G CANDELARIO VAZQUEZ                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284163 LUIS G CARMONA CINTRON                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUIS G CARRION / CARMEN N
   284164 CARRION                                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   702426 LUIS G CENTENO RIVERA                       177 CALLE ANTONIO FIGUEROA                                                                                       ARECIBO             PR         00612
   284166 LUIS G CEREZO                               REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702427 LUIS G CLASSEN DIAZ                         HC 02 BOX 13773                                                                                                  ARECIBO             PR         00612
   702428 LUIS G COLLAZO MALAVE                       PO BOX 924                                                                                                       COAMO               PR         00769
   284167 LUIS G COLON MARTINEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702429 LUIS G COLON MIRANDA                        HC 03 BOX 17706                                                                                                  COAMO               PR         00769
   702430 LUIS G COLON RODRIGUEZ                      HC 1 BOX 4649                                                                                                    VILLALBA            PR         00766
   702431 LUIS G COTTO                                HC 01 BOX 3329                                                                                                   COMERIO             PR         00782
   702432 LUIS G CRESPO DALMAU                        URB BAIROA PARK              2 L 6 CASLLE SOTOMAYOR                                                              CAGUAS              PR         00725
   284168 LUIS G CRESPO RUIZ                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284170 LUIS G DAVID SOTO                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702435 LUIS G DEL PILAR MUNOZ                      PO BOX 192817                                                                                                    SAN JUAN            PR         00919‐2817
   284171 LUIS G DEL PILAR RODRIGUEZ                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284172 LUIS G DIAZ ANDINO                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284173 LUIS G ESTADES                              REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702437 LUIS G FELICIANO LORENZO                    BUENA VISTA 115              CALLE GARCIA QUEVEDO                                                                MAYAGUEZ            PR         00680
   702438 LUIS G FERNANDEZ PEREZ                      BOX 1039                                                                                                         CABO ROJO           PR         00623
   284174 LUIS G FIGUEROA DE LEON                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284176 LUIS G FLORES COLON                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUIS G FLORES RETIREMENT
   284177 PLAN                                        PO BOX 6747                                                                                                      CAGUAS              PR         00726
   284178 LUIS G FLORES RIVERA                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284180 LUIS G FUENTES                              REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702443 LUIS G GARCIA ORTIZ                         URB SIERRA BAYAMON           93‐67S CALLE 79                                                                     BAYAMON             PR         00961
   284181 LUIS G GAUDINOT BONILLA                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702444 LUIS G GESUALDO PEREZ                       H 6 HACIENDAS DEL MONTE                                                                                          COTTO LAUREL        PR         00780

   284182 LUIS G GODREAU BARTOLOMEI                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   284183 LUIS G GONZALEZ CONCEPCION                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702445 LUIS G GONZALEZ FIGUEROA                    URB REXMANOR                 E 11 CALLE 6                                                                        GUAYAMA             PR         00784
   702446 LUIS G GONZALEZ LOPEZ                       HC 1 BOX 16822                                                                                                   HUMACAO             PR         00792
   284184 LUIS G GONZALEZ NAVARRO                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284185 LUIS G GREEN RIVERA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   702447 LUIS G GUARDIOLA CONCEPCION PO BOX 1185                                                                                                                      VEGA ALTA           PR         00692
   702448 LUIS G HERNANDEZ ALVAREZ    BOX 1079                                                                                                                         HATILLO             PR         00659
   284186 LUIS G HERNANDEZ NAVARRO    REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284187 LUIS G HERNANDEZ SENERIZ    REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702449 LUIS G HIDALGO RAMIREZ      314 AVE DE DIEGO PDA 22                                                                                                          SAN JUAN            PR         00909‐1710
   284188 LUIS G IRIZARRY QUINONES    REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702451 LUIS G IRIZARRY SORRENTINI  113 CALLE SAN CARLOS                                                                                                             QUEBRADILLAS        PR         00678
          LUIS G JIMENEZ REY/ DBA DR  URB ALTURAS DEL RIO
   702452 LOCK                        BAYAMON                                      A 8 CALLE 6                                                                         BAYAMON             PR         00959
   284189 LUIS G JOVET                REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284191 LUIS G LEBRON               REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  702453 LUIS G LEON                                  URB MORELL CAMPOS               2 CALLE FIGARO                                                                         PONCE               PR         00730‐9764
  284192 LUIS G LOPEZ SANTIAGO                        REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  702454 LUIS G LUNA TORRES                           PO BOX 331725                                                                                                          PONCE               PR         00733
                                                                                      SUITE 611 CALLE HOARE APTO 5
   702455 LUIS G MACHADO FIGUEROA                     COND MIRAMAR                    C                                                                                      SAN JUAN            PR         00907
   702456 LUIS G MADERA LUGO                          URB VILLA DEL CARMEN            M 14 CALLE 7                                                                           YAUCO               PR         00698
   284193 LUIS G MALDONADO DEGRO                      REDACTED                        REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   702457 LUIS G MALDONADO PLAZA                      BRIZAS DEL CARIBE 206 CALLE 6                                                                                          PONCE               PR         00731
   284194 LUIS G MANZI                                REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702458 LUIS G MARIN COLON                          HC 1 BOX 5012                                                                                                          CIALES              PR         00638
   702459 LUIS G MARTINEZ LLORENS                     PO BOX 9023355                                                                                                         SAN JUAN            PR         00902‐3355
   284195 LUIS G MARTINEZ RODRIGUEZ                   REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702460 LUIS G MARTINEZ VALENTIN                    PO BOX 859                                                                                                             SALINAS             PR         00751
   700211 LUIS G MATEO MELENDEZ                       66 CALLE BUENOS AIRES                                                                                                  COAMO               PR         00769
   284196 LUIS G MATEO RODRIGUEZ                      REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702461 LUIS G MEDINA DIAZ                          HC 44 BOX 13755                                                                                                        CAYEY               PR         00736
   284197 LUIS G MELENDEZ GARCIA                      REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284198 LUIS G MELENDEZ SEGUINOT                    REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284200 LUIS G MIRANDA HERNANDEZ                    REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284201 LUIS G MOLINA MADERA                        REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284202 LUIS G MONTANEZ MORALES                     REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284203 LUIS G MONTANEZ VEGA                        REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284204 LUIS G MORALES RIVERA                       REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702463 LUIS G NAVEDO SAMPER                        TERRAZAS DEL TOA                E 2 CALLE 32                                                                           TOA ALTA            PR         00953
   284205 LUIS G NAZARIO BARRETO                      REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284206 LUIS G NEGRON PEREZ                         REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284207 LUIS G ORTIZ ENCARNACION                    REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284208 LUIS G ORTIZ MORALES                        REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702464 LUIS G ORTIZ ROLON                          PO BOX 1562                                                                                                            COAMO               PR         00769

   702465 LUIS G ORTIZ SANTIAGO                       BO CERNIL SECTOR LAS TROZAS                                                                                            VILLALBA            PR         00766
   702466 LUIS G OTERO SOTOMAYOR                      C/O CONCILIACION 00‐0055                                                                                               SAN JUAN            PR         00902‐4140
   284209 LUIS G PEREZ BADILLO                        REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284210 LUIS G PEREZ BURGOS                         REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702467 LUIS G PEREZ DIAZ                           P O BOX 50797                                                                                                          TOA BAJA            PR         00950
   284211 LUIS G PEREZ PEREZ                          REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702468 LUIS G PILLOT MILLER                        BOX 1333                                                                                                               GUAYAMA             PR         00784
   702469 LUIS G POMAR VAZQUEZ                        URB VENUS GARDENS               1687 CALLE CUERNAVACA                                                                  SAN JUAN            PR         00936
   702470 LUIS G QUILES CRUZ                          PO BOX 2999                                                                                                            SAN GERMAN          PR         00683
   702472 LUIS G RAMIREZ LUGO                         PARC CASTILLO                   45‐A CALLE HIPOLITO                                                                    MAYAGUEZ            PR         00680
   284213 LUIS G RENTA RUIZ                           REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702473 LUIS G REYES FRANCO                         PO BOX 90                                                                                                              JUANA DIAZ          PR         00795
   702474 LUIS G REYES MORALES                        HC 01 BOX 18152                                                                                                        COAMO               PR         00769 9771
   284214 LUIS G REYES PEREZ                          REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284215 LUIS G RIOS RODRIGUEZ                       REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702475 LUIS G RIVERA BARRETO                       BO CORCOVADA                    HC 03 BOX 18665                                                                        HATILLO             PR         00659
   284216 LUIS G RIVERA BURGOS                        REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702476 LUIS G RIVERA DIAZ                          P O BOX 716                                                                                                            JUNCOS              PR         00777
   702477 LUIS G RIVERA GUILBE                        PO BOX 7547                                                                                                            PONCE               PR         00732
                                                                                      HOME MORGAGE PLAZA SUITE
   702414 LUIS G RIVERA MARIN                         268 PONCE DE LEON AVE           420                                                                                    HATO REY            PR         00918
   284218 LUIS G ROBLES FIGUEROA                      REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  284219 LUIS G ROBLES GUZMAN                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702479 LUIS G ROBLES OQUENDO                        HC 7 PO BOX 2442                                                                                        PONCE             PR         00731
  284220 LUIS G ROBLES PEREZ                          REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702480 LUIS G RODRIGUEZ                             HC 1 BOX 5179                                                                                           JUANA DIAZ        PR         00795‐9714

   284221 LUIS G RODRIGUEZ CONCEPCION REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284222 LUIS G RODRIGUEZ CORREA     REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284224 LUIS G RODRIGUEZ RIVERA     REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   284225 LUIS G ROMAN /BEVERY ROMAN REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284226 LUIS G ROMAN MALDONADO     REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUIS G ROMAN/ BEVERLY
   284227 ROMAN                      REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702483 LUIS G ROMERO FONT         ESTANCIAS DE TORRIMAR                  38 CALLE CAOBA                                                                    GUAYNABO          PR         00966
   284229 LUIS G ROSADO FELICIANO    REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702484 LUIS G ROSARIO ANDINO      BO PAJARO AMERICANO                    RR 5 BOX 4139                                                                     BAYAMON           PR         00961
   284230 LUIS G SALDANA LOPEZ       REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702415 LUIS G SALICHS CASANOVA    C 56 PORTAL DE LOS PINOS                                                                                                 SAN JUAN          PR         00926
   284231 LUIS G SANCHEZ RIOS        REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284232 LUIS G SANTANA RAMOS       REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702485 LUIS G SANTIAGO ALVARADO   URB SAN TOMAS                          C 10 CALLE B                                                                      PONCE             PR         00734
   284235 LUIS G SANTIAGO MATOS      REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284236 LUIS G SOCARRAS MARQUES    REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284237 LUIS G SOLDEVILLA OLIVARES REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284238 LUIS G SOSTOMAYOR COLON    REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702487 LUIS G SOTO BERMUDEZ       URB LA PLANICIE                        E 35 CALLE 4                                                                      CAYEY             PR         00736‐4313
   284239 LUIS G SOTO RODRIGUEZ      REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702488 LUIS G SUAREZ ASSOCIATES   URB EL PARAISO                         1612 TIBER                                                                        SAN JUAN          PR         00926
   284240 LUIS G TORRES              REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702489 LUIS G TORRES CINTRON      HC 01 BOX 5300                                                                                                           JUANA DIAZ        PR         00795
   284241 LUIS G TORRES MELENDEZ     REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284242 LUIS G TORRES PADILLA      REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702490 LUIS G TORRES PEREZ        RR 1 BOX 6443                                                                                                            MARICAO           PR         00606
   284243 LUIS G TORRES SUAREZ       REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700210 LUIS G TOSADO ESTRADA      299 RD 2                                                                                                                 HATILLO           PR         00659
   284244 LUIS G VARGAS RODRIGUEZ    REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284245 LUIS G VEGA ROMAN          REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284246 LUIS G VILLANUEVA ROMERO   REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                     URB.COUNTRY CLUB OM‐10
   702494 LUIS G, PONTON CASANOVAS   CALLE‐510                                                                                                                CAROLINA          PR         00981
   284247 LUIS G. ARROYO RODRIGUEZ   REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284248 LUIS G. CALO ALVAREZ       REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284249 LUIS G. CRUZ SANTIAGO      REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284250 LUIS G. DE JESUS RIVERA    REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   284251 LUIS G. DEL PILAR RODRIGUEZ                 REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284252 LUIS G. ESTRADA OLIVER                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   284253 LUIS G. FERNANDEZ HERNANDEZ REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284255 LUIS G. GAUD                REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284256 LUIS G. LEON ALVARADO       REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284257 LUIS G. MADURO PADILLA      REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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MML ID                    NAME                                 ADDRESS 1                     ADDRESS 2                   ADDRESS 3                           ADDRESS 4              CITY       STATE    POSTAL CODE        COUNTRY
                                                                                  623 AVE PONCE DE LEON STE
   702498 LUIS G. PADILLA BRUNO                       BCO COOPERATIVO PLAZA       506B                                                                                   SAN JUAN            PR         00917
   284258 LUIS G. QUINONES IRIZARRY                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284259 LUIS G. RIVERA LEON                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284260 LUIS G. SEPULVEDA IRIZARRY                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284261 LUIS G. VALLE TROCHE                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284263 LUIS GABRIEL LUNA LABOY                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284264 LUIS GABRIEL VEGA                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702503 LUIS GALAN VIERA                            ALT COUNTRY CLUB            EDIF 1 APT Y                                                                           CAROLINA            PR         00982
   284265 LUIS GALINDEZ PASTRANA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702504 LUIS GARCIA ALVARADO                        HC 1 BOX 4207                                                                                                      VILLALBA            PR         00766
   702505 LUIS GARCIA CARABALLO                       414 CALLE GAUTIER BENITEZ                                                                                          SAN JUAN            PR         00915
   702506 LUIS GARCIA CARRASQUILLO                    PO BOX 9022426                                                                                                     SAN JUAN            PR         00902 2426
          LUIS GARCIA DE LA NOCEDA
   702508 CASTRO                                      AVE ROBERTO CLEMENTE        69 CALLE 69 BLQ 129                                                                    CAROLINA            PR         00985
   284267 LUIS GARCIA GARCIA                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284268 LUIS GARCIA GOMEZ                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702509 LUIS GARCIA LUGO                            URB. BARINAS                G 13 CALLE 3                                                                           YAUCO               PR         00698‐2733
   702510 LUIS GARCIA MORALES                         MINILLAS STATION            P O BOX 41269                                                                          SAN JUAN            PR         00940‐1269
   702511 LUIS GARCIA PAGAN                           PO BOX 1395                                                                                                        LARES               PR         00669‐1395
   284269 LUIS GARCIA PELATTI                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284270 LUIS GARCIA QUINONEZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284271 LUIS GARCIA RIVERA                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702513 LUIS GARCIA TOLEDO                          URB MONTE BRISAS            3D 27 CALLE 110                                                                        FAJARDO             PR         00738
   702514 LUIS GARCIA VARGAS                          HC 71 BOX 6447                                                                                                     CAYEY               PR         00736
   284272 LUIS GARCIA VAZQUEZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284273 LUIS GARCIA VIERA                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702515 LUIS GARCIA WALKER                          P O BOX 297                                                                                                        JUANA DIAZ          PR         00795 0297
   702516 LUIS GARIB                                  ALTURAS DE BERWIND          13 CALLE 1‐A                                                                           SAN JUAN            PR         00924
   702517 LUIS GARICA RIVERA                          A 104 SANTA MARIA                                                                                                  SABANA GRANDE       PR         00637
   284274 LUIS GARMOS VERDEJO                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284276 LUIS GARRATON INC.                          PO BOX 2984                                                                                                        SAN JUAN            PR         00936‐0000
   284278 LUIS GASPAR MADURO                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284279 LUIS GAVELA ARCENTALES                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          LUIS GERARDO CABALLERO
   284280 BARRETO                                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284281 LUIS GERARDO ROBLES PEREZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702521 LUIS GERENA QUILES                          P O BOX 800997                                                                                                     COTTO LAUREL        PR         00780
          LUIS GILBERTO GODREAU
   702523 BARTOLOMEI                                  PO BOX 801054                                                                                                      COTO LAUREL         PR         00780‐1054
   284283 LUIS GOMEZ RODRIGUEZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702526 LUIS GOMEZ SILVA                            URB LEVITTOWN LAKES         HH 22 CALLE LIZZIE GRAHAM                                                              TOA BAJA            PR         00949‐3636
   702528 LUIS GONZALEZ                               COND SAN MARTIN SUITE 311   AVE PONCE DE LEON                                                                      SAN JUAN            PR         00909‐1807
   700212 LUIS GONZALEZ ALVARADO                      HC 1 BOX 31383                                                                                                     JUANA DIAZ          PR         00795
   702532 LUIS GONZALEZ ARTIME                        URB VALPARAISO              K 15 CALLE 1                                                                           TOA BAJA            PR         00949
   702534 LUIS GONZALEZ COGNET                        URB PARANA S 7 12 CALLE 6                                                                                          SAN JUAN            PR         00926
   702535 LUIS GONZALEZ COLON                         58 AVE BARBOSA                                                                                                     ARECIBO             PR         00612
   702538 LUIS GONZALEZ DONATE                        HC 01 BOX 14275                                                                                                    HATILLO             PR         00659
   702539 LUIS GONZALEZ FELICIANO                     PO BOX 459                                                                                                         PALMER              PR         00721‐0459
   702540 LUIS GONZALEZ FERNANDEZ                     URB HILSIDE                 C14 CALLE 2                                                                            SAN JUAN            PR         00926
   702541 LUIS GONZALEZ FLORES                        PO BOX 1994                                                                                                        CAYEY               PR         00737
   702542 LUIS GONZALEZ GARAU                         P O BOX 1831                                                                                                       GUAYAMA             PR         00785‐1831
   284287 LUIS GONZALEZ GOMEZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  284288 LUIS GONZALEZ GONZALEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  702545 LUIS GONZALEZ LEON                           BO POLVORIN                 9 CALLE 26                                                                             CIDRA              PR         00739
  702546 LUIS GONZALEZ LOPEZ                          VILLAS DE HATILLO           APT 112                                                                                HATILLO            PR         00659
  702547 LUIS GONZALEZ MALDONADO                      PO BOX 142013                                                                                                      ARECIBO            PR         00614
  284289 LUIS GONZALEZ MEDINA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  284291 LUIS GONZALEZ MENDEZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  702548 LUIS GONZALEZ OLIVO                          PO BOX 240                                                                                                         SANTA ISABEL       PR         00757

   284292 LUIS GONZALEZ OPPENHEIMER                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   284293 LUIS GONZALEZ ORAMA                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   284294 LUIS GONZALEZ ORTIZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   702550 LUIS GONZALEZ PEREZ                         PO BOX 1146                                                                                                        MOCA               PR         00676
   284295 LUIS GONZALEZ QUINONES                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   284296 LUIS GONZALEZ RAMOS                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   702551 LUIS GONZALEZ REYES                         PMB PO BOX 1981                                                                                                    LOIZA              PR         00772
                                                      BALCONES DE SANTA MARIA P.O.
   702552 LUIS GONZALEZ RIVERA                        BOX 66                                                                                                             SAN JUAN           PR         00921
          LUIS GONZALEZ ROSA WEST
   702553 INDIES AND GREY                             PO BOX 366518                                                                                                      SAN JUAN           PR         00936‐6518
   284297 LUIS GONZALEZ SANCHEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   284298 LUIS GONZALEZ SOTO                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   284299 LUIS GONZALEZ TALAVERA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   702555 LUIS GONZALEZ TALLER                        PO BOX 2195                                                                                                        MOCA               PR         00676
   702559 LUIS GONZALEZ VIRELLA                       PO BOX 63                                                                                                          COROZAL            PR         00783
   284300 LUIS GORIS GARCIA                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   702560 LUIS GOYTIA GUZMAN                          URB VILLAS DE CASTRO        A 11 CALLE 2                                                                           CAGUAS             PR         00725
   284301 LUIS GUARIONEX MARTINEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   284302 LUIS GUERRERO                               REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   700213 LUIS GUEVARA ARIZMENDI                      COND CENTRUM PLAZA          APT 5 C CALLE URUGUAY 273                                                              SAN JUAN           PR         00917
   702563 LUIS GUILLERMO BERMUDEZ                     HC 02 BOX 5585                                                                                                     COAMO              PR         00769
          LUIS GUILLERMO COLON
   284303 ROSADO                                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   284304 LUIS GUILLERMO MALDONADO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          LUIS GUILLERMO NEGRON
   284305 TORRES                                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   284306 LUIS GUILLERMO ORTIZ PEREZ                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          LUIS GUILLERMO RODRÍGUEZ
   284307 RODRÍGUEZ                                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          LUIS GUILLERMO ROMAN
   702566 TORRES                                      PO BOX 362996                                                                                                      SAN JUAN           PR         00936‐2996
   702567 LUIS GUINOT RIVERA                          1800 K ST NW STE 716                                                                                               WASHINGTON         DC         20006
   702569 LUIS GUITIERREZ ARCHITECTS                  PO BOX 10305                                                                                                       SAN JUAN           PR         00922

   702570 LUIS GUSTAVO MOLINET BOADA                  QUINTAS DE SAN LUIS         A 2 CALLE DALI                                                                         CAGUAS             PR         00725
   702571 LUIS GUTIERREZ                              61 CALLE GONZALO MARIN                                                                                             ARECIBO            PR         00612
          LUIS GUTIERREZ ARQUITECTO
   702572 CSP                                         CONDADO                     1225 CALLE WILSON                                                                      SAN JUAN           PR         00907
   702573 LUIS GUZMAN COLLAZO                         HC 01 BOX 4568                                                                                                     VILLALBA           PR         00766
   702575 LUIS GUZMAN MARRERO                         PO BOX 7126                                                                                                        PONCE              PR         00732
   702577 LUIS GUZMAN SILVERIO                        187 CALLE ONEILL                                                                                                   SAN JUAN           PR         00918
   284308 LUIS GUZMAN VEGA                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  702579 LUIS H ABRAHANTE                             P O BOX 648                                                                                                          AGUAS BUENAS      PR         00703648
  702580 LUIS H ALCANTARA GOMEZ                       BARRIO PAMPANOS                                     203                                                              PONCE             PR         00738
  284309 LUIS H ALCANTARO GOMEZ                       REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702581 LUIS H APONTE MELENDEZ                       PARC LAS CALDERONAS      BUZN CL 7236                                                                                CEIBA             PR         00735
  702582 LUIS H ARROYO FIGUEROA                       PO BOX 394                                                                                                           YAUCO             PR         00698
  284310 LUIS H ARROYO SANCHEZ                        REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702583 LUIS H BAEZ BAEZ                             P O BOX 1270                                                                                                         YABUCOA           PR         00767‐1270

   284311 LUIS H BEAUCHAMP HERNANDEZ REDACTED                                  REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284312 LUIS H BERRIOS RAMIREZ     REDACTED                                  REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284313 LUIS H BERRIOS RIVERA      REDACTED                                  REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284314 LUIS H BEVILACQUA BOLLADA  REDACTED                                  REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUIS H BLASINI DBA MUNDO
   284315 LAPIZ                      HC‐3 BOX 8152                                                                                                                         BARRANQUITAS      PR         00794‐0000
   284317 LUIS H CALDERON IZQUIERDO  REDACTED                                  REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702585 LUIS H CARMONA PARRILLA    PO BOX 7126                                                                                                                           PONCE             PR         00732

   284318 LUIS H CASILLAS Y NYDIA DENIS               REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284319 LUIS H COLON APONTE                         REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284320 LUIS H COLON LEON                           REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702586 LUIS H DELIZ                                HC 02 BOX 9865                                                                                                       QUEBRADILLAS      PR         00678
   284321 LUIS H FELICIANO DE JESUS                   REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702587 LUIS H FIGUEROA GONZALEZ                    BAYAMON COUNTRY CLUB     EDIF 4 APT C                                                                                BAYAMON           PR         00957
   284322 LUIS H FORTEZA CARRELO                      REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284323 LUIS H GONZALEZ VELEZ                       REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702588 LUIS H GUZMAN RIVERA                        HC 44 BOX 13306                                                                                                      CAYEY             PR         00736
   702589 LUIS H LEBRON ORTIZ                         URB MIRAFLORES           BLOQUE 24‐‐14 CALLE 13                                                                      BAYAMON           PR         00957
   702590 LUIS H LEON SANTIAGO                        COND SKY TOWER III       3 CALLE HORTENSIA APT 1E                                                                    SAN JUAN          PR         00926
   284324 LUIS H LUGO FONFRIAS                        REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284326 LUIS H MARRERO MONTES                       REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUIS H MARTINEZ PEREZ /
   284327 BRENDALI PEREZ                              REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702593 LUIS H MEDINA LOPEZ                         URB SERAL D26                                                                                                        LARES             PR         00669
   284328 LUIS H NEGRON DELGADO                       REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284329 LUIS H NIEVES KUILAN                        REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284330 LUIS H NIEVES PEREZ                         REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284331 LUIS H ORTIZ GONZALEZ                       REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702596 LUIS H ORTIZ OQUENDO                        HC 01 BOX 7164                                                                                                       AGUAS BUENAS      PR         00703

   702597 LUIS H PAGAN MARRERO                        DORADO DEL MAR           M 33 CALLE ESTRELLA DEL MAR                                                                 DORADO            PR         00646
   702598 LUIS H PUJOLS PENA                          URB VILLA RITA           F 28 CALLE 3                                                                                SAN SEBASTIAN     PR         00685
   702599 LUIS H PUJOLS SOTO                          PO BOX 2605                                                                                                          SAN SEBASTIAN     PR         00685
   702600 LUIS H REYES ROSA                           HC 3 BOX 10118                                                                                                       COMERIO           PR         00782
   284333 LUIS H RIVERA CARPIO                        REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702601 LUIS H RIVERA MARTY                         C 7 URB MONTE REY                                                                                                    CIALES            PR         00638
   284335 LUIS H RIVERA MILLAN                        REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702602 LUIS H RIVERA TORRES                        URB RIO CANA             2936 AMAZONA                                                                                PONCE             PR         00728
   702603 LUIS H RIVERA URBINA                        URB REXVILLE             BA 6 CALLE 40                                                                               BAYAMON           PR         00957
   702604 LUIS H ROBLES ROSARIO                       23 PLAYITA MAGUEYES                                                                                                  PONCE             PR         00731

   702605 LUIS H RODRIGUEZ BONILLA                    URB QUINTAS LAS MUESAS   N 9 CALLE RAFAEL COCA NAVAS      BZN 23                                                     CAYEY             PR         00736
   284336 LUIS H RODRIGUEZ BOTET                      REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702607 LUIS H RODRIGUEZ GARCIA                     LA ALHAMBRA              1 GRANADA                                                                                   PONCE             PR         00731



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  702608 LUIS H SANTIAGO                               RR 1 BOX 13947                                                                                                 TOA ALTA          PR         00952
  702609 LUIS H TROCHE RAMIREZ                         VILLA CAROLINA               202‐9 CALLE 533                                                                   CAROLINA          PR         00985
  702610 LUIS H VAZQUEZ MELENDEZ                       FERNANDEZ                    CALLE KANNEDY                                                                     CIDRA             PR         00739
  702611 LUIS H VEGA RODRIGUEZ                         SECT MONTE CRISTO            CARR 344 K 0 7                                                                    HORMIGUEROS       PR         00660
  702612 LUIS H VELAZQUEZ ROJAS                        HC 73 BOX 6008                                                                                                 NARANJITO         PR         00719
  284337 LUIS H VILLAFANE                              REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284339 LUIS H VILLAFANE CRUZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         LUIS H. BLASINI ORTIZ / DBA
  284340 MUNDO LAPIZ                                   HC‐3 BOX 8152                BARRANQUITAS                                                                      BARRANQUITAS      PR         00794
  702613 LUIS H. ORTIZ GONZALEZ                        PO BOX 3877                                                                                                    AGUADILLA         PR         00605
                                                       BOX 1013 MIRADOR
   702615 LUIS HADDOCK NAVARRO                         UNIVERSITARIO                                                                                                  CAYEY             PR         00736
   702616 LUIS HANDIMAN                                HC 03 BOX 4594                                                                                                 GURABO            PR         00778
   284341 LUIS HEREDIA BURGOS                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUIS HERMINIO ECHEVARRIA
   702617 MENDOZA                                      URB REPT METROP              1023 CALLE 30 SE                                                                  SAN JUAN          PR         00936
   284342 LUIS HERNADEZ TORRES                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702618 LUIS HERNANDEZ                               EMBALSE SAN JOSE             212 CALLE CANILLA                                                                 SAN JUAN          PR         00924
   284343 LUIS HERNANDEZ AGUDO                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284344 LUIS HERNANDEZ ALICEA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700214 LUIS HERNANDEZ ALVERIO                       HACIENDA TENA APT 693                                                                                          JUNCOS            PR         00777
   284345 Luis Hernandez Baez                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702620 LUIS HERNANDEZ CARDONA                       PO BOX 361203                                                                                                  SAN JUAN          PR         00936‐1203
   702621 LUIS HERNANDEZ CASTRO                        PARQUE ECUESTRE              A 19 CALLE 36                                                                     CAROLINA          PR         00987
   284346 LUIS HERNANDEZ CRUZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702624 LUIS HERNANDEZ DELGADO                       HC 40 BOX 42302                                                                                                SAN LORENZO       PR         00754
   284347 LUIS HERNANDEZ GARCIA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284348 LUIS HERNANDEZ GERENA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   284349 LUIS HERNANDEZ HERNANDEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702625 LUIS HERNANDEZ LUCIANO                       REPARTO ANAIDA GARDENS       200 CALLE 1 APTO 309                                                              PONCE             PR         00731
   702626 LUIS HERNANDEZ MARCANO                       HC 01 12169                                                                                                    CAROLINA          PR         00985
   284350 LUIS HERNANDEZ MARTINEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702630 LUIS HERNANDEZ PEREZ                         131 WAKEMAN AVENUE NO 3                                                                                        NEWARK            NJ         07104‐3030
   702619 LUIS HERNANDEZ RODRIGUEZ                     URB MONACO III               508 CALLE REINER                                                                  MANATI            PR         00674
   702632 LUIS HERNANDEZ ROLAN                         HC 02 BOX 16226                                                                                                ARECIBO           PR         00612
   284352 LUIS HERNANDEZ SANTIAGO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284353 LUIS HERNANDEZ SERVICES                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284354 LUIS HERNANDEZ TORRES                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702634 LUIS HERNANDEZ VEGA                          RES SAN ENRIQUE II APT 224                                                                                     CAMUY             PR         00627
          LUIS HERNANDEZ WITTE‐
   284355 HAFFMANN                                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284358 LUIS HERNANDEZ, HERNAN L                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702635 LUIS HERRERO ACEVEDO                         REINA DE LAS FLORES          S 10 SANTA CLARA                                                                  GUAYNABO          PR         00969
          LUIS HIRAM BETANCOURT
   702637 ALEMAN                                       CALLE LUIS MUNOZ RIVERA 19                                                                                     TRUJILLO ALTO     PR         00978
   284359 LUIS HODGES SANABRIA                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   702638 LUIS HUERTA FIGUEROA                         BO ESPINOZA SECT ABALLARDE   PARCELA 25                                                                        DORADO            PR         00646
   284360 Luis Huertas                                 REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702639 LUIS HUERTAS BURGOS                          URB HORIZONTE                A 20 CALLE ILUSION                                                                GURABO            PR         00778
   284361 LUIS HUERTAS GONZALEZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284364 LUIS HUERTAS RODRIGUEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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          LUIS HUMPHREYS / DELA A
   702641 HUMPHREYS                                   29 PEACH TERR                                                                                                          NEWBURGH            NY           12550
   284365 LUIS I ARROYO DE JESUS                      REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284366 LUIS I CASTRO RIVERA                        REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284367 LUIS I CHIROQUE BENITEZ                     REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702642 LUIS I CINTRON VELAZQUEZ                    BOX 139                                                                                                                SANTA ISABEL        PR           00757
   702643 LUIS I COLON SANTOS                         HC 08 BOX 163                                                                                                          PONCE               PR           00731
   284368 LUIS I CRUZ BETANCOURT                      REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   702645 LUIS I FONTANEZ BERBERENA     URB CAROLINA ALTA                        E 7 CALLE ANASTACIO VILLEGAS                                                                CAROLINA            PR           00987
   284369 LUIS I GONZALEZ LEBRON        REDACTED                                 REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284370 LUIS I LLOPIZ CURBELO         REDACTED                                 REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284371 LUIS I LOPEZ OQUENDO          REDACTED                                 REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284372 LUIS I LORENZO ACEVEDO        REDACTED                                 REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUIS I MELECIO ASOC VOLEYBALL
   702646 DORAVOLLY                     40 URB BRISAS DEL PLATA                                                                                                              DORADO              PR           00646
          LUIS I MELECIO/ASOC DE
   702647 VOLLEYBALLL                   DORA VOLLY INC                           40 URB BRISAS DEL PLATA                                                                     DORADO              PR           00646
   702648 LUIS I MELENDEZ MELENDEZ      P O BOX 660                                                                                                                          BARRANQUITAS        PR           00794
   702649 LUIS I MENDEZ GONZALEZ        URB CASTELLANA GARDENS                   14 CALLE 4D                                                                                 CAROLINA            PR           00985
   702650 LUIS I MOLINA CAENDELARIA     122 CALLE COSME ARANA                                                                                                                HATILLO             PR           00659
   284373 LUIS I MORELL ALBELLA         REDACTED                                 REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284374 LUIS I ORTIZ COLON            REDACTED                                 REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284375 LUIS I ORTIZ MEDINA           REDACTED                                 REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284376 LUIS I OYOLA RIVERA           REDACTED                                 REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284378 LUIS I PASTRANA MATOS         REDACTED                                 REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284379 LUIS I QUINONES ROSADO        REDACTED                                 REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702653 LUIS I RAMIREZ ESPARRA        HC 1 BOX 7458                                                                                                                        SALINAS             PR           00751
   702654 LUIS I RAMOS                  HC‐01 BOX 2229                           ALTURA DE YANES 3RA EXT                                                                     FLORIDA             PR           00650
   284380 LUIS I RAMOS CANDELARIA       REDACTED                                 REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702655 LUIS I RIOS RIVERA            PO BOX 192748                                                                                                                        SAN JUAN            PR           00919‐2748
   284381 LUIS I RIVERA GONZALEZ        REDACTED                                 REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702656 LUIS I RIVERA SANCHEZ         PO BOX 1002                                                                                                                          BARRANQUITAS        PR           00784
   702658 LUIS I RODRIGUEZ REYES        HC 1 BOX 14612                                                                                                                       COAMO               PR           00769

   284382 LUIS I RODRIGUEZ RODRIGUEZ                  REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702659 LUIS I ROLON SANCHEZ                        URB FERRER                 5 CALLE 1                                                                                   CIDRA               PR           00739
   702660 LUIS I ROSARIO TELLADO                      BARRIO CARACOLES RUTA 2    BUZON NUM 1027                                                                              PENUELAS            PR           00732‐7143
   284383 LUIS I SOTO DELGADO                         REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284384 LUIS I TORRES ROBLES                        REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284385 LUIS I TUA MALDONADO                        REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702661 LUIS I VELEZ SOTO                           URB PLAZA DE LAS FUENTES                             1136                                                              TOA ALTA            PR           00953

   702662 LUIS I VIGO GARCIA                          URB COLINA METROPOLITANA   H 20 CALLE COLLORES                                                                         GUAYNABO            PR           00969
   284386 LUIS I. CASILLAS MARCANO                    REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702663 LUIS I. ENCARNACION FELIX                   PO BOX 1021                                                                                                            FAJARDO             PR           00738
   284387 LUIS IAN MENDEZ DROZ                        REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284388 LUIS IRIZARRY FLORES                        REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702664 LUIS IRIZARRY HERNANDEZ                     URB TIBES                  G 1 CALLE 4                                                                                 PONCE               PR           00730‐7181
   284389 LUIS IRIZARRY JUSINO                        REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284392 LUIS IRIZARRY PEREZ                         REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284393 LUIS IRIZARRY TEXIDOR                       REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   702667 LUIS ITURRALDE ALBERT                       MANSIONES REXLES             C‐12 CALLE ISABEL LA CATOLICA                                                              GUAYNABO            PR           00970
   702668 LUIS ITURRINO ROBLES                        VILLA FONTANA                VIA 7 2QL 206                                                                              CAROLINA            PR           00983

   284394 LUIS IVAN RIVERA RODRIGUEZ                  REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   284395 LUIS IVAN ROSARIO GONZALEZ                  REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702669 LUIS IZQUIERDO MARTINEZ                     PO BOX 240                                                                                                              SANTA ISABEL        PR           00757
   284396 LUIS J ACEVEDO ACEVEDO                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   702671 LUIS J ACEVEDO BENGOECHEA                   359 DE DIEGO STE 601                                                                                                    SAN JUAN            PR           00909‐1711
   284397 LUIS J ACEVEDO MARTY                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702672 LUIS J ALDREY CUADRADO                      URB JESUS M LAGO             D 16                                                                                       UTUADO              PR           00641
   284398 LUIS J ALDREY CUADRO                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702673 LUIS J ALGARIN ORTIZ                        P O BOX 1156                                                                                                            JUNCOS              PR           00777‐1156
   284399 LUIS J ALICEA LAPORTE                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUIS J ALMODOVAR
   284400 FABREGAS/RENEABLE                           REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284401 LUIS J ALTORI VARGAS                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284402 LUIS J APONTE RODRIGUEZ                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702674 LUIS J APONTE SANTIAGO                      PO BOX 954                                                                                                              BARRANQUITAS        PR           00794
   284403 LUIS J ARCE PEREZ                           REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   702675 LUIS J AYALA ORTIZ                          241 CALLE NICARAGUA BONKER                                                                                              CAGUAS              PR           00725
   702676 LUIS J BETANCES RAHOLA                      URB COLINAS DE CUPEY         K 1 CALLE ACACIA                                                                           SAN JUAN            PR           00926
   702677 LUIS J BRIGANTTY GONZALEZ                   P O BOX 457                                                                                                             AGUIRRE             PR           00704
   284405 LUIS J BURGOS DE JESUS                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284406 LUIS J BURGOS VELAZQUEZ                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284407 LUIS J CAMACHO RIVERA                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284408 LUIS J CAPIELLO APONTE                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284409 LUIS J CARDONA DELGADO                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284410 LUIS J CARMONA CINTRON                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284411 LUIS J CARRION ROSARIO                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284412 LUIS J CASIANO PARRILLA                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284414 LUIS J CASTRO RIVERA                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284415 LUIS J CENTENO CRUZ                         REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284416 LUIS J CINTRON GUTIERREZ                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702680 LUIS J COLLAZO PEREZ                        18 CALLE MIRAMAR                                                                                                        PONCE               PR           00731
   284418 LUIS J COLON COLON                          REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284419 LUIS J COSTAS RUSSELL                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702681 LUIS J COTTO SUAREZ                         PO BOX 3250                                                                                                             GUAYNABO            PR           00970
   284420 LUIS J CRESPO REICES                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284421 LUIS J DEL NIDO CRIADO                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284423 LUIS J DIAZ ARROYO                          REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284424 LUIS J DIAZ CABRERO                         REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702683 LUIS J FELICIANO ORTIZ                      PO BOX 8529                                                                                                             PONCE               PR           00732
   284426 LUIS J FONSECA SOSA                         REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284427 LUIS J FONTANEZ                             REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702685 LUIS J GARCIA SANCHEZ                       BO OBRERO                    CALLE 14 752                                                                               SANTURCE            PR           00915
   702686 LUIS J GAUTIER MONGE                        RES SABANA ABAJO             EDF 48 APT 380                                                                             CAROLINA            PR           00983
   284428 LUIS J GIERBOLINI DELGADO                   REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284429 LUIS J GIMENEZ FUENTES                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284430 LUIS J GOENAGA BEAUCHAMP                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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MML ID                 NAME                                     ADDRESS 1                      ADDRESS 2                 ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  702687 LUIS J GONZALEZ COLON                        HC 5 BOX 62235                                                                                                     MAYAGUEZ          PR         00680
  284432 LUIS J GONZALEZ RIVERA                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284433 LUIS J GONZALEZ VAZQUEZ                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         LUIS J GUEVARA DBA OFFICE
  284434 SCHOOL & ART                                 PO BOX 6586                                                                                                        SAN JUAN          PR         00914‐6586
  702689 LUIS J GUEVARA FUERTES                       PO BOX 6586                                                                                                        SAN JUAN          PR         00914
  284435 LUIS J HERRERA ALVAREZ                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284436 LUIS J ILARRAZA FIGUEROA                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702690 LUIS J IRIZARRY MARTINEZ                     PO BOX 54                                                                                                          GUAYNABO          PR         00970
  284437 LUIS J JIMENEZ RAMOS                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702692 LUIS J LEBRON LEBRON                         P O BOX 1076                                                                                                       GUAYAMA           PR         00785
         LUIS J LEON RODRIGUEZ C
  702694 /GOSPEL FEST INC                             URB ALT DE VILLALBA           228 CALLE PAOLITA GOMEZ                                                              VILLALBA          PR         00766
  284438 LUIS J LOPEZ                                 REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284439 LUIS J LOPEZ PINEIRO                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284440 LUIS J LOPEZ ROSA                            REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702697 LUIS J LUGO ROBLES                           VILLAS DEL CARIBE             EDIF 16 APT 190                                                                      PONCE             PR         00731
  702698 LUIS J LUGO VELEZ                            PO BOX 712                                                                                                         MERCEDITA         PR         00715‐0712
  284441 LUIS J MALDONADO CLAUDIO                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702699 LUIS J MALDONADO LOPEZ                       PO BOX 590                                                                                                         MERCEDITA         PR         00715
  284442 LUIS J MALDONADO SAITER                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   702700 LUIS J MARRERO ORTEGA                       PO BOX 8519 FDEZ JUNCOS STA                                                                                        SAN JUAN          PR         00910‐8519
   702701 LUIS J MARTE DE JESUS                       P O BOX 6483                                                                                                       BAYAMON           PR         00960‐5483
   284443 LUIS J MARTIR                               REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284444 LUIS J MAYSONET ALICEA                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702702 LUIS J MEDINA ROJAS                         URB LOS DOMIINICOS            L 209 CALLE 8                                                                        BAYAMON           PR         00957
   284445 LUIS J MERCADO LUGO                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284446 LUIS J MERCADO RIVERA                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702703 LUIS J MERCADO VAZQUEZ                      URB BELMONTE 62               CALLE CARDONA                                                                        MAYAGUEZ          PR         00680
   284447 LUIS J MILLAN BERDECIA                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702704 LUIS J MIRANDA ORTIZ                        PO BOX 1300                                                                                                        COROZAL           PR         00783
   284449 LUIS J MIRANDA RIVERA                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284451 LUIS J MIRO & LAURA CRUZ                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284452 LUIS J MOLINA RODRIGUEZ                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284453 LUIS J MONTALVO DELANOY                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702705 LUIS J MONTALVO FABRELLAS                   EXT VILLA RITA                AA 5 CALLE 25                                                                        SAN SEBASTIAN     PR         00685
          LUIS J MONTES RIVERA/ SANTOS
   284454 L MONTES                                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284455 LUIS J MORALES ORTIZ                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702706 LUIS J MORENO CORTES                        P O BOX 4830                                                                                                       AGUADILLA         PR         00605
   284456 LUIS J NEGRON VELEZ                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284457 LUIS J NIEVES CASTRO                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284458 LUIS J NIEVES MELENDEZ                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284459 LUIS J NIEVES MIRANDA                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284461 LUIS J NIEVES VEGA                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284462 LUIS J OCASIO TORRES                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702708 LUIS J OJEDA ROSADO                         URB SANTA TERESITA            AK 13 CALLE 8                                                                        PONCE             PR         00730‐1774
   702709 LUIS J ORTEGA BERRIOS                       P O BOX 141                                                                                                        CIALES            PR         00638
   284463 LUIS J ORTIZ ALMODOVAR                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702712 LUIS J ORTIZ BARRIOS                        HC 1 BOX 2415                                                                                                      BOQUERON          PR         00622‐9707
   702713 LUIS J ORTIZ BORRAS                         URB LA VISTA                  B20 VIA HORIZONTE                                                                    SAN JUAN          PR         00924
   702710 LUIS J ORTIZ FIGUEROA                       URB LEVITOWN 2571             PASEO ANGEL                                                                          TOA BAJA          PR         00949



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MML ID                 NAME                                      ADDRESS 1                        ADDRESS 2              ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  284464 LUIS J ORTIZ MEDINA                           REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284466 LUIS J ORTIZ RUIZ                             REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284467 LUIS J OTERO GARCIA                           REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702714 LUIS J PACHECO MERCADO                        SUITE 126 BOX 3501                                                                                                JUANA DIAZ        PR         00795
  284468 LUIS J PAGAN DIAZ                             REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284469 LUIS J PENA BRACERO                           REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284470 LUIS J PEREZ DE JESUS                         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284471 LUIS J PINEIRO VELAZQUEZ                      REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284472 LUIS J PONCE ROSADO                           REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702718 LUIS J RAMOS DIAZ                             C 17 LAS CUCHARAS                                                                                                 PONCE             PR         00731
         LUIS J RAMOS MUNOZ A/C
  284473 MARITZA MUNOZ                                 REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  702719 LUIS J REYES CRUZ                             PO BOX 52                                                                                                         ARECIBO           PR         00612
  702720 LUIS J REYES RIVERA                           BO RIO ABAJO                   BOX 40961                                                                          VEGA BAJA         PR         00693
  284474 LUIS J REYES ROSARIO                          REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  702721 LUIS J RIOS AGOSTO                            313 PRAIRIE CT                                                                                                    FAYETTEVILLE      NC         28303
  284475 LUIS J RIVERA LOPEZ                           REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  284476 LUIS J RIVERA RAMOS                           REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  284477 LUIS J RIVERA RIVERA                          REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  284479 LUIS J RIVERA SANTIAGO                        REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  284480 LUIS J RIVERA SANTOS                          REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
  702723 LUIS J RIVERA TORRES                          13 CALLE LA MONTALVA                                                                                              ENSENADA          PR         00647
         LUIS J RODRIGUEZ / MILAGROS
  702725 RODRIGUEZ                                     BO PADILLA SECTOR EL LIMON                                                                                        COROZAL           PR         00783
  702726 LUIS J RODRIGUEZ MELENDEZ                     HC 3 BOX 14456                                                                                                    YAUCO             PR         00698
  702727 LUIS J RODRIGUEZ NEGRON                       BDA PUEBLO NUEVO               58 A JUAN F CORTES                                                                 SAN SEBASTIAN     PR         00685
  702728 LUIS J RODRIGUEZ NIEVES                       PO BOX 28                                                                                                         AGUADILLA         PR         00690

   284481 LUIS J RODRIGUEZ RODRIGUEZ    REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   284482 LUIS J RODRIGUEZ ROSARIO      REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   284483 LUIS J RODRIGUEZ RUIZ         REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   284486 LUIS J RODRIGUEZ VAZQUEZ      REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          LUIS J RODRIGUEZ Y GLORYVETTE
   284487 RIVERA                        REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   284488 LUIS J ROJAS TOBI             REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   702730 LUIS J ROLDAN RAMOS           MANCIONES DE BAIROA                           B 22 CALLE 2                                                                       CAGUAS            PR         00725
   284490 LUIS J ROMERO CALDERON        REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   702732 LUIS J ROSADO MEDINA          URB SAN MIGUEL                                C 13                                                                               SAN LORENZO       PR         00754
   284491 LUIS J ROSADO RODRIGUEZ       REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   702734 LUIS J ROSARIO FIGUEROA       PO BOX 183                                                                                                                       VILLALBA          PR         00766
   702736 LUIS J ROSARIO PASTRANA       PO BOX 76                                                                                                                        HUMACAOO          PR         00792

   284492 LUIS J SALDANA CARRASQUILLO                  REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   702737 LUIS J SALGADO GARCIA                        RES NEMESIO R CANALES          EDIF 16 APT 315                                                                    SAN JUAN          PR         00918
   284494 LUIS J SANCHEZ NARVAEZ                       REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   284495 LUIS J SANCHEZ ROBLES DPM                    7148 CURRY FORD RD             SUITE 300                                                                          ORLANDO           FL         32822
   284497 LUIS J SANTIAGO CRUZ                         REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          LUIS J SANTODOMINGO
   284498 MARTINEZ                                     REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   702740 LUIS J SANTOS NEGRON                         7979 CALLE LOS BRAVOS STE 78                                                                                      SABANA SECA       PR         00952
   702741 LUIS J SEDAN RAMOS                           URB VISTAS DEL MAR             3305 CALLE ROSADO                                                                  PONCE             PR         00716
   702742 LUIS J SEIN VEGA                             261 URB CRISTAL                                                                                                   AGUADILLA         PR         00603



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  702743 LUIS J SERRANO GARCIA                        199 PASEO REALES CASTILLO                                                                                         ARECIBO              PR         00612
  284499 LUIS J SERRANO LUGO                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  284501 LUIS J SILVA MONTALVO                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

          LUIS J SOJO VIVENES/CARIBBEAN
   702744 TAERWONDO                     BO PUEBLO NUEVO                           BOX 111 CALLE 1                                                                       VEGA BAJA            PR         00693
   284502 LUIS J SOTO CRUZ              REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   702745 LUIS J SOTO GARCIA            ALT DE VILLA DEL REY                      L 12 CALLE FRANCIA                                                                    CAGUAS               PR         00727
   702746 LUIS J SOTO SASTRE            P O BOX 90                                                                                                                      LARES                PR         00669‐0090
   702747 LUIS J SUAREZ CASTRO          RR 3 BOX 3500                                                                                                                   SAN JUAN             PR         00928

   284503 LUIS J TORRES CARRASQUILLO                  REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284505 LUIS J TORRES MALDONADO                     REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284506 LUIS J VALENTIN JIMENEZ                     REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                                                  W31 CALLE YOSEMITE URB PARK
   702748 LUIS J VALENTIN SOLANA                      PARK GARDENS                GDNS                                                                                  SAN JUAN             PR         00926
   702749 LUIS J VAZQUEZ MORALES                      URB SANTA NARTA             CALLE I 2                                                                             SAN GERMAN           PR         00683
   284508 LUIS J VEGA PEREZ                           REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   702750 LUIS J VEGA RIVERA                          S F 18 CALLE SAN MARTIN                                                                                           JUANA DIAZ           PR         00795
   284509 LUIS J VILARO VELEZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   284510 LUIS J VIZCARRONDO SERRANO                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284511 LUIS J. BRICENO                             REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284512 LUIS J. CRUZ CINTRON                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284513 LUIS J. DIAZ CANCEL                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284514 LUIS J. DIAZ DE JESUS                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284515 LUIS J. FIGUEROA MELECIO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284517 LUIS J. MARIN RODRIGUEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284518 LUIS J. RIVERA GELPI                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284519 LUIS J. RODRIGUEZ ANDINO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   284520 LUIS J. VELAZQUEZ VELAZQUEZ                 REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284521 LUIS J.RIVERA DIAZ                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284522 LUIS JABDIEL PEREZ DIAZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284524 LUIS JAVIER CRUZ CINTRON                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284525 LUIS JAVIER FLORES APONTE                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   284526 LUIS JAVIER GUZMAN GUZMAN                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   702753 LUIS JAVIER HERNANDEZ PEREZ                 102 CALLE PAVIA FERNANDEZ                                                                                         SAN SEBASTIAN        PR         00685

   702754 LUIS JAVIER IRIZARRY AROCHO                 HC 2 BOX 6998                                                                                                     FLORIDA              PR         00650
   702755 LUIS JAVIER IRRIZARRY                       P O BOX 2161                                                                                                      SAN JUAN             PR         00921‐2161
   284527 LUIS JAVIER LAUREANO BAEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   702756 LUIS JAVIER LOPERENA MORALES 4 CALLE TOMAS GONZALEZ                                                                                                           MOCA                 PR         00676
          LUIS JAVIER MELENDEZ
   284528 GONZALEZ                     REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   702757 LUIS JAVIER MORALES NAZARIO                 HC 01 BOX 5620                                                                                                    SAN GERMAN           PR         00683
   702759 LUIS JAVIER SANCHEZ BANKS                   BO MOSQUITO DE AGUIRRE      PARADA 7                                                                              SALINAS              PR         00751
   702760 LUIS JAVIER SANTIAGO SIERRA                 EL ROSARIO                  67 CALLE 1                                                                            YAUCO                PR         00698
   702761 LUIS JAVIER VEGA CORDERO                    HC 3 BOX 11812                                                                                                    CAMUY                PR         00627‐9715



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  702762 LUIS JIMENEZ ALICEA                          URB. SAN CRISTOBAL      CALLE I #5                                                                             BARRANQUITAS      PR         00794
  702763 LUIS JIMENEZ APONTE                          PO BOX 9023207                                                                                                 SAN JUAN          PR         00902‐3207
  284531 LUIS JIMENEZ DOMENECH                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284532 LUIS JIMENEZ MEDINA                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                              419 CALLE EDDIE GRACIA
   702765 LUIS JIMENEZ MELENDEZ                       EXT ROOSEVELT           SANCHEZ                                                                                SAN JUAN          PR         00918
   702766 LUIS JIMENEZ RAMIREZ                        PO BOX 1029                                                                                                    DORADO            PR         00646
                                                                              CARR 850 CALLE ADELINA
   702767 LUIS JOEL ALEXANDER TRINIDAD BO LAS CUEVAS                          MENDEZ                                                                                 TRUJILLO ALTO     PR         00976
   702768 LUIS JOEL BENITEZ GONZALEZ   BUENA VISTA                            25 CALLE MAGNOLIA                                                                      CAROLINA          PR         00985

   284533 LUIS JOEL RODRIGUEZ GARCIA                  REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284534 LUIS JOMAR RIVERA MEDINA                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUIS JONATHAN MARRERO
   284535 HIRALDO                                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702772 LUIS JOSE CRESPO ZAYAS                      REPARTO MEDINA          CALLE A 7                                                                              SAN LORENZO       PR         00754

   702773 LUIS JOSE GUZMAN MELENDEZ                   HACIENDA CONCORDIA      11235 CALLE ROSA                                                                       SANTA ISABEL      PR         00757
   284536 LUIS JOSE IRIZARRY RIVERA                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284537 LUIS JOSE TORRES ASENCIO                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   702775 LUIS JR A SANTIAGO SANTIAGO                 BAYAMON GARDENS         N 6 CALLE 21                                                                           BAYAMON           PR         00957
   284538 LUIS JUNCOS GAUTIER                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702776 LUIS JUSINO ORTIZ                           BOX 841                                                                                                        HORMIGUEROS       PR         00660
   702777 LUIS JUSINO PACHECO                         PO BOX 7126                                                                                                    PONCE             PR         00732
   702779 LUIS JUSINO TORRES                          PO BOX 489                                                                                                     ENSENEDA          PR         00647
   284539 LUIS K ROMAN HERNANDEZ                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702781 LUIS KLAPPENBACH LEON                       URB SIERRA BAYAMON      CALLE 31 BLQ 34 5                                                                      BAYAMON           PR         00961
   702782 LUIS L ALVARADO LUIS                        BO JAGUAR                                                                                                      PATILLAS          PR         00723
   284540 LUIS L CARRERO ROMERO                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284541 LUIS L CRUZ MORALES                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702783 LUIS L MATIAS MELENDEZ                      HC 1 BOX 15730                                                                                                 CABO ROJO         PR         00623‐9719
   284542 LUIS L MOREU TORRES                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   702784 LUIS L RODRIGUEZ LARACUENTE HAC LA MATILDE                          5620 PASEO MORELL CAMPOS                                                               PONCE             PR         00728
   702785 LUIS L ROLON MELENDEZ       RES LUIS LLORENS TORRES                 EDIF 41 APT 835                                                                        SAN JUAN          PR         00913

   284543 LUIS L SANTIAGO VILLAHERMOSA REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284544 LUIS L TORRES MARRERO        REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702786 LUIS LABORDE FREYDE          185 COD TEIDE APT 1102                 CALLE COSTA RICA                                                                       SAN JUAN          PR         00917
   702787 LUIS LABOY RAMOS             URB ESPERIMENTAL                       13 CALLE 1                                                                             SAN JUAN          PR         00926
   702788 LUIS LABOY SANTANA           URB VILLA HUMACAO                      D 13 CALLE 15                                                                          HUMACAO           PR         00791
   702789 LUIS LAGO                    P O BOX 90                                                                                                                    BARCELONETA       PR         00617
   284545 LUIS LAGUE JONAS             REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284546 LUIS LAGUNA MUNIZ            REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284547 LUIS LAJARA BORELLI          REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284548 LUIS LAJARA PARDO            REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284549 LUIS LAMBOY TORRES           REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702790 LUIS LARACUENTE LOPEZ        URB IRLANDA HEIGHTS                    FK 5 CALLE CIRIO                                                                       BAYAMON           PR         00956
   702791 LUIS LAZU PEREZ              260 CALLE LAGUNA PLAYITA                                                                                                      SAN JUAN          PR         00913
   702792 LUIS LEBRON BELTRAN          45 / COLECTORA                                                                                                                SAN JUAN          PR         00909

   702793 LUIS LEDEE DROZ                             URB SANTIAGO IGLESIAS   1399 CALLE ANTONIO ARROYO                                                              SAN JUAN          PR         00921



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  284551 LUIS LEDUC MARTES                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  702794 LUIS LEON CRUZ                               ALTURAS DE SANTA ISABEL     H 4 CALLE 4                                                                          SANTA ISABEL       PR         00757
  702795 LUIS LEON ORTIZ                              BZN 5560                                                                                                         CIDRA              PR         00739
  702796 LUIS LEON VEGA                               AVE PONCE DE LEON           PDA 19                                                                               SAN JUAN           PR         00936
  702797 LUIS LIMONTA LOYZAGA                         PO BOX 10194                                                                                                     SAN JUAN           PR         00922
  702800 LUIS LLANOS CARRION                          BO MALPICA                  PO BOX 1075                                                                          RIO GRANDE         PR         00745
  284554 LUIS LLANOS ROMERO                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  702803 LUIS LOPEZ ALDAS                             PO BOX 836                                                                                                       MAYAGUEZ           PR         00681
  284555 LUIS LOPEZ ALFARO                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  284556 LUIS LOPEZ BIGIO                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  702804 LUIS LOPEZ CANDELARIA                        177 CALLE PARAGUAY                                                                                               SAN JUAN           PR         00917
  702805 LUIS LOPEZ CARTAGENA                         BO SALTO SEC LA TOSCA       BOX 3135                                                                             CIDRA              PR         00739
  284557 LUIS LOPEZ CASTRO                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  284558 LUIS LOPEZ CEDENO                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  284559 LUIS LOPEZ CRUZ                              REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  284560 LUIS LOPEZ DE JESUS                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  700215 LUIS LOPEZ DELGADO                           RR 6 BOX 11176                                                                                                   SAN JUAN           PR         00926
  284561 LUIS LOPEZ DIAZ                              REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  702808 LUIS LOPEZ FELICIANO                         HC 6 BOX 75883                                                                                                   CAGUAS             PR         00725
  702809 LUIS LOPEZ LOPEZ                             7 CALLE PABLO CASALS                                                                                             MAYAGUEZ           PR         00680
  284562 LUIS LOPEZ LUNA INSURANCE                    URB VILLA CAPARRA           21 CALLE J                                                                           GUAYNABO           PR         00966
  702811 LUIS LOPEZ NEGRON                            URB BELISSA                 1527 CALLE CAVALIER                                                                  SAN JUAN           PR         00927
  702812 LUIS LOPEZ NIEVES                            MONTE FLORES 5‐A            2007 CALLE LAS VIOLETAS                                                              SAN JUAN           PR         00915
  702813 LUIS LOPEZ PEREZ                             BUENA VISTA                 125 CALLE PALMA REAL                                                                 CAROLINA           PR         00985
  284563 LUIS LOPEZ QUILES                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  702814 LUIS LOPEZ RAMOS                             PO BOX 21365                                                                                                     SAN JUAN           PR         00928
         LUIS LOPEZ RIJOS/MAXIMO
  284564 SOLAR INDUSTRIES                             URB PASEOS PALMA REAL       D 11 CALLE GARRION                                                                   JUNCOS             PR         00777
  284565 LUIS LOPEZ RODRIGUEZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  284566 LUIS LOPEZ ZAYAS                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  284567 LUIS LORENZANA MERCED                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  702816 LUIS LORENZO GONZALEZ                        PO BOX 1304                                                                                                      AGUADA             PR         00602
  284568 LUIS LOYO COLON                              REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  284569 LUIS LOZADA ARENAS                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  702817 LUIS LOZADA CRUZ                             P O BOX 763                                                                                                      SAN LORENZO        PR         00754‐0763
  702819 LUIS LOZADA ELIAS                            RR 2 BOX 7520                                                                                                    TOA ALTA           PR         00953
  702821 LUIS LUGO AYALA                              PO BOX 696                                                                                                       SAN GERMAN         PR         00683
  284572 LUIS LUGO CARABALLO                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   702822 LUIS LUNA DIAZ                              ALTURA DE PARQUE ECUESTRE   812 CALLE YCARO                                                                      CAROLINA           PR         00987
   284574 LUIS M ACEVEDO TORRES                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   284575 LUIS M ACIN DIAZ                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   284576 LUIS M ACOSTA MONROIG                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   702825 LUIS M AGOSTO ALICEA                        HC 01 BOX 7095                                                                                                   AGUAS BUENAS       PR         00703
   702826 LUIS M ALBINO IRIZARRY                      BOX 928                                                                                                          SAN GERMAN         PR         00683
   284577 LUIS M ALMODOVAR RIVERA                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   702828 LUIS M ALVAREZ CABAN                        URB VALLE DE YABUCOA        622 CALLE JAZMIN                                                                     YABUCOA            PR         00767
   284581 LUIS M ALVAREZ SERRANO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   702829 LUIS M ALVAREZ VELEZ                        HC 1 BOX 22551                                                                                                   CABO ROJO          PR         00623
   702830 LUIS M AMADOR ACOSTA                        P O BOX 386                                                                                                      LAJAS              PR         00667
   284582 LUIS M ANDINO MONTANEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   702831 LUIS M ANGELET RODRIGUEZ                    URB VILLAS DE TORRIMAR      30 REINA SOFIA                                                                       GUAYNABO           PR         00969




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MML ID               NAME                                        ADDRESS 1                   ADDRESS 2              ADDRESS 3                           ADDRESS 4              CITY          STATE   POSTAL CODE        COUNTRY
          LUIS M ANGLADA Y/O ANA L
   702832 RODRIGUEZ                                   ESTACION FERNANDEZ JUNCOS   PO BOX 11855                                                                      SAN JUAN            PR           00910‐3855

   702833 LUIS M ARAUD CARRASQUILLO                   HC 4 BOX 5103                                                                                                 HUMACAO             PR           00791‐9518
   284583 LUIS M ARIAS VAZQUEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284584 LUIS M ARROYO CAMPOS                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702834 LUIS M ATILANO FELIZ                        BO BORINQUEN                HC 4 BOX 48942                                                                    CAGUAS              PR           00725
   702835 LUIS M AVILES FRED                          HC 01 BOX 3714                                                                                                LAS MARIAS          PR           00670

   284586 LUIS M BABILONIA HERNANDEZ                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284587 LUIS M BADILLO MULET                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284588 LUIS M BAEZ QUESADA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702836 LUIS M BAEZ RIVERA                          HC 01 BOX 5656                                                                                                GUAYNABO            PR           00971‐9801
   284589 LUIS M BALZAC SANCHEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702838 LUIS M BARNECET VELEZ                       URB SAN ANTONIO             1744 CALLE DONCELLA                                                               PONCE               PR           00728‐1624
   284590 LUIS M BAUTISTA FELIZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284591 LUIS M BAUZO RODRIGUEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284593 LUIS M BERRIOS ROSARIO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702839 LUIS M BLASINI RODRIGUEZ                    PO BOX 560132                                                                                                 GUAYANILLA          PR           00656‐0132
   284595 LUIS M CABELLO SANTIAGO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702840 LUIS M CABRERA MELENDEZ                     RR 11 BOX 10010                                                                                               BAYAMON             PR           00956
   702841 LUIS M CADIZ PESANTE                        URB GLENVIEW GARDENS        N 2 CALLE E 9                                                                     PONCE               PR           00730‐1751
   284596 LUIS M CAPPACETTI COTTO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   284597 LUIS M CARABALLO QUINONES                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUIS M CARRASQUILLO
   284598 RODRIGUEZ                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   702844 LUIS M CARRILLO & ASSOCIATES                PO BOX 29348                                                                                                  SAN JUAN            PR           00929‐0348
   702845 LUIS M CARRILLO ACOSTA                      PO BOX 5000 SUITE 36                                                                                          SAN GERMAN          PR           00683
   284599 LUIS M CARRION GONZALEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284600 LUIS M CASTILLO HERNANDEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702846 LUIS M CASTILLOVEITIA                       PO BOX 42                                                                                                     MERCEDITA           PR           00715
   284601 LUIS M CASTRO AGIS                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUIS M CASTRO DBA LM OFFICE
   284602 & CLEANING                                  AVE TITO CASTRO 532                                                                                           PONCE               PR           00716
   702847 LUIS M CASTRO DIAZ                          HC 2 BOX 12800                                                                                                HUMACAO             PR           00791‐9646
   284603 LUIS M CECILIO MALDONADO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702848 LUIS M CINTRON DELFI                        PO BOX 1257                                                                                                   SANTA ISABEL        PR           00757
   284604 LUIS M CINTRON ROURA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284606 LUIS M COLLAZO COLON                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702849 LUIS M COLON CORREA                         HC 01 BOX 6424                                                                                                STA. ISABEL         PR           00757
   702850 LUIS M COLON CRUZ                           BO OLIMPO                   316 CALLE 4                                                                       GUAYAMA             PR           00784‐4058
   702851 LUIS M COLON DE LA ROSA                     CIUDAD UNIVERSITARIA        D 2 CALLE B ESTE                                                                  TRUJILLO ALTO       PR           00976‐3148
   284608 LUIS M COLON GAETAN                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702852 LUIS M COLON MARRERO                        PO BOX 697                                                                                                    MOROVIS             PR           00687
   284609 LUIS M COLON NIEVES                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702853 LUIS M COLON PEREZ                          PO BOX 1705                                                                                                   UTUADO              PR           00641
   284610 LUIS M COLON SERRANO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702854 LUIS M CONCEPCION CRUZ                      PO BOX 491                                                                                                    QUEBRADILLAS        PR           00678‐0491
   284611 LUIS M CORUJO VELEZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284612 LUIS M CRESPO CARDONA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284613 LUIS M CRESPO RIVERA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  284614 LUIS M CRUZ CONCEPCION                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702857 LUIS M CRUZ DIAZ                             HC 11 BOX 12129                                                                                                      HUMACAO           PR         00791
  702858 LUIS M CRUZ IRAOLA                           URB LAS PRADERAS             1019 CALLE TOPACIO                                                                      BARCELONETA       PR         00617

   702859 LUIS M CRUZ PEREZ                           URB PONCE DE LEON            284 CALLE RAMOS ANTONINI E                                                              MAYAGUEZ          PR         00680
   702860 LUIS M CRUZ SANCHEZ                         HC 1 BOX 4318                                                                                                        YABUCOA           PR         00767

   702856 LUIS M CRUZ VARGAS                          BO CACAO CARR 477 BOX 1698                                                                                           LAS MARIAS        PR         00670
   702861 LUIS M CUESTA GARCIA                        PO BOX 127                                                                                                           GARROCHALES       PR         00652‐0127
   284615 LUIS M DE HOYOS PEREZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702862 LUIS M DE JESUS IRRIZARRI                   HC 764 BOX 8229                                                                                                      PATILLAS          PR         00723
   702863 LUIS M DE JESUS NIEVES                      PO BOX 283                                                                                                           HUMACAO           PR         00792‐0183
   702864 LUIS M DE JESUS TIRADO                      URB CARIOCA A 6 CALLE 4                                                                                              GUAYAMA           PR         00784
          LUIS M DE JESUS Y NEREIDA
   284616 GARCIA                                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702865 LUIS M DE LA CRUZ SANCHEZ                   URB SANTA JUANITA            MM 50 CALLE 30                                                                          BAYAMON           PR         00956
   702866 LUIS M DELGADO COLON                        URB CAMBRIDGE PARK           A10 CALLE CHESTNUT HL                                                                   SAN JUAN          PR         00926
                                                                                   53 CALLE MATIAS GONZALEZ
   702867 LUIS M DELGADO PEREZ                        CERRO SUR                    GARCIA                                                                                  GURABO            PR         00778
          LUIS M DELIZ / QUEBRADILLAS
   702868 MORORCYCLE                                  903 CALLE SAN JOSE                                                                                                   QUEBRADILLAS      PR         00678
   284617 LUIS M DIAZ / BETZAIDA DIAZ                 REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702869 LUIS M DIAZ GONZALEZ                        158 CALLE SAN FELIPE                                                                                                 ARECIBO           PR         00612
   284618 LUIS M DIAZ HERRERA                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702870 LUIS M DIAZ LOPEZ                           RES BAIROA                   M 1 CALLE SANTA MARIA                                                                   CAGUAS            PR         00725‐1570
   700216 LUIS M DIAZ MELENDEZ                        URB MONTEMAR                 115 CALLE C                                                                             FAJARDO           PR         00738
   284619 LUIS M DIAZ PIZARRO                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702871 LUIS M DONATE COLON                         P O BOX 2372                                                                                                         VEGA BAJA         PR         00694
   702872 LUIS M DURAN DELA HOZ                       BDA BOBE                     503 CALLE 18                                                                            SAN JUAN          PR         00915
   702873 LUIS M ELIZALDE LECAROZ                     BOX 641                                                                                                              LARES             PR         00669

   702874 LUIS M ENCHAUSTEGUI DE JESUS P O BOX 618                                                                                                                         ARROYO            PR         00714
   702875 LUIS M ESCRIBANO DIAZ        354 CALLE HECTOR SALAMAN                                                                                                            SAN JUAN          PR         00918‐2111
                                       URB JARDINES DE COUNTRY
   702876 LUIS M ESTRADA CARRASQUILLO CLUB                                         126 BU 18                                                                               CAROLINA          PR         00983
   702878 LUIS M FEBO SANTIAGO         P O BOX 631                                                                                                                         CANOVANAS         PR         00729‐0631
   284621 LUIS M FELICIANO LABOY       REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702880 LUIS M FERRER BENABE INC     BO JUAN DOMINGO 139                         CARR 2 STE 1                                                                            GUAYNABO          PR         00966
   284622 LUIS M FERRER CHARDON        REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702881 LUIS M FERRER DAVILA         PO BOX 2342                                                                                                                         MAYAGUEZ          PR         00681
   284623 LUIS M FIGUEROA APONTE       REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284624 LUIS M FIGUEROA FUENTES      REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700217 LUIS M FIGUEROA PEREZ        ESTANCIAS DE JUNCOS                         169 CAMINO DE LA COLINA                                                                 JUNCOS            PR         00777‐9428
   284625 LUIS M FIGUEROA ROSA         REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284626 LUIS M FLORES FERREIRO       REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284629 LUIS M FRAGUADA ABRIL        REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284630 LUIS M FRANCO BROWN          REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   284631 LUIS M FRONTERA FERNANDEZ                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284632 LUIS M FUENTES VILLAMIZAR                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702882 LUIS M GARCIA                               PO BOX 29156                                                                                                         SAN JUAN          PR         00929
   702883 LUIS M GARCIA CARTAGENA                     P O BOX 178                                                                                                          JUAN DIAZ         PR         00795‐0178
   284633 LUIS M GARCIA DIAZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  702884 LUIS M GARCIA GARCIA                         HC 1 BOX 4242 1                                                                                                    NAGUABO             PR         00718
  284634 LUIS M GARCIA ROBLES                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   702885 LUIS M GOMEZ CONSTRUCTION                   HC 1 BOX 5577                                                                                                      JUANA DIAZ          PR         00795
   702886 LUIS M GOMEZ RODRIGUEZ                      PO BOX 224                                                                                                         SAN LORENZO         PR         00754
   284636 LUIS M GONZALEZ AROCHO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284637 LUIS M GONZALEZ SANTIAGO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702890 LUIS M GRANELL CARABALLO                    PO BOX 1657                                                                                                        SAN SEBASTIAN       PR         00685
   284638 LUIS M GRULLON TORRES                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284639 LUIS M GUADALUPE PEREZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702891 LUIS M GUZMAN HERNANDEZ                     BOX 2528                                                                                                           BAYAMON             PR         00960
          LUIS M HERNANDEZ
   284640 CARRASQUILLO                                REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   284642 LUIS M HERNANDEZ MERCADO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      BARRIO PALMAR CAM ISMAEL
   702892 LUIS M IRIZARRY MEDINA                      TORRES                       CARR 111 INT 125                                                                      AGUADILLA           PR         00603
   284643 LUIS M IRIZARRY MORALES                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      URB. EXT. EL COMANDANTE E‐
   702894 LUIS M JACKSON SANABRIA                     400                          CALLE SAN MARCOS                                                                      SAN JUAN            PR         00982
   284644 LUIS M JUAN FELICIANO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702895 LUIS M JULIA DIAZ                           URB BEL REMANSO              11 CALLE VIOLETA VAZQUEZ                                                              CAYEY               PR         00736
   284645 LUIS M LAMBOY ARCE                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284646 LUIS M LEBRON CLAUDIO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284647 LUIS M LEBRON LEBRON                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284648 LUIS M LEBRON ORTIZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702896 LUIS M LEON SASTRE                          HC 02 BOX 8465 MANZANILLA                                                                                          JUANA DIAZ          PR         00795
   284649 LUIS M LEZCANO ALAMO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702897 LUIS M LOPEZ BAQUERO                        P O BOX 471                                                                                                        CAYEY               PR         00737
   284651 LUIS M LOPEZ CABANAS                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702898 LUIS M LOPEZ CUEVAS                         URB VILLAS DE CANEY          B 3A                                                                                  TRUJILLO ALTO       PR         00976
   284652 LUIS M LOPEZ FUENTE                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284653 LUIS M LOPEZ MALDONADO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702899 LUIS M LOPEZ MARRERO                        PO BOX 1326                                                                                                        FAJARDO             PR         00738
   702900 LUIS M LOPEZ MU OZ                          URB CANA                     EE22 CALLE 29                                                                         BAYAMON             PR         00957
   284654 LUIS M LOPEZ RAMOS                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702903 LUIS M LOPEZ SANCHEZ                        PO BOX 299                                                                                                         GUAYNABO            PR         00970
   284655 LUIS M LOPEZ VAZQUEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702904 LUIS M LORENZO ROJAS                        VILLA COOP                   E 16 CALLE 4                                                                          CAROLINA            PR         00985
   702905 LUIS M LOZADA CALDERO                       HC 71 BOX 3333                                                                                                     NARANJITO           PR         00719
   702906 LUIS M LUCIANO GONZALEZ                     HC 2 BOX 6816                                                                                                      UTUADO              PR         00641
   700218 LUIS M MADERA QUILES                        HC 02 BOX 10772                                                                                                    YAUCO               PR         00698‐9606
   702907 LUIS M MALDONADO                            HC 03 BOX 14670                                                                                                    UTUADO              PR         00641
          LUIS M MALDONADO
   284657 RODRIGUEZ                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284658 LUIS M MALDONADO TORRES                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   702911 LUIS M MANZANO RODRIGUEZ                    P O BOX 962                                                                                                        YABUCOA             PR         00767
   284659 LUIS M MARIA RIVERA                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284660 LUIS M MARIN MORALES                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284661 LUIS M MARTIN SANABRIA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   702914 LUIS M MARTINEZ MELENDEZ                    URB SAN DEMETRIO             J 4 CALLE 5                                                                           VEGA BAJA           PR         00693
   702915 LUIS M MARTINEZ MORALES                     326 CARR RIO HONDO                                                                                                 MAYAGUEZ            PR         00680‐7110



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  284662 LUIS M MARTINEZ MUNIZ                         REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702916 LUIS M MARTINEZ RIVERA                        PO BOX 575                                                                                                   CAGUAS            PR         00726‐0575
  284663 LUIS M MARTINEZ RUIZ                          REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702917 LUIS M MATOS HILERIO                          PO BOX 622                                                                                                   LAS MARIAS        PR         00670
  702918 LUIS M MATOS MATOS                            CARR 526                 HC 1 BOX 3460                                                                       ADJUNTAS          PR         00601
         LUIS M MAYOR ORTIZ / C C D
  702919 SAN GERARDO                                   URB SAN GERARDO          1719 CALLE ARIZONA                                                                  SAN JUAN          PR         00926
         LUIS M MELENDEZ / JOSEFINA
  702920 PAGAN                                         PO BOX 1535                                                                                                  CIDRA             PR         00739
  284664 LUIS M MELENDEZ TORRES                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  702921 LUIS M MENDEZ CORDERO                         VILLA CAROLINA           45 ST 59 BLAM 71                                                                    CAROLINA          PR         00985

   284665 LUIS M MENDEZ MALDONADO                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702924 LUIS M MIRANDA LLANERAS                      BO LAS PALMAS            P O BOX 423                                                                         UTUADO            PR         00641
   284666 LUIS M MONTANEZ LABOY                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702925 LUIS M MORALES ALGARIN                       PO BOX 30227                                                                                                 SAN JUAN          PR         00909‐0227

   702926 LUIS M MORALES MALDONADO                     PO BOX 5150                                                                                                  CAROLINA          PR         00984‐5150
   284667 LUIS M MORALES MARTINEZ                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284668 LUIS M MORALES PENA                          REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702927 LUIS M MORALES PEREZ                         PO BOX 1469                                                                                                  RINCON            PR         00677
   284669 LUIS M MORALES SANCHEZ                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284670 LUIS M MORALES TANON                         REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284671 LUIS M MORAN BURGOS                          REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284672 LUIS M MORELL MORELL                         REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702931 LUIS M MU¥IZ PEREZ                           136 CALLE PABLO CASALS                                                                                       MAYAGUEZ          PR         00680
   284674 LUIS M MUNOZ LACOT                           REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702932 LUIS M MUSIGMAR                              PO BOX 20136                                                                                                 SAN JUAN          PR         00928
   284675 LUIS M NAVARRO RIVERA                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284676 LUIS M NEGRON ALVAREZ                        REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284677 LUIS M NEGRON CORTES                         REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702933 LUIS M NIEVES CARDONA                        URB VENUS GARDENS        1730 CALLE ASTER                                                                    SAN JUAN          PR         00926‐4827
   700219 LUIS M NIEVES SOTO                           COND BOSQUE REAL         840 CARR 877 APT 804                                                                SAN JUAN          PR         00926
   284678 LUIS M OCASIO MUNOZ                          REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284679 LUIS M OCASIO VEGA                           REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284680 LUIS M OFARRILL VILLANUEVA                   REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702935 LUIS M OLAZABAL FELIU                        PO BOX 2926                                                                                                  BAYAMON           PR         00960
   284681 LUIS M OLIVA RODRIGUEZ                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284682 LUIS M ORTIZ CASTRO                          REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702937 LUIS M ORTIZ DIAZ                            P O BOX 997              OFIC SUPTE DE ESCUELAS                                                              CAYEY             PR         00736
   284683 LUIS M ORTIZ FRED                            REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284684 LUIS M ORTIZ GARCIA                          REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702938 LUIS M ORTIZ ORTIZ                           URB BELLO HORIZONTE      G 2 CALLE 1                                                                         GUAYAMA           PR         00784
   284685 LUIS M ORTIZ RIVERA                          REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700220 LUIS M ORTIZ RODRIGUEZ                       HC 1 BOX 4554                                                                                                NAGUABO           PR         00711
   284687 LUIS M ORTIZ ROLON                           REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702939 LUIS M ORTIZ SEPULVEDA                       P O BOX 3501 270                                                                                             JUANA DIAZ        PR         00795
   284688 LUIS M ORTIZ TORRES                          REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284689 LUIS M OTERO DIAZ                            REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   702941 LUIS M OTERO RIVERA                          PO BOX 21365                                                                                                 SAN JUAN          PR         00928‐1365
   284690 LUIS M PACHECO LUCIANO                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284691 LUIS M PACHECO LUGO                          REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284692 LUIS M PADILLA RODRIGUEZ                     REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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   702944 LUIS M PAGAN                                URB SANTA MARIA I 22 CALLE 9                                                                                     SAN GERMAN          PR           00683
   284693 LUIS M PAGAN LOPEZ                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284695 LUIS M PEREZ BERRIOS                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   702945 LUIS M PEREZ BURNES                         C\ LARENDO T‐19 VISTA BELLA                                                                                      BAYAMON             PR           00956
   284696 LUIS M PEREZ DE LA CRUZ                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284697 LUIS M PEREZ JIMENEZ                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702946 LUIS M PEREZ LUGO                           EST DEL LLANO                  38 CALLE CIPRES                                                                   AIBONITO            PR           00705
   284698 LUIS M PEREZ MOLINA                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702947 LUIS M PEREZ ORTIZ                          JARDINES I                     C 44 CALLE 7                                                                      CAYEY               PR           00736

   284699 LUIS M PIZARRO MALDONADO                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284700 LUIS M PIZARRO ROSADO                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284701 LUIS M PLAZA LOPEZ                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   284703 LUIS M QUINONES RODRIGUEZ                   REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702948 LUIS M RAMIREZ NEGRON                       22 BAJOS CALLE VICTORIA                                                                                          SAN GERMAN          PR           00683
   702949 LUIS M RAMOS TORRES                         P O BOX 816                                                                                                      JAYUYA              PR           00664
   284705 LUIS M RENTA PADILLA                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702950 LUIS M RESTO HERNANDEZ                      P O BOX 21365                                                                                                    SAN JUAN            PR           00928
   284706 LUIS M REYES PEREZ                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702951 LUIS M REYES SANTIAGO                       TOWN HOUSE R 5 6                                                                                                 COAMO               PR           00769
   702952 LUIS M RIOS VAZQUEZ                         HC‐08 BOX 1496                                                                                                   PONCE               PR           00731‐9712
   702954 LUIS M RIVERA                               PO BOX 11855                                                                                                     SAN JUAN            PR           00910‐4225
   284708 LUIS M RIVERA CALDERO                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284709 LUIS M RIVERA CLAUDIO                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702957 LUIS M RIVERA DE JESUS                      HC 03 BOX 10518                                                                                                  YABUCOA             PR           00767
   284710 LUIS M RIVERA FERNANDEZ                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   700221 LUIS M RIVERA HUTCHINSON                    URB SANTA ELENA                K 35 CALLE C                                                                      BAYAMON             PR           00957‐1663
   702958 LUIS M RIVERA LUCIANO                       HC 1 BOX 7278                                                                                                    GUAYANILLA          PR           00656
   702959 LUIS M RIVERA ORTIZ                         P O BOX 656                                                                                                      YABUCOA             PR           00767
   702960 LUIS M RIVERA RAMOS                         HC 1 BOX 3759                                                                                                    ARROYO              PR           00714
   702956 LUIS M RIVERA RIVERA                        APT 887                                                                                                          CIALES              PR           00638
   284713 LUIS M RIVERA RODRIGUEZ                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702962 LUIS M RIVERA ROSADO                        APARTADO 1213                                                                                                    JAYUYA              PR           00664
   284714 LUIS M RIVERA ROSARIO                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284715 LUIS M RIVERA SANCHEZ                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   702964 LUIS M RIVERA VALENTIN                      RES YAGUEZ EDIF 18 APT 176                                                                                       MAYAGUEZ            PR           00680
   284717 LUIS M RIVERA WHARTON                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUIS M RIVERO MALDONADO M
   702965 D                                           MSC 266 BOX 1995                                                                                                 BAYAMON             PR           00956 9613
   702967 LUIS M ROBLES PADILLA                       HC 1 BOX 11469                                                                                                   ARECIBO             PR           00612
   284718 LUIS M ROCCA VAZQUEZ                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284719 LUIS M RODRIGUEZ                            REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   284720 LUIS M RODRIGUEZ CASTRO                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUIS M RODRIGUEZ DE LAS
   702971 NIEVES                                      VILLA DEL CARMEN E6 CALLE 2                                                                                      PONCE               PR           00731

   284721 LUIS M RODRIGUEZ FELICIANO                  REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   702973 LUIS M RODRIGUEZ GONZALEZ                   P O BOX 445                                                                                                      SABANA HOYOS        PR           00688




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   284722 LUIS M RODRIGUEZ HERNANDEZ                  REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702974 LUIS M RODRIGUEZ LOPEZ                      EDIF NACIONAL PLAZA           431 AVE PONCE DE LEON                                                               SAN JUAN            PR         00918
   702975 LUIS M RODRIGUEZ MORA                       PO BOX 597                                                                                                        ARECIBO             PR         00613
   284723 LUIS M RODRIGUEZ RAMIREZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702976 LUIS M RODRIGUEZ RIVERA                     253 CARRASQUILLO              CALLE JUAN SOTO                                                                     CAYEY               PR         00736

   284724 LUIS M RODRIGUEZ RODRIGUEZ REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   702977 LUIS M RODRIGUEZ SANTIAGO                   APARTADO 570                                                                                                      PATILLAS            PR         00723
   702979 LUIS M RODRIGUEZ VEGA                       URB CUIDAD UNIVERSITARIA      I 9 D ESTE                                                                          TRUJILLO ALTO       PR         00976
   702980 LUIS M ROLON TIRADO                         HC 2 BOX 5559                                                                                                     MOROVIS             PR         00687
   284725 LUIS M ROMAN BADENAS                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702982 LUIS M ROMAN LANDRON                        URB PALMAR SUR                G 32 CALLE DELTA                                                                    CAROLINA            PR         00979
   702984 LUIS M ROSADO GARCIA                        URB CANA                      NN 7 CALLE 3                                                                        BAYAMON             PR         00957
   284726 LUIS M ROSADO RODRIGUEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284727 LUIS M ROSADO VALLE                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284728 LUIS M RUFFAT BELARDO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284729 LUIS M RUIZ GOMEZ                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702986 LUIS M RUIZ RUIZ                            HC 01 BOX 10318                                                                                                   HATILLO             PR         00659
   284730 LUIS M SAEZ CASIANO                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284732 LUIS M SALAMAN SANTIAGO                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702988 LUIS M SANABRIA ROSADO                      URB LAS MERCEDES              L 47 CALLE 3                                                                        LAS PIEDRAS         PR         00771
   284733 LUIS M SANCHEZ GALARZA                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284734 LUIS M SANCHEZ HERNANDEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284735 LUIS M SANCHEZ MORERA                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   702991 LUIS M SANTIAGO COLLAZO                     URB LOS LLANOS D‐25 CALLE 7                                                                                       ARECIBO             PR         00612
   284736 LUIS M SANTIAGO CRUZ                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284737 LUIS M SANTIAGO DELGADO                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284738 LUIS M SANTIAGO SANTIAGO                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284739 LUIS M SANTOS CRUZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702994 LUIS M SANTOS PORTALATIN                    BDA SANDIN                    14 CALLE VENUS                                                                      VEGA BAJA           PR         00693
   702996 LUIS M SEPULVEDA                            HC 2 BOX 7055                                                                                                     HORMIGUERO          PR         00660

   284740 LUIS M SERRANO DEL ROSARIO                  REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702997 LUIS M SERRANO JIMENEZ                      URB VILLA CRIOLLO NUM 23      CALLE GRANADA                                                                       CAGUAS              PR         00725
   702998 LUIS M SIERRA RIVERA                        P O BOX 2605                                                                                                      ARECIBO             PR         00613
   284741 LUIS M SOLIVAN SANTIAGO                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   702999 LUIS M SOTO CRUZ                            PO BOX 7126                                                                                                       PONCE               PR         00732
   700223 LUIS M SOTO MADERA                          BDA SAN ISIDRO                124 CALLE JM PADRO                                                                  SABANA GRANDE       PR         00637
   703000 LUIS M SOTOMAYOR PEREZ                      P O BOX 1412                                                                                                      JUANA DIAZ          PR         00795
   703002 LUIS M TIRADO MANZANO                       P O BOX 550                                                                                                       DORADO              PR         00646
   284742 LUIS M TIRADO ROLON                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284743 LUIS M TOLEDO ALAMO                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   703003 LUIS M TOLEDO GONZALEZ                      PO BOX 2025                                                                                                       LAS PIEDRAS         PR         00771
   703004 LUIS M TORRES ARROYO                        URB SIERRA BAYAMON            74‐4 CALLE 24                                                                       BAYAMON             PR         00961
   284745 LUIS M TORRES MEDINA                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284746 LUIS M TORRES MUNIZ                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   703006 LUIS M TORRES OTERO                         PUERTO NUEVO                  1052 ANDORRA                                                                        SAN JUAN            PR         00920
   284747 LUIS M TORRES RIVERA                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   284748 LUIS M TORRES TRINIDAD                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   703007 LUIS M UCETA FRANCISCO                      1365 NW CALLE 10                                                                                                  PUERTO NUEVO        PR         00920



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  284749 LUIS M URBINA RIVERA                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  703008 LUIS M VALDESUSO                             PO BOX 9023494                                                                                                     SAN JUAN             PR         00902‐3494
  284750 LUIS M VALLE OTERO                           REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  702824 LUIS M VARGAS                                HC 01 BOX 17162                                                                                                    HUMACAO              PR         00791
  284751 LUIS M VARGAS DOMINICCI                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  284752 LUIS M VARGAS PEREZ                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  284753 LUIS M VARGAS RIVERA                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  703011 LUIS M VAZQUEZ CERVERA                       URB PARK GARDENS           N 44 CALLE ACADIA                                                                       SAN JUAN             PR         00926
  284754 LUIS M VAZQUEZ SOTO                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  703013 LUIS M VEGA MELENDEZ                         BRISAS DE TORTUGUERO       26 CALLE RIO MANATI                                                                     VEGA BAJA            PR         00693
  284755 LUIS M VEGA SANTIAGO                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  703014 LUIS M VELAZQUEZ MORALES                     HC 9 BOX 1564                                                                                                      PONCE                PR         00731‐9747

   284756 LUIS M VELAZQUEZ RODRIGUEZ                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   700222 LUIS M VELEZ ECHEVARRIA                     EXT SANTA ELENA T 3        CALLE 15                                                                                GUAYANILLA           PR         00656
   700224 LUIS M VELEZ QUI¥ONES                       HC 02 BOX 8072                                                                                                     JAYUYA               PR         00664‐9611
   703016 LUIS M VELEZ TORO                           HC 2 BOX 14126                                                                                                     LAJAS                PR         00667
   284757 LUIS M VILLAR RODRIGUEZ                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703017 LUIS M ZAMBRANA SANTOS                      URB LAS COLINAS            61 CALLE 1                                                                              VEGA ALTA            PR         00692
   284758 LUIS M ZORNOSA CABRERA                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284759 LUIS M. ANDUJAR TORRES                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284760 LUIS M. ARIAS SANCHEZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284761 LUIS M. BURGOS MORALES                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703018 LUIS M. CABRERA S.E.                        PO BOX 1525                                                                                                        BAYAMON              PR         00960
   284762 LUIS M. CINTRON ROURA                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284763 LUIS M. DE JESUS BERRIOS                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284767 LUIS M. DE LEON PEREZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284768 LUIS M. ESCALERA SANTOS                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   284769 LUIS M. FERREIRA CENTURIÓN                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284770 LUIS M. FERRER MEDINA                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703022 LUIS M. GUADALUPE SOTO                      1660 CALLE JOSE H CORA                                                                                             SANTURCE             PR         00909
   284774 LUIS M. MALDONADO CHICO                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                                                 907 APT. CALLE SARGENTO
   703023 LUIS M. MAYO                                COND. SEGOVIA              MEDINA                                                                                  SAN JUAN             PR         00918
   284775 LUIS M. MEDINA COURET                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703024 LUIS M. MEDINA ORTIZ                        HP ‐ POSADA DIURNA                                                                                                 RIO PIEDRAS          PR         009360000
   703025 LUIS M. MORALES                             BUZON 211 CALLE A          BO SABANA ENEAS                                                                         SAN GERMAN           PR         00683
   284776 LUIS M. MORALES ORTIZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703027 LUIS M. RODRIGUEZ LOPEZ                     PO BOX 70250                                                                                                       SAN JUAN             PR         00936
   284781 LUIS M. ROMAN BADENAS                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284782 LUIS M. ROSARIO PLACERES                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          LUIS M. SANCHEZ ANA M
   703028 MARTINEZ                                    BO ANDELARIA SECTOR BUEN   VECINO PARCELA 226                                                                      TOA BAJA             PR         00949
   284785 LUIS M. SANCHEZ CASO                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284786 LUIS M. SANCHEZ SANTOS                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703032 LUIS M. TORRES ARROYO                       C.S.M. BAYAMON                                                                                                     Hato Rey             PR         00936
   284787 LUIS M. VEGA MORALES                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703034 LUIS M. VISSEPO VELEZ                       AVE MIAMI                  1600 SW 96TH AVE                                                                        MIAMI                FL         33165
          LUIS M.LEBRON CRUZ Y
   284788 JEANNETTE M.LEBRON                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                                                 641 CALLE ALMENDRO URB LOS
   703035 LUIS M.RAMIREZ SUAREZ                       LOS COLOBOS PARK           COLOBOS                                                                                 CAROLINA             PR         00987



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  284789 LUIS MACHICOTE DIAZ                          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703036 LUIS MADERA LOPEZ                            P O BOX 5503                                                                                                       ADJUNTAS          PR         00601
  284790 LUIS MAISONAVE RODRIGUEZ                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703037 LUIS MAISONET DIAZ                           PO BOX 367                                                                                                         BARCELONETA       PR         00617
  284791 LUIS MAISONET ZAYAS                          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284792 LUIS MALAVE ARRIAGA                          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284793 LUIS MALAVE GALAGARZA                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284794 LUIS MALAVE RIVERA                           REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   703038 LUIS MALDONADO                              URB VILLAS DE SAN AGUSTIN II   0 9 CALLE 8                                                                         BAYAMON           PR         00959
          LUIS MALDONADO / LUZ M
   703039 RODRIGUEZ                                   HC 1 BOX 3861                                                                                                      ADJUNTAS          PR         00601‐9801
   703040 LUIS MALDONADO BLOISE                       HC 33 BOX 6028                                                                                                     DORADO            PR         00646
   284795 LUIS MALDONADO MARTINEZ                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703041 LUIS MALDONADO RAMOS                        PO BOX 763                                                                                                         ADJUNTAS          PR         00601
   284796 LUIS MALDONADO REYES                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   703043 LUIS MALDONADO RODRIGUEZ                    HC 2 BOX 6931                                                                                                      ADJUNTAS          PR         00601
   703045 LUIS MALDONADO SANTIAGO                     EL MADRIGAL                    L 3 CALLE 7                                                                         PONCE             PR         00730
   703046 LUIS MALDONADO SOTO                         284 BARIADA JUDEA                                                                                                  UTUADO            PR         00641
   284797 LUIS MALDONADO TRINIDAD                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284798 LUIS MALDONADO VAZQUEZ                      REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284799 LUIS MANGUAL AMEZQUITA                      REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703048 LUIS MANRARA & ASSOC.                       PO BOX 13216                                                                                                       SAN JUAN          PR         00908
          LUIS MANUEL ARROYO
   703050 SANTIAGO                                    PO BOX 21365                                                                                                       SAN JUAN          PR         00928‐1365
          LUIS MANUEL CARRILLO JR. &
   284800 ASSOCIATES PS                               P.O. BOX 29348                                                                                                     SAN JUAN          PR         00918‐0000

   703052 LUIS MANUEL COLON FONTANES BO MANI 148                                     CALLE ELENA SEGARRA                                                                 MAYAGUEZ          PR         00682
          LUIS MANUEL FELICIANO
   703053 OLIVENCIA                  HC 04 BOX 15960                                                                                                                     SAN SEBASTIAN     PR         00685
          LUIS MANUEL HERNANDEZ
   284801 BARRETO                    REDACTED                                        REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284802 LUIS MANUEL NAVEDO CRUZ    REDACTED                                        REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703054 LUIS MANUEL ORTIZ          BAIRON PARK                                     40 P DEL CONDADO 2                                                                  CAGUAS            PR         00725

   703055 LUIS MANUEL PEREZ CARDONA                   BO TRASTALLERES                68 CALLE EMETERIO                                                                   MAYAGUEZ          PR         00680
   284803 LUIS MANUEL REYES RIVERA                    REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUIS MANUEL SERRANO
   284804 RAMIREZ                                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703059 LUIS MANUEL TORRES RAMOS                    101 CALLE TENERIFE                                                                                                 CABO ROJO         PR         00623‐9231

   703060 LUIS MANUEL TORRES TORRES                   BO PLAYITA                     50 CALLE C                                                                          SALINAS           PR         00751
   703061 LUIS MARCANO NAZARIO                        P O BOX 60075                                                                                                      BAYAMON           PR         00960
   284805 LUIS MARCANO RIVERA                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284806 LUIS MARCHAN MATTA                          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   703062 LUIS MARCHANY MARTINEZ                      C9 URB BRISAS DEL RIO HONDO                                                                                        MAYAGUEZ          PR         00680
   284807 LUIS MARIN                                  REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703063 LUIS MARIN GARCIA                           HC 1 BOX 5012                                                                                                      CIALES            PR         00638

   703064 LUIS MARIO ORTIZ SEPULVEDA                  P O BOX 3501‐270                                                                                                   JUANA DIAZ        PR         00795



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  703065 LUIS MARQUEZ POUPART                         PO BOX 21220                                                                                                   SAN JUAN            PR           00928
                                                      URB JARDINES DE RIO GRANDE
   703067 LUIS MARQUEZ TORRES                         CD 547                       CALLE 80                                                                          RIO GRANDE          PR           00745
   703068 LUIS MARRERO FELICIANO                      BO GUAVATE 22550                                                                                               CAYEY               PR           00736
          LUIS MARRERO GARCIA Y NELIDA
   284808 CALDERO                      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   703069 LUIS MARRERO LAUREANO        HC 01 BOX 2178                                                                                                                FLORIDA             PR           00650
   284809 LUIS MARRERO NEGRON          REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   703070 LUIS MARRERO PEREZ           635 FERNANDEZ JUNCO                                                                                                           SAN JUAN            PR           00977‐1820
   284810 LUIS MARRERO TORRES          REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   703071 LUIS MARTES CRUZ             URB BONNEVILLE HEIGHTS                      18 CALLE GURABO                                                                   CAGUAS              PR           00725
   703073 LUIS MARTI                   HC 01 BOX 5737                                                                                                                ARROYO              PR           00714
   703074 LUIS MARTIN JIMENEZ          EL VERDE                                    F 2 CALLE ESTE                                                                    CAGUAS              PR           00725
   703075 LUIS MARTIN TAVAREZ          BO GUAVATE 22550                                                                                                              CAYEY               PR           00736
   284811 LUIS MARTINES AUSUA          REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   284812 LUIS MARTINEZ                REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   284814 LUIS MARTINEZ / Rossy Serv. Sta. BOX 788                                 KM 2/3 5                                                                          SABANA GRANDE       PR           00637
                                           URB TERRAZAS DE CUPEY A‐44
   703078 LUIS MARTINEZ CRUZ               CALLE‐7                                                                                                                   TRUJILLO ALTO       PR           00976
   703079 LUIS MARTINEZ DEL VALLE          HC 30 BOX 33174                                                                                                           SAN LORENZO         PR           00754
   703080 LUIS MARTINEZ ECHEVARRIA         VALLE ARRIBA HEIGTHS STA                P O BOX 3572                                                                      CAROLINA            PR           00979
   703081 LUIS MARTINEZ FELICIANO          127 VILLA TAINA                                                                                                           YAUCO               PR           00698

   703082 LUIS MARTINEZ GARCIA                        CAMPAMENTO SABANA HOYOS      PO BOX 31000           SUITE 2                                                    SABANA HOYO         PR           00688
   284815 LUIS MARTINEZ LIRANZO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LUIS MARTINEZ LLORENS LAW
   284816 OFFICE PCS                                  PO BOX 902304                                                                                                  SAN JUAN            PR           00902
   284817 LUIS MARTINEZ MATOS                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   703083 LUIS MARTINEZ PEREIRA                       BOX 500                                                                                                        CIDRA               PR           00739
   703084 LUIS MARTINEZ RAMIREZ                       PO BOX 3923                                                                                                    MAYAGUEZ            PR           00681
   284818 LUIS MARTINEZ REYES                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   284819 LUIS MARTINEZ RIVERA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   284821 LUIS MARTINEZ RODRIGUEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   703087 LUIS MARTINEZ ROSA                          PO BOX 817                                                                                                     SAN LORENZO         PR           00754
   703088 LUIS MARTINEZ ROSADO                        URB MONTE CARLO              1258 CALLE 4                                                                      SAN JUAN            PR           00924
   284822 LUIS MARTINEZ SILVA                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   703089 LUIS MARTINEZ SOSA                          URB SAN GERARDO              302 CALLE OKLAHOMA                                                                SAN JUAN            PR           00926
   703090 LUIS MARTINEZ SOTO                          URB VILLA MADRID             P 10 CALLE 17                                                                     COAMO               PR           00769

   703091 LUIS MARTINEZ TORRES                        74 CALLE ANTONIO R BARCELO                                                                                     ARECIBO             PR           00612
          LUIS MARTINEZ/DBA/AAA
   703092 VCR/TV CENTER                               PO BOX 8998                                                                                                    BAYAMON             PR           00960
   284823 LUIS MATOS ARCHILLA                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   703093 LUIS MATOS HERNANDEZ                        PO BOX 1232                                                                                                    AIBONITO            PR           00705
   703094 LUIS MATOS MARTINEZ                         URB STA JUANITA              FQ 27 CALLE POLARIS                                                               BAYAMON             PR           00956
   284824 LUIS MATOS NAZARIO                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   703095 LUIS MATOS VARGAS                           6 RES J F KENNEDY                                                                                              JUANA DIAZ          PR           00795
   284825 LUIS MAYORAL REICHARD                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   284826 LUIS MAYSONET MALPICA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   284827 LUIS MEDERO MOJICA                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   703096 LUIS MEDINA GUZMAN                          P O BOX 1901                                                                                                   COROZAL             PR           00783
   284828 LUIS MEDINA LAGRAND                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  703097 LUIS MEDINA MARTINEZ                         P O BOX 627                                                                                                   TRUJILLO ALTO      PR         00977 0627
  703098 LUIS MEDINA MOLINA                           HC 02 BOX 6184            BAJADERO                                                                            ARECIBO            PR         00616‐9713
  703099 LUIS MEDINA VELEZ                            RR 4 BOX 26955                                                                                                TOA ALTA           PR         00963
  703100 LUIS MEJIA MATTEI                            BOX 5919                  COLLEGE STATION                                                                     MAYAGUEZ           PR         00681‐5919
  700225 LUIS MEJIAS RUIZ                             PO BOX 10000              SUITE 241                                                                           CAYEY              PR         00737‐9601
  703102 LUIS MELENDEZ ALBIZU                         129 DE DIEGO AVE                                                                                              SANTURCE           PR         00911
  703103 LUIS MELENDEZ DIAZ                           PO BOX 21365                                                                                                  SAN JUAN           PR         00926‐1365
  703104 LUIS MELENDEZ FARIA                          HC 1 BOX 24586                                                                                                VEGA BAJA          PR         00693
  703105 LUIS MELENDEZ LOPEZ                          P O BOX 848                                                                                                   ARECIBO            PR         00688
  703106 LUIS MELENDEZ MARTINEZ                       PO BOX 240                                                                                                    SANTA ISABEL       PR         00757
  703101 LUIS MELENDEZ MELENDEZ                       PARCELAS 299              COMUNIDAD LOS DOLORES                                                               RIO GRANDE         PR         00745
  284830 LUIS MELENDEZ NAVARRO                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  703107 LUIS MELENDEZ QUI¥ONES                       PO BOX 1054                                                                                                   GUAYNABO           PR         00970
  703108 LUIS MELENDEZ RODRIGUEZ                      PO BOX 69001 SUITE 207                                                                                        HATILLO            PR         00659
  703109 LUIS MELENDEZ SANCHEZ                        PO BOX 39                                                                                                     CIALES             PR         00638
  703110 LUIS MELENDEZ VALENTIN                       HC 2 BOX 5105                                                                                                 GUAYAMA            PR         00785
  703112 LUIS MELNDEZ GUTIERREZ                       HC 03 BOX 8657                                                                                                GUAYNABO           PR         00971
  703114 LUIS MENDEZ ALICEA                           URB EL CULEBRINAS         F 26 CALLE PINO                                                                     SAN SEBASTIAN      PR         00685
  703116 LUIS MENDEZ CINTRON                          P O BOX 142871                                                                                                ARECIBO            PR         00613
  703117 LUIS MENDEZ CRUZ                             LA ESPERANZA              V 5 CALLE 19                                                                        VEGA ALTA          PR         00692
  703119 LUIS MENDEZ SANTIAGO                         BOX 3995                                                                                                      AGUADILLA          PR         00605
  703120 LUIS MENDEZ SUAREZ                           RR 01 BOX 4614                                                                                                MARICAO            PR         00606
  284831 LUIS MENDOZA MORALES                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  703121 LUIS MENENDEZ GARCIA                         RES MANUEL A PEREZ        EDIF F11 APT 98                                                                     SAN JUAN           PR         00923
  703122 LUIS MERCADO                                 PO BOX 1235                                                                                                   CIALES             PR         00638
  703123 LUIS MERCADO FIGUEROA                        CCOND LA CALESA APT 10B   170 CALLE LOLITA TIZOL                                                              PONCE              PR         00731
  284832 LUIS MERCADO JIMENEZ                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  284833 LUIS MERCADO MOYA                            REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  703124 LUIS MERCADO RIVERA                          COMUNIDAD COCO II         SOLAR 397                                                                           SALINAS            PR         00751
  284834 LUIS MERCADO TORO                            REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  284835 LUIS MERCADO VELEZ                           REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  284836 LUIS MERCED DIAZ                             REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      URB JARDINES DE COUNTRY
   703126 LUIS MESSON HENRY                           CLUB                      L 12 CALLE 19                                                                       CAROLINA           PR         00983

   703127 LUIS MIGUEL ALVARADO ORTIZ                  BOX 1113                                                                                                      COAMO              PR         00769

   284838 LUIS MIGUEL BERMUDEZ COLON REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          LUIS MIGUEL DOMINGUEZ
   284839 TORRES                     REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          LUIS MIGUEL MELENDEZ
   284840 BURGOS                     REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   284841 LUIS MIGUEL ORTEGA BERROA                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   284842 LUIS MIGUEL PEREZ                           REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   284843 LUIS MIGUEL RALAT MANZANO                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   284844 LUIS MIGUEL RAMOS SANTOS                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   284845 LUIS MILLAN MELENDEZ                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   284846 LUIS MILLAN MUNOZ                           REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   284847 LUIS MIRANDA CASANAS                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
                                                                                BOX 2104 CALLE LOS
   703128 LUIS MIRANDA CEBALLOS                       BOMEDIANIA BAJA           MILLONARIOS                                                                         LOIZA              PR         00772



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  703130 LUIS MITCHEL LOPEZ                           HP ‐ SALA DE ENFERMERIA                                                                                          RIO PIEDRAS        PR         009360000
  284848 LUIS MITCHELL CEDENO                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  284849 LUIS MOJICA COLLAZO                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  284850 LUIS MOJICA HERNANDEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  703131 LUIS MOLINA CORTES                           VILLA GUADALUPE              DD 11 CALLE 23                                                                      CAGUAS             PR         00725‐4067
  703132 LUIS MOLINA PEREZ                            URB OPEN LAND                572 CALLE DURCAL APT 3                                                              SAN JUAN           PR         00923
  284852 LUIS MOLINARY FERNANDEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  284854 LUIS MONTALVO ARROYO                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  703136 LUIS MONTALVO IRIZARRY                       HC 06 BOX 17513                                                                                                  SAN SEBASTIAN      PR         00685
  284855 LUIS MONTALVO MEDINA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  703137 LUIS MONTALVO MURPHY                         URB VILLA MILAGROSA          51 CALLE 2                                                                          YAUCO              PR         00698
  284856 LUIS MONTALVO PAGAN                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  703138 LUIS MONTALVO RAMOS                          PO BOX 80053                                                                                                     COTTO LAUREL       PR         00780‐0053
  284857 LUIS MONTES MONTALVO                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  703139 LUIS MONTES PAGAN                            PO BOX 240                                                                                                       SANTA ISABEL       PR         00757
  703140 LUIS MORA PEREZ                              URB CROCHADO                 182 CALLE GIRASOL                                                                   ISABELA            PR         00662
  703141 LUIS MORALES                                 HC 02 BOX 5669                                                                                                   LUQUILLO           PR         00773
  284858 LUIS MORALES ASENCIO                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  703143 LUIS MORALES BENITEZZ                        BDA ISRAEL                   107 CALLE CUBA                                                                      SAN JUAN           PR         00917
  703144 LUIS MORALES FELICIANO                       BOX 214                                                                                                          AGUADA             PR         00602
  284859 LUIS MORALES FUENTES                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  284861 LUIS MORALES GARCIA                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  284862 LUIS MORALES GONZALEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   284863 LUIS MORALES GUARDARRAMA                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   703146 LUIS MORALES GUZMAN                         GPO BOX 1969                                                                                                     TOA BAJA           PR         00951
   703147 LUIS MORALES HERNANDEZ                      PO BOX 97                                                                                                        TRUJILLO ALTO      PR         00977‐0097
   703148 LUIS MORALES MELENDEZ                       HC 3 BOX 11277                                                                                                   JUANA DIAZ         PR         00795
   703149 LUIS MORALES MORA                           BO PARC VAZQUEZ              HC 01 BOX 7315                                                                      SALINAS            PR         00751
   284865 LUIS MORALES MORALES                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   284866 LUIS MORALES PADILLA                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   703152 LUIS MORALES PUMPING                        APT 4042                                                                                                         CAROLINA           PR         00984
   703154 LUIS MORALES RIVERA                         HC 06 BOX 72813                                                                                                  CAGUAS             PR         00725
                                                                                   MM 25 CALLE PASEO DEL
   703155 LUIS MORALES RUIZ                           MONTE CLARO                  PARQUE                                                                              BAYAMON            PR         00619
   703156 LUIS MORALES SANTIAGO                       HC 03 BOX 13286                                                                                                  JUANA DIAZ         PR         00795
   703157 LUIS MORALES SERRANO                        VILLA SERRANO                N 12 ISABEL 2                                                                       ARECIBO            PR         00612
   284868 LUIS MORALES VELEZ                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   703160 LUIS MOREIRA CACHOLA                        EXT MELENDEZ B 113           CALLE 13                                                                            FAJARDO            PR         00738‐0000
   284869 LUIS MOTA DE LA ROSA                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   703161 LUIS MOUX FIGUEROA                          HC 1 BOX 13172                                                                                                   RIO GRANDE         PR         00745

   703162 LUIS MOYA CHAVEZ                            BO LLANADAS SECTOR IGLESIA   4 216 BZN                                                                           ISABELA            PR         00662
   703164 LUIS MOYET CORTES                           URB LEVITTOWN                K‐3 CALLE MYRNA                                                                     TOA BAJA           PR         00949

   703165 LUIS MOYETT DBA MCDONALDS                   CAPARRA HEIGHTS              704 CALLE ESCORAL                                                                   SAN JUAN           PR         00920‐4731
   284870 LUIS MOYETT ROLDAN                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   703166 LUIS MULERO FONSECA                         VILLAS ESPERANZA             70 CALLE BONANZA                                                                    CAGUAS             PR         00725
   703167 LUIS MULERO LOPEZ                           HC 05 BOX 52894                                                                                                  CAGUAS             PR         00725
   284871 LUIS MULERO MARTINEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   284874 LUIS MUNIZ COLON                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   284876 LUIS MUNIZ FLORES                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   284877 LUIS MUNIZ MALDONADO                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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MML ID                NAME                                      ADDRESS 1                   ADDRESS 2                ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  703168 LUIS MUNIZ PEREZ                             PO BOX 27033                                                                                                   MAYAGUEZ          PR         00680
  284878 LUIS MUNOZ DIAZ                              REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284880 LUIS MUNOZ MORALES                           REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284881 LUIS MUNOZ MUNOZ                             REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284882 LUIS MUNOZ ORTIZ                             REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284883 LUIS MUNOZ RIVERA                            REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703170 LUIS MURPHY MALDONADO                        P O BOX 1491                                                                                                   CABO ROJO         PR         00623‐1491
  284886 LUIS N BLANCO MATOS                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284887 LUIS N CARABALLO CRUZ                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284888 LUIS N COLON OLIVERAS                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703173 LUIS N CORDERO ABREU                         BO COTTO                   SEC LA PRA BOX 11                                                                   ISABELA           PR         00662
  703174 LUIS N DE JESUS                              URB BALDRICH               302 PEDRO BEGAY                                                                     SAN JUAN          PR         00918
  703175 LUIS N ESPINELL CASTRO                       GUADIANA SECTOR ESPINEL    HC 74 BOX 5643                                                                      NARANJITO         PR         00719
  703176 LUIS N FERRER HERNANDEZ                      1753 PASEO DARCENA                                                                                             TOA BAJA          PR         00949
  284889 LUIS N FERRER RAMIREZ                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  284890 LUIS N FIGUEROA CEDENO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703177 LUIS N GONZALEZ PEROCIER                     HC 5 BOX 16327                                                                                                 SAN SEBASTIAN     PR         00685

   700226 LUIS N GONZALEZ RODRIGUEZ                   PO BOX 1121                                                                                                    HORMIGUEROS       PR         00660
   284891 LUIS N ITURREGUI MUNOZ                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703179 LUIS N MARZANT ROSARIO                      VAN SCOY                   U 25 CALLE 1 ESTE                                                                   BAYAMON           PR         00957
   284892 LUIS N MEDINA REYES                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUIS N MELENDEZ MELENDEZ /
   703180 GRANJA MELEND                               LA TROCHA                  191 B CALLE ROBLE                                                                   VEGA BAJA         PR         00693
   703181 LUIS N OCASIO ALMODOVAR                     HC 04 BOX 24399                                                                                                LAJAS             PR         00667‐9802
   284893 LUIS N ROMAN MILLET                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284894 LUIS N ROSADO RODRIGUEZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703182 LUIS N SALDANA ROMAN                        VIG TOWER SUITE 702        1225 PONCE DE LEON AVE                                                              SAN JUAN          PR         00907
   284895 LUIS N SANTIAGO APONTE                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703183 LUIS N VELAZQUEZ RAMOS                      BO VILLA BORINQUEN         BOX 76                                                                              VIEQUES           PR         00765
   284896 LUIS N. MATOS IZQUIERDO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284897 LUIS N. MENDEZ MIRANDA                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284898 LUIS N. OCASIO ALMODOVAR                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284899 LUIS N. ROSADO RODRIGUEZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703184 LUIS NAVARRO RIVERA                         HC 1 BOX 4321                                                                                                  ARROYO            PR         00714
          LUIS NAVARRO Y JUANITA
   284901 RODRIGUEZ                                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703185 LUIS NAVEDO                                 BOX 2460                                                                                                       JUNCOS            PR         00777
   703186 LUIS NEBOT MALDONADO                        HC 01 BOX 3332                                                                                                 CAMUY             PR         00627
   703187 LUIS NEGRON GONZALEZ                        HC 7 BOX 2206                                                                                                  NARANJITO         PR         00719
   703188 LUIS NEGRON LOPEZ                           10 BO GUAYANEY                                                                                                 MANATI            PR         00674
   284903 LUIS NEGRON MALDONADO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284904 LUIS NEGRON REYES                           REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   284905 LUIS NEVAREZ ROSADO                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703191 LUIS NIEVES CABAN                           BOX 1326                                                                                                       AGUADILLA         PR         00605
   703192 LUIS NIEVES LOPEZ                           Y/O JUANA NIEVES SANTANA   HC 33                                                                               DORADO            PR         00646
   284906 LUIS NIEVES MENDEZ                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703193 LUIS NIEVES MERCADO                         URB COUNTRY CLUB 1100      CALLE ALEJO CRUZADO                                                                 SAN JUAN          PR         00924
   284907 LUIS NIEVES NIEVES                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703195 LUIS NIEVES OTERO                           CAMPO ALEGRE               B 30 CALLE ROBLE                                                                    BAYAMON           PR         00956
   284908 LUIS NIEVES PEREZ                           REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703196 LUIS NIEVES RUIZ                            URB LA HACIENDA            AR 29 CALLE 44                                                                      GUAYAMA           PR         00784
   284909 LUIS NOEL MANGUAL CRESPO                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  284911 LUIS NOGUERAS MIRANDA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  703197 LUIS NORAT ZAYAS                             45A PARCELA NIAGARA                                                                                                   COAMO                PR         00769
  703198 LUIS NORMANDIA GARCIA                        HC 01 BOX 7197                                                                                                        TOA BAJA             PR         00949
  284912 LUIS NUNEZ MATOS                             REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  284914 LUIS NUNEZ REINA                             REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  284915 LUIS NUNEZ RUIZ                              REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  703199 LUIS O ALICEA BERRIOS                        PMB 143 PO BOX 1345                                                                                                   TOA ALTA             PR         00953
  284917 LUIS O ALOMAR RAMOS                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  284918 LUIS O ALOMAR RODRIGUEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  703200 LUIS O APONTE URBINA                         URB VILLA DEL CARMEN         K 12 CALLE MARGARITA                                                                     CIDRA                PR         00739
  703201 LUIS O ARAGONES SASTRE                       VEGA BAJA LAKES              D 8 CALLE 3                                                                              VEGA BAJA            PR         00693
  284921 LUIS O AVILES RODRIGUEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  284923 LUIS O AVILES ZAPATA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  703202 LUIS O BARBOSA RIVERA                        RR 01 BOX 5801                                                                                                        CIDRA                PR         00739
  284924 LUIS O BARRETO PEREZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   284926 LUIS O BERASTAIN VELAZQUEZ                  REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   284927 LUIS O BERRIOS HERNANDEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   284928 LUIS O BERRIOS ORTIZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   703205 LUIS O BURGOS MARTINEZ                      PO BOX 658                                                                                                            TOA BAJA             PR         00951
   284929 LUIS O CALDERON CEPEDA                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   703208 LUIS O CALDERON LOPEZ                       PO BOX 798                                                                                                            LAJAS                PR         00667
   703209 LUIS O CAMACHO ROSA                         HC1 BOX 3760                                                                                                          ARROYO               PR         00714
   284930 LUIS O CANDELARIA CRESPO                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   284931 LUIS O CARDONA PAGAN                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
          LUIS O CARRASQUILLO
   284932 CARABALLO                                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   284933 LUIS O CARRILLO MONTANEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   284934 LUIS O CARRILLO MORALES                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   284936 LUIS O CINTRON FONALLEDAS                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   284937 LUIS O COLON BARRETO                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   284938 LUIS O COLON MARTINEZ                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   284939 LUIS O COLON MORALES                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   284941 LUIS O COLORADO HERNANDEZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   284942 LUIS O CORDERO RIVERA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   703212 LUIS O CORREA TORRES                        PALO BLANCO                  162 CALLE 5                                                                              ARECIBO              PR         00616
   284944 LUIS O CORTES HERNANDEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   703213 LUIS O CRUZ FERNANDEZ                       HC 2 BOX 13999                                                                                                        GURABO               PR         00778
                                                      SAN RAFAEL STATE 146 CALLE
   703214 LUIS O CRUZ ORTEGA                          AZUCENA                                                                                                               BAYAMON              PR         00959
   284946 LUIS O DAVILA ADORNO                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   284947 LUIS O DE LEON                              REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   703216 LUIS O DELGADO CARRASQUILLO URB VERDEMAT                                 433 CALLE 18                                                                             PTA SANTIAGO         PR         00741

   703217 LUIS O ECHEVARRIA MORALES                   URB VILLA RICA               AN 40 CALLE EVANS                                                                        BAYAMON              PR         00959
   284949 LUIS O FERNANDEZ BERRIOS                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   703218 LUIS O FERNANDEZ CORCHADO                   URB 3T                       CALLE BROMELIA                                                                           ISABELA              PR         00662
   703219 LUIS O FIGLIOLO BACCARO                     COND OCEAN TOWER             AVE ISLA VERDE Y T APT 1102                                                              CAROLINA             PR         00979
   284950 LUIS O FIGUEROA REYES                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   703221 LUIS O FIGUEROA ROSARIO                     PO BOX 691                                                                                                            COMERIO              PR         00782



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  284951 LUIS O FLORES FONTANEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  284952 LUIS O FRANCO DONES                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  284953 LUIS O GALAN VALENTIN                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  703222 LUIS O GARCIA CALDERON                       HC 01 BOX 5754                                                                                                 LOIZA                PR         00772
  284954 LUIS O GARCIA MORALES                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  284956 LUIS O GONZALEZ BERNARDI                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  284957 LUIS O GONZALEZ LOPERENA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   703225 LUIS O GUARDIOLA CONCEPCION PO BOX 1185                                                                                                                    VEGA ALTA            PR         00692
   284958 LUIS O GUZMAN VAZQUEZ       REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   284959 LUIS O HERNANDEZ CASANOVA                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703226 LUIS O IBARRY ORTIZ                         HC 73 BOX 5088                                                                                                 NARANJITO            PR         00719‐9801
   284960 LUIS O JACHO                                REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          LUIS O JUSTINIANO DBA
   703227 SENSOROUND AUDIO                            11 CALLE SALUD SUR                                                                                             MAYAGUEZ             PR         00680
   703228 LUIS O LAUSELL DE LA ROSA                   COND RIVER PARK A 205                                                                                          BAYAMON              PR         00961
   703229 LUIS O LOPEZ MOJICA                         HC 2 BOX 4252                                                                                                  LAS PIEDRAS          PR         00771‐9610
   284963 LUIS O LUGO SANCHEZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          LUIS O MALDONADO
   284964 MALDONADO                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284965 LUIS O MANGUAL ORTIZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703230 LUIS O MARRERO OLMEDA                       URB BRISAS DE CANOVANAS      73 CALLE EL ZUMBADOR                                                              CANOVANAS            PR         00729

   284966 LUIS O MARTINEZ HERNANDEZ                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703231 LUIS O MARTINEZ MEDINA                      PO BOX 1503                                                                                                    ISABELA              PR         00662
   703233 LUIS O MEDINA PEREZ                         PO BOX 1313                                                                                                    ARROYO               PR         00714
   284967 LUIS O MERCADO JIMENEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284968 LUIS O MERCADO PEREZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284970 LUIS O MORALES MONTALVO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284971 LUIS O MORALES SOTO                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          LUIS O MORALES SOTO DBA                     URB. VERDE MAR CALLE 5 #66
   284975 TRANS ESCOLAR                               PUNTA SALINAS                                                                                                  HUMACAO              PR         00741‐2313
   284976 LUIS O MUNOZ ORTIZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                      URB HACIENDAS CONSTANCIAS
   703234 LUIS O NEGRON GARCIA                        757                                                                                                            HORMIGUEROS          PR         00660
   284977 LUIS O OJEDA PEREZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284978 LUIS O OLMEDA BERRIOS                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284979 LUIS O ORTIZ RODRIGUEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284980 LUIS O PABON SILVA                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284981 LUIS O PANTOJAS MALPICA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284982 LUIS O PEREZ GONZALEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284983 LUIS O PEREZ RODRIGUEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284984 LUIS O PEREZ VELEZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284985 LUIS O PIETRI CARABALLO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284986 LUIS O PINO BATISTA                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703239 LUIS O PLACERES RIVERA                      HC 03 BOX 5664                                                                                                 HUMACAO              PR         00791
   284987 LUIS O PLANAS APONTE                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703241 LUIS O POMALES VELAZQUEZ                    PO BOX 623                                                                                                     NAGUABO              PR         00718
   284988 LUIS O QUINTERO CALCANO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   284989 LUIS O RAMIREZ RAMIREZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703242 LUIS O RAMOS COLON                          P O BOX 665                                                                                                    BARRANQUITAS         PR         00794
   284990 LUIS O REYES GARCIA                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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MML ID                NAME                                       ADDRESS 1                         ADDRESS 2                  ADDRESS 3                           ADDRESS 4              CITY       STATE     POSTAL CODE       COUNTRY
  284991 LUIS O RIJOS DAVILA                           REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                       2321 CALLE UNIVERSIDAD APT
   703244 LUIS O RIVERA BURGOS                         2102                                                                                                                   PONCE               PR         00717‐0714
   703245 LUIS O RIVERA CANDELARIA                     PMB 243                        PO BOX 3080                                                                             GURABO              PR         00778
   284992 LUIS O RIVERA CIRINO                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   284993 LUIS O RIVERA GARCIA                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703247 LUIS O RIVERA PEREZ                          BUENA VENTURA                  62 G CALLE ORQUIDEA                                                                     CAROLINA            PR         00987
   284994 LUIS O RIVERA VALENTIN                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703251 LUIS O RODRIGUEZ                             RR 02 BOX 549                                                                                                          SAN JUAN            PR         00926

   703252 LUIS O RODRIGUEZ GONZALEZ                    P O BOX 312                                                                                                            QUEBRADILLAS        PR         00678
   703253 LUIS O RODRIGUEZ LOPEZ                       VISTAS DE RIO GRANDE II        542 CALLE ALMACIGO                                                                      RIO GRANDE          PR         00745

   703254 LUIS O RODRIGUEZ MALDONADO SANTA JUANITA                                    N2‐2 SECCION 9 CALLE GUINA                                                              BAYAMON             PR         00956

   284996 LUIS O RODRIGUEZ MERCADO                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703255 LUIS O ROMAN NEGRON                          PO BOX 513                                                                                                             CANOVANAS           PR         00729
   284997 LUIS O ROMAN PINERO                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703256 LUIS O ROMERO LOPEZ                          HC 3 BOX 28400                                                                                                         ARECIBO             PR         00612
   703257 LUIS O ROSADO ROSADO                         PUNTA DIAMANTE                 SOLAR II 2                                                                              PONCE               PR         00731
   284998 LUIS O ROSARIO CARABALLO                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703258 LUIS O ROSARIO COLON                         PO BOX 241                                                                                                             BAYAMON             PR         00960‐0241
   284999 LUIS O ROSARIO GARCIA                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703259 LUIS O SANABRIA RIOS                         HC 02 BOX 10602                                                                                                        GUAYNABO            PR         00971
   285000 LUIS O SANCHEZ RIVERA                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                       VILLA TURABO B 31 CALLE PINO
   703260 LUIS O SANCHEZ RODRIGUEZ                     APT A                                                                                                                  CAGUAS              PR         00725
   703261 LUIS O SANTANA DIAZ                          BOX 881                                                                                                                CAGUAS              PR         00725
          LUIS O SANTANA
   703262 LASTRA/PIRATAS DE CAROLI                     VILLA CAROLINA                 162 CALLE 422                                                                           CAROLINA            PR         00685
   703264 LUIS O SANTIAGO DIAZ                         BOX 972                                                                                                                OROCOVIS            PR         00720
   285002 LUIS O SANTIAGO SANTANA                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703265 LUIS O SERRANO                               PO BOX 21365                                                                                                           SAN JUAN            PR         00928
   285003 LUIS O SOLIS VIERA                           REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285004 LUIS O SOTO IRIZARRY                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285005 LUIS O TARAFA PEREZ                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285006 LUIS O TORRES BERRIOS                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285007 LUIS O VALENTIN NIEVES                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285008 LUIS O VAZQUEZ CAMPOS                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703269 LUIS O VAZQUEZ ORTIZ                         JARDINES DE VUENA VISTA        A 33                                                                                    CAYEY               PR         00736
   703270 LUIS O VAZQUEZ RIVERA                        HC 80 BOX 8611                                                                                                         DORADO              PR         00646
   285009 LUIS O VEGA ALVAREZ                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703271 LUIS O VEGA GARCIA                           P O BOX 1478                                                                                                           GUAYAMA             PR         00784
   703272 LUIS O VEGA VAZQUEZ                          HC 12 BOX 5486                                                                                                         HUMACAO             PR         00791‐9200
   703273 LUIS O VELAZQUEZ                             ESTANCIAS DE ALTANTICA         J 11 CALLE 1                                                                            LUQUILLO            PR         00773
   703274 LUIS O VERA TORRES                           PO BOX 140591                                                                                                          ARECIBO             PR         00612
   703275 LUIS O. CORTES COTTO                         PO BOX 192716                                                                                                          SAN JUAN            PR         00919
   285010 LUIS O. CRUZ FIGUEROA                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285011 LUIS O. DAVILA QUINONES                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285012 LUIS O. GONZALEZ VEGA                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703276 LUIS O. GONZALEZ< DIAZ                       CUPEY GARDENS                  G2 CALLE 4 URB CUPEY GDNS                                                               SAN JUAN            PR         00926

   285013 LUIS O. HERNANDEZ CORDERO                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  703277 LUIS O. HERNANDEZ CRESPO                      HC 04 BOX 17535                                                                                                  CAMUY             PR         00627
  285014 LUIS O. PEREZ VELAZQUEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285015 Luis O. QuiNones Rodriguez                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285016 LUIS O. RONDA PAGAN                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285017 LUIS OBERGH MARZAN                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285018 LUIS OCASIO ALVELO                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703280 LUIS OCASIO VAZQUEZ                           URB VILLA DE CARMEN          4157 AVE CONSTANCIA                                                                 PONCE             PR         00716
  703281 LUIS OCASIO VEGA                              P. O. BOX 953                                                                                                    RIO GRANDE        PR         00745
  703282 LUIS OCTAVIO FIGUEROA                         PO BOX 1469                                                                                                      GUAYAMA           PR         00785
  703283 LUIS OJEDA ASENCIO                            BO MONTE GRANDE              8 SECTOR VEGA ALEGRE                                                                CABO ROJO         PR         00623
  703284 LUIS OJEDA CABAN                              RES LAS CASAS                EDIF 19 APT 224                                                                     SAN JUAN          PR         00915
  700228 LUIS OLIVARES FRANCISCO                       URB SABANA GARNENS           6‐19 CALLE 5                                                                        CAROLINA          PR         00983
  285020 LUIS OLIVARI                                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703286 LUIS OLIVERA SEPULVEDA                        URB SULTANA                  67 CALLE RONDA                                                                      MAYAGUEZ          PR         00680
  703287 LUIS OLIVERAS AMELLY                          HC 01                        BOX 5200                                                                            HORMIGUEROS       PR         00660
  703288 LUIS OLIVERAS MADERA                          PO BOX 7126                                                                                                      PONCE             PR         00732
  285021 LUIS OLIVO RIVERA                             REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   703290 LUIS OLMO ROMAN                              117 CALLE FERNANDEZ GARCIA                                                                                       LUQUILLO          PR         00773

   285022 LUIS OMAR ALDAHONDO FINA                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUIS OMAR HERNANDEZ
   285025 NAVARRO                                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285026 LUIS OMAR MARTINEZ CRUZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUIS OMAR MELENDEZ
   703292 CARABALLO                                    BO BUENA VISTA               128 CALLE 6 HATO REY                                                                SAN JUAN          PR         00917
   703291 LUIS OMAR PEREZ BAEZ                         PO BOX 6142 HC01                                                                                                 JUNCOS            PR         00777
   703293 LUIS OMAR RENTAL                             PO BOX 1011                                                                                                      LAJAS             PR         00667
   703294 LUIS ORAMAS ROMAN                            PO BOX 1657                                                                                                      TOA BAJA          PR         00951
   703295 LUIS ORENGO ROMAN                            URB COLINAS DE YAUCO         C3 CALLE 4                                                                          YAUCO             PR         00698

   703296 LUIS ORLANDO CARDONA COLON HC 2 BOX 46396                                                                                                                     VEGA BAJA         PR         00693
          LUIS ORLANDO COLORADO
   285028 HERNANDEZ                  REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285029 LUIS ORLANDO CRUZ TORRES   REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUIS ORLANDO RIVERA
   285030 FELICIANO                  REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   285031 LUIS ORLANDO ROBLES ROJAS                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUIS ORLANDO RODRIGUEZ
   285032 GONZALEZ                                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUIS ORLANDO VARGAS
   285034 QUIJANO                                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   703297 LUIS ORLANDO VAZQUEZ REYES                   P O BOX 11855                                                                                                    SAN JUAN          PR         00910‐4225
   285035 LUIS OROPEZA ESTRADA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285036 LUIS ORRACA SANTANA                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703298 LUIS ORTEGA FIGUEROA                         VILLA CAROLINA               73‐12 CALLE 61                                                                      CAROLINA          PR         00985‐4943
   285037 LUIS ORTIZ                                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUIS ORTIZ / PERITO
   703301 ELECTRICISTA                                 PARCELAS MAGUEYES            259 CALLE ZAFIRO                                                                    PONCE             PR         00728
   703302 LUIS ORTIZ BERMUDEZ                          PO BOX 7126                                                                                                      PONCE             PR         00732
   285039 LUIS ORTIZ COLON                             REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  285040 LUIS ORTIZ GARCIA                            REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285041 LUIS ORTIZ GONZALEZ                          REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703305 LUIS ORTIZ LOPEZ                             PMB 315                      40 D CALLE CALAF                                                                 SAN JUAN          PR         00918
  703306 LUIS ORTIZ LUNA                              RES BAIROA                   CW 11 CALLE 12                                                                   CAGUAS            PR         00725
  285044 LUIS ORTIZ MARRERO                           REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285045 LUIS ORTIZ MATIAS                            REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285047 LUIS ORTIZ MONTANEZ                          REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285048 LUIS ORTIZ NUNEZ                             REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703307 LUIS ORTIZ ORTIZ                             BOX 22550                                                                                                     CAYEY             PR         00736
  703308 LUIS ORTIZ RIVERA                            VILLAS DE LOIZA              TT 21 CALLE 28A                                                                  CANOVANAS         PR         00729
  285049 LUIS ORTIZ RODRIGUEZ                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703309 LUIS ORTIZ SANCHEZ                           PMB 208 P O BOX 10000                                                                                         CANOVANAS         PR         00729
         LUIS ORTIZ VEGA / CRIMILDA
  285050 SILVESTRY                                    REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703312 LUIS ORTIZ VELAZQUEZ                         URB MONTE SOL                D 19 CALLE 5                                                                     JUANA DIAZ        PR         00795
         LUIS OSCAR ANDRADES
  703313 GONZALEZ                                     HC 01 BOX 4384                                                                                                NAGUABO           PR         00718
  285051 LUIS OSCAR CINTRON                           REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703315 LUIS OSCAR DAVILA ALEMAN                     1584 AVE PONCE DE LEON                                                                                        SAN JUAN          PR         00926
  285052 LUIS OSCAR RIVERA MIGUEL                     REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703316 LUIS OSCAR ROIG PACHECO                      P O BOX 3027                                                                                                  YAUCO             PR         00698
  285054 LUIS OSORIO CEPEDA                           REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703317 LUIS OSORIO DIAZ                             EXT EL COMANDANTE            105 CALLE REALTO                                                                 CAROLINA          PR         00982
  285055 LUIS OSORIO RIVERA                           REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703318 LUIS OSUNA CARTAGENA                         PO BOX 4268                                                                                                   CAROLINA          PR         00983
         LUIS OSVALDO RODRIGUEZ
  285056 COLON                                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703319 LUIS OTERO COSME                             BARRIO VIETNAM               28 CALLE S                                                                       GUAYNABO          PR         00969
  703320 LUIS OTERO ROSA                              PO BOX 1062                                                                                                   SABANA SECA       PR         00952
  285057 LUIS OTERO SANCHEZ                           REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285058 LUIS OTERO SANTIAGO                          REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285059 LUIS OTONIEL PEREZ PAGAN                     REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703321 LUIS OVIDIO OSORIA NIEVES                    HC 01 BOX 8025                                                                                                HATILLO           PR         00659‐9706
  703323 LUIS P NEVAREZ ZAVALA                        MIRAMAR TOWER 11             721 CALLE HERNANDEZ                                                              SAN JUAN          PR         00907
  285061 LUIS P RODRIGUEZ ESCARIN                     REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285062 LUIS P RUEDA CARVAJAL                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285063 LUIS P SANCHEZ CASO                          REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285065 LUIS P SANCHEZ LONGO                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703327 LUIS PABON RIVERA                            TORRIMAR                     16‐15 ALHAMBRA                                                                   GUAYNABO          PR         00966
  285066 LUIS PABON RODRIGUEZ                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703329 LUIS PABON TORRES                            RR 02 BUZON 6499                                                                                              MANATI            PR         00674
  285067 LUIS PADILLA COLON                           REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         LUIS PADILLA FEBUS/ WINDMAR
  285068 PV ENERGY IN                                 BO PUGNADO AFUERA            9 SEC LAS GRAJAS                                                                 VEGA BAJA         PR         00693
  703333 LUIS PADILLA LOZADA                          HC 01 BOX 6395                                                                                                COROZAL           PR         00783
  285070 LUIS PAGAN HERNANDEZ                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285071 LUIS PAGAN IRIZARRY                          REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703334 LUIS PAGAN PEREZ                             URB EL CULEBRINA             L 10 CALLE PINO                                                                  SAN SEBASTIAN     PR         00685

   703335 LUIS PAGAN RODRIGUEZ                        PQUE DEL LAGO 100 CALLE 13   APARTADO 423                                                                     TOA BAJA          PR         00949
   285072 LUIS PANETO CASTRO                          REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285074 LUIS PARRILLA QUINONEZ                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703336 LUIS PASTRANA                               PLAZA SUCHVILLE              1075 CARR 2 APT 302                                                              BAYAMON           PR         00959



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  703337 LUIS PASTRANA BRIGNONI                        URB SAN ANTONIO             H12 CALLE 8                                                                              HUMACAO             PR         00791
  285075 LUIS PAYANO FRIAS                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  285076 LUIS PEDRAZA GONZALEZ                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  703339 LUIS PEDROZA SCHOEDER                         PO BOX 16208                                                                                                         HUMACAO             PR         00791‐9706
  285077 LUIS PEDROZA SOTO                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  285079 LUIS PELLICIA CAPETILLO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  703340 LUIS PELLOT VALENTIN                          HC 56 BOX 4300                                                                                                       AGUADA              PR         00602
  285080 LUIS PENA CRECIONI                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  703341 LUIS PEREIRA RIVERA                           URB LEVITOWN LAKES          AS 19 CALLE LILLIAM                                                                      TOA BAJA            PR         00949
  285081 LUIS PEREZ ANDINO                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  285082 LUIS PEREZ AVILES                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  285084 Luis Perez Burgos                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   703343 LUIS PEREZ CALDERON                          URB JARDINES DE BAYAMONTE   23 CALLE PELICANO                                                                        BAYAMON             PR         00956
   285086 LUIS PEREZ CARRIL                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                       URB SAN JOSE 411 CALLE
   703344 LUIS PEREZ CINTRON                           ARANJUEZ                                                                                                             SAN JUAN            PR         00923
   703346 LUIS PEREZ ELIAS                             7 CALLE LUSILA SILVA                                                                                                 SAN JUAN            PR         00901
   285087 LUIS PEREZ FELICIANO                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285089 LUIS PEREZ GIUSTI                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703349 LUIS PEREZ GONZALEZ                          P O BOX 461                                                                                                          MAYAGUEZ            PR         00681
   703351 LUIS PEREZ LOPEZ                             VILLA SEVAL                 5 CALLE A                                                                                LARES               PR         00669
   703352 LUIS PEREZ MEDINA                            ROYAL GARDENS               E 13 A CALLE JOSEFINA                                                                    BAYAMON             PR         00956
   703353 LUIS PEREZ MENDEZ                            5TA SECCION SANTA JUANITA   X 7 CALLE BIZKAYNE                                                                       BAYAMON             PR         00956
   703355 LUIS PEREZ ORTIZ                             150 2DO PISO                                                                                                         SAN JUAN            PR         00901
   703356 LUIS PEREZ PEREZ                             1118 CALLE LOS ALMENDROS                                                                                             HATILLO             PR         00659 2442
   285090 LUIS PEREZ QUILES                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703357 LUIS PEREZ REYES                             P O BOX 129                                                                                                          LARES               PR         00669
   285092 LUIS PEREZ RIVERA                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703362 LUIS PEREZ RODRIGUEZ                         PO BOX 7126                                                                                                          PONCE               PR         00732
   703364 LUIS PEREZ SANCHEZ                           HP ‐ SALA DE ENFERMERIA                                                                                              RIO PIEDRAS         PR         009360000
   285093 LUIS PEREZ SANTANA                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285094 LUIS PEREZ TRELLES                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703365 LUIS PEREZ VIERA                             HC02 BOX 14484                                                                                                       AGUAS BUENAS        PR         00703
   285095 LUIS PERFUME VELAZQUEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703366 LUIS PICO SANCHEZ                            PO BOX 1246                                                                                                          GUAYNABO            PR         00970‐1246
   771153 LUIS PINEIRO FIGUEROA                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285097 LUIS PINEIRO VELAZQUEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285098 LUIS PINERO RIVERA                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285099 LUIS PINOT ARECCO                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703367 LUIS PINTOR FIGUEROA                         HC 1 BOX 4132                                                                                                        YABUCOA             PR         00767
   285100 LUIS PIRALLO PAGAN                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285101 LUIS PLAZA PLAZA                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUIS POLANCO CONTRACTOR,
   285103 INC.                                         HC‐ 01 BOX 12894            URB. COLINA DEL YUNQUE                                                                   RIO GRANDE          PR         00745
   703368 LUIS POMALES ALVAREZ                         COND PLAZA ANTILLAS         151 CALLE CESAR GONZALEZ                                                                 SAN JUAN            PR         00918
   285104 LUIS PONCE MARTINEZ                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703369 LUIS PUMARADA O NEILL                        VILLA INTERAMERICANA        D 37 CALLE 3                                                                             SAN GERMAN          PR         00683
                                                       URB LOS ARBOLES DE MONTE
   703370 LUIS QUESADA SUAREZ                          HIEDRAS                     600 BLVD DE LOS ARBOLES 434                                                              SAN JUAN            PR         00926‐7120
   700229 LUIS QUI¥ONES ROMAN                          URB SANTA ROSA              760 CALLE AMERICA                                                                        ISABELA             PR         00662
   285106 LUIS QUILES RAMOS                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703372 LUIS QUILES RIVERA                           HC 02 6982                                                                                                           UTUADO              PR         00641



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  285107 LUIS QUINONES                                REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  285108 LUIS QUINONES CRUZ                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  703373 LUIS QUINONES LOPEZ                          P O BOX 361861                                                                                                      SAN JUAN            PR         00936
  285109 LUIS QUINONES ORTIZ                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  703374 LUIS QUINONES SERRANO                        COOP VILLA KENNEDY EDIF 21    APT 327 VILLA PALMERAS                                                                SAN JUAN            PR         00915
  285110 LUIS QUINONES SOTOMAYOR                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  285111 LUIS QUINONES TORRES                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  703375 LUIS QUINTANA COLON                          BO OBRERO                     1006 CALLE LEDESMA                                                                    ARECIBO             PR         00612‐2726
  285113 LUIS QUINTANA JIMENEZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  700230 LUIS QUINTANA JIMENEZ                        PO BOX 1570                                                                                                         LARES               PR         00669
  703376 LUIS QUINTERO PABON                          P O BOX 60075                                                                                                       BAYAMON             PR         00960
  703377 LUIS QUINTERO TORRES                         PO BOX 7126                                                                                                         PONCE               PR         00732

   703381 LUIS R ACOSTA LOPEZ                         URB. BUENA VISTA HC‐4 R‐923                                                                                         HUMACAO             PR         00791
   285114 LUIS R ADAMES BORGES                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703383 LUIS R ADORNO CRUZ                          VILLA DE SAN AGUSTIN          G18 CALLE 3                                                                           BAYAMON             PR         00959
   703384 LUIS R ADORNO ORTIZ                         PO BOX 347                                                                                                          TRUJILLO ALTO       PR         00977
   285115 LUIS R AGUAYO DE JESUS                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703386 LUIS R AGUILAR ORTIZ                        URB ROUND HILLS               1525 CALLE CLAVELS                                                                    TRUJILLO ALTO       PR         00976‐2731
   703387 LUIS R ALBINO SILVA                         HC 9 BOX 4683                                                                                                       SABANA GRANDE       PR         00637
   285116 LUIS R ALDIVA LOPEZ                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285117 LUIS R ALEJANDRO SILVA                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285118 LUIS R ALICEA RIVERA                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703388 LUIS R ALSENA BETANCOURT                    RR 7 BOX 7195                                                                                                       SAN JUAN            PR         00926

   703389 LUIS R ALVARADO MORALES                     232 AVE ELEONOR ROOSEVELT                                                                                           SAN JUAN            PR         00907
   703390 LUIS R ALVAREZ MAURA                        PO BOX 4114                                                                                                         CAROLINA            PR         00983
   703391 LUIS R AMBERT                               LAS LOMAS                     T 3 8 CARR 21                                                                         SAN JUAN            PR         00921
   703392 LUIS R AMBERT RIVERA                        URB ROYAL TOWN                E8 CALLE 8                                                                            BAYAMON             PR         00956‐4541
   285119 LUIS R ANDINO RIVERA                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703394 LUIS R APONTE APONTE                        RR 36 BOX 6238                                                                                                      SAN JUAN            PR         00926
   703395 LUIS R APONTE COLLAZO                       COND SAN FRANCISCO JAVIER     50 CALLE SAN JOSE APT A5                                                              GUAYNABO            PR         00969
   285120 LUIS R APONTE GARCIA                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703396 LUIS R AROCHO TRUJILLO                      BO SALTOS 11                  HC 02 BOX 18074                                                                       SAN SEBASTIAN       PR         00685
   703397 LUIS R ARROYO MERCADER                      1479 AVE ASHFORD APT 321                                                                                            SAN JUAN            PR         00917
   703399 LUIS R ARROYO VIVAS                         545 BO TENERIAS                                                                                                     PONCE               PR         00716
   703400 LUIS R ARZON CORDERO                        PLAYA HUCARES                 BOX 109                                                                               NAGUABO             PR         00718
          LUIS R AUTO AIR &
   703401 REFRIGERATION                               PO BOX 125                                                                                                          AGUAS BUENAS        PR         00703
   285121 LUIS R AYALA REYES                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285122 LUIS R BARBOSA OYOLA                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285123 LUIS R BARRETO CAEZ                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700231 LUIS R BARRETO LOPEZ                        1725 REPARTO LOS PINOS                                                                                              SAN ANTONIO         PR         00690
   703402 LUIS R BARRETO PEREZ                        URB RIO CRISTAL RA            5 CALLE VIA DEL RIO                                                                   TRUJILLO ALTO       PR         00976
   703403 LUIS R BARRIOS SOTO                         PO BOX 147                                                                                                          FLORIDA             PR         00650
   703404 LUIS R BENITEZ HERNANDEZ                    EST DE LA FUENTE              124 CALLE GARDENIA                                                                    TOA ALTA            PR         00953
   703405 LUIS R BENITEZ NIEVES                       PO BOX 20249                                                                                                        SAN JUAN            PR         00928
   285124 LUIS R BERMUDEZ GONZALEZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   285125 LUIS R BERMUDEZ MONTANEZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703407 LUIS R BERRIOS NEGRON                       COND PLAYA BLANCA             AVE ISLA VERDE APT 102                                                                CAROLINA            PR         00979
   703408 LUIS R BERRIOS RIVERA                       URB SANTA ROSA                33‐5 CALLE 26                                                                         BAYAMON             PR         00959




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   703409 LUIS R BETANCOURT                           EDIF GRANADA                1755 CALLE MC LEARY APT G 2                                                              SAN JUAN            PR         00911
   285127 LUIS R BORGES BORGES                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285128 LUIS R BORRERO SANTIAGO                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   703410 LUIS R BRILON COLON                         P O BOX 699                                                                                                          TRUJILLO ALTO       PR         00977
   285129 LUIS R BURGOS ARROYO                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          LUIS R BURGOS DOMINGUEZ
   285130 DBA SUPER                                   FARMACIA REBECA             80 AVE QUEBRADILLAS                                                                      ISABELA             PR         00662
   285131 LUIS R BURGOS ORTIZ                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285132 LUIS R CABRERA BURGOS                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285133 LUIS R CAMPIS VAZQUEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285134 LUIS R CANUELAS LEON                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285135 LUIS R CARATTINI SANCHEZ                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285137 LUIS R CARMONA RESTO                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   285138 LUIS R CARRASQUILLO BONILLA                 REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   703411 LUIS R CARRASQUILLO CALOS                   PO BOX 3328                                                                                                          GUAYNABO            PR         00970
          LUIS R CARRASQUILLO
   285139 VILLANUEVA                                  REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   703412 LUIS R CARRION GUZMAN                       REPARTO SAN JOSE            450 CALLE FINISTEROL                                                                     SAN JUAN            PR         00923
   285140 LUIS R CARRION VARGAS                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285141 LUIS R CASANOVA DELGADO                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285142 LUIS R CASTRO DOMINGUEZ                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285143 LUIS R CASTRO MUNIZ                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   703413 LUIS R CASTRO ORTIZ                         PO BOX 1378                                                                                                          SAN SEBASTIAN       PR         00685
   285144 LUIS R CASTRO PEREZ                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   703414 LUIS R CINTRON PEREZ                        HC 71 BOX 2768              BO LOMAS VALLES                                                                          NARANJITO           PR         00719
   703415 LUIS R CINTRON RODRIGUEZ                    BOX 5188 CUC STATION                                                                                                 CAYEY               PR         00737‐5188
   700232 LUIS R COLON FIGUEROA                       HC‐02 BOX 8711                                                                                                       OROCOVIS            PR         00720
   703418 LUIS R COLON LOPEZ                          URB VILLAS DE LOIZA         U 31 C/ 5 A                                                                              CANOVANAS           PR         00729
   703419 LUIS R COLON MALDONADO                      HC 06 BOX 66633                                                                                                      AGUADILLA           PR         00603
   703420 LUIS R COLON ORTIZ                          P O BOX 128                                                                                                          BARRANQUITAS        PR         00794
   285145 LUIS R COLON ROBLES                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285146 LUIS R COLON RODRIGUEZ                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   703421 LUIS R COLON SANTOS                         PO BOX 619                                                                                                           SALINAS             PR         00751
   285147 LUIS R COLON SIVERIO                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          LUIS R COLON Y ELIZABETH DE
   703417 JESUS                                       PO BOX 619                                                                                                           SALINAS             PR         00751
   703422 LUIS R CORDERO RODRIGUEZ                    PARQUE REAL                 50 CALLE RUBI                                                                            LAJAS               PR         00667
   285148 LUIS R CORPS CINTRON                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285149 LUIS R CORREA PEREZ                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285150 LUIS R CORTES COLON                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285151 LUIS R CORTES CORTES                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          LUIS R CORTES ROBLES CORTES
   285152 OCANA                                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   703424 LUIS R CRESPO                               VISTA AZUL III              CALLE ALEJANDRINA                                                                        ARECIBO             PR         00612
   703425 LUIS R CRESPO CLAUDIO                       BO OBRERO                   669 CALLE 15                                                                             SAN JUAN            PR         00915
   285153 LUIS R CRESPO QUILES                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   703427 LUIS R CRUZ ORTIZ                           URB VILLA DEL CARMEN        1030 CALLE SALERMO                                                                       PONCE               PR         00716
   285154 LUIS R CRUZ PENA                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   700233 LUIS R CRUZ ZURITA                          PO BOX 710                                                                                                           CABO ROJO           PR         00623
   703429 LUIS R CUEBAS IRIZARRY                      137 BALBOA                                                                                                           MAYAGUEZ            PR         00680
   703430 LUIS R CUEBAS VELEZ                         PO BOX 4173 SALUD STATION                                                                                            MAYAGUEZ            PR         00680



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  285155 LUIS R CUEVAS POLANCO                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  285156 LUIS R CUSTODIO COLON                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  285157 LUIS R DAVILA CRUZ                           REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  703431 LUIS R DAVILA FONTANEZ                       URB JOSE GANDARA            13 APT 238                                                                       PONCE              PR         00731
  285158 LUIS R DAVILA RIVERA                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  703432 LUIS R DE JESUS APONTE                       HC 40 BOX 41953                                                                                              SAN LORENZO        PR         00754
  703433 LUIS R DE JESUS FUENTES                      P O BOX 314                                                                                                  LOIZA              PR         00772
  285159 LUIS R DE LA CRUZ BUTLER                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  703434 LUIS R DELGADO DORTA                         HC 04 BOX 48105                                                                                              HATILLO            PR         00659
  285160 LUIS R DIAZ FLORES                           REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  285162 LUIS R DIAZ RODRIGUEZ                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  285164 LUIS R DIAZ Y ZARAK DIAZ                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  285165 LUIS R DOMENECH BANUCHI                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  285166 LUIS R DOMENECH TALAVERA                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  285167 LUIS R ECHEVARRIA RAMOS                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  285168 LUIS R EMANUELLI BOLIUS                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  703439 LUIS R EMANUELLI RUBILDO                     PO BOX 7126                                                                                                  PONCE              PR         00732
  285169 LUIS R EMMANUELLI CRESPO                     REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  703440 LUIS R ENRIQUE RODRIGUEZ                     URB SAN DEMETRIO            357 CALLE RAYA                                                                   VEGA BAJA          PR         00693‐3542
  285170 LUIS R ESCOBAR ORTIZ                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  285171 LUIS R ESCOBAR REYES                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  703441 LUIS R ESCRIBANO FUENTES                     487 CALLE WILLIAM JONES                                                                                      SANTURCE           PR         00915
  285172 LUIS R ESPADA SANDOVAL                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   703442 LUIS R ESQUILIN HERNANDEZ                   BOSQUE DEL LAGO ENCANTADA   BC 31 PLAZA 8                                                                    TRUJILLO ALTO      PR         00976
   285175 LUIS R ESTRADA LOPEZ                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   285176 LUIS R ESTRELLA RIVERA                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   285178 LUIS R FEBUS                                REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   703443 LUIS R FERMIN VALDEZ                        232 AVE ELEONOR ROOSEVELT                                                                                    SAN JUAN           PR         00907
   285179 LUIS R FONTANES BUNKER                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   703445 LUIS R GARCIA                               BOX 1821                                                                                                     TRUJILLO ALTO      PR         00977
   703448 LUIS R GARCIA DE LA NOCEDA                  URB VALLE ARRIBA HEIGHTS    CP 6 CALLE 125                                                                   CAROLINA           PR         00983
   285180 LUIS R GARCIA HERNAIZ                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   285181 LUIS R GARCIA MUNOZ                         REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   703449 LUIS R GARCIA ORTIZ                         URB SAN PEDRO               8 BLQ D CALLE B                                                                  MAUNABO            PR         00707
   285182 LUIS R GARCIA QUINONES                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   703378 LUIS R GARCIA SANTOS                        HC 83 7920                                                                                                   VEGA ALTA          PR         00692
   285183 LUIS R GARRIGA JUSINO                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   703450 LUIS R GEIGEL FUENTES                       PO BOX 409                                                                                                   DORADO             PR         00646
          LUIS R GODINEAUX E IDALIA
   285184 GODINEAUX                                   REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   703451 LUIS R GOMEZ ALGARIN                        PO BOX 84                                                                                                    NAGUABO            PR         00718
   285185 LUIS R GONZALEZ COLON                       REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   703455 LUIS R GONZALEZ IRIZARRY                    RES BAYAMON HOUSING         EDIF 15 APT 233                                                                  BAYAMON            PR         00956
   285186 LUIS R GONZALEZ RIVERA                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   285187 LUIS R GONZALEZ ROBLES                      REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   703457 LUIS R GONZALEZ VALENCIA                    HC 01 BOX 8320                                                                                               VIEQUES            PR         08320
   285188 LUIS R GRACIANI ROSA                        REDACTED                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   703458 LUIS R GUASCH SANTOS                        URB PARADISE HILLS          1663 CALLE RIMAC                                                                 SAN JUAN           PR         00926
   703459 LUIS R GUTIERREZ VAZQUEZ                    EXT SAN ANTONIO             N 33 CALLE 7                                                                     PONCE              PR         00731
   703460 LUIS R GUZMAN JIMENEZ                       URB SANTIAGO IGLESIAS       1415 CALLE ALONSO                                                                SAN JUAN           PR         00921




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   285189 LUIS R GUZMAN VIZCARRONDO                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          LUIS R GUZMAN/ LEONOR
   285190 HERNANDEZ                                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          LUIS R HERNANDEZ / ROTULOS
   703461 PRO ARTE                                    ALTURAS DE VILLALBA          101 MANUEL SANTANA                                                                       VILLALBA            PR         00766
   285191 LUIS R HERNANDEZ CRUZ                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285192 LUIS R HERNANDEZ ORTIZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   703462 LUIS R HERNANDEZ PEREZ                      COVADONGA                    17 3L CALLE 21                                                                           TOA BAJA            PR         00961
   285193 LUIS R HERNANDEZ ROMERO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285194 LUIS R HERNANDEZ VAZQUEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285195 LUIS R HUERTAS VELEZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285196 LUIS R IRIZARRY                             REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285197 LUIS R IRIZARRY PENA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285198 LUIS R JEAN ALFONSO                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285199 LUIS R JIMENEZ PENA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285200 LUIS R KUILAN MELENDEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285201 LUIS R LA TORRE RIVERA                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   703468 LUIS R LARREGOITY MORALES                   URB BAIROA PARK              2 K 28 CALLE CELESTINO SOLA                                                              CAGUAS              PR         00725‐1106
   285203 LUIS R LASSALLE NIEVES                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285204 LUIS R LEBRON RODRIGUEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285205 LUIS R LOPEZ BONILLA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285206 LUIS R LOPEZ RIVERA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285207 LUIS R LOPEZ RUYOL                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285208 LUIS R LOYOLA GARCIA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   703474 LUIS R LUGO JIMENEZ                         R R 02 BOX 6813                                                                                                       MANATI              PR         00674
   703475 LUIS R LUGO RIVERA                          HC 03 BOX 20370                                                                                                       ARECIBO             PR         00612
   703476 LUIS R MACHUCA FERNANDEZ                    URB PARQUE ECUESTRE          H 38 CALLE 38                                                                            CAROLINA            PR         00987
   703477 LUIS R MAESO HERNANDEZ                      URB LA RIVIERA 975           CALLE J S O                                                                              SAN JUAN            PR         00921
   703479 LUIS R MALDONADO ABREU                      REPTO ARENALES               78 CALLE 1                                                                               LAS PIEDRAS         PR         00771
   285209 LUIS R MALDONADO CRESPO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   703480 LUIS R MARCANO RODRIGUEZ                    VAN SCOY                     E 22 CALLE PRINCIPAL                                                                     BAYAMON             PR         00957
   703481 LUIS R MARRERO ALVARADO                     HC 02 BOX 6790                                                                                                        BARRANQUITAS        PR         00794
   285211 LUIS R MARRERO PEðA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   703482 LUIS R MARRERO RAMOS                        HC 02 BOX 12835                                                                                                       GURABO              PR         00778
   703483 LUIS R MARTI                                PARQUE BUCARE                B 2 CALLE BROMELIA                                                                       GUAYNABO            PR         00969

   703484 LUIS R MARTINEZ MARTINEZ                    URB JARDINES DE MONTELLANO   839 CALLE MONTE CARITE                                                                   MOROVIS             PR         00687
   285214 LUIS R MARTTA PINA                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   703485 LUIS R MARTY MORALES                        HC 1 BOX 5737                                                                                                         ARROYO              PR         00714
   285215 LUIS R MATEO ZAYAS                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   703487 LUIS R MATOS MALDONADO                      ALTS DE COVADONGA            4D6 CALLE 8A                                                                             TOA BAJA            PR         00949
   285216 LUIS R MATTEI LOZANO                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285218 LUIS R MEDERO                               REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285219 LUIS R MEDINA LEBRON                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285220 LUIS R MEDINA SOTO                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285221 LUIS R MELENDEZ DEL VALLE                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285223 LUIS R MELENDEZ RAMOS                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   285224 LUIS R MELLADO GONZALEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   703492 LUIS R MENA RAMOS                           504 CALLE PERSEO             ALTAMIRA                                                                                 SAN JUAN            PR         00920
   703494 LUIS R MENDEZ MORALES                       53 CALLE LOS ADOQUINES                                                                                                MAYAGUEZ            PR         00680
   703495 LUIS R MENDOZA RAMIREZ                      PO BOX 5065                                                                                                           CAGUAS              PR         00726
   285225 LUIS R MENENDEZ TORRES                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  700234 LUIS R MERCADO CRESPO                         HC 5 BOX 61454                                                                                                  MAYAGUEZ          PR           00680
  703497 LUIS R MERCADO SANTOS                         PO BOX 817                                                                                                      BARCELONETA       PR           00617
  703499 LUIS R MILIAN MERCADO                         PO BOX 43002 SUITE 128                                                                                          RIO GRANDE        PR           00745
  703501 LUIS R MIRANDA CRUZ                           PO BOX 9022899                                                                                                  SAN JUAN          PR           00902‐2899
  703502 LUIS R MOJICA RIVERA                          HC 80 BOX 8588                                                                                                  DORADO            PR           00646
  703505 LUIS R MOLINARI DEL VALLE                     PO BOX 4792                                                                                                     CAROLINA          PR           00984

   703506 LUIS R MONTANEZ AVILES                       EDIF EL CENTRO I 500     AVE MUNOZ RIVERA STE 211 212                                                           SAN JUAN          PR           00918
   285226 LUIS R MONTANEZ MORALES                      REDACTED                 REDACTED                     REDACTED                           REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   285227 LUIS R MONTES SANTIAGO                       REDACTED                 REDACTED                     REDACTED                           REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   703507 LUIS R MONTES TOSADO                         PO BOX 51123                                                                                                    TOA BAJA          PR           00950‐1123
   285228 LUIS R MORALES MEDERO                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          LUIS R MORALES MERCADO Y
   703508 JUAN A MORALES                               PO BOX 3747                                                                                                     AGUADILLA         PR           00605
   703510 LUIS R MORALES RECIO                         HC 02 BOX 18081                                                                                                 LAJAS             PR           00667
   703511 LUIS R MORALES SUSTACHE                      PO BOX 475                                                                                                      YABUCOA           PR           00767
   285229 LUIS R MORERA                                REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   703512 LUIS R MORERA PEREZ                          PO BOX 9023596                                                                                                  SAN JUAN          PR           00902‐3596
   703513 LUIS R MOULIER RODRIGUEZ                     HC 2 BOX 14284                                                                                                  CAROLINA          PR           00985

   285230 LUIS R MUNIZ / FELIX A ADAMES                REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   285231 LUIS R MUNIZ GINEL                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   703514 LUIS R MURIEL COLON                          P O BOX 8882                                                                                                    PONCE             PR           00732
   285232 LUIS R NAZARIO RIOS                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   285233 LUIS R NEGRON LEON                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          LUIS R NEGRON ORTIZ / EQUIP
   703515 LOS NEGRONES                                 BO INGENIO               PARC 103 CALLE AZUCENA                                                                 TOA BAJA          PR           00949
   703516 LUIS R NEGRON RIOS                           HC 01 BOX 3644                                                                                                  NARANJITO         PR           00719
   703517 LUIS R NEGRON SIERRA                         URB LEVITTOWN            V 46 CALLE LEILA                                                                       TOA BAJA          PR           00949
   703519 LUIS R NIEVES CAMACHO                        PO BOX 4105                                                                                                     BAYAMON           PR           00958
   285234 LUIS R NIEVES GARCIA                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   703520 LUIS R NIEVES HERRERA                        P O BOX 364466                                                                                                  SAN JUAN          PR           00936‐4466
   703521 LUIS R NIEVES VALLE                          URB BOSQUE DEL PINO      354 CALLE PALUSTRIS                                                                    BAYAMON           PR           00956‐9272
   703522 LUIS R NOVOA                                 HOSPITAL MIMIYA          303 AVE DE DIEGO                                                                       SAN JUAN          PR           00909
   285235 LUIS R NUNEZ MARTINEZ                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   285236 LUIS R NUNEZ TIRADO                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   285237 LUIS R OLMO ALBALADEJO                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   285238 LUIS R ORDONEZ                               REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   285239 LUIS R ORTA CARRION                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   703523 LUIS R ORTIZ ARZOLA                          PO BOX 1076                                                                                                     COAMO             PR           00769
   285240 LUIS R ORTIZ BURGOS                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   285241 LUIS R ORTIZ CANCEL                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   285242 LUIS R ORTIZ CARLO                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   703524 LUIS R ORTIZ LUGO                            BOX 365                                                                                                         GUAYAMA           PR           00785
   703525 LUIS R ORTIZ OLIVIERI                        HC 1 BOX 6348                                                                                                   JUANA DIAZ        PR           00795
   703527 LUIS R ORTIZ ORTIZ                           BO MARIANA II            HC 01 BOX 17081                                                                        HUMACAO           PR           00791
   703529 LUIS R ORTIZ RIVERA                          10 D 5 CAMBRIDGE PARK                                                                                           SAN JUAN          PR           00926
   285245 LUIS R ORTIZ SANCHEZ                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   285246 LUIS R ORTIZ SEGURA                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   285247 LUIS R PACHECO MEDINA                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   703533 LUIS R PADILLA SANTIAGO                      PO BOX 986                                                                                                      BAYAMON           PR           00960
   285248 LUIS R PAGAN MARRERO                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   285249 LUIS R PALACIOS GERENA                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  703539 LUIS R PAONESSA LAJARA                       CAPARRA HEIGHT APT 4        608 CALLE ELMA                                                                     SAN JUAN            PR         00920
  285250 LUIS R PASTOR REYES                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  285251 LUIS R PENA CANCEL                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  285252 LUIS R PEREZ AVILES                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  285253 LUIS R PEREZ BAERGA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  285254 LUIS R PEREZ BONILLA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  703540 LUIS R PEREZ CABRERA                         29 JARDINES DE TOA ALTA                                                                                        TOA ALTA            PR         00953

   703541 LUIS R PEREZ LAGUILLO                       232 AVE ELEONOR ROOSEVELT                                                                                      SAN JUAN            PR         00907
   703542 LUIS R PEREZ MIRANDA                        P O BOX 195009                                                                                                 SAN JUAN            PR         00919‐5009
   703544 LUIS R PEREZ NEGRON                         PO BOX 3983                                                                                                    GUAYNABO            PR         00970
   771154 LUIS R PEREZ PEREZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703546 LUIS R PEREZ RAMOS                          URB PARQUE CENTRAL          U 5 CALLE 64                                                                       CAGUAS              PR         00725
   285255 LUIS R PEREZ SIERRA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703548 LUIS R PEREZ VILAR                          PO BOX 607                                                                                                     CAGUAS              PR         00726‐0607
   285256 LUIS R PINA MIRANDA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285257 LUIS R PIZARRO TORRES                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703549 LUIS R PORTELA SUAREZ                       P O BOX 45                                                                                                     VEGA BAJA           PR         00694‐0045
   703550 LUIS R PRATTS AROCHO                        P O BOX 4997                                                                                                   CAROLINA            PR         00984‐4997
   703552 LUIS R QUIJANO FELIX                        VILLA ANDALUCIA             D‐37 CALLE JUNQUERA                                                                SAN JUAN            PR         00926
   703553 LUIS R RAMIREZ MERCED                       P O BOX 9300451                                                                                                SAN JUAN            PR         00930‐0451
   285258 LUIS R RAMIREZ RODRIGUEZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703554 LUIS R RAMOS MIRANDA                        URB SAN ANTONIO             6 SABANA GRANDE                                                                    SABANA GRANDE       PR         00637
   703555 LUIS R RAMOS RIVERA                         PO BOX 572                                                                                                     VIEQUES             PR         00765‐0572
   703556 LUIS R RAMOS VARGAS                         PO BOX 683                                                                                                     MOCA                PR         00676
   285260 LUIS R RECHANI CARDONA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703558 LUIS R REEVES GARCIA                        SANTA JUANITA               ED 14 CALLE OLMO                                                                   BAYAMON             PR         00956
   285261 LUIS R REYES BURGOS                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703559 LUIS R REYES CASTRO                         HC 1 BOX 7415                                                                                                  GURABO              PR         00778
   285262 LUIS R REYES FERRA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285263 LUIS R REYES ORTEGA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285265 LUIS R REYES VIZCARRONDO                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285267 LUIS R RIOS GARCIA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700236 LUIS R RIOS MEJIAS                          PO BOX 37313                AIRPORT STA                                                                        SAN JUAN            PR         00937
   285268 LUIS R RIVAS HERNANDEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703562 LUIS R RIVAS MARMOL                         URB RODRIGUEZ OLMOS         3 CALLE I                                                                          ARECIBO             PR         00612
   703564 LUIS R RIVERA CAMACHO                       P O BOX 371193                                                                                                 CAYEY               PR         00737
   285269 LUIS R RIVERA ECHEVARIA                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285270 LUIS R RIVERA FIGUEROA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285271 LUIS R RIVERA GALARZA                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUIS R RIVERA GONZALEZ/ ECO
   285272 ENERGY AGE L                                PO BOX 192313                                                                                                  SAN JUAN            PR         00919
   285273 LUIS R RIVERA MELENDEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703567 LUIS R RIVERA MENDOZA                       PO BOX 709                                                                                                     CABO ROJO           PR         00623‐0709
          LUIS R RIVERA MONTALVO,
   285274 LOYDA R GOMEZ                               REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285275 LUIS R RIVERA NIEVES                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703568 LUIS R RIVERA RAMOS                         BO CAMUY ARRIBA             52 CARR 49 KM 10                                                                   CAMUY               PR         00627
   703569 LUIS R RIVERA RIVERA                        PO BOX 1398                                                                                                    NAGUABO             PR         00718
   285276 LUIS R RIVERA RODRIGUEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285280 LUIS R RIVERA SANTOS                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703573 LUIS R RIVERA VILLANUEVA                    URB FLORAL PARK             121 CALLE RUIZ BELVIS                                                              SAN JUAN            PR         00917‐3937
   703574 LUIS R ROBLES CRUZ                          PO BOX 34178                                                                                                   FORT BUCHANAN       PR         00934



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  703575 LUIS R RODRIGUEZ APONTE                      P O BOX 34397                                                                                                  PONCE            PR           00734

   285284 LUIS R RODRIGUEZ CASANOVA                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   703578 LUIS R RODRIGUEZ CRUZ                       URB MENDEZ                 62 CALLE A                                                                          YABUCOA          PR           00767
   285285 LUIS R RODRIGUEZ DAVILA                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   703579 LUIS R RODRIGUEZ FERRER                     PO BOX 1247                                                                                                    AGUADILLA        PR           00605
   703580 LUIS R RODRIGUEZ GALARZA                    P O BOX 476                                                                                                    AGUADA           PR           00602

   703581 LUIS R RODRIGUEZ GONZALEZ                   URB VERSALLES              C1 CALLE MARGINAL                                                                   BAYAMON          PR           00959
   703582 LUIS R RODRIGUEZ MOLINA                     P O BOX 356                                                                                                    CABO ROJO        PR           00623
   285286 LUIS R RODRIGUEZ ORTIZ                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   285288 LUIS R RODRIGUEZ RIVERA                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   285289 LUIS R RODRIGUEZ RODRIGUEZ                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   285290 LUIS R ROEBUCK GELPI                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   703587 LUIS R ROMAN MORENO                         HC 1 BOX 4460                                                                                                  MAUNABO          PR           00707
   285292 LUIS R ROMERO RIVERA                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   285293 LUIS R ROSADO SERRANO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   285294 LUIS R ROSADO VELAZQUEZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   703379 LUIS R RUIZ CRUZ                            HC 04 BOX 45381                                                                                                AGUADILLA        PR           00603
   285295 LUIS R SALAS RIVERA                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   285296 LUIS R SANABRIA GARCIA                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   285297 LUIS R SANABRIA RODRIGUEZ                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   285299 LUIS R SANCHEZ SOTO                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   703589 LUIS R SANDOVAL SANTONI                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   703590 LUIS R SANTANA FERRER                       13 CALLE BELLA VISTA                                                                                           CAYEY            PR           00736
   703591 LUIS R SANTANA MONTES                       PO BOX 7126                                                                                                    PONCE            PR           00732
   703594 LUIS R SANTIAGO MERCADO                     BOX 582 BO EL SEMIL                                                                                            VILLALBA         PR           00766
   285300 LUIS R SANTIAGO MITCHELL                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   285301 LUIS R SANTIAGO ORTIZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   285302 LUIS R SANTIAGO ROLON                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   703598 LUIS R SANTIAGO VAZQUEZ                     295 CALLE PASCO                                                                                                GUAYANILLA       PR           00656
   703599 LUIS R SANTIAGO VEGA                        COM MIRAMAR                815‐54 CALLE TULIPAN                                                                GUAYAMA          PR           00784
   703600 LUIS R SANTINI GAUDIER                      3 CALLE ARZUAGA            APT 200                                                                             RIO PIEDRAS      PR           00925
   703601 LUIS R SANTINI RODRIGUEZ                    EXT JARDINES               E 10 CALLE 13                                                                       COAMO            PR           00679
   703602 LUIS R SANTONI BOSQUE                       BOX 159                                                                                                        AGUADA           PR           00602
   285303 LUIS R SANTOS RODRIGUEZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   703606 LUIS R SERRANO SOTO                         HC 763 BOX 3894                                                                                                PATILLAS         PR           00723
   285304 LUIS R SIERRA BERRIOS                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   703607 LUIS R SIERRA TOLEDO                        BOX 1285                                                                                                       HATILLO          PR           00659
   285305 LUIS R SIERRA TORRES                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   703609 LUIS R SIERRA VIERA                         PARCELAS FALU              247 CALLE 26                                                                        SAN JUAN         PR           00924
   285306 LUIS R SILVA REYES                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   703610 LUIS R SOLER CARMONA                        PO BOX 468                                                                                                     BARCELONETA      PR           00617
   285307 LUIS R SUAREZ MELENDEZ                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   703611 LUIS R TAPIA ROSA                           PO BOX 557                                                                                                     FAJARDO          PR           00738
   703614 LUIS R TIRADO VEGA                          PO BOX 4083                                                                                                    VEGA BAJA        PR           00674
   285308 LUIS R TORO ORTIZ                           REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   285309 LUIS R TORRES COLON                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   703615 LUIS R TORRES DE LEON                       HC 01 BOX 4780                                                                                                 BAJADERO         PR           00616‐9710
   285310 LUIS R TORRES DIAZ                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   703616 LUIS R TORRES HIDALGO                       URB LA VILLA DE TORRIMAR   136 CALLE REINA MARIA                                                               GUAYNABO         PR           00969
   285311 LUIS R TORRES MALDONADO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED



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  703618 LUIS R TORRES MELENDEZ                       P O BOX 214                                                                                                    OROCOVIS          PR         00720‐0214
  285312 LUIS R TORRES ORTIZ                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703619 LUIS R TORRES RODRIGUEZ                      COND RIVER PARK 10 CALLE   SANTA CRUZ APT P 201                                                                BAYAMON           PR         00961‐8662
  285313 LUIS R TORRES TORRES                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703622 LUIS R TORRES TRINIDAD                       HC 2 BOX 7645                                                                                                  CIALES            PR         00638
  285314 LUIS R TORRES VALDES                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285315 LUIS R TOUS TORRES                           REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285317 LUIS R VALCOURT RIOS                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703623 LUIS R VAQUER OCASIO                         PO BOX 577                                                                                                     CAROLINA          PR         00986‐0577
  285318 LUIS R VARELA SOLAR                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703624 LUIS R VARGAS MARTIENZ                       REPTO UNIVERSIDAD          A9 CALLE 11                                                                         SAN GERMAN        PR         00683
  285319 LUIS R VARGAS RODRIGUEZ                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703625 LUIS R VARGAS ROSADO                         URB ALT DE MAYAGUEZ        1005 UROYAN                                                                         MAYAGUEZ          PR         00682
  703626 LUIS R VARONA RODRIGUEZ                      COND ST TROPEZ             2 M APT                                                                             CAROLINA          PR         00979
  703628 LUIS R VAZQUEZ CANCEL                        HC 1 BOX 8486                                                                                                  CANOVANAS         PR         00729‐9726
  703629 LUIS R VAZQUEZ MARRERO                       RR 01 BOX 10928                                                                                                TOA ALTA          PR         00953
  285320 LUIS R VAZQUEZ OCASIO                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285321 LUIS R VAZQUEZ PARRILLA                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703630 LUIS R VAZQUEZ RESTO                         HC 44 BOX 12664                                                                                                CAYEY             PR         00736
  703631 LUIS R VEGA BERRIOS                          HC 02 BOX 14630                                                                                                AIBONITO          PR         00705
  285322 LUIS R VEGA FELICIANO                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285323 LUIS R VEGA RAMOS                            REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285324 LUIS R VELAZQUEZ ESPARRA                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703636 LUIS R VELAZQUEZ GARCIA                      PO BOX 651                                                                                                     SABANA GRANDE     PR         00637
  285325 Luis R Velazquez Rosaly                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285326 LUIS R VELEZ RODRIGUEZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703637 LUIS R VELEZ TORRES                          PO BOX 4725                                                                                                    AGUADILLA         PR         00605
  703638 LUIS R VERDEJO RUIZ                          HC 3 BOX 12080                                                                                                 COROZAL           PR         00783
  703640 LUIS R VILLANUEVA SANTANA                    VISTA ALEGA                77 CALLE 4                                                                          SAN JUAN          PR         00926

   285329 LUIS R VIVIAS UGARTEMENDIA                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285330 LUIS R ZAVALA NUNEZ                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703643 LUIS R. AMADEO CARRON                       P O BOX 364225                                                                                                 SAN JUAN          PR         00936‐4225
   285331 LUIS R. AMBERT, MD                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285332 LUIS R. BERRIOS RIVERA                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703645 LUIS R. BONILLA DIEPPA                      URB MASSO                  43 CALLE C                                                                          SAN LORENZO       PR         00754
   285333 LUIS R. BURGOS ANAYA                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285334 LUIS R. CALAFF CORDERO                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703646 LUIS R. CASTRO GARCIA                       PO BOX 1508                                                                                                    TOA BAJA          PR         00951
   285335 LUIS R. CINTRON GARCIA                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285336 LUIS R. CRUZ COLLAZO                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703648 LUIS R. CUADRADO ARROYO                     REPTO VALENCIA             AJ 36 CALLE 11                                                                      BAYAMON           PR         00959
   285337 LUIS R. ESCRIBANO FUENTES                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285338 LUIS R. GARCIA REYES                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285339 LUIS R. GIERBOLINI COLON                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703650 LUIS R. GONZALEZ                            PO BOX 3158                                                                                                    CAGUAS            PR         00736‐8457

   703652 LUIS R. HERNANDEZ DEL VALLE                 HP ‐ SALA 5 ALTOS                                                                                              RIO PIEDRAS       PR         009360000
   703654 LUIS R. ITURRINO CARRILLO                   PO BOX 1617                                                                                                    CANOVANAS         PR         00729
   285340 LUIS R. JIMENEZ SANTOS                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703655 LUIS R. LUGO EMANUELLI                      PO BOX 34                                                                                                      FAJARDO           PR         00738

   285341 LUIS R. MELENDEZ MALDONADO REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  285342 LUIS R. MERCADO SANTOS                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  285343 LUIS R. MORALES NORIEGA                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  285344 LUIS R. OLIVERAS MEDINA                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  285345 LUIS R. ORTEGA COLON                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  285346 Luis R. Ortiz Guevara                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  285347 LUIS R. ORTIZ MONTES                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  285348 LUIS R. ORTIZ RODRIGUEZ                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  703657 LUIS R. PINA NAZARIO                          P O BOX 361189                                                                                                  SAN JUAN            PR         00936‐1189
  703659 LUIS R. RAMIREZ SIERRA                        O‐4 CALLE‐TROCHE                                                                                                CAGUAS              PR         00725
 1256645 LUIS R. REEVES GARCIA                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  703660 LUIS R. RIVERA FERNANDEZ                      PO BOX 807                                                                                                      TOA BAJA            PR         00951
  703661 LUIS R. RIVERA MEDINA                         URB SANTA RITA           42 CALLE JULIAN BLANCO                                                                 SAN JUAN            PR         00925
                                                                                CC12 CALLE 21 VILLAS DE
   703662 LUIS R. RIVERA RIVERA                        VILLAS DE CASTRO         CASTRO                                                                                 CAGUAS              PR         00725
   703664 LUIS R. RUIIZ CRUZ                           HC 04 BOX 45381                                                                                                 AGUADILLA           PR         00603
   703665 LUIS R. SIERRA PEREZ                         BDA BUENA VISTA          173 CALLE PEPE DIAZ                                                                    SAN JUAN            PR         00917
   285349 LUIS R. VALCARCEL CORTIJO                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285350 LUIS R. VALDES ORTIZ                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703666 LUIS R. VINCENTY PAGAN                       PO BOX 4284                                                                                                     MAYAGUEZ            PR         00681
   703667 LUIS R.GERENA AGUIAR                         URB. EL PARAISO          # 171 CALLE GANGES                                                                     SAN JUAN            PR         00926
   285351 LUIS RABELO FRATICELLI                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703668 LUIS RADIATOR SERVICE                        1354 AVE PONCE DE LEON                                                                                          SAN JUAN            PR         00926
   703669 LUIS RAFAEL ELIZA MARQUEZ                    4 B 1 CALLE 201                                                                                                 TRUJILLO ALTO       PR         00976
   703670 LUIS RAFAEL LIMERES FLORES                   PO BOX 653                                                                                                      MAYAGUEZ            PR         00681
   285352 LUIS RAFAEL ORTIZ ROLON                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703671 LUIS RAFAEL RIVERA APONTE                    VILLA CAROLINA           8 BLQ 122 A CALLE A                                                                    CAROLINA            PR         00985
   703672 LUIS RAFAEL RIVERA RIVERA                    P O BOX 70351                                                                                                   SAN JUAN            PR         00936‐8351
   285353 LUIS RAMIREZ CARDONA                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285354 LUIS RAMIREZ FERNANDEZ                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285355 LUIS RAMIREZ LIZARDI                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285356 LUIS RAMIREZ MARQUEZ                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285357 LUIS RAMIREZ PAGAN                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285358 LUIS RAMIREZ PINEIRO                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285359 LUIS RAMIREZ RAMOS                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285360 LUIS RAMIREZ RIVERA                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285361 LUIS RAMIREZ SOBERAL                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   771155 LUIS RAMIREZ VAZQUEZ                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUIS RAMIREZ/ RAMON L
   285362 RAMIREZ                                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285363 LUIS RAMIRO PASTOR                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   285364 LUIS RAMON LOMBA SALDANA                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   703676 LUIS RAMON SANTIAGO OJEDA                    P O BOX 88                                                                                                      MOROVIS             PR         00687

   703677 LUIS RAMON VELEZ MELENDEZ                    SOLAR 69 POLE OJEA                                                                                              CABO ROJO           PR         00623
   703678 LUIS RAMOS & G MONTALVO                      BO ALTO SANO             HC 05 BOX 42045                                                                        SAN SEBASTIAN       PR         00685

          LUIS RAMOS & G
   703679 MONTALVO/TEXACO ALTO SANO PO BOX 42045                                                                                                                       SAN SEBASTIAN       PR         00685‐9805
   285365 LUIS RAMOS ALVAREZ        REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285366 LUIS RAMOS ARROYO         REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700237 LUIS RAMOS BAEZ           URB VILLAS PRADES                           700 CALLE JULIO C ARTEGAS                                                              SAN JUAN            PR         00924



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  703680 LUIS RAMOS COLON                             RES CANAS HOUSING         N 93 CALLE 3                                                                            PONCE             PR         00731
  703681 LUIS RAMOS COMAS                             45 CALLE JAVILLA                                                                                                  SAN GERMAN        PR         00683
  703683 LUIS RAMOS ESQUILIN                          URB MONTE BRISAS          SR 13 CALLE10                                                                           FAJARDO           PR         00738
  703684 LUIS RAMOS GOMEZ                             LA CENTRAL STA CATALINA   CALLE 1                                                                                 CANOVANAS         PR         00929
  285368 LUIS RAMOS GONZALEZ                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   703687 LUIS RAMOS HERNANDEZ                        URB LEVITTOWN LAKES       DA 22 CALLE LAGO GUAJATACA                                                              TOA BAJA          PR         00949
   703689 LUIS RAMOS MATOS                            HC 1 BOX 4736                                                                                                     CAMUY             PR         00627
   285369 LUIS RAMOS MENDEZ                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285370 LUIS RAMOS NIEVES                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703690 LUIS RAMOS NORIEGA                          OASIS GARDENS             F16 CALLE HONDURAS                                                                      GUAYNABO          PR         00969
   703691 LUIS RAMOS OTERO                            BO SANTA ROSA                                                                                                     HATILLO           PR         00659
   285371 LUIS RAMOS PACHECO                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285372 LUIS RAMOS SANTOS                           REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703692 LUIS RAMOS VALENTIN                         HC 03 BOX 17800                                                                                                   QUEBRADILLA       PR         00678

   285375 LUIS RAUL ALBALADEJO ORTIZ    REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285376 LUIS RAUL ALFARO RIVERA       REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703695 LUIS RAUL ARCE ALVAREZ        POBLADO SAN ANTONIO                     P O BOX 575                                                                             AGUADILLA         PR         00690
   703696 LUIS RAUL CANTRES             PO BOX 20000 SUITE 107                                                                                                          CANOVANAS         PR         00729
   285379 LUIS RAUL COLON               REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUIS RAUL COLON / FLORISTERIA
   703697 EL TULIPAN                    PLACITA VASAR DEL PARQUE                344 CALLE MENDEZ VIGO                                                                   DORADO            PR         00646
          LUIS RAUL CUADRADO
   285380 CUADRADO                      REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703698 LUIS RAUL DAVILA AVILES       RES MANUEL A PEREZ                      EDIF C 5 APT 68                                                                         SAN JUAN          PR         00923

   703699 LUIS RAUL DELGADO ALVAREZ                   P O BOX 897                                                                                                       GUAYAMA           PR         00785
   703700 LUIS RAUL DIAZ RIVERA                       HC 1 BOX 11091                                                                                                    GURABO            PR         00778
          LUIS RAUL FIGUEROA
   285382 RODRIGUEZ                                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285386 LUIS RAUL LOPEZ RAMOS                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703701 LUIS RAUL MARIN RIVERA                      HC 01 BOX 3326                                                                                                    MAUNABO           PR         00707
   703702 LUIS RAUL MUNOZ VELOSO                      URB UNIVERSITY GDNS       793 CALLE SORBONA                                                                       SAN JUAN          PR         00927
   285387 LUIS RAUL ORTIZ NIEVES                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703704 LUIS RAUL REVERON                           ALTAMESA                  1390 SAN FELIX                                                                          SAN JUAN          PR         00921
   285389 LUIS RAUL ROSARIO BADILLO                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285390 LUIS RAUL RUIZ MARTINEZ                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703705 LUIS RAUL SANCHEZ REYES                     COM SANTA ANA III         SOLAR 218                                                                               SALINAS           PR         00615

   285391 LUIS RAUL TORRES MELENDEZ                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285392 LUIS RAUL VAZQUEZ MUNIZ                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   285393 LUIS RAUL VELAZQUEZ TORRES                  REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   703706 LUIS REINALDO FUENTES GARCIA URB LOS DOMINICOS                        N 258 CALLE SAN GREGORIO                                                                BAYAMON           PR         00957
   703707 LUIS RENE RUIZ GARCES        BOX 125                                                                                                                          RINCON            PR         00677
   703708 LUIS RENE SANTIAGO RIVERA    64 CALLE DUFRESNE E                      SUITE 3                                                                                 HUMACAO           PR         00791‐3942
   703710 LUIS RENTAS MAGAS            PO BOX 1266                                                                                                                      CAGUAS            PR         00726
   285396 Luis Rey Mercado             REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285397 LUIS REY RODRIGUEZ           REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285398 LUIS REYES                   REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285399 LUIS REYES ANDINO            REDACTED                                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  285400 LUIS REYES BONILLA                           REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285401 LUIS REYES CRUZ                              REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285402 LUIS REYES MELENDEZ                          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703712 LUIS REYES MORALES                           URB HYDE PARK                  6 CALLE AMAPOLA                                                                     SAN JUANM         PR         00927 4203
  703713 LUIS REYES MORAN                             PO BOX 7126                                                                                                        PONCE             PR         00732
  703714 LUIS REYES ORTIZ                             P O BOX 2551                                                                                                       GUAYNABO          PR         00970

   703715 LUIS REYES RAMOS                            URB. MIRA FLORES I‐9 CALLE‐3                                                                                       BAYAMON           PR         00956
   285403 LUIS REYES TRINIDAD                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   703717 LUIS REYES VAZQUEZ & ASSOC                  COND EL CENTRO II SUITE 254                                                                                        SAN JUAN          PR         00918

   285404 LUIS RICHARD SANTIAGO VEGA                  REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703719 LUIS RIOS                                   BO LAS CROABAS                 987 CARR ESTATAL                                                                    FAJARDO           PR         00738
   285405 LUIS RIOS ALICEA                            REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285406 LUIS RIOS HERNANDEZ                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703720 LUIS RIOS MENDEZ                            HC 1                                                                                                               LAS MARIAS        PR         00670
   703721 LUIS RIOS PEREZ                             PO BOX 29611                                                                                                       SAN JUAN          PR         00926‐0611
   703722 LUIS RIOS PETERSON                          VISTA MAR                      405 CALLE CORDOVA                                                                   CAROLINA          PR         00984
   703723 LUIS RIOS RIVERA                            107 CALLE VENUS                                                                                                    PONCE             PR         00731
   285408 LUIS RIVAS CALDERON                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703724 LUIS RIVERA ALVELO                          BO CAMPANILLA                  380 CALLE FORTALEZA                                                                 TOA BAJA          PR         00949
   700238 LUIS RIVERA ALVERIO                         HC 3 BOX 12220                                                                                                     YABUCOA           PR         00767
   703725 LUIS RIVERA APONTE                          SICOSOCIAL CAYEY                                                                                                   BAYAMON           PR         009360000
   703726 LUIS RIVERA ARCE                            PO BOX 193918                                                                                                      SAN JUAN          PR         00919
   285410 LUIS RIVERA CABRERA                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285412 LUIS RIVERA CAMACHO                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703727 LUIS RIVERA CAMPOS                          PARCELA 143 BO RIO LAJAS                                                                                           DORADO            PR         00646
   285413 LUIS RIVERA CARRASQUILLO                    REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285414 LUIS RIVERA CASTRO                          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703728 LUIS RIVERA CESAREO                         BDA PESQUERA                   B16 CALLE PESQUERA # C                                                              BAYAMON           PR         00959
   285415 LUIS RIVERA COLON                           REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285416 LUIS RIVERA CORDERO                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285418 LUIS RIVERA CRUZ                            REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285419 LUIS RIVERA DELGADO                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703731 LUIS RIVERA ESQUILIN                        HC 03 BOX 180‐10               BO GUZMAN ABAJO                                                                     RIO GRANDE        PR         00745
   703732 LUIS RIVERA FELICIANO                       PO BOX 240                                                                                                         SANTA ISABEL      PR         00757
   703733 LUIS RIVERA FERNANDEZ                       PO BOX 7126                                                                                                        PONCE             PR         00732
   703734 LUIS RIVERA FIGUEROA                        P O BOX 7428                                                                                                       SAN JUAN          PR         00916
   703736 LUIS RIVERA FUSSA                           103 CALLE CEDRO                                                                                                    HATILLO           PR         00659
   285421 LUIS RIVERA GARCIA                          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703740 LUIS RIVERA GUZMAN                          PO BOX 623                                                                                                         TRUJILLO ALTO     PR         00977
   285422 LUIS RIVERA IGLESIAS                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703741 LUIS RIVERA LOPEZ                           PO BOX 1503                                                                                                        YAUCO             PR         00698
   703743 LUIS RIVERA MANZANO                         PO BOX 55058                                                                                                       BAYAMON           PR         00960
   285423 LUIS RIVERA MARTINEZ                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285424 LUIS RIVERA MATIAS                          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285425 LUIS RIVERA MORALES                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703748 LUIS RIVERA MUNOZ                           URB VILLA DEL RIO              BUZON 13211                                                                         TOA ALTA          PR         00953
   703749 LUIS RIVERA NARVAEZ                         1 VILLA MACHUELO APT 2                                                                                             PONCE             PR         00731
   285429 LUIS RIVERA NAVARRO                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285430 LUIS RIVERA ORTIZ                           REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285435 LUIS RIVERA PAGAN                           REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  703751 LUIS RIVERA QUILES                           ABRAS DE SAN FRANCISCO       BOX 7051                                                                                  ARECIBO             PR         00612
  703752 LUIS RIVERA QUINTANA                         URB COUNTRY CLUB             JA12 CALLE 220                                                                            CAROLINA            PR         00984
  285437 LUIS RIVERA RIVERA                           REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  285438 LUIS RIVERA RODRIGUEZ                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  285441 LUIS RIVERA ROMAN                            REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  285442 LUIS RIVERA SANCHEZ                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  703760 LUIS RIVERA SANTOS                           PO BOX 9023029                                                                                                         SAN JUAN            PR         00902‐3029
  703761 LUIS RIVERA SEIYO                            URB BELLA VISTA 29                                                                                                     CIALES              PR         00638
  285444 LUIS RIVERA VIERA                            REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  703764 LUIS RIVERO CUBANO                           P O BOX 1681                                                                                                           MANATI              PR         00674‐1681
  703765 LUIS RIVERO MONTANEZ                         VILLA PALMERAS               315 CALLE FERRER PISO 2                                                                   SAN JUAN            PR         00915
  703767 LUIS ROBERTO GUZMAN                          URB SANTIAGO IGLESIA         1415 R ALONSO TORRES                                                                      SAN JUAN            PR         00921

   703768 LUIS ROBERTO PAGAN MARRERO URB GARCIA                                    A 5 CALLE                                                                                 CARO ROJO           PR         00623

   703769 LUIS ROBERTO REEVES GARCIA                  SECCION 11 URB STA JUANITA   ED 14 CALLE OLMO                                                                          BAYAMON             PR         00956
          LUIS ROBERTO SANTOS
   703770 MONTALVO                                    P O BOX 1809                                                                                                           MAYAGUEZ            PR         00681
          LUIS ROBERTO VELAZQUEZ
   285445 CARRASQUILLO                                REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703771 LUIS ROBLES                                 PO BOX 870                                                                                                             OROCOVIS            PR         00720
          LUIS ROBLES CAMPOS Y YARITZA
   285446 QUINONES                                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285447 LUIS ROBLES FIGUEROA                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700239 LUIS ROBLES GONZALEZ                        RES BELLA VISTA              EDIF 16 APT 123                                                                           ARECIBO             PR         00612
   285448 LUIS ROBLES OTERO                           REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285449 LUIS ROBLES VELAZQUEZ                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUIS ROCA IGUINA Y MARINA
   285450 ROCA IGUINA                                 REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285451 LUIS ROCHE MORALES                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285452 LUIS RODRIGUEZ                              REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703776 LUIS RODRIGUEZ ACOSTA                       BO MAGUELLES                                           17                                                              PONCE               PR         00728
   285453 LUIS RODRIGUEZ APELLANIZ                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285455 LUIS RODRIGUEZ BURGOS                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   285457 LUIS RODRIGUEZ CARRASQUILLO REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   700240 LUIS RODRIGUEZ CARRASQUILLO PO BOX 405                                                                                                                             CAROLINA            PR         00986‐0405
   703778 LUIS RODRIGUEZ CATALAN      BO BUENA VISTA                               18 CALLE PANORAMA                                                                         BAYAMON             PR         00957
   703780 LUIS RODRIGUEZ COLON        635 COM TOA VACA                             ATDO 148                                                                                  VILLALBA            PR         00766
   703781 LUIS RODRIGUEZ DAVILA       BOX 1441                                                                                                                               JUANA DIAZ          PR         00795
   703782 LUIS RODRIGUEZ DEL VALLE    1624 PARKGATE DR                                                                                                                       KISSIMMIE           FL         34746
   285458 LUIS RODRIGUEZ DIAZ         REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703783 LUIS RODRIGUEZ FEBRES       RES MANUEL A PEREZ                           EDF D 16 APT 185                                                                          SAN JUAN            PR         00923
   703784 LUIS RODRIGUEZ FIGUEROA     PO BOX 2262                                                                                                                            GUAYAMA             PR         00785
   285460 LUIS RODRIGUEZ FONSECA      REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703785 LUIS RODRIGUEZ GONZALEZ     BOX 6315                                                                                                                               CIDRA               PR         00739
   285461 LUIS RODRIGUEZ GREGORY      REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285462 LUIS RODRIGUEZ GUADALUPE    REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703786 LUIS RODRIGUEZ II           PO BOX 191                                                                                                                             CAROLINA            PR         00986‐0191
          LUIS RODRIGUEZ JUSINO DBA
   703788 GUICHE PLUMBIN              PO BOX 2072                                                                                                                            SAN GERMAN          PR         00683‐2072
   285463 LUIS RODRIGUEZ LOPEZ        REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  703791 LUIS RODRIGUEZ LOZADA                        BO JAGUAS COGOBALES           KM 13 7                                                                                 CIALES              PR         00638
  703792 LUIS RODRIGUEZ MARTINEZ                      PO BOX 685                                                                                                            YABUCOA             PR         00767
  285464 LUIS RODRIGUEZ MEDINA                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  285465 LUIS RODRIGUEZ MORA                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      40 RES. LLORENS TORRES APT.
   703794 LUIS RODRIGUEZ NAZARIO                      819                                                                                                                   SAN JUAN            PR         00913
   285466 LUIS RODRIGUEZ NIEVES                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700241 LUIS RODRIGUEZ OJEDA                        URB IRLANDIA HEIGHTS          F1 1 CALLE GEMINIS                                                                      BAYAMON             PR         00956
   703796 LUIS RODRIGUEZ ORTIZ                        URB LEVITOWN LAKES            Y 20 CALLE LADI                                                                         TOA BAJA            PR         00949‐4604
   703797 LUIS RODRIGUEZ PACHECO                      HC 1 BOX 7756                                                                                                         GUAYANILLA          PR         00656
   285467 LUIS RODRIGUEZ PADILLA                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285468 LUIS RODRIGUEZ PAGAN                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285469 LUIS RODRIGUEZ PEREZ                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703799 LUIS RODRIGUEZ QUILES                       HC 44 BOX 13582                                                                                                       CAYEY               PR         00736
   703800 LUIS RODRIGUEZ RAMOS                        JARD DEL MAMEY                D13 CALLE 2                                                                             PATILLAS            PR         00723
   703802 LUIS RODRIGUEZ RENTAS                       URB VILLAS DE CARAIZO         RR 7 BOX 158                                                                            SAN JUAN            PR         00926
   285472 LUIS RODRIGUEZ REYES                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285473 LUIS RODRIGUEZ RICO                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285474 LUIS RODRIGUEZ RIVERA                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285477 LUIS RODRIGUEZ RODRIGUEZ                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285478 LUIS RODRIGUEZ ROSARIO                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285479 LUIS RODRIGUEZ SANTIAGO                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285480 LUIS RODRIGUEZ SOTO                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUIS RODRIGUEZ TERRY/
   285481 ECOLOGIC ALL                                545 TINTILLO                                                                                                          GUAYNABO            PR         00966
   285482 LUIS RODRIGUEZ TORRES                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285485 LUIS RODRIGUEZ VARGAS                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285486 LUIS RODRIGUEZ VAZQUEZ                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703811 LUIS RODRIGUEZ VECCHINI                     609 COND CUEVILLAS            APT 8 A                                                                                 SAN JUAN            PR         00907
   703812 LUIS RODRIGUEZ VENEGAS                      ESQ C AVILA                   100 CALLE SOCORRO                                                                       QUEBRADILLA         PR         00678
   703813 LUIS RODRIGUEZ VIDAL                        59 AVENIDA VICTORIA                                                                                                   AGUADILLA           PR         00603
          LUIS RODRIGUEZ Y NORMA
   285487 GONZALEZ                                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUIS RODRIGUEZ/JORGE
   285488 RODRIGUEZ/BENJAMIN                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285489 LUIS ROIG SEPULVEDA                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUIS ROIG TORRES Y/O ANA M
   285490 ROIG                                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285491 LUIS ROLDAN APONTE                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285493 LUIS ROLDAN MENDEZ                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   700242 LUIS ROLDAN RUIZ                            54 CALLE CUESTA VIEJA                                                                                                 AGUADILLA           PR         00603‐5320
   703815 LUIS ROLON                                  125 CHALETS LAS CUMBRES       APT 118                                                                                 BAYAMON             PR         00956
   703816 LUIS ROLON GONZALEZ                         URB LUCHETTI                  54 CALLE VIRGILIO DEL POZO                                                              MANATI              PR         00674
   703819 LUIS ROMAN ACEVEDO                          HC 2 BOX 17956                                                                                                        SAN SEBASTIAN       PR         00685
   285494 LUIS ROMAN CORDERO                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUIS ROMAN DBA BONAIRE
   703820 GLASS                                       PO BOX 6547                                                                                                           BAYAMON             PR         00960‐9006
   285495 LUIS ROMAN PIZARRO                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703821 LUIS ROMAN ROSA                             HC 40 BOX 40577                                                                                                       SAN LORENZO         PR         00754
   703822 LUIS ROMAN SERPA                            BO JUAN DOMINGO               11 CALLE PASTORA                                                                        GUAYNABO            PR         00966
          LUIS ROMERO / EQUIP TAINOS
   703823 DE CARRIZALES                               HC 1 BOX 4543                                                                                                         HATILLO             PR         00659




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          LUIS ROMERO /EQUIPO TAINOS
   703824 DE CARRIZALES                               HC 1 BOX 4543                                                                                                         HATILLO              PR           00659
          LUIS ROMERO CENTENO Y ROSA
   285496 A BERNAT                                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   703825 LUIS ROMERO GUZMAN                          BO PUEBLO SECO               K3 H4 CALLE 5 BUZON 37                                                                   TOA ALTA             PR           00976
   703826 LUIS ROSA FIGUEROA                          197 CALLE VICTORIA                                                                                                    PONCE                PR           00731

   703827 LUIS ROSADO GONZALEZ                        PTO REAL                     622 CALLE 20 PARC ELIZABETH                                                              CABO ROJO            PR           00623
   703828 LUIS ROSADO JIMENEZ                         HC 02 BOX 7337                                                                                                        LARES                PR           00669
   703829 LUIS ROSADO RIVERA                          HC 01 BOX 1282                                                                                                        CABO ROJO            PR           00623
   703830 LUIS ROSADO ROBLES                          URB VALLE ESCONDIDO          605 MIOSOTIS                                                                             CAROLINA             PR           00987
   285497 LUIS ROSADO ROSADO                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   285499 LUIS ROSADO TORO                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      CNTR INTERNAC MERCADEO
   703831 LUIS ROSADO VIANA                           TORRE 2                      90 ROAD 165 SUITE 304                                                                    GUAYNABO             PR           00968
   703832 LUIS ROSARIO                                HC 1 BOX 3553                                                                                                         AIBONITO             PR           00705
   285503 LUIS ROSARIO ALBERT                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   703833 LUIS ROSARIO ALICEA                         HC 1 BOX 3553                                                                                                         AIBONITO             PR           00705
          LUIS ROSARIO CABAN Y
   285504 EDMARIAN AYALA                              REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   703834 LUIS ROSARIO COLON                          BDA ROOSEVELT                192 CALLE SAN ISIDRO                                                                     FAJARDO              PR           00738
   285505 LUIS ROSARIO FERNANDEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   285507 LUIS ROSARIO GARCIA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   285508 LUIS ROSARIO LOPEZ                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   703835 LUIS ROSARIO MALDONADO                      FLORAL PARK                  58 CALLE BETANCES                                                                        SAN JUAN             PR           00917
   703836 LUIS ROSARIO MORALES                        VISTAS DE CAMUY              G 16 CALLE SIETE                                                                         CAMUY                PR           00627
   285510 LUIS ROSARIO ORTIZ                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   703838 LUIS ROSARIO PENA                           RR 02 BOX 6696                                                                                                        CIDRA                PR           00739
   703839 LUIS ROSARIO PEREZ                          P O BOX 373082                                                                                                        CAYEY                PR           00736
   285511 LUIS ROSARIO RAMIREZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   703841 LUIS ROSARIO RIVERA                         URB VALLE ARRIBA HEIGTH      PO BOX 1727                                                                              CAROLINA             PR           00984
   703842 LUIS ROSARIO SANTIAGO                       BO LOMAS CALLE 1 G‐17                                                                                                 JUANA DIAZ           PR           00975
   285512 LUIS ROSARIO VILLANUEVA                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   285514 LUIS ROZADA ORTIZ                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   285515 LUIS RUBEN BERRIOS MONTAðEZ REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   285519 LUIS RUBEN COLON MORA       REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   285520 LUIS RUBEN COLON SANTIAGO REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   703843 LUIS RUBEN RIVERA             COM AQUILINO                               SOLAR 78                                                                                 VIEQUES              PR           00765
   703844 LUIS RUBIO CARLO              VILLAS DEL RIO BAYAMON                     C 5 CALLE 13                                                                             BAYAMON              PR           00959
   285521 LUIS RUIT SULE                REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   285522 LUIS RUIZ                     REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LUIS RUIZ ANDUJAR / MARISABEL
   285523 RUIZ                          REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   703845 LUIS RUIZ DAVILA              HC 02 BOX 4091                                                                                                                      MAUNABO              PR           00707
   285525 LUIS RUIZ DE LA TORRE         REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   285526 LUIS RUIZ FELECIANO           REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   703846 LUIS RUIZ POLA                PO BOX 809                                                                                                                          JUANA DIAZ           PR           00795
   285527 LUIS RUIZ SULE                REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   285528 LUIS RUPERTO ALEQUIN          REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   703849 LUIS S BERRIOS MONTES                       URB HACIENDA LA ARBOLEDA I   BOX 11                                                                                   VEGA BAJA            PR           00693‐3500



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  285530 LUIS S COTTO LOPEZ                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  703850 LUIS S GARCIA JIMENEZ                         BDA CHINTO RODON            CALLE E 5                                                                                SAN SEBASTIAN     PR         00685

   703851 LUIS S HERNANDEZ CALDERON                    APARTADO 468                                                                                                         CIDRA             PR         00739
   703852 LUIS S JIMENEZ MONTALVO                      P O BOX 1644                                                                                                         ISABELA           PR         000602
   285531 LUIS S JORGE PENA                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   703853 LUIS S MEDINA BRUNO                          URB VILLA PRADES            683 CALLE ARISTIDES CHAVIER                                                              SAN JUAN          PR         00924
   703854 LUIS S MENDEZ ARCE                           HC 01 BOX 9262                                                                                                       SAN SEBASTIAN     PR         00685
   703855 LUIS S MONTANEZ REYES                        CALLE 266 P.B. 29           COUNTRY CLUB                                                                             CAROLINA          PR         00982
   703856 LUIS S PARIS VELAZQUEZ                       URB VENUS GARDENS           772 ANDROMEDA                                                                            SAN JUAN          PR         00926
   285532 LUIS S PEREZ FLORES                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285533 LUIS S PINERO                                REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285535 LUIS S REYES GONZALEZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703858 LUIS S RIOS DIAZ                             URB PUERTO NUEVO            504 CALLE ANTILLAS                                                                       SAN JUAN          PR         00920‐4125
   703859 LUIS S RIOS ORTIZ                            JUAPE 4 BALBOA                                                                                                       MAYAGUEZ          PR         00680
                                                       CP‐39 CALLE‐J URB.SANTA
   703860 LUIS S RIVERA CHRISTIAN                      TERESITA                                                                                                             PONCE             PR         00731
   285536 LUIS S RIVERA GONZALEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285537 LUIS S ROMAN RIVERA                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703861 LUIS S ROMERO TRINIDAD                       COND LOS CEDROS             EDIF 1 APT 1606                                                                          TRUJILLO ALTO     PR         00976
   703862 LUIS S SERRANO RODRIGUEZ                     PO BOX 476                                                                                                           LUQUILLO          PR         00773
   703863 LUIS S. PINERO RIVERA                        PO BOX 360484                                                                                                        SAN JUAN          PR         00936‐0484
   285538 LUIS S. RIVERA GONZALEZ                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   700243 LUIS SALAS CHARNECO                          RR 1 BOX 16235                                                                                                       SAN SEBASTIAN     PR         00685
   285539 LUIS SALAS PAGAN                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                       URB. SIERRA BAYAMON 5‐3
   703866 LUIS SALEME                                  CALLE 5                                                                                                              BAYAMON           PR         00619
   285540 LUIS SALGADO MARTINEZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703867 LUIS SALINA ROSARIO                          BUENA VISTA                 722 CALLE 4                                                                              SAN JUAN          PR         00915
   285541 LUIS SALINAS FIGUEROA                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703868 LUIS SALIVA                                  URB QUINTO CENTENARIO       344 CALLE SANTA FE                                                                       MAYAGUEZ          PR         00680

   285543 LUIS SAMUEL QUINONES DEDOS                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285544 LUIS SANABRIA ALEQUIN                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285545 LUIS SANABRIA QUINONES                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285546 LUIS SANCHEZ                                 REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285548 LUIS SANCHEZ BETANCES                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285549 LUIS SANCHEZ FERNANDEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285550 LUIS SANCHEZ LORENZANA                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703871 LUIS SANCHEZ MARTINEZ                        PO BOX 1941                                                                                                          MOCA              PR         00676
   703872 LUIS SANCHEZ MENDOZA                         HC 10 BOX 7537                                                                                                       SABANA GRANDE     PR         00637
   703873 LUIS SANCHEZ MIRANDA                         HC 56 BOX 36210                                                                                                      AGUADA            PR         00602‐9788
   703874 LUIS SANCHEZ MURPHY                          P O BOX 140314                                                                                                       ARECIBO           PR         00614
   703875 LUIS SANCHEZ ORTIZ                           HC 1 BOX 7193                                                                                                        MOCA              PR         00676
   703876 LUIS SANCHEZ RIVERA                          URB LA ALTAGRACIA           H 14 CALLE GORRION                                                                       TOA ALTA          PR         00949
   285553 LUIS SANCHEZ SANTIAGO                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703877 LUIS SANGUINO                                CASTILLO DE VAL DE PRADOS                                                                                            SEGOVIA                      40423
   703878 LUIS SANTANA                                 P O BOX 85                                                                                                           SABANA GRANDE     PR         00637
   703880 LUIS SANTANA CRUZ                            BOX 391                                                                                                              GURABO            PR         00778
   285554 LUIS SANTANA DE JESUS                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   703879 LUIS SANTANA LOPEZ                           PO BOX 1572                                                                                                          VEGA ALTA         PR         00692
   285555 LUIS SANTANA QUILES                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  285556 LUIS SANTANA RIVERA                          REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  703884 LUIS SANTANA SANTANA                         URB FOREST HILLS               J‐13 CALLE 28                                                                        BAYAMON              PR         00959
  285557 LUIS SANTIAGO                                REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  285558 LUIS SANTIAGO ADAMES                         REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  285559 LUIS SANTIAGO ALICEA                         REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  285560 LUIS SANTIAGO BENVENUTTI                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  703888 LUIS SANTIAGO BERDECIA                       25 AVE LA PALMA                                                                                                     CIALES               PR         00638
  285561 LUIS SANTIAGO BERRIOS                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  703889 LUIS SANTIAGO BONILLA                        PO BOX 1207                                                                                                         LAJAS                PR         00667
  285562 LUIS SANTIAGO CAPESTANY                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   285563 LUIS SANTIAGO CARRASQUILLO                  REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   285565 LUIS SANTIAGO CLAUDIO                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   285567 LUIS SANTIAGO FIGUEROA                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703891 LUIS SANTIAGO GUILLERMETI                   BOX 1441                                                                                                            JUANA DIAZ           PR         00795
   703892 LUIS SANTIAGO INC.                          PO BOX 5126                                                                                                         CAROLINA             PR         00984
   703893 LUIS SANTIAGO LEBRON                        URB APONTE                     A 29 CALLE 7                                                                         CAYEY                PR         00736
   703894 LUIS SANTIAGO LOPEZ                         URB COLINAS DE PLATA           34 CALLE CAMINO DEL RIO                                                              TOA ALTA             PR         00953
   285569 LUIS SANTIAGO MARTINEZ                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   285571 LUIS SANTIAGO MENDEZ                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   285572 LUIS SANTIAGO NIEVES                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703895 LUIS SANTIAGO OTERO                         K 82 URB SIERRA BERDECIA                                                                                            CIALES               PR         00638
   285573 LUIS SANTIAGO PACHECO                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   285574 LUIS SANTIAGO REYES                         REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703897 LUIS SANTIAGO RIVERA                        BB 10 VILLA BARCELONETA                                                                                             BARCELONETA          PR         00617
   703898 LUIS SANTIAGO RODRIGUEZ                     PO BOX 7126                                                                                                         PONCE                PR         00732
   285575 LUIS SANTIAGO TORRES                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          LUIS SANTIAGO Y MIJUSO
   703899 CONSTRUCTION                                PUEBLO NUEVO                   BOX 3555                                                                             VEGA BAJA            PR         00693
   285577 LUIS SANTINI LOPEZ                          REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                      BO COLOMBIA 71 CALLE
   703901 LUIS SANTOS FERRER                          MIRAMAR                                                                                                             MAYAGUEZ             PR         00680
   703902 LUIS SANTOS FIGUEROA                        HC 01 BOX 2429                                                                                                      BARRANQUITAS         PR         00794
   703903 LUIS SANTOS MCLIN                           LOS ROSALES                    EDIF 3 APT 23                                                                        TRUJILLO ALTO        PR         00976
   285578 LUIS SANTOS MORALES                         REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   700244 LUIS SANTOS ROLON                           PO BOX 445                                                                                                          TOA ALTA             PR         00954
   285579 LUIS SANTOS TORRES                          REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   285580 LUIS SANZ SUAREZ                            REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703905 LUIS SAUL GARCIA PEREZ                      URB LAS VEGAS                  8 CALLE C                                                                            CANOVANAS            PR         00729
   285581 LUIS SCHROEDER RODRIGUEZ                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703906 LUIS SERGIO HERNANDEZ                       PO BOX 2376                                                                                                         MAYAGUEZ             PR         00681
   703907 LUIS SERRANO CASANAS                        PO BOX 195                                                                                                          FLORIDA              PR         00650
   703908 LUIS SERRANO FLORES                         RES SABANA                     H 18 CALLE MEJICO                                                                    SABANA GRANDE        PR         00637
   703909 LUIS SERRANO GARCIA                         COLL BOX 69001                 SUITE 237                                                                            HATILLO              PR         00659
   703910 LUIS SERRANO MENDEZ                         PO BOX 697                                                                                                          MAYAGUEZ             PR         00681
   703911 LUIS SERRANO MERCED                         HC 01 BOX 6588                                                                                                      AGUAS BUENAS         PR         00703
   285584 LUIS SERRANO MIRANDA                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   285585 LUIS SERRANO PAGAN`                         REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703913 LUIS SERRANO RIVERA                         PO BOX 65                                                                                                           COMERIO              PR         00782
   285586 LUIS SERRANO SERRANO                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                      127 CALLE SEVILLA ESQ MENDEZ
   703915 LUIS SERVICE STATION                        VIGO                                                                                                                PONCE                PR         00731
   703917 LUIS SEVILLANO SANCHEZ                      PO BOX 141118                                                                                                       ARECIBO              PR         00614‐1118



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  703918 LUIS SHARON CRUZ                              URB LAS LOMAS               1692‐28 S O                                                                              SAN JUAN             PR         00926
  703919 LUIS SIERRA RIVERA                            HC 43 BOX 11540                                                                                                      CAYEY                PR         00736‐9201
  703920 LUIS SIERRA ROSARIO                           BO MONTELLANO               RR 2 BOX 7544                                                                            CIDRA                PR         00739
  285588 LUIS SIERRA SIERRA                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         LUIS SILVA PARA PATRICIA SILVA
  285589 Y                                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  703922 LUIS SILVA SANTOS                             GRAN VISTA 3                7 PLAZA 1                                                                                GURABO               PR         00778
  285592 LUIS SOLA MALDONADO                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  703924 LUIS SOLER CRESPO                             PO.BOX 21365                                                                                                         SAN JUAN             PR         00928‐1365
  285593 LUIS SOMOZA BRUGUERAS                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  703926 LUIS SOSA MEDINA                              HC 2 BOX 6468                                                                                                        LARES                PR         00685
  703927 LUIS SOTO                                     BOX 1662                                                                                                             MOCA                 PR         00676
  285595 LUIS SOTO ACEVEDO                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  703928 LUIS SOTO AGOSTO                              BDA BORINQUEN 22                                                                                                     SAN JUAN             PR         00921
  285597 LUIS SOTO CABAN                               REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  703929 LUIS SOTO CANCEL                              HC 01 BOX 22771                                                                                                      CABO ROJO            PR         00623
  703930 LUIS SOTO CRUZ                                PO BOX 7126                                                                                                          PONCE                PR         00732

   703931 LUIS SOTO ESCOBAR                            COND PARQUE DE LAS FLORES   APT 3002                                                                                 CAROLINA             PR         00987
   285599 LUIS SOTO FELICIANO                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703932 LUIS SOTO GONZALEZ                           P O BOX 504                                                                                                          RINCON               PR         00677
   285600 LUIS SOTO GUZMAN                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703933 LUIS SOTO HERNANDEZ                          BARRIADA SANDIN             70 CALLE JUPITER                                                                         VEGA BAJA            PR         00693
                                                       HC 01 BOX 16539 BO
   703934 LUIS SOTO LOPEZ                              BORINQUEN                                                                                                            AGUADILLA            PR         00605
   703935 LUIS SOTO MENDEZ                             HC‐01 BOX 4803                                                                                                       CAMUY                PR         00627
   703936 LUIS SOTO MONTIJO                            HC 4 BOX 17987                                                                                                       CAMUY                PR         00627
   285601 LUIS SOTO OLIVERA                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   700245 LUIS SOTO PEREZ                              HC 3 BOX 23135                                                                                                       SAN SEBASTIAN        PR         00685
   703937 LUIS SOTO TIRADO                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   285603 LUIS SOTO TORRALES                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   285604 LUIS SOUCLAT VEGA                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703940 LUIS SOUSA GALLARDO                          PO BOX 190755                                                                                                        SAN JUAN             PR         00919
   285605 LUIS SOUSA OROBITG                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   703941 LUIS SUAREZ CRUZ                             COND MONSERRATE TOWERS 1    AVE SANCHEZ OSORIO APT 710                                                               CAROLINA             PR         00983
   703943 LUIS SUAREZ JUSTINO                          URB ENSANCHE VIVALDY        118 C/ GAUTIER BENITEZ                                                                   MAYAGUEZ             PR         00680
   285606 Luis Suarez Perez                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703944 LUIS SUAREZ RODRIGUEZ                        BOX 1114                                                                                                             JUANA DIAZ           PR         00795
   285607 LUIS SUEIRAS RODRIGUEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703946 LUIS T ACEVEDO MARTY                         P O BOX 250139                                                                                                       AGUADILLA            PR         00604‐0139
                                                                                   14 ESTE CALLE DE DIEGO OFIC
   703947 LUIS T BOOTHBY                               EDIF MEDICO DE DIEGO        103                                                                                      MAYAGUEZ             PR         00680
   285608 LUIS T GANDIA MANTARAS                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   285609 LUIS T MALDONADO TORRES                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   285610 LUIS T PEREZ PADRO                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   700246 LUIS T RIVERA FIGUEROA                       URB VILLAS DE RIO CANAS     1005 CALLE LUIS T NADAL                                                                  PONCE                PR         00728‐1941
   703949 LUIS T RODRIGUEZ VELEZ                       URB SAGRADO CORAZON         CALLE SANTA LUCIA                                                                        GUANICA              PR         00653
   285611 LUIS T TORO SANTOS                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   703951 LUIS TALAVERA DIAZ                           RR 2 BOX 5389                                                                                                        TOA ALTA             PR         00953
   703953 LUIS TERC OFFICE MACHINE                     VEGA BAJA LAKES             L 30 CALLE 11                                                                            VEGA BAJA            PR         00693
   703954 LUIS TEXEIRA RODRIGUEZ                       HC 06 BUZON 4485                                                                                                     COTTO LAUREL         PR         00780
   703955 LUIS TIRADO SUD                              BO ESPINAL                  BZN 59 CALLE E                                                                           AGUADA               PR         00602



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  703956 LUIS TOLEDO BARBOSA                          URB EL VIVERO                 B 10 CALLE 3                                                                          GURABO              PR           00778
         LUIS TOMAS BOOTHBY
  285614 BERROCAL                                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  285615 LUIS TOMASSINI SEGARRA                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  703957 LUIS TORO & ASSOC                            PO BOX 9024275                                                                                                      SAN JUAN            PR           00902‐4275
  285618 LUIS TORO GOYCO                              REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  285620 LUIS TORO RODRIGUEZ                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  703958 LUIS TORRES                                  JS QUINONEZ                   H36 CALLE VICENTE                                                                     CAROLINA            PR           00985
  703959 LUIS TORRES ACEVEDO                          URB MOCA GARDENS              531 CALLE ORQUIDIA                                                                    MOCA                PR           00676
  285621 LUIS TORRES ALEMAR                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  285622 LUIS TORRES CASTA                            REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  285623 LUIS TORRES CEDENO                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  285625 LUIS TORRES COLLAZO                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  285626 LUIS TORRES CUEVAS                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  285627 LUIS TORRES DOUGLASS                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  285628 LUIS TORRES ECHEVARRIA                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  285629 LUIS TORRES JIMENEZ                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  703966 LUIS TORRES LOPEZ                            URB MORELL CAMPOS             CALLE BUEN HUMOR                                                                      PONCE               PR           00730
         LUIS TORRES MARRERO/NEW
  285630 ENERGY                                       PO BOX 384                                                                                                          YAUCO               PR           00689‐0084
  703967 LUIS TORRES MELENDEZ                         HC 5 BOX 61745                                                                                                      CAGUAS              PR           00725‐9249
  285631 LUIS TORRES MORALES                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  703968 LUIS TORRES ORTIZ                            TORRES DE CAROLINA            APT 404‐B                                                                             CAROLINA            PR           00979
  285632 Luis Torres Pagan                            REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  285633 LUIS TORRES REYES                            REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  285634 LUIS TORRES RIVERA                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  703970 LUIS TORRES ROBLES                           GLENVIEW GARDENS              V 17 AVE GLEN                                                                         PONCE               PR           00731
  285636 LUIS TORRES RODRIGUEZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  285637 LUIS TORRES ROMAI                            REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  285638 LUIS TORRES ROMAN                            REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  703972 LUIS TORRES SAEZ                             URB LAS DELIAS                603 CALLE RAFAEL MERCADO                                                              RIO PIEDRAS         PR           00928
  285639 LUIS TORRES SANCHEZ                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   700247 LUIS TORRES SANTIAGO                        URB CANAS 806 CALLE CEREZOS                                                                                         PONCE               PR           00728
   703974 LUIS TORRES SANTOS                          HP ‐ SERVICIO GENERALES                                                                                             RIO PIEDRAS         PR           009360000
   703975 LUIS TORRES SIERRA                          B 19 RESIDENCIAL JAGUAS                                                                                             CIALES              PR           00638
   703976 LUIS TORRES TERRADA                         URB BONEVILLE MANOR           A1 17 CALLE 45                                                                        CAGUAS              PR           00725
   703977 LUIS TORRES VELAZQUEZ                       PO BOX 47                                                                                                           LOIZA               PR           00772‐0047
   285642 LUIS TORRES VELEZ                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   285643 LUIS TOUCET PEREZ                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   703978 LUIS TRANSMISSION SERVICE                   PO BOX 1011                                                                                                         CAYEY               PR           00736
   285644 LUIS TRELLES                                REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   703979 LUIS TRINIDAD                               AVE MIRAMAR 703 APT 301                                                                                             SAN JUAN            PR           00901
   703980 LUIS TRINIDAD RODRIGUEZ                     PO BOX 195487                                                                                                       SAN JUAN            PR           00919‐5419
   285645 LUIS TROCHE CRUZ                            REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LUIS TROCHE EQUIPO
   703982 MEDICO.INC.                                 PO BOX 1197                                              MAYAGUEZ                                                   MAYAGUEZ            PR           00681
   703983 LUIS TROCHE ROBLES                          ALTURAS DE VILLA FONTANA      H 12 CALLE 5                                                                          CAROLINA            PR           00983
   285646 LUIS TRUJILLO ORTEGA                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   703984 LUIS TRUJILLO SOLIS                         URB COUNTRY CLUB              840 CALLE MIGUEL XIORRO                                                               SAN JUAN            PR           00924‐2405

   285648 LUIS U CASIANO/ ALBA DEL TORO REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   285649 LUIS U FIGUEROA RODRIGUEZ     REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  285650 LUIS U FONT RIEFKOHL                         REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  285651 LUIS U HERNANDEZ COLON                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      URB VALLE SAN LUIS BO
   703985 LUIS U RIVAS GUEVAREZ                       BARAONA                   B 15 BOX 251                                                                         MOROVIS             PR         00687
   285652 LUIS U VELEZ MARTINEZ                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703986 LUIS UMPIERRE                               URB TORRIMAR              15 8 GRANADA                                                                         GUAYNABO            PR         00966
   285653 LUIS URBILLA RODRIGUEZ                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285654 LUIS URIEL FELIZ RIVERA                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285655 LUIS V ANDRADES ANDRADES                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   285656 LUIS V BALAGUER ALMODOVAR                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285657 LUIS V BELLAFLORES MARTIN                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285658 LUIS V BENITEZ ALAMO                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703989 LUIS V BERRIOS ORTIZ                        C/ 6 3147 JUAN SANCHEZ                                                                                         BAYAMON             PR         00959
   285659 LUIS V CLAS FERNANDEZ                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285660 LUIS V CLASS FERNANDEZ                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285661 LUIS V COTTO CARABALLO                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285662 LUIS V CRUZ FELICIANO                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703990 LUIS V DELGADO FONSECA                      PO BOX 1295                                                                                                    BAYAMON             PR         00960
   703991 LUIS V DIEPPA ROQUE                         HORIZONTES                C 6 CALLE AURORA                                                                     GURABO              PR         00778
   285663 LUIS V FLORES FLORES                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703992 LUIS V MARIN LOPEZ                          CALLE ABOY 605 3 A                                                                                             SAN JUAN            PR         00907
   285664 LUIS V MARTINEZ MUNIZ                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   703993 LUIS V MELENDEZ SANTANA                     SUITE 126 RR 5 BOX 6000                                                                                        BAYAMON             PR         00956‐3223
   703995 LUIS V ORTIZ SOTO                           604 COND EL TEIDE                                                                                              SAN JUAN            PR         00919
   703996 LUIS V RIVERA ROSARIO                       BO JUAN SANCHEZ           BUZON 158F                                                                           BAYAMON             PR         00959
   700248 LUIS V RODRIGUEZ VIDAL                      PO BOX 575                                                                                                     PE¥UELAS            PR         00624575
   703997 LUIS V VEGA RIVERA                          BO CUBUY PARC BENITEZ     APT 613                                                                              CANOVANAS           PR         00729‐9729
   285665 LUIS V VELAZQUEZ PEREZ                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285666 LUIS V. CLAS FERNANDEZ                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285667 LUIS V. VILLALON CEDEðO                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285673 LUIS VALENTIN CRUZ                          REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285674 LUIS VALENTIN FLORES                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   285675 LUIS VALENTIN NUNEZ SANTOS                  REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704001 LUIS VALENTIN OCASIO                        BO GUAVATE 22550                                                                                               CAYEY               PR         00736
   285676 LUIS VALENTIN QUINONES                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704002 LUIS VALENTIN SERRANO                       URB EL CORTIJO            H 59 CALLE 12                                                                        BAYAMON             PR         00956‐5624
   704003 LUIS VALENTIN SOTO                          PO BOX 1392                                                                                                    AGUADILLA           PR         00605
   285677 LUIS VALLE PENA                             REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   285678 LUIS VALLEJO RODRIGUEZ                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704006 LUIS VALLELLANES ORTIZ                      P O BOX 408                                                                                                    DORADO              PR         00646
   704007 LUIS VARELA ORTIZ                           EXT ALTA VISTA            VV 19 CALLE 27                                                                       PONCE               PR         00716‐4527
   704009 LUIS VARGAS LEBRON                          URB RIO HONDO II          AE 15 CALLE RIO HUMACAO                                                              BAYAMON             PR         00961
   704010 LUIS VARGAS LISBOA                          EL PRADO                  418 CALLE PARAGUAY                                                                   HATO REY            PR         00917
          Luis Vargas Lopez Law Offices
   285679 PSC                                         Cond Darlington Of 409    Ave Munoz Rivera 1007                                                                San Juan            PR         00925
   704011 LUIS VARGAS MALDONADO                       URB LA RIVERA             960 CALLE 15 SO                                                                      SAN JUAN            PR         00921
   704012 LUIS VARGAS NIEVES                          HC 58 BOX 12314                                                                                                AGUADA              PR         00602
   704013 LUIS VARGAS RAMOS                           NUEVA VIDA EL TUQUE       052 CALLE G                                                                          PONCE               PR         00731
   704014 LUIS VARGAS RODRIGUEZ                       NUEVA VIDA EL TUQUE       O52 CALLE G                                                                          PONCE               PR         00731
   704016 LUIS VAZQUEZ BONILLA                        HC 03 BOX 13138                                                                                                JUANA DIAZ          PR         00795‐9512
   704017 LUIS VAZQUEZ COLON                          RR 6 BOX 9332                                                                                                  SAN JUAN            PR         00926



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  704018 LUIS VAZQUEZ CONCEPCION                      BO. OBRERO 710 CALLE 11                                                                                               SAN JUAN          PR       00915
  285682 LUIS VAZQUEZ CORREA                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  285683 LUIS VAZQUEZ FRANCO                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  285684 LUIS VAZQUEZ FREYTES                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  285685 LUIS VAZQUEZ GARCIA                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  704020 LUIS VAZQUEZ JIMENEZ                         96 CALLE JORGE LASALLE                                                                                                QUEBRADILLA       PR       00678
  285686 LUIS VAZQUEZ ORTA                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  704021 LUIS VAZQUEZ ORTEGA                          P O BOX 531                                                                                                           TOA ALTA          PR       00954
  704022 LUIS VAZQUEZ PEREZ                           BO BARCELONA                 16 CALLE MOREL CAMPOS                                                                    MAYAGUEZ          PR       00680
  285687 LUIS VAZQUEZ RODRIGUEZ                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  704027 LUIS VAZQUEZ ROSADO                          PO BOX 25                                                                                                             RINCON            PR       00677
  285689 LUIS VAZQUEZ SANTIAGO                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  704028 LUIS VAZQUEZ TORRES                          71 AVE CONSTITUCION                                                                                                   ARECIBO           PR       00612
  704029 LUIS VAZQUEZ VAZQUEZ                         BO CAIMITAL BAJO BZN 6876                                                                                             GUAYAMA           PR       00784
  704030 LUIS VAZQUEZ VELEZ                           P O BOX 9021394                                                                                                       SAN JUAN          PR       00902
         LUIS VAZQUEZ Y CARMEN
  704031 AGOSTO                                       C/O CONCILIACION (98‐1116)                                                                                            SAN JUAN          PR         00902
                                                                                   5 CALLE GLADIOLA URB CIUDAD
   704033 LUIS VEGA FALCON             JARDS DE BORINQUEN                          JARD                                                                                     CAROLINA          PR         00987
          LUIS VEGA
          HERNANDEZRENEWABLE
   285690 SOLUTIONS                    ENGINEERING INC                             1106 PASEO DEGETAU                                                                       CAGUAS            PR         00727
   704034 LUIS VEGA MORALES            PO BOX 79                                                                                                                            CIDRA             PR         00739
   285692 LUIS VEGA PEDROGO            REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704035 LUIS VEGA ROBLES             HC 01 BOX 13100                                                                                                                      COMERIO           PR         00782
   704036 LUIS VEGA RODRIGUEZ          URB COLINAS                                 F 6 CALLE 2                                                                              YAUCO             PR         00698
   285693 LUIS VEGA ROMERO             REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704037 LUIS VEGA ROSARIO            HC 01 BOX 6315                                                                                                                       CIALES            PR         00638
   704039 LUIS VELAZQUEZ LUMBANO       1795 CALLE PUMARADA                                                                                                                  SAN JUAN          PR         00915
   704040 LUIS VELAZQUEZ OCASIO        URB STA ROSA                                24‐1 CALLE 16                                                                            BAYAMON           PR         00959
   700249 LUIS VELAZQUEZ SOTO          HC 02 BOX 6797                                                                                                                       YABUCOA           PR         00767‐9509
          LUIS VELEZ /DBA LVG COMPUTER
   285696 CONSULTING                   VALLE ENCANTO                               CALLE MANUEL ARENAS SOLAR 8                                                              FLORIDA           PR         00650
   285697 LUIS VELEZ ARROYO            REDACTED                                    REDACTED                    REDACTED                              REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704041 LUIS VELEZ CARRION           URB VILLA FONTANA                           5 D 6 VIA 4                                                                              CAROLINA          PR         00983
   704042 LUIS VELEZ CRUZ              PO BOX 1585                                                                                                                          MAYAGUEZ          PR         00681

   704044 LUIS VELEZ GARCIA                           BO MAMEYAL SEC VILLA PLATA   CALLE 22‐K23                                                                             DORADO            PR         00646
   285698 LUIS VELEZ LAMBERTY                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285699 LUIS VELEZ MOLINA                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704045 LUIS VELEZ ORTIZ                            URB VALLE HERMOSO            SL 17 CALLE CIPRES                                                                       HORMIGUEROS       PR         00660
   285701 LUIS VELEZ SEGUINOT                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285702 LUIS VELEZ VARGAS                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUIS VELEZ Y NELSON SOTO
   285703 CARDONA Y                                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704046 LUIS VENDRELL REYES                         SECTOR LA CURVA              516 CALLE LAREDO                                                                         ISABELA           PR         00662
   704047 LUIS VENTURA GOMENZ                         PO BOX 91                                                                                                             RINCON            PR         00677
   704049 LUIS VERGARA SANTIAGO                       RR 3 BOX 175                                                                                                          NAGUABO           PR         00718
   285705 LUIS VICENTY RAMOS                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   285706 LUIS VICTOR CHAPARRO NUNEZ                  REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285707 LUIS VIDAL ARBONA                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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   704050 LUIS VIDAL NEGRON MARTINEZ                  BO PALOMA                     2 CALLE 5                                                                              YAUCO               PR           00698
   700250 LUIS VIDAL RODRIGUEZ                        URB VENUS GARDENS             B E 32 CALLE F                                                                         SAN JUAN            PR           00926

   704052 LUIS VIERA MARTINEZ                         URB SANTIAGO IGLESIAS         1443 CALLE MANUEL TEXIDOR                                                              SAN JUAN            PR           00921
   285708 LUIS VILLAFANE                              REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285715 LUIS VILLANUEVA RIVERA                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285716 LUIS VILLAREJO DEBEN                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285717 LUIS VILLAREJO RAMIREZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285718 LUIS VILLEGAS DIAZ                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704054 LUIS VIRELLA                                PO BOX 2694                                                                                                          SAN JUAN            PR           00902‐2694
   704055 LUIS VIRUET ORTEGA                          HC 2 BOX 8245                                                                                                        COROZAL             PR           00783
   704057 LUIS W HUERTAS TORRES                       RR 5 BOX 5498                                                                                                        BAYAMON             PR           00956‐9712
   285720 LUIS W PARSONS SANTOS                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704058 LUIS W TARAZONA                             IRLANDA HEIGHTS               FQ 20 CALLE POLARIS                                                                    BAYAMON             PR           00956
   704059 LUIS W VELEZ ROSADO                         ALM EQUIPO DE AGUADILLA       BOX 250041                                                                             AGUADILLA           PR           00603
   704061 LUIS X BAEZ ALICEA                          J 11 URB SAN ANTONIO                                                                                                 SABANA GRANDE       PR           00637
   285721 LUIS X DIAZ ARZUAGA                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285722 LUIS X FRIAS BAEZ                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285723 LUIS X GONZALEZ FIGUEROA                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704062 LUIS X GONZALEZ GONZALEZ                    JARD DE GURABO                186 CALLE 9                                                                            GURABO              PR           00778
   285724 LUIS X HUERTAS SAEZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285725 LUIS X PEREZ TORRES                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285726 LUIS X RIVERA HERNANDEZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704063 LUIS X RODRIGUEZ SIERRA                     PO BOX 39                                                                                                            BARRANQUITAS        PR           00794
   285727 LUIS Y ARROYO SANTIAGO                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704065 LUIS Y CRUZ COTTO                           URB VILLA DEL REY             S 8 CALLE BUCKINGHAN                                                                   CAGUAS              PR           00725
   285728 LUIS Y LATORRE VAZQUEZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704066 LUIS Y MORALES FUENTES                      PO BOX 390                                                                                                           LOIZA               PR           00772

   285730 LUIS YADIEL SANTIAGO ROSARIO                REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285732 LUIS ZAYAS BAEZ                             REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285733 LUIS ZAYAS MARXUACH                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704067 LUIS ZAYAS MONGE                            COOP EL ALCAZAR APTO 19 I                                                                                            SAN JUAN            PR           00923
          LUIS, ILIA Y ROBERTO MUNOZ
   285734 POLANCO                                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUIS, JUAN Y DELIA HERNANDEZ
   704068 HERNANDEZ                                   URB COUNTRY CLUB              JWD 1 CALLE 242                                                                        CAROLINA            PR           00984
   285735 LUIS, MOJICA                                REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285736 LUIS, VARGAS                                REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUISA A DE GARCIA
   704073 MALDONADO                                   HC‐01 BOX 14098                                                                                                      RIO GRANDE          PR           00745
   704074 LUISA A DIAZ ILARRAZA                       P O BOX 3553                                                                                                         VEGA ALTA           PR           00692
   285737 LUISA A ESTEVES NEGRON                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704076 LUISA A INCLAN BIRD                         GARDEN HILLS                  I A 17 CALLE MIRAMONTES                                                                GUAYNABO            PR           00966
                                                      JARDINES METROPOLITANOS 1
   704069 LUISA A ORTIZ COLON                         APT 8‐1                                                                                                              SAN JUAN            PR           00925
   285738 LUISA A QUINONES                            REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704077 LUISA A RIVERA PAGAN                        URB LAS AMERICAS              795 CALLE MONTEVIDEO                                                                   SAN JUAN            PR           00921
   285740 LUISA A RODRIGUEZ                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   704079 LUISA A RODRIGUEZ ORENGO                    COOP DE VIVIENDAS LAS CEIBA   150 APT 0101                                                                           PONCE               PR           00731
   704080 LUISA A TORRES HERNANDEZ                    URB SAN ANTONIO               152 CALLE G‐I                                                                          ARROYO              PR           00714



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  704081 LUISA A VAZQUEZ                              BO CAMPANILLA                  85 B C/ EL MONTE                                                                         TOA BAJA             PR         00949
  285741 LUISA A. VEGA RAMOS                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  285742 LUISA ADORNO PAGAN                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  285743 LUISA ALICEA NIEVES                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  704082 LUISA ALVAREZ DOMINGUEZ                      PO BOX 22207                                                                                                            SAN JUAN             PR         00931
  704083 LUISA ALVAREZ GABRIEL                        CASA 3 BO JARCALITOS                                                                                                    ARECIBO              PR         00612
  704084 LUISA AMARO DE LEON                          32 ARIZONA 4                                                                                                            ARROYO               PR         00714
  704087 LUISA AMPARO COLON                           PO BOX 111                                                                                                              COAMO                PR         00769
  704088 LUISA AROCHO SOTO                            SECTOR CALIFORNIA              1007 CALLE MONTERREY                                                                     ISABELA              PR         00662
  704089 LUISA ARROYO ARROYO                          PO BOX 5030                                                                                                             VEGA ALTA            PR         00692
  285746 LUISA ARROYO DE ABADIA                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  704091 LUISA AVILES                                 HC 1 BOX 7035                                                                                                           FLORIDA              PR         00650
  704092 LUISA AYALA CRUZ                             RES LA CEIBA                   E 2 CALLE 5                                                                              CEIBA                PR         00735
  704096 LUISA BELEN RIVERA                           SAINT JUST                     558 CALLE OREGON                                                                         CAROLINA             PR         00978
  704097 LUISA BENVENUTTI MIRO                        PO BOX 533                                                                                                              MARICAO              PR         00606
  704098 LUISA BIGOTT VELAZQUEZ                       106 CALLE TRES HERMANOS                                                                                                 CONDADO              PR         00907
  285747 LUISA CANDELARIA ESTRELLA                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  285748 LUISA CARDONA                                REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   704100 LUISA CARDONA CORDERO                       URB TERRAZAS DE GUAYNABO       B 11 TULIPAN                                                                             GUAYNABO             PR         00969
   285749 LUISA CERRATO MANZANO                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   704105 LUISA CLAUDIO MALDONADO                     BUENA VISTA                    93 A CALLE ALELI                                                                         CAROLINA             PR         00985
   704106 LUISA COLON PIRELA                          JARD DE MAMEY                  K15 CALLE 7                                                                              PATILLAS             PR         00723
   704107 LUISA COLON SOTOMAYOR                       HC 1 BOX 5063                                                                                                           JAYUYA               PR         00664
   704109 LUISA CRUZ                                  PO BOX 50063                                                                                                            SAN JUAN             PR         00902
          LUISA D RAMIREZ HUERTAS/
   285750 MIGDALIA HUERTA                             REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   704111 LUISA DELGADO CRISPIN                       HP ‐ MANEJO DE INF. DE SALUD                                                                                            RIO PIEDRAS          PR         00936‐0000
   704112 LUISA DIAZ                                  COND SAN JUAN PARK             EDIF M APT M 10                                                                          SAN JUAN             PR         00907
   285751 LUISA DIAZ DIAZ                             REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   285752 LUISA DONE NAVARRO                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   285753 LUISA DONES MATOS                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   704114 LUISA DUPREY ROSA                           HC 01 BOX 5013                                                                                                          ARROYO               PR         00714
   285754 LUISA E CRESPO BURGOS                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   704116 LUISA E CUNNDNGHAN                          URB ROOSEVELT                  409 CALLE PEREZ GALDOS # 31                                                              SAN JUAN             PR         00918
   704118 LUISA E GONZALEZ FIGUEROA                   COND PALMA REAL                2 CALLE MADRID APT PH K                                                                  SAN JUAN             PR         00907
   285757 LUISA E IBAÐEZ                              REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   285758 LUISA E IBANEZ                              REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   704119 LUISA E MARTINEZ COLON                      HC 02 BOX 16410                                                                                                         ARECIBO              PR         00612
   704120 LUISA E NEGRON BADIA                        LAS COLINAS                    L 4 CALLE 9                                                                              TOA BAJA             PR         00949
   285759 LUISA E QUINONES GARCIA                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   285760 LUISA E RAMOS OCASIO                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   285761 LUISA E RIVERA CLAVEROL                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          LUISA E RIVERA/ GREEN ENERGY
   285762 SYSTEMS CO                                  PO BOX 1106                                                                                                             LAS PIEDRAS          PR         00771
   285763 LUISA E ROSADO NEGRON                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   285764 LUISA E. BURGOS VAZQUEZ                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   704121 LUISA FERNANDEZ ZAMBRANO                    1502 CALLE MIRASONIA           APT 4                                                                                    SAN JUAN             PR         00911
   285765 LUISA FERRER SANTOS                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   704122 LUISA FIGUEROA COLON                        2DA LEVITTOWN H2571            PASEO ANGEL                                                                              TOA BAJA             PR         00950



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          LUISA FIGUEROA/ESMERALDO
   285766 RODRIGUEZ                                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285767 LUISA FLORIT LEBRO                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285768 LUISA FUENTES GONZALEZ                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704123 LUISA G FRANQUI ACOSTA                      7 CALLE JOSE DE DIEGO                                                                                                  CABO ROJO           PR           00623
   704124 LUISA G GONZALEZ PEREZ                      URB LA MANSION               NK 1 CALLE BUSTAMANTE                                                                     TOA BAJA            PR           00949
   704125 LUISA GALARZA NIEVES                        BO PUEBLO                    CALLE ERNESTO CABAN                                                                       MOCA                PR           00676
   285769 LUISA GARCIA VARGAS                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704126 LUISA GONZALEZ CAICOYA                      URB VISTA DEL MAR            2717 CALLE SIRENA                                                                         PONCE               PR           00716
   285770 LUISA GONZALEZ DIAZ                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704127 LUISA GONZALEZ VALDES                       BDA SANDIN                   40 AVE SATURNO                                                                            VEGA BAJA           PR           00693
   285773 LUISA GOYTIA COTTO                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285774 LUISA GUADALUPE RIVERA                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704128 LUISA GUEVARA LA FONT                       URB PALMAR NORTE             20 ISLA VERDE                                                                             CAROLINA            PR           00979

   704129 LUISA HERNANDEZ CARRAZCO                    OCEAN PARK                   2223 CALLE CACIQUE                                                                        SAN JUAN            PR           00913
   704130 LUISA HERNANDEZ LIYIM                       PO BOX 1311                                                                                                            FAJARDO             PR           00738
   704131 LUISA I ACEVEDO RODRIGUEZ                   156 CALLE LAS PLUMAS                                                                                                   HORMIGUEROS         PR           00660
                                                                                   497 CALLE EMILIANO POL SUITE
   704132 LUISA I ALICEA CORTIJO                      URB LA CUMBRE                51                                                                                        SAN JUAN            PR           00926
   285775 LUISA I ALICEA SANTIAGO                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285776 LUISA I CASTELLAR PACHECO                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285777 LUISA I CASTRO PAGAN                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704133 LUISA I RODRIGUEZ ROSARIO                   RES MONTE HATILLO            EDIF 26 APT 329                                                                           SAN JUAN            PR           00924
   285778 LUISA I SERRANO DIAZ                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   704134 LUISA IRIZARRY DANIELS                      66 CALLE DEMENSIO R CANALES                                                                                            SAN JUAN            PR           00917‐1121
   285779 LUISA ISAAC APONTE                          REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285781 LUISA JORGE GARCIA                          REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704136 LUISA L DE JESUS MATOS                      URB LOIZA VALLEY            J352 CALLE ASTROMELIA                                                                      CANOVANAS           PR           00729

   285782 LUISA LINNETTE RIVERA ALBINO                REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704140 LUISA LLORENS MIGOYA                        URB LOS ALMENDROS            EC 35 CALLE LOS ROBLES                                                                    BAYAMON             PR           00961
   285784 LUISA LOPEZ CARRASQUILLO                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704141 LUISA LOPEZ CRUZ                            PARCELAS MAGUEYES            152 A CALLE OPALO                                                                         PONCE               PR           00728
   704142 LUISA LOPEZ DE LEON                         47 BEACON ST APT 204                                                                                                   WATERBURY           CT           06704
          LUISA LOPEZ MALDONADO /
   704143 ERIKA N QUESTELL                            LAGOS DE PLATA LEVITTOWN     D 2 CALLE 2                                                                               TOA BAJA            PR           00949
   704144 LUISA LOZADA ARENAS                         500 URB EL ARRENDADO                                                                                                   SABANA GRANDE       PR           00637
   285785 LUISA M BAEZ ORTIZ                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285786 LUISA M BOCACHICA SALAMO                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285787 LUISA M CASTRO CALDERON                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      602 FERNANDEZ JUNCOS SUITE
   704148 LUISA M COLLAZO                             803                                                                                                                    SAN JUAN            PR           00937
   285788 LUISA M COLLAZO VALENTIN                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704149 LUISA M COLOM GARCIA                        PARQUE MEDITERRANEO          F 4 CALLE SICILIA                                                                         GUAYNABO            PR           00966
   285789 LUISA M FERNANDEZ AGOSTO                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUISA M GARCIA Y CRISTINA L
   285790 DIAZ                                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704071 LUISA M GONZALEZ SANCHEZ                    URB ALTURAS DE RIO           BAYAMON B 3 CALLE 6                                                                       BAYAMON             PR           00956
   285791 LUISA M JIMENEZ ARAGUNDE                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704151 LUISA M LUCIANO                             SECTOR LA FUENTE             BUZON 6108                                                                                FLORIDA             PR           00650
   704152 LUISA M MARTINEZ RUBIO                      REPARTO METROPOLITANO        977 28 SE                                                                                 SAN JUAN            PR           00921



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   704153 LUISA M MIRANDA RODRIGUEZ                   URB LAS AGUILAS             B 8 CALLE 5                                                                          COAMO               PR           00769
   285792 LUISA M ORTIZ VELEZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285793 LUISA M PARRILLA FLORES                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704155 LUISA M PEREZ COLON                         PO BOX 13755                                                                                                     SAN JUAN            PR           00908
   285794 LUISA M PEREZ RODRIGUEZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285795 LUISA M PRIETO GONZALEZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704156 LUISA M RIVERA BAEZ                         HC 03 BOX 25014                                                                                                  ARECIBO             PR           00612
   704157 LUISA M RODRIGUEZ TIRADO                    JARD DE CAPARRA             V 19 CALLE 23                                                                        BAYAMON             PR           00959
   704158 LUISA M ROSADO GARCIA                       HC 33 BOX 5800                                                                                                   DORADO              PR           00646
   704159 LUISA M ROSADO VEGA                         URB EL PLANTIO              G 18 CALLE GUAYACAN                                                                  TOA BAJA            PR           00949
   285796 LUISA M ROSAS FLORES                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285797 LUISA M SAEZ CORDERO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285798 LUISA M SAEZ CRUZ                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704146 LUISA M SANG                                PO BOX 9002                                                                                                      SAN JUAN            PR           00908
   285799 LUISA M SANTANA VIDOT                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285800 LUISA M STORER BELLO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285801 LUISA M TORRES RAMIREZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285802 LUISA M. AYALA ROMERO                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285803 LUISA M. COLLAZO VALENTIN                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285805 LUISA M. JOVE RAMOS                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUISA MARIA MALDONADO
   704160 CLARK                                       704 CALLE HIPODROMO APT 5                                                                                        SAN JUAN            PR           00909
   704161 LUISA MARIA PI¥EIRO                         URB PASEO MAYOR             B 17 CALLE 1                                                                         SAN JUAN            PR           00926
          LUISA MARTINEZ / LISETTE
   285808 QUINONEZ                                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   704162 LUISA MARTINEZ MALDONADO                    P O BOX 21365                                                                                                    SAN JUAN            PR           00926‐1365

   285809 LUISA MATARRANZ RODRIGUEZ                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285810 LUISA MATIAS SOTO                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285811 LUISA MATOS                                 REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704164 LUISA MATOS CALO                            PARQUE ECUESTRE             K 16 CALLE 42                                                                        CAROLINA            PR           00987
   285812 LUISA MATOS QUINTANA                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285814 LUISA MEDINA ROLON                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285815 LUISA MELENDEZ GONZALEZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704165 LUISA MERCED                                BDA POLVORIN                7 CALLE 4                                                                            CAYEY               PR           00736
   704166 LUISA MOJICA CASTRO                         BUENA VENTURA               62 A CALLE ROSA BOX 296                                                              CAROLINA            PR           00986
   285816 LUISA MOLINA LOPEZ                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   704169 LUISA MORALES FIGUEROA                      232 AVE ELEONOR ROOSEVELT                                                                                        SAN JUAN            PR           00907
   704170 LUISA N MEDINA VELAZQUEZ                    PO BOX 19                                                                                                        RIO GRANDE          PR           00772
   285823 LUISA N. GONZALEZ FEBUS                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704171 LUISA NIEVES FIGUEROA                       REPTO TERESITA              S 5 CALLE 18                                                                         BAYAMON             PR           00961
   285824 LUISA O FARRIL                              REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704173 LUISA OCASIO GUZMAN                         PO BOX 3731                                                                                                      GUAYNABO            PR           00970
   704174 LUISA ORTIZ GONZALEZ                        LOS ALMENDROS               EB 15 CALLE TILO                                                                     BAYAMON             PR           00961
   704175 LUISA ORTIZ OSORIO                          PO BOX 4123                                                                                                      PUERTO REAL         PR           00740
   704176 LUISA ORTIZ SANTIAGO                        PO BOX 2893                                                                                                      GUAYNABO            PR           00970
   704177 LUISA PEREZ SANTIAGO                        LLANOS DE GURABO            418 CALLE ORQUIDEA                                                                   GURABO              PR           00778
   704178 LUISA QUI¥ONES RIVERA                       BO BUEN ABAJO CARR 330                                                                                           SAN GERMAN          PR           00683
   285827 LUISA QUINONES BENITEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   285828 LUISA QUINONES RIVERA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  285829 LUISA R. ULLOA SOANE                          REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285830 LUISA RAMIREZ ARCE                            REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285831 LUISA RAMIREZ CONTRERAS                       REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  704180 LUISA RAMIREZ GONZALEZ                        BO BOQUERON               BZN 593                                                                          CABO ROJO         PR         00623
  704181 LUISA REXACH PADILLA                          TORRECILLA ALTA           P 499 CALLE 1                                                                    CANOVANAS         PR         00729
  704183 LUISA RIVERA FEBO                             HC 1 BOX 9004                                                                                              CANOVANAS         PR         00729
  704184 LUISA RIVERA GONZALEZ                         BO BAYAMON CERTENEJAS 1   BZN 6667                                                                         CIDRA             PR         00739
  704185 LUISA RIVERA MARRERO                          P O BOX 7428                                                                                               SAN JUAN          PR         00916
  285832 LUISA RIVERA RIVERA                           REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  704186 LUISA RIVERA RODRIGUEZ                        HC 01 BOX 6657                                                                                             JUNCOS            PR         00777
  704187 LUISA RIVERA SANCHEZ                          BO VOLADORAS              HC 1 BOX 5283                                                                    MOCA              PR         00676
  285833 LUISA RIVERA SERRANO                          REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285834 LUISA ROBLES GARCIA                           REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  704188 LUISA RODRIGUEZ AVILES                        URB LEVITTOWN             2371 PASEO ALEGRE                                                                TOA BAJA          PR         00949
         LUISA RODRIGUEZ AVILES,JOSE
  285835 M BARRETO &                                   REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   704189 LUISA RODRIGUEZ HERNANDEZ                    VILLAS DE LOIZA           F 30 CALLE 3                                                                     CANOVANAS         PR       00729
   704190 LUISA RODRIGUEZ LOPEZ                        URB ALTAMIRA              601 CALLE AUSTRAL                                                                SAN JUAN          PR       00920
   285836 LUISA RODRIGUEZ PAGAN                        REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   704191 LUISA ROLON CORTES                           JARDINES DE CAYEY 1       G 16 CALLE 12                                                                    CAYEY             PR       00736
   704192 LUISA ROSA ACEVEDO                           HC 01 BOX 5870                                                                                             BAJADERO          PR       00616
   285837 LUISA ROSARIO                                REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   704193 LUISA ROSSELLI BURSET                        450 AVE PONCE DE LEON     APT 8 B                                                                          SAN JUAN          PR       00901
   285838 LUISA S CUISINE                              REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   704195 LUISA SANCHEZ SANTIAGO                       RES MANUELA PEREZ         EDIF B 3 APT 28                                                                  SAN JUAN          PR       00923
   285839 LUISA SANTIAGO LOPEZ                         REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   704198 LUISA SEIJO MALDONADO                        PO BOX 9010                                                                                                MAYAGUEZ          PR       00681‐9010
   285840 LUISA SOTO VARGAS                            REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   704201 LUISA SUAREZ VAZQUEZ                         PO BOX 1208                                                                                                VEGA BAJA         PR       00694
   704202 LUISA TORO MORALES                           HC 37 BOX 8739                                                                                             GUANICA           PR       00653‐9712
   704203 LUISA TORRES ALVARADO                        DA 45 URB LA MARGARITA                                                                                     SALINAS           PR       00751
   285841 LUISA TORRES ESTEVES                         REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   704204 LUISA TORRES SANTIAGO                        RR 2 BOX 8892                                                                                              MANATI            PR       00674
   285842 LUISA TRONCOSO VALERA                        REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   285843 LUISA V MORALES BELEN                        REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   285844 LUISA V SERRANO                              REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   704205 LUISA V SOLA RIVERA                          P O BOX 538                                                                                                AGUAS BUENAS      PR       00703
   704072 LUISA V. FUSTER BERLINGERI                   44 CALLE A APT #PH 1                                                                                       GUAYNABO          PR       00966‐2234
   285845 LUISA VARELA ORTIZ                           REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   285846 LUISA VAZQUEZ RODRIGUEZ                      REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   704206 LUISA VEGA VAZQUEZ                           SAN ENRIQUE I APTO 10                                                                                      CAMUY             PR       00627
   285848 LUISA VELEZ                                  REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   285849 LUISA VILLALOBOS QUIJANO                     REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   704209 LUISA Y DE JESUS GUADALUPE                   PO BOX 13611                                                                                               SAN JUAN          PR       00908
   285850 LUISALMA RIVERA SANTANA                      REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED

   285852 LUISANETTE TORRUELLAS RIVERA REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   285853 LUISANGELY DIAZ GRACIA       REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          LUISANNETTE TORRUELLA
   285854 RIVERA                       REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   704211 LUISAS CARABALLO PACHECO     HC 2 BOX 11243                                                                                                             YAUCO             PR         00698
   285855 LUISA'S CUISINE              PO BOX 280                                                                                                                 TRUJILLO ALTO     PR         00977



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  704212 LUISED NAVARO CHAMARRO                        PO BOX 37305 AIR PORT STA                                                                                            SAN JUAN          PR         00937‐0305
  285856 LUISEDY RAMOS RODRIGUEZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  704213 LUISEL A NIEVES FIGUEROA                      PO BOX 653                                                                                                           NARANJITO         PR         00719
  704214 LUISEL TORRES HUERTAS                         PO BOX 612                                                                                                           UTUADO            PR         00641
         LUISEL V. REYES OTERO ‐HACER
  285857 COBRO                                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  285858 LUISETTE CABANAS COLON                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  704215 LUISETTE DIAZ MOLINA                          URB BUCARE                    2055 CALLE TOPACIO                                                                     GUAYNABO          PR         00969

   704216 LUISETTE M LOPEZ RIVERA                      ALTOS DEL ESCORIAL BOX 807    508 BLVD DE LA MEDIA LUNA                                                              CAROLINA          PR         00986

   704217 LUISETTE RODRIGUEZ BOLIER                    2333 CONDOMINIO VISTA REAL                                                                                           CAGUAS            PR         00727

   285860 LUISIANA SANCHEZ DE LA CRUZ                  REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704218 LUISITO AUTO PARTS                           P.O. BOX 820                                                                                                         JAYUYA            PR         00664
   704219 LUISITO GARAY SOTO                           BO CARACOLES                  5103 CALLE OSTRA                                                                       PONCE             PR         00717
   704220 LUISITO TIRE CENTER                          PO BOX 820                                                                                                           JAYUYA            PR         00664
   285861 LUISITOS OMNIBUS                             PO BOX 287                                                                                                           CABO ROJO         PR         00623
   704222 LUISITOS OMNIBUS INC                         P O BOX 287                                                                                                          CABO ROJO         PR         00623
   704223 LUISLIN RIVERA LEON                          HC 5 BOX 50228                                                                                                       MAYAGUEZ          PR         00980
                                                       PMB 306 35 JC DE BORBON STA
   704224 LUISSETTE M GOYCO VELEZ                      67                                                                                                                   GUAYNABO          PR         00969‐5375
   704225 LUISSETTE M HERNANDEZ                        2 CALLE MADRID APT PHK                                                                                               SAN JUAN          PR         00907
   285862 LUISSETTE M LOPEZ RIVERA                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704226 LUISSIN FIGUEROA CRUZ                        P O BOX 4463                                                                                                         NAGUABO           PR         00718
   285863 LUIXANGEL OCASIO PICARRO                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285864 LUIZ A BENIQUEZ CORTES                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285865 LUIZ A CRUZ / VERA HAMANN                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704227 LUIZ A PENNA                                 COND VILLA DEL MAR ESTE       APTO PHF                                                                               CAROLINA          PR         00979

   285869 LUJAIRI CORDERO RODRIGUEZ                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285870 LUJO MD, JUAN                                REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704228 LUJUANS CASTLE PARTY INC                     102 CALLE POST SUR                                                                                                   MAYAGUEZ          PR         00680

   285871 LULAC NATIONAL SERVICES INC.                 221 N KANSAS ST STE 1200                                                                                             EL PASO           TX         79901
  1420272 LULDES GIRAUD, CERVERA                       LUIS BENABE HERNANDEZ         PO BOX 1390                                                                            LUQUILLO          PR         00773
   285876 LULE CORP                                    RR 01 BOX 3405                                                                                                       CIDRA             PR         00739
   285877 LULU FARIA MALDONADO                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   285878 LULU SERVICE STATION                         1251 CALLE LAS PALMAS         ESQ RH TODD                                                                            SAN JUAN          PR         00907
   704230 LUMAEL CAMACHO RIVERA                        URB BRISAS DE EMAJAGUA        G 8 P O BOX 1050                                                                       MAUNABO           PR         00707
   285880 LUMAR D. LOPEZ NATER                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704231 LUMAR MAQUINILLA                             ISABEL ESQ LOLITA TIZOL                                                                                              PONCE             PR         00731
   704232 LUMARA DETRES MACHADO                        BO ISLOTE II                  426 CALLE 2                                                                            ARECIBO           PR         00612
   704234 LUMARI ORTIZ DE JESUS                        URB UNIVERSITY GDNS           191 CALLE YALE                                                                         SAN JUAN          PR         00927
   704235 LUMARIE GARCIA PIAZZA                        PO BOX 910                                                                                                           ADJUNTO           PR         00601
   285882 LUMARIE MATOS DURANT                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   285883 LUMARIE RODRIGUEZ PACHECO                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704236 LUMARIE ROSA GOMEZ                           P O BOX 681                                                                                                          SAN LORENZO       PR         00754
   704237 LUMARIE SANTIAGO ROSADO                      PO BOX 5126                                                                                                          CAROLINA          PR         00984
   285885 LUMARY FRANCO PEREZ                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704240 LUMARY NIEVES PEREZ                          743 CONCEPCION VERA                                                                                                  MOCA              PR         00676
   285886 LUMARYS HENRIQUEZ VELEZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  285887 LUMEN ALBERTO ACEVEDO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  285889 LUMEN MEDINA SOTO                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  704242 LUMEN MENDEZ OLIVER                          P O BOX 140178                                                                                                     ARECIBO             PR         00614
  285890 LUMEN ROMAN GONZALEZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  704243 LUMEN VERA COLON                             PO BOX 1327                                                                                                        AIBONITO            PR         00705
  704244 LUMERCO                                      P O BOX 372255                                                                                                     CAYEY               PR         00737‐2255
         LUMIER COMMUNICATIONS
  285891 CORP                                         FLORAL PARK                  68 RUIZ BELVIS                                                                        SAN JUAN            PR         00917
         LUMIER COMMUNICATIONS,                       RUIZ BELVIS #68 URB FLORAL
  285893 CORP                                         PARK                                                                                                               SAN JUAN            PR         00917
  704245 LUMINADA GARCIA ROSA                         BO CELADA                    HC 01 BOX 4408                                                                        GURABO              PR         00778
         LUMINARIA & CONTROL
  285894 SOLUTIONS                                    MIRAMONTES COND GARDEN       HILLS TOWER APTO 201                                                                  GUAYNABO            PR         00970‐7891
  285895 LUMINATI CORP                                416 AVE DE DIEGO                                                                                                   SAN JUAN            PR         00920
  285896 LUMINEX                                      12212 Technology Blvd                                                                                              Austin              TX         78727‐6115
                                                      A/C MANUEL MORALES
   704246 LUMING CENTRO                               MORALES                      ADM. FOMENTO COMERCIAL     P O BOX 4275                                               SAN JUAN            PR         00902‐4275
   704247 LUMIR J GONZALEZ HOMS                       PO BOX 834                                                                                                         COTTO LAUREL        PR         00780‐0834
   704248 LUMUR INTERNATIONAL                         PO BOX 3726                                                                                                        GUAYNABO            PR         00970
   704249 LUMYS BRIDALS                               21 CALLE BALDORIOTY                                                                                                YAUCO               PR         00698
   285922 LUNA BRAVO, HENRY                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUNA CONSTRUCTION GROUP
   285945 INC                                         PMB 183                      PO BOX 4960                                                                           CAGUAS              PR         00726
          LUNA CONSTRUCTION GROUP,
   285946 LLC                                         CAGUAS 1                                                                                                           CAGUAS              PR         00726
   285972 LUNA E RODRIGUEZ LEBRON                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704250 LUNA ELECTRIC & A/C                         HC 44 BOX 13686                                                                                                    CAYEY               PR         00736
   704251 LUNA FILMS                                  PO BOX 9300134                                                                                                     SAN JUAN            PR         00930‐0134
   704252 LUNA FILMS INC                              URB VALENCIA                 589 PEREIRA LEAL                                                                      SAN JUAN            PR         00923‐1903
   285992 LUNA FLORES MD, LUIS A                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286001 LUNA GONZALEZ MD, IDALIA                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286003 LUNA GONZALEZ, CARMEN I                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286046 LUNA MALDONADO, GISELLE                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   286047 LUNA MALDONADO, RAMON A                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704253 LUNA NUEVA                                  P O BOX 19941                                                                                                      SAN JUAN            PR         00910‐1941
   704254 LUNA PAINTS CORP                            PO BOX 480                                                                                                         BAYAMON             PR         00960‐0480
  1420273 LUNA RIVERA, ELIEL                          JOSE M. COLON ORTIZ          PO BOX 1330                                                                           AIBONITO            PR         00705
   286170 LUNA S. LUGO LATORRE                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286178 LUNA T SANCHEZ RIVERA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286217 LUNA, JARDINES                              REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286227 LUNATICA PRODUCTIONS INC                    313 CALLE LUNA                                                                                                     SAN JUAN            PR         00901
   286228 LUNISOL LORA RUIZ                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286229 LUNIZ M SEQUINOT                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286230 LUNTZ GLOBAL LLC                            9165 KEY COMMONS COURT                                                                                             MANASSAS            VA         20110
   286231 LUNUEL MONTANEZ PADILLA                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286234 LUPE MATEO RONDON                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286235 LUPERCIO MAYA NEGRON                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704257 LUPERCIO ORTIZ GUZMAN                       URB ALTURAS DE FAIR VIEW     C 9 CALLE 7                                                                           SAN JUAN            PR         00926

   704258 LUPERCIO RAMOS RAMIREZ                      BO OBRERO                    425 CALLE JUAN MOREL CAMPOS                                                           SAN JUAN            PR         00915
   286246 LUPICKI MD , MAREK R                        REDACTED                     REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704261 LUPIS ENTERPRISES INC                       PMB 1269                     COND CASTILLO DEL MAR                                                                 CAROLINA            PR         00979



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          LUQUILLO BEACH SERVICE
   704262 STATION                                     41 CALLE FERNANDEZ GARCIA                                                                                            LUQUILLO             PR           00773
          LUQUILLO COMMUNITY HEALTH
   286263 CENTER                                      PO BOX 511                                                                                                           LUQUILLO             PR           00773
   704263 LUQUILLO DEVELOPMENT S E                    PO BOX 13487                                                                                                         SAN JUAN             PR           00908
   704264 LUQUILLO FUNERAL HOME                       HC 1 BOX 7295                                                                                                        LUQUILLO             PR           00773‐9605
          LUQUILLO GENERAL
   286264 CONTRACTOR                                  P O BOX 552                                                                                                          LUQUILLO             PR           00773
          LUQUILLO MEDICAL SERVICES
   286265 LLC                                         CALLE QUINTO CENTENARIO 159                                                                                          LUQUILLO             PR           00773
          LURAIDA M. RIVERA
   286277 MALDONADO                                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   704267 LURDEMAR PRADO RODRIGUEZ URB ALTURAS DEBUCARABONES 3W 16 CALLE 41                                                                                                TOA BAJA             PR           00953
   286278 LURDES ORTIZ SANTIAGO      REDACTED                   REDACTED                                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   286279 LURDES RODRIGUEZ ANAYA     REDACTED                   REDACTED                                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   286280 LURGREA CENTRAL COLLEGE    3RA SECC LEVITTOWN         BB 64 AVE BOULEVARD                                                                                        TOA BAJA             PR           00949
   286281 LURIANNE GARCIA PIAZZA     REDACTED                   REDACTED                                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   704268 LURIBEL MARALES RIVERA     URB VALLE VERDE            A Q 7 CALLE RIO SONADOR                                                                                    BAYAMON              PR           00961
          LURIMAR PRINCING PRODUTS
   704269 INC                        PO BOX 2175                                                                BAYAMON                                                    BAYAMON              PR           00960
   286282 LURIN B RIVERA RODRIGUEZ   REDACTED                   REDACTED                                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   286283 LURIS LASPRILLA            REDACTED                   REDACTED                                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   704270 LURIS VELEZ VEGA           URB COUNTRY CLUB           905 CALLE SINSONTE                                                                                         RIO PIEDRAS          PR           00924
   286284 LURRELEY ARZOLA TORRES     REDACTED                   REDACTED                                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   704272 LUSACAMI RENTAL            PO BOX 8184                                                                                                                           HUMACAO              PR           00792
   704273 LUSCAR MARINE              CARR 100 BOX 1311                                                                                                                     CABO ROJO            PR           00623
   286287 LUSIAN ITURBE ORTIZ        REDACTED                   REDACTED                                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   704275 LUSMAR DUPREY MARTE        URB REGIONAL               B 19 CALLE 4                                                                                               ARECIBO              PR           00612
   704276 LUTERGIA PAGAN             PO BOX 193641                                                                                                                         SAN JUAN             PR           00919
   704277 LUTFU OZBEY                70 PACER LANE                                                                                                                         FREEHOLD             NJ           07728
   704279 LUTGARDA CINTRON APONTE    PLAYA SANTA ENSENADA       CALLE PRINCIPAL                                                                                            GUANICA              PR           00653
   286288 LUTGARDO ACEVEDO LOPEZ     REDACTED                   REDACTED                                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LUTGARDO ACEVEDO LOPEZ
   286289 CMA                        REDACTED                   REDACTED                                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LUTGARDO ACEVEDO LOPEZ/PV INTEGRATORS @ ENGINEERS OF
   286290 SYSTEMS                    PR                         5 CALLE PALOMA                                                                                             MOCA                 PR           00676
          LUTHERAN HELATHCARE MEDIAL LUTHERAN HELATHCARE MEDIAL
   286291 PAVILLION                  PAVILLION                  8714 FIFTH AVENUE                                                                                          BROOKLYN             NY           11209
   704281 LUTRA GROUP SP             5215 PIONEER FORK GROUP                                                                                                               SALT LAKE CITY       UT           84103‐1678
   704282 LUTRON SM INC              PO BOX 856                 CARR 909 KM 0 2                                                                                            HUMACAO              PR           00792

   704283 LUVAMU HOSPITAL                             CALLE 23 #164 PONCE DE LEON                                                                                          GUAYNABO             PR           00965

   286298 LUVIS AMBULANCE SERVICE INC                 PO BOX 783                                                                                                           JAYUYA               PR           00664
          LUVISETHS MARTOS
   286300 BETANCOURT                                  REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   286301 LUX ANTONIA RODRIGUEZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   704284 LUX CAMPERS                                 P O BOX 50867                 PRADERA NORTE                                                                          TOA BAJA             PR           00949
   704285 LUXAN CABRET FUENTES                        URB LOS CHOFERES              A 17 CALLE RAFAEL BERDEJO                                                              SAN JUAN             PR           00926
   286302 LUXIELI ALVAREZ MEDERO                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   286304 LUXOTTICA US HOLDINGS CORP                  ACCOUNT DEPARTMENT            PO BOX 38699                                                                           COLORADO SPRINGS     CO           80937



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   704316 LUZ . OCASIO NIEVES                         HP ‐ MANEJO DE INF. DE SALUD                                                                                         RIO PIEDRAS          PR           009360000

   704319 LUZ A ACEVEDO SANTAELLA                     URB VALLE DE CERRO GORDO       X 11 CALLE RUBI                                                                       BAYAMON              PR           00957
   704320 LUZ A APONTE COLON                          URB SAN JUAN GARDENS           1882 SAN ALVARO                                                                       SAN JUAN             PR           00926
   704317 LUZ A APONTE LABOY                          PO BOX 2017 PMBC 115                                                                                                 LAS PIEDRAS          PR           00771‐9717
   704321 LUZ A BARRETO BARRETO                       HC 2 BOX 12234                                                                                                       MOCA                 PR           00676
   704322 LUZ A BARTOLOMEI BEY                        136 CALLE JUSTINIANO                                                                                                 MAYAGUEZ             PR           00680
   704324 LUZ A BETANCOURT VELEZ                      HC 1 BOX 11839                                                                                                       CAROLINA             PR           00985
   704325 LUZ A BOCANEGRA GARCHE                      URB BAYAMON GARDENS LL 4       CALLE JACKELINE                                                                       BAYAMON              PR           00956

   704327 LUZ A CARRERAS SOTOMAYOR                    PO BOX 1837                                                                                                          CABO ROJO            PR           00623
   704329 LUZ A CENTENO LUGO                          PO BOX 663                                                                                                           CIDRA                PR           00739
   286350 LUZ A COLON SANCHEZ                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   286351 LUZ A CONCEPCION CORDERO                    REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   704330 LUZ A CONCEPCION QUILES                     BOX 900                                                                                                              CIDRA                PR           00739
   704331 LUZ A CORREA ROHENA                         BOX 20000                                                                                                            CANOVANAS            PR           00929
   286352 LUZ A CORUJO NUNEZ                          REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   286353 LUZ A CRUZ PIZARRO                          REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   704333 LUZ A CRUZ PLANCHE                          P O BOX 1865                                                                                                         GUAYNABO             PR           00970‐1865
   704334 LUZ A DOMENECH PIZARRO                      P O BOX 192521                                                                                                       SAN JUAN             PR           00919‐2521
   286355 LUZ A GARCIA VALENTIN                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LUZ A GONZALEZ / JULIO A
   704336 CONCEPCION                                  PUERTA DE TIERRA               AVE PONCE DE LEON APT 9                                                               SAN JUAN             PR           00901
   286357 LUZ A GONZALEZ CARABALLO                    REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   704337 LUZ A GONZALEZ CASTELLANO                   BELLA VISTA                    11 CALLE A                                                                            VEGA BAJA            PR           00693
   286358 LUZ A GONZALEZ ROMAN                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   704339 LUZ A GUZMAN SANTIAGO                       URB IDA MARIS GARDENS          D 8 CALLE MIGUEL A GOMEZ                                                              CAGUAS               PR           00727‐5719
   286359 LUZ A LOPEZ RODRIGUEZ                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LUZ A LUNA HUERTAS /
   704342 OMADDIE L JIMENEZ                           REPARTO METROPOLITANO          1157 CALLE 40 SE                                                                      SAN JUAN             PR           00921

   286360 LUZ A MALDONADO HERNANDEZ REDACTED                                         REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   286361 LUZ A MANGUAL DE JESUS    REDACTED                                         REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   704344 LUZ A MARTINEZ            URB BEBE CALZADA                                 H 22 CALLE 12                                                                         FAJARDO              PR           00738
   704345 LUZ A MARTINEZ RIVERA     URB LA MARINA                                    P 1 CALLE CAMELIA                                                                     CAROLINA             PR           00979
   286362 LUZ A MARTINEZ RODRIGUEZ  REDACTED                                         REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   704347 LUZ A MELENDEZ OCASIO     VALLE ARRIBA HEIGHTS                             H 2 CALLE ANON                                                                        CAROLINA             PR           00983
   704348 LUZ A MELO CORDERO        PO BOX 219                                                                                                                             MAYAGUEZ             PR           00681
   286363 LUZ A MERCADO             REDACTED                                         REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   286364 LUZ A MUNIZ RAMOS         REDACTED                                         REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   286365 LUZ A NATAL RIVERA        REDACTED                                         REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   704350 LUZ A OLEA GARCIA         URB CAPARRA TERRACE                              1332 CALLE 2 SO                                                                       SAN JUAN             PR           00921
   704351 LUZ A ORTIZ BERMUDEZ      HC 4 BOX 8125                                                                                                                          COMERIO              PR           00782
   286366 LUZ A OTERO PAGAN         REDACTED                                         REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   704353 LUZ A PACHECO RIVEA       PO BOX 975                                                                                                                             BAYAMON              PR           00960
   704354 LUZ A PEREZ DE FELIX      URB SUMMIT HILLS                                 561 CALLE GREEN WOOD                                                                  SAN JUAN             PR           00920‐4326
   704355 LUZ A PEREZ MARTINEZ      PO BOX 750                                                                                                                             VEGA ALTA            PR           00692
   286367 LUZ A PEREZ NIEVES        REDACTED                                         REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   286368 LUZ A RAMOS ALBINO        REDACTED                                         REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   704356 LUZ A RECIO PEREZ         JARDINES DE BORINQUEN                            Y 30 CALLE VIOLETA                                                                    CAROLINA             PR           00985



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  286369 LUZ A REYES SANCHEZ           REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  286370 LUZ A RIVERA VAZQUEZ          REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         LUZ A RODRIGUEZ / ALICE DANCE
  704358 ACADEMY                       68 CALLE COMERCIO                                                                                                                JUANA DIAZ          PR         00795
         LUZ A RODRIGUEZ / ZULIMAR
  704359 ARROYO                        F 31 NATIVIDAD LANDRAU                      CAROLINA ALTA                                                                        CAROLINA            PR         00987
         LUZ A RODRIGUEZ LUCIANO /
  704360 ZULIMAR ARROYO                CAROLINA ALTA                               F 31 NATIVIDAD LANDRAU                                                               CAROLINA            PR         00987
  286371 LUZ A RODRIGUEZ PADILLA       REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  704361 LUZ A RODRIGUEZ ROSARIO       URBTERRAZA DE GUAYNABO                      F 2 CALLE AMAPOLA                                                                    GUAYNABO            PR         00969
  704364 LUZ A ROSADO GONZALEZ         URB ROYAL GARDENS                           F 3 CALLE JOSEFINA                                                                   BAYAMON             PR         00957
  704365 LUZ A ROSADO MORALES          HC 01 BOX 3109                                                                                                                   VILLALBA            PR         00766
  286372 LUZ A ROSALY ANTONETTY        REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  704366 LUZ A ROSARIO LAGUNA          BO OBRERO                                   618 CALLE SAN ANTONIO                                                                SAN JUAN            PR         00915
  286373 LUZ A RUIZ SANCHEZ            REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  286374 LUZ A SANJURJO MANSO          REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  286375 LUZ A SANTANA SAMO            REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  286376 LUZ A TORRES CASIANO          REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  286378 LUZ A TORRES HERNANDEZ        REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  704371 LUZ A VALENTIN CASTRO         BO QUEBRADA NEGRITO                         CARR 851 KM 5 8                                                                      TRUJILLO ALTO       PR         00976
  286380 LUZ A VARGAS TAVERAS          REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  704372 LUZ A VAZQUEZ FLORES          MSC 172 URB LAS CUMBRES                     271 CALLE SIERRA MORENA                                                              SAN JUAN            PR         00926‐5531
  704373 LUZ A VEGA                    561 CALLE SUNLIGHT                                                                                                               SAN JUAN            PR         00920‐4311
  704374 LUZ A VEGA RODRIGUEZ          HC 01 BOX 17107                                                                                                                  HUMACAO             PR         00791‐9736
  286381 LUZ A VELEZ PEREZ             REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  704318 LUZ A VIZCARRONDO COLON       ADM SERV GENERALES                          PO BOX 7428                                                                          SAN JUAN            PR         00916‐7428
  286382 LUZ A. AYALA MARTINEZ         REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  286383 LUZ A. BERRIOS RIVERA         REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  286384 LUZ A. ENCARNACION RIVERA     REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         LUZ A. MALDONADO
  286386 HERNANDEZ                     REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  286388 LUZ A. RAMIREZ MOJICA         REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  286389 LUZ A. RIVERA CORTIJO         REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   704378 LUZ ADRIANA GARCIA                          PARQUE MONTERREY 2 EDIF B O APTO 312                                                                              PONCE               PR         00731
   704379 LUZ AGUAYO RODRIGUEZ                        HC 01 BOX 17254                                                                                                   HUMACAO             PR         00791
   704380 LUZ AIDA JUSTINIANO AVILES                  HC 4 BOX 15789                                                                                                    SAN SEBASTIAN       PR         00685
   286391 LUZ AIDA PEREZ RODRIGUEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286392 LUZ AIDA SERRANO ARROYO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286393 LUZ AIDYL PEREZ RODRIGUEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286394 LUZ ALDARONDO GARCIA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704381 LUZ ALMESTICA RODRIGUEZ                     RES SAN FERNANDO            EDIF 4 APT 777                                                                        SAN JUAN            PR         00921
                                                      1002 A COND CIUIDAD
   704382 LUZ ALVAREZ TORRES                          UNIVERSITARIA                                                                                                     TRUJILLO ALTO       PR         00976

   286395 LUZ AMPARO SOLA RODRIGUEZ                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704385 LUZ ANAYA ORTIZ                             HC 01 BOX 3475                                                                                                    MAUNABO             PR         00707

   704386 LUZ ANETTE PLAZA ESCOBALES                  P O BOX 142222                                                                                                    ARECIBO             PR         00614

   704387 LUZ ANGELICA FRADERA CORA                   URB LOS FLAMBOYANES          446 CALLE ALMENDRO                                                                   GURABO              PR         00778‐2788
   286396 LUZ ANGELICA PEREZ LOZADA                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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          LUZ APONTE Y/O FRANCISCO
   286397 KORTRIGHT                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704388 LUZ ARCE OLIVERAS                           PO BOX 335635                                                                                                 PONCE               PR           00733‐5635
   286399 LUZ ARROYO ROSADO                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704389 LUZ AURORA RIVERA RAMOS                     ADM SERV GENERALES          P O BOX 7428                                                                      SAN JUAN            PR           00916‐7428
   704289 LUZ AYALA HERNANDEZ                         URB VILLAS DE LOIZA         AD 10 CALLE 24                                                                    CANOVANAS           PR           00729
   704390 LUZ AYMARA GOMEZ RIVERA                     HC 01 BOX 9376              BO JAGUAS                                                                         GURABO              PR           00778
   286400 LUZ B BAEZ PRIETO                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286401 LUZ B BONILLA GALLOZA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286402 LUZ B BURGOS ORTIZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704391 LUZ B LUYANO TORRES                         PLAYA HUCARES               BOX 80 E                                                                          NAGUABO             PR           00718
   704392 LUZ B MARRERO LAUREANO                      5 22 CALLE 9                                                                                                  CAROLINA            PR           00983
   704393 LUZ B MENDOZA SILVA                         COND VISTA VERDE 12000      CARR 849 BUZON 158                                                                SAN JUAN            PR           00924
   704394 LUZ B MONTALVO ROMAN                        URB VISTA DE CAMUY          F 2 CALLE 1                                                                       CAMUY               PR           00627
   704395 LUZ B PEREZ BAEZ                            URB EXT FOREST HILLS        U 712 CALLE URUGUAY                                                               BAYAMON             PR           00959
   704397 LUZ B RIVERA NERVAEZ                        PO BOX 347                                                                                                    GUAYNABO            PR           00970‐0347
   704398 LUZ B RIVERA RIVERA                         HC 03 BOX 13770                                                                                               COROZAL             PR           00783
   286403 LUZ B RODRIGUEZ SANTIAGO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286404 LUZ B ROSA DELGADO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286405 LUZ B TORRES RODRIGUEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286406 LUZ B. MELENDEZ CRUZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704400 LUZ BAEZ                                    PO BOX 698                                                                                                    COMERIO             PR           00782
   286407 LUZ BARRIONUEVO ROSARIO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286408 LUZ BATISTA SANTIAGO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286409 LUZ BATTISTINI RAMOS                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704401 LUZ BAZA REYES                              EXT VILLA LOIZA             H 32 CALLE 40                                                                     CANOVANAS           PR           00729
                                                      BO PALMAS #11 CALLE
   704403 LUZ BELEN GUEVARA                           PRINCIPAL                                                                                                     CATA¨O              PR           00942
          LUZ BELLINDA MOJICA
   704404 HERNANDEZ                                   PLAZA CAROLINA STATION      PO BOX 10020                                                                      CAROLINA            PR           00988
   704405 LUZ BENITEZ ZENO                            BO SAN FRANCISCO APT 7121                                                                                     ARECIBO             PR           00612
   704406 LUZ BERMUDEZ NIEVES                         RES LOS LIRIOS              EDIF 7 APT 108                                                                    SAN JUAN            PR           00907
   286410 LUZ BETANCOURT SANTIAGO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286411 LUZ BONILLA RIVERA                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704407 LUZ BORIA                                   PARC 1891757                CALLE FALCON                                                                      FAJARDO             PR           00745
   704409 LUZ BURGOS SOTO                             HC 02 BOX 7657                                                                                                CAMUY               PR           00627
   286415 LUZ C ABRAHAM RODRIGUEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286416 LUZ C ABREU FARGAS                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704411 LUZ C ACEVEDO CABAN                         RES LA CRUZ                 EDIF C APT 6                                                                      MOCA                PR           00676
   704412 LUZ C ADORNO SEPULVEDA                      PO BOX 2390                                                                                                   SAN JUAN            PR           00919
                                                      268 CALLE GUMERSINDO
   704414 LUZ C ALBELO ESQUILIN                       MANGUAL                                                                                                       FAJARDO             PR           00738
   286417 LUZ C AMEZQUITA ORTIZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286418 LUZ C ARROYO SANTIAGO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704415 LUZ C ARROYO SANTIAGOS                      RES ROBERTO CLEMENTE        B 4 CALLE 2 APT 1                                                                 CAROLINA            PR           00987
   286419 LUZ C ARROYO SERRANO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704416 LUZ C BETANCOURT                            COMUNIDAD INSBURY           10 CALLE4                                                                         BARCELONETA         PR           00617
   704417 LUZ C BETANCOURT OLIVO                      COMUNIDAD INSBERY           10 CALLE 4                                                                        BARCELONETA         PR           00617
   286420 LUZ C BRUNO ROMAN                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704419 LUZ C BURGOS RODRIGUEZ                      PO BOX 591                                                                                                    BARRANQUITAS        PR           00794
   286421 LUZ C BUTLER MOYA                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286422 LUZ C CABRERA NAVARRO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286423 LUZ C CAMACHO VELEZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  704420 LUZ C CARDONA                                BO GALATEO ALTO                 BUZ 374 CARR 475                                                                      ISABELA           PR         00662
  704421 LUZ C CASIANO                                BO DULCES LABIOS                60 CALLE ENRIQUE PADILLA                                                              MAYAGUEZ          PR         00680
  286425 LUZ C CASTRO FEBO                            REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         LUZ C CINTRON DELGADO / DE
  286426 HOJAS                                        REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  286427 LUZ C COLON QUINTANA                         REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      CIUDAD JARDIN III CALLE SAUCE
   704422 LUZ C COLON RIVERA                          47                                                                                                                    TOA ALTA          PR         00953
   704423 LUZ C CONCEPCION RAMOS                      PO BOX 23                                                                                                             AGUADA            PR         00602
   286428 LUZ C CORA ARROYO                           REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286429 LUZ C CORTEZ CRUZ                           REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286430 LUZ C CRUZ GARCIA                           REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286431 LUZ C CRUZ PEREZ                            REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704425 LUZ C CUADRADO MUNDO                        URB FLORAL PARK                 335 CALLE SUIZA                                                                       SAN JUAN          PR         00917
   704426 LUZ C DAVILA RIVERA                         COND NEW SAN JUAN               APT 1024                                                                              CAROLINA          PR         00630
   286432 LUZ C FELIX TORRES                          REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   286434 LUZ C FIGUEROA MANZANARES                   REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286435 LUZ C FLORES BENITEZ                        REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704428 LUZ C GARCIA CALDERON                       MEDIANIA BAJA BO JOBO           CARR 187 KM 8 HM 8 INT                                                                LOIZA             PR         00772
   704410 LUZ C GARCIA MONTES                         URB VILLA VENECIA               0 62 CALLE MARINA                                                                     CAROLINA          PR         00983
   704429 LUZ C GARCIA ORTIZ                          P O BOX 264                                                                                                           NAGUABO           PR         00718
   286436 LUZ C GONZALEZ BENITEZ                      REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   704431 LUZ C HERNANDEZ GONZALEZ                    HC 5 BOX 10816                                                                                                        MOCA              PR         00676
   704433 LUZ C JIMENEZ TORRES                        PO BOX 21365                                                                                                          SAN JUAN          PR         00926‐1365
   286437 LUZ C LATIMER                               REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286438 LUZ C LECLERC VALENTIN                      REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704434 LUZ C LEON RIVERA                           UR B LA RIVIERA                 A1                                                                                    ARROYO            PR         00714
   704435 LUZ C LOPEZ MERCADO                         HC 1 BOX 4107                                                                                                         LARES             PR         00669
   286439 LUZ C LOPEZ OYOLA                           REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286440 LUZ C LOZADA GARCIA                         REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704436 LUZ C MALDONADO TORRES                      P O BOX 1105                                                                                                          UTUADO            PR         00641
   286441 LUZ C MARTINEZ ARROYO                       REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286442 LUZ C MARTINEZ CARABALLO                    REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704437 LUZ C MARTINEZ DIAZ                         SABANA GARDENS                  6 8 CALLE 10                                                                          CAROLINA          PR         00983
   286443 LUZ C MEDERO ESPAÐOL                        REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286445 LUZ C MEDINA DIAZ                           REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286447 LUZ C MEJIAS CASTRO                         REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704438 LUZ C MERCADO ROMAN                         PO BOX 9381                                                                                                           SAN JUAN          PR         00901‐9381
   286448 LUZ C MOLINA SAMO                           REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286449 LUZ C MORALES FIGUEROA                      REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286451 LUZ C NIEVES RIVERA                         REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704439 LUZ C OLIVERAS FELICIANO                    MANSIONES DE RIO PIEDRAS        459 CALLE LIRIO                                                                       SAN JUAN          PR         00926
   704440 LUZ C OLIVERAS VEGA                         VILLA NUEVA                     B 12 CALLE 3                                                                          CAGUAS            PR         00725
   704443 LUZ C ORTIZ ALVARADO                        PO BOX 231                                                                                                            VILLALBA          PR         00766
   286454 LUZ C ORTIZ DEL VALLE                       REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704444 LUZ C ORTIZ LOPEZ                           PO BOX 340                                                                                                            COROZAL           PR         00783
   704446 LUZ C OTERO NIEVES                          PO BOX 511                                                                                                            MOROVIS           PR         00687
   704447 LUZ C PACHECO CALDERON                      VILLA DE SAN ANTON M 9          CALLE TOMASA ORTIZ                                                                    CAROLINA          PR         00987‐6813
   704449 LUZ C PEREZ MERCADO                         RES LAGOS DE BLASINA            EDIF 2 APTO 25                                                                        CAROLINA          PR         00985
   704448 LUZ C PEREZ VALENTIN                        REPTO CONTEMPORANEO             D15 CALLE E                                                                           SAN JUAN          PR         00926
   704450 LUZ C PINET                                 HC 1 BOX 4494                                                                                                         LOIZA             PR         00772



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  286455 LUZ C QUINONES AYALA                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  286456 LUZ C QUINONES RODRIGUEZ                     REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  286457 LUZ C RIVERA / JULIA RIVERA                  REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  704453 LUZ C RIVERA MEDINA                          P O BOX 574                                                                                             UTUADO              PR         00641
  704454 LUZ C RIVERA NIEVES                          P O BOX 5436                                                                                            CAGUAS              PR         00726
  704456 LUZ C RIVERA ROSADO                          BOX 1772                                                                                                LARES               PR         00669
  704452 LUZ C RIVERA SANTIAGO                        P.O. BOX 9320                                                                                           BAYAMON             PR         00960‐9320
  704457 LUZ C RIVERA SOTO                            URB VISTA HERMOSA     L 4 CALLE 9                                                                       HUMACAO             PR         00791
         LUZ C RODRIGUEZ PARA MICIEL
  286460 SIERRA                                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  704460 LUZ C ROMAN FELICIANO                        BDA CABAN 230         CALLE TUNEL                                                                       AGUADILLA           PR         00603
  286461 LUZ C RUIZ RIJO                              REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286462 LUZ C RUIZ ROJAS                             REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  704461 LUZ C SANCHEZ                                P O BOX 2390                                                                                            SAN JUAN            PR         00919
  286463 LUZ C SOLA SANCHEZ                           REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286464 LUZ C TIRADO LEBRON                          REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286465 LUZ C TORRES CAMACHO                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286466 LUZ C TORRES GONZALEZ                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  704463 LUZ C TORRES RAMIREZ                         CC 39 CALLE CEIBA                                                                                       BAYAMON             PR         00961
  286467 LUZ C TRINIDAD PIZARRO                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286468 LUZ C VAZQUEZ NEGRON                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286469 LUZ C VAZQUEZ SANTOS                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  704464 LUZ C VELEZ GUTIERREZ                        P O BOX 1302                                                                                            JAYUYA              PR         00664
  286470 LUZ C. ALEJANDRO                             REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286472 LUZ C. FIGUEROA CATALA                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286473 LUZ C. GELABERT                              REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286474 LUZ C. GELABERT CARABALLO                    REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286475 LUZ C. GONZALEZ BENITEZ                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286476 LUZ C. MALDONADO ORTIZ                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286477 LUZ C. MARQUEZ SKERRETT                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286478 Luz C. McRae Sanchez                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286479 LUZ C. MERCADO ROMERO                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286480 LUZ C. MONTESINO ROSADO                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286481 LUZ C. REYES REYES                           REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286482 LUZ C. RIVAS SERRANO                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286483 LUZ C. RIVERA RAMOS                          REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286484 LUZ C. ROSA MOLINA                           REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286485 LUZ C. SANTIAGO FELIX                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286486 LUZ C. SANTIAGO VELEZ                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286488 LUZ C. SEGURA MIRANDA                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286490 LUZ C. TRINIDAD PIZARRO                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286491 LUZ CALDERO HERNANDEZ                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  704467 LUZ CALDERON BENITEZ                         N‐3 ‐19 CALLE COTO    LOMAS VERDES                                                                      BAYAMON             PR         00956
  286492 LUZ CALDERON ORTIZ                           REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  704468 LUZ CANDELARIA MARTINEZ                      URB JARD DE ARECIBO   52 CALLE P                                                                        ARECIBO             PR         00612
  286493 LUZ CARDONA HERNANDEZ                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286494 LUZ CARINO                                   REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  704470 LUZ CARRASQUILLO RIVERA                      PARC VAN SCOY         U 10 CALLE 11                                                                     BAYAMON             PR         00957
  286496 LUZ CASTANEDA ROSADO                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286497 LUZ CELENA FELIX TORRES                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  704472 LUZ CELENIA CRUZ ANDUJAR                     EL GUANO              P O BOX 328                                                                       UTUADO              PR         00641

   286498 LUZ CELENIA DIAZ HERNANDEZ                  REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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  704473 LUZ CELENIA GARCIA GARCIA                    SABANA SECA                 4028 AVE PRINCIPAL                                                                        TOA BAJA            PR           00952
                                                                                  K 6 CALLE 8 SABANA ABAJO BZN
   704474 LUZ CELENIA LATIMAR ANDINO                  JARDINES DE PALMAREJO       P34                                                                                       CAROLINA            PR           00982

   704475 LUZ CELENIA MARTELL TORRES                  HC 01 BOX 5965                                                                                                        LAS MARIAS          PR           00670
   286500 Luz Celenia Molinelli Gonzalez              REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   704476 LUZ CELENIA RIVERA                          RES MANUEL A PEREZ          EDIF C 16 APT 190                                                                         SAN JUAN            PR           00923
   286501 LUZ CELENIA RIVERA MERCED                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   704477 LUZ CELENIA RODRIGUEZ ORTIZ                 BOX 315                                                                                                               JUANA DIAZ          PR           00795
   704478 LUZ CELENIA VAZQUEZ DIAZ                    RR 02 BOX 7106              QDA CRUZ                                                                                  TOA ALTA            PR           00953
   704479 LUZ CELESTE BONET                           P O BOX 539                                                                                                           GARROCHALES         PR           00652

   286502 LUZ CELESTE JIMENEZ GONZALEZ REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   704485 LUZ CELESTS SALON                           PLAZA COOP MALL 2DO NIVEL                                                                                             ISABELA             PR           00662
          LUZ CELIA RODRIGUEZ
   704486 MONTANEZ                                    HC 33 BOX 5202                                                                                                        DORADO              PR           00646
   704487 LUZ CENTENO FUENTES                         P O BOX 10211                                                                                                         SAN JUAN            PR           00908
   704488 LUZ CEPEDA ROMERO                           HC 74 BOX 5375                                                                                                        NARANJITO           PR           00719
   286503 LUZ CINTRON SANTIAGO                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   286504 LUZ CLARA RODRIGUEZ RIVERA                  REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   704489 LUZ CLEMENTE MORALES                        BO MARTIN GONZALEZ          KI H5 CARR 860                                                                            CAROLINA            PR           00985
   704490 LUZ COLLAZO RAMOS                           62 CALLE MEDITACION SUR                                                                                               GUAYAMA             PR           00784
   704491 LUZ COLON RODRIGUEZ                         PO BOX 8                                                                                                              LUQUILLO            PR           00773
   286505 LUZ COLORADO SALAZAR                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   286506 LUZ COPODA CORREA                           REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   704291 LUZ CORREA GUERRA                           HC 01 BOX 5575                                                                                                        LOIZA               PR           00772
   704492 LUZ CORTES LOPEZ                            HC 33 BOX 6003                                                                                                        DORADO              PR           00646
   704292 LUZ COTTE ESCUDERO                          PO BOX 732                                                                                                            MANATI              PR           00674
          LUZ CRESPO / HERIBERTO
   286507 RODRIGUEZ                                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   286508 LUZ CRESPO CASTILLO                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   286509 LUZ CRUZ DUME                               REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   704493 LUZ CRUZ LUGO                               HC 2 BOX 8594                                                                                                         YABUCOA             PR           00767
   704494 LUZ CRUZ NIEVES                             PARC SAN ANTONIO            162 HIGUILLAR                                                                             DORADO              PR           00646
   286511 LUZ CRUZ RAMOS                              REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   286512 LUZ CRUZ RIVERA                             REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   704495 LUZ CRUZ SANTIAGO                           JARDINES DE ARROYO          L 130 CALLE 4                                                                             ARROYO              PR           00714
   286514 LUZ D ARROYO RAMOS                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   704496 LUZ D ARZON MENDEZ                          RR 3 BOX 78                                                                                                           NAGUABO             PR           00718
   286516 LUZ D BONILLA MENDEZ                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   286517 LUZ D BORGES CORREA                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   286518 LUZ D CAJIGAS MARTINEZ                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   286519 LUZ D CARMONA TAPIA                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   286520 LUZ D CASTRO DIAZ                           REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   704501 LUZ D CASTRO RAMOS                          PO BOX 2758                                                                                                           RIO GRANDE          PR           00745
   704502 LUZ D CHINEA CARDIN                         RR 03 BOX 10281                                                                                                       TOA ALTA            PR           00953
   286523 LUZ D CLEMENTE QUINONES                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   704504 LUZ D COLON RODRIGUEZ                       HC 01 BOX 7204                                                                                                        GUAYANILLA          PR           00656
   286524 LUZ D COLON ROSARIO                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   704505 LUZ D COLON SERRANO                         VILLA COOPERATIVA           C 21 CALLE 2                                                                              CAROLINA            PR           00985



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  704506 LUZ D COLON VARGAS                           PO BOX 654                                                                                                           BARCELONETA       PR         00617
  286525 LUZ D CONCEPCION CASILLAS                    REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   704507 LUZ D CONCEPCION RODRIGUEZ                  RES VISTA ATENA                D 9 CALLE VENUS                                                                       MANATI            PR         00674
   704508 LUZ D CRUZ RUIZ                             P O BOX 1146                                                                                                         AGUADA            PR         00602
   704509 LUZ D CUADRADO CASTRO                       BO MARIANA II                  HC 01 BOX 16920                                                                       HUMACAO           PR         00791
   286526 LUZ D DAVILA DE ARVELO                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704510 LUZ D DELGADO                               HC 01 BOX 5701                                                                                                       GURABO            PR         00778

   704511 LUZ D DELGADO SOLIVERA                      BO SAN ISIDRO SEC VALLE HILL   C REINITA 35                                                                          CANOVANAS         PR         00729
   704513 LUZ D DIAZ ORTIZ                            CALLE 9‐29 BA EL POLVORIN                                                                                            CAYEY             PR         00736
   286527 LUZ D DONES ALGARIN                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704515 LUZ D ERAZO ORTEGA                          URB CANA                       X3 CALLE 4                                                                            BAYAMON           PR         00956
   704516 LUZ D FIGUEROA SANCHEZ                      HC 01 BOX 2190                                                                                                       LAS MARIAS        PR         00670
   286528 LUZ D GALVEZ OCASIO                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286529 LUZ D GARCIA GARCIA                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704518 LUZ D GERENA DIAZ                           URB RIVERVIEW K 4              CALLE 10 A                                                                            BAYAMON           PR         00961
   704519 LUZ D GERENA MARTINEZ                       BO LAS CUEVAS LOS BARROS       CARR 175 INT                                                                          TRUJILLO ALTO     PR         00976
   704520 LUZ D GONZALEZ                              HC 1 BOX 7721                                                                                                        LOIZA             PR         00772
   704521 LUZ D GONZALEZ CAMACHO                      URB VALLE ALTO                 D18 CALLE 6                                                                           PATILLAS          PR         00723
   286530 LUZ D GONZALEZ CRESPO                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   704523 LUZ D GONZALEZ ENCARNACION                  LA CENTRAL                     67 CALLE 12 PARC CENTRAL                                                              CANOVANAS         PR         00729
   286531 LUZ D HERNANDEZ ORTA                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704525 LUZ D LOPEZ GUZMAN                          34 CALLE MARCOS LOPEZ                                                                                                VEGA BAJA         PR         00693
   704526 LUZ D LOPEZ NIEVES                          URB LAS CUMBRES                497 AVE E POL SUITE 728                                                               SAN JUAN          PR         00926
   704527 LUZ D LOPEZ RODRIGUEZ                       29 CALLE BEGONIA                                                                                                     VEGA BAJA         PR         00693
   704528 LUZ D MARTINEZ PANTOJAS                     PMB 817 BOX 2500                                                                                                     TOA BAJA          PR         00759
   704530 LUZ D MARTINEZ ROMAN                        ALTURAS DE TORRIMAR            B45 SANTA ANA                                                                         GUAYNABO          PR         00969
   704531 LUZ D MEDINA RIVERA                         RR 3 3309                                                                                                            SAN JUAN          PR         00928
   286533 LUZ D MERCADO ACEVEDO                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704534 LUZ D MIRANDA MOLINA                        BO SERCADILLO                  BOX 1042                                                                              ARECIBO           PR         00612
   704535 LUZ D MOJICA COLLAZO                        HC 03 BOX 7661                 URB CENTRAL CALLE CEDRO                                                               JUNCOS            PR         00777
   704536 LUZ D MUNDO DIAZ                            HC 1 BOX 11533                                                                                                       CAROLINA          PR         00985
   286538 LUZ D NAZARIO SOTO                          REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704537 LUZ D NEGRON HERNANDEZ                      BO EL SALTO                    PO BOX 168                                                                            COMERIO           PR         00782
   704538 LUZ D OLIVO ROSARIO                         OJO DE AGUA                    64 CALLE DALIA                                                                        VEGA BAJA         PR         00693
   286539 LUZ D ORTIZ AVILES                          REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704540 LUZ D ORTIZ CARRASQUILLO                    URB NOTRE DAME                 D 31 SAN PABLO                                                                        CAGUAS            PR         00725
   704541 LUZ D OTERO RAMOS                           PO BOX 1530                                                                                                          AGUADILLA         PR         00605
   704542 LUZ D PABON PEREZ                           PO BOX 101                                                                                                           BOQUERON          PR         00622‐0101
   704293 LUZ D PAGAN MEDINA                          OJO DE AGUA                    110 CALLE BEGONIA                                                                     VEGA BAJA         PR         00693
   704543 LUZ D PAOLI CRISPO                          BO LOS GUANOS                  HC BOX 3882                                                                           FLORIDA           PR         00560
   286540 LUZ D PENA ALEMAN                           REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   704545 LUZ D PEREZ LOPEZ                           COOPERATIVA VILLA KENNEDY      EDIF 30 APT 454                                                                       SAN JUAN          PR         00915

   704546 LUZ D PEREZ PINERO                          BO SAN ANTONIO DE LA TUNA      CARR 2 KM 113                                                                         ISABELA           PR         00662
   286541 LUZ D PIZARRO ESCOBAR                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286542 LUZ D QUILES TORRES                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286543 LUZ D RAMIREZ DEL VALLE                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704548 LUZ D RAMOS DE JESUS                        HC 01 BOX 2724                                                                                                       LOIZA             PR         00772
   286544 LUZ D REYES COLON                           REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  286545 LUZ D RIVERA HIRALDO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   704550 LUZ D RIVERA MAYSONET                       URB ALTURAS INTERAMERICANA S 13 CALLE 17                                                                        TRUJILLO ALTO       PR         00976
   704552 LUZ D RIVERA VAZQUEZ                        HC 02 BOX 5102                                                                                                  GUAYAMA             PR         00784
   704553 LUZ D RODRIGUEZ BRIGNONI                    EXT SAN AGUSTIN            1262 CALLE 15                                                                        SAN JUAN            PR         00926
   704554 LUZ D RODRIGUEZ DELGADO                     P O BOX 210                                                                                                     RIO GRANDE          PR         00745
   286546 LUZ D RODRIGUEZ FLORES                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUZ D RODRIGUEZ
   704555 GARCIA/DEYALIEN FLOWERS                     LOS ANGELES                 WD 4 CALLE BEGONIA                                                                  CAROLINA            PR         00979
   704294 LUZ D RODRIGUEZ LEON                        URB DELICIAS 618            CALLE JULIO J GONZALEZ                                                              SAN JUAN            PR         00924
   704557 LUZ D RODRIGUEZ SANCHEZ                     PO BOX 433                                                                                                      CAGUAS              PR         00725
   704558 LUZ D RODRIGUEZ VERA                        P O BOX 33‐5405                                                                                                 PONCE               PR         00733‐5405
   704559 LUZ D ROMERO CANALES                        BOX 1536                                                                                                        LUQUILLO            PR         00773

   704561 LUZ D ROSARIO ARROYO                        232 AVE ELEONOR ROOSEVELT                                                                                       SAN JUAN            PR         00907
   704562 LUZ D ROSARIO MARTINEZ                      5 AVE LAPORTE                                                                                                   GUAYAMA             PR         00784
   704563 LUZ D ROSARIO RIVERA                        QUINTAS DEL NORTE           C 10 CALLE 3                                                                        BAYAMON             PR         00961
   286547 LUZ D SALCEDO VAZQUEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704564 LUZ D SANABRIA PRIPARI                      PO BOX 8827                                                                                                     PONCE               PR         00732
   286548 LUZ D SANCHEZ BERMUDEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286549 LUZ D SANCHEZ RIOS                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286550 LUZ D SANTANA COSME                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286551 LUZ D SANTIAGO AGOSTO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286552 LUZ D SANTIAGO CORA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704565 LUZ D SANTIAGO FIOL                         ALTURAS RIO GRANDE          E 81 CALLE 14                                                                       RIO GRANDE          PR         00745
   286553 LUZ D SANTIAGO PEREZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286554 LUZ D SERRANO ABREO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286555 LUZ D SOLER LAMBOY                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704566 LUZ D SOTO SANTIAGO                         URB EL REMANSO              3 CALLE 1                                                                           PATILLAS            PR         00723
   704567 LUZ D SOTO TORRES                           RR 7 BOX 6661                                                                                                   SAN JUAN            PR         00926
   704568 LUZ D TORMES OLAN                           EXT FOREST HILLS            Y 425 CALLE SEVILLA                                                                 BAYAMON             PR         00959
   286556 LUZ D TORRES CARABALLO                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704569 LUZ D TORRES SERRANO                        PO BOX 487                                                                                                      FLORIDA             PR         00650
   704570 LUZ D VARGAS                                P O BOX 2390                                                                                                    SAN JUAN            PR         00919
   286557 LUZ D VAZQUEZ RESTO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704572 LUZ D VEGA SOTO                             HC 01 BOX 6931                                                                                                  LOIZA               PR         00772
   286558 LUZ D VELAZQUEZ RIVERA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704573 LUZ D VILLANUEVA COBIAN                     PANORAMA VILLAGE            199 VISTA DEL MAR                                                                   BAYAMON             PR         00957
   704575 LUZ D VIVES                                 URB LA FABRICA              C27 BARR COQUI                                                                      AGUIRRE             PR         00704
   704576 LUZ D. BONILLA                              PO BOX 250506                                                                                                   AGUADILLA           PR         00604
   286559 LUZ D. CALCANO AYALA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286560 LUZ D. COLON CINTRON                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286561 LUZ D. FIGUEROA SIERRA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286562 LUZ D. GALVEZ OCASIO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286563 LUZ D. GOMEZ SANCHEZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704580 LUZ D. GONZALEZ                             P O BOX 21365                                                                                                   SAN JUAN            PR         00928
   286564 LUZ D. GONZALEZ DE JESUS                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   286565 LUZ D. LUZUNARIS VELAZQUEZ                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286566 LUZ D. PEREZ RIVERA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286567 LUZ D. RODRIGUEZ GOMEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286568 LUZ D. ROSADO CONCEPCION                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286569 LUZ D. ROSADO MORALES                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  286570 LUZ D. SANCHEZ PAGAN                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  286571 LUZ D. SANTIAGO RIVERA                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  286572 LUZ D.CINTRON ORTIZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                      PARCELA 181 SECTOR VILLA
   704581 LUZ DALIA BAEZ ROMAN                        IRIARTE                       RIO LAJAS                                                                           DORADO               PR         00646
          LUZ DAMARIS PACHECO
   704583 FERNANDEZ                                   HC 40 BOX 41102                                                                                                   SAN LORENZO          PR         00754

   704584 LUZ DAMARIS SANCHEZ RIVERA                  CALLE PALACIOS #236                                                                                               SAN JUAN             PR         00912
   286573 LUZ DARY SANCHEZ TOSADO                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   286574 LUZ DAVILA RIVERA                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   286575 LUZ DE ALBA QUEZADA DE JESUS REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   704586 LUZ DE BORINQUEN LUGO REYES CLUB COSTA MARINA                             11 APART 4J                                                                         CAROLINA             PR         00983
                                      35 SARGENTO HERNANDEZ
   704587 LUZ DE ESPERANZA            CARRION ST                                                                                                                        MANATI               PR         00674
   704588 LUZ DE JESUS FELICIANO      PO BOX 537                                                                                                                        CULEBRA              PR         00775
   704589 LUZ DE JESUS HERNANDEZ      SECCION 9 SANTA JUANITA                       NP 7 CALLE ISLAN                                                                    BAYAMON              PR         00956
   286577 LUZ DE JESUS SERRANO        REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   704590 LUZ DE L RODRIGUEZ FUENTES                  URB FLORAL PARK               192 CALLE ECUADOR                                                                   SAN JUAN             PR         00917
   704591 LUZ DE LA PAZ CARTAGENA                     HC‐5 BOX 59375                                                                                                    CAGUAS               PR         00725
   286579 LUZ DE LOS A FONSECA                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   286580 LUZ DE MAR QUINONES                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   704592 LUZ DEL ALBA ACEVEDO GAUD                   ENCANTADA                     1 VIA PEDREGAL APT 805                                                              TRUJILLO ALTO        PR         00976
   704593 LUZ DEL C REYES SANTIAGO                    VILLAS DE LA SABANA           B2                                                                                  BARCELONETA          PR         00617

   286581 LUZ DEL C ROLDAN SOTOMAYOR REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          LUZ DEL CARMEN GARCIA
   286582 CITRON                     REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   704594 LUZ DEL CARMEN PEREZ COLON                  BO HATO TEJAS                 BOX 128 CALLE VOLCAN                                                                BAYAMON              PR         00961
   704596 LUZ DELGADO ACEVEDO                         URB ALT DE FLAMBOYAN          AA 45 CALLE 15                                                                      BAYAMON              PR         00961
   704597 LUZ DELGADO LLANO                           P O BOX 1028                                                                                                      RIO GRANDE           PR         00745
   704598 LUZ DELGADO LOPEZ                           HC 2 BOX 10439                                                                                                    JUNCOS               PR         00778‐9605

   704600 LUZ DELIA ALVAREZ MERCADO                   BO EL PINO                    APTO 612                                                                            VILLALBA             PR         00766
   704601 LUZ DELIA CRUZADO VIERA                     PARC VILLA COLOMBO                                                                                                VEGA BAJA            PR         00693
   286583 LUZ DELIA GARCIA RIVERA                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   704599 LUZ DELIA GOMEZ DIAZ                        PO BOX 514                                                                                                        GURABO               PR         00778
   286584 LUZ DELIA MARCANO CRUZ                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   704603 LUZ DELIA NAVEDO ORTEGA                     SAN FRANCISCO VILLEGE APT 678                                                                                     CABO ROJO            PR         00623
   286586 LUZ DELIA RAMOS                             REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   704605 LUZ DELIA REYES COLLAZO                     PARCELAS GANDARA I            RR 02 BZN 5057                                                                      CIDRA                PR         00739
   704606 LUZ DELIA REYES RODRIGUEZ                   JARD DE COUNTRY CLUB          AT 4 CALLE 1                                                                        CAROLINA             PR         00983
   704607 LUZ DELIA RIVERA MATOS                      HC 1 BOX 11344                                                                                                    CAROLINA             PR         00895
          LUZ DELIA RODRIGUEZ
   704608 MONTANEZ                                    H C 33 BOX 5202                                                                                                   DORADO               PR         00646
   704610 LUZ DELIA SOIZA FERRER                      PARC HILLS BROTHER            398 CALLE 23                                                                        SAN JUAN             PR         00924
   286588 LUZ DIANNE SOTO GARCIA                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  286589 LUZ DIAZ DEL ROSARIO                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  286590 LUZ DIAZ FIGUEROA                            REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  286592 LUZ DIAZ MORALES                             REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  704612 LUZ DIAZ VEGA                                HC 1 BOX 4748                                                                                                HATILLO             PR         00659
  286593 LUZ DIVINA MARRERO PEREZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  286594 LUZ E ABREU PENA                             REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  704615 LUZ E AGOSTO REYES                           RR 1 BOX 4808                                                                                                CIDRA               PR         00739
  704616 LUZ E ALICEA VAZQUEZ                         HC 6 BOX 61544                                                                                               LARES               PR         00627‐9024
  704617 LUZ E ALMEDINA SANCHEZ                       P O BOX 385                                                                                                  CAGUAS              PR         00737
  704618 LUZ E ALVARADO IRIZARRY                      URB PEREZ MORIS            93 CALLE PONCE                                                                    SAN JUAN            PR         00918
  286595 LUZ E ALVAREZ RODRIGUEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         LUZ E ALVAREZ/PETER J Y
  704620 YENILDA CARRION                              P O BOX 146                                                                                                  PUNTA SANTIAGO      PR         00741
  286596 LUZ E ALVERIO RIVERA                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  704622 LUZ E ALVIRA ENCARNACION                     PO BOX 814                                                                                                   LUQUILLO            PR         00773
  704624 LUZ E ANDUJAR PACHECO                        QUEBRADA CRUZ              RR 2 BUZON 6856                                                                   TOA ALTA            PR         00953
  704625 LUZ E APONTE MATEO                           P O BOX 1587                                                                                                 COAMO               PR         00769
  286597 LUZ E AROCHO MERCADO                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286598 LUZ E ARROYO CARBALLO                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286599 LUZ E AVINO MENDEZ                           REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286600 LUZ E AYALA NAVARRO                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  704626 LUZ E AYALA RAMOS                            BO POZAS                   CARR 6615 KM 3 H 0                                                                CIALES              PR         00638
  704627 LUZ E BAERGA ORTIZ                           CIUDAD JARDIN              74 CALLE SAUCO                                                                    TOA ALTA            PR         00953
  286602 LUZ E BATISTA FEBRES                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  704628 LUZ E BEAUCHAMP                              HC 1 BOX 3006                                                                                                LAS MARIAS          PR         00670
  704629 LUZ E BENITEZ TORRES                         PO BOX 372556                                                                                                CAYEY               PR         00736
  286603 LUZ E BERRIOS SANTIAGO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
         LUZ E BETANCOURT
  286604 BETANCOURT                                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  286605 LUZ E BONET LOPEZ                            REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  704630 LUZ E BONILLA PEREZ                          HC 01 BOX 6826                                                                                               CANOVANAS           PR         00729
  704631 LUZ E BULERIN AYUSO                          URB ESTANCIAS DEL RIO      53 CALLE FLAMBOYAN                                                                CANOVANAS           PR         00729
  704632 LUZ E BURGOS TORRES                          HC 1 BOX 25570                                                                                               VEGA BAJA           PR         00693
  704633 LUZ E CABIYA FIGUEROA                        16 BDA LAUREANO                                                                                              CIALES              PR         00638
  286607 LUZ E CABRERA SAGARDIA                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  704635 LUZ E CALDERON GARCIA                        URB SANTA ELVIRA           M8 CALLE SANTA INES                                                               CAGUAS              PR         00725
  286608 LUZ E CALDERON MARTINEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  704636 LUZ E CALDERON ORTIZ                         PO BOX 3457                                                                                                  VEGA ALTA           PR         00692
  704637 LUZ E CALENDARIO TOLEDO                      P O BOX 102                RAMAL 111                                                                         LARES               PR         00669
  704638 LUZ E CAMACHO NAZARIO                        BO SABANA ENEAS            417 CALLE 17                                                                      SAN GERMAN          PR         00683
  704639 LUZ E CAMPOS DIEPPA                          P O BOX 3232                                                                                                 GUAYNABO            PR         00969
  704640 LUZ E CARDONA OLIVENCIA                      EL GUAYO‐706 CAMINO                                                                                          MAYAGUEZ            PR         00680
         LUZ E CARMONA/ASOC RECR
  704641 SABANA SECA INC                              5461 AVE PRINCIPAL                                                                                           SABANA SECA         PR         00952
  286611 LUZ E CARRASCO CEPEDA                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   704642 LUZ E CARRASQUILLO CEPEDA                   476 DECLARATION DR APT 1                                                                                     ORLANDO             FL         32809

   704643 LUZ E CARRASQUILLO VALENTIN                 VILLA CAROLINA             25‐2 CALLE 5                                                                      CAROLINA            PR         00985
   704644 LUZ E CARRERO FELICIANO                     COND LA ALBORADA           APT 1422 CARR 2                                                                   BAYAMON             PR         00956
   704645 LUZ E CARRILLO RIVERA                       P O BOX 927                                                                                                  CAYEY               PR         00737
   704646 LUZ E CARTAGENA VEGA                        P O BOX 1497                                                                                                 CIALES              PR         00638
   704647 LUZ E CASTRO RODRIGUEZ                      J 16 URB VIRGINIA VALLEY                                                                                     JUNCOS              PR         00777



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  286612 LUZ E CENTENO RIVERA                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  704648 LUZ E CEPEDA ESCOBAR                         URB SANTIAGO               57 CALLE B                                                                           LOIZA              PR         00772
  286613 LUZ E CHACON GRAULAU                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  704650 LUZ E CINTRON MANZANO                        URB PUERTO NUEVO           564 CALLE DUNAS                                                                      SAN JUAN           PR         00920
  704651 LUZ E CINTRON ROMAN                          PO BOX 11855                                                                                                    SAN JUAN           PR         00910‐4225
  704652 LUZ E CLASSEN CONCEPCION                     PO BOX 143584                                                                                                   ARECIBO            PR         00614
  704653 LUZ E CLAUDIO                                C 42 VILLA FONTANA                                                                                              CAROLINA           PR         00983
  286614 LUZ E COLON ACEVEDO                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  704655 LUZ E COLON BURGOS                           BOX 416                                                                                                         CAYEY              PR         00736
  286615 LUZ E COLON CRUZ                             REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  704656 LUZ E COLON RIVERA                           PO BOX 5786                                                                                                     AIBONITO           PR         00705
  704657 LUZ E CORREA RODRIGUEZ                       PO BOX 642                                                                                                      PUERTO REAL        PR         00740
  704658 LUZ E CORREA ROSA                            P O BOX 768                                                                                                     SANTA ISABEL       PR         00757
  704661 LUZ E COTTE NUNCY                            CENTRO JUDICIAL MAYAGUEZ   P O BOX 1210                                                                         MAYAGUEZ           PR         00681‐1210
  704662 LUZ E COTTO ALICEA                           URB CAGUAS NORTE           C 16 CALLE CARACAS                                                                   CAGUAS             PR         00725
  704663 LUZ E COTTO FERNANDEZ                        HC 03 BOX 36282                                                                                                 CAGUAS             PR         00725‐9703
  704664 LUZ E COTTO MELENDEZ                         CAIMITO BAJO               460 CALLE ESTEBAN COTTO                                                              SAN JUAN           PR         00926
  704665 LUZ E CRESPO FELICIANO                       URB SAN AGUSTIN            1159 CABO MAXIMO ALOMAR                                                              SAN JUAN           PR         00923‐3200
  704666 LUZ E CRUZ                                   PO BOX 914                                                                                                      TOA BAJA           PR         00951
  286616 LUZ E CRUZ BARRETO                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286617 LUZ E CRUZ COLON                             REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286618 LUZ E CRUZ CRUZ                              REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286619 LUZ E CRUZ ROMERO                            REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286620 LUZ E CRUZ SANCHEZ                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  704670 LUZ E CRUZ SANTOS                            COLINAS DEL ESTE           1142 CALLE AFRODITA                                                                  JUNCOS             PR         00777
  286621 LUZ E CUEVAS MOLINA                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  704674 LUZ E DIAZ CARTAGENA                         P O BOX 11998              SUITE 126                                                                            CIDRA              PR         00739
  704675 LUZ E DIAZ DE JESUS                          URB JARD SANTA ISABEL      I 8 CALLE 5                                                                          SANTA ISABEL       PR         00757
  704676 LUZ E DIAZ DIAZ                              PO BOX 645                                                                                                      RIO GRANDE         PR         00745
  704677 LUZ E DIAZ GARCIA                            URB JARDINES DE GURABO     139 CALLE 6                                                                          GURABO             PR         00778
  286622 LUZ E DIAZ LUGO                              REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  704678 LUZ E DIAZ RIVERA                            EXT SAN LUIS               38 CALLE ANTIOQUIA                                                                   AIBONITO           PR         00705
  286623 LUZ E DIAZ SERRANO                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  704679 LUZ E DURAN GONZALEZ                         P O BOX 142814                                                                                                  ARECIBO            PR         00614
  286625 LUZ E ECHEVARRIA SEGUI                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286626 LUZ E EFRE NEGRON                            REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286627 LUZ E EFRET                                  REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286631 LUZ E ESTRELLA ROMERO                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  704681 LUZ E FELICIANO DELGADO                      BOX 883                                                                                                         JUNCOS             PR         00777
  704682 LUZ E FELICIANO PEREZ                        BO OBRERO                  515 CALLE TAPIA                                                                      SANTURCE           PR         00915
  286632 LUZ E FERNANDEZ ROMAN                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   704685 LUZ E FIGUEROA / BRYAN PEREZ                COND ALAMEDA TOWER II      APT 1010                                                                             SAN JUAN           PR         00921
   704686 LUZ E FONTANEZ                              HC 8 BPX 49290                                                                                                  CAGUAS             PR         00725‐9834
   286633 LUZ E FRANCO BERMUDEZ                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   286634 LUZ E GARCIA                                REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   286636 LUZ E GARCIA COLON                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   704688 LUZ E GARCIA COSME                          URB BONNEVILLE HEIGHTS     60 CALLE COAMO                                                                       CAGUAS             PR         00727
   704689 LUZ E GARCIA MARTINEZ                       PO BOX 346 COTO LAUREL                                                                                          PONCE              PR         00780
   704690 LUZ E GARCIA RIVERA                         HC 01 BOX 6839                                                                                                  CANOVANAS          PR         00729
   704691 LUZ E GARCIA SANCHEZ                        HC 6 BOX 61221                                                                                                  AGUADILLA          PR         00603‐9817
   704692 LUZ E GONZALEZ CASTILLO                     406‐1 CALLE CERRO LINDO                                                                                         MAYAGUEZ           PR         00680
   704693 LUZ E GONZALEZ CRUZ                         HC 4 BOX 14092                                                                                                  ARECIBO            PR         00612



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  704694 LUZ E GONZALEZ LOPEZ                         BO CAONILLAS HC 01           BOX 3678                                                                                   AIBONITO            PR         00705
  704695 LUZ E GONZALEZ NIEVES                        URB BAYAMON GARDENS          MM 10 CALLE CRISTINA                                                                       BAYAMON             PR         00957
  286639 LUZ E GONZALEZ RODRIGUEZ                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  704697 LUZ E GORDILLO MOLINA                        PO BOX 1443                                                                                                             JAYUYA              PR         00664

   704699 LUZ E GUZMAN CORTE                          BO MORA SECTOR RODRIGUEZ                                38                                                              ISABELA             PR         00662
   286640 LUZ E GUZMAN DAVILA                         REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   704300 LUZ E HERNADEZ HERNANDEZ                    NO 5 CALLE ANA MARIA                                                                                                    CAMUY               PR         00627
   704701 LUZ E HERNANDEZ                             PO BOX 123                                                                                                              CAMUY               PR         00627
   704703 LUZ E HERNANDEZ AROCHO                      HC 5 BOX 10830                                                                                                          MOCA                PR         00676
   286642 LUZ E HERNANDEZ SOSA                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286643 LUZ E HERNANDEZ VELEZ                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704704 LUZ E IRIZARRY RAMOS                        ENCANTADA                    7001 AVENTURA                                                                              TRUJILLO ALTO       PR         00976
   704705 LUZ E ISAAC MARRERO                         RES MONTE PARK               EDIF A APT 5                                                                               SAN JUAN            PR         00924
   704706 LUZ E JIMENEZ CRUZ                          HC 3 BOX 8552                                                                                                           MOCA                PR         00676
   704707 LUZ E JUAREZBE                              HC 01 BOX 11174                                                                                                         CAROLINA            PR         00988
                                                      1063 CALLE EDUARDO ALVAREZ
   704708 LUZ E LABOY SANTIAGO                        INTERIOR                                                                                                                SAN JUAN            PR         00915
   704709 LUZ E LAGARES NEGRON                        P O BOX 11398                                                                                                           SAN JUAN            PR         00910‐1398
   704710 LUZ E LEON LOPEZ                            TURABO GARDENS               RI 18 CALLE H                                                                              CAGUAS              PR         00725
   286644 LUZ E LOPEZ MORALES                         REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286645 LUZ E LOPEZ PEREZ                           REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704295 LUZ E LOPEZ SOTO                            PO BOX 5447                                                                                                             CAGUAS              PR         00726
   704712 LUZ E LUCENA RIVERA                         PO BOX 119                                                                                                              ARECIBO             PR         00613
   704713 LUZ E LUGO MARTINEZ                         APARTADO 11015               FERNANDEZ JUNCOS STATION                                                                   SAN JUAN            PR         00979
   286647 LUZ E LUGO MILLAN                           REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704714 LUZ E LUGO VEGA                             URB ANA MARIA                C 15 CALLE 5                                                                               CABO ROJO           PR         00623
   286648 LUZ E MACEIRA SANCHEZ                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   286649 LUZ E MALDONADO GONZALEZ                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286650 LUZ E MALDONADO REYES                       REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704717 LUZ E MARCANO DIAZ                          REPTO CAGUAX                 C/A BUREN M 25                                                                             CAGUAS              PR         00725
   704718 LUZ E MARQUEZ QUINTANA                      HC 2 BOX 49261                                                                                                          LAS PIEDRAS         PR         00771
   704719 LUZ E MARRERO ALFONSO                       URB SANTA JUANITA            WB 9 CALLE CAMPECHE                                                                        BAYAMON             PR         00956
   704724 LUZ E MARTINEZ FALU                         HILL BROTHERS                378 CALLE 7                                                                                SAN JUAN            PR         00924
   286652 LUZ E MARTINEZ MARTINEZ                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704725 LUZ E MARTINEZ RAMOS                        BOX 579                                                                                                                 COAMO               PR         00769
   704727 LUZ E MAYSONET                              HC 2 BOX 4924                                                                                                           LAS PIEDRAS         PR         00771
   704728 LUZ E MEDINA TORRES                         BDA NUEVA                    B 28                                                                                       UTUADO              PR         00641
                                                                                   366 CALLE BARTOLOME LAS
   704729 LUZ E MELENDEZ MARTINEZ                     VILLA PALMERAS               CASAS                                                                                      SAN JUAN            PR         00915
   704730 LUZ E MENDEZ CHARNECO                       1149 BALCANES                                                                                                           SAN JUAN            PR         00920
   704731 LUZ E MENDEZ NORIEGA                        PARC MARGINAS                233 CALLE JOBOS                                                                            SABANA GRANDE       PR         00637
   704732 LUZ E MENDEZ RIVERA                         URB SANTA MONICA             C 36 CALLE 4                                                                               BAYAMON             PR         00957
   286654 LUZ E MERCADO MENDEZ                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704734 LUZ E MERCADO RAMIREZ                       236 VILLA ACEVEDO                                                                                                       MAYAGUEZ            PR         00680
   286656 LUZ E MIRALLI GONZALEZ                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286657 LUZ E MIRANDA MARTINEZ                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286658 LUZ E MONTANEZ BENITEZ                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704736 LUZ E MORALES SANCHEZ                       BDA VENEZUELA                55 CALLE PRINCIPAL                                                                         SAN JUAN            PR         00926
   704737 LUZ E MORALES VALENTIN                      HC 1 BOX 26618                                                                                                          CABO ROJO           PR         00623
   286659 LUZ E NARVAEZ/ LUZ JIMENEZ                  REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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MML ID                NAME                                       ADDRESS 1                 ADDRESS 2                       ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  704739 LUZ E NEVAREZ SOTO                           URB COUNTRY CLUB           970 CALLE BARBADOS                                                                        SAN JUAN          PR         00924
  704740 LUZ E NIEVES                                 SALOME RAMOS               CALLE 9                                                                                   MOCA              PR         00676
  704741 LUZ E NIEVES ARROYO                          8 CALLE LIVORNA            APT 18 E                                                                                  SAN JUAN          PR         00924‐4019
  286660 LUZ E NIEVES REYES                           REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  704742 LUZ E NIEVES RODRIGUEZ                       REPARTO METROPOLITANO      1210 CALLE 62 SE                                                                          SAN JUAN          PR         00921
  704743 LUZ E OFRAY                                  JAJOME BAJO RAMAL 708                                                                                                CAYEY             PR         00736
  286662 LUZ E OJEDA CORTES                           REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  704744 LUZ E OLIVERAS ALVARADO                      HC 01 BOX 4906                                                                                                       SALINAS           PR         00751
  704745 LUZ E ONOFRE ACEVEDO                         BO VIGIA 12                                                                                                          ARECIBO           PR         00612
  286663 LUZ E OQUENDO HOLGUIN                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  286664 LUZ E OQUENDO VARGAS                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  704746 LUZ E ORTIZ GARCIA                           A 35 RESIDENCIAL JAGUAS                                                                                              CIALES            PR         00638
  286667 LUZ E ORTIZ ORTIZ                            REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  704748 LUZ E ORTIZ RODRIGUEZ                        VICTORIA STATION           BOX 1425                                                                                  AGUADILLA         PR         00605
  286669 LUZ E ORTIZ ROLON                            REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  704749 LUZ E ORTIZ VELAZQUEZ                        URB VALLE LA PROVIDENCIA   4B‐21 CALLE 4                                                                             PATILLAS          PR         00723

   704750 LUZ E OSORIO PLAZA                          BO LAS CUEVAS              CALLE ESPIRITU SANTO BOX 446                                                              LOIZA             PR         00772
   286670 LUZ E PABON FIGUEROA                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286671 LUZ E PAGAN OTERO                           REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704296 LUZ E PALERMO ACOSTA                        CARR 313 KM 1.7 INTERIOR   BO BALLAJA BUZON 517                                                                      CABO ROJO         PR         00623
   286672 LUZ E PALLENS ROSA                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286673 LUZ E PANTOJA RIVERA                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   704752 LUZ E PASTRANA OQUENDO                      URB LEVITTOWN LAKES        BA 13 CALLE DR JOAQUIN BOSCH                                                              TOA BAJA          PR         00949
   286674 LUZ E PERDOMO ROSA                          REDACTED                   REDACTED                     REDACTED                              REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704753 LUZ E PEREZ CORDERO                         P O BOX 1150                                                                                                         MOCA              PR         00676‐1150
   286675 LUZ E PEREZ MUNOZ                           REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704754 LUZ E PEREZ ORTIZ                           58 AVE PADRE RIVERA                                                                                                  HUMACAO           PR         00791
   704755 LUZ E PEREZ VELEZ                           P O BOX 613                                                                                                          QUEBRADILLAS      PR         00678
   704756 LUZ E PICHARDO TORRES                       604 CALLE MAYOR APT 9                                                                                                SAN JUAN          PR         00909

   704757 LUZ E PORTALATIN VILLANUEVA                 HC 04 BOX 48001                                                                                                      HATILLO           PR         00659
   286676 LUZ E PRIETO ADAMES                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286677 LUZ E QUINONES OQUENDO                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704760 LUZ E RAMOS BORGES                          TOMAS CARRION MADURO       71 CALLE 3                                                                                JUANA DIAZ        PR         00795
   286679 LUZ E RAMOS MUNIZ                           REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286680 LUZ E RAMOS ROSARIO                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286681 LUZ E REYES SANTIAGO                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286682 LUZ E RIOS ARCE                             REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704762 LUZ E RIOS GONZALEZ                         COLINAS VERDES             C 10 CALLE 2                                                                              SAN JUAN          PR         00924
   704763 LUZ E RIOS PEREZ                            PO BOX 374                                                                                                           AGUIRRE           PR         00704
   704764 LUZ E RIOS RIVERA                           PO BOX 1271                                                                                                          HATILLO           PR         00659
   704765 LUZ E RIVERA                                MONTE SEBACIO              E 18 CALLE 11                                                                             GURABO            PR         00778
   286683 LUZ E RIVERA CORTES                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704766 LUZ E RIVERA DIAZ                           URB VILLA DEL REY          4TA SECC N 30 CALLE 7                                                                     CAGUAS            PR         00725
   704767 LUZ E RIVERA FIGUEROA                       HC 02 BOX 7201                                                                                                       CIALES            PR         00638
   286684 LUZ E RIVERA GARCIA                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704769 LUZ E RIVERA GOMEZ                          PO BOX 1091                                                                                                          TOA ALTA          PR         00954
   286685 LUZ E RIVERA LOPEZ                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286686 LUZ E RIVERA MARQUEZ                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704770 LUZ E RIVERA ORTEGA                         BO SANTA OLAYA             RR 8 BOX 9672                                                                             BAYAMON           PR         00956
   704297 LUZ E RIVERA RIVERA                         HC 1 BOX 17001                                                                                                       HUMACAO           PR         00791



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  286688 LUZ E RIVERA ROBLES                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                       URB. METROPOLIS 2B‐14 CALLE
   704772 LUZ E RIVERA ROMERO                          32A                                                                                                               CAROLINA            PR         00987
   704773 LUZ E RIVERA VILLANUEVA                      RR 2 BOX 8522                                                                                                     TOA ALTA            PR         00953
   286689 LUZ E RODRIGUEZ                              REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286690 LUZ E RODRIGUEZ CARDONA                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704776 LUZ E RODRIGUEZ COLON                        BDA FELICIA                   125 CALLE 3                                                                         SANTA ISABEL        PR         00757
   286691 LUZ E RODRIGUEZ DIAZ                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286692 LUZ E RODRIGUEZ GIRONA                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704778 LUZ E RODRIGUEZ IRENE                        HC 02 BOX 14208                                                                                                   AGUAS BUENAS        PR         00703‐9611
   286693 LUZ E RODRIGUEZ REYES                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704780 LUZ E RODRIGUEZ ROMAN                        P O BOX 229                                                                                                       AGUAS BUENAS        PR         00703
   286694 LUZ E RODRIGUEZ SANTOS                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704782 LUZ E RODRIGUEZ TORRES                       RIO CANAS                     1662 CALLE GUADIANA                                                                 PONCE               PR         00728‐1822
   286695 LUZ E RODRIGUEZ VAZQUEZ                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286696 LUZ E RODRIGUEZ VELEZ                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286697 LUZ E ROLDAN PEREZ                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286698 LUZ E ROMAN                                  REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704783 LUZ E ROSA                                   P O BOX 859                                                                                                       COAMO               PR         00769
   704784 LUZ E ROSADO                                 279 CARR 864                  HATO TEJAS                                                                          BAYAMON             PR         00956
   286699 LUZ E ROSADO RIVERA                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286700 LUZ E ROSARIO                                REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286701 LUZ E ROSARIO FERREIRA                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUZ E ROSARIO VEGA Y/O
   704786 ANDREA VEGA COLON                            HC 6 BOX 70749                                                                                                    CAGUAS              PR         00725
   704787 LUZ E RUIZ PACHECO                           URB BAHIA 2                   86 CALLE MAGA                                                                       GUAYANILLA          PR         00656
   286702 LUZ E SALGADO                                REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704788 LUZ E SANCHEZ BAEZ                           HC 40 BOX 44345                                                                                                   SAN LORENZO         PR         00754
   704789 LUZ E SANCHEZ GONZALEZ                       HC 72 BOX 3769                                                                                                    NARANJITO           PR         00719
   704790 LUZ E SANCHEZ ORTIZ                          HC 1 BOX 7232                                                                                                     GUAYANILLA          PR         00656‐9741
   704791 LUZ E SANCHEZ ROMAN                          BO. BUEN CONSEJO              296 C/ ALTO                                                                         SAN JUAN            PR         00928
   286703 LUZ E SANTANA MELENDEZ                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286704 LUZ E SANTIAGO CRUZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704795 LUZ E SANTIAGO VELLON                        HC 1 BOX 3486                                                                                                     ARROYO              PR         00714
   704796 LUZ E SANTOS TORRES                          URB SAN CRISTOBAL             13 CALLE I                                                                          BARRANQUITAS        PR         00794
   286705 LUZ E SEGARRA RODRIGUEZ                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286708 LUZ E SERRANO CRUZ                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286709 LUZ E SERRANO LOPEZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286710 LUZ E SIERRA                                 REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286711 LUZ E SIERRA PEREZ                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704798 LUZ E SIMONS MENDEZ                          BO SANTIAGO LIMA BOX 518                                                                                          NAGUABO             PR         00718
   286712 LUZ E SUAREZ ORTIZ                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286713 LUZ E TORRES BERMUDEZ                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286714 LUZ E TORRES DE JESUS                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704802 LUZ E TORRES GONZALEZ                        VILLA DEL BOSQUE BZN 102                                                                                          CIDRA               PR         00739
   704803 LUZ E TORRES HERNANDEZ                       EL CONQUISTADOR               C 26 CALLE 3                                                                        TRUJILLO ALTO       PR         00976
   704805 LUZ E TORRES RUIZ                            LLANOS DEL SUR                CALLE GARDENIA BOX 300                                                              COTO LAUREL         PR         00780
   286715 LUZ E TORRES TORRES                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   286716 LUZ E TORRUELLA VELAZQUEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286717 LUZ E VALENTIN LOPEZ                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704298 LUZ E VALLANILLA MATOS                       BO COQUI 3 CALLE              JESUS T PI¥ERO                                                                      AGUIRRE             PR         00784
   286718 LUZ E VARGAS SERRANO                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  704808 LUZ E VARGAS TORRES                          HC 04‐BOX 15112                                                                                              SAN SEBASTIAN      PR         00685
  286719 LUZ E VAZQUEZ                                REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286720 LUZ E VAZQUEZ BERRIOS                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  704809 LUZ E VAZQUEZ BURGOS                         QUINTAS DE FAJARDO         F 23 CALLE 5                                                                      FAJARDO            PR         00738
  704810 LUZ E VAZQUEZ FRET                           57 VEGA BAJA APT 3573      CALLE SUR                                                                         VEGA ALTA          PR         00692
  286721 LUZ E VAZQUEZ MARTINEZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286722 LUZ E VAZQUEZ RIVER                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  704811 LUZ E VEGA FIGUEROA                          HC 01 BOX 8291                                                                                               SALINAS            PR         00751
  704812 LUZ E VEGA RAMOS                             SUNVILLE                   X 5 CALLE 18                                                                      TRUJILLO ALTO      PR         00976
  286725 LUZ E VELEZ ORTIZ                            REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  704814 LUZ E VELEZ RIVERA                           URB CIUDAD REAL            79 C/ ALCIRA                                                                      VEGA BAJA          PR         00693
  704815 LUZ E VELEZ RODRIGUEZ                        URB BORINQUEN              CALLE B 87                                                                        AGUADILLA          PR         00603
  704816 LUZ E VELEZ SOTO                             723 BO BALLAJA                                                                                               CABO ROJO          PR         00623
  286726 LUZ E VIGO IRIZARRY                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  704299 LUZ E ZAPATA SANCHEZ                         HC 01 BOX 10530                                                                                              LAJAS              PR         00667‐9711
  286727 LUZ E. ABRIL BAEZ                            REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286728 LUZ E. ACEVEDO NIEVES                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286729 LUZ E. ALBALADEJO SUAREZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286730 LUZ E. CAMACHO RODRIGUEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  704820 Luz E. Cardona Olivencia                     El Guayo‐706‐Camino                                                                                          Mayaguez           PR         00680
  286732 LUZ E. DELGADO MORALES                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286733 LUZ E. DIAZ SANTOS                           REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286734 LUZ E. FELICIANO DELGADO                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286735 LUZ E. FIGUEROA OLIVERAS                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286736 LUZ E. FONTANET ALVAREZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286737 LUZ E. GARAY                                 REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286738 LUZ E. GARCIA CINTRON                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286739 LUZ E. GONZALEZ CINTRON                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286740 LUZ E. GONZALEZ RIVERA                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286741 LUZ E. HERNANDEZ SOTO                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  704822 LUZ E. INFANTE ADAMES                        CAPARRA TARRACE            1404 CALLE 4 SO                                                                   RIO PIEDRAS        PR         00921
  286742 LUZ E. IRIZARRY RAMOS                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286743 LUZ E. LOPEZ MALDONADO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286744 LUZ E. MEDINA SOSA                           REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286745 LUZ E. MONZON BECERRIL                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  704823 LUZ E. ORTIZ VAZQUEZ                         PO BOX 328                                                                                                   COROZAL            PR         00783
  286746 LUZ E. ORTIZ VELAZQUEZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  704824 LUZ E. PEREZ MEDINA                          BO SAINT JUST              PO BOX 924                                                                        TRUJILLO ALTO      PR         00978
  704826 LUZ E. RIVERA MONTESINOS                     2107 CALLE LOIZA APT 1                                                                                       SAN JUAN           PR         00912
  704827 LUZ E. RODRIGUEZ DIAZ                        PO BOX 362904                                                                                                SAN JUAN           PR         00936
 1256647 LUZ E. SANTOS RIVERA                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286748 LUZ E. TORRES NEGRON                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  704828 LUZ E. VEGA                                  561 CALLE SUNLIGHT                                                                                           SAN JUAN           PR         00920‐4311
  704301 LUZ E. VEGA RAMOS                            HP ‐ SALA 5 BAJO MUJERES                                                                                     RIO PIEDRAS        PR         009360000
  286749 LUZ E. VEGA RIVERA                           REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286750 LUZ E. VELEZ RIVERA                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286751 LUZ E. VILLEGAS DIAZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  704830 LUZ EDIA ROSA                                LOMAS DE CAROLINA          D 40 MONTE MEMBRILLO                                                              CAROLINA           PR         00987

   704832 LUZ ELENA FELICIANO FELICIANO HC37 BOX 6025                                                                                                              GUANICA            PR         00653

   286752 LUZ ELENIA ORTIZ RODRIGUEZ                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   704833 LUZ ELENIA PABON VAZQUEZ                    VILLA CARIDAD              B 67 CALLE COLON                                                                  CAROLINA           PR         00986



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  704834 LUZ ELENIA QUINTANA                          HC 03 BOX 9857                                                                                                 LARES               PR           00669

   286753 LUZ ELISA QUINONES MACHADO REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   286754 LUZ ELSIE ALBALADEJO SUAREZ                 REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   286755 LUZ ENEIDA AYALA CORREA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   286756 LUZ ENEIDA CORTES COLON                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LUZ ENEIDA ESPAILLAT
   286757 FELICIANO                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LUZ ENEIDA HERNANDEZ
   704835 GONZALEZ                                    C 62 PLAYITA                                                                                                   SALINAS             PR           00751
          LUZ ENEIDA LARACUENTE
   286758 FONTANEZ                                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   286762 LUZ ENEIDA MORALES ORTIZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   704836 LUZ ENEIDA NU¥EZ                            714 C/ HERNANDEZ                                                                                               SAN JUAN            PR           00907

   704837 LUZ ENEIDA OCASIO CEBALLOS                  BOX 755                                                                                                        RIO GRANDE          PR           00745
   704838 LUZ ENEIDA OFRAY RESTO                      HC 44 BOX 14202                                                                                                CAYEY               PR           00736‐9726
   286763 LUZ ENEIDA PINEIRO ESTEVES                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   286764 LUZ ENEIDA PIZARRO ALLENDE                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   286765 LUZ ENEIDA RIOS ARZUAGA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   704839 LUZ ENEIDA RIVERA ALAMO                     HC01 BOX 4099                                                                                                  YABUCOA             PR           00767

   286767 LUZ ENEIDA VAZQUEZ VAZQUEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   771156 LUZ ENEIDA VELEZ ALICEA    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   704844 LUZ ENID LOPEZ MALDONADO                    716 CALLE ESTADO             APT 4 MIRAMAR                                                                     SANTURCE            PR           00907
   704846 LUZ ESTER OZOA                              PO BOX 771                                                                                                     ARECIBO             PR           00688
   704847 LUZ ESTERAS CONCEPCION                      H C 4 BOX 45482                                                                                                CAGUAS              PR           00725
   286768 LUZ ESTHER CRUZ ARRAY                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   704848 LUZ ESTHER HIRALDO SANTIAGO HC 02 BOX 14404                                                                                                                CAROLINA            PR           00985

   286769 LUZ ESTHER MORALES MEDINA                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   286770 LUZ ESTHER PAGAN DIAZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   286771 LUZ ESTHER RIVERA CUEVAS                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   286772 LUZ ESTHER RIVERA RIVERA                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   704849 LUZ ESTHER RODRIGUEZ COLON APARTADO 8268                                                                                                                   HUMACAO             PR           00792

   286773 LUZ ESTHER TORRES LANDRAU                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   704850 LUZ ESTHER ZAYAS DIEPPA                     PO BOX 2537                                                                                                    GUAYNABO            PR           00970
   704851 LUZ ESTRADA                                 URB SIERRA LINDA             T 22 CALLE 13                                                                     BAYAMON             PR           00957
          LUZ EVELIA GONZALEZ
   286774 GONZALEZ                                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   286775 LUZ F ESPINOSA VARGAS                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   704854 LUZ F RODRIGUEZ OCASIO                      URB. LAS FLORES D5 CALLE 3                                                                                     JUANA DIAZ          PR           00795
   286776 LUZ FEBO RAMOS                              REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   704855 LUZ FEBO VEGA                               P O BOX 716                                                                                                    CANOVANAS           PR           00729
   286779 LUZ FIGUEROA ARENAS                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   286780 LUZ FRANQUI VALENTIN                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   286781 LUZ G ARROYO MONTIJO                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  286782 LUZ G CARMONA CRUZ                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286783 LUZ G CASTRO NIEVES                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286784 LUZ G MEDINA AGRONT                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286785 LUZ G PACHECO NIEVES                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  704857 LUZ G ROQUE AYALA                            URB VICTOR ROJAS I                                                                                                     ARECIBO            PR         00612
  704858 LUZ G TORRES SANTANA                         SANTA JUANITA                 AS 42 CALLE 37                                                                           BAYAMON            PR         00956
  286788 LUZ G. CASTRO NIEVES                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286789 LUZ G. PACHECO NIEVES                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286790 LUZ GALARZA CONCEPCION                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  704859 LUZ GARCIA                                   HC 2 BOX 9409                                                                                                          LAS MARIAS         PR         00670‐9022
  704860 LUZ GARCIA HERNANDEZ                         CABO CARIBE LOS NARANJOS      PARC 130 CALLE 3                                                                         VEGA BAJA          PR         00693

   286791 LUZ GERARDINA YUMBLA LEON                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   704861 LUZ GERENA VELEZ                            HC 1 BOX 4854                                                                                                          CAMUY              PR         00627
   286792 LUZ GISELLE PEREZ ARROYO                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   704864 LUZ GOICOCHEA COLON                         HC 05 BOX 31576                                                                                                        HATILLO            PR         00659

   704866 LUZ GONZALEZ ALAMO                          BO ESPERANZA SECTOR PATILLA                                                                                            ARECIBO            PR         00612
   286793 LUZ GONZALEZ ALICEA                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   704867 LUZ GONZALEZ CUSTODIO                       URB VILLA ALBA                CALLE 6 APT E 73                                                                         SABANA GRANDE      PR         00637
   286794 LUZ GONZALEZ DE JESUS                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   704869 LUZ GONZALEZ DIAZ                           PO BOX 1198                                                                                                            TOA BAJA           PR         00951‐1198
   704872 LUZ GONZALEZ GUADALUPE                      45 AVE SAN JOSE                                                                                                        UTUADO             PR         00641
   704873 LUZ GONZALEZ LUGO                           HC 2 BOX 14585                                                                                                         AGUAS BUENAS       PR         00703
   286795 LUZ GONZALEZ MEDINA                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      WONDERVILLE SECTOR LOS
   704874 LUZ GONZALEZ MENDEZ                         OCASIOS                       H I K7 CALLE MARTE FINAL                                                                 TRUJILLO ALTO      PR         00976
   704875 LUZ GONZALEZ NIEVES                         EMBALSE SAN JOSE              126 CALLE VILLA REAL PLEB 3                                                              SAN JUAN           PR         00923
   286796 LUZ GONZALEZ PENA                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   286797 LUZ GONZALEZ PIMENTEL                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   704877 LUZ GONZALEZ RIVERA                         HC 01 BOX 4474                                                                                                         LOIZA              PR         00772
   704878 LUZ GONZALEZ TOSADO                         HC 02 BOX 1159                                                                                                         QUBRADILLAS        PR         00678
   704879 LUZ GOTAY OTERO                             RR 6 BOX 10900                                                                                                         SAN JUAN           PR         00926

   704880 LUZ GUTIERREZ MILLAN                        PARC MAGUEYES NUEVAS          304 CALLE SANTIAGO ANDRADE                                                               PONCE              PR         00731
   704881 LUZ GUZMAN MALDONADO                        PLAYA HURACANES               CALLE EL FARO BOX 109                                                                    NAGUABO            PR         00718
   286799 LUZ GUZMAN VERDEJO                          REDACTED                      REDACTED                   REDACTED                               REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   704882 LUZ H AMADOR MAYSONET                       P O BOX 4039                                                                                                           GUAYNABO           PR         00970
   286800 LUZ H AVELINO BIZARRO                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   704883 LUZ H BERRIOS                               6 CALLE GEORGETTI                                                                                                      COMERIO            PR         00782
   286801 LUZ H CANCEL SOTO                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   286802 LUZ H COBIAN OJEDA                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   704884 LUZ H COLON TORRES                          URB ALT CASTELLANA GARDENS    AA 11 CALLE 23 A                                                                         CAROLINA           PR         00983
   286803 LUZ H CORDERO TOSADO                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   704885 LUZ H DELGADO TIRADO                        P O BOX 3252                                                                                                           JUNCOS             PR         00777
   286804 LUZ H DIAZ MARTINEZ                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   704886 LUZ H DIAZ RIVERA                           LAS COLINAS                   Q 24 CALLE 16                                                                            TOA BAJA           PR         00949
   704887 LUZ H FIGUEROA RIVERA                       PO BOX 2653                                                                                                            GUAYAMA            PR         00785
   704888 LUZ H FRED MOLINA                           P O BOX 626                                                                                                            RIO GRANDE         PR         00745
   286805 LUZ H GONZALEZ FERNANDEZ                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   704889 LUZ H LOPEZ                                 HC 43 BOX 11056                                                                                                        CAYEY              PR         00736
   286806 LUZ H MARCANO OTERO                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  704288 LUZ H ORTIZ ORTIZ                            URB SAN CRITOBAL              A 73 CALLE 3                                                                              BARRANQUITAS      PR         00794
  286807 LUZ H PEREZ APONTE                           REDACTED                      REDACTED                      REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  286808 LUZ H RESTO VIERA                            REDACTED                      REDACTED                      REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  704895 LUZ H RIVERA HERNANDEZ                       BOX 1571                                                                                                                CAYEY             PR         00737
  704896 LUZ H RIVERA LOPEZ                           HC 01 BOX 2135                                                                                                          BARRANQUITAS      PR         00794
  704897 LUZ H RIVERA MONTES                          CIUDAD MASSO                  E2‐‐22 CALLE 10                                                                           SAN LORENZO       PR         00754
  286810 LUZ H RODRIGUEZ                              REDACTED                      REDACTED                      REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  704898 LUZ H RODRIGUEZ LEDEE                        PO BOX 132                                                                                                              ARROYO            PR         00714
  704900 LUZ H RODRIGUEZ ROSAS                        URB COSTA SUR                 E‐19 CALLE B                                                                              YAUCO             PR         00698
  286811 LUZ H VELEZ RODRIGUEZ                        REDACTED                      REDACTED                      REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  286812 LUZ H. ROBLES VELAZQUEZ                      REDACTED                      REDACTED                      REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   704901 LUZ HAYDEE RIVERA RODRIGUEZ VILLA CAROLINA                                92‐22 CALLE 89                                                                            CAROLINA          PR         00985
   286813 LUZ HERMELINDA CORDERO      REDACTED                                      REDACTED                      REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704902 LUZ HERNANDEZ               JARD DEL PARAISO                              EDF 26 APTO 195                                                                           SAN JUAN          PR         00926
   286814 LUZ HERNANDEZ MUNIZ         REDACTED                                      REDACTED                      REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286815 LUZ HERNANDEZ PANTOJA       REDACTED                                      REDACTED                      REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704903 LUZ HERNANDEZ RIVERA        BDA SANTIN                                    2 CALLE SATURNO                                                                           VEGA BAJA         PR         00693
   704904 LUZ HERNANDEZ TORRES        URB MATIENSO CINTRON                          505 CALLE PRUNA                                                                           SAN JUAN          PR         00915
   286816 LUZ HUERTA RIVERA           REDACTED                                      REDACTED                      REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704905 LUZ I ALCALA SANTIAGO       URB VILLA DEL CARMEN                          1211 CALLE SAMOA                                                                          PONCE             PR         00716‐2139
   704906 LUZ I AVILLAN GOMEZ         109 ESTE FAJARDO                              CALLE ANTONIO R BARCELO                                                                   FAJARDO           PR         00738
   704908 LUZ I BERMUDEZ              BO GUADIANA                                   HC 73 BOX 5483                                                                            NARANJITO         PR         00719
   704909 LUZ I BERMUDEZ BERMUDEZ     P O BOX 16                                                                                                                              COMERIO           PR         00782
   286818 LUZ I BETANCOURT TORRES     REDACTED                                      REDACTED                      REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286819 LUZ I BURGOS SANTOS         REDACTED                                      REDACTED                      REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704913 LUZ I CINTRON SOTO          HC 1 BOX 6931                                                                                                                           LOIZA             PR         00772
   704914 LUZ I COLLAZO DE LEON       RES MANUEL A PEREZ                            EDIF E‐6 APT 25                                                                           SAN JUAN          PR         00923
   704915 LUZ I COLON FELIX           P O BOX 194475                                                                                                                          SAN JUAN          PR         00919‐4475
   286820 LUZ I COLON SOTO            REDACTED                                      REDACTED                      REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704917 LUZ I DE JESUS RIVERA       COND LOS CANTIZALES                           EDIF A APT G 1                                                                            SAN JUAN          PR         00926
   704919 LUZ I FALCHE FELICIANO      PO BOX 493                                                                                                                              GUANICA           PR         00653
   286822 LUZ I FANTAUZZI MENDEZ      REDACTED                                      REDACTED                      REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704921 LUZ I FIGUEROA MARRERO      P O BOX 988                                                                                                                             TOA BAJA          PR         00951

   704922 LUZ I GARCIA LOPEZ                          COOP JARDINES SAN FRANCISCO   EDIF II PISO 6 APTO 611                                                                   SAN JUAN          PR         00927
   286823 LUZ I GAYA MEDINA                           REDACTED                      REDACTED                      REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704923 LUZ I GONZALEZ CHACON                       H C 03 BOX 21408                                                                                                        ARECIBO           PR         00612
   286824 LUZ I GONZALEZ DONES                        REDACTED                      REDACTED                      REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286825 LUZ I GONZALEZ RODRIGUEZ                    REDACTED                      REDACTED                      REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286826 LUZ I GONZALEZ ROSARIO                      REDACTED                      REDACTED                      REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704924 LUZ I GONZALEZ SANTIAGO                     VILLA BLANCA                  24 DIAMANTE APT 4                                                                         CAGUAS            PR         00725
   704925 LUZ I GONZALEZ TURULL                       PO BOX 11609                                                                                                            SAN JUAN          PR         00910‐1609

   704926 LUZ I HERNANDEZ HERNANDEZ                   URB COLINAS DE CUPEY          C 3 CALLE 13                                                                              SAN JUAN          PR         00926
   704927 LUZ I HERNANDEZ RIVERA                      TURABO GARDENS                L 2 CALLE 42                                                                              CAGUAS            PR         00727
   704929 LUZ I LEBRON                                URB SANTA JUANA               X 10 CALLE 14                                                                             CAGUAS            PR         00725
   286827 LUZ I LLANOS ROMERO                         REDACTED                      REDACTED                      REDACTED                             REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   704930 LUZ I LOPEZ                                 JARD DE PALMAREJO             SA ISIDRO                                                                                 CANOVANAS         PR         00729
   704931 LUZ I LOPEZ OCASIO                          HC 01 BOX 6002                                                                                                          STA. ISABEL       PR         00757
   704933 LUZ I MALDONADO TORRES                      URB VILLA PARAISO                                       1237 CALLE TAMBORIN                                             PONCE             PR         00728‐3629
   704934 LUZ I MARENGO SANTIAGO                      URB SAN FELIPE                K 9 CALLE 8                                                                               ARECIBO           PR         00612
   704935 LUZ I MARTINEZ                              BDA MARIN                     HC 1 BOX 4327                                                                             ARROYO            PR         00914



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  286828 LUZ I MENDEZ REYES                           REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  704936 LUZ I MERCADO RIVERA                         ST LOUSI Q 8 CALLE 2                                                                                               BAYAMON             PR         00957
         LUZ I MONTALVO / MICHAEL E
  286829 MONTALVO                                     REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  286830 LUZ I MORALES ALERS                          REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  704938 LUZ I NORAT LOPEZ                            HC 6 BOX 11941                                                                                                     SAN SEBASTIAN       PR         00685‐9804
  286832 LUZ I OLIVERAS NORMANDIA                     REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  704940 LUZ I PADILLA NARVAEZ                        GPT 472                                                                                                            NARANJITO           PR         00719
  286833 LUZ I PAGAN GARCIA                           REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  286835 LUZ I PEREZ RIVAS                            REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  704941 LUZ I PLUGUEZ RIVERA                         PO BOX 250029                                                                                                      AGUADILLA           PR         00605
  286836 LUZ I RAMIREZ TORRUELLAS                     REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  704942 LUZ I RAMOS TORRES                           1601 PARQUE SAN ANTONIO                                                                                            CAGUAS              PR         00727‐5936
  286837 LUZ I RIOS LEBRON                            REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  771157 LUZ I RIVERA HERNAIZ                         REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  704944 LUZ I RIVERA ORTEGA                          HC 02 BOX 44546                                                                                                    VEGA BAJA           PR         00693
  704945 LUZ I RIVERA RIVERA                          HC 30 BOX 30179                                                                                                    SAN LORENZO         PR         00754‐9702
  704946 LUZ I RIVERA VAZQUEZ                         PO BOX 742                                                                                                         TOA ALTA            PR         00954
  704947 LUZ I RODRIGUEZ ALVARADO                     COM MARIANO COLON                SOLAR 565                                                                         COAMO               PR         00769
  286839 LUZ I RODRIGUEZ BURGOS                       REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  286840 LUZ I ROSARIO ESPADA                         REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  704948 LUZ I ROSARIO JIMENEZ                        HC 83 BOX 7617                   CERRO GORDO                                                                       VEGA ALTA           PR         00692
  286841 LUZ I SANCHEZ CORREA                         REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  286843 LUZ I SANTIAGO MORALES                       REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  704950 LUZ I SEPULVEDA CAMACHO                      COND PLAZA ATHENE                APT 701                                                                           GUAYNABO            PR         00966‐2522
         LUZ I SERRANO SERRANO /
  704951 MARIA E SERRANO                              RR 4 BOX 1237                                                                                                      BAYAMON             PR         00956
  704952 LUZ I SOTO CRUZ                              URB LEVITTOWN                    J 332 PASEO CARMA                                                                 TOA BAJA            PR         00949 3107
  704953 LUZ I SUAREZ GUTIERREZ                       PO BOX 354                                                                                                         GUAYAMA             PR         00785
  704954 LUZ I SUBIRA SUAREZ                          BO LAS MARIAS                    CALLE 9 BOX 4880                                                                  SALINAS             PR         00751
  704955 LUZ I TAPIA MELECIO                          RES SAN PATRICIO                 EDIF 3 APTO 19                                                                    LOIZA               PR         00772
  286844 LUZ I TORRES GRAU                            REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  704957 LUZ I TORRES ROSA                            VICTOR ROJAS                     133 CALLE 2                                                                       ARECIBO             PR         00612
                                                      2DA EXT RAMON DEL RIVERO
   704959 LUZ I TRINIDAD RIVERA                       DIPLO                            P 17 CALLE 18                                                                     NAGUABO             PR         00718
   704960 LUZ I VADI FANTAUZZI                        COND CAMINO REAL 1500            CARR 19 APT G 304                                                                 GUAYNABO            PR         00969
   286845 LUZ I VEGA MACHAL                           REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704961 LUZ I VELEZ DIAZ                            298 A CALLE VICTORIA                                                                                               PONCE               PR         00730‐3542
   286846 LUZ I. ACEVEDO OLIVER                       REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286847 LUZ I. CORREA NIEVES                        REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286848 LUZ I. OLIVERAS NORMANDIA                   REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286849 LUZ I. QUILES BEAUCHAMP                     REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   704963 LUZ I. VELAZQUEZ LEBRON                     HP ‐ OFIC. DIRECTORA EJECUTIVA                                                                                     RIO PIEDRAS         PR         009360000
   704964 LUZ IDALIA ALVERIO LEBRON                   56 S CALLE NUEVA                                                                                                   SAN LORENZO         PR         00754

   704965 LUZ IRAIDA AVILES HERNANDEZ                 358 VISTAMAR                     AVE PONTEZUELA                                                                    CAROLINA            PR         00983
   286850 LUZ IRAIDA MUNOZ ROSADO                     REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286852 LUZ IRENE NIEVES AVILA                      REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704967 LUZ IRMA GUZMAN VIRELLA                     URB PARKVILLE                    X 12 CALLE ARIZONA                                                                GUAYNABO            PR         00969
   286853 LUZ IRMA PEREZ VELEZ                        REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704968 LUZ IVETTE MARQUEZ COLON                    HC 2 BOX 10000                                                                                                     JUANA DIAZ          PR         00795
   704969 LUZ IVETTE RIVERA DELGADO                   HC 2 BOX 16858                                                                                                     JUNCOS              PR         00777



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   704970 LUZ IVETTE VALENTIN VALENTIN HC 2 BOX 10487                                                                                                                       LAS MARIAS          PR           00670‐9046

   704971 LUZ IVONNE SANTIAGO CASILLAS URB MONTES BRISAS                         5H 41 CALLE 5                                                                              FAJARDO             PR           00738
   704972 LUZ J CARABALLO MORAN        RR 36 BOX 1095                                                                                                                       SAN JUAN            PR           00926
   286855 LUZ J MARTINEZ CRUZ          REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286856 LUZ J MERCADO PARDO          REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704973 LUZ J MERCADO VELEZ          P.O. BOX 733                                                                                                                         HORMIGUEROS         PR           00660
   286857 LUZ J MORALES IRIZARRY       REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704975 LUZ J OQUENDO                HC 01 BOX 5023                                                                                                                       ADJUNTAS            PR           00601
   704976 LUZ J PEREZ RAMOS            1 COND EL ATLANTICO                       APT 202                                                                                    TOA BAJA            PR           00949‐4218
   286859 LUZ J PEREZ RIVERA           REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704977 LUZ J ROURE SIERRA           PO BOX 8038                                                                                                                          BAYAMON             PR           00960
   704978 LUZ J SANTIAGO               URB MANSIONES DE TOA                      C 6 CALLE 3                                                                                TOA ALTA            PR           00953
   286861 LUZ J VAZQUEZ PEREZ          REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704979 LUZ J VILLANUEVA AYUSO       CALLE AGUSTIN CABRERA                                                                                                                CAROLINA            PR           00985
   286862 LUZ J. ORTIZ VEGA            REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286863 LUZ J. TORRES                REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUZ JACQUELINE MATEO
   704980 MELENDEZ                     EXT. JARDINES DE COAMO                    Q‐1 CALLE 10                                                                               COAMO               PR           00769
   286864 LUZ JUARBE MEDINA            REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   286865 LUZ K HERNANDEZ ALEJANDRO                   REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704983 LUZ L ALICEA CASTILLO                       URB VILLA TABAIBA          363 CALLE TAINOS                                                                           PONCE               PR           00716
   286866 LUZ L CRUZ SERRANO                          REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704984 LUZ L CRUZ TORRES                           D 20 REPARTO SANTIAGO                                                                                                 NAGUABO             PR           00718
   704986 LUZ L DONES MERCED                          P O BOX 2465                                                                                                          GUAYAMA             PR           00785
   704987 LUZ L IRIZARRY IRIZARRY                     B I 22 URB SANTA MARTA                                                                                                SAN GERMAN          PR           00683

   286867 LUZ L MALDONADO PLACERES                    REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704988 LUZ L MONTALVO LOPEZ                        PARCELA BETANCES NUM 39    CALLE COFRESI                                                                              CABO ROJO           PR           00623
   704989 LUZ L NEGRON RODRIGUEZ                      HC 01 BOX 2327                                                                                                        MOROVIS             PR           00687
   286868 LUZ L ORENGO RUIZ                           REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286870 LUZ L ORTIZ COLON                           REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704990 LUZ L RAMIREZ VELEZ                         P O BOX 452                                                                                                           LAJAS               PR           00667
   286871 LUZ L RIVAS ORTIZ                           REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704991 LUZ L RIVERA MARQUEZ                        PO BOX 16                                                                                                             LOIZA               PR           00772
   286872 LUZ L RODRIGUEZ RIVERA                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      PO BOX 3436 BAYAMON GDNS
   704994 LUZ L SANCHEZ VELEZ                         STA                                                                                                                   BAYAMON             PR           00958

   704995 LUZ L VAZQUEZ PANETO                        URB HACIENDA LA MALTIDE    1 CALLE VILLA PARAISO APT 1 B                                                              PONCE               PR           00731
   286873 LUZ L VEGA ROSADO                           REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   704996 LUZ LA FONTAINE MADERA                      APTO 303 PONCE DE LEON GDNS                                                                                           GUAYNABO            PR           00966
   286874 LUZ LA FOSSE                                REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286875 LUZ LEBRON CRESPO                           REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704999 LUZ LEBRON GONZALEZ                         HC 01 BOX 6813                                                                                                        GURABO              PR           00778
   286877 LUZ LEDESMA RAMIREZ                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286878 LUZ LEIDA RIVERA CALDERON                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   286879 LUZ LEONOR SANTIAGO PAGAN                   REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286883 LUZ LOPEZ / KIMBERLY CRUZ                   REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  705001 LUZ LOPEZ GONZALEZ                            PADILLA DEL CARIBE           46 APT 3 B                                                                          CAGUAS              PR         00725
  286884 LUZ LOPEZ LOPEZ                               REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  286885 LUZ LORENZO LORENZO                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  705002 LUZ LUCIANO FLORES                            HC 763 BOX 3071                                                                                                  PATILLAS            PR         00723
  286886 LUZ LUGO MEDINA                               REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  286887 LUZ LUGO RIVERA                               REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         LUZ LYN S SANTANA BASABE /
  286888 BETFY BASABE                                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   705003 LUZ LYNETTE DE JESUS MARQUEZ BO JAGUAL                                    KM 6.7 CARR 181                                                                     SAN LORENZO         PR         00754
   286889 LUZ M ACEVEDO CRUZ           REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286892 LUZ M ACEVEDO RIVERA         REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286893 LUZ M ACOSTA MATOS           REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286894 LUZ M ADAMES ROMAN           REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286895 LUZ M ADORNO BARROSO         REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   705006 LUZ M ADORNO MARRERO         RR 4 BOX 3049 A                                                                                                                  BAYAMON             PR         00960

   705007 LUZ M AGENJO LAURIANO                        COND TORRES DE LOS FRAILES   8J                                                                                  GUAYNABO            PR         00969
   705008 LUZ M AGUILAR GARCIA                         BO NARANJITO                 HC 04 BOX 45703                                                                     HATILLO             PR         00659
   705009 LUZ M AGUIRRE PAGAN                          PO BOX 80                                                                                                        SALINAS             PR         00751‐0080
   286896 LUZ M ALEMAN FIGUEROA                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   705010 LUZ M ALERS ALERS                            P O BOX 170                                                                                                      VEGA BAJA           PR         00694
   705011 LUZ M ALICEA AGUILA                          H C 52 BOX 3122                                                                                                  ARECIBO             PR         00652
   286897 LUZ M ALICEA RODRIGUEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   705014 LUZ M ANDINO LOPEZ                           BOX 50                                                                                                           LOIZA               PR         00772
   286898 LUZ M APONTE BAEZ                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   705015 LUZ M APONTE BELDECIA                        150 BO HIGUERO                                                                                                   VILLALBA            PR         00766
   286899 LUZ M APONTE CORDOVA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286900 LUZ M AQUINO MERCADO                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   705016 LUZ M ARBELO TERRON                          HC 2 BOX 7310                                                                                                    CAMUY               PR         00627
   286901 LUZ M ARROYO ALGARIN                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286902 LUZ M ARROYO CARIDES                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286903 LUZ M ARROYO PACHECO                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286904 LUZ M ARROYO RIVERA                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   286905 LUZ M AVILEZ GONZALEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   705017 LUZ M AYALA BETANCOURT                       HC 04 BOX 8883                                                                                                   CANOVANAS           PR         00729‐9863
   286906 LUZ M BAEZ HUERTAS                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   705018 LUZ M BARRETO APONTE                         PO BOX 976                                                                                                       SAN LORENZO         PR         00754
   286907 LUZ M BARRETO BOSQUEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704306 LUZ M BECERRA                                BELGICA                      5241 CALLE CARACAS                                                                  PONCE               PR         00717
   705019 LUZ M BONES SANTANA                          P O BOX 158                                                                                                      ARROYO              PR         00714
   286908 LUZ M CABRERA DE JESUS                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   705020 LUZ M CABRERA RODRIGUEZ                      ALT DE VEGA BAJA             H 24 CALLE G                                                                        VEGA BAJA           PR         00693
   705022 LUZ M CALDERON MENDEZ                        PMB 102 PO BOOX 4002                                                                                             VEGA ALTA           PR         00692
   705023 LUZ M CALO OCASIO                            PO BOX 236                                                                                                       CANOVANAS           PR         00729

   705025 LUZ M CAMACHO MALDONADO VALLE UNIVERSITARIO                               E44 CALLE 12                                                                        HUMACAO             PR         00791
   286909 LUZ M CAMACHO NIEVES    REDACTED                                          REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   705028 LUZ M CARABALLO RODRIGUEZ                    PO BOX 298                                                                                                       MANATI              PR         00674‐0298
   705029 LUZ M CARRASQUILLO                           PO BOX 7866                                                                                                      CAGUAS              PR         00725

   286910 LUZ M CARRASQUILLO FLORES                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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          LUZ M CARRASQUILLO
   705030 RODRIGUEZ                                   PO BOX 453                                                                                                       PATILLAS            PR           00723
   705031 LUZ M CARRILLO MARTINEZ                     VILLAS DEL PARQUE           EDIF 16 APT E PDA 26                                                                 SAN JUAN            PR           00909

   705034 LUZ M CARTAGENA ROSARIO                     232 AVE ELEANOR ROOSEVELT                                                                                        SAN JUAN            PR           00907
   286913 LUZ M CASANOVA SANCHEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286914 LUZ M CASIANO MONTES                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286915 LUZ M CASTRO CASTRO                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705035 LUZ M CEBALLOS GIRALDO                      URB ALTURAS DE TORRIMAR     3 5 CALLE 1                                                                          GUAYNABO            PR           00969
   705036 LUZ M CEPEDA GAUTIER                        CIENAGA ALTA                HC 02 BOX 15297                                                                      RIO GRANDE          PR           00745
   286916 LUZ M CEREZO ACEVEDO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705038 LUZ M CHAPARRO CHAPARRO                     HC 3 BOX 33510                                                                                                   AGUADA              PR           00602
   286917 LUZ M CINTRON CRUZ                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705039 LUZ M CINTRON LOZADA                        HC 02 BOX 6417                                                                                                   YABUCOA             PR           00767‐9501
   705040 LUZ M CINTRON MORALES                       PO BOX 125                                                                                                       NARANJITO           PR           00719
   705041 LUZ M CIRINO COLON                          URB COUNTRY CLUB            1164 CALLE OLIVIA PAOLI                                                              SAN JUAN            PR           00924
   705042 LUZ M COLLAZO RIVERA                        HC 3 BOX 14609                                                                                                   MAYAGUEZ            PR           00783
   705043 LUZ M COLON ORTIZ                           HC 3 BOX 15677                                                                                                   COROZAL             PR           00783
   286918 LUZ M COLON ROSADO                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705044 LUZ M COLON VALENTIN                        BELINDA                     B 22 CALLE 1                                                                         ARROYO              PR           00714‐2018
   705045 LUZ M CONCEPCION CRESPO                     PO BOX 2658                                                                                                      MAYAGUEZ            PR           00681
   705046 LUZ M CORDERO ARROYO                        URB LOMAS VERDES            4E 14 CALLE PLAYERA                                                                  BAYAMON             PR           00956
   705047 LUZ M CORDERO VEGA                          MANSION DEL MAR             MM 141 CALLE PELICANO                                                                TOA BAJA            PR           00949
   705048 LUZ M CORIANO VILLEGAS                      URB FLAMBOYAN GARDENS       B 21 CALLE 4                                                                         BAYAMON             PR           00959
   705049 LUZ M CORREA RODRIGUEZ                      30 BELLA VISTA                                                                                                   VEGA BAJA           PR           00693
   705050 LUZ M CORREA SANTIAGO                       P O BOX 1118                                                                                                     RIO GRANDE          PR           00745
   705051 LUZ M CORTES CANCEL                         BO DULCES LABIOS            57 A CALLE QUINTITA                                                                  MAYAGUEZ            PR           00680
   286919 LUZ M CORTES CRUZ                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286920 LUZ M COSME ORTIZ                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705054 LUZ M COTTO BAEZ                            ADM SERV GEN                P O BOX 7428                                                                         SAN JUAN            PR           00916‐7428
   705055 LUZ M COTTO FLECHA                          RR 3 BOX 4726                                                                                                    SAN JUAN            PR           00926
   705058 LUZ M CRUZ DIAZ                             URB VISTA                   737 CALLE CASTELLON                                                                  CAROLINA            PR           00983
   286921 LUZ M CRUZ GONZALEZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286922 LUZ M CRUZ MOJICA                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705059 LUZ M CRUZ PAGAN                            VILLA FERRERIL              EDIF D APT 609                                                                       SAN JUAN            PR           00924
   286924 LUZ M CRUZ SANCHEZ                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286925 LUZ M CRUZ SANTIAGO                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705062 LUZ M CUEVAS RAMOS                          A 7 CALLE M J CABRERA INT   BOX 717                                                                              SAN SEBASTIAN       PR           00685
   286926 LUZ M CUEVAS RUIZ                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705063 LUZ M CUMBA MARTINEZ                        RES MANUEL MARTORELL        EDIF 7 APT 57                                                                        COMERIO             PR           00782
   286927 LUZ M DAVILA ADORNO                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286928 LUZ M DAVILA COSME                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286929 LUZ M DAVILA NIEVES                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705065 LUZ M DE JESUS CEPEDA                       RES NEMESIO CANALES         EDIF 19 APTO 363                                                                     PUERTO NUEVO        PR           00920
   286930 LUZ M DE JESUS DELGADO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   286931 LUZ M DE JESUS ENCARNACION                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   286932 LUZ M DE JESUS FUENTES                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705067 LUZ M DE JESUS SANCHEZ                      RES FELIPE SANCHEZ OSORIO   EDIF 15 APTO 77                                                                      CAROLINA            PR           00985
          LUZ M DE LOS A MUNOZ
   286933 FERNANDEZ                                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705069 LUZ M DE PARA GARCIA                        URB APOLO                   2120 CALLE ANTIOQUIA                                                                 GUAYNABO            PR           00969
   286935 LUZ M DEGRO TORRES                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  705070 LUZ M DELGADO ALAMO                          URB LAS VISTA                 K 14 VIA ALTURAS                                                                          SAN JUAN           PR         00924
  286936 LUZ M DELGADO LOPEZ                          REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286937 LUZ M DELGADO OCASIO                         REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286938 LUZ M DELGADO PACHECO                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  705071 LUZ M DIAZ                                   APARTADO 1268                                                                                                           LAS PIEDRAS        PR         00771
  286939 LUZ M DIAZ BONILLA                           REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  705072 LUZ M DIAZ CABRERA                           URB BAYAMON GARDENS           I 3 CALLE 15                                                                              BAYAMON            PR         00957
  705073 LUZ M DIAZ GONZALES                          HC 01 BOX 4763                BO PILETAS                                                                                LARES              PR         00669
  705075 LUZ M DIAZ MELENDEZ                          RES LOS MIRTOS                EDIF 10 APT 159                                                                           CAROLINA           PR         00987
  704307 LUZ M DIAZ QUILES                            RR 2 BOX 6663                                                                                                           TOA ALTA           PR         00953
  705076 LUZ M DIAZ REYES                             URB JARD BORINQUEN            M 23 CALLE GRANADA                                                                        CAROLINA           PR         00985
  705078 LUZ M DIAZ SOTO                              HC 2 BOX 7304                                                                                                           YABUCOA            PR         00767
  286940 LUZ M DOMINGUEZ                              REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286941 LUZ M DUARTE FELICIANO                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  286942 LUZ M ECHEVARRIA RIVERA                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

          LUZ M ESCOBAR
   286943 SANTIAGO,EDUARDO J SALDANA REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   286944 LUZ M ESTELA REYES         REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   705080 LUZ M ESTRADA NAVARRO      RR 7 BOX 6312                                                                                                                            SAN JUAN           PR         00926
   286945 LUZ M ESTRADA RAMOS        REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   286946 LUZ M FALERO MELENDEZ      REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   705081 LUZ M FARGAS FALU                           BO MARTIN GONZALEZ            BLD 14447 KM 3 HM 2 CARR 860                                                              CAROLINA           PR         00987
   705082 LUZ M FARGAS RODRIGUEZ                      RES EL FARO EDIF 7 APT 87                                                                                               CAROLINA           PR         00987
   286947 LUZ M FELICIANO                             REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   704308 LUZ M FELICIANO                             BO FACTOR I CALLE 26          BUZON 389                                                                                 Bayamon            PR         00412
   286948 LUZ M FELICIANO CAPPAS                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   705083 LUZ M FERNANDEZ                             BZN 1275                                                                                                                CIDRA              PR         00739

   705084 LUZ M FERNANDEZ FERNANDEZ                   HC 02 BOX 14900                                                                                                         CAROLINA           PR         00985
                                                                                    CAPARRA HEIGHTS MANUEL
   705085 LUZ M FERNANDEZ GOMEZ                       URB SANTIAGO IGLESIAS         TEXIDOR                                                                                   SAN JUAN           PR         00921
   705086 LUZ M FERNANDEZ MEDINA                      LOS FLAMBOYANES               APT 3K EDIF 1 BOX 227                                                                     CAGUAS             PR         00725
   286949 LUZ M FERNANDEZ RAMOS                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   286950 LUZ M FERNANDEZ RIVERA                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   705087 LUZ M FERRER                                HC71 BOX 1106                                                                                                           NARANJITO          PR         00719
   705088 LUZ M FIGUEROA GOMEZ                        PO BOX 1524                                                                                                             LUQUILLO           PR         00773‐1524
   286951 LUZ M FIGUEROA GONZALEZ                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   705090 LUZ M FLORES CAMILO                         HC 02 BOX 14473                                                                                                         CAROLINA           PR         00987‐1979
   705092 LUZ M FUENTES                               URB VISTA MAR                 230 CALLE MURCIA                                                                          CAROLINA           PR         00989
   705093 LUZ M FUENTES GONZALEZ                      224 CALLE DEGETAU                                                                                                       SAN JUAN           PR         00911
   705094 LUZ M GABRIELLY ORTIZ                       331 MENAHAN ST                APT 1L                                                                                    BROOKLIN           NY         11237
   286953 LUZ M GALARZA                               REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   705095 LUZ M GALARZA FELICIANO                     PO BOX 1003                                                                                                             YAUCO              PR         00698‐1003
   286955 LUZ M GALLARDO MOLERO                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   705096 LUZ M GALVAN HERNANDEZ                      URB LAS AMERICAS              001 CALLE 1                                                                               BAYAMON            PR         00959‐2028
                                                      1675 AVE PONCE DE LEON APTO
   705097 LUZ M GARAY VAZQUEZ                         401                                                                                                                     SAN JUAN           PR         00909
   286956 LUZ M GARCIA PADUA                          REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   286957 LUZ M GARCIA RODRIGUEZ                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   705098 LUZ M GARCIA VILLEGAS                       RR 9 BOX 5345                                                                                                           SAN JUAN           PR         00739
   705100 LUZ M GONZALEZ AVILES                       53 CALLE OBRERO                                                                                                         MANATI             PR         00674



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   705101 LUZ M GONZALEZ CORTES                       1015 AVE FERNANDEZ JUNCOS    APT 6                                                                                  SAN JUAN             PR           00915
   705103 LUZ M GONZALEZ FRAUSTO                      HC 04 BOX 45618                                                                                                     CAGUAS               PR           00727
   705106 LUZ M GONZALEZ GONZALEZ                     TOA ALTA HEIGHTS             A 47 CALLE 13                                                                          TOA ALTA             PR           00953
   286959 LUZ M GONZALEZ JIMENEZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   705108 LUZ M GONZALEZ MATOS                        PO BOX 393                                                                                                          AGUADA               PR           00602
   705109 LUZ M GONZALEZ MERCADO                      BO DAGUAO                    BUZON 874                                                                              NAGUABO              PR           00718
   705110 LUZ M GONZALEZ PEREZ                        RES CATONI                   EDF 19 APT 8                                                                           VEGA BAJA            PR           00693
   286960 LUZ M GONZALEZ RAMOS                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   286961 LUZ M GONZALEZ RODRIGUEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   286962 LUZ M GOYTIA                                REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   286963 LUZ M GREEN ORTIZ                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   705113 LUZ M GUITIERREZ TORRES                     CONDOMINIO ACUA PARQUE 5 A                                                                                          TOA BAJA             PR           00949

   705114 LUZ M GUTIERREZ MONTALVO                    URB LAS MONJITAS             183 CALLE FATIMA                                                                       PONCE                PR           00730
   705115 LUZ M GUZMAN BARRETO                        HC 03 BOX 9929                                                                                                      CAMUY                PR           00627
   705116 LUZ M HERNANDEZ ACEVEDO                     AVE ESTACION BOX 350                                                                                                ISABELA              PR           00662
   705117 LUZ M HERNANDEZ APONTE                      P O BOX 364466                                                                                                      SAN JUAN             PR           00936‐4466
   705118 LUZ M HERNANDEZ GANDIA                      JARD DE DORADO               G 7 CALLE 6                                                                            DORADO               PR           00646

   705120 LUZ M HERNANDEZ GONZALEZ                    HC 01 BOX 5429                                                                                                      MOCA                 PR           00676

   286964 LUZ M HERNANDEZ HERNANDEZ                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   286965 LUZ M HERNANDEZ REYES                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   286966 LUZ M HERNANDEZ RIOS                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   286967 LUZ M HERNANDEZ RIVERA                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   704302 LUZ M JIMENEZ URE¥A                         URB VERDE MAR                189 CALLE 8                                                                            PTA STGO             PR           00741
   705123 LUZ M JUARBE GONZALEZ                       REPARTO MARQUEZ              H 31 CALLE 9                                                                           ARECIBO              PR           00612
                                                      1475 AVE FELIX ALDARONDO
   705124 LUZ M JUARBE MELENDEZ                       SANTIAGO                                                                                                            ISABELA              PR           00662
   705125 LUZ M LA SANTA LEBRON                       URB SANTA MARIA              B 59 CALLE 2                                                                           CEIBA                PR           00735
   705126 LUZ M LAJARA GARCIA                         URB CAPETILLO                1016 CALLE 6                                                                           SAN JUAN             PR           00925‐3131
   286968 LUZ M LAVIENA LUGO                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   705127 LUZ M LEBRON LEBRON                         BO CALZADA BOX 105                                                                                                  MAUNABO              PR           00707
   286970 LUZ M LEON SUGRAðES                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   705130 LUZ M LIZOL NEGRON                          URB LOMAS VERDE 4057         CALLE PLAYERA                                                                          BAYAMON              PR           00956
   705131 LUZ M LOPEZ                                 PO BOX 15628                                                                                                        SAN SEBASTIAN        PR           00685

   286975 LUZ M LOPEZ / PEDRO RIVERA                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   705133 LUZ M LOPEZ CINTRON                         PO BOX 320                                                                                                          HUMACAO              PR           00792
   705134 LUZ M LOPEZ DIAZ                            VILLA FONTANA                RN 9 VIA 36                                                                            CAROLINA             PR           00985
   286976 LUZ M LOPEZ FLORES                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   705135 LUZ M LOPEZ GARCIA                          606 AVE LOS MORA                                                                                                    ARECIBO              PR           00612‐9692
   705137 LUZ M LOPEZ PEREZ                           URB LOS DOMINICOS            O 280 CALLE SAN FRANCISCO                                                              BAYAMON              PR           00957

   705138 LUZ M LOPEZ QUESADA                         EDIF CARRASQUILLO APT 509                                                                                           YAUCO                PR           00767
   705139 LUZ M LOPEZ RAMIREZ                         P O BOX 71325 20                                                                                                    SAN JUAN             PR           00936
   705140 LUZ M LOPEZ REYES                           URB BELLA VISTA              2 CALLE A 8                                                                            VILLALBA             PR           00766
   286977 LUZ M LOPEZ RODRIGUEZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   286978 LUZ M LOPEZ SILVESTRIZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   286979 LUZ M LOPEZ SOTO                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  705142 LUZ M LOZADA URBINA                          PO BOX 789                                                                                                       GUAYNABO          PR         00970
  286980 LUZ M LUCIANO CORTES                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705144 LUZ M LUGO ROMAN                             BO OBRERO               138 CALLE CRUZ ROSA                                                                      ARECIBO           PR         00612
         LUZ M LUQUE Y/O ANTONIO N
  705146 ROSARIO                                      HC 1 BOX 6570                                                                                                    AGUAS BUENAS      PR         00703‐9707

   286982 LUZ M MAISONET HERNANDEZ                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286983 LUZ M MALAVE NUNEZ                          REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286984 LUZ M MALDONADO                             REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705147 LUZ M MALDONADO CUEVAS                      PO BOX 448                                                                                                       ANGELES           PR         00611

   771158 LUZ M MALDONADO DE ORTIZ                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                              5P7 CAL PRQ D LS PLMS VILLA
   705149 LUZ M MALDONADO ESTREDA                     VILLA FONTANA PARK      FONTANA                                                                                  CAROLINA          PR         00983
          LUZ M MALDONADO
   286985 MALDONADO                                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705150 LUZ M MALDONADO TORRES                      PO BOX 305                                                                                                       SABANA HOYOS      PR         00688
   286986 LUZ M MARRERO RIVERA                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286987 LUZ M MARTINEZ BABILONIA                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286988 LUZ M MARTINEZ COLON                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705151 LUZ M MARTINEZ CRUZ                         P O BOX 2                                                                                                        CIDRA             PR         00739
   286989 LUZ M MARTINEZ RIVERA                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286990 LUZ M MARTINEZ SERRANO                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUZ M MARZAN Y ALTAGRACIA
   286991 PEREZ                                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705004 LUZ M MATOS ESTRADA                         PARCELAS FALU           286 CALLE 32                                                                             SAN JUAN          PR         00924
   705153 LUZ M MATOS FLORES                          URB LA MARINA           B 16 CALLE GERANIO                                                                       CAROLINA          PR         00979
   286994 LUZ M MEDINA CARMONA                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   286996 LUZ M MEDINA NEGRON                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705156 LUZ M MEJIA FELIX                           1875 CALLE BARBOSA                                                                                               SAN JUAN          PR         00907
   705157 LUZ M MELENDEZ COLON                        URB RIVIERAS DE CUPEY   G 6 CALLE CORAL                                                                          SAN JUAN          PR         00926
   286997 LUZ M MELENDEZ RIVERA                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUZ M MENDEZ / CARMELO
   286998 MENDEZ                                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705160 LUZ M MENDEZ JIMENEZ                        BO PUERTOS CAMUY                                                                                                 CAMUY             PR         00627
   705161 LUZ M MERCADO ROMAN                         HC 03 BOX 17036                                                                                                  QUEBRADILLAS      PR         00678
   287001 LUZ M MIRANDA CENTENO                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705164 LUZ M MOJICA FEBRES                         PO BOX 7117                                                                                                      CAROLINA          PR         00986
   287002 LUZ M MOJICA MALDONADO                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287003 LUZ M MOLINA GOMEZ                          REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705166 LUZ M MOLINA PAGAN                          RES MANUEL MARTORELL    EDIF 9 APT 93                                                                            COMERIO           PR         00782
   705167 LUZ M MOLINA SANTOS                         PO BOX 21365                                                                                                     SAN JUAN          PR         00926‐1365
   287004 LUZ M MOLINA VELAZQUEZ                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705168 LUZ M MOLINARI GARCIA                       110 CALLE LAMELA                                                                                                 QUEBRADILLA       PR         00678
   705169 LUZ M MORALES                               280 CASTILLA VALLEY     SUITE 14                                                                                 ISABELA           PR         00662
   705170 LUZ M MORALES DELGADO                       53 CALLE PEPE DIAZ                                                                                               SAN JUAN          PR         00917
   705171 LUZ M MORALES IRIZARRY                      HC 57 BOX 9522                                                                                                   AGUADA            PR         00602‐9708
   287005 LUZ M MORALES MARTINEZ                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287006 LUZ M MORALES MATOS                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287007 LUZ M MORALES MELENDEZ                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287008 LUZ M MORALES SAEZ                          REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705172 LUZ M MORALES VELEZ                         BO GALATEO CENTRO       KM 1 HM 2 CARR 804                                                                       TOA ALTA          PR         00953
   287009 LUZ M MUNIZ RAMOS                           REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  287010 LUZ M MUNOZ GARCIA                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  287011 LUZ M MUNOZ MARTINEZ                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  705174 LUZ M NAVARRO ORTIZ                          JARD DE SAN IGNACIO        EDIF A APT 405                                                                        SAN JUAN           PR         00921
  287012 LUZ M NAVARRO RIVERA                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  705178 LUZ M NEGRON RIVERA                          PO BOX 326                                                                                                       TRUJILLO ALTO      PR         00977‐0326
  705179 LUZ M NIEVES                                 URB FLORAL PARK            121 CALLE JOSE MARTI                                                                  SAN JUAN           PR         00917‐3117
  705180 LUZ M NIEVES BAEZ                            HC 73 BOX 5176                                                                                                   NARANJITO          PR         00719
  287013 LUZ M NIEVES CORREA                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  705181 LUZ M NIEVES DE JESUS                        HC 763 BOX 3029                                                                                                  PATILLAS           PR         00723
  705182 LUZ M NIEVES DELGADO                         PO BOX 997                                                                                                       YABUCOA            PR         00767‐0997
  705183 LUZ M NIEVES NIEVES                          PO BOX 813                                                                                                       QUEBRADILLAS       PR         00678‐0813
  705184 LUZ M NIEVES PEREZ                           HC 80 BOX 8445             BO ESPINOSA KUILAN                                                                    DORADO             PR         00646
  287015 LUZ M NIEVES RIVERA                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  705185 LUZ M NIVES RIVERA                           HC 2 BOX 21271                                                                                                   MAYAGUEZ           PR         00680
  287016 LUZ M NOGUE IRIZARRY                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   287017 LUZ M NUNEZ Y VICTOR NUNEZ                  REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   705186 LUZ M OCASIO SANTIAGO                       HC 2 BOX 6333                                                                                                    UTUADO             PR       00641
   287018 LUZ M OCASIO TORRES                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   287020 LUZ M OLIVO MARTINEZ                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   287021 LUZ M OQUENDO ANDUJAR                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   705187 LUZ M ORLANDO COLON                         URB PARQUE ECUESTRE        O 11 CALLE PERLA FINA                                                                 CAROLINA           PR       00987
   705189 LUZ M ORTIZ / ISRAEL ORTIZ                  HC 01 BOX 4765                                                                                                   NAGUABO            PR       00718
   287023 LUZ M ORTIZ CEDENO                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   705190 LUZ M ORTIZ COTTO                           PO BOX 1671                                                                                                      CIDRA              PR       00739
   287024 LUZ M ORTIZ DIAZ                            REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   287025 LUZ M ORTIZ DUMONT                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   704303 LUZ M ORTIZ ECHEVARRIA                      RR1 BOX 2452                                                                                                     A¥ASCO             PR       00610‐9774
   705194 LUZ M ORTIZ REYES                           HC 71 BOX 3932                                                                                                   NARANJITO          PR       00719‐9719
   705196 LUZ M ORTIZ RIVERA                          P O BOX 898                                                                                                      PATILLAS           PR       00723
   705198 LUZ M ORTIZ RODRIGUEZ                       BOX 954                                                                                                          COAMO              PR       00769
   705199 LUZ M ORTIZ SOTO                            PO BOX 9020192                                                                                                   SAN JUAN           PR       00902‐0192
   705203 LUZ M ORTIZS SOTO                           EGIDA DEL MEDICO APT 410                                                                                         BAYAMON            PR       00959
   704304 LUZ M OSORIO DIAZ                           URB VALLE TOLIMA           H 14 CALLE MYRNA VAZQUEZ                                                              CAGUAS             PR       00727
   287026 LUZ M OSORIO ESTRADA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   287027 LUZ M OTERO DE JESUS                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   287028 LUZ M PAGAN MONTANEZ                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   705206 LUZ M PAGAN RIVERA                          6 CALLE BERNARDO GARCIA                                                                                          CAROLINA           PR       00985
   287029 LUZ M PANIAGUA                              REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   287030 LUZ M PANTOJA RODRIGUEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   705207 LUZ M PAZ CANALES                           2394 CALLE VILLA REAL                                                                                            SAN JUAN           PR       00915
   287031 LUZ M PENA LOPEZ                            REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   287032 LUZ M PERALTA LUNA                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   705208 LUZ M PEREZ                                 BO SAN ANTONIO             HC 01 CALLE 3521                                                                      QUEBRADILLAS       PR       00678
   705209 LUZ M PEREZ COTTO                           URB FRONTERA LM 17         CALLE LEONOR FIGUEROA                                                                 TOA BAJA           PR       00949
   705210 LUZ M PEREZ MARTINEZ                        HC 3 BOX 55019                                                                                                   ARECIBO            PR       00612
   287033 LUZ M PEREZ QUINONES                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   287035 LUZ M PEREZ RIVERA                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   287037 LUZ M PIMENTEL RIVERA                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   705211 LUZ M PINO MORALES                          PO BOX 1391                                                                                                      ISABELA            PR       00662
   705213 LUZ M PRIETO RIVERA                         ZENO GANDIA                EDIF B 13 APT 421                                                                     ARECIBO            PR       00612
   287039 LUZ M PRIETO ZAYAS                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
   705214 LUZ M QUILES MATOS                          PO BOX 88                                                                                                        NARANJITO          PR       00719



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  705215 LUZ M QUILES MAYMI                           URB REXVILLE CL               10 CALLE 6 A                                                                             BAYAMON           PR         00957
  287040 LUZ M QUINONES ORTIZ                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705217 LUZ M RAMOS                                  PO BOX 993                                                                                                             RINCON            PR         00677
  705220 LUZ M RAMOS GUZMAN                           PO BOX 513                                                                                                             FAJARDO           PR         00738
  705222 LUZ M RAMOS MERCADO                          PO BOX 497                                                                                                             ADJUNTAS          PR         00601
  287042 LUZ M RAMOS PAGAN                            REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287043 LUZ M RAMOS PUMAREJO                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287045 LUZ M RAMOS VILLANUEVA                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287047 LUZ M REYES CRUZ                             REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705223 LUZ M REYES QUI?5ONES                        P O BOX 892                                                                                                            RIO GRANDE        PR         00745‐0892
  287048 LUZ M REYES QUINONES                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287049 LUZ M RIOS ROSARIO                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705225 LUZ M RIVERA AVILEZ                          PO BOX 21365                                                                                                           SAN JUAN          PR         00928
  705226 LUZ M RIVERA BERRIOS                         BO GALATEO CENTRO             BOX 8807                                                                                 TOA ALTA          PR         00953
  705227 LUZ M RIVERA CINTRON                         URB METROPOLIS A 19           CALLE 3                                                                                  CAROLINA          PR         00987
  287050 LUZ M RIVERA COLON                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705228 LUZ M RIVERA CRUZ                            JARD DE NARANJITO             82 CALLE BEGONIA                                                                         NARANJITO         PR         00719
  287051 LUZ M RIVERA FRANCO                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287052 LUZ M RIVERA GARAY                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   705229 LUZ M RIVERA GARCIA                         URB SANTIAGO VEVE CALZADA     E 14 CALLE 19                                                                            FAJARDO           PR         00738
   705230 LUZ M RIVERA GONZALEZ                       HC 67 BOX 15125                                                                                                        BAYAMON           PR         00956
   287054 LUZ M RIVERA GUINDIN                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705231 LUZ M RIVERA HUERTAS                        BOX 789                                                                                                                COMERIO           PR         00782
   705232 LUZ M RIVERA MARRERO                        RR 02 BOX 8084                                                                                                         TOA ALTA          PR         00953
   287056 LUZ M RIVERA MATOS                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287057 LUZ M RIVERA MONTANEZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705233 LUZ M RIVERA MORALES                        PO BOX 1877                                                                                                            MOCA              PR         00676
   287058 LUZ M RIVERA ORTEGA                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705234 LUZ M RIVERA ORTIZ                          HC 03 BOX 10511                                                                                                        COMERIO           PR         00782‐9615
                                                      URB SANTA MONICA O 16 CALLE
   705235 LUZ M RIVERA PAGAN                          9                                                                                                                      BAYAMON           PR         00957
   705237 LUZ M RIVERA PEREZ                          JARDINES DE DORADO            F 17 CALLE 5                                                                             DORADO            PR         00646
   287060 LUZ M RIVERA RODRIGUEZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287062 LUZ M RIVERA ROLON                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287063 LUZ M RIVERA ROSADO                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705238 LUZ M RIVERA SANTIAGO                       VALLE DE ANDALUCIA            3418 CALLE CORDOVA                                                                       PONCE             PR         00731
   287064 LUZ M RIVERA SANTOS                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705239 LUZ M RIVERA TORRES                         HC 73 BOX 5181                                                                                                         NARANJITO         PR         00719
   705240 LUZ M RIVERA VEGA                           HC 44 BOX 13564                                                                                                        CAYEY             PR         00736
                                                      URB BAY VIEW EAST OCEAN
   705241 LUZ M ROBLES ORAMAS                         DRIVE                                                  62                                                              CATA¥O            PR         00962
   705243 LUZ M RODRIGUEZ                             URB COUNTRY CLUB              MV 31 CALLE 407                                                                          CAROLINA          PR         00982
   705244 LUZ M RODRIGUEZ AREIZAGA                    SECTOR LA VIA                 156 CALLE CUESTA VIEJA                                                                   AGUADILLA         PR         00603
   287065 LUZ M RODRIGUEZ BENITEZ                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705247 LUZ M RODRIGUEZ FELIX                       URB JARDINES DE CEIBA         I D 7 CALLE 6                                                                            CEIBA             PR         00735

   705249 LUZ M RODRIGUEZ GONZALEZ                    VILLA CAROLINA                15‐3 CALLE 24                                                                            CAROLINA          PR         00985
   705250 LUZ M RODRIGUEZ GOTAY                       PARC 146 CALLE 7                                                                                                       CEIBA             PR         00735
   705251 LUZ M RODRIGUEZ MORA                        BO MARIANA BOX 1064                                                                                                    NAGUABO           PR         00718
   287066 LUZ M RODRIGUEZ NUNEZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705252 LUZ M RODRIGUEZ PEREZ                       URB LINDA VISTA NUM 16                                                                                                 CAMUY             PR         00627
   705253 LUZ M RODRIGUEZ RESTO                       SABANA GARDENS                21‐3 CALLE 17                                                                            CAROLINA          PR         00983



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   287067 LUZ M RODRIGUEZ RODRIGUEZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287068 LUZ M RODRIGUEZ ZAYAS                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705254 LUZ M ROJAS CACERES                         BO JUNQUITO                  166 CALLE JAZMIN                                                                         HUMACAO             PR           00791
   705258 LUZ M ROLDAN MARTINEZ                       23 CALLE MIRAMAR ALTOS                                                                                                PONCE               PR           00731
   705259 LUZ M ROLON RIVERA                          HC 2 BOX 6535                                                                                                         BARRANQUITAS        PR           00794
   705260 LUZ M ROMAN PLAZA                           BO PALMAS                    160 CALLE CUCHARILLA INT                                                                 CATA¥O              PR           00962
   287069 LUZ M ROMAN ROMAN                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705261 LUZ M ROQUE ORTIZ                           BO GUAVATE                   23100 SECTOR ROQUE                                                                       CAYEY               PR           00736
   705262 LUZ M ROSA SANTANA                          P O BOX 692                                                                                                           SAN LORENZO         PR           00754
   705263 LUZ M ROSA SOTO                             HATO TEJAS                   X 11 CALLE 4                                                                             BAYAMON             PR           00956
   287070 LUZ M ROSA TORRES                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705264 LUZ M ROSADO COLON                          HC 4 BOX 4200                                                                                                         HUMACAO             PR           00791
   287071 LUZ M ROSADO NATAL                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256646 LUZ M ROSADO NATAL                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287072 LUZ M ROSADO REYES                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287073 LUZ M ROSADO TORRES                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705265 LUZ M ROSARIO MEDINA                        URB SIERRA BAYAMON           1 CALLE 31                                                                               BAYAMON             PR           00961
   705268 LUZ M RUIZ LEBRON                           SANTA JUANA II               A 8 CALLE 4                                                                              CAGUAS              PR           00725
   705269 LUZ M RUIZ MERCADO                          P O BOX 279                                                                                                           AGUADA              PR           00602
   705266 LUZ M RUIZ ORTIZ                            HC 1 BOX 8287                                                                                                         GURABO              PR           00778‐9762

   287075 LUZ M SALGADO BETANCOURT                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287076 LUZ M SANABRIA ROSA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705271 LUZ M SANCHEZ LEON                          PO BOX 8101                                                                                                           BAYAMON             PR           00960
   287077 LUZ M SANCHEZ ORTIZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   705272 LUZ M SANCHEZ PIZARRO                       RES LAS MARGARITAS PROY 2 15 EDIF 11 APT 474                                                                          SAN JUAN            PR           00915
   705273 LUZ M SANCHEZ RODRIGUEZ                     P O BOX 5857                 BO PALOMAS                                                                               COMERIO             PR           00782
   705274 LUZ M SANTANA                               58 CALLE MESTRE                                                                                                       CABO ROJO           PR           00623

   287078 LUZ M SANTANA MALDONADO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705275 LUZ M SANTANA SANTOS                        URB LOMA ALTA                P 16 CALLE 21                                                                            CAROLINA            PR           00986
   705276 LUZ M SANTIAGO ALBINO                       HC 02 BOX 6249                                                                                                        GUAYANILLA          PR           00656
   287079 LUZ M SANTIAGO CASTRO                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705278 LUZ M SANTIAGO ORTIZ                        PO BOX 302                                                                                                            YABUCOA             PR           00767
   705279 LUZ M SANTOS MOLINA                         42 BDA SANDIN JUPITER                                                                                                 VEGA BAJA           PR           00693
                                                                                   1013 CALLE 18 NE URB PUERTO
   705280 LUZ M SANTOS RODRIGUEZ                      PUERTO NUEVO                 NUEVO                                                                                    SAN JUAN            PR           00920
   287080 LUZ M SARA LINARES GARCIA                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287082 LUZ M SERGIO GUERRA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705282 LUZ M SERRANO GARCIA                        HC 00867 BOX 20096                                                                                                    FAJARDO             PR           00738
   704305 LUZ M SERRANO PEREZ                         PO BOX 52283                                                                                                          TOA BAJA            PR           00950
   705283 LUZ M SERRANO SERRANO                       HC 56 BOX 4328                                                                                                        AGUADA              PR           00602
   705284 LUZ M SIERRA LOPEZ                          P O BOX 7738                                                                                                          SAN JUAN            PR           00916
   705285 LUZ M SOLIS                                 HC 1 BOX 5541                                                                                                         YABUCOA             PR           00767
   705286 LUZ M SOSA CABAN                            334 CALLE 22 DE JUNIO                                                                                                 MOCA                PR           00676
   705287 LUZ M SOTO AROCHO                           BOX 516                                                                                                               MOCA                PR           00676
   287087 LUZ M SOTO SEGARRA                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705290 LUZ M TERRON JIMENEZ                        HC 2 BOX 9560                                                                                                         QUEBRADILLAS        PR           00678
   287088 LUZ M TIRADO PEREZ                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287089 LUZ M TORRES                                REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705292 LUZ M TORRES DELGADO                        BO MATUYAS ALTO              BOX 3988                                                                                 MAUNABO             PR           00707



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   705293 LUZ M TORRES GARCIA                         COND TORRES DE ANDALUCIA         II APT 609                                                                          SAN JUAN            PR         00926
   705295 LUZ M TORRES NIEVES                         H C 01 BOX 15728                                                                                                     COAMO               PR         00769
   287091 LUZ M TORRES ORTIZ                          REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287092 LUZ M TORRES RAMIREZ                        REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   705296 LUZ M TORRES RAMISDEAYREF                   HC 01 BOX 4545                                                                                                       ADJUNTAS            PR         00601
   287093 LUZ M TORRES RODRIGUEZ                      REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705298 LUZ M TORRES SANTIAGO                       73 CALLE ESTRELLA                                                                                                    PONCE               PR         00731
   287094 LUZ M TOUS FERNOS                           REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705300 LUZ M VALENTIN MOYA                         URB CORCHADO                     11 CALLE MIOSOTIS                                                                   ISABELA             PR         00662
   705301 LUZ M VALLE ORTIZ                           HC 01 BOX 8243                                                                                                       CANOVANAS           PR         00729
   287095 LUZ M VARGAS                                REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705304 LUZ M VAZQUEZ AGOSTO                        URB LOS LLANOS                   B‐18 CALLE 5                                                                        ARECIBO             PR         00612
   705305 LUZ M VAZQUEZ DIAZ                          HC 03 BOX 7226                                                                                                       COMERIO             PR         00782
   705306 LUZ M VAZQUEZ FONTANEZ                      HC 5 BOX 60589                                                                                                       CAGUAS              PR         00725
   287096 LUZ M VAZQUEZ MUNIZ                         REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705307 LUZ M VAZQUEZ NATER                         VISTA ALEGRE                     38 CALLE DELICIAS                                                                   BAYAMON             PR         00959

   705308 LUZ M VAZQUEZ RIVERA                        VILLA DE CASTRO I 13 CALLE 600                                                                                       CAGUAS              PR         00725
   705309 LUZ M VAZQUEZ TORRES                        PO BOX 461                                                                                                           FLORIDA             PR         00650
   705310 LUZ M VEGA DELGADO                          URB ALTURAS DE VEGA BAJA         00 21 CALLE B                                                                       VEGA BAJA           PR         00693
   287097 LUZ M VEGA RAMIREZ                          REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705311 LUZ M VEGA ROSADO                           PO BOX 2072                                                                                                          CAYEY               PR         00736
   287098 LUZ M VEGA VARGAS                           REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705313 LUZ M VELAZQUEZ                             HC 30 BOX 31138                                                                                                      SAN LORENZO         PR         00754‐9712
   705315 LUZ M VELAZQUEZ CARMONA                     BO CACAO                         HC 02 BOX 15409                                                                     CAROLINA            PR         00985
   287099 LUZ M VELAZQUEZ CRESPO                      REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705316 LUZ M VELEZ ESTRADA                         HC 5 BOX 57620                                                                                                       MAYAGUEZ            PR         00680
   287100 LUZ M VENDRELL COLON                        REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287101 LUZ M VICENTE MARQUEZ                       REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287102 LUZ M VIERA MALDONADO                       REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   287103 LUZ M VILLANUEVA CORDERO                    REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287105 LUZ M. ALEMAN GARCIA                        REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287106 Luz M. Alicea Aleman                        REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287107 LUZ M. APONTE TORRES                        REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287108 LUZ M. CEDENO RIVERA                        REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287109 LUZ M. COLLAZO FIGUEROA                     REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287110 LUZ M. COLORADO SALAZAR                     REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287112 LUZ M. CORDERO VEGA                         REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287113 LUZ M. CORIANO VILLEGAS                     REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287114 LUZ M. CORREA GUERRA                        REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287115 LUZ M. DE JESUS ORTIZ                       REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287116 LUZ M. DE LEON RAMOS                        REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287117 LUZ M. DIAZ COTTO                           REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287118 LUZ M. DIAZ ROMAN                           REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287119 LUZ M. ESTELA REYES                         REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          LUZ M. ESTELA/HOGAR LUZ M.
   287120 ESTELA                                      REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287121 LUZ M. FIGUEROA GARCIA                      REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287122 LUZ M. FLORES SANTIAGO                      REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287123 LUZ M. FUENTES PAGAN                        REDACTED                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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MML ID                NAME                                       ADDRESS 1                     ADDRESS 2                     ADDRESS 3                           ADDRESS 4              CITY          STATE   POSTAL CODE        COUNTRY
          LUZ M. GARCIA RIVERA/ LA
   287124 SAGRADA FAMILIA                             REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705323 LUZ M. GONZALEZ NIEVES                      PO BOX 4131                                                                                                            AGUADILLA           PR           00603
   287125 LUZ M. GUADALUPE DIAZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287128 LUZ M. MELENDEZ GONZALEZ                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   287129 LUZ M. MENDEZ DE RODRIGUEZ REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   705327 LUZ M. MONTALVO SANTIAGO                    HC 02PO BOX 12361                                                                                                      SAN GERMAN          PR       00683
   705328 LUZ M. MORALES                              SABANA LLANA                  1041 C/PALMA                                                                             SAN JUAN            PR       00907
   287131 LUZ M. MORALES MARQUEZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   287132 LUZ M. MORALES RIVERA                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   287137 LUZ M. OLIVO RIVERA                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   287141 LUZ M. ORTIZ INFANTE                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   287142 Luz M. Ortiz Meléndez                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   287143 Luz M. Pena Pena                            REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   287144 LUZ M. PEREZ BETANCOURT                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   287145 LUZ M. PEREZ SANTIAGO                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   287146 LUZ M. PIMENTEL RIVERA                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
                                                                                    775 CALLE SORBN URB
   705330 LUZ M. RAMOS VELAZQUEZ                      UNIVERSITY GARDENS            UNIVERSITY GDNS                                                                          SAN JUAN            PR           00927
                                                                                    CL19 CAL DR ABLRD M FRR URB
   705331 LUZ M. RIOS CEPEDA                          LEVITTOWN                     LEVITTO                                                                                  TOA BAJA            PR           00949
   287148 LUZ M. RIVERA FUENTES                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287149 LUZ M. RIVERA ROLON                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287150 LUZ M. RIVERA ROMAN                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705332 LUZ M. ROBLES BENITO                        HIGHLAND PARK 697             CALLE CIPRES                                                                             SAN JUAN            PR           00924
   705333 LUZ M. ROMAN CASTRO                         EDIF 3 APTO 9 RES. EL PRADO                                                                                            SA JUAN             PR           00926
   287151 LUZ M. ROSADO CARRILLO                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287152 LUZ M. ROSADO NATAL                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287153 LUZ M. SARA LINARES GARCIA                  REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705337 LUZ M. VEGA MONSERRAT                       C.S.M. BAYAMON                                                                                                         Hato Rey            PR           00936

   287154 LUZ M. VELAZQUEZ FELICIANO                  REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705341 LUZ M.CABEZUDO PEREZ                        HP ‐ Forense RIO PIEDRAS                                                                                               Hato Rey            PR           009360000

   287155 LUZ MABEL DEL VALLE MARTINEZ REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287156 LUZ MAGALY COTTO RIVERA      REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   705345 LUZ MAIRY M LOPEZ RODRIGUEZ EL CONQUISTADOR                               H 24 AVE HERNAN CORTES                                                                   TRUJILLO ALTO       PR           00976
   287157 LUZ MALAVE MARTINEZ         REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   704287 LUZ MALAVE MARTINEZ         PMB 342 PO BOX 8650                                                                                                                    MAYAGUEZ            PR           00681
   287158 LUZ MALDONADO CALDERON      REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705346 LUZ MALDONADO RIVERA        BO TORRECILLAS                                BOX 7 CALLE 12                                                                           MOROVIS             PR           00687
   705347 LUZ MARCANO GARCIA          P O BOX 222                                                                                                                            GURABO              PR           00778

   705349 LUZ MARGARITA CARRION DIAZ                  HC 04 BOX 4816                                                                                                         HUMACAO             PR           00791
   705350 LUZ MARGARITA ORTIZ RIOS                    URB MARIOLGA                  R 16 CALLE SAN MARCOS                                                                    CAGUAS              PR           00725
                                                      P O BOX 37022 AIRPORT
   705352 LUZ MARIA ACOSTA LUIS                       STATION                                                                                                                SAN JUAN            PR           00937‐0022
   287159 LUZ MARIA ARROYO HEREDIA                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUZ MARIA CARDONA DE
   287160 TORRES                                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          LUZ MARIA CARRASQUILLO
   705354 DOMINQUEZ                                   P O 9261                                                                                                        CAGUAS              PR           00725
   705355 LUZ MARIA CASTRO CRISPIN                    SAINT JUST                235 CALLE 4                                                                           CAROLINA            PR           00986

   705356 LUZ MARIA COLON DE YOSHIURA PO BOX 9066600                                                                                                                  SAN JUAN            PR           00906‐6600
   287162 LUZ MARIA FLORES DONES      REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705358 LUZ MARIA GARCIA BRUNO      URB VERDE MAR                             246 CALLE 10                                                                          HUMACAO             PR           00741
   705359 LUZ MARIA GARCIA RIVERA     URB SIERRA LINDA                          F 23 CALLE 3                                                                          BAYAMON             PR           00957

   287163 LUZ MARIA MARQUEZ FIGUEROA REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                     BO SONADORA SECT LOPEZ
   705360 LUZ MARIA MARTINEZ BAEZ    CASES                                      PARCELA 47                                                                            GUAYNABO            PR           00925

   705361 LUZ MARIA MARTINEZ MORALES HC 1 BOX 8206                                                                                                                    YAUCO               PR           00698
   705362 LUZ MARIA MATEU SIMO       2206 PARK BOULEVARD                                                                                                              SAN JUAN            PR           00913
   705365 LUZ MARIA MERCADO          BO FIGUEROA                                56 CALLE A                                                                            SAN JUAN            PR           00907
   705366 LUZ MARIA NEGRON           COND LOS ROBLES                            G 9 APT EDIF A                                                                        SAN JUAN            PR           00927‐4263
   287164 LUZ MARIA OROZCO CRUZ      REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705367 LUZ MARIA ORTIZ LANZO      HC 01 BOX 6067                                                                                                                   LOIZA               PR           00772

   287165 LUZ MARIA OTERO ALVARADO                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705368 LUZ MARIA PLAZA OSORIO                      BO LAS CUEVAS             446 CALLE ESPIRITU SANTO                                                              LOIZA               PR           00772
   287166 LUZ MARIA RIOS HERNANDEZ                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287167 LUZ MARIA RIOS ROSARIO                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287168 LUZ MARIA RIVERA BURGOS                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287169 LUZ MARIA RIVERA CRUZ                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705370 LUZ MARIA RIVERA MARRERO                    RR ‐ 02 BOX 8084          QDA CRUZ                                                                              TOA ALTA            PR           00953
   705371 LUZ MARIA ROJAS RAMIREZ                     96 CALLE BETANIA FINAL                                                                                          TRUJILLO ALTO       PR           00976
   287171 LUZ MARIA ROJAS RIVERA                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287172 LUZ MARIA ROSA ORTIZ                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287173 LUZ MARIA SANTIAGO                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   705372 LUZ MARIA SANTIAGO ARROYO                   RES EL PRADO              EDF 44 APT 215                                                                        SAN JUAN            PR           00924

   287174 LUZ MARIA SANTIAGO MORALES REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705373 LUZ MARIA SANTOS ALAMO     P O BOX 7428                                                                                                                     SAN JUAN            PR           00916

   287175 LUZ MARIA SANTOS MONTANEZ                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287176 LUZ MARIA TORRES ORTAS                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705375 LUZ MARIA VALDES MOLINA                     BO INGENIO                341 CALLE PALMA                                                                       TOA BAJA            PR           00949
   705376 LUZ MARIA VALENCIA RIVERA                   URB JARDINES DE ARECIBO   8 CALLE K                                                                             ARECIBO             PR           00612

   287177 LUZ MARIA VILLEGAS RESTREPO REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705378 LUZ MARIA ZAYAS RIVERA       HC 01 BOX 3542                                                                                                                 BARRANQUITAS        PR           000794
   287178 LUZ MARIE GRANDE PEREZ       REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUZ MARIE GRANDE PEREZ LUZ D
   705379 PEREZ RIOS                   PORTAL DE LA REINA                       APRT 135                                                                              SAN JUAN            PR           00924

   287179 LUZ MARIE RODRIGUEZ LOPEZ     REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUZ MARIE RODRIGUEZ
   287180 QUINONEZ                      REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUZ MARIE T SHIRTS / HECTOR L
   705380 NIEVES                        PO BOX 560253                                                                                                                 GUAYANILLA          PR           00656‐0253



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  705381 LUZ MARILUZ DONES                            P O BOX 2866                                                                                                           CAROLINA            PR           00984
         LUZ MARINA MARTIR
  705382 RODRIGUEZ                                    CIUDAD DE ORO                522 APTO 522 CALLE BIENESTAR                                                              ISABELA             PR           00662
  705385 LUZ MARRERO HERNANDEZ                        EXT MARISOL                  6 CALLE 1                                                                                 ARECIBO             PR           00612
  705386 LUZ MARTINEZ MARTINEZ                        COND CONDADO DEL MAR         20 CALLE DELCASSE APTO 501                                                                SAN JUAN            PR           00907

   287181 LUZ MARY SANTANA RODRIGUEZ REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   705389 LUZ MATOS                  PARCELAS FALU                                 286 CALLE 32                                                                              SAN JUAN            PR           00924
   705390 LUZ MATOS COLLAZO          URB VILLAS DEL CASTRO                         II 2 CALLE 600                                                                            CAGUAS              PR           00725
   705391 LUZ MATOS GUTIERREZ        APARTADO 1762                                                                                                                           C AYEY              PR           00737
   705392 LUZ MAYRA RODRIGUEZ        HC 01 BOX 11732                                                                                                                         CAROLINA            PR           00985
   705393 LUZ MEDINA COLON           EXT VILLA RITA                                BB 15 CALLE 26                                                                            SAN SEBASTIAN       PR           00685

   705394 LUZ MEDINA CRUZ                             GALATEO BAJO                 BUZON 5 193 SECTOR LA PALMA                                                               ISABELA             PR           00662
   705395 LUZ MEDINA DIAZ                             URB SANTA JUANITA            W A 3 CALLE TORRENGH SUR                                                                  BAYAMON             PR           00956
   287182 LUZ MEDINA IRIZARRY                         REDACTED                     REDACTED                    REDACTED                               REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                      SECTOR PARCELAS CAMUY
   705396 LUZ MEDINA RODRIGUEZ                        ARRIBA                                                                                                                 CAMUY               PR           00627
   705397 LUZ MEJIAS DUARTE                           SECTOR VILLA PALMERAS        310 CALLE PALACIOS                                                                        SAN JUAN            PR           00915
   287183 LUZ MELENDEZ                                REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   287184 LUZ MELENDEZ PADILLA                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   287185 LUZ MENDEZ VEGA                             REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   287186 LUZ MENDOZA ARCE                            REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   705399 LUZ MERCADO HERNANDEZ                       HC 1 BOX 3953                                                                                                          QUEBRADILLAS        PR           00678
          LUZ MERCEDES NEGRON
   705400 BLANCO                                      PO BOX 1565                                                                                                            RIO GRANDE          PR           00745
   287188 LUZ MERY OSPINA CORTES                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LUZ MIGDALIA RIVERA
   287189 ATANACIO                                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LUZ MIGDALIA VELEZ
   705401 RODRIGUEZ                                   700 COND MIRAMAR APTO 203                                                                                              SAN JUAN            PR           00907
   705403 LUZ MILAGROS ACEVEDO                        BO BAYAMONCITO               CARR 156 RAMAL 790 KM 0.2                                                                 AGUAS BUENAS        PR           00703
   705404 LUZ MILAGROS CRUZ LOPEZ                     HC 11 BOX 12102                                                                                                        HUMACAO             PR           00791
   287190 LUZ MILAGROS JEREZ ABREU                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   705405 LUZ MILAGROS RIVERA                         AVE CEMENTERIO NACIONAL      190 BOX 12 HATO TEJAS                                                                     BAYAMON             PR           00959
   287191 LUZ MINAYA GARCIA                           REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   287193 LUZ MINERVA ISALES OSORIO                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LUZ MINERVA LAUREANO
   287194 SANTIAGO                                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   705407 LUZ MINERVA PE¥A VEGA                       BO OBRERO 503                CALLE TAPIA                                                                               SAN JUAN            PR           00915
          LUZ MINERVA QUINTERO
   705408 ROSARIO                                     EDIF 3 APT 34 R/MONTE HATILLO                                                                                          SAN JUAN            PR           00926
                                                      COND JARDINES DE VALENCIA
   705409 LUZ MINERVA RODRIGUEZ                       APTO 1303                     CALLE PEREIRA                                                                            SAN JUAN            PR           00923

   705410 LUZ MINERVA ROLDAN FLORES                   COND SKY TOWER 11 7D                                                                                                   SAN JUAN            PR           00926
   287196 LUZ MINERVA ROMAN LOPEZ                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   287197 LUZ MIRIAM PEREZ MESTRES                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   287198 LUZ MIRIAM VAZQUEZ NATER                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          LUZ MIRZA RODRIGUEZ DE
   705411 PELLICIER                                   P O BOX 715                                                                                                            YAUCO               PR           00698‐0715
   705412 LUZ MOJICA FERNANDEZ                        VILLA PALMERAS               311 CALLE DEL RIO                                                                         SAN JUAN            PR           00915
   705413 LUZ MORALES CRUZ                            URB COUNTRY CLUB             HW 34 CALLE 253                                                                           CAROLINA            PR           00982



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  287199 LUZ MORALES GUZMAN                           REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  287200 LUZ MORALES MOLINA                           REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  287201 LUZ MORALES ORTIZ                            REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  705414 LUZ MORALES PEREZ                            HC 5 BOX 25267                                                                                               CAMUY              PR         00627
  705415 LUZ MORILLO RAMIREZ                          VILLAS DE CANEY           M 8 CALLE 19                                                                       TRUJILLO ALTO      PR         00976
  705416 LUZ MU¥IZ RAMOS                              PO BOX 505                                                                                                   LAS MARIAS         PR         00670
  705417 LUZ MYRIAM DIAZ ORTIZ                        RES MANUEL A PEREZ        EDF A 10 APT 106                                                                   SAN JUAN           PR         00983
  287203 LUZ N ACEVEDO PEREZ                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  705419 LUZ N ACEVEDO VELEZ                          VALLE DE CERRO GORDO      W 1 CALLE ONIX                                                                     BAYAMON            PR         00957
         LUZ N ARCE TORRES / WANDYS                   EE 28 N 14 URB GLENVIEW
  705420 CATERING                                     GARDENS                                                                                                      PONCE              PR         00730
  287205 LUZ N AROCHO AVILA                           REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  705422 LUZ N BELTRAN RODRIGUEZ                      JARDINES DE CAPARRA       Y 4 CALLE 43                                                                       BAYAMON            PR         00959
  705423 LUZ N BERMUDEZ AGOSTO                        REPARTO METROPOLITANO     1152 CALLE 40 SE                                                                   SAN JUAN           PR         00921
  705424 LUZ N BERNARD QUILES                         BO CIBUCO                 BOX 9348                                                                           COROZAL            PR         00783
  705426 LUZ N BORGES ALVARADO                        URB ALTURAS DE SAN JOSE   15 CALLE 19                                                                        SABANA GRANDE      PR         00637
  705427 LUZ N BURGOS GARCIA                          LA LOMA                   HC 01 BOX 3417                                                                     BARRANQUITA        PR         00794
  705428 LUZ N CALDERON OLMO                          PO BOX 337                                                                                                   LOIZA              PR         00772

   287206 LUZ N CANDELARIA CAMACHO                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   705430 LUZ N CARRERO DE CATALA                     HC 1 BOX 9550                                                                                                CABO ROJO          PR         00623
   705432 LUZ N CASANOVA CUEVAS                       VILLA CRISTIANA           B 12 CALLE 3                                                                       COAMO              PR         00769
   705433 LUZ N CASTILLO RIVERA                       MONTE HATILLO             EDIF 7 APT 84                                                                      SAN JUAN           PR         00924
   704309 LUZ N CENTENO HERNANDEZ                     BOX 1108                                                                                                     SABANA SECA        PR         00952
   287207 LUZ N COLON OCASIO                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   287208 LUZ N CORDERO CANCEL                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   705435 LUZ N CORDERO CASTRO                        P O BOX 140073                                                                                               ARECIBO            PR         00614
   705438 LUZ N CRUZ GUZMAN                           BO PLAYITA CORTADA        9 602 C1                                                                           SANTA ISABEL       PR         00757
   287211 LUZ N CRUZ VARGAS                           REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   705440 LUZ N DAVILA ACEVEDO                        BO MARICUTANA             101 SEC EL HOYO                                                                    HUMACAO            PR         00791
   287212 LUZ N DEL VALLE ROSARIO                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   705441 LUZ N ENCARNACION GONZALEZ RES FELIPE S OSORIO                        EDIF 8 APT 32                                                                      CAROLINA           PR         00985
   705442 LUZ N ESCOBALES RAMIREZ    PO BOX 1392                                                                                                                   LARES              PR         00669
   287214 LUZ N ESTEVEZ RODRIGUEZ    REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   705443 LUZ N FIGUEROA NUBOA       REXVILLE                                   BL 1 CALLE 31                                                                      BAYAMON            PR         00957
   287215 LUZ N FIGUEROA RIVERA      REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                     RES. LAS GLADIOLAS EDIF.301
   705445 LUZ N FIGUEROA SANTIAGO    APT 904                                                                                                                       SAN JUAN           PR         00917
   287216 LUZ N GARCIA GONZALEZ      REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   287217 LUZ N GAUD MORALES PC      URB LIRIOS CALA                            44 SAN IGNACIO                                                                     JUNCOS             PR         00777
   705446 LUZ N GAUDI                4TA SECC LEVITTOWN                         A K 2 PASEO MAGDALENA                                                              TOA BAJA           PR         00949
   287218 LUZ N GONZALEZ RODRIGUEZ   REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   705449 LUZ N GONZALEZ VELEZ       PO BOX 665                                                                                                                    LARES              PR         00669
   705453 LUZ N HERNANDEZ TORRES     H C 1 BOX 6523                                                                                                                GUAYNABO           PR         00971
   705455 LUZ N LABOY SANTOS         HC 1 BOX 5079                                                                                                                 YABUCOA            PR         00767‐9664
   287219 LUZ N LEBRON               REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   287220 LUZ N LOPEZ FLORES         REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   287221 LUZ N LOPEZ RIVERA         REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   705459 LUZ N LUGO MERCADO         BO PASO PALMAS                             HC 01 BOX 3703                                                                     JAYUYA             PR         00641‐9604
   287222 LUZ N LUNA LEON            REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   705460 LUZ N MANGUAL              RES FALIN TORRECH                          EDIF 29 APTO 198                                                                   BAYAMON            PR         00961
   705461 LUZ N MARTINEZ RODRIGUEZ   HC 1 BOX 5290                                                                                                                 BARCELONETA        PR         00617



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  287224 LUZ N MARTINEZ TORRES        REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705462 LUZ N MEDINA FIGUEROA        BDA BUENA VISTA                    161 CALLEJON B                                                                       SAN JUAN          PR         00918
  287225 LUZ N MEDINA LUGO            REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705464 LUZ N MELENDEZ LUNA          URB VERSALLES                      B21 CALLE 4                                                                          BAYAMON           PR         00959
  705465 LUZ N MELENDEZ RODRIGUEZ     HC 3 BOX 9672                                                                                                           BARRANQUITAS      PR         00794
  705467 LUZ N MOLINA DIAZ            URB PLAZA DE LAS FUENTES           1119 CALLE FRANCIA                                                                   TOA ALTA          PR         00953
  705468 LUZ N MONSERRAT RAMOS        LEVITOWN                           G 6 CALLE MIRELLA OESTE                                                              TOA BAJA          PR         00949
  287226 LUZ N MONTES RABRI           REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287227 LUZ N MORALES PEREZ          REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705469 LUZ N MUNDO RODRIGUEZ        CONDOMINIO MUNDO FELIZ             APT 1203 ISLA VERDE                                                                  CAROLINA          PR         00913
  705470 LUZ N NEGRON RODRIGUEZ       RES ALTURAS DE ISABELA             EDIF 14 APT 73                                                                       ISABELA           PR         00662
  287228 LUZ N NIEVES                 REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287229 LUZ N NIEVES CARDONA         REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705471 LUZ N NIEVES OLIVERAS        URB TERR DE GUAYNABO               E 34 CALLE JAZMIN                                                                    GUAYNABO          PR         00969
  287230 LUZ N NUNEZ LOPEZ            REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287231 LUZ N ORTIZ                  REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705473 LUZ N ORTIZ DAVILA           JARDINES JAYUYA                    147 DALIA                                                                            JAYUYA            PR         00664‐1606
  287232 LUZ N PAGAN                  REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705474 LUZ N PAGAN RIVERA           URB EL MADRIGAL                    S‐6 CALLE 22                                                                         PONCE             PR         00730
  705475 LUZ N PEREZ BIRRIEL          BARRIO MARTIN GONZALEZ             SECTOR EL GONDAL K 2 4                                                               CAROLINA          PR         00985
         LUZ N PEREZ PARA JOHN GARCIA
  287234 PEREZ                        REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705476 LUZ N PINET TORRES           HC 01 BOX 5605                                                                                                          LOIZA             PR         00772
  705477 LUZ N PIZARRO RIVERA         JARD DE LOIZA                      A 9 CALLE 2                                                                          LOIZA             PR         00772
  287235 LUZ N QUILES QUINONES        REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705478 LUZ N RAMOS                  HC 5 BOX 55228                                                                                                          CAGUAS            PR         00725
  287236 LUZ N RIOS CAMACHO           REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705479 LUZ N RIVERA CHAMORRO        URB CANAS                          681 LOS PINO                                                                         PONCE             PR         00728
  287237 LUZ N RIVERA CORIANO         REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705480 LUZ N RIVERA RODRIGUEZ       HC 01 BOX 6325                                                                                                          SABANA HOYOS      PR         00688
  705481 LUZ N RIVERA ROMERO          RPM 642 5 CALLE ARZUAGA                                                                                                 SAN JUAN          PR         00725‐3701
  287239 LUZ N RODRIGUEZ DELGADO      REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287240 LUZ N RODRIGUEZ GONZALEZ     REDACTED                           REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   287241 LUZ N RODRIGUEZ HERNANDEZ                    REDACTED          REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287242 LUZ N RODRIGUEZ LEBRON                       REDACTED          REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705484 LUZ N RODRIGUEZ MEDINA                       HC 03 BOX 10175                                                                                        YABUCOA           PR         00767
   287243 LUZ N RODRIGUEZ RET PLAN                     REDACTED          REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287244 LUZ N RODRIGUEZ SALDANA                      REDACTED          REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287245 LUZ N RODRIGUEZ TIRADO                       REDACTED          REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705485 LUZ N ROMAN SERRANO                          URB METROPOLIS    2 I‐52 CALLE 642                                                                     CAROLINA          PR         00987
   287246 LUZ N ROSA CRUZ                              REDACTED          REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287247 LUZ N ROSA LOPEZ                             REDACTED          REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705486 LUZ N ROSARIO CASTRILLO                      PMB 598           HC 01 BOX 29030                                                                      CAGUAS            PR         00725‐8900
   287248 LUZ N ROSARIO RIVERA                         REDACTED          REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUZ N RUIZ CTA ADAM J RUIZ
   705488 VALENTIN                                     HC 3 BOX 14303                                                                                         UTUADO            PR         00641‐9733
   287249 LUZ N RUIZ PELLOT                            REDACTED          REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705491 LUZ N SANCHEZ FEBRES                         VILLA CARIDAD     A10 CALLE PARQUE                                                                     CAROLINA          PR         00985
   287250 LUZ N SANCHEZ SANTIAGO                       REDACTED          REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705492 LUZ N SANCHEZ TORRES                         PO BOX 1636                                                                                            GUAYNABO          PR         00970
   705493 LUZ N SANTANA MANGUAL                        RR 7 BOX 7077                                                                                          SAN JUAN          PR         00926
   705494 LUZ N SANTANA MORALES                        PO BOX 1061                                                                                            OROCOVIS          PR         00720



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  705495 LUZ N SANTIAGO COLON                         HC 44 BOX 12628                                                                                                 CAYEY               PR         00736
  287251 LUZ N SANTIAGO HERNANDEZ                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  287252 LUZ N SANTIAGO ROBLES                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  287253 LUZ N SOLERO SANTIAGO                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  287254 LUZ N SOTO SEGARRA                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  705498 LUZ N TORRES ALCAZAR                         PO BOX 1405                                                                                                     CIDRA               PR         00739
  287255 LUZ N TORRES TORRES                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  287256 LUZ N TRICOCHE DE JESUS                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  287257 LUZ N TRUJILLO LOPEZ                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  704311 LUZ N VALENTIN ORENGO                        COND CAROLINA COURT      BUZON 25 APT B1                                                                        CAROLINA            PR         00982
  287258 LUZ N VAZQUEZ BAEZ                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  287259 LUZ N VAZQUEZ GARCIA                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  287260 LUZ N VAZQUEZ HERNANDEZ                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  705500 LUZ N VAZQUEZ MOLINA                         PO BOX 998                                                                                                      ARECIBO             PR         00612
  287261 LUZ N VELAZQUEZ MARTINEZ                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  287262 LUZ N VELAZQUEZ VINAS                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  705502 LUZ N VELEZ ANDUJAR                          HC 02 BOX 14639                                                                                                 CAROLINA            PR         00985
  287263 LUZ N VELEZ MORALES                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  287265 LUZ N. ALEJANDRO ROJAS                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  287266 LUZ N. AQUINO NUNEZ                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  287267 LUZ N. DIAZ SANTAELLA                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  287268 LUZ N. GOMEZ FONTANEZ                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  287270 LUZ N. MELENDEZ LUNA                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  287271 LUZ N. MERCADO CRESPO                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  287272 LUZ N. NAVARRO CRUZ                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  287273 LUZ N. RIVERA LOPEZ                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  287274 LUZ N. RIVERA RAMOS                          REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  287275 LUZ N. ROCA ROBLES                           REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  287276 LUZ N. RODRIGUEZ CUEVAS                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   287277 LUZ N. RODRIGUEZ HERNANDEZ                  REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   705505 LUZ NABEL MENDEZ COLON                      18 AVE ARBOLETE          APTO 341                                                                               GUAYNABO            PR         00969‐5513
   705509 LUZ NEIDA ROSADO TORRES                     URB SAN BENITO           C/151 PUERTA DEL CIELO                                                                 HUMACAO             PR         00791
   287278 LUZ NELIA RIVERA COLON                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUZ NELIA RODRIGUEZ
   287279 CARRASQUILLO                                REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   705511 LUZ NELL TRAVELL AGENCY                     1203 AVE PONCE DE LEON                                                                                          SANTURCE            PR         00907
          LUZ NEREIDA CORCHADO
   705512 MALDONADO                                   PARK VIEW TERRACE        5 APTO 603                                                                             CANOVANAS           PR         00729
   705513 LUZ NEREIDA ESCALERA                        VILLA PALMERAS           20 CALLE UNION                                                                         SAN JUAN            PR         00911
          LUZ NEREIDA LIZARRIBAR
   705514 ALVAREZ                                     VILLA NAVARRA            916 CALLE JUAN PENA REYES                                                              SAN JUAN            PR         00924

   705515 LUZ NEREIDA MARRERO CRUZ                    URB MANSION DEL SOL      MS 53 CALLE VIA ARCO IRIS                                                              TOA BAJA            PR         00952‐4044
   705516 LUZ NEREIDA MARRERO DIAZ                    PO BOX 638                                                                                                      BARRANQUITAS        PR         00794

   287281 LUZ NEREIDA MARRERO ORTIZ                   REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   705517 LUZ NEREIDA ORTIZ FIGUEROA                  149 CALLE MORSE                                                                                                 ARROYO              PR         00714
   287282 LUZ NEREIDA PEREZ JIMENEZ                   REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LUZ NEREIDA RIVERA
   705518 ENCARNACION                                 BO LA CENTRAL            V 1663 VILLA BORINQUEN                                                                 CANOVANAS           PR         00729




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   705519 LUZ NEREIDA ROBLES APONTE                   PARC CARMEN               45 CALLE REINA                                                                           VEGA ALTA            PR           00692
   287284 LUZ NEREIDA SANTOS LLANOS                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LUZ NEREIDA VALENTIN
   705520 FELICIANO                                   HC 5 BOX 54702                                                                                                     HATILLO              PR           00659

   287285 LUZ NEREIDA VELAZQUEZ VINA                  REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   287286 LUZ NEREIDA VELAZQUEZ VINAS                 REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   705522 LUZ NIEVES CANCEL                           HC 5 BOX 8906                                                                                                      SAN SEBASTIAN        PR           00685
   287287 LUZ NILDA QUINONES DIAZ                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   705524 LUZ NOELIA CASIANO                          LEVITTOWN                                                                                                          TOA BAJA             PR           00949
   705525 LUZ NOEMI MEDINA CRUZ                       URB CANA                  DD 19 CALLE 31                                                                           BAYAMON              PR           00957
   705526 LUZ NOEMI RAMOS                             BOX 538                                                                                                            MAUNABO              PR           00707
   287288 LUZ NUNEZ PRATTS                            REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   705527 LUZ O BETANCOURT NEGRON                     HC 01 BOX 7570                                                                                                     CANOVANAS            PR           00729
   287290 LUZ O GARCIA RODRIGUEZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   287291 LUZ O GONZALEZ RUIZ                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   287292 LUZ O LOPEZ CURBELO                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   705529 LUZ O LUNA SANTOS                           METROPOLIS                R 17 CALLE 42                                                                            CAROLINA             PR           00987
   705530 LUZ O MARRERO RIVERA                        VILLA FONTANA             2XX3 VIA 13 A                                                                            CAROLINA             PR           00985
   287293 LUZ O MIRANDA PEREZ                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   287294 LUZ O ORTA TORRES                           REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   287295 LUZ O RAMOS MUNOZ                           REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   705531 LUZ O SANTIAGO ALGARIN                      VILLA SAN ALFONSO         EDIF 4 APT 2                                                                             CAGUAS               PR           00725
   705532 LUZ O VAZQUEZ COLON                         PO BOX 21365                                                                                                       SAN JUAN             PR           00926‐1333
   705537 LUZ OLIVO CRUZ                              P O BOX 675                                                                                                        QUEBRADILLAS         PR           00678
   287296 LUZ ORONOZ RODRIGUEZ                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   287297 LUZ ORTEGA COLON                            REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   287298 LUZ ORTIZ                                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   705538 LUZ OTERO ROSARIO                           P O BOX 1154                                                                                                       VEGA BAJA            PR           00694‐1194
   705542 LUZ P ROMAN NIEVES                          PO BOX 1186                                                                                                        YAUCO                PR           00698
   287301 LUZ P. LOZADA MANGUAL                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   705543 LUZ PALMIRA ALICEA GUZMAN                   PO BOX 7126                                                                                                        PONCE                PR           00732
   705544 LUZ PALMIRA LOPEZ ACOSTA                    HC 3 BOX 13607                                                                                                     YAUCO                PR           00698
   287304 LUZ PENA PENA                               REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   287305 LUZ PEREZ ALVARADO                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   705546 LUZ PEREZ MARRERO                           HC 01 BOX 3694                                                                                                     COROZAL              PR           00783
   705548 LUZ PEREZ PADILLA                           PARC MAGINAS              235 CALLE JOBOS                                                                          SABANA GRANDE        PR           00637
   705550 LUZ PEREZ SANTANA                           PO BOX 1532                                                                                                        VEGA ALTA            PR           00692
   705551 LUZ PEREZ VILLANUEVA                        HC 08 52259                                                                                                        HATILLO              PR           00659

   705552 LUZ PETRA ROSA MARTINEZ                     QUINTA SECCION LEVITOWN   BR 39 CALLE DR TOMAS PRIETO                                                              TOA BAJA             PR           00950
   705553 LUZ POL DELGADO                             HC 02 BZN 6768                                                                                                     LARES                PR           00669
   705554 LUZ PRATRICIA DIAZ DIAZ                     URB VILLA CAROLINA        103 29 CALLE 104                                                                         CAROLINA             PR           00985
   705555 LUZ R ALCALA SANTIAGO                       URB VILLA DEL CARMEN      1211 CALLE SAMOA                                                                         PONCE                PR           00716‐2139
   705557 LUZ R AVILES ORTEGA                         HC 71 BOX 2477                                                                                                     NARANJITO            PR           00719
   705558 LUZ R GONZALEZ VELLON                       JARDINES CEIBA NORTE      B 18 CALLE 3                                                                             JUNCOS               PR           00777
   287310 LUZ R MATOS HERNANDEZ                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   705559 LUZ R MEDINA MEDINA                         PO BOX 5241                                                                                                        SAN SEBASTIAN        PR           00685
   705561 LUZ R PEREZ ROSADO                          PO BOX 709                                                                                                         SABANA HOYOS         PR           00688
   705562 LUZ R RIVERA VELEZ                          BO CARO ABAJO             HC 71 BOX 3230                                                                           NARANJITO            PR           00719



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  287311 LUZ R ROMAN IGLESIAS                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287312 Luz R. Morales Guadalupe                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287314 LUZ R. O'NEILL BENITEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287315 LUZ RAMOS                                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705563 LUZ RANGEL MARTINEZ                          1348 CALLE ATOCHA STATION                                                                                           PONCE             PR         00733
  705564 LUZ RAQUEL COLON FLORES                      URB VILLA VICTORIA          C 5 CALLE 1                                                                             CAGUAS            PR         00625
  287316 LUZ REGINA CARRION BAUZO                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705566 LUZ REY GONZALEZ                             2625 DIAMOND HILL DR                                                                                                SAN ANTONIO       TX         78232
  705567 LUZ REYES CANCEL                             COND JARD DE QUINTANA       EDIF B APT 26                                                                           SAN JUAN          PR         00917
  287318 LUZ RIOS ACEVEDO                             REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705568 LUZ RIVERA CABRERA                           JARD DE DORADO              E 11 CALLE AZUCENAS                                                                     DORADO            PR         00646
  705569 LUZ RIVERA COLON                             PO BOX 691                                                                                                          COMERIO           PR         00782
  705570 LUZ RIVERA MELENDEZ                          URB COUNTRY CLUB            M O 32 CALLE 424                                                                        CAROLINA          PR         00982
  287319 LUZ RIVERA MOJICA                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287321 LUZ RODRIGUEZ                                REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705573 LUZ RODRIGUEZ BURGOS                         URB VILLA CAROLINA          87 11 CALLE 99A                                                                         CAROLINA          PR         00985
  287323 LUZ RODRIGUEZ GOMEZ                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287324 LUZ RODRIGUEZ GONZALEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705576 LUZ RODRIGUEZ PEREZ                          RES CUESTA VIEJA            EDIF 11 APT 144                                                                         AGUADILLA         PR         00603

   705577 LUZ RODRIGUEZ TORUELLA                      EL TUQUE                    703 CALLE 1 RAMOS ANTONINI                                                              PONCE             PR         00728
          LUZ RODRIGUEZ/ ANABEL
   287325 GONZALEZ/                                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287326 LUZ ROJAS OROSCO                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287327 LUZ ROJAS OROZCO                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705578 LUZ ROMAN BAEZ                              VILLA ESPERANZA 1           A 77 CALLE PRINCIPAL                                                                    CAROLINA          PR         00985
   287328 LUZ ROMAN CORDERO                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705579 LUZ ROMAN RIVERA                            METADONA PONCE                                                                                                      Hato Rey          PR         00936
   705580 LUZ ROMAN SALAMAN                           PO BOX 701                                                                                                          CAROLINA          PR         00916
   287329 LUZ ROMERO ESCALERA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705581 LUZ ROMERO RIOS                             URB JARD DE PALMAREJO       P 3 CALLE 15                                                                            CANOVANAS         PR         00729
   705582 LUZ ROMERO ROSADO                           PO BOX 7126                                                                                                         PONCE             PR         00732
   287330 LUZ ROQUE SERRANO                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705583 LUZ ROSARIO CIRILO                          RES LAS MARGARITAS          EDIF 30 APT 204                                                                         SAN JUAN          PR         00915
          LUZ ROULHAC PARA JAYLA B
   287331 ROULHAC                                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705587 LUZ S ADORNO VARGAS                         BO MARICAO                  APARTADO 5120                                                                           VEGA ALTA         PR         00692
   705588 LUZ S ALVARADO VAZQUEZ                      P O BOX 2355                                                                                                        SALINAS           PR         00751
   705590 LUZ S BERROCALES LUGO                       PO BOX 376                                                                                                          GUANICA           PR         00653
   287332 LUZ S BONET AYBAR                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287333 LUZ S CASILLAS VELAZQUEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287334 LUZ S CASTRO SANTOS                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LUZ S CATARINEAU / JORGE
   287335 LAZANEY                                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287336 LUZ S CONCEPCION MENDEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287337 LUZ S CONCEPCION SANCHEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705593 LUZ S CRUZ SANTIAGO                         HC 01 BOX 6922                                                                                                      GUAYANILLA        PR         00656‐9729
   705586 LUZ S DELGADO RAMOS                         P O BOX 224                                                                                                         AGUAS BUENAS      PR         00703

   287338 LUZ S FERNANDEZ RODRIGUEZ                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705595 LUZ S FIGUEROA RODRIGUEZ                    HC 01 BOX 9313                                                                                                      TOA BAJA          PR         00649
   705596 LUZ S FRANQUI ALAMEDA                       P O BOX 105                                                                                                         CAMUY             PR         00627
   287339 LUZ S GONZALEZ CASTRO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  705599 LUZ S MEDINA IRIZARRY                        URB SABANERA                32 CAMINO DE LA CASCADA                                                              CIDRA             PR         00739
  287342 LUZ S MERCADO ROSARIO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287343 LUZ S MORALES NIEVES                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287344 LUZ S MUNIZ RAMOS                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287345 LUZ S NEGRON MU¥IZ                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287346 LUZ S OLIVERO ROMERO                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705600 LUZ S ORTIZ MOLINA                           BOX 278                                                                                                          VILLALBA          PR         00766
  705601 LUZ S ORTIZ RODRIGUEZ                        HC 1 BOX 6760                                                                                                    OROCOVIS          PR         00720
  705602 LUZ S PELLICIER RIVERA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287347 LUZ S PENA MALDONADO                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705603 LUZ S PEREZ SOSA                             PO BOX 125                                                                                                       CABO ROJO         PR         00623
  705605 LUZ S REYES ORTIZ                            BOX 81                                                                                                           COMERIO           PR         00782
  705606 LUZ S RIVERA SANTIAGO                        HC 1 BOX 5614                                                                                                    CIALES            PR         00638
  705607 LUZ S RODRIGUEZ AVILEZ                       CLAUSELLS                   2 CALLE 4                                                                            PONCE             PR         00730

   705608 LUZ S RODRIGUEZ HERNANDEZ                   P O BOX 236                                                                                                      OROCOVIS          PR       00720
   287348 LUZ S RODRIGUEZ LOZADA                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   287349 LUZ S RODRIGUEZ MARTINEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   705611 LUZ S ROSADO CRESPO                         HC 1 BOX 5115                                                                                                    RINCON            PR       00677
   287351 LUZ S ROSARIO MAISONET                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   705612 LUZ S RUIZ CRESPO                           HC 56 BOX 34142                                                                                                  AGUADA            PR       00602
   287352 LUZ S SANTIAGO BARBOSA                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   705613 LUZ S SANTIAGO FARIA                        1670 SANTANA                                                                                                     ARECIBO           PR       00612‐6861
   287353 LUZ S SANTOS RODRIGUEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   287354 LUZ S TORRES CONCEPCION                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   705614 LUZ S VAZQUEZ CASTRO                        VISTA DEL MORRO             Q 2 C ALCON                                                                          CATANO            PR       00962
   705615 LUZ S VAZQUEZ LOPEZ                         HC 9 BOX 60585                                                                                                   CAGUAS            PR       00725‐9247
   287355 LUZ S VIERA VIERA                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   287357 LUZ S VILLANUEVA NIEVES                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   287358 LUZ S. ARROYO VELEZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   287359 LUZ S. CORREA FILOMENO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   287360 LUZ S. MEDINA PEREZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
   287361 LUZ S. MULERO GARCIA                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED REDACTED      REDACTED
          LUZ S. SOTO RIOS FALTA EL
   287362 TRASLADO                                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   705621 LUZ SAAVEDRA SILVA                          PO BOX 1600                                                                                                      CAGUAS            PR         00726160
   287364 LUZ SALDANA ROSADO                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   287365 LUZ SALINAS DE BEZARES                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   705622 LUZ SANABRIA PEREZ                          HC 02 BOX 26545                                                                                                  MAYAGUEZ          PR         00680

   705623 LUZ SANCHEZ FIGUEROA                        232 AVE ELEONOR ROOSEVELT                                                                                        SAN JUAN          PR         00907
   287366 LUZ SANCHEZ MONSEGUR                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   705624 LUZ SANCHEZ PEREZ                           TOA ALTA HEIGHTS            0‐31 CALLE 19                                                                        TOA ALTA          PR         00953
   287367 LUZ SANCHEZ SANTANA                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   287368 LUZ SANTIAGO AYALA                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   287369 LUZ SANTIAGO MARRERO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   287370 LUZ SANTIAGO MELENDEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   287371 LUZ SANTIAGO PENA                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   287372 LUZ SANTIAGO PEREZ                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   705625 LUZ SANTIAGO RIVERA                         HC 04 BOX 17175                                                                                                  MOCA              PR         00676
   287373 LUZ SELENIA CRUZ CRUZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   287374 LUZ SELENIA MALDONADO SOTO REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED



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  705626 LUZ SELENIA RAMOS PIZARRO                    HC 02 BOX 3782                                                                                                    LUQUILLO            PR           00773

   705627 LUZ SELENIA SANTANA COLLAZO HC 2 BOX 11120                                                                                                                    COROZAL             PR           00783

   287375 LUZ SELENIA SOTO ANDRILLON                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   287376 LUZ SHANTE FELICIANO                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   287377 Luz Soler Vazquez                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   287378 LUZ SOSA TRUJILLO                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   705629 LUZ SOTO ALEJANDRO                          P.O. BOX 4763                                                                                                     CAROLINA            PR           00984
   705632 LUZ T BONILLA PEREZ                         HC 33 BOX 5524                                                                                                    DORADO              PR           00646
   287380 LUZ T CANDELAS TORRES                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   705634 LUZ T FONTANEZ RODRIGUEZ                    STA JUANITA                  JJ 21 CALLE 26                                                                       BAYAMON             PR           00956
   705635 LUZ T HERNANDEZ AVILES                      PO BOX 865                                                                                                        CAMUY               PR           00627
   705636 LUZ T RAMOS PEREZ                           QUINTAS DE CANOVANAS         I 412 CALLE 4                                                                        CANOVANAS           PR           00729
   287381 LUZ T SANTIAGO LLANOS                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   287382 LUZ T. MERCADO                              REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   287383 LUZ T. SANTIAGO LLANOS                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   705638 LUZ TERESA ALVAREZ                          COND JARD DE GUAYAMA         EDIF C APT 101                                                                       SAN JUAN            PR           00917
   287384 LUZ TERESA COLON COTTO                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                      2015 UNIVERSITY AVENUE APT 2
   705639 LUZ TERESA RODRIGUEZ                        AN                                                                                                                BRONX               NY       10453
   705640 LUZ TORRES                                  PO BOX 50063                                                                                                      SAN JUAN            PR       00902
   287385 LUZ TORRES AVILES                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   287386 LUZ TORRES FLORES                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   287387 LUZ TORRES PINEIRO                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   287388 LUZ TORRES ROJAS                            REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   287390 LUZ TORRES YAMBO                            REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   705641 LUZ TRINIDAD RIOS                           BO TORTUGO                   KM 19 7                                                                              SAN JUAN            PR       00926
   287391 LUZ TRISTANI PAGAN                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   705642 LUZ V BURGOS IRENES                         7MA SECC LEVITTOWN           JV 2 CALLE JOSE GOTOS                                                                TOA BAJA            PR       00649
   287393 LUZ V CAY PENA                              REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
   287394 LUZ V DIAZ BETANCOURT                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED           REDACTED
          LUZ V FIGUEROA / MINERVA                    PO BOX 33012 VETERANS PLAZA
   705644 COLON                                       STA                                                                                                               SAN JUAN            PR           00933
   287396 LUZ V GALARZA CAPIELLO                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   287397 LUZ V HERNANDEZ MALDONADO REDACTED                                         REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   287398 LUZ V HERNANDEZ RAMOS     REDACTED                                         REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   705648 LUZ V MEDINA CINTRON      URB CAGUAX                                       I 11 CALLE DUHO                                                                    CAGUAS              PR           00725

   705649 LUZ V OCASIO                                JOSE DE DIEGO NUM 202 NORTE                                                                                       CAROLINA            PR           00985
   287399 LUZ V OLIVERAS DIAZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   705650 LUZ V OLIVIERI ZAYAS                        URB VISTAS DE MONTE SOL     540 CALLE NEPTUNO                                                                     YAUCO               PR           00698
   287400 LUZ V PANTOJA MEDINA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   705653 LUZ V RIVERA MONSERRATE                     P O BOX 1112                                                                                                      TRUJILLO ALTO       PR           00977
   287402 LUZ V RIVERA ORTAS                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   705654 LUZ V RODRIGUEZ REYES                       PO BOX 9964                                                                                                       CIDRA               PR           00739

   705655 LUZ V ROQUE CRUZ                            B 36 JARDINES DE BUENA VISTA                                                                                      CAYEY               PR           00736
   287404 LUZ V ROSARIO VEGA                          REDACTED                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   705656 LUZ V RUIZ                                  16 CALLE PALMER                                                                                                   CIDRA               PR           00739
   705657 LUZ V VELEZ CARABALLO                       URB EL BATEY                   7 CALLE D                                                                          ENSENADA            PR           00647
   705658 LUZ V VELEZ ORTIZ                           PO BOX 211                                                                                                        LAJAS               PR           00667



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                                                      URB REPARTO
   704312 LUZ V VIERA BATISTA                         CONTEMPORANEO                  A 5 CALLE A                                                                         SAN JUAN            PR           00926
   705659 LUZ V. DIAZ RIVERA                          URB CARRASQUILLO               221 CALLE JUAN SOTO                                                                 CAYEY               PR           00736
   287405 LUZ V. ORTIZ GONZALEZ                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287406 LUZ V. PEREZ ORTIZ                          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287407 LUZ V. SANTOS MULLER                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287408 LUZ V. TORRES RIVERA                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287409 LUZ VALENTIN                                REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287410 LUZ VALENTIN GARCIA                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUZ VANESSA ROSADO
   287411 SANTIAGO                                    REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705662 LUZ VANESSA RUIZ                            PO BOX 366603                                                                                                      SAN JUAN            PR           00936‐6603
   704313 LUZ VARGAS VARGAS                           VILLA SERENA                   H19 CALLE AMAPOLA                                                                   ARECIBO             PR           00612
   705663 LUZ VAZQUEZ CANCEL                          VILLA FONTANA                  CN 23 VIA 61 3                                                                      CAROLINA            PR           00983
   705664 LUZ VAZQUEZ PEREZ                           HC 02 BOX 4117                                                                                                     GUAYAMA             PR           00784
   287412 LUZ VAZQUEZ RODRIGUEZ                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUZ VAZQUEZ Y/O GLORIA
   705665 VAZQUEZ                                     BO MAGUEYEZ                    CALLE 8 BOX 15                                                                      BARCELONETA         PR           00617
   287413 LUZ VELEZ GALINDO                           REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705666 LUZ VELEZ HERNANDEZ                         HC 01 BOX 3444                                                                                                     ADJUNTAS            PR           00601
   705667 LUZ VELEZ MONTALVO                          AVE PEDRO A CAMPOS             BOX 2094                                                                            AGUADILLA           PR           00603
   705668 LUZ VIERA JIMENEZ                           URB BRISAS DE CAMUY            22 CALLE C                                                                          CAMUY               PR           00627
   287415 LUZ VILLAFANE MORALES                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LUZ VILLAHERMOSA
   705669 CANDELARIA                                  HC 52 BOX 2128                                                                                                     GARROCHALES         PR           00652
   705670 LUZ VILLANUEVA                              PO BOX 1096 VICTORIA STA                                                                                           AGUADILLA           PR           00603
   705671 LUZ VIRGEN SILVA                            URB PUERTO NUEVO               1210 CALLE CARDENAS                                                                 SAN JUAN            PR           00920

   287416 LUZ VIRGINIA ASIA RODRIGUEZ                 REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287417 LUZ VIRGINIA OLIVO CRUZ                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287418 LUZ VIRGINIA RIVERA SILVA                   REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705672 LUZ W BAEZ FONSECA                          HC 71 BOX 7185                                                                                                     CAYEY               PR           00736
   705673 LUZ WALKER ORTIZ                            HC 01 BOX 26050                                                                                                    SAN GERMAN          PR           00683
   705674 LUZ X DEL VALLE FEBRES                      P O BOX 10000 PMB 231                                                                                              CANOVANAS           PR           00729
   705675 LUZ Y COSME RODRIGUEZ                       URB HERMANOS DAVILA            410 CALLE 1                                                                         BAYAMON             PR           00959
   705676 LUZ Y CRESPO TORRES                         VILLA DEL REY I                H 6 CALLE LORENA                                                                    CAGUAS              PR           00725
   287420 LUZ Y CRUZ LIND                             REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287421 LUZ Y DIAZ SEPULVEDA                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287423 LUZ Y OCASIO VAZQUEZ                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287424 LUZ Y ROBLES DELGADO                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705682 LUZ Y SILVA RIVERA                          URB MONTE CASINO HEIGHTS       242 CALLE RIO CIBUCO                                                                TOA ALTA            PR           00949
   287425 LUZ Y. BONILLA LOPEZ                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   287428 LUZ Y. GONZALEZ RODRIGUEZ                   REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   705684 LUZ YADIRA TORRES RIVERA                    JK 13 CALLE MONSERRATE DELIZ                                                                                       LEVITTOWN           PR           00950

   705686 LUZ YAXAIRA BURGOS ALGARIN                  JARD DE RIO GRANDE             BJ CALLE 51                                                                         RIO GRANDE          PR           00745
   287430 LUZ YISEL NIEVES LLERA                      REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705688 LUZ Z CANDELARIA PEREZ                      HC 01 BOX 9869                                                                                                     HATILLO             PR           00659
   705689 LUZ Z COLON DE LEON                         HC 3 BOX 16542                                                                                                     COROZAL             PR           00783
   705690 LUZ Z FERRER MARRERO                        4664 CALLE ACUEDUCTO                                                                                               SABANA SECA         PR           00952‐4273
   287431 LUZ Z FUENTES ORTIZ                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  287432 LUZ Z GALINDO SERRANO                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  287433 LUZ Z GONZALEZ RODRIGUEZ                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  705691 LUZ Z HERRERA ROMAN                          BDA. ZENO GANDIA               309 AVE CONSTITUCION                                                                     ARECIBO             PR         00612

   704314 LUZ Z MARTINEZ RODRIGUEZ                    URB BRISAS DEL MAR             3 CALLE SAN VICENTE DE PAUL                                                              MAYAGUEZ            PR         00682
   705695 LUZ Z MELENDEZ TORRES                       BDA SANDIN                     63 CALLE SATURNO                                                                         VEGA BAJA           PR         00693
   287434 LUZ Z MELENDEZ ZENO                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   705696 LUZ Z NEGRON FELICIANO                      HC 06 BOX 12390                                                                                                         COROZAL             PR         00783
   287435 LUZ Z PEREZ VEGA                            REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287436 LUZ Z RIOS VAZQUEZ                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287437 LUZ Z RIVERA IBARRA                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   704315 LUZ Z RIVERA ROA                            P O BOX 7428                                                                                                            SAN JUAN            PR         00916
   287438 LUZ Z ROMAN                                 REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   705700 LUZ Z SANTIAGO SOSA                         URB PUERTO NUEVO               779 CALLE 39 SE                                                                          SAN JUAN            PR         00921‐1809
   287439 LUZ Z SANTIAGO TORRES                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287440 LUZ Z. ALVAREZ TORRES                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287442 LUZ ZAMOT CARMONA                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   705703 LUZ ZENAIDA COLLAZO ROSADO P O BOX 440                                                                                                                              CAROLINA            PR         00986
   705704 LUZ ZENAIDA DEL VALLE      LAS LOMAS                                       835 CALLE 21 SO                                                                          SAN JUAN            PR         00921

   287444 LUZ ZENEIDA SANTIAGO TORRES REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   705705 LUZAIDA E SUAREZ MARTINEZ                   F 1 JARDINES DE ROMANI BLQ 7                                                                                            MOROVIS             PR         00687

   287445 LUZAIDA L. DOBLE YARZAGARAY                 REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287446 LUZAIDA RODRIGUEZ SOTO                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287447 LUZAIDA RODRIGUEZ TORRES                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   705707 LUZALMA GONZALEZ RUIZ                       HC 58 BOX 13048                                                                                                         AGUADA              PR         00602

   287449 LUZANNE DOMENECH FAGUNDO REDACTED                                          REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287450 LUZAQUI                  REDACTED                                          REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287453 LUZAURY JIMENEZ CASANOVA REDACTED                                          REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                   URB VILLA TURABO L 3 CALLE
   705709 LUZBEL GARCIA VEGA       ROBLE                                                                                                                                      CAGUAS              PR         00725

   287454 LUZDARY VAZQUEZ FIGUEROA                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   705710 LUZELIX RUIZ LUGO                           URB COLINAS VERDES             14 CALLE 1T                                                                              SAN SEBASTIAN       PR         00685
   287455 LUZELYN N DE JESUS                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   705711 LUZETTE M SOLANO PADRO                      URB CAGUAS NORTE               AN 5 CALLE VERA CRUZ                                                                     CAGUAS              PR         00725
          LUZGARDA SERRANO
   705713 BETANCOURT                                  PO BOX 216                                                                                                              BAJADERO            PR         00616
   287456 LUZGARDA VAZQUEZ                            REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287457 LUZGARDI FRONTANY MARIN                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   287458 LUZMARIE MIRANDA MARTINEZ                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287459 LUZMARIE REYES LUCIANO                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287460 LUZMARIE RIVERA SAURI                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287461 LUZMARIE RONDON RIOS                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287462 LUZMARIE TORRES SUAREZ                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   287464 LUZMERY MONTALVO RAMIREZ                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   705715 LUZMINDA SINGIAN MANITI                     AVENIDA ALEJANDRINO 3013       1003 FONTAINEBLE PLAZA                                                                   GUAYNABO            PR         00969



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   287466 LUZTOR GROUP INC                            533 URB PASEOS LOS CORALES I                                                                                       DORADO              PR           00646
   705717 LUZY SERPA LAUREANO                         RR Z BOX 6048                                                                                                      MANATI              PR           00674
   287486 LV CONSULTORES INC.                         VIA 23 KL 25                 URB VILLA FONTANA                                                                     CAROLINA            PR           00983
   287490 LVOPCP LLC                                  1418 AVE PONCE DE LEON       SUITE 101                                                                             SAN JUAN            PR           00907

   287491 LWIVANY FERNANDEZ SANCHEZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705718 LX COMMUNICATIONS                           P O BOX 9024275                                                                                                    SAN JUAN            PR           00902‐4275
          LY A1 GENERAL SHEET METAL
   705720 AND IRON                                    BO SAN ANTON                CARR 887 KM 2.6                                                                        CAROLINA            PR           00986
   287492 LY M VALENTIN HERNANDEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287493 LYA DELGADO ORTIZ                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705721 LYA RUIZ LANDRAU                            URB REPARTO LANDRAU         1436 CALLE DIVINA                                                                      SAN JUAN            PR           00921
                                                                                  L 14 CALLE ROBERTO RIVERA
   705722 LYABEL RIVERA RODRIGUEZ                     VALLE TOLIMA                NEGRON                                                                                 CAGUAS              PR           00727
   705723 LYAN CRUZ SANTIAGO                          BO MAMEY I                  KM 1 HM 2 RR 8 34                                                                      GUAYNABO            PR           00970
   705724 LYAN M VEGA ORTIZ                           URB COUNTRY CLUB            MC 8 CALLE 400                                                                         CAROLINA            PR           00982
   705725 LYANA MARTINEZ MARRERO                      SUNVILLE                    U 13 C/ 21                                                                             TRUJILLO ALTO       PR           00976

   287494 LYANED M FIGUEROA PEDROZA                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705726 LYANELL ROSAS ROSAS                         ENTREGA GENERAL                                                                                                    ROSARIO             PR           00636
   705727 LYANET LAMAS BURGOS                         REPARTO METROPOLITANO       1221 CALLE 48SE                                                                        SAN JUAN            PR           00921
   287495 LYANETTE M ARTURET JAIME                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287496 LYANETTE M DIAZ ORTEGA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287497 LYANN LABOY TORRES                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287498 LYANN VENEGAS CARDONA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287499 LYANNE APONTE SANTIAGO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287500 LYANNE G LEON ZAMOT                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287501 LYANNE LOPEZ MELENDEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287502 LYANNE M CRUZ SANTIAGO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705728 LYANNE M DIAZ VIADA                         LAS DELICIAS                2021 JORTIZ RENTA                                                                      PONCE               PR           00728‐3818
          LYANNE M LICIANGA VALLE/
   287504 MARI C VALLE                                REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287505 LYANNE M ORTA VELAZQUEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705729 LYANNE M RIVERA ORTIZ                       EXT SAN LUIS                85 CALLE MACEDONIA                                                                     AIBONITO            PR           00705
   287506 LYANNE MORALES ORTIZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287507 LYANNE MUNIZ RIVERA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705730 LYANNE TORRES GAUTIER                       4TA EXT COUNTRY CLUB        880 CALLE GUAM ALTOS                                                                   SAN JUAN            PR           00901
   287508 LYANNE V BURGOS ARROYO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287509 LYANNE VAZQUEZ RAMOS                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287510 LYANNE Y DIAZ DAVILA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   705732 LYANNETTE ALVARADO BURGOS URB LA HACIENDA                               P 3 CALLE MARGINAL                                                                     SANTA ISABEL        PR           00757

   705733 LYANNIBEL ARIZMENDI PRIMERO PMB 278                                     255 ST AVE PONCE DE LEON                                                               SAN JUAN            PR           00917199
   705734 LYANNIE L RIVERA            34354 AVE MONTE CARLO                                                                                                              SAN JUAN            PR           00924
   705735 LYBELLE ROBLES SANCHEZ      URB STA ISIDRO 2                            93 CALLE 2                                                                             FAJARDO             PR           00738
   287511 LYBET Y GARCIA RAMIREZ      REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287514 LYCELIZ HERNANDEZ CORTES    REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   705736 LYCETTE GONZALEZ ANDRADES                   EXT SAN AGUSTIN             6 CALLE 10                                                                             SAN JUAN            PR           00926
   287515 LYCIA E. TIRADO RODRIGUEZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   287516 LYCIA EVE TIRADO RODRIGUEZ                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287517 LYCO CORP                                   15 CALLE RUIZ BELVIS                                                                                             CAGUAS              PR         00725
   287518 LYDAM MELETICHE COLON                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287519 LYDELIZ E HERNANDEZ PEREZ                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287520 LYDELL TORRES GONZALEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705738 LYDENISSE RAMOS QUINTANA                    BO ISRAEL                   196 CALLE CUBA                                                                       SAN JUAN            PR         00917‐1725
   287521 LYDERMA M FLORES FORTY                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          LYDIA / VIRGINIA / CARMEN
   705747 RIVERA NEGRON                               C 18 MARGINAL SANTA CRUZ                                                                                         BAYAMON             PR         00961
   705748 LYDIA A ALVARADO COLON                      URB LOS FLAMBOYANES         C 6 CALLE 1                                                                          GURABO              PR         00778
   705749 LYDIA A BATISTA RIVERA                      A 6 URB LOS CERROS                                                                                               ADJUNTAS            PR         00601
   287523 LYDIA A CARABALLO OTERO                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287524 LYDIA A CORDERO GARCIA                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705750 LYDIA A GARCIA MEDINA                       66 BRISAS DEL CARIBE                                                                                             PONCE               PR         00728‐5303

   705751 LYDIA A HERNANDEZ RAMIREZ                   PARCELAS BUENA              CL 10 BZN 6152                                                                       CEIBA               PR         00735
   287525 LYDIA A LOPEZ CONCEPCION                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705753 LYDIA A PEREZ                               RR5 BOX 8919                                                                                                     BAYAMON             PR         00956
   287526 LYDIA A RIVERA ROSARIO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287528 LYDIA A ROMNEY MARTINEZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287529 LYDIA A. LIND VAZQUEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287530 LYDIA ACEVEDO                               REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287531 LYDIA AGUAYO RODRIGUEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705756 LYDIA ALVAREZ AVILES                        RR6 BOX 9479                                                                                                     SAN JUAN            PR         00926
   705757 LYDIA ALVAREZ D MADIEDO                     PO BOX 192                                                                                                       SAN JUAN            PR         00902
   287532 LYDIA ALVAREZ MOJICA                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705758 LYDIA ALVAREZ SANCHEZ                       HC 01 BOX 10517                                                                                                  COAMO               PR         00769
   287533 Lydia Andujar Mendez                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          LYDIA ANGELA NIEVES
   705759 MELENDEZ                                    BO SANTA ROSA II            HC 02 BOX 10602                                                                      GUAYNABO            PR         00971
   287534 LYDIA APONTE MALAVE                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
                                                      BO VEGAS SECTOR TINITO
   705762 LYDIA APONTE RIVERA                         MARIN                       BZN 23620                                                                            CAYEY               PR         00736
   287535 LYDIA AQUINO YAMBO                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287536 Lydia Archilla Rodríguez                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705763 LYDIA ARENAS FIGUEROA                       COND VILLA MARINA           APT B 303                                                                            FAJARDO             PR         00738
   705764 LYDIA AROCHO ARUELO                         HC 2 BOX 22743                                                                                                   SAN SEBASTIAN       PR         00685
   705765 LYDIA ARZUAGA CALENTI                       FLORAL PARK                 130 CALLE MALLORCA                                                                   SAN JUAN            PR         00917
   705740 LYDIA AVILES VALENTIN                       HC‐9 BOX 2655                                                                                                    SABANA GRANDE       PR         00637‐9606
   705766 LYDIA AYALA MARIANI                         F 18 PARQUES DE GUASIMA                                                                                          ARROYO              PR         00714
                                                      BO BUENA VISTA PARC VAN
   705767 LYDIA AYALA PEREZ                           SCOY                        T 4 CALLE 12                                                                         BAYAMON             PR         00957
   705768 LYDIA B LOPEZ NAVARRO                       P O BOX 275                                                                                                      LOIZA               PR         00672
   287537 LYDIA B MONTANEZ ORTIZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287538 LYDIA B RODRIGUEZ DURAN                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705769 LYDIA BAEZ CARDONA                          P O BOX 1168                                                                                                     RINCON              PR         00677
   287539 LYDIA BARRETO VALENTIN                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705771 LYDIA BATISTA VELEZ                         LAGO HORIZONTE              M 17 CALLE GUAYO                                                                     COTO LAUREL         PR         00780
   705772 LYDIA BENITEZ ACOSTA                        BOX 385                     BO CANOVANILLAS KM3 HM0                                                              CAROLINA            PR         00986‐0385
   705773 LYDIA BENITEZ DELGADO                       RES JUAN J JIMENEZ GARCIA   EDIF 32 APT 163                                                                      CAGUAS              PR         00725
   705776 LYDIA BENITEZ SOTO                          P O BOX 8624                                                                                                     HUMACAO             PR         00792
   287540 LYDIA BERRIOS RIVERA                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  705777 LYDIA BETANCOURT CALZADA                     BO CAMPO RICO                PO BOX 315                                                                               CANOVANAS        PR           00729

   287541 LYDIA BETANCOURT ESTREMERA REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   705780 LYDIA BRUNO ALICEA         PO BOX 7864                                                                                                                            SAN JUAN         PR           00915
   705781 LYDIA BURGOS RODRIGUEZ     URB JARDIN LA FE                              A B CALLE 2                                                                              GUAYNABO         PR           00967
   705782 LYDIA C CRUZ MALDONADO     HC 8 BOX 113                                                                                                                           PONCE            PR           00731

   705783 LYDIA C RAMIREZ ALVAREZ                     URB EXTANCIAS DEL GOLF       798 CALLE ENRIQUE LAGUERRE                                                               PONCE            PR           00730

   287542 LYDIA CACHOLA DE CALDERON                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   287543 LYDIA CALDERON CARRASQUILLO REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   705741 LYDIA CALDERON ESTRADA      PMB 2049 BOX 35000                                                                                                                    CANOVANAS        PR           00729
   705784 LYDIA CAMACHO LOPEZ         ALT DE RIO GRANDE                            U 1062 CALLE 20                                                                          RIO GRANDE       PR           00745
   705785 LYDIA CAMPOS COLON          COM MIRAMAR                                  533 55 CALLE AMAPOLA                                                                     GUAYAMA          PR           00784
   287544 LYDIA CARABALLO COLON       REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   705786 LYDIA CARINA GRILLI BAEZ    COND BOSQUE REAL                             APTO 1003                                                                                SAN JUAN         PR           00926‐8240
   705787 LYDIA CARINA GRILLI DIAZ    COND BOSQUE REAL                             APTO 1003                                                                                SAN JUAN         PR           00912‐8240
   287545 LYDIA CARRION ROSA          REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   705788 LYDIA CARTAGENA FIGUEROA    PO BOX 1296                                                                                                                           SANTA ISABEL     PR           00757

   287546 LYDIA CARTAGENA HERNANDEZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   287547 LYDIA CASANOVA VIERA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   705789 LYDIA CASTRO RODRIGUEZ                      HC 03 BOX 12573                                                                                                       CAROLINA         PR           00985
   705791 LYDIA CESAREO MAYSONET                      PO BOX 408                                                                                                            SABANA SECA      PR           00952
   705793 LYDIA CHICO GUZMAN                          HC 01 BOX 6591                                                                                                        GUAYNABO         PR           00971
   705794 LYDIA CLASS LOZADA                          HC 2 BOX 19‐0989                                                                                                      VEGA BAJA        PR           00693
   705795 LYDIA COLLAZO BENCON                        COND SKY TOWER 3             APT 18J                                                                                  SAN JUAN         PR           00926
   705798 LYDIA COLON MORALES                         BOX 2390                                                                                                              SAN JUAN         PR           00919
                                                      URB SAN GERALDO 1628 CALLE
   705801 LYDIA CORCELLES ORTIZ                       AUGUSTA                                                                                                               SAN JUAN         PR           00925
   705802 LYDIA CORREA CRUZ                           HC 1 BOX 7528                                                                                                         CANOVANAS        PR           00729
   705803 LYDIA CORTES CRUZ                           HC 1 BOX 4683                                                                                                         LAJAS            PR           00667‐9704
   705804 LYDIA CORTES SANCHEZ                        NUEVAS VILLAS DE MANATI                              134                                                              MANATI           PR           00674
   705805 LYDIA COSTOSO LOPEZ                         RES LAS CASAS                EDIF 15 APT 174                                                                          SAN JUAN         PR           00915
   705806 LYDIA CRESPO                                56 CALLE ENRIQUE PADILLA                                                                                              MAYAGUEZ         PR           00680
   705807 LYDIA CRUZ ALVAREZ                          BO CERCADILLO                BOX 1048 3                                                                               ARECIBO          PR           00612
   705808 LYDIA CRUZ CRESPO                           228 CALLE SAN JUAN                                                                                                    CAMUY            PR           00627
   287549 LYDIA CRUZ CRUZ                             REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   287550 LYDIA CRUZ FLORES                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   705809 LYDIA CRUZ GARCIA                           STATION 1 BOX 6039                                                                                                    BAYAMON          PR           00960
   287551 LYDIA CRUZ RODRIGUEZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
                                                      COND JDNS DE VALENCIA APT
   705810 LYDIA CRUZ SANCHEZ                          801                                                                                                                   SAN JUAN         PR           00923‐1901
   705811 LYDIA CRUZADO LOPEZ                         HC 02 BOX 44110                                                                                                       VEGA BAJA        PR           00693
   705812 LYDIA CUADRADO GONZALEZ                     PARC NUEVAS                  818 CALLE 39                                                                             GURABO           PR           00778

   705813 LYDIA D DE SANTIAGO SUAREZ                  PO BOX 195                                                                                                            PUERTO REAL      PR           00740
   287552 LYDIA D MOLINA SANTIAGO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   705814 LYDIA D PAGAN DAVID                         URB STARLIGH                 3462 CALLE GALAXIA                                                                       PONCE            PR           00717
   287553 LYDIA D SANZ                                REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   705815 LYDIA D VAZQUEZ VEGA                        PO BOX 50883                                                                                                          TOA BAJA         PR           00950




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MML ID                    NAME                                 ADDRESS 1                      ADDRESS 2                   ADDRESS 3                           ADDRESS 4              CITY       STATE    POSTAL CODE        COUNTRY
                                                      URB. BARA MAYA 59 CALLE
   705816 LYDIA D. MARTINEZ TORRES                    GUARIONEX                                                                                                           PONCE               PR         00731
   287554 LYDIA D. MOLINA SANTIAGO                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287555 LYDIA DAVILA DE MUNIZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   287556 LYDIA DEL C SANTIAGO FLORES                 REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705819 LYDIA DELGADO LABOY                         PO BOX 684                                                                                                          YABUCOA             PR         00767
   287558 LYDIA DELGADO NIEVES                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705820 LYDIA DELGADO VEGA                          HC 20 BOX 25783                                                                                                     SAN LORENZO         PR         00754
   705821 LYDIA DENIZARD AGOSTO                       VILLA BLANCA                 7 CALLE DIAMANTE                                                                       CAGUAS              PR         00725
   705822 LYDIA DIAZ TORRES                           COND SKY TOWERS 3            APT 17J                                                                                SAN JUAN            PR         00926
   705823 LYDIA DUPRE                                 BDA MARIN                    CALLE 5 BOX 201                                                                        GUAYAMA             PR         00784
   705824 LYDIA E ACEVEDO                             ALTURAS DE FLAMBOYAN         U 3 CALLE 10                                                                           BAYAMON             PR         00959
   287559 LYDIA E ACEVEDO BRUNO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705825 LYDIA E ADORNO MOLINA                       PO BOX 6260                                                                                                         BAYAMON             PR         00960
   705826 LYDIA E ADORNO OTERO                        LA PACHANGA                  27 A CALLE RAMON RIVERA                                                                TOA BAJA            PR         00949
   287560 LYDIA E AGUILA TERRON                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705829 LYDIA E ALGARIN DAVILA                      PO BOX 2581                                                                                                         RIO GRANDE          PR         00745
   705830 LYDIA E ALICEA                              URB SANTA MONICA             Q 29 CALLE 13                                                                          BAYAMON             PR         00957
   705831 LYDIA E ALVAREZ ROSARIO                     PO BOX 2122                                                                                                         TOA BAJA            PR         00951
   287561 LYDIA E ARCE RIVERA                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705832 LYDIA E ARROYO RAMOS                        URB STA RITA                 F 5 CALLE 2                                                                            VEG ALTA            PR         00692
   287562 LYDIA E AVILES ALMODOVAR                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705834 LYDIA E AVILES LOPEZ                        URB VILLA REAL               87 CALLE B                                                                             CABO ROJO           PR         00623
   287563 LYDIA E BENITEZ LOPEZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   705835 LYDIA E BLANCO ZAMBRANA                     20 CALLE RAMON RIVERA CRUZ                                                                                          TOA BAJA            PR         00949
   287564 LYDIA E BONILLA VAZQUEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705836 LYDIA E CAMACHO ORTIZ                       URB LOS CAOBOS               1211 CALLE BAMBU                                                                       PONCE               PR         00716‐6070
   705837 LYDIA E CAMCHO FERRARA                      COND SKY TOWER I             APT 3 B                                                                                SAN JUAN            PR         00926
   287566 LYDIA E CARRILLO CANCEL                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287567 LYDIA E CARTAGENA ROJAS                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705840 LYDIA E CASAS LOPEZ                         URB TERRAZAS DE CAROLINA     R 40 CALE IMPERIAL                                                                     CAROLINA            PR         00987
   705841 LYDIA E CASIANO CINTRON                     URB VILLAS DE CANEY          I 2 CALLE 17                                                                           TRUJILLO ALTO       PR         00976
   705843 LYDIA E CLAUDIO MUYET                       LEVITTOWN 7MA SECC           HS 60 CALLE ROSARIO ARUTI                                                              TOA BAJA            PR         00949
   705844 LYDIA E CLAUSELL VERA                       PO BOX 21365                                                                                                        SAN JUAN            PR         00928‐1365
   705845 LYDIA E CLEMENTE CRISPIN                    STEEPLECHASE APTS 1421       S W 27 TH AVE APT# 604                                                                 OCALA               FL         34474
   705846 LYDIA E COLON ACEVEDO                       COND LAGO MAR APT7‐B                                                                                                CAROLINA            PR         00979
   705847 LYDIA E COLON BEAUCHAMP                     PO BOX 143212                                                                                                       ARECIBO             PR         00614
   287569 LYDIA E COLON COLON                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   287570 LYDIA E COLON NEGRON                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705849 LYDIA E CORA                                URB LA HACIENDA              A 59 CALLE 42                                                                          GUAYAMA             PR         00784
   705850 LYDIA E CORDERO DE JESUS                    RR 01 BOX 11996                                                                                                     TOA BAJA            PR         00951
   705853 LYDIA E CRUZ CRUZ                           BO PAJAROS CANDELARIA        PARCELA 26 B                                                                           TOA BAJA            PR         00949
   705855 LYDIA E CRUZ MORALES                        HC 1 BOX 5175                                                                                                       JUANA DIAZ          PR         00795
   705857 LYDIA E DELGADO LOPEZ                       PARCELAS FALU                C48 CALLE 21                                                                           SAN JUAN            PR         00924
   287571 LYDIA E DELGADO LOYOLA                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705858 LYDIA E DELGADO TORRES                      HC 01 BOX 6455                                                                                                      LAS PIEDRAS         PR         00771‐9708
   705859 LYDIA E DEYNES ACEVEDO                      PO BOX 1809                                                                                                         ISABELA             PR         00662
   705860 LYDIA E DIAZ                                URB SIERRA BAYAMON           C 12 CALLE 6                                                                           BAYAMON             PR         00961
   287572 LYDIA E DIAZ MUNOZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   705862 LYDIA E DIAZ SANCHEZ                        PO BOX 1597                                                                                                         COAMO               PR         00769
   705863 LYDIA E FARGAS BENITEZ                      CONTRY CLUB                  HN 26 CALLE 254                                                                        CAROLINA            PR         00982



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  705864 LYDIA E FEBLES GONZALEZ                       EL TUQUE NUEVA VIDA      R 8 CALLE K                                                                           PONCE               PR           00728‐6790
  705865 LYDIA E FELICIANO                             PUERTO REAL              BOX 630                                                                               FAJARDO             PR           00740
  705867 LYDIA E FELICIANO MARTINEZ                    HC 5 BOX 54725                                                                                                 HATILLO             PR           00659

   705869 LYDIA E FIGUEROA GUADALUPE                   REPTO CANDAL             16 CALLE CANDAL                                                                       GURABO              PR           00778‐4111
   705870 LYDIA E FIGUEROA RIVERA                      PO BOX 1296                                                                                                    SANTA ISABEL        PR           00757
   705871 LYDIA E FLORES DELGADO                       PARC SABANA ENEAS        308 CALLE 16                                                                          SAN GERMAN          PR           00683
   287573 LYDIA E GARCIA GARCIA                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   705872 LYDIA E GARCIA GARCIA                        HC 04 BOX 4059                                                                                                 HUMACAO             PR           00791
   287575 LYDIA E GARCIA RIVERA                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   287577 LYDIA E GARCIA ROLON                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   287578 LYDIA E GERENA MUNOZ                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   287579 LYDIA E GOMEZ MARTINEZ                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   287581 LYDIA E GONZALEZ ORTIZ                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   287582 LYDIA E GONZALEZ RODRIGUEZ                   REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   287583 LYDIA E GONZALEZ SANTIAGO                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   287585 LYDIA E GUZMAN DE JESUS                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   705877 LYDIA E HEREDIA MERCADO                      EXT MANUEL ZENO GANDIA   EDIF A 2 APT 9                                                                        ARECIBO             PR           00612

   705878 LYDIA E HERNANDEZ ADORNO                     RR 7 BOX 7213                                                                                                  SAN JUAN            PR           00926
   287586 LYDIA E HERNANDEZ COLON                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   287588 LYDIA E HERNANDEZ QUINONEZ                   REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   705879 LYDIA E LANDRON FUENTES                      HC 1 BOX 5398                                                                                                  BARRANQUITAS        PR           00794
          LYDIA E LLANOS RIVERA &
   705881 BLANCA AGRAIT                                LLADO                    P O BOX 195193                                                                        SAN JUAN            PR           00919‐5193
   287590 LYDIA E LOPEZ NIGAGLIONI                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   705882 LYDIA E MALDONADO ESQUILIN                   URB IDAMARIS GARDESN     E 26 AVE RICKY SEDA                                                                   CAGUAS              PR           00725
   287591 LYDIA E MARCANO DE JESUS                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   705884 LYDIA E MARTINEZ                             5TA SECC VILLA DEL REY   L H 19 CALLE 31                                                                       CAGUAS              PR           00725
   705885 LYDIA E MARTINEZ DELGADO                     HC 05 BOX 57653                                                                                                CAGUAS              PR           00725
   287592 LYDIA E MARTINEZ PENA                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   705886 LYDIA E MARTINEZ REYES                       PO BOX 25                                                                                                      HUMACAO             PR           00792‐0025
   287593 LYDIA E MARTINEZ RIVERA                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   287594 LYDIA E MATOS RIVERA                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   705888 LYDIA E MAYSONET SANTIGO                     VILLA NAVARRA            613 CALLE GARCIA LEDESMA                                                              SAN JUAN            PR           00924
   705889 LYDIA E MEJIAS BAUZA                         P O BOX 332                                                                                                    JAYUYA              PR           00664
   287595 LYDIA E MELENDEZ ALERS                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   705890 LYDIA E MENA MERCADO                         HC‐33 BOX 2151                                                                                                 DORADO              PR           00646
   705891 LYDIA E MENDEZ RIVERA                        HC 04 BOX 47787                                                                                                MAYAGUEZ            PR           00680 9438
   705893 LYDIA E MIRANDA LUNA                         PO BOX 6723                                                                                                    CAROLINA            PR           00914
   287596 LYDIA E MOJICA DIAZ                          REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   287597 LYDIA E MONTES MELENDEZ                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   287598 LYDIA E NAVARRO MORALES                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   705896 LYDIA E NAVEDO VILLANUEVA                    PMB 978                  PO BOX 2500                                                                           TOA BAJA            PR           00957
   705898 LYDIA E NEGRON DE JESUS                      BO PLAYA 188             AVE PADRE NOEL                                                                        PONCE               PR           00716‐7474
   287599 LYDIA E NEGRON TORRES                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   287600 LYDIA E NIEVES ANDINO                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   705899 LYDIA E NIEVES GARCIA                        HC 07 BOX 2144                                                                                                 PONCE               PR           00731‐9602
   705901 LYDIA E NIEVES ROMAN                         HC 3 BOX 16975                                                                                                 QUEBRADILLAS        PR           00678
   287601 LYDIA E OLIVERAS PADILLA                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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MML ID              NAME                                       ADDRESS 1                    ADDRESS 2                     ADDRESS 3                           ADDRESS 4               CITY          STATE    POSTAL CODE        COUNTRY
  705903 LYDIA E OQUENDO COLON                        EXT PARQUE ECUESTRE         B 14 CALLE 35                                                                           CAROLINA             PR           00987‐8706

   705904 LYDIA E ORTIZ CORDERO                       URB JARDINES DE VEGA        1 CALLE JARDINES ORQUIDEAS                                                              VEGA BAJA            PR           00693
   705905 LYDIA E ORTIZ CRUZ                          BDA POLVORIN                3 CALLE 17                                                                              CAYEY                PR           00736
   705906 LYDIA E ORTIZ DELGADO                       PO BOX 593                                                                                                          YABUCOA              PR           00767
   705907 LYDIA E ORTIZ ORTIZ                         PARC GANDARA BOX 5032                                                                                               CIDRA                PR           00739
   705908 LYDIA E ORTIZ PAGAN                         URB EL VALLE                74 CV CALLE ROBLES                                                                      LAJAS                PR           00667
   705909 LYDIA E ORTIZ RIVERA                        P O BOX 542                                                                                                         MOROVIS              PR           00687.
   705911 LYDIA E ORTIZ VAZQUEZ                       A 6 EXT LA CARMEN                                                                                                   SALINAS              PR           00751

   705912 LYDIA E PACHECO ALMODOVAR                   URB LAS VEGAS               B13 AVE FLOR DEL VALLE                                                                  CATA¥O               PR           00962‐6507
          LYDIA E PEDRAZA Y KATTY
   287602 PORTALATIN                                  REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   287603 LYDIA E PEREZ DELGADO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   705913 LYDIA E PEREZ LLANOS                        PO BOX 9065815                                                                                                      SAN JUAN             PR           9065815
   705915 LYDIA E PEREZ MAYSONET                      364 CALLE UNION                                                                                                     FAJARDO              PR           00740
   287604 LYDIA E PEREZ ORTIZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   705916 LYDIA E PEREZ PEREZ`                        HC 1 BOX 5915                                                                                                       GURABO               PR           00778
   287605 LYDIA E PEREZ REYES                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   705917 LYDIA E PEREZ ROMAN                         URB SAN PEDRO               G 19 CALLE 8                                                                            TOA BAJA             PR           00949
   705918 LYDIA E PIZARRO LOPEZ                       ULTURAS DE VEGA BAJA        II 8 CALLE MUNICIPAL                                                                    VEGA BAJA            PR           00693

   287606 LYDIA E QUINONES RODRIGUEZ                  REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   705919 LYDIA E RAMIREZ COLON                       COND EL ATLANTICO APT 803                                                                                           LEVITTOWN            PR           00949
   287607 LYDIA E RAMIREZ GARCIA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   705920 LYDIA E RAMOS RIVERA                        VEGA BAJA LAKES             8 CALLE 1 A                                                                             VEGA BAJA            PR           00693

   705921 LYDIA E REYES CARRASQUILLO                  URB VALLE TOLIMA P 34       CALLE JOSSIE PEREZ                                                                      CAGUAS               PR           00725
   705922 LYDIA E REYES DE JESUS                      JARDINES DE COUNTRY CLUB    CY 10 CALLE 163                                                                         CAROLINA             PR           00983
   705924 LYDIA E REYES TORRES                        22 BO PALMAREJO                                                                                                     COAMO                PR           00769
   705925 LYDIA E REYES VELAZQUEZ                     RES LUIS LLORENS TORRES     EDIF 35 APTO 714                                                                        SAN JUAN             PR           00913
   287608 LYDIA E RIVERA                              REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   705926 LYDIA E RIVERA AQUINO                       BRISAS DE LOIZA             53 CALLE GEMINIS                                                                        CANOVANAS            PR           00729
   287609 LYDIA E RIVERA CARMONA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
                                                      METRO MAIL STATION 101 PO
   705927 LYDIA E RIVERA CORREA                       BOX 70158                                                                                                           SAN JUAN             PR           00936
   287610 LYDIA E RIVERA DELGADO                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   287611 LYDIA E RIVERA LOPEZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   705928 LYDIA E RIVERA TORRES                       EXT JARDINES DE COAMO       F 46 CALLE 9                                                                            COAMO                PR           00769

   705929 LYDIA E RODRIGUEZ ACEVEDO                   JARDIN PALMAREJO            C/ 13                                                                                   CANOVANAS            PR           00729
   287612 LYDIA E RODRIGUEZ DIAZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   287613 LYDIA E RODRÍGUEZ LÓPEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   287614 LYDIA E RODRIGUEZ RODRIGUEZ                 REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   705932 LYDIA E RODRIGUEZ TORRES                    URB JARDINES DE VEGA BAJA   L 20 CALLE P                                                                            VEGA BAJA            PR           00693
   705933 LYDIA E ROMAN SANTIAGO                      P O BOX 1267                                                                                                        QUEBRADILLAS         PR           00678
   705934 LYDIA E ROSA VILLEGAS                       VALLE DE SAN LUIS           163 VIA DEL ROCIO                                                                       CAGUAS               PR           00725
   705936 LYDIA E ROSADO ALICEA                       PO BOX 756                                                                                                          ADJUNTAS             PR           00601
   705742 LYDIA E ROSADO HERNANDEZ                    BOX 3439                                                                                                            VEGA ALTA            PR           00692
   705937 LYDIA E ROSARIO GUERRERO                    7 CALLE SABANA DEL PALMAR                                                                                           COMERIO              PR           00782
   705939 LYDIA E SANCHEZ MELENDEZ                    PO BOX 1359                                                                                                         ARROYO               PR           00714
   705940 LYDIA E SANCHEZ RODRIGUEZ                   SANTA ISIDRA II             CALLE 2 93                                                                              FAJARDO              PR           00738



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  287616 LYDIA E SANTIAGO                              REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  705942 LYDIA E SANTIAGO NIEVES                       RR 2 BOX 7067                                                                                                        TOA ALTA          PR         00953‐9621
  705943 LYDIA E SANTIAGO ORTIZ                        P O BOX 560052                                                                                                       GUAYANILLA        PR         00656
                                                                                    AG16 CALLE 29 URB TOA ALTA
   705946 LYDIA E SANTIAGO RODRIGUEZ                   TOA ALTA HEIGHTS             HTS                                                                                     TOA ALTA          PR         00953
   705947 LYDIA E SANTOS REYMUNDI                      HC 2 BOX 44650                                                                                                       VEGA BAJA         PR         00693

   705948 LYDIA E SEPULVEDA SANTIAGO                   HC 01 BOX 5436                                                                                                       YABUCOA           PR         00767
   705949 LYDIA E SILVA LIND                           PO BOX 317                                                                                                           MAUNABO           PR         00707
   705950 LYDIA E SOTO MENDEZ                          H C 58 BOX 13952                                                                                                     AGUADA            PR         00602‐9724
   705954 LYDIA E TORO ANDUJAR                         VILLA NEVAREZ                COND LOS ROBLES APT 614 B                                                               SAN JUAN          PR         00927
   705955 LYDIA E TORRES                               JARDINES DE COUNTRY CLUB     COND TORRECILLA APT B 27                                                                CAROLINA          PR         00983
   705956 LYDIA E TORRES FERNANDEZ                     RR 4 BOX 2832                                                                                                        BAYAMON           PR         00957
   705957 LYDIA E TORRES GARCIA                        PO BOX 1979                                                                                                          VEGA BAJA         PR         00693
   287617 LYDIA E TORRES LOPEZ                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705958 LYDIA E VALENTIN SANTIAGO                    URB ALTAGRACIA               J 22 CALLE 9                                                                            TOA BAJA          PR         00949
   287618 LYDIA E VARGAS QUINONES                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   705959 LYDIA E VAZQUEZ MALDONADO                    SABANA SECA                  38 CALLE REJAS                                                                          TOA BAJA          PR         00952
   705960 LYDIA E VAZQUEZ RAMOS                        P O BOX 1305                                                                                                         VEGA BAJA         PR         00694
   705743 LYDIA E VELAZQUEZ                            BO BUENA VISTA               RR 8 BOX 1774                                                                           BAYAMON           PR         00956
   287619 LYDIA E VELEZ MIRANDA                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287620 LYDIA E VELEZ RAMOS                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705961 LYDIA E VELEZ SOLIVAN                        PO BOX 1843                                                                                                          CAYEY             PR         00736
   287621 LYDIA E VELEZ TORRES                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705962 LYDIA E VERA MENDEZ                          COUNTRY CLUB                 787 CALLE LEDRU                                                                         SAN JUAN          PR         00924
   287622 LYDIA E VICENTE VARGAS                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287623 LYDIA E ZAMBRANA DIAZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287624 LYDIA E. CAMACHO SANTOS                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  1256648 LYDIA E. CASTILLO OCASIO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                       551 COND SAGRADO CORAZON
   705965 LYDIA E. COLON VILLAFANE                     APT 5                                                                                                                SANTURCE          PR         00915
   287625 LYDIA E. FANGAS BENITEZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287626 LYDIA E. LOPEZ PAGAN                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705969 LYDIA E. MARQUEZ VAZQUEZ                     URB TURABO GARDENS           E34 CALLE 38                                                                            CAGUAS            PR         00725
   287632 LYDIA E. SANCHEZ LOPEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705970 LYDIA E. SOSA                                340 CALLE LAS IGLESIAS                                                                                               SAN JUAN          PR         00912
   287633 LYDIA E. SOTO QUINTERO                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287634 LYDIA E. TORRES MARTINEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   705972 LYDIA E. TORRES MORA                         RES NEMESIO CANALES          EDIF20 APT 373                                                                          SAN JUAN          PR         00920
   287635 Lydia E. Vazquez Bonilla                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287636 LYDIA E. VAZQUEZ NUðEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287639 LYDIA E. VERA MENDEZ                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287641 LYDIA ECHEVARRIA SANTIAGO                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   287642 LYDIA ECHEVARRIA VELAZQUEZ                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287643 LYDIA ENID DIAZ SANTIAGO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   705975 LYDIA ENID SANCHEZ CRESPO                    LAS LOMAS MARGINAL ST 1784                                                                                           SAN JUAN          PR         00921
   287645 LYDIA ERAZO COLON                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287646 LYDIA ESCOBAR                                REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LYDIA ESTHER BURGOS
   705976 FIGUEROA                                     COND GOLDEN TOWER            APT 1015                                                                                CAROLINA          PR         00983



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          LYDIA ESTHER CABRERA
   287647 OQUENDO                                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LYDIA ESTHER CARRASQUILLO
   287648 ALVARADO                                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705977 LYDIA ESTHER DIAZ RIVERA                    PO BOX 215                                                                                                 COMERIO             PR           00782
   705978 LYDIA ESTHER GALINDEZ                       RES LAS MERCEDES         EDIF 5 APT 37                                                                     MANATI              PR           00674
   705979 LYDIA ESTHER LABOY                          BO ESPERANZA             395 CALLE BROMELIA                                                                VIEQUES             PR           00765
   287649 LYDIA ESTHER OJEDA DIAZ                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LYDIA ESTHER PAGAN
   705981 RODRIGUEZ                                   P O BOX 5064                                                                                               CAROLINA            PR           00984

   287650 LYDIA ESTHER POLANCO RIVERA                 REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705982 LYDIA ESTHER RIVERA LOPEZ                   URB LA PLATA             E 46 AZABACHE                                                                     CAYEY               PR           00736
   705983 LYDIA ESTRADA GONZALEZ                      VERSALLES                D 10 CALLE 3                                                                      BAYAMON             PR           00959
   705984 LYDIA FEBLES PABON                          P O BOX 50486                                                                                              TOA BAJA            PR           00950
   287651 LYDIA FELICIANO FRAGA                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287652 LYDIA FELICIANO RIVERA                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287653 LYDIA FELICIANO VILLANUEVA                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705985 LYDIA FERNANDEZ                             GOLDEN GATE              C 64 DIAMANTE                                                                     GUAYNABO            PR           00968
          LYDIA FERNANDEZ CARTAGENA
   287654 Y/O                                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287655 LYDIA FERNANDEZ MEJIAS                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   287656 LYDIA FERNANDEZ RODRIGUEZ                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705986 LYDIA FIGUEROA AGOSTO                       ALTURAS DE CIALES        APT 1057                                                                          CIALES              PR           00638
   287657 LYDIA FIGUEROA ROBLEDO                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287658 LYDIA FIGUEROA TORRES                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705989 LYDIA FIGUEROA VAZQUEZ                      MASIONES DEL TOA         B 3 CALLE 2                                                                       TOA ALTA            PR           00953
   287659 LYDIA FLORES FRANCESCHI                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705991 LYDIA FONTANEZ SANCHEZ                      A 36 JARD DE QUINTANA                                                                                      SAN JUAN            PR           00917
   705992 LYDIA G MENDEZ MENDEZ                       201 CALLE BLANCA CHICO                                                                                     MOCA                PR           00676
   287660 LYDIA G RUIZ ALVERIO                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287661 LYDIA G TIZOL RODRIGUEZ                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705994 LYDIA GALARZA LUGO                          URB EL CAFETAL II        R 12 CALLE EXCELSA                                                                YAUCO               PR           00698
   705995 LYDIA GALLARDO DE MEDINA                    P O BOX 20649                                                                                              SAN JUAN            PR           00926
   705996 LYDIA GANDARILLAS BURGOS                    PO BOX 10277                                                                                               SAN JUAN            PR           00922‐0277
   705999 LYDIA GARCIA MORENO                         PO BOX 534               SABANA SECA                                                                       TOA BAJA            PR           00952
   706000 LYDIA GARCIA OTERO                          75 CALLE POLVORIN                                                                                          MANATI              PR           00674
   706001 LYDIA GONZALEZ                              URB PUERTO NUEVO         762 CALLE 35 SE                                                                   SAN JUAN            PR           00921
   287663 LYDIA GONZALEZ ALICEA                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   287664 LYDIA GONZALEZ MALDONADO                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706003 LYDIA GONZALEZ RAMOS                        HC 3 BOX 21681                                                                                             ARECIBO             PR           00612
   706005 LYDIA GONZALEZ RIVERA                       URB LA MARINA            CALLE F K 6                                                                       CAROLINA            PR           00979
   706006 LYDIA GONZALEZ SILVA                        P O BOX 367181                                                                                             SAN JUAN            PR           00936‐7181
   287665 LYDIA GONZALEZ TAVAREZ                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287666 LYDIA GONZALEZ VAZQUEZ                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706007 LYDIA GONZALEZ VELEZ                        CUESTA JUDIOS            11 C                                                                              YAUCO               PR           00698
   287668 LYDIA GUADALUPE TOLEDO                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   706009 LYDIA GUERRERO CARRETERO                    URB FLAMINGO HILLS       135 CALLE 2                                                                       BAYAMON             PR           00957
   287669 LYDIA GUZMAN BETANCOURT                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287670 LYDIA GUZMAN PENA                           REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  706010 LYDIA GUZMAN RAMOS                            HC 2 BOX 7350                                                                                                    UTUADO            PR         00641
  287671 Lydia H Delgado Inostroza                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  706011 LYDIA HERNANDEZ                               P O BOX 1334                                                                                                     ARECIBO           PR         00613
  706012 LYDIA HERNANDEZ ALFARO                        URB LOIZA VALLE           R 626 A CALLE CALA                                                                     CANOVANAS         PR         00729
  706013 LYDIA HERNANDEZ FELIU                         239 CALLE SAN FRANCISCO                                                                                          AGUADA            PR         00602‐3025
  706014 LYDIA HERNANDEZ LIZARDI                       URB IDAMARIS GARDENS      E 25 AVE RICKY SEDA                                                                    CAGUAS            PR         00725

   706016 LYDIA HERNANDEZ MELENDEZ                     HC 1 BOX 3322                                                                                                    FLORIDA           PR         00650
   706017 LYDIA HERNANDEZ REYES                        RES COLINAS DE MAGNOLIA   EDIF G APT 54                                                                          JUNCOS            PR         00777
   287672 LYDIA HERRERA ESPINAL                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287673 LYDIA I BAEZ BAEZ                            REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287674 LYDIA I CASELLAS ROSARIO                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287675 LYDIA I COLON CRUZ                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287676 LYDIA I CORTES RIVERA                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287677 LYDIA I DIAZ ORTIZ                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287678 LYDIA I FIGUEROA ACEVEDO                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706018 LYDIA I GUZMAN RAMOS                         HC 2 BOX 7350                                                                                                    UTUADO            PR         00641
   706019 LYDIA I JIMENEZ CRUZ                         ALTURA DE FLAMBOYAN       E 26 A CALLE 2                                                                         BAYAMON           PR         00959‐8121
   706020 LYDIA I LEON RIVERA                          ALTURAS DEL PLATA         CF CALLE 1                                                                             CAYEY             PR         00736
   287679 LYDIA I MARTINEZ NIEVES                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706021 LYDIA I MASSARI CACERES                      HC 01 BOX 6800                                                                                                   LAS PIEDRAS       PR         00771
   287680 LYDIA I OLMO DE JESUS                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706022 LYDIA I RENTAS LEANDRY                       EL BOSQUE                 3323 CALLE LA CRUZ                                                                     PONCE             PR         00717
   706023 LYDIA I RIVERA                               URB VALLE HERMOSO         SY 23 CALLE LOTTO                                                                      HORMIGUERO        PR         00660
   706024 LYDIA I RIVERA MIRANDA                       EXT ROUND HILL            250 CALLE ALFA                                                                         TRUJILLO ALTO     PR         00976
   706025 LYDIA I RODRIGUEZ PEREZ                      PO BOX 8405                                                                                                      PONCE             PR         00732
   287681 LYDIA I RUIZ GRACIA                          REDACTED                  REDACTED                     REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                       COND PORTALES PARQUE      6 BLVD DE LA MEDIA LUNA APTO
   706026 LYDIA I RUIZ ROSADO                          ESCORIAL                  1102                                                                                   CAROLINA          PR         00987
   706027 LYDIA I SANTIAGO PEREZ                       URB SIERRA BAYAMON        63‐20 CALLE 54                                                                         BAYAMON           PR         00961
          LYDIA I SILVA /DBA ACTION
   706028 EXTERMINATING                                PO BOX 9225                                                                                                      BAYAMON           PR         00960
   706029 LYDIA I VAZQUEZ RIVERA                       URB EL CONQUISTADOR       C38 CALLE 4                                                                            TRUJILLO ALTO     PR         00976

   287682 LYDIA INES ZAYAS BENGOCHEA                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706031 LYDIA IRIS CORA CINTRON                      PO BOX 2534                                                                                                      GUAYAMA           PR         00785
   706032 LYDIA IRIZARRY RODRIGUEZ                     HUCONUCO BAJO             347 KM 4.6                                                                             SAN GERMAN        PR         00683
   287684 LYDIA IVETTE CORTES RIVERA                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706033 LYDIA J MORALES DIAZ                         P O BOX 127                                                                                                      CEIBA             PR         00735
   287686 LYDIA J REYES SANTANA                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287687 LYDIA K. SERRANO RAMIREZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287688 LYDIA L BERRIOS RIVERA                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706036 LYDIA L CANCEL                               HC 1 BOX 7473                                                                                                    HORMIGUEROS       PR         00660
   287689 LYDIA L NEGRON REYES                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287690 LYDIA L QUINONES NAVARRO                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287691 LYDIA LANZO CIRINO                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287692 LYDIA LATORRE RODRIGUEZ                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706039 LYDIA LEON RODRIGUEZ                         14 CALLE MONCLOVA                                                                                                JUANA DIAZ        PR         00795
   287693 LYDIA LIZARRIBAR MASINI                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706040 LYDIA LIZASUAIN                              URB SAN THOMAS            BC 17                                                                                  PONCE             PR         00731
   287694 LYDIA LOPEZ GONZALEZ                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287695 LYDIA LOPEZ MALDONADO                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287696 LYDIA LOPEZ MELENDEZ                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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   706041 LYDIA LOPEZ RAMOS                           URB SIERRA LINDA T 9 CALLE 14                                                                                      BAYAMON             PR           00957‐2114
   287698 LYDIA LOPEZ RODRIGUEZ                       REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705744 LYDIA LOPEZ RODRIGUEZ                       21 CALLE PEDRO RIVERA           URB SAN CRISTOBAL                                                                  CAYEY               PR           00736
   706045 LYDIA LUCIANO TEJERA                        URB SUMMIT HILLS                646 CALLE GREEN WOOD                                                               GUAYNABO            PR           00920
   706046 LYDIA LUGO BETANCOURT                       URB METROPOLIS                  C2 CALLE 7                                                                         CAROLINA            PR           00987
   287699 LYDIA LUGO CARABALLO                        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287700 LYDIA LUNA AGUAYO                           REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   287701 LYDIA LY MONTANEZ NEGRON                    REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287702 LYDIA LY MONTAvEZ NEGRON                    REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706047 LYDIA M ACEVEDO                             BOX 229 CALLE FLORIDA                                                                                              ISABELA             PR           00662
   287703 LYDIA M ALVAREZ ZAMBRANA                    REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706048 LYDIA M AMARO ROSARIO                       BO EMAJAGUAS                    HC 01 BOX 2464                                                                     MAUNABO             PR           00707
   287704 LYDIA M BURGOS FIGUEROA                     REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287706 LYDIA M CAMACHO CAPO                        REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   706049 LYDIA M CARRASQUILLO RIVAS                  HC 02 BOX 29802                                                                                                    CAGUAS              PR           00727‐9404
   706050 LYDIA M CASTRO MARIN                        URB VILLA CAPRI                 E1 CALLE TURIN                                                                     SAN JUAN            PR           00924
   706051 LYDIA M COLON HERNANDEZ                     PO BOX 566                                                                                                         RIO GRANDE          PR           00745
   706054 LYDIA M DAVILA FIGUEROA                     URB HACIENDA LA MATILDE         5828 CALLE ARADO                                                                   PONCE               PR           00731
   287709 LYDIA M DELGADO RAMOS                       REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706055 LYDIA M DIAZ ROSARIO                        URB SANTA ISIDRA                B 3 CALLE 3 EXT I                                                                  FAJARDO             PR           00738
   706058 LYDIA M ESCALET GARCIA                      4B 19                           CALLE 8                                                                            TOA BAJA            PR           00949
   706059 LYDIA M FEBLES DURAN                        PO BOX 569                                                                                                         VEGA BAJA           PR           00694
   287710 LYDIA M FLORES APONTE                       REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   705739 LYDIA M GIBBS ACOSTA                        URB SANTA PAULA                 C 5 CALLE 2                                                                        GUAYNABO            PR           00969
   706060 LYDIA M GONZALEZ CHEVERE                    PO BOX 142                                                                                                         JAYUYA              PR           00664
   706061 LYDIA M HERNANDEZ RIVERA                    HC 01 BOX 5907                                                                                                     SALINAS             PR           00751
   287711 LYDIA M LAZARO PENA                         REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706063 LYDIA M LUGO EMANUELLI                      P M B 202                       P O BOX 7005                                                                       FAJARDO             PR           00738‐7005
   706064 LYDIA M MALAVE                              SKY TOWER                       11 APTO 3 H                                                                        SAN JUAN            PR           00926
   287712 LYDIA M MEDINA CUBANO                       REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706066 LYDIA M MORELL AGRINSONI                    52 LA RUEDA BO MIRADERO                                                                                            MAYAGUEZ            PR           00680
   287713 LYDIA M ORTIZ CARABALLO                     REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706068 LYDIA M ORTIZ GOMEZ                         URB BAIROA                      CN 16 CALLE 10                                                                     CAGUAS              PR           00725
   706069 LYDIA M ORTIZ RODRIGUEZ                     HC 01 BOX 3411                                                                                                     ARROYO              PR           00714
   287714 LYDIA M PEREZ PEREZ                         REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706072 LYDIA M RIBOTT GARCIA                       BO DAGUAO                       BZN 810                                                                            NAGUABO             PR           00718
   287716 LYDIA M RIOS MARTINEZ                       REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287717 LYDIA M RIVERA                              REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706075 LYDIA M RIVERA RODRIGUEZ                    BO SALAZAR                      1647 CALLE SERVIA                                                                  PONCE               PR           00717
   706076 LYDIA M RIVERA VILA                         URB LA CUMBRE                   389 CALLE JUNCOS                                                                   SAN JUAN            PR           00926
          LYDIA M RODRIGUEZ
   706078 MALDONADO                                   COND QUINTANA                   APT 803 A                                                                          SAN JUAN            PR           00917

   706079 LYDIA M RODRIGUEZ ROMERO                    REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706080 LYDIA M RODRIGUEZ SEDA                      URB SANTA ROSA                  15 21 CALLE 10                                                                     BAYAMON             PR           00959
   706082 LYDIA M ROLON PEREZ                         REPTO TERESITA                  V 9 CALLE 21                                                                       BAYAMON             PR           00961
   287718 LYDIA M ROSARIO ANDINO                      REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LYDIA M RUIZ Y/O ESTELA M
   287719 VALDES                                      REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          LYDIA M SANCHEZ Y ROSA
   287720 HEREDIA                                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   287721 LYDIA M SANTIAGO CANDELARIO REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LYDIA M SATG FIG / LYDIA'S
   706084 BEAUTYLYDIA                 34 CALLE DR VEVE                                                                                                                   JUANA DIAZ           PR           00795
   706085 LYDIA M TORRES BASCALAM     GARDENVILLE                                  B 15 CALLE BRISIL                                                                     GUAYNABO             PR           00966
   287722 LYDIA M TORRES CORTES       REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   706086 LYDIA M TORRES TORRES       HC 01 BOX 5559                                                                                                                     JUANA DIAZ           PR           00795
   706088 LYDIA M VELEZ FIGUEROA      PO BOX 594                                                                                                                         VILLALBA             PR           00766
   287723 LYDIA M VINALES MAYSONET    REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   706089 LYDIA M. CABRERA GONZALEZ                   45 RES VISTA HERMOSA APT 570                                                                                       SAN JUAN             PR           00921
   706090 LYDIA M. CARDONA FUENTES                    RAHOLISA 13                                                                                                        SAN SEBASTIAN        PR           00685
   706091 LYDIA M. LOPEZ RODRIGUEZ                    CALLE L BZN 8C PARC. 817     BO SANTANA                                                                            ARECIBO              PR           00612

   287725 LYDIA M. ROMERO CANDELARIO                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LYDIA M. SANTIAGO
   287726 CANDELARIO                                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   287727 LYDIA M. TOLLINCHE MAS                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   706092 LYDIA MAISONET RIVERA                       1012S MAGEE BRANCH ST                                                                                              OVIEDO               FL           32765‐5711
   706093 LYDIA MALAVE MERCADO                        EGIDA LA MERCED              360 AVE DOMENECH APT 319                                                              SAN JUAN             PR           00918
          LYDIA MALDONADO
   287728 MALDONADO                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   287729 LYDIA MALDONADO RODRIGUEZ REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          LYDIA MALDONADP
   706094 MALDONADO                 P O BOX 915                                                                                                                          ADJUNTAS             PR           00601
   287730 LYDIA MARCANO CARLO       REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   287734 LYDIA MARTELL VELEZ       REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   706098 LYDIA MARTINEZ DOMENA                       372 AVE. ROTARIOS SUITE 208‐B                                                                                      ARECIBO              PR       00613
   287737 LYDIA MARTINEZ RIVERA                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   287738 LYDIA MARTINEZ SANTIAGO                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   287739 LYDIA MARTINEZ VAZQUEZ                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   706099 LYDIA MARTINEZ VILLANUEVA                   7 CALLE PADRE PYKOSZ                                                                                               ARECIBO              PR       00612
   287741 LYDIA MAS DE TOLLINCHE                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   706101 LYDIA MAWAD SAAITER                         CALLE 1 G 44                  VILLA COOPERATIVA                                                                    CAROLINA             PR       00985
   706103 LYDIA MELENDEZ BORRERO                      URB VALLE ARRIBA HEIGHTS      Z 3 CALLE YAGRUMO                                                                    CAROLINA             PR       00983
   287742 LYDIA MELENDEZ OTERO                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   706104 LYDIA MENDEZ GIRAU                          URB REXVILLE                  A L 12 CALLE 64                                                                      BAYAMON              PR       00957
   706105 LYDIA MENDEZ PACHECO                        VILLA DEL CARMEN              4504 AVE CONSTANCIA                                                                  PONCE                PR       00716‐2207
   287743 LYDIA MENDEZ ROMAN                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   706106 LYDIA MENDEZ SILVA                          PARC RAYO GUARAS              66 PARC RAYO GUARAS                                                                  SABANA GRANDE        PR       00637
   287744 LYDIA MERCADO RAMOS                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   706108 LYDIA MILAGROS HERNANDEZ                    HC 6 BOX 67892                                                                                                     MOCA                 PR       00676‐9856
   706109 LYDIA MIRANDA SANTIAGO                      HC 1 6238 CALLE 8 ISLOTE                                                                                           SANTA ISABEL         PR       00757
   287745 LYDIA MISCALICHE ORTIZ                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED

   706110 LYDIA MOCTEZUMA VELAZQUEZ                   URB VILLA HILDA              D 45 CALLE B                                                                          YABUCOA              PR           00767
   706111 LYDIA MOLINA ANTONETY                       BO COQUI 334                 CALLE BETANCES                                                                        AGUIRRE              PR           00704
   287746 LYDIA MOLINA BERMUDEZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   706112 LYDIA MOLINA CANCEL                         P O BOX 628                                                                                                        VEGA BAJA            PR           00694



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  287747 LYDIA MOLINA COSTOSO                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   287748 LYDIA MOLINA/ VICTOR ORTIZ                  REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287749 LYDIA MONTES SANTOS                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706114 LYDIA MORALES SOTO                          PO BOX 113                                                                                                   AGUADILLA           PR         00605
   287751 LYDIA MURPHY CANCEL                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287754 LYDIA N CASTRO DE SANTANA                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706115 LYDIA NEGRON CRUZ                           BO LA FERMINA          HC 01 BOX 6683                                                                        LAS PIEDRAS         PR         00771
   287756 LYDIA NIEVES ANDRADES                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706116 LYDIA NIEVES FRANQUI                        URB COUNTRY CLUB 768   AVE CAMPO RICO                                                                        SAN JUAN            PR         00924
   706118 LYDIA NIEVES HERNANDEZ                      SILLA TURABO           M8 CALLE ROBLE                                                                        CAGUAS              PR         00725
   706119 LYDIA NIEVES MEDINA                         HC 1 BOX 4719                                                                                                CAMUY               PR         00627‐9608
   287758 LYDIA OQUENDO ADORNO                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   706122 LYDIA OQUENDO FIGUEROA                      CENTRO ENVEJECIENTES   105 CALLE BENIGNO FERNANDEZ                                                           CAYEY               PR         00736
   287759 LYDIA ORTA TORRES                           REDACTED               REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287760 LYDIA ORTIZ MARRERO                         REDACTED               REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287761 LYDIA ORTIZ MONTES                          REDACTED               REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706123 LYDIA ORTIZ ORTIZ                           RES SAN MARTIN         EDIF 4 APT 30                                                                         SAN JUAN            PR         00926
   287762 LYDIA ORTIZ REYES                           REDACTED               REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706124 LYDIA P BORRERO RUIZ                        PARC NUEVA VIDA        Q 154 CALLE F                                                                         PONCE               PR         00728
   705745 LYDIA PAGAN BERRIOS                         PO BOX 9812                                                                                                  CAGUAS              PR         00726
   287763 LYDIA PAGAN MALDONADO                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287764 LYDIA PARAGASRAMOS                          REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LYDIA PARKS/ROSENDO
   287765 LATALLADI/IRIS N                            REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706127 LYDIA PERALES RIVERA                        HC 4 BOX 45814                                                                                               CAGUAS              PR         00725
   706128 LYDIA PEREZ                                 P O BOX 405                                                                                                  RIO BLANCO          PR         00744
   287767 LYDIA PEREZ BAEZ                            REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706129 LYDIA PEREZ BARBOSA                         URB PARQUE CENTRAL     M 14 CALLE 64                                                                         CAGUAS              PR         00727
   287768 LYDIA PEREZ LINAREZ                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287769 LYDIA PEREZ ROMAN                           REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287771 LYDIA PLATON LAZARO                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287773 LYDIA PONCE CARRASQUILLO                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287774 LYDIA PROSPER LINARES                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287775 LYDIA QUINONES CAPO                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706131 LYDIA R DARDIZ GUTIERREZ                    URB VISTA AZUL         BB 15 CALLE 33                                                                        ARECIBO             PR         00612
   706132 LYDIA R GASTON ORZA                         URB LA GUADALUPE       L 3 CALLE 7                                                                           PONCE               PR         00730
   705746 LYDIA R MEDINA NEGRON                       HC 1 BOX 5168                                                                                                BARCELONETA         PR         00617
   706133 LYDIA R PELLOT ZENO                         FAIR VIEW              690 GONZALO GALLEGOS                                                                  SAN JUAN            PR         00926
   287776 LYDIA R RIVERA RIVERA                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   287777 LYDIA R VAZQUEZ RODRIGUEZ                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287778 LYDIA R.PELLOT ZENO                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287779 LYDIA RAMOS CRUZ                            REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287780 LYDIA RAMOS ESCUDERO                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287781 LYDIA RAMOS MONTANEZ                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706138 LYDIA RAMOS RIVERA                          ADM SERV GEN           PO BOX 7428                                                                           SAN JUAN            PR         00916‐7428
   287784 LYDIA REYES TORRES                          REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706144 LYDIA REYES VIRUET                          PO BOX 21365                                                                                                 SAN JUAN            PR         00928
   287785 LYDIA RIBOT VEGA                            REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706145 LYDIA RIOS ACEVEDO                          PO BOX 513                                                                                                   JAYUYA              PR         00664
   706146 LYDIA RIVAS REYES                           PO BOX 1118                                                                                                  JUNCOS              PR         00777



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  706147 LYDIA RIVERA                                 6 CALLE MIGUEL PLANILLA                                                                                           CIDRA              PR         00739
  287786 LYDIA RIVERA ABREU                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  706148 LYDIA RIVERA ALICEA                          P O BOX 327                                                                                                       CAYEY              PR         00737 0327
  706149 LYDIA RIVERA CRUZ                            URB COUNTRY CLUB             1031 CALLE FORBES                                                                    SAN JUAN           PR         00924
  706150 LYDIA RIVERA FIGUEROA                        PO BOX 30                                                                                                         CIDRA              PR         00739
  287787 LYDIA RIVERA GARCIA                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  287788 LYDIA RIVERA MALDONADO                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  706151 LYDIA RIVERA MATOS                           P O BOX 22140 UPR                                                                                                 SAN JUAN           PR         00931
  706152 LYDIA RIVERA NEGRON                          PO BOX 51074                                                                                                      TOA BAJA           PR         00950
  706153 LYDIA RIVERA PAGAN                           PO BOX 309                                                                                                        JUNCOS             PR         00777
  706154 LYDIA RIVERA PASTOR                          URB LAS VEGAS                B CALLE 24                                                                           CANOVANAS          PR         00729
  287789 LYDIA RIVERA RIVERA                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  706156 LYDIA RIVERA ROSADO                          VEGA BAJA LAKES              P 20 CALLE 10                                                                        VEGA BAJA          PR         00693
  287791 LYDIA RIVERA SANTIAGO                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  706157 LYDIA RIVERA SERRANO                         HC 3 BOX 8198                                                                                                     GUAYNABO           PR         00971
  706158 LYDIA RIVERA SOTO                            PO BOX 266                                                                                                        HATILLO            PR         00659
  706160 LYDIA RIVERA TORRES                          COND MELIYAN                 APT 1404                                                                             SAN JUAN           PR         00921
  287792 LYDIA RIVERA VIERA                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  287793 LYDIA ROBLES ARROYO                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  287795 LYDIA ROBLES HERNANDEZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  706162 LYDIA RODRIGUEZ                              RES KENNEDY                  EDIF 7 APT 41                                                                        JUANA DIAZ         PR         00795
  706164 LYDIA RODRIGUEZ BAEZ                         HC 8 BOX 49823                                                                                                    CAGUAS             PR         00725
  287796 LYDIA RODRIGUEZ BLANCO                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  287797 LYDIA RODRIGUEZ CORTES                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      COND MONTE SUR TOWN
   706167 LYDIA RODRIGUEZ DE LA ROSA                  HOUSE                        145 AVE HOSTOS APT G801                                                              SAN JUAN           PR         00918‐4253
   706168 LYDIA RODRIGUEZ DIAZ                        PO BOX 763                                                                                                        SAINT JUST         PR         00978‐0763
   706170 LYDIA RODRIGUEZ FONSECA                     PUERTO NUEVO                 NO 1365 CALLE 20                                                                     SAN JUAN           PR         00920
   706171 LYDIA RODRIGUEZ LOPEZ                       HC 2 BOX 7337                                                                                                     CAMUY              PR         00627
   706173 LYDIA RODRIGUEZ MALAVE                      506 PONCE DE LEON                                                                                                 PONCE              PR         00717
   706174 LYDIA RODRIGUEZ OQUENDO                     17 VILLA ESPERANZA                                                                                                CAGUAS             PR         00725
   706175 LYDIA RODRIGUEZ PIZARRO                     URB COUNTRY CLUB             GT 44 CALLE 207                                                                      CAROLINA           PR         00982
   287799 LYDIA RODRIGUEZ ROMAN                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   287800 LYDIA RODRIGUEZ SANCHEZ                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   706176 LYDIA RODRIGUEZ SOLIVAN                     P O BOX 1304                                                                                                      AIBONITO           PR         00705
   287801 LYDIA RODRIGUEZ SOTO                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   287802 LYDIA RODRIGUEZ TORRES                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   706177 LYDIA RODRIGUEZ VEGA                        HC 2 BOX 5005                                                                                                     COAMO              PR         00769
          LYDIA RODRIGUEZ
   706178 VIZCARRONDO                                 PARCELA 462                  CARR 1 LA CENTRAL                                                                    CANOVANAS          PR         00729
   706179 LYDIA ROJAS RAMIREZ                         SAINT JUST                   16 CALLE BETANIA                                                                     TRUJILLO ALTO      PR         00976
   287803 LYDIA ROLDAN                                REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   287804 LYDIA ROLDAN RIVERA                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   706180 LYDIA ROLON PADILLA                         HC 2 BOX 6227                                                                                                     MOROVIS            PR         00687
   287805 LYDIA ROMERO PIZARRO                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   287806 LYDIA ROSA FIGUEROA                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   706182 LYDIA ROSARIO DIAZ                          URB CHALETS DE SAN FERNANDO EDIF 19 APT 1906                                                                      CAROLINA           PR         00987
   287807 LYDIA ROSARIO RENTA                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   287808 LYDIA ROSS QUINONES                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   706183 LYDIA ROVIRA HERNANDEZ                      HC 2 BOX 9620                                                                                                     QUEBRADILLAS       PR         00678
   287809 LYDIA RUIZ NEGRON                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   706186 LYDIA S TORRES HERNANDEZ                    BO OBRERO                   455 CALLE 10                                                                          SAN JUAN           PR         00916



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  287810 LYDIA SALDANA CARRILLO                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  706187 LYDIA SALINA VALENTIN                        BO EL TUQUE NUEVA VIDA        BD 60 CALLE 8                                                                         PONCE               PR         00731
         LYDIA SAMANTHA CARMONA
  287811 TORRES                                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  706190 LYDIA SANCHEZ DESSUS                         URB CARRION MADURO            14 CALLE 6                                                                            JUANA DIAZ          PR         00795
  706192 LYDIA SANCHEZ RAMIREZ                        PO BOX 453                                                                                                          SAN JUAN            PR         00918
  287812 LYDIA SANCHEZ ROSADO                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  706194 LYDIA SANCHEZ SANTANA                        HC BOX 47256                                                                                                        SAN LORENZO         PR         00754‐9907
  706195 LYDIA SANCHEZ VILLANUEVA                     PARC JAUCA                    274 CALLE 4                                                                           SANTA ISABEL        PR         00757
  287813 LYDIA SANJURJO TORRES                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  287814 LYDIA SANTIAGO                               REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  706197 LYDIA SANTIAGO COLON                         PO BOX 3043                                                                                                         MANATI              PR         00674

   706198 LYDIA SANTIAGO DE AGUILLAR                  URB MONTE GRANDE              110 CALLE TOPACIO                                                                     CABO ROJO           PR       00623
   706199 LYDIA SANTIAGO FIGUEROA                     VILLA PALMERAS                26 CALLE UNION                                                                        SANTURCE            PR       00912
   706201 LYDIA SANTIAGO LOPEZ                        PO BOX 1812                                                                                                         AIBONITO            PR       00705
   287815 LYDIA SANTIAGO PEREZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   706202 LYDIA SANTIAGO RIVERA                       HC 03 BOX 14412                                                                                                     COROZAL             PR       00783‐9808
   287816 LYDIA SANTIAGO RODRIGUEZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   706204 LYDIA SANTOS                                P O BOX BOX 70344 PMB 252                                                                                           SAN JUAN            PR       00936 8344
   287817 LYDIA SANTOS ROLDAN                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   706206 LYDIA SEIN FIGUEROA                         HC 6 BOX 2191                                                                                                       PONCE               PR       00731
   706207 LYDIA SEPULVEDA VAZQUEZ                     HC 04 BOX 49662                                                                                                     CAGUAS              PR       00725
   287818 LYDIA SEVILLA CECILIO                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
          LYDIA SILVA BOSCHETTI /DBA/
   287819 ACTION                                      PO BOX 9225                                                                                                         BAYAMON             PR         00960
   287820 LYDIA SILVA SANTOS                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706211 LYDIA SILVA VELAZQUEZ                       URB LA MILAGROSA              E 5 CALLE DIAMANTE                                                                    SABANA GRANDE       PR         00637
   706212 LYDIA SOBERAL VELEZ                         HC 04 BOX 18074                                                                                                     CAMUY               PR         00627‐9105
   706213 LYDIA SOLIS GUZMAN                          EL CONQUISTADOR               D 21 AVE DIEGO VELAZQUEZ                                                              TRUJILLO ALTO       PR         00976
   287821 LYDIA SOTO                                  REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287824 LYDIA SOTO HERNANDEZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287825 LYDIA STERLING VILLANUEVA                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287827 LYDIA SUAREZ RIVERA                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287828 LYDIA TOLEDO VELAZQUEZ                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706214 LYDIA TORRES                                367 CALLE AZUCENA                                                                                                   CAGUAS              PR         00725
   287829 Lydia Torres Andino                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706215 LYDIA TORRES BONILLA                        36 CALLE ESTACION                                                                                                   QUEBRADILLAS        PR         00678
   706216 LYDIA TORRES COLON                          URB VISTA DEL MAR             2233 CALLE MARLIN                                                                     PONCE               PR         00731‐0017
   706219 LYDIA TORRES OLIVERA                        LOS CAOBOS                    1991 CALLE GUAYACAN                                                                   PONCE               PR         00716‐2645
   706220 LYDIA TORRES ORTIZ                          URB LA PROVIDENCIA            G 12 CALLE 7                                                                          PONCE               PR         00731
   706222 LYDIA TORRES VAZQUEZ                        RES CARIOCA EDIF 21 APT 121                                                                                         GUAYAMA             PR         00784
   287831 LYDIA V IRIZARRY RIVERA                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706224 LYDIA V PEREZ GARCIA                        BO QUEBRADA CRUZ              RR 5 BOX 8045                                                                         TOA ALTA            PR         00953
   706225 LYDIA V SANTIAGO FLORES                     URB CASA MIA                  IC 9 CALLE 3                                                                          PONCE               PR         00731
   287832 LYDIA V. PEREZ PEREZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706226 LYDIA VALENTIN CABAN                        HC 1 BOX 6923                                                                                                       MOCA                PR         00676
   287833 LYDIA VALENTIN CANCEL                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706227 LYDIA VALENTIN PELUYERA                     P O BOX 9300758                                                                                                     SAN JUAN            PR         00930‐0758
          LYDIA VARGAS DBA
   287834 TRANSPORTACION ESCOLAR                      URB COSTA SUR                 51 CALLE FE                                                                           YAUCO               PR         00698
   287836 LYDIA VARGAS IRIZARRY                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706228 LYDIA VARGAS MARTINEZ                       2024 80TH ST APTL                                                                                                   BROOKLYN            NE         11214



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  706229 LYDIA VARGAS PEREZ                           URB LA MONSERRATE     361 CALLE LA PROVIDENCIA                                                              MOCA              PR         00676‐4306
  287837 LYDIA VAZQUEZ QUINONEZ                       REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287838 LYDIA VAZQUEZ VAZQUEZ                        REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287839 Lydia Vega Rivas                             REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287840 LYDIA VEGA RIVERA                            REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287841 LYDIA VEGUILLA GUTIERREZ                     REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287842 LYDIA VELAZQUEZ FELICIANO                    REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287843 LYDIA VELAZQUEZ MOJICA                       REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  706231 LYDIA VELEZ HERNANDEZ                        ALT DE RIO GRANDE     M 578 CALLE 13                                                                        RIO GRANDE        PR         00745
  287846 LYDIA VELEZ VALENTIN                         REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  706232 LYDIA VENTURA SOTO                           HC 02 BOX 5589        BO BARRERO                                                                            RINCON            PR         00677
  287847 LYDIA VIGO CRUZ                              REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  706233 LYDIA Y CRUZ GUZMAN                          HC 764 BOX 8430                                                                                             PATILLAS          PR         00723
  287848 LYDIA Y. CASTILLO LOPEZ                      REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287849 LYDIAN TORRES GARCIA                         REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  287850 LYDIANA APONTE MARTINEZ                      REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   706235 LYDIANA F SAAVEDRA GONZALEZ URB EL CORTIJO                        J 70 CALLE 13                                                                         BAYAMON           PR         00956
   706236 LYDIANA GARCIA SUAZO        PO BOX 607                                                                                                                  LAS PIEDRAS       PR         00771
   287851 LYDIARI RIVERA COLON        REDACTED                              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706238 LYDIAS BEATY SUPPLY         34 CALLE DR VEVE                                                                                                            JUANA DIAZ        PR         00795

   287853 LYDIBETT SANTIAGO MARTINEZ                  REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LYDIERMARIE CONCEPCION
   287854 SANTANA                                     REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   287855 LYDIETTE C CALDERON CANCEL                  REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   287856 LYDIETTE M. MARRERO RIVERA                  REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287857 LYDIMAR GARRIGA VIDAL                       REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   287858 LYDIMAR MERCADO VAZQUEZ                     REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   770667 LYDIMARIE APONTE TANON                      REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706239 LYDINES CAMPOS TORRES                       HC 1 BOX 6332                                                                                               JUANA DIAZ        PR         00795
   287859 LYDIO MONTAðEZ DONES                        REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706240 LYDMARIE LLORENS BENITEZ                    HC 2 BOX 6875                                                                                               YABUCOA           PR         00767‐9502
   706242 LYDUA VILLALOBOS RIVERA                     HC 2 BOX 7955                                                                                               CIALES            PR         00638
          LYDZAIDA MAISONETTE
   287862 HERNANDEZ                                   REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   287863 LYDZAIDA SANTANA GONZALEZ REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LYLIBETH AGRINSONI
   287866 CARRASQUILLO                   REDACTED                           REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287867 LYLKA RIOS AVILES              REDACTED                           REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LYLKA RIOS AVILES DBA OPTICA X
   287869 VISION                         615 CARR 152 SUITE 14                                                                                                    NARANJITO         PR         00719
   706245 LYLLIAM DELGADO VAZQUEZ        BDA BLONDET                        207 CALLE D                                                                           GUAYAMA           PR         00784
   287870 LYLLIAM PAGAN SANTIAGO         REDACTED                           REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   287871 LYLLIAN PEREZ CALDERON         REDACTED                           REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   287872 LYLOS PARTNERS IN EDUCATION PMB 005                               PO BOX 70171                                                                          SAN JUAN          PR         00936‐8171

   287873 LYLOS TECHNOLOGY GROUP INC P O BOX 70171 PMB 358                                                                                                        SAN JUAN          PR         00936



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  287876 LYMARI ARIZMENDI VELEZ                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  287877 LYMARI BARNECET RAMOS                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  706246 LYMARI BORRALI CINTRON                       URB FAIRVIEW            666 CALLE DIEGO CUELLAR                                                                SAN JUAN              PR         00926
  287878 LYMARI BORRERO RAMIREZ                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  287879 LYMARI CARMONA GARCIA                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  706247 LYMARI COLON MARTINEZ                        HC 4 BOX 14269                                                                                                 ARECIBO               PR         00612
  287880 LYMARI COLON MELECIO                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  287881 LYMARI CUEVAS RIOS                           REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  706248 LYMARI DE JESUS FUENTES                      RR 2 BOX 3029                                                                                                  TOA ALTA              PR         00953
  287882 LYMARI DE JESUS RIVERA                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
         LYMARI DE LOS ANGELES
  287883 ARROYO ROJAS                                 REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   706249 LYMARI FIGUEROA HERNANDEZ                   P O BOX 3643                                                                                                   BAYAMON               PR         00958‐3643
   706250 LYMARI FUMERO PEREZ                         BO SABANA YEGUAS        CALLE 116 KM 4 3                                                                       LAJAS                 PR         00667
   706252 LYMARI JIMENEZ BLAS                         P O BOX 3634                                                                                                   AGUADILLA             PR         00605

   706255 LYMARI MARTINEZ MALDONADO URB EL SENORIAL                           2056 CALLE LOPE DE RUEDAS                                                              SAN JUAN              PR         00926
   287884 LYMARI MUNOZ FIGUEROA     REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   706256 LYMARI NEGRON VELAZQUEZ   BONNEVILLE TERRACE                        B 9 CALLE 2                                                                            CAGUAS                PR         00725
   706257 LYMARI OLIVERAS SANTIAGO  PO BOX 191566                                                                                                                    SAN JUAN              PR         00919‐1566
   287885 LYMARI ORTIZ LOPEZ        REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   287886 LYMARI PEREZ RIOS         REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   706259 LYMARI RENTAS GONZALEZ    COLINA DE FAIR VIEW                       CALLE 203 BLOQ.4F 22                                                                   TRUJILLO ALTO         PR         00976
   287887 LYMARI REYES BURGOS       REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   287888 LYMARI ROLDAN VIVES       REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   287889 LYMARI RONDA ORTIZ        REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   706261 LYMARI SANTIAGO CRUZ      101 CALLE SAN JOSE OESTE                                                                                                         GUAYAMA               PR         00784
   287890 LYMARI SERRANO ROMAN      REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   706262 LYMARI SOTO MARTINEZ      H 4 BO PAJAROS                            CARR 863 KM 1 5                                                                        TOA BAJA              PR         00959
   287891 LYMARI TORRES ADROVER     REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   706263 LYMARI TORRES REYES       ROUND HILL                                430 GLADIOLA                                                                           TRUJILLO ALTO         PR         00976

   287892 LYMARI VASSALLO RODRIGUEZ                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   287894 LYMARI VENDRELL RUIZ                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   287895 LYMARIE BATISTA HERNANDEZ                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   287896 LYMARIE BONILLA MARTY                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   287897 LYMARIE BORRERO RIPOLL                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   706265 LYMARIE COLON RODRIGUEZ                     PO BOX 443                                                                                                     SAINT JUST            PR         00978
   287898 LYMARIE COLON VIADER                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   706266 LYMARIE DEL VALLE PEREZ                     122 CALLE COSME ARANA                                                                                          HATILLO               PR         00659
          LYMARIE E MARRERO
   287900 CARRASQUILLO                                REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
          LYMARIE E VELAZQUEZ
   287901 VALENTIN                                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   287903 LYMARIE FERNANDEZ BLANCO                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   287904 LYMARIE FERRER RIVERA                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   287905 LYMARIE GALARZA LOPEZ                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
          LYMARIE LEGER IRIS SANCHEZ
   706269 JUAN CASTILLO                               RES NEMECIO CANALES     EDF 39 APT 719                                                                         SAN JUAN              PR         00918
   287907 LYMARIE LOPEZ CARDONA                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED



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  287908 LYMARIE MUNIZ VELEZ                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  706270 LYMARIE NEGRON FELICIANO                     URB JARDINES DE ARROYO    CALLE AA Y 10                                                                     ARROYO              PR         00714
  706271 LYMARIE ORTIZ FIGUEROA                       VILLA FONTANA             VIA 31 AN 11                                                                      CAROLINA            PR         00985
  706272 LYMARIE ORTIZ ORTIZ                          VILLA ANDALUCIA           A 7 CALLE MONTEFORTE                                                              SAN JUAN            PR         00926

   287909 LYMARIE QUIðONES MAYSONET                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287910 LYMARIE RAMOS VALERA                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706274 LYMARIE RIVERA CRESPO                       URB VILLA LOS OLMOS       30 CALLE 4                                                                        RIO PIEDRAS         PR         00927
   287911 LYMARIE RIVERA ORTIZ                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   287912 LYMARIE RODRIGUEZ CABRERA                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287913 LYMARIE SANTIAGO ESPARRA                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287914 LYMARIE TORRES RIOS                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706276 LYMARIE VERA LOPEZ                          URB VILLA DEL REY         3 A 23 CALLE SAJONIA                                                              CAGUAS              PR         00725
   287916 LYMARIS ACOSTA VELAZQUEZ                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   287918 LYMARIS BARRERAS RODRIGUEZ                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LYMARIS BURGOS/ RAFAEL
   287919 BURGOS                                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706277 LYMARIS CARRERO MARTINEZ                    PO BOX 658                                                                                                  RINCON              PR         00677
   706278 LYMARIS DIAZ MELENDEZ                       VILLA DE SAN AGUSTIN      N33 CALLE 7                                                                       BAYAMON             PR         00959
   287922 LYMARIS DIAZ VALENTIN                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287923 LYMARIS E SUAREZ CHICLANA                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   706280 LYMARIS M CUENCA PACHECO                    PO BOX 19113                                                                                                SAN JUAN            PR         00910

   706281 LYMARIS MALDONADO SANTOS                    PO BOX 363                                                                                                  MOROVIS             PR         00687
   287924 LYMARIS MENDEZ NIEVES                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287925 LYMARIS MOJICA FIGUEROA                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706283 LYMARIS OQUENDO SANCHEZ                     CONCORDIA GARDENS 1       APT 10 C                                                                          SAN JUAN            PR         00924
   706284 LYMARIS ORTIZ CAMACHO                       HC 1 BOX 5737                                                                                               CIALES              PR         00638
   706285 LYMARIS PACHECO RAMOS                       VENUS GARDENS             1690 CALLE JALAPA                                                                 SAN JUAN            PR         00926
   706286 LYMARIS PEREZ                               BO INGENIO                408 CALLE FLAMBOYAN                                                               TOA BAJA            PR         00951
   287927 LYMARIS PEREZ RODRIGUEZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706287 LYMARIS RODRIGUEZ ROURA                     BOX 560058                                                                                                  GUAYANILLA          PR         00656‐0058
   706288 LYMARIS SANTANA TORRES                      PO BOX 343                                                                                                  PATILLAS            PR         00723
   287928 LYMARIS SANTIAGO NEGRON                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287930 LYMARIS SANTIAGO RIVERA                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706289 LYMARIS TORO TORRES                         P O BOX 10705                                                                                               PONCE               PR         00732
   706290 LYMARIS VELEZ MELON                         J DEL CARIBE BOX CB 6                                                                                       ISABELA             PR         00662
   287931 LYMARIS VIRUET                              REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287932 LYMARY CINTRON OLIVO                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287934 LYMARY FLORES RODRIGUEZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287935 LYMARY OCASIO TORRES                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706292 LYMARY RIVERA DIAZ                          RR 1 BOX 13005                                                                                              TOA ALTA            PR         00953
   706293 LYMARY TORRES ECHEVARRIA                    PO BOX 142                                                                                                  LAS MARIAS          PR         00670
   287936 LYMARYS MARQUEZ CEDE¥O                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287938 LYMAT T CORDERO VEGA                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   706294 LYME CORPUTER SYSTEMS INC                   PO BOX 845172                                                                                               BOSTON              MA         02284‐5172
   706295 LYMPHEDEMA SERVICES                         12651 WEST SUNRISE BLVD   SUITE 101                                                                         SUNRISE             FL         33323
          LYNDA COM A LINKEDIN
   287940 COMPANY                                     6410 VIA REAL                                                                                               CARPINTERIA         CA         93013



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   287941 LYNDA FERNANDEZ CARMONA                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706296 LYNDA GREEN CRUZ                            P O BOX 599                                                                                                       JUANA DIAZ          PR           00795
   287942 LYNDA I PANTOJA IRIZARRY                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LYNDA MARCANTONIO AND
   287944 DEAN FERRIOLA                               REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287945 LYNDA ORTIZ FUENTES                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287946 LYNDA SEGARRA MORENO                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706298 LYNDA VELEZ COLON                           BAIRO GOLDEN GATE II       E 9 CALLE H                                                                            CAGUAS              PR           00725
          LYNDA YADIRA SOTO
   706299 HERNANDEZ                                   PO BOX 385                                                                                                        MOCA                PR           00676
   706300 LYNDEN AIR FREIGHT                          PO BOX 84167                                                                                                      SCATTLE             WA           98124
   706301 LYNDEN PUERTO RICO INC                      PO BOX 79186                                                                                                      CAROLINA            PR           00984
          LYNDIANETH PACHECO
   287947 SANTIAGO                                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287948 LYNDON BROOKS MUSGRAVE                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   706302 LYNEETTE HININGS MARSHALL                   2000 AVE LAS CUMBRES       COLINA REAL BOX 801                                                                    SAN JUAN            PR           00926
   287949 LYNEL C CRUZ                                REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   287950 LYNELL AURORA PEREZ COLON                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LYNELL FAMILY THERAPY, RICE
   287951 BRINKWORT                                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287952 LYNELLY E VARGAS MORALES                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   287953 LYNERT INC                                  URB PUERTO NUEVO           1230 CALLE CAMPECHE                                                                    SAN JUAN            PR           00920

   287954 LYNES M BURGOS RODRIGUEZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   287955 LYNESSA SANTIAGO RIVERA                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   706305 LYNET CORDERO ROQUE                         SANTA JUANITA              AD3 CALLE 33                                                                           BAYAMON             PR       00956
   287956 LYNET M SANTIAGO TUA                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   287957 LYNETTE A PEREZ MOLINARY                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   287958 LYNETTE ALOMAR CAMACHO                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   706306 LYNETTE ANELLE NAVARRO                      URB LAS DELICIAS           2257 JUAN J CARTAGENA                                                                  PONCE               PR       00728

   706307 LYNETTE CARDONA CARDONA                     PO BOX 1500                                                                                                       COAMO               PR           00769

   706308 LYNETTE CARRASQUILLO CRUZ                   URB LOS ANGELES            H18 CALLE A                                                                            YABUCOA             PR           00767
   706309 LYNETTE CINTRON ORTIZ                       CONC GARDENS I APT 34                                                                                             SAN JUAN            PR           00924
          LYNETTE DE LOURDES PETRILLI
   287959 MARTINEZ                                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706310 LYNETTE DELGADO SANCHEZ                     PARK GARDENS               F 36 CALLE MARACAIBO                                                                   SAN JUAN            PR           00926
   706311 LYNETTE DROZ MORALES                        URB VALLE DE YABUCOA       221 CALLE CAOBA                                                                        YABUCOA             PR           00767
   706312 LYNETTE GARCIA MORA                         HC 01 BOX 5287                                                                                                    HATILLO             PR           00659
          LYNETTE IRIZARRY LLD
   706313 MARKETING INC                               VALLE ARRIBA HTS           T 10 CALLE LAUREL                                                                      CAROLINA            PR           00983

   706314 LYNETTE J ALBALADEJO TORRES                 7 CALLE CONFESOR JIMENES                                                                                          SAN SEBASTIAN       PR           00685
   287960 LYNETTE L GARCIA PEREZ                      REDACTED                   REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706315 LYNETTE LANDRY RIVERA                       VISTA MAR                  1566 CALLE RABALO                                                                      CAROLINA            PR           00983
                                                                                 288 CALLE PERUSA URB COLLEGE
   706316 LYNETTE LEON ORTIZ                          COLLEGE PARK               PARK                                                                                   RIO PIEDRAS         PR           00921
   706317 LYNETTE M COLON LANDRAU                     PO BOX 787                                                                                                        JUANA DIAZ          PR           00795
   287962 LYNETTE M DERIEUX LEBRON                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  287964 LYNETTE M PARAVISINI ORTIZ REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  287965 LYNETTE M SOSA RODRIGUEZ   REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         LYNETTE MARGARITA ANDERSON
  287966 BOU                        REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   706318 LYNETTE MARTINEZ ALEJANDRO RR 6 BOX 9258                                                                                                                         SAN JUAN            PR         00926

   706320 LYNETTE MARTINEZ SANTIAGO                   URB EL CONQUISTADOR         PB‐3 CALLE 11                                                                            TRUJILLO ALTO       PR         00976
   287967 LYNETTE MENDEZ                              REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287968 LYNETTE NEGRON ORTIZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706321 LYNETTE NIEVES MONTALVO                     57 CALLE LOS MILLONES                                                                                                ISABELA             PR         00662
   706322 LYNETTE ORTIZ MARTINEZ                      PO BOX 1180                                                                                                          LAJAS               PR         00667
   287969 LYNETTE PAGAN RIVERA                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   706323 LYNETTE RODRIGUEZ GALINDEZ                  COND LOS NARANJALES         APT 30                                                                                   CAROLINA            PR         00985
   287970 LYNETTE ROMAN TORRES                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706324 LYNETTE SALGADO GALVEZ                      HC 3 BOX 19071                                                                                                       RIO GRANDE          PR         00745

   287972 LYNETTE SANTIAGO MARTINEZ                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287973 LYNETTE SOTO CRUZ                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706327 LYNETTE TORRES COLON                        BO ORTIGA                   BOX 504                                                                                  VILLALBA            PR         00766
   287974 LYNETTE VALENTIN ROMAN                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706328 LYNETTE VEGA GONZALEZ                       HC 4 BOX 16306                                                                                                       CAMUY               PR         00627
   287975 LYNETTE VEGA PEREZ                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   287976 LYNETTE VILLANUEVA GARCIA                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706329 LYNETTE Y. MOLINA CARDE                     PO BOX 140042                                                                                                        ARECIBO             PR         00614

   287977 LYNMAR CONSTRUCTION, INC.                   P.O. BOX 69001 SUITE 360                                                                                             HATILLO             PR         00659‐0000
   287978 LYNMAR E. DE JESUS LEBRON                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   706331 LYNMAR ENID DE JESUS LEBRON URB LOS CAOBOS                              631 CALLE ACEITILLO                                                                      PONCE               PR         00716

   287979 LYNN A STRAVECKY ROCAFORT                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          LYNN COMMUNITY HEALTH
   287983 CENTER                                      269 UNION STREET                                                                                                     LYNN                MA         01901
   287985 LYNN M MEDINA CETOUT                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   831469 Lynn Peavey Company                         Po Box 14100                                                                                                         Lenexa              KS         66285‐4100
                                                      26997 LOOKOUT MOUNTAIN
   706333 LYNN SCHROEDER                              LANE                                                                                                                 OAK RUN             CA         96069
   706334 LYNN SINGLETON                              300 DESMOND DRIVE           PO BOX 47600                                                                             OLYMPIC             WA         93504‐7600
   287992 LYNN WHITE MD, SHARON                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   706335 LYNNEEBETH RODRIGUEZ                        P O BOX 20713                                                                                                        SAN JUAN            PR         00928
   706336 LYNNETH CARRASQUILLO                        PO BOX 1931                                                                                                          JUNCOS              PR         00777
          LYNNETTE ALBETORIO
   706337 BERMUDEZ                                    URB LOMAS DE COUNTRY CLUB   N 16                                                                                     PONCE               PR         00731

   706338 LYNNETTE ASENCIO PLAZA                      URB LAS DELICIAS            2408 CALLE VIVAS VALDIVIESO                                                              PONCE               PR         00728
   287993 LYNNETTE AVILES CASTRO                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   287994 LYNNETTE BURGOS MARQUEZ                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   287995 LYNNETTE COLON RODRIGUEZ                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   287996 LYNNETTE D FUENTES RAMIREZ                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   706339 LYNNETTE DELGADO CINTRON                    C/O MARCELO E ESQUILIN      PO BOX 41269                                                                          SAN JUAN            PR           00940‐1269
   287998 LYNNETTE DONES LOPEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   706341 LYNNETTE FELICIANO SANCHEZ                  HC 01 BOX 5820                                                                                                    JUNCOS              PR           00777‐9706

   706342 LYNNETTE FIGUEROA BONILLA                   EXT LAGOS DE PLATA          53 CALLE 25                                                                           TOA ALTA            PR           00949
   706345 LYNNETTE GARCIA VAZQUEZ                     PO BOX 8395                                                                                                       HUMACAO             PR           00792

   287999 LYNNETTE GOMEZ DE LA TORRE REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1420274 LYNNETTE GONZALEZ, GLENDA                   CLOTILDE M. PICART LAGUER   PO BOX 12219                                                                          SAN JUAN            PR           00914‐2219
   288001 LYNNETTE IRIZARRY CEDENO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LYNNETTE L LATORRE
   288003 RODRIGUEZ                                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   288004 LYNNETTE LAGARES GONZALEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LYNNETTE LOPEZ / MULTI
   288005 BATTERIES & FORKL                           PO BOX 560330                                                                                                     GUAYANILLA          PR           00656
   288006 LYNNETTE LOPEZ BAEZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   288007 LYNNETTE M RAMIREZ RIVERA                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LYNNETTE M SALGADO
   288008 TORRELAS                                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LYNNETTE M. GONZALEZ
   288009 RODRIGUEZ                                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          LYNNETTE MALDONADO
   706346 MELENDEZ                                    URB MONTE VERDE             205 CALLE MONTE ALVENIA                                                               MANATI              PR           00674
   706348 LYNNETTE MORALES SANTOS                     SAN AGUSTIN                 1163 SOLDADO GASPAR RIOS                                                              SAN JUAN            PR           00923

   706349 LYNNETTE MORENO CALDERO                     P O BOX 111                                                                                                       COROZAL             PR           00783
          LYNNETTE N PERALES
   706350 MALDONADO                                   PO BOX 2286                                                                                                       BAYAMON             PR           00960‐2286
   706351 LYNNETTE PE¥A HADDOCK                       URB EL CEREZAL 1698         CALLE ORINOCO                                                                         SAN JUAN            PR           00926
   706352 LYNNETTE RAMOS BORGES                       URB VALLE SAN LUIS          242 CALLE VIA SAN LUIS                                                                CAGUAS              PR           00725

   288013 LYNNETTE RIVERA VELAZQUEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   288014 LYNNETTE RIVERO RODRIGUEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   706354 LYNNETTE RODRIGUEZ RIVERA                   PUNTO ORO                   3312 CALLE LA CAPITANA                                                                PONCE               PR           00728‐2020
   288016 LYNNETTE ROJAS RAMOS                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706356 LYNNETTE SIERRA DE JESUS                    URB CANA                    CC 8 CALLE 31                                                                         BAYAMON             PR           00957
   706357 LYNNETTE SORENTINI CRUZ                     HC 3 BOX 17356                                                                                                    LAJAS               PR           00667
   288017 LYNNETTE TANON MELENDEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   706358 LYNNETTE TORRES BERMUDEZ                    HC 44 BOX 12546                                                                                                   CAYEY               PR           00736‐9702
   288018 LYNNETTE VEGA LLANTIN                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   288019 LYNNETTE X. NEGRON VAZQUEZ REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288020 LYNNZOET RODRIGUEZ         REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  288021 LYOMARIE TORRES FIGUEROA                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
 1420275 LYONS VILLANUEVA, VICTOR                     VALENRY RIVERA             BOX 5009 CUC STATION                                                                    CAYEY             PR         00632
  288023 LYRIC DOMINGUEZ JIMENEZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  706361 LYRIOS AND MORE                              2 CALLE MATEO FAJARDO                                                                                              HORMIGUEROS       PR         00660
  288024 LYSAIRA DEL VALLE                            REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  288025 LYSAIRA DEL VALLE MARQUEZ                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  706364 LYSANDER BORRERO TERRY                       P O BOX 1549                                                                                                       VILLALBA          PR         00766
  771159 LYSANDER MORET VEGA                          P O BOX 186                                                                                                        PATILLAS          PR         00723
  288027 LYSANDRA BAEZ RODRIGUEZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   706366 LYSANDRA HERNANDEZ ARROYO URB SANTA TERESITA                           BH 15 CALLE 22                                                                          PONCE             PR         00731
   706365 LYSANDRA ISONA FUENTES    P.O. BOX 3039                                                                                                                        GUAYNABO          PR         00970
   706368 LYSBEL SANTANA PABON      HC 4 BOX 8167                                                                                                                        JUANA DIAZ        PR         00795
   706369 LYSBETH DONES ESCOBAR     URB JARD DE CEIBA                            J 29 CALLE 10                                                                           CEIBA             PR         00735
   706370 LYSEDIA DAVILA            PO BOX 1649                                                                                                                          TOA BAJA          PR         00951
   288028 LYSELYS VELEZ ECHEVARRIA  REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          LYSETTE MALDONADO
   288029 RODRIGUEZ                 REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   706372 LYSETTE V MORALES CABRERA                   3 BO MARIANA                                                                                                       HUMCACAO          PR         00791
   288031 LYSHA LEI ROMAN CALDERON                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706373 LYSIS RAMOS PEREZ                           HC 5 BOX 92700                                                                                                     ARECIBO           PR         00612‐9550
          LYSMAR BERENGUER
   706374 RODRIGUEZ                                   VILLA DEL CARMEN           CALLE 21 B 48                                                                           PONCE             PR         00731
   288032 LYSONIA RIVERA ALVARADO                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                 J 10 CALLE MANUEL PEREZ
   706377 LYSSETTE FUENTES MORALES                    VALLE TOLIMA               DURAN                                                                                   CAGUAS            PR         00725
   706378 LYSSETTE M SANTIAGO ORTIZ                   LAS AMERICAS               993 CALLE QUITO                                                                         SAN JUAN          PR         00921
   706380 LYSSIE J BONILLA HERNANDEZ                  URB VIRGINIA VALLEY        1009 VALLE DEL RIO                                                                      JUNCOS            PR         00777
   706381 LYTTA L FIGUEROA SABIK                      URB RIVER EDGE HILLS       31 CALLE RIO MAMEYES                                                                    LUQUILLO          PR         00773
   706382 LYTZA COLLAZO ORTIZ                         ARCAS DE CUPEY             650 AVE CECILIANA APTO 901                                                              SAN JUAN          PR         00926
                                                      COND PUERTA DEL SOL APTO
   706383 LYVIA A ALVAREZ PAGAN                       810                                                                                                                SAN JUAN          PR         00926‐2000
   288034 LYVIET TORRES NIEVES                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   288035 LYXELIS RODRIGUEZ NAVARRO                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   288036 LYZA M. RIVERA DELGADO                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   706385 LYZAIDA RODRIGUEZ RODRIGUEZ HC 1 BOX 4240                                                                                                                      COROZAL           PR         00783
          LYZARDO A RIVERA / BEATRIZ  HE 37 CALLE DOMINGO DE
   706387 GANDIA                      ANDINO                                                                                                                             TOA BAJA          PR         00949
   288037 LYZBETH A CORDERO RIVERA    REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   288038 LYZBETH A. CORDERO RIVERA   REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   288039 LYZBETH M RUIZ RODRIGUEZ    REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   288040 LYZBETH RUIZ ROMAN          REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   288041 LYZBETHE MENDEZ NEVAREZ     REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   288042 LYZETTE COSTA HAU           REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   288043 LYZETTE SANCHEZ FONSECA     REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   288044 LYZMAR CORDERO CRUZ         REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706388 LYZNETTE PAGAN ORTIZ        HC 01 BOX 5351                                                                                                                     CIALES            PR         00638
   288048 LYZZETTE TANON MELENDEZ     REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706391 LZULEIKA I TOMEI MILLAN     RES LAS AMERICAS                           EDIF 1 APT 10                                                                           LAJAS             PR         00667
   288053 M & A APPLIANCE SERVICES    60 CALLE CARRION MADURO                                                                                                            CAYEY             PR         00736



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  288055 M & B TACOS INC                              PLAZA REAL SHOPING CENTER     1 AVE ARBOLOTE SUITE 109                                                                GUAYNABO          PR           00969‐2800
  706393 M & C ELECTRIC INC                           REPARTO METROPOLITANO         1121 AMERICO MIRANDA                                                                    SAN JUAN          PR           00921
         M & G INSTRUMENTATION
  706394 SERVICES                                     PO BOX 6026 PMB 1100                                                                                                  CAROLINA          PR           00984
  706395 M & J CLEANERS                               PMB 207 1353 CARR 19                                                                                                  GUAYNABO          PR           00966
  288056 M & L AMBULANCE , INC.                       P. O. BOX 1269                                                                                                        RINCON            PR           00677‐0000
                                                                                    106 CALLE EUGENIO SANCHEZ
   706396 M & L AUTO PARTS                            EDNA VALLELLANES SUAREZ       LOPEZ                                                                                   GURABO            PR           00778
   706398 M & M AGRICULTURA                           452 CESAR GONZALEZ                                                                                                    SAN JUAN          PR           00918
   288057 M & M AUTO SERVICES INC                     PROLONGACION                  CALLE COMERCIO 98                                                                       YAUCO             PR           00698
   706399 M & M CERAMICS                              EL SE¨ORIAL                   321 AVE WISTON CHURCHILL                                                                SAN JUAN          PR           00926
          M & M FLOWER MARKET CORP
   288058 DBA DECO EVENTO                             1720 CALLE COLON                                                                                                      SAN JUAN          PR           00911

   706400 M & M FUEL INJECTION SERVICE                PO BOX 1535                                                                                                           MOCA              PR           00676
          M & M PROYECTOS / SA MICHY
   706401 MARXUACH                                    P O BOX 9023697                                                                                                       SAN JUAN          PR           00902‐3697
   706402 M & N BIOMEDICAL                            DRIVE INN PLAZA               BMB 402‐2135 CARR 2 STE 15                                                              BAYAMON           PR           00959‐5259
   288059 M & N ELECTRONIC INC                        EST DE LA FUENTE              AA‐19 CALLE PRINCIPE                                                                    TOA ALTA          PR           00953
   706403 M & N PHOTO IMAGE INC                       STA JUANITA                   CALLE LAUREL AVE L 50                                                                   BAYAMON           PR           00956
   288060 M & N SCHOOL SUPPLY, INC.                   Marginal 110 Norte Box 39                                                                                             Bayamon           PR           00959
   706404 M & P COMMUNICATIONS                        PO BOX 8406                                                                                                           BAYAMON           PR           00960
   706405 M & R AMUSEMENTS PARK                       URB RIVER VIEW                PO BOX 1915                                                                             VEGA ALTA         PR           00692‐1915
   288062 M & R DEVELOPERS S E                        P O BOX 192239                                                                                                        SAN JUAN          PR           00919‐2239
   288063 M & R POWER SERVICES INC                    URB PALACIOS REALES           152 ZARZUELA                                                                            TOA ALTA          PR           00953‐4913
   706406 M & S DE PUERTO RICO                        PO BOX 1009                                                                                                           GUAYNABO          PR           00657
   288064 M & S MARKETING GRAPHICS                    PO BOX 12212                                                                                                          SAN JUAN          PR           00914‐2212
   706407 M & V APARTMENT INC                         URB STA CRUZ                  D 5 CALLE 1                                                                             BAYAMON           PR           00691

   288065 M & V APARTMENTS INC.                       URB. SANTA CRUZ D‐5 CALLE 1                                                                                           BAYAMON           PR           00961‐0000

   288066 M & V STEEL CONTRACTORS INC PO BOX 3308                                                                                                                           CATANO            PR           00963‐3308
   288067 M & W MULTISERVICES INC     PO BOX 366277                                                                                                                         SAN JUAN          PR           00936‐6277
                                      C / MORELIA #1690 URB.VENUS
   288068 M / W MULTISERVICE INC      GARDENS                                                                                                                               SAN JUAN          PR           00926‐0000
   706408 M A ACCOUNTING SERVICE      PO BOX 9024275                                                                                                                        SAN JUAN          PR           00902‐4275
   706409 M A AIR CONDITIONING        SAN JOSE                                      46 CALLE ALMIJARA                                                                       SAN JUAN          PR           00923
          M A C PAINTING CONTRACTORS
   706410 CORP                        PO BOX 1577                                                                                                                           GUAYNABO          PR           00970‐1577
                                      CARR 1 K26.4 , CAGUAS, PR
   288069 M A CARIBBEAN CORPORATION 007256120                                       P.O. BOX 6120,                                                                          Caguas            PR           00725
   706411 M A CORDERO                 URB VICTOR ROJAS 2                            20 CALLE 15                                                                             ARECIBO           PR           00612
   288070 M A ESTEVES                 REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   288073 M A ESTEVES INC             PO BOX 362425                                                                                                                         SAN JUAN          PR           00936‐2425
   288074 M A ESTEVES SEC SOC INC     P O BOX 362425                                                                                                                        SAN JUAN          PR           00936‐2425
   706412 M A K E TECHNOLOGIES        23 CALLE JULIO PEREZ                                                                                                                  HORMIGUEROS       PR           00660
          M A MENDEZ VIGO SERVICE
   288076 STATION                     P O BOX 3381                                                                                                                          MAYAGUEZ          PR           00681
   288077 M A N INDUSTRIES            PO BOX 516                                                                                                                            CATAÐO            PR           00963
          M A O & ASSOCIATES
   706414 INVESTMENT INC              PO BOX 6510                                                                                                                           CAGUAS            PR           00726‐6510
   706415 M A OFFICE FURNITURE        200 SIERRA ALTA BOX 26                                                                                                                SAN JUAN          PR           00926




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                                                      PO BOX 218 EL SENORIAL MAIL
   288080 M A PRODUCTIONS INC                         STA                                                                                                                     SAN JUAN            PR           00926
   706416 M A TRUCKING INC                            HC 03 BOX 8297                 SANTA ROSA 03                                                                            GUAYNABO            PR           00971
          M ADVISER AND CONSULTANT,
   288083 INC                                         PO BOX 194671                                                                                                           SAN JUAN            PR           00919‐4671

   706417 M ALTAMIRANO & ASSOCIATES                   PO BOX 367265                                                                                                           SAN JUAN            PR           00936

   706418 M AND M DISTRIBUTORS INC                    497 AVE EMILIANO POLL STE 93                                                                                            SAN JUAN            PR           00926

   288086 M AND W AUTO SERVICE, INC.                  PO BOX 2325                                                                                                             TOA BAJA            PR           00951
   706420 M B A RADIOLOGY GROUP                       PO BOX 2727                                                                                                             BAYAMON             PR           00960‐2727
   706421 M B R CONSTRUCTION                          PO BOX 1373                                                                                                             AGUADILLA           PR           00605
   706422 M B R S CORP                                PO BOX 8700 SUITE 330          PLAZA CAROLINA STATION                                                                   CAROLINA            PR           00988‐8700
   706424 M B T ASSOCIATES                            PO BOX 8642                                                                                                             SAN JUAN            PR           00910‐8642
   706425 M B TRANSPORTATION INC                      PO BOX 141375                                                                                                           ARECIBO             PR           00614
   706426 M BOTELLO INC                               300 AVE CONDADO                                                                                                         SAN JUAN            PR           00907

   288087 M BOTELLO, INC                              300 AVE CONDADO PDA 171/2                                                                                               SANTURCE            PR           00907
   288088 M C C CONSTRUCTION INC                      HC 59 BOX 5472                                                                                                          AGUADA              PR           00602
                                                      COND PARQUE TERRALINDA APT
   288089 M C G INC                                   807                                                                                                                     TRUJILLO ALTO       PR           00976
   706427 M C I                                       P O BOX 650547                                                                                                          DALLAS              TX           75265 0547
   706428 M CANO & ASSOCIATES INC                     PO BOX 190707                                                                                                           SAN JUAN            PR           00919‐0707
   706429 M CUEBAS INC                                PMB 169 PO BOX 7891                                                                                                     GUAYNABO            PR           00970‐7891
   288093 M D COMPUSERVICE                            PO BOX 3151                                                                                                             GUAYNABO            PR           00970
   288094 M D INTERNATIONAL                           BO OBRERO                  711 CALLE ARGENTINA                                                                          SAN JUAN            PR           00915
   288096 M DAVID BUKHALIL                            REDACTED                   REDACTED                          REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288098 M E E A INC                                 300 CROWN COLONY                                                                                                        QUINCY              MA           02169

   706431 M E M CONSTRUCTION                          EXT VILLAS DE BUENA VENTURA    522 CALLE RUBI                                                                           YABUCOA             PR           00967
   706432 M EMMANUELLI & SONS                         PMB 105                        PO BOX 2000                                                                              MERCEDITA           PR           00715
   706433 M F CORP                                    P O BOX 9023927                                                                                                         SAN JUAN            PR           00902‐3927
   288099 M F I CORP                                  PO BOX 364507                                                                                                           SAN JUAN            PR           00936‐0000
   706436 M G CASH & CARRY                            HC 1 BOX 3069                                                                                                           UTUADO              PR           00641
   706437 M G CASH AND CARRY                          HC 1 BOX 3069                                                                                                           UTUADO              PR           00641
   706438 M G OFFICE SOLUCTION INC                    URB BRAZILIA                   B 19 CALLE MARGINAL                                                                      VEGA BAJA           PR           00693
   706439 M I D A                                     BBV PLAZA SUITE 902 A          1510 AVE F D ROOSEVELT                                                                   GUAYNABO            PR           00968
   706440 M I T C / HERIBERTO CRUZ                    HC 67 BOX 15087                SIERRA TAINA                                                                             BAYAMON             PR           00956
   288102 M J C CONSTUCTOR SERVICE                    HC 71 BOX 3021                                                                                                          NARANJITO           PR           00719
          M J CONSULTING &
   288103 DEVELOPMENT INC                             COLINAS DE JAGUEZ I            55 OFICINA ADMINISTRATIVA                                                                CIALES              PR           00638
   288104 M J S R SERVICES INC                        PO BOX 1085                                                                                                             MAUNABO             PR           00707

   706442 M K LEASING CORPORATION                     URB EL ESCORIAL 8 CALLE 6 SC                                                                                            SAN JUAN            PR           00926

   706443 M L A SECURITY GUARD SERVICE                PO BOX 192527                                                                                                           SAN JUAN            PR           00919‐2527
          M L MUSIC PROD & ENTERT /                                                  10 B THE TERRACE 2306 CALLE
   706445 MARY LYNNE                                  PUNTA LAS MARIAS               LAUREL                                                                                   SAN JUAN            PR           00913
   706446 M M CONSTRUCTION                            URB COUNTRY CLUB               GK 46 AVE CAMPO RICO                                                                     CAROLINA            PR           00982
   706447 M M CORDINATOR                              ALTURAS DE SAN SOUCI           C 16 CALLE 2                                                                             BAYAMON             PR           00957

   706448 M M G HEALTH CARE                           5335 DIVIDED DRIVE DECATAU                                                                                              DECATAU             GA           30035



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          M M O R CONSULTING GROUP
   706449 INC                         2302 CALLE LAUREL                                                                                                                  SAN JUAN            PR           00913
          M M OR CONSULTING GROUP
   288105 INC                         OCEAN PARK                               2202 CALLE GENERAL PATTON                                                                 SAN JUAN            PR           00913
   288106 M M STUDIO                  PO BOX 9462                                                                                                                        BAYAMON             PR           00960‐9462
          M M TRUCKING INTERNATIONAL
   288107 INC                         PO BOX 50631                                                                                                                       TOA BAJA            PR           00950
   706450 M N AVIATION                PO BOX 9066566                                                                                                                     SAN JUAN            PR           00906‐6566
   706452 M O A ENTERPRISES INC       PO BOX 7365                                                                                                                        CAGUAS              PR           00725‐7365
   288109 M O A ENTERPROSES           PO BOX 7365                                                                                                                        CAGUAS              PR           00725‐7365
   706451 M O ASOCIADOS               REPARTO UNIVERSIDAD                      C 14 CALLE 12                                                                             SAN GERMAN          PR           00683
   288110 M O AUTO CORP               URB DEL VALLE 74                         CALLE ROBLES                                                                              LAJAS               PR           00667
   706455 M O I INC                   URB LOS ALMENDROS                        EA 32 CALLE TILO                                                                          BAYAMON             PR           00961
   706456 M O M E INC                 P O BOX 10059                                                                                                                      PONCE               PR           00732‐0059
   706458 M OTERO & CO SE             PO BOX 848                                                                                                                         MANATI              PR           00674
   288111 M OTERO Y CIA INC           PO BOX 848                                                                                                                         MANATI              PR           00674
   706459 M P J AUTO CORP             PO BOX 1161                                                                                                                        HORMIGUEROS         PR           00660‐1161
   288113 M P PEST CONTROL INC        CAPARRA TERRACE                          1332 AVE JESUS T PINERO                                                                   SAN JUAN            PR           00921
          M P SISTEMAS DE INFORMACION
   288114 CORP                        URB EL SEÐORIAL                          373 CALLE PIO BAROJA                                                                      SAN JUAN            PR           00926
   288117 M PEDERSEN JR, WALTER J     REDACTED                                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706460 M Q H ENTERTAINMENT         VILLA BLANCA                             18 BRILLANTE                                                                              CAGUAS              PR           00725

   706461 M R BAEZ ACCOUNTING SERVICE PO BOX 3272                                                                                                                        AGUADILLA           PR           00603

   288118 M R BEST COMMUNICATION INC 600 BRISAS DE PANORAMA                    APT 142                                                                                   BAYAMON             PR           00957
   706462 M R C AUTO AIR             HC 1 BOX 27334                                                                                                                      CAGUAS              PR           00725
   706463 M R CATERING               PO BOX 681                                                                                                                          ARECIBO             PR           00616
   706464 M R CONSTRUCTION INC       HC 1 BOX 7241                                                                                                                       AGUAS BUENAS        PR           00703
   706465 M R DATA SYSTEMS           61 CALLE ANTONIO LOPEZ                                                                                                              HUMACAO             PR           00791
   706466 M R G ANESTESIA            P O BOX 6386                                                                                                                        CAGUAS              PR           00726‐6386
          M R REFERENCE LABORATORIES
   288119 INC                        CIUDAD JARDIN DE BAIROA SUR               A30‐122 CALLE OVIEDO                                                                      CAGUAS              PR           00727
   706392 M S CONTRACTOR INC         URB SOLIMA                                114 PLAZA TORTOLA                                                                         LUQUILLO            PR           00773
   288121 M STANLEY SUSSKIND         126 WEST 43 RD STREET                                                                                                               BAYONNE             NJ           07002‐0235
   288123 M TECHNICAL INC.           PO BOX 776                                                                                                                          CAROLINA            PR           00986‐0000
   706467 M V P                      BOX 4952 SUITE 203                                                                                                                  CAGUAS              PR           00724
   706468 M VELAZQUEZ CATERING       VILLA EVANGELINA                          L 92 CALLE 7                                                                              MANATI              PR           00674
   706469 M Y J CUPEY CLEARNERS      SAGRADO CORAZON                           387 AVE SAN CLAUDIO                                                                       SAN JUAN            PR           00926
   288125 M Y L AUTO PARTS           46 MUNOZ RIVERA                                                                                                                     NAGUABO             PR           00718
   706470 M YP PEST CONTROL          P O BOX 360910                                                                                                                      SAN JUAN            PR           00936 0910
          M&B INTERNAL MEDICINE
   288126 GROUP                      P O BOX 1478                                                                                                                        MAYAGUEZ            PR           00681
   706471 M&I BUSINESS               VILLAS DEL RIO                            B16 13ST                                                                                  BAYAMON             PR           00959

   288127 M&M FLOWER MARKET CORP.                     C‐COLON #1720                                                                                                      SANTURCE            PR           00911
   288128 M&M MANUFACTORING LLC                       AVE 65 DE INFANTERIA     109 SUR                                                                                   LAJAS               PR           00667
  1256649 M&M MANUFACTURING, LLC                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288129 M&N ELECTRONIC INC                          P O BOX 51648                                                                                                      TOA BAJA            PR           00950‐1648
                                                                               902 AVE DE DIEGO URB CAPARRA
   706472 M. F. I. CORP                               CAPARRA HEIGHT STATION   TER                                                                                       SAN JUAN            PR           00921
          M. G. EDUCATION &
   288130 TECHNOLOGY GROUP, INC.                      CALLE BARCELO #9                                                                                                   CIDRA               PR           00739



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  288131 M. OTERO & CIA., INC.                         APARTADO 848                                                                                                        MANATI             PR         00674‐0000
  288132 M. R. FRANCESCHINI                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  706473 M. TECHICAL INC                               P O BOX 7776                                                                                                        CAROLINA           PR         00986
  288134 M. TECHNICAL INC                              P O BOX 7776                                                                                                        CAROLINA           PR         00986‐0000
  706474 M. V. REPAIR                                  P.O. BOX 30776 65INF. STA                                                                                           RIO PIEDRAS        PR         00929‐1776
  706475 M.A. INTERNATIONAL CORP.                      PO BOX 1662                                                                                                         SAN JUAN           PR         00902
  706476 M.A.H. CONSTRUCTION INC.                      PO BOX 5353                                                                                                         SAN JUAN           PR         00919
  706477 M.C. DISTRIBUTORS                             PO BOX 3852                                                                                                         MAYAGUEZ           PR         00681
  706478 M.C. SECURITY SERVICES INC.                   URB UNIVERSITY GDNS         278 AVE JESUS T PINERO                                                                  SAN JUAN           PR         00927
  831470 M.M. Control Security Services                PO Box 1917                                                                                                         Guaynabo           PR         00970
  288135 M.M. SUPPLY, INC.                             PO BOX 37384                                                                                                        SAN JAUN           PR         00913‐0000
  706480 M.P.A. AUTO PARTS INC                         LAS LOMAS                   1710 AVE PINERO                                                                         SAN JUAN           PR         00921
  706482 M.QUILINCHINI SUCRS INC                       URB SANTA MARIA             A12 CALLE FERROCARRIL                                                                   PONCE              PR         00731
  706483 M.R. FRANCESCHINI                             PO BOX 13696                                                                                                        SAN JUAN           PR         00908
  288136 M.R. FRANCESCHINI , INC                       611 CONDADO AVE                                                                                                     SAN JUAN           PR         00907

   288137 M.ROSARIO GONZALEZ, CARMEN REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   288138 M.S. BOOKS INC.                              PMB 561                     138 WINSTON CHURCHILL AVE.                                                              SAN JUAN           PR         00926
   706484 M.T. VIGUIE INC.                             PO BOX 361903                                                                                                       SAN JUAN           PR         00936
                                                       URB MANSIONES DE LOS CEDROS
   288140 M2 SCHOOL & OFFICE SUPPLY                    #135 CALLE CAOBA                                                                                                    CAYEY              PR         00736
   288141 M8A SERVICE CORP                             PO BOX 1359                                                                                                         GURABO             PR         00778
   288142 M8A SERVICES, CORP.                          PO BOX 1359                                                                                                         GURABO             PR         00778
   706485 MA CARIBBEAN CORP                            PO BOX 6120                                                                                                         CAGUAS             PR         00726

   706487 MA INTERIORS CONTRACTORS   JDNES DE COUNTRY CLUB       BY 11 CALLE 129                                                                                           CAROLINA           PR         00983
          MA INTERIORS CONTRACTORS & JARDINES DE COUNTRY CLUB BY
   288145 CO.                        11 CALLE 129                                                                                                                          CAROLINA           PR         00983

   706489 MA OSAMA INC                                 URB LOS MAESTROS            B 7733 CALLE DR TOMMAYRACK                                                              PONCE              PR         00717‐0223
   706490 MA SOCORRO LOPEZ                             VILLAS DEL REY              3 A 9 ASTURIAS                                                                          CAGUAS             PR         00725
   288147 MA VICTORIA VALDES                           REDACTED                    REDACTED                   REDACTED                              REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   706491 MAACO AUTO PAINTING                          COUNTRY CLUB DEVELOPMENT    LOTE 201 CALLE 272                                                                      CAROLINA           PR         00983
   706492 MAACO AUTO PAITING                           VILLA BLANCA                B 106 CALLE A                                                                           CAGUAS             PR         00725
   288148 MAACO PONCE                                  PO BOX 10549                                                                                                        PONCE              PR         00732
   288151 MAARA CORP                                   PO BOX 364225                                                                                                       SAN JUAN           PR         00936
   706494 MABBY ART PHOTOGRAPHY                        SANTA ROSA                  16‐26 AVE AGUAS BUENAS                                                                  BAYAMON            PR         00959
   288154 MABECA CANDELARIA RIVERA                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   288155 MABEL A VIDAL MARTINEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   706497 MABEL ASENCIO NEGRON                         BO EL SECO                  59 CALLE MAGALLANES                                                                     MAYAGUEZ           PR         00680
   706498 MABEL BAEZ CRUZ                              BO LAS CUEVAS               BOX 305                                                                                 LOIZA              PR         00772

   706499 MABEL BORRERO FERNANDEZ                      VALLE ALTO                  1317 CALLE CORDILLERA                                                                   PONCE              PR         00730‐4124
   288158 MABEL CAMILO NIEVES                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   288159 MABEL CORTES ABREU                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   706502 MABEL CRESCIONI BENITEZ                      PRADO ALTO                  L 42 CALLE 7                                                                            GUAYNABO           PR         00966
   288160 MABEL DAVILA SANDOZ                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   706503 MABEL DIAZ JIMENEZ                           HC‐02 BOX 8831‐7                                                                                                    QUEBRADILLAS       PR         00678
   706504 MABEL DIAZ PAOLI                             BOX 1421                                                                                                            LARES              PR         00669
   706505 MABEL DUVIC PLA                              703 CALLE CENTRAL                                                                                                   SAN JUAN           PR         00907
   288161 MABEL E. VIDAL RODRIGUEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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                                                      RES VILLAS DEL CARIBE 1 APTO
   706506 MABEL ESCALERA MERCADO                      10                                                                                                                      PONCE               PR       00731
   288162 MABEL FARIA BORRERO                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   706507 MABEL FIGUEROA BONILLA                      URB TOA ALTA HEIGHTS           AR 42 CALLE 35                                                                           TOA ALTA            PR       00953
   706509 MABEL FONSECA RAMIREZ                       CAPARRA TERRACE                767 CALLE 15 SO                                                                          SAN JUAN            PR       00921
   706510 MABEL GARCIA CONCEPCION                     BO LA MAYOR                    14 CALLE B                                                                               ISABELA             PR       00662
   706511 MABEL GONZALEZ COTTO                        BO CERTENEJAS II               BOX 6928                                                                                 CIDRA               PR       00739
   288163 MABEL GONZALEZ DE PINERA                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   706512 MABEL GONZALEZ MERCADO                      BOX 1116                                                                                                                ARECIBO             PR       00613
   706513 MABEL GONZALEZ REYES                        HC 2 BOX 7777                                                                                                           AIBONITO            PR       00705
   288164 MABEL I AGUILA CANDELARIA                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   288165 MABEL JIMENEZ MIRANDA                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   706515 MABEL LAPORTE HERNANDEZ                     164 CALLE NEMESIO CANALES                                                                                               MOCA                PR       00676
   706516 MABEL LOPEZ CHAEZ                           CIUDAD MASSO                   D 5 CALLE 9                                                                              SAN LORENZO         PR       00754
   706517 MABEL MACHIN COLLAZO                        URB GRAN VISTA I               17 CALLE C                                                                               GURABO              PR       00778
   706518 MABEL MALAVE QUILES                         BOX 91                                                                                                                  SAN SEBASTIAN       PR       00685
   706520 MABEL MARTINEZ ANAYA                        COM MIRAMAR                    696‐46 CALLE GARDENIA                                                                    GUAYAMA             PR       00784
   288167 MABEL MARTINEZ CRESPO                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   706522 MABEL MARTINEZ MOLINA                       P O BOX 1245                                                                                                            SABANA SECA         PR       00952‐1245
   706523 MABEL MARTIR VALENTIN                       PO BOX 5146                                                                                                             SAN SEBASTIAN       PR       00685
   288168 MABEL MATEO GARCIA                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   288169 MABEL MORALES RIVERA                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   288170 MABEL MORALES SOTO                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   288171 MABEL MORALES VARGAS                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   706525 MABEL NATALI LUGO                           URB METROPOLIS                 2A 36 CALLE 32 A                                                                         CAROLINA            PR       00987
   706526 MABEL OLIVIERI                              HC 01 BOX 3991                                                                                                          VILLALBA            PR       00766
   288172 MABEL ORTIZ ACEVEDO                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   288174 MABEL OSORIO CASTRO                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   288175 MABEL PADILLA BAEZ                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   288176 MABEL PEREZ                                 REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   706527 MABEL PLAZA MERCADO                         MARINA STATION                 BOX 6899                                                                                 MAYAGUEZ            PR       00681‐6899
   706528 MABEL R VAZQUEZ ESTRELLA                    VILLA MARINA VILLAGE           APT 20 B                                                                                 FAJARDO             PR       00738
   706529 MABEL REYES GONZALEZ                        BO PALMAS                      PO BOX 1225                                                                              BARCELONETA         PR       00617
   288177 MABEL RIVERA ZAYAS                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   706531 MABEL RODRIGUEZ CRUZ                        1600 RAMAL 842 BOX 504                                                                                                  SAN JUAN            PR       00926
   706532 MABEL RODRIGUEZ TIRADO                      URB FLAMBOYAN GARDENS          D 33 C/ 6                                                                                BAYAMON             PR       00959
   706533 MABEL RODRIGUEZ TORO                        HC 02 BOX 8508                                                                                                          HORMIGUEROS         PR       00660
   288179 MABEL ROMAN PADRO                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED

   288180 MABEL ROUBERT HERNANDEZ                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                     R5 CALL F URB BAIROA GOLDEN
   706534 MABEL ROVIRA MILLAN                         GOLDEN GATE 2                  GATE II                                                                                  CAGUAS              PR           00725
   706535 MABEL SANCHEZ ROSA                          URB EL CEREZAL                 1709 CALLE ORINOCO                                                                       SAN JUAN            PR           00926
   288181 MABEL SANTIAGO RAMIREZ                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288182 MABEL SANTOS RODRIGUEZ                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MABEL SOTOMAYOR
   288183 HERNANDEZ                                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288184 MABEL T RIVERA VARGAS                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   288185 MABEL VALENTIN ECHEVARRIA                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      COND JARDINES
   706537 MABEL VARELA DE LA VEGA                     METROPOLITANOS 2               APT 7E                                                                                   SAN JUAN            PR           00927
   706538 MABEL VAZQUEZ TORRES                        FERNANDEZ JUNCOS STATION       PO BOX 8909                                                                              SAN JUAN            PR           00910



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  288186 MABEL VAZQUEZ VAZQUEZ                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  706539 MABEL VELEZ SUAREZ                           P O BOX 303                                                                                                             SAN ANTONIO          PR         00690‐0303
  706540 MABEL Y GONZµLEZ CRESPO                      URB ESTANCIAS DEL RIO         874 CALLE CERILLOS                                                                        HORMIGUEROS          PR         00660
  706495 MABEL Z CALDERON CRUZ                        HC 2 BOX 5580                                                                                                           COMERIO              PR         00782
  706541 MABEL Z CAMPOS LOPEZ                         COND LAGUNA GARDENS           III 3 AVE LAGUNA APT G 2                                                                  CAROLINA             PR         00979
  288187 MABELIN REYES RODRIGUEZ                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  706542 MABELINE GARCIA PENA                         PO BOX 142437                                                                                                           ARECIBO              PR         00614
  288188 MABELIS PLANTS                               P O BOX 362956                                                                                                          SAN JUAN             PR         00936
  706544 MABELLE A BELLO BUSUTIL                      75 CARR VALDES                                                                                                          ADJUNTAS             PR         00601
  706546 MABELLE RIOS RIVERA                          COLINAS DE GUAYNABO           7 2T CALLE HUCAR                                                                          GUAYNABO             PR         00969
  288189 MABEL'S PLANTS                               PO BOX 362956                                                                                                           BAYAMON              PR         00936
  706547 MABELYN LOPEZ COLON                          HC 44 BOX 12656                                                                                                         CAYEY                PR         00736

   706548 MABEN FIGUEROA RODRIGUEZ                    P O BOX 1593                                                                                                            MAYAGUEZ             PR         00981
   706549 MABLE CAO                                   URB MONTECASINO               158 CALLE CEDRO                                                                           TOA ALTA             PR         00949
   706550 MABLE COTTO                                 LOS LAURELES                  EDIF 3 APT 58                                                                             CUPEY                PR         00926
   288190 MABODAMACA INC                              PO BOX 1                                                                                                                ISABELA              PR         00662‐0001
                                                      CENTRO COMERCIAL LAS
   706551 MABRI SUPERMARKET INC                       FUENTES                                                                                                                 TOA ALTA             PR         00953
   706552 MAC CHEMICALS INC                           PO BOX 363841                                                                                                           SAN JUAN             PR         00936
   288195 MAC CLIMBER INC                             PO BOX 1577                                                                                                             GUAYNABO             PR         00970‐1577
   706554 MAC COMPUTER SCHOOL                         1357 AVE ASHFORD # 357                                                                                                  SAN JUAN             PR         00907
   288196 MAC DONALD ELECTRIC INC                     PO BOX 51432                                                                                                            TOA BAJA             PR         00950‐1432
   288197 MAC GRAW HILL                               COOKIE BRATWICH               555 MIDDLE CEEK PARK WAY                                                                  COLORADO SPRINGS     CO         80935‐3530
   288198 MAC HOUSE DE PR INC                         PMB SUITE 256                 90 AVE RIO HONDO                                                                          BAYAMON              PR         00961‐3113
   288199 MAC LINE INC                                URB CROWN HILS                138 AVE WISTON CHURCHILL                                                                  SAN JUAN             PR         00926‐6023
   706555 MAC MECHANICAL INC                          PMB 212                       1353 RD 19                                                                                GUAYNABO             PR         00966‐2700
   288201 MAC STATION                                 PO BOX 190495                                                                                                           SAN JUAN             PR         00919‐0495
   706556 MAC SUPPORT                                 PO BOX 194000                                                                                                           SAN JUAN             PR         00919

   706557 MACA TOOLS & EQUIPMENT INC PMB 419                                        PO BOX 6017                                                                               CAROLINA             PR         00984
   288204 MACAM S.E.                 P.O. BOX 360151                                                                                                                          SAN JUAN             PR         00936

   706558 MACANICA EDGAR                              BUZON 7004 BO. CERTENEJAS 2                                                                                             CIDRAS               PR         00739
   706560 MACARIBE II                                 P O BOX 2327                                                                                                            TOA BAJA             PR         00759‐2237
   706561 MACARIO CESARIO RIVERA                      BO GUAVATE 22550                                                                                                        CAYEY                PR         00736

   706562 MACBETH RAMOS SEPULVEDA                     P O BOX 366665                                                                                                          SAN JUAN             PR         00936‐6665
   706563 MACC CANOVANAS INC                          HC 83 BOX 6372                                                                                                          VEGA ALTA            PR         00692
   706564 MACCAFERRI GABIONS INC.                     PO BOX 20956                                                                                                            SAN JUAN             PR         00928

   288207 MACCAFERRI INC                              PMB 298‐200                   AVE RAFAEL CORDERO SUITE 140                                                              CAGUAS               PR         00725‐3757
          MACDONALL BOYD AND
   706566 ASSOCIATES                                  3507 46TH AVE N E                                                                                                       SEATTLE              WA         98105

   706567 MACELI CRUZADO RODRIGUEZ                    RAMIREZ DE ARRELLANO          EDIF 2 APT 3 6                                                                            MAYAGUEZ             PR         00680

   288224 MACETEROS VEGA ALTA AA INC                  PO BOX 911                                                                                                              VEGA ALTA            PR         00692
   706568 MACGREGOR ELECTRIC SE                       713 CALLE ANDALUCIA                                                                                                     SAN JUAN             PR         00920

   288227 MACGREGOR MEDICAL CENTER                    MEDICAL RECORDS               9969 FREDERICKSBURG RD                                                                    SAN ANTONIO          TX         78240‐4106
   288344 MACHADO PIRIS, WILLY E.                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED




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   288348 MACHADO RAMOS MD, GLADYS REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   288383 MACHADO SANTANA, KARLA M. REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   288401 Machado‐Maldonado, Brunilda                 REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MACHE TECHNICAL PRODUCTS
   288411 CORP                                        P O BOX 363506                                                                                                       SAN JUAN             PR           00936‐3506
          MACHE TECHNICAL PRODUCTS
   706569 CORP.                                       P O BOX 3506                                                                                                         SAN JUAN             PR           00936
          MACHE TECHNICAL PRODUCTS
   288412 CORPORATION                                 PO BOX 363506                                                                                                        SAN JUAN             PR           00936‐3506
   706570 MACHO GOMAS                                 HC‐01 BOX 26761                                                                                                      CAGUAS                            00725‐8932
   288477 MACHOUSE DE PR                              AVE COMERIO #EA30                                                                                                    BAYAMON              PR           00961
          MACHOUSE DE PR INC
   706571 /WILFREDO SEGARRA                           PO BOX 9023385                                                                                                       SAN JUAN             PR           00902‐3385
   706573 MACIEL MILAN ZAYAS                          100 CALLE VIRTUD                                                                                                     PONCE                PR           00731
   706574 MACK H ROBERTS                              HACIENDA MARGARITA           21 CALLE INGENIO                                                                        LUQUILLO             PR           00773
   706575 MACK ROSADO SANTIAGO                        BOX 716                                                                                                              TOA ALTA             PR           00953
          MACKENZIE MARIN MD,
   288560 BETZAIDA                                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   288567 MACMILLAN PUB CO                            866 THIRD AVENUE                                                                                                     NEW YORK             NY           10022
   706576 MACMILLAN PUBLISHING CO                     PO BOX 7777 W‐8775                                                                                                   PHILADELPHIA         PA           19175
   706577 MACMILLAN PUBLISHING, CO.                   866 THIRD AVE                                                                                                        NEW YORK             NY           10022
          MACNID ENTERPRISES / ZONA
   288568 INFANTIL EDUC                               URB FLORAL PARK              434 C/ LUIS LLORENS TORRES                                                              SAN JUAN             PR           00917
   706578 MACOGENE SEEDS                              P.O. BOX 289                                                                                                         SANTA ISABEL         PR           00757
   706579 MACRO 4 INC.                                35 WATERVIEW BOULEVARD       PO BOX 292                                                                              PARSIPPANY           NJ           07054‐0292

   706580 MACRO ELECTRIC SERVICE INC                  21 CALLE ORIENTE SUR                                                                                                 MAYAGUEZ             PR           00680
   288571 MACRO INTERNATIONAL INC                     P O BOX 7777 W 510546                                                                                                PHILADELPHIA         PA           19175‐0546
   288572 MACRO MIX INC                               PMB 265 PO BOX 5103                                                                                                  CABO ROJO            PR           00623
   288573 MACROLOOP INC                               262 VALLES DE TORRIMAR                                                                                               GUAYNABO             PR           00966
   288574 MACROMEDIA                                  PO BOX 414093                                                                                                        BOSTON               MA           02241‐4093
   288575 MACS PLACE                                  8461 154TH AVENUE                                                                                                    REDMOND              NY           98052
   706584 MACSTATION                                  PO BOX 190551                                                                                                        SAN JUAN             PR           00919‐0551

   288577 MACYS H BATISTA DIAZ                        19 CONDOMINIO LOMAS DE RIO   GRANDE                                                                                  RIO GRANDE           PR           00745
   706586 MACYS PLAZA LAS AMERICAS                    525 FD ROOSEVELT AVE                                                                                                 SAN JUAN             PR           00918
   706587 MAD MANAGEMENT INC                          P O BOX 4956 PM B 747                                                                                                CAGUAS               PR           00726
                                                      1883 GLASGOW AVE COLLEGE
   706588 MAD SCIENCES P R                            PARK                                                                                                                 SAN JUAN             PR           00921
   288578 MADAHI BAEZ GOMEZ                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   288579 MADAI DIAZ CAMACHO                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   706589 MADAI SOTO RAMOS                            PO BOX 4363                                                                                                          CAROLINA             PR           00984
   288580 MADAY DE LEON SEIJO                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   706590 MADAY INC.                                  PO BOX 1737                                                                                                          COAMO                PR           00769
   288581 MADDE L LUCENA RIVERA                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MADDELIN MORALES
   288582 BETANCOURT                                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   288583 MADDIE PIBERNUS JIMENEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   706592 MADE IN BORIKEN                             PO BOX 1389                                                                                                          VEGA BAJA            PR           00694
   706593 MADEARTE CORP                               PO BOX 3947                                                                                                          BAYAMON              PR           00957



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          MADECO MADERAS
   706594 DECORATIVAS                                 P O BOX 193498                                                                                              SAN JUAN            PR           00919‐3498
   706596 MADEDERAS 2000, INC.                        PO BOX 470             SAINT JUST STATION                                                                   TRUJILLO ALTO       PR           00978
   706597 MADEIRA CORP                                HC‐6 BOX 76000                                                                                              CAGUAS              PR           00725

   288589 MADELAINE NADAL ARRILLAGA                   REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   288590 MADELAYD SANTIAGO SEGARRA REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   288591 MADELEINE A CANCEL BLASINI                  REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288592 MADELEINE ALICEA NEGRON                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MADELEINE E VELAZQUEZ
   706598 RIVERA                                      URB MONTEHIEDRA        115 CALLE GUARAGUAO                                                                  SAN JUAN            PR           00926

   288594 MADELEINE MEDINA MELENDEZ REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288595 MADELEINE PEREZ RAMIREZ   REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   706600 MADELEINE VELASCO ALVARADO URB VALLE VERDE                         1020 PASEO REAL                                                                      PONCE               PR           00716
   706601 MADELENE DIAZ MIRANDA      PO BOX 143572                                                                                                                ARECIBO             PR           00614‐3572

   288596 MADELENE PEREZ RODRIGUEZ                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288597 MADELEY MD , PAUL E                         REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288598 Madelin E. VillafaNe Otero                  REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706602 MADELIN GARCIA GONZALEZ                     HC 2 BOX 6395                                                                                               RINCON              PR           00677
   288599 MADELIN ORTIZ ORTOLAZA                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706604 MADELINA ALICEA MORALES                     P O BOX 8848                                                                                                HUMACAO             PR           00791
   706605 MADELINA CRUZ RODRIGUEZ                     HC 03 BOX 8901                                                                                              LARES               PR           00669
   706606 MADELINA E ORTIZ OJEDA                      HC 5 BOX 62662                                                                                              MAYAGUEZ            PR           00680‐9450

   706608 MADELINE ACEVEDO GONZALEZ                   P O BOX 34119          H BUCHANAN                                                                           SAN JUAN            PR           00934
   288601 MADELINE AGOSTO CABRERA                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706610 MADELINE AGUDO GONZALEZ                     4 CALLE VISTA ALEGRE                                                                                        AGUADA              PR           00602
   288602 MADELINE AGUILA RIVERA                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706612 MADELINE ALBARRAN                           10 CALLE JOSE M VEGA                                                                                        CAMUY               PR           00627
   706613 MADELINE ALICEA BERDECIA                    PO BOX 653                                                                                                  BARRANQUITAS        PR           00794
          MADELINE ALMODOVAR
   288603 MORALES                                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706614 MADELINE ALVARADO LOPEZ                     URB MADELINE           L 27 CALLE 17                                                                        TOA ALTA            PR           00953
                                                                             728 CALLE BARTOLOME LAS
   706615 MADELINE ALVAREZ                            BO OBRERO              CASA                                                                                 SAN JUAN            PR           00915
   706617 MADELINE ALVAREZ DIAZ                       HC 02 BOX 9726                                                                                              JUNCOS              PR           00777‐9603

   288604 MADELINE ALVAREZ MAYSONET REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288605 MADELINE ALVAREZ ORTIZ    REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706618 MADELINE ALVAREZ ROCHE    PO BOX 1915                                                                                                                   JUANA DIAZ          PR           00795

   288607 MADELINE ANDUJAR PACHECO                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288608 MADELINE APONTE ROSARIO                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706620 MADELINE APONTE VAZQUEZ                     PMB 449 PO BOX 4956                                                                                         CAGUAS              PR           00726‐4956
   288611 MADELINE ARNAU TRINIDAD                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MADELINE AYALA
   706622 CARRASQUILLO                                VILLA SANTOS           MEDIANIA ALTA                                                                        LOIZA               PR           00772
   706623 MADELINE AYALA PEREZ                        HORMIGUEROS APT        EDIF A APT 10                                                                        HORMIGUEROS         PR           00660



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  706624 MADELINE AYALA SALGADO                       P O BOX 952                                                                                                          TOA ALTA             PR           00954

   706625 MADELINE BADILLO MEDINA                     232 AVE ELEONOR ROOSEVELT                                                                                            SAN JUAN             PR           00907
   706626 MADELINE BAEZ RODRIGUEZ                     BDA BUENA VISTA              709 CALLE 2                                                                             SAN JUAN             PR           00915

   288614 MADELINE BARRETO CARABALLO REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   706627 MADELINE BASCO TORRES      A 3 REPTO SAN ANTONIO                                                                                                                 BARRANQUITAS         PR           00794
   706628 MADELINE BELTRAN RIVERA    HC 2 BOX 19817                                                                                                                        SAN SEBASTIAN        PR           00685

   706629 MADELINE BENITEZ HANI                       CONDOMINIO QUINTANA A1214                                                                                            SAN JUAN             PR           00917‐4766
   288615 MADELINE BERMUDEZ PADUA                     REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   706630 MADELINE BETANCOURT                         RR 6 BOX 10949                                                                                                       SAN JUAN             PR           00926
   706632 MADELINE BORGES                             HC 40 BOX 44328                                                                                                      SAN LORENZO          PR           00754
   706633 MADELINE BRUNO CINTRON                      RR 1 BOX 11201                                                                                                       MANATI               PR           00674
   288616 MADELINE BURGOS                             REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   288617 MADELINE BURGOS MIRANDA                     REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   706636 MADELINE BURGOS RIVERA                      PO BOX 132                                                                                                           COAMO                PR           00769
   706637 MADELINE CALDERON RESTO                     CSM San Patricio                                                                                                     Hato Rey             PR           00936
   706639 MADELINE CAMACHO RIVERA                     PARC AMADEO               4 CALLE E 4                                                                                VEGA BAJA            PR           00693
   706640 MADELINE CAMPOS COLON                       7 AVE 2DO RUIZ ROSA                                                                                                  SAN SEBASTIAN        PR           00685
   706641 MADELINE CANA RUIZ                          URB CUIDAD UNIVERSITARIA  F 20 CALLE A OESTE                                                                         TRUJILLO ALTO        PR           00976

   288618 MADELINE CANCHANY MARRERO REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   706643 MADELINE CARABALLO        PO BOX 21365                                                                                                                           VEGA ALTA            PR           00692
          MADELINE CARDALDA
   706644 HERNANDEZ                 CAPEEZ LAS PIEDRAS                                                                                                                     HATILLO              PR           00659
   706645 MADELINE CARDONA PEREZ    PO BOX 362536                                                                                                                          SAN JUAN             PR           00936‐2536
   288619 MADELINE CARRASCO DIAZ    REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
                                                                                   AVE HOSTOS 180‐190 APT SGB
   706646 MADELINE CARRERO NIEVES                     COND MONTE SUR               18                                                                                      SAN JUAN             PR           00918
   288620 MADELINE CASIANO SUAREZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   288621 MADELINE CASTELLANO VELEZ                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   706649 MADELINE CASTRO                             PO BOX 622                                                                                                           NARANJITO            PR           00719

   288622 MADELINE CINTRON SANTIAGO                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   288623 Madeline Clavell Ayala                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   706650 MADELINE COLLAZO RIVERA                     HC 01 BOX 4153                                                                                                       UTUADO               PR           00641‐9605
   706651 MADELINE COLON GARCIA                       HC 763 BOX 4160                                                                                                      PATILLAS             PR           00723
   706652 MADELINE COLON PEREZ                        513 CESAR GONZALEZ                                                                                                   SAN JUAN             PR           00918
   706653 MADELINE COLON RIVERA                       RR 2 BOX 6268                                                                                                        TOA ALTA             PR           00953
   771139 MADELINE COLON SANTIAGO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   288625 MADELINE CORDOVA SANTIAGO REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          MADELINE CORNIER
   706655 MALDONADO                 HC 01 BOX 3118                                                                                                                         UTUADO               PR           00641
   706656 MADELINE CORREA SERRANO   PO BOX 143686                                                                                                                          ARECIBO              PR           00614

   706657 MADELINE CORTES                             20 CALLE AMERICO RODRIGUEZ                                                                                           ADJUNTAS             PR           00601
   288627 MADELINE COTTO AGOSTO                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   706658 MADELINE COTTO LOPEZ                        PO BOX 711                                                                                                           AGUAS BUENAS         PR           00703
   288628 MADELINE CRESPO                             REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   288629 MADELINE CRESPO ACEVEDO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED



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  706659 MADELINE CRESPO CRUZ                         COND VISTAMAR PLAZA       APTO C 118                                                                            CAROLINA           PR         00983
  706660 MADELINE CRESPO VARGAS                       SAINT JUST                52 B CALLE 1 DE BETANIA                                                               TRUJILLO ALTO      PR         00929
  706661 MADELINE CRISPIN LOPEZ                       URB VILLA CONTESA         N 13 CALLE YORK                                                                       BAYAMON            PR         00957
  706662 MADELINE CRUZ FLORES                         HC 04 BOX 47604                                                                                                 CAGUAS             PR         00725
  288630 MADELINE CRUZ GONZALEZ                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  706664 MADELINE CRUZ MELENDEZ                       COND. ALTOS DE TORRIMAR   90 C/ CARIBE APT 133                                                                  BAYAMON            PR         00959
  706665 MADELINE CRUZ ORTEGA                         HC 2 BOX 72305                                                                                                  CIALES             PR         00638
  288631 Madeline Cruz Rivera                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   288632 MADELINE CUADRADO RAMIREZ REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   706667 MADELINE CURBELO VAZQUEZ                    LOMAS VERDES              4 M 30 CALLE OLIVA                                                                    BAYAMON            PR         00956
   288634 MADELINE D ESTEBAN VEGA                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   706668 MADELINE DAVILA                             A 6 URB MADRID                                                                                                  HUMACAO            PR         00791

   288635 MADELINE DE JESUS BORRERO                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   706669 MADELINE DE LEON GARCIA                     PO BOX 6912                                                                                                     CAGUAS             PR         00725

   288636 MADELINE DEL VALLE ROSADO                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   706670 MADELINE DIAZ GARCIA                        3RA EXT P R               I D CALLE 229                                                                         CAROLINA           PR         00982
   288638 MADELINE E AYALA ZAYAS                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   288639 MADELINE E BARRETO ROMAN                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          MADELINE E LAUREANO
   706673 SANCHEZ                                     PO BOX 12052 LOIZA STA                                                                                          SAN JUAN           PR         00914
   288640 MADELINE E. SOTO VEGA                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   706674 MADELINE ESCALANTE QUILES                   SANTA JUANITA             DD 28 CALLE 30                                                                        BAYAMON            PR         00956
   706675 MADELINE ESTRADA REYES                      RESIDENCIAL LOS ROSALES   EDIF 3 APT 18                                                                         TRUJILLO ALTO      PR         00976
   706678 MADELINE FELIX BENITEZ                      RES SABANA ABAJO          APT 198 EDIF 21                                                                       CAROLINA           PR         000987
   288641 MADELINE FENEQUE CARO                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   288642 MADELINE FIGUEROA                           REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          MADELINE FIGUEROA
   706679 HERNANDEZ                                   JOSE MERCADO              U 47 CALLE ROOSEVELT                                                                  CAGUAS             PR         00726
          MADELINE FIGUEROA
   288643 MALDONADO                                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   288645 MADELINE FIGUEROA SANTIAGO REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   706680 MADELINE FIGUEROA VAZQUEZ                   P O BOX 402                                                                                                     LUQUILLO           PR         00773
   288646 MADELINE FLORES GUZMAN                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   288647 MADELINE G OTERO PADILLA                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   706681 MADELINE GALARZA                            HC 4 BOX 40406                                                                                                  HATILLO            PR         00659
   288648 MADELINE GARCIA CRUZ                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   288649 MADELINE GARCIA GONZALEZ                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   706684 MADELINE GARCIA MORALES                     HC 4 BOX 4060                                                                                                   HUMACAO            PR         00791
   288650 MADELINE GARCIA RIVERA                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   706686 MADELINE GERENA ESQUILIN                    PARCELAS HILLS BROTHERS   49 CALLE 15                                                                           SAN JUAN           PR         00924

   288651 MADELINE GOMEZ CORCHADO                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   706687 MADELINE GOMEZ LEANDRY                      VALLE TOLIMA              J 16 CALLE MYRNA VAZQUEZ                                                              CAGUAS             PR         00725
   706688 MADELINE GOMEZ SANTOS                       URB VILLA GRILLASCA       1345 C/ EDUARDO CUEVAS                                                                PONCE              PR         00717
   706607 MADELINE GONZALEZ                           PO BOX 2801                                                                                                     SAN SEBASTIAN      PR         00685



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  706689 MADELINE GONZALEZ                            COND MELLIYAN             APT 1201                                                                          SAN JUAN            PR           00920

   288652 MADELINE GONZALEZ BERRIOS                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   288654 MADELINE GONZALEZ DE JESUS                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   288655 MADELINE GONZALEZ MEDINA                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   706691 MADELINE GONZALEZ QUINTANA HC 1 BOX 2884                                                                                                                FLORIDA             PR           00650

   288656 MADELINE GONZALEZ SANTIAGO REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MADELINE GUADARRAMA
   706694 NEVAREZ                    PAJAROS CANDELARIA                         CARR 863 KM 0 H 9                                                                 TOA BAJA            PR           00949
   288657 MADELINE GUERRA VEGA       REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MADELINE GUILLOTY
   288658 CARABALLO                  REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   288659 MADELINE GUZMAN DE JESUS   REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   706696 MADELINE GUZMAN NEGRON     BDA BUENA VISTA                            173 CALLE PEPE DIAZ                                                               SAN JUAN            PR           00917

   706697 MADELINE HERNANDEZ FLORES                   P O BOX 1295              PMB 214                                                                           SAN LORENZO         PR           00754

   706698 MADELINE HERNANDEZ GARCIA                   PO BOX 801                                                                                                  LAS PIEDRAS         PR           00771
          MADELINE HERNANDEZ
   288661 HERNANDEZ                                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MADELINE HERNANDEZ
   288662 MARRERO                                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MADELINE HERNANDEZ
   706701 MARTINEZ                                    BOX 2522                                                                                                    GUAYAMA             PR           00785

   288664 MADELINE HERNANDEZ PABON                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   288665 MADELINE HERNANDEZ RIOS                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   706703 MADELINE HERNANDEZ VELEZ                    HC 3 BOX 10079                                                                                              CAMUY               PR           00627

   706704 MADELINE I LLADO RODRIGUEZ                  PO BOX 1325                                                                                                 LARES               PR           00669
          MADELINE I MAYSONET
   706705 GONZALEZ                                    REPARTO TERESITA          AX 9 CALLE 47                                                                     BAYAMON             PR           00961
   288670 MADELINE I. TOLEDO GARCIA                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   706707 MADELINE J ALFONSO ZAMOT                    P O BOX 1142                                                                                                UTUADO              PR           00641
   288671 MADELINE J AVILES VAZQUEZ                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   288672 MADELINE J SEGARRA VELEZ                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   288673 MADELINE JIMENEZ TORRES                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   288674 MADELINE L RUIZ VALENTIN                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   288675 MADELINE LANDRON PEREZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   288676 MADELINE LAVIENA LAVIENA                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   706709 MADELINE LEYRO PALERMO                      BO BALLAJA BOX 515        CARR 313 KM 1 7 INT                                                               CABO ROJO           PR           00623
   706710 MADELINE LLORENS CRUZ                       238 SAN IGENIERO                                                                                            MAYAGUEZ            PR           00680
   288677 MADELINE LLOVET OTERO                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   288678 MADELINE LOPEZ COLON                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   706711 MADELINE LOPEZ ECHEVARRIA                   COND METROPOLITAN TOWER   TORRE 3 APT 1407                                                                  SAN JUAN            PR           00921
   706712 MADELINE LOPEZ FUENTES                      URB SANTA CRUZ            C25 CALLE 3                                                                       BAYAMON             PR           00961
   288679 MADELINE LOPEZ PAGAN                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  706713 MADELINE LOPEZ PARRILLA                      PMB 270                 PO BOX 20000                                                                       CANOVANAS         PR         00729
  288680 MADELINE LOPEZ RODRIGUEZ                     REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  706715 MADELINE LOPEZ SOSA                          HC 1 BOX 7009                                                                                              MOCA              PR         00676
  706716 MADELINE LOPEZ TORRES                        URB VILLA CRISTINA      E 12 CALLE 2                                                                       COAMO             PR         00769
  706717 MADELINE LORENZO SOTO                        PO BOX 897                                                                                                 ARECIBO           PR         00613
  288682 MADELINE LUNA GONZALEZ                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  706718 MADELINE M LOPEZ RAMOS                       PO BOX 1054                                                                                                HATILLO           PR         00659
  288685 MADELINE M MUNIZ DIAZ                        REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  706719 MADELINE M PAGAN RIVERA                      LA CENTRAL              PARC 157 C/ 7                                                                      CANOVANAS         PR         00729
         MADELINE MAGRINA
  288686 VELAZQUEZ                                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         MADELINE MALDONADO
  288688 CABRERA                                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  288689 MADELINE MARCANO RIVERA                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   288690 MADELINE MARQUEZ COLLAZO                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   706722 MADELINE MARQUEZ MERCED                     PMB 521 P O BOX 4956                                                                                       CAGUAS            PR         00726‐4956

   288691 MADELINE MARRERO ACEVEDO                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   706723 MADELINE MARRERO SANTIAGO BO LAMAS H9 CALLE 1                       APARTADO 479                                                                       JUANA DIAZ        PR         00795
   706724 MADELINE MARTI MORALES    URB VILLA VICTORIA                        K 14 CALLE 6                                                                       CAGUAS            PR         00725
   706725 MADELINE MARTINEZ COLON   PO BOX 1104                                                                                                                  COROZAL           PR         00783
          MADELINE MARTINEZ
   706728 HERNANDEZ                 HC 10 BOX 8188                                                                                                               SABANA GRANDE     PR         00637
   288693 MADELINE MARTINEZ ORTIZ   REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   288695 MADELINE MATOS QUILES     REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   288696 MADELINE MATOS RIOS       REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   288697 MADELINE MELENDEZ GONZALEZ REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   288699 MADELINE MERCADO MILLAN    REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   288700 MADELINE MERCED ALAMO      REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706734 MADELINE MOLINA            BRISAS DEL TURABO                        EDIF 8 APTO 55                                                                     CAGUAS            PR         00725

   706735 MADELINE MOLINA VELAZQUEZ BO AMELIA                                 133 AVE PONCE DE LEON                                                              GUAYNABO          PR         00965
          MADELINE MONTALVO
   288701 MONTALVO                  REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   288702 MADELINE MORALES FRATICELLI REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   288703 MADELINE MORALES FUENTES                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   706737 MADELINE MORALES SANTIAGO REPARTO SABANETAS                         G 5 CALLE 3                                                                        PONCE             PR         00715
                                    CAMINO PEDRO VIERA CUPEY
   706738 MADELINE MORALES TORRES   ALTO                                      CARR 176 KM 9.0                                                                    SAN JUAN          PR         00926

   288704 MADELINE MORALES VALENTIN                   REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   706739 MADELINE MORALES VAZQUEZ                    CUH STATION BOX 10163                                                                                      HUMACAO           PR         00792‐1163
   706740 MADELINE MORALES VELEZ                      HC 3 BOX 18098                                                                                             QUEBRADILLAS      PR         00678
   288705 MADELINE MOUNIER RIVERA                     REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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          MADELINE MUNOZ / COOKIES
   288706 COUTINE                                     PTO NUEVO                  411 BALEANES                                                                       SAN JUAN            PR         00920
   288707 MADELINE NIEVES GONZALEZ                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   288708 MADELINE NUNEZ CUEBAS                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   706742 MADELINE OJEDA RIVERA                       HC 05 BOX 62519                                                                                               MAYAGUEZ            PR         00680
   706743 MADELINE ORTIZ BERMUDEZ                     PO BOX 70166                                                                                                  SAN JUAN            PR         00936‐8166
   706744 MADELINE ORTIZ COLON                        HC 2 BOX 8361                                                                                                 AIBONITO            PR         00705

   288709 MADELINE ORTIZ CONCEPCION                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   706745 MADELINE ORTIZ JORGE                        COM LOS PINOS              1013 CALLE ESTRELLA                                                                ISABELA             PR         00662
   288710 MADELINE ORTIZ LOPEZ                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          MADELINE ORTIZ PLAZA/ JOMA
   288711 DESIGN                                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   288712 MADELINE ORTIZ RODRIGUEZ                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   288713 MADELINE ORTIZ ROMAN                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   706747 MADELINE ORTIZ SANCHEZ                      RES YUQUIYU                EDF 5 APTO 28                                                                      LUQUILLO            PR         00723
   288714 MADELINE OTERO RIVERA                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   706750 MADELINE PAGAN MORENO                       HC 58 BOX 15698                                                                                               AGUADA              PR         00602
   706751 MADELINE PEREIRA LUGO                       PO BOX 347                                                                                                    TOA ALTA            PR         00954‐0347
   706752 MADELINE PEREZ ALLENDE                      LEVITTOWN STA              PO BOX 50918                                                                       TOA BAJA            PR         00950
   706753 MADELINE PEREZ DIAZ                         P O BOX 3508                                                                                                  RIO GRANDE          PR         00745

   288715 MADELINE PEREZ HERNANDEZ                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   288717 MADELINE PEREZ MARQUEZ                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   288719 MADELINE PICHARDO RIESTRA                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   706755 MADELINE PIETRI VILLANUEVA                  URB VALLE ARRIBA HEIGHTS   BW 16 CALLE 124                                                                    CAROLINA            PR         00983
   706756 MADELINE PUJAR DIAZ                         PO BOX 757                                                                                                    SAN GERMAN          PR         00683
   706757 MADELINE QUI¥ONES                           HC‐1 BOX 7726                                                                                                 YAUCO               PR         00698
   706758 MADELINE QUILES RIVERA                      URB EL PARAISO             7 CALLE A                                                                          HUMACAO             PR         00791
   288720 MADELINE QUINONES ALICEA                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   288721 MADELINE QUINONES BELEN                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   288722 MADELINE QUINONES ORTIZ                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   706759 MADELINE R MORALES RIVERA                   206 AVE LOS MORA                                                                                              ARECIBO             PR         00612‐9658
   706760 MADELINE RAMOS                              HC 01 BOX 4025                                                                                                YABUCOA             PR         00767‐9608
   288724 MADELINE RAMOS COLON                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   288725 MADELINE RAMOS MARTINEZ                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   288727 MADELINE RAMOS ORTIZ                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   288728 MADELINE RAMOS POLA                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   706762 MADELINE REYES COLON                        BO VEGA REDONDA            HC 1 BOX 4426                                                                      COMERIO             PR         00782
   706764 MADELINE REYES FUENTES                      PO BOX 2849                                                                                                   GUAYNABO            PR         00970
   706767 MADELINE RIVERA                             PO BOX 884                                                                                                    SAN LORENZO         PR         00754
   706769 MADELINE RIVERA APONTE                      URB LOS ROBLES             D14 CALLE 3                                                                        GURABO              PR         00778
   706770 MADELINE RIVERA ARROYO                      8612 HAL CT                                                                                                   ORLANDO             FL         32818‐0000
   288729 MADELINE RIVERA CRUZ                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   706772 MADELINE RIVERA NEGRON                      REPARTO LOPEZ              219 CALLE SANTA ROSA                                                               AGUADILLA           PR         00603
   706773 MADELINE RIVERA OCASIO                      RES LUIS LLOREN TORRES     EDIF 42 APT 858                                                                    SAN JUAN            PR         00913
   288730 MADELINE RIVERA OTERO                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   288732 MADELINE RIVERA QUINONES                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   288733 MADELINE RIVERA RIVAS                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   706775 MADELINE RIVERA RUIZ                        P.O. BOX 439                                                                                                  PONCE               PR         00731



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  288735 MADELINE RIVERA SOLIS                        REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  288736 MADELINE ROBLES QUIROS                       REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  706779 MADELINE ROCHE AMBERT                        HC 01 BOX 6212                                                                                                 SANTA ISABEL       PR         00751
  706780 MADELINE ROCHE DE JESUS                      PO BOX 1651                                                                                                    SANTA ISABEL       PR         00757
  706781 MADELINE RODRIGUEZ                           HC 3 BOX 13895                                                                                                 COROZAL            PR         00783
         MADELINE RODRIGUEZ
  288737 ALEJANDRO                                    REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         MADELINE RODRIGUEZ
  706782 CARABALLO                                    CAFETAL 2             S 1 CALLE CATURRA                                                                        YAUCO              PR         00698
         MADELINE RODRIGUEZ DEL
  706783 VALLE                                        PMB 1448              243 CALLE PARIS                                                                          SAN JUAN           PR         00917‐3632

   706784 MADELINE RODRIGUEZ DONESQ HC 30 BOX 31307                                                                                                                  SAN LORENZO        PR         00754
          MADELINE RODRIGUEZ
   288739 FIGUEROA                  REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MADELINE RODRIGUEZ
   706786 MARTINEZ                  PARCELAS AMADEO 12                      CALLE D                                                                                  VEGA BAJA          PR         00693

   288740 MADELINE RODRIGUEZ OCASIO                   REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   706787 MADELINE RODRIGUEZ PAGAN                    HC 1 BOX 10249                                                                                                 PENUELAS           PR         00624‐9204

   288741 MADELINE RODRIGUEZ RAMOS                    REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   288742 MADELINE RODRIGUEZ RIVAS                    REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   706790 MADELINE RODRIGUEZ RIVERA                   PLAYA CORTADA         128 CALLE LIBERTAD BOX 1297                                                              SANTA ISABEL       PR         00757
          MADELINE RODRIGUEZ
   288743 RODRIGUEZ                                   REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   288744 MADELINE RODRIGUEZ SANCHEZ REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   706792 MADELINE ROMAN MARTINEZ    PO BOX 926                                                                                                                      CAMUY              PR         00627

   288746 MADELINE ROMAN QUINONES                     REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   288747 MADELINE ROMERO ORTEGA                      REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   706793 MADELINE ROQUE CRUZ                         P O BOX 106                                                                                                    ARROYO             PR         00714
   288748 MADELINE ROQUE GARCIA                       REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   288749 MADELINE ROSA COTTO                         REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   288750 MADELINE ROSARIO GOIRE                      REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   288751 MADELINE ROSARIO PEREZ                      REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   288752 MADELINE ROSARIO RUIZ                       REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   706796 MADELINE ROSELLO GARCIA                     RR 8 BOX 1769                                                                                                  BAYAMON            PR         00956
   288753 MADELINE ROSSY RODRIGUEZ                    REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   706798 MADELINE RUIZ ROMERO                        PARCELAS LUISA        6 CALLE OPALO                                                                            MANATI             PR         00674
   288754 MADELINE SAENZ RIVERA                       REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   288755 MADELINE SANCHEZ CRUZ                       REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   288756 MADELINE SANCHEZ MARTINEZ                   REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   288758 MADELINE SANES ROBLES                       REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   288759 MADELINE SANTANA MARTINEZ REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   706803 MADELINE SANTIAGO ARCE    P O BOX 1774                                                                                                                     VEGA ALTA          PR         00692
   288760 MADELINE SANTIAGO GARCIA  REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED




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   288761 MADELINE SANTIAGO SANTIAGO REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   288763 MADELINE SANTIAGO SERRANO                   REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706808 MADELINE SANTOS CARLOS                      QUINTAS DEL RIO K‐6      PLAZA 20                                                                               BAYAMON             PR           00961
   288764 MADELINE SANTOS LOPEZ                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288765 MADELINE SANTOS SANTANA                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   288766 MADELINE SANTOS VALLELLANES REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706809 MADELINE SANZ GUILLOT       PO BOX 8160                                                                                                                     BAYAMON             PR           00960‐8160

   706810 MADELINE SECOLA MARCHESE                    URB EL REMANSO           D22 CALLE CAUCE                                                                        SAN JUAN            PR           00926
   288767 MADELINE SEGARRA TORRES                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288768 MADELINE SEPULVEDA VELEZ                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   706812 MADELINE SERRANO CARRION                    PO BOX 582                                                                                                      DORADO              PR           00646
   706813 MADELINE SERRANO COLON                      1 RES SAN MARTIN                                                                                                JUANA DIAZ          PR           00795

   706815 MADELINE SERRANO RODRIGUEZ URB LAS DELICIAS 420                      CALLE JUAN DAVILA                                                                      PONCE               PR           00728
   706816 MADELINE SERRANO VEGA      P O BOX 42 SABANA HOYOS                                                                                                          ARECIBO             PR           00685
   288769 MADELINE SILVA BARBOSA     REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706817 MADELINE SILVA HEYLIGER    PO BOX 20334                                                                                                                     SAN JUAN            PR           00928
   706818 MADELINE SILVA RODRIGUEZ   URB SANTA ROSA                            D 27 CALLE RITA                                                                        CAGUAS              PR           00725
   706819 MADELINE SOSA ORTIZ        URB LAS AMERICAS                          964 CALLE PUERTO PRINCIPE                                                              SAN JUAN            PR           00921
   706820 MADELINE SOTO BENITEZ      RES LAGOS DE BLASINA                      EDIF 5 APTO 65                                                                         CAROLINA            PR           00985
   706821 MADELINE SOTO PEREZ        BOB 1441                                                                                                                         LARES               PR           00669
   288770 MADELINE SOTO SANTIAGO     REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288772 MADELINE TORO              REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706823 MADELINE TORO MELENDEZ     P O BOX 148                                                                                                                      MAYAGUEZ            PR           00681
   288773 MADELINE TORO PABON        REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706825 MADELINE TORRES COLON      BZN 5 199 GALATEO ALTO                                                                                                           ISABELA             PR           00662
   288775 MADELINE TORRES GARCIA     REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   706826 MADELINE TORRES GONZALEZ                    PO BOX 1719                                                                                                     SAN SEBASTIAN       PR           00685
   288776 MADELINE TORRES LUCIANO                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288777 MADELINE TORRES ORTIZ                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   706829 MADELINE TORRES RODRIGUEZ                   PO BOX 749                                                                                                      HUMACAO             PR           00741
   706830 MADELINE TORRES SANTIAGO                    PO BOX 412                                                                                                      COAMO               PR           00769
   706831 MADELINE TORRES VELEZ                       HC 1 BOX 24503                                                                                                  VEGA BAJA           PR           00693
   706832 MADELINE V TORRES RIVERA                    EXT MANUEL ZENO GANDIA                                                                                          ARECIBO             PR           00612
   706833 MADELINE VALLE                              HC 03 BOX 27865                                                                                                 SAN SEBASTIAN       PR           00685

   288778 MADELINE VAZQUEZ VAZQUEZ                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706836 MADELINE VAZQUEZ VELEZ                      CALLEJON JUAN RAMON      6 PLAYA                                                                                PONCE               PR           00716
   288779 MADELINE VEGA DELGADO                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706838 MADELINE VEGA ROMAN                         URB TIBES                J 15 CALLE 5                                                                           PONCE               PR           00730
   706839 MADELINE VEGA VELEZ                         RES PARQUE DE LAJAS      C 20                                                                                   LAJAS               PR           00667
          MADELINE VELAZQUEZ
   288780 CANDELARIO                                  REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288781 MADELINE VELEZ ARES                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288782 MADELINE VELEZ CAMPOS                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288783 MADELINE VELEZ FLORES                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  706841 MADELINE VERA TORRES                         14 CALLE DEL AGUA URBANO                                                                                         ADJUNTAS          PR         00601
  706843 MADELINE VIDRO PERDOMO                       URB MANSIONES                  NUM 59                                                                            SABANA GRANDE     PR         00637
  288784 MADELINE VILA JIMENEZ                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         MADELINE VILLANUEVA
  288785 MORALES                                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   288786 MADELINE VILLANUEVA NIEVES                  REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   288787 MADELINE VILLEGAS RAMOS                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   288788 MADELINE Z ALICEA COLON                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706845 MADELISA MONROIG LOPEZ                      PO BOX 22100                                                                                                     SAN JUAN          PR         00931‐2100
          MADELISSE MALDONADO
   706847 RIVERA                                      HC 02 BOX 6486                                                                                                   UTUADO            PR         00641
   706848 MADELLINE BENITEZ TORRES                    URB SAN GERARDO                304 CALLE OKLAHOMA                                                                SAN JUAN          PR         00926‐3304
   288790 MADELLINE ESTEVA DELGADO                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   706850 MADELLYN FIGUEROA GONZALEZ EXTENSION ELIZABETH                             341 CALLE AZUCENA                                                                 CABO ROJO         PR         00623
   706851 MADELY HERNANDEZ PADRO     2008 ALLGHERY AVE                                                                                                                 LEBANNON          PA         17042‐8315
   288791 MADELYN ACEVEDO RUIZ       REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MADELYN CALDERON
   288793 HERNANDEZ                  REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706852 MADELYN CASTRO             HC 04 BOX 4201                                                                                                                    HUMACAO           PR         00791‐9506
          MADELYN CASTRODAD
   288794 SANTIAGO                   REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706853 MADELYN COLON ARROYO       URB CASAMIA                                     4721 CALLE PITIRRE                                                                PONCE             PR         00728
   288795 MADELYN CRUZ VALENTIN      REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706854 MADELYN DAVILA APONTE      URB LAS CUMBRES 3 RA SECC                       663 CALLE TAFT                                                                    SAN JUAN          PR         00926

   706855 MADELYN DE JESUS                            K 15 CALLE LIMA CAGUAS NORTE                                                                                     CAGUAS            PR         00626

   706856 MADELYN DE JESUS HERNANDEZ HC 1 BOX 5895                                                                                                                     AIBONITO          PR         00705

   288796 MADELYN DELGADO RODRIGUEZ REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706857 MADELYN E CASTILLO LOPEZ  EL PARAISO                                       1653 CALLE PARANA                                                                 SAN JUAN          PR         00926
          MADELYN ESTREMERA
   288797 SANTIAGO                  REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   288798 MADELYN GARAY DELGADO     REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706858 MADELYN HERNANDEZ CRUZ    PO BOX 7555                                                                                                                        CAROLINA          PR         00986

   288800 MADELYN HERNANDEZ MENDEZ REDACTED                                          REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   706859 MADELYN HERNANDEZ PADRON                    2008 ALLGHENY AVE.                                                                                               LEBANNON          PA         17042‐8315
   288801 MADELYN LAGUNA RIVERA                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706860 MADELYN LOPEZ MORALES                       DIPLO                          M 2 CALLE 15                                                                      NAGUABO           PR         00718
   288802 MADELYN LOPEZ RODRIGUEZ                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MADELYN M SANTIAGO
   288803 ROMERO                                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706861 MADELYN MARTINEZ ROLON                      P O BOX 52                                                                                                       LA PLATA          PR         00786

   706862 MADELYN MONTALVO GARRIGA                    PO BOX 2000 SUITE 20                                                                                             MERCEDITA         PR         00715
   288804 MADELYN MORALES REYES                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706863 MADELYN MOYENO                              B 61 LOARTE                                                                                                      BARCELONETA       PR         00613
   288805 MADELYN ORTIZ BRITO                         REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   706864 MADELYN ORTIZ BRITO`                        HC 4 BOX 4093                                                                                                    HUMACAO           PR         00791



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   706865 MADELYN OSORIO CALDERON                     HC 1 BOX 7904                                                                                                       LOIZA               PR           000772

   288806 MADELYN PADILLA ALMODOVAR REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288808 MADELYN PEDROGO BASCO     REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288809 MADELYN PONCE GONZALEZ    REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288810 MADELYN RAMIREZ APONTE    REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706866 MADELYN RIVERA ACEVEDO    P O BOX 54                                                                                                                            TOA BAJA            PR           00951
   706867 MADELYN RODRIGUEZ         PO BOX 1081 VICTORIA STA                                                                                                              AGUADILLA           PR           00603

   288811 MADELYN RODRIGUEZ APONTE                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   706868 MADELYN RODRIGUEZ ROMAN                     VICTOR ROJAS II              89 CALLE 9                                                                             ARECIBO             PR           00612
   288812 MADELYN ROMAN NIEVES                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288813 MADELYN SANCHEZ OLIVERAS                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288814 MADELYN SANTANA CARPIO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288815 MADELYN SANTIAGO RUIZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288818 MADELYN SEPULVEDA PEREZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706870 MADELYN TORRES OTERO                        HC 01 BOX 3160                                                                                                      VILLALBA            PR           00766
   288819 MADELYN VARGAS RIVERA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   288820 MADELYNE ARROYO CRUZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      COND LOS CAOBOS PLAZA APT
   706873 MADELYNE CAJIGAS MEDINA                     801                                                                                                                 GUAYNABO            PR           00968
          MADELYNE GONZALEZ
   706874 BERNACET                                    RR 01 BOX 39 R                                                                                                      CAROLINA            PR           00983
          MADELYNE MARCHANY
   706875 MERCADO                                     VILLA JUSTICIA               A 5D CALLE PARQUESITO                                                                  CAROLINA            PR           00986
   706877 MADEMOISELLE INC                            PO BOX 9024275                                                                                                      SAN JUAN            PR           00902‐4275
          MADENTA COMMUNICATION
   706878 INC                                         3022 CALGARY TRAIL SOUTH                                                                                            EDMONTON            AB           T6J 6V4       Canada
          MADENTA COMMUNICATIONS
   706879 INC                                         3022 CALGARY TRAIL SOUTH                                                                                            EDMONTON            AB           T6JV4         Canada
   288822 MADERA 3 C                                  PO BOX 11279                                                                                                        SAN JUAN            PR           00922
   288851 MADERA CASTRO, JUAN                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420276 MADERA DEL VALLE, CESAR R.                  GENOVEVA VALENTIN SOTO       PO BOX 13695                                                                           SAN JUAN            PR           00908‐3695
   288907 MADERA MARRERO, ISMAEL                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   URB. CARRIÓN MADURO CALLE 4
  1420277 MADERA ORTIZ, KETTY                         JESÚS MANUEL ROSARIO FÉLIX   NO. 34                                                                                 JUANA DÍAZ          PR           00795
   288986 MADERA SEMIDEY, JULIA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289014 Madera, Nereida                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289017 MADERAS                                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MADERAS 3 C INC/ PURA
   289018 ENERGIA INC                                 AREA DEL TESORO              DIVISION DE RECLAMACIONES                                                              SAN JUAN            PR           00902‐4140
   771161 MADERAS 3C INC                              P O BOX 11279                                                                                                       SAN JUAN            PR           00922
   289020 MADERAS 3C, INC                             PO BOX 11279                                                                                                        SAN JUAN            PR           00922‐1279
   831777 MADERAS 3C, INC.                            Box 11279                                                                                                           San Juan            PR           00922‐1279
   706880 MADERAS DEL ESTE                            HC 3 BOX 6628                                            HUMACAO                                                    HUMACAO             PR           00791
  1256650 MADERAS TRATADAS INC                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289025 MADERERA DON ESTEVES                        PO BOX 29228                                                                                                        SAN JUAN            PR           00929‐0228
   706883 MADERERA DONESTEVEZ INC                     PO BOX 29228                                                                                                        SAN JUAN            PR           00929
   289027 MADERERA HATO REY                           GPO BOX 3416                                                                                                        SAN JUAN            PR           00936
   706884 MADERERAS 2000 INC.                         CAPARRA STATION              PO BOX 11279                                                                           SAN JUAN            PR           00922




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          MADFRE RE COMPANIA DE
   289036 SEGUROS S A                                 PASEO DE RECOLETOS 25                                                                                         MADRID                            28004         SPAIN
   706885 MADGA TRAVELS AGENCY                        21 BETANCES AVE                                                                                               VEGA BAJA            PR           00693
   289037 MADHAVI TORRES CABRET                       URB BALDRICH 224           AGUSTIN STAHL                                                                      SAN JUAN             PR           00918
   706886 MADIA S LOPEZ REYES                         RR 36 BOX 984 A                                                                                               SAN JUAN             PR           00926
   706887 MADIAN ARZOLA CARABALLO                     HC 1 BOX 7197                                                                                                 GUAYANILLA           PR           00656

   706888 MADIAN MORALES HERMANDEZ RR 9 BOX 2493                                                                                                                    AGUADILLA            PR           00603
   289038 MADICELY RIVERA GRAU        REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   706889 MADIE GANDIA RODRIGUEZ      VILLA CAROLINA 234‐28                      CALLE 614                                                                          CAROLINA             PR           00985
   706890 MADIEL CASTRO VELEZ         ADM SERV GEN                               PO BOX 7428                                                                        SAN JUAN             PR           00916‐7428
   289039 MADIEL SERVICE STATION INC  CARR 185 K.12 BO. CEDROS                   BOX 13136                                                                          CAROLINA             PR           00987
   706891 MADIFIDE INC                PO BOX 363222                                                                                                                 SAN JUAN             PR           00936‐3222
   289042 MADILYN DUMENG JUARBE       REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   706892 MADISON MENS SHOP           PO BOX 6187                                                                                                                   BAYAMON              PR           00960
   706893 MADRE ANA MARIA HIDALGO     PO BOX 9066571 PTA TIERRA                                                                                                     SAN JUAN             PR           00906‐6571
          MADRE TERESA CALCUTA VIDA Y
   706894 ESPERANZA                   307 CALLE JOSE OLMO                                                                                                           ARECIBO              PR           00612
          MADRE TIERRA LANDSCAPING & 155 AVE ARTERIAL HOSTOS BOX
   706895 GREENHOUSE                  252                                                                                                                           SAN JUAN             PR           00918‐2996
   706896 MADRID RENTAL               P.O. BOX 331                                                                                                                  JUNCOS               PR           00777
   706897 MADRID TRAVEL               MADRID TRAVEL INC.                         PLAZA 18 LOCAL 4                                                                   SANTURCE             PR           00908
   289064 MADRINA 95                  2008 BEQUER EL SENORIAL                                                                                                       SAN JUAN             PR           00926
          MADRINAS PRO AYUDA
   706899 PACIENTES CON CANCER        PO BOX 362218                                                                                                                 SAN JUAN             PR           00936‐2218
          MADRINAS Y PADRINOS DE
   289065 CIDRA, INC.                 CALLE PALMER # 13                                                                                                             CIDRA                PR           00739
   289068 MADUKA MD, ROSEMARY         REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   289079 MADURO RIVERA MD, SAMUEL I REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   706900 MADZA 2004                 HC‐02 BOX 16439                                                                                                                ARECIBO              PR           00612

   706902 MAEKO AIR CONDITIONING INC                  CALLE ASIA ESQ ARAEZ 112                                                                                      MAYAGUEZ             PR           00680
   289086 MAEL A SOLERO RIVERA                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   706904 MAEL GARCIA ARCE                            COND EL MONTE SUR          APT 129 B                                                                          SAN JUAN             PR           00918

   706905 MAELLYN VALENTIN SANTIAGO                   RUB LA ESPERANZA           T 5 CALLE 17                                                                       VEGA ALTA            PR           00692
   706906 MAELO AUTO                                  BOX 1717                                                                                                      VEGA ALTA            PR           00962
                                                      PMB SUITE 133 90 AVE RIO
   706907 MAELO CONSTRUCTION CORP                     HONDO                                                                                                         BAYAMON              PR           00961‐3113
   706908 MAENS CATERING                              199 BO PALO SECO                                                                                              MAUNABO              PR           00707
   706909 MAES DEVELOPMENT INC                        P O BOX 1096                                                                                                  MANATI               PR           00674

   289091 MAESO GONZALEZ MD, EDWIN                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   289114 MAESTRE GARCIA MD, IVONNE                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   289116 MAESTRE GRAU MD, FEDERICO A REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MAESTROS ASOCIADOS JUNTA
   289142 LOCAL GUAYAMA               REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   706910 MAEVE A SANDIFORD           COND PARK BOULEVARD                        APT 1016                                                                           SAN JUAN             PR           00913
   289144 MAF HEAVENLY GROUP CORP     CALLE ROSSY #29                                                                                                               CABO ROJO            PR           00623




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          MAF HEAVENLY GROUP
   289108 CORPORATION                                 29 CALLE ROSSY                                                                                                   CABO ROJO           PR           00623
   289157 MAGA HOLDING CORP                           PO BOX 68                                                                                                        SAINT JUST          PR           00978‐0068
   289158 MAGADALENA JANIK                            REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   289159 MAGADALIS BARRETO AREIZAGA REDACTED                                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                             K27 CAL 8 #C URB ALTOS DE LA
   706911 MAGAL GONZALEZ                              ALTOS DE LA FUENTE     FUENTE                                                                                    CAGUAS              PR           00725
   289160 MAGALEE ALMODOVAR CRUZ                      REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289162 MAGALI AGUILAR LOPEZ                        REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MAGALI ALBARRAN / MAGALY
   706912 ALBARRAN                                    1625 CALLE TAMESIS                                                                                               SAN JUAN            PR           00926
   289163 MAGALI ALVAREZ MELENDEZ                     REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706915 MAGALI ARRIOLA RENE                         5355 LA CRESTA COURT                                                                                             LOS ANGELES         CA           90038
   289164 MAGALI BENGOCHEA ALBINO                     REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706916 MAGALI BERRIOS RIVERA                       URB CROWN HILL 190     CALLE GUAYANES                                                                            SAN JUAN            PR           00926‐6002
   706918 MAGALI CALO BENITEZ                         P O BOX 2730                                                                                                     JUNCOS              PR           00777
   289165 MAGALI CARDEC VELEZ                         REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MAGALI CARRASQUILLO
   289166 RAMIREZ                                     REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289168 MAGALI CENTENO CENTENO                      LA VEGA                53 C CALLE LUZ                                                                            SABANA SECA         PR           00952
   706920 MAGALI DAVILA ANDUJAR                       URB HNAS DAVILA        B 8 CALLE A                                                                               BAYAMON             PR           00959

   706923 MAGALI DELGADO RODRIGUEZ                    EXT INMACULADA 11      116 CALLE SANTA ISABEL                                                                    LAS PIEDRAS         PR           00771
   289170 MAGALI DIAZ FIGUEROA                        REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706925 MAGALI DIAZ ROSADO                          URB VILLA CAROLINA     76 8 CALLE 24                                                                             CAROLINA            PR           00985
   289171 MAGALI E. LOPEZ COLON                       REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706926 MAGALI FIGUEROA LATONI                      URB SANTA PAULA        1B 14 CALLE LAS COLINAS                                                                   GUAYNABO            PR           00969
   706927 MAGALI GARCIA RAMIS                         PO BOX 9022999                                                                                                   SAN JUAN            PR           00902‐2999
   289172 MAGALI GRATEROLE ROA                        REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706929 MAGALI M GUZMAN JIMENEZ                     5 CALLE BETANCES                                                                                                 CAMUY               PR           00627
   706930 MAGALI MARTINEZ MIRANDA                     RR 1 BOX 12302                                                                                                   OROCOVIS            PR           00720
   289173 MAGALI MARTINEZ SANTA                       REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706931 MAGALI MARTINEZ SANTIAGO                    URB SAN FELIPE         A 24 CALLE 1                                                                              ARECIBO             PR           00612
   706932 MAGALI MEDINA                               BO MANI BOX 5662       SECTOR LA MORA                                                                            MAYAGUEZ            PR           00680
   706934 MAGALI MEDINA RIVERA                        PO BOX 10096                                                                                                     SAN JUAN            PR           00922

   289174 MAGALI MORALES BERMUDEZ                     REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706935 MAGALI MORALES MEDINA                       P O BOX 185                                                                                                      PALMER              PR           00721
   706936 MAGALI PAGAN ARROYO                         EST LA FUENTE          85 DEL REY                                                                                TOA ALTA            PR           00653
   706937 MAGALI QUEVEDO MORALES                      PO BOX 726                                                                                                       BAYAMON             PR           00960
   289175 MAGALI RIVERA RAMOS                         REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706939 MAGALI RIVERA SOLER                         1635 MANATUCK BD                                                                                                 BAYSHORE            NY           11706

   706940 MAGALI RODRIGUEZ                            COND BELLO HORIZONTE   500 CALLE MODESTA APT 2005                                                                SAN JUAN            PR           00924
          MAGALI RODRIGUEZ
   289176 HERNANDEZ                                   REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289177 MAGALI RODRIGUEZ TORRES                     REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706942 MAGALI ROHENA LATIMER                       URB VILLA CAROLINA     12‐156 CALLE 429                                                                          CAROLINA            PR           00985
   706943 MAGALI SANTOS RIVERA                        HC 2 BOX 13768                                                                                                   VIEQUES             PR           00765
   289179 MAGALI SERGILE FILS AIME                    REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289180 MAGALI SERRANO ROSARIO                      REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706944 MAGALI SIMMONS                              P O BOX 201            CALLE 65 INF 169                                                                          VIEQUES             PR           00765



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                                                      CARR 842 KM 3.9 CAMINO LOS
   706946 MAGALIE RAMOS FERREIRA                      REYES                                                                                                          SAN JUAN            PR           00926
   706949 MAGALIE SANTIAGO GARCIA                     RES SABANA ABAJO             EDIF 43 APT 342                                                                   CAROLINA            PR           00983
   289181 MAGALIENID RIVERA RIVERA                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706950 MAGALIS ALMENAS GOMEZ                       HC 20 BOX 28443                                                                                                SAN LORENZO         PR           00754
   289182 MAGALIS CABAN FONTANEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706952 MAGALIS GOMEZ OLIVERO                       HC 02 BOX 7141                                                                                                 UTUADO              PR           00641
   289183 MAGALIS GONZALEZ VARGAS                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   706953 MAGALIS KORTRIGHT                           INTERAMERICANA GARDENS APT EDIF B 20 APT 2B                                                                    TRUJILLO ALTO       PR           00976
   706954 MAGALIS MARCON PEREZ                        COND ROLLING HILLS         APTO A 5 BOX 132                                                                    CAROLINA            PR           00987
   706955 MAGALIS MARTIN MATOS                        URB SANTA ROSA             54 5 CALLE 20                                                                       BAYAMON             PR           00959‐6509
   289184 MAGALIS NUNEZ MERCEDES                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706956 MAGALIS OSORIO BAUZO                        LOIZA VALLEY               223 CALLE GIRASOL E                                                                 CANOVANAS           PR           00729
   289185 MAGALIS PAULINO ESPINAL                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289186 MAGALLY TORRES NEGRON                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MAGALY ACOSTA LA CASITA DEL
   289187 FRAPPE                                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706958 MAGALY ADROVET RIVERA                       LOMAS VERDES 1               P 23 CALLE CLAVEL                                                                 BAYAMON             PR           00956
   706959 MAGALY AGUAYO ROLDAH                        URB CAMPAMENTO               5 CALLE D                                                                         GURABO              PR           00778
   289188 MAGALY ALBINO RIVERA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706960 MAGALY ALGARIN NIEVES                       BOX 4766                                                                                                       SALINAS             PR           00751
   289189 MAGALY ALICEA DEVARIE                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289192 MAGALY AMADO FERNANDEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289193 MAGALY AMADOR LOURIDO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706961 MAGALY ARROYO DE JESUS                      HC 01 BOX 5139                                                                                                 ADJUNTAS            PR           00601
   706962 MAGALY ASENCIO MATOS                        PO BOX 785                                                                                                     CABO ROJO           PR           00623

   706963 MAGALY BARROSO RODRIGUEZ                    FLAMBOYAN GARDENS            B 19 CALLE 19                                                                     BAYAMON             PR           00959
   706964 MAGALY BERMUDEZ PEREZ                       RIO PIEDRAS HEIGHTS          SEGRE 1693                                                                        SAN JUAN            PR           00926
   289195 MAGALY BURGOS RIVERA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289196 MAGALY CABALLERO COLON                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289197 MAGALY CALDERON TORRES                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   289199 MAGALY CINTRON RODRIGUEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706967 MAGALY COLON FIGUROA                        PO BOX 1124                                                                                                    VILLALBA            PR           00766
   706968 MAGALY COLON ROCHE                          HC 06 BOX 4288                                                                                                 PONCE               PR           00780‐9505

   289200 MAGALY CONCEPCION BERGARA REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   706969 MAGALY CONDE CONCEPCION                     HC 33 BOX 5171                                                                                                 DORADO              PR           00646

   289201 MAGALY CORREA MALDONADO REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289202 MAGALY CORTES HERNANDEZ REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706974 MAGALY COTTO LEON       MONTE VERDE                                      214 GOLONDRINA                                                                    DORADO              PR           00646
                                                                                   192 CALLE RAMIREZ DE
   706975 MAGALY CRESPO MARTINEZ                      BO DULCES LABIOS             ARELLANO                                                                          MAYAGUEZ            PR           00680
   706976 MAGALY CRUZ ALVAREZ                         PO BOX 7708                                                                                                    LUQUILLO            PR           00773‐9608
   706979 MAGALY CUEVAS JUSTINIANO                    902 PASEO RAMON RIVERA                                                                                         LAS MARIAS          PR           00670

   706980 MAGALY DE LA CRUZ ROSARIO                   URB SIERRA BAYAMON           95‐2 CALLE 81                                                                     BAYAMON             PR           00961

   289203 MAGALY DE LEON RODRIGUEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          MAGALY DEL C CEPEDA
   289204 ESCALERA                                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MAGALY DEL C MALDONADO
   706981 BRIGNONI                                    URB REPTO METROPOLITANO       1257 AVE AMERICO MIRANDA                                                              SAN JUAN            PR           00916

   706982 MAGALY DIAZ BETANCOURT                      9805 SOUTH WEST 133 COURT                                                                                           MIAMI               FL           33186
   706983 MAGALY DIAZ NIEVES                          HC 40 BOX 45604                                                                                                     SAN LORENZO         PR           00754
   706985 MAGALY DOBLE BISBAL                         P O BOX 4286                                                                                                        MAYAGUEZ            PR           00681

   706987 MAGALY E SANTOS VALCARCEL                   VILLAS DE LOIZA               AR 5 CALLE 23                                                                         CANOVANAS           PR           00729
   289206 MAGALY EDWARDS PEREZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289207 MAGALY ESCALERA PEREIRA                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706989 MAGALY FERNANDEZ                            URB TOA ALTA HEIGHTS          AB7 CALLE 24                                                                          TOA ALTA            PR           00953
                                                      30 CALLE MATTEI LLUBERAS AP
   706990 MAGALY FIGUEROA LUGO                        1A                                                                                                                  YAUCO               PR           00698
   706992 MAGALY FRETT BURGOS                         PO BOX 875                                                                                                          TRUJILLO ALTO       PR           00977

   289210 MAGALY GALARZA CONCEPCION REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289212 MAGALY GOMEZ CARRERO      REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289213 MAGALY GONZALEZ           REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MAGALY GONZALEZ
   706994 COLLAZO/MARCELO ROSARIO   TERASAS DE CAROLINA                             AG 5 CALLE 33                                                                         CAROLINA            PR           00987
   289214 MAGALY GONZALEZ MESHE     REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289215 MAGALY GUERRA HIDALGO     REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MAGALY HERNANDEZ
   289216 BETANCOURT                REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289217 MAGALY HERNANDEZ RIVERA   REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706998 MAGALY I ESPADA CASTILLO  RR 2 BZN 20‐A                                                                                                                         SAN JUAN            PR           00926‐9701
   289218 MAGALY I MEDINA PADIN     REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706999 MAGALY JIMENEZ PEREZ      HC 01 BOX 6820                                                                                                                        BAJADERO            PR           00616
   289220 MAGALY LAMBOY TORRES      REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707002 MAGALY LOPEZ COLON        POLVORIN                                        28 CALLE 12                                                                           CAYEY               PR           00637
   707003 MAGALY LOPEZ MERCED       HC 1 BOX 7152                                                                                                                         AGUAS BUENAS        PR           00703
   289227 MAGALY LOPEZ PACHECO      REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707004 MAGALY LOPEZ ROMAN        P O BOX 2066                                                                                                                          HATILLO             PR           00659
   707005 MAGALY LOPEZ VALAZQUEZ    C 4‐24 PUEBLITO NUEVO                                                                                                                 PONCE               PR           00730

   289228 MAGALY LORENZO GONZALEZ                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707007 MAGALY M SELOSSE RAMIREZ                    P O BOX 190055                                                                                                      SAN JUAN            PR           00919 0055
   289229 MAGALY MALAVE ARROYO                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707008 MAGALY MARCANO MATOS                        JARD DE CANOVANAS             C 12 CALLE 2                                                                          CANOVANAS           PR           00729
   289230 MAGALY MARRERO PEREZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   289232 MAGALY MARTINEZ FONTANEZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   289233 MAGALY MARTINEZ GONZALEZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   289234 MAGALY MARTINEZ MARTINEZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   289235 MAGALY MASSANET RODRIGUEZ REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289236 MAGALY MATANZO CORTES     REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707011 MAGALY MEDINA COLON                         COND EL EMBAJADOR APT 1602                                                                                          PONCE               PR           00731



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  707012 MAGALY MESSA CASUL                           JARD DE GURABO         92 CALLE 4                                                                           GURABO             PR         00778‐2710
  289237 MAGALY MILLAN SUSTACHE                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  707013 MAGALY MIRANDA RUIZ                          HP ‐ SALA CCEP                                                                                              RIO PIEDRAS        PR         009360000
  707014 MAGALY MORALES                               JAIME C RODRIGUEZ      C 33 CALLE 3                                                                         YABUCOA            PR         00767

   289238 MAGALY MORALES FERNANDEZ                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   707015 MAGALY MORAN HERRERA                        PO BOX 863                                                                                                  LAS PIEDRAS        PR         00771
   289239 MAGALY N. ACEVEDO LOPEZ                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   289242 MAGALY NUNEZ MORALES                        REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   289243 MAGALY OJEDA BRACERO                        REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   707017 MAGALY OLIVO ALVAREZ                        BZN 94 C/ VOLCAN       HATO TEJAS                                                                           BAYAMON            PR         00961
   707018 MAGALY OLIVO SANCHEZ                        RES ZORRILLA           EDIF 23 APTO 212                                                                     MANATI             PR         00674
   707019 MAGALY ORTIZ ALBERT                         HC 7 BOX 2516                                                                                               PONCE              PR         00731‐9606
   707020 MAGALY ORTIZ CASTRO                         HC 04 BOX 12714                                                                                             HUMACAO            PR         00791‐9645
   707021 MAGALY PABON RIEDI                          HC 1 BOX 10916                                                                                              SAN SEBASTIAN      PR         00685
   289246 MAGALY PANETO CAMACHO                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   289247 MAGALY PELLICIER FIGUEROA                   REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   707023 MAGALY PENA GARCIA                          PO BOX 9023736                                                                                              SAN JUAN           PR         00902‐3736
   707024 MAGALY PERAZA FUENTES                       PO BOX 9021112                                                                                              SAN JUAN           PR         00902‐1112
   289249 MAGALY PEREZ RIVERA                         REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   289250 MAGALY QUINONES RIVERA                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   289251 MAGALY R RAMIREZ CARTAGENA REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                     BO QDA ARENA SECT LOS
   707026 MAGALY RIOS FIGUEROA       MARREROS                                                                                                                     TOA ALTA           PR         00953

   289252 MAGALY RIVERA / JAN OCASIO                  REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   707028 MAGALY RIVERA ANDUJAR                       HC 3 BOX 18798                                                                                              ARECIBO            PR         00612
   707029 MAGALY RIVERA GOMEZ                         BOX 651                                                                                                     TOA ALTA           PR         00954
   289253 MAGALY RIVERA MARTINEZ                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   289254 MAGALY RIVERA MELENDEZ                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   289255 MAGALY RIVERA ORTIZ                         REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   707030 MAGALY RIVERA RIVERA                        HC 01 BOX 40106                                                                                             COMERIO            PR         00782
   289256 MAGALY RIVERA RODRIGUEZ                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   289259 MAGALY RIVERA ROMERO                        REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   707031 MAGALY RIVERA VEGA                          HC 6 BOX 4116                                                                                               COTTO LAUREL       PR         00780
   707033 MAGALY RODRIGUEZ BARRET                     P O BOX 734                                                                                                 MARICAO            PR         00606 0734
   707034 MAGALY RODRIGUEZ BATISTA                    URB EL VALLE           296 PASEO DEL FLAMBOYAN                                                              CAGUAS             PR         00727‐3220

   289260 MAGALY RODRIGUEZ BERRIOS                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   707035 MAGALY RODRIGUEZ FUENTES                    URB LOS COLOBOS PARK   1006 CALLE OLMO                                                                      CAROLINA           PR         00987
   289261 MAGALY RODRIGUEZ GARCIA                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MAGALY RODRIGUEZ
   289262 HERNANDEZ                                   REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MAGALY RODRIGUEZ
   289263 LARRACUENTE                                 REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   289264 MAGALY RODRIGUEZ LUCIANO                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MAGALY RODRIGUEZ
   289265 MONSERRATE                                  REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   707038 MAGALY RODRIGUEZ TORRES                     URB RIO CANAS          L 18 CALLE 12                                                                        PONCE              PR         00731
   289267 MAGALY ROMERO                               REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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   707039 MAGALY ROSADO RODRIGUEZ                     HC 03 BOX 30115                                                                                                      MAYAGUEZ            PR           00680
   289268 MAGALY ROSARIO COLON                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289269 MAGALY ROSARIO SOLANO                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   706957 MAGALY RUIZ FEBRES                          COND SKY TOWER 111         APT 11 G                                                                                  SAN JUAN            PR           00926
   707040 MAGALY RUIZ SANABRIA                        ESTANCIAS DE TORTUGUERO    620 TURIN                                                                                 VEGA BAJA           PR           00693
   289271 MAGALY SANCHEZ MARTINEZ                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289272 MAGALY SANTANA DE JESUS                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   771162 MAGALY SANTIAGO ACEVEDO                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      URB. TONW HILLS 1B CALLE
   707041 MAGALY SANTIAGO MARRERO                     DUARTE                                                                                                               TOA ALTA            PR           00953
   289273 MAGALY SANTIAGO PENA                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   289274 MAGALY SANTIAGO SANTIAGO                    REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289275 MAGALY SANTOS ALGARIN                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   289276 MAGALY SEPULVEDA CABRERA                    REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   289277 MAGALY SEPULVEDA GUZMAN                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289278 MAGALY SOSA MUNDO                           REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289280 MAGALY SOSA SOTO                            REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289282 MAGALY SOTO MORALES                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707044 MAGALY SOTO PEREZ                           SECTOR CASCAJO             BUZ 57 AVE NOEL ESTRADA                                                                   ISABELA             PR           00662
          MAGALY T HERNANDEZ
   707045 VAZQUEZ                                     URB ALTOMONTE 2N 44        CALLE 20                                                                                  CAGUAS              PR           00725
   289283 MAGALY TORRES ALLENDE                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707047 MAGALY TORRES QUESTEL                       RESIDENCIAL LOS MIRTOS     EDIF 15 APT 226                                                                           CAROLINA            PR           00987
   289284 MAGALY TORRES TORRES                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289285 MAGALY VARGAS OLMO                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289286 MAGALY VAZQUEZ CHERENA                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707049 MAGALY VAZQUEZ COSME                        PO BOX 1218                                                                                                          COROZAL             PR           00783
   707050 MAGALY VAZQUEZ RIVERA                       BO PUERTOS                 CARR 456 KM 3 3                                                                           CAMUY               PR           00627‐4000
   289287 MAGALY VEGA SANCHEZ                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707051 MAGALY VELEZ NIEVES                         PO BOX 2322                                                                                                          ISABELA             PR           00662
   707052 MAGALY VELILLA SEGARRA                      PO BOX 11497                                                                                                         SAN JUAN            PR           00922
   707053 MAGALY VERDEJO RIVERA                       HC 1 BOX 7684                                                                                                        LOIZA               PR           00772+

   707054 MAGALY Z FELICIANO SANTIAGO                 P O BOX 1662                                                                                                         LARES               PR           00669
   707055 MAGALYS A SANTELICE RUIZ                    HC 01 BOX 5080                                                                                                       GUAYNABO            PR           00971
   289288 MAGALYS DIAZ AGUAVIVA                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289289 MAGALYS DIAZ PEREZ                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   289290 MAGALYS GONZALEZ DE JESUS                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   289291 MAGALYS N ROMAN VAZQUEZ                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707056 MAGALYS ORTEGA SANTIAGO                     PO BOX 901                                                                                                           SABANA HOYOS        PR           00688
   707057 MAGALYS SALGADO SERRANO                     HC 2 BOX 8758                                                                                                        CIALES              PR           00638

   707058 MAGARITA VAZQUEZ BEMUDEZ                    VANSCOY P9 PARCELA 204B    CALLE INTERIOR OESTE                                                                      BAYAMON             PR           00956
   289294 MAGAVIL LOPEZ BILBRAUT                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289295 MAGAZINE AUTO SALES INC                     PO BOX 3443                                                                                                          CAROLINA            PR           00984
                                                                                 3 RIO HONDO CALLE PANIECE DE
   707059 MAGAZINE GARDEN                             URB VALLE VERDE            18                                                                                        BAYAMON             PR           00961



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  707061 MAGDA A PLAZA ANGLADA                        HC 02 BOX 2081                                                                                                          SAN SEBASTIAN     PR           00685
                                                                                     318 CALLE NEBRASKA URB SAN
   707062 MAGDA A ROBINSON SERRANO                    SAN GERARDO                    GERARDO                                                                                  SAN JUAN          PR           00926
   289296 MAGDA A TINEO CARRERO                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   289297 MAGDA A TORRES CRUZ                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   289298 MAGDA A. QUIðONEZ SOTO                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   707060 MAGDA ACOSTA OSUNA                          URB LA MERCED                  572 CALLE LAMAR                                                                          SAN JUAN          PR           00918
          MAGDA AVELINA RAMIREZ
   707064 ROMAN                                       BOX 6136                                                                                                                LUQUILLO          PR           00773
          MAGDA BAEZ MUNOZ / HNC
   289303 JOYERIA ITALIANA                            57 E MAYAGUEZ MCKINLEY                                                                                                  MAYAGUEZ          PR           00680
   707065 MAGDA BALLESTER                             URB PERLA DE SUR               20 CALLE A                                                                               PONCE             PR           00731
   707066 MAGDA BARDINA GARCIA                        C / ISABEL 66 EDIF ISABEL II   LOCAL 108 B INT                                                                          PONCE             PR           00731
   289304 MAGDA BERRIOS ORTIZ                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   289306 MAGDA BOUET GRANA                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   289307 MAGDA C DUQUE CARDONA                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   707067 MAGDA C GIROD CLAVELL                       COND VILLAS DE PARKVILLE 11    55 AVE LOPATEGUI                                                                         GUAYNABO          PR           00969
   289308 MAGDA C SANTANA GOYCO                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   707068 MAGDA CALDERON VELEZ                        URB EL NARANJAL                G 15 CALLE 5                                                                             TOA BAJA          PR           00949
   289309 MAGDA CALIZ PINA                            REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   707069 MAGDA CANETTI RODRIGUEZ                     CONDOMINIO GRANADA PARK        365 CALLE 100                                                                            GUAYNABO          PR           00969
   289310 MAGDA CANTISANI RAMIREZ                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   289311 MAGDA CAQUIAS VELEZ                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   289312 MAGDA CARABALLO COLON                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   707072 MAGDA CARTAGENA                             BO PASTO VIEJO                 HC 44 BOX 13085                                                                          CAYEY             PR           00736
   289314 MAGDA CASTILLO DIAZ                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   707074 MAGDA COLON BIASCOECHEA   URB APOLO                 51 CALLE ROMERO                                                                                                 GUAYNABO          PR           00969
          MAGDA COSTA/ CONG MUJERES WOMENS BREAST AND IMAGING
   707075 MASTECTOMIZADA            CENTER                    303 DOMENECH                                                                                                    SAN JUAN          PR           00918‐3512
   707077 MAGDA CRESPO RAMOS        HC 04 BOX 46073                                                                                                                           MAYAGUEZ          PR           00680
   289316 MAGDA CRUZ VELEZ          REDACTED                  REDACTED                                             REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   289317 MAGDA DIAZ FLORES         REDACTED                  REDACTED                                             REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   289318 MAGDA E CEDENO RODRIGUEZ                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   289319 MAGDA E DIAZ COTTO                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   707079 MAGDA E FUENTES CERVERA                     URB COUNTRY CLUB 4TA EXT       840 CALLE FORMOSA                                                                        SAN JUAN          PR           00924
   707080 MAGDA E MENDOZA DOBLE                       HC 04132 4854                                                                                                           HUMACAO           PR           00791
   707083 MAGDA E RIVERA CAPO                         PO BOX 395                                                                                                              AIBONITO          PR           00705

   707084 MAGDA E TORO BAEZ                           PARC EL TUQUE                  1508 CALLE JUAN CABREL LLUL                                                              PONCE             PR           00728‐4759

   289321 MAGDA E. VELAZQUEZ FORTIS                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   707086 MAGDA ENID CONTY ROMAN                      15 CALLE RAMON MEDINA                                                                                                   MOCA              PR           00676
   289322 MAGDA FLORES DIAZ                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   289323 MAGDA G CENTENO NAVARRETE REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   289324 MAGDA G ROSA CRUZ         REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   707087 MAGDA G ROSARIO HERNANDEZ PO BOX 1323                                                                                                                               MOCA              PR           00676
   289325 MAGDA GONZALEZ GUZMAN     REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  707089 MAGDA GUILBE GARCIA                          VILLA DEL CARMEN         2103 CALLE TOLOSA                                                                        PONCE             PR         00716‐2213
  289327 MAGDA HERNANDEZ ROBLES                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  707091 MAGDA HERNANDEZ RUIZ                         HC 06 BUZON 17185                                                                                                 SAN SEBASTIAN     PR         00685

   707092 MAGDA HERNANDEZ SIERON                      URB FAIRVIEW             P 1 CALLE 27 GINES CORVALAN                                                              SAN JUAN          PR         00926
   289328 MAGDA I ALEMAR PEREZ                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   289329 MAGDA I ALVARADO MARTINEZ REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   707093 MAGDA I ALVAREZ ARCHILLA  URB LA ALMEDA                              841 CALLE ZAFIRO                                                                         SAN JUAN          PR         00926

   289330 MAGDA I BERMUDEZ SANTIAGO REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   289331 MAGDA I BRISUENO LAUREANO                   REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   289333 MAGDA I CARRION FIGUEROA                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   289334 MAGDA I CLEMENTE ANDINO                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          MAGDA I DE LA TORRE
   707094 MARRERO                                     31 CALLE CRUZ CASTILLO                                                                                            MAYAGUEZ          PR         00680
   289335 MAGDA I FEBRES MORALES                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          MAGDA I HERNANDEZ
   289336 BETANCOURT                                  REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   289337 MAGDA I IRIZARRY MALDONADO REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   289338 MAGDA I LEON BONILLA       REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   289339 MAGDA I LOPEZ ABREU        REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   707096 MAGDA I MALDONADO CLASSEN HC 05 BOX 54831                                                                                                                     HATILLO           PR         00659
          MAGDA I MALDONADO
   707097 COLLADO                   43 NORTE C/ 65 INFANTERIA                                                                                                           LAJAS             PR         00667
   707098 MAGDA I MARTINEZ VIDAL    HC 01 BOX 6441                                                                                                                      YAUCO             PR         00698

   707099 MAGDA I MELETICHE VAZQUEZ                   HC 02 BOX 10009                                                                                                   JUANA DIAZ        PR         00795
   707100 MAGDA I OLIVENCIA JIMENEZ                   54 WASHINGTON                                                                                                     SAN JUAN          PR         00907
   289340 MAGDA I OYOLA CINTRON                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   707101 MAGDA I PACHECO RIVERA                      PO BOX 3                                                                                                          YAUCO             PR         00698
   289341 MAGDA I PEREZ LOPEZ                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   707102 MAGDA I PEREZ RIVERA                        LOMAS VERDES             4 U 20 CALLE YAGRUMO                                                                     BAYAMON           PR         00956
   289342 MAGDA I RAMOS ISERN                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   707103 MAGDA I RAMOS SANTIAGO                      RES MANUEL J RIVERA      EDIF 12 APT 95                                                                           COAMO             PR         00769
   707104 MAGDA I RESTO COLON                         HC 1 BOX 4066                                                                                                     GURABO            PR         00778
   707105 MAGDA I RODRIGUEZ SOTO                      APARTADO 309                                                                                                      MAUNABO           PR         00707
   289343 MAGDA I RUIZ FELICIANO                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   707107 MAGDA I ZAYAS HERNANDEZ                     PARC JAVEAL              460 CALLE 4 E                                                                            SANTA ISABEL      PR         00757
   289344 MAGDA I. FIGUEROA ANADON                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   289345 MAGDA I. MELENDEZ FALU                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   707109 MAGDA IRIS ORTIZ COLON                      MANS DE CAROLINA         DD14 CALLE FARALLON                                                                      CAROLINA          PR         00987
   707110 MAGDA IRIS SOTO GARCIA                      URB SAGRADO CORAZON      APT B 9                                                                                  ARROYO            PR         00714
   707111 MAGDA IRIZARRY CEBALLOS                     1221 CONSUELO GONZALEZ                                                                                            SAN JUAN          PR         00924
   289346 MAGDA IRIZARRY CORNIER                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   707112 MAGDA IRIZARRY ESPINOSA                     VICTORIA HIGHT           44 CALLE F                                                                               BAYAMON           PR         00959

   289347 MAGDA IVETTE MARTINEZ VELEZ REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          MAGDA IVETTE RODRIGUEZ
   707113 COLON                       SANTA PAULA                              37 CALLE JAIME RODRIGUEZ                                                                 GUAYNABO          PR         00969



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  707114 MAGDA J COLON CORTES                         PARQUE ARCOIRIS            APT 341 D                                                                              TRUJILLO ALTO      PR         00976
  289348 MAGDA J CRUZ CRISOSTOMO                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  289349 MAGDA JORGE DELGADO                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   289351 MAGDA L MALDONADO SANTOS                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   289352 MAGDA L RESTO PIZARRO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   707116 MAGDA L REXACH MATTA                        163 CALLE AMPARO                                                                                                  FAJARDO            PR         00738
          MAGDA L UNGERECHT / AIDA
   289353 SEGARRA                                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   707117 MAGDA L VELEZ PAGAN                         39 CALLE RAFAEL D MILAN                                                                                           SABANA GRANDE      PR         00637
          MAGDA L VERDECIA
   707118 MALDONADO                                   119 LA GIRALDA COLOMER     APARTAMENTO D 2                                                                        SANTURCE           PR         00907
   289355 MAGDA LOPEZ COLON                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   289356 MAGDA LORENZO GONZALEZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   289357 MAGDA LUCIANO ARCE                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   707122 MAGDA LUCIANO FERRER                        P O BOX 1651                                                                                                      CABO ROJO          PR         00623

   707125 MAGDA M LEBRON GONZALEZ                     38 CALLE ARBOLEDA                                                                                                 CIDRA              PR         00739
   289361 MAGDA M. FERNANDEZ                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   707126 MAGDA MALDONADO                             HC 5 BOX 54831                                                                                                    HATILLO            PR         00659

   707127 MAGDA MARTINEZ MONTALVO                     E 56 URB VILLA ALBA                                                                                               SABANA GRANDE      PR         00637
                                                      SECT RABO DEL BUEY BO
   707129 MAGDA MARTINEZ PACHECO                      CONTORNO                   CARR 165 KM 10 2                                                                       TOA ALTA           PR         00953
   289362 MAGDA MATTEI CAMACHO                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   707130 MAGDA MCGEE NAVARRO                         PUERTO NUEVO               378 CALLE BALEARES                                                                     SAN JUAN           PR         00921
   707131 MAGDA MELENDEZ                              BDA SANDIN                 CALLE LUNA BOX 7                                                                       VEGA BAJA          PR         00693
   707133 MAGDA MELENDEZ FALU                         BO TORTUGO                 KM 19 HM 6                                                                             SAN JUAN           PR         00926
   707134 MAGDA MERCADO LOPEZ                         HC 02 BOX 12100                                                                                                   LAJAS              PR         00667
   707135 MAGDA MOJICA GONZALEZ                       SICOSOCIAL TRUJILLO ALTO                                                                                          Hato Rey           PR         009360000
   707136 MAGDA MOLINA COLON                          PO BOX 1763                                                                                                       JUANA DIAZ         PR         00795
   289363 MAGDA MOLINA CRUZ                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   707137 MAGDA MOLINA DAVILA                         2NDA SECC LEVITTOWN        J 2699 PASEO AMBAR                                                                     TOA BAJA           PR         00949
   289364 MAGDA MORALES ARROYO                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   707138 MAGDA MORALES RODRIGUEZ                     URB DAVILA Y LLENZA        206 CALLE EMANUELLI NORTE                                                              SAN JUAN           PR         00917
   289365 MAGDA MULER FIGUEROA                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   289367 MAGDA NIEVES                                REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   707140 MAGDA O VALENTIN RAMOS                      PO BOX 9414                                                                                                       BAYAMON            PR         00960‐9414
   707142 MAGDA ORENCH RAMOS                          APARTADO 765                                                                                                      MAYAGUEZ           PR         00681

   289368 MAGDA ORONA DE O CONNOR REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   707143 MAGDA ORTIZ DIAZ            PO BOX 312                                                                                                                        AIBONITO           PR         00705
   289369 MAGDA ORTIZ PIZARRO         REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   707145 MAGDA PAGAN MORTALES        P O BOX 30                                 570 CALLE FLANDES                                                                      SAN JUAN           PR         00923
          MAGDA PAINT SHOP / WILFREDO
   707146 RODRIGUEZ                   VILLA ANDALUCIA                            I 45 CALLE BAILE                                                                       SAN JUAN           PR         00926
   289370 MAGDA PALERM MENDEZ         REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   707147 MAGDA PEDRAZA ROLDAN        HC 08 BOX 49601                                                                                                                   CAGUAS             PR         00725

   289371 MAGDA PIERANTONI GONZALEZ REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   289372 MAGDA R CARDONA MEDINA    REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   707150 MAGDA RIVERA BONET        BO QUEBRADA                                  CARR 455 KM 5 2 INT                                                                    CAMUY              PR         00627‐9113



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  289373 MAGDA RIVERA COLON                           REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  707151 MAGDA RIVERA GONZALEZ                        EXT VISTAS DE CAMUY 2                                                                                          CAMUY                PR         00627
  289374 MAGDA RODRIGUEZ ALVAREZ                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  289375 MAGDA RODRIGUEZ CORREA                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         MAGDA RODRIGUEZ
  707152 DOMINGUEZ                                    VILLA BLANCA            1 RUBI                                                                                 CAGUAS               PR         00725

   707153 MAGDA RODRIGUEZ RODRIGUEZ HC 6 BOX 4691                                                                                                                    COTTO LAUREL         PR         00780
   707154 MAGDA RODRIGUEZ TORRES    HC 1 BOX 3926                                                                                                                    COROZAL              PR         00783
   707155 MAGDA RODRIGUEZ VEGA      P O BOX 1593                                                                                                                     BAYAMON              PR         00960
   289376 MAGDA ROMERO TANCO        REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   289377 MAGDA ROSS                REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   707156 MAGDA ROSS SUAREZ         REPTO UNIVERSITARIO                       380 CALLE CITADEL                                                                      SAN JUAN             PR         00926‐1818
   707159 MAGDA SANCHEZ CINTRON     URB VILLA DEL SOL                         407 CALLE TORREMOLINOS                                                                 CAROLINA             PR         00985
   289379 MAGDA SANTIAGO MENDEZ     REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   289380 MAGDA SEGARRA CALZADA     REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   289381 MAGDA SILVA NEGRON        REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   289383 MAGDA T COLON CORREA      REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   289384 MAGDA TRUJILLO ORTIZ      REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   289385 MAGDA V ALSINA FIGUEROA   REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   707162 MAGDA V BERRIOS DIAZ      COND VENUS PLAZA A                        APTO 603 135 CALLE MEJICO                                                              SAN JUAN             PR         00917 2612

   707164 MAGDA V. VALENCIA MAYSONET URB SIERRA LINDA                         Z30 CALLE 10                                                                           BAYAMON              PR         00957
   707165 MAGDA VALENTIN GARCIA      HC 2 BOX 9410                                                                                                                   LAS MARIAS           PR         00678

   707166 MAGDA VAZQUEZ HERNANDEZ                     BO ACHIOTE              SEC LA MARAVILLA                                                                       NARANJITO            PR         00719
   707168 MAGDA VEGA VEGA                             BO MAGINAS              93 CALLE EUCALIPTO                                                                     SABANA GRANDE        PR         00637

   707169 MAGDA VIOLETA ROSARIO DIAZ                  PO BOX 150                                                                                                     TOA ALTA             PR         00954
   289386 MAGDA Y LLERAS MOLINA                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MAGDALENA A GUZMAN
   289387 ROSARIO                                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   707171 MAGDALENA ACEVEDO                           URB MIRAFLORES          34 5 CALLE 43                                                                          BAYAMON              PR         00957

   707173 MAGDALENA ACEVEDO ROSADO CAMUY ARRIBA                               CARR 119 KM 11 1                                                                       CAMUY                PR         00627
   289390 MAGDALENA ANDINO RIVERA  REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   289393 MAGDALENA AROCHO ROJAS   REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MAGDALENA ARROYO
   289394 GONZALEZ                 REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   707174 MAGDALENA AYALA CRUZ     P O BOX 1632                                                                                                                      SAN GERMAN           PR         00683
          MAGDALENA BULLERIN       URB.SIERRA MAESTRA 103
   707175 ENCARNACION              CALLE CANET                                                                                                                       SAN JUAN             PR         00923
   289395 MAGDALENA BURGOS RIVERA  REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MAGDALENA CABRERA
   707176 MARTINEZ                 HC 13 BUZ 6621                                                                                                                    VEGA ALTA            PR         00692
   289398 MAGDALENA CARATINI SOTO  REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   707177 MAGDALENA CARRERAS COELLO PO BOX 1454                                                                                                                      JAYUYA               PR         00664
          MAGDALENA CASTELLANO
   289400 SANTIAGO                  REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   289401 MAGDALENA CATALA VELEZ    REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   707178 MAGDALENA CLAUDIO GARCIA                    RIO PLANTATION          14 CALLE 1 F OESTE                                                                     BAYAMON              PR         00961



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  289402 MAGDALENA COLON MERCED                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         MAGDALENA COLON PARA
  289403 RICARDO O ROSADO                             REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   707180 MAGDALENA CONCEPCION CRUZ PARC ISLOTE II                                 CALLE 21 BOX 385                                                                         ARECIBO              PR         00612
   707182 MAGDALENA CRESPI BORRAS   LOS PASEOS                                     A B 11 CALLE PASEO REAL                                                                  SAN JUAN             PR         00926

   707183 MAGDALENA CRUZ STRAZZARA                    VILLA GRANADA                958 CALLE ALCAZAR                                                                        SAN JUAN             PR         00923

   707184 MAGDALENA D ROSARIO VELEZ                   URB MONTEHIEDRA              223 CALLE TURPIAL                                                                        SAN JUAN             PR         00926
   289404 MAGDALENA DIAZ RIVERA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   289405 MAGDALENA DIAZ VELEZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   289406 MAGDALENA E CONCEPCION                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   707187 MAGDALENA FELICIANO                         HC 01 BOX 6372                                                                                                        SABANA HOYOS         PR         00688

   289407 MAGDALENA FERNANDEZ LUGO REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   289408 MAGDALENA FIGUEROA LOARTE REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MAGDALENA FIGUEROA
   707188 MENENDEZ                  P O BOX 7428                                                                                                                            SAN JUAN             PR         00916

   707189 MAGDALENA FLORES NEGRON                     PO BOX 2417                                                                                                           SAN GERMAN           PR         00683
          MAGDALENA FONTANEZ
   289410 VILLAFANE                                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   707190 MAGDALENA GARCIA                            HC 3 BOX 19122                                                                                                        VEGA BAJA            PR         00858‐4063
                                                      HP‐PSIQUIATRICO FORENSE
   707191 MAGDALENA GARCIA LUGO                       PONCE                                                                                                                 Hato Rey             PR         009360000

   707193 MAGDALENA GARCIA PERAZA                     C 22 CALLE ROMAN RODRIGUEZ                                                                                            HATILLO              PR         00659

   289411 MAGDALENA HERNANDEZ REY                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   707197 MAGDALENA HORTA                             EDIF GONZALEZ                E17 CALLE TORRIMAR APTO 102                                                              MAYAGUEZ             PR         00680‐1371

   707198 MAGDALENA I CUPELES AYALA                   51 CALLE ENSANCHE PALMER                                                                                              SAN GERMAN           PR         00683

   289412 MAGDALENA IRANZO BERROCAL REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   707200 MAGDALENA LEON CINTRON    BO GUAYABAL CARR 149                                                                                                                    JUANA DIAZ           PR         00795

   289413 MAGDALENA LOPEZ CHARNECO REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   289414 MAGDALENA LOPEZ CORTES   REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MAGDALENA M BLANCO DE LA
   707201 TORRE                    URB MILAVILLE 220 PAJUIL                                                                                                                 SAN JUAN             PR         00926

   289415 MAGDALENA MARIN OQUENDO REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   707202 MAGDALENA MARTINEZ      PO BOX 21365                                                                                                                              SAN JUAN             PR         00928
          MAGDALENA MARTINEZ
   707203 IRIZARRY                VILLA CAROLINA                                   179‐1 CALLE 439                                                                          CAROLINA             PR         00985

   289416 MAGDALENA MARTINEZ MATOS REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   707206 MAGDALENA MARTINEZ SUAREZ BO SAN ISIDRO VILLA HUGO II                    176 CALLE AZUCENA                                                                        CANOVANAS            PR         00729




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          MAGDALENA MATOS
   707207 FERNANDEZ                                   HC 58 BOX 12571                                                                                                 AGUADA               PR           00602
          MAGDALENA MELENDEZ
   289418 SANTIAGO                                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MAGDALENA MONTALBAN
   289420 MENDOZA                                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MAGDALENA MORALES DBA
   289421 JARDINES MORALES                            PO BOX 1807                                                                                                     TRUJILLO ALTO        PR           00977
          MAGDALENA MORALES DBA
   289422 JARDINES MORALES E                          PO BOX 1807                                                                                                     TRUJILLO ALTO        PR           00977‐0000

   707209 MAGDALENA MORALES RIVERA                    RR 11 BOX 5862                                                                                                  BAYAMON              PR           00956
          MAGDALENA NAVARRO
   289423 ADORNO                                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   289424 MAGDALENA NEGRON TORRES                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   289425 MAGDALENA OCASIO MONAGAS REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   289426 MAGDALENA ORTIZ GUEVARA  REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   289429 MAGDALENA ORTIZ PABON    REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MAGDALENA P FERNANDEZ
   707210 CORREA                   PO BOX 12383                                SUITE 194                                                                              SAN JUAN             PR           00914

   289430 MAGDALENA PAGAN IZQUIERDO REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   707212 MAGDALENA PER4EZ COLLAZO                    URB CAGUAX               Q 6 CALLE COLESIBI                                                                     CAGUAS               PR           00725
                                                                               CORRE VILLA UNIVERSITARIA
   707213 MAGDALENA PEREIRA NIEVES                    M S C 123                CALLE 26                                                                               HUMACAO              PR           00791
   707215 MAGDALENA PIZARRO                           URB UNIVERSITY GARDENS   274 A CALLE CLEMSON                                                                    SAN JUAN             PR           00927

   289431 MAGDALENA PONCE MELENDEZ REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MAGDALENA RABIONET
   289432 VAZQUEZ                  REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   289433 MAGDALENA RIVERA ROSARIO                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   707219 MAGDALENA RIVERA SERRANO                    P O BOX 9520                                                                                                    ARECIBO              PR           00612

   707220 MAGDALENA RODRIGUEZ BATIZ COND PARQUES DE BONNEVILLE EDIF 1 APT B                                                                                           CAGUAS               PR           00725‐2701
          MAGDALENA RODRIGUEZ
   289434 MARTINEZ                  REDACTED                   REDACTED                                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MAGDALENA RODRIGUEZ
   289435 RAMOS                     REDACTED                   REDACTED                                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   289436 MAGDALENA ROMAN BERRIOS                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   289437 MAGDALENA ROSA CALVANTE                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   289438 MAGDALENA SAAD BATISTA                      REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   707224 MAGDALENA SAMO RODRIGUEZ URB LAS COLINAS                             85 CALLE 2                                                                             VEGA ALTA            PR           00692
          MAGDALENA SANTIAGO
   289439 MARTINEZ                 REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   707170 MAGDALENA TIRADO ROSARIO                    PO BOX 341                                                                                                      VEGA BAJA            PR           00694



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          MAGDALENA TORRES Y/O
   289441 ANDRES FLECHA                               REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MAGDALENA VAZQUEZ
   289442 FIGUEROA                                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   289443 MAGDALENA VAZQUEZ OLMEDA REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MAGDALENA VAZQUEZ
   289444 RODRIGUEZ                REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707227 MAGDALENA VELAZQUEZ      HC 67 BOX 13130 SUITE 2                                                                                                             BAYAMON             PR           00956

   289445 MAGDALENE HANCE MARTINEZ                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707230 MAGDALENE VEGA MARTINEZ                     URB PARQUE ECUESTRE      J 5 CALLE 38                                                                            CAROLINA            PR           00987

   707231 MAGDALENO BRACERO LOPEZ                     URB PUERTO NUEVO         269 CALLE 13                                                                            SAN JUAN            PR           00920

   707232 MAGDALENO TORRES BAEZA                      REPTO SAN JOSE           G14 CALLE MANUEL A BARRETO                                                              MAYAGUEZ            PR           00680

   289446 MAGDALI ALVAREZ MELENDEZ                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707233 MAGDALIA RIVERA NIEVES                      LEVITTOWN                1168 AVE DOS PALMAS                                                                     TOA BAJA            PR           00949
   707234 MAGDALINE RODRIGUEZ                         BDA SAN LUIS             4 CALLE GALILEA                                                                         AIBONITO            PR           00705
   707235 MAGDALIS AYALA AGOSTO TS                    JARD DE DORADO           G 22 CALLE 3                                                                            DORADO              PR           00646
   289447 MAGDALIS RODRIGUEZ RUIZ                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289448 MAGDALIS SUAREZ RIVERA                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707239 MAGDALIZ CRUZ SANCHEZ                       URB EL CORTIJO           AH 2 CALLE 25                                                                           BAYAMON             PR           00956
   707240 MAGDALIZ NIEVES                             HC 04 BOX 19491                                                                                                  CAMUY               PR           00627
   289449 MAGDALIZ PORRATA TORO                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289450 MAGDALY LAMBOY PEREZ                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707241 MAGDALY NEGRON SANTIAGO                     ENSENADA                 12 CALLE SEGUNDA                                                                        GUANICA             PR           00653
   707242 MAGDALYN FEBRES ROMERO                      URB VILLA CAROLINA       15 BLQ 112 CALLE 78                                                                     CAROLINA            PR           00985

   289451 MAGDALYS RODRIGUEZ RIVERA                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707243 MAGDAMARI SOTO ROSARIO                      URB SANTA ELVIRA         F 19 CALLE SANTA ELENA                                                                  CAGUAS              PR           00726

   289452 MAGDAMARIE CRESPO BARRETO REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707244 MAGDAMARIS OTERO COSME    CARR 833                                   3 CALLE SANTA MARTA                                                                     GUAYNABO            PR           00965
   707245 MAGDAMARIS RAMIREZ        PO BOX 8783                                                                                                                        CAGUAS              PR           00725

   289453 MAGDAMELL QUI¥ONES VELEZ                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707246 MAGDARIS FLORES TORRES                      URB SAN LORENZO VALLEY   85 CALLE YAGRUMO                                                                        SAN LORENZO         PR           00754
   707247 MAGDAS TRAVEL AGENCY                        21 BETANCES                                                                                                      VEGA BAJA           PR           00693

   289454 MAGDELIAN MARTINEZ LOPEZ   REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MAGDELINE ROSARIO
   707249 DOMINGUEZ                  PO BOX 2094                                                                                                                       GUAYNABO            PR           00970
   707250 MAGDIEL A COLON ORTIZ      DOS RIOS                                  L 19 CALLE 5                                                                            TOA BAJA            PR           00949
   289455 MAGDIEL BETANCOURT CRUZ    REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289456 MAGDIEL COTTO COLON        REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MAGDIEL FERNANDEZ LUGO MD,
   289458 FRANCES                    REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MAGDIEL FUEL INJECTION
   707251 SERVICE                    HC 646 BOX 8102                                                                                                                   TRUJILLO ALTO       PR           00976
   289459 MAGDIEL LEON SOSA          REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  289460 MAGDIEL LUGO FIGUEROA                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  289461 MAGDIEL MARRERO DEYA                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   707252 MAGDIEL O HERNANDEZ CRUZ                    VICTORIA STATION         PO BOX 520                                                                               AGUADILLA            PR       00605
   289462 MAGDIEL OCASIO RAMIREZ                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   289463 MAGDIEL PEREZ SAMO                          REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   707254 MAGDIEL RIVERA COTTO                        HC02 BOX 13826                                                                                                    GURABO               PR       00778
   707255 MAGDIEL RIVERA GARCIA                       PO BOX 9021112                                                                                                    SAN JUAN             PR       00902‐1112
   289464 MAGDIEL RIVERA GONZALEZ                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   707257 MAGDIEL RODRIGUEZ                           COND LAS CARMELITAS      APTO 12 H                                                                                SAN JUAN             PR       00912
   707258 MAGDIEL RODRIGUEZ AYALA                     HACIENDA LA MONSERRATE   328 CALLE CONCEPCION                                                                     MOCA                 PR       00676
   289465 MAGDIEL VELEZ                               REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   289467 MAGDONALD ADAMS ERAZO                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   707259 MAGED I MUSTAFA BAKER                       VISTAS DEL CONVENTO      2E 35 CALLE 4                                                                            FAJARDO              PR       00738
   707260 MAGGALIS SANCHEZ DE LEON                    HC 2 BOX 13138                                                                                                    HUMACAO              PR       00791‐9653
   289476 MAGGIE BATISTA SANTIAGO                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   707261 MAGGIE BRAVO SERRANO                        P O BOX 3556                                                                                                      JUNCOS               PR       00777
   289477 MAGGIE COLON ORELLANO                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   289478 MAGGIE CORREA AVILES                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED

   289479 MAGGIE DEL MORAL DEL MORAL REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   289480 MAGGIE DELGADO CRUZ         REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   707263 MAGGIE GINES SOTO           VILLA CAPARRA                            C‐9 FLORENCIA                                                                            GUAYNABO             PR         00966
   289481 MAGGIE MADERA VAZQUEZ       REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   707264 MAGGIE MARRERO              PO BOX 195234                                                                                                                     SAN JUAN             PR         00919‐5234
          MAGGIE MELINA ROBLES
   289482 MALAVE                      REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   289483 MAGGIE ORTIZ TORRES         REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   707266 MAGGIE RAMOS GOMEZ          3039 SECT EL COBO                                                                                                                 AGUADILLA            PR         00603
   707268 MAGGIE ROSA DIAZ            HC 71 BOX 7393                                                                                                                    CAYEY                PR         00736
   289485 Maggy Pagan Velez           REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   707269 MAGIA BLANCA                PO BOX 190                                                                                                                        UTUADO               PR         00641
   707270 MAGIC 2000                  4670 153 RD TERRACE                                                                                                               MIRAMAR              FL         33027
                                      AVE. F.D. ROOSEVELT CAPARRA
   289486 MAGIC COLOR PHOTO LAB       HEIGTHS                                                                                                                           SAN JUAN             PR         00920‐2798
                                      AVE. WINSTON CHURCHILL 135
   289487 MAGIC DOOR                  URB CROWN HILL                                                                                                                    RIO PIEDRAS          PR         00926
          MAGIC FANTASY INC / LYMARIS
   289488 QUINONES                    PO BOX 2683                                                                                                                       VEGA BAJA            PR         00694

   707271 MAGIC FILMS                                 GARDENS HILLS            F 14 CALLE PASEO DEL PARQUE                                                              GUAYNABO             PR         00966
   707272 MAGIC JET INC                               P O BOX 79739                                                                                                     CAROLINA             PR         00984‐9739
   707273 MAGIC MOTOR CORP                            PO BOX 4985                                                                                                       CAGUAS               PR         00726
   707275 MAGIC PRODUCTS INC                          RR 36‐861                ALT DE SAN JUAN                                                                          SAN JUAN             PR         00926
   707276 MAGIC TRANSMISSION                          HC 01 BOX 5899                                                                                                    GUAYNABO             PR         00970
   707277 MAGIC TRANSPORT INC                         PO BOX 360729                                                                                                     SAN JUAN             PR         00936‐0729
   707278 MAGIC WORLD INC.                            1959 CALLE LOIZA                                                                                                  SAN JUAN             PR         00911
   707279 MAGICOLOR PHOTO LAB                         PO BOX 362032                                                                                                     SAN JUAN             PR         00936‐2032
   289492 MAGICWAY SERVICES CORP                      PO BOX 192446                                                                                                     SAN JUAN             PR         00919
                                                                               220 PLAZA WESTERN AUTO
   707280 MAGIN MARQUEZ PORTELLA                      PMB 278                  SUITE 101                                                                                TRUJILLO ALTO        PR         00976

   707281 MAGIN RODRIQUEZ SANTIAGO                    ALT BUCARABONES          3S 39 CALLE 44                                                                           TOA ALTA             PR         00954



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   707283 MAGIN RUIZSANCHEZ ABRAMS                    P O BOX 70166                                                                                                     SAN JUAN            PR           00936‐8166

   707284 MAGLEZ CONSTRUCTION CORP                    PO BOX 8                                                                                                          FLORIDA             PR           00650
          MAGLEZ ENGINEERING &
   289494 CONTRACTORS INC                             PO BOX 1174                                                                                                       FLORIDA             PR           00650

   289495 MAGLIS E TORRES RODRIGUEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   289496 MAGLIZ CONCEPCION ROSADO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707285 MAGLOIRE FRANCOIS REFUSE                    URB TREASURE ISLAND         AVE LAS AMERICAS B 1                                                                  CIDRA               PR           00739
   707286 MAGLYN CAMACHO RUIZ                         VILLA COOPERATIVA           H 5 CALLE 7                                                                           CAROLINA            PR           00985
   707287 MAGNA DISTRIBUTOR                           P O BOX 6935 SANTA ROSA                                                                                           BAYAMON             PR           00960

   289497 MAGNA MANUFACTURING INC                     9 CALLE BRISAS                                                                                                    SAN JUAN            PR           00929
   289501 MAGNA SERVICES INC                          URB QUINTA DEL SUR          O2 CALLE 12                                                                           PONCE               PR           00728‐1147

   289502 MAGNABYTE PUERTO RICO INC                   EDIF CESAR CASTILLO         361 CALLE ANGEL BOUNOMO                                                               SAN JUAN            PR           00918
   707289 MAGNAFLUX                                   7301 W. AINSLIE ST                                                                                                HARDWOOD HTS        IL           60656
   831471 Magnet Forensics                            22 King St South            Suite 502                                                                             Waterloo            ON           N2J 1N8       Canada
   289503 MAGNET FORENSICS USA, INC                   1209 ORANGE STREET                                                                                                WILMINGTON          DE           19801
   289504 MAGNEXT LTD                                 7100 HUNTLEY ROAD                                                                                                 COLUMBUS            OH           43229
   707290 MAGNIFIQUE FRAGANCES                        37 WEST 30 STREET                                                                                                 NEW YORK            NY           10001
   707291 MAGNO PIZZA PALACE                          226 AVE DOMENECH                                                                                                  SAN JUAN            PR           00918
   707292 MAGNOLIA GRULLON OLIVA                      HC 61 BOX 4491                                                                                                    TRUJILLO ALTO       PR           00976
   289506 MAGNOLIA SHELL 2                            1000 AVE MAGNOLIA           ESQ CALLE 3                                                                           BAYAMON             PR           00956
          MAGNUM ENTERTAINMENT
   289507 ENTREPRISES CORP                            MANSIONES DE GUAYNABO       C 7 CALLE 2                                                                           GUAYNABO            PR           00969
   289508 MAGNUM EXTERMINATING                        P O BOX 2075                                                                                                      GUAYNABO            PR           00970
   289509 MAGNUM INTERNET GROUP                       P.O. BOX 339                                                                                                      CHESHIRE            CT           06410
   289512 MAGON CONSTRUCTION INC                      LEVITTOWN                   H 19 CALLE MIRELLA OESTE                                                              TOA BAJA            PR           00949
          MAGRANER SUAREZ MD,
   289514 MIGUEL                                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707293 MAGRITTE INC                                PO BOX 9022316                                                                                                    SAN JUAN            PR           00902‐2316
                                                                                  CONSULTANTS TO
   707294 MAGT & COMPUTER ASSC. INC.                  PO BOX 360440               MANAGEMENT                                                                            SAN JUAN            PR           00936
   707295 MAGUAYES TEXACO SERVICE                     #298 CARR #10                                                                                                     PONCE               PR           00728‐1481
          MAGUETT CECILIA HERMMINGS
   289522 VILLAMIZAR                                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707296 MAGUEYES BUS LINE                           77 BO MAGUEYES              CARR 10 KM 9‐4                                                                        PONCE               PR           00731
   707297 MAGUEYES CATERING                           PO BOX 715                                                                                                        BARCELONETA         PR           00617

   707298 MAGUEYES TEXACO SERVICE STA 41 H‐41 URB LAS DELICIAS                                                                                                          PONCE               PR           00731
   707299 MAGUI‐CAF CORP              P O BOX 1448                                                                                                                      TOA BAJA            PR           00951

   289523 MAHALETH H VEGA SANTIAGO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289524 MAHALIA RAMOS RUIZ                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   289526 MAHANAIM HOME , INC                         CALLE LM GOTTSCHALK HG 95   LEVITTOWN                                                                             TOA BAJA            PR           00949
   289527 MAHANAIM HOME II INC                        PO BOX 324                                                                                                        SABANA SECA         PR           00952
   289528 MAHANAIM HOME INC                           HG 95 LEVITTOWN             CALLE LM GOTTSCHALK                                                                   TOA BAJA            PR           00949
   707300 MAHANAIM INC                                P O BOX 2183                                                                                                      SALINAS             PR           00751




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   289529 MAHE G. CASANOVA NORDELO                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289530 MAHER A AGHA NEJEM                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      65 th INF. STATION P.O. BOX
   707301 MAHER J JAMIL ISSA                          31135                                                                                                               SAN JUAN            PR           00929

   289531 MAHIDA HERNANDEZ JIMENEZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289532 MAHJOURI MD , FARHAD S                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289533 MAHMOOD M ABUFARAH                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MAHMOUD KAMAL ABOUKHEIR
   289535 ABOUKHEIR                                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707302 MAHMOUD OMARI                               P O BOX 943                                                                                                         BAYAMON             PR           00960
          MAHMOUD SAADA
   707303 MUHAMMAD                                    ALTURAS FLAMBOYAN             75 AVE TNTE NELSON MARTINEZ                                                           BAYAMON             PR           00959
   707304 MAHMUD JUMA PINEDA                          URB VILLA FONTANA             VIA 8 2ML 295                                                                         CAROLINA            PR           00983
   289538 MAHOGANY RIVERA ACOSTA                      REDACTED                      REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289543 MAI LIN ORTEGA RODRIGUEZ                    REDACTED                      REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      CARR 842 KM 3.9 CAMINO LOS
   707305 MAIA DEL C. RODZ SANTOS                     OCASIO                                                                                                              SAN JUAN            PR           00926
   289544 MAIALIN STEIDEL FIGUEROA                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289546 MAIDA BEDOYA ANDINO                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289547 MAIDA FLUSA CORREA                          REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289548 MAIDA HERNANDEZ BELLO                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707310 MAIDA PADILLA LOPEZ                         BO FACTOR I                   BZN 28 B CALLE A                                                                      ARECIBO             PR           00612
   707312 MAIDA RIOS RIVERA                           50 CALLE CERVANTES                                                                                                  ARECIBO             PR           00612

   289549 MAIDELINE GRAFALS MONTANO                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707314 MAIDY A RIVERA GONZALEZ                     PO BOX 2367                                                                                                         ARECIBO             PR           00613
   289551 MAIDY L. LOPEZ ROSARIO                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289552 MAIKA J DUCOS GARCIA                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707315 MAIL BOXES ETC                              667 PONCE DE LEON AVE                                                                                               SAN JUAN            PR           00907‐3201
   707318 MAIL BOXES EXT 3161                         405 AVE ESMERALDA STE 2                                                                                             GUAYNABO            PR           00969
   707319 MAIL ORDER DEPARTMENT                       5D BRICK PLANT ROAD           SOUTH RIVER                                                                           NEW JERSEY          NJ           08882
          MAIL ROOM FINANCE /TOTAL
   289553 FUNDS BY HASLER                             P O BOX 30193                                                                                                       TAMPA               FL           33630‐3193
   707320 MAILBOXES PLUS                              RR 8 BOX 1995                                                                                                       BAYAMON             PR           00956‐9676
   707321 MAILEEN CINTRON RIVERA                      HC 73 BOX 6052                                                                                                      NARANJITO           PR           00719
   289554 MAILEEN M RIOS                              REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707322 MAILEEN RIVERA RAMOS                        P O BOX 1207                                                                                                        SAN LORENZO         PR           00754
   707323 MAILEEN SOUCHET GARCIA                      COND TOWN HOUSE               APT 1708                                                                              SAN JUAN            PR           00923
   289555 MAILEEN TORRES GONZALEZ                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707324 MAILEIDY A GOMEZ GERMAN                     URB ATLANTIC VIEW             64 CALLE VENUS                                                                        CAROLINA            PR           00979
   289556 MAILENE LUGO OLMEDA                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289557 MAILLIM J GONZALEZ RIVERA                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707326 MAILLY OLIVER COLON                         138 CALLE JOSE I QUINTON                                                                                            COAMO               PR           00769
   707327 MAILLY PADIN RIVERA                         PO BOX 524                                                                                                          QUEBRADILLAS        PR           00678

   707328 MAILY N NEGRON MALDONADO                    HC 1 BOX 4111                                                                                                       MOROVIS             PR           00687
   707329 MAILYN I ORTIZ                              HC 01 BOX 4385                                                                                                      AIBONITO            PR           00705
   707330 MAILYN I ORTIZ COLON                        HC 01 BOX 4385                                                                                                      AIBONITO            PR           00705
   707331 MAILYN JAIMAN ALVARADO                      PARC PASO SECO                227 CALLE 65                                                                          SANTA ISABEL        PR           00757
   707332 MAILYN LOPEZ BADILLO                        COLINAS DE MONTE CARLO        A38 CALLE 23A                                                                         SAN JUAN            PR           00924




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   289559 MAIMONIDES MEDICAL CENTER PO BOX 409822                                                                                                                        ATLANTA             GA           30384‐9822
   707333 MAIN RICHARD              URB HACIENDA MARGARITA                         191 CALLE CARRETA                                                                     LUQUILLO            PR           00773‐3027
   289560 MAINARDI & RIVERA         REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   289562 MAINETTE MUNIZ CARTAGENA                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MAINLINE INFORMATION
   289563 SYSTEMS                                     DEPT # 1659 P.O. BOX 11407                                                                                         BIRMINGHAM          AL           35246‐1659
          MAINLINE INFORMATION
   289564 SYSTEMS INC                                 1700 SUMMIT LAKE DR                                                                                                TALLAHASSEE         FL           32317
   289567 MAINPINE INC                                9450 SW COMMERCE CIRCLE      SUITE 401                                                                             WILSONVILLE         OR           97070
          MAINSTAY CAPITAL MARKETS
   289568 CONSULTANT                                  1040 CROWN POINTE PARWAY     SUITE 1070                                                                            ATLANTA             GA           30338‐4724
   707334 MAINT CHEM 2001 INC                         P O BOX 6720                                                                                                       PONCE               PR           00733 6720
          MAINT TECH 2001 INC/MAINT
   707335 TECH SERV 2001                              PO BOX 6720                                                                                                        PONCE               PR           00733
   707336 MAINTENANCE AUTO SUR                        CALLE QUINA NG 1 A           SECCION 09 SANTA JUANITA                                                              BAYAMON             PR           00956
   289570 MAIOCCO MD, BRIAN                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289571 MAIOMY RIVERA SANTIAGO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289572 MAIR CASTILLO MD, ALFRED                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289574 MAIRA ARROYO RIVERA                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707339 MAIRA BLASINI GERENA                        OCEAN PARK                   4 CALLE ELENA                                                                         SAN JUAN            PR           00911
          MAIRA E RODRIGUEZ
   289575 JUSTINIANO                                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   400 D CALLE RODRIGO DE
   707342 MAIRA GONZALEZ HIRALDO                      URB PARQUE CENTRAL           TRIANA                                                                                SAN JUAN            PR           00918
          MAIRA ISABEL MORALES
   289576 BARBARA                                     PO BOX 7884                                                                                                        GUAYNABO            PR           00970‐7884
   707343 MAIRA L VAZQUEZ RIVERA                      HC 4 BOX 4428                                                                                                      LAS PIEDRAS         PR           00771‐9613
   707344 MAIRA M NEGRONI PEDROZA                     16 EXT SAN LUIS EFESO                                                                                              AIBONITO            PR           00705
   707345 MAIRA M RODRIGUEZ ORTIZ                     RES EL EDEN                  EDIF 2 APT 9                                                                          COAMO               PR           00769
   707346 MAIRA MATA                                  PMB 349 PO BOX 6017                                                                                                CAROLINA            PR           00984‐6017
   707347 MAIRA RIOS MARTINEZ                         HC46 BOX 5873                                                                                                      DORADO              PR           00646
   289577 MAIRA SANTIAGO ORTIZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289578 MAIRABI J OLIVO NIEVES                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MAIRELIN HERNANADEZ
   289579 GUARDIA                                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289580 MAIRENA INC                                 URB PARAISE HILLS            1656 CALLE PENASCO                                                                    SAN JUAN            PR           00926‐3127
   707348 MAIRIM ARVELO MARTINEZ                      URB MONTE CLARO              MN‐22 PLAZA 29                                                                        BAYAMON             PR           00961
          MAIRIM GRISELLE WISCOVICH
   289582 TORRES                                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707349 MAIRIM H RAMOS PEREZ                        SANTA PAULA                  A 8 CALLE 3                                                                           GUAYNABO            PR           00969

   289583 MAIRIM L. MARTINEZ SANTIAGO REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289584 MAIRIM MARTINEZ BAEZ        REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707350 MAIRIM MORALES REYES        COND ARCOS EN SUNCHVILLE                     80 CALLE 3 APT 503                                                                    GUAYNABO            PR           00966‐1682
   707351 MAIRIM NEGRON PEREZ         HC 1 BOX 3931                                                                                                                      UTUADO              PR           00641
   289585 MAIRIM WISCOVICH TORRES     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707352 MAIRIM Z MONTA¥EZ GARCIA    REPTO SOBRINO                                29 CALLE B                                                                            VEGA BAJA           PR           00693
   707353 MAIRIMA CHACON PEREZ        RES MARGUS ARBONE                                                                                                                  ARECIBO             PR           00612
   707354 MAIRIN MANA IGLESIAS        PO BOX 141325                                                                                                                      ARECIBO             PR           00614
   289586 MAIRIN PACHECO GONZALEZ     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289587 MAIRIN ROBLES ROSARIO       REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   707355 MAIRY LIZ HERNANDEZ VARGAS BRISAS DE CARRAIZO                            5000 BOX 34                                                                             SAN JUAN            PR           00926
   289588 MAIRYM HERNANDEZ COLON     REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707356 MAIRYM MEDINA SµNCHEZ      URB BRISAS DE AIBONITO                        54 CALLE TRINITARIA                                                                     AIBONITO            PR           00705

   707357 MAIRYM RODRIGUEZ VAZQUEZ                    COND TURABO CLOSTER          BUZON 89                                                                                CAGUAS              PR           00725
   707358 MAIRYM VERA MORALES                         URB PUERTO NUEVO             618 CALLE BALANCES                                                                      SAN JUAN            PR           00920

   289589 MAISA CARABALLO QUINONES                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289603 MAISONAVE RUIZ MD, ZULMA                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   289606 MAISONAVE SANCHEZ, JOSEFINA REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   CONDOMINIO EL CENTRO I SUITE
  1422812 MAISONET ACEVEDO, REBECA L.                 IVÁN GARAU DÍAZ              219                          #500 AVE MUNOZ RIVERA                                      HATO REY            PR           00918
          MAISONET GONZALEZ MD,
   289671 RAMON                                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MAISONET GONZALEZ,
   289672 FRANCISCO                                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707360 MAISONET HECTOR L.                          605 CALLE RIO DE JANEIRO                                                                                             SANTURCE            PR           00915
  1420278 MAISONET ORTIZ, MIDGALIA                    MIDGALIA MAISONET ORTIZ      PO BOX 2645                                                                             JUNCOS              PR           00777
  1420279 MAISONET ORTIZ, MIGDALIA                    MIDGALIA MAISONET ORTIZ      PO BOX 2645                                                                             JUNCOS              PR           00777
          MAISONET QUINTANA,
   289726 ILUMINADA                                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      121 RES LLORENS TORRES APT
   707361 MAISONET TRINIDAD JOSE                      2233                                                                                                                 SANTURCE            PR           00913
          MAISONET VAZQUEZ
   707363 HERNANDEZ                                   P O BOX 280                                                                                                          OROCOVIS            PR           00720
          MAISONVAVE, DAMARIS                                                      COND. ESQUIRE 2 CALLE VELA
  1420280 MIRANDA                                     JOSE MANUEL ARIAS SOTO       OFIC. 701                                                                               SAN JUAN            PR           00918‐3606
          MAITA LUCAS MILITARY
   707364 ACADEMY INC                                 PO BOX 556                                                                                                           LAS PIEDRAS         PR           00971
   707365 MAITE ARZUAGA ANDINO                        MONTE CLARO                  MP 12 PASEO DEL VALLE                                                                   BAYAMON             PR           00961
   289786 MAITE C COLON PAGAN                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289787 MAITE CACERES RODRIGUEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   289788 MAITE D SANABRIA FERNANDEZ                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289789 MAITE ECHEVESTRE PEREZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289790 MAITE FALCON DE JESUS                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MAITE MARIA CORTES
   289791 RODRIGUEZ                                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707366 MAITE MILLAN CARRASQUILLO                   HILL BROTHERS                439 CALLE 39                                                                            SAN JUAN            PR           00924
   707368 MAITE SANTIAGO SAEZ                         HC 45 BOX 10229                                                                                                      CAYEY               PR           00736
   289792 MAITE VAZQUEZ MANAUTOU                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289793 MAITE Y PADIN LUYANDO                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289794 MAITEE SOTO CRESPO                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289796 MAITLAND PA PSYCHOLOGY                      ATTN MEDICAL RECORDS         500 N MAITLAND AVE 110                                                                  MAITLAND            FL           32751
   289797 MAITTE M LLERANDI CRUZ                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   289798 MAIZ ACEVEDO MD, ROBERTO                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   289818 MAJAO AUTO COLLITION                        BO MIRAFLORES                BLOQUE 52‐15 CALLE 60                                                                   BAYAMON             PR           00956
          MAJESTIC GRAPHICS
   707369 COMMUNICATION                               PO BOX 721                                                                                                           BAYAMON             PR           00960



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  707370 MAJESTIC INVESTMENTS INC                     PMB 423 1353 CARR 19                                                                                          GUAYNABO          PR           00966
  289821 MAJOC GROUP INC                              P O BOX 738                                                                                                   SABANA SECA       PR           00952‐0738
  707371 MAJORIE MALDONADO                            RES MANUEL A PEREZ         EDF C 4 RES 51                                                                     SAN JUAN          PR           00923
  707373 MAJORIE SOTO RAMOS                           HC 4 BOX 15021                                                                                                SAN SEBASTIAN     PR           00685
         MAKE A WISH FOUNDATION OF
  707375 PR                                           100 GRAN BOULEVAR PASEOS   MSC 476 SUITE 112                                                                  SAN JUAN          PR           00926‐5955
  707376 MAKITA SERVICES                              CALLE GUAYAMA #200                                                                                            SAN JUAN          PR           00917
  707377 MAKK SOUND SYSTEM                            PO BOX 8004                                                                                                   PONCE             PR           00732
  289824 MAKOTAF CORP.                                HC‐01 BOX 5721                                                                                                BARRANQUITAS      PR           00794
  707378 MAKRIS LAW FIRM PC                           6800 WEST LOOPSOUTH        SUITE 115 BELLAIRE                                                                 HOUSTON           TX           77401
         MAKRO IMPORTERS &
  289825 DISTRIBUTORS                                 P. O. BOX 195441                                                                                              SAN JUAN          PR           00913‐0000
         MAKRO IMPORTERS &
  289826 DISTRIBUTORS INC                             PO BOX 13365                                                                                                  SAN JUAN          PR           00908‐3365
  289828 MAKRO IMPORTES & DIST INC                    GPO BOX 3671                                                                                                  SAN JUAN          PR           00936
  707379 MAKRO TRADING CO INC                         PO BOX 192772                                                                                                 SAN JUAN          PR           00919
  289829 MAKSI MD, JOSHUA                             REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   289830 MALAGA PRADO MD, NICOLAS                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   289852 MALARET PONCE DE, GERMAN E REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   289861 MALASPINA MEDIA WORKS INC                   F 12 PASEO DEL PARQUE                                                                                         GUAYNABO          PR           00966
   289879 MALAVE ARROYO, SONIA N.                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MALAVE BROT ALMAC
   289901 FERROCARRIL                                 1073 CALLE FERROCARRIL                                                                                        SAN JUAN          PR           00925
  1420281 MALAVE COTTE, TIRSO                         OVIDIO E. ZAYAS PEREZ      PO BOX 194000                                                                      SAN JUAN          PR           00919‐4000
   289988 MALAVE GOMEZ MD, ANGEL                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
                                                                                 CALLE LOÍZA NÚM. 1752
  1420282 MALAVÉ GONZÁLEZ, PEDRO                      JOSÉ ROQUÉ VELÁZQUEZ       INTERIOR PO BOX 6525                                                               SAN JUAN          PR           00914‐6525

   290103 MALAVE ORENGO PSYD, JOSE D                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   707380 MALAVE ORTIZ IBRAHIM                        CAMINO REAL NUM. 19                                                                                           CAGUAS            PR           00725
   290119 MALAVE ORTIZ, MYRNA                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   290182 MALAVE RIVERA, MILAGROS D                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   290217 MALAVE ROLON MD, VICTOR B                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   290270 MALAVE SCHOOL BUS INC.                      P O BOX 2997                                                                                                  GUAYNABO          PR           00970
   707381 MALAVE TOURS                                PO BOX 29470                                                                                                  SAN JUAN          PR           00929
   290317 MALAVE VEGA, MIRTA                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   290363 MALAVEZ PUENTE, CORALIS                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MALAYO MUFFLERS &
   707382 RADIATORS                                   PO BOX 9024275                                                                                                SAN JUAN          PR           00902‐4275
          MALCELINO MALDONADO                         COND SAGRADO CORAZON
   707384 MALDONADO                                   APT303                     505 C SAGRADO CORAZON                                                              SAN JUAN          PR           00915
   290366 MALCO MILLAN MEJIAS                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   707386 MALCOLM WALTERS ONEILL                      PO BOX 8087                                                                                                   SAN JUAN          PR           00910
   707387 MALCOM NEGRON JACKSON                       URB GUARICO C‐2 CALLE B                                                                                       VEGA BAJA         PR           00693
                                                      URB JARDINES DE COUNTRY
   707388 MALCOM NIEVES SURO                          CLUB                       C 22 CALLE 126                                                                     CAROLINA          PR           00987

   290367 MALCU, CORP.                                AVE. GONZALEZ CLEMENTE #445 BO. GUANAJIBO          SUITE 102                                                  MAYAGUEZ          PR           00680



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  707389 MALDA I OLMO MATIAS                          HC 3 BOX 22009                                                                                                   ARECIBO             PR           00612
         MALDONADO ACEVEDO MD,
  290382 CARLOS I                                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
         MALDONADO ADAMES MD,
  290405 FERDINAN                                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
 1420283 MALDONADO ALICEA, DAVID                      DAVID LUIS TORRES VELEZ   PO BOX 32258                                                                           PONCE               PR           00732
  707390 MALDONADO ALUMINIUM                          P O BOX 851                                                                                                      JUANA DIAZ          PR           00795
         MALDONADO ALVAREZ,                           JOSÉ FRANCISCO CARTAYA
 1420284 MARITZA                                      MORALES                   PO BOX 361883                                                                          SAN JUAN            PR           00936‐1883

   290524 MALDONADO AUTO PARTS INC                    URB ALHAMBRA              D 94 AVE LOS MILLONES                                                                  BAYAMON             PR           00957

   290526 MALDONADO AVILES MD, IDALYS REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MALDONADO BLANCO,                                                     1488 MARGINAL PASEO FAGOT
  1422435 EDGARDO                     RAFAEL ZAYAS COLÓN                        SUITE 1                     BOULEVAR MIGUEL A. POU                                     PONCE               PR           00716
  1420285 MALDONADO BONES, JOSE R.    ANDRÉS DÍAZ NIEVES                        PO BOX 6013                                                                            BAYAMÓN             PR           00960‐5013
          MALDONADO BOYA MARIA, DEL
   290628 C                           REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   290664 MALDONADO BUS               HC 03 BOX 213339                          BO. ESPERANZA                                                                          ARECIBO             PR           00612
   707391 MALDONADO BUS LINE          BO ESPERANZA                              HC 3 BOX 21339                                                                         ARECIBO             PR           00612
   290666 MALDONADO BUS LINE, INC.    HC 03 BOX 21339                                                                                                                  ARECIBO             PR           00612
   290673 MALDONADO CABRERA LLC       PO BOX 9023787                                                                                                                   SAN JUAN            PR           00902‐3787
                                                                                                            BANCO COOPETATIVO OFIC. 502‐
  1423035 MALDONADO CANCEL, GILBERT RAFAEL MARCHANED PAONESSA PONCE DE LEON NUM. 623                        B                                                          HATO REY            PR           00918
   290815 MALDONADO COLON, ALBA I.  REDACTED                   REDACTED                                     REDACTED                     REDACTED                      REDACTED            REDACTED     REDACTED       REDACTED
          MALDONADO COLÓN, ALFREDO
  1420286 A, ET ALS                 PRISILLA HERNANDEZ PORRATA PO BOX 3024                                                                                             GUAYAMA             PR           00785

   290828 MALDONADO COLON, CARMEN                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

          MALDONADO
   707392 COMMUNICATIONS SOLUTIONS                    VILLA CAROLINA            165‐28 CALLE 420 A                                                                     CAROLINA            PR           00985

   290898 MALDONADO CORTES SONIA, 1                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   290899 MALDONADO CORTES, AIDA                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   290902 MALDONADO CORTES, BLANCA                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   290983 MALDONADO CRUZ, NANCY                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   291013 MALDONADO DAVILA, IRIS                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   291014 MALDONADO DAVILA, LUZ                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MALDONADO ENCARNACIO,
   291136 MARGARITA                                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                                                INST. MÁXIMA SEGURIDAD PO
  1420287 MALDONADO ESPINOSA, ANGEL ANGEL MALDONADO ESPINOSA                    BOX 10786 A‐5 5026                                                                     PONCE               PR           00732
          MALDONADO ESQUILIN MD,
   291147 LYDIA E                   REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   291160 MALDONADO FEBLES, MARIA I                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   291272 MALDONADO GALARZA, LILLIAM REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MALDONADO GARCIA MD,
   291280 CARLOS                     REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED




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          MALDONADO GONZALES MD,
   291354 VICTOR K                                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MALDONADO GONZALEZ,
   291357 ANGELINE                                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   291342 MALDONADO GONZALEZ, JUDITH REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   291544 MALDONADO INDIO, LEIDA E   REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MALDONADO INVESTMENT
   291546 CORP DBA BORDADOS          URB EL EDEN                                CARR 14 KM 32.5                                                                          COAMO                PR           00769
          MALDONADO JIMENEZ,
   291575 SOCORRO                    REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MALDONADO JUSTINIANO,
   291582 DARLENE                    REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   291589 MALDONADO LABOY, ISABEL    REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   291595 MALDONADO LABOY, PILAR     REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   291619 MALDONADO LLANES NEFTALI                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

  1420288 MALDONADO LÓPEZ, CHRISTIAN CHRISTIAN MALDONADO LOPEZ INST 1000 MAX POBOX 10009                                                                                 GUAYAMA              PR           00785

  1420289 MALDONADO LÓPEZ, CHRISTIAN CHRISTIAN MALDONADO LOPEZ INST 1000 MAX POBOX 10009                                                                                 GUAYAMA              PR           00785

  1420290 MALDONADO LÓPEZ, CHRISTIAN CHRISTIAN MALDONADO LOPEZ INST 1000 MAX POBOX 10009                                                                                 GUAYAMA              PR           00785
          MALDONADO LOPEZ, JOSE                                URB. PASEOS REALES 429 CALLE
  1420291 JAVIER                     CARLOS DASTA MELENDEZ     FORTALEZA                                                                                                 ARECIBO              PR           00612

   291685 MALDONADO LORENZO, EREDIA                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MALDONADO MALDONADO,
  1420292 NILDA                                       LUIS G. DE JESUS RIVERA   APARTADO 107                                                                             VEGA BAJA            PR           00694
          MALDONADO MALDONADO,
   291813 NILSA                                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MALDONADO MARTÍNEZ,
  1420293 ALEXANDER                                   JAVIER JIMÉNEZ VÁZQUEZ    PO BOX 520                                                                               MERCEDITA            PR           00715
   291936 MALDONADO MATIAS, HILDA                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   291940 MALDONADO MATOS, ANGEL L                    REDACTEDREDACTED                                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                              INT. MAXIMA SEGURIDAD PO
  1420294 MALDONADO MATOS, PEDRO L. MALDONADO MATOS, PEDRO L. BOX 100786 A‐5 6022                                                                                        PONCE                PR           00732
   291948 MALDONADO MD , JOSEPH M   REDACTED                  REDACTED                                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MALDONADO MEDINA MD,
   291950 MIGUEL                    REDACTED                  REDACTED                                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

  1420295 MALDONADO MEDINA, ANA D.                    MARCELINO RUIZ CORUJO     101 ESTEBAN PADILLA OFIC. 7                                                              BAYAMÓN              PR           00959

   291962 MALDONADO MEDINA, GLORISEL REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   292018 MALDONADO MERCADO, AIDA I                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MALDONADO MERCADO, JESUS
   292023 E                                           REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MALDONADO MORALES MD,
   292079 CONCEPCION                                  REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MALDONADO NICOLAI &                                                   209 POPULAR CENTER SUITE
   292205 GONZALEZ LAW OFFICES                        MUNOZ RIVERA              1822                                                                                     SAN JUAN             PR           00918



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          MALDONADO NICOLAI
   707393 GONZALEZ LAW OFFICE                         209 MUNOS RIVERA       POPULAR CENTER STE 1822                                                               SAN JUAN            PR           00918
          MALDONADO NIEVES,JOSE DBA
   707394 GARAGE CANO                                 PO BOX 190903                                                                                                SAN JUAN            PR           00919

   292340 MALDONADO OTERO, MARTA I                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                                        MAXIMA SEGURIDAD 1000 BOX
  1422909 MALDONADO PAGAN, MARIANO MARIANO MALDONADO PAGAN INSTITUCION CORRECCIONAL                     10009                                                      GUAYAMA             PR           00785
                                                                                                        MAXIMA SEGURIDAD 1000 BOX
  1422910 MALDONADO PAGAN, MARIANO MARIANO MALDONADO PAGAN INSTITUCION CORRECCIONAL                     10009                                                      GUAYAMA             PR           00785
                                                                                                        MAXIMA SEGURIDAD 1000 BOX
  1422911 MALDONADO PAGÁN, MARIANO MARIANO MALDONADO PAGAN                   INSTITUCION CORRECCIONAL   10009                                                      GUAYAMA             PR           00785
          MALDONADO PONS MD,
   292478 ELIZABETH                REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   292482 MALDONADO QUILES, ANA M. REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MALDONADO QUINONES,
   292499 VALERIE M                REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   292509 MALDONADO RABELO MD, JUAN REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MALDONADO RABELO MD, JUAN
   292510 M                          REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MALDONADO RAMIREZ MD,
   292511 MARIO                      REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   292542 MALDONADO RAMOS, JOSE E    REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707396 MALDONADO RENTAL           HC 04 BOX 13913                                                                                                               ARECIBO             PR           00612
          MALDONADO RENTAL AND KEISA
   707397 FLOWERS                    HC 4 BOX 13913                                                                                                                ARECIBO             PR           00612

   292620 MALDONADO RIVAS, MIGDALIA                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MALDONADO RIVERA MD,
   292622 MYRIAM                                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MALDONADO RIVERA MD,
   292623 PEDRO A                                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   292648 MALDONADO RIVERA, DORA H. REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   292703 MALDONADO RIVERA, JULIA    REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MALDONADO ROCHE, MARIA M.
  1420296 Y OTROS                    KAREN MORALES PÉREZ                     623 PONCE DE LEÓN AVENUE                                                              HATO REY            PR           00917
          MALDONADO RODRIGUEZ, DILKA
   292863 L                          REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MALDONADO RODRIGUEZ,                                               158 DELFIN OLMO PO BOX
  1420297 JOARIS                     ANGELA OQUENDO NEGRÓN                   142082                                                                                ARECIBO             PR           00614‐2082
  1420298 MALDONADO ROJAS, OLGA      GENOVEVA VALENTÍN SOTO                  PO BOX 13695                                                                          SAN JUAN            PR           00908‐3695
  1420299 MALDONADO ROJAS, OLGA      GENOVEVA VALENTÍN SOTO                  PO BOX 13695                                                                          SAN JUAN            PR           00908‐3695
  1420300 MALDONADO ROJAS, OLGA      GENOVEVA VALENTÍN SOTO                  PO BOX 13695                                                                          SAN JUAN            PR           00908‐3695
          MALDONADO ROMAN, BLANCA
  1420301 ELBA                       MARIELLE RAMIREZ GONZALEZ               PO BOX 180                                                                            UTUADO              PR           00641
          MALDONADO RONDON MD,
   293040 JELLYTZA                   REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   293114 MALDONADO RUIBIO, YELITZA                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MALDONADO SANCHEZ,
   293174 REINALDO                                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          MALDONADO SANTIAGO,
   293221 LOURDES M.                                  REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MALDONADO SANTOS MD,
   293253 CARLOS I                                    REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   293254 MALDONADO SANTOS MD, FELIX REDACTED                                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707398 MALDONADO SCREENS          411 CALLE COMERIO                                                                                                                  BAYAMON             PR           00959
          MALDONADO SERRANO,         ORLANDO MALDONADO
  1420302 ORLANDO                    SERRANO                                 PO BOX 681                                                                                 TOA BAJA            PR           00951
          MALDONADO SERRANO,         ORLANDO MALDONADO
  1420303 ORLANDO                    SERRANO                                 PO BOX 681                                                                                 TOA BAJA            PR           00951
          MALDONADO SERRANO,         ORLANDO MALDONADO
  1420304 ORLANDO                    SERRANO                                 PO BOX 681                                                                                 TOA BAJA            PR           00951
          MALDONADO SERRANO,         ORLANDO MALDONADO
  1420305 ORLANDO                    SERRANO                                 PO BOX 681                                                                                 TOA BAJA            PR           00951
          MALDONADO TERRON MD,
   293375 FERDINANDO                 REDACTED                                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MALDONADO TORRES MD,
   293390 ENRIQUE                    REDACTED                                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MALDONADO TORRES MD,
   293391 ISMAEL                     REDACTED                                REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707399 MALDONADO TORRES SOLIMAR LAGOS DE PLATA                            D7 CALLE 2 URB LAGOS DE PLATA                                                              TOA BAJA            PR           00949

   707400 MALDONADO TOWING SERVICE                    HC 2 BOX 13699                                                                                                    HATO VIEJO          PR           00612

   293539 MALDONADO VALENTIN, JOSE B. REDACTED                               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   293581 MALDONADO VAZQUEZ, IRMA                     REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MALDONADO VELAZQUEZ,
   293616 CARLOS G.                                   REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   293649 MALDONADO VELEZ, JULIA                      REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   293660 MALDONADO VELEZ, REBECA                     REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MALDONADO, CARMEN Y
          UNIVERSAL INSURANCE
          COMPANY Y POPULAR AUTO,
  1420306 INC.                                        JOSÉ O. COTTO LUNA     PO BOX 2234                                                                                CAYEY               PR           00737
          MALDONADO, CARMEN Y
          UNIVERSAL INSURANCE
          COMPANY Y POPULAR AUTO,
  1420307 INC.                                        JOSÉ O. COTTO LUNA     PO BOX 2234                                                                                CAYEY               PR           00737
                                                                             URB. SAN ANTONIO 1744 CALLE
  1420308 MALDONADO, WANDA                            LUIS BARNECET VÉLEZ    DONCELLA                                                                                   PONCE               PR           00728‐1624
          Maldonado‐Robles, Maria de los
   293756 Angeles                                     REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MALDRID T MORENO
   293760 MALDONADO                                   REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   293761 MALEANE RIVERA GONZALEZ                     REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707401 MALECON WAREHOUSE CO INC                    P O BOX 366                                                                                                       CATANO              PR           00963‐0366
   293762 MALEGRIAS CORPORATION                       28 CORONEL ST                                                                                                     ISABELA             PR           00662
   293763 MALEK MD, MICHEL                            REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   293513 MALÉN OSORIO LÓPEZ                          REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   293584 MALEN VELAZQUEZ SANTIAGO                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   293765 MALENA DELGADO SIERRA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   293767 MALENA M. DELIZ CABRERA                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   293768 MALENI RIVERA SANTOS                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   293769 MALENY M COLLAZO VIDOT                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707404 MALENY ZAMBRANA MAISONET                    243 CALLE PARIS STE 1604                                                                                              SAN JUAN            PR           00917
          MALEZA EXPRESS PHARMACY
   293773 INC                                         HC 9 BOX 13327                                                                                                        AGUADILLA           PR           00603
   293774 MALGOR & CIA                                PO BOX 362589                                                                                                         SAN JUAN            PR           00936‐2589
   293777 MALGOR & CO. , INC.                         P. O. BOX 366                                                                                                         CATANO              PR           00936‐0366
   707405 MALIANA PROPERTIES CORP                     URB BOSQUE LOS FRAILES       9 CALLE FRAY I¥IGO                                                                       GUAYNABO            PR           00969
   707406 MALIBU CORP                                 PO BOX 4768                                                                                                           SAN JUAN            PR           00919
   293779 MALIERI COLON RIVERA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   293780 MALIK MD , JACEK M                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707407 MALINA B MENENDEZ MENA                      7918 NORTH GLEN DR APT 3030                                                                                           IRVING              TX           705063
   293786 MALISSA ORTIZ DEL VALLE                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707408 MALJOURIE RODRIGUEZ MASS                    HC 3 BOX 33713                                                                                                        MAYAGUEZ            PR           00680
   293787 MALKY I RIVERA GUARDIOLA                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   293788 MALKYS I RIVERA GUARDIOLA                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256651 MALLINCKODT CARIBE INC.                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707410 MALLINCKRODT                                16305 SWINGLIY RIDGE                                                                                                  ST LOUIS            MO           63017
   293792 MALLINCKRODT CARIBE , INC.                  P. O. BOX 71416                                                                                                       SAN JUAN            PR           00936‐0000
   707411 MALLY DOMINGUEZ ORTIZ                       BORINQUEN GARDENS            UU 20 B IRIS                                                                             SAN JUAN            PR           00926
   707412 MALLY E REYES RIVERA                        PO BOX 396                                                                                                            SALINA              PR           00751
                                                                                   JANE BECKER WHITAKER PSC PO
  1420309 MALOY, MICHELLE                             JANE A. BECKERWHITAKER       BOX 9023914                                                                              SAN JUAN            PR           00902‐3914
          MALPASO SPORT MOTORCYCLE
   293800 INC                                         PO BOX 869                                                                                                            AGUADA              PR           00602

   293817 MALPICA RODRIGUEZ, LUIS M.                  REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   293839 MALTIS RAINIERI MD, ANA F                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707414 MALU CERAMIC                                URB PARQUE ECUESTRE          L1 CALLE 16                   CANOVANILLAS                                               CAROLINA            PR           00987
   293840 MALU MUNIZ LAW OFFICE                       PO BOX 194942                                                                                                         SAN JUAN            PR           00919‐4942
   293841 MALU MUNIZ NIEVES                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   293842 MALUBI E ESTEVES NEGRON                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   293847 MALVIN ALICEA BATISTA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707416 MALVIN C FARINACCI GARCIA                   JARD DEL CARIBE              MM 2 CALLE 44                                                                            PONCE               PR           00728
   293848 MALVIN CABRERA OJEDA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707417 MALVIN HERNANDEZ MOLINA                     URB LIRIO CALA               L176 CALLE SAN LUCAS                                                                     JUNCOS              PR           00777
   293849 MALVIN MOLINA LABOY                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   293850 MALVIN PAUL FARINACCI                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707418 MALVINA RIVERA GARCIA                       COND PIEDRA HITA APARTMENT   I A SANTIAGO IGLESIAS 69                                                                 SAN JUAN            PR           00907
   293851 MALWAREBYTES INC                            3979 FREEDOM CIRCLE          12 FLOOR                                                                                 SANTA CLARA         CA           95054
   707419 MALYNIE D BLANCO BURGOS                     P O BOX 180                                                                                                           OROCOVIS            PR           00720
   293852 MALYRIS CRUZ ABRAHAM                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707420 MAMACITAS GUEST HOUSE                       PO BOX 790                                                                                                            CULEBRA             PR           00775
   707421 MAMBO PIZZA                                 URB TREASURE VALLEY          O 16 CALLE 4                                                                             CIDRA               PR           00739




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          MAMBRU TAVAREZ PC,
   293855 VILMANIA                                    REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707422 MAMERY INC/SPOT ON HOLD                     P O BOX 1360                                                                                                              MAYAGUEZ            PR           00681
   707423 MAMEYAL COLLISION                           BO MAMEYAL P33 A                                                                                                          DORADO              PR           00646
   293857 MAMI RECORDS INC                            445 CALLE 8 E                   APT 2C                                                                                    SAN JUAN            PR           00926

   707424 MAMIX TRUCK & TRAILER     WINSTON CHURCHILL                                 EL SE¨ORIAL MALL STA 211 AVE                                                              RIO PIEDRAS                      00926
          MAMMOLINA CENTRO CREATIVO CAMINO LOS ROMEROS KM.1
   293858 MONTESSORI                HM. 1.8 SECTOR CAMITO BAJ                                                                                                                   SAN JUAN            PR           00921
   293859 MAMMOLINA INC             PO BOX 9021445                                                                                                                              SAN JUAN            PR           00902‐1445
   707425 MAMMOTECK INC             PMB 465                                           89 AVE DE DIEGO SUITE 105                                                                 SAN JUAN            PR           00627‐6346
   293861 MAN CHUN CHAN             REDACTED                                          REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707426 MAN HEC DIST.             PO BOX 3290                                                                                                                                 MAYAGUEZ            PR           00681
   707427 MAN ROLAND INC            CORPORATE HEADQUARTERS                            800 EAST OAK HILL DRIVE                                                                   WESTMONT            IL           60559
   293863 MANA AUTO                 PO BOX 1207                                                                                                                                 CAGUAS              PR           00726
   707428 MANA CONSTRUCTION CORP    URB LA CUMBRE                                     484 CALLE BAYAMON                                                                         SAN JUAN            PR           00926
   293864 MANA HOME, ASSOCIATES     REDACTED                                          REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707429 MANAC SPORTS INC          URB VILLAS DE LEVITTOWN                           D 20 CALLE 1                                                                              TOA BAJA            PR           00949
   707430 MANACES RODRIGUEZ TORO    BO MASAS 2                                        HC 01 BOX 7697                                                                            GURABO              PR           00778
          MANADA 82 CLUB SCOUT OF
   707432 AMERICA                   P O BOX 7428                                                                                                                                SAN JUAN            PR           00916

  1256652 MANADARIN PUERTO RICO, INC.                 REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANAGED CARE INFORMATION
   707433 CENTER                                      PO BOX 559                                                                                                                ALLENWOOD           NJ           08720‐0559
          MANAGEMENT
          ADMINISTRATION SEEVICES                     AVE. MUNOZ RIVERA 894 SUITE
   293865 CORP.                                       201                                                                                                                       SAN JUAN            PR           00927‐0000
          MANAGEMENT
   293866 ADMINISTRATION SERV CORP                    894 AVE MUÐOZ RIVERA            SUITE 201                                                                                 SAN JUAN            PR           00927
          MANAGEMENT ADVISORY
   707434 SERVICE                                     PO BOX 81151                                                                                                              WELLESLEY HILLS     MA           02181
          MANAGEMENT ADVISORY
   293868 SERVICES                                    PO BOX 81151                                                                                                              WELLESLEY HILL      MC           02181‐0001
          MANAGEMENT AND                              CAPARRA GALLERY BLDG SUITE      107 AVE RAFAEL GONZALEZ
   707435 ACQUISITION GROUP                           303                             GIUSTI                                                                                    GUAYNABO            PR           00966

          MANAGEMENT AND TECHNICAL                    EDIFICIO LA ELECTRONICA SUITE
   707436 CONSULTING GROU                             221                                                                                                                       SAN JUAN            PR           00925
          MANAGEMENT ASSISTANCE
   293871 SERV INC                                    GPO BOX AD                                                                                                                SAN JUAN            PR           00936
          MANAGEMENT ASSISTANCE
   707437 SERVICE                                     PO BOX 366229                                                                                                             SAN JUAN            PR           00936
   707438 MANAGEMENT CONCEPTS                         8230 LEESBURG PIKE              SUITE 800                                                                                 VIENNA              VA           22182

   293872 MANAGEMENT CONCEPTS INC                     8230 LEESBURG                   SUITE 800                                                                                 VIENNA              VA           22182
          MANAGEMENT CONSULTAN &
   293873 COMPUTER SERV INC                           PO BOX 11967                                                                                                              SAN JUAN            PR           00922‐1967
          Management Consultants &
   293874 Computer Servic                             P.O. Box 11967                                                                                                            San Juan            PR           00922‐0000
          MANAGEMENT INTEGRATED
   293876 SOLUTIONS CORP                              P O BOX 194000 PMB 279                                                                                                    SAN JUAN            PR           00919‐4000




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          MANAGEMENT INTEGRATED
   293877 SOLUTIONS CORP.                             PMB 279                        PO BOX 194000                                                                        SAN JUAN            PR           00919

   707439 MANAGEMENT JANITOR SERVICE PO BOX 750                                                                                                                           SAN JUAN            PR           00902
          MANAGEMENT SERV FOR
   707440 EDUCATION                  24 LATERN HILL ROAD                                                                                                                  LITTLE ROCK         AR           72227
          MANAGEMENT SYSTEMS
   707441 ANALYST                    PO BOX 7886‐515                                                                                                                      GUAYNABO            PR           00970
          MANAGEMENT TEMPORARY
   293878 AND CONTRACT               EMPLOYMENT SERVICE INC                          PO BOX 192392                                                                        SAN JUAN            PR           00919
          MANAGEMENT, CONSULTANT &
   293879 COMPUTER SERV              MCCS/BCO. POPULAR DE PR                         P.O. BOX 362708                                                                      SAN JUAN            PR           00936‐2708
          MANAGMENT SERVICE ALLIANCE
   707442 INC                        PO BOX 9024275                                                                                                                       SAN JUAN            PR           00902‐4275
          MANANA DE VELAZQUEZ MD,
   293880 ANGELA                     REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   293881 MANANGELY MERCED CINTRON                    PO BOX 1506                                                                                                         ARROYO              PR           00714
   293882 MANANTIAL DE VIDA INC                       HC 5 BOX 107912                                                                                                     MOCA                PR           00676
   707443 MANANTIAL LA ROCA                           PO BOX 1529                                                                                                         TRUJILLO ALTO       PR           00977
          MANANTIALES SUPERMARKET
   707444 INC                                         140 CALLE LICEO                                                                                                     MAYAGUEZ            PR           00680
   707445 MANASES VEGA VALLE                          EXT LA MARGARITA A 19                                                                                               SALINAS             PR           00751
   293883 MANATEE ECO RESORT INC                      BOX 336                                                                                                             SALINAS             PR           00751

   293884 MANATEE MEMORIAL HOSPITAL                   405 ST PETERSBURG DR E STE 6   206 2ND ST E                                                                         OLDSMARON           FL           34677
          MANATI ANESTHESIA
   707446 ASSOCIATES                                  P O BOX 484                                                                                                         MANATI              PR           00674
          MANATI AUTO CORPORATION &
  1420310 BMW FINANCIAL SERVICES                      LUIS RIVERA MARTINEZ           RR 17 BOX 11358                                                                      SAN JUAN            PR           00926‐9499
   707447 MANATI AUTO PARTS                           BOX 103                                                                                                             MANATI              PR           00674

   707448 MANATI CPR TRAINING CENTER                  RR 1 BOX 12253                                                                                                      MANATI              PR           00674

   293888 MANATI HOTEL COMPANY LLC                    270 AVE MUNOZ RIVERA PISO 9                                                                                         SAN JUAN            PR           00918

   707449 MANATI OFFICE SCHOOL SUPPLY PO BOX 1400                                                                                                                         MANATI              PR           00674
   707451 MANATI OFFICE SUPPLY        6 CALLE ACOSTA                                                                                                                      MANATI              PR           00674
          MANATI VETERINARY
   293889 CLINIC/CARLOS RIVERA        BO CANTERA 59                                  CARR 2 KM 44.2                                                                       MANATI              PR           00674
   293891 MANATI VISUAL CENTER        URB ATENAS                                     CALLE ELLIOT VELEZ J 10                                                              MANATI              PR           00674
   293893 MANATI VISUAL INC.          J‐12 ELLIOT VELEZ                              URB ATENAS                                                                           MANATI              PR           00674

   293905 MANCHARLINE SANTANA ORTIZ REDACTED                                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANCHESTER COMMUNITY
   293907 HEALTH CENTER             145 HOLLIS STREET                                                                                                                     MANCHESTER          NH           03101
          MANCHESTER MEMORIAL
   293908 HOSPITAL                  71 HAYNES STREET                                                                                                                      MANCHESTER          CT           06040‐4188

   293909 MANCHESTER MENTAL HEALTH                    MEDICAL RCDS DIRECTOR          401 CYPRESS ST                                                                       MANCHESTER          NH           03103
   293910 MANCHESTER TRADE LTD                        1710 RHODE ISLAND AVENUE       NW SUITE 300                                                                         WASHINGTON          DC           20036
   293913 MANCINO ENTERPRISES, INC.                   PO BOX 22623                                                                                                        FT. LAUD            FL           33335‐2623




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          MAND G PROPERTY
   707453 MANAGEMENT                                  SANTA ROSA                 2 CALLE 15 25                                                                           BAYAMON             PR           00959
          MANDARIN LIBRARY
   293915 AUTOMATION                                  P O BOX 272308                                                                                                     BOCA RATON          FL           33427‐2308
   293916 MANDARIN PUERTO RICO INC                    PO BOX 272308                                                                                                      BOCA RATON          FL           33427‐2308
          Mandes Padro, Richard ‐ AA
   293923 Catering                                    PMB 102 390                                                                                                        CAROLINA            PR           00987
  1420311 MANDRY MERCADO, JAVIER                      PRO SE                     1326 CALLE SALUD APT. 1101                                                              PONCE               PR           00717
  1420312 MANDRY MERCADO, JAVIER                      PRO SE                     1326 CALLE SALUD APT. 1101                                                              PONCE               PR           00717

   293934 MANDRY PAGAN MD, ROCIO C                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420313 MANDRY, SALVADOR                            CESAR HERNANDEZ COLON      PO BOX 331041                                                                           PONCE               PR           00733‐1041
   293940 MANDY CORDERO BERRIOS                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   293941 MANDY R CORDERO BERRIOS                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707454 MANDY RODRIGUEZ ROQUE                       MARIOLGA                   F 21 CALLE SAN FERNANDO                                                                 CAGUAS              PR           00725
   707455 MANEL SILVA MUSALEM                         CALLE 17 PP‐10             EXT. ALTA VISTA                                                                         PONCE               PR           00731
   293943 MANELIE FLORES RODRIGUEZ                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707456 MANELY APONTE REYES                         97 CALLE DR VEVE SUR                                                                                               COAMO               PR           00769
   707457 MANEN HAIR DESIGN                           PO BOX 958                                                                                                         AIBONITO            PR           00705
   293945 MANES HORTA MD, RAUL B                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   293955 MANFREDO JUSINO CORDERO   REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420314 MANFREDO PLICET, URSULA   ANDRES MONTAÑÉZ COSS                         PO BOX 193501                                                                           SAN JUAN            PR           00919‐3501
   293971 MANGAT MD, BHUPINDER      REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707458 MANGROVE                  1850 FERNANDEZ JUNCOS                                                                                                                SAN JUAN            PR           00908
          MANGUAL CASANOVA MD,
   293999 TERESITA                  REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANGUAL CORDERO MD, EFREN
   294007 E                         REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294023 MANGUAL DE LEON, JUANA    REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                 PO BOX 444 CALLE CELIZ
  1420315 MANGUAL DÍAZ, LIZ BRENDA                    PEDRO J. RIVAS TOLENTINO   AGUILERA #50                                                                            PUERTO REAL         PR           00740
          MANGUAL GONZALEZ MD,
   294053 DAMARIS                                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      FERNANDO L. RODRÍGUEZ
  1420316 MANGUAL MOJICA, JOSE B.                     MERCADO                    PO BOX 1291                                                                             SAN LORENZO         PR           00754
   294110 MANGUAL NUNEZ, SONIA                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANGUAL OFFICE CLEANING
  1256653 SERVICE INC                                 REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294115 MANGUAL ORTIZ, ANGELINA                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANGUAL PSYCHIATRIC
   294127 SERVICES                                    PO BOX 660                                                                                                         BOQUERON            PR           00622
                                                                                                              EDIF. FIRST FEDERAL SAVING
  1422476 MANGUAL VAZQUEZ, SANDRA I                   MANUEL J. CAMACHO CORDOVA 1519 PONCE DE LEÓN AVE.       SUITE 320                                                  SAN JUAN            PR           00909
                                                                                                              AVENIDA LUIS MUÑOZ RIVERA
  1422797 MANGUAL, WANDA I.                           LUIS TORO GOYCO            COND. EL CENTRO II 500       SUITE 1301                                                 SAN JUAN            PR           00918
   294214 MANGUAL'S OFFICE SERVICE                    PO BOX 2527                                                                                                        GUAYNABO            PR           00970‐2527
   707459 MANGUI & ANDOVA INC                         PMB 275 SUITE 15           2135 ROAD 2                                                                             BAYAMON             PR           00959‐5259
          MANHATTAN COLLEGE PR
   707460 SCHOLARSHIP FUND                            PO BOX 810115 AMF STA                                                                                              CAROLINA            PR           00981
   294217 MANHATTAN FOOT CARE                         347 5TH AVE                                                                                                        NEW YORK            NY           10016
          MANHATTAN NATIONAL LIFE
   294218 INSURANCE CO                                PO BOX 5416                                                                                                        CINCINNATI          OH           45201‐5416



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          MANHATTAN NEUROSURGICAL
   294219 ASSOCIATED                                  8413 13TH AVENUE                                                                                                          BROOKLYN            NY           11228
          MANHATTAN PSYCHIATRIC
   294220 CENTER                                      600 E 125TH ST                                                                                                            NEW YORK            NY           10035

   707461 MANHEC DISTRIBUTORS CORP. PO BOX 3193                                                                                                                                 MAYAGUEZ            PR           00681
  1420317 MANHEIM CARIBBEAN             LUIS RIVERA MARTINEZ         RR17 BOX 11358                                                                                             SAN JUAN            PR           00926‐9499
   707462 MANHEIMS CARIBBEAN            PO BOX 1406                                                                                                                             BAYAMON             PR           00960‐1406
   707464 MANI AUTO BODY REPAIR         PO BOX 9024275                                                                                                                          SAN JUAN            PR           00902‐4275
   707465 MANI CAR CARE                 ALT DE ALGARROBO             BD11 CALLE LA TORRE                                                                                        MAYAGUEZ            PR           00682‐6309
          MANI SERVICE CENTER/ Estacion
   707466 Shell Sul.                    AVE. HOSTOS 2908                                                                                                                        MAYAGUEZ            PR           00680‐6503
   294222 MANIEL E LUNA LABOY           REDACTED                     REDACTED                                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                        1945 NORTH CARSON STREET
   707469 MANIFOLD NET LTD              SUITE 700                                                                                                                               CARSON CITY         NV           89701
                                        COND ALTOS DE LA COLINA APTO
   707470 MANILIZ SEGARRA VAZQUEZ       101                                                                                                                                     SAN JUAN            PR           00926
          MANISESS COMUNICATIONS
   707471 GROUP                         PO BOX 9758                                                                                                                             PROVIDENCE          RI           02940
   294223 MANITAS DE ANGEL INC          PO BOX 5057                                                                                                                             CAGUAS              PR           00725
   294224 MANITAS DE SEDA               REDACTED                     REDACTED                                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707472 MANJARES RESTAURANT INC       8180 CONCORDIA                                                                                                                          PONCE               PR           00717‐1568
   294152 MANJUNATH MD, RAJINI          REDACTED                     REDACTED                                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294227 MANLEY VELAZQUEZ GARCIA       REDACTED                     REDACTED                                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   771163 MANLIO ARRAIZA CABAN          REDACTED                     REDACTED                                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294229 MANN DANIEL                   REDACTED                     REDACTED                                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294230 MANNAM MD , ARJUNA P          REDACTED                     REDACTED                                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANNELLY RODRIGUEZ
   707474 MELENDEZ                      LAS AGUILAS                  F 13 CALLE 4                                                                                               COAMO               PR           00769
   294231 MANNIX TRANSMISSIONS INC      PO BOX 764                                                                                                                              FAJARDO             PR           00738
   294232 MANNIX X NEGRON DE JESUS      REDACTED                     REDACTED                                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707475 MANNY AUTO AIR                STA JUANITA                  W 5 AVE STA JUANITA                                                                                        BAYAMON             PR           00956
   294233 MANNY DE JESUS LOPEZ          REDACTED                     REDACTED                                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707476 MANNY MELENDEZ ROJAS                        C/O DIV CONCILIACION (00‐0187)                                                                                            SAN JUAN            PR           00902‐4140

   707477 MANNY MOLINA POUSA                          URB VILLAS DEL RIO               CALLE RIO PORTUGUEZ BOX 147                                                              HUMACAO             PR           00791
   707478 MANNY PIZZA 3                               PARQUE DE RIO                    108 PASEO HERRADURA                                                                      TRUJILLO ALTO       PR           00976
          MANNY S CULINARY ART
   294234 CATERING SERVICE                            APARTADO 229                                                                                                              NARANJITO           PR           00719
                                                      UNIDAD EMERGENCIA
   707479 MANNY VIERA MEDINA                          ALCOHOLISMO                                                                                                               RÍO PIEDRAS         PR           00936
   707480 MANNYS AUTO CARE                            BDA ESPERANZA                    27 CALLE SOL                                                                             GUANICA             PR           00653
   294235 MANNYS BLOCK                                CIUDAD JARDIN DE BAIROA          210 CALLE GERONA                                                                         CAGUAS              PR           00727‐1362
   294236 MANNY'S CULINARY ART Y/O                    MANUEL MORALES ORTEGA            APT 229                                                                                  NARANJITO           PR           00719

   707481 MANNYS LAWNMOWER SERVICE 512 AVE DE DIEGO                                                                                                                             SAN JUAN            PR           00923

   294237 MANOELA DEL P MADERA NATAL REDACTED                                          REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294238 MANOELLA ORTIZ MERCADO     REDACTED                                          REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294240 MANOLI FIGUEROA GALARZA    REDACTED                                          REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707484 MANOLIN & SON INC          MANSION REALES                                    E 1 CALLE FELIPE PRIMERO                                                                 GUAYNABO            PR           00969



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  707483 MANOLIN & SON TEXACO                         MANSIONES REALES              H3‐1 CALLE FELIPE PRIMERO                                                              GUAYNABO          PR         00965
  707485 MANOLIN ALBARRAN                             BO OBRERO                     904 CALLE LEDESMA                                                                      ARECIBO           PR         00612
  707486 MANOLIN AND SON TEXACO                       MANSIONES REALES              E 1 CALLE FELIPE PRIMERO                                                               GUAYNABO          PR         00971
  294241 MANOLIN CABAN GONZALEZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   707487 MANOLIN DE LEON ROSADO                      SOLAR 141 A COM RAFAEL CAPO                                                                                          HATILLO           PR         00659

   294242 MANOLIN FERNANDEZ GIMENEZ REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   294243 MANOLIN FUNERAL HOME      ESQ SAN ANTONIO                                 500 CALLE FRANCIA                                                                      SAN JUAN          PR         00917
   831472 Manolin Funeral Home Inc  P.O. Box 367                                                                                                                           Las Piedras       PR         00771

   294244 MANOLIN FUNERAL HOME INC/                   GREEN ENERGY SYSTEMS CORP     PO BOX 367                                                                             LAS PIEDRAS       PR         00771‐0367
   707490 MANOLIN REYES MARTINEZ                      VILLA ESPERANZA               114 CALLE ESPERANZA                                                                    CAGUAS            PR         00725

   294245 MANOLIN RODRIGUEZ ROMAN                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   294246 MANOLIN SERVICE STATION INC GREEN ENERGY SYSTEMS CORP                     PO BOX 367                                                                             LAS PIEDRAS       PR         00771‐0367

   707491 MANOLITA APARICIO NORIEGA                   P O BOX 9391                                                                                                         SAN JUAN          PR         00908
          MANOLO AUTO ALARM MAX‐
   707492 PRO                                         PO BOX 4574                                                                                                          SAN JUAN          PR         00919
   707493 MANOLO CORA SANABRIA                        PO BOX 1290                                                                                                          ARROYO            PR         00714
   294248 MANOLO GUZMAN                               REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   707494 MANOLO PERFETTO NIEVES                      URB SAGRADO CORAZON           1704 SANTA EDUVIGIS                                                                    SAN JUAN          PR         00926
          MANOLO TRAVIESO DBA
   294249 TRAVIESO PRODUCTIONS                        PO BOX 13353                                                                                                         SAN JUAN          PR         00908
   294250 MANOLOCK SERVICE                            RR 5 BOX 8695                                                                                                        BAYAMON           PR         00956
                                                      METROPOLITAN SHOPPING
   294251 MANOLO'S CLEANERS                           CENTER                                                                                                               HATO REY          PR         00100
   294252 MANOLOS PAN & DELI                          VILLA TURABO                  M 14 AVE GAUTIER                                                                       CAGUAS            PR         00725
          MANOLOS SERVICE
   707496 STATION/JOSE M. COLLAZO                     PO BOX 1914                                                                                                          JUNCOS            PR         00777
   294253 MANOLY PONCE HERRERA                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   294254 MANON A BARRERAS ALVAREZ REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MANOS UNIDAS PARA AYUDAR (
   707497 CM UPA INC )               COUNTRY CLUB                                   1013 ALEJO CRUZADO                                                                     SAN JUAN          PR         00924
   707498 MANPOWER                   GROUND FLOOR                                   268 MU¨OZ RIVERA AVE                                                                   SAN JUAN          PR         00918
                                     650 MUNOZ RIVERA AVE SUITE
   294269 MANPOWER INC               102                                                                                                                                   SAN JUAN          PR         00918
   707499 MANPOWER INC.              268 AVE MUNOZ RIVERA                                                                                                                  SAN JUAN          PR         00918
          MANPOWER TEMPORARY
   707501 SERV.INC.                  PO BOX 2053                                                                                                                           MILWAUKEE         WI         53201
                                     650 AVENIDA MUÑOZ RIVERA
   831779 Manpowergroup Inc          STE 102                                                                                                                               San Juan          PR         00918
          MANRIQUE EFRAIN CABRERA
   707502 BEUCHAMP                   URB LOS FRAILES                                C 6 CALLE LOS FRAILES                                                                  GUAYNABO          PR         00969
   707505 MANRIQUE PLANELL RAMOS     HC 04 BOX 16470                                                                                                                       LARES             PR         00669
          MANSION,CANCHA BAJO TECHO
   294283 MASION DEL SUR             REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MANSIONES COMMUNITY
   294284 ASSOCIATION INC            MANSIONES DE CABO ROJO                         153 CALLE PLAYA                                                                        CABO ROJO         PR         00623‐8943




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          MANSIONES DE HACIENDA
   294285 JIMENEZ                                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   707506 MANSIONES DE SIERRA TAINA SE 54 CALLE BOLIVA SUITE 203                                                                                                         SAN JUAN             PR           00918

          MANSO AUTO REPAIR/MIGUEL
   707507 MANSO ALBERTO                               LA CUMBRE                   158 CALLE PIRINEO                                                                      SAN JUAN             PR           00926

  1420318 MANSO CALCAÑO, DIANA                        FERDINAND VARGAS VELAZQUEZ 1 CALLE JOSÉ C. BARBOSA                                                                 CAGUAS               PR           00725
          MANSO CASANOVA, OLGA                                                   PMB‐133 1353 AVE. LUIS
  1420319 IVETTE                                      YARLENE JIMENEZ ROSARIO    VIGOREAUZ                                                                               GUAYNABO             PR           00966‐2700
   707508 MANSOL VELEZ PADILLA                        URB INTERAMERICANA         A E ‐ 28 CALLE 31                                                                       TRUJILLO ALTO        PR           00976
                                                      PONCE DE LEON 1470 SEC EL
   294343 MANSOS BATTERY AUTO PARTS                   CINCO                                                                                                              RIO PIEDRAS          PR           00926
   707509 MANSO'S MOTORCYCLE                          1519 AVE PONCE DE LEON     SECTOR 5                                                                                SAN JUAN             PR           00926
          MANTARRAYA BUSINESS
   294347 DEVELOPMENT                                 LAGOMAR BLDG                857 AVE P DE LEON                                                                      SAN JUAN             PR           00907
  1256654 MANTECA CORP.                               REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   707510 MANTECADOS NEVADA INC                       PO BOX 8923                                                                                                        BAYAMON              PR           00960
                                                                                  400 CALLE RAFAEL LAMR EXT
   707511 MANTEH PRODUCTS                             AVE ROOSEVELT               ROOSEVELT                                                                              SAN JUAN             PR           00918
   294350 MANTEKA CORPORATION                         OCEAN PARK                  2018 CALLE ITALIA                                                                      SAN JUAN             PR           00911
   707513 MANTEN PRODUCTS                             STA JUANITA                 39 ST BOX 128                                                                          BAYAMON              PR           00956
   707514 MANTENIMIENTOS J AND J                      PO BOX 10                                                                                                          ISABELA              PR           00662
   831473 Manthei Mess Systeme                        Albrecht‐Nutzel‐Weg 29                                                                                             Kaufering                         86916         Germany
   294352 MANTIC CORPORATION                          PO BOX 50717                                                                                                       TOA BAJA             PR           00950‐0717
                                                                                  829 CALLE AÑASCO COND. ATRIO
  1420320 MANTILLA GALLAN, JESUS                      CARLOS MONDRIGUEZ RIVERA    REAL #4                                                                                SAN JUAN             PR           00925
   294378 MANTILLA SOTO, MARIA G                      REDACTED                    REDACTED                     REDACTED                           REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   707515 MANUALIDADES                                PO BOX 187                                                                                                         BARRANQUITAS         PR           00794
   707516 MANUALIDADES SONIA                          23 CALLE MCKINLEY W                                                                                                MAYAGUEZ             PR           00680
   294385 MANUBAY MD LLC, JOHN M                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   294386 MANUEL A ACEVEDO GONZALEZ REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   707555 MANUEL A ACOSTA REBOYRAS                    URB PARQUE DEL MONTE        11 VIA DEL MONTE                                                                       TRUJILLO ALTO        PR           00976
   707557 MANUEL A AGOSTO OTERO                       HC 67 BOX 16276                                                                                                    BAYAMON              PR           00956
   707558 MANUEL A AGUILA                             PO BOX 354                                                                                                         BARCELONETA          PR           00617

   707559 MANUEL A AGUIRRE CARTAGENA VILLA ROSA III                               B 8 AVE LOS VETERANOS                                                                  GUAYAMA              PR           00784

   707560 MANUEL A ALVARADO NEGRON PO BOX 22830                                                                                                                          SAN JUAN             PR           00931‐2830
   707561 MANUEL A AMY VALENTINE   BOX 331063                                                                                                                            PONCE                PR           00733‐1063
   707563 MANUEL A APONTE ROSARIO  P O BOX 1538                                                                                                                          TRUJILLO ALTO        PR           00977‐1538
                                   BO AIBONITO SECTOR SUAREZ
   707564 MANUEL A ARCE MORALES    CARR 489                                                                                                                              HATILLO              PR           00659
   294387 MANUEL A ARROYO RIVERA   REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   294389 MANUEL A BAERGA RAMOS    REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   294390 MANUEL A BARALT MASINI   REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                  612 CALLE TINTILLO URB
   707565 MANUEL A BATLLE HERNAIZ                     TINTILLO HILLS              TINTILLO HLS                                                                           GUAYNABO             PR           00966
   294391 MANUEL A BENITEZ MIRANDA                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   294392 MANUEL A BERMEJO DECLET                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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   294393 MANUEL A BERMUDEZ PAGAN                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   294394 MANUEL A BERRIOS RIVERA                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   294395 MANUEL A BETANCOURT AVILES REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   294396 MANUEL A BORGES HERNANDEZ REDACTED                                         REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   294397 MANUEL A BORRAS SOTO      REDACTED                                         REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   294398 MANUEL A BRIGNONI ROMAN   REDACTED                                         REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   707568 MANUEL A CACHO MELENDEZ   PO BOX 971                                                                                                                             VEGA BAJA            PR           00694

   707524 MANUEL A CAMACHO SALGADO                    URB LOMAS DE TRUJILLO ALTO     G 35 CALLE 6                                                                          TRUJILLO ALTO        PR           00976
   707571 MANUEL A CARRO RIVERA                       MANSIONES DE VILLANOVA         CI‐13A CALLE D                                                                        SAN JUAN             PR           00926
   707572 MANUEL A CEPEDA PEREZ                       CALLE VISCARRONDO 366                                                                                                SAN JUAN             PR           00915
   707573 MANUEL A CHARBONIER DIAZ                    EL CEREZAL                     1378 INDO                                                                             SAN JUAN             PR           00926

   294399 MANUEL A CINTRON MONTALVO REDACTED                                         REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MANUEL A CLAVELL
   294400 CARRASQUILLO              REDACTED                                         REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   707574 MANUEL A COLON CORREA     ALTURAS DE TORRIMAR                              4 10 CALLE 7                                                                          GUAYNABO             PR           00696
   707575 MANUEL A COLON JUARBE     RES LAS MESETAS                                  EDIF 3 APT 88                                                                         ARECIBO              PR           00612
   294401 MANUEL A COLON RIVERA     REDACTED                                         REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   294404 MANUEL A COLON SOLDEVILA  REDACTED                                         REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   707576 MANUEL A CONTRERAS GOMEZ                    CALLE 16 DE AGOSTO             68 SAN CARLOS                                                                         SANTO DOMINGO                                   DOMINICAN REPUBLIC
   707578 MANUEL A CORREA CRUZ                        31 CALLE LIBERTAD                                                                                                    VEGA ALTA            PR           00692
   294405 MANUEL A CORREA OCANA                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   294406 MANUEL A CORTES SOTO                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   294407 MANUEL A COSME ORTIZ                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   707579 MANUEL A COSS MARTINEZ                      P O BOX 8489                                                                                                         HUMACAO              PR           00792
   707580 MANUEL A CUBILLOS GAYTAN                    P.O. BOX 11074                                                                                                       SAN JUAN             PR           00910
   707582 MANUEL A CUEVAS NADAL                       P O BOX 566                                                                                                          VILLALBA             PR           00766
   294408 MANUEL A CUEVAS VAZQUEZ                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   707583 MANUEL A DE JESUS                           HC 01 BOX 2209                                                                                                       QUEBRADILLAS         PR           00678

   707584 MANUEL A DEL RIO GARCIA                     400 CALLE JUAN CALAF STE 231                                                                                         SAN JUAN             PR           00918
   294409 MANUEL A DEL VALLE RUIZ                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MANUEL A DIAZ / CLUB LEONES
   707585 ROUND HILL                                  ROUND HILL                     1624 CALLE DALIA                                                                      TRUJILLO ALTO        PR           00976
   294410 MANUEL A DIAZ AGUILAR                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   294411 MANUEL A DIAZ JIMENEZ                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   294412 MANUEL A DIAZ PEREZ                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   707586 MANUEL A DIAZ VARGAS                        PO BOX 6477                                                                                                          BAYAMON              PR           00960
   294413 MANUEL A DURAN MIESES                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   707587 MANUEL A ESCOBALES RIVERA                   HC 1 BOX 5421                                                                                                        JAYUYA               PR           00664
   294414 MANUEL A ESTRADA QUILES                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   707588 MANUEL A FERNANDEZ FUENTES EGIDA DEL MAESTRO 399                           SARGENTO MEDINA APT. 318                                                              SAN JUAN             PR           00918
          MANUEL A FERNANDEZ
   707589 MARTINEZ                   URB HORIZONTES                                  G 3 CALLE ESTELAR                                                                     GURABO               PR           00778
   707590 MANUEL A FERRER SERRANO    PO BOX 587                                                                                                                            TOA ALTA             PR           00954




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          MANUEL A FONTAN NIEVES MEN‐
   707591 CONTRATISTA                 P O BOX 994                                                                                                                       MOROVIS             PR           00687
   294416 MANUEL A FRAU CATASUS       REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294417 MANUEL A GARCIA CARDONA     REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707594 MANUEL A GARCIA GRAULAU     PO BOX 2502                                                                                                                       ARECIBO             PR           00613

   707595 MANUEL A GONZµLEZ VµZQUEZ URB CAGUAS NORTE                            U‐5 CALLE NEBRASKA                                                                      CAGUAS              PR           00725
                                    CONCORDIA GARDENS
   707596 MANUEL A GONZALEZ         SHOPPING CENTER                             SUITE 210                                                                               SAN JUAN            PR           00926
   294419 MANUEL A GONZALEZ PENA    REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294420 MANUEL A GONZALEZ ROSADO                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294421 MANUEL A GONZALEZ SIERRA                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL A GUADALUPE
   294422 RODRIGUEZ                                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294423 MANUEL A GUAL MEJIAS                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707600 MANUEL A GUZMAN                             P O BOX 193850                                                                                                    SAN JUAN            PR           00919‐3850

   707601 MANUEL A GUZMAN ACEVEDO                     PO BOX 135                                                                                                        MANATI              PR           00674
   294424 MANUEL A GUZMAN NATAL                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707602 MANUEL A GUZMAN RAMU                        AVE PONCE DE LEON         651 PH                                                                                  SAN JUAN            PR           00907

   707603 MANUEL A GUZMAN RODRIGUEZ URB LAS ALONDRAS A 34 CALLE 1                                                                                                       VILLALBA            PR           00766
          MANUEL A HENRIQUEZ
   707604 GIANMARIA                 URB BOURET 513                CALLE BURBE                                                                                           SAN JUAN            PR           00912

   707519 MANUEL A HERNANDEZ RIVERA                   URB LA ALBORADA           A 2 CALLE AIDA                                                                          SAN JUAN            PR           00926

   294425 MANUEL A HUERTAS CARDENAS REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294426 MANUEL A IRIZARRY RODRIGUEZ REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294427 MANUEL A ISSHAC FIGUEROA    REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294428 MANUEL A JIMENEZ SANTOS     REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707605 MANUEL A LEZCANO CURRAS     PMB 412 PO BOX 607061                                                                                                             BAYAMON             PR           00960

   707606 MANUEL A LOPEZ FERNANDEZ                    PO BOX 998                                                                                                        HATO REY            PR           00919‐0998
                                                      URB CIUDAD JARDINES 318
   707607 MANUEL A LOPEZ LLARIONA                     CALLE CEIBA                                                                                                       TOA ALTA            PR           00953
   294429 MANUEL A LOPEZ PACHECO                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707520 MANUEL A LOPEZ PEREZ                        HC 1 BOX 6405                                                                                                     LOIZA               PR           00772
   294430 MANUEL A LOPEZ SERRANO                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707608 MANUEL A MALAVE ROLON                       D 14 VILLA MADRID                                                                                                 COAMO               PR           00769
   707609 MANUEL A MARCIAL SEOANE                     COND MADRID               1760 CALLE LOIZA SUITE 201                                                              SAN JUAN            PR           00911‐0181
   294432 MANUEL A MARRERO                            REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294434 MANUEL A MARRERO SANTIAGO REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707610 MANUEL A MARTINEZ COLON   PO BOX 2913                                                                                                                         RIO GRANDE          PR           00745

   707554 MANUEL A MARTINEZ GONZALEZ URB PUERTO NUEVO                           313 CALLE 1 NE                                                                          SAN JUAN            PR           00920‐2402
   707611 MANUEL A MARTINEZ ROSEN    HC 01 BOX 2126                                                                                                                     FLORIDA             PR           00650

   707613 MANUEL A MEDINA SANTIOAGO. P O BOX 331                                                                                                                        SAN ANTONIO         PR           00690
   707614 MANUEL A MELENDEZ RIVERA   HC 2 BOX 29699                                                                                                                     CAGUAS              PR           00725‐9404



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   294435 MANUEL A MELLADO DELGADO                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707521 MANUEL A MENDEZ LOPEZ                       HC 01 BOX 7031                                                                                                   MOCA                PR           00676
   707615 MANUEL A MERCADO AYALA                      PUERTO NUEVO              1200 CALLE 12 NE                                                                       SAN JUAN            PR           00920

   294437 MANUEL A MONSEGUR CASTILLO REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294438 MANUEL A MONTERO TORRES                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707616 MANUEL A MONTES ROSARIO                     URB SANTA JUANITA         AF 22 CALLE 28                                                                         BAYAMON             PR           00956‐4745
   707617 MANUEL A MONTIJO CRUZ                       BOX 291                                                                                                          JAYUYA              PR           00664
   294439 MANUEL A MONTIJO MATOS                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL A MORALES
   294440 BARRIENTOS                                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294441 MANUEL A MORELL CASTRO                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294442 MANUEL A MUNIZ MEDINA                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL A NATAL
   707618 ALBELOLIZETTE ALBELO MA                     C PRINCESA MARGARITA L6   QUINTAS REALES                                                                         GUAYNABO            PR           00969
   294443 MANUEL A NAVEDO ORTIZ                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294444 MANUEL A NIEVES VAZQUEZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   770707 MANUEL A NUNEZ                              REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   770708 MANUEL A NUNEZ ARAGUNDE                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL A OLIVERAS
   707619 RODRIGUEZ                                   100 CALLE MAYAGUEZ                                                                                               SAN JUAN            PR           00917‐5100

   294445 MANUEL A OLMO RODRIGUEZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294446 MANUEL A ORTIZ CORDERO                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL A ORTIZ DBA MO
   294447 TECHNOLOGY GROUP                            24 SECTOR EL COCO                                                                                                JUNCOS              PR           00777
   294448 MANUEL A ORTIZ LUGO                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294449 MANUEL A ORTIZ SANTOS                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294450 MANUEL A OTERO RIVAS                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707621 MANUEL A PADIN RUIZ                         CARRAIZALES               H C 01 BOX 8245                                                                        HATILLO             PR           00659
   707622 MANUEL A PAGAN RIVERA                       903 A COOP LOS ROBLES                                                                                            SAN JUAN            PR           00927
   294451 MANUEL A PALACIOS ORTIZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294453 MANUEL A PEREZ MARTINEZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707623 MANUEL A PEREZ OLIVERAS                     3RA SECC LEVITTOWN        3137 PASEO CONCORDIA                                                                   TOA BAJA            PR           00949
   707624 MANUEL A PEREZ PACHECO                      URB LOS CAOBOS            2169 NARANJO                                                                           PONCE               PR           00716
   294455 MANUEL A PEREZ RODRIGUEZ                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294456 MANUEL A PINA FIGUEROA                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294457 MANUEL A QUILES RAMOS                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707625 MANUEL A QUILICHINI                         416 AVE PONCE DE LEON     SUITE 1200                                                                             SAN JUAN            PR           00919
   294458 MANUEL A QUINONES                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294459 MANUEL A QUINONES RIVERA                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294460 MANUEL A RAMIREZ MONTANEZ REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294461 MANUEL A RAMOS DIAZ       REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707626 MANUEL A RAMOS HERNANDEZ URB PANORAMA ESTATES                         C26 CALLE 1                                                                            BAYAMON             PR           00957‐4378

   294462 MANUEL A RAMOS RODRIGUEZ                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294463 MANUEL A REY ROLON                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707629 MANUEL A RIVERA AGUIAR                      BO OBRERO                 161 CALLE GAUTIER BENITEZ                                                              SAN JUAN            PR           00915



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  707630 MANUEL A RIVERA BORRERO                      URB HERMANOS DAVILA           182 AVE BETANCES                                                                      BAYAMON             PR         00959
  294464 MANUEL A RIVERA IRIZARRY                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  294467 MANUEL A RIVERA ORTIZ                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  294468 MANUEL A RIVERA RENTA                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  707633 MANUEL A RIVERA ZAYAS                        HC 43 BOX 9577 SECT LA 4                                                                                            CAYEY               PR         00736‐9602
         MANUEL A RODRIGUEZ                           152 B CALLE BERNARDO GARCIA
  707635 DELGADO                                      NORTE                                                                                                               CAROLINA            PR         00985

   294470 MANUEL A RODRIGUEZ MEDINA REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   707636 MANUEL A RODRIGUEZ QUILES                   HC 01 BOX 9899                                                                                                      HATILLO             PR         00659

   707637 MANUEL A RODRIGUEZ RIVERA                   HC 03 BOX 12910                                                                                                     CAMUY               PR         00627
   707638 MANUEL A RODRIGUEZ ROIG                     URB EL DORADO                 F 12 CALLE D                                                                          SAN JUAN            PR         00926
   294471 MANUEL A ROMERO MONTES                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   707639 MANUEL A ROSARIO CORDERO                    BO COTO                       20 CALLE VISTA AZUL                                                                   ISABELA             PR         00662

   294472 MANUEL A ROSARIO MAISONET                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   294473 MANUEL A ROSARIO RIVERO                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   294474 MANUEL A RUBERT SOTO                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   707640 MANUEL A RUIZ ORTA                          URB RIVERA                    A 7 DONATO                                                                            HUMACAO             PR         00792
   707641 MANUEL A SAN MIGUEL                         PMB 227                       HC 1 BOX 29030                                                                        CAGUAS              PR         00725‐8900
          MANUEL A SANCHEZ
   707642 CARTAGENA                                   PO BOX 8602                                                                                                         HUMACAO             PR         00792‐8602
   707643 MANUEL A SANCHEZ RIVERA                     URB SANTA ROSA                31‐6 CALLE 28                                                                         BAYAMON             PR         00959

   707644 MANUEL A SANJURJO CARRION                   BO SAN ISIDRO                 506 CALLE 19                                                                          CANOVANAS           PR         00729
   294475 MANUEL A SANTANA RIVERA                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   707645 MANUEL A SARIEGO PASCUAL                    PO BOX 250094                                                                                                       AGUADILLA           PR         00604‐0425

   707646 MANUEL A SEGARRA VAZQUEZ                    PO BOX 9021115                                                                                                      SAN JUAN            PR         00902‐1115

   707648 MANUEL A SERRANO VILLEGAS                   GALATEO APARMENTS             EDIFICIO A 201 APARMENTS                                                              RIO GRANDE          PR         00745
   294476 MANUEL A SIACA ARROYO                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   707649 MANUEL A SIERRA CRUZ                        URB RIVERAS DE CUPEY          19 CALLE HORTENSIA                                                                    SAN JUAN            PR         00926
   294477 MANUEL A SOCORRO RIVERA                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   707651 MANUEL A SUAREZ MENDEZ                      PO BOX 366029                                                                                                       SAN JUAN            PR         00936‐6029

   294478 MANUEL A TIRADO RODRIGUEZ                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   707653 MANUEL A TIRADO SUAREZ                      P O BOX 5                                                                                                           BAJADERO            PR         00616
   707654 MANUEL A TOLEDO IRIZARRY                    P O BOX 69001 SUITE 213                                                                                             HATILLO             PR         00659

   294479 MANUEL A TOLEDO QUINONEZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   707655 MANUEL A TORRES GALARZA                     HC 01 BOX 7813                                                                                                      SAN GERMAN          PR         00683
   707656 MANUEL A TORRES SANTIAGO                    URB LOMAS VERDES              4 G 22 CALLE TULIPAN                                                                  BAYAMON             PR         00956
   294481 MANUEL A URDAZ LAMPON                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   707659 MANUEL A VALCARCEL SANTANA URB VILLA ANDALUCIA                            J S COIN                                                                              SAN JUAN            PR         00926
   294482 MANUEL A VARGAS TIRU       REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   707662 MANUEL A VAZQUEZ DEL TORO                   SANTA JUANITA                 SS 24 CALLE 28 ESTE                                                                   BAYAMON             PR         00956




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   294483 MANUEL A VAZQUEZ SANTIAGO                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707522 MANUEL A VEGA ORTIZ                         COND SKY TOWER III           APT PH 20 A                                                                       SAN JUAN            PR           00926
   707663 MANUEL A VEGA RUIZ                          URB VILLA FORTUNA            FL3 VIA 2                                                                         CAROLINA            PR           00982
   707664 MANUEL A VELEZ SIERRA                       URB OCEAN PARK               60 CALLE LOS BANOS                                                                SAN JUAN            PR           00911
   294484 MANUEL A VELEZ TIRADO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294485 MANUEL A VIDAL                              REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL A VILLANUEVA
   294486 CACERES                                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL A VILLANUEVA
   707667 ECHEVARIA                                   PO BOX 4191                                                                                                    AGUADILLA           PR           00605

   707668 MANUEL A VILLANUEVA LAGUER HC 06 BOX 66842                                                                                                                 AGUADILLA           PR           00603

   707669 MANUEL A VIOLENUS BENITEZ                   PO BOX 47035                                                                                                   ST PETERSBURG       FL           33743‐7035

   707523 MANUEL A YORDAN PACHECO                     PO BOX 560520                                                                                                  GUAYANILLA          PR           00656
   707670 MANUEL A ZAVALA REYES                       CONDADO VIEJO                C 75 CALLE MAGNOLIA                                                               CAGUAS              PR           00725

   707671 MANUEL A ZAVALA RIVERA                      232 AVE ELEONOR ROOSEVELT                                                                                      SAN JUAN            PR           00907
   707673 MANUEL A. AGUILA TERRON                     PO BOX 354                                                                                                     BARCELONETA         PR           00617

   707676 MANUEL A. CAINAS VERDE                      URB.PARQUE SAN PATRICIO B‐17 CALLE CORRAL                                                                      GUAYNABO                         00968

   707677 MANUEL A. CARIDE GONZALEZ                   HC 3 BOX 17701                                                                                                 QUEBRADILLA         PR           00678

   294487 MANUEL A. CORREA FIGUEROA                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294489 MANUEL A. ESTRADA QUILES                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294491 MANUEL A. LOPEZ CABANAS                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707679 MANUEL A. LOPEZ RODRIGUEZ                   BAY VIEW                     34 CALLE PRINCIPAL                                                                CATA¨O              PR           00632
   294492 MANUEL A. LOPEZ VAZQUEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707680 MANUEL A. MENDEZ VELAZQUEZ P O BOX 26                                                                                                                      ANASCO              PR           00610
   294493 MANUEL A. MORELL CASTRO    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294494 MANUEL A. REPOLLET RIVERA  REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294496 MANUEL A. RINCON SAN MIGUEL REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707683 MANUEL ABREU DIAZ           URB BOSQUE VERDE                             A 10 CALLE CISNE                                                                  CAGUAS              PR           00726
   294499 MANUEL ACEVEDO ARROYO       REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707684 MANUEL ACEVEDO MERCADO                      161 CALLE ANSELMO MARTINEZ                                                                                     HATILLO             PR           00659
   294500 MANUEL ACEVEDO ORAMA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707685 MANUEL ACEVEDO RUIZ                         HC 58 BOX 12692                                                                                                AGUADA              PR           00602
   707686 MANUEL ACOSTA AYALA                         VISTAMAR                     94OR ZARAGOZA                                                                     CAROLINA            PR           00983
   707687 MANUEL ACOSTA RENTAS                        BO PASTILLO                  CARR 132 KM 18 5                                                                  PONCE               PR           00731
   294501 MANUEL AGOSTO FIGUEROA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL AGRAS FERRER/
   294502 MANUEL AGRAS                                REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707688 MANUEL AGUILAR HERNANDEZ                    COND TORRES ANDALUCIA        TORRE II APT 301                                                                  SAN JUAN            PR           00926
          MANUEL ALBERTO FERNOS
   294503 SUAREZ                                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          MANUEL ALEJANDRO MORALES
   294505 MALDONADO                                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707689 MANUEL ALEJANDRO ROSADO                     RR # 2 BOX 7855                                                                                                 TOA ALTA            PR           00953
   707691 MANUEL ALERS COLON                          HC 03 BOX 9189                                                                                                  MOCA                PR           00676
   707692 MANUEL ALFOMBRAS INC                        P O BOX 493                   SABANA SECA STA                                                                   TOA BAJA            PR           00952
   707693 MANUEL ALICEA OLMEDA                        BZN 2836                                                                                                        CIDRA               PR           00739
   294506 MANUEL ALMONTE CASTRO                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707695 MANUEL ALVARADO                             PASEO MAYOR LOS PASEOS        C 20 CALLE 8                                                                      SAN JUAN            PR           00926
   707696 MANUEL ALVARADO FEBLES                      URB PARQUE ECUESTRE           54 CALLE IMPERIAL                                                                 CAROLINA            PR           00987
   707698 MANUEL ALVAREZ LOPEZ                        BO CAMPANILLA                 147 CALLE EL MONTE                                                                TOA BAJA            PR           00949
   294507 MANUEL ALVAREZ PUMAREJO                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294509 MANUEL ALVAREZ RIVERA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707699 MANUEL ALVAREZ ROMERO                       COND JARD DE MONTE ALTO       325 C 1 BOX 130                                                                   TRUJILLO ALTO       PR           00976
                                                      BO GALATEO SECT VILLA JOSCO
   707701 MANUEL ANDINO RIVERA                        182                                                                                                             TOA ALTA            PR           00953
          MANUEL ANGEL GUZMAN
   294510 JUSTINIANO                                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707702 MANUEL ANGEL PEREZ GERENA                   HC 11 BOX 11953                                                                                                 HUMACAO             PR           00791‐9432
          MANUEL ANTONIO ANGUITA
   294511 ALVARADO                                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL ANTONIO KELLER
   294512 AYBAR                                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294514 MANUEL ANTONIO LEON AYALA                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL ANTONIO MARTINEZ
   294515 VARGAS                                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL ANTONIO RIVERA
   294516 ACEVEDO                                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL ANTONIO RIVERA
   294517 COLON                                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707705 MANUEL APONTE FELICIANO                     HC 1 BOX 5776                                                                                                   JUANA DIAZ          PR           00795
   294518 MANUEL APONTE LOPEZ                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707706 MANUEL AQUINO AFANADOR                      PO BOX 6432                                                                                                     BAYAMON             PR           00960

   294519 MANUEL AQUINO RODRIGUEZ   REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL AQUINO Y CARMEN M
   294520 LOPEZ                     REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707709 MANUEL AREAS PERNA        PMB 354 P O BOX 70344                                                                                                             SAN JUAN            PR           00936‐8344
          MANUEL ARESTIGUETA
   707710 CARABALLO                 MONTBLANC HOUSING                               J11 CALLE E                                                                       YAUCO               PR           00698
   294521 MANUEL ARROYO             REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707712 MANUEL ARROYO ARROYO      1 CALLE JOSE C. BARBOSA                                                                                                           CAGUAS              PR           00725
   294522 MANUEL ARROYO MERCADO     REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707714 MANUEL ARROYO NIEVES      BO SABANA ABAJO                                 CC 31 SECTOR LA 44                                                                CAROLINA            PR           00982
   294523 MANUEL ARROYO RAMOS       REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL AUTO BODY AND AUTO
   707715 GLASS                     PO BOX 1859                                                                                                                       COROZAL             PR           00783
   707716 MANUEL AVILA HERNANDEZ    PO BOX 11855                                                                                                                      SAN JUAN            PR           00910‐4225
   707717 MANUEL AVILES PERNAS      PMB 354                                         PO BOX 70344                                                                      SAN JUAN            PR           00936‐8344
   707718 MANUEL AVILES RIVERA      P O BOX 79184                                                                                                                     SAN JUAN            PR           00902
   294525 MANUEL AYALA RAMIREZ      REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  707719 MANUEL B FIOL PICO                           MSC 114                       P O BOX 5103                                                                     CABO ROJO         PR         00623
  294527 MANUEL B TORRES VELEZ                        REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  294528 MANUEL B. TORRES NEGRON                      REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  707721 MANUEL BACA GONZALEZ                         234 BDA DEL CARMEN                                                                                             SALINAS           PR         00751
  294529 MANUEL BADILLO ARCE                          REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                    1248 CALLE ARTURO
   707722 MANUEL BADILLO COLLAZO                      URB LAS MARGARITAS            SOMOHANO                                                                         PONCE             PR         00731
   294530 MANUEL BAEZ COLLAZO                         REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   294531 MANUEL BAEZ REYES                           REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   707723 MANUEL BAEZ TORRES                          SAN FERNANDO                  E 14 CALLE 1                                                                     BAYAMON           PR         00957
          MANUEL BARBEITO DBA
   707725 FARMACIA HATO REY                           455 AVE PONCE DE LEON                                                                                          SAN JUAN          PR         00917
   707726 MANUEL BARRETO BOSQUES                      HC 04 BOX 13835               BO VOLADORAS                                                                     MOCA              PR         00676
   294532 MANUEL BARROSO MOLINA                       REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   707727 MANUEL BERIO ROSADO                         103 CALLE DEL AGUA                                                                                             ADJUNTAS          PR         00601

   707525 MANUEL BERIO SIERRA                         URB VILLA VALLE VERDE B 125                                                                                    ADJUNTAS          PR         00601
          MANUEL BERMUDEZ
   707728 ARQUITECTOS                                 292 CALLE CULTO SUITE 201                                                                                      SAN JUAN          PR         00907
   707729 MANUEL BERMUDEZ GARCIA                      292 CALLE CULTO OFIC 201                                                                                       SAN JUAN          PR         00907
   707730 MANUEL BERRIOS COLON                        PO BOX 235                                                                                                     CIDRA             PR         00739
   707731 MANUEL BERRIOS ROBLES                       BOX 579                                                                                                        BARRANQUITAS      PR         00794
   294533 MANUEL BETANCOURT CRUZ                      REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   294534 MANUEL BETANCOURT MARTELL REDACTED                                        REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   294535 MANUEL BETANCOURT RIVERA                    REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   707732 MANUEL BIRRIEL ALICEA                       PARQUE ECUESTRE               AC 3 CALLE 30                                                                    CAROLINA          PR         00987
          MANUEL BISMARCK TORRES
   707733 NEGRON                                      PO BOX 391                                                                                                     SAN SEBASTIAN     PR         00685
   294536 MANUEL BOGLIO MELENDEZ                      REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   294537 MANUEL BOIGUES ESTEVES                      REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   707734 MANUEL BONANO RODRIGUEZ                     HC 2 BOX 6080                                                                                                  LUQUILLO          PR         00773
   707735 MANUEL BONES DIAZ                           HC 01 BOX 6357                                                                                                 ARROYO            PR         00714
   707736 MANUEL BONILLA TORRES                       URB VERSALLES                 U‐25 CALLE 18                                                                    BAYAMON           PR         00959
   294538 MANUEL BORRERO SIBERON                      REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   294541 MANUEL BRACERO GONZALEZ                     REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   294543 MANUEL BRAVO PEREZ                          REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   707737 MANUEL BRILLON RODRIQUEZ                    PO BOX 363727                                                                                                  SAN JUAN          PR         00936
   707738 MANUEL BRUNO CASTRO                         HC 2 BOX 48515                                                                                                 VEGA BAJA         PR         00693
   707739 MANUEL BRUNO GUZMAN                         HC 2 BOX 7316                                                                                                  YABUCOA           PR         00767
   707741 MANUEL BURGOS TORRES                        HC 2 BOX 8275                                                                                                  OROCOVIS          PR         00720
   707742 MANUEL C COLON COLON                        2263 CALLE LOIZA                                                                                               SAN JUAN          PR         00913
   707743 MANUEL C OLMO                               PO BOX 2930                                                                                                    BAYAMON           PR         00960
   707744 MANUEL C VEGA ROSA                          PO BOX 367242                                                                                                  SAN JUAN          PR         00936‐7242
   294544 MANUEL CABAN ROLDAN                         REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   707745 MANUEL CAEZ SIERRA                          BOX 355                                                                                                        GUAYNABO          PR         00970
   294545 MANUEL CALDERO SANTOS                       REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   294546 MANUEL CALDERON CERAME                      REDACTED                      REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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   707747 MANUEL CALDERON ESCALERA                    URB VILLA CAROLINA          37 CALLE 511 BLQ 210                                                               CAROLINA            PR           00985
   707748 MANUEL CALDERON JIMENEZ                     PO BOX 7126                                                                                                    PONCE               PR           00732

   707749 MANUEL CALDERON ROMERO     COL FAIR VIEW                                4 S 12 C/ 217                                                                      TRUJILLO ALTO       PR           00976
          MANUEL CALDERON TRUJILLO Y
   294547 MARIA COLON                REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707750 MANUEL CALERO BARRIAL                       COM BRAZO SECO RIO BLANCO   CARR ESTATAL PR 927                                                                NAGUABO             PR           00669
   294548 MANUEL CAMACHO PEREZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707752 MANUEL CAMACHO RIVERA                       PARCELAS HILL BROTHERS      670 CALLE 13                                                                       SAN JUAN            PR           00924
   294549 MANUEL CAMACHO TOSADO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707753 MANUEL CAMILO VAZQUEZ                       HC 01 BOX 5092                                                                                                 GURABO              PR           00778
          MANUEL CANDELARIA
   707754 CANDELARIA                                  HC 06 BOX 71737                                                                                                CAGUAS              PR           00727
   707755 MANUEL CANDELARIA COLON                     APARTADO 625                                                                                                   BAJADERO            PR           00616
          MANUEL CANDELARIA RIVERA
   707756 DBA                                         PRODUCCIONES CARIBE         URB SANTA ELENA         E 13 CALLE 9                                               BAYAMON             PR           00957
   294550 MANUEL CANDELARIA SOTO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707757 MANUEL CANDELARIO ESPA¥OL URB TURABO GARDENS                            A 18 CALLE 32                                                                      CAGUAS              PR           00725

   294551 MANUEL CANDELARIO RAMOS                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707758 MANUEL CARABALLO PIERETTI                   G K 2 MONTBLANC HOUSING                                                                                        YAUCO               PR           00698
   707759 MANUEL CARABALLO RIVERA                     BO RABANAL                  RR 01 BOX 2693                                                                     CIDRA               PR           00739 9607

   294552 MANUEL CARABALLO VAZQUEZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294553 MANUEL CARBONELL ORTIZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL CARRASQUILLO /
   707760 ELECTRONIC CITY                             26 CALLE BARBOSA                                                                                               ADJUNTAS            PR           00601
          MANUEL CARRASQUILLO
   707761 MARTINEZ                                    CONDADO MODERNO             L32 CALLE 16                                                                       CAGUAS              PR           00725

   707762 MANUEL CARRASQUILLO PEREZ                   VILLA CAROLINA              211‐10 CALLE 509                                                                   CAROLINA            PR           00985

   294556 MANUEL CARRASQUILLO VIERA                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707763 MANUEL CARRILLO SANCHEZ                     COMUNIDAD CRISTIANA         SOLAR 355                                                                          LOIZA               PR           00256
   707764 MANUEL CARRION CASTRO                       PO BOX 3500 PMB 20035                                                                                          CANOVANAS           PR           00729
   294557 MANUEL CASAS CORDERO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294558 MANUEL CASELLAS JOVET                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707765 MANUEL CASIANO SANTANA                      APT 1882                                                                                                       SAN GERMAN          PR           00683
   707766 MANUEL CASILLAS PEREZ                       APARTADO 2486                                                                                                  JUNCOS              PR           00777
   294559 MANUEL CASILLAS RIVERA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294560 MANUEL CASTRO TORRES                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707770 MANUEL CERVACIO CRUZ                        HC 02 BOX 4663                                                                                                 LUQUILLO            PR           00773‐9726

   294562 MANUEL CHRISTIAN MARTINEZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294563 MANUEL CINTRON                              REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707771 MANUEL CINTRON RAMOS                        PO BOX 83                                                                                                      TOA ALTA            PR           00954‐0083
   294564 MANUEL CIURO RIVERA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707772 MANUEL CLAUDIO FUENTES                      URB SANS SOUCI              C 10 CALLE 14                                                                      BAYAMON             PR           00957
   707773 MANUEL CLAVELL SPITCHE                      PO BOX 360203                                                                                                  SAN JUAN            PR           00910



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  294565 MANUEL CLEMENTE LANZO                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   707775 MANUEL COLLAZO CONCEPCION HC 05 BOX 21015                                                                                                                  CEIBA               PR         00735
   707776 MANUEL COLON              LEVITOWN                                     FF 18 LUIS PALES MATOS                                                              TOA BAJA            PR         00949
   294566 MANUEL COLON ANAYA        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   707777 MANUEL COLON CASILLAS     JARDINES 2                                   K 27 CALLE ALELI                                                                    CAYEY               PR         00736
   707778 MANUEL COLON CASTRO       HC 1 BOX 3974                                                                                                                    YABUCOA             PR         00767
   294567 MANUEL COLON CORREA       REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   707526 MANUEL COLON CORREA       HC 83 BOX 6372                                                                                                                   VEGA ALTA           PR         00692
   294568 MANUEL COLON DE JESUS     REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MANUEL COLON ELECTRICAL
   294570 CORP                      BO DUQUE                                     BZN 1915                                                                            NAGUABO             PR         00718
          MANUEL COLON ELECTRICAL
   294571 CORP.                     BUZON 1915 , BARRIO DUQUE                                                                                                        NAGUABO             PR         00718‐0000
   294572 MANUEL COLON GONZALEZ     REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   294575 MANUEL COLON PEREZ        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   294576 MANUEL COLON RIVERA       REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   707781 MANUEL COLON RODRIGUEZ    PO BOX 1361                                                                                                                      AIBONITO            PR         00705
   707782 MANUEL COLON RUIZ         BO OLIMPO                                    279 A CALLE 10                                                                      GUAYAMA             PR         00784
   294577 MANUEL COLON SANTIAGO     REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   707783 MANUEL COLON VARGAS       G7 URB LOS ANGELES                                                                                                               CAROLINA            PR         00979
          MANUEL
          CONCEPCION/BORINQUEN
   294578 MUSIC STUD                BOX 1627                                                                                                                         CABO ROJO           PR         00623
   707785 MANUEL CORA MARQUEZ       PO BOX 21071                                                                                                                     SAN JUAN            PR         00928
   294579 MANUEL CORDERO BAEZ       REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   707786 MANUEL CORDERO CHAPARRO BOX 971                                                                                                                            AGUADA              PR         00602
   707787 MANUEL CORDERO MARIN      URB TINTILLO GARDENS                         BF 11 CALLE 9                                                                       GUAYNABO            PR         00966
   707788 MANUEL CORDERO MENDEZ     P O BOX 600                                                                                                                      BAJADERO            PR         00616
   707789 MANUEL CORDERO OFARRIL    URB VISTAMAR                                 997 CALLE NAVARRA                                                                   CAROLINA            PR         00983
   707790 MANUEL CORTES CORTES      HC 03 BOX 20480                                                                                                                  LAJAS               PR         00667
   707527 MANUEL COSME GARCIA       URB HACIENDA MARGARITA                       274 CALLE INGENIO                                                                   LUQUILLO            PR         00773
   294580 MANUEL COTTO REYES        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1256655 MANUEL COUVERTIER         REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   707791 MANUEL COUVERTIER D.B.A.  PO BOX 3785                                                                                                                      CAROLINA            PR         00630
   294581 MANUEL CRESPO DAVILA      REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   707793 MANUEL CRESPO GONZALEZ    HC 2 BOX 6473                                                                                                                    LARES               PR         00669
   294582 MANUEL CRUZ AVILES        REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MANUEL CRUZ CORREA‐CARMEN
   294583 M CARRASQUILLO            REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   707794 MANUEL CRUZ DIAZ          URB VILLA DEL REY J 11                       CALLE TUDOR                                                                         CAGUAS              PR         00725
   707795 MANUEL CRUZ GARCIA        HC 71 BOX 2365                                                                                                                   NARANJITO           PR         00719
   707796 MANUEL CRUZ NEGRON        VILLAS DE MONTERREY                          EDIF 46 APT G                                                                       BAYAMON             PR         00957
   707797 MANUEL CRUZ SANTIAGO      HC 71 BOX 3122                                                                                                                   NARANJITO           PR         00719‐9713
   294585 MANUEL CRUZ VELEZ         REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MANUEL CRUZ/ ANTONIO
   294586 CRUZ/CARLOS CRUZ          REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   294587 MANUEL CRUZ/ IRAIDA CURET                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   707798 MANUEL CUEVAS RAMOS                         OASIS GARDENS              G 3 CALLE MEXICO                                                                    GUAYNABO            PR         00970
   707799 MANUEL CUSTODIO GOMEZ                       SOLAR 158 CERRILOO HOYOS                                                                                       PONCE               PR         00731
   707801 MANUEL D CABAN                              URB UNIVERSITY GARDENS     314 CALLE HOWARD                                                                    SAN JUAN            PR         00927‐4014



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  707802 MANUEL D GONZALEZ ABRIL                      359 CALLE LAS FLORES                                                                                              SAN JUAN            PR         00912
  707805 MANUEL D JESUS CALVENTE                      URB CORCHADO 103         CALLE VIOLETA                                                                            ISABELA             PR         00662
  294590 MANUEL D ORTIZ ROSADO                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  294591 MANUEL D PAULINO                             REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  707806 MANUEL D PUJOLS                              1005 AVE PONCE DE LEON                                                                                            SAN JUAN            PR         00907

   294593 MANUEL D QUINONES RINALDI                   REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   707800 MANUEL D RIVERA MELENDEZ                    PO BOX 2144                                                                                                       GUAYNABO            PR         00970
   294594 MANUEL D SOTO PEREZ                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MANUEL DE A
          MORALES/MORDYS CULINARY
   294595 ART                                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   294597 MANUEL DE J ALICEA DIAZ                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MANUEL DE J GONZALEZ
   707810 HERNANDEZ                                   PO BOX 195057                                                                                                     SAN JUAN            PR         00919‐5057
          MANUEL DE J GONZALEZ
   707811 MENDEZ                                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MANUEL DE J HERNANDEZ
   294598 MERCEDES                                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MANUEL DE J MARTINEZ
   294599 SEPULVEDA                                   REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   707812 MANUEL DE J MEDINA                          LA VILLA DE TORRIMAR     346 REY FRANCISCO                                                                        GUAYNABO            PR         00969
          MANUEL DE J MORALES,
   294600 MANNYS CULINARY ART                         REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   294601 MANUEL DE J RAMOS RAMIREZ                   REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   707815 MANUEL DE J ROSA                            1081 JEROME AVE 4F                                                                                                BRONX               NY         10152

   707817 MANUEL DE J VELEZ MENDEZ                    URB LOS MAESTROS         456 CALLE TRINIDAD ORELLANA                                                              SAN JUAN            PR         00923
          MANUEL DE J. GARCIA
   707818 GONZALEZ                                    PO BOX 162                                                                                                        BARCELONETA         PR         00617
   707820 MANUEL DE J. RIVERA ORTIZ                   RES. VARONES S.J.                                                                                                 Hato Rey            PR         009360000
          MANUEL DE JESUS AQUINO
   294602 ROSARIO                                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   707821 MANUEL DE JESUS BENITEZ                     URB SANTA CLARA          O 11 CALLE FLAMBOYAN                                                                     GUAYNABO            PR         00969
          MANUEL DE JESUS CABAN
   294603 QUILES                                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   294604 MANUEL DE JESUS DIAZ                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   707822 MANUEL DE JESUS FLORES                      HC 3 BOX 40602                                                                                                    CAGUAS              PR         00725‐9736
          MANUEL DE JESUS GONZALEZ
   294605 MORALES                                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   707823 MANUEL DE JESUS MARTIN                      URB RIBERAS DEL RIO      F 7 CALLE 6                                                                              BAYAMON             PR         00969
          MANUEL DE JESUS RAMOS
   294607 RAMIREZ                                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MANUEL DE JESUS SANTANA
   707825 MARTINEZ                                    109 CALLE LUNA                                                                                                    SAN GERMAN          PR         00683
   707826 MANUEL DE JESUS SERRANO                     RR 6 BOX 10130           CAIMITO ALTO KM 6 HM 5                                                                   SAN JUAN            PR         00926
          MANUEL DE JESUS SOLER
   707827 PADILLA                                     149 CALLE CIBAO                                                                                                   SAN SEBASTIAN       PR         00685
   707828 MANUEL DE LA CRUZ                           PO BOX 21365                                                                                                      SAN JUAN            PR         00928

   294608 MANUEL DE LA MATA DE JESUS                  REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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   294609 MANUEL DE LA PUEBLA FRANCO REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294610 MANUEL DE LEMOS ZUAZAGA    REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294611 MANUEL DE LEON DE LEON     REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707829 MANUEL DE SANTIAGO SUAREZ                   HC 01 BOX 4284                                                                                                   NAGUABO             PR           00718

   294612 MANUEL DEL ROSARIO ROSARIO                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294613 MANUEL DEL TORO                             REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707832 MANUEL DEL VALLE INC                        PO BOX 2527                                                                                                      TOA BAJA            PR           00951
   707833 MANUEL DEL VALLE RIVERA                     1360 LUCHETTI APT 7                                                                                              SAN JUAN            PR           00907
   294614 MANUEL DELGADO CLAUDIO                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707834 MANUEL DELGADO MELENDEZ                     BOX 8262                                                                                                         CAGUAS              PR           00725
   707835 MANUEL DENIZARD VAZQUEZ                     VILLA PALMERAS 1923          AVE GILBERTO MONROIG                                                                SAN JUAN            PR           00912
   294615 MANUEL DIAZ                                 REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707836 MANUEL DIAZ BONILLA                         COOP JARD DE SAN IGNACIO     APTO 1401 B                                                                         SAN JUAN            PR           00927
   707837 MANUEL DIAZ CASTILLO                        URB SANTA ELVIRA             B9 CALLE SANTA CECILIA                                                              CAGUAS              PR           00725
   294616 MANUEL DIAZ DIAZ                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294617 MANUEL DIAZ ESPINO                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294618 MANUEL DIAZ ESTERAS                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294619 MANUEL DIAZ HERNANDEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707841 MANUEL DIAZ MORALES                         HC 2                                                                                                             AGUAS BUENAS        PR           00703
                                                                                   D 14 CALLE ANTONIO
   707842 MANUEL DIAZ ORTIZ                           REPARTO ESPERANZA            RODRIGUEZ M                                                                         YAUCO               PR           00698
   707843 MANUEL DIAZ PABON                           TOA ALTA HEIGHTS             I 41 CALLE 3                                                                        TOA ALTA            PR           00953
   294620 MANUEL DIAZ PEREZ                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294621 MANUEL DIAZ REYES                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707845 MANUEL DIAZ ROSA                            URB VILLAS DE LOMAS          VERDES EDIF APT 104                                                                 CUPEY BAJO          PR           00926
   294622 MANUEL DIAZ SALDANA                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707846 MANUEL DIAZ SOTO                            232 AVEW ELEONOR ROOSEVELT                                                                                       SAN JUAN            PR           00907
          MANUEL DJ
          MORALESDBAMANNY'S
   294624 CULINARY ART                                PO BOX 229                                                                                                       NARANJITO           PR           00719
   294625 MANUEL DJ VELEZ SEGARRA                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707847 MANUEL DOMINICCI LOPEZ                      HC 09 BOX 3020               BO TIBES SECT PASTILLO                                                              PONCE               PR           00731
   707848 MANUEL DURAN                                P O BOX 193861                                                                                                   SAN JUAN            PR           00919 3681
   707849 MANUEL DURAN RODRIGUEZ                      1139 AVE AMERICO MIRANDA                                                                                         SAN JUAN            PR           00921
   707529 MANUEL E ACEVEDO RIVERA                     BOX 832                                                                                                          AGUADILLA           PR           00603

   707850 MANUEL E ACEVEDO SANCHEZ                    ALTURAS DE VILLA DEL REY     F16 CALLE DAMASCO                                                                   CAGUAS              PR           00725
   707851 MANUEL E ALICEA MOJICA                      URB BAIROA                   BX 9 CALLE 3                                                                        CAGUAS              PR           00725
   294627 MANUEL E ANDREU GARCIA                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707852 MANUEL E ANDUJAR VAZQUEZ                    PO BOX 966                                                                                                       MANATI              PR           00674

   707853 MANUEL E APONTE MARRERO                     URB VILLA CAROLINA           184‐62 CALLE 518                                                                    CAROLINA            PR           000985
   294628 MANUEL E AVILA DE JESUS                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707854 MANUEL E BURGOS HERNANDEZ URB CASTELLANA GARDENS                         R 5 CALLE 17                                                                        CAROLINA            PR           00983

   294629 MANUEL E CARDONA VAZQUEZ                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  294630 MANUEL E CONDE GOMEZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  294631 MANUEL E DIAZ RIVERA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  294632 MANUEL E DIAZ TORRES                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  707530 MANUEL E DROZ MELENDEZ                       URB LA RIVIERA 1319         CALLE 46 SW                                                                            SAN JUAN             PR         00921
         MANUEL E ECHEVARRIA
  707855 MERCADO                                      PO BOX 10546                                                                                                       PONCE                PR         00732
  294633 MANUEL E ESTELA JOVE                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   707856 MANUEL E FELIX MONTE DE OCA COND LAS LOMAS APT309                                                                                                              SAN JUAN             PR         00921

   294634 MANUEL E FIGUEROA AGOSTO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   707858 MANUEL E GONZALEZ                           ALTURAS DE RIO GRANDE       0788 CALLE 14A                                                                         RIO GRANDE           PR         00745

   707860 MANUEL E GRANT GROENNOU                     URB CAPARRA HEIGTS          606 CALLE ESTANCIAS                                                                    SAN JUAN             PR         00920
          MANUEL E IZQUIERDO
   294636 ENCARNACION                                 REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   707861 MANUEL E LEDESMA CANCIO                     URB CEDRO REAL              21 CALLE M                                                                             GUAYNABO             PR         00969
   707862 MANUEL E LEON TORRES                        130 CHALETS DE BAIROA                                                                                              CAGUAS               PR         00725
   707863 MANUEL E LLANOS MILLAN                      VENUS GARDENS               668 CHIHUAHUA ST                                                                       SAN JUAN             PR         00926
   707864 MANUEL E LOPEZ CRUZ                         COND EL DORADO              APT 4 B TRIGO 563 MIRAMAR                                                              SAN JUAN             PR         00907
   707865 MANUEL E LOPEZ DIEZ                         CAMINO DEL MAR              5007 VIA CANGREJOS                                                                     TOA BAJA             PR         00949
          MANUEL E LOPEZ
   707866 MATOS/MILAGROS COLON DE                     PO BOX 366974                                                                                                      SAN JUAN             PR         00636‐6974

   707867 MANUEL E LOPEZ MONSERRAT                    P O BOX 193545                                                                                                     SAN JUAN             PR         00919 354
   707868 MANUEL E LUGO CALZADA                       PMB 303                     PO BOX 5103                                                                            CABO ROJO            PR         00623
   707869 MANUEL E MALDONADO                          U P R STATION               PO BOX 21413                                                                           SAN JUAN             PR         00931‐1413
          MANUEL E MALDONADO
   707870 RODRIGUEZ                                   URB VICTORIA HEIGHTS        F 13 CALLE 1                                                                           BAYAMON              PR         00959

   707871 MANUEL E MARTINEZ ARBONA                    BOX 907                                                                                                            VEGA BAJA            PR         00694

   707872 MANUEL E MARTINEZ JORDAN                    PO BOX 362613                                                                                                      SAN JUAN             PR         00936‐2613
   707873 MANUEL E MARTINEZ VIVAS                     PO BOX 9028                                                                                                        PONCE                PR         00732‐9028

   707874 MANUEL E MATEO LOPEZ                        232 AVE ELEONOR ROOSEVELT                                                                                          SAN JUAN             PR         00907

   294637 MANUEL E MELENDEZ VAZQUEZ REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   707875 MANUEL E MENA BERDECIA    COND PLAZA II APTO 1906                                                                                                              SAN JUAN             PR         00909
   707876 MANUEL E MORALES GARCIA   BO MANI VILLA MARTINEZ                        CARR 341 KM 1 BUZON 1 INT                                                              MAYAGUEZ             PR         00680

   294638 MANUEL E MORALES MENENDEZ REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   294639 MANUEL E NET FERRER        REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   294640 MANUEL E PAGAN PAGAN       REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   707877 MANUEL E PICON DELGADO     P O BOX Z 190                                                                                                                       ARECIBO              PR         00613
          MANUEL E PIMENTEL Y SANDRA
   294641 RIVERA                     REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   707878 MANUEL E REYES MERCED      URB VISTA VERDE                              3 CALLE AMATISTA                                                                       MAYAGUEZ             PR         00682‐2521
          MANUEL E RIVERA
   294642 ENCARNACION                REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   707879 MANUEL E RODRIGUEZ COLON                    PO BOX 788                                                                                                         COAMO                PR         00769




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   294643 MANUEL E RODRIGUEZ VAZQUEZ REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707880 MANUEL E ROMEU FERNANDEZ                    MINILLAS STATION            P O BOX 40972                                                                         SAN JUAN            PR           00940‐0972
          MANUEL E ROSALY
   707881 TERSSONNIERE                                PO BOX 8398                                                                                                       PONCE               PR           00731
          MANUEL E SANTANA
   707882 HERNANDEZ                                   P O BOX 525                                                                                                       FAJARDO             PR           00738
   707883 MANUEL E SANTOS ORTIZ                       URB BRISA DEL RIO 20        CALLE BULEVARD DEL RIO                                                                MOROVIS             PR           00687
          MANUEL E SARMIENTO
   707884 VALLECILLO                                  PO BOX 11111                                                                                                      SAN JUAN            PR           00910‐2111

   707528 MANUEL E SEGURA MARTINEZ                    EXTENSION PARQUE ECUESTRE   M 3 CALLE 39                                                                          CAROLINA            PR           00987
          MANUEL E SIVERIO DBA
   294644 CONTRATISTA                                 DEL ATLANTICO               PO BOX 140894                                                                         ARECIBO             PR           00614‐0894
   294645 MANUEL E SOLIS AGOSTO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294647 MANUEL E SOTO RIVERA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294648 MANUEL E TORRES RODRIGUEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294649 MANUEL E VARELA CLASS                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707886 MANUEL E. ANGLERO TORRES                    PO BOX 397                                                                                                        HUMACAO             PR           00792
   707887 MANUEL E. BALZAC                            PO BOX 9323                                                                                                       SAN JUAN            PR           00908

   294650 MANUEL E. CAMACHO LEBRON                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294651 MANUEL E. HENRIQUEZ                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL E. MARTINEZ
   707890 CALDERON                                    PO BOX 9020115                                                                                                    SAN JUAN            PR           00902‐0115

   294652 MANUEL E. PACHECO GONZALEZ REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294653 MANUEL E. SOLIS AGOSTO     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294654 MANUEL E. SOLTERO DE CORRAL REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL ECHEVARRIA
   707892 CASTANEYRA                  PO BOX 6304                                                                                                                       MAYAGUEZ            PR           00681‐6304
                                                                                  1681 CALLE 24 SO URB LAS
   707893 MANUEL ECHEVARRIA GONZALEZ LAS LOMAS SAN JUAN                           LOMAS                                                                                 SAN JUAN            PR           00921
   707894 MANUEL EDUARDO SARAIVA     S30 URB DORAVILLE SEC2                                                                                                             DORADO              PR           00646
   707531 MANUEL ENRIQUE GARCIA      1 FIRST STREET STAUGUSTINE                                                                                                         FLORIDA             PR           32080 3821
          MANUEL ENRIQUE MARQUEZ
   707895 CARRILLO                   URB QUINTAS DE FAJARDO                       F 27 CALLE 5                                                                          FAJARDO             PR           00738
   707896 MANUEL ENRIQUEZ INC        RR 4 BOX 3520                                                                                                                      BAYAMON             PR           00956‐9625

   294656 MANUEL ESAI RODRIGUEZ SOTO                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294657 MANUEL ESCASENA CANAS                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707897 MANUEL ESPARRA MARTINEZ                     P O BOX 911                                                                                                       COAMO               PR           00769
   707898 MANUEL ESTRADA VEGA                         11 CALLE VIDAL COLON                                                                                              SAN SEBASTIAN       PR           00685 1704
   294658 MANUEL F ARRAIZA REYES                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL F CALDERON
   707899 BETANCOURT                                  URB COLINAS DE FAIRVIEW     4F 17 CALLE 203                                                                       TRUJILLO ALTO       PR           00976
   707900 MANUEL F CRESPO SURIA                       PO BOX 22962                                                                                                      SAN JUAN            PR           00931
   294659 MANUEL F DIAZ LUGO                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294660 MANUEL F GONZALEZ MELENDEZ REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   294661 MANUEL F MERCADO MENDEZ                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707901 MANUEL F NAVEDO AVILES                      HC 71 BOX 2749                                                                                                NARANJITO           PR           00719
   707902 MANUEL F PEDRAJA CINTRON                    URB COSTA SUR            D 33 CALLE E                                                                         YAUCO               PR           00698‐4010
          MANUEL F PORRATA
   707903 MONSERRATE                                  PMD 115 35 STE 67        CALLE JUAN C BORBON                                                                  GUAYNABO            PR           00969
   707904 MANUEL F RIVERA FARGAS                      P O BOX 3195                                                                                                  RIO GRANDE          PR           00745
   707905 MANUEL F RIVERA GONZALEZ                    URB UNIVERSITY GARDENS   317 CALLE SORBONA                                                                    SAN JUAN            PR           00927
          MANUEL F RODRIGUEZ
   707906 GONZALEZ                                    URB GOLDEN HILLS         1340 CALLE ESTRELLA                                                                  DORADO              PR           00646‐6908
   294662 MANUEL F ROMERO TORRES                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707907 MANUEL F SAAVEDRA BRANDES                   URB SANTA ISIDRA IV      J 6 CALLE 7                                                                          FAJARDO             PR           00738
   294663 MANUEL F SUAREZ MIRANDA                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294664 MANUEL F VILLALON                           REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294667 MANUEL F VILLAMIL LEBRON                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294668 MANUEL F. ROSARIO ALOMAR                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707909 MANUEL FEBRES SANTIAGO                      PO BOX 22762                                                                                                  SAN JUAN            PR           00931

   707911 MANUEL FELICIANO FELICIANO                  HC 56 BOX 4444                                                                                                AGUADA              PR           00602
   707912 MANUEL FELIX RAMOS                          PLAZA RECREO             8 CALLE BASILIO MILAN                                                                TOA BAJA            PR           00949

   707913 MANUEL FERNADEZ FERNANDEZ HC 03 BOX 12145                                                                                                                 CAMUY               PR           00627
          MANUEL FERNANDEZ / MARIANA
   294669 B FERNANDEZ                REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294670 MANUEL FERNANDEZ APONTE    REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294671 MANUEL FERNANDEZ BUENO     REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707914 MANUEL FERNANDEZ FILIBERTY                  URB BORINQUEN            E 39 CALLE 7                                                                         CABO ROJO           PR           00623

   707915 MANUEL FERNANDEZ MARTINEZ PO BOX 9020989                                                                                                                  SAN JUAN            PR           00902 0989
   294673 MANUEL FERNANDEZ MEJIAS   REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294674 MANUEL FERNANDEZ PALMER   REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707918 MANUEL FERNANDEZ PORTELL                    PO BOX 3018                                                                                                   SAN JUAN            PR           00902‐3018

   294675 MANUEL FERNANDEZ VAN CLEVE REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL FERNANDEZ Y RUTH
   294676 FERNANDEZ                  REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707919 MANUEL FERNOS LOPEZ        URB OCEAN PARK                            2072 CALLE BUENOS AIRES                                                              SAN JUAN            PR           00911
   294677 MANUEL FERNOS SUAREZ       REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707921 MANUEL FIGUEROA COLOMER                     HC 8 BOX 3095                                                                                                 PONCE               PR           00731

   294678 MANUEL FIGUEROA GONZALEZ                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707532 MANUEL FIGUEROA OTERO                       HC 1 BOX 5470                                                                                                 CIALES              PR           00638
   294679 MANUEL FIGUEROA RAMOS                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294680 MANUEL FIGUEROA RIOS                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294681 MANUEL FIGUEROA RIVERA                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707923 MANUEL FIGUEROA TORRES                      PO BOX 561128                                                                                                 GUAYANILLA          PR           00656
   707925 MANUEL FLORES ADORNO                        PO BOX 615                                                                                                    CAROLINA            PR           00986
   707926 MANUEL FLORES FIGUEROA                      COLINA DE FAIR VIEW      L 29 CALLE 209 4                                                                     TRUJILLO ALTO       PR           00978




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                                                      URB. BAIROA PARQUE DEL
   707927 MANUEL FLORES PEREIRA                       TESORO                                                                                                          CAGUAS              PR           00725
   707929 MANUEL FLORES VAZQUEZ                       HC 01 BOX 6640                                                                                                  YAUCO               PR           00698
   294683 MANUEL FONSECA MARRERO                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294684 MANUEL FORTY FIGUEROA                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294685 MANUEL FRANCESCHINI MUNOZ REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707930 MANUEL FRANCO             PO BOX 405                                                                                                                        SANTA ISABEL        PR           00757
   294686 MANUEL FRANCO LOPEZ       REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256657 MANUEL FREIJE ARCE        REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294692 MANUEL FUENTES HERNANDEZ                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707931 MANUEL FUENTES ORTIZ                        HC 3 BOX 14813                                                                                                  COROZAL             PR           00783
   707933 MANUEL G AQUINO                             CIUDAD JARDIN 2              72 SAUCO                                                                           BAYAMON             PR           00953

   294693 MANUEL G BARRETO AGUEIRA                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294694 MANUEL G COLON RODRIGUEZ                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707934 MANUEL G CORDERO                            530 AVE DE LA CONSTITUCION                                                                                      SAN JUAN            PR           00901
   294695 MANUEL G FREIRE ROSARIO                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294696 MANUEL G HERNANDEZ OCANA REDACTED                                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707936 MANUEL G MORAZA COLON    3RA EXT COUNTRY CLUB                            JB 13 CALLE 227                                                                    CAROLINA            PR           00982
          MANUEL G PASTORIZA
   707937 BETANCOURT               URB SAN FELIPE                                  F 1 CALLE 4                                                                        ARECIBO             PR           00612

   294697 MANUEL G PEREZ RODRIGUEZ                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707938 MANUEL G TOSADO MERCADO HC 2 BOX 9755                                                                                                                       QUEBRADILLAS        PR           00678
   707939 MANUEL GALAN MONTIJO      P O BOX 4035                                   SUITE 202                                                                          ARECIBO             PR           00613
   707940 MANUEL GALARZA VEGA       P O BOX 1143                                                                                                                      VEGA BAJA           PR           00694
          MANUEL GALLOZA ROMAN/REST
   707941 EL GALEON                 PO BOX 1414                                                                                                                       AGUADA              PR           00602

   707942 MANUEL GANDARILLA MIRANDA URB VILLA CAROLINA 191 11                      CALLE 524                                                                          CAROLINA            PR           00985
   707943 MANUEL GARCIA              URB VILLA TURABO                              A 21 CALLE CEDRO                                                                   CAGUAS              PR           00725
          MANUEL GARCIA / ARTESANIAS
   707944 CATLLEYA                   256 FORTALEZA                                                                                                                    SAN JUAN            PR           00901
   707533 MANUEL GARCIA ARIZ         MONTE OLIMPO C 6 ZEUS                                                                                                            GUAYNABO            PR           00969
   707946 MANUEL GARCIA CRUZ         VILLA PALMERAS                                203 CALLE COLTON                                                                   SAN JUAN            PR           00915
   707947 MANUEL GARCIA FERNANDEZ    PO BOX 13362                                                                                                                     SAN JUAN            PR           00908‐3362
   294702 MANUEL GARCIA FIGUEROA     REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294703 MANUEL GARCIA GARCIA       REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707948 MANUEL GARCIA GONZALEZ     PO BOX 9024266                                                                                                                   SAN JUAN            PR           00902‐4266
   707950 MANUEL GARCIA JIMENEZ      P.O. BOX 275                                                                                                                     ENSENADA            PR           00647
   294704 MANUEL GARCIA MELENDEZ     REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL GARCIA MORAL /
   707951 SEBASTIAN GARCIA           BALDRICH                                      579 CALLE ABOLICIAN                                                                SAN JUAN            PR           00918‐4334
   707534 MANUEL GARCIA NARVAEZ      URB LEVITTOWN LAKES                           D 55 CALLE LAGO GUAYO                                                              TOA BAJA            PR           00949
   294705 MANUEL GARCIA ORTIZ        REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707952 MANUEL GARCIA PEREZ        URB INTERAMERICANA                            C 31 AF 29                                                                         TRUJILLO ALTO       PR           00976




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          MANUEL GARCIA RULLAN DBA
   294706 MANUEL GARCIA                               ALESSI 4 MONTE ALVERNIA                                                                                             GUAYNABO            PR           00969
   707954 MANUEL GARRIDO                              659 CALLE HOARE                                                                                                     SANTURCE            PR           00907
   707955 MANUEL GATELL                               PO BOX 193772                                                                                                       SAN JUAN            PR           00919
   294707 MANUEL GIBSON QUINTERO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707956 MANUEL GIRAUD FERRER                        223 CARR 112 ARENALES BAJO                                                                                          ISABELA             PR           00662

   707957 MANUEL GOICOECHEA                           CENTRO COMERCIAL VILLAMAR    SUITE B ISLA VERDE                                                                     SAN JUAN            PR           00979

   707958 MANUEL GOMEZ ENCARNACION 68 CALLE ESTEBAN PADILLA                                                                                                               BAYAMON             PR           00959

   707959 MANUEL GOMEZ ESTEVEZ INC.                   PO BOX 11380                                                                                                        SAN JUAN            PR           00922
   294708 MANUEL GOMEZ GUERRERO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294709 MANUEL GOMEZ RIVERA                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707961 MANUEL GONZALEZ                             HC 01 BOX 5353                                                                                                      CIALES              PR           00638‐0000

   294710 MANUEL GONZALEZ ACEVEDO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294711 MANUEL GONZALEZ BALAGUER                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707962 MANUEL GONZALEZ BARRETO                     URB COLINAS DE FAIRVIEW      4Q 33 CALLE 220                                                                        TRUJILLO ALTO       PR           00976
   707963 MANUEL GONZALEZ BURGO                       P O BOX 561030                                                                                                      GUAYANILLA          PR           00630
   707964 MANUEL GONZALEZ CINTRON                     PO BOX 75                                                                                                           JAYUYA              PR           00664‐0075
   707535 MANUEL GONZALEZ COLON                       HC 02 BOX 17272                                                                                                     ARECIBO             PR           00612

   707965 MANUEL GONZALEZ CORDERO                     HC 58 BOX 14861                                                                                                     AGUADA              PR           00602
   707966 MANUEL GONZALEZ CORREA                      P O BOX 155                                                                                                         CIALES              PR           00636

   294713 MANUEL GONZALEZ DELGADO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707967 MANUEL GONZALEZ FIGUEROA                    COMUNIDAD ESTELLA            3410 CALLE 1                                                                           RINCON              PR           00677

   294714 MANUEL GONZALEZ MARTINEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707969 MANUEL GONZALEZ ORTIZ                       PO BOX 1683                                                                                                         GUAYAMA             PR           00785
   707970 MANUEL GONZALEZ PATO                        PMB 395                      AVE TITO CASTRO SUITE 102                                                              PONCE               PR           00716‐2232
   707971 MANUEL GONZALEZ PEREZ                       P O BOX 1306                                                                                                        AGUAS BUENAS        PR           00703
          MANUEL GONZALEZ QUEIPO &
   294715 LCDA MARIA DEL                              REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294717 MANUEL GONZALEZ ROSARIO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707974 MANUEL GONZALEZ TIRADO                      PO BOX 9020338                                                                                                      SAN JUAN            PR           00902 0338
   707975 MANUEL GRANDE SOTO                          CALLE POST 191               SUR MAYAGUEZ                CALLE GEMINIS 527                                          MAYAGUEZ            PR           00680
   294719 MANUEL GUERRA VALDES                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707976 MANUEL GUERRERO RUIZ                        COND FONTANA TOWERS          301 APT                                                                                CAROLINA            PR           00982

   294720 MANUEL GUTIERREZ RODRIGUEZ REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707977 MANUEL GUTIERREZ TERRASA   PO BOX 1177                                                                                                                          ARECIBO             PR           00613

   707978 MANUEL GUTIERREZ VELAZQUEZ 206 COM LA GRANJA                                                                                                                    UTUADO              PR           00641
   707979 MANUEL GUZMAN ACOSTA       PO BOX 364665                                                                                                                        SAN JUAN            PR           00936‐4665
   707983 MANUEL H SEDA CINTRON      PUERTO NUEVO                                  462 CALLE CONSTACIA                                                                    SAN JUAN            PR           00920‐3814
   294725 MANUEL H SOTO SOLER        REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294726 MANUEL H VIANA GERMOSEN    REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   294727 MANUEL HAWAYEK VALLECILLO REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707985 MANUEL HENRIQUEZ          RR 4 BOX 3520                                                                                                                           BAYAMON             PR           00956

   707988 MANUEL HERNANDEZ CARMONA URB FAJARDO GARDENS                           255 CALLE LAUREL                                                                           FAJARDO             PR           00738
   707989 MANUEL HERNANDEZ COLON   HC 01 BOX 6052                                                                                                                           OROCOVIS            PR           00720
   294729 MANUEL HERNANDEZ CRUZ    REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707986 MANUEL HERNANDEZ CRUZ    URB VILLA UNIVERSITARIA                       Y 3 CALLE 13                                                                               HUMACAO             PR           00791‐4331

   294730 MANUEL HERNANDEZ JIMENEZ                    REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL HERNANDEZ
   294731 MALDONADO                                   REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707990 MANUEL HERNANDEZ OCASIO                     HC 1 BOX 4065                                                                                                         QUEBRADILLAS        PR           00678
   707992 MANUEL HERNANDEZ RIVERA                     CAMINO DEL MAR             CK 9532 VIA ARENALES                                                                       TOA BAJA            PR           00949
          MANUEL HERNANDEZ
   294735 RODRIGUEZ                                   REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294736 MANUEL HERNANDEZ SANCHEZ                    REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707536 MANUEL HERNANDEZ VELEZ                      PO BOX 2149                                                                                                           MOCA                PR           00676

   294737 MANUEL HERRERA HERNANDEZ                    REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707993 MANUEL HERRERA PAGAN                        PO BOX 918                                                                                                            SAN JUAN            PR           00902‐0918
          MANUEL HERRERA SIVERIO Y/O
   294738 EDISON ENERGY                               REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294739 MANUEL HERRERO GRANADA                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294740 MANUEL HOMY APONTE RUIZ                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294741 MANUEL HORTA PEREIRA                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294742 MANUEL HUERTAS MARRERO                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL HUMBERTO TRINIDAD
   707995 GONZALEZ                                    PUERTO NUEVO               705 AVE DE DIEGO                                                                           SAN JUAN            PR           00920
   707537 MANUEL I GONZALEZ OTERO                     H 8 AVE LAGUNA APT C 327                                                                                              CAROLINA            PR           00979
   294744 MANUEL I OTERO MARTINEZ                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294745 MANUEL I RIVERA RIVERA                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294746 MANUEL I SANTIAGO AVILA                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      PARC 114 BO GALATEO
   707996 MANUEL I SANTOS HERNANDEZ                   PARCELAS                                                                                                              TOA ALTA            PR           00953
   294747 MANUEL I VARGAS BERNAL                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL I. MANGUAL
   707998 RODRIGUEZ                                   BO BARRAZAS                HC 1 BOX 12262                                                                             CAROLINA            PR           00987
   294748 MANUEL IGARTUA ARBONA                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707999 MANUEL IRAVEDRA LABRADOR                    URB VILLA NEVAREZ          COND LAS ROBLES APT 715 B                                                                  SAN JUAN            PR           00927
   708000 MANUEL IRIZARRY IRIZARRY                    HC 3 BOX 13036                                                                                                        YAUCO               PR           00698

   708001 MANUEL IRIZARRY LAMEIRO                     URB ENCANTADA              RC 4 VIA EUFRATES RIO CRISTAL                                                              TRUJILLO ALTO       PR           00976
          MANUEL IZQUIERDO
   708002 ENCARNACION                                 PO BOX 21411                                                                                                          SAN JUAN            PR           00928‐1411

   294749 MANUEL J ANGLERO PACHECO                    REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707538 MANUEL J BONET TORRES                       1794 BO ASOMANTE                                                                                                      AGUADA              PR           00602
   294750 MANUEL J BORRERO BOU                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294751 MANUEL J CABALLER DE LA CRUZ REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   708003 MANUEL J CAMACHO CORDOVA                    1519 PONCE DE LEON STE 320                                                                                     SAN JUAN            PR           00909
   708005 MANUEL J COLON VARGAS                       PO BOX 366101                                                                                                  SAN JUAN            PR           00936‐6101
          MANUEL J CORDERO
   294753 CANDELARIO                                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294754 MANUEL J CRUZ CALDERON                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294755 MANUEL J FABELO GOMEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708006 MANUEL J FELIX ORTIZ                        PO BOX 2004                                                                                                    TOA BAJA            PR           00951‐2004
   294756 MANUEL J FULLANA MORALES                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708009 MANUEL J GARCIA AND ASSOC                   URB BALDRICH 579             CALLE ABOLICION                                                                   SAN JUAN            PR           00918‐4334
   294757 MANUEL J GARCIA MARRERO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708010 MANUEL J GARCIA RULLAN                      PO BOX 9024266                                                                                                 SAN JUAN            PR           00902‐4266

   294758 MANUEL J GONZALEZ DEL TORO REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294759 MANUEL J LEBRON RODRIGUEZ                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294760 MANUEL J LOPEZ BONELLI                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708011 MANUEL J LOPEZ RAMOS                        MANSION DEL SUR              SE 14 ZARZUELA                                                                    TOA BAJA            PR           00949
          MANUEL J MALDONADO
   708012 SANCHEZ                                     4 PROLONGACION PATRIOTA                                                                                        MANATI              PR           00674
   294761 MANUEL J MARTINEZ COLON                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708013 MANUEL J MARTINEZ JIRAU                     URB SAN GERARDO              1567 CALLE ATLANTA                                                                SAN JUAN            PR           00926
   294762 MANUEL J MORALES ROBLES                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294764 MANUEL J NUNEZ DE LEON                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      HOME MORTGAGE PLAZA SUITE
   708014 MANUEL J PEREZ GARCIA                       1118                         268 PONCE DE LEON                                                                 SAN JUAN            PR           00918
   294766 MANUEL J RAMOS                              REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294768 MANUEL J RODRIGUEZ IGLESIAS                 REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294769 MANUEL J ROSA AVILES                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294770 MANUEL J ROSA SANTIAGO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708015 MANUEL J SANTIAGO RIVERA                    SANS SOUCI                   Z 10 CALLE 19                                                                     BAYAMON             PR           00957
   294772 MANUEL J TEJADA CABRERA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294773 MANUEL J TERON MALDONADO REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL J VERA VERA y JUAN
   708017 ROSARIO CASTRO            RAMEY                                          122 CALLE HARRISON                                                                AGUADILLA           PR           00603
   708020 MANUEL J. LISTE LINERIA   PO BOX 720                                                                                                                       TOA ALTA            PR           00954

   294776 MANUEL J. RODRIGUEZ IGLESIAS REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708021 MANUEL JESUS SERRANO         APT 1401                                    1302 AVENIDA ASHFORD                                                              SAN JUAN            PR           00907

   708022 MANUEL JIMENEZ BERBERENA                    BO HIGUILLAR MONTE LINDO     C 8 CALLE 12                                                                      DORADO              PR           00646
   708025 MANUEL JIMENEZ JIMENEZ                      HC 06 BOX 12203                                                                                                SAN SEBASTIAN       PR           00685
   294777 MANUEL JIMENEZ LAZALA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708027 MANUEL JIMENEZ ROSARIO                      BDA CANTERA 2360             CALLE SANTA ELENA                                                                 SAN JUAN            PR           00915
   707540 MANUEL JULBE ROLON                          URB EL CONQUISTADOR          I 7 CALLE 5                                                                       TRUJILLO ALTO       PR           00976
          MANUEL JUNCO GARCIA & JOSE
   294779 GOYCO AMADOR                                REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294780 MANUEL L ALVAREZ ANGELET                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL L GORBEA /THE TONER
   294781 HOUSE                                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   294782 MANUEL L IRAVEDRA GONZALEZ                  REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708029 MANUEL L MARQUEZ LOPEZ                      URB BRISAS DE LOIZA    106 CALLE LEO                                                                          CANOVANAS           PR           00729
   294783 MANUEL L MARTINEZ TORRES                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708031 MANUEL LABORDE                              CALLE MEDITACION 55    OFICINA 3‐B                                                                            MAYAGUEZ            PR           00708

   707541 MANUEL LABORDE MALDONADO MEDITACION 55 APT 3 B                                                                                                            MAYAGUEZ            PR           00680
   294784 MANUEL LARA RUIZ         REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL LARRIUZ /DBA
   294786 FERRETERIA LARRIUZ       AREA DEL TESORO                           DIVISION DE RECLAMACIONES                                                              SAN JUAN            PR           00902‐4140
   294787 MANUEL LARRIUZ DEL RIO   REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708033 MANUEL LEBRON CARRION    HC 03 BOX 4485                                                                                                                   GURABO              PR           00778
   708034 MANUEL LEBRON CINTRON    PO BOX 1248                                                                                                                      PATILLAS            PR           00723
   294788 MANUEL LEBRON CRESPO     REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL LEDO Y MARIA DEL
   294789 MONTE                    REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL LEDUC / MERCEDES
   708035 FELICIANO                SUITE 448 PO BOX 3001                                                                                                            RIO GRANDE          PR           00745
                                   AVE REXACH 2340 BARRIO
   708036 MANUEL LEYRO PEREZ       OBRERO                                                                                                                           SANTURCE            PR           00915

   708037 MANUEL LLANEZA BALAZQUIDE                   RIO PIEDRAS HEIGHTS    149 CALLE OBI                                                                          SAN JUAN            PR           00936
   708039 MANUEL LOBATO VICO                          PO BOX 190113                                                                                                 SAN JUAN            PR           00919
   707542 MANUEL LOPEZ ACEVEDO                        URB PUERTO NUEVO       371 CALLE BALEARES                                                                     SAN JUAN            PR           00920‐4010
   708040 MANUEL LOPEZ ALVAREZ                        URB SIERRA BERDECIA    E 8 CALLE BENITEZ                                                                      GUAYNABO            PR           00969‐6231
   294791 MANUEL LOPEZ CARDONA                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708042 MANUEL LOPEZ DE VICTORIA                    PO BOX 10431                                                                                                  SAN JUAN            PR           00922
   708043 MANUEL LOPEZ EGUBIDA                        HC 1 BOX 3364                                                                                                 CAMUY               PR           00627‐9602
   708044 MANUEL LOPEZ FERNANDEZ                      PO BOX 998                                                                                                    SAN JUAN            PR           00919‐0998
   708045 MANUEL LOPEZ GONZALEZ                       PO BOX 148                                                                                                    JAYUYA              PR           00664
   708047 MANUEL LOPEZ HERNANDEZ                      PO BOX 965                                                                                                    CIALES              PR           00638
   294792 MANUEL LOPEZ MARTINEZ                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708048 MANUEL LOPEZ NIEVES                         BO AIBONITO GUERRERO   HC 06 BOX 9489                                                                         SAN SEBASTIAN       PR           00685
   294793 MANUEL LOPEZ PABON                          REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294794 MANUEL LOPEZ QUINONES                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708049 MANUEL LOPEZ RODRIGUEZ                      HC 01 BOX 23218                                                                                               CAGUAS              PR           00725‐8918
   708050 MANUEL LOPEZ ROSADO                         PO BOX 279                                                                                                    COTO LAUREL         PR           00780
   708052 MANUEL LOPEZ TROCHE                         HC 1 BOX 13683                                                                                                CABO ROJO           PR           00623‐9762
   294795 MANUEL LOZADA ROSARIO                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708053 MANUEL LUCIANO RODRIGUEZ                    VILLA DEL CARMEN       4468 AVE CONSTANCIA                                                                    PONCE               PR           00716‐2208
          MANUEL LUGO REYES & MYRNA
   708054 ABRAHAMS VALLE                              PMB 142                HC 1 BOX 29030                                                                         CAGUAS              PR           00725
   708055 MANUEL LUGO VAZQUEZ                         URB JARD DEL CARIBE    104 CALLE 4                                                                            PONCE               PR           00731
   708056 MANUEL LUGO VELAZQUEZ                       HC 1 BOX 4558                                                                                                 YABUCOA             PR           00767
   708057 MANUEL LUIS ORTIZ RIVERA                    HILLS BROTHERS         366 CALLE 1                                                                            SAN JUAN            PR           00924

   708058 MANUEL LUJAN INSURANCE INC                  PO BOX 3727                                                                                                   ALBUQUERQUE         NM           87190
   294796 MANUEL LUNA ESPADA                          REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708059 MANUEL M RIVERA ORSINI                      PO BOX 021                                                                                                    AGUADA              PR           00602
          MANUEL M. PEREZ REALTY &
   294797 ASOC.                                       PO BOX 1382                                                                                                   ISABELA             PR           00662
   708060 MANUEL MACHUCA CHIQUES                      URB VILLA ANDALUCIA    J60 CALLE COLMENAR                                                                     SAN JUAN            PR           00926



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  708061 MANUEL MAENDEZ JIMENEZ                       HC 02 BOX 6871                                                                                                UTUADO              PR           00641
  708062 MANUEL MALAVE COLON                          HC 2 BOX 8657                                                                                                 AIBONITO            PR           00705

   294799 MANUEL MALDONADO ALBINO   REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                    CALLE W 27 F 18 GLENVIEW
   708063 MANUEL MALDONADO IRIZARRY GARDENS                                                                                                                         PONCE               PR           00733
   294801 MANUEL MALDONADO PEREZ    REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   708064 MANUEL MALDONADO RAMIREZ P O BOX 8185                                                                                                                     CAGUAS              PR           00726
   294802 Manuel Maldonado Rodríguez REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MANUEL MALDONADO Y ROSA
   294803 ELVIRA JONES               REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   708065 MANUEL MARCIAL FELICIANO   BO ESPINAL                             7 CLUSTER                                                                               AGUADA              PR           00602
   294810 MANUEL MARQUEZ MARK        REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   294811 MANUEL MARRERO ORTEGA      REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   708067 MANUEL MARRERO SANTIAGO                     LOS CAOBOS            2569 CALLE BAMBU                                                                        PONCE               PR           00731
   708068 MANUEL MARTEL SAN GIL                       PO BOX 11855                                                                                                  SAN JUAN            PR           00910‐3855
   708069 MANUEL MARTINEZ ARROYO                      URB EL CAFETAL II     R13 CALLE EXCELSIA                                                                      YAUCO               PR           00698
   708070 MANUEL MARTINEZ CALO                        HC 3 BOX 12318                                                                                                CAROLINA            PR           00987‐9619
   294813 MANUEL MARTINEZ ESTEVES                     REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                      334 CALLE ARCADIO
   708071 MANUEL MARTINEZ GARCIA                      MALDONADO                                                                                                     SALINAS             PR           00751

   708072 MANUEL MARTINEZ GONZALEZ                    URB DELGADO           F 21 CALLE 4                                                                            CAGUAS              PR           00725
   708074 MANUEL MARTINEZ PEREZ                       PO BOX 1711                                                                                                   CANOVANAS           PR           00729
   294817 MANUEL MARTINEZ RIVERA                      REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   708076 MANUEL MARTINEZ RODRIGUEZ URB CARIOCA                             F 11 CALLE BALDORIOTY ESTE                                                              GUAYAMA             PR           00784
   294818 MANUEL MARTINEZ ROSADO    REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   708077 MANUEL MARTINEZ TORO      HC 01 BOX 2186 A                                                                                                                MOROVIS             PR           00687

   294820 MANUEL MARTINEZ UMPIERRE                    REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   294822 MANUEL MARTIZ ECHEVARRIA                    REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   708078 MANUEL MAS RAMIREZ                          PO BOX 366687                                                                                                 SAN JUAN            PR           00936

   294823 MANUEL MASSA CARRASQUILLO REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   708079 MANUEL MASSA GONZALEZ     P O BOX 366147                                                                                                                  SAN JUAN            PR           00936
   294824 MANUEL MASSA ORTIZ        REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   708080 MANUEL MATEO SOLANO       ALTURAS DE MAYAGUEZ                     G 1 CALLE YAUREL                                                                        MAYAGUEZ            PR           00680
   708081 MANUEL MATOS BELLON       224 CALLE LICEO                                                                                                                 MAYAGUEZ            PR           00680‐4449
   294826 MANUEL MATOS RORIGUEZ     REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   294827 MANUEL MAYOR VALENZUELA                     REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   294828 MANUEL MEDIAVILLA INC                       PO BOX 638                                                                                                    HUMACAO             PR           00792

   708083 MANUEL MEDIAVILLA MARRERO URB FOREST VIEW                         H‐238 CALLE SOFIA                                                                       BAYAMON             PR           00956
   708084 MANUEL MEDINA DELGADO     PO BOX 1116                                                                                                                     LAS PIEDRAS         PR           00771
   294829 MANUEL MEDINA MONTANEZ    REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   708085 MANUEL MEDINA RIVERA      R R 03 3326                                                                                                                     SAN JUAN            PR           00928
   708086 MANUEL MEDINA RODRIGUEZ   URB ESTANCIAS                           211 CALLE ESMERALDA                                                                     SANTA ISABEL        PR           00757
   708087 MANUEL MEJIAS CRUZ        HC 02 BOX 9392                                                                                                                  JUANA DIAZ          PR           00795



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  708088 MANUEL MEJIAS LUGO                           PO BOX 360501                                                                                                      SAN JUAN             PR         00936
  708089 MANUEL MEJIAS MORALES                        BDA CLAUSELLS                 108 CALLE COLON                                                                      PONCE                PR         00730
  708090 MANUEL MELECIO DIAZ                          URB MONTE CARLO               1307 CALLE 27                                                                        SAN JUAN             PR         00924
  294830 MANUEL MELENDEZ                              REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   294831 MANUEL MELENDEZ CAMACHO                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MANUEL MELENDEZ
   708092 MALDONADO                                   URB COLINAS VERDES            E 17 CALLE 3                                                                         SAN SEBASTIAN        PR         00685
   294832 MANUEL MELENDEZ RIVERA                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   708093 MANUEL MELENDEZ ROSARIO                     COND DEL SOL 16               CALLE AMAPOLA APT 304                                                                CAROLINA             PR         00983
   294833 MANUEL MELENDEZ SELLA                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   708094 MANUEL MELO POVERIE                         SAN JUAN PARK 2               APT AA 402                                                                           SAN JUAN             PR         00907
   708095 MANUEL MENA PORTALATIN                      URB FAIR VIEW                 1897 CALLE 47                                                                        SAN JUAN             PR         00926
   708097 MANUEL MENDEZ                               PO BOX 192694                                                                                                      SAN JUAN             PR         00919
   708099 MANUEL MENDEZ GARCIA                        508 SAGRADO CORAZON                                                                                                SAN JUAN             PR         00915
   294835 MANUEL MENDEZ LORENZO                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   294836 MANUEL MENDEZ MARCIAL                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   708100 MANUEL MENDEZ MARTINEZ                      URB EL COMANDANTE             1218 CALLE MARIA GIUSTI                                                              SAN JUAN             PR         00924
   708101 MANUEL MENDEZ SAAVEDRA                      PO BOX 9066555                                                                                                     SAN JUAN             PR         00906‐6555

   294837 MANUEL MENDOZA DELGADO                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   708103 MANUEL MENENDEZ BALLESTE                    PO BOX 688                                                                                                         SAN JUAN             PR         00902
   708104 MANUEL MERCADO COLON                        MAGNOLIA GARDENS              H 21 CALLE 11                                                                        BAYAMON              PR         00956

   294838 MANUEL MERCADO GONZALEZ                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   708106 MANUEL MERCADO RAMOS                        BOX 596                                                                                                            SABANA GRANDE        PR         00636
   708107 MANUEL MERCADO SANTERA                      URB DOS RIOS                  D 45 CALLE 9                                                                         LEVITTOWN            PR         00949
   294839 MANUEL MERCED PINA                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   294840 MANUEL MERCED RIVERA                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   294841 MANUEL MERELLO                              REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   294843 MANUEL MILLAN PEREZ                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   708108 MANUEL MILLAN RODRIGUEZ                     PMB 230 P O BOX 6011                                                                                               CAROLINA             PR         00987 6011
   294844 MANUEL MINIER PEREZ                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   294845 MANUEL MIRANDA ESTREMERA                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   708111 MANUEL MISLA GUTIERREZ                      51 CALLE PAKISTAN                                                                                                  ISABELA              PR         00662
   708112 MANUEL MOJICA MELENDEZ                      URB LA PONDEROSA              C 107 CALLE 3                                                                        VEGA ALTA            PR         00692
   708113 MANUEL MOLINA                               PO BOX 8449                                                                                                        SAN JUAN             PR         00910
          MANUEL MOLINA PARA ADRIAN
   294846 MOLINA RIVERA                               REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   294847 MANUEL MOLINA VELAZQUEZ                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MANUEL MONASTERIOS
   708114 HERNANDEZ                                   PO BOX 7401                                                                                                        PONCE                PR         00732
   708115 MANUEL MONSEGUR INC                         P O BOX 372                                                                                                        SABANA GRANDE        PR         00637

   708116 MANUEL MONTALVO HEREDIA                     B 10 URB ALTURAS DE FLORIDA                                                                                        FLORIDA              PR         00650

   294848 MANUEL MONTANEZ BONILLA                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   708118 MANUEL MONTERO VELEZ                        HC 02 BOX 151142                                                                                                   ARECIBO              PR         00612
   707518 MANUEL MORA RIVERA                          URB PARQUE ECUESTRE           N 4 CALLE 44                                                                         CAROLINA             PR         00987
   708119 MANUEL MORALES                              PO BOX 195434                                                                                                      SAN JUAN             PR         00919
   294849 MANUEL MORALES BURGOS                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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   708123 MANUEL MORALES GONZALEZ                     PARC NUEVA VIDA          1839 CALLE GREGORIO SABATER                                                               PONCE               PR           00728
   708124 MANUEL MORALES HUERTAS                      URB LEVITTOWN            W 1687 CALLE PASEO DUNA                                                                   TOA BAJA            PR           00949
   294851 MANUEL MORALES LEBRON                       REDACTED                 REDACTED                    REDACTED                               REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707544 MANUEL MORALES LOPEZ                        HC 71 BOX 3309                                                                                                     NARANJITO           PR           00719
   708127 MANUEL MORALES MOYA                         BO BORINQUEN             2725 SECTOR PLAYUELAS                                                                     AGUADILLA           PR           00603
   708128 MANUEL MORALES OJEDA                        BO BUCARABONES           30 B CALLE 12                                                                             TOA ALTA            PR           00953
   294853 MANUEL MORALES SANTOS                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUEL MORALES TORRES DBA
   708129 ART WORD PM                                 PMB 350 PO BOX 7891                                                                                                GUAYNABO            PR           00970‐7891

   708130 MANUEL MORALES VELAZQUEZ                    URB JARDINES DE ARROYO   C 61 CALLE O                                                                              ARROYO              PR           00714
   708132 MANUEL MORENO ESCOBAR                       URB RIVER VILLAS         5320 CALLE CANOVANAS                                                                      CANOVANAS           PR           00729
   294855 MANUEL MUNIZ ORTIZ                          REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294856 MANUEL MUNIZ PADIAL                         REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294857 MANUEL MUNIZ VALENTIN                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294859 MANUEL MUNOZ JIMENEZ                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294861 MANUEL NARVAEZ RIVERA                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294862 MANUEL NAZARIO MARTINEZ                     REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708134 MANUEL NAZARIO NEGRON                       PO BOX 561400                                                                                                      GUAYANILLA          PR           00656‐3500
   294864 MANUEL NAZARIO VARGAS                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708135 MANUEL NEGRON MONTESINOS HC 1 BOX 5509                                                                                                                         GUAYNABO            PR           00971
   294865 MANUEL NEGRON ROCHE      REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294866 MANUEL NEGRON RODRIGUEZ                     REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707545 MANUEL NERIS FLORES                         URB SANTA CLARA          S 35 CALLE PALMA REAL                                                                     GUAYNABO            PR           00969‐6819
          MANUEL NEVAREZ MIRANDA
   708136 MYRNA PADILLA                               ALT DE FLAMBOYAN         A 21 CALLE 2                                                                              BAYAMON             PR           00959‐8115
   294867 MANUEL NIEVES ALICEA                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294869 MANUEL NIEVES RIVAS                         REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708138 MANUEL NIEVES RIVERA                        BOX 41269                                                                                                          SAN JUAN            PR           00940‐1269
   708140 MANUEL NORIEGA PADRO                        PO BOX 600                                                                                                         CIALES              PR           00638
   294870 MANUEL NUNEZ RAMIREZ                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294871 MANUEL NUNO BRIGNONI                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294875 MANUEL O DE JESUS FERRER                    REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708141 MANUEL O GONZALEZ OSORIO                    URB ANTIGUA VIA          S 2 BLQ 19                                                                                SAN JUAN            PR           00926

   294877 MANUEL O GONZALEZ TORRES                    REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294878 MANUEL O LOPEZ BADILLO                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294879 MANUEL O MEDINA CASADO                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294880 MANUEL O NIEVES SANTIAGO                    REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708143 MANUEL O PADILLA HERNANDEZ PO BOX 30446                                                                                                                        SAN JUAN            PR           00929‐1446
   708144 MANUEL O PEREZ VAZQUEZ     P O BOX 20000                             PMB 246                                                                                   CANOVANAS           PR           00729
  1256656 MANUEL O RAMOS MARTINEZ    REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708145 MANUEL O RIVERA ORTIZ      SANTA JUANA                               C 20 CALLE 5                                                                              CAGUAS              PR           00725
   708146 MANUEL O ROIG              P O BOX 552                                                                                                                         HUMACAO             PR           00792
   708147 MANUEL O ROIG PEREZ        PO BOX 552                                                                                                                          HUMACAO             PR           00792

   708148 MANUEL O. MORERA MIRANDA                    COND THE GALAXY          3205 AVE ISLA VERDE APT 1003                                                              CAROLINA            PR           00979
   708149 MANUEL OACEVEDO RIOS                        PO BOX 2600 PMB 203                                                                                                MOCA                PR           00676



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   294883 MANUEL OCACIO MALDONADO                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294884 MANUEL OCASIO FIGUEROA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708150 MANUEL OCHOA BALDRICH                       P O BOX 6251 LOIZA STATION                                                                                         SAN JUAN            PR           00914
   294885 MANUEL OJEDA BATISTA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294886 MANUEL OQUENDO ROLDAN                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708151 MANUEL ORRIOLA PEREZ                        PO BOX 141329                                                                                                      ARECIBO             PR           00614

   708155 MANUEL ORTIZ ARROYO                         URB HACIENDA LA MATILDE      5675 PASEO MORELL CAMPOS                                                              PONCE               PR           00728
   294887 MANUEL ORTIZ BEY                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708156 MANUEL ORTIZ GUZMAN                         PO BOX 2183                                                                                                        SALINAS             PR           00751
   294888 MANUEL ORTIZ MACHADO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708157 MANUEL ORTIZ MARQUEZ                        P O BOX 1722                                                                                                       RIO GRANDE          PR           00745
   708158 MANUEL ORTIZ NEVAREZ                        URB PARAISO DE COAMO         903 CONCORDIA                                                                         COAMO               PR           00769
   294889 MANUEL ORTIZ NIEVES                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294890 MANUEL ORTIZ OCASIO                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294891 MANUEL ORTIZ RAMOS                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294892 MANUEL ORTIZ RIVERA                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708159 MANUEL ORTIZ ROBLES                         CAPARRA TERRACE              1421 CALLE 30 SO                                                                      SAN JUAN            PR           00921
   294893 MANUEL ORTIZ RODRIGUEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294894 MANUEL ORTIZ SANTANA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294895 MANUEL OYOLA GARCIA                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294896 MANUEL P COLON FERNANDEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   294897 MANUEL P RODRIGUEZ VELASCO REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294898 MANUEL P SEGARRA           REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                     BO QDA CRUZ SECT LOS
   708161 MANUEL PACHECO CINTRON     PACHECOS                                      CARR 824                                                                              TOA ALTA            PR           00953
          MANUEL PAGAN MORALES
   294899 SUPET. TITULO 1            REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   707546 MANUEL PAGAN RAMIREZ       PO BOX 753                                                                                                                          LAJAS               PR           00667‐0753
   294900 MANUEL PANIAGUA CORREA     REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707547 MANUEL PANTOJAS RODRIGUEZ                   URB SANTA JUANITA            N 0 16 CALLE JADE                                                                     BAYAMON             PR           00958
   294901 MANUEL PARDO GONZALEZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294902 MANUEL PEDRAZA SANTIAGO                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294903 MANUEL PENA ESPINOSA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708162 MANUEL PENTON BLASON                        COND MARAZUL 1               CALLE LIRIO APT 1B                                                                    CAROLINA            PR           00979
                                                      URB GARDENS HILLS A‐6CALLE
   708163 MANUEL PEREYO LOPEZ                         SERRANIA                                                                                                           GUAYNABO            PR           00966
   708166 MANUEL PEREZ BARALT                         URB SANTA ANA                19 CALLE TEMPLE                                                                       SAN JUAN            PR           00927
   708167 MANUEL PEREZ CALDERO                        HC 3 BOX 12261                                                                                                     COROZAL             PR           00783
   294904 MANUEL PEREZ CAMINERO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708168 MANUEL PEREZ GILBE                          HC 06 BOX 4132                                                                                                     COTTO LAUREL        PR           00780
   708169 MANUEL PEREZ GOLDEROS                       CALLE MAYAGUEZ               605 COND TORRELINDA                                                                   HATO REY            PR           00917
   294905 MANUEL PEREZ GUZMAN                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294906 MANUEL PEREZ NIEVES                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   294907 MANUEL PEREZ OCASIO                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708170 MANUEL PEREZ ORTEGA                         STA MONICA                   C 18 CALLE 2                                                                          BAYAMON             PR           00958
   708171 MANUEL PEREZ PRIETO                         PO BOX 331804                                                                                                      PONCE               PR           00733‐1804
   708174 MANUEL PEREZ RODRIGUEZ                      HC 3 BOX 9334                                                                                                      MOCA                PR           00676
   708176 MANUEL PEREZ ROSADO                         HC 2 BOX 12594                                                                                                     SAN GERMAN          PR           00683



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  708177 MANUEL PEREZ SANTIAGO                        D 18 ESTANCIAS DE MAYORAL                                                                                        VILLALBA             PR         00766
  708178 MANUEL PEREZ SEGARRA                         HC 3 BUZON 99 59                                                                                                 LARES                PR         00669‐9515
  294910 MANUEL PERFECTO TORRES                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  708180 MANUEL PESANTE MIRANDA                       HC 08 BOX 52250                                                                                                  HATILLO              PR         00659
  294911 MANUEL PINEIRO RIVERA                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  708181 MANUEL PIZZINI CRUZ                          PO BOX 7126                                                                                                      PONCE                PR         00732

   294913 MANUEL POLANCO MARTINEZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   294914 MANUEL PORRATA PILA                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   294915 MANUEL PORRO VIZCARRA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   294917 MANUEL PORTELA PADILLA                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   294918 MANUEL PUBILLONES LOPEZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   708185 MANUEL Q CABRET VIVES                       LAS LOMAS                   1767 CALLE 24 S O                                                                    SAN JUAN             PR         00921
   294919 MANUEL QUINONES CAMPOS                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   294920 MANUEL QUINONES GONZALEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   294921 MANUEL QUINONES NEGRON                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   294922 MANUEL QUINONES SANCHEZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   294923 MANUEL QUINONES SANTIAGO                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   294924 MANUEL QUINONES TORRES                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   294925 MANUEL QUINONES VELEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   708186 MANUEL QUINONEZ GARCIA                      P O BOX 7126                                                                                                     PONCE                PR         00732
   294926 MANUEL QUINONEZ VARGAS                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   708187 MANUEL QUINTERO VAZQUEZ                     P O BOX 2590                                                                                                     VEGA BAJA            PR         00693
   294928 MANUEL R CORDERO TORRES                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   708188 MANUEL R DIAZ SOTO                          121 APACHE DRIVE                                                                                                 EFFORT               PA         18330

   708189 MANUEL R ECOZCUE CHANDRI                    PO BOX 361607                                                                                                    SAN JUAN             PR         00936‐1607
   708190 MANUEL R FERNANDEZ                          P O BOX 654957                                                                                                   MIAMI                FL         33165
   294929 MANUEL R GOMEZ ACEVEDO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   708191 MANUEL R GOMEZ CRESPO                       PO BOX 9021112                                                                                                   SAN JUAN             PR         00902‐1112
   294930 MANUEL R GRACIA RAMOS                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   708193 MANUEL R MARTINEZ GARCIA                    WALDORF TOWERS              4123 ISLA VERDE APT 807                                                              CAROLINA             PR         00979
   294931 MANUEL R NIEVES PEREZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   294932 MANUEL R OYOLA LEDESMA                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   708194 MANUEL R PEREZ CABALLER                     PO BOX 9560                                                                                                      BAYAMON              PR         00960‐9560
   294933 MANUEL R PURCELL MATTEI                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   294934 MANUEL R PURCELL REQUENA                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   294935 MANUEL R SANTIAGO ORTIZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   294936 MANUEL R SILVA TORRES                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   708197 MANUEL R SUAREZ JIMENEZ                     PO BOX 11096                                                                                                     SAN JUAN             PR         00910
   294937 MANUEL R TORRES VELEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   708200 MANUEL RAMIREZ ARIZA                        PO BOX 351327                                                                                                    CAYEY                PR         00737‐1327
   294938 MANUEL RAMIREZ GOMEZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   294939 MANUEL RAMIREZ SOTO                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   294940 MANUEL RAMOS                                REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   294941 MANUEL RAMOS BORRERO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   708202 MANUEL RAMOS GANDIA                         P O BOX 9066613                                                                                                  SAN JUAN             PR         00906
   294942 MANUEL RAMOS HERNANDEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   294943 MANUEL RAMOS MARTIN                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  294944 MANUEL RAMOS MORELL                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  708203 MANUEL RAMOS RAMOS                           3602 VILLAS SOTOMAYOR                                                                                                  SAN ANTONIO       PR         00690
  708204 MANUEL RAMOS ROMAN                           HC 3 BOX 40716                                                                                                         CAGUAS            PR         00725‐9738
  294945 MANUEL RAMOS URDAZ                           REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  708205 MANUEL RESTAURANT                            BO PLAYITA                   CALLE C 12                                                                                SALINAS           PR         00751
  708206 MANUEL RESTO GARCIA                          PO BOX 705                                                                                                             CEIBA             PR         00735‐0705
  294946 MANUEL REYES DAVILA                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  294947 MANUEL REYES GONZALEZ                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  708209 MANUEL REYES LEON                            HC 03 BOX 12810                                                                                                        JUANA DIAZ        PR         00795
         MANUEL REYES LOPEZ
  294948 MONTALVO                                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  708210 MANUEL REYES RODRIGUEZ                       URB SABANA GARDEN            B4 30 CALLE 10                                                                            CAROLINA          PR         00983
  708211 MANUEL REYES VAZQUEZ                         CASTELLANA GARDENS           E 22 CALLE 5                                                                              CAROLINA          PR         00983
  708212 MANUEL RIAL                                  BO SABALOS                   110 CALLE CAROLINA                                                                        MAYAGUEZ          PR         00680
         MANUEL RICO Y BEVERLY
  294951 ROMAN                                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      JORGE L. ARMENTEROS
  1422801 MANUEL RINCON, CANDIDO                      CHERVONI                     COND. GALERÍA STE. 2 PMB 202   201 AVE. ARTERIAL HOSTOS                                   SAN JUAN          PR         00917

   708213 MANUEL RIOS ALEMAN                          URB VILLAS DE SAN AGUSTIN H 2 CALLE 6                                                                                  BAYAMON           PR         00959
   294952 MANUEL RIOS CENTENO                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   708216 MANUEL RIOS LOPEZ                           P O BOX 60‐075                                                                                                         BAYAMON           PR         00960
   708217 MANUEL RIOS RIGAU                           OCEAN PARK                    1904 CACIQUE                                                                             SAN JUAN          PR         00911
   708218 MANUEL RIVERA                               P O BOX 675                                                                                                            ENSENADA          PR         00647
   708219 MANUEL RIVERA AGUIAR                        BARRIO OBRERO                 461 CALLE GAUTIER BENITEZ                                                                SAN JUAN          PR         00915
   707549 MANUEL RIVERA CORCHADO                      BO SAINT JUST 142             A CALLE 2                                                                                TRUJILLO ALTO     PR         00976
   294954 MANUEL RIVERA GIMENEZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   294956 MANUEL RIVERA HEREDIA                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   708220 MANUEL RIVERA MALAVE                        PO BOX 300                                                                                                             SAN ANTONIO       PR         00690
   708224 MANUEL RIVERA MARZAN                        RR 2 BOX 5858                                                                                                          TOA ALTA          PR         00953‐9802
   294957 MANUEL RIVERA MERCADO                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   294958 MANUEL RIVERA MORALES                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   294960 MANUEL RIVERA NIEVES                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   294961 MANUEL RIVERA ORTIZ                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   707548 MANUEL RIVERA PIMENTEL                      URB VISTAS DEL CONVENTO       2 H 41 CALLE 5                                                                           FAJARDO           PR         00738
   294962 MANUEL RIVERA QUINONES                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   708228 MANUEL RIVERA QUINTANA                      COND MIRAMAR                  608 CALLE OLIMPO APT 62 A                                                                SAN JUAN          PR         00907‐3120
   294963 MANUEL RIVERA RIVERA                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   294964 MANUEL RIVERA RODRIGUEZ                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   708230 MANUEL RIVERA ROSADO                        113 CALLE LOS MILLONES                                                                                                 BAYAMON           PR         00957
   708231 MANUEL RIVERA SANTIAGO                      URB MONTE BRISAS              3D 13 CALLE 111                                                                          FAJARDO           PR         00738
   294966 MANUEL RIVERA SULIVERES                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   708233 MANUEL RIVERA Y ASOCIADOS                   2676 AVE BOULEVARD                                                                                                     TOA BAJA          PR         00949
   708234 MANUEL ROBLES MORALES                       URB COUNTRY CLUB 922         CALLE PABLO SAEZ                                                                          SAN JUAN          PR         00924‐3491

   294967 MANUEL RODRIGUEZ ALVAREZ                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   294968 MANUEL RODRIGUEZ BIDOT                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   294969 MANUEL RODRIGUEZ BRACERO                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MANUEL RODRIGUEZ
   708235 CARRASQUILLO                                PO BOX 721                                                                                                             CAROLINA          PR         00986




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   294970 MANUEL RODRIGUEZ CESPEDES                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   294971 MANUEL RODRIGUEZ COLON                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MANUEL RODRIGUEZ
   294972 CONCEPCION                                  REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MANUEL RODRIGUEZ DBA
   708237 CONTROL CLEANING                            PO BOX 6762                                                                                                     BAYAMON              PR           00960

   294973 MANUEL RODRIGUEZ DE JESUS                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   294974 MANUEL RODRIGUEZ DIAZ                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   294975 MANUEL RODRIGUEZ DOSAL                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MANUEL RODRIGUEZ
   708238 ENCARNACION                                 PASEO LOS ARTESANOS        16 CALLE RAFAELA RIVERA                                                              LAS PIEDRAS          PR           00771
   708240 MANUEL RODRIGUEZ GAUD                       URB LOS CAOBOS             2757 CALLE CLAVELINO                                                                 PONCE                PR           00716

   294976 MANUEL RODRIGUEZ MORALES                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MANUEL RODRIGUEZ
   294977 MORENO/EP ENERGY LLC                        PARQUE DEL RIO             108 PASEO HERRADURA                                                                  TRUJILLO ALTO        PR           00976

   294978 MANUEL RODRIGUEZ OLIVERAS                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   294979 MANUEL RODRIGUEZ PADILLA                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   708243 MANUEL RODRIGUEZ PEDRAZA                    PO BOX 5518                                                                                                     MAYAGUEZ             PR           00681
          MANUEL RODRIGUEZ
   708244 RODRIGUEZ                                   HC 1 BOX 7948                                                                                                   BARCELONETA          PR           00617

   708247 MANUEL RODRIGUEZ ROSADO                     HC 03 BOX 5546                                                                                                  HUMACAO              PR           00792

   708250 MANUEL RODRIGUEZ SERRANO                    PO BOX 143506                                                                                                   ARECIBO              PR           00614
   708251 MANUEL RODRIGUEZ VARGAS                     URB 3T                     36 CALLE MALAGUETA                                                                   ISABELA              PR           00662
   294980 MANUEL ROLANDO GIL                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   708252 MANUEL ROLON MARRERO                        105 CALLE DEGETAU N                                                                                             AIBONITO             PR           00705
   708255 MANUEL ROMAN                                RIO CRISTAL                G 27 CALLE 7                                                                         MAYAGUEZ             PR           00680

   294981 MANUEL ROMAN ADVERTISING                    130 CALLE CARAZO                                                                                                GUAYNABO             PR           00969
   708256 MANUEL ROMAN CRUZ                           HC01 BOX 9511                                                                                                   SAN SEBASTIAN        PR           00685
   708257 MANUEL ROMAN DE LA ROSA                     ROMULO VELASCO 2791        COL RINCONADA                                                                        SAN ANDRES                        44750
   708259 MANUEL ROMAN DIAZ                           HC 3 BOX 11858                                                                                                  CAMUY                PR           00627

   294982 MANUEL ROMAN ECHEVARRIA                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   294983 MANUEL ROMAN RIVERA                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   294984 MANUEL ROMAN SANTIAGO                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   708260 MANUEL ROMAN TORRES                         PO BOX 537                                                                                                      ENSENADA             PR           00647
   294985 MANUEL ROMEU FERNANDEZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   294986 MANUEL ROSA E HIJOS INC                     PO BOX 967                                                                                                      HATILLO              PR           00659
          MANUEL ROSA ROSARIO / AIDA
   708262 MATEO RIVERA                                URB VISTA DE LUQUILLO      D 15 CALLE VI                                                                        LUQUILLO             PR           00773‐2706
   294987 MANUEL ROSABAL RIVERA                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   708263 MANUEL ROSADO DIAZ                          PO BOX 1055                                                                                                     COROZAL              PR           00783
   294988 MANUEL ROSADO PAGAN                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   294989 MANUEL ROSADO PINEIRO                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   708264 MANUEL ROSADO TORRES                        PMB 316                    PO BOX 7004                                                                          VEGA BAJA            PR           00694
   708265 MANUEL ROSARIO CINTRON                      FERNANDEZ JUNCOS STATION   PO BOX 11855                                                                         SAN JUAN             PR           00910‐4225



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  708266 MANUEL ROSARIO CIRILO                        P O BOX 30                                                                                                            PALMER            PR         00721
  708267 MANUEL ROSARIO CRUZ                          HC 1 BOX 3082                                                                                                         CIDRA             PR         00739
  708268 MANUEL ROSARIO RIVERA                        P O BOX 6805                                                                                                          TOA ALTA          PR         00952
  708269 MANUEL ROSARIO SALAMO                        66 A MATTEI LLUBERAS                                                                                                  YAUCO             PR         00698
  294991 MANUEL RUIZ FLORES                           REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  708272 MANUEL RUIZ MONTALVO                         BO SONADOR I                   RR I BOX 37286                                                                         SAN SEBASTIAN     PR         00685
  294992 MANUEL S CHACON BOLANOS                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  708273 MANUEL S CRUZ MARTINEZ                       URB SANTA PAULA                2 B6 CALLE 1                                                                           GUAYNABO          PR         00969
         MANUEL S HERNANDEZ
  294993 RODRIGUEZ                                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         MANUEL SAAVEDRA POZO MD,
  294994 FANOR                                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  294995 MANUEL SALAS RIVERA                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  294997 MANUEL SAN JUAN                              REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  294998 MANUEL SAN JUAN LABARO                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  708277 MANUEL SANCHEZ CINTRON                       COND CANALS                    266 CALLE CANALS APTO 210                                                              SAN JUAN          PR         00907

   708278 MANUEL SANCHEZ LOPEZ                        ARECIBO GARDENS 79 CALLE‐5                                                                                            ARECIBO           PR         00612
   295000 MANUEL SANCHEZ ORTIZ                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      208 CALLE AGUSTIN CABRERA
   708279 MANUEL SANCHEZ ROBLES                       FINAL                                                                                                                 CAROLINA          PR         00985
   708280 MANUEL SANCHEZ SEIJO                        URB PARK GARDEN                K 15 CALLE GENERALIFE                                                                  SAN JUAN          PR         00926

   708281 MANUEL SANCHEZ SORELL                       CALLE 60 A Q 4 URB. REXVILLE                                                                                          BAYAMON           PR         00957

   708282 MANUEL SANSANCHEZ ROBLES                    P O BOX 7428                                                                                                          CAROLINA          PR         00984
   708283 MANUEL SANTANA                              HC 01 BOX 7256                                                                                                        LAS PIEDRAS       PR         00771
   708284 MANUEL SANTANA CANALES                      HC 1 BOX 7344                                                                                                         GURABO            PR         00658
   295001 MANUEL SANTANA PEDRAZA                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   295005 MANUEL SANTIAGO                             REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MANUEL SANTIAGO
   708286 BETANCOURT                                  URB COUNTRY CLUB               820 LEDU                                                                               SAN JUAN          PR         00924

   295006 MANUEL SANTIAGO CARTAGENA REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   295007 MANUEL SANTIAGO CASTELLANO REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   708288 MANUEL SANTIAGO CENTENO    RR 1 BOX 2506                                                                                                                          CIDRA             PR         00739

   708289 MANUEL SANTIAGO CONCEPCON PO BOX 1118                                                                                                                             VEGA ALTA         PR         00692‐1118
   708290 MANUEL SANTIAGO CRUZ      P O BOX 954                                                                                                                             COAMO             PR         00769
   295008 MANUEL SANTIAGO FEBRES    REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   708291 MANUEL SANTIAGO GONZALEZ                    42 CALLE BALDORIOTY                                                                                                   CIDRA             PR         00739

   708292 MANUEL SANTIAGO MARRERO                     RES LUIS LLORENS TORRES        EDF 88 APT 1715                                                                        SAN JUAN          PR         00913
   295009 MANUEL SANTIAGO MORALES                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   708293 MANUEL SANTIAGO OTERO                       HC 1 BOX 1922                                                                                                         MOROVIS           PR         00687
   708294 MANUEL SANTIAGO RIVERA                      PO BOX 238                                                                                                            UTUADO            PR         00641
   295010 MANUEL SANTIAGO SOTO                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   708295 MANUEL SANTOS COLON                         PO BOX 23                                                                                                             MOCA              PR         00676
   295011 MANUEL SANTOS JORGE                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                     27 CAMINO DE LOS
   708296 MANUEL SEDA ROMERO                          URB SABANERA DEL RIO           ALGARROBOS                                                                             GURABO            PR         00778‐5204



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  708297 MANUEL SEHUERE SOTO          PO BOX 9100                                                                                                                        SAN JUAN          PR         00908
  295012 MANUEL SEIN FELICIANO        REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  295013 MANUEL SEMPRIT FIGUEROA      REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  708298 MANUEL SERRA FIGUEROA        BARRIO LAVADERO                              1 APT 1444                                                                            HORMIGUEROS       PR         00660
  708300 MANUEL SERRANO ORTIZ         P O BOX 615                                                                                                                        UTUADO            PR         00641
         MANUEL SEVILA ESTELA SUP
  295016 ZONA MATEMATICA              REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         MANUEL SEVILLA ‐ SUP ZONA DE
  295017 MATEMATICA                   REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  708301 MANUEL SIAZ CASTILLO         P O BOX 8072                                                                                                                       CAGUAS            PR         00726
  708302 MANUEL SOLER AVILES          URB FORREST HILLS                            J 12 CALLE 26                                                                         BAYAMON           PR         00959‐5432

   708303 MANUEL SOLER RIOS                            RESIDENCIAL MANUEL A PEREZ EDIF H1 APT 2                                                                          SAN JUAN          PR         00930
   708304 MANUEL SOLIS SOLIS                           BO GUARDARRAYA             HC 764 BOX 8329                                                                        PATILLAS          PR         00723
   295018 MANUEL SOLTERO                               REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   708305 MANUEL SOSA MENDEZ                           PO BOX 2131                                                                                                       ISABELA           PR         00662
                                                       COND SAN MIGUEL TOWERS APT
   708307 MANUEL SOTO BISBAL                           205                                                                                                               MAYAGUEZ          PR         00680
   295019 MANUEL SOTO TIRADO                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   295020 MANUEL SOTO VAZQUEZ                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   295021 MANUEL SOTO VELEZ                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   708309 MANUEL STUART                                P.O. BOX 5265                                                                                                     CAGUAS            PR         00726
   708311 MANUEL SUAREZ MEDINA                         PO BOX 1088                                                                                                       BAJADERO          PR         00616 1088
   295022 MANUEL SUD MENDEZ                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   295023 MANUEL T FRANCO MOLINI                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   708312 MANUEL T HIDALGO VILLODAS                    314 AVE DE DIEGO                                                                                                  SAN JUAN          PR         00909
   708313 MANUEL TARDI GONZALEZ                        BO CAIMITO                  CARR 842 KM 6 3                                                                       SAN JUAN          PR         00926
          MANUEL TAVAREZ DE LOS
   295024 SANTOS                                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   708315 MANUEL TIZOL                                 PO BOX 1427                                                                                                       YABUCOA           PR         00767
   295025 MANUEL TORO VAZQUEZ                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   295026 MANUEL TORRES                                REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   708316 MANUEL TORRES BAEZ                           URB SANTA MONICA Q 1 CALLE 5                                                                                      BAYAMON           PR         00957
   708317 MANUEL TORRES CAMACHO                        HC 09 BOX 2574                                                                                                    SABANA GRANDE     PR         00637
   295027 MANUEL TORRES DELGADO                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   295028 MANUEL TORRES GONZALEZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   708319 MANUEL TORRES HERNANDEZ                      URB LAS COLINAS N 11        CALLE 15                                                                              TOA BAJA          PR         00949
   708321 MANUEL TORRES MACHADO                        HC 1 BOX 4560                                                                                                     BARCELONETA       PR         00617
   708322 MANUEL TORRES MONTALVO                       PO BOX 366                                                                                                        UTUADO            PR         00641
   708323 MANUEL TORRES NAZARIO                        HC 09 BOX 2335                                                                                                    SABANA GRANDE     PR         00637
   295029 MANUEL TORRES ORZA                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   708324 MANUEL TORRES PANIAGUA                       URAYOAN 313 LOS CACIQUES                                                                                          CAROLINA          PR         00987
   708325 MANUEL TORRES PERALTA                        URB CAMINO DEL MONTE        17 PEDREGAL                                                                           GUAYNABO          PR         00971
   708326 MANUEL TORRES PEREZ                          URB SAN JOAQUIN             17 URB SAN JOAQUIN                                                                    ADJUNTAS          PR         00601
   708327 MANUEL TORRES QUILES                         COND GOLDEN TOWERS          APT 706 VISTAMAR                                                                      CAROLINA          PR         00987
   295030 MANUEL TORRES RAMOS                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   295032 MANUEL TORRES RIVERA                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   295033 MANUEL TORRES ROSARIO                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   708330 MANUEL TORRES TOSADO                         URB LAS DELICIAS            603 CALLE RAFAEL MERCADO                                                              RIO PIEDRAS       PR         00924
   708333 MANUEL TOWING                                EXT SAN AGUSTIN             451 CALLE 4                                                                           SAN JUAN          PR         00926



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          MANUEL TOWING / MANUEL
   708334 ORTEGA BURGOS                               LEVITTOWN BOX 50508                                                                                               TOA BAJA            PR           00950
   707550 MANUEL UMPIERRE CATALA                      HC 71 BOX 3182                                                                                                    NARANJITO           PR           00719
   708337 MANUEL URENA DE LEON                        PO BOX 269                                                                                                        BRONX               NY           10455
   708338 MANUEL V CIRCUN QUIROS                      URB LA CUMBRE 497 AVE       EMILIANO POOL STE 611                                                                 SAN JUAN            PR           00926
          MANUEL V GALAN Y/O ALICIA
   708339 GALAN                                       1035 ASHFORD # 704                                                                                                SAN JUAN            PR           00907

   708340 MANUEL V. GONZALEZ QUILES                   HC 1 BOX 3975                                                                                                     UTUADO              PR           00641
   708341 MANUEL VALCARCEL ORTEGA                     PO BOX 730                                                                                                        BOQUERON            PR           00622
   708342 MANUEL VALENTIN BOSQUES                     HC 5 BZN 39581                                                                                                    SAN SEBASTIAN       PR           00685
   295035 MANUEL VALENTIN PEREZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708343 MANUEL VARGAS CARDONA                       URB LOS MAESTROS            793 CALLE JOSE B ACEVEDO                                                              SAN JUAN            PR           00923
   295037 MANUEL VARGAS CORTES                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295038 MANUEL VARGAS FELICIANO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      DEPARTAMENTO DE LA
   708345 MANUEL VARGAS SANTIAGO                      VIVIENDA                    PO BOX 21365                                                                          SAN JUAN            PR           00928‐1365
   708347 MANUEL VARGAS SEPULVEDA                     PO BOX 455                                                                                                        LAJAS               PR           00667
   295039 MANUEL VARGAS VARGAS                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295041 MANUEL VAZQUEZ                              REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708349 MANUEL VAZQUEZ CONCEPCION URB VILLA CAROLINA                            30 2 CALLE 8                                                                          CAROLINA            PR           00985
   708348 MANUEL VAZQUEZ DIAZ       PO BOX 8224                                                                                                                         BAYAMON             PR           00960
   708350 MANUEL VAZQUEZ FONSECA    CIUDAD JARDIN CAROLINA                        72 CALLE GARDENIA                                                                     CAROLINA            PR           00987
   295042 MANUEL VAZQUEZ ORTIZ      REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295044 MANUEL VAZQUEZ SANTIAGO   REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295045 MANUEL VEGA HERNANDEZ     REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295046 MANUEL VEGA RIVERA        REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295047 MANUEL VEGA RODRIGUEZ     REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708352 MANUEL VEGA SANTIAGO      P O B OX 609                                                                                                                        ADJUNTAS            PR           00601

   708353 MANUEL VEGA SERRA                           URB.MANCIONES C‐3 BUZON‐5                                                                                         SABANA GRANDE       PR           00637
   708354 MANUEL VEGA TORRES                          P O BOX 609                                                                                                       ADJUNTAS            PR           00601
   708355 MANUEL VEGA VAZQUEZ                         PO BOX 219                                                                                                        YAUCO               PR           00698
   708356 MANUEL VEGA VELEZ                           URB MONSERRATE              E 11 CALLE 6                                                                          HORMIGUEROS         PR           00660

   708357 MANUEL VELAZQUEZ JIMENEZ                    REPTO METROPOLITANO         1187 CALLE 46 SE                                                                      SAN JUAN            PR           00921
          MANUEL VELAZQUEZ
   295049 PIERANTONI                                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708359 MANUEL VELEZ RODRIGUEZ                      HP ‐ SALA 1 BAJO                                                                                                  RIO PIEDRAS         PR           009360000
   708360 MANUEL VELEZ SANTIAGO                       P O BOX 7036                                                                                                      CAROLINA            PR           00979
   295050 MANUEL VELEZ VELEZ                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   707551 MANUEL VERA CRUZ                            URB LOMAS DE COUNTRY CLUB Y 1 CALLE 19                                                                            PONCE               PR           00730 1459
   708363 MANUEL VERA GARCIA                          ALTURAS DE RIO GRANDE     O 761 CALLE 14                                                                          RIO GRANDE          PR           00745
   295051 MANUEL VERA TORRES                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708364 MANUEL VIA PORTILLA                         URB GOLDEN GATE           124 CALLE RUBI                                                                          GUAYNABO            PR           00968
   295052 MANUEL VIERA ORTIZ                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295053 MANUEL VILLA PRIETO                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295054 MANUEL VILLAFANE CRUZ                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708365 MANUEL VILLAMIL IRIZARRY                    PO BOX 10163                                                                                                      SAN JUAN            PR           00908

   708366 MANUEL VILLANUEVA SANABRIA HC 01 BOX 6420                                                                                                                     JUNCOS              PR           00777



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   708367 MANUEL VILLANUEVA SANTIAGO BOX 1441                                                                                                                         JUANA DIAZ          PR           00795
   295055 MANUEL VILLAPOL ROMERO     REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708368 MANUEL VILLARRUBIA         HC 1 BOX 17410                                                                                                                   CABO ROJO           PR           00623

   295056 MANUEL VILLARUBIA GONZALEZ                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295057 MANUEL VILLEGAS BAEZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295058 MANUEL VINAS SORBA                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295059 MANUEL VIRELLA ROLON                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708371 MANUEL VISBAL                               JARDINES AVILA              20 CALLE 1                                                                          CEIBA               PR           00735

   708372 MANUEL WESTERBAND MILAN                     URB QUINTANA DE GUASIMA     D 7 CALLE T                                                                         ARROYO              PR           00714
   295060 MANUEL Y SANCHEZ                            REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295061 MANUEL Y SANTIAGO RIVERA                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295062 MANUEL YSABEL BRITO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708373 MANUEL Z. RIVERA GUTIERREZ                  P O BOX 142052                                                                                                  ARECIBO             PR           00614
   295063 MANUEL, ESPINAL                             REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295064 MANUELA BATISTIA CORREA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708375 MANUELA BLAS BLAS                           BO BORINQUEN                143 AVE MONTEMAR                                                                    AGUADILLA           PR           00603

   708376 MANUELA CARRION QUINONES                    JARDINES DE PALMAREJO       L 19 CALLE 5                                                                        CANOVANAS           PR           00729
   708377 MANUELA COLLAZO RAMIREZ                     6 RES FALANSTERIO APT F 1                                                                                       SAN JUAN            PR           00901
   295068 MANUELA DE JESUS ROJAS                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295070 MANUELA DIAZ RODRIGUEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708379 MANUELA FALU CLEMENTE                       VILLA FONTANA               4 B N 4 VIA 31                                                                      CAROLINA            PR           00983
   708380 MANUELA FRANCO BARRIOS                      URB JARDINES MONACO II      4 CALLE COLOMBIA                                                                    MANATI              PR           00674
   708384 MANUELA KERCADO FEBRES                      P O BOX 7428                                                                                                    SAN JUAN            PR           00916
                                                      COM MATA DE PLATANO
   708385 MANUELA LOPEZ FLORES                        PARCELA B 35                                                                                                    LUQUILLO            PR           00773
   708386 MANUELA LOPEZ TORRES                        BOX 3765                                                                                                        CIDRA               PR           00739
   295071 MANUELA M VELEZ LARA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MANUELA MALDONADO
   708387 FIGUEROA                                    P O BOX 362                                                                                                     TRUJILLO ALTO       PR           00978
          MANUELA MARISEL FRECHEL
   295072 FERNANDEZ                                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708389 MANUELA MARTINEZ MILLAN                     URB JARDINES DE CAPARRA     K 9 CALLE 1                                                                         BAYAMON             PR           00959‐7832

   708390 MANUELA MARTINEZ MORALES                    P O BOX 225                                                                                                     MANATI              PR           00674
   708391 MANUELA MARTINEZ PEPIN                      9 URB VEVE CALZADA                                                                                              FAJARDO             PR           00738
   708374 MANUELA MEJIAS MORALES                      HC 8 BOX 348                                                                                                    PONCE               PR           00731
   708392 MANUELA MORAES                              R AIMBERE 1871 APTO 302                                                                                         SUMAREZINO          SP           01258020
   708393 MANUELA NOGUERAS CRUZ                       P O BOX 7842                                                                                                    LUQUILLO            PR           00773
   295074 MANUELA ORTIZ RIVERA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708394 MANUELA PEREZ CEPEDA                        PARCELA LA PONDEROSA        507 CALLE GIRASOL                                                                   RIO GRANDE          PR           00745
   295075 MANUELA PEREZ RODRIGUEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295076 MANUELA RAMOS FIGUEROA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295077 MANUELA RAMOS GONZALEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708396 MANUELA RIVERA FERNANDEZ                    P O BOX 55                                                                                                      TOA BAJA            PR           00951
                                                                                  CALLE KERCADO FINAL
   708397 MANUELA RIVERA KERCADO                      BO SAN ANTON                CARRETERA VIEJA                                                                     CAROLINA            PR           00987
   708398 MANUELA RIVERA PEREIRA                      COUNTRY CLUB                933 CALLE LINACERO                                                                  SAN JUAN            PR           00924



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  708399 MANUELA RIVERA ROBLES                        RES LAGOS DE BLASINA        EDIF 3 APT 41                                                                          CAROLINA          PR         00985
  295078 MANUELA RIVERA TABUERA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  708400 MANUELA ROMAN RIVERA                         VICTOR ROJAS 2              CALLE 12 CASA 58                                                                       ARECIBO           PR         00612
  708401 MANUELA ROSA NIEVES                          BDA SAN ANTONIO BOX 292                                                                                            NARANJITO         PR         00719
  708402 MANUELA SANCHEZ BODEN                        RES SAN MARTIN              EDIF 21 APT 249                                                                        SAN JUAN          PR         00920

   708403 MANUELA SANTIAGO LATIMER                    PROY 215 LAS MARGARITAS     EDIF 36 APT 346                                                                        SAN JUAN          PR         00915

   295079 MANUELA SANTIAGO MARQUEZ REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MANUELA SOTOMAYOR
   295080 VAZQUEZ                  REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   708406 MANUELA TORRES OCASIO    HC 2 BOX 6680                                                                                                                         BAJADERO          PR         00616
   708408 MANUELA VILLANUEZ NIEVES VEGA BAJA LAKES M 59                           CALLE 12                                                                               VEGA BAJA         PR         00693
          MANUELITA ALAMO DE
   295081 HERNANDEZ                REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   295082 MANUELITA MUNOZ RIVERA   REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   708410 MANUELITA RIVERA NATAL   HC 01 BOX 2635                                                                                                                        BAJADERO          PR         00616
   708411 MANUEL'S AUTO REPAIR     URB ROSA MARIA                                 D 4 CALLE 3                                                                            CAROLINA          PR         00985
          MANUFACTURING TECHNOLOGY
   708412 SERVICES                 VILLA BLANCA                                   100 CALE AQUAMARINA                                                                    CAGUAS            PR         00725
          MANZANA THE PAMPERING
   295086 STUDIO I                 PO BOX 9022753                                                                                                                        SAN JUAN          PR         00902‐2753
   708413 MANZANO LOPEZ JORGE L.   108 CALLE TAPIA                                                                                                                       SANTURCE          PR         00911

   295130 MANZANO MOJICA PSYD, JOEL                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   295148 MANZANO RIVERA MD, MARYLIA REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   708414 MAO AN ZHOU                COND TORRE ALTA                              274 CALLE URUGUAY APT 906                                                              SAN JUAN          PR         00917‐2019
   708415 MAOF SIGN                  104 AVE DE DIEGO                                                                                                                    SAN JUAN          PR         00907

   295179 MAOF SIGNS & LETTER CENTER                  P O BOX 40291               MINILLAS STA                                                                           SAN JUAN          PR         00940‐0000
          MAOF SIGNS & LETTER CENTER
   295181 INC                                         1410 AVE FERNANDEZ JUNCOS                                                                                          SAN JUAN          PR         00909

   708417 MAOI SIGNS & LETTER CENTER                  1410 AVE FERNANDEZ JUNCOS                                                                                          SAN JUAN          PR         00909
   708418 MAOS REALTY                                 P O BOX 370843                                                                                                     CAYEY             PR         00737
          MAP CORPORATE
   708419 COMMUNICATIONS INC                          URB VISTA AZUL              D 13 CALLE 2                                                                           ARECIBO           PR         00612
   708420 MAPA DEVELOPMENT CORP                       305 CALLE DE DIEGO                                                                                                 SAN JUAN          PR         00923
   708421 MAPCO                                       73 CENTER ST                                                                                                       WEST MILFORD      NJ         07480
          MAPE PRODUCCIONES
   708422 EDUCATIVAS                                  PO BOX 8317                                                                                                        SAN JUAN          PR         00917
  1420321 MAPEI CARIBE INC                            CARLOS A. RODRÍGUEZ VIDAL   APDO. POSTAL 70364                                                                     SAN JUAN          PR         00936‐8364

   295184 MAPES INSURANCE AGENCY INC 2032 LAKE MICHIGAN                                                                                                                  GRAND RAPIDS      MI         49504
   295187 MAPFRE                     PO BOX 609                                                                                                                          AGUADA            PR         00602
          MAPFRE INSURANCE AGENCY OF
   295190 P R                        PO BOX 70333                                                                                                                        SAN JUAN          PR         00936‐8333
   295191 MAPFRE LIFE                PO BOX 70333                                                                                                                        SAN JUAN          PR         00936‐8333
   295193 MAPFRE LIFE INSURANCE CO.  P.O. BOX 70297                                                                                                                      SAN JUAN          PR         00936‐8297
          MAPFRE LIFE INSURANCE
   295194 COMPANY                    PO BOX 70297                                                                                                                        SAN JUAN          PR         00936‐8297




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          MAPFRE LIFE INSURANCE
   295195 COMPANY OF PR                               AREA DEL TESORO             DIV DE RECLAMACIONES                                                         SAN JUAN            PR           00902‐4140

  1420329 MAPFRE PRAICO CORPORATION ALEXIS ACEVEDO COLON                          PO BOX 1376                                                                  GUAYNABO            PR           00970

  1420330 MAPFRE PRAICO CORPORATION ALEXIS ACEVEDO COLON                          PO BOX 1376                                                                  GUAYNABO            PR           00970

  1420322 MAPFRE PRAICO CORPORATION MARIA RODRIGUEZ MIRANDA                       PO BOX 365072                                                                SAN JUAN            PR           00936‐5072

  1420323 MAPFRE PRAICO CORPORATION LUIS RIVERA MARTÍNEZ                          RR 17 BOX 11358                                                              SAN JUAN            PR           00926‐9499

  1420324 MAPFRE PRAICO CORPORATION MARIA C. RODRIGUEZ MIRANDA PO BOX 365072                                                                                   SAN JUAN            PR           00936‐5072

  1420325 MAPFRE PRAICO CORPORATION MARIA C. RODRIGUEZ MIRANDA PO BOX 365072                                                                                   SAN JUAN            PR           00936‐5072

  1420326 MAPFRE PRAICO CORPORATION MARIA C. RODRIGUEZ MIRANDA PO BOX 365072                                                                                   SAN JUAN            PR           00936‐5072

  1420327 MAPFRE PRAICO CORPORATION MARIA C. RODRIGUEZ MIRANDA PO BOX 365072                                                                                   SAN JUAN            PR           00936‐5072

  1420328 MAPFRE PRAICO CORPORATION MARIA C. RODRIGUEZ MIRANDA PO BOX 365072                                                                                   SAN JUAN            PR           00936‐5072

  1420331 MAPFRE PRAICO CORPORATION MARIA C. RODRIGUEZ MIRANDA PO BOX 365072                                                                                   SAN JUAN            PR           00936‐5072

  1420332 MAPFRE PRAICO CORPORATION LUIS RIVERA MARTINEZ                          RR 17 BOX 11358                                                              SAN JUAN            PR           00926‐9499

          MAPFRE PRAICO CORPORATION
          COOPERATIVA DE AHORRO Y
  1420333 CREDITO JESUS OBRERO                        LUIS RIVERA MARTÍNEZ        RR 17 BOX 11358                                                              SAN JUAN            PR           00926
          MAPFRE PRAICO CORPORATION
          Y BANCO BILBAO VIZCAYA
  1420334 ARGENTARIA                                  MARIA C. RODRIGUEZ MIRANDA PO BOX 365072                                                                 SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION
          Y BANCO BILBAO VIZCAYA
  1420335 ARGENTARIA                                  MARIA C. RODRIGUEZ MIRANDA PO BOX 365072                                                                 SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION
          Y BANCO BILBAO VIZCAYA                                                 PO BOX 365072 268 AVE. PONCE
  1420336 ARGENTARIA                                  MARIA C. RODRIGUEZ MIRANDA DE LEÓN                                                                       SAN JUAN            PR           00936‐5072

          MAPFRE PRAICO CORPORATION
          Y BANCO BILBAO VIZCAYA
          ARGENTARIA Y CARATINI COLON,
          JOSE ROBERTO Y CARATINI
  1420337 SANCHEZ, ROBERTO JOSE        CÁNDIDO CORDERO PUEYO                      P.P. BOX 201                                                                 ARROYO              PR           00714

          MAPFRE PRAICO CORPORATION
          Y BANCO BILBAO VIZCAYA
          ARGENTARIA Y CARATINI COLON,
          JOSE ROBERTO Y CARATINI
  1420338 SANCHEZ, ROBERTO JOSE        CÁNDIDO CORDERO PUEYO                      P.P. BOX 201                                                                 ARROYO              PR           00714

          MAPFRE PRAICO CORPORATION
          Y BANCO BILBOA VIZCAYA Y
  1420339 ORIENTAL BANK             LUIS RIVERA MARTÍNEZ                          R.R. 17 BOX 11358                                                            SAN JUAN            PR           00926‐9499



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          MAPFRE PRAICO CORPORATION
          Y BANSANDER LEASING
  1420340 CORPORATION                                 LUIS RIVERA MARTÍNEZ      RR 17 BOX 11358                                                           SAN JUAN            PR           00926‐9499
          MAPFRE PRAICO CORPORATION
  1420341 Y BBVA                                      LUIS RIVERA MARTINEZ      RR 17 BOX 11358                                                           SAN JUAN            PR           00926‐9499
          MAPFRE PRAICO CORPORATION
          Y CASANOVA RIVERA, TERESA                                             SOCIEDAD PARA ASISTENCIA
  1420342 DEL ROSARIO                                 ALEJANDRO SANFELIÚ VERA   LEGAL APARTADO 907                                                        BAYAMÓN             PR           00960
          MAPFRE PRAICO CORPORATION
          Y CASANOVA RIVERA, TERESA                                             SOCIEDAD PARA ASISTENCIA
  1420343 DEL ROSARIO                                 ALEJANDRO SANFELIÚ VERA   LEGAL APARTADO 907                                                        BAYAMÓN             PR           00960

          MAPFRE PRAICO CORPORATION
          Y COOPERATIVA AHORRO Y
  1420344 CRÉITO ARECIBO            MARIA C. RODRIGUEZ MIRANDA PO BOX 365072                                                                              SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION
  1420345 Y FIRST BANK              LUIS RIVERA MARTÍNEZ       RR 17 BOX 11358                                                                            SAN JUAN            PR           00926‐9499
          MAPFRE PRAICO CORPORATION
  1420346 Y FIRST BANK              LUIS RIVERA MARTINEZ       RR 17 BOX 11358                                                                            SAN JUAN            PR           00926‐9499

          MAPFRE PRAICO CORPORATION
  1420347 Y FIRST BANK P.R.         MARIA C. RODRIGUEZ MIRANDA PO BOX 365072                                                                              SAN JUAN            PR           00936‐5072

          MAPFRE PRAICO CORPORATION
  1420348 Y FIRST BANK PR           MARIA C. RODRIGUEZ MIRANDA PO BOX 365072                                                                              SAN JUAN            PR           00936‐5072

          MAPFRE PRAICO CORPORATION
  1420349 Y ORIENTAL BANK           MARIA C. RODRIGUEZ MIRANDA PO BOX 365072                                                                              SAN JUAN            PR           00936‐5072

          MAPFRE PRAICO CORPORATION
  1420353 Y ORIENTAL BANK AND TRUST LUIS RIVERA MARTÍNEZ                        RR 17 BOX 11358                                                           SAN JUAN            PR           00926‐9499

          MAPFRE PRAICO CORPORATION
  1420354 Y ORIENTAL BANK AND TRUST MARIA C. RODRIGUEZ MIRANDA PO BOX 365072                                                                              SAN JUAN            PR           00936‐5072

          MAPFRE PRAICO CORPORATION
  1420355 Y ORIENTAL BANK AND TRUST MARIA C. RODRIGUEZ MIRANDA PO BOX 365072                                                                              SAN JUAN            PR           00936‐5072

          MAPFRE PRAICO CORPORATION
  1420350 Y ORIENTAL BANK AND TRUST MARIA C. RODRIGUEZ MIRANDA PO BOX 365072                                                                              SAN JUAN            PR           00936‐5072

          MAPFRE PRAICO CORPORATION
  1420351 Y ORIENTAL BANK AND TRUST MARIA C. RODRIGUEZ MIRANDA PO BOX 365072                                                                              SAN JUAN            PR           00936‐5072

          MAPFRE PRAICO CORPORATION
  1420352 Y ORIENTAL BANK AND TRUST MARIA C. RODRIGUEZ MIRANDA PO BOX 365072                                                                              SAN JUAN            PR           00936‐5072

          MAPFRE PRAICO CORPORATION
  1420356 Y POPULAR AUTO            MARIA C. RODRIGUEZ MIRANDA PO BOX 365072                                                                              SAN JUAN            PR           00936‐5072




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          MAPFRE PRAICO CORPORATION
          Y POPULAR AUTO Y APONTE
          FELIX, MARIA LUISA Y RUIZ
  1420357 APONTE, EDWARD            LUIS RIVERA MARTINEZ               RR 17 BOX 11358                                                               SAN JUAN            PR           00926‐9499

          MAPFRE PRAICO CORPORATION
  1420358 Y POPULAR AUTO, INC.      MARIA C. RODRIGUEZ MIRANDA PO BOX 365072                                                                         SAN JUAN            PR           00936‐5072

          MAPFRE PRAICO CORPORATION
  1420359 Y POPULAR AUTO, INC.      LUIS RIVERA MARTÍNEZ               RR17 BOX 11358                                                                SAN JUAN            PR           00926‐9499

          MAPFRE PRAICO CORPORATION
  1420360 Y POPULAR AUTO, INC..     MARIA C. RODRIGUEZ MIRANDA PO BOX 365072                                                                         SAN JUAN            PR           00936‐5072

          MAPFRE PRAICO CORPORATION
  1420361 Y POPULAR AUTO, INC..     MARIA C. RODRIGUEZ MIRANDA PO BOX 365072                                                                         SAN JUAN            PR           00936‐5072

          MAPFRE PRAICO CORPORATION
          Y PRAICO INSURANCE COMPANY,                                                                AMERICAN AIRLINE BUILDING
  1422442 ET. ALS.                    KEILA ORTEGA CASALS              1509 CALLE LOPEZ LANDRON      SUITE 1200                                      SAN JUAN            PR           00911

          MAPFRE PRAICO CORPORATION
  1420362 Y QUIÑONES, MIGUEL        LUIS RIVERA MARTÍNEZ               R.R. 17 BOX 11358                                                             SAN JUAN            PR           00926‐9499

          MAPFRE PRAICO CORPORATION
  1420363 Y QUIÑONES, MIGUEL        LUIS RIVERA MARTÍNEZ               R.R. 17 BOX 11358                                                             SAN JUAN            PR           00926‐9499

          MAPFRE PRAICO CORPORATION                                    PO BOX 8051 URB. REPARTO
  1420364 Y RAMIREZ LOPEZ, JESUS    PABLO LUGO LEBRON                  MENDOZA A‐1                                                                   HUMACAO             PR           00792

          MAPFRE PRAICO CORPORATION                                    PO BOX 8051 URB. REPARTO
  1420365 Y RAMIREZ LOPEZ, JESUS    PABLO LUGO LEBRON                  MENDOZA A‐1                                                                   HUMACAO             PR           00792

          MAPFRE PRAICO CORPORATION
  1420366 Y RELIABLE FINACIAL SERVICES LUIS RIVERA MARTÍNEZ            R.R. 17 BOX 11358                                                             SAN JUAN            PR           00926‐9499

          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICE,
  1420367 INC. Y RIVERA MARTÍNEZ, ELSA AXEL VIZCARRA PELLOT            AVE. ISLA VERDE 5900 L2/362                                                   CAROLINA            PR           00979

          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICE,
  1420368 INC. Y RIVERA MARTÍNEZ, ELSA AXEL VIZCARRA PELLOT            AVE. ISLA VERDE 5900 L2/362                                                   CAROLINA            PR           00979
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420382 INC.                           LUIS RIVERA MARTÍNEZ          R.R. 66 BOX 11358                                                             SAN JUAN            PR           00926
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420394 INC.                           LUIS RIVERA MARTÍNEZ          RR 17 BOX 11358                                                               SAN JUAN            PR           00926
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420399 INC.                           LUIS RIVERA MARTINEZ          RR6 BOX 11358                                                                 SAN JUAN            PR           00926



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          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420400 INC.                           LUIS R. RIVERA MARTÍNEZ      RR6 BOX 11358                                                       SAN JUAN            PR           00926
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420369 INC.                           MARIA C. RODRIGUEZ MIRANDA   PO BOX 365072                                                       SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420370 INC.                           MARIA C. RODRIGUEZ MIRANDA   PO BOX 365072                                                       SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420371 INC.                           MARIA C. RODRIGUEZ MIRANDA   PO BOX 365072                                                       SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420372 INC.                           LUIS RIVERA MARTÍNEZ         RR 17 BOX 11358                                                     SAN JUAN            PR           00926‐9499
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420373 INC.                           LUIS RIVERA MARTÍNEZ         RR 17 BOX 11358                                                     SAN JUAN            PR           00926‐9499
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420374 INC.                           LUIS RIVERA MARTÍNEZ         RR 17 BOX 11358                                                     SAN JUAN            PR           00926‐9499
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420375 INC.                           MARIA C. RODRIGUEZ MIRANDA   PO BOX 365072                                                       SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420376 INC.                           MARIA C. RODRIGUEZ MIRANDA   PO BOX 365072                                                       SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420377 INC.                           MARIA C. RODRIGUEZ MIRANDA   PO BOX 365072                                                       SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420378 INC.                           MARIA C. RODRIGUEZ MIRANDA   PO BOX 365072                                                       SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420379 INC.                           LUIS RIVERA MARTÍNEZ         RR 17 BOX 11358                                                     SAN JUAN            PR           00926‐9499
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420380 INC.                           MARIA C. RODRIGUEZ MIRANDA   PO BOX 365072                                                       SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420381 INC.                           LUIS RIVERA MARTÍNEZ         RR 17 BOX 11358                                                     SAN JUAN            PR           00926‐9499
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420383 INC.                           LUIS RIVERA MARTÍNEZ         RR 17 BOX 11358                                                     SAN JUAN            PR           00926‐9499
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420384 INC.                           MARIA C. RODRIGUEZ MIRANDA   PO BOX 365072                                                       SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420385 INC.                           MARIA C. RODRIGUEZ MIRANDA   PO BOX 365072                                                       SAN JUAN            PR           00936‐5072




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          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420386 INC.                           MARIA C. RODRIGUEZ MIRANDA   PO BOX 365072                                                             SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420387 INC.                           MARIA C. RODRIGUEZ MIRANDA   PO BOX 365072                                                             SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420388 INC.                           MARIA C. RODRIGUEZ MIRANDA   PO BOX 365072                                                             SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420389 INC.                           MARIA C. RODRIGUEZ MIRANDA   PO BOX 365072                                                             SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420390 INC.                           LUIS RIVERA MARTÍNEZ         RR 17 BOX 11358                                                           SAN JUAN            PR           00926‐9499
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420391 INC.                           MARIA C. RODRIGUEZ MIRANDA   PO BOX 365072                                                             SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420392 INC.                           LUIS RIVERA MARTÍNEZ         RR 17 BOX 11358                                                           SAN JUAN            PR           00926‐9499
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420393 INC.                           MARIA C. RODRIGUEZ MIRANDA   PO BOX 365072                                                             SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420395 INC.                           MARIA C. RODRIGUEZ MIRANDA   PO BOX 365072                                                             SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420396 INC.                           MARIA C. RODRIGUEZ MIRANDA   PO BOX 365072                                                             SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420397 INC.                           MARIA RODRIGUEZ MIRANDA      PO BOX 365072                                                             SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420398 INC.                           LUIS RIVERA MARTÍNEZ         RR17 BOX 11358                                                            SAN JUAN            PR           00926‐9499

          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420401 INC. Y AIDA GARCIA ORTIZ       MIGUEL PEREZ BURGOS          APARTADO 1062                                                             GUAYAMA             PR           00785

          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420402 INC. Y AIDA GARCIA ORTIZ       MIGUEL PEREZ BURGOS          APARTADO 1062                                                             GUAYAMA             PR           00785

          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
          INC. Y CONCEPCIÓN MEDINA,      MARIA CELESTE RODRIGUEZ
  1420403 ZUEHEILY                       MIRANDA                      PO BOX 365072                                                             SAN JUAN            PR           00936‐5072

          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,                              610 AVE. DE DIEGO PUERTO
  1420404 INC. Y NOEL ROSADO VARGAS      DANIEL CACHO SERRANO         NUEVO                                                                     SAN JUAN            PR           00920



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          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,                               610 AVE. DE DIEGO PUERTO
  1420405 INC. Y NOEL ROSADO VARGAS      DANIEL CACHO SERRANO          NUEVO                                                                     SAN JUAN            PR           00920

          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
          INC. Y RODRÍGUEZ ORTIZ, JORGE
  1420406 LUIS                           MARÍA C. RODRÍGUEZ MIRANDA PO BOX 365072                                                                SAN JUAN            PR           00936‐5072

          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420407 INC. Y ROSARIO PEREZ, ELLIOT E. LUIS RIVERA MARTINEZ         RR 17 BOX 11358                                                           SAN JUAN            PR           00926‐9499

          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
  1420408 INC., ET. ALS.                 LILIANA RODRÍGUEZ RIVERA      PO BOX 21382                                                              SAN JUAN            PR           00928‐1382

          MAPFRE PRAICO CORPORATION
          Y RELIABLE FINANCIAL SERVICES,
          INC., Y SANCHEZ SANCHEZ,       MARIA CELESTE RODRIGUEZ
  1420409 MARIA DEL C.                   MIRANDA                       PO BOX 365072                                                             SAN JUAN            PR           00936‐5072

          MAPFRE PRAICO CORPORATION
  1420410 Y SCOTIABANK DE PR        MARIA C. RODRIGUEZ MIRANDA PO BOX 365072                                                                     SAN JUAN            PR           00936‐5072

          MAPFRE PRAICO CORPORATION
          Y SCOTIABANK DE PR Y AYALA
  1420411 CANCEL, JEAN PIERRE ALEXIS ARAMIL GARCIA FUENTES             PO BOX 29693                                                              SAN JUAN            PR           00929‐0693

          MAPFRE PRAICO CORPORATION
          Y SCOTIABANK DE PR Y AYALA
  1420412 CANCEL, JEAN PIERRE ALEXIS ARAMIL GARCIA FUENTES             PO BOX 29693                                                              SAN JUAN            PR           00929‐0693

          MAPFRE PRAICO CORPORATION
  1420413 Y VARGA LAZU, YADHIRA     LUIS F. MANGUAL ACEVEDO            CALLE 7 ‐3 EL MIRADOR                                                     SAN JUAN            PR           00926

          MAPFRE PRAICO CORPORATION
  1420414 Y VARGA LAZU, YADHIRA      LUIS F. MANGUAL ACEVEDO           CALLE 7 ‐3 EL MIRADOR                                                     SAN JUAN            PR           00926
          MAPFRE PRAICO CORPORATION,
  1420417 ET. ALS.                   LUIS RIVERA MARTÍNEZ              RR 17 BOX 11358                                                           SAN JUAN            PR           00926
          MAPFRE PRAICO CORPORATION,
  1420415 ET. ALS.                   JORGE GORDON PUJOLS               PO BOX 193964                                                             SAN JUAN            PR           00919‐3964
          MAPFRE PRAICO CORPORATION,
  1420416 ET. ALS.                   MARIA C. RODRIGUEZ MIRANDA        PO BOX 365072                                                             SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION,
  1420418 ET. ALS.                   MARIA C. RODRIGUEZ MIRANDA        PO BOX 365072                                                             SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION,
  1420419 ET. ALS.                   MARIA C. RODRIGUEZ MIRANDA        PO BOX 365072                                                             SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION,
  1420420 ET. ALS.                   MARIA C. RODRIGUEZ MIRANDA        PO BOX 365072                                                             SAN JUAN            PR           00936‐5072
          MAPFRE PRAICO CORPORATION,
  1420421 ET. ALS.                   MARIA C. RODRIGUEZ MIRANDA        PO BOX 365072                                                             SAN JUAN            PR           00936‐5072



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          MAPFRE PUERTO RICAN
   708424 AMERICAN INS CO                             BUFETE CATALA MORALES     PO BOX 70244                                                                        SAN JUAN            PR           00936‐8244
   295276 Mapfre Puerto Rico                          Po Box 70333                                                                                                  San Juan            PR           00936
   708428 MAPLE GAE ANESTHESIA                        P O BOX 687                                                                                                   BUFALO              NY           14240

   708429 MAQUINARIA CAFETALERA INC.                  PO BOX 1269                                                                                                   BAYAMON             PR           00960
   708430 MAR AMOR RECREACION                         PO BOX 9023207                                                                                                SAN JUAN            PR           00902‐3207
          MAR AMOR Y RECREACION INC
   708432 /ISABEL GANDIA                              LA MARINA                 114 CALLE COSME ARANA                                                               HATILLO             PR           00659
   295290 MAR CAMPESTRE DE PR INC                     PO BOX 910                                                                                                    QUEBRADILLAS        PR           00678
          MAR CARIBE TRAINING
   295291 CENTER/DBA EMMAS                            BEAUTY ACADEMY            101 CARR 592                                                                        JUANA DIAZ          PR           00795
                                                      4NN VIA GEORGIA VILLA
   295292 MAR CREATING SOLUTION                       FONTANA                                                                                                       CAROLINA            PR           00987

          MAR EQUESTRIAN
   295293 DEVELOPMENT FUNDATION INC 295 PALMAS INN WAY                          PMB 327                                                                             HUMACAO             PR           00791
          MAR GONZALEZ VIVES MD,
   295294 MARIA DEL                 REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MAR LAND INDUSTRIAL
   708434 CONTRACTOR INC            FIRM DELIVERY                                                                                                                   PENUELAS            PR           00624

   295295 MARA A BETANCOURT SERGES                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295296 MARA A PADILLA CANCEL                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708435 MARA A ROBLEDO ARCOS                        PO BOX 5565                                                                                                   CAGUAS              PR           00726‐5565
   708436 MARA ASTACIO ALMODOVAR                      URB JUAN MENDOZA          36 CALLE 2                                                                          NAGUABO             PR           00718‐2105

   708437 MARA C FERNANDEZ MELENDEZ BOX 2053                                                                                                                        CIDRA               PR           00739
   295297 MARA D. CRUZ LOPEZ        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARA DEL R TRAVIESO
   295298 GONZALEZ                  REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708439 MARA E RAMIREZ RODRIGUEZ                    URB FLORAL PARK           51 CALLE RUIZ BELVIS                                                                SAN JUAN            PR           00917
   708440 MARA E REYES ALFONSO                        URB ALBORADA              B 11 CALLE ADRIANA                                                                  SAN JUAN            PR           00926
   708442 MARA FOUNDATIONS INC                        HC 2 BOX 12006                                                                                                GURABO              PR           00778
   295264 MARA GONZALEZ RAMIREZ                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295299 MARA HERNANDEZ FESHOLD                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295300 MARA HERNANDEZ GARCIA                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295302 MARA I RIVERA MIRANDA                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295304 MARA I ROSARIO QUINONES                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708443 MARA ISEL TORRES GONZALEZ                   PO BOX 9021112                                                                                                SAN JUAN            PR           00902‐1112
   708444 MARA J TORRES                               BOX 737                                                                                                       COAMOS              PR           00769
   295306 MARA L TORRES PABON                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295307 MARA L VALLE ROSAS                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      COND MONSERRATE TOWER 1
   708445 MARA LIZ SANCHEZ GONZALEZ                   APT 809                                                                                                       CAROLINA            PR           00983
   295308 MARA M GONZALEZ REYES                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295309 MARA M. MATEO ORTIZ                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708447 MARA MARA FILMS INC                         202 A SAN JUSTO           213 VIEJO SAN JUAN                                                                  SAN JUAN            PR           00901

   295310 MARA MARTINEZ ALMODOVAR                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295312 MARA OROZCO TORRES                          REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  295313 MARA PALACIOS ROMAN                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  708448 MARA RIVERA CARDEC                           HC 02 BOX 17372                                                                                                 ARECIBO             PR         00612

   295314 MARA SALDANA MALDONADO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARA SOFIA MARTINEZ / MARA
   295315 SANTORI                                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARA SOFIA MARTINEZ A/C
   295316 HIRAM MARTINEZ                              REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   295317 MARA TAVERAS PONCE                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   295319 MARA VIDA RIVERA                            REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   295320 MARA Y MOLINA FELICIANO                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   295321 MARA Y ROSA COLON                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   708450 MARA Y VELAZQUEZ BERMUDEZ 31 D EXT VILLA NAVARRO                                                                                                            MAUNABO             PR         00707
   295322 MARA ZOE FELICIANO RIVERA REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   295324 MARA. A. PALLENS FELICIANDO                 REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   295325 MARABELIZ COMAS PADILLA                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   295328 MARADIALI FLORES ALICEA                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   708451 MARAH ZOE CRUZ ALONSO     SEXTA SECCION VILLA CAROLINA 28 BLQ 242 CALLE 613                                                                                 CAROLINA            PR         00985
   708453 MARAIDA MARTINEZ NIEVES   HC 1 BOX 7792                                                                                                                     HATILLO             PR         00659
                                    URB TERRAZAS DE SAN
   708454 MARAIMA CARRASQUILLO SOTO FRANCISCO                    APT C5                                                                                               VIEQUEZ             PR         00765
   708455 MARAL CONSTRUCTION CORP   PO BOX 1402                                                                                                                       MANATI              PR         00674‐1402

   295331 MARALEXIS RIVERA RODRIGUEZ                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   708457 MARALIS DIAZ CLAUDIO                        URGB JARDINES DE RIO GRANDE   B N 286 CALLE 64                                                                  RIO GRANDE          PR         00745
   295332 MARALIS REYES MATIAS                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   295333 MARALIZ GARCIA CABAN                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708459 MARALIZ RIVERA GUTIERREZ                    VILLA CAROLINA                195‐33 CALLE 517                                                                  CAROLINA            PR         00985
   295334 MARALIZ RIVERA ORTIZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708460 MARALYN CORTEZ ROMAN                        RR 03 PO BOX 3775                                                                                               SAN JUAN            PR         00926
   295336 MARALYS RAMIREZ COSME                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   708461 MARAM Y BEAUCHAMP TORRES                    A 3 URB SAN JUAN BAUTISTA                                                                                       MARICAO             PR         00606
          MARAM YELY RIVERA
   708462 RODRIGUEZ                                   HC 01 BOX 7830                                                                                                  TOA BAJA            PR         00949
   295338 MARANAO                                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708464 MARANATHA CATERING                          HC 05 BOX 55039                                                                                                 HATILLO             PR         00659
          MARANATHA CIVIL EMERG LIFE
   295339 SUPPORT GROUP                               PO BOX 8735                                                                                                     HUMACAO             PR         00792
          MARANATHA CIVIL EMERG. LIFE
   295340 SUPPORT                                     P.O. BOX 8735                                                                                                   HUMACAO             PR         00792
   708465 MARANATHA PRINT                             654 AVE ROBERTO H TODD                                                                                          SAN JUAN            PR         00907
   708466 MARANATHANHOY                               PO BOX 1352                                                                                                     DORADO              PR         00646‐1352
   708467 MARANELLO INC                               PO BOX 191937                                                                                                   SAN JUAN            PR         00919‐1937

   708468 MARANGEL CLEMENTE LOPEZ                     URB ALTURAS DE RIO GRANDE     N 692 CALLE 13 A                                                                  RIO GRANDE          PR         00745
   708469 MARANGELEE RODRIGUEZ                        PO BOX 769                                                                                                      ROSARIO             PR         00636
   295341 MARANGELEE SANTOS ORTIZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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          MARANGELI BORRERO
   708470 MONTERO                                     P O BOX 1852                                                                                                UTUADO              PR           00641
   708472 MARANGELI CRUZ SERRANO                      PMB 275 P O BOX 144035                                                                                      ARECIBO             PR           00615
   295342 MARANGELI LOPEZ ARCE                        REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295343 MARANGELI LUGO SEIN                         REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708473 MARANGELI MARRERO ROSADO PUERTO NUEVO                                1379 CALLE 8 NO                                                                    SAN JUAN            PR           00920
   708474 MARANGELI MEDINA         HC 4 BOX 48981                                                                                                                 CAGUAS              PR           00725

   295344 MARANGELI ORTEGA HEREDIA                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708475 MARANGELI ORTIZ PADILLA                     BDA BELGICA              6041 CALLE BOLIBIA                                                                 PONCE               PR           00717‐1715
   708476 MARANGELI PADILLA                           HC 2 BOX 12069                                                                                              YAUCO               PR           00698
   708477 MARANGELI PEREZ LUNA                        P O BOX 39                                                                                                  QUEBRADILLAS        PR           00678
   295345 MARANGELI RIVERA CRUZ                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295347 MARANGELI ROSADO NIN                        REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARANGELI VALENTIN
   295348 SANTIAGO                                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARANGELIC ARROYO
   708478 GONZALEZ                                    PO BOX 10007 SUITE 299                                                                                      GUAYAMA             PR           00785

   295349 MARANGELIE COLON CALDERON REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARANGELIE GALARZA
   295351 FELICIANO                 REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295352 MARANGELIE MOLINA ORTIZ   REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295353 MARANGELIE RIVERA ORTEGA  REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARANGELIE RODRIGUEZ
   295354 HERNANDEZ                 REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708479 MARANGELIE SUAREZ FIGUEROA BO VENEZUELA                              1263 CALLE BRAUMBAUGH                                                              SAN JUAN            PR           00926
   295355 MARANGELIS ORTIZ ACEVEDO   REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295356 MARANGELIS ORTIZ MATOS     REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   295357 MARANGELIS RIVERA MORALES                   REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   295358 MARANGELIS SANTANA BURGOS REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295359 MARANGELIS TORO ORTIZ     REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARANGELIS VILLANUEVA
   295360 MULERO                    REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARANGELIZ GONZALEZ
   295361 GONZALEZ                  REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295362 MARANGELIZ PAGAN AYALA    REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708481 MARANGELLIE SIERRA AVILES P O BOX 1477                                                                                                                  SANTA ISABEL        PR           00757

   295363 MARANGELLY COLON CORREA                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708482 MARANGELLY DELGADO                          HC 03 BOX 15410                                                                                             JUANA DIAZ          PR           00795

   708483 MARANGELLY GARCIA MORALES                   URB SANTA TERESITA       BD 11 CALLE 20                                                                     PONCE               PR           00731
   295364 MARANGELLY RIVERA ORTIZ                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARANGELLY RODRIGUEZ
   295365 MALPICA                                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295366 MARANGELLY ROJAS PEREZ                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   295368 MARANGELY ACOSTA BLANCO                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  708486 MARANGELY AGRON AGRON                        HC 2 BOX 8822                                                                                           RINCON              PR         00677
  295369 MARANGELY APONTE RIVERA                      REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MARANGELY CARRASQUILLO
  708487 RIVERA                                       PMB 12 PO BOX 2510                                                                                      TRUJILLO ALTO       PR         00976
  295370 MARANGELY COLLAZO VEGA                       REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  708488 MARANGELY COLON FUENTES                      JARD DEL CARIBE      102 CALLE 4                                                                        PONCE               PR         00731
  295372 MARANGELY COTTO PEREIRA                      REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  708489 MARANGELY CRUZ MOLINA                        BO INGENIO           P 40 D CALLE BEGONIA                                                               TOA BAJA            PR         00951
         MARANGELY DE LA PAZ
  295373 CARTAGENA                                    REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   708490 MARANGELY DELGADO ROHENA COND LAGUNA VIEWTOWERS II               APT 603                                                                            SAN JUAN            PR         00924
          MARANGELY DUMONT
   295374 RODRIGUEZ                REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARANGELY ENCARNACION
   708491 CORREA                   PO BOX 1358                                                                                                                RIO GRANDE          PR         00745

   295375 MARANGELY FIGUEROA MOLINA REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   295376 MARANGELY GARCIA GARCIA   REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARANGELY GONZALEZ
   708493 GONZALEZ                  P O BOX 675                                                                                                               UTUADO              PR         00641

   295378 MARANGELY GONZALEZ SALOME REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   295379 MARANGELY LOPEZ COLON     REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   295380 MARANGELY LOPEZ NEGRON    REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   295381 MARANGELY LUGO GALARZA    REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   295382 MARANGELY MEDINA COTTO    REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARANGELY MOLINA
   708496 RODRIGUEZ                 RES MANUELA PEREZ                      EDIF A 2 APT 27                                                                    SAN JUAN            PR         00923
   708497 MARANGELY OLIVERA SOTO    43 CALLE RUIZ BELVIS                                                                                                      CABO ROJO           PR         00623

   295383 MARANGELY OLIVERO SEGARRA                   REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708498 MARANGELY PACHECO ORTIZ                     BO MANZANILLA        3 CALLE PRINCIPAL                                                                  JUANA DIAZ          PR         00795
   708499 MARANGELY PAGAN AYALA                       URB SAN JOSE         446 CALLE BAGUR                                                                    SAN JUAN            PR         00923
   295384 MARANGELY PEREZ ROSARIO                     REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARANGELY QUINONES
   295385 VAZQUEZ                                     REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   295386 MARANGELY RIVERA ALVARADO REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708501 MARANGELY RIVERA ZAYAS    COND MAR DE ISLA VERDE                 APT 7 ‐ I                                                                          CAROLINA            PR         00979

   295387 MARANGELY RODRIGUEZ GARCIA REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   708502 MARANGELY RODRIGUEZ REYES PO BOX 141765                                                                                                             ARECIBO             PR         00614‐1765

   295390 MARANGELY RODRIGUEZ RUIZ                    REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   708503 MARANGELY ROSARIO SEMIDEY HC 1 BOX 6528                                                                                                             SALINAS             PR         00751

   708504 MARANGELY ROSARIO TORRES                    P O BOX 143931                                                                                          ARECIBO             PR         00614
          MARANGELY SANCHEZ
   295391 QUINONES                                    REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   295392 MARANGELY TORRES RIVERA                     REDACTED             REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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          MARANGELY VAZQUEZ
   295393 RODRIGUEZ                                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295394 MARANGELY VEGA OCASIO                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARANGELY WILLMORE
   295395 HERNANDEZ                                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295396 MARANGELY, CASTRO                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARANGELYS CRUZ RIOS /
   295397 CARLOS SANTOS                               REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295398 MARANGELYS DE JESUS DIAZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   295399 MARANGELYS NUNEZ DE JESUS                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295400 MARANGELYS ORTIZ STEIDEL                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARANLLELI VLADERAMA
   295402 OTERO                                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARANLLELYS GONZALEZ
   295403 BARRETO                                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295404 MARANTHA PRINTS                             654 AVE ROBERTO H TODD                                                                                              SANTURCE            PR           00907
   295406 MARANYELI COLON REQUEJO                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   295407 MARANYELI TORRALES DAVILA                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   295408 MARANYELI TORRELES DAVILA                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARANYELIS BETANCOURT
   295409 ALFONZO                                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708505 MARATON ABRAHAM ROSA INC PO BOX 2408                                                                                                                            TOA BAJA            PR           00951‐2404
   708507 MARATON CELADA 10 K      PO BOX 330                                                                                                                             GURABO              PR           00778

          MARATON CENTRO DEPORTIVO
   708508 /JESUS ALVARADO                             PMB 223                     PO BOX 3000                                                                             COAMO               PR           00769
          MARATON DE NAVIDAD DE
   295413 CAMUY INC                                   PO BOX 451                                                                                                          CAMUY               PR           00627

   708509 MARATON DE PR EN VILLALBA                   P O BOX 9023207                                                                                                     SAN JUAN            PR           00766
   708510 MARATON EDUARDO VERA                        P O BOX 820                                                                                                         ADJUNTAS            PR           00601

   708511 MARATON EL JIBARO MOROVIS                   BOX 282 CALLE BETANCES 36                                                                                           MOROVIS             PR           00687
   295414 MARATON EL SECO INC                         PO BOX 341                                                                                                          COMERIO             PR           00782

   708512 MARATON HUMBERTO LINARES P O BOX 759                                    BO COLORES                                                                              LAS PIEDRAS         PR           00771
          MARATON ICPR JUNIOR COLLEGE
   708513 INC                         80 CALLE MCKINELY OEST                                                                                                              MAYAGUEZ            PR           00680
          MARATON INFANTIL MERCEDES
   708514 HERNANDEZ INC               COM SAN LUIS                                1 CALLE MERCEDES HERNANDEZ                                                              AIBONITO            PR           00705
          MARATON INTERNACIONAL DEL
   295415 GUAYABO INC                 HC 03 BOX 14495                                                                                                                     AGUAS BUENAS        PR           00703
          MARATON INTERNACIONAL
   708515 FEMENINO DE PR              P O BOX 560359                                                                                                                      GUAYANILLA          PR           00656
          MARATON JUNQUENO
   295416 MODESTO CARRION INC         BOX 34                                                                                                                              JUNCOS              PR           00777

   708516 MARATON LA CANDELARIA INC                   URB GUANAJIBO HOMES         E 23 CALLE MIGUEL M MUNIZ                                                               MAYAGUEZ            PR           00680
   708517 MARATON OLIVENCIA                           ROBERTO ARCE                17 CALLE CLAUDINO COLON                                                                 SAN SEBASTIAN       PR           00685



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  708518 MARATON PAUL BLAIR         2436 CALLE APONTE                                                                                                                         SAN JUAN            PR           00915
         MARATON QUINTO CENTENARIO
  708519 INC                        URB QUINTO CNETENARIO                             212 DIEGO COLON                                                                         MAYAGUEZ            PR           00680
  708520 MARATON REYES MAGOS INC    PO BOX 9023207                                                                                                                            SAN JUAN            PR           00902‐3207
  708523 MARATON SAN BLAS           P O BOX 56                                                                                                                                COAMO               PR           00769
         MARATON SANTO CRISTO DE LA
  708524 SALUD                      PO BOX 436                                                                                                                                PENUELAS            PR           00624
         MARATONISTA DE COAMO
  295417 BEISBOL DOBLE A INC        PMB 213                                           PO BOX 70344                                                                            SAN JUAN            PR           09368344
         MARATONISTAS DE COAMO
  295418 BASEBALL AA INC            PO BOX 445                                                                                                                                COAMO               PR           00769
  295419 MARAVELISSE DIAZ GARCIA    REDACTED                                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  295421 MARAY BONILLA MARTINEZ     REDACTED                                          REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   708525 MARAYNES MALDONADO NIEVES PO BOX 531                                                                                                                                CAGUAS              PR           00726

   708526 MARBEL & MORE DITRIBUTORS                   URB PUERTO NUEVO                701 AVE DE DIEGO                                                                        SAN JUAN            PR           00920
   708528 MARBELL BAKERY                              PO BOX 386                                                                                                              NARANJITO           PR           00719
          MARBELLA EVENTS & DECOR
   295424 RENTAL                                      HATO TEJAS 2125 CARR 2                                                                                                  BAYAMON             PR           00959‐5259
          MARBELLA EVENTS & DECOR
   295426 RENTAL, CORP                                CALLE 69 BLQ 78#1               URB SIERRA BAYAMON                                                                      BAYAMON             PR           00961
                                                      110 CALLE 10 DE ANDINO APT
   708529 MARBELLA LAU SANCHEZ                        611                                                                                                                     SAN JUAN            PR           00911
   708530 MARBELLA MARQUEZ GARCIA                     EDIF MERCANTIL PLAZA            601 AVE PONCE DE LEON                                                                   SAN JUAN            PR           00918
   708531 MARBO INC / DBA MAICOLS                     PO BOX 494                                                                                                              ARECIBO             PR           00613‐0494
   295430 MARC A CANCEL CARTAGENA                     REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   295431 MARC A RIVERA                               REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARC ANTHONY GONZALEZ
   295432 FIGUEROA                                    REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   708532 MARC ARROYO RIVERA                          P O BOX 140191                                                                                                          ARECIBO             PR           00614‐0191
          MARC G ROUMAIN
   295433 PRIETO/WINDMAR PV                           ENERGY INC                      B3 CALLE POPPY                                                                          SAN JUAN            PR           00926
          MARC H RIVERA VICENTE A/C
   295434 LUZ V VICENTE                               RES LUIS M MORALES              E 15 APT 151                                                                            CAYEY               PR           00736
   708534 MARC L SCHNITZER KOPPEL                     PO BOX 21735                                                                                                            SAN JUAN            PR           00931‐1735
   708535 MARC MOUGEOTTE                              PMB 092                         P O BOX 70171                                                                           SAN JUAN            PR           00936‐8171
   708536 MARC TACHER DIAZ                            90 REINA DE LAS FLORES          CIUDAD JARDIN                                                                           TOA ALTA            PR           00953

   708537 MARC ZUBRZYCKI                              AVE SAN CLAUDIO 352 SUITE 282                                                                                           SAN JUAN            PR           00926
          MARCA FOOD AND INVEST DBA
   295436 PIZZA MOBILE                                RPM BUZON 419                   5 CALLE ARZUAGA                                                                         SAN JUAN            PR           00925

          MARCA FOOD AND INVESTMENT
  1256658 DBA PIZZA MOBILE          REDACTED                                       REDACTED                     REDACTED                               REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                                                   URB. MARINA BAHÍA PLAZA 16 M
  1420422 MARCANO BENÍTEZ, OLGA I.                    SRA. OLGA I. MARCANO BENÍTEZ E 74                                                                                       CATAÑO              PR           00962
          MARCANO BETANCOURT,                                                      PMB 914 AVE. WINSTON
  1420423 ELIZABETH                                   MIGUEL OLMEDO OTERO          CHURCHILL # 138                                                                            SAN JUAN            PR           00926‐6013
          MARCANO FIGUEROA, JUAN
  1422432 JOSE                                        JOHANNA SMITH                   1250 AVENIDA PONCE DE LEON   EDIFICIO SAN JOSE OFICINA 800                              SAN JUAN            PR           00907

  1420424 MARCANO FIGUEROA, WILLIAM LUIS A. MADERA ECHEVARRIA                         PO BOX 13695                                                                            SAN JUAN            PR           00908‐3695



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 1420425 MARCANO GARCIA, LUIS E.                      LUIS E. MARCANO GARCIA       839 CALLE AÑASCO APT. 811                                                                 SAN JUAN            PR           00925‐2455

  1420426 MARCANO MARTINEZ, ROBERTO DIAZ ESPINOSA, JOSE                            PO BOX 3612                                                                               JUNCOS              PR           00777‐3612
   295632 MARCANO NIEVES, LUZ M     REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   295638 MARCANO ORTA, NELLY       REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   295665 MARCANO PEREZ, OLGA       REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARCANO RIVERA MD, MANUEL
   295687 E                         REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   295767 MARCANO TORRES, MARIA R   REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   295790 MARCANO, DAVID            REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARCANTONI EXCLUSA MD,
   295798 EFRAIN A                  REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   295799 MARCAS FLOOR              P.O. BOX 194791                                                                                                                          SAN JUAN            PR           00919‐4791
   708538 MARCAS FLOOR CARE INC     P O BOX 194791                                                                                                                           SAN JUAN            PR           00919‐4791
   295800 MARCAS FLOOR CARE INC.    PO BOX 2237                                                                                                                              CANOVANAS           PR           00729‐2237
   295802 MARCE J COTTE MEDINA      REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   708539 MARCEDES DUMONT MARTINEZ                    URB PARANA                   S‐8 CALLE 8                                                                               SAN JUAN            PR           00926
   708540 MARCEL CRUZ                                 URB VIRGINIA VALLEY          725 VALLE DEL ESTE                                                                        JUNCOS              PR           00777
   708541 MARCEL DEKKER INC.                          270 MADISON AVE                                                                                                        NEW YORK            NY           10016
   708542 MARCEL J VICENS SEGURA                      2387 CALLE UNIVERSIDAD                                                                                                 PONCE               PR           00717
   295805 MARCEL M FIGUEROA PAGAN                     REDACTED                     REDACTED                     REDACTED                              REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                      CONDOMINIO PARQUE DE LAS     20 BLVD DE LA MEDIA LUNA APT
   708544 MARCEL R BURGOS GONZALEZ                    FLORES                       2204                                                                                      CAROLINA            PR           00987

   295806 MARCEL R. BURGOS GONZALEZ                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   708545 MARCEL RIVERA CORREA                        PO BOX 9021112                                                                                                         SAN JUAN            PR           00902‐1112
   295807 MARCEL TEICHLER                             REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   295808 MARCELA FERNANDEZ                           REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   708546 MARCELA M VERGARA                           1 GUSTAVE LEVE PL BOX 1200                                                                                             NEW YORK            NY           10029
   708547 MARCELA MONCLOVA                            BO CASADA APT 333                                                                                                      MAUNABO             PR           00707
   708548 MARCELA ROSA FELIX                          MC 3 BOX 8131                                                                                                          GUAYNABO            PR           00927
   708549 MARCELA SANTIAGO ORTIZ                      COM COCO I                   SOLAR 117                                                                                 SALINAS             PR           00751
   295810 MARCELA VELEZ SANCHEZ                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   708550 MARCELIANO GUIBAS IRIZARRY                  JARDINES NUEVA PUERTA DE     SAN JUAN I CALLE SICILIA 209                                                              SAN JUAN            PR           00923
   708551 MARCELIN TORRES LUCENA                      HC 5 BOX 92413                                                                                                         ARECIBO             PR           00612

   295812 MARCELINA ALVARADO TORRES REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   708552 MARCELINA ALVAREZ PEREZ   PO BOX 8844                                                                                                                              HUMACAO             PR           00792‐8844
   295813 MARCELINA AROCHO VEGA     REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   708553 MARCELINA AVILES ANTONETTI                  URB REPARTO MONTELLANO       B 11 CALLE A                                                                              CAYEY               PR           00736
   295814 MARCELINA AVILES PADILLA                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   708554 MARCELINA BERGES MORALES                    200 COND COLLEGE PARK B      APT 904 B                                                                                 SAN JUAN            PR           00921
   708555 MARCELINA DELGADO QUILES                    BOX 944                                                                                                                CIDRA               PR           00739
   295815 MARCELINA HERNANDEZ                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   295816 MARCELINA LOPEZ TORRES                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   295636 MARCELINA MOJICA RIVERA                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   708560 MARCELINA MONTES SERRANO                    VILLA PRADES                 690 CALLE FRANCISCO P CORTES                                                              SAN JUAN            PR           00924




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   708561 MARCELINA MORENO SANCHEZ HC 01 BOX 4359                                                                                                                  RINCON              PR           00677
   295817 MARCELINA NUNEZ CRESPO   REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295818 MARCELINA OJEDA DIAZ     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708563 MARCELINA ORSINI SANTIAGO                   URB BUENA VISTA            1238 CALLE CALMA                                                                  PONCE               PR           00717‐2512

   295819 MARCELINA ORTIZ MOCTEZUMA REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708566 MARCELINA RIOS            APT A ALTAMESA                               1384 CALLE SAN FELIX                                                              SAN JUAN            PR           00921

   708567 MARCELINA RIVERA CASTELLANO BO BEATRIZ BOX 570                                                                                                           CIDRA               PR           00739
   295820 MARCELINA RIVERA VELEZ      REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295821 MARCELINA ROBLES GLEASEN    REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708568 MARCELINA ROCHE ROCHE       HC 3 BOX 30025                                                                                                               MAYAGUEZ            PR           00680

   708569 MARCELINA RODRIGUEZ REYES                   5 CALLE JULIAN COLLAZO                                                                                       COAMO               PR           00769
   708570 MARCELINA ROSA ROBLEDO                      P O BOX 7372                                                                                                 LUQUILLO            PR           00773

   295822 MARCELINA SANCHEZ GERENA                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295823 MARCELINA SEVERINO PINA                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295824 MARCELINA TORRES ROMAN                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708573 MARCELINA VAZQUEZ FIGUEROA HP ‐ SALA 5 BAJO MUJERES                                                                                                      RIO PIEDRAS         PR           009360000
   295825 MARCELINA VEGA CRUZ        REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708575 MARCELINO ACEVEDO BAYON                     PO BOX 7126                                                                                                  PONCE               PR           00732

   295826 MARCELINO ALCALA RODRIGUEZ REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARCELINO APONTE
   295827 CASTELLANO                 REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARCELINO BARCEIREDO
   708576 QUINTERO                   URB DOS PINOS                               808 CALLE DIANA                                                                   SAN JUAN            PR           00923‐2238
   708577 MARCELINO BARRETO          11 CALLE MCKINLEY                                                                                                             MANATI              PR           00674
   708578 MARCELINO BERRIOS ROMAN    URB MAGNOLIA GARDENS                        Q 23 CALLE 17                                                                     BAYAMON             PR           00956
          MARCELINO CASIANO
   295830 MONTANEZ                   REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   295831 MARCELINO CINTRON PONTON                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARCELINO COLLAZO
   295832 FERNANDEZ                                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708580 MARCELINO COLLAZO GARAY                     URB SANTA MONICA           Q 24 CALLE 13                                                                     BAYAMON             PR           00957
          MARCELINO CORDERO
   708581 GONZALEZ                                    RR 3 BOX 338                                                                                                 SAN JUAN            PR           00926
   295833 MARCELINO CORREA GARCIA                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708582 MARCELINO CORREA SANTOS                     PO BOX 7126                                                                                                  PONCE               PR           00732
   708583 MARCELINO CRUZ RAMOS                        URB ROSA MARIA             E 12 CALLE 4                                                                      CAROLINA            PR           00985
   295834 MARCELINO DEL VALLE                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   295835 MARCELINO DEL VALLE AGUILA                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708585 MARCELINO DIAZ MALAVE                       12 CALLE MILITON PERALES                                                                                     BARRANQUITAS        PR           00769
   295836 MARCELINO DIAZ ROJAS                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708586 MARCELINO DOMINGUEZ SIERRA BARRIO BUENA VISTA DD 48                    VIA REXVILLE                                                                      BAYAMON             PR           00957



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   708587 MARCELINO FIGUEROA ALICEA                   URB TREASURE VALLEY        05 CALLE 7                                                                          CIDRA               PR           00739
   708588 MARCELINO FLORES MATOS                      RR 6 BOX 9533                                                                                                  SAN JUAN            PR           00925
          MARCELINO FUENTES/ REST LA
   708589 CACEROLA SERV                               1050 AVE EMERITO ESTRADA                                                                                       SAN SEBASTIAN       PR           00685
          MARCELINO GARCIA
   295837 ECHEVERRIA                                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708590 MARCELINO GARCIA GONZALEZ                   VILLA HUCAR                B 18 CALLE ROBLES                                                                   SAN JUAN            PR           00926

   295839 MARCELINO GARCIA PASTRANA                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708593 MARCELINO GARCIA PEREZ                      REPARTO SAN CARLOS         169 HIGUILLAR                                                                       DORADO              PR           00646
   708594 MARCELINO GAVILLAN                          BOX 25342                                                                                                      CAGUAS              PR           00726

   295841 MARCELINO GOMEZ AREVALO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295842 MARCELINO GOMEZ TAVARES                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARCELINO GONZALEZ
   708596 CONTRERAS                                   RES BAIROA                 AJ 4 CALLE 32 A                                                                     CAGUAS              PR           00725

   708597 MARCELINO GONZALEZ RIVERA                   HC 02 BOX 8591                                                                                                 JUANA DIAZ          PR           00795
   708598 MARCELINO GONZALEZ RUIZ                     HC 08 BOX 48728                                                                                                CAGUAS              PR           00725

   708599 MARCELINO GONZALEZ TORRES                   URB VILLAS DE CASTRO       DD 6 CALLE 25                                                                       CAGUAS              PR           00725

   708601 MARCELINO GUZMAN ADORNO                     RR 6 BOX 10711                                                                                                 SAN JUAN            PR           00926

   708602 MARCELINO HERNANDEZ CRUZ                    89 CALLE GEORGETTI                                                                                             COMERIO             PR           00782
          MARCELINO HERNANDEZ
   295843 GONZALEZ                                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARCELINO HERNANDEZ
   295844 RODRIGUEZ                                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708605 MARCELINO IGARTUA FIGUEROA HC 03 BOX 32821                             BO GUERRERO                                                                         AGUADILLA           PR           00603‐9707
   295845 MARCELINO LEBRON LEBRON    REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708607 MARCELINO LOPEZ COLON      VILLA CAROLINA                              215‐ 17 CALLE 506                                                                   CAROLINA            PR           00985
   708608 MARCELINO LOPEZ ORTIZ      MILAVILLE                                   176 CALLE PAJUIL                                                                    SAN JUAN            PR           00926
   708609 MARCELINO LOPEZ PAGAN      HC 01 BOX 3162                                                                                                                  LARES               PR           00669
   295846 MARCELINO LOPEZ ROSARIO    REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708610 MARCELINO LUGO CORA        BDA MARIN                                   HC 1 BZN 3929                                                                       ARROYO              PR           00714

   295847 MARCELINO MANGUAL ROSARIO REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   295848 MARCELINO MARCON DEL VALLE REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARCELINO MARTINEZ Y
   295849 MADELINE MARTINEZ          REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   295852 MARCELINO MENDEZ GONZALEZ REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   295854 MARCELINO MIRANDA BARRETO REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARCELINO MONTALVO
   295855 FUENTES                   REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARCELINO MORALES
   708613 FIGUEROA                  P O BOX 682                                                                                                                      COMERIO             PR           00782



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   295856 MARCELINO NEGRON DE JESUS                   REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708614 MARCELINO NIEVES CRUZ                       5433 YELLOWBRUD DR.                                                                                          COLUMBUS            OH           43231
   295857 MARCELINO NIEVES FLORES                     REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   295858 MARCELINO OLIVENCIA TORRES REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708616 MARCELINO ORTIZ GARCIA     P O BOX 2045                                                                                                                  OROCOVIS            PR           00720

   708617 MARCELINO ORTIZ GONZALEZ                    JARDINES DE CAYEY I      4 CALLE 12                                                                          CAYEY               PR           00736
   708621 MARCELINO PADILLA MATOS                     URB VILLA REAL           NUM 8 CALLE I                                                                       CABO ROJO           PR           00976
   708622 MARCELINO PADILLA REYES                     LOMAS DE TRUJILLO ALTO   F 39 CALLE 4                                                                        TRUJILLO ALTO       PR           00976
   295859 MARCELINO PAGAN REYES                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708624 MARCELINO PASTRANA TORRES PO BOX 10153                                                                                                                   SAN JUAN            PR           00908‐1153
   708625 MARCELINO PEREIRA FEBRES  URB VILLA VENECIA                          O 41 CALLE 3                                                                        CAROLINA            PR           00983
   708626 MARCELINO PEREZ           URB LA RIVIERA                             941 CALLE S O                                                                       SAN JUAN            PR           00901

   708627 MARCELINO PEREZ ECHEVARRIA 106 VUELTA DEL DOS                                                                                                            COMERIO             PR           00782
   708628 MARCELINO PUIG PASTRANA    PO BOX 521                                                                                                                    GUAYNABO            PR           00970
                                     SOLAR 322 COMUNIDAD CALLE
   708629 MARCELINO RAMIREZ          DEL AGUA                                                                                                                      ADJUNTAS            PR           00601
   295860 MARCELINO RAMOS GARAY      REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                     URB ESTANCIAS DE SAN
   708631 MARCELINO RAMOS MAURY      FERNANDO                                  D 9 CALLE 6                                                                         CAROLINA            PR           00985 5216

   295861 MARCELINO REYES GONZALEZ                    REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708632 MARCELINO RIVERA AGOSTO                     SECT OJO DEL AGUA        63 CALLE GERANIO                                                                    VEGA BAJA           PR           00693
   708633 MARCELINO RIVERA ALICEA                     PO BOX 389                                                                                                   YAUCO               PR           00698
   708634 MARCELINO RIVERA GUZMAN                     PO BOX 283                                                                                                   NARANJITO           PR           00719
   295862 MARCELINO RIVERA RIVERA                     REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708637 MARCELINO RODRIGUEZ                         AVE LAS PALMAS                                                                                               SAN JUAN            PR           00907

   708639 MARCELINO RODRIGUEZ RIVERA PO BOX 2390                                                                                                                   SAN JUAN            PR           00919
          MARCELINO RODRIGUEZ
   708574 RODRIGUEZ                  URB SANTA ELVIRA                          G 24 CALLE SANTA MARIA                                                              CAGUAS              PR           00725
          MARCELINO RODRIGUEZ
   295863 SANTIAGO                   REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708640 MARCELINO RODRIGUEZ VELEZ                   HC 04 BOX 49269                                                                                              CAGUAS              PR           00725
   295864 MARCELINO ROLON ORTEGA                      REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295865 MARCELINO ROMAN                             REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708641 MARCELINO ROMAN MEDINA                      URB TURABO GARDENS       R 1022 CALLE G                                                                      CAGUAS              PR           00725

   708642 MARCELINO ROMERO SANCHEZ                    BO QUEBRADA              HC 02 BOX 7604                                                                      CAMUY               PR           00627
   708643 MARCELINO ROSA RIOS                         RR 01 BOX 13197                                                                                              TOA ALTA            PR           00953

   708644 MARCELINO ROSARIO APONTE                    HC 02 BOX 31117                                                                                              CAGUAS              PR           00727‐9407
   295866 MARCELINO RUIZ CORUJO                       REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   295868 MARCELINO RUIZ RODRIGUEZ                    REDACTED                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708645 MARCELINO SANCHEZ DIEPPA                    PO BOX 429                                                                                                   LAS PIEDRAS         PR           00771

   708647 MARCELINO SANCHEZ PASTRANA BDA VISTA ALEGRE                          64 CALLE DELICIAS                                                                   SAN JUAN            PR           00926




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   295869 MARCELINO SANTANA MARQUEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   708648 MARCELINO SANTANA MARQUEZ PO BOX 611                                                                                                                      COMERIO              PR           00782

   708649 MARCELINO SANTANA ROSADO                    P O BOX 8554                                                                                                  BAYAMON              PR           00960
   708650 MARCELINO SANTIAGO                          PO BOX 4280                                                                                                   AGUADILLA            PR           00605

   708651 MARCELINO SANTIAGO CORREA PO BOX 271                                                                                                                      JUANA DIAZ           PR           00795

   708652 MARCELINO SANTOS VAZQUEZ                    BO PITAHAYA BZN 1379                                                                                          ARROYO               PR           00714
          MARCELINO SERRANO
   708653 MARTINEZ                                    PO BOX 966                                                                                                    JUANA DIAZ           PR           00795
   708654 MARCELINO SOTO RUIZ                         HC2 BOX 15655                                                                                                 CAROLINA             PR           00987‐9754
   708655 MARCELINO SUAREZ APONTE                     PO BOX 8117                                                                                                   CAROLINA             PR           00986

   708656 MARCELINO TELLADO NAZARIO                   73 CALLE ROBERTO CLEMENTE                                                                                     ENSENADA             PR           00647
   708657 MARCELINO TORRES BASCON                     HC 1 BOX 4777                                                                                                 VILLALBA             PR           00766
          MARCELINO VALCARCEL
   708658 COLLAZO                                     URB VILLAS DE CARRAIZO      RR 7 BOX 223                                                                      SAN JUAN             PR           00926

   295870 MARCELINO VALLE GUADALUPE REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   295871 MARCELINO VARGAS FIGUEROA REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   708659 MARCELINO VAZQUEZ NIEVES  APARTADO 7296                                                                                                                   MAYAGUEZ             PR           00681

   708660 MARCELINO VAZQUEZ RAMOS    PO BOX 89                                                                                                                      VEGA ALTA            PR           00693
                                     SOLAR 163 COMUNIDAD
   708662 MARCELINO VAZQUEZ SANTIAGO MOSQUITO                                                                                                                       SALINAS              PR           00774

   708663 MARCELINO VELAZQUEZ FELIX                   HC 3 BOX 11520                                                                                                YABUCOA              PR           00767
   295872 MARCELINO VELEZ CUEBAS                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   708664 MARCELINO VINALES MELECIO                   BO STA ROSA                 SECTOR GUAYABO                                                                    DORADO               PR           00646

   708665 MARCELINO WALKER LANDRAU BO SABANA ABAJO                                P 33 BO PAJUIL                                                                    CAROLINA             PR           00981
   295873 MARCELINO ZAYAS CRIADO      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   708666 MARCELINOS CONSTRUCTION     HC 4 BOX 15658                                                                                                                SAN SEBASTIAN        PR           00685
   708667 MARCELL R GABRIEL DENIS     URB PASEOS REALES                           240 CALLE CONDESA                                                                 ARECIBO              PR           00612
   295875 MARCELLE D MARTELL JOVET    REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   295876 MARCELLE E CRUZ PAGAN       REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   295877 MARCELO BENITEZ             REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   708669 MARCELO BURDMANN            RUTA PRATES 103                             BOM RETIRO                                                                        BRAZIL CEP           SP           01121000
   295878 MARCELO C ARROYO MIER       REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   708671 MARCELO CARRION             PO BOX 50063                                                                                                                  SAN JUAN             PR           00902
   295879 MARCELO COLON LOPEZ         REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   295880 MARCELO CRUZ ROSA           REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARCELO CRUZ ROSA DBA
  1256659 JUNIOR AUTO SOLUTION        REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   708674 MARCELO CUMBA ACEVEDO       BO CUYON                                    HC 1 BOX 6387                                                                     AIBONITO             PR           00705
   708676 MARCELO FERNANDEZ CORP      PO BOX 3927                                                                                                                   SAN JUAN             PR           00902‐3927
          MARCELO GONZALEZ / ROSALIDA
   708677 RODRIGUEZ                   470 NORTH STREET 7 APT 1                                                                                                      NEWARK               NJ           07107



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  295881 MARCELO GUTIERREZ COLON                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MARCELO HERNAN CAVANNA
  708678 LOPEZ                                        PO BOX 1744                                                                                              CABO ROJO           PR         00623

   708679 MARCELO HERNANDEZ ADORNO BO CAIMITO                                CARR 176 KM 9 HM 0                                                                LAS PIEDRAS         PR         00926
   708680 MARCELO HERNANDEZ LOPEZ  BO VEGA                                   24 CALLE 336                                                                      CAYEY               PR         00736
   295882 MARCELO I MOLINA GAONA   REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708681 MARCELO I VELEZ GUZMAN   URB RIO GRANDE ESTATE                     AA 21 CALLE 19                                                                    RIO GRANDE          PR         00745
   708683 MARCELO LOPEZ SANTIAGO   HC 33 BOX 5318                                                                                                              DORADO              PR         00646
          MARCELO MALDONADO
   295883 CANDELARIO               REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708684 MARCELO MARTINEZ VELEZ   SUSUA BAJA                                1A MARGINAL                                                                       SAN GERMAN          PR         00639
   708685 MARCELO MERCADO ORTIZ    HC 3 BOX 13775                                                                                                              YAUCO               PR         00698
   708686 MARCELO ORTEGA RIVERA    PO BOX 852                                                                                                                  NARANJITO           PR         00719‐0852
          MARCELO QUINONES
   295884 LARACUENTE               REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708687 MARCELO RESTAURANT       P O BOX 9024275                                                                                                             SAN JUAN            PR         00902‐4275
   708689 MARCELO RIVERA ORTIZ     12 W 3RD ST                                                                                                                 LANSDALE            PA         19446
   295887 MARCELO RIVERA OTERO     REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708691 MARCELO ROSADO DAVILA    ALTS DE SAN LORENZO                       B 13 CALLE 1                                                                      SAN LORENZO         PR         00754

   295888 MARCELO SANABRIA BARNOLA                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARCELO STOPIELLO
   295889 MORGADANES/ GREEN                           REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARCH DIMES BIRTH DEFECTS
   295891 FOUND                                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708692 MARCH OF DIMES                              URB PEREZ MORRIS       40 CALLE PONCE                                                                    SAN JUAN            PR         00918
   295906 MARCHAND I C S GROUP                        PO BOX 8168                                                                                              SAN JUAN            PR         00910‐0168
          MARCHANY & GARCIA DE
   708693 QUENEPO                                     1435 CARR 108                                                                                            MAYAGUEZ            PR         00680‐7416
          MARCHANY ALFONSO MD, LUIS
   295926 A                                           REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   295946 MARCHENA ARRAUT MD, JAIME                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARCHENA ARRAUT MD,
   295947 ORLANDO J                                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708694 MARCIA C FERRER LABOY                       COND METRO PLAZA       APT 1307                                                                          SAN JUAN            PR         00921
   708695 MARCIA COLON RIVERA                         HC 01 BOX 14313                                                                                          CAROLINA            PR         00987
   295965 MARCIA CRUZ VIZCAINO                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708696 MARCIA DE JESUS DE JESUS                    PO BOX 14032                                                                                             SAN JUAN            PR         00915
   295966 MARCIA E JOSE GONZALEZ                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   295968 MARCIA GARCIA OFARRILL                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   295969 MARCIA J LA SALLE RIVERA                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708698 MARCIA JUSTINIANO ARROYO                    URB SANTA ELENA        D 12 CALLE 3                                                                      SABANA GRANDE       PR         00637
   708699 MARCIA LUCIANO RIVERA                       URB LAS DELICIAS       4043 FIDELA MATHEW                                                                PONCE               PR         00728‐3710
   295971 MARCIA M POZO ASENCIO                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708700 MARCIA M VELAZQUEZ DIAZ                     HATO ARRIBA            40 CALLE D                                                                        ARECIBO             PR         00612
   708701 MARCIA MARTINEZ ISAAC                       COUNTRY CLUB           MY 8 CALLE 436                                                                    CAROLINA            PR         00982
   295972 MARCIA PEREZ LLAVONA                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   295973 MARCIA RAMOS COUVERTIER                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   295974 MARCIA RIVERA HERNANDEZ                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708702 MARCIA RODRIGUEZ RIVERA                     P O BOX 69001          SUITE 260                                                                         HATILLO             PR         00659
   295975 MARCIA SOLER PARIS                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  295976 MARCIA V CARBAJAL REYES                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  295977 MARCIAL A ORTEGA MARTE                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   295978 MARCIAL A WALKER CARDONA                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   295979 MARCIAL A. ROSSY SAAVEDRA                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   295980 MARCIAL AGOSTO MUNOZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   708703 MARCIAL ALICEA SERRANO                      URB DORAVILLE               4‐23 CALLE 4                                                                          DORADO              PR         00646
   708704 MARCIAL ALICEA VALENTIN                     PO BOX 1713                                                                                                       TOA BAJA            PR         00951
   295985 MARCIAL ARROYO MARTINEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   708706 MARCIAL AVILES MERCADO                      P O BOX 603                                                                                                       MOCA                PR         00676
   708708 MARCIAL COLON CAMACHO                       P O BOX 5                   ANGELES                                                                               ANGELES             PR         00611
   295990 MARCIAL COLON NIEVES                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   708710 MARCIAL COTTO RIVERA                        P O BOX 5984                                                                                                      CAGUAS              PR         00726
   708711 MARCIAL CRUZ PAGAN                          BO OBRERO                   723 CALLE ARGENTINA                                                                   SAN JUAN            PR         00915
   708712 MARCIAL CRUZ SANTOS                         C.S.M. BAYAMON                                                                                                    Hato Rey            PR         00936
   708713 MARCIAL DEL VALLE RIVERA                    HC BOX 35722                                                                                                      AGUADILLA           PR         00603
   708714 MARCIAL DIAZ JIMENEZ                        URB EL PLANTIO              A 63 CALLE VILLA GRANADA                                                              TOA BAJA            PR         00949
                                                                                  INST MAXIMA SEGURIDAD PO
  1420427 MARCIAL DIAZ, EDGARDO                       PROPIO DERECHO              BOX 10786 SECC B2 3016                                                                PONCE               PR         00732

   708716 MARCIAL E. OCASIO MELENDEZ                  PO BOX 22202                                                                                                      SAN JUAN            PR         00931
   708717 MARCIAL ECHEVARRIA RIOS                     PARC HILL BROTHERS          373 CALLE 11                                                                          SAN JUAN            PR         00925

   295995 MARCIAL ENCARNACION MONGE REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   708718 MARCIAL ESCOBAR GALARZA                     URB CASTELLANA GARDENS GG 4 CALLE 29                                                                              CAROLINA            PR         00989
   295996 MARCIAL ESTADES, MAYRA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   295999 MARCIAL FEBO RODRIGUEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   296000 MARCIAL FELICIANO MARRERO                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   708720 MARCIAL FIGUEROA JIMENEZ                    RR 1 BOX 6529                                                                                                     GUAYAMA             PR         00784
   296001 MARCIAL FLORES ALVAREZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   708723 MARCIAL FLORES ORTIZ                        URB LEVITTOWN               A V 54 LEONOR OESTE                                                                   TOA BAJA            PR         00949
   296002 MARCIAL FONTANEZ RIVERA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   296003 MARCIAL GONZALEZ VAZQUEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   708724 MARCIAL H GARAY GARCIA                      URB COCO BEACH              111 CALLE GAVIOTA                                                                     RIO GRANDE          PR         00745
   296008 MARCIAL HERNANDEZ FELIU                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   296018 MARCIAL LOZADA LOZADA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   708728 MARCIAL MEDINA MEDINA                       COND VILLA OLIMPICA 591     C3                                                                                    SAN JUAN            PR         00921

   296023 MARCIAL MENDEZ VELAZQUEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   708729 MARCIAL MERCADO RIVERA                      PO BOX 2218                                                                                                       SAN SEBASTIAN       PR         00685
   708730 MARCIAL PEREZ FELIX                         HC‐02 BOX 10832                                                                                                   BAYAMON             PR         00619
   296034 MARCIAL RAMIREZ APONTE                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   296038 Marcial Reyes Cartagena                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   296039 MARCIAL RIOS CRUZ                           REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   296040 Marcial Rivera Díaz                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   708731 MARCIAL RIVERA GONZALEZ                     P O BOX 561                                                                                                       OROCOVIS            PR         00720

   708732 MARCIAL RODRIGUEZ CASTRO                    URB LOMAS DE COUNTRY CLUB   T 5 CALLE 16                                                                          PONCE               PR         00731

   708733 MARCIAL RODRIGUEZ FONTANEZ PO BOX 1051                                  CORNELL STATION                                                                       BRONX               NY         10473



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  296058 MARCIAL SANTANA RUIZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  296059 MARCIAL SANTIAGO RUIZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  708735 MARCIAL SANTIAGO SANTOS                      PARC BUENA VENTURA         110 CALLE GERONIO                                                                    CAROLINA             PR         00630
  296061 MARCIAL SERRANO MALAVE                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  296063 MARCIAL TORRES FIDALGO                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  708736 MARCIAL TORRES GALARZA                       ALT VEGA BAJA 14           CALLE B 1                                                                            VEGA BAJA            PR         00693‐5716
  296065 MARCIAL TORRES PAGAN                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   296066 MARCIAL TORRES RODRIGUEZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   296071 MARCIAL VEGA MD, LUISA V                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   708737 MARCIAL VELAZQUEZ FIGUEROA HC 6 BOX 11869                                                                                                                   SAN SEBASTIAN        PR         00685
          MARCIAL VELAZQUEZ
   708738 RODRIGUEZ                  PO BOX 1283                                                                                                                      CAYEY                PR         00737

   708740 MARCIALEE GONZALEZ FEBLES                   PO BOX 240                                                                                                      SANTA ISABEL         PR         00757

   708741 MARCIANA ACEVEDO MENDEZ                     URB RIVERVIEW              JJ 17 CALLE 27                                                                       BAYAMON              PR         00961
   708742 MARCIANA RIVERA                             BDA. SAN ANTONIO           CALLE FRANCISCO FARIA                                                                DORADO               PR         00646
   708744 MARCIANO COLON BORGOS                       HC 01 BOX 7046                                                                                                  VILLALBA             PR         00766
   296078 MARCIANO MD , MARK T                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   296079 MARCIANO RODRIGUEZ BENITEZ REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARCIANO RODRIGUEZ
   296080 CHAPARRO                   REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   296081 MARCIANO RODRIGUEZ PEREZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   708746 MARCIANO SANTANA LOPEZ                      BO CAMPANILLA              402 APT 2 CALLE PANGOLA                                                              TOA BAJA             PR         00949
   296082 MARCIANO SEA GULL                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARCIANO SEA GULL‐LUIS
   296083 HERNANDEZ CRUZ                              REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   296085 MARCIAS ASSISTED LIVING                     PO BOX 3974                                                                                                     AGUADILLA            PR         00605‐3974
   708747 MARCIAS BAKERY INC                          18 CALLE BALDORIOTY                                                                                             COAMO                PR         00769
   708748 MARCIS FLORES RIVERA                        VALLE DE CERRO GORDO       R17 CALLE AMBAR                                                                      BAYAMON              PR         00957
   296087 MARCIS MARTINEZ RIVERA                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   708749 MARCK ARCE MARTINEZ                         867 SECTOR JOVILLO                                                                                              ISABELA              PR         00662
   296090 MARCO A ABARCA DIAZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   708750 MARCO A CALO ORTIZ                          URB VALLE ARRIBA HEIGHTS   L 7 CALLE AUSUBO                                                                     CAROLINA             PR         00983
   296091 MARCO A COBAS                               REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   708751 MARCO A COBAS RODRIGUEZ                     URB ENTRERIOS              184 VIA ENRAMADA                                                                     TRUJILLO ALTO        PR         00976
   708752 MARCO A CRUZ ORTIZ                          HC 05 BOX 54089                                                                                                 AGUADILLA            PR         00603
   296092 MARCO A CRUZ REYES                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   296093 MARCO A DE JESUS ROSARIO                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   708753 MARCO A HACHE POLANCO                       LA ALHAMBRA                ARRAYANES 1                                                                          PONCE                PR         00716
   708754 MARCO A MARRERO PEREZ                       VILLA ALEGRE               E 26 CALLE 1                                                                         GURABO               PR         00778

   708757 MARCO A MARTINEZ SILVESTRINI BOX 974                                                                                                                        SALINAS              PR         00751
   708758 MARCO A MORALES DIAZ         C/MARCELLA DX3 10 SECC                    SANTA JUANITA                                                                        BAYAMON              PR         00956
   708759 MARCO A NOVA SALAZAR         JARDINES DE CAGUAS                        CALLE FA‐3                                                                           CAGUAS               PR         00725
   296094 MARCO A PEREZ LOPEZ          REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   708760 MARCO A RAMOS BRAVO          PO BOX 492                                                                                                                     ISABELA              PR         00662
   708761 MARCO A RIVERA OTERO         PO BOX 1451                                                                                                                    OROCOVIS             PR         00720
   296095 MARCO A RIVERA TORRES        REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  296096 MARCO A RIVERA ZUNIGA                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MARCO A RODRIGUEZ
  708762 ALVARADO                                     PO BOX 240                                                                                                           SANTA ISABEL        PR         00757

   296098 MARCO A RODRIGUEZ RIVERA                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708764 MARCO A RUIZ                                COND AVILA                   159 CALLE COSTA RICA APT3B                                                              SAN JUAN            PR         00721
   296099 MARCO A SASSO OLIVER                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   296100 MARCO A SEGARRA HERNANDEZ REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   296101 MARCO A VEGA UBIAS        REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   296102 MARCO A VELEZ COSME       REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   708765 MARCO A. MALDONADO RAMOS EXT SANTA TERESITA          B 56 CALLE 34                                                                                               PONCE               PR         00731
          MARCO ALEJANDRO CRUZ
   708766 OTERO                    MANSIONES DE MONTECASINO II 688 CALLE GORRION                                                                                           TOA ALTA            PR         00953‐2265
          MARCO ANTONIO RABINES
   296103 BURGA                    REDACTED                    REDACTED                                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   296104 MARCO BORRUL MD, RAUL V  REDACTED                    REDACTED                                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708770 MARCO COLLAZO            A 52 BARRIADA NUEVA                                                                                                                     UTUADO              PR         00641
   296105 MARCO CRUZ TORRES        REDACTED                    REDACTED                                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   296106 MARCO E REYES ATANACIO   REDACTED                    REDACTED                                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708772 MARCO G MATOS RIOS       M R A 35                    HC 1 BOX 29030                                                                                              CAGUAS              PR         00725
   296107 MARCO J TEIXIDOR LATINER REDACTED                    REDACTED                                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708775 MARCO L GARCIA CABRERA   VILLAS DE PARKVILLE II      PO BOX 263                                                                                                  GUAYNABO            PR         00969
   296108 MARCO MARTINEZ VERGE     REDACTED                    REDACTED                                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   296112 MARCO PINERO ACOSTA      REDACTED                    REDACTED                                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   708776 MARCO RODRIGUEZ MERCADO                     PO BOX 193461                                                                                                        SAN JUAN            PR         00918
   708777 MARCO ROSADO CONDE                          454 CESAR GONZALEZ                                                                                                   SAN JUAN            PR         00918
   708778 MARCO T MONT                                1826 GRANT AVE                                                                                                       SO PLAINFIELD       NJ         07080
   296114 MARCO T MUNOZ VILLEGAS                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708779 MARCO VIANELLO BOSCOLO                      VILLA CAROLINA               151‐9 CALLE 432                                                                         CAROLINA            PR         00985
   296115 MARCO VIDAL DELGADO                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARCOLINA MELENDEZ
   708783 RODRIGUEZ                                   BO LA PONDEROSA              652 CALLE TRINITARIA                                                                    RIO GRANDE          PR         00745

   296127 MARCONI A ECHEVARRIA NIEVES REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708785 MARCONI AUTO SHOP INC       652 AVE PONCE DE LEON                                                                                                                SAN JUAN            PR         00918

   708786 MARCONI COMMUNICATIONS                      2690 WESTON ROAD SUITE 200                                                                                           WESTON              FL         33331
   296128 MARCOS A ACEVEDO TORO                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   296129 MARCOS A ALEGRIA                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   296130 MARCOS A ALVARADO COLON                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   296131 MARCOS A BAREA BONE                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708796 MARCOS A BARREIRO ROBLES                    PMB‐226 PO BOX 4985                                                                                                  CAGUAS              PR         00726
          MARCOS A BERRIOS
   296132 MALDONADO                                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   296134 MARCOS A BONILLA COLONDRES REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   296135 MARCOS A CALDERON LABOY    REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   708798 MARCOS A CARABALLO GARCIA                   VILLAS DE CUPEY              D 11 ZENOBIA                                                                            SAN JUAN            PR         00926



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          MARCOS A CARBALLO
   296136 BETANCOURT                                  REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708799 MARCOS A CARTAGENA RIVERA                   2 EXT COUNTRY CLUB              1167 OLIVIA PAOLI                                                                      SAN JUAN            PR           00924
   296137 MARCOS A COLON AGUIRRE                      REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708802 MARCOS A CORDERO MIRANDA COND PLAZA DEL PARQUE                              APART 321 ROAD 848                                                                     TRUJILLO ALTO       PR           00936‐2100
   708803 MARCOS A CRUZ GUINDIN     L 4 JESUS MARIA LAGOS                                                                                                                    UTUADO              PR           00641
   296138 MARCOS A DE JESUS ROSARIO REDACTED                                          REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708804 MARCOS A DIAZ                               VILLA COOPERATIVA D10 CALLE 2                                                                                          CAROLINA            PR           00985

   708805 MARCOS A DIAZ BETANCOURT                    HC 646 BOX 6336                                                                                                        TRUJILLO ALTO       PR           00976
   708787 MARCOS A DIAZ MARTINEZ                      PO BOX 43                                                                                                              RIO GRANDE          PR           00745
   708806 MARCOS A DIAZ OLMO                          PO BOX 609                                                                                                             VEGA BAJA           PR           00694
   708807 MARCOS A DIAZ RIVERA                        URB VILLAS DE CANDELERO         26 CALLE GOLONDRINA                                                                    HUMACAO             PR           00791
   296139 MARCOS A DIAZ SANTIAGO                      REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296140 MARCOS A FUERTES RIVERA                     REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708809 MARCOS A GARCIA CRUZ                        URB VILLA CAROLINA              CALLE 435 23 BLOQ 192                                                                  CAROLINA            PR           00985

   708810 MARCOS A GARCIA RODRIGUEZ                   URB SANTA MARIA                 H 1 CALLE 28                                                                           GUAYANILLA          PR           00656
   708794 MARCOS A GOMEZ CUADRO                       URB UNIVERSITY GARDENS          J‐19 CALLE 10                                                                          ARECIBO             PR           00612
   708811 MARCOS A GOMEZ REYNOSO                      2048 ARALEA                     LEVITOWN                                                                               TOA BAJA            PR           00949
   708812 MARCOS A GONZALEZ                           HC 43 BOX 10702                                                                                                        CAYEY               PR           00736

   296141 MARCOS A GONZALEZ ALMEIDA                   REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296142 MARCOS A GRACIA REYES                       REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARCOS A GUARDARRAMA
   708788 ORTIZ                                       HC 01 BOX 5938                                                                                                         JUNCOS              PR           00777
   296145 MARCOS A HERRERA BATISTA                    REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296146 MARCOS A LOPEZ COLON                        REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARCOS A MALDONADO
   296147 ALCOVER                                     REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708814 MARCOS A MELENDEZ VARGAS                    HC 3 BOX 8939                                                                                                          BARRANQUITAS        PR           00794
          MARCOS A MONTANEZ
   708815 DEFENDINI                                   24 CALLE SAN FERNANDO                                                                                                  ARROYO              PR           00714

   708816 MARCOS A MORELL CORRADA                     EDIF UNION PLAZA                416 PONCE DE LEON SUITE 1421                                                           SAN JUAN            PR           00918
   296150 MARCOS A MUNIZ CHIMELIS                     REDACTED                        REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296151 MARCOS A NAVARRO AQUINO                     REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708789 MARCOS A OLIVO CHARLES                      URB PUERTO NUEVO                266 CALLE 13 NO                                                                        SAN JUAN            PR           00920
   296152 MARCOS A OSORIO RUIZ                        REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296153 MARCOS A OTERO FONSECA                      REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296154 MARCOS A PEDRAZA COLON                      REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708818 MARCOS A PERAZA RIVERA                      URB FRONTERAS                   128 CALLE A CHAVIER                                                                    BAYAMON             PR           00961‐2909
   708819 MARCOS A PEREZ FRONTANY                     URB VALLE ARRIBA HEIGHTS        CL 2 CALLE 140                                                                         CAROLINA            PR           00983
   296155 MARCOS A PEREZ SANTIAGO                     REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708795 MARCOS A PEREZ SANTIAGO                     B B 1 14 VILLANOVA                                                                                                     SAN JUAN            PR           00926
   708822 MARCOS A PICHARDO ROJAS                     URB TORIMAR 5 7                 AVE RAMIREZ DE ARELLANO                                                                GUAYNABO            PR           00966
   708823 MARCOS A QUILES TORRES                      RR 1 BOX 11392                                                                                                         OROCOVIS            PR           00720




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          MARCOS A QUINONES
   296156 OQUENDO                                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296157 MARCOS A RAMIREZ CASTILLO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708824 MARCOS A RAMIREZ GALOFIN                    19 1/2 CALLE CEIBA                                                                                            AGUADILLA           PR           00603
   296158 MARCOS A RAMOS SERRANO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296159 MARCOS A REYES QUIJANO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296160 MARCOS A REYES VELEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708825 MARCOS A RIVERA                             363 PARC GALATEO            SECC VILLA TASCA                                                                  TOA ALTA            PR           00953
   296161 MARCOS A RIVERA ANDUJAR                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296162 MARCOS A RIVERA BONILLA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296163 MARCOS A RIVERA ECHEVARRIA REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARCOS A RODRIGUEZ
   296164 ALMODOVAR                  REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708826 MARCOS A RODRIGUEZ APONTE                   232 AVE ELEONOR ROOSEVELT                                                                                     SAN JUAN            PR           00907
          MARCOS A RODRIGUEZ
   708827 GONZALEZ                                    HC 06 BOX 71007                                                                                               CAGUAS              PR           00727
          MARCOS A RODRIGUEZ
   296165 MORALES                                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARCOS A RODRIGUEZ
   708828 SANTIAGO                                    VISTA ALEGRE                C‐42 CALLE A                                                                      PONCE               PR           00731

   296167 MARCOS A ROMERO CENTENO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708829 MARCOS A ROSADO                             PO BOX 2885                                                                                                   SAN SEBASTIAN       PR           00685
   708830 MARCOS A SANCHEZ                            ALT RIO GRANDE              V 1134 CALLE 21                                                                   RIO GRANDE          PR           00745

   708831 MARCOS A SANCHEZ RODRIGUEZ PO BOX 146                                                                                                                     HORMIGUEROS         PR           00660
   708832 MARCOS A SANCHEZ TORRES    35 MAYOR CANTERA                             APT 2                                                                             PONCE               PR           00730‐3026
   708833 MARCOS A SANTIAGO LOPEZ    URB VALPARAISO                               B 21 CALLE 10                                                                     TOA BAJA            PR           00949‐4043
   708834 MARCOS A TORRES PEDRAZA    RES RAUL CASTELLON                           EDIF 7 APTO 84                                                                    CAGUAS              PR           00725
   296169 MARCOS A TORRES VICENTE    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708835 MARCOS A TRAVERZO QUILES   HC 05 BOX 34306                                                                                                                SAN SEBASTIAN       PR           00685
   296170 MARCOS A VAZQUEZ RIVERA    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296171 MARCOS A VELAZQUEZ BAEZ    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708836 MARCOS A VELEZ NIEVES      BO CALLEJONES                                HC 01 3124                                                                        LARES               PR           00669
   708837 MARCOS A VIERA GOMEZ       HC 3 BOX 36371                                                                                                                 CAGUAS              PR           00725 9704

   296172 MARCOS A WILLIAMS VICENTY                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296173 MARCOS A ZUBRZYCKI                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296174 MARCOS A. ACEVEDO RAMOS                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708838 MARCOS A. ESTRONZA VELEZ                    PO BOX 2089                                                                                                   SAN JUAN            PR           00902
   296175 MARCOS A. LOPEZ                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARCOS A. MELENDEZ
   296176 CLEMENTE                                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708839 MARCOS A. MOULIER MOULIER                   P O BOX 823                                                                                                   BOQUERON            PR           00622‐0823
   708840 MARCOS A. NIEVES QUILES                     P.O. BOX 1708                                                                                                 CABO ROJO           PR           00623
   296177 MARCOS A. PEðALOZA PICA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296182 MARCOS A. RIVERA CATAQUET                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   296183 MARCOS A. RIVERA RODRIGUEZ                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708843 MARCOS A. TORO CANCEL                       HC 2 BOX 17611                                                                                                LAJAS               PR           00667
   708844 MARCOS ACEVEDO DE LEON                      BO LAS DOLORES              127 CALLE COLOMBIA                                                                RIO GRANDE          PR           00745
   296185 MARCOS ALLENDE DE JESUS                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296186 MARCOS ANTONIO CUETO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296187 MARCOS AROCHO                               REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296188 MARCOS ARROYO BOLANOS                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296189 MARCOS AVILES GINES                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708848 MARCOS AYALA RIOS                           URB SANTA RITA              1065 CALLE GONZALEZ                                                               SAN JUAN            PR           00925
   708849 MARCOS AYALA VAZQUEZ                        HC 3 BOX 7455                                                                                                 COMERIO             PR           00782

   708850 MARCOS BONETA MONTALVO                      HC 03 14741                                                                                                   UTUADO              PR           00641
   296191 MARCOS CANALS VIDAL                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708852 MARCOS CANCEL IRIZARRY                      HC 3 BOX 15489                                                                                                YAUCO               PR           00698
   708853 MARCOS CARABALLO VELEZ                      138 C/ LIGH HOUSE                                                                                             AGUADILLA           PR           00603

   708854 MARCOS CARRASQUILLO CRUZ                    URB BUENA VISTA             15 INT CALLE LAUREL                                                               CAROLINA            PR           00985
   708855 MARCOS CASTELLANO                           BUENA VISTA                 RR 8 BOX 2012                                                                     BAYAMON             PR           00956

   296192 MARCOS CHUPANY GONZALEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708856 MARCOS CINTRON BENITEZ                      200 SIERRA ALTA             BZN 21 S                                                                          SAN JUAN            PR           00926
   296193 MARCOS CLASS LUGO                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296194 MARCOS CLAUDIO OERO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708858 MARCOS COLON MARTINEZ                       HC 02 BOX 5104                                                                                                GUAYAMA             PR           00784
   296195 MARCOS COLON MERCADO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708859 MARCOS COLON VELEZ                          110 CALLE APONTE                                                                                              SAN JUAN            PR           00911‐2221
   708861 MARCOS CORIANO SANTIAGO                     PARCELA SOLEDAD             1366 CALLE J                                                                      MAYAGUEZ            PR           00680
   296197 MARCOS D AGUILA SASTRE                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARCOS D MALDONADO
   708862 SECOLA                                      VILLA DEL CARMEN            4322 AVE CONSTANCIA                                                               PONCE               PR           00716
   296198 MARCOS D. AGUILA SASTRE                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708864 MARCOS DE JESUS IRIZARRY                    P O BOX 21365                                                                                                 SAN JUAN            PR           00928
          MARCOS DE LA VILLA
   296199 RODRIGUEZ                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296200 MARCOS DE LOS SANTOS VALLES REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARCOS DELGADO / EQ T A     COOP JARDINES DE TRUJILLO
   708865 MASTERS                     ALTO                                        EDIF F APT 604                                                                    TRUJILLO ALTO       PR           00976
   296201 MARCOS DEVARIE              REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296202 MARCOS DIAZ DIAZ            REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708866 MARCOS DIAZ HERNADEZ        EXT MIRAFLORES                              44 26 CALLE 453                                                                   BAYAMON             PR           00957
   296203 MARCOS E COLON MARQUEZ      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708867 MARCOS E DEVARIE DIAZ                       232 AVE ELEONOR ROOSEVELT                                                                                     SAN JUAN            PR           00907
   708869 MARCOS E GARCIA DIAZ                        PO BOX 5442                                                                                                   CAGUAS              PR           00726
   296204 MARCOS E GUERRA PADILLA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296206 MARCOS E MARCUCCI SOBRADO REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296208 MARCOS E MEDINA RODRIGUEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296209 MARCOS E MUNIZ VELEZ      REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708870 MARCOS E NIEVES CRUZ      CARR 10 KM 16 9                                                                                                                 MOCA                PR           00676



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  708871 MARCOS E NIEVES DIAZ                         PO BOX 696                                                                                                   NARANJITO         PR           00719

   296210 MARCOS E PESQUERA VAZQUEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   296211 MARCOS E PLAUD RIVERA     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   296212 MARCOS E RODRIGUEZ RIVERA                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   296213 MARCOS E SEDA SANCHEZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   296214 MARCOS E VELEZ CACHO                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   708872 MARCOS E. RIVERA RIVERA                     P O BOX 4293                                                                                                 VEGA BAJA         PR           00694
   708873 MARCOS ELVIRA                               OFICINA DEL GOBERNADOR     LA FORTALEZA                                                                      SAN JUAN          PR           00902
          MARCOS ESTEBAN SANCHEZ
   296218 VALLE                                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   708874 MARCOS ESTRADA GOMEZ                        JARD DE MAYAGUEZ           EDIF 7 APT 710                                                                    MAYAGUEZ          PR           00680

   296219 MARCOS F HERNANDEZ ORTIZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   296220 MARCOS F MARTINEZ RIVERA                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   296221 MARCOS FELICI GIOVANINI                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MARCOS FELICIANO INSURANCE
   296223 GROUP INC                                   PO BOX 9023878                                                                                               SAN JUAN          PR           00902
   296224 MARCOS FELICIANO JIMENEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   708875 MARCOS FELICIANO JUARBE                     PO BOX 1401457                                                                                               ARECIBO           PR           00614

   708876 MARCOS FERNANDEZ MARTINEZ HC 9 1 BZN 8563                                                                                                                VEGA ALTA         PR           000692

   296225 MARCOS FIGUEROA FIGUEROA                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   296226 MARCOS FIGUEROA RODRIGUEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   708790 MARCOS FLOOR CARE         P O BOX 4791                                                                                                                   SAN JUAN          PR           00919

   296228 MARCOS G MOLINA FIGUEROA                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   296229 MARCOS G ROLON COLON                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   708880 MARCOS G. RIVERA CAMARA                     URB SANTA JUANITA          DW 1 CALLE ORIENTE                                                                BAYAMON           PR           00956

   296230 MARCOS G. SANTOS RODRIGUEZ REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   708881 MARCOS GARCIA CAMACHO      BOX 1441                                                                                                                      JUANA DIAZ        PR           00795
   296231 MARCOS GARCIA DIAZ         REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   296232 MARCOS GARCIA RIVERA       REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   708882 MARCOS GARCIA TORRES       BO OBRERO 717                               RIO DE JANEIRO                                                                    SAN JUAN          PR           00915
          MARCOS GARRIDO/
   296233 TUCASAVERDE COM INC        PO BOX 360696                                                                                                                 SAN JUAN          PR           00936‐0696

   708883 MARCOS GHIGLIOTT ACEVEDO                    URB MARIANI                1947 CALLE WISON                                                                  PONCE             PR           00717‐1211
   708884 MARCOS GIL DE RUBIO                         2823 WHISPER VIEW                                                                                            SAN ANTONIO       PR           78230
   708885 MARCOS GOMEZ VAZQUEZ                        FERNANDEZ JUNCOS STATION   PO BOX 19175                                                                      SAN JUAN          PR           00910

   296234 MARCOS GONZALEZ GONZALEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   296235 MARCOS GONZALEZ ORTIZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   296237 MARCOS GONZALEZ VAZQUEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   296216 MARCOS GRACIA RODRIGUEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MARCOS GROCERY /MARCOS A
   708887 DAVILA CRUZ                                 PO BOX 307                                                                                                   CULEBRA           PR           00775
   296238 MARCOS GUADALUPE BIRRIEL                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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   296239 MARCOS GUADALUPE VAZQUEZ REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708888 MARCOS GUERRERO ANDUJAR                     URB LA MARINA Q 24     CALLE I                                                                             CAROLINA            PR           00979
   708889 MARCOS H RAMIREZ                            SOLAR 296 FUY                                                                                              GUANICA             PR           00653
   296240 MARCOS HANCE HERRERO                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARCOS HERMINIO MENDEZ
   708890 SANTIAGO                                    PO BOX 613                                                                                                 ISABELA             PR           00662

   708892 MARCOS HERNANDEZ CINTRON                    HC 2 BOX 10297                                                                                             GUAYNABO            PR           00971

   708891 MARCOS HERNANDEZ MENDEZ                     HC 03 BOX 12018                                                                                            CAMUY               PR           00627
   296243 MARCOS HURTADO                              REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708893 MARCOS I DE JESUS OLMEDO                    PO BOX 445                                                                                                 SAN LORENZO         PR           00754
   296244 MARCOS I TORRES RIVERA                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296245 MARCOS J ACEVEDO RIOS                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296246 MARCOS J ANDRADE REVELO                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296247 MARCOS J BRENES MORALES                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296248 MARCOS J CORTES SANTIAGO                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296249 MARCOS J GONZALEZ RAMOS                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296250 MARCOS J HERNANDEZ CALERO                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296251 MARCOS J HERNANDEZ PEREZ                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296252 MARCOS J HUERTAS RODRIGUEZ REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296253 MARCOS J LEBRON GALAN        REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARCOS J LOPEZ AYALA / NAYDA
   296254 AYALA                        REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708894 MARCOS J MORAN OQUENDO       VILLA CAROLINA                        A 7 CALLE 1                                                                         CAROLINA            PR           00985
   708895 MARCOS J NIEVES GANDIA       URB LOS ROSALES II                    6TA AVE 33                                                                          MANATI              PR           00674
   296255 MARCOS J PADILLA FONSECA     REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296256 MARCOS J SANTIAGO PEREZ      REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708896 MARCOS J TORRES              PO BOX 693                                                                                                                SABANA GRANDE       PR           00637‐0693

   296257 MARCOS J VAZQUEZ RODRIGUEZ REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708897 MARCOS J VELZAQUEZ O FARRIL PO BOX 1069                                                                                                                ADJUNTAS            PR           00601

   296258 MARCOS J. HUERTAS RODRIGUEZ REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARCOS J. MACHUCA
   296259 RODRIGUEZ                   REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708898 MARCOS J. RODRIGUEZ         JARD DE PONCE                          J6 CALLE G                                                                          PONCE               PR           00731
   296260 MARCOS J. VEGA SALCEDO      REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296261 MARCOS JUSINO CRUZ          REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708899 MARCOS KARILEN GARCIA       2018 CALLE MAGNOLIA                                                                                                        SAN JUAN            PR           00915
   296262 MARCOS L ARROYO VEGA        REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARCOS L GONZALEZ
   296263 ECHEVARRIA                  REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708900 MARCOS L NUNCI PAGAN        HC 1 BOX 3318                                                                                                              LAJAS               PR           00667
   708901 MARCOS L RAMOS RAMOS        PO BOX 440                                                                                                                 NARANJITO           PR           00719

   708902 MARCOS L REYES VISCARRONDO RES JARDINES MONTE HATILLO              EDIF 1 APT 24                                                                       SAN JUAN            PR           00924




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          MARCOS L RODRIGUEZ
   296265 MELENDEZ                                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708903 MARCOS L TORRES VEGA                        PO BOX 59                                                                                                        CABO ROJO           PR           00623
   296266 MARCOS LOPEZ                                REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708905 MARCOS LOPEZ DELGADO                        URB MANACO II               12 CALLE LONDRES                                                                     MANATI              PR           00674
   708906 MARCOS LUGO ORTIZ                           URB COUNTRY CLUB            1126 JAMES BOND                                                                      SAN JUAN            PR           00924
   708908 MARCOS M GARCIA PADUA                       160 CALLE POST SUR                                                                                               MAYAGUEZ            PR           00680
   296269 MARCOS M MARTINEZ DIAZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296270 MARCOS M SANFELIZ BATISTA                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296272 MARCOS MARTINEZ                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296274 MARCOS MARTINEZ FREIGHT                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708909 MARCOS MARTINEZ GONZALEZ                    HC 3 BOX 15075                                                                                                   LAJAS               PR           00667
   708910 MARCOS MARTINEZ REYES                       HC 1 BOX 4426                                                                                                    COMERIO             PR           00782

   296275 MARCOS MARTINEZ TRAVERSO                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296276 MARCOS MARTINEZ VERA                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      RES LAS MARGARITAS PROYECTO
   708912 MARCOS MASSO                                214                         EDF 38 APT 342                                                                       SANTURCE            PR           00915
   296278 MARCOS MERCADO NUNEZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296279 MARCOS MERCADO TORRES                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296281 MARCOS MIRO FLECHA                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      URB PAMARENAS CALL EHOW
   708913 MARCOS MOJICA ROSARIO                       DURAS                       APT 191                                                                              LOIZA               PR           00772
   296282 MARCOS MONTES IRIZARRY                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296283 MARCOS MORALES BATISTA                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296284 MARCOS MORALES CRUZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARCOS MORALES
   708914 MALDONADO                                   P O BOX 8572                PAMPANOS STATION                                                                     PONCE               PR           00732
   296285 MARCOS MORALES SANTIAGO                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296286 MARCOS NUNEZ VELEZ                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708915 MARCOS O CASTRO ALICEA                      HC 01 BOX 4955                                                                                                   GURABO              PR           00778

   296287 MARCOS O FELICIANO CHAVES                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296288 MARCOS O JUARBE CAQUIAS                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708916 MARCOS OCASIO ARCE                          HC 01 BOX 4057                                                                                                   UTUADO              PR           00641
   296289 MARCOS ONATE INC                            CAPARRA TERRACE             1593 AVE JESUS T PI¨ERO                                                              SAN JUAN            PR           00921 1596
   296290 MARCOS ORTIZ ELIAS                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARCOS ORTIZ MUNOZ/
   296293 JINERGY CORP                                URB VALLES SAN LUIS         A 12 105 VIA DEL SOL                                                                 CAGUAS              PR           00725
   708917 MARCOS ORTIZ RODRIGUEZ                      P O BOX 2606                                                                                                     MAYAGUEZ            PR           00681
   708918 MARCOS ORZA RAMOS                           URB COSNTANCIA 3271         CALLE LAFAYETTE                                                                      PONCE               PR           00717‐2243
   296294 MARCOS PAGAN GONZALEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708921 MARCOS PAGAN ORTIZ                          PO BOX 430                                                                                                       SANTA ISABEL        PR           00757
   296295 MARCOS PARETO MARTINEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708791 MARCOS PASTRANA                             PO BOX 11201 RR6                                                                                                 SAN JUAN            PR           00926
   296296 MARCOS PENA GONZALEZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708922 MARCOS PEREZ CRUZ                           PO BOX 195285                                                                                                    SAN JUAN            PR           00919
   708923 MARCOS PEREZ CURET                          P O BOX 60 307                                                                                                   BAYAMON             PR           00960
   296298 MARCOS PEREZ MENDEZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708925 MARCOS PIZARRO FUENTES                      BO MEDIANIA BAJA            SECTOR HONDURAS                                                                      LOIZA               PR           00772
   296299 MARCOS QUINONES                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296300 MARCOS QUINONES IGLESIAS                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  296301 MARCOS R APONTE REYES                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   296302 MARCOS R RODRIGUEZ ALFONSO REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   708928 MARCOS R SUAREZ SAWARD     HC 01 BOX 5141                                                                                                                SALINAS             PR       00751‐9766
   708792 MARCOS R SUAREZ SAWAREL    URB LAS MARIAS                              C 4 CALLE 6                                                                       SALINAS             PR       00751
   296303 MARCOS RAMOS ALEJANDRO     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   296304 MARCOS RAMOS CAMACHO       REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   708932 MARCOS RAMOS VELEZ         20 URB TROPICAL BCH # A                                                                                                       NAGUABO             PR       00718
   296305 MARCOS RESTO               REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   708933 MARCOS REYES ROSARIO       PO BOX 1494                                                                                                                   UTUADO              PR       00641
   296306 MARCOS RIJO                REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   708934 MARCOS RIVERA ESCUDERO     HC 1 BOX 3590                                                                                                                 LOIZA               PR       00772
   708935 MARCOS RIVERA RIVERA       PO BOX 809                                                                                                                    COMERIO             PR       00782

   708936 MARCOS ROBLEDO RODRIGUEZ                    PO BOX 7126                                                                                                  PONCE               PR         00732

   296307 MARCOS ROBLES HERNANDEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARCOS RODRIGUEZ &
   708937 ASOCIADOS                                   1357 AVE ASHFORD 322                                                                                         SAN JUAN            PR         00907‐1403
          MARCOS RODRIGUEZ
   296308 ALBALADEJO                                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708939 MARCOS RODRIGUEZ ARQ                        1357 AVE ASHFORD NUM 322                                                                                     SAN JUAN            PR         00907
   296309 MARCOS RODRIGUEZ EMMA                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   708940 MARCOS RODRIGUEZ GONZALEZ                   COND JARD DE GUAYAMA       APT 403 EDIF B                                                                    SAN JUAN            PR         00917
          MARCOS RODRIGUEZ
   296311 RODRIGUEZ                                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   296312 MARCOS RODRIGUEZ RUIZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708942 MARCOS ROLON ACEVEDO                        PO BOX 55                                                                                                    COROZAL             PR         00783
   296313 MARCOS ROMAN QUINONES                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   296314 MARCOS ROSADO GONZALEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   296315 MARCOS ROSARIO QUINTANA                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708944 MARCOS RUIZ PEREZ                           PO BOX 9021112                                                                                               SAN JUAN            PR         00902‐1112
   708945 MARCOS S TALAVERA LLOVET                    HC 2 BOX 7438                                                                                                AGUADILLA           PR         00603‐9643
   708946 MARCOS SALDIVAR ESPINO                      URB ALT DE FLAMBOYAN       DD 1 CALLE 18                                                                     BAYAMON             PR         00959

   296316 MARCOS SAMBRANA MARTINEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708947 MARCOS SANTANA ESPADA                       URB SANTA ELVIRA           B 13                                                                              CAGUAS              PR         00725
   296317 MARCOS SANTIAGO CRUZ                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708948 MARCOS SANTIAGO MERCED                      PO BOX 7126                                                                                                  PONCE               PR         00732
   708949 MARCOS SANTIAGO ROMAN                       HC 05 BOX 31565                                                                                              HATILLO             PR         00659
   296322 MARCOS SANTOS BONNET                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   296323 MARCOS TOLEDO ALVAREZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708952 MARCOS TORRES GARCIA                        VILLA DEL CARMEN           2772 CALLE TOLEDO                                                                 PONCE               PR         00716
   708953 MARCOS TORRES RIVERA                        URB VIVES                  124 CALLE 4                                                                       GUAYAMA             PR         00784

   296324 MARCOS V TORRES ECHEVARRIA                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARCOS VALLS LAW OFFICES
   296325 CSP                                         PO BOX 363641                                                                                                SAN JUAN            PR         00936‐3641
   296326 MARCOS VARGAS                               REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   708954 MARCOS VARGAS AGOSTO                        62 CALLE LICEO             APT 3                                                                             MAYAGUEZ            PR         00680
   708955 MARCOS VAZQUEZ COLON                        URB INTERAMERICANA         AE 28 CALLE 31                                                                    TRUJILLO ALTO       PR         00936




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   708956 MARCOS VELAZQUEZ MANGUAL HC 645 BOX 6291                                                                                                                   TRUJILLO ALTO       PR           00976
   296328 MARCOS VELEZ IRIZARRY    REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296329 MARCOS VERDEJO CALDERON                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708957 MARCOS VIDAL DIAZ                           PO BOX 1877                                                                                                    GUAYNABO            PR           00970
   708793 MARCOS VIDAL GAMBARO                        PMB 219 SUITE 67           35 CALLE JUAN C BORBON                                                              GUAYNABO            PR           00961
   708958 MARCOS VIERA FIGUEROA                       HC 67 BOX 15719                                                                                                BAYAMON             PR           00958
   708959 MARCOS VILLEGAS FIGUEROA                    HC 01 BOX 6490                                                                                                 GUAYNABO            PR           00971
   296330 MARCOS X GARAY PEREZ                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296331 MARCOS Y GONZALEZ ARROYO                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296332 MARCOS ZAMBRANA MARTINEZ REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296357 MARCUS & ALEXIS SPORTWEAR                   LEVITOWN STATION           P O BOX 51502                                                                       LEVITOWN            PR           00950
          MARCUS & ALEXIS SPORTWEAR
   708960 INC                                         AVE COMERIO 167            630 LEVITTOWN                                                                       TOA BAJA            PR           00949
   296358 MARCUS A COLLINS CRUZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296359 MARCUS DROZ RAMOS                           REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296360 MARCUS I ARROYO MARRERO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296361 MARCUS L SANTIAGO OQUENDO REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708962 MARCUS M FERNANDEZ CHINEA                   P O BOX 8899                                                                                                   BAYAMON             PR           00960
   296343 MARCUS P PUGLIELLI                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708964 MARCUS PITTER                               47 40 21 ST STREET                                                                                             LONG ISLAN CITY     NY           11101
   708965 MARCUS R GONZALEZ REYES                     LAGOS DEL PLATA            J‐18 CALLE 9                                                                        TOA BAJA            PR           00949
                                                      URB. CAPARRA HEIHTS 1465
   708966 MARCUS R. RODRIGUEZ SCULL                   CALLE EDEN                                                                                                     SAN JUAN            PR           00920
   296363 MARCUS RENTA LOPEZ                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708967 MARCUS RODRIGUEZ SPARKS                     URB VISTA VERDE            7 CALLE CORAL                                                                       MAYAGUEZ            PR           00680
   296365 MARDEL DE PUERTO RICO                       PO BOX 367017                                                                                                  SAN JUAN            PR           00936‐7017

   708970 MARDEL DE PUERTO RICO INC                   TRES MONJITAS              CALLE CALAF NUM 31                                                                  SAN JUAN            PR           00918
   708972 MARDEL DISTRIBUTORS                         PO BOX 8744                                                                                                    SAN JUAN            PR           00910
   708973 MARDEL ENTERPRISES INC.                     PO BOX 367017                                                                                                  SAN JUAN            PR           00936‐7017
   296366 MARDEL PUERTO RICO                          PO BOX 367017                                                                                                  SAN JUAN            PR           00936‐7017
   708975 MARDI L ITHIER                              111 BOSQUE VERDE                                                                                               CAGUAS              PR           00726
          MARDO INTERNATIONAL
   296367 DISTRIBUTING INC                            P O BOX 29791                                                                                                  SAN JUAN            PR           00929‐0791
   296369 MARE A VAZQUEZ VAZQUEZ                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708976 MARE VEGA MIRANDA                           LOS ALMENDROS              TILO EB 9                                                                           BAYAMON             PR           00961
          MAREDIS GABRIELA COLON /
   296370 ENID A PEREIRA                              REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708977 MAREIA QUINTERO RIVERA                      PO BOX 9020319                                                                                                 SAN JUAN            PR           00902
   708978 MAREL BAYAMON INC                           PO BOX 9382                                                                                                    BAYAMON             PR           00960‐8043
   708979 MAREL COPIERS INC                           PO BOX 363506                                                                                                  SAN JUAN            PR           00936
   296371 MAREL CORP.                                 AVE.ROOSEVELT # 139                                                                                            HATO REY            PR           00918‐0000
   296373 MAREL CORPORATION                           139 AVE ROOSVELT                                                                                               SAN JUAN            PR           00936
   296378 MAREL I NIEVES ORTIZ                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708980 MAREL RIOS MOREIRA                          RES VIRGILIO DAVILA        EDIF 46 APTO 436                                                                    BAYAMON             PR           00959




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   708981 MAREL TORRES DIAZ                           HACIENDA LA MATILDE         5687 PASEO MORELL CAMPOS                                                              PONCE               PR           00728
   296379 MAREL Y AYALA TORRES                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296380 MARELI A MORALES SANTIAGO                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296381 MARELI AVILES RIVERA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708982 MARELIE GARCIA TORRES                       URB COLINAS DE YAUCO        CALLE 2 F ‐ 4                                                                         YAUCO               PR           00698

   708983 MARELIN RODRIGUEZ DE JESUS                  PO BOX 94                                                                                                         CIDRA               PR           00739

   296382 MARELINE ACEVEDO MORALES                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296383 MARELINE TORRES VELAZQUEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296384 MARELIS LEBRON PADILLA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296385 MARELIS ORTIZ RIVERA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296386 MARELISA ALICEA RODRIGUEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708984 MARELISA MORENO VELEZ                       PO BOX 22                                                                                                         SAN SEBASTIAN       PR           00685
   708985 MARELIZA MARTIN TORELLAS                    BO BALBOA                   BOX 1064                                                                              MAYAGUEZ            PR           00680
   296387 MARELLI COLON EMERIC                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   708986 MARELLO MARINE CONSULTING                   7942 ADEN LOOP                                                                                                    NEW PORT RICHEY     NY           34655
   708987 MARELLY DIAZ HERNANDEZ                      HC 01 BOX 7014                                                                                                    GURABO              PR           00778
   708988 MARELSA A RIVAS ALVARADO                    HC 1 BOX 5725                                                                                                     OROCOVIS            PR           00720
          MARELSA BANUCHI
   296388 MALDONADO                                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708989 MARELVI VAZQUEZ DELGADO                     URB LIRIOS CALA             5 CALLE SAN CIPRIAN                                                                   JUNCOS              PR           00777
   296389 MARELY A ORTIZ ACEVEDO                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708990 MARELY M TORRES CRUZ                        URB METROPOLIS              25‐1 CALLE 42                                                                         CAROLINA            PR           00987
   296392 MARELYN MARTINEZ SANTINI                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARELYN RODRIGUEZ DE
   708991 RAMOS                                       URB LOS LLANOS              B3 URB LOS LLANOS                                                                     SANTA ISABEL        PR           00757

   708992 MARELYNE VICENTY MORALES                    RES JUAN CORDERO DAVILA     EDIF 22 APT 291                                                                       SAN JUAN            PR           00917
   296393 MARELYS GONZALEZ HILERIO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296394 MARELYS SANTOS FLORES                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296395 MAREMAR INC                                 20 CALLE B                  URB LINDA COURT                                                                       BAYAMON             PR           00959

   708993 MAREN FIGARELLA RIESTRA                     MC 20 URB PARQUE DEL MONTE                                                                                        TRUJILLO ALTO       PR           00976‐6094
   296396 MARENA A LOPEZ RIVERA                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296397 MARENA CARRION SILEN                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708994 MARENID Z LISBOA JIMENEZ                    URB VERSALLES              E‐12 CALLE 4                                                                           BAYAMON             PR           00959
   296432 MARESA Y HIRALDO SUAREZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296434 MARETZA RIVERA SOTO                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708995 MAREY HEATER                                PO BOX 6281                                                                                                       SAN JUAN            PR           00914
   296435 MAREYLI SOTO AROCHO                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   708996 MAREZA BARREDO FREIRE                       URB PUERTO NUEVO           1041 CALLE 2 SE                                                                        SAN JUAN            PR           00921
   708997 MARFIL AND ASOCIADOS                        PO BOX 372935                                                                                                     CAYEY               PR           00732
          MARFRAN DEVELOPMET
   708999 CORPORATION                                 P O BOX 270012                                                                                                    SAN JUAN            PR           00927‐0012
   709000 MARGA E SCHMIT                              BOX 642                                                                                                           VILLALBA            PR           00766
   296449 MARGA ROSARIO ROMAN                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709001 MARGA SILVESTRE                             282 CALLE SOL                                                                                                     SAN JUAN            PR           00901



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   709003 MARGA W SANTIAGO AGOSTO                     HC 2 BOX 11385                                                                                                    COROZAL             PR           00783

   709004 MARGAMARY FIGUEROA RIVERA URB HIPODROMO                                   1457 CALLE FERIA                                                                    SAN JUAN            PR           00909
          MARGARA HERNANDEZ
   709005 GONZALEZ                  PO BOX 1057                                                                                                                         MOCA                PR           00676

   296450 MARGARA SANTIAGO SERRANO                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296452 MARGARET A SALAMY                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296453 MARGARET ANN GUILLOT                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      OFICINA CENTRAL DE
   709007 MARGARET ARROYO                             COMUNICACIONES                PO BOX 9020082                                                                      SAN JUAN            PR           00902 0082
   709008 MARGARET ARTZ                               PO BOX 513                                                                                                        CIDRA               PR           00739
   709006 MARGARET BRADY CANET                        URB LOS ANGELES               WD 9 CALLE BEGONIA                                                                  CAROLINA            PR           00979

   709009 MARGARET BURROUGHS                          I GUSTAVE LEVY PL/ BOX 1200                                                                                       NEW YORK            NY           10029
   296454 MARGARET CARDIERI                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARET CASASNOVAS
   296455 MALAVE                                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296456 MARGARET COLON CINTRON                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARET CRESPO REYES AC/
   296457 AMPARO REYES                                REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296458 MARGARET CRUZ PEREZ                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296459 MARGARET DAVILA PEREZ                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709012 MARGARET G REGO                             PO BOX 1456                                                                                                       LARES               PR           00669‐1456
   296460 MARGARET GARCIA RIVERA                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709014 MARGARET L SOSA BODON                       PO BOX 11002                                                                                                      SAN JUAN            PR           00922
   296461 MARGARET M FLYNN FUERTE                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709015 MARGARET M REVERE HALL                      HC 9 BOX 1579                                                                                                     PONCE               PR           00731‐9712
   709016 MARGARET MEJIA SERSHEN                      PO BOX 9021112                                                                                                    SAN JUAN            PR           00902‐1112
   296462 MARGARET MENDOZA DOBLE                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709019 MARGARET MORALES                            1678 SUMMIT HILLS APT 2       CALLE BELEN                                                                         SAN JUAN            PR           00920
          MARGARET P SCHMIDT
   709021 FERNANDEZ                                   URB LA ARBORADA F 15          CALLE CEIBA                                                                         CAGUAS              PR           00725

   296463 MARGARET PINEIRO OQUENDO                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709024 MARGARET SATCHELL                           1 GUSTAVE LEVE PL BOX 1200                                                                                        NEW YORK            NY           10029
   709025 MARGARET SOSA DELGADO                       URB ROLLING HILLS             M 295 CALLE ISRAEL                                                                  CAROLINA            PR           00987
   709026 MARGARET TORRADO KAY                        563 AVE ROTARIO                                                                                                   ARECIBO             PR           00612
   296464 MARGARET VAN KIRK                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296465 MARGARET WOLFE                              REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARETTEL ALVAREZ
   709027 RODRIGUEZ                                   URB LOS DOMINICOS             E132A CALLE SAN RAFAEL                                                              BAYAMON             PR           00957
   709028 MARGARIDA MUSIC INC.                        318 AVE JESUS T PINERO                                                                                            SAN JUAN            PR           00927

   296469 MARGARITA ACEVEDO CORTES                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296470 MARGARITA AGOSTO ACOSTA                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709043 MARGARITA AGOSTO ROSARIO                    BDA.BORINQUEN 35                                                                                                  SAN JUAN            PR           00921
   709030 MARGARITA AGRON MU¥IZ                       URB ALTURAS DE MAYAGUEZ       112 CALLE ALMIRANTE                                                                 MAYAGUEZ            PR           00682‐6284

   709046 MARGARITA ALEMAN VAZQUEZ                    COND EL ALCAZAR 350           CALLE VALCARCEL          APT 13 K                                                   SAN JUAN            PR           00924
   296472 MARGARITA ALVAREZ LOPEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  709051 MARGARITA ALVAREZ ROBLES                     PO BOX 642                                                                                                             CIALES               PR         00638
  296473 MARGARITA ALVAREZ SUAREZ                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   709053 MARGARITA AMADOR GARCIA                     HC 01 BOX 6957                                                                                                         GUAYNABO             PR         00971
          MARGARITA ANASTACIO
   709054 PANTOJA                                     36 CALLE JUAN COLON         BARRIADA SANDIN                                                                            VEGA BAJA            PR         00694
   296475 MARGARITA APONTE                            REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   296476 MARGARITA APONTE DIAZ                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   296477 MARGARITA APONTE PARES                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   709055 MARGARITA ARIZMENDI COLON HC 02 BOX 9274                                                                                                                           AIBONITO             PR         00705
          MARGARITA ARROYO
   709056 ZENGOTITA                 URB REPTO UNIVERSITARIO                       385 CALLE CITADEL                                                                          SAN JUAN             PR         00926

   709057 MARGARITA ARZOLA FIGUEROA                   BO LUILLO BAYO              CARR 853 KM 2 5                                                                            CAROLINA             PR         00986
   709058 MARGARITA ASTACIO ORTIZ                     HC 4 BOX 17091                                                                                                         CAMUY                PR         00627
   709059 MARGARITA AVILES                            STA TERESITA                2218 SOLDADO CRUZ                                                                          SANTURCE             PR         00913
   296478 MARGARITA AYALA BELTRAN                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
          MARGARITA AYALA
   709060 ENCARNACION                                 P O BOX 7428                                                                                                           SAN JUAN             PR         00916
   709061 MARGARITA AYALA NEGRON                      COND LAS MESAS              APT 401 CARR 349 KM 5.2                                                                    MAYAGUEZ             PR         00680
   709062 MARGARITA AYALA RIVERA                      JARD DE CANOVANAS           D 12 CALLE 2                                                                               CANOVANAS            PR         00729
          MARGARITA BARBOSA
   296479 SANTIAGO                                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   709063 MARGARITA BARINES SOTO                      BO PLAYA AA 20                                                                                                         SALINAS              PR         00751
   709066 MARGARITA BENITEZ                           519 CALLE BARBE                                                                                                        SAN JUAN             PR         00907

   709068 MARGARITA BENITEZ BENCEBI                   PUERTO NUEVO                1010 CALLE ARABIA ESQ ALGERIA                                                              SAN JUAN             PR         00920
   709069 MARGARITA BENITEZ LOZADA                    BOX 323                                                                                                                GUAYAMA              PR         00785

   709070 MARGARITA BERNARD RAMIREZ URB RAMIREZ DE ARELLANO                       53 ST E KOPPISH                                                                            MAYAGUEZ             PR         00680
   709072 MARGARITA BERRIOS CRUZ    BO RIO ABAJO                                  RR 1 BZN 2246                                                                              CIDRA                PR         00739

   296481 MARGARITA BERRIOS DELANNOY REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
          MARGARITA BERRIOS
   296482 RODRIGUEZ                  REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
          MARGARITA BETANCOURT
   709073 RIVERA                     PO BOX 1663                                                                                                                             CIDRA                PR         00739
   709074 MARGARITA BOBONIS          EXT VILLA CAROLINA                           C 517 209 12‐5                                                                             CAROLINA             PR         00985
   709075 MARGARITA BONANO RUIZ      RES EL CEMI                                  EDIF 1 APTO. 8                                                                             LUQUILLO             PR         00773
   709076 MARGARITA BONET DE JESUS   PO BOX 1400                                                                                                                             MOROVIS              PR         00687
   296483 MARGARITA BONILLA COLON    REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   709077 MARGARITA BORGES TIRADO    URB OREILLY                                  79 CALLE 3                                                                                 GURABO               PR         00778

   709078 MARGARITA BRUNO PADILLA                     232 AVE ELEONOR ROOSEVELT                                                                                              SAN JUAN             PR         00907
   709079 MARGARITA BULA FIGUEROA                     URB CABRERA                 25 CALLE E                                                                                 UTUADO               PR         00641

   709080 MARGARITA BURGOS MORALES URB JARDINES DE TOA ALTA                       232 CALLE 8                                                                                TOA ALTA             PR         00953

   296485 MARGARITA BURGOS ROSARIO                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   296486 MARGARITA CABAN MORENO                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   709081 MARGARITA CADIZ FIGUEROA                    URB LAS LOMAS               753 CALLE 29 SO                                                                            SAN JUAN             PR         00921
   296487 MARGARITA CALO MARTINEZ                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED



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          MARGARITA CAMACHO
   709082 MIRALLES                                    PO BOX 19071                                                                                               SAN JUAN            PR           00910‐1071

   709083 MARGARITA CAMACHO RIVERA                    URB SANTA MARTA        13 CALLE A                                                                          SAN GERMAN          PR           00683
          MARGARITA CAMARA
   296488 COLOMBANI                                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296489 MARGARITA CAMINERO MILAN                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709031 MARGARITA CANCIO                            P O BOX 861773                                                                                             ORLANDO             FL           32886‐1773
          MARGARITA CANDELARIA
   296494 MALDONADO                                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

          MARGARITA CANTELLOPS/JORGE
   709032 CARRASQUILLO               URB LAS LOMAS                           821 CALLE 27 SO                                                                     SAN JUAN            PR           00921

   709084 MARGARITA CARRASCO OLMEDA HC 03 BOX 40752                                                                                                              CAGUAS              PR           00725

   709085 MARGARITA CARRERA ESCOBAR PROG. SERA BAYAMON                                                                                                           Hato Rey            PR           009360000

   709086 MARGARITA CARRION CASTRO                    84 CALLE PALMER                                                                                            CANOVANAS           PR           00729
          MARGARITA CARTAGENA
   296495 FERNANDEZ                                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA CASALDUC
   296497 CASALDUC                                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709087 MARGARITA CASTRO ORTIZ                      URB VILLA MARIA        E 10 CALLE 5                                                                        CAGUAS              PR           00725
   296498 MARGARITA CASTRO PAGAN                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296499 MARGARITA CASTRO RODRIGUEZ REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296500 MARGARITA CAY DELGADO      REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA CENTENO
   709088 FONTANEZ                   PO BOX 30                                                                                                                   AGUAS BUENAS        PR           00703

   709089 MARGARITA CERVERA ROSARIO                   URB BONNEVILLE HTS     A1 CALLE 7                                                                          CAGUAS              PR           00725
   709090 MARGARITA CHACON RUBIO                      POBLADO SAN ANTONIO    PO BOX 575                                                                          AGUADILLA           PR           00690
   709091 MARGARITA CHICO FUENTES                     PO BOX 608                                                                                                 NAGUABO             PR           00718
   709092 MARGARITA CINTRON                           RR 1 BO POZUELO                                                                                            GUAYAMA             PR           00784

   296502 MARGARITA CINTRON DE ARMAS REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709093 MARGARITA CINTRON TORRES                    RR 02 BOX 8031                                                                                             TOA ALTA            PR           00953
   709094 MARGARITA CLAUDIO COLON                     URB LA PLATA           C 25 CALLE AQUAMARINA                                                               CAYEY               PR           00736
          MARGARITA CLAUDIO
   709095 RODRIGUEZ                                   URB CIUDAD CRISTIANA   454 CALLE BOLIVIA                                                                   HUMACAO             PR           00791

   709096 MARGARITA CLEMENTE RIVERA                   URB VILLAS DE LOIZA    AD 19 CALLE 24                                                                      CANOVANAS           PR           00729
   296504 MARGARITA COLL DE SILVA                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296505 MARGARITA COLLET ECHEVARIA REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296506 MARGARITA COLON BERRIOS    REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709097 MARGARITA COLON FELIX      HC 1 BOX 4455                                                                                                               YABUCOA             PR           00767‐9604

   709099 MARGARITA COLON MARTINEZ                    BOX 363                                                                                                    JUANA DIAZ          PR           00795
   296508 MARGARITA COLON ORTIZ                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  709101 MARGARITA COLON RIVAS                        BO PALO SECO                  SECTOR LOS CHINOS BOX 9                                                                MAUNABO              PR           00707

   709102 MARGARITA COLON RODRIGUEZ                   1600 HASKELL AVE APT 164                                                                                             LAWRENCE             KS           66044
   296509 MARGARITA COLON ROMAN                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   709103 MARGARITA COLON ROSARIO                     PLAZA ANTILLANA               4801 CALLE CESAR GONZALEZ                                                              HATO REY             PR           00918
   709104 MARGARITA COLON VEGA                        VILLA BEATRIZ B 13                                                                                                   MANATI               PR           00674
   709105 MARGARITA CONDE CRUZ                        HC 1 BOX 6202                                                                                                        SANTA ISABEL         PR           00757
   709106 MARGARITA CONDE ROSADO                      RES KENNEDY                   BLOQ 4 APTO 25                                                                         JUANA DIAZ           PR           00975
   296510 MARGARITA CORA DIAZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   296511 MARGARITA CORA MORALES                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          MARGARITA CORDERO
   296512 RODRIGUEZ                                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   709108 MARGARITA CORRADA MEJIA                     PO BOX 8330                                                                                                          SAN JUAN             PR           00910‐8330
   709109 MARGARITA CORREA                            PO BOX 1015                                                                                                          CEIBA                PR           00735
   709110 MARGARITA CORREA PABON                      CALLE LINO LADRON             BUZON 2 PARCELAS AMADEO                                                                VEGA BAJA            PR           00693
   709033 MARGARITA CORREA PEREZ                      P O BOX 10973                 CAPARRA HEIHT STATION                                                                  SAN JUAN             PR           00922 0973
   709112 MARGARITA CORTES                            PO BOX 744                                                                                                           MOCA                 PR           00676

   709113 MARGARITA CORTES IRIZARRY                   13 BO PALMARITO                                                                                                      UTUADO               PR           00641

   709114 MARGARITA CORTIJO SALCEDO                   URB.HACIENDAS DEL NORTE       AA16 CALLEB                                                                            TOA BAJA             PR           00949
   709115 MARGARITA COSME GUZMAN                      HC 02 BOX 9114                                                                                                       LAS MARIAS           PR           00670
   296513 MARGARITA COSME VARGAS                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   709116 MARGARITA COSS FLORES                       HC 20 BOX 26038                                                                                                      SAN LORENZO          PR           00754
   296514 MARGARITA COTTO NUNEZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   709117 MARGARITA CRESPO GONZALEZ URB VILLAS DE CASTRO                            K 11 A CALLE 6                                                                         CAGUAS               PR           00725

   296515 MARGARITA CRESPO RODRIGUEZ REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   296516 MARGARITA CRESPO ROSA      REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   709119 MARGARITA CRUZ             HC 01 BOX 2357                                                                                                                        JAYUYA               PR           00664
                                     HP ‐ OFC. FACTURACION Y
   709121 MARGARITA CRUZ ARCE        COBROS                                                                                                                                RIO PIEDRAS          PR           00936‐0000
   709123 MARGARITA CRUZ BIRRIEL     HC 02 BOX 14372                                                                                                                       CAROLINA             PR           00987‐9715
   709125 MARGARITA CRUZ DE JESUS    URB VALENCIA 410                               CALLE SAVIA                                                                            SAN JUAN             PR           00923

   709126 MARGARITA CRUZ DE LA TORRE                  274 URB JARDINES DEL CARIBE                                                                                          PONCE                PR           00728
   296517 MARGARITA CRUZ DELGADO                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   709127 MARGARITA CRUZ MALDONADO HC 01 BOX 3798                                                                                                                          BARRANQUITAS         PR           00794
   296518 MARGARITA CRUZ MEDINA    REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   296519 MARGARITA CRUZ MORALES   REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   709128 MARGARITA CRUZ ORTIZ     PO BOX 899                                                                                                                              PATILLAS             PR           00723
   709129 MARGARITA CRUZ PEREZ     PO BOX 762                                                                                                                              SALINAS              PR           00751
   296520 MARGARITA CRUZ RIVERA    REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   296522 MARGARITA CUEBAS CUEBAS  REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   771165 MARGARITA CUEVAS SERRANO                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   709132 MARGARITA DAVILA                            MARQUES ARBONA                EDIF 3 APT 32                                                                          ARECIBO              PR           00612
   296523 MARGARITA DE JESUS FLORES                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   296524 MARGARITA DE JESUS MARTINEZ REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED




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   709134 MARGARITA DE JESUS MORALES                  P O BOX 1075                                                                                                  GURABO              PR           00778
   296525 MARGARITA DE JESUS RIVERA                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA DE JESUS
   709135 VALDERRAMA                                  APT 1132                                                                                                      CIALES              PR           00638
   709136 MARGARITA DE LOS SANTOS                     RES NEMESIO R CANALES     EDIF 45 APTO 894                                                                    SAN JUAN            PR           00918
   296526 MARGARITA DEL P LOYOLA                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA DEL VALLE
   709139 RODRIGUEZ                                   PMB 273 PO BOX 1283                                                                                           SAN LORENZO         PR           00754‐1283

   709140 MARGARITA DELGADO NIEVES                    HC 40 BOX 40306                                                                                               SAN LORENZO         PR           00754
          MARGARITA DELGADO Y/O ANA
   296528 G CASANA                                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709141 MARGARITA DIAZ CAMACHO                      PO BOX 917                                                                                                    DORADO              PR           00646
   709142 MARGARITA DIAZ CUASCUT                      RES QUINTANA              EDIF 16 APT 188                                                                     SAN JUAN            PR           00918
   709144 MARGARITA DIAZ DIAZ                         HC 03 BOX 13945                                                                                               COROZAL             PR           00783‐9808
   709145 MARGARITA DIAZ MARTINEZ                     URB LA ARBOLEDA           176 CALLE 18                                                                        SALINAS             PR           00751
   296529 MARGARITA DIAZ OYOLA                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296531 MARGARITA DIAZ REYES                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709149 MARGARITA DIAZ SANTAELLA                    PO BOX 1764                                                                                                   TRUJILLO ALTO       PR           00977
   296532 MARGARITA DIAZ SANTANA                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA DIAZ Y LUIS A
   296533 GALINDEZ                                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296534 MARGARITA E CRUZ VAZQUEZ                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709154 MARGARITA E OSUMA VAZQUEZ URB FLORES DE MONTEHIEDRA                   669 MIRAMELINDA                                                                     SAN JUAN            PR           00926
   709155 MARGARITA E PEREZ RUIZ    RR 4 BOX 13634                                                                                                                  ANASCO              PR           00610

   709156 MARGARITA ESQUILIN MILLAN                   RES MONTE PARK            EDF F APT 85                                                                        SAN JUAN            PR           00924
   296536 MARGARITA ESTEVA NADAL                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709157 MARGARITA F GARCIA CAINO                    C/O CONCILIACION 98‐972   PO BOX 9024140                                                                      SAN JUAN            PR           00902‐4140

   709160 MARGARITA FEBO RODRIGUEZ                    URB EL MIRADOR DE CUPEY   A 6 CALLE 2                                                                         SAN JUAN            PR           00926
   296538 MARGARITA FELICIANO                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296539 MARGARITA FELICIANO APOLIN                  REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296540 MARGARITA FELICIANO GARCIA                  REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709161 MARGARITA FELICIANO GOMEZ                   URB VILLA FONTANA         VL 3 VIA 24                                                                         CAROLINA            PR           00983‐3956
          MARGARITA FERNANDEZ
   296541 CALDERON                                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709163 MARGARITA FIGUEROA ALVAREZ HC 1 BOX 3319                                                                                                                  YABUCOA             PR           00767‐9602
   709164 MARGARITA FIGUEROA DIAZ    HC 2 BOX 8566                                                                                                                  CIALES              PR           00638

   296542 MARGARITA FIGUEROA IRIZARRY REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709165 MARGARITA FIGUEROA JIMENEZ BO CANDELARIA                              SECT LA 50                                                                          LAJAS               PR           00667

   709166 MARGARITA FIGUEROA PONCE                    PO BOX 704                                                                                                    HORMIGUEROS         PR           00660




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   709167 MARGARITA FIGUEROA RAMOS                    BO CARRIZALES II       1 CALLE 1                                                                                HATILLO             PR           00659
   296543 MARGARITA FIGUEROA TORO                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709168 MARGARITA FLORES CARRION                    HC 40 BOX 44822                                                                                                 SAN LORENZO         PR           00754‐9803
   296544 MARGARITA FLORES MEJIAS                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296545 MARGARITA FLORES NAZARIO                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709035 MARGARITA FONSECA                           HC 44 BOX 14476                                                                                                 CAYEY               PR           00736
   296546 MARGARITA FONSECA RIVERA                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA FONSECA
   709169 RODRIGUEZ                                   HC 67 BOX 13202                                                                                                 BAYAMON             PR           00956
   709170 MARGARITA FONTANEZ CRUZ                     COOP VILLA NAVARRA     EDIF 1 APT G SANTA JUANTA                                                                BAYAMON             PR           00956
          MARGARITA FRANCESCHI
   296547 MARTINEZ                                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296548 Margarita Franco Rivera                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA FRANCO
   709171 RODRIGUEZ                                   BO SALTO               BOX 3099                                                                                 CIDRA               PR           00739
   296549 MARGARITA FUENTES MONGE                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296550 MARGARITA FUENTES RIOS                      REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA FUNCIA
   296551 HERNANDEZ                                   REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA G PICHARDO
   296552 VAZQUEZ                                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296553 MARGARITA GALARZA BONILLA                   REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA GALARZA
   296554 QUINONES                                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709172 MARGARITA GALARZA TORRES                    PO BOX 142636                                                                                                   ARECIBO             PR           00614
   296555 MARGARITA GARAY ROSA                        REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709036 MARGARITA GARCIA CORTES                     HC 59 BOX 6902                                                                                                  AGUADA              PR           00602
   709173 MARGARITA GARCIA FIRPI                      PO BOX 260                                                                                                      ARECIBO             PR           00613
   296556 MARGARITA GARCIA GARCIA                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA GARCIA
   709175 HERNANDEZ                                   PO BOX 478                                                                                                      BARCELONETA         PR           00617
          MARGARITA GARCIA
   296557 MALDONADO                                   REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709176 MARGARITA GARCIA RIVERA                     BO INGENIO             SECTOR VILLA CALMA PARC 480                                                              TOA BAJA            PR           00949
   296559 MARGARITA GARCIA ROLON                      REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709177 MARGARITA GARCIA SILVA                      ESTANCIAS REALES       J 1 CALLE DUQUE DEKENT                                                                   GUAYNABO            PR           00969

   296560 MARGARITA GARCIA VILLAFANE                  REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709178 MARGARITA GAUTIER                           COND CORAL BEACH       TORRE II APT 918                                                                         CAROLINA            PR           00971
   296561 MARGARITA GAUTIER LEON                      REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296562 MARGARITA GERENA                            REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA GOMEZ
   296563 AULET,ROLANDO GRINO                         REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709181 MARGARITA GOMEZ FLORES                      SANTO DOMINGO          96 CALLE C                                                                               CAGUAS              PR           00725

   296564 MARGARITA GOMEZ VAZQUEZ                     REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296565 MARGARITA GONZALEZ                          REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296566 MARGARITA GONZALEZ ALAMO                    REDACTED               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          MARGARITA GONZALEZ
   709182 ALARCON                                     BO MONTOSO               HC 1 BOX 8631                                                                        MARICAO             PR           00606

   709183 MARGARITA GONZALEZ ANDINO RR 6 BOX 9545                                                                                                                   SAN JUAN            PR           00926

   296567 MARGARITA GONZALEZ BADILLO REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA GONZALEZ
   709184 BARRETO                    HC 2 BOX 9214                                                                                                                  QUEBRADILLAS        PR           00678
          MARGARITA GONZALEZ                                                   1755 PASEO DARSENA 1ERA
   709185 CARMONA                    URB LEVITTOEN                             SECC                                                                                 TOA BAJA            PR           00949

   296568 MARGARITA GONZALEZ DE JESUS REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA GONZALEZ
   709188 FIGUEROA                    PO BOX 1439                                                                                                                   AGUADA              PR           00602

   296569 MARGARITA GONZALEZ LOPEZ                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA GONZALEZ
   709190 MORALES                                     HC 2 BOX 13718                                                                                                ARECIBO             PR           00612

   709191 MARGARITA GONZALEZ PEREZ                    RESIDENCIAL LOS ALAMOS   EDIFICO 16 #237                                                                      GUAYNABO            PR           00969
          MARGARITA GONZALEZ
   296570 QUINONES                                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA GONZALEZ
   709192 QUINTANA                                    350 BALBOA                                                                                                    MAYAGUEZ            PR           00680

   296571 MARGARITA GONZALEZ RIVERA                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA GONZALEZ
   709193 RODRIGUEZ                                   O 21 JESUS M LAGO                                                                                             UTUADO              PR           00641

   296572 MARGARITA GONZALEZ ROMAN REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296573 MARGARITA GONZALEZ SANTINI REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296575 MARGARITA GONZALEZ TORRES REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296576 MARGARITA GONZALEZ VARGAS REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709197 MARGARITA GONZALEZ VEGA   HC 01 BOX 6841                                                                                                                  SALINAS             PR           00751‐9739

   296577 MARGARITA GUADALUPE ALLEN                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709198 MARGARITA GUERRA LOPEZ                      URB REXVILLE             AD 12 CALLE 50                                                                       BAYAMON             PR           00957
          MARGARITA GUZMAN
   296578 GONZALEZ                                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA HENCHYS
   296579 GONZALEZ                                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709200 MARGARITA HEREDIA                           VILLA PALMERAS           255 CALLE CANOVANAS                                                                  SAN JUAN            PR           00915
   296580 MARGARITA HEREDIA PABON                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296581 MARGARITA HERNANDEZ                         REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709203 MARGARITA HERNANDEZ COLON URB TINTILLO GARDENS                       H 23 CALLE 6                                                                         GUAYNABO            PR           00966

   709037 MARGARITA HERNANDEZ DIAZ                    BDA CAMPITO R 14                                                                                              GURABO              PR           00778

   709204 MARGARITA HERNANDEZ DIAZ                    URB BELLA VISTA          145 CALLE 22 S                                                                       BAYAMON             PR           00957



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   709205 MARGARITA HERNANDEZ FEBUS                   TOA ALTA               AD 27 CALLE 26                                                                      TOA ALTA             PR           00953
          MARGARITA HERNANDEZ
   296584 HERNANDEZ                                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARGARITA HERNANDEZ
   296585 MERGAL                                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARGARITA HERNANDEZ
   709206 MEZQUIDA                                    VALLE ARRIBA HEIGHTS   CQ 6 CALLE ALMENDRO                                                                 CAROLINA             PR           00983

   709207 MARGARITA HERNANDEZ PEREZ HC 04 BOX 14517                                                                                                              MOCA                 PR           00676

   296586 MARGARITA HERNANDEZ RESTO REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARGARITA HERNANDEZ
   709208 ROSADO                    URB PERLA DEL SUR                        90 CALLE A                                                                          PONCE                PR           00731
          MARGARITA HERNANDEZ
   296587 TORRES                    REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   709209 MARGARITA HERNANDEZ VELEZ URB LAGOS DE PLATA                       T 13 CALLE 18                                                                       TOA BAJA             PR           00949
   709210 MARGARITA HNDZ GARRAFA    RES NEMESIO CANALES                      EDIF 19 APTO 360                                                                    SAN JUAN             PR           00920
   709211 MARGARITA HOPGOOD         URB ALTAMIRA                             568 CALLE AUSTRAL                                                                   SAN JUAN             PR           00920

   296588 MARGARITA HURTADO ARROYO REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   296590 MARGARITA I RAMIREZ      REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   709217 MARGARITA I VIDAL LABOY  PO BOX 9021112                                                                                                                SAN JUAN             PR           00902‐1112
                                   CALLE ARES D‐10 VILLAS BUENA
   296591 MARGARITA INSTITUCION    VISTA                                                                                                                         BAYAMON              PR           00956

   296592 MARGARITA IRIZARRY CORDERO REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARGARITA IRIZARRY
   296593 VELAZQUEZ                  REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   709218 MARGARITA J GUTIERREZ OTERO URB LAS COLINAS                        BZN 112 CALLE 2                                                                     VEGA ALTA            PR           00692
   296594 MARGARITA JACA MENDEZ       REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   709220 MARGARITA JIMENEZ           P O BOX 21365                                                                                                              SAN JUAN             PR           00926‐1365
   709222 MARGARITA JUARBE            EDIF 2 APT 658                                                                                                             ARECIBO              PR           00612
   296595 MARGARITA L BLAY BOLIVAR    REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARGARITA L FERNANDEZ
   709223 POTELA                      URB VILLA BLANCA 22                    CALLE AMATISTA                                                                      CAGUAS               PR           00725
          MARGARITA L MERCADO
   709224 ECHEGARAY                   LA ARBOLEDA                            B 17 HASTINGS                                                                       GUAYNABO             PR           00966

   709225 MARGARITA L ROSARIO CARRION PO BOX 454                                                                                                                 CAGUAS               PR           00726

   296597 MARGARITA LAFUENTE TIRADO                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   709228 MARGARITA LANDRAU PIZARRO HC 01 BOX 7352                                                                                                               LOIZA                PR           00772

   296598 MARGARITA LAUREANO LOZADA REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   709230 MARGARITA LEBRON ESCOBAR                    COUNTRY CLUB           1035 CALLE JAMES BOND                                                               SAN JUAN             PR           00924‐3401

   296599 MARGARITA LEON RODRIGUEZ                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   296600 MARGARITA LOPEZ LEON                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  296601 MARGARITA LOPEZ ORTIZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  709233 MARGARITA LOPEZ PADIN                        PO BOX 1477                                                                                                   ARECIBO           PR         00613
  296602 MARGARITA LOPEZ RIVERA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  709235 MARGARITA LOPEZ ROBLES                       PO BOX 1645                                                                                                   FAJARDO           PR         00738
  771166 MARGARITA LOPEZ SANTIAGO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  709237 MARGARITA LOPEZ VARGAS                       16 A CALLE RIUS RIVERA                                                                                        ADJUNTAS          PR         00601
  296604 MARGARITA LORENZO NIEVES                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  709239 MARGARITA M FIOL                             URB PONCE DE LEON           245 CALLE 23                                                                      GUAYNABO          PR         00969‐4442
                                                      CONDOMINIO RICOMAR APT
   709240 MARGARITA M PACHECO                         505                                                                                                           CAROLINA          PR         00979

   709242 MARGARITA M RIVERA GAUTIER 2DA SECC LEVITTOWN                           2454 PASEO AMPARO                                                                 TOA BAJA          PR         00949
          MARGARITA M TORRES
   296605 RODRIGUEZ                  REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   296606 MARGARITA M TOSTE MARRERO REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   296607 MARGARITA M. MARQUEZ      REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   709244 MARGARITA MADERA ALIVER   176 VILLA MADRID                                                                                                                PONCE             PR         00730
   709245 MARGARITA MALAVE VELEZ    URB CAGUAS NORTE                              AD 20 CALLE HAGUAY                                                                CAGUAS            PR         00725
   709246 MARGARITA MALDONADO       RES MANUEL A PEREZ                            EDIF C 10 APT 120                                                                 SAN JUAN          PR         00923
          MARGARITA MALDONADO
   709247 CANDELARIA                ABRA SAN FRANCISCO                            APT 7078                                                                          ARECIBO           PR         00612
          MARGARITA MALDONADO
   296608 FELICIANO                 REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARGARITA MALDONADO
   296609 GALARZA                   REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARGARITA MALDONADO
   709251 RAMOS                     HC 02 BOX 6385                                BARRIO LIMON                                                                      FLORIDA           PR         00650
          MARGARITA MALDONADO
   296610 RODRIGUEZ                 REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   709253 MARGARITA MARCANO GOMEZ URB VILLA CAROLINA 5TA SECC                     212 32 CALLE 502                                                                  CAROLINA          PR         00985
          MARGARITA MARIA MARICHAL
   709254 LUGO                     COLINAS DE FAIR VIEW                           4Q 35 CALLE 220                                                                   TRUJILLO ALTO     PR         00976
   709255 MARGARITA MARIN APONTE   VILLA CAROLINA                                 94‐14 CALLE 97                                                                    CAROLINA          PR         00985

   296612 MARGARITA MARQUES GOITIA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   709256 MARGARITA MARQUEZ CRUZ                      765 CALLE FRANCISCO FARIA                                                                                     DORADO            PR         00646
          MARGARITA MARQUEZ
   296613 DELGADO                                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARGARITA MARQUEZ
   709257 HERNANDEZ                                   PO BOX 99                                                                                                     GURABO            PR         00778
          MARGARITA MARRERO / ALEXIS
   296614 DECAMPS                                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARGARITA MARRERO
   709258 HERNANDEZ                                   BO GALATEO CENTRO                                                                                             TOA ALTA          PR         00953
          MARGARITA MARRERO
   296615 MALDONADO                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   709259 MARGARITA MARRERO NEGRON SECT LA GARZA BO SANTA ROSA CARR 117 INT KM 2 7                                                                                  LAJAS             PR         00667‐9503
          MARGARITA MARTINEZ
   709260 CORDOVA                  VILLA DE LOIZA              L‐8 CALLE 8                                                                                          CANOVANAS         PR         00729




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   709261 MARGARITA MARTINEZ GARCIA                   AVE CHARDON 3159                                                                                             SAN JUAN            PR           00918

   296616 MARGARITA MARTINEZ GUZMAN REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709262 MARGARITA MARTINEZ LUDVING SAN JOSE                                   513 CALLE BAENA                                                                    SAN JUAN            PR           00923
          MARGARITA MARTINEZ
   709264 MORALES                    PO BOX 118                                                                                                                    OROCOVIS            PR           00720

   709265 MARGARITA MARTINEZ RIVERA                   HC 2 BOX 30010                                                                                               JUANA DIAZ          PR           00795
          MARGARITA MARTINEZ
   709266 RODRIGUEZ                                   BOX 1155                                                                                                     SABANA SECA         PR           00952
   296617 MARGARITA MARTINEZ RUIZ                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296618 MARGARITA MARTINEZ VEGA                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296619 MARGARITA MARTINEZ VILLEGAS REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709267 MARGARITA MATOS PACHECO                     RIVERSIDE PARK            D 2 CALLE 5                                                                        BAYAMON             PR           00956
   709268 MARGARITA MATTEI ACOSTA                     PO BOX 1553                                                                                                  GUANICA             PR           00653‐1553

   709269 MARGARITA MAYO PADOVANI                     PO BOX 231                                                                                                   ANASCO              PR           00610
   296621 MARGARITA MEDINA                            REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709270 MARGARITA MEDINA DEL VALLE REPTO CAGUAX                               N9 CALLE BUREN                                                                     CAGUAS              PR           00725

   709271 MARGARITA MEDINA FUENTES                    URB RIO GRANDE ESTATES    N10 AVE B                                                                          RIO GRANDE          PR           00745
          MARGARITA MEDINA
   709272 HERNANDEZ                                   URB RIO PIEDRAS HEIGHTS   220 CALLE RUBICON                                                                  SAN JUAN            PR           00926
   296622 MARGARITA MEDINA TORRES                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296623 MARGARITA MEJIAS ORTIZ                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709273 MARGARITA MELENDEZ GARCIA PO BOX 6825                                                                                                                    PONCE               PR           00733

   709274 MARGARITA MELENDEZ RIVERA                   PO BOX 21365                                                                                                 SAN JUAN            PR           00926‐1365
   709276 MARGARITA MENDEZ CUEVAS                     PO BOX 819                                                                                                   HORMIGUEROS         PR           00660

   296624 MARGARITA MENDEZ ESTEVES                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709279 MARGARITA MENDEZ TORRES                     P O BOX 1100                                                                                                 RIO GRANDE          PR           00745
          MARGARITA MENDEZ VEGA /
   709280 CARMEN MENDEZ                               1211 CHALETS DE BAYAMON                                                                                      BAYAMON             PR           00956
          MARGARITA MENDEZ/
   296625 ELIZABETH MORALES                           REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA MERCADO
   709282 SANTIAGO                                    P O BOX 941                                                                                                  UTUADO              PR           00641
   709283 MARGARITA MERCADO VALLE                     COUNTRY CLUB              875 RASPINEL                                                                       SAN JUAN            PR           00924
   296635 MARGARITA MERCED ROSA                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296636 MARGARITA MIRANDA                           REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709284 MARGARITA MIRANDA COLLAZO URB HACIENDA EL ZORZAL                      D 14 CALLE 13                                                                      BAYAMON             PR           00957
          MARGARITA MIRANDA
   709285 MACHADO                   PO BOX 21365                                                                                                                   SAN JUAN            PR           00926‐1365
          MARGARITA MOJICA
   709286 MALDONADO                 HC 3 BOX 9558                                                                                                                  JUNCOS              PR           00777‐9602



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   709287 MARGARITA MOLINA BERRIOS                    VILLA PALMERA            272 CALLE CALMA                                                                    SAN JUAN             PR           00912

   709289 MARGARITA MOLINA SANTIAGO BRISAS DE TORTUGUERO                       PARC 814 N N                                                                       VEGA BAJA            PR           00693
          MARGARITA MONTALVO
   709290 MERCADO                   600 URB VEGA ALEGRE                                                                                                           CABO ROJO            PR           00623

   296637 MARGARITA MONTANES RAMOS REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   296638 MARGARITA MONTANEZ       REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARGARITA MONTANEZ
   296639 VEGUILLA                 REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   296640 MARGARITA MONTES MORALES REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   296641 MARGARITA MONTES SANTOS  REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   296642 MARGARITA MONZON         REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   709293 MARGARITA MORALES BURGOS BO MARIANA 3                                HC 01 BOX 17158                                                                    HUMACAO              PR           00791‐9736
   296644 MARGARITA MORALES CRUZ   REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   709294 MARGARITA MORALES HUERTAS PO BOX 3346                                                                                                                   PATILLAS             PR           00723
   296645 MARGARITA MORALES LOPEZ   REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARGARITA MORALES
   296646 MARRERO                   REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARGARITA MORALES
   709295 MARTINEZ                  URB LAS LOMAS                              10 C/ 33 R 3                                                                       SAN JUAN             PR           00921

   709296 MARGARITA MORALES MORALES HC 01 BOX 5308                                                                                                                ARROYO               PR           00714

   709298 MARGARITA MORALES RIVERA                    HC 01 BOX 4245‐1                                                                                            NAGUABO              PR           00718
          MARGARITA MORALES
   709300 VILLANUEVA                                  GUANIQUILLA              8 CALLE VISTA HERMOSA                                                              AGUADA               PR           00602
   709301 MARGARITA MORRIS RIVERA                     TURABO GARDENS           5 C CALLE 2                                                                        CAGUAS               PR           00725
          MARGARITA MUNIZ SAN
   296648 INOCENCIO                                   REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   296649 MARGARITA MUNOZ JIMENEZ                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   709302 MARGARITA MURIEL RODRIGUEZ 415 CALLE AUSTRIA                                                                                                            SAN JUAN             PR           00920
          MARGARITA N RODRIGUEZ
   296650 ALVAREZ                    REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARGARITA NARVAEZ
   709303 RODRGUEZ                   HC 73 BOX 5050                                                                                                               NARANJITO            PR           00719
          MARGARITA NAVARRO
   296651 HERNANDEZ                  REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   709305 MARGARITA NAVARRO MORALES BORINQUEN VALLE                            192 CALLE PICO                                                                     CAGUAS               PR           00725
   296652 MARGARITA NAZARIO PEREZ   REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   709306 MARGARITA NEGRON          HC 1 BOX 2620                                                                                                                 MOROVIS              PR           00687

   709039 MARGARITA NEGRON CORREA                     URB SAN ANTONIO          M 21 CALLE 4                                                                       CAGUAS               PR           00725
                                                      135 D CALLE JOSE PARES
   709307 MARGARITA NEGRON DIAZ                       BARAHONA                                                                                                    MOROVIS              PR           00687

   296653 MARGARITA NEGRON GRAULAU REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  709308 MARGARITA NEGRON RIVERA                      387 ALTOS CALLE GORGONIA                                                                                       SAN JUAN          PR         00920
  709309 MARGARITA NEGRONI RIVERA                     JARD DE TOA ALTA           91 CALLE 2                                                                          TOA ALTA          PR         00953
  296654 MARGARITA NERIS CLAUDIO                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  709310 MARGARITA NIEVES FLORES                      P O BOX 554                                                                                                    CAGUAS            PR         00726
  709311 MARGARITA NIEVES FUENTES                     URB DEL CARMEN             C 29 CALLE SAN JOSE                                                                 RIO GRANDE        PR         00745

   296655 MARGARITA NIEVES MACHUCA                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   709313 MARGARITA NIEVES MONROIG                    URB REPARTO METROPOLITANO 955 CALLE 25 SE                                                                      SAN JUAN          PR         00921
   296657 MARGARITA NIEVES ROMAN                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   296658 MARGARITA NOGUERA VIDAL                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARGARITA NOLASCO
   709314 SANTIAGO                                    C 7 URB PASEO REAL                                                                                             COAMO             PR         00769
   296659 MARGARITA NUNEZ BERRIOS                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   296660 MARGARITA OCASIO NIEVES                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   709315 MARGARITA OCASIO VIRUET                     APARTADO 257 BO. ANGELES                                                                                       UTUADO            PR         00611
   296661 MARGARITA OJEDA CORTEZ                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARGARITA OLIVERAS
   296662 RODRIGUEZ                                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   296663 MARGARITA OLIVO TORRES                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   296664 MARGARITA OLMO PEREZ                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARGARITA OQUENDO
   709317 GONZALEZ                                    VICTOR ROJAS I             332 CALLE A                                                                         ARECIBO           PR         00612
   709318 MARGARITA ORNES VELEZ                       222 SAN CARLOS CALLE 5                                                                                         DORADO            PR         00646

   709319 MARGARITA ORONA MORALES                     EXT JARD DE COAMO          47 CALLE 9                                                                          COAMO             PR         00769
   709323 MARGARITA ORTIZ AVILES                      BO BEATRIZ                 RR 2 BOX 5757                                                                       CIDRA             PR         00739
   709324 MARGARITA ORTIZ GULF S/S                    P O BOX 6164                                                                                                   CAGUAS            PR         00726

   771167 MARGARITA ORTIZ HERNANDEZ                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   296665 MARGARITA ORTIZ LATIMER                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   709325 MARGARITA ORTIZ ORTEGA                      VILLA DEL RIO              PARC 403 CALLE 14                                                                   TOA ALTA          PR         00953
   296666 MARGARITA ORTIZ ORTIZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   296669 MARGARITA ORTIZ PACHECO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   296670 MARGARITA ORTIZ PINEIRO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   709328 MARGARITA ORTIZ PINERO                      URB REPARTO VALENCIANO     K‐7 CALLE ACASIA                                                                    JUNCOS            PR         00777
   296671 MARGARITA ORTIZ REYES                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   709329 MARGARITA ORTIZ RIVERA                      HC 3 BOX 7328                                                                                                  COMERIO           PR         00782

   296672 MARGARITA ORTIZ RODRIGUEZ                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   296673 MARGARITA ORTIZ ROSA                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   296674 MARGARITA ORTIZ SANTIAGO                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   296675 MARGARITA ORTIZ SOTO                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   296676 MARGARITA ORTIZ VELAZQUEZ                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   709333 MARGARITA OSTOLAZA BEY                      PO BOX 50071                                                                                                   SAN JUAN          PR         00902

   709335 MARGARITA OTERO ACEVEDO                     PO BOX 21365                                                                                                   SAN JUAN          PR         00926‐1365
   296677 MARGARITA OYOLA VAZQUEZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   709040 MARGARITA OYOLA VAZQUEZ                     URB LAS COLINAS            C 9 COLINAS DEL PUERTO                                                              TOA BAJA          PR         00949
   709337 MARGARITA PABON DENIS                       PARCELA AMADEO             60 CALLE E                                                                          VAGA BAJA         PR         00693
   709338 MARGARITA PABON SANCHEZ                     HC 91 BOX 9024                                                                                                 VEGA ALTA         PR         00692




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   296679 MARGARITA PACHECO BURGOS                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296680 Margarita Pacheco Ortiz                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296681 MARGARITA PADILLA ROJAS                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709340 MARGARITA PADIN PADILLA                     JARD DE CONCORDIA      EDIF 5 APT 54                                                                     MAYAGUEZ            PR           00680
   709342 MARGARITA PAGAN MEDINA                      HC 01 BOX 4702                                                                                           AIBONITO            PR           00705
   709343 MARGARITA PAGAN RIVERA                      BZN 6632                                                                                                 CIDRA               PR           00739

   709344 MARGARITA PANETO ROSARIO                    HC 01 BOX 7098                                                                                           YAUCO               PR           00698
          MARGARITA PASTRANA
   296683 GUZMAN                                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709346 MARGARITA PASTRANA VEGA                     URB METROPOLIS         2A 24 CALLE 33                                                                    CAROLINA            PR           00987
   296684 MARGARITA PAZO OLIVERAS                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296685 MARGARITA PENA DIAZ                         REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709347 MARGARITA PERALES DONATO                    P O BOX 1237                                                                                             GURABO              PR           00778
   709348 MARGARITA PEREZ COLON                       RES LOS ROSALES        EDIF 6 APT 54                                                                     TRUJILLO ALTO       PR           00946
   296687 MARGARITA PEREZ GALARZA                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296688 MARGARITA PEREZ LISBOA                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296690 MARGARITA PEREZ MALDONADO REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296691 MARGARITA PEREZ VALENTIN  REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296692 MARGARITA PEREZ VAZQUEZ   REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                    1032 CALLE CRISTO DE LOS
   709350 MARGARITA PEROCIER        MILAGROS                                                                                                                   MAYAGUEZ            PR           00680
   709351 MARGARITA PIMENTEL        P O BOX 2105                                                                                                               RIO GRANDE          PR           00745
   296693 MARGARITA PINERO LOPEZ    REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709353 MARGARITA PINTO MELENDEZ                    HC 1 BOX 3980                                                                                            YABUCOA             PR           00767
          MARGARITA POMALES
   709354 HERNANDEZ                                   SECTOR MOGOTE 20       P O BOX 20                                                                        CAYEY               PR           00736

   296694 MARGARITA POMALES POMALES REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296695 MARGARITA PRIETO PIZARRO  REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296696 MARGARITA PRUNA NEGRON    REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709357 MARGARITA QUILES RAMOS    BOX 806                                                                                                                    TOA BAJA            PR           00951

   296697 MARGARITA QUINONES BURGOS REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA QUINONES
   296698 MERCADO                   REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA QUINONES
   709358 QUINONES                  2062 CALLE MODESTA RIVERA                                                                                                  PONCE               PR           00731‐0500

   296699 MARGARITA QUINONES VARELA                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296700 MARGARITA QUINONEZ                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA QUIRIDONGO
   709359 SUAREZ                                      10 CALLE TETUAN SUR                                                                                      GUAYAMA             PR           00784
   296701 MARGARITA QUIRINDONGO                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296702 MARGARITA R COLON GUZMAN REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA R FERNANDEZ
   296703 TIRADO                   REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          MARGARITA R HERNANDEZ
   709362 TIRADO                                      PO BOX 360349                                                                                                  SAN JUAN            PR           00936‐0349
          MARGARITA R MEDINA
   296704 SOTOMAYOR                                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296705 MARGARITA R QUILES FERRER                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296706 MARGARITA R SANTANA NIEVES REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296707 MARGARITA R TORRES VALENTIN REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296708 MARGARITA R. SANTELIZ       REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709366 MARGARITA RAMIS LOPEZ       URB ALTAMESA                               1654 CALLE SANTA LUISA                                                              SAN JUAN            PR           00921
   709367 MARGARITA RAMOS MATEO       BOX 184                                                                                                                        COAMO               PR           00769
   709368 MARGARITA RAMOS MEDINA      MONTE BELLO                                M 38 BOX 162‐3                                                                      RIO GRANDE          PR           00745
   296710 MARGARITA RAMOS PADILLA     REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296711 MARGARITA RAMOS PEREZ       REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709369 MARGARITA RESTO GONZALEZ                    HC 1 BOX 2126                                                                                                  JAYUYA              PR           00664

   296712 MARGARITA REYES BETANCOURT REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296713 MARGARITA REYES CASIANO    REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296714 MARGARITA REYES COLON      REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296717 MARGARITA REYES ROSADO     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709370 MARGARITA REYES ROSARIO    HC 1 BOX 5011                                                                                                                   NAGUABO             PR           00718‐9729
   709371 MARGARITA REYES SANTIAGO   P O BOX 10007 SUITE 447                                                                                                         GUAYAMA             PR           00785‐0107
   709372 MARGARITA REYES VIRUET     HC 02 BOX 6544                                                                                                                  FLORIDA             PR           00650‐9105
   296718 MARGARITA RIOS RODRIGUEZ   REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709373 MARGARITA RIVERA           12 CALLE MANUEL TORRES                                                                                                          BARRANQUITAS        PR           00794
          MARGARITA RIVERA
   709374 ALBALADEJO                 RES SAN MARTIN                              EDIF 12 APT 133                                                                     RIO PIEDRAS         PR           00924
   709375 MARGARITA RIVERA ANGULO    JARDINES DE CAROLINA                        E‐9 CALLE E                                                                         CAROLINA            PR           00987

   296719 MARGARITA RIVERA BARBOSA                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296720 MARGARITA RIVERA BURGOS                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      COOP JARDINES DE TRUJILO
   709377 MARGARITA RIVERA CANTRES                    ALTO                       EDF F APT 306                                                                       TRUJILLO ALTO       PR           00976

   296721 MARGARITA RIVERA CARRERO                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296722 MARGARITA RIVERA CASTRO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296723 MARGARITA RIVERA DE LEON                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709379 MARGARITA RIVERA DE REYES                   HC 2 BOX 6654                                                                                                  UTUADO              PR           00641
   709381 MARGARITA RIVERA GUERRA                     PO BOX 1554                                                                                                    RIO GRANDE          PR           00745
   296724 MARGARITA RIVERA LEON                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296725 MARGARITA RIVERA LOZANO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA RIVERA
   296726 MALDONADO                                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709385 MARGARITA RIVERA MARTINEZ                   VALLE ARRIBA HEIGHTS       BE 3 CALLE NOGAL`                                                                   CAROLINA            PR           00983

   296728 MARGARITA RIVERA OQUENDO                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709387 MARGARITA RIVERA ORTIZ                      VILLA ANGELINA             146 CALLE 1                                                                         LUQUILLO            PR           00773
          MARGARITA RIVERA OTERO/
   296729 ENVIRO                                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709388 MARGARITA RIVERA PAGAN                      HC 1 BOX 7028                                                                                                  CABO ROJO           PR           00623



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  709389 MARGARITA RIVERA PEREZ                       P O BOX 430                                                                                                  ANGELES             PR           00611

   709390 MARGARITA RIVERA PIMENTEL                   FAJARDO GARDENS         670 CALLE EUCALIPTO                                                                  FAJARDO             PR           00738‐3082
   709391 MARGARITA RIVERA RENTAS                     34 CALLE FRONTISPICIO                                                                                        PONCE               PR           00730‐2928
   709392 MARGARITA RIVERA RIVERA                     HC 1 BOX 6308                                                                                                CANOVANAS           PR           00729‐9703

   296731 MARGARITA RIVERA RODRIGUEZ REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   296733 MARGARITA RIVERA RONDON    REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   709399 MARGARITA RIVERA ROSA      P O BOX 315                                                                                                                   LAS PIEDRAS         PR           00771‐0315
   296734 MARGARITA RIVERA ROSADO    REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   296735 MARGARITA RIVERA SALCEDO   REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   709401 MARGARITA RIVERA STUART    O‐18 CALLE JESUS M LAGO                                                                                                       UTUADO              PR           00641

   296736 MARGARITA RIVERA TALAVERA                   REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   709402 MARGARITA RIVERA TORRES                     VISTA DEL MAR           2229 CALLE MARLIN PLAYA                                                              PONCE               PR           00716
   709403 MARGARITA ROBLES DIAZ                       COMUDIDAD LA DOLORES    220 CALLE ARGENTINA                                                                  RIO GRANDE          PR           00745
   296737 MARGARITA ROBLES OTERO                      REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   709404 MARGARITA ROBLES ROMAN                      HC 1 BOX 4124                                                                                                LARES               PR           00669
   296738 MARGARITA ROBLES TORRES                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   296739 MARGARITA ROBLES VELAZQUEZ REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   709406 MARGARITA RODRIGUEZ        BO FARALLON                              BOX 199                                                                              CAYEY               PR           00737
          MARGARITA RODRIGUEZ
   296740 CEDENO                     REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARGARITA RODRIGUEZ        BO ESPERANZA SECTOR CANTA
   709407 DELGADO                    GALLO                                    615 QUILES                                                                           ARECIBO             PR           00602

   709408 MARGARITA RODRIGUEZ GARCIA JARD DEL MAMEY                           D 11 CALLE 2                                                                         PATILLAS            PR           00723

   709409 MARGARITA RODRIGUEZ LUGO                    URB IRLANDA HEIGHTS     FH 8 CALLE CAPELLA                                                                   BAYAMON             PR           00956
          MARGARITA RODRIGUEZ
   709412 MELENDEZ                                    P O BOX 121                                                                                                  OROCOVIS            PR           00720
          MARGARITA RODRIGUEZ
   296741 MENDOZA                                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   709414 MARGARITA RODRIGUEZ MORE                    1509 CALLE NUEVA                                                                                             SAN JUAN            PR           00910

   296742 MARGARITA RODRIGUEZ MUNIZ REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   709415 MARGARITA RODRIGUEZ ORTIZ                   BOX 44                                                                                                       PALMER              PR           00721
          MARGARITA RODRIGUEZ
   296743 PACHECO                                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   296744 MARGARITA RODRIGUEZ PENA                    REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   296745 MARGARITA RODRIGUEZ RIVERA REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARGARITA RODRIGUEZ
   709417 RODRIGUEZ                  HC 1 BOX 4792                                                                                                                 COROZAL             PR           00783

   709419 MARGARITA RODRIGUEZ ROJAS                   URB SANTA JUANITA       HH9 CALLE 29                                                                         BAYAMON             PR           00956

   709420 MARGARITA RODRIGUEZ ROSA                    URB LAS COLINAS         D 14 CALLE 7                                                                         TOA BAJA            PR           00949
   709421 MARGARITA RODRIGUEZ RUIZ                    PO BOX 1565                                                                                                  CIDRA               PR           00739



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          MARGARITA RODRIGUEZ
   296746 SANCHEZ                                     REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA RODRIGUEZ
   296747 SANTIAGO                                    REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296748 MARGARITA RODRIGUEZ SUAREZ REDACTED                                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296749 MARGARITA RODRIGUEZ TORRES REDACTED                                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA RODRIGUEZ
   709423 TRINIDAD                   SIERRA LINDA                                     M 13 CALLE 6                                                                        BAYAMON             PR           00957
          MARGARITA RODRIGUEZ
   296750 VELAZQUEZ                  REDACTED                                         REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709425 MARGARITA RODRIGUEZ VIDAL                   RES LUIS LLORENS TORRES         EDIF 112 APT 2106                                                                   SAN JUAN            PR           00913
   709427 MARGARITA ROJAS RAMIREZ                     SAINT JUST                      96B CALLE BETANIA P                                                                 TRUJILLO ALTO       PR           00976

   296751 MARGARITA ROLON RODRIGUEZ REDACTED                                          REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709429 MARGARITA ROMAN BORRERO                     HC 2 BOX 7472                                                                                                       QUEBRADILLAS        PR           00678
   296753 MARGARITA ROMAN RIOS                        REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709431 MARGARITA ROMAN RIVERA                      BRISAS DE CUPEY                 EDIF 4 APT 47                                                                       CUPEY BAJO          PR           00926

   709432 MARGARITA ROMAN VALENTIN                    URB VILLA LINDA                 55 CALLE GARZA                                                                      AGUADILLA           PR           00603

   709433 MARGARITA ROMERO BENITEZ                    E 15 CALLE ANDRES ARUZ RIVERA                                                                                       CAROLINA            PR           00985

   709434 MARGARITA ROMERO CANALES                    JARD COUNTRY CLUB               BT 25 CALLE 125                                                                     CAROLINA            PR           00983

   709435 MARGARITA ROQUE                             COND CAPARRA HILL TOWERS        A1 APT 504                                                                          GUAYNABO            PR           00968
   296754 MARGARITA ROSA CARDONA                      REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709437 MARGARITA ROSA GONZALEZ                     C/O ROSE M. MERCADO             CONSERVACION HISTORICA   PO BOX 9066581                                             SAN JUAN            PR           00906‐6581
   709439 MARGARITA ROSA MARTINEZ                     BUENAVENTURA                    5036 CALLE AHLELI                                                                   MAYAGUEZ            PR           00682‐1272
   709440 MARGARITA ROSADO DIAZ                       PO BOX 561                                                                                                          MOROVIS             PR           00687

   296755 MARGARITA ROSADO LAUREANO REDACTED                                          REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709441 MARGARITA ROSADO MORALES HC 2 BOX 11687                                                                                                                         HUMACAO             PR           00791‐9621
   296756 MARGARITA ROSADO RAMOS   REDACTED                                           REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296757 MARGARITA ROSADO SANTIAGO REDACTED                                          REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296758 MARGARITA ROSADO TOLEDO                     REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296759 MARGARITA ROSARIO CARRION                   REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA ROSARIO
   296760 MELENDEZ                                    REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296761 MARGARITA ROSARIO MOLINA                    REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709445 MARGARITA ROSARIO TORRES                    P O BOX 101                                                                                                         BARCELONETA         PR           00617
   709446 MARGARITA ROSAS ARCE                        PO BOX 526                                                                                                          ADJUNTAS            PR           00601‐0526
   296762 MARGARITA RUIZ MENDOZA                      REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296764 MARGARITA RUIZ ROSA                         REDACTED                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  709448 MARGARITA RUIZ SANTIAGO                      P O BOX 277                                                                                                      MERCEDITA         PR           00715‐0277
         MARGARITA RUSCALLEDA
  296765 LEBRON                                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  709450 MARGARITA SABATHIE SOTO                      269 DIEZ DE ANDINO                                                                                               SAN JUAN          PR           00912‐3401
  296766 MARGARITA SALES SUAREZ                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
         MARGARITA SALICHS
  296767 RODRIGUEZ                                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
         MARGARITA SANABRIA
  709451 SEPULVEDA                                    P O BOX 30000 PMB 231                                                                                            CANOVANAS         PR           00729

   709452 MARGARITA SANCHEZ AGOSTO                    VISTA ALEGRE            71 CALLE 1                                                                               SAN JUAN          PR           00926

   709453 MARGARITA SANCHEZ ARROYO                    COND LOS NARANJALES     C 72 APT 378                                                                             CAROLINA          PR           00985

   296768 MARGARITA SANCHEZ CENTENO REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   296769 MARGARITA SANCHEZ CEPEDA                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   709454 MARGARITA SANCHEZ CRESPO                    P O BOX 1820                                                                                                     CANOVANAS         PR           00729

   296770 MARGARITA SANCHEZ DALMAU REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   709042 MARGARITA SANCHEZ FALCON                    URB VILLA CAROLINA      BL 141 23 CALLE 411 4TA SEC                                                              CAROLINA          PR           00985
   709456 MARGARITA SANCHEZ RIVERA                    BELGICA                 A CALLE 11                                                                               PONCE             PR           00731

   709457 MARGARITA SANTANA                           VILLA FONTANA PARK      5V30 CALLE PARQUE NAPOLEON                                                               CAROLINA          PR           00983
   296782 MARGARITA SANTANA COSME                     REDACTED                REDACTED                   REDACTED                               REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   709458 MARGARITA SANTANA FREYTES                   RES. MUJERES SAN JUAN                                                                                            Hato Rey          PR           009360000

   709459 MARGARITA SANTANA GOMEZ                     URB EL VALLE            93 CALLE MIRTOS                                                                          LAJAS             PR           00667

   709460 MARGARITA SANTANA HUERTAS BO PALOMAS ABAJO                          HC 3 BOX 10384                                                                           COMERIO           PR           00782
          MARGARITA SANTANA
   709461 MALDONADO                 PO BOX 388                                                                                                                         COTTO LAUREL      PR           00780

   296783 MARGARITA SANTANA RAMOS                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   296785 MARGARITA SANTANA RUIZ                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MARGARITA SANTIAGO
   709462 ACEVEDO                                     BOX 375                                                                                                          AGUADA            PR           00602

   709463 MARGARITA SANTIAGO ALVERIO PO BOX 1295                                                                                                                       SAN LORENZO       PR           00754
          MARGARITA SANTIAGO
   709464 GONZALEZ                   PO BOX 1001                                                                                                                       CAYEY             PR           00737

   709465 MARGARITA SANTIAGO GUEITS                   743 CLAUSELLS CALLE 6                                                                                            PONCE             PR           00731
          MARGARITA SANTIAGO
   296787 HERNANDEZ                                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   296789 MARGARITA SANTIAGO LOPEZ                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MARGARITA SANTIAGO
   296790 MALDONADO                                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   709468 MARGARITA SANTIAGO NEGRON RR 2 BOX 6102                                                                                                                      TOA ALTA          PR           00953



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          MARGARITA SANTIAGO
   709469 OQUENDO                                     1227 EAST FRONT STREET        APT. JC                                                                           PLAINFIELD           NJ           07062
   296791 MARGARITA SANTIAGO ORTIZ                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   296792 MARGARITA SANTIAGO PAGAN                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARGARITA SANTIAGO
   296793 RODRIGUEZ                                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARGARITA SANTIAGO
   709474 SANTIAGO                                    BDA QUINTANA                  417 CALLE CUBA                                                                    SAN JUAN             PR           00917‐4033

   709475 MARGARITA SANTIAGO SANTOS                   GLENVIEW GARDENS              C/N 20 T 50                                                                       PONCE                PR           00731
   709476 MARGARITA SANTIAGO VELEZ                    PARC AMADEO                   BOX 54 CALLE A                                                                    VEGA BAJA            PR           00693
          MARGARITA SANTIIAGO
   709477 CARABALLO                                   126 A URB JOSE MERCADO                                                                                          CAGUAS               PR           00725
   709478 MARGARITA SANTORI LOPEZ                     HC 01 BOX 1055                                                                                                  BOQUERON             PR           00622
   296794 MARGARITA SANTOS                            REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   709479 MARGARITA SANTOS GARCIA                     URB LOS ANGELES               WC 32 CALLE GERANIO                                                               CAROLINA             PR           00979

   296795 MARGARITA SANTOS RODRIGUEZ REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   296796 MARGARITA SANTOS TORRES    REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   709481 MARGARITA SANTOS VELAZQUEZ P O BOX 9234                                                                                                                     ARECIBO              PR           00612
   296797 MARGARITA SCHMIDT RUIZ     REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   709482 MARGARITA SEGARRA RESTO    REPARTO METROPOLITANO                          1161 CALLE 56 SE                                                                  SAN JUAN             PR           00921

   296798 MARGARITA SERRANO OSORIO                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   709483 MARGARITA SERRANO RAMIREZ HC 06 BUZON 174135                              BO SALTO                                                                          SAN SEBASTIAN        PR           00685
   296799 MARGARITA SERRANO RÍOS    REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   296800 MARGARITA SIERRA FERNANDEZ REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   296801 MARGARITA SIERRA FLORES    REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARGARITA SIMONETTI
   709486 MARTINEZ                   ALTURAS DE MAYAGUEZ                            L 15 CALLE COLLORES                                                               MAYAGUEZ             PR           00682

   709487 MARGARITA SOLER GUADALUPE                   AVE FERRY                     M 3 CALLE GUADALUPE                                                               PONCE                PR           00730
   296802 MARGARITA SOLIS RIVERA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   296803 MARGARITA SOSA SOSA                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   709489 MARGARITA SOTO                              URB EL CORTIJO                AD 9 CALLE 23                                                                     BAYAMON              PR           00956
   296804 MARGARITA SOTO ACEVEDO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   709490 MARGARITA SOTO CASTRO                       HC 5 BOX 10569                                                                                                  MOCA                 PR           00676

   296805 MARGARITA SOTO DE JIMENEZ                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   709491 MARGARITA SOTO LANAUSSE                     PO BOX 3871                                                                                                     AGUADILLA            PR           00605‐3871

   709492 MARGARITA SOTO NIEVES                       BO CUCHILLAS HC 5 BOX 10583                                                                                     MOCA                 PR           00676
          MARGARITA SOTOMAYOR
   709495 NEGRON                                      URB EL VERDE B 15 CALLE 2                                                                                       VEGA BAJA            PR           00693
          MARGARITA SOTOMAYOR
   709496 RAMIREZ                                     VILLA FONTANA                 4MS‐5 VIA LUCIA                                                                   CAROLINA             PR           00983
          MARGARITA SOTOMAYOR
   709497 VARGAS                                      COFRESI 116                                                                                                     MAYAGUEZ             PR           00680
   296806 MARGARITA SUAREZ                            REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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   296807 MARGARITA SUAREZ LORENZO                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709498 MARGARITA TIRADO                            HC 06 BOX 71723                                                                                            CAGUAS              PR           00725
   709499 MARGARITA TIRADO GARCIA                     HC 4 BOX 41569                                                                                             CAGUAS              PR           00725‐9624
   709500 MARGARITA TOLEDO MATOS                      PO BOX 1196                                                                                                CIDRA               PR           00739
   296808 MARGARITA TORO FIGUEROA                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA TORRES / RITA
   709501 SANTIAGO                                    RES CANDELARIA         EDIF 13 APT 110                                                                     MAYAGUEZ            PR           00680

   296809 MARGARITA TORRES DE JESUS                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296810 MARGARITA TORRES DIAZ                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709502 MARGARITA TORRES GONZALEZ P O BOX 140653                                                                                                               ARECIBO             PR           00641
          MARGARITA TORRES
   709503 GUADALUPE                 P O BOX 583                                                                                                                  JUNCOS              PR           00777

   296811 MARGARITA TORRES MARTINEZ REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296812 MARGARITA TORRES MENDEZ   REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709505 MARGARITA TORRES MORENO                     BOX 371165                                                                                                 CAYEY               PR           00736

   296813 MARGARITA TORRES PACHECO                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296815 MARGARITA TORRES RIVERA                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709509 MARGARITA TORRES RODRIGUEZ PO BOX 756                                                                                                                  OROCOVIS            PR           00720
   296816 MARGARITA TORRES ROMAN     REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296817 MARGARITA TORRES SANTIAGO REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296819 MARGARITA TORRES SOTO     REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296820 MARGARITA TORRES TORRES   REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296821 MARGARITA TORRES VELAZQUEZ REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296822 MARGARITA TRINIDAD MURIEL                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296823 MARGARITA TRINIDAD VILLEGAS REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARGARITA VALLELLANES
   709512 RODRIGUEZ                   URB SYLVIA                             I 3 CALLE 4                                                                         COROZAL             PR           00783
   709513 MARGARITA VARGAS            TIENDAS YANI                           25 CALLE SAN JOAQUIN                                                                ADJUNTAS            PR           00601
   709514 MARGARITA VARGAS PEREZ      URB JARD CARIBE                        315 CALLE 9                                                                         PONCE               PR           00731
   709515 MARGARITA VAZQUEZ           HC 40 BOX 42422                                                                                                            SAN LORENZO         PR           00754

   709517 MARGARITA VAZQUEZ ARROYO                    BARRIO PALOMAS         BZN 19 CALLE A                                                                      YAUCO               PR           00698
   709518 MARGARITA VAZQUEZ DIAZ                      PARC LA SOLEDAD        865 CALLE H                                                                         MAYAGUEZ            PR           00681

   709519 MARGARITA VAZQUEZ GARCIA                    HC 71 BOX 2509                                                                                             NARANJITO           PR           00719
          MARGARITA VAZQUEZ
   296824 GONZALEZ                                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296825 MARGARITA VAZQUEZ NARVAEZ REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709520 MARGARITA VAZQUEZ PEREZ   FLORAL PARK                              419 ITALIA                                                                          SAN JUAN            PR           00919
          MARGARITA VAZQUEZ
   709521 SANTIAGO                  HC 01 BOX 4825                                                                                                               JAYUYA              PR           00664‐9710



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  709525 MARGARITA VEGA ORTA                          RR BOX 44263                                                                                                SAN SEBASTIAN     PR           00685
  709526 MARGARITA VEGA RENTAS                        101 PARCELA VIEJA CASA    BARRIO BEATRIZ                                                                    CAYEY             PR           00736
  709527 MARGARITA VELAZQUEZ                          HC 08 BOX 9712                                                                                              PONCE             PR           00731‐9712
         MARGARITA VELAZQUEZ /
  709530 VIRGINIO MERCADO                             PTA TIERRA STATION        P O BOX 9066600                                                                   SAN JUAN          PR           00906‐6600
  709531 MARGARITA VELAZQUEZ DIAZ                     PO BOX 63                                                                                                   RIO BLANCO        PR           00744

   296826 MARGARITA VELAZQUEZ LOPEZ                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MARGARITA VELAZQUEZ
   296827 MORALES                                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MARGARITA VELAZQUEZ
   296828 PIZARRO                                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   296829 MARGARITA VELAZQUEZ ROMAN REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MARGARITA VELAZQUEZ
   296830 SANTIAGO                  REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   296831 MARGARITA VELEZ PAGAN     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   709535 MARGARITA VELEZ PEREZ     BO EL SECO                                  5 JOSE G PADILLA                                                                  MAYAGUEZ          PR           00681

   709536 MARGARITA VELEZ RODRIGUEZ                   3 CALLE MONSERATE                                                                                           HORMIGUEROS       PR           00660
   709537 MARGARITA VELEZ TORRES                      HC 03 BOX 9534                                                                                              JUNCOS            PR           00777

   296832 MARGARITA VENTURA ROSADO                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   709538 MARGARITA VERA RIVERA                       BOX 8373                                                                                                    PATILLAS          PR           00723
   296833 MARGARITA VERGARA ORTIZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   296834 MARGARITA VIDAL UBILES                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   296835 MARGARITA VIERA PI¥EIRO                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   296836 MARGARITA VIERA VAZQUEZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   296837 MARGARITA VILLAFANE FONT                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   709539 MARGARITA VILLEGAS NIEVES                   97 CALLE DEGETAU                                                                                            SALINAS           PR           00751
   709540 MARGARITA VIRUET RIVERA                     RES LUIS LLORENS TORRES   EDIF 44 APT 886                                                                   SAN JUAN          PR           00913

   296838 MARGARITA ZAYAS GONZALEZ                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MARGARITAS BUFFET &
   296839 CATERING                                    BO PIÐA                   RR 03 BOX 10983                                                                   TOA ALTA          PR           00953
          MARGARITAS BUFFETE &
   709542 CATERING                                    RR 3 BOX 10983                                                                                              TOA ALTA          PR           00953
   709543 MARGARITAS CATERING                         RR 1 PO BOX 10983         BO PIŽAS                                                                          TOA ALTA          PR           00758
   709546 MARGARITAS RESTAURANT                       1013 AVE FD ROOSEVELT                                                                                       PUERTO NUEVO      PR           00920
   709547 MARGARITO TORRES                            HC 1 BOX 5751                                                                                               BARRANQUITAS      PR           00794
   709549 MARGARO CARRION PEREZ                       BO LIRIOS DORADO          BOX 9660                                                                          JUNCOS            PR           00777

   709553 MARGARO DELGADO FONTANEZ HC 03 BOX 37692                                                                                                                CAGUAS            PR           00725‐9716
   709554 MARGARO DIAZ CASTRO      P O BOX 268                                                                                                                    TOA ALTA          PR           00954‐0268
   709555 MARGARO FLECHI CASILLAS  HC 01 BOX 15955                                                                                                                HUMACAO           PR           00791
   296842 MARGARO LOPEZ , INC.     CALLE JESUS T. PINERO # 77                                                                                                     LAS PIEDRAS       PR           00771‐0000
   296843 MARGARO LOPEZ INC        PO BOX 55                                                                                                                      LAS PIEDRAS       PR           00771
   709556 MARGARO LOPEZ LOPEZ      PO BOX 55                                                                                                                      LAS PIEDRAS       PR           00771
   296844 MARGARO LOPEZ, INC.      BOX 55, JESUS T. PIÑERO #77                                                                                                    LAS PIEDRAS       PR           00771

   709557 MARGARO MARCANO VALENTIN 1828 BO DUQUE                                                                                                                  NAGUABO           PR           00718

   709548 MARGARO MONTA¥EZ LEBRON                     HC 30 BOX 34301                                                                                             SAN LORENZO       PR           00754‐9744



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  709558 MARGARO ORTIZ ORTIZ                          HC 02 BOX 6709             BO BARRANCAS                                                                          BARRANQUITAS       PR         00794
  709559 MARGARO RIVERA                               ESTANCIAS DE TORTUGUERO    125 TOLEDO                                                                            VEGA BAJA          PR         00693
  709560 MARGARO RIVERA GUZMAN                        PO BOX 518                                                                                                       LAS PIEDRAS        PR         00771
  709561 MARGARO RIVERA SANTIAGO                      URB LA RIVERA              1252 CALLE 50SE                                                                       SAN JUAN           PR         00921
  296845 MARGARO ROSARIO TORRES                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  296851 MARGELL VEGA PADILLA                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   709564 MARGERIE DUVIVIER IRIZARRY                  HC 9 BOX 4687                                                                                                    SABANA GRANDE      PR         00637
          MARGGIE M VARGAS
   296855 VELAZQUEZ                                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   709565 MARGGIE TORRES ORTIZ                        C 37 URB SAN MIGUEL                                                                                              SANTA ISABEL       PR         00757

   296856 MARGGIEMAY BURGOS AROCHO REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   296857 MARGIE A VELAZQUEZ BURGOS                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   296858 MARGIE ARROYO VAZQUEZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   296859 MARGIE B PEREZ RODRIGUEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   709568 MARGIE BAEZ LOPEZ                           HC 2 BOX 7931                                                                                                    GUAYANILLA         PR         00656
          MARGIE BEAUTY AND TECH
   709569 COLLEGE                                     P O BOX 7216                                                                                                     CAGUAS             PR         00726
   296860 MARGIE CRUZ APONTE                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   296861 MARGIE CRUZ LAUREANO                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   296862 MARGIE CRUZ QUI¥ONEZ                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   296863 MARGIE D NUNEZ ORTIZ                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   296864 MARGIE D VALENTIN LORENZO                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MARGIE DE JESUS VAZQUEZ Y                                              1733 CALLE DE SIERVAS DE
   709572 EUROBANK                                    URB LA RAMBLA              MARIA                                                                                 PONCE              PR         00730 4065
   296865 MARGIE DUPREY                               REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   709574 MARGIE F RIVERA GUTIERREZ                   URB SEVILLA BILTMORE       E 36 CALLE BAILTMORE                                                                  GUAYNABO           PR         00966‐4067
   296866 MARGIE GASCOT ORTIZ                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   709575 MARGIE GILORMINI AGUILAR                    URB SANTA MARIA A 7        CALLE 21                                                                              GUAYANILLA         PR         00656
   296867 MARGIE GONZALEZ                             REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   296868 MARGIE GONZALEZ BORRERO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   296869 MARGIE HERNANDEZ SERRRANO REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   296870 MARGIE JOUBERT NEGRON     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   296871 MARGIE L SOTO MELENDEZ    REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   709577 MARGIE LEE ORTIZ MATEO    HC 01 BOX 14680                                                                                                                    COAMO              PR         00769
   296873 MARGIE LUGO BELTRAN       REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   709578 MARGIE MALDONADO TORRES                     PO BOX 712                                                                                                       VILLALBA           PR         00766
   709579 MARGIE MATOS                                HC 02 BOX 17279                                                                                                  ARECIBO            PR         00612‐9071
   296875 MARGIE MELENDEZ COLON                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   296876 MARGIE MONTALVO SERRANO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   709580 MARGIE NEGRON RODRIGUEZ                     HC 01 BOX 6219                                                                                                   COROZAL            PR         00783
   709584 MARGIE RIVERA MACEIRA                       PO BOX 508                                                                                                       SALINAS            PR         00751
   296878 MARGIE RODRIGUEZ                            REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      HP ‐ SUPERVISION DE
   709585 MARGIE ROLON FIGUEROA                       ENFERMERIA                                                                                                       RIO PIEDRAS        PR         009360000
   709587 MARGIE ROSADO ORTIZ                         PO BOX 1239                                                                                                      SAN GERMAN         PR         00637
   709588 MARGIE SANCHEZ BONILLA                      2275 RANDALL AVE APT 9 C                                                                                         BRONX              NY         10473



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  709589 MARGIE SANTANA CORREA                        PERLA DEL SUR              2523 COMPARSA                                                                       PONCE               PR           00717‐0423
                                                      COND BORINQUEN TOWER 2 APT
   709590 MARGIE SILVA COLON                          514                                                                                                            SAN JUAN            PR           00920
   296881 MARGIELEE ROBLES TOLEDO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARGIELETTE MILLAN
   709591 CARABALLO                                   COUNTRY CLUB               1140 CARLOS T RAMSDEN                                                               SAN JUAN            PR           00924
          MARGIEVELISSE RIVERA
   296882 SERRANO                                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   296883 MARGILIZ LEON RODRIGUEZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   296884 MARGINAL ESSO SERVICE                       URB ALTA VILLA 3           CAMINO ALTO                                                                         TRUJILLO ALTO       PR           00976
   709594 MARGIT E LOPEZ TRABAL                       HC 05 BOX 50734                                                                                                MAYAGUEZ            PR           00680

   709595 MARGO FARMS DEL CARIBE INC. PO BOX 706                                                                                                                     DORADO              PR           00646
          MARGO LANDSCAPING & DESING
   709596 INC                         PO BOX 1370                                                                                                                    DORADO              PR           00646‐1370
   709597 MARGO LAVERGNE              COND GALIA 700                             CALLE ROOSVELT APT 12                                                               SAN JUAN            PR           00907
   709598 MARGO NURSERY FARMS INC     PO BOX 706                                                                                                                     DORADO              PR           00692
   296885 MARGO TRESS                 REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   709599 MARGON CONTRACTORS INC      PO BOX 748                                                                                                                     CIALES              PR           00638
   709600 MARGORIE SANTOS ROBLEDO     VIEJOS DAGUAO PAR H 166                    CARR 3 K 63 7                                                                       NAGUABO             PR           00718
          MARGORIE SOTOMAYOR
   296903 SEPULVEDA                   REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   709601 MARGOT A ACEVEDO CHABERT                    1401 COND CAMINOS VERDES   CARRTERA 844 APT 509                                                                SAN JUAN            PR           00926
   296905 MARGOT BELTRAN PAGAN                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   296906 MARGOT LOAIZA STEWART                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   296907 MARGOT LOPEZ CRUZ                           REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   709603 MARGOT MALDONADO CASTRO                     VILLAS DEL SOL             D 4 CALLE 6                                                                         TRUJILLO ALTO       PR           00976
   296908 MARGOT MARTINEZ                             REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   709604 MARGOT RODRIGUEZ ROURA                      URB ROLLING HILLS          C 108 C/ BRAZIL                                                                     CAROLINA            PR           00987
   709605 MARGOT SANTA ALICEA                         EXT ALT DE SAN LORENZO     F13 CALLE 5                                                                         SAN LORENZO         PR           00754

   709606 MARGRETHE MARRERO LOPEZ                     QUINTAS REALES             1 N 11 REINA ISABEL                                                                 GUAYNABO            PR           00969
          MARGUERITE BLACKBURN
   296909 MORENO                                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   296911 MARGY CRUZ MELENDEZ                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   709607 MARI AE CAMPS MILLAN                        BO MAMBICHE BLANCO         HC 3 BOX 6663                                                                       HUMACAO             PR           00791

   296917 MARI ANGELI LAGO BARNECETT REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARI ANGELI RODRIGUEZ
   709608 PIZARRO                    SECTOR HONDURA                              CARR 187 KM 9 HM 4                                                                  LOIZA               PR           00772
   709609 MARI B MENDEZ GONZALEZ     HC 02 BOX 11045                                                                                                                 MOCA                PR           00676

   709610 MARI BEL MALDONADO ORTIZ                    EXT ONIEL                  EE 98 CALLE E 1                                                                     MANATI              PR           00674
   709612 MARI C LOPEZ FIGUEROA                       URB VILLA DEL CARMEN       N 23 CALLE 11                                                                       GURABO              PR           00778‐2153
   296921 MARI C LOPEZ SANTIAGO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   709613 MARI C PONT VEGLIO                          PO BOX 116                                                                                                     ARROYO              PR           00714
   296922 MARI C SANTOS PEREZ                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   709615 MARI C SERRANO DE MONTILLA CAPARRA TOWN PARK                           16 CALLE LUHN APT 15 C                                                              GUAYNABO            PR           00966
   709616 MARI CARMEN ALONSO         URB EL VERDE                                34 CALLE JUPITER                                                                    CAGUAS              PR           00725
   709618 MARI CARMEN GARCIA         URB. EL ROSARIO                             H L CALLE C                                                                         Vega Baja           PR           00693



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   709619 MARI CARMEN LOPEZ FIGUEROA URB VILLA DEL CARMEN                            N 23 CALLE 11                                                                            GURABO              PR           00778‐2153
          MARI CARMEN MENDOZA
   296923 RIVERA                     REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296924 MARI CARMEN NIEVES CAEZ    REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709621 MARI CARMEN REYES PINTO    BAIROA PARK                                     2 J 5 CALLE CELESTINO SOLA                                                               CAGUAS              PR           00725
   296930 MARI DELGADO SANTOS        REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARI GLORIA HAMILTON
   296934 MORALES                    REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296941 MARI KAO COFFEE AND BEANS                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709623 MARI L BONILLA RIOS                         HC 56 BOX 4423                                                                                                          AGUADA              PR           00602
   709624 MARI L MELENDEZ RIVERA                      URB CIBUCO                     E 44 CALLE 6                                                                             COROZAL             PR           00783
   296942 MARI L MORALES PLACERES                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709625 MARI LINNE BON CORUJO                       200 AVE LOS CHALETS DE CUPEY                                                                                            SAN JUAN            PR           00926
                                                      157 VIA DEL ROCIO VALLE SAN
   709627 MARI LOURDES MENDOZA BAS                    LUIS                                                                                                                    CAGUAS              PR           00725‐3355

   709628 MARI LUZ CANDELARIA ARROYO URB JESUS M LAGO E1                                                                                                                      UTUADO              PR           00641
   296943 MARI LUZ LOPEZ ROSARIO     REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296944 MARI M VELEZ RODRIGUEZ     REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   296948 MARI NAYDA DEL VALLE SEARY                  REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296949 MARI O JUSINO RIVERA                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296950 MARI O RODRIGUEZ MEDINA                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709629 MARI R VELEZ RIVERA                         BOX 1836                                                                                                                CABO ROJO           PR           00623
   709632 MARI SOLDEVILA CATERING                     COLLEGE PARK                   1890 CALLE MODENA                                                                        SAN JUAN            PR           00921
   296953 MARI T TORRES VELAZQUEZ                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709633 MARI TERE REYES CORREA                      COND CAROLINA COURT            BOX 37 APT C 1                                                                           CAROLINA            PR           00982
   709634 MARI TRINI RIOS ROMAN                       P O BOX 270                                                                                                             HUMACAO             PR           00792
                                                                                     750 CALLE PIEDRAS NEGRAS #2
  1420428 MARIA                                       HAROLD J. RIVERA VAZQUEZ       PORTICOS DE VENUS                                                                        SAN JUAN            PR           00926
   709711 MARIA A AGOSTO AMADOR                       PO BOX 84                                                                                                               GUAYNABO            PR           00970
   709712 MARIA A AGOSTO RAMOS                        PO BOX 814                                                                                                              COMERIO             PR           00782
   296958 MARIA A ALAMO ROHENA                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709713 MARIA A ALCARAZ SUYAS                       RIVERAS DE CUPEY               N 9 CALLE OPALO                                                                          SAN JUAN            PR           00926
          MARIA A ALVARADO
   296959 CARRASQUILLO                                REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296960 MARIA A ALVARES ALVARADO                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296961 MARIA A ALVAREZ ALVARADO                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709714 MARIA A AMALBERT MILLAN                     BOX 26                                                                                                                  JUNCOS              PR           00777
   296963 MARIA A APONTE RODRIGUEZ                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709716 MARIA A ARCE ECHEVARRIA                     PARCELAS ELIZABETH             413 CALLE FLAMBOYAN                                                                      CABO ROJO           PR           00623
   709644 MARIA A ARIAS CRUZ                          URB CAMBRIDGE PARK             H 11 CALLE YORK                                                                          SAN JUAN            PR           00926

   709717 MARIA A ARROYO MALDONADO SAN JOSE                                          CALLE 7 PARC 78                                                                          TOA BAJA            PR           00951

   296964 MARIA A ARROYO RODRIGUEZ                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   296966 MARIA A BALSEIRO MUNIZ                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709719 MARIA A BARROSO RIVERA                      PO BOX 203                                                                                                              TOA ALTA            PR           00954‐0203
                                                      AK 4TA SECCION PASEO
   709720 MARIA A BATISTA MARTINEZ                    MAGDALENA                                                                                                               TOA BAJA            PR           00950



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  709721 MARIA A BELEN CHEVALIER                      107 CALLE DR CUETO BOX 2‐3                                                                                            UTUADO               PR         00761
  296967 MARIA A BENITEZ RIVERA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   709722 MARIA A BENITEZ RODRIGUEZ                   HC 03 BOX 34446                                                                                                       GURABO               PR         00778
   296968 MARIA A BERRIOS LOPEZ                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARIA A BETANCOURT
   709723 BETANCOURT                                  URB METROPOLIS               T 10 CALLE 19                                                                            CAROLINA             PR         00987

   709724 MARIA A BETANCOURT CABRET                   P O BOX 31009                                                                                                         SAN JUAN             PR         00929‐1009

   709645 MARIA A BETANCOURT SUAREZ                   COND VIZCAYA TOWER 2 A                                                                                                SAN JUAN             PR         00917
   709725 MARIA A BONAFOUX                            P O BOX 1701                                                                                                          TRUJILLO ALTO        PR         00977
   709726 MARIA A CABELLO LEON                        PO BOX 3404                                                                                                           GUAYNABO             PR         00970
   709727 MARIA A CABRERA BONET                       HC‐1 BOX 7016                                                                                                         BARCELONETA          PR         00617

   709728 MARIA A CADILLA REBOLLEDO                   ALTURAS DE TORRIMAR          2‐21 CALLE 2                                                                             GUAYNAB0             PR         00969
   709731 MARIA A CANCEL ROHENA                       BRISAS DE LOIZA              203 CALLE ESCORPION                                                                      CANOVANAS            PR         00729
   709732 MARIA A CARABALLO BAEZ                      BUENA VISTA                  127 CALLE PALMA REAL                                                                     CAROLINA             PR         00985

   296970 MARIA A CARRERO QUINONES                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   296971 MARIA A CARRILLO VAZQUEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   709735 MARIA A CASABLANCA BALDRICH 169 CALLE O NEIL                                                                                                                      SAN JUAN             PR         00918

   709736 MARIA A CASTILLO RODRIGUEZ                  1396 CALLE AMERICO SALAS                                                                                              SAN JUAN             PR         00909
   296972 MARIA A CASTRO GONZALEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   296973 MARIA A CINTRON RODRIGUEZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   709737 MARIA A CLASS HERNANDEZ                     HC 2 BOX 10031                                                                                                        YAUCO                PR         00698
   296974 MARIA A COLON REYES                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   709739 MARIA A COLON RIVERA                        ST MARYS PLAZA I             1485‐1 AVE ASHFORD APT 1803                                                              SAN JUAN             PR         00907
   709741 MARIA A CORONADO                            URB MONTECARLO               1267 CALLE 19                                                                            SAN JUAN             PR         00924
   296976 MARIA A CORONADO BACA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   709742 MARIA A CORREA OSORIO                       P O BOX 6071                                                                                                          LOIZA                PR         00772
   296977 MARIA A CRUZ CRUZ                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   709743 MARIA A CRUZ DIAZ                           URB LAS AMERICAS             967 PUERTO PRINCIPE                                                                      SAN JUAN             PR         00920
   296978 MARIA A CRUZ MONELL                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   709744 MARIA A CRUZ ORTIZ                          45 BDA CARMEN                                                                                                         SALINAS              PR         00751
   709745 MARIA A CUEVAS ANDUJAR                      URB METROPOLIS               F 1 12 CALLE 3                                                                           CAROLINA             PR         00987
   709746 MARIA A CUEVAS SANCHEZ                      PO BOX 1022                                                                                                           VEGA ALTA            PR         00692
   296979 MARIA A D RIVERA DIAZ                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   709747 MARIA A DAVID RODRIGUEZ                     HC 67 BOX 15581                                                                                                       FAJARDO              PR         00738
   709748 MARIA A DE JESUS MADERA                     PO BOX 647                                                                                                            COMERIO              PR         00782
   296980 MARIA A DE JESUS TIRADO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   709751 MARIA A DE LEON ORTIZ                       267 CALLE LINDA VISTA                                                                                                 SAN JUAN             PR         00907

   296981 MARIA A DE LOS RIBAS DE JESUS               REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   296982 MARIA A DEL TORO GOMEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   296983 MARIA A DIANA OLIVIERI                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   709753 MARIA A DIAZ CHARBONIER                     PO BOX 1060                                                                                                           RIO GRANDE           PR         00745
   709754 MARIA A DIAZ DE BERRIOS                     URB SABANERA                 109 GRAN VISTA                                                                           CIDRA                PR         00739
   296984 MARIA A DIAZ ROMAN                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  709755 MARIA A DOMINGUEZ RUIZ                       URB BALDRICH                522 CALLE INDEPENDENCIA                                                                   SAN JUAN            PR         00918
  296985 MARIA A DONIS ROSARIO                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   709756 MARIA A ESCALERA CLEMENTE                   URB LOIZA VALLEY            Y 937 CALLE SANGUINARIA                                                                   CANOVANAS           PR         00729

   709757 MARIA A ESCOBALES ESCOBALES SMC 6214 STATION ONE                                                                                                                  BAYAMON             PR         00960‐9003
          MARIA A ESCOBAR
   296986 DORRSCHEIDT                 REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   709758 MARIA A ESPINAL ESPINAL     EXT VILLAS DE LOIZA                         CC‐27 CALLE 45 A                                                                          CANOVANAS           PR         00729
   709759 MARIA A FIGUEROA            URB CROWN HILLS                             190 GUAYANES                                                                              SAN JUAN            PR         00926
   296989 MARIA A FIGUEROA BOSCH      REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   709760 MARIA A FIGUEROA FEBRES     RES FELIPE S OSORIO                         EDIF 12 APT 66                                                                            CAROLINA            PR         00985

   709761 MARIA A FIGUEROA FIGUEROA                   VILLA JUSTICIA              M 4 CALLE DELGADO                                                                         CAROLINA            PR         00984
   296991 MARIA A FLORES ORTIZ                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   296992 MARIA A FUERTES BACHMAN                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   709764 MARIA A GANDARA FERNANDEZ                   URB OASIS                   E 5 CALLE ARGENTINA                                                                       GUAYNABO            PR         00969
   709765 MARIA A GANDIA LUGO                         BOX 993                                                                                                               VEGA BAJA           PR         00693
   296993 MARIA A GARCIA BELTRAN                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   296994 MARIA A GARCIA GONZALEZ                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   709766 MARIA A GARCIA PEREZ                        HC 03 BOX 14503                                                                                                       AGUAS BUENAS        PR         00703
   709767 MARIA A GARCIA PION                         URB VILLA PRADES 613        CALLE FRANCISCO BLASINO                                                                   SAN JUAN            PR         00924
   709768 MARIA A GARCIA RAMIREZ                      366 CALLE SERAFIN GARCIA                                                                                              CAYEY               PR         00737
   709769 MARIA A GARCIA RODRIGUEZ                    URB VENUS GARDENS           AE 21 CALLE TIJUANA                                                                       SAN JUAN            PR         00926
   296995 MARIA A GARCIA VICENS                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   709770 MARIA A GIL CARVAJAL                        URB MORA 203 CALLE LA PAZ                                                                                             SAN JUAN            PR         00925
   296996 MARIA A GOMEZ CAMPOS                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   296997 MARIA A GONZALEZ                            REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   709646 MARIA A GONZALEZ ALMENAS                    BO LA MESA HC 09            BOX 60257                                                                                 CAGUAS              PR         00725

   296998 MARIA A GONZALEZ CARDONA                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   296999 MARIA A GONZALEZ GONZALEZ                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   709773 MARIA A GONZALEZ ORTIZ                      49 CALLE CANTERA                                                                                                      MANATI              PR         00674
   297000 MARIA A GONZALEZ PICO                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   709771 MARIA A GONZALEZ SANCHEZ                    HC 43 BOX 10710                                                                                                       CAYEY               PR         00736

   709774 MARIA A GONZALEZ SANCHEZ                    VILLA ESPERANZA             LAS CUMBRES EDIF 16 APTO 223                                                              SAN JUAN            PR         00926
   709775 MARIA A GOYTIA GUZMAN                       URB VILLA BLANCO            17 CALLE RUBI                                                                             CAGUAS              PR         00725
   709776 MARIA A GUERRA GONZALEZ                     PO BOX 9839                                                                                                           SAN JUAN            PR         00908
   709777 MARIA A GUTIERREZ GARCIA                    URB MARBELLA                339 CALLE 2                                                                               AGUADILLA           PR         00603
                                                                                  BC8 VIA ONTARIO URB
   709778 MARIA A HERNANDEZ MARTIN                    BOSQUE DEL LAGO             ENCANTADA                                                                                 TRUJILLO ALTO       PR         00976
   709781 MARIA A ILLA MEDINA                         RAMON MARIN SOLA            EDIF 10 APT 497                                                                           ARECIBO             PR         00612
   297002 MARIA A IRIZARRY RIVERA                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   709783 MARIA A JIMENEZ COLON                       P O BOX 5897                                                                                                          CIDRA               PR         00739
   709784 MARIA A JIMENEZ DEL VALLE                   VILLA CALIZ                 15 CALLE RIQUEZA                                                                          CAGUAS              PR         00725
   297003 MARIA A JIMENEZ MAMBRU                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   709787 MARIA A LEBRON CARDONA                      PARCELA HILL BROTHER SUR    398 CALLE 23                                                                              SAN JUAN            PR         00924
   709788 MARIA A LECUMBERRY CRUZ                     MONTE CLARO ESTATES         ME 60 PLAZA 13                                                                            BAYAMON             PR         00961
   709789 MARIA A LEON YORDAN                         URB SOMBRAS DEL REAL        709 CALLE HIGUERA                                                                         COTO LAUREL         PR         00780‐2911



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  709790 MARIA A LIZARDI CORDOVA                      VILLA DE SAN IGNACIO           CALLE SAN STURDO 36                                                                     SAN JUAN            PR         00927
  709792 MARIA A LOPEZ PEREZ                          385 BRAVANTE                                                                                                           SAN JUAN            PR         00923
  709793 MARIA A LOPEZ SANTIAGO                       PO BOX 47                                                                                                              OROCOVIS            PR         00720
  709795 MARIA A LUGO PEREZ                           BO RABANAL                     RR 01 BOX 2523                                                                          CIDRA               PR         00739
  709796 MARIA A MALDONADO                            URB VALENCIA                   AE 23 CALLE 9                                                                           BAYAMON             PR         00959
  297004 MARIA A MARCANO GUERRA                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   709799 MARIA A MARTINEZ CALDERON                   JARDINES DE CAPARRA            N 10 CALLE 19                                                                           BAYAMON             PR         00959
   297005 MARIA A MARTINEZ COTTO                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   709801 MARIA A MARTINEZ MASSO                      URB MONTE BRISAS               5 L 19 CALLE 12                                                                         FAJARDO             PR         00738
   709802 MARIA A MARTINEZ MORALES                    HC 08 BOX 49245                                                                                                        CAGUAS              PR         00725‐9639
   709803 MARIA A MARTINEZ RAMIRE                     P O BOX 5000 248                                                                                                       SAN GERMAN          PR         00683
   709804 MARIA A MARTINEZ ROSARIO                    RES SANTA ANA EDIF B APT 73                                                                                            SAN JUAN            PR         00921
   297006 MARIA A MARZAN DAVILA                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   709805 MARIA A MATOS                               PO BOX 50063                                                                                                           SAN JUAN            PR         00902
   297007 MARIA A MATOS RIBOT                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297008 MARIA A MATOS RIVERA                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297009 MARIA A MATOS SANTILLAR                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   709806 MARIA A MEJIAS ORTIZ                        HC 02 BOX 400‐30                                                                                                       VEGA BAJA           PR         00693

   709807 MARIA A MELENDEZ CABRERA                    VILLA CAROLINA                 129‐13 CALLE 70 APT 2 A                                                                 CAROLINA            PR         00985

   297010 MARIA A MELENDEZ CARMONA                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297011 MARIA A MELENDEZ GUZMAN                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297012 MARIA A MENDEZ OCASIO                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   770712 MARIA A MERCADO PADILLA                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   709808 MARIA A MILLAN ORTIZ                        HC 73 BOX 4418                                                                                                         NARANJITO           PR         00719

   297013 MARIA A MONTERO GONZALEZ                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   709811 MARIA A MORALES                             JARDINES DE SANTA ANA          A 33                                                                                    COAMO               PR         00769
   297014 MARIA A MORALES GUANILL                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297015 MARIA A MUNOZ GOMEZ                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   709708 MARIA A NIEVES CAMACHO                      HC 2 BUZON 17078               BO CIENEGA BAJA MALPICA                                                                 RIO GRANDE          PR         00745
   297016 MARIA A NIEVES FLORES                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   709709 MARIA A OCASIO SILVA                        409 CALLE SOL                  VIEJO SAN JUAN                                                                          SAN JUAN            PR         00902
   297018 MARIA A OJEA PANTI                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   709814 MARIA A OLIVERA DE JESUS                    URB LOS CAOBOS                 1967 CALLE GUAYACAN                                                                     PONCE               PR         00716
   297019 MARIA A OQUENDO FERRER                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   709817 MARIA A ORELLANA SANTANA                    URB MONTE TRUJILLO             11 CALLE 4 D                                                                            TRUJILLO ALTO       PR         00976‐4009
   297020 MARIA A ORTEGA CALDERON                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297021 MARIA A ORTEGA GOMEZ                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297022 MARIA A ORTIZ DE MARTIN                     REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   709819 MARIA A ORTIZ FIGUEROA                      PO BOX 1122                                                                                                            PATILLAS            PR         00723
   297023 MARIA A ORTIZ LOPEZ                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   709820 MARIA A ORTIZ MELENDEZ                      HC 67 BOX 15231                                                                                                        BAYAMON             PR         00956‐9511
   297024 MARIA A ORTIZ RIVERA                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      V. PRADES 845 CALLE JOSEFINA
   709821 MARIA A ORTIZ RODRIGUEZ                     PARES                                                                                                                  SAN JUAN            PR         00926
   297025 MARIA A ORTIZ TORRES                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297026 MARIA A PADRO VEGA                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297027 MARIA A PAGANI ALEMANY                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   709647 MARIA A PERALES RODRIGUEZ                   COND CONDADO PRINCESS          CALLE WASHINGTON 2 APT 703                                                              SAN JUAN            PR         00907



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  709822 MARIA A PERALTA DE CRUZ                      7107 CALLE LAS FLORES                                                                                            SABANA SECA       PR           00952
         MARIA A PEREZ (TUTORA) DE
  297028 JOSE A PEREZ                                 REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  709823 MARIA A PEREZ GARCIA                         BOX 1105                                                                                                         TOA ALTA          PR           00954
  709824 MARIA A PEREZ GONZALEZ                       HC 1 BOX 6015                                                                                                    MOCA              PR           00676
  297029 MARIA A PEREZ MORALES                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  709827 MARIA A PEREZ SOLER                          HC 2 BOX 8791                                                                                                    QUEBRADILLAS      PR           00678‐9802
  709828 MARIA A PEREZ VELASCO                        HC 01 BOX 6722                                                                                                   FLORIDA           PR           00650
  297030 MARIA A PIZARRO PIZARRO                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  297031 MARIA A PONCE VALENTIN                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  297032 MARIA A QUINONES LEBRON                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
  709829 MARIA A RALAT DE JESUS                       RES LUIS LLORENS TORRES    EDF 83 APT 1607                                                                       SAN JUAN          PR           00913
         MARIA A RAMIREZ
  709830 ENCARNACION                                  URB FAIRVIEW              N 17 CALLE 21                                                                          SAN JUAN          PR           00926‐8111
                                                      BO COCO NUEVO COM ARCADIO
   709831 MARIA A RAMOS DIAZ                          MALDONADO                 359‐5 CALLE 1                                                                          SALINAS           PR           00751
                                                      COND.JARD.GUAYAMA EDIF.C
   709832 MARIA A RAMOS ROCA                          APT 705                                                                                                          SAN JUAN          PR           00917
   709834 MARIA A RENTAS MATOS                        BO STA ROSA 1             HC 1 BOX K2.5                                                                          GUAYNABO          PR           00971
   709835 MARIA A RESTO CASTRO                        HC 01 BOX 8033                                                                                                   GURABO            PR           00778
   709837 MARIA A REYES BRUNO                         HC 01 BOX 25675                                                                                                  CAGUAS            PR           00725
   297034 MARIA A REYES MUNOZ                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   297035 MARIA A RICHARD RIOS                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   709838 MARIA A RIJOS MEDINA                        EZQ MENDEZ VIGO           13 CALLE INDUSTRIAL                                                                    DORADO            PR           00646
   709839 MARIA A RIOS JIMENEZ                        PO BOX 1747                                                                                                      CANOVANAS         PR           00729
   297036 MARIA A RIVERA AGOSTO                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   709840 MARIA A RIVERA BERRIOS                      ALTURAS DE FLAMBOYAN      C 2 CALLE 6                                                                            BAYAMON           PR           00959
   709650 MARIA A RIVERA GUZMAN                       URB CAGUAX                B‐ 8 CALLE CANEY                                                                       CAGUAS            PR           00725
   709842 MARIA A RIVERA LASANTA                      PO BOX 8769                                                                                                      BAYAMON           PR           00960
   297037 MARIA A RIVERA MARRERO                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   297038 MARIA A RIVERA MONTANEZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   709636 MARIA A RIVERA NAZARIO                      93 CALLE ACOSTA                                                                                                  CAGUAS            PR           00725
   709847 MARIA A RIVERA ORTEGA                       CUPEY GARDENS             I4 CALLE 9 URB CUPEY GDNS                                                              SAN JUAN          PR           00926
   709849 MARIA A RIVERA PAGAN                        PO BOX 6952                                                                                                      CAGUAS            PR           00726
   297039 MARIA A RIVERA PLAZA                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   709850 MARIA A RIVERA RIVERA                       P O BOX 1782                                                                                                     UTUADO            PR           00641‐1782
   709648 MARIA A RIVERA RODRIGUEZ                    URB VILLA BLANCA          6 CALLE GRANATE                                                                        CAGUAS            PR           00725
   709851 MARIA A RIVERA SIERRA                       41 CALLE LOS MILAGROS                                                                                            CIALES            PR           00638
   297040 MARIA A RIVERA TORRES                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   709852 MARIA A ROBLETO GONZALEZ                    6616 N W 70TH AVE                                                                                                TAMARAC           FL           33321
   297041 MARIA A RODIL CUADRADO                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   709710 MARIA A RODRIGUEZ CASTILLO                  154 CALLE MENDEZ VIGO                                                                                            MAYAGUEZ          PR           00680
   297042 MARIA A RODRIGUEZ CRUZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   709854 MARIA A RODRIGUEZ FUENTES                   COND TORRES DE CERVANTES   TORRE A 906                                                                           SAN JUAN          PR           00924
   297043 MARIA A RODRIGUEZ MEDINA                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   709855 MARIA A RODRIGUEZ MELENDEZ P O BOX 47                                                                                                                        OROCOVIS          PR           00720
          MARIA A RODRIGUEZ
   709856 OLAZAGASTI                 610 CALLE OLIMPO                            APT 1 A                                                                               SAN JUAN          PR           00907




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   709860 MARIA A RODRIGUEZ VAZQUEZ                   EXT SALAZAR                  G 3 CALLE 7                                                                              PONCE                PR           00731
   297045 MARIA A ROMERO JACKSON                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   709862 MARIA A ROMERO MORENO                       COND LAGUNA GARDENS III      3 AVE LAGUNA P H A                                                                       CAROLINA             PR           00979
   709863 MARIA A ROSADO GONZALEZ                     HC 5 BOX 31609                                                                                                        HATILLO              PR           00659

   709865 MARIA A ROSARIO BETANCOURT URB ESTANCIAS DEL RIO                         9 CALLE ROBLES                                                                           CANOVANAS            PR           00729
   709866 MARIA A ROSARIO PEREZ      PO BOX 604                                                                                                                             JUNCOS               PR           00777

   297046 MARIA A ROSARIO RODRIGUEZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      VILLA PALMERAS 359 CALLE
   709868 MARIA A ROSARIO SANTAELLA                   FERRER                                                                                                                SAN JUAN             PR           00915
                                                                                   1894 CALLE MODENA URB
   709869 MARIA A RUBIO COLLAZO                       COLLEGE PARK                 COLLEGE PARK                                                                             SAN JUAN             PR           00921
   709870 MARIA A RUIZ ALICEA                         HC 3 BOX 4273                                                                                                         GURABO               PR           00778
   297048 MARIA A RUIZ GALINDO                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   709871 MARIA A RUIZ MORALES                        HC 01 BOX 3051                                                                                                        HATILLO              PR           00659

   297049 MARIA A SACARELLO MARTINEZ                  REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   297051 MARIA A SANCHEZ CRUZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   297053 MARIA A SANCHEZ GONZALEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   709872 MARIA A SANCHEZ ROSADO                      806 SAN LUIS APT 8           CARR 10                                                                                  PONCE                PR           00731
   297054 MARIA A SANCHEZ SANTIAGO                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   709874 MARIA A SANTANA CAMACHO                     URB ALTURAS DE MAYAGUEZ      M 24 CALLE MONTOSO                                                                       MAYAGUEZ             PR           00682‐6308
   297055 MARIA A SANTANA JIMENEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   709875 MARIA A SANTIAGO                            BOX 40                                                                                                                CIDRA                PR           00739
                                                      7374 AVE AGUSTIN RAMOS
   709876 MARIA A SANTIAGO ANDUJAR                    CALERO                                                                                                                ISABELA              PR           00662
   709649 MARIA A SANTIAGO DE LEON                    PO BOX 3149                                                                                                           JUNCOS               PR           00777

   297056 MARIA A SANTIAGO GONZALEZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   709877 MARIA A SANTIAGO MELENDEZ                   PO BOX 138                                                                                                            COROZAL              PR           00783‐0138
   709878 MARIA A SANTIAGO PABON                      EXT SANCHEZ                  13 CALLE A                                                                               VEGA ALTA            PR           00692
   297058 MARIA A SANTIAGO PEREZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   709879 MARIA A SANTIAGO TEXIDOR                    HC 1 BOX 8604                                                                                                         LUQUILLO             PR           00773

   709880 MARIA A SEBASTIAN RODRIGUEZ URB RIVERSIDE PARK                           H8 CALLE 1                                                                               BAYAMON              PR           00961
   709881 MARIA A SEDA FERRER         PUERTO REAL                                  6 CALLE 14                                                                               CABO ROJO            PR           00623
   709882 MARIA A SERRANO PEREZ       HC 02 BOX 14177                                                                                                                       ARECIBO              PR           00612
                                                                                   188 CALLE GUAYCN URB CIUDAD
   709884 MARIA A SILVA CARRION                       CIUDAD JARDIN                JARD IV                                                                                  TOA ALTA             PR           00953
   709885 MARIA A SOLTERO                             609 CUEVILLA 3B                                                                                                       SAN JUAN             PR           00907
   297059 MARIA A SORI CRUZ                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   297061 MARIA A SOTO DUMEY                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   297062 MARIA A SOTO PLANAS                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   709886 MARIA A SOTO RAMOS                          46 WEST MONROE STREET        MOUNT HOLLY APT A                                                                        NEW JERSEY           NJ           08060
   297063 MARIA A SOTO SOTO                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   297064 MARIA A SURIA                               REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   297065 MARIA A TIRADO RODRIGUEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   709651 MARIA A TOBAJA LOPEZ                        URB PARKVILLE TERRACE        103 CALLE ALAMO DRIVE                                                                    GUAYNABO             PR           00969

   709887 MARIA A TORRES                              1454 ROCK AWAY PARKWAY 232                                                                                            BROOKLYN             NY           11236



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  709888 MARIA A TORRES ARCE                          D 4 QUINTAS MONSERRATE II                                                                                         PONCE               PR           00730
  709889 MARIA A TORRES BORGES                        URB VILLA CONTESSA          B 13 CALLE BORBON                                                                     BAYAMON             PR           00956

   709890 MARIA A TORRES MALDONADO                    BO MOROVIS SUR              BOX 755                                                                               MOROVIS             PR           00687
   297066 MARIA A TORROS ROMEU                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   297067 MARIA A VARGAS ARROYO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   709893 MARIA A VAZQUEZ BENVENUTTI                  PO BOX 10213                                                                                                      PONCE               PR           00732‐0213
   709894 MARIA A VAZQUEZ FONTAN                      URB PUERTO NUEVO            1167 CALLE 4 NE                                                                       SAN JUAN            PR           00920
   297068 MARIA A VAZQUEZ NEGRON                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   297069 MARIA A VAZQUEZ PRADO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   297070 MARIA A VAZQUEZ RODRIGUEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   297071 MARIA A VELAZQUEZ MEDINA                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   297072 MARIA A VELEZ BURGOS                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   709895 MARIA A VENERO MENDEZ                       HC 2 BOX 12203                                                                                                    MOCA                PR           00676
   709896 MARIA A VERAS FERNANDEZ                     URB METROPOLIS              2A 11 CALLE 33                                                                        CAROLINA            PR           00987

   709897 MARIA A VERGARA GONZALEZ                    BOX 4456                                                                                                          CIDRA               PR           00739

   709898 MARIA A VILELLA GONZALEZ                    CALLEGON PROGRESO PAD 20                                                                                          SAN JUAN            PR           00909
   297073 MARIA A YORDAN CONESA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   297074 MARIA A ZAPATA CASTILLO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   297075 MARIA A. ALAMO ROHENA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   297076 MARIA A. BAEZ ROMAN                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   297077 MARIA A. CANCEL PASTRANA                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   297079 MARIA A. GIRONA KINGLEY                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   297083 MARIA A. GUTIERREZ FRED                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   709901 MARIA A. GUTIERREZ ORTIZ                    COND SAN CRISTOBAL          250 CALLE SOL                                                                         SAN JUAN            PR           00901
   709903 MARIA A. LEON GANDARA                       344 CALLE FONT MARTELO W                                                                                          HUMACAO             PR           00791

   297085 MARIA A. MARTINEZ CALDERON REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   297087 MARIA A. MONTERO PEREZ     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   709904 MARIA A. MORALES RODRIGUEZ URB BAIROA                                   BV1 CALLE 3                                                                           CAGUAS              PR           00725
   709905 MARIA A. ORTEGA CALDERON   PO BOX 21414                                                                                                                       SAN JUAN            PR           00928

   709906 MARIA A. PEREZ CASTRO                       URB. COUNTRY CLUB           1159 CALLE ANTONIA MARTINEZ                                                           SAN JUAN            PR           000924
   297089 MARIA A. PEREZ QUINONES                     REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   709907 MARIA A. PRIETO DELGADO                     COND HOROMAR APT 5 2        1559 CALLE LOPEZ LANDRON                                                              SAN JUAN            PR           00911
   297090 MARIA A. QUINTANA RIVERA                    REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   297091 MARIA A. RODRIGUEZ MARTINEZ REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   709909 MARIA A. ROJAS              URB. LA ALIANZA                             128 CALLE CANARIO                                                                     MOROVIS             PR           00687
   297092 MARIA A. ROMAN SANCHEZ      REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   297093 MARIA A. SANTANA JIMENEZ    REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   297094 MARIA A. SANTIAGO GONZALEZ                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   297095 MARIA A. SEDA FIGUEROA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                      304 COND WATERVIEW
   709911 MARIA A. TIRADO VELEZ                       MANSIONS                                                                                                          SAN JUAN            PR           00907
   297096 MARIA A. TORRES SANDOVAL                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   709913 MARIA A. TORRES TAPIA                       1465 CALLE AMERICA # 1465                                                                                         SAN JUAN            PR           00909



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  297097 MARIA A. TRENCHE OLIVERO                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  297098 MARIA A. VAZQUEZ NEGRON                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  297099 MARIA A.CRESPO AVILES                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  297100 MARIA ABAD BOYD                              REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  709915 MARIA ABREU SANTIAGO                         URB LUCILA FRANCO              46 CALLE 1                                                                        VIEQUES           PR         00765
  297101 MARIA ACEVEDO                                REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  297102 MARIA ACEVEDO ACEVEDO                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  709916 MARIA ACEVEDO AVILES                         PRADO ALTO                     J 15 CALLE 1                                                                      GUAYNABO          PR         00966
  297103 MARIA ACEVEDO BAEZ                           REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  709918 MARIA ACEVEDO COLON                          URB RAMOS CASA                 22 MONTE GRANDE                                                                   CABO ROJO         PR         00623
  297104 MARIA ACEVEDO FRIAS                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  709919 MARIA ACEVEDO MONTERO                        HC 8 BOX 740                                                                                                     PONCE             PR         00731
  709920 MARIA ACEVEDO SOTO                           HC 5 BOX 28827                                                                                                   CAMUY             PR         00627

   297105 MARIA ACOSTA PAGAN PAGAN                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297106 MARIA ACOSTA VEGA                           REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   709921 MARIA ADALJISA DAVILA VELEZ                 PO BOX 7846                                                                                                      SAN JUAN          PR         00916
   297107 MARIA ADAMES BORRERO                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   709923 MARIA ADDARICH MALAVE                       PO BOX 2724                                                                                                      CAROLINA          PR         00984‐2724
   709924 MARIA ADELINA PEREZ ROSA                    SIERRA REAL                    N 33 CALLE 102                                                                    CAYEY             PR         00736
   297108 MARIA ADORNO PINEIRO                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   709925 MARIA AGOSTO ALAGO                          HC 2 BOX 14832                                                                                                   ARECIBO           PR         00612
   709926 MARIA AGOSTO CARABALLO                      BO IGUILLAL                    686 VILLA SANTA                                                                   DORADO            PR         00646
   709927 MARIA AGOSTO LUGO                           JARD DE COUNTRY CLUB           BR 6 CALLE 119                                                                    CAROLINA          PR         00983
   297109 MARIA AGOSTO ORTIZ                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

          MARIA AGOSTO
   297110 ORTIZ/EDUC.SERVICE & SUPORT                 REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   709928 MARIA AGOSTO RIVERA                         BO OBRERO                      2002 AVE REXACH P 3                                                               SAN JUAN          PR         00915
   709929 MARIA AGUILERA                              PO BOX 50063                                                                                                     SAN JUAN          PR         00902
   297112 MARIA ALAMO DE JESUS                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   709930 MARIA ALAMO RIVERA                          PO BOX 608                                                                                                       JUNCOS            PR         00777
   709931 MARIA ALAMO RODRIGUEZ                       HC 7 BOX 34851                                                                                                   CAGUAS            PR         00727‐9461
   709932 MARIA ALBA NEGRON                           PEREZ MORIS                    62 CALLE ARECIBO # C                                                              SAN JUAN          PR         00917

   709933 MARIA ALBELO CARRASCO                       URB.SAN FERNANDO D‐2 CALLE 8                                                                                     TOA ALTA          PR         00953
   709934 MARIA ALBELO OTERO                          P O BOX 418                                                                                                      CIALES            PR         00638
          MARIA ALBERTO RODRIGUEZ
   297113 LEON                                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297114 MARIA ALBINO SANTIAGO                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                     434 CALLE CALLE JUAN
   709936 MARIA ALDEA RODRIGUEZ                       PARC MANI                      RODRIGUEZ                                                                         MAYAGUEZ          PR         00682
          MARIA ALEJANDRA BORGES
   297115 TORRES                                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARIA ALEJANDRA COLON
   297116 ALMODOVAR                                   REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARIA ALEJANDRA D'EMPAIRE
   297117 FERNANDEZ                                   REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARIA ALEJANDRA MARTINEZ
   297118 CARDENAS                                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297119 MARIA ALENDRINO PIZARRO                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   709938 MARIA ALERS FANTAUZZI                       URB VISTA VERDE                BZN 662                                                                           AGUADILLA         PR         00603



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          MARIA ALEXANDRA LEDOUX
   709939 PEREZ                                       RES BRISAS DE CUPEY              EDIF 11 APT 157                                                                      SAN JUAN            PR           00926
          MARIA ALEXANDRA SANTANA
   297120 CAMACHO                                     REDACTED                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297121 MARIA ALFARO DELGADO                        REDACTED                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709940 MARIA ALGARIN SERRANO                       URB SABANA GARDENS               32 BLOQ 9 CALLE 13                                                                   CAROLINA                         00983
   297122 MARIA ALICEA BAEZ                           REDACTED                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709941 MARIA ALICEA MARTINEZ                       HC‐01 BOX 4582                                                                                                        LAS MARIAS          PR           00670
   297123 MARIA ALICEA RODRIGUEZ                      REDACTED                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA ALICIA HICIANO
   297124 BILLAMAR                                    REDACTED                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297125 MARIA ALICIA MOORE                          REDACTED                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709942 MARIA ALLENDE SANCHEZ                       URB COUNTRY CLUB                 HD 20 CALLE 220                                                                      CAROLINA            PR           00982
   297126 MARIA ALMENA SOSA                           REDACTED                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297127 MARIA ALMINDA VILLAFANE                     REDACTED                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709944 MARIA ALMODOVAR TORRES                      C 18 GANDULES                                                                                                         YAUCO               PR           00698
   709945 MARIA ALOMAR COUVERTIER                     R/LUIS LLORENS TORRES            EDIF 41 APTO 828                                                                     SAN JUAN            PR           00915
   709946 MARIA ALOMAR SUAREZ                         PO BOX 844                                                                                                            SANTA ISABEL        PR           00757‐0844
   709947 MARIA ALVARADO                              PO BOX 1546                                                                                                           JUANA DIAZ          PR           00795
   709948 MARIA ALVARADO COTTO                        HC01 BOX 5276                                                                                                         GUAYNABO            PR           00971‐9512
   297128 MARIA ALVARADO PAGAN                        REDACTED                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709949 MARIA ALVAREZ CRUZ                          URB CAPARRA TERRACE              1582 CALLE 28 S O                                                                    SAN JUAN            PR           00921
   297129 MARIA ALVAREZ RIVERA                        REDACTED                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297130 MARIA ALVAREZ VARGAS                        REDACTED                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297131 MARIA ALVAREZ VILLAFANEZ                    REDACTED                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709952 MARIA ALVERIO DE JESUS                      HC 1 BOX 6487                                                                                                         BARCELONETA         PR           00617
          MARIA AMALIA SHARRON DEL
   709953 RIO                                         1163 TAVAREZ APT 2                                                                                                    SAN JUAN            PR           00925
   297133 MARIA ANA PARRENO                           REDACTED                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709955 MARIA ANCHUNDIA                             VILLA DEL REY                    HH 8 CALLE 15A                                                                       CAGUAS              PR           00725
   297134 MARIA ANGELICA CLASSEN                      REDACTED                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709956 MARIA ANGELICA FERNANDEZ                    VILLA EL SALVADOR                A 5 CALLE MARGINAL                                                                   SAN JUAN            PR           00921
   709957 MARIA ANIBAL MONTANEZ                       BDA VENEZUELA                    56 A CALLE PRINCIPAL                                                                 SAN JUAN            PR           00926
          MARIA ANTONIA COSME
   297135 PACHECO                                     REDACTED                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA ANTONIA JIMENEZ
   709958 GALARZA                                     HC 8 BOX 49273                                                                                                        CAGUAS              PR           00725‐9640
          MARIA ANTONIA VAZQUEZ
   297137 GONZALEZ                                    REDACTED                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297138 MARIA APONTE ADORNO                         REDACTED                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297139 MARIA APONTE MEJIAS                         REDACTED                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297141 MARIA APONTE RAMOS                          REDACTED                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709960 MARIA AQUINO BURGOS                         RR 07 BOX 8249                                                                                                        SAN JUAN            PR           00926
   297142 MARIA AQUINO GIL                            REDACTED                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709961 MARIA ARCAY GARCIA                          URB VILLA SAN ANTON K 5          CALLE ERNESTO RODRIGUEZ                                                              CAROLINA            PR           00987

   297143 MARIA ARCHILLA PGBON                        GARDEN HILLS PLAZA I APTO. 804                                                                                        GUAYNABO            PR           00967

   297144 MARIA ARIAS Y/O NORIS A ARIAS REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297145 MARIA ARNAU RIVERA            REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709963 MARIA AROCHO NEGRON           PO BOX 1490                                                                                                                         TOA BAJA            PR           00951 1490
   709964 MARIA AROCHO NIEVES           HC 02 BOX 7278                                                                                                                      QUEBRADILLAS        PR           00678
   709965 MARIA AROCHO VERA             HC 02 BOX 6690                                                                                                                      LARES               PR           00669



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  297146 MARIA ARROYO AYALA                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  709967 MARIA ARROYO GONZALEZ                        HC O3 BOX 6489                                                                                                       HUMACAO            PR         00791‐9545
  297147 MARIA ARROYO SANCHEZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  297150 MARIA ARZUAGA PIZARRO                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  297151 MARIA ASENCIO SANJURJO                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  709970 MARIA ASTOLAZA GUZMAN                        VILLAS DEL CARMEN             2941 CALLE SALON                                                                       PONCE              PR         00716‐2247
  709971 MARIA ATILES CRESPO                          2025 AVE REXACH                                                                                                      SAN JUAN           PR         00915
  709972 MARIA AVELO CLEMENTE                         RES LAS MARGARITA             EDIF 5 APT 557                                                                         SAN JUAN           PR         00915
  709973 MARIA AVILA SOTO                             P O BOX 460                                                                                                          CEIBA              PR         00980
  709974 MARIA AVILES GONZALEZ                        ALT DE BUCABARONES            3S48 CALLE 44                                                                          TOA ALTA           PR         00953
  709975 MARIA AYALA CRUZ                             PO BOX 407                                                                                                           TRUJILLO ALTO      PR         00977

   709976 MARIA AYALA FIGUEROA                        BO SAN ISIDRO                 BOX 1900 VILLA CONQUISTADOR                                                            CANOVANAS          PR         00729
   297152 MARIA AYALA LOPEZ                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   297153 MARIA AYALA QUINONES                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   709977 MARIA AYALA REYES                           HC 01 BOX 47352                                                                                                      NAGUABO            PR         00718
   709652 MARIA AYALA VILLALOBOS                      PO BOX 21365                                                                                                         SAN JUAN           PR         00928
   709978 MARIA AYARDE                                URB CAPARRA TERRACE           839 CALLE 13                                                                           SAN JUAN           PR         00921
   709979 MARIA B APONTE ROSARIO                      JARD DE BAYAMONTE             68 COLIBRI                                                                             BAYAMON            PR         00956
   297154 MARIA B AYALA LARA                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   709981 MARIA B COLON OTERO                         URB LA INMACULADA             122 CALLE AGUILA                                                                       VEGA BAJA          PR         00692
   297155 MARIA B CRESCIONI CUEBAS                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   297156 MARIA B DEL RIO PEREZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   709983 MARIA B FRANCO BERMUDEZ                     PO BOX 1483                                                                                                          CIDRA              PR         00739
   297157 MARIA B GARCIA HERNANDEZ                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   709985 MARIA B GASCOT SAEZ                         JARDINES DE TOA ALTA          252 CALLE 9                                                                            TOA ALTA           PR         00953
   297158 MARIA B GOMEZ CINTRON                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   709986 MARIA B GUZMAN                              URB APONTE                    F11 CALLE 5                                                                            CAYEY              PR         00736
   297159 MARIA B LACAMBRA LOIZU                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   297160 MARIA B LEIVA                               REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   709987 MARIA B LLAMAS GORDO                        PO BOX 587                                                                                                           LAS PIEDRAS        PR         00771

   709988 MARIA B LUQUIS RIVERA                       BO PESAS 66 PARC LAS MARIAS   PR 149 KM 20 2 INT                                                                     CIALES             PR         00638
          MARIA B MALDONADO                           COND PAVILLION COURT APT 17   161 CALLE CESAR GONZALEZ BOX
   709989 MALFREGEOT                                  D                             100                                                                                    SAN JUAN           PR         00918
   297162 MARIA B NEGRON NAVEDO                       REDACTED                      REDACTED                     REDACTED                           REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   297163 MARIA B PAGAN RIVERA                        REDACTED                      REDACTED                     REDACTED                           REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   709991 MARIA B PEREZ PEREZ                         BDA VIETNAM                   37 CALLE E                                                                             GUAYNABO           PR         00962
   297164 MARIA B PLAZA MALDONADO                     REDACTED                      REDACTED                     REDACTED                           REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   709992 MARIA B RAMIREZ FERNANDEZ                   COND LINCOLN PARK             8 CARR 833 APTO 106                                                                    GUAYNABO           PR         00969
   297165 MARIA B RAMOS SAENZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   297166 MARIA B RIOS GONZALEZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   297167 MARIA B RIVERA BONILLA                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   709994 MARIA B RIVERA MELENDEZ                     JRDN DE COUNTRY CLUB          A C 1 CALLE 18                                                                         CAROLINA           PR         00983
          MARIA B ROBLEDO / MARIA R
   709995 VILLEGAS                                    712 A COOP SAN IGNACIO                                                                                               SAN JUAN           PR         00927
   297168 MARIA B ROSA BATISTA                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   709997 MARIA B ROSA CARRION                        HC 01 BOX 6286                BO CAMBALACHE                                                                          CANOVANAS          PR         00729
   709998 MARIA B RUIZ                                BOX 6                                                                                                                MOCA               PR         00676
   709999 MARIA B TORRES SANTIAGO                     BOX 5213                                                                                                             CIDRA              PR         00739
   297169 MARIA B VAZQUEZ ANDINO                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   710002 MARIA B. ALVAREZ SEGUI                      RR10 BOX 10494                                                                                                       SAN JUAN           PR         00926‐9514



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  297170 MARIA B. OCASIO CASADO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  297171 MARIA B. VAZQUEZ RIVERA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  710003 MARIA BAEZ BRUNO                             HC 2 BOX 7362                                                                                                  LAS PIEDRAS        PR         00771
  710004 MARIA BAEZ LIZARDI                           RES EL FARO                  EDIF 4 APT 27                                                                     CAROLINA           PR         00985
  297172 MARIA BAHAMUNDI ALBINO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         MARIA BALLESTER/ FLORAL
  710006 DETAILS                                      41 AMISTAD                                                                                                     LAJAS              PR         00667
  710007 MARIA BANREY HERNANDEZ                       PLAYA HUCARES BOX 123                                                                                          NAGUABO            PR         00718
  710008 MARIA BARBOSA MALTES                         2 CALLE CORCHADO                                                                                               AGUADILLA          PR         00603
  297173 MARIA BARRETO DE LEAVITT                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  297174 MARIA BARRETO MONTES                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  710010 MARIA BARRETO PEREZ                          HC 2 BOX 12255                                                                                                 MOCA               PR         00676
  710011 MARIA BARRIO ALVAREZ                         PMB 184                      PO BOX 6017                                                                       CAROLINA           PR         00984‐6017

   297175 MARIA BARTOLOMEY MARRERO                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   297178 MARIA BATISTA ROSARIO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   710012 MARIA BAYON LEBRON                          QDA CRUZ SECTOR COCOS                                                                                          TOA ALTA           PR         00953
   710013 MARIA BAYRON TORRES                         RES NEMESIO CANALES          EDIF 39 APT 713                                                                   SAN JUAN           PR         00918
          MARIA BELEN ALVARADO
   710014 ARRIETA                                     P O BOX 9165                                                                                                   HUMACAO            PR         00792‐9165

   297179 MARIA BELEN MORALES LOPEZ                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   297180 MARIA BELEN RIVERA BONILLA                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   297181 MARIA BELEN SANTOS CRUZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   710016 MARIA BELLISIMO                             URB VILLA LOS SANTOS CC 10   CALLE 20                                                                          ARECIBO            PR         00612
   710018 MARIA BENITEZ MELENDEZ                      PO BOX 1334                                                                                                    AIBONITO           PR         00705
   710019 MARIA BENITEZ STERLING                      P O BOX 30180                                                                                                  SAN JUAN           PR         00929‐1180

   297184 MARIA BENITEZ VIZCARRONDO                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   709653 MARIA BERMUDEZ                              HC 43 BOX 10770                                                                                                CAYEY              PR         00736

   710020 MARIA BERNA RODRIGUEZ VEGA URB CAPARRA HEIGHTS                           432 ESMERALDA                                                                     SAN JUAN           PR         00920
   710021 MARIA BERRIOS BAUZA        HC 71 BOX 2244                                                                                                                  NARANJITO          PR         00719
   710022 MARIA BERRIOS MARRERO      URB MIRADOR DE BAIROA                         2M40 CALLE 17                                                                     CAGUAS             PR         00725
   709654 MARIA BERRIOS TORRES       RR1 BZN 2238                                  BO RIO ABAJO                                                                      CIDRA              PR         00739
   297185 MARIA BERROCAL MARRERO     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   710023 MARIA BERRY CABAN          2316 CALLE CACIQUE                                                                                                              SAN JUAN           PR         00913
          MARIA BETANCOURT & BUFETE
   297186 OTERO                      REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MARIA BETANCOURT AULET/
   297187 HOGAR BELLA UNI            REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MARIA BETANCOURT/ HOGAR LA
   297188 BELLA UNION                REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   710024 MARIA BIRRIEL CASILLAS     HC 1 BOX 11887                                                                                                                  CAROLINA           PR         00986
   297189 MARIA BIRRIEL ROSARIO      REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MARIA BLANCA GONZALEZ
   297190 RELANO                     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                     PROFESSIONAL CENTER PISO 2
   710025 MARIA BLAY PARIS           OFIC 212                                      AVE MU¨OZ RIVERA                                                                  CAGUAS             PR         00725
   297191 MARIA BOBONIS ZEQUEIRA     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   710027 MARIA BOCACHICA CAMPOS     URB LOS CAOBOS                                1299 CALLE BAMBU                                                                  PONCE              PR         00716‐2625
   297192 MARIA BONILLA HERNANDEZ    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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                                                                                                                  Exhibit E
                                                                                                        Scheduled Claimants Service List
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MML ID               NAME                                      ADDRESS 1                ADDRESS 2                 ADDRESS 3                           ADDRESS 4              CITY        STATE    POSTAL CODE       COUNTRY
  297193 MARIA BONILLA MARCUCCI                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  297194 MARIA BONNIN CARRERAS                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  710029 MARIA BORGES MASSA                           URB RIO HONDO 1         D65 CALLE RIO CIALITOS                                                              BAYAMON             PR         00961
         MARIA BORGES Y/O
  297195 EVANGELISTA NUNEZ                            REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  297196 MARIA BOSCH RODRIGUEZ                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  297197 MARIA BRACERO CARABALLO                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  710031 MARIA BRUNO MARTINEZ                         PO BOX 625                                                                                                  YABUCOA             PR         00767
  297198 MARIA BUONO RUNDLE                           REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  710032 MARIA BURGOS                                 SECTOR MOGOTE           314 CALLE MATIAS SOTO                                                               CAYEY               PR         00736
  710033 MARIA BURGOS GARAY                           VILLA CALMA             442 CALLE BUENOS AIRES                                                              TOA BAJA            PR         00951
         MARIA BURGOS MORALES ITF
  710034 JUANA MORALES                                PO BOX 191                                                                                                  HUMACAO             PR         00792‐0191
  710035 MARIA BURGOS ORTIZ                           HC 02 BOX 7337                                                                                              CIALES              PR         00638
  710038 MARIA BURGOS TEJERO                          PO BOX 117                                                                                                  SALINAS             PR         00751
  297199 MARIA C ACEVEDO ACEVEDO                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  710040 MARIA C ACEVEDO QUILES                       URB PARAISO DE GURABO   B 6 CALLE SOL DE LUNA                                                               GURABO              PR         00778
  710041 MARIA C ACEVEDO RIOS                         HC 3 BOX 7631                                                                                               MOCA                PR         00676
  297200 MARIA C AGRAIT DEL VALLE                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  297201 MARIA C AGUIAR MARTINEZ                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  297202 MARIA C ALAMO RODRIGUEZ                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  297203 MARIA C ALEMAN ORTIZ                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  709637 MARIA C ALICEA RIVERA                        RES PUERTA DE TIERRA    EDIF N 406                                                                          SAN JUAN            PR         00906
         MARIA C ALMODOVAR
  297204 GONZALEZ                                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  297205 MARIA C ARCE GONZALEZ                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  710043 MARIA C ARROYO ONEILL                        URB VILLA DEL CARMEN    823 CALLE SAUCO                                                                     PONCE               PR         00716‐2124
  710045 MARIA C AVILA BARBOSA                        HC 01 BOX 5003                                                                                              CAMUY               PR         00627
  297206 MARIA C AVILA DE JESUS                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  710046 MARIA C AYMAT MALAVE                         HC 1 BOX 30853                                                                                              CABO ROJO           PR         00623
  297207 MARIA C BAEZ BURGOS                          REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  297208 MARIA C BARBOSA MARRERO                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  297209 MARIA C BENITEZ                              REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  710047 MARIA C BENITEZ APONTE                       URB MARIA DEL CARMEN    T 2 CALLE 12                                                                        COROZAL             PR         00783
  710048 MARIA C BERRIOS GOMEZ                        JARD DE PALMAREJO       K20 CALLE 9                                                                         CANOVANAS           PR         00729
  297210 MARIA C BOROBIA VALDES                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  297211 MARIA C BULTRON ALMENAS                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  297212 MARIA C BUTLER VIERA                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  297213 MARIA C CABRERA VIRELLA                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  297214 MARIA C CANCIO MELENDEZ                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  710050 MARIA C CARDONA LUQUE                        URB REPTO VALENCIANO    D 20 CALLE B                                                                        JUNCOS              PR         00777‐2918
  710051 MARIA C CARDONA NEGRON                       17 CALLE K                                                                                                  GUANICA             PR         00647
  710052 MARIA C CARDONA RAMOS                        HC 04 BOX 15459                                                                                             MOCA                PR         00676
  297215 MARIA C CERRA TORRES                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  297216 MARIA C CESANI RODRIGUEZ                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  297217 MARIA C CESTERO LOPEZ                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   297218 MARIA C CINTRON RODRIGUEZ                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297219 MARIA C COLON JIMENEZ                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   710056 MARIA C COLON MELENDEZ                      P O BOX 150                                                                                                 OROCOVIS            PR         00720
   710055 MARIA C COLON RODRIGUEZ                     PO BOX 2390                                                                                                 SAN JUAN            PR         00919
   297220 MARIA C CONWAY                              REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   710058 MARIA C COTTO DIAZ                          PO BOX 20514                                                                                                SAN JUAN            PR         00928



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  297221 MARIA C CRUZ SANCHEZ                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  710059 MARIA C CRUZ VAZQUEZ                         APT 1047                                                                                                         MOROVIS             PR         00687
  297222 MARIA C CUBI                                 REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  297223 MARIA C DE LEON BURGOS                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  297224 MARIA C DECLET SANTIAGO                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  297225 MARIA C DEL VALLE RAMOS                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  710060 MARIA C DELGADO PANTOJAS                     HC 2 BOX 31224                                                                                                   ARECIBO             PR         00612
  297226 MARIA C DIAZ AGOSTO                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  297227 MARIA C DIAZ DIAZ                            REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  710061 MARIA C ESPINOSA PLACA                       ALT DE FLAMBOYAN           32 LL 16 CALLE 34                                                                     BAYAMON             PR         00959

   297228 MARIA C FELICIANO RODRIGUEZ                 REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297229 MARIA C FELIX ORTIZ                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297230 MARIA C FERNANDEZ TORRES                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297231 MARIA C FERNANDEZ VINALES                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   710062 MARIA C FIGUEROA                            BO RABANAL                 BOX 4017                                                                              CIDRA               PR         00739
   710063 MARIA C FIGUEROA MORALES                    RES NARANJALES             EDIF C 66 APT 346                                                                     CAROLINA            PR         00985
   297232 MARIA C FIGUEROA ROSADO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIA C FIORELLA / MERCEDES
   297233 BURGOS                                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297234 MARIA C FLORES RODRIGUEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297235 MARIA C FONSECA REVUELTA                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   710064 MARIA C FONTANEZ MENDEZ                     13 CALLE BALDORIOTY                                                                                              CIDRA               PR         00739
   297236 MARIA C GARCIA SANTANA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297237 MARIA C GARRIDO AMADEO                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   710065 MARIA C GEADA JORGE                         URB RIBERAS DEL RIO        B 46 CALLE 8                                                                          BAYAMON             PR         00959‐8818
   710066 MARIA C GONZALEZ BAEZ                       EL MIRADOR                 EDIF 20 APT C 2                                                                       SAN JUAN            PR         00915

   297238 MARIA C GONZALEZ CHARDON                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   710067 MARIA C GONZALEZ CORA                       BOX 370                                                                                                          PATILLAS            PR         00723

   297239 MARIA C GONZALEZ GONZALEZ                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297240 MARIA C GONZALEZ GOTAY                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   710068 MARIA C GONZALEZ MEDINA                     215 CALLE JOSE A VARGAS                                                                                          ISABELA             PR         00662
   710069 MARIA C GONZALEZ ORTIZ                      P O BOX 177                                                                                                      GURABO              PR         00778
   297241 MARIA C GONZALEZ RESTO                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   710071 MARIA C GONZALEZ SEIN                       RES LUIS LLORENS TORRES    EDIF 114 APT 2146                                                                     SAN JUAN            PR         00913

   297242 MARIA C GONZALEZ VELAZQUEZ                  REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   710072 MARIA C HERNANDEZ LOPEZ                     URB SAGRADO CORAZON        1626 CALLE SANTA BIBIANA                                                              SAN JUAN            PR         00926
   297244 MARIA C HOMS ALMESTICA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297245 MARIA C IRIZARRY QUILES                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297246 MARIA C JAQUEZ RODRIGUEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   710073 MARIA C JIMENEZ                             VILLA CAROLINA             76‐40 CALLE 24                                                                        CAROLINA            PR         00985
          MARIA C JIMENEZ Y JEANETTE
   297247 RIVERA                                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297248 MARIA C LLOMPART BENITEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297249 MARIA C LONGO DIAZ                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   710076 MARIA C LOPEZ HERNANDEZ                     PO BOX 203                                                                                                       CAMUY               PR         00627
   297250 MARIA C LOPEZ RODRIGUEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   710077 MARIA C MARIE MENDEZ                        PEDRO REGALADO DIAZ        EDIF G APT 49                                                                         TRUJILLO ALTO       PR         00976
   710078 MARIA C MARRERO MORENO                      SECTOR IRIARTE RIO LAJAS   PARC 199                                                                              DORADO              PR         00646
   710079 MARIA C MARTI BAREA                         URB EL SE¥ORIAL            373 CALLE PIO BAROJA                                                                  SAN JUAN            PR         00926



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MML ID                    NAME                                 ADDRESS 1                       ADDRESS 2                       ADDRESS 3                           ADDRESS 4               CITY          STATE   POSTAL CODE        COUNTRY

   710080 MARIA C MARTINEZ GONZALEZ                   P O BOX 473                                                                                                              BAJADERO             PR           00616
   710081 MARIA C MARTINEZ VILLAMIL                   TORRIMAR                      M 26 CALLE RIDGEWOOD                                                                       GUAYNABO             PR           00966
   297254 MARIA C MAS CORTEZ                          REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   710082 MARIA C MATEO SANTIAGO                      PO BOX 1381                                                                                                              SANTA ISABEL         PR           00757
                                                                                    100 AVE LA SIERRA DEL SOL APT
   710083 MARIA C MAURY DE SANTIAGO                   COND SIERRA DEL SOL           76                                                                                         SAN JUAN             PR           00926
   710084 MARIA C MEDINA BERMUDEZ                     PO BOX 10031                                                                                                             PONCE                PR           00732

   297255 MARIA C MEDINA ORTIZ / OPE                  REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   297256 MARIA C MELENDEZ ORTIZ                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   710086 MARIA C MENDOZA LUGO                        URB EL PRADO                                                                                                             AGUADILLA            PR           00603
          MARIA C MERCADO DIAZ Y/O
   297257 NORMA BURGOS                                REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   710088 MARIA C MOLINA GONZALEZ                     PO BOX 3251                                                                                                              ARECIBO              PR           00613
   710089 MARIA C MOLINA NEGRON                       HC 75 BOX 1222                                                                                                           NARANJITO            PR           00719
   710090 MARIA C MONTALVO                            HC 01 BOX 12915                                                                                                          CABO ROJO            PR           00623

   297258 MARIA C MONTELARA ROMERO REDACTED                                         REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   710091 MARIA C MORALES DE SEDA  EXT EL COMANDANTE                                476 CALLE SANTA MARIA                                                                      CAROLINA             PR           00982

   710092 MARIA C MORALES MALDONADO PO BOX 338                                                                                                                                 NARANJITO            PR           00719
   297260 MARIA C MORENO CARDONA    REDACTED                                        REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   297261 MARIA C MUNOZ CASTRO      REDACTED                                        REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   297262 MARIA C NADAL CASANOVA    REDACTED                                        REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                    COND JARDINES
   710093 MARIA C NARANJO ROJAS     METROPOLITANO I                                 APT 12 G                                                                                   SAN JUAN             PR           00927

   710094 MARIA C NEGRON CUCURELLA                    PO BOX 191417                                                                                                            SAN JUAN             PR           00919‐1417
   710095 MARIA C NEGRON GONZALEZ                     URB LOIZA VALLEY              196 D CALLE VIOLETA                                                                        CANOVANAS            PR           00729
   297263 MARIA C NIEVES DIAZ                         REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   297264 MARIA C NUNEZ                               REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   710096 MARIA C OLIVERAS SALGADO                    28 CALLE COLON                                                                                                           VEGA ALTA            PR           00962
   710097 MARIA C ORENGO VELAZUEZ                     HC 01 BOX 6671                                                                                                           GUAYANILLA           PR           00656
   297265 MARIA C ORTA SERRANO                        REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   710098 MARIA C ORTIZ DE VELEZ                      URB VILLA SULTANITA           409 CAMINO BECHARA                                                                         MAYAGUEZ             PR           00680
   297267 MARIA C ORTIZ RIVERA                        REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   710101 MARIA C OTERO ARROYO                        URB BRISAS DEL ROSARIO        5410 CALLE ROBERTO CLEMENTE                                                                VEGA BAJA            PR           00693
   297268 MARIA C PACHECO ALCALA                      REDACTED                      REDACTED                    REDACTED                                REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   297269 MARIA C PAGAN COLON                         REDACTED                      REDACTED                    REDACTED                                REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   710102 MARIA C PAGAN ROSARIO                       URB VILLA EVANGELINA          U 308 CALLE 15                                                                             MANATI               PR           00674
   710103 MARIA C PARRILLA APONTE                     PO BOX 21365                                                                                                             SAN JUAN             PR           00928‐1365
   297271 MARIA C PELLOT MARRERO                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA C PEREZ DE MARTINEZ Y
   710104 JOSE L MART                                 P O BOX 2975                                                                                                             GUAYAMA              PR           00785
   710105 MARIA C PEREZ GARCIA                        89 CALLE BETANIA SAINT JUST                                                                                              TRUJILLO ALTO        PR           00978
   297272 MARIA C PEREZ RAMIREZ                       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   710107 MARIA C PEREZ RODRIGUEZ                     SANTA ROSA                    45‐14 CALLE 24                                                                             BAYAMON              PR           00959
   297274 MARIA C PIERLUISI                           REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   297275 MARIA C QUINONES MUNIZ                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   297276 MARIA C QUINONES SEPULVEDA REDACTED                                       REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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MML ID               NAME                                       ADDRESS 1                         ADDRESS 2                ADDRESS 3                           ADDRESS 4             CITY        STATE    POSTAL CODE       COUNTRY
  297277 MARIA C QUIROGA PEREZ                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  710109 MARIA C RIVERA BERRIOS                       HC 1 BOX 4262                                                                                                        BARRANQUITAS       PR         00794
  710110 MARIA C RIVERA FIGUEROA                      URB LA ESPERANZA               4‐10 CALLE 18                                                                         VEGA ALTA          PR         00692
  710111 MARIA C RIVERA GONZALEZ                      URB LAS VEGA                   F 21 CALLE MARGARITA                                                                  CATANO             PR         00962
  297278 MARIA C RIVERA GUTIERREZ                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  297279 MARIA C RIVERA MANRESA                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  297280 MARIA C RIVERA MARTINEZ                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  710113 MARIA C RIVERA PAGAN                         PADRE QUINONES FINAL           PO BOX 549                                                                            AGUAS BUENAS       PR         00703
  297281 MARIA C RIVERA RAMOS                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  297282 MARIA C RIVERA REYES                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  710114 MARIA C RIVERA RIVERA                        P O BOX 3001                   SUITE 457                                                                             RIO GRANDE         PR         00745
  710115 MARIA C RODRIGUEZ CEPEDA                     MANSION DEL SAPO               ESTRUCTURA 13                                                                         FAJARDO            PR         00738
  297283 MARIA C RODRIGUEZ GARCIA                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   710117 MARIA C RODRIGUEZ MELENDEZ HC 01 BOX 8249                                                                                                                        CANOVANAS          PR         00729

   710118 MARIA C RODRIGUEZ PACHECO                   BO PALOMAS                     7 CALLE 11                                                                            YAUCO              PR         00698
          MARIA C RODRIGUEZ
   297284 RODRIGUEZ                                   REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   297288 MARIA C ROMAN TORRES                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   297289 MARIA C ROMERO QUINONEZ                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   297290 MARIA C ROSA COTTE                          REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   710121 MARIA C ROSADO GONZALEZ                     BOX 479                                                                                                              HATILLO            PR         00659
   297292 MARIA C ROSADO RIVERA                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   297293 MARIA C ROSARIO NAVARRO                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   297294 MARIA C ROSAS/ JORGE C ROSAS REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   710122 MARIA C SANCHEZ BERBERENA                   HC 1 BOX 4275                                                                                                        NAGUABO            PR         00718‐9710
   297295 MARIA C SANCHEZ GOMEZ                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   710123 MARIA C SANTAELLA RODRIGUEZ APARTADO 50                                                                                                                          JUANA DIAZ         PR         00795
   710124 MARIA C SANTANA FIGUEROA    VILLA CAROLINA                                 4‐17 CALLE 31                                                                         CAROLINA           PR         00985

   710125 MARIA C SANTIAGO DE DAVILA                  VILLA COOPERATIVA              A 26 CALLE 1                                                                          CAROLINA           PR         00985

   710126 MARIA C SANTIAGO ROSADO                     URB GLENVIEW P 16 CALLE E 12                                                                                         PONCE              PR         00731
   710127 MARIA C SANTOS DIAZ                         URB EL CARIBE                  1596 CALLE CAVARELI                                                                   SAN JUAN           PR         00926
   710128 MARIA C SANTOS RODRIGUEZ                    VILLAS DE SAN FRANCISCO        A 9 CALLE 2                                                                           SAN JUAN           PR         00927
   710130 MARIA C SEDA SERRANO                        PO BOX 1074                                                                                                          BAJADERO           PR         00616
   297297 MARIA C SEMIDEI IRIZARRY                    REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   710131 MARIA C SEPULVEDA VELEZ                     112 URB LA QUINTA                                                                                                    SABANA GRANDE      PR         00637
   297298 MARIA C SOTO ARTUNDUAGA                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   710133 MARIA C STUBBE ARSUAGA                      6 NOVAS COURT                  CALLE L                                                                               GUAYNABO           PR         00966
   710135 MARIA C SUAREZ CARRION                      URB SANTA ELVIRA               A 13 CALLE SANTA CECILIA                                                              CAGUAS             PR         00725‐3421
   297299 MARIA C SUAREZ MARTINEZ                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   297300 MARIA C SURITA CABASSA                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   710137 MARIA C TORRES                              JARD DE CAYEY                  A 19 CALLE 1                                                                          CAYEY              PR         00736
   710138 MARIA C TORRES CINTRON                      323 STARLING LAKE DRIVE                                                                                              OCOEE              FL         34761‐4014
   710139 MARIA C TORRES FIGUEROA                     SABANA BRANCH                  451 CALLE 13                                                                          VEGA BAJA          PR         00693
   710140 MARIA C TORRES GARCIA                       HC 1 BOX 4722                                                                                                        SALINAS            PR         00751
   297301 MARIA C VALDES BRUNO                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   710145 MARIA C VELEZ                               HC 2 BOX 6823                                                                                                        UTUADO             PR         00641



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  710146 MARIA C VELEZ ORTIZ                          URB MAYAGUEZ TERRANCE     4024 MEDINA GONZALEZ                                                              MAYAGUEZ          PR         00680
  710147 MARIA C VELEZ RIVERA                         EXT STA ELENITA           BLQ C‐2 32 CALLE A                                                                BAYAMON           PR         00957
  297302 MARIA C VENDRELL LORENZO                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  297303 MARIA C VICENTE VARGAS                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  297304 MARIA C VILLEGAS GONZALEZ                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  710148 MARIA C VILLODAS VEGA                        RES VILLA ELENA           BLID 7 APT 84                                                                     PONCE             PR         00730
  297305 MARIA C WERLAU                               REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  710149 MARIA C WILLIAMS ANDINO                      VENUS GARDENS             773 CALLE PISIS                                                                   SAN JUAN          PR         00926

   297306 MARIA C ZALDUONDO COLLEY                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   710150 MARIA C ZAPATA ACOSTA                       URB SAN GERARDO           333 CALLE OKLAHOMA                                                                SAN JUAN          PR         00926‐3305
   297307 MARIA C. ALAMO HERRANS                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   710152 MARIA C. ALVARADO TORRES                    HC 1 BOX 5725                                                                                               OROCOVIS          PR         00720
   297308 MARIA C. BAUZO RIOS                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   710155 MARIA C. BLAY PERIS                         PO BOX 802                                                                                                  CAGUAS            PR         00726

   297309 MARIA C. BURGOS FERNANDEZ                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297310 MARIA C. FLORES PAGAN                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297311 MARIA C. GARRIDO AMADEO                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   710159 MARIA C. GONZALES PANTOJA                   PO BOX 1092                                                                                                 VEGA BAJA         PR         00694
   297312 MARIA C. GONZALEZ GOTAY                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297313 MARIA C. MARTINEZ GEIGEL                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   710160 MARIA C. PAGAN MORALES                      PO BOX 162                                                                                                  BAYAMON           PR         00960
   297315 MARIA C. RIVERA VIDAL                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297316 MARIA C. RUIZ DE JESUS                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297317 MARIA C. SANTOS COLLAZO                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297318 MARIA C. SIERRA NIEVES                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297319 MARIA C. TORRES BERROCAL                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297320 MARIA C. VARGAS FONTANEZ                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297321 MARIA C. VEGA MARRERO                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   710165 MARIA C.NAVARRO                             LA CASA DEL BIZCOCHO      RR 2 BOX 6921                                                                     CIDRA             PR         00739
   710166 MARIA CABAM ROSA                            RIVERSIDE PARK            H 9 CALLE 1                                                                       BAYAMON           PR         00961

   297323 MARIA CABAN CARRASQUILLO                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   710167 MARIA CABAN COLON                           P O BOX 874                                                                                                 SABANA HOYOS      PR         00688
   710168 MARIA CABAN SILVA                           352 SAN CLAUDIO           AVE STE 204                                                                       SAN JUAN          PR         00926
   710169 MARIA CABRERA COTTO                         C.S.M. BAYAMON                                                                                              Hato Rey          PR         00936
   297325 MARIA CAJIGAS GARCIA                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   710171 MARIA CALDERO MORALES                       HC 71 BOX 3332                                                                                              NARANJITO         PR         00719
   710172 MARIA CALDERON                              ROUND HILL                1413 CALLE ALELI                                                                  TRUJILLO ALTO     PR         00976
   710175 MARIA CALDERON FELICIANO                    RES LUIS LLORENS TORRES   EDIF 100 APT 1913                                                                 SAN JUAN          PR         00913
   710176 MARIA CALDERON IRIZARRY                     RES DEL PARAISO           EDIF 2 APT 12                                                                     SAN JUAN          PR         00926
   297328 MARIA CALDERON PICHARDO                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   710177 MARIA CALVENTE ROSA                         HC 83 BOX 7701                                                                                              VEGA ALTA         PR         00692
   710178 MARIA CAMACHO GONZALEZ                      URB VILLAS DORADA         G 462 CALLE 4                                                                     CANOVANAS         PR         00729
   297329 MARIA CAMACHO QUIDGLEY                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   710179 MARIA CAMACHO QUIDLEY                       PO BOX 401                                                                                                  PALMER            PR         00721
   297330 MARIA CAMACHO ROBLES                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   297331 MARIA CAMACHO RODRIGUEZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   710181 MARIA CAMUY PEREZ                           BO YAHUECA                HC 01 BOX 4198                                                                    ADJUNTAS          PR         00601
   710182 MARIA CANALES ORELLANA                      HC 4 BOX 15139                                                                                              HUMACAO           PR         00792



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  297332 MARIA CANCEL ALEGRIA                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  710183 MARIA CANCEL CASIANO                         URB LA PROVIDENCIA          2F 11 CALLE 16                                                                             TOA ALTA           PR         00953
  297333 MARIA CANCEL GONZALEZ                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  297334 MARIA CANCIO FERNANDEZ                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  710184 MARIA CANDELARIA                             VILLA CAPRI                 B8 CALLE TURIN                                                                             RIO PIEDRAS        PR         00924
  710185 MARIA CANDELARIA ANDUJAR                     P O BOX 164                                                                                                            ARECIBO            PR         00613‐2007

   710186 MARIA CANDELARIA CURBELO                    BO SANTA ROSA               CALLE A BOX 235                                                                            HATILLO            PR         00659
   710187 MARIA CANDELARIA ROSA                       RES ZORRILLA                EDIF 29 APT 268                                                                            MANATI             PR         00674
   297335 MARIA CANDELARIO                            REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   710189 MARIA CANON PINZON                          PO BOX 7126                                                                                                            PONCE              PR         00732
   297336 MARIA CAPELES PEDRAZA                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   710191 MARIA CARABALLO BARBOSA                     BELLO MONTE                 F 25 CALLE 13                                                                              GUAYNABO           PR         00969
   710193 MARIA CARABALLO VAZQUEZ                     BUENA VISTA                 162 CALLE PALMA REAL                                                                       CAROLINA           PR         00985

   297337 MARIA CARDENALES RODRIGUEZ REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   710195 MARIA CARDONA HERNANDEZ                     COND MIRAMAR PLAZA          954 AVE PONCE DE LEON APT 9 F                                                              SAN JUAN           PR         00907
   710196 MARIA CARDONA VAZQUEZ                       URB VILLA CAROLINA          100‐31 CALLE 102                                                                           CAROLINA           PR         00985

   710197 MARIA CARDOZA HERANANDEZ                    LA CUMBRE                   206 CALLE ALMENDRO                                                                         MOROVIS            PR         00687
          MARIA CARIDAD FERNANDEZ
   710198 BELLO                                       LOMAS VERDES                H 1 CALLE AMAPOLA APT B                                                                    BAYAMON            PR         00956
   297338 MARIA CARIDAD URIBE                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   710199 MARIA CARMEN MAS RUBIO                      PASEO DE LA ALAMEDA 16                                                                                                 VALENCIA                      46010
          MARIA CAROLINA TORRES
   710200 UZCATEQUI                                   COND PARQUE TERRALINDA      807 APT H 7                                                                                TRUJILLO ALTO      PR         00976
   297339 MARIA CARRASCO GARCIA                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   710201 MARIA CARRASQUILLO MILLAN                   P O BOX 389                                                                                                            LOIZA              PR         00772
   710202 MARIA CARRILLO                              P O BOX 1756                                                                                                           CAGUAS             PR         00726
   297342 MARIA CARRILLO CASTRO                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   297343 MARIA CARRION COTTO                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   297344 MARIA CARRION LOPEZ                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   710204 MARIA CARTAGENA FIGUEROA                    PO BOX 654                                                                                                             SALINAS            PR         00751
   297345 MARIA CARTAGENA MALAVE                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   297346 MARIA CARTAYA ALVAREZ                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   297348 MARIA CASELLAS SOSTRE                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   710206 MARIA CASHION LUGO                          URB PARQUE DE ISLA VERDE    304 CALLE AQUAMARINA                                                                       CAROLINA           PR         00979

   710207 MARIA CASILLAS                              COND CORAL BEACH TORRE II   810 ISLA VERDE                                                                             CAROLINA           PR         00979
   297349 MARIA CASILLAS DELGADO                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   710208 MARIA CASILLLAS NEGRON                      HC 1 BOX 24247                                                                                                         VEGA BAJA          PR         00693

   297350 MARIA CASTANO DE LA MORA                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   297351 MARIA CASTANO DELGADO                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   297352 MARIA CASTELLANO VALDES                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   710209 MARIA CASTILLO HUERTAS                      PO BOX 9702                 COTTO STATION                                                                              ARECIBO            PR         00613
   710210 MARIA CASTILLO LOZANO                       P O BOX 2218                                                                                                           MAYAGUEZ           PR         00681
   297353 MARIA CASTILLO SANTIAGO                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   710211 MARIA CASTILLOVEITIA BAEZ                   URB SAN DEMETRIO            CALLE AGUJA BLANCA                                                                         VEGA BAJA          PR         00693
   710212 MARIA CASTRO ARIAS                          PO BOX 3194                                                                                                            VEGA ALTA          PR         00692



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  710213 MARIA CASTRO DE LA ROSA                      VALLE VERDE               072 CALLE O                                                                           FAJARDO            PR         00736
  297354 MARIA CASTRO GARCIA                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  710214 MARIA CASTRO LABOY                           URB STARLIGHT             3937 CALLE LUCERO                                                                     PONCE              PR         00717
  710215 MARIA CASTRO MARQUEZ                         ADM SERV GEN              P O BOX 7428                                                                          SAN JUAN           PR         00916‐7428
  710216 MARIA CASTRO REYES                           RES EL PRADO              EDF 15 APT 76                                                                         SAN JUAN           PR         00924
  710218 MARIA CASTRO RIVERA                          BO SANTO DOMINGO          332 B CALLE 3                                                                         TRUJILLO ALTO      PR         00796
         MARIA CATALINA QUESADA
  297357 ROIG                                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         MARIA CATALINA SUERO
  710220 BONILLA                                      P O BOX 407                                                                                                     JUNCOS             PR         00777
         MARIA CECILIA DE JESUS
  297360 VERDEJO                                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      BO MIRAFLORES SECTOR
   710222 MARIA CENTENO RODRIGUEZ                     BIAFARA                   CARR 637 KM4                                                                          ARECIBO            PR         00616
   710223 MARIA CEPEDA ANDINO                         270 CALLE ISMAEL RIVERA                                                                                         SAN JUAN           PR         00912‐4021
   710224 MARIA CEPEDA GARCIA                         HC 01 BOX 6106                                                                                                  JUNCOS             PR         00777

   710227 MARIA CHEVERE AYALA                         297 CALLE NARANJO INT     BUZON 530 BO BUENAVENTURA                                                             CAROLINA           PR         00987
   297367 MARIA CHEVEREZ OTERO                        REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   297368 MARIA CIANCHINI VALCARCEL                   REDACTED                  REDACTED                  REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   710229 MARIA CINTRON BERRIOS                       PO BOX 39                                                                                                       BARRANQUITAS       PR         00794
   297369 MARIA CINTRON LUGO                          REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   297370 MARIA CINTRON ORENGO                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   297371 MARIA CIVIDANES FERNANDEZ REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MARIA CLARA VALDERRAMA
   710230 DIAZ                         600 BLVD DE LOS ARBOLES 379              ARBOLES DE MONTEHIEDRA                                                                SAN JUAN           PR         00926
   297372 MARIA CLASS OTERO            REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   710231 MARIA CLASSEN RIVERA         HC 5 BOX 54831                                                                                                                 HATILLO            PR         00659
   297373 MARIA CLAUDIO TORRES         REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   297374 MARIA CLEMENTE QUINTANA      REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   710234 MARIA COLBERG RAMIREZ        BUENA VENTURA                            NF 11 CALLE GARDENIA                                                                  MAYAGUEZ           PR         00680
   710235 MARIA COLLAZO                VILLA ANDALUCIA                          Q 19 CALLE VICTORIA                                                                   SAN JUAN           PR         00926
          MARIA COLLAZO / MARIA CRUZ /
   297375 DAISY CRUZ                   REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   710237 MARIA COLLAZO ALICEA         PO BOX 100000 STE 10                                                                                                           CAYEY              PR         00737‐9601
   710238 MARIA COLLAZO AVILES         JARD C CLUB                              BO 23 C/ 115                                                                          CAROLINA           PR         00983
   710239 MARIA COLLAZO TORRES         BO TORRECILLAS                           112 CALLE ELIAS RUSSE                                                                 MOROVIS            PR         00687
                                       C/DELICIA 64 ALTOS BDA VISTA
   710241 MARIA COLON                  ALEGRE                                                                                                                         SAN JUAN           PR         00926
   297376 MARIA COLON CANDELARIA       REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   297377 MARIA COLON DE JESUS         REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   297358 MARIA COLON GARRASTEGUI      REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   297378 MARIA COLON MATOS            REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   710245 MARIA COLON MEDINA           HC 2 BOX 15161                                                                                                                 ARECIBO            PR         00612
   710246 MARIA COLON MELENDEZ         RES CEIBA                                EDIF D APT 16                                                                         CEIBA              PR         00735‐2738
   710247 MARIA COLON PADILLA          BO SUSUA BAJA                            L 94 CALLE 1 LAS POLAS                                                                YAUCO              PR         00698
   297379 MARIA COLON SANTANA          REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   710250 MARIA COLON VAZQUEZ                         BO SABANETA               MERCEDITA 77 CALLE PROGRESO                                                           PONCE              PR         00715
   297380 MARIA COLON VELAZQUEZ                       REDACTED                  REDACTED                    REDACTED                           REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   710252 MARIA COLON VIRELLA                         LOMAS VERDES              2 C 10 CALLE DILEMIA                                                                  BAYAMON            PR         00956
   297381 MARIA COLON YERA                            REDACTED                  REDACTED                    REDACTED                           REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  710253 MARIA CONCEPCION LOPEZ                       515 CALLE EXT SUR                                                                                                   DORADO              PR           00646

   710254 MARIA CONCEPCION MARTINEZ                   PO BOX 579                                                                                                          BAJADERO            PR           00616
   297382 MARIA CONSUELO BLAY PERIS                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARIA CONSUELO HERNANDEZ
   710255 RIVERA                                      URB VILLA DEL REY 4TA SECCION CC 2 CALLE 11                                                                         CAGUAS              PR           00725‐6826
          MARIA CONSUELO SOTO
   297383 MERCADO                                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   710257 MARIA CONTRERAS HERNANDEZ URB CIUDAD MASSO                                G20 CALLE 8                                                                           SAN LORENZO         PR           00754
   297384 MARIA CORA PENA           REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   710258 MARIA CORDERO             552 CALLE MONSERRAT                             PARADA 15                                                                             SAN JUAN            PR           00907
   297385 MARIA CORDERO BARRETO     REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   710259 MARIA CORDERO HERNANDEZ                     PUERTO NUEVO                  702 CALLE DURAZNO                                                                     SAN JUAN            PR           00920
   297386 MARIA CORDERO MEDINA                        REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   297387 MARIA CORDERO PEREZ                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   710261 MARIA CORDERO RESTO                         134 CALLE POPULAR                                                                                                   SAN JUAN            PR           00917
   710262 MARIA CORDOVA GARCIA                        URB PRECIOSA                  BOX 20                                                                                GURABO              PR           00778
   297388 MARIA CORNELIO SANCHEZ                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   710263 MARIA CORREA                                PO BOX 1924                                                                                                         JUNCOS              PR           00777
   710266 MARIA CORTES VALENTIN                       BO BORINQUEN                  CARR 467 KM 1 5                                                                       AGUADILLA           PR           00603
   297389 MARIA CORTES VEGA                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   710268 MARIA CORTIJO RIVERA                        RES LOS NARANJALES            EDIF D 56 APTO 286                                                                    CAROLINA            PR           00985
   710269 MARIA COSMETHILLET                          URB BUENOS AIRES              77 CALLE B                                                                            SANTA ISABEL        PR           00757
   297390 MARIA COSTA COLON                           REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   710270 MARIA COTTO ACABA                           RES LUIS LLOREN TORRES        EDIF 96 APT 1831                                                                      SAN JUAN            PR           00913
   710271 MARIA COTTO RIVERA                          URB FERNANDEZ                 11 CALLE PEDRO D FONSECA                                                              CIDRA               PR           00739
   297392 MARIA CRESPO                                REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   710272 MARIA CRESPO FIGUEROA                       APT 1593                                                                                                            DORADO              PR           00646
          MARIA CRISTINA GARCIA DE LA
   710275 PAZ                                         RIO BRENTA                    126 COL DEL VALLE                                                                     GARZA GARCIA        NM           66250
          MARIA CRISTINA MENDEZ
   297393 GOYTIA                                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARIA CRISTINA RODRIGUEZ
   710276 OSORIO                                      57 ESTANCIAS DE IMBERRY                                                                                             BARCELONETA         PR           00671‐9715

   710278 MARIA CRISTINA SIERRA CANCIO ALTS DE BORINQUEN GARDENS                    A 0012 CALLE LILI                                                                     SAN JUAN            PR           00926
                                       701 AVE PONCE DE LEON SUITE
   710279 MARIA CRISTINA SOLER BRAVO 407                                                                                                                                  SAN JUAN            PR           00907
          MARIA CRISTINA VICENTE
   297394 VARGAS                       REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   710280 MARIA CRUZ                   OLD SAN JUAN STA                             PO BOX 50063                                                                          SAN JUAN            PR           00902
   710282 MARIA CRUZ CALDERON          RES VISTA HERMOSA                            EDIF 7 APT 74                                                                         SAN JUAN            PR           00921
   297395 MARIA CRUZ CRUZ              REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   710284 MARIA CRUZ DELGADO           HP ‐ Forense RIO PIEDRAS                                                                                                           Hato Rey            PR           009360000
   710285 MARIA CRUZ GONZALEZ          PO BOX 239                                                                                                                         GUAYNABO            PR           00970
   710286 MARIA CRUZ MARTINEZ          RES MANUEL A PEREZ                           EDIF D 20 APT 229                                                                     SAN JUAN            PR           00923
   297397 MARIA CRUZ MOJICA            REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   710287 MARIA CRUZ NAVARRO           URB LAS CUMBRES                              271 SIERRA MORENA 1 MSC                                                               SAN JUAN            PR           00926
   297398 MARIA CRUZ ORTIZ             REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   297399 MARIA CRUZ PACHECO           REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   297400 MARIA CRUZ PADILLA           REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  297401 MARIA CRUZ QUINONEZ                          REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  297402 MARIA CRUZ REYES                             REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  297403 MARIA CRUZ RIVERA                            REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  710292 MARIA CRUZ RODRIGUEZ                         HC 1 BOX 8779                                                                                                 PE¨UELAS             PR         00624
  710295 MARIA CUADRADO BERIOS                        LOMAS VERDES             3 R 24 CALLE JUNQUITO                                                                BAYAMON              PR         00956
  710296 MARIA CUADRADO MEDINA                        VILLA UNIVERSITARIA      C 32 CALLE 8                                                                         HUMACAO              PR         00791
  710297 MARIA CUBANO TORRES                          BRISAS DE TORTUGUERO     75 BC CALLE RIO BAIROA                                                               VEGA BAJA            PR         00693
         MARIA CUBENAS / CLARA
  297405 CUBENAS                                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  297406 MARIA CUCUTA SAMBOLIN                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
  710298 MARIA CUEVAS GONZALEZ                        PO BOX 1223                                                                                                   FAJARDO              PR         00738
  710299 MARIA CUPRILL ARROYO                         URB MONTECASINO          6 CALLE ALMENDRO                                                                     TOA ALTA             PR         00953
  710301 MARIA D ACEVEDO SANCHEZ                      PO BOX 321                                                                                                    MANATI               PR         00674
  710302 MARIA D ACOSTA ARROYO                        PO BOX 1635                                                                                                   ARECIBO              PR         00613
  710303 MARIA D ALAMO FIGUEROA                       HC 2 BOX 15156                                                                                                RIO GRANDE           PR         00745
  710304 MARIA D ALERS                                P.O. BOX 551                                                                                                  PUERTO REAL          PR         00740
  297408 MARIA D ALGARIN AGOSTO                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   710306 MARIA D ALVARADO MARTINEZ                   BO HELECHAL              HC 03 BOX 8690                                                                       BARRANQUITAS         PR         00794
   297409 MARIA D APONTE ORTIZ                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   710308 MARIA D ARCE FRAGA                          FLAMBOYAN APTS CONDADO   864 AVE ASHFORD APT 607                                                              RIO PIEDRAS          PR         00913
   297410 MARIA D ARROYO LOPEZ                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   710309 MARIA D BAEZ FIGUEROA                       F3 PUEBLO NUEVO                                                                                               YAUCO                PR         00698
   297412 MARIA D BAEZ RIVERA                         REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   297413 MARIA D BAYRON LOPEZ                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   297414 MARIA D BENJAMIN ANDINO                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   297415 MARIA D BERRIOS GONZALEZ                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   710311 MARIA D BONANO ABREU                        VILLAS DE RIO GRANDE     M 9 CALLE 6                                                                          RIO GRANDE           PR         00745
   297416 MARIA D BURGOS ACEVEDO                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   297417 MARIA D BURGOS BENAZARIO                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   297419 MARIA D BURGOS RODRIGUEZ                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   297420 MARIA D CABELLO VALENTIN                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   710313 MARIA D CARDONA RIOS                        PO BOX 1348                                                                                                   NAGUABO              PR         00718
   297421 MARIA D CASTRO CORTES                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   297422 MARIA D CASTRO DIAZ                         REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   297423 MARIA D CASTRO LABOY                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   297424 MARIA D CERRA FERNANDEZ                     REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   710314 MARIA D CERRA ORTIZ                         BO OBRERO                737 BUENA VISTA CALLE 4                                                              SAN JUAN             PR         00915
   710315 MARIA D CHARLES RAMOS                       URB VILLAS DE LOIZA      N 19 CALLE 9                                                                         CANOVANAS            PR         00729
   297425 MARIA D COLON ALICEA                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   297427 MARIA D COLON ORTIZ                         REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   710317 MARIA D COLON SERRA                         PO BOX 480                                                                                                    COROZAL              PR         00783

   297429 MARIA D CONCEPCION VERDEJO                  REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   710318 MARIA D CORREA CORCINO                      AA 14 EXT SAN PEDRO                                                                                           FAJARDO              PR         00738
   710319 MARIA D CORREA LUGO                         PO BOX 6872                                                                                                   UTUADO               PR         00641
   297431 MARIA D CORTES DELGADO                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   710320 MARIA D CORTES RODRIGUEZ                    4655 TIFFANY WOODS                                                                                            CIR OVIEDO           FL         32765
   710321 MARIA D CRUZ                                BUENA VISTA              193 CALLE GRANADA                                                                    CAROLINA             PR         00985
   710322 MARIA D CRUZ GARCIA                         P O BOX 1088                                                                                                  TOA BAJA             PR         00951
   710323 MARIA D DANGO PIZARRO                       COND TORRES DE SABANA    EDIF A APT 221                                                                       CAROLINA             PR         00983



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  297432 MARIA D DE JESUS ESTRADA                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  710324 MARIA D DELGADO                              URB CAPARRA TERRACE           SO 916 CALLE 13                                                                         SAN JUAN            PR         00921

   710326 MARIA D DIAZ PAGAN                          336 CALLE FERNANDO L GARCIA                                                                                           UTUADO              PR         00641
   297433 MARIA D DIAZ QUINONEZ                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   710327 MARIA D DIAZ SANTIAGO                       URB GALATEO                   N 9 CALLE 7                                                                             RIO GRANDE          PR         00745
   297434 MARIA D DIAZ VAZQUEZ                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297435 MARIA D ESCOBAR SANCHEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   710328 MARIA D FERNANDEZ CUEVAS                    URB SANTA MARIA               7106 C/ DIVINA PROVIDENCIA                                                              PONCE               PR         00717‐1019
   297436 MARIA D FIGUEREDO LEON                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   710333 MARIA D FIGUEROA                            BOX 54997                                                                                                             CAGUAS              PR         00725

   297437 MARIA D FIGUEROA GONZALEZ                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297438 MARIA D FLORES MONTANEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   710334 MARIA D FLORES RODRIGUEZ                    URB SAN RAFAEL                H 1 CALLE 3                                                                             CAGUAS              PR         00725

   710335 MARIA D FONTANEZ DELGADO                    6 CALLE FARIS SANTIAGO                                                                                                LAS PIEDRAS         PR         00771
   710336 MARIA D FRANCIS THILLET                     CALLE TRIGO 9 GINES                                                                                                   SEVILLA                        41960
   710337 MARIA D FRANCO MELENDEZ                     BO VEGAS 24607 CALLE          PRAXEDES MILLAN                                                                         CAYEY               PR         00736
   710338 MARIA D GARCIA AGOSTO                       BO CORREA                     G 22                                                                                    VEGA ALTA           PR         00692
   297439 MARIA D GARCIA ALICEA                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   710339 MARIA D GARCIA DUCOS                        PO BOX 1968                                                                                                           GUAYNABO            PR         00970
   710340 MARIA D GARCIA FIGUEROA                     URB RIBERAS DEL RIO           24 CALLE 6                                                                              BAYAMON             PR         00959
   297442 MARIA D GEIGEL VERDEJO                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   297443 MARIA D GOMEZ ESCUDERO                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   710341 MARIA D GOMEZ GONZALEZ                      PO BOX 365026                                                                                                         SAN JUAN            PR         00936

   710343 MARIA D GONZALEZ BERNARD                    URB VILLAS DE SAN MIGUEL      66 CALLE SAN MIGUEL                                                                     BAYAMON             PR         00659
   710344 MARIA D GONZALEZ COLON                      15 CALLE RAMON FLORES                                                                                                 AIBONITO            PR         00705
   710345 MARIA D GONZALEZ GARCIA                     URB INTERAMERICANA            CALLE 12 Z 27                                                                           TRUJILLO ALTO       PR         00976
   710347 MARIA D GONZALEZ PIZARRO                    URB SANTIAGO                  CALLE B BOX 1                                                                           LOIZA               PR         00772
   297444 MARIA D GONZALEZ RIOS                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   710348 MARIA D GONZALEZ SALAS                      HC 05 BOX 108506                                                                                                      MOCA                PR         00676

   297445 MARIA D GONZALEZ SANTIAGO                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   710349 MARIA D GONZALEZ TRINIDAD                   RR 6 BOX 9916                                                                                                         SAN JUAN            PR         00926

   710350 MARIA D GUEVARA HERNANDEZ RR 3 BOX 10921                                                                                                                          TOA ALTA            PR         00953
   710351 MARIA D GUZMAN            JARD DE RIO GRANDE                              BS 341 CALLE 68                                                                         RIO GRANDE          PR         00745
   297446 MARIA D HENRIQUEZ ORTIZ   REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   710353 MARIA D HERNANDEZ ACEVEDO                   RES AGUSTIN RUIZ MIRANDA      EDF 3 APT 20                                                                            HATILLO             PR         00659
   710356 MARIA D HERNANDEZ ORTIZ                     HC 02 BOX 10051                                                                                                       AIBONITO            PR         00705
   709655 MARIA D J RIVERA FIGUEROA                   URB GLEN VIEW GARDENS         A 37 CALLE W 23                                                                         PONCE               PR         00731
   710357 MARIA D JORGE RODRIGUEZ                     URB TURABO GARDENS            S‐20 CALLE 23                                                                           CAGUAS              PR         00725
          MARIA D JUSINO / NORBERTO
   710358 GONZALEZ                                    E 25 URB ENSENADA                                                                                                     ENSENADA            PR         00647

   710359 MARIA D L MALAVE CORDERO                    PO BOX 1043                                                                                                           CAROLINA            PR         00986
   710360 MARIA D L PADRO RIVERA                      BO RIO LAJAS                  62A C/ 6 FINAL                                                                          DORADO              PR         00646
   297447 MARIA D LANDIN SERPA                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   709656 MARIA D LAVANDERO LATIMER                   COND TORRES DE SAN MIGUEL   APT 1902                                                                            GUAYNABO            PR         00969
   297448 MARIA D LICIAGA HORTA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   297449 MARIA D LIMA QUINONES                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   297450 MARIA D LOPEZ                               REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   710363 MARIA D LOPEZ DE JESUS                      BO GUZMAN ABAJO             HC 2 BOX 23030                                                                      RIO GRANDE          PR         00745
   297451 MARIA D LOPEZ LOPEZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   297452 MARIA D LOPEZ VAZQUEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          MARIA D LOS A MONTALVO
   297453 BATISTA                                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   710365 MARIA D LOS ANGELES DEL RIO                 BO CARRALES                 CARR 2 KM 121.9 INT                                                                 AGUADILLA           PR         00603
   710366 MARIA D LOURDES DIAZ                        BO ARENA                    BOX 5195                                                                            CIDRA               PR         00739
   710367 MARIA D LOURDES ORTIZ                       ESTANCIAS DEL PLATA         B 13 CALLE 3                                                                        TOA ALTA            PR         00953
   297454 MARIA D MALAVE PADUA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   710368 MARIA D MALDONADO                           URB VILLAS DE CANEY         B 21 CALLE B                                                                        TRUJILLO ALTO       PR         00976
          MARIA D MALDONADO
   297455 MALDONADO                                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          MARIA D MALDONADO
   297456 QUINONES                                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   297457 MARIA D MARIN LOPEZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   297458 MARIA D MARTI TORRES                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   710369 MARIA D MARTIN CASTRO                       URB PALOMAS                 64 CALLE 9                                                                          YAUCO               PR         00698
   710370 MARIA D MARTINEZ RIVERA                     10 CALLE DR GOYCO                                                                                               CAGUAS              PR         00725
   297460 MARIA D MATOS CINTRON                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   710371 MARIA D MATOS FIGUEROA                      HC 01 BOX 5468                                                                                                  CIALES              PR         00638
   710372 MARIA D MATTA CORRADA                       300 AVE LA SIERRA           BOX 140                                                                             SAN JUAN            PR         00926

   297461 MARIA D MAURAS MONTANEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   710373 MARIA D MC CLIN ROSADO                      VILLA DEL REY               3 A14 CALLE ASTURIA                                                                 CAGUAS              PR         00727
   710374 MARIA D MEJIAS CACERES                      HC 3 BOX 10302                                                                                                  YABUCOA             PR         00767
   297462 MARIA D MENDEZ MARTINEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   710375 MARIA D MERCADO ABUIN                       PO BOX 769                                                                                                      BAJADERO            PR         00616
          MARIA D MERCADO
   297463 MALDONADO                                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   297464 MARIA D MIRANDA VEGA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   297466 MARIA D MOJICA REYES                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   297467 MARIA D MOLIERE MALDONADO REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   297470 MARIA D MONTANEZ SANTANA                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          MARIA D MUNOZ ANEIROS /
   297471 ECOLOGIC ALL                                REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   297472 MARIA D MURIEL GARCIA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   297473 MARIA D MURIENTE PEREZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   710377 MARIA D NEGRON SANCHEZ                      PO BOX 177                                                                                                      SANTA ISABEL        PR         00757
   297474 MARIA D NIEVES MORALES                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   297475 MARIA D OCASIO VALIENTE                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   710379 MARIA D OLAZABAL GARCIA                     COND PLAZA REAL CAPARRA     187 CARR 2 APTO 302                                                                 GUAYNABO            PR         00966
   297476 MARIA D ORTEGA MORALES                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   710380 MARIA D ORTEGA ROSARIO                      7 BO CANTAO MARINO                                                                                              MANATI              PR         00674
   710381 MARIA D ORTIZ BERMUDEZ                      HC 01 BOX 5283                                                                                                  AIBONITO            PR         00705
   297477 MARIA D ORTIZ DIAZ                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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          MARIA D ORTIZ QUINONES
   297478 ARNALDO CRUZ ORTI                           REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297480 MARIA D OTERO PABON                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710382 MARIA D PABELLON NIEVES                     PO BOX 723                                                                                                            JUNCOS              PR           00777
   297481 MARIA D PABON ROSADO                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297482 MARIA D PAGAN                               REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297483 MARIA D PANTOJA FIGUEROA                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710384 MARIA D PASTOR BENITEZ                      PO BOX 3476                                                                                                           RIO GRANDE          PR           00745
   297484 MARIA D PASTOR CORTES                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710385 MARIA D PASTRANA ORTIZ                      BO LLANADA BOX 110                                                                                                    BARCELONETA         PR           00617
   710386 MARIA D PEREZ                               AVENIDA TITO CASTRO 336      APT NUM 1‐ C                                                                             PONCE               PR           00716
                                                                                   AVE AMERICO MIRANDA APTO
   710388 MARIA D PEREZ AMADOR                        COND LOS ROBLES 401          51                                                                                       SAN JUAN            PR           00927
   710389 MARIA D PEREZ CABOT                         URB VILLAS DEL OESTE         717 CALLE TAURO                                                                          MAYAGUEZ            PR           00682
   297485 MARIA D PEREZ COLL                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710390 MARIA D PEREZ PEREZ                         HC 01 BOX 3723               BO PILETAS                                                                               LARES               PR           00669
   297486 MARIA D PEREZ TOLENTINO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710387 MARIA D PEREZ VARGAS                        HC 2 BOX 45810                                                                                                        VEGA BAJA           PR           00693
   710392 MARIA D PIZARRO RIVERA                      ADM SERV GENERALES           P O BOX 7428                                                                             SAN JUAN            PR           00916‐7428
   710391 MARIA D PIZARRO SANCHEZ                     CAMPO RICO                   40 CALLE 9 PARCELAS VIEJA                                                                CANOVANAS           PR           00729
   297487 MARIA D QUINONES COLON                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710394 MARIA D RAMOS PEREZ                         103 CALLE DR RUFO                                                                                                     CAGUAS              PR           00725
   710395 MARIA D RESTO MOLINA                        URB RIO PLANTATION 22        CARR 872                                                                                 BAYAMON             PR           00961‐3503
   297489 MARIA D REYES SANCHEZ                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710396 MARIA D RIVAS ROBLES                        CENTRAL CANOVANAS            PO BOX 2201                                                                              CANOVANAS           PR           00729
   710397 MARIA D RIVERA ANDINO                       URB RIVERVIEW                V 8 CALLE 18                                                                             BAYAMON             PR           00961
   710398 MARIA D RIVERA COLON                        BO OLIMPO                    288 CALLE MARGINAL                                                                       GUAYAMA             PR           00784
   710399 MARIA D RIVERA GONZALEZ                     BOX 2950                                                                                                              CIDRA               PR           00739
   710400 MARIA D RIVERA MARTELL                      PO BOX 624                                                                                                            UTUADO              PR           00641

   710402 MARIA D RIVERA RIVERA                       URB LEVITTOWN E D 6          CALLE LOLA RODRIGUEZ DE TIO                                                              TOA BAJA            PR           00950
   297490 MARIA D RIVERA ROSARIO                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710404 MARIA D RIVERA SANTOS                       VILLA BLANCA                 30 CALLE AMATISTA                                                                        CAGUAS              PR           00725
   710405 MARIA D RODRIGUEZ BAEZ                      RES SIERRA LINDA             EDIF 3 APT 59                                                                            BAYAMON             PR           00957
   710406 MARIA D RODRIGUEZ DIAZ                      PO BOX 1088                                                                                                           VILLALBA            PR           00766
          MARIA D RODRIGUEZ                           LOS FLAMBOYANES APT EDIF A
   710407 GUADALUPE                                   APT 2B                       STE 3 BOX 368                                                                            CAGUAS              PR           00625
   297491 MARIA D RODRIGUEZ ISAAC                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710408 MARIA D RODRIGUEZ ORTIZ                     PO BOX 361                                                                                                            RIO GRANDE          PR           00745
   710409 MARIA D RODRIGUEZ RIVERA                    PO BOX 1227                                                                                                           ARROYO              PR           00714
          MARIA D RODRIGUEZ
   710410 RODRIGUEZ                                   BOX 537                                                                                                               COROZAL             PR           00783

   710412 MARIA D RODRIGUEZ SANTIAGO                  B 8 URB ESPIRITUD SANTO                                                                                               AGUAS BUENAS        PR           00703
          MARIA D RODRIGUEZ
   710413 VELAZQUEZ                                   URB COUNTRY CLUB             950 LUIS C CHIRINO                                                                       SAN JUAN            PR           00924
   710414 MARIA D ROLON ORTIZ                         HC 01 BOX 4164                                                                                                        SANTA ISABEL        PR           00757‐9202
   297492 MARIA D ROSA RIVERA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710415 MARIA D ROSADO GONZALEZ                     HC 05 BOX S‐8313                                                                                                      HATILLO             PR           00659
   710417 MARIA D ROSARIO CINTRON                     BOX 1425                                                                                                              CAYEY               PR           00736
   297494 MARIA D RUIZ MALAVE                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297495 MARIA D RUIZ RODRIGUEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710418 MARIA D RUIZ VALLE                          P O BOX 346                                                                                                           VEGA BAJA           PR           00693



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  710419 MARIA D SANABRIA BAEZ                        HC 1 BOX 6851                                                                                                   LAJAS             PR         00667
  710420 MARIA D SANABRIA ESPINOSA                    HC 01 BOX 11175                                                                                                 LAJAS             PR         00667
  297496 MARIA D SANCHEZ CRUZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  710421 MARIA D SANCHEZ PASTRANA                     RR 1 BOX 15057 LA LAGUNA                                                                                        MANATI            PR         00674
  297497 MARIA D SANCHEZ VEGA                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  297498 MARIA D SANTIAGO COLON                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  710422 MARIA D SANTIAGO CORREA                      HC 01 BOX 5533                                                                                                  JUANA DIAZ        PR         00795‐9719
  297499 MARIA D SANTIAGO GARCIA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   710300 MARIA D SANTIAGO MARTINEZ                   68 PARC NIAGARA                                                                                                 COAMO             PR         00769

   297500 MARIA D SANTIAGO RODRIGUEZ REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297501 MARIA D SANTOS ORRADA      REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   710429 MARIA D SERRANO HERNANDEZ                   PO BOX 4                                                                                                        NARANJITO         PR         00719
   297502 MARIA D SIERRA FLORES                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   710430 MARIA D SIFONTES                            EXT VILLA CAPARRA           G 8 CALLE GENOVEVA                                                                  GUAYNABO          PR         00966
   710431 MARIA D SOSA MONCION                        132 CALLE RAFAEL CORDERO                                                                                        CAGUAS            PR         00725
   297503 MARIA D SUAREZ ORTIZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297504 MARIA D TORRES CABAN                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   710432 MARIA D TORRES COLLAZO                      URB ISLANDA HEIGHTS DW      4 CALLE ORIENTE                                                                     BAYAMON           PR         00956
   297505 MARIA D TORRES SIERRA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   710434 MARIA D TORRUELLA COLON                     HC 04 BOX 8157                                                                                                  JUANA DIAZ        PR         00795
   297506 MARIA D VARGAS MARTINEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   710435 MARIA D VAZQUEZ IRIZARRY                    URB VILLA DEL CARMEN        L I 16 AVE CONSTRUCIA                                                               PONCE             PR         00731

   710436 MARIA D VAZQUEZ RODRIGUEZ                   PO BOX 1393                                                                                                     GUAYAMA           PR         00785 1393
   297508 MARIA D VAZQUEZ TORRES                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   710438 MARIA D VEGA                                RR 1 BOX 2517                                                                                                   CIDRA             PR         00739
   297509 MARIA D VEGA MARTINEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   710439 MARIA D VEGA NIEVES                         P O BOX 7819                PMB 820                                                                             GUAYNABO          PR         00970
   297510 MARIA D VEGA REYES                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297511 MARIA D VELEZ COLOM                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297512 MARIA D VELEZ CRUZ                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297513 MARIA D VELEZ PEREZ                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297514 MARIA D VELEZ RAMOS                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   710440 MARIA D VIERA LAGUERA                       URB COUNTRY CLUB            267 HG 11 3RA EXT                                                                   CAROLINA          PR         00982

   297515 MARIA D VILLALOBOS MUNOZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   710441 MARIA D VILLANUA VEGA                       SANTA RITA                  1091 RAMIREZ PABON                                                                  SAN JUAN          PR         00925
   297516 MARIA D ZAVALA COLON                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297517 MARIA D ZAYAS DEL VALLE                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   710442 MARIA D. BERCOA PADILLA                     200 CALLE B LAS CASAS PLAYITA                                                                                   SAN JUAN          PR         00913
   297518 MARIA D. BIGIO DIAZ                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297519 MARIA D. CANDELARIO MOYA                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297520 MARIA D. CASILLAS RESTO                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   710444 MARIA D. COLON VIRELLA                      URB. SANTA MARIA J‐24 CALLE 7                                                                                   TOA BAJA          PR         00949
   297521 MARIA D. CORDERO PONCE                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297522 MARIA D. DUENO                              REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   297523 MARIA D. GARCIA FIGUEROA                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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          MARIA D. MALDONADO
   710447 SERRANO                                     RESIDENCIAL MUJERES SJ                                                                                              BAYAMON             PR           009360000

   297526 MARIA D. MORALES HERNANDEZ REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297527 MARIA D. MUNOZ VELAZQUEZ                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297528 MARIA D. OTERO QUINONES                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297529 MARIA D. QUI¥ONES CEPEDA                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297530 MARIA D. RUIZ MALAVE                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   710448 MARIA D. SANTIAGO ALGARIN                   HP ‐ MANEJO DE INF. DE SALUD                                                                                        RIO PIEDRAS         PR           009360000
          MARIA DAVILA/ANA M
   297531 CINTRON/ANGEL R                             REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE A GARCIA
   297532 ECHEVARRIA PH D                             PO BOX 1268                                                                                                         AIBONITO            PR           00705

   297533 MARIA DE A TRUJILLO TORRES                  REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE ANGELES DIAZ
   710453 FONTANEZ                                    BRISAS DE SAN ALFONSO          EDIF 1 APT 4 BUZON 104                                                               CAGUAS              PR           00725
          MARIA DE ARANZAZU VILLAMIL
   297534 JARAUTA                                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710454 MARIA DE AZUA                               VIEJO SAN JUAN                 255 CALLE TANCA                                                                      SAN JUAN            PR           00921

   710455 MARIA DE C MOLINA MERCADO HC 1 BOX 5201                                                                                                                         ARECIBO             PR           00688
          MARIA DE CARIDAD ARCHILLA
   297536 COLON                     REDACTED                                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE F MARCANO
   710458 RODRIGUEZ                 P O BOX 3448                                     BAYAMON GARDENS STATION                                                              BAYAMON             PR           00958

   297537 MARIA DE HERNANDEZ ROSARIO REDACTED                                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297538 MARIA DE J DONATE DELGADO                   REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE J ECHEVARRIA
   710460 ECHEVARRIA                                  PO BOX 1108                                                                                                         SALINAS             PR           00751

   710461 MARIA DE J POLANCO TAVERAS                  701 ESTANCIAS SAN BENITO                                                                                            MAYAGUEZ            PR           00680
                                                      861 COTTON BAY DR EAST APTO
   710463 MARIA DE JESUS                              2411                                                                                                                WEST PALM BEACH     FL           33406
   710464 MARIA DE JESUS ARTUS                        SAINT JUST                  55 A CALLE BETANIA                                                                      TRUJILLO ALTO       PR           00976
   710465 MARIA DE JESUS DE JESUS                     HC 1 BOX 2625                                                                                                       BAJADERO            PR           00616
          MARIA DE JESUS DE LA CRUZ
   710466 GUZMAN                                      PUERTA DE TIERRA               102 CALLE PIELAYO                                                                    SAN JUAN            PR           00901
   710467 MARIA DE JESUS JESUS                        CARR 456 BO CIBAO                                                                                                   CAMUY               PR           00627
   709657 MARIA DE JESUS NAVARRO                      PO BOX 595                                                                                                          CAGUAS              PR           00726

   297540 MARIA DE JESUS PENA SEGARRA REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297541 MARIA DE JESUS RIVERA       REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   710470 MARIA DE JESUS SMITH                        16 CORNELIO AVENUE WINSTED                                                                                          CONNECTICUT         PR           06098
   710471 MARIA DE JESUS VELAZQUEZ                    RES MANUEL A PEREZ         EDF I2 APT 9                                                                             SAN JUAN            PR           00915

   710472 MARIA DE L A DE JESUS ROSARIO 3 EXT COUNTRY CLUB                           HZ 2 CALLE 264                                                                       CAROLINA            PR           00982




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          MARIA DE L ACEVEDO
   297542 RODRIGUEZ                                   REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE L ADORNO
   297543 MONTANEZ                                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297544 MARIA DE L APONTE MUNIZ                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297545 MARIA DE L APONTE ORTIZ                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297546 MARIA DE L ARROYO GARCIA                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   710473 MARIA DE L BABILONIA CHAPEL                 HC 6 BOX 97005                                                                                              ARECIBO             PR           00612
   297547 MARIA DE L BORRERO OTERO                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710474 MARIA DE L CARRERAS                         PO BOX 667                                                                                                  FAJARDO             PR           00738
          MARIA DE L CORDERO / OFIC
   297548 CONS HISTORICA                              REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297549 MARIA DE L CORDERO CINTRON REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   710475 MARIA DE L CORDOVA COMAS                    SAN RAMON                1971 SANDALO                                                                       GUAYNABO            PR           00969

   710476 MARIA DE L CRESPO RODRIGUEZ HC 30 BOX 3625                                                                                                              SAN LORENZO         PR           00754
   710477 MARIA DE L CRUZ BURGOS      HC 4 BOX 46951                                                                                                              CAGUAS              PR           00725
   710478 MARIA DE L CRUZ CABRERO     PO BOX 58                                                                                                                   COMERIO             PR           00782
   710479 MARIA DE L CRUZ OSORIO      HC 01 BOX 6326                                                                                                              JUNCOS              PR           00777
   297551 MARIA DE L DE JESUS DIAZ    REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297552 MARIA DE L DE JESUS NUNEZ   REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710480 MARIA DE L DE JESUS OTERO   HC 1 BOX 2295                                                                                                               MOROVIS             PR           00687
   297553 MARIA DE L DIAZ NEGRON      REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710481 MARIA DE L DIAZ ROSARIO     PO BOX 20514                                                                                                                SAN JUAN            PR           00928
   297555 MARIA DE L DIEZ DE ANDINO   REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297557 MARIA DE L ESCUTE LEVEST    REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710482 MARIA DE L FELIX RIVERA     BDA MARIN                                76 B C/ 5                                                                          GUAYAMA             PR           00784

   297558 MARIA DE L FIGUEROA VAZQUEZ REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297559 MARIA DE L FLORES IGLESIAS  REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710483 MARIA DE L FLORES PEDRAZA   APRIL GARDENS                            J 6 CALLE 14                                                                       LAS PIEDRAS         PR           00771
   710484 MARIA DE L FLORES RIVERA    URB TURABO GARDENS                       A30 CALLE 32                                                                       CAGUAS              PR           00725

   710485 MARIA DE L GARCIA ANGLERO                   URB BONNEVILLE HEIGHTS   99 CALLE CAYEY                                                                     CAGUAS              PR           00725

   710486 MARIA DE L GARCIA JAUNARENA PASEO LAS VISTAS                         61C CALLE 2                                                                        SAN JUAN            PR           00926

   710488 MARIA DE L GONZALEZ BOSQUES HC 02 BOX 11991                                                                                                             MOCA                PR           00676

   297560 MARIA DE L GONZALEZ PAGAN                   REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297561 MARIA DE L GONZALEZ VAZQUEZ REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   710489 MARIA DE L HERNANDEZ SOTO                   URB LAS LEANDRAS         Y 3 CALLE 5                                                                        HUMACAO             PR           00791
   297562 MARIA DE L IRENE MIRANDA                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710492 MARIA DE L LATORRE FLORES                   P O BOX 1936                                                                                                AIBONITO            PR           00705
   710493 MARIA DE L LEBRON RIVERA                    PO BOX 438                                                                                                  CANOVANAS           PR           00729
   710495 MARIA DE L MALAVE PRATTS                    COND SKY TOWER I         APT 12 J                                                                           SAN JUAN            PR           00926
          MARIA DE L MALDONADO
   710496 NAVARRO                                     URB GLENVIEW GARDENS     M 12 CALLE E 12                                                                    PONCE               PR           00733



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   297563 MARIA DE L MARTINEZ BERRIOS REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   297564 MARIA DE L MARTINEZ OROZCO REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   297565 MARIA DE L MARTINEZ TORRES                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   710497 MARIA DE L MAYMI SOTO                       URB PARQUE SAN MIGUEL        G 23 CALLE 5                                                                         BAYAMON               PR           00959
   710498 MARIA DE L MELENDEZ                         VILLAS DE SAN AGUSTIN        M 31 CALLE 9                                                                         BAYAMON               PR           00956
          MARIA DE L MELENDEZ
   297566 MACHUCA                                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   297567 MARIA DE L MENDEZ CALAF                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   710499 MARIA DE L MERCADO                          PO BOX 1291                                                                                                       OROCOVIS              PR           00720
          MARIA DE L MERCADO
   710500 MALDONADO                                   PO BOX 7126                                                                                                       PONCE                 PR           00732
          MARIA DE L MERCADO
   297568 PUMAREJO                                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   297570 MARIA DE L OCASIO ORTIZ                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   710502 MARIA DE L OLMEDA MARRERO                   COLINAS DE FAIR VIEW         4 K 23 CALLE 209                                                                     TRUJILLO ALTO         PR           00976
   710503 MARIA DE L ORTIZ BERRIOS                    BDA BLONDET                  325 CALLE A                                                                          GUAYAMA               PR           00784
   710504 MARIA DE L ORTIZ MEDINA                     PO BOX 1585                                                                                                       OROCOVIS              PR           00720
   710505 MARIA DE L OSORIO                           PARQUE SAN ANTONIO           1 APT 1505                                                                           CAGUAS                PR           00725
   297573 MARIA DE L PACHECO RIVERA                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   297574 MARIA DE L PEREZ DIAZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   710508 MARIA DE L PIZARRO GARCIA                   RR 4 BOX 697                 CERRO GORDO                                                                          BAYAMON               PR           00958
   297575 MARIA DE L REYES GONZALEZ                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   710509 MARIA DE L RIOS MATIENZO                    URB FAIRVIEW                 729 CALLE BERNARDO BOIL                                                              SAN JUAN              PR           00926
                                                      P O BOX 1043 SAINT JUST
   710510 MARIA DE L RIOS SANTIAGO                    STATION                                                                                                           SAINT JUST            PR           00978‐1043
   297576 MARIA DE L RIVERA ALLENDE                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   710512 MARIA DE L RIVERA AYALA                     RR 3 BOX 10414                                                                                                    TOA ALTA              PR           00953
   710515 MARIA DE L RIVERA HANCE                     URB ROSA MARIA               F 18 CALLE 5                                                                         CAROLINA              PR           00985
   770714 MARIA DE L RIVERA VEGA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   710516 MARIA DE L ROBLES DAVILA                    EXT SANTA ANA                H 4 CALLE RUBI                                                                       VEGA ALTA             PR           00692
   297578 MARIA DE L RODRIGUEZ                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          MARIA DE L RODRIGUEZ
   297579 FIGUEROA                                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          MARIA DE L RODRIGUEZ
   710517 GONZALEZ                                    URB VILLA DEL REY            2E‐25 CALLE PRINCIPAL                                                                CAGUAS                PR           00727
   710518 MARIA DE L ROMAN ARROYO                     URB VILLAS DEL MONTE         89 CALLE MONTE BLANCO                                                                TOA ALTA              PR           00953
   297581 MARIA DE L ROSARIO DIAZ                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   297582 MARIA DE L SEIJO VIDAL                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   297583 MARIA DE L SIERRA GONZALEZ                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          MARIA DE L TORRES
   297584 ENCARNACION                                 REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   710521 MARIA DE L TORRES RIVERA                    HC 01 BOX 4342                                                                                                    AIBONITO              PR           00705

   710522 MARIA DE L VAZQUEZ TORRES                   URB BAIROA AW5 CALLE LUIXA                                                                                        CAGUAS                PR           00725
   710523 MARIA DE L VEGA CINTRON                     PO BOX 684                                                                                                        TOA ALTA              PR           00954
   710524 MARIA DE L VEGA TOLEDO                      MIRAFLORES                   6 BLQ 4 CALLE 5                                                                      BAYAMON               PR           00794
   710525 MARIA DE L VELEZ CASTRO                     PO BOX 2368                                                                                                       VEGABAJA              PR           00694




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   297585 MARIA DE L VELEZ ECHEVARRIA                 REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297586 MARIA DE L VENTURA DE JESUS                 REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE L. ADAMES
   297587 HERNANDEZ                                   REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709658 MARIA DE L. APONTE ROLON                    BOX 25403                                                                                                           CAYEY               PR           00736
   297588 MARIA DE L. BORRES OTERO                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297589 MARIA DE L. CORDOVA COMAS                   REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710527 MARIA DE L. DEL TORO                        HACIENDA LA MATILDE            5491 CALLE SURCO                                                                     PONCE               PR           00728‐2442
   297590 MARIA DE L. DIAZ NEGRON                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297591 MARIA DE L. FELICIANO MOJICA                REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE L. GONZALEZ
   297592 BOSQUES                                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297593 MARIA DE L. IGLESIAS ROSADO                 REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   710533 MARIA DE L. LARA HERNANDEZ                  4 CALLE SANTIAGO                                                                                                    CAGUAS              PR           00725

   710534 MARIA DE L. LUGO CARABALLO                  RES. SABANA                    CALLE SANTO DOMINGO D‐5                                                              SABANA GRANDE       PR           00637
                                                                                     AR48 CALL LLN W URB
   710535 MARIA DE L. MALAVE VELEZ                    LEVITTOWN 4TA SECCION          LEVITTOWN LAKES                                                                      TOA BAJA            PR           00949
   297594 MARIA DE L. MARTIS RIVERA                   REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710536 MARIA DE L. MORALES                         RR 02 BOX 6029                                                                                                      MANATI              PR           00674
   297595 MARIA DE L. ORTIZ DIAZ                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297596 MARIA DE L. ORTIZ GONZALEZ                  REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297597 MARIA DE L. PIZARRO ROSADO                  REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE L. RAMIREZ
   297599 MONTALVO                                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297600 MARIA DE L. RIOS MAYSONET                   REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297601 MARIA DE L. SANTIAGO PEREZ                  REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297603 MARIA DE L. TORRES RIVERA                   REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297604 MARIA DE L.PACHECO GARCIA                   REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LA A FUENTES
   710537 SANTIAGO                                    REPT. VALENCIA AK‐3 CALLE 12                                                                                        BAYAMON             PR           00959

   710539 MARIA DE LA CONCHA SANTOS Y P O BOX 361659                                                                                                                      SAN JUAN            PR           00936‐1659
   710540 MARIA DE LA CRUZ RIVERA     922 CALLE CRUZ ROJA                                                                                                                 ARECIBO             PR           00613
   297606 MARIA DE LA CRUZ ZULUAGA    REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297607 MARIA DE LA PAZ CRUZ        REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   770715 MARIA DE LA PAZ FERRAN SALAS REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297608 MARIA DE LA PAZ MADERO       REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LA PAZ OLMO
   710542 RODRIGUEZ                    EXT VILLA LOS SANTOS 2                        E 10 CALLE ONIX                                                                      ARECIBO             PR           00612
          MARIA DE LA PAZ ROVIRA
   297609 SANTIAGO                     REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710543 MARIA DE LA ROSA DIAZ        RR 07 BOX 8355                                                                                                                     SAN JUAN            PR           00926



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                                                      URB JARD COUNTRY COND
   710544 MARIA DE LAS M SANCHEZ                      PLAZA                       DEL PARQUE EDIF 2 C 1                                                                    CAROLINA             PR           00915
          MARIA DE LAS M. NIEVES
   710545 SANTIAGO                                    URB CONSTANCIA              501 CALLE 1                                                                              PONCE                PR           00731
          MARIA DE LAS MERCEDES
   297610 CAWPIL GAUDIO                               REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                  79 CALLE A CACERIO ROIG BOX
   710546 MARIA DE LEON AMARO                         URB ROIG                    15721                                                                                    HUMACAO              PR           00791
   710548 MARIA DE LEON SUSTACHE                      PO BOX 1068                                                                                                          TRUJILLO ALTO        PR           00977
   297612 MARIA DE LEON TRAVESIER                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   710555 MARIA DE LOS A ALBELO RIVERA 61 CALLE ABRA VENDING                                                                                                               MANATI               PR           00674
          MARIA DE LOS A ALBINO
   710556 MARTINEZ                     BO PALMAREJO                               HC 01 BOX 4234                                                                           COROZAL              PR           00783‐9608
   710557 MARIA DE LOS A ALEJANDRO     PO BOX 1286                                                                                                                         VEGA BAJA            PR           00693

   710558 MARIA DE LOS A ALICEA OCASIO HC 40 BOX 43601                                                                                                                     SAN LORENZO          PR           00736
          MARIA DE LOS A ALVAREZ
   710559 OLMEDA                       COND EL MONTE NORTE                        165 AVE HOSTOS APT 235                                                                   SAN JUAN             PR           00918
          MARIA DE LOS A ANDINO
   297613 COLLAZO                      REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                  1248 CALLE ARTURO
   710561 MARIA DE LOS A ARROYO                       URB LAS MARGARITAS          SOMOHANO                                                                                 PONCE                PR           00731

   710563 MARIA DE LOS A AVILES ALVAREZ 161 CALLE ANDRES ARUZ                                                                                                              CAROLINA             PR           00985

   710564 MARIA DE LOS A BAEZ ANDINO                  HC 01 BOX 7396                                                                                                       AGUAS BUENAS         PR           00703
          MARIA DE LOS A BAEZ
   710565 RODRIGUEZ                                   CAROLINA TOWER APTO 705 A                                                                                            CAROLINA             PR           00979
   710566 MARIA DE LOS A BAEZ ROLON                   PARC FALU 203 A CALLE 49                                                                                             SAN JUAN             PR           00924

   297615 MARIA DE LOS A BALBAS FELICES REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   297616 MARIA DE LOS A BARRETO SOSA REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS A BARTOLOMEI
   710567 PADILLA                     TIBES TOWN HOUSE                            EDIF 23 APT 129                                                                          PONCE                PR           00730

   297617 MARIA DE LOS A BENITEZ RIVERA REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS A BERDECIA
   297618 BENITEZ                       REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS A BETANCOURT
   710569 TIRADO                        HE3 BOX 12237                                                                                                                      CAROLINA             PR           00987‐9610

  1256660 MARIA DE LOS A BIDOT MORELL                 REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS A BONET
   710570 GAUDIER                                     C/O BRUNILDA VELEZ          PO BOX 9066525                                                                           SAN JUAN             PR           00906‐6525
   710571 MARIA DE LOS A BOSQUE                       33 VALLE REAL AF‐33                                                                                                  PONCE                PR           00731
          MARIA DE LOS A CASANOVA
   297619 RIVERA                                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   710552 MARIA DE LOS A CASTILLO VELEZ 60 CALLE BOLIVIA                                                                                                                   SAN JUAN             PR           00917
          MARIA DE LOS A CASTRO
   297620 RAMIREZ                       REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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   297621 MARIA DE LOS A CENTENO PEREZ REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS A CEPERO
   710574 CLEMENTE                     VILLA CAROLINA                           10‐15 CALLE 28                                                                        CAROLINA             PR           00985
   709661 MARIA DE LOS A CINTRON       P O BOX 171                                                                                                                    BARRANQUITAS         PR           00794

   297624 MARIA DE LOS A COLON CORTIJO REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   297625 MARIA DE LOS A COLON DIAZ    REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   297628 MARIA DE LOS A COLON GARCIA REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   710578 MARIA DE LOS A COLON TORRES RES PEDRO REGALADO DIAZ                   EDIF P APT 18                                                                         TRUJILLO ALTO        PR           00976
          MARIA DE LOS A CONCEPCION
   710579 ROSADO                      HC 33 BOX 6152                                                                                                                  DORADO               PR           00646
          MARIA DE LOS A CONCEPCION
   710580 VELEZ                       HC 83 BOX 6852                                                                                                                  VEGA ALTA            PR           00692

   710581 MARIA DE LOS A CORTES RIVERA HC 3 BOX 32986                                                                                                                 AGUADILLA            PR           00603
   710582 MARIA DE LOS A CRUZ          PO BOX 3501 SUITE 157                                                                                                          JUANA DIAZ           PR           00795

   710583 MARIA DE LOS A CRUZ BARRIOS                 PO BOX 464                                                                                                      COAMO                PR           00769
          MARIA DE LOS A CRUZ
   297629 GONZALEZ                                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   710585 MARIA DE LOS A DAVILA BURGOS PARCELAS COTO                            CALLE VISTA MAR BZN 22                                                                ISABELA              PR           00662
   710586 MARIA DE LOS A DE JESUS      P O BOX 745                                                                                                                    CIALES               PR           00638
          MARIA DE LOS A DE LA PAZ
   710587 MALDONADO                    PO BOX 804                                                                                                                     SAN JUAN             PR           00924
          MARIA DE LOS A DELGADO
   710589 RODRIGUEZ                    P O BOX 1999                                                                                                                   YABUCOA              PR           00767‐1999

   297631 MARIA DE LOS A DELGADO VELEZ REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                       1 COND JARDINES DE ORIENTE
   710592 MARIA DE LOS A DIAZ CARMONA APT 7                                                                                                                           HUMACAO              PR           00791
   297632 MARIA DE LOS A DIAZ CONDE    REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   710593 MARIA DE LOS A DIAZ FLORES   HC‐66 P O BOX 9646                                                                                                             FAJARDO              PR           00738
   710594 MARIA DE LOS A DIAZ PAGAN    URB LOS PINOS                            210 CALLE CIPRES ARIZONA                                                              ARECIBO              PR           00612‐5942
   710595 MARIA DE LOS A DIAZ PEREZ    P O BOX 4660                                                                                                                   SAN SEBASTIAN        PR           00685

   710596 MARIA DE LOS A DIAZ ROMERO                  ALTURAS INTERAMERICANAS   P 31 CALLE 10                                                                         TRUJILLO ALTO        PR           00976
          MARIA DE LOS A DONATO
   710598 CALDERON                                    PO BOX 276                                                                                                      CULEBRA              PR           00775
   297633 MARIA DE LOS A FEBUS FEBUS                  REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   710599 MARIA DE LOS A FELICIANO                    PO BOX 1869                                                                                                     ISABELA              PR           00662
   710600 MARIA DE LOS A FRES ORTIZ                   P O BOX 719                                                                                                     JAYUYA               PR           00664‐0719
   710601 MARIA DE LOS A GARAY                        PO BOX 366517                                                                                                   SAN JUAN             PR           00936‐6517
   710602 MARIA DE LOS A GARCIA                       BO ARENAS                 4 CALLE LOS ROQUE                                                                     CIDRA                PR           00739
          MARIA DE LOS A GARCIA
   710604 DELGADO                                     RES LUIS LLORENS TORRES   EDF 106 APTO 2013                                                                     SAN JUAN             PR           00913
          MARIA DE LOS A GARCIA
   297636 HERNANDEZ                                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS A GARCIA
   710606 SANCHEZ                                     URB COUNTRY CLUB          872 CALLE GALAPAGOS                                                                   SAN JUAN             PR           00924



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          MARIA DE LOS A GARCIA
   710607 VICENTE                                     PO BOX 272                                                                                                            TRUJILLO ALTO       PR           00977
          MARIA DE LOS A GONZALEZ
   710609 GOMEZ                                       232 AVE ELEONOR ROOSEVELT                                                                                             SAN JUAN            PR           00907
          MARIA DE LOS A GONZALEZ
   710610 ORTIZ                                       24 URB VISTA ALEGRE                                                                                                   HUMACAO             PR           00792
          MARIA DE LOS A GONZALEZ
   297637 PEREZ                                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS A GONZALEZ
   297638 SANTIAGO                                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS A GONZALEZ
   710611 VEGA                                        BOX 33 B                                                                                                              DORADO              PR           00646
          MARIA DE LOS A GUZMAN
   297639 RODRIGUEZ                                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710614 MARIA DE LOS A HERNANDEZ                    PMB 39 PO BOX 2510                                                                                                    TRUJILLO ALTO       PR           00977‐2510
          MARIA DE LOS A IRIZARRY
   297640 SANTANA                                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710615 MARIA DE LOS A JUARBE                       URB LA RAMBLA                ESQ A CALLE 5 APT 713                                                                    PONCE               PR           00717

   297641 MARIA DE LOS A LINDOR OJEDA                 REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   710619 MARIA DE LOS A LUGO COLLAZO HC 1 BOX 9321                                                                                                                         SAN SEBASTIAN       PR           00685
          MARIA DE LOS A MALDONADO
   710620 ORTIZ                       URB VILLARONGA                                                                                                                        BARRANQUITAS        PR           00794

   710621 MARIA DE LOS A MARTINEZ                     COND GREEN VILLAGE APT 505 A AVE DE DIEGO 472                                                                         SAN JUAN            PR           00923
          MARIA DE LOS A MARTINEZ
   710622 AYALA                                       PORTALES DE CAROLINA         62 CALLE BERNARDO GARCIA                                                                 CAROLINA            PR           00985
          MARIA DE LOS A MARTINEZ
   710624 ORTIZ                                       HC 04 BOX 15688                                                                                                       HUMACAO             PR           00791
          MARIA DE LOS A MARTINEZ
   710625 ZAMBRANA                                    PO BOX 21365                                                                                                          SAN JUAN            PR           00926‐1365
          MARIA DE LOS A MASSANET                     MONTECILLO COURT
   710626 PASTRANA                                    ENCANTADA                    4808 PEDREGAL 10 VIA                                                                     TRUJILLO ALTO       PR           00976

   710627 MARIA DE LOS A MATOS RIBOT                  RIO PIEDRAS HEIGHTS          1706 CALLE SEGRE                                                                         SAN JUAN            PR           00926
          MARIA DE LOS A MAYSONET
   297643 APONTE                                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710628 MARIA DE LOS A MEDINA                       SIERRA LINDA                 F 3 CALLE 2                                                                              BAYAMON             PR           00957
   297645 MARIA DE LOS A MENDOZA                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS A MERCADO                      URB LLANOS DEL SUR COTO
   710631 LABOY                                       LAUREL                       G 13 CALLE LAS ROSAS                                                                     PONCE               PR           00780
          MARIA DE LOS A MILLAN
   710632 ENCARNACION                                 CORREO GENERAL               MEDIANIA BAJA                                                                            LOIZA               PR           00772

   297646 MARIA DE LOS A MILLAN ROQUE REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS A MIRANDA
   297647 FIGUEROA                    REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS A MOLINA
   710633 MARQUEZ                     BDA LOS MONJAS 92 CALLE                      PROVIDENCIA RIVERA MARTINEZ                                                              SAN JUAN            PR           00918
          MARIA DE LOS A MONTALVO DEL COND TORRE DE LOS FRAILES
   710634 TORO                        APT 8‐I                                                                                                                               GUAYNABO            PR           00969
   710635 MARIA DE LOS A MORALES      COND CHALETS SEVILLANO                       BOX 2683                                                                                 TRUJILLO ALTO       PR           00976



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   710639 MARIA DE LOS A MORALES VELEZ PO BOX 95                                                                                                                     CAGUAS               PR           00726
   297651 MARIA DE LOS A NARVAEZ       REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS A NARVAEZ
   710640 SANTIAGO                     P O BOX 472                                                                                                                   NARANJITO            PR           00719
          MARIA DE LOS A NAVAS
   297652 HERRERO                      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   710642 MARIA DE LOS A NIEVES ORTIZ                 RES RAUL CASTELLON           EDIF 8 APT 86                                                                     CAGUAS               PR           00725

   710643 MARIA DE LOS A OJEDA RIVERA                 COND BOSQUE REAL             APT 415                                                                           SAN JUAN             PR           00926

   297653 MARIA DE LOS A OLAN BATALLA REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS A OLIVERAS
   710645 PABON                       HC 2 BOX 46795                                                                                                                 VEGA BAJA            PR           00693
          MARIA DE LOS A OLMEDA
   710647 TOLENTINO                   HC‐04 BOX 15597                                                                                                                HUMACAO              PR           00791

   710648 MARIA DE LOS A OLMO ARROYO PARC FALU                                     185 CALLE 45                                                                      SAN JUAN             PR           00924

   297654 MARIA DE LOS A ORSINI SANTOS REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS A ORTEGA
   297655 ACOSTA                       REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   710649 MARIA DE LOS A ORTIZ         PO BOX 33                                                                                                                     ENSENADA             PR           00647

   710651 MARIA DE LOS A ORTIZ CORDERO P O BOX 50333                                                                                                                 TOA BAJA             PR           00950
          MARIA DE LOS A ORTIZ
   710652 GONZALEZ                     P O BOX 4409                                                                                                                  AGUADILLA            PR           00605

   710654 MARIA DE LOS A ORTIZ RIVERA                 BO COLLORES                  PO BOX 255                                                                        JAYUYA               PR           00664
          MARIA DE LOS A ORTIZ
   710655 SANTIAGO                                    PO BOX 560313                                                                                                  GUAYANILLA           PR           00656‐0313

   710656 MARIA DE LOS A ORTIZ TORRES                 PO BOX 338                                                                                                     GURABO               PR           00778
          MARIA DE LOS A OTERO
   710658 MORALES                                     P O BOX 367                                                                                                    CIALES               PR           00638
          MARIA DE LOS A PACHECO
   710659 RAMOS                                       BO AMELIA 42                 CALLE JOSE                                                                        GUAYNABO             PR           00965
          MARIA DE LOS A PADILLA
   710660 FELICIANO                                   HC 1 BOX 4852                                                                                                  LAJAS                PR           00667
          MARIA DE LOS A PARDO                        URB VILLA CAROLINA 30 20 A
   710662 CASTILLO                                    CALLE 10                                                                                                       CAROLINA             PR           00985
          MARIA DE LOS A PASTRANA
   710663 ROBLES                                      VILLA GUADALUPE              BB 23 CALLE 22                                                                    CAGUAS               PR           00725

   710665 MARIA DE LOS A PEREZ ADORNO VIRGINIA VALLEY                              627 VALLE VERDE                                                                   JUNCOS               PR           00777
          MARIA DE LOS A PEREZ
   297661 GONZALEZ                    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS A PUJOLS
   710666 GONZALEZ                    BOX 500                                                                                                                        SAN SEBASTIAN        PR           00685
   710667 MARIA DE LOS A RAMIREZ      HC 2 BOX 7834                                                                                                                  CAMUY                PR           00627‐9118
          MARIA DE LOS A RAMOS
   710668 MORALES                     PO BOX 330688                                                                                                                  PONCE                PR           00733



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  297663 MARIA DE LOS A RENTA SOTO                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   710669 MARIA DE LOS A REYES CRESPO                 HC 8 BOX 49807                                                                                              CAGUAS              PR         00725
          MARIA DE LOS A RICARD
   710671 MARCANO                                     PO BOX 2286                                                                                                 JUNCOS              PR         00777
   710672 MARIA DE LOS A RIOS                         URB VERDE MAR             376 CALLE 14                                                                      PUNTA SANTIAGO      PR         00741

   710676 MARIA DE LOS A RIVERA AYALA                 R R 6 BOX 4027                                                                                              SAN JUAN            PR         00926
          MARIA DE LOS A RIVERA
   297664 CABRERA                                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   710679 MARIA DE LOS A RIVERA CRUZ                  RES. LUIS MU¥OZ MORALES   EDIF. 18 APT 176                                                                  CAYEY               PR         00736

   297666 MARIA DE LOS A RIVERA DROZ                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   297667 MARIA DE LOS A RIVERA GUERRA REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   710682 MARIA DE LOS A RIVERA ORTEGA URB CERROMONTE                           B10 CALLE 1                                                                       COROZAL             PR         00783

   297668 MARIA DE LOS A RIVERA PEREZ                 REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   710686 MARIA DE LOS A RIVERA RAMOS URB VERSALLES                             D 12 CALLE 3                                                                      BAYAMON             PR         00959
          MARIA DE LOS A RIVERA
   297669 RODRIGUEZ                   REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   297670 MARIA DE LOS A RIVERA ROSADO REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   710688 MARIA DE LOS A RIVERA SUAZO                 BO QUEBRADA VUELTAS       160 CALLE 6                                                                       FAJARDO             PR         00735

   710689 MARIA DE LOS A RIVERA TORRES HC 1 BOX 6389                                                                                                              CIALES              PR         00638
          MARIA DE LOS A RIVERA
   710690 VALENTIN                     MONTERRY                                 837 ABACOA                                                                        MAYAGUEZ            PR         00680
   710694 MARIA DE LOS A RODRIGUEZ     BO MONTELLANOS                           P O BOX 552                                                                       MOROVIS             PR         00687
          MARIA DE LOS A RODRIGUEZ
   297672 CAMACHO                      REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          MARIA DE LOS A RODRIGUEZ
   710695 CASTILLO                     HC 02 BOX 11504                                                                                                            YAUCO               PR         00698
          MARIA DE LOS A RODRIGUEZ
   710696 LAGOA                        HC 2 BOX 22071                                                                                                             MAYAGUEZ            PR         00680
          MARIA DE LOS A RODRIGUEZ
   710698 PARDO                        URB LAS AMERICAS                         795 CALLE MANAGUA                                                                 SAN JUAN            PR         00921
          MARIA DE LOS A RODRIGUEZ
   297673 RIVERA                       REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          MARIA DE LOS A RODRIGUEZ
   710699 ROSARIO                      QUINTA DEL RIO                           D 1 PLAZA 4                                                                       BAYAMON             PR         00961
                                       BO HIGUILLAR PARC SAN
   710700 MARIA DE LOS A ROLON NIEVES ANTONIO                                   CALLE 2 BOX 155 A                                                                 DORADO              PR         00646

   297674 MARIA DE LOS A ROMAN ORTIZ                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   710701 MARIA DE LOS A ROMERO LOPEZ HC 1 BOX 5472                                                                                                               CIALES              PR         00638
   710702 MARIA DE LOS A ROSA SILVA   URB VILLA CAROLINA                        103‐27 CALLE 104                                                                  CAROLINA            PR         00985




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          MARIA DE LOS A ROVIRA
   297676 BLONDET                                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS A SALGADO
   297677 ROMAN                                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   710704 MARIA DE LOS A SANCHEZ                      C 5A URB LA OLIMPIA                                                                                        ADJUNTAS             PR           00601
          MARIA DE LOS A SANCHEZ
   710705 CAMARENO                                    PO BOX 10044                                                                                               SAN JUAN             PR           00922
          MARIA DE LOS A SANCHEZ
   710707 MARTINEZ                                    PASEO SANTA BARBARA      116 CALLE DIAMANTE                                                                GURABO               PR           00778
          MARIA DE LOS A SANTANA
   297678 ALAMO                                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   297679 MARIA DE LOS A SANTIAGO                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS A SANTIAGO
   710709 MELENDEZ                                    95 CALLE BERTOLY                                                                                           PONCE                PR           00731
          MARIA DE LOS A SANTIAGO
   297680 RODRIGUEZ                                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS A SANTOS
   710711 VARGAS                                      219 URB SOL Y MAR                                                                                          ISABELA              PR           00662
   710713 MARIA DE LOS A SILVA VEGA                   23 CALLE JUAN P AVILES                                                                                     LAJAS                PR           00667
   297682 MARIA DE LOS A SOSA                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   297685 MARIA DE LOS A TORRES GARCIA REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS A TORRES
   710549 IRIZARRY                     LA RIVIERA                              1400 CALLE 40 SO                                                                  SAN JUAN             PR           00921

   710714 MARIA DE LOS A TORRES LEBRON EXT JARD DE ARROYO                      D 3 CALLE D                                                                       ARROYO               PR           00714
          MARIA DE LOS A TORRES
   297686 MARTINEZ                     REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS A TORRES
   710715 RODRIGUEZ                    BOX 1814                                                                                                                  JUANA DIAZ           PR           00795

   297687 MARIA DE LOS A VALDES LEMA                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   710716 MARIA DE LOS A VALENTIN MARI 1814 EDIF HERNANDEZ TORRES              7 CALLE ARTEMIS                                                                   PONCE                PR           00716

          MARIA DE LOS A
   297688 VARGAS/ALEXANDRA VALENTIN REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS A VAZQUEZ
   297689 FIGUEROA                  REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS A VELAZQUEZ
   710718 TOSADO                    BRISAS DE TORTUGUERO                       67 RIO COROZAL                                                                    VEGA BAJA            PR           00693

   710720 MARIA DE LOS A VELEZ CRESPO                 RES LAS MARGARITA        EDIF 48 APT 677                                                                   SAN JUAN             PR           00915
          MARIA DE LOS A VICENTY
   710722 HERNANDEZ                                   P O BOX 2400‐84                                                                                            AIBONITO             PR           00705
          MARIA DE LOS A. ADORNO
   297691 QUINONES                                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   297692 MARIA DE LOS A. BIDOT MORELL REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS A. CALERO
   710724 HERRERA                      PO BOX 462                                                                                                                CAROLINA             PR           00986
          MARIA DE LOS A. CAMACHO
   297693 ORTIZ                        REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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          MARIA DE LOS A. CEBALLOS
   297694 MOLIN                                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297695 MARIA DE LOS A. COLON RIVERA REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297696 MARIA DE LOS A. COTTO        REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   710726 MARIA DE LOS A. DELGADO SOSA PO BOX 191528                                                                                                             SAN JUAN            PR           00919
          MARIA DE LOS A. FONSECA
   297697 SANTIAGO                     REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS A. GONZALEZ
   297698 PEREZ                        REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS A. LATORRE
   297699 RODRIGUEZ                    REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297703 MARIA DE LOS A. MORALES DIAZ REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS A. PADILLA
   297704 CAPPOLA                      REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS A. PUJOLS
   297705 GONZALEZ                     REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297706 MARIA DE LOS A. RENTA SOTO                  REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS A. RIVERA
   297707 CONCEPCION                                  REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297709 MARIA DE LOS A. RIVERA RAMOS REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS A. RIVERA
   297710 ROSADO                       REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS A. RODRIGUEZ
   297711 CAMACHO                      REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS A. ROSARIO
   710728 ARROYO                       HC 1 BOX 6435                                                                                                             CIALES              PR           00638 9648

   297712 MARIA DE LOS A. RUIZ MORALES REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297713 MARIA DE LOS A. RUIZ RIVERA                 REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS A. SANTANA
   297714 ROMERO                                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS A. SANTIAGO
   710729 OTERO                                       METADONA CAYEY                                                                                             Hato Rey            PR           00936

   297715 MARIA DE LOS A. SILVA CINTRON REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297716 MARIA DE LOS A. SOTO MALAVE REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297717 MARIA DE LOS A. TOBAJA LOPEZ                REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS A. TORRES
   297718 BERRIOS                                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS A. TORRES
   297719 VELAZQUEZ                                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710731 MARIA DE LOS A. UBARRI                      VILLA CAPARRA          14 CALLE J                                                                          GUAYNABO            PR           00966
          MARIA DE LOS A. VELAZQUEZ
   297720 TOSADO                                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          MARIA DE LOS ANGELES
   710734 ABASOLO RODRIGUEZ                           URB VILLAS DE SAN IGNACIO   39 CALLE EDMUNDO                                                                         SAN JUAN             PR           00927
          MARIA DE LOS ANGELES
   710735 AGRINSONI MALAVE                            URB VISTA DE RIO GRANDE     BZN 183                                                                                  RIO GRANDE           PR           00745‐9725

   297721 MARIA DE LOS ANGELES ALBERT                 REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS ANGELES ALVES
   297722 RUIZ                                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS ANGELES AMARO
   709663 MARTINEZ                                    PO BOX 71325 SUITE 241                                                                                               SAN JUAN             PR           00936‐8425
          MARIA DE LOS ANGELES AMARO
   710736 SOTO                                        BO TUMBAO                   BOX 7 41                                                                                 MAUNABO              PR           00707
          MARIA DE LOS ANGELES
   710738 CARDONA                                     220 CALLE POMAROSAS         PDA 25                                                                                   SAN JUAN             PR           00912
          MARIA DE LOS ANGELES
   297725 CARRION GONZALEZ                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   710741 MARIA DE LOS ANGELES CASTRO 115 LA HIJA DEL CARIBE                                                                                                               SAN JUAN             PR           00918‐3204
          MARIA DE LOS ANGELES CEPEDA
   710742 PEREZ                       HILL BROTHERS                               4 C CALLE 15                                                                             SAN JUAN             PR           00924
          MARIA DE LOS ANGELES
   297726 CINTRON VELEZ               REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS ANGELES
   297727 CLEMENTE LUGO               REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS ANGELES
   710743 COLLAZO RIVERA              RES MANUEL A PEREZ                          3016 EDIF C 12 APT 143                                                                   SAN JUAN             PR           00923
          MARIA DE LOS ANGELES CRUZ
   297728 ALVAREZ                     REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS ANGELES CRUZ
   710744 APONTE                      306 W 8 STREET                                                                                                                       BEARDSTOWN           PR           62618
          MARIA DE LOS ANGELES CRUZ
   297729 MELENDEZ                    REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS ANGELES CRUZ
   297730 TORRES                      REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS ANGELES DAVILA
   710745 FELICIANO                   P O BOX 4018                                                                                                                         VEGA BAJA            PR           00694
          MARIA DE LOS ANGELES DAVILA
   710746 ROMERO                      URB CUPEY GARDENS                           L 11 CALLE 8                                                                             SAN JUAN             PR           00928
          MARIA DE LOS ANGELES DIEZ
   710747 FULLADOSA                   COND PLAZA DEL REY                          264 CALLE HONDURAS APT 1002                                                              SAN JUAN             PR           00917
          MARIA DE LOS ANGELES DUNEY
   297731 SAGARDIA                    REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS ANGELES GARCIA
   297732 FELIX                       REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS ANGELES GARCIA
   297733 PEREZ                       REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS ANGELES
   710749 GONZALEZ TORRES             PMB 69 P O BOX 2510                                                                                                                  TRUJILLO ALTO        PR           00977
          MARIA DE LOS ANGELES
   710750 HERNANDEZ                   514 CALLE BARBE                                                                                                                      SAN JUAN             PR           00912
          MARIA DE LOS ANGELES
   710752 HERNANDEZ LOPEZ             HC 80 BOX 8846                                                                                                                       DORADO               PR           00646




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   710753 MARIA DE LOS ANGELES LANZA                  COND VILLAS DE ISLA VERDE     APT A 1 ‐16                                                                                CAROLINA            PR           00979

   297734 MARIA DE LOS ANGELES LEBRON REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   710754 MARIA DE LOS ANGELES LOPEZ                  URB ROLLING HLS               G224 CALLE FILADELFIA                                                                      CAROLINA            PR           00987
          MARIA DE LOS ANGELES
   710755 MARTINEZ NEGRON                             URB LA MERCED                 465 ALTOS CALLE ARREGOITIA                                                                 SAN JUAN            PR           00918

   710758 MARIA DE LOS ANGELES NATER                  P O BOX 11855                                                                                                            SAN JUAN            PR           00910‐3855

   710760 MARIA DE LOS ANGELES NIEVES                 URB NUEVAS ESTANCIAS          162 CALLE DORADO                                                                           MANATI              PR           00674
          MARIA DE LOS ANGELES
   710761 OLIVENCIA CORTES                            COND VALENCIA                 322 C/ BADEJOZ SUITE APTO D 3                                                              SAN JUAN            PR           00923
          MARIA DE LOS ANGELES ORTIZ
   710762 DE LEON                                     276 CALLE ELEONOR ROOSEVELT                                                                                              SAN JUAN            PR           00918
          MARIA DE LOS ANGELES
   297737 PASTRANA ROBLES                             REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS ANGELES PEREZ
   297738 FIGUEROA                                    REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS ANGELES
   297739 QUINONES                                    REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS ANGELES
   297740 QUINONES ESTEVEZ                            REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS ANGELES RAMOS
   710764 MONTALVO                                    RR 568 SECTOR VEGA ALEGRE     MONTE GRANDE                                                                               CABO ROJO           PR           00623

   710765 MARIA DE LOS ANGELES RESTO                  VILLA MARIA                   T 7 C/ 13                                                                                  CAGUAS              PR           00725
          MARIA DE LOS ANGELES REYES
   710766 MAISONET                                    HC 2 BOX 8490                                                                                                            BAJADERO            PR           00616
          MARIA DE LOS ANGELES RIOS
   297741 CRUZ                                        REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS ANGELES RIOS
   297742 RIVERA                                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                    3013 AVE ALEJANDRINO APTO
   710767 MARIA DE LOS ANGELES RIVERA COND FONTAINEBLEU PLAZA                       601                                                                                        GUAYNABO            PR           00969‐7036
          MARIA DE LOS ANGELES RIVERA
   710769 ROSARIO                     P O BOX 687                                                                                                                              FLORIDA             PR           00650
          MARIA DE LOS ANGELES RUIZ
   297745 RIVERA                      REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS ANGELES
   709662 SANCHEZ                     PO BOX 684                                                                                                                               BAJADERO            PR           0061
          MARIA DE LOS ANGELES
   710770 SANCHEZ CRUZ                BO GUANABANOS                                 CARR 149‐3                                                                                 JUANA DIAZ          PR           00795
          MARIA DE LOS ANGELES
   297746 SANTORI TRISTANI            REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS ANGELES SANTOS
   297747 APONTE                      REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOS ANGELES SILVA
   710772 BOSORA                      SANTA CLARA                                   P 25 GUACIMA                                                                               GUAYNABO            PR           00969
          MARIA DE LOS ANGELES SINDOS
   710773 PEREZ                       VICTOR ROJAS 2                                90 CALLE 11                                                                                ARECIBO             PR           00612




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   709660 MARIA DE LOS ANGELES TORRES RR 3 BOX 10274                                                                                                            TOA ALTA             PR           00953
          MARIA DE LOS ANGELES
   710774 TORRUELLAS PACHECO          VILLAS DE BUENAVISTA G 6               CALLE HERA                                                                         BAYAMON              PR           00956
          MARIA DE LOS ANGELES TOSADO
   710775 RIVERA                      RES BAIROA                             CW 3 CALLE 12A                                                                     CAGUAS               PR           00725
          MARIA DE LOS ANGELES VARGAS
   710776 SIERRA                      BOX 2485                                                                                                                  LOIZA                PR           00772
          MARIA DE LOS ANGELES
   297748 VAZQUEZ CORTES              REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS CALDERON
   297749 TORRES                      REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS M. GONZALEZ
   297750 CALDE                       REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS MILAGROS
   297751 RIVERA CANCEL               REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOS REYES TORRES
   710777 ORTIZ                       URB APONTE                             111 CALLE SANCHEZ SUR                                                              CAYEY                PR           00736
   710778 MARIA DE LOS S NEGRON       H C 01 BOX 3090                                                                                                           VILLALBA             PR           00766
          MARIA DE LOS SANTOS
   710779 BALASQUIDES                 PO BOX 2304                                                                                                               GUAYNABO             PR           00970‐2304
          MARIA DE LOS SANTOS HEALTH
   297752 CENTER                      PO BOX 19058                                                                                                              GREEN BAY            WI           54307
          MARIA DE LOUDES RIVERA
   297753 SOSTRE                      REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOURDES ALVARADO
   297754 MARTINEZ                    REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   710781 MARIA DE LOURDES BURGOS     HC 91 BOX 9092                                                                                                            VEGA ALTA            PR           00692‐9607
          MARIA DE LOURDES CABRERA
   297756 CABRERA                     REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   297757 MARIA DE LOURDES CAMACHO                    REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOURDES CLAUDIO
   297758 MONTANEZ                                    REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   297760 MARIA DE LOURDES CORA PENA                  REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOURDES COTTO
   297761 SANCHEZ                                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   297762 MARIA DE LOURDES CRUZ                       REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOURDES CRUZ
   297763 ARROYO                                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   710784 MARIA DE LOURDES CRUZ PEREZ URB VILLA MARINA                       F 138 CALLE 3                                                                      GURABO               PR           00778
          MARIA DE LOURDES ECHEVARRIA
   710788 HERNANDEZ                   PO BOX 529                                                                                                                RIO GRANDE           PR           00745
          MARIA DE LOURDES FIGUEROA
   710789 ARROYO                      URB SAN BENITO 39                      CALLE SANTA MARIA                                                                  HUMACAO              PR           00791
          MARIA DE LOURDES FIGUEROA
   297767 CLAVEL                      REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOURDES GARCIA
   297768 GONZALEZ                    REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DE LOURDES GOMEZ
   297769 GOMEZ                       REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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          MARIA DE LOURDES GONZALEZ
   297770 ARIAS                                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   710792 MARIA DE LOURDES LEON PEREZ URB LA LULA                                 G 20 CALLE 6                                                                      PONCE               PR           00731

   710793 MARIA DE LOURDES LEON VALLS LA RAMBLA                                   1642 CALLE NAVARRA                                                                PONCE               PR           00730‐4058
          MARIA DE LOURDES LOPEZ
   297771 CINTRON                     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOURDES LOPEZ
   297772 MALDONADO                   REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOURDES LUQUIS
   297773 RIVERA                      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOURDES MARTINEZ
   710794 TORES                       HC‐01 BOX 5677                                                                                                                BARRANQUITAS        PR           00794
          MARIA DE LOURDES MELENDEZ
   297774 PAGAN                       REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOURDES MULLER
   297775 VAZQUEZ                     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOURDES NIEVES
   297776 FIGUEROA                    REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOURDES OCASIO
   297777 VILLANUEVA                  REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710798 MARIA DE LOURDES OLIVERO    PO BOX 141                                                                                                                    CIDRA               PR           00739
          MARIA DE LOURDES OQUENDO
   297778 RIVERA                      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOURDES ORTIZ
   710799 SANCHEZ                     HC 80 BOX 8364                                                                                                                DORADO              PR           00646
          MARIA DE LOURDES PAGAN
   297779 COLLAZO                     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710801 MARIA DE LOURDES PLAZAS     URB HACIENDA LA MATILDE                     5325 CALLE BAGAZO                                                                 PONCE               PR           00731
          MARIA DE LOURDES RAMIREZ
   710802 OLIVO                       URB SAN JOSE                                M 11 CALLE 8 BOX 92                                                               SABANA GRANDE       PR           00637
          MARIA DE LOURDES RIVERA
   710803 CORDOVA                     COND EL ALCAZAR                             EDIF 500 APTO 5 C                                                                 SAN JUAN            PR           00923
          MARIA DE LOURDES RIVERA
   710805 GONZALEZ                    P O BOX 7285                                                                                                                  MAYAGUEZ            PR           00681
          MARIA DE LOURDES RIVERA
   297780 NIEVES                      REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOURDES RIVERA
   710806 PEREZ                       107 CALLE ESTEBAN PADILLA                                                                                                     BAYAMON             PR           00959

   297781 Maria de Lourdes Rivera Reyes               REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOURDES RIVERA
   710807 RIVERA                                      RES FELIPE SANCHEZ OSORIO   EDIF 17 APART 101                                                                 CAROLINA            PR           00985
          MARIA DE LOURDES RIVERA
   710808 VELAZQUEZ                                   COND WHITER TOWER APT 402                                                                                     SAN JUAN            PR           00921
          MARIA DE LOURDES RODRIGUEZ
   297782 HERNANDEZ                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DE LOURDES ROSADO
   297783 AYALA                                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297785 MARIA DE LOURDES SALAS                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   710813 MARIA DE LOURDES SANJURJO                   425 WEST 6 ST                                                                                                 PALMYRA             NJ           08065



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   297786 MARIA DE LOURDES SANTIAGO                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          MARIA DE LOURDES SANTIAGO
   710816 PEREZ                                       URB LA MARINA          G 22 CALLE D                                                                           CAROLINA              PR           00979
          MARIA DE LOURDES SANTIAGO
   710817 RAMOS                                       PO BOX 363128                                                                                                 SAN JUAN              PR           00936‐3128
          MARIA DE LOURDES SANTOS
   710819 PEREZ                                       PO BOX 1832                                                                                                   CAGUAS                PR           00726

   710820 MARIA DE LOURDES TELMONT                    URB PARKVILLE          Y 14 COLORADO                                                                          GUAYNABO              PR           00969
          MARIA DE LOURDES TORRES
   297789 ARROYO                                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          MARIA DE LOURDES TORRES
   297790 NIEVES                                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          MARIA DE LOURDES VARGAS
   297791 MORALES                                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          MARIA DE LOURDES VARGAS
   710823 RODRIGUEZ                                   11 CALLE ORIENTE                                                                                              HORMIGUEROS           PR           00660
          MARIA DE LOURDES VELAZQUEZ
   710824 MARTINEZ                                    BO PITAHAYA            HC 03 BOX 5532                                                                         HUMACAO               PR           00791‐9524
          MARIA DE OS ANGELES REYES
   297792 CASELLAS                                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   710825 MARIA DE R AGOSTO REYES                     BOX 916                                                                                                       NARANJITO             PR           00719

   710826 MARIA DE R RODRIGUEZ FELIX                  32 BRISAS DEL PLATA                                                                                           DORADO                PR           00646

   297793 MARIA DE R ROLON MORALES                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   710827 MARIA DE R ROSARIO GUTIERREZ HC 01 BOX 7772                                                                                                               YAUCO                 PR           00698
                                                                             241 AVE WINSTON CHURCHILL
   710828 MARIA DE RIVAS BLANCO                       CHURCHILL PARK         BOX 33                                                                                 SAN JUAN              PR           00909
   297794 MARIA DEIDA NORMAN                          REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   297795 MARIA DEL A. SANCHEZ ROSADO REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   297796 MARIA DEL C ACEVEDO RIESTRA                 REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   710836 MARIA DEL C ALAMO ROMAN                     QUEBRADA GRANDE        HC 645 BOX 6111                                                                        TRUJILLO ALTO         PR           00976
   710837 MARIA DEL C ALFONSO CRUZ                    ALBORADA               1225 CARR 2 APT 2021                                                                   BAYAMON               PR           00959
   710838 MARIA DEL C ALICEA                          HC 37 BOX 5463                                                                                                GUANICA               PR           00653
          MARIA DEL C ALMARAZ / MARIA
   297797 M ROSSY                                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          MARIA DEL C ALVARADO
   710840 RODRIGUEZ                                   URB VILLA ALBA         29 CALLE B                                                                             VILLALBA              PR           00766
          MARIA DEL C AMEZQUITA
   710841 FONSECA                                     P O BOX 719                                                                                                   TOA BAJA              PR           00951‐0719

   710843 MARIA DEL C APONTE MEDINA                   SANTA ELENA            N 69 CALLE C                                                                           BAYAMON               PR           00957

   710844 MARIA DEL C AQUINO DELGADO PO BOX 1074                                                                                                                    SAINT JUST            PR           00978

   710845 MARIA DEL C AROCHO ARVELO                   HC 6 BOX 12457                                                                                                SAN SEBASTIAN         PR           00685

   297799 MARIA DEL C ARROYO MARTINEZ REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED



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   710849 MARIA DEL C AYALA RODRIGUEZ                 P O BOX 2523                                                                                                     BAYAMON             PR           00960
   710850 MARIA DEL C BAEZ SANCHEZ                    HC 3 BOX 7610                                                                                                    COMERIO             PR           00782
   710851 MARIA DEL C BARRETO SOTO                    HC 02 BOX 12249                                                                                                  MOCA                PR           00676
          MARIA DEL C BASMESON
   297801 GONZALEZ                                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C BENITEZ/DELIA M
   297802 ALBUERNE                                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   710854 MARIA DEL C BERRIOS COLON                   22 URB EL RETIRO                                                                                                 HUMACAO             PR           00791
   297803 MARIA DEL C BERRIOS ORTIZ                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710860 MARIA DEL C BONILLA CRUZ                    LOMAS DE CAROLINA       A 2 E 9 CALLE 51                                                                         CAROLINA            PR           00987

   297804 MARIA DEL C BONILLA MATIAS                  REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297806 MARIA DEL C BORRAS DIAZ                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C CABALLERO
   710861 CAMACHO                                     URB BONNEVILLE HEIGHT   60 CALLE CAYEY                                                                           CAGUAS              PR           00725

   297807 MARIA DEL C CABRERA NEGRON REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710862 MARIA DEL C CACHOLA        VILLAS DE RIO GRANDE                     B 4 CALLE JULIO MILLAN                                                                   RIO GRANDE          PR           00745

   297808 MARIA DEL C CALDERON LOPEZ                  REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710866 MARIA DEL C CANDELARIA                      HC 02 BOX 136751                                                                                                 ARECIBO             PR           00612

   297809 MARIA DEL C CARABALLO COLON REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C CARBALLO
   297811 GUZMAN                      REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297812 MARIA DEL C CARNELA YNFANTE REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C CARRASQUILLO
   710867 RODRIGUEZ                   PO BOX 277                                                                                                                       SALINAS             PR           00751
   710868 MARIA DEL C CARRERO VELEZ   COND RIVER PARK                         EDIF H 101                                                                               BAYAMON             PR           00961

   297815 MARIA DEL C CARTAGENA REYES REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710829 MARIA DEL C CASIANO DIAZ    PO BOX 191118                                                                                                                    SAN JUAN            PR           00919‐1118
          MARIA DEL C CASTRO
   297816 OPPENHEIMER                 REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297817 MARIA DEL C CHAPMAN RIVERA REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C CHERVONI
   710869 SANCHEZ                    VILLA VERDE                              A 5 C/ 1                                                                                 BAYAMON             PR           00959

   710870 MARIA DEL C CHEVERE CORDERO SIERRA BAYAMON                          58 22 CALLE 50                                                                           BAYAMON             PR           00961

   710871 MARIA DEL C CINTRON CHAVES                  BO COTTO                BZN 25 A CALLE VISTA ALEGRE                                                              ISABELA             PR           00662

   297819 MARIA DEL C COLON ERNANDEZ REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297820 MARIA DEL C COLON SANCHEZ                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297821 MARIA DEL C COLON SEGARRA                   REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297822 MARIA DEL C CORDERO MARTIR REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  710877 MARIA DEL C CORDOVES                         RR 3 BOX 54                                                                                                 SAN JUAN            PR           00926
         MARIA DEL C CORREA
  710878 FERNANDEZ                                    COND PLAZA DEL ESTE       A 2 EDIF 15                                                                       CANOVANAS           PR           00729
  710879 MARIA DEL C COSME ALICEA                     RR 2 BOX 7066                                                                                               TOA ALTA            PR           00953
  297824 MARIA DEL C COTTO BLOISE                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
         MARIA DEL C COTTO
  710881 MALDONADO                                    URB BAIROA                CM 17 CALLE 9                                                                     CAGUAS              PR           00725‐1421

   710882 MARIA DEL C COTTO MARTINEZ                  URB BELLO MONTE           H 19 CALLE 7                                                                      GUAYNABO            PR           00969
   297825 MARIA DEL C COTTO OTERO                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   710885 MARIA DEL C CRUZ MERCADO                    HC‐01 BOX 58646                                                                                             CAMUY               PR           00627
   297826 MARIA DEL C CRUZ RIVERA                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   297827 MARIA DEL C CRUZ SANCHEZ                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   710888 MARIA DEL C CRUZ TORRES                     BATISTA                   40 CALLE SAN JUAN                                                                 CAGUAS              PR           00725
   710889 MARIA DEL C DE LEON                         EXP PARQUE ECUESTRE       M 26 CALLE 26                                                                     CAROLINA            PR           00987

   710890 MARIA DEL C DEL VALLE COLON                 BO SABANA LLANA           1000 CALLE PALMA                                                                  SAN JUAN            PR           00923
   297828 MARIA DEL C DIAZ DAVILA                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   710894 MARIA DEL C DIAZ RODRIGUEZ                  COND SAN LUIS APT 604                                                                                       PONCE               PR           00730
   710896 MARIA DEL C DOMINGUEZ                       C/O JUAN ROSARIO CASTRO   PO BOX 190917                                                                     SAN JUAN            PR           00919‐0917
   297830 MARIA DEL C DUENO RIJOS                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARIA DEL C ECHEVARRIA
   297831 DELGADO                                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARIA DEL C ECHEVARRIA
   710898 TORRES                                      COLINAS DE MONTE CARLO    H19 CALLE 43                                                                      BAYAMON             PR           00924‐5812
   710900 MARIA DEL C ESPADA MATEO                    PO BOX 425                                                                                                  SALINAS             PR           00751
          MARIA DEL C ESPINOSA
   297833 MARTINEZ                                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   710901 MARIA DEL C FERNANDEZ                       BOX 9623                                                                                                    CAROLINA            PR           00979
          MARIA DEL C FIGUERAS
   297835 VAZQUEZ                                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARIA DEL C FIGUEROA
   297836 CARRILLO                                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   297837 MARIA DEL C FIGUEROA CORREA REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARIA DEL C FIGUEROA
   710906 VELAZQUEZ                   BO DAGUAO BOX 563                                                                                                           NAGUABO             PR           00718

   710907 MARIA DEL C FOGUEROA ROSA                   P O BOX 1798                                                                                                TOA ALTA            PR           00951
   710909 MARIA DEL C GARCIA                          152 O' DONNELL            VIEJO SAN JUAN                                                                    SAN JUAN            PR           00901

   710910 MARIA DEL C GARCIA BADILLO                  HC 2 BOX 8085                                                                                               QUEBRADILLAS        PR           00678

   297838 MARIA DEL C GARCIA CORDOVA                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   297839 MARIA DEL C GARCIA FORTES                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   297840 MARIA DEL C GARCIA LOPEZ                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARIA DEL C GARCIA
   710911 MALDONADO                                   MIRAFLORES                46‐6 CALLE 56                                                                     BAYAMON             PR           00957
   297841 MARIA DEL C GIORGI MATOS                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   297842 MARIA DEL C GOMEZ CHACON                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  297843 MARIA DEL C GONZALEZ                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   710913 MARIA DEL C GONZALEZ COTTO                  BO THOMAS DE CASTRO       SEC LA PALMERA                                                                      CAGUAS              PR         00725
          MARIA DEL C GONZALEZ DE
   297844 RIVAS                                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          MARIA DEL C GONZALEZ
   297845 FIGUEROA                                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          MARIA DEL C GONZALEZ
   297846 GONZALEZ                                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   710916 MARIA DEL C GONZALEZ MEDINA HC 05 BOX 10773                                                                                                               MOCA                PR         00676
          MARIA DEL C GONZALEZ
   710917 MORALES                     PO BOX 1000                                                                                                                   TOA ALTA            PR         00954

   297847 MARIA DEL C GONZALEZ QUILEZ REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
                                                                                2803 PASEO ALBA URB
   710918 MARIA DEL C GORDILLO PEREZ                  LEVITTOWN                 LEVITTOWN                                                                           TOA BAJA            PR         00949

   297850 MARIA DEL C GUZMAN COLON                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   710920 MARIA DEL C GUZMAN PEREZ                    PO BOX 546                                                                                                    CANOVANAS           PR         00729
          MARIA DEL C HENRIQUEZ
   710921 ALMODOVAR                                   77 CALLEJON LOS FAJUNDO   CARR 303                                                                            BOQUERON            PR         00622

   710922 MARIA DEL C HERMIDA IGLESIAS URB ANTONSANTI                           1510 CALLE FAURE                                                                    SAN JUAN            PR         00927
          MARIA DEL C HERNANDEZ                                                 CALLE APANA SECTOR LOS
   710923 CARTAGENA                    BO CAMARONES                             GUAYABOS                                                                            GUAYNABO            PR         00965

   710924 MARIA DEL C HERNANDEZ CUBA 1227 CALLE MARIANO ABRIL                   URB CLUB MANOR                                                                      RIO PIEDRAS         PR         00924

   297852 MARIA DEL C HERNANDEZ LLADO REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   710925 MARIA DEL C HERNANDEZ NATAL PO BOX 927                                                                                                                    CAYEY               PR         00737

   710926 MARIA DEL C HERNANDEZ PEREZ RR 01 BOX 11954                                                                                                               MANATI              PR         00674
          MARIA DEL C HERNANDEZ
   710928 ROMAN                       REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   710930 MARIA DEL C HOYO TORRES     VILLA DAGMARITA                           RR 7 BOX 15                                                                         SAN JUAN            PR         00926

   297854 MARIA DEL C HUERTAS COLON                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   297855 MARIA DEL C HUERTAS OTERO                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   710931 MARIA DEL C HUYKE FREIRIA                   URB GARDEN COURT          B4 CALLE ESPA¨A                                                                     GUAYNABO            PR         00966
   710934 MARIA DEL C LEON REYES                      A 24 URB LA PLATA                                                                                             CAYEY               PR         00736
   709664 MARIA DEL C LLANES OSORIO                   RR 36 BOX 11580                                                                                               SAN JUAN            PR         00926
   710936 MARIA DEL C LOPEZ CRUZ                      HC 01 BOX 11408                                                                                               TOA BAJA            PR         00951
   710937 MARIA DEL C LOPEZ DIAZ                      BAYAMON COUNTRY           EDIF 35 APT 35 F                                                                    BAYAMON             PR         00959
   710938 MARIA DEL C LOPEZ FUENTE                    HC 01 BOX 4856                                                                                                LOIZA               PR         00772

   710939 MARIA DEL C LOPEZ HERNANDEZ PO BOX 943                                                                                                                    BOQUERON            PR         00622
   297857 MARIA DEL C LOPEZ LOPEZ     REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          MARIA DEL C LOPEZ
   297858 MALDONADO                   REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED




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   710942 MARIA DEL C LOPEZ RODRIGUEZ                 BO CANTERA                44 CALLE HUCAR                                                                           PONCE               PR           00731
   710943 MARIA DEL C LOPEZ ROJAS                     PO BOX 1762                                                                                                        UTUADO              PR           00641
   297861 MARIA DEL C LOPEZ SANCHEZ                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C MALDONADO
   710946 BARCENA                                     272 CALLE SAN SEBASTIAN                                                                                            SAN JUAN            PR           00901
   710947 MARIA DEL C MARQUEZ                         PO BOX 469                                                                                                         TOA BAJA            PR           00951

   710949 MARIA DEL C MARRERO SANTOS BO QUEBRADA CRUZ                           312 PARC NUEVAS                                                                          TOA ALTA            PR           00954
   297862 MARIA DEL C MARTINEZ       REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   710951 MARIA DEL C MARTINEZ ALONSO COND LAGUNA GARDENS 2                     APTO 2K                                                                                  CAROLINA            PR           00979

   710952 MARIA DEL C MARTINEZ BLASS                  PMB 99 P O BOX 70171                                                                                               SAN JUAN            PR           00936 8171
          MARIA DEL C MARTINEZ
   710953 CAMPOS                                      BO HATO ABAJO             PO BOX 9492                                                                              ARECIBO             PR           00613

   710954 MARIA DEL C MARTINEZ NIEVES LAS COLINAS                               Q 27 COLINA YAUREL                                                                       TOA BAJA            PR           00949

   710955 MARIA DEL C MARTINEZ RESTO                  URB SUNVILLE              X 10 CALLE 19                                                                            TRUJILLO ALTO       PR           00976

   297863 MARIA DEL C MARTINEZ ROSA                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C MARTINEZ
   710957 VELAZQUEZ                                   HC 01 BOX 17588                                                                                                    HUMACAO             PR           00791
   297864 MARIA DEL C MARULANDO                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710959 MARIA DEL C MATOS RIVERA                    BOX 814                                                                                                            AIBONITO            PR           00705
   297865 MARIA DEL C MAYMI COLON                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   710960 MARIA DEL C MEDINA LLANOS                   BO HATO VIEJO             SECTOR LA PICA                                                                           ARECIBO             PR           00612

   710961 MARIA DEL C MEDINA MENDEZ                   EL TUQUE                  1548 CALLE JUAN CABRER LLUL                                                              PONCE               PR           00728‐4755
          MARIA DEL C MEDINA                          311 PARCELAS MORA
   710962 MONTALVO                                    GUERRERO                                                                                                           ISABELA             PR           00662

   710963 MARIA DEL C MELENDEZ GARCIA ESTANCIAS                                 E 6 PLAZA 9                                                                              BAYAMON             PR           00961

   710964 MARIA DEL C MELENDEZ MAIZ                   PO BOX 3426                                                                                                        GUAYNABO            PR           00970‐3426

   297866 MARIA DEL C MENDEZ MENDEZ                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C MERCADO
   710966 FUENTES                                     D 1 URB CAMPO REY                                                                                                  AIBONITO            PR           00705‐3927

   297867 MARIA DEL C MERCED ROLON                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297868 MARIA DEL C MIRANDA GOMEZ                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C MONTANEZ
   297870 MELENDEZ                                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C MONTERROSO
   297871 MORALES                                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297872 MARIA DEL C MORALES ACOSTA REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   710971 MARIA DEL C MORALES BERRIOS FAIR VIEW                                 734 CALLE GONZALO GALLIGOS                                                               SAN JUAN            PR           00926



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   297873 MARIA DEL C MORALES HUERTAS REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C MORALES
   297874 RODRIGUEZ                   REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297877 MARIA DEL C MOSQUEA         REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C MOYA
   710973 MALDONADO                   LA MARINA                                    E 10 CALLE GARDENIA                                                                    CAROLINA            PR           00979
          MARIA DEL C MULERO
   297878 FERNANDEZ                   REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297879 MARIA DEL C MUNOZ DELGADO REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C MUNOZ
   297880 FERNANDEZ                 REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297881 MARIA DEL C MUNOZ SERRANO                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C NAVARRO
   710976 SERRANO                                     HC 40 BOX 43529                                                                                                     SAN LORENZO         PR           00754
          MARIA DEL C NEGRON
   710977 HERNANDEZ                                   COOP JARD DE TRUJILLO ALTO   EDIF F 702                                                                             TRUJILLO ALTO       PR           00976

   710978 MARIA DEL C NIEVES CARABALLO URB LOS MAESTROS                            37 CALLE FRANCISCO PIETRI                                                              ADJUNTAS            PR           00601
          MARIA DEL C NIGAGLIONI
   710979 MIGNUCCI                     20 CALLE WASHINGTON APT 5B                                                                                                         SAN JUAN            PR           00907‐1535
   710980 MARIA DEL C NORIEGA          PO BOX 9021112                                                                                                                     SAN JUAN            PR           00902‐1112
          MARIA DEL C NUNEZ
   297882 HERNANDEZ                    REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297884 MARIA DEL C OJEDA DAVILA     REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   710981 MARIA DEL C ORTEGA DE ELIAS                 JARD DE TOA ALTA             199 CALLE 5                                                                            TOA ALTA            PR           00953

   710983 MARIA DEL C ORTIZ MELENDEZ                  URB ELEANOR ROOSEVELT        305 CALLE HECTOR SALAMAN                                                               SAN JUAN            PR           00918
   297885 MARIA DEL C ORTIZ PAJARIN                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   710984 MARIA DEL C ORTIZ RIVERA                    BO MANI                      5784 CALLE LA MORA                                                                     MAYAGUEZ            PR           00682‐6188

   710985 MARIA DEL C ORTIZ RODRIGUEZ URB VILLA PALMERAS                           325 CALLE FAJARDO                                                                      SANTURCE            PR           00915

   710986 MARIA DEL C OSORIO CORTEZ                   COND QUINTANA A              APT 1310                                                                               SAN JUAN            PR           00917

   710987 MARIA DEL C OSORIO FONTANEZ 2DA SECCION TURABO GARDEN                    R 11 CALLE 27                                                                          CAGUAS              PR           00725
   710988 MARIA DEL C PADILLA         PO BOX 326                                                                                                                          SALINAS             PR           00751‐0326
   710990 MARIA DEL C PADRO MATIAS    URB VILLA CAROLINA                           207 11 CALLE 515                                                                       CAROLINA            PR           00985

   710992 MARIA DEL C PALACIOS RIVERA                 TERRS DE GUAYNABO            L6 CALLE AZAHAR                                                                        GUAYNABO            PR           00969

   297888 MARIA DEL C PEREA HERNANDEZ REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297889 MARIA DEL C PEREZ JIMENEZ   REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   710993 MARIA DEL C PEREZ MORALES                   HC 80 BOX 8453                                                                                                      DORADO              PR           00646
   710994 MARIA DEL C PEREZ RIOS                      HC 1 BOX 10129               HOYAMALA                                                                               SAN SEBASTIAN       PR           00685

   297890 MARIA DEL C PEREZ RODRIGUEZ REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   709668 MARIA DEL C PEREZ RODRIGUEZ B 15 EXT VILLA DEL CARMEN                                                                                                           CAMUY               PR           00627



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   710996 MARIA DEL C PINTOR SANTIAGO                 BZN 4 IMBERY CALLE 1                                                                                                BARCELONETA         PR           00617
   710997 MARIA DEL C POZUELO REYES                   URB EL PLANTIO              C 4 CALLE HUCAR                                                                         TOA BAJA            PR           00949
   710999 MARIA DEL C QUESADA ORTIZ                   MAYOR CANTERA               97 D CALLEJON DEL RIO                                                                   PONCE               PR           00730
   297891 MARIA DEL C QUINONES                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297892 MARIA DEL C QUINONES CRUZ                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C QUINONES
   297894 PADOVANI                                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   711000 MARIA DEL C QUINTANA VELEZ                  URB PONCE DE LEON           9 CALLE VALLADLID                                                                       MAYAGUEZ            PR           00680

   297897 MARIA DEL C QUISAO SANTIAGO REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711002 MARIA DEL C RAMOS ACOSTA    F D ROOSEVELT                               EDIF 20 APT 455                                                                         MAYAGUEZ            PR           00680

   297898 MARIA DEL C RAMOS AGUILAR                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297899 MARIA DEL C RAMOS FELIX                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   711004 MARIA DEL C RAMOS SERRANO                   URB SAN PEDRO               25 CALLE RAMON RIVERA CRUZ                                                              TOA BAJA            PR           00949

   297900 MARIA DEL C RECCA FIGUEROA                  REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711005 MARIA DEL C REILLO MEDINA                   BO BUEN CONSEJO             258 CALLE COLON                                                                         SAN JUAN            PR           00926
   710833 MARIA DEL C REYES CRESPO                    HC 4 BOX 49807                                                                                                      CAGUAS              PR           00725
   297901 MARIA DEL C REYES MADRAZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297903 MARIA DEL C REYES RODRIGUEZ REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   711006 MARIA DEL C RIOS SIMMONS                    335 CALLE ANTONIO G MELLADO                                                                                         VIEQUES             PR           00765
   711008 MARIA DEL C RIVERA                          URB MIRAFLORES              21‐4 CALLE ARMONIA                                                                      BAYAMON             PR           00957
          MARIA DEL C RIVERA
   711009 ALMODOVAR                                   PO BOX 773                                                                                                          SAN GERMAN          PR           00683
          MARIA DEL C RIVERA
   297904 BEAUCHAMP                                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297905 MARIA DEL C RIVERA CLASS                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711011 MARIA DEL C RIVERA GOMEZ                    URB BAYAMON GDNS            GG6 CALLE SANDY                                                                         BAYAMON             PR           00957

   297906 MARIA DEL C RIVERA GONZALEZ                 REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C RIVERA
   711012 MONTECINOS                                  PO BOX 25175                                                                                                        SAN JUAN            PR           00928
   711013 MARIA DEL C RIVERA PEREZ                    BRISAS DE RIO HONDO         22 CALLE I                                                                              MAYAGUEZ            PR           00680
   711015 MARIA DEL C RIVERA RAMOS                    PO BOX 9442                                                                                                         CAGUAS              PR           00726

   297907 MARIA DEL C ROBINSON RIVERA REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297908 MARIA DEL C RODRIGUEZ       REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297910 MARIA DEL C RODRIGUEZ COLON REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C RODRIGUEZ       URB BUENA VISTA MARGINAL
   711025 MALDONADO                   1519                                                                                                                                PONCE               PR           00731
          MARIA DEL C RODRIGUEZ
   711026 MARRERO                     837 RES VISTA HERMOSA                                                                                                               SAN JUAN            PR           00921
          MARIA DEL C RODRIGUEZ
   297911 MORALES                     REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   711028 MARIA DEL C RODRIGUEZ PONCE 52 BO LA TROCHA                                                                                                             VEGA BAJA            PR           00693
          MARIA DEL C RODRIGUEZ
   297912 RAMOS                       REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   297913 MARIA DEL C RODRIGUEZ RIVERA REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL C RODRIGUEZ
   297914 SANTIAGO                     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   711031 MARIA DEL C RODRIGUEZ SOTO                  PO BOX 34649                                                                                                FORT BUCHANAN        PR           00934‐0649
          MARIA DEL C RODRIGUEZ
   711023 TORRES                                      PO BOX 47                                                                                                   LAS MARIAS           PR           00670‐0047
          MARIA DEL C RODRIGUEZ
   711032 VILLENEUVE                                  URB PARKVILLE Q8          AVE LOPATEGUI                                                                     GUAYNABO             PR           00969
          MARIA DEL C RODRIGUEZ
   297915 VIRELLA                                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   297916 MARIA DEL C ROHENA DAVILA                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711033 MARIA DEL C ROLDAN RIVERA                   HC 8 BOX 39284                                                                                              CAGUAS               PR           00725

   297917 MARIA DEL C ROLDAN VAZQUEZ REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   711034 MARIA DEL C ROLON CASTILLO                  COND EL JARDIN J 7 PH C   AVE SAN PATRICIO                                                                  GUAYNABO             PR           00968‐4412
   297918 MARIA DEL C ROLON RIVRA                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   709665 MARIA DEL C ROMAN SANTIAGO HC 03 BOX 32175                                                                                                              AGUADA               PR           00602
          MARIA DEL C ROMERO
   711036 ARAGONES                   VILLAS PALMERAS                            3009 REPUBLICA                                                                    SAN JUAN             PR           00915
   297919 MARIA DEL C ROSA           REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   297920 MARIA DEL C ROSA CORREA    REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711037 MARIA DEL C ROSA DIAZ      HC 02 BOX 13238                                                                                                              HUMACAO              PR           00791‐9655
   711038 MARIA DEL C ROSADO         LITHEDA APART                              EDIF 216 APTO C 3                                                                 SAN JUAN             PR           00926

   297921 MARIA DEL C ROSADO CABRERA                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL C ROSADO
   711039 HERNANDEZ                                   URB JARDINO               F 10                                                                              SANTA ISABEL         PR           00757
   711040 MARIA DEL C ROSADO PEREZ                    PO BOX 128                                                                                                  TOA ALTA             PR           00954
   711041 MARIA DEL C ROSARIO                         EL MIRADOR                EDIF 1 APT C 2                                                                    SAN JUAN             PR           00915

   297922 MARIA DEL C ROSARIO CLAUDIO REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   297924 MARIA DEL C ROSARIO NUNEZ                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711042 MARIA DEL C ROSARIO PEREZ                   HC 3 BOX 9128                                                                                               VILLALBA             PR           00766
          MARIA DEL C RUIZ JULIA Y
   711045 ANGELA J RUIZ                               PO BOX 242                                                                                                  HUMACAO              PR           00791‐0242
   297925 MARIA DEL C RUIZ VEGA                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL C SALAMANCA
   711047 GORDON                                      4TA EXT VILLA CAROLINA    136‐6 CALLE 406                                                                   CAROLINA             PR           00985

   297926 MARIA DEL C SALGADO SANCHEZ REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL C SANCHEZ
   297928 MARRERO                     REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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   297929 MARIA DEL C SANCHEZ TORRES                  REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711050 MARIA DEL C SANTANA                         BARRIADA SANDIN        76 CALLE JUPITER                                                                    VEGA BAJA            PR           00693

   711051 MARIA DEL C SANTANA PAGAN                   P O BOX 1154                                                                                               SAN GERMAN           PR           00683
   711052 MARIA DEL C SANTELL DIAZ                    PO BOX T 201                                                                                               MAUNABO              PR           00707
   711053 MARIA DEL C SANTIAGO CRUZ                   RES LLORENS TORRES     EDIF 30 APT 634                                                                     SAN JUAN             PR           00913

   297931 MARIA DEL C SANTIAGO LOPEZ                  REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   297932 MARIA DEL C SANTIAGO ROLDAN REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   711055 MARIA DEL C SANTIAGO TORRES URB EL ROSARIO 2                       S 4 CALLE 5                                                                         VEGA BAJA            PR           00693
          MARIA DEL C SANTIAGO
   711056 VAZQUEZ                     CARR 804 KL 1 HC 2                                                                                                         TOA ALTA             PR           00953

   711057 MARIA DEL C SANTOS ALVAREZ                  VILLAS DEL RIO         207 CALLE YAGUEZ                                                                    HUMACAO              PR           00791

   297933 MARIA DEL C SANTOS MORALES                  REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL C SERRANO
   711059 MALDONADO                                   HC 3 BOX 14581                                                                                             UTUADO               PR           00641‐9734
   711060 MARIA DEL C SOTO AGUIRRE                    LOMAS DEL VIENTO       101 CALLE RETIRO ESTE                                                               GUAYAMA              PR           00784
   711061 MARIA DEL C SOTO PADILLA                    E 27 URB SAN JOSE                                                                                          AIBONITO             PR           00705

   297934 MARIA DEL C SOTO QUINONES REDACTED                                 REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711062 MARIA DEL C SOTO RAMOS       SIERRA BAYAMON                        5514 CALLE 46                                                                       BAYAMON              PR           00961
          MARIA DEL C STREBBE
   297935 SOTOMAYOR                    REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   297936 MARIA DEL C SUAREZ CRUZ      REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL C TIRADO/ESC PETRA
   297939 ZENON FABER                  REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL C TOMASSINI
   297940 RESPETO                      REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711063 MARIA DEL C TORRES           PO BOX 2145                                                                                                               VEGA ALTA            PR           00692
   297941 MARIA DEL C TORRES ARCE      REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   297942 MARIA DEL C TORRES GARCIA    REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   711064 MARIA DEL C TORRES MARRERO HC 80 BOX 8580                                                                                                              DORADO               PR           00646

   711065 MARIA DEL C TORRES MARTINEZ URB FAJARDO GARDENS                    241 CALLE LAUREL                                                                    FAJARDO              PR           00738

   711066 MARIA DEL C TORRES MELENDEZ URB EXT TORRECILLAS                    BOX 45 CALLE 10                                                                     MOROVIS              PR           00687

   711067 MARIA DEL C TORRES MIRANDA PO BOX 198                                                                                                                  COROZAL              PR           00783
   711068 MARIA DEL C TORRES SUAREZ  AVE PONCE DE LEON                       PDA 20 EDIF CEM 1409                                                                SAN JUAN             PR           00908

   711070 MARIA DEL C TRINIDAD PADRO                  20 EXT LAS GUAVAS                                                                                          CIALES               PR           00638

   711071 MARIA DEL C TRIPARI QUINTANA P O BOX 332083                                                                                                            PONCE                PR           00733‐2083
   297943 MARIA DEL C URBINA RIVAS     REDACTED                              REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   711072 MARIA DEL C VALENTIN APONTE EXT MARISOL                            44 CALLE 2                                                                          ARECIBO              PR           00612




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          MARIA DEL C VALENTIN
   711073 MARRERO                                     URB SANVILLE CALLE 16 R‐6                                                                                     TRUJILLO ALTO        PR           00976
          MARIA DEL C VALENTIN
   297944 RODRIGUEZ                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711075 MARIA DEL C VAZQUEZ                         15M COND GALIA                                                                                                SAN JUAN             PR           00907
   297945 MARIA DEL C VAZQUEZ ORTIZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   711078 MARIA DEL C VAZQUEZ RIVERA                  PO BOX 538                                                                                                    VEGA ALTA            PR           00685

   297946 MARIA DEL C VAZQUEZ TORRES                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   711080 MARIA DEL C VAZQUEZ TRINIDAD TOA ALTA HEIGHTS                           AR 53 CALLE 35                                                                    TOA ALTA             PR           00953
   711081 MARIA DEL C VEGA LUGO        PO BOX 1708                                                                                                                  YAUCO                PR           00698
   297947 MARIA DEL C VEGA PAGAN       REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711082 MARIA DEL C VEGA SANTOS      URB LA LULA                                N18 CALLE 12                                                                      PONCE                PR           00730‐1526
   297948 MARIA DEL C VEGA TAPIA       REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711083 MARIA DEL C VEGA VELEZ       HC 2 BOX 5890                                                                                                                MOROVIS              PR           00687
          MARIA DEL C VELAZQUEZ
   297949 GONZALEZ                     REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL C VELAZQUEZ
   297950 MORALES                      REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL C VILLAFANE
   297951 SANTIAGO                     REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL C WARREN
   711085 GONZALEZ                     P O BOX 9767                                                                                                                 CAROLINA             PR           00988‐9767
          MARIA DEL C. BEAUCHAMPS
   297953 SERRANO                      REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL C. CAMACHO
   297954 HERNANDEZ                    REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   297957 MARIA DEL C. CRUZ QUINONES                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711088 MARIA DEL C. DEL VALLE                      HC 40 BOX 48807                                                                                               SAN LORENZO          PR           00754

   297958 MARIA DEL C. FONTANEZ TORRES REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL C. FOURNIER
   297959 MARRERO                      REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711089 MARIA DEL C. GANDIA          10 AVE ESTEVES                                                                                                               UTUADO               PR           00641
          MARIA DEL C. GONZALEZ
   297960 FIGUEROA                     REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   297961 MARIA DEL C. GONZALEZ MARIN REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   297962 MARIA DEL C. GONZALEZ RAMOS REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   297963 MARIA DEL C. GONZALEZ TIRADO REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   711091 MARIA DEL C. LOPEZ ROSARIO                  5 CALLE DR JANER                                                                                              MAUNABO              PR           00707
   297964 MARIA DEL C. LOZADA AYALA                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   297965 MARIA DEL C. MARTINEZ CORTES REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   297966 MARIA DEL C. MARTINEZ NIEVES REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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          MARIA DEL C. MELENDEZ
   297968 DELGADO                                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297969 MARIA DEL C. MERCED ROLON                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C. MONTANEZ
   297970 CORRAL                                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C. MORALES
   711094 RODRIGUEZ                                   URB COUNTRY CLUB        822 CALLE FORMOSA                                                                   SAN JUAN            PR           00924

   297971 MARIA DEL C. MORALES VELEZ                  REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297972 MARIA DEL C. MUðOZ COLON                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297974 MARIA DEL C. OJEDA RODRIGUEZ REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297975 MARIA DEL C. ORTIZ RODRIGUEZ REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297976 MARIA DEL C. PEREZ FUENTES   REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297977 MARIA DEL C. RAMOS FELIX     REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297978 MARIA DEL C. REYES SUSTACHE                 REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C. RIVERA
   297979 MONTESINO                                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C. RODRIGUEZ
   297980 RAMOS                                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C. RODRIGUEZ
   297981 WALKER                                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   711096 MARIA DEL C. ROHENA DAVILA                  HP ‐ SALA 1 BAJO                                                                                            RIO PIEDRAS         PR           009360000
   297982 MARIA DEL C. ROHENA PEREZ                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297984 MARIA DEL C. ROSA LA LUZ                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C. SANCHEZ
   297985 MARRERO                                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297988 MARIA DEL C. TORRENS                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711098 MARIA DEL C. TORRES                         CALLE GARDENIA L 17     URB MARINA LOS ANGELES                                                              CAROLINA            PR           00979
   297989 MARIA DEL C. TORRES DIAZ                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL C. TRAVIESO
   297990 MARTINEZ                                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297992 MARIA DEL C. VILLEGAS OCASIO                REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   297993 MARIA DEL C. YAMBO CANCEL                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CA APELLANIZ
   297994 FONSECA                                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   297995 MARIA DEL CARMEN ALAMO                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711100 MARIA DEL CARMEN ALBERTY                    URB JARDINES DE CEIBA   1 ‐ 4 CALLE 8                                                                       CEIBA               PR           00735
          MARIA DEL CARMEN ALICEA
   297996 CARTAGENA                                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN ALVARADO
   297997 BONILLA                                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN BOSQUES
   297998 VAZQUEZ                                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN BURGOS
   711101 RIVERA                                      HC 2 BOX 6726                                                                                               YABUCOA             PR           00767




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          MARIA DEL CARMEN CABRERA
   297999 APONTE                                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN CALDERON
   298000 MARTINEZ                                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN CAMACHO
   298002 CAMACHO                                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN COLON
   298004 RIVERA                                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN COTTO
   711103 BRACERO                                     52 CALLE 65TH INFANTERIA                                                                                        LAJAS               PR           00667
          MARIA DEL CARMEN CRUZ
   711105 DAVILA                                      ALT DE FLAMBOYAN           GG 23 C/ 19                                                                          BAYAMON             PR           00959
          MARIA DEL CARMEN CUBERO
   711106 ROLDAN                                      JARDINES DE CAROLINA       K 31 CALLE K                                                                         CAROLINA            PR           00987
   298005 MARIA DEL CARMEN DAVILA                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN DE JESUS
   711108 DE JESUS                                    JARDINES                   N 4 CALLE 3                                                                          SANTA ISABEL        PR           00757
          MARIA DEL CARMEN DE JESUS
   711109 VEGA                                        BO OBRERO                  708 CALLE 14                                                                         SAN JUAN            PR           00915
          MARIA DEL CARMEN DEL LLANO
   711110 SOBRINO                                     URB TERRANOVA              D 6 CALLE 3                                                                          GUAYNABO            PR           00969
                                                                                 HD 20 CALLE DOMINGO DE
   711111 MARIA DEL CARMEN DELGADO                    7MA SECCION LEVITTOWN      ANDINO                                                                               TOA BAJA            PR           00949
          MARIA DEL CARMEN DIEZ
   711112 ZANCHEZ                                     LA RAMBLA                  1132 CALLE AVILA                                                                     PONCE               PR           00730‐4024

   298006 MARIA DEL CARMEN DOMENECH REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN
   298007 ENCARNACION RIVERA         REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN FIGUEROA
   711115 MEJIAS                     BOX 7886                                                                                                                         CIDRA               PR           00739
          MARIA DEL CARMEN GARCIA DE
   298008 LEON                       REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN GARCIA
   711117 LOPEZ                      COND CASA LINDA                             CARR 177 APT L 404                                                                   BAYAMON             PR           00959

   711118 MARIA DEL CARMEN GARRIGA  URB MILAVILLE                                149 CALLE MORADILLA                                                                  SAN JUAN            PR           00926
          MARIA DEL CARMEN GONZALEZ
   298009 GAGOT                     REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN
   711119 HERNANDEZ PEREZ           RR 2 BOX 5342                                BO ARENAS                                                                            CIDRA               PR           00739
          MARIA DEL CARMEN JIMENEZ
   298010 PEREZ                     REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN LAMADRID
   711120 ZAMORA                    LOS FRAILES SUR                              E 7 CALLE VILLA FLORES                                                               GUAYNABO            PR           00969
          MARIA DEL CARMEN LLADO
   298011 MATOS                     REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN LOPEZ
   711121 CASTRO                    URB SAN AGUSTIN                              380 CALLE SODADO LIBRAN                                                              SAN JUAN            PR           00926
          MARIA DEL CARMEN MADERA
   298012 SANTOS                    REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN MANTANEZ
   298013 RIVERA                    REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   298014 MARIA DEL CARMEN MARQUEZ                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   711122 MARIA DEL CARMEN MARTINEZ P O BOX 21365                                                                                                                 SAN JUAN            PR           00928
          MARIA DEL CARMEN MARTINEZ
   298015 RIVERA                    REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN MAYSONET
   298016 TIRADO                    REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN MEDINA
   711123 RODRIGUEZ                 P O BOX 3502 SUITE 123                                                                                                        JUANA DIAZ          PR           00795
          MARIA DEL CARMEN MELENDEZ
   711124 GARCIA                    MIRAFLORES                               46‐6 CALLE 56                                                                        BAYAMON             PR           00957

   711125 MARIA DEL CARMEN MERCADO                    COMUNIDAD COCO II      SOLAR 397                                                                            SALINAS             PR           00751
          MARIA DEL CARMEN MERCADO
   298017 QUILES                                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN MERCADO
   298018 RIVERA                                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN MORALES
   711126 ALVAREZ                                     MONTE BRISAS           J 7 CALLE K                                                                          FAJARDO             PR           00738
                                                      5126 VALLE SAN JUAN
   711128 MARIA DEL CARMEN NIEVES                     ENCANTADA                                                                                                   TRUJILLO ALTO       PR           00976
          MARIA DEL CARMEN NOGUERAS
   298020 LAUREANO                  REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN NUNEZ
   298021 GONZALEZ                  REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN OJEDA
   298022 RODRIGUEZ                 REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN ORTIZ
   711129 BERMUDEZ                  HC 764 BOX 6871                                                                                                               PATILLAS            PR           00723
          MARIA DEL CARMEN ORTIZ
   711130 CONCEPCION                MAGUAYO                                  PARCELA 7                 2 CALLE MAYSONETTE                                         DORADO              PR           00646
          MARIA DEL CARMEN ORTIZ    54 BAKER ST 2ND FLOOR
   711131 MALDONADO                 HARTFORD                                                                                                                      CONNETTICUT         CT           00687
          MARIA DEL CARMEN ORTIZ
   298023 MILIAN                    REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN OTAL
   711133 SALAVERRI                 URB SANTA JUANA                          J 3 CALLE 12                                                                         CAGUAS              PR           00725
          MARIA DEL CARMEN PADIN
   710830 JIMENEZ                   HC 02 BOX 16386                                                                                                               ARECIBO             PR           00612
          MARIA DEL CARMEN PAGAN
   298024 GONZALEZ                  REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN PAGAN
   298025 MIRANDA                   REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN PEREZ
   711136 HUERTAS                   BO LAS GRANJAS 616                       CALLE GILBERTO VAZQUEZ                                                               VEGA BAJA           PR           00693
          MARIA DEL CARMEN PEREZ
   711137 ORTIZ                     HC 3 BOX 6933                                                                                                                 FLORIDA             PR           00650
          MARIA DEL CARMEN PEREZ
   711138 TIRADO                    URB VILLA CAROLINA                       186‐20 CALLE 518                                                                     CAROLINA            PR           00985

   298026 MARIA DEL CARMEN QUINONES REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          MARIA DEL CARMEN QUINTANA
   298027 ROMAN                                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN RAMOS
   711141 ORTIZ                                       BO VICTORIA            378 CALLE LIBERTAD                                                                    SAN JUAN            PR           00924
   297986 MARIA DEL CARMEN RIVERA                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN RIVERA
   298028 ALMODOVAR                                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN RIVERA
   298029 COSME                                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN RIVERA
   711143 CUEVAS                                      PO BOX 2959                                                                                                  ARECIBO             PR           00613
          MARIA DEL CARMEN RIVERA
   298030 MOLINA                                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN RIVERA
   298031 QUINTERO                                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN RIVERO
   711144 FERNANDEZ                                   VALLE REAL             1760 MARQUESA                                                                         PONCE               PR           00716
          MARIA DEL CARMEN ROBLES
   711145 RIVERA                                      HC 01 BOX 6764                                                                                               GUAYANILLA          PR           00656

   711147 MARIA DEL CARMEN RODRIGUEZ BOX 2416                                BO RABANAL                                                                            CIDRA               PR           00739
          MARIA DEL CARMEN RODRIGUEZ
   298033 CARABALLO                  REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN RODRIGUEZ
   711150 MARTINEZ                   URB VALLE TOLIMA                        J 16 CALLE MYRNA VAZQUEZ                                                              CAGUAS              PR           00727‐2340

   711151 MARIA DEL CARMEN ROIG ZAYAS URB LA ARBOLADA                        155 CALLE 13                                                                          SALINAS             PR           000751
          MARIA DEL CARMEN ROLON
   298034 MORALES                     REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN ROSA
   298035 COLON                       REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN ROSA
   298036 COLÓN                       REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN ROSADO
   711154 PEREZ                       P O BOX 128                                                                                                                  TOA ALTA            PR           00954
          MARIA DEL CARMEN ROSARIO
   711155 RODRIGUEZ                   ESQUINA SAN SEBASTIAN                  12 APTO B CALLE CRUZ                                                                  SAN JUAN            PR           00901
          MARIA DEL CARMEN SANCHEZ
   711156 ORTIZ                       PQUE MONTERREY I                       APT 305                                                                               PONCE               PR           00731

   711157 MARIA DEL CARMEN SANTIAGO                   PMB 635                PO BOX 1283                                                                           SAN LORENZO         PR           00754
          MARIA DEL CARMEN SANTIAGO
   298039 ALEJANDRO                                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN SOLANO
   298040 PANIAGUA                                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN SOSA
   711160 SANCHEZ                                     PO BOX 21365                                                                                                 SAN JUAN            PR           00928
          MARIA DEL CARMEN TORRENS
   711162 CALDERON                                    PO BOX 221                                                                                                   LUQUILLO            PR           00773
   711164 MARIA DEL CARMEN TORRES                     URB JARD DE TOA ALTA   24 CALLE 1                                                                            TOA ALTA            PR           00953
          MARIA DEL CARMEN TORRES
   298041 GARCIA                                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          MARIA DEL CARMEN TORRES
   711166 URBINA                                      PO BOX 335716                                                                                                   PONCE                PR           00733‐5716
          MARIA DEL CARMEN VALENTIN
   770716 TORRES                                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN VAZQUEZ
   711167 SANTIAGO                                    HC 3 BOX 31010                                                                                                  AGUADA               PR           00602
          MARIA DEL CARMEN VAZQUEZ
   711168 SERRANO                                     HC 02 BOX 6988                                                                                                  YABUCOA              PR           00767‐9503
   711169 MARIA DEL CARMEN VEGA                       BO SANDIN                  29 CALLE MARTE                                                                       VEGA BAJA            PR           00612
          MARIA DEL CARMEN VEGA DE
   711170 JESUS                                       HC 02 BOX 14008                                                                                                 GURABO               PR           00778

   298043 MARIA DEL CARMEN VEGA ORTIZ REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN VELEZ
   711172 /NAILEEN M BURGOS           BO JUAN SANCHEZ                            50 B C/ LOS BURGOS                                                                   BAYAMON              PR           00959

   711173 MARIA DEL CARMEN VELEZ SOTO PO BOX 29375                                                                                                                    SAN JUAN             PR           00929‐0375
          MARIA DEL CARMEN VIERA
   711174 TOLEDO                      URB VICTOR ROJAS I                         53 CALLE C ANTILLA                                                                   ARECIBO              PR           00612
          MARIA DEL CARMEN VIZCAINO
   298044 DE CASANOVA                 REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL CARMEN YANEZ
   298045 NAVARRETE                   REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711175 MARIA DEL CARMEN ZAPATA     VALLE HERMOSO                              CALLE PINO T‐25                                                                      HORMIGUERO           PR           00660

   711176 MARIA DEL CARMEN ZORRILLA                   VILLA NEVAREZ              354 AVE AMERICO MIRANDA                                                              SAN JUAN             PR           00927
   711177 MARIA DEL D ROBLES RIVERA                   URB ALTURA DE RIO GRANDE   AA7 CALLE 14                                                                         RIO GRANDE           PR           00745

   711178 MARIA DEL G RODRIGUEZ AMY                   P O BOX 890                                                                                                     LARES                PR           00669‐0890
          MARIA DEL L ADAMES
   298046 HERNANDEZ                                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL L DELGADO
   298047 FIGUEROA                                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711180 MARIA DEL L FONSECA SOTO                    URB LOMA ALTA              J 14 CALLE 9                                                                         CAROLINA             PR           00985
   298048 MARIA DEL L GARCIA                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL L OCASIO Y FELIPE C
   298049 HERNANDEZ                                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   298050 MARIA DEL L POMALES ANDINO REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   711184 MARIA DEL L RODRIGUEZ CRUZ                  HC 01 BOX 4678                                                                                                  VILLALBA             PR           00766
          MARIA DEL L RODRIGUEZ
   298051 HERNANDEZ                                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   711185 MARIA DEL L SANCHEZ ALVAREZ URB QUINTAS DE CAMPECHE                    502 CALLE FLAMBOYAN                                                                  CAROLINA             PR           00987

   298052 MARIA DEL L SANTIAGO RIVERA                 REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711186 MARIA DEL L TORRES TORRES                   HC 763 BOX 3360                                                                                                 PATILLAS             PR           00723

   711187 MARIA DEL L VILLANUEVA CRUZ HC 67 BOX 1335                                                                                                                  BAYAMON              PR           00960
   298053 MARIA DEL L. MALAVE VELEZ   LILLIAN OESTE AR‐48                                                                                                             TOA BAJA             PR           00949
          MARIA DEL LOURDES CUADRADO
   711189 SIERRA                      HC 04 BOX 12399                                                                                                                 HUMACAO              PR           00791



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          MARIA DEL LOURDES DIAZ
   298054 ROLDAN                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL M CINTRON
   298055 ALVARADO                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL M. ALVAREZ MONTES
   298057 M.D.                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   298058 MARIA DEL MAR ACOSTA RIVERA REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   298059 MARIA DEL MAR ALVAREZ LOPEZ REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL MAR CABRERA
   298061 MIRANDA                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   298062 MARIA DEL MAR CORDERO       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL MAR DELGADO
   298063 RODRIGUEZ                   REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   298064 MARIA DEL MAR GOTAY COLON REDACTED                         REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   298065 MARIA DEL MAR LOPEZ AQUINO REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL MAR QUINONES
   298066 ALOS                       REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL MAR RIVERA
   298067 BATALLA                    REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   298068 MARIA DEL MAR RIVERA CASTRO REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL MAR RIVERA
   298069 ESCRIBANO                   REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL MAR RODRIGUEZ
   298070 RODRIGUEZ                   REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   298071 MARIA DEL MAR TORRES        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   711193 MARIA DEL MAR VARGAS ORTIZ PO BOX 70                                                                                                         CAMUY                PR           00627

   298072 MARIA DEL MAR VAZQUEZ DIAZ                  REDACTED       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA DEL MAR VELAZQUEZ
   711194 PINOL                                       PO BOX 72                                                                                        VEGA BAJA            PR           00694
   711195 MARIA DEL MATER ONEILL                      MIRAMAR        557 CALLE TRIGO                                                                   SAN JUAN             PR           00907
   298073 MARIA DEL P ABREU GARAY                     REDACTED       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   711196 MARIA DEL P ACEVEDO ALVAREZ APARTADO 5449                                                                                                    SAN SEBASTIAN        PR           00685

   711197 MARIA DEL P AGUIRRE VAZQUEZ REPTO MONTELLANO               E38 CALLE A                                                                       CAYEY                PR           00736

   298074 MARIA DEL P CONCEPCION VELEZ REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711201 MARIA DEL P GARCIA           PO BOX 1466                                                                                                     COROZAL              PR           00783

   711202 MARIA DEL P GARCIA MARQUEZ URB GLENVIEW GARDENS            BU N3 CALLE W 22A                                                                 PONCE                PR           00731

   298075 MARIA DEL P GONZALEZ MUNOZ REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   298077 MARIA DEL P LUGO DELGADO   REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   711204 MARIA DEL P MORALES MEDINA HC 1 BOX 3433                                                                                                     ADJUNTAS             PR           00601‐9703
   298078 MARIA DEL P NEVAREZ SOLIS  REDACTED                        REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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   298079 MARIA DEL P PEREZ ESCRIBANO                 REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED               REDACTED     REDACTED      REDACTED
   711205 MARIA DEL P RIVERA BENITEZ                  EXT SAN LUIS              9 CALLE MILETO                                                                       AIBONITO               PR           00705
          MARIA DEL P RODRIGUEZ
   298080 FESHOLD                                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED               REDACTED     REDACTED      REDACTED
          MARIA DEL P RODRIGUEZ
   711207 GARCIA                                      URB JARDINES DEL CARIBE   GG 48 CALLE 36                                                                       PONCE                  PR           00731
          MARIA DEL P RODRIGUEZ
   711208 PADILLA                                     OCEAN PARK                2159 CALLE GEN PATTON                                                                SAN JUAN               PR           00913
   298081 MARIA DEL P SOTO AGUILAR                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED               REDACTED     REDACTED      REDACTED

   711211 MARIA DEL P VILLAMIL JARUATA TERRAZAS DE PARQUE ESCORIAL APTO 5509                                                                                         CAROLINA               PR           00987

   298082 MARIA DEL P. MARRERO COLON REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED               REDACTED     REDACTED      REDACTED

   298083 MARIA DEL P. UFRET VINCENTY                 REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED               REDACTED     REDACTED      REDACTED

   298085 MARIA DEL P. URQUIZA ROMAN REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED               REDACTED     REDACTED      REDACTED
   711214 MARIA DEL P. VAZQUEZ DIAZ  HP ‐ SALA 1 ALTO                                                                                                                RIO PIEDRAS            PR           009360000

  1256661 MARÍA DEL P. VÉLEZ CASANOVA REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED               REDACTED     REDACTED      REDACTED
          MARIA DEL PILAR ALONSO
   298086 SUAREZ                      REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED               REDACTED     REDACTED      REDACTED
          MARIA DEL PILAR ARGUELLES
   298087 MORALES                     REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED               REDACTED     REDACTED      REDACTED

   711216 MARIA DEL PILAR CARRASQUILLO PMB 220                                  PO BOX 4956                                                                          CAGUAS                 PR           00726
          MARIA DEL PILAR CARRERO
   298088 QUINONES                     REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED               REDACTED     REDACTED      REDACTED
          MARIA DEL PILAR CASTA
   298089 GONZALEZ                     REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED               REDACTED     REDACTED      REDACTED
   711217 MARIA DEL PILAR CHARNECO     APARTADO 50426                                                                                                                LEVITTOWN , TOA ALTA   PR           00952

   711218 MARIA DEL PILAR CRUZ PEREZ                  RES MARQUEZ ARBONA                                                                                             ARECIBO                PR           00612

   298090 MARIA DEL PILAR DIAZ PADRO                  REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED               REDACTED     REDACTED      REDACTED
   711219 MARIA DEL PILAR FERNANDEZ                   OCEAN PARK 2066           CALLE CACIQUE                                                                        SAN JUAN               PR           00911
   298092 MARIA DEL PILAR FIGUEROA                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED               REDACTED     REDACTED      REDACTED
          MARIA DEL PILAR FIGUEROA
   298093 LOPEZ                                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED               REDACTED     REDACTED      REDACTED

   711220 MARIA DEL PILAR FLORES PABON HC 2 BOX 16899                                                                                                                LAJAS                  PR           00667
          MARIA DEL PILAR GERENA
   298094 MELENDEZ                     REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED               REDACTED     REDACTED      REDACTED
          MARIA DEL PILAR HERNANDEZ
   711225 CARTEGENA                    URB SAN VICENTE                          255 CALLE 12                                                                         VEGA BAJA              PR           00693
   711226 MARIA DEL PILAR LEON REYES   PO BOX 1485                                                                                                                   CAYEY                  PR           00736
          MARIA DEL PILAR LLAVONA                                               1840 CALLE REINA DE LAS
   711227 LOPEZ                        URB SANTA MARIA                          FLORES                                                                               SAN JUAN               PR           00927

   298095 MARIA DEL PILAR MARIN LLOPIZ REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED               REDACTED     REDACTED      REDACTED
   709670 MARIA DEL PILAR MARRERO      URB. VILLARONGA #5                                                                                                            BARRANQUITAS           PR           00794




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          MARIA DEL PILAR MEDIN
   298101 MOLINA                                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL PILAR MILAN
   711228 NAZARIO                                     PARQUE SAN PATRICIO       CALLE EBANO APTO 902                                                              GUAYNABO            PR           00968
   298102 MARIA DEL PILAR MONTILLA                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   711230 MARIA DEL PILAR PEREZ RIVERA P O BOX 90                                                                                                                 TOA ALTA            PR           00953

   298103 MARIA DEL PILAR REYES LOPEZ                 REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   711231 MARIA DEL PILAR RIBAL ARAYA                 PO BOX 37606                                                                                                SAN JUAN            PR           00937
          MARIA DEL PILAR RIVERA
   298104 ROSADO                                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   298105 MARIA DEL PILAR RIVERA SOTO                 REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL PILAR RODRIGUEZ
   711232 GUZMAN                                      A 13 URB VISTA BELLA                                                                                        VILLALBA            PR           00766
          MARIA DEL PILAR RODRIGUEZ
   298106 QUINONEZ                                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298107 MARIA DEL PILAR SANTIAGO                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL PILAR SANTIAGO
   298108 MONSERRATE                                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298110 MARIA DEL PILAR SNCHEZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL PILAR SOTO
   711235 PACHECO                                     12 ENTRADA ARENAS                                                                                           JAYUYA              PR           00664
          MARIA DEL PILAR SPANOZ
   298111 SANTIAGO                                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711236 MARIA DEL PILAR TORRES                      HC 01 BOX 6234                                                                                              YAUCO               PR           00698
          MARIA DEL PILAR TORRES
   711239 RIVERA                                      URB MONACO 1              F 11 CALLE 4                                                                      MANATI              PR           00674
          MARIA DEL PILAR VELEZ
   298113 CASANOVA                                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DEL R ALVARADO
   711241 AGUIRRE                                     URB CIUDAD MASSO          F 1 50 CALLE 8                                                                    SAN LORENZO         PR           00754

   711247 MARIA DEL R GARCIA MIRANDA                  PO BOX 3263                                                                                                 SAN JUAN            PR           00902
   711249 MARIA DEL R GONZALEZ                        LADERAS DE PALMA REAL     W7 11 CALLE J BOSCAN                                                              SAN JUAN            PR           00926

   711250 MARIA DEL R GONZALEZ BEIRO                  URB JARDINES DE SALINAS   A 146                                                                             SALINAS             PR           00751
          MARIA DEL R HERNANDEZ
   711251 HERNANDEZ                                   P O BOX 243                                                                                                 JUNCOS              PR           00777
   298118 MARIA DEL R LOPEZ DIAZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   711253 MARIA DEL R LOZADA SANTANA URB LOIZA VALLEY                           A 37 CALLE GARDENIA                                                               CANOVANAS           PR           00729

   298120 MARIA DEL R OCASIO COLLAZO                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711257 MARIA DEL R PEREZ SIERRA                    HC 02 BOX 5875                                                                                              PENUELAS            PR           00624

   709666 MARIA DEL R PEREZ VELAZQUEZ URB START LIGHT                           4554 CALLE DERREB                                                                 PONCE               PR           00717
   298122 MARIA DEL R PONCE OCASIO    REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   298123 MARIA DEL R RAMOS GONZALEZ REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711258 MARIA DEL R RIVERA NATAL   P O BOX 335673                             ATOCHA                                                                            PONCE               PR           00733



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  711259 MARIA DEL R ROBLES CRUZ                      RES VISTA HERMOSA         EDIF 57 APT 689                                                                       SAN JUAN            PR         00921
  298124 MARIA DEL R RODRIGUEZ                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   298125 MARIA DEL R RODRIGUEZ RIVERA REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   711260 MARIA DEL R ROSA MALDONADO COOP EL ALCAZAR                            APT 105                                                                               SAN JUAN            PR         00924
   711263 MARIA DEL R SANTOS         BO BARRASA                                 HC 02 BOX 14624                                                                       CAROLINA            PR         00985‐9722
   711264 MARIA DEL R VAZQUEZ        HC 80 BOX 8815                                                                                                                   DORADO              PR         00646
   298126 MARIA DEL R. ALDEA ALDEA   REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711265 MARIA DEL R. MEDINA        URB LOMAS VERDES                           X59 CALLE CORALILLO                                                                   BAYAMON             PR         00956
          MARIA DEL R. RODRIGUEZ
   298127 ROHENA                     REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   298128 MARIA DEL ROCIO COSTA COLON REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIA DEL ROSARIO CARRERA
   298130 BERNABE                      REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIA DEL ROSARIO CINTRON
   298131 LUGO                         REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIA DEL ROSARIO COLON
   298132 RODRIGUEZ                    REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIA DEL ROSARIO FIGUEROA
   711267 RODRIGUEZ                    COND TORRES DE ANDALUCIA                 TORRE 1 APT 1105                                                                      SAN JUAN            PR         00926‐2424
          MARIA DEL ROSARIO FRATICELLI 79 CALLE MANUEL RODRIGUEZ
   711268 RESTO                        SERRA                                                                                                                          SAN JUAN            PR         00907‐2023
          MARIA DEL ROSARIO RAMOS
   711270 OCASIO                       PO BOX 293                                                                                                                     CIALES              PR         00638
   298133 MARIA DEL ROSARIO RIVERA     REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIA DEL ROSARIO ROSADO
   711271 LUGO                         URB VISTAS DEL MAR                       2209 CALLE MARIN                                                                      PONCE               PR         00716
   298135 MARIA DEL ROSARIO VELEZ      REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIA DEL ROSARIO VELEZ
   711272 RODRIGUEZ                    VILLA ANDALUCIA                          H9 CALLE BAILEN                                                                       SAN JUAN            PR         00926
   298136 MARIA DEL ROSARIO VIVENTE    REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711273 MARIA DEL S DIEPPA TORRES    URB MUNOZ RIVERA                         25 CALLE CRISALIDA                                                                    GUAYNABO            PR         00969
   298137 MARIA DEL S PENA SELVA       REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   298138 MARIA DEL S. POLANCO MUNOZ REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   711277 MARIA DEL S. VELAZQUEZ SOTO PO BOX 19175                                                                                                                    SAN JUAN            PR         00910
          MARIA DEL SOCORRO MARIN
   298139 LOPEZ                       REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   298141 MARIA DEL SOL RIVERA LLANOS                 REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298142 MARIA DEL VALLE ROSA                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298143 MARIA DELFAUS MOURE                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711280 MARIA DELGADO ALVAREZ                       RES LUIS LLORENS TORRES   EDIF 38 APT 782                                                                       SAN JUAN            PR         00913

   711281 MARIA DELGADO BOREA                         SECT ARENAS BO BUCARABONES CARR 819 KM 1 5                                                                      TOA ALTA            PR         00953
   711283 MARIA DELGADO FIGUEROA                      LOS LIRIOS                 EDIF 7 APT 113                                                                       SAN JUAN            PR         00907
   298144 MARIA DELGADO GUADALUPE                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711285 MARIA DELGADO RAMOS                         SAINT JUST                 319 SANTO DOMINGO                                                                    TRUJILLO ALTO       PR         00976

   711286 MARIA DELMARIS SUAREZ CRUZ URB RIO CRISTAL                            316 CALLE DOMINGO ACOSTA                                                              MAYAGUEZ            PR         00680‐1904



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   298145 MARIA DELOS R OYOLA RIVERA                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711288 MARIA DESANCHO                              1 GUSTAVE LEVY PL/BOX 3000                                                                                        NEW YORK            NY           10029

   711289 MARIA DESIREE AYALA VAZQUEZ URB VISTA BELLA                              T 2 CALLE LAREDO                                                                     BAYAMON             PR           00956

   711290 MARIA DIAZ AGUILAR                          HACIENDA JIMENEZ BOX 11715                                                                                        RIO GRANDE          PR           00745‐9610
   298148 MARIA DIAZ CHARRIEZ                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711291 MARIA DIAZ CLAUDIO                          HC 763 BOX 4309                                                                                                   PATILLAS            PR           00723
   298149 MARIA DIAZ COTTO                            REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298150 MARIA DIAZ DE JESUS                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298151 MARIA DIAZ DIAZ                             REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298152 MARIA DIAZ HEREDIA                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711292 MARIA DIAZ HIDALGO                          REPARTO METROPOLITANO        1252 CALLE 38 SE                                                                     SAN JUAN            PR           00921
   298153 MARIA DIAZ LOPEZ                            REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711293 MARIA DIAZ MARRERO                          URB METROPOLIS               DI 12 CALLE 5                                                                        CAROLINA            PR           00987
   298154 MARIA DIAZ MORALES                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298155 MARIA DIAZ MUNOZ                            REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298156 MARIA DIAZ OLMO                             REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298157 MARIA DIAZ RIVERA                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298158 MARIA DIAZ RODRIGUEZ                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711295 MARIA DIAZ ROSA                             PMB HC 1 BOX 29030                                                                                                CAGUAS              PR           00725‐8900
   711296 MARIA DIAZ ROSAS                            10 REPTO LAS DELICIAS                                                                                             HORMIGUEROS         PR           00660
   711297 MARIA DIAZ SOTO                             HC 4 BOX 8686                                                                                                     AGUAS BUENAS        PR           00703
   298161 MARIA DOLORES BERTOLIZ                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298162 MARIA DOLORES BODEGA                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298163 MARIA DOLORES CORREA                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DOLORES CRUZ
   711301 MENDOZA                                     URB EL PLANTIO D 27          CALLE CAOBA                                                                          TOA BAJA            PR           00949
   298164 MARIA DOLORES DONATO                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DOLORES FIGUEROA
   298165 RAMOS                                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711302 MARIA DOLORES INC                           HC 67 BOX 88                                                                                                      BAYAMON             PR           00956
                                                      MAGNOLIA GARDENS T‐13
   298166 MARIA DOLORES INC.                          CALLE 7                                                                                                           BAYAMON             PR           00956‐0000

   711303 MARIA DOLORES LOPEZ LEON                    232 AVE ELEONOR ROOSEVELT                                                                                         SAN JUAN            PR           00907
          MARIA DOLORES LUGO
   298167 QUINONES                                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DOLORES PEDRO
   711304 TORRIENTE                                   305 CALLE JESUS TIZOL        APTO 3 B                                                                             SAN JUAN            PR           00907
   711305 MARIA DOLORES RIVERA                        EL TORITO                    6 CALLE D‐28                                                                         CAYEY               PR           00736
          MARIA DOLORES RONDON /
   711306 DOLLMARIE ADORNO                            VILLAS SAN ANTON             AH Q 5 LEOPOLDO JIMENEZ                                                              CAROLINA            PR           00987

   298168 MARIA DOLORES SANCHEZ CARO REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA DOLORESMELENDEZ
   298170 SANTIAGO                   REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711309 MARIA DUARTE GONZALEZ      HP ‐ SALA 2 ALTOS                             SALA: 5 ALTO                                                                         RIO PIEDRAS         PR           00936‐0000
   711310 MARIA DUBNER NEGRONI       610 JARD DE MONTEHIEDRA                                                                                                            SAN JUAN            PR           00936

   711315 MARIA E ACEVEDO HERNANDEZ 213 MONTICELLO AVE                                                                                                                  JERSEY CITY         NJ           07304
   298172 MARIA E ACEVEDO REYES     REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  711316 MARIA E ADORNO TERRON                        HC 02 BOX 8229                                                                                          CAMUY               PR         00627
  298173 MARIA E ALBINO FIGUEROA                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  711319 MARIA E ALEJANDRO ORTIZ                      URB STA ISIDRA II     124 CALLE 7                                                                       FAJARDO             PR         00738
  298174 MARIA E ALTRECHE BERNAL                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  298175 MARIA E ALVARADO ROURA                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  298176 MARIA E ALVAREZ BRILLON                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   298177 MARIA E ALZOLA DE CATHIARD                  REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711323 MARIA E AMADOR                              URB HERMANAS DAVILA   L 33 CALLE 5                                                                      BAYAMON             PR         00959
   298178 MARIA E AMBERT LEFEBRE                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIA E ANDINO / JIMMY O
   711324 MOJICA                                      BUENA VISTA           79 CALLE LIRIO                                                                    CAROLINA            PR         00979
   711325 MARIA E ANESES BOCANEGRA                    PO BOX 197                                                                                              ISABELA             PR         00662
   298180 MARIA E ARCE MOJICA                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298181 MARIA E ARROYO ORTIZ                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298182 MARIA E ARROYO RAMOS                        REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298183 MARIA E AYALA GONZALEZ                      REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298184 MARIA E AYALA PONCE                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298185 MARIA E AYENDE MARTINEZ                     REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711330 MARIA E BAEZ RIVERA                         BOX 5062                                                                                                CIDRA               PR         00739
   298186 MARIA E BALAGUER ROSADO                     REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711331 MARIA E BARRIS ORTIZ                        PO BOX 507                                                                                              NAGUABO             PR         00718
   298187 MARIA E BASORA RIVERA                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298188 MARIA E BAUZO                               REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298189 MARIA E BELLIARD ESPINAL                    REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711332 MARIA E BENITEZ RODRIGUEZ                   EXT ALAMEDA 69        CALLE DE                                                                          SAN JUAN            PR         00926

   298190 MARIA E BERMUDEZ PORTELA                    REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298191 MARIA E BERRIOS ROLON                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711334 MARIA E BIDOT                               VILLA NEVAREZ         323 CALLE 20                                                                      SAN JUAN            PR         00927
   711335 MARIA E BOCACHICA VEGA                      BOX 277                                                                                                 VILLALBA            PR         00766
   711336 MARIA E BONET RUIZ                          BO PUNTAS             HC 1 BOX 4999                                                                     RINCON              PR         00677
   711337 MARIA E BORIA DELGADO                       P O BOX 24                                                                                              LOIZA               PR         00772
   298192 MARIA E BRAVO PARES                         REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711338 MARIA E BURGOS SANTIAGO                     URB PUERTO NUEVO      509 CALLE ANTARTICO                                                               SAN JUAN            PR         00920
   298193 MARIA E BUSCAGLIA                           REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711340 MARIA E CABA                                HC 73 BOX 4760                                                                                          NARANJITO           PR         007199608.
   298194 MARIA E CABAN                               REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711341 MARIA E CABAN PADIN                         JARDINES DE ARECIBO   34 CALLE PP                                                                       ARECIBO             PR         00612
   298195 MARIA E CABRERA                             REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298196 MARIA E CABRERA PEREZ                       REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   298197 MARIA E CALDERON MORALES                    REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   711343 MARIA E CAMACHO RODRIGUEZ HC 01 BOX 23639                                                                                                           CAGUAS              PR         00725‐8920
   298198 MARIA E CAMPOS MARQUEZ    REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   711346 MARIA E CANDELARIO MARTINEZ PO BOX 469                                                                                                              GUANICA             PR         00653
   711347 MARIA E CARABALLO           PO BOX 9055                                                                                                             CANOVANAS           PR         00745

   711348 MARIA E CARABALLO ROSARIO                   HC 4 BOX 10429                                                                                          RIO GRANDE          PR         00745
   298199 MARIA E CARABALLO TORRES                    REDACTED              REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711350 MARIA E CARPIO BALTAZAR                     PO BOX 5136                                                                                             AGUADILLA           PR         00605‐5136



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  711351 MARIA E CARRASQUILLO                         BO LA CENTRAL               PARC 466 CALLE 1                                                                     CANOVANAS         PR           00729
  711352 MARIA E CARRERO ORSINI                       BO MANI                     3008 CALLE ALCATRAZ                                                                  MAYAGUEZ          PR           00682

   711354 MARIA E CARTAGENA MARTINEZ BUENA VISTA SUR SECTOR LA 4                                                                                                       CAYEY             PR           00736

   711355 MARIA E CARTAGENA SANTIAGO FOREST HILLS                                 B 25 C/ PESQUERA                                                                     BAYAMON           PR           00959
                                     ALTURAS DEL REMANSO L‐5
   711356 MARIA E CASERO CORTES      CALLE‐5                                                                                                                           SAN JUAN          PR           00926
   711357 MARIA E CASILLA PEREZ      PO BOX 1544                                                                                                                       LAS PIEDRAS       PR           00771
   711358 MARIA E CASTRO GARRIGA     HC 4 BOX 50054                                                                                                                    CAGUAS            PR           00725‐9648
   711359 MARIA E CASTRO GONZALEZ    PO BOX 962                                                                                                                        JUNCOS            PR           00777
   711360 MARIA E CASTRO OYOLA       PO BOX 270                                                                                                                        SAINT JUST        PR           00978
   711361 MARIA E CENTENO RAMOS      URB EXT ROSEVILLE                            100 DR 16                                                                            SAN JUAN          PR           00926
   711362 MARIA E CEPEDA ESCOBAR     URB VILLA ANGELINA                           CALLE 1 PARCELAS 193                                                                 LUQUILLO          PR           00773

   298200 MARIA E CESAREO RODRIGUEZ                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   711363 MARIA E CHAVES                              URB LA ENCANTADA            LD 70 LA ANTIGUA                                                                     TRUJILLO ALTO     PR           00976
   711365 MARIA E CINTRON TORRES                      RR 02 BOX 8284                                                                                                   TOA ALTA          PR           00953
                                                      COND MONTERRY ESTATES APT C
   711366 MARIA E CLASS                               11                                                                                                               CAROLINA          PR           00979
          MARIA E CLAUDIO BERENGER &
   711367 BA FOOD TO GO                               6 CALLE BEVERLY                                                                                                  GUANICA           PR           00653
   298201 MARIA E CLAUDIO GARCIA                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   298202 MARIA E COLLAZO ALICEA                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   711369 MARIA E COLON DE JESUS                      HC 1 BOX 5401                                                                                                    ARECIBO           PR           00688
   711372 MARIA E COLON PAGAN                         CANDELARIA                  CARR 146 KM 19 7                                                                     CIALES            PR           00638
   711374 MARIA E COLON SOTO                          URB REPARTO ROBLES          A 75 CALLE ESMERALDA 13                                                              AIBONITO          PR           00705
   298203 MARIA E CONCEPCION                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   711377 MARIA E CORCHADO                            BO PUEBLO NUEVO             CALLE 6 A BOX 8                                                                      VEGA BAJA         PR           00693
   711378 MARIA E CORTES SOTO                         SAN JOSE                    319 CALLE ALMEDEN INT                                                                SAN JUAN          PR           00923
   711379 MARIA E COSME LOZADA                        P O BOX 1656                                                                                                     COROZAL           PR           00783
   711380 MARIA E COSME PEREZ                         719 GOLDEN SUNSHINE CIR                                                                                          ORLANDO           FL           32807
   298205 MARIA E COTTO                               REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   298206 MARIA E COTTO AVILES                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   298207 MARIA E COTTO FERNANDEZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   711384 MARIA E COTTO QUILES                        HC 71 BOX 3512                                                                                                   NARANJITO         PR           00719
   711385 MARIA E CRESPO MERCADO                      PO BOX 384                                                                                                       VEGA ALTA         PR           00692
   711386 MARIA E CRESPO SANTIAGO                     JARDINES DE MOCACO 1        B 26 TRINA PADILLA                                                                   MANATI            PR           00674
   711387 MARIA E CRUZ                                BOX 148                                                                                                          SABANA HOYOS      PR           00688
   298208 MARIA E CRUZ AYALA                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   711388 MARIA E CRUZ COLLAZO                        PO BOX 150                                                                                                       SALINAS           PR           00751
   298209 MARIA E CRUZ COSME                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   298210 MARIA E CRUZ HERNANDEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   298211 MARIA E CRUZ PAGAN                          REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   711390 MARIA E CRUZ ROBLES                         P O BOX 4040                MSC 449                                                                              JUNCOS            PR           00777
   298212 MARIA E CRUZ RUIZ                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   298213 MARIA E CRUZ SANABRIA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   711392 MARIA E CRUZADO CINTRON                     RR 01 BOX 16108                                                                                                  TOA ALTA          PR           00953
   298214 MARIA E CUELLO DE MEDINA                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   298215 MARIA E DAVILA                              REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   711395 MARIA E DAVILA CARLOS                       REINA MORA                  61 SABANERA                                                                          DORADO            PR           00646
   298216 MARIA E DEL VALLE                           REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED




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MML ID               NAME                                         ADDRESS 1                  ADDRESS 2                    ADDRESS 3                           ADDRESS 4              CITY          STATE   POSTAL CODE        COUNTRY
          MARIA E DELGADO Y ROSA
   298217 TORRES CRUZ                                 REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      URB EL CEREZAL 1678 CALLE
   711397 MARIA E DIAZ CUADRADO                       INDO                                                                                                                SAN JUAN            PR           00926
   711398 MARIA E DIAZ DAVILA                         VILLA VICTORIA              Q 20 CALLE 11                                                                           CAGUAS              PR           00725
   298218 MARIA E DIAZ RAMOS                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298219 MARIA E DIAZ RIVERA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298220 MARIA E DOMINGUEZ PEREZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA E DOMINGUEZ
   711400 RODRIGUEZ                                   URB SAVANNAH REAL           251 PASEO ANDALUZ                                                                       SAN LORENZO         PR           00754
   298221 MARIA E DUENO BERRIOS                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA E ENCARNACION
   298222 SANTIAGO                                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298223 MARIA E ENRIQUEZ SANCHEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298224 MARIA E F FELICIANO TORRES                  REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711404 MARIA E FARIA SERRANO                       URB LAS PALMAS              B 1 CALLE MARFIL                                                                        HATILLO             PR           00659
   298225 MARIA E FAVALE GALARZA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711405 MARIA E FEBRES GONZALEZ                     URB EL DUQUE                28 LOS MAESTROS                                                                         NAGUABO             PR           00718
          MARIA E FERNANDEZ
   711407 RODRIGUEZ                                   1830 S.W.                   112 TERRACE                                                                             MIRAMAR             FL           33025

   298226 MARIA E FERNANDEZ TAMAYO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711408 MARIA E FERREIRA SANCHEZ                    4TA SECC LEVITTOWN          PO BOX 50664                                                                            TOA BAJA            PR           00950
   711409 MARIA E FIGUEROA CRUZ                       EXT CAMPO ALEGRE            F2 CALLE 16                                                                             BAYAMON             PR           00956

   711410 MARIA E FIGUEROA MARTINEZ                   COND MUNDO FELIZ            APT 1511                                                                                CAROLINA            PR           009798
   711411 MARIA E FIGUEROA NIEVES                     HC 4 BOX 8126                                                                                                       COMERIO             PR           00782
   711413 MARIA E FIGUEROA RIVERA                     P O BOX 199                                                                                                         LA PLATA            PR           00786

   711414 MARIA E FIGUEROA RODRIGUEZ                  BOX 5289                                                                                                            CIDRA               PR           00739
   711415 MARIA E FLORES GONZALEZ                     PO BOX 223                                                                                                          CIDRA               PR           00739
   711417 MARIA E FLORES RIVERA                       2988 CALLE ADORACION                                                                                                ISABELA             PR           00662
   711418 MARIA E FLORES TORRES                       BO BAYAMON CERTENJAS II     RR 2 BOX 7066                                                                           CIDRA               PR           00739
   711421 MARIA E GALARZA OCASIO                      REXVILLE                    BH 4 CALLE 34                                                                           BAYAMON             PR           00957‐4140
   711422 MARIA E GARCIA                              PO BOX 9047                                                                                                         SAN JUAN            PR           00908
   711424 MARIA E GARCIA DE JESUS                     CALLE AZABACHE              D 2 LA PLATA                                                                            CAYEY               PR           00736
   298229 MARIA E GARCIA MARTINO                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711311 MARIA E GARCIA PEREZ                        HC 02 BOX 6883                                                                                                      FLORIDA             PR           00650‐9106
   711426 MARIA E GARCIA RODRIGUEZ                    HC 30 BOX 31069                                                                                                     SAN LORENZO         PR           00754
   711427 MARIA E GARCIA RUIZ                         HC 58 BOX 14876                                                                                                     AGUADA              PR           00602
                                                                                  E 6 CALLE ESTACION SECT EL
   711428 MARIA E GARCIA VELAZQUEZ                    BDA SAN ANTONIO             CANO                                                                                    DORADO              PR           00646
   711429 MARIA E GERMOSO REYNOSO                     URB LA CIMA                 CM 1 CALLE VIA SUR                                                                      TRUJILLO ALTO       PR           00976
   711430 MARIA E GOMEZ LEON                          COLINAS DE MONTECARLOS      D 17 CALLE 37                                                                           SAN JUAN            PR           00924
   298232 MARIA E GOMILA ROHENA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298233 MARIA E GONELL REGALADO                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711431 MARIA E GONZALEZ                            RES LAS GLADIOLAS           EDIF 301 APT 702                                                                        SAN JUAN            PR           00917
          MARIA E GONZALEZ / LORELYS A
   711432 MOJENA                                      303 PDA 25 CALLE APONTE                                                                                             SAN JUAN            PR           00912

   298235 MARIA E GONZALEZ CARRILLO                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711433 MARIA E GONZALEZ CASILLAS                   HC 01 BOX 8062                                                                                                      LAS PIEDRAS         PR           00771
   298236 MARIA E GONZALEZ COLON                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  298237 MARIA E GONZALEZ CUEVAS                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   298238 MARIA E GONZALEZ GONZALEZ                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   298239 MARIA E GONZALEZ GORDIAN                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   298240 MARIA E GONZALEZ LARRIUZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   298241 MARIA E GONZALEZ ORTIZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   711437 MARIA E GONZALEZ RIVERA                     HC 01 BZN 8155                                                                                                   MARICAO              PR         00606
   711440 MARIA E GONZALEZ ROSADO                     PO BOX 706                                                                                                       MOROVIS              PR         00687
   298242 MARIA E GONZALEZ SANTOS                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   298243 MARIA E GONZALEZ VEGA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   711441 MARIA E GUERRA MILLAN                       URB ENTRERIOS               121 PLAZA SERENA                                                                     TRUJILLO ALTO        PR         00976
   711442 MARIA E GUZMAN                              535 CARR RIO HONDO                                                                                               MAYAGUEZ             PR         00680
   711443 MARIA E GUZMAN FIGUEROA                     HC 9 BOX 61378                                                                                                   CAGUAS               PR         00725
   711446 MARIA E HERNANDEZ                           HC 2 BOX 15452                                                                                                   CAROLINA             PR         00987

   711448 MARIA E HERNANDEZ BORGES                    RES MANUEL ROMAN ADAMES     EDF 1 APT 2                                                                          CAMUY PR             PR         00627
          MARIA E HERNANDEZ
   298246 FERNANDEZ                                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARIA E HERNANDEZ
   711449 HERNANDEZ                                   112 CALLE RIO CIBEO                                                                                              VEGA BAJA            PR         00693

   298247 MARIA E HERNANDEZ HUERTAS                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   711451 MARIA E HERNANDEZ MEDINA                    TERRAZAS DE GUAYNABO        J 3 PASCUA                                                                           GUAYNABO             PR         00969

   298248 MARIA E HERNANDEZ MORALES REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   711452 MARIA E HERNANDEZ RIVERA  BO MANI                                       451 CALLE JUAN ROCHE                                                                 MAYAGUEZ             PR         00680
   711454 MARIA E HERRERA TORRES    CAPARRA TERRACE                               SO 1620 CALLE 2                                                                      SAN JUAN             PR         00921

   711455 MARIA E HIDALGO CARBONELL                   PO BOX 9023023                                                                                                   SAN JUAN             PR         00902‐3023
   298249 MARIA E HORNEDO BRACERO                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   711457 MARIA E IRIZARRY FLORES                     URB VILLAS DE SAN AGUSTIN   E15 CALLE 5                                                                          BAYAMON              PR         00956
   711458 MARIA E IRIZARRY MORALES                    VILLA PRADES                575 JULIO C ARTEAGA                                                                  SAN JUAN             PR         00924‐2103
   298250 MARIA E IRIZARRY RUIZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARIA E JAVIER / XIOMARA
   298251 CARABALLO                                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   711460 MARIA E JAVIER REYES                        COND PARQUE DE MONACILLOS   APT 903 ALTAMESA                                                                     SAN JUAN             PR         00921
   298252 MARIA E JIMENEZ GONZALEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   298253 MARIA E JIMENEZ SANTIAGO                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   711461 MARIA E JOGLAR SUAREZ                       PO BOX 9021265                                                                                                   SAN JUAN             PR         00902‐1265
   298254 MARIA E JUARBE BOTELLA                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   298255 MARIA E JUSTINIANO GARCIA                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   711462 MARIA E KERCADO ROBLES                      URB ESTANCIAS DE YAUCO      I 20 CALLE TURQUESA                                                                  YAUCO                PR         00698‐2806
   711463 MARIA E LASALLE MALAVE                      HC 44 BOX 12951                                                                                                  CAYEY                PR         00736
   298256 MARIA E LATORRE ECHENDIA                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   298257 MARIA E LATORRE VILLANUEVA                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   298258 MARIA E LAUREANO PENA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   711464 MARIA E LEBRON ROBERTO                      HC 00863 BOX 15811          PARCELAS LUIS M CINTRON                                                              FAJARDO              PR         00738

   711465 MARIA E LINARES PAGAN                       232 AVE ELEONOR ROOSEVELT                                                                                        SAN JUAN             PR         00907
   711466 MARIA E LISBOA LEBRON                       PO BOX 60401                                                                                                     AGUADA               PR         00604



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  298259 MARIA E LOPEZ HERNANDEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  711470 MARIA E LOPEZ LOPEZ                          PO BOX 21635                                                                                                      SAN JUAN          PR         00928
  298261 MARIA E LOPEZ PEREZ                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  298262 MARIA E LOPEZ RAMOS                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  711471 MARIA E LOPEZ RUBERO                         COOP TORRES DE CAROLINA     EDIF B APT 510                                                                        CAROLINA          PR         00979
  711472 MARIA E LOPEZ SANTIAGO                       PO BOX 393                                                                                                        VILLALBA          PR         00766
  711473 MARIA E LUCIANO COLON                        HC 03 BOX 12227                                                                                                   CAROLINA          PR         00987
  298263 MARIA E LUCIANO FERRER                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  711475 MARIA E MACHIN OCASIO                        P O BOX 1284                                                                                                      SAN LORENZO       PR         00754

   298264 MARIA E MADERA CARBALLEIRA REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   711476 MARIA E MADRID GUZMAN                       COND PONCE DE LEON GARDENS VILLA CAPARRA APT 703                                                                  GUAYNABO          PR         00966
   711477 MARIA E MALAVE CRUZ                         HC 67 BOX 15591                                                                                                   FAJARDO           PR         00738
   711478 MARIA E MALAVE RIVERA                       E 11 URB LAS MARIAS                                                                                               SALINAS           PR         00751

   298265 MARIA E MALDONADO OCASIO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   298266 MARIA E MALDONADO RAMOS                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARIA E MALDONADO
   298267 RODRIGUEZ                                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   298268 MARIA E MALDONADO SIERRA                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   298269 MARIA E MANGUAL CARABALLO REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298270 MARIA E MANGUAL FLORES    REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298271 MARIA E MARIANI MUTT      REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   711481 MARIA E MARQUEZ CORDERO                     COND PARQUE TERRALINDA      BOX 2203                                                                              TRUJILLO ALTO     PR         00976
   298272 MARIA E MARRERO NAVARRO                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   711483 MARIA E MARRERO ROSARIO                     232 AVE ELEANOR ROOSEVELT                                                                                         SAN JUAN          PR         00907
   711484 MARIA E MARTIN                              1097 CALLE 15                                                                                                     SAN JUAN          PR         00927
   298274 MARIA E MARTINEZ DIAZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   711486 MARIA E MARTINEZ FORTY                      ROSA MARIA                  C 9 CALLE 3                                                                           CAROLINA          PR         00985

   711487 MARIA E MARTINEZ GONZALEZ                   P M B 2 BOX 819                                                                                                   LARES             PR         00669
   298275 MARIA E MARTINEZ HIDALGO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   711488 MARIA E MARTINEZ MEJIAS                     HC 03 BOX 38008                                                                                                   CAGUAS            PR         00725
   711489 MARIA E MARTINEZ MULKAY                     COND DORAL PLAZA APT 10A                                                                                          GUAYNABO          PR         00966
   711490 MARIA E MARTINEZ PINTO                      1519 PONCE DE LEON AVE      FIRST BANK BUILDING        SUITE 720                                                  SANTURCE          PR         00909‐1718
   711492 MARIA E MASSAS                              EXT LOS TAMARINDOS          B 1 CALLE 9                                                                           SAN LORENZO       PR         00754
   711493 MARIA E MATARRITA                           URB VILLA MAGNA             1827 CALLE 6 SO                                                                       SAN JUAN          PR         00921
   298276 MARIA E MEDINA PEREZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   711495 MARIA E MELENDEZ RIVERA                     URB GARCIA MILAVILLE        36 CALLE D                                                                            SAN JUAN          PR         00926
   298277 MARIA E MELENDEZ TORRES                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   711498 MARIA E MERCADO ALAMEDA                     URB PARQUEZ REAL            14 CALLE SAFIRO                                                                       LAJAS             PR         00667
   711499 MARIA E MERCADO GARCIA                      BO LEQUILLOW                BOX 732                                                                               VIEQUES           PR         00765

   711500 MARIA E MERCADO MARTINEZ                    EDIF MANUEL COLON           50 CALLE BORINQUEN APT 1207                                                           AGUADILLA         PR         00603
   298279 MARIA E MERCED                              REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298280 MARIA E MILLET VIDOT                        REDACTED                    REDACTED                    REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   711501 MARIA E MIRANDA ESPADA                      48 CALLE JUAN COLON LOPEZ                                                                                         COAMO             PR         00769



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MML ID              NAME                                        ADDRESS 1                     ADDRESS 2                    ADDRESS 3                           ADDRESS 4            CITY         STATE    POSTAL CODE       COUNTRY
  298281 MARIA E MIRANDA MARTINEZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  711502 MARIA E MOLINA COLON                         URB VIRGINIA VALLEY           605 VALLE VERDE                                                                        JUNCOS             PR         00777
  709673 MARIA E MOLINA OCASIO                        PO BOX 1465                                                                                                          VEGA ALTA          PR         00692 1465
  298282 MARIA E MONTALBAN                            REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   298283 MARIA E MONTALVO GONZALEZ REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   711504 MARIA E MONTERO RODRIGUEZ PO BOX 1534                                                                                                                            CAGUAS             PR         00726‐1534
   298284 MARIA E MORALES BAEZ      REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   709671 MARIA E MORALES GONZALEZ                    URB VILLA FONTANA             VL 9 VIA 24                                                                            CAROLINA           PR         00983
   711506 MARIA E MORALES ORTIZ                       PO BOX 2137                                                                                                          CAYEY              PR         00737
   711507 MARIA E MORALES ROSARIO                     TORRECILLAS                   46 CALLE 12                                                                            MOROVIS            PR         00687
   711508 MARIA E MORALES SANTIAGO                    BOX 469                                                                                                              NARANJITO          PR         00719
   711509 MARIA E MORALES VELEZ                       HC 2 BOX 18322                                                                                                       LAJAS              PR         00667
   711510 MARIA E MOREIRA FIGUEROA                    HC 01 BZN 8283                                                                                                       LUQUILLO           PR         00773
   298285 MARIA E MUNIZ TORRES                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   298286 MARIA E MUNOZ                               REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      URB BONNEVILLE TERRACE J 10
   711512 MARIA E MUNOZ DIAZ                          CALLE 6                                                                                                              CAGUAS             PR         00725
   298287 MARIA E MUNOZ HERNANDEZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   711312 MARIA E MUZARIETA SANCHEZ CONDADO                                         1452 AVE ASHFORD                                                                       SAN JUAN           PR         00907
   298288 MARIA E NAVARRO BERNARD    REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   711513 MARIA E NEGRON GONZALEZ    BO OJO DE AGUA                                 74 CALLE CRISANTEMO                                                                    VEGA BAJA          PR         00693
          MARIA E NEGRON/ JOSE RAMON
   298289 BURGOS                     REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   298290 MARIA E NIETO PINOL        REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   298291 MARIA E NIEVES FONTAN      REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   298292 MARIA E NIEVES FRESSE      REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   711515 MARIA E NIEVES GONZALEZ    P O BOX                                                                                                                               PUNTA SANTIAGO     PR         00741‐0030
   711516 MARIA E NIEVES NIEVES      BO ARENAS CARR 690                                                                                                                    VEGA BAJA          PR         00693
   711517 MARIA E NIEVES SANTIAGO    HC 73 BOX 4230                                                                                                                        NARANJITO          PR         00719
   711518 MARIA E NIEVES SOTO        PO BOX 282                                                                                                                            SAN SEBASTIAN      PR         00685‐0282
   298294 MARIA E OCASIO CASTRO      REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   711522 MARIA E OJEDA ORTIZ        CALLE D NUM 14 SAN JOSE                                                                                                               SAN JUAN           PR         00674
                                     FOREST VIEW D 123 CALLE
   711524 MARIA E OLMEDO             DAKAR                                                                                                                                 BAYAMON            PR         00956
   711525 MARIA E ORTEGA GALINDEZ    BO CANTERAS                                                          164                                                              MANATI             PR         00674
   711526 MARIA E ORTIZ COLLAZO      PO BOX 9102                                                                                                                           HUMACAO            PR         00792
   711527 MARIA E ORTIZ HERNANDEZ    CAPARRA TERRACE                                1157 CALLE 16 SE                                                                       SAN JUAN           PR         00921
   298295 MARIA E ORTIZ LANZO        REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   711528 MARIA E ORTIZ MADERA       HC 01 BOX 5160                                                                                                                        TOA BAJA           PR         00949‐9701
   711529 MARIA E ORTIZ MARTINEZ     URB FOREST VIEW L 53                           CALLE GUATEMALA                                                                        BAYAMON            PR         00956
   711530 MARIA E ORTIZ MERCED       PO BOX 5225                                                                                                                           VEGA ALTA          PR         00692
   298296 MARIA E ORTIZ MUNOZ        REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   711531 MARIA E ORTIZ NARVAEZ      106 LA PERLA                                                                                                                          SAN JUAN           PR         00901‐1163
   711532 MARIA E ORTIZ OTERO        VENUS GARDENS                                  A‐48 CALLE VIRGO                                                                       SAN JUAN           PR         00926
   298297 MARIA E ORTIZ RAMOS        REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   298298 MARIA E ORTIZ RUIZ         REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   711534 MARIA E ORTIZ TORRES       PO BOX 819                                                                                                                            VILLALBA           PR         00766
   298299 MARIA E OTANO CUEVA        REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   711535 MARIA E PABON BORGES       LOS COLOBOS PARK                               106 CALLE ALMENDRO                                                                     CAROLINA           PR         00987



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          MARIA E PABON Y FUNERARIA
   711536 BARRANQUITAS                                URB SAN CRISTOBAL            7 A CALLE 4D                                                                        BARRANQUITAS        PR           00794

   298300 MARIA E PADILLA ECHEVARRIA                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      386 CALLE 21 SECTOR VILLA
   711537 MARIA E PADILLA GONZALEZ                    PALMAS                       PUERTO                                                                              DORADO              PR           00646
   298301 MARIA E PADILLA SANTOS                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711538 MARIA E PADRO LAUREANO                      P O BOX 171                                                                                                      RIO BLANCO          PR           00744
   711539 MARIA E PAGAN                               PROYECTO GALATEO             P 9 CALLE 9                                                                         RIO GRANDE          PR           00745
   298302 MARIA E PAGAN PESA                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298303 MARIA E PALAU CRESPO                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711542 MARIA E PANELLI TORRES                      PO BOX 360235                                                                                                    SAN JUAN            PR           00936‐0235
          MARIA E PASTRANA Y DAVID
   298304 VALENTIN                                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711544 MARIA E PEDRAZA                             1019 CALLE SOFIA DANOIS                                                                                          CEIBA               PR           00735
   298305 MARIA E PENA                                REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711546 MARIA E PERALES GUZMAN                      EXT EL VERDE                 84 CALLE MERCURIO                                                                   CAGUAS              PR           00725
   711547 MARIA E PERALTA RIVERA                      COOP ROLLING HILLS           APT G4 BZN 29                                                                       CAROLINA            PR           00987
   298306 MARIA E PEREZ                               REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711548 MARIA E PEREZ AVILES                        EST DE CERRO GORDO           F 3 CALLE 2                                                                         BAYAMON             PR           00956
   711549 MARIA E PEREZ ESTREMERA                     HC 01 BOX 3424                                                                                                   CAMUY               PR           00627

   711550 MARIA E PEREZ FALU                          2 D B4 1373 WASHINGTON AVE                                                                                       NEW YORK            NY           10456
   711552 MARIA E PEREZ GRAU                          ALTAMIRA                     585 CALLE CENTENO                                                                   SAN JUAN            PR           00920
   711553 MARIA E PEREZ MEDINA                        URB EL VIVERO                D 11 CALLE 1                                                                        GURABO              PR           00778
   711554 MARIA E PEREZ RIVERA                        INTERAMERICANA               EDIF A 6 APTO 4 B                                                                   TRUJILLO ALTO       PR           00976
   298307 MARIA E PEREZ RODRIGUEZ                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711555 MARIA E PEREZ VAZQUEZ                       P O BOX 192                                                                                                      BARCELONETA         PR           00617
   711556 MARIA E PIERESCHI AYALA                     PO BOX 1730                                                                                                      AGUADILLA           PR           00605
   711558 MARIA E PINTO                               COM LA DOLORES               263 CALLE COLOMBIA                                                                  RIO GRANDE          PR           00745
   711559 MARIA E PONCE DE LEON                       BDA LA CARIDAD               5C CALLE SAN JOSE                                                                   BAYAMON             PR           00961
   711560 MARIA E PORTILLA ARZOLA                     URB MANSIONES REALES         D 13 CALLE FELIPE I                                                                 GUAYNABO            PR           00969
   711561 MARIA E PRATTS DIAZ                         P O BOX 1267                                                                                                     JUNCOS              PR           00777
   298310 MARIA E QUINONES RIVERA                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298311 MARIA E QUINONES TORRES                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA E QUINONES Y JESSICA
   298312 RAMOS                                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   298313 MARIA E QUINONEZ DE BONET                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298314 MARIA E QUINTERO                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711562 MARIA E RAMIREZ ROSA                        PALOMA                       23 CALLE 3                                                                          YAUCO               PR           00698
   298315 MARIA E RAMOS                               REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA E RAMOS / MARGARITA
   711564 RAMOS                                       SAN DEMETRIO                 262 CALLE PICUA                                                                     VEGA BAJA           PR           00693
   711565 MARIA E RAMOS CHAVES                        URB CORCHADO                 289 CALLE ACACIAS                                                                   ISABELA             PR           00662
   298318 MARIA E RAMOS ORTIZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298319 MARIA E RAMOS RODRIGUEZ                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298320 MARIA E RAMOS ROSADO                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711567 MARIA E RAMOS ROSARIO                       RES PRAXEDES SANTIAGO        EDIF 8 APT 62                                                                       CIDRA               PR           00739
   298321 MARIA E RAVELO EGANA                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711568 MARIA E RENTAS NEGRON                       PO BOX 538                                                                                                       COTTO LAUREL        PR           00780‐0538
   711569 MARIA E REQUENA MARTINEZ                    RES COLINAS DE MAGNOLIA      EDIF B APT 9                                                                        JUNCOS              PR           00777
   298322 MARIA E REYES                               REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   298323 MARIA E REYES ENCARNACION                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711571 MARIA E REYES GONZALEZ                      8 CALLE MARCELINO BORGES                                                                                           NAGUABO             PR           00718
   711572 MARIA E REYES RIVERA                        10 CALLE CARMELITA          BUZON 1                                                                                VEGA BAJA           PR           00693
   711573 MARIA E RIOS HERNANDEZ                      BO MONTE SELLO              RR 02 BOX 7030                                                                         MANATI              PR           00674
   298324 MARIA E RIVERA ALVAREZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298325 MARIA E RIVERA AYBAR                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711575 MARIA E RIVERA COTTTO                       P O BOX 329                                                                                                        GUAYANABO           PR           00970
   711576 MARIA E RIVERA DIAZ                         165 CALLE BARBOSA PMB 131                                                                                          LAS PIEDRAS         PR           00771
   298326 MARIA E RIVERA ESPADA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711578 MARIA E RIVERA FIGUEROA                     CIUDAD UNIVERSITARIA        R 8 CALLE 20                                                                           TRUJILLO ALTO       PR           00976
   298327 MARIA E RIVERA GARCIA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298328 MARIA E RIVERA GONZALEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298329 MARIA E RIVERA HERNANDEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298330 MARIA E RIVERA IRIZARRY                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   298331 MARIA E RIVERA MALDONADO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711584 MARIA E RIVERA MARTINEZ                     P O BOX 347                                                                                                        SAN JUAN            PR           00919
   298333 MARIA E RIVERA NEGRON                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298334 MARIA E RIVERA OQUENDO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298335 MARIA E RIVERA ORTIZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711586 MARIA E RIVERA PACHECO                      PO BOX 419                                                                                                         AGUIRRE             PR           00704
   711587 MARIA E RIVERA PAGAN                        SANTA JUANITA               P M B 244‐441 CALLE 39                                                                 BAYAMON             PR           00956
   298336 MARIA E RIVERA RIVERA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298340 MARIA E RIVERA RODRIGUEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711590 MARIA E RIVERA ROSA                         COM LA DOLORES              232 CALLE COLOMBIA                                                                     RIO GRANDE          PR           00745
   711592 MARIA E RIVERA SANTIAGO                     HC 2 BOX 6823                                                                                                      UTUADO              PR           00641‐9503
   298341 MARIA E RIVERA SANTOS                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711594 MARIA E RIVERA SEDA                         P O BOX 814                                                                                                        CAYEY               PR           00736

   711596 MARIA E RIVERA TORRES                       VALLE DE ANDALUCIA          M 10‐3317 VALLE DE ANDALUCIA                                                           PONCE               PR           00728
   298342 MARIA E ROBLES RODRIGUEZ                    REDACTED                    REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711599 MARIA E RODRGUEZ RIVERA                     URB REGIONAL                D8 CALLE 3                                                                             ARECIBO             PR           00612
   711600 MARIA E RODRIGUEZ                           URB RAMOS ANTONINI                                   226                                                           YABUCOA             PR           00767
          MARIA E RODRIGUEZ / LEON
   298344 RODRIGUEZ                                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   298345 MARIA E RODRIGUEZ CASILLAS                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711602 MARIA E RODRIGUEZ COSTA                     URB LAS LEANDRAS            K 12 CALLE 19                                                                          HUMACAO             PR           00973
   711603 MARIA E RODRIGUEZ CRUZ                      BO TURABO                   K40 H 2                                                                                CAGUAS              PR           00725

   298346 MARIA E RODRIGUEZ FIGUEROA REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298347 MARIA E RODRIGUEZ FORTY    REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298348 MARIA E RODRIGUEZ GARCIA   REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   711606 MARIA E RODRIGUEZ GONZALEZ                  PO BOX 21365                                                                                                       SAN JUAN            PR           00928
          MARIA E RODRIGUEZ
   298349 HERNANDEZ                                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711608 MARIA E RODRIGUEZ LOPEZ                     PMB 283                     1353 RD19                                                                              GUAYNABO            PR           00966‐2700
   298350 MARIA E RODRIGUEZ MARTIN                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   298352 MARIA E RODRIGUEZ MELENDEZ REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   711609 MARIA E RODRIGUEZ MORALES                   HC 02 BOX 440                                                                                                      LAS PIEDRAS         PR           00771‐9613

   711610 MARIA E RODRIGUEZ MOUNIER                   URB CORCHADO 110              CALLE TRINITARIA                                                                     ISABELA             PR           00662
   298353 MARIA E RODRIGUEZ ORTIZ                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711611 MARIA E RODRIGUEZ RESTO                     PO BOX 3679                                                                                                        GUAYNABO            PR           00970
   711612 MARIA E RODRIGUEZ REYES                     URB TREASURE VALLEY           D 13 CALLE GUATEMALA                                                                 CIDRA               PR           00739
   298354 MARIA E RODRIGUEZ RIVERA                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA E RODRIGUEZ
   298355 RODRIGUEZ                                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711613 MARIA E RODRIGUEZ ROSA                      URB SANTA ROSA                238 CALLE EUROPA                                                                     ISABELA             PR           00662

   711614 MARIA E ROJAS MARTINEZ                      36 CALLE MARTINEZ SUITE 232                                                                                        JUNCOS              PR           00777
   711615 MARIA E ROLDAN ROLDAN                       8 BDA CABAN                                                                                                        AGUADILLA           PR           00603
   711616 MARIA E ROLON SALINAS                       104 CALLE DR VEVE SUR                                                                                              COAMO               PR           00769
   711617 MARIA E ROMAN ARCE                          COND EMILIANO PARK 129        CALLE MAYAGUEZ APT 1005                                                              MAYAGUEZ            PR           00917
   298356 MARIA E ROMAN PASARIN                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298357 MARIA E ROSA FELICIANO                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711620 MARIA E ROSADO CRUZ                         PO BOX 617                                                                                                         JUNCOS              PR           00777
   711621 MARIA E ROSADO MERCADO                      HC 1 BOX 7240                                                                                                      YAUCO               PR           00698
   298360 MARIA E ROSADO NIEVES                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711622 MARIA E ROSADO VEGA                         HC 3 BOX 9702                                                                                                      BARRANQUITAS        PR           00794
   298361 MARIA E ROSARIO CALVO                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711623 MARIA E ROSARIO CONDE                       PO BOX 404                                                                                                         JUNCOS              PR           00777
   711624 MARIA E ROSARIO MORALES                     HC 1 BOX 2437                                                                                                      MAUNABO             PR           00707‐9712
   711625 MARIA E ROSARIO RIVERA                      BO LAS DOLORES                105 CALLE CHILE                                                                      RIO GRANDE          PR           00745
   298362 MARIA E ROSARIO ROBLES                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   298363 MARIA E ROSARIO RODRIGUEZ                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711626 MARIA E ROSARIO RONDON                      P O BOX 1802                                                                                                       GUAYNABO            PR           00970
   711627 MARIA E ROSARIO SANTIAGO                    URB VILLA UNIVERSITARIA       BF 18 CALLE 24                                                                       HUMACAO             PR           00791
   711628 MARIA E ROSARIO VILLEGAS                    100 BLVD MONROIG APT 121                                                                                           TOA BAJA            PR           00949
   298364 MARIA E SALGADO CINTRON                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298366 MARIA E SANABRIA PEREZ                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711629 MARIA E SANCHEZ ANDINO                      HC 1 BOX 11669                                                                                                     TOA BAJA            PR           00949

   298368 MARIA E SANCHEZ DOMINGUEZ                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711631 MARIA E SANCHEZ VARGAS                      URB COLINAS DE YAUCO          B 10 CALLE 1                                                                         YAUCO               PR           00698
   298369 MARIA E SANCHEZ VELEZ                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298370 MARIA E SANROMAN BUENO                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298371 MARIA E SANTANA BONILLA                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298374 MARIA E SANTANA CASTILLO                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   711633 MARIA E SANTANA GRANDONE                    163 CALLE VILLAMIL APT 2A                                                                                          SAN JUAN            PR           00907
          MARIA E SANTANA Y/O JULIO
   298375 FELIX PAGAN                                 REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711636 MARIA E SANTIAGO AYALA                      HC 645 BOX 7019                                                                                                    TRUJILLO ALTO       PR           00976
   711637 MARIA E SANTIAGO COLON                      PO BOX 727                                                                                                         COAMO               PR           00769

   711638 MARIA E SANTIAGO GONZALEZ                   HC 01 BOX 70701                                                                                                    LAS PIEDRAS         PR           00771‐9716
   298377 MARIA E SANTIAGO LAMPON                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711641 MARIA E SANTIAGO NEGRON                     URB LA CUMBRE                 375 CALLE ARECIBO                                                                    SAN JUAN            PR           00926
   711642 MARIA E SANTIAGO PACHECO                    67 CAALE SAN FERNANDO                                                                                              TOA ALTA            PR           00953



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  711646 MARIA E SANTIAGO ROMAN                       URB SAN FELIPE       10 CALLE 7 C                                                                      ARECIBO              PR         00612
  298378 MARIA E SANTIAGO RUIZ                        REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  711648 MARIA E SANTOS ALICEA                        PO BOX 294                                                                                             VEGA BAJA            PR         00694
  711649 MARIA E SANTOS DAVILA                        PO BOX 9022169                                                                                         SAN JUAN             PR         00902
  298379 MARIA E SANTOS FLORES                        REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   298380 MARIA E SEPULVEDA SANTIAGO                  REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   711650 MARIA E SEPULVEDA TORRES                    P O BOX 333                                                                                            MERCEDITA            PR         00715
   298381 MARIA E SERRANO LOPEZ                       REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   298382 MARIA E SERRANO LOZADA                      REDACTED             REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   711651 MARIA E SERRANO MALDONADO P O BOX 79                                                                                                               NARANJITO            PR         00719
   711652 MARIA E SIEGEL FERNANDEZ  PO BOX 5046                                                                                                              AGUADILLA            PR         00605
   298383 MARIA E SIERRA VELAZQUEZ  REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   711653 MARIA E SOLIS             HC 2 BOX 2220                                                                                                            RIO GRANDE           PR         00745
   711654 MARIA E SOLIS MORALES     URB VERDE MAR                          231 CALLE 9                                                                       PUNTA SANTIAGO       PR         00741
   298386 MARIA E SOTO RIVERA       REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   709674 MARIA E SOTO VICENTE      HC 44 BOX 12531                                                                                                          CAYEY                PR         00736
   298387 MARIA E SUAREZ RIVERA     REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   298388 MARIA E SUAREZ SANTOS     REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   298390 MARIA E TAPIA COLON       REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   711657 MARIA E THIELE SOLIVAN    APARTADO 743                                                                                                             SANTA ISABEL         PR         00757
          MARIA E TORRES / DBA
   711660 PASARELL BUS LINE         PO BOX 668                                                                                                               COMERIO              PR         00782
   298391 MARIA E TORRES CRUZ       REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   711661 MARIA E TORRES RODRIGUEZ  RES LAS ESMERALDA                      EDIF 1 APT 18                                                                     CAROLINA             PR         00985
   709672 MARIA E TORRES SANTIAGO   PASEO DE LA COSTA                      10 CALLE MAINT ST                                                                 CEIBA                PR         00735
   711666 MARIA E USTARITZ PABON    URB QUINTAS DE DORADO                  I 5 AVE BOULEVARD                                                                 DORADO               PR         00646
   298393 MARIA E VALENTIN MENDEZ   REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   298394 MARIA E VALLE             REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   298395 MARIA E VALLE DIAZ        REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   711669 MARIA E VALLES DE LEON    TOA ALTA HEIGHTS                       R 12 CALLE 21                                                                     TOA ALTA             PR         00953
   711672 MARIA E VARGAS CORCHADO   P O BOX 1588                                                                                                             ISABELA              PR         00662
   711673 MARIA E VARGAS RAICES     HC 02 BOX 7610 8                                                                                                         CAMUY                PR         00627
   298397 MARIA E VARGAS RIVERA     REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   298398 MARIA E VARGAS SERRANO    REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   298399 MARIA E VARGAS VARGAS     REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   711675 MARIA E VAZQUEZ           PMB 485 P O BOX 20344                                                                                                    SAN JUAN             PR         00936

   298400 MARIA E VAZQUEZ BETANCOURT REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   298401 MARIA E VAZQUEZ CINTRON    REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   298402 MARIA E VAZQUEZ GRAZINI    REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   298403 MARIA E VAZQUEZ MUNIZ      REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   298404 MARIA E VAZQUEZ OTERO      REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   298405 MARIA E VAZQUEZ SANTOS     REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   711680 MARIA E VAZQUEZ TORRES     COND REXVILLE PARK 200                CALLE 17 A APT 309 E                                                              BAYAMON              PR         00957
   298408 MARIA E VEGA LOPEZ         REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   709638 MARIA E VELAZQUEZ          URB RIO GRANDE ESTATE                 Z 4 CALLE 21                                                                      RIO GRANDE           PR         00745
   711681 MARIA E VELEZ GONZALEZ     TMS 443                               PO BOX 1283                                                                       SAN LORENZO          PR         00754
   711683 MARIA E VELEZ MARTI        HC 01 BOX 3149                                                                                                          BOQUERON             PR         00622
   711684 MARIA E VELEZ MORALES      HC 2 BOX 23102                                                                                                          AGUADILLA            PR         00603
   298409 MARIA E VELEZ SEDA         REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   298410 MARIA E VELEZ VALENTIN     REDACTED                              REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED



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MML ID               NAME                                       ADDRESS 1                   ADDRESS 2              ADDRESS 3                           ADDRESS 4              CITY          STATE    POSTAL CODE        COUNTRY
  711313 MARIA E VIANA DE JESUS                       PO BOX 112                                                                                                   CAROLINA            PR           00924
  711685 MARIA E VIERA DE DELGADO                     URB COUNTRY CLUB 764       CALLE VICTOR ROSARIO                                                              CAROLINA            PR           00924
  711686 MARIA E VILLANUEVA CRUZ                      28 CALLE SANTA CRUZ                                                                                          BAYAMON             PR           00956
         MARIA E VILLANUEVA
  711687 MALDONADO                                    VILLA CAROLINA             200‐12 CALLE 529                                                                  CAROLINA            PR           00985
  711689 MARIA E VILLANUEVA RIVERA                    EXT FOREST HILLS           K 295 CALLE DORADO                                                                BAYAMON             PR           00959
  298412 MARIA E VILLARES SENERIZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  711690 MARIA E VIRUET DIAZ                          HC 1 BOX 5321                                                                                                JAYUYA              PR           00664
  298416 MARIA E ZAYAS GONZALEZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  298417 MARIA E. AVILA VELEZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  298418 MARIA E. AYALA SANTIAGO                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  298419 MARIA E. BALTAZAR                            REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  298420 MARIA E. BAUZO RIOS                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  298421 MARIA E. CANCIO MELENDEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  298424 MARIA E. CHAVEZ RAMOS                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  711692 MARIA E. CORDOVA                             EXT VILLA CAPARRA          17 CALLE 8 # 2                                                                    GUAYNABO            PR           00966
  298428 MARIA E. COTTO FERNANDEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  298429 MARIA E. CRESPO TOLEDO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  298430 MARIA E. CRUZ ROMAN                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  298431 MARIA E. DAVILA MARICHAL                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  298432 MARIA E. DIAZ MELENDEZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  298433 MARIA E. DIAZ OLMO                           REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  298434 MARIA E. DIAZ RAMOS                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                      #56‐B AVENIDA CRUZ ORTIZ
   711697 MARIA E. GOMEZ VELAZQUEZ                    STELLA                                                                                                       HUMACAO             PR           00791

   298435 MARIA E. GONZALEZ IRIZARRY                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   298436 MARIA E. GRAJALES ALVAREZ                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   298437 MARIA E. GUZMAN MEDINA                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   298438 MARIA E. MARQUEZ DE JESUS                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   298440 MARIA E. MEDINA DAVILA                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   298441 MARIA E. MEDINA DELGADO                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   298442 MARIA E. MELENDEZ RODRIGUEZ REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   711700 MARIA E. MORALES ROSARIO    HP ‐ SALA 5 BAJOS VARONES                                                                                                    RIO PIEDRAS         PR           009360000
   298443 MARIA E. NUNEZ FIGUEROA     REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   298444 MARIA E. OCASIO SERRANO     REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   298445 MARIA E. PAREDES DESPRADEL                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   711702 MARIA E. PEREZ AGOSTO                       PO BOX 21365                                                                                                 SAN JUAN            PR           00928
   711703 MARIA E. PEREZ GONZALEZ                     PO BOX 5777                                                                                                  CAGUAS              PR           00726
   298446 MARIA E. QUINONES DAVILA                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   298448 MARIA E. RAMOS SERRANO                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   298449 MARIA E. RIOS GONZALEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   298450 MARIA E. RIOS NEGRON                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   298451 MARIA E. RIVERA TORRES                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARIA E. RODRIGUEZ
   298452 HERNANDEZ                                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARIA E. RODRIGUEZ
   298453 RODRIGUEZ                                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   298455 MARIA E. ROSARIO CASIANO                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   298456 MARIA E. SALGADO RODRIGUEZ REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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   298457 MARIA E. TORRES RODRIGUEZ                   REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   298459 MARIA E. VELAZQUEZ                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA E. VELAZQUEZ
   298460 HERNANDEZ                                   REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   298461 MARIA E. VELEZ TRINIDAD                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA E.RODRIGUEZ
   298462 HERNANDEZ                                   REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711706 MARIA ECHEVARIA SERRANO                     FAIR VIEW                      1900 CALLE 46                                                                          SAN JUAN             PR           00926
   298463 MARIA ECHEVARRIA                            REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711708 MARIA ECHEVARRIA GARCIA                     URB HACIENDA LA MATILDE        5876 CALLE ANADO                                                                       PONCE                PR           00728
   711709 MARIA ECHEVARRIA VEGA                       VILLA LOS SANTOS               EE 26 CALLE 21                                                                         ARECIBO              PR           00612
   298464 MARIA EDITH PENA DE JESUS                   REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   298465 MARIA ELBA TORRES MUNOZ                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA ELENA BATISTA
   298466 HERNANDEZ                                   REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   298468 MARIA ELENA DELGADO RIVERA REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   711715 MARIA ELENA ECHEVARRIA                      EXT RAMBLA CALLE 7 E NUM 569                                                                                          PONCE                PR           00731
          MARIA ELENA GONZALEZ
   711716 CALDERON                                    P O BOX 363531                                                                                                        SAN JUAN             PR           00936‐3531

   711717 MARIA ELENA IRIZARRY SAEZ                   URB ESTANCIAS DEL COLF CLAB    410 CALLE MILLITO NAVARRO                                                              PONCE                PR           00601

   711710 MARIA ELENA JIMENEZ                         URB LAS BRISAS 87 C3 CALLE 5                                                                                          ARECIBO              PR           00612
   298469 MARIA ELENA LOPEZ RAMOS                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711718 MARIA ELENA LUGO ORTIZ                      HC 03 BOX 17102                                                                                                       LAJAS                PR           00667
          MARIA ELENA MADERA
   711719 RODRIGUEZ                                   P O BOX 3                                                                                                             YAUCO                PR           00698
   298470 MARIA ELENA MASO                            REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   298471 MARIA ELENA MIRANDA                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   711721 MARIA ELENA MORALES AGOSTO P O BOX 3028                                                                                                                           VEGA ALTA            PR           00692‐3028
   711723 MARIA ELENA RIVERA         MAMINO EL MUDO                                  K 4 H 5 CARR 844                                                                       SAN JUAN             PR           00926
   711724 MARIA ELENA RIVERA AYBAR   URB VILLA PRADES                                811 CALLE LUIS R MIRANDA                                                               SAN JUAN             PR           00926
          MARIA ELENA RIVERA
   298473 CARABALLO                  REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA ELENA RODRIGUEZ
   711725 ESCANELLA                  URB SANTA ANA                                   E 22 TEMPLE                                                                            SAN JUAN             PR           00927
          MARIA ELENA ROSARIO
   298475 CARMONA                    REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   298476 MARIA ELENA SANTIAGO AYALA REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   298477 MARIA ELENA SANTIAGO CRUZ                   REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711727 MARIA ELENA SIERRA                          REXVILLE                       A C 2 41 CALLE 15                                                                      BAYAMON              PR           00957
   711728 MARIA ELENA TORRES AMIGO                    1RA SEC COUNTRY CLUB           903 CALLE URANETA                                                                      SAN JUAN             PR           00924

   711729 MARIA ELENA TORRES GONZALEZ HR 4 GENARO ARIZMENDI                                                                                                                 TOA BAJA             PR           00949

   298478 MARIA ELIAS Y FRANCISCO SOTO REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711730 MARIA ELINA PEREZ TORRES     HC 43 BOX 10985                                                                                                                      CAYEY                PR           00736



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   711731 MARIA ELISA COLON ADORNO                    URB COUNTRY CLUB           J M 21 CALLE 238                                                                  CAROLINA             PR           00982
          MARIA ELISA RODRIGUEZ
   298479 HERNANDEZ                                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   298480 MARIA ELIZ HERNANDEZ RIVERA                 REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711733 MARIA ELSIE RIOS ARROYO                     H 87 RES EL BATEY                                                                                            VEGA ALTA            PR           00692
   711734 MARIA ENCARNACION                           URB SUMMIT HILLS           600 GREEWOOD                                                                      SAN JUAN             PR           00920‐4374
          MARIA ENCARNACION
   298481 RODRIGUEZ                                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   298482 MARIA ENTERPRISER LLC                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   298483 MARIA ERAZO PEREZ                           REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   298484 MARIA ESCALERA MORALES                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   298485 MARIA ESCOBAR ROSARIO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA ESTELA ALCANTARA
   298486 LEBRON                                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   711736 MARIA ESTELA RIVERA ALVAREZ                 BO HIGUILLAR PARC          SAN ANTONIO 7                                                                     DORADO               PR           00646
   711737 MARIA ESTHER BONILLA                        BO POLVORIN                6 CALLE 6                                                                         CAYEY                PR           00637
   711738 MARIA ESTHER CRUZ MATOS                     URB JOSE P H HERNANDEZ     158 CALLE 4                                                                       RIO GRANDE           PR           00745
          MARIA ESTHER FUENTES
   298487 VAZQUEZ                                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA ESTHER GONZALEZ
   711739 SANTIAGO                                    30 DD 21 JARD DEL CARIBE                                                                                     PONCE                PR           00731
          MARIA ESTHER HERNANDEZ
   298489 QUINONEZ                                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   298490 MARIA ESTHER LOPEZ RUBERO                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   711740 MARIA ESTHER MEDINA COTTO                   HC 04 BOX 48818                                                                                              CAGUAS               PR           00725‐9013
   711741 MARIA ESTHER MERCADO                        COMUNIDAD COCO II          SOLAR 397                                                                         SALINAS              PR           00751
   711742 MARIA ESTHER MIESES                         VILLA PANAMERICANA         EDIF D APT 207                                                                    SAN JUAN             PR           00924
   298491 MARIA ESTHER NOVA RIVERA                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA ESTHER NUNEZ
   298492 MONTANEZ                                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   298493 MARIA ESTHER PAGAN PAGAN                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   298494 MARIA ESTHER PESANTE COTTO                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711745 MARIA ESTRADA DE JESUS                      URB MAGNOLIA GARDENS       L 7 CALLE 19                                                                      BAYAMON              PR           00957
   711746 MARIA ESTRADA PINTO                         P O BOX 1150                                                                                                 RIO GRANDE           PR           00745
   298496 MARIA ESTRADA TOLENTINO                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   711747 MARIA ESTREMERA CANTRE                      HC 83 BUZON 6866           SABANA HOYOS                                                                      VEGA ALTA            PR           00692
          MARIA EUGENIA BECK
   298497 FERNANDEZ                                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA EUGENIA BUSCAGLIA
   711749 MORALES                                     BORINQUEN GARDENS          CD 15 DAISY                                                                       SAN JUAN             PR           00926
          MARIA EUGENIA FERNANDEZ
   298498 TAMAYO                                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   298499 MARIA EUGENIA LIRA                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA EUGENIA MARTINEZ
   711750 NIEVES                                      PO BOX 1363                                                                                                  VEGA BAJA            PR           00692
          MARIA EUGENIA RIVERA
   298500 MARTINEZ                                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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MML ID              NAME                                        ADDRESS 1                      ADDRESS 2                       ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  298502 MARIA F AUZ PATINO                           REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  711751 MARIA F BETANCOURT                           ADM SERV GEN                    PO BOX 7428                                                                              SAN JUAN          PR         00916‐7428
  711753 MARIA F CARADONA CLASSEN                     HC 4 BOX 11711                                                                                                           RIO GRANDE        PR         00745‐9610
  711754 MARIA F CARDONA CLASSEN                      HC 4 BOX 11711                                                                                                           RIO GRANDE        PR         00745‐9610
  711755 MARIA F CRUZ                                 URB RIO HONDO 11                AA 4 CALLE RIO DUEY                                                                      BAYAMON           PR         00961

   298504 MARIA F DE LA CRUZ ALMEYDA                  REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298506 MARIA F DELGADO PEREZ                       REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298508 MARIA F GARCIA MARTINEZ                     REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298509 MARIA F HERNANDEZ BAEZ                      REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298510 MARIA F LEVIS PERALTA                       REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   298511 MARIA F MARQUEZ FERNANDEZ REDACTED                                          REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   298512 MARIA F MIRANDA HERNANDEZ                   REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   711756 MARIA F OCASIO MERCADO                      RR 2 BOX 6841                                                                                                            CIDRA             PR         00739
   711757 MARIA F ORTIZ OLMEDA                        HC 3 BOX 8890                                                                                                            BARRANQUITAS      PR         00794
   711758 MARIA F PEDRAZA PEREIRA                     URB VILLA DEL REY               1 P 21 CALLE CUMBERLAND                                                                  CAGUAS            PR         00725
   298513 MARIA F RIVERA DE JESUS                     REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   711759 MARIA F RIVERA RIVERA                       PO BOX 518                                                                                                               LAS PIEDRAS       PR         00771

   298515 MARIA F RODRIGUEZ ROSARIO                   REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298516 MARIA F RODRIGUEZ TORRES                    REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298517 MARIA F ROSADO DIAZ                         REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARIA F SANCHEZ DBA COCINA
   711763 GASTRONOMICA                                HC 11 BOX 14007                                                                                                          HUMACAO           PR         00791‐9492

   298518 MARIA F SANTIAGO FELICIANO                  REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   711764 MARIA F VELAZQUEZ SOTO                      P O BOX 1282                                                                                                             ISABELA           PR         00662
   711765 MARIA F VELEZ PASTRANA                      URB GARDEN VILLE                B 4 CALLE ARGENTINA                                                                      GUAYNABO          PR         00966‐2007
   298519 MARIA F YORDAN ZAPATER                      REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298520 MARIA F. CRUZ ALCALA                        REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   711769 MARIA F. MARRERO MARRERO                    232 AVE ELEONOR ROOSEVELT                                                                                                SAN JUAN          PR         00907

   711771 MARIA F. RIVERA COLON                       HP ‐ OFICINA SERVS. LEY # 408                                                                                            RIO PIEDRAS       PR         009360000

   298521 MARIA F. RODRIGUEZ MARTINEZ REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   711772 MARIA FALCON                                THE TERRACE                     2306 CALLE LAUREL APTO PH B                                                              SAN JUAN          PR         00911
   711773 MARIA FALCON ALVELO                         EXT SAN AGUSTIN                 379 CALLE 12                                                                             SAN JUAN          PR         00926
   298522 MARIA FALCON MARTINEZ                       REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   711774 MARIA FALERO LA SANTA                       PO BOX 778                                                                                                               TRUJILLO ALTO     PR         00977‐0778
          MARIA FALERO LASANTA/
   298523 HOGAR MARIA FALERO                          REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298524 MARIA FEBO LOPEZ                            REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   711775 MARIA FEBRES LLANOS                         RR 01 BOX 13952                                                                                                          TOA ALTA          PR         00953
   711776 MARIA FEBUS GARCIA                          PARCELAS VAN SCOY               J 16 CALLE PRINCIPAL                                                                     BAYAMON           PR         00957
   298527 MARIA FELIPE BUENO                          REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   711780 MARIA FELIX DE JESUS                        HC 01 BOX 5492                                                                                                           CAMUY             PR         00627
   711781 MARIA FELIX DIAZ                            PO BOX 747                                                                                                               QUEBRADILLAS      PR         00678
   298528 MARIA FERNANDA BELTRAN                      REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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          MARIA FERNANDA TORRES
   298529 HERNANDEZ                                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   711782 MARIA FERNANDEZ                             2225 PONCE BY PASS         EDIF PARRA SUITE 405                                                                   PONCE               PR         00717
   298530 MARIA FERNANDEZ BERNAL                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   298531 MARIA FERNANDEZ BURGOS                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   711783 MARIA FERNANDEZ CAMACHO                     RES LUIS LLORENS TORRES    EDIF 20 APTO 405                                                                       SAN JUAN            PR         00915
   298532 MARIA FERNANDEZ JIMENEZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   711784 MARIA FERNANDEZ NUNEZ                       SANTA RITA                 63 CALLE BAIROA                                                                        RIO PIEDRAS         PR         00925

   711785 MARIA FERNANDEZ RODRIGUEZ                   P O BOX 131                                                                                                       QUEBRADILLAS        PR         00678
   711787 MARIA FERNANDEZ SANTANA                     URB LA CONCEPCION          44 C/ GUARIONEX                                                                        CABO ROJO           PR         00623
   711788 MARIA FERRER GONZALEZ                       COND BORINQUEN TOWER       TORRE 1 APT 616                                                                        SAN JUAN            PR         00920
   298534 MARIA FERRER TORO                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   711789 MARIA FIGUEROA                              VILLA DEL REY              4TA SECC MM 4 CALLE 17                                                                 CAGUAS              PR         00725
   711790 MARIA FIGUEROA & ASOC                       URB EL PLANTIO             A 165 D CALLE ICACO                                                                    TOA BAJA            PR         00949
   711791 MARIA FIGUEROA ADORNO                       RESIDENCIAL LOS MIRTOS     EDIF 10 APT 149                                                                        CAROLINA            PR         00987
   711792 MARIA FIGUEROA AVILES                       URB VILLA LOS PESCADORES   428 CALLE SIERRA                                                                       VEGA BAJA           PR         00693
   298535 MARIA FIGUEROA BARRETO                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   711795 MARIA FIGUEROA ORTIZ                        VILLA SULTANITA            753 CALLE 12                                                                           MAYAGUEZ            PR         00680
   711796 MARIA FIGUEROA QUINTANA                     HC 01 BOX 1808                                                                                                    SAN GERMAN          PR         00683

   711797 MARIA FIGUEROA RODRIGUEZ                    BZN 5070                                                                                                          CIDRA               PR         00739
   711798 MARIA FIGUEROA ROMAN                        BOX 4436                                                                                                          NAGUABO             PR         00718
   711799 MARIA FIGUEROA ROSARIO                      PO BOX 31254               65TH INFANTERIA STATION                                                                SAN JUAN            PR         00929‐2254
   298536 MARIA FIGUEROA SANTIAGO                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   711800 MARIA FIGUEROA VAZQUEZ                      URB BELLO MONTE            C 1 CALLE 15                                                                           GUAYNABO            PR         00969

   711802 MARIA FIGUEROA VILLANUEVA                   PO BOX 12365                                                                                                      SAN JUAN            PR         00926‐1365
   298537 MARIA FLORES ARROYO                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          MARIA FLORES COLON Y/O
   711804 ALEJANDRO GALARZA                           HC 8 BOX 49057                                                                                                    CAGUAS              PR         00725
   298539 MARIA FLORES LALOMA                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   298541 MARIA FLORES TORRES                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   711805 MARIA FONSECA TORRES                        ALTURAS DE RIO GRANDE      AM 564 CALLE 12                                                                        RIO GRANDE          PR         00745
   298542 MARIA FONTAN OLIVO                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   711807 MARIA FONTANEZ FONTANEZ                     URB VILLA MARIA            D 9 CALLE 4                                                                            CAGUAS              PR         00725
   711808 MARIA FONTANEZ MENDEZ                       HC 4 BOX 8801                                                                                                     COMERIO             PR         00782

   711809 MARIA FORTIER MELENDEZ                      URB SANTIAGO IGLESIAS      1456 CALLE MANUEL TEXIDOR                                                              SAN JUAN            PR         00921
   298544 MARIA FORTY NIEVES                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   711810 MARIA FRAGUADA ROMAN                        URB VILLA CAROLINA         59 6 CALLE 46                                                                          CAROLINA            PR         00985
          MARIA FRANCES SANCHEZ
   298545 RIVERA                                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          MARIA FRANCISCA MERCED
   711812 VELEZ                                       PO BOX 7192                                                                                                       CAGUAS              PR         00726‐7192
   711813 MARIA FRATICELLI                            HC 06 BOX 70055                                                                                                   CAGUAS              PR         00725‐9502
   711814 MARIA FRATICELLI VAZQUEZ                    URB QUINTAS DE FLAMINGO    36 CALLE FLAMINGO                                                                      BAYAMàN             PR         00959
   298547 MARIA FRIAS                                 REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   711815 MARIA FUENTES DE JESUS                      HC 1 BOX 2475                                                                                                     LOIZA               PR         00772
   711816 MARIA FUENTES MORALES                       COM. LA DOLORES            301 CALLE BRASIL                                                                       RIO GRANDE          PR         00745
   298549 MARIA FUENTES TORRES                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   298550 MARIA G ABREU SANTOS                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  298551 MARIA G ALGARIN RAMOS                        REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  711817 MARIA G BERRIOS AGOSTO                       HC 55 BOX 21088                                                                                                   CEIBA               PR         00735‐9703
  298553 MARIA G BURGOS OCASIO                        REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                              C35 CALLE 10 URB PASEO
   711818 MARIA G CAPELLA                             PASEO MAYOR             MAYOR                                                                                     SAN JUAN            PR         00926
   298554 MARIA G CARDONA PRATS                       REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711819 MARIA G CARDONA RAMIREZ                     BO CAPA                 BZN A‐1012                                                                                MOCA                PR         00676
   298555 MARIA G CHEVERE                             REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIA G ECHEVARRIA
   298556 GUADALUPE                                   REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   711821 MARIA G ESQUIVEL ECHEVARRIA OCEAN PARK APT 5                        1960 CALLE ITALIA                                                                         SAN JUAN            PR         00901
   711822 MARIA G FAUSTO ROJAS        URB BAIROA PARK                         2H 62 CALLE JOSE REGUERO                                                                  CAGUAS              PR         00725

   711824 MARIA G GARCIA MALDONADO                    CASTELLANA GARDENS      HH 11 CALLE 31                                                                            CAROLINA            PR         00983
          MARIA G GONZALEZ
   298557 ECHEVARRIA                                  REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711825 MARIA G GONZALEZ LEONOR                     102 CALLE DEGETAU                                                                                                 SAN JUAN            PR         00911
   298559 MARIA G GUZMAN BURGOS                       REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   298560 MARIA G HERNANDEZ ESPADA                    REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   711827 MARIA G HERNANDEZ FLORAN                    TOA ALTA HAIGHTS        AH 19 CALLE 28                                                                            TOA ALTA            PR         00953

   711828 MARIA G HERNANDEZ MARTINEZ MANSIONES REALES                         A 5 PRINCIPE DE ASTURIAS                                                                  GUAYNABO            PR         00969
   298561 MARIA G HERNANDEZ NUNEZ    REDACTED                                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711829 MARIA G JIMENEZ DIAZ       PO BOX 108                                                                                                                         COMERIO             PR         00782
   298562 MARIA G LABRADOR RIVERA    REDACTED                                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298563 MARIA G LAUREANO PAGAN     REDACTED                                 REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711830 MARIA G LOPEZ ALMODOVAR    PARCELA BETANCES                         244 B CALLE SAN VICENTE                                                                   CABO ROJO           PR         00623
   711831 MARIA G LOPEZ DE LEON      12 CALLE DELICIA                                                                                                                   FLORIDA             PR         00650

   298564 MARIA G MALDONADO RAMOS                     REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298565 MARIA G MORALES VALENTIN                    REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298566 MARIA G NAZARIO NAZARIO                     REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298567 MARIA G NIEVES CORTES                       REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298568 MARIA G ORTIZ                               REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711835 MARIA G ORTIZ APONTE                        BO OBRERO               703 CALLE RIO JANIERO                                                                     SAN JUAN            PR         00915
   298569 MARIA G ORTIZ VAZQUEZ                       REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711836 MARIA G OSORIO                              LETTERS 127 BOX 39                                                                                                TOA ALTA            PR         00953
                                                                              J 6‐32 CALLE GERONIMO DE
   711837 MARIA G RAMIREZ SORIANO                     7MA SEC LEVITTOWN       OVANDO                                                                                    TOA BAJA            PR         00949
   298570 MARIA G RAY ARVELO                          REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   298571 MARIA G RODRIGUEZ COLLAZO                   REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   711839 MARIA G RODRIGUEZ JIMENEZ                   PEREZ MORIS             106 CALLE PONCE                                                                           SAN JUAN            PR         00917
   711840 MARIA G ROSADO ALMEDINA                     PARK GARDENS            M 2 CALLE 15                                                                              SAN JUAN            PR         00926
   298572 MARIA G ROSADO CABANAS                      REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   711841 MARIA G ROSARIO VELAZQUEZ                   HC 01 BOX 68982                                                                                                   LAS PIEDRAS         PR         00771

   711842 MARIA G SERBIA SANTIAGO                     COND PLAZA INMACULADA   1715 AVE PONCE DE LEON APT 5                                                              SAN JUAN            PR         00909‐1927



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  298573 MARIA G SERPA SANCHEZ                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  711843 MARIA G VIERA VIERA                          SANTA ANA UNIV GARDENS         CALLE YA LE A 14                                                                         SAN JUAN            PR         00927
  711844 MARIA G VILLA RIOS                           HC 01 BOX 5298                                                                                                          CIALES              PR         00638‐9607
  298575 MARIA G. ALAMO GONZALEZ                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  298576 MARIA G. DELGADO ROMAN                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  770719 MARIA G. PEREZ LAMIGUEIRO                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   298577 MARIA G. RODRIGUEZN RIVERA                  REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298578 MARIA G.FELIZ                               REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711846 MARIA GAETAN SANTANA                        PO BOX 21365                                                                                                            SAN JUAN            PR         00926‐1365
   711847 MARIA GALAN DE DORIS                        URB LEVITTOWN                  P19 CALLE LUZ OESTE                                                                      TOA BAJA            PR         00949
   711848 MARIA GALARCE FOURNIER                      EL SE¨ORIAL                    2005 BENITO FEIJOO                                                                       SAN JUAN            PR         00926
   711849 MARIA GALOFFIN CALDERON                     VILLA SERENA                   D 12 JAZMIN                                                                              ARECIBO             PR         00612
   298579 MARIA GANDARA SNYDER                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711850 MARIA GARCIA                                PO BOX 198                                                                                                              LAJAS               PR         00667
                                                      URB EXT DEL RIO 4 CALLE
   711851 MARIA GARCIA BARBON                         TANAMA                                                                                                                  AGUAS BUENAS        PR         00703
          MARIA GARCIA DE QUEVEDO
   711853 SOTO                                        URB EL ROSARIO                 156 CALLE 7                                                                              YAUCO               PR         00698
   298580 MARIA GARCIA ESPINOSA                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711854 MARIA GARCIA FEBUS                          EXT FOREST HILLS               R 671 CALLE URUGUAY                                                                      BAYAMON             PR         000659
   298581 MARIA GARCIA GONZALEZ                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298583 MARIA GARCIA JIMENEZ                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711857 MARIA GARCIA MANGUAL                        P O BOX 364466                                                                                                          SAN JUAN            PR         00936‐4466
   298584 MARIA GARCIA MELENDEZ                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298585 MARIA GARCIA MONTANEZ                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298586 MARIA GARCIA PACHECO                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298587 MARIA GARCIA RIVERA                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711858 MARIA GARCIA ROSARIO                        P O BOX 369                                                                                                             VEGA BAJA           PR         00694
   711859 MARIA GARCIA SOTELO                         URB MANSIONES DE ESPANA        F 1 CALLE AZERIN                                                                         MAYAGUEZ            PR         00680
   711860 MARIA GARCIA TORRES                         2211 REPARTO ALTURAS                                                                                                    PENUELAS            PR         00624

   711861 MARIA GARRIGA TORRES                        URB EL VEDADO                  224 CALLE RODRIGO DE TRIANA                                                              SAN JUAN            PR         00918
          MARIA GECENIA VARGAS
   298588 FONTANEZ                                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIA GEMA ZULUAGA
   298589 PODRIGUEZ                                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298590 MARIA GIERBOLINI RUIZ                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711862 MARIA GINES RESTO                           URB VALLES DE MANATI D11       CALLE 3                                                                                  MANATI              PR         00674

   711863 MARIA GOMEZ CABRERA                         RESIDENCIAL LAGOS DE BLASINA   EDIF 4 APT 56                                                                            CAROLINA            PR         00985
   711864 MARIA GOMEZ CUBERO                          BO COTTO                       280 CALLE JOSE GOMEZ                                                                     ISABELA             PR         00662
   298591 MARIA GOMEZ LAGARES                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711865 MARIA GOMEZ TORRES                          URB BAIROA PARK                E6 PARQUE DE LA FUENTE                                                                   CAGUAS              PR         00725
   298594 MARIA GONZALEZ                              REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711869 MARIA GONZALEZ ADORNO                       DEMESIO CANALES                EDIF 51 APT 1046                                                                         SAN JUAN            PR         00918
   711870 MARIA GONZALEZ ALMENAS                      HC 02 BOX 34276                                                                                                         CAGUAS              PR         00725‐9420
   711871 MARIA GONZALEZ ARROYO                       HC 2 BOX 34289                                                                                                          CAGUAS              PR         00725
   711872 MARIA GONZALEZ BAUGH                        PO BOX 299                                                                                                              PUERTO REAL         PR         00740
   298595 MARIA GONZALEZ CHACON                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298597 MARIA GONZALEZ COTTO                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   711874 MARIA GONZALEZ DIAZ                         HC 2 BOX 16641                                                                                                          GURABO              PR         00778




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   298598 MARIA GONZALEZ FERNANDEZ                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298599 MARIA GONZALEZ GARCIA                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298600 MARIA GONZALEZ GONZALEZ                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   298601 MARIA GONZALEZ HERNANDEZ                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711877 MARIA GONZALEZ HUAYHUA                      URB LOS LLANOS         106 CALLE 12                                                                           ARECIBO             PR           00612
   298602 MARIA GONZALEZ INCLAN                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298603 MARIA GONZALEZ PLAZA                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298604 MARIA GONZALEZ REYES                        REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711879 MARIA GONZALEZ RIVERA                       RES NEMESIO CANALES    EDIF 40 APT 741                                                                        SAN JUAN            PR           00910

   711880 MARIA GONZALEZ RODRIGUEZ                    HC 2 BOX 8321                                                                                                 CIALES              PR           00638
   298605 MARIA GONZALEZ ROSA                         REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   711882 MARIA GONZALEZ SALABERRIOS                  EXT RIO GANDIA         EDF 4 APT 139                                                                          ARECIBO             PR           00612
   711884 MARIA GONZALEZ SANTIAGO                     P O BOX 824                                                                                                   CAMUY               PR           00627
   298606 MARIA GONZALEZ SANTOS                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298607 MARIA GONZALEZ SEGARRA                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711885 MARIA GONZALEZ SOLER                        3937 CALLE DURBEC                                                                                             SAN JUAN            PR           00929
   711887 MARIA GONZALEZ SUAREZ                       PO BOX 1129                                                                                                   NAGUABO             PR           00718
   711888 MARIA GONZALEZ VARGAS                       BOX 2788 JC STA                                                                                               SAN SEBASTIAN       PR           00669

   711889 MARIA GONZALEZ VILLANUEVA                   H C 02 BOX 16213                                                                                              ARECIBO             PR           00612
          MARIA GORROCHATEGUI
   298608 VIGOREAUX                                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711890 MARIA GOTAY FIGUEROA                        BDA VENEZUELA          56 CALLE PRINCIPAL                                                                     SAN JUAN            PR           00926
   298609 MARIA GOVEO ARROYO                          REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298610 MARIA GOYTIA GARCIA                         REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA GRANT GONZALEZ MD,
   298611 MIGUELINE                                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   711891 MARIA GREGORIA VALLE TORRES PARC NUEVAS SABANA ENEAS               343 CALLE 15                                                                           SAN GERMAN          PR           00683
   711892 MARIA GRIFITHS              410 NORZAGARAY APT 2                                                                                                          SAN JUAN            PR           00901
   298612 MARIA GUERRERO DE LEON      REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   711894 MARIA GUERRERO RODRIGUEZ                    LEVITTOWN              DF 12 CALLE LAGO CAONILLA                                                              TOA BAJA            PR           00949
                                                                             16 BO VALLAS TORRS BO VALLAS
   711895 MARIA GUILLEN MEDINA                        CENTRAL MERCEDITA      TORRS                                                                                  MERCEDITA           PR           00715
   298613 MARIA GUILLOT DELGADO                       REDACTED               REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711896 MARIA GUTIERREZ CABAN                       VEREDA DE LAS PALMAS   198 CALLE 12                                                                           GURABO              PR           00778
   298614 MARIA GUTIERREZ RIVERA                      REDACTED               REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298615 MARIA GUZMAN ALICEA                         REDACTED               REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711899 MARIA GUZMAN GONZALEZ                       HC 61 BOX 6051                                                                                                TRUJILLO ALTO       PR           00976
   711900 MARIA GUZMAN NIEVES                         ADM SERV GEN           PO BOX 7428                                                                            SAN JUAN            PR           00916‐7428
   298616 MARIA GUZMAN SEGUI                          REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711901 MARIA H BERRIOS                             URB LOS LAURELES       26 CALLE LOS ROBLES                                                                    CAYEY               PR           00736
   298617 MARIA H CARDONA SERRANO                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711903 MARIA H CORTES RIVERA                       URB HIPODROMO 1462     CALLE AMERICA APT 3D                                                                   SAN JUAN            PR           00909
   711904 MARIA H CRUZ TORRES                         URB SAN ANTONIO        P 6 CALLE I                                                                            ARROYO              PR           00714

   711906 MARIA H FELICIANO CARABALLO 261 CALLE CASTRO VINAS                                                                                                        SAN JUAN            PR           00912
   298618 MARIA H GARCIA COLON        REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  298619 MARIA H GORBEA LANDRON                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  298620 MARIA H GORBEA OD                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  298622 MARIA H LUNA GARCIA                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  298623 MARIA H PEDRAZA QUIJANO                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  711909 MARIA H PEREZ ROMAN                          MONTE BELLO                  16131 CALLE HORTENSIA                                                                   RIO GRANDE        PR         00745
  711910 MARIA H RAMIREZ ORTIZ                        VALLE ESCONDIDO              510 CALLE BROMELIA                                                                      CAROLINA          PR         00987
  711911 MARIA H RIOS GANDARA                         2822 FORT DRIVE                                                                                                      ALEXANDRIA        VA         22303
  298625 MARIA H RODRIGUEZ VEGA                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  298626 MARIA H RUIZ CORTEZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  298627 MARIA H SERRANO MARTINES                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  298628 MARIA H TORRES PEREZ                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  298630 MARIA HANCE PIZARRO                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  711916 MARIA HEREDIA RODRIGUEZ                      P O BOX 758                                                                                                          BARCELONETA       PR         00617
  298634 MARIA HERNANDEZ ALAMO                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   298637 MARIA HERNANDEZ FIGUEROA                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   298639 MARIA HERNANDEZ GONZALEZ                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   711918 MARIA HERNANDEZ JIMENEZ                     EL MANANTIAL                 EDIF 7 APT 176                                                                          SAN JUAN          PR         00928
   298640 MARIA HERNANDEZ LOPEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   711919 MARIA HERNANDEZ MARRERO                     BO SANDRAS                   A 23 INT CALLE MERCURIO                                                                 VEGA BAJA         PR         00683
   711921 MARIA HERNANDEZ MORALES                     RR 1 BOX 11712                                                                                                       TOA ALTA          PR         00953

   711922 MARIA HERNANDEZ NEGRON                      URB ALTURAS DE FLAMBOYAN     J 7 CALLE 4                                                                             BAYAMON           PR         00959
   298641 MARIA HERNANDEZ PEREZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   711923 MARIA HERNANDEZ REYES                       RR 2 BOX 7807                                                                                                        CIDRA             PR         00739

   711924 MARIA HERNANDEZ RODRIGUEZ BOX 1538                                                                                                                               CANOVANAS         PR         00729
   298621 MARIA HERNANDEZ ROMAN     REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   711925 MARIA HERNANDEZ SANTIAGO                    159 BO QUEBRADA CRUZ                                                                                                 TOA ALTA          PR         00953

   298643 MARIA HERNANDEZ SEGUINOT                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   711926 MARIA HERNANDEZ TORRES                      VILLA NUEVA                  Y 29 CALLE 19                                                                           CAGUAS            PR         00725
   298644 MARIA HERNANDEZ WILLIAM                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   709675 MARIA HERRERA                               54 CALLE AURORA                                                                                                      PONCE             PR         00731
   711928 MARIA HERRERA MELENDEZ                      BO ESPERANZA                 68 CALLE ORQUIDIA                                                                       VIEQUES           PR         00765
   709639 MARIA HIRALDO HANCE                         COND SAN JOSE EDIF 4 APT 8   399 CALLE CECILIA                                                                       SAN JUAN          PR         00923

   711929 MARIA HORTENCIA LEZAY                       CUPEY BAJO                   ANTIGUA VIA CARR 845 KM2 3                                                              TRUJILLO ALTO     PR         00926
   711931 MARIA I ACEVEDO REYES                       BO MAGUEYES BOX 1            CALLE 11                                                                                BARCELONETA       PR         00617
   298648 MARIA I ALICEA CRUZ                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   298650 MARIA I ALICEA PIETRENTONI                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   298651 MARIA I ALMODOVAR LABORDE                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   298652 MARIA I ALONSO GARCIA                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          MARIA I ALONSO
   298653 MARTINEZ/GENESIS GREEN                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          MARIA I ALVARADO
   298654 MALDONADO                                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   711932 MARIA I ALVAREZ BEAMUD                      URB VALLE ALTO               G 11 CALLE 12                                                                           PONCE             PR         00731
   711933 MARIA I ALVAREZ FONSECA                     C 7 EXT SILVIA                                                                                                       COROZAL           PR         00783



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  298655 MARIA I ALVAREZ ROLDAN                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  711934 MARIA I ALVIRA PI¥ERO                        BOX 765 BO DAGUAO                                                                                                   NAGUABO              PR         00718
  711935 MARIA I APONTE                               TURABO GARDENS               R3‐33 CALLE J                                                                          CAGUAS               PR         00727
  298657 MARIA I ARIAS CRUZ                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   298658 MARIA I ARROYO DOMINGUEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   298659 MARIA I ARROYO SANTIAGO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   298660 MARIA I AVILES OCASIO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   298662 MARIA I AYALA DIAZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   711938 MARIA I AYALA ESCALANTE                     URB LA PLATA                 K 5 CALLE AMBAR                                                                        CAYEY                PR         00736
   711939 MARIA I AYALA MORALES                       HC 02 BOX 12107                                                                                                     LAJAS                PR         00667
   298663 MARIA I AYALA REYES                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   298664 MARIA I AYALA ROSA                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   298665 MARIA I BACO ALFARO                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   711940 MARIA I BAEZ                                URB CAPARRA TER              1200 CALLE 16 SE                                                                       SAN JUAN             PR         00921
   711941 MARIA I BAEZ MENDEZ                         URB TINTILLO GDNS            B 10 CALLE 1                                                                           GUAYNABO             PR         00957
   711942 MARIA I BATISTA MARTINEZ                    CLUB COSTA MARINA 1          APT 2A                                                                                 CAROLINA             PR         00983
   298666 MARIA I BECERRA                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   298667 MARIA I BENABE GARCIA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   711943 MARIA I BENDO                               17 KNOLL RD                                                                                                         TENAFLY              NY         07670‐1007
   298668 MARIA I BENITEZ                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   298669 MARIA I BERMUDEZ TANON                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   298670 MARIA I BERRIOS COLON                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   711944 MARIA I BERRIOS IZQUIERDO                   109 AVE FD ROOSEVELT         COND MALAGA APT 204                                                                    SAN JUAN             PR         00917‐2707
   711945 MARIA I BERRIOS RIVERA                      PO BOX 9023899                                                                                                      SAN JUAN             PR         00902‐3899

   298671 MARIA I BRUGUERAS CERNUDA                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   711948 MARIA I BURGOS LOYO                         HC 03 BOX 9792                                                                                                      BARRANQUITAS         PR         00794
   711949 MARIA I BURGOS RODRIGUEZ                    URB SANTA JUANITA AK 63      CALLE HIDALGO                                                                          BAYAMON              PR         00956

   711950 MARIA I CABRERA MALDONADO                   HC 01 BOX 2824                                                                                                      MOROVIS              PR         00687
   298672 MARIA I CALCANO EUSEBIO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   298673 MARIA I CARDONA COLL                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   298674 MARIA I CARDONA VELEZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   711951 MARIA I CARTAGENA BONES                     LOMAS VERDES                 3 U 1 DOMINGO PEREZ                                                                    BAYAMON              PR         00956
   298675 MARIA I CARTAGENA COLON                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARIA I CASTELLANO
   711952 RODRIGUEZ                                   HC 01 BOX 5710                                                                                                      GURABO               PR         00778
                                                                                   399 CALLE SARGENTO MEDINA
   711953 MARIA I CASTRO                              EGIDA DEL MAESTRO            HAB 308                                                                                SAN JUAN             PR       00918
   711955 MARIA I CASTRO MARTINEZ                     HC 2 BOX 13102                                                                                                      HUMACAO              PR       00791‐9651
   298676 MARIA I CASTRODAD ORTIZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   298677 MARIA I CATALAN ROSADO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   298678 MARIA I CAUSSADE                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   711956 MARIA I CEPEDA OTERO                        P O BOX 2306                                                                                                        BAYAMON              PR       00960
          MARIA I CHARBONNIER
   711957 DELGADO                                     PARQUE ECUESTRE              L 30 CALLE MADRILENA                                                                   CAROLINA             PR         00987
   711958 MARIA I CINTRON BARROSO                     BDA BLONDET                  144 CALLE F                                                                            GUAYAMA              PR         00784‐6811
   298679 MARIA I CINTRON NIEVES                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   298680 MARIA I CINTRON RAMOS                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   711959 MARIA I CLAUDIO IRIZARRY                    URB LEVITTOWN                PASEO DUEY 1365             1RA. SECCION                                               TOA BAJA             PR         00949
   711960 MARIA I CLAUDIO LOPEZ                       URB VILLA REAL E 1 CALLE 3                                                                                          VEGA BAJA            PR         00693




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          MARIA I COLLAZO Y/O CARMELO
   711961 ALBARRAN                    COM LOS PINOS                                ESTRUCTURA 214                                                                      UTUADO              PR           00814
   711962 MARIA I COLON CINTRON       URB VILLA FONTANA                            VIA 17 CR‐1                                                                         CAROLINA            PR           00983

   711963 MARIA I COLON DE ORTIZ                      URB REPARTO METROPOLITANO 939 CALLE 9 SE                                                                         SAN JUAN            PR           00921
   711965 MARIA I COLON MORALES                       TURABO GARDENS            R 20 MARIA L CAMPOS                                                                    CAGUAS              PR           00727

   298681 MARIA I CORDOVA GONZALEZ                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711969 MARIA I CORREA NATAL                        HC 7 BOX 24027                                                                                                   PONCE               PR           00731
   298683 MARIA I CORTES CABAN                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711970 MARIA I CORTI FELICIANO                     PO BOX 9274                                                                                                      CAROLINA            PR           00988
   298684 MARIA I CRESPO MORALES                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298685 MARIA I CRUZ ESCALERA                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298686 MARIA I CRUZ MANDEZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711971 MARIA I CRUZ PIZARRO                        PO BOX 115                                                                                                       GUAYNABO            PR           00970
   711972 MARIA I CRUZ TORRES                         PO BOX 371                                                                                                       JUANA DIAZ          PR           00795‐0371
   298687 MARIA I CRUZ VEGA                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711973 MARIA I DAVILA RODRIGUEZ                    URB VALLE ARRIBA             191 CALLE ACACIA                                                                    COAMO               PR           00769
   711974 MARIA I DE JESUS                            PO BOX 5932                                                                                                      CAGUAS              PR           00726
   711976 MARIA I DE JESUS TORRES                     RES LUIS PALES MATOS         EDIF C 30 APT 196                                                                   GUAYAMA             PR           00705
   298689 MARIA I DEL VALLE GALARZA                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298691 MARIA I DEL VALLE ILARRAZA                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711979 MARIA I DEL VALLE MIRABAL                   RES FELIPE OSORIO            EDIF 19 APT 135                                                                     CAROLINA            PR           00985
   711981 MARIA I DELANNOY DE JESUS                   703 CALLE MIRAMAR            APT 501                                                                             SAN JUAN            PR           00907
   711982 MARIA I DELGADO                             URB PLA                      24 CALLE JUAN J GARCIA                                                              CAGUAS              PR           00725
   298692 MARIA I DELGADO AREISAGA                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711983 MARIA I DELGADO GONZALEZ                    HC 02 BOX 11194                                                                                                  JUNCOS              PR           00777
   298693 MARIA I DELGADO MORALES                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298694 MARIA I DIAZ CINTRON                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298695 MARIA I DIAZ FERNANDEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   711987 MARIA I DIAZ MARTINEZ                       URB EL VERDE 8 CALLE VENUS                                                                                       CAGUAS              PR           00725
   298697 MARIA I DIAZ MEJIAS                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711988 MARIA I DIAZ MORALES                        URB UNIVERSITY GARDENS       D 9 CALLE 3                                                                         ARECIBO             PR           00612
   711989 MARIA I DIAZ ORTIZ                          1 JARDINES DE CAMPO RICO     APT 112                                                                             SAN JUAN            PR           00924
          MARIA I DIAZ RIVERA / PAOLA
   711990 MADINA DIAZ                                 VILLA NAVARRA                629 CAALE J GONZALEZ                                                                SAN JUAN            PR           00924
   298698 MARIA I DIAZ RODRIGUEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298699 MARIA I DIAZ ROMAN                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298700 MARIA I DIAZ VINA                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298701 MARIA I ESCRIBANO RIVERA                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711993 MARIA I ESPADA MORALES                      HC 3 BOX 9738                                                                                                    BARRANQUITAS        PR           00794
   709676 MARIA I ESPINOSA PRIETO                     PO BOX 191362                                                                                                    SAN JUAN            PR           00919
   711994 MARIA I ESTEVES PONS                        P O BOX 925                                                                                                      UTUADO              PR           00641
   298702 MARIA I FAGUNDO ALVAREZ                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298703 MARIA I FELICIANO                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711995 MARIA I FERRER ROMAN                        BOX 661                      CARR 313                                                                            CABO ROJO           PR           00623
   711996 MARIA I FIGUEROA                            URB MONTECASINO              213 CALLE PINO                                                                      TOA ALTA            PR           00953
   298704 MARIA I FIGUEROA VEGA                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   711997 MARIA I FLORES ALEMANY                      URB LOS MAESTROS 779         CALLE TEODORO AGUILAR                                                               SAN JUAN            PR           00923

   711998 MARIA I FONSECA RODRIGUEZ                   URB SANTA JUANITA II         E 19 CALLE 7                                                                        CAGUAS              PR           00725
   298705 MARIA I FRED ROSADO                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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MML ID              NAME                                        ADDRESS 1              ADDRESS 2                     ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  711999 MARIA I GARAY DE SANABRIA                    VILLAS DEL RIO VERDE   Z92 CALLE 26                                                                            CAGUAS            PR         00725
  298706 MARIA I GARCIA DIAZ                          REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  712000 MARIA I GARCIA ROSADO                        HC 01 BOX 6025                                                                                                 GUAYNABO          PR         00971
  298709 MARIA I GARCIA VAZQUEZ                       REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  298710 MARIA I GARCIA VESC                          REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  712001 MARIA I GOMEZ DIAZ                           HC 2 BOX 18453                                                                                                 GURABO            PR         00778
  298711 MARIA I GONZALEZ                             REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  712003 MARIA I GONZALEZ COLON                       185 ISLOTE 2                                                                                                   ARECIBO           PR         00612

   298712 MARIA I GONZALEZ CONCEPCION REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712005 MARIA I GONZALEZ CONILL     URB EL CONQUISTADOR                    E 3 CALLE 7                                                                             TRUJILLO ALTO     PR         00976

   298713 MARIA I GONZALEZ DE ALMONTE REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298714 MARIA I GONZALEZ DE JESUS   REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   298715 MARIA I GONZALEZ GONZALEZ                   REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298716 MARIA I GONZALEZ PEREZ                      REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712006 MARIA I GONZALEZ RIVERA                     ALTURAS DE FLAMBOYAN   L 20 CALLE 4                                                                            BAYAMON           PR         00956

   298717 MARIA I GONZALEZ RODRIGUEZ                  REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARIA I GONZALEZ Y/O LYDIA
   298718 MERCADO                                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298719 MARIA I GUZMAN MARQUES                      REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298720 MARIA I GUZMAN SANTIAGO                     REDACTED               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712007 MARIA I HADGE FELIX                         BO LEGUILLAR           BZN E 59                                                                                VIEQUES           PR         00765
   712008 MARIA I HERNANDEZ AYALA                     URB VISTA BELLA        L11 CALLE 7                                                                             BAYAMON           PR         00956

   298722 MARIA I HERNANDEZ CALDERON REDACTED                                REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARIA I HERNANDEZ
   712011 HERNANDEZ                   HC 01 BOX 5642                                                                                                                 OROCOVIS          PR         00720
   712012 MARIA I HERNANDEZ LUGO      P O BOX 4609                                                                                                                   PONCE             PR         00733
   712013 MARIA I IRIZARRY SILVA      URB STARLIGHT                          3709 CALLE ANTARES                                                                      PONCE             PR         00717‐1488
   298724 MARIA I ITHIER SEPULVEDA    REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712015 MARIA I JIMENEZ             PO BOX 21365                                                                                                                   SAN JUAN          PR         00928
   712016 MARIA I JIMENEZ CHAFEY      609 CALLE CUEVILLAS                    APT 1 B                                                                                 SAN JUAN          PR         00907
                                      1 COND JARDINES DE SAN
   712017 MARIA I JIMENEZ LUGO        FRANCISCO                              APT 605 AVE DE DIEGO FINAL                                                              SAN JUAN          PR         00927
   298726 MARIA I JUARBE LOPEZ        REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298727 MARIA I JUSINO RAMIREZ      REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298729 MARIA I LABOY VEGA          REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARIA I LATALLADI /YOCELLYN
   712021 LATALLADI                   PUERTO NUEVO                           NE 311 CALLE 11                                                                         SAN JUAN          PR         00920
   298730 MARIA I LAVIENA LAVIENA     REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298731 MARIA I LEBRON ESCALERA     REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712022 MARIA I LEBRON PASTRANA     CIUDAD JARDIN                          324 CALLE CLAVEL                                                                        CAROLINA          PR         00987
   712023 MARIA I LEON PEREZ          BDA FELICIA                            155 CALLE 4                                                                             SANTA ISABEL      PR         00757
   712024 MARIA I LOPEZ               BOX 635                                                                                                                        CIDRA             PR         00739
   298732 MARIA I LOPEZ COLON         REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712025 MARIA I LOPEZ DE CRUZ       P O BOX 22025                                                                                                                  SAN JUAN          PR         00931
   298733 MARIA I LOPEZ EGURBIDA      REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298734 MARIA I LOPEZ GONZALEZ      REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712026 MARIA I LOPEZ RONDON        DELBREY 264 PDA. 25                                                                                                            SANTURCE          PR         00912
   298735 MARIA I LOZADA DIAZ         REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  712027 MARIA I LOZADA SANTIAGO                      HC 05 BOX 6584                                                                                                    AGUAS BUENAS      PR         00307‐9707
  298736 MARIA I MALAVE BOSCH                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  712028 MARIA I MALAVE RODRIGUEZ                     URB APONTE                   15 CALLE WASHINGTON                                                                  CAYEY             PR         00736
         MARIA I MALDONADO
  298737 RODRIGUEZ                                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  298739 MARIA I MARCANO DIAZ                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  712029 MARIA I MARRERO GARCIA                       EXT VILLA RICA               G 24 CALLE 1                                                                         BAYAMON           PR         00959
  712030 MARIA I MARRERO NADAL                        HC 2 BOX 7812                                                                                                     CIALES            PR         00638

   298740 MARIA I MARTINEZ CABALLERY                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298741 MARIA I MARTINEZ DIAZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   712033 MARIA I MARTINEZ GONZALEZ                   P O BOX 473                                                                                                       BAJADERO          PR         00616
   712034 MARIA I MARTINEZ MORALES                    HC 2 BOX 10410                                                                                                    UANA DIAZ         PR         00795
   298742 MARIA I MATEO DE JESUS                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298743 MARIA I MATIAS MATIAS                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712036 MARIA I MATOS                               53 CALLE SAN DIONISIO                                                                                             MAYAGUEZ          PR         00680
   298744 MARIA I MAYOL RENTAS                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298745 MARIA I MEJIA DE GOMEZ                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298746 MARIA I MEJIAS MARTINEZ                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712037 MARIA I MELENDEZ MIRANDA                    HC 9 BOX 2398                                                                                                     SABANA GRANDE     PR         00637
   298747 MARIA I MELENDEZ VAZQUEZ                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712038 MARIA I MENDOZA DIAZ                        HC‐44 BOX 12901                                                                                                   CAYEY             PR         00736‐9714
   298748 MARIA I MERCED PENA                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298749 MARIA I MIRANDA                             REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712040 MARIA I MIRANDA ROSADO                      PO BOX 449                                                                                                        COROZAL           PR         00783
   712044 MARIA I MORALES SANTOS                      BOX 881                                                                                                           BARRANQUITAS      PR         00794
   298750 MARIA I MORALES VELEZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298751 MARIA I MULERO DIAZ                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712046 MARIA I NAVARRO ANDINO                      PO BOX 936                                                                                                        TOA BAJA          PR         00951
   298753 MARIA I NIEVES GUZMAN                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                   CN 19 CALLE DR SALVADOR
   712047 MARIA I NIEVES MERCADO                      LEVITTOWN                    CARBONELL                                                                            TOA BAJA          PR         00949‐3300
   298754 MARIA I NUNEZ PADILLA                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712048 MARIA I OCASIO SANTIAGO                     P O BOX 8824                                                                                                      CAGUAS            PR         00726
   712049 MARIA I OJEDA O'NEILL                       B 504 COND MONTEBELLO                                                                                             TRUJILLO ALTO     PR         00976
   298755 MARIA I OLIVERA AYALA                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712050 MARIA I OLIVO CANCEL                        5833 CALLE LAS MARGARITA                                                                                          VEGA BAJA         PR         00693
   298756 MARIA I ORTIZ                               REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298757 MARIA I ORTIZ AMARO                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712052 MARIA I ORTIZ DAVILA                        PO BOX 146                                                                                                        LOIZA             PR         00772
   712053 MARIA I ORTIZ NEGRON                        HC 03 BOX 7804                                                                                                    BARRANQUITAS      PR         00794
   298758 MARIA I ORTIZ PERALES                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298759 MARIA I ORTIZ RODRIGUEZ                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712056 MARIA I ORTIZ ROSARIO                       URB VALLES DE MANATI         A 4 CALLE 1                                                                          MANATI            PR         00694
   298760 MARIA I ORTIZ TIRADO                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298761 MARIA I OTERO CARABALLO                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   298762 MARIA I OYOLA COLON                         REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712057 MARIA I PADILLA DAVILA                      P O BOX 846                                                                                                       COAMO             PR         00769

   712059 MARIA I PAGAN ALVAREZ                       URB ESMERALDA DEL SUR F‐21                                                                                        PATILLAS          PR         00723
   712061 MARIA I PEREZ                               URB REP METROPOLITANO        1251 CALLE 40 SE                                                                     SAN JUAN          PR         00921




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   298763 MARIA I PEREZ ENCARNACION                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712062 MARIA I PEREZ MARTINEZ                      HC 02 BOX 16800                                                                                                   ARECIBO             PR           00612
   712064 MARIA I PRATS PADILLA                       4TA EXT URB VILLA CAROLINA   155‐1 CALLE 429                                                                      CAROLINA            PR           00985
   298765 MARIA I QUIJANO ROMAN                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298768 MARIA I QUINONEZ TORRES                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   298769 MARIA I QUINTANA SEPULVEDA                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA I QUIRINDONGO
   712065 RODRIGUEZ                                   HCDA LA MATILDE              5022 CARETTA                                                                         PONCE               PR           00731
   712066 MARIA I RAICES CABRERA                      UNIVERSITY GARDENS           E 6 CALLE 1                                                                          ARECIBO             PR           00612
   298770 MARIA I RAMIREZ PAGAN                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298772 MARIA I RAMOS TORRES                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712068 MARIA I RESTO                               HC 860 BOX 8928                                                                                                   FAJARDO             PR           00738
   712069 MARIA I RIOS VELAZQUEZ                      P O BOX 1784                                                                                                      LUQUILLO            PR           00773
   298773 MARIA I RIPOLL DE AGUILAR                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712070 MARIA I RIVERA                              9224 87 TH AVE N                                                                                                  LARGO               FL           33777
   712071 MARIA I RIVERA ALVARADO                     HC 2 BOX 6638                                                                                                     MOROVIS             PR           00687
   298775 MARIA I RIVERA ATILES                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712072 MARIA I RIVERA BERRIOS                      SAN PEDRO                    C 42 CALLE 5                                                                         TOA BAJA            PR           00949
   298777 MARIA I RIVERA ECHEVARRIA                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298779 MARIA I RIVERA FLORES                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712075 MARIA I RIVERA GARCIA                       URB RIVERVIEW                Y 15 CALLE 20                                                                        BAYAMON             PR           00961
   712076 MARIA I RIVERA GONZALEZ                     URB MIRAFLORES               11‐5 CALLE 21                                                                        BAYAMON             PR           00957
   298780 MARIA I RIVERA LUCIANO                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712078 MARIA I RIVERA MELENDEZ                     PO BOX 651                                                                                                        MANATI              PR           00674
   298781 MARIA I RIVERA PINEIRO                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298782 MARIA I RIVERA QUINONES                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712079 MARIA I RIVERA REYES                        FAIR VIEW                    F 11 CALLE 10                                                                        SAN JUAN            PR           00926
   712080 MARIA I RIVERA RIVERA                       JARDINES DE CAYEY 1          D 3 CALLE 7                                                                          CAYEY               PR           00736
   712082 MARIA I RIVERA RODRIGUEZ                    HC 1 BOX 6016                                                                                                     BARRANQUITAS        PR           00794
                                                                                   1171 CALLE LUIS CORDOVA
   712083 MARIA I RIVERA ROSADO                       2DA EXT COUNTRY CLUB         CHIRINO                                                                              SAN JUAN            PR           00924
   298783 MARIA I RIVERA SANTIAGO                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298784 MARIA I RIVERA VAZQUEZ                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712084 MARIA I ROBLES                              K 2 RIVERSIDE                                                                                                     SAN GERMAN          PR           00683
   298785 MARIA I ROBLES MIRANDA                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712086 MARIA I RODRIGUEZ                           S 30 BO POLVORIN                                                                                                  CAYEY               PR           00736

   298786 MARIA I RODRIGUEZ BARRERO                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   712088 MARIA I RODRIGUEZ CALDERON URB LA PLATA                                  32 CALLE 6                                                                           COMERIO             PR           00782
          MARIA I RODRIGUEZ CORDERO H
   712089 N C TIENDA C                115 CALLE LUNA                                                                                                                    SAN GERMAN          PR           00683

   298788 MARIA I RODRIGUEZ FERNANDEZ REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   712087 MARIA I RODRIGUEZ FIGUEROA                  HC 02 BOX 5218                                                                                                    GUAYAMA             PR           00784

   298789 MARIA I RODRIGUEZ GONCALVES REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   298790 MARIA I RODRIGUEZ GONZALEZ                  REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298792 MARIA I RODRIGUEZ NIEVES                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  712092 MARIA I RODRIGUEZ RIVERA                     URB EL ROSARIO              152 CALLE 7                                                                             YAUCO               PR           00698

   298793 MARIA I RODRIGUEZ RODRIGUEZ REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   712095 MARIA I RODRIGUEZ ROSA      HC 56 BOX 4960                                                                                                                      AGUADA              PR           00602
   712098 MARIA I ROMAN HERRERA       P O BOX 416                                                                                                                         JUNCOS              PR           00777
                                                                                  CALLE FRANCISCO L AMADEO
   712099 MARIA I ROMERO PLAUD                        URB LEVITTOWN               EL12                         6TA. SECCION                                               TOA BAJA            PR           00949
   712100 MARIA I ROQUE SANTANA                       TURABO GARDENS              K‐13 CALLE 27                                                                           CAGUAS              PR           00725
   298796 MARIA I ROSADO ALMEDINA                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   298797 MARIA I ROSADO RODRIGUEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   712102 MARIA I ROSARIO ALEMAN                      HC 01 BOX 5477                                                                                                      GUAYNABO            PR           00971
   298798 MARIA I ROSARIO GONZALEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   298799 MARIA I ROSARIO OSORIO                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   712104 MARIA I RUIZ SANCHEZ                        BOX 334                                                                                                             AGUADA              PR           00602
   298800 MARIA I SANABRIA RUIZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   712109 MARIA I SANCHEZ CASTELLANO                  HC 01 BOX 5668                                                                                                      CIALES              PR           00638
   298801 MARIA I SANCHEZ GONZALEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                      359 CARPENUTER STREET APT
   712111 MARIA I SANCHEZ TORRES                      202                                                                                                                 PROVIDENCIA         PR           02909
   712114 MARIA I SANTANA RAMOS                       URB SIERRA BAYAMON          47‐15 CALLE 41                                                                          BAYAMON             PR           00961
   712115 MARIA I SANTANA SANCHEZ                     8 VOLCAN HATO TEJAS                                                                                                 BAYAMON             PR           00961
   298802 MARIA I SANTIAGO COLON                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   298803 MARIA I SANTIAGO CRUZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   712116 MARIA I SANTIAGO GARCIA                     URB BRISAS DEL VALLE        C8                                                                                      NAGUABO             PR           00718
   712118 MARIA I SANTIAGO RIVERA                     HC 03 BOX 9374                                                                                                      MOCA                PR           00676
   298804 MARIA I SANTIAGO TAPIA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   712119 MARIA I SANTOS                              BO GUARICO                  4 CALLE ERNESTO SANTOS                                                                  VEGA BAJA           PR           00694
   712120 MARIA I SARDINAS CASTRO                     ALT DE FLAMBOYAN            E 38 CALLE 6                                                                            BAYAMON             PR           00959
   298806 MARIA I SERRANO GONZALEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   712122 MARIA I SOLER AGOSTINI                      URB COLLEGE PARK            278 CALLE TUBINGEN                                                                      RIO PIEDRAS         PR           00921
   712124 MARIA I SOTO COLON                          COLINAS DE MONTE CARLO      A1‐6 CALLE 23                                                                           SAN JUAN            PR           00924
   712125 MARIA I SOTOMAYOR AVILES                    QUINTAS DE CANOVANAS        BOX 123 B12 CALLE 1                                                                     CANOVANAS           PR           00729
   712126 MARIA I TAMARGO LOPEZ                       URB EL VEDADO               208 ALMIRANTE PIZON                                                                     SAN JUAN            PR           00918
   298808 MARIA I TIRADO RODRIGUEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   298809 MARIA I TORRES DE RIVERA                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   712128 MARIA I TORRES MARTINEZ                     BO RIO CHIQUITO             304 K 2 H 8 PAN DURA                                                                    PONCE               PR           00731
   712129 MARIA I TORRES MERCADO                      URB BALDORIOTY              2818 CALLE DISTRITO                                                                     PONCE               PR           00728
   712130 MARIA I TORRES PEREZ                        VILLA MARISOL               PARC 1129 CALLE GIRASOL                                                                 TOA BAJA            PR           00956
                                                                                  F B 15 CALLE ANTONIO PEREZ
   712131 MARIA I TORRES ROSARIO                      LEVITTOWN                   PIERET                                                                                  TOA BAJA            PR           00949 2610
   298810 MARIA I TROMP                               REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                                                  DEPTO. DE SALUD‐ DIV.
   712132 MARIA I VALENTIN ANAYA                      C/O LUZ N. RIVERA           NOMINAS                      PO BOX 70184                                               SAN JUAN            PR           00936‐0184
   712136 MARIA I VAZQUEZ                             PO BOX 103                                                                                                          COMERIO             PR           00782
   712138 MARIA I VAZQUEZ COTTO                       URB LAS MERCEDES            125 C‐ 11                                                                               SALINAS             PR           00751

   712140 MARIA I VAZQUEZ DEL ROSARIO                 URB COSTA SUR               D 33 CALLE E                                                                            YAUCO               PR           00698
   712141 MARIA I VAZQUEZ FIGUEROA                    URB QUINTAS DE FAJARDO      G‐34 CALLE 6                                                                            FAJARDO             PR           00738
   298811 MARIA I VAZQUEZ MELENDEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   298812 MARIA I VEGA                                REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   298813 MARIA I VEGA HERNANDEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   298816 MARIA I VELEZ MELENDEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  298817 MARIA I VELEZ OLAN                           REDACTED                        REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  298818 MARIA I VELEZ SERGIO                         REDACTED                        REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  298819 MARIA I VERDI SILVA                          REDACTED                        REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  298820 MARIA I VIERA OSORIO                         REDACTED                        REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                      FJ 3 CALLE FRANCISCO GONZALEZ
   712143 MARIA I VILLANUEVA                          URB LEVITTOWN                   MARIN                                                                                   TOA BAJA            PR         00950
   298821 MARIA I VILLEGAS DIAZ                       REDACTED                        REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   712146 MARIA I VINAS DE CEINOS                     URB SAGRADO CORAZON 1631        CALLE SANTA BRIGIDA                                                                     SAN JUAN            PR         00926
   298822 MARIA I ZARZA MARTIN                        REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   712148 MARIA I ZAYAS RIVERA                        62 CALLE BARCELO                                                                                                        COROZAL             PR         00783
   298823 MARIA I. AMARO RODRIGUEZ                    REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   298824 MARIA I. BERENGUER CALDERON REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298825 MARIA I. BERRIOS COLON      REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298826 MARIA I. CACERES VIERA      REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298827 MARIA I. CAMACHO DE BELLO   REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298828 MARIA I. COLL GARCIA        REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   712149 MARIA I. COLON COLON                        232 AVE ELEONOR ROOSEVELT                                                                                               HATO REY            PR         00907
   298829 MARIA I. COLON RIVERA                       REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298830 MARIA I. DE JESUS                           REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298831 MARIA I. ESCALERA RIOS                      REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298832 MARIA I. FIGUEROA BRUSO                     REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
                                                      C/VILLA REAL 2394, INT.
   712150 MARIA I. FLORES                             CANTERA                                                                                                                 SAN JUAN            PR         00908
   298834 MARIA I. GONZALEZ MUNOZ                     REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298835 MARIA I. GONZALEZ SALGADO                   REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298836 MARIA I. GUZMAN ROJAS                       REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   712153 MARIA I. LORENZO CARABALLO                  HP ‐ OFICINA SERVS. LEY # 408                                                                                           RIO PIEDRAS         PR         009360000
   298837 MARIA I. LOYOLA RIVERA                      REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298839 MARIA I. MATEO DE JESUS                     REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298841 MARIA I. RAMOS DIAZ                         REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298842 Maria I. Rijos Lubring                      REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298843 MARIA I. RIVERA FRATICELLY                  REDACTED                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   712157 MARIA I. RIVERA NIEVES                      CALLE TAPIA 55 BDA VENEZUELA                                                                                            SAN JUAN            PR         00926
   298844 MARIA I. RODRIGUEZ DIAZ                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   712158 MARIA I. RODZ GARAY                         SABANA LLANA                 422 CALLE FLORIDA                                                                          SAN JUAN            PR         00925
   298845 MARIA I. ROMAN                              REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298846 MARIA I. SANCHEZ GONZALEZ                   REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298847 MARIA I. SANTIAGO RUIZ                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298849 MARIA I. SANTOS RIVERA                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298850 MARIA I. TIRADO HERNANDEZ                   REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   712159 MARIA I. TORRES ACEVEDO                     URB COSTA AZUL               Q1 CALLE 27                                                                                GUAYAMA             PR         00784
   298851 MARIA I. TORRES ROSARIO                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298852 MARIA I. TORRES SANTIAGO                    REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298854 MARIA I. VEGA TORRES                        REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   712160 MARIA IDALIA GUZMAN BONILLA MANSIONES DE RIO PIEDRAS                        1122 CALLE HORTENSIA                                                                    SAN JUAN            PR         00926
   712161 MARIA ILEANA DELGADO        PMB 68 P O BOX 5103                                                                                                                     CABO ROJO           PR         00623
   712162 MARIA INES ARCE MARTIAS     PARCELAS PALO BLANCO                            40 CALLE 4                                                                              ARECIBO             PR         00616



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   712165 MARIA INES MARTINEZ VAZQUEZ HC 02 BOX 9008                                                                                                                   COAMO               PR           00769
   298856 MARIA INES REBOLLO AYALA    REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298857 MARIA INES RIVERA CABRERA   REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712168 MARIA INES RODRIGUEZ        7 RUE DE PRAGUE                                                                                                                  PARIS                            75012         FRANCE
   298858 MARIA INES ROSARIO RIVERA   REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   298859 MARIA IRENE SANCHEZ RIVERA                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   712169 MARIA IRIZARRY CRUZ                         2408 CALLE PARQUE VICTORIA   APT 112                                                                             SAN JUAN            PR           00915
   712170 MARIA IRIZARRY GARCIA                       H C 4 BOX 71130                                                                                                  ARECIBO             PR           00612
   712172 MARIA ISABEL ALONSO                         CASILLA 22                                                                                                       OLMUE                                          CHILE
          MARIA ISABEL ALVARADO
   298860 RODRIGUEZ                                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA ISABEL ALVAREZ
   712173 RODRIGUEZ                                   BOX 10116                                                                                                        PONCE               PR           00732‐0116

   712174 MARIA ISABEL CARDONA SIERRA                 MANS DE RIO PIEDRAS          1800 CALLE FLORES                                                                   SAN JUAN            PR           00926
   712175 MARIA ISABEL CINTRON                        PALMAS DEL MAR               51 HARBOR LIGHT                                                                     HUMACAO             PR           00741
   298861 MARIA ISABEL CINTRON ROSA                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712177 MARIA ISABEL DIAZ REYES                     HC 1 BOX 6055                                                                                                    GUAYNABO            PR           00971

   298862 MARIA ISABEL DIAZ RODRIGUEZ                 REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   298863 MARIA ISABEL GARCIA GARCIA                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   298864 MARIA ISABEL GARCIA PERGUDO REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   298865 MARIA ISABEL GOMEZ LEBRON                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA ISABEL GONZALEZ
   298866 GONZALEZ                                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA ISABEL GUZMAN
   298867 MALDONADO                                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298868 MARIA ISABEL HERNANDEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712180 MARIA ISABEL IRIZARRY LUGO                  URB CAMINO DEL MONTE         5 PEDREGAL                                                                          GUAYNABO            PR           00970

   298869 MARIA ISABEL LANDRON RULLAN REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA ISABEL MARTINEZ
   298870 BURDIEZ                     REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   298871 MARIA ISABEL MORALES CRUZ                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   712182 MARIA ISABEL PALOS ALVARADO RAMON GANDIA 555 BALDRICH                                                                                                        SAN JUAN            PR           00918

   298872 MARIA ISABEL PIZARRO ALVAREZ REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   298873 MARIA ISABEL RIVERA MARTINEZ REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA ISABEL SANTIAGO
   712184 VAZQUEZ                      EL NUEVO PINO                               CALLE A 28                                                                          VILLALBA            PR           00766
          MARIA ISABEL SARRAMEDA
   298874 ROMAN                        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   298875 MARIA ISABEL SERRANO COLON REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  298876 MARIA ISABEL TORRES DIAZ                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  298877 MARIA ISABEL TORRES ROSAS                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   712186 MARIA IVELISSE PEREZ MOJICA                 HC 1 BOX 3344                                                                                              LAS MARIAS          PR         00670

   298881 MARIA IZABEL CATALAN ROSADO REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   712189 MARIA J ACOSTA MONTIJO      BOX 391                                                                                                                    LARES               PR         00669

   298882 MARIA J AFANADOR MARTINEZ                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   712190 MARIA J AGUAYO AGUAYO                       URB O REILLY 48          CALLE 2                                                                           GURABO              PR         00778
   298883 MARIA J ALBERTORIO RIPOLL                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   712191 MARIA J ALEJANDRO RESTO                     COND COBIAN PLAZA        APT 1713                                                                          SAN JUAN            PR         00909

   298884 MARIA J APONTE DE FIGUEROA                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298885 MARIA J APONTE TAPIA                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   712192 MARIA J ASTELARRA BONOM                     AUGUST FONT 21 08035                                                                                       BARCELONA                                  SPAIN
   712193 MARIA J AYALA ALVAREZ                       CORREO GENERAL                                                                                             LOIZA               PR         00772
   712194 MARIA J BANCHS CABRERA                      URB VALLE DE ANDALUCIA   3527 CALLE LINARES                                                                PONCE               PR         00728
   298886 MARIA J BARRERA OTERO                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298887 MARIA J CABANAS AYALA                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          MARIA J CAMPO BLANCA M
   298888 CAMPO                                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298889 MARIA J CANINO ARROYO                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   712197 MARIA J CARO GONZALEZ                       COND MONTE REAL          APT 4 A                                                                           SAN JUAN            PR         00926
   298890 MARIA J CEDENO NIEVES                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   712198 MARIA J CLAUDIO FERNANDEZ                   URB REP METROPOLITANO    1204 CALLE 44 SE                                                                  SAN JUAN            PR         00921

   712199 MARIA J COLLAZO RODRIGUEZ                   PO BOX 455                                                                                                 COAMO               PR         00769
   298891 MARIA J COLON                               REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298892 MARIA J COLON CABEZA                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   298893 MARIA J COLON GONZALEZ                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   298894 MARIA J CONCEPCION WINCLAIR REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   712201 MARIA J DEL LLANO SOBRINO   TIRRA ALTA 1                             C 1 CALLE CONDOR                                                                  GUAYNABO            PR         00969
   712202 MARIA J DIAZ ORTIZ          RES JOSE C BARBOSA                       EDIF 7 APTO 57                                                                    BAYAMON             PR         00957
   298897 MARIA J ESTRADA OCASIO      REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   712204 MARIA J FERNANDEZ ARRIETA   ZMS 245 RIO HONDO MALL                                                                                                     BAYAMON             PR         00961

   712205 MARIA J FERNANDEZ RODRIGUEZ ALTURAS DE VILLA DEL REY                 P 5 CALLE PORTUGAL                                                                CAGUAS              PR         00725
   298898 MARIA J FERRER PEREZ        REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   712206 MARIA J FIGUEROA ROMAN      PO BOX 452                                                                                                                 JUANA DIAZ          PR         00795
   298899 MARIA J FORNARIS            REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   712188 MARIA J FRANCO REYES        URB SAN ANTONIO                          F 6 CALLE 10                                                                      COAMO               PR         00769
          MARIA J FRANCO/CONSEJO RES
   712207 MANUEL A PERE               RES MANUEL A PEREZ                       EDIF F 21 APTO 186                                                                SAN JUAN            PR         00723
   298900 MARIA J GONZALEZ AGRASO     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   712211 MARIA J GONZALEZ JUSTINIANO                 BO NARANJALES            HC 04 BOX 44578                                                                   MAYAGUEZ            PR         00680
   712212 MARIA J GONZALEZ TIRADO                     ALTURAS DE MAYAGUEZ      R 9 CALLE ATALAYA                                                                 MAYAGUEZ            PR         00680
   712213 MARIA J GONZALEZ VAZQUEZ                    HC 10 BOX 7830                                                                                             SABANA GRANDE       PR         00637
   712214 MARIA J GUTIERRE VOTERO                     URB LAS COLONIAS         BZN 112 CALLE 2                                                                   VEGA ALTA           PR         00692
   298901 MARIA J HERNANDEZ                           REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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  298902 MARIA J IBANEZ SANCHEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  298904 MARIA J LATORRE                              REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   712218 MARIA J LEVEST DELGADO                      ROLLING HILLS                F 209 CALLE ESTADOS UNIDOS                                                              CAROLINA            PR         00987
   712221 MARIA J LOPEZ VALES                         HC 5 BOX 29623                                                                                                       CAMUY               PR         00627
          MARIA J MARTINEZ / CARLOS
   298905 MARTINEZ                                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298906 MARIA J MARTINEZ BARRETO                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   712222 MARIA J MARTINEZ RODRIGUEZ                  PO BOX 1470                                                                                                          MOCA                PR         00676
   712223 MARIA J MATOS MATEO                         URB ROOSEVELT 313            CALLE INGENIERO JUAN B       RODRIGUEZ                                                  SAN JUAN            PR         00918‐2744
   298907 MARIA J MEDINA GUARCH                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298908 MARIA J MELENDEZ FRANCO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298909 MARIA J MERCADO NIEVES                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712226 MARIA J MIRO ROSADO                         URB COUNTRY CLUB             939 CALLE TRIGUERO                                                                      SAN JUAN            PR         00924‐3339
   712227 MARIA J MOLINA ALAMO                        PO BOX 383                                                                                                           CAROLINA            PR         00985
   298910 MARIA J MUNOZ BAEZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298911 MARIA J NEGRON ROBLES                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712228 MARIA J NEGRON ROSADO                       BO MAVILLA                   KM 5.4 CARR 630                                                                         VEGA ALTA           PR         00692
   712231 MARIA J NIEVES LOPEZ                        PROYECTO GALATEO             L 13 CALLE 1                                                                            RIO GRANDE          PR         00745
   298912 MARIA J OCASIO MATOS                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712232 MARIA J OLIVIERI ORTIZ                      PUENTE DE JOBOS              CARR 707 85                                                                             GUAYAMA             PR         00784
   298913 MARIA J OLIVO MALDONADO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712233 MARIA J ORTIZ HERNANDEZ                     P O BOX 1059                                                                                                         YABUCOA             PR         00767
   298914 MARIA J ORTIZ ORTIZ                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712236 MARIA J ORTIZ SANTOS                        HC 33 BOX 3240                                                                                                       DORADO              PR         00646
   712237 MARIA J PAGAN                               URB VILLA NEVAREZ            1096 CALLE 15                                                                           SAN JUAN            PR         00927
                                                      PARCELAS SUAREZ BO MEDIANIA
   712238 MARIA J PARILLA SEPEDA                      BAJA                         119 CALLE 7                                                                             LOIZA               PR         00772
   712239 MARIA J PEDROZA FLORES                      HC 40 BOX 43299                                                                                                      SAN LORENZO         PR         00754‐9883
   298915 MARIA J PEREZ BADILLO                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712240 MARIA J PEREZ CHEVRES                       URB REXVILLE                 CL 8 CALLE 8                                                                            BAYAMON             PR         00957
   712241 MARIA J PEREZ QUILES                        PO BOX 532                                                                                                           HATILLO             PR         00659
   712243 MARIA J PEREZ SANTANA                       PO BOX 253                                                                                                           GURABO              PR         00778
   712244 MARIA J POMALES                             URB JARD DE CEIBA            D3 CALLE 6                                                                              CUBA                PR         00735
   298916 MARIA J POMALES MUNIZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712245 MARIA J PONTON NIEVES                       URB ESTANCIAS DE DEGETAU     58 CAKKE FEDERICO                                                                       CAGUAS              PR         00727
   298917 MARIA J RAMIREZ RIVERA                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712246 MARIA J RAMOS                               P O BOX 263                                                                                                          MOCA                PR         00676
   712249 MARIA J REYES FLORES                        VALLE CERRO GORDO            Z 13 TOPACIO                                                                            BAYAMON             PR         00956
   712250 MARIA J REYES RAMIREZ                       PO BOX 676                                                                                                           SAN LORENZO         PR         00754
   712252 MARIA J RIVAS ROSARIO                       HC 1 BOX 6538                                                                                                        CIALES              PR         00638
   298918 MARIA J RIVERA                              REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298920 MARIA J RIVERA DIAZ                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298921 MARIA J RIVERA LOPEZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712254 MARIA J RIVERA MARTINEZ                     COND PARQUE DEL ARCOIRIS     227 CALLE 2                                                                             TRUJILLO ALTO       PR         00976‐2857
   712255 MARIA J RIVERA PIZARRO                      EXT LA INMACULADA            EE 34 CALLE SANTA FE                                                                    TOA BAJA            PR         00949
                                                      COND MAR DE ISLA VERDE APT 5
   712256 MARIA J RIVERA RODRIGUEZ                    F                                                                                                                    SAN JUAN            PR         00979
   298923 MARIA J RIVERA ROSAS                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   298924 MARIA J RODRIGUEZ                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   298925 MARIA J RODRIGUEZ ALVAREZ                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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   712260 MARIA J RODRIGUEZ CARABALLO COM LA DOLORES                               318 CALLE MEXICO                                                                      RIO GRANDE          PR           00745

   712261 MARIA J RODRIGUEZ CARRERO                   HC 5 BOX 50298                                                                                                     AGUADILLA           PR           00603
   298926 MARIA J RODRIGUEZ CASTRO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   298927 MARIA J RODRIGUEZ GELABERT                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712262 MARIA J RODRIGUEZ LUGO                      PO BOX 10411                                                                                                       YAUCO               PR           00698

   712263 MARIA J RODRIGUEZ MENDOZA                   BOX 752                                                                                                            LAS PIEDRAS         PR           00771
   712265 MARIA J RODRIGUEZ SOTO                      URB VALLE ARRIBA             54 CALLE CEIBA                                                                        COAMO               PR           00769‐3635
   298928 MARIA J RODRIGUEZ TRIGO                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712266 MARIA J ROHENA ROMERO                       BO LA CENTRAL                CARR 874 136 BZN 9                                                                    CANOVANAS           PR           00729
   712267 MARIA J ROJAS RODRIGUEZ                     SIERRA BAYAMON               42‐3 CALLE 37                                                                         BAYAMON             PR           00969
   712268 MARIA J ROLDAN VICENTE                      URB SANTA ROSA               H 16 CALLE SHARON                                                                     CAGUAS              PR           00725
   298929 MARIA J ROMAN MATOS                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709677 MARIA J ROSARIO RIVERA                      URB LAS GARDENIAS            37 CALLE VIOLETA                                                                      MANATI              PR           00674
   298930 MARIA J ROZAS TOLEDO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298931 MARIA J SANTANA ESQUILIN                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712270 MARIA J SANTIAGO ESTRADA                    URB PUERTO NUEVO             407 CALLE DREDE                                                                       SAN JUAN            PR           00920
   712272 MARIA J SANTIAGO PEREZ                      HC 03 BOX 12407                                                                                                    CAMUY               PR           00627
   712273 MARIA J SANTIAGO RIVERA                     P O BOX 2607                                                                                                       BAYAMON             PR           00960
   298933 MARIA J SILVA COLL                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712274 MARIA J SOTO FONTAN                         P O BOX 975                                                                                                        MOROVIS             PR           00687
   712275 MARIA J SUREDA                              EL VOLCAN HATO TEJAS         83 CALLE A                                                                            BAYAMON             PR           00959
   712276 MARIA J TORRES CASTRO                       CUIDAD UNIVERSITARIA BB 13   CALLE 31                                                                              TRUJILLO ALTO       PR           00976

   298935 MARIA J TORRES DE CA¥IZARES                 REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA J TORRES DE
   712277 MALDONADO                                   PO BOX 710                                                                                                         PONCE               PR           00780
   712278 MARIA J TORRES LEON                         BDA POLVORIN                 95 CALLE LAS FLORES INT                                                               CAYEY               PR           00736

   712280 MARIA J TORRES RIVERA                       EDIF LOS OLMOS APT 207       207 CALLE ELEONOR ROOSEVELT                                                           SAN JUAN            PR           00918
   298936 MARIA J TORRES RODRIGUEZ                    REDACTED                     REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298937 MARIA J VALENTIN FIGUEROA                   REDACTED                     REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712281 MARIA J VARGAS                              URB INTERAMERICANA           Z 14 CALLE 24                                                                         TRUJILLO ALTO       PR           00976
   298938 MARIA J VARGAS PINEIRO                      REDACTED                     REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712282 MARIA J VAZQUEZ                             HC 43 BOX 10806              BO TOITA                                                                              CAYEY               PR           00736
   712283 MARIA J VAZQUEZ PEREZ                       HC 1 BOX 7654                                                                                                      LAS PIEDRAS         PR           00771
   712287 MARIA J VEGA FIGUEROA                       BOX 2356                                                                                                           SALINAS             PR           00751
          MARIA J ZALDUONDO
   712288 MACHICOTE                                   GARDEN HILLS TOWN PARK       26 S CALLE FLAMBOYAN                                                                  GUAYNABO            PR           00966
   298942 MARIA J. AGUILAR PEREZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   770721 MARIA J. ALEJANDRO RESTO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298943 MARIA J. APONTE TAPIA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298944 MARIA J. BERMUDEZ RIVERA                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA J. CARRASQUILLO
   298945 HERNANDEZ                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298946 MARIA J. COLON GONZALEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298947 MARIA J. DIAZ CANO                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   298948 MARIA J. FELICIANO HERNANDEZ REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          MARIA J. FERNANDEZ
   298949 CARRASQUILLO                                REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298950 MARIA J. FRANCO MARTINEZ                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA J. MARTINEZ (CAFETERIA
   712290 VILLAMAR)                                   P O BOX 1699                                                                                                     TOA BAJA            PR           00739
   298951 MARIA J. MELENDEZ FRANCO                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   298952 MARIA J. OCASIO BETANCOURT                  REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298953 MARIA J. PEREZ PADILLA                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298954 MARIA J. RODRIGUEZ                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712292 MARIA J. RODRIGUEZ RAMOS                    VILLA CAROLINA                 BLQ 152 16 CALLE 433                                                              CAROLINA            PR           00985
   298957 MARIA J. VARGAS LABOY                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298958 MARIA J.RIVERA MARTINEZ                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298959 MARIA JAMES MONTANEZ                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298960 MARIA JAUNARENA FERRARI                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712296 MARIA JESUSA MALDONADO                      HC 04 BOX 5432                                                                                                   HUMACAO             PR           00791
   298962 MARIA JIMENEZ AQUINO                        REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712298 MARIA JIMENEZ CALDERON                      PO BOX 1223                                                                                                      MOROVIS             PR           00687
   712299 MARIA JIMENEZ FELICIANO                     TOA ALTA HGTS                  O 4 CALLE 28                                                                      TOA ALTA            PR           00953
   298963 MARIA JIMENEZ MARQUEZ                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712300 MARIA JIMENEZ MENDEZ                        PO BOX 313                                                                                                       CAMUY               PR           00627
   298964 MARIA JIMENEZ SANTIAGO                      REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298965 MARIA JOHNSON SOTO                          REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712303 MARIA JORGE GUZMAN                          RES. VARONES S.J.                                                                                                Hato Rey            PR           009360000

   712305 MARIA JOSE FLETCHER                         3000 BISCAYNE BLVD SUITE 400                                                                                     MIAMI               FL           33137
   298967 MARIA JOSE RUIZ MELENDEZ                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA JOSE VAZQUEZ
   712307 ANTUNANO                                    2060 CALLE AMATISTA                                                                                              GUAYNABO            PR           00969
   712308 MARIA JOSEFA ORTIZ                          LAGUNA GARDENS I               APTO 4 J                                                                          CAROLINA            PR           00979
   712309 MARIA JOSEFA VALDES PLAZA                   VISTAMAR                       795 CALLE AVILA                                                                   CAROLINA            PR           00983

   298968 MARIA JOSEFINA BORRAS MATA REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   712310 MARIA JOSEFINA CERRA ORTIZ                  P O BOX 9023431                                                                                                  SAN JUAN            PR           00902‐3431

   298969 MARIA JOSEFINA VEGA DAVILA                  REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298970 MARIA JOUBERT CANALES                       REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA JUDITH BURGOS
   298971 MORALES                                     REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA JUDITH CARRASQUILLO
   712311 ORTIZ                                       URB EL TORITO                  I 16 CALLE 9                                                                      CAYEY               PR           00736
   298972 MARIA JUDITH DIAZ CASTRO                    REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA JUDITH MATOS
   712313 RODRIGUEZ                                   PO BOX 946                                                                                                       ARECIBO             PR           00613
          MARIA JUDITH REYES
   298974 MALDONADO                                   REDACTED                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   298975 MARIA JUDITH RIVERA ROBERTO REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298977 MARIA JULIA DAVILA DIAZ     REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   298978 MARIA JULIA PEREZ           REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712316 MARIA JUSINO                BO FUI                                         322 CALLE I                                                                       GUANICA             PR           00653




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   770722 MARIA K FERNANDEZ CARDONA                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   298979 MARIA L ACEVEDO SANCHEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   712318 MARIA L AGUAYO CARRION                      VILLA HUMACAO                L 24 CALLE MARGINAL N                                                                  HUMACAO             PR         00791‐4641
   298980 MARIA L ALCANTARA                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   712320 MARIA L ALFARO COLON                        COND MADRID PLAZA            CALLE GENERAL VALERO APT 707                                                           SAN JUAN            PR         00924
   298981 MARIA L ALMODOVAR ROSA                      REDACTED                     REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   298982 MARIA L ALVARADO BERMUDEZ                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          MARIA L ALVELO / LUIS E
   298983 GONZALEZ                                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   298985 MARIA L ANES REYES                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   712324 MARIA L APONTE ROSARIO                      BO PALO HINCADO              HC 03 BOX 9809                                                                         BARRANQUITAS        PR         00794
   298986 MARIA L APONTE SANTIAGO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   298988 MARIA L ARROYO MORALES                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          MARIA L ARROYO Y ROSA H
   298989 CORTES                                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   712329 MARIA L BAEZ HERNANDEZ                      PO BOX 3223                                                                                                         GUAYNABO            PR         00970
   712330 MARIA L BAEZ MANZANO                        RIO ABAJO                    5665 CALLE PROGRESO                                                                    VEGA BAJA           PR         00693

   298990 MARIA L BARRERA ZENGOTITA                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   712331 MARIA L BARRETO PEREZ                       HC 02 BOX 12212                                                                                                     MOCA                PR         00676
   712332 MARIA L BONET BENITEZ                       C/O IVONNE L ORTIZ           JUNTA DE RETIRO MAESTROS                                                               SAN JUAN            PR         00919‐1879
   712333 MARIA L BONILLA BONILLA                     PO BOX 370747                                                                                                       CAYEY               PR         00737
   298991 MARIA L BONILLA MAYAS                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   712334 MARIA L BONNET BENITEZ                      C/O IVONNE L ORTIZ           JUNTA DE RETIRO MAESTROS                                                               SAN JUAN            PR         00919‐1879

   712335 MARIA L BORRAS FERNANDEZ                    MANSIONES DE GARDEN HILLS    E 17 CALLE 1                                                                           GUAYNABO            PR         00966
   298992 MARIA L BORRERO BOU                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   298993 MARIA L BOSQUE FERNANDEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   298994 MARIA L BOYD ABAD                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   298995 MARIA L BURGOS RODRIGUEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   712337 MARIA L CANDELARIA GONZALEZ VILLAS DE CARRAIZO RR7                       BOX 246                                                                                SAN JUAN            PR         00926
   298996 MARIA L CAPOTE RIVERA       REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          MARIA L CARRASQUILLO
   712338 RODRIGUEZ                   HC 02 BOX 32094                                                                                                                     CAGUAS              PR         00727
   712340 MARIA L CASIANO TORRES      VILLA CAROLINA                               CALLE 503 BLOQ 214 28                                                                  CAROLINA            PR         00985
   298998 MARIA L CASILLAS            REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   298999 MARIA L CASTRO BENITEZ      REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   712341 MARIA L CASTRO MARTINEZ     VILLA FONTANA                                4JS 13 VIA 49                                                                          CAROLINA            PR         00983

   712342 MARIA L CASTRO RIVERA                       HC 01 BOX 11144 SANTA CRUZ                                                                                          CAROLINA            PR         00985
   299000 MARIA L CASTRO ROBLES                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   712343 MARIA L CASTRO TIRADO                       HC 03 BOX 6835                                                                                                      JUNCOS              PR         00777
   299001 MARIA L CHINEA RESTO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   712345 MARIA L CLAUSEL GARCIA                      URB JARDINES DE GUAMANI      D 17 CALLE 3                                                                           GUAYAMA             PR         00784
   712349 MARIA L COLOMBA BURGOS                      COMUNIDAD SAN MARTIN         PO BOX 03‐34                                                                           GUAYAMA             PR         00784
   299002 MARIA L COLON COLON                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   712351 MARIA L COLON MARCHESE                      EXT EL VALLE 2               320 CALLE LAUREL                                                                       LAJAS               PR         00667
   712352 MARIA L COLON PAGAN                         BO CORDILLERA                K 19 H 7 CARR 146                                                                      CIALES              PR         00638
   299003 MARIA L CONCEPCION                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  299004 MARIA L CORDOVA CORREA                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299006 MARIA L COTTO SANTIAGO                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  712356 MARIA L COX ALOMAR                           P O BOX 366676                                                                                                        SAN JUAN          PR         00936‐6676
  299007 MARIA L CRESPO IRIZARRY                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  712357 MARIA L CRUZ CIRINO                          PMB 255 PO BOX 1980                                                                                                   LOIZA             PR         00772
  712359 MARIA L CRUZ CRUZ                            HC 1 BOX 8032                                                                                                         SAN GERMAN        PR         00683
  712361 MARIA L CRUZ RAMOS                           HC 02 BOX 7205                                                                                                        YABUCOA           PR         00767‐9504
  712363 MARIA L CRUZ SANCHEZ                         HC 2 BOX 12 365                                                                                                       GURABO            PR         00778‐9613
  712365 MARIA L DARDET DE ORTEGA                     URB SANTA MARIA                1845 CALLE ACACIA                                                                      SAN JUAN          PR         00927
  299008 MARIA L DE JESUS KALIL                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299009 MARIA L DE JESUS ORTIZ                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   712366 MARIA L DEL VALLE BAEZ                      URB VILLA DEL REY EE‐6 CALLE 13                                                                                       CAGUAS            PR         00725
   712367 MARIA L DELGADO ROBLES                      HC 1 BOX 8809                                                                                                         RIO GRANDE        PR         00745
   712368 MARIA L DIAZ ACEVEDO                        HAC SAN JOSE                    394 VIA CONSTANZA                                                                     CAGUAS            PR         00727‐3045
   712369 MARIA L DIAZ CRUZ                           BO SABANA SECA                  5725 CALLE MORALES                                                                    TOA ALTA          PR         00952
   299010 MARIA L DIAZ FERNANDEZ                      REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712370 MARIA L DIAZ SERRANO                        P O BOX 1680                                                                                                          SAN JUAN          PR         00936
   299012 MARIA L DOMINICCI LUCCA                     REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712372 MARIA L DUEN COLON                          2 E CALLE RETIRO INT                                                                                                  GUAYAMA           PR         00784
   299013 MARIA L DUFAU LAGARRIGA                     REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712373 MARIA L ESCALERA                            BO OBRERO                       724 CALLE 15                                                                          SAN JUAN          PR         00915
   712374 MARIA L ESCRIBANO NIEVES                    BO SANTA TERESITA               BZN 57                                                                                CIDRA             PR         00739
   299014 MARIA L ESTEVEZ DATIZ                       REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712375 MARIA L FEBO FEBO                           URB DEL PILAR                   81 CALLE JAVIER ZEQUEIRA                                                              CANOVANAS         PR         00729

   712376 MARIA L FERNANDEZ GINDRIO                   URB ADOQUINES                  49 CALLE PRINCESA                                                                      SAN JUAN          PR         00926‐7357
   299015 MARIA L FERNANDEZ RIVERA                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299016 MARIA L FERRER RODRIGUEZ                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   712377 MARIA L FIGUEROA FELICIANO                  AMALIA MARIN PLAYA             37 CALLE 37                                                                            PONCE             PR         00731‐7327

   712378 MARIA L FIGUEROA GONZALEZ                   HC 55 BOX 8441                                                                                                        CEIBA             PR         00735

   712379 MARIA L FIGUEROA MONRES                     151 BO HIGUILLAR SAN ANTONIO                                                                                          DORADO            PR         00646
   299018 MARIA L FLAQUE COMAS                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712381 MARIA L FLORES                              VILLA DEL REY                2K 18 CALLE ORLEANS                                                                      CAGUAS            PR         00725
   299019 MARIA L FRANQUI                             REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299020 MARIA L FRENKY CANCEL                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712384 MARIA L FUSTER ZALDUONDO                    B‐9 URB LAS VILLAS                                                                                                    GUAYNABO          PR         00969
   712386 MARIA L GARCIA CASTRO                       RES LLORENS TORRES           EDIF 36 APTO 745                                                                         SAN JUAN          PR         00913
   712387 MARIA L GARCIA MARRERO                      URB VISTA VERDE              28 CALLE HUCAR                                                                           ISABELA           PR         00662
          MARIA L GARCIA Y/O FLORA M
   712388 GARCIA                                      URB PRADO ALTO                 C 11 CALLE 5                                                                           GUAYNABO          PR         00966
   299021 MARIA L GAUD VELEZ                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712389 MARIA L GOMEZ FERNANDEZ                     PO BOX 12365                                                                                                          SAN JUAN          PR         00926‐1365
   712390 MARIA L GONZALEZ                            11 CALLE COSTA                                                                                                        JUNCOS            PR         00777
   712391 MARIA L GONZALEZ ALERS                      PO BOX 1523                                                                                                           MAYAGUEZ          PR         00681
   299022 MARIA L GONZALEZ ALONSO                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   299023 MARIA L GONZALEZ HERNANDEZ REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   712393 MARIA L GONZALEZ MARTINEZ                   PO BOX 181                                                                                                            VILLALBA          PR         00766



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   712394 MARIA L GONZALEZ MERCADO                    SOLAR 294 COM MANI                                                                                                 MAYAGUEZ            PR           00682
   299024 MARIA L GONZALEZ NIEVES                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712395 MARIA L GONZALEZ OTERO                      9 CALLE GUILLERMO ESTEVES                                                                                          JAYUYA              PR           00664
   299025 MARIA L GUZMAN                              REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712397 MARIA L GUZMAN DE RIVERA                    M 15 URB VILLA RETIRO                                                                                              SANTA ISABEL        PR           00717
   712398 MARIA L GUZMAN PAGAN                        MONTE BRISAS                11 CALLE A                                                                             GURABO              PR           00778
   712401 MARIA L HERNANDEZ FEBO                      PO BOX 9888                 SANTURCE STATION                                                                       SAN JUAN            PR           00908

   299026 MARIA L HERNANDEZ MIRANDA                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712402 MARIA L HERNANDEZ ORTIZ                     BO HIQUILLAR                278 VILLA SANTA CALLE 1 D                                                              DORADO              PR           00646
   712403 MARIA L ILLERT LANAUZZE                     PO BOX 7126                                                                                                        PONCE               PR           00732
   770723 MARIA L IZQUIERDO REYES                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      PMB 334 138 AVE WISTON
   712404 MARIA L JARGUIN PALACIOS                    CHURCHIL                                                                                                           SAN JUAN            PR           00926
   299027 MARIA L JIMENEZ RODRIGUEZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299028 MARIA L JORGE GUZMAN                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712405 MARIA L LAUREANO RIVERA                     URB VILLA GUADALUPE DD5     CALLE 23                                                                               CAGUAS              PR           00725
   299030 MARIA L LOPEZ                               REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712408 MARIA L LOPEZ MIRANDA                       BOX 556                                                                                                            JUNCOS              PR           00777
   299032 MARIA L LOPEZ REYES                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712410 MARIA L LOPEZ ROMAN                         PO BOX 1061                                                                                                        BAYAMON             PR           00960
   299034 MARIA L LUGO MORALES                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712412 MARIA L LUGO OLIVERAS                       VILLA CONTESSA              PP8 CALLE VENECIA                                                                      BAYAMON             PR           00956
   712414 MARIA L LUGO SOTO                           P O BOX 1303                                                                                                       QUEBRADILLAS        PR           00678
   299035 MARIA L MAISONET REYES                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA L MALDONADO
   712417 CARTAGENA                                   PO BOX 978                                                                                                         AGUAS BUENAS        PR           00703
          MARIA L MALDONADO
   299036 FONTANEZ                                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA L MALDONADO
   712418 GONZALEZ                                    HC 05 BOX 10346                                                                                                    MOCA                PR           00676

   712419 MARIA L MALDONADO RIVERA                    BOX 24320                                                                                                          CAYEY               PR           00737‐2231

   712420 MARIA L MALDONADO TORRES                    HC 1 BOX 4284                                                                                                      NAGUABO             PR           00718‐9711
   712421 MARIA L MARCANO MORALES                     80 CALLE PUEBLITO DEL RIO                                                                                          LAS PIEDRAS         PR           00771
   299037 MARIA L MARCO                               REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299038 MARIA L MARIN COLON                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712423 MARIA L MARQUEZ RIVERA                      APARTADO 1095                                                                                                      RIO GRANDE          PR           00745
   299039 MARIA L MARQUEZ SANCHEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299040 MARIA L MARRERO JIMENEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712425 MARIA L MARRERO TORRES                      URB VISTA AZUL              R62 CALLE 19                                                                           ARECIBO             PR           00612
   299041 MARIA L MARTINEZ PIZARRO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   712426 MARIA L MARTINEZ RODRIGUEZ                  HC 71 BOX 1210                                                                                                     NARANJITO           PR           00719
   712427 MARIA L MARTINEZ TORRES                     VILLA FAJARDO I             EDIF A APT 2                                                                           FAJARDO             PR           00738
   299042 MARIA L MATIAS GONZALEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712428 MARIA L MATOS ROMAN                         BO SAN ANTON SOLAR 36       SA CALLEJON M RIVERA                                                                   CAROLINA            PR           00987
   712429 MARIA L MAYSONET GARCIA                     RES SANTA ELENA             EDIF A APT 61                                                                          SAN JUAN            PR           00921
   712430 MARIA L MAYSONET ROMERO                     62 CALLE MANATI                                                                                                    SAN JUAN            PR           00917
   712431 MARIA L MEDINA                              URB LA FE                   G 19 CALLE 13                                                                          JUANA DIAZ          PR           00795
   712432 MARIA L MEDINA ARROYO                       BO PAJAROS CAPITAN          CALLE MARTINEZ PARC 247                                                                TOA BAJA            PR           00951



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  299044 MARIA L MEDINA BATISTA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299045 MARIA L MEDINA CORDERO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  712433 MARIA L MEDINA GARCIA                        URB LA FE                   G 19 CALLE13                                                                           JUANA DIAZ        PR         00795
  712434 MARIA L MEDINA ROSA                          HC2 BOX 10395                                                                                                      GUAYNABO          PR         00971
  712435 MARIA L MEDINA VEGA                          308 CESAR SILVA             LA MERCED ROSS                                                                         SAN JUAN          PR         00918
  299046 MARIA L MELENDEZ DELANOY                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299047 MARIA L MENDEZ CARO                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  712437 MARIA L MERCADO RIVERA                       P O BOX 5665                                                                                                       CAGUAS            PR         00726
  299049 MARIA L MERCED RIVERA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  712438 MARIA L MIRANDA                              VILLA ESPANA                J11 CALLE ASTURIAS                                                                     BAYAMON           PR         00961

   712439 MARIA L MIRANDA ACEVEDO                     PARC MAMEY                  759 CALLE CONCEPCION VERA                                                              MOCA              PR         00676
   299050 MARIA L MIRANDA CRUZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299051 MARIA L MOCTEZUMA RUIZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712441 MARIA L MONGE SANTIAGO                      URB FLORAL PARK             521 CALLE ITALIA                                                                       SAN JUAN          PR         00917
   299052 MARIA L MONGES                              REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   299053 MARIA L MONTANEZ MARCANO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299054 MARIA L MORA ARIA                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712442 MARIA L MORALES GOMEZ                       COM LAS 500                 257 CALLE GRANITO                                                                      ARROYO            PR         00714
   712443 MARIA L MORALES RAMIREZ                     URB LOS MAESTROS            840 CALLE JOSE B ACEVEDO                                                               SAN JUAN          PR         00923

   712444 MARIA L MORALES RODRIGUEZ                   URB JARDINES FAGOT          I 7 CALLE 10                                                                           PONCE             PR         00731
   299056 MARIA L MUNOZ CEDENO                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299057 MARIA L MUNOZ PAGAN                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712446 MARIA L NAZARIO VAZQUEZ                     RES YAUCO HOUSING           EDIF 2 APT 10                                                                          YAUCO             PR         00698
   712448 MARIA L OLMO BETANCOURT                     PO BOX 21365                                                                                                       SAN JUAN          PR         00926‐1365
          MARIA L ORJALES DE
   712449 HERNANDEZ                                   PO BOX 1880                                                                                                        LARES             PR         00669
   712450 MARIA L ORTIZ BURGOS                        F 7 URB VALLE ALTO                                                                                                 CAYEY             PR         00736
   299060 MARIA L ORTIZ HERNANDEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299062 MARIA L ORTIZ ORTIZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712454 MARIA L ORTIZ PABELLON                      VILLA PALMERAS              2676 CALLE LINDA VISTA                                                                 SAN JUAN          PR         00915
   712455 MARIA L ORTIZ RIVERA                        PO BOX 856                                                                                                         COROZAL           PR         00783
   712456 MARIA L ORTIZ RODRIGUEZ                     BOX 251                                                                                                            MARICAO           PR         00606
   712458 MARIA L ORTIZ SANTIAGO                      PLACITA DON PEDRO           2 CALLE SANTO DOMINGO                                                                  YAUCO             PR         00698
   299063 MARIA L OTERO MENDEZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712459 MARIA L OTERO ROSADO                        HC 2 BOX 8611                                                                                                      CIALES            PR         00638
   712460 MARIA L PAGAN ZAYAS                         1225 LA ALBORADA APTO 421                                                                                          BAYAMON           PR         00959

   712461 MARIA L PANCORBO CALZADO                    URB VISTA VERDE 19          CALLE CORAL                                                                            MAYAGUEZ          PR         00680
   712462 MARIA L PANTOJA                             VILLA CONQUISTADOR          BOX 1830                                                                               CANOVANAS         PR         00729
   712464 MARIA L PEREZ                               HC 73 BOX 5086                                                                                                     NARANJITO         PR         00719‐9611
   299064 MARIA L PEREZ BRICENO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299065 MARIA L PEREZ COLON                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712465 MARIA L PEREZ DAVILA                        VILLA CAROLINA              76‐6 CALLE 24                                                                          CAROLINA          PR         00985
   299066 MARIA L PEREZ DIAZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299067 MARIA L PEREZ RIVERA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299068 MARIA L PEREZ RODRIGUEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712468 MARIA L PEREZ ROMAN                         954 CALLE MEXICO                                                                                                   ISABELA           PR         00662
   299070 MARIA L PINEIRO FIGUEROA                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299071 MARIA L QUINONES                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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   299072 MARIA L QUINONES FIGUEROA                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299074 MARIA L QUINONEZ                            REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299076 MARIA L QUINONEZ VICENTE                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   712469 MARIA L QUINTANA RODRIGUEZ PARKVILLE                                       X4 CALLE ALASKA                                                                          GUAYNABO            PR           00969
   712470 MARIA L RAMIREZ ACOSTA     URB HERMANAS DAVILA                             A 18 CALLE A                                                                             BAYAMON             PR           00959
   299077 MARIA L RAMIREZ PEREZ      REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   299078 MARIA L RAMIREZ RODRIGUEZ                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299079 MARIA L RAMOS ROQUE                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299080 MARIA L RAMOS TORRES                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299081 MARIA L REYES DE JESUS                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712473 MARIA L REYES JUSINO                        6732 CALLE GARDENIA            PO BOX 95                                                                                SABANA SECA         PR           00952‐4243
   712474 MARIA L RIOS ARROYO                         HC 1 BOX 7544                  BAJADERO                                                                                 ARECIBO             PR           00612
   299082 MARIA L RIVERA                              REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712477 MARIA L RIVERA CANTRES                      BO HIGUILLAR C 5 CALLE 12      PARC DE MONTE LINDO                                                                      DORADO              PR           00646
   712478 MARIA L RIVERA COLON                        URB LOMA ALTA                  C 38 CALLE 4                                                                             CAROLINA            PR           00987

   712479 MARIA L RIVERA GARNICA                      P O BOX 708 VICTORIA STATION                                                                                            AGUADA              PR           00605
   299084 MARIA L RIVERA NEGRON                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712481 MARIA L RIVERA ORTEGA                       HC 1 BOX 4042                                                                                                           UTUADO              PR           00641
   712482 MARIA L RIVERA RAMOS                        URB VERDE MAR                  573 CALLE 16                  PUNTA STGO                                                 HUMACAO             PR           00741
   712483 MARIA L RIVERA REYES                        COND CHATAU APT 803            91 CALLE CESAR GONZALEZ                                                                  SAN JUAN            PR           00918
   299085 MARIA L RIVERA ROBLES                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      COND COLINAS DE SAN JUAN 4
   709678 MARIA L RIVERA RODRIGUEZ                    29                                                                                                                      SAN JUAN            PR           00924
                                                                                     X15 CALLE 27 URB RIO GRANDE
   712486 MARIA L RIVERA RODRIGUEZ                    RIO GRANDE                     EST                                                                                      RIO GRANDE          PR           00745
   712487 MARIA L RIVERA ROSADO                       URB CAPARRA TERRACE 831        CALLE 17 SO                                                                              SAN JUAN            PR           00921
   299086 MARIA L RIVERA VAZQUEZ                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299089 MARIA L RIVERA VELEZ                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299090 MARIA L ROBLES RODRIGUEZ                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299091 MARIA L ROBLES VEGA                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299092 MARIA L RODRIGUEZ                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299093 MARIA L RODRIGUEZ ARES                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   712492 MARIA L RODRIGUEZ DE LEON                   HC 02 BOX 6352 BO SAMAS                                                                                                 JAYUYA              PR           00664

   712493 MARIA L RODRIGUEZ LAUREANO 24 BB‐12 URB VILLAS DE CASTRO                                                                                                            CAGUAS              PR           00725
   299095 MARIA L RODRIGUEZ LOPEZ    REDACTED                      REDACTED                                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA L RODRIGUEZ
   712494 MALDONADO                  URB LOMAS VERDES              A 30 CALLE ALMENDRA                                                                                        BAYAMON             PR           00956

   299096 MARIA L RODRIGUEZ NEGRONI                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712495 MARIA L RODRIGUEZ PEREZ                     BO ARENAS                      RR 2 BZN 5158                                                                            CIDRA               PR           00739

   299097 MARIA L RODRIGUEZ QUINONES REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712496 MARIA L RODRIGUEZ RIVERA   HC 80 BOX 6816                                                                                                                           DORADO              PR           00646 9512

   299100 MARIA L RODRIGUEZ RODRIGUEZ REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   712498 MARIA L RODRIGUEZ ROSADO                    PO BOX 628                                                                                                              NARANJITO           PR           00719



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  299101 MARIA L ROIG SERRANO                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299103 MARIA L ROLON RODRIGUEZ                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  712499 MARIA L ROMAN GONZALEZ                       122 B BDA ESTEVES                                                                                               AGUADILLA          PR         00603‐6602
  712500 MARIA L ROMAN ORTA                           URB PASEO LAS BRISAS      40 CALLE CAPRI                                                                        SAN JUAN           PR         00926
  712501 MARIA L ROMAN RIVERA                         BO MONTANES I             CARR 183 KM 17 5 APT 429                                                              LAS PIEDRAS        PR         00771
  299104 MARIA L ROMAN ROSA                           REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  712502 MARIA L ROMERO FIGUEROA                      EL MIRADOR                EDF 11 APTO 11 CS                                                                     SANTURCE           PR         00915
  712504 MARIA L ROSADO QUILES                        HC 2 BOX 8967                                                                                                   COROZAL            PR         00783
  712505 MARIA L ROSADO RIVERA                        HC 73 BOX 4229                                                                                                  NARANJITO          PR         00719
  712506 MARIA L ROSARIO                              PO BOX 7514                                                                                                     LOIZA              PR         00772
  299105 MARIA L ROSARIO MIRANDA                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  712507 MARIA L ROSARIO NEVAREZ                      HC 3 BOX 12442                                                                                                  COROZAL            PR         00783
  712508 MARIA L ROSARIO ROSARIO                      HC 40 BOX 42064                                                                                                 SAN LORENZO        PR         00754 9859
  712509 MARIA L RUIZ LLANEZA                         URB VILLA SERENA          R 1 CALLE LIRIO                                                                       ARECIBO            PR         00612
  712510 MARIA L SABO ECHEVARIA                       C/O ANTONIA DE JESUS      DEPTO. DE SALUD            PO BOX 70184                                               SAN JUAN           PR         00936‐8184
  712514 MARIA L SANCHEZ                              COM SANTIAGO Y LIMA       BOX 100                                                                               NAGUABO            PR         00718

   712515 MARIA L SANCHEZ RODRIGUEZ                   HC 1 BOX 5082                                                                                                   BARRANQUITAS       PR         00794
   299106 MARIA L SANTANA                             REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   712516 MARIA L SANTANA GUZMAN                      RR 01 BOX 13257                                                                                                 TOA ALTA           PR         00953‐9731
   712517 MARIA L SANTIAGO                            URB JARD DE TOA ALTA      92 CALLE 2                                                                            TOA ALTA           PR         00954
   712518 MARIA L SANTIAGO CARRION                    URB UNIVERSITY GARDENS    901 CALLE INTERAMERICANA                                                              SAN JUAN           PR         00927
          MARIA L SANTIAGO
   712519 MALDONADO                                   HC 2 BOX 6066                                                                                                   MOROVIS            PR         00657
   712520 MARIA L SANTIAGO MAS                        HC 01 BOX 3402                                                                                                  QUEBRADILLAS       PR         00678
   712521 MARIA L SANTIAGO RIVERA                     SIERRA BAYAMON            80‐22 CALLE 68                                                                        BAYAMON            PR         00961

   299107 MARIA L SANTIAGO RODRIGUEZ                  REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   712522 MARIA L SANTIAGO VANGA                      PO BOX 1494                                                                                                     DORADO             PR         00646
   712523 MARIA L SANTOS CARRION                      PO BOX 1183                                                                                                     GURABO             PR         00778
   712524 MARIA L SANTOS RODRIGUEZ                    RR 1 BOX 3039                                                                                                   CIDRA              PR         00739
   299108 MARIA L SEGARRA QUILES                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   712526 MARIA L SEIN LUCENA                         URB SANTA JUANITA         DK 13 CALLE ESCOSIA                                                                   BAYAMON            PR         00956
   712527 MARIA L SIERRA MOLINA                       RES VISTAS DE ATENAS      D 10 CALLE VENUS                                                                      MANATI             PR         00674
   712528 MARIA L SOSA                                URB VERSALLES             K 18 CALLE 10                                                                         BAYAMON            PR         00959‐2119
   712529 MARIA L SOSA SOTO                           JARD PIEDRAS BLANCAS      EDIF C APT 059                                                                        SAN SEBASTIAN      PR         00685
   712530 MARIA L SOTO                                BOX 639                                                                                                         LAS PIEDRAS        PR         00771
   299109 MARIA L SOTO CARABALLO                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   712531 MARIA L SOTO DE OLIVERA                     URB JARDINES DEL CARIBE   BB 44 CALLE 42                                                                        PONCE              PR         00731
   299110 MARIA L SOTO SANTIAGO                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MARIA L STUART Y/O SANTA T
   712533 MENDEZ                                      PO BOX 624                                                                                                      DORADO             PR       00646
   299111 MARIA L SUAREZ SUAREZ                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
   299112 MARIA L TAVAREZ PINOTT                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
   712534 MARIA L TIRADO PASTRANA                     RR 2 BZN 525                                                                                                    SAN JUAN           PR       00926‐9716
   299113 MARIA L TORO RIVERA                         REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED
   712535 MARIA L TORO TORRES                         H C 2 BOX 17603                                                                                                 LAJAS              PR       00667
   299114 MARIA L TORRES DE JESUS                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED REDACTED       REDACTED

   299115 MARIA L TORRES DE MONROIG                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   712538 MARIA L TORRES GONZALEZ                     BO ABRA SAN FRANCISCO     BOX 7039                                                                              ARECIBO            PR         00612
   299117 MARIA L TORRES MARTINEZ                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   712540 MARIA L TORRES MATIAS                       PMB 224 PO BOX 6022                                                                                             CAROLINA           PR         00984‐6022



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  712541 MARIA L TORRES MORIN                         REPTO METROPOLITANO           945 CALLE 29 SE                                                                            SAN JUAN          PR       00921‐2704
  299118 MARIA L TORRES ORTIZ                         REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  299119 MARIA L TORRES RUIZ                          REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  712542 MARIA L TORRES SANCHEZ                       URB ATLANTIC VIEW             63 CALLE NEPTUNO                                                                           CAROLINA          PR       00979
  712543 MARIA L TORRES SANTIAGO                      RES MARGARITA I               EDIF 21 APT 216                                                                            SAN JUAN          PR       00915
  712544 MARIA L TORRES TOLEDO                        A21A ESTRUCTURA                                                                                                          ARECIBO           PR       00612
  712545 MARIA L TRICOCHE CRUZ                        P O BOX 6315                                                                                                             PONCE             PR       00733‐6315
  299120 MARIA L VARGAS DOMINICCI                     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  299121 MARIA L VARGAS MEDINA                        REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED REDACTED     REDACTED
  712547 MARIA L VARGAS QUI¥ONES                      PO BOX 2079                                                                                                              MAYAGUEZ          PR       00681‐2079
  712548 MARIA L VAZQUEZ                              RR 1 BOX 10437                                                                                                           TOA ALTA          PR       00953
         MARIA L VAZQUEZ / HOGAR
  299122 SUST RENACER                                 REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299123 MARIA L VAZQUEZ CORDERO                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  712549 MARIA L VAZQUEZ OLIVERAS                     CIUDAD JARDIN                 390 JACINTO                                                                                CAROLINA          PR         00987
  712550 MARIA L VAZQUEZ SANTIAGO                     HC 3 BOX 31010                                                                                                           AGUADA            PR         00602
  712551 MARIA L VAZQUEZ TORRES                       PARC SAN ROMUALDO             70 A CALLE E                                                                               HORMIGUEROS       PR         00660
  299125 MARIA L VEGA RODRIGUEZ                       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         MARIA L VELEZ / ANA L
  299126 MALDONADO                                    REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299127 MARIA L VELEZ PADILLA                        REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  712553 MARIA L VELEZ RODRIGUEZ                      URB SIERRA LINDA            D 17 CALLE 1                                                                                 BAYAMON           PR         00957
  299128 MARIA L VIGIL HERNANDEZ                      REDACTED                    REDACTED                          REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      BANCO COOPERATIVO PLAZA STE
   712554 MARIA L VILA GARCIA                         1102                        623 AVE PONCE DE LEON                                                                        SAN JUAN          PR         00917

   712557 MARIA L VILLENEUVE ROMAN                    COND AVILA                    159 CALLE COSTA RICA APT 14 E                                                              SAN JUAN          PR         00917

   299129 MARIA L. ACEVEDO RODRIGUEZ                  REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299130 MARIA L. ACOSTA ACOSTA                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299131 MARIA L. BAEZ ESQUERDO                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARIA L. CARRASQUILLO
   299132 VAZQUEZ                                     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299133 MARIA L. COLON                              REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299134 MARIA L. CORREA DE JESUS                    REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                    1656 CALLE PNSC URB RIO
   712563 MARIA L. DE LA PUEBLA                       PARADISE HILL                 PIEDRAS HTS                                                                                SAN JUAN          PR         00926
   712566 MARIA L. DIAZ GARCIA                        CALL BOX 30000 SUITE 076                                                                                                 CANOVANAS         PR         00729
   712567 MARIA L. FUENTES OCASIO                     PO BOX 19175                                                                                                             SAN JUAN          PR         00910

   299135 MARIA L. GONZALEZ GONZALEZ                  REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712569 MARIA L. LOPEZ RAMOS                        C.S.M. BAYAMON                                                                                                           Hato Rey          PR         00936
   712570 MARIA L. LOPEZ REYES                        EXTENSION LA MILAGROSA        T15 CALLE K                                                                                BAYAMON           PR         00959‐4810
   770724 MARIA L. LOPEZ TRISTANI                     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299136 MARIA L. MARQUEZ CASTRO                     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299137 MARIA L. MARRERO RIVERA                     REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299138 MARIA L. MATOS MUðOZ                        REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299141 MARIA L. MATTA ROBLES                       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299142 MARIA L. MEDINA RIVERA                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299143 MARIA L. NIEVES GUZMAN                      REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   712573 MARIA L. NUNEZ LOPEZ                        Q34 CALLE 17 URB EL CORTIJO                                                                                              BAYAMON           PR         00956
   299144 MARIA L. ORTIZ MATIAS                       REDACTED                      REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  299145 MARIA L. ORTIZ RIVERA                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  299146 MARIA L. PAGAN FORTIS                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  299147 MARIA L. PEREZ BRICERRO                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  299148 MARIA L. PEREZ OTERO                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  299149 MARIA L. RAMIREZ MENDOZA                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  299150 MARIA L. REYES RODRIGUEZ                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  299151 MARIA L. RIVERA                              REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  299152 MARIA L. RIVERA MATOS                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  299154 MARIA L. RIVERA SANCHEZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  299155 MARÍA L. ROBLES ARROYO                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  299156 MARIA L. RODRIGUEZ RAMOS                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   299157 MARIA L. SANTIAGO CAMACHO                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299158 MARIA L. TORRES CRUZ                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712578 MARIA L.CACERES REYES                       60 A CALLE ISMAEL RIVERA                                                                                               SAN JUAN            PR         00911
   712579 MARIA LABIOSA                               URB LEVITTOWN                 1543 PASEO DELTA                                                                         TOA BAJA            PR         00949
   712580 MARIA LABOY BRUNO                           URB SAN GERARDO 1744          CALLE AUGUSTA                                                                            SAN JUAN            PR         00926
   712581 MARIA LABOY RAMOS                           URB JAIME C RODRIGUEZ         B 49 CALLE 2                                                                             YABUCOA             PR         00767
   712582 MARIA LABOY SANTIAGO                        HC 1 BOX 4296                                                                                                          CIDRA               PR         00739
   299159 Maria Lago Sabater                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299160 MARIA LAMBOY ARRAMBIDE                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   712584 MARIA LANCARA MALDONADO                     COND MALAGA PARK              APTO 62                                                                                  GUAYNABO            PR         00971
   709640 MARIA LAPORTE MARCIAL                       URB EL COMANDANTE             910 GARCILASO DE LA VEGA                                                                 SAN JUAN            PR         00924

   299161 MARIA LARACUENTE COLLAZO                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299163 MARIA LASALA SIBERON                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712585 MARIA LASALLES PEREZ                        PO BOX 7126                                                                                                            PONCE               PR         00732
   712586 MARIA LASSALA                               URB LOS DOMINICOS             B 35 CALLE SAN AGUSTIN                                                                   BAYAMON             PR         00957
   712587 MARIA LASTRA COLON                          PO BOX 7126                                                                                                            PONCE               PR         00732
   712588 MARIA LATIMER CORDERO                       JARDINES METROPOLITANO        335 CALLE GALILEO                                                                        SAN JUAN            PR         00927
   299164 MARIA LAURA HUERTAS SOSA                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712590 MARIA LEBRON ESTRADA                        HC 05 BOX 62226                                                                                                        CAGUAS              PR         00725
   712591 MARIA LEBRON OCASIO                         URB MIRA PALMERA              D 9 ACALLE FAJARDO                                                                       SAN JUAN            PR         00915
   299165 MARIA LEBRON QUINONEZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712592 MARIA LEBRON RAMOS                          P O BOX 214                                                                                                            SALINAS             PR         00751‐0214
   299166 MARIA LEBRON ROSADO                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712593 MARIA LEBRON RUIZ                           URB SAN AGUSTIN               1159 CALLE LOPEZ SICARDO                                                                 SAN JUAN            PR         00923
   299167 MARIA LEFEBRE LLAVONA                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299168 MARIA LEGRAND MONTANEZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   712595 MARIA LEON CORDERO                          IDAMARIS GARDEN               N 24 CALLE ANGELINO FUENTES                                                              CAGUAS              PR         00725
          MARIA LIBERTAD MONTANEZ
   299169 CONCEPCION                                  REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIA LIBERTAS DERKERS
   712597 GUZMAN                                      VILLA PALMERAS                405 CALLE LUTZ                                                                           SAN JUAN            PR         00915
   712599 MARIA LLAMBIA                               UNIVERSITY GARDEN             203 CALLE FORDHAM                                                                        SAN JUAN            PR         00927
   712600 MARIA LLAUGER PEREZ                         PO BOX 7126                                                                                                            PONCE               PR         00732
   299170 MARIA LLOPART GIJON                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   709679 MARIA LOPATEGUI MARTINEZ                    419 INMACULADA                                                                                                         SAN JUAN            PR         00915
   299172 MARIA LOPEZ CARRASQUILLO                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   712602 MARIA LOPEZ DE JESUS                        COND ALAHABRA PLAZA APT 301                                                                                            PONCE               PR         00731



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  299173 MARIA LOPEZ DIAZ           REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299174 MARIA LOPEZ FELICIANO      REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  712604 MARIA LOPEZ FONTANEZ       RES SAN FERNANDO                                EDIF 17 APT 268                                                                   SAN JUAN          PR         00927
  712605 MARIA LOPEZ FRANCO         PO BOX 8721                                                                                                                       CAGUAS            PR         00726
  709680 MARIA LOPEZ GUZMAN         H C 3 BOX 36 547                                                                                                                  CAGUAS            PR         00725
  299176 MARIA LOPEZ LOPEZ          REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  712608 MARIA LOPEZ MALDONADO      URB MIRAFLORES                                  31014 CALLE TULIPAN                                                               DORADO            PR         00646
  299177 MARIA LOPEZ MENDEZ         REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299178 MARIA LOPEZ ORTIZ          REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299179 MARIA LOPEZ PEREZ          REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299180 MARIA LOPEZ QUINONES       REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  712609 MARIA LOPEZ ROCHE          HC 03 BOX 12039                                                                                                                   JUANA DIAZ        PR         00795‐9506
  712610 MARIA LOPEZ RODRIGUEZ      107 CALLE ANIMAS SUR                                                                                                              ARECIBO           PR         00612
  299181 MARIA LOPEZ SANCHEZ        REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299182 MARIA LOPEZ VELAZQUEZ      REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  712613 MARIA LOS A. BURGOS LOPEZ  VILLAS DE RIO GRANDE                            AH22 CALLE 21                                                                     RIO GRANDE        PR         00745
  712614 MARIA LOUBRIEL             CARR 307 KM 8 4                                                                                                                   BOQUERON          PR         00622
         MARIA LOURDES CARRASQUILLO
  299183 RODRIGUEZ                  REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  712616 MARIA LOZADA MORALES       URB SANTA ROSA                                  45 #6 CALLE 23                                                                    BAYAMON           PR         00959
  712618 MARIA LOZADA OSORIO        VILLA HUGO1                                     PARC 783 CALLE 2                                                                  CANOVANAS         PR         00729
  712619 MARIA LOZADA PEREZ         RR 02 BOX 7076                                                                                                                    TOA ALTA          PR         00953
  712620 MARIA LOZADA RIVERA        P O BOX 921                                                                                                                       COROZAL           PR         00783
  709681 MARIA LOZANO TORRES        HC 71 BOX 7295                                                                                                                    CAYEY             PR         00736
  712624 MARIA LUGO NEGRON          EXT DELICIAS                                    4322 CALLE GIMNASIA                                                               PONCE             PR         00728‐3713
  712627 MARIA LUGO ROSARIO         72 CALLE MERCURIO                                                                                                                 PONCE             PR         00731

   712628 MARIA LUIS ESCOBAR GONZALEZ COM LAS QUINIENTAS                            32 CALLE DIAMANTE                                                                 ARROYO            PR         00714
          MARIA LUIS FERNANDEZ
   299184 ADORNO                      REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARIA LUISA CLAUDIO
   712630 RODRIGUEZ                   RES RAUL CASTELLON                            EDIF 12 APTO 137                                                                  CAGUAS            PR         00725
   712631 MARIA LUISA COLLAZO         HC 1 BOX 3704                                                                                                                   COROZAL           PR         00783

   299185 MARIA LUISA COLON NAZARIO                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299186 MARIA LUISA DIAZ FLORES                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299188 MARIA LUISA FALCON DIAZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   712635 MARIA LUISA GONZALEZ PEREZ                  PO BOX 5242                                                                                                     CAGUAS            PR         00726

   712636 MARIA LUISA LANG SANDOVAL                   TRASTALLERES                  972 CALLEJON LA ROSA                                                              SAN JUAN          PR         00909

   299189 MARIA LUISA MARTINEZ PEREZ                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712637 MARIA LUISA MATTEI ARAY                     368 SAN GENARO                                                                                                  SAN JUAN          PR         00926
          MARIA LUISA MONROZEAU
   299190 LOPEZ                                       REDACTED                       REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712638 MARIA LUISA MU OZ                           BO ESPINO                      HC 30 BOX 36201                                                                  SAN LORENZO       PR         00754
                                                      HC 80 BOX 8321 SEC KUI PAD 132
   712639 MARIA LUISA OCASIO                          B ER                                                                                                            DARADO            PR         00646

   712629 MARIA LUISA OCASIO BORRERO                  VILLAS DE LOIZA               CALLE 6 18‐K                                                                      CANOVANAS         PR         00729
   299191 MARIA LUISA PEREZ VARGAS                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED




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          MARIA LUISA RODRIGUEZ
   299192 CASANOVA                                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA LUISA RODRIGUEZ
   712640 HERNANDEZ                                   A 27 BDA ISLA VERDE                                                                                      COAMO               PR           00769

   712641 MARIA LUISA ROSADO MONTES                   HC 1 BOX 3947                                                                                            MAUNABO             PR           00707

   712642 MARIA LUISA ROSARIO MORALES HC06 BOX 70898                                                                                                           CAGUAS              PR           00725‐9506

   299193 MARIA LUISA SOLANA COLLAZO                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712643 MARIA LUISA TIRADO DIAZ                     RES LAS CASAS          EDIF 19 APT 217                                                                   SAN JUAN            PR           00915

   712644 MARIA LUISA TORRES SANCHEZ                  EMBALSE SAN JOSE       409 CALLE CEUTA                                                                   SAN JUAN            PR           00928
   299194 MARIA LUISA VASQUEZ SIGUL                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712645 MARIA LUNA CABRERA                          PO BOX 843                                                                                               COMERIO             PR           00782

   712646 MARIA LUZ DE JESUS PEDRAZA                  HC 1 BOX 20823                                                                                           CAGUAS              PR           00725
          MARIA LUZ FIGUEROA
   712647 SANTAELLA                                   HC 01 BOX 5269                                                                                           JUNCOS              PR           00777

   299195 MARIA LUZ RIVERA RODRIGUEZ                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712649 MARIA LYDIA DONES SUAREZ                    URB VILLA CLARITA      E 20 CALLE 1                                                                      FAJARDO             PR           00738

   299196 MARIA M ABAD Y MABEL ABAD                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299197 MARIA M ABREU PENA                          REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299198 MARIA M ACEVEDO BONILLA                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299199 MARIA M ACEVEDO CORREA                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299200 MARIA M ACEVEDO FAJARDO                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   712655 MARIA M ACEVEDO RODRIGUEZ 3 50 URB SAN RAFAEL                                                                                                        CAGUAS              PR           00725
   299201 MARIA M ACOSTA BORGES     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299202 MARIA M ACOSTA GARCIA     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   299205 MARIA M ADORNO VELAZQUEZ                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299206 MARIA M AGOSTO                              REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   712657 MARIA M AGOSTO RODRIGUEZ                    JARDINES BARCELONA     I 11 CALLE 1                                                                      JUNCOS              PR           00777
   712658 MARIA M AGOSTO SERRANO                      RIVIERAS DE CUPEY      C 1 AZUCENA                                                                       SAN JUAN            PR           00926
   712659 MARIA M ALEJANDRO CRUZ                      FAJARDO GARDENS        368 CALLE CEDRO                                                                   FAJARDO             PR           00738
   299209 MARIA M ALEMAN RIVERA                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299210 MARIA M ALICEA                              REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712661 MARIA M ALICEA VEGA                         HC 9 BOX 5921                                                                                            SABABA GRANDE       PR           00637

   299211 MARIA M ALVARADO MARRERO                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299212 MARIA M ALVAREZ NIEVES                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712663 MARIA M ALVAREZ TORRES                      REPTO RIVERA           A 10 SECTOR BALLAJA                                                               CABO ROJO           PR           00623
   712664 MARIA M AMARO SANTIAGO                      HC 2 BOX 35729                                                                                           CAGUAS              PR           00725
   299213 MARIA M ANDINO                              REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA M ANDRADES
   299214 RODRIGUEZ                                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712665 MARIA M ANTUNA                              HC 1 BOX 3918                                                                                            ARROYO              PR           00714
   712666 MARIA M APONTE OQUENDO                      PO BOX 944                                                                                               SABANA SECA         PR           00952
   712667 MARIA M APONTE ORTEGA                       HC 08 BOX 1294                                                                                           PONCE               PR           00731‐9707



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  712669 MARIA M APONTE ROSA                          COLINAS DE FAIR VIEW         4 R 7 CALLE 217                                                                       TRUJILLO ALTO      PR         00976‐8225
  712670 MARIA M APONTE SANTOS                        URB VILLA DEL CARMEN         I 4 CALLE 9                                                                           CIDRA              PR         00739
  299215 MARIA M ARCHILLA ORTIZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  712671 MARIA M AROCHO SANTIAGO                      GOLDEN VILLAGE               BO LLANOS APT F 62                                                                    AIBONITO           PR         00705

   299216 MARIA M ARROYO FERNANDEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   712673 MARIA M ASENCIO PEREZ                       COND TORRES DE LOS FRAILES   APT 40                                                                                GUAYNABO           PR         00969
   712674 MARIA M AVILA MEDINA                        MUNOZ RIVERA                 33 CALLE ALBORADA                                                                     GUAYNABO           PR         00969
   712675 MARIA M AVILA SANCHEZ                       54 CALLE SANTIAGO                                                                                                  FAJARDO            PR         00738
   299218 MARIA M AVILA SOTO                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   299219 MARIA M AVILES ROSADO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   299220 MARIA M AYALA BURGOS                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   299221 MARIA M AYALA SEPULVEDA                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   712679 MARIA M BAEZ                                CALLE PEDRO VELAZQUEZ DIAZ   NUM 632                                                                               PE¥UELAS           PR         00624
   299222 MARIA M BAEZ ECHEVARIA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   712680 MARIA M BAEZ ECHEVARRIA                     URB VILLA VERDE              X 11 CALLE 2                                                                          BAYAMON            PR         00959
   299223 MARIA M BALINAS VAZQUEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   712681 MARIA M BARBOSA TORO                        BOX 201                                                                                                            HORMIGUEROS        PR         00660
   712682 MARIA M BELFORT                             175 CALLE TAMARINDO                                                                                                PONCE              PR         00731
   712683 MARIA M BELLAFLORES                         PO BOX 138                                                                                                         SALINAS            PR         00751
   712684 MARIA M BENITEZ LABOY                       HC 03 BOX 12416                                                                                                    YABUCOA            PR         00767
   299224 MARIA M BERMUDEZ ROLON                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   712685 MARIA M BERRIOS COLON                       HC 2 BOX 6606                                                                                                      AIBONITO           PR         00705
                                                                                   1006 CALLE FRANCISCO LA
   712686 MARIA M BETANCOURT AULET                    URB SAN MARTIN               ROCCA                                                                                 SAN JUAN           PR         00924

   712690 MARIA M BONILLA RODRIGUEZ                   REPARTO ROBLES               A 61 CALLE TURQUESA                                                                   AIBONITO           PR         00705
   299228 MARIA M BOU                                 REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   712691 MARIA M BRACERO ALICEA                      HC 01 BOX 24064                                                                                                    VEGA BAJA          PR         00693
   299229 MARIA M BULTES DELGADO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   712693 MARIA M BURGOS ORTIZ                        ESTANCIAS DEL GOLF           458 CALLE JUAN H CINTRON                                                              PONCE              PR         00730
   712694 MARIA M CABA GONZALEZ                       PO BOX 876                                                                                                         ADJUNTAS           PR         00601
   299230 MARIA M CABAN                               REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   299231 MARIA M CABAN RODRIGUEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   712696 MARIA M CALDERON NIEVES                     URB VILLA PRADES             650 CALLE CASIMIRO DUCHESNE                                                           SAN JUAN           PR         00924
   299233 MARIA M CALDERON RIVERA                     REDACTED                     REDACTED                    REDACTED                           REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   299234 MARIA M CALERO BARRIOS                      REDACTED                     REDACTED                    REDACTED                           REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   712698 MARIA M CAMBRELEN BELTRAN                   BO JUANA MATOS               1278 CALLE SANTA MARIA                                                                CATANO             PR         00962
   712699 MARIA M CANCEL CANCEL                       URB SANTA MARIA              D 14 CALLE 14                                                                         SAN GERMAN         PR         00683
   712700 MARIA M CANCEL CASIANO                      PO BOX 848                                                                                                         SAN GERMAN         PR         00683
   299235 MARIA M CANDELARIA PEREZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   299236 MARIA M CARABALLO                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   712701 MARIA M CARABALLO TORRES                    P O BOX 19174 FDEZ JUNCOS STA                                                                                      SAN JUAN           PR         00919
   712702 MARIA M CARBONELL MATTEI                    2157 AVE CARIBE ENSENADA                                                                                           GUANICA            PR         00647
   299237 MARIA M CARDONA CRESPO                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          MARIA M CARMONA
   299238 ENCARNACION                                 REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED




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   712703 MARIA M CARRASQUILLO DIAZ                   HC 02 BOX 32048                                                                                                        CAGUAS              PR           00727‐9454
   712705 MARIA M CARRERO RUIZ                        COM ESTELAS                   CALLE 6 BOX 2692                                                                         RINCON              PR           00677
   299239 MARIA M CARRILLO CINTRON                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299242 MARIA M CARRION DONATO                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   712706 MARIA M CASANOVA LORENZO                    PO BOX 7061 BO OBRERO STA                                                                                              SAN JUAN            PR           00916
   712707 MARIA M CASSE                               URB SAN FRANCISCO             153 VIOLETA                                                                              SAN JUAN            PR           00927
   712708 MARIA M CASTRO BASABE                       COND FONTANA TOWER            APT 1001                                                                                 CAROLINA            PR           00982‐3705
                                                                                    CARR 857 K4 H9 SECTOR LOS
   712712 MARIA M CATALA ARZOLA                       BO CANOVANILLAS               HONCES                                                                                   CAROLINA            PR           00984
   712713 MARIA M CENTENO OLMO                        P O BOX 425                                                                                                            CAMUY               PR           00627
   299245 MARIA M CESAREO ROSADO                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709682 MARIA M CHIQUES DE COLON                    HC 71 BOX 6901                                                                                                         CAYEY               PR           00736
   712715 MARIA M CINTRON CARDONA                     URB BELLA VISTA HTS           D7 CALLE 1 APT 3                                                                         BAYAMON             PR           00957
   712716 MARIA M COLBERG                             P O BOX 7173                                                                                                           SAN JUAN            PR           00916
   299246 MARIA M COLLAZO ALICEA                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299247 MARIA M COLLAZO NEGRON                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299249 MARIA M COLLAZO VARGAS                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   771169 MARIA M COLON APONTE                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712720 MARIA M COLON CARTAGENA                     URB BELLOMONTE                P11 CALLE 4                                                                              GUAYNABO            PR           00969
   299250 MARIA M COLON COTTO                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712721 MARIA M COLON CRUZ                          P OBOX 114                                                                                                             COMERIO             PR           00782
   712723 MARIA M COLON GONZALEZ                      245 MOODLY ST                                                                                                          LOWEL MASS          FL           01854
   299252 MARIA M COLON NEGRON                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712724 MARIA M COLON NIEVES                        URB VISTA DEL MORRO           R8 CALLE COTORRA                                                                         CATANO              PR           00962
   712726 MARIA M COLON SANTIAGO                      URB VILLA RETIRO              M 7 CALLE PRINCIPAL                                                                      SANTA ISABEL        PR           00757
   299253 MARIA M CORA LIND                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299254 MARIA M CORCHADO DAVILA                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712728 MARIA M CORCHADO PEREZ                      P O BOX 1736                                                                                                           MOCA                PR           00676

   712729 MARIA M CORDERO MARQUEZ                     2 CALLE FEDERICO GAMBARO                                                                                               LOIZA               PR           00772
   299255 MARIA M CORDOVA PEREZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA M CORREA
   712730 CARRASQUILLO                                JARDINES 2                    C 23 CALLE ORQUIDEA                                                                      CAYEY               PR           00736
   712731 MARIA M CORTES NAVARRO                      URB JARD DE GUAMANI           D 40 CALLE 16                                                                            GUAYAMA             PR           00784
   299256 MARIA M CORTES VARGAS                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299258 MARIA M COSME TANON                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                    L10 CALLE 8 EXT JARD DE SAN
   712732 MARIA M COSS MARTINEZ                       JARDS DE SAN LORENZO          LORENZO                                                                                  SAN LORENZO         PR           00754
   712733 MARIA M COTTO SANTANA                       HC 04 BOX 15780                                                                                                        HUMACAO             PR           00791‐9716
   299259 MARIA M CRESCIONI BENITEZ                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712734 MARIA M CRESPO GONZALEZ                     COND UNION NORTE              664 APTO 1201                                                                            SAN JUAN            PR           00907
   299260 MARIA M CRUZ AYALA                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      URB. VILLA OLIMPICA PASEO 4
   712737 MARIA M CRUZ BAYON                          #599                                                                                                                   SAN JUAN            PR           00924
   299261 MARIA M CRUZ BURGOS                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299262 MARIA M CRUZ COLON                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299263 MARIA M CRUZ CORTES                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299264 MARIA M CRUZ FONTAN                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299265 MARIA M CRUZ GONZALEZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299266 MARIA M CRUZ IRIZARRY                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299267 MARIA M CRUZ LUGO                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  712738 MARIA M CRUZ MENDEZ                          SAN JOSE                 330 CALLE ALMADEN                                                                    SAN JUAN              PR         00923
  712739 MARIA M CRUZ PEREZ                           HC 3 BOX 22802                                                                                                LAJAS                 PR         00667
  299268 MARIA M CRUZ QUINONEZ                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  299269 MARIA M CRUZ RODRIGUEZ                       REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  712741 MARIA M CRUZ SANTIAGO                        BO VEGA REDONDA          BOX 60                                                                               COMERIO               PR         00782
  712742 MARIA M CRUZ TORRES                          COND TORRES DEL PARQUE   AAPT 801 SUR                                                                         BAYAMON               PR         00965
  299271 MARIA M CUADRADO RIVERA                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  712743 MARIA M CUEVAS BURGOS                        URB VENUS GARDENS        1690 CALLE CHIHUAHUA                                                                 SAN JUAN              PR         00926
  712744 MARIA M DAVIILA                              HC 1 BOX 2480                                                                                                 LOIZA                 PR         00729
  299272 MARIA M DAVILA REXACH                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  712746 MARIA M DE JESUS                             PO BOX 711                                                                                                    CAYEY                 PR         00736

   299273 MARIA M DE JESUS ALVARADO                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   299274 MARIA M DE JESUS FIGUEROA                   REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   299275 MARIA M DE JESUS LOPEZ                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   712748 MARIA M DE JESUS RIVERA    URB ALTURAS DE FLAMBOYAN                  GG 29 CALLE 19                                                                       BAYAMON               PR         00909
          MARIA M DE THOMAS /ANTONIO
   299276 J R DE THOMAS              REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   712750 MARIA M DECLET             COND VILLAS DE ISLA VERDE                 APT B 211 AVE LAGUNA                                                                 CAROLINA              PR         00979
          MARIA M DEL RIO RAMOS /
   712751 EDDIE MORALES              URB LOS ANGELES                           71 CALLE D                                                                           CAROLINA              PR         00979
   712752 MARIA M DELGADO MORALES    HC 61 BOX 4159                                                                                                                 TRUJILLO ALTO         PR         00976

   712753 MARIA M DELGADO RODRIGUEZ                   HC 01 BOX 8322                                                                                                AGUAS BUENAS          PR         00703 9722
   299277 MARIA M DELIZ TERRON                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   712754 MARIA M DIANA PADILLA                       PO BOX 496                                                                                                    OROCOVIS              PR         00720
   712755 MARIA M DIAZ                                URB VILLA CAROLINA       B 196 H 38 CALLE 529                                                                 CAROLINA              PR         00985
   299278 MARIA M DIAZ BONILLA                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   299279 MARIA M DIAZ CORDOVA                        REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   712756 MARIA M DIAZ DAVILA                         URB VISTAS DE LUQUILLO   8 CALLE V I                                                                          LUQUILLO              PR         00773
   712757 MARIA M DIAZ DEL VALLE                      URB VILLA DEL REY        F 24 CALLE 28                                                                        CAGUAS                PR         00725
   712758 MARIA M DIAZ GIRONA                         URB MIRAFLORES           27‐26 CALLE 17                                                                       BAYAMON               PR         00957‐3869
   299280 MARIA M DIAZ RODRIGUEZ                      REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   712762 MARIA M DIAZ VAZQUEZ                        COND PLAZA DEL PARQUE    APT 269                                                                              TRUJILLO ALTO         PR         00976
   712764 MARIA M DIAZ VILA                           PO BOX 211                                                                                                    SAN JUAN              PR         00928

   299281 MARIA M DOMINGUEZ SANTANA REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   299282 MARIA M DONCEL VAZQUEZ    REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   712765 MARIA M DURAN ALFARO      PO BOX 9021112                                                                                                                  SAN JUAN              PR         00902‐1112
                                                                               CALLE PROGRESO CALLEJON
   712767 MARIA M ESPINAL ACOSTA                      VILLA ESPERANZA          LOPEZ                                                                                CAROLINA              PR         00986

   712768 MARIA M FABIAN MALDONADO PO BOX 796                                                                                                                       SAINT JUST            PR         00978

   712769 MARIA M FABRICIO FERNANDEZ RR 4 BOX 3096                                                                                                                  BAYAMON               PR         00956
   712770 MARIA M FALCON MATOS       URB MU¥OZ RIVERA                          9 CALLE ZETRO                                                                        GUAYNABO              PR         00969

   299283 MARIA M FALERO HERNANDEZ                    REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   712772 MARIA M FARIA MORALES                       HC 01 BOX 5445                                                                                                BAJADERO              PR         00616
   712773 MARIA M FEBRES SANCHEZ                      PARQUE ECUESTRE          N 42 CALLE MONTE NEGRO                                                               CAROLINA              PR         00987
   299285 MARIA M FEBUS ORTIZ                         REDACTED                 REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   712774 MARIA M FELICIANO                           HC 1 BOX 5336                                                                                                 BARCELONETA           PR         00617



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  299286 MARIA M FELICIANO MARTES                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   712775 MARIA M FERNANDEZ COLLAZO                   BO GALATEO PARC 98                                                                                                 TOA ALTA             PR         00953
   299287 MARIA M FERNANDEZ RIVERA                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARIA M FERNANDEZ
   712776 RODRIGUEZ                                   232 AVE ELEONOR ROOSEVELT                                                                                          SAN JUAN             PR         00907
   299288 MARIA M FERREIRA ROSARIO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARIA M FIGUEROA / ANGEL J
   299289 MARTINEZ                                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   299290 MARIA M FIGUEROA GONZµLEZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   712779 MARIA M FIGUEROA ROMAN                      SECT JOBOS CAMPING          706 CALLE OLAS                                                                         ISABELA              PR         00662
   712780 MARIA M FIGUEROA ROSARIO                    P O BOX 691                                                                                                        COMERIO              PR         00782
   712781 MARIA M FLEIRIA GARRATON                    PO BOX 364165                                                                                                      SAN JUAN                        00936‐4165
   712782 MARIA M FLORES                              P O BOX 1442                                                                                                       VEGA BAJA            PR         00693
   712785 MARIA M FUENTES PUJOLS                      COLINAS DE MONTE CARLO      37TH CALLE C 7                                                                         SAN JUAN             PR         00924
   299291 MARIA M FUENTES VAZQUEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARIA M FUENTES/ ALEXANDER
   299292 GUZMAN                                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARIA M GARCIA / MAYRA M
   299293 SANTANA                                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   299294 MARIA M GARCIA CARDENAS                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   712786 MARIA M GARCIA DE ACEVEDO                   HC BOX 15324                                                                                                       CABO ROJO            PR         00623
   712787 MARIA M GARCIA REYES                        JOSE MARTINEZ (TUTOR)       613 ROYAL PALM DR                                                                      KISSIMME             FL         34743
   299296 MARIA M GARCIA SANTIAGO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   299297 MARIA M GOMEZ BERROCALES REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   712789 MARIA M GOMEZ LAZU         URB LAS LEANDRAS                             4‐10 CALLE 5                                                                           HUMACAO              PR         00791
          MARIA M GONZALEZ / ANTHONY
   299299 VELEZ/                     REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                     CENTRO PEDRIATICO DE
   712794 MARIA M GONZALEZ BRACERO MAYAGUEZ                                       410 AVE HOSTOS                                                                         MAYAGUEZ             PR         00680 1522

   712796 MARIA M GONZALEZ FIGUEROA                   C 15 CAMPO REY                                                                                                     AIBONITO             PR         00705

   712798 MARIA M GONZALEZ GONZALEZ 20 CALLE BARBOSA Y BERNAR                                                                                                            LAS MARIAS           PR         00670

   299301 MARIA M GONZALEZ GUZMAN                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   712799 MARIA M GONZALEZ LANDESTOY URB BORINQUEN TOWERS                         COND SKY TOWER 2 APT 12 B                                                              SAN JUAN             PR         00926
   712800 MARIA M GONZALEZ LOPEZ     RES JUAN CORDERO DAVILA                      EDIF 22 APT 286                                                                        SAN JUAN             PR         00917
   712801 MARIA M GONZALEZ MENDEZ    8 COMUNIDAD RAMOS                                                                                                                   MOCA                 PR         00676
   299303 MARIA M GONZALEZ PADILLA   REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   299304 MARIA M GONZALEZ PEREZ     REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   299305 MARIA M GONZALEZ RIVERA    REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   712805 MARIA M GONZALEZ RODRIGUEZ URB VIRGINIA VALLEY                          704 VALLE DEL ESTE                                                                     JUNCOS               PR         00777
   299308 MARIA M GONZALEZ ROSA      REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   299310 MARIA M GUERRA HERNANDEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   712806 MARIA M GUERRERO SUAREZ                     COND SEGOVIA APT 1811                                                                                              SAN JUAN             PR         00917
   712807 MARIA M GUZMAN CRUZ                         HC 02 BOX 6520                                                                                                     GUAYNABO             PR         00971



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  712808 MARIA M GUZMAN SIERRA                        HC 01 BOX 7085                                                                                                    AGUAS BUENAS      PR           00770‐9715

   299311 MARIA M HERNADNEZ DEL RIO                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   712811 MARIA M HERNANDEZ CEDE O                    VILLA CAROLINA             70‐41 CALLE 58                                                                         CAROLINA          PR           00985

   712812 MARIA M HERNANDEZ CUEVAS                    BO OBRERO                  955 CALLE LEDESMA                                                                      ARECIBO           PR           00612

   299313 MARIA M HERNANDEZ MEDINA                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   712814 MARIA M HERNANDEZ SERRANO HC 2 BOX 7631                                                                                                                       CAMUY             PR           00627

   712817 MARIA M HERNANDEZ VARGAS                    VILLA COOPERATIVA          G 42 CALLE 1                                                                           CAROLINA          PR           00985

   712820 MARIA M IRIZARRY HERNANDEZ URB COUNTRY CLUB                            903 CALLE ROSENDO VITERBO                                                              SAN JUAN          PR           00924

   299314 MARIA M IRIZARRY RODRIGUEZ                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   712821 MARIA M IRIZARRY ZAYAS                      URB LA PROVIDENCIA         2157 CALLE FRANCO                                                                      PONCE             PR           00728

   299315 MARIA M IZQUIERDO BAYONA                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   299316 MARIA M IZQUIERDO TORRES                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   712822 MARIA M JIMENEZ                             HC 1 BOX 6980                                                                                                     MOCA              PR           00676
   712823 MARIA M JIMENEZ SIERRA                      132 CALLE AGUILA SUITE 1                                                                                          MAYAGUEZ          PR           00680
   712824 MARIA M JORDAN MIR                          PASEO LOS ROBLES           1620 CALLE YAMIL GALIB                                                                 MAYAGUEZ          PR           00680
   299317 MARIA M JORGE LABOY                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   712825 MARIA M LACOT SALGADO                       URB HILL SIDE              BE 10 CALLE 3                                                                          SAN JUAN          PR           00924
   712826 MARIA M LAGRANDIEL AYALA                    COM MATA DE PLATANO        SOLAR H 36                                                                             LUQUILLO          PR           00773
   712827 MARIA M LAGUNA DIAZ                         URB VILLA NEVAREZ          1046 CALLE 19                                                                          SAN JUAN          PR           00927
   712828 MARIA M LAPORTE RIVERA                      P O BOX 875                                                                                                       COAMO             PR           00769
   299318 MARIA M LEBRON CORREA                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   299319 MARIA M LEBRON RODRIGUEZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   299320 MARIA M LEDEE COLLAZO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   299321 MARIA M LEON DELGADO                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   712830 MARIA M LOIZ MORALES                        HC 01 BOX 16427                                                                                                   HUMACAO           PR           00791‐9728
   299322 MARIA M LOPEZ ACEVEDO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   712833 MARIA M LOPEZ CRUZ                          HC 01 BOX 6600                                                                                                    LAS PIEDRAS       PR           00771‐9710
   712835 MARIA M LOPEZ ORTIZ                         URB JARD DE COUNTRY CLUB   CL 13 CALLE 147                                                                        CAROLINA          PR           00983
   299324 MARIA M LOPEZ PADILLA                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
                                                                                 C 52 CALLE STO DOMINGO DE
   712836 MARIA M LOPEZ REDONDO                       URB LOS DOMINICOS          GUZMAN                                                                                 BAYAMON           PR           00957
   299325 MARIA M LOPEZ REYES                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   299326 MARIA M LOPEZ RODRIGUEZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   712837 MARIA M LOPEZ RUIZ                          URB CAPARRA HEIGHTS        1482 CALLE ELIDA                                                                       SAN JUAN          PR           00922
   299327 MARIA M LOPEZ TOSADO                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   299328 MARIA M LOPEZ VELAZQUEZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   299329 MARIA M LOZADA RODRIGUEZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   299330 MARIA M LUCIANO HERNANDEZ                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   299331 MARIA M LUNA FELIX                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   712841 MARIA M MADERA LOPEZ                        RES ALTURAS DE ADJUNTA     EDF A APT 40                                                                           ADJUNTAS          PR           00601‐2404
   299332 MARIA M MALAVE                              REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  712843 MARIA M MALAVE BAEZ                          PARALELO 38               6 CALLE E                                                                               SAN SEBASTIAN     PR         00685
  712844 MARIA M MALAVE INFANTE                       HC 1 BOX 17265                                                                                                    HUMACAO           PR         00791
  709683 MARIA M MALAVE IRIZARRY                      PO BOX 1514                                                                                                       CANOVANAS         PR         00729 1514
  299333 MARIA M MALAVE LEON                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299334 Maria M Maldonado                            REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         MARIA M MALDONADO
  712846 CLAUDIO                                      TOA ALTA HEIGHTS          A 5 CALLE 15                                                                            TOA ALTA          PR         00953

   712848 MARIA M MALDONADO LABOY                     EXT VILLAS DE LOIZA       LL 9 CALLE 41                                                                           CANOVANAS         PR         00745

   712849 MARIA M MALDONADO TIRADO BDA TAMARINDO                                CALLE 4‐205                                                                             PONCE             PR         00730
          MARIA M MANFREDY
   712850 RODRIGUEZ                VILLA DEL CARMEN                             3286 CALLE TOSCANIA                                                                     PONCE             PR         00716‐2258

   712851 MARIA M MANTILLA ARROCHO                    D 21 JARD M MANTILLA                                                                                              AGUADILLA         PR         00603
   299335 MARIA M MARRERO CRUZ                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712852 MARIA M MARRERO MORA                        P O BOX 360878                                                                                                    SAN JUAN          PR         00936

   299336 MARIA M MARRERO MORALES                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712855 MARIA M MARRERO PEREZ                       P O BOX 141                                                                                                       MOROVIS           PR         00687
   712856 MARIA M MARRERO SANCHEZ                     P O BOX 4051                                                                                                      CIALES            PR         00638
   299337 MARIA M MARRERO VALE                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712857 MARIA M MARTE DE JESUS                      STA JUANITA               D 1 C 2 CALLE ESCOSIA                                                                   BAYAMON           PR         00956
   712858 MARIA M MARTIN VARGAS                       PASEO DE SANTA BARBARA    4 CALLE CRISTAL                                                                         GURABO            PR         00778
   709686 MARIA M MARTINEZ                            P O BOX 2390``                                                                                                    SAN JUAN          PR         00919
   712859 MARIA M MARTINEZ                            BO LAS VEGAS              26308 CALLE GREGORIO RIOS                                                               CAYEY             PR         00736‐9526

   712861 MARIA M MARTINEZ CRUZ                       URB LA GUADALUPE          1693 CALLE JARDIN PONCIANA                                                              PONCE             PR         00730
   299338 MARIA M MARTINEZ LUCIANO                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299339 MARIA M MARTINEZ RAMIREZ                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   712862 MARIA M MARTINEZ RODRIGUEZ PO BOX 282                                                                                                                         BAJADERO          PR         00616
          MARIA M MARTINEZ SAN
   299340 MIGUEL                     REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712863 MARIA M MATEO VEGA         VILLA BLANCA                               34 CALLE TOPACCIO                                                                       CAGUAS            PR         00725
   712864 MARIA M MATOS GONZALEZ     HC 01 BOX 3991                                                                                                                     VILLALBA          PR         00766
   712865 MARIA M MATTA ESTIEN       HC 02 BOX 12804                                                                                                                    VIEQUEZ           PR         00765
   299342 MARIA M MAZIARZ MORALES    REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   299343 MARIA M MEDERO BETANCOURT REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712867 MARIA M MEDINA            HC 02 BOX 20671                                                                                                                     AGUADILLA         PR         00603
   299344 MARIA M MEDINA CRUZ       REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   712651 MARIA M MEJIAS MELENDEZ                     BO RABANAL SECTOR MELENDEZ BOX 356                                                                                CIDRA             PR       00739
   712869 MARIA M MEJIAS RODRIGUEZ                    HC 2 BOX 12564                                                                                                    AGUAS BUENAS      PR       00703
   299345 MARIA M MELENDEZ                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   299346 MARIA M MELENDEZ GARCIA                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   299347 MARIA M MELENDEZ TORRES                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   299349 MARIA M MENDEZ APONTE                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   299350 MARIA M MENDEZ CACERES                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   299351 MARIA M MENDEZ PEREZ                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   712876 MARIA M MENDEZ ROMAN                        URB ROOSEVELT              303 CALLE RAMON RAMOS                                                                  SAN JUAN          PR       00918
   299352 MARIA M MENDEZ SALSEDO                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED



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   299353 MARIA M MENDOZA RODRIGUEZ REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   299355 MARIA M MENDOZA TRUJILLO                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712877 MARIA M MERCADO COTTS                       HC 01 BOX 3995                                                                                                  LARES               PR           00669

   712878 MARIA M MERCADO DE FLORES                   URB VIA DE REXVILLE DD 21                                                                                       BAYAMON             PR           00957

   299357 MARIA M MERCADO RODRIGUEZ REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   299359 MARIA M MERCED BERMUDEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712879 MARIA M MILLAN CEBALLOS                     BO CIENEGA ALTA             PO BOX 465                                                                          RIO GRANDE          PR           00745

   712880 MARIA M MIRANDA MELENDEZ                    HC 7646625                                                                                                      PATILLAS            PR           00723
   299360 MARIA M MIRANDA PEREZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712881 MARIA M MONTALVO                            15 PASEO DEL VALLE                                                                                              LAJAS               PR           00667
          MARIA M MONTALVO
   299361 MONTALVO                                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712884 MARIA M MONTALVO OCASIO                     325 AVE ALGARROBO 4 A                                                                                           MAYAGUEZ            PR           00680
   299362 MARIA M MORALES LUGO                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712886 MARIA M MORALES ORTIZ                       URB JAIME L DREW            29 CALLE E                                                                          PONCE               PR           00731

   712887 MARIA M MORALES RODRIGUEZ                   COND SAN MARTIN             CALLE R 920 30                                                                      GUAYAMA             PR           00784
   299363 MARIA M MORALES ROLON                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299364 MARIA M MORALES RUIZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712888 MARIA M MORALES VARGAS                      URB SULTANA                 727 CALLE PORTUGAL                                                                  MAYAGUEZ            PR           00680‐1601
   299365 MARIA M MORAZZANI JOVE                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   299366 MARIA M MORENTA GONZALEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299367 MARIA M MORRIS DAPENA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      COND MIRAMAR EMBASY APT
   712889 MARIA M MULLENHIFF COLON                    1002                        902 AVE PONCE DE LEON                                                               SAN JUAN            PR           00907
   712890 MARIA M MULLER OYOLA                        HC 06 BOX 70253                                                                                                 CAGUAS              PR           00725
   712891 MARIA M MULLER VAZQUEZ                      P O BOX 145                                                                                                     CIDRA               PR           00739‐0145
   299368 MARIA M MUNIER RIVERA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299369 MARIA M MUNIZ HERNANDEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712893 MARIA M NARANJO PENA                        BO CANTERA 1423             CALLE VICTORIA                                                                      SAN JUAN            PR           00915

   299370 MARIA M NAVARRO GONZALEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299371 MARIA M NEGRON ALVAREZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712896 MARIA M NEGRON ROSARIO                      PO BOX 410                                                                                                      FLORIDA             PR           00650
   712897 MARIA M NEGRON SERRANO                      P O BOX 661                                                                                                     HATILLO             PR           00659
   299372 MARIA M NEGRONI SANTANA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712898 MARIA M NIEVES                              PO BOX 161                                                                                                      TOA ALTA            PR           00954
   712899 MARIA M NIEVES CRUZ                         COM VILLA JUVENTUD          PARC 235                                                                            TOA ALTA            PR           00953
   299373 MARIA M NIEVES GONZALEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712900 MARIA M NIEVES NIEVES                       P O BOX 962                                                                                                     TOA ALTA            PR           00954
   299374 MARIA M NIEVES PEREZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299375 MARIA M NIEVES TORRES                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299376 MARIA M NIEVES VAZQUEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299377 MARIA M OCASIO TORRES                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   712904 MARIA M ORTEGA AMEZQUITA                    2 CALLE JUAN HERRANS                                                                                            TOA BAJA            PR           00949



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  299378 MARIA M ORTIZ COLON                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  712908 MARIA M ORTIZ DE JESUS                       HC 71 BOX 6944                                                                                                    CAYEY             PR         00736
  299379 MARIA M ORTIZ DIAZ                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  712910 MARIA M ORTIZ LEON                           URB SANTA CLARA            55 CALLE D                                                                             PONCE             PR         00731
  712911 MARIA M ORTIZ MEDINA                         HC 3 BOX 11921                                                                                                    JUANA DIAZ        PR         00795
  712912 MARIA M ORTIZ MELENDEZ                       PO BOX 1376                                                                                                       OROCOVIS          PR         00720‐1376
  299380 MARIA M ORTIZ MORALES                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  712916 MARIA M ORTIZ ORTIZ                          HC 02 BOX 5440                                                                                                    COAMO             PR         00769
  712918 MARIA M ORTIZ PEREZ                          BO BARROS                  P O BOX 1417                                                                           OROCOVIS          PR         00720
  299381 MARIA M ORTIZ RIVERA                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   709684 MARIA M ORTIZ SANTANA                       COND FRACUSCO PAZ GRANELA 148 CALLE MAYAGUEZ APT 407                                                              SAN JUAN          PR         00917
   299382 MARIA M ORTIZ VELEZ                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARIA M ORTIZ/JUAN CARLOS                   BO HORMIGAS SECT LOS
   712920 COTTO                                       HERMANOS                  CARR 785 KM 4 5                                                                         CAGUAS            PR         00725

   299383 MARIA M ORTOLAZA DELGADO                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299384 MARIA M OTERO MARRERO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712922 MARIA M OTERO RODRIGUEZ                     81 CALLE LOS HEROES INT                                                                                           ARECIBO           PR         00612
   709685 MARIA M PABELLON                            PO BOX 1969                                                                                                       JUNCOS            PR         00777‐1969

   712923 MARIA M PACHECO CARTAGENA D 72 URB MONSERRATE                                                                                                                 SALINAS           PR         00751
   712924 MARIA M PACHECO CRUZ      58 CALLE SOLEDAD                                                                                                                    RIO GRANDE        PR         00745
   299387 MARIA M PADILLA FIGUEROA  REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712925 MARIA M PADIN RODRIGUEZ   BOX 976                                                                                                                             HATILLO           PR         00659
                                    C/O MILDRED RODRIQUEZ
   712926 MARIA M PAGAN             MARTINEZ                                     PO BOX 21408                                                                           SAN JUAN          PR         00928‐1408
   299389 MARIA M PAGAN ACOSTA      REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299390 MARIA M PAGAN GONZALEZ    REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712929 MARIA M PAGAN OLIVERO     COND JARDINES DE CAPARRA                     APT 511                                                                                BAYAMON           PR         00956
   712930 MARIA M PAGAN RODRIGUEZ   P O BOX 560815                                                                                                                      GUAYANILLA        PR         00656
   299391 MARIA M PAGAN SUAREZ      REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712932 MARIA M PARES MARTINEZ    REPARTO UNIVERSITARIO                        365 CALLE EMORY                                                                        SAN JUAN          PR         00926‐1820

   712933 MARIA M PARRILLA SOTOMAYOR PUERTO NUEVO                                1005 CALLE ALGERIA                                                                     SAN JUAN          PR         00920
   299392 MARIA M PEREZ               REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299393 MARIA M PEREZ COLON         REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299394 MARIA M PEREZ MATOS         REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712938 MARIA M PEREZ MEDINA        HC 43 BOX 10182                                                                                                                   CAYEY             PR         00737
   712939 MARIA M PEREZ MOJICA        HC 2 BOX 7023                                                                                                                     FLORIDA           PR         00650‐9106
   712941 MARIA M PEREZ PEREZ         PO BOX 21045                                                                                                                      SAN JUAN          PR         00928‐1045
   299396 MARIA M PIETRI RODRIGUEZ    REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   712943 MARIA M PINTO RODRIGUEZ     URB VISTAMAR 2 1202                        CALLE GERONA                                                                           CAROLINA          PR         00983
   712944 MARIA M PIZARRO FUENTES     PARC SUAREZ                                202 CALLE 6                                                                            LOIZA             PR         00772
   712946 MARIA M PORTO LOPEZ         C 61 BO PLAYITA BOX 837                                                                                                           SALINAS           PR         00751
   299397 MARIA M PRATS GUEMEREZ      REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARIA M QUINONES / GEORGE V
   299398 RODRIGUEZ                   REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299399 MARIA M QUINONES CRUZ       REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299400 MARIA M QUINONES FUENTES    REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   712947 MARIA M RAMIREZ FERNANDEZ HIGUILLAS SAN ANTONIO                        508 EXT SUR                                                                            DORADO            PR         00646
   299401 MARIA M RAMIREZ SANTOS    REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  712948 MARIA M RAMIREZ TORRES                       PO BOX 202                                                                                                          OROCOVIS            PR         00720
  712950 MARIA M RAMOS                                COND COLINAS DE CUPEY       APT 2 E                                                                                 SAN JUAN            PR         00926
  299402 MARIA M RAMOS BITHONRN                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  299403 MARIA M RAMOS FERNANDEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  712951 MARIA M RAMOS GARCIA                         PANORAMA ESTATES            C 26 CALLE 1                                                                            BAYAMON             PR         00911
  299405 MARIA M RAMOS RIVERA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  712953 MARIA M RAMOS RODRIGUEZ                      DDS 137                                                                                                             ARECIBO             PR         00614
  299406 MARIA M RAMOS ROMERO                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                  714 CALLE GONZALO GLGS URB
   712954 MARIA M RAMOS VELEZ                         FAIR VIEW                   FAIRVIEW                                                                                SAN JUAN            PR         00926
   299408 MARIA M REINA MENA                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299409 MARIA M RESTO MORALES                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712955 MARIA M REYES COLON                         HC 01 BOX 6578                                                                                                      COMERIO             PR         00782‐9702
   712956 MARIA M REYES FIGUEROA                      PMB 607 BOX 7105                                                                                                    PONCE               PR         00732
   299410 MARIA M REYES GUEVANA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712958 MARIA M REYES PAGAN                         URB ROUND HILL              235 CALLE HORTENCIA                                                                     TRUJILLO ALTO       PR         00976‐2735
   712959 MARIA M REYES TORRES                        HC 3 BOX 8477                                                                                                       BARRANQUITAS        PR         00794
   299411 MARIA M RIOS MATOS                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299412 MARIA M RIOS NUNEZ                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299413 MARIA M RIVAS MIRANDA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712963 MARIA M RIVERA                              COM MOSQUITO                SOLAR 253 A                                                                             SALINAS             PR         00704
          MARIA M RIVERA / JORGE M M
   712964 FIGUEROA                                    BO LLANOS COSTA             CARR 303 KM 9.2                                                                         CABO ROJO           PR         00623
   712965 MARIA M RIVERA BARRETO                      BOX 954                                                                                                             TOA ALTA            PR         00954
   299414 MARIA M RIVERA BORDOY                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712966 MARIA M RIVERA CARRION                      RES LUIS LLORENS TORRES     EDF 79 APT 1508                                                                         SANTURCE            PR         00915
   712967 MARIA M RIVERA CINTRON                      URB EL VERDE                48 CALLE SATURNO                                                                        CAGUAS              PR         00725
   712968 MARIA M RIVERA COLON                        BO OLIMPO                   700 CALLE H                                                                             GUAYAMA             PR         00784
   299415 MARIA M RIVERA FERNANDEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712969 MARIA M RIVERA FIGUEROA                     PUERTO NUEVO                305 CALLE 25 NE                                                                         SAN JUAN            PR         00920

   712972 MARIA M RIVERA HERNANDEZ                    ADM SISTEMA DEL RETIRO      PO BOX 42003                                                                            SAN JUAN            PR         00940
   299416 MARIA M RIVERA LAPORTE                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   712975 MARIA M RIVERA MALDONADO                    BOX 140818                                                                                                          ARECIBO             PR         00614
   712976 MARIA M RIVERA MARTINEZ                     BARAHONA                    245 GUILLERMO ALICEA                                                                    MOROVIS             PR         00687
   712977 MARIA M RIVERA MATOS                        URB VILLA OLIMPICA          497 PASEO 7                                                                             SAN JUAN            PR         00924
   299417 MARIA M RIVERA MEDINA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712979 MARIA M RIVERA NEVAREZ                      HC 80 BOX 8329                                                                                                      DORADO              PR         00646
   299418 MARIA M RIVERA NIEVES                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712980 MARIA M RIVERA OCASIO                       HC 01 BOX 6705                                                                                                      CANOVANAS           PR         00729
   299419 MARIA M RIVERA ORTIZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712984 MARIA M RIVERA RIVERA                       222 CALLE REYES                                                                                                     CAYEY               PR         00736
   712986 MARIA M RIVERA ROJAS                        RES GAUTIER BENITEZ         EDIF 16 APT 145                                                                         CAGUAS              PR         00725
   712987 MARIA M RIVERA ROSADO                       URB II 11 CALLE 24                                                                                                  BAYAMON             PR         00957
   712988 MARIA M RIVERA SALIVIA                      HILL BROTHERS SUR           362 CALLE 1                                                                             SAN JUAN            PR         00924
   712989 MARIA M RIVERA SANTOS                       HC 43 BOX 11710                                                                                                     CAYEY               PR         00736
   712990 MARIA M RIVERA VAZQUEZ                      URB VALLE ALTO              1114 CORDILLERA                                                                         PONCE               PR         00730
          MARIA M RIVERA Y RAFAEL
   299421 LUQUIS                                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   712992 MARIA M ROA RODRIGUEZ                       JARDINES COUNTRY CLUB       E 18 CALLE 13                                                                           CAROLINA            PR         00983

   712993 MARIA M ROBLES RODRIGUEZ                    7 URB JARDS DE PARQ ESCORIAL 59 BOULEVARD MEDIA LUNA     APT 1803                                                   CAROLINA            PR         00987‐4935



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          MARIA M ROBLES Y NICOLE M
   299422 KILDARE                                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712994 MARIA M ROCCA CASTRO                        2745 PASEO ADONIS                                                                                              LEVITTOWN           PR           00949
   712997 MARIA M RODRIGUEZ                           PARC GANDARAS              15 CALLE 1 ALTOS                                                                    CIDRA               PR           00739
          MARIA M RODRIGUEZ
   299423 ALVARADO                                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713000 MARIA M RODRIGUEZ CABAN                     PMB 094 P O BOX 70171                                                                                          SAN JUAN            PR           00936‐8171
          MARIA M RODRIGUEZ
   713001 CALDERON                                    RR 9 BOX 1506                                                                                                  SAN JUAN            PR           00926

   713004 MARIA M RODRIGUEZ CARRERO 526 CALLE MANO SICO                                                                                                              MAYAGUEZ            PR           00680
   713007 MARIA M RODRIGUEZ CRUZ    HC 01 BOX 6480                                                                                                                   CIALES              PR           00638

   713010 MARIA M RODRIGUEZ DE JESUS                  BDA VIETNAM                57 CALLE B                                                                          GUAYNABO            PR           00970

   713011 MARIA M RODRIGUEZ DESARDEN HC 01 BOX 10751                                                                                                                 SAN GERMAN          PR           00683
          MARIA M RODRIGUEZ
   299425 HERNANDEZ                  REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   299426 MARIA M RODRIGUEZ IRIZARRY                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299427 MARIA M RODRIGUEZ LOPEZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   713014 MARIA M RODRIGUEZ MORALES HC 01 BOX 4487                                                                                                                   COROZAL             PR           00783
   713016 MARIA M RODRIGUEZ RIOS    18 CALLE JOSE DE DIEGO                                                                                                           GUAYNABO            PR           00969
   299429 MARIA M RODRIGUEZ RIVERA  REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   713018 MARIA M RODRIGUEZ ROBLES                    HC 02 BOX 6114                                                                                                 LUQUILLO            PR           00773
          MARIA M RODRIGUEZ
   299430 RODRIGUEZ                                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   713022 MARIA M RODRIGUEZ TORRES                    VILLA DE PARANA            S9 3 CALLE 5A                                                                       SAN JUAN            PR           00926

   299431 MARIA M RODRIGUEZ VARGAS                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA M RODRIGUEZ VAZQUEZ
   299432 /                                           REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   712652 MARIA M ROJAS ALVAREZ                       RR 2 BOX 6414                                                                                                  MANATI              PR           00674
   299433 MARIA M ROMAN                               REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299434 MARIA M ROMAN BASORA                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713025 MARIA M ROSA JULIA                          BRISAS DE CAYEY            EDIF 9 APT 102                                                                      CAYEY               PR           00737
   299436 MARIA M ROSA RIVERA                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713026 MARIA M ROSADO MATOS                        RR 36 BOX 1220                                                                                                 SAN JUAN            PR           00926
   713027 MARIA M ROSADO SANTIAGO                     PO BOX 40690                                                                                                   SAN JUAN            PR           00940
   713028 MARIA M ROSADO TORRES                       RR 2 BOX 7912                                                                                                  CIDRA               PR           00739
   713029 MARIA M ROSARIO CORTEZ                      35‐621 ST APT 3D ASTORIA                                                                                       NEW YORK            NY           11106
   299437 MARIA M ROSARIO DIAZ                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713031 MARIA M RUIZ CAMACHO                        COND PASEO ABRIL           APTO 402                                                                            TOA BAJA            PR           00949
   709641 MARIA M RUIZ GOMEZ                          RES SULTANA                109 CALLE TOLOSA                                                                    MAYAGUEZ            PR           00680
   713032 MARIA M RUIZ MONGE                          723 CALLE 65 INFANTERIA                                                                                        TRUJILLO ALTO       PR           00976
   713033 MARIA M RUIZ SERRANO                        HC 6 BOX 11912                                                                                                 SAN SEBASTIAN       PR           00685
   299438 MARIA M SAEZ MUNOZ                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713035 MARIA M SAIS ROCAFORT                       P O BOX 8258                                                                                                   SAN JUAN            PR           00910
   299439 MARIA M SALAS ROJAS                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299440 MARIA M SALINAS VALENTIN                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          MARIA M SAN MARTIN
   713037 FERNANDEZ                                   P O BOX 969                                                                                                        CIDRA               PR           00739
   299441 MARIA M SAN MIGUEL KING                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   713038 MARIA M SANABRIA MORALES                    SIERRA LINDA                H 39 CALLE GARCIA                                                                      GUAYNABO            PR           00969
   713039 MARIA M SANCHEZ                             SOLAR 1 COM GUAYPAO                                                                                                GUANICA             PR           00653

   713040 MARIA M SANCHEZ BONILLA                     EDIF SAN JUAN HEALTH CENTRE 2 CARR 177 APT 314                                                                     GUAYNABO            PR           00966‐3181

   713042 MARIA M SANCHEZ LUGO                        URB JARDINES DE GUATEMALA   E 20 CALLE 5                                                                           SAN SEBASTIAN       PR           00685

   713043 MARIA M SANCHEZ MELENDEZ                    HC 43 BOX 9568                                                                                                     CAYEY               PR       00736
   713044 MARIA M SANCHEZ NATAL                       SANTA JUANAITA              DD 46 CALLE 37                                                                         BAYAMON             PR       00000
   299442 MARIA M SANCHEZ RIVERA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   299443 MARIA M SANCHEZ TEXIDOR                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   299445 MARIA M SANTANA CRUZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   299446 MARIA M SANTIAGO ANDINO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
          MARIA M SANTIAGO
   299447 CARTAGENA                                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713048 MARIA M SANTIAGO DIAZ                       HC 43 BOX 9586                                                                                                     CAYEY               PR           00736

   713049 MARIA M SANTIAGO FONTANEZ                   HC 03 BOX 13210                                                                                                    UTUADO              PR           00641
   713050 MARIA M SANTIAGO LOPEZ                      RR 01 BOX 2493                                                                                                     CIDRA               PR           00739
   299448 MARIA M SANTIAGO ORTIZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713052 MARIA M SANTIAGO RIVERA                     BO QDA CRUZ                 CARR 824 KM 6 02                                                                       TOA ALTA            PR           00719
   299450 MARIA M SANTIAGO SANCHEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713054 MARIA M SANTIAGO VEGA                       PO BOX 71                                                                                                          SAN GERMAN          PR           00683
   713055 MARIA M SANTOS DIAZ                         HC 01 BOX 6232                                                                                                     CIALES              PR           00638

   299451 MARIA M SANTOS MALDONADO REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299452 MARIA M SANTOS PEREZ     REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   713056 MARIA M SANTOS RODRIGUEZ                    PO BOX 372294                                                                                                      CAYEY               PR           00737
   299453 MARIA M SASTRE VELAZQUEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299454 MARIA M SCHROEDER RIVERA                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713059 MARIA M SEGARRA FALCON                      URB LAS AMERICAS 963 A      CALLE SANTO DOMINGO                                                                    SAN JUAN            PR           00921
   299455 MARIA M SEGARRA GUZMAN                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   713060 MARIA M SEGARRA HERNANDEZ URB VILLA BLANCA 40                           CALLE RUBI                                                                             CAGUAS              PR           00725
   713061 MARIA M SEMIDEY DE JESUS  HC 1 BOX 6528                                                                                                                        SALINAS             PR           00751

   299456 MARIA M SEPULVEDA SANTIAGO REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709687 MARIA M SERRANO AYALA      P O BOX 10000 SUITE                                                                                                                 CAYEY               PR           00737
   713062 MARIA M SERRANO AYALA      P O BOX 1000                                 SUITE 39                                                                               CAYEY               PR           00737
   713063 MARIA M SERRANO CRESPO     PO BOX 109                                                                                                                          SAN LORENZO         PR           00754
   299458 MARIA M SERRANO TORRES     REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   713064 MARIA M SILVAGNOLI CASTRO                   REPARTO VALENCIA            CALLE AMAPOLA F 65                                                                     BAYAMON             PR           00959
   713065 MARIA M SOTO ACEVEDO                        543 G ABRIEL CARDONA                                                                                               MOCA                PR           00676
   713066 MARIA M SOTO MARQUEZ                        VILLAS DE CANEY             A 28 AGUEYBANA                                                                         TRUJILLO ALTO       PR           00976
   713067 MARIA M SOTO QUILES                         60 BO PUEBLO SECO                                                                                                  TRUJILLO ALTO       PR           00976
   713068 MARIA M SOTO RIVERA                         PO BOX 2933                                                                                                        ARECIBO             PR           00612
   713069 MARIA M SOTO RODRIGUEZ                      BO JUNQUITO                 143 CALLE JAZMIN BOX 4706                                                              HUMACAO             PR           00777



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  299459 MARIA M SOTO VELEZ                           REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299460 MARIA M SUAREZ                               REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299461 MARIA M SUAREZ JEREZ                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299463 MARIA M TORO CAMACHO                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299464 MARIA M TORO LOPEZ                           REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  713075 MARIA M TORRES ARVELO                        BOX 83                                                                                                         LAS MARIAS        PR         00670
  299465 MARIA M TORRES AVILES                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299466 MARIA M TORRES BENITEZ                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  713076 MARIA M TORRES BURGOS                        HC‐01 BOX 4147                                                                                                 VILLALBA          PR         00766‐9710
  299468 MARIA M TORRES CRESPO                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299469 MARIA M TORRES DAVILA                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299470 MARIA M TORRES FIGUEROA                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299471 MARIA M TORRES MORALES                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  712653 MARIA M TORRES PAGAN                         PO BOX 2579                                                                                                    SAN SEBASTIAN     PR         00685
  713079 MARIA M TORRES RIVERA                        RES YUQUILLU             APT 50 EDIF F                                                                         LUQUILLO          PR         00773
  713080 MARIA M TORRES ROSARIO                       URB RIO CANAS            1732 CALLE CRISTAL                                                                    PONCE             PR         00728‐1737
  713081 MARIA M TORRES TIRADO                        HC 1 BOX 10503                                                                                                 SAN GERMAN        PR         00653
  299472 MARIA M TORRES TORRES                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  713083 MARIA M TORRES VELEZ                         HOGAR CRISTO REY         APT 509                                                                               CAGUAS            PR         00625
  713084 MARIA M TOSADO ALONSO                        URB VILLA CAROLINA       137‐2 CALLE 403                                                                       CAROLINA          PR         00985‐4065
  299474 MARIA M TOUCET CASTRO                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   712654 MARIA M VARGAS FERNANDEZ                    HC 7 BOX 2986                                                                                                  PONCE             PR         00731
   713087 MARIA M VARGAS RIQUELMI                     SABANA GARDENS           8‐34 CALLE 10                                                                         CAROLINA          PR         00983
   299475 MARIA M VAZQUEZ                             REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   713089 MARIA M VAZQUEZ CASTRO                      URB SANTIAGO IGLESIAS    1768 CALLE ALONSO TORRES                                                              SAN JUAN          PR         00921
   299476 MARIA M VAZQUEZ DIAZ                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   713091 MARIA M VAZQUEZ LOPEZ                       PO BOX 276                                                                                                     COROZAL           PR         00783

   713092 MARIA M VAZQUEZ MONTEROSA HC 04 BOX 12601                                                                                                                  HUMACAO           PR         00792

   709688 MARIA M VAZQUEZ SILVESTRY                   URB BORINQUEN EE 34      CALLE JOSE CAMPECHE                                                                   CABO ROJO         PR         00623
   713093 MARIA M VAZQUEZ TRINIDAD                    URB VILLAS DE CARRAIZO   RR 7 BOX 315                                                                          SAN JUAN          PR         00926
   299478 MARIA M VEGA                                REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   713094 MARIA M VEGA PAGAN                          P O BOX 779                                                                                                    VEGA BAJA         PR         00694
   713095 MARIA M VEGA PAZ                            PO BOX 21365                                                                                                   SAN JUAN          PR         00926‐1365
   713096 MARIA M VEGA RIVERA                         PO BOX 97                                                                                                      MOROVIS           PR         00687
          MARIA M VELAZQUEZ                           W 23 R 7URB GLENVIEW
   713097 CARABALLO                                   GARDENS                                                                                                        PONCE             PR         00730‐1653
          MARIA M VELAZQUEZ
   299479 QUIRINDONGO                                 REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299480 MARIA M VELEZ MARTELL                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   713098 MARIA M VELEZ MARTINEZ                      REPTO MACIAS             233 CALLE VENDRIX                                                                     MAYAGUEZ          PR         00680
   299481 MARIA M VELEZ RIVERA                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   713099 MARIA M VELEZ SANTIAGO                      PO BOX 1017                                                                                                    ADJUNTAS          PR         00601‐1017
   713100 MARIA M VENDRELL JUARBE                     P O BOX 278                                                                                                    ISABELA           PR         00662
   713101 MARIA M VERA SAAVEDRA                       PO BOX 148                                                                                                     QUEBRADILLAS      PR         00678
   713102 MARIA M VICETE RIVERA                       URB PARQUE ECUESTRE      807 YCARO                                                                             CAROLINA          PR         00987

   299482 MARIA M VILLAFANE MONTANEZ REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   713103 MARIA M VILLALONGO SANTANA PO BOX 233                                                                                                                      RIO GRANDE        PR         00745‐0233




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   713104 MARIA M VILLANUEVA MOLINA                   HC 03 BOX 5768                                                                                                HUMACAO             PR           00791
   299483 MARIA M VILLEGAS DIAZ                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   709689 MARIA M VIZCARRONDO                         URB COUNTRY CLUB           866 CALLE GROENLANDIA                                                              SAN JUAN            PR           00924

   713105 MARIA M Y ROBERTO MASCARO                   URB FLORAL PARK            66 MATIENZO CINTRON                                                                SAN JUAN            PR           00917
   299484 MARIA M ZAMBRANA CRUZ                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299485 MARIA M ZAPATA CRUZ                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713106 MARIA M ZENO RIVERA                         COND LA PLAYA              EDIF E APT 101                                                                     ARECIBO             PR           00612
          MARIA M ZENON PARA KARLA J
   299487 ZENON                                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299488 MARIA M. ACEVEDO REYES                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299489 MARIA M. ALICEA                             REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299490 MARIA M. APONTE APONTE                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299491 MARIA M. BERIO SIERRA                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      CASTELLANA GARDENS II‐14
   713109 MARIA M. BURGOS                             CALLE‐33                                                                                                      CAROLINA            PR           00983
          MARIA M. CABALLERO
   299492 MELENDEZ                                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299493 MARIA M. CANCEL CANCEL                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA M. CARABALLO
   299494 HERNANDEZ                                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA M. CARRASQUILLO
   299495 SANTIAGO                                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713111 MARIA M. CARVAJAL RIVERA                    URB SANTA JUANITA          FF11 CALLE 33                                                                      BAYAMON             PR           00956
   713112 MARIA M. CASTILLO ORTIZ                     SUITE 241 P.O. BOX 10000                                                                                      CAYEY               PR           00737
   713114 MARIA M. CCRUZ                              PO BOX 21365                                                                                                  SAN JUAN            PR           00926‐1365

   299496 MARIA M. CENTENO CARTAGENA REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   713115 MARIA M. CHAPERO QUINONES                   URB SAN IGNACIO            23 CALLE SAN MELCHOR                                                               SAN JUAN            PR           00927
          MARIA M. CHARBONIER
   299497 LAUREANO                                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299498 MARIA M. COSME RIVERA                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299499 MARIA M. DALMAU SANTOS                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299500 MARIA M. DIAZ CABRERA                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299501 MARIA M. DIAZ SOTO                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299502 MARIA M. DIAZ TOLEDO                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   713119 MARIA M. DOMENECH BULERIN MINILLAS STATION                             P O BOX 41269                                                                      SAN JUAN            PR           00940‐1269
   299503 MARIA M. DONES SANDOVAL   REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299504 MARIA M. FEBRES RIOS      REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   299506 MARIA M. FIGUEROA CENTENO                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   299508 MARIA M. FIGUEROA ROSARIO                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   299509 MARIA M. FIGUEROA SANCHEZ                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   299510 MARIA M. GONZALEZ BENITEZ                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299511 MARIA M. LABOY RUIZ                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA M. MALDONADO
   299512 GUTIERREZ                                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  299516 MARIA M. MARCANO GARCIA                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MARIA M. MARTINEZ
  713123 JUSTINIANO                                   CSM MAYAGUEZ                                                                                                      Hato Rey            PR         00936
  299517 MARIA M. MATTA ESTIEN                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MARIA M. MELENDEZ
  713124 CONCEPCION                                   RES LUIS LLORENS TORRES       EDIF 137 APTO 2541                                                                  SAN JUAN            PR         00915
         MARIA M. MENDOZA
  299518 RODRIGUEZ                                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  299519 MARIA M. MIRANDA TRUJILLO                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   299521 MARIA M. MORENO MARRERO                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299522 MARIA M. NEGRON ALVAREZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299523 MARIA M. NEGRON COLON                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299524 MARIA M. NOA ROJAS                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299525 MARIA M. OQUENDO AYALA                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713130 MARIA M. ORTEGA VAZQUEZ                     HP ‐ SALA DE ENFERMERIA                                                                                           RIO PIEDRAS         PR         009360000
   299526 MARIA M. ORTIZ COLON                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1256662 MARIA M. ORTIZ GARCIA                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      BO. ARENA SECTOR SANTA
   713131 MARIA M. ORTIZ RAMOS                        CLARA                         RR2 BUZON 5382                                                                      CIDRA               PR         00739
   299527 MARIA M. ORTIZ VEGA                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299528 MARIA M. OTERO OTERO                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299529 MARIA M. PADRO MARTINEZ                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299531 MARIA M. RIOS CRUZ                          REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299532 MARIA M. RIVERA CASTRO                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299533 MARIA M. RIVERA COSME                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   713133 MARIA M. RIVERA RODRIGUEZ                   PO BOX 969                                                                                                        AIBONITO            PR         00705
   299535 MARIA M. ROBLES RAMOS                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   299536 MARIA M. RODRIGUEZ ROHENA                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      CARR 842 KM 5.6 CAMINO LOS
   713135 MARIA M. RODZ VEGA                          GARCIA                                                                                                            SAN JUAN            PR         00926
   713136 MARIA M. ROSARIO RIVERA                     FLAMBOYAN GARDEN              17 CALLE 11 BDA ISRAEL                                                              SAN JUAN            PR         00917
   299538 MARIA M. RUIZ MONGE                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713137 MARIA M. SANCHEZ RIVERA                     PO BOX 107                                                                                                        LA PLATA            PR         00786
   713138 MARIA M. SANTIAGO                           PO BOX 548                                                                                                        MANATI              PR         00674
                                                      COND. BELLOMONTE B 13 CALLE
   713139 MARIA M. SANTIAGO CASIANO                   11                                                                                                                GUAYNABO                       00969
   299540 MARIA M. SERRANO DIAZ                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299541 MARIA M. SILVESTRINI RUIZ                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299542 MARIA M. SOTO GALINDEZ                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299543 MARIA M. SUAREZ JEREZ                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299544 MARIA M. VEGA COTTY                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      HP ‐ SUPERVISION DE
   713145 MARIA MACHUCA PRADO                         ENFERMERIA                                                                                                        RIO PIEDRAS         PR         009360000
          MARIA MAGDALENA CINTRON
   713146 TORRES                                      RR 1 BOX 10448                                                                                                    TOA ALTA            PR         00953
   299546 MARIA MAGRINA CATINCHI                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299547 MARIA MALAVE FIGUEROA                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713150 MARIA MALAVE GOMEZ                          ALTURAS DE MAYAGUEZ           A 3 CALLE YAUREL                                                                    MAYAGUEZ            PR         00680
   713153 MARIA MALDONADO                             P O BOX 8151                                                                                                      CAGUAS              PR         00726‐8151




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          MARIA MALDONADO
   713157 HERNANDEZ                                   HC 06 BOX 10085                                                                                            HATILLO              PR           00659
          MARIA MALDONADO
   713159 MALDONADO                                   HC 2 BOX 7254                                                                                              UTUADO               PR           00641
          MARIA MALDONADO
   299548 MONTANEZ                                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   713161 MARIA MALDONADO RAMIREZ                     ALT DE ISABELA          EDF 9 APT 49                                                                       ISABELA              PR           00662
   299549 MARIA MALDONADO RIVERA                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299550 MARIA MALDONADO ROCHE                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   713163 MARIA MALDONADO SANCHEZ                     73 CALLE BETANCES                                                                                          CIALES               PR           00638
          MARIA MAÑANA FERRO MD,
   299551 ANA                                         REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299552 MARIA MANGUAL CALO                          REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299553 MARIA MANGUAL DE JESUS                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA MANUELA CAMACHO
   713164 PAILLA                                      SOLAR 59 PPOLE OJEA                                                                                        CABO ROJO            PR           00623
   299554 MARIA MARCANO                               REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA MARGARITA
   299555 CARRASQUILLO PEREZ                          REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299556 MARIA MARIN RAMOS                           REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   713168 MARIA MARIN ROSARIO                         PO BOX 3002 SUITE 346                                                                                      RIO GRANDE           PR           00745
   713169 MARIA MARQUEZ GONZALEZ                      HC 1 BOX 10378                                                                                             LAJAS                PR           00667
   713170 MARIA MARRERO FIGUEROA                      VILLA PLATA             D O4 CALLE 4                                                                       DORADO               PR           00646
   713172 MARIA MARRERO GARCIA                        EXT VILLAS DE LOIZA     QQ 27 CALLE 32                                                                     CANOVANAS            PR           00729
   713173 MARIA MARRERO ORTIZ                         PO BOX 522                                                                                                 BORINQUEN            PR           00679
   713174 MARIA MARRERO REYES                         HC 03 BOX 20458                                                                                            ARECIBO              PR           00612
   299557 MARIA MARRERO RIVERA                        REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299559 MARIA MARTINEZ ARROYO                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   713177 MARIA MARTINEZ BARRIENTOS                   PO BOX 7126                                                                                                PONCE                PR           00732
   709690 MARIA MARTINEZ BERMUDEZ                     BO CORAZON 362          CALLE CANDELARIA                                                                   GUAYAMA              PR           00784
   713178 MARIA MARTINEZ COLLAZO                      PO BOX 136                                                                                                 AIBONITO             PR           00705
   713179 MARIA MARTINEZ CORDERO                      BDA JARDIN              CALLE ESCORPIO BOX 28                                                              VEGA BAJA            PR           00619
   299560 MARIA MARTINEZ CUBANO                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299561 MARIA MARTINEZ DE CLAVEL                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299562 MARIA MARTINEZ DIAZ                         REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   299563 MARIA MARTINEZ DOMINGUEZ                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   713181 MARIA MARTINEZ MASSO                        HP ‐ SALA 1 BAJO                                                                                           RIO PIEDRAS          PR           009360000
   299565 MARIA MARTINEZ MUNIZ                        REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299566 MARIA MARTINEZ NEGRON                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299567 MARIA MARTINEZ NIEVES                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299568 MARIA MARTINEZ PADUA                        REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   713182 MARIA MARTINEZ PANTOJAS                     BDA SANDIA              7 CALLE PLUTON                                                                     VEGA BAJA            PR           00693
   299570 MARIA MARTINEZ TORRES                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   713184 MARIA MARTINEZ VANDEIDYS                    PO BOX 21365                                                                                               SAN JUAN             PR           00926‐1365
   713185 MARIA MARTINO LOZADA                        PMB 115 RR5 BOX 4999                                                                                       BAYAMON              PR           00956
   299572 MARIA MAS MONTALVO                          REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   713186 MARIA MASSA DIEPPA                          PO BOX 3078                                                                                                CAROLINA             PR           00984‐3078
   713187 MARIA MASSOL SANTANA                        VILLA DEL CARMEN        2540 TENERIFE                                                                      PONCE                PR           00719




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   299573 MARIA MASTACHE RODRíGUEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299574 MARIA MATIAS MANGUAL                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299575 MARIA MATIAS MENDEZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299576 MARIA MATOS CARDONA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299577 MARIA MATOS MORALES                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   713189 MARIA MATOS RONDAN                          SAN ISIDRO                   PARC 109 LAS DELICIAS                                                                    CANOVANAS            PR           00729
   713190 MARIA MAURY SOTO                            P O BOX 71325                SUITE 86                                                                                 SAN JUAN             PR           00936‐8425

   713192 MARIA MAYSONET CARRION                      42 PROGRESO CALLE 1 PDA 20                                                                                            SAN JUAN             PR           00909
   299578 MARIA MAYSONET GARCIA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   713193 MARIA MAYSONET MOJICA                       EXT REXVILLE                 J2‐12 CALLE 13 A                                                                         BAYAMON              PR           00957
   713194 MARIA MEDINA ENRIQUEZ                       RES SAN ANTONIO              EDF E APT 681                                                                            SAN JUAN             PR           00901
   299579 MARIA MEDINA HERNANDEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   713195 MARIA MEDINA MALDONADO                      HC 33 BOX 5323               LOS PUERTOS                                                                              DORADO               PR           00646
   713197 MARIA MEDINA MENDEZ                         BO ESPINO                    HC 0 BOX 39456                                                                           LARES                PR           00669
   713198 MARIA MEDINA MORALES                        ALT DE SAN LORENZO           H 62 CALLE 5                                                                             SAN LORENZO          PR           00754
   709691 MARIA MEDINA ORTIZ                          URB TOA ALTA HEIGHTS         I 6 CALLE 2                                                                              TOA ALTA             PR           00953
   713199 MARIA MEDINA PEREZ                          COND LAS GLADIOLAS           EDIF 301 APT 804                                                                         SAN JUAN             PR           00930

   713201 MARIA MELECIO GARCIA                        BO MAGUAYO                   SECTOR MAYSONETT II PARC 23                                                              DORADO               PR           00646
   713202 MARIA MELENDES MEDINA                       TOA ALTA HAIGHTS             421 CALLE 21A                                                                            TOA ALTA             PR           00953
   713203 MARIA MELENDEZ                              HC 1 BOX 24545               VILLA COLOMBO                                                                            VEGA BAJA            PR           00693

   299580 MARIA MELENDEZ BERMUDEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299581 MARIA MELENDEZ COLON                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299582 MARIA MELENDEZ CRUZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299583 MARIA MELENDEZ DIAZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   299584 MARIA MELENDEZ MONTANEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299585 MARIA MELENDEZ PEREZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299586 MARIA MELENDEZ RAMOS                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299587 MARIA MELENDEZ RIVERA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   713206 MARIA MELENDEZ RODRIGUEZ                    VILLA CAROLINA               137‐7 CALLE 403                                                                          CAROLINA             PR           00630
   299588 MARIA MELENDEZ VAZQUEZ                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299589 MARIA MENDEZ MERCADO                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299590 MARIA MENDEZ RIVERA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   713207 MARIA MENDEZ SELPA                          232 AVE ELEONOR ROOSEVELT                                                                                             SAN JUAN             PR           00907
   713208 MARIA MENDEZ ZORRILLA                       URB VISTA ALEGRE             11 CALLE CUARTEL                                                                         BAYAMON              PR           00956
   299591 MARIA MENDOZA CALLE                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   713211 MARIA MENENDEZ VERA                         831 MANANTIALES                                                                                                       MAYAGUEZ             PR           00680‐2362
   299593 MARIA MERCADO ACETY                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299594 MARIA MERCADO ARZOLA                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   713214 MARIA MERCADO MACHUCA                       854 N SACRAMENTO AVE                                                                                                  CHICAGO              IL           60622
   299595 MARIA MERCADO MATOS                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299596 MARIA MERCADO PARGA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299597 MARIA MERCADO TORRES                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   713216 MARIA MERCED RIVERA                         APARTADO 184                                                                                                          AGUAS BUENAS         PR           00703
   713218 MARIA MERCEDES CAMACHO                      CALLE BALDORIOTY 71                                                                                                   PONCE                PR           00731
          MARIA MERCEDES LUCIANO
   299599 LUCAS                                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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          MARIA MERCEDES MARTIN
   713220 ALONSO                                      SIERRA BAYAMON               9 BLQ.81 CALLE 68                                                                       BAYAMON              PR           00798‐6632
   713221 MARIA MERCEDES MELENDEZ                     PO BOX 371                                                                                                           COMERIO              PR           00782

   713222 MARIA MERCEDES ORTIZ RIVERA BORINQUEN TOWER I                            1484 AVE ROOSEVELT APT 406                                                              SAN JUAN             PR           00920‐2719
          MARIA MERCEDES RAMOS
   299600 CORDERO                     REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA MERCEDES SANTIAGO                                                  392 CALLE SORRENTO MEDINA
   713224 GARCIA                      LA MERCED                                    APT 1316                                                                                SAN JUAN             PR           00928
   299601 MARIA MERCEDES TIRADO       REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA MERCEDES TORO
   713225 RODRIGUEZ                   EDIFICIO GARCIA I                            1 A CALLE VIRTUD                                                                        PONCE                PR           00730
          MARIA MERCEDES VALLE
   713226 GONZALEZ                    PUERTO NUEVO                                 4 AVE SOL                                                                               VEGA BAJA            PR           00693
          MARIA MERCEDES VILLANUEVA
   713228 FIGUEROA                    URB SANTA RITA                               25 CALLE SANTANDER                                                                      SAN JUAN             PR           00925
          MARIA MIGUELINA GARCIA
   299602 POLANCO                     REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA MILAGROS CARTAGENA
   299603 RIVERA                      REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   713229 MARIA MILAGROS CRUZ         COM LOS LLANOS                               SOLAR 77                                                                                COAMO                PR           00769
          MARIA MILAGROS FIGUEROA
   299604 NEGRON                      REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA MILAGROS PADRO
   299606 RODRIGUEZ                   REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA MILAGROS PEREZ
   299607 SANTIAGO                    REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   713232 MARIA MILAGROS SOTO RAMOS                   P O BOX 966                                                                                                          HATILLO              PR           00659
          MARIA MINERVA REYES
   713233 GONZALEZ                                    612 CALLE SAN ANTONIO                                                                                                SAN JUAN             PR           00915
   713234 MARIA MIRANDA ACEVEDO                       PO BOX 931                                                                                                           CABO ROJO            PR           00623
   299608 MARIA MIRANDA MARIN                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   713235 MARIA MIRANDA NADAL                         MAYAGUEZ HOUSING             EDIF 2 APT 36                                                                           MAYAGUEZ             PR           00680

   713236 MARIA MIRANDA NATER                         URB JARDINES DE RIO GRANDE   BJ 671 CALLE 51                                                                         RIO GRANDE           PR           00745
   713237 MARIA MIRANDA REYES                         BDA TRASTALLERES             928 CALLE SOLA                                                                          SAN JUAN             PR           00907
   713238 MARIA MIRANDA RIVERA                        HC 01 BOX 5557                                                                                                       OROCOVIS             PR           00720
   713239 MARIA MIRANDA ROLDAN                        PO BOX 504                                                                                                           JUNCOS               PR           00777
   713240 MARIA MIRANDA TORRES                        HC 01 BOX 4797                                                                                                       SABANA HOYOS         PR           00688
   299609 MARIA MOJICA ROJAS                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   299610 MARIA MOLINA ESTRONZA                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   713242 MARIA MOLINA TEXIDOR                        P O BOX 70250 SUITE 188                                                                                              SAN JUAN             PR           00936
   299611 MARIA MOLINA TORRES                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   713244 MARIA MONROIG ORTIZ                         PO BOX 882                                                                                                           ISABELA              PR           00662

   299613 MARIA MONSERRATE NEVAREZ                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA MONSERRATE PEREZ
   299614 GARCIA                                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA MONSERRATE
   713245 RODRIGUEZ                                   SABANA LLANA                 1004 CALLE LEALTAD                                                                      SAN JUAN             PR           00923

   713246 MARIA MONTALBAN NEVAREZ                     BO NUEVA VILLA POLILLA       48 CALLE MALAVE                                                                         CAYEY                PR           00736



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                                                      BO RABANAL PARC LA
   713247 MARIA MONTALBAN VEGA                        MILAGROSA                 RR 1 BOX 3514                                                                     CIDRA               PR           00739
          MARIA MONTALVO ALMODOVAR
   713248 & LCDO ANGEL             PADRO MARINA                                 PARC TIBURON           BZN 143 CALLE 21                                           BARCELONETA         PR           00617
   713249 MARIA MONTALVO FORT      P.O. BOX 1781                                                                                                                  CAGUAS              PR           00726

   713250 MARIA MONTALVO GONZALEZ                     RES DAVILA FREYTES        EDIF 10 APT 33                                                                    BARCELONETA         PR           00617
   299615 MARIA MONTANEZ                              REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299616 MARIA MONTANEZ RIVERA                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713252 MARIA MONTES MARIN                          HC 2 BOX 8026                                                                                               CIALES              PR           00638
   713253 MARIA MONTIJO CARDONA                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   713254 MARIA MONTOYA VELAZQUEZ                     VILLA FONTANA             JN‐13 VIA FABIANA                                                                 CAROLINA            PR           00983
   713255 MARIA MORALES                               HC 04 BOX 47287                                                                                             MAYAGUEZ            PR           00680
   713256 MARIA MORALES ANDRADES                      P O BOX 457                                                                                                 LAS PIEDRAS         PR           00771
   299618 MARIA MORALES BIDOT                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713258 MARIA MORALES COLLAZO                       RR 3 BOX 9713                                                                                               TOA ALTA            PR           00953
   299619 MARIA MORALES COLON                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299620 MARIA MORALES FERNANDEZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713260 MARIA MORALES GERENA                        RES JARD DE SELLES        EDIF 1 APT 13                                                                     SAN JUAN            PR           00924
   299621 MARIA MORALES GOMEZ                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713261 MARIA MORALES GUADALUPE                     HC 1 BOX 7692 E                                                                                             LUQUILLO            PR           00773‐9608
   713263 MARIA MORALES MARTINEZ                      HC BOX 4161               CAMINO NUEVO                                                                      YABUCOA             PR           00767‐9603
   299622 MARIA MORALES MONTOLLO                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299623 MARIA MORALES MONTOYO                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713264 MARIA MORALES QUINTERO                      PO BOX 2082                                                                                                 VEGA ALTA           PR           00962
   299624 MARIA MORALES RIVERA                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713265 MARIA MORALES RODRIGUEZ                     URB COLINAS SAN AGUSTIN   100 SAN CRISTOBAL                                                                 LAS PIEDRAS         PR           00771
   713267 MARIA MORALES SANTIAGO                      RES LAS MARGARITAS        1 EDIF 6 APT 69                                                                   SAN JUAN            PR           00915
   299625 MARIA MORALES VAZQUEZ                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713268 MARIA MORALES VIVES                         LOMAS VERDES              2X 31 CALLE JAZMIN                                                                BAYAMON             PR           00956
   299628 MARIA MORFE MERCADO                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713270 MARIA MOYA ORTIZ                            BO LLANADAS               BUZON 4‐198                                                                       ISABELA             PR           00662
   713271 MARIA MOYENO CORTES                         PO BOX 7428                                                                                                 SAN JUAN            PR           00916
   299629 MARIA MULERO MULERO                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299630 MARIA MUNEZ DE TORO                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299631 MARIA MUNIZ MEDINA                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299632 MARIA MUNIZ RODRIGUEZ                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299633 MARIA MUNIZ VAZQUEZ                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299634 MARIA MUNOZ AROCHO                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299635 MARIA MUSA VEGA                             REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299636 MARIA N ALVARADO ROIG                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299637 MARIA N BAJO FERNANDEZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713273 MARIA N BLANCO SANCHEZ                      URB LOMAS DE TRUJILLO     J 17 CALLE 8                                                                      TRUJILLO ALTO       PR           00975
   299638 MARIA N CARDOZA SEDA                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA N CARRASQUILLO
   709693 RODRIGUEZ                                   HC 7 BOX 33675                                                                                              CAGUAS              PR           00727‐9350
          MARIA N DEL C OLIVER DE LA
   713274 CRUZ                                        PARQUE SAN IGNACIO        D21 CALLE 3                                                                       SAN JUAN            PR           00921
   709694 MARIA N DIAZ ORTIZ                          HC 2 BOX 11808                                                                                              HUMACAO             PR           00791

   299639 MARIA N GUTIERREZ MELENDEZ REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713275 MARIA N JIMENEZ HERNAIZ    RR 5 BOX 8919                                                                                                                BAYAMON             PR           00956



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  299640 MARIA N LEBRON MARTINEZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  299641 MARIA N LOPEZ RIVERA                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   713277 MARIA N MILAN BABILONIA                     SOLAR 88 GUANAJIBO CASTILLO                                                                                          MAYAGUEZ            PR         00680
   299642 MARIA N MORALES ROSARIO                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299644 MARIA N OCASIO RAMOS                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713278 MARIA N OLAN JUSTINIANO                     HC 2 BOX 23383                                                                                                       MAYAGUEZ            PR         00680
   299645 MARIA N PEGUERO SOLANO                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   709695 MARIA N PEREZ TORO                          URB LA CONCEPCION             108 E CALLE ROSARIO                                                                    CABO ROJO           PR         00623
   713279 MARIA N REYES CONCEPCION                    H‐C 71 BOX 6731                                                                                                      CAYEY               PR         00736
   713280 MARIA N RIVERA PEREZ                        CORAL BEACH 1207              TORRE 2                                                                                CAROLINA            PR         00979
   713282 MARIA N ROMERO BARRERO                      BO COQUI                      146 PARCELAS VIEJAS                                                                    AGUIRRE             PR         00704
   713283 MARIA N RONDA LUGO                          PO BOX 310                                                                                                           HORMIGUEROS         PR         00660
   713284 MARIA N SANCHEZ RIVERA                      RES VILLA UNIVERSITARIA       EDIF 3 APT 24                                                                          BARRANQUITAS        PR         00794
   713286 MARIA N SANTIAGO TORRES                     PO BOX 292                                                                                                           GURABO              PR         00778
   299647 MARIA N TORRES VELAZQUEZ                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   713288 MARIA N VALENTIN MERCADO                    HC 3 BOX 17519                                                                                                       QUEBRADILLA         PR         00678
   709696 MARIA N VELEZ CONCEPCION                    PO BOX 993                                                                                                           ISABELA             PR         00662
   713290 MARIA N VICENTE CARATINI                    PO BOX 1702                                                                                                          CIDRA               PR         00739
   299648 MARIA N VICENTE LEON                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299649 MARIA N ZENO ROSARIO                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   713291 MARIA N. CUADRADO MELENDEZ HC 1 BOX 4674                                                                                                                         GURABO              PR         00778
   299650 MARIA N. LOZADA SANCHEZ    REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713294 MARIA NANCY SANTIAGO       RES FCO M CINTRON                              EDIF 1 APTO 8                                                                          SALINAS             PR         00751
   299651 MARIA NARVAEZ HERNANDEZ    REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713295 MARIA NATAL VAZQUEZ        URB BAIROA                                     AC WL CALLE 13                                                                         CAGUAS              PR         00725
          MARIA NATIVIDAD RIVERA
   713296 MENDEZ                     111 COM LOS PINOS                                                                                                                     UTUADO              PR         00641
   713297 MARIA NAVARRO FIGUEROA     PO BOX 7766                                                                                                                           CAGUAS              PR         00725
                                     CARR 842 K.M 3.9 CAMINO LOS
   713298 MARIA NAVARRO OCASIO       OCASIO                                                                                                                                SAN JUAN            PR         00926
   713299 MARIA NAVARRO SERRANO      PMB 52                                         PO BOX 1283                                                                            SAN LORENZO         PR         00754
          MARIA NAVARRO Y/O
   713300 FRANCISCO GOMEZ            URB MU¨OZ RIVERA                               29 CALLE BRISAIDA                                                                      GUAYNABO            PR         00969
   299652 MARIA NAVEDO ORTIZ         REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713301 MARIA NAZARIO BARRERA      URB BELMONTE                                   72 CALLE ZARAGOZA                                                                      MAYAGUEZ            PR         00680
   299653 MARIA NEGRON LABOY         REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713303 MARIA NEGRON OTERO         RES LAS MARGARITAS                             PROY 2‐15 EDIF 17 APT 417                                                              SAN JUAN            PR         00915
   713305 MARIA NEGRON RIOS          PO BOX 763                                                                                                                            OROCOVIS            PR         00720

   713306 MARIA NEGRON RIVERA                         ESTANCIAS DE SABANA HOYOS     H 7 CALLE TORTOLA                                                                      ARECIBO             PR         00688
   713307 MARIA NELA RAMOS GARCIA                     PO BOX 367278                                                                                                        SAN JUAN            PR         00936‐7278
   713308 MARIA NELLY VEGA AGOSTO                     PO BOX 5548                                                                                                          CAGUAS              PR         00726
   713309 MARIA NEVAREZ DE GRACIA                     EXT ALAMEDA                   D 54 CALLE C                                                                           SAN JUAN            PR         00926
   713310 MARIA NIEVES                                VILLA JULIA                   EDIF 1 APT E                                                                           QUEBRADILLAS        PR         00678
          MARIA NIEVES / NIEVES
   713312 CATERING                                    BO BUENA VISTA                RR 11 BOX 9800                                                                         BAYAMON             PR         00956
   713313 MARIA NIEVES ALBINO                         DANUVIO AZUL                  53 CALLE VIEJA                                                                         AGUADILLA           PR         00603
   713314 MARIA NIEVES COLON                          MSC 239                       PO BOX 4035                                                                            ARECIBO             PR         00614
   299654 MARIA NIEVES MORALES                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713315 MARIA NIEVES ROMERO                         PO BOX 51788                                                                                                         LEVITTOWN           PR         00950



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  713317 MARIA NOEL RAMOS                             PO BOX 370075                                                                                                          CAYEY               PR           00737
         MARIA NOELIA MORALES
  713318 MARTINEZ                                     VILLA CAROLINA               CALLE 526 BLOQUE 199 A NO 34                                                              CAROLINA            PR           00985

   299655 MARIA NOEMI SIERRA APONTE                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299656 MARIA NOLASCO ROSADO                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299658 MARIA NUNEZ FORTIS                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713319 MARIA O BELTRAN ACEVEDO                     BO CALLEJONES                SECTOR LAS TORRES KM 22 1                                                                 LARES               PR           00669
   713320 MARIA O CRUZ MELENDEZ                       URB VILLA MARINA             D 34 CALLE 5                                                                              GURABO              PR           00778
   299660 MARIA O DAVILA CARRION                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299661 MARIA O GONZALEZ ALICEA                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299662 MARIA O HERNANDEZ CAULA                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713321 MARIA O MARTINEZ                            HC 03 BOX 33235                                                                                                        MAYAGUEZ            PR           00680
   713323 MARIA O PEREZ RIVERA                        HC 02 BOX 6956                                                                                                         BAJADERO            PR           00616

   713324 MARIA O PRESTON MALDONADO PO BOX 605‐703 SUITE 404                                                                                                                 AGUADILLA           PR           00605
   299663 MARIA O RIOS DEL VALLE    REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   713326 MARIA O. MARTINEZ PEGUERO                   HP ‐ SALA CCEP                                                                                                         RIO PIEDRAS         PR           009360000
   299664 MARIA O. TORRES JIMENEZ                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713327 MARIA OCASIO                                HC 04 48759                                                                                                            CAGUAS              PR           00725
   713328 MARIA OCASIO ROMAN                          BO ARENALES BAJO             SECTOR LA PLATA                BUZON 466                                                  ISABELA             PR           00662
   713329 MARIA OCASIO SANABRIA                       HC 03 BOX 15630                                                                                                        LAJAS               PR           00667
   713330 MARIA OLABARRIETA                           B404 COND MONTE BELLO                                                                                                  TRUJILLO ALTO       PR           00976
   713331 MARIA OLAVARRIA QUILES                      146 MAUJER STAPT 4 B                                                                                                   BROOKLYN            NY           11206
   713332 MARIA OLIVER MARTINEZ                       C 3 URB LOS RODRIGUEZ                                                                                                  CAMUY               PR           00627
   299665 MARIA OLIVER VAZQUEZ                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713333 MARIA OLIVERAS JIMENEZ                      URB SANTA ROSA               CALLE 8 BLQ 12‐10                                                                         BAYAMON             PR           00956
   713334 MARIA OLIVERAS RODRIGUEZ                    VILLA PALMERAS               D Y 13 CALLE FAJARDO                                                                      SAN JUAN            PR           00915
   299666 MARIA OLIVERAS ROSARIO                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713335 MARIA OLIVERAS VAZQUEZ                      RES C 18                                                                                                               CIALES              PR           00638
   713337 MARIA OLMO MIRANDA                          PO BOX 225                                                                                                             LAS PIEDRAS         PR           00771
   299667 MARIA OPPENHEIMER GARAY                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713338 MARIA OQUENDO ROMERO                        COND EL VALLE                409 CALLE DEL VALLE APT 304                                                               SAN JUAN            PR           00915
   713340 MARIA ORTEGA RIVERA                         URB LAS COLINAS              M 10 CALLE 15                                                                             TOA BAJA            PR           00949
   713341 MARIA ORTIZ CABAN                           URB LUQUILLO MAR             CC 61 CALLE B                                                                             LUQUILLO            PR           00773‐2624
   713343 MARIA ORTIZ COLLAZO                         PO BOX 7170                                                                                                            CAROLINA            PR           00985
   299668 MARIA ORTIZ CORREA                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299669 MARIA ORTIZ DIAZ                            REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713346 MARIA ORTIZ FELICIANO                       PO BOX 1307                                                                                                            VEGA ALTA           PR           00692
   713347 MARIA ORTIZ GONZALEZ                        HC 02 BOX 8366                                                                                                         JUANA DIAZ          PR           00795
   299670 MARIA ORTIZ HUERTAS                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299671 MARIA ORTIZ LOPEZ                           REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299673 MARIA ORTIZ LOZANO                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299674 MARIA ORTIZ MADERA                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

          MARIA ORTIZ
   713351 MALDONADO/SIRIALIX ANDINO                   VILLA ESPERANZA CAMPANILLA   D 12 CALLE MIOSOTI                                                                        TOA BAJA            PR           00951
   299675 MARIA ORTIZ MORALES                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299678 MARIA ORTIZ MURIEL                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713352 MARIA ORTIZ OLIVO                           RES FRANKLIN D ROOSEVELT     EDIF 19 APT 422                                                                           MAYAGUEZ            PR           00680
   299679 MARIA ORTIZ ORTIZ                           REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299681 MARIA ORTIZ PEREZ                           REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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          MARIA ORTIZ ROLON /EQ
   713354 NATACION CAROLINA                           VALLE ARRIBA HEIGHTS      AC 12 CALLE TULIPAN                                                                  CAROLINA            PR           00984
   713355 MARIA ORTIZ SANTIAGO                        URB COLINA VERDES         R 24 CALLE 1                                                                         SAN SEBASTIAN       PR           00685
   713356 MARIA ORTIZ SANTOS                          BRISAS DE MARAVILLA       I 18 CALLE VISTA ALEGRA                                                              MERCEDITA           PR           00715
   709698 MARIA ORTIZ TORRES                          VILLA CAROLINA            92 13 CALLE 89                                                                       CAROLINA            PR           00985
   713358 MARIA ORTIZ TORRES                          RES JUAN JIMENEZ GARCIA   EDIF 22 APT 198                                                                      CAGUAS              PR           00725
   713359 MARIA ORTIZ VALENZUELA                      NUM 325 EDIF 9            CALLE CECILIA SAN JOSE                                                               SAN JUAN            PR           00926
   713360 MARIA ORTIZ VAZQUEZ                         HC 1 BOX 5211                                                                                                  CIALES              PR           00638
   299682 MARIA ORTIZ VELEZ                           REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420429 MARIA ORTIZ, ELSA                           ARIEL FELIX CINTRON       PO BOX 42007                                                                         SAN JUAN            PR           00940‐2007
          MARIA ORTIZ/VICENTE VICARIO
   299683 BARRIOS                                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713361 MARIA OSORIO                                4111 SW 25 ST LOT 92                                                                                           FORT LAUDERLE       FL           33317 6938
   299684 MARIA OSORIO MOLINA                         REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713362 MARIA OSORIO OSORIO                         HC 1 BOX 6933                                                                                                  LOIZA               PR           00772
   299685 MARIA OSTOLAZA GONZALEZ                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713363 MARIA OTERO                                 HC 2 BOX 43304                                                                                                 VEGA BAJA           PR           00693
   713364 MARIA OTERO CAEZ                            BO OBRERO                 2279 CALLE BARBOSA                                                                   SAN JUAN            PR           00915
   713365 MARIA OTERO FIGUEROA                        CAPARRA TERRACE           1132 CALLE 16 SE                                                                     SAN JUAN            PR           00921
   299686 MARIA OTERO MALDONADO                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299687 MARIA OTERO VEGA                            REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      URB FULLANA # 10 CALLE
   713367 MARIA OYOLA GARCIA                          ALMENDRO                                                                                                       CAYEY               PR           00737
   713368 MARIA OYOLA GAVILAN                         RR 6 BOX 9217                                                                                                  SAN JUAN            PR           00926
   713369 MARIA OYOLA GUERRERO                        TOA ALTA HGTS             AS 27 CALLE 35                                                                       TOA ALTA            PR           00953
   713370 MARIA P ACOSTA VEGA                         PO BOX 5160                                                                                                    CAGUAS              PR           00726
   713371 MARIA P ADORNO CRUZ                         14 CALLE AMADOR ESTE                                                                                           CAMUY               PR           00627
   299688 MARIA P CASTRO CARRASCAL                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713372 MARIA P CEPERO GONZALEZ                     URB MARGINAL              D17 CALLE 5                                                                          ARECIBO             PR           00612
   299689 MARIA P FALERO GOTAY                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299690 MARIA P FRATICELLI RIVERA                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713376 MARIA P GONZALEZ RUIZ                       URB BELLA VISTA           R 118 CALLE 20                                                                       BAYAMON             PR           00957 6102

   713377 MARIA P INOSTROZA ARROYO.                   URB VISTA HERMOSA         J 17 CALLE 8                                                                         HUMACAO             PR           00791
          MARIA P MALDONADO
   713378 MELENDEZ                                    HC 1 BOX 5402                                                                                                  CIALES              PR           00617
   299691 MARIA P MARICHAL LUGO                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713379 MARIA P MUNOZ ROVIRA                        COUNTRY ESTATES           C‐3 CALLE 4                                                                          BAYAMON             PR           00956
   713380 MARIA P PEREZ RIVERA                        PO BOX 618                                                                                                     BAYAMON             PR           00960
          MARIA P PHYSIATRIC SERVICES
   299694 PCS                                         2 CALLE MANUEL GARCIA                                                                                          LAS PIEDRAS         PR           00771

   713381 MARIA P PIMENTEL MARTINEZ                   PO BOX 952                                                                                                     GUANICA             PR           00653
   299695 MARIA P POLANCO MORA                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713382 MARIA P RAMIREZ                             PO BOX 91                                                                                                      HIORMIGUEROS        PR           00660
   713383 MARIA P RAMOS LOPEZ                         HC 2 BOX 28584                                                                                                 CAGUAS              PR           00727
   713385 MARIA P RIVERA RODRIGUEZ                    POBLADO ROSARIO           112 ROSARIO                                                                          MAYAGUEZ            PR           00636
   713386 MARIA P RODRIGUEZ CANCEL                    URB SAN JOSE              388 CALLE VERGEL                                                                     SAN JUAN            PR           00923
   299696 MARIA P RODRIGUEZ RIVERA                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   299697 MARIA P RODRIGUEZ VALERIO                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713388 MARIA P SANTIAGO PEREZ                      HC 01 BOX 3690                                                                                                 SANTA ISABEL        PR           00757
   713389 MARIA P SEBASTIAN NICHOLS                   10 PDA C/ AMERICA                                                                                              SAN JUAN            PR           00909



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  713390 MARIA P SERBIA IRIZARRY                      CONDADO                      1113 CALLE VIEQUES                                                               SAN JUAN           PR         00907
  299698 MARIA P SERRANO LARA                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299699 MARIA P TORRES RIVERA                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299700 MARIA P VARELA OCASIO                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299701 MARIA P ZELAYA FEIJOO                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  713391 MARIA P. ANDINO LOPEZ                        RES LUIS LLORENS TORRES      EDIF 134 APTO 2482                                                               SAN JUAN           PR         00915
  299702 MARIA P. ORTIZ MALAVE                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299703 MARIA P. SANTOS TORRES                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299704 MARIA P. VARELA OCASIO                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  713392 MARIA PABON                                  RES VISTA HERMOSA            EDIF 40 APT 514                                                                  SAN JUAN           PR         00928
  713393 MARIA PABON ALVAREZ                          HC 6 BOX 12832                                                                                                SAN SEBASTIAN      PR         00685
  299705 MARIA PABON GONZALEZ                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299706 MARIA PABON MARTINEZ                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299707 MARIA PABON RAMOS                            REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  713394 MARIA PACHECO PACHECO                        HC 2 BOX 25902                                                                                                GUAYANILLA         PR         00656
  713396 MARIA PACHECO ROSARIO                        po box 21365                                                                                                  SAN JUAN           PR         0092613365
  299708 MARIA PADILLA CORREA                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  713397 MARIA PADILLA PADILLA                        URB CIUDAD UNIVERSITARIA     M 10 CALLE 17                                                                    TRUJILLO ALTO      PR         00976
                                                      URB SANTA JUANITA NG 7 CALLE
   713398 MARIA PADILLA RIVERA                        GEMA                                                                                                          BAYAMON            PR         00956
   299709 MARIA PADRO CRUZ                            REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   299710 MARIA PADRO VEGA                            REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   713399 MARIA PAGAN CALDERON                        URB LAS CUMBRES              216 CALLE LAURELL                                                                MOROVIS            PR         00687
   713400 MARIA PAGAN COLLAZO                         HC 1 BOX 5400                                                                                                 BARRANQUITAS       PR         00794
   713401 MARIA PAGAN CONCEPCION                      RES LUIS LLORENS TORRES      EDF 1 APT 21                                                                     SAN JUAN           PR         00913
   713402 MARIA PAGAN COSME                           HC BOX 7762                                                                                                   CIALES             PR         00638
   299711 MARIA PAGAN DAVILA                          REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      URB.VISTA VERDE 28 CALLE
   713403 MARIA PAGAN RIVERA                          CHILE                                                                                                         VEGA BAJA          PR         00693
          MARIA PALOMA VIDA Y/O
   299712 VIVIAN P GARCIA                             REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   713408 MARIA PARES RAMIREZ                         URB SANTA ROSA               34‐17 CALLE 25                                                                   BAYAMON            PR         00959
   299714 MARIA PARIS DE JESUS                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   299715 MARIA PARRILLA PENA                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   713409 MARIA PATRICIA LACEN VIDAL                  COOP VILLA KENNEDY           EDIF 36 APT 553                                                                  SAN JUAN           PR         00907
   713410 MARIA PAULA BOATMAN                         1477 ASHFORD NUM 306                                                                                          SAN JUAN           PR         00907
   299716 MARIA PAVON REYES                           REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   713411 MARIA PEDRAZA ALGARIN                       370 AVE HOSTOS                                                                                                SAN JUAN           PR         00918
   299717 MARIA PELLOT GONZALEZ                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   299718 MARIA PENA ALCANTARA                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   299719 MARIA PENALOZA GRAJALES                     REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   713414 MARIA PEREDA RODRIGUEZ                      PARC ELIZABETH PUERTO REAL   337 CALLE AZUCENA                                                                CABO ROJO          PR         00623
   713415 MARIA PEREIRA BRUNO                         JARDINES DE SAN IGNACIO      1508 A                                                                           SAN JUAN           PR         00927
   299720 MARIA PEREIRA CALDERON                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   713416 MARIA PERELLO OSPINO                        PO BOX 9021112                                                                                                SAN JUAN           PR         00902‐1112
   713417 MARIA PEREZ AGOSTO                          URB MADELINE                 P4 CALLE ESMERALDA                                                               TOA ALTA           PR         00953
   299721 MARIA PEREZ CARRION                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   299722 MARIA PEREZ CINTRON                         REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   713419 MARIA PEREZ COLON                           RR 9                         P O BOX 1000                                                                     SAN JUAN           PR         00928
   713420 MARIA PEREZ CORREA                          BO MEDIANIA ALTA             CARR 187 KM 7.1                                                                  LOIZA              PR         00772
   713421 MARIA PEREZ CRUZ                            BDA BORINQUEN 22 INT.                                                                                         SAN JUAN           PR         00921
   713422 MARIA PEREZ GOMEZ                           VALLE HERMOSO                SU 49 CALLE BUCARE                                                               MAYAGUEZ           PR         00680



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  299723 MARIA PEREZ GONZALEZ                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  713424 MARIA PEREZ JIMENEZ                          BO SANDIN                                                                                                    VEGA BAJA          PR         00694
  713425 MARIA PEREZ LOPEZ                            HC 01 BOX 3873                                                                                               ADJUNTAS           PR         00601
  713427 MARIA PEREZ MORALES                          URB OPENLAND              578 CALLE CREUS                                                                    SAN JUAN           PR         00924
  713428 MARIA PEREZ OTERO                            URB SAGRADO CORAZON       1702 SANTA BRIGIDA                                                                 SAN JUAN           PR         00926
  713429 MARIA PEREZ PEREZ                            PO BOX 1839                                                                                                  JUNCOS             PR         00777
  299725 MARIA PEREZ RIVERA                           REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299726 MARIA PEREZ RODRIGUEZ                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  713434 MARIA PEREZ ROLON                            HC 01 BOX 8490                                                                                               CANOVANAS          PR         00729‐9726
  713435 MARIA PEREZ ROSARIO                          HC 01 BOX 6561                                                                                               CIALES             PR         00638
  299727 MARIA PEREZ SERRANO                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299728 MARIA PEREZ VARGAS                           REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299729 MARIA PICHARDO MARTINEZ                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  713437 MARIA PICOT MARQUEZ                          RES ISIDRO CORA           EDIF 23 APT 20                                                                     ARROYO             PR         00714
  299730 MARIA PINA QUINONEZ                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299731 MARIA PINEIRO FERNANDEZ                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299732 MARIA PINET DE JESUS                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  713438 MARIA PINTO KUILAN                           P O BOX 506                                                                                                  TOA BAJA           PR         00951
  713439 MARIA PINTO MARTINEZ                         HC 03 BOX 11808                                                                                              YABUCOA            PR         00767
  713440 MARIA PIZARRO                                HC 01 BOX 7019                                                                                               LOIZA              PR         00772
  299733 MARIA PIZARRO CORREA                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  713441 MARIA PIZARRO RODRIGUEZ                      VILLA CAROLINA            PARC 426 CALLE 19                                                                  CAROLINA           PR         00985
  299734 MARIA PIZARRO SERRANO                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  713443 MARIA PONCE                                  URB LOMAS VERDES          2D 25 AVE NOGAL                                                                    BAYAMON            PR         00956
  713444 MARIA PORTO LOPEZ                            BOX 837                                                                                                      SALINAS            PR         00751
  713446 MARIA PULIDO REY                             P O BOX 2121                                                                                                 SALINAS            PR         00751
  299735 MARIA QUEZADA POLANCO                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299736 MARIA QUI¥ONES MORALES                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299737 MARIA QUILES INGLES                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  713447 MARIA QUILES PABON                           HC 1 BOX 2945 BA COABEY                                                                                      JAYUYA             PR         00664‐9704
  299738 MARIA QUINONES                               REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299739 MARIA QUINONES ACEVEDO                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299740 MARIA QUINONES JIMENEZ                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299741 MARIA QUINONES ORTIZ                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299742 MARIA QUINONES TORRES                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  713448 MARIA QUINONEZ RAMOS                         PO BOX 21365                                                                                                 SAN JUAN           PR         00926‐1365
  713449 MARIA QUINONEZ TIRADO                        PARQ ECUESTRE             O21 CALLE PISA FLORES                                                              CAROLINA           PR         00987
  299743 MARIA QUINONEZ VARGAS                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299744 MARIA QUINTERO PADILLA                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  713451 MARIA R AGOSTO CINTRON                       RR 2 BOX 77                                                                                                  SAN JUAN           PR         00926

   713452 MARIA R ALVARADO BARRETO                    6 PARCELAS NIAGARA                                                                                           COAMO              PR         00769
          MARIA R AVELLANEDA
   713453 GUERRERO                                    EL CEREZAL                1681 ORINOCO                                                                       SAN JUAN           PR         00926

   713454 MARIA R BEVILACQUA BOLLADA COND LOS ALMENDROS                         I APT 701                                                                          SAN JUAN           PR         00924
   713455 MARIA R BURGOS GONZALEZ    HC 01 BOX 17067                                                                                                               HUMACAO            PR         00791‐9735
   713450 MARIA R CARMONA SANCHEZ    PO BOX 780                                                                                                                    TRUJILLO ALTO      PR         00977

   299746 MARIA R CLEMENTE CALDERON                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   713456 MARIA R CORREA HERRERA                      URB SULTANA               BB 17 CALLE ALAMEDA                                                                MAYAGUEZ           PR         00680
   713457 MARIA R CORTES DE JESUS                     HC 6 BOX 7089                                                                                                CAGUAS             PR         00725
   713458 MARIA R CRESPO LUGO                         PO BOX 1808                                                                                                  LARES              PR         00669



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  713459 MARIA R DE JESUS PIZARRO                     ADM SERV GENERALES      P O BOX 7428                                                                          SAN JUAN            PR         00916‐7428
  713460 MARIA R DOELTER BAEZ                         URB JARD DE ARROYO      V 4 CALLE P                                                                           ARROYO              PR         00714
  713461 MARIA R FLORES RIVERA                        HC 4 BOX 4095                                                                                                 HUMACAO             PR         00791
  713462 MARIA R GARCIA BURWOOD                       PO BOX 16270                                                                                                  SAN JUAN            PR         00908‐6270
  713463 MARIA R GONZALEZ GIBERT                      URB EL CEREZAL          1641 CALLE NIEPER                                                                     SAN JUAN            PR         00926
  299748 MARIA R LOPEZ CONTRERAS                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  713465 MARIA R LOZADA DAVILA                        BAIROA PARK             H 14 CALLE DE LA LUZ                                                                  CAGUAS              PR         00725
  299749 MARIA R MADERA AYALA                         REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   713466 MARIA R MALDONADO ROSARIO HC 1 BOX 5405                                                                                                                   BAJADERO            PR         00616

   713467 MARIA R MELENDEZ FIGUEROA                   RR 1 BOX 12555                                                                                                OROCOVIS            PR         00720
   713468 MARIA R MENDEZ VARGAS                       URB VILLA SERENA        H 19 CALLE AMAPOLA                                                                    ARECIBO             PR         00612
   299750 MARIA R MERCADO GOMEZ                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299751 MARIA R ORTIZ MINAMBRE                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713472 MARIA R PADIN RIOS                          P O BOX 543                                                                                                   CAMUY               PR         00627‐0543
   713473 MARIA R PEREZ GARCIA                        PO BOX 8552                                                                                                   PONCE               PR         00732
   713474 MARIA R PIMENTEL RAMOS                      EXT MANUEL A PEREZ      EDIF J 12 APT 109                                                                     SAN JUAN            PR         00924
   299752 MARIA R PUJOL THOMPSON                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713476 MARIA R RAMIREZ MALAVE                      VILLA KENNEDY           EDIF 11 APT 183                                                                       SAN JUAN            PR         00915
   713478 MARIA R ROBLES VALENTIN                     PO BOX 319                                                                                                    GURABO              PR         00778

   713479 MARIA R RODRIGUEZ CHAPARRO MSC 784                                  PO BOX 5000                                                                           AGUADA              PR         00602
          MARIA R RODRIGUEZ PARA
   299753 NAYELIS I SANTOS           REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   713480 MARIA R RODRIGUEZ SOLIVAN                   HC 1 BOX 6074                                                                                                 AIBONITO            PR         00705
   299754 MARIA R ROSA BRUNO                          REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713481 MARIA R SANTIAGO DIAZ                       HC 02 BOX 6564                                                                                                BARRANQUITAS        PR         00794
   713482 MARIA R TIRADO GONZALEZ                     URB ESTANCIAS DEL RIO   536 CALLE PORTUQUEZ                                                                   HORMIQUEROS         PR         00660
   713483 MARIA R TORRES RIVERA                       131 CALLE PITIRE                                                                                              MOROVIS             PR         00687
   713485 MARIA R VARGAS                              COND LAGUNA GARDENS     APT 9 I                                                                               CAROLINA            PR         00979
   299756 MARIA R VIERA MEDERO                        REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713486 MARIA R WARD CID                            URB EL VIGIA            46 CALLE SANTA ANASTACIA                                                              SAN JUAN            PR         00926
   299757 MARIA R. ANTUNEZ                            REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713488 MARIA R. CASTRO ROSA                        COND EL FALANSTERIO     H‐3 PTA TIERRA                                                                        SAN JUAN            PR         00912
   299758 MARIA R. HENRY IRIZARRY                     REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299759 MARIA R. OTERO SURIA                        REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1256663 MARIA R. PACHECO GODOY                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299760 MARIA R. PEREZ LUCENA                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299761 MARIA RAIMUNDI RIVERA                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713491 MARIA RAMIREZ                               JARDINES DEL CARIBE     I 23 CALLE LOS ROBLES                                                                 MAYAGUEZ            PR         00680
   713492 MARIA RAMIREZ CRUZ                          BOX 1655                                                                                                      SANTA ISABEL        PR         00757
   299762 MARIA RAMIREZ GONZALEZ                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299763 MARIA RAMIREZ LAMOSO                        REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299764 MARIA RAMIREZ MEJIA                         REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713493 MARIA RAMON MIRANDA                         RES LAS AMAPOLAS        EDIF C 7 APT 100                                                                      SAN JUAN            PR         00970
   713494 MARIA RAMOS ALGARIN                         ADM SERV GEN            P O BOX 7428                                                                          SAN JUAN            PR         00916‐7428
   713495 MARIA RAMOS ALVAREZ                         HC 1 BOX 8106                                                                                                 MAUNABO             PR         00707
   299765 MARIA RAMOS AROCHO                          REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299766 MARIA RAMOS BERRIOS                         REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299767 MARIA RAMOS CUEVAS                          REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299770 MARIA RAMOS LORENZANA                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  299771 MARIA RAMOS MARTINEZ                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  713499 MARIA RAMOS RIVERA                           RES LUIS LLORENS TORRES   EDF 110 VAPT 2062                                                                      SAN JUAN          PR         00913
  299772 MARIA RAMOS RODRIGUEZ                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  713501 MARIA RAMOS SANTIAGO                         SAN JOSE                  P 118 CALLE 13                                                                         TOA BAJA          PR         00954
  713502 MARIA RAMOS SOTO                             708 CALLE ALMENDRO                                                                                               AVEGA BAJA        PR         00693
  299773 MARIA RAMOS VARGAS                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  713503 MARIA RAMOS VELEZ                            REPARTO SAN MIGUEL        6 CALLE LIANA                                                                          MAYAGUEZ          PR         00680
  713504 MARIA RAMOS ZAPATA                           8 CALLE 4 CLAUSELLS                                                                                              PONCE             PR         00731

   713507 MARIA REBECCA AMADOR LOPEZ 80 AVE MONTE MAR                                                                                                                  AGUADILLA         PR         00603
   299774 MARIA REGALADO GONZALEZ    REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   713508 MARIA REINA DIAZ           PARQ SAN FRANCISCO                         120 CALLE MARGINAL APT 46                                                              BAYAMON           PR         00959
   299775 MARIA RENTAS CANDELARIO    REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299777 MARIA RESTO SIERRA         REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   713509 MARIA REYES BONILLA        PO BOX 186                                                                                                                        TRUJILLO ALTO     PR         00977
   713510 MARIA REYES CARRION        RES LUIS LLORENS TORRES                    EDIF 136 APT O 2509                                                                    SAN JUAN          PR         00915
   299778 MARIA REYES DE PIMENTEL    REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   713514 MARIA REYES GONZALEZ       BAD SAN CRISTOBAL                          57 CALLE JESUS M COLLAZO                                                               CAYEY             PR         00736
   713515 MARIA REYES LEBRON         VILLA CONTESSA                             H2 CALLE YORK                                                                          BAYAMON           PR         00956
   713516 MARIA REYES MEDINA SOTO    P O BOX 50063                              OLD SAN JUAN STATION                                                                   SAN JUAN          PR         00902
   299779 MARIA REYES MELENDEZ       REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   713517 MARIA REYES MIRANDA        HC 2 BOX 8440                                                                                                                     CIALES            PR         00638‐9749
   713518 MARIA REYES OTERO          VILLA EVANGELIN                            S 225 CALLE 12                                                                         MANATI            PR         00674
   713519 MARIA REYES RIVERA         HC 1 BOX 8592                                                                                                                     AGUAS BUENAS      PR         00703
   299780 MARIA REYES SUSTACHE       REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299781 MARIA REYES VEGA           REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   713520 MARIA REYNOSO AYALA        URB ALAMAN                                 H 8 CALLE J                                                                            LUQUILLO          PR         00773
   299783 MARIA RIEFKOLHL RIVERA     REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   713521 MARIA RIJOS GUZMAN         PO BOX 28                                                                                                                         PALMER            PR         00721
   299784 MARIA RIJOS VELAZQUEZ      REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299785 MARIA RIOS                 REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299786 MARIA RIOS CARTAGENA       REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299787 MARIA RIOS MARQUEZ         REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   713522 MARIA RIOS ORTIZ           PARQUE LAS HACIENDAS                       F 4 CALLE ABACOA                                                                       CAGUAS            PR         00727
   709642 MARIA RIOS PAEZ            PO BOX 1376                                                                                                                       LUQUILLO          PR         00773
   299789 MARIA RIOS/MARIBEL RIVERA  REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299791 MARIA RIVAS MALDONADO      REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   713524 MARIA RIVAS SEPULVEDA      URB VILLA HUMACAO                          MSC 130 CORREO                                                                         HUMACAO           PR         00791
   299792 MARIA RIVERA               REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299793 MARIA RIVERA ALMODOVAR     REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   713528 MARIA RIVERA ARROYO        BO. OBRERO                                 417 CALLE TAVAREZ                                                                      SAN JUAN          PR         00915
   713529 MARIA RIVERA BERRIOS       URB LEVITTOWN LAKE                         AA39 CALLE MARGARITA                                                                   TOA BAJA          PR         00949
   713530 MARIA RIVERA CAMACHO       CARR 10 KM 21 9                                                                                                                   PONCE             PR         00731
   299794 MARIA RIVERA CANCEL        REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299795 MARIA RIVERA CARO          REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARIA RIVERA CATERING
   713531 SERVICES                   CIUDAD REAL                                442 CALLE ALBA                                                                         VEGA BAJA         PR         00693
   713533 MARIA RIVERA COLON         VERDUM                                     13 RAFAEL HERNANDEZ                                                                    HORMIGUEROS       PR         00660
   713534 MARIA RIVERA CORTES        URB VALLE ALTO                             2104 CALLE COLINA                                                                      PONCE             PR         00730‐4125
   713535 MARIA RIVERA COTTO         VILLA EVANGELINA                           R 8 CALLE 4                                                                            MANATI            PR         00674
   713536 MARIA RIVERA DAVILA        URB GOLDEN GATE II                         H 4 CALLE N                                                                            CAGUAS            PR         00725
   299796 MARIA RIVERA DE JESUS      REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   713537 MARIA RIVERA DELGADO       HC 2 BOX 4229                                                                                                                     LAS PIEDRAS       PR         00771



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MML ID              NAME                                         ADDRESS 1                 ADDRESS 2                ADDRESS 3                           ADDRESS 4             CITY        STATE    POSTAL CODE       COUNTRY
  299797 MARIA RIVERA DIAZ                            REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  713538 MARIA RIVERA ESCRIBANO                       URB VILLA DEL CARMEN       AA 7 CALLE 1                                                                       GURABO             PR         00778
  299798 MARIA RIVERA GARCIA                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299800 MARIA RIVERA GONZALEZ                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299803 MARIA RIVERA HERNANDEZ                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  713541 MARIA RIVERA LEON                            RES LUIS LLOREN TORRES     EDIF 16 APT 336                                                                    SAN JUAN           PR         00913
  713542 MARIA RIVERA LOUBRIEL                        8183 RES DEL PALMAR                                                                                           VEGA ALTA          PR         00692‐9771
  713545 MARIA RIVERA MALPICA                         BO DOMINGO RUIZ            CARR 2 CALLE 4                                                                     ARECIBO            PR         00612
  713546 MARIA RIVERA MARQUEZ                         P O BOX 7000                                                                                                  SAN SEBASTIAN      PR         00685
  713548 MARIA RIVERA MARTINEZ                        URB CUIDAD REAL            442 CALLE ALVA                                                                     VEGA BAJA          PR         00693
  299804 MARIA RIVERA MATOS                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299805 MARIA RIVERA MELENDEZ                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299806 MARIA RIVERA MOLINA                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299808 MARIA RIVERA MORALES                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299809 MARIA RIVERA NARVAEZ                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299810 MARIA RIVERA NIEVES                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299811 MARIA RIVERA ORTIZ                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  299812 MARIA RIVERA PAGAN                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  713557 MARIA RIVERA RAMOS                           MONTE PARK                 EDIF E APTO 65                                                                     SAN JUAN           PR         00924
  713558 MARIA RIVERA REYES                           PO BOX 1261                                                                                                   COAMO              PR         00769
  299814 MARIA RIVERA RIVERA                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  713561 MARIA RIVERA ROBLEDO                         RES VILLAMAR               EDIF B APT 47                                                                      AGUADILLA          PR         00603
  713562 MARIA RIVERA RODRIGUEZ                       VIEJO SAN JUAN             151 CALLE CRUZ                                                                     SAN JUAN           PR         00901
  299815 MARIA RIVERA ROSAS                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  713563 MARIA RIVERA ROURE                           PO BOX 1036                                                                                                   CIALES             PR         00638‐1036
  299816 MARIA RIVERA SALGADO                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  713565 MARIA RIVERA SANCHEZ                         PO BOX 21635                                                                                                  SAN JUAN           PR         00928
  299817 MARIA RIVERA SANTIAGO                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                      URB.LEVITTOWN 1649 PASEO
   713566 MARIA RIVERA SEPULVEDA                      DORADO                                                                                                        TOA BAJA           PR         00949
   713567 MARIA RIVERA SERRANO                        URB REPTO METROPOLITANO    1050 CALLE 13 SE                                                                   SAN JUAN           PR         00921
   299819 MARIA RIVERA SOBRADO                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   299820 MARIA RIVERA VAZQUEZ                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   299821 Maria Rivera Vega                           REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   713569 MARIA RIVERO FERNANDEZ                      PO BOX 7126                                                                                                   PONCE              PR         00732

   299822 MARIA ROBLES / FELIPE ORTIZ                 REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   713571 MARIA ROBLES RODRIGUEZ                      PO BOX 642                                                                                                    CIALES             PR         00638
   713572 MARIA ROBLES SANTIAGO                       PO BOX 295                                                                                                    SABANA SECA        PR         00952
   299823 MARIA RODRIGUEZ                             REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MARIA RODRIGUEZ /CARMEN
   713574 SUAREZ                                      11707 CYPRESS PARK ST                                                                                         TAMPA              FL         33624
   713575 MARIA RODRIGUEZ ACEVEDO                     HC 1 BOX 7536                                                                                                 ARECIBO            PR         00612
   713576 MARIA RODRIGUEZ AGUILAR                     PARCELAS LOARTE            BUZON 69                                                                           BARCELONETA        PR         00617
   713577 MARIA RODRIGUEZ ALGARIN                     IRB SAN AGUSTIN            419 C/ SOLDADO LIBRAN                                                              SAN JUAN           PR         00923
   299825 MARIA RODRIGUEZ ALICEA                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   299826 MARIA RODRIGUEZ ANDUJAR                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   713578 MARIA RODRIGUEZ AYALA                       ADM SERV GEN               PO BOX 7428                                                                        SAN JUAN           PR         00916‐7428
          MARIA RODRIGUEZ
   299827 BETANCOURT                                  REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   713579 MARIA RODRIGUEZ BURGOS                      URB COSTA AZUL             HH 25 CALLE 14                                                                     GUAYAMA            PR         00784

   299828 MARIA RODRIGUEZ CAMPBELLS                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  713582 MARIA RODRIGUEZ CARRION     HC 02 BOX 7827                                                                                                                        CAMUY               PR         00627
  713584 MARIA RODRIGUEZ CINTRON     BO LOS GUANOS                                HC BOX 3882                                                                              FLORIDA             PR         00560
  299829 MARIA RODRIGUEZ COLON       REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  299830 MARIA RODRIGUEZ CORDERO     REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  713586 MARIA RODRIGUEZ CORTES      URB VILLA CAROLINA                           28 19 CALLE 6                                                                            CAROLINA            PR         00985
  713587 MARIA RODRIGUEZ CRESPO      URB VISTA HERMOSA                            B 53 CALLE 1                                                                             HUMACAO             PR         00792
  299831 MARIA RODRIGUEZ DE JESUS    REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MARIA RODRIGUEZ DIAZ & JUAN
  713588 R COBIAN                    P O BOX 1092                                                                                                                          PATILLAS            PR         00902‐0567
  713589 MARIA RODRIGUEZ EZPADA      HC 1 BOX 4850                                                                                                                         SALINAS             PR         00751

   299832 MARIA RODRIGUEZ FRANCESCHI REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299833 MARIA RODRIGUEZ FRES       REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713590 MARIA RODRIGUEZ GALARZA    VILLAS DE RIO VERDE                          XX 35 CALLE 26                                                                           CAGUAS              PR         00725

   299834 MARIA RODRIGUEZ GONZALEZ                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   299835 MARIA RODRIGUEZ HERNANDEZ REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299837 MARIA RODRIGUEZ HIDALGO   REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299839 MARIA RODRIGUEZ ISAAC     REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   713593 MARIA RODRIGUEZ LANGE                       DULCES LABIOS               207 CALLE BENIGNO CONTRERAS                                                              MAYAGUEZ            PR         00682

   713594 MARIA RODRIGUEZ MATIENZO                    BRISAS DEL MAR              L 7 CALLE 8                                                                              LUQUILLO            PR         00773
   299841 MARIA RODRIGUEZ MORALES                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   713598 MARIA RODRIGUEZ ORTIZ                       URB. SAN AUGUSTO G‐5 CALLE A                                                                                         GUAYANILLA          PR         00656‐1613
   713599 MARIA RODRIGUEZ PABON                       HC 1 BOX 2696                                                                                                        MOROVIS             PR         00687
   299843 MARIA RODRIGUEZ PEREZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299844 MARIA RODRIGUEZ RAMIREZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299845 MARIA RODRIGUEZ RENTAS                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299846 MARIA RODRIGUEZ RIOS                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713601 MARIA RODRIGUEZ RIVERA                      PO BOX 511                                                                                                           CAMUY               PR         00627

   299847 MARIA RODRIGUEZ RODRIGUEZ                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713607 MARIA RODRIGUEZ ROJAS                       RR 02 BZN 8004                                                                                                       MANATI              PR         00674
   299848 MARIA RODRIGUEZ ROMAN                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713608 MARIA RODRIGUEZ ROSADO                      QDA CRUZ SECTOR CUCO        C/ 825 H 8EO                                                                             TOA ALTA            PR         00953

   299849 MARIA RODRIGUEZ SANTIAGO                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713610 MARIA RODRIGUEZ SOTO                        P O BOX 1714                                                                                                         HATILLO             PR         00659
   713611 MARIA RODRIGUEZ TIRADO                      BDA SAN CRIDTOBAL           284 CALLE CASPAR CASTILLO                                                                CAYEY               PR         00736
   299850 MARIA RODRIGUEZ VALENTIN                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299851 MARIA RODRIGUEZ VEGA                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299852 MARIA RODRIGUEZ VELEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299853 MARIA RODRIGUEZ VICENTY                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIA RODRIGUEZ Y ELVIN
   299854 LARACUENTE                                  REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIA RODRIGUEZ,ANGEL
   299856 CANALES &                                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIA RODRIGUEZ/ERICSON
   299857 VELEZ                                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713614 MARIA RODRUQUEZ MOJICA                      510 CALLE CUBA                                                                                                       SAN JUAN            PR         00917



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  713615 MARIA RODZ LLANOS                            1929 AVE PUERTO RICO                                                                                               SAN JUAN          PR         00915
  713616 MARIA ROIG CASILLAS                          PO BOX 8970                                                                                                        CAGUAS            PR         00726
  299858 MARIA ROIG REPOLLET                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299860 MARIA ROLDAN CORDERO                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  713619 MARIA ROLDAN GONZALEZ                        432 CALLE SOLTERO LEON                                                                                             CAYEY             PR         00736
  713622 MARIA ROLDAN TORRES                          HC 08 BOX 49601                                                                                                    CAGUAS            PR         00725
  299861 MARIA ROLON                                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299862 MARIA ROLON FARIA                            REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  713623 MARIA ROLON VAZQUEZ                          P. O. BOX 634                                                                                                      CIDRA             PR         00739
  713624 MARIA ROMAN                                  42 CALLE BARBOSA                                                                                                   ISABELA           PR         00662
  713626 MARIA ROMAN BURGOS                           PO BOX 323                                                                                                         ISABELA           PR         00662
  299863 MARIA ROMAN FIGUEROA                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  713628 MARIA ROMAN MIRANDA                          RES LAS AMAPOLAS           EDIF C 7 APT 100                                                                        SAN JUAN          PR         00926
  713629 MARIA ROMAN PADILLA                          EXT III MONTE BRISAS       3 H 3 CALLE 104                                                                         FAJARDO           PR         00738
  713630 MARIA ROMAN PIZARRO                          SANTA ELENA                J 18 CALLE 6                                                                            BAYAMON           PR         00957
  713631 MARIA ROMAN SERRANO                          HC 2 BOX 91402                                                                                                     ARECIBO           PR         00612
  713632 MARIA ROMERO CRUZ                            PO BOX 7126                                                                                                        PONCE             PR         00732
  299866 MARIA ROMERO DELGADO                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299867 MARIA ROMERO MANGUAL                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299868 MARIA ROMERO MEDINA                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299869 MARIA ROQUE MALDONADO                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  713635 MARIA ROQUE RODRIGUEZ                        VALLE HERMOSO              SJ 18 CALLE ALMENDRO                                                                    HORMIGUEROS       PR         00660
  299870 MARIA ROSA ACEVEDO                           REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  713637 MARIA ROSA CERVONI                           ALT DE TORRIMAR            8 CALLE 10                                                                              GUAYNABO          PR         00969
  299872 MARIA ROSA DAVILA ORTIZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  299873 MARIA ROSA GUZMAN                            REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   713638 MARIA ROSA IRIZARRY RIVERA                  PO BOX 366963                                                                                                      SAN JUAN          PR         00936‐6963
   713639 MARIA ROSA ITURREGUI                        COND SAN RAFAEL            561 CALLE ENSENADA APT 4 C                                                              SAN JUAN          PR         00907
   713640 MARIA ROSA SILVA                            VILLA CAROLINA             27 CALLE 104 BLOQUE 103                                                                 CAROLINA          PR         00985
   299875 MARIA ROSA VILLEGAS                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   713641 MARIA ROSADO                                HC 1 BOX 4237                                                                                                      NAGUABO           PR         00718
   299876 MARIA ROSADO BARBOSA                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299877 MARIA ROSADO MARCANO                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299878 MARIA ROSADO MEDINA                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   713647 MARIA ROSADO PANTOJA                        PO BOX 102                                                                                                         VEGA BAJA         PR         00693
                                                      COMUNIDAD SONUCO C/
   713643 MARIA ROSADO RAMOS                          YAGRUMO 524                                                                                                        ISABELA           PR         00662
   713648 MARIA ROSARIO                               RES NEMESIO CANALES        EDIF 3 APT 52                                                                           SAN JUAN          PR         00918
   713650 MARIA ROSARIO ALVAREZ                       26 CALLE GLORIETA                                                                                                  MANATI            PR         00674
                                                      F 19 EUGENIO MARIA DE
   713651 MARIA ROSARIO GRULLON                       HOSTOS                                                                                                             TOA BAJA          PR         00949
   299879 MARIA ROSARIO MORALES                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   713652 MARIA ROSARIO PEREZ                         URB. SANTA CLARA           CALLE D 76                                                                              PONCE             PR         00716‐2542
   713654 MARIA ROSARIO PIZARRO                       HC 02 BOX 19101                                                                                                    VEGA BAJA         PR         00693
                                                      COOP VIVIENDA JARD D SAN
   713655 MARIA ROSARIO RESTO                         IGNACIO                    APTO 1205 B RIO PIEDRAS                                                                 SAN JUAN          PR         00927
   713656 MARIA ROSARIO RIVERA                        LOS CAOBOS                 1265 CALLE BAMBU                                                                        PONCE             PR         00731
   299881 MARIA ROSARIO RODRIGUEZ                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   299882 MARIA ROSARIO SANCHEZ BAEZ REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299883 MARIA ROSARIO VELAZQUEZ    REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   299884 MARIA ROSARIO VILLAFANE    REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  713658 MARIA ROSS ROBLES            PO BOX 1109                                                                                                                     CIALES              PR           00629
  713659 MARIA ROSSY CAMARERO         URB ALTAMESA                              1373 CALLE FELIX                                                                      SAN JUAN            PR           00921
  713661 MARIA RUIZ                   HC 4 BOX 46406                                                                                                                  HATILLO             PR           00659
         MARIA RUIZ ALVARADO / VICTOR
  713662 ALVARADO                     URB JARD DEL CARIBE                       X 24 CALLE 26                                                                         PONCE               PR           00731
                                      EDIF C E M 1409 AVE PONCE DE
  713663 MARIA RUIZ BADEA             LEON                                                                                                                            SANTURCE            PR           00908
                                                                                SECT HOGARES SEGURO CARR
   713665 MARIA RUIZ CRUZ                              BO CARMELITA             139                        INT 5511                                                   PONCE               PR           00733
   299885 MARIA RUIZ MORELL                            REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299886 MARIA RUIZ RODRIGUEZ                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713670 MARIA RUIZ SANTIAGO                          PO BOX 140‐284                                                                                                 ARECIBO             PR           00614
          MARIA RUIZ TORRES Y/O CRUZ
   713671 PEDRAZA RUIZ                                 VILLA NUEVA              D 6 CALLE 17                                                                          CAGUAS              PR           00725

   713672 MARIA RUIZ Y MIGUELINA RUIZ                  PO BOX 16848                                                                                                   SAN JUAN            PR           00908
   713673 MARIA RULLAN PEREZ                           PO BOX 27                                                                                                      MARICAO             PR           00606‐0784
   713674 MARIA RUPERT                                 BO VISTA ALEGRE          CALLE AMARALLO                                                                        SAN JUAN            PR           00909
   299887 MARIA S ACOSTA RODRIGUEZ                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713677 MARIA S AYALA SANCHEZ                        PO BOX 2571                                                                                                    GUAYNABO            PR           00970‐2571

   713678 MARIA S BEJARANO HERNANDEZ PO BOX 1898                                                                                                                      GUAYNABO            PR           00970
   713679 MARIA S BERGODERY CORA     PO BOX 249                                                                                                                       PATILLAS            PR           00723

          MARIA S BETANCOURT/MARIA D
   713680 L A BETANCOUR              5027 CHALET COURT 512                                                                                                            TAMPA               FL           33617
   709699 MARIA S BORGES MASSAS      URB COUNTRY STATES                         A 16 B CALLE 1                                                                        BAYAMON             PR           00956
   713681 MARIA S BURGOS DE JESUS    D 23 RIO GRANDE HILLS                                                                                                            RIO GRANDE          PR           00745
   299890 MARIA S CABRERA MORALES    REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713675 MARIA S CALIXTO VEGA       HC 04 BOX 48616                                                                                                                  CAGUAS              PR           00725

   713682 MARIA S CARRASQUILLO ORTIZ                   PO BOX 7165                                                                                                    CAGUAS              PR           00725
   299892 MARIA S CASIANO MELENDEZ                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299893 MARIA S CASTRO RODRIGUEZ                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713683 MARIA S CINTRON LOPEZ                        P O BOX 1486                                                                                                   ARROYO              PR           00714
   299894 MARIA S CLAUDIO VAZQUEZ                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299895 MARIA S COLON MULERO                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299896 MARIA S CORA GARCIA                          REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713685 MARIA S COTTO RIVERA                         HC 4 BOX 48362                                                                                                 CAGUAS              PR           00725‐9633
   299897 MARIA S CUEVAS RAMOS                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713687 MARIA S DE JESUS MATEO                       HC 1 BOX 6611                                                                                                  SALINAS             PR           00751
   299898 MARIA S DE LEON GUILLEN                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713688 MARIA S DEL RIO                              HATO ARRIBA STATION      APARTADO 3158                                                                         SAN SEBASTIAN       PR           00685
   713689 MARIA S DIAZ FONSECA                         A 301 BOSQUE DEL RIO                                                                                           TRUJILLO ALTO       PR           00976
   299899 MARIA S DIAZ ORTIZ                           REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713690 MARIA S DIAZ VICENTE                         BARRIADA CARRASQUILLO    261 CALLE JUAN SOTO                                                                   CAYEY               PR           00736
          MARIA S DIEZ DE ANDINO
   713691 RODRIGUEZ                                    PO BOX 360515                                                                                                  SAN JUAN            PR           00936‐0515

   299900 MARIA S DOMINGUEZ PASCUAL                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299901 MARIA S DUARTE NERIS                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713692 MARIA S FALCON DIAZ                          HC 2 BOX 13842                                                                                                 AGUAS BUENAS        PR           00703
   713693 MARIA S FIGUEROA                             191 AVE CESAR GONZALEZ   APT 1401                                                                              SAN JUAN            PR           00918



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  713694 MARIA S FIGUEROA LUGO                        PO BOX 194835                                                                                                          SAN JUAN             PR           00919‐4835

   713695 MARIA S FIGUEROA RIVERA                     COND THE FALLS               2 CARR 177 BOX 515 APTO L 8                                                               GUAYNABO             PR           00966
   299902 MARIA S FLORES MONTANEZ                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   299903 MARIA S FLORES TORRES                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   713696 MARIA S FONTANEZ COLON                      PO BOX 39                                                                                                              BARRANQUITAS         PR           00794
          MARIA S FONTANEZ Y RUBEN
   299904 DAVILA                                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   713698 MARIA S GARCIA                              1462 CALLE HUMACAO PDA 20                                                                                              SAN JUAN             PR           00909
   713699 MARIA S GARCIA GONZALEZ                     HC 01 BOX 3663                                                                                                         BARRANQUITAS         PR           00794
   299905 MARIA S GARCIA RODRIGUEZ                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   299906 MARIA S GIL DELGADO                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   713700 MARIA S GOMEZ FIGUEROA                      URB VILLA BORINQUEN          12 CALLE CEMI                                                                             CAGUAS               PR           00725
   299907 MARIA S GONZALEZ MOLINA                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   713701 MARIA S GONZALEZ ROSA                       HC 1 BOX 26841                                                                                                         CAGUAS               PR           00725
          MARIA S GONZALEZ Y MARIA E
   299908 GONZALEZ                                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   713703 MARIA S HERNANDEZ                           CALLE RIO CAONILLA                                                                                                     VEGA BAJA            PR           00963

   713704 MARIA S HERNANDEZ ORTIZ                     BO BAYAMON                   SECTOR PUENTE FINCA LA JULIA                                                              CIDRA                PR           00739

   299909 MARIA S HERNANDEZ QUINONES REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   713705 MARIA S HERRERO HERNANDEZ                   PO BOX 11649                                                                                                           SAN JUAN             PR           00922‐1649
   299911 MARIA S ITURBE CALDERON                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   713706 MARIA S JIMENEZ MELENDEZ                    PO BOX 906285                                                                                                          SAN JUAN             PR           00906‐6285
   299912 MARIA S JIMENEZ RODRIGUEZ                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   713708 MARIA S KORTRIGH SOLER                      PO BOX 360156                                                                                                          SAN JUAN             PR           00936‐0156

   713709 MARIA S LAUREANO MARTINEZ                   JARDINES DE BORINQUEN        U 14 CALLE PETUNIA                                                                        CAROLINA             PR           00985‐4244
   299913 MARIA S LOPEZ DIAZ                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   299914 MARIA S LUGO QUINONES                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   713710 MARIA S LUQUE MARTINEZ                      HC 02 BOX 15137                                                                                                        AGUAS BUENAS         PR           00703

   299915 MARIA S MALDONADO FUENTES REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   713711 MARIA S MALDONADO RMAN     PO BOX 930‐0090                                                                                                                         SAN JUAN             PR           00915
   713712 MARIA S MARCANO GOMEZ      HC 3 BOX 36237                                                                                                                          CAGUAS               PR           00725‐9703
   299916 MARIA S MARIN RAMOS        REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   713713 MARIA S MARQUEZ CANALS     523 BOURET                                                                                                                              SAN JUAN             PR           00912‐3916
          MARIA S MARQUEZ/EQUIPO RED
   713714 SOX SUMMIT                 LAS LOMAS                                     SO 1715 CALLE 2                                                                           SAN JUAN             PR           00918
   299918 MARIA S MARRERO NAVARRO    REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   713715 MARIA S MARTINEZ CRUZ      URB VERDE MAR                                 808 CALLE 31                                                                              HUMACAO              PR           00741
   713716 MARIA S MAYMI HERNANDEZ    P O BOX 433                                                                                                                             CAGUAS               PR           00726

   713676 MARIA S MELENDEZ                            URB SAN ANTONIO M‐25 CALLE 4                                                                                           CAGUAS               PR           00725
   713717 MARIA S MELENDEZ DIAZ                       LEVITTOWN                    EL NARANJAL G 17 CALLE 5                                                                  TOA BAJA             PR           00949
   299919 MARIA S MERCADO ROLDOS                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   299920 MARIA S MIRANDA APONTE                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   713720 MARIA S MIRANDA QUILES                      PO BOX 905                                                                                                             BAYAMON              PR           00960
   299921 MARIA S MOJICA ROSADO                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   713721 MARIA S MOJICA VARGAS                       RES STA CATALINA             EDIF 2 APT 14                                                                             CAROLINA             PR           00985



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  299922 MARIA S MOLINA CABRERA                       REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  299923 MARIA S MORALES FIGUEROA                     REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                      3 COND BORINQUEN TOWER APT
   713727 MARIA S MORALES OTERO                       305                                                                                                                    SAN JUAN             PR         00920
   713728 MARIA S MORALES VALDEZ                      P O BOX 2894                                                                                                           GUAYAMA              PR         00785
   713730 MARIA S MUNOZ BERRIOS                       URB LAS AMERICAS           791 CALLE GUATEMALA                                                                         SAN JUAN             PR         00921
   713731 MARIA S NEGRON ORTIZ                        HC 01 BOX 4017                                                                                                         MOROVIS              PR         00687
   299924 MARIA S NEGRON TORRES                       REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   713732 MARIA S OCASIO FLORES                       HC 3 BOX 37830                                                                                                         CAGUAS               PR         00725
   299925 MARIA S OCASIO LLOPIZ                       REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   299926 MARIA S ORTIZ RAMOS                         REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   713735 MARIA S ORTIZ RODRIGUEZ                     BO LOS POLLOS              PO BOX 1234                                                                                 PATILLAS             PR         00723
   713736 MARIA S ORTIZ TORRES                        LAS GRANJAS                11 CALLE BENIGNO NATER                                                                      VEGA BAJA            PR         00693
   713740 MARIA S OYOLA CRUZ                          HC 1 BOX 1070C                                                                                                         ARECIBO              PR         00613

   713741 MARIA S PADIAL CORA                         232 AVE ELEONOR ROOSEVELT                                                                                              SAN JUAN             PR         00907
   713742 MARIA S PLARD NARVAEZ                       COOP JARD DE SAN FCO I      APT 911                                                                                    SAN JUAN             PR         00927
   713743 MARIA S RAMIREZ BECERRA                     P O BOX 194395                                                                                                         SAN JUAN             PR         00918
   299929 MARIA S RAMOS LOPEZ                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   713744 MARIA S RESTO CASTRO                        HC 01 BOX 8033                                                                                                         GURABO               PR         00778
   713745 MARIA S RESTO SOLIS                         TERRAZAS DE CAYEY           G 4 CALLE 1                                                                                TRUJILLO ALTO        PR         00976
   299931 MARIA S RIOS RIVERA                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   713746 MARIA S RIVERA ACEVEDO                      JARD DE GURABO              166 CALLE 8                                                                                GURABO               PR         00778
   299933 MARIA S RIVERA CASTINEIRA                   REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   713748 MARIA S RIVERA OLIVENCIA                    URB PURA BRISA              893 CALLE YAGRUMO                                                                          MAYAGUEZ             PR         00680
   299934 MARIA S RIVERO RUIZ                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   713754 MARIA S RODRIGUEZ RAMOS                     URB APONTE                  A34 CALLE 7                                                                                CAYEY                PR         00736

   713755 MARIA S RODRIGUEZ SANCHEZ                   30 CALLE ELEUTERIO RAMOS                                                                                               CAYEY                PR         00736
   299937 MARIA S RODRIGUEZ VICENS                    REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   713756 MARIA S ROMAN RODRIGUEZ                     PO BOX 663                                                                                                             CAGUAS               PR         00726
   713757 MARIA S ROSA RIVERA                         157 CALLE VILLAMIL          APT 2C                                                                                     SAN JUAN             PR         00907
   299938 MARIA S ROSARIO CLAUDIO                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   299939 MARIA S ROSARIO FLORES                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   713760 MARIA S ROSSO BONILLA                       ALTAMIRA                    510 CALLE SIRIO                                                                            SAN JUAN             PR         00920
   299940 MARIA S RUIZ ALONSO                         REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   713762 MARIA S SANCHEZ LOZANO                      21208 RANCHO VEGAS I                                                                                                   CAYEY                PR         00736‐9403
   299941 MARIA S SANCHEZ PELLICIER                   REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   299942 MARIA S SANTAELLA                           REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   299943 MARIA S SANTOS CARBALLO                     REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   713765 MARIA S SERRANO                             URB IDAMARIS GARDENS        E 11 AVE RICKY SEDA                                                                        CAGUAS               PR         00725‐5714
   713767 MARIA S TORRES FIGUEROA                     BOX 5100 27                                                                                                            SAN GERMAN           PR         00683
   713768 MARIA S TORRES OQUENDO                      BO LA MESA                  HC 2 BOX 60823                                                                             CAGUAS               PR         00725‐9212
   299944 MARIA S VAZQUEZ REYEZ                       REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   713769 MARIA S VEGA                                P O BOX 1039                                                                                                           SAINT JUST           PR         00978
   709700 MARIA S VEGA MARQUEZ                        BOX 1039                                                                                                               SAINT JUST           PR         00978
   713770 MARIA S VILLASECA                           APARTADO 962                                        28080                                                              MADRID                                       SPAIN
          MARIA S VIZCARRONDO
   299945 VIZCARRONDO                                 REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   299946 MARIA S ZAMORA ECHEVARRIA                   REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   299947 MARIA S. AYALA HANCE                        REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   299948 MARIA S. CARRION COTTO                      REDACTED                    REDACTED                        REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  299949 MARIA S. CINTRON LOPEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  299950 MARIA S. FALCON OYOLA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   713772 MARIA S. FELIX RODRIGUEZ                    121 CALLE COLOMBIA BUNKER                                                                                      CAGUAS              PR         00725
   299951 MARIA S. FIGUEROA DIAZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIA S. FIGUEROA
   299952 MALDONADO                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299953 MARIA S. NEGRON ORTIZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299954 MARIA S. PICA FALCON                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299955 MARIA S. PINEIRO SOLER                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299956 MARIA S. RIVERA LOPEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299957 MARIA S. RIVERA RIVAS                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   299958 MARIA S. TORRES MALDONADO                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299959 MARIA S. VAZQUEZ ALMENA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299960 MARIA S. VEGUILLA COLON                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299961 MARIA S.MOJICA ORTIZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713779 MARIA SAAVEDRA GONZALEZ                     VICTOR ROJAS II              142 CALLE 1                                                                       ARECIBO             PR         00612
   713780 MARIA SAEZ ACEVEDO                          11 CALLE PERU                                                                                                  AGUADILLA           PR         00603
   713782 MARIA SALGADO GARCIA                        URB JARD DE DORADO           A 7 CALLE 2                                                                       DORADO              PR         00646
   713783 MARIA SALGADO HERNANDEZ                     PO BOX 21365                                                                                                   SAN JUAN            PR         00926‐1365
   299962 MARIA SALINAS BURGOS                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713785 MARIA SALOME MERCADO                        APARTADO 1728                                                                                                  MANATI              PR         00674
   299963 MARIA SAMPER DE FIRPI                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   299964 MARIA SANABRIA IRIZARRY                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   709643 MARIA SANATI MU¥OZ                          PO BOX 250228 RAMEY                                                                                            AGUADILLA           PR         00604

   713789 MARIA SANCHEZ BRAS                          W4 13 CALDERON DE LA BARCA                                                                                     SAN JUAN            PR         00926
          MARIA SANCHEZ RIVERA DBA
   299965 MFE COCINA GA              HC‐4 BOX 14007                                                                                                                  HUMACAO             PR         00791‐0000
   299966 MARIA SANCHEZ RODRIGUEZ    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713793 MARIA SANCHEZ TORRES       BO BAYAMON                                    BOX 6013                                                                          CIDRA               PR         00739
   713794 MARIA SANDOVAL ARELLANO    112 CALLE ARZUAGA                                                                                                               SAN JUAN            PR         00926
   713795 MARIA SANTANA              PMB P O BOX 6017                                                                                                                CAROLINA            PR         00984‐6017
   299967 MARIA SANTANA ALVAREZ      REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                     CAIMITO ALTO SECTOR DR
   713796 MARIA SANTANA CARRASQUILLO COLORADO                                      CARR 842 KM 6 HM 3                                                                SAN JUAN            PR         00927
   713797 MARIA SANTANA DE CUEVAS    PO BOX 220                                                                                                                      BAYAMON             PR         00960‐0220
   299968 MARIA SANTANA MENENDEZ     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713798 MARIA SANTANA NADAL        126 VICTOR ROJAS II                                                                                                             ARECIBO             PR         00612
   713799 MARIA SANTANA RIVERA       HC 03 BOX 10440                                                                                                                 COMERIO             PR         00782
   713800 MARIA SANTANA SANTIAGO     P O BOX 1435                                                                                                                    YABUCOA             PR         00767
   299969 MARIA SANTIAGO             REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713804 MARIA SANTIAGO ACEVEDO     URB TERESITA                                  AD 10 CALLE 30                                                                    BAYAMON             PR         00961
   713805 MARIA SANTIAGO BARRETO     PO BOX 775                                                                                                                      CAMUY               PR         00627
   713806 MARIA SANTIAGO CARRION     PO BOX 191179                                                                                                                   SAN JUAN            PR         00919‐1179
   713808 MARIA SANTIAGO COTTO       BO MONTELLANO                                 BZN 7552                                                                          CIDRA               PR         00739
   713809 MARIA SANTIAGO CRUZ        HC 645 BOX 4351                                                                                                                 TRUJILLO ALTO       PR         00976
   713810 MARIA SANTIAGO CUBERO      JARDINES DE COUNTRY CLUB                      AH 12 CALLE 37                                                                    CAROLINA            PR         00983
   713812 MARIA SANTIAGO ESPADA      P O BOX 1683                                                                                                                    COAMO               PR         00769
   299971 MARIA SANTIAGO FIGUEROA    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713814 MARIA SANTIAGO FONSECA     PO BOX 39                                                                                                                       BARRANQUITAS        PR         00794
   713815 MARIA SANTIAGO GONZALEZ    BOX 971                                                                                                                         FLORIDA             PR         00650



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  713816 MARIA SANTIAGO GUZMAN                        P O BOX 3000SUITE 128                                                                                                   ANGELES             PR           00611

   299972 MARIA SANTIAGO HERNANDEZ                    REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713817 MARIA SANTIAGO HUERTAS                      VILLA CARIDAD                 B 16 CALLE COLON                                                                          CAROLINA            PR           00985
   299973 MARIA SANTIAGO MARCANO                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713818 MARIA SANTIAGO MORALES                      HC 01 BOX 5191                                                                                                          CIALES              PR           00638
   713819 MARIA SANTIAGO NEGRON                       55 CALLE JOSE DE DIEGO N                                                                                                CAROLINA            PR           00985
   713820 MARIA SANTIAGO ORTIZ                        BOX 1220                                                                                                                CIDRA               PR           00739
   299974 MARIA SANTIAGO PIZARRO                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713822 MARIA SANTIAGO REYES                        VISTA ALEGRE                  EDIF 7 APT 59                                                                             AGUAS BUENAS        PR           00703
   299975 MARIA SANTIAGO RIVERA                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299976 MARIA SANTIAGO SANCHEZ                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299977 MARIA SANTIAGO SANTIAGO                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299979 MARIA SANTIAGO SANTOS                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713826 MARIA SANTIAGO SEDA                         URB SAN RAFAEL                G‐19 CALLE 3                                                                              CAGUAS              PR           00725
   713827 MARIA SANTIAGO SOSA                         EXT LA MILAGROSA              M 12 CALLE 8                                                                              BAYAMON             PR           00959
   299980 MARIA SANTIAGO VALLE                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARIA SANTIAGO/GLADYS
   299981 SANTIAGO/VILMA                              REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299982 MARIA SANTIANES ARBESU                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713828 MARIA SANTOS                                HC 43 BOX 11035               MATON ABAJO                                                                               CAYEY               PR           00736
   299983 MARIA SANTOS COSME                          REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299984 MARIA SANTOS CRUZ                           REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713830 MARIA SANTOS FERNANDEZ                      BO QUEBRADA CRUZ              159 CALLE SIN SALIDA                                                                      TOA ALTA            PR           00953
   299985 MARIA SANTOS ORTIZ                          REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713831 MARIA SARRIEGA ALBUIXECH                    URB VILLAS DE PARKVILLE       I PO BOX 47                                                                               GUAYNABO            PR           00970
   299986 MARIA SARRIERA APONTE                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   713832 MARIA SCHWARTZ DELGADO                      COND VILLAS DEL MAR EAST      4745 AVE ISLA VERDE APT 11 J                                                              CAROLINA            PR           00979
   713833 MARIA SCHWARZ GILABERT                      PO BOX 5234                                                                                                             MAYAGUEZ            PR           00681‐5234
   299987 MARIA SEDA                                  REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299988 MARIA SELLES GARCIA                         REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713834 MARIA SEPULVEDA SANTIAGO                    HC 30 BOX 31571                                                                                                         SAN LORENZO         PR           00754
   713835 MARIA SERRANO                               EXT SANCHEZ                   3 CALLE B                                                                                 VEGA ALTA           PR           00692
   713836 MARIA SERRANO ANDUJAR                       HC 04 BOX 22075                                                                                                         JUANA DIAZ          PR           00795
   299989 MARIA SERRANO CAMACHO                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299990 MARIA SERRANO CRESPO                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299991 MARIA SERRANO FIGUEROA                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   299992 MARIA SERRANO GONZALEZ                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713837 MARIA SERRANO MARTINEZ                      PO BOX 1851                                                                                                             MANATI              PR           00674
   299993 MARIA SERRANO ROSARIO                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713838 MARIA SERRANO VELEZ                         2 URB ESTANCIAS DE ARROYO                                                                                               FLORIDA             PR           00650
   713839 MARIA SEVILLANO                             PO BOX 146                                                                                                              GURABO              PR           00778
   713840 MARIA SHERWOOD DROZ                         DOS PINOS                     412 MINERVA                                                                               SAN JUAN            PR           00923
   713841 MARIA SIERRA                                5 INT CALLE AGUISTIN J DIAZ                                                                                             AGUAS BUENAS        PR           00703
   713842 MARIA SIERRA ALAMO                          COND LISSETTE                 APT 605                                                                                   CAROLINA            PR           00987
   713843 MARIA SIERRA LOPEZ                          P O BOX 371591                                                                                                          CAYEY               PR           00737
   299995 MARIA SIFONTES SMITH                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713844 MARIA SILVA CEBALLO                         JARDINES DE COUNTRY CLUB      AL 16 CALLE 43                                                                            CAROLINA            PR           00983
   713846 MARIA SILVIA VARGAS                         PO BOX 59                                                                                                               CAROLINA            PR           00986 0059

   713847 MARIA SOCORRO CRUZ LOPEZ                    P O BOX 7428                                                                                                            SAN JUAN            PR           00916
   299996 MARIA SOCORRO DIAZ                          REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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   299997 MARIA SOCORRO FONSECA SOLA REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   299998 MARIA SOCORRO MOJICA ORTIZ REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   299999 MARIA SOCORRO MONTANEZ     REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   713849 MARIA SOCORRO NERIS FLORES                  STA CLARA               CALLE PALMA REAL                                                                      GUAYNABO            PR           00969
          MARIA SOCORRO RAMOS
   300000 MADERA                                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300001 MARIA SOCORRO VARGAS                        REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   300002 MARIA SOLANGE RIVERA LOPEZ                  REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300003 MARIA SOLEDAD MARTINEZ                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   713854 MARIA SOLEDAD MATOS FREIRA COND GREEN VILLAGE APT 803 B                                                                                                   SAN JUAN            PR           00923
   713855 MARIA SOLIS RIVERA         200 CARR 842 APT 56                                                                                                            SAN JUAN            PR           00926‐9666
   300004 MARIA SOLTRAN GONZALEZ     REDACTED                     REDACTED                               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                     MANSIONES DE BAHIA
   713858 MARIA SOSA CONCEPCION      VISTAMAR                     A 6 CALLE ATUN                                                                                    CAROLINA            PR           00985
   300005 MARIA SOSTRE RODRIGUEZ     REDACTED                     REDACTED                               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713859 MARIA SOSTRES MORALES      PO BOX 248                                                                                                                     YABUCOA             PR           00767
   300006 MARIA SOTO DOMENECH        REDACTED                     REDACTED                               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713862 MARIA SOTO GONZALEZ        URB PASEO REALES             745 AVE EMPERADOR                                                                                 ARECIBO             PR           00612
   300007 MARIA SOTO MARENGO         REDACTED                     REDACTED                               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300008 MARIA SOTO MORALES         REDACTED                     REDACTED                               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300009 MARIA SOTO RODRIGUEZ       REDACTED                     REDACTED                               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   713863 MARIA SOTO VDA ECHEVARRIA                   URB. LAS VERADAS        B18 CALLE VEREDA REAL                                                                 BAYAMON             PR           00961
   713864 MARIA SUAREZ DEL VALLE                      HC 2 BOX 15178                                                                                                CAROLINA            PR           00985
   713865 MARIA SUAREZ ORTIZ                          HC 03 BOX 6048                                                                                                HUMACAO             PR           00791
   713866 MARIA SUS VALENTIN                          RES MANUEL H ROSAS      EDIF 8 APT 70                                                                         MAYAGUEZ            PR           00681
   709704 MARIA T AGOSTO LOPEZ                        URB RIO GRANDEESTATES   R 54 AVE B                                                                            RIO GRANDE          PR           00745
   300010 MARIA T AGOSTO MERCADO                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300011 MARIA T ALATRISTE AVILES                    REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   713869 MARIA T ALEJANDRO CORCHADO URB ALT DE RIO GRANDE                    1043 CALLE 19 U                                                                       RIO GRANDE          PR           00745
   300012 MARIA T ALMEIDA MUNOZ      REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713870 MARIA T ALVARADO LOPEZ     URB FREIRE                               45 AVE SAFIRO                                                                         CIDRA               PR           00739
   300013 MARIA T ALVERIO MERCADO    REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713871 MARIA T AMOROS MUJICA      PO BOX 9023361                                                                                                                 SAN JUAN            PR           00902
   300014 MARIA T ANDINO REYES       REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713872 MARIA T APONTE             URB EL RECREO                            21 CALLE C                                                                            HUMACAO             PR           00792
   713873 MARIA T APONTE ROJAS       URB LOS ROBLES                           D 14 CALLE 3                                                                          GURABO              PR           00778‐2907
   713874 MARIA T ARACHE RUIZ        COND PARQUE CENTRO                       I 7 PISO 3 EDIF GUAYACAN                                                              SAN JUAN            PR           00918
   713875 MARIA T ARCAY LLERAS       RIO GRANDE STATE                         Q 10 CALLE 19                                                                         RIO GRANDE          PR           00745
   300015 MARIA T ARCE TORRES        REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713876 MARIA T ARGUELLO VERTIZ    204 CALLE DEL CRISTO                                                                                                           SAN JUAN            PR           00901‐1533
   300016 MARIA T AYALA CRUZ         REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300017 MARIA T AYALA SANJURJO     REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   713877 MARIA T BAEZ MARCANO       RR 2 BOX 10228                                                                                                                 TOA ALTA            PR           00953

   300019 MARIA T BARAGANO AMADEO                     REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300020 MARIA T BORGES JIMENEZ                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  713880 MARIA T BORGES SANTIAGO                      EXT COQUI                   375 CALLE PITIRRE                                                                   SALINAS             PR           00751

   713881 MARIA T CALDERON SANTIAGO                   VILLA RICA                  W 6 CALLE 15                                                                        BAYAMON             PR           00759
   713882 MARIA T CANCIO RAMIREZ                      URB JACARANDA               B 12 CALLE F                                                                        PONCE               PR           00730
   300024 MARIA T CARRION RUIZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   300025 MARIA T CARRO LAHONGRAIS                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713883 MARIA T CASTILLO BENITEZ                    7678 CALLE NORTE B48                                                                                            SABANA SECA         PR           00952

   300026 MARIA T CEDENO VILLAVICENCIO REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713887 MARIA T CINTRON RIVERA       ALTURAS DEL TOA                            37 CALLE 1                                                                          TOA ALTA            PR           00953
   713889 MARIA T COLON ALVAREZ        URB ENTRE RIOS                             210 CALLE VIA ENRAMADA                                                              TRUJILLO ALTO       PR           00976
   300028 MARIA T COLON TORRES         REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   300029 MARIA T CORDERO JAIMAN       REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   300030 MARIA T COSME FERRER         REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   300031 MARIA T COSTE ABREU          REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   300032 MARIA T COTTE TORRES         REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713892 MARIA T CRESPO TARAJANO      URB JUAN PONCE DE LEON                     313 CALLE 20                                                                        GUAYNABO            PR           00969‐4451
   713893 MARIA T CRUZ FUENTES         BO FARALLON                                28006 CARR 742                                                                      CAYEY               PR           00736‐9469
   300034 MARIA T CRUZ MARRERO         REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713894 MARIA T CRUZ SILVA           EMBALSE SAN JOSE                           385 CALLE GEREZ                                                                     SAN JUAN            PR           00923
   713895 MARIA T CURET SALIM          EXT VILLA CAPARRA                          G 9 CALLE GENOVA                                                                    GUAYNABO            PR           00966
          MARIA T DE JESUS / TRANS DE
   713896 JESUS                        P O BOX 3181                                                                                                                   GUAYNABO            PR           00970
   713897 MARIA T DE JESUS GONZALEZ    RES LUIS LLORES TORRES                     EDF 71 VAPT 1342                                                                    SAN JUAN            PR           00913

   713898 MARIA T DEL RIO MENDEZ                      URB EL JARDIN DE GUAYNABO   CALLE 1 A BLOQUE B 19                                                               GUAYNABO            PR           00969
   713899 MARIA T DEL VALLE BURGOS                    PO BOX 8833                                                                                                     HUMACAO             PR           00792
   713900 MARIA T DIAZ ENCARNACION                    URB VILLAS DE LOIZA         BB 22 CALLE 46                                                                      CANOVANAS           PR           00729
   713901 MARIA T DIAZ LUGO                           URB BONNEVILLE              A 4‐12 CALLE 46                                                                     CAGUAS              PR           00725‐9707
   713902 MARIA T DIAZ MARINEZ                        URB EL VERDE 8              CALLE VENUS                                                                         CAGUAS              PR           00725
   713904 MARIA T DOMINGUEZ                           COM BAIROA SOLAR 275                                                                                            CAGUAS              PR           00725
   713905 MARIA T DURAN GOMEZ                         COND PARQUE SAN RAMON       APTO 102                                                                            GUAYNABO            PR           00969

   713906 MARIA T ENCARNACION RIVERA RES FELIPE SANCHEZ OSORIO                    EDIF 17 APT 98                                                                      CAROLINA            PR           00987

   300037 MARIA T ESCAMILLA RODRIGUEZ REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   300038 MARIA T ESTADES MUNIZ       REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713907 MARIA T ESTRELLA SOTO       PO BOX 21365                                                                                                                    SAN JUAN            PR           00926‐1365
   300039 MARIA T FEBRES FIGUEROA     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   713912 MARIA T FIGUEROA VELAZQUEZ HC 763 BOX 3593                                                                                                                  PATILLAS            PR           00723

   300041 MARIA T FULLANA HERNANDEZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   300042 MARIA T GARCES JIMENEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   300043 MARIA T GARCIA BERRIOS                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   300045 MARIA T GOMEZ                               REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   300046 MARIA T GONZALEZ FLORES                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713915 MARIA T GONZALEZ LANZOT                     VILLA ANDALUCIA             C 7 CALLE LLANES                                                                    SAN JUAN            PR           00926‐2504
   300047 MARIA T GONZALEZ LOPEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713916 MARIA T GONZALEZ MARIN                      URB EL NARANJAL             E8 CALLE 2                                                                          TOA BAJA            PR           00949
   300048 MARIA T GONZALEZ TORRES                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   713919 MARIA T GRACIA REYES                        URB BONNEVILLE GARDENS      L21 CALLE 6                                                                         CAGUAS              PR           00725
   713922 MARIA T GUZMAN ARROYO                       MIRADOR BAIROA              2T 35 CALLE 24                                                                      CAGUAS              PR           00725



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  300050 MARIA T GUZMAN GARCIA                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   300051 MARIA T HERNANDEZ ACEVEDO REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   713923 MARIA T HERNANDEZ BURGOS                    HC 02 BOX 8357                                                                                                   OROCOVIS             PR         00720

   713924 MARIA T HERNANDEZ CACERES                   TOMAS DE CASTRO             1 RAMAL HC 03 BOX 36555                                                              CAGUAS               PR         00725‐9705
                                                      BO ZANJAS SECTOR PUEBLO
   713925 MARIA T HERNANDEZ FUENTES                   NUEVO                       CARR 486 KM 1 2                                                                      CAMUY                PR         00627

   300052 MARIA T HERNANDEZ MARRERO REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   300053 MARIA T HUERTAS OJEDA     REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   713926 MARIA T JIMENEZ OCASIO    RR 2 BOX 502                                                                                                                       SAN JUAN             PR         00926
   713928 MARIA T JORGE SANTOS      1352 ITURRIAGA                                                                                                                     SAN JUAN             PR         00907
   300054 MARIA T LABRADOR RIVERA   REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   300055 MARIA T LIZARDI SANTIAGO  REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   713931 MARIA T LOPEZ             15 MECHANIC STREET                                                                                                                 NORTH EASTON         MA         12356
   300056 MARIA T LOPEZ GARCIA      REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   713932 MARIA T LOPEZ ROMAN       PO BOX 3495                                                                                                                        GUAYNABO             PR         00970
   713934 MARIA T LOZADA GARCIA     RE3PARTO LAS MARIELAS                         BO QUEBRADA CRUZ                                                                     TOA ALTA             PR         00953
          MARIA T MALDONADO
   713936 HERNANDEZ                 ALT DE FLAMBOYAN                              B 13 CALLE 6                                                                         BAYAMON              PR         00959
   713937 MARIA T MAMANI            FOREST VIEW                                   E 167 CALLE DALCAR                                                                   BAYAMON              PR         00956
   713938 MARIA T MARGARIDA JULIA   URB SAN FRANCISCO                             40 CALLE GERANIO                                                                     SAN JUAN             PR         00928
   300057 MARIA T MARQUES BULTRON   REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   713939 MARIA T MARRERO RODRIGUEZ                   126 SALIDA COAMO                                                                                                 OROCOVIS             PR         00720
   713940 MARIA T MARTINEZ CINTRON                    HC 73 BOX 5929                                                                                                   NARANJITO            PR         00719
   300059 MARIA T MARTINEZ GARCIA                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   300061 MARIA T MARTINEZ GEORGE                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   300063 MARIA T MARTINEZ GONZALEZ                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   713942 MARIA T MARTINEZ SANTOS                     PO BOX 302                                                                                                       VEGA BAJA            PR         00694
   713943 MARIA T MATOS RIVERA                        HC 01 BOX 13067                                                                                                  CAROLINA             PR         00987‐9630
   713944 MARIA T MATOS RODRIGUEZ                     5704 COND PLAZA ANTILLANA                                                                                        SAN JUAN             PR         00918
   300065 MARIA T MEDINA MONTANEZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   300066 MARIA T MEDINA ROSARIO                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   709703 MARIA T MENENDEZ ANTUNEZ                    COND FLAMBOYAN              864 APT 724                                                                          SAN JUAN             PR         00907
   300067 MARIA T MERCADO VALENTIN                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   713946 MARIA T MIRANDA ALEMAN                      P O BOX 1329                                                                                                     LUQUILLO             PR         00773

   713947 MARIA T MIRANDA HERNANDEZ JARDINES DE PALMAREJO                         X2 CALLE 20                                                                          CANOVANAS            PR         00729

   300068 MARIA T MIRANDA OLIVENCIA                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   300069 MARIA T MOJICA TORRES                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   713949 MARIA T MORALES MORALES                     VALLES DE YABUCOA           317 CAOBA                                                                            YABUCOA              PR         00767
   300072 MARIA T MORALES PEREZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   713950 MARIA T MORALES TORRES                      URB SABANA DEL PALMAR       413 CALLE GUAYACAN                                                                   COMERIO              PR         00782
          MARIA T MUJICA LUGO / LUIS A
   300074 AMOROS                                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   300075 MARIA T NEGRON CEDENO                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   300076 MARIA T NEGRON GONZALEZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  300077 MARIA T NIEVES FRANCO                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MARIA T OCASIO Y ERMELINDA
  300080 ROMAN                                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  713953 MARIA T ORTIZ COSTACAMPS                     URB EXT ELIZABETH          5090 CALLE EXODO                                                                    CABO ROJO           PR         00623

   300082 MARIA T PACHECO GONZALEZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713958 MARIA T PACHECO RIVERA                      LA ANTIGUA ENCANTADA       LH 103 VIA PARIS                                                                    TRUJILLO ALTO       PR         00976
   300083 MARIA T PEREZ CENTENO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300084 MARIA T PEREZ RIVERA                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300085 MARIA T PEREZ VALENTIN                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713962 MARIA T PIAZZA VAZQUEZ                      COND CADIZ APT 10‐C        253 CALLE CHILE                                                                     SAN JUAN            PR         00917
   300086 MARIA T PINTADO MELENDEZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713963 MARIA T PORTALATIN                          P O BOX 620                                                                                                    VEGA BAJA           PR         00694
          MARIA T QUINONES
   300087 MALDONADO                                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300088 MARIA T QUINONEZ                            REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300089 MARIA T QUIROZ NARANJO                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300090 MARIA T RAMIREZ JURADO                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713965 MARIA T RAMOS CRUZ                          HC 02 BOX 11102                                                                                                JUNCOS              PR         00777
   713967 MARIA T RAMOS RODRIGUEZ                     LOS ANGELES                WQ 6 CALLE GERANIO                                                                  CAROLINA            PR         00979
   300091 MARIA T REYES ALMANZAR                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713968 MARIA T REYES DELIZ                         HC 01 BOX 11162                                                                                                ARECIBO             PR         00612
   300092 MARIA T RIOS CORREA                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300093 MARIA T RIOS RAMOS                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713970 MARIA T RIVERA                              BOX 2789                                                                                                       SABANA GRANDE       PR         00637‐9607
   713972 MARIA T RIVERA CRUZ                         URB VILLA FONTANA          VIA 63 5 D 2                                                                        CAROLINA            PR         00983
   713973 MARIA T RIVERA FIGUEROA                     JARD DE MONACO III         273 CALLE MONTE CARLOS                                                              MANATI              PR         00674
   300095 MARIA T RIVERA GARCIA                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300096 MARIA T RIVERA GUZMAN                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713976 MARIA T RIVERA MAYSONET                     PO BOX 1094 VICTORIA STA                                                                                       AGUADILLA           PR         00605
   300097 MARIA T RIVERA MENDEZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300098 MARIA T RIVERA NIEVES                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300099 MARIA T RIVERA REYES                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713978 MARIA T RODRIGUEZ                           HC 5 BOX 55352                                                                                                 CAGUAS              PR         00725

   713980 MARIA T RODRIGUEZ BERRIOS                   URB ARBOLEDA               H17 CALLE ALMACIGO                                                                  CAGUAS              PR         00725

   300100 MARIA T RODRIGUEZ FIGUEROA REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   713981 MARIA T RODRIGUEZ GONZALEZ COND HATO REY PLAZA APT 6A                                                                                                      SAN JUAN            PR         00918

   713982 MARIA T RODRIGUEZ HAWAYEK COND GALAXY APT 1501       3205 ISLA VERDE                                                                                       CAROLINA            PR         00979
          MARIA T RODRIGUEZ
   713983 MALDONADO                 BO CONTORNO SECTOR CIELITO CARR 165 KM 10 6                                                                                      TOA ALTA            PR         00953
   709702 MARIA T RODRIGUEZ MEDINA  PO BOX 21416                                                                                                                     SAN JUAN            PR         00931‐1416

   713984 MARIA T RODRIGUEZ MELENDEZ BO JUAN DOMINGO                             6 SAN MIGUEL                                                                        BAYAMON             PR         00959
   300101 MARIA T RODRIGUEZ ORTIZ    REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300079 MARIA T RODRIGUEZ PEREZ    REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713985 MARIA T ROHENA CRUZ        PO BOX 645                                                                                                                      JUNCOS              PR         00777
   713986 MARIA T ROMAN RODRIGUEZ    REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713987 MARIA T ROMERO RIVERA      RR 1 BOX 2549                                                                                                                   CIDRA               PR         00739
   713988 MARIA T ROSA JIMENEZ       BO FLORENCIO                                BZN 5310                                                                            FAJARDO             PR         00738



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  300103 MARIA T ROSADO LUCRE                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  713990 MARIA T ROSARIO CRUZ                         904 N WOLCOTT                                                                                               CHICAGO             IL         60622
  300104 MARIA T ROSAS VEGA                           REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MARIA T ROSS / AMPLIANDO
  713991 SONRISAS                                     VILLA CAROLINA            113‐26 CALLE 78                                                                   CAROLINA            PR         00985
  713992 MARIA T RUIZ MENDEZ                          PMB 243                   PO BOX 7886                                                                       GUAYNABO            PR         00970‐7886
  300105 MARIA T RUIZ SANTOS                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   713993 MARIA T SALGADO LAUREANO                    HC 33 BOX 4422                                                                                              DORADO              PR         00646
   713994 MARIA T SALGADO SIERRA                      HC 01 BOX 5346                                                                                              CIALES              PR         00638
   713995 MARIA T SANCHEZ ARRIAGA                     HC 03 BOX 15875                                                                                             COROZAL             PR         00783
   713996 MARIA T SANCHEZ HIRALDO                     BOX 12158                                                                                                   CAROLINA            PR         00985
   300106 MARIA T SANCHEZ PEGUERO                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300107 MARIA T SANCHEZ VALENTIN                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300109 MARIA T SANJURJO LANZA                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300110 MARIA T SANTANA ROMAN                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300111 MARIA T SANTIAGO CRUZ                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300112 MARIA T SANTIAGO DELGADO                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713997 MARIA T SANTIAGO LAO                        JARD DEL CARIBE           0033 CALLE 49                                                                     PONCE               PR         00731

   300113 MARIA T SANTIAGO QUINONEZ                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   713998 MARIA T SANTIAGO TORRES                     URB VILLA FONTANA NR 21   VIA 18                                                                            CAROLINA            PR         00983
   714000 MARIA T SANTOS OTERO                        PO BOX 222                                                                                                  MOROVIS             PR         00787
   714001 MARIA T SERRANO RIVERA                      GUARAGUAO ABAJO           SECTOR REYES FUENTES                                                              BAYAMON             PR         00956
   300117 MARIA T TORRES COLLAZO                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714004 MARIA T TORRES COLON                        CENTRO PLAZA STE 206      650 LLOVERAS                                                                      SAN JUAN            PR         00926
   714005 MARIA T TORRES IRIZARRY                     HC BOX 9996                                                                                                 SAN GERMAN          PR         00683
   714006 MARIA T TORRES LOPEZ                        HC 5 BOX 55012                                                                                              AGUADILLA           PR         00603
   714007 MARIA T TORRES ROMAN                        BO HATO ARRIBA            164 NAVAS CALLE B                                                                 ARECIBO             PR         00612
          MARIA T TORRES TORRES /DBA
   714008 LA KOCINITA                                 PO BOX 297                                                                                                  NARANJITO           PR         00719
   714010 MARIA T VALENTIN LUGO                       RR 1 BOX 3980                                                                                               MARICAO             PR         00606
   300118 MARIA T VALENTIN NAZARIO                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300119 MARIA T VAZQUEZ DE COLON                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   714011 MARIA T VAZQUEZ HERNANDEZ                   URB VERDE MAR             CALLE 39‐919                                                                      PUNTA SANTIAGO      PR         00741
   714012 MARIA T VAZQUEZ TORRES                      URB BALDORIOTY            2615 CALLE GUARDIAN                                                               PONCE               PR         00728‐2963
   300120 MARIA T VEGA BARRIOS                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300121 MARIA T VEGA BRUGUERAS                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714014 MARIA T VEGA VEGA                           P O BOX 896                                                                                                 BARRANQUITAS        PR         00794

   714016 MARIA T VELAZQUEZ SANTIAGO                  PO BOX 1311                                                                                                 LAS PIEDRAS         PR         00771
   714017 MARIA T VELEZ LAUREANO                      HC 3 BOX 39106                                                                                              CAGUAS              PR         00725‐9726
   714018 MARIA T VELEZ WANPL                         URB VILLA FONTANA         UR 1 VIA 17                                                                       CAROLINA            PR         00983
   714019 MARIA T VIDAL USERA                         PO BOX 16203                                                                                                SAN JUAN            PR         00908‐6203
   714020 MARIA T VILLEGAS PIZARRO                    HC 1 BOX 6069                                                                                               LOIZA               PR         00772
   300123 MARIA T. BETANCOURT SOSA                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714021 MARIA T. BONILLA ROJAS                      HC 3 BOX 19302                                                                                              ARECIBO             PR         00612 9400
   300125 MARIA T. COLLADO SIERRA                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300126 MARIA T. CRUZ TORRES                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714025 MARIA T. GARNICA LOPEZ                      URB EL CEREZAL            1665 CALLE LENA                                                                   SAN JUAN            PR         00926
   300127 MARIA T. GONZALEZ LOPEZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   714027 MARIA T. HERNANDEZ ARCE                     QUINTAS DE CANOVANAS URB    939 CALLE TURQUESA                                                                     CANOVANAS            PR           00729
   300128 MARIA T. JORGE SANTOS                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300129 MARIA T. LOPEZ COLOM                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300130 MARIA T. MARTI CORREA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   300131 MARIA T. MARTINEZ GONZALEZ                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300132 MARIA T. NIEVES GONZALEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714032 MARIA T. NIEVES RODRIGUEZ                   URB. REPARTO VALENCIA       W‐6 CALLE 3                                                                            BAYAMON              PR           00959
   300133 MARIA T. ORTIZ PENA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714034 MARIA T. PALOU BALSA                        B1 CALLE GAVIOTA            TIERRA ALTA I                                                                          GUAYNABO             PR           00969
   300134 MARIA T. RIOS RODRIGUEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300135 MARIA T. RIVERA CORUJO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300136 MARIA T. RIVERA PAGAN                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714035 MARIA T. RIVERA SANCHEZ                     1003 CALLE WILLIAM TORRES                                                                                          SAN JUAN             PR           00925
   714036 MARIA T. ROHENA                             56 CALLE NARCISO FONT E                                                                                            CAROLINA             PR           00985
   714038 MARIA T. ROVIRA CALIMANO                    COND TORRIMAR PLAZA         APT 4E CALLE 10 FINAL                                                                  GUAYNABO             PR           00967
   300137 MARIA T. RUIZ RODRIGUEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   300138 MARIA T. SANTIAGO MORALES                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300139 MARIA T. TIRADO SANTIAGO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300140 MARIA T. UBARRI BARAGANO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714040 MARIA TAPIA NAVARRO                         ADM SERV GENERALES          PO BOX 7428                                                                            SAN JUAN             PR           00916‐7428
   714041 MARIA TAVERAS SANTIAGO                      HC 72 BOX 3498                                                                                                     NARANJITO            PR           00719
          MARIA TERESA ACEVEDO
   300141 MERCADO                                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714042 MARIA TERESA AYUSO                          P O BOX 7428                                                                                                       SAN JUAN             PR           00916
   300142 MARIA TERESA BERMUDEZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714045 MARIA TERESA CABRERA                        HC 1 BOX 19224                                                                                                     VEGA BAJA            PR           00693
   714047 MARIA TERESA CRUZ ROJAS                     P O BOX 7428                                                                                                       SAN JUAN             PR           00916
          MARIA TERESA FLORES
   714048 CONCEPCION                                  HC 01 BOX 4051                                                                                                     QUEBRADILLAS         PR           00678
   300143 MARIA TERESA HERNANDEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   714051 MARIA TERESA MARTI CORREA                   232 AVE ELEONOR ROOSEVELT                                                                                          SAN JUAN             PR           00907
          MARIA TERESA ORTIZ
   714053 ARRIGOITIA                                  LOMAS VERDES                R 25 CLAVELILLO                                                                        BAYAMON              PR           00956
   300144 MARIA TERESA PALOU BALSA                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   714057 MARIA TERESA QUINONEZ RECIO CAPARRA                                     Q21 CALLE 31 JARD DE CAPARRA                                                           BAYAMON              PR           00959
   300145 MARIA TERESA RAMOS          REDACTED                                    REDACTED                     REDACTED                           REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA TERESA RODRIGUEZ
   714061 ROSADO                      P O BOX 20000 SUITE 367                                                                                                            CANOVANAS            PR           00729

   714063 MARIA TERESA SANCHEZ LOPEZ                  PO BOX 8333                                                                                                        AGUADILLA            PR           00603

   300146 MARIA TERESA TORRES ZAPATA                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIA TERESA VAZQUEZ
   714064 MARRERO                                     P O BOX 421                                                                                                        COMERIO              PR           00782
   714065 MARIA TOLEDO YIMENT                         HC 1 BOX 3961                                                                                                      LARES                PR           00669
   714066 MARIA TORRES                                HC 2 BOX 7880                                                                                                      CAMUY                PR           00627‐9120
   300147 MARIA TORRES CALDERON                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714075 MARIA TORRES FARIA                          PARCELAS AMADEO             22 CALLE A                                                                             VEGA BAJA            PR           00693



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  714076 MARIA TORRES GOMEZ                           URB MADIRD LOPEZ            25 CALLE NORMAZABAL                                                                JUNCOS              PR         00777
  714077 MARIA TORRES HERNANDEZ                       HC 1 BOX 5536                                                                                                  CAMUY               PR         00627
  300148 MARIA TORRES JUAREZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  714078 MARIA TORRES LEON                            HC 3 BOX 11494                                                                                                 CAMUY               PR         00627
  300149 MARIA TORRES MERCADO                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  300150 MARIA TORRES NEGRON                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  714080 MARIA TORRES NU EZ                           361 CALLE GAUTIER BENITEZ                                                                                      SAN JUAN            PR         00915
  714081 MARIA TORRES OCASIO                          PROY 214 LAS MARGARITAS     EDIF 27 APT 257                                                                    SAN JUAN            PR         00915
                                                      PARQUE VILLA CAPARRA F‐4
   714082 MARIA TORRES ORTIZ                          C/SUANIA                                                                                                       GUAYNABO            PR         00960
   300151 MARIA TORRES PAGAN                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714084 MARIA TORRES PASTRANA                       URB SAN GARDENS             B 6 CALLE SAN ALVARO                                                               SAN JUAN            PR         00926‐5306
   714085 MARIA TORRES RIVERA                         URB SAN ANTONIO             2561 CALLE DAMASCO                                                                 PONCE               PR         00728‐1804
   300153 MARIA TORRES RODRIGUEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714088 MARIA TORRES TORRES                         LOIZA VALLEY                769 CALLE CAROLA                                                                   CANOVANAS           PR         00729
   714090 MARIA TORRES VAZQUEZ                        URB COLINAS DE VILLA ROSA   E 12                                                                               SABANA GRANDE       PR         00637
   300154 MARIA TORRES VERA                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714092 MARIA TRENTO BIASSONI                       PO BOX 192928                                                                                                  SAN JUAN            PR         00919
   714093 MARIA TRINIDAD ARROYO                       BOX 482                                                                                                        COROZAL             PR         00783
   714094 MARIA TRINIDAD RUIZ                         EXT VILLA RICA              H 8 CALLE 8                                                                        BAYAMON             PR         00959
   714095 MARIA TRINIDAD TRINIDAD                     HC 1 BOX 4008                                                                                                  CIALES              PR         00638
   300155 MARIA UBARRI BARAGANO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714096 MARIA UBILES MALDONADO                      SOLAR 262 COM BAJANDAS                                                                                         HUMACAO             PR         00791
   714097 MARIA URDAZ                                 HC 6 BOX 13408                                                                                                 HATILLO             PR         00659
          MARIA URSINA MOJICA
   300156 PETERSON                                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   300157 MARIA V ACEVEDO CHAMORRO REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   714100 MARIA V ACEVEDO COLON                       URB JARDINES DE CERRO GORDO 13 CALLE 4C                                                                        SAN LORENZO         PR         00754
   300158 MARIA V ADORNO DAVILA                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714101 MARIA V ADORNO RIVERA                       8 CALLE AGUSTIN D DIAZ                                                                                         AGUAS BUENAS        PR         00703
   714098 MARIA V ALAJANDRO                           PO BOX 50063                                                                                                   SAN JUAN            PR         00902
   714104 MARIA V ANDINO MARRERO                      VALLE ARRIBA HTS            AS‐4 CALLE 46A                                                                     CAROLINA            PR         00983
   714105 MARIA V APONTE ALICEA                       URB QUINTAS DE DORADO       J‐6 CALLE 10                                                                       DORADO              PR         00646
   709705 MARIA V APONTE RAMOS                        URB VILLAS DE CASTRO        TT 13 CALLE 19                                                                     CAGUAS              PR         00725

   714106 MARIA V AYALA ACOSTA                        BO BORINAS SECTOR CIENAGA   HC 03 BOX 13589                                                                    YAUCO               PR         00698
   714107 MARIA V BAEZ CASTRO                         P O BOX 9688                                                                                                   CIDRA               PR         00739
   714108 MARIA V BERRIOS COLON                       P O BOX 340                                                                                                    OROCOVIS            PR         00720
   714109 MARIA V BERRIOS ROSA                        HC 1 BOX 4046                                                                                                  ARROYO              PR         00714
   300160 MARIA V BONILLA VICENTE                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714110 MARIA V BORRERO VARGAS                      P O BOX 852                                                                                                    CABO ROJO           PR         00623
   300161 MARIA V BUITRAGO RAMIREZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIA V CABEZA
   714111 BUENAVENTURA                                BUENAVENTURA                82 CALLE ROSA BOX 301                                                              CAROLINA            PR         00987

   714112 MARIA V CANDELARIA SUAREZ                   P O BOX 1020                                                                                                   BAJADERO            PR         00616‐1020
   714113 MARIA V CARABALLO                           BO CLAUSELL                 91 CALLE FOGOS                                                                     PONCE               PR         00731
   300162 MARIA V CARDONA                             REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   300163 MARIA V CARDONA HERNANDEZ REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   714114 MARIA V CARRASQUILLO DAVILA PO BOX 271                                                                                                                       CAGUAS               PR           00725
   300164 MARIA V CASTELLVI ARMAS     REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300165 MARIA V CASTRO VALENTIN     REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300166 MARIA V CHEVERE RIVERA      REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300167 MARIA V CHIRIVELLAS         REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714116 MARIA V COLLAZO GONZALEZ    URB JARDINES 11                               E 12 CALLE JAZMIN                                                                  CAYEY                PR           00736
   714117 MARIA V COLON ROQUE         JARDINES DE CAYEY 1                           B 16 CALLE 2                                                                       CAYEY                PR           00736
   300168 MARIA V COLON SANTOS        REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   714118 MARIA V CONDE GONZALEZ                      105 CALLE SANTIAGO IGLESIAS                                                                                      SAN LORENZO          PR           00754
   300170 MARIA V CRUZ VAZQUEZ                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714120 MARIA V CUESTA ROBLEDO                      PO BOX 366007                                                                                                    SAN JUAN             PR           00936
   300171 MARIA V DE JESUS ALVAREZ                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300172 MARIA V DE JESUS RAMOS                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300173 MARIA V DEL VALLE BATISTA                   REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714122 MARIA V DELGADO GARCIA                      URB VILLA SAN ANTON           P 26 FLORENTINO ROMAN                                                              CAROLINA             PR           00987
   300174 MARIA V DELGADO VEGA                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714123 MARIA V DIAZ DEL VALLE                      PO BOX 3134                                                                                                      CAROLINA             PR           00984
   714124 MARIA V DIAZ LOPEZ                          BOX 267                                                                                                          ARROYO               PR           00714
   300175 MARIA V DIAZ RONDON                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300177 MARIA V DIAZ SANABRIA                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   714125 MARIA V EMERSON CARDENALES PO BOX 10000 SUITE 157                                                                                                            CAYEY                PR           00736
   300178 MARIA V ESCRIBANO SOLER    REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714126 MARIA V FELICIANO LOPEZ    COM TERRANOVA                                  142 CALLE 8                                                                        QUEBRADILLAS         PR           00678
   714127 MARIA V FERNANDEZ          URB PARK VILLE                                 T 16 CALLE MCKINLEY                                                                GUAYNABO             PR           00657

   300179 MARIA V FIGUEROA RODRIGUEZ                  REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714131 MARIA V FIGUEROA ROSARIO                    P O BOX 73                                                                                                       CIALES               PR           00638
   714132 MARIA V FLORES PAZ                          COUNTRY CLUB                  891 CALLE FLAMINGO                                                                 SAN JUAN             PR           00924
   714134 MARIA V GARCIA LOPEZ                        P 232 COND MONTE BELLO                                                                                           TRUJILLO ALTO        PR           00976
   300180 MARIA V GARCIA PALLAS                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714136 MARIA V GONZALEZ ALBELO                     PO BOX 386                                                                                                       CIALES               PR           00638

   300184 MARIA V GONZALEZ MONTALVO REDACTED                                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300186 MARIA V GRANT TEJADA      REDACTED                                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300187 MARIA V GUTIERREZ SIERRA  REDACTED                                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300189 MARIA V GUZMAN            REDACTED                                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714138 MARIA V GUZMAN COTTO      REPTO VALENCIA                                  AH 25 CALLE 11                                                                     BAYAMON              PR           00959
   714139 MARIA V HEREDIA ALICEA    HC 2 BOX 15409                                                                                                                     ARECIBO              PR           8174708
   714140 MARIA V INFANTE RIVERA    3ra ext COUNTRY CLUB                            JF 15 CALLE 231                                                                    CAROLINA             PR           00982
   300190 MARIA V IRIZARRY CENTENO  REDACTED                                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300191 MARIA V IRIZARRY DIAZ     REDACTED                                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   300192 MARIA V JIMENEZ MALDONADO REDACTED                                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   714141 MARIA V JIMENEZ MARTEUZ                     542 URB MONTERRY BORIQUEN                                                                                        MAYAGUEZ             PR           00680
          MARIA V LAUREANO
   714142 HERNANDEZ                                   PARC AMADEO                   CALLE E BOX 62                                                                     VEGA BAJA            PR           00693
   300193 MARIA V LEBRON SANCHEZ                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300194 MARIA V LOIDI FERNANDEZ                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714143 MARIA V LOPEZ TORRES                        EXT VILLA RICA                B 27 CALLE 2                                                                       BAYAMON              PR           00959



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   300195 MARIA V MALDONADO ALVAREZ REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   714144 MARIA V MALDONADO GARCIA                    PO BOX 1427                                                                                                       JUANA DIAZ          PR           00795

   714145 MARIA V MALDONADO RAMOS                     BO CIALITOS CENTRO      HC 02 BOX 8675                                                                            CIALES              PR           00638

   714146 MARIA V MALDONADO RIVERA                    URB LAS DELICIAS        1240 CALLE FRANCISCO VASALLO                                                              PONCE               PR           00731

   714147 MARIA V MALDONADO ROLON                     HC 2 BOX 5722                                                                                                     MOROVIS             PR           00687
   714148 MARIA V MARIN ADORNO                        PO BOX 21365                                                                                                      SAN JUAN            PR           00928‐1365
   714150 MARIA V MARRERO PADIN                       13 CS LUDER BRAU                                                                                                  CAMUY               PR           00627

   714152 MARIA V MARTINEZ FIGUEROA                   URB SAN ANTONIO         2134 CALLE DRAMA                                                                          PONCE               PR           00728 1701

   300198 MARIA V MARTINEZ QUINONES                   REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714153 MARIA V MARTINEZ SANTOS                     PARCELAS FALU           517A CALLE 13                                                                             SAN JUAN            PR           00924

   714154 MARIA V MEDINA MALDONADO URB VILLAS DEL SOL                         95 CALLE SATURNO                                                                          ARECIBO             PR           00612
   300199 MARIA V MELENDEZ COTTO   REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   714155 MARIA V MELENDEZ TRAVERSO                   LA ALBORADA             A 15 TRAVIATA                                                                             SAN JUAN            PR           00926
   300200 MARIA V MENDEZ LOPEZ                        REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714156 MARIA V MERCED PASTRANA                     PMB 260 PO BOX 10000                                                                                              CANOVANAS           PR           00729
   714157 MARIA V MILAN SOTO                          P O BOX 15                                                                                                        ISABELA             PR           00662
   714158 MARIA V MIRANDA ROSADO                      URB CIBUCO              E 41 CALLE 6                                                                              COROZAL             PR           00783
   714159 MARIA V MOLEDO PEREZ                        AVE WINSTON CHURGHILL   138 MSC 542                                                                               SAN JUAN            PR           00926
   300202 MARIA V MORALES ALVAREZ                     REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300205 MARIA V MORALES MUNIZ                       REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300206 MARIA V MORALES TORRES                      REDACTED                REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714160 MARIA V NATAL LOPEZ                         COND VILLAS DEL SOL     1 CALLE PRINCIPAL APT 26                                                                  TRUJILLO ALTO       PR           00976
   714161 MARIA V NAZARIO                             PO BOX 1540                                                                                                       VILLALBA            PR           00766

   714162 MARIA V NOGUERA HERNANDEZ E 32 URB LAS ANTILLAS                                                                                                               SALINAS             PR           00751
   300207 MARIA V OQUENDO              REDACTED                               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300209 MARIA V ORTIZ                REDACTED                               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA V ORTIZ COTTO / JOSE A
   300210 CAPO ORTIZ                   REDACTED                               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300211 MARIA V OTERO MAISONET       REDACTED                               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714164 MARIA V OTERO MARTINEZ       URB REXVILLE                           54 11 CALLE 54                                                                            BAYAMON             PR           00957
   714165 MARIA V OTERO OTERO          URB COUNTRY CLUB                       O Q 5 CALLE 520                                                                           CAROLINA            PR           00982
   714166 MARIA V OTERO RODRIGUEZ      EXT SANTA ELENA                        A 2 14 CALLE A                                                                            BAYAMON             PR           00957
   714169 MARIA V PADRO PEREZ          HC 80 BOX 9345                                                                                                                   DORADO              PR           00646
   714171 MARIA V PAGAN ORTIZ          PO BOX 708                                                                                                                       MARICAO             PR           00606
   300212 MARIA V PAGAN RIVERA         REDACTED                               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714172 MARIA V PALER SULSONA        REPARTO MONTELLANO                     7 CALLE B D                                                                               CAYEY               PR           00736
          MARIA V PEREZ C/O LIZETTE M
   300213 MALDONADO                    REDACTED                               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714173 MARIA V PEREZ DIAZ           LOMA ALTA                              C 17 CALLE 3                                                                              CAROLINA            PR           00987
   714174 MARIA V PEREZ ROMAN          HC 05 BOX 60819                                                                                                                  CAGUAS              PR           00725 9248
   300214 MARIA V PICON MERCADO        REDACTED                               REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714176 MARIA V QUILES MENDOZA       CASA AIBONITO APT 611                                                                                                            AIBONITO            PR           00705




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   300216 MARIA V QUINONEZ RODRIGUEZ REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   714178 MARIA V RAMOS DE FERNANDEZ SAN JUAN PARK I                         APT A 4                                                                             SAN JUAN            PR           00921
   714179 MARIA V RAMOS PEREZ        URB JARDINES DE CAYEY                   1C 24 CALLE 11                                                                      CAYEY               PR           00726
   714180 MARIA V RAMOS RAMOS        P O BOX 2021 PMB 127                                                                                                        LAS PIEDRAS         PR           00771
   300217 MARIA V RAMOS TORRES       REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300218 MARIA V REYES ROLON        REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300219 MARIA V RIOS GONZALEZ      REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714182 MARIA V RIVERA CABRERA     URB ROLLING HILLS                       J 271 CALLE HONDURAS                                                                CAROLINA            PR           00987 0000
   714183 MARIA V RIVERA COLON       P O BOX 9615                                                                                                                CAGUAS              PR           00726
   714184 MARIA V RIVERA GONZALEZ    URB BAIROA                              C/6 CH 1                                                                            CAGUAS              PR           00725
   714185 MARIA V RIVERA MARQUEZ     RR 01 BOX 2778                                                                                                              CIDRA               PR           00739
   300222 MARIA V RIVERA PEREZ       REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714186 MARIA V RIVERA VAZQUEZ     7128 CALLE FLORES BOX 109                                                                                                   SABANA SECA         PR           00952‐4369
   714187 MARIA V ROBLES COLON       BO MOROVIS SUR                          BOX 2283                                                                            MOROVIS             PR           00687
   300223 MARIA V RODRIGUEZ BAEZ     REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   300224 MARIA V RODRIGUEZ DE JESUS                  REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   300225 MARIA V RODRIGUEZ GONZALEZ REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714189 MARIA V RODRIGUEZ LABOY    RES BAIROA                              CALLE 3A                                                                            CAGUAS              PR           00725

   714099 MARIA V RODRIGUEZ MELENDEZ HC‐45 BOX 13672                         BO. CULEBRAS                                                                        CAYEY               PR           00736‐9722
   714192 MARIA V RODRIGUEZ RIOS      URB LA CUMBRE                          310 C/ RIO GRANDE                                                                   SAN JUAN            PR           00926
          MARIA V RODRIGUEZ
   300226 RODRIGUEZ                   REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714193 MARIA V ROLON DE MEJIAS     23000 CARRETERA 743                                                                                                        CAYEY               PR           00736
   300228 MARIA V ROSA MELENDEZ       REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIA V ROSARIO CRESPO / EQ
   300229 CLASE A                     REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300230 MARIA V ROSAS RIVERA        REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714196 MARIA V RUIZ LOPEZ          HC 57 BOX 8798                                                                                                             AGUADA              PR           00602‐9202
   714197 MARIA V SAINZ               REPTO FLAMINGO                         N 27 C/ CAPITAN CORREA                                                              BAYAMON             PR           00960
   300232 MARIA V SANCHEZ             REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714198 MARIA V SANCHEZ GONZALEZ    JARDINES DE CAPARRA                    I‐14 CALLE 11                                                                       BAYAMON             PR           00959
   300234 MARIA V SANCHEZ JIMENEZ     REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300235 MARIA V SANCHEZ TORRES      REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   714199 MARIA V SANTIAGO SANTIAGO                   URB VILLA CALIZ        12 CALLE RIQUEZA                                                                    CAGUAS              PR           00726
   714201 MARIA V SANTOS RAMOS                        G 17 URB SANTA MARTA                                                                                       SAN GERMAN          PR           00683
   714203 MARIA V SEGARRA RIVERA                      URB BELLAS LOMAS       712 CALLE FLAMBOYAN                                                                 MAYAGUEZ            PR           00680
   714204 MARIA V SOLIVAN VEGA                        BDA POLVORIN           5 CALLE 11                                                                          CAYEY               PR           00736
   300236 MARIA V SOTO MEDINA                         REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   714205 MARIA V SULIVENES SANTIAGO                  BDA BLONDET            60 CALLE B                                                                          GUAYAMA             PR           00784

   300237 MARIA V SULIVERES SANTIAGO                  REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300238 MARIA V TIRADO MUNIZ                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300239 MARIA V TORO AYALA                          REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714207 MARIA V TORRES                              VILLA DEL REY          A4A CALLE 23                                                                        CAGUAS              PR           00725
   714208 MARIA V TORRES CARTAGENA                    BOX 370‐104                                                                                                CAYEY               PR           00737
   714209 MARIA V TORRES COSME                        URB RIBERAS DEL RIO    A 18 CALLE 9                                                                        BAYAMON             PR           00959‐8827



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  300240 MARIA V TORRES RODRIGUEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  714210 MARIA V TORRES SANCHEZ                       URB VILLA CRIOLLO            D 14 CALLE CORAZON                                                                       CAGUAS            PR         00726
  714211 MARIA V VALENTIN LOPEZ                       BO PILETAS ARCE              HC 1 BOX 3174                                                                            LARES             PR         00669
  714212 MARIA V VALENTIN VAZQUEZ                     VALLE HERMOSO ABAJO          SF8 CALLE VIOLETA                                                                        HORMIGUEROS       PR         00660
  300241 MARIA V VARGAS FANTAUZZI                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  300242 MARIA V VARGAS LOPEZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   714213 MARIA V VAZQUEZ ALMODOVAR URB SANTA ELENA                                B 11 A                                                                                   SABANA GRANDE     PR         00637
   300243 MARIA V VAZQUEZ DIAZ      REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   714214 MARIA V VAZQUEZ HERNANDEZ PO BOX 3575                                                                                                                             JUNCOS            PR         00777
   714215 MARIA V VEGA MARTINEZ     HC 44 BOX 13101                                                                                                                         CAYEY             PR         00736

   300244 MARIA V VILLAFANE SANTIAGO                  REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   300245 MARIA V VILLAMIL                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   300246 MARIA V VILLEGAS VILLEGAS                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   714216 MARIA V ZEDA VIRUET                         URB SUMMIT HILLS             579 CALLE COLLINS                                                                        SAN JUAN          PR         00920

   300247 MARIA V. ARROYO CARABALLO                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   714217 MARIA V. BERMUDEZ PEREA                     PO BOX 344                                                                                                            VIEQUES           PR         00765
                                                      REPARTO METROPOLITANO A
   709706 MARIA V. BONILLA ESCALANTE                  CALLE 2                                                                                                               CAYEY             PR         00736

   300248 MARIA V. CARTAGENA MANSO                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   300249 MARIA V. CASTILLO LUGO                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   714218 MARIA V. CORTES LOPEZ                       APARTADO 9269                COTTO STATION                                                                            ARECIBO           PR         00613
   300250 MARIA V. DANET GARCIA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
                                                                                   CB13 CALLE EUCALPTS URB RIO
   714219 MARIA V. DIAZ RODRIGUEZ                     RIO HONDO III                HONDO 3                                                                                  BAYAMON           PR         00961
   714220 MARIA V. FELICIER ESCALERA                  URB EDUARDO J SALDANA        F31 CALLE CAOBA                                                                          CAROLINA          PR         00983
   300251 MARIA V. GARCIA FARULLA                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   300252 MARIA V. LEVY MERINO                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   300253 MARIA V. LUGO RIOS                          REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   300254 MARIA V. NEGRON AMADOR                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
                                                      URB. FLAMINGO TERRACE B‐16
   714221 MARIA V. OCASIO GARCIA                      C/ISABEL                                                                                                              BAYAMON           PR         00957
   300255 MARIA V. ORTEGA                             REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   300256 MARIA V. PEREZ TORRES                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   300257 MARIA V. RODRIGUEZ FELICIANO REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   300258 MARIA V. RODRIGUEZ GONZALEZ REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   300259 MARIA V. ROLON MARTINEZ     REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   714222 MARIA V. SANTANA SANTANA    1230 CALLE MANSO                                                                                                                      SAN JUAN          PR         00926
   300260 MARIA V. SERRANO PIZA       REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   714223 MARIA V. VARGAS HERNANDEZ                   PO BOX 546                                                                                                            RIO GRANDE        PR         00745
   714224 MARIA V. VEGA VARGAS                        URB VISTA VERDE              H30 CALLE RENO                                                                           BAYAMON           PR         00956
   714225 MARIA VALENTIN ACOSTA                       RES SAN ANTONIO              APT569 PTA TIERRA                                                                        SAN JUAN          PR         00912
   300261 MARIA VALENTIN BERRIOS                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   300262 MARIA VALENTIN LYON                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   714226 MARIA VALENTIN ROQUE                        HC 763 BOX 3637                                                                                                       PATILLAS          PR         00723




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          MARIA VALENTINA FRAIZ
   714227 GRIJALBA SALAZAR                            R DOUTOR ALFREDO         DI VENRIERI 75                                                                          BRAZIL              SP         05540
   714228 MARIA VALERA ASENCIO                        COLL Y TASTE 13          BO AMELIA                                                                               GUAYNABO            PR         00965
   714229 MARIA VALERA DE GUANCE                      2263 AVE EDUARDO CONDE                                                                                           SAN JUAN            PR         00915
   714230 MARIA VALLANILLA SOTO                       BOX 4706                                                                                                         SALINAS             PR         00751
   714231 MARIA VALLE HERNANDEZ                       PO BOX 222                                                                                                       QUEBRADILLA         PR         00678
   714232 MARIA VALLE MALDONADO                       P O BOX 21365                                                                                                    SAN JUAN            PR         00926‐1365
   714234 MARIA VALLES VEGA                           CSM MAYAGUEZ                                                                                                     Hato Rey            PR         00936
   300263 MARIA VARGAS CAPRILES                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   714235 MARIA VARGAS MARTINEZ                       PO BOX 394                                                                                                       A¥ASCO              PR         00610‐0394
   714236 MARIA VARGAS MORALES                        HC 1 BOX 16022                                                                                                   AGUADILLA           PR         00603
   714238 MARIA VARGAS OLIVENCIA                      PO BOX 620                                                                                                       HORMIGUEROS         PR         00660
   300264 MARIA VARGAS PEREZ                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   300265 MARIA VARGAS SILVA                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   714239 MARIA VAYAS LLERA                           ALTOS DE SIERRA          87 23 CALLE 70                                                                          BAYAMON             PR         00961
   714240 MARIA VAZQUEZ                               3609 MONGOMERY STREET                                                                                            NORFOLK             VA         23513
   714241 MARIA VAZQUEZ CABRERA                       402 BO HATILLO CARR      RR 1 BOX 1513                                                                           A¥ASCO              PR         00610
   714242 MARIA VAZQUEZ COLON                         RES CARIOCA              EDIF 10 APT 59                                                                          GUAYAMA             PR         00784
   714243 MARIA VAZQUEZ DEL VALLE                     HC 80 BOX 9376                                                                                                   DORADO              PR         00646
   300266 MARIA VAZQUEZ DIAZ                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   714246 MARIA VAZQUEZ FIGUEROA                      URB EL CONQUISTADOR      F 43 AVE DIEGO VELAZQUEZ                                                                TRUJILLO ALTO       PR         00976
   300267 MARIA VAZQUEZ GONZALEZ                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   714248 MARIA VAZQUEZ HERNANDEZ                     URB ENCANTADA            6209 COND AVENTURA                                                                      TRUJILLO ALTO       PR         00976
   714249 MARIA VAZQUEZ MANOSA                        COLLEGE PARK             267 GRENOBLE                                                                            SAN JUAN            PR         00921
   714250 MARIA VAZQUEZ MASSA                         URB JARONES DEL CARIBE   104 CALLE 3                                                                             PONCE               PR         00731
   714251 MARIA VAZQUEZ PEREZ                         PO BOX 1521                                                                                                      UTUADO              PR         00641
   300268 MARIA VAZQUEZ ROSARIO                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   300269 MARIA VAZQUEZ SOTO                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   714253 MARIA VAZQUEZ SUBIT                         P O BOX 1107                                                                                                     BAYAMON             PR         00960
   714254 MARIA VEGA                                  PUEBLECITO NUEVO         270 CALLE 1                                                                             PONCE               PR         00731
   714255 MARIA VEGA ACEVEDO                          COND PARQUE CENTRO       ED ALELI APT C 23                                                                       SAN JUAN            PR         00918
   300270 MARIA VEGA CARRERA                          REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   714256 MARIA VEGA MARRERO                          P O BOX 21365                                                                                                    SAN JUAN            PR         00926 1365
   714257 MARIA VEGA PAGAN                            BO CIELITO CENTRO        KM 3 HM 65                                                                              CIALES              PR         00638
   300271 MARIA VEGA SUAREZ                           REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   714261 MARIA VELAZQUEZ                             PO BOX 21635                                                                                                     SAN JUAN            PR         00928

   300274 MARIA VELAZQUEZ MERCADO                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   714262 MARIA VELAZQUEZ PIZARRO                     HC 1 BOX 2457                                                                                                    LOIZA               PR         00772
   714263 MARIA VELAZQUEZ POLA                        URB LOS COLOBOS CALLE    ACEROLA 925                                                                             PONCE               PR         00716‐2617
   300275 MARIA VELAZQUEZ SOTO                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   714264 MARIA VELEZ                                 PO BOX 5157                                                                                                      LOIZA               PR         00772
   300276 MARIA VELEZ COLLAZO                         REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   709707 MARIA VELEZ FERNANDEZ                       URB LA ESMERALDA B 20    59 CALLE ORQUIDEA                                                                       CAGUAS              PR         00727‐7803
   300277 MARIA VELEZ GONZALEZ                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   714266 MARIA VELEZ MILLAN                          CUIDAD DE ORO            225 CALLE BIENESTAR APT 3B                                                              ISABELA             PR         00662
   714267 MARIA VELEZ MONTIJO                         HC 7 BOX 32573                                                                                                   HATILLO             PR         00659
   300278 MARIA VELEZ PAGAN                           REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   714268 MARIA VELEZ ROSA                            SECTOR VILLA ESPERANZA   C ROSA C‐26 BO CAMPANILLAS                                                              TOA BAJA            PR         00949
   300279 MARIA VELEZ RUIZ                            REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   714269 MARIA VELEZ SANCHEZ                         URB VILLA CAROLINA       22 42 CALLE 39                                                                          CAROLINA            PR         00985
   714270 MARIA VELEZ SANTALIZ                        BO BALBOA                279 CALLE ARTURO GIGANTE                                                                MAYAGUEZ            PR         00680



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  714271 MARIA VELEZ VELAZQUEZ                        PARQUE LAS MERCEDES       EDIF MAPT 2 A                                                                            CAGUAS              PR         00725 9407
  714272 MARIA VELEZ VELEZ                            AIBONITO SECTOR FLORES                                                                                             HATILLO             PR         00659
  300280 MARIA VELEZ VICENS                           REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  714273 MARIA VELILLA GONZALEZ                       58 PDA 20 C/ PROGRESO                                                                                              SAN JUAN            PR         00909

   714274 MARIA VERONICA PEREZ TORRES P O BOX 4211                                                                                                                       AGUADILLA           PR         00605
          MARIA VERONICA VAZQUEZ
   300282 ALTECHE                     REDACTED                    REDACTED                                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          MARIA VICTORIA CARDOZA
   300283 CARDOZA                     REDACTED                    REDACTED                                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          MARIA VICTORIA ECHEVARRIA
   300284 ORTIZ                       REDACTED                    REDACTED                                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          MARIA VICTORIA PEREZ
   714276 RODRIGUEZ                   SABANA SECA BOX 1436                                                                                                               TOA BAJA            PR         00952
          MARIA VICTORIA RODRIGUEZ
   300285 MORGE                       REDACTED                    REDACTED                                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          MARIA VICTORIA SALDANA
   300286 HERNANDEZ                   REDACTED                    REDACTED                                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          MARIA VICTORIA SEVILLA
   300287 SANCHEZ                     REDACTED                    REDACTED                                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   714277 MARIA VIERA RODRIGUEZ       1750 EAST 172 ST APT 3 G                                                                                                           BRONX               NY         10472
   300288 MARIA VILA CORTES           REDACTED                    REDACTED                                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   714279 MARIA VILELLA               HC 02 BOX 5499                                                                                                                     LARES               PR         00669
                                      URB.SIERRA BAYAMON CALLE 25
   714280 MARIA VILLANUEVA ORTEGA     25C‐27                                                                                                                             BAYAMON             PR         00961

   714281 MARIA VILLANUEVA VALENTIN                   PO BOX 5388                                                                                                        SAN SEBASTIAN       PR         00685
   300289 MARIA VILLARINY MARRERO                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   300290 MARIA VILLEGAS                              REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   300291 MARIA VILLEGAS VILLEGAS                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   300292 MARIA VILLODOS VEGA                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   714282 MARIA VIRELLA NIEVES                        HC 2 BOX 7527                                                                                                      CIALES              PR         00638
   714283 MARIA VIRGEN CASTRO                         BO LAS CAROLINAS          289 CALLE SIN SALIDA                                                                     CAGUAS              PR         00725
          MARIA VIRGEN GONZALEZ
   714284 COLON                                       PASEO DE LAS BRUMAS       3 CALLE SOL                                                                              CAYEY               PR         00736
   714285 MARIA VIRGEN OQUENDO                        PO BOX 21365                                                                                                       SAN JUAN            PR         00928
   714286 MARIA VIRGEN ORTIZ VEGA                     SECTOR MOGOTE             8 CALLE C                                                                                CAYEY               PR         00736
                                                      EDIF 45 APT 544 R/MONTE
   714287 MARIA VIRGEN OTERO                          HATILLO                                                                                                            SAN JUAN            PR         00926
   300293 MARIA VIRGEN VAZQUEZ                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          MARIA VIRGINIA CARDONA
   300294 MANDEZ                                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          MARIA VIRGINIA LEBRON
   300295 MORALES                                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   714292 MARIA VIZCARRONDO                           URB LAGOS DE PLATA        H 12 CALLE 6                                                                             TOA BAJA            PR         00949

   714294 MARIA W LEON CARTAGENA                      SECTOR MOGOTE             26 CALLE EVARISTO HERNANDEZ                                                              CAYEY               PR         00736
   714295 MARIA W RASCH REYES                         BDA FUERTE CALLE FUERTE   BOX B 42                                                                                 VIEQUES             PR         00765
          MARIA WALESKA MIRANDES
   300297 COSTAS                                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   714299 MARIA WILLIAM CRUZ                          RES LUIS LLORENS TORRES   EDIF 42 APT 844                                                                          SAN JUAN            PR         00915
          MARIA WILLIAM/HOWARD
   714300 WILLIAMS                                    130 47 222ST                                                                                                       LAURELTON           NY         11413



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  714301 MARIA XIMENA SIMUNOVIC                       MAYAGUEZ CENTRO MEDICO         410 AVE HOSTOS                                                                      MAYAGUEZ          PR           00680

   714304 MARIA Y ALVARADO ALVARADO                   URB SANTA RITA                 1055 CALLE LOPEZ LOPEZ                                                              SAN JUAN          PR           00925
   714305 MARIA Y BATLLE QUIDGLEY                     URB ALTO APOLO                 2123 CALLE MILETO                                                                   GUAYNABO          PR           00969
          MARIA Y BETANCOURT
   714306 ESCALERA                                    PO BOX 3953                                                                                                        CAROLINA          PR           00984
   714307 MARIA Y CANABAL TORRES                      2050 CARR 8177 ATP 203                                                                                             GUAYNABO          PR           00969
   714308 MARIA Y CRUZ FEBLES                         URB COSTA BRAVA                B G 146                                                                             ISABELA           PR           00662
   300298 MARIA Y DEL VALLE FREYTES                   REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   714309 MARIA Y DIAZ SANTOS                         URB ESTANCIA P E MAYORAL       B‐14 CALLE GUAJANA                                                                  VILLALBA          PR           00766
   300299 MARIA Y GALINDER GALAN                      REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   714310 MARIA Y GARCIA REYES                        HC 02 BOX 8051                                                                                                     YABUCOA           PR           00767
   714311 MARIA Y GONZALEZ ORTIZ                      BO CAONILLAS                   CARR 726 KM 2.1                                                                     AIBONITO          PR           00705
   714312 MARIA Y GONZALEZ PAGAN                      HC 10 BOX 7919                                                                                                     SABANA GRANDE     PR           00637
   300300 MARIA Y GUERRA DE JESUS                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   300301 MARIA Y HERNANDEZ MUNIZ                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   714314 MARIA Y MALAVE MONTALVO                     PO BOX 1440                                                                                                        COAMO             PR           00769
   714316 MARIA Y MATIAS RIVERA                       VISTA AZUL                     E 14 CALLE 6                                                                        ARECIBO           PR           00612
   300302 MARIA Y MORALES PEREZ                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   300303 MARIA Y RIVERA SERRANO                      REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   714321 MARIA Y RODRIGUEZ RIOS                      BO SANTANA                     H 23 CALLE RIVERA                                                                   ARECIBO           PR           00612

   300304 MARIA Y ROHENA RODRIGUEZ                    REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   300305 MARIA Y SANCHEZ FIGUEROA                    REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   300306 MARIA Y TORRES LOPEZ                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   300307 MARIA Y. CENTENO ALCALA                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
                                                      URB. VALLE ARRIBA HEIGHT V‐4
   714323 MARIA Y. ORTIZ FLORES                       CALLE                          ORTEGON                                                                             CAROLINA          PR           00983
                                                      COND. PLAZA ATLANTICO
   714324 MARIA Y. SEGARRA DE DON                     APT.1502                                                                                                           CAROLINA          PR           00979

   300308 MARIA YADIRA COLON MATEO                    REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MARIA YOLANDA COLON
   714325 ROSADO                                      HC 01 BOX 3797                 BO CAONILLAS                                                                        AIBONITO          PR           00705

   714326 MARIA YOLANDA OCASIO ROSA                   HC 1 BOX 3448                                                                                                      ARROYO            PR           00714
   714329 MARIA Z CARDONA HERRERA                     JARDINES DEL VALENCIANO        C 07 JASMIN                                                                         JUNCOS            PR           00777

   714330 MARIA Z CARRASCO VAZQUEZ                    PO BOX 672                                                                                                         SAN LORENZO       PR           00754
   714332 MARIA Z GUZMAN SANTIAGO                     PO BOX 2020                                                                                                        ARECIBO           PR           00612
   300310 MARIA Z MORALES AYALA                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   714333 MARIA Z NOLASCO WARDEN                      URB COUNTRY CLUB               G J 36 CALLE 201                                                                    CAROLINA          PR           00982
   714334 MARIA Z PORTELA GAUTIER                     COND SKY TOWER                 APT O ‐ D                                                                           SAN JUAN          PR           00926

   714335 MARIA Z RODRIGUEZ VAZQUEZ                   REPARTO OASIS                  F 5 CALLE 8                                                                         GUANICA           PR           00653
   714336 MARIA Z SANTIAGO ROSARIO                    HC 03 BOX 38958                                                                                                    CAGUAS            PR           00725‐9724
   714337 MARIA Z TORRES BELTRAN                      LOMAS VERDES 1RA SECC          J 25 AZUCENA                                                                        BAYAMON           PR           00956
   714338 MARIA Z. DE JESUS                           HC‐1 BOX 10798                                                                                                     SAN GERMAN        PR           00683‐9731
   300312 MARIA Z. GUZMAN RAMOS                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   300313 MARIA Z. TORRES BELTRAN                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   714339 MARIA ZAMBRANA FERNANDEZ                    VILLA CAROLINA                 174 8 CALLE 443                                                                     CAROLINA          PR           00985
   714341 MARIA ZAMBRANA SANTIAGO                     PO BOX 21365                                                                                                       SAN JUAN          PR           00928



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  714343 MARIA ZAPATA VILLA                           PMB 611                     HC 1 BOX 29030                                                                          CAGUAS              PR         00925
  300314 MARIA ZAYAS LOPEZ                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  714344 MARIA ZENO                                   OLD SAN JUAN STATION        PO BOX 50063                                                                            SAN JUAN            PR         00902
  714345 MARIA ZEQUEIRA BECKERLEG                     P O BOX 194205                                                                                                      SAN JUAN            PR         00919
         MARIA ZORAIDA BURGOS
  300315 CORCINO                                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  300317 MARIAA K MUNOZ VILLADA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MARIACAROLINA RODRIGUEZ
  300318 VAZQUEZ                                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MARIACHI LOS CAMPEROS DE P
  714347 R                                            PMB 223                     PO BOX 194000                                                                           SAN JUAN            PR         00919‐4000

   300319 MARIAD DE C. ORTIZ RODRIGUEZ REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300320 MARIAH GALARZA ORTEGA        REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300321 MARIAH GALLARDO LOPEZ        REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIAINES HERNANDEZ
   300322 MONTALVO                     REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714348 MARIALENA REYES MEDINA       P O BOX 7428                                                                                                                       SAN JUAN            PR         00916
   714349 MARIALICIA RIVERA IGLESIAS   URB DORADO DEL MAR                         C26 CALLE LIRIO DEL MAR                                                                 DORADO              PR         00646
   300323 MARIALINA MEDINA MONTE       REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   300324 MARIALLY GONZALEZ HUERTAS                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714351 MARIALMA GAUTIER BENITEZ                    URB VILLAS DE LOIZA         TT‐8 CALLE 28A                                                                          CAROLINA            PR         00729

   714352 MARIALMA RODRIGUEZ BURGOS URB LOIZA VALLEY                              F 246 CALLE HORTENCIA                                                                   CANOVANAS           PR         00729
   300325 MARIALY PEREZ             REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300326 MARIAM AYALA ROLDAN       REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300327 MARIAM BAEZ PIZARRO       REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300328 MARIAM CAMACHO LUGO       REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300330 MARIAM CORTES             REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714353 MARIAM CRUZ CAMACHO       HC 03 BOX 26980                                                                                                                       LAJAS               PR         00667
   300331 MARIAM DE JESUS VELAQUEZ  REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   714354 MARIAM DE LA CRUZ CRUZ                      1804 AVE FERNANDEZ JUNCOS                                                                                           SAN JUAN            PR         00909
   714357 MARIAM GARIGA                               6114 COLBY STREET                                                                                                   OAKLAND             CA         94618
   300333 MARIAM LREYES CRUZ                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714359 MARIAM M ALVAREZ                            HC 2 BOX 14713                                                                                                      ARECIBO             PR         00612
   300334 MARIAM MEDINA MONROIG                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300335 MARIAM MORALES CATALA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300336 MARIAM NIEVES CABAN                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300337 MARIAM OLIVO ROMERO                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714363 MARIAM ORTIZ RAMOS                          URB LOS FLAMBOYANES         390 CALLE CEIBA                                                                         GURABO              PR         00778
   714364 MARIAM PEREZ RIERA                          202 A 213 CALLE SAN JUSTO                                                                                           SAN JUAN            PR         00901
   714366 MARIAM RIVERA LOPEZ                         P O BOX 1907                                                                                                        LAS PIEDRAS         PR         00771
   714367 MARIAM ROBLES MERCADO                       URB FLORAL PARK             APT 1 ‐ 111 CALLE BETANCES                                                              SAN JUAN            PR         00918
   300339 MARIAM VARGAS LUGO                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300340 MARIAM Y QUILES QUINTANA                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIAMGELY GONZALEZ
   300341 TORRES                                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   714372 MARIAMLLY GERENE IRRIZARRY                  URB VILLA SERAL             B 30                                                                                    LARES               PR         00669
   300342 MARIAMLYD PAGAN DIAZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300343 MARIAN ACOSTO RIVERA                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  300344 MARIAN ARROYO AGOSTO                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  300345 MARIAN BATISTA GARCIA                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  300346 MARIAN DE LEON RIVERA                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   714374 MARIAN DESARDEN VIALIZ                      BO MANI                        251 CALLE CLAUDIO CARRERO                                                              MAYAGUEZ            PR         00682
   714375 MARIAN DIAZ CHAPARRO                        URB SOL Y MAR 462              PASEO DEL MAR                                                                          ISABELA             PR         00662
   300347 MARIAN DONCELL SOTO                         REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714376 MARIAN E GILLETTE ORTIZ                     COND LAGUNA GARDENS I          1 AVE LAGUNA APT 7 D                                                                   CAROLINA            PR         00979
   300348 MARIAN E VELEZ MORALES                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714378 MARIAN L GARCIA LUGO                        COND LOS OLMOS                 5 1 APT 5                                                                              SAN JUAN            PR         00927
   300349 MARIAN LABAT                                REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   714379 MARIAN LINDENMANN RIVERA                    PO BOX 29873                                                                                                          SAN JUAN            PR         00929
   300350 MARIAN LOUBRIEL CARRIO                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300351 MARIAN M BURGOS ROSARIO                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   714381 MARIAN M TOLEDO CANDELARIA COLLEGE PARK                                    302 CALLE SALEMO                                                                       SAN JUAN            PR         00921

   714382 MARIAN N ACIN CARRASQUILLO                  259 CALLE DEL CRISTO APT 1 A                                                                                          SAN JUAN            PR         00901
   300352 MARIAN NEGRON MARTINEZ                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714383 MARIAN NEGRON RENTAS                        HC 09 BOX 2035                                                                                                        PONCE               PR         00731‐9700
   300353 MARIAN PABON                                REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714384 MARIAN PEREZ MORALES                        PO BOX 527                                                                                                            DORADO              PR         00646
   300354 MARIAN RIVERA QUILES                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300355 MARIAN RIVERA SANTOS                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714385 MARIAN ROBLES NEGRON                        LOS SAUCES                     422 FLAMBOYAN                                                                          HUMACAO             PR         00791

   714386 MARIAN RODRIGUEZ FONSECA                    COND VALENCIA PLAZA            307 CALLE ALMERIA APT 608                                                              SAN JUAN            PR         00923
   714387 MARIANA ACEVEDO ROSADO                      HC 02 BOX 10845                                                                                                       LAS MARIAS          PR         00670
   300356 MARIANA APONTE SERRA                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300357 MARIANA ARIAS MORALES                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714388 MARIANA ARROYO                              HC 3 BOX 9572                                                                                                         YABUCOA             PR         00767
   714389 MARIANA ASENCIO SANTIAGO                    BOX 4072 SALUD STATION                                                                                                MAYAGUEZ            PR         00681
   300358 MARIANA AYALA ARROYO                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714390 MARIANA BAEZ WALKER                         BUENA VISTA                    PARC 10 CALLE LAUREL                                                                   CAROLINA            PR         00983

   300359 MARIANA C SANTIAGO CRESPO                   REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIANA CAMARENO
   300360 CONCEPCION                                  REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714392 MARIANA CARRILLO GARCIA                     P O BOX 802                                                                                                           CANOVANAS           PR         00729

   300361 MARIANA D MARTINEZ MATTEI                   REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714393 MARIANA DE JESUS CRUZ                       HC 1 BOX 6548                                                                                                         AIBONITO            PR         00705
   714394 MARIANA DE JESUS IRIZARRY                   119 COMUNIDAD JUDEA                                                                                                   MARICAO             PR         00606
   300362 MARIANA DIAZ COLON                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300363 MARIANA EDITORES                            REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300364 MARIANA EDITORES, INC.                      PO BOX 371592                                                                                                         CAYEY               PR         00737
   714395 MARIANA ELIAS YAMIL RAFUL                   COND SANTURCE TOWER            FUERTE 360 APT 701                                                                     SANTURCE            PR         00912
   300365 MARIANA ESTHER GUZMAN                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   300366 MARIANA ESTRADA FONTANEZ                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIANA G. IRIARTE
   300367 MASTRONARDO                                 REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  714396 MARIANA GARCIA CEPEDA                        594 CALLE LA ROSA          HATO REY                                                                          SAN JUAN             PR         00917
  300370 MARIANA GONZALEZ BRAVO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  300372 MARIANA HERNANDEZ PEREZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         MARIANA I RODRIGUEZ
  300373 GALLIANO                                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         MARIANA I. RODRIGUEZ
  300374 GALLIANO                                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   300375 MARIANA ISABEL RIOS OCASIO                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   300376 MARIANA L. SANTOS RODRIGUEZ REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   300377 MARIANA L. VEGA ROSADO      REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   714398 MARIANA LABOY ZABALA        URB VILLA NEVAREZ                          347 CALLE 16                                                                      SAN JUAN             PR         00927
   300378 MARIANA LORENZO PEREZ       REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   300379 MARIANA LOZADA SANTIAGO     REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARIANA M EMMANUELLI
   300380 COLON                       REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARIANA M. CABRERA
   300381 BEAUCHAMP                   REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARIANA M. CONTRERAS
   300382 GOMEZ                       REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   300383 MARIANA MARTELL OTERO       REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   300384 MARIANA MARTI SOTO          REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   714400 MARIANA MATOS COLON         URB FRANCISCO OLLER                        G 10 CALLE 5                                                                      BAYAMON              PR         00956
          MARIANA MONTALVO / PROY
   714401 EVEN START                  BO SANTANA                                 S U FEDERICO DEGETAU                                                              ARECIBO              PR         00612
   714404 MARIANA MURATTI GUZMAN      PO BOX 366613                                                                                                                SAN JUAN             PR         00936
          MARIANA N GONZALEZ
   300385 MONTERO                     REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   300386 MARIANA NARANJO HERNANDEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   300387 MARIANA NEGRON SANTIAGO   REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   714406 MARIANA NEGRON VARGAS     2305 CALLE LAUREL                            APTO 401                                                                          SAN JUAN             PR         00913
   714407 MARIANA NIEVES SANTIAGO   365 CALLE FORTALEZA                                                                                                            SAN JUAN             PR         00901

   300388 MARIANA NOGALES MOLINELLI                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   714408 MARIANA ORELLANA TORO                       25 207 RES STGO IGLESIAS                                                                                     PONCE                PR         00730‐6525
   714409 MARIANA PABON ROSADO                        HC 02 BOX 44739                                                                                              VEGA BAJA            PR         00693
   300390 MARIANA PEREZ MOLINA                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   300391 MARIANA PLAZA ARROYO                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   300392 MARIANA QUINONES BARRERA                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   714413 MARIANA REYES SANTIAGO                      HC 2 BOX 6449                                                                                                JAYUYA               PR         00664
   714414 MARIANA RIVERA                              P O BOX 21365                                                                                                SAN JUAN             PR         00928
   714415 MARIANA RIVERA MANDRY                       HC 1 BOX 6527                                                                                                SANTA ISABEL         PR         00757
   300393 MARIANA ROCA IGUINA                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   300394 MARIANA RODRIGUEZ LOPEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   714416 MARIANA RODRIGUEZ QUESADA PO BOX 141207                                                                                                                  ARECIBO              PR         00614

   714417 MARIANA RODRIGUEZ TORRES                    BOX 442                                                                                                      LAS PIEDRAS          PR         00771

   714418 MARIANA RODRIGUEZ VAZQUEZ 315 AVE FONT MARTELLO                                                                                                          HUMACAO              PR         00791



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   714419 MARIANA ROSADO RODRIGUEZ                    PO BOX 7126                                                                                              PONCE               PR           00732
   714420 MARIANA ROSARIO REINES                      COSTA AZUL ESTATE      A 18 CALLE 4                                                                      GUAYAMA             PR           00784
   300396 MARIANA S PEREZ CORDERO                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714421 MARIANA SANCHEZ FLORES                      LA GUADALUPE           3079 SAN JUDAS                                                                    PONCE               PR           00730

   714422 MARIANA SANTANA MARTINEZ                    280 URB CRISTAL                                                                                          AGUADILLA           PR           00603
   300397 MARIANA SANTIAGO GARCIA                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714423 MARIANA SOLIS                               PO BOX 3749                                                                                              LOIZA               PR           00772
   300398 MARIANA T FRAU NICOLE                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIANA TERESA TAVAREZ
   300399 SANTIESTEBAN                                REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   300400 MARIANA VARGAS RODRIGUEZ                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714425 MARIANA VEGA                                HC 1 BOX 8666                                                                                            CANOVANAS           PR           00729
   300401 MARIANA VEGA VEGA                           REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714426 MARIANA VERA                                PO BOX 858                                                                                               SAN SEBASTIAN       PR           00685
          MARIANA VERTICALS AND
   714427 SUPPLY                                      HC 1 BOX 17162                                                                                           HUMACAO             PR           00791
   714428 MARIANA Y NAZARIO PADUA                     BOX 8423                                                                                                 PONCE               PR           00732
          MARIANAPAOLA PENNET
   300402 JORDAN                                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   300403 MARIANDRELIZ ABREU ROSADO REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714429 MARIANE J ORENGO IRIZARRY HC 03 BOX 14618                                                                                                            GUAYANILLA          PR           00656

   300404 MARIANE M AYALA CANDELARIO REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714430 MARIANE NEGRON SASTRE      BELLA VISTA                             Y 5 CALLE 25                                                                      BAYAMON             PR           00957
   714431 MARIANE RUIZ VALENTIN      HC 59 BOX 5492                                                                                                            AGUADA              PR           00602
          MARIANEL CASANOVA
   300406 MELENDEZ                   REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714432 MARIANEL MARRERO CRUZ      PROY HUCARES I                          APT D 4                                                                           NAGUABO             PR           00712

   300407 MARIANEL PENALOZA TORRES                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300408 MARIANELA ALVAREZ LOPEZ                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714433 MARIANELA ALVAREZ LOPEZ                     P O BOX 560966                                                                                           GUAYANILLA          PR           00656 0960
   300409 MARIANELA ANDINO VELEZ                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300410 MARIANELA BURGOS ORTIZ                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   300412 MARIANELA BURGOS SANCHEZ                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   300414 MARIANELA CARABALLO BRANA                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714435 MARIANELA CORA LAO                          PO BOX 1048                                                                                              ARROYO              PR           00714
   714436 MARIANELA CRUZ ALICEA                       URB HYDE PARK          LOS CAOBOS CALLE 201                                                              SAN JUAN            PR           00927
   714437 MARIANELA CRUZ PARRILLA                     BO BRAVOS DE BOSTON    PO BOX 1320                                                                       VIEQUES             PR           00765‐1320
   714438 MARIANELA DE JESUS CRUZ                     URB SANTA JUANITA      LL 28 CALLE 28                                                                    BAYAMON             PR           00956

   300415 MARIANELA DIAZ CARRASQUILLO REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIANELA FIGUEROA
   300417 MONTALVO                    REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIANELA HERNANDEZ
   300418 MARTINEZ                    REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714439 MARIANELA LOPEZ TORRES      URB VILLA VERDE                        C 15 CALLE 2                                                                      BAYAMON             PR           00957



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  714440 MARIANELA MAYOL SOTO                         CUPEY ALTO BOX 34                                                                                             SAN JUAN           PR         00926
  300419 MARIANELA MENDEZ GARCIA                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  300420 MARIANELA MORALES ORTIZ                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  714441 MARIANELA ORTIZ CORTES                       URB PARQUE DEL ARCOIRIS    227 CALLE 2 APT 361                                                                TRUJILLO ALTO      PR         00976
  300421 MARIANELA ORTIZ MARRERO                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  300422 MARIANELA PAGAN MARTES                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  714442 MARIANELA PITRE LOPEZ                        HC 06 CALLE PINO BOX 188                                                                                      SAN SEBASTIAN      PR         00685
  714443 MARIANELA QUILES ESTRADA                     PO BOX 645                                                                                                    OROCOVIS           PR         00720‐0645
  300423 MARIANELA RAMOS CRUZ                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  300424 MARIANELA RIOS MARTINEZ                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  300425 MARIANELA RIOS MOLINA                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  714445 MARIANELA RIVERA FALU                        PMB 1980 SUITE 237                                                                                            LOIZA              PR         00772
  714446 MARIANELA RIVERA IRIZARRY                    URB PUNTO ORO              4212 CALLE EL CHARLES                                                              PONCE              PR         00728‐2053
  714447 MARIANELA RIVERA MEDINA                      PO BOX 501                                                                                                    UTUADO             PR         00641
  300426 MARIANELA RIVERA PACHECO                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   300427 MARIANELA RIVERA VELAZQUEZ REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   714448 MARIANELA RODRIGUEZ DIAZ   EXT LA MILAGROSA                            P 7 CALLE 6                                                                        BAYAMON            PR         00959
          MARIANELA RODRIGUEZ
   300428 QUINONEZ                   REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   714449 MARIANELA SANTIAGO SANTOS                   PO BOX 1073                                                                                                   YAUCO              PR         00698‐1073

   300430 MARIANELA SANTIAGO VAZQUEZ REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   300431 MARIANELA SOLES ROGRIGUEZ                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   714450 MARIANELA TORRES RODRIGUEZ APARTADO 194385                                                                                                                HATO REY           PR         00919 4385

   300432 MARIANELA VELAZQUEZ CRUZ                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MARIANELA VELAZQUEZ
   714451 MARTINEZ                                    HC 9 BOX 4646                                                                                                 SABANA GRANDE      PR         00637‐9621

   300433 MARIANELA VELEZ CANDELARIO REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   300434 MARIANELA YESPICA RODRIGUEZ REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   714452 MARIANELLY MALAVE LABOY     36 CALLE BUENOS AIRES                                                                                                         COAMO              PR         00769

   300436 MARIANETTE COLLAZO MENDEZ                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MARIANETTE GONZALEZ
   300437 ALVAREZ                                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   714453 MARIANGE SOTO JIMENEZ                       LA MANSION                 NC 1 C/ ABADES                                                                     LEVITTOWN          PR         00949
   300438 MARIANGEL AGOSTO TORRES                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   714454 MARIANGEL DIAZ BERGNES                      PO BOX 583                                                                                                    SAN JUAN           PR         00936

   300439 MARIANGEL GARCIA SANTIAGO                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   300440 MARIANGEL MARTI                             REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   714455 MARIANGELA LINERA NIEVES                    COLINAS DE MONTECARLO      18 A CALLE 15 A                                                                    SAN JUAN           PR         00924

   714456 MARIANGELA RAMOS DEL VALLE PO BOX 151                                                                                                                     CANOVANAS          PR         00729
   300441 MARIANGELA ROSARIO ORTIZ   REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   300442 MARIANGELI AYALA           REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED




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   300443 MARIANGELI RODRIGUEZ DIAZ                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIANGELIE RAMIREZ
   300444 SANTIAGO                                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   714458 MARIANGELIE RODRIGUEZ RIOS                  URB LAS VIRTUDES        751 CALLE BUEN AMOR                                                                    SAN JUAN             PR           00924

   300445 MARIANGELIE ROSA ALEJANDRO REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   300446 MARIANGELIS BURGOS MILANES REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIANGELIS HERNANDEZ
   714459 MENDEZ                     PUERTO NUEVO                             705 AVE DE DIEGO                                                                       SAN JUAN             PR           00920

   714460 MARIANGELIS LOPEZ CABRERA                   ALTURAS DE VEGA BAJA    H 24 CALLE G                                                                           VEGA BAJA            PR           00693
          MARIANGELIX ARIZMENDI
   300447 RIVERA                                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300448 MARIANGELIZ CRUZ LUGO                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   300449 MARIANGELLY NIEVES SANTOS                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714462 MARIANGELLYN SAEZ RIVERA                    HC 7 BOX 3484                                                                                                  PONCE                PR           00731

   300450 MARIANGELY ALEMAN GAETAN                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIANGELY ALVARADO
   300451 HUERTAS                                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   300452 MARIANGELY CUEVAS NEGRON                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIANGELY DEL MORAL
   300453 FIGUEROA                                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300454 MARIANGELY DOMINGUEZ                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIANGELY FERNANDEZ
   300455 RODRIGUEZ                                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   300456 MARIANGELY FUENTES RIVERA                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300457 MARIANGELY GOMEZ CRUZ                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIANGELY HERNANDEZ
   714463 MORALES                                     BO MANI                 227 CALLE CLAUDIO CARRERO                                                              MAYAGUEZ             PR           00680
          MARIANGELY IRIZARRY
   300459 MONTALVO                                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300460 MARIANGELY LEON TORRES                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIANGELY MERCADO
   714465 MARTINEZ                                    BOX 19326                                                                                                      ARECIBO              PR           00612‐9400
   300462 MARIANGELY ORTIZ RAMIREZ                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300463 MARIANGELY PINERO PEREZ                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIANGELY QUINONES
   300464 ANDINO                                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIANGELY RODRIGUEZ
   300465 MOJICA                                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714467 MARIANGIE APONTE TORRES                     PO BOX 652                                                                                                     OROCOVIS             PR           00720
   300466 MARIANGIE COLON ROMAN                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   300467 MARIANGIE D GARAY TRICOCHE REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300468 MARIANGIE GARAY TRICOCHE   REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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   771170 MARIANGIE LUGO MONTALVO                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIANGIE Y RODRIGO
   300470 CABALLERO                                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714468 MARIANI FRANCO LAW                          PO BOX 9022864                                                                                                 SAN JUAN            PR           00902‐2864
   300479 MARIANI FRANCO LAW PSC                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714469 MARIANI MOJICA REYES                        BO HATO NUEVO             CARR 834 KM 2 9                                                                      GUAYNABO            PR           00970
   300503 MARIANI PACHECO MADERA                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300508 MARIANI REYES MD, AIXA                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   300521 MARIANID RODRIGUEZ TORRES                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714471 MARIANITA ACOSTA VELEZ                      ESTANCIAS DEL RIO         328 CALLE CANAS                                                                      HORMIGUEROS         PR           00660
   714472 MARIANITA AYUSO RIVERA                      HC 2 BOX 14398                                                                                                 CAROLINA            PR           00987

   300522 MARIANITA BONILLA RODRIGUEZ REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   714475 MARIANITA FERNANDEZ RIVERA P O BOX 7428                                                                                                                    SAN JUAN            PR           00916
   714477 MARIANITA FLORES           URB JARDINES                               101 CALLE AZUCENA                                                                    NARANJITO           PR           00719‐9639

   714479 MARIANITA MONTALVO NIEVES                   APT15 LOS ALMENDROS       168 CALLE SAN JORGE                                                                  SAN JUAN            PR           00911
   300523 MARIANITA PALOU MORALES                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714480 MARIANITA RAMOS DIAZ                        PO BOX 321                                                                                                     LARES               PR           00670
   714481 MARIANITA RODRIGUEZ                         PO BOX 1437                                                                                                    AGUADA              PR           00602

   714482 MARIANITA RODRIGUEZ DAVID                   URB ALTA VISTA            M 10 CALLE 10                                                                        PONCE               PR           00716
   714484 MARIANITA VEGA MONTALVO                     40 EL CERRO C/ PASARELL                                                                                        YAUCO               PR           00698
   714485 MARIANITO ROLON RIVERA                      COND PARK COUT            G 5 CALLE 1                                                                          SAN JUAN            PR           00926

   300525 MARIANN ALBARRAN DE JESUS                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714486 MARIANN I CORTES DIAZ                       RES LOS LAURELES          EDIF 10 APT 185                                                                      SAN JUAN            PR           00926

   300526 MARIANN MATOS RODRIGUEZ                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIANN SANCHEZ
   300527 CARRASQUILLO                                REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300528 MARIANNA CARBO LUGO                         REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIANNE A CAMPOS
   300529 ESCALONA                                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   300530 MARIANNE CARTAGENA COLON REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   300532 MARIANNE CASTILLO VAZQUEZ                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   300533 MARIANNE CORTINA ALDEBOL                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   300534 MARIANNE CRESPO RODRIGUEZ                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300535 MARIANNE CRUZ CARRION                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714488 MARIANNE GARCIA                             PO BOX 3190                                                                                                    MAYAGUEZ            PR           00681‐3190
   300499 MARIANNE GARCIA MUSSES                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300538 MARIANNE GONZALEZ PENA                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   714489 MARIANNE GONZALEZ RIVERA                    URB CUPEY GARDENS         I 4 CALLE 9                                                                          SAN JUAN            PR           00926
          MARIANNE M GUADALUPE
   714490 BONES                                       PO BOX 115                                                                                                     ARROYO              PR           00714



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          MARIANNE M. MENDEZ
   300539 QUINONES                                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300540 MARIANNE MENDEZ GUERRA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300541 MARIANNE MUNIZ GONZALEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300542 MARIANNE NEVAREZ ORTIZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300543 MARIANNE PEREZ MATOS                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300544 MARIANNE SALVA GONZALEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300545 MARIANNE SIERRA ROSARIO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   300548 MARIANNE VENDRELL ROMAN                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIANNE Y RODRIGUEZ
   714492 PANELL                                      507 CALLE JOSE G DIAZ                                                                                         TRUJILLO ALTO       PR           00976
   714493 MARIANNE YACE VAZQUEZ                       COND INTERSUITES APTO 3 H                                                                                     CAROLINA            PR           00979

   300550 MARIANO A CABRERA AGUILAR                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300551 MARIANO A GARCIA LABARCA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIANO A ROMAGUERA
   714498 MARTINEZ                                    PO BOX 1340                                                                                                   MAYAGUEZ            PR           00681‐1340
   714495 MARIANO ABREU SANTANA                       P O BOX 919                                                                                                   YABUCOA             PR           00767‐0919
   300552 MARIANO ALICEA SOTO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300553 MARIANO ARGUELLES RAMOS                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300554 MARIANO ARROYO RAMOS                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714499 MARIANO AUTO PARTS                          HC‐01 BOX 6509                                                                                                COROZAL             PR           00783
   714500 MARIANO AYALA CARRION                       28 CUESTA MARIN                                                                                               MANATI              PR           00674
   714501 MARIANO BENITEZ LEBRON                      PO BOX 1140                                                                                                   SAN LORENZO         PR           00754‐1140
   714502 MARIANO BORGES ORTIZ                        945 CALLE VERDEJO                                                                                             SAN JUAN            PR           00907

   300555 MARIANO BRETON GONZALEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIANO CABALLERO
   300556 MAYSONET                                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   714503 MARIANO CALDERON CORREA                     PO BOX 1688                                                                                                   RIO GRANDE          PR           00745
   300558 MARIANO CAMACHO ROJAS                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714496 MARIANO CANALES DELGADO                     PO BOX 9020585                                                                                                SAN JUAN            PR           00902
   714504 MARIANO CANCEL MELENDEZ                     URB VILLA EVANGELINA        S 2004 CALLE 1                                                                    MANATI              PR           00674
   714497 MARIANO CASTRO LOPEZ                        HC 01 BUZON 13954                                                                                             RIO GRANDE          PR           00745
                                                      54 CALLE EUGENIO SANCHEZ
   714505 MARIANO CORONAS CASTRO                      LOPEZ                       BOX 148                                                                           SAN LORENZO         PR           00754
   714507 MARIANO COTTO COTTO                         HC 73‐5274                                                                                                    NARANJITO           PR           00719
   714508 MARIANO CRUZ SANTIAGO                       B30 URB MASSO                                                                                                 SAN LORENZO         PR           00754
   300559 MARIANO DAUMONT CRESPO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714509 MARIANO DIAZ MARRERO                        URB FLAMINGO TERRACE        F 2 CALLE MARGARITA                                                               BAYAMON             PR           00957
   300560 MARIANO DUENAS SALDON                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300561 MARIANO E ARROYO PEREZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   300562 MARIANO E PINEDA CASTELLVI                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714510 MARIANO FEBUS COLLAZO                       HC 02 BOX 948                                                                                                 GUAYNABO            PR           00971

   300563 MARIANO FELICIANO GONZALEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   714511 MARIANO FLORES RODRIGUEZ                    HC30 BOX 32511                                                                                                SAN LORENZO         PR           00754

   714512 MARIANO FONSECA MARCANO                     RR 03 BOX 10179                                                                                               TOA ALTA            PR           00952



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  714513 MARIANO FONSECA NIEVES                       TOA ALTA HEIGHTS           I 55 CALLE 3                                                                        TOA ALTA            PR           00953
  714515 MARIANO FUSTER                               P O BOX 99                                                                                                     LARES               PR           00669

   714516 MARIANO GARCIA MALDONADO P O BOX 931                                                                                                                       VILLALBA            PR           00766
   300564 MARIANO GOMEZ TOMASINI   REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   300565 MARIANO GONZALEZ CORREA                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   714519 MARIANO GONZALEZ DIEZ                       PO BOX 9922                                                                                                    ARECIBO             PR           00613
   300566 MARIANO GONZALEZ FLORES                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   714521 MARIANO GONZALEZ GARCIA                     P O BOX 5409                                                                                                   SAN SEBASTIAN       PR           0068 5409

   714522 MARIANO GONZALEZ GONZALEZ HC 1 BOX 7095                                                                                                                    LAS PIEDRAS         PR           00771
   300567 MARIANO GONZALEZ MEDINA   REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   714523 MARIANO GONZALEZ RIVERA   RR 02 BOX 7693                                                                                                                   CIDRA               PR           00739

   300568 MARIANO GONZALEZ VAZQUEZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   714524 MARIANO GUZMAN PADILLA                      P O BOX 1509                                                                                                   COROZAL             PR           00783

   300569 MARIANO HERNANDEZ GOVEO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   714525 MARIANO HERNANDEZ MENDEZ                    COM SAN LORENZO SOLAR 86                                                                                       MOCA                PR           00626
   300570 MARIANO J RIOS SERRANO                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   300571 MARIANO J. NADAL DBA                        P.O. BOX 10441             CAPARRA HTS. TATION                                                                 SAN JUAN            PR           00920‐0000
   714527 MARIANO KLINGEL‐ LOY                        65 CENTER AVE                                                                                                  MORRISTOWN          NJ           07960
   714494 MARIANO LIRIANO SANCHEZ                     P 0 BOX 9024275                                                                                                SAN JUAN            PR           00902‐4275
   300572 MARIANO LOPEZ PIZARRO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   714528 MARIANO LOZANO CAEZ                         URB BONNEVILLE HTS         13 CALLE COMERIO                                                                    CAGUAS              PR           00725

   714530 MARIANO MAGGIOLO MENDOZA REPARTO LAS CARMELITAS                        HC 04 BOX 42741                                                                     MAYAGUEZ            PR           00680
   714531 MARIANO MARTINEZ DIAZ    PO BOX 1192                                   BDA MARIN                                                                           ARROYO              PR           00714
          MARIANO MARTINEZ
   300575 RODRIGUEZ                REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   300579 MARIANO MIRANDA NUNEZ    REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   300580 MARIANO MIRANDA SERRANO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   714532 MARIANO MONTERO VELEZ                       PO BOX 1033                                                                                                    ARECIBO             PR           00613
   300582 MARIANO NAVARRO LOPEZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   300583 MARIANO NERIS FLORES                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   714533 MARIANO NIEVES                              PO BOX 995                                                                                                     DORADO              PR           00646
   300584 MARIANO NUNEZ VELAZQUEZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   300585 MARIANO ORTIZ BERRIOS                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   714535 MARIANO ORTIZ MARRERO                       SANS SOUCI                 K 10 CALLE 1                                                                        BAYAMON             PR           00957
   714536 MARIANO ORTIZ RODRIGUEZ                     17 AVE QUILINCHINI                                                                                             SABANA GRANDE       PR           00683
   714539 MARIANO OSORIO ORTIZ                        3 PLAZA MERCADO            CALLE DR LOPEZ                                                                      FAJARDO             PR           00738
   300587 MARIANO PASTRANA CORTES                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   714540 MARIANO PEREZ COLON                         4TA SECCION LEVITTOWN      AR 24 CALLE LYDIA ESTE                                                              TOA BAJA            PR           00949
   714541 MARIANO PEREZ SANTIAGO                      OFICINA DEL GOBERNADOR     LA FORTALEZA                                                                        SAN JUAN            PR           00922
   300588 MARIANO PEREZ SEPULVEDA                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   300589 MARIANO PORTUONDO SOCIAS                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   714543 MARIANO PURCELL SANTONI                     PO BOX 193910                                                                                                  SAN JUAN            PR           00919‐3910

   300590 MARIANO R AMADOR LOZADA                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  300591 MARIANO R CONESA DAVILA                      REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         MARIANO RAFAEL RODRIGUEZ
  300592 QUIROS                                       REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  714544 MARIANO RAMOS CANCEL                         PO BOX 728                                                                                                               HORMIGUERO           PR         00660
  300593 MARIANO RAMOS FLORES                         REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  300594 MARIANO RAMOS GALARZA                        REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  714545 MARIANO RAMOS GONZALEZ                       PO BOX 675                                                                                                               SAN ANTONIO          PR         00690
  714546 MARIANO RAMOS NIEVES                         HC 01 BOX 3953                                                                                                           LARES                PR         00669
  300595 MARIANO RAMOS VALLE                          REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  714548 MARIANO RIVERA CORCINO                       BO ESPERANZA                    126 CALLE ACACIA                                                                         VIEQUES              PR         00765
  714549 MARIANO RIVERA DIAZ                          HC 2 BOX 6975                                                                                                            BARRANQUITAS         PR         00794
  300596 MARIANO RIVERA ORTIZ                         REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   714550 MARIANO RIVERA RIVAS                        URB PASEO DEL RIO               500 BLVD DEL RIO APTDO 4802                                                              HUMACAO              PR         00791‐3961

   714551 MARIANO RIVERA RIVERA                       URB VILLA CLEMENTINA            B 17 CALLE RUFINO RODRIGUEZ                                                              GUAYNABO             PR         00985
   714552 MARIANO RODRIGUEZ AUSUA                     P O BOX 41                                                                                                               RIO BLANCO           PR         00744
   300597 Mariano Rodriguez Delgado                   REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   714554 MARIANO RODRIGUEZ PEDROZA 31 AMADEO                                         AVE SANDIN                                                                               VEGA BAJA            PR         00693

   714556 MARIANO ROSADO FELICIANO                    HC 4 BOX 46931                                                                                                           MAYAGUEZ             PR         00680‐0000

   714557 MARIANO ROSARIO MORALES                     HC 01 BOX 38000 CARR 100 KM 4                                                                                            CABO ROJO            PR         00623‐9729

   300598 MARIANO ROSARIO SEPULVEDA                   REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARIANO RUIZ TRUCK& PARTS
   714561 INC                                         PO BOX 7                                                                                                                 LAS PIEDRAS          PR         00771
   714562 MARIANO SALAS GRACIAS                       P O BOX 361559                                                                                                           SAN JUAN             PR         00936
   300599 MARIANO SALGADO AGUEDA                      REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   714563 MARIANO SANCHEZ COLON                       SAN SALVADOR                    E 9 FERNANDEZ VARGAS                                                                     MANATI               PR         00674

   714564 MARIANO SANCHEZ SANTIAGO                    PO BOX 21365                                                                                                             SAN JUAN             PR         00928‐1365
   300600 MARIANO SANTIAGO ORTIZ                      REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARIANO SANTIAGO
   300601 RODRIGUEZ                                   REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   300602 MARIANO SANTINI RIVERA                      REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   714567 MARIANO SOTO SANTIAGO                       P O BOX 770                                                                                                              HUMACAO              PR         00741

   714570 MARIANO TORRES HERNANDEZ                    URB SAN THOMAS                  EF 6                                                                                     PONCE                PR         00731

   714571 MARIANO TORRES MALDONADO PO BOX 677                                                                                                                                  VILLALBA             PR         00766
   714572 MARIANO TORRES MERCADO   HC 01 BOX 5085                                                                                                                              JAYUYA               PR         00664‐9710
   714573 MARIANO TORRES RAMIREZ   HC 03 BOX 9184                                                                                                                              LARES                PR         00669
   300605 MARIANO TORRES REYES     REDACTED                                           REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   300606 MARIANO TORRES RODRIGUEZ                    REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   300607 MARIANO V ORTIZ VARGAS                      REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   714574 MARIANO V ORTIZ VARGAS                      Ave.Quilinchini #19                                                                                                      Sabana Grande                   00637

   300608 MARIANO V SANABRIA SANCHEZ REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   714576 MARIANO VAZQUEZ GARCIA     COND VILLAS PLAYAS 2                             APT FF 1                                                                                 DORADO               PR         00646
   714577 MARIANO VEGA MORALES       URB NOVOA                                        VISTA HERMOSA CALLE 10                                                                   AGUADA               PR         00602



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          MARIANO VEGA SANTIAGO &
   714578 CARMEN PADILLA                              HC 7 BOX 2705                                                                                                  PONCE               PR           00731

   714579 MARIANO VELAZQUEZ VARGAS                    114 NUEVO LONDRES                                                                                              MAYAGUEZ            PR           00680
   300609 MARIANO VELEZ HERNANDEZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714582 MARIANO VIDAL                               PO BOX 331041                                                                                                  PONCE               PR           00733‐1041
   714583 MARIANSOL TORRES                            ATENAS                     B 65 CALLE BRUNO VIDAL                                                              MANATI              PR           00674

   300611 MARIANYELY ORTIZ GONZALEZ                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300613 MARIBEL ACEVEDO QUILES                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300614 MARIBEL ACEVEDO RUIZ                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714591 MARIBEL ACEVEDO TORRES                      VILLAS DE LOIZA            AD 21 CALLE 24                                                                      CANOVANAS           PR           00729
   714592 MARIBEL ADORNO FLORES                       ADM SERV GENERALES         P O BOX 7428                                                                        SAN JUAN            PR           00916‐7428

   300616 MARIBEL ADORNO RODRIGUEZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300617 MARIBEL AGUAYO PIZARRO                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714594 MARIBEL AGUILU REYES                        VILLA TURABO               C 23 CALLE FLAMBOYAN                                                                CAGUAS              PR           00726

   300619 MARIBEL ALBERTORIO CINTRON                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300621 MARIBEL ALICEA FIGUEROA                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300622 MARIBEL ALICEA VAZQUEZ                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714596 MARIBEL ALMONTE GUZMAN                      JARDINES DE COUNTRY CLUB   AL 13 CALLE 43                                                                      CAROLINA            PR           00983
   714597 MARIBEL ALSINA                              HC 44 BOX 12742                                                                                                CAYEY               PR           00736
   300623 MARIBEL ALVARADO                            REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714598 MARIBEL ALVARADO RIVERA                     URB EXPERIMENTAL           17 CALLE B                                                                          SAN JUAN            PR           00926
   714599 MARIBEL ALVAREZ CABRERA                     VENUS GARDENS              AD 16 CALLE TIJUANA                                                                 SAN JUAN            PR           00926
                                                      BALWIN PARK CALLE SOUTH
   714601 MARIBEL AMADEO                              VIEW                       #24                                                                                 GUAYNABO            PR           00969
   714602 MARIBEL ANDUJAR LOPEZ                       BO FOGONEZ                 CALLE 140 KM5 3                                                                     FLORIDA             PR           00650‐9301
   714604 MARIBEL APONTE DUENO                        PO BOX 51785                                                                                                   TOA BAJA            PR           00950
   714605 MARIBEL AQUINO CALDERON                     BDA ISRAEL 157             CALLE PACHECO                                                                       SAN JUAN            PR           00917
   714606 MARIBEL AQUINO MIRANDA                      SIERRA LINDA               BB 6 CALLE 13                                                                       BAYAMON             PR           00957
   300626 MARIBEL ASTACIO ORTIZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300627 MARIBEL ATANACIO JIMENEZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714607 MARIBEL AVILES RODRIGUEZ                    HC 1 BOX 2445                                                                                                  BARRANQUITAS        PR           00794
   714608 MARIBEL BAEZ DE JESUS                       HC 01 BOX 6794‐L                                                                                               AGUAS BUENAS        PR           00703
   300628 MARIBEL BAEZ JORGE                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300629 MARIBEL BAEZ LEBRON                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714611 MARIBEL BALAY RUIZ                          HC 7 BOX 3369                                                                                                  PONCE               PR           00731
   714612 MARIBEL BARBOSA PEREZ                       HC 2 BOX 13202                                                                                                 GURABO              PR           00778
   714615 MARIBEL BARBOSA VEGA                        URB LLANOS DEL SUR 55      CALLE LAS FLORES                                                                    COTTO LAUREL        PR           00780‐2803
   300630 MARIBEL BARRIDA VAZQUEZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300631 MARIBEL BATISTA SANCHEZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300632 MARIBEL BAUZO CRUZ                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300633 MARIBEL BELAVAL                             REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   300634 MARIBEL BELAVAL DE CESTERO                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   300635 MARIBEL BELTRAN RICHARDSON REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714617 MARIBEL BERRIOS ORTIZ      QUINTA A                                    DV 7 CALLE LAGO ICACO                                                               TOA BAJA            PR           00949
          MARIBEL BETANCOURT
   714619 RODRIGUEZ                  URB SIERRA BAYAMON                          81 16 CALLE 68                                                                      BAYAMON             PR           00959
   714620 MARIBEL BIAMON             1246 BIRD ROAD                                                                                                                  CARAL GASLES        FL           33146



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  714621 MARIBEL BONES NAZARIO                        LAS LOMAS                 777 CALLE 23 SO                                                                      SAN JUAN           PR         00921
  714622 MARIBEL BONILLA DIAZ                         VILLA PINARES             CALLE PASEO CONDADO                                                                  VEGA BAJA          PR         00693
  300638 MARIBEL BONILLA SANTIAGO                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  714624 MARIBEL BONILLA VIANA                        URB QUINTAS DE CAMPECHE   506 CALLE FLAMBOYAN                                                                  CAROLINA           PR         00987
  714625 MARIBEL BORRERO MEDINA                       HC 44 BOX 13736                                                                                                CAYEY              PR         00736
  300639 MARIBEL BRILLON NIEVES                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  714626 MARIBEL BURGOS BURGUS                        P O BOX 1210                                                                                                   RIO GRANDE         PR         00745
  714628 MARIBEL CABAN TORO                           RES MAR Y SOL             EDIF 11 APTO 65                                                                      MAYAGUEZ           PR         00681
  714629 MARIBEL CABRERA                              VILLA CAROLINA            24 BLQ 136 CALLE 405                                                                 CAROLINA           PR         00985
  714630 MARIBEL CACHOLA BURGOS                       PO BOX 1533                                                                                                    LUQUILLO           PR         00773

   300640 MARIBEL CAMARENO CUSTODIO REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   714631 MARIBEL CANALES           PO BOX 9021112                                                                                                                   SAN JUAN           PR         00902‐1112
   714632 MARIBEL CANCEL            URB CORCHADO                                74 CALLE VIOLETA                                                                     ISABELA            PR         00662
          MARIBEL CANDELARIA
   300641 ECHEVARRIA                REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   714633 MARIBEL CAPPAS VARGAS     T 10 CALLE 16                               EXT SANTA ELENA                                                                      GUAYANILLA         PR         00656

   714634 MARIBEL CARABALLO CACERES                   BO GUAYABOTAS             CARR 182 K9 0                                                                        YABUCOA            PR         00767‐9704

   300642 MARIBEL CARABALLO QUINONES REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   714635 MARIBEL CARABALLO RAMOS    PO BOX 1917                                                                                                                     GUAYNABO           PR         00970
   300643 MARIBEL CARDENAS           REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   300644 MARIBEL CARDONA            REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   714636 MARIBEL CARDONA TOMASSINI                   PO BOX 1795                                                                                                    AGUADILLA          PR         00605

   714637 MARIBEL CARMONA MORALES                     270 BO PE¨A POBRE                                                                                              NAGUABO            PR         00718
   714638 MARIBEL CARO CRUZ                           URB MONTE REY             114 CALLE ANDRES APT A1                                                              SAN JUAN           PR         00926
          MARIBEL CARRASQUILLO
   714639 CARRION                                     URB TOA ALTA HTS          G4 CALLE 7                                                                           TOA ALTA           PR         00953

   714641 MARIBEL CARRASQUILLO PEREZ                  U19 CALLE O                                                                                                    FAJARDO            PR         00738
   300646 MARIBEL CARTAGENA RIVERA                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   714643 MARIBEL CARTAGENA ROMAN                     PARC RODRIGUEZ OLMO       9 CALLE B                                                                            ARECIBO            PR         00612
   300647 MARIBEL CASIANO RIVERA                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   714644 MARIBEL CASILLAS HERNANDEZ                  HC 01 BOX 11946                                                                                                CAROLINA           PR         00987

   300648 MARIBEL CASTELLANO ACEVEDO REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   300649 MARIBEL CASTILLO SOSTRE    REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   714646 MARIBEL CASTRO COLON       PO BOX 125                                                                                                                      CANOVANAS          PR         00729
   300650 MARIBEL CASTRO DEL VALLE   REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   300651 MARIBEL CASTRO OTERO       REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   300652 MARIBEL CEDENO NIEVES      REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   714648 MARIBEL CEPEDA CRUZ        HC 1 BOX 5939                                                                                                                   JUNCOS             PR         00777‐9707

   714649 MARIBEL CHACON MAYSONET                     P O BOX 5308                                                                                                   VEGA BAJA          PR         00692
                                                      URB ESTANCIAS VIA SAN
   714650 MARIBEL CHAVES CHAVES                       DOMINGO                   PLAZA 22 C/47                                                                        BAYAMON            PR         00961
   714653 MARIBEL CLASS                               HC 01 BOX 23455                                                                                                VEGA BAJA          PR         00693
   714654 MARIBEL CLAUDIO ALAMO                       HC 02 BOX 29415                                                                                                CAGUAS             PR         00725



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  300653 MARIBEL CLAUDIO MARTINEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   714655 MARIBEL COLLAZO CARABALLO                   HC‐2 BOX‐6175                                                                                                 UTUADO              PR         00641

   300654 MARIBEL COLLAZO MELENDEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714657 MARIBEL COLON COLON                         HC 4 BOX 6883                                                                                                 COMERIO             PR         00782
   714659 MARIBEL COLON CRUZ                          URB SANTA ROSA              731 CALLE AMERICA                                                                 ISABELA             PR         00662
   300656 MARIBEL COLON GARCIA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714661 MARIBEL COLON MERCADO                       BO MAGUEYES                 BOX 66 CALLE 2                                                                    BARCELONETA         PR         00617
   300657 MARIBEL COLON MORALES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714663 MARIBEL COLON RIVERA                        PARCELAS SAN ISIDRO         287 CALLE 16                                                                      CANOVANAS           PR         00729
   714664 MARIBEL COLON RODRIGUEZ                     HC 02 BOX 12414                                                                                               ARECIBO             PR         00612
   714666 MARIBEL COLON SANTIAGO                      URB JARDINES DE JAYUYA      263 CALLE MEGA                                                                    JAYUYA              PR         00664‐1620
   714667 MARIBEL COLON TORRES                        BO CLAUSELL                 5 CALLE 53                                                                        PONCE               PR         00731
   714669 MARIBEL CONDE PEREZ                         HC 1 BOX 5297                                                                                                 JUNCOS              PR         00777

   300662 MARIBEL CONTRERAS CHICLANA REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   300663 MARIBEL CORDERO MARQUEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714670 MARIBEL CORDOVA                             PO BOX 598                                                                                                    TOA ALTA            PR         00954
   300664 MARIBEL CORREA CASTRO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300665 MARIBEL COTTO NUNEZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714671 MARIBEL COTTO ZAYAS                         P O BOX 703                                                                                                   TOA BAJA            PR         00951
   714673 MARIBEL CRUZ                                P O BOX 1283                                                                                                  SAN LORENZO         PR         00754
   300666 MARIBEL CRUZ ACEVEDO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300667 MARIBEL CRUZ ALLENDE                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300668 MARIBEL CRUZ BATISTA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714676 MARIBEL CRUZ CALDERAS                       P O BOX 33                                                                                                    CIALES              PR         00638
   714677 MARIBEL CRUZ CARABALLO                      HC 2 BOX 12910                                                                                                SAN GERMAN          PR         00683
   300669 MARIBEL CRUZ FIGUEROA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300672 MARIBEL CRUZ GARCIA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300673 MARIBEL CRUZ MERCADO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714679 MARIBEL CRUZ MONROIG                        P O BOX 1141                                                                                                  ISABELA             PR         00662
   714680 MARIBEL CRUZ SANABRIA                       HC 02 BOX 6800                                                                                                YABUCOA             PR         00767‐9502
   714681 MARIBEL CRUZ VARGAS                         JARD DE COUNTRY CLUB        AF 9 CALLE 37                                                                     CAROLINA            PR         00983
   714684 MARIBEL D MAYOL RAMIREZ                     URB VILLA DEL CARMEN        J 11 CALLE 3                                                                      PONCE               PR         00731
   300675 MARIBEL DALMAU                              REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714685 MARIBEL DAVILA HERNANDEZ                    PO BOX 857                                                                                                    MOROVIS             PR         00687
   300676 MARIBEL DAVILA RODRIGUEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300679 MARIBEL DE JESUS CARDONA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   714687 MARIBEL DE JESUS MALDONADO BO HATO VIEJO                                                                                                                  ARECIBO             PR         00612
   300680 MARIBEL DE JESUS PIETRI    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714688 MARIBEL DE JESUS ROSA      BOX 89 PALMER                                                                                                                  PALMER              PR         00721
   714689 MARIBEL DE LEON GONZALEZ   RR 2 BOX 574                                                                                                                   SAN JUAN            PR         00926
   300681 MARIBEL DE LEON ORTIZ      REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300660 MARIBEL DE LEON PACHECO    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   714690 MARIBEL DE LEON REYES                       COM DEL PALMAR SOLAR 47 A                                                                                     MANATI              PR         00854

   714693 MARIBEL DEL TORO MARTINEZ                   PO BOX 367234                                                                                                 SAN JUAN            PR         00936
   300682 MARIBEL DEL VALLE MOJICA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714694 MARIBEL DELGADO                             HC 01 BOX 3336                                                                                                YABUCOA             PR         00767‐9602



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  300683 MARIBEL DELGADO MORALES                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   714697 MARIBEL DELGADO RODRÖGUEZ HC 67 BOX 15908                                                                                                                BAYAMàN             PR         00956
   300685 MARIBEL DELGADO SERRARO   REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   300686 MARIBEL DELGADO SUGRANES                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714698 MARIBEL DIAZ AROCHO                         BRISAS DE CAMUY            7 BLOQUE B                                                                        CAMUY               PR         00627
   714699 MARIBEL DIAZ BAEZ                           BO BAYAMON                 RR 02 PO BOX 5928                                                                 CIDRA               PR         00739
   714701 MARIBEL DIAZ DIAZ                           343 EXT VILLAS DE CAMUY                                                                                      CAMUY               PR         00627 2941
   714702 MARIBEL DIAZ FLORES                         P O BOX 367                                                                                                  LAS PIEDRAS         PR         00771
   714704 MARIBEL DIAZ MENDEZ                         BOX 481                                                                                                      CIDRA               PR         00739
   714705 MARIBEL DIAZ OCASIO                         RR 8 BOX 9514                                                                                                BAYAMON             PR         00956
   300687 MARIBEL DIAZ RIVERA                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIBEL ECHEVARRIA
   300688 ECHEVARRIA                                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   714710 MARIBEL ECHEVARRIA SANCHEZ                  HC 764 BOX 6186                                                                                              PATILLAS            PR         00723
   300689 MARIBEL ESCOBAR MENDEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714711 MARIBEL ESTRADA ROSARIO                     P O BOX 561612                                                                                               GUAYANILLA          PR         00656
   714712 MARIBEL FELICIANO ALAGO                     PARC TERRANOVA             177 CALLE 10                                                                      QUEBRADILLAS        PR         00678

   300690 MARIBEL FELICIANO ECHEVARRIA REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   300691 MARIBEL FELICIANO RODRIGUEZ REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300692 MARIBEL FERMAINT TORRES     REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   714714 MARIBEL FERNANDEZ DELGADO HC 03 BOX 41034                                                                                                                CAGUAS              PR         00725
          MARIBEL FERNANDEZ
   714715 RODRIGUEZ                 HC 01 BOX 9213                                                                                                                 GUYANILLA           PR         000656

   300693 MARIBEL FERNANDEZ SANTIAGO REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                     REPARTO FULGEGRAN BO
   714716 MARIBEL FERNANDINI         YAYALES                                                                                                                       ADJUNTAS            PR         00601

   714718 MARIBEL FIGUEROA PASTRANA                   RR 10 BOX 10386                                                                                              SAN JUAN            PR         00926
   714719 MARIBEL FIGUEROA RIVERA                     URB JARD I                 J 9 CALLE 15                                                                      CAYEY               PR         00736

   300694 MARIBEL FIGUEROA RODRIGUEZ                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300695 MARIBEL FIGUEROA TORRES                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300696 MARIBEL FLORES CHARNECO                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300697 MARIBEL FLOWERS                             REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   714721 MARIBEL GALLARDO OLIVARES                   URB PUERTO NUEVO           510 CALLE ARAGON                                                                  SAN JUAN            PR         00920
   714722 MARIBEL GARCES MATOS                        HC 01 BOX 2552                                                                                               LOIZA               PR         00772
   300698 MARIBEL GARCIA CHARRIEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300699 MARIBEL GARCIA COLON                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714724 MARIBEL GARCIA CRUZ                         SUNVILLE                   R 26 CALLE 16                                                                     TRUJILLO ALTO       PR         00976
   714725 MARIBEL GARCIA LUGO                         QUINTAS DE CUPEY GARDENS   APT D 103                                                                         SAN JUAN            PR         00926
   714726 MARIBEL GARCIA MAISONET                     HC01 BOX 9124                                                                                                CANOVANAS           PR         00729
   714727 MARIBEL GARCIA NOYOLA                       EXT FOREST HILLS           R 643 CALLE URUGUAY                                                               BAYAMON             PR         00959
   300702 MARIBEL GARCIA REYES                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300703 MARIBEL GARCIA RIVERA                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300704 MARIBEL GARCIA RODRIGUEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  300705 MARIBEL GARCIA RUIZ                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  300706 MARIBEL GARCIA SOTO                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  300707 MARIBEL GARRASTAZU                           REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  714729 MARIBEL GIERBOLINI RIVERA                    ALTURAS DEL REY              M 19 CALLE INGLATERRA                                                              CAGUAS            PR         00725
  714730 MARIBEL GINORIO RIVERA                       URB VILLA DEL CARMEN         206 CALLE SEGOVIA                                                                  PONCE             PR         00716‐2101
  714731 MARIBEL GOMEZ INFANTES                       PO BOX 40                                                                                                       SAN LORENZO       PR         00754
  714732 MARIBEL GOMEZ MERCED                         URB LA CUMBRE                497 CALLE E POL                                                                    SAN JUAN          PR         00926
  300708 MARIBEL GONZALEZ                             REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  714737 MARIBEL GONZALEZ ALAMO                       HC 3 BOX 60100                                                                                                  ARECIBO           PR         00612

   714738 MARIBEL GONZALEZ AVILES                     URB REXVILLE AM‐4 CALLE 64                                                                                      BAYAMON           PR         00957

   300709 MARIBEL GONZALEZ CABRERA                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300710 MARIBEL GONZALEZ COTTO                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARIBEL GONZALEZ DE
   300711 RODRIGUEZ                                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   714739 MARIBEL GONZALEZ FRANCO                     VISTAS DEL TURABO            APT C 16                                                                           CAGUAS            PR         00725

   714741 MARIBEL GONZALEZ GONZALEZ                   HC 2 BOX 7368                                                                                                   UTUADO            PR         00641
   300712 MARIBEL GONZALEZ LASALLE                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300713 MARIBEL GONZALEZ LISBOA                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   300714 MARIBEL GONZALEZ MERCADO                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300715 MARIBEL GONZALEZ MUNOZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   714742 MARIBEL GONZALEZ NIEVES                     JARDINES DE COUNTRY CLUB     D 11 CALLE 9                                                                       CAROLINA          PR         00983
   714743 MARIBEL GONZALEZ ORTIZ                      COOP B 141                   4638 CALLE IGLESIA                                                                 SABANA SECA       PR         00952
   300716 MARIBEL GONZALEZ QUILES                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300718 MARIBEL GONZALEZ REYES                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300721 MARIBEL GONZALEZ RUIZ                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   300722 MARIBEL GONZALEZ SANTIAGO                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300723 MARIBEL GONZALEZ SANTOS                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   714745 MARIBEL GONZALEZ VELEZ                      A 56 VILLA SERAL                                                                                                LARES             PR         00669
   714747 MARIBEL GORBEA DIAZ                         PO BOX 29783                                                                                                    SAN JUAN          PR         00929‐0783

   300724 MARIBEL GUADALUPE MARQUEZ REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300725 MARIBEL GUAL CARINO       REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   714748 MARIBEL GUZMAN            RR 10 BOX 5318                                                                                                                    SAN JUAN          PR         00926
   300726 MARIBEL GUZMAN AROCHO     REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300727 MARIBEL GUZMAN RAMOS      REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   714750 MARIBEL HADDOCK HERNANDEZ BO GALATEO                                     PARC 112                                                                           TOA ALTA          PR         00953
   300728 MARIBEL HERNANDEZ         REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   300729 MARIBEL HERNANDEZ BIANCHI                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   300730 MARIBEL HERNANDEZ IGLESIAS                  REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   714753 MARIBEL HERNANDEZ LOPEZ                     305 CLLE JESUS TISOL APT 3                                                                                      SAN JUAN          PR         00909

   300731 MARIBEL HERNANDEZ MAISONET REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300732 MARIBEL HERNANDEZ RIVERA   REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   300733 MARIBEL HERNANDEZ ROMAN                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  300734 MARIBEL HERNANDEZ SOTO                       REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   714754 MARIBEL HERNANDEZ TORRES                    HC 01 MBOX 5082                                                                                                 BAJADERO            PR         00616

   714755 MARIBEL HERNANDEZ VARELA                    HC 02 BOX 22770         BO PALMAR                                                                               AGUADILLA           PR         00603
          MARIBEL IBARRONDO
   300736 HERNANDEZ                                   REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300738 MARIBEL IRIZARRY BADEA                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300739 MARIBEL IRIZARRY LUGO                       REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300740 MARIBEL JIMENEZ MARRERO                     REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714756 MARIBEL JIMENEZ MENDEZ                      COND PASEO RIO HONDO    1000 BOULEVARD APT 206                                                                  TOA BAJA            PR         00946

   714757 MARIBEL JIMENEZ MONTANER                    PO BOX 2426                                                                                                     SAN GERMAN          PR         00683
   714758 MARIBEL JIMENEZ MORALES                     VILLA VICTORIA          C 2 CALLE 1                                                                             CAGUAS              PR         00725
   714759 MARIBEL LABOY PADILLA                       HC 764 BOX 6481                                                                                                 PATILLAS            PR         00723
   300741 MARIBEL LABOY VALENTIN                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714760 MARIBEL LANZAR VELAZQUEZ                    REPARTO METROPOLITANO   870 CALLE 47 SE                                                                         SAN JUAN            PR         00921
   300742 MARIBEL LARO RODRIGUEZ                      REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   714584 MARIBEL LAZANEY RODRIGUEZ URB VILLA ALEGRIA                         226 CALLE CORAL                                                                         AGUADILLA           PR         00603
   714761 MARIBEL LEBRON SOTO          P O BOX 192561                                                                                                                 SAN JUAN            PR         00919‐2561
   300745 MARIBEL LEBRON VALENTIN      REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300746 MARIBEL LEBRON VAZQUEZ       REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300747 MARIBEL LEON SANCHEZ         REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300748 MARIBEL LICIAGA              REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300749 MARIBEL LICIAGA CABAN        REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714762 MARIBEL LIZ RUIZ RIVERA      HC 3 BOX 94121                                                                                                                 MOCA                PR         00676
   300750 MARIBEL LOPEZ CRUZ           REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300751 MARIBEL LOPEZ FUENTES        REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300752 MARIBEL LOPEZ GONZALEZ       REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714765 MARIBEL LOPEZ OLAVARRIA      SEC LOS GOVEOS                         CARR 167 RAMAL 830 K 1 H 5                                                              BAYAMON             PR         00961
   714766 MARIBEL LOPEZ PEREZ          P O BOX 4619                                                                                                                   AGUADILLA           PR         00605
   714768 MARIBEL LOPEZ RIVERA         BO JAGUAL                              BOX 5468                                                                                PATILLAS            PR         00723
   300754 MARIBEL LOPEZ RODRIGUEZ      REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300755 MARIBEL LOPEZ ROSA           REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714769 MARIBEL LOPEZ ROSADO         570 CALLE CREUZ OPERLAND                                                                                                       SAN JUAN            PR         00923
   714770 MARIBEL LOPEZ SANTIAGO       COND ROYAL                             273 C/ HONDURAS APT 701                                                                 SAN JUAN            PR         00917
          MARIBEL LUGO RIVERA / VICTOR
   714772 J BONILLA                    URB LA MONSERRATE                      C 20 CALLE 5                                                                            HORMIGUEROS         PR         00660

   714774 MARIBEL M VELAZQUEZ VELEZ                   URB LOS CAOBOS          1841 CALLE GUAMA                                                                        PONCE               PR         00716
   300758 MARIBEL MALAVE RIVERA                       REDACTED                REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714775 MARIBEL MALDONADO                           1060 CALLE CRUZ ROJA                                                                                            ARECIBO             PR         00612

   714776 MARIBEL MALDONADO BARRETO PO BOX 178                                                                                                                        ARECIBO             PR         00613

   714777 MARIBEL MALDONADO JUNCOS URB ANAIDA                                 C 23 CALLE 4                                                                            PONCE               PR         00716
          MARIBEL MALDONADO
   300759 MARRERO                  REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   714779 MARIBEL MALDONADO OTERE                     URB VALLE TOLIMA        H 1 CALLE MYRNA VAZQUEZ                                                                 CAGUAS              PR         00725
          MARIBEL MALDONADO
   714780 RODRIGUEZ                                   PO BOX 5080 SUITE 249                                                                                           AGUADILLA           PR         00605



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  300760 MARIBEL MARBARAK MEDINA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  714784 MARIBEL MARQUEZ MENDEZ                       HC 2 BOX 11867                                                                                                MOCA              PR         00676
  714785 MARIBEL MARQUEZ SANTOS                       HC 01 BOX 7637                                                                                                AGUAS BUENAS      PR         00703
  300762 MARIBEL MARRERO LOPEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  300763 MARIBEL MARTELL GUEITS                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  300764 MARIBEL MARTIN SOEGAARD                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  714786 MARIBEL MARTINEZ                             106 CALLE SALVADOR BRAU                                                                                       CAYEY             PR         00736

   714787 MARIBEL MARTINEZ GONZALEZ                   PO BOX 5461                                                                                                   CAGUAS            PR         00726
   714788 MARIBEL MARTINEZ LOZADA                     HC 1 BOX 7165                                                                                                 LAS PIEDRAS       PR         00771‐0000

   300766 MARIBEL MARTINEZ MARCANO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300767 MARIBEL MARTINEZ ORTIZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300768 MARIBEL MARTINEZ PENA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   714791 MARIBEL MARTINEZ RIVERA                     BO LAS PINAS                HC 03 BOX 7751                                                                    JUNCOS            PR         00777

   300769 MARIBEL MARTINEZ VILLANUEVA REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300770 MARIBEL MAS RIVERA          REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   714792 MARIBEL MATOS ARROYO        PO BOX 1772                                                                                                                   YABUCOA           PR         00767
   714793 MARIBEL MATOS COTTO         URB CANA                                    HA 4 CALLE 22                                                                     BAYAMON           PR         00957
   714794 MARIBEL MATOS MACHIN        PO BOX 1121                                                                                                                   CAROLINA          PR         00986
   300772 MARIBEL MEDINA FIGUEROA     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300773 MARIBEL MEDINA GUZMAN       REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300774 MARIBEL MEDINA JUSINO       REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300775 MARIBEL MEDINA LOPEZ        REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   300776 MARIBEL MELENDEZ ADORNO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   714796 MARIBEL MELENDEZ AYALA                      HC 03 BOX 9254                                                                                                COMERIO           PR         00782
   714797 MARIBEL MELENDEZ DE LEON                    A 18 URB PEM COURT                                                                                            SAN JUAN          PR         00926
   300778 MARIBEL MELENDEZ NEGRON                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   714799 MARIBEL MELENDEZ VELEZ                      HC 01 BOX 11442                                                                                               LAJAS             PR         00667

   300780 MARIBEL MERCADO CARTAGENA REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300781 MARIBEL MERCADO SOTO      REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   714802 MARIBEL MIRANDA TORRES    PO BOX 74                                                                                                                       BARRANQUITAS      PR         00794
   300784 MARIBEL MOLINA BRUNO      REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   714803 MARIBEL MONTALVO RIOS     BO JUAN DOMINGO                               2 INT CALLE TINTILLO                                                              GUAYNABO          PR         00966
          MARIBEL MONTANEZ
   300787 RODRIGUEZ                 REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300789 MARIBEL MORALES           REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300790 MARIBEL MORALES COLON     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300792 MARIBEL MORALES NAZARIO   REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300793 MARIBEL MORALES ORTIZ     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300794 MARIBEL MORALES PIZARRO   REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   300796 MARIBEL MORENO GONZALEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300797 MARIBEL MUNIZ ROSADO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   714807 MARIBEL NARVAEZ REYMUNDI                    1106 CALLE CESAR GONZALEZ                                                                                     SAN JUAN          PR         00936‐8344

   300798 MARIBEL NAVARRO MERCADO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   714809 MARIBEL NEGRON BERRIOS                      PMB 217 PO BOX 1999                                                                                           BARRANQUITAS      PR         00794‐1999




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   714810 MARIBEL NEGRON GIOGI                        COND RIVERSIDE PLAZA APT 46                                                                                           BAYAMON             PR           00959
   300799 MARIBEL NEGRON MEDINA                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300800 MARIBEL NEGRON RAMOS                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714811 MARIBEL NEGRON VEGA                         BO CUBUY                      CARR 186 KM 7 4                                                                         CANOVANAS           PR           00729
   300801 MARIBEL NIEVES DE JESUS                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300802 MARIBEL NIEVES MENDEZ                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   714814 MARIBEL NIEVES PEREZ VILLAMIL URB FLORAL PARK                             102 CALLE GAUTIER BENITEZ                                                               SAN JUAN            PR           00917
   300803 MARIBEL NIEVES REYES          REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714815 MARIBEL NIEVES VARGAS         C/O ASSSMCA                                 P.O. BOX 21414                                                                          SAN JUAN            PR           00928‐1414
   300805 MARIBEL NORIEGA FRANQUIZ      REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300807 MARIBEL NUNEZ DIAZ            REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300808 MARIBEL NUNEZ MOLINA          REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300809 MARIBEL OCASIO CUEBAS         REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714817 MARIBEL OCASIO OCASIO         BO ARENALES BAJOS                           BZN 5 130F                                                                              ISABELA             PR           00662
   714818 MARIBEL OLIVER QUINONES       EL MIRADOR                                  M 5 CALLE 7                                                                             SAN JUAN            PR           00926
   714820 MARIBEL OLMEDA SANTIAGO       LOS LIRIOS                                  EDIF D APT 52                                                                           SAN JUAN            PR           00926
   714821 MARIBEL OLMO SALAZAR          HC 03 BOX 21973                                                                                                                     ARECIBO             PR           00613

   714822 MARIBEL OQUENDO SANTIAGO                    VENUS GARDENS                 1680 CALLE HIDALGO                                                                      SAN JUAN            PR           00926
   714823 MARIBEL ORTEGA                              RES LAS DALIAS                EDIF 20 APT 145                                                                         SAN JUAN            PR           00924
                                                                                    167 VIA DEL ROCIO VALLE DE
   714824 MARIBEL ORTIZ                               VALLE SAN LUIS                SAN LUIS                                                                                CAGUAS              PR           00725
   300810 MARIBEL ORTIZ ALAMO                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300811 MARIBEL ORTÍZ APONTE                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300812 MARIBEL ORTIZ BETANCOURT                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300814 MARIBEL ORTIZ GONZALEZ                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714827 MARIBEL ORTIZ MORALEZ                       HC 01 BOX 5421                SABANA HOYOS                                                                            ARECIBO             PR           00688
   300815 MARIBEL ORTIZ PARILLA                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714830 MARIBEL ORTIZ RODRIGUEZ                     P O BOX 141406                                                                                                        ARECIBO             PR           00614
   714831 MARIBEL ORTIZ ROQUE                         RR 11 BOX 264                                                                                                         BAYAMON             PR           00956
   714832 MARIBEL ORTIZ VELEZ                         BO LA QUINTA                  10 CALLE CAYETANO                                                                       MAYAGUEZ            PR           00680
   714833 MARIBEL OSORIO SANTANA                      HP ‐ SALA 1 ALTO                                                                                                      RIO PIEDRAS         PR           009360000
   714834 MARIBEL OYOLA CENTENO                       BOX 6189                      BO BAYAMON                                                                              CIDRA               PR           00739
   300818 MARIBEL OYOLA RODRIGUEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300819 MARIBEL OYOLA SERRANO                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      COND PISOS DE CAPARRA APTA
   714835 MARIBEL PADILLAS CRUZ                       10‐A                                                                                                                  GUAYNABO            PR           00966
   714836 MARIBEL PAGAN MELENDEZ                      HC 2 79926                                                                                                            CIALES              PR           00328
   714837 MARIBEL PAGAN MONTES                        BOX 853                                                                                                               SAN GERMAN          PR           00683

   714838 MARIBEL PASTRANA DELGADO                    RR 6 BOX 9523                                                                                                         SAN JUAN            PR           00926
   300821 MARIBEL PEREZ BURGOS                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300824 MARIBEL PEREZ CORTEZ                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714839 MARIBEL PEREZ GONZALEZ                      HC 06 BOX 13593                                                                                                       HATILLO             PR           00659
   714840 MARIBEL PEREZ JIMENEZ                       4TA EXT COUNTRY CLUB          OF 20 C/505                                                                             CAROLINA            PR           00983
   300825 MARIBEL PEREZ LUGO                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714841 MARIBEL PEREZ MONROIG                       PO BOX 1285                                                                                                           GUAYNABO            PR           00970‐1285
   714843 MARIBEL PEREZ PADUA                         BO BOQUERON                   179 CALLE GLADIOLA                                                                      LAS PIEDRAS         PR           00771
   714844 MARIBEL PEREZ PRATTS                        PO BOX 1267                                                                                                           JUNCOS              PR           00777
   300828 MARIBEL PEREZ RAMOS                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300830 MARIBEL PEREZ SOTO                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   714847 MARIBEL PEREZ VALLE                         232 AVE ELEANOR ROOSEVELT                                                                                           SAN JUAN            PR           00907

   714848 MARIBEL PEREZ VELEZ                         232 AVE ELEONOR ROOSEVELT                                                                                           SAN JUAN            PR           00907
   300832 MARIBEL PINERO RODRIGUEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300833 MARIBEL PIZARRO CASTRO                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714849 MARIBEL POMALES BARRIOS                     P O BOX 2256                                                                                                        SAN GERMAN          PR           00683
   300834 MARIBEL PONS ORAMA                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714851 MARIBEL QUILES QUILES                       PUERTA DE TIERRA            RES SAN ANTONIO A 581                                                                   SAN JUAN            PR           00901

   300835 MARIBEL QUINONES CASANOVA                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300837 MARIBEL QUINONES NATAL                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300838 MARIBEL QUINONES TORRES                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714854 MARIBEL RABELL MENDEZ                       77 KINGS COURT APT 101                                                                                              SAN JUAN            PR           00911
   300839 MARIBEL RAICES ARCE                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   714855 MARIBEL RAMIREZ                             URB FLAMINGO HILLS          210 CALLE 8                                                                             BAYAMON             PR           00957
   714856 MARIBEL RAMIREZ RIOS                        PO BOX 7126                                                                                                         PONCE               PR           00732
   714857 MARIBEL RAMOS CHAPARRO                      PO BOX 135252                                                                                                       RINCON              PR           00677
   714858 MARIBEL RAMOS CORDERO                       MSC 244 BOX 5004                                                                                                    YAUCO               PR           00698
   714859 MARIBEL RAMOS CRUZ                          PO BOX 595                                                                                                          SABANA SECA         PR           00952
   714860 MARIBEL RAMOS FELIX                         P.O. BOX 5183                                                                                                       CAROLINA            PR           00984

   714861 MARIBEL RAMOS GONZALEZ                      URB SANTA MARIA             G 9 CALLE HACIENDA CAMACHO                                                              GUAYANILLA          PR       00656
   714862 MARIBEL RAMOS RONDA                         P O BOX 759                                                                                                         LAJAS               PR       00667
   300840 MARIBEL RAMOS SANTOS                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   714864 MARIBEL REYES COSS                          BO SAINT JUST               PARCELA 223 CALLE 6                                                                     TRUJILLO ALTO       PR       00976‐2915
   714865 MARIBEL REYES MALAVE                        EXT EL COQUI BO AGUIRRE     78 CALLE FAISAN K 1                                                                     SALINA              PR       00704
   714866 MARIBEL REYES MENDEZ                        HP ‐ SALA CCEP                                                                                                      RIO PIEDRAS         PR       009360000
   714867 MARIBEL REYES QUILES                        PARCELAS PEREZ              116 CALLE BOGOTA                                                                        ARECIBO             PR       00612
   300843 MARIBEL REYES RAMOS                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   714868 MARIBEL REYES RIOS                          BO VEGA REDONDA             HC 1 BOX 4429                                                                           COMERIO             PR       00782
   300844 MARIBEL REYES RODRIGUEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   714871 MARIBEL REYES SISCO                         P O BOX 8086                                                                                                        ARECIBO             PR       00613
   714872 MARIBEL REYES TORRES                        URB REXVILLE                CE 14 CALLE 23A                                                                         BAYAMON             PR       00957
   300846 MARIBEL RIOS ARROYO                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   300847 MARIBEL RIOS DIAZ                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   300848 MARIBEL RIVERA                              REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   714878 MARIBEL RIVERA ANES                         URB LAS GAVIOTAS            C 18 CALLE FENIX                                                                        TOA BAJA            PR       00949
   714879 MARIBEL RIVERA BAEZ                         TERRAZAS DEMAJAGUA          AA 11 CALLE AREYTO                                                                      FAJARDO             PR       00738
   714880 MARIBEL RIVERA BOSCH                        URB SAN JOSE                631 CALLE CARMELO SEGLAR                                                                PONCE               PR       00728‐1909
   300849 MARIBEL RIVERA BURGOS                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   714881 MARIBEL RIVERA CURET                        HC 02 BOX 25356                                                                                                     MAYAGUEZ            PR       00681
   300850 MARIBEL RIVERA DIAZ                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   300851 MARIBEL RIVERA FIGUEROA                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   300852 MARIBEL RIVERA FUENTES                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   300853 MARIBEL RIVERA LOZADA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   300854 MARIBEL RIVERA MARTINEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   300859 MARIBEL RIVERA MONZON                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   714886 MARIBEL RIVERA PEREZ                        HC 1 BOX 10124                                                                                                      RIO GRANDE          PR       00745
   714887 MARIBEL RIVERA REYES                        URB EL CEREZAL              1692 CALLE PARANA                                                                       SAN JUAN            PR       00926
   300861 MARIBEL RIVERA RIVERA                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   714890 MARIBEL RIVERA RODRIGUEZ                    ESTANCIAS DE TOTUGUERO      400 CALLE TULENE                                                                        VEGA BAJA           PR       00693
   714892 MARIBEL RIVERA ROSADO                       PO BOX 88                                                                                                           CABO ROJO           PR       00623



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  714893 MARIBEL RIVERA ROSARIO                       PO BOX 1365                                                                                                  JUNCOS            PR         00777‐1365
  300862 MARIBEL RIVERA RUIZ                          REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  714894 MARIBEL RIVERA SABALIER                      HC 03 BOX 19120                                                                                              RIO GRANDE        PR         00745
  714895 MARIBEL RIVERA SANTANA                       URB MONTE CLARO            M Q 20 PLAZA 37                                                                   BAYAMON           PR         00961
  714897 MARIBEL RIVERA SANTIAGO                      PO BOX 1106                                                                                                  VILLALBA          PR         00766
  300863 MARIBEL RIVERA SANTOS                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  300864 MARIBEL RIVERA TORRES                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  300865 MARIBEL RIVERA VAZQUEZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  300867 MARIBEL ROBLES NATAL                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  714902 MARIBEL ROBLES PAGAN                         URB VALLE REAL             1603 CALLE MARQUESA                                                               PONCE             PR         00716‐0501
  300868 MARIBEL ROBLES ROSARIO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  714903 MARIBEL ROBLES VARGAS                        EXT VILLA EL ENCANTO       S2 CALLE 5                                                                        JUANA DIAZ        PR         00795

   714905 MARIBEL RODRIGUEZ BERRIOS                   BO SABANA HOYOS                                                                                              ARECIBO           PR         00688
                                                      COMUNIDAD COLLORES SECTOR
   714906 MARIBEL RODRIGUEZ COLON                     CUARAGUAO                 HC 03 BOX 12128                                                                    JUANA DIAZ        PR         00795‐9507
   300870 MARIBEL RODRIGUEZ DIAZ                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   714585 MARIBEL RODRIGUEZ GARCIA                    JARD DEL CARIBE           5311 CALLE SAGITADA                                                                PONCE             PR         00728
   714909 MARIBEL RODRIGUEZ GARCIA                    BOX 8796                                                                                                     PONCE             PR         00732

   714910 MARIBEL RODRIGUEZ GONZALEZ URB MIRAFLORES                              39‐13 CALLE 45                                                                    BAYAMON           PR         00957
          MARIBEL RODRIGUEZ
   714911 HERNANDEZ                  SENADO DE P.R.                              PO BOX 50071                                                                      SAN JUAN          PR         00902007
   714913 MARIBEL RODRIGUEZ LUGO     R LABIOSA 54 EL SECO                                                                                                          MAYAGUEZ          PR         00680

   300871 MARIBEL RODRIGUEZ MARRERO REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   714914 MARIBEL RODRIGUEZ MARTINEZ EMERGENCIAS MEDICAS                         PO BOX 2161                                                                       SAN JUAN          PR         00922‐2161

   714916 MARIBEL RODRIGUEZ MENDEZ                    URB CORCHADO               77 BEGONIA ST                                                                     ISABELA           PR         00662

   300872 MARIBEL RODRIGUEZ MERCADO REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   714904 MARIBEL RODRIGUEZ MERCADO RR 01 BOX 12133                                                                                                                TOA ALTA          PR         00953

   300874 MARIBEL RODRIGUEZ MORALES                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300876 MARIBEL RODRIGUEZ MUNIZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300878 MARIBEL RODRIGUEZ OCASIO                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   714920 MARIBEL RODRIGUEZ PAGAN                     PRIMAVERA EL CONDOMINIO    2340 CARR 2 APT 139                                                               BAYAMON           PR         00961

   300879 MARIBEL RODRIGUEZ QUINONEZ REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300880 MARIBEL RODRIGUEZ RIVERA   REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   300882 MARIBEL RODRIGUEZ ROSADO REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300883 MARIBEL RODRIGUEZ TORRES    REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   714924 MARIBEL RODRIGUEZ VELEZ     BO LLANADAS                                3006 CALLE VERONA                                                                 ISABELA           PR         00662
          MARIBEL RODRIGUEZ Y ALBERTO
   300884 RODRIGUEZ                   REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300885 MARIBEL ROLON RIVERA        REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   300886 MARIBEL ROMAN SANTIAGO      REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   714927 MARIBEL ROSADO CANDELARIO                   BO MAMEY 1                 CARR 835 KM 1 81                                                                  GUAYNABO          PR         00965
   714928 MARIBEL ROSADO CORREA                       HC 1 BOX 4412                                                                                                LAS MARIAS        PR         00670



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   300892 MARIBEL ROSADO RODRIGUEZ                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300893 MARIBEL ROSADO VALENTIN                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300894 MARIBEL ROSARIO                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   714931 MARIBEL ROSARIO DE MILLAN                   MONTE CARLO                 1327 CALLE 25                                                                            SAN JUAN             PR           00924
   714933 MARIBEL ROSARIO PEREZ                       HC 01 BOX 6630                                                                                                       CIALES               PR           00638‐9652

   300895 MARIBEL ROSARIO RODRIGUEZ                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300896 MARIBEL RUIZ GONZALEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300897 MARIBEL RUIZ IRIZARRY                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   300898 MARIBEL SALDARRIAGA ALAMO                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300899 MARIBEL SALOME COSME                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300900 MARIBEL SANCHEZ CRUZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714936 MARIBEL SANCHEZ FLORES                      COND PAISAJES DE ESCORIAL   APT 1504                                                                                 CAROLINA             PR           00987
   300901 MARIBEL SANCHEZ MUNOZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300902 MARIBEL SANCHEZ PEREZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300903 MARIBEL SANCHEZ RIVERA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   300904 MARIBEL SANCHEZ RODRIGUEZ                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300905 MARIBEL SANCHEZ ROSARIO                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714937 MARIBEL SANTA RIVERA                        URB CIUDAD CRISTIANA        BOX 146                                                                                  HUMACAO              PR           00791
   300906 MARIBEL SANTANA OCASIO                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714939 MARIBEL SANTANA TORRES                      P O BOX 5009                                                                                                         VEGA ALTA            PR           00692
          MARIBEL SANTANA Y ERIC O
   300907 VEGA                                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300908 MARIBEL SANTIAGO                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300909 MARIBEL SANTIAGO BERRIOS                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   300910 MARIBEL SANTIAGO CARDONA                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300911 MARIBEL SANTIAGO GALARZA                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300912 MARIBEL SANTIAGO GARCIA                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714587 MARIBEL SANTIAGO LOZADA                     PO BOX 1900                                                                                                          LAS PIEDRAS          PR           00771‐1900

   714943 MARIBEL SANTIAGO MERCADO                    PO BOX 127                                                                                                           JUANA DIAZ           PR           00795

   300914 MARIBEL SANTIAGO QUINONES                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300915 MARIBEL SANTIAGO ROSA                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300916 MARIBEL SANTIAGO VERA                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300917 MARIBEL SANTOS FRANCO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714947 MARIBEL SANTOS MARTINEZ                     RR 4 P O BOX 4029                                                                                                    CIDRA                PR           00739
   714948 MARIBEL SANTOS MORALES                      HC 01 BOX 7910              BO PARCELAS VAZQUEZ                                                                      SALINAS              PR           00751
   714949 MARIBEL SANTOS REYES                        PO BOX 372834                                                                                                        CAYEY                PR           00737‐2834
   714950 MARIBEL SANTOS SANCHEZ                      PO BOX 21365                                                                                                         SAN JUAN             PR           00928
   300918 MARIBEL SCHELMETY GOITIA                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   714951 MARIBEL SERRANO                             URB PERA DEL SUR            4413 CALLE PEDRO M CARATINI                                                              PONCE                PR           00717‐0319
   714952 MARIBEL SERRANO ROSA                        BO ROBLES                   HC 6 BOX 12757                                                                           SAN SEBASTIAN        PR           00685
   300920 MARIBEL SERRANO SERRANO                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   300921 MARIBEL SOBERAL DEL VALLE                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   714955 MARIBEL SOLA MATOS                          PO BOX 7472                                                                                                          CAGUAS               PR           00726
   300923 MARIBEL SOLER BAYON                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  300924 MARIBEL SOSA                                 REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  300925 MARIBEL SOTO ACEVEDO                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  300926 MARIBEL SOTO ALVARADO                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  714958 MARIBEL SOTO CABAN                           PO BOX 1687                                                                                                         SAN SEBASTIAN      PR         00685
  300928 MARIBEL SOTO QUILES                          REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   714959 MARIBEL SUAREZ VALENTIN                     URB BAIROA PARK            I 9 CALLE PARQUE LAS FLORES                                                              CAGUAS             PR         00725
   300929 MARIBEL TAVAREZ                             REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   714960 MARIBEL TIRADO RODRIGUEZ                    HC 71 BOX 1594                                                                                                      NARANJITO          PR         00719
   300930 MARIBEL TIRADO ROMAN                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   714961 MARIBEL TIRADO SANTIAGO                     CALLE SOL BUZON 408 C      BO CAMPANILLA                                                                            TOA BAJA           PR         00949
   714962 MARIBEL TIRADO SILVA                        PO BOX 50                                                                                                           PUNTA SANTIAGO     PR         00741
   714964 MARIBEL TORO RODRIGUEZ                      HC 59 BOX 5744                                                                                                      AGUADA             PR         00602
   714965 MARIBEL TORRES BUTLER                       HC 02 BOX 8073                                                                                                      QUEBRADILLAS       PR         00678
   300931 MARIBEL TORRES CRUZ                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   300932 MARIBEL TORRES GONZALEZ                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   300933 MARIBEL TORRES MORALES                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   714967 MARIBEL TORRES RAICES                       HC 02 BOX 7631                                                                                                      CAMUY              PR         00627
   714968 MARIBEL TORRES RIVERA                       P O BOX 8893                                                                                                        VEGA BAJA          PR         00693
   714969 MARIBEL TORRES ROBLES                       RES EL BATEY               EDIF G APT 83                                                                            VEGA ALTA          PR         00692
   714588 MARIBEL TORRES RODRIGUEZ                    URB MIRAFLORES 16          BLQ 23 CALLE 11                                                                          BAYAMON            PR         00957
   714970 MARIBEL TORRES RODRIGUEZ                    PO BOX 2122                                                                                                         TOA BAJA           PR         00951
   714971 MARIBEL TORRES SANCHEZ                      LOMAS VERDES               4 U 19 CALLE YAGRUMO                                                                     BAYAMON            PR         00956
   300934 MARIBEL TORRES SANTIAGO                     REDACTED                   REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                                                 2321 CALLE UNIVERSIDAD APT 8
   714972 MARIBEL TORRES SERRANT                      COND EL MIRADOR            A                                                                                        PONCE              PR         00717‐0713
   300935 MARIBEL VALENTIN OLIVER                     REDACTED                   REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   300936 MARIBEL VALLE ALERS                         REDACTED                   REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   300937 MARIBEL VALLE REYES                         REDACTED                   REDACTED                     REDACTED                             REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   714973 MARIBEL VALLE SANTIAGO                      HC 05 BOX 54821                                                                                                     HATILLO            PR         00659
   300938 MARIBEL VARONA LEBRON                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   300939 MARIBEL VAZQUEZ CARTAGENA                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   300940 MARIBEL VAZQUEZ COSME                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   714977 MARIBEL VAZQUEZ RIOS                        URB SANTA JUANITA          PMB 111 UU 1 C 39                                                                        BAYAMON            PR         00956
   300941 MARIBEL VAZQUEZ TORRES                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MARIBEL VAZQUEZ VAZQUEZ /
   714978 LEONARDO ORTIZ                              BO HELECHAL                CARR 719 KM 1.4                                                                          BARRANQUITAS       PR         00794
   714979 MARIBEL VEGA                                URB HUCARES II             APT F 15                                                                                 NAGUABO            PR         00718
   300943 MARIBEL VEGA ACEVEDO                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   714980 MARIBEL VEGA LOPEZ                          SECTOR VARGAS              18 CALLE ALONDRA                                                                         CAMUY              PR         00627
   714981 MARIBEL VEGA MONTALVO                       PP 2 ALTURAS DE SAN JOSE                                                                                            SABANA GRANDE      PR         00637
   714982 MARIBEL VEGA NIEVES                         PO BOX 1108                                                                                                         CANOVANAS          PR         00729
   714983 MARIBEL VEGA RODRIGUEZ                      BO GUAYDIA                 123 HERIBERTO TORRES                                                                     GUAYANILLA         PR         00656

   300945 MARIBEL VELAZTEGUI TIRADO                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   714988 MARIBEL VELEZ BONILLA                       RESIDENCIAL JUAN FERRER    EDIF 2 APT. 21                                                                           MARICAO            PR         00606
   300946 MARIBEL VELEZ ROMAN                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   714989 MARIBEL VELEZ SONERA                        HC 01 BOX 478513                                                                                                    CAMUY              PR         00627‐9609
   714991 MARIBEL VELEZ VERGARA                       PO BOX 1821                                                                                                         MANATI             PR         00674 1821
   300947 MARIBEL VERDEJO MARQUEZ                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   714992 MARIBEL VIALIZ LASALLE                      VICTOR ROJAS               N 270 CALLE A                                                                            ARECIBO            PR         00612
   714993 MARIBEL VICENTE SANTIAGO                    URB APONTE                 C6 CALLE 2                                                                               CAYEY              PR         00736



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  300948 MARIBEL VIDAL VALDES                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  300949 MARIBEL VIERA CARABALLO                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  300950 MARIBEL VIGO MARTINEZ                        REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   300951 MARIBEL VILAVICENCIO COLON                  REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300952 MARIBEL VILLANUEVA PEREZ                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300953 MARIBEL ZAMBRANA GARCIA                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300954 MARIBEL ZENO NEGRON                         REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300956 MARIBEL, RIVERA                             REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300957 MARIBELIS DE JESUS                          REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300958 MARIBELIS GOMEZ ABREU                       REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   714998 MARIBELISA MENENDEZ TORRES URB REINA DE LOS ANGELES                  CALLE 2 A9                                                                            GURABO              PR         00778
   300959 MARIBELIZ DIAZ MUNIZ       REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   714999 MARIBELL FLORES COMA       HC 2 BOX 9871                                                                                                                   HORMIGUEROS         PR         00660

   300961 MARIBELL INFANTE GUERRERO                   REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300962 MARIBELL MARTELL PEREZ                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIBELLA BERLINGERI
   715000 SANTIAGO                                    HC 43 BOX 10749                                                                                                CAYEY               PR         00736
   300964 MARIBELLA COLON BELTRAN                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715001 MARIBELLA CRUZ NIEVES                       32 CALLE SAN FRANCISCO                                                                                         DORADO              PR         00646
   300965 MARIBELLA GARCIA VERGARA                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   300966 MARIBELLA GONZALEZ VIRUET                   REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715002 MARIBELLA RAMOS CARRION                     BO FLORIDA               HC 1 BOX 8841                                                                         VIEQUES             PR         00765‐9210

   715003 MARIBELLA RODRIGUEZ ORTIZ                   BOX 321                                                                                                        PALMER              PR         00721
   715004 MARIBELLE ALBARAN LUGO                      HC 8 BOX 1177                                                                                                  PONCE               PR         00731
   715007 MARIBELLE IRIZARRY RIOS                     P O BOX 85                                                                                                     UTUADO              PR         00641
          MARIBELLE MERCADO
   300968 MONTALVO                                    REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715010 MARIBELLE NEGRON MENDEZ                     BO MAMEYES               CARR 140 KM 39 0                                                                      UTUADO              PR         00641
   300970 MARIBELLE ZEDA QUINONES                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   715013 MARIBELY MARTINEZ MORALES                   OCEAN PARK 3             CALLE SANTA ANA APT 15                                                                SAN JUAN            PR         00911
   300971 MARIBELYS RIVERA MATOS                      REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                               COND JARD DEL PARQUE APT
   715014 MARIBEN HERNANDEZ LLADO                     URB PARQUE ESCORIAL      3302                                                                                  CAROLINA            PR         00987
   715015 MARIBER AVILES TIRADO                       PO BOX 304                                                                                                     SAN GERMAN          PR         00683
   300972 MARIBET LOPEZ FELICIANO                     REDACTED                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   715016 MARIBET SANCHEZ GONZALEZ                    PO BOX 100                                                                                                     ANGELES             PR         00611

   300973 MARIBETH BONILLA ALEJANDRO REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   300974 MARIBETH COLON BRITO       REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIBETH GONZALEZ
   715017 RODRIGUEZ                  RES MONTE HATILLO                         EDIF 5 APTO 73                                                                        SAN JUAN            PR         00926

   715018 MARIBETH REYES CARRASQUILLO HC 1 BOX 7796                                                                                                                  CANOVANAS           PR         00729‐9719
   300975 MARIBILIZ IRIZARRY TORRES   REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                      URB UNIVERSITARIA GARDENS
   715019 MARIBLANCA QUINTERO TORRES 912                                       CALLE GEORGETOWN                                                                      SAN JUAN            PR         00927‐4808



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  715020 MARIBLANCA REYES LOPEZ                       URB PUNTO ORO             4213 CALLE EL GALLARDO                                                              PONCE                PR           00728
         MARIBLANCA RODRIGUEZ
  715021 CONDE                                        PO BOX 8337                                                                                                   SAN JUAN             PR           00910
  715023 MARIBY DAVILA MELENDEZ                       HC 2 BOX 8599                                                                                                 BAJADERO             PR           00616‐9743
         MARICARMEN ALVARADO
  300976 ALVIRA                                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   300977 MARICARMEN BERNACETT VEGA REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   715025 MARICARMEN BIRRIEL ESTRADA CHALET DE CUPEY                            APT L 223                                                                           SAN JUAN             PR           00926

   300978 MARICARMEN BONILLA ALVERIO REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          MARICARMEN CARABALLO
   715027 PABON                      URB PUERTO NUEVO                           1118 CALLE 2 NE                                                                     SAN JUAN             PR           00920
          MARI‐CARMEN CARBALLO
   715028 BETANCOURT                 URB RIO GRANDE ESTATES                     U 16 CALLE 22                                                                       RIO GRANDE           PR           00745
          MARICARMEN COLLET
   300979 ECHEVARRIA                 REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   715030 MARICARMEN CRUZ VIRUET     P O BOX 2212                                                                                                                   UTUADO               PR           000641
          MARICARMEN DE LA CRUZ
   715031 JIMENEZ                    COND SAN GERARDO 2                         CALLE NEVADA                                                                        SAN JUAN             PR           00926
   715032 MARICARMEN DIAZ            304 VISTAMAR PRINCESS                                                                                                          CAROLINA             PR           00983

   300980 MARICARMEN DIAZ GONZALEZ                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          MARICARMEN DOMINGUEZ
   300981 DECHETH                                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          MARICARMEN FIGUEROA
   300982 MARTINEZ                                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          MARICARMEN GONZALEZ
   300983 MONTERO                                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          MARICARMEN GONZALEZ
   300984 SANTIAGO                                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   715035 MARICARMEN GUADALUPE                        URB LA PROVIDENCIA        I L 24 CALLE 8                                                                      TOA ALTA             PR           00953
          MARICARMEN LOPEZ
   300985 MALDONADO                                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   715037 MARICARMEN LOZADA TORRES                    HC 2 BOX 43533                                                                                                VEGA BAJA            PR           00693 9618
   715038 MARICARMEN MARQUEZ                          TORRE CITY BANK PISO 19   252 AVE PONCE DE LEON                                                               SAN JUAN             PR           00918
          MARICARMEN MEDINA
   300986 FIGUEROA                                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   715039 MARICARMEN MEDINA MATOS                     COND SIERRA DEL SOL       APT H 118                                                                           SAN JUAN             PR           00926

   715040 MARICARMEN MEJIAS GONZALEZ HC 03 BOX 14022                                                                                                                JUANA DIAZ           PR           00795
          MARICARMEN MONTANEZ
   300987 GOMEZ                      REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   300988 MARICARMEN NAZARIO MALAVE REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   300989 MARICARMEN OLAN CRUZ      REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          MARICARMEN OLAN WIRELESS
   300990 TECH                      PO BOX 1757                                                                                                                     YAUCO                PR           00698
   715042 MARICARMEN ORTIZ RAMOS    JARDINES DEL CARIBE                         V V 10 CALLE 48                                                                     PONCE                PR           00728
   300991 MARICARMEN PACHECO        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED



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   715043 MARICARMEN PACHECO TORRES PARC NUEVA VIDA                               O14 CALLE F 6                                                                     PONCE               PR           00728
          MARICARMEN QUILES
   300992 MONTANEZ                  REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARICARMEN QUINONES
   300993 CORDERO                   REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300994 MARICARMEN RAMIREZ SOLA   REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   300995 MARICARMEN RAMOS PEREIRA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARICARMEN RIVERA
   715044 FONTANEZ                                    HC 04 BOX 44717                                                                                               HATILLO             PR           00659
   300996 MARICARMEN RIVERA LUNA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   300999 MARICARMEN RIVERA RIVERA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARICARMEN RODRIGUEZ
   301000 BAREA                                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   715047 MARICARMEN RODRIGUEZ REYES 16 SEGUNDO RUIZ BELVIS                                                                                                         SANTA ISABEL        PR           00757
          MARICARMEN RODRIGUEZ
   301001 RIVERA                     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301002 MARICARMEN SANTIAGO        REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARICARMEN SANTIAGO
   301004 SANTINI                    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARICARMEN SANTOS
   715048 MIRANDA                    JARD DE ARECIBO                              E30 CALLE D                                                                       ARECIBO             PR           00612
          MARICARMEN SIVESTRY
   715050 ALVAREZ                    PO BOX 799                                                                                                                     ENSENADA            PR           00647
   715024 MARICARMEN TORO DAVILA     64 AVE CONDADO 801                                                                                                             SAN JUAN            PR           00907
          MARICARMEN,RAMOS DE
   715051 SZENDREY                   PMB 492 PO BOX 7891                                                                                                            GUAYNABO            PR           00970‐7891
   715052 MARICE RIVERA PAGAN        URB PUERTO NUEVO                             1251 CALLE DELICIA                                                                SAN JUAN            PR           00920
   301006 MARICEL AVILES RAMIREZ     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARICEL BAHAMUNDI
   301009 RODRIGUEZ                  REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301010 MARICEL COTTO RIOS         REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301011 MARICEL E ACEVEDO LUGO     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301012 MARICEL E. ECHEVARRY FEBO  REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301014 MARICEL JIMENEZ            REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   301015 MARICEL MERCADO VELAZQUEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715054 MARICEL MORALES APONTE                      URB EL VERDE                MERCURIO NO 85                                                                    CAGUAS              PR           00725
   301016 MARICEL N LOPEZ COLON                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301018 MARICEL OCASIO FIGUEROA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715055 MARICEL ORTIZ ALVAREZ                       URB PALACIOS DEL RIO I      BOX 478                                                                           TOA ALTA            PR           00953
   715056 MARICEL ORTIZ ORTIZ                         URB DEL CARMEN              CALLE 1                                                                           JUANA DIAZ          PR           00795

   715057 MARICEL PABON RIVERA                        232 AVE ELEONOR ROOSEVELT                                                                                     SAN JUAN            PR           00907
   301019 MARICEL PAGAN MONTALVO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301020 MARICEL RAMOS ALAMO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   715058 MARICEL RIOS GONZALEZ                       232 AVE ELEONOR ROOSEVELT                                                                                     SAN JUAN            PR           00907

   301021 MARICEL ROSARIO RODRIGUEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          MARICEL SANTIAGO CASTRO /
   715059 RIMAS CATERING                              URB LOS CAOBOS              1003 CALLE ACEROLA                                                                      PONCE               PR           00731
   715060 MARICEL TEJEDA OYOLA                        COND EL LAUREL              15 J 8 AVE SAN PATRICIO                                                                 GUAYNABO            PR           00968
   301022 MARICEL VEGA RUIZ                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARICELA B RODRIGUEZ
   715061 MELENDEZ                                    HC 44 BOX 12573                                                                                                     CAYEY               PR           00736
   715062 MARICELA BAEZ SANTANA                       HC 33 BOX 5182                                                                                                      DORADO              PR           00646

   301025 MARICELA CALCANO VAZQUEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715063 MARICELA CRUZ ORTUBE                        BOX 1136                                                                                                            ISABELA             PR           00662
   301026 MARICELA GONZALEZ PEREZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715064 MARICELA LUNA MIRANDA                       HC 1 BOX 20511                                                                                                      CABO ROJO           PR           00623
   301027 MARICELA PAGAN MARTINEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   715065 MARICELA PORBEN GONZALEZ                    AVE ROOSEVELT               559 CALLE ARRIGOITIA                                                                    SAN JUAN            PR           00918
          MARICELA RODRIGUEZ                                                      K 13 CALLE MADELINE
   715066 CARRASQUILLO                                VALLE TOLIMA                WILLENSENS                                                                              CAGUAS              PR           00752
   301028 MARICELA SANTIAGO TORRES                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301029 MARICELA SOLER RODRIGUEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARICELI BERNARDO
   715067 RODRIGUEZ                                   COND LOS CLAVELES TORRE I   100 CARR 846 APT 173                                                                    TRUJILLO ALTO       PR           00976

   715068 MARICELI CARRASQUILLO PLAZA URB BELLAS LOMAS                            430 JUANITA                                                                             MAYAGUEZ            PR           00682
   301030 MARICELI DE JESUS           REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   715069 MARICELI DEL C BORGES COLON BOX 626                                                                                                                             MERCEDITA           PR           00715‐0626
   301031 MARICELI FIGUEROA CORREA    REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   715070 MARICELI FIGUEROA SAMBOLIN GARDEN HILLS ESTATES                         14 CALLE 4                                                                              GUAYNABO            PR           00966‐2904

   715071 MARICELI GONZALEZ SANCHEZ                   URB VILLA DE LOIZA                                                                                                  CANOVANAS           PR           00720
   301032 MARICELI LOPEZ MARTINEZ                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715073 MARICELIE NAVARRO SANTOS                    EXT VILLA DEL CARMEN        11 L 8                                                                                  CIDRA               PR           00739
   301034 MARICELIS AQUINO SERRANO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715074 MARICELIS AULET                             HC 01 BOX 2324                                                                                                      FLORIDA             PR           00650
   301035 MARICELIS AULET PADILLA                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301037 MARICELIS M RUIZ MOLINA                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARICELIS MALDONADO
   301038 MONTALVO                                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARICELIS MARTINEZ
   715075 CANDELARIO                                  URB REGIONAL                L 2 CALLE 11                                                                            ARECIBO             PR           00612

   715076 MARICELIS MATOS ALMODOVAR PUERTO REAL                                   586 CALLE 1                                                                             CABO ROJO           PR           00623
   301039 MARICELIS MORO ORTIZ      REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   715077 MARICELIS NOGUERAS COLON                    HC 3 BOX 11209                                                                                                      CAYEY               PR           00736
   301040 MARICELIS PIMENTEL LOPEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715078 MARICELIS RAMOS PEREZ                       MONTE MAR                   190 CALLE HOSTOS APT B 129                                                              SAN JUAN            PR           00918
   301041 MARICELIS RAMOS RIVERA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301043 MARICELIS RIVERA SANTOS                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715079 MARICELIS ROLDAN BADILLO                    2610 SAN ANTONIO CARR 459                                                                                           AGUADILLA           PR           00690
                                                      CONDOMINIO JARDINES DE
   715080 MARICELIS TORRENS CORTIJO                   MONTE ALTO                  325 APDO 118 CALLE 1                                                                    TRUJILLO ALTO       PR           00976



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  301044 MARICELIS VELEZ PEREZ                         REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301045 MARICELLI DIAZ ARISTUD                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   301046 MARICELLI FIGUEROA ESTRELLA                  REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   715082 MARICELLI FONTANEZ VAZQUEZ HC 04 BOX 47894                                                                                                                           CAGUAS              PR         00725
   715083 MARICELLI PEREZ RUIZ       JARDINES DEL CARIBE                             101 SECCION I                  CALLE 3                                                    PONCE               PR         00731

   301047 MARICELLI RAMOS FERNANDEZ                    REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   715084 MARICELLI SANCHEZ MARTINEZ                   HC 1 BOX 3636                                                                                                           SANTA ISABEL        PR         00757
   301050 MARICELLIE PEREZ TRISTANI                    REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   715086 MARICELLIE VAZQUEZ SOLIVAN                   URB LA PLANICIE               G 10 CALLE 5                                                                              CAYEY               PR         00736‐4317

   715087 MARICELLY LOPEZ RODRIGUEZ                    RR 2 PO BOX 355                                                                                                         SAN JUAN            PR         00926

   715088 MARICELLY ORTIZ RODRIGUEZ                    URB LOS LAURELES              14 FULLANA                                                                                CAYEY               PR         00736
          MARICELLY QUINONES
   301053 FIGUEROA                                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715089 MARICELLY SANTIAGO ORTIZ                     PO BOX 0618                                                                                                             CAYEY               PR         00737
   715090 MARICELLY SEGARRA GUERRA                     PARCELAS MONTE GRANDE         90 CALLE PARQUE OESTE                                                                     CABO ROJO           PR         00623

   301057 MARICELLY TEJERO RODRIGUEZ                   REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301058 MARICELLYS AYALA BELTRAN                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301059 MARICELY APONTE RIVERA                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                     517 BLV DE LA MEDIA LUNA APT
   715092 MARICELY BLAIMAYAR SANCHEZ                   CON ALTOS DEL ESCORIAL        1702                                                                                      CAROLINA            PR         00987
   301060 MARICELY COLLAZO BORGES                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715093 MARICELY FERNANDEZ                           JARD COND MODERNO             EDIF I APT B 39 F                                                                         CAGUAS              PR         00725
          MARICELY FERNANDEZ
   715094 SANTIAGO                                     135 CALLE DR GONZALEZ                                                                                                   AGUADA              PR         00602

   715095 MARICELY FONSECA ARROYO                      URB TERRAZAS DE MAJAGUAS II   201 CALLE DIAMANTE                                                                        FAJARDO             PR         00738
   715096 MARICELY GOTAY ESTRADA                       RR 6 BOX 10911                                                                                                          SAN JUAN            PR         00926
   715098 MARICELY LARACUENTE                          SAN FRANCISCO COURT           EDIF 13 APT 1367                                                                          CABO ROJO           PR         00623
   715099 MARICELY LOPEZ PIZARRO                       P O BOX 3106                  SECTOR JOBOS MED ALTA                                                                     LOIZA               PR         00772
   715100 MARICELY MARTINEZ CRUZ                       ALTURAS DE OLIMPO             340 CALLE PITIRRE                                                                         GUAYAMA             PR         00784
   715102 MARICELY MORENO ROSADO                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301061 MARICELY NIEVES VELEZ                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301062 MARICELY ORJALES MONTES                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715103 MARICELY ORTIZ ACEVEDO                       P O BOX 274                                                                                                             JAYUYA              PR         00664
   301063 MARICELY ORTIZ RODRIGUEZ                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301065 MARICELY RIVERA                              REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301066 MARICELY ROMAN RIVERA                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301067 MARICELY S TORRE                             REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715104 MARICELY SANCHEZ ROSA                        HC 1 BOX 9070                                                                                                           SAN GERMAN          PR         00683
   301068 MARICELY TORRES VAZQUEZ                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301069 MARICELYS AYALA QUINONES                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715106 MARICELYS BARBOSA RIVERA                     BO BAYAMON                    RR 02 BOX 6365                                                                            CIDRA               PR         00739
   715107 MARICELYS LOPEZ BAEZ                         PO BOX 388                                                                                                              RIO BLANCO          PR         00744
   301070 MARICELYS LUGO RIVERA                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   301071 MARICELYS NIEVES MACHADO                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   301072 MARICELYS RODRIGUEZ QUIROS REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   715108 MARICELYS SANTANA IRIZARRY                  P O BOX 363                                                                                                  SABANA GRANDE        PR           00637
          MARICELYS ZAMBARANA
   301073 RODRIGUEZ                                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   715109 MARICHAL & HERNANDEZ LLP                    33 BOLIVIA ST. SUITE 301                                                                                     HATO REY             PR           00917
   301077 MARICHAL HERNANDEZ PSC                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   301083 MARICHAL Y HERNANDEZ L L P                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   301085 MARICHU VALENTIN VAZQUEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   715112 MARICIELO GASCOT MORENO                     URB BRASILIA               D 5 CALLE 2                                                                       VEGA BAJA            PR           00693

   301086 MARICONCHI RIVERA NEGRON                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      ENS MIRAMAR 13 CALLE
   715113 MARICRUZ CARO RODRIGUEZ                     GARFIELD                                                                                                     MAYAGUEZ             PR           00680
   715114 MARICRUZ DIAZ RIVERA                        PARC CARMEN                35 E CALLE MARTINETE                                                              VEGA ALTA            PR           00692
   301087 MARICRUZ IRIZARRY RIVERA                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   715115 MARICRUZ JIMENEZ PEREZ                      LEVITTOWN                  3564 PASEO CONDE                                                                  TOA BAJA             PR           00949
   301090 MARICRUZ MEDINA TORRES                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   715116 MARICRUZ RIVERA CLEMENTE                    HC 01 BOX 7631                                                                                               LOIZA                PR           00772
   715117 MARIDALI DE LEON TORRES                     133 CALLE YAGUEZ           RIO PIEDRAS HEIGHTS                                                               SAN JUAN             PR           00926

   301092 MARIDALIA RIVERA CASTELLANO REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   301093 MARIDALIZ RODRIGUEZ ROSADO REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   301095 MARIDEL TORRES BARRETO     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   301097 MARIDELI HERNANDEZ VIVONI                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIDELI M LOPEZ VARGAS /
   715119 MARCIAL LOPEZ                               VILLA NEVAREZ              1075 CALLE 3                                                                      SAN JUAN             PR           00927‐5124
   715120 MARIDELIZ LOPEZ ZAMORA                      LA TROCHA                  140 CALLE AUSOBO                                                                  VEGA BAJA            PR           00693

   301098 MARIDELYS APONTE SANTIAGO                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   301099 Maridoll Cruz                               REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   301100 MARIE A ACEVEDO ACEVEDO                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIE A BIASCOECHEA
   301101 CORDERO                                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   301102 MARIE A MONTANEZ LOZADA                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   301103 MARIE A NARVAEZ RIVERA                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   301104 MARIE A PURCELL NATALI                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   715122 MARIE A RIOS APONTE                         BARRIO POLVORIN            BUZON 150                                                                         MANATI               PR       00674
   301105 MARIE A ROSICH CAPO                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   715124 MARIE A VEGA PACHECO                        COND PARQUE CENTRO         EDIF ALELI APTO C 28                                                              SAN JUAN             PR       00918
   301106 MARIE ALEXANDRA HERTELL                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   301107 MARIE ANGELIQUE CIVIDANES                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   301108 MARIE ANGELY AYALA FRIAS                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   715127 MARIE AYALA ROBLES                          URB LA RIVIERA             1274 CALLE 46 SE                                                                  SAN JUAN             PR       00921
   301109 MARIE B. HIDALGO RIVERA                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED




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   301110 MARIE B. SINIGAGLIA ORENGO                  REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301111 MARIE C AYALA                               REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715128 MARIE C CAJIGAS NIEVES                      PO BOX 270253                                                                                                        SAN JUAN            PR           00927
                                                      COND PLAYAS DEL YUNQUE EDIF
   715129 MARIE C CARABALLO LUGO                      2                                                                                                                    RIO GRANDE          PR           00745
   301112 MARIE C CRESPO DELGADO                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301113 MARIE C GONZALEZ MASSO                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715131 MARIE C GUISTI CORDERO                      URB BORINQUEN GARDENS       QQ 1 CALLE JULIO RUEDAS                                                                  SAN JUAN            PR           00926
   715132 MARIE C JAVIER VILLEGAS                     PO BOX 362802                                                                                                        SAN JUAN            PR           00936‐2802
   301114 MARIE C RAMIREZ MARTINEZ                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301115 MARIE C VAZQUEZ DIAZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715134 MARIE C WALKER ARROYO                       PO BOX 743                                                                                                           CAROLINA            PR           00986
   715135 MARIE C. RIVERA ESPARRA                     PO BOX 2028                                                                                                          AIBONITO            PR           00705

   715136 MARIE CARABALLO MOLINI                      EDIF GONZALEZ               E 17 CALLE TORRIMAR APT 101                                                              MAYAGUEZ            PR           00680
   301117 MARIE COLON QUINONES                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715141 MARIE CORTES RAMIREZ                        P O BOX 921                                                                                                          LAS PIEDRAS         PR           00771
   715142 MARIE CRESPO LOPEZ                          RIO PLANTATION              BZ 11 CALLE 7                                                                            BAYAMON             PR           00961
   301118 MARIE CURET SANTIAGO                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301119 MARIE D FORES JIMENEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301120 MARIE D ORTIZ EMMANUELLI                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715143 MARIE D TORRES GONZALEZ                     HC 02 BOX 6497                                                                                                       ADJUNTAS            PR           00601

   715145 MARIE DE L GARCIA SANTIAGO                  URB DOMINGO RODRIGUEZ       19 CALLE 1                                                                               CIDRA               PR           00739

   715146 MARIE DEL C MIRANDA ALICEA                  HC 01 BOX 4050                                                                                                       ADJUNTAS            PR           00601

   715147 MARIE DEL C PEREZ RODRIGUEZ HC 2 BOX 6802                                                                                                                        ADJUNTAS            PR           00601
   715148 MARIE DIAZ GARCIA           JARD DE BORINQUEN                           W 11 CALLE ROSA                                                                          CAROLINA            PR           00985
   301121 MARIE E CRUZ HURTADO        REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   301122 MARIE E HERNANDEZ MARTINEZ REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIE E IZQUIERDO DBA
   715149 MEIDATA                    PMB 248 1353 CARR 19                                                                                                                  GUAYNABO            PR           00966
   301123 MARIE E MARTINEZ TORRES    REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301124 MARIE E MONSERRATE SOTO    REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301125 MARIE E ROJAS SOLA         REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715153 MARIE E SOSA RODRIGUEZ     URB TERRAZA DEL TOA                          C 7 CALLE 13                                                                             TOA ALTA            PR           00953
   715154 MARIE E TIRADO SUAREZ      URB VISTA AZUL                               MI‐18 CALLE 17 A                                                                         ARECIBO             PR           00612
   301127 MARIE E. GARCIA VEGA       REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   301128 MARIE E. TORRES HERNANDEZ                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715155 MARIE ELAINE ALOISE                         HACIENDA BORIQUEN           907 EMAJAGUA                                                                             CAGUAS              PR           00725
   301129 MARIE F ALVARAO ROIG                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301131 MARIE FORTH MD, ANN                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301132 MARIE FRANCES GONZALEZ                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715156 MARIE G PEREZ RIVERA                        URB EL CORTIJO              G 33 CALLE 10                                                                            BAYAMON             PR           00957
   715157 MARIE GARCIA RODRIGUEZ                      URB CUPEY GARDENS           K9 CALLE 6                                                                               SAN JUAN            PR           00925
          MARIE GONZALEZ / MARIE
   301134 CARRASQUILLO                                REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715158 MARIE GUIVEN LOPEZ                          VIEJO SAN JUAN              59 CALLE EL CRISTO            APTO 2                                                     SAN JUAN            PR           00901
   301135 MARIE I MAISONET ROJAS                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  301136 MARIE I ROIG MENDEZ                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   301137 MARIE I. MUNTANER RODRIGUEZ REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301138 MARIE IVETTE FLORES ORTIZ   REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   715160 MARIE J COLON TORRES                        COND VILLAS DE BAYAMON        500 AVE WEST MAIN SUITE 197                                                              BAYAMON              PR         00961
   301139 MARIE J FELICIANO SEGARRA                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301140 MARIE J MANON TORRES                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301141 MARIE J PEREZ MARTINEZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301142 MARIE J VILLAMAN                            REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301143 MARIE J. NIEVES IRIZARRY                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARIE KOESNODIHARDJO
   301144 MARTINEZ                                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   715163 MARIE L FRAGOSO RODRIGUEZ                   P O BOX 390                                                                                                            BAJADERO             PR         00616
   301146 MARIE L LAINO CEDENO                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301147 MARIE L NIEVES PEREZ                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301148 MARIE L ORTIZ MONZON                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301149 MARIE L PADILLA ARROYO                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301150 MARIE L PAGAN VIDRO                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301151 MARIE L. AYALA ROBLES                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301152 MARIE L. VEGA NIEVES                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   715165 MARIE LABOY DE PADRO                        COND TORRE DE LA REINA PH C   450 AVE PONCE DE LEON                                                                    SAN JUAN             PR         00901
   301153 MARIE LANDE MATHIEU                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301154 MARIE LANTZ                                 REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARIE LEE LOPERENA / MARIA E
   715166 MONTALBAN                                   URB LAGOS DE PLATA            S 24 CALLE 23                                                                            TOA BAJA             PR         00949
   301155 MARIE LEE ROLDAN VIVES                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   301156 MARIE LINDA ORTIZ MARTINEZ                  REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301158 MARIE LISA TORRES RIVERA                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301159 MARIE LOPEZ RIVERA                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301161 MARIE LOU DE LA LUZ QUILES                  REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARIE LOU FRANCESCHINI‐
   301164 ZAVALA                                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301165 MARIE LYNN MEDINA                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   715168 MARIE LYNN MERCADO                          ALT DE VEGA BAJA              BB 28 CALLE AA                                                                           VEGA BAJA            PR         00693
          MARIE LYNN MERCADO
   301166 MARCHAND                                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARIE MELANIE GRANDONE
   301167 GODREAU                                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARIE MICHELLE BINGEN
   715170 CANALES                                     PO BOX 9021112                                                                                                         SAN JUAN             PR         00902‐1112
   301168 MARIE MOYET RAMOS                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   715171 MARIE N CRUZ AYALA                          84 CALLE DEL RIO CARR347                                                                                               SAN GERMAN           PR         00683
   715172 MARIE O' BRIEN                              P O BOX 5766                                                                                                           LOIZA                PR         00772
   715173 MARIE O MOLINA ORTIZ                        HC 03 BOX 5987                                                                                                         HUMACAO              PR         00791‐9508
   301169 MARIE O. MOLINA ORTIZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   715174 MARIE OLGA FIGUEROA RIVERA                  VILLA DE LA ESPERANZA `                                                                                                JUANA DIAZ           PR         00795‐9627
   301170 MARIE OLGA SANTOS MOLINA                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301171 MARIE ORTIZ                                 REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  301172 MARIE ORTIZ ROSARIO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301173 MARIE ORTIZ SEDA                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301174 MARIE P. RIVERA ESPINOSA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301175 MARIE QUINONES CRUZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  715175 MARIE R CRUZ BURGOS                          URB METROPOLIS              AVE D 2 T 9                                                                       CAROLINA            PR         00987
  301176 MARIE RIOS REYES                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301177 MARIE RODRIGUEZ BERTRAN                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301178 MARIE S RIVERA LOPEZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MARIE SANCHEZ / SEAN PAUL
  715176 GUARDIOLA                                    MONTECILLO COURT            APT 4609                                                                          TRUJILLO ALTO       PR         00976
  301179 MARIE SUREDA CASELLAS                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  715177 MARIE TERE MELENDEZ TYA                      PO BOX 905                                                                                                    VILLALBA            PR         00766
  301180 MARIE V COLON CINTRON                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   715179 MARIE V RIVERA RIVERA                       232 AVE ELEONOR ROOSEVELT                                                                                     SAN JUAN            PR         00907
   301181 MARIE V ROSADO SUAREZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301182 MARIE Y. MORALES SANTOS                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715121 MARIE YORDAN MALDONADO                      URB RIO CA¥AS               1728 CALLE CRISTAL                                                                PONCE               PR         00728
   301183 MARIE Z DIAZ ROMAN                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301184 MARIE Z. ROLON                              REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      COND LOS ALMENDROS PLAZA
   715182 MARIE ZAIDA RIVERA COLON                    TORRES 2                    APT 606                                                                           SAN JUAN            PR         00924

   715183 MARIEANNE PEROCIER AGUIRRE PO BOX 195326                                                                                                                  SAN JUAN            PR         00919‐5326
   301185 MARIECEL MALDONADO         REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   715185 MARIECHARY MALDONADO RUIZ PO BOX 816                                                                                                                      UTUADO              PR         00641
   301186 MARIED SANTOS QUINONES    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   715186 MARIED Y VAZQUEZ RODRIGUEZ M 301 VILLAS DE MAYAGUEZ                                                                                                       MAYAGUEZ            PR         00680
   715187 MARIEDI JIMENEZ TRESE      1064 CALLE LA ROSA                                                                                                             SAN JUAN            PR         00907

   715188 MARIEDNA CINTRON FIGUEROA                   HC 1 BOX 7583                                                                                                 CANOVANAS           PR         00729
          MARIEELY MALDONADO
   301188 RODRIGUEZ                                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301189 MARIEGINA TORO PADILLA                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301190 MARIEL A TORRES FELICIANO                   REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301192 MARIEL ALAMEDA MORALES                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715189 MARIEL ALAMEDA MORALES                      PO BOX 1087                                                                                                   TRUJILLO ALTO       PR         00977
   715190 MARIEL ALVAREZ                              JARD DE COUNTRY CLUB       AK 8 CALLE 43                                                                      CAROLINA            PR         00983
   301193 MARIEL APONTE ROSADO                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715191 MARIEL BELLO NARVAEZ                        URB LOS ANGELES            Q 7 CALLE O                                                                        CAROLINA            PR         000979
   715192 MARIEL BENABE PEREZ                         18 BDA LAS FLORES                                                                                             RIO GRANDE          PR         00745
                                                      1 COND JARD METROPOLITANOS
   715193 MARIEL BERRIOS SANTINI                      APT 14D                                                                                                       SAN JUAN            PR         00927
   715194 MARIEL BONILLA MARTINEZ                     BOX 1342                                                                                                      AGUADA              PR         00602
   715196 MARIEL CABRERA CANCEL                       VILLA DE CANEY             R3 CALLE 21                                                                        TRUJILLO ALTO       PR         00976
   301194 MARIEL CAMACHO CRUZ                         REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301195 MARIEL CARDENAS PAREDES                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   715197 MARIEL CASTRO ENCARNACION                   HC 01 BOX 11287                                                                                               CAROLINA            PR         00987
   715198 MARIEL CESPEDES LOPEZ                       VILLA FONTANA               JL 17 VIA 24                                                                      CAROLINA            PR         00983
   301196 MARIEL COLLAZO OTERO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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MML ID              NAME                                         ADDRESS 1                   ADDRESS 2                     ADDRESS 3                           ADDRESS 4              CITY       STATE     POSTAL CODE       COUNTRY
  301197 MARIEL COLON ELIZA                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301198 MARIEL COLON MIRO                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301199 MARIEL CRUZ CRUZ                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301200 MARIEL CRUZ SANCHEZ                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301201 MARIEL CUEVAS RAMIREZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301202 MARIEL D SANCHEZ PEREZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MARIEL D TORRES
  301203 ACEVEDO/MARITZA ACEVEDO                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   715202 MARIEL DEL C BARRETO ROMAN PO BOX 4828 SAN ANTONIO                                                                                                               QUEBRADILLAS        PR         00978
          MARIEL DEL C MARTINEZ
   715203 ARROYO                     BRISAS DE MONTECASINO                        616 CALLE CASABE                                                                         TOA ALTA            PR         00953‐3847

   301204 MARIEL DEL C RIVERA TORRES                  REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715204 MARIEL DIAZ SANTOS                          BO RABANAL                  CARR 173 KM 6 6                                                                          CIDRA               PR         00739
   301205 MARIEL E RIOS CRUZ                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301206 MARIEL FERREIRA GARCIA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715205 MARIEL G. RIVERA VARGAS                     PO BOX 645                                                                                                           MERCEDITA           PR         00715‐0645
   301207 MARIEL GONZALEZ LOPEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715206 MARIEL HERNANDEZ FERRER                     4 HERNANDEZ CALLE A                                                                                                  MOCA                PR         00676

   715207 MARIEL HERNANDEZ MONAGAS P O BOX 7003                                                                                                                            PONCE               PR         00732

   301208 MARIEL HERNANDEZ MORALES                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIEL I RIVERA ORTIZ/DIEGA I
   715208 ORTIZ                                       PO BOX 1057                                                                                                          AIBONITO            PR         00705
          MARIEL IDELFONSO
   715209 CONCEPCION                                  HC 33 BOX 5722                                                                                                       DORADO              PR         00646
   715210 MARIEL ISERN PEREZ                          HC 33 BOX 3175                                                                                                       DORADO              PR         00646

   715211 MARIEL J FERNANDEZ SANTANA                  PO BOX 619                                                                                                           SAN GERMAN          PR         00683
   715212 MARIEL J VELAZQUEZ FERRER                   URB BORINQUEN               EE 8 CALLE 9                                                                             CABO ROJO           PR         00623
          MARIEL JIRELYS MONTES
   301210 SANTIAGO                                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301211 MARIEL M VAZQUEZ MUNIZ                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715214 MARIEL MACHADO RUIZ                         743 MAR DE BENGAL                                                                                                    DORADO              PR         00646
                                                                                  500 WEST MAIN SUITE 227 APT
   715216 MARIEL MARTINEZ ORTIZ                       VILLAS DE BAYAMON           3D 5                                                                                     BAYAMON             PR         00961
   715217 MARIEL MATOS ECHEVARRIA                     BDA GUYDIA                  69 CALLE EPIFANIO PRESAS                                                                 GUAYANILLA          PR         00656
          MARIEL MENDOZA DBA
   301212 PSYCHOCOLOGY & LEARNI                       CALLE MARGINAL OESTE 3615   LEVITTOWN LALGES                                                                         TOA BAJA            PR         00949
   301213 MARIEL MENDOZA ROBLES                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   301214 MARIEL MONTALVO GONZALEZ                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715218 MARIEL NARVAEZ SANCHEZ                      REPARTO METROPOLITANO       1031 CALLE 17 SE                                                                         SAN JUAN            PR         00921
   715219 MARIEL NEGRON CENTENO                       BOX 419                                                                                                              CIDRA               PR         00739
   301215 MARIEL NEGRON FELIX                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715221 MARIEL NIEVES CLASSEN                       HC 02 BOX 12013                                                                                                      ARECIBO             PR         00612

   301216 MARIEL NIGAGLIONI LORENZO                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301217 MARIEL PEREZ                                REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301225 MARIEL RIOS HEREDIA                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301226 MARIEL RIOS HERNANDEZ                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  715223 MARIEL RIVERA MORALES                        URB REPTO UNIVERSIDAD   A 75 CALLE 8                                                                      SAN GERMAN        PR         00683
  301227 MARIEL RODRIGUEZ GARCIA                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   715224 MARIEL RODRIGUEZ RODRIGUEZ URB LA LULA                              G 19 CALLE 6                                                                      PONCE             PR         00730
   301228 MARIEL ROMAN BONEW         REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   301229 MARIEL SANTIAGO ROSARIO    REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   715226 MARIEL SERRANO             402 CALLE PABELLONES                                                                                                       TOA BAJA          PR         00949
   301230 MARIEL SILVA MUSALEM       REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   715227 MARIEL SOSA RAMIREZ        C.S.M. BAYAMON                                                                                                             Hato Rey          PR         00936
   301231 MARIEL SOTO IRIZARRY       REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   301232 MARIEL SOTO RUIZ           REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   715228 MARIEL TORRES FIGUEROA     RES LUIS LLOREN TORRES                   EDF 101 APT 1918                                                                  SAN JUAN          PR         00913
   301233 MARIEL TORRES LARA         REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   301234 MARIEL TORRES LOPEZ        REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   715229 MARIEL VAZQUEZ QUILES      URB LA ESPERANZA                         N 30 CALLE 13                                                                     VEGA ALTA         PR         00692
   301236 MARIEL VEGA AGOSTO         REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   301237 MARIEL VELAZQUEZ ACOSTA    REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   715230 MARIEL VILLANUEVA PEREZ    HC 1 BOX 3037                                                                                                              SABANA HOYOS      PR         00688

   715231 MARIEL WARRINGTON COLON                     BALBOA TOWNHOUSES       L 99 CALLE 517                                                                    CAROLINA          PR         00985
   301239 MARIEL Z LUCIANO NEGRON                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   301240 MARIELA A COLLAZO GONZALEZ                  REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   301241 MARIELA ADORNO FIGUEROA                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   715234 MARIELA AGOSTO MONTES                       COND SAN ANTON          300 CARR 848 APT 201                                                              CAROLINA          PR         00987
   715235 MARIELA ALBARRAN CRESPO                     HC 3 BOX 11210                                                                                            UTUADO            PR         00641

   301242 MARIELA ALEJANDRO SERRANO                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   715232 MARIELA ALICEA FELIX                        PMB 119                 PO BOX 6400                                                                       CAYEY             PR         00737
   301243 MARIELA ALVARADO ORTIZ                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   715237 MARIELA ANCA SANTIAGO                       HC 4 BOX 8575                                                                                             UTUADO            PR         00641‐9522

   715238 MARIELA APONTE RODRIGUEZ                    REPARTO VALENCIA        J 47 CALLE 11                                                                     BAYAMON           PR         00957
   301244 MARIELA ARROJO DE ARMAS                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   301245 MARIELA AVILES RODRIGUEZ                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   715239 MARIELA BERNAL IRIZARRY                     URB VISTA AZUL          V 14 CALLE 25                                                                     ARECIBO           PR         00612
          MARIELA C FIGUEROA /
   715240 ALONDRA M VEGA                              URB LEVITTOWN           C VIRGILIO DAVILA                                                                 TOA BAJA          PR         00949
   301246 MARIELA CABAN TORRES                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARIELA CANDELARIO
   715242 MAYSONET                                    LEVITTOWN               N 31 CALLE LUISA                                                                  TOA BAJA          PR         00949
   301247 MARIELA CAPACETE                            REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   715243 MARIELA CARABALLO REYES                     46 CALLE HOSTOS                                                                                           GUAYAMA           PR         00784

   301248 MARIELA CASTILLO GONZALEZ                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   301250 MARIELA CEPERO PAGAN                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   301252 MARIELA COLON ARCAY                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   301253 MARIELA COLON BURGOS                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   715246 MARIELA COLON DIAZ                          P O BOX 266                                                                                               UTUADO            PR         00641
   301254 MARIELA COLON HERNANDEZ                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   301255 MARIELA CRUZ CRUZ                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   715248 MARIELA CRUZ MALDONADO                      HC 1 BOX 4476                                                                                             VILLALBA          PR         00766




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MML ID                    NAME                                   ADDRESS 1                    ADDRESS 2                   ADDRESS 3                          ADDRESS 4               CITY          STATE   POSTAL CODE        COUNTRY

   301256 MARIELA D PANTOJA PANTOJA                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   301257 MARIELA D. PRENSA MONTERO                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   715249 MARIELA DE FELIX DAVILA                     URB MILAVILLA                59 CALLE JAGUAS                                                                       SAN JUAN             PR           00924
   715250 MARIELA DECLET TORRES                       PO BOX 1508                                                                                                        OROCOVIS             PR           00720
   301258 MARIELA DEL C LOPEZ RUIZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIELA DEL C. RODRIGUEZ
   301259 MALDONADO                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   301261 MARIELA E PAYANO VASQUEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      3071 AVE ALEJANDRINO SUITE
   715251 MARIELA E VALLES DIAZ                       228                                                                                                                GUAYNABO             PR           00969
   715253 MARIELA FANTAUZZY                           BO BEJUCALES                 7 LAS MARGARITAS                                                                      ISABELA              PR           00662
   301262 MARIELA FELICIANO BADILLO                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   301263 MARIELA FIGUEROA GUINDIN                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   301264 MARIELA FIGUEROA RODRÍGUEZ REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   301265 MARIELA GARCIA DAVILA      REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   715255 MARIELA GARCIA RAMOS       HC 01 BOX 6535                                                                                                                      AIBONITO             PR           00705

   301266 MARIELA GAUTHIER FIGUEROA                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   301267 MARIELA GIL RODRIGUEZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   301268 MARIELA GONZALEZ ROSADO                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   715256 MARIELA GONZALEZ TORRES                     URB CONDADO MODERNO          G 4 CALLE 45                                                                          CAGUAS               PR           00725
   301270 MARIELA GUADALUPE ITHIER                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   301271 MARIELA GUERRA ALVAREZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   715259 MARIELA HUERTAS RAMOS                       ALTURAS DE VILLA DEL REY     F 53 CALLE 34 A                                                                       CAGUAS               PR           00725
                                                      URB LAS PALMAS DE CERRO
   715260 MARIELA I HUERTAS RIVERA                    GORDO                        135 CALLE REAL                                                                        VEGA ALTA            PR           00692
   301272 MARIELA I REYES OTERO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIELA I RODRIGUEZ
   301273 RODRIGUEZ                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   715261 MARIELA JIMENEZ LOPEZ                       137 CALLE MAYAGUEZ           APTO 205                                                                              SAN JUAN             PR           00917
   301274 MARIELA JORGE ORTIZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   715263 MARIELA LARACUENTE TORRES                   PO BOX 272                                                                                                         MOROVIS              PR           00687
   715264 MARIELA LEON REYES                          PO BOX 400                                                                                                         VILLALBA             PR           00766
   301275 MARIELA LEON VELAZQUEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   715265 MARIELA LEVIS SERRACANTE                    COND CROWNE PLAZA            1360 LUCHETTI APT 3                                                                   SAN JUAN             PR           00907
   301276 MARIELA LUGO MARIN                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIELA MAESTRE
   715266 GUADARRAMA                                  PO BOX 8034                                                                                                        BAYAMON              PR           00960

   301277 MARIELA MANZANARES ANGULO REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   301278 MARIELA MARQUEZ PANTOJA   REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   715267 MARIELA MARTINEZ MARRERO                    URB BRISAS DEL ROSARIO       5415 CALLE ROBERTO CLEMENTE                                                           VEGA BAJA            PR           00693
   301279 MARIELA MEDINA GERENA                       REDACTED                     REDACTED                    REDACTED                           REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   301280 MARIELA MORALES FIGUEROA                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   715268 MARIELA MORALES VAZQUEZ                     PO BOX 372965                                                                                                      CAYEY                PR           00737
   301281 MARIELA MUNOZ PAGAN                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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MML ID                    NAME                                   ADDRESS 1               ADDRESS 2              ADDRESS 3                           ADDRESS 4              CITY          STATE   POSTAL CODE        COUNTRY

   301282 MARIELA N IRIZARRY RODRIGUEZ REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301283 MARIELA NIEVES RODRIGUEZ     REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301284 MARIELA NUNEZ DE JESUS       REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301285 MARIELA ORTIZ CASTILLO       REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715270 MARIELA ORTIZ COSME          VILLA DEL ENCANTO                      C 4 CALLE 2                                                                       JUANA DIAZ          PR           00795
   715271 MARIELA ORTIZ CRUZ           HC 2 BOX 8820                                                                                                            CIALES              PR           00638
   301286 MARIELA ORTIZ TORRES         REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301287 MARIELA PAGAN MARTINEZ       REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715272 MARIELA PANTOJA PANTOJA      URB SAN VICENTE                        127 C/ 6                                                                          VEGA BAJA           PR           00693
   301288 MARIELA PEREZ LUGO           REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715273 MARIELA PEREZ MARRERO        P O BOX 1191                                                                                                             CIALES              PR           00638
   301289 MARIELA PINERO OFARRIL       REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715274 MARIELA PIZARRO PIZARRO      HC 01 BOX 7607                                                                                                           LOIZA               PR           00772 9743

   301290 MARIELA QUINONES SANTIAGO                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   301291 MARIELA R HERNANDEZ CAJIGAS REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301292 MARIELA RAMOS HERNANDEZ     REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIELA RAQUEL HERNANDEZ
   301293 CAJIGAS                     REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301294 MARIELA RIVERA GALARZA      REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301295 MARIELA RIVERA ORTIZ        REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715277 MARIELA RIVERA VEGA         BAIROA PARK                             M 1 PARQUE DELICIAS                                                               CAGUAS              PR           00725

   301299 MARIELA RODRIGUEZ ALVAREZ                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   715281 MARIELA RODRIGUEZ PADILLA                   P O BOX 1066                                                                                              YAUCO               PR           00698

   301300 MARIELA ROMAN HERNANDEZ                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715282 MARIELA ROMAN MORALES                       HC 1 BOX 8116                                                                                             AGUAS BUENAS        PR           00703
   301301 MARIELA ROSARIO FIGUEROA                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301302 MARIELA ROSARIO PAULINO                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715283 MARIELA ROSARIO SANTANA                     URB VALLES DE YABUCOA   816 CALLE YUQUILLO                                                                YABUCOA             PR           00767
   715284 MARIELA RUIZ ARCE                           PO BOX 2525 SUITE 61                                                                                      UTUADO              PR           00641
   715285 MARIELA SANTIAGO AVILES                     HC 03 BOX 9856                                                                                            LARES               PR           00669

   715286 MARIELA SECRETARIAL SERVICES URB LA PROVIDENCIA                     1 P‐9 CALLE 9                                                                     TOA ALTA            PR           00953
          MARIELA SERRANO / MARIA T
   715287 GONZALEZ                     EL NARANJAL LEVITTOWN                  E 8 CALLE 2                                                                       TOA BAJA            PR           00949
   301303 MARIELA SOSA HERNANDEZ       REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715288 MARIELA SOTO                 SECTOR CUBA BOX 1125                                                                                                     MAYAGUEZ            PR           00680
   301305 MARIELA TORRES ADORNO        REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301306 MARIELA TORRES DEL VALLE     REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715233 MARIELA TORRES MARTINEZ      PILETAS ARCE                           HC 01 BOX 3716                                                                    LARES               PR           00669

   301308 MARIELA TORRES MONTESINO                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301309 MARIELA TORRES RODRIGUEZ                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715290 MARIELA TOSADO MARZAN                       PO BOX 232                                                                                                TOA ALTA            PR           00954
   301311 MARIELA V DECLET PEREZ                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   301312 MARIELA VALLINES FERNANDEZ                  REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256664 MARIELA VAZQUEZ NAZARIO                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  715291 MARIELA VEGA LOPEZ                           COLINAS METROPOLITANA     K 15 CALLE TORRECILLAS                                                              GUAYNABO          PR         00969
  301314 MARIELA VELEZ VARGAS                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  301315 MARIELA VIGO AYALA                           REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  301316 MARIELA VILLAFANE NEGRON                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  715292 MARIELAIDA MOYA ARROYO                       PO BOX 609                                                                                                    HATILLO           PR         00659
         MARIELAINE CAUVERTIER
  301318 RODRIGUEZ                                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  715294 MARIELAINE VELEZ FOURNIER                    URB EL CAFETAL            E 22 CALLE 5                                                                        YAUCO             PR         020698
  301319 MARIELBA AGOSTO MUJICA                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  715296 MARIELBA LOPEZ VAZQUEZ                       ALT DE FLAMBOYAN          EE 21 CALLE 18                                                                      BAYAMON           PR         00961
  301320 MARIELEE RIVERA OTERO                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  301321 MARIELEM PADILLA COTTO                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         MARIELENA MARTINEZ                           MARIELENA MARTINEZ
  715298 MALDONADO                                    MALDONADO                 PO BOX 3066                                                                         LAJAS             PR         00667
  715299 MARIELENA RAMIREZ NIDO                       PRADO ALTO                J 10 CALLE 1                                                                        GUAYNABO          PR         00966
  715301 MARIELI ALVAREZ ULLOA                        PO BOX 40099                                                                                                  SAN JUAN          PR         00940‐0099
  301323 MARIELI COLLAZO VEGA                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  715302 MARIELI DAVILA PEREZ                         HC 02 BOX 4055                                                                                                COAMO             PR         00769
  301324 MARIELI GARCIA MORENO                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   715303 MARIELI GONZALEZ SANTIAGO                   PARCELAS SUSUA            158 CALLE CRISTALES A                                                               SABANA GRANDE     PR         00637

   715304 MARIELI LAUSELL HERNANDEZ                   URB CROWN HILLS           164 CALLE CARITE                                                                    SAN JUAN          PR         00926
   301325 MARIELI M TORRES MORALES                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   301326 MARIELI MIRANDA NIEVES                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   715305 MARIELI RIOS MARTI                          URB VISTA DE CAMUY        G 14 CALLE 6                                                                        CAMUY             PR         00627
   715306 MARIELI RIOS PEREZ                          PO BOX 3002                                                                                                   YAUCO             PR         00968
   301327 MARIELI RODRIGUEZ CORTES                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   715307 MARIELI VARGAS GONZALEZ                     1RA SECION LEVITOWN       V 1677 PASEO DORADO                                                                 TOA BAJA          PR         00949
   301330 MARIELIS ADORNO RIVERA                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   301331 MARIELIS ANDRADES TELLERIA                  REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   301332 MARIELIS BAEZ RIJOS                         REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   715308 MARIELIS BURGOS MELENDEZ                    COND JARD DE CAPARRA      APT 401                                                                             BAYAMON           PR         00959
   715309 MARIELIS CASTRO MORALES                     PO BOX 51144                                                                                                  LEVITTOWN         PR         00950

   715310 MARIELIS GONZALEZ MARRERO                   HC 2 BOX 20469                                                                                                MAYAGUEZ          PR         00680
   715311 MARIELIS GONZAZLEZ COLON                    HC 01 BOX 3104                                                                                                FLORIDA           PR         00650
   301333 MARIELIS GUERRA ROSADO                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   301334 MARIELIS GUZMAN SANCHEZ                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   715312 MARIELIS LEON ROSADO                        LAGOS DE PLATA            C/13 O‐19                                                                           TOA BAJA          PR         00949

   301335 MARIELIS LLORET HERNANDEZ                   REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   715313 MARIELIS LOPEZ RODRIGUEZ                    BDA MARIN                 174 A CALLE 3                                                                       GUAYAMA           PR         00784
   301336 MARIELIS M CORREA AGUILA                    REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   301338 MARIELIS MORALES CEDENO                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   301339 MARIELIS ORTIZ MARTINEZ                     REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   301340 MARIELIS RIVERA COSME                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   301341 MARIELIS RIVERA OCASIO                      REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   715314 MARIELIS RIVERA ORTIZ                       PARC BAYAMONCITO          CARR 156 KM 4.2                                                                     AGUAS BUENAS      PR         00703
   715315 MARIELIS RIVERA RIVERA                      URB MONTECASINO HEIGTHS   200 CALLE GUAMANI                                                                   TOA ALTA          PR         00953
   301342 MARIELIS ROMAN PLAZA                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   301343 MARIELIS ROSADO ORTIZ                       REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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   715316 MARIELIS SANTIAGO RODRIGUEZ P O BOX 490                                                                                                                       VILLALBA            PR           00766
   301344 MARIELIS SOTO BARRETO       REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715317 MARIELIS SOTO NEGRON        HC 1 BOX 2965                                                                                                                     MOROVIS             PR           00687
   301345 MARIELIS SUAREZ COLON       REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715318 MARIELIS ZAYAS GONZALEZ     URB MONACO 3                               CALLE GRACE 448                                                                        MANATI              PR           00674
                                                                                 F2 CAMN LS MRGRTS URB PASEO
   715319 MARIELISA GARCIA QUINONES                   PASEO DEL PRADO            DEL PRA                                                                                SAN JUAN            PR           00926
   301348 MARIELISA LOPEZ MORALES                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301350 MARIELISA ORTIZ BERRIOS                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301351 MARIELISA TORRES OCASIO                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301353 MARIELIZ ANDREU MORALES                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301354 MARIELIZ ARROYO FIGUEROA                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301356 MARIELIZ BERIO ROUSSEL                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301357 MARIELIZ CURBELO MOLINA                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301358 MARIELIZ MENDEZ CRESPO                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715321 MARIELIZ NARVAEZ VALENTIN                   ABRA DEL PIMIENTO BOX 71                                                                                          BARCELONETA         PR           00617

   301359 MARIELIZ V ALONSO CALDERON REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   301360 MARIELKA ALVAREZ QUINONES                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   715322 MARIELLE RIVERA RODRIGUEZ                   HC 2 BOX 6381                                                                                                     BARRANQUITAS        PR           00794

   715323 MARIELLE RODRIGUEZ OCASIO                   PO BOX 9167                                                                                                       BAYAMON             PR           00960
   715324 MARIELLI MORO ORTIZ                         URB ENTRERIOS              173 CALLE PLAZA MARISOL                                                                TRUJILLO ALTO       PR           00976
   301363 MARIELLY ALICE LOPEZ                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   715326 MARIELLY ALICEA LOPEZ                       URB LEVITTOWN              DU 17 CALLE LAGO GUAYABAL   5TA SECCION                                                TOA BAJA            PR           00949
   301364 MARIELLY COLON                              REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715328 MARIELLY COTTO TORRES                       URB JARDINES II            E 6 CALLE YAZMIN                                                                       CAYEY               PR           00736
   301366 MARIELLY CRUZ NEGRON                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715329 MARIELLY CUEVAS TORRES                      JARD DEL CARIBE            YY 15 CALLE 55                                                                         PONCE               PR           00731

   301367 MARIELLY E VELAZQUEZ TORT                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIELLY ESCALANTES
   301368 SILVESTRE                                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   301369 MARIELLY GONZALEZ CHARDON                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715330 MARIELLY GONZALEZ CRIADO                    PO BOX 221                                                                                                        VILLALBA            PR           00766
   715331 MARIELLY MERCADO TORRES                     PO BOX 888                                                                                                        MOROVIS             PR           00687
          MARIELLY RODRIGUEZ
   715332 MARTINEZ                                    HC 2 BOX 9936                                                                                                     AIBONITO            PR           00705
   301370 MARIELLY SIERRA MERCADO                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301372 MARIELLY SOTO LOPEZ                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715333 MARIELMI HERNANDEZ                          PERLA DEL SUR              CALLE LAS CARROZAS                                                                     PONCE               PR           00717‐0410
          MARIELMIRA GUADALUPE
   715334 FELICIANO                                   FRENCH PLAZA               81 CALLE MAYAGUEZ APT 421                                                              SAN JUAN            PR           00906
   301373 MARIELSIE AVILA NEGRON                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301374 MARIELSIE NAVEDO ROSADO                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715335 MARIELY ALEMAN SALGADO                      4TA EXT COUNTRY CLUB       MY 3 CALLE 436                                                                         CAROLINA            PR           00982
   301375 MARIELY APONTE FEBUS                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715336 MARIELY CARTAGENA VEGA                      HC 44 BOX 12903                                                                                                   CAYEY               PR           00736



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  715337 MARIELY CID FUENTES                          URB SANS SAUCI              J 7 CALLE 15                                                                       BAYAMON              PR         00956
  301376 MARIELY COLON SANTIAGO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  715338 MARIELY CORREA AQUINO                        PO BOX 141356                                                                                                  ARECIBO              PR         00614
  301377 MARIELY COSME RODRIGUEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  715339 MARIELY ECHEVARRIA RIVERA                    URB LOS CAOBOS              3041 CALLE CARAMBOLA                                                               PONCE                PR         00731
  715340 MARIELY FELICIANO RIVERA                     HC 83 BOX 6553              BO SABANA HOYOS                                                                    VEGA ALTA            PR         00692
  301379 MARIELY FERNANDEZ GARCIA                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   301380 MARIELY M APONTE RODRIGUEZ REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARIELY MALDONADO
   715342 MARENGO                    HC 1 BOX 4055                                                                                                                   UTUADO               PR         00641‐9605
   715343 MARIELY MARTINEZ BURGOS    HC 02 BOX 7608                                                                                                                  OROCOVIS             PR         00720
   715344 MARIELY MAS COLON          URB LA VISTA                                 K 7 CALLE VIA ALTURAS                                                              SAN JUAN             PR         00924
   715345 MARIELY MORALES CINTRON    PO BOX 192079                                                                                                                   SAN JUAN             PR         00919‐2079
   301381 MARIELY MUNIZ DIAZ         REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301382 MARIELY NIEVES RIVERA      REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   715346 MARIELY OLIVERO GUADALUPE                   JARD DE CAROLINA            I 36 CALLE I                                                                       CAROLINA             PR         00987
   301383 MARIELY ORTIZ BLANCO                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301384 MARIELY ORTIZ CINTRON                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   715347 MARIELY ORTIZ CRUZ                          URB BUENAVENTURA            1246 CALLE MAGNOLIA                                                                MAYAGUEZ             PR         00682 1262
   715349 MARIELY ORTIZ MELENDEZ                      URB VILLA MADRID            CALLE 5 K 2                                                                        COAMO                PR         00769
   715350 MARIELY PAGAN COLLAZO                       HC 1 BOX 3450                                                                                                  VILLALBA             PR         00766
   301386 MARIELY QUILES MUNOZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301387 MARIELY QUILES SANTIAGO                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301388 MARIELY RAMOS DE JESUS                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301389 MARIELY RAMOS NUNEZ                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   715351 MARIELY RIVERA HERNANDEZ                    2 COND SKY TOWER            APT J 7                                                                            SAN JUAN             PR         00901
   301390 MARIELY RIVERA LEBRON                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   715354 MARIELY RIVERA PIZARRO                      HC 61 BOX 4331                                                                                                 TRUJILLO ALTO        PR         00976
   301391 MARIELY RIVERA RODRIGUEZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301393 MARIELY RIVERA ROSADO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   715357 MARIELY RODRIGUEZ ROMERO                    HC 1 BOX 3354                                                                                                  SALINAS              PR         00751‐9702

   301395 MARIELY ROSADO MALDONADO                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   715359 MARIELY SERRANO                             P O BOX 1055                                                                                                   BARRANQUITAS         PR         00794
   715360 MARIELY SOLER VAZQUEZ                       URB VILLA NEVAREZ           1037 CALLE 8                                                                       SAN JUAN             PR         00927
   301397 MARIELY TORRES REYES                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301398 MARIELY V LOTTI RODRIGUEZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   715362 MARIELY VAZQUEZ SANTOS                      HC 03 BOX 8093                                                                                                 BARRANQUITAS         PR         00794
   715363 MARIELY VEGA FELICIANO                      SECTOR CANDELARIA           SECTOR HOYOS                                                                       ARECIBO              PR         00688
   301399 MARIELY VELAZQUEZ CRUZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   715364 MARIELY VICENTE RIVERA                      EXT VILLAS DEL PILAR        C 9 CALLE 2                                                                        CEIBA                PR         00735
   715365 MARIELYN FEBRES ROMERO                      HC 3 BOX 12566                                                                                                 CAROLINA             PR         00987
   301400 MARIELYS ALICEA SANTIAGO                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   715366 MARIELYS ALVELO RODRIGUEZ                   PARCELAS TORRECILLAS        95 JUAN E RIVERA                                                                   MOROVIS              PR         00687
   301401 MARIELYS AUSUA MORALES                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   715367 MARIELYS BRACERO COLON                      232 AVE ELEONOR ROOSEVELT                                                                                      SAN JUAN             PR         00907
   301402 MARIELYS CANCEL FELICIANO                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   715368 MARIELYS CHEVERE ORTEGA                     PO BOX 21365                                                                                                   SAN JUAN             PR         00928



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  715369 MARIELYS D GIRONE LOZADA                     PO BOX 8944                                                                                                   BAYAMON             PR         00960
  301403 MARIELYS DE JESUS OSORIO                     REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  715370 MARIELYS MENDEZ GARCIA                       CPMD ALAMEDA TOWERS   TORRE 3 APT 1108                                                                        SAN JUAN            PR         00921

   301404 MARIELYS OLMEDA QUINONES                    REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715371 MARIELYS ORTIZ COTTO                        BO INGENIO            215 CALLE PRINCIPAL PACELA                                                              TOA BAJA            PR         00949

   301405 MARIELYS OTERO MALDONADO                    REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301406 MARIELYS PABON VALDEZ                       REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715372 MARIELYS REYES RODRIGUEZ                    P O BOX 359                                                                                                   VILLALBA            PR         00766
   301407 MARIELYS RODRIGUEZ ORTIZ                    REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715373 MARIELYS TORRES DIAZ                        HC 01 BOX 7075                                                                                                AGUAS BUENAS        PR         00703
   715374 MARIELYSS J ARCE RIVERA                     URB VILLA FONTANA     VIA 19 RR 7                                                                             CAROLINA            PR         00983
   301408 MARIEM L RIVERA KERCADO                     REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301409 MARIEM RODRIGUEZ                            REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301410 MARIEM RODRIGUEZ COLON                      REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301411 MARIEM RODRIGUEZ FERRER                     REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   301412 MARIEMILY GONZALEZ BURGOS                   REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715375 MARIEMMA LOPEZ ROSARIO                      ARBOLADA              B 5 CALLE LAUREL SABINO                                                                 CAGUAS              PR         000727
   301414 MARIEN A TORRES MAISONET                    REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715377 MARIEN AYALA GUEVARA                        URB VILLA CAROLINA    68‐25 CALLE 55                                                                          CAROLINA            PR         00985
          MARIEN EUNICE DELGADO
   301415 MARTI                                       REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715376 MARIEN FELICIANO LANDRAU                    PO BOX 9021696                                                                                                SAN JUAN            PR         00902
   301416 MARIEN J DEL VALLE PARES                    REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715379 MARIEN RODRIGUEZ MORI                       URB LAS ALONDRAS      B 59 CALLE 7                                                                            VILLALBA            PR         00766
   301417 MARIEN TORRES LOPEZ                         REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715380 MARIENELA VARGAS NIEVES                     URB CANA              ZZ 10 CALLE 20                                                                          BAYAMON             PR         00957

   301418 MARIENGELY COLON VELAZQUEZ REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301419 MARIENID ACEVEDO CRUZ      REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301420 MARIENID ACEVEDO REYES     REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301421 MARIENID MEDINA MIRANDA    REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301422 MARIENID PAGAN RIVERA      REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301426 Marienid Roche Colón       REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIENID RODRIGUEZ
   301427 RODRIGUEZ                  REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                     HP ‐ SUPERVISION DE
   715381 MARIENITH MORALES MORALES ENFERMERIA                                                                                                                      RIO PIEDRAS         PR         009360000
   715382 MARIES RESTAURANT          2 CALLE PRINCIPAL                                                                                                              PUNTA SANTIAGO      PR         00741
          MARIESLYN FERNANDEZ
   715383 RODRIGUEZ                  P O BOX 1149                                                                                                                   SAN LORENZO         PR         00735
   715384 MARIETA JUSTINIANO OTERO   PO BOX 1354                                                                                                                    MAYAGUEZ            PR         00681‐1354
   301430 MARIETINA RUBERTE ALICEA   REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301432 MARIETTA COLLAZO LEON      REDACTED                               REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   301433 MARIETTE E TOLEDO SANTANA                   REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIETTE ZAMBRANA
   301434 RODRIGUEZ                                   REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIEVA RODRIGUEZ
   301436 RODRIGUEZ                                   REDACTED              REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715386 MARIEVETTE REYES FELIU                      VALLE ARRIBA HEIGHT   DC16 CALLE 213                                                                          CAROLINA            PR         00984



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          MARIEZEL ALEJANDRO
   715387 ESCRIBANO                                   VALLE ARRIBA HEIGHTS       CJ 10 CALLE 138                                                                       CAROLINA            PR           00938
   715388 MARIFE GRACIANI                             VILLA CAROLINA             208‐18 CALLE 510                                                                      CAROLINA            PR           00985
   301438 MARIFE ROMAN RIVERA                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   715390 MARIFEL N MADERA BARBOSA                    P O BOX 201                F 1 VILLAS DE LAVADERO                                                                HORMIGUEROS         PR           00660

   715391 MARIFELI VALCOURT GONZALEZ                  JARD DE CAGUAS             B62 CALLE C                                                                           CAGUAS              PR           00725
          MARIGHELLA QUINTANA
   301439 FIGUEROA                                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIGLORIA PACHECO
   301440 RODRIGUEZ                                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301442 MARIGLORIA ROSARIO ORTIZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   715394 MARIGLORY COTTO RODRIGUEZ                   URB APONTE A 22            CALLE 7                                                                               CAYEY               PR           00736
   301443 MARIGLORY ROSA VALDES                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301444 MARIH G ANDREW BERNABE                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIIA DE LOS ANGELES
   715395 HERNANDEZ                                   PO BOX 1834                                                                                                      GUAYNABO            PR           00970

   301445 MARIJESMAR GONZALEZ VALLE                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIJINIA RODRIGUEZ
   301446 MARTINEZ                                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   715396 MARIJORIE MORENO SANTIAGO HC 03 BOX 32961                                                                                                                    HATILLO             PR           00659

   301447 MARIJUANAIRA RIVERA VARELA REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301449 MARIJULIA CRUZ LOPEZ       REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715397 MARIJULIA RIVERA LAMPON    BLQ 2C‐32 CALLE 51 A                        LOMAS DE CAROLINA                                                                     CAROLINA            PR           00987
   301450 MARIJULIA SANTIAGO CORTES  REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301451 MARIJULIA SEMIDEI PACHECO  REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   301452 MARIJULIE MARTINEZ LOZANO                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   301453 MARILANE TORRES GONZALEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARILDA BRIGNONI
   715399 ECHEVARRIA                                  HC 2 BOX 38014                                                                                                   ARECIBO             PR           00612
   301454 MARILDA MORALES VELEZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301455 MARILDA SANTANA SANTOS                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   301456 MARILEANA MUNOZ VALENTIN                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301457 MARILEEN NIEVES TORRES                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   301458 MARILEIDA GONZALEZ ARROYO                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715402 MARILEN MACHIN PAGAN                        HC 40 BOX 43347                                                                                                  SAN LORENZO         PR           00754
   715403 MARILENA LIBORIO URBINA                     SANTA HELENA               H 28 CALLE 6                                                                          BAYAMON             PR           00957
   715404 MARILESY SANTIAGO JIMENEZ                   PO BOX 6364                                                                                                      SAN JUAN            PR           00914
   301459 MARILEYDA MORALES                           REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301460 MARILEYNE TORRES TORRES                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715405 MARILI RODRIGUEZ GARCIA                     P O BOX 5311 CUC STATION                                                                                         CAYEY               PR           00737
   715406 MARILIA ACEVEDO TORRES                      COND PLAZA ANTILLANA       151 CALLE CESAR GONZALEZ   APTO 2001                                                  SAN JUAN            PR           00918
   715408 MARILIA BADILLO FELICIANO                   URB MEDINA                 Y 10 CALLE 1                                                                          ISABELA             PR           00662
   715409 MARILIA BATISTA ANJUJAR                     LA OLIMPIA                 A 60                                                                                  ADJUNTAS            PR           00601



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  715411 MARILIA D CRUZ CABAN                         COLINAS VERDES              E 17 CALLE 3                                                                      SAN SEBASTIAN        PR         00685
  301461 MARILIA DEL MAR VALE DIAZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   301462 MARILIA GARCIA DE QUEVEDO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   715413 MARILIA GAUTIER RIOS                        HC 1 BOX 20711                                                                                                CAGUAS               PR         00725

   715414 MARILIA MARTINEZ CARDONA                    URB LEVITTOWN               AU 33 CALLE LEONOR                                                                TOA BAJA             PR         00949
          MARILIA MELENDEZ
   715415 CARRASQUILLO                                VILLAS DE LOIZA             II13 CALLE 40                                                                     CANOVANAS            PR         00729
   715416 MARILIA MERINO                              PO BOX 254                                                                                                    ARECIBO              PR         00613
   715417 MARILIA ROSARIO DE JESUS                    URB LEVITTOWN               AP 17 CALLE LYDIA                                                                 TOA BAJA             PR         00949
   715418 MARILIA T VALDES ALVAREZ                    COND JARDINES DE VALENCIA   APTO 506                                                                          SAN JUAN             PR         00923
   715419 MARILIA TORRES SANCHEZ                      VILLAS DE RIO GRANDE        V 24 CALLE 14                                                                     RIO GRANDE           PR         00745
   715420 MARILIA VEGA TORRES                         COND BOSQUE REAL            840 CARR 877 APT 311                                                              SAN JUAN             PR         00926
   301464 MARILIA VELEZ LAMOURT                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301465 MARILIA Y VALENTIN OCASIO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301466 MARILIAN CANALS RIVERA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301467 MARILIANA REMIGIO                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301468 MARILIANA REYES MATOS                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   301470 MARILIANA RODRIGUEZ ASTACIO REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   715422 MARILIN ACEVEDO             BO SABANA HOYOS                             610 SECTOR RIACHUELO                                                              ARECIBO              PR         00688
   715423 MARILIN ALEJANDRO CASTRO    RR 36 BOX 6193                                                                                                                SAN JUAN             PR         00926
   715424 MARILIN DIAZ CABAN          PO BOX 1237                                 SAINT JUST                                                                        CAROLINA             PR         00978
   715425 MARILIN DIAZ MERCADO        JARDINES DE GURABO                          233 CALLE 7                                                                       GURABO               PR         00778
   301471 MARILIN FELICIANO           REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301472 MARILIN FELICIANO ORTIZ     REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   715426 MARILIN HERNANDEZ RIVARA    P O BOX 7428                                                                                                                  SAN JUAN             PR         00916
                                      RES.LUIS LLORENS TORRES EDIF‐
   715427 MARILIN MALDONADO ROSARIO 22                                                                                                                              APT.474 SAN JUAN     PR         00913

   715428 MARILIN MARTINEZ CARDONA                    ESTANCIAS MARILYN           CARR 643 BUZ 16                                                                   MANATI               PR         00674‐9699

   715429 MARILIN MARTINEZ CARMONA                    ESTANCIAS MARILYN           CARR 643 BOX 16                                                                   MANATI               PR         00674‐9699
   301473 MARILIN RIVERA HERNANDEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301475 MARILIN VEGA ORTIZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301476 MARILINA ALVARADO VIERA                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301477 MARILINA GONZALEZ TORRES                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   715433 MARILINA RODRIGUEZ                          SABANA HOYOS APT 133                                                                                          ARECIBO              PR         00688
   301478 MARILINDA ARCE DE ROSA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   715434 MARILINDA LEBRON                            JARD DE COUNTRY CLUB        M 25 CALLE 23                                                                     CAROLINA             PR         00983
   715435 MARILINDA RUIZ ACOSTA                       CUIDAD REAL                 437 CALLE ALBA                                                                    VEGA ALTA            PR         00693

   301479 MARILINDA SANTIAGO SERRANO REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301481 MARILINE RIVERA ROMERO     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301482 MARILIS BARRIOS MARTINEZ   REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301483 MARILIS BURGOS LOPEZ       REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   715438 MARILIS CUADRADO GONZALEZ                   RR 8 BOX 9582                                                                                                 BAYAMON              PR       00956
   301484 MARILIS GONZALEZ LORENZO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   715440 MARILIS GONZALEZ RAMOS                      PO BOX 533                                                                                                    MOCA                 PR       00676
   301485 MARILIS LLAVONA APONTE                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   301487 MARILIS RAMOS CRUZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED



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   301488 MARILIS VELAZQUEZ VELAZQUEZ REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301489 MARILISSA COLON ORTIZ       REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715441 MARILIVIA JIMENEZ GARCIA    880 CALLE JARDIN                                                                                                               HATILLO             PR           00659
   715442 MARILIX VILLANUEVA PEREZ    HC 2 BOX 20767                                                                                                                 AGUADILLA           PR           00603
   715443 MARILIZ APONTE RIVERA       CUC STATION                               PO BOX 5312                                                                          CAYEY               PR           00737
   715444 MARILIZ GARCIA PABON        HC 01 BOX 3238                                                                                                                 VILLALBA            PR           00766
                                      EXT LOS ANGELES WL‐1 CALLE
   715445 MARILIZ GUADALUPE ORTIZ     CAMELIA                                                                                                                        CAROLINA            PR           00979
   301490 MARILIZ MOLINA RIVERA       REDACTED                                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   715446 MARILIZ RODRIGUEZ MARTINEZ                  PO BOX 790                                                                                                     COTO LAUREL         PR           00780‐0790
   301492 MARILIZ SANTANA DIAZ                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301493 MARILIZ SANTIAGO OYOLA                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715447 MARILIZ SUAREZ COLON                        PO BOX 248                                                                                                     SALINAS             PR           00751
   301496 MARILLIAN TORRES MORALES                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715448 MARILLY SILVA RODRIGUEZ                     HC 01 BOX 3675                                                                                                 HORMIGUEROS         PR           00660
   715449 MARILLYS MARINEZ GARCIA                     PO BOX 1709                                                                                                    YAUCO               PR           00698
   715451 MARILOLES                                   A6 VILLA VERDE                                                                                                 GUAYNABO            PR           00966
   301498 MARILOLI CARTAGENA ZAYAS                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715456 MARILU ALFARO ALFARO                        3870 AVE MILITAR                                                                                               ISABELA             PR           00662
  1256665 MARILU ANGULO RIVERA                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715457 MARILU APONTE                               5668 CALLE PROGESO                                                                                             VEGA BAJA           PR           00693
   301499 MARILU APONTE PAGAN                         REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715458 MARILU BERDECIA ROSARIO                     HC 1 BOX 5845                                                                                                  BARRANQUITAS        PR           00794
   301501 MARILU CAPOTE RIVERA                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301502 MARILU CARMONA VERA                         REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   301503 MARILU CARRION HERNANDEZ                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301504 MARILU CENTENO MORALES                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301505 MARILU CHAEZ ABREU                          REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301507 MARILU CINTRON CASADO                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715459 MARILU CRUZ GONZALEZ                        BO RABANAL BZN 2844                                                                                            CIDRA               PR           00739
   715460 MARILU DIAZ MARTINEZ                        BO LA LUNA                195 CALLE 3                                                                          GUANICA             PR           00653
                                                      URB. TURABO GARDENS T‐9
   715455 MARILU ESCALERA QUINONES                    CALLE 28                                                                                                       CAGUAS              PR           00725
   715461 MARILU FONTANEZ CLAUDIO                     EXT LAGO DEL PLATA        J 96 CALLE 11 LEVITTOWN                                                              TOA BAJA            PR           00949
   715462 MARILU GONZALEZ DIAZ                        VILLA LINARES             F5 CALLE 3                                                                           VEGA ALTA           PR           00692
   715463 MARILU GONZALEZ GARCIA                      URB TERRAZA DE GUAYNABO   E 7 CALLE LAS FLORES                                                                 GUAYNABO            PR           00969

   301511 MARILU GONZALEZ GONZALEZ                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301512 MARILU GONZALEZ O NEILL                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301513 MARILU HERNANDEZ COLON                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715464 MARILU MALAVE VELEZ                         RR 2 BOX 7142                                                                                                  CIDRA               PR           00739
   715465 MARILU MATOS CARABALLO                      HC 1 BOX 6165                                                                                                  YAUCO               PR           00698
   715466 MARILU MENDEZ                               URB FLORAL PARK           5 CALLE GARDEL                                                                       SAN JUAN            PR           00917

   715467 MARILU MERCADO RODRIGUEZ                    PARCELA TIBURON           BZN 8 CALLE 14                                                                       BARCELONETA         PR           00617
   301514 MARILU NEGRON RODRIGUEZ                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARILU ORTIZ /PARA /JAIME J
   301515 RIVERA ORTIZ                                REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301516 MARILU PORTILLA rodriguez                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301517 MARILU PURCELL VILLAFANE                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          MARILU RIVERA,OMAR ARMIJO,
   301518 ELMER ARMIJO                                REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   715470 MARILU ROMERO LOPEZ                         JARD CONDADO MODERNO          B 28 E                                                                                 CAGUAS              PR         00726
          MARILU ROSARIO OTERO Y/O
   301519 FRANK L CEDENO                              REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   715472 MARILU SANTANA ASENCIO                      URB JRDN DEL CARIBE           C 14 CALLE FLAMBOYANES                                                                 MAYAGUEZ            PR         00708
   301521 MARILU TOSADO MORERLL                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   715473 MARILU TRINIDAD MENENDEZ                    231 MANSIONES DE BAIROA                                                                                              CAGUAS              PR         00725
   301522 MARILU VAZQUEZ LOPEZ                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   301523 MARILU VEGA SANTIAGO                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   715474 MARILU VELEZ LOPEZ                          SAINT JUST                    17 CALLE LAS CRUCES                                                                    TRUJILLO ALTO       PR         00976
   301524 MARILU WILLIAMS GARCIA                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   301525 MARILUCY GONZALEZ BAEZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          MARILUISE VALENCIA
   715475 RODRIGUEZ                                   VISTA DEL ATLANTICO           E 15 CALLE 6                                                                           ARECIBO             PR         00612
   301526 MARILUZ ACEVEDO PEREZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   301527 MARILUZ ALVERIO HERNANDEZ                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   301529 MARILUZ BENITEZ ACOSTA                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   301530 MARILUZ BEZARES SALINAS                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   715478 MARILUZ BURGOS CRUZ                         HC 4 BOX 4170                                                                                                        HUMACAO             PR         00791
   301533 MARILUZ CABALLERO PEREZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   301534 MARILUZ CABRERA NIEVES                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   715480 MARILUZ CARDONA LEBRON                      HC 01 BOX 4024                                                                                                       MAUNABO             PR         00707

   301535 MARILUZ CARRION HERNANDEZ                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   715481 MARILUZ CINTRON DIAZ                        PO BOX 163                                                                                                           TOA ALTA            PR         00953
   715482 MARILUZ COLON LEON                          BO SAN TOMAS                  311 CALLE NARCISO COLLAZO                                                              CAYEY               PR         00736
   301536 MARILUZ COLON MERCED                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   715483 MARILUZ COSME ALEJANDRO                     URB BELLA VISTA               H 4 CALLE 7                                                                            BAYAMON             PR         00957
   301537 MARILUZ CRUZ SANTANA                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   715487 MARILUZ DE LEON VELAZQUEZ                   HC 20 BOX 28963                                                                                                      SAN LORENZO         PR         00754‐9628
   301538 MARILUZ E PENA                              REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   715488 MARILUZ FUENTES SANCHEZ                     HC 03 BOX 14780                                                                                                      COROZAL             PR         00783
   301539 MARILUZ GIOVANETTI LOPEZ                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   715490 MARILUZ GONZALEZ ALAMEDA                    URB MANUEL CORFCHADO          2 CALLE ORQUIDEA                                                                       ISABELA             PR         00662
   301541 MARILUZ GONZALEZ ARROYO                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   301542 MARILUZ GONZALEZ PLAZA                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   301543 MARILUZ GONZALEZ RODRIGUEZ REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   301544 MARILUZ LOZADA ADORNO      REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   715494 MARILUZ MARTINEZ GARCIA    LEVITTOWN                                      Q 15 CALLE LUZ                                                                         TOA BAJA            PR         00949
   715495 MARILUZ MARTINEZ GUZMAN    PO BOX 1085                                                                                                                           COAMO               PR         00769
   301547 MARILUZ MELENDEZ DIEPPA    REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   715496 MARILUZ MELENDEZ MORALES                    BO PALMAREJO SECT EL PONITO   APTO 1658                                                                              COROZAL             PR         00783
   301548 MARILUZ MUNOZ COLON                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   301549 MARILUZ NARVAEZ                             REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   301551 MARILUZ NIEVES SERRANO                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   715498 MARILUZ ORTIZ RIVERA                        SANTA JUANITA                 BD 25 INDIA                                                                            BAYAMON             PR         00956



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  715499 MARILUZ ORTIZ SAAVEDRA                       7 SILVER STREET                                                                                                SPRINGFIELD        MA         01107
  301553 MARILUZ PADILLA GUERRERO                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   301554 MARILUZ PADILLA RODRIGUEZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   715500 MARILUZ PERALES REYES                       PO BOX 41                                                                                                      CULEBRA            PR         00775
   715501 MARILUZ PEREZ VELAZQUEZ                     HC 15 BOX 16218                                                                                                HUMACAO            PR         00791
   715502 MARILUZ REYES RIVERA                        VAN SCOY                    J 38 P CALLE MARGINAL                                                              BAYAMON            PR         00957
   301555 MARILUZ RIVERA ALICEA                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   715503 MARILUZ RIVERA HERNANDEZ                    PO BOX 8                                                                                                       MANATI             PR         00674
   715504 MARILUZ RIVERA ORTIZ                        PO BOX 7126                                                                                                    PONCE              PR         00732
   715505 MARILUZ RODRIGUEZ REYES                     A 20 JARDIN BUENA VISTA                                                                                        CAYEY              PR         00736
   301557 MARILUZ RODRIGUEZ VARELA                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   715476 MARILUZ ROLDAN CORDERO                      54 CALLE CUESTA VIEJA                                                                                          AGUADILLA          PR         00603
   715506 MARILUZ ROSADO MARTINEZ                     HC 15 BOX 16055                                                                                                HUMACAO            PR         00791
   715507 MARILUZ ROSARIO MARIN                       CALLE MANUELA A PADILLA 5                                                                                      TOA BAJA           PR         00949
   715477 MARILUZ RUIZ LOPEZ                          415 PARC MORA GUERRERO                                                                                         ISABELA            PR         00662
   301558 MARILUZ SANTANA BARRETO                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MARILUZ SEEGOBIN Y
   301559 RAVINDRANAUTH                               REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   715508 MARILUZ SIERRA CASTRO                       COND SAINT JUST APT 7       666 CALLE UNION                                                                    SAN JUAN           PR         00907
   301560 MARILUZ SILVA ALMODOVAR                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   301561 MARILUZ SOTO FIGUEROA                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   301562 MARILUZ TORRES FRANCO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   715509 MARILUZ TORRES RIOS                         HC 3 BOX 9367                                                                                                  LARES              PR         00669
   715510 MARILY AGOSTO ZAMBRANA                      PO BOX 1503                                                                                                    ARECIBO            PR         00613
   715511 MARILY DE JESUS LUGO                        BRISAS DEL MAR              E 11 CALLE ESTRELLA                                                                GUAYAMA            PR         00784
   301563 MARILY FIGUEROA GARCIA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   715512 MARILY GONZALEZ SAMALOT                     ALT DE SANS SUOCI           B 5 CALLE 3                                                                        BAYAMON            PR         00957
   715513 MARILY MATIAS                               P O BOX 21365                                                                                                  SAN JUAN           PR         00918
   715514 MARILY NIEVES ARROYO                        PO BOX 2581                                                                                                    RIO GRANDE         PR         00745
   715517 MARILYA RIVERA RIVERA                       PO BOX 192468                                                                                                  SAN JUAN           PR         00919‐2468
          MARILYA RODRIGUEZ
   301566 HERNANDEZ                                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   301567 MARILYN A CORA MARRERO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   715520 MARILYN A MEDINA LOPEZ                      HC 1 BOX 5121                                                                                                  MOCA               PR         00676

   715521 MARILYN A RIVERA RODRIGUEZ                  P O BOX 2152                                                                                                   VEGA ALTA          PR         00692
   301569 MARILYN ACEVEDO RUIZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   715523 MARILYN ACOSTA ACOSTA                       FINQUITA DE BETANCES        64 CALLE EL MARIANO                                                                CABO ROJO          PR         00623
   715524 MARILYN ADORNO                              PO BOX 21365                                                                                                   SAN JUAN           PR         00926‐1365
   301570 MARILYN ADORNO ADORNO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   715526 MARILYN ALMODOVAR CRUZ                      P O BOX 260                                                                                                    CABO ROJO          PR         00623

   301571 MARILYN ALMODOVAR PONCE                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   715527 MARILYN ALVARADO GONZALEZ SICOSOCIAL CAYEY                                                                                                                 BAYAMON            PR         009360000

   301572 MARILYN AMPUDIA ALEJANDRO                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   715528 MARILYN APONTE APONTE                       HC 01 BOX 2268                                                                                                 BARRANQUITAS       PR         00794
   715529 MARILYN APONTE GONZALEZ                     HC BOX 14996                                                                                                   AGUAS BUENAS       PR         00793
   715530 MARILYN ARCE BARRETO                        PO BOX 307                                                                                                     SAN SEBASTIAN      PR         00685
   301573 MARILYN ARCE RIVERA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED




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   715531 MARILYN ARCHILLA SANTIAGO                   PO BOX 627                                                                                                             NARANJITO           PR           00719
   715532 MARILYN ARIAS                               URB QUINTAS DE CUPEY          B12 CALLE 16                                                                             SAN JUAN            PR           00926
   301574 MARILYN AROCHO TRUJILLO                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301575 MARILYN ARROYO FIGUEROA                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715533 MARILYN ARROYO GONZALEZ                     URB VISTA DEL SOL             H 6 CALLE 1                                                                              GUAYAMA             PR           00784

   715534 MARILYN AVILES CORREA                       BO HATO VIEJO                 SECTOR CANTA GALLO BOX 1423                                                              ARECIBO             PR           00612
   715535 MARILYN BAEZ VEGA                           HC 05 BOX 53471                                                                                                        MAYAGUEZ            PR           00680
   715536 MARILYN BARREIRO ROLDAN                     HC 02 BOX 13223                                                                                                        GURABO              PR           00778‐9615
   715537 MARILYN BARRETO ADORNO                      P O BOX 933                                                                                                            VEGA BAJA           PR           00694
   301576 MARILYN BARRETO TORRES                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301577 MARILYN BAYON PEREZ                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARILYN BEAUCHAMP
   715538 VALENTIN                                    P O BOX 730                                                                                                            QUEBRADILLAS        PR           00678
   301578 MARILYN BELBER CARRION                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301579 MARILYN BENITEZ MORALES                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715540 MARILYN BERMUDEZ MATOS                      PO BOX 9022166                                                                                                         SAN JUAN            PR           00921‐2166
   715541 MARILYN BERMUDEZ OTERO                      PO BOX 1521                                                                                                            VEGA BAJA           PR           00694‐1521
   715542 MARILYN BERNECER RUIZ                       HC‐4 BOX‐49961                                                                                                         CAGUAS              PR           00725‐9648
          MARILYN BESOSA NOCEDA, ET
  1420430 AL.                                         JUAN R. RODRIGUEZ             PO BOX 7693                                                                              PONCE               PR           00732

   715543 MARILYN BETAJNCOURT CRUZ                    APARTADO 689                                                                                                           HATILLO             PR           00659

   715544 MARILYN BETANCOURT JIMENEZ REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715545 MARILYN BONES BLAS         AGUADILLA                                                                                                                               AGUADILLA           PR           00603
          MARILYN BONILLA F /H/N/C
   715546 EXCLUSIVE                  HC 59 BOX 5972                                                                                                                          AGUADA              PR           00602

   715547 MARILYN BORGES RODRIGUEZ                    P O BOX 1262                                                                                                           COAMO               PR           00769
   301582 MARILYN BORIA PABELLON                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715548 MARILYN BOSCANA                             PO BOX 193240                                                                                                          SAN JUAN            PR           00919‐3240
   301583 MARILYN BRACERO TORRES                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715549 MARILYN BURGOS ALLENDE                      HC 01 BOX 13905                                                                                                        RIO GRANDE          PR           00745

   715551 MARILYN CABALLER ZAVALA                     URB VOLLAS DEL REY 5TA SECC   LC 10 CALLE 29                                                                           CAGUAS              PR           00725
          MARILYN CALDAS/PABLO
   301584 CALDAS                                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715552 MARILYN CALDERON CRUZ                       URB APRIL GARDENS             N 7 CALLE 18                                                                             LAS PIEDRAS         PR           00771
   301585 MARILYN CALDERON RIVERA                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301586 MARILYN CALO FLORES                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715553 MARILYN CAMACHO BONILLA                     PO BOX 256                                                                                                             RINCON              PR           00677
   301589 MARILYN CANDELARIA PEREA                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARILYN CANDELARIO
   301590 HERNANDEZ                                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301591 MARILYN CARDONA RAMIREZ                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715554 MARILYN CARRASQUILLO                        RES JOSE GAUTIER BENITEZ      EDIF 18 APT 167                                                                          CAGUAS              PR           00725
   301592 MARILYN CARRION VIERA                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301593 MARILYN CARTAGENA                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   715555 MARILYN CASANOVA FUENTES                    HC 1 BOX 4957                                                                                                          LOIZA               PR           00772
   301595 MARILYN CASTILLO SALDANA                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  301596 MARILYN CASTRO DE JESUS                      REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301597 MARILYN CASTRO MARRERO                       REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   715556 MARILYN CASTRO RODRIGUEZ                    HC 1 BOX 4197                                                                                                       YABUCOA             PR         00767‐9603

   715557 MARILYN CINTRON RODRIGUEZ                   HC BOX 7871                                                                                                         BARRANQUITAS        PR         00794

   301598 MARILYN COLLAZO GONZALEZ                    REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715559 MARILYN COLON BURGOS                        VILLA DEL RIO               PARC 242A                                                                               TOA ALTA            PR         00953
   301599 MARILYN COLON C OLON                        REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   715560 MARILYN COLON COLON                         ALTURAS DE VILLALBA         275 CALLE MODESTO MELENDEZ                                                              VILLALBA            PR         00766
   301600 MARILYN COLON MUNOZ                         REDACTED                    REDACTED                   REDACTED                              REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715562 MARILYN COLON RAMOS                         PO BOX 142011                                                                                                       ARECIBO             PR         00614
   715563 MARILYN COLON VELAZQUEZ                     HC 03 BOX 5903                                                                                                      HUMACAO             PR         00791

   715564 MARILYN CORDOVA MORALES                     URB BAHIA                   97 CALLE SUR                                                                            CATANO              PR         00962
   715565 MARILYN COSMES MAYSONET                     HC 1 BOX 3717                                                                                                       FLORIDA             PR         00650
   715566 MARILYN COSTA DIAZ                          ASSMCA                                                                                                              HATO REY            PR         009360000
   715568 MARILYN COTTO ORTIZ                         HC 3 BOX 38630                                                                                                      CAGUAS              PR         38630
   715569 MARILYN CRESPO                              HC 1 BOX 5112                                                                                                       RINCON              PR         00677

   715570 MARILYN CRUZ CRISTOBAL                      6TA SECC LEVITOWN           F R 23 CALLE LUIS PALES MATOS                                                           TOA BAJA            PR         00949
   301604 MARILYN CRUZ GARCIA                         REDACTED                    REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   715572 MARILYN CRUZ RODRIGUEZ                      SECTOR CAMBALACHE BO LIMON CARR 105 RAMAL 339 KM 1 2                                                                MAYAGUEZ            PR         00680
   301605 MARILYN CUEVAS CUEVAS                       REDACTED                   REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   301607 MARILYN D PIMENTEL ROMAN                    REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301608 MARILYN D. ALICEA LOPEZ                     REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARILYN DE L ACEVEDO
   715577 ALVARADO                                    URB VEVE CALZADA            S 9 CALLE A P2                                                                          FAJARDO             PR         00738
   301609 MARILYN DE LEON QUINTAN                     REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARILYN DE LOURDES BRUNO
   301610 NARVAEZ                                     REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   301611 MARILYN DEL VALLE RODRIGUEZ REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARILYN DELGADO
   301612 MALDONADO                   REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715578 MARILYN DIAZ COLON          HC 3 BOX 9511                                                                                                                       YABUCOA             PR         00767‐9701
   715579 MARILYN DIAZ FELICIANO      URB. VILLA DE BUENA VISTA                   B‐4 CALLE ARES                                                                          BAYAMON             PR         00957
   301613 MARILYN DIAZ LOPEZ          REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715581 MARILYN DIAZ RIVERA         URB LOMAS VERDES                            4R 46 CALLE HUCAR                                                                       BAYAMON             PR         00956
          MARILYN E MONTALVO
   301614 RODRIGUEZ                   REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715582 MARILYN E RODRIGUEZ         PO BOX 374                                                                                                                          GUAYAMA             PR         00785

   715583 MARILYN E RODRIGUEZ SANCHEZ BO SANTANA                                  BOX 72                                                                                  ARECIBO             PR         00612
   301615 MARILYN E TORRES TORRES     REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   301616 MARILYN ECHEVARRIA ACEVEDO REDACTED                                     REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   715584 MARILYN ECHEVARRIA GARCIA                   HC 1 BOX 6025                                                                                                       SANTA ISABEL        PR         00757



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  301617 MARILYN ESPADA RIOS                          REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   715585 MARILYN ESPINOSA RODRIGUEZ HC 4 BOX 11958                                                                                                              HUMACAO              PR         00791
   715587 MARILYN ESTRADA LANZA      P O BOX 9022965                                                                                                             SAN JUAN             PR         00902
   301620 MARILYN F MEDINA ALICEA    REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   301621 MARILYN FALCON HERNANDEZ                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   715588 MARILYN FELICIANO GONZALEZ                  JARD DE MONTE HATILLO   EDIF 1 APT 2                                                                       SAN JUAN             PR         00924

   301622 MARILYN FERNANDEZ MARCANO REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301623 MARILYN FERNANDEZ RIVERA  REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   715589 MARILYN FIGUEROA AGUALIP  HC 1 BOX 5694                                                                                                                CANOVANAS            PR         00729
   715590 MARILYN FIGUEROA COLON    HC 03 BOX 6211                                                                                                               HUMACAO              PR         00791

   301624 MARILYN FIGUEROA GONZALEZ                   REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   715591 MARILYN FLORES FLORES                       PO BOX 67                                                                                                  FAJARDO              PR         00773
   301625 MARILYN FRANCO ORTIZ                        REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   715593 MARILYN FRESSE MEDINA                       HC 5 BOX 92650                                                                                             ARECIBO              PR         00612
          MARILYN G RODRIGUEZ
   715518 RODRIGUEZ                                   HC 02 BOX 19503                                                                                            LAJAS                PR         00667‐9603
   715594 MARILYN GALARZA PEREZ                       CARR 140                33 CALLE RAMON TORRES                                                              FLORIDA              PR         00650
          MARILYN GARCIA / EQUIPO
   301626 BASEBALL                                    CARMEN VEGA             43 A CALLE RUINA                                                                   VEGA ALTA            PR         00692
          MARILYN GARCIA /H/N/C
   715595 LORETO                                      URB BELMONTE            314 CALLE ZAMORA                                                                   MAYAGUEZ             PR         00680
   301627 MARILYN GARCIA BLASINI                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301628 MARILYN GARCIA BURGOS                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301630 MARILYN GARCIA CUADRADO                     REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301631 MARILYN GARCIA LEON                         REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   715597 MARILYN GARCIA SANTIAGO                     HC 7 BOX 3392                                                                                              PONCE                PR         00731‐9607
                                                      R/SAN ANTONIO EDIF D
   715598 MARILYN GARCIA SOLER                        APT670P/TIERRA                                                                                             SAN JUAN             PR         00901
   715599 MARILYN GARCIA SOTO                         HC 4 BOX C                                                                                                 HATILLO              PR         00659
   715600 MARILYN GODEN IZQUIERDO                     HC 4 BOX 42321                                                                                             MAYAGUEZ             PR         00680‐9730
   715601 MARILYN GONZALEZ                            BOX 820                                                                                                    AGUADA               PR         00602
   715603 MARILYN GONZALEZ CRUZ                       EL MIRADOR APART        EDIF A APT 4012                                                                    CAGUAS               PR         00725
   715604 MARILYN GONZALEZ DE JESUS                   605 CALLE PRINCIPAL                                                                                        AGUIRRE              PR         00704
          MARILYN GONZALEZ
   715605 ECHEVARRIA                                  325 CALLE LOS VAZQUEZ   BO CAMASEYES                                                                       AGUADILLA            PR         00603

   715606 MARILYN GONZALEZ MARTINEZ                   PO BOX 1438                                                                                                CAGUAS               PR         00726‐1438
   301632 MARILYN GONZALEZ MERCED                     REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   715607 MARILYN GONZALEZ PEREZ                      VILLA KENNEDY           EDIF 25 APT 383                                                                    SAN JUAN             PR         00915

   301633 MARILYN GONZALEZ RODRIGUEZ REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   715612 MARILYN GONZALEZ SANCHEZ                    HC 4 BOX 14114                                                                                             ARECIBO              PR         00612

   301636 MARILYN GONZALEZ SANTIAGO                   REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   301637 MARILYN GUERRA MATOS                        REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   715613 MARILYN GUZMAN DIAZ                         PO BOX 13987                                                                                               SAN JUAN             PR         00908
   715614 MARILYN GUZMAN MORALES                      HC 23 BOX 6232                                                                                             JUNCOS               PR         00777‐9777



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   301638 MARILYN GUZMAN RODRIGUEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301639 MARILYN GUZMAN ROSARIO                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715615 MARILYN HERNANDEZ                           T 1 ANTIGUA VIA                                                                                              SAN JUAN            PR           00926

   301642 MARILYN HUERTAS MELENDEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715616 MARILYN I ALONSO CORREA                     URB SAGRADO CORAZON        2 CALLE SANTA LUCIA                                                               GUANICA             PR           00653
   715617 MARILYN I CASIANO SUAREZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715618 MARILYN I MENDEZ RIVERA                     URB STA MARIA              F 38 CALLE 8                                                                      CEIBA               PR           00735
   301643 MARILYN I ROSARIO BAEZ                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301644 MARILYN I SANTAELLA PEREZ                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   301645 MARILYN I TORRES ECHEVARRIA REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   715619 MARILYN I. FERRER MONTALVO                  PO BOX 711                                                                                                   CABO ROJO           PR           00623‐0711
   301646 MARILYN ILDEFONSO RIVERA                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301647 MARILYN IRENE RODRIGUEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301648 MARILYN IRIZARRY SILVA                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   301649 MARILYN J ALBINO VELAZQUEZ                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301651 MARILYN J GOYCO DE VERA                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301652 MARILYN J PEREZ TORRES                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   301653 MARILYN J. DE LA PENA RAMOS                 REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301654 MARILYN JUSINO FREYRE                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301655 MARILYN KLINE                               REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301656 MARILYN KUILAN BAEZ                         REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715623 MARILYN L NAZARIO COLON                     PERLA DEL SUR              2816 CALLE CARNAVAL                                                               PONCE               PR           00717
   301657 MARILYN L RODRIGUEZ VEGA                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301658 MARILYN LAMOURT SANTOS                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715624 MARILYN LANAUZZE TORRES                     PO BOX 7126                                                                                                  PONCE               PR           00732‐7126
   301659 MARILYN LARACUENTE PEREZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715625 MARILYN LEBRON CRESPO                       URB PARQUE LAS HACIENDA    I 34 CALLE AYMANIO                                                                CAGUAS              PR           00725
   715626 MARILYN LEBRON RUIZ                         PO BOX 520                                                                                                   CAGUAS              PR           00726
   715519 MARILYN LOPEZ AQUINO                        URB VISTA VERDE            543 CALLE 6                                                                       AGUADILLA           PR           00603
   715627 MARILYN LOPEZ BURGOS                        CONTRY CLUB                872 CALLE BERMUDA                                                                 SAN JUAN            PR           00924

   715629 MARILYN LOPEZ LUCENA                        COMUNIDAD BRISAS RIO HONDO 36 CALLE 1                                                                        MAYAGUEZ            PR           00680
   715630 MARILYN LOPEZ MARTINEZ                      URB DELGADO                B 3 CALLE 3                                                                       CAGUAS              PR           00725
   715631 MARILYN LOPEZ RAMOS                         HC 01 BOX 3713                                                                                               LARES               PR           00669
   715632 MARILYN LOZADA GARCIA                       HC 764 BOX 6381                                                                                              PATILLAS            PR           00723
   301660 MARILYN LUCRET TORRES                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715633 MARILYN LUGO ACEVEDO                        HC 1 BOX 16369                                                                                               AGUADILLA           PR           00603
   715634 MARILYN LUGO GRANIELA                       MONTE GRANDE               127 CALLE MARGARITA                                                               CABO ROJO           PR           00623

   301661 MARILYN M ADAMES SANTIAGO REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301662 MARILYN M MORALES FONT    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   301663 MARILYN M ROSADO SANTIAGO REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715635 MARILYN MALARET RIVERA    PO BOX 932                                                                                                                     BAJADERO            PR           00616
   301664 MARILYN MALAVE MILIAN     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   715636 MARILYN MALDONADO AROCHO HC 03 BOX 21661                                                                                                                 ARECIBO             PR           00612



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   301665 MARILYN MALDONADO MUNIZ                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   715637 MARILYN MALDONADO TORRES RES RAMOS ANTONINI                         EDIF 83 APT 849                                                                   SAN JUAN            PR           00924

   301666 MARILYN MANZANO RODRIGUEZ REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715638 MARILYN MARIN ADORNO      PO BOX 21365                                                                                                                SAN JUAN            PR           00928‐1365

   715639 MARILYN MARRERO MARRERO                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715640 MARILYN MARSKOT                             3 NORTH SUMMIT STREET                                                                                     CRESCENT CITY       FL           32112

   715641 MARILYN MARTINEZ MARQUEZ                    URB BELLA VISTA         Z 24 CALLE 29                                                                     BAYAMON             PR           00957
   301669 MARILYN MARTINEZ RAMOS                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   715642 MARILYN MARTINEZ VELAZQUEZ P O BOX 929                                                                                                                SAN LORENZO         PR           00754
   301670 MARILYN MATOS SANCHEZ      REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301671 MARILYN MATOS SANTIAGO     REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715643 MARILYN MEDINA LORENZO     PO BOX 837                                                                                                                 MOCA                PR           00676
   715644 MARILYN MEDINA MARTINEZ    VICTOR GUTIERREZ                         337 CALLE 1                                                                       PONCE               PR           00731
   715645 MARILYN MEDINA PEREZ       RR 1 BOX 44750                                                                                                             SAN SEBASTIAN       PR           00685
   715646 MARILYN MELENDEZ PADIN     PO BOX 21365                                                                                                               SAN JUAN            PR           00928

   715647 MARILYN MELENDEZ SANTIAGO                   DULCES LABIOS           59 RAMON BAYON                                                                    MAYAGUEZ            PR           00680
   301674 MARILYN MERCADO ROMAN                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301676 MARILYN MERCED GOMEZ                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301677 MARILYN MONTANEZ BAEZ                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301678 MARILYN MONTES NEGRON                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   301679 MARILYN MORALES FONTANEZ                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   715648 MARILYN MORALES PORTALATIN PO BOX 12365                                                                                                               SAN JUAN            PR           00926‐1365
   715649 MARILYN MORALES ROMAN      PARCELAS FALU                            CALLE 33 NUM A                                                                    San Juan            PR           00924

   715650 MARILYN MORENO TOLENTINO BO MABI                                    SECTOR LOS MORENO                                                                 HUMACAO             PR           0079+19703
   715651 MARILYN MOYET RODRIGUEZ     PO BOX 1013                                                                                                               SAN LORENZO         PR           00754
   301680 MARILYN MUNIZ NAZARIO       REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301681 MARILYN MUNOZ NIEVES        REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301682 MARILYN N BARBOSA AYALA     REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301683 MARILYN N GONZALEZ          REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301684 MARILYN NAVARRO SERRANO     REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARILYN NAVEIRA
   301686 CARRASQUILLO                REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARILYN NEGRON / NADIOSKA /
   715652 MARILYN Y                   LUIS SANTANA NEGRON                     P O BOX 1466                                                                      TOA BAJA            PR           00951‐1466
   715653 MARILYN NEGRON ALVAREZ      HC 2 BOX 6947                                                                                                             FLORIDA             PR           00664
   715654 MARILYN NERIS OQUENDO       PMB APT 283                                                                                                               SAN LORENZO         PR           00754
   715655 MARILYN NIEVES              VILLA SAN AGUSTIN                       J 15 CALLE 6                                                                      BAYAMON             PR           00959
   715656 MARILYN NIEVES MEDINA       HC 03 BOX 16196                                                                                                           QUEBRADILLA         PR           00678
   301687 MARILYN NIEVES MORALES      REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715657 MARILYN NIEVES QUILES       HC 04 BOX 14650                                                                                                           SAN SEBASTIAN       PR           00685
   715658 MARILYN NIEVES TORRES       HC 01 BOX 4970                                                                                                            JAYUYA              PR           00664 9710
   301689 MARILYN NUNEZ ORTIZ         REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301690 MARILYN OBERGH GAVIDIA      REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  301691 MARILYN OCASIO CEDENO                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  715659 MARILYN ORTEGA RIVERA                        REPTO FLAMINGO             N 5 CALLE DEL TURABO                                                                 BAYAMON             PR         00959
  301692 MARILYN ORTIZ HERNANDEZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301693 MARILYN ORTIZ LOPEZ                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301696 MARILYN ORTIZ TORRES                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301697 MARILYN ORTIZ VELAZQUEZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  715662 MARILYN OSORIO GUERRA                        LAS CAROLINAS              HC 06 APARTADO 71158                                                                 CAGUAS              PR         00725‐9507
  301698 MARILYN OSORIO SERRANO                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301700 MARILYN PABON NIEVES                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MARILYN PACHECO
  715663 CASTILLOVEITIA                               URB LOS CAOBOS             1543 CALLE GROCELLA                                                                  PONCE               PR         00716
  715664 MARILYN PADILLA FLORES                       P O BOX 924                                                                                                     SAN LORENZO         PR         00754
  715665 MARILYN PAGAN COLON                          BOX 283                                                                                                         SABANA HOYOS        PR         00688
  715666 MARILYN PAGAN REYES                          COND LOS ROBLES            APT 308 B                                                                            SAN JUAN            PR         00927
  715668 MARILYN PARILLA                              EXT VILLA DEL PILAR        C 1 CALLE 2                                                                          CEIBA               PR         00735
  715669 MARILYN PASCUAL FONTANEZ                     URB STA ELVIRA             T 6 CALLE STA MARGARITA                                                              CAGUAS              PR         00725
  715670 MARILYN PASTRANA MURIEL                      DOS PINOS TOWN HOUSES      D2 CALLE TIMOTHEE                                                                    SAN JUAN            PR         00923
  301701 MARILYN PEREZ CURBELO                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301702 MARILYN PEREZ JIMENEZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301703 MARILYN PEREZ NIEVES                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  715671 MARILYN PEREZ PEREZ                          PO BOX 13425                                                                                                    SAN JUAN            PR         00908
  301704 MARILYN PEREZ RIVERA                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301705 MARILYN PEREZ TORRES                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301707 MARILYN PINEIRO                              REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301708 MARILYN POLL MILLAN                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301709 MARILYN PONCE RAMOS                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  301711 MARILYN QUINONES CRUZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   715674 MARILYN R BORGER ESTATE                     18 CARLSON RD NEWMILFORD                                                                                        NEW MILFORD         CT         06776
   301712 MARILYN R CUERVO                            REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715675 MARILYN R SILVA COLON                       COND BELL VIEW             412 CALLE TAPIA APT 903                                                              SAN JUAN            PR         00915
   715676 MARILYN RAMIREZ CASTILLO                    HC 1 BOX 9392                                                                                                   SAN GERMAN          PR         00683
   301713 MARILYN RAMIREZ SANTOS                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715677 MARILYN RAMOS                               ALTURAS DE SAN FELIPE      B 20                                                                                 ARECIBO             PR         00612

   301714 MARILYN RAMOS HERNANDEZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301716 MARILYN RAMOS SERRANO                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301718 MARILYN REYES COVAS                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301719 MARILYN REYES GONZALEZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715681 MARILYN REYES MASINI                        JARD DEL CARIBE            4968 CALLE PELTADA                                                                   PONCE               PR         00728
   301720 MARILYN REYES QUINONES                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301721 MARILYN REYES SANTIAGO                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   771171 MARILYN RIOS CANALES                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715684 MARILYN RIVAS FELIX                         PO BOX 1139                                                                                                     PATILLAS            PR         00723
   715685 MARILYN RIVERA APONTE                       HC 01 BOX 5606                                                                                                  OROCOVIS            PR         00720
   715686 MARILYN RIVERA CRESPO                       PO BOX 21365                                                                                                    SAN JUAN            PR         00926‐1365
   301722 MARILYN RIVERA FIGUEROA                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715687 MARILYN RIVERA GARCIA                       PO BOX 108                                                                                                      JUNCOS              PR         00777
   715688 MARILYN RIVERA IRIZARRY                     P O BOX 1699                                                                                                    SAN GERMAN          PR         00683
   715689 MARILYN RIVERA MELENDEZ                     URB RIVERAS DEL RIO        B26 CALLE11                                                                          BAYAMON             PR         000959
          MARILYN RIVERA OLIVIERI
   301723 /EDGARDO MORALES                            REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301724 MARILYN RIVERA RIVERA                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  715692 MARILYN RIVERA TORRES                        HC 2 BOX 8615                                                                                                JUANA DIAZ        PR         00795
  715693 MARILYN RIVERA VAZQUEZ                       PO BOX 182                                                                                                   SABANA HOYOS      PR         00688
  715694 MARILYN RIVERA VILLALOBOS                    VISTA MAR                 874 CALLE SANTANDER                                                                CAROLINA          PR         00924
  301727 MARILYN ROBLES DELGAGO                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  301729 MARILYN RODAS MULERO                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   715697 MARILYN RODRIGUEZ ALVARADO COND CAMELOT                               140 APT 1103                                                                       SAN JUAN          PR         00926
   301734 Marilyn Rodríguez De Jesús REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   715699 MARILYN RODRIGUEZ FERREA   PO BOX 1059                                                                                                                   SABANA HOYOS      PR         00688

   301735 MARILYN RODRIGUEZ GONZALEZ REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   301736 MARILYN RODRIGUEZ LOPEZ    REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   715701 MARILYN RODRIGUEZ MARQUEZ P O BOX 547                                                                                                                    RIO GRANDE        PR         00745

   301737 MARILYN RODRIGUEZ MELENDEZ REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   715703 MARILYN RODRIGUEZ MOJICA   ALTURAS DE BUCARABONES                     36‐37 CALLE PRINCIPAL                                                              TOA ALTA          PR         00953

   301739 MARILYN RODRIGUEZ OQUENDO REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   301741 MARILYN RODRIGUEZ PEREZ   REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARILYN RODRIGUEZ
   715706 RODRIGUEZ                 HC 1 BOX 17071                                                                                                                 HUMACAO           PR         00791‐9735

   715708 MARILYN RODRIGUEZ SANTIAGO P O BOX 2092                                                                                                                  ISABELA           PR         00662

   301742 MARILYN RODRIGUEZ SANTOS                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

          MARILYN RODRIGUEZ SANTOS
   301743 DBA DISTRIBUIDORA CENTRAL                   PO BOX 8998                                                                                                  CAGUAS            PR         00726
          Marilyn Rodríguez Santos DBA
   831474 Distribuidora Central                       HC 71 Box 6902                                                                                               Cayey             PR         00736
          MARILYN RODRIGUEZ
   301744 VELAZQUEZ                REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   715709 MARILYN ROLON KUILAN     HC 80 BOX 8826                                                                                                                  DORADO            PR         00646
   715710 MARILYN ROMERO MIRANDA   HC 3 BOX 10208                                                                                                                  LARES             PR         00669
   301746 MARILYN ROMERO ROHENA    REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                   138 AVE ANTONIO RIVERA
   715712 MARILYN ROSADO BEAUCHAMP MORALES                                                                                                                         SAN SEBASTIAN     PR         00685
   715713 MARILYN ROSADO COLLAZO   VILLA PLATA                                  E 10 CALLE 5                                                                       DORADO            PR         00646
   715714 MARILYN ROSADO COLON     PO BOX 64                                                                                                                       GARROCHALES       PR         00652
   715715 MARILYN ROSARIO          35 RIVIERA DR                                                                                                                   AGOWA             MA         01001
   715716 MARILYN ROSARIO GARCIA   P O BOX 1976                                                                                                                    VEGA BAJA         PR         00694

   301747 MARILYN ROSARIO GUTIERREZ                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   715717 MARILYN RUIZ ECHEVARRIA                     HC‐58 P.O. BOX 14758                                                                                         AGUADA            PR         00602
   715718 MARILYN RUIZ PACHECO                        RR 1 BOX 6267                                                                                                MARICAO           PR         00606
   715719 MARILYN RUIZ PAGAN                          PARC 36 CALLE LOS PINOS                                                                                      CAROLINA          PR         00985
   715720 MARILYN RUIZ SANCHEZ                        PO BOX 334                                                                                                   AGUADA            PR         00602
   715721 MARILYN S STERLING SIERRA                   JARD DE MONTE HATILLO     EDIF 52 APT 642                                                                    SAN JUAN          PR         00924
   715722 MARILYN SABATER CRUZ                        CORREO GENERAL                                                                                               LOIZA             PR         00772
          MARILYN SALGADO
   715723 MALDONADO                                   944 CALLE JUAN BORIA                                                                                         DORADO            PR         00646
   301748 MARILYN SANCHEZ ARROYO                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  301749 MARILYN SANCHEZ BAEZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED
  715725 MARILYN SANCHEZ LOPEZ                        62 URB LAS MERCEDES                                                                                            SALINAS              PR          00751
  301752 MARILYN SANCHEZ RIVERA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED
  715728 MARILYN SANTA GOMEZ                          MIRADOR BAIROA               CALLE 17 SN                                                                       CAGUAS               PR          00725
  301753 MARILYN SANTANA ALVAREZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED
  301754 MARILYN SANTANA FIGUEROA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED

   301755 MARILYN SANTANA MAYSONET                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED
   715729 MARILYN SANTANA NAZARIO                     HC 10 BOX 6990                                                                                                 SABANA GRANDE        PR          00637
   301756 MARILYN SANTANA ROSADO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED
   715731 MARILYN SANTIAGO                            HC 867 BOX 15754                                                                                               FAJARDO              PR          00738
          MARILYN SANTIAGO
   301757 BEAUCHAMP                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED
   301758 MARILYN SANTIAGO COLON                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED
                                                      URB SANTA ELENA FF‐1 CALLE
   715732 MARILYN SANTIAGO ORTIZ                      1A                                                                                                             BAYAMON              PR          00957

   301759 MARILYN SANTIAGO VALENTIN                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED
   715734 MARILYN SEGUI RODRIGUEZ                     HC 59 BOX 5120                                                                                                 AGUADA               PR          00602
          MARILYN SEPULVEDA
   715735 HERNANDEZ                                   HC 02 BOX 6630                                                                                                 ADJUNTAS             PR          00601
   301760 MARILYN SIERRA DIAZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED
   301761 MARILYN SILVA VARGAS                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED
   715737 MARILYN SOTO                                COND SANTA JUANA             APT 803 PISO 8                                                                    CAGUAS               PR          00725
   301762 MARILYN SOTO CABAN                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED

   715738 MARILYN SOTO COLON                          2 CALLE DOMINGO SEPULVEDA                                                                                      JUANA DIAZ           PR          00795

   301763 MARILYN TALAVERA IBARRONDO REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED

   715740 MARILYN TORO                                HC 01 BOX 4626                                                                                                 SABANA HOYOS‐ ARECIBO PR         00688
   301765 MARILYN TORRES ALAMO                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   301766 MARILYN TORRES ALICEA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   715741 MARILYN TORRES CASTRODAD                    SIERA BERDECIA               35 CALLE ESTEVES                                                                  GUAYNABO             PR          00969
   301767 MARILYN TORRES COLON                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED
   301768 MARILYN TORRES GUZMAN                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED

   301769 MARILYN TORRES HERNANDEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED
   301770 MARILYN TORRES MERCADO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED
   715742 MARILYN TORRES MILIAN                       HC 2 BOX 6653                                                                                                  ADJUNTAS             PR          00601‐9607
   301772 MARILYN TORRES MUNOZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED
   301773 MARILYN TORRES RIVERA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED
   301774 MARILYN TORRES TRUJILLO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED

   715746 MARILYN VALENTIN GONZALEZ                   HC 8 BOX 50065                                                                                                 CAGUAS               PR          00725
   301775 MARILYN VALLE PENA                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED
   301776 MARILYN VALLEJO RIVERA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED
   301777 MARILYN VARGAS VARGAS                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED    REDACTED     REDACTED
   715748 MARILYN VAZQUEZ                             1945 ALSTER LANE                                                                                               DELTONA              FL          32738
   715749 MARILYN VAZQUEZ ESQUILIN                    PO BOX 1306                                                                                                    GUAYNABO             PR          00970‐1360
   715750 MARILYN VAZQUEZ PIAZZA                      P O BOX 207                                                                                                    HORMIGUEROS          PR          00660
   715751 MARILYN VAZQUEZ ROCHE                       VILLAS DE CASTRO             EE 6 CALLE 15                                                                     CAGUAS               PR          00725



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  715752 MARILYN VEGA CARDONA                         21N CALLE TETUAN                                                                                                       GUAYAMA             PR         00784
  301778 MARILYN VEGA LOPEZ                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   715754 MARILYN VEGA MIRANDA                        PO BOX 1306 VICTORIA STATION                                                                                           AGUADILLA           PR         00605
   715755 MARILYN VEGA RIOS                           HC 58 BOX 13227                                                                                                        AGUADA              PR         00602
   301779 MARILYN VEGA ROLON                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715756 MARILYN VEGUILLA REYES                      VILLA HUMACAO                F 7 CALLE 12                                                                              HUMACAO             PR         00791
   301780 MARILYN VELAZQUEZ DIAZ                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   715758 MARILYN VELAZQUEZ SANTIAGO H C 1 BOX 7595                                                                                                                          GUAYANILLA          PR         00656‐9753
   301781 MARILYN VELEZ              REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715759 MARILYN VELEZ BELTRAN      HC 5 BOX 5470                                                                                                                           YABUCOA             PR         00767
   715760 MARILYN VELEZ LOPEZ        2 CALLE PALMER ALTOS                                                                                                                    TOA ALTA            PR         00953
   715761 MARILYN VELEZ RIVERA       HC 1 3357                                                                                                                               LARES               PR         00669
   301783 MARILYN VELEZ SANTOS       REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715762 MARILYN VENTURA RIVERA     VILLA SULTANITA                                711 CALLE 13                                                                             MAYAGUEZ            PR         00680‐7028
   715763 MARILYN VERDEJO PARRILLA   C 173 CALLE TULIPAN                            LOIZA VALLEY                                                                             CANOVANAS           PR         00924
   301784 MARILYN VIDOT FERRER       REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301785 MARILYN VILA MOJICA        REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301786 MARILYN VILLEGAS MENDEZ    REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301787 MARILYN VIRELLA COTTO      REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   715766 MARILYNA RODRIGUEZ RAMIREZ VISTA DE MONTE CASINO                          500 AVE NORTE APT 3503                                                                   TOA ALTA            PR         00953
                                                                                    APT. PH‐B25 CALLE FRANCISCO
   715767 MARILYNNE NEGRON GOMEZ                      CONDOMINIO PART TOWER         SEIN                                                                                     SAN JUAN            PR         00917
   715768 MARILYS OLIVERAS TORRES                     PO BOX 6247                                                                                                            PONCE               PR         00731
   715769 MARILYS SANTIAGO DIAZ                       BO ARENA CARR 198 KM 21.5                                                                                              LAS PIEDRAS         PR         00771
   715770 MARILYS SANTOS RODRIGUEZ                    URB SANTA RITA 1              123 CALLE 2                                                                              JUANA DIAZ          PR         00795
   301789 MARIMAR CABAN BURGOS                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   301790 MARIMAR CUEBAS CARABALLO                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIMAR DE LA CRUZ
   715771 RODRIGUEZ                                   PLAZA ANTILLANA               2701 CESAR GONZALEZ ST 151                                                               SAN JUAN            PR         00918
   715772 MARIMAR DIAZ RIVERA                         URB VENUS GARDENS             AB 6 CALLE TORRERON                                                                      SAN JUAN            PR         00926
   301791 MARIMAR NIEVES ROSARIO                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301792 Marimar Pérez Riera                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301793 MARIMAR VAZQUEZ JIMENEZ                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIMEL ALMODOVAR
   301795 FABREGAS                                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301796 MARIMELBA LEBRON LEBRON                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIMER DEL CARMEN SOTO
   301797 SANTIAGO                                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301799 MARIMER H ALVAREZ ORTIZ                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715775 MARIMER LOPEZ BERRIOS                       P O BOX 9756                                                                                                           CAROLINA            PR         00988
   301800 MARIMER LOPEZ PEREZ                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301801 MARIMER MUNOZ BERASTAIN                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301802 MARIMER ORTIZ APONTE                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715777 MARIMER RIVERA MAYSONET                     PO BOX 9021112                                                                                                         SAN JUAN            PR         00902‐1112
   715778 MARIMER SANTIAGO RIVAS                      PO BOX 7428                                                                                                            SAN JUAN            PR         00916
   715780 MARIMER TORRES PARES                        SABANA GARDENS                1‐22 CALLE 3                                                                             CAROLINA            PR         00983
   301804 MARIMERCE BOTHWELL                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   301805 MARIMIL CRUZ VELEZ                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   715781 MARIMIR MARTINEZ MORALES                    URB VILAVILLE               172 CALLE PAGUIL                                                                       SAN JUAN            PR           00926
   301807 MARIN AGOSTO, CORALYS                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715782 MARIN AUTO SERVICE                          P O BOX 1308                                                                                                       RIO GRANDE          PR           00745
   301837 MARIN BORGOS, SHARISEL                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1420431 MARIN ENCARNACION, GRACE H. GRACE H. MARIN ENCARNACION PO BOX 7164                                                                                             SAN JUAN            PR           00916
   301897 MARIN FUNERAL HOME          500 CALLE FRANCIA          ESQUINA SAN ANTONIO                                                                                     SAN JUAN            PR           00917
   715784 MARIN L. KAISER INC.        PO BOX 171                                                                                                                         COCKEYSVILLE        MD           21030
   301848 MARIN LOPEZ MD, JOSE        REDACTED                   REDACTED                                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301939 MARIN LOPEZ, IVONNE         REDACTED                   REDACTED                                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIN MALDONADO MD,
   301948 DANIEL                      REDACTED                   REDACTED                                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301971 MARIN MD , EDGAR L          REDACTED                   REDACTED                                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301977 MARIN MIRANDA RUBEN         REDACTED                   REDACTED                                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   301991 MARIN OIL RECYCLING         PO BOX 6001 SUITE 036                                                                                                              SALINAS             PR           00751
   302005 MARIN PIAZZA, ERIC          REDACTED                   REDACTED                                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   302031 MARIN RIVERA MD, FERDINAND                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420432 MARIN RIVERA, ALEXANDRA                     JUAN E. SERRANO SANTIAGO    PO BOX 70199                                                                           SAN JUAN            PR           00936‐8190
   302056 MARIN RODRIGUEZ, ANGEL L                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302070 MARIN RODRIGUEZ, MARIA L                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302077 MARIN ROMAN BADILLO                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   302078 MARIN ROMAN MD, RADAMES C REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1420433 MARIN ROMAN, ERICK                          ARMANDO PIETRI TORRES       1225 AVENIDA MUÑOZ RIVERA                                                              PONCE               PR           00717
                                                      YOLANDA MARIN SANTIAGO      APARTADO 205A CALLE DE
  1420434 MARIN SANTIAGO, YOLANDA                     DER. PROPIO                 DIEGO 472                                                                              SAN JUAN            PR           00923

                                                                                  CALLE DE DIEGO #472 CONDADO
  1420435 MARIN SANTIAGO, YOLANDA                     MARIN SANTIAGO, YOLANDA     GREEN VILLAGE 205A                                                                     SAN JUAN            PR           00923
   302140 MARIN VIERA MD, RADAMES                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   302141 MARIN VIERA MD, RADAMES A                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715785 MARINA ALONSO                               1158 CALLE 20 NE                                                                                                   SAN JUAN            PR           00920
   302150 MARINA ALVAREZ TORRES                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARINA ALVELO DE
   715786 MALDONADO                                   URB VILLA TURABO            C‐11 CALLE CEDRO                                                                       CAGUAS              PR           00726
   715790 MARINA ARMSTRONG MATOS                      COND ARBOLEDA APT 2506                                                                                             GUAYNABO            PR           00969
                                                      252 CALLE MENDEZ VIGO APT
   715791 MARINA BAKERY                               3764                                                                                                               MAYAGUEZ            PR           00681
   302152 MARINA BERIGUETE RAMIREZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715792 MARINA BERNAL                               GARDEN HILLS                A 1 MONTEBELLO                                                                         GUAYNABO            PR           00966
   715793 MARINA CARABALLO TORRES                     HC 37 BOX 3591                                                                                                     GUANICA             PR           00653
   715794 MARINA CARREIRA MAS                         URB TORRIMAR                49 CALLE VALENCIA                                                                      GUAYNABO            PR           00966‐3010

   715795 MARINA CARTAGENA DE GARCIA EMBALSE SAN JOSE                             441 CALLE JARANDILLA                                                                   SAN JUAN            PR           00924
   715796 MARINA CASTRO CLEMENTE     RES FELIPE S OSORIO                          EDIF 23 APT 163                                                                        CAROLINA            PR           00985
   715797 MARINA CHIMELIS ROSADO     HC 1 BOX 6944                                                                                                                       CIALES              PR           00638

   715798 MARINA COLLAZO RODRIGUEZ                    RR 4 BOX 26289                                                                                                     TOA ALTA            PR           00953
   715799 MARINA COSTA AZUL                           PO BOX 207                                                                                                         LAJAS               PR           00667



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  715800 MARINA COSTA DEL SUR                         URB STA ELENA               1 CALLE 15                                                                          GUAYANILLA        PR           00656
  715801 MARINA CRUZ RIVERA                           PO BOX 1855                                                                                                     AIBONITO          PR           00705
  715802 MARINA DAIRY INC                             P O BOX 1338                                                                                                    HATILLO           PR           00659
  715803 MARINA DE PALMA SHIPYARD                     PO BOX 170                                                                                                      HUMACAO           PR           00792
  715804 MARINA DE SALINAS INC                        PO BOX 364386                                                                                                   SAN JUAN          PR           00936
  715807 MARINA ELECTRIC INC                          PO BOX 363387                                                                                                   SAN JUAN          PR           00936‐3387

   302158 MARINA ESCLAVON SEGUINOT                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   715808 MARINA ESPINOSA MCCLOSKEY                   68 CALLE WASHINGTON                                                                                             SAN JUAN          PR           00907
   715809 MARINA ESTRELLA                             PO BOX 50063                                                                                                    SAN JUAN          PR           00902

   715810 MARINA FIGUEROA CAMARGO                     HC 01 BOX 7724                                                                                                  GUAYANILLA        PR           00656
   302159 MARINA FILMS INC                            PO BOX 6813                                                                                                     SAN JUAN          PR           00914‐6813
          MARINA FLORES US CUSTOMES
   715811 BROK                                        RR 3 BOX 4550                                                                                                   SAN JUAN          PR           00926
   302160 MARINA G VELEZ SILVA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   302161 MARINA GOMEZ SOTO                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   302162 Marina González Ortíz                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MARINA HAYDEE LOJANO
   715814 CABALLERO                                   URB REPARTO SEVILLA         873 CALLE TURINA                                                                    SAN JUAN          PR           00924
   715816 MARINA I COLON RIOS                         AVE AS PALMAS               1061 PDA 15                                                                         SN JUAN           PR           00907
   302163 MARINA I NUNEZ MARTINEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   302164 MARINA I TORRES CARRAU                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   715817 MARINA LAS GAVIOTAS CORP                    PO BOX 70005                SUITE 313                                                                           FAJARDO           PR           00738‐7005
   715818 MARINA MALDONADO ROJAS                      PO BOX 9761                                                                                                     CAROLINA          PR           00988
                                                                                  PMB 133 1353 AVE. LUIS
  1420436 MARINA MALPICA, ELENA                       YARLENE JIMÉNEZ ROSARIO     VIGOREAUX                                                                           GUAYNABO          PR       00966‐2700
   302170 MARINA MARQUEZ CURBELO                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED           REDACTED
   302172 MARINA MUNOZ ROSADO                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED           REDACTED
   715819 MARINA OLIVO ROSARIO                        P.O.BOX 21365                                                                                                   SAN JUAN          PR       00926‐1365
   302173 MARINA PLANAS                               REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED REDACTED           REDACTED
   715822 MARINA PUERTO CHICO INC                     PO BOX 488                                                                                                      PUERTO REAL       PR       00740
   715823 MARINA PUERTO CHICO S E                     P O BOX488                                                                                                      PUERTO REAL       PR       00740
   302176 MARINA QUIROS SOLA                          URB TORRIMAR                1‐ 6 ALHAMBRA ST                                                                    GUAYNABO          PR       00966‐3121
   715824 MARINA R REYES RODRIGUEZ                    URB REXVILLE                54‐16 CALLE 60A                                                                     BAYAMON           PR       00957
   715825 MARINA RAMOS RESTO                          HC 1 BOX 25115                                                                                                  VEGA BAJA         PR       00693

   715826 MARINA RODRIGUEZ SANTIAGO                   BOX 351                                                                                                         NARANJITO         PR           00719
   715827 MARINA ROSA CABAN                           URB MEDINA                  J 3 CALLE 12                                                                        ISABELA           PR           00662
   302180 MARINA SANZ                                 REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   302181 MARINA SOLER CATINCHI                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   715831 MARINA SOLIS RIVERA                         PO BOX 10000 SUITE 385                                                                                          CANOVANAS         PR           00729
   715832 MARINA SOTO CARABALLO                       PO BOX 11116                                                                                                    ARECIBO           PR           00613
   715834 MARINA STEEL SERV INC.                      PO BOX 1211                                                                                                     BAYAMON           PR           00960

   302182 MARINA TERESA SANTIESTEBAN                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   715835 MARINA VEGA RIOS                            URB SANTA JUANITA SECC 10   DN 4 CALLE HUNGRIA                                                                  BAYAMON           PR           00956
   715836 MARINAUTIC INC.                             PO BOX 581                                           SANTA ISABEL                                               SANTA ISABEL      PR           00757
          MARINE AWARENES RESEARCH
   302187 AND EDUCATION                               ATLANTIC VIEW               URANO 114                                                                           CAROLINA          PR           00979
          MARINE CARGO & SALVAGE CO
   715837 INC                                         PO BOX 1432                                                                                                     CAIBA             PR           00735



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  302188 MARINE CARGO PR LLC                          P O BOX 1432                                                                                                      CEIBA                PR           00735
         MARINE CENTER OF THE
  715838 CARIBBEAN                                    MARGINAL AVE KENNEDY KM 3 3                                                                                       SAN JUAN             PR           00920
  715839 MARINE COLON VELEZ                           HC 1 BOX 11600                                                                                                    SAN SEBASTIAN        PR           00685
  715840 MARINE DIVING SCHOOL                         P O BOX 1352                                                                                                      CIDRA                PR           00739
  715841 MARINE DREAM                                 50 PASEO COVADONGA                                                                                                SAN JUAN             PR           00901
         MARINE EDUCATION SERVICE &
  715842 TRAINING INC                                 LP AVE 201                                                                                                        CEIBA                PR           00735
  302189 MARINE ENTERPRISES INC                       3086 AVE ISLA VERDE 1                                                                                             CAROLINA             PR           00979
  302190 MARINE EXPORT GROUP INC                      PO BOX 364983                                                                                                     SAN JUAN             PR           00936‐4983
  302191 MARINE EXPORT GROUP INC.                     PO. BOX 361042                                                                                                    SAN JUAN             PR           00936‐1042
  302192 MARINE EXPRESS INC                           P O BOX 6448                                                                                                      MAYAGUEZ             PR           00681‐6448

   302193 MARINE GALARZA MALDONADO                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   715843 MARINE POWER SYSTEMS                        PO BOX 9066536                                                                                                    SAN JUAN             PR           00906
   715844 MARINE SALVAGE 7 SERVICES                   PO BOX 415                                                                                                        CEIBA                PR           00735
          MARINE SONIC TECHNOLOGY
   715845 LTD                                         P O BOX 730                                                                                                       WRITE MARSH          VA           23183
   715846 MARINE SPILL CORP                           425 STREET 693 PMB 396                                                                                            DORADO               PR           00646‐4802
          MARINE TERMINAL SERVICES,
   302137 INC.                                        PO BOX 9508                                                                                                       BAYAMON              PR           00960‐9508
          MARINE WORLD DISTRIBUTORS
   715847 INC                                         PO BOX 361042                                                                                                     SAN JUAN             PR           00936‐1042
   302197 MARINED RIOS CRESPO                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   302198 MARINELDA TORRES MEDINA                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   302201 MARINELL RIVERA RODRIGUEZ                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   715852 MARINELLIE VARGAS                           P O BOX 810069                                                                                                    CAROLINA             PR           00981‐0069

   302203 MARINELLY ALLENDE RODRIGUEZ REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   715853 MARINELLY NARVAEZ SANTIAGO URB SYLVIA                                     B 9 CALLE 8                                                                         COROZAL              PR           00783
          MARINELLY RODRIGUEZ
   715854 MARRERO                    P O BOX 574                                                                                                                        COAMO                PR           00769
   715855 MARINELLYS RIVERA LUNA     HC 01 BOX 3353                                                                                                                     BARRANQUITAS         PR           00794
          MARINELVA AGOSTO DE
   302205 SANCHEZ                    REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   715856 MARINELY CRUZ AMY          CARR 833 26                                    D 207 LA VILLA GARDENS                                                              GUAYNABO             PR           00971

   715857 MARINERS BASEBALL CLUB CORP PLAZA CAROLINA                                PO BOX 9858                                                                         CAROLINA             PR           00988

   302208 MARINES BORRERO RODRIGUEZ REDACTED                                        REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   302209 MARINES COLLADO QUINONEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   302210 MARINES COLON GONZALEZ                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   302211 MARINES LOZADA ROLDAN                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   715865 MARINES MILLAN PABON                        PO BOX 792                                                                                                        SAN GERMAN           PR           00683
                                                      URB CIUDAD REAL 406 CALLE
   715866 MARINES N MADERA BARBOSA                    ALVA                                                                                                              VEGA BAJA            PR           00693
   715867 MARINES ORTIZ COTTO                         HC 02 BOX 33635                                                                                                   CAGUAS               PR           00725

   302212 MARINES RIVERA SOTOMAYOR                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED




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   715868 MARINES TORRES RODRIGUEZ                    PO BOX 785                                                                                                         RIO GRANDE           PR           00745
   302213 MARINET BERRIOS MATOS                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   715869 MARINET LOPEZ ROMAN                         HC 4 BOX 17560                                                                                                     CAMUY                PR           00627

   715870 MARINETTE MCDOUGALL GOTAY COVADONGA                                   3 FI CALLE 19                                                                            TOA BAJA             PR           00749
   715871 MARINETTE VINAS MATOS     LAS DELICIAS                                23 CALLE CORAL                                                                           VEGA BAJA            PR           00693

   302228 MARINI ROMAN MD, ORLANDO                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   715872 MARINIEVES MOLL                             PO BOX 4148 PUERTO REAL                                                                                            FAJARDO              PR           00740
   302231 MARINILDA CRUZ SANCHEZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   715873 MARINILDA GONZALEZ SOTO                     P O BOX 2933                                                                                                       ARECIBO              PR           00613
   302232 MARINILDA RIVERA DIAZ                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302233 MARINILDA RIVERA VARGAS                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      COND.MANSIONES GARDEN
   715875 MARINILSA NEGRON CARDONA                    HILLS                     15 CALLE MIRAMONTE APT.F‐11                                                              GUAYNABO                          00966
   715876 MARINNETTE MATOS VELEZ                      URB VENUS GARDEN          763 CALLE PISCIS                                                                         SAN JUAN             PR           00926
   302234 MARINO A AMEZQUITA RIVAS                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302238 MARINO BLASINI MENDEZ                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302239 MARINO BRITO DISLA                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   715877 MARINO CEDANO MEJIA                         URB CASTELLANA GARDENS    AA 16 CALLE CASTELLA                                                                     CAROLINA             PR           00985
   302243 MARINO E GUSTELLA RUIZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARINO J MARTINEZ
   302244 MESSEGUER                                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302245 MARINO LORA YNOA                            REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   302246 MARINO MALDONADO ACOSTA                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   715878 MARINO PEREZ                                PMB SUITE H02             PO BOX 2104                                                                              SAN JUAN             PR           00922‐2104
   302247 MARINO R ALVES GONCALVES                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302250 MARINOLIZ MUNIZ GARCIA                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302251 MARIO A AGRAIT                              REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302252 MARIO A ALVARADO LAINES                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   715882 MARIO A ASTOR ACOSTA                        PO BOX 1080               SAINT JUST SATATION                                                                      SAN JUAN             PR           00978
   715885 MARIO A CLAVELL ARIAS                       PO BOX 98                                                                                                          MERCEDITA            PR           00715
   715886 MARIO A COLON MORALES                       PO BOX 841                                                                                                         NARANJITO            PR           00719
   302253 MARIO A CRESPO CARDONA                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   715887 MARIO A DIADONE ALERS                       URB LEVITTOWN 4 TA SECC   Y 29 BLVD MONROIG                                                                        TOA BAJA             PR           00949

   302254 MARIO A ESPADA MALDONADO                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   715888 MARIO A EUSEBIO PEGUERO                     URB LA CUMBRE             497 AVE EMILIANO POL          SUITE 409                                                  SAN JUAN             PR           00926‐5602
   715889 MARIO A FRANCO CASIANO                      COLINAS DE FAIRVIEW       BLQ 4 S 19 CALLE 217                                                                     TRUJILLO ALTO        PR           00976
   302255 MARIO A GARCIA GOMEZ                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   715890 MARIO A GONZALEZ RODRIGUEZ URB VILLA CAROLINA                         54 24 CALLE 50                                                                           CAROLINA             PR           00985

   715892 MARIO A HERNANDEZ MORENO                    BOX 713                                                                                                            GUAYNABO             PR           00970
   302256 MARIO A JIMENEZ PEREZ                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302257 MARIO A MALAVE RIVERA                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302258 MARIO A MARQUEZ GARCIA                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   715893 MARIO A MASSO MALDONADO                     URB VISTAS DE LUQUILLO    D 2 CALLE VI                                                                             LUQUILLO             PR           00773‐2706
   302259 MARIO A MEDINA LOPEZ                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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          MARIO A MEDINA VAZQUEZ
   715894 YASELIZ MEDINA                              CARR19 KM28.5                 BO HOYAMALA                                                                       SAN SEBASTIAN       PR           00685
   302260 MARIO A MENDOZA SANCHEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      AVE PONCE DE LEON ESQ CALLE
   715896 MARIO A MONTERO CAMPOS                      BELAVAL                       EDIF 1510 OFIC P 1                                                                SAN JUAN            PR           00909
   715897 MARIO A MORALES                             P O BOX 333                                                                                                     NARANJITO           PR           00719
   302261 MARIO A ORTIZ CRUZ                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715898 MARIO A PRIETO BATISTA                      URB BALDRICH                  508 AVE HOSTOS                                                                    SAN JUAN            PR           00918
   302262 MARIO A RAMIREZ MATOS                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302263 MARIO A RAMIREZ RUBIERA                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715899 MARIO A RIVERA GONZALEZ                     URB ESTANCIA DE YAUCO P 5     CALLE AMATISTA                                                                    YAUCO               PR           00698
          MARIO A RODRIGUEZ
   715900 HERNANDEZ                                   URB RIO GRANDE STATES         B 37 CALLE 4                                                                      RIO GRANDE          PR           00745
   302264 MARIO A RODRIGUEZ REYES                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715901 MARIO A RODRIGUEZ TORRES                    PO BOX 1014                                                                                                     BAYAMON             PR           00960‐1014
   715902 MARIO A SANTIAGO FLORES                     URB CASA MIA                  4923 CALLE ZUMBADOR                                                               PONCE               PR           00728‐3414
   302265 MARIO A SUAREZ MEDINA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302266 MARIO A VAZQUEZ CRUET                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIO A. CORSINO &
   715904 ASSOCIATES                                  PO BOX 2563                                          BAYAMON                                                    BAYAMON             PR           00960

   302267 MARIO A. MENDOZA SANCHEZ                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   715907 MARIO A. SANTURIO GONZALEZ                  PO BOX 11731                                                                                                    SAN JUAN            PR           00922
   715908 MARIO A. SOLER RODRIGUEZ                    PO BOX 735                                                                                                      SALINAS             PR           00751
   302269 MARIO ACEVEDO LEON                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302271 MARIO AGOSTO ALBO                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302272 MARIO ALEGRE BARRIOS                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      275 CALLE MAGDALENA DEL
   715913 MARIO ANDUJAR DIAZ                          VALLE                                                                                                           SAN JUAN            PR           00912
                                                      URB CANAS 249 C/ CARLOS E
   715914 MARIO ANDUJAR SANTIAGO                      CHARDON                                                                                                         PONCE               PR           00731
   715915 MARIO ARCADIA MENDEZ                        STA CATALINA                  B 6 CALLE 1                                                                       BAYAMON             PR           00957
   715916 MARIO ARCADIA PANET                         P O BOX 9494                                                                                                    CAGUAS              PR           00725
   302276 MARIO ARROYO CEDENO                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715917 MARIO ARROYO DAVILA                         COND ESQUIRE                  2 CALLE VELA STE 701                                                              SAN JUAN            PR           00918
   302278 MARIO AYMAT JUSINO                          REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715918 MARIO BAKERY                                BOX 257                                                                                                         MOROVIS             PR           00687
   715919 MARIO BARCELO                               BO CAPETILLO                  1002 CALLE 4                                                                      SAN JUAN            PR           00925
   715920 MARIO BELTRAN                               COND VANDERBILT LAGOON        54 CALLE AGUADILLA                                                                SAN JUAN            PR           00907
   302279 MARIO BELTRAN PEREZ                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302280 MARIO BERMUDEZ BISCHOFF                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715922 MARIO BORRERO SANTIAGO                      URB VISTA ALEGRE              21 CALLE LAS FLORES                                                               BAYAMON             PR           00959
   715923 MARIO BRACHE CASTRO                         HC 01 7813                                                                                                      VIEQUES             PR           00765
   715924 MARIO BURGOS RIOS                           PO BOX 41269                                                                                                    SAN JUAN            PR           00940
   302283 MARIO C ARANA GARCIA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302284 MARIO C FIGUEROA VIGOS                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302285 MARIO C MIRANDA TORRES                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715925 MARIO C RODRIGUEZ                           URB HIGHLAND PARK             720 CAKKE ANON                                                                    SAN JUAN            PR           00924
          MARIO C RODRIGUEZ
   302286 RODRIGUEZ                                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715926 MARIO C TRINIDAD DE JESUS                   URB CAPARRA TERRACE           1609 SO CALLE 8                                                                   SAN JUAN            PR           00921
   302287 MARIO CANALES DAVILA                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  302288 MARIO CANDANO ARTEAGA                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  715928 MARIO CARABALLO ROSADO                       URB SANTA ROSA               27‐15 CALLE 13                                                                          BAYAMON             PR         00956
  715929 MARIO CARBIA FELICES                         PO BOX 2244                                                                                                          SAN JUAN            PR         00902
  715930 MARIO CARBONELL MILLON                       URB VILLA NEVAREZ            1047 CALLE 3 PO BOX 363091                                                              SAN JUAN            PR         00936
  302289 MARIO CARDONA CASANOVA                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   302291 MARIO CARDONA MALDONADO                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302292 MARIO CASAL MAYOR                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302293 MARIO CASILLAS CALDERON                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715933 MARIO CHERVONY MARTINEZ                     URB SANTA JUANITA WG 3       CALLE TORRECH NORTE          8VA SECCION                                                BAYAMON             PR         00956
   715934 MARIO COLON GINEL                           HC 8 BOX 320                                                                                                         PONCE               PR         00731
   715935 MARIO COLON ORTIZ                           BO ROSALI BLOKE 16 AP 186                                                                                            PONCE               PR         00731
   302296 MARIO COLON SAMBOLIN                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   715937 MARIO CORDOVA ORTIZ                         COND JARDINES DE GUAYAMA     APT 602                                                                                 SAN JUAN            PR         00917
   302297 MARIO CORREA COLON                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715938 MARIO CORTES RODRIGUEZ                      URB RINCON ESPANOL           D 16 CALLE 5                                                                            TRUJILLO ALTO       PR         00976
   715939 MARIO COTTO ACOSTA                          URB EMBALSE SAN JOSE         365 CALLE CALAF                                                                         SAN JUAN            PR         00923
   715940 MARIO CRUZ VAZQUEZ                          URB TOA ALTA HEIGTS          G 24 CALLE 7                                                                            TOA ALTA            PR         00953
   715942 MARIO CURET BURGOS                          C/O CONCILIACION (99‐218)                                                                                            SAN JUAN            PR         00902
   302299 MARIO D CAMINERO RAMOS                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715943 MARIO D GALINDO VICENS                      PO BOX 88                                                                                                            MAYAGUEZ            PR         00680
   715944 MARIO DAVILA ORTIZ                          HC 1 BOX 3975                                                                                                        YABUCOA             PR         00767
          MARIO DE J CRUZ HERNANDEZ
   302300 DBA FARMACIA                                SAN ANTONIO                  PO BOX 907                                                                              AGUADILLA           PR         00605
   302301 Mario De Leon Santana                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIO DEL C SANTIAGO
   715946 ROSARIO                                     COND JARD DE ALTA MESA       1 AVE SAN ALFONSO APT D 3                                                               SAN JUAN            PR         00921
   302302 MARIO DEL POZO PEREZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715947 MARIO DEL VALLE FIGUEROA                    BUEN CONSEJO                 266 CALLE ALTO                                                                          RIO PIEDRAS         PR         00926
   715948 MARIO DELGADO                               452 CALLE CESAR GONZALEZ                                                                                             SAN JUAN            PR         00918
                                                      320 CALLE FERNANDEZ GARCIA
   715949 MARIO DELGADO MIRANDA                       ALTOS                                                                                                                LUQUILLO            PR         00773
   715950 MARIO DIAZ                                  414 WEST 20TH STREET 2                                                                                               NEW YORK            NY         10011
   302303 MARIO DIAZ AYUSO                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302304 MARIO DIAZ PEREZ                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302306 MARIO DIMAIO CALERO                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302307 MARIO DISCOUNT                              62 MUNOZ RIVERA                                                                                                      JUANA DIAZ          PR         00795

   715952 MARIO E ALVERIO DOMINGUEZ                   PMB 747 PO BOX 4956                                                                                                  CAGUAS              PR         00726

   302308 MARIO E BAJANDAS TALAVERAS REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   715953 MARIO E FABRE DE LA GUARDIA PO BOX 8514                                                                                                                          BAYAMON             PR         00960

   302309 MARIO E MANRIQUE GONZALEZ REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   302310 MARIO E MELENDEZ CARMONA                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715956 MARIO E MILANES BERNAL                      BO ARROZAR LOS MUERTOS       CARR 627 KM 2 9                                                                         SABANA HOYOS        PR         00688
   302311 MARIO E ORTIZ VIERA                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715957 MARIO E PAULINO PAYANO                      PMB 14                       PO BOX 70344                                                                            SAN JUAN            PR         00936‐8344
   302312 MARIO E PEREZ TORRES                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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          MARIO E RODRIGUEZ
   302316 MALDONADO                                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIO E RODRIGUEZ
   302317 RODRIGUEZ                                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715959 MARIO E ROSA GARCIA                         P O BOX 9024113                                                                                                    SAN JUAN            PR           00902‐4113
          MARIO E SANCHEZ DEL CAMPO
   302318 DELGADO                                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302319 MARIO E. MORALES VAZQUEZ                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715961 MARIO E. RIVERA MIRANDA                     PO BOX 5                      OFIC. SUPTE. TOA BAJA 1                                                              TOA BAJA            PR           00949
   715962 MARIO F BERNAL VARGAS                       COND PINE GROVE APT 35 B                                                                                           CAROLINA            PR           00979‐7017
   302320 MARIO F GONZALEZ AMADOR                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715963 MARIO F MARQUEZ MELECIO                     P O BOX 565                                                                                                        TOA BAJA            PR           00951 0565
   302321 MARIO F. BERNAL VARGAS                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715964 MARIO F. MAFFIOLI BLANCO                    C/O ASSSMCA                   P.O. BOX 21414                                                                       SAN JUAN            PR           00928
   715965 MARIO FELICIANO AYALA                       PO BOX 7126                                                                                                        PONCE               PR           00732
   715966 MARIO FELICIANO FELICIANO                   HC 1 BOX 7455                                                                                                      YAUCO               PR           00698
   715967 MARIO FELIX PERALES                         PARQUE DE LA FUENTE C‐16      BAIROA PARK                                                                          CAGUAS              PR           00725
   715879 MARIO FIGUEROA LANDRAU                      RR 10 BOX 4911                                                                                                     SAN JUAN            PR           00926‐9503
   302322 MARIO FIGUEROA MOLINA                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   302324 MARIO FIGUEROA RODRIGUEZ                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715968 MARIO FONTANEZ CRUZ                         VILLA DOS RIOS                3122 CALLE PORTUGUES                                                                 PONCE               PR           00730
          MARIO FRANSISQUINI
   302325 CANCARNACION                                REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302326 MARIO FUENTE TORRES                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715969 MARIO FUSTER RIVERA                         PO BOX 1815                                                                                                        LARES               PR           00669
   715970 MARIO G CORDERO UGARTE                      BOX 6976                      HC‐01                                                                                GUAYANILLA          PR           00656

   715971 MARIO G MONTALVO RUBIERA                    URB LA VILLA DE TORRIMAR      432 CALLE REY LUIS                                                                   GUAYNABO            PR           00969
   715972 MARIO G RIVERA BUS LINE                     HC 2 BOX 6265                                                                                                      BARRANQUITAS        PR           00794

   302327 MARIO GABRIEL MAURA PEREZ                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302328 MARIO GARAY GARAY                           REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715973 MARIO GARAY RIVERA                          AVE PERIFERAL C 16            CIUDAD UNIVERSITARIA                                                                 TRUJILLO ALTO       PR           00976
   302329 MARIO GARCIA ROSADO                         REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715974 MARIO GARCIA VAZQUEZ                        PO BOX 1121                                                                                                        SABANA SECA         PR           00952
   302330 MARIO GONZALEZ                              REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   715975 MARIO GONZALEZ CHAMORRO                     P O BOX 440                                                                                                        PALMER              PR           00721‐0440
   302332 MARIO GONZALEZ DE JESUS                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715976 MARIO GONZALEZ FRANCO                       RR 2 BOX 6634                                                                                                      TOA ALTA            PR           00953

   302333 MARIO GONZALEZ HERNANDEZ                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARIO GONZALEZ INVESTMENT
   715977 CORP                                        1622 CALLE CAROLINA APT 4‐2                                                                                        SAN JUAN            PR           00912‐3810
   715978 MARIO GONZALEZ MARRERO                      PARQUE MONTEBELLO             1 G 2 CALLE                                                                          TRUJILLO ALTO       PR           00976
   302334 MARIO GONZALEZ MIRALLI                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302335 MARIO GONZALEZ RAMOS                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   715980 MARIO GONZALEZ SANCHEZ                      JADINES DE CAYEY              B 15 CALLE ORQUIDEA                                                                  CAYEY               PR           00736
   715981 MARIO GONZALEZ SUAREZ                       RR 01 BOX 6257                                                                                                     GUAYAMA             PR           00785
   715982 MARIO GONZALEZ TORRES                       COLLEGE PARK APARTMENTS       100 CALLE ALCALA 1101 A                                                              SAN JUAN            PR           00921
   715983 MARIO GONZALEZ VALENTIN                     HC 1 BOX 12384                                                                                                     AGUADILLA           PR           00603
   302336 MARIO GUASP GODEN                           REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  302337 MARIO GUERRA VILLAFANE                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  302338 MARIO GUERRERO OTANO                         REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  715984 MARIO GUZMAN LOPEZ                           HC 172 BOX 6555                                                                                             CAYEY               PR         00736
  715985 MARIO H ROMAN ANDINO                         PO BOX 1552                                                                                                 VIEQUES             PR         00765
         MARIO HERNANDEZ / BLANCA I
  715986 VARGAS                                       RR 2 BOX 500                                                                                                SAN JUAN            PR         00926‐9715
  302339 MARIO HERNANDEZ BERRIOS                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   302340 MARIO HERNANDEZ RODRIGUEZ REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715988 MARIO HERNANDEZ TORRES    EDIF B 11 APT 155                                                                                                             SAN JUAN            PR         00921
   715989 MARIO HIDALGO DE JESUS    P O BOX 7126                                                                                                                  PONCE               PR         00732
   302341 MARIO I GARCIA GARCIA     REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302342 MARIO I RUIZ SERRANO      REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302343 MARIO IRIZARRY GONZALEZ   REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302344 MARIO IRIZARRY IRIZARRY   REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302345 MARIO J BALLESTER ORTIZ   REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   302346 MARIO J CANALES MONTANEZ                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715990 MARIO J CARABALLO GARCIA                    URB JADINES DE COUNTRY   CLUB D A 14 CALLE 167                                                              CAROLINA            PR         00983
   302347 MARIO J FIGUEROA CHAPEL                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715991 MARIO J GARCIA INCERA                       PO BOX 411                                                                                                  MAYAGUEZ            PR         00681
          MARIO J GAZTAMBIDE
   302348 QUINONES                                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715992 MARIO J LOPEZ                               URB SAN ANTONIO          P 9 CALLE 4                                                                        CAGUAS              PR         00725
   715880 MARIO J ORTIZ COSTA                         URB LAS VEREDAS          B3 VEREDA DEL MONTE                                                                BAYAMON             PR         00961
   302349 MARIO J PABON CATALA                        REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302350 MARIO J PATINO GONZALEZ                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302351 MARIO J PEREZ NEVAREZ                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715993 MARIO J PORTELA MARTINEZ                    PO BOX 310                                                                                                  CAGUAS              PR         00726
   715994 MARIO J ROMAN JAMES                         VILLA FONTANA            1 VOA 30 4FN                                                                       CAROLINA            PR         00983
   715995 MARIO J SANTIAGO RIVERA                     HC 3 BOX 13020                                                                                              PENUELAS            PR         00624
   715996 MARIO J VEGA ROBLES                         URB SANTA ELENITA        C 227 CALLE A                                                                      BAYAMON             PR         00957
   302354 MARIO J VELA PINERO                         REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302355 MARIO J ZAYAS CANIZARES                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIO JAVIER PORRATA
   302356 RODRIGUEZ                                   REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302357 MARIO JIMENEZ CALDERON                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   715881 MARIO JIMENEZ GONZALEZ                      URB COUNTRY CLUB         936 CALLE NEBLIN                                                                   SAN JUAN            PR         00924
   715999 MARIO JIMENEZ RIVERA                        301 CALLE PARAGUAY                                                                                          SAN JUAN            PR         00917
   302358 MARIO JOEL CRUZ ADORNO                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   716000 MARIO JORGE DE LEON                         P O BOX 60075                                                                                               BAYAMON             PR         00960
          MARIO JRIVERA OLIVO LILLY B
   302359 OLIVO RIVERA                                REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302360 MARIO L GONZALEZ RIVERA                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   716001 MARIO L LOPEZ RODRIGUEZ                     URB BELLOMONTE           C 26 CALLE 15                                                                      GUAYNABO            PR         00969
   716002 MARIO L LOZADA SANTANA                      URB SANTA MARIA          E 10 CALLE TURQUESA                                                                VEGA ALTA           PR         00692
   302361 MARIO L MARRERO LOZADA                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302362 MARIO L MARTINEZ OCASIO                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   716003 MARIO L MERCADO VELEZ                       P O BOX 34011                                                                                               FORT BUCHANAN       PR         00934
   716005 MARIO L PERALES MENENDEZ                    BO CUBA LIBRE                                                                                               LAS PIEDRAS         PR         00771
   716006 MARIO L QUINTERO VILELLA                    BOX 1837                                                                                                    SAN GERMAN          PR         00683
   716007 MARIO L RAMIREZ CRUZ                        P O BOX 982                                                                                                 TOA BAJA            PR         00951
   302364 MARIO L SOTO VILLAFANE                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  302365 MARIO L. CABEZUDO PEREZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  302366 MARIO L. LEBRON CINTRON                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   716015 MARIO LAURIA VERBIANI                       CONDOMINIO ELBAL           #59 AVENIDA CONDADO PH‐2A                                                              SA JUAN             PR       00907
   302367 MARIO LOPEZ                                 REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   716017 MARIO LOPEZ GUZMAN                          PARCELAS MARQUEZ           59 CALLE LOS PINOS                                                                     MANATI              PR       00674
   716018 MARIO LOPEZ OQUENDO                         QUINTA DE DORADO           AA CALLE 3 N                                                                           DORADO              PR       00646
   302368 MARIO LOPEZ REINANTE                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED

   302369 MARIO LUIS MARRERO LOZADA                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIO M ALICANO MORALES
   716022 A/C AIDA MORALES                            URB CINTRON                501 CALLE PRUNA                                                                        SAN JUAN            PR         00923

   716023 MARIO M ORONOZ RODRIGUEZ                    PO BOX 195473                                                                                                     SAN JUAN            PR         00919‐5473
   302373 MARIO M PIMENTEL SOTO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   716024 MARIO M RENTAS RODRIGUEZ                    P O BOX 1224                                                                                                      SANTA ISABEL        PR         00751

   302374 MARIO M SANCHEZ MARTINEZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302375 MARIO M VEGA COTTY                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARIO M Y VERONICA PRATTS
   716025 RAMOS                                       TRINITARIA K25             JARDINES DE BORINQUEN                                                                  CAROLINA            PR         00985
   716026 MARIO MADERA ECHEVARRIA                     PO BOX 1054                                                                                                       HORMIGUEROS         PR         00660
   302376 MARIO MAISONET GONZALEZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302377 MARIO MANDIA ACOSTA                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302378 MARIO MANGUAL FERREIRA                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   716027 MARIO MARCANO COSME                         1208 CALLE BRONBO                                                                                                 SAN JUAN            PR         00926

   302380 MARIO MARCHESE RODRIGUEZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   302383 MARIO MARRERO RODRIGUEZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302384 MARIO MASS LOPEZ                            REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   302385 MARIO MAYSONET QUINONES                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302387 MARIO MEDERO REYES                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   716029 MARIO MELENDEZ                              URB SANTA CRUZ             25 CALLE ONGAY                                                                         BAYAMON             PR         00961
   716030 MARIO MELENDEZ ROSA                         P O BOX 60075                                                                                                     BAYAMON             PR         00960
   716031 MARIO MERCADO CORTES                        HC 1 BOX 22676                                                                                                    CAGUAS              PR         00725
   716032 MARIO MERCADO LEYRO                         P O BOX 421                                                                                                       CABO ROJO           PR         00623‐0421
   302388 MARIO MERCADO TORRES                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302389 MARIO MERCED PEREZ                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   716033 MARIO MILLAN RODRIGUEZ                      HC 01 BOX 6237                                                                                                    GUAYANILLA          PR         00656
   302390 MARIO MILLAN VELAZQUEZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   716034 MARIO MIRO MUNOZ                            62 MUNOZ RIVERA                                                                                                   JUANA DIAZ          PR         00795
   302391 MARIO MOLINA                                REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   716035 MARIO MOLINA OQUENDO                        PO BOX 215                                                                                                        DORADO              PR         00646

   716036 MARIO MONTALVO FIGUEROA                     2119 LA ALHAMBRA GRANADA                                                                                          PONCE               PR         00716‐3621

   302393 MARIO MORALES HERNANDEZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302394 MARIO MORALES ROSARIO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302395 MARIO MORALES SERRANO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   716039 MARIO MOYA CARRILLO            URB INTERAMERICANA GARDENS AC 33 CALLE 15                                                                                      TRUJILLO ALTO       PR         00976
   302396 MARIO MUNIZ MUNIZ              REDACTED                   REDACTED                                REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302398 MARIO MUNOZ GARCIA             REDACTED                   REDACTED                                REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          MARIO MUNOZ GONZALEZ DBA
   302400 TECNOCOPIER                    PBM 337 P O BOX 3505                                                                                                           JUANA DIAZ          PR         00795
   302401 MARIO MUNOZ ROSARIO            REDACTED                   REDACTED                                REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302402 MARIO N. MORENO PEGUERO        REDACTED                   REDACTED                                REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716040 MARIO NEGRON GONZALEZ          PORTAL DE LOS PINOS        D 60 RR 2 CALLE 2                                                                                   SAN JUAN            PR         00926
   716042 MARIO O DEL POZO PEREZ         URB COUNTRY CLUB           GL 20 AVE CAMPO RICO                                                                                CAROLINA            PR         00983
   302404 MARIO O GARCIA INCERA          REDACTED                   REDACTED                                REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302405 MARIO O TIRADO ROSARIO         REDACTED                   REDACTED                                REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          MARIO O VAZQUEZ
   302406 MALDONADO                      REDACTED                   REDACTED                                REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          Mario Ocasio Berrios C/O HOGAR
   302407 LA LOMITA                      REDACTED                   REDACTED                                REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716043 MARIO OCASIO FLORES            HC 04 BOX 49804                                                                                                                CAGUAS              PR         00725‐9642
   302408 MARIO OMAR BAEZ ELIZA          REDACTED                   REDACTED                                REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   716044 MARIO OMAR TORRES IRIZARRY                  REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302409 MARIO OQUENDO PANTOJA                       REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716045 MARIO ORTIZ COLON                           BO GUAVATE 22550                                                                                                  CAYEY               PR         00736
   716047 MARIO ORTIZ MOLINA                          URB JARDINES DEL CARIBE   CALLE 532 A 38                                                                          PONCE               PR         00731
   302410 MARIO ORTIZ MORALES                         REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716048 MARIO ORTIZ RIVERA                          BO GUAVATE 22550                                                                                                  CAYEY               PR         00736
          MARIO ORTIZ, JEAN Y                                                   COND. EXECUTIVE SUITE 1100‐A
  1422799 RODRÍGUEZ COLÓN, DAVID                      FEDERICO LÓPEZ SANTIAGO   623                          AVE. PONCE DE LEÓN                                         SAN JUAN            PR         00917
   716051 MARIO OTERO HEYLIGER                        URB LOIZA VALLEY          X921 CALLE SANGUINARIA                                                                  CANOVANAS           PR         00729
   302412 MARIO P ACOSTA DUARTE                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   716052 MARIO PABON ROSARIO                         URB ENCANTADA             1 COND BOSQUE DEL RIO APT 80                                                            TRUJILLO ALTO       PR         00976
   302413 MARIO PANTOJAS GARCIA                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716053 MARIO PELLOT CORTES                         HC 3 BOX 34329                                                                                                    MOCA                PR         00676
   716055 MARIO PEREZ VALDES                          URB CAPARRA HEIGTHS       632 7 AVE SAN PATRICIO                                                                  GUAYNABO            PR         00968
   302414 MARIO PILLOT GONZALEZ                       REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302415 MARIO QUINONES PENA                         REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716056 MARIO QUINTANA MARTELL                      CULEBRINAS                12 CALLE PINO                                                                           SAN SEBASTIAN       PR         00685
   302416 MARIO QUIROS RIOS                           REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716057 MARIO R COLON RIVERA                        HC 02 BOX 7810            BO BARRANCAS                                                                            BARRANQUITAS        PR         00794
   716058 MARIO R DIAZ AYUSO                          URB VENUS GARDEN NORTE    AC 7A CALLE TEHUACA                                                                     SAN JUAN            PR         00926

   716059 MARIO R FRANCESHI RODRIGUEZ BOX 1706                                                                                                                          JUANA DIAZ          PR         00795
   716060 MARIO R GONZALEZ SUAREZ     RR 01 BOX 6257                                                                                                                    GUAYAMA             PR         00784
   302417 MARIO R NEVAREZ ALONSO      REDACTED                                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716061 MARIO R PEREZ RODRIGUEZ     MARINA STA                                P O BOX 3288                                                                            MAAYGUEZ            PR         00681
   302418 MARIO R RENTAS MAYSONET     REDACTED                                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   302419 MARIO R RIVERA CONCEPCION                   REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302420 MARIO R RODRIGUEZ                           REDACTED                  REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   302421 MARIO R RODRIGUEZ MERCADO REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302422 MARIO R ROSADO AQUINO     REDACTED                                    REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716063 MARIO R ROSARIO GONZALEZ  PO BOX 712                                                                                                                          ARROYO              PR         00714



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   716064 MARIO R ZULETA DAVALOS                      URB REPARTO METROPOLITANO 1018 CALLE 19 SE                                                                    SAN JUAN             PR           00921
   302423 MARIO R. CASTRO RIOS                        REDACTED                  REDACTED                 REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIO RAFAEL RAMIREZ
   302424 CARMOEGA                                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302425 MARIO RAMIREZ AGUIRRE                       REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716065 MARIO RAMIREZ CAPELLA                       PASEO MAYOR                C 35 CALLE 10                                                                      SAN JUAN             PR           00926
   302426 MARIO RAMIREZ CARMOEGA                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716067 MARIO RAMIREZ MORALES                       URB ALTAMIRA               617 CALLE CENTAURO                                                                 SAN JUAN             PR           00920
   716069 MARIO RAMOS GONZALEZ                        URB EL VIVERO              B 19 CALLE 4                                                                       GURABO               PR           00778
   716070 MARIO RAMOS LUGO                            URB CIUDAD CENTRAL 2       J 4 CALLE 7                                                                        TRUJILLO ALTO        PR           00976
   716071 MARIO RAUL TORRES ROSA                      URB VILLA UNIVERSITARIA    S 28 CALLE 26                                                                      HUMACAO              PR           00792
   716072 MARIO RESENDE FILGUERAS                     URB EL CONQUISTADOR        E 3 CALLE 7                                                                        TRUJILLO ALTO        PR           00976
   716074 MARIO REYES SOSA                            URB CARIBE                 1575 CALLE CAVALIERI                                                               SAN JUAN             PR           00927
          MARIO RIOS Y MARIA
   716075 HERNANDEZ                                   COM CARRIZALES II          SOLAR 653                                                                          HATILLO              PR           00659
   716077 MARIO RIVERA CHINEA                         URB GOLDEN GATE            K 205 CALLE TURQUESA                                                               SAN JUAN             PR           00922
   716080 MARIO RIVERA RIVERA                         PO BOX 392                                                                                                    YABUCOA              PR           00767
   716081 MARIO RIVERA RODRIGUEZ                      PO BOX 392                                                                                                    YABUCOA              PR           00767
   716082 MARIO RIVERA VEGA                           P O BOX 73                                                                                                    VEGA BAJA            PR           00694
          MARIO ROBERTO GONZALEZ
   302429 TORRES                                      REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302430 MARIO ROCHA                                 REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716083 MARIO ROCHE VELAZQUEZ                       HC 2 BOX 10202                                                                                                GUAYNABO             PR           00971
   716084 MARIO RODRIGUEZ BENITEZ                     PO BOX 5745                                                                                                   CAGUAS               PR           00726
   302431 MARIO RODRIGUEZ DE JESUS                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
  1256666 MARIO RODRIGUEZ DE JESUS                    REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302432 MARIO RODRIGUEZ MORALES                     REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716086 MARIO RODRIGUEZ TORRES                      PO BOX 1014                                                                                                   BAYAMON              PR           00960‐1014
   302434 MARIO RODRIGUEZ VEGA                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716087 MARIO RODRIGUEZ VELAZCO                     P O BOX 1079                                                                                                  MAYAGUEZ             PR           00681
   716088 MARIO ROLON MARRERO                         RR 02 BOX 7626                                                                                                TOA ALTA             PR           00953
   716089 MARIO ROMAN PEREZ                           BO HOYAMALA                RR 1 BZN 367                                                                       SAN SEBASTIAN        PR           00755
   716090 MARIO ROSA AMILL                            URB REXVILLE               DH 11 CALLE 27                                                                     BAYAMON              PR           00957
   302435 MARIO ROSA VELAZQUEZ                        REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302436 MARIO ROSADO LOPEZ                          REDACTED                   REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716092 MARIO ROSADO TORRES                         HC 1 BOX 6046                                                                                                 GUAYNABO             PR           00971
   716093 MARIO ROSARIO REYES                         HC 02 BOX 6550                                                                                                FLORIDA              PR           00650‐0000
   716094 MARIO ROSARIO ROSADO                        BO CAMPANILLA              259 PRINCIPAL BOX 1 A                                                              TOA BAJA             PR           00949
   716095 MARIO RUIZ ALVAREZ                          URB CAPARRA HEIGHTS 374    CALLE ESCORIAL                                                                     SAN JUAN             PR           00920

   302437 MARIO S RODRIGUEZ GONZALEZ REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302438 MARIO S VELOZ              REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIO SABAT CABAN / IRMOR
   716096 ONLINE                     LOIZA VALLEY                                A 3 CALLE ACACIA                                                                   CANOVANAS            PR           00729

   302440 MARIO SANTAELLA MALDONADO REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302441 MARIO SANTANA ORTIZ       REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716098 MARIO SANTIAGO            PO BOX 507                                                                                                                      AIBONITO             PR           00705
   716099 MARIO SANTIAGO ORTIZ      RR 2 BOX 7932                                                                                                                   TOA ALTA             PR           00953
   716100 MARIO SANTIAGO QUINONEZ   URB JARDINES DEL CARIBE                      CALLE 9 CASA 311                                                                   PONCE                PR           00731
   716101 MARIO SANTIAGO REYES      URB BONNEVILLE HEIGHTS                       D6 SEC 2C CALLE 1                                                                  CAGUAS               PR           00725
   716102 MARIO SANTIAGO RIVERA     PO BOX 7126                                                                                                                     PONCE                PR           00732



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          MARIO SANTIAGO Y/O EL SABOR
   716103 CATERING                    P O BOX 507                                                                                                              AIBONITO             PR           00705

   716104 MARIO SCHELMETTY GALARZA      BRISAS DE TORTUGUERO           32 CALLE RIO BAIROA                                                                     VEGA BAJA            PR           00693
   716105 MARIO SEDA ARROYO             PUERTO REAL                    5 CALLE 14                                                                              CABO ROJO            PR           00623
   302442 MARIO SEGUI ECHEVARRIA        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302443 MARIO SORIANO RESSY           REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302444 MARIO SOTO GONZALEZ           REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716108 MARIO SOTO RIVERA             URB RIVERVIEW                  O 14 CALLE 13                                                                           BAYAMON              PR           00961
   716109 MARIO SURO                    2751 SW 58TH STREET                                                                                                    OCALA                FL           34474
   716110 MARIO T CORTES ARILL          RR 3 BOX 7283                                                                                                          CIDRA                PR           00739
   716111 MARIO TALAVERA TORRES         PO BOX 481                                                                                                             CAROLINA             PR           00986
   716112 MARIO TANCO SANCHEZ           RES LUIS LLORENS TORRES        EDIF 39 APTO 803                                                                        SAN JUAN             PR           00915
   716113 MARIO TAVALERA TORRES         PO BOX 481                                                                                                             CAROLINA             PR           00986
          MARIO TESTANI SERIS CAFETERIA
   716114 MI CASITA                     URB REPTO. UNIVERSIDAD         CALLE 10 E 34                                                                           SAN GERMAN           PR           00683‐3816
   302445 MARIO TEVENAL AVILES          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIO TEVENAL AVILES S LIZA
  1420437 ESTRADA FIGUEROA              DAVID FERNANDEZ ESTEVES        PO BOX 9023518                                                                          OLD SAN JUAN         PR           00902‐3518
   716115 MARIO TOMO AZCURE             HC 2 BOX 7945                                                                                                          QUEBRADILLA          PR           00678
   716116 MARIO TORRES COLON            HC 1 BOX 3191                                                                                                          LAJAS                PR           00667
   716117 MARIO TORRES RODRIGUEZ        URB EL TORITO                  F 28 CALLE 6                                                                            CAYEY                PR           00736
   716118 MARIO TRANSMISSION            HC 4 BOX 15117                                                                                                         MOCA                 PR           00676
   302449 MARIO TRIPARI                 REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716119 MARIO V ORTIZ VEGA            PO BOX 1727                                                                                                            SAN GERMAN           PR           00683
   716120 MARIO VALENTIN TIRADO         RR 01 BOX 7001                                                                                                         GUAYAMA              PR           00784
   302450 MARIO VARGAS MONTALVO         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302451 MARIO VARGAS ROBLES           REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302452 MARIO VAYAS LLERA             REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIO VAZQUEZ / NYMAR
   302453 CATERING                      VILLAS LOILA                   12 CALLE Q 6                                                                            CANOVANAS            PR           00729
   716125 MARIO VAZQUEZ FELICIANO       URB VALLE DEL CARMEN           4167 AVE CONSTANCIA                                                                     PONCE                PR           00716‐2100

   716126 MARIO VAZQUEZ MARTINEZ      VILLAS DE LOIZA AQ6 CALLE 12                                                                                             CANOVANAS            PR           00729
   716127 MARIO VAZQUEZ MORENO        39 B PARCELAS SAN ANTONIO                                                                                                DORADO               PR           00646
   716128 MARIO VAZQUEZ NIEVES        PO BOX 4649                                                                                                              SAN SEBASTIAN        PR           00685
   716129 MARIO VAZQUEZ RODRIGUEZ     COND JDNS DE BERWIND             EDF B APT 104                                                                           SAN JUAN             PR           00924
   716133 MARIO VELEZ DURAN           PO BOX 1044                                                                                                              MAYAGUEZ             PR           00681
   302454 MARIO VELOZ CAPELLAN        REDACTED                         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIO VELOZ Y/O HOGAR KATTY
   716135 II                          PARC FALU                        465 CALLE 36                                                                            SAN JUAN             PR           00924
                                                                       497 AVE EMILIANO POL SUITE
   716136 MARIO VILLEGAS AGOSTO                       URB LA CUMBRE    342                                                                                     SAN JU AN            PR           00926
   302455 MARIO W PALAU CRESPO                        REDACTED         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716139 MARIO ZAYAS ROSARIO                         BO CAONILLAS     SECTOR LA TEA                                                                           AIBONITO             PR           00705
   302456 MARIODINA SAMEDI SIRENA                     REDACTED         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   302457 MARIOLA FELICIANO MARTINEZ                  REDACTED         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302458 MARIOLA MUNOZ RIVERA                        REDACTED         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302459 MARIOLA PEDRAZA NEGRON                      REDACTED         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302460 MARIOLA RAMIREZ DIAZ                        REDACTED         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716141 MARIOLA RIVERA SANCHEZ                      HC 01 BOX 5141   BO QUEBRADILLAS                                                                         BARRANQUITAS         PR           00794
   716142 MARIOLAS BAKERY                             PO BOX 3295                                                                                              MAYAGUEZ             PR           00681



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   302461 MARIOLGA ALVAREZ MENDOZA                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716143 MARIOLGA CACERES                            URB SANTA JUANA            K 12 CALLE 11                                                                          CAGUAS              PR           00726
   716144 MARIOLGA SHELL INC                          AVE MUNOZ MARIN            ESQ CALLE SAN CARLOS                                                                   CAGUAS              PR           00725
   302462 MARIOLY GONZALEZ RAMOS                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302463 MARIOLYS FERNANDEZ LOPEZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   302464 MARION C SILVESTRINI ROSALY                 REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARION CITRUS MENTAL
   302465 HEALTH CENTERS INC                          PO BOX 771929                                                                                                     OCALA               FL           34477‐1929

   716146 MARION DIEKE DE CROMEYER                    S4‐19 CALLE 3              URB PARANA                                                                             RIO PIEDRAS         PR           00926

   716149 MARION GONZALEZ HERNANDEZ MONSERRATE ELDERS APART                                                                                                             HORMIGUEROS         PR           00623
                                    URB LOMAS VERDES D 3 CALLE
   716150 MARION J HICKMAN          AMARATA                                                                                                                             BAYAMON             PR           00956
   716151 MARION MERRELL DIST INC   PO BOX 2120                                                                                                                         SAN JUAN            PR           00922
   716152 MARION WAYNE GARDINER     25 WEST AVE                                                                                                                         GENEVA              PR           14456
   716153 MARIO''S BAKERY           PO BOX 257                                                                                                                          MOROVIS             PR           00687
          MARIO'S CATERING /MARIA
   716154 MARTINEZ CAMACHO          8 SECC URB SANTA JUANITA                     20 WK CALLE MARIA L GOMEZ                                                              BAYAMON             PR           00956
   716155 MARIOS RENTAL             PO BOX 1190                                                                                                                         ADJUNTAS            PR           00601
          MARIPAZ ZALDUONDO
   302446 VILLAESPESA               REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716157 MARIRMA BELLO CAMACHO     SAINT JUST                                   129 CALLE 2                                                                            TRUJILLO ALTO       PR           00976

   302468 MARIROSA ACEVEDO BURGOS                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302469 MARIROSA COLON CRUZ                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   302470 MARIROSA ORTIZ MALDONADO                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716158 MARIS H MALDONADO ROJAS                     D 4 JARDINES DE SAN BLAS                                                                                          COAMO               PR           00769
                                                      APT 207 CALLE IGNACIO M
   716160 MARISA CHEVRES CHEVRES                      ACOSTA                                                                                                            NARANJITO           PR           00719
   716161 MARISA DIAZ MENDEZ                          PO BOX 25                                                                                                         YAUCO               PR           00698
   302471 MARISA FONT ROBERT                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302472 MARISA GOMEZ CUEVAS                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716162 MARISA GONZALEZ FLORES                      HC 2 BOX 7165                                                                                                     LAS PIEDRAS         PR           00771
   302473 MARISA I TULL BAEZ                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302474 MARISA M JELU IRAVEDRA                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302475 MARISA MOLINA QUINTERO                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716164 MARISA ORTEGA MARTINEZ                      P O BOX 132                                                                                                       NARANJITO           PR           00719
   302476 MARISA PEREZ OLIVELLA                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716165 MARISA PORRATA COLON                        URB BONNEVILLE GDNS        K6 CALLE 6                                                                             CAGUAS              PR           00725
   716166 MARISA RAMOS ARROYO                         URB VENUS GARDENS          677 CALLE ESCORPION                                                                    SAN JUAN            PR           00926
   716169 MARISA VEGA VELEZ                           URB GOLDEN COURT 1         F 2 BOX 17                                                                             SAN JUAN            PR           00918

   302478 MARISA Z. LAUSELL GONZALEZ                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302479 MARISABEL BAIGES UMBERT                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716171 MARISABEL GARCES MATOS                      P O BOX 89                                                                                                        LOIZA               PR           00772

   302480 MARISABEL GARCIA DOMINGEZ                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716174 MARISABEL PARET DROS                        PO BOX 1466                                                                                                       MAYAGUEZ            PR           00681
   716175 MARISABEL RAFFUCCI CARO                     1272 AVE JESUS T PI¤ERO                                                                                           SAN JUAN            PR           00921



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          MARISABEL RAMIREZ
   716176 RODRIGUEZ                                   PO BOX 1109                                                                                                       ADJUNTAS            PR           00601
   302484 MARISABEL RAMOS RIVERA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302485 MARISABEL RIVERA VELEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   716170 MARISABEL RODRIGUEZ TOLEDO URB BALDRICH 222                             CALLE TONS SOTO                                                                       SAN JUAN            PR           00918

   716177 MARISABEL RODRIGUEZ VIDAL                   IMBERY                      CALLE 14 BOX 30                                                                       BARCELONETA         PR           00617
   716178 MARISABEL VEGA FIGUEROA                     RR 1 BOX 14478                                                                                                    OROCOVIS            PR           00720

   716179 MARISANDRA LOPEZ RODRIGUEZ P O BOX 1128                                                                                                                       MANATI              PR           00674

   716180 MARISARA CINTRON LORENZO                    LA RAMBLA                   1672 CALLE NAVARRA ALTOS                                                              PONCE               PR           00731
   302487 MARISARA FIGUEROA SILVA                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302488 MARISARA IRIZARRY ARROYO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   716181 MARISARA MELENDEZ TORRES                    OCEAN PARK                  8 CALLE ELENA APT A 3                                                                 SAN JUAN            PR           00911

   302490 MARISARAH TORRES GONZALEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716184 MARISARY LOZADA IRIZARRY                    HC 01 BOX 8440                                                                                                    CABO ROJO           PR           00623‐9711
   716185 MARISCOS DEL YUNQUE INC                     PO BOX70012 PMB 40                                                                                                FAJARDO             PR           00738
   302491 MARISEFA BAYRON GARCIA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716186 MARISEL ACEVEDO ROBERT                      PO BOX 478                                                                                                        MOCA                PR           00676
   716187 MARISEL ANAYA VEGA                          URB MABU                    D 30 CALLE 3                                                                          HUMACAO             PR           00791
   716189 MARISEL BOCANEGRA                           URB ALTURAS DE SANS SOUCI   A 8 CALLE 1                                                                           BAYAMON             PR           00957
   716190 MARISEL BONANO ORTIZ                        RR 01 BOX 2520                                                                                                    CIDRA               PR           00739

   302492 MARISEL BONILLA VILLANUEVA                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716191 MARISEL CANALES DEL VALLE                   PMB 137 P O BOX 2510                                                                                              TRUJILLO ALTO       PR           00977

   716192 MARISEL CARRASQUILLO REYES                  P O BOX 1101                                                                                                      CIDRA               PR           00739
   302494 MARISEL COLON AYALA                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302495 MARISEL COLON MATOS                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   302497 MARISEL COUVERTIER GARCIA                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302498 MARISEL CRUZ RIVERA                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302500 MARISEL DE SOTO TORRES                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   302501 MARISEL DELGADO HERNANDEZ                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716194 MARISEL DIAZ APONTE                         7MA SECC LEVITTOWN          14‐40 CALLE RAMON MORIA                                                               TOA BAJA            PR           00949
   302502 MARISEL ESPADA NAVIA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716195 MARISEL FERNANDEZ                           PO BOX 191490                                                                                                     SAN JUAN            PR           00919‐1490
   716196 MARISEL FIGUEROA NIEVES                     HC 01 BOX 11834                                                                                                   CAROLINA            PR           00987
   302504 MARISEL FIGUEROA RAMOS                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716197 MARISEL GOMEZ ROSA                          DOS PINOS TOWN HOUSE        C 1 CALLE E 1                                                                         SAN JUAN            PR           00923
   716199 MARISEL HERNANDEZ PEREZ                     HC 02 BOX 6605                                                                                                    FLORIDA             PR           00650‐9105
   716200 MARISEL HILERIO RIVERA                      BORINQUEN                   16 CALLE A                                                                            AGUADILLA           PR           00603
   716201 MARISEL JIMENEZ ANGLERO                     JARDINES DE MAYAGUEZ        EDIF 10 APT 1001                                                                      MAYAGUEZ            PR           00681
   716202 MARISEL LEBRON PEREZ                        URB HACIENDAS CONCORDIA     89 CALLE GLADIOLA                                                                     SANTA ISABEL        PR           00757
   716205 MARISEL MALDONADO                           HC 1 BOX 5450                                                                                                     ADJUNTAS            PR           00601

   716206 MARISEL MALDONADO IRIZARRY URB LAS DELICIAS                             709 CALLE RAFAEL R ESBRI                                                              PONCE               PR           00731
   302506 MARISEL MARTINEZ BENITEZ   REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   302507 MARISEL MARTINEZ FELICIANO                  REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302508 MARISEL MEDINA SANTANA                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716211 MARISEL MELENDEZ TORRES                     PO BOX 586                                                                                                     BARRANQUITAS        PR         00794
   302509 MARISEL MENDEZ CARDONA                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302510 MARISEL MONTANEZ DIAZ                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716212 MARISEL MONTES DE LEON                      PO BOX 437                                                                                                     DORADO              PR         00646
   716213 MARISEL MORALES JIMENEZ                     P O BOX 2778                                                                                                   SAN GERMAN          PR         00683
   716214 MARISEL NEGRàN MEDINA                       URB DEL CARMEN          D‐28 CALLE 1                                                                           CAMUY               PR         00627
   302512 MARISEL NU&EZ BENITEZ                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716215 MARISEL ORTIZ APONTE                        URB INTERAMERICANA      AC 36 CALLE 15                                                                         TRUJILLO ALTO       PR         00976
   716216 MARISEL PAGAN RIOS                          HC 02 BOX 6181                                                                                                 ADJUNTAS            PR         00601‐9601
   302513 MARISEL PEISTON FELICIANO                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302514 MARISEL RIVERA MARIN                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302515 MARISEL RIVERA POLANCO                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716217 MARISEL RIVERA TORRES                       JARD DEL CARIBE         EE10 CALLE 31                                                                          PONCE               PR         00731
   716218 MARISEL RUIZ GONZALEZ                       HC 3 BOX 33445                                                                                                 HATILLO             PR         00657
   302517 MARISEL RUIZ RODRIGUEZ                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302518 MARISEL SALGADO SANCHEZ                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   302519 MARISEL SANTIAGO SANTIAGO                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716219 MARISEL SILVA DAVILA                        HC 40 BOX 4404                                                                                                 SAN LORENZO         PR         00754‐9891
          MARISEL TORRES VAZQUEZ /
   716220 FABIAN RAMIREZ                              BERWIND ESTATES         H 13 CALLE 3                                                                           SAN JUAN            PR         00924
   302520 MARISEL TOUCET BAEZ                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302521 MARISEL VAZQUEZ COLON                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302522 MARISEL VEGA GUZMAN                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302523 MARISEL VERA NEGRON                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716222 MARISEL VILCHES NEGRON                      HC 44 BOX 12681                                                                                                CAYEY               PR         00736

   302524 MARISELA ALVAREZ MAYSONET                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302525 MARISELA ANGULO MUNOZ                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716223 MARISELA APONTE ZAYAS                       PO BOX 34                                                                                                      SAN LORENZO         PR         00754
   302526 MARISELA ARMENGOD                           REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302528 MARISELA CORDOVA NIEVES                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   302530 MARISELA ECHEVARRIA MONGE REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   302532 MARISELA ESCALERA SANTIAGO REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   302535 MARISELA GONZALEZ MERCADO REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   302536 MARISELA HENRIQUEZ RAMOS                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716226 MARISELA HERNANDEZ PEREZ                    10 MYRON STREET                                                                                                CLIFTON             NJ         07014
   716227 MARISELA JUSINO RIVERA                      URB SAN JOSE            40 JULIO N MATOS                                                                       MAYAGUEZ            PR         00682
          MARISELA LABORDE
   302538 MALDONADO                                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716228 MARISELA LOPEZ                              5TA SECCION LEVITOWN    CR 20 CALLE DR PADILLA                                                                 TOA BAJA            PR         00949
   716229 MARISELA LOPEZ CEPERO                       2DA EXT COUNTRY CLUB    1118 CALLE CARLOS BELTRAN                                                              SAN JUAN            PR         00924
   302539 MARISELA MATOS NAZARIO                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302540 MARISELA MEJIAS RONDON                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          MARISELA MERCADO
   302541 ALMODOVAR                                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  302542 MARISELA MONROIG SALTAR                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
         MARISELA MONSERRATE
  716231 HERNANDEZ                                    A 35 LOS PINOS                                                                                               HUMACAO               PR         00791
  716232 MARISELA MORENO RIVERA                       P O BOX 6001              SUITE 020                                                                          SALINAS               PR         00751

   716233 MARISELA NOGUERAS CAMACHO URB BELLAS LOMAS                            703 FLAMBOYAN                                                                      MAYAGUEZ              PR         00680
   716234 MARISELA ORTIZ ORTIZ      URB JARDINES DE JAYUYA                      273 CALLE ROSA                                                                     JAYUYA                PR         00664‐1622

   716235 MARISELA PAGAN VILLANUEVA                   URB SANTA ANA             D 8 CALLE 2                                                                        VEGA ALTA             PR         00692
   716236 MARISELA PAULINO PEREZ                      JARD DE COUNTRY CLUB      K 11 CALLE 17                                                                      CAROLINA              PR         00983‐1628
   302544 MARISELA REYES TORRES                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   716239 MARISELA RICOURT BREA                       PO BOX 40986                                                                                                 SAN JUAN              PR         00940
   716240 MARISELA RODRIGUEZ                          PLAYITA CORTADA           HC 01 6317                                                                         STA ISABEL            PR         00757

   716241 MARISELA ROJAS CONCEPCION                   HC 52 BOX 3866                                                                                               GARROCHALES           PR         00652
   302545 MARISELA VAZQUEZ RIVERA                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   716244 MARISELA VIERA FIGUEROA                     JARDINES DE RIO GRANDE    44AX101                                                                            RIO GRANDE            PR         00745
   716245 MARISELI CRUZ RODRIGUEZ                     PO BOX 542                                                                                                   SANTA ISABEL          PR         00757

   302546 MARISELI RODRIGUEZ TORRES                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   716246 MARISELIS CARRION GOMEZ                     PO BOX 363                                                                                                   CANOVANAS             PR         00729
   716247 MARISELIS DIEPPA RAMOS                      P O BOX 463                                                                                                  SAN LORENZO           PR         00754
   302547 MARISELIS LOZADA LOPEZ                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   716248 MARISELIS RIVERA NIEVES                     HC 03 BOX 4951                                                                                               GURABO                PR         00778
   302548 MARISELIS RONDON GARCIA                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   302549 MARISELL BURGOS MERCADO                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   302550 MARISELL MORA GONZALEZ                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   302551 MARISELLA GUZMAN DELGADO                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   716249 MARISELLE DILAN MORALES                     URB LOS ANGELES           1 CALLE LUNA                                                                       CAROLINA              PR         00979
   716250 MARISELLE MORALES                           EXT HNAS DAVILA           A 106 CALLE EDINCE                                                                 BAYAMON               PR         00959
   716251 MARISELLE OCASIO TORRES                     P O BOX 1418                                                                                                 GUAYAMA               PR         00785

   716252 MARISELLE SOBRADO CANTRES                   COND ALTAVISTA II         APTO 4‐A                                                                           GUAYNABO              PR         00969
          MARISELLY ALMODOVAR
   302553 ACOSTA                                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
                                                      COND JARDINES DE SAN
   716253 MARISELY ALICEA DE JESUS                    FRANCISCO                 EDIF 1 APTO 613                                                                    SAN JUAN              PR         00927
   716254 MARISELY ALICEA MENDEZ                      HC 3 BOX 9724                                                                                                LARES                 PR         00669
   302554 MARISELY CRUZ ORTIZ                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   716255 MARISELY FARIA MORALES                      PO BOX 1114                                                                                                  BAJADERO              PR         00616
   302556 MARISELY GARCIA RIOS                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   302557 MARISELY MERCADO                            REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   302558 MARISELY PARIS RIVERA                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   302559 MARISELY RIVERA CAMACHO                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   716257 MARISELY RIVERA CINTRON                     85 CALLE SAN JOSE OESTE                                                                                      GUAYAMA               PR         00784
   716258 MARISELY SERRANO PEREZ                      PO BOX 3000                                                                                                  COAMO                 PR         00769
          MARISELYS ROSADO
   302561 ALDARONDO                                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   716259 MARISENELLY CRESPO RIVERA                   RR 3 BOX 4250                                                                                                SAN JUAN              PR         00926
   302562 MARISHKA L CRESPO CASTRO                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
          MARISJOSEFINE TAVAREZ
   716260 DUQUE                                       URB COSTA BRAVA D 63      CALLE 12                                                                           ISABELA               PR         00662



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  716264 MARISOL A SOBRINO                            650 AVE FDEZ JUNCOS APT 4                                                                                            SAN JUAN            PR         00907
  302563 MARISOL ABREU GONZALEZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  716265 MARISOL ACEVEDO COLON                        P O BOX 1835                                                                                                         GUAYAMA             PR         00785
  716267 MARISOL ACEVEDO MIRANDA                      APT 272                                                                                                              CIALES              PR         00638
  302566 MARISOL ACEVEDO TIRADO                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  302567 MARISOL ACHA MEDINA                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  302568 MARISOL AGOSTO FLORES                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  302569 MARISOL ALICEA MATOS                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  302572 MARISOL ALVARADO REYES                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  302573 MARISOL ALVAREZ LEON                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  716273 MARISOL ALVAREZ LUGO                         HC 2 BOX 11186                                                                                                       YAUCO               PR         00698
  302574 MARISOL ALVAREZ ROSADO                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  716276 MARISOL ALVAREZ VALENTIN                     P O BOX 1008                                                                                                         MOCA                PR         00676
  716277 MARISOL AMARO MEDINA                         LOMAS DE CAROLINA             B 15 CALLE DEL PICO ESTE                                                               CAROLINA            PR         00987
  716278 MARISOL ANDINO PEREZ                         VISTA ATENAS                  C 24 CALLE ACROPOLIS                                                                   MANATI              PR         00674
  302575 MARISOL ANGULO RIVERA                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   716279 MARISOL ANTONINI RODRIGUEZ COND PARK                                      2305 CALLE LAUREL APT 514                                                              SAN JUAN            PR         00913
   302576 MARISOL ANZUELA TORRES     REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   716280 MARISOL AREIZAGA           HC 02 BOX 120693                                                                                                                      MOCA                PR         00676

   716281 MARISOL AVILES CARDONA                      COM ESTELA CALLE 2 BOX 3302                                                                                          RINCON              PR         00677
   302578 MARISOL AVILES TORRES                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302579 MARISOL BADILLO JIMENEZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   716285 MARISOL BARCELO LOPEZ                       URB HUCARES                   W3 69 CALLE B                                                                          SAN JUAN            PR         00926

   716286 MARISOL BARNES RODRIGUEZ                    URB LEVITTOWN                 AK 24 CALLE LIZA 4TA SECC                                                              TOA BAJA            PR         00949
   716288 MARISOL BATALLA ROMAN                       PO BOX 1332                                                                                                          AGUAS BUENAS        PR         00703
   716289 MARISOL BENITEZ CRUZ                        ADM SERV GEN                  P O BOX 7428                                                                           SAN JUAN            PR         00916‐7428

   716290 MARISOL BENITEZ JIMENEZ                     BO RABANAL KM 5 8 CARR 722    BOX 898                                                                                AIBONITO            PR         00705
   716291 MARISOL BENITEZ PEREZ                       PO BOX 239                                                                                                           YABUCOA             PR         00767

   716292 MARISOL BERMUDEZ MIRANDA                    URB SAN JOSE                  362 CALLE CALZADA                                                                      SAN JUAN            PR         00926
   716293 MARISOL BERRIOS                             PO BOX 855                                                                                                           BARRANQUITAS        PR         00794
   302580 MARISOL BERRIOS BAEZ                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302581 MARISOL BLASCO                              REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   716294 MARISOL BONILLA CINTRON                     BO VALLES TORRES              183 CALLE CORREA                                                                       MERCEDITA           PR         00715
   302583 MARISOL BONILLA LORENZO                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   716295 MARISOL BONILLA MORALES                     PO BOX 69                                                                                                            LARES               PR         00669
   716296 MARISOL BONILLA OCASIO                      P O BOX 944                                                                                                          COROZAL             PR         00944

   716297 MARISOL BONILLA RODRIGUEZ                   P O BOX 719                                                                                                          SAN GERMAN          PR         00683
   302584 MARISOL BORRERO GARCIA                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   302585 MARISOL BRUNO HERNANDEZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   716299 MARISOL BURGOS SANDOZ                       12921 NW 2ND ST               APT107                                                                                 PEMBROKE PINE       FL         33028
   716300 MARISOL CABAN ACEVEDO                       BO VOLADORA BOX 2190                                                                                                 MOCA                PR         00676‐9612
                                                      TECHNOLOGY PETS CONTROL
   302586 MARISOL CABRERA DBA                         EXTERMINATING                 PO BOX 142813                                                                          ARECIBO             PR         00614
   302587 MARISOL CABRERA RAMOS                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302588 MARISOL CABRERA SERRANO                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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          MARISOL CALVO DBA
   302590 TELEPROMTING SERVICES                       602 BALDORITY DE CASTRO     COND BOSCH APT 3‐B                                                                    SAN JUAN            PR           00907
   716301 MARISOL CARABALLO COVAS                     PO BOX 2397                                                                                                       GUAYAMA             PR           00784
   716302 MARISOL CARMONA SILVA                       URB COUNTRY CLUB            933 CALLE MIRLO                                                                       SAN JUAN            PR           00924
          MARISOL CARRASQUILLO
   716261 LANDRON                                     HC 33 BOX 6249                                                                                                    DORADO              PR           00646 9635
   716303 MARISOL CARRERO HIDALGO                     PO BOX 4153                                                                                                       AGUADILLA           PR           00605
   716304 MARISOL CARRILLO LOPEZ                      BO CIBAO                    HC 03 BOX 30220                                                                       SAN SEBASTIAN       PR           00685
   302594 MARISOL CASAS ARSUAGA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      BO CEIBA NORTE SECTOR LOS
   716307 MARISOL CASILLAS TRUJILLO                   GOMEZ                       HC 1 BOX 6416                                                                         JUNCOS              PR           00777

   302595 MARISOL CASTILLO CARABALLO                  REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302598 MARISOL CATALA ZAYAS                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   716309 MARISOL CENTENO RODRIGUEZ CALLE GUMERSINDO                              BERRIOS E 6                                                                           COMERIO             PR           00782
   302599 MARISOL CHALAS DUARTE     REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302600 MARISOL CLAUDIO DEL VALLE REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   716310 MARISOL COLLAZO HERNANDEZ BDA VENEZUELA                                 1223 C/ BRAUMBAUGH                                                                    SAN JUAN            PR           00926
   302602 MARISOL COLON ARROYO      REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302603 MARISOL COLON AYALA       REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   716311 MARISOL COLON CARRADERO                     PO BOX 37                                                                                                         LAS PIEDRAS         PR           00771
   302605 MARISOL COLON DIAZ                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   302606 MARISOL COLON ECHEVARRIA                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302607 MARISOL COLON NEGRON                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716313 MARISOL COLON RIVERA                        BOX 3038                    BO RABANAL                                                                            CIDRA               PR           00739
   716314 MARISOL COLON VELEZ                         HC 71 BOX 5915                                                                                                    CAYEY               PR           00736
   302609 MARISOL CORAZON TORRES                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716315 MARISOL CORCHADO                            PO BOX 574                                                                                                        ISABELA             PR           00662
   716316 MARISOL CORDERO                             P O BOX 21365                                                                                                     SAN JUAN            PR           00919
   302612 MARISOL CORTES                              REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302613 MARISOL CORTES COLON                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716317 MARISOL CORTES GINES                        P O BOX 1423                                                                                                      MANATI              PR           00674

   302614 MARISOL CORTES HERNANDEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302615 MARISOL CORTES QUINONES                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716319 MARISOL COSME ARBELO                        VILLA NEVAREZ               1094 CALLE 5                                                                          SAN JUAN            PR           00927
   716320 MARISOL COSME CALDERON                      RR 02 BOX 5430                                                                                                    TOA ALTA            PR           00953
   716321 MARISOL CRESPO CRESPO                       P O BOX 364466                                                                                                    SAN JUAN            PR           00936‐4466
   302616 MARISOL CRISPIN REYES                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716322 MARISOL CRUZ CONCEPCION                     URB FLORAL PARK             425 CALLE LLORENS TORRES                                                              SAN JUAN            PR           00902

   716323 MARISOL CRUZ CRUZ                           COND BALCONES MONTE REAL    EDIF H APTO 6805                                                                      CAROLINA            PR           00987
   302617 MARISOL CRUZ FELICIANO                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716325 MARISOL CRUZ GONZALEZ                       SAINT JUST                  12 CALLE BETANIA                                                                      TRUJILLO ALTO       PR           00976
   302618 MARISOL CRUZ IRIZARRY                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716327 MARISOL CRUZ RIOS                           HC 71 BOX 3766‐235                                                                                                NARANJITO           PR           00719
   302619 MARISOL CRUZ RODRIGUEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302620 MARISOL CRUZ SANTIAGO                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716330 MARISOL CRUZ SANTOS                         PO BOX 913                                                                                                        TOA ALTA            PR           00954



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  716332 MARISOL CUEVAS VAZQUEZ                        HC 1 BOX 4270                                                                                                          LAS MARIAS        PR         00670
  716333 MARISOL DAVILA ALONZO                         P O BOX 13558                                                                                                          SAN JUAN          PR         00908‐3358
  302621 MARISOL DAVILA RAMOS                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  302622 MARISOL DE JESUS RIVERA                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         MARISOL DE LA CRUZ Y ANGEL D
  302624 CRUZ                                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  302625 MARISOL DE LEON ALAMO                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  716335 MARISOL DE LEON SANTIAGO                      URB ORIENTE                  176 CALLE JOSE CAMPECHE                                                                   LAS PIEDRAS       PR         00771
  716336 MARISOL DIAZ                                  CALLE 3 BOX 152                                                                                                        RIO GRANDE        PR         00745
  302626 MARISOL DIAZ BAEZ                             REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  302628 MARISOL DIAZ BRENES                           REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  302630 MARISOL DIAZ GONZALEZ                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  716338 MARISOL DIAZ GUERRERO                         EST REALES                   40 C/ PRINCIPE ALBERTO                                                                    GUAYNABO          PR         00969‐5323
  302631 MARISOL DIAZ JIMENEZ                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  302632 MARISOL DIAZ TORRES                           REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  302633 MARISOL DIAZ Y LINDA DIAZ                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   302634 MARISOL DOMINGUEZ RIVERA                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   302635 MARISOL E. CRESPO RODRIGUEZ                  REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   302636 MARISOL ECHEVARRIA                           REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   716339 MARISOL ESPINOSA OCASIO                      116 PARC CAMUY CARR 119                                                                                                CAMUY             PR         00627
          MARISOL ESTEVES Y CECILIA
   302638 VILLANUEVA                                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

          MARISOL FARGAS
   716341 AYUSO/JHENSEN D STGO FARG                    BO MARTIN GONZALEZ           CARR 860 KM 3.2 SECTOR CAMPE                                                              CAROLINA          PR         00987

   716342 MARISOL FELICIANO MERCADO                    BO SAN ANTONIO               HC 1 BOX 3953                                                                             QUEBRADILLAS      PR         00678

   716343 MARISOL FELICIANO QUINTANA HC 01 BOX 7065                                                                                                                           HORMIGUEROS       PR         00660
   302639 MARISOL FELICIANO RAMOS    REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   716344 MARISOL FELICIANO RODRIGUEZ HC 2 BOX 11942                                                                                                                          MAYAGUEZ          PR         00680‐9219
   302640 MARISOL FELIX PENA          REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   716346 MARISOL FELIX RODRIGUEZ     URB VILLA BORINQUEN                           F48 CALLE YAGUEZ                                                                          CAGUAS            PR         00725
   302641 MARISOL FERNANDEZ COLON     REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   716347 MARISOL FERNANDEZ GONZALEZ 17 CALLE GANDARA                                                                                                                         COROZAL           PR         00783‐1926
   716348 MARISOL FERNANDEZ LEON     459 CALLE CUBA                                                                                                                           SAN JUAN          PR         00917
   716349 MARISOL FERNANDEZ NIEVES   URB ALTURAS DE AGUADA                          4 CALLE B                                                                                 AGUADA            PR         00602
   302642 MARISOL FERRER FERRER      REDACTED                                       REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   716350 MARISOL FIGUEROA MENDOZA                     COND TORRES DE CAROLINA      100 CALLE JOAQUINA APT 1209A                                                              CAROLINA          PR         00979
          MARISOL FIGUEROA Y FLORES Y
   716351 MUCHO MAS                                    P O BOX 318                                                                                                            PATILLAS          PR         00723
                                                       105 AVE ARTERIAL HOSTOS BOX
   716352 MARISOL FLORES CORTES                        41                                                                                                                     SAN JUAN          PR         00918‐2989
   716353 MARISOL FONTANEZ AYALA                       RES GAUTIER BENITEZ         EDIF 6 APT 49                                                                              CAGUAS            PR         00725

   716354 MARISOL FOSSE MANZANO                        COPP JARDINES DE SAN IGNACIO APT 130 TORRE B                                                                           SAN JUAN          PR         00927
   716355 MARISOL FROTMAN ROBLES                       7 CALLE JOAQUIN VEGA                                                                                                   LAS PIDRAS        PR         00771
   716357 MARISOL GALARZA SANTIAGO                     B‐1 PUEBLO NUEVO                                                                                                       YAUCO             PR         00698



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  302643 MARISOL GALINDEZ                             REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  302644 MARISOL GARCIA                               REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  716359 MARISOL GARCIA CANCEL                        RES SABALOS NUEVOS        EDIF 27 APT 277                                                                  MAYAGUEZ           PR         00680
  716360 MARISOL GARCIA CASIANO                       49 CALLE B                                                                                                 ENSENADA           PR         00647
  716361 MARISOL GARCIA DAVILA                        HC 01 BOX 24138                                                                                            VEGA BAJA          PR         00693
  302645 MARISOL GARCIA LEBRON                        REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  302646 MARISOL GARCIA NEVARES                       REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  716362 MARISOL GARCIA RIVERA                        FARJARDO GARDENS          CALLE TABONUCO                                                                   FAJARDO            PR         00738
  302648 MARISOL GARCIA SANTIAGO                      REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  716363 MARISOL GARCIA VAZQUEZ                       RES NAGUABO VALLEY        EDIF C 10                                                                        NAGUABO            PR         00718
  302649 MARISOL GOMEZ FIGUEROA                       REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  302650 MARISOL GOMEZ MAYAKAD                        REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   302652 MARISOL GONZALEZ ALVARADO REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   302653 MARISOL GONZALEZ CABRERA                    REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   302654 MARISOL GONZALEZ CASTILLO                   REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   302655 MARISOL GONZALEZ CUEVAS                     REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   716365 MARISOL GONZALEZ DIAZ                       URB LOS DOMINICOS         E 132 C/ SAN RAFAEL                                                              BAYAMON            PR         00957

   302656 MARISOL GONZALEZ GONZALEZ                   REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   302658 MARISOL GONZALEZ MONTES                     REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   302659 MARISOL GONZALEZ QUINONES REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   302661 MARISOL GONZALEZ RIVERA   REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   716371 MARISOL GONZALEZ RODRIGUEZ HC 1 BOX 6206                                                                                                               OROCOVIS           PR         00720

   716372 MARISOL GONZALEZ SANTIAGO                   654 BARRIO PUENTE PENA                                                                                     CAMUY              PR         00627
   302662 MARISOL GONZALEZ VELEZ                      REDACTED                  REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   716373 MARISOL GUERRA                              RES LUIS LLORENS TORRES   EDIF 36 APT 751                                                                  SAN JUAN           PR         00913

   302663 MARISOL GUTIERREZ RODRIGUEZ REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   716374 MARISOL GUZMAN MORENO       HC 1 BOX 5939                                                                                                              GUAYNABO           PR         00971
   302664 MARISOL GUZMAN VEGA         REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   302665 MARISOL HENRRIQUEZ BAEZ     REDACTED                                  REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   716375 MARISOL HERNANDEZ           9 CALLE CUESTA                                                                                                             RINCON             PR         00677

   302666 MARISOL HERNANDEZ DE JESUS REDACTED                                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   716377 MARISOL HERNANDEZ FERRER                    PO BOX 547                                                                                                 FLORIDA            PR         00650

   716378 MARISOL HERNANDEZ FIGUEROA URB FOREST VIEW B 22                       CALLE ANDORRA                                                                    BAYAMON            PR         00956
          MARISOL HERNANDEZ
   716379 LAUREANO                   JARD DE BORINQUEN                          U 14 CALLE PETUNIA                                                               CAROLINA           PR         00985

   302667 MARISOL HERNANDEZ MARTINEZ REDACTED                                   REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          MARISOL HERNANDEZ
   716380 MELENDEZ                   URB SUNVILLE                               C / 17 BLOQ V 22                                                                 TRUJILLO ALTO      PR         00976

   302668 MARISOL HERNANDEZ MORALES REDACTED                                    REDACTED              REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED




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                                     COND PQUE DE LOS
   716381 MARISOL HERNANDEZ SANTIAGO MONACILLOS                                 APT 1513                                                                           SAN JUAN            PR           00921
   716382 MARISOL HOPGOOD            685 AVE MIRAMAR APT 1402                                                                                                      SAN JUAN            PR           00907
   716383 MARISOL IRIZARRY           BO CLAUSELL                                B 1 CALLE 4                                                                        PONCE               PR           00731
   302670 MARISOL IRIZARRY ACOSTA    REDACTED                                   REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   302671 MARISOL IRIZARRY GONZALEZ                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302672 MARISOL IRIZARRY IRIZARRY                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716384 MARISOL IRIZARRY MARTINEZ                   VILLAS DEL OESTE          702 CALLE TAURO                                                                    MAYAGUEZ            PR           00680
   302673 MARISOL IRIZARY VELAZQUEZ                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716385 MARISOL J MELENDEZ MAIZ                     PO BOX 195645                                                                                                SAN JUAN            PR           00919‐5645
   716386 MARISOL JUARBE CACERES                      HC 1 BOX 4330                                                                                                NAGUABO             PR           00718‐9712
   302674 MARISOL L GRAJALES LOPEZ                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302675 MARISOL L McCANN DE JESUS                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   302676 MARISOL LAMOURT SAAVEDRA                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716388 MARISOL LASALLE                             PO BOX 1283                                                                                                  MOCA                PR           00676‐1238

   716389 MARISOL LAUREANO DE ANGEL                   PO BOX 9603                                                                                                  SAN JUAN            PR           00908
   716390 MARISOL LEBRON NIEVES                       HC 30 BOX 37508                                                                                              SAN LORENZO         PR           00754
   716391 MARISOL LOPEZ DIAZ                          9818 TREE TOPS LAKE RD.                                                                                      TAMPA               FL           33626
   302678 MARISOL LOPEZ GONZALEZ                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302679 MARISOL LOPEZ GUTIERREZ                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302680 MARISOL LOPEZ MENDEZ                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302681 MARISOL LOPEZ RODRIGUEZ                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716392 MARISOL LOPEZ TORRES                        PO BOX 1133                                                                                                  SABANA GRANDE       PR           00637
   716393 MARISOL LOZADA                              HC 01 BOX 7189                                                                                               LAS PIEDRAS         PR           00771
   302682 MARISOL LUCIANO MALAVE                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302683 MARISOL LUCRE QUINONES                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302684 MARISOL LUGO PEREZ                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302685 MARISOL LUNA DIAZ                           REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716394 MARISOL M RODRIGUEZ                         PO BOX 1801                                                                                                  SAN JUAN            PR           00919

   302687 MARISOL MACHICOTE HIRALDO                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302689 MARISOL MADERA SEGARRA                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARISOL MALDONADO DEL
   716395 VALLE                                       HC 30 BOX 31709                                                                                              SAN LORENZO         PR           00754
          MARISOL MALDONADO
   302690 FIGUEROA                                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARISOL MALDONADO
   716396 FONTANEZ                                    HC 01 BOX 5595                                                                                               BARRANQUITAS        PR           00794

   302691 MARISOL MALDONADO GARCIA                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   302692 MARISOL MALDONADO NEGRON REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARISOL MALDONADO
   302693 RODRIGUEZ                REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716398 MARISOL MALDONADO RUIZ   URB CORALES DE HATILLO                       4 CALLE E                                                                          HATILLO             PR           00659

   302694 MARISOL MARCANO ELOSEQUI                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302696 MARISOL MARRERO RIVERA                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716399 MARISOL MARRERO TIRADO                      HC 02 BOX 7362‐167                                                                                           CIALES              PR           00638




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          MARISOL MARTE / ANGEL
   302698 MERCADO                                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302699 MARISOL MARTINEZ ANDINO                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302700 MARISOL MARTINEZ COTTO                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   302701 MARISOL MARTINEZ FIGUEROA                   REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716402 MARISOL MARTINEZ GARCIA                     PO BOX 288                                                                                                          TOA BAJA            PR           00751‐0768
   716403 MARISOL MARTINEZ GODEN                      PO BOX 396                                                                                                          LAS MARIAS          PR           00670
   302702 MARISOL MARTINEZ MEDINA                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302703 MARISOL MARTINEZ NOYA                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716404 MARISOL MARTINEZ PEREZ                      REPARTO METROPOLITANO          871 SE CALLE 53                                                                      SAN JUAN            PR           00927
   716405 MARISOL MARTINEZ RIVERA                     HC 1 BOX 8537                                                                                                       TOA BAJA            PR           00949
   302704 MARISOL MATOS MORENO                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                     APTDO 509 CALLE LLORENS
   716406 MARISOL MATOS RIVERA                        FLORAL PARK                    TORRES                                                                               SAN JUAN            PR           00918

   716407 MARISOL MAYSONET ROSADO                     281 BO QDA CRUZ                CARR 165 KM 7 1                                                                      TOA ALTA            PR           00954
   302705 MARISOL MEDINA ALAMO                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   716408 MARISOL MEDINA MORALES                      P O BOX 469 VICTORIA STATION                                                                                        AGUADILLA           PR           00605

   716409 MARISOL MEDINA VELAZQUEZ                    HC 01 BOX 6775                                                                                                      HORMIGUEROS         PR           00660‐9715
   716410 MARISOL MEJIAS ROSAS                        MONTE GRANDE                   95 CALLE FLAMBOYAN                                                                   CABO ROJO           PR           00623

   302706 MARISOL MELENDEZ GONZALEZ REDACTED                                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716412 MARISOL MELENDEZ ORTIZ    BO LOS LLANOS                                    CARR 545 KM 1 7                                                                      COAMO               PR           00769
   302707 MARISOL MELENDEZ QUILES   REDACTED                                         REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   716413 MARISOL MELENDEZ RAMIREZ                    HC 1 BOX 6486                                                                                                       CABO ROJO           PR           00623

   302708 MARISOL MENDEZ COLOMBANI                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      URB EST MONTE GRANDE
   716415 MARISOL MENDEZ CRUZ                         ESTATES                        J 10 CALLE TAMESIS                                                                   CABO ROJO           PR           00623
   302709 MARISOL MENDEZ HUERTAS                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716416 MARISOL MENDEZ MENDEZ                       HC 5 BOX 10627                                                                                                      MOCA                PR           00676
   716262 MARISOL MENDEZ RIVERA                       PO BOX 73                                                                                                           SAINT JUST          PR           00978

   302710 MARISOL MENDEZ RODRIGUEZ                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   716418 MARISOL MERCADO SANTIAGO                    URB EL VEDADO                  405 CALLE BONAFUX                                                                    SAN JUAN            PR           00918‐3023
   716419 MARISOL MIRANDA DELGADO                     HC 02 BOX 9670                                                                                                      JUNCOS              PR           00777
   302711 MARISOL MOLINA BONILLA                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   716420 MARISOL MOLINA RODRIGUEZ                    URB DEL CARMEN                 69 CALLE 5                                                                           JUANA DIAZ          PR           00795

   716421 MARISOL MOLINO RODRIGUEZ                    BO EL SECO                     54 H M TOWNER                                                                        MAYAGUEZ            PR           00682
   302712 MARISOL MONTALVO NUNEZ                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   302713 MARISOL MONTANEZ CANALES                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302714 MARISOL MONTES VAZQUEZ                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716424 MARISOL MORALES                             HC 04 BOX 14252                                                                                                     MOCA                PR           00676
   302715 MARISOL MORALES ACOSTA                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716426 MARISOL MORALES CRUZ                        P O BOX 778                                                                                                         COMERIO             PR           00782



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  716428 MARISOL MORALES MEDINA                       URB LAS CUMBRES         148 CALLE LAS LOMAS                                                                      RIO PIEDRAS        PR         00926 5527
  716431 MARISOL MORALES RAMIREZ                      104 CALLE SAN JUAN                                                                                               CAMUY              PR         00627
  302718 MARISOL MORENO NIEVES                        REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  716432 MARISOL MOYENO BAERGA                        PO BOX 48                                                                                                        SABANA HOYOS       PR         00688

   302719 MARISOL MUBARAK PERDOMO                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   302720 MARISOL MUNIZ OTERO                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   302721 MARISOL MUNIZ RIOS                          REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   302723 MARISOL MUNOZ FELIX                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   302724 MARISOL NAVARRO                             REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   716433 MARISOL NAVARRO DELGADO                     USC 8                   PO BOX 12383                                                                             SAN JUAN           PR         00914‐0383

   716435 MARISOL NAVARRO HERNANDEZ BO RABANAL                                BOX 2944                                                                                 CIDRA              PR         00739
   716436 MARISOL NAVAS RODRIGUEZ      RIO PIEDRAS HEIGHTS                    127 CALLE SALVEN                                                                         SAN JUAN           PR         00926
   716437 MARISOL NEGRON GONZALEZ      VILLAS DE SAN AGUSTIN                  B 4 CALLE 4                                                                              BAYAMON            PR         00959
   716438 MARISOL NEGRON MARTINEZ      P O BOX 362                                                                                                                     MOROVIS            PR         00687
   716439 MARISOL NIEVES RAMOS         HC 57 BOX 12159                                                                                                                 AGUADA             PR         00602
          MARISOL OCASIO FIGUEROA ATR‐ URB GARDEN HILLS ESTATES C/4
   302726 BC                           #14                                                                                                                             GUAYNABO           PR         00966
   302727 MARISOL OJEDA                REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   716440 MARISOL OLIVENCIA GUZMAN                    FACTOR 1                429 CALLE 23                                                                             ARECIBO            PR         00612
   716442 MARISOL OLIVERAS PAGAN                      HC 1 BOX 6247                                                                                                    GUAYANILLA         PR         00656
   716443 MARISOL ORTIZ CARTAGENA                     HC 72 BOX 7089                                                                                                   CAYEY              PR         00736
   302728 MARISOL ORTIZ FIGUEROA                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   302729 MARISOL ORTIZ HERNANDEZ                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   716444 MARISOL ORTIZ NIEVES                        94 CALLE TORRES ALTOS                                                                                            PONCE              PR         00731
   302730 MARISOL ORTIZ RAMOS                         REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   302732 MARISOL ORTIZ RODRIGUEZ                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   302733 MARISOL ORTIZ SANTIAGO                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   302734 MARISOL ORTIZ SERRANO                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   716448 MARISOL ORTIZ TORRES                        URB STARLIGHT           4564 CALLE DENEB                                                                         PONCE              PR         00717‐1463
   302735 MARISOL OTERO ESTERAS                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   302736 MARISOL PABON BALLESTER                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   716449 MARISOL PABON BURGOS                        NUEVO MAMEYES           E 15 CALLE 3                                                                             PONCE              PR         00730
   302738 MARISOL PABON CALDERON                      REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   302739 MARISOL PABON GALARZA                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   716450 MARISOL PADIN ROSARIO                       URB TULIO LARRINAGA     605 CALLE A                                                                              TRUJILLO ALTO      PR         00976
   716451 MARISOL PAGAN RODRIGUEZ                     URB BELLA VISTA         P61 CALLE 21                                                                             BAYAMON            PR         00957
   302740 MARISOL PAGAN ROSARIO                       REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   716452 MARISOL PALERMO TORRES                      RES DR PILA             SEGUNDA EXT. BQ 9 APART 133                                                              PONCE              PR         00731

   302741 MARISOL PANZARDI MIRANDA                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   302742 MARISOL PASTRANA MORALES                    REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   716453 MARISOL PEREZ                               HC 01 BOX 5356                                                                                                   JUNCOS             PR         00777
   716454 MARISOL PEREZ AMADOR                        P O BOX 9065798                                                                                                  SAN JUAN           PR         00906
   716455 MARISOL PEREZ CABRERA                       BO BARRIO CIBUCO        APARTADO 691                                                                             COROZAL            PR         00783
   716456 MARISOL PEREZ DE JESUS                      480 BOX 2310                                                                                                     QUEBRADILLAS       PR         00678
   716458 MARISOL PEREZ GARCIA                        PO BOX 6797                                                                                                      MAYAGUEZ           PR         00681
   302743 MARISOL PEREZ GUADALUPE                     REDACTED                REDACTED                      REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  716459 MARISOL PEREZ JIMENEZ                        PO BOX 21365                                                                                                     SAN JUAN            PR         00926‐1365
  302746 MARISOL PEREZ NIEVES                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  302747 MARISOL PEREZ SANCHEZ                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  716462 MARISOL PINEIRO SOLER                        403 COND SEGOVIA APT 403                                                                                         SAN JUAN            PR         00918

   716463 MARISOL PORTALATIN GUZMAN URB ROYAL GARDENS                            F 15 CALLE JOSEFINA                                                                   BAYAMON             PR         00957

   302748 MARISOL QUIðONES RODRIGUEZ REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302751 MARISOL QUILES FIGUEROA    REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302753 MARISOL QUINONES NATAL     REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARISOL QUINONES Y JOSÉ
   302757 NIEVES                     REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   716464 MARISOL R GALARZA SEPULVEDA 83 CALLE JUAN ARZOLA                                                                                                             GUAYANILLA          PR         00656
   302759 MARISOL RAMIREZ             REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   302760 MARISOL RAMIREZ MELENDEZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302761 MARISOL RAMIREZ RIVERA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   716465 MARISOL RAMOS ALVAREZ                       BOX 1116                                                                                                         ARECIBO             PR         00613
   716466 MARISOL RAMOS CARRERO                       BO BORINQUEN               P O BOX 3089                                                                          AGUADILLA           PR         00603
   716467 MARISOL RAMOS COLON                         BO CORAZON SAN CIPRIAN     P 14‐230 CALLE 11                                                                     GUAYAMA             PR         00784
   302762 MARISOL RAMOS GARCIA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   716468 MARISOL RAMOS LINARES                       E 7 URB MAR AZUL                                                                                                 HATILLO             PR         00659
   302763 MARISOL RAMOS RAMOS                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302764 MARISOL RAMOS ROBLES                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302765 MARISOL RAMOS RODRIGUEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302766 MARISOL RAMOS ROMERO                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302769 MARISOL REY GRAULAU                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   716474 MARISOL REYES REYES                         15 CALLE PALMER                                                                                                  CIDRA               PR         00739
   716475 MARISOL RIPOLL GONZALEZ                     URB LAS DELICIAS           3428 CALLE JOSEFINA MOLL                                                              PONCE               PR         00728
   716476 MARISOL RIVAS CRISTOBAL                     HC 2 BOX 7434                                                                                                    OROCOVIS            PR         00720
   302770 MARISOL RIVERA BAEZ                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   716477 MARISOL RIVERA CRUZ                         HC 1 BOX 7218                                                                                                    AGUAS BUENAS        PR         00703‐9716
   302771 MARISOL RIVERA GONZALEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302772 MARISOL RIVERA JIMENEZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   716479 MARISOL RIVERA MOSLY                        BOX 11257                                                                                                        CAYEY               PR         00736
   302773 MARISOL RIVERA NORAT                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   716480 MARISOL RIVERA RIVERA                       P O BOX 6382                                                                                                     CIALES              PR         00638
   716482 MARISOL RIVERA RODRIGUEZ                    URB HUYKE                  184 CALLE HUYKE                                                                       SAN JUAN            PR         00918
   302774 MARISOL RIVERA SANCHEZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   716484 MARISOL RIVERA SANTANA                      STA JUANITA                GG 37 CALLE 25                                                                        BAYAMON             PR         00956
   302776 MARISOL RIVERA VAZQUEZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   302777 MARISOL RIVERA VELEZ                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   716487 MARISOL RIVERO ROSARIO                      PO BOX 1829                                                                                                      BAYAMàN             PR         00960‐1829
   716488 MARISOL ROBLE APONTE                        PARCELAS CARMEN 45         CALLE REINA                                                                           VEGA ALTA           PR         00692
   716489 MARISOL ROBLES VELAZQUEZ                    BOX 9696                                                                                                         CAROLINA            PR         00988
   716490 MARISOL ROBOT PIERESCHI                     BO PUEBLO NUEVO            P O BOX 407                                                                           MARICAO             PR         00606

   302778 MARISOL ROCA VALL LLOBERA                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARISOL RODRIGUEZ
   302779 BERMUDEZ                                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   302780 MARISOL RODRIGUEZ BERRIOS                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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          MARISOL RODRIGUEZ
   716492 CARRASQUILLO                                SECTOR CARRASQUILLO    CARRETERA 856 KM 9 5                                                                 CAROLINA            PR           00985

   716493 MARISOL RODRIGUEZ CINTRON                   P O BOX 352                                                                                                 JUANA DIAZ          PR           00795
   716494 MARISOL RODRIGUEZ COLON                     HC 1 BOX 1579                                                                                               BOQUERON            PR           00622‐9703

   716495 MARISOL RODRIGUEZ HERNADEZ COND BARRANQUITAS                       1022 AVE ASHFORD APT B4                                                              SAN JUAN            PR           00907
          MARISOL RODRIGUEZ
   716496 HERNANDEZ                  HC 03 BOX 16211                                                                                                              QUEBRADILLAS        PR           00678

   302782 MARISOL RODRIGUEZ LOZADA                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302783 MARISOL RODRIGUEZ ORTIZ                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   302785 MARISOL RODRIGUEZ PACHECO REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716499 MARISOL RODRIGUEZ PEREZ   PO BOX 255                                                                                                                    GUAYNABO            PR           00970

   302786 MARISOL RODRIGUEZ RAMIREZ                   REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302787 MARISOL RODRIGUEZ RIVERA                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARISOL RODRIGUEZ
   302790 RODRIGUEZ                                   REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   716503 MARISOL RODRIGUEZ ROSADO                    46 POMARROSAS                                                                                               COROZAL             PR           00783

   716504 MARISOL RODRIGUEZ SANTIAGO URB SAN JOSE                            BOX 341                                                                              SABANA GRANDE       PR           00637

   716505 MARISOL RODRIGUEZ SERRANO                   P O BOX 976                                                                                                 AIBONITO            PR           00705
   716506 MARISOL RODRIGUEZ TIRADO                    RES BAIROA             CP 4 CALLE 9                                                                         CAGUAS              PR           00725
          MARISOL RODRIGUEZ
   302792 VELAZQUEZ                                   REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARISOL RODRIGUEZ
   716507 VILLARUBIA                                  PO BOX 1148                                                                                                 AGUADA              PR           00602
   716508 MARISOL ROMAN QUINTANA                      HC 01 BOX 11172 M                                                                                           ARECIBO             PR           00612
   716510 MARISOL ROMAN SANTIAGO                      PLAYA PONCE            70 LORANZA BISO                                                                      PONCE               PR           00716
   716512 MARISOL ROMAN VALENTIN                      HC 7 BOX 34533                                                                                              HATILLO             PR           00659
   302793 MARISOL ROSADO                              REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302794 MARISOL ROSADO AVILA                        REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARISOL ROSARIO / EST DEL
   716513 PARQUE CORP                                 55 C/ AGUA MARINA                                                                                           CAROLINA            PR           00987
   716514 MARISOL ROSARIO BRUNO                       PO BOX 1630                                                                                                 UTUADO              PR           00641
   302796 MARISOL ROSARIO OLIVERAS                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716515 MARISOL ROSARIO PEREZ                       HC 04 BOX 4478                                                                                              QUEBRADILLAS        PR           00678
   716516 MARISOL RUIZ MENDEZ                         HC 3 BOX 33471                                                                                              AGUADILLA           PR           00603‐9708
   302797 MARISOL RUIZ MOLINA                         REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302799 MARISOL RUIZ ORTIZ                          REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716517 MARISOL SAEZ RAMOS                          PO BOX 7126                                                                                                 PONCE               PR           00732
   302800 MARISOL SAMO GOYCO                          REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302802 MARISOL SANABRIA BONILLA                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716518 MARISOL SANCHEZ                             APT LITHEDA            EDIF 210 APT 2                                                                       SAN JUAN            PR           00926
   716519 MARISOL SANCHEZ BAEZ                        PO BOX 720                                                                                                  SALINAS             PR           00751
   716520 MARISOL SANCHEZ BORGES                      URB RIO PLANTATION     II CALLE 5                                                                           BAYAMON             PR           00961
   716521 MARISOL SANCHEZ CRESPO                      P O BOX 399                                                                                                 AGUADA              PR           00602
   716522 MARISOL SANCHEZ FIGUEROA                    CUPEY BAJO             ATP LITHEDA EDIF 210‐00                                                              RIO PIEDRAS         PR           00926
   302803 MARISOL SANCHEZ ILLA                        REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   302804 MARISOL SANCHEZ MANZANO                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   302805 MARISOL SANCHEZ RODRIGUEZ                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716523 MARISOL SANCHEZ VELEZ                       HC 1 BOX 4121             BO CALLEJONES                                                                         LARES               PR           00669

   716524 MARISOL SANTAELLA LATIMER                   BARRIO BUENA VISTA        9 CALLE LAUREL                                                                        CAROLINA            PR           00985
   302807 MARISOL SANTANA SIERRA                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716525 MARISOL SANTIAGO ARCE                       CARR 504 KM 2 HM 7 INT                                                                                          PONCE               PR           00731
   716526 MARISOL SANTIAGO COLON                      P O BOX 463                                                                                                     VILLALBA            PR           00766

   716527 MARISOL SANTIAGO HERNANDEZ REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302808 MARISOL SANTIAGO NIEVES    REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302809 MARISOL SANTIAGO ORTIZ     REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302810 MARISOL SANTIAGO RIVERA    REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   716529 MARISOL SANTIAGO RODRIGUEZ HC 3 BOX 15442                                                                                                                   YAUCO               PR           00691‐9643

   302811 MARISOL SANTIAGO SANTIAGO                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716531 MARISOL SANTIAGO TORRES                     PO BOX 6939                                                                                                     PONCE               PR           00733
   716533 MARISOL SANTONI SILVA                       HC 05 BOX 60406                                                                                                 MAYAGUEZ            PR           00680

   302813 MARISOL SANTOS CARABALLO                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   716535 MARISOL SERRANO GUTIERREZ                   BO CAMPANILLA             189 C CALLE DEL MONTE                                                                 TOA BAJA            PR           00949
   716538 MARISOL SHARON ORTIZ                        URB CULEBRINA             H8 CALLE PINO                                                                         SAN SEBASTIAN       PR           00685
   716540 MARISOL SOSA BETANCOURT                     URB PARQUE ECUESTRE       G40 CALLE IGNEITO                                                                     CAROLINA            PR           00987
   302815 MARISOL SOSA VALENTIN                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716541 MARISOL SOTO AGUIAR                         EXT SAN PEDRO             P 15 CALLE SAN CRISTOBAL                                                              FAJARDO             PR           00738
   302816 MARISOL SOTO CORDRADO                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716542 MARISOL SOTO FIGUEROA                       SANTA JUANITA             PO BOX 220                                                                            BAYAMON             PR           00956
   716544 MARISOL SUAREZ MIRANDA                      PO BOX 1643                                                                                                     AIBONITO            PR           00705
   716545 MARISOL SUAREZ REYES                        HC 43 BOX 11764                                                                                                 CAYEY               PR           00736
   716546 MARISOL SUAREZ SHARRY                       2441 SW 27 AVE #4                                                                                               MIAMI               FL           33145‐0000
   716547 MARISOL SUPER STATION                       P.O. BOX 272                                                                                                    VIEQUES             PR           00765
   716263 MARISOL TIRADO DE JESUS                     PO BOX 679                                                                                                      ARROYO              PR           00714
   716548 MARISOL TORO LUCCIONI                       URB RAMIREZ DE ARELLANO   14 KOPPISCH                                                                           MAYAGUEZ            PR           00680
   302817 MARISOL TORRES ALICEA                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302818 MARISOL TORRES GUZMAN                       REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716550 MARISOL TORRES MERCADO                      SECT CUCHIL               HC 3 BOX 20306                                                                        ARECIBO             PR           00612
   302819 MARISOL TORRES RAMOS                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302820 MARISOL TORRES SANCHEZ                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716551 MARISOL TORRES SOTO                         HC 04 BOX 14237                                                                                                 MOCA                PR           00626
   716552 MARISOL TORRUELLA                           URB PARKVILLE             K 1 CALLE JEFFESON                                                                    GUAYNABO            PR           00696
   302821 MARISOL TRINIDAD REYES                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302822 MARISOL VALENTIN LOPEZ                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302823 MARISOL VALLE GONZALEZ                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716554 MARISOL VALLE MORALES                       URB BELINDA               G 11 CALLE 7                                                                          ARROYO              PR           00714
   716555 MARISOL VARELA CINTRON                      P O BOX 482                                                                                                     HORMIGUEROS         PR           00660

   716556 MARISOL VARGAS RODRIGUEZ                    PO BOX 2217                                                                                                     ISABELA             PR           00662
   302824 MARISOL VAZQUEZ AGOSTO                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   716557 MARISOL VAZQUEZ GONZALEZ                    MSC 172 BOX 427                                                                                                    MAYAGUEZ             PR           00681

   716558 MARISOL VAZQUEZ HERNANDEZ                   PO BOX 7126                                                                                                        PONCE                PR           00732
   302825 MARISOL VAZQUEZ PADILLA                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302826 MARISOL VECCHINI                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302827 MARISOL VEGA DELGADO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302828 MARISOL VEGA FUENTES                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302829 MARISOL VEGA MUNIZ                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716563 MARISOL VEGA SANTIAGO                       ARCADIO MALDONADO            69 CALLE 3                                                                            SALINAS              PR           00751
   716564 MARISOL VEGA VEGA                           HC 2 BOX 40918                                                                                                     VEGA BAJA            PR           00693

   302830 MARISOL VELAZQUEZ FONSECA                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   716565 MARISOL VELAZQUEZ ROCHANI                   REPARTO ESTRADA              RR 11 BOX 3788                                                                        BAYAMON              PR           00956
   716566 MARISOL VELAZQUEZ SEDO                      HC 1 BOX 12377                                                                                                     CABO ROJO            PR           00623
   302831 MARISOL VELEZ CONCEPCION                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716568 MARISOL VELEZ FIGUEROA                      APARTADO 1127                                                                                                      LAJAS                PR           00667

   716569 MARISOL VELEZ VEGA                          RR25 BOX 10 GALATEOS BAJOS                                                                                         ISABELA              PR           00662
   716570 MARISOL VICENS AGUILAR                      URB SULTANA                  58 CALLE GIRALDA                                                                      MAYAGUEZ             PR           00680
   302832 MARISOL VIRUET MEDINA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716572 MARISOL VIVAS MALDONADO                     BO CAPETILLO                 1019 CALLE 11                                                                         SAN JUAN             PR           00923
   302834 MARISOL, SANTIAGO                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302835 MARISSA AMADOR AZNAR                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302836 MARISSA COLON PEREZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302837 MARISSA E IBANEZ ARROYO                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   716573 MARISSA GARCIA RODRIGUEZ                    232 AVE ELEONOR ROOSEVELT                                                                                          SAN JUAN             PR           00907
   716574 MARISSA JIMENEZ SANTONI                     COND METRO MONTE             BOX 19                                                                                CAROLINA             PR           00987
   716575 MARISSA LEE GIMENEZ DIAZ                    COM CUYON 704                                                                                                      COAMO                PR           00825
   716576 MARISSA LOPEZ BERMUDEZ                      URB VALLE HERMOSO            SD 22 CALLE FLAMBOYAN                                                                 HORMIGUEROS          PR           00660
   716577 MARISSA LOPEZ RIVERA                        ARENALES BAJOS               BZN 1682 22                                                                           ISABELA              PR           00662
          MARISSA PANTOJAS
   302838 CONCEPCION                                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302842 MARISSA RIVERA PABON                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   302843 MARISSA RUBIO FIGUEROA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   716580 MARISSA SANTIAGO VALENTIN                   232 AVE ELEONOR ROOSEVELT                                                                                          SAN JUAN             PR           00907
   302844 MARISSA SEIN NAJERA                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   716582 MARISSEL HERNANDEZ ROMERO 1 AVE PERIFERAL APT 709                                                                                                              TRUJILLO ALTO        PR           00976

   716583 MARISSEL VELAZQUEZ VICENTE                  PO BOX 70114                                                                                                       SAN JUAN             PR           00936‐8114
   302847 MARISSELIS TORRES CRUZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716585 MARITE ARROYO TRINIDAD                      RES LOS MIRTOS               EDIF 14 APT 224                                                                       CAROLINA             PR           00987
   716586 MARITERE AYALA PADILLA                      COND CANALS PARK             253 CALLE CANALS APT 202                                                              SAN JUAN             PR           00908
   716587 MARITERE BRIGNONI MARTIR                    URB EL COMANDANTE            438 CALLE SAN CARLOS                                                                  CAROLINA             PR           00982
   716588 MARITERE CARRASQUILLO                       610 CALLE MIRAMAR APT 4A                                                                                           SAN JUAN             PR           00907

   716589 MARITERE CONTRERA SANTOS                    P O BOX 330                                                                                                        TOA ALTA             PR           00954
   302849 MARITERE IRIZARRY                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716591 MARITERE MORALES MONT                       HC 1 BOX 5116                                                                                                      GUAYNABO             PR           00971



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  716592 MARITERE PADILLA MORALES                     HC 71 BOX 3325                                                                                                    NARANJITO          PR         00719
  302852 MARITERE RIVERA SANCHEZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  716594 MARITHSA I ROMAN RIOS                        URB SANTA RITA              D 3 CALLE 4                                                                           VEGA ALTA          PR         00692

   716595 MARITILDE ROMAN DEL VALLE                   1257 QUINTAS LAS AMERICAS                                                                                         CAGUAS             PR         00725
   716596 MARITIME SHIPPING SERVICE                   P.O. BOX 9020729                                                                                                  SAN JUAN                      00902‐0729
          MARITIME TRANSPORT
   302854 AUTHORITY                                   P O BOX 4305                                                                                                      FAJARDO            PR         00740‐4305
   302855 MARITIZA EVORA                              REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   302856 MARITIZA ORTIZ LOPEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   302858 MARITSA I. TORRES MERCADO                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   716604 MARITZA A DE LEON CABRERA                   268 CALLE DEL RIO                                                                                                 SAN JUAN           PR         00912

   716605 MARITZA A GUZMAN VAZQUEZ                    PO BOX 52317                                                                                                      TOA BAJA           PR         00950‐2317
   716607 MARITZA A MIRANDA COLON                     HC 2 BOX 5961                                                                                                     COAMO              PR         00769
   302859 MARITZA A MONTANO ORTIZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   302860 MARITZA A RIVERA MONTALVO                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   302861 MARITZA A. MIRANDA DIAZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   302862 MARITZA ABRIL GARCIA                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   716608 MARITZA ACEVEDO ACEVEDO                     HC 58 BOX 12563                                                                                                   AGUADA             PR         00602
   716609 MARITZA ACEVEDO ARMAIZ                      BO SABANA SECA              79 SUITE 1                                                                            MANATI             PR         00674

   302863 MARITZA ACEVEDO DE NUNEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   716610 MARITZA ACEVEDO MEJIAS                      URB DOS PINOS               812 CALLE DIANA                                                                       SAN JUAN           PR         00923
   302864 MARITZA ACEVEDO RIVAS                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   302865 MARITZA ACEVEDO SANTOS                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   302866 MARITZA ACOSTA MONTERO                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   302867 MARITZA ACOSTA TORRES                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   716612 MARITZA ADORNO ESTRADA                      RES MONTE HATILLO           EDIF 7 APT 83                                                                         SAN JUAN           PR         00926
   302868 MARITZA ADORNO RIVERA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   716613 MARITZA ADORNO SANTIAGO                     COND EL BOSQUE              APT 304 CALLE 13                                                                      GUAYNABO           PR         00971
   716614 MARITZA AGOSTO ROJAS                        CANDELARIA MAIL STATION     BOX 150 S 2500                                                                        TOA BAJA           PR         00952
   716615 MARITZA ALBELO COLON                        P O BOX 128                                                                                                       FLORIDA            PR         00650
   716618 MARITZA ALCOVER SAEZ                        VIILA PALMERAS              90 CALLE PALMAS                                                                       SAN JUAN           PR         00911
   716619 MARITZA ALEJANDRO PEREZ                     COND DORAL PLAZA            APT 2J                                                                                GUAYNABO           PR         00966
   302870 MARITZA ALGARIN RIVERA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   302871 MARITZA ALMA ROZADA                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   716622 MARITZA ALVARADO                            RES BELLA VISTA             EDIF 7 APTO 45                                                                        SALINAS            PR         00751
          MARITZA ALVARADO
   716623 ALMODOVAR                                   HC 8 BOX 2000                                                                                                     PONCE              PR         00731
   302873 MARITZA ALVAREZ MACHIN                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   302874 MARITZA ALVAREZ RALAT                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   716624 MARITZA ALVIRA ARZON                        164 PLAYA                                                                                                         NAGUABO            PR         00718
          MARITZA AMALY RIVERA
   302875 MONTALVO                                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   302876 MARITZA ANDINO LANDRAU                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   716626 MARITZA ANDRADES PAGAN                      HILL BROTHERS               379 CALLE 7                                                                           SAN JUAN           PR         00924
   716627 MARITZA ANDREU PEREZ                        VILLA NAVARRA               629 CALLE ANGEL MARTINEZ                                                              SAN JUAN           PR         00924
   716628 MARITZA APONTE                              PUERTO REAL                 982 CALLE AGUEYBANA                                                                   CABO ROJO          PR         00623
   716629 MARITZA APONTE NOGUERAS                     URB SIERRA LINDA            Q 11 CALLE 11                                                                         BAYAMON            PR         00957



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   302877 MARITZA APONTE RODRIGUEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302878 MARITZA AQUINO FUENTES                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302879 MARITZA ARCE MONTES                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   716631 MARITZA ARGRIZONI RODRIGUEZ PO BOX 884                                                                                                                      TRUJILLO ALTO       PR         00978
   716632 MARITZA ARIAS RODRIGUEZ     URB BALDRICH                                281 CALLE COLL Y TOSTE                                                              SAN JUAN            PR         00918
   716633 MARITZA AROCHO NIEVES       HC 02 BOX 43543                                                                                                                 VEGA BAJA           PR         00693‐9618
   716634 MARITZA AROCHO RAMOS        PO BOX 6584                                                                                                                     BAYAMON             PR         00960
   302880 MARITZA ARROYO MELENDEZ     REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716635 MARITZA ARROYO MUNIZ        URB LAS AMERICAS                            985 CALLE QUITO                                                                     SAN JUAN            PR         00922
   716637 MARITZA ATILES SOTO         EL MAESTRO 2 D 8                                                                                                                CAMUY               PR         00627

   302882 MARITZA AULET MALDONADO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302883 MARITZA AVILES CABRERA                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302884 MARITZA AVILES PEREZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302885 MARITZA AVILES SIERRA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302886 MARITZA AYALA                               REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716639 MARITZA AYALA AYALA                         P O BOX 9020196                                                                                                 SAN JUAN            PR         00902‐0196
   302887 MARITZA AYALA AYBAR                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302888 MARITZA AYALA CABRERA                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302889 MARITZA AYALA TORO                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302890 MARITZA AYES SANTOS                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716640 MARITZA BALLESTER ROCHET                    PMB 291 PO BOX 60401                                                                                            AGUADILLA           PR         00604‐4010
   302891 MARITZA BARRETO ORTA                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302892 MARITZA BARRIS ROSARIO                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   716642 MARITZA BAUTISTA VELAZQUEZ VILLA GRANADA                                961 CALLE ALCAZAR                                                                   SAN JUAN            PR         00928
   716643 MARITZA BELTRAN            B 28 BO PLAYITA                                                                                                                  SALINAS             PR         00751
   302896 MARITZA BELTRAN PADILLA    REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   716644 MARITZA BERRIOS                             URB ARBOLES DE MONTEHIEDRA 386 CALLE MELALEUCA                                                                  SAN JUAN            PR         00726
   302897 MARITZA BERROA DE GRILLO                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716645 MARITZA BETANCOURT                          VALLE CERRO GORDO          W 14 CALLE ONIX                                                                      BAYAMON             PR         00957
   302898 MARITZA BIRRIEL CALO                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302899 MARITZA BOBE CARTAGENA                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302900 MARITZA BONILLA AGUIRRE                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716648 MARITZA BONILLA RAMOS                       HC 2 BOX 5906                                                                                                   RINCON              PR         00677
   302901 MARITZA BONILLA VAZQUEZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   302902 MARITZA BONNET CUELLO                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716649 MARITZA BOTET VELAZQUEZ                     CROWN HILLS                169 CALLE GUNAJIBO                                                                   SAN JUAN            PR         00926
   716650 MARITZA BURGOS ALVARADO                     URB VALENCIA SAN JOSE      413 CALLE SARRIA                                                                     SAN JUAN            PR         00923
   716651 MARITZA BURGOS BABILONIA                    184 CALLE CRISTY                                                                                                MAYAGUEZ            PR         00680

   716652 MARITZA BURGOS CARABALLO                    HC 03 BOX 11740                                                                                                 CAMUY               PR         00627
   302903 MARITZA BURGOS CARATTINI                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   716655 MARITZA BUTLER NIEVES                       P O BOX 1147                                                                                                    HATILLO             PR         00659‐1147

   716656 MARITZA CABEZAS MIJUSTE                     232 AVE ELEONOR ROOSEVELT                                                                                       SAN JUAN            PR         00907
   302904 MARITZA CABRERA DIAZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   716657 MARITZA CABRERA MERCADO                     HC‐71 BOX 3672                                                                                                  NARANJITO           PR         00719
   302905 MARITZA CABRERA PABON                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  716658 MARITZA CABRERA SANTANA                      HC 83 BOX 6644                                                                                                        VEGA ALTA            PR           00692
         MARITZA CALDERON
  302907 MALDONADO                                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   716660 MARITZA CANCEL RODRIGUEZ                    119 CALLE CONCORDIA APT 154                                                                                           MAYAGUEZ             PR           00682‐5776
          MARITZA CANDELARIA
   302908 GONZALEZ                                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   716661 MARITZA CARDONA COLLAZO                     URB JARD DE ARECIBO           18 CALLE F                                                                              ARECIBO              PR           00612

   302910 MARITZA CARDONA ECHEANDIA REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   716662 MARITZA CARDONA HERNANDEZ URB JARD DE CAPARRA                             AE 5 CALLE 47                                                                           BAYAMON              PR           00959
   716663 MARITZA CARLO COLON       LOMA ALTA                                       D 19 CALLE 4                                                                            CAROLINA             PR           00987
   716664 MARITZA CARMONA RAMOS     BDA ISRAEL                                      15 C CALLE CUBA CALLEJON 1                                                              SAN JUAN             PR           00917
   302911 MARITZA CARO VELAZQUEZ    REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   302913 MARITZA CARRERO CAMACHO                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   302914 MARITZA CARRION MELENDEZ                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   302915 MARITZA CARTAGENA LEON                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   302916 MARITZA CARTAGENA RAMIREZ REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   302917 MARITZA CASTILLO SANTIAGO REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   716666 MARITZA CASTRO CRUZ       P O BOX 928                                                                                                                             YABUCOA              PR           00767

   302918 MARITZA CASTRO MALDONADO REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   302919 MARITZA CEDO TRABAL      REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   302920 MARITZA CHALUISANT GARCIA                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   302921 MARITZA CHAPARRO CRESPO                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   716667 MARITZA CHAPARRO MARTINEZ                   URB FAJARDO GARDENS           570 CALLE ACACIA                                                                        FAJARDO              PR           00738‐3070
          MARITZA CINTRON / JOSE
   302922 CINTRON                                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   302923 MARITZA CINTRON JIMENEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   302924 MARITZA CINTRON LOPEZ                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   302926 MARITZA CINTRON MARCANO                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   716669 MARITZA CINTRON TORRES                      BUENA VISTA                   RR 11 BOX 10055                                                                         BAYAMON              PR           00956
   716673 MARITZA COLON GONZALEZ                      HC 01 BOX 3969                                                                                                        VILLALBA             PR           00766‐9710
   302928 MARITZA COLON MELENDEZ                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   716674 MARITZA COLON ROSARIO                       URB VERSALLES                 U 15 CALLE 2A                                                                           BAYAMON              PR           00959
   716675 MARITZA COLON SANTANA                       STE 27 PO BOX 7000                                                                                                    SAN SEBASTIAN        PR           00685

   716677 MARITZA CONCEPCION APONTE PO BOX 7578                                     PO BOX 7578                                                                             SAN JUAN             PR           00916‐7578
   716679 MARITZA CONDE VAZQUEZ     PO BOX 213                                                                                                                              JUNCOS               PR           00777‐0213

   302929 MARITZA CONSUEGRA CARDENA REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   716680 MARITZA CORA RIVERA       15A URB MINIMA                                                                                                                          ARROYO               PR           00714

   302930 MARITZA CORDERO GONZALEZ                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   716681 MARITZA CORREA SALABERRIAS URB VISTA AZUL                                 H 14 CALLE 9                                                                            ARECIBO              PR           00612



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  302931 MARITZA CORTES RIVERA                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  302932 MARITZA CORTIJO                              REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  716683 MARITZA COTTE APONTE                         HC 2 BOX 11410                                                                                                     SAN GERMAN        PR         00683

   716684 MARITZA COTTO CONCEPCION                    RR 10 BOX 10160                                                                                                    SAN JUAN          PR         00956‐9512
   716685 MARITZA COTTO RODRIGUEZ                     URB APONTE                A 22 CALLE 7                                                                             CAYEY             PR         00736
   302933 MARITZA CRESPO ADAMES                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   716686 MARITZA CRESPO CASTRO                       BO GUERRERO               120 CALLE VENUS                                                                          AGUADILLA         PR         00603
   716687 MARITZA CRESPO RAMIREZ                      HC 61 BOX 4553                                                                                                     TRUJILLO ALTO     PR         00976
   302934 MARITZA CRUZ BRAVO                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   302935 MARITZA CRUZ CORTES                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   302937 MARITZA CRUZ FIGUEROA                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   302939 MARITZA CRUZ MARTINEZ                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   716689 MARITZA CRUZ OCASIO                         PO BOX 747                                                                                                         BAJADERO          PR         00616
   302941 MARITZA CRUZ ORTIZ                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   302943 MARITZA CRUZ PAGAN                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   716690 MARITZA CRUZ RAMIREZ                        LEVITTOWN LAKE            FB 3 CALLE JOSE DE DIEGO                                                                 TOA BAJA          PR         00949‐2720
   716691 MARITZA CRUZ RODRIGUEZ                      EXT VILLA RICA            V4 CALLE 14                                                                              BAYAMON           PR         00959

   716692 MARITZA CRUZ ROMERO                         CONDOMINIO MADRID PLAZA   APT. 113 999 GENERAL VALERO                                                              SAN JUAN          PR         00924
   716693 MARITZA CUBILLE MARTINEZ                    EXT PUNTO ORO             GH 20 CALLE 6                                                                            PONCE             PR         00731
   302945 MARITZA D GONZALEZ SOTO                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   302946 MARITZA DAVILA SERRANO                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   302947 MARITZA DE JESUS DIAZ                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   716694 MARITZA DE L ROSADO PRATTS                  E 17 EXT SAN JOSE         PO BOX 505                                                                               AIBONITO          PR         00705
   716695 MARITZA DE LA CRUZ                          232 ELEANOR ROOSEVELT                                                                                              SAN JUAN          PR         00907

   302948 MARITZA DE LA CRUZ HIRALDO                  REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   716696 MARITZA DE LA CRUZ MARQUEZ 255 CALLE ROSARIO                                                                                                                   SAN JUAN          PR         00936
   716697 MARITZA DE LA ROSA         P O BOX 10163                                                                                                                       SAN JUAN          PR         00908

   302950 MARITZA DE LEON HERNANDEZ                   REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   302951 MARITZA DEL R DELGADO DIAZ                  REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   302952 MARITZA DEL VALLE VIDAL                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   716698 MARITZA DELGADO DE APONTE                   PASEO LAS VISTAS          D 89 CALLE 3                                                                             SAN JUAN          PR         00926
   716699 MARITZA DELGADO DELGADO                     B 8 URB EL RECREO                                                                                                  HUMACAO           PR         00791
   716700 MARITZA DENIZARD ORTIZ                      RR 4 BOX 749                                                                                                       BAYAMON           PR         00956
   302953 MARITZA DEYNES SOTO                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   302954 MARITZA DIAZ CANCEL                         REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   302955 MARITZA DIAZ DIAZ                           REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   302956 MARITZA DIAZ MARRERO                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   302957 MARITZA DIAZ PEREZ                          REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   302958 MARITZA DIAZ RODRIGUEZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   716702 MARITZA DIAZ TORRES                         BOX 1144                                                                                                           CIDRA             PR         00739
   302959 MARITZA E COLON ROSA                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARITZA E NIEVES PARA
   302961 SEBASTIAN J                                 REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   716704 MARITZA E SANTIAGO ORTIZ                    HC‐3 BOX 11207            BO. CALABAZA ADENTRO                                                                     YABUCOA           PR         00767




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   716706 MARITZA E SANTOS SANTIAGO                   BO PITAHAYA                  SECT STA CATALINA                                                                      ARROYO              PR           00714
   716707 MARITZA E SIERRA VEGA                       STA TERESITA                 BS 6 CALLE 34                                                                          PONCE               PR           00730

   302962 MARITZA E. NAVEDO RODRIGUEZ REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716708 MARITZA E. RODRIGUEZ        ALTURAS DE MAYAGUEZ                          E33 CALLE LAURELLE                                                                     MAYAGUEZ            PR           00708
   302963 MARITZA ELICIER REYES       REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302964 MARITZA ESCALERA CORREA     REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   302965 MARITZA ESCRIBANO COLDERO                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302966 MARITZA ESPADA MENDEZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302967 MARITZA ESPINOZA RAMON                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302968 MARITZA ESTEVES EUGUI                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   1752 CALLE COMPSTL URB
   716711 MARITZA ESTEVES ILLANAS                     COLLEGE PARK                 COLLEGE PARK                                                                           SAN JUAN            PR           00921
   302969 MARITZA ESTUPINA CASTRO                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302970 MARITZA FEBO CARMONA                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302971 MARITZA FEBRES ROMERO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   716712 MARITZA FELICIANO GONZALEZ                  SIERRA BAYAMON               12‐13 CALLE 12                                                                         BAYAMON             PR           00961
   716713 MARITZA FELICIANO ORENGO                    URB ESTANCIAS DE YAUCO       A 19 CALLE RUBÖ                                                                        YAUCO               PR           00698

   716714 MARITZA FELICIANO SANTANA                   URB MIRAFLORES               37‐14 CALLE 47                                                                         BAYAMON             PR           00957
   716715 MARITZA FELICIANO VELEZ                     URB MONTE VERDE              D2 CALLE 1                                                                             TOA ALTA            PR           00953

   302972 MARITZA FERNANDEZ MUNOZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   302973 MARITZA FIGUEROA FIGUEROA                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716716 MARITZA FIGUEROA NIEVES                     HC 4 BOX 8127                                                                                                       COMERIO             PR           00782
   716717 MARITZA FIGUEROA SUAREZ                     RES SABANA BAJAO             EDIF 16 APT 144                                                                        CAROLINA            PR           00983

   716718 MARITZA FIQUEREO CUELLO                     Y/O MARIA L.FIQUEREO OVIEDO 4 CALLE B URB VISTA ALEGRE                                                              BAYAMON             PR           00959
   716719 MARITZA FLOR CRUZ REYES                     3 CALLE SAN NARCISO                                                                                                 RIO GRANDE          PR           00745
   716720 MARITZA FLORES                              VILLA PRADES                365 CALLE RAFAEL CEPEDA                                                                 SAN JUAN            PR           00915
   302974 MARITZA FLORES NIEVES                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   302975 MARITZA FONSECA RODRIGUEZ                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   716724 MARITZA FORTUNO DE AGUAYO PO BOX 492                                                                                                                            CAGUAS              PR           00726

   302976 MARITZA FRANQUI CONCEPCION REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302977 MARITZA FUENTES COLON      REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716726 MARITZA FUENTES MERCADO    P O BOX 152                                                                                                                          GURABO              PR           00778
   302978 MARITZA FUENTES ORTIZ      REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716727 MARITZA FUENTES PARRILLA   HC 1 BOX 4437                                                                                                                        NAGUABO             PR           00718
   302980 MARITZA FUENTES TORRES     REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302982 MARITZA G£IVAS RAMOS       REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302984 MARITZA GARAY MORALES      REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716728 MARITZA GARCIA CRESPO      BOX 618                                                                                                                              SAN LORENZO         PR           00754
   716729 MARITZA GARCIA GUERRA      TURABO GARDENS                                R 12 12 CALLE D                                                                        CAGUAS              PR           00725
   302985 MARITZA GARCIA MOLINA      REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302986 MARITZA GARCIA NAVARRO     REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302989 MARITZA GARCIA SERRANO     REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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                                                                                 249 CALLE LAS MARIAS URB
   716731 MARITZA GONZALEZ                            HAYDEE PARK                HYDE PARK                                                                             SAN JUAN            PR           00927

   302992 MARITZA GONZALEZ BOOTHBY                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARITZA GONZALEZ
   716733 HERNANDEZ                                   HC 2 BOX 6983                                                                                                    AGUADILLA           PR           00603‐9610

   716734 MARITZA GONZALEZ HERRERA                    PO BOX 2044                                                                                                      GUAYAMA             PR           00785
   302993 MARITZA GONZALEZ LEBRON                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   302994 MARITZA GONZALEZ MORALES                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302995 MARITZA GONZALEZ OCASIO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716735 MARITZA GONZALEZ ORTIZ                      BANCO COORERATIVO PLAZA    OFICINA 606‐B              623 AVE PONCE DE LEON                                      HATO REY            PR           00917

   302996 MARITZA GONZALEZ PEDROZA                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302997 MARITZA GONZALEZ RAMOS                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   302998 MARITZA GONZALEZ ROSADO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716736 MARITZA GONZALEZ RUIZ                       VILLA DE CANEY             B8 CALLE 1                                                                            TRUJILLO ALTO       PR           00976

   302999 MARITZA GONZALEZ SERRANO                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303000 MARITZA GRAU BURGOS                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303001 MARITZA GRAU MAGAT                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716737 MARITZA GREEN SAEZ                          URB VILLA CLEMENTINA       8 A CALLE SAN JOSE                                                                    GUAYNABO            PR           00969

   303005 MARITZA GUTIERREZ PERALTA                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716739 MARITZA H DIAZ DE ORTIZ                     85 CALLE LIMONCILLO                                                                                              SAN JUAN            PR           00927‐6603
   303006 MARITZA H. DIAZ SOLA                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARITZA HERNANDEZ
   303007 HERNANDEZ                                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303008 MARITZA HERNANDEZ LOPEZ                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303009 MARITZA HERNANDEZ MARTE                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   303010 MARITZA HERNANDEZ MULERO                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARITZA HERNANDEZ
   716741 RODRIGUEZ                                   URB VILLA DEL CARMEN       D 8 CALLE 4                                                                           CIDRA               PR           00739
   303011 MARITZA HERNANDEZ RUIZ                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARITZA HERNANDEZ
   303012 SEPULVEDA                                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716743 MARITZA HERNANDEZ SOTO                      P O BOX 362824                                                                                                   SAN JUAN            PR           00936

   716745 MARITZA HERNANDEZ VALENTIN HC 645 BOX 4670                                                                                                                   TRUJILLO ALTO       PR           00976
   716746 MARITZA I ACEVEDO FERRER   JARDINES DE LOIZA                           A 11 CALLE 2                                                                          LOIZA               PR           00772

   716747 MARITZA I BARRIENTOS AVILES                 MONTECASINO HEIGHTS        271 RIO CIBUCO                                                                        TOA ALTA            PR           00953
   303013 MARITZA I CAMPOS SERRANO                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303014 MARITZA I CASILLAS ORTIZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716748 MARITZA I LOPEZ COLON                       URB SAN MARTIN             E 15 CALLE 1                                                                          JUANA DIAZ          PR           00795
   303015 MARITZA I LOPEZ MUNIZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303016 MARITZA I LOPEZ PINTO                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716750 MARITZA I MIRANDA FALCON                    HC 3 BOX 10311                                                                                                   COMERIO             PR           00782
   716751 MARITZA I MIRANDA ORTIZ                     VILLA CAROLINA             198‐3 CALLE 526                                                                       CAROLINA            PR           00985
                                                      URB MANSIONES DE GARDENS
   716752 MARITZA I MUNICH GARCIA                     HILLS                      C 19 CALLE 7                                                                          GUAYNABO            PR           00966



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  303017 MARITZA I ORTIZ                              REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  303018 MARITZA I OSORIO RIVERA                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  716755 MARITZA I RIOS RIVERA                        HC 10 BOX 7323                                                                                               SASBANA GRANDE     PR         00637
  716756 MARITZA I ROBLES CABRERA                     URB SANTA CLARA            W 2 CALLE ANAMU                                                                   GUAYNABO           PR         00969
         MARITZA I RODRIGUEZ                          CAPARRA TERRACE 1583 AVE
  716757 RODRIGUEZ                                    CENTRAL                                                                                                      SAN JUAN           PR         00920
         MARITZA I SANTIAGO
  716758 RODRIGUEZ                                    URB SOMBRAS DEL REAL       1207 CALLE EUCALIPTO                                                              COTTO LAUREL       PR         00780
  303019 MARITZA I SERRANO NIEVES                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  303021 MARITZA I TORRES TORRENS                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  303022 MARITZA I. FIGUEROA ALBINO                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   303023 MARITZA I. FLORES GONZALEZ                  REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   716761 MARITZA I. SERRANO BIRRIEL                  VILLA CAROLINA             39‐10 CALLE 34                                                                    CAROLINA           PR         00985
   303025 MARITZA IRIZARRY AVILES                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   716763 MARITZA IRIZARRY COLON                      P O BOX 739                                                                                                  SAN GERMAN         PR         00683
   303026 MARITZA IRIZARRY PUIG                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   716764 MARITZA IRIZARRY SANCHEZ                    RR 1 BOX 13206                                                                                               MANATI             PR         00674
          MARITZA IVETTE BAEZ
   303027 CAMACHO                                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   303028 MARITZA JIMENEZ COLON                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   303029 MARITZA JUARBE RAMOS                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   303031 MARITZA L LOPEZ ANDINO                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   716766 MARITZA LAGO REYES                          5‐A BO SANTANA                                                                                               ARECIBO            PR         00612
   716767 MARITZA LAMBOY MENDEZ                       PO BOX 207                                                                                                   LAS MARIAS         PR         00670
   716768 MARITZA LAMOSO NAVARRO                      BO PAJUIL                  CARR 490 KM 2 7                                                                   HATILLO            PR         00659
   303032 MARITZA LANDRAU RIVERA                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   303035 MARITZA LEON MENA                           REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   716771 MARITZA LIMARDO SANTOS                      P O BOX 7126                                                                                                 PONCE              PR         00732
   716776 MARITZA LOPEZ COLON                         MANSION DEL MAR            MM 20 VIA AZURE                                                                   TOA BAJA           PR         00949
   716598 MARITZA LOPEZ CRUZ                          LOMAS VERDES 3G 42         CALLE MIOSOTIS                                                                    BAYAMON            PR         00956
   716777 MARITZA LOPEZ FRANCO                        BDA ROSALY                 APT 78 BLOQ 8                                                                     PONCE              PR         00717‐0180
   716778 MARITZA LOPEZ FUENTES                       997 CALLE CORDOVA DAVILA   APT A208                                                                          SAN JUAN           PR         00925
   716779 MARITZA LOPEZ HERNANDEZ                     810 CALLE RICARDO ARROYO                                                                                     DORADO             PR         00646
   716780 MARITZA LOPEZ LOPEZ                         P O BOX 220                                                                                                  BARRANQUITAS       PR         00794
   716781 MARITZA LOPEZ LORENZO                       HC 2 BOX 10996                                                                                               MOCA               PR         00676
   716782 MARITZA LOPEZ MAGOBET                       ESTANCIAS DE ARECIBO       45 CALLE BRUCELAS                                                                 ARECIBO            PR         00612
   716783 MARITZA LOPEZ NIEVES                        PO BOX 21365                                                                                                 SAN JUAN           PR         00926‐1365
   716784 MARITZA LOPEZ RIVERA                        1507 AVE PONCE DE LEON     COND STOP 22 APT 512                                                              SAN JUAN           PR         00909
   303036 MARITZA LOPEZ RODRIGUEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   303037 MARITZA LOPEZ ROSARIO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                                                 G46 CALLE 2 VALLE
   716785 MARITZA LORA LORA                           URB VILLA UNIVERSITARIA    UNIVERSITARIO                                                                     HUMACAO            PR         00791
   716786 MARITZA LUCIANA TORRES                      HC 08 BOX 54003                                                                                              HATILLO            PR         00659
   303040 MARITZA M ROSADO PAGAN                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   716789 MARITZA M SANCHEZ VAZQUEZ                   P O BOX 8488                                                                                                 BAYAMON            PR         00960
   303041 MARITZA M. ALMEIDA CRUZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MARITZA M. CEPEDA
   303042 BARDEGUEZ                                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   716790 MARITZA M. VELEZ                            P O BOX 21365                                                                                                SAN JUAN           PR         00928
   716791 MARITZA MAISONET DE JESUS                   COM LAS QUINIENTAS         366 CALLE TOPICA                                                                  ARROYO             PR         00714




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   303044 MARITZA MALDONADO DE JESUS REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARITZA MALDONADO
   716793 FONTANEZ                   PO BOX 965                                                                                                                          COROZAL             PR           00783
          MARITZA MALDONADO
   303046 MAISONET                   REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   303047 MARITZA MALDONADO MOLINA REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   716795 MARITZA MALDONADO ORENGO URB BELLO HORIZONTE                          510 CALLE MEJORANA                                                                       PONCE               PR           00728

   716797 MARITZA MALDONADO RIVERA                    PO BOX 1261                                                                                                        COAMO               PR           00769
          MARITZA MALDONADO
   303048 SANTIAGO                                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   716798 MARITZA MALDONADO VIDOT                     COMUNIDAD TIBURON 1       HC 01 BOX 7227                                                                           BARCELONETA         PR           00617
   303049 MARITZA MARCIAL TORRES                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   303050 MARITZA MARRERO MELENDEZ                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   303052 MARITZA MARRERO MORALES                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716799 MARITZA MARRERO SIERRA                      URB SANTIAGO IGLESIAS     1413 CALLE LUISA CAPETILLO                                                               SAN JUAN            PR           00921
   716800 MARITZA MARTINEZ                            7 CALLE ANDRES OLIVER                                                                                              ARECIBO             PR           00612
   716802 MARITZA MARTINEZ AGOSTO                     COUNTRY CLUB 2DA EXT      1195 MANUEL GUERRA                                                                       SAN JUAN            PR           00926
   716803 MARITZA MARTINEZ BELEN                      PO BOX 130                                                                                                         GUANICA             PR           00653
   303053 MARITZA MARTINEZ ROMAN                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716804 MARITZA MARTINEZ ROSA                       URB BRISAS DE CANOVANAS   9 CALLE ZORZAL                                                                           CANOVANAS           PR           00729
   303054 MARITZA MARTINEZ VALETTE                    REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303055 MARITZA MATOS MONTANEZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716808 MARITZA MATOS PAGAN                         HC 1 BOX 6354                                                                                                      CABO ROJO           PR           00623
   303056 MARITZA MEDERO PEREZ                        REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                828 CALLE MIGUL XR URB
   716809 MARITZA MEDIAN CORTES                       CONTRY CLUB               COUNTRY CLUB                                                                             SAN JUAN            PR           00924
   716811 MARITZA MEDINA GONZALEZ                     PO BOX 335029                                                                                                      PONCE               PR           00733
   716812 MARITZA MEDINA MARTELL                      P O BOX 7999 PMB 1098                                                                                              MAYAGUEZ            PR           00681‐7999
   716813 MARITZA MEDINA MEDINA                       SABANA SECA               7175 CALLE VEGA 86                                                                       SABANA SECA         PR           00952
   716814 MARITZA MEDINA MELENDEZ                     HC 02 BOX 11792                                                                                                    HUMACAO             PR           00791
   716815 MARITZA MEDINA PEREZ                        HC 58 BOX 12464                                                                                                    AGUADA              PR           00602‐9718
                                                                                324 CALLEJON DEL CARMEN PDA
   716816 MARITZA MELECIO SANTANA                     VILLA PALMERAS            25                                                                                       SAN JUAN            PR           00912

   303057 MARITZA MELENDEZ ALVARADO REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   716817 MARITZA MELENDEZ FIGUEROA                   HC 01 BOX 5863                                                                                                     GUAYNABO            PR           00971

   716818 MARITZA MELENDEZ GUZMAN                     PO BOX 240                                                                                                         SANTA ISABEL        PR           00757
   716820 MARITZA MELENDEZ PINTO                      20 CALLE SAN MIGUEL                                                                                                SABANA GRADE        PR           00637
   303058 MARITZA MENDEZ MENDEZ                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303059 MARITZA MENDOZA RIVERA                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716823 MARITZA MENDOZA ROMERO                      URB COUNTRY CLUB          HG 33 CALLE 232                                                                          CAROLINA            PR           00982
   716824 MARITZA MERCADO LUCIANO                     SAN MIGUEL                A 2 CALLE 5                                                                              CABO ROJO           PR           00623
   303060 MARITZA MERCADO PINEIRO                     REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303061 MARITZA MERCADO RIVERA                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   716825 MARITZA MERCADO RODRIGUEZ HC 01 BOX 4804                                                                                                                     LAJAS                PR           00667
   716826 MARITZA MIRANDA           HC 1 BOX 6131                                                                                                                      CIALES               PR           00638
   716827 MARITZA MIRANDA COLON     HC 2 BOX 5961                                                                                                                      COAMO                PR           00769

   716828 MARITZA MIRANDA GONZALEZ                    URB BALDRICH 363         CALLE LUIS MEDINA                                                                       SAN JUAN             PR           00916
   303064 MARITZA MIRANDA LOPEZ                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716829 MARITZA MIRANDA RUIZ                        HC 3 BOX 38900                                                                                                   AGUADA               PR           00602

   716832 MARITZA MOLINA RODRIGUEZ                    BDA SANDIN               1 AVE JUPITER                                                                           VEGA BAJA            PR           00693
   303065 MARITZA MONDESI ORTIZ                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   716833 MARITZA MONTALVO MORENO                     VILLA CAPRI              1203 CALLE TERRANOVA APT 5                                                              SAN JUAN             PR           00924
          MARITZA MONTERO
   716834 BETANCOURT                                  URB SANTA MARIA          134 CALLE MIMOSA                                                                        SAN JUAN             PR           00927
   716835 MARITZA MONTESINO RIOS                      BOX 21872 UPR STATION                                                                                            SAN JUAN             PR           00931

   303066 MARITZA MORALES BERMUDEZ                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   303067 MARITZA MORALES CARDONA                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303068 MARITZA MORALES DE JESUS                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716836 MARITZA MORALES FLORES                      ALTOS DE LA FUENTE       G‐11 CALLE 1                                                                            CAGUAS               PR           00725

   303069 MARITZA MORALES HERNANDEZ REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303070 MARITZA MORALES MORALES   REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   303071 MARITZA MORALES QUINTANA                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   303072 MARITZA MORALES RODRIGUEZ                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303074 MARITZA MORALES VARGAS                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716838 MARITZA MOYENO ALICEA                       PARCELAS VIEJAS          2A CALLE 10                                                                             PTA SANTIAGO         PR           00741
   716839 MARITZA MULERO MACHUCA                      PO BOX 529                                                                                                       GUAYNABO             PR           00970
   716840 MARITZA MUNDO                               P O BOX 1609                                                                                                     CAROLINA             PR           00984
   303078 MARITZA MUNOZ MERCADO                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303080 MARITZA N LAURA ZAPATA                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716841 MARITZA N LUGO SANCHEZ                      A 713 TORRES DE SABANA                                                                                           CAROLINA             PR           00983

   716842 MARITZA N SANABRIA JARGUIN                  VILLA CAPRI              A 5 CALLE VOLTUMO                                                                       SAN JUAN             PR           00924
   303081 MARITZA NARVAEZ CORTES                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303082 MARITZA NATAL TRINIDAD                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716843 MARITZA NAVEDO NAVEDO                       URB LA CUMBRE            285 CALLE LOS ROBLES                                                                    SAN JUAN             PR           00926
   303083 MARITZA NAVEDO RIVERA                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303084 MARITZA NAZARIO MERCADO                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716845 MARITZA NAZARIO MORALES                     HC 01 BOX 17139                                                                                                  HUMACAO              PR           00791
   303085 MARITZA NAZARIO VEGA                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716846 MARITZA NEGRON ARCE                         RR 36 BOX 8128                                                                                                   SAN JUAN             PR           00926
   303086 MARITZA NEGRON MUNIZ                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303087 MARITZA NEGRON QUINONES                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716848 MARITZA NIEVES FIGUEROA                     PO BOX 147                                                                                                       SALINAS              PR           00751
   303088 MARITZA NIEVES GARCIA                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716849 MARITZA NIEVES MERCADO                      P O BOX 1678                                                                                                     DORADO               PR           00646
   716850 MARITZA NIEVES VAZQUEZ                      PO BOX 800                                                                                                       FLORIDA              PR           00650




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   303089 MARITZA NILDA LAURA ZAPATA                  REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARITZA NOGUERAS
   303090 RODRIGUEZ                                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARITZA NOGUERAS
   716600 RODRIGUEZ                                   PUERTO NUEVO                  1105 BAYONA                                                                            SAN JUAN             PR           00920

   303091 MARITZA NOLASCO GONZALEZ                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716851 MARITZA O PONCE BELTRAN                     URB EL CORTIJO                BB 25 CALLE 3                                                                          BAYAMON              PR           00956
   303092 MARITZA OCASIO BAEZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303093 MARITZA OCASIO QUINONEZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303094 MARITZA OCASIO VAZQUEZ                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716853 MARITZA OQUENDO                             HC 02 BOX 43362                                                                                                      VEGA BAJA            PR           00695
   303095 MARITZA ORTIZ ACOSTA                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716857 MARITZA ORTIZ CRUZ                          HC 3 BOX 12111                                                                                                       YABUCOA              PR           00767
   716859 MARITZA ORTIZ DAVILA                        PO BOX 1366                                                                                                          VEGA BAJA            PR           00694
   303096 MARITZA ORTIZ GARCIA                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      URB ALTURAS DE CASTELLANA
   716860 MARITZA ORTIZ MUNDO                         GARDENS                       Z 2 CALLE 22                                                                           CAROLINA             PR           00983
   303098 MARITZA ORTIZ ORTIZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716861 MARITZA ORTIZ RIVERA                        TRINA P DE SANZ               EDIF 12 APT 757                                                                        ARECIBO              PR           00612
   303099 MARITZA ORTIZ RUIZ                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303100 MARITZA ORTIZ SANCHEZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716862 MARITZA ORTIZ SANTIAGO                      C.S.M. BAYAMON                                                                                                       Hato Rey             PR           00936
   716864 MARITZA OSORIO ORTIZ                        URB LOIZA VALLEY              B178 CALLE TULIPAN                                                                     CANOVANAS            PR           00729
   716865 MARITZA OTERO DIAZ                          USC PO BOX 12383                                                                                                     SAN JUAN             PR           00914‐0383
   303103 MARITZA OTERO PEREZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   716599 MARITZA OTERO SOTOMAYOR                     PO BOX 214                                                                                                           BARCELONETA          PR           00617

   716866 MARITZA PABON                               36 CALLE MARTINEZ SUITE 206                                                                                          JUNCOS               PR           00777
   303104 MARITZA PABON GUADALUPE                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303105 MARITZA PACHECO MORALES                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303106 MARITZA PADILLA CASTRO                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303108 MARITZA PAGAN CABASSA                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303109 MARITZA PAGAN DE JOGLAR                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303111 MARITZA PAGAN MIRANDA                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716867 MARITZA PEREZ BAUTISTA                      P O BOX 1846                                                                                                         JUNCOS               PR           00777
   716870 MARITZA PEREZ MUNOZ                         RES. FLORIDA HOUSING 031                                                                                             FLORIDA              PR           00654
   303113 MARITZA PEREZ OTERO                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303114 MARITZA PEREZ PEREZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716871 MARITZA PEREZ RAMOS                         HC 03 BOX 10670                                                                                                      CAMUY                PR           00627
   716872 MARITZA PEREZ SERRANO                       HC 1 BOX 13093                                                                                                       SAN JUAN             PR           00685
   716873 MARITZA PEREZ SOTO                          URB VILLA REAL                83 CALLE G                                                                             CABO ROJO            PR           00623
   303115 MARITZA PEREZ VAZQUEZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   716874 MARITZA POMALES CRUZ                        HC 2 BOX 11232                                                                                                       JUNCOS               PR           00777

   716877 MARITZA QUILES LARACUENTE                   URB RIO CRISTAL               9244 CALLE BALBINO TRINTA                                                              MAYAGUEZ             PR           00680
   303121 MARITZA QUILES QUILES                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303122 MARITZA QUINONES CRUZ                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303123 MARITZA QUINONES RIVERA                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   303124 MARITZA QUINONES RODRIGUEZ REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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   303127 MARITZA QUINONEZ GUZMAN                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303128 MARITZA QUINTANA BRAVO                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303129 MARITZA R CHAVEZ                            REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303130 MARITZA RAMIREZ COSME                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716880 MARITZA RAMIREZ SANTANA                     BO CLAUSELLS             4 CALLE 9                                                                          PONCE               PR           00731
   716881 MARITZA RAMIREZ VELEZ                       HC 1 BOX 11263                                                                                              CAROLINA            PR           00983
   303131 MARITZA RAMOS AQUINO                        REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303132 MARITZA RAMOS BAUZA                         REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303133 MARITZA RAMOS CRUZ                          REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716883 MARITZA RAMOS LOPEZ                         BOX 210                                                                                                     CAMUY               PR           00627
   716884 MARITZA RAMOS MERCED                        URB TOA ALTA HILLS       H 3 CALLE 6                                                                        TOA ALTA            PR           00953
   716885 MARITZA RAMOS ORTIZ                         URB SAN ANTONIO          L 15 CALLE 11                                                                      CAGUAS              PR           00725
   303135 MARITZA RAMOS RIVERA                        REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303136 MARITZA RAMOS VELEZ                         REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716886 MARITZA RAMOS ZAYAS                         P O BOX 715                                                                                                 GURABO              PR           00778
   303137 MARITZA REYES CAMARENO                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716887 MARITZA REYES LOZADA                        BOX 68                                                                                                      AGUAS BUENAS        PR           00703
   716889 MARITZA REYES MELENDEZ                      P O BOX 237                                                                                                 SABANA SECA         PR           00952‐0237
   303139 MARITZA REYES RIVERA                        REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716892 MARITZA RIJOS LOPEZ                         957 CALLE 23 SE                                                                                             SAN JUAN            PR           00921
   303141 MARITZA RIOS CAMACHO                        REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   716601 MARITZA RIOS CARRASQUILLO                   HC 2 BOX 4389                                                                                               LAS PIEDRAS         PR           00771‐9614
   303143 MARITZA RIVAS FERNANDEZ                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303144 MARITZA RIVERA                              REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARITZA RIVERA & MIGUEL A
   716894 NAVARRO RIVERA                              URB METROPOLIS           20‐5 AVENIDA C                                                                     CAROLINA            PR           00985
   303145 MARITZA RIVERA CARBONELL                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716895 MARITZA RIVERA CASTRO                       COND TORRE DE ORO        APTO 401                                                                           SAN JUAN            PR           00917
   303146 MARITZA RIVERA GABINO                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716897 MARITZA RIVERA GARCIA                       HC 8 BOX 82310                                                                                              SAN SEBASTIAN       PR           00685‐8824
   303147 MARITZA RIVERA GUERRA                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303148 MARITZA RIVERA HERNANDEZ                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716898 MARITZA RIVERA LAUREANO                     BO OJO DE AGUA           37 CALLE GERANIO                                                                   VEGA BAJA           PR           00693
   303149 MARITZA RIVERA MEDINA                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303150 MARITZA RIVERA MONTANEZ                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303154 MARITZA RIVERA NOGUE                        REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303155 MARITZA RIVERA OBISPO                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716903 MARITZA RIVERA PAGAN                        SECT EL CIELITO                                                                                             TOA ALTA            PR           00954
   303156 MARITZA RIVERA QUINONES                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716905 MARITZA RIVERA ROSADO                       70 LINCOLN AVENUE                                                                                           BRENTWOOD           NY           11717
   303158 MARITZA RIVERA ROSARIO                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303159 MARITZA RIVERA SIERRA                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716906 MARITZA RIVERA VALCARCEL                    RR 9 BOX 5376                                                                                               SAN JUAN            PR           00926
   303160 MARITZA RIVERA VEGA                         REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716907 MARITZA RIVERA VILLA                        PO BOX 3128                                                                                                 MAYAGUEZ            PR           00681
          MARITZA RIVERA Y/O PEDRO
   303161 RIVERA                                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303162 MARITZA ROBLEDO SOLIS                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716908 MARITZA ROBLES CHAVERE                      BO HV CUMBRE LAS LOMAS                                                                                      CIALES              PR           00638

   716909 MARITZA RODRGUEZ EDWARDS BO SAN ANTON BOX 46                                                                                                            PONCE               PR           00717‐2248



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   303163 MARITZA RODRIGUEZ ALONSO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   716911 MARITZA RODRIGUEZ CINTRON                   BO OLLAS                    81 APDO 1017                                                                      SANTA ISABEL        PR           00757

   303164 MARITZA RODRIGUEZ COLLAZO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303165 MARITZA RODRIGUEZ COLON                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   303166 MARITZA RODRIGUEZ CORDOVA REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716912 MARITZA RODRIGUEZ CRUZ    HC 03 BOX 11326                                                                                                                 JUANA DIAZ          PR           00795‐9505
   716913 MARITZA RODRIGUEZ GARCIA  P O BOX 10235                                 CUH STATION                                                                       HUMACAO             PR           00792

   716914 MARITZA RODRIGUEZ GUZMAN                    828 CALLE RICARDO ARROYO                                                                                      DORADO              PR           00646
          MARITZA RODRIGUEZ
   303167 HERNANDEZ                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   303169 MARITZA RODRIGUEZ MENDEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   716916 MARITZA RODRIGUEZ NEGRON                    BO SUSUA BAJA               158 CALLE CRISTALES                                                               SABANA GRANDE       PR           00637
   303171 MARITZA RODRIGUEZ RIVERA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARITZA RODRIGUEZ
   716919 RODRIGUEZ                                   P O BOX 111                                                                                                   YAUCO               PR           00698
          MARITZA RODRIGUEZ
   303174 ROMAN/SALUD CORRECIONA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   716921 MARITZA RODRIGUEZ ROSARIO                   LAS GRANJAS                 BOX 26                                                                            VEGA BAJA           PR           00693
   716922 MARITZA RODRIGUEZ SALAS                     57A CALLE ESTEVES                                                                                             AGUADILLA           PR           00603

   303175 MARITZA RODRIGUEZ SANTIAGO REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   716924 MARITZA RODRIGUEZ SERRANO                   HC 01 BOX 4474                                                                                                COROZAL             PR           00783

   716925 MARITZA RODRIGUEZ VAZQUEZ                   HC 80 BOX 9132                                                                                                DORADO              PR           00646
   716928 MARITZA RODRIGUEZ VEGA                      HATILLO HOUSING             EDIF 3 APT 41                                                                     HATILLO             PR           00659
   303176 MARITZA ROHENA ESTRADA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303177 MARITZA ROJAS RAMOS                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716930 MARITZA ROLON MARTINEZ                      VENUS GARDENS               B A 9 CALLE A                                                                     SAN JUAN            PR           00926
   716602 MARITZA ROLON ORTIZ                         LA VILLA DE TORRIMAR        395 REY RICARDO                                                                   GUAYNABO            PR           00969
   303178 MARITZA ROMAN ARBELO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303180 MARITZA ROMAN CORCHADO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716933 MARITZA ROMAN NIEVES                        HC 30 BOX 33601                                                                                               SAN LORENZO         PR           00754
   716934 MARITZA ROMAN OTERO                         URB IRLANDA HAIGHTS         FO 14 CALLE POLARIS                                                               BAYAMON             PR           00956
   716935 MARITZA ROMAN SANTIAGO                      CHALETS DEL PARQUE 12 AVE   ARBOLOTE STE 108                                                                  GUAYNABO            PR           00969

   303181 MARITZA ROMERO ALDARONDO REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303182 MARITZA ROMERO VERDEJO   REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303183 MARITZA ROSA GONZALEZ    REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303184 MARITZA ROSA OLIVARES    REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716939 MARITZA ROSA SEGUINOT    VILLA SOIGAL                                   EDIF A 1 APT 20                                                                   SAN SEBASTIAN       PR           00685
   716941 MARITZA ROSADO MARTI     HC 03 BOX 14391                                                                                                                  UTUADO              PR           00641
   303185 MARITZA ROSADO RAMOS     REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   716942 MARITZA ROSADO RIOS      PO BOX 1055                                                                                                                      RINCON              PR           00677
   303186 MARITZA ROSARIO LASANTA  REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  716943 MARITZA ROSARIO NEGRON                       BOX 2 MIGUEL PLANELLAS                                                                                           CIDRA               PR           00739

   716944 MARITZA ROSARIO VALCARCEL                   COND LOS GIRASOLES          EDIF H APT 302                                                                       SAN JUAN            PR           00923

   303187 MARITZA ROSRIGUEZ AGUIRRE                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   716946 MARITZA RUBIO RODRIGUEZ                     HC 08 BOX 263                                                                                                    PONCE               PR           00731‐9720
   303188 MARITZA RUIZ GONZALEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   716948 MARITZA S QUESTELL MONTES                   URB SAN GERALDO             1650 CALLE AUGUSTO                                                                   SAN JUAN            PR           00926
   303190 MARITZA SALAS KELLY                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARITZA SANCHEZ
   716950 CARRASQUILLO                                URB BELINDA                 I 1 CALLE 8                                                                          ARROYO              PR           00714

   716951 MARITZA SANCHEZ CASTRO                      MANSIONES DE GARDEN HILLS   B 3 CALLE 6                                                                          GUAYNABO            PR           00966

   303191 MARITZA SANCHEZ CHAPARRO                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   303192 MARITZA SANCHEZ NERIS                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   716952 MARITZA SANCHEZ ROLDAN                      PMB 306                     PO BOX 1283                                                                          SAN LORENZO         PR           00754‐1283
   303196 MARITZA SANCHEZ VAZQUEZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   716954 MARITZA SANTALIZ HERNANDEZ 21 BO LA QUINTA GAYETANO                                                                                                          MAYAGUEZ            PR           00680

   303197 MARITZA SANTANA CALDERON                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   716955 MARITZA SANTIAGO                            URB LOS CACIQUE             298 CALLE URAYOAN                                                                    CAROLINA            PR           00987
   716956 MARITZA SANTIAGO ADORNO                     BOX 491                                                                                                          NARANJITO           PR           00719

   303198 MARITZA SANTIAGO ALMESTICA REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   716957 MARITZA SANTIAGO BERMUDEZ RR 01 BZN 2407                                                                                                                     CIDRA               PR           00739

   303199 MARITZA SANTIAGO FIGUEROA                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   303200 MARITZA SANTIAGO GONZALEZ                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   303202 MARITZA SANTIAGO PELLOT                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   303203 MARITZA SANTIAGO REAL                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   716959 MARITZA SANTIAGO ROSADO                     HC‐02 BOX 10359                                                                                                  JUNCOS              PR           00777

   303205 MARITZA SANTIAGO SANTIAGO                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   716603 MARITZA SANTOS ARROYO                       PO BOX 5000 STE 17                                                                                               SAN GERMAN          PR           00683
   303207 MARITZA SANTOS LEANDRY                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   303208 MARITZA SANTOS ROSATO                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   303209 MARITZA SCHETTINI SANCHEZ                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   303210 MARITZA SEGARRA GONZALEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   716962 MARITZA SERRANO SANTIAGO                    URB VILLA LOS SANTOS        Y 3 CALLE 15                                                                         ARECIBO             PR           00613
   303212 MARITZA SIERRA RIOS                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   303213 MARITZA SMITH JORGE                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   303214 MARITZA SOLANO MORETA                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   716964 MARITZA SOSA MOLLINEDO                      URB VILLA BORINQUEN         1324 CALLE DANUBIO                                                                   SAN JUAN            PR           00920
   303215 MARITZA SOSTRE RODRIGUEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   716965 MARITZA SOTO                                A 7 QUINTAS DEL RIO                                                                                              BAYAMON             PR           00961
   716966 MARITZA SOTO CABRERA                        BO PINAS                    RR 3 BOX 10224                                                                       TOA ALTA            PR           00953



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  303217 MARITZA SOTO GARCIA                          AVE. 90                     PMB SUITE 126                                                                     BAYAMON            PR         00961
  716967 MARITZA SOTO ROMERO                          BO PUERTO SECTOR MENDEZ                                                                                       CAMUY              PR         00627‐9609
  716969 MARITZA STRUBBE PLANAS                       METADONA PONCE                                                                                                Hato Rey           PR         00936
  303218 MARITZA TORRES CHICO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  716970 MARITZA TORRES DIAZ                          PO BOX 1350                                                                                                   TRUJILLO ALTO      PR         00977‐1350
  716971 MARITZA TORRES MERCADO                       PO BOX 681                                                                                                    YAUCO              PR         00698‐0000
  303219 MARITZA TORRES RAMIREZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  716974 MARITZA TORRES RIVERA                        P O BOX 9023986                                                                                               SAN JUAN           PR         00902‐3986
  716975 MARITZA TORRES ROMAN                         P M B 208 BOX 3500                                                                                            CAMUY              PR         00627
  303220 MARITZA TORRES TALAVERA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  716978 MARITZA TORRES VIERA                         P O BOX 9020404                                                                                               SAN JUAN           PR         00902‐0404
         MARITZA VALCARCEL
  303221 RODRIGUEZ                                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  716979 MARITZA VALENTIN ALONSO                      49 CALLE REGUERO                                                                                              AGUADILLA          PR         00603
  303222 MARITZA VALENTIN LUGO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  303223 MARITZA VALENTIN PARDO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  716984 MARITZA VALENTION NIEVES                     REPARTO A‐E VIGO 35                                                                                           MANATI             PR         00674
  716986 MARITZA VARGAS GELABERT                      URB ESTANCIAS DEL RIO       775 CALLE YAGUEZ                                                                  HORMIGUEROS        PR         00660

   716987 MARITZA VARGAS MONTALVO                     BO SABALOS                  36 CALLE GARNIER                                                                  MAYAGUEZ           PR         00680‐7056
          MARITZA VAZQUEZ / RAFAEL
   303224 TIRADO                                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   303225 MARITZA VAZQUEZ AYALA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   716988 MARITZA VAZQUEZ CRUZ                        URB CARIBE GARDENS          J3 CALLE ALELI                                                                    CAGUAS             PR         00725

   716989 MARITZA VAZQUEZ LAUREANO                    PARCELAS NUEVAS             756 CALLE 44                                                                      GURABO             PR         00778
   716991 MARITZA VAZQUEZ NIEVES                      COND CAMINO REAL D 304                                                                                        AGUADILLA          PR         00969
   716992 MARITZA VAZQUEZ PATOJAS                     PO BOX 9914                                                                                                   CAROLINA           PR         00988

   716993 MARITZA VAZQUEZ RODRIGUEZ                   PO BOX 506                                                                                                    BARCELONETA        PR         00617
   303229 MARITZA VAZQUEZ SANTOS                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   716994 MARITZA VAZQUEZ VELAZQUEZ                   232 AVE ELEONOR ROOSEVELT                                                                                     SAN JUAN           PR         00907
   303230 MARITZA VEGA LAJARA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   716996 MARITZA VELAZQUEZ COTTO                     RES LUIS LLORENS TORRES                                                                                       SAN JUAN           PR         00913
   716997 MARITZA VELAZQUEZ DAVILA                    URB LOIZA VALLEY            W 828 C/ PAUDANO                                                                  CANOVANAS          PR         00729
   716999 MARITZA VELEZ LOUBRIEL                      BOX 391‐138                                                                                                   TOA ALTA           PR         00954
   717000 MARITZA VELEZ MORALES                       INT GALATEO CENTRO          CARR 804 KM 2 4                                                                   TOA ALTA           PR         00963
   303231 MARITZA VELEZ VICENS                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   303232 MARITZA VENEGAS PEREZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   303233 MARITZA VIDAL ALICEA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   717001 MARITZA VIDAL TORRES                        VILLA CARIDAD               B 11 CALLE MOLINILLO                                                              CAROLINA           PR         00985
   717002 MARITZA VIERA JIMENEZ                       PO BOX 1213                                                                                                   ARECIBO            PR         00612
   303234 MARITZA VIGO OTERO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   717003 MARITZA Y RONDA FERNANDEZ                   URB VILLAS DEL BOSQUE       187 CALLE TULIPAN                                                                 CIDRA              PR         00739
   717004 MARITZA YTULVIDE                            3300 N W 95 TR                                                                                                MIAMI              FL         33147
          MARITZA ZAPATA TORRES /
   717005 ERICK N VARGAS                              HC 1 BOX 7685                                                                                                 CABO ROJO          PR         00623‐9706

          MARITZA,GERARDO
   717006 CAMACHO/EUSTAQUIA GARCIA                    HC 37 BOX 4579                                                                                                GUANICA            PR         00653
   303236 MARITZA`S RENTAL CAR INC                    PO BOX 34                                                                                                     VIEQUES            PR         00765



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   303237 MARITZABEL AVILES CARTAGENA REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   717007 MARITZABEL TIRADO SANTOS    RIO ABAJO                                  5360 CALLE STA MARIA                                                                    VEGA BAJA            PR           00693

   303238 MARITZABET NAZARIO CARRERO REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARITZALI MELENDEZ
   717008 RODRIGUEZ                  COND JARDINES DE GUAYAMA                    EDF F APTO 205                                                                          HATO REY             PR           00917
   717010 MARITZA'S RENTAL CAR       PO BOX 34                                                                                                                           VIEQUES              PR           00765

   303240 MARITZEL A. MARRERO RIVERA                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   303241 MARITZEL A. MORENO RIVERO                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   717011 MARITZEL AMADOR HERMINA                     HC 04 BOX 4563                                                                                                     HUMACAO              PR           00791‐9508
   303242 MARITZELLA PEREZ DIAZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARITZER SANTAELLA
   717012 CARRASQUILLO                                PMB 241 P O BOX 10000                                                                                              CANOVANAS            PR           00729

   303244 MARIVELI ACEVEDO ACEVEDO                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   303246 MARIVELISSE RODRIGUEZ RIVERA REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303247 MARIVELISSE SOTO SALGADO     REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   717013 MARIVELYS COTTO HUYKE        URB VILLA BLANCA EXT                      4 CALLE AMBAR                                                                           CAGUAS               PR           00725
   303248 MARIVETTE CRUZ VELAZQUEZ     REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARIVETTE GONZALEZ
   303249 ANTONMARCHI                  REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   303250 MARIVETTE HERNANDEZ COLON                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   717014 MARIVETTE LANZO CORTIJO                     11 CALLE CEPERINO OSORIO                                                                                           LOIZA                PR           00772
   717015 MARIVETTE ORTIZ SANCHEZ                     P O BOX 560105                                                                                                     GUAYANILLA           PR           00656
   717016 MARIVETTE RODRIGUEZ LAO                     URB PRODECAN DEL SUR       725 CALLE CAOBOS                                                                        SANTA ISABEL         PR           00757
   303251 MARIVI OTERO ROMAN                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303252 MARIVIR RIVERA COLON                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303253 MARIVONN Y PEREZ SILVA                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303254 MARIVY ESTRELLA RAMOS                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   717018 MARIWILDA PADILLA DIAZ                      URB PARK GARDENS           U 2 1 CALLE IGUAZU                                                                      SAN JUAN             PR           00926
   303255 MARIXA A BURGOS AVILES                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   717020 MARIXA ALVAREZ FERNANDEZ                    TERRAZAS DE GUAYNABO       N 25 CALLE ALELI                                                                        GUAYNABO             PR           00970

   303256 MARIXA MALDONADO ROMAN                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303257 MARIXA ORTIZ PADUA                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   717021 MARIXEL LEON COLON                          URB VILLA DEL CARMEN       L I 18 AVE CONSTANCIO                                                                   PONCE                PR           00731
          MARIZABETH MALDONADO
   717022 CINTRON                                     BO CEDRO ARRIBA            BOX 363                                                                                 NARANJITO            PR           00719
   303260 MARIZEL BURGOS MARTINEZ                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303261 MARIZEL HERNANDEZ SOSA                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303262 MARIZEL RIVERA MATOS                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303263 MARIZEL RIVERA NEGRON                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   717023 MARIZEL RUIZ ALBEZ                          URB RAMIREZ DE ARELLANO    30 CALLE JULIO VIZCARRONDO                                                              MAYAGUEZ             PR           00680
   717024 MARIZOL ALOYO ORTIZ                         BO DAGUAO BZN 713                                                                                                  NAGUABO              PR           00718

   303264 MARIZOL IRIZARRY VELAZQUEZ                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   303265 MARIZOL MORALES MORALES                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  717025 MARIZOL SERRANO IRIZARRY                     P O BOX 1437                                                                                                               AGUAS BUENAS      PR         00703
  717026 MARIZTA POMALES CRUZ                         HC 02 BOX 11232                                                                                                            JUNCOS            PR         00777
  303266 MARJA JUARBE RODRIGUEZ                       REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         MARJELSIE DEPEDRO
  717027 FERNANDEZ                                    52 URB TROPICAL BCH                                                                                                        NAGUABO           PR         00718
  717029 MARJORIE A ARAUJO                            P O BOX 714                                                                                                                TRUJILLO ALTO     PR         00977

   717030 MARJORIE ACEVEDO NAZARIO                    JARDINES FAGOT                 G 4 CALLE 6                                                                                 PONCE             PR         00716
   303267 MARJORIE ALVAREZ REYES                      REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   303268 MARJORIE ANDINO ARENAS                      REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARJORIE ANN OLIVERAS
   717031 SANTIAGO                                    URB LAS DELICIAS               1226 CALLE FCO VASALLO                                                                      PONCE             PR         00728
   717032 MARJORIE APONTE GOMEZ                       PO BOX 8963                                                                                                                SAN JUAN          PR         00910
   770670 MARJORIE AVILA TORRES                       REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   717033 MARJORIE C HERNANDEZ LARA                   PO BOX 20002                                                                                                               CEIBA             PR         00735
   717034 MARJORIE CABRERA                            SAN ANTONIO                    109 CALLE JUAN ALMEYRA                                                                      AGUADILLA         PR         00690
   303269 MARJORIE CALDERON SOTO                      REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   303270 MARJORIE CASTRO SANTANA                     REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717028 MARJORIE COLON DIAZ                         BOSQUE DE LAS FLORES           30 CALLE DELFINO                                                                            BAYAMON           PR         00956

   717036 MARJORIE FIGUEROA GOMEZ                     G 12 CALLE GABRIEL HERNANDEZ                                                                                               VEGA ALTA         PR         00692

   303271 MARJORIE GUNKEL GUTIERREZ                   REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   303272 MARJORIE I MELENDEZ TORRES REDACTED                                        REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                     COND FONTANA TOWERS APT
   717038 MARJORIE JARAMILLO SANCHEZ 708                                                                                                                                         CAROLINA          PR         00982

   303273 MARJORIE JIMENEZ QUINONES                   REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717039 MARJORIE LEDESMA AGOSTO                     EL MIRADOR APARTMENTS          EDIF B APT 2021                                                                             CAGUAS            PR         00725

   303274 MARJORIE LLANOS VELAZQUEZ                   REDACTED                       REDACTED                     REDACTED                                REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                     151 CALLE CESAR GONZALEZ APT
   717040 MARJORIE MACCONE FIRPI                      COND PLAZA ANTILLANA           5802                                                                                        SAN JUAN          PR         00918
   303275 MARJORIE MACCONIE FIRPI                     REDACTED                       REDACTED                     REDACTED                                REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717041 MARJORIE NIEVES BURGOS                      URB VILLA FLORES               2505 CALLE GARDENIA                                                                         PONCE             PR         00716‐2909
   303277 MARJORIE PAEZ RIVERA                        REDACTED                       REDACTED                     REDACTED                                REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717042 MARJORIE R TORRES PEREZ                     COND VISTA VERDE 1200          APT H‐317                                                                                   SAN JUAN          PR         00924
   303279 MARJORIE RIOS PLAZA                         REDACTED                       REDACTED                     REDACTED                                REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   303281 MARJORIE RIVERA RODRIGUEZ                   REDACTED                       REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   303282 MARJORIE RODRIGUEZ SANCHEZ REDACTED                                        REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   303284 MARJORIE SAEZ DIAZ         REDACTED                                        REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717045 MARJORIE SANTIAGO          30 CALLE CASTILLO                                                                                                                           PONCE             PR         00730
   717046 MARJORIE SPICUZZA          1615 S 28TH ST                                                                                                                              MILWAUKEE         WI         53215
   717047 MARJORIE VAZQUEZ ROLDAN    URB BAIROA                                      BH 1D CALLE 22                                                                              CAGUAS            PR         00725

   717048 MARJORIE VILLEGAS OTERO                     URB MACHIN                     D 1 BAJOS CALLE JOSE PEPE RIOS                                                              CAGUAS            PR         00725
   717049 MARJORY NICHOLS DE ORTIZ                    P O BOX 1247                                                                                                               RIO GRANDE        PR         00745
          MARJOURIE CARRASQUILLO
   717050 ORTIZ                                       PMB 2510                       C 181 SUITE 75                                                                              TRUJILLO ALTO     PR         00977‐2510



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  303287 MARJULI DAVID MATEO                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  303288 MARK A ANTUNEZ SERRANO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  303289 MARK A CALDERON COLON                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  303290 MARK A CERDA COLON                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  303291 MARK A CLAVELL CINTRON                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   303292 MARK A FERNANDEZ RODRIGUEZ REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303293 MARK A GARCIA SAEZ         REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303294 MARK A GUAMEN BERMUDEZ     REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303295 MARK A MCKENZIE            REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303296 MARK A MERCADO REYES       REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   303297 MARK A MONTANER MELENDEZ REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARK A PELNAR Y/O BARBARA
   303298 PELNAR                    REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   303299 MARK A ROBLES ENCARNACION                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303300 MARK A SIPULA OCASIO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717054 MARK A. HAMMETT                             5E COND CENTRUM PLZ                                                                                                 SAN JUAN            PR         00917
   717055 MARK AGOSTO SANTIAGO                        URB SAN SOUCI                A 11 CALLE 11                                                                          BAYAMON             PR         00957
   717056 MARK ALLEN WATRING                          224 VIA FIESTA                                                                                                      PHOUSAND OAKS       CA         91320
   303301 MARK AND BETTYBLAT INC                      PO BOX 360983                                                                                                       SAN JUAN            PR         00936
          MARK ANTHONY FERNANDEZ
   717057 DEL VALLE                                   PO BOX 3386                                                                                                         LAJAS               PR         00667
   303302 MARK ANTHONY STANLEY                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717058 MARK B SULLIVAN                             394 UNIVERSITY AVENUE                                                                                               PALO ALTO           CA         94301
   717059 MARK BARRETO GROOMS                         1727 REPARTO LOS PINOS                                                                                              SAN ANTONIO         PR         00960 1205
   303305 MARK BRANDON                                REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717060 MARK C FOREMAN FONTANEZ                     PO BOX 11831                                                                                                        SAN JUAN            PR         00922‐1831
   303306 MARK C JIMENEZ                              REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303308 MARK C WADSWORTH                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717063 MARK D. ABRAHAMS                            52 FLANAGAN DR                                                                                                      FRAMINGHAM          MA         01701
   303309 MARK E FLORES ROSARIO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303310 MARK E TORRES CURBELO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303311 MARK E TRAUTMANN PETERS                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717064 MARK GREEN ROOME                            CONGRESO ESTADOS UNIDOS                                                                                             WISCONSIN           WI         00608
   303312 MARK H DIAZ RESTO                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717065 MARK I BEJAR BITTON                         COND MAC 1800                APT PH2 AVE MACLEARY 1800                                                              SAN JUAN            PR         00911
          MARK KEYSER/PETER
   303313 KEYSER/PAUL KEYSER                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303314 MARK L RAMOS MAYSONET                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717066 MARK L STURDEVAN                            1 GUSTAVE LEVE PL BOX 1263                                                                                          NEW YORK            PR         10029
   717067 MARK M SOUWEIDANE M D                       P O BOX 5286                                                                                                        NEW YORK            NY         10087 5286
   303316 MARK MEDINA ROSARIO                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303317 MARK PLANTING                               REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303318 MARK QUINONES SANTIAGO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      URB ALTURAS SAN SOUCI B 25
   717070 MARK RIVERA RODRIGUEZ                       CALLE 2                                                                                                             BAYAMON             PR         00957
   303319 MARK ROSADO ROSARIO                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303320 MARK S DUDLEY STIGALL                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      1515 BROAD STREET BLOOM
   717071 MARK SOLUTIONS INC                          FIELD                                                                                                               NEW JERSEY          NJ         07003




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   717072 MARK STUART INC                             561 ENSENADA STREET SPT 6A                                                                                           SAN JUAN            PR           00907
   303321 MARK T MCDOWALL                             REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717051 MARK VELEZ                                  89 CASTILLOS DEL MAR                                                                                                 CEIBA               PR           00735

   717073 MARK VELEZ ARROYO                           CORP CIUDAD UNIVERCITARIA    APT 1703 A                                                                              TRUJILLO ALTO       PR           00976
   717074 MARK W TORRES O CONNER                      BO TAMARINDO                 90 CALLE 1                                                                              PONCE               PR           00731
   717075 MARK W. GOODIN                              PO BOX 366108                                                                                                        SAN JUAN            PR           00936
   303322 MARK, GEORGE Z.                             REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARKEE CHGK PUBLICATIONS
   717076 INC.                                        655 W FULTON ST STE 9                                                                                                SANFORD             FL           32771
   717077 MARKEN PROPERTIES                           63 JACKSON STREET            SUITE 101                                                                               HOLYOKE             MA           01040
          MARKET AMERICAN INSURANCE
   303330 CO                                          4600 COX ROAD                                                                                                        GLEN ALLEN          VA           23060
   831475 Market Lab                                  6850 Southbelt Drive                                                                                                 Caledonia           MI           49316‐7680
   303331 MARKET SOURCE, INC.                         11700 GREAT OAKS WAY                                                                                                 ALPHARETTA          GA           30022
          MARKETING & BROKERAGE
   717078 SPEC., INC.                                 PO BOX 364029                                                                                                        SAN JUAN            PR           00936‐4029
          MARKETING & DESIGN GROUP
   303334 INC                                         PMB 140                      130 WINSTON CHURCHILL AVE                                                               SAN JUAN            PR           00926‐6018
          MARKETING & MEDIA
   303335 MOTIVATION INC                              MARKETING & MEDIA            P O BOX 11846                                                                           SAN JUAN            PR           00922‐1846
          MARKETING AND PRINTING
   303336 SOLUTIONS                                   431 PONCE DE LEON            SUITE 802                                                                               HATO REY            PR           00917
   303337 MARKETING ARTS                              101 AVE SAN PATRICIO         SUITE 920                                                                               GUAYNABO            PR           00968
          MARKETING CONFIGURATIONS
   717079 INC                                         3916 29TH AVENUE                                                                                                     HOLLYWOOD           CA           33020
   717080 MARKETING CONSULTANTS                       PMB 2561                     507 AVE PONCE DE LEON                                                                   SAN JUAN            PR           00909
          MARKETING CONSULTANTS
   717081 INTERNATIONAL INC                           P B M 256                    1507 AVE PONCE DE LEON                                                                  SAN JUAN            PR           00909

   717082 MARKETING ONE SECURITIES INC 550 SW MACADAM AVE                                                                                                                  PORTLAND            OR           97239
          MARKETING PROMOTION
   717083 NETWORK INC                  PO BOX 6035                                                                                                                         SAN JUAN            PR           00914‐6035
   303339 MARKETING SYSTEMS GROUP      565 VIRGINIA DRIVE FORT                     WASHINGTON PA 19034                                                                     PENNSYLVANIA        PA           19034‐2706
          MARKETING WORKS/ GUSTAVO
   303340 HERRERO                      PO BOX 472                                                                                                                          SAINT JUST          PR           00978
   717084 MARKETS AND MORE             654 AVE MUNOZ RIVERA                                                                                                                SAN JUAN            PR           00918
   303341 MARKETWIRE INC               PO BOX 848025                                                                                                                       LOS ANGELES         CA           90084‐8025

   303343 MARKITO'S BABY CENTER INC                   PMB 562                      AVE RAFAEL CORDERO STE 140                                                              CAGUAS              PR           00725
          MARKUP LANGUAGE
   303345 DEVELOPMENT                                 C. AZUCENA NO.4              SANTA MARIA                                                                             SAN JUAN            PR           00927
          MARKUP LANGUAGE                             PARKSIDE BUILDING METRO
   303346 DEVELOPMENT INC                             OFFICE PARK                  STE 214                                                                                 GUAYNABO            PR           00968
   303347 MARKUS ALBINO RIOS                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717086 MARLA D QUINTANA GONZALEZ P O BOX 2525                                                                                                                           UTUADO              PR           00641
   303351 MARLA D RIOS DIAZ         REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303352 MARLA E CIARES RIVERA     REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717087 MARLA E LOZADA RODRIGUEZ                    RR 3 BOX 3587                                                                                                        SAN JUAN            PR           00926‐9611
   303353 MARLA E MOLINA                              REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  303354 MARLA E SEVILLA ALSINA                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  303357 MARLA GARCIA PRESTOL                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  303358 MARLA I CINTRON RUIZ                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  717088 MARLA I SANZ JOVE                             BOX 1515                    13 CALLE A                                                                               ARECIBO             PR         00613

   717089 MARLA M HERNANDEZ GUZMAN REPTO GONZALEZ                                  10 CALLE CATELINO VELAZQUEZ                                                              MOCA                PR         00676

   303359 MARLA M RODRIGUEZ COLON                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303360 MARLA MEJIA MEDINA                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303361 MARLA MENDEZ CARTAGENA                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717090 MARLA OTERO TORRES                           P O BOX 1062                                                                                                         SABANA SECA         PR         00952‐1062
   717091 MARLA PEREZ MARTINEZ                         PO BOX 52057                                                                                                         LEVITTOWN           PR         00950‐2057
   303362 MARLA PINEIRO DIAZ                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303363 MARLA RAMIREZ NAVEDO                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717092 MARLA RIVERA                                 PO BOX 9021112                                                                                                       SAN JUAN            PR         00902‐1112
   303364 MARLA RIVERA RIVERA                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303365 MARLA ROSADO NEGRON                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717093 MARLA S DELGAOD VAZQUEZ                      HC 1 BOX 10725                                                                                                       GURABO              PR         00778
   717094 MARLA S RIVERA LOPEZ                         LA PLATA                    L 11 CALLE 8                                                                             CAYEY               PR         00736
          MARLA SAMARIE DELGADO
   303366 ADORNO                                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   771172 MARLA V MENDEZ LOPEZ                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   303367 MARLA Y. RODRIGUEZ TORRES                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303368 MARLA Z GOSS VIDAL                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303370 MARLAIN QUINONES MATOS                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARLANDY M HERNANDEZ
   303371 VELAZQUEZ                                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303372 MAR‐LEE TAYLOR                               REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717097 MARLEEN A GUZMAN                             URB VISTA HERMOSA           B 13 CALLE 2                                                                             HUMACAO             PR         00791
   303375 MARLEEN AYALA RIVERA                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303376 MARLEEN BERRIOS COLON                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303377 MARLEEN J MONGE MARZAN                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303378 Marleen LaviNa Carrero                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717098 MARLEEN LOPEZ                                URB JARDINES DE SANTA ANA   B 23 CALLE 2                                                                             COAMO               PR         00769
   717099 MARLEEN MARTINEZ VEGA                        HC 06 BOX 10001                                                                                                      HATILLO             PR         00659

   303379 MARLEEN MONTALVO GALARZA                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717100 MARLEEN PEREZ ORTIZ                          URB VALLE ARRIBA            175 CALLE FLAMBOYAN                                                                      COAMO               PR         00769
   303380 MARLEEN SANTOS AYALA                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303381 MARLEEN VEGA PADILLA                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717101 MARLEN DIAZ GONZALEZ                         URB CROWN HILLS             1759 CALLE JAJONE                                                                        SAN JUAN            PR         00926

   303383 MARLENE A FARINACCI VILARO                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303384 MARLENE A RIVERA                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   303385 MARLENE A. FARINACCI VILARO                  REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303386 MARLENE ALVAREZ CRESPO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717102 MARLENE APONTE CABRERA                       MSC 128 SIERRA MORENA       271 LAS CUMBRES                                                                          SAN JUAN            PR         00926
   303387 MARLENE ARROYO VELEZ                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303388 MARLENE ARVELO                               REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   303389 MARLENE AYALA CABRERA                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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          MARLENE C QUINONES
   303390 RODRIGUEZ                                   REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303391 MARLENE CASTILLO SANTANA                    REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717103 MARLENE CINTORN MORALES                     URB SANTA ROSA                 54 15 CALLE 32                                                                        BAYAMON             PR           00959
   717106 MARLENE CRUZ GUTIERREZ                      RES VISTA HERMOSA              EDIF 76 APT 877                                                                       SAN JUAN            PR           00921
   303392 MARLENE DIAZ GONZALEZ                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303393 MARLENE DOMINGUEZ MITRE                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717108 MARLENE E HOFFMAN COBB                      URB GOLDEN GATE                49 B CALLE ESMERALDA                                                                  GUAYNABO            PR           00968

   717109 MARLENE ECHEVARRIA VAZQUEZ LOS REYES                                       18 CALLE INCIENZO                                                                     JUANA DIAZ          PR           00795‐2855

   717110 MARLENE FELICIANO MARTINEZ 106 CALLE DORREGO                                                                                                                     MAYAGUEZ            PR           00680

   303394 MARLENE FERNANDEZ ALVAREZ REDACTED                                         REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717111 MARLENE G PONCE SOSA                        13 SECTOR LA SIERRA BO JOBOS                                                                                         ISABELA             PR           00662

   303395 MARLENE G RIVERA RODRIGUEZ REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717112 MARLENE HERNANDEZ ROSADO HC 71 BOX 3643                                                                                                                          NARANJITO           PR           00719

   303397 MARLENE J RODRIGUEZ RAMOS                   REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303398 MARLENE J. RAMOS SAEZ                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303400 MARLENE LOPEZ TORRES                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717115 MARLENE LUGO                                PLAZA ANTILLANA APT 1‐ 6302    161 CALLE CESAR GONZALEZ                                                              SAN JUAN            PR           00918

   303401 MARLENE M OCASIO SANTANA                    REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARLENE MALDONADO
   303402 MALDONADO                                   REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717116 MARLENE MARTINEZ CORREA                     BO DOMINGUITO                  BZN G 98                                                                              ARECIBO             PR           00612
   303404 MARLENE MARTINEZ SOTO                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717117 MARLENE MATUD RODRIGUEZ                     VILLA FONTANA                  24R‐48 VIA 20                                                                         CAROLINA            PR           00983
   717118 MARLENE MERLE CRUZ                          PO BOX 8096                                                                                                          SAN GERMAN          PR           00683
   303405 MARLENE MOYA CRUZ                           REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303406 MARLENE NAZARIO RIVERA                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARLENE O SULLIVAN
   303407 ZAMBRANA                                    REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717119 MARLENE OLIVER VAZQUEZ                      URB MONTE ALVERNIA             F 2 VIA CAPOBORE                                                                      GUAYNABO            PR           00969
   303408 MARLENE ORTIZ NUNEZ                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303409 MARLENE PAGAN CUEVAS                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717120 MARLENE PEREZ FIGUEROA                      HC 2 BOX 14659                                                                                                       CAROLINA            PR           00985
          MARLENE QUINONES
   303410 RODRIGUEZ                                   REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717121 MARLENE RAMOS VELEZ                         COND BALDORIOTY GARDENS        APT 4 B                                                                               SAN JUAN            PR           00907
   303411 MARLENE REIMUNDI AYALA                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303412 MARLENE REYES ZABALA                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717122 MARLENE RIVERA                              PO BOX 34474                                                                                                         PONCE               PR           00734‐4474
   303413 MARLENE RIVERA FUENTES                      REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303414 MARLENE RIVERA PAGES                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717125 MARLENE RIVERA SOTOMAYOR                    JARDINES DEL CARIBE            29 B ST AC2                                                                           PONCE               PR           00728



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          MARLENE RODRIGUEZ
   717126 ALVARADO                                    URB TURABO GARDENS III         R9 14 CALLE H                                                                          CAGUAS              PR           00725

   303416 MARLENE RODRIGUEZ COLON                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303417 MARLENE RODRIGUEZ CRUZ                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303418 MARLENE ROSARIO ABREU                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303419 MARLENE ROSARIO DE JESUS                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303420 MARLENE RUIZ SUNOL                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303421 MARLENE SANTANA VELEZ                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303422 Marlene Sepulveda Palermo                   REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717127 MARLENE SMITH BERMUDEZ                      URB ALTURAS DE RIO GRANDE      E199 CALLE 4                                                                           RIO GRANDE          PR           00745
          MARLENE SUNOL Y MARLENE
   303423 RUÍZ                                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717128 MARLENE TORRES                              PO BOX 10782                                                                                                          COMERIO             PR           00782

   303426 MARLENE VAZQUEZ RODRIGUEZ REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   303427 MARLENE VELAZQUEZ GONZALEZ REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717130 MARLENE Y PEREZ VELAZQUEZ                   LOMAS DE CAROLINA              G 22 CALLE MONTE ALEGRE                                                                CAROLINA            PR           00987

   303428 MARLENE Z GALLOZA LORENZO                   REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARLENE ZAYAS /JOSE E
   303429 FIGUEROA                                    REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303430 MARLENY RICAURTE CHICA                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303432 MARLENY VAZQUEZ DIAZ                        REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717131 MARLESLIE RIVERA BURGOS                     HC 02 BOX 8612                                                                                                        CIALES              PR           00638
   717132 MARLETTE ACEVEDO COTTO                      188 SECTOR LOARTE                                                                                                     BARCELONETA         PR           00617
   303434 MARLI FIGUEROA GALARZA                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      URB. JARDINES DE CAPARRA LL‐
   717133 MARLIE BELLO OBJIO                          31 C/26                                                                                                               BAYAMON             PR           00950
   303435 MARLIN A BERRIOS RIVERA                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717134 MARLIN DISTRIBUTORS                         PO BOX 11850                                                                                                          SAN JUAN            PR           00922‐1850
   303436 MARLIN GARCIA LIBERATA                      REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717135 MARLIN M RODRIGUEZ SAVIS                    URB ALTA VISTA                 M 10 CALLE 10                                                                          PONCE               PR           00731
   303437 Marlin Ojeda                                REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303438 MARLIN TORRES TORO                          REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303439 MARLINE GUZMAN GARCIA                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARLINE JANNETTE BERRIOS
   303440 ROSARIO                                     REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717137 MARLINE SEDA TROCHE                         URB BORINQUEN                  CALLE 6829                                                                             CABO ROJO           PR           00624
   303441 MARLINESS DIAZ RIVERA                       REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717138 MARLIS GONZALEZ FERNANDEZ                   HC 01 BOX 9150                                                                                                        CANOVANAS           PR           00729
   717140 MARLIS SILVA HERNANDEZ                      FLAMINGO                       880 C CLUB CALLE FLAMINGO                                                              SAN JUAN            PR           00924

   717141 MARLIXA ADORNO RODRIGUEZ                    URB UNIVERSITY GARDENS         900 CALLE INTERAMERICANA                                                               SAN JUAN            PR           00926

   303442 MARLON G CABRERA LAFAURIE                   REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717142 MARLON INESTROZA                            1482 AVE ROOSEVELT APT 607                                                                                            SAN JUAN            PR           00920
   303443 MARLON L VILLAGRA                           REDACTED                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   303444 MARLON MARRERO MELENDEZ                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717144 MARLON RIVERA VELAZQUEZ                     URB SANTA CLARA               P 7 CALLE EMAJAGUA                                                                SAN JUAN            PR           00969
   717145 MARLONE E GERARDINO                         COND LAGO MAR 5               AVE LAGUNA APT 58                                                                 CAROLINA            PR           00979
   717146 MARLOU R VAZQUEZ                            PO BOX 6200                                                                                                     CIDRA               PR           00739

   717148 MARLUZ COMPUTER SUPPLIES                    2439 PASEO PERLA DEL SUR                                                                                        PONCE               PR           00717‐0661
   303446 MARLY ANN ORTIZ AYALA                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303447 MARLY D RIVERA VAZQUEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARLY DIAZ ADORNO A/C
   717150 ENEIDA ADORNO                               2510 CORREO CABIBE SUITE 28                                                                                     TRUJILLO ALTO       PR           00977
   717151 MARLY PAGAN RIVERA                          DORAVILLE                     4 3 6 CALLE 3                                                                     DORADO              PR           00965
   303448 MARLY ROCHE RIOS                            REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   303449 MARLYAN RIVERA HERNANDEZ                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   303450 MARLYANN VAZQUEZ SANTIAGO REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARLYANNE M CORTES
   303451 GONZALEZ                  REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303452 MARLYN A TORRES CANCEL    REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717152 MARLYN AGUILAR MARTINEZ   EXT URB LA CONCEPCION                           37 CALLE A                                                                        CABO ROJO           PR           00623
   303464 MARLYN ARZUAGA ORTIZ      REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717153 MARLYN BONILLA ARROYO     URB PARKVILLE                                   0 21CALLE McKINLEY                                                                GUAYNABO            PR           00965
   717154 MARLYN BONILLA TORRES     URB CONSTANCIA                                  3030 CALLE SOLLER                                                                 PONCE               PR           00717
   303465 MARLYN BORRERO RUBIO      REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303466 MARLYN DELGADO GOMEZ      REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303467 MARLYN DIAZ OTERO         REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717156 MARLYN GONZALEZ RODRIGUEZ HC 1 BOX 7298                                                                                                                     GUAYANILLA          PR           00656

   303468 MARLYN HERNANDEZ GONZALEZ REDACTED                                        REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   303469 MARLYN HERNANDEZ MORALES REDACTED                                         REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717157 MARLYN I BATTLE          GRAN VISTA II                                    97 PLAZA 9                                                                        GURABO              PR           00778

   303470 MARLYN I MELENDEZ DE JESUS                  REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303471 MARLYN J SANTIAGO                           REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717160 MARLYN MARTINEZ MARRERO                     PO BOX 1481                                                                                                     TRUJILLO ALTO       PR           00977
   717161 MARLYN MATOS VARGAS                         HC 1 BOX 6227                                                                                                   CABO ROJO           PR           00623

   717162 MARLYN POMALAZA MERCADO                     RIO GRANDE STATE              A 24 CALLE 2                                                                      RIO GRANDE          PR           00745
   303472 MARLYN QUILES TORRES                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   303473 MARLYN R HIRALDO ARZUAGA                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717163 MARLYN RIOS RODRIGUEZ                       A 3 20 BALDORIOTY                                                                                               PONCE               PR           00731

   303475 MARLYN RIVERA LARACUENTE                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303476 MARLYN RIVERA MELENDEZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303477 MARLYN RODRIGUEZ ACOSTA                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717164 MARLYN ROMAN REYES                          PO BOX 462                                                                                                      RINCON              PR           00677
   717165 MARLYN SANCHEZ ROSADO                       HC 20 BOX 28429                                                                                                 SAN LORENZO         PR           00754
   717166 MARLYN T GALARZA                            PLAYA                         135 LORENZA BISO                                                                  PONCE               PR           00716



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          MARLYN TERESA ORTIZ
   717167 MONTALVO                                    VILLA UNIVERSITARIA             B 1 CALLE 4                                                                           HUMACAO             PR           00791
   303480 MARLYN TOLEDO DEL VALLE                     REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717168 MARLYN TORRES GUADALUPE                     URB REPARTO SAN JOSE            E 11 CALLE CORIANO                                                                    CAGUAS              PR           00725
   303481 MARLYN VELEZ TORRES                         REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   303482 MARLYN Z. MALDONADO LOPEZ REDACTED                                          REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARLYNE J. RODRIGUEZ
   303483 SCHMIDT                   REDACTED                                          REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303484 MARLYNE RIVERA ALCARAZ    REDACTED                                          REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   303485 MARMER MEDICAL CENTER                       777 CLEVELAND AVE ‐ SUITE 102                                                                                         ATLANTA             GA           30315‐7101
   717169 MARMOL AUTO SALES                           NJ‐9 MANSION DE NORTE                                                                                                 LEVITTOWN           PR           00919
   717170 MARMOL CO. INC.                             PO BOX 366398                                                                                                         SAN JUAN            PR           00936
   717171 MAR‐MOL CO. INC.                            PO BOX 3121                                                                                                           SAN JUAN            PR           00904
   303487 MARMOL COMPANY INC                          BOX 3121                                                                                                              SAN JUAN            PR           00904

   303501 MARMOLERIA LA CARIDAD INC                   PO BOX 141651                                                                                                         ARECIBO             PR           00614

   717172 MARMOLERIA LOS ANGELES INC                  BO OBRERO                       418 CALLE CORTIJO                                                                     SAN JUAN            PR           00915
          MARMOLERIA Y TERRAZOS
   303502 COAMENOS                                    REDACTED                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717173 MARMOLES PAONAZZO INC.                      PO BOX 1809                                                                                                           CIDRA               PR           00739
   717174 MARMOLITE INC                               P O BOX 1040                                                                                                          SABANA SECA         PR           00952‐1040
          MARMORATO RIVERA MD,
   303504 ROSSELLDA                                   REDACTED                        REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                      OE 12 4TA EXTENSION COUNTRY
   303505 MARN PROSTHETIC LABORATORY AVE ITURREQUI                                    CLUB                                                                                  CAROLINA            PR           00982
   717176 MARNA I RODRIGUEZ          LOS PASEOS                                       A 1 PASEO REAL                                                                        SAN JUAN            PR           00926
   717177 MARNA SOLIVAN PLAUD        URB VALLE ALTO                                   B 26 CALLE 6                                                                          PATILLAS            PR           00723
   717178 MARNIE PEREZ MOLIERE       COND SKY TOWER II                                APT 7 C                                                                               SAN JUAN            PR           00926
   303506 MARNNIE ORTIZ OROZCO       REDACTED                                         REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717179 MARÖA DEL P VALENTÖN LOPEZ BOX 1182                                                                                                                               A¥ASCO              PR           00610

   303507 MARÖA M. JIMNEZ RODRÖGUEZ REDACTED                                          REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717180 MARÖA RAMOS               PO BOX 542                                                                                                                              A¥ASCO              PR           00610
   717181 MARÖA SERRANO RIVERA      URB MONTE BRISAS V                                5‐G‐19 CALLE 5‐8                                                                      FAJARDO             PR           00738
   303508 MAROL RIVERA OLMO         REDACTED                                          REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717182 MARPOR CORP               PMB 316                                           P O BOX 4952                                                                          CAGUAS              PR           00726‐4952
   303509 MARQTEK CORP              P O BOX 1438                                                                                                                            GUAYAMA             PR           00785
   303529 MARQUEST J MEEKS          REDACTED                                          REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717183 MARQUETE LAW REVIEW                         1103 WEST WISCONSIN AVENUE                                                                                            MILWAUKEE           WV           53233

   717184 MARQUETERIA LOS MUCHACHOS P O BOX 8070                                                                                                                            SAN JUAN            PR           00910

   717186 MARQUETTE UNIV.LAWSCHOOL                    PO BOX 1881                                                                                                           MILWAUKEE           WI           53201
          MARQUEZ & TORRES,
   303535 ABOGADOS NOTARIOS, CSP                      AVENIDA UNIVERSIDAD #54         SUITE 1                                                                               SAN JUAN            PR           00925
          MARQUEZ AND PEREZ
   717187 RADIOLOGOS                                  P O BOX 8040                                                                                                          SAN JUAN            PR           00910
   717188 MARQUEZ AUTO SALES                          PO BOX 1359                                                                                                           RIO GRANDE          PR           00745



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   303578 MARQUEZ BIBILONI MD, JOSE A                 REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   303584 MARQUEZ CABAN MD, RANDY    REDACTED                                      REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                     DAVID DANIEL RODRIGUEZ
  1420438 MARQUEZ CARRILLO, MANRIQUE VARGAS                                        PO BOX 29911                                                                              SAN JUAN            PR           00929
   303666 MARQUEZ CUEVAS, YRIS       REDACTED                                      REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717189 MARQUEZ GABINETS SERVICES                   HC 1 BOX 7304                                                                                                          SALINAS             PR           00751

   303766 MARQUEZ GONZALEZ MD, LUIS E REDACTED                                     REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   303793 MARQUEZ INORIO MD, ANTONIA REDACTED                                      REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303797 MARQUEZ LABOY, SANDRA E    REDACTED                                      REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARQUEZ LAMBOY
   717190 SERV.STA.SHELL             113 CALLE BETANCES                                                          CAGUAS                                                      CAGUAS              PR           00725
                                                                                   URB. METROPOLIS 2M17 CALLE
  1420439 MARQUEZ MERCADO, REBECCA                    MARQUEZ MERCADO, REBECCA     56                                                                                        CAROLINA            PR           00987
   303894 MARQUEZ MOLINA, CARMEN                      REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   303931 MARQUEZ NEGRON, LUZ D                       REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1420440 MARQUEZ PEREZ, CARMEN                       RICARDO E. CARRILLO DELGADO 403 CALLE DEL PARQUE SUITE 6                                                               SAN JUAN            PR           00912‐3709
          MARQUEZ PROFESIONAL
   717191 ENGRAVING                                   URB LEVITTOWN LAKES          HP6 CALLE AMALIA PAOLI                                                                    LEVITTOWN           PR           00949
   304021 MARQUEZ RAMOS, ANGELY M                     REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   INSTITUCIÓN CORRECCIONAL      EDIFICIO A‐2 CELDA 2024 3699
  1422913 MÁRQUEZ RIVERA, JUAN       JUAN MÁRQUEZ RIVERA                           PONCE MÁXIMA SEGURIDAD        PONCE BYP                                                   PONCE               PR           00728‐1500
          MARQUEZ RODRIGUEZ MD, LUIS
   304072 B                          REDACTED                                      REDACTED                     REDACTED                              REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARQUEZ SANCHEZ, CARMELO Y                                               1605 PONCE DE LEON AVE SUITE
  1420441 OTROS                      YADIRA ADORNO DELGADO                         600                                                                                       SAN JUAN            PR           00909

   304149 MARQUEZ SANTIAGO MD, RAUL REDACTED                                       REDACTED                        REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   INST. PRINCIPAL FASE III PO BOX
  1420442 MARQUEZ SANTIAGO, ALEXIS J.                 ALEXIS J. MARQUEZ SANTIAGO   7285                                                                                      PONCE               PR           00732

   304161 MARQUEZ SARRAGA MD, RAUL                    REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717192 MARQUEZ SERVICE STATION                     PO BOX 113                                                                                                             RIO GRANDE          PR           00745
   304182 MARQUEZ TORO MD, CARLOS                     REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   304233 MARQUEZ Y TORRES                            REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   304245 MARQUIS WHO'S WHO                           P O BOX 7247‐0499                                                                                                      PHILADELPHIA        PA           19170‐0449

   304248 MARRAIL FOSTER MEDINA                       P O BOX 19175                ESTACION FERNANDEZ JUNCOS                                                                 SAN JUAN            PR           00910‐9175
   304254 MARRERO & DIAZ INC                          P O BOX 70250 PMB 120                                                                                                  SAN JUAN            PR           00936
   304255 MARRERO A/C SERVICES INC                    URB EL CONQUISTADOR          L65 CALLE 15                                                                              TRUJILLO ALTO       PR           00976

   304281 MARRERO ALICEA MD, MIRIAM REDACTED                                       REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420443 MARRERO ALONSO, HILDA     MARTÍN GONZÁLEZ VÁZQUEZ                        PO BOX 591                                                                                MERCEDITA           PR           00715‐0591
          MARRERO AMADEO MD, DERICK
   304306 I                         REDACTED                                       REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   304314 MARRERO APONTE, SHARLENE                    REDACTED                     REDACTED                      REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   304338 MARRERO AUTO GLASS                          APARTADO 31142               65TH INF. STATIONS                                                                        RIO PIEDRAS         PR           00924



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  304339 MARRERO AUTO PARTS                           222 AVE BARBOSA                                                                                                     CATANO              PR           00962

   304377 MARRERO BERRIOS MD, RAFAEL REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                     ERIO D. QUIÑONES
  1420444 MARRERO BERRIOS, JOSE LUIS VILLAHERMOSA                                CALLE PALMA REAL #2                                                                      COROZAL             PR           00783

   304408 MARRERO BURGOS MD, FRANCIS REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

  1420445 MARRERO CAMAHCO, MIRIAM ELENA M. QUINTERO                              PO BOX 2288                                                                              MANATI              PR           00674
   304476 MARRERO CASTILLO, LIZBETH  REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   717195 MARRERO CHAIR RENTAL       URB SIERRA BAYAMON                          79‐1 CALLE 69                                                                            BAYAMON             PR           00961
   304519 MARRERO COLON, AILSABEL    REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARRERO COLON, ELIEZER /
          COOPERATIVA DE SEGUROS     ARMANDO FRANCESCHI                          PMB 360 SUITE 216 CALLE
  1420446 MULTIPLES DE PR            FIGUEROA                                    TABONUCO B‐5                                                                             GUAYNABO            PR           00968‐3029
   304561 MARRERO CORREA, JUANA      REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARRERO CORTES MD, RICARDO
   304565 J                          REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   304587 MARRERO CRUZ, CANDIDA      REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

  1420447 MARRERO DAVILA, PABLO                       MANUEL FERNANDEZ MEJIAS    2000 CARR 8177 SUITE 26‐246                                                              GUAYNABO            PR           00966
                                                                                 EDIF. ASOC. MAESTROS 452
  1420448 MARRERO DIAZ, MAYRA                         JOSE MORALES               PONCE DE LEÓN SUITE 514                                                                  SAN JUAN                         00918
          MARRERO FIGUEROA MD,
   304719 NORMA                                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   304722 MARRERO FIGUEROA, ANGELINA REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                                                 INST. GUAYAMA 1000 PO BOX
  1420449 MARRERO FIGUEROA, JOSE E                    NO TIENE (PRO SE)          1009                                                                                     GUAYAMA             PR           00785
   304767 MARRERO GARCIA MD, JOSE                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   304826 MARRERO GONZALEZ, JOSE R.                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARRERO GRATACOS MD,
   304855 ROBERTO                                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   305005 MARRERO LUGO, ARACELIS                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   305011 MARRERO LUNA MD, HECTOR                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARRERO MALDONADO MD,
   305015 LUZ N                                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARRERO MALDONADO MD,
   305016 RAMON A                                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARRERO MALDONADO, LEILA                                               1511 PONCE DE LEÓN COND.
  1420450 685‐957                                     LEILA MARRERRO             CIUDADELA APTO. 1222                                                                     SAN JUAN            PR           00909

   305063 MARRERO MARRERO, GLADYS                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   305082 MARRERO MARRERO, KARINA                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MARRERO MEDIAVILLA, JUAN                                               MANSIONES DE SAN MARTÍN
  1420451 CARLOS                                      JOSÉ F. AVILÉS LAMBERTY    SUITE 17                                                                                 SAN JUAN            PR           00924‐4586
                                                                                 UNION PLAZA SUITE 1105 #416
  1420452 MARRERO MENDEZ, ALVIN                       ACLU OF PUERTO RICO        PONCE DE LEÓN                                                                            SAN JUAN            PR           00918
   305245 MARRERO MESA MD, OMAR                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   305270 MARRERO MONTIJO, JOSE J.                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   305355 MARRERO NIEVES MD, JOSE                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  1420453 MARRERO NORIEGA, DANIEL                     ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                                                               HORMIQUEROS         PR           00660‐0873



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   305427 MARRERO ORTIZ MD, PABLO V                   REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   305428 MARRERO ORTIZ MD, SANDRA E REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   305509 MARRERO PAGAN MD, GILBERTO REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARRERO PEREZ, ANTHONY Y
  1420454 OTROS                      JORGE L. AROCHO RIVERA                    RR8 BOX 1995 PMB 115                                                                     BAYAMÓN             PR           00956‐9825
   305548 MARRERO PEREZ, IVETTE      REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARRERO REFRIGERATION
   305647 SERVICE INC.               P.O. BOX 1130                                                                                                                      MANATI              PR           00674

   717196 MARRERO RIVERA MARILYN                      VALLE DEL SOL,           48 CALLE 3 URB FLAMINGO HLS                                                              BAYAMON             PR           00957
   305763 MARRERO RIVERA, MARIA M                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARRERO RODRIGUEZ,
   305835 EMMANUEL                                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   305889 MARRERO RODRIGUEZ, SAMUEL REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   305907 MARRERO ROLON, LUISA M    REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARRERO TORRES MD, HECTOR
   306149 J                         REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   306150 MARRERO TORRES MD, LUIS A                   REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   306159 MARRERO TORRES, CARMEN E   REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARRERO TRANSPORT & SALES,
   717197 INC.                       PO BOX 104                                                                                                                         SAN JUAN            PR           00926

   306217 MARRERO VANTERPOOL, LUCY I. REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306225 MARRERO VARGAS, MILDRED     REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARRERO VELEZ CARLOS REYCO
   306283 SERVICE STA                 PO BOX 218                                                                                                                        MOROVIS             PR           00687 0218

   306295 MARRERO VERA MD, MORAIMA REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306297 MARRERO VIERA MD, NANCY    REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARRERO VILLALI & GARAVITO
   717199 MEDINA                     P O BOX 9021264                                                                                                                    SAN JUAN            PR           00902‐1264

   306319 MARRERO, ARISTIDES MIRANDA REDACTED                                  REDACTED                   REDACTED                               REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                               GRUPO ADVOCATUS CSP PO BOX
  1420455 MARRERO, CARLOS A.                          ENRIQUE PELLOT CÓRDOVA   362146                                                                                   SAN JUAN            PR           00936‐2146
   306329 MARRERO, HECTOR M                           REDACTED                 REDACTED                   REDACTED                               REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306333 MARRERO, MARGARITA                          REDACTED                 REDACTED                   REDACTED                               REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420456 MARRERO, PELEGRINA                          FRANIK INSERNI MILAN     PO BOX 193748                                                                            SAN JUAN            PR           00919‐3748
   717200 MARREROS CATHERING                          HC 1 BOX 1861‐2                                                                                                   MOROVIS             PR           00687

   306355 MARRIANNE N PADILLA NEGRON REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717201 MARRIBELLO DIAZ SOTO       URB SAN MARTIN C 20                                                                                                                UTUADO              PR           00641
          MARRION FERNANDEZ
   306356 CARRANZA                   REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717202 MARRION MERELL             PO BOX 31199                                                                                                                       MANATI              PR           00674
   306357 MARRIOTT EAST SIDE         525 LEXINGTON AVE                                                                                                                  NEW YORK CITY       NY           10017




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          MARRIOTT PR MANAGEMENT
   717203 CORP                                        1309 AVE ASHFORD AVE                                                                                                 SAN JUAN            PR           00907‐1325
   306364 MARS INCORPORATED                           PO BOX 724016                                                                                                        ATLANTA             GA           31139‐9998
   306370 MARSH SALDANA INC                           AREA DEL TESORO               DIVISION DE RECLAMACIONES                                                              SAN JUAN            PR           00902‐4140

   717204 MARSHA GONZALEZ MARRERO                     URB COUNTRY CLUB              HA54 CALLE 217                                                                         CAROLINA            PR           00982
   306373 MARSHA MONCRIEF                             REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717205 MARSHA NAVARRO DROZ                         PMB 185 HC 1 BOX 29030                                                                                               CAGUAS              PR           00725
   306374 MARSHA R VIVES VARGAS                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306378 MARSHALL MD , LARRY J                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARSHALL MEDICAL CENTER
   306379 SOUTH                                       2505 US HIGHWAY 431                                                                                                  BOAZ                AL           35957
   306382 MARSHALLS                                   CAPARRA SHOPPING CENTER       FD ROOSEVELT AVE                                                                       CAPARRA HEIGHTS     PR           00968
   306383 MARSHIA E GYURICS                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARSINIANO ORTIZ / ZOILO
   306385 ORTIZ                                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717206 MART ELEC. CORPORATION                      PO BOX 363622                                                                                                        SAN JUAN            PR           00936

   306386 MARTA A CABREJA DE LA ROSA                  REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717210 MARTA A COLON BARRETO                       PO BOX 901343                                                                                                        SAN JUAN            PR           00902 1343
   717211 MARTA A GONZALEZ RIVERA                     RES FELIPE S OSORIO EDIF 26   APT 189                                                                                CAROLINA            PR           00985

   717212 MARTA A MALABET GONZALEZ                    EL MIRADOR                    EDIF 5 APT D 3                                                                         SAN JUAN            PR           00915
   306387 MARTA A RIVERA PAGAN                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306388 MARTA A SERRANO BATISTA                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306389 MARTA A SUS TORRENS                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306390 MARTA A. NIEVES MARTINEZ                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306391 MARTA A. PEREZ SANTIAGO                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTA ACEVEDO/ LILLIAM M
   306392 CARINO                                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306393 MARTA ACOSTA                                REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717215 MARTA ALDAHONDO                             95 COM BORINQUEN                                                                                                     CAMUY               PR           00627

   306394 MARTA ALVARADO FERNANDEZ                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306395 MARTA ALVAREZ ESCRIBANO                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTA ALVAREZ RIVERA /
   717216 CHEQUERA LUQUILLO                           121 A CALLE FERNANDEZ GARCIA                                                                                         LUQUILLO            PR           00773
   717217 MARTA ANAYA CORTIJO                         SOLAR 408 COM PITAHAYA                                                                                               ARROYO              PR           00714
   717218 MARTA ANDRADES ORTIZ                        URB VILLA CAROLINA           6 BLQ 119 CALLE 67                                                                      CAROLINA            PR           00985
   306396 MARTA ANDUJAR VEGA                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTA ANGELIS RIVERA
   306397 FIGUEROA                                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717219 MARTA APONTE ALSINA                         PO BOX 370880                                                                                                        CAYEY               PR           00737
   306399 MARTA APONTE SUAREZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717220 MARTA ARBELO COLON                          HC 05 BOX 54529                                                                                                      HATILLO             PR           00659
   717221 MARTA AROCHO OZOA                           15 CALLE MUNOZ RIVERA                                                                                                LARES               PR           00669
   717223 MARTA ARUS SANTOS                           PO BOX 21365                                                                                                         SAN JUAN            PR           00926‐1365
          MARTA AURORA NIEVES
   717224 MARTINEZ                                    4 BARRIADA RODRIGUEZ                                                                                                 ADJUNTAS            PR           00601
   717225 MARTA AYALA                                 BOX 775                                                                                                              TRUJILLO ALTO       PR           00977
   306400 MARTA AYALA ORTIZ                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717227 MARTA AYMAT NEGRON                          2 URB ROHOLISA                                                                                                       SAN SEBASTIAN       PR           00685
   717229 MARTA B DALMAU FERRER                       URB LOMAS DE CAROLINA         J21 CALLE LA TORRECILLA                                                                CAROLINA            PR           00987



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  717230 MARTA B LLOPIZ FONTANEZ                      RR 10 BUZON 10041                                                                                           SAN JUAN             PR           00926
         MARTA B NAPOLEONI
  306401 ALMODOVAR                                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
  717231 MARTA B ORTIZ RODRIGUEZ                      PO BOX 702                                                                                                  VILLALBA             PR           00766
  306402 MARTA BATISTA BATISTA                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
  717237 MARTA BATISTA RIVERA                         HC 02 BOX 8188                                                                                              JAYUYA               PR           00664‐9615

   717239 MARTA BETANCOURT MUNDO                      81 C/ BETANCES                                                                                              CANOVANAS            PR           00729
   306403 MARTA BORGES DELGADO                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   306405 MARTA C DIEZ DE TORO                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   717242 MARTA C RIVERA DIAZ                         COND LA CEIBA             400 APT 206                                                                       PONCE                PR           00717‐1815

   306406 MARTA CABELLO DOMINGUEZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   717243 MARTA CABRERA                               J 8 URB ALT DE LUCHETTI                                                                                     MANATI               PR           00674
   717245 MARTA CAMPO CRUZ                            HC 763 BOX 3639                                                                                             PATILLAS             PR           00723
   306409 MARTA CARABALLO RAMIREZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   717246 MARTA CARBONELL ACOSTA                      1450 AVE ASHFORD          SUITE 6 B                                                                         SAN JUAN             PR           00907
   306410 MARTA CARCANA                               REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   717247 MARTA CARDONA AVILES                        RES SANTIAGO IGLESIAS     21 APT 173                                                                        PONCE                PR           00730
   306411 MARTA CARDONA CORTES                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   717250 MARTA CARRASCO GARCIA                       HC 04 BOX 48525                                                                                             CAGUAS               PR           00725
          MARTA CARRASQUILLO
   717251 MARQUEZ                                     83 CALLE AUTONOMIA # P2                                                                                     CANOVANAS            PR           00729

   717252 MARTA CARRASQUILLO RIVERA                   RES VISTA HERMOSA         EDIF 6 APT 65                                                                     SAN JUAN             PR           00921
   717254 MARTA CARRION NEGRON                        BO RIO ABAJO              5201 CALLE REBOLLO                                                                VEGA BAJA            PR           00693
   306412 MARTA CASILLAS VEGA                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   717256 MARTA CASTRO SERRANO                        STA CLARA                 12 CALLE KENNEDY                                                                  JAYUYA               PR           00664‐1527
   717257 MARTA CINTRON RAMOS                         PO BOX 6043                                                                                                 DELAND               FL           32721‐6043

   717258 MARTA CIRINO CARRASQUILLO                   P O BOX 290                                                                                                 LOIZA                PR           00772
   306414 MARTA CLAS PAGAN                            REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   717260 MARTA COLLADO MORALES                       PARC AMALIA MARIN         18A CALLE C                                                                       PONCE                PR           00731
   306415 MARTA COLLADO TORRES                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   306416 MARTA COLLAZO ORTIZ                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   717262 MARTA COLON CORNIER                         BDA FERRAN                54 CALLE B                                                                        PONCE                PR           00730
   717263 MARTA COLON CRUZ                            D Z 178 BO PUEBLITO                                                                                         CIALES               PR           00638
   717264 MARTA COLON DE JESUS                        BO MARTIN GONZALEZ        6 URUGUAY FINAL                                                                   CAROLINA             PR           00986
   717265 MARTA COLON DE TORO                         PO BOX 5177                                                                                                 MAYAGUEZ             PR           00681
   717266 MARTA COLON FIGUEROA                        VILLAS PALMERAS           373 CALLE LUTZ                                                                    SAN JUAN             PR           00915
   717267 MARTA COLON ORTEGA                          AVE SEVERIANO CUEVAS                                                                                        AGUADILLA            PR           00603
   306417 MARTA COLON SANCHEZ                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   717269 MARTA CORTES MEJIAS                         PARALELO 38               14 CALLE D                                                                        SAN SEBASTIAN        PR           00685
   717270 MARTA CRUZ CACERES                          1507 MT EPHRAIM AVE                                                                                         CAMDEN               NJ           08104
   717271 MARTA CRUZ CONCEPCION                       PO BOX 5197                                                                                                 YAUCO                PR           00698‐5197
   717272 MARTA CRUZ FIGUEROA                         URB LOS CAOBOS            1327 CALLE JAGUEY                                                                 PONCE                PR           00731
   717273 MARTA CRUZ LOPEZ                            ADM SERV GENERALES        P O BOX 7428                                                                      SAN JUAN             PR           00985
   306418 MARTA CRUZ MUNOZ                            REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   306419 MARTA CRUZ RAMIREZ                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   717274 MARTA CUEVAS                                RES SAN AGUSTIN           EDIF R 513                                                                        SAN JUAN             PR           00901

   306420 MARTA D EGIPCIACO IRIZARRY                  REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   306421 MARTA D GUEVARA NUNEZ                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED



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  306422 MARTA D ORTIZ APONTE                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  717276 MARTA D REYES AGUAYO                         SAN ANTONIO                   2‐A CALLE I                                                                             AGUAS BUENAS       PR         00703
  717277 MARTA D SANCHEZ RAMOS                        19 CALLE ORIENTE                                                                                                      LUQUILLO           PR         00773
  306423 MARTA D SANTIAGO TORRES                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  717279 MARTA DAVILA COLLAZO                         BO TORRECILLAS                BZ 31 CALLE 10                                                                          MOROVIS            PR         00687
  717281 MARTA DAVILA ROMAN                           PO BOX 4052                                                                                                           VEGA BAJA          PR         00694‐4052
  717282 MARTA DE JESUS DIAZ                          HC 4 BOX 48023                                                                                                        CAGUAS             PR         00725‐9629
  306424 MARTA DE JESUS MEDERO                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  717283 MARTA DE JESUS VAZQUEZ                       PO BOX 11998                                                                                                          CIDRA              PR         00739
  306426 MARTA DE L CANDELARIA                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         MARTA DE L LATORRE
  306427 MONTANEZ                                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   717285 MARTA DE LOS SANTOS GARCIA                  RES NEMESIO CANALES           EDIF 29 APT 539                                                                         SAN JUAN           PR         00920
   717286 MARTA DE RAMIREZ                            URB MUNOZ RIVERA              6 CALLE ACERINA                                                                         GUAYNABO           PR         00969
   717289 MARTA DIAZ DIAZ                             HATILLO HOUSING               EDIF I APT 12                                                                           HATILLO            PR         00659
   306430 MARTA DONES GALDON                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   306434 MARTA E ALVAREZ LOPEZ                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   717290 MARTA E COLL FIGUEROA                       COND COSTA DEL SOL            5870 CALLE TARTAK APT 9101                                                              CAROLINA           PR         00979
   306436 MARTA E COLLAZO SANTOS                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   306437 MARTA E COLON RIVERA                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   306438 MARTA E COLON RODRIGUEZ                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   717292 MARTA E CORA RIVERA                         P O BOX 1216                                                                                                          PATILLAS           PR         00723
   306439 MARTA E GONZALEZ SILVA                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   717294 MARTA E HERNANDEZ SERRANO JARDS DE GURABO                                 202 CALLE 10                                                                            GURABO             PR         00778
   306440 MARTA E MARQUEZ MERCED    REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   717295 MARTA E MARTINEZ GARCIA   100 CARMEN HILL DR                              133 COND BEVERLY HILLS CT                                                               SAN JUAN           PR         00926

   717296 MARTA E MORI GALARZA                        20 CALLE CATALINO VELAZQUEZ                                                                                           MOCA               PR         00676
   306442 MARTA E PEREZ FRATICELLI                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   717299 MARTA E RIVERA BURGOS                       RC6 CALLE ILAN ILAN                                                                                                   LEVITTOWN          PR         00949
   306444 MARTA E RIVERA VELAZQUEZ                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   717300 MARTA E SANCHEZ COLON                       P O BOX 4960 PMB 307                                                                                                  CAGUAS             PR         00726
   717207 MARTA E TOLEDO VELEZ                        COOP SAN FRANCISCO            EDIF 2 APT 606                                                                          SAN JUAN           PR         00926
   717301 MARTA E TORRADO COLON                       HC 2 BOX 11239                                                                                                        CAMUY              PR         00627
   306445 MARTA E VAZQUEZ APONTE                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   306447 MARTA E. ALVAREZ LOPEZ                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   306448 MARTA E. DIAZ PIZARRO                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   306449 MARTA E. VELEZ BONILLA                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   306451 MARTA ECHEVARIA FIGUEROA                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   306452 MARTA ELIA DIAZ                             REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MARTA ELISA GONZALEZ
   306453 YGLESIAS                                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MARTA ELIZABETH MARRERO
   306455 BURGOS                                      REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MARTA ELSA FERNANDEZ
   717303 PABELLON                                    HC 02 BOX 14454                                                                                                       AGUAS BUENAS       PR         00703‐9611
   717305 MARTA ESPINOSA CORALES                      HC 2 BOX 11800                                                                                                        LAJAS              PR         00667
   717306 MARTA ESPINOSA RIVERA                       URB VILLA NEVERA              1043 CALLE 14                                                                           SAN JUAN           PR         00927 5213

   306456 MARTA FERNANDEZ DE LA HOYA REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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  306457 MARTA FERNANDEZ STIEHL                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  306458 MARTA FIGUEROA DAVILA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  306459 MARTA FIGUEROA FLORES                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  717311 MARTA FIGUEROA NATAL                         MARI GRDEN CARR             308 APT 212                                                                        CABO ROJO         PR         00623
  306460 MARTA FIGUEROA TORRES                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  306462 MARTA FLORES RODRIGUEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  306463 MARTA FORNES MORALES                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  717314 MARTA FRIAS APONTE                           PO BOX 29689                                                                                                   SAN JUAN          PR         00929‐0689
  717315 MARTA G CRESPO ROSADO                        PO BOX 1133                                                                                                    COROZAL           PR         00783‐1133
  717316 MARTA G MATOS GONZALEZ                       FONTAINEBLEU VILLAGE        19 SAN JOSE APT 405                                                                GUAYNABO          PR         00969
  306464 MARTA G ORTIZ MONTANEZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   717317 MARTA G SANTIAGO CERVERA                    URB BONNEVILLE HEIGHTS      86 CALLE CANOVANAS                                                                 CAGUAS            PR         00727‐4911
   717320 MARTA GARCIA ALICEA                         PO BOX 1520                                                                                                    COROZAL           PR         00783
   717321 MARTA GARCIA ARROYO                         URB LAGO ALTO               F 96 CALLE GALARZA                                                                 TRUJILLO ALTO     PR         00976
   306466 MARTA GARCIA RIVERA                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   306469 MARTA GAVILAN FUENTES                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717323 MARTA GODREAU ZAYAS                         VILLA DEL CARMEN            434 AVE CONSTANCIA                                                                 PONCE             PR         00716‐7750
   717325 MARTA GONZALEZ                              28 URB LAS MINIMAS                                                                                             CAYEY             PR         00736
   717326 MARTA GONZALEZ DE JESUS                     PO BOX 1295 SUITE 208                                                                                          SAN LORENZO       PR         00754
   306471 MARTA GONZALEZ GONZALEZ                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717327 MARTA GONZALEZ IBANEZ                       400 CALLE LOS PINOS                                                                                            SAN JUAN          PR         00915

   717328 MARTA GONZALEZ MALDONADO PARC 143 B                                     CALLE SARON                                                                        TOA BAJA          PR         00952
   306472 MARTA GONZALEZ PABON     REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   306473 MARTA GONZALEZ SOTO      REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717331 MARTA GONZALEZ TORRES    HC 1 BOX 7825                                                                                                                     GUAYANILLA        PR         00656‐9801
                                   COND LA CEIBA EDIF 100 APT
   717332 MARTA GRANADOS           1507                                                                                                                              PONCE             PR         00731

   717334 MARTA H BETANCOURT LOPEZ                    URB LA CUMBRE               47 CALLE CORDILLERA                                                                SAN JUAN          PR         00926
   717335 MARTA HERNANDEZ BENITEZ                     RR 2 BOX 852                                                                                                   SAN JUAN          PR         00926‐9203
   717336 MARTA HERNANDEZ ORTIZ                       PO BOX 533                                                                                                     HORMIGUEROS       PR         00660
   306474 MARTA HERNANDEZ SUAREZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717337 MARTA I APONTE RIVERA                       RR 1 BOX 3411                                                                                                  CIDRA             PR         00739
   717338 MARTA I ARROYO RIVERA                       23 PLAYITA MAGUEYES                                                                                            PONCE             PR         00731
   306475 MARTA I BOYRIE MANGUAL                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   306476 MARTA I CANDELARIA CARDONA REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717339 MARTA I CARDONA RIVERA     HC 43 BOX 9779                                                                                                                  CAYEY             PR         00736
   717341 MARTA I CHICLANA RONDON    BO CAIMITO BAJO                              CARR 842 KM 3 0                                                                    SAN JUAN          PR         00926
   306478 MARTA I COLOMBANI          REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   306479 MARTA I COLON DEL VALLE    REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   306480 MARTA I COLON MARTINEZ     REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   306481 MARTA I COLON RODRIGUEZ    REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717345 MARTA I COLON VEGA         BO VILLA ALEGRE 6                            CALLE ELEUTERIO RAMOS                                                              CAYEY             PR         00736
   717346 MARTA I CRUZ ADORNO        PARC NUEVAS CELADA                           355 CALLE 30                                                                       GURABO            PR         00778
   306483 MARTA I DAVILA ROMAN       REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   306484 MARTA I DE JESEUS COLLAZO  REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717347 MARTA I DELGADO MAYORGA    PO BOX 7984                                                                                                                     PONCE             PR         00732‐7984
   306485 MARTA I DIAZ CABRERA       REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   717348 MARTA I DIAZ COLON                          232 AVE ELEONOR ROOSEVELT                                                                                      SAN JUAN          PR         00907



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   306486 MARTA I FELICIANO MONTILLA                  REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306487 MARTA I FONTANEZ TORRES                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306488 MARTA I GIUSTI NEGRON                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717349 MARTA I GONZALEZ LLERA                      25804 BO LAS VEGAS                                                                                               CAYEY               PR           00736

   717350 MARTA I GONZALEZ RODRIGUEZ 31 CALLE 25 DE JULIO                                                                                                              SAN SEBASTIAN       PR           00685
                                     BO QUEBRADA ARENA SEC LOS
   717351 MARTA I HERNANDEZ COLLAZO LLAYES                                          CARR 165                                                                           TOA ALTA            PR           00953
          MARTA I HERNANDEZ
   306490 HERNANDEZ                  REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306492 MARTA I LOPEZ BATISTA      REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717353 MARTA I MALDONADO RIVERA                    INTERAMERICANA GARDENS        EDF B 12 APT B1                                                                    TRUJILLO ALTO       PR           00976
   717354 MARTA I MARTINEZ MEDINA                     PASEO LA CANTERA              208 CALLE CANGREJOS                                                                PONCE               PR           00730‐3167

   717355 MARTA I MELENDEZ BERMUDEZ VILLA DEL REY                                   2K7 CALLE EARLOMAGNO                                                               CAGUAS              PR           00725
   306493 MARTA I MERCADO RAMIREZ   REDACTED                                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306494 MARTA I MUNIZ RIVERA      REDACTED                                        REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                    215A CALLE PRESIDENTE
   717358 MARTA I OJEDA RODRIGUEZ                     URB BALDRICH                  RAMIREZ                                                                            SAN JUAN            PR           00918
   306495 MARTA I ORTIZ SALDANA                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717360 MARTA I PERELLO COLON                       COND ALTO MONTE               RR 9 BOX 137                                                                       SAN JUAN            PR           00928
   306497 MARTA I PHILIPPI DE LA PENA                 REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306498 MARTA I RAMIREZ PACHECO                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306499 MARTA I RAMIREZ VEGA                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717362 MARTA I RAMOS APONTE                        RR 11 BOX 5874                                                                                                   BAYAMON             PR           00956
   717363 MARTA I RAMOS TORRES                        PO BOX 8499                                                                                                      BAYAMON             PR           00956
   717364 MARTA I RIVERA ALERS                        RR 1 BOX 6801                                                                                                    GUAYAMA             PR           00784
   306500 MARTA I RIVERA BERRIOS                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306501 MARTA I RIVERA PLAZA                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717366 MARTA I RIVERA PONS                         RESIDENCIAL ARISTIDES CHAVIER EDIF 9 APTO 52                                                                     PONCE               PR           00731
          MARTA I RODRIGUEZ
   717369 RODRIGUEZ                                   PMB 223                       130 WINSTON CHURCHILL                                                              SAN JUAN            PR           00926
   306502 MARTA I ROMAN RESTO                         REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306503 MARTA I ROMERO MARTINEZ                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717370 MARTA I ROSARIO RIVERA                      APT206 EDIF S RIVERA PARK                                                                                        BAYAMON             PR           00959
   306504 MARTA I ROSSY FULLANA                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717371 MARTA I RUIZ SERRANO                        PO BOX 41                                                                                                        SAN SEBASTIAN       PR           00685‐0041
   717373 MARTA I SANTIAGO FUENTES                    161 CALLE MARIA MARZO                                                                                            SAN JUAN            PR           00911
   717374 MARTA I SANTIAGO GARCIA                     86 CECILIA DOMINGUEZ                                                                                             GUAYAMA             PR           00784‐4540
   717377 MARTA I SILVA HERNANDEZ                     URB LOS ROSALES               K 3 CALLE 5                                                                        HUMACAO             PR           00791‐3115
   306505 MARTA I SOTO AYALA                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717380 MARTA I TORRES BOSQUE                       URB ESTANCIAS FLOR DEL VALLE 659 CALLE AMAPOLA                                                                   MAYAGUEZ            PR           00680

   717381 MARTA I TORRES MALDONADO                    BO CARACOLES                  5195 CALLE OSTRA                                                                   PONCE               PR           00717
   717382 MARTA I TORRES ORTIZ                        PO BOX 525                                                                                                       BARRANQUITAS        PR           00794
   717383 MARTA I TORRES PINTO                        URB EL CONVENTO               2 CALLE A                                                                          SAN GERMAN          PR           00683
   306506 MARTA I VILLEGAS                            REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717386 MARTA I. CASTRO RIVERA                      SICOSOCIAL CAYEY                                                                                                 Hato Rey            PR           009360000
   306507 MARTA I. CRUZ HERNANDEZ                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  306508 MARTA I. GARCIA VEGA                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  306509 MARTA I. OYOLA VEGA                           REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  306510 MARTA I. RAMOS RIVERA                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  306511 MARTA I. RIVERA BERRIOS                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   306512 MARTA INES MORENO RIVERA                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARTA IRIS CABRERA
   306513 RODRIGUEZ                                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   306514 MARTA IRIS ROBLES MANSO                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717389 MARTA IRIZARRY MAYORAL                       P O BOX 40879                                                                                                  SAN JUAN            PR         00940

   306515 MARTA J CARABALLO PASTRANA REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717390 MARTA J MARTINEZ ROMAN     PO BOX 2122                                                                                                                      BAYAMON             PR         00960
   717391 MARTA J MELENDEZ COLON     730 CALLE DOLORES                         BO OBRERO                                                                              SAN JUAN            PR         00915
   306516 MARTA J RAMIREZ            REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   306517 MARTA J RIVERA PUMAREJO    REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717392 MARTA J TORRES GRAU        PO BOX 266                                                                                                                       JAYUYA              PR         00664
   306519 MARTA J. ORTIZ GUZMAN      REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   717395 MARTA JANICE SILVA MEDERO                    URB VILLA FLORES        D 35 CALLE 3                                                                           CEIBA               PR         00735
   306520 MARTA JIMENEZ ANGLERO                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717397 MARTA JIMENEZ COLON                          P O BOX 5828                                                                                                   CIDRA               PR         00739
   306521 MARTA JIMENEZ SANTOS                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717398 MARTA JOUBERT RIVERA                         RES FERNANDO CALIMANO   EDIF A 15 APT 84                                                                       GUAYAMA             PR         00784

   717400 MARTA L ACEVEDO HERNANDEZ PO BOX 11005                                                                                                                      SAN JUAN            PR         00910‐2105
   717401 MARTA L ALICEA ORTIZ      PO BOX 8742                                                                                                                       BAYAMON             PR         00960

   717402 MARTA L COLON RIVERA                         URB BAIROA PARK 2       E 27 CALLE ENRIQUE MORENO                                                              CAGUAS              PR         00725‐1109
   717403 MARTA L COLON SANCHEZ                        RES LAS CASAS           EDIF 10 APT 120                                                                        SAN JUAN            PR         00915
   306522 MARTA L CRUZ SANTIAGO                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARTA L MARCHANY
   306523 JUSTINIANO                                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717408 MARTA L MORALES PEREZ                        JARDINES DE BORINQUEN   N2 CALLE AZUCENAS                                                                      CAROLINA            PR         00985
   717409 MARTA L ORTIZ MARTINEZ                       VILLA DEL REY 1         R18 CALLE ARAGON                                                                       CAGUAS              PR         00725
   306524 MARTA L POUPART GUZMAN                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   306525 MARTA L RIVERA LUNA                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   306526 MARTA L RIVERA ROSADO                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   717411 MARTA L RODRIGUEZ MARTINEZ RES COLUMBUS LANDING                      E 35 APT 376                                                                           MAYAGUEZ            PR         00682
   717412 MARTA L ROMAN TORRES       LUIS RODRIGUEZ OLMO                       13 CALLE A                                                                             ARECIBO             PR         00612

   306527 MARTA L SANTIAGO CARTAGENA REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   306528 MARTA L TORO TORRES        REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717413 MARTA LABAULT FIOL         PO BOX 3092                                                                                                                      BAYAMON             PR         00960
          MARTA LABORDE / AURELIO A
   306529 BERLINGERI                 REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   306530 MARTA LATORRE MONTANEZ     REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   306531 MARTA LEBRON AGOSTINI      REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717414 MARTA LEON BONILLA         COND RAQUET CLUB APT 206                                                                                                         CAROLINA            PR         00979
   306532 MARTA LOPEZ GONZALEZ       REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717415 MARTA LOPEZ MAISONET       MONTE BRISAS                              5H 26 CALLE 6                                                                          FAJARDO             PR         00738
   717416 MARTA LOZADA RODRIGUEZ     PO BOX 1870                                                                                                                      TOA BAJA            PR         00951



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  717417 MARTA LUCRET TORRES                          JARD DEL CARIBE             A 5 CALLE AZUCENA                                                                 MAYAGUEZ         PR           00680

   306533 MARTA M ALFONSO GONZALEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   717420 MARTA M APONTE SANTIAGO                     HC 02 BOX 6555                                                                                                BARRANQUITAS     PR           00794

   717421 MARTA M ARROYO BERMUDEZ                     URB SAN MARTIN              19 CALLE 4                                                                        PATILLAS         PR           00723
   306535 MARTA M BENITEZ TORRES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   717422 MARTA M BONILLA SANTIAGO                    LAS MAREAS                  50 CALLE 2                                                                        SALINAS          PR           00751
   717423 MARTA M BURGOS LANDRON                      URB COVADONGA               1B‐5 CALLE 9                                                                      TOA BAJA         PR           00949

   717424 MARTA M BUSTILLO HERNANDEZ URB ATLANTIC VIEW ISLA VERDE 107 CALLE MARTE                                                                                   CAROLINA         PR           00979

   306538 MARTA M CAMACHO PESANTE                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   306539 MARTA M CANALES GUZMAN                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   717425 MARTA M CANELLAS GARCIA                     URB VISTA CAROLINA          123 12 CALLE 63                                                                   CAROLINA         PR           00985
   717426 MARTA M CLARA FLECHA                        JOM APARTMENT 147                                                                                             CAGUAS           PR           00725
   717429 MARTA M CRUZ LOPEZ                          P O BOX 8807                                                                                                  BAYAMON          PR           00960
   306540 MARTA M CRUZ TAPIA                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   306541 MARTA M DIAZ FONSECA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   717430 MARTA M GARCIA RODRIGUEZ                    BOX 348                                                                                                       CIDRA            PR           00739
          MARTA M GONZALEZ
   306543 RODRIGUEZ                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
          MARTA M HERNANDEZ
   717431 HERNANDEZ                                   HC 02 BOX 466               CALLE VISTA DEL MAR                                                               QUEBRADILLAS     PR           00678
   306544 MARTA M HERNANDEZ ORTIZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   717432 MARTA M LLORENS SANTINI                     URB COUNTRY CLUB 1141       CALLE ANA DEL LANZOS                                                              SAN JUAN         PR           00924
   717433 MARTA M LOPEZ NAPOLEONI                     HC 37 BOX 8633                                                                                                GUANICA          PR           00653

   717434 MARTA M MALABET GONZALEZ                    EL MIRADOR                  EDIF E 5 APT B 1                                                                  SAN JUAN         PR           00915
   306545 MARTA M MARQUEZ                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   306546 MARTA M MEJIA CASTANER                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   717436 MARTA M MONTALVO CUBERO                     P O BOX 364466                                                                                                SAN JUAN         PR           00936‐4466
          MARTA M MONTALVO DEL
   717437 VALLE                                       40 CALLE YAGUER                                                                                               GUANICA          PR           00653

   306548 MARTA M OLIVERAS FIGUEROA                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   306549 MARTA M ORTIZ LOPEZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   717439 MARTA M ORTIZ PERREIRA                      PARC NUEVAS                 275 CALLE B                                                                       PALMER           PR           00721
          MARTA M PANTOJA
   717442 CONCEPCION                                  COND CAMINO REAL APT H502                                                                                     GUAYNABO         PR           00966

   306551 MARTA M PEREZ MALDONADO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   717443 MARTA M PIZARRO                             CERRO GORDO                 RR 4 BOX 593                                                                      BAYAMON          PR           00956
   306552 MARTA M QUINONES PEREZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   306553 MARTA M RAMOS SOTO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   306554 MARTA M REYES RODRIGUEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED
   717444 MARTA M RIVERA                              P O BOX 335517                                                                                                PONCE            PR           00733
   717445 MARTA M RIVERA AYALA                        PMB 107                     PO BOX 4003                                                                       MOCA             PR           00676
   306555 MARTA M RIVERA SEPULVEDA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED

   306556 MARTA M RODRIGUEZ CORIANO REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED         REDACTED     REDACTED       REDACTED



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   306557 MARTA M RODRIGUEZ DE JESUS REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717447 MARTA M RODRIGUEZ ROSADO                    RES LA CEIBA                   EDIF 26 APT 233                                                                          PONCE               PR           00731
   717449 MARTA M ROMAN PIZARRO                       RR 4 BOX 593                                                                                                            BAYAMON             PR           00956
   306558 MARTA M ROQUE                               REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717450 MARTA M RUIZ DEL PILAR                      COND MIRAMAR TOWERS            721 CALLE HERNANDEZ APT 14G                                                              SAN JUAN            PR           00907
   717451 MARTA M SERRANO GARCIA                      PO BOX 5129                                                                                                             SAN SEBASTIAN       PR           00685‐5129
   717452 MARTA M SOTO TORRES                         HC 2 BOX 7726                                                                                                           CIALES              PR           00638
   306559 MARTA M TORRES VEGA                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306561 MARTA M VALDEZ DE JESUS                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717454 MARTA M VEGA CINTRON                        PO BOX 333                                                                                                              PATILLAS            PR           00723
          MARTA M VELAZQUEZ Y/O
   717456 AGUSTIN VIRELLA                             PARC AMALIA MARIN              4024 CALLE DORADO                                                                        PONCE               PR           00716‐1049
          MARTA M VILLAREZ SENERIZ
   306562 LAW OFFICE                                  46 RUIZ BELVIS                                                                                                          CAGUAS              PR           00725
   717457 MARTA M. ALLENDE M.S.                       PO BOX 50918                                                                                                            TOA BAJA            PR           00950
          MARTA M. ALVARADO
   306563 FERNANDEZ                                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717458 MARTA M. LUGO RAMIREZ                       HC 2 BOX 13481                                                                                                          LAJAS               PR           00667
   306565 MARTA M. PEREZ ROMAN                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306566 MARTA M. RIVERA MARTINEZ                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTA MALDONADO
   717459 MALDONADO                                   PARC MAGUEYES NUEVAS           434 AVE ANA MARIA ONEILL                                                                 PONCE               PR           00728
          MARTA MALDONADO
   717460 RODRIGUEZ                                   HC 2 BOX 6931                                                                                                           ADJUNTA             PR           00601
                                                      COND VILLAS DEL SE¨ORIAL APT
   717461 MARTA MALDONADO SEGUI                       2206                                                                                                                    SAN JUAN            PR           00926

   306569 MARTA MALIZ ARZON SANTANA REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   306570 MARTA MANGUAL FERNANDINI REDACTED                                          REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306571 MARTA MARCIAL ROMAN      REDACTED                                          REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTA MARIA FIGUEROA
   306573 BETANCOURT               REDACTED                                          REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTA MARIA PIMENTEL
   306574 RAMOS                    REDACTED                                          REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717462 MARTA MARIA RIVERA       PO BOX 9021112                                                                                                                             SAN JUAN            PR           00902 1112

   717464 MARTA MARIA RIVERA TORRES                   HC 08 BOX 1174                                                                                                          PONCE               PR           00731‐9708

   717466 MARTA MARQUEZ VELAZQUEZ                     BO OLIMPO                      371 CALLE 9                                                                              GUAYAMA             PR           00784
   717467 MARTA MARTINEZ COLON                        HC 2 BOX 5136                                                                                                           GUAYAMA             PR           00784
   717468 MARTA MARTINEZ FALU                         HILL BROTHERS                  378 C CALLE 7                                                                            SAN JUAN            PR           00924
   717469 MARTA MARTINEZ LEON                         PO BOX 360997                                                                                                           SAN JUAN            PR           00936‐0997
   717471 MARTA MARTINEZ MARTINEZ                     BO SUSUA                       208 CALLE AMAPOLA                                                                        SABANA GRANDE       PR           00637
   306575 MARTA MARTINEZ RESTO                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306576 MARTA MARTINEZ REYES                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306577 MARTA MASFERRER ALVAREZ                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717472 MARTA MATOS MARTINEZ                        P O BOX 9022458                                                                                                         SAN JUAN            PR           00902‐2458
   717473 MARTA MEDERO FERNANDEZ                      SAINT JUST                     CALLE BETANIA BUZON 63                                                                   TRUJILLO ALTO       PR           00976
   306578 MARTA MEDINA MANGUAL                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   717474 MARTA MEDINA MENENDEZ                       232 AVE ELEONOR ROOSEVELT                                                                                          SAN JUAN            PR           00907

   306579 MARTA MELENDEZ LARACUENTE REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306580 MARTA MELENDEZ MARTINEZ   REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306581 MARTA MELENDEZ RIVERA     REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   306582 MARTA MERCADO DOMENECH                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306583 MARTA MERCED FRAGUADA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTA MICHELLE COLON
   717476 SANTANA                                     COND MARYMAR                1754 AVE MCCLEARY APT 502                                                              SAN JUAN            PR           00911
   306584 MARTA MOLINA PEREZ                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717479 MARTA MONELL ROSA                           HC 02 BUZON 5145            BO MATA DE PLATANO                                                                     LUQUILLO            PR           00773
   306585 MARTA MONGE CORREA                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTA MONTALVO / JOSE A
   717480 RODRIGUEZ                                   URB PUERTO NUEVO            614 CALLE CUENCA                                                                       SAN JUAN            PR           00920‐5119
   717481 MARTA MONTALVO OLIVERA                      URB SAN ANTONIO             I 11 BOX 176                                                                           SABANA GRANDE       PR           00637
   717482 MARTA MONTALVO SILVA                        URB MANCIONES DEL SUR       SB9 PLAZA 9                                                                            TOA BAJA            PR           00949
   717483 MARTA MONTILLA LOPEZ                        173 CARR 2                                                                                                         GUAYNABO            PR           00966
   306587 MARTA MORALES CARDONA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306588 MARTA MORALES VALE                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306589 MARTA MOREAU CRUZ                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717485 MARTA MULERO RODRIGUEZ                      URB VISTA DEL MORO A 15     CALLE GUARAGUAO                                                                        CATANO              PR           00962
   306590 MARTA MUNOZ MARCANO                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306592 MARTA MUNOZ SALGADO                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306593 MARTA MURILLO                               REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306594 MARTA N FERRERIS NIEVES                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717487 MARTA N MARTINEZ CORTES                     HC 7 BOX 2472                                                                                                      PONCE               PR           00731

   717488 MARTA N MORENO FONTANEZ                     BO LAS FLORES               79 CALLE 3 APTO 1922                                                                   COAMO               PR           00769
   717489 MARTA N ORTIZ GERENA                        HC 1 BOX 14478                                                                                                     AGUADILLA           PR           00603‐9385
   306595 MARTA N PARRILLA RAMOS                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717491 MARTA N SANCHEZ PEREZ                       BO DULCES LABIOS            218 CALLE TABLON                                                                       MAYAGUEZ            PR           00681
   717492 MARTA N TORRES ROSA                         RR 6 BOX 11250                                                                                                     SAN JUAN            PR           00926
   717493 MARTA N VELAZQUEZ PEREZ                     BO BOQUERON                 P O BOX 1696                                                                           LAS PIEDRAS         PR           00771
   306596 MARTA N. VEGA MORALES                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306597 MARTA N.ARIZAGA BERRIOS                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717494 MARTA NEGRON RODRIGUEZ                      HC 1 BOX 3214                                                                                                      VILLALBA            PR           00766
   717495 MARTA NIEVES DELGADO                        PO BOX 134                                                                                                         NAGUABO             PR           00718‐0134
   717496 MARTA NIEVES NIEVES                         HP ‐ SALA 1 ALTO                                                                                                   RIO PIEDRAS         PR           009360000
   717497 MARTA NIEVES ROJAS                          URB SUNNY HILLS             D 17 CALLE 1                                                                           BAYAMON             PR           00956
   306598 MARTA NUNEZ DIAZ                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717498 MARTA O CARDONA ALVAREZ        URB ALTURAS DE PUERTO REAL               G 2 CALLE 4                                                                            CABO ROJO           PR           00680
   717499 MARTA O ROSA RAMOS             HERMANOS DAVILA                          P 12 CALLE 9                                                                           BAYAMON             PR           00959
   717500 MARTA OJEDA FONTAN             350 CALLE LUNA                           APT 1 B                                                                                SAN JUAN            PR           00902
          MARTA ORTIZ / YABRIELLE / LUIS
   306599 NIEVES                         REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306600 MARTA ORTIZ FELICIANO          REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306601 MARTA ORTIZ GUZMAN             REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717502 MARTA OSORIO DIAZ              URB SAN DEMETRIO                         126 CALLE CASABE                                                                       VEGA BAJA           PR           00693
   717503 MARTA PACHECO MATIAS           P O BOX 601                                                                                                                     TOA BAJA            PR           00951‐0601
   717504 MARTA PADILLA RODRIGUEZ        BOX 3404 MARINA STA                                                                                                             MAYAGUEZ            PR           00682



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  306602 MARTA PAGAN COTTO                            REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  717506 MARTA PASTOR MARTINEZ                        650 CALLE TRINITARIO                                                                                                  RIO GRANDE        PR         00745
  717507 MARTA PEDROZA ROSARIO                        HC 3 BOX 80820                                                                                                        BARRANQUITAS      PR         00794
  717508 MARTA PELUYERA SOTO                          HC 2 BOX 14542                                                                                                        AGUAS BUENAS      PR         00703
  306603 MARTA PENA TIRADO                            REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                  C 16 CALLE PARQUE DE LA
   717509 MARTA PERALES                               BAIROA PARK                 FUENTE                                                                                    CAGUAS            PR         00725
   306604 MARTA PEREZ CHAPUY                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   306605 MARTA PEREZ FIGUEROA                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717511 MARTA PEREZ GUADALUPE                       P O BOX 1491                                                                                                          VIEQUES           PR         00765‐1491
   717514 MARTA PEREZ PAGAN                           P O BOX 9023415                                                                                                       SAN JUAN          PR         00902‐3415
   717515 MARTA PEREZ ROSARIO                         LA PLATA                    K 31 CALLE 7                                                                              CAYEY             PR         00736
   306606 MARTA PEREZ TORRES                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   306607 MARTA PIERLUISI ISERN                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   306608 MARTA PINEIRO MARTINEZ                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   306609 MARTA PINET LOPEZ                           REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   306610 MARTA POLACO RIVERA                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717516 MARTA QUIJANO ALVARADO                      URB HACIENDA LA MATILDE     528 CALLE SURCOS                                                                          PONCE             PR         00731
   306612 MARTA R ADAMS MUNOZ                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717517 MARTA R ALBINO MARTINEZ                     PO BOX 541                                                                                                            COROZAL           PR         00783
   717518 MARTA R ARROYO ORTIZ                        URB VENUS GARDENS           AB 28 CALLE TORREON                                                                       SAN JUAN          PR         00926

   717519 MARTA R CANDELAS RODRIGUEZ G 106 QUINTAS DE CUPEY GDNS                                                                                                            SAN JUAN          PR         00926
   717521 MARTA R DELIZ RUIZ         P O BOX 1221                                                                                                                           ARECIBO           PR         00612
                                     URB VENUS GARDENS OESTE BB
   717522 MARTA R DIAZ BURGOS        11                          CALLE A                                                                                                    SAN JUAN          PR         00926
   306613 MARTA R FUENTES ALGARIN    REDACTED                    REDACTED                                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   717523 MARTA R GUZMAN TORRES                       URB CIUDAD JARDIN DE BAIROA 19 CALLE FERROR                                                                           CAGUAS            PR         00727
   717524 MARTA R JIMENEZ GONZALEZ                    HC 03 BOX 37834                                                                                                       CAGUAS            PR         00725
   306615 MARTA R ORTIZ COLON                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717525 MARTA R ORTIZ FIGUEROA                      P O BOX 362160                                                                                                        SAN JUAN          PR         00936

   306616 MARTA R PEREZ MALDONADO                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   717527 MARTA R RAMOS SANTIAGO                      BANCO COOP PLAZA            1204 B 623 AVE PONCE DE LEON                                                              SAN JUAN          PR         00917
   717528 MARTA R VALENTIN APONTE                     PO BOX 59                                                                                                             LAS MARIAS        PR         00670
   717530 MARTA RAMIREZ LEBRON                        VISTA ALEGRE                33 CALLE D                                                                                HUMACAO           PR         00777
   717531 MARTA RAMOS CINTRON                         LA CUARTA                   33 CALLE E                                                                                MERCEDITA         PR         00715
   717532 MARTA RAMOS PADRO                           104 CALLE DONCELLA                                                                                                    SAN JUAN          PR         00913
   717533 MARTA REYES GARCIA                          RR 4 BOX 569                                                                                                          BAYAMON           PR         00956
   717534 MARTA RIOS MONTALVO                         PO BOX 10                                                                                                             SABANA GRANDE     PR         00637
   306617 MARTA RIVERA                                REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717537 MARTA RIVERA ACEVEDO                        HC 3 BOX 10362                                                                                                        CAMUY             PR         00627‐9708
   306618 MARTA RIVERA CORTES                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   306619 MARTA RIVERA CRUZ                           REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717540 MARTA RIVERA DE JESUS                       HC 01 BUZN 2225                                                                                                       LOIZA             PR         00772
   717541 MARTA RIVERA DIAZ                           METADONA PONCE                                                                                                        Hato Rey          PR         00936
   306620 MARTA RIVERA MARTINEZ                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717542 MARTA RIVERA MELENDEZ                       P O BOX 1286                                                                                                          CIALES            PR         00638
   717543 MARTA RIVERA MIGENES                        CAPARRA TERRACE             SO 1416 CALLE 30                                                                          VEGA ALTA         PR         00692
   306621 MARTA RIVERA MONTES                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717544 MARTA RIVERA RIVERA                         P O BOX 354                                                                                                           JAYUYA            PR         00664



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  717545 MARTA RIVERA RONDON                          PO BOX 30655                                                                                                       SAN JUAN             PR         00929
  717546 MARTA ROBLES OTERO                           BO RIO ABAJO                5012 CALLE PRINCIPAL                                                                   VEGA BAJA            PR         00693
  306622 MARTA ROBLES VARGAS                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  717547 MARTA RODRIGUEZ                              5900 ISLA VERDE AVENUE      L 2 329                                                                                CAROLINA             PR         00979‐4901

   717549 MARTA RODRIGUEZ ARGUELLES B 117 COND VEREDAS DEL RIO                                                                                                           CAROLINA             PR         00987

   717550 MARTA RODRIGUEZ CARABALLO BO SUSUA                                      18 MARGINAL CARR121 KM8‐7                                                              SABANA GRANDE        PR         00637

   306623 MARTA RODRIGUEZ DE GARCIA                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   717552 MARTA RODRIGUEZ DIAZ                        HC 1 BOX 17710                                                                                                     COAMO                PR         00769

   717553 MARTA RODRIGUEZ FERNANDEZ                   VILLA DEL CARMEN            11 CALLE K 26                                                                          GURABO               PR         00778
   717556 MARTA RODRIGUEZ GASTON                      D 81 LA CUARTA                                                                                                     PONCE                PR         00715
   717557 MARTA RODRIGUEZ MERCED                      URB FRANCISCO OLLER         B 5 CALLE A                                                                            BAYAMON              PR         00956
   306624 MARTA RODRIGUEZ NADAL                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

  1256667 MARTA RODRIGUEZ NAVARRO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   717558 MARTA RODRIGUEZ PEREZ                       VILLA CAROLINA 71 39        CALLE 59                                                                               CAROLINA             PR         00985

   306625 MARTA RODRIGUEZ SANTIAGO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   306626 MARTA RODRIGUEZ SEPULVEDA                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   717559 MARTA RODRIGUEZ TORRES                      URB. EL CAFETAL             J‐11 CALLE 8                                                                           YAUCO                PR         00698
   306627 MARTA RODRIGUEZ VARGAS                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   717560 MARTA RODRIGUEZ VELEZ                       JARDINES DEL CARIBE         DD 33 CALLE 30                                                                         PONCE                PR         00728
   717561 MARTA ROLDAN RIVERA                         URB. GLENVIEW GARDEN        CALLE W‐23 A‐Z3                                                                        PONCE                PR         00730
   306629 MARTA ROQUE SANTANA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   717562 MARTA ROSA BAUZA                            URB RIO PIEDRAS HEIGHTS     1688 CALLE URAL                                                                        SAN JUAN             PR         00926
   306630 MARTA ROSARIO RODRIGUEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   717563 MARTA ROSARIO SANTIAGO                      HC 01 BOX 4330                                                                                                     AIBONITO             PR         00705
   717564 MARTA ROSARIO TORRES                        URB SIERRA BAYAMON          71‐7 CALLE 59                                                                          BAYAMON              PR         00961
   306632 MARTA ROSSY FULLANA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   770734 MARTA RUIZ DEL PILAR                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   717567 MARTA S ARVELO LOPEZ                        613 AVE PONCE               DE LEON STE 219                                                                        SAN JUAN             PR         00917
   717568 MARTA S CAMACHO BAYAN                       65 CALLE CAPETANO           APT 2                                                                                  MAYAGUEZ             PR         00680

   717569 MARTA S CINTRON HERNANDEZ                   URB JARD DEL MAMEY          29 CALLE 4 G                                                                           PATILLAS             PR         00723
   717571 MARTA S FIGUEROA NIEVES                     PO BOX 1175                                                                                                        YABUCOA              PR         00767‐1175
   717572 MARTA S MARIN VARGAS                        PO BOX 6771                                                                                                        MAYAGUEZ             PR         00681
   306633 MARTA S NERIS MELENDEZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   306634 MARTA S PACHECO PACHECO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   306635 MARTA S PAGAN AGUAYO                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                      URB VILLA CAROLINA 187‐7
   717573 MARTA S PIZARRO CALDERON                    CALLE‐519                                                                                                          CAROLINA             PR         00985
          MARTA S SANTIAGO
   717574 MALDONADO                                   HC 01 BOX 1070O                                                                                                    ARECIBO              PR         00612
   306636 MARTA S SOTO RIVERA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   306637 MARTA S VAZQUEZ MERCADO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   306638 MARTA S. TORRES MELENDEZ                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   717577 MARTA SANCHEZ MARTINEZ                      URB VILLAS DEL CAFETAL II   P 27 CALLE ROBISTA                                                                     YAUCO                PR         00698
   306639 MARTA SANCHEZ QUIJANO                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  717579 MARTA SANCHEZ VALDES                         CUIDAD UNIVERSITARIA   D 7 CALLE CANARIO                                                                    GUAYAMA              PR         00784
  306640 MARTA SANJURJO                               REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  306641 MARTA SANTANA DELGADO                        REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                                             MM13 PLAZA 28 URB MONTE
   717580 MARTA SANTIAGO                              MONTE CARLO            CLARO                                                                                BAYAMON              PR         00961
   717581 MARTA SANTIAGO ACEVEDO                      HC 1 BOX 4801                                                                                               SABANA HOYOS         PR         00688
                                                                             MM13 PLAZA 28 URB MONTE
   717582 MARTA SANTIAGO GUZMAN     URB MONTE CARLO                          CLARO                                                                                BAYAMON              PR         00961
   717583 MARTA SANTIAGO MATOS      5155 VILLAGE GREEN                                                                                                            SAN ANTONIO          TX         0078218
   717584 MARTA SANTIAGO MERCADO    URB SAN JOSE                             351 VILLALBA                                                                         SAN JUAN             PR         00923
                                    URB. SAN IGNACIO 1710 CALLE
   717209 MARTA SEGARRA LARRACUENTE SAN EST                                  EBAN                                                                                 SAN JUAN             PR         00927
   717586 MARTA SERRANO             PO BOX 8476                                                                                                                   SAN JUAN             PR         00910‐8476
   717587 MARTA SIERRA GALINDEZ     95 BO GUAYANEY                                                                                                                MANATI               PR         00674
   717588 MARTA SILVESTRY PAGAN     EMBALSE SAN JOSE                         15 CALLE ALOZAINA                                                                    SAN JUAN             PR         00923
   717589 MARTA SOLA CENTENO        URB LA CUMBRE                            497 E POL SUITE 317                                                                  SAN JUAN             PR         00926
   717590 MARTA SOLIS RIVERA        PO BOX 193126                                                                                                                 SAN JUAN             PR         00919
          MARTA SONIA RODRIGUEZ
   717591 HIRALDO                   RESIDENCIAL FELIPE S OSORIO              EDIF 9 APT 42C                                                                       CAROLINA             PR         00985
   717592 MARTA SOTO HERNANDEZ      URB. GLENVIEW GARDENS                    AR‐17 CALLE W‐22                                                                     PONCE                PR         00731
   717595 MARTA T MEAUX PEREDA      URB EL PILAR                             112 CALLE SAN TOMAS                                                                  SAN JUAN             PR         00926
   306644 Marta T Rey Cacho         REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   717596 MARTA T SOBRINO RIVAS     ALTAMESA                                 1398 CALLE SAN GREGORIO                                                              SAN JUAN             PR         00921
          MARTA TOLEDO GONZALEZ /
   717597 JOSE R RIVERA             HC 3 BOX 13944                                                                                                                UTUADO               PR         00641‐9731
   306646 MARTA TORRES              REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                                             613 CALLE FRANCISCO
   717600 MARTA TORRES CATERING                       VILLA PRADES           CASALDUC                                                                             SAN JUAN             PR         00924
   306647 MARTA TORRES COLON                          REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   717601 MARTA TORRES MENDEZ                         HC 02 BOX 14177                                                                                             ARECIBO              PR         00612
   306648 MARTA TORRES ORTIZ                          REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   306649 MARTA TORRES RODRIGUEZ                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   306650 MARTA TORRES TORRES                         REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   717604 MARTA TORRES VAZQUEZ                        PO BOX 76                                                                                                   GUAYAMA              PR         00785
   306651 MARTA TRINIDAD COTTO                        REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   306652 MARTA UBILES ORTIZ                          REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   717605 MARTA V AYALA ORTIZ                         HC 02 BOX 8873                                                                                              CIALES               PR         00638‐9764
   306653 MARTA V TORRES SANTOS                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARTA VARGAS/DBA BALLET
   717608 FOLKLORICO PONCE                            URB VILLA DEL CARMEN   2256 CALLE TURIN                                                                     PONCE                PR         00716‐2215
   717609 MARTA VAZQUEZ CONDE                         HC 1 BOX 5044                                                                                               NAGUABO              PR         00718
   306654 MARTA VAZQUEZ MERCADO                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   306655 MARTA VAZQUEZ RAMIREZ                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   717611 MARTA VEGA ADORNO                           P O BOX 811                                                                                                 LUQUILLO             PR         00773
   717612 MARTA VEGA FELICIANO                        BO PALOMAS             20 CALLE A                                                                           YAUCO                PR         00698
   717613 MARTA VEGA GARCIA                           PO BOX 470                                                                                                  PATILLAS             PR         00723
   306657 MARTA VELEZ CORNIER                         REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   717618 MARTA VERA RAMIREZ                          URB VILLA CLEMENTINA   E 18 CALLE NUEVA                                                                     GUAYNABO             PR         00569
   717619 MARTA VERDEJO FIGUEROA                      265 CALLE DELBREY                                                                                           SANTURCE             PR         00909

   717621 MARTA VILLAIZAN MONTALVO                    EXT ROOSEVELT          421 RAFAEL LAMAR                                                                     SAN JUAN             PR         00918
   717622 MARTA VILLANUEVA OSORIO                     URB COCO BEACH         212 CALLE MANATI                                                                     RIO GRNDE            PR         00745




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   306658 MARTA W BLANCO FERNANDEZ                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306659 MARTA Y MORALES RAMOS                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTA YADIRA FUENTES
   717623 GONZALEZ                                    BOX 2828                                                                                                         GUAYNABO            PR           00970

   717624 MARTA Z FERRER ANDINO                       URB QUINTAS DE CANOVANAS II   932 CALLE ZAFIRO                                                                   CANOVANAS           PR       00729
   717626 MARTA Z OCASIO SERRANO                      P O BOX 727                   BO DAMIAN ARRIBA                                                                   OROCOVIS            PR       00720
   717627 MARTA ZALDUONDO DUBNER                      COLLEGE PARK                  1798 B 1 CALLE ALCALA                                                              SAN JUAN            PR       00921‐4354
   717628 MARTA ZAVALA RIVERA                         COND CONCORDIA II             APTO 3‐C                                                                           SAN JUAN            PR       00924
   306660 MARTALINA LARA NARANJO                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED
   717630 MARTALINA SOTO REYES                        197 ISLOTE 2                                                                                                     ARECIBO             PR       00612
   306664 MARTE BONILLA RICARDO                       REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED REDACTED          REDACTED

   717631 MARTE D ORONOZ RODRIGUEZ CONDOMINIO SEAVIEW APT 2‐C                       1504 AVE ASHFORD                                                                   SAN JUAN            PR           00941
   306682 MARTE FIGUEROA, HECTOR     REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717632 MARTE OFFICES              PO BOX 508                                                                                                                        BAYAMON             PR           00960
   306707 MARTE RAMIREZ GLEASON      REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTE, ROBERTO
   306726 ENCARNACION                REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306730 MARTEL ELECTRONICS         23221 E. LA PALMA AVENUE                                                                                                          YORBA LINDA         CA           92887
   306732 MARTEL INC                 PO BOX 11421                                   CAPARRA HGTS STATION                                                               SAN JUAN            PR           00922‐1421
   306733 MARTEL INC.                AVE.PINERO 1582                                                                                                                   San Juan            PR           00922
   306739 MARTEL, INC                1584 AVE JESUS T. PINERO                       CAPARRA TERRACE                                                                    SAN JUAN            PR           00921
   306741 MARTEL, INC.               PO BOX 11421                                   CAPARRA TERRACE                                                                    SAN JUAN            PR           00922
   306746 MARTELL AYALA, ZOE         REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306815 MARTELL RUIZ, CARLOS A     REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTES REPOLLET MD,
   306873 PROVIDENCIO                REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTEX FARM SE/ WINDMAR PV
   306887 ENERGY INC                 PO BOX 3402                                                                                                                       CAROLINA            PR           00984‐3402
          MARTEX GENERAL
   717633 CONTRACTORS S E            PO BOX 3402                                                                                                                       CAROLINA            PR           00984

   717634 MARTH M VILLANUEVA BIRRIEL                  URB CUPEY GARDENS             F 17 CALLE 9                                                                       SAN JUAN            PR           00926
   306888 MARTHA A DAMACELA PEREZ                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   306889 MARTHA A VAZQUEZ ESCOBAR                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306890 MARTHA A ZEPEDA ESPINOSA                    REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306891 MARTHA ACOSTA                               REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717641 MARTHA ALFARO ALAS                          VILLA CAROLINA                115 A 17 CALLE 73 C                                                                CAROLINA            PR           00985
   306892 MARTHA B CARABALLO                          REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717642 MARTHA BAEZ RODRIGUEZ                       COND SIERRA ALTA              200 BOX 105                                                                        SAN JUAN            PR           00926‐0105
   717643 MARTHA BERMUDEZ COSME                       EXT JACAGUAX                  2 CALLE 1                                                                          JUANA DIAZ          PR           00795‐1507
   717644 MARTHA BORIA NEGRON                         JARD DEL VALENCIANO           D16 AVE LAS FLORES                                                                 JUNCOS              PR           00777
   306893 MARTHA BOUSON GARCIA                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306894 MARTHA CANON ABUCHAR                        REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306895 MARTHA CARABALLO VARGAS                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717648 MARTHA CINTRON                              HC 67 BOX 13328                                                                                                  BAYAMON             PR           00956
                                                      58 CALLE ANDRES ARUZ INT
   717650 MARTHA CRUZ GONZALEZ                        OESTE                                                                                                            CAROLINA            PR           00985
   306896 MARTHA D PLANA COLLAZO                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   306897 MARTHA DUPERRAY DREYER                      REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  717653 MARTHA E ALBIZU BARBOSA                      PO BOX 800708                                                                                                   COTO LAUREL        PR         00780‐0708
  717654 MARTHA E GARCIA BATISTA                      COND BAHIA A               APT 506 PDA 15                                                                       SAN JUAN           PR         00908
  306898 MARTHA E GARCIA PINEDA                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                                                                 1823 CALLE ALBERTO
   717655 MARTHA E GONZALEZ ERICK                     VILLA OLGA                 VALENZUELA                                                                           SAN JUAN           PR         00926

   306899 MARTHA E GONZALEZ QUINONEZ REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   306900 MARTHA E MARQUEZ ROSADO                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   306844 MARTHA E MENDEZ PEREZ                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   717656 MARTHA E MORALES ALICEA                     VILLAS DE LOMAS VERDES     EDIF 1 APT 303                                                                       SAN JUAN           PR         00926
   717657 MARTHA E REYES RODRIGUEZ                    P O BOX 1558                                                                                                    CAGUAS             PR         00726
   717658 MARTHA E ROSARIO ROSA                       URB SIERRA BAYAMON         L 1 CALLE VISTA ALTA                                                                 BAYAMON            PR         00957
   717659 MARTHA E VAZ CORTEZ                         PO BOX 14‐1464                                                                                                  ARECIBO            PR         00614
   717660 MARTHA E VELAZQUEZ ORTIZ                    RES ROBERTO CLEMENTE       EDIF B 4 APT 4 CALLE 2                                                               CAROLINA           PR         00985

   306901 MARTHA ELLIOT HEALTH CENTER 75 BICKFORD ST                                                                                                                  JAMAICA PLAINS     NJ         02130
                                      P.O.BOX 1541 HATO REY
   717662 MARTHA F MARTINEZ ESPADA    BRANCH                                                                                                                          SAN JUAN           PR         00919‐1541
   306902 MARTHA F WILLIAMS BATIZ     REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   717663 MARTHA FERNANDEZ AMOROS                     SAN JUAN PARK              EDIF I APTO 7 2                                                                      SAN JUAN           PR         00909
   306903 MARTHA FLORES ARROYO                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   717664 MARTHA G FIGUEROA                           URB EXT EL COMANDANTE      691 CALLE MEDITERRANEO                                                               CAROLINA           PR         00982
   717665 MARTHA GARCIA                               1769 EDUARDO CONDE                                                                                              SAN JUAN           PR         00912
   306905 MARTHA GARLAND VAZQUEZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   717667 MARTHA GONZALEZ SIMONET                     URB EL SENORIAL            2006 CALLE FRAY GRANADA                                                              SAN JUAN           PR         00926

   306907 MARTHA GRAULAU DE LA CERDA REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   306908 MARTHA GRISELLE MALDONADO REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   306909 MARTHA GUILLONT MUNIZ     REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   717669 MARTHA H COURTOIS CAMPOS                    12‐9 SEGOVIA TORRIMAR                                                                                           GUAYNABO           PR         00966
   306910 MARTHA H TORRES VIERA                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MARTHA HERNANDEZ
   306911 HERNANDEZ                                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   306912 MARTHA HOFFMANN NIEVES                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   717670 MARTHA I CARABALLO                          COND CONCORDIA GARDEN 11   APT 14L                                                                              SAN JUAN           PR         00924
   306913 MARTHA I COLON MUNIZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   306914 MARTHA I FERNANDEZ PEREZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   306915 MARTHA I GONZALEZ                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   717673 MARTHA I HERNANDEZ RIVERA                   BELLOMONTE                 C 36 CALLE 14                                                                        GUAYNABO           PR         00969
          MARTHA I PASCUAL
   306917 ANTONMMATEI                                 REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   717674 MARTHA I ROSADO                             P O BOX 11855                                                                                                   SAN JUAN           PR         00910‐4225
          MARTHA I. HERNANDEZ
   306918 VALENTIN                                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MARTHA I. MALDONADO
   306919 ROUBERT                                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   717676 MARTHA J DE JESUS COLLAZO                   PARK GARDENS               AI 7 ROSALEDA                                                                        SAN JUAN           PR         00926



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  306920 MARTHA J LEON COLON                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  306921 MARTHA J RAMOS VILLEGAS                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  717679 MARTHA L BAEZ SANTIAGO                       357 CALLE IGUALDAD                                                                                                    SAN JUAN            PR         00912
  306922 MARTHA L LOPEZ SEPULVEDA                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   306924 MARTHA L MERCADO CINTRON                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   306925 MARTHA L RAMOS MARTINEZ                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   306926 MARTHA L SIERRA HERNANDEZ                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   306927 MARTHA LINA RIVERA                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   306928 Martha Lozada Cruz                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   717681 MARTHA M COSME MELENDEZ                     URB LOS ANGELES             G H 48 CALLE D                                                                            CAROLINA            PR         00979
          MARTHA M DENIS Y ALFREDO
   306930 CARRERAS                                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717682 MARTHA M DIAZ CLAUDIO                       PO BOX 133                                                                                                            BOQUERON            PR         00622‐0133
   306931 MARTHA M ESCALET ORTIZ                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717683 MARTHA M GRILLASCA                          PO BOX 9883                                                                                                           CIDRA               PR         00739
   717684 MARTHA M MORALES                            PO BOX 129                                                                                                            ARROYO              PR         00714
   306932 MARTHA M MORENO LLANO                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   306933 MARTHA M MUNOZ MARTINEZ                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717686 MARTHA M RESTO APONTE                       BO GUAVATE SEC APONTE                              21623                                                              CAYEY               PR         00736
   717687 MARTHA M RUIZ RIVERA                        URB CAGUAS NORTE            G 9 CALLE FLORENCIA                                                                       CAGUAS              PR         00725
   306934 MARTHA MAGALLANES                           REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARTHA MALDONADO
   306936 GUTIERREZ                                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717688 MARTHA MALDONADO SILVA                      URB OCEAN PARK              2014 CALLE CACIQUE                                                                        SAN JUAN            PR         00912

   717689 MARTHA MARRERO DE RAMOS                     PO BOX 22448                                                                                                          SAN JUAN            PR         00931
   717690 MARTHA MARTINEZ APONTE                      HOGAR CRISTO REY APT 407                                                                                              CAGUAS              PR         00625
   306937 MARTHA MARTINEZ CLAUDIO                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   306938 MARTHA MARTINEZ LIRA                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   306939 MARTHA MELENDEZ GONZALEZ                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   306940 MARTHA MENDEZ FERNANDEZ                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   717692 MARTHA MONTALVO ROLDAN                      HC 2 BOX 9826                                                                                                         JUANA DIAZ          PR         00795‐9614
   306941 MARTHA NIEVES FELICIANO                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717694 MARTHA NORAT SERRANO                        HC 33 BOX 5818                                                                                                        DORADO              PR         00646
   717695 MARTHA OTERO COLON                          PO BOX 21635                                                                                                          SAN JUAN            PR         00928
   717696 MARTHA OTERO OTERO                          URB PUERTO NUEVO            777 CALLE 39                                                                              SAN JUAN            PR         00921
   306942 MARTHA PAGAN COTTO                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717698 MARTHA PASCUAL                              URB PRIMAVERA               54 PASEO DE LAS ORQUIDEAS                                                                 TRUJILLO ALTO       PR         00976
          MARTHA PATRICIA CANO
   717699 TALENO                                      PO BOX 11824                                                                                                          SAN JUAN            PR         00922‐1824

   717700 MARTHA PELLICCIA                            9 CALLE AMERICO RODRIGUEZ                                                                                             ADJUNTAS            PR         00601
   306943 MARTHA PEREZ SANTIAGO                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717701 MARTHA RAMIREZ RIVERA                       BOX 679                                                                                                               SAINT JUST          PR         00978
   717704 MARTHA RIVERA MANGUAL                       URB VALLE HUCARES           117 CALLE EL YAGRUMO                                                                      JUANA DIAZ          PR         00795
   306945 MARTHA RIVERA ROSA                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  717706 MARTHA RODRIGUEZ ALICEA                      BO ANCONES                      3 CALLEJON SIMPSON                                                                     SAN GERMAN        PR         00683
  717707 MARTHA RODRIGUEZ RIVERA                      6178 FLOR DE LOTO               SABANA SECA                                                                            TOA BAJA          PR         00952‐4475
  717708 MARTHA ROMAN CAMACHO                         COND HANNIA MARIA               EDIF 1 APT 1603                                                                        GUAYNABO          PR         00969
  717709 MARTHA ROMAN DAVID                           PO BOX 381                                                                                                             AGUIRRE           PR         00704
  717710 MARTHA ROMAN GONZALEZ                        HC 1 BOX 15512                                                                                                         CABO ROJO         PR         00623
  306947 MARTHA ROSA CRUZ                             REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  306948 MARTHA ROSA SOSA                             REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  717713 MARTHA RUEDA STEWART                         COND PORTOFINO                  BUZON 502 ‐ 5 PALM CIRCLE                                                              GUAYNABO          PR         00968
  717715 MARTHA S PAZ CHAVEZ                          TURABO GARDENS II               Z 6‐19 CALLE 15                                                                        CAGUAS            PR         00727

   717716 MARTHA SANCHEZ RODRIGUEZ                    VILLA CAROLINA                  9‐147 CALLE 415                                                                        CAROLINA          PR         00985
   717636 MARTHA SORTO                                URB SANTA JUANITA               E J 19 CALLE CIPRES                                                                    BAYAMON           PR         00956

   717717 MARTHA SOSA                                 352 AVE SAN CLAUDIO SUITE 349                                                                                          SAN JUAN          PR         00926

   717718 MARTHA SOTO GUZMAN                          BOX 7095 ABRA SAN FRANCISCO CALLE COLL                                                                                 ARECIBO           PR         00612
          MARTHA SYBARYS PIZARRO
   717719 COUVERTIER                                  RES LAGOS DE BLASINA            EDIF 6 APT 77                                                                          CAROLINA          PR         00985

   306950 MARTHA SYLVIA TORRES NUNEZ REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   717637 MARTHA TORRENCE            1712 E MCMILLAN ST                                                                                                                      CINCINNATI        OH         45206
   717720 MARTHA TORRES CASTILLO     CAPETILLO                                        1010 CALLE 5                                                                           SAN JUAN          PR         00925
   717721 MARTHA TORRES DE LEON      URB CAPARRA TERRACE                              1216 CALLE 25E                                                                         SAN JUAN          PR         00921
   717722 MARTHA TORRES DELGADO      HC 1 BOX 4287                                                                                                                           ADJUNTAS          PR         00601
   306952 MARTHA VARGAS GIBBS        REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   306954 MARTHA VAZQUEZ DE JESUS    REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   717724 MARTHA VAZQUEZ RAMIL       PO BOX 51606                                                                                                                            TOA BAJA          PR         00950
   717638 MARTHA VELAZQUEZ LOPEZ     ST JUST                                          225 CALLE 4                                                                            TRUJILLO ALTO     PR         00796
   306955 MARTHA VELEZ               REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   717639 MARTHA VIVONI FARAJE       URB LA ALMEDA                                    A 13 CALLE B                                                                           SAN JUAN          PR         00926
   717727 MARTHA ZABALA PADILLA      PARC MINILLAS                                    CARR 125                                                                               SAN GERMAN        PR         00683
   306956 MARTHE A SQUIRE            REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   306993 MARTI LON MD, MARIA D      REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   306997 MARTI LOPEZ, DAHIANA       REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   307025 MARTI PEREZ, DAMARIS       REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   307063 MARTI, ALBERTO             REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
          MARTI.FLORES.PRIETO&WACHTE
   717728 L                          PO BOX 2125                                                                                                                             SAN JUAN          PR         00922
          MARTIN & MARTIN DBA EXPRES
   307066 GRAPHIC                    CAPARRA TERRACE                                  1156 AVE JESUS T PINERO                                                                SAN JUAN          PR         00921
          MARTIN & MARTIN DBA EXPRES
   307067 GRAPHICS                   1156 AVE. JESUS T. PINERO                                                                                                               SAN JUAN          PR         00921
          Martin & Martin Express
   831476 Graphics                   HC 01 Box 4462                                                                                                                          Lares             PR         00669
   717730 MARTIN A AQUINO VARELA     HC 2 BOX 5239                                                                                                                           LARES             PR         00669
   717731 MARTIN A CARTAGENA         BOX 474                                                                                                                                 CAYEY             PR         00736
   717732 MARTIN A CRUZ RIVERA       URB LA MARINA                                    S14 CALLE I                                                                            CAROLINA          PR         00979
   307068 MARTIN A DE LEON MORALES   REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   307069 MARTIN A GONZALEZ ROVIRA   REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   717733 MARTIN A MCKENZIE          URB MONTE BRISA                                  M 8 CALLE H                                                                            FAJARDO           PR         00738
   307070 MARTIN A RAMOS OTERO       REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   307071 MARTIN A RAMOS ROSARIO     REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   307072 MARTIN A RIVERA            REDACTED                                         REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED



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  717735 MARTIN A SOSA TORRES                         MANSIONES C 10 BUZ 19                                                                                              SABANA GRANDE     PR         00637
  307073 MARTIN A SOTO PEREZ                          REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  717736 MARTIN A TREMBLAY                            COND LOS PINOS APT 3 G         EAST                                                                                CAROLINA          PR         00979
  306963 MARTIN AGOSTO TORRES                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  307053 MARTIN AGUILAR MARTINEZ                      REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         MARTIN ALVARADO HYDRAULIC
  307076 SERVICES                                     JARDINES COUNTRY CLUB          AP 11 CALLE 36                                                                      CAROLINA          PR         00983
  717738 MARTIN ALVARADO MORALES                      EL CORTIJO                     C 23 CALLE 6                                                                        BAYAMON           PR         00956
  307079 MARTIN ANSA ORTIZ                            REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  307081 MARTIN AQUINO ROBLES                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  307082 MARTIN ARACHE                                REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  717741 MARTIN ARCELAY SANTIAGO                      HC 3 BOX 9714                                                                                                      LARES             PR         00669
  717729 MARTIN AVILES COLON                          PO BOX 1329                                                                                                        LUQUILLO          PR         00773‐1329

   307084 MARTIN B ALDARONDO TORRES                   REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717743 MARTIN B B Q                                210 SAN FRANCISCO ST                                                                                               SAN JUAN          PR         00902
   717744 MARTIN B PERALTA JIMENEZ                    URB LOS ANGELES C 23 A         CALLE B                                                                             CAROLINA          PR         00979
   717745 MARTIN BONILLA RAMOS                        RES SABANA ABAJO               EDIF 8 APT 71                                                                       CAROLINA          PR         00983
   307088 MARTIN BORRERO IRIZARRY                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   717746 MARTIN BRACERO GONZALEZ                     BRISAS DEL ROSARIO RIO ABAJO   5004 CALLE PRINCIPAL                                                                VEGA BAJA         PR         00693
   717747 MARTIN BURGOS HUERTAS                       BO GUARAGUAO                   12 CAMINO LAS AMERICAS                                                              BAYAMON           PR         00959
   307089 MARTIN BURGOS MONTANES                      REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   307090 MARTIN C ORDUNA PENA                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   307091 MARTIN CABRERA RIOS                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   717748 MARTIN CAMACHO CAMACHO                      SOLAR 59 PPOLE OJEA                                                                                                CABO ROJO         PR         00623

   307092 MARTIN CAMACHO VELAZQUEZ                    REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   307094 MARTIN CARABALLO ACEVEDO                    REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   307097 MARTIN CASTRO PADILLA                       REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717750 MARTIN CENTENO PEREZ                        PO BOX 1354                                                                                                        GUAYNABO          PR         00970
   717751 MARTIN COLLAZO JIMENEZ                      RR 3 BOX 9405                                                                                                      TOA ALTA          PR         00953
   717752 MARTIN COLON RIVERA                         URB CAGUAX                     E 26 AVE LUIS MARIN                                                                 CAGUAS            PR         00725
   717755 MARTIN CRUZ REYES                           HC 03 BOX 7606                                                                                                     GUAYNABO          PR         00971
   307101 MARTIN CRUZ VAZQUEZ                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717756 MARTIN CURET                                HC 1 BOX 4312                                                                                                      ARROYO            PR         00714
   307102 MARTIN DE JESUS PENA                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717758 MARTIN DE LA CRUZ TIRADO                    URB VILLA FONTANA              LI 28 VIA 23                                                                        CAROLINA          PR         00983

   307103 MARTIN DE LA ROSA SANCHEZ                   REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARTIN DE SANTIAGO
   307104 MARTINEZ                                    REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   307105 MARTIN DENIS BURGOS                         REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717759 MARTIN E ALBARRAN LOPEZ                     URB FRONTERAS BAYAMON          103 JULIO ALVARADO                                                                  BAYAMON           PR         00961‐2912

   717761 MARTIN E CASIANO RODRIGUEZ JARDINES DEL CARIBE                             I 1 CALLE ROBLES                                                                    MAYAGUEZ          PR         00680

   717762 MARTIN E ROMERO MARTINEZ                    BOX 7428                                                                                                           SAN JUAN          PR         00918
   307111 MARTIN E SEPULVEDA SOTO                     REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   307112 MARTIN E SOUTO ACERO                        REDACTED                       REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   717764 MARTIN E.SEGAL COMPANY                      1 PARK AVE                                                                                                         NEW YORK          NY         10016



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   307113 MARTIN ECHEVARRIA MENDOZA REDACTED                                        REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717765 MARTIN ESTRADA RAMOS      HC 37 BOX 8662                                                                                                                        GUANICA             PR           00653‐9712
   717766 MARTIN F ORTIZ            HC 4 BOX 48937                                                                                                                        CAGUAS              PR           00725

   307114 MARTIN FALCON MALDONADO                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717767 MARTIN FERRAO                               PO BOX 7868                                                                                                         SAN JUAN            PR           00916‐7868
   717768 MARTIN FRESNEDA MOZO                        URB ALTO APOLO                2126 CALLE LERNA                                                                      GUAYNABO            PR           00969
   307119 MARTIN FUENTES RODRIGUEZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   307121 MARTIN G DELFIN                             REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   307122 MARTIN G HERREDIA MENDEZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   307123 MARTIN G. GONZALEZ VELEZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTIN GARCIA DBA MAC
   717770 AUDIO RENTAL                                VILLA CAPRI                   F 13 CALLE TURIN                                                                      SAN JUAN            PR           00924
                                                      1402 PILLOT GARCIA SANTIAGO
   717771 MARTIN GARCIA RIVERA                        IGLESIA                                                                                                             SAN JUAN            PR           00921‐4230
          MARTIN GAVOIER DBA SATO
   717772 CARTOONS STUDIO                             UNIVERSITY GARDENS            195 CALLE SORBONA                                                                     SAN JUAN            PR           00927
   717773 MARTIN GONZALES VAZQUEZ                     PO BOX 591                                                                                                          MERCEDITA           PR           00715‐0591
   307130 MARTIN GONZALEZ                             REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTIN GONZALEZ
   307131 MALDONADO                                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   307132 MARTIN GONZALEZ ORTIZ                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   307135 MARTIN HADDOCK                              REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717777 MARTIN HERNANDEZ ROSSY                      URB. PRADERAS DEL SUR         620 CALLE ALMENDROS                                                                   SANTA ISABEL        PR           00757
          MARTIN I GORROCHATEGUI
   717778 VIGOREAUX                                   CAPARRA HILLS                 F 19 CALLE EUCALIPTO                                                                  GUAYNABO            PR           00968
          MARTIN I. GORROCHATEGUI
   307141 VIGOREAUX                                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717779 MARTIN J CANDELARIO MULERO BO RIO PLANTATION                              9 CALLE 2A OESTE                                                                      BAYAMON             PR           00961

   717780 MARTIN J CANDELARIO SANTOS                  BDA RIO PLANTATION            11 CALLE 5A OESTE                                                                     BAYAMON             PR           00961
   307144 MARTIN J STUART COLON                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717781 MARTIN JESUS ORTIZ SANTIAGO CARR. 149 R5 14K HS 2                         BRRIO SEMIL TROZAS                                                                    VILLALBA            PR           00766

   307145 MARTIN JIMENEZ MD, RAFAEL E REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717782 MARTIN JOSE CHICON VAZQUEZ URB VILLA CAROLINA                             84 12 CALLE 88                                                                        CAROLINA            PR           00985

   307146 MARTIN L. SANDOVAL TORRES    REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   307148 MARTIN LIND LOPEZ            REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717786 MARTIN LOPEZ CRUZ            HC 02 BOX 6605                                                                                                                     YABUCOA             PR           00767
   307149 MARTIN LOPEZ ORTIZ           REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717787 MARTIN LOPEZ SANTIAGO        VILLA HUMACAO                                E 37 CALLE 14                                                                         HUMACAO             PR           00791
   717788 MARTIN LOPEZ ZAYAS           URB VALENCIA GARDENS Y 21                    CALLE 1                                                                               BAYAMON             PR           00959
   307150 MARTIN LORENZO LORENZO       REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717789 MARTIN LUCENA RAMOS          PO BOX 472                                                                                                                         GUANICA             PR           00653
          MARTIN LUTHER KING JR HEALTH                                              1650 GRAND CONCOURSE 2ND
   307152 CTR                          UNITED RECORDS SOLUTIONS                     FLOOR                                                                                 BRONX               NY           10457
   307153 MARTIN M RAFAELLE AYALA      REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  307156 MARTIN MARQUEZ VARGAS                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  717790 MARTIN MARRERO BERRIOS                       PO BOX 68                                                                                                     OROCOVIS             PR         00720
  717791 MARTIN MARRERO CARRER                        HC 02 BOX 5800                                                                                                MOROVIS              PR         00687
  307157 MARTIN MARTINEZ RIVERA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  307159 MARTIN MARTINO BERIO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  307160 MARTIN MARXUACH TORROS                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  307161 MARTIN MCINNIS LOPEZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  717792 MARTIN MEDINA AGOSTO                         URB JARDINES DE LA FUENTE   166 C/ WASHINGTON                                                                 TOA ALTA             PR         00953

   717793 MARTIN MEDINA MONTALVO    BO HIGUILLAR SECTOR ARENA 1                   621 CALLE 21                                                                      DORADO               PR         00646
   307162 MARTIN MEDINA RAMOS       REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   307163 MARTIN MELENDEZ BRUNO     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   307167 MARTIN MERCADO RIVERA     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARTIN MONTANEZ / DOMINGO
   307169 MONTANEZ                  REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   307170 MARTIN MONTES DEL VALLE   REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   717796 MARTIN NAVARRO FIGUEROA   J 5 JARDINES DEL MAMEY                                                                                                          PATILLAS             PR         00723
   307175 MARTIN NEVARES            REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   717797 MARTIN O FRANCO BERMUDEZ                    BO N ARENAS                 BZN 5157                                                                          CIDRA                PR         00739
   307180 MARTIN O VIDAL NEGRON                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   307181 MARTIN OCASIO ALICEA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   307185 MARTIN ORTIZ CAMACHO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   717798 MARTIN ORTIZ ECHEVARRIA                     7440 AVE A RAMOS CALERO                                                                                       ISABELA              PR         00662‐4000
   717799 MARTIN ORTIZ ROLON                          204 AVE FELIX RIOS                                                                                            AIBONITO             PR         00705
   307189 MARTIN ORTIZ, JOSE C                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   307193 MARTIN OTERO SANDOVAL                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   717801 MARTIN PAGAN TORRES                         HC BOX 27‐158                                                                                                 VEGA BAJA            PR         00692
   717802 MARTIN PAGANI CORTELETTI                    HC 1 BOX 20724                                                                                                CAGUAS               PR         00725
   307195 MARTIN PEREZ GARCIA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARTIN PICHARDO /LOS
   717803 PIRATAS VILLA SOFIA                         BOX 1142                                                                                                      SAN SEBASTIAN        PR         00685
   717804 MARTIN PRINTING                             P O BOX 362934                                                                                                SAN JUAN             PR         00936 2934
                                                      COND MANS GARDEN HILL
   717805 MARTIN R CORREA CERRO                       SOUTH                                                                                                         GUAYNABO             PR         00966

   717807 MARTIN R NIEVES RODRIGUEZ                   URB EL ALAMO                B 11 CALLE VERACRUZ                                                               GUAYNABO             PR         00969
   307196 MARTIN R RIVERA PACHECO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   717808 MARTIN RAMOS AQUINO                         P O BOX 15700                                                                                                 GURADO               PR         00778
   307197 MARTIN RAMOS JUNQUERA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   307199 MARTIN REYES MERCED                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   307201 MARTIN RIVERA COLON                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   307202 MARTIN RIVERA DELGADO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   307203 MARTIN RIVERA FERRAO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   307204 MARTIN RIVERA RIVERA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARTIN RIVERA ROCHE Y
   307205 ANGELA M FERNANDEZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   307206 MARTIN RIVERA ROSA                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   307208 MARTIN RIVERA SANTIAGO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MARTIN RODRIGUEZ /
   717811 CONSUELO RIVERA                             CONDADO MODERNO             Q 14 CALLE 16                                                                     CAGUAS               PR         00725
          MARTIN RODRIGUEZ
   717812 CARRASQUILLO                                HC 3 BOX 13159                                                                                                CAROLINA             PR         00987



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  717813 MARTIN RODRIGUEZ COLON                       PARQUES DEL RIO         C 15 CALLE DAGUAO                                                                      CAGUAS              PR           00725

   307211 MARTIN RODRIGUEZ DE JESUS                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   717814 MARTIN RODRIGUEZ OLIVERAS                   P O BOX 561208                                                                                                 GUAYANILLA          PR           00656‐3208

   717815 MARTIN RODRIGUEZ SANTIAGO                   COND LA RADA 1020       AVE ASHFORD APT 404                                                                    SAN JUAN            PR           00907
   307218 MARTIN ROLDAN COLON                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   717817 MARTIN ROSA ORTIZ                           TERRANOVA               D 25 CALLE 2                                                                           GUAYNABO            PR           00969
   307221 MARTIN ROSAS ROMAN                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   307223 MARTIN RUIZ DEL TORO                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   307224 MARTIN RUIZ ROSADO                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   307225 MARTIN SAEZ PEREZ                           REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   307226 MARTIN SALAMAN IGLESIAS                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   307228 MARTIN SANCHEZ BUSCAMPER                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   717818 MARTIN SANCHEZ CUEVAS                       PO BOX 245                                                                                                     SAN JUST            PR           00978
   307229 MARTIN SANCHEZ REYES                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   717819 MARTIN SANTIAGO ECHEVARRIA HC 01 BOX 3162                                                                                                                  UTUADDO             PR           00641

   307231 MARTIN SANTIAGO MAYSONET                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   717820 MARTIN SANTIAGO MELENDEZ                    JARDINES DE CAGUAS      B 58 CALLE CALLE J LOZADA                                                              CAGUAS              PR           00727‐2573
   717821 MARTIN SANTIAGO ROMAN                       PO BOX 1774                                                                                                    VEGA ALTA           PR           00692
   307232 MARTIN SANTIAGO TORRES                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   717822 MARTIN SANTOS COTTO                         HC 02 BOX 6140                                                                                                 BARRANQUITAS        PR           00794

   717823 MARTIN SHELL SERVICE CENTER                 PO BOX 2081                                                                                                    ISABELA                          00662
   307234 MARTIN SOTERO IRIZARRY                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   717824 MARTIN SOTO RODRIGUEZ                       URB VIRGINIA VALLEY     618 CALLE VALLE VERDE                                                                  JUNCOS              PR           00777
   307236 MARTIN TELLO RAMOS                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   717825 MARTIN TORRES ROSADO                        BO TORRECILLAS          94 CALLE JUAN E RIVERA                                                                 MOROVIS             PR           00687
   307242 MARTIN VALE                                 REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   717828 MARTIN VALLE ORTIZ                          P O BOX 7193                                                                                                   MAYAGUEZ            PR           00680
   307243 MARTIN VALLE TORRES                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   717829 MARTIN VARGAS DE LA ROSA                    PO BOX 792                                                                                                     VEGA ALTA           PR           00692
   307246 MARTIN VAZQUEZ RIVERA                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   717830 MARTIN VAZQUEZ VAZQUEZ                      BO CEDRO ARRIBA         HC 71 BOX 4119                                                                         NARANJITO           PR           00719
   307248 MARTIN VEGA FLORES                          REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   717831 MARTIN VELEZ SILVESTRE                      URB. VILLA CAROLINA     1B 4 61 CALLE 518                                                                      CAROLINA            PR           00985
   717833 MARTIN VILLALOBOS                           P O BOX 21365                                                                                                  SAN JUAN            PR           00928
          MARTIN WEAVER
   717834 CONSERVATION                                28 SHEAHAN CRESCENT                                                                                            NEPEAN              ON           K2H 8M02       Canada

   307252 MARTIN XAVIER SIERRA TORRES                 REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   702518 MARTIN, LUIS GARRATON                       147 CRISANTEMO STREET                                                                                          SAN JUAN            PR           00927
   717835 MARTINA ALVARADO                            COM ARCADIO MALDONADO   SOLAR 133                                                                              SALINAS             PR           00751
   307257 MARTINA BONILLA                             REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   717836 MARTINA CABAN MERCADO &                     NELSON VELEZ LUGO       BO PEDERNALES               CARR 103 KM.9.0                                            CABO ROJO           PR           00623
   717837 MARTINA CINTRON NIEVES                      HC 73 BOX 4675                                                                                                 NARANJITO           PR           00719‐9607




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                                                      URB JARDINES DE COUNTRY
   717838 MARTINA CORDERO SANTANA                     CLUB                          BL 6 CALLE 116                                                                           CAROLINA            PR           00983‐0019
   307258 MARTINA CORREA GOMEZ                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717839 MARTINA COSME HERNANDEZ                     VILLA CADIZ OPERLAND          132 CALLE CLEO SAN JOSE                                                                  SAN JUAN            PR           00923
   307259 MARTINA CRUZ MALAVE                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717841 MARTINA GONZALEZ ORTA                       SICOSOCIAL TRUJILLO ALTO                                                                                               Hato Rey            PR           009360000
   307261 MARTINA LOPEZ JIMENEZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   307262 MARTINA LOPEZ PACHECO                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717843 MARTINA MARTINEZ LABOY                      HC 2 BOX 21988                                                                                                         LAJAS               PR           00667
   717844 MARTINA MEDINA CORTES                       217 ESTANCIAS PARAISO                                                                                                  ISABELA             PR           00662
   717845 MARTINA MOJICA DIAZ                         SAN JOSE                      141 CALLE 14                                                                             TOA BAJA            PR           00956
   307263 MARTINA MORA ADAMES                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717846 MARTINA MORALES IRAOLA                      PO BOX 743                                                                                                             ARROYO              PR           00714
   717847 MARTINA ORTIZ RIVERA                        BOX 9144                                                                                                               CANOVANAS           PR           00729
   717848 MARTINA ORTIZ RODRIGUEZ                     R R 02 BOX 6860                                                                                                        TOA ALTA            PR           00953
   307264 MARTINA QUILES BERNANRD                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717849 MARTINA RIVERA                              JAJOME ALTO                   CARR 15 KM 16 6                                                                          CAYEY               PR           00736
   717850 MARTINA RIVERA OLIVERA                      HC 73 BOX 5164                                                                                                         NARANJITO           PR           00719
   717851 MARTINA RODRIGUEZ                           URB MARISOL                   B 1 CALLE 4                                                                              ARECIBO             PR           00612
   717852 MARTINA ROMAN ROMAN                         CARR 119 INT RURAL 456 K 14                                                                                            CAMUY               PR           00627
   307265 MARTINA ROQUE DELGADO                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   307266 MARTINA ROSA MORALES                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717855 MARTINA SUAREZ GONZALEZ                     BO LAS MAREAS                 CALLE 9                                                                                  SALINAS             PR           00751
          MARTINA VELAZQUEZ
   717856 RODRIGUEZ                                   MIRADOR DE BAIROA             2 T 31 CALLE 24                                                                          CAGUAS              PR           00725
   307267 MARTINA VIDRO VEGA                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   307268 MARTINA ZABALA DE VEGA                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINAL LEASING COMPANY
   307269 INC                                         309 AVENUE PONCE DE LEON
                                                                STE 7                                                                                                        SAN JUAN            PR           00901‐2209
                                                                701 AVE PONCE DE LEON PMB
   770735 MARTINAL MANAGEMENT CORP EDIF CENTRO DE SEGUROS STE 1 309                                                                                                          SAN JUAN            PR           00907‐3256

          MARTINAL MANAGEMENT                         701 PONCE DE LEON AVE. SUITE
   770736 CORPORATION                                 309 CENTRO DE SEGUROS BUIL                                                                                             SAN JUAN            PR           00907‐0000
                                                      SUITE 100 C.DE SEGUROS
   717857 MARTINAL PROPERTY CORP.                     BUILDIN                      701 AVE PONCE DE LEON                                                                     SAN JUAN            PR           00907
                                                      EDIF CENTRO DE SEGUROS PMB
   307270 MARTINAL REAL ESTATE                        309                          7001 AVE PONCE DE LEON STE 1                                                              SAN JUAN            PR           00907
   717858 MARTINAL S E                                701 AVE PONCE DE LEON        SUITE 309                                                                                 SAN JUAN            PR           00907

   717859 MARTINEAU BAY RESORT & SPA HC 1 BOX 9368                                                                                                                           VIEQUES             PR           00765

   717860 MARTINEAU CAR RENTAL CO INC HC 01 BOX 9363                                                                                                                         VIEQUES             PR           00765‐9800
                                                                                    PMB‐133 1353 AVE. LUIS
  1420457 MARTINES LOPEZ, OLVIA                       YARLENE JIMENEZ ROSARIO       VIGOREAUZ                                                                                GUAYNABO            PR           00966‐2700
  1256668 MARTINEZ & SOTO INC                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   307279 MARTINEZ & SOTO INC.                        PO BOX 141623                                                                                                          ARECIBO             PR           00614
   307298 MARTINEZ ACEVEDO, LUIS                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   307301 MARTINEZ ACEVEDO, LUIS O                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   307302 MARTINEZ ACEVEDO, MADELIN                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   307345 MARTINEZ ADORNO, MARTHA C REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   307349 MARTINEZ ADORNO, XIOMARA                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   307359 MARTINEZ AGOSTO, JENNIFER L. REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   307374 MARTINEZ AJA MD, JORGE C     REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   307391 MARTINEZ ALBI, JOSEPH        REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   307438 MARTINEZ ALMESTICA, YINA J.                 REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

  1420458 MARTINEZ ALSINA, LUIS                       CAROLENE FONTANET SMITH        166 AVE DE LA CONSTITUCIÓN                                                              SAN JUAN             PR           00901
          MARTINEZ ALVAREZ Y
   307482 MENENDEZ                                    REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                     REPARTO ALHAMBRA A‐11 CALLE
  1420459 MARTINEZ ALVAREZ, ANGEL L.  JULIO GIL DE LA MADRID                         GRANADA                                                                                 BAYAMÓN              PR           00957
                                      SR. FRANCISCO MARTÍNEZ                         300 COND. EL MILENIO CALLE
  1420460 MARTÍNEZ ÁLVAREZ, FRANCISCO ÁLVAREZ                                        220 APT. 904                                                                            CAROLINA             PR           00982
          MARTINEZ APONTE MD,
   307529 RAYMOND                     REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
  1420461 MARTÍNEZ APONTE, EDGAR      EDGAR A MARTINEZ APONTE                        POBOX 1792                                                                              ARECIBO              PR           00613‐1792
   717861 MARTINEZ ARIAS              P O BOX 364268                                                                                                                         SAN JUAN             PR           00936 4268
   717862 MARTINEZ ARIAS & CO. INC.   PO BOX 9374                                                                                                                            SAN JUAN             PR           00908

   307596 MARTINEZ ARROYO, LOURDES                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   307614 MARTINEZ ARZUAGA, CORAIMA REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   307617 MARTINEZ AUTO CLINIC      P.O. BOX 1102                                                                                                                            ANASCO               PR           00610
   717864 MARTINEZ AUTO PARTS       HC 2 BOX 48161                                                                                                                           VEGA BAJA            PR           00693

   717865 MARTINEZ AUTO TECH                          #729 PDA.23 CALLE DEL PARQUE                                                                                           SANTURCE             PR           00910
          MARTINEZ AUTOMATIC
   717866 TRANSMISSION                                P O BOX 1427                                                                                                           ISABELA              PR           00662
   307675 MARTINEZ BAEZ, MARIA D                      REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   307709 MARTINEZ BARROSO MD, JOSE R REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARTINEZ CAMACHO MD,
   307914 EDANNYS                     REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARTINEZ CAÑAVATE MD,
   307956 FRANCISCO                   REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARTINEZ CARRASQUILLO MD,
   308020 JORGE                       REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                     1135 ITURREGUI PLAZA SUITE
  1420462 MARTINEZ CARRASQUILLO, OLGA LUZ I. BURGOS SANTOS                           206 B                                                                                   SAN JUAN             PR           00924
   308033 MARTINEZ CARRILLO, MAYRA    REDACTED                                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   308090 MARTINEZ CENTENO, EDITH M                   REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                     CHIRINO OFFICE PLAZA1802
  1420463 MARTÍNEZ CHAVEZ, GIANCARLO JOSÉ RIOS RIOS                                  CARRETERA 8838 SUITE 307                                                                SAN JUAN             PR           00926‐2745

   308112 MARTINEZ CHINEA MD, MIGUEL REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   308194 MARTINEZ COLON MD, ERIC    REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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          MARTINEZ COLON MD, MANUEL
   308195 J                         REDACTED                                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420464 MARTÍNEZ COLÓN, ANDRÉS I. JUAN R. DÁVILA DÍAZ                            CALLE MAYAGUEZ                                                                             HATO REY            PR           00917
   308237 MARTINEZ COLON, GLORIA E  REDACTED                                       REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   308287 MARTINEZ COLON, MARILYN Y.                  REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   METRO OFFICE PARK‐SPRINT 18
  1420465 MARTINEZ CORDERO, JOSE E.                   AICZA E. PIÑEIRO MORALES     LOTE CALLE 1 STE 400                                                                       GUAYNABO            PR           00968
   308378 MARTINEZ CORTES, EUNICE                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1422918 MARTINEZ CRESPO, JUAN C.                    JUAN C. MARTÍNEZ CRESPO      INSTITUCIÓN FASE III 3793       PONCE BY PASS M‐NARANJA‐224                                PONCE               PR           00728

  1422919 MARTINEZ CRESPO, JUAN C.                    JUAN C. MARTÍNEZ CRESPO      INSTITUCIÓN FASE III 3793       PONCE BY PASS M‐NARANJA‐224                                PONCE               PR           00728
          MARTINEZ CRUZ MD,
   308454 KIANIVETTE                                  REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   308506 MARTINEZ CRUZ, JOSEFINA                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420466 MARTÍNEZ CRUZ, MARÍA D.                     IVONNE M. GARCIA TORRES      PO BOX 7608                                                                                PONCE               PR           00732‐7608
  1420467 MARTÍNEZ CRUZ, PEDRO J.                     ROGER A. LEYBA RODRIGUEZ     PO BOX 873                                                                                 HORMIQUEROS         PR           00660‐0873
          MARTINEZ CRUZADO ,
   308566 MARGARITA M                                 REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   308574 MARTINEZ CUEVAS, HERIBERTO                  REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          Martinez Custodio Law Office
   308581 PSC                                         PO BOX 599                                                                                                              UTUADO              PR           00641

   308619 MARTINEZ DE HUERTAS, ROSA M REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINEZ DE JESUS MD,
   308620 GUILLERMO                   REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   308678 MARTINEZ DE, MARIA R.       REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINEZ DEL TORO MD,
   308686 MANUEL                      REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   308741 MARTINEZ DIAZ MD, ANNETTE                   REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   308742 MARTINEZ DIAZ MD, ETANISLAO                 REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   308743 MARTINEZ DIAZ MD, FRANCES                   REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   308767 MARTINEZ DIAZ, FELICITA                     REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   308798 MARTINEZ DIAZ, ORLANDO                      REDACTED                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   308833 MARTINEZ DURAN MD, RICARDO REDACTED                                      REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINEZ ECHEVARRIA & ELIZA
   308839 RIVERA PSC                  CENTRO DE SEGUROS BLDG                       701 AVE PONCE DE LEON STE 413                                                              SAN JUAN            PR           00907
          MARTINEZ ECHEVARRIA,
  1420468 EDUARADO H                  ENRIQUE MENDOZA MENDEZ                       PO BOX 190404                                                                              SAN JUAN            PR           00919‐0404
          MARTINEZ EQUIPMENT SALES &
   308851 RENTAL                      URB FLAMBOYANES                              41 CALLE 3                                                                                 ANASCO              PR           00610‐2102
          MARTINEZ FERNANDEZ MD,
   308917 NITZA                       REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   308941 MARTINEZ FIGUEROA MD, ANNIE REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   308965 MARTINEZ FIGUEROA, IVETTE   REDACTED                                     REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1420469 MARTÍNEZ FIGUEROA, JOSÉ G.                  MIGUEL A. RODRIGUEZ SUAREZ   PO BOX 4678                                                                                CAROLINA            PR           00984



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          MARTÍNEZ FINALE, ROLANDO Y
  1420470 OTROS                                       CARLOS AQUINO             PO 363928                                                                             SAN JUAN            PR           00936‐3928
          MARTINEZ FIQUEROA,
   309003 MILAGROS                                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINEZ FORNARIS MD,
   309050 HECTOR                                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   309052 MARTINEZ FORTIER MD, FELIX                  REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                MANSIONES DE SAN MARTIN
  1420471 MARTINEZ GALAN, DAMARIS    FERNANDO SANTIAGO ORTIZ                    SUITE 17                                                                              SAN JUAN            PR           00924‐4586
          MARTINEZ GARCIA MD, RONALD
   309100 L                          REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420472 MARTINEZ GARCIA, MILTON    MANUEL REYES GONZÁLEZ                      PO BOX 8614                                                                           SAN JUAN            PR           00910‐0614

   717867 MARTINEZ GIRAUD MANUEL B.                   PO BOX 183                                                                                                      ARECIBO             PR           00613
   309224 MARTINEZ GOMEZ, ROSA                        REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINEZ GONZALEZ MD,
   309232 MANUEL                                      REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420473 MARTINEZ GONZALEZ, ANDY                     FERNANDO CRUZ TOLLINCHE   PO BOX 362683                                                                         SAN JUAN            PR           00936‐2683

   309342 MARTINEZ GONZALEZ, MARIA E. REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   309361 MARTINEZ GONZALEZ, OLIVIA   REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   309417 MARTINEZ GUILLEN, LUZ O     REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   309589 MARTINEZ INSERNI MD, BRENDA REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   309595 MARTINEZ IRIZARRY, CARLOS   REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717868 MARTINEZ IRON WORK          PO BOX 376                                                                                                                      VILLALBA            PR           00766
   309621 MARTINEZ JAVIER GONZALEZ    REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   309658 MARTINEZ JOHN, E            REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420474 MARTINEZ LABOY, CARLOS      ANGEL LUIS AVILES MERCADO                 PO BOX 1254                                                                           LAJAS               PR           00667
   309692 MARTINEZ LABOY, MARIA T     REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   309713 MARTINEZ LAO, MILVER O.     REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINEZ LEBRON MD,
   309731 HERIBERTO                   REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   309771 MARTINEZ LIQUET, SILVIA D   REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                CALLE ESCORIAL 382 URB.
  1420475 MARTINEZ LOPEZ, KAREN       MYRMARIE LABORDE‐VEGA                     CAPARRA HEIGHTS                                                                       SAN JUAN            PR           00920
  1420476 MARTINEZ LOPEZ, OLIVIA M.   GENOVEVA VALENTÍN SOTO                    PO BOX 13695                                                                          SAN JUAN            PR           00908‐3695
          MARTINEZ LORENZO MD, ELFREN
   309891 C                           REDACTED                                  REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINEZ LOZADO, FRANCISCO                                            PLAZA ESCORIAL CINEMA LOCAL
  1420477 M.                          MARCOS RIVERA ORTIZ                       5829 SUITE 207                                                                        CAROLINA            PR           00987
   309931 MARTINEZ LUGO MD, ALVIN     REDACTED                                  REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   309932 MARTINEZ LUGO MD, ESTEBAN REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   309945 MARTINEZ LUGO, IRMARIS    REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   309948 MARTINEZ LUGO, JULIA      REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTÍNEZ MACHICOTE,       SR. GUSTAVO MARTÍNEZ
  1420478 GUSTAVO A.                MACHIOTE                                    PO BOX 1078                                                                           YABUCOA             PR           00767
          MARTINEZ MALDONADO MD,
   310001 ROBERTO                   REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINEZ MALDONADO, MARIA
   310037 E                         REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          MARTINEZ MANGUAL MD, GINES
   310054 A                          REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   717869 MARTINEZ MARINE WOODCRAFT 1213 N E CALLE 20                                                                                                                SAN JUAN              PR           00920

   307278 MARTINEZ MARQUEZ, ALONDRA REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
  1420479 MARTINEZ MARQUEZ, LUIS A. JOSÉ E. COLÓN RÍOS                        PO BOX 361182                                                                          SAN JUAN              PR           00936‐1182

   310118 MARTINEZ MARTI MD, MELISSA                  REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          MARTINEZ MARTINEZ MD,
   310121 EDUARDO                                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   310122 MARTINEZ MARTINEZ MD, LUZ E REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
  1420480 MARTINEZ MARTINEZ, LUIS E.  JORGE C. CRUZ JOVE                      317 EXT                                                                                LOS ROBLES RINCON     PR           00677

   310234 MARTINEZ MARTINEZ, MARYBEL                  REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          MARTÍNEZ MARTÍNEZ, OTTMAN
  1420481 R.                                          NORA CRUZ MOLINA        PO BOX 2795                                                                            ARECIBO               PR           00613‐2795
   717870 MARTINEZ MAS INC                            URB SAN FRANCISCO       1655 CALLE VIOLETA                                                                     SAN JUAN              PR           00927
   310333 MARTINEZ MD , CARMEN L                      REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   310334 MARTINEZ MD , EDUARDO M                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   310335 MARTINEZ MD, MELISSA                        REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   310336 MARTINEZ MD, SANTIAGO                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   310340 MARTINEZ MEDICAL TRANSPORT CARR 173 KM 6.8 RR 1 BOX 3026                                                                                                   CIDRA                 PR           00739
          MARTINEZ MEDICAL TRANSPORT
   310341 , INC.                     RR‐01 BZN. 3026                                                                                                                 CIDRA                 PR           00739‐0000
          MARTINEZ MEDINA, MARIA DE
   310368 LOS A                      REDACTED                      REDACTED                               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   310392 MARTINEZ MELENDEZ, ALICIA  REDACTED                      REDACTED                               REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   310438 MARTINEZ MENDEZ MD, JOSE H REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
  1420482 MARTINEZ MENDEZ, WILLIAM   OSVALDO BURGOS PÉREZ                     PO BOX 194211                                                                          SAN JUAN              PR           00919‐4211

   310467 MARTINEZ MENDOZA, OMAR I.                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   310468 MARTINEZ MENDOZA, RAFAEL                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
          MARTINEZ MILLARES MD,
   310527 FRANCISCO                                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   310585 MARTINEZ MONTALVO, BLANCA                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
  1420483 MARTINEZ MORALES, ISRAEL                    JOHN DONATO OLIVENCIA   PO BOX 364522                                                                          SAN JUAN              PR           00936‐4522
  1420484 MARTINEZ MORAN, MANUEL                      OLGA RUBIO              PO BOX 1395                                                                            ARECIBO               PR           00613‐1395
   310736 MARTINEZ MORIS, SONIA N                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   310764 MARTINEZ MUÑOZ MD, RAUL E                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

  1420485 MARTINEZ NEGRON, GILBERTO                   EVELYN LOPEZ            PMB 1263 PO BOX 6400                                                                   CAYEY                 PR           00737

  1420486 MARTINEZ NEGRON, JACKELINE                  HARRY ANDUZE MONTAÑO    AVE FERNANDEZ JUNCOS 1454                                                              SAN JUAN              PR           00909
   310854 MARTINEZ NEGRON, JOSE L.                    REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED
   310874 MARTINEZ NEGRON, VIRGINIA                   REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED




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   310877 MARTINEZ NEVEDO, HECTOR L                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   310903 MARTINEZ NIEVES, LUIS N                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   310914 MARTINEZ NIEVES, NEREIDA                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                  PMB 914 #138 AVE. WINSTON
  1420487 MARTÍNEZ NÚÑEZ, IBRAHIM A.                  MIGUEL A. OLMEDO OTERO      CHURCHILL                                                                              SAN JUAN            PR           00926‐6013
   310947 MARTINEZ OCASIO, JANET                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717871 MARTINEZ ODELL & CALABRIA                   PO BOX 190998                                                                                                      SAN JUAN            PR           00919‐0998
   717872 MARTINEZ ODELL Y CALABRIA                   PO BOX 998                                                                                                         HATO REY            PR           00919‐0998

   310974 MARTINEZ OLIVERAS MD, FELIX                 REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINEZ OLIVERAS MD,
   310975 ROSALYN                                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINEZ OLIVIERI MD,
   310986 ROSELYNN                                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   311023 MARTINEZ ORRACA MD, JUAN J                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   311031 MARTINEZ ORTEGA, MARTA A.                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   311037 MARTINEZ ORTIZ MD, MANOLO                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                  CALLE JOSÉ TORO BASSORA
  1420488 MARTÍNEZ ORTIZ, DAINNE                      PEDRO M. IRIZARRY HUERTAS   NUM. 6                                                                                 LAJAS               PR           00667
   311085 MARTINEZ ORTIZ, ERASMO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINEZ ORTIZ, INGRID Y
  1420489 OTROS                                       ANGÉLICA MATOS GONZÁLEZ     PO BOX 12372                                                                           SAN JUAN            PR           00914
  1420490 MARTINEZ ORTIZ, RAFAEL                      GASPAR MARTINEZ MANGUAL     PO BOX 194422                                                                          SAN JUAN            PR           00919‐4422
   311222 MARTINEZ OTERO, JORGE I                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   311233 MARTINEZ OTERO, YADIRA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINEZ PACHECO,
   311262 MARGARITA                                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINEZ PADILLA MD,
   311267 ANNETTE                                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   311336 MARTINEZ PAULINO, MARIA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   311361 MARTINEZ PEREZ MD, ABRAHAM REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   311416 MARTINEZ PEREZ, JOSE R.    REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   311537 MARTINEZ QUILES, AMY       REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   311538 MARTINEZ QUILES, BERENA    REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINEZ QUINONEZ, CESAR V
  1420491 DEPTO DE JUSTICIA          IRMA ROSARIO MARTINEZ                        APARTADO 190021                                                                        SAN JUAN            PR           00919‐0021
          MARTINEZ QUINTANA MD,
   311586 ROBERTO                    REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   311629 MARTINEZ RAMOS PHD, ROSA J                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   311666 MARTINEZ RAMOS, IRIS B                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   311691 MARTINEZ RAMOS, LUZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   311693 MARTINEZ RAMOS, MADELINE                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINEZ RENTAL Y/O HEDWIL
   311729 MARTINEZ                                    URB VILLA ESPANA            G 1 PLATINO                                                                            BAYAMON             PR           00960
  1420492 MARTÍNEZ REYES , GILBERTO                   CARMEN SOTO TELLADO         251 CALLE RECINTO SUR                                                                  SAN JUAN            PR           00901



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          MARTINEZ RIVERA MD, ADRIANO
   311844 H                           REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   311845 MARTINEZ RIVERA MD, PEDRO                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   311846 MARTINEZ RIVERA PSC                         207 DEL PARQUE ST         3ER FLOOR                                                                             SAN JUAN            PR           00912
                                                                                TORRES DE CERVANTES APT.
  1420493 MARTÍNEZ RIVERA, GUDELIA   GUDELIA MARTINEZ RIVERA                    1010 B                                                                                SAN JUAN            PR           00924
  1420494 MARTINEZ RIVERA, SONIA I.  JANE HOFFMANN MOURIÑO                      PO BOX 7742                                                                           SAN JUAN            PR           00916‐7742
   312220 MARTINEZ ROBLES, SUHAILL   REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINEZ RODRIGUEZ MD,
   312226 AWILDA C                   REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINEZ RODRIGUEZ MD,
   312227 DIANA P                    REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINEZ RODRIGUEZ MD,
   312228 JUAN C                     REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINEZ RODRIGUEZ, CARMEN
   312262 D                          REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   312349 MARTINEZ RODRIGUEZ, JANICE S. REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1420495 MARTÍNEZ RODRÍGUEZ, JESÚS R. ROGER A. LEYBA RODRIGUEZ    PO BOX 873                                                                                         HORMIQUEROS         PR           00660‐0873
          MARTINEZ RODRIGUEZ, JOSE Y                               URB. SAN ANTONIO 1939 AVE.
  1420496 VELEZ ORTIZ, DAISY           AMELIA M. CINTRÓN VELÁZQUEZ LAS AMÉRICAS                                                                                       PONCE               PR           00728‐1815
          MARTINEZ RODRIGUEZ,
   312410 KARELLYS M.                  REDACTED                    REDACTED                                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINEZ RODRIGUEZ, SHIRLEY
   312508 E                            REDACTED                    REDACTED                                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINEZ RODRIGUEZ, TATIANA
   312515 I.                           REDACTED                    REDACTED                                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1420497 MARTINEZ RODRIGUEZ, YALEDZA JESUS ROSARIO FELIX                       PO BOX 1564 JUANA DIAZ                                                                JUANA DIAZ          PR           00795
   312553 MARTINEZ ROJAS MD, SELMA    REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   312555 MARTINEZ ROJAS, CLARIBEL    REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTÍNEZ ROMÁN, PATSY Y                                               CONDOMINIO EL CORDOVES
  1420498 OTROS                       DERECHO PROPIO                            APARTAMENTO 7‐D                                                                       GUAYNABO            PR           00968
          MARTINEZ ROMERO MD,
   312610 RICARDO F                   REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   312621 MARTINEZ RONDON, DAVID      REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717874 MARTINEZ ROSA GLADYS        PO BOX 1521                                                                                                                     ARECIBO             PR           00613

   312647 MARTINEZ ROSADO MD, ROCIO                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   312705 MARTINEZ ROSARIO, IVETE                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   312739 MARTINEZ RUIZ MD, SILVIO R                  REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   312790 MARTINEZ RUIZ, VIVIAN Y.                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420499 MARTÍNEZ RUIZ, ZELL                         DAVID FERNANDEZ ESTEVES   PO BOX 9023518                                                                        SAN JUAN            PR           00902‐3518
          MARTINEZ SANTIAGO MD,
   312921 EDGARD R                                    REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   312937 MARTINEZ SANTIAGO, CRISTINA                 REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   312986 MARTINEZ SANTIAGO, LUIS                     REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARTINEZ SANTIAGO,
   312995 MAGDALENA                                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   313032 MARTINEZ SANTIAGO, SHEELA                   REDACTED                  REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  313158 MARTINEZ SERRANO, MYRTA                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  313171 MARTINEZ SIERRA MD, LUIS                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MARTINEZ SOTOMAYOR,
 1420500 FERDINAND                                    EDGAR HERNÁNDEZ SÁNCHEZ   PO BOX 364966                                                                        SAN JUAN            PR         00936‐4966
  313258 MARTINEZ SOUSS MD, JAIME                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MARTINEZ SUPPERETTE [
  717875 CARMELO MARTINEZ ]                           CALLE PEDRO RIVERA 10                                                                                          CAYEY               PR         00736

   313277 MARTINEZ TABOA MD, MARIA M REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARTINEZ TABOAS MD, MARIA
   313278 D                          REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717876 MARTINEZ TIRE CENTER       88 PARCELAS NIAGARA                                                                                                             COAMO               PR         00769
   313326 MARTINEZ TORO MD, JOSE A   REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1420501 MARTINEZ TORO, ANGEL       JESUS M. JIMENEZ                           APARTADO 3025                                                                        GUAYAMA             PR         00785
   313344 MARTINEZ TORRES LAW PSC    PO BOX 192938                                                                                                                   SAN JUAN            PR         00919

   313345 MARTINEZ TORRES MD, HECTOR REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   313346 MARTINEZ TORRES MD, MIRIAM                  REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   313453 MARTINEZ TORRES, MANUEL                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   313473 MARTINEZ TORRES, NILSA                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
  1420502 MARTINEZ TORRES, SAMMY                      JUAN CARLOS RÍOS PÉREZ    PO BOX 9020443                                                                       SAN JUAN            PR       00902‐0443

   313515 MARTINEZ TRABAL MD, JORGE L                 REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARTINEZ TRANSMISSION SERV
   717878 C/O                                         JUAN H MARTINEZ SANTANA   127 CALLE COMERCIO                                                                   MAYAGUEZ            PR         00680
          MARTINEZ TRANSMISSION
   717879 SERVICE                                     HC‐01 BOX 4781                                                                                                 LAJAS               PR         00667
   313577 MARTINEZ VARELA, ISAMAR                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARTINEZ VARGAS MD,
   313578 MARITZA                                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARTINEZ VAZQUEZ,                                                     160 AVE. UNIV.
  1420503 MONSERRATE                                  CAREN RUIZ PÉREZ          INTERAMERICANA                                                                       SAN GERMÁN          PR         00683
   313689 MARTINEZ VEGA MD, LUIS E                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   313702 MARTINEZ VEGA, DIANA                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARTINEZ VELAZQUEZ, NATALIE
   313766 ANN                                         REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   313768 MARTINEZ VELAZQUEZ, NELIAN K REDACTED                                 REDACTED                  REDACTED                     REDACTED                      REDACTED            REDACTED   REDACTED     REDACTED
          MARTÍNEZ VILANO, GUSTAVO                                                                        TORRE SUR SUIT 1104 ARTERIAL
  1422592 ERNESTO                      RICARDO DE LA VILLA DORAL                CAPITAL CENTER BUILDING   HOSTOS 239                                                 HATO REY            PR         00918‐1477

   313871 MARTINEZ VILLEGAS, CARMELITA REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARTINEZ Y ARROYO INT
   717880 REPORTING INC                PO BOX 9020678                                                                                                                SAN JUAN            PR         00902‐0678

   313897 MARTINEZ ZAYAS MD, GINES A                  REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   313961 MARTINEZ, JUAN LORENZO                      REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

  1420504 MARTÍNEZ, LUIS             ANTONIO RODRÍGUEZ FRATICELLI 224 AVE. DOMENECH SUITE 1                                                                          SAN JUAN            PR         00918
   313994 MARTINEZ, ROXANA           REDACTED                     REDACTED                                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARTINEZ,ALVAREZ,MENENDEZ,
   717881 CORTADA &LEFRA             EDIF CENTRO DE SEGUROS       OFIC 407                                AVE PONCE DE LEON                                          SANTURCE            PR         00907‐3286



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          MARTINEZ‐MALDONADO &
   314025 VIENTOS‐ORTA C.S.P                          PARANA 1539                SUITE 3 EL PARAISO                                                                    SAN JUAN             PR           00926
          MARTINIANO GONZALEZ
   717882 MENDEZ                                      MINILLAS STATION           P O BOX 41269                                                                         SAN JUAN             PR           00940‐1269

   314042 MARTINIANO RIVERA VAZQUEZ                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARTÍNIEZ RODRÍGUEZ,
  1420505 RICARDO                                     ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                                                            HORMIQUEROS          PR           00660‐0873
   314046 MARTINO BERIO MD, MARTIN                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARTINO BERMUDEZ MD,
   314049 MARTIN                                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   314055 MARTINO DIAZ MD, JUAN                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   717883 MARTINO ENRIQUE                             11 SARATOGA DR                                                                                                   CEIBA                PR           00735

   314059 MARTINO INDUSTRIAL AIR INC                  PO BOX 29665                                                                                                     SAN JUAN             PR           00929‐0665
   314067 MARTINO VALDES MD, JOSE A                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   314086 MARTIR CHICO, JOCELYN                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   717884 MARTIR ELECTRIC SERVICE CORP BO BALBAOA                                101 CALLE HABACUC                                                                     MAYAGUEZ             PR           00680
   717885 MARTIR ELECTRIC SERVICES     BO BROADWAY                               345 CALLE BROADWAY                                                                    MAYAGUEZ             PR           00680

   314106 MARTIR GUEVARA MD, RAFAEL                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   314124 MARTIR MOORE, PHAJAH                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   314134 MARTIR PELLOT MD, JORGE                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   314170 MARTIR VELAZQUEZ, ELBA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   314177 MARTIRES HIDALGO SANTANA                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   717886 MARTITA FLORES ROSADO                       URB BELLA VISTA            P 59 CALLE 18                                                                         BAYAMON              PR           00957
   717887 MARTITA GARCIA RAMOS                        URB VILLA MARIA            U 7 CALLE 14                                                                          CAGUAS               PR           00725
   717888 MARTITA GONZALEZ ROSADO                     SECTOR PALMA SOLA          CARR 130 RAMAR 488                                                                    HATILLO              PR           00659
   314190 MARTITA MARCANO PEREZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARTITA RODRIGUEZ
   717889 CARTAGENA                                   HC 1 BOX 6941                                                                                                    SALINAS              PR           00751

   314191 MARTITA ROLON APONTE, CPA                   P O BOX 2027                                                                                                     AIBONITO             PR           00705
   314192 MARTITA Z PIZARRO CRUZ                      VILLAS DE CARRAIZO         RR 7 BOX 375 T5 CALLE 51                                                              SAN JUAN             PR           00926
   717891 MARTIZA COLON AULET                         PO BOX 21635                                                                                                     SAN JUAN             PR           00928
   314197 MARTIZA CORDERO VELEZ                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   717892 MARTIZA GONZALEZ                            HC 72 BOX 3721                                                                                                   NARANJITO            PR           00719
   717893 MARTIZA GONZALEZ ORTIZ                      JARDINES DE CAPARRA        I 3 CALLE 5                                                                           BAYAMON              PR           00959
   717894 MARTIZA I AVILA SANCHEZ                     VILLA ESPERANZA 1          B 71 A CALLE CLEMENTE                                                                 CAROLINA             PR           00984

   314198 MARTIZA IRIZARRY VELAZQUEZ                  REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   717895 MARTIZA ORTIZ                               HC 02 BOX 7184                                                                                                   COMERIO              PR           00782‐9611

   717897 MARTIZA RODRIGUEZ ROSARIO                   LA GRANJAS                 26 CALLE INOCENCIO REY                                                                VEGA BAJA            PR           00693
   314199 MARTIZA ROMAN LOPEZ                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   717898 MARTOLINA LARA NARANJO                      5TA SEC SANTA JUANITA      P 34 CALLE DINUBA                                                                     BAYAMON              PR           00956
   717899 MARTÖN COLàN RIVERA                         PO BOX 1148                                                                                                      SALINAS              PR           00751

   314225 MARTORELL NIEVES, BRUNILDA                  REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MARTTA VELAZQUEZ
   717900 CARTAGENA                                   HW STA ELLA KM 112                                                                                               COAMO                PR           00769
   717901 MARTY GONZALEZ JOSEPH                       JARDINES BUENA VISTA       G 20 CALLE HH                                                                         CAROLINA             PR           00985



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   717902 MARTY MALDONADO SANTANA URB VALLES DE YABUCOA                            703 JAZMIN ST                                                                          YABUCOA             PR           00767‐3939
  1420506 MARTY SIERRA, INEABELLE BRUNILDA FIGUEROA NATER                          PO BOX 9478                                                                            SAN JUAN            PR           00908‐9478
                                  I COND JARDINES DE SAN
   717904 MARUCA LLORENS QUINONES IGNACIO                                          APT 1608 B                                                                             SAN JUAN            PR           00925

   314291 MARUSHKA MAZIARZ MORALES                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314292 MARUTHI PEDIATRICS                          110 LATTNER CT STE 100                                                                                              MORRISVILLE         NC           27560‐6843
   314293 MARUXA DIAZ PAGAN                           REDACTED                     REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314294 Maruxa Díaz Pagán                           REDACTED                     REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   1553 AVE AMERICO MIRANDA #
   717905 MARUXA INC.                                 URB CAPARRA TER              1553                                                                                   SAN JUAN            PR           00921
   717906 MARUXA ROSSELLI BURSET                      450 PONCE DE LEON PH‐E                                                                                              SAN JUAN            PR           00901
                                                      PENTAGONO APARTMENTS AVE.
                                                      PONCE DE LEON #1919 PDA 26
   314295 MARUZ REAL ESTATE                           1/                                                                                                                  SANTURCE            PR           00915‐0000
                                                                                                               SUITE 705‐A; 623 AVE PONCE DE
  1422571 MARUZ REAL ESTATE                           CARLOS E. POLO               BANCO COPERATIVO PLAZA      LEON                                                       SAN JUAN            PR           00917
   314297 MARUZ REAL STATE CORP                       PO BOX 12096                                                                                                        SAN JUAN            PR           00913‐2096
   314298 MARUZA DIAZ PAGAN                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   314300 MARVE LYZ OSORIO FIGUEROA                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARVEL FLORES COBIAN Y
   717907 ASSOC                                       1555 CALLE FRANCIA                                       SANTURCE                                                   SAN JUAN            PR           00911
          MARVEL INTERNATIONAL INC/
   314301 GREEN ENERGY                                & FUELS INC                  AMELIA INDUSTRIAL PARK      7 CALLE BEATRIZ                                            GUAYNABO            PR           00968
   717908 MARVEL SPECIALITIES INC                     P O BOX 363306                                                                                                      SAN JUAN            PR           00936‐3306
   717909 MARVELA GONZALEZ                            GARDENS COURT                F 5 FRANCIA                                                                            GUAYNABO            PR           00966
   717910 MARVELINA PILLOT RUIZ                       PO BOX 12053                                                                                                        SAN JUAN            PR           00914

   314303 MARVELY PIZARRO FERNANDEZ                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717911 MARVI S RODRIGUEZ ZAYAS                     PO BOX 960                                                                                                          HATILLO             PR           00659
   314304 MARVI SILVA PABON                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314305 MARVILIZ AVILA RODRIGUEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717913 MARVILLA VALENTIN                           RES NEMESIO R CANALES        EDIF 49 APT 904                                                                        SAN JUAN            PR           00918

   314306 MARVILLA VALENTIN MARTINEZ                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717914 MARVIN A FONSECA PEREZ                      SANTA ANA                    D 7 CALLE OPALO                                                                        VEGA ALTA           PR           00692
   314307 MARVIN ALVAREZ LOPEZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314308 MARVIN AYALA COREANO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717917 MARVIN CRUZ SANTIAGO                        BUZON 8518 CARR. 514                                                                                                VILLALBA            PR           00766
   314309 MARVIN DIAZ FERRER                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717920 MARVIN DIAZ HERNANDEZ                       URB SAGRADO CORAZON          1615 CALLE SANTA PRAXEDES                                                              SAN JUAN            PR           00926
   314310 MARVIN FIGUEROA BONILLA                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717921 MARVIN G FIGUEROA ZAYAS                     P O BOX 299                                                                                                         JUANA DIAZ          PR           00795
   314311 MARVIN G. FIGUEROA ZAYAS                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717922 MARVIN GOMEZ MORENO                         ALTURAS DEL PARQUE           313 KELIMAR                                                                            CAROLINA            PR           00987
   314312 MARVIN J NUNEZ CRUZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314313 MARVIN J SELLAS                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   314314 MARVIN L MERCED GONZALEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717924 MARVIN LATIMER NEGRON                       BRISAS DE LOIZA              230 CALLE LIBRA                                                                        CANOVANAS           PR           00729
   314315 MARVIN LORENZO MARTINEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  314316 MARVIN MALDONADO                             REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  717926 MARVIN MARQUEZ                               9 CALLE CONDE                                                                                              TOA ALTA            PR         00953‐3603
  314317 MARVIN MATTA RIVERA                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  717928 MARVIN PONS FIGUEROA                         A 3 CALLE LUCHETTI                                                                                         VILLALBA            PR         00766
         MARVIN R DE COURCEUIL
  717929 LEBRON                                       HC 1 BOX 2205                                                                                              ARECIBO             PR         00688
  717930 MARVIN RIVERA PEREZ                          BOX 8176                                                                                                   HUMACAO             PR         00792
  314319 MARVIN SANTIAGO REYES                        REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   717932 MARVIN SANTIAGO RODRIGUEZ                   PO BOX 6446                                                                                                BAYAMON             PR         00960
   717933 MARVIN TOLEDO PEREZ                         857 AVE MIRAMAR                                                                                            ARECIBO             PR         00612
   717934 MARVIN TORRES GONZALEZ                      RR 2 PO BOX 4226                                                                                           SAN JUAN            PR         00926
          MARXUACH CUETARA MD,
   314326 ACISCLO M                                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   314333 MARXZ ROSADO RIOS                           REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   314334 MARY A AVILES DIAZ                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   314335 MARY A BENITEZ BAEZ                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   314336 MARY A BLOOM MORGAN                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717936 MARY A CANALS RODRIGUEZ                     PO BOX 72                                                                                                  CAROLINA            PR         00986
                                                      INT PUEBLO VIEJO
   717937 MARY A CARTAGENA ORTIZ                      BAYAMONCITO              CARR 156 KM 42.0                                                                  AGUAS BUENAS        PR         00703
   717938 MARY A FEBO MARTINEZ                        HC 1 BOX 3768                                                                                              BARRANQUITAS        PR         00794
   314338 MARY A HERNANDEZ                            REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717939 MARY A MEDINA MEDINA                        HC 01 BOX 5242                                                                                             YABUCOA             PR         00767
   717940 MARY A MORENO TORRES                        17 E COOP EL ALCAZAR                                                                                       SAN JUAN            PR         00923
   717941 MARY A SCHNEIDER                            PMB 237                  PO BOX 2510                                                                       TRUJILLO ALTO       PR         00977
   314339 MARY A SERRANO CRUZ                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717942 MARY A TORRES RAMOS                         URB SAN ANTONIO          E 87 CALLE 1                                                                      ARROYO              PR         00714
   717943 MARY A VAZQUEZ CRUZ                         PO BOX 4952 PMB 305                                                                                        CAGUAS              PR         00725
   717944 MARY A YATES                                15702 YAGLE CLIFF                                                                                          SAN ANTONIO         TX         78232
   314340 MARY A. CUEVAS BALAGUER                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MARY ALEEN RODRIGUEZ &
   314341 MIGUEL A ARROYO                             P O BOX 35002                                                                                              PONCE               PR         00734‐5002
   717946 MARY ANN APONTE GATELL                      COSTA MARINA I APT 2/D   VISTAMAR MARINA                                                                   CAROLINA            PR         00983
   717947 MARY ANN CARBONELL ROSA                     RES LOPEZ SICARDO        EDIF 10 APT 73                                                                    SAN JUAN            PR         00923

   314343 MARY ANN CRESPO MARCANO                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717949 MARY ANN CRUZ LEBRON                        PO BOX 589                                                                                                 PATILLAS            PR         00723
   717950 MARY ANN CRUZ RODRIGUEZ                     HC 2 BOX 11624                                                                                             HUMACAO             PR         00791‐9617

   314344 MARY ANN DAVILA RODRIGUEZ                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   314345 MARY ANN DE JESUS RIVERA                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   314324 MARY ANN FIGUEROA CRESPO                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717951 MARY ANN FLORES GUZMAN                      HILL BROTHERS            171 CALLE C                                                                       SAN JUAN            PR         00924
   717952 MARY ANN HOPGOOD                            PO BOX 12355                                                                                               SAN JUAN            PR         00914
   717953 MARY ANN JACKOWSKI SOLA                     URB VISTAMAR             292 CALLE VALENCIA                                                                CAROLINA            PR         00983
          MARY ANN JUSTINIANO
   314346 ALMEYDA                                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   717954 MARY ANN PAGAN                              BOX 46                                                                                                     MANATI              PR         00674
   717955 MARY ANN POTALATIN FEBUS                    URB JARDINES DE DORADO   F 15 CALLE 5                                                                      DORADO              PR         00646
   717956 MARY ANN PUMAREJO RIOS                      URB 3T                   40 CALLE MALAQUETA                                                                ISABELA             PR         00662




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          MARY ANN RIVERA
   717957 SANTIAGO/RAINBOW KIDS                       PO BOX 8471                                                                                                        PONCE               PR           00732

   717958 MARY ANN SANCHEZ CASIANO                    COND LA SIERRA DEL SOL     APT E 78                                                                                SAN JUAN            PR           00926
   314348 MARY ANN SANCHEZ CRUZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314349 MARY ANN TORRES MATOS                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      1155 CONNECTICUT AVE NW
   717960 MARY BEHT PUCCINELLI                        SUITE 500                                                                                                          WASHINTON           DC           20036
   717961 MARY BELLA SANTIAGO VEGA                    HC 3 BOX 13794                                                                                                     JUANA DIAZ          PR           00795‐9518
   717962 MARY BELTRAN AVILES                         URB COUNTRY CLUB           GY 26 CALLE 260                                                                         CAROLINA            PR           00982
   717963 MARY BERMUDEZ CADAVEDO                      AH 20 CALLE 26             EL CORTIJO                                                                              BAYAMON             PR           00956
   717964 MARY C DE JESUS CRUZ                        HC 1 BOX 6617                                                                                                      SALINAS             PR           00751

   314351 MARY C ECHEVARRIA PARRILLA                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717966 MARY C LAUREANO ORTEGA                      COND LOS ALMENDROS PLAZA   703 EIDER APT 603‐2                                                                     SAN JUAN            PR           00924
          MARY C MALDONADO
   314352 MALDONADO                                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717967 MARY C RIVERA COTTO                         PO BOX 5966                                                                                                        CAGUAS              PR           00726
   314353 MARY C RIVERA MARTINEZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717968 MARY C RODRIGUEZ PEREZ                      372 COM TOA VACA                                                                                                   VILLALBA            PR           00766
   314354 MARY C SANCHEZ DAVILA                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717969 MARY C SANTOS ROSARIO                       BO RABANAL                 BZN 2909                                                                                CIDRA               PR           00739
   717970 MARY C SOTO SANTINI                         HC 01 BOX 18 561                                                                                                   COAMO               PR           00769
   717971 MARY C TOLEDO SANTIAGO                      P O BOX 24                 SABANA HOYOS                                                                            ARECIBO             PR           00688
   314355 MARY CANCEL BAEZ                            REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314356 MARY CARDONA SALDANA                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717972 MARY CARLTON JIMENEZ                        P O BOX 7516                                                                                                       SAN JUAN            PR           00916‐7516
   314358 MARY CARMEN DIAZ OJEDA                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARY CARMEN RIVERA
   717975 CARMONA                                     HC 2 BOX 5323                                                                                                      COMERIO             PR           00782
   717976 MARY CARMEN RODRIGUEZ                       HC 1 BOX 10806                                                                                                     GUAYANILLA          PR           00656
          MARY CARMEN RODRIGUEZ
   314359 BARRETO                                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717977 MARY CENTENO ENCARNACION                    P O BOX 6686                                                                                                       CAGUAS              PR           00726
   717978 MARY CHEILA VEGA REYES                      BDA SANTA ANA              418‐10 CALLE B                                                                          GUAYAMA             PR           00784
   314361 MARY CORTES ACEVEDO                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314362 MARY CORTIJO PEREZ                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314363 MARY DAISY NARVAEZ DIAZ                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   717979 MARY DE LA ROSA VELAZQUEZ                   P O BOX 770                                                                                                        RIO BLANCO          PR           00744
          MARY DE LOS ANGELES
   717980 FERNANDEZ HERNANDEZ                         URB VENUS GARDENS          1669 CALLE PUERTO VALLARTA                                                              SAN JUAN            PR           00926

   717982 MARY E COLOCCI DOMINGUEZ                    URB PEREZ MORRIS           44 CALLE AGUADILLA                                                                      SAN JUAN            PR           00917‐4816
   314364 MARY E FERGUSON CABRERA                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   717983 MARY E RIVERA MONTALVO                      P O BOX 450                                                                                                        LOIZA               PR           00772

   717984 MARY E SANTANA DEL MONTE                    PO BOX 3073                                                                                                        CAROLINA            PR           00984
   717985 MARY E VAZQUEZ CARMONA                      PO BOX 1280                                                                                                        SABANA SECA         PR           00952
   314366 MARY E VEGA MARTINEZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314367 MARY E. RODRIGUEZ VEGA                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  717986 MARY ELIN ARCE CORCHADO                      BO ARENALES ALTO           BOX 6 20 CARR 112                                                                   ISABELA           PR         00662
  717987 MARY ELIZABETH SENKEWICZ                     425‐3RD STREET NE                                                                                              WASHINGTON        DC         20002‐4918
  314368 MARY ESTRADA ROHENA                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   717988 MARY F MORON BARRADAS                       BO MORA SECTOR RODRIGUEZ   BOX 35                                                                              ISABELA           PR         00662

   717989 MARY F RODRIGUEZ MARRERO                    BO OBRERO                  705 CALLE 5                                                                         SAN JUAN          PR         00915

   717990 MARY F. HERNANDEZ MARTINEZ                  URB SAN AGUSTIN            1227 CALLE 7                                                                        SAN JUAN          PR         00926
   717991 MARY FARAGE JEEANDEED                       17 MENDEZ VIGO             BOX 792                                                                             MAYAGUEZ          PR         00681
   717992 MARY FARAGE JIANDEB                         PO BOX 792                                                                                                     MAYAGUEZ          PR         00681
   314369 MARY FERNANDEZ DIAZ                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   717993 MARY FERRE CASSE                            COND MONTE NORTH GARDEN    155 AVE HOSTO APT G 13                                                              SAN JUAN          PR         00918
   314370 MARY FERRER BONET                           REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   314371 MARY GARCIA DE JESUS                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   314372 MARY GARCIA DE LA PAZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   717994 MARY GONZALEZ PEREZ                         RES STA CATALINA           EDIF 27 APTO 166                                                                    YAUCO             PR         00698
   314373 MARY H DAVILA CARABALLO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   717995 MARY HERNANDEZ PIERCE                       CALLE 8                                                                                                        SALINAS           PR         00751
   717996 MARY HERNANDEZ RAMIREZ                      P O BOX 7428                                                                                                   SAN JUAN          PR         00916
   717997 MARY HERNANDEZ SIERRA                       URB DEL CARMEN             G 75 CALLE 8                                                                        CAMUY             PR         00627
   314374 MARY I ACEVEDO                              REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   314375 MARY I BAEZ VAZQUEZ                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   717998 MARY I CERVERA HERNANDEZ                    URB BAIROA                 J 7 SANTA MARIA                                                                     CAGUAS            PR         00725
   314376 MARY I CINTRON PANIAGUA                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   717999 MARY I FERNANDEZ MORALES                    URB VILLA CLARITA          G 18 CALLE 1                                                                        FAJARDO           PR         00738
   717935 MARY I GUZMAN CANCEL                        HC 9 BOX 61264                                                                                                 CAGUAS            PR         00725
   718000 MARY I IBAN CORDERO                         MONTE BRISAS I             J 16 CALLE F                                                                        FAJARDO           PR         00738
   718001 MARY I SEPULVEDA HERRERA                    RES EL CORAL               EDIF 2 APT 30                                                                       CAROLINA          PR         00979

   314378 MARY I. CERVERA HERNANDEZ                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   314379 MARY J MALAVE MORALES                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   314380 MARY J OLIVER ORTIZ                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   718003 MARY J ORTIZ BAEZ                           URB LLANOS EL SUR          166 CALLE FLAMBOYAN                                                                 PONCE             PR         00780
   314381 MARY J ORTIZ CINTRON                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   718004 MARY J RIVERA ORTIZ                         PO BOX 727                                                                                                     AIBONITO          PR         00705
   314382 MARY J SAMBUCETO                            REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   718005 MARY J SKOFF                                PO BOX 10644                                                                                                   SAN JUAN          PR         00922
   718007 MARY JANE FOSTER KISSELL                    LEVITOWN                   CALLE MARIANA APT 2                                                                 TOA BAJA          PR         00949

   718008 MARY JEAN HAVER BERMUDEZ                    URB EL CONQUISTADOR        PB7 CALLE 11                                                                        TRUJILLO ALTO     PR         00976
   718009 MARY JESSICA PAGAN GARCIA                   P O BOX 229                                                                                                    ADJUNTAS          PR         00601
   314383 MARY JIMENEZ ISALES                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   314384 MARY JO SALCEDO MEDINA                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   314385 MARY JO SMITH PARES                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   314387 MARY JOE LOPEZ ARROYO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   314388 MARY JOE TANNER ZALDUONDO REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   314389 MARY JOSE ZAMORA LOPEZ    REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
                                    513 URB ESTANCIAS DEL GOLF
   718014 MARY KARMEN VERGELI       CLUB                                                                                                                             PONCE             PR         00731
   718015 MARY KATHLEEN VIDAL       PO BOX 190‐733                                                                                                                   SAN JUAN          PR         00919



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  718016 MARY KINNALLY BRAVO                          ARECIBO GARDENS              18 CALLE 1                                                                            ARECIBO           PR           00612
  718017 MARY L ALVES                                 PARC PUERTO REAL             770 CALLE JAGUECAS                                                                    CABO ROJO         PR           00620 5018

   718018 MARY L BAEZ MORALES                         BO LOS PUERTOS SECTOR LA PAZ CARR 645 KM 3 6                                                                       DORADO            PR           00646
   718019 MARY L BAEZ RODRIGUEZ                       MAGUEYES                     303 AVE SANTIAGO ANDRADE                                                              PONCE             PR           00728‐1248
   718020 MARY L DE GRAUX                             URB ROOSEVELT                531 OCTAVIO MARCANO                                                                   SAN JUAN          PR           00918

   314390 MARY L ESTREMERA GONZALEZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   314391 MARY L FORT MONTALVO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   314392 MARY L FUSTER ROMERO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   314393 MARY L JIMENEZ CARTAGENA                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   314394 MARY L LABOY ROMAN                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   314395 MARY L MARRERO OQUENDO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   718025 MARY L MARTINEZ ALDEBOL                     257 CALLE ADUANA SUITE 375                                                                                         MAYAGUEZ          PR           00680
   314397 MARY L MARTINEZ SANCHEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   718027 MARY L MORALES ALICEA                       PARC 686 CALLE 10 BUENA VISTA                                                                                      ARROYO            PR           00714
   314399 MARY L MORALES RAMOS                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   718028 MARY L OLIVO VALENTIN                       HC 80 BOX 8240                                                                                                     DORADO            PR           00646

   314400 MARY L PEREZ DE LOS SANTOS                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   314401 MARY L PIZARRO ORTIZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   314402 MARY L QUINONES CRUZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   718029 MARY L RODRIGUEZ ACOSTA                     URB BONNEVILLE HEIGHTS       13 AVE PUERTO RICO                                                                    CAGUAS            PR           00725
   770739 MARY L TAIT CABRANES                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   314403 MARY L. TORRES RIVERA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   718030 MARY LEE BY THE SEA                         PO BOX 394                                                                                                         GUANICA           PR           00653
   718031 MARY LEE S BY THE SEA                       PO BOX 394                                                                                                         GUANICA           PR           00653
   718032 MARY LEE SANCHEZ CAMPOS                     BOX 6061                                                                                                           MAYAGUEZ          PR           00681
          MARY LETTY HERNANDEZ
   314404 MUNOZ                                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   314405 MARY LINDA DOUGLAS                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   314406 MARY LINDA RAMOS RIVERA                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   718033 MARY LINDA SOTO HERNANDEZ                   URB SANTA RITA               1004 CALLE HUMACAO                                                                    SAN JUAN          PR           00925
   314407 MARY LIZ SALGADO LOPEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   314408 MARY LOPEZ LOPEZ                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   314409 MARY LOPEZ ROMAN                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   718034 MARY LOURDES CRUZ MONGE                     URB SANTA MARIA              B 1 CALLE 1                                                                           CEIBA             PR           00735
   718035 MARY LUZ ARCE HERNANDEZ                     HC 02 BOX 10773                                                                                                    MOCA              PR           00676
   718036 MARY LUZ ARROYO ROMAN                       URB VILLA BUENAVENTURA       139 CALLE MAYAGOEX                                                                    YABUCOA           PR           00767
   718039 MARY LUZ RENTAS PEREZ                       RES LOS FLAMBOYANES          EDIF 3 APT 16                                                                         SAN JUAN          PR           00924
   718040 MARY LUZ REYES ISAAC                        URB ALT VEGA BAJA            12 CALLE GH                                                                           VEGA BAJA         PR           00693

   314412 MARY LUZ RODRIGUEZ MENDEZ REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   314414 MARY LUZ TORRES RIVERA    REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   314415 MARY LYNN VAZQUEZ MADERA                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   314416 MARY M COLON ACEVEDO                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   718042 MARY M MARTINEZ SANCHEZ                     HC 01 BOX 7917                                                                                                     SANTA ISABEL      PR           00757
   718043 MARY M QUINTANA RAMIREZ                     P O BOX 364592                                                                                                     SAN JUAN          PR           00936‐4592




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   718044 MARY M YUNQUE DE NEGRON                     MONTECARLO             865 CALLE 12                                                                               SAN JUAN            PR           00924
   718045 MARY MALAVE LOPEZ                           P O BOX 338                                                                                                       CAMUY               PR           00627
   314417 MARY MALAVE RIVERA                          REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718046 MARY MARTINEZ CUEVAS                        RES NEMESIO CANALES    EDIF 30 APTO725                                                                            SAN JUAN            PR           00920
   314418 MARY MATIAS MUNIZ                           REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718047 MARY MEDINA MEDINA                          413 CALLE TAMARINDO                                                                                               ARECIBO             PR           00612
   314419 MARY MELENDEZ MEDINA                        REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314420 MARY MORALES MARTINEZ                       REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314422 MARY N RAMOS PEREZ                          REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718050 MARY NEGRON SIERRA                          18 CALLE SAN RAFAEL                                                                                               PONCE               PR           00731
   314424 MARY NIEVES FEBLES                          REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   718052 MARY O SANTIAGO GONZALEZ                    COND MALAGA APT 501    AVE ROOSEVELT 109                                                                          SAN JUAN            PR           00917
   718053 MARY OSORIO DE MELENDEZ                     URB RIVER VIEW         N 9 CALLE 12                                                                               BAYAMON             PR           00961
   718054 MARY OTERO MALDONADO                        4704 MCALLISTER ST                                                                                                VALDUSTA            GA           31605
   718055 MARY PEREZ AGOSTO                           JARD DE MONTELLANO     835 CALLE MONTE DELGADO                                                                    MOROVIS             PR           00687
   314425 MARY PEREZ NIEVES                           REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314426 MARY R FIGUEROA LOPEZ                       REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718056 MARY R PEREZ ALGARIN                        RR 4 BOX 809           SANTA OLAYA                                                                                BAYAMON             PR           00956
   314427 MARY REYES FIGUEROA                         REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718058 MARY RIVERA DIAZ                            BOX 1127                                                                                                          CIDRA               PR           00739
   314428 MARY RIVERA MERCADO                         REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314429 MARY RIVERA OQUENDO                         REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314430 MARY RODRIGUEZ GONZALEZ                     REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314431 MARY RODRIGUEZ MARTINEZ                     REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314432 MARY RODRIGUEZ MOLINA                       REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718059 MARY ROSARIO GARCIA                         URB SIERRA BAYAMON     32 8 CALLE 30                                                                              BAYAMON             PR           00961
          MARY S CATERING / MARIA L
   314433 ROSARIO TORRES                              P O BOX 268                                                                                                       BARRANQUITAS        PR           00794

   718060 MARY S CORALES HERNANDEZ                    HC 04 BOX 11669                                                                                                   YAUCO               PR           00698
          MARY S DE MICHELI DE
   718061 CARDONA                                     URB LAS LOMAS          1812 CALLE 6 SO                                                                            SAN JUAN            PR           00921
   314434 MARY S DELGADILLO IGLESIAS                  REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314435 MARY S PEREZ DIAZ                           REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARY S ROMAN / MARYSHKA
   718062 RIOS                                        BO LINARES BAJO        CARR 112 KM 3                                                                              ISABELA             PR           00662
   314436 MARY SANTANA TERRERO                        REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718065 MARY SANTIAGO VELEZ                         HC 02 BOX 12025                                                                                                   SAN GERMAN          PR           00683‐9616

   314437 MARY SOL CORRADA ALMARAZ                    REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   718066 MARY SOL MERCED RIOS                        URB LAS CUMBRRES       497 CALLE EMILIANO POL STE 36                                                              SAN JUAN            PR           00926
   718067 MARY SOL RAMOS MEDINA                       FACTOR 911 BANDERA                                                                                                ARECIBO             PR           00612
   314438 MARY TERE ZAMORA LOPEZ                      REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718068 MARY TORRES ROMAN                           HC 2 BOX 13773                                                                                                    ARECIBO             PR           00612
   718069 MARY TRAVESIER DE DE LEON                   URB ROLLING HILLS      S 364 CALLE TEGUCIGALPA                                                                    CAROLINA            PR           00987
   718070 MARY V OCASIO                               BARRIO MAMEYAL         VILLA PLATA                     20 CALLE D                                                 DORADO              PR           00646
   314440 MARY VAZQUEZ VEGA                           REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314441 MARY VECCHINI SANTIAGO                      REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314442 MARY Z MENDEZ GARCIA                        REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314443 MARYA MUNOZ VAZQUEZ                         REDACTED               REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  718071 MARYANDIE RAMOS TOSADO                       HC 77 BOX 7870                                                                                                     VEGA ALTA            PR           00692

   718072 MARYANGELID ROMAN MATOS                     TORRECILLAS                 BOX 274 C/ HERADIO RIVERA                                                              MOROVIS              PR           00687
          MARYANGELIE FLORES
   314446 HERNANDEZ                                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   314447 MARYANN BORGES SENERIZ                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   314448 MARYANN J BAQUERO TIRADO                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   314450 MARYANN RAMIREZ MULLER                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   314451 MARYANN RIVERA SANTIAGO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   314452 MARYANN VELEZ BURGOS                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   718074 MARYARY RIVERA                              URB TOA ALTA HEIGHTS        A 7 CALLE 15                                                                           TOA ALTA             PR           00953
   314453 MARYARY RIVERA CRUZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   718075 MARYBEL CARABALLO ALICEA                    PO BOX 2092                                                                                                        YAUCO                PR           00698

   718076 MARYBEL CARTAGENA COTTO                     BOX 8127                                                                                                           SAN JUAN             PR           00926
   314454 MARYBEL GONZALEZ OCASIO                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   718078 MARYBELL BAEZ OSORIO                        COM LA DOLORES              159 CALLE COLOMBIA                                                                     RIO GRANDE           PR           00745
   314455 MARYBELL DELGADO CRUZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   314456 MARYBELL DIAZ GARCIA                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   718079 MARYBELL GONZALEZ                           PO BOX 810301                                                                                                      CAROLINA             PR           00981
   718080 MARYBELL RAICES MENDEZ                      HC 02 BOX 7874                                                                                                     CAMUY                PR           00627
   314457 MARYBELLE VARELA CORREA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   314458 MARYBETH DELGADO VEGA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   718082 MARYBETH RAMOS PADILLA                      P O BOX 1663                                                                                                       BAYAMON              PR           00960

   314460 MARYCARMEN FLORES CLAUDIO REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   718083 MARYCELIS RAMOS RODRIGUEZ PO BOX 1595                                                                                                                          OROCOVIS             PR           00720
   718084 MARYCELLIS CAJIGAS        URB CUPEY GARDENS                             I 10 CALLE 4                                                                           SAN JUAN             PR           00926

   718085 MARYDEE E LUCIANO MACHADO DOMENECH                                      276 CALLE ARIES                                                                        ISABELA              PR           00662

   314461 MARYDELIS RIVERA GUADALUPE                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   314463 MARYELA VELAZQUEZ COLON                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   314464 MARYELLEN CAHILL                            REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   314465 MARYELLI ROSADO MORALES                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   314466 MARYELSIE GARCIA FELICIANO                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   718086 MARYJANE LUGO                               CIUDAD UNIVERSITARIA        L‐20 CALLE 17                                                                          TRUJILLO ALTO        PR           00976

   314468 MARYKARMEN VERGELI ROJAS                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   314469 MARYL I MARCANO SEPULVEDA                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   314470 MARYLAND BRAIN & SPINE                      ATTN MEDICAL RECORDS        1000 BESTGATE RD            SUITE 400                                                  ANNAPOLIS            MD           21401
   314471 MARYLAND PRIMARY CARE                       MED REC DEPT                11055 L PATUXENT PKY        SUITE 104                                                  COLUMBIA             MD           21044
          MARYLAND SPINE & SPORTS
   314472 MED                                         5005 SIGNAL BELL LN 208                                                                                            CLARKSVILLE          MD           21029

   718087 MARYLEN ELOSEGUI SANTIAGO                   URB ALTURAS DE BUCARABONES 3M‐2 CALLE PRINCIPAL                                                                    TOA ALTA             PR           00953

   718088 MARYLEN ROMERO GARCIA                       P O BOX 6921 SANTA ROSA UNIT                                                                                       BAYAMON              PR           00960‐5921
   314473 MARYLEN VEGA AVILES                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED



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  718089 MARYLENE TOSADO                              PORTICOS DE GUAYNABO         APT 14101 1 CALLE VILLEGAS                                                              GUAYNABO          PR         00971 9207
  314474 MARYLIAM RIVERA LUGARDO                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   718090 MARYLIN ALGARIN RODRIGUEZ                   PARQUE DEL MONTE             KK 8 CALLE URAYOAN                                                                      CAGUAS            PR         00725

   314475 MARYLIN ALVARADO GONZALEZ                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718091 MARYLIN ARCE BARRETO                        PO BOX 307                                                                                                           SAN SEBASTIAN     PR         00685
   718092 MARYLIN BAEZ ESQUILIN                       HC 1 BOX 6544                                                                                                        JUNCOS            PR         00777
   314477 MARYLIN CHAPARRO ROSA                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   314478 MARYLIN COLON SANTIAGO                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   314479 MARYLIN COOPER ROSARIO                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   314480 MARYLIN CORTES LOPEZ                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   314481 MARYLIN CRUZ GARCIA                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   718094 MARYLIN MARTINEZ BARROSO                    JARD DE LA FUENTE            134 CALLE KENNEDY                                                                       TOA ALTA          PR         00953

   314483 MARYLIN MENDOZA GONZALEZ                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      JDNES SAN FRANCISCO EDIF 2
   718096 MARYLIN REYES NIEVES                        APT 301                                                                                                              SAN JUAN          PR         00926
   718097 MARYLIN RIVERA RIVERA                       BOX BEATRIZ                  HC 72 BOX 6931                                                                          CAYEY             PR         00736
   314484 MARYLIN RODRIGUEZ NIEVES                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   314485 MARYLIN RUBERTO TORRES                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718098 MARYLIN SANTIAGO RAMOS                      31 CALLE MELERO                                                                                                      PONCE             PR         00730
   314486 MARYLIN TORRES OTRO                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   314487 MARYLIN VARGAS                              REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   314488 MARYLIN VARGAS REGUERO                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   314489 MARYLINDA TOMASINI FRED                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   314490 MARYLINE SANTANA MENDEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718099 MARYLIS FELICIANO RIVERA                    PO BOX 347                                                                                                           PUERTO REAL       PR         00740
   314491 MARYLIS MORALES TORRES                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   314492 MARYLISSE REYES RAMOS                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARYLIU RODRIGUEZ
   314493 CARABALLO                                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARYLIZ DEL C GONZALEZ
   314494 SANTOS                                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718100 MARYLIZ I MONTES                            B 24 URB NUEVAS ESTANCIAS                                                                                            MANATI            PR         00674

   718101 MARYLLIS RODRIGUEZ MOYET                    MSC 29 BOX 4035                                                                                                      ARECIBO           PR         00614
   314495 MARYLOU RAMIREZ VAZQUEZ                     REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MARYLU CANDELARIA
   314496 KANHAISINGH                                 REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718102 MARYLU MAIBERS                              1863 CALLE LOIZA APTO 9                                                                                              SAN JUAN          PR         00911
   718103 MARYLUZ CARRASCO TORRES                     HC 1 BOX 8298                                                                                                        BAJADERO          PR         00616
   718104 MARYLUZ LABOY ROMAN                         URB EL MADRIGAL              E 2 CALLE 5                                                                             PONCE             PR         00731
   718105 MARYLUZ MENDEZ VARGAS                       53 JOSE TIZOL EL SECO                                                                                                MAYAGUEZ          PR         00680
   718106 MARYLYN BERROCALES RUIZ                     HC 09 BOX 2918                                                                                                       SABANA GRANDE     PR         00637
   718107 MARYLYN PAGAN VEGA                          PO BOX 30169                                                                                                         SAN JUAN          PR         00929‐1169
   314497 MARYLYN SALVA SANDOVAL                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   314498 MARYMER H. HERNANDEZ ORTIZ REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   718108 MARYNELLY MENDOZA SALGADO HC 45 BOX 9634                                                                                                                         CAYEY             PR         00736




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          MARYNET MALDONADO
   314499 GUZMAN                                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   718109 MARYNIA RAMIREZ ALVARADO                    HC 1 BOX 5725                                                                                                         OROCOVIS            PR           00720
   314500 MARYNOLL DE LA PAZ LOPEZ                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718110 MARYORI COLON FERNANDEZ                     URB FLORAL PARK             456 CALLE CUBA                                                                            SAN JUAN            PR           00917
   314501 MARYORIE CRUZ PABON                         REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718111 MARYORIE LUGO SANTIAGO                      URB EL MADRIGAL I           46 CALLE 11                                                                               PONCE               PR           00731
   718112 MARYORIE NIEVES COLON                       URB VALENCIA                AE 30 CALLE 9                                                                             BAYAMON             PR           00959
          MARYORINE MATIAS
   314502 ECHEVARRIA                                  REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARYORY ENID NOBSCO
   314503 MONTANEZ                                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      2844 AVE LAS AMERICAS PMB
   718113 MARYROSE CONCEPCION                         251                                                                                                                   PONCE               PR           00717

   314504 MARYROSE CONCEPCION GIRON REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   718114 MARYS CATERING                              HATILLO DEL MAR             D 32 CALLE RODRIGUEZ SANCHEZ                                                              HATILLO             PR           00659
   718115 MARY'S CATHERING                            HC 03 BOX 8809                                                                                                        GUAYNABO            PR           00971
   314505 MARYS J. ROSARIA SANTAL                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718116 MARYS PIZZA                                 RAMOS ANTONINI TUQUE        50 CALLE 1                                                                                PONCE               PR           00731
   718117 MARYS SERRANO HEREDIA                       URB VICTOR ROJAS II         22 CALLE 1                                                                                ARECIBO             PR           00612
   314506 MARYSABEL TORRES YULFO                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MARYSELA SANTIAGO
   314507 ECHEVARRIA                                  REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   314508 MARYSELI MORALES RODRIGUEZ REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314509 MARYSOL A CUMMINGS         REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314510 MARYSOL CABAN MENDEZ       REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314511 MARYSOL DIAZ LOPEZ         REDACTED                                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   314512 MARYSOL RODRIGUEZ MATOS                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   718119 MARYTHELL SANTANA DE LEON                   COM PALOMAS II SOLAR 71                                                                                               YAUCO               PR           00856
   718120 MARYVELISSE ESCRIBANO                       10B VILLA CAPARRA                                                                                                     GUAYNABO            PR           00966
   718121 MARYVELISSE MEDINA MEJIAS                   BOX VACAS SALRILLO          CARR 518 RAMAL 388                                                                        ADJUNTA             PR           00601

   718122 MARYVELISSE RIVERA PEREIRA                  URB MIRAFLORES              34 15 CALLE 43                                                                            BAYAMON             PR           00956
          MARYVETTE ROMAN
   314514 MAISONAVE                                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718123 MARZA & CARLOS FIGUEROA                     PO BOX 6719                                                                                                           COROZAL             PR           00783
   718124 MARZA E ESCALERA                            138 CALLE VEGA PUENTE                                                                                                 COAMO               PR           00769

   314559 MARZAN SHELL SERVICE STATION SANTA JUANITA 8VA SECC     550 ESQ. HOSTOS                                                                                           BAYAMON             PR           00956
   314570 Marzán‐Vargas, Luisa         REDACTED                   REDACTED                                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   314571 MARZODIO ORTIZ MACHADO       REDACTED                   REDACTED                                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718125 MAS CONTRUCTION CORP         HC‐02 BOX 6186                                                                                                                       BARRANQUITAS        PR           00794
          MAS FELICIANO KATIRIA I. Y                              MONSERRATE SIMONET &                           101 AVE. SAN PATRICIO SUITE
  1422975 PONCE DE LEÓN, IRIS          ALEXANDRA SANCHEZ MITCHELL GIERBOLINI                                     1120                                                       GUAYNABO            PR           00968
          MAS NODA, FRANCISCO Y                                   CAPITAL CENTER BUILDING #239
  1420507 MOLINA MATIAS, CYNTHIA       ALLAN RIVERA FERNÁNDEZ     SUITE 401                                                                                                 HATO REY            PR           00918
   718126 MAS POR MENOS                P O BOX 517                                                                                                                          JAYUYA              PR           00664



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  314603 MAS RAMIREZ MD, MANUEL                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   718127 MASA CONSTRUCTION                           PMB 145                     220 PLZ WESTERN AUTO STE 101                                                              TRUJILLO ALTO        PR         00976
   718128 MASACO REALTY INC                           P O BOX 51968                                                                                                         TOA BAJA             PR         00950 1968
   718129 MASCARO PORTER & CO INC.                    PO BOX 9024236                                                                                                        SAN JUAN             PR         00902
   314627 MASCIA GIAN PAOLO                           URB LOS ALMENDROS           E A 56 CALLE TILO                                                                         BAYAMON              PR         00961
   314628 MASCIELLO MD, MICHAEL                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MASETERO DE MAGUEYES JOSE
   718130 BONET RODGUEZ                               PO BOX 2780                                                                                                           ARECIBO              PR         00612
   718131 MASH INDUSTRIAL INC.                        PO BOX 9557                                                                                                           BAYAMON              PR         00960
   718132 MASIE MARTINEZ BATISTA                      PO BOX 2162                                                                                                           SALINAS              PR         00751
   314630 MASIEL GRACIA SANTIAGO                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   314633 MASKIL DE JESUS TORRES                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   314645 MASS ACCOUNTING                             BALDORIOTY #5                                                                                                         COAMO                PR         00769
   718133 MASS ACCOUNTING INC                         5 BALDORIOTY                                                                                                          COAMO                PR         00769
   314647 MASS ACCOUNTING, INC.                       BALDORIOTY 5                                                                                                          COAMO                PR         00769
   314652 MASS DE LEON MD, YOLANDA                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   718134 MASS EYE EAR ASSOC                          PO BOX 575                                                                                                            WEST BRIDGEWATER     MA         02379
   314653 MASS GENERAL HOSPITAL                       PO BOX 3955                                                                                                           BOSTON               PR         02241‐3955
   718136 MASS GENERAL PHYSICIANS                     PO BOX 9142                                                                                                           CHARLESTOWN          MA         02129‐9142
          MASS MUTUAL [FORMERLY
   718137 CONNECTICUT MUTUAL                          1295 STATE STREET                                                                                                     SPRINGFIELD          MA         01111
   314666 MASS PRODUCTIONS                            OCEAN PARK                  2020 CALLE ITALIA                                                                         SAN JUAN             PR         00911
   314671 MASS RIVERA, PEDRO                          REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MASSACHUSETS GENERAL
   314716 HOSPITAL                                    151 EVERETT AVE                                                                                                       CHELSEA              MA         02149

   314717 MASSACHUSETTS DD COUNCIL                    1150 HANCOCK STREET         THIRD FLOOR SUITE 300                                                                     QUINCY               MA         02169
          MASSACHUSETTS EYE AND EAR
   314718 INFIRMARY                                   243 CHARLES ST                                                                                                        BOSTON               MA         02114‐3096
          MASSACHUSETTS GENERAL
   314719 HOSPITAL                                    121 INNERBELT RD                                                                                                      SOMERVILLE           MA         02143

   314752 MASSANET VOLLRATH MD, JOSE                  REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   314778 MASSEY SERVICES, INC                        315 GROVELAND STREET                                                                                                  ORLANDO              FL         32804
   718138 MASSIE RESEARCH LABS INC                    6761 SIERRA COURT SUITE E                                                                                             DUBLIN               CA         94568
   314781 MASSIEL BATISTA TEJEDA                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   718139 MASSIEL JIMENEZ MORALES                     VILLA GUADALUPE             BB 18 CALLE 22                                                                            CAGUAS               PR         00725
   314782 MASSIEL MELENDEZ TORRES                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   314783 MASSIEL MUNIZ CARABALLO                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   718140 MASSIEL RIVERA TORRES                       BDA FERRAN                  47 CALLE C                                                                                PONCE                PR         00731
   718141 MASSIEL VELAZQUEZ TORRES                    MIRADOR BAIROA              Z SI CALLE 24                                                                             CAGUAS               PR         00721‐1025
   314796 MASSO EXPO                                  P O BOX 446                                                                                                           CAGUAS               PR         00726‐0446
          MASSO EXPO CORP Y/O
   314797 EMPRESAS MASSO                              APARTADO 446                                                                                                          CAGUAS               PR         00726
   718142 MASSOL CONSTRUTION INC                      PO BOX 9024275                                                                                                        SAN JUAN             PR         00902‐4275
   718143 MASSOL CONTRUCTION                          PO BOX 7748                                                                                                           PONCE                PR         00732
   718144 MASTER AGGREGATE                            P O BOX 2409                                                                                                          TOA BAJA             PR         00951‐2409
   718145 MASTER AUTO GLASS                           URB ROYAL GARDEN            H 5 CALLE ALICIA                                                                          BAYAMON              PR         00956
   718146 MASTER AUTO PARTS                           AVE CAMPO RICO 930                                                                                                    SAN JUAN             PR         00924
          MASTER BROKERS REALTY
   314834 GROUP                                       URB PEDREGALES #155         CALLE GRANITO                                                                             RIO GRANDE           PR         00745
   314835 MASTER CHEF                                 ROYAL INDUSTRIAL PARK                                                                                                 CATANO               PR         00963



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  718147 MASTER CONCRETE CORP                          PO BOX 2409                                                                                                            TOA BAJA            PR           00951‐2409
         MASTER DELIVERY SERVICES
  314836 CORP                                          URB ALTAMIRA                    598 ALDEBARAN                                                                          SAN JUAN            PR           00920
  718148 MASTER DISTRIBUTORS INC                       PO BOX 4817                                                                                                            CAROLINA            PR           00984‐4817
  314837 MASTER ENTERPRISES CORP                       PO BOX 5335                                                                                                            CATANO              PR           00963
                                                                                       100 GRAN BOULEVARD PASEOS
   314838 MASTER FACILITY SERVICES CORP MSC 494                                        STE 112                                                                                SAN JUAN            PR           00926‐5955

   314839 MASTER FLOOR DESIGN & MORE PMB 5                                             HC 72 BOX 3766                                                                         NARANJITO           PR           00719
   314840 MASTER FOOD SALES INC.     P O BOX 5103‐335                                                                                                                         CABO ROJO           PR           00623
  1256669 MASTER FOOD SALES, INC     REDACTED                                          REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   314841 MASTER FORMS & LABELS INC  PO BOX 10401                                                                                                                             PONCE               PR           00732
   314842 MASTER FOTO                255 AVE PONCE DE LEON                             STE 209                                                                                SAN JUAN            PR           00917
   314844 MASTER INDUSTRIAL AIR      HC 2 BOX 4398                                                                                                                            VILLALBA            PR           00766
   718149 MASTER LINE ACCESORIES     PO BOX 1005                                                                                                                              ISABELA             PR           00662
   314846 MASTER LINK CORPORATION    PO BOX 2186                                                                                                                              BARCELONETA         PR           00617
   718150 MASTER MIX OF PR INC.      PO BOX 908                                                                                                                               HATILLO             PR           00659‐9080
   314847 MASTER NAILS               63 CALLE VIVES                                                                                                                           PONCE               PR           00730
          MASTER OFFICE & SCHOOL
   314849 SUPPLY INC.                BOULEVARD PIEL CANELA                             CARR 14 SUITE 3                                                                        COAMO               PR           00769

   718151 MASTER PACKAGING OLCD INC                    PO BOX 13742                                                                                                           SAN JUAN            PR           00908‐3742
   314850 MASTER PAINT                                 425 CARR. 693 PMB 240                                                                                                  DORADO              PR           00646

   718152 MASTER PAINT CHEMICAL CORP 425 CARR 693 PMB 240                                                                                                                     DORADO              PR           00646‐4802
          MASTER PAINTS & CHEMICALS
   314851 CORP                       425 CARR. 693 PMB 240                                                                                                                    DORADO              PR           00646‐4802

   314852 MASTER PAVEMENT LINE CORP                    PO BOX 6534                                                                                                            MAYAGUEZ            PR           00681‐6534
   718154 MASTER PRODUCTION CORP                       PO BOX 9022294                                                                                                         SAN JUAN            PR           00902‐2294
   718155 MASTER PRODUCTS CORP                         425 CARR 693 PMB 240                                                                                                   DORADO              PR           00646‐4862
          MASTER PROJECT
   314853 MANAGEMENT INC                               100 GRAND BOULEVAR PASEO        SUITE 112 MSC 494                                                                      SAN JUAN            PR           00926‐5955
          MASTER PROJECT
   314854 MANAGEMENT, INC.                             SUITE 112 MSC 494               100 GRAN BULEVAR PASEO                                                                 SAN JUAN            PR           00926‐5955
                                                                                       WESTERN AUTO PLAZA SUITE
   314856 MASTER ROOFER OF PR INC                      PMB 387‐220                     101                                                                                    TRUJILLO ALTO       PR           00976
   314857 MASTER ROOFING INC                           URB VERSALLES                   S 8 CALLE 18                                                                           BAYAMON             PR           00959

   314858 MASTER ROOFING, INC.                         URB. VERSALLES, CALLE 18‐0S‐8                                                                                          BAYAMON             PR           00959‐0000
   718157 MASTER TUNE UP                               30 AVE CAMPO RICO                                                                                                      RIO PIEDRAS         PR           00924
          MASTERFEL MAINTENANCE
   314860 SERVICES INC                                 URB LA RIVIERA                  260 AVE LLORENS TORRES                                                                 MAYAGUEZ            PR           00682
                                                       CALLE JUNO M3 VILLAS BUENA
   718158 MASTERS DONUTS INC                           VISTA                                                                                                                  BAYAMON             PR           00957
   314861 Masters, Mates & Pilots (ILA)                Iglesias, Eduardo               Edif ILA, Ste. 914          1055 Marginal Kennedy                                      San Juan            PR           00920
   718159 MASTERTRONICS                                URB COUNTRY CLUB                915 AVE CAMPO RICO                                                                     SAN JUAN            PR           00924
   718160 MASTRO PIZZA PLACES INC                      P O BOX 363924                                                                                                         SAN JUAN            PR           00936‐3924
   314865 MATA BALDERAS MD, LAURA                      REDACTED                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MATADERO Y PROC LA
   718161 EXPERIMENTAL                                 PO BOX 1476                                                                                                            LAJAS               PR           00667
   718162 MATAR ABED MALAGON                           PO BOX 1026                                                                                                            LAS PIEDRAS         PR           00771
   718164 MATCOMM CORP                                 P O BOX 3906                                                                                                           CAROLINA            PR           00984‐3906



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  718165 MATCOR INC                                   PO BOX 2507                                                                                                      GUAYNABO          PR         00970‐2507
  718166 MATECO INC                                   PO BOX 1101                                                                                                      BAYAMON           PR         00960
  314878 MATEI LOUIS MD, JORGE                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   314880 MATEO AIR CONDITIONING INC                  PO BOX 8160                                                                                                      PONCE             PR         00732‐8160

   314904 MATEO CARMONA ALEJANDRO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   314939 MATEO GARZON TORQUINO                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   314946 MATEO GUANTE, JUANA                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718169 Mateo J. De Jesus Arroyo                    Bda. Ferran #35 Calle B                                                                                          Ponce                        00731

   314956 MATEO LOPEZ MD, MANUEL E  REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718170 MATEO LOPEZ REYES         BDA NUEVA                                    22 CALLE MALAVE                                                                       CAYEY             PR         00736
   314963 MATEO LUNA, ROSA A        REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   314987 MATEO MONTALVO PABON      REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MATEO MONTE DE OCA ANDRES
   314989 R                         REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718171 MATEO PEREZ               URB LOIZA VALLEY                             F 230 CALLE GIRASOL                                                                   CANOVANAS         PR         00729
   315049 MATEO RODRIGUEZ ORTIZ     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  1420508 MATEO RODRIGUEZ, JOSE     LYDIA APONTE MALAVE                          CALLE NUNEZ ROMEU #5                                                                  CAYEY             PR         00736
   718172 MATEO TERRASA DELGADO     PO BOX 70250                                                                                                                       SAN JUAN          PR         00936
   718174 MATEO VELEZ SANCHEZ       URB LOIZA VALLEY                             575 CALLE BEGONIA                                                                     CANOVANAS         PR         00729
   315139 Mateo, Ruben Guevara      REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

          MATERIALES CHARACTERIZATION
   315144 CENTER INC                  PO BOX 21972                                                                                                                     SAN JUAN          PR         00931‐1972
          MATERNAL FETAL MEDICINE
   315145 AND GYNECOLOGY CTR          PO BOX 19450                               FERNANDEZ JUNCOS STATION                                                              SAN JUAN          PR         00909
   315151 MATHEAW SEDA PAGAN          REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MATHEMATICA POLICY
   315152 RESEARCH INC                1100 1ST STREET                            NE 12TH FLOOR                                                                         WASHINGTON        DC         20002‐4221
   718175 MATHEW J MORAN              6 CONDADO AVE                                                                                                                    SAN JUAN          PR         00907
   718176 MATHEW J. WALDRON           CORAL BEACH TOWER                          I APT 1815                                                                            CAROLINA          PR         00979
   315164 MATHEW MORALES VARGAS       REDACTED                                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   315166 MATHEW RODRIGUEZ SERRANO REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   315170 MATHEWS AMENGUAL ORTIZ       REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718177 MATHEWS RUSSELL A            87 CALLE WING                                                                                                                   AGUADILLA         PR         00603
   315179 MATIAS A FERNANDEZ LOPEZ     REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   315195 MATIAS ALVAREZ, ANA D        REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MATIAS E ARROYO / THEOPHILUS
   718178 ART GLASS                    65 CALLE MAC ARTHUR SUR                                                                                                         GUAYAMA           PR         00784‐0684
   315271 MATIAS FELICIANO, JESUS      REDACTED                                  REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   315274 MATIAS FERNANDEZ FIGUEROA                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718180 MATIAS FINE FURNITURE                       PO BOX 1996                                                                                                      BAYAMON           PR         00960
   718181 MATIAS JOSE BLAZEVIC                        TIERRA ALTA II             L‐2 CAVILANES                                                                         GUAYNABO          PR         00969
  1420509 MATÍAS LUGO, DAVID                          ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                                                            HORMIQUEROS       PR         00660‐0873
   315316 MATIAS MALAVE MD, JULIO M                   REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   315363 MATIAS MORALES, KEYLA                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   315366 MATIAS MULERO VARGAS                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  1420510 MATIAS OTERO, MILDRED                       JAMES VELEZ                PO BOX 1327                                                                           CABO ROJO         PR         00623
   315398 MATIAS PEREZ, ANA I                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  315415 MATIAS PINEIRO MEDINA                        REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  315420 MATIAS R RIVERA TOLEDO                       REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  315432 MATIAS REYES, MILAGROS                       REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  315433 MATIAS RIVERA, AIDA E                        REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  315481 MATIAS ROVIRA, MARIA V                       REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  315489 MATIAS SALAS, ADA M                          REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718183 MATIAS SANTIAGO                              URB SANTA JUANITA      542 CALLE GIOCONDA                                                               BAYAMON           PR         00956
  315498 MATIAS SANTIAGO SAAVEDRA                     REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  315564 MATIEL RODRIGUEZ COLON                       REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718185 MATILDA SAEZ NATAL                           BO JUAN GONZALEZ       APT 1163                                                                         ADJUNTAS          PR         00601
  315573 MATILDE A PERDOMO MARTE                      REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718188 MATILDE AGUILAR VELEZ                        HC 01 BOX 10903                                                                                         GUAYANILLA        PR         00656‐9724

   315574 MATILDE ALBALADEJO SANTIAGO REDACTED                               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   315575 MATILDE ALMODOVAR ACOSTA                    REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   315576 MATILDE APONTE PABON                        REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718186 MATILDE ARROYO                              P O BOX 1391                                                                                            JAYUYA            PR         00664
   315577 MATILDE AVILES CAQUIAS                      REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   315578 MATILDE AVILES VELEZ                        REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718192 MATILDE BAEZ SANCHEZ                        HC 03 BOX 7050                                                                                          GUAYNABO          PR         00971
   315579 MATILDE BARRETO AROCHO                      REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   315580 MATILDE CASTILLO TORRES                     REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   315581 MATILDE COLLAZO VIERA                       REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718194 MATILDE COLON CUEVAS                        CALLE BOLIVAR          706 APT D                                                                        SAN JUAN          PR         00909
   315582 MATILDE COLON NOVOA                         REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718195 MATILDE CRUZ NEGRON                         HC 07 BOX 2697                                                                                          PONCE             PR         00731‐9607

   718196 MATILDE DE JESUS VILLANUEVA RES ZENO GANDIA                        EDIF A 3 APT 77                                                                  ARECIBO           PR         00612
                                      VILLA GRILLASCA K1B VIRGILIO
   718198 MATILDE DIAZ RIVERA         BRAGGI                                                                                                                  PONCE             PR         00731
   718200 MATILDE FEBUS ORTIZ         PO BOX 659                                                                                                              NARANJITO         PR         00719
   315583 MATILDE FILOMENO RIVERA     REDACTED                               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   718187 MATILDE GARCIA DE PACHECO                   HC 55 BOX 9074                                                                                          CEIBA             PR         00735
   315584 MATILDE GARCIA FEBO                         REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   718201 MATILDE GONZALEZ DE PABEY                   635 EAST 12TH          NUM 5 F NEW YORK                                                                 NEW YORK          NY         10009
   718202 MATILDE GONZALEZ DEGRO                      COND DE DIEGO 444      APTO 405                                                                         SAN JUAN          PR         00923

   315586 MATILDE HERNANDEZ AROCHO                    REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   315587 MATILDE HERNANDEZ NARVAEZ                   REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718203 MATILDE IGLESIAS CURBELO                    485 CALLE RAMAL 6792                                                                                    QUEBRADILLAS      PR         00678
   315588 MATILDE IRIARTE SANCHEZ                     REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   315589 MATILDE JIMENEZ NU¥EZ                       REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   315590 MATILDE JUSTINIANO BARBOSA                  REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   315591 MATILDE MALDONADO                           REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   315593 MATILDE MARTINEZ MATOS                      REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718205 MATILDE MEDERO FAJARDO                      107 CALLE AMERICA                                                                                       MAYAGUEZ          PR         00680
   315594 MATILDE MEDINA                              REDACTED               REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718206 MATILDE MELENDEZ MATIAZ                     HC 01 BOX 23216                                                                                         CABO ROJO         PR         00623‐9724



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  718207 MATILDE MONTES ROSARIO                       URB FAIRVIEW                   1932 CALLE PEDRO MEJIAS                                                               SAN JUAN             PR         00926
  315595 MATILDE MUNIZ TROCHE                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   315597 MATILDE NADAL DE VIDAL, INC.                MSC 6152 ESTACION 1                                                                                                  BAYAMON              PR         00960‐6152
   315598 MATILDE NUNEZ JIMENEZ                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   718209 MATILDE OCASIO RODRIGUEZ                    HC 1 BOX 8526                                                                                                        SAN GERMAN           PR         00683‐9715
   315599 MATILDE ORTIZ HERNANDEZ                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   718210 MATILDE PABON COSME                         25 AMERICA ESQ FLORES                                                                                                SAN JUAN             PR         00907
   718211 MATILDE PADIN ALVAREZ                       PARCELAS TERRANOVA             BUZ 133 CALLE 8                                                                       QUEBRADILLAS         PR         00678
   718212 MATILDE PAGES FLORES                        BDA BELGICA                    2511 CALLE GRAN VIA                                                                   PONCE                PR         00717‐1632
   315600 MATILDE PENA SEGARRA                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   315601 MATILDE PEREZ ROSA                          REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   315604 MATILDE RAMOS VIRUET                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   315605 MATILDE RIOS MARTINEZ                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   718214 MATILDE RIVERA HUERTAS                      SAN SOUCIN COURT               B 13 CALLE 2                                                                          BAYAMON              PR         00957
   718215 MATILDE RIVERA ORTIZ                        URB ROSA MARIA                 F 5 CALLE 5                                                                           CAROLINA             PR         00985
   718217 MATILDE RODZ LLANOS                         AVE. PUERTO RICO #1920                                                                                               SAN JUAN             PR         00916
   718218 MATILDE ROLDAN VENANCIO                     VILLA BLANCA                   32 CALLE RUBI                                                                         CAGUAS               PR         00725
   315606 MATILDE ROMAN MUNOZ                         REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   315607 MATILDE ROSADO APONTE                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MATILDE SAAVEDRA
   315608 BETANCOURT                                  REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   718220 MATILDE SANCHEZ PABON                       HC 04 BOX 7151                                                                                                       JUANA DIAZ           PR         00795‐9602
   718221 MATILDE SANTIAGO                            SAN JUAN BATISTA               51 EDIF B PDA 24                                                                      SAN JUAN             PR         00908
   315609 MATILDE SANTOS                              REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   718222 MATILDE SERRANO ALICEA                      URB ALTAMIRA BUZON 89                                                                                                LARES                PR         00669
   718223 MATILDE SERRANO SOTO                        PO BOX 916                                                                                                           NARANJITO            PR         00719
   315610 MATILDE T PEREZ ROSA                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   718225 MATILDE TIRADO RODRIGUEZ                    RR 1 BOX 10445                                                                                                       TOA ALTA             PR         00953

   315611 MATILDE TORRENS QUINONES                    REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   718226 MATILDE TORRES MIRANDA                      HC 1 BOX 27158                                                                                                       VEGA BAJA            PR         00693
   315612 MATILDE VAZQUEZ BABA                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   718227 MATILDE VELAZQUEZ ROJAS                     URB VILLAS DE SANTA JUANITA    C 5 CALLE TORRECH FINAL                                                               BAYAMON              PR         00956
   718228 MATILDE VIENTOS NIEVES                      URB SANTA RITA                 1008 CALLE HUMACAO                                                                    SAN JUAN             PR         00925
          MATILDE VIZCARRONDO
   718229 VAZQUEZ                                     BDA GANDIN                     20 CALLE VENUS                                                                        VEGA BAJA            PR         00693
   315614 MATILDE ZAVALA ORTIZ                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

                                                                                     LCDA. WALESKA MARREROPMB
  1420511 MATIS FELICIANO, MERCED                     WALESKA MARRERO MELECIO        183 P. O. BOX 194000                                                                  SAN JUAN             PR         00919‐4000
   718230 MATIZ PROCESAMIENTO                         PDA 20                         305 CALLE CANALS                                                                      SAN JUAN             PR         00907
   718231 MATIZ PROCESAMIENTO INC                     305 CALLE CANALS                                                                                                     SAN JUAN             PR         00907
   315624 MATLA SANTIAGO BURGOS                       REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   718233 MATOS & ASOCIADOS S E                       1100 PONCE DE LEON SUITE 203                                                                                         SAN JUAN             PR         00925
   718234 MATOS & HIJOS                               PO BOX 70003                                                                                                         FAJARDO              PR         00738‐7003
   718235 MATOS & SONS                                P O BOX 156                                                                                                          BARRANQUITAS         PR         00794
                                                                                                                SUITE 3 MARGINAL BY PASS
  1423063 MATOS ACOSTA, LOWEL                         BRENDAIRIN CRUZ                URB. PERLA DEL SUR #2421   CARR. #2                                                   PONCE                PR         00717‐0663
   718236 MATOS AIR CONDITIONING                      HC 1 BOX 7458                                                                                                        CANOVANAS            PR         00729
   315660 MATOS ANDINO, VICTOR N.                     REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  315678 MATOS ARCHILLA, LUIS                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  718237 MATOS AUTO PARTS                             396 CALLE COMERIO                                                                                                   BAYAMON             PR         00959
  718238 MATOS AUTO PARTS INC                         ESQ FOREST HILLS           396 CALLE COMERIO                                                                        BAYAMON             PR         00956
  315718 MATOS BARRETO, EMMA                          REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MATOS BORDONADA MD, FELIX
  315746 V                                            REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

          MATOS CAMACHO, YAMIL, Y                                                CALLE BALDORIOTY D‐3 OFICINA
  1420512 HERNANDEZ GONZALEZ, YANITZA DAMARIS GONZALEZ GONZALEZ                  2‐A URB. PARADIS                                                                         CAGUAS              PR         00725
   315787 MATOS CARDONA, CARMEN       REDACTED                                   REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   315897 MATOS CRUZ MD, ELIZARDO     REDACTED                                   REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   315920 MATOS CRUZ, YOLANDA         REDACTED                                   REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MATOS FERNANDEZ MD,
   315997 NELSON                      REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   316003 MATOS FIGUEROA MD, JORGE    REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1420513 MATOS FUENTES, JUAN LUIS    VICTOR RAMOS RODRIGUEZ                     PO BOX 9465                                                                              CAROLINA            PR         00988‐9465
  1420514 MATOS FUENTES, JUAN LUIS    VICTOR RAMOS RODRIGUEZ                     PO BOX 9465                                                                              CAROLINA            PR         00988‐9465
                                                                                 MANSIONES DE SAN MARTÍN
  1420515 MATOS GALARZA, NORMA I.                     JOSÉ F. AVILÉS LAMBERTY    SUITE 17                                                                                 SAN JUAN            PR         00924‐4586

  1420516 MATOS GARCÍA, RICHARD                       ERIC JESÚS PIJUAN TORRES   2151 AVE. GILBERTO MONROIG                                                               SAN JUAN            PR         00915
   316107 MATOS HERNANDEZ, DALIA                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

  1420517 MATOS HERNÁNDEZ, DANIEL                     SR. DANIEL MATOS HERNÁNDEZ PO BOX 42003                                                                             AIBINITO            PR         00705

  1420518 MATOS HERNÁNDEZ, DANIEL     SR. DANIEL MATOS HERNÁNDEZ                 PO BOX 42003                                                                             AIBINITO            PR         00705
          MATOS IRIZARRY PHD, AMIDCAR
   316132 J                           REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1420519 MATOS IRIZARRY, JORGE       AMALIS TORRES GONZÁLEZ                     PO BOX 11751                                                                             SAN JUAN            PR         00922
   316145 MATOS JIMENEZ, EVELYN       REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   718239 MATOS JOSE                  PARCELAS FALU                              143 CALLE 41                                                                             SAN JUAN            PR         00924
   316175 MATOS LOPEZ MD, WILLIE R    REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   316180 MATOS LUIS, J               REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   316201 MATOS MALAVE MD, JOSE G     REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   316255 MATOS MATOS, AURORA         REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   316280 MATOS MEDINA MD, AMY Y      REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   316300 MATOS MENDEZ, IVONNE        REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   316318 MATOS MILLAN MD, ELBA M     REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MATOS MOQUETE MD, PATRICIA
   316341 E                           REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1420520 MATOS MUÑIZ, ONIX           WILLIAM MARINI ROMAN                       PO BOX 1688                                                                              LARES               PR         00669
   316440 MATOS ORTIZ, MARYORIE       REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   316452 MATOS ORTIZ, YERIMAR A      REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   316497 MATOS PEREZ MD, BRENDA      REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   316541 MATOS QUINONES, ARACELYS    REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   718240 MATOS RAFAEL                                URB EL VEDADO              235 CALLE RODRIGO DE TRIANA                                                              SAN JUAN            PR         00918
   316566 MATOS RAMOS, MILAGROS                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   718241 MATOS RIVERA EMILIA                         A28 REPTO FELICIANA                                                                                                 MAYAGUEZ            PR         00680
                                                                                 262 URUGUAY CONDOMINIO
  1420521 MATOS RIVERA, LINNETTE                      CARLOS J. MORALES BAUZA    ALTAGRACIA SUITE C3                                                                      SAN JUAN            PR         00917‐2017

   316829 MATOS SANTIAGO MD, WILLIAM REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  316835 MATOS SANTIAGO, MARIA M.                     REDACTED                         REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

  1420522 MATOS SUAREZ, WANDA                         ERNESTO JOSE MIRANDA MATOS PO BOX 361058                                                                                  SAN JUAN             PR         00936‐1058
   718242 MATOS TIRE                                  P O BOX 173                                                                                                               DORADO               PR         00646
  1420523 MATOS TORRES, JOSÉ                          DIEGO LEDEE BAZAN          PO BOX 898                                                                                     GUAYAMA              PR         00785
                                                                                 PMB 248 LA CUMBRE 273 SIERRA
  1420524 MATOS, EFRAIN                               EDWARD D. HILL TOLLINCHE   MORENA                                                                                         SAN JUAN             PR         00926

  1420525 MATOS, JOSE                                 MIGUEL A. OLMEDO                 PMB WINSTON CHIRCHILL #138                                                               SAN JUAN             PR         00926‐6013
  1420526 MATOS, MARILYN                              YADIRA COLÓN ALICEA              PO BOX 618                                                                               COROZAL              PR         00783
          MATOSANTOS COMMERCIAL
   317014 CORP                                        PO BOX 11925                                                                                                              SAN JUAN             PR         00922
          MATOSANTOS COMMERCIAL
   317015 CORP/ CABO                                  CARIBE SOLAR LLC                 PO BOX 4435                                                                              VEGA BAJA            PR         00694
   317020 Matos‐Torres, Carmen                        REDACTED                         REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   317022 MATRESS SELECTOS                            CARR. 129 AVE HOSTOS 502                                                                                                  ARECIBO              PR         00612
          MATRIX ENVIROMENTAL
   718244 SERVICES LLC                                1601 BLAKE STREET SUITE 200                                                                                               DENVER               CO         80202
          MATRIX INTERNET DBA CARIBE
   718245 NET                                         P O BOX 11278                                                                                                             SAN JUAN             PR         00910‐2378
          MATSA BUSINESS FORMS &
   317026 PROFESIONAL ADV                             URB. ROOSEVELT                   353 J.R. ACOSTA ST.                                                                      SAN JUAN             PR         00918‐2338
   718246 MATSA MARTINEZ COLON                        COND GALERIA I                   APT 1402                                                                                 SAN JUAN             PR         00918
          MATSUSHITA ELECTRIC OF PR
   718247 INC.                                        PO BOX 184                                                                                                                CAGUAS               PR         00726

   317057 MATTA FONTANET MD, EVELYN                   REDACTED                         REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MATTA RODRIGUEZ MD,
   317094 GLORIMAR                                    REDACTED                         REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   718249 MATTA SERVICE STA                           P O BOX 19501                                                                                                             SAN JUAN             PR         00919

   718250 MATTEI BEST HOSPITAL SUPPLY                 PARKVILLE SUR                    B 5 H CALLE GARFIELD                                                                     GUAYNABO             PR         00969
   317143 MATTEI DIAZ MD, JOSE A                      REDACTED                         REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   317151 MATTEI LOUIS MD, JORGE                      REDACTED                         REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   718251 MATTEI SERVICE STATION                      PO BOX 9024275                                                                                                            SAN JUAN             PR         00902‐4275
   317205 MATTEI SERVICES STATION                     163 CALLE MUNOZ RIVERA                                                                                                    GUAYANILLA           PR         00656
                                                      CRISTINA DÍAZ ATIENZA E ISABEL
  1420527 MATTEI, ADALBERTO                           BERRÍOS                          PO BOX 95 VICTORIA STATION                                                               AGUADILLA            PR         00605
          MATTEL LATIN AMERICA EXPORT
   317214 INC                         BUCHANAN OFFICE CENTER                           40 CARR 165 SUITE 112                                                                    GUAYNABO             PR         00968
   718252 MATTEW R RAMBO              ROOSEVELT ROADS                                  21 WASP CIRCLE                                                                           CEIBA                PR         00735

   718253 MATTEWS BOOK STORE                          URB SAGRADO CORAZON              352 AVE SAN CLAUDIO APT 213                                                              SAN JUAN             PR         00926
   317217 MATTEY TORRES, DAMARIS                      REDACTED                         REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   317218 MATTHEW B SANTANA RIVERA                    REDACTED                         REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   317219 MATTHEW BENDER                              P O BOX 7247‐0178                                                                                                         Philadelphia         PA         19170‐0178
                                                      PMB 409 405 AVE ESMERALDA
   718255 MATTHEW GAGE DIAMOND                        STE 2                                                                                                                     GUAYNABO             PR         00969‐4457
   317220 MATTHEW KAUFER MEDINA                       REDACTED                         REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   718256 MATTHEW KELLY SLATER                        P O BOX 9022828                  OLD SAN JUAN                                                                             SAN JUAN             PR         00902‐2828
          MATTHEW L LEBRON
   317221 MALDONADO                                   REDACTED                         REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  718257 MATTHEW N DAVIS JR                           BO OBRERO                   514 CALLE 10                                                                            SAN JUAN             PR           00915
         MATTHEW WALKER
  317223 OMPREHENSIVE HEALTH CTR                      1501 HERMAN ST                                                                                                      NASHVILLE            TN           37208
  317245 MATTRESS & MATTRESS                          CALLE ULISES MARTINEZ 52                                                                                            HUMACAO              PR           00791
  317247 MATTRESS DEPOT INC                           1361 OLGA ESPERANZA                                                                                                 SAN JUAN             PR           00924
  317248 MATTRESS DISCOUNT CENTER                     CARR 2 KM 45.0                                                                                                      MANATI               PR           00674

   317249 MATTRESS SELECTOS                           CARR 129 AVE DE HOSTOS # 502                                                                                        ARECIBO              PR           00612
   718258 MATTRESSES TAINO                            PO BOX 282                                                                                                          GUAYNABO             PR           00970‐0282
   317084 MATTY GARCIA NUNEZ                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
          MATUNDAD MARASIGAN MD,
   317250 MITCHELL                                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   317253 MATUSZEWSKI PHD, JOHN                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   718259 MATYAS A SZORENYI PETI                      URB TERRANOVA               F 8 CALLE 5                                                                             GUAYNABO             PR           00969
          MAUD WADESTRANDT
   718261 DUQUELLA                                    COND EL MONTE NORTE         APT PH ‐ C                                                                              SAN JUAN             PR           00918
   718262 MAUEL FONT ORONOZ                           P O BOX 112                                                                                                         SAN SEBASTIAN        PR           00685
   718263 MAUEL NAZARIO GONZALEZ                      HC 2 BOX 18525                                                                                                      GURABO               PR           00778
   317257 MAUNABO BUS SERVICE                         PO BOX 1299                                                                                                         MAUNABO              PR           00707
   317258 MAUNABO BUS SERVICES                        PO BOX 956                                                                                                          MAUNABO              PR           00707
   317259 MAUNABO CAR CARE CENTER                     25 CALLE MUNOZ RIVERA                                                                                               MAUNABO              PR           00707
   718264 MAUNABO COMERCIAL                           HC 1 BOX 4152                                                                                                       MAUNABO              PR           00707
   718265 MAUNABO MEDICAL SUPPLIES                    WONDERVILLE                 38 CALLE NEPTUNO                                                                        TRUJILLO ALTO        PR           00976
          MAUNABO WILD CRABS TEAM
   317260 CLUB INC                                    7 CALLE MUNOZ RIVERA                                                                                                MAUNABO              PR           00707
   317261 MAUNA‐COOP                                  P.O. BOX 127                                                                                                        MAUNABO              PR           00707‐0127
   317267 MAURA COTTE RODRIGUEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   718268 MAURA CUEVAS MENDEZ                         URB LAS LOMAS               C/O 831 ALTOS CALLE 3 S O                                                               SAN JUAN             PR           00921
   718266 MAURA FUENTES DE PAZ                        URB BELLA VISTA             T 167 CALLE 22                                                                          BAYAMON              PR           00957‐6726
   317268 MAURA I MARTINEZ TORRES                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   718269 MAURA M AGUASIVA DIAZ                       PO BOX 20025                                                                                                        SAN JUAN             PR           00928
   718270 MAURA SANTIAGO DUCOS                        890 AVE ASHFORD APT 2H                                                                                              SAN JUAN             PR           00907
   718272 MAUREEN BEN VILLANUEVA                      URB FONTAS                  101 CALLE ALBARADO                                                                      BAYAMON              PR           00910
   317297 MAUREEN CALERO                              REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   317298 MAUREEN DIAZ GARCIA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   718273 MAUREEN L MARCHANY TORO                     2 VILLA BOQUERON MARINA                                                                                             BOQUERON             PR           00622

   718275 MAUREEN MALDONADO REYES                     COND ROYAL                  273 CALLE HONDURAS APT 602                                                              SAN JUAN             PR           00917
   317299 MAUREEN OCASIO SANTIAGO                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   718277 MAUREEN SERRA DIAZ                          HC 4 BOX 5906                                                                                                       COROZAL              PR           00783
   317300 MAURELICE MOTA VELEZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   718279 MAURI DE JESUS RIVERA                       URB NOTRE DAME              B 25 CALLE SAN LUCAS                                                                    CAGUAS               PR           00725

   317301 MAURICE CHANBERS RAMIREZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   317302 MAURICE PORTILLA DIAZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
                                                                                  1306 AVE MONTE CARLO APT
   718280 MAURICIO A LIZAMA                           COND PORTAL DE LA REINA     154                                                                                     SAN JUAN             PR           00924

   718281 MAURICIO BERMUDEZ GOMEZ                     T 19 CALLE LAREDO           VISTA BELLA                                                                             BAYAMON              PR           00956
   718282 MAURICIO CAMACHO LUGO                       147 BO ARENAS               BOX 383                                                                                 GUANICA              PR           00653
          MAURICIO CHIROPRACTIC
   317303 GROUP                                       4747 SOUTH CONWAY RD                                                                                                ORLANDO              FL           32812



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  718283 MAURICIO CONEJO                              1640 CALLE URAL                                                                                           SAN JUAN            PR         00926
  317305 MAURICIO JIMENEZ BENZANT                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MAURICIO M MALDONADO
  317306 RIVERA                                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   317307 MAURICIO MERCADO ALCARAZ                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   317308 MAURICIO PASCUAL GARZON                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   718285 MAURICIO RIVERA COLON                       URB ANA LUISA           A 3 CALLE 1                                                                       CAYEY               PR         00736
   317309 MAURICIO ROSADO                             REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   317310 MAURICIO ROSADO RIVERA                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   718287 MAURICIOS BAKERY                            PO BOX 3001‐169                                                                                           COAMO               PR         00769
   317312 MAURIEN AYALA FIGUEROA                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   317316 MAURO E GAMUGLIA MARTINEZ REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   718288 MAURO GENERAL CONTRUCTION URB ROOSEVELT                             525 ANTOLIN NIN                                                                   SAN JUAN            PR         00917
   317317 MAURO INC                 2169 CALLE MELEARY                                                                                                          SAN JUAN            PR         00913
   317318 MAURO IRANZO GONZALEZ     REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   718291 MAURO PUTIRI DE PAOLA     304 CALLE SAN FRANCISCO                                                                                                     SAN JUAN            PR         00901
   317321 MAURO, INC.               CALLE PUIGDOLLER #146                                                                                                       SAN JUAN            PR         00911
   317342 MAURYNE RIVERA REYES      REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   317343 MAUTHE MD , ROBERT W      REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MAV DEVELOPMENT & GENERAL
   317344 CONTRACTOR INC            P. O. BOX 8990                                                                                                              PONCE               PR         00732‐0000
          MAV DEVELOPMENT GENERAL
   317345 CONTRACTOR                P O BOX 8990                                                                                                                PONCE               PR         00732‐8990
   317346 MAVELING MENDEZ SOLER     REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   317347 MAVELYN PEREZ VICENTY     REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MAVELYN RODRIGUEZ
   718293 GONZALEZ                  HC 8 BOX 187                                                                                                                PONCE               PR         00731‐9703
   317348 MAVER RIVAS MUNOZ         REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   718294 MAVIAEL GONZALEZ SANTIAGO                   URB ANTIGUA ENCANTADA   LC 46 VIA ATENAS                                                                  TRUJILLO ALTO       PR         00976
   718295 MAVILIA MORENO ROSADO                       HC 2 BOX 6604                                                                                             RINCON              PR         00677
   317350 MAVIS A. BIGFORD KERR                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   317351 MAVS UNIFORMS                               PO BOX 8787                                                                                               PONCE               PR         00932
   718297 MAX A CHOW CHANG                            PO BOX 9023054                                                                                            SAN JUAN            PR         00902‐3054
   317353 MAX A ORTIZ LAO                             REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   317354 MAX ACEVEDO ANDINO                          REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   317355 MAX ALERS LOPEZ MD, CARLO                   REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   718299 MAX C CABEZA ELIAS                          RR 2 BOX 7229                                                                                             TOA ALTA            PR         00953
   718300 MAX CHEMICAL INC                            PO BOX 363841                                                                                             SAN JUAN            PR         00936‐3841
   718301 MAX E RAMERY                                COLINAS METRO II        T 6 MONTELLANO                                                                    GUAYNABO            PR         00969
   718302 MAX FIGUEROA MARQUEZ                        MINILLAS STATION        PO BOX 40267                                                                      SAN JUAN            PR         00940
   317357 MAX GINORIO DE JESUS                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                              3180 AVE SIGO DE LOS
   718303 MAX INTERNATIONAL                           SUITE 417               CABALLEROS                                                                        PONCE               PR         00731
   317359 MAX PEREZ BOURET                            REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   317360 MAX PEREZ PRESTON                           REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   718305 MAX PEREZ ROTULOS                           230 CALLE PESANTE                                                                                         SAN JUAN            PR         00912
   317363 MAX PRO                                     PO BOX 194574                                                                                             SAN JUAN            PR         00919
   718296 MAX SANTIAGO                                CAPARRA TERRACE         1418 CALLE 4SO                                                                    SAN JUAN            PR         00921



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  718309 MAX TORRES DIAZ                              VILLA CAROLINA        179 39 CALLE 439                                                                         CAROLINA            PR         00918
  718310 MAX TOSADO                                   CAPARRA HEIGHTS       1471 CALLE ELIDA                                                                         SAN JUAN            PR         00920
  317368 MAXELL PADILLA ALNSO                         REDACTED              REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                            B 6 AVE GAUTIER BENITEZ CARR
   718311 MAXI BODY AUTO GLASS                        VILLAS DEL REY        1                                                                                        CAGUAS              PR         00725
   317369 MAXI INK LLC                                CALLE COLON #182                                                                                               AGUADA              PR         00602
   718312 MAXI PRINTING                               P O BOX 1352                                                                                                   VEGA BAJA           PR         00694
   317370 MAXI SERVICE AL INC                         PO BOX 1766                                                                                                    BAYAMON             PR         00960‐1766
   718314 MAXI‐AIDS                                   42 EXECUTIVE BLVD     PO BOX 3209                                                                              FARMINGDALE         NY         11735
   718316 MAXILEE RUIZ OSORIO                         HC 11 BOX 12416                                                                                                HUMACAO             PR         00791‐9419
   317371 MAXIMA D RIOS RODRIGUEZ                     REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   317372 MAXIMA INTERNATIONAL                        URB PEREZ MORIS       74 CALLE MAYAGUEZ                                                                        SAN JUAN            PR         00917

   718320 MAXIMA INTERNATIONAL CORP                   115 CALLE PARIS                                                                                                SAN JUAN            PR         00917
          MAXIMA INTERNATIONAL SALES
   317373 CORP                                        115 CALLLE PARIS                                                                                               SAN JUAN            PR         00917
          MAXIMA MIRANDA DE
   718321 MARTINEZ                                    PO BOX 970                                                                                                     OROCOVIS            PR         00720
   718322 MAXIMA VELAZQUEZ                            HC 1 BOX 6131                                                                                                  LAS PIEDRAS         PR         00771970
          MAXIMILIANO GONZALEZ
   718323 CORDOVA                                     RR 1 BOX 44224                                                                                                 SAN SEBASTIAN       PR         00685
          MAXIMILIANO H CONDIS
   718324 ESPINOSA                                    ALTURAS DEL RIO       D 16 CALLE 4                                                                             BAYAMON             PR         00959
   317375 MAXIMILIANO LUNA MIRABAL                    REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MAXIMILIANO MARTINEZ
   317376 JIMENEZ                                     REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   718325 MAXIMILIANO PEREZ COLLAZOS DORADO DEL MAR                         M 25 CALLE ESTRELLA DEL MAR                                                              DORADO              PR         00646
          MAXIMILIANO PIMENTEL / SILVIA
   317377 IMBERT                        REDACTED                            REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   317378 MAXIMILIANO RIVERA FERRER     REDACTED                            REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MAXIMILIANO RODRIGUEZ
   317379 GONZALEZ                      REDACTED                            REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   718326 MAXIMILIANO TRUJILLO          BORINQUEN GARDENS                   SKY TOWER 1 APT 3 H                                                                      SAN JUAN            PR         00926

   718329 MAXIMILIANO TRUJILLO ORTEGA SKI TOWER 1                           APTO 3H                                                                                  SAN JUAN            PR         00926

   317380 MAXIMINA A VARGAS PAULINO                   REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   718330 MAXIMINA ACEVEDO CRUZ                       BO CAMASEYES          HC 01 BOX 13158                                                                          AGUADILLA           PR         00603 9325
   317381 MAXIMINA BERNARD COTO                       REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   317382 MAXIMINA CORREA ALVARADO                    REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   317383 MAXIMINA CORREA RODRIGUEZ                   REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   317384 MAXIMINA GARCIA FIGUEROA                    REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   718334 MAXIMINA LOPEZ LOPEZ                        BO AIBONITO           HC 01 BOX 11499                                                                          SAN SEBASTIAN       PR         00685
   718335 MAXIMINA LUGO SANCHEZ                       RR 1 BOX 3959                                                                                                  MARICAO             PR         00606
   317385 Maximina Morales Arroyo                     REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   317386 MAXIMINA MUNOZ DIAZ                         REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   317387 MAXIMINA OCASIO MORALES                     REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                            BOX 69 CALLE SAN JOSE BO
   718337 MAXIMINA PEREZ CRUZ                         SECTOR EL FARO        BORINQUEN                                                                                AGUADILLA           PR         00603
   317389 MAXIMINA REINOSA                            REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  718341 MAXIMINA ROSA ARROYO                         VILLA ESPERANZA 1            A 108 CALLE PROGRESO                                                                     CAROLINA            PR           00985
         MAXIMINA SANTIAGO
  317390 HERNANDEZ                                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
  718344 MAXIMINA TORRES LOPEZ                        CARR 962 K 2 H2              BO CAMBALACHE                                                                            CANOVANAS           PR           00729
  718345 MAXIMINA TORRES MOLINA                       154 CALLE CALIFORNIA                                                                                                  PONCE               PR           00731
                                                                                   SUITE 929 AVE. EMILIANO POL
  1420528 MAXIMINA VARGAS, PAULINO                    JUAN MORALES                 497 LAS CUMBRES                                                                          SAN JUAN            PR           00926
   317392 MAXIMINO BAEZ OQUENDO                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317393 MAXIMINO CARDONA RAMOS                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   718350 MAXIMINO COLON MERCED                       VILLA CAROLINA               15 BLQ 33 CALLE 11                                                                       CAROLINA            PR           00985
   718351 MAXIMINO COMAS BAEZ                         PO BOX 562                                                                                                            SABANA GRANDE       PR           00637
                                                      OFICINA DE SUPERINTENDENTE
   718352 MAXIMINO CRUZ DELGADO                       ESCOLAR                      APARTADO 6                                                                               YABUCOA             PR           00767
   718353 MAXIMINO CUEVAS RIVERA                      HC 1 BOX 10054                                                                                                        SAN SEBASTIAN       PR           00685
   718354 MAXIMINO DIAZ HERNANDEZ                     URB GLENVIEW GARDENS         P E CALLE E 11                                                                           PONCE               PR           00730

   317394 MAXIMINO DIAZ Y ALI S VARGAS REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   718355 MAXIMINO FALCON CORTES       URB VALENCIA 417                            CALLE SARRACIN                                                                           SAN JUAN            PR           00923
   718356 MAXIMINO FLORES ORTIZ        BO BEATRIZ                                  HC 04 BOX 45274                                                                          CAGUAS              PR           00727‐9613

   718357 MAXIMINO HERNANDEZ TORRES HC 3 BOX 9818                                                                                                                           BARRANQUITAS        PR           00674
   317395 MAXIMINO LEON CINTRON     REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MAXIMINO MALDONADO
   317396 MEDINA                    REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317397 MAXIMINO MIRANDA COLON    REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317398 MAXIMINO MUNIZ ALVAREZ    REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317399 MAXIMINO ORTEGA TORRES    REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317400 MAXIMINO PACHECO OTERO    REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317402 MAXIMINO RAMOS VADI       REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317403 MAXIMINO RIVERA FIGUEROA  REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   718360 MAXIMINO RIVERA LUQUIS                      9 CALLE INTENDENTE RAMIREZ                                                                                            CAGUAS              PR           00725
   718361 MAXIMINO RIVERA RAMOS                       HC 2 BOX 16850                                                                                                        GURABO              PR           00778

   317404 MAXIMINO RIVERA RODRIGUEZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   718362 MAXIMINO RODRIGUEZ DE JESUS URB LOS ANGELES                              1 CALLE CG                                                                               YABUCOA             PR           00767
   317405 MAXIMINO ROLDAN CRESPIN     REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   718363 MAXIMINO ROMAN GONZALEZ                     RES JARDIN DE MAYAGUEZ       EDIF 2 APT 204                                                                           MAYAGUEZ            PR           00680
   718364 MAXIMINO RUIZ ROSAOD                        RES JUAN FERRER              EDIF 2 APT 11                                                                            MARICAO             PR           00606

   718365 MAXIMINO SANCHEZ SANCHEZ                    URB HACIENDA DE CARRAIZO     J 5 CALLE 4                                                                              SAN JUAN            PR           00926
   718366 MAXIMINO SANTIAGO RIVERA                    HACIENDAS TAURINAS           C 10 CALLE D                                                                             CAYEY               PR           00736
   317406 MAXIMINO SOLER APONTE                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   718368 MAXIMINO SOTO MENDEZ                        HC 02 BOX 10326                                                                                                       MOCA                PR           00676
   317407 MAXIMINO TORRES SALCEDO                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317408 MAXIMINO TORRES VAZQUEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   718373 MAXIMO ABRAHAM ALVARADO BO SAN LUIS                                      31 CALLE PALESTINA                                                                       AIBONITO            PR           00705

   317410 MAXIMO ADAMES RODRIGUEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED




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                                    PO BOX 11855 FERNANDEZ
   718374 MAXIMO AMABLE SUAREZ BABA JUNCOS STA                                                                                                                       SAN JUAN            PR           00910‐3855
   718375 MAXIMO BLONDET            URB EXT MILAVILLE                       206 CALLE PAJUIL                                                                         SAN JUAN            PR           00926‐5122
   317411 MAXIMO CERAME‐VIVAS       REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317412 MAXIMO COLON PINEDA       REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317413 MAXIMO COLON REYES        REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718376 MAXIMO CRUZ DELGADO       PO BOX 156                                                                                                                       YABUCOA             PR           00767
   718377 MAXIMO CUEVAS ROMAN       HC 1 BOX 4739                                                                                                                    CAMUY               PR           00627
   718378 MAXIMO DELGADO CARRION    URB ROLLING HILLS                       G 251 CALLE PHILADELHIA                                                                  CAROLINA            PR           00987
   317415 MAXIMO DIAZ COLON         REDACTED                                REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   718371 MAXIMO DIAZ JEREZ                           URB VILLA PRADES      690 CALLE ARISTIDES CHAVIER                                                              SAN JUAN            PR           00924
   718380 MAXIMO DIAZ RESTO                           URB CIUDAD MASSO      C 6 CALLE 2                                                                              SAN LORENZO         PR           00754‐3614
   317416 MAXIMO E MARTINEZ                           REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718382 MAXIMO FLORIAN RAMIREZ                      URB MONTEHIEDRA       143 CALLE GUARAGUAO                                                                      SAN JUAN            PR           00926
   718383 MAXIMO GRAU BRENES                          PO BOX 9065752                                                                                                 SAN JUAN            PR           00906‐5752
   718384 MAXIMO GUZMAN                               BO CAIMITO ALTO       PO BOX 10382                                                                             SAN JUAN            PR           00922
   718385 MAXIMO GUZMAN SANCHEZ                       SECTOR CAIMITO ALTO   BOX 10649                                                                                SAN JUAN            PR           00926

   718386 MAXIMO HERNANDEZ TORRES                     HC 03 BOX 9818                                                                                                 BARRANQUITAS        PR           00674
   718387 MAXIMO J RAMIREZ AYALA                      PARC MONTE BELLO      33 CALLE HORTENCIA                                                                       RIO GRANDE          PR           00745
   718388 MAXIMO L. GONZALEZ FRESSE                   P O BOX 1718                                                                                                   UTUADO              PR           00641
   317417 MAXIMO LOPEZ MATOS                          REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718389 MAXIMO LOPEZ RODRIGUEZ                      PO BOX 191405                                                                                                  SAN JUAN            PR           00919
   718391 MAXIMO LOZANO RAMOS                         HC 01 BOX 27364                                                                                                QUEBRADA ARENA      PR           00693
   718392 MAXIMO M VERA RIVERA                        URB VALLE TOLIMA      D 27 CALLE MORALES                                                                       CAGUAS              PR           00725
   718393 MAXIMO MARTINEZ COSME                       P.O. BOX 11525                                                                                                 SAN JUAN            PR           00922
   317418 MAXIMO MENDEZ PITRE                         REDACTED              REDACTED                       REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317419 MAXIMO MOLINA FRAGOSA                       REDACTED              REDACTED                       REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317420 MAXIMO MOLINA FRAGOSO                       REDACTED              REDACTED                       REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317421 MAXIMO NIEVES OCASIO                        REDACTED              REDACTED                       REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317422 MAXIMO NUNEZ GARAU                          REDACTED              REDACTED                       REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                            130 AVE ALTERIAL HOSTOS APT D‐
   718395 MAXIMO ORTIZ MIRANDA                        COND HATO REY         101                                                                                      SAN JUAN            PR           00918
   718396 MAXIMO PAGAN NATAL                          HC 2 BOX 6167                                                                                                  FLORIDA             PR           00650
          MAXIMO PEREZ ADAMS DBA JM
   718397 HOUSE CARE                                  PO BOX 100                                                                                                     CAGUAS              PR           00726
   718398 MAXIMO PEREZ RODRIGUEZ                      URB SANTA ROSA        14 26 CALLE9                                                                             BAYAMON             PR           00959
   317424 MAXIMO PINA MENDEZ                          REDACTED              REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718399 MAXIMO R CERAME                             URB UNIVERSITY GDNS   258 CALLE INTERAMERICANA                                                                 SAN JUAN            PR           00927

   718400 MAXIMO R. CERAME RODRIGUEZ ET7 CALLE MUNOZ RIVERA                                                                                                          TOA BAJA            PR           00949
   718372 MAXIMO RIVERA BERRIOS      HC 2 BOX 7251                                                                                                                   BARRANQUITAS        PR           00794
   718402 MAXIMO RIVERA CARMONA      6 CALLE DR LOPEZ ESTE                                                                                                           FAJARDO             PR           00738
   718403 MAXIMO RIVERA FELICIANO    PO BOX 10249                                                                                                                    PONCE               PR           00732
          MAXIMO RIVERA MILLAN / RL
   317425 ARMERIA Y DIST             REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317426 MAXIMO RIVERA TORRES       REDACTED                               REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   718404 MAXIMO RODRIGUEZ MALAVE                     HC 01 BOX 3565                                                                                                 AIBONITO            PR           00705

   718405 MAXIMO RODRIGUEZ SANCHEZ                    P O BOX 9066600       PUERTA DE TIERRA STATION                                                                 SAN JUAN            PR           00906‐6600
   317427 MAXIMO SOLAR INDUSTRIES                     PO BOX 3062                                                                                                    AGUADILLA           PR           00605



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  718407 MAXIMO TORRES BATISTA                        PO BOX 21365                                                                                                       SAN JUAN             PR           00928‐1365
  718409 MAXIMO TORRES RIVERA                         703 9 TH AVE APT 1A                                                                                                NEW YORK             NY           10019
  718410 MAXIMO VEGA COLON                            P O BOX 1730                                                                                                       AIBONITO             PR           00705
  718412 MAXIMO VELEZ TORRES                          BRISAS DE TORTUGUERO         694 CALLE RIO CIBUCO                                                                  VEGA BAJA            PR           00693
         MAXIMO VILLALOBOS
  718413 VILLALOBOS                                   HC 2 BOX 8676                                                                                                      CIALES               PR           00638‐9758
  317429 MAXIMUM DC                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
  718414 MAXIMUM LIFT PARTS OF P R                    URB PUERTO NUEVO             A 15 CALLE MATADERO                                                                   SAN JUAN             PR           00922
  317430 MAXIMUM STUDIO CORP                          URB VILLA NEVAREZ            1029 CALLE 18                                                                         SAN JUAN             PR           00927
         MAXIMUN ADVANTAGE
  718415 PROMOTIONS                                   URB HECTOR A PINEIRO         28A CALLE FRANCISCO SEIN                                                              SAN JUAN             PR           00917
         MAXIMUS FEDERAL SERVICES ,
  317431 INC                                          1891 METRO CENTER DRIVE                                                                                            RESTON               PR           0020190

          MAXIMUS GENERAL
   317432 CONTRACTORS & MAINTENANC                    PO BOX 141744                                                                                                      ARECIBO              PR           00614‐0000
   718416 MAXIMUS INC                                 1356 BEVERLY ROAD                                                                                                  MCLEAN               VA           22101

   317433 MAXIMUS MANAGEMENT CORP                     BOX 4956 PMB 767                                                                                                   CAGUAS               PR           00726
   317434 MAXIMUS SERVICES PT                         PMB 747 BOX 4956                                                                                                   CAGUAS               PR           00726
          MAXIN DE P R Y/O ELBODEGON
   718417 GASPAR                                      URB ROOSEVELT                282 AVE FD ROOSEVELT                                                                  SAN JUAN             PR           00918
   317435 MAXINE BROWN VAZQUEZ                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   718418 MAXININA LEBRON LEBRON                      HC 3 BOX 7006                                                                                                      JUNCOS               PR           00777
   718419 MAXIVISION                                  PUERTA DEL SOL MALL NO 54    CARR 2 SUITE 4                                                                        MANATI               PR           00674
          MAXON ENGINEERING SERVICES
   718420 INC                                         PO BOX 9295                                                                                                        SAN JUAN             PR           00908‐0295
                                                      6455 EAST JOHNS CROSSING
   718421 MAXUM INDEMNITY COMPANY                     SUITE 325                                                                                                          DULUTH               GA           30097
          MAXWELL CARRERAS
   317439 MALDONADO                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   317441 MAXWELL J RAMOS ROMAN                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   718423 MAYA FOODS SERVICES INC.                    A/C: CARMEN CARRION          PO BOX 363969                                                                         SAN JUAN             PR           00936‐3969
   317453 MAYA RIGUAL, ANA                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   317459 MAYADEV MD, ANGELI                          REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
                                                      90 AVENIDA RIO HONDO SUITE
   317460 MAYAGUEZ 2011                               297                                                                                                                BAYAMON              PR           00961‐3113
          MAYAGUEZ ADV RADIATION
   718426 CTER                       PO BOX 8043 MARINA STA                                                                                                              MAYAGUEZ             PR           00681
          MAYAGUEZ AIR CARGO SERVICE
   718427 INC                        P.O. BOX 1890                                                                                                                       CAROLINA             PR           00984
   718428 MAYAGUEZ AUTO BODY         287 POST SUR                                                                                                                        MAYAGUEZ             PR           00680
   718425 MAYAGUEZ AUTO PAINT        P O BOX 3658                                                                                                                        MAYAGUEZ             PR           00681
          MAYAGUEZ BASEBALL ACADEMY
   718429 INC                        PO BOX 7999 215                                                                                                                     MAYAGUEZ             PR           00687
          MAYAGUEZ BASKETBALL
   317463 ASSOCIATION INC            URB RIO CRISTAL                               5329 CALLE ROBERTO COLE                                                               MAYAGUEZ             PR           00680
          MAYAGUEZ CERAMIC ART
   718430 STUDIO                     127 JOSE DE DIEGO                                                                                                                   MAYAGUEZ             PR           00680
   718431 MAYAGUEZ COMERCIAL         PO BOX 7000                                   SUITE 031                                                                             SAN SEBASTIAN        PR           00685
          MAYAGUEZ COMERCIAL
   718432 DISTRIBUTOR                PO BOX 676                                                                                                                          LARES                PR           00669
   718434 MAYAGUEZ DESTAPE           HC 02 BOX 25932                                                                                                                     MAYAGUEZ             PR           00680



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          MAYAGUEZ ELECTRONICS
   718435 SERVICES                                    BOX 4111 POST 186 SUR                                                                                               MAYAGUEZ            PR           00680
          MAYAGUEZ EXTERMINATING
   718436 SERVICES                                    PO BOX 963                                                                                                          MAYAGUEZ            PR           00681

   718437 MAYAGUEZ FOOD WAREHOUSE                     60 CALLE COMERCIO                                        MAYAGUEZ                                                   MAYAGUEZ            PR           00680
   317464 MAYAGUEZ JAZZ FEST INC                      PO BOX 3517                                                                                                         MAYAGUEZ            PR           00681
          MAYAGUEZ LP / SAN IDELFONSO                 CALLE 150 SALIDA HACIA
   317465 APTS.                                       VILLALBA ,                                                                                                          COAMO               PR           00769‐0000
          MAYAGUEZ MECHANICAL
   718438 CONTRACTORS                                 PO BOX 3274                                                                                                         MAYAGUEZ            PR           00681
   317466 MAYAGUEZ MEDICAL CENTER                     PO BOX 600                                                                                                          MAYAGUEZ            PR           00681

          MAYAGUEZ MEDICAL CENTER DR
   317467 RAMON EMETERIO BETANCES    ATT MANEJO DE INFORMACION                     PO BOX 600                                                                             MAYAGUEZ            PR           00681
   317468 MAYAGUEZ MEMORIAL          PO BOX 1264                                                                                                                          MAYAGUEZ            PR           00681
   718439 MAYAGUEZ OPTICAL LAB INC   177 AVE DUSCOMBE OFIC 3                                                                                                              MAYAGUEZ            PR           00680
   317470 MAYAGUEZ ORTHOPEDICS       PO BOX 1508                                                                                                                          MAYAGUEZ            PR           00681

   718440 MAYAGUEZ PARTNERS S E                       100 GRAN BOULEVARD PASEOS    M 1 GALERIA PASEOS                                                                     SAN JUAN            PR           00926
          MAYAGUEZ RADIATORS SERV
   718441 INC.                                        207 CALLE POST S                                                                                                    MAYAGUEZ            PR           00680

   317471 MAYAGUEZ RESORT & CASINO                    BO ALGARROBO                 ROAD 104 KM 0 3                                                                        MAYAGUEZ            PR           00680
   718442 MAYAGUEZ SHOOTING CLUB                      P O BOX 2983                                                                                                        MAYAGUEZ            PR           00681‐2983
   317474 MAYAGUEZ THERAPY                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MAYAGUEZ VICTORY SUPER
   317475 STATION INC                                 BO ALGARROBO                 PO BOX 6463                                                                            MAYAGUEZ            PR           00681

   317476 MAYANIN HERNANDEZ TORRES                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   SAN LORENZO SHOPPING
   317478 MAYANSA DREAMS GROUP LLC                    CARR 183 KM 10 BARRIO HATO   CENTER                                                                                 SAN LORENZO         PR           00754
   718443 MAYBELLE M ALLEN TORRES                     ESTANCIAS DEL CARMEN         3603 CALLE TRICIA                                                                      PONCE               PR           00716
          MAYBELLINE FERNANDEZ
   718444 SANTIAGO                                    RES LIRIOS DEL SUR           EDIF 1 APT 1                                                                           PONCE               PR           00716
   317483 MAYBELLINE RUIZ BERNARD                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   317484 MAYBELLINE SOTO QUINONEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   317485 MAYBETH RODRIGUEZ RIVERA                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317487 MAYDA A COLON CALDERON                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317488 MAYDA ACOSTA CASTRODAD                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718446 MAYDA AYALA PIZARRO                         EXT LA MILAGROSA             F 9 CALLE 13                                                                           BAYAMON             PR           00957
   317489 MAYDA BERROCALES RUIZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317490 MAYDA DE JESUS MARTINEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317492 MAYDA DIAZ GONZALEZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317493 MAYDA E ALVAREZ RESTO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MAYDA E DOMINGUEZ Y LUZ N
   317494 RIVERA                                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   718448 MAYDA E SANCHEZ MARTINEZ                    URB SABANERA                 69 CAMINO DE LOS YAGRUMOS                                                              CIDRA               PR           00739‐9433
   317495 MAYDA FLORES GUZMAN                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317496 MAYDA G. SANTANA MATOS                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  718449 MAYDA GARCIA OLMEDA                          RAFAEL BERMUDEZ             D 31 CALLE 8                                                                      FAJARDO           PR         00738
  317497 MAYDA GONZALEZ CRUZ                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317498 MAYDA GONZALEZ VARGAS                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718450 MAYDA GUILLOTY PEREZ                         HC 3 BOX 35695                                                                                                MAYAGUEZ          PR         00680
         MAYDA I CLEMENTE
  317499 CARRAQUILLO                                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317501 MAYDA I COLLAZO IQUINA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317502 MAYDA I COLON DELGADO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718451 MAYDA I CORDERO                              HC 2 BOX 14745                                                                                                ARECIBO           PR         00612
  718453 MAYDA I GONZALEZ VEGA                        URB VAN SCOY                B 36 CALLE PRINCIPAL                                                              BAYAMON           PR         00957
  317503 MAYDA I LEON NOVOA                           REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718455 MAYDA INES AYALA                             ALT DE RIO GRANDE           W1210 CALLE 22                                                                    RIO GRANDE        PR         00745
  317504 MAYDA L CHEVERE FUENTES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718445 MAYDA L CRUZ                                 P O BOX 1139                                                                                                  OROCOVIS          PR         00720‐1139
  317505 MAYDA L CRUZ HERNANDEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         MAYDA L GUZMAN
  718457 MALDONADO                                    G16 CALLE 6A URB REXVILLE                                                                                     BAYAMON           PR         00957
  718458 MAYDA L RIVERA DAVILA                        HC 1 BOX 2004               MEDIANIA ALTA                                                                     LOIZA             PR         00772
  718459 MAYDA L SOTO LOPEZ                           REINA DE LOS ANGELES        D 5 CALLE 7                                                                       GURABO            PR         00778
  317507 MAYDA MARTINEZ FEBO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317508 MAYDA MESA COLON                             REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   718460 MAYDA NAVEDO MALDONADO                      77‐4 CALLE RICHARDSON                                                                                         LOWELL            MA         01850
   317509 MAYDA RIVERA FONSECA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   317510 MAYDA RIVERA GAVINO                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718462 MAYDA RODRIGUEZ                             PO BOX 194588                                                                                                 SAN JUAN          PR         00919
   317511 MAYDA RODRIGUEZ CRUZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   317512 MAYDA RODRIGUEZ DE FRITH                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718465 MAYDA RODRIGUEZ GARCIA                      URB VILLA DEL CAFETAL       I 132 CALLE 13                                                                    YAUCO             PR         00698
   718466 MAYDA ROSARIO LOPEZ                         LUIS LLORENS TORRES         EDIF 66 APT 1245                                                                  SAN JUAN          PR         00913
   718467 MAYDA VAZQUEZ SANTIAGO                      URB BAIROA BG 7             CALLE 23                                                                          CAGUAS            PR         00725
   317513 MAYDA VAZQUEZ VELEZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   317514 MAYDA VEGA GODEN                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   317515 MAYDA VELAZQUEZ BELLO                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   718469 MAYDALI BULTRON SANTIAGO                    PMB 220                     PO BOX 10000                                                                      CANOVANAS         PR         00729
   317516 MAYDALY LOPEZ RAMIREZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   718470 MAYDEE HERNANDEZ ALCAZAR                    RAMON MARIN                 FE 18 LEVITTOWN                                                                   TOA BAJA          PR         00949
   317518 MAYDELIS SERRANO DUPREY                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MAYDELLYS MELENDEZ
   317519 DELGADO                                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   317520 MAYDI L HERNANDEZ LEBRON                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718471 MAYELA BISBAL MELERO                        URB LAS MARIA               B 5 CALLE 1                                                                       SALINAS           PR         00751
   317521 MAYELA CARDENAS SURILLO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718472 MAYELA MERCEDES ROHENA                      QUINTAS DE COUNTRY CLUB     C 16 CALLE 1                                                                      CAROLINA          PR         00982
   317522 MAYELIN CORREA MORA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MAYELIN DE LOS SANTOS
   317523 CASTILLO                                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718474 MAYHLIN REYES DE JESUS                      RES LUIS LLORENS TORRES     EDIF 92 APT 1760                                                                  SAN JUAN          PR         00913
   718475 MAYI AGOSTO HERNANDEZ                       PO BOX 471                                                                                                    VEGA ALTA         PR         00692
   718476 MAYIN MOREIRA AYALA                         P O BOX 24                                                                                                    LUQUILLO          PR         00773



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  718478 MAYKA J MU¥OZ MOJICA                         URB TURABO GARDENS            PP 7 CALLE 16                                                                        CAGUAS              PR           00727‐6073

   317529 MAYKA LIZ CARDONA MERCED                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317530 MAYKA MATEO MARTINEZ                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   317533 MAYKEL HERNANDEZ GALARZA                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   718479 MAYLEANE REBOLLO CLAUDIO                    URB TURABO GARDENS            D 11 CALLE 36                                                                        CAGUAS              PR           00725
   317534 MAYLEEN BARREIRO ORTIZ                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   317535 MAYLEEN CASTILLO GONZALEZ                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

          MAYLEEN CLASS VAZQUEZ/JOHN
   718481 L RODRIGUEZ                JARDINES DE PALMAREJO                          Q 19 CALLE 12                                                                        CANOVANAS           PR           00729

   718483 MAYLEEN M OTERO BORRERO                     LA PONDEROSA                  720 CALLE AMAPOLA                                                                    RIO GRANDE          PR           00745
   718484 MAYLEEN Y REYES APONTE                      PARQUE LAS AMERICAS           24 CALLE C                                                                           GURABO              PR           00778
          MAYLEN C QUINONES
   317536 CARRASQUILLO                                REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317537 MAYLEN COLON CABAN                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                      PMB 373 357 ASHFORD AVE STE
   718485 MAYLEN FIALLO PEREZ                         2                                                                                                                  SAN JUAN            PR           00907‐1420
   317539 MAYLIN I RODRIGUEZ LEON                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317540 MAYLIN Y. LOPEZ CORTES                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   317541 MAYLIN YELIKSA LOPEZ CORTES REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   718488 MAYLINE PABON MORA          BETANCES 110                                  LUIS M MARIN                                                                         CABO ROJO           PR           00623
   317542 MAYLINE RIVERA CANALES      REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   718489 MAYLINE RIVIE VIDAL         URB EL MIRADOR DE BAIROA                      2 M CALLE 53                                                                         CAGUAS              PR           00725
   718490 MAYLINE ROSARIO DELGADO     PO BOX 1295                                                                                                                        SAN LORENZO         PR           00754
          MAYLING FERNANDEZ CARRERAS
   317543 / ECO                       REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MAYLIZ HERNANDEZ
   317544 COUVERTIER                  REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   317565 MAYMI GUERRA MD, ANDRES M                   REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317577 MAYMI MD, WANDA                             REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317595 MAYMI RIVERA LLC                            PO BOX 11897                                                                                                       SAN JUAN            PR           00922
   317596 MAYMI RIVERA MD, JOSE A                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   317616 MAYMON LUGO MD, MIGUEL F                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   718491 MAYNETTE A GUZMAN RIVERA                    C 305 MICHELLE APARTMENTS                                                                                          MERCEDITA PONCE     PR           00715
   317619 MAYO CLINIC                                 PO BOX 19058                                                                                                       GREEN BAY           WI           54307‐9058
   317621 MAYO CLINIC ROCHESTER                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317628 MAYO SANTANA MD, RAUL                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   317610 MAYO SUAREZ MD, TEODORO     REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317635 MAYOL BIANCHI               REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   718493 MAYOL GUTIERREZ PACHECO     BDA BELGICA                                   5033 CALLE CUBA                                                                      PONCE               PR           00731
          MAYOL SANCHEZ, JOSE RAMON Y                                               URB HERMANAS DAVILA AVE
  1420529 OTROS                       JUAN CORCHADO JUARBE                          BETANCES 1‐2                                                                         BAYAMON             PR           00959
   317657 MAYOL URDAZ MD, MAGDIEL     REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  718494 MAYOR SECURITY                               BO GALATEO                 CARR 165                                                                             TOA ALTA            PR           00953
         MAYORGA & PEREZ D/B/A
  718495 MAACO AUTO PAINT                             PMB 353 2135               CARR 2 SUITE 15                                                                      BAYAMON             PR           00959 5259

   718496 MAYORIE HERNANDEZ TORRES                    URB VALLE PIEDRA           217 CALLE EUGENIO LOPEZ                                                              LAS PIEDRAS         PR           00771
   718497 MAYORIE OCASIO SANTIAGO                     EXT SALAZAR                1910 CALLE SACRISTIA                                                                 PONCE               PR           00731

   317675 MAYQUI QUINTANA GONZALEZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317676 MAYRA A ALICEA VELEZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MAYRA A ALMODOVAR
   718504 MARTINEZ                                    P O BOX 1679                                                                                                    SAN GERMAN          PR           00683
   317677 MAYRA A ARROYO SOTO                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317678 MAYRA A BOBONIS PINERO                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   718505 MAYRA A COLON MOLINA                        3 CALLE RAFAEL MAIMI                                                                                            CAGUAS              PR           00725
   718506 MAYRA A CRUZ ROMAN                          HC 04 BOX 13836                                                                                                 ARECIBO             PR           00612
   317679 MAYRA A DELGADO DE LEON                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   718507 MAYRA A FIGUEROA COLLAZO                    HC 63 BOX 3023                                                                                                  PATILLAS            PR           00723

   317680 MAYRA A FIGUEROA GONZALEZ                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   718508 MAYRA A GONZALEZ                            PO BOX 298                                                                                                      JUNCOS              PR           00777
   317681 MAYRA A LIND VALLE                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317682 MAYRA A MENDEZ PELLOT                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317683 MAYRA A MORALES GUZMAN                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   718510 MAYRA A NATAL SANTIAGO                      HC 01 BOX 4814                                                                                                  UTUADO              PR           00641
   317684 MAYRA A ROMAN RIVERA                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317685 MAYRA A ROSAS GONZALEZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317686 MAYRA A TIRADO ROSA                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   718511 MAYRA A TORO GUZMAN                         URB SAVANNAH REAL          119 PASEO BARCELONA                                                                  SAN LORENZO         PR           00754
   317687 MAYRA A ZAYAS PEREZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317688 MAYRA A. LIND VALLE                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317689 MAYRA ABAUNZA PEREZ                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   718512 MAYRA ALEJANDRA                             ADAS BUILDING 309          1959 LOIZA OCEAN PARK                                                                SAN JUAN            PR           00911
   317692 MAYRA ALICEA SANTIAGO                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317693 MAYRA ALVAREZ                               REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317694 MAYRA AMADOR TORRES                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   317695 MAYRA ANNETTE JOVE MORELL                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   718514 MAYRA APONTE CINTRON                        RES VILLA REAL             EDIF 14 APT 53                                                                       PATILLAS            PR           00723
   317697 MAYRA APONTE SANCHEZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317698 MAYRA ARROYO GARCIA                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   317699 MAYRA ARZUAGA RODRIGUEZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317700 MAYRA B DE JESUS                            REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   718515 MAYRA B MELENDEZ TOSTE                      COND ANGELICA 513 APT 3A   CALLE SAGRADO CORAZON                                                                SAN JUAN            PR           00915
   317702 MAYRA BAEZ SANCHEZ                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   317703 MAYRA BAGUER RODRIGUEZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   718516 MAYRA BAKERY                                PO BOX 1527                                                                                                     VILLALBA            PR           00766
   718517 MAYRA BARRETO BARRETO                       PO BOX 21635                                                                                                    SAN JUAN            PR           00928
   317704 MAYRA BATIZ CABAN                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   718520 MAYRA BERMUDEZ RODRIGUEZ HC 03 BOX 13682                                                                                                                    YAUCO               PR           00698




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   317705 MAYRA BETANCOURT QUINONES REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
                                    URB CAGUAX 019 CALLE
   718522 MAYRA BEZARES GOMEZ       COLESIBI                                                                                                                              CAGUAS              PR         00725
   718523 MAYRA BLANCOVICH RAMOS    P O BOX 1982                                                                                                                          MAYAGUEZ            PR         00681
   718524 MAYRA BONETA SOTO         URB LOS PINOS                                 241 AVE PINO AUSTRALIANO                                                                ARECIBO             PR         00612‐5916
   718525 MAYRA BONILLA RAMOS       VILLA DEL CARMEN                              F 1 CALLE 13                                                                            CIDRA               PR         00739
   317706 MAYRA C COLON TOLEDO      REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   718526 MAYRA C MARQUEZ           SO‐13 CALLE MINERVA                           LEVITTOWN                                                                               TOA BAJA            PR         00949
   317707 MAYRA C OQUENDO VIZCAYA   REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   718527 MAYRA C RAMIREZ           ESTANCIAS DEL SUR                             APAT 301                                                                                PONCE               PR         0072840110
   718528 MAYRA C RIVERA CASTRO     P O BOX 1709                                                                                                                          CAROLINA            PR         00984
   718529 MAYRA C RUIZ FERNANDEZ    1581 PARK AVE 2 G                                                                                                                     NEW YORK            NY         10029
   718531 MAYRA CABAN NAZARIO       P O BOX 1769                                                                                                                          LARES               PR         00669
   317708 MAYRA CAEZ SANTANA        REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   718532 MAYRA CAMACHO ROLDON      833 AVE SANTOS ORTIZ                                                                                                                  CABO ROJO           PR         00623

   718534 MAYRA CANTARES NAVARRO                      SANT JUST BO. SANTO DOMINGO 343 CALLE 6                                                                             TRUJILLO ALTO       PR         00976
   317709 MAYRA CARDONA DURAN                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   317710 MAYRA CARDONA SANTIAGO                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   317711 MAYRA CARRASQUILLO ARROYO REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   718537 MAYRA CARRERO ORTIZ       HC 2 13599                                                                                                                            GURABO              PR         00778
   718538 MAYRA CARRILLO COTTO      PO BOX 366655                                                                                                                         SAN JUAN            PR         00936
   317712 MAYRA CARRION LUGO        REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   317713 MAYRA CARTAGENA VEGA      REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   317714 MAYRA CASELLAS ROSARIO    REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   317717 MAYRA CASTRO SOTO         REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
                                    EDIF 37 APT 450 R/MONTE
   718541 MAYRA CINTRON CAMACHO     HATILLO                                                                                                                               SAN JUAN            PR         00926
   718542 MAYRA CLAUDIO             HC 80 BOX 6750                                                                                                                        DORADO              PR         00646
   317718 MAYRA COLLADO NIEVES      REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   718543 MAYRA COLON               EDIF ALFREDO WIDEO                            87 CALLE COMERCIO APT 103                                                               PONCE               PR         00731
                                                                                  800 C/ PIEDRAS NEGRAS APTO
   718544 MAYRA COLON ALICEA                          COND VEREDAS DE VENUS       4201                                                                                    SAN JUAN            PR         00926
   718545 MAYRA COLON GONZALEZ                        BO RIO ABAJO                HC 01 BOX 2074                                                                          CIDRA               PR         00739
   718546 MAYRA COLON TORRES                          URB GLENVIEW GARDENS        12 P 12 CALLE E                                                                         PONCE               PR         00730
   718547 MAYRA CONCEPCION                            URB SANTA ANA               I 2 CALLE 2                                                                             VEGA ALTA           PR         00692
   317720 MAYRA CORDERO PONCE                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   718548 MAYRA CORDERO ROMAN                         PO BOX 342                                                                                                          QUEBRADILLAS        PR         00678
   317721 MAYRA CORRALIZA RIVERA                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   317722 MAYRA CORTES CLAUDIO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   317723 MAYRA CORTES PINEIRO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   718549 MAYRA CORTES RIVERA                         URB LOMAS DE CAROLINA       E10 CALLE CERO PIO                                                                      CAROLINA            PR         00987
   718550 MAYRA COSME TORRES                          URB RIO CANAS               3125 CALLE TAMESIS                                                                      PONCE               PR         00728‐1730
   317724 MAYRA CRESPO RIVERA                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   718551 MAYRA CRUZ COLON                            RR 1 BOX 12412                                                                                                      OROCOVIS            PR         00720‐9621
   718499 MAYRA CRUZ HERNANDEZ                        HC 04 BOX 3073                                                                                                      ARECIBO             PR         00688
   317725 MAYRA CRUZ NEGRON                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   718553 MAYRA CRUZ RODRIGUEZ                        LOS FLAMBOYANES APTS        40 CALLE SAN JOSE BOX 255                                                               CAGUAS              PR         020725

   718554 MAYRA CUEVAS CARRASQUILLO 14 RES JOSE PALOU COSTAS                                                                                                              JUNCOS              PR         00777
   317726 MAYRA CUMMINGS MENDEZ     REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  317727 MAYRA D BIDOT AVILA                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718555 MAYRA D COLON RODRIGUEZ                      HC 4 BOX 6880                                                                                                          COMERIO           PR         00782
  317729 MAYRA D CRESPO MANDRY                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718557 MAYRA D MARRERO BURGOS                       HC 02 BOX 4595                                                                                                         COAMO             PR         00679
  317730 MAYRA D ORTIZ ARROYO                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718500 MAYRA D ORTIZ MARTINEZ                       PO BOX 317                                                                                                             OROCOVIS          PR         00720
  718559 MAYRA DAVILA GARCIA                          VILLA PALMERA                308 CALLE RUIZ BELVIS                                                                     SAN JUAN          PR         00915
  718560 MAYRA DAVILA RIVERA                          COND VILLA VENECIA           EDIF B APT 8                                                                              GUAYNABO          PR         00969
  718564 MAYRA DEL C DOBLES RUIZ                      PADUA                        262 COLLEGE PARK                                                                          SAN JUAN          PR         00921
         MAYRA DEL C ROSADO
  718565 RODRIGUEZ                                    52 CALLE MEDITACION                                                                                                    MAYAGUEZ          PR         00680
         MAYRA DEL CARMEN BAUTISTA
  718567 CASTILLO                                     COND LAGUNA GARDEN I APT 8   ISLA VERDE                                                                                CAROLINA          PR         00979
         MAYRA DEL PILAR MADERA
  317734 PLANELL                                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718570 MAYRA DELGADO DIAZ                           URB ORIENTE                  Q 4 518 CALLE PEDRO FLORES                                                                LAS PIEDRAS       PR         00771
  718571 MAYRA DELGADO DONES                          URB BRISAS DEL MAR           EE 16 CALLE 2 4                                                                           LUQUILLO          PR         00773
  317735 MAYRA DELPIN JIMENEZ                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317736 MAYRA DIAZ CAMACHO                           REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718573 MAYRA DIAZ CORREA                            URB VILLA COOPERATIVA        G 49 CALLE 6                                                                              CAROLINA          PR         00985

   718575 MAYRA DIAZ GARCED                           COOP CIUDAD UNIVERSITARIA    APT 704 A                                                                                 TRUJILLO ALTO     PR         00976
   718577 MAYRA E CABAN NIEVES                        P O BOX 1831                                                                                                           AGUADILLA         PR         00605
   718578 MAYRA E CAMPOS OSSORIO                      VILLA DEL OESTE              893 CALLE TAURO                                                                           MAYAGUEZ          PR         00680

   317737 MAYRA E CASTELLANO NEGRON                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718579 MAYRA E COLL DEL VALLE                      URB CORTIJO                  D 21 CALLE 1                                                                              BAYAMON           PR         00956
   317738 MAYRA E CORREA RUIZ                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718581 MAYRA E CRUZ MARTINEZ                       HC 1 BOX 4650                                                                                                          VILLALBA          PR         00766‐9716
   718582 MAYRA E FRANCO PARIS                        URB QUINTAS II               876 CALLE DIAMANTE                                                                        CANOVANAS         PR         00729
   317739 MAYRA E GARCIA GONZALEZ                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718584 MAYRA E HERNANDEZ CRUZ                      HC 3 BOX 8937                                                                                                          BARRANQUITAS      PR         00794
          MAYRA E HERNANDEZ
   718586 MANGUAL                                     URB HACIENDA LA MATILDE      H 20 CALLE 3                                                                              PONCE             PR         00731
   317740 MAYRA E IRIZARRY MATOS                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   317741 MAYRA E JACOBS TORRES                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   718588 MAYRA E MOCTEZUMA RIVERA                    COOP VILLA KENNEDY           EDF 21 APT 330                                                                            SAN JUAN          PR         00915
   718589 MAYRA E NATAL FELICIANO                     HC 02 BOX 6500                                                                                                         UTUADO            PR         00641
   317742 MAYRA E OJEDA PADOVANI                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718591 MAYRA E PEREZ NEGRON                        HC 73 BOX 5556                                                                                                         NARANJITO         PR         00719

   317744 MAYRA E RIOLLANO DOMINGUEZ REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718576 MAYRA E RODRIGUEZ CRUZ     URB METROPOLIS III                            2K 1 CALLE 41                                                                             CAROLINA          PR         00987

   718596 MAYRA E RODRIGUEZ MARZAN                    COUNTRY CLUB                 877 CALLE SRA ISABEL SPENCER                                                              SAN JUAN          PR         00924
   317745 MAYRA E ROLDAN TORRES                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718598 MAYRA E ROSADO SIERRA                       PO BOX 759                                                                                                             AIBONITO          PR         00705
   718599 MAYRA E SANTIAGO BAERGA                     PO BOX 1173                                                                                                            CAYEY             PR         00737‐1173
   718600 MAYRA E TORRES MARTINEZ                     EL CONQUISTADOR              H 12 CALLE HERNAN CORTES                                                                  TRUJILLO ALTO     PR         00976
   317746 MAYRA E TORRES RAMOS                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   718601 MAYRA E TORRES RODRIGUEZ                    BAIROA                       BM 6 CALLE 21                                                                             CAGUAS            PR         00725



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  317747 MAYRA E. JACOBS TORRES                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  317748 MAYRA E. LEBRON MORALES                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  317749 MAYRA E. LEBRON RIVERA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   317750 MAYRA E. MELENDEZ CASTILLO                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   317751 MAYRA E. MENDOZA RUBIO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   317752 MAYRA E. PEREZ VEGA                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   317753 MAYRA ECHEVARRIA RODRIGUEZ REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   718604 MAYRA ENID ALAMO VARGAS    SANTA ANA                                     G 5 CALLE 3                                                                            VEGA ALTA            PR         00692
   317754 MAYRA ENID APONTE RAMOS    REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   317755 MAYRA ENID GONZALEZ        REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   718605 MAYRA ERIKA TIRADO CORTES                   HC 04 BOX 46246              BO CEIBA BAJA                                                                          AGUADILLA            PR         00603
   317756 MAYRA F VEGA LATORRE                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   317757 MAYRA FALCON REYES                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   718606 MAYRA FELICIANO FONTANEZ                    COUNTRY CLUB                 913 AVE CAMPO RICO                                                                     SAN JUAN             PR         00924
   317758 MAYRA FERNANDEZ CRUZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   718607 MAYRA FERNANDEZ ROMERO                      HC 03 BOX 12074                                                                                                     CAROLINA             PR         00987
   718608 MAYRA FERRAN TORRES                         URB BRASILIA                 F18 CALLE 5                                                                            VEGA BAJA            PR         00693
   718498 MAYRA FIGUEROA LOPE                         PARC MAGINAS                 292 CALLE ROBLES                                                                       SABANA GRANDE        PR         00637
   718609 MAYRA FIGUEROA PEREZ                        COND ALBORADA APTO 2911                                                                                             BAYAMON              PR         00959
   718610 MAYRA FONSECA RODRIGUEZ                     VILLA MARISOL                1028 CALLE DOLORES CRUZ                                                                SABANA SECA          PR         00951
   317760 MAYRA FRANCO COLON                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   317761 MAYRA FRD SANCHEZ                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   718611 MAYRA FUENTES MORALES                       HC 3 BOX 12236                                                                                                      COROZAL              PR         00783
   317762 MAYRA G CAMACHO                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   718612 MAYRA G CAMACHO RAMOREZ                     RRZ BNZ 743                                                                                                         SAN JUAN             PR         00926
   317763 MAYRA G CARDONA FLORES                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   317764 MAYRA G MARTINEZ IZQUIERDO REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   317765 MAYRA G NEGRON DELGADO     REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   317766 MAYRA G RODRIGUEZ MARZAN                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   718614 MAYRA G TORRADO FELICIANO                   CONDOMINIO FRENCH PLAZA      81 CALLE MAYAGUEZ APT 503                                                              SAN JUAN             PR         00917
   317767 MAYRA G. SOTO ROSADO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   718616 MAYRA GARCIA                                RES LLORENS TORRES           APART 1572 EDIF 18                                                                     SANTURCE             PR         00913
   317768 MAYRA GARCIA AROCHO                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   718617 MAYRA GARCIA BANAL                          CAMINO DEL RIO               333 CALLE CARPINTERO                                                                   PONCE                PR         00731
   317769 MAYRA GARCIA BELEN                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   317770 MAYRA GARCIA COLON                          REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   317771 MAYRA GARCIA DELGADO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   718618 MAYRA GARCIA HAROOTIAN                      PO BOX 4985 PMB 256                                                                                                 CAGUAS               PR         00725
   718619 MAYRA GARCIA ORTIZ                          HC 03 BOX 17278                                                                                                     COROZAL              PR         00783
   317772 MAYRA GARCIA SANTIAGO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   317773 MAYRA GARCIA SOLA                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   718621 MAYRA GAZTAMBIDE LOYOLA                     URB LA RAMBLA                1641 CALLE NAVARRA                                                                     PONCE                PR         00730
   317774 MAYRA GONZALEZ                              REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   718622 MAYRA GONZALEZ BRUNO                        ESTENSION VILLA DEL CARMEN   B2                                                                                     CAMUY                PR         00627
   317775 MAYRA GONZALEZ FELICIANO                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED



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  718624 MAYRA GONZALEZ RAMIREZ                       EXT PARC SABANA ENEAS       CALLE 21 NUM 600                                                                   SAN GERMAN         PR         00683‐3700
  718625 MAYRA GONZALEZ RIVAS                         VISTA DE CAMUY              J 9 CALLE 7                                                                        CAMUY              PR         00627
  718626 MAYRA GONZALEZ ROSAS                         URB BELMONTE                81 CALLE SEGOVIA                                                                   MAYAGUEZ           PR         00680‐2361
  317776 MAYRA GUADALUPE URBINA                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  718627 MAYRA GUEITS ACOSTA                          HC 02 BOX 8777                                                                                                 JUANA DIAZ         PR         00795‐9612
  718628 MAYRA GUEVARA MARRERO                        RR 2 BOX 6376                                                                                                  TOA ALTA           PR         00953
  718629 MAYRA GUZMAN PESA                            HC 2 BOX 11510                                                                                                 HUMACAO            PR         00791
  718630 MAYRA GUZMAN TORRES                          URB FLAMBOYAN               AE2                                                                                YAUCO              PR         00731
  718631 MAYRA HENRIQUE MERCED                        OFICINA DEL GOBERNADOR      LA FORTALEZA                                                                       SAN JUAN           PR         00902
  718632 MAYRA HERNANDEZ                              PO BOX 366776                                                                                                  SAN JUAN           PR         00936‐6776
  718634 MAYRA HERNANDEZ REYES                        P O BOX 186                                                                                                    TRUJILLO ALTO      PR         00977
  718635 MAYRA HERNANDEZ ROBLES                       SECTOR ESPERANZA BOX 565    PARC 651 CARR 3 KM 69                                                              NAGUABO            PR         00718
  718636 MAYRA HUERGO CARDOSO                         COND CONDESA DEL MAR        APT 507 ISLA VERDE                                                                 CAROLINA           PR         00979

   317779 MAYRA I ALVARADO HERNANDEZ REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   317780 MAYRA I ALVAREZ            REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   718637 MAYRA I ALVAREZ ORTIZ      URB SIERRA BAYAMON                           46 13 CALLE 41                                                                     BAYAMON            PR         00961
   317781 MAYRA I APONTE GONZALEZ    REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   718638 MAYRA I BAEZ HERNANDEZ     CONDADO MODERNO                              B 14 CALLE 1                                                                       CAGUAS             PR         00725
   718639 MAYRA I BARRETO VELEZ      BOX 598                                                                                                                         ISABELA            PR         00662
   718640 MAYRA I BENITEZ MOJICA     PO BOX 552                                                                                                                      LAS PIEDRAS        PR         00771
                                     LAS VILLAS DE CIUDAD JARDIN #
   718641 MAYRA I BERMUDEZ TA¥ON     W 620                                                                                                                           BAYAMON            PR         00957
   317782 MAYRA I BONILLA MARTINEZ   REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   317783 MAYRA I BORRERO PADILLA    REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   317784 MAYRA I CANDELARIO NAVARRO REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   317785 MAYRA I CINTRON AYALA      REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   317786 MAYRA I COELLO SOTO        REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   718643 MAYRA I COLON OTERO        URB TOA ALTA HEIGHT                          P 45 CALLE 20                                                                      TOA ALTA           PR         00953
   718644 MAYRA I COLON RODRIGUEZ    URB VISTAS DE RIO GRANDE                     M 7 C/ CEIBA                                                                       RIO GRANDE         PR         00745

   317787 MAYRA I CORDERO GONZALEZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   718645 MAYRA I CORTES CANDELARIA                   URB VILLA SERENA            E 17 CANARIO                                                                       ARECIBO            PR         8813689
   317788 MAYRA I COTTO MOLINA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   317789 MAYRA I CRESPO MEDINA                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   718646 MAYRA I CRUZ GUERRA                         BO TORTUGUERO               PO BOX 511                                                                         VIEQUES            PR         00765
   718647 MAYRA I DAVILA LIZARDI                      URB PALMAS DEL TURABO       50 CALLE CANARIAS                                                                  CAGUAS             PR         00725
   317790 MAYRA I ECHEVARRIA PEREZ                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   317791 MAYRA I FEBUS SANTIAGO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   317792 MAYRA I FELICIANO MOLINA                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          MAYRA I FIGUEROA
   317793 MALDONADO                                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED

   718650 MAYRA I FORTES DAVILA                       PO BOX 19925 FDEA JUNCOS STA                                                                                   SAN JUAN           PR         00910
   718652 MAYRA I FUENTES URBINA                      URB MUNOZ RIVERA M50         CALLE ESCALRLATA                                                                  GUAYNABO           PR         00969
   317794 MAYRA I GARCIA MEDINA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   317795 MAYRA I GARCIA SANTOS                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   317796 MAYRA I GARCIA SOLA                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   317797 MAYRA I GONZALEZ AVILES                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
          MAYRA I GUTIERREZ
   317798 ECHEVARRIA                                  REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED



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   718654 MAYRA I HERNANDEZ HUERTAS                   6 URB SIERRA VERDE                                                                                         OROCOVIS            PR         00720
   317799 MAYRA I HERNANDEZ ROSSY                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   317800 MAYRA I LUNA DE LA CRUZ                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   718655 MAYRA I MALDONADO ROSADO HC02 BOX 5749                                                                                                                 MOROVIS             PR         00687
   317801 MAYRA I MATOS            REDACTED                                  REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   718657 MAYRA I MELENDEZ MORALES                    PO BOX 1214                                                                                                VEGA BAJA           PR         00694
   317804 MAYRA I ORTIZ CRUZ                          REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   317805 MAYRA I PAGAN LA TORRE                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   718661 MAYRA I PAGAN MORALES                       BO AMELIA              27 CALLE CARIBE                                                                     GUAYNABO            PR         00965

   317807 MAYRA I PARALTICCCI LIZARDI                 REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   317808 MAYRA I PEREZ MERCADO                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   317809 MAYRA I PEREZ PEREZ                         REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   317810 MAYRA I RAMIREZ POGGI                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   317811 MAYRA I RIVERA TORRES                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   317812 MAYRA I RODRIGUEZ DIAZ                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   317814 MAYRA I RODRIGUEZ SEGARRA                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   317815 MAYRA I RODRIGUEZ SOTO                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   718663 MAYRA I ROMERO MORALES                      HC 67 BOX 15973                                                                                            FAJARDO             PR         00738
   718664 MAYRA I ROSARIO SOTO                        URB COUNTRY CLUB       909 CALLE ISAURA ARNAU                                                              SAN JUAN            PR         00924
   317816 MAYRA I RUIZ MUNIZ                          REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   718665 MAYRA I SANTANA MENDEZ                      P O BOX 1063                                                                                               YAUCO               PR         00698
          MAYRA I SANTIAGO / ISANDER
   718666 GONZALEZ                                    AK 8 STA CATALINA                                                                                          BAYAMON             PR         00957
   718667 MAYRA I SANTOS ORTIZ                        CIUDAD UNIVERSITARIA   B‐OESTE F‐2                                                                         TRUJILLO ALTO       PR         00976
   718668 MAYRA I SPRENG NIEVES                       B 98 MARBELLA                                                                                              AGUADILLA           PR         00603
   718669 MAYRA I TORO BELEN                          A 19 URB PORTA COELI                                                                                       SAN GERMAN          PR         00683
   317820 MAYRA I TORRES CARABALLO                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   317821 MAYRA I TORRES GARCIA                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   718501 MAYRA I VAZQUEZ RIVERA                      PO BOX 1690                                                                                                YAUCO               PR         00698‐1690
   718671 MAYRA I VEGA                                LA INMACULADA          C 23 CALLE 4                                                                        TOA BAJA            PR         00949
   317823 MAYRA I. ACOSTA MOLINA                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   317824 MAYRA I. ESCALERA OLIVO                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   317825 MAYRA I. LOPEZ RAMOS                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   718674 MAYRA I. MAESTRE BOBE                       CH 22 DR ZENO GANDIA                                                                                       LEVITTOWN           PR         00950
   317826 MAYRA I. NEGRON RUIZ                        REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   317828 MAYRA I. ROBLES ALVAREZ                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   317829 MAYRA I. ROSA CRUZ                          REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   317830 MAYRA ISABEL RAMOS JOURDAN REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   317831 MAYRA IVETTE COLON OTERO                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   317832 MAYRA J BURGOS RODRIGUEZ                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   317833 MAYRA J COLON CAJIGAS                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   718679 MAYRA J GARCIA MORENO                       VILLAS DEL SOL         1 CALLE PRINCIPAL                                                                   TRUJILLO ALTO       PR         00976
   317834 MAYRA J GONZALEZ AYALA                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   718680 MAYRA J GONZALEZ FLORES                     URB GUARICO            E13 CALLE A                                                                         VEGA BAJA           PR         00693
   718681 MAYRA J GUZMAN NAVARRO                      HC 03 BOX 20665                                                                                            ARECIBO             PR         00612



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  317835 MAYRA J LOPEZ ORTIZ                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   718682 MAYRA J MARTINEZ SANTIAGO                   VILLA GRILLASCA           1621 CALLE FEDERICO RAMOS                                                              PONCE               PR         00717
   317837 MAYRA J NAVARRO VILELLA                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   718683 MAYRA J NELSON FIGUEROA                     VICTOR ROJAS II           139 CALLE 2                                                                            ARECIBO             PR         00612
   317838 MAYRA J PEREZ PEREZ                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   718685 MAYRA J RIVERA MARRERO                      RES BRISAS DE BAYAMON     EDIF 24 APT 243                                                                        BAYAMON             PR         00961
   718686 MAYRA J RIVERA RIVERA                       PO BOX 779                                                                                                       SAN LORENZO         PR         00754‐0779
   317839 MAYRA J RODRIGUEZ CASTRO                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   718688 MAYRA J SANTANA DIAZ                        BARRIO MAMEYAL            PARC 95 CALLE 15                                                                       DORADO              PR         00646
   718689 MAYRA J SERRANO BORGES                      AVE SA PATRICIO           806 COND BELEN                                                                         GUAYNABO            PR         00968
   317840 MAYRA J. FIGUEROA MATOS                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   718690 MAYRA J. HICKS COLON                        PO BOX 759                                                                                                       COTO LAUREL         PR         00780

   317841 MAYRA J. MARQUEZ FELICIANO                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   317842 MAYRA J. RAMIREZ                            REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   317843 MAYRA J. RAMIREZ LOPEZ                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   317845 MAYRA J. SOLIS FEBRES                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   718691 MAYRA JIMENEZ CRUZ                          HC 01 BOX 11714                                                                                                  SAN SEBASTIAN       PR         00685
   718692 MAYRA JIMENEZ FLORES                        55 V 2 BDA CAMPITO                                                                                               GURABO              PR         00778
   718694 MAYRA JIMENEZ RIVERA                        PUERTO NUEVO              1335 CALLE DELTA                                                                       SAN JUAN            PR         00920
   718696 MAYRA JIMENEZ ROSADO                        HC 02 BOX 18140                                                                                                  SAN SEBASTIAN       PR         00685
          MAYRA JUDITH GONZALEZ
   718697 TRAVERSO                                    COM EL PALMAR             SOLAR 47 A                                                                             AGUADA              PR         00602
   317846 MAYRA L ARROYO CALIXTO                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   718698 MAYRA L BURGOS CABRERA                      URB SAN MARTIN            1342 CALLE OLGA ESPERANZA                                                              SAN JUAN            PR         00924
   317847 MAYRA L BURGOS COLON                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   718699 MAYRA L CABRERA RIVERA                      PO BOX 9021112                                                                                                   SAN JUAN            PR         00902‐1112
   718700 MAYRA L CARDONA OCASIO                      BO BUEN CONSEJO           195 CALLE SAN RAFAEL                                                                   SAN JUAN            PR         00924
   718701 MAYRA L CARNONA LUGO                        URB COLINAS DE FAIRVIEW   4K 37 CALLE 214                                                                        TRUJILLO ALTO       PR         00976
   317848 MAYRA L CATALA RODRIGUEZ                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   317849 MAYRA L CIARES ORTIZ                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   317850 MAYRA L CORA NIEVES                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   317851 MAYRA L DE JESUS JIMENEZ                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   317852 MAYRA L DIAZ GARCED                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   718704 MAYRA L FELICIANO HERNANDEZ PORTICOS DE VENUS                         10 CALLE PIEDRAS NEGRAS                                                                SAN JUAN            PR         00902
   317855 MAYRA L GARCIA DEL VALLE    REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   718705 MAYRA L ILDEFONSO ORTIZ                     URB EL SENORIAL           2046 CALLE JORGE MANRIQUE                                                              SAN JUAN            PR         00926
   718706 MAYRA L JUARBE BRAVO                        HC 02 BOX 16386                                                                                                  ARECIBO             PR         00612
          MAYRA L MALDONADO
   718707 HERNANDEZ                                   HC 03 BOX 9905                                                                                                   BARRANQUITAS        PR         00794
   718708 MAYRA L MARIN JURADO                        PO BOX 364108                                                                                                    SAN JUAN            PR         00936‐4108
   317856 MAYRA L MEJIAS NAVARRO                      REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   317857 MAYRA L MONTOYO ALVAREZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   317858 MAYRA L NAVARRO FIGUEROA                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   317859 MAYRA L PENA / MARY L PENA                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   317860 MAYRA L PENA RIOS                           REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   718712 MAYRA L RIVERA BURGOS                       HC 01 BOX 4358‐2                                                                                                 NAGUABO             PR         00718‐9712




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          MAYRA L RIVERA COLON /
   718713 SUIGENERIS DANCER                           COND LUCERNA              EDIF A 3 APT 2 B                                                                           CAROLINA            PR           00983
   718714 MAYRA L RIVERA MENDOZA                      HC 00866 BZN 5990                                                                                                    FAJARDO             PR           00738

   718715 MAYRA L RODRIGUEZ SANTIAGO VILLA DEL CARMEN                           4718 CALLE TURINA                                                                          PONCE               PR           00716‐2208
          MAYRA L ROSADO LAZA /
   718716 FRANCIS MICHELLE           C 11 CALLE SUR                                                                                                                        VEGA ALTA           PR           00692
   718717 MAYRA L RUPERTO CARRERA    BO RIO HONDO                               6 VILLAS SAN TRANCISAS                                                                     MAYAGUEZ            PR           00680‐7115

   718718 MAYRA L SANTIAGO TRAVERSO                   P O BOX 632                                                                                                          AGUADA              PR           00602

   718719 MAYRA L SEPULVEDA SANCHEZ                   HC 1 BOX 5513                                                                                                        YABUCOA             PR           00767
   718721 MAYRA L VEGA PABON                          URB LA CUMBRE             232 CALLE PRADERA                                                                          SAN JUAN            PR           00926
          MAYRA L. MERCADO
   317861 HERNANDEZ                                   REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718722 MAYRA L. NUÃEZ RAMOS                        PO BOX 215                                                                                                           CIDRA               PR           00739
   317863 MAYRA L. RODRIGUEZ RIVERA                   REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   718724 MAYRA LARACUENTE VAZQUEZ                    PMB 184                   PO BOX 8000                                                                                ISABELA             PR           00662
   317864 MAYRA LARTIGUE PEREZ                        REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718725 MAYRA LASALLE RAMOS                         URB COSTA DEL ATLANTICO   124‐B4 CALLE PLAYERA                                                                       ARECIBO             PR           00612
   317865 MAYRA LEBRON MORALES                        REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   718726 MAYRA LIZ CARDONA MERCED                    URB SAN ANTONIO           17 B CALLE 2                                                                               AGUAS BUENAS        PR           00703

   317866 MAYRA LIZ MARQUEZ MIRANDA                   REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718728 MAYRA LLANOS ORTA                           P O BOX 1935                                                                                                         RIO GRANDE          PR           00745
   317867 MAYRA LOPEZ                                 REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317868 MAYRA LOPEZ BURGOS                          REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718729 MAYRA LOPEZ DE CHOUDENS                     URB JARDINES DEL MAMEY    K 18 CALLE 7                                                                               PATILLAS            PR           00723
   317869 MAYRA LOPEZ NIEVES                          REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718734 MAYRA LOPEZ PEREZ                           RESIDENCIAL LOS ROSALES   EDIF 7 APT 74                                                                              TRUJILLO ALTO       PR           00976
   718735 MAYRA LOPEZ SANTIAGO                        HC 3 BOX 32501                                                                                                       AGUADA              PR           00602
   718737 MAYRA LOZADA OCASIO                         HC 1 BOX 7189                                                                                                        LAS PIEDRAS         PR           00771‐9719
   718738 MAYRA LOZADA RIVAS                          P O BOX 3461                                                                                                         JUNCOS              PR           00777
   718739 MAYRA LUGO MENDEZ                           D 2 ALTURAS DE CIALES                                                                                                CIALES              PR           00638

   718740 MAYRA LUGO MORALES                          TOA ALTA HEIGHTS          N25 CALLE 18 URB TOA ALTA HTS                                                              TOA ALTA            PR           00953
   718741 MAYRA LUGO PAGAN                            H C 03 BOX 12319                                                                                                     CAMUY               PR           00627
   317871 MAYRA LUGO RIVERA                           REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317872 MAYRA LUGO SEGARRA                          REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317873 MAYRA LUZ ESPADA COLON                      REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MAYRA M ACOSTA / DIOMEDES
   317874 A VELEZ                                     REDACTED                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718743 MAYRA M ARROYO                              HC 1 BOX 4225                                                                                                        LAJAS               PR           00669

   317875 MAYRA M CASTELLANO DE JESUS REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317877 MAYRA M GINARD DE JESUS     REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718744 MAYRA M MASIS BURGOS        URB LAS MERCEDES                          114 CALLE 14                                                                               SALINAS             PR           00751
   718745 MAYRA M NIEVES RIVERA       PO BOX 21                                                                                                                            NAGUABO             PR           00744
   317878 MAYRA M PELAEZ FIALLO       REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317879 MAYRA M RAMOS               REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317880 MAYRA M REYES ALMONTE       REDACTED                                  REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  317881 MAYRA M RUIZ ROSARIO                         REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317882 MAYRA M SANTIAGO MENDEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718746 MAYRA M TORRES ESCOBAR                       26 CALLE HERNAN CORTEZ                                                                                         AGUADILLA         PR         00603
  718747 MAYRA M TORRES PI¥A                          URB GLENVIEW GARDENS        P 2 CALLE E‐11                                                                     PONCE             PR         00731
  317883 MAYRA M TORRES RENTAS                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   718748 MAYRA M VEGA RAMOS                          COND LA TORRE NORTE OFIC 3A                                                                                    BAYAMON           PR         00959
   718750 MAYRA M. ORTIZ GONZALEZ                     URB RAMIREZ DE ARELLANO     5 CALLE AGUSTIN STAHL                                                              MAYAGUEZ          PR         00680

   718751 MAYRA MALDONADO BRIGNONI P O BOX 71325 SUITE 49                                                                                                            SAN JUAN          PR         00936‐8425
   317886 MAYRA MALDONADO COLON    REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718754 MAYRA MALDONADO DIAZ     VILLAS DE CUPEY                                F15 CALLE PLATERO                                                                  SAN JUAN          PR         00926
   317887 MAYRA MALDONADO RIVERA   REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MAYRA MALDONADO
   317888 RODRIGUEZ                REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718756 MAYRA MANTILLA SOTO      URB SANTA ROSA                                 372 CALLE EUROPA                                                                   ISABELA           PR         00662

   718757 MAYRA MARCANO RODRIGUEZ                     BO LA MESA                  4 CALLE KM 3 3                                                                     CAGUAS            PR       00725
   718759 MAYRA MARRERO SANTOS                        HC 1 BOX 2794                                                                                                  MOROVIS           PR       00687
   718760 MAYRA MARTINEZ CLAUDIO                      HC 80 BOX 8417                                                                                                 DORADO            PR       00646‐9518
   718761 MAYRA MARTINEZ COLON                        P.O. BOX 1436                                                                                                  BARCELONETA       PR       00617
   718763 MAYRA MARTINEZ ROBLES                       URB VILLA RICA              AD 9 CALLE EDMEE                                                                   BAYAMON           PR       00959
   718764 MAYRA MARTINEZ SANTIAGO                     HC 3 BOX 14611                                                                                                 YAUCO             PR       00698
   317889 MAYRA MARTINEZ TORRES                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   317891 MAYRA MASSINI ROSA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   317892 MAYRA MATEO RIVERA                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   718765 MAYRA MATOS                                 BO GUAYABO                  H C 3 BOX 29750                                                                    AGUADA            PR       00602
   317893 MAYRA MATOS PEREZ                           REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   718766 MAYRA MEDINA DEL PILAR                      PO BOX 619                                                                                                     QUEBRADILLAS      PR       00678
   317894 MAYRA MELENDEZ CASTILLO                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   317895 MAYRA MENDEZ NUNEZ                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   718768 MAYRA MERCED                                BO SUMIDERO                 CARR 173 KM 9.5                                                                    AGUAS BUENAS      PR       00703
   718769 MAYRA MERCED RAMOS                          HC 71 BOX 6456                                                                                                 CAYEY             PR       00736
   718770 MAYRA MILLAN OSORIO                         URB SANTIAGO                C/C BOX 56                                                                         LOIZA             PR       00772
   718771 MAYRA MOLINA GOTAY                          URB SIERRA BERDECIA         F 12 CALLE FALCON                                                                  GUAYNABO          PR       00969
   718772 MAYRA MOLINA MTZ                            P O BOX 21365                                                                                                  SAN JUAN          PR       00926‐1365
   317896 MAYRA MOLINA RESTO                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   317897 MAYRA MONTANEZ LOPEZ                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   317898 MAYRA MONTERO                               REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   317899 MAYRA MORA MORALES                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   317900 MAYRA MORALES ANES                          REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   317901 MAYRA MORALES GRACIA                        REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   317902 MAYRA MUNIZ ROSA                            REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   718776 MAYRA MUNOZ TORRES                          URB BAYAMON GARDENS R 3     CALLE 15                                                                           BAYAMON           PR       00957
   718777 MAYRA N DAVILA CEPEDA                       PASEO PALMA REAL            26 CALLE ZORZAL                                                                    JUNCOS            PR       00777

   317903 MAYRA N HUERTAS FIGUEROA                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718778 MAYRA N MELENDEZ GARCIA                     URB RIVERVIEW               U 15 CALLE 18                                                                      BAYAMON           PR         00961
   317906 MAYRA N OSORIO GALARZA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718779 MAYRA N SANTIAGO                            PO BOX 958                                                                                                     COAMO             PR         00769
   317907 MAYRA N. DAVILA CEPEDA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   317911 MAYRA NEGRON QUINONES                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718781 MAYRA NEGRON RIVERA                         LOS NARANJALES              112 EDIF D 30                                                                      CAROLINA          PR         00985



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   718782 MAYRA NEVARES PACHECO                       COND MIRAMAR TOWER          721 CALLE HERNANDEZ APT 11 E                                                           SAN JUAN            PR           00907
   317912 MAYRA NEVAREZ PACHECO                       REDACTED                    REDACTED                     REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718783 MAYRA NIEVES                                CALLE LIPPT 506             BO OBRERO                                                                              SAN JUAN            PR           00915
   718784 MAYRA NIEVES CORUJA                         URB VILLA CAROLINA          154 11 CALLE 419                                                                       CAROLINA            PR           00985
   718785 MAYRA NIEVES RODRIGUEZ                      ESTA DEL PLATA              D 25 CALLE 3                                                                           TOA ALTA            PR           00953
   718786 MAYRA NIEVES SANTIAGO                       HC 2 BOX 18034                                                                                                     CAMUY               PR           00627
   718787 MAYRA O RIVERA LIZARRA                      PO BOX 156                                                                                                         TRUJILLO ALTO       PR           00977
   718788 MAYRA OCASIO ASENCIO                        URB LOMAS DE CAROLINA       2 C 22 CALLE 51 A                                                                      CAROLINA            PR           00987
   718789 MAYRA OLMEDA DELGADO                        BOX 23                                                                                                             JUNCOS              PR           00777
   718790 MAYRA ORTIZ                                 HC 3 BOX 17030                                                                                                     LAJAS               PR           00667
                                                                                  BUZON 163 GARDEN HILLS
   718791 MAYRA ORTIZ ARROYO                          100 BEVERLY HILLS COURT     DRIVE                                                                                  SAN JUAN                         00925
   718792 MAYRA ORTIZ LOZADA                          HC 1 BOX 6523                                                                                                      AGUAS BUENAS        PR           00703‐9612

   718793 MAYRA ORTIZ MALDONADO                       URB LOMAS DE COUNTRY CLUB   Y 3 CALLE 19                                                                           PONCE               PR           00731
   317913 MAYRA ORTIZ MEDINA                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718795 MAYRA OSORIO RIVERA                         21 BO PALO ALTO                                                                                                    MANATI              PR           00674
   317914 MAYRA OTERO LOPEZ                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317915 MAYRA PADILLA BENGOCHEA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718799 MAYRA PAGAN LOPEZ                           305 MONTE DE ORO                                                                                                   CAMUY               PR           00627
   317916 MAYRA PANAS LUCCA                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317918 MAYRA PENA RUIZ                             REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718800 MAYRA PEREZ DIAZ                            PO BOX 283                                                                                                         QUEBRADILLAS        PR           00678
   317919 MAYRA PEREZ GONZALEZ                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718801 MAYRA PEREZ LLANOS                          PO BOX 7126                                                                                                        PONCE               PR           00732
   718802 MAYRA PEREZ LOPEZ                           BOX 276 RT 4                                                                                                       ISABELA             PR           00662
   718804 MAYRA PINTO NIEVES                          PMB BOX 30000 SUITE 174                                                                                            CANOVANAS           PR           00729
   718806 MAYRA Q PEREZ NIEVES                        ALTURAS SAN PEDRO           J 19 CALLE SAN CRISTOBAL                                                               FAJARDO             PR           00738
   317920 MAYRA QUILES RIVERA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317921 MAYRA QUINONES MURIEL                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317922 MAYRA R MARTINEZ PLANA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718809 MAYRA R RIVERA SERRANO                      SC 12 PLAZA CUATRO                                                                                                 TOA BAJA            PR           00950
          MAYRA R RODRIGUEZ
   317923 BERMUDEZ                                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317924 MAYRA R. DIAZ ORTIZ                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317925 MAYRA R. MARTINEZ PLANA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718810 MAYRA R. SEDA TORO                          PO BOX 8068                 FERNANDEZ JUNCOS                                                                       SAN JUAN            PR           00910
   317926 MAYRA RAMIREZ SEPULVEDA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718811 MAYRA RAMON POLO                            JARDINES DE SAN IGNACIO     EDIF A APT 302                                                                         SAN JUAN            PR           00926
   718812 MAYRA RAMOS CASTILLO                        CONDOMINIO BAYAMONTE        APT 2004                                                                               BAYAMON             PR           00956
   718813 MAYRA RAMOS MALDONADO                       HC 01 BOX 2457                                                                                                     FLORIDA             PR           00650
   718814 MAYRA RAMOS OSTOLAZA                        JARD MRTROPOLITAN           958 CALLE PASCUAL                                                                      SAN JUAN            PR           00927
   317927 MAYRA RAMOS RIVERA                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      LA PONDEROSA SECTOR
   718815 MAYRA REBOLLO FELICIANO                     CERRILLO                    MARGINAL #61                                                                           PONCE               PR           00731
   718816 MAYRA REPOLLET DIAZ                         PO BOX 831                                                                                                         LAJAS               PR           00667
   718817 MAYRA REYES COLON                           P O BOX 1817                                                                                                       RIO GRANDE          PR           00745‐1817
   718818 MAYRA REYES SANTIAGO                        JARD DE MONACO III          630 CALLE PRINCIPE                                                                     MANATI              PR           00674
                                                      COOP JARDINES DE SAN
   718819 MAYRA RICO QUINONES                         FRANCISCO                   EDIF 2 APT 516                                                                         SAN JUAN            PR           00927
   718820 MAYRA RIOS SOTO                             BDA CABAN                   155 CALLE PARQUE                                                                       AGUADILLA           PR           00603
   317928 MAYRA RIPOLL RIVERA                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  718821 MAYRA RIVERA                                  PO BOX 10000                                                                                                         CANOVANAS         PR         00729
  317930 MAYRA RIVERA / LINA RIVERA                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718822 MAYRA RIVERA APONTE                           HC 4 BOX 6572                                                                                                        COMERIO           PR         00782
  718823 MAYRA RIVERA CARRERAS                         LA VILLA DE TORRIMAR         318 REY FELIPE                                                                          GUAYNABO          PR         00969
  718824 MAYRA RIVERA DE LA CRUZ                       COND MONTE REAL              RR 2 BOX 117                                                                            SAN JUAN          PR         00926
  317931 MAYRA RIVERA DIAZ                             REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317932 MAYRA RIVERA FLORES                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317934 MAYRA RIVERA MARRERO                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317935 MAYRA RIVERA MEDINA                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317936 MAYRA RIVERA NAZARIO                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317937 MAYRA RIVERA PADILLA                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718828 MAYRA RIVERA PLAZA                            VILLA FONTANA                3 HS 8 VIA 57                                                                           CAROLINA          PR         00983
  718829 MAYRA RIVERA RAMOS                            URB MARIOLGA                 X 41 CALLE SAN ALFONSO                                                                  CAGUAS            PR         00725
  317938 MAYRA RIVERA RIVERA                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718830 MAYRA RIVERA ROBLES                           URB FRONTERA                 104 CALLE ANTONIA PRINCIPE                                                              BAYAMON           PR         00961
  317940 MAYRA RIVERA ROSARIO                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317941 MAYRA RIVERA SANTIAGO                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317942 MAYRA RIVERA SOTO                             REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718831 MAYRA RIVERA VAZQUEZ                          MANS DE SANATA BARBARA       C 46 AZABACHE                                                                           GURABO            PR         00778
  718833 MAYRA RIVEVA APONTE                           PARCELAS JAGUEYES            BOX 669                                                                                 VILLALBA          PR         00766
  718834 MAYRA ROBLES RIOS                             R 10 CALLE 21                                                                                                        TOA ALTA          PR         00953
  317943 MAYRA RODRIGUEZ                               REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718837 MAYRA RODRIGUEZ CRUZ                          HC 04 BOX 22081                                                                                                      JUANA DIAZ        PR         00795

   718838 MAYRA RODRIGUEZ DELGADO                      HC 5 BOX 5018                                                                                                        YABUCOA           PR         00767

   718839 MAYRA RODRIGUEZ GONZALEZ                     B 67 REPARTO SAN JUAN                                                                                                ARECIBO           PR         00612
   718840 MAYRA RODRIGUEZ GUZMAN                       URB VILLA CRISTINA           C 22 CALLE 4                                                                            COAMO             PR         00769
   317944 MAYRA RODRIGUEZ JULBE                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718842 MAYRA RODRIGUEZ ORTIZ                        VENUS GARDENS                670 CALLE CANCER                                                                        SAN JUAN          PR         00926
   718843 MAYRA RODRIGUEZ RIVERA                       URB LA PLATA                 K 41 CALLE 11                                                                           CAYEY             PR         00736
   771176 MAYRA RODRIGUEZ ROBLES                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718844 MAYRA RODRIGUEZ SANCHEZ                      URB LOMAS VERDES             2T 19 CALLE HIEDRA                                                                      BAYAMON           PR         00956
   317946 MAYRA RODRIGUEZ SEGARRA                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   317947 MAYRA ROLON RIVERA                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718847 MAYRA ROMERO GONZALEZ                        HC 2 BOX 15362                                                                                                       CAROLINA          PR         00985
   718848 MAYRA ROMERO TORRES                          PO BOX 367076                                                                                                        SAN JUAN          PR         00936‐7076
                                                       1621‐4 AVE UNIVERSIDAD TORRE
   718851 MAYRA ROSA GONZALEZ                          NORTE                                                                                                                SAN JUAN          PR         00925
   718852 MAYRA ROSA RAMOS                             PO BOX 1980 SUITE 253                                                                                                LOIZA             PR         00772
   317949 MAYRA ROSADO VARGAS                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   317950 MAYRA ROSARIO                                REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718853 MAYRA ROSARIO AGOSTO                         VILLA CAROLINA               43 BLQ 67 CALLE 55                                                                      CAROLINA          PR         00785
                                                       R3‐56 CALLE 30 URB. TURABO
   718854 MAYRA ROSARIO COTTO                          GARDENS                                                                                                              CAGUAS            PR         00725
   718856 MAYRA ROTGER MELENDEZ                        P O BOX 72                                                                                                           NAGUABO           PR         00718
   317951 MAYRA RUIZ AYALA                             REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   317952 MAYRA RUIZ PAGAN                             REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718857 MAYRA RUIZ RODRIGUEZ                         HC 2 BOX 7341                                                                                                        QUEBRADILLAS      PR         00678

   718859 MAYRA S RAMOS JIMENEZ                        MANSIONES DE SANTA BARBARA 16 CALLE CORAL                                                                            GURABO            PR         00778
   317954 MAYRA S RIVERA CINTRON                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718860 MAYRA SALABARRIA VEGA                        PO BOX 181                                                                                                           CANOVANAS         PR         00729



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   317955 MAYRA SANCHEZ CARRASQUILLO REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   718861 MAYRA SANCHEZ HERNANDEZ                     BO CUYON                    525 PARR NUEVAS                                                                       PONCE               PR           00731
   317956 MAYRA SANDOVAL                              REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718862 MAYRA SANTANA DASTAS                        VENUS GARDENS               AK 23 CALLE MONTEREY                                                                  SAN JUAN            PR           00926
   317957 MAYRA SANTIAGO AMADOR                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718864 MAYRA SANTIAGO BAYON                        PO BOX 1101                                                                                                       BAJADERO            PR           00616‐1101
   317959 MAYRA SANTIAGO CEPEDA                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718865 MAYRA SANTIAGO COLON                        PO BOX 1637                                                                                                       LARES               PR           00669

   718866 MAYRA SANTIAGO MALDONADO HAC SAN JOSE SANJUANERA                        SJ 193 VIA MEDIEVAL                                                                   CAGUAS              PR           00725
   718867 MAYRA SANTIAGO NEGRON    P O BOX 360631                                                                                                                       SAN JUAN            PR           00936‐0631
   718868 MAYRA SANTIAGO ORTIZ     BO CUYON PARC NUEVAS 565                                                                                                             COAMO               PR           00769
   317960 MAYRA SANTIAGO OTERO     REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317961 MAYRA SANTIAGO QUINONES  REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718870 MAYRA SANTIAGO VEGA      A 32 SECTOR MOGOTE                                                                                                                   CAYEY               PR           00736
   317962 MAYRA SANTO FEBRES       REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317963 MAYRA SANTOS RODRIGUEZ   REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718872 MAYRA SEGARRA BORGES     URB VILLA SERAL                                BOX A 8                                                                               LARES               PR           00669
   317964 MAYRA SEPULVEDA ALBINO   REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                   COND TORRES DEL PARQUE APT
   718873 MAYRA SIERRA             604 N                                                                                                                                BAYAMON             PR           00956
   718874 MAYRA SIERRA RODRIGUEZ   JARDINES DEL CARIBE                            F 5 CALLE 1                                                                           PONCE               PR           00731

   718875 MAYRA SILVESTRINI SANTIAGO                  VILLA GRILLASCA             1651 JULIO C ARTEAGA                                                                  PONCE               PR           00731
          MAYRA SOL MELENDEZ
   718876 VELAZQUEZ                                   URB SANS SOUCI              O1                                                                                    BAYAMON             PR           00957
   718877 MAYRA SOLER VARGAS                          BO MAGUEYES                 CALLE 5 BOX 6                                                                         BARCELONETA         PR           00617
   317966 MAYRA SOMOZA LINARES                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MAYRA SONIA GONZALEZ
   317967 GONZALEZ                                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317968 MAYRA SOSA HERNANDEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718878 MAYRA SOTO GUZMAN                           URB TIERRA BERDECIA         B1 CALLE BENITEZ                                                                      GUAYNABO            PR           00969
   317969 MAYRA SOTO LOPEZ                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718879 MAYRA SUAREZ NIEVES                         URB VILLA LINDA             247 CALLE INTERAMERICANA                                                              AGUADILLA           PR           00603
   317970 MAYRA SUAREZ RAMOS                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718882 MAYRA T CORA RAMOS                          PO BOX 1071                                                                                                       NAGUABO             PR           00718
   317971 MAYRA T CUEVAS QUEVEDO                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718884 MAYRA T MAURA VASALLO                       BOX 355                                                                                                           TRUJILLO ALTO       PR           00976
          MAYRA T RODRIGUEZ
   317973 RODRIGUEZ                                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718886 MAYRA TOLLENTS RIVERA                       PO BOX 941                                                                                                        MAUNABO             PR           00707
   718887 MAYRA TORO TIRADO                           URB CIUDAD UNIVERSITARIA    M 6 CALLE 17                                                                          TRUJILLO ALTO       PR           00976
   317974 MAYRA TORO VAZQUEZ                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317976 MAYRA TORRES BAERGA                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718889 MAYRA TORRES CASABLANCA                     P O BOX 1460                                                                                                      SAN SEBASTIAN       PR           00685
   317977 MAYRA TORRES JIMENEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317978 MAYRA TORRES LOPEZ                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317979 MAYRA TORRES NIEVES                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   317980 MAYRA TORRES ORTIZ                          REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   718890 MAYRA TORRES RIVERA                         COND VILLA CAROLINA COURT   110 VIZCARRONDO APT 1302                                                              CAROLINA            PR           00985‐4912



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  317981 MAYRA V MARTINEZ NOBLE                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317982 MAYRA V ROSADO PAGAN                         REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317983 MAYRA V VAZQUEZ PINERO                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718891 MAYRA VALLE DOMENECH                         SAN ANTONIO             PO BOX 315                                                                           AGUADILLA         PR         00690‐0315
         MAYRA VANESSA VIVES
  718892 RIOLLANO                                     URB LOS CAOBOS          2513 CALLE PAJUIL                                                                    PONCE             PR         00716
  317988 MAYRA VARGAS ELENO                           REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317989 MAYRA VAZQUEZ IRIZARRY                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718893 MAYRA VAZQUEZ MENDEZ                         VICTOR ROJAS 2          83 CALLE 10                                                                          ARECIBO           PR         00612
  317990 MAYRA VAZQUEZ RIVERA                         REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718894 MAYRA VAZQUEZ TORRES                         PO BOX 1807                                                                                                  ARECIBO           PR         00613
  317991 MAYRA VEERIS                                 REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317992 MAYRA VEGA MEDINA                            REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317993 MAYRA VEGA SANTIAGO                          REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317994 MAYRA VELAZQUEZ CARLO                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317995 MAYRA VELAZQUEZ LOPEZ                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317996 MAYRA VELEZ HERNANDEZ                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718898 MAYRA VELEZ JIMENEZ                          URB TERRAZAS DE CUPEY   G 3 CALLE 1                                                                          TRUJILLO ALTO     PR         00976
  317997 MAYRA VELEZ SOTO                             REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317998 MAYRA VELEZ VALENTIN                         REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  317999 MAYRA VERA RAMIREZ                           REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  318000 MAYRA VILLAMIL RODRIGUEZ                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  718902 MAYRA VILLANUEVA PAGAN                       D 4 RES LOS ROBLES                                                                                           AGUADA            PR         00602
  718903 MAYRA VIRUET MALDONADO                       P O BOX 143325                                                                                               ARECIBO           PR         00612

   718904 MAYRA W ALVAREZ RODRIGUEZ                   PO BOX 5393                                                                                                  CAGUAS            PR         00726
          MAYRA W FERNANDEZ
   318001 CARRASQUILLO                                REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   318002 MAYRA W PEREZ LOPEZ                         REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MAYRA W RODRIGUEZ
   718906 MARTINEZ                                    URB MARIOLGA            P 19 CALLE 19                                                                        CAGUAS            PR         00725
   718907 MAYRA W RUIZ MORAN                          HC 4 BOX 47304                                                                                               HATILLO           PR         00659
   318003 MAYRA Y LOPEZ SANCHEZ                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   318004 MAYRA Y MALDONADO RIVERA REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718908 MAYRA Y RIVERA BONILLA   URB SANTA ELVIRA                           Q 11 STA LUCIA                                                                       CAGUAS            PR         00725
   718909 MAYRA Z MATOS BELTRAN    PORTALES PARQ ESCORIAL                     6 BLVD DE LA MEDIA LUNA   APT 1303                                                   CAROLINA          PR         00987
                                   55 OESTE CALLE PEDRO
   718910 MAYRABEL DELGADO DELGADO ARZUAGA                                                                                                                         CAROLINA          PR         00985
   318006 MAYRAH COTTO VELLON      REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   318007 MAYRALIS CAMACHO LOPEZ   REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   318008 MAYRALIS DE LA NOVAL TORRES REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   318009 MAYRALIZ SERRANO DECOS      REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718911 MAYRAM E RAMOS MEDINA       HC 01 BOX 5730                                                                                                               YABUCOA           PR         00767‐9611

   718912 MAYRAM ROSARIO RODRIGUEZ                    VALLE BELLO CHALETS     A 40                                                                                 BAYAMON           PR         00956
   718913 MAYRELIS MARTINEZ PEREZ                     URB MIRAFLORES          CALLE 20 BLQ 4‐31                                                                    BAYAMON           PR         00957
   318010 MAYRELIZ SANTIAGO PAGAN                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   718914 MAYRIAM K DIAZ DIAZ                         URB APONTE              E 20 CALLE 5                                                                         CAYEY             PR         00736
   718915 MAYRICHEL COLON JIMENEZ                     8C EXT SANCHEZ                                                                                               VEGA ALTA         PR         00692
   718916 MAYRIM INOSTROZA LABOY                      HC 1 BOX 5043                                                                                                YABUCOA           PR         00767‐9607




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   318011 MAYRIM MALDONADO PAGAN                      REDACTED                 REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718918 MAYRIM PAGAN OQUENDO                        URB VILLA DEL CARMEN     4295 AVE CONSTANCIA                                                                           PONCE               PR           00716

   718920 MAYRISE DE LA TORRE ROLON                   COLINAS METROPOLITANAS   S 15 MONTELLANO                                                                               GUAYNABO            PR           00969
   318012 MAYROMI AGOSTO                              REDACTED                 REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   318013 MAYS CHEMICAL CO                            REDACTED                 REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                               Westgate Industrial Park, Street
   831477 Mays Ochoa                                  PO Box 363968            2                                  #515, Barrio Palmas                                        Cataño              PR           00936

   718922 MAYSAD ITTAYEM DEL VALLE                    EL ALCAZAR               500 CALLE VARCARCEL APT 14A                                                                   SAN JUAN            PR           00924

   318052 MAYSONET CORREA MD, CARLOS REDACTED                                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   318164 MAYSONET QUINTERO          REDACTED                                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   318236 MAYSOUN DAWAHRA            REDACTED                                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                     Ave. Quilinchini, Edif Milan Local
   318237 Maytag                     1                                                                                                                                       Sabana Grande       PR           00637
   718924 MAYTE A PEREZ PELLOT       PO BOX 4512                                                                                                                             AGUADILLA           PR           00605
   318238 MAYTE CRUZ TORRES          REDACTED                                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   318239 MAYTE CUEVAS RIVERA        REDACTED                                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   318240 MAYTE FLORES MORALES       REDACTED                                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718925 MAYTE GOMEZ QUEVEDO        URB APOLO                                 2102 CALLE ONFALA                                                                             GUAYNABO            PR           00969
   318241 MAYTE KAIRUZ VELEZ         REDACTED                                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   318242 MAYTE QUINONES CRUZ        REDACTED                                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   318243 MAYTE RIVERA RODRIGUEZ     REDACTED                                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   318244 MAYTE RODRIGUEZ RIVERA     REDACTED                                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   318245 MAYTE SANTIAGO RAMIREZ     REDACTED                                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718927 MAYTE SANTIAGO TORRES      136 CALLE GUAYAMA APT 2                                                                                                                 SAN JUAN            PR           00917
   318246 MAYTE VEGA TORO            REDACTED                                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   318247 MAYTE VIZCARRONDO SOSA     REDACTED                                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   718928 MAYTEE BURGOS SANTIAGO     BO JUAN DOMINGO                           33 CALLE ROBLE                                                                                GUAYNABO            PR           00966
   718929 MAYTEE GARCIA MELENDEZ     URB SANTA ISIDRA 2                        207 CALLE 1                                                                                   FAJARDO             PR           00738
   718930 MAYTEE REYES FUENTES       BO LA PLATA                               APT 75                                                                                        COAMO               PR           00786
   718932 MAYTELIN HERRERA BATISTA   URB MONTERREY 1272                        CALLE LOS ANDES                                                                               SAN JUAN            PR           00926
   318248 MAYVELIZ RIJOS MATOS       REDACTED                                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   318249 MAYWALIDA GUERRA SOTO      REDACTED                                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   318258 MAZIN ATRA SUBOH           REDACTED                                  REDACTED                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MAZOVI MEDICAL WASTE                                                 221 CALLE ARGENTINA PARC LA
   718934 DISPOSAL                   COMUNIDAD LA DOL                          DOLORES                                                                                       RIO GRANDE          PR           00745
   318261 MAZZA & GREEN              33 BOLIVIA                                OFIC 203                                                                                      SAN JUAN            PR           00917
   318266 MB FUNDRAISING SOLUTIONS   MANSIONES DE CAROLINA                     GG 8 CALLE MARQUESA                                                                           CAROLINA            PR           00987
   718936 MB SPORTS INC              PO BOX 363148                                                                                                                           SAN JUAN            PR           00936‐3148
   318268 MBA ASOC CONSULTAN SERV    4028 AVE MILITAR                                                                                                                        ISABELA             PR           00662
   718937 MBETA                      ESTANCIAS DEL RIO                         23 YAGUEZ                                                                                     AGUAS BUENAS        PR           00703‐9631

   718938 MBI DIAGNOSTIC IMAGING INC                  PO BOX 157                                                                                                             BAYAMON             PR           00960‐0157
   718939 MBIA INSURANCE CO                           113 KING STREET                                                                                                        ARKMONK             NY           10504

  1260405 MBIA INSURANCE CORPORATION 1 MANHATTANVILLE ROAD                     SUITE 301                                                                                     PURCHASE            NY           10577
          MBM STEEL & CONCRETE WORKS
   318274 INC                        PO BOX 550                                                                                                                              YABUCOA             PR           00767
          MBTI BUSINESS TRAINING
   318275 INSTITUTE                  EDIF METRO MEDICAL CENTER                 1995 CARR 2 STE 1102                                                                          BAYAMON             PR           00959



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          MBTI BUSSINESS TRAINING
   318276 INSTITUTE                                   EDIF METRO MEDICAL CENTER      1995 CARR 2 STE 1102                                                     BAYAMON             PR           00959

   718940 MBTI/BUSINESS TRAINING INST. 1256 AVE PONCE DE LEON                                                                                                 SANTURCE            PR           00907
   318277 MC 21 CORPORATION            CALL BOX 4908                                                                                                          CAGUAS              PR           00726‐4908

   318278 MC ABEE CONSULTING GROUP                    P O BOX 360172                                                                                          SAN JUAN            PR           00936‐0172
   318279 MC ADVISORS INC                             PO BOX 5721                                                                                             CAGUAS              PR           00726
   718941 MC ALLISTER BROTHERS INC                    PO BOX 9066563                                                                                          SAN JUAN            PR           00906

   718942 MC BIDDER S CORPORATION                     352 AVE SAN CLAUDIO PMB 159                                                                             SAN JUAN            PR           00926‐4117
   718943 MC CANN & ASSOCIATES INC                    PO BOX 5217                                                                                             MAYAGUEZ            PR           00681
   318281 MC CHRISTIAN RENTAS BAEZ                    URB ALTS DEL ALBA           10926 CALLE ATARDECER                                                       VILLALBA            PR           00766
          MC CLOSKEY MULET & BONNIN
   718944 APPRAISERS FSC                              PO BOX 10537                                                                                            SAN JUAN            PR           00922‐0537
   318283 MC CONNEL VALDES KELLY                      PO BOX 364225                                                                                           SAN JUAN            PR           00936‐4225
   318284 MC CONNELL & VALDES LLC                     PO BOX 364225                                                                                           SAN JUAN            PR           00936‐4225
   318289 MC COY & ASSOCIATES                         12596 W BAYAUD AVE                                                                                      LAKEWOOD            CO           80228‐2035
   718945 MC COY & ASSOCIATES INC                     25107 GENESEE TRAIL RD 200                                                                              GOLDEN              CO           80401‐5708
   718946 MC DERMOTT WILL & EMERY                     600 13TH STREET N W                                                                                     WASHINGTON          DC           20005‐3096
   718948 MC DEVELOPMENT INC                          URB BALDRICH              584 MAXIMO GOMEZ                                                              SAN JUAN            PR           00918
                                                                                OFICINA REGIONAL DE
   318293 MC DISTRIBUTORS                             DEPARTAMENTO DE EDUCACION MAYAGUEZ                      50 NENADICH                                     MAYAGUEZ            PR           00680
   718949 MC DONALDS                                  PO BOX 50517                                                                                            TOA BAJA            PR           00958
   718950 MC DONALD'S                                 PO BOX 4361                                                                                             SAN JUAN            PR           00936

   718951 MC DONALDS ARECIBO I                        FRENTE PLAZA DEL ATLANTICO     CARR 2 KM8 1                                                             ARECIBO             PR           00612
   718952 MC DONALDS CORP.                            TERRACE #2 KM. 152.9                                                                                    MAYAGUEZ            PR           00680
          MC ELECTRICAL / CONTRACTOR
   718955 INC                                         A 19 JARDINES HUMACAO                                                                                   HUMACAO             PR           00791

   318299 MC ELECTRICAL DISTRIBUTORS                  401 CARR 869 BO PALMAS                                                                                  CATANO              PR           00962
          MC ELECTRICAL DISTRIBUTORS                  AVE. LOS CONQUISTADORES
   318300 INC.                                        #150                           01‐A MANNA BAHIA PLAZA                                                   CATANO              PR           00962
          MC ELECTRICAL& AIR
   318301 CONDITIONING                                JARDINES HUMACAO               CALLE A‐19                                                               HUMACAO             PR           00761‐0000
          MC ESTUDIO DE ARQUITECTURA
   318303 CSP                                         VILLA CAPARRA NORTE            15 CALLE H                                                               GUAYNABO            PR           00966
                                                      EA‐28 AVE COMERIO LOS
   318307 MC HOUSE                                    ALMENDROS                                                                                               BAYAMON             PR           00619
   718956 MC HOUSE DE PR                              URN INDUSTRIAL CORREA          8 LOTE 11                                                                BAYAMON             PR           00961
   318308 MC JOE ARROYO ACEVEDO                       CHALETS DE SAN PEDRO           500 CALLE SAN PATRICIO                                                   FAJARDO             PR           00738
   718957 MC KURIE CERAMIC                            56 CALLE JOSE DE DIEGO                                                                                  AGUADILLA           PR           00603
          MC MARTIN ENGINEERING
   718958 TELECOMUNICATIONS                           P O BOX 10647                                                                                           SAN JUAN            PR           00922‐0647
                                                      Chalets Brisas del Mar Calle
   318310 MC Mechanical & Piping, LLC                 Velero A‐24                                                                                             Guayama             PR           00784‐0000
          MC MEDICAL & REHAB STORE
   318311 INC                                         URB VISTAMAR                   445 CALLE PORTUGAL                                                       CAROLINA            PR           00983
   718959 MC MEDICAL EQUIPMENT                        ADM FOMENTO COMERCIAL          PO BOX 9024275                                                           SAN JUAN            PR           00902‐4275
   718960 MC MUFFLER                                  981 AVE. SAN JOSE                                                                                       QUEBRADILLA         PR           00678‐2820
   718961 MC MURRAY INDUSTRIAL                        PO BOX 361853                                                                                           SAN JUAN            PR           00936




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          MC NEIL CONSUMER PRODUCTS
   318312 PR                                          PO BOX 1959                                                                                                        CAGUAS               PR           00726
   718962 MC QUAY CARIBE INC                          PMB 493                         90 AVE RIO HONDO                                                                   BAYAMON              PR           00961‐3113
   318314 MC RELATIVITY INC                           URB VILLA VERDE                 C 7 CALLE C                                                                        GUAYNABO             PR           00966
   318315 MC RENTAL EQUIPMENT INC                     PO BOX 1717                                                                                                        CIALES               PR           00638
   718963 MC SERVICES CORP                            PO BOX 2104                                                                                                        SAN JUAN             PR           00922‐2104
   318316 MC THERAPY GROUP                            URB PARADIS                     B3 LOPEZ FLORES                                                                    CAGUAS               PR           00725
   718965 MC TOURS                                    PO BOX 50148                                                                                                       TOA BAJA             PR           00949
   718966 MC TRADING CORP                             GPO BOX 364943                                                                                                     SAN JUAN             PR           00936
   318318 MC TRUCKS INC                               PO BOX 363543                                                                                                      SAN JUAN             PR           00936‐3543
   318319 MC WAREHOUSE                                1690 OAK ST                     PO BOX 3031                                                                        LAKE WOOD            NJ           07701

   318320 MC WILLIAMS ARROYO ACEVEDO URB ALBANURES                                    A 9 CALLE IGUALDAD                                                                 FAJARDO              PR           00738
   718967 MC. ELECTRIC               #1121 AMERICO MIRANDA                            REPARTO METROPOLITANO                                                              RIO PIEDRAS          PR           00921
  1256670 MC‐21 CORP                 REDACTED                                         REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MCA ENGINEERING
   318323 CONSULTANTS                URB VILLA CLEMENTINA                             B‐14 LIC.RODRIGUEZ                                                                 GUAYNABO             PR           00969

   318325 McAFEE, INC.                                2821 MISSION COLLEGE BLVD.                                                                                         SANTA CLARA          CA           95054
   718968 MCALLISTER BROTHERS, INC.                   P.O. BOX 9066563                                                                                                   SAN JUAN                          00906‐6563
   318326 MCC ELECTRONICS                             PO BOX 13059                                                                                                       SAN JUAN             PR           00908
   318328 MCC GROUP                                   PASEOMONTE 208                  381 AVE F RINCON                                                                   SAN JUAN             PR           00926
   318329 MCC MEDICAL SUPPLIES                        URB EL VERDE SUR                D 3 CALLE H                                                                        CAGUAS               PR           00725

   318330 MCCAFFERTY FAMILY PRACTICE                  4242 LORAIN AVE RM 247                                                                                             CLEVELAND            OH           44113
   318333 MCCANN ERICKSON CORP SA                     PO BOX 9023389                                                                                                     SAN JUAN             PR           00902‐3389
   318349 MCCORMICK MD, MEGAN                         REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MCCRONE MICROSCOPES &
  1256671 ACCESSORIES                                 REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MCD ARCHITECTURAL &
   318350 ENGINEERING SERV INC                        PMB 163 AVE ESMERALDA 53                                                                                           GUAYNABO             PR           00969‐4429
          MCDANNIEL VELAZQUEZ
   318352 ASTACIO                                     URB LOMAS VERDES                X‐37 CALLE COLOMBINA                                                               BAYAMON              PR           00956
          MCDONALD ARMY HEALTH
   318354 CENTER                                      576 JEFFERSON AVE                                                                                                  FT EUSTIS            VA           23604
          MCDOUGAL LITTELL & C/O JOSE
   718970 OQUENDO                                     444 AVE DE DIEGO                APT 1703                                                                           RIO PIEDRAS          PR           00923
          MCDOWALL BERTRAND MD,
   318360 MARK T                                      REDACTED                        REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   318373 MCG & THE ABLE CHILD                        URB SAN AGUSTIN, 427 CALLE 6                                                                                       SAN JUAN             PR           00926
   718972 MCGAW B BROWN                               P O BOX 729                                                                                                        SABANA GRANDE        PR           00747
   318388 McGILL UNIVERSITY                           3724 McTAVISH STREET                                                                                               MONTREAL             CA           H3A IY2       Canada
          MCGRAW‐HILL
   318392 INTERAMERICANA, INC                         1121 AVE MUÐOZ RIVERA                                                                                              SAN JUAN             PR           00928
          MCGRAW‐HILL                                 METRO OFFICE PARK #14 CALLE 2
   318395 INTERAMERICANA, INC.                        SUITE 100                                                                                                          GUAYNABO             PR           00968‐0000

   318399 MCH C CLINIC                                CHARLES HARWOOD COMPLEX         3500 EST RICHMOND                                                                  CHRISTIANSTED        VI           00820
   318400 MCH CLINIC                                  ELAINE CO. BLDG.                CONTANT 78‐1‐2‐3                                                                   CHARLOTTE AMALI      VI           00802
   718973 MCH DEPT OF ORTHOPEDICS                     PO BOX 52‐7350                                                                                                     MIAMI                PR           33152‐7350
   718974 MCH PEDIATRIC CARDIOLOGY                    PO BOX 863286                                                                                                      ORLANDO              FL           32886‐3286
   318401 MCH RADIOLOGISTS                            PO BOX 863942                                                                                                      ORLANDO              FL           32886‐3942



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          MCKAY DEE BEHAVIORAL
   318405 HEALTH CENTER                               4401 HARRISON BLVD                                                                                                  OGDEN                UT           84401

   318407 MCKENZIE GARAY MD, MANUEL REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   318408 MCKENZIE GOMEZ MD, FELIX M                  REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   318409 MCKESSON CORP                               ONE POST STREET 35TH FLOOR                                                                                          SAN FRANCISCO        CA           94104

   318410 MCKESSON HEALTH SOLUTIONS                   22423 NETWORK PLACE                                                                                                 CHICAGO              IL           60673‐1224
   318412 McKesson Plasma & Biologics                 2615 MEDICAL CENTER PKWY     STE 1580                                                                               MURFREEBORO          TN           37129
   318413 MCKINLEY CUBICI, GEORGE A                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   318417 MCKINSEY & COMPANY                          BBV TOWER 8 FLOOR            254 AVE MUNOZ RIVERA                                                                   SAN JUAN             PR           00918
          MCLAURENCE TORRES MARY,
   318423 AGNES                                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   718977 MCM ANESTHESIOLOGY GROUP                    633 THIRD AVE BOX 232                                                                                               NEW YORK             PR           10017
   318425 MCMAHON MD, MARK                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   718978 MCMILLER CO                                 3020 AVIATION BOULEVARD                                                                                             VERO BEACH           FL           32960
   318427 MCMULLEN MD, ROBERT                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   318428 MCNEIL CONSUMER PRODUCTS                    PO BOX 2009                                                                                                         LAS PIEDRAS          PR           00771
                                                      MONTEHIEDRA OFFICE CENTER
   318429 MCNEIL HEALTHCARE LLC                       9615                         AVE LOS ROMEROS SUITE 416                                                              SAN JUAN             PR           00926
          MCNEILL CONSUMER INC.                       IRS MERCANTIL PLAZA 9 TH
   718979 P.R.C/O                                     FLOOR                        27 1/2 AVE PONCE DE LEON                                                               SAN JUAN             PR           00917
   718980 MCNO LLC                                    4200 CANAL STREET SUITE B                                                                                           NEW ORLEANS          LA           70119
          MCNSERRATE CONSULTING
   318431 GROUP INC                                   REPARTO METROPOLITANO        1121 AVE AMERICO MIRANDA                                                               SAN JUAN             PR           00921
   318433 MCP INVESTMENTS INC.                        11 NORTH VERNON AVE                                                                                                 KISSIMMEE            FL           34741
          MCR ASOCIADOS D/B/A MILTON
   718981 CENTENO                                     P O BOX 896                                                                                                         BAYAMON              PR           00960 0896
          MCS HEALTH MANAGEMENT
   318445 OPTIONS INC                P O BOX 193310                                                                                                                       SAN JUAN             PR           00919‐3310
                                     MCS DEPT FINANZAS POR
   318420 MCS LIFE INSURANCE COMPANY 193310                                                                                                                               SAN JUAN             PR           00919‐3310
   318462 MCZY BUS SERVICE INC       PO BOX 626                                                                                                                           RIO GRANDE           PR           00745
   318467 MD DISTRIBUTOR             425 ST 693 PMB #115                                                                                                                  DORADO               PR           00646
   318468 MD DISTRIBUTORS            425 ST 693 PMB 115                                                                                                                   DORADO               PR           00646
   318469 MD ENGINEERING GROUP INC   PO BOX 90                                                                                                                            COAMO                PR           00769
   318470 MD HOLDINGS                1314 PONCE DE LEON                            SUITE 401                                                                              SAN JUAN             PR           00907
   318473 MD RENAL GROUP LLC         PO BOX 667                                                                                                                           MOCA                 PR           00676
          MDC HEAVY DUTY CLEANING
   718983 CORP                       FLAMINGO HILLS                                127 CALLE 3                                                                            BAYAMON              PR           00957‐1748
          MDL CONTRACTOR AND
   718984 ENGINEERS S E              P O BOX 335420                                                                                                                       PONCE                PR           00733‐5420
                                                                                   RG 11 CALLE GARDENIA
   718985 MDQ SPORT INC                               LA ROSALEDA II               LEVITTOWN                                                                              TOA BAJA             PR           00949
   318475 MDR C S P                                   URB VICTOR BREAGGER          12 CALLE LUHN                                                                          GUAYNABO             PR           00966
   718986 MDR SUPPLIES & MORE                         LA RIVIERA                   1408 CALLE 50 SO                                                                       SAN JUAN             PR           00921
   318478 MDV LAW OFFICES PSC                         PO BOX 360159                                                                                                       SAN JUAN             PR           00936‐0159
   718987 ME SALVE CANTON INC                         PO BOX 2399                                                                                                         TOA ALTA             PR           00951




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          ME SALVE INC/DYNAMIC SOLAR
   318479 SOLUTIONS INC                               PO BOX 2399                                                                                                          TOA BAJA            PR           00951
          MEAD DATA CENTRAL Y\O LEXIS
   718989 NEXIS                                       PO BOX 7247‐7090                                                                                                     PHILADELPHIA        PA           19170‐7090
          MEAD JOHNSON NUTRITION
   318481 (PUERTO RICO) INC                           PO BOX 70237                                                                                                         SAN JUAN            PR           00936‐8237
          MEAD JOHNSON NUTRITION
   318482 (PUERTO RICO), IN                           PO BOX 70237                                                                                                         SAN JUAN            PR           00936‐8237
          MEAD JOHNSON NUTRITION PR
  1256672 INC.                                        REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MEAD JOHNSON NUTRITION PR
   318483 INC.                                        PO BOX 70237                                                                                                         SAN JUAN            PR           00936
   318485 MEAD WEST VACO                              P.O. BOX 1660                                                                                                        CAGUAS              PR           00726‐1660
   318486 MEADE MD, JAMES                             REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MEADOWLANDS HOSPITAL
   318489 MEDICAL CENTER                              #55 MEADOWLANDS PARKWAY                                                                                              SECAUCUS            NJ           07094
   718992 MEALEY PUBLICATIONS, INC.                   P.O. BOX 446                                                                                                         WAYNE               PA           19087‐0446
   318492 MEASE DUNEDIN HOSPTIAL                      ATTN MEDICAL RECORDS           601 MAIN ST                                                                           DUNEDIN             FL           34698
   718993 MEC DISTRIBUTORS                            PO BOX 7481                                                                                                          PONCE               PR           00732
   318503 MEC ENGINEERING, INC                        SUITE 322                      605 CONDADO ST                                                                        SAN JUAN            PR           00907
          MECA ELECTRONIC CAR WASH
   718994 INC                                         PO BOX 8156                                                                                                          PONCE               PR           00732
                                                      AVE. PONCE DE LEON # 1905
   718995 MECANICA ALVARADO                           PDA.26                                                                                                               SANTURCE                         00907
                                                      CALLE AMARILLO # 1735 VISTA
   718996 MECANICA AUTO VISTA                         ALEGRE                                                                                                               RIO PIEDRAS         PR           00926‐3053
   718997 MECANICA BOMBI                              APARTADO 433                                                                                                         NARANJITO           PR           00749
   718998 MECANICA BREN.                              # 709 C/ MAYOL                                                                                                       SANTURCE                         00907
   718999 MECANICA CARLOS                             HC‐02 BOX 10380                                                                                                      GUAYNABO            PR           00971
   719000 MECANICA CAROLO                             APARTADO 1101                                                                                                        SABANA HOYOS        PR           00688
   318504 MECANICA CESPEDES                           REDACTED                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   719002 MECANICA CHEO AMBULANCIAS HC1 BOX 8330                                                                                                                           HORMIGUEROS         PR           00660
   719003 MECANICA CHOCO            HC‐33 BOX 5574                                                                                                                         DORADO              PR           00646
   318505 MECANICA COLON            REDACTED                                         REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   318506 MECANICA COLON COLON      REDACTED                                         REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719004 MECANICA COPA             P O BOX 1509                                                                                                                           LUQUILLO            PR           00773
   719005 MECANICA DAISY            HC 1 BOX 29030                                                                                                                         CAGUAS              PR           00725
   719006 MECANICA DAVILA           P O BOX 336                                                                                                                            JUNCOS              PR           00777
          MECANICA DIAZ /O LENIN W.
   719007 DIAZ                      AMERICO MIRANDA #1576                                                                                                                  CAPARRA TERRACE     PR           00921‐2019

   719008 MECANICA DIESEL EL DURACO                   RR 02 BOX 8034                                                                                                       TOA ALTA            PR           00956
                                                      1014 AVE FERNANDEZ JUNCOS
   719009 MECANICA DON PONCHY                         PDA15                                                                                                                SAN JUAN            PR           00907

   719010 MECANICA DURAN                              JARDINES DE ARECIBO C/ KL‐17                                                                                         ARECIBO                          00612
   719011 MECANICA FREDDIE                            P.O. BOX 461                                                                                                         BAJADERO            PR           00616
   719012 MECANICA FREDO                              F 1 AVE BARCELO                Y BALDORIOTY DE CASTRO                                                                CAYEY               PR           00736
   719013 MECANICA GARCIA                             HC‐02 BOX 3042                                                                                                       LUQUILLO            PR           00773
   318507 MECANICA GENERAL ALONSO                     REDACTED                       REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                     CAMINO JUAN LEBRON CARR 348
   719014 MECANICA GERE                               BO QDA GRANDE                  INT                                                                                   MAYAGUEZ            PR           00680



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  318509 MECANICA GOMEZ                               REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  318510 MECANICA GUILLO                              REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  318511 MECANICA GUINGO                              REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  719016 MECANICA GUINILLO                            SAVARONA                      16CALLE JOSE MERCADO                                                                   CAGUAS              PR         00725
         MECANICA GUZMAN / GARAGE
  719017 GUZMAN                                       P O BOX 1313                                                                                                         AGUAS BUENAS        PR         00703
  719018 MECANICA HERIBERTO                           HC‐03 BOX 8937                                                                                                       BARRANQUITAS        PR         00794
  719019 MECANICA HERNANDEZ                           CAPARRA TERRACE               1424 AVE AMERICO MIRANDA                                                               SAN JUAN            PR         00927
  719020 MECANICA HIRAM                               C/ COMERCIO 426                                                                                                      BAYAMON                        00956
  719021 MECANICA J.R.                                RR 2 BOX 1066                                                                                                        SAN JUAN            PR         00926
  719022 MECANICA JIMMY                               URB. LOMAS VERDES 4B 13       CALLE PASCUA                                                                           BAYAMON             PR         00956
  719023 MECANICA JULIO                               P.O. BOX 1682                                                                                                        LUQUILLO            PR         00773
  719024 MECANICA LOS FLACOS                          P O BOX 666                                                                                                          BARRANQUITAS        PR         00618
         MECANICA MARRERO /
  719025 EDUARDO MARRERO                              BO RIO LAJAS                                                                                                         DORADO              PR         00646
  719027 MECANICA MAURICIO                            CALLE CRISANTEMOS WH‐28                                                                                              CAROLINA                       00979
                                                      443 CALLE CEUTA EMBALSE SAN
   719029 MECANICA MENDEZ                             JOSE                                                                                                                 RIO PIEDRAS         PR         00923
   719030 MECANICA PAPO                               PO BOX 941                                                                                                           JAYUYA              PR         00664
   318512 MECANICA PIANO                              REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   719031 MECANICA POCHY                              PUERTO NUEVO                  46 AVE ANDALUCIA                                                                       RIO PIEDRAS         PR         00921
   318513 MECANICA QUINONES                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   719032 MECANICA SAMMY                              P O BOX 592                                                                                                          FAJARDO             PR         00738
   719033 MECANICA SIERRA                             URB VILLA RICA                AG 25 CALLE SONIA                                                                      BAYAMON             PR         00959
   318514 MECANICA TITO                               PO BOX 310                                                                                                           CIALES              PR         00638
   318515 MECANICA TONITO OYOLA                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   719035 MECANICA TONY SILVA                         URB. SIERRA LINDA                                                                                                    BAYAMON             PR         00959
   719036 MECANICA VILLA E HIJOS                      URB ALTAMESA                  1321 AVE SAN ALFONSO                                                                   RIO PIEDRAS         PR         00920
   318516 MECANICA VIVO                               REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   719037 MECANIPIEZAS 2000                           CALLE 13 A‐15 SANTA MONICA                                                                                           BAYAMON             PR         00957
          MECENAS DE ARTISTAS
   318517 PUERTORRIQUENOS                             PO BOX 191598                                                                                                        HATO REY            PR         00919

   719038 MECH SERV AIR CONDITIONING                  551 AVE MIRAMAR SUITE B                                                                                              SAN JUAN            PR         00907
   318518 MECH TECH                                   PO BOX 6118                                                                                                          CAGUAS              PR         00726
          MECHACA MARTINEZ MD, JUAN
   318520 A                                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MECHANICAL & ELECTRICAL
   719042 BUILDING                                    BOX 108 7104 C/ LAS FLORES                                                                                           SABANA SECA         PR         00952‐4368

   719043 MECHANICAL AIR CONDITIONER P O BOX 1031                                                                                                                          JUNCOS              PR         00777
          MECHANICALLY STABILIZED EATH
   719044 C                            PO BOX 11231                                 CUPEY ALTO                                                                             SAN JUAN            PR         00726
          MECHANICALS & BOILERS
   318521 CONT.INC                     65TH INFANTERIA STATION                      PO BOX 31199                RIO PIEDRAS                                                SAN JUAN            PR         00929
   318522 MECO ROOTER                  P.O. BOX 1601                                                                                                                       TRUJILLO ALTO       PR         00977‐1601
   318525 MED‐ ALL UNIFORMS            CALLE RAMON E BETANCES                       19 NORTE SUITE 101                                                                     MAYAGUEZ            PR         00680

   318526 MED ASSIST                                  ATTN MEDICAL RECORDS          3442 US HIGHWAY 431 SOUTH                                                              ALBERTVILLE         AL         35950‐0203
   318528 MED CARRIERS, CORP.                         PO BOX 846                                                                                                           BAYAMON             PR         00960
   318529 MED CON CARIBBEAN                           PO BOX 83                                                                                                            JUANA DIAZ          PR         00795
   719048 MED CORP MED CARE INC                       PO BOX 364727                                                                                                        SAN JUAN            PR         00936‐4727



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                                                      URB. JOSE MERCADO U ‐ 9 CARR.
   318530 MED DRUG , INC.                             183 KM 2.8                                                                                                        CAGUAS               PR           00725‐0000
   318531 MED DRUG INC                                E3 AVE MUNOZ MARIN            REPARTO CAGUAX                                                                      CAGUAS               PR           00725

   318532 MED EDUCATIVE INVESTMENT   CARR. 846 K 04                                SECTOR RUEDA BLANCA                                                                  TRUJILLO ALTO        PR           00976
   719049 MED JET INTERNATIONAL INC  4900 69TH ST NORTH                                                                                                                 BIRMINGHAM           AL           35206
   719050 MED LINK INC               BOX 889                                                                                                                            LAJAS                PR           00667
   719051 MED REL INC                PO BOX 8687                                                                                                                        HUMACAO              PR           00792
   318535 MED SERVICES INC           MUNOZ RIVERA #61                                                                                                                   JUNCOS               PR           00777
   719052 MED SURG CORP              PO BOX 1371                                                                                                                        SAINT JUST           PR           00978
   719053 MED TEDN PLASTIC PR INC    P O BOX 1409                                                                                                                       VEGA BAJA            PR           00694
   719054 MED WORLDWIDE              987 AVE AMERICO MIRANDA                       1 REPARTO METROPOLITANO                                                              SAN JUAN             PR           00921
   719055 MED X PORT                 GARDEN HILL PLAZA                             SUITE 353                                                                            GUAYNABO             PR           00966
   318536 MEDAI INC                  4901 VINELAND ROAD                            SUITE 450                                                                            ORLANDO              FL           32811
   318540 MEDALCRAFT MINT            2660 W MASON STREET                                                                                                                GREEN BAY            WI           543003
          MEDALLIANCE MEDICAL HEALTH
   318541 SERVICES                   625 EAST FORDHAM ROAD                                                                                                              BRONX                NY           10458
   719056 MEDARDO ROBLES ROSA        RES JARD DE CUPEY                             EDIF 10 APTO 120                                                                     SAN JUAN             PR           00926
   719057 MEDARDO ROBLES SANTIAGO    RES JARD DE CUPEY                             EDIF 10 APT 120                                                                      SAN JUAN             PR           00926

   318554 MEDCO HEALTH SOLUTIONS INC 100 PARSON POND DR MS FI 7                                                                                                         FRANKLIN LAKES       NJ           07417

   719058 MEDCO MEDICAL EQUIPMENT                     P O BOX 3044                 HATO ARRIBA STA                                                                      SAN SEBASTIAN        PR           00685
          MEDDELHOF DE LEON MD,
   318555 ALBERTO                                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   719059 MEDE L MARIN RIVERA                         COUNTRY CLUB                 H A CALLE 219                                                                        CAROLINA             PR           00982
   719060 MEDELA                                      PO BOX 660                                                                                                        MC HENRY             IL           60051
   719061 MEDELECIA MADERA ACOSTA                     VILLA DEL CARMEN             458 CALLE SOLIMAR                                                                    PONCE                PR           00716‐2107
          MEDELICIA ACOSTA &
   318557 FRANCISCO TORRES DIAZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MEDELICIA ALMODOVAR
   318558 ALMODOVAR                                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   318559 MEDELICIA BONILLA TORRES                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MEDELICIA CONTRERAS Y
   719063 ANGELINA MARTINEZ                           BO PITAHAYA                  HC 03 5658                                                                           HUMACAO              PR           00791‐9504
          MEDELICIA CUADRADO Y
   318560 NATIVIDAD CASILLAS                          REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   318649 MEDHEALTH HOSPICE CORP                      154 CARR 102                                                                                                      CABO ROJO            PR           00623‐3138
   719065 MEDI CURE INC                               URB SANTA CRUZ               B 5 CALLE SANTA CRUZ                                                                 BAYAMON              PR           00961
   719067 MEDI HOSPITAL SUPPLY                        712 AVE PONCE DE LEON                                                                                             SAN JUAN             PR           00918
   719068 MEDI JOB INC                                PMB 384                      PO BOX 11850                                                                         SAN JUAN             PR           00922‐1850
          MEDI PLUS PR INC / EDITA
   318650 CUBILLA SANDINO                             COND LOS PINOS               APT 2 G ISLA VERDE                                                                   CAROLINA             PR           00979

   719069 MEDI TECH INTERNATIONAL INC 2924 N W 109TH AVE                                                                                                                MIAMI                FL           33172
   318651 MEDI TECH ORTHOPEDICS       PO BOX 43002 SUITE 431                                                                                                            RIO GRANDE           PR           00745
   719070 MEDI UNIFORMS               712 AVE PONCE DE LEON                                                                                                             HATO REY             PR           0091718
   318652 MEDI VISION                 73 CALLE DR CUETO                                                                                                                 UTUADO               PR           00641
          MEDIA & MARKETING PARTNERS
   318653 & CO CORP                   P O BOX 19088                                                                                                                     SAN JUAN             PR           00910
   318654 MEDIA &MARKETING            PO BOX 19088                                                                                                                      SAN JUAN             PR           00910
          MEDIA CAPAIGN RESOURCE
   318655 CENTER                      11420 ROCKVILLE PIKE                                                                                                              ROCKVILLE            MD           20852



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  719071 MEDIA GRAPHICS              PO BOX 29866                                                                                                                          SAN JUAN            PR           00929 0866
  719072 MEDIA MANAGEMENT            MSC 120 SUITE 112                             GRAN BULEVARD PASEOS                                                                    SAN JUAN            PR           00926
         MEDIA MANAGEMENT &
  318656 PARTNERS                    100 CARR 165 STE 407                                                                                                                  GUAYNABO            PR           00968‐0500
         MEDIA MARATON GUATIBIRI DEL
  318657 OTOAO INC                   BOX 1257                                                                                                                              UTUADO              PR           00641

   318658 MEDIA MASTERS OF CARIBBEAN                   URB EL DORADO               CALLE B #B43                                                                            SAN JUAN            PR           00926
   318659 MEDIA ONLINE INC                             SIERRA MORENA               273 LA CUMBRE SUITE 403                                                                 SAN JUAN            PR           00926
          MEDIA POWER GROUP INC /
   318660 RADIO ISLA                                   100 GRAN BOULEVARD PASEOS   SUITE 403 A                                                                             SAN JUAN            PR           00926
   318661 MEDIA POWER GROUP, INC                       171 AVE. CARLOS CHARDON     SUITE 401                                                                               SAN JUAN            PR           00918‐0903
          MEDIA SOURCE & PUBLIC
   318662 RELATIONS INC                                145 AVE HOSTOS 513 I                                                                                                SAN JUAN            PR           00918
   318663 MEDIA STAGE                                  PO BOX 2438                                                                                                         TOA BAJA            PR           00951‐2438
   318664 MEDIA WRAP INC                               AREA DEL TESORO             DIVISION DE RECLAMACIONES                                                               SAN JUAN            PR           00902‐4140
   719074 MEDIAFAX INC                                 PO BOX 19599                                                                                                        SAN JUAN            PR           00910
                                                                                   1311 AVE PONCE DE LEON STE
   318665 MEDIAPOL                     EDIFICIO FLAMINGO                           206                                                                                     SAN JUAN            PR           00907
          MEDIATION TRAINING INSTITUTE
   719075 VILLAGE                      5700 WEST 79TH STREET                                                                                                               PRAIRIE VILLAGE     KS           66208‐4604

   318670 MEDIAVILLA GONZALEZ, MIGUEL REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

  1420530 MEDIAVILLA RAMOS, LOURDES I. DIMARIES BOU VÁZQUEZ                        URB. MONTERREY CALLE 2 #D.20                                                            COROZAL             PR           00783
   318694 MEDIAVILLA, RICARDO          REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MEDIAWIRE COMMUNICATIONS
   719076 INC                          530 AVE PONCE DE LEON                                                                                                               SAN JUAN            PR           00901
   318695 MEDIC AMBULANCE              P. O. BOX 142464                                                                                                                    ARECIBO             PR           00614‐2464
   318696 MEDIC CLINIC CORP OF PR      URB SABANA GARDENS                          4‐1 CALLE 7                                                                             CAROLINA            PR           00983
   719077 MEDIC HOSPITAL SUPPLIES      712 AVE PONCE DE LEON                                                                                                               SAN JUAN            PR           00918
   719078 MEDIC LAB                    PMB 1026                                    BOX 427                                                                                 MAYAGUEZ            PR           00681

   318697 MEDIC MEDICAL TRANSPORT INC PO BOX 141884                                                                                                                        ARECIBO             PR           00614‐1884
   318698 MEDIC MOLINA TORRES         URB LOS MONTES                               311 CALLE GUACAMAYO                                                                     DORADO              PR           00646
          MEDICAL & HEALTH RESEARCH
   318699 ASSOCIATION                 40 WORTH STREET SUITE 720                                                                                                            NEW YORK            NY           10013
          MEDICAL & VACCINE PRODUCTS,
   318700 INC                         PO BOX 7468                                                                                                                          CAGUAS              PR           00726

   831479 Medical & Vaccine Products, Inc. P O Box 7468                                                                                                                    Caguas              PR           00725

   719079 MEDICAL ACCOUNTING SYSTEMS P O BOX 397                                                                                                                           MANATI              PR           00674‐0397

   719080 MEDICAL ALLIANCE GROUP INC                   URB VEREDAS                 10 CAMINO LOS FLAMBOYANES                                                               GURABO              PR           00778

   719081 MEDICAL AMBULANCE SERVICE                    PO BOX 872                                                                                                          SAN JUAN            PR           00919

   719082 MEDICAL AMBULANCE SERVICES PO BOX 190872 HATO REY STA                                                                                                            SAN JUAN            PR           00919‐0872
   318703 MEDICAL ANESTHESIA GROUP   PO BOX 171306                                                                                                                         MEMPHIS             TN           38187
   719083 MEDICAL ARTS               PO BOX 43200                                                                                                                          MINNEAPOLIS         MN           55443‐0200
   719084 MEDICAL BILLING            P O BOX 326                                                                                                                           SAN GERMAN          PR           00683
   831480 Medical Biotronics         PO Box 2952                                                                                                                           Bayamon             PR           00961



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  318706 MEDICAL BIOTRONICS INC                       PO BOX 2952                                                                                                               BAYAMON             PR           00960
         MEDICAL BIOTRONICS INC Y
  318708 SCOTIABANK PR                                PO BOX 2952                                                                                                               BAYAMÓN             PR           00960
  719085 MEDICAL BOOKS                                PO BOX 194261                                                                                                             SAN JUAN            PR           00919‐4261

   719087 MEDICAL BOOKS IN PRINT                      CARIBBEAN MEDICAL CENTRE       SUITE 101 ‐2275 PONCE BY PASS                                                              PONCE               PR           00717‐1379
   318709 MEDICAL CARD SYSTEM INC                     PO BOX 9023547                                                                                                            SAN JUAN            PR           00902‐3547

   318710 MEDICAL CARD SYSTEM LIFE INS. 75 AVE. PONCE DE LEON                        PMB 154                                                                                    SAN JUAN            PR           00917‐1919
   318711 MEDICAL CARD SYSTEM, INC      PO BOX 9203547                                                                                                                          SAN JUAN            PR           00902‐3547
   318712 MEDICAL CARD SYSTEM, INC.     P.O. BOX 193310                                                                                                                         SAN JUAN            PR           00919‐3310
   318713 MEDICAL CARD SYSTEMS          PO BOX 193310                                                                                                                           SAN JUAN            PR           00919‐3310
   318714 MEDICAL CARD SYSTEMS, INC.    P.O. BOX 9023547                                                                                                                        SAN JUAN            PR           00902
          MEDICAL CARE SPECIALISTS
   318716 CORP                          1462 EDEN ST.                                CAPARRA HEIGHTS                                                                            SAN JUAN            PR           00920
   318717 MEDICAL CENTER CLINIC         50 BALDWIN AVE                                                                                                                          NEW JERSEY          NJ           07307

   318718 MEDICAL CENTER OF MCKINNEY                  925 NORTH POINT PKWY STE 350                                                                                              ALPHARETTA          GA           30005‐5214
   719090 MEDICAL CENTER REH                          PO BOX 200903                                                                                                             HOUSTON             TX           77216
   719091 MEDICAL CITY / DALLAS HOSP                  P O BOX 406460                                                                                                            ATLANTA             GA           30384‐6460
   719092 MEDICAL CITY‐DALLAS HOSP                    P O BOX 406460                                                                                                            ATLANTA             GA           30384‐6460
          MEDICAL COLLEGE OF WI AND
   318719 FROEDTERT HOSPITAL                          PO BOX 19072                                                                                                              GREEN BAY           WI           54307‐9072

   719093 MEDICAL COLLEGE PHYSICIANS                  PO BOX 13308                                                                                                              MILWAUKEE           WI           53213‐0308
          MEDICAL CONSULTANT
   719094 NETWORK INC                                 319 S S BROADWAY                                                                                                          ENGLEWOOD           CO           80110
   719095 MEDICAL DENTAL DEPOT                        1816 PONCE DE LEON                                                                                                        SAN JUAN            PR           00909

   318720 MEDICAL EMERGENCY GROUP    PO BOX 1388                                                                                                                                CAGUAS              PR           00725
          MEDICAL EMERGENCY GROUP,
   318721 JRT, CSP                   PO BOX 1388                                                                                                                                CAGUAS              PR           00725
          MEDICAL EMERGENCY RESPONSE
   318722 SYSTEMS , INC              P. O. BOX 758                                                                                                                              QUEBRADILLAS        PR           00678‐0000
   318723 MEDICAL EPILEPSY CARE, PSC LA VILLA DE TORRIMAR                            CALLE REY FRANCISCO 332                                                                    GUAYNABO            PR           00969
                                     MARIOLGA V‐26 AVE. MUNOZ
   318724 MEDICAL EQUIPMENT          MARIN                                                                                                                                      CAGUAS              PR           00725‐6462
          MEDICAL EQUIPMENT &        MARIOLGA R ‐ 8 AVE. MUNOZ
   318725 SUPPLIES ( MES ) COR       MARIN                                                                                                                                      CAGUAS              PR           00725‐6461
          MEDICAL EQUIPMENT &
   318726 SUPPLIES CORP              AVE MUNOZ MARIN                                 V 26 MARIOLGA                                                                              CAGUAS              PR           00725‐6461
   318727 MEDICAL EYE CENTER PC      MEDICAL RECORDS                                 250 RIVER RD                                                                               MANCHESTER          NH           03104‐2423
          MEDICAL GERIATRIC
   719096 ADMINISTRATIVE INC         PO BOX 51991                                                                                                                               TOA BAJA            PR           00950‐1991
          MEDICAL GROUP INC, JUANA
   318729 DIAZ                       REDACTED                                        REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MEDICAL LIGHTING
   719097 DISTRIBUTORS CORP          P O BOX 16742                                                                                                                              SAN JUAN            PR           00908‐6742
   719098 MEDICAL MEDIA              HUMAN CARE INC                                  P O BOX 970087                                                                             OREM                UT           84097‐0087
   318732 MEDICAL MOVIL DE PR INC    PO BOX 1806                                                                                                                                RINCON              PR           00677
   719099 MEDICAL NEEDS CORP         P O BOX 24                                                                                                                                 BARRANQUITAS        PR           00794
   719100 MEDICAL ONE                PO BOX 364908                                                                                                                              SAN JUAN            PR           00936‐4908
   318733 MEDICAL PARK FAMILY CARE   MEDICAL RECORDS                                 2211 E NORTHERN LIGHTS                                                                     ANCHORAGE           AK           99508



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          MEDICAL PHARMACY & LAB‐
   318734 ADM SERV                                    CALL BOX 51991                                                                                                  TOA BAJA             PR           00950‐1991
          MEDICAL PHARMACY & LAB‐
   318735 ADM SERV                      PO BOX 51991                                                                                                                  TOA BAJA             PR           00950‐1991
   318736 MEDICAL PLUS SUPPLIES         4025 W. FUQUA ST.                                                                                                             HOUSTON              TX           77045
                                        CALLE EUGENIO DUARTE 1 ‐ B
   318737 MEDICAL POWER MOBILITY , INC. TOWN HILLS                                                                                                                    TOA ALTA             PR           00953‐0000

   318738 MEDICAL POWER MOBILITY INC  URB FLAMBOYAN GARDENS       Z 33 CALLE 3 A                                                                                      BAYAMON              PR           00959
                                      Z33 CALLE 3A URB. FLAMBAYAN
   318739 MEDICAL POWER MOBILITY INC. GARDENS                                                                                                                         BAYAMON              PR           00959

   318740 MEDICAL POWER MOBILITY, INC. URB. FLAMBOYAN GARDENS                  Z‐33 CALLE 3A                                                                          BAYAMON              PR           00959
          MEDICAL PRIORITY
   719101 CONSULTANTS INC              139 E SOUTH TEMPLE                      STE 500 SALT LAKE CITY                                                                 UTAH                 UT           84111
          MEDICAL RADIATION ONCOLOGY
   719102 CENTER                       P O BOX 360816                                                                                                                 SAN JUAN             PR           00936‐0816
   719103 MEDICAL REVIEW OFFICER       PO BOX 360013                                                                                                                  SAN JUAN             PR           00936‐0013
   719104 MEDICAL SURGICAL CORP        PO BOX 752                                                                                                                     FAJARDO              PR           00738
          MEDICAL TECHNOLOGY           20900 SWENSON DRIVE SUITE
   318747 MANAGEMENT INSTITUTE         650                                                                                                                            WAUKESHA             WI           53186
          MEDICAL TRANSPORT
   318748 AMBULANCE INC.               PO BOX 966                                                                                                                     SAN LORENZO          PR           00754‐0966
          MEDICAL UNIVERSITY HOSPITAL
   318749 AUTHORITY                    135 CANON STREET STE 101                                                                                                       CHARLESTON           SC           29425
          MEDICAL WASTE TRANS DBA
   719105 CARLOS MIRANDA               PO BOX 2039                                                                                                                    AIBONITO             PR           00705
   719106 MEDICAL WASTE TRANSPORT      P O BOX 2039                                                                                                                   AIBONITO             PR           00705
          MEDICAL WASTE TRANSPORT
   318750 INC                          PO BOX 2039                                                                                                                    AIBONITO             PR           00705
   719107 MEDICAL WORLD INC            1601 N W 97 AVE BAY D                                                                                                          MIAMI                FL           33172
   318751 MEDICAL X RAY CENTER         PO BOX 10189                                                                                                                   PONCE                PR           00732
   719108 MEDICENTRO INC               BOX 2021                                                                                                                       AIBONITO             PR           00705
          MEDICINA COMPLEMENTARIA Y
   318752 ALTERNATIVA                  83 CALLE UNION                                                                                                                 PONCE                PR           00728
          MEDICINA DE REHABILITACION
   318753 DEL CARIBE                   EDIF PARRA SUITE 301                    PONCE BY PASS                                                                          PONCE                PR           00717
   719109 MEDICOS EXPRESOS INC         MANSION DEL SUR                         SF 12 CALLE LA ZARZUELA                                                                TOA ABJA             PR           00949
   719110 MEDICS                       URB JARDINES DE CAPARRA                 3 AVE RUIZ SOLER                                                                       BAYAMON              PR           00959‐7841
   719112 MEDIFAX                      P O BOX 549253                                                                                                                 SAN JUAN             PR           00937‐0098
   719113 MEDIFAX EDI INC              PO BOX 30132                                                                                                                   NASHVILLE            TN           37241‐0132
   719114 MEDIKA INTERNATIONAL INC     PO BOX 360888                                                                                                                  SAN JUAN             PR           00936‐0888
   719116 MEDIMAX RSI CORP             PO BOX 1387                                                                                                                    CIDRA                PR           00739
   719117 MEDIMEDICAL SUPPLY           REPARTO MONTE REY                       3 CALLE ACASIAS SUITE 102                                                              SAN JUAN             PR           00920
   318768 MEDINA & MEDINA INC          PO BOX 362200                                                                                                                  SAN JUAN             PR           00936
   318796 MEDINA ALAM0, ANA L.         REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

                                                                               CENTRO COMERCIAL SAN JOSÉ
  1420531 MEDINA ALVERIO, MIGDALIA                    WILLIAM LOPEZ CARATINI   LOCAL 8A CARRETERA #3                                                                  HUMACAO              PR           00791
  1420532 MEDINA APONTE, MIGDALIA                     FELIZ ALFARO RIVERA      PO BOX 70244                                                                           SAN JUAN             PR           00936‐8244
   719119 MEDINA AUTO                                 PO BOX 1207                                                                                                     CAGUAS               PR           00726
   318854 MEDINA AUTO PARTS                           HC 3 BOX 16565                                                                                                  QUEBRADILLAS         PR           00678
   318855 MEDINA AVILES MD, LUIS A                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  318904 MEDINA BERRIOS, ANDREA J                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  318933 MEDINA BURGOS, MONICA                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  318935 MEDINA BUS LINE, INC                          HC 02 BOX 6475                                                                                                   ADJUNTAS            PR         00601
 1420533 MEDINA CACERES, ELIEZER D.                    JORGE GORDON MENENDEZ      PO BOX 193964                                                                         SAN JUAN            PR         00919‐3964
         MEDINA CASTELLANO MD,
  319021 DENNIS                                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  719121 MEDINA COLON & ASOCIADO                       CALLE 30 S.O. NO. 1305                                RIO PIEDRAS                                                SAN JUAN            PR         00921
                                                                                  ANEXO GUAYAMA 500 P. O. BOX
  1420534 MEDINA CRUZ, ISRAEL                          DERECHO PROPIO             10005                                                                                 GUAYAMA             PR         00785
   319186 MEDINA CRUZ, MARIA M.                        REDACTED                   REDACTED                    REDACTED                           REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   319202 MEDINA DE JESUS MD, ERNESTO REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   319235 MEDINA DEL VALLE, SHEYLA    REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   319247 MEDINA DELGADO, REINALDO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   719122 MEDINA ENTERPRISES                           PO BOX 2139                                                                                                      ARECIBO             PR         00613
  1420535 MEDINA FELICIANO, JORGE                      OMAR AÑESES                APARTADO 841                                                                          AGUADILLA           PR         00605

   319344 MEDINA FIGUEROA MD, FRANKIE REDACTED                                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   319391 MEDINA FONTANEZ, MARCELINA REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   319396 MEDINA FUENTES MD, JOSE F  REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   719123 MEDINA FUNERAL SERVICES    URB VALENCIA                                 601 AVE BARBOSA                                                                       SAN JUAN            PR         00923
   319416 MEDINA GARCIA, GUADALUPE   REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   319438 MEDINA GAUD MD, ISMAEL     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   319464 MEDINA GONZALEZ, IDELISA   REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   719124 Medina Gulf S/S            Apartado 944                                                                                                                       Aibonito                       00705
   319521 MEDINA GUZMAN, ANA C.      REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          MEDINA HERNANDEZ MD,
   319531 MANUEL                     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   319600 MEDINA JACA MD, SIXTO M    REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   319614 MEDINA JUARBE MD, ARTURO                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   319621 MEDINA LA SALLE, LISA M                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   719125 MEDINA LANDSCAPE                             PO BOX 4235                                                                                                      VEGA BAJA           PR         00694
   319643 MEDINA LEBRON, IRIS                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   719126 MEDINA MACHINE SHOP                          BO SALTOS                  HC 06 BOX 17304                                                                       SAN SEBASTIAN       PR         00685

   319826 MEDINA MEDICAL TRANSPORT                     PO BOX 510                                                                                                       CANOVANAS           PR         00729
          MEDINA MEDICAL TRANSPORT
   319827 DEL ESTE                                     PMB 192                    PO BOX 70011                                                                          FAJARDO             PR         00738
  1420536 MEDINA MELENDEZ, GLADYS                      CARLOS MALTES PEREZ        100 CARR.‐165 SUITE 409                                                               GUAYNABO            PR         00968

   319915 MEDINA MENENDEZ MD, MARTA REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   318766 MEDINA MERCADO, SANDRA I.                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   319943 MEDINA MODESTO, ISRAEL                       REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   320025 MEDINA MORENO MD, NELSON                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   320067 MEDINA NEGRON, LUZ M                         REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   320089 MEDINA NUNEZ, TANIA                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          MEDINA O NEILL & ASSOCIATES
   320094 INC                                          J 11 AVE SAN PATRICIO 10                                                                                         GUAYNABO            PR         00968



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   320128 MEDINA ORTIZ MIGUEL ANGEL                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   320129 MEDINA ORTIZ, ADELAIDA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   320190 MEDINA PAGAN, MARIA                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      JOSÉ MEDINA PANTOJA         GUAYAMA 1000 SECCION 2‐F
  1420537 MEDINA PANTOJA, JOSÉ                        (CONFINADO)                 CELDA 210 PO BOX 10009                                                                   GUAYAMA             PR           00785
   320201 MEDINA PASCUAL, BELKIS                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MEDINA QUIÑONES MD, CESAR
   320275 H                                           REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719128 MEDINA RENTAL EQUIPMENT                     468 CALLE BARBOSA                                                                                                    MOCA                PR           00676
   320333 MEDINA RESTO, JANETTE                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   320360 MEDINA RIVERA MD, RAFAEL                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   320361 MEDINA RIVERA MD, RAFAEL E                  REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420538 MEDINA RIVERA, ASNEL                        SIZZETTE NIEVES CAUSSADE    PO BOX 779                                                                               GUAYAMA             PR           00785
  1420539 MEDINA RIVERA, ASNEL                        JOSÉ R. OLMO RODRÍGUEZ      EL CENTRO 1 SUITE 215                                                                    SAN JUAN            PR           00918
   320426 MEDINA RIVERA, JOSE E.                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1420540 MEDINA ROBLEDO, ADELAIDA                    JOSÉ M. CASANOVA EDELMANN   DOMENECH 224 SUITE 2                                                                     SAN JUAN            PR           00918
   320536 MEDINA RODRIGUEZ, LAURA                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   320595 MEDINA ROLDAN, PEDRO A.                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   320616 MEDINA ROQUE MD, XENIA I                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   320648 MEDINA ROSARIO, GLORIA M                    REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   320659 MEDINA RUIZ MD, ARTURO                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MEDINA SALDAÑA MD,
   320678 AUGUSTO C                                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   320783 MEDINA SANTIAGO, YADIRA I                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719129 MEDINA SCREENS                              HC 2 BOX 18157                                                                                                       LAJAS               PR           00667
   320832 MEDINA SIERRA, MAYRA N                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1420541 MEDINA SOTOMAYOR, IVÁN F.                   JOSE RAUL PEREZ AYALA       AEELA PO BOX 70199                                                                       SAN JUAN            PR           00936‐8190
   719130 MEDINA STELL IRON WORK                      B 37 URB SAN PEDRO                                                                                                   FAJARDO             PR           00728
   320897 MEDINA TIRADO MD, JUAN J                    REDACTED                    REDACTED                       REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   320908 MEDINA TORRES MD, JUAN I                    REDACTED                    REDACTED                       REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   320921 MEDINA TORRES, DAMARIS                      REDACTED                    REDACTED                       REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321026 MEDINA VAZQUEZ, GLADYS                      REDACTED                    REDACTED                       REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321048 MEDINA VEGA ALANIS                          REDACTED                    REDACTED                       REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                  EDIFICIO JULIO BOGORICÍN SUITE
  1422853 MEDINA VELAZQUEZ, LUIS                      EILEEN LANDRÓN GUARDIOLA    501                            #1606 AVE. PONCE DE LEÓN                                  SAN JUAN            PR           00909
   321084 MEDINA VELEZ, BRENDA L                      REDACTED                    REDACTED                       REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321104 MEDINA VELEZ, YOMAIRA                       REDACTED                    REDACTED                       REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   321122 MEDINA VILAR MD, ALEJANDRO                  REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MEDINA, ÁNGEL D., PERLA RDZ                                             CENTRO INTERNACIONAL DE
  1422786 WALKER Y SLG                                VERONICA ORTIZ GALICHET     MERCADEO TORRE I              100 CARR. 165 STE. 509                                     GUAYNABO            PR           00968‐8052
   321182 Medina‐Barreto, Blanca                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719131 MEDINAS CATERING                            208 CALLE COLON                                                                                                      AGUADA              PR           00602
   321194 MEDIO WEST WIRELES LLC                      100 AVE SAN PATRICIO        SUITE E 7                                                                                GUAYNABO            PR           00968
   321195 MEDIQUIP SERVICE                            URB CAGUAS NORTE            AB 5 CALLE NEBRASCA                                                                      CAGUAS              PR           00725
   321196 MEDIQUIP SERVICES, CORP.                    AB‐5 NEBRASKA               CAGUAS NORTE                                                                             CAGUAS              PR           00725
                                                      PARQUE INDUSTRIAL LA QUINTA
   321197 MEDIREC,INC.                                EDIF 177                                                                                                             MAYAGUEZ            PR           00680‐0000
   719132 MEDISEARCH PR                               BOX 2460                                                                                                             GUAYAMA             PR           00785



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  321198 MEDISPEC PUERTO RICO                         17 CALLE MEXICO STE 1B                                                                                                      SAN JUAN            PR           00917

   321200 MEDISYS FAMILY CARE CENTER                  PO BOX 19058                                                                                                                GREEN BAY           WI           54307
  1256673 MEDITEK SERVICES INC.                       REDACTED                          REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   321201 MEDITEK, SERVICES INC                       CIM 100 CARR 165 OFICINA 408                                                                                                GUYNABO             PR           00968

   321202 MEDITERRANEAN PROPERTIES                    P O BOX 73                                                                                                                  LAS PIEDRAS         PR           00771‐0073
   321203 MEDIUNO                                     4433 BRENTON AVENUE                                                                                                         KENWORTH            MI           49508

   719133 MEDI‐VAX SERV. CORPORATION                  URB EL VEDADO SUITE 202           113 PADRES LAS CASAS                                                                      SAN JUAN            PR           00918
  1256674 MEDLATIN GROUP                              REDACTED                          REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   321205 MEDLATIN GROUP INC                          PO BOX 51426                                                                                                                TOA BAJA            PR           00950‐1426
          MEDLIFE AMBULANCE CORP /
   321206 ELIO SANTIAGO                               PO BOX 1847                                                                                                                 CABO ROJO           PR           00623
                                                      PO BOX 359 ZMS PLAZA RIO
   719134 MEDLINE INDUSTRIES INC                      HONDO                                                                                                                       BAYAMON             PR           00961‐3100
   831481 Medline Industries, Inc.                    171 Federico Costa                Esq. Angel Buonomo Suite 100                                                              San Juan            PR           00918
          MEDLING TRAINING INSTITUTE
   719137 INC                                         240 CORPORATE CENTER DR D                                                                                                   STOCKBRIGE          GA           30281
   719138 MEDNET                                      P O BOX 1142                                                                                                                QUEBRADILLA         PR           00678
                                                                                        ANEXO 501 SECCIÓN 2‐H 50       UNIT #607073 INDUSTRIAL
  1422533 MEDRANO GARCIA, CARLOS J.                   CARLOS J. MEDRANO GARCÍA          CARR.                          LUCHETTI                                                   BAYAMÓN             PR           00961‐7403
                                                      PMB 342 #220 WESTERN AUTO
   321221 MEDSERV CARIBE CORP.                        PLAZA                             SUITE 101                                                                                 TRUJILLO ALTO       PR           00976
   321222 MEDTRONIC                                   710 MEDTRONIC PARKWAY                                                                                                       MINNEAPOLIS         MN           55432‐5604
   719139 MEDTRONIC DE PR                             P O BOX 6001                                                                                                                VILLALBA            PR           00768

   719140 MEDTRONIC PR OPERATION CO                   PO BOX 6001                                                                                                                 VILLALBA            PR           00766
   321227 MEDTRUST LLC                                PO BOX 364087                                                                                                               SAN JUAN            PR           00936‐4087
   321229 MEDVEDOVSKY MD, MIHAIL                      REDACTED                          REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   719141 MEET THE PRESS                              VILLA VERDE                       14 CALLE D                                                                                GUAYNABO            PR           00966
          MEETING DYNAMIC & DYNAMIC
   321232 PRODUCTION INC                              4101 RAVENSWOOD                   RD SUITE 203                                                                              FORT LOUDERDALE     FL           33312
   719142 MEFEX INTERNATIONAL COPR                    620 NW 33RD AVE                                                                                                             MIAMI               FL           33125
   719143 MEG DESPACHO LEGAL CSP                      PMB 340 P O BOX 194000                                                                                                      SAN JUAN            PR           00919‐4000
   321234 MEG EVENTS INC                              PO BOX 810143                                                                                                               CAROLINA            PR           00981
   719144 MEGA ELECTRIC                               P O BOX 21295                                                                                                               SAN JUAN            PR           00928‐1295
   719145 MEGA EXPRESS                                115 AVE UNIVERSIDAD                                                                                                         ARECIBO             PR           00612
   321235 MEGA FUEL CORP                              PO BOX 2442                                                                                                                 MANATI              PR           00674
                                                      Suite 651, Ave. E. Pol 497, Las
   831482 Mega Fuel Corp.                             Cumbres                                                                                                                     San Juan            PR           00926
   321236 MEGA L S                                    URB OCEAN PARK                    60 SOLDADO SERRANO ST                                                                     SAN JUAN            PR           00911
   719146 MEGA LAND COMPUTER                          HC 02 BOX 8037                                                                                                              AGUADILLA           PR           00603
   719147 MEGA QUICK LUBE INC                         HC 1 BOX 5187                                                                                                               BARRANQUITAS        PR           00794
   719148 MEGA TRANSPORT CORP                         PO BOX 361885                                                                                                               SAN JUAN            PR           00936
   321237 MEGA VIEW SCIENCE CO LTD                    NO‐656‐2 FUYA ROAD                                                                                                          TAICHUNG                         40762          TAIWAN
   719149 MEGA WINDOW PLUS INC                        PO BOX 1751                                                                                                                 MOROVIS             PR           00687

   321238 MEGASOFT COMPUTATION INC.                   PMB 204                           PO BOX 194000                                                                             SAN JUAN            PR           00919‐4000
   719150 MEGASOFT COMPUTATONS                        PMB 204 BOX 194000                                                                                                          SAN JUAN            PR           00919 4000
   321239 MEGDALEA RIVERA ABREU                       REDACTED                          REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   719151 MEGH R COYAL                                ALT DE MAYAGUEZ                   B 05 CALLE LA TORRE                                                                       MAYAGUEZ            PR           00682‐6309



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   719152 MEGUEL RODRIGUEZ LUCIANO CALLE JOSE MARTE A5                                                                                                                       SAN JUAN            PR           00907
   321244 MEHARRY MEDICAL COLLEGE   540 ST PAUL DRIVE                                                                                                                        HERMITAGE           TN           37076
   321245 MEHGAN THOMPSON PEREZ     REDACTED                                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MEHNE HAZELWOOD MD, DAVID
   321246 K                         REDACTED                                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321247 MEHRABIAN MD, HOMEIRA     REDACTED                                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321248 MEI BAEZ GODINEZ          REDACTED                                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MEI HUA LAU /REST CHINO
   719153 PLAZA MERCADO             HC 3 BOX 10628                                                                                                                           JUANA DIAZ          PR           00795
   719154 MEI LIN TSUI              PMB 133                                      P O BOX 605703                                                                              AGUADILLA           PR           00605‐9002
   719155 MEI LING                  ESTANCIAS DEL TORTUGUERO                     525 CALLE TULIPA                                                                            VEGA BAJA           PR           00693
   321249 MEI LING A YEE MD         REDACTED                                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719156 MEI LING BELMONT SANTALIZ DORADO DEL MAR                               C 6 MADRE PERLA                                                                             DORADO              PR           00646
   321250 MEI LING DEL RIO RAMOS    REDACTED                                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   719157 MEIBA GISELA LOPEZ DE JESUS                 RES EL FARO                EDIF 4 APT 31                                                                               CAROLINA            PR           00985
   321251 MEICY S VARGAS LLAVONA                      REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321252 MEICY S. VARGAS LLAVONA                     REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   321253 MEICY Y VARGAS/ JOSE N PONCE REDACTED                                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719158 MEILEEN COLON VELEZ          MONTEBELLO                                HC 02 16434                                                                                 RIO GRANDE          PR           00745
   321254 MEILI DENG                   REDACTED                                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321255 MEILIN NIEVES RIVERA         REDACTED                                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719159 MEILING RIVERA BONANO        PO BOX 591                                                                                                                            FAJARDO             PR           00738
   321256 MEILING Z CAMACHO CONTY      REDACTED                                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   321257 MEILYANNE DE CARDONA SOTO                   REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MEILYNNE MERCADO
   321258 MONTALVO                                    REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321259 MEINALDO H CHANG CRUZ                       REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321260 MEIQUIN ZHOU                                REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   719160 MEIRLYN BATISTA RODRIGUEZ                   PMB 128 P O BOX 144200                                                                                                 ARECIBO             PR           00614
   321261 MEISALI M. VAZQUEZ AYALA                    REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321262 MEISTER MEDIA WORLDWIDE                     37733 EUCLID AVENUE                                                                                                    WILLOUGHBY          OH           44094
   321301 MEJIA MD , LUIS E                           REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1420542 MEJÍA ORREGO, GLORIA E.                     JOSÉ RAMÓN TORRES TORRES   PASEO DEGETAU APTO. 1802                                                                    CAGUAS              PR           00727
  1256675 MEJIA SCHOOL BUS INC                        REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321316 MEJIA SCHOOL BUS, INC.                      CIUDAD JARDIN              CALLE GLADIOLA, 1‐B                                                                         CAROLINA            PR           00987
          MEJIAS BABILONIA MD,
   321355 CHRISTIAN                                   REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719161 MEJIAS CONSTRUCTION CORP                    PO BOX 21073                                                                                                           SAN JUAN            PR           00928‐1073

  1420543 MEJIAS MEDINA, WILLIAM                      SILVIA SOTO                URB. LA PLANICIE CALLE 2‐ D‐18                                                              CAYEY               PR           00736
          MEJIAS MEDINA, WILLIAM Y
  1420544 OTROS                                       SILVIA SOTO                URB. LA PLANICIE CALLE 2 D‐18                                                               CAYEY               PR           00736

  1420545 MEJÍAS MUÑIZ, ELBA I.                       JUAN C MONSEGUR SANTIAGO   PO BOX 361494                                                                               SAN JUAN            PR           00936‐1494
                                                                                 563 CALLE PEDRO A. BIGAY EXT.
  1420546 MEJIAS ORTIZ, FELIX                         RAFAEL O. BAELLA ORS;      BALDRICH                                                                                    SAN JUAN            PR           00918




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                                                                                    SECC B‐5 CELDA 6018 POBOX
  1420547 MEJIAS ORTIZ, MIGUEL A.                     SR. MIGUEL A. MEJÍA ORTIZ     10786                                                                                    PONCE               PR           00732
   321559 MEJIAS RIVERA, NANCY                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321593 MEJIAS SCHOLL SUPPLY                        PO BOX 771                                                                                                             CAYEY               PR           00737
   321594 MEJIAS SCHOOL SUPPLIES                      AREA DEL TESORO               DIVISION DE RECLAMACIONES                                                                SAN JUAN            PR           00902‐4140
   321637 MEJID MD, NASIRA                            REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719162 MEL HERNANDEZ FLORES                        BOX 774                                                                                                                VILLALBA            PR           00766
   719163 MEL LINZ OLIVERO MUNDO                      61 BLANCO SOSA                                                                                                         CANOVANAS           PR           00729
                                                                                    721 CALLE FERNANDEZ JUNCOS
   719164 MEL YIN HUANG                               MIRAMAR TOWER                 APT 3 F                                                                                  SAN JUAN            PR           00907

   719165 MELAINE BOZYNSKI                            66 CANAL CENTER PLZ STE 302                                                                                            ALEXANDRIA          VA           22314
   321648 MELANE I SANTOS OQUENDO                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321649 MELANEA ABREU RIVAS                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   321653 MELANI GONZALEZ WHARTON                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719167 MELANIA CUBERO SOTO                         4TA SECCION URB VALENCIA      E1 CALLE 20                                                                              BAYAMON             PR           00956
   321654 MELANIA RAMOS COLON                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719169 MELANIA VELEZ RODRIGUEZ                     URB COLINAS DEL OESTE         B 7 CALLE 3                                                                              HORMIGUEROS         PR           00660

   321655 MELANIE A HERNANDEZ FLORES REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   321656 MELANIE A RODRIGUEZ ORTIZ                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321657 MELANIE A TORRES TEXEIRA                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321658 MELANIE ANN ORTIZ LOPEZ                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321659 MELANIE BERRIOS PIRELA                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321660 MELANIE BRUNO SANCHEZ                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321661 MELANIE BURGOS MARTINEZ                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MELANIE CAMERON
   321662 MALDONADO                                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   719170 MELANIE CARRILLO JIMENEZ                    CONDADO                       A 1 CALLE CANDINA ONE APT 2                                                              SAN JUAN            PR           00907
   321663 MELANIE CATALFOMO                           REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321606 MELANIE DIAZ RIVERA                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321664 MELANIE GARCIA RIVERA                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MELANIE GONZALEZ
   719171 ALBERTORIO                                  BDA CLAUSELLS                 6 CALLE 4                                                                                PONCE               PR           00730‐3419

   321665 MELANIE GONZALEZ CORDERO                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321666 MELANIE GRANDE FELICIANO                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321667 MELANIE J APONTE SANTANA                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719172 MELANIE J RODRIGUEZ RIOS                    HC01 BOX 3305                                                                                                          VILLALBA            PR           00766
   321668 MELANIE LA TORRE                            REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321669 MELANIE LASALDE                             REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321670 MELANIE LOPEZ PACHECO                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321671 MELANIE M BRACERO DIAZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MELANIE M DOMENECH DEL
   321672 VALLE                                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   719175 MELANIE M LOPEZ RODRIGUEZ                   LA RAMBLA                     1355 CALLE CASTELLANA                                                                    PONCE               PR           00730
   321673 MELANIE M MITCHELL COLON                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   321674 MELANIE M RIVERA LOPEZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   719176 MELANIE MARIE CRUZ PERALES                  URB SEVILLA            871 RAVEL                                                                            SAN JUAN             PR         00924
   321675 MELANIE MEJIA ARROYO                        REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   321676 MELANIE MENDEZ TORRES                       REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   321677 MELANIE MERCADO MENDEZ                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   321678 MELANIE MORALES RIVERA                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   321679 MELANIE MULERO RODRIGUEZ                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   321680 MELANIE P OBEN MORALES                      REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
          MELANIE PEREZ DONES /
   719177 ALFONSO DONES                               URB LAS LOMAS          1727 CALLE 26 S O                                                                    RIO PIEDRAS          PR         00921
   321681 MELANIE PEREZ LOPEZ                         REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
          MELANIE QUIRINDONGO
   719179 RODRIGUEZ                                   URB COLINAS DE YAUCO   D 11 CALLE 3                                                                         YAUCO                PR         00698
   321682 MELANIE R DIAZ GONZALEZ                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   321683 MELANIE RIVERA MALDONADO                    REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   321684 MELANIE RIVERA VELEZ                        REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   321685 MELANIE RODRIGUEZ BERRIOS                   REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
          MELANIE RODRIGUEZ
   321686 FERNANDEZ                                   REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
          MELANIE RODRIGUEZ
   321687 HERNANDEZ                                   REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   321688 MELANIE RODRIGUEZ RAMAN                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   321689 MELANIE ROSARIO RODRIGUEZ REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
          MELANIE SANTIAGO
   321690 VILLALONGO                   REDACTED                              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   321691 MELANIE TAPIA HERNANDEZ      REDACTED                              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   321692 MELANIE V RAMOS CASTRO       REDACTED                              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   321693 MELANIE VALENTIN TORRES      REDACTED                              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   321694 MELANIE VEGA NIEVES          REDACTED                              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   719180 MELANIE Y VIERA AGUILAR      EXT ZENO GANDIA                       EDIF C 6 APT 153                                                                     ARECIBO              PR         00617
          MELANIO BOBE /HIJOS DEL CLUB
   719181 MAYAGUEZANO                  169 CALLE LAS PALMAS                                                                                                       HORMIGUEROS          PR         00660
   719182 MELANIO TEJADA PELLOT        BOX 113                                                                                                                    AGUADILLA            PR         00605
   321695 MELANIS RIVERA CORDERO       REDACTED                              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   321696 MELANY ALICEA AVILA          REDACTED                              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   321697 MELANY CRUZ TORRES           REDACTED                              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   321698 MELANY I RIVAS MORALES       REDACTED                              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   321699 MELANY IRIZARRY CEDENO       REDACTED                              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   321700 MELANY MARQUEZ ROMAN         REDACTED                              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   719183 MELANY MATIAS CORTES         PO BOX 7000                           SUITE 704                                                                            AGUADA               PR         00602
   719184 MELANY MORALES SALVA         URB FRONTERAS                         127 CALLE CARLOS SEGNET                                                              BAYAMON              PR         00961
   321701 MELANY RIVERA COTTO          REDACTED                              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   321702 MELANY RIVERA MIRANDA        REDACTED                              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   321703 MELANY RODRIGUEZ             REDACTED                              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   321704 MELANY RUIZ GONZALEZ         REDACTED                              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   321705 MELANY SANTIAGO CAMACHO                     REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   719185 MELAO MELAZA                                URB EXT ALTURAS        13 CALLE AX                                                                          VEGA BAJA            PR         00674
   321706 MELARYSS ARCE RIVERA                        REDACTED               REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED



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  719187 MELBA A GONZALEZ PEREZ                       PO BOX 1038                                                                                                        AGUADILLA         PR         00605
  321707 MELBA A. RIVERA APONTE                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  719188 MELBA ACOSTA FEBO                            UNIVERSITY GARDENS           201 CALLE DUKE                                                                        SAN JUAN          PR         00920
  719189 MELBA ALVAREZ REYES                          P O BOX 7428                                                                                                       SAN JUAN          PR         00916

   719190 MELBA ANN MATOS RODRIGUEZ HC 2 BOX 5753                                                                                                                        COMERIO           PR         00782
   321708 MELBA ARIAS ARIZA         REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   321709 MELBA AYALA RIVERA        REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719191 MELBA BENITEZ             URB PRADERA                                    AS 13 CALLE 2                                                                         BAYAMON           PR         00956

   719192 MELBA BOU CAMACHO                           C/O: MELVIN OCASIO RAMIREZ   PO BOX 191118                                                                         SAN JUAN          PR         00919‐1118
   719193 MELBA COLON DIAZ                            PO BOX 516                                                                                                         PATILLAS          PR         00723
   321710 MELBA CONTRERAS MOYET                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   321711 MELBA D ANDUJAR                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719195 MELBA D AYALA ORTIZ                         PO BOX 194956                                                                                                      SAN JUAN          PR         00919
   719196 MELBA D GARCIA SIERRA                       PO BOX 3478                                                                                                        VEGA ALTA         PR         00692‐3478
   321712 MELBA D JIMENEZ ABRAHAM                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   321713 MELBA E RIVERA RIVERA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719198 MELBA E SANTIAGO TORRES                     HC 01 BOX 3185                                                                                                     VILLALBA          PR         00766
   321714 MELBA E SANTOS VAZQUEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MELBA E TIRADO/ ERNESTO J
   321715 NIEVES                                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   321716 MELBA ESQUILIN CRUZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   321717 MELBA FORTUNO TORRES                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719199 MELBA G NIEVES NEGRON                       VALLE DE CERRO GORDO         WW 49 CALLE ZAFIRO                                                                    BAYAMON           PR         00957
   321718 MELBA G PEREIRA MERCADO                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719200 MELBA G REYES ZAYAS                         COND LUCERNA                 EDIF A 1 APT 2G                                                                       CAROLINA          PR         00983

   719201 MELBA GONZALEZ GUADALUPE                    LAS DELICIAS                 2314 CALLE JOSE DEL TORO                                                              PONCE             PR         00731
   321719 MELBA I ACOSTA FEBO                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   321720 MELBA I APONTE DIAZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719202 MELBA I CARO BONET                          URB BELMONTE                 52 CALLE LORCA                                                                        MAYAGUEZ          PR         00680
   321721 MELBA I MALDONADO SILVA                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   321722 MELBA I RIVERA                              REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   719203 MELBA I RODRIGUEZ FERNANDEZ PO BOX 116                                                                                                                         PONCE             PR         00734
   719205 MELBA I VERDEJO PARRILLA    PO BOX 257                                                                                                                         TOA ALTA          PR         00954
   719206 MELBA I VILLANUEVA CLASS    VISTA BELLA                                  Q 4 CALLE 1                                                                           BAYAMON           PR         00956
   719207 MELBA IRIS TIRADO GIRONA    HC 4 BOX 13957                                                                                                                     ARECIBO           PR         00612
          MELBA L GINORIO
   321724 CARRASQUILLO                REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   321725 MELBA L MOYET POLO          REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   321726 MELBA L QUILES NORAT        REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   321727 MELBA L. QUILES OCASIO      REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   719210 MELBA L.NAVAS SENERIZ       PO BOX 1197                                                                                                                        AGUAS BUENAS      PR       00703
   321728 MELBA M. LABOY DIAZ         REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED
   719211 MELBA MENDEZ ACEVEDO        HC 02 BOX 19905                                                                                                                    SAN SEBASTIAN     PR       00685
   321729 MELBA MIRANDA GRATEROLE     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED REDACTED       REDACTED

   321730 MELBA N. HERNANDEZ APONTE                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   321731 MELBA RAMOS                                 REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   321733 MELBA RAMOS SERRANO                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719215 MELBA RIVERA MALDONADO                      602 AVE FERNANDEZ JUNCOS     APT 1705                                                                              SAN JUAN          PR         00907



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  321735 MELBA RODRIGUEZ GARCIA                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  719216 MELBA RODRIGUEZ RAMOS                        BOSQUE DEL LAGO        BE 16 VIA ERIE                                                                        TRUJILLO ALTO      PR         00976
  321736 MELBA ROMAN HERNANDEZ                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  719217 MELBA RUIZ ORTIZ                             URB VILLA ANDALUCIA    C 14 CALLE LLANES                                                                     SAN JUAN           PR         00926
  719218 MELBA S CLARK                                P O BOX 188                                                                                                  COROZAL            PR         00783
  719219 MELBA SANCHEZ AYENDEZ                        MONTE ALVERIO          1 VIA BERNARDO                                                                        GUAYNABO           PR         00969‐6803
  719220 MELBA T DIAZ DELGADO                         COUNTRY CLUB           1019 ALEJO CRUZADO                                                                    SAN JUAN           PR         00924
  719221 MELBA TIRADO ALAMO                           VILLA DEL ROSARIO 9                                                                                          VEGA BAJA          PR         00693
  321739 MELBA VALLE SANTIAGO                         REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  719222 MELBA W RAMOS MIRANDA                        EXT SAN JOSE           BZN 240 C 10                                                                          SABANA GRANDE      PR         00673

   321742 MELBALY RODRIGUEZ FOURNIER REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   321743 MELBARIE MATOS LOPEZ       REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   321744 MELBIL REYES HERNANDEZ     REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   719223 MELCHOR I BATISTA          P O BOX 361959                                                                                                                SAN JUAN           PR         00936‐1959
   321746 MELCHOR I BATISTA GATON    REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   321748 MELCHOR MALDONADO LUGO                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   719224 MELCHOR RAMIREZ MONTALVO                    HC BOX 13825                                                                                                 CABO ROJO          PR         00623‐9717
   321749 MELDIN CORTES GONZALEZ                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   321806 MELECIO VEGA MD, ELLIOT                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   321812 MELECKNISE ROMAN HOMS                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   719226 MELEDYW MEDINA VARGAS                       URB GLENVIEW GARDENS   H 2 CALLE ES                                                                          PONCE              PR         00730‐1731
   719227 MELEKNISE SIRALIEV JIMENEZ                  PO BOX 1132                                                                                                  MOCA               PR         00676
   321814 MELENCIO A MEJIA SILVA                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   321824 MELENDEZ ACEVEDO, ZORAIDA                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   719229 MELENDEZ ADALIZ                             JARD DE CAGUAS         B48 CALLE C                                                                           CAGUAS             PR         00725

   719230 MELENDEZ AIR CONDITIONING                   PO BOX 852                                                                                                   CATAŽO             PR         00963‐0852
   321953 MELENDEZ ARROYO, NIVEA E                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   719233 MELENDEZ AUTO AIR                           PO BOX 157                                                                                                   LAS PIEDRAS        PR         00771
          MELENDEZ AUTO PARTS/OVILIO
   719234 MELENDEZ                                    P O BOX 1276                                                                                                 VEGA BAJA          PR         00694‐1276

   322026 MELENDEZ BONILLA MD, JORGE REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   322027 MELENDEZ BONILLA, EMMA     REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   719228 MELENDEZ BRAVO Y ASOCIADOS PO BOX 366436                                                                                                                 SAN JUAN           PR         00936‐6436

   719235 MELENDEZ BRAVO Y ASSOC INC                  PO BOX 366436                                                                                                SAN JUAN           PR         00936
          MELENDEZ CABRERO MD,
   322082 JOSEFINA                                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   719236 MELENDEZ CASTILLO MAYRA E                   P O BOX 366453                                                                                               SAN JUAN           PR         0009366453

   719237 MELENDEZ CATERING SERVICES                  COUNTRY CLUB           1038 CALLE CELIA CESTERO                                                              SAN JUAN           PR         00924
          MELENDEZ COLLAZO MD,
   322223 AURORA                                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   322272 MELENDEZ COLON, MARIA D                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MELENDEZ CONTRACTORS &
   719238 ASSOC                                       LOMAS VERDES           2G 8 AVE NOGAL                                                                        BAYAMON            PR         00956



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  322353 MELENDEZ CRUZ, EMPRESAS                      REDACTED                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

  1422855 MELENDEZ DE JESUS, JORGE                    MARGARITA CARRILLO ITURRINO EDIFICIO LE MANS OFIC. 508        602 AVENIDA MUNOZ RIVERA                                   SAN JUAN            PR         00918

  1422856 MELENDEZ DE JESUS, JORGE                    MARGARITA CARRILLO ITURINO. EDIFICIO LE MANS OFICINA 508      602 AVENIDA MUÑOZ RIVERA                                   SAN JUAN            PR         00918

   322430 MELENDEZ DE LEON, XIOMARA                   REDACTED                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   322432 MELENDEZ DEDOS MD, ANDRES REDACTED                                       REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MELENDEZ DEL VALLE MD,
   322437 SAMUEL                     REDACTED                                      REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   322439 MELENDEZ DEL VALLE, LUIS R REDACTED                                      REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

  1420548 MELENDEZ DELGADO, LYDIA E.                  HOSTOS A. GALLARDO GARCÍA    PO BOX 70244                                                                                SAN JUAN            PR         00936‐8244
   322450 MELENDEZ DELGADO, NERY I.                   REDACTED                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   322473 MELENDEZ DIAZ, LAURA                        REDACTED                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

  1420549 MELENDEZ ESQUILIN, ISRAEL                   GILBERTO PADUA TRABAL        111 AVE. JESÚS T. PIÑERO BAJOS                                                              SAN JUAN            PR         00920‐5605

  1420550 MELENDEZ ESQUILIN, ISRAEL                   GILBERTO PADUA TRABAL        111 AVE. JESUS T. PIÑERO BAJOS                                                              SAN JUAN            PR         00920‐5605

  1420551 MELENDEZ FERNANDEZ, JOSE D                  PEDRO MAISONET GONZALEZ      PO BOX 864                                                                                  CATAÑO              PR         00963

   322600 MELENDEZ FLECHA, ELIZABETH                  REDACTED                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   322610 MELENDEZ FONTANEZ, JOHANA REDACTED                                       REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   322612 MELENDEZ FONTANEZ, MAIRIN                   REDACTED                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   322632 MELENDEZ GARCIA , KIMBERLEE REDACTED                                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   322633 MELENDEZ GARCIA MD, JORGE                   REDACTED                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1420552 MELENDEZ GILLIAND, JUAN                     MELBA RIVERA APONTE          1 A BARBOSA                                                                                 COAMO               PR         00769
                                                                                   OFICINA NÚM. 11 165 CALLE
  1420553 MELENDEZ GLENDA, RAMOS                      ALFREDO ORTIZ                BALDORIOTY NORTE                                                                            AIBONITO            PR         00705
                                                                                   METRO OFFICE PARK‐SPRINT 18
  1420554 MELENDEZ GONZALEZ, SUGEILY                  AICZA E PIÑEIRO MORALES      LOTE CALLE 1 STE 400                                                                        GUAYNABO            PR         00968
          MELENDEZ HERNANDEZ MD,
   322785 JORGE D                                     REDACTED                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MELÉNDEZ HERNÁNDEZ, MARIA                                                MSC 914 AVE. WINSTON
  1420555 DEL C.                                      MIGUEL A. OLMEDO             CHURCHILL #138                                                                              SAN JUAN            PR         00926
          MELENDEZ ICE PLANT INC DBA
   719239 PONCE ICE COR                               11 AVE SAN CRISTOBAL                                                                                                     PONCE               PR         00780

  1420556 MELENDEZ JIMENEZ, JOHANNA                   MANUEL A. BETANCOURT AVILÉS APT. 79283                                                                                   CAROLINA            PR         00784
                                                                                                              1473 AVENIDA WILSON SUITE
  1422971 MELÉNDEZ LAUREANO, JOHAN A. MARIANA B. BULA LÓPEZ                        LÓPEZ MULERO ESTUDIO LEGAL 304                                                              SAN JUAN            PR         00907

   322948 MELENDEZ LOZANO, ERNESTO                    REDACTED                     REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   719241 MELENDEZ LUGO HERMINIO                      URB LA RIVERA                944 CALLE 1550                                                                              SAN JUAN            PR         00921
                                                                                   908 CALLE REINITA URB
   719242 MELENDEZ MARTINEZ RAMON                     COUNTRY CLUB                 COUNTRY CLUB                                                                                RIO PIEDRAS         PR         00924




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          MELÉNDEZ MARTÍNEZ,
  1420557 MIGDALIA                                    GLORIA E. BORGES VALERO    PO BOX 69                                                                                 COAMO                PR           00769
   323097 MELENDEZ MD, MAYDA                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                 EDIF.ESQUIRE #2 CALLE VELA
  1420558 MELENDEZ MELENDEZ, CIPRIAN                  RUBEN J. LUCENA QUILES     SUITE 101                                                                                 SAN JUAN             PR           00918
   323172 MELENDEZ MELENDEZ, SARA                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

  1420559 MELENDEZ MENDEZ, ROBERTO                    DENISE G. DUBOCQ BERDEGUEZ APARTADO 1211                                                                             LAS PIEDRAS          PR           00771

  1420560 MELENDEZ MERCADO, OLGA IRIS GUADELYN SANCHEZ                           APARTADO 1482                                                                             GUAYNABO             PR           00970‐1482
  1420561 MELENDEZ MOJICA, HECTOR     RAUL SANTIAGO MELENDEZ                     432 CESAR GONZALEZ                                                                        SAN JUAN             PR           00918
   323228 MELENDEZ MOLINA, ANA M.     REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MELENDEZ MORALES MD,
   323254 FERDINAN                    REDACTED                                   REDACTED                   REDACTED                                REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                 COND. LEMANS 602 AVE MUÑOZ
  1420562 MELENDEZ MORALES, ILIANA                    ANTONIO BAUZÁ              RIVERTA STE 402                                                                           SAN JUAN             PR           00918‐3612
   831483 Melendez Mortuary                           Urb. El Verde              A‐21 Bloque 2                                                                             Vega Baja            PR           00693

  1420563 MELENDEZ NEGRON, RAMON E. MARÍA I. SANTOS                              PO BOX 2732                                                                               GUAYNABO             PR           00970

   323342 MELENDEZ NIEVES MD, MARITZA REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   323364 MELENDEZ NUNEZ, REY A.      REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   719243 MELENDEZ ORNAMENTAL         P O BOX 192                                                                                                                          BARCELONETA          PR           00617

   323399 MELENDEZ ORTIZ ,LUZ ANGELICA REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
   323400 MELENDEZ ORTIZ MD, FELIX     REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED          REDACTED
  1420564 MELÉNDEZ ORTIZ, GADIEL       ALFREDO ORTIZ RIVERA                      PEDRO ROSARIO # 2                                                                         AIBONITO             PR       00705

  1420565 MELENDEZ ORTIZ, WALDEMAR                    TORRES VALENTÍN, JOSÉ E    CALLE GEORGETTI 78                                                                        SAN JUAN             PR           00925

   323476 MELENDEZ OTERO, ANGELES D.                  REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   323482 MELENDEZ OTERO, MAYRA                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   323508 MELENDEZ PAGAN, BRENDA L.                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MELENDEZ PARAMEDICAL
   719244 SERVICE                                     URB LOS LLANOS DEL SUR      404 CALLE ESMERALDA STE P60                                                              COTTO LAUREL         PR           00780

  1420566 MELENDEZ PEARSON, ANGELA     BRUNILDA FIGUEROA NATER                   PO BOX 70244                                                                              SAN JUAN             PR           00936‐8244
  1420567 MELENDEZ PELLOT, RUTH        KATIA RECIO CURET                         PO BOX 364512                                                                             SAN JUAN             PR           00936‐4512
   323533 MELENDEZ PEÑA MD, EFRAIN     REDACTED                                  REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MELENDEZ PEREZ & JIMENEZ C S
   323542 P                            PO BOX 19328                                                                                                                        SAN JUAN             PR           00910
                                                                                 PMB 504 609 AVENIDA TITO
  1420568 MELÉNDEZ PÉREZ, JUAN A.                     JOSEY ANN RODRÍGUEZ TORRES CASTRO SUITE 102                                                                          PONCE                PR           00716‐0211
   323579 MELENDEZ PIÑEIRO, ANA R.                    REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MELENDEZ QUIÑONES MD,
   323594 FRANCISCO J                                 REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   323608 MELENDEZ RAMIREZ CORP                       P O BOX 1019                                                                                                         MANATI               PR           00674

   323609 MELENDEZ RAMIREZ MD, JOSE R REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   323640 MELENDEZ RAMOS, MARIBEL     REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MELENDEZ RAMOS, WANDA Y
  1420569 OTROS                       ROBET. LYNCH GONZÁLEZ                       APARTADO 7242                                                                            CAGUAS               PR           00726



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          MELENDEZ REFRIGERATION
   719245 SERVICE                                     PO BOX 603                                                                                                          AGUAS BUENAS        PR           00703
   323660 MELENDEZ REINALDO RUIZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   323669 MELENDEZ REYES MD, EDNA G                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   323670 MELENDEZ REYES MD, GRISELLE                 REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   323694 MELENDEZ RIOS MD, EDWIN                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   323695 MELENDEZ RIOS MD, MELVIN                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420570 MELENDEZ RIOS, IVETTE                       IVETTE MELENDEZ RIOS        PO BOX 1513                                                                             JAYUYA              PR           00664
          MELÉNDEZ RODRÍGUEZ , PEDRO                                              MARGINAL URB. CONSTANCIA
  1420571 JUAN                                        CARLOS J. GARCÍA MORALES    1711 PASEO LAS COLONIAS                                                                 PONCE               PR           00717
          MELÉNDEZ RODRÍGUEZ,                         HERIBERTO SEPÚLVEDA                                      CALLE JUAN A CORRETJER APT
  1422793 MARITZALI                                   SANTIAGO                    COND REINA DE CASTILLA 100   802                                                        SAN JUAN            PR           00901

   324052 MELENDEZ ROSA MD, MYRIAM I REDACTED                                     REDACTED                    REDACTED                     REDACTED                       REDACTED            REDACTED     REDACTED      REDACTED
                                                                                  QUIÑONES PINTO & BORIA CRUZ
  1423038 MELENDEZ SAEZ , LUIS A                      GUSTAVO A. QUINONES PINTO   LAW OFFICE                  502 SANTIAGO IGESIAS APANTIN                                FAJARDO             PR           00738‐4535
          MELENDEZ SANTANA, LOURDES
   324185 M                                           REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719246 MELENDEZ SERVICES                           PMB 228                     PO BOX 70158                                                                            SAN JUAN            PR           00936‐8158

  1420572 MELÉNDEZ TELMONT, HILDA                     GENOVEVA VALENTIN SOTO, SPU PO BOX 13695                                                                            SAN JUAN            PR           00908‐3695
          MELENDEZ TIRADO MD,
   324335 MARIELLY                                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324433 MELENDEZ TRIBURCIO, LYDIA                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   324459 MELENDEZ VARELA MD, GADIEL REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   324471 MELENDEZ VARGAS, YOLANDA                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                  CIM TOWER SUITE 612, 100
  1420573 MELENDEZ VAZQUEZ, EFRAIN                    EDGARDO HERNÁNDEZ           CARR 165                                                                                GUAYNABO            PR           00968
          MELENDEZ VEGA, JACKELINE Y
  1420574 OTROS 38 EMP.                               PEDRO J. SANTANA GONZALEZ   PO BOX 9718                                                                             CAGUAS              PR           00726
          MELENDEZ VELAZQUEZ MD,
   324538 DAVID                                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   324596 MELENDEZ, BRAVO Y ASOCIADOS PO BOX 366436                                                                                                                       SAN JUAN            PR           00936‐6436
   324602 MELENDEZ, HECTOR L          REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324635 Meléndez‐León, Ramón        REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719247 MELENI SANCHEZ MU¥OZ        PO BOX 838                                                                                                                          SAN LORENZO         PR           00754

   324647 MELENIE A ESPINOSA FELICIANO REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MELERO GIGANTE MD, GUSTAVO
   324650 A                            REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324655 MELERO ROSA MD, LUIS         REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324679 MELEYKA PINERO MARRERO       REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719248 MELEZ GAS & APPLIANCE        PMB 454 BOX 1283                                                                                                                   SAN LORENZO         PR           00754
          MELGAR PHYS THERA MD,
   324680 HECTOR                       REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   719249 MELIANTHE MENDOZA PAGAN                     P O BOX 167                                                                                                         CIALES              PR           00638
   324689 MELIAVEL SANTIAGO RIVERA                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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                                                      COND TORRES DEL PARQUE APT
   719250 MELICIA R LOPEZ BAEZ                        1001 N                                                                                                             BAYAMON             PR           00956
   324690 MELIDA CUSTODIO                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719251 MELIDA DORTA RUIZ                           HC 05 BOX 54613                                                                                                    HATILLO             PR           00659
   324692 MELIDO ABREU DIAZ                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719254 MELIDO BRACERO MORALES                      HC 3 BOX 21709                                                                                                     ARECIBO             PR           00612‐9400
   719255 MELIDO SANTOS MAGGIOLD                      PARC ESTELLA                 BZN 3205 CALLE 7                                                                      RINCON              PR           00677
   719256 MELIDZA CRUZ DAVILA                         URB LA CUMBRE 191            CALLE LOS PICACHOS                                                                    SAN JUAN            PR           00926‐5518
   719257 MELIMAR S E                                 P O BOX 12003                                                                                                      GUAYNABO            PR           00922‐2003
   324693 MELINA ALVARADO TORRES                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719259 MELINA CORTES FIGUEROA                      COCO BEACH                   204 C/ MANATI                                                                         RIO GRANDE          PR           00745
   324694 MELINA M. GONZALEZ PEREZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   324695 MELINA NAVARRO RODRIGUEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MELINA V. FERNANDEZ DIAZ DE
   324696 TUESTA                                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324698 MELINDA ALCAZAR RAMOS                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324699 MELINDA CABAN CALDERON                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324700 MELINDA COLON COLON                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324701 MELINDA FUMERO RIVERA                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719261 MELINDA GARAY TOLEDO                        HC 2 BOX 25253                                                                                                     MAYAGUEZ            PR           00680
   324702 MELINDA I QUINONES CRUZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719262 MELINDA L CINTRON SOLIS                     P O BOX 1720                                                                                                       LUQUILLO            PR           00773
          MELINDA LOPEZ DBA TONY
   324703 RESTAURANT                                  HC 2 BOX 18810               PUNTA ARENAS                                                                          CABO ROJO           PR           00623
   719264 MELINDA MEJIAS                              HC 1 BOX 11603                                                                                                     LAJAS               PR           00667

   324704 MELINDA REYES CARRASQUILLO                  REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324705 MELINDA RIVERA NIEVES                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324706 MELINDA ROSADO                              REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324707 MELINDA RUIZ TORRES                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MELINDA S GONZALEZ
   324708 GONZALEZ                                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   324709 MELINDA S MERCADO MORALES REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719265 MELINDA SANTIAGO TORRES   PO BOX 107                                                                                                                           CEIBA               PR           00735
   719266 MELINDA SILVERIO ADAMES   VILLAS PALMERAS                                224 CALLE PALACIO                                                                     SAN JUAN            PR           00915
   719267 MELISA A ARRIETA MILAN    COND SKY TOWER III                             APT 11 D                                                                              SAN JUAN            PR           00926
   719268 MELISA APONTE NAVARRO     PO BOX 132                                                                                                                           BAJADERO            PR           00616
   324711 MELISA ARCE RODRIGUEZ     REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324713 MELISA BONILLA GUZMAN     REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719269 MELISA CARABALLO NIEVES   URB JARD DE ADJUNTAS                           B6                                                                                    ADJUNTAS            PR           00601
   719270 MELISA CARDONA AYALA      TOA ALTA HEIGHTS                               F 27 CALLE 8                                                                          TOA ALTA            PR           00953
   324714 MELISA DE JESUS MORALES   REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719271 MELISA E BURGOS CRUZ      HC 3 BOX 7408                                                                                                                        HUMACAO             PR           00791
   719272 MELISA LAMBOY             URB ARBOLADA                                   C 12 CALLE LAUREL SABINO                                                              CAGUAS              PR           00725
   324716 MELISA M MOSKA            REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324717 MELISA M PEREZ REILLY     REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719273 MELISA M TROCHE PASTRANA  URB VILLA DEL RIO                              29 CALLE RIO MANATI                                                                   HUMACAO             PR           00791
   719274 MELISA MELENDEZ ALVAREZ   VILLA NEVAREZ                                  1109 CALLE 5                                                                          SAN JUAN            PR           00927
   324718 MELISA MERCADO RUIZ       REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719275 MELISA MILLAN RIVERA      VILLA DOS PINOS                                420 CALLE FLORIDA                                                                     SAN JUAN            PR           00923
   324719 MELISA PANTOJA VAZQUEZ    REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  324720 Melisa Quinones Batista                      REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED     REDACTED
  324721 MELISA RIVERA MORELL                         REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED     REDACTED
  324722 MELISA ROBLEDO SANCHEZ                       REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED     REDACTED
  719276 MELISA RODRIGUEZ MARTES                      QUINTAS DE HUMACAO     F 7 CALLE C                                                                               HUMACAO              PR       00791
  719277 MELISA RODRIGUEZ RIVERA                      PARC MARIA 58          BO PESAS HC 01 BOX 5514                                                                   CIALES               PR       00638
  719278 MELISA ROSADO OJEDA                          JARDINES DE CATANO     R 11 CALLE PAJUIL                                                                         CATANO               PR       00962
  324723 MELISA ROSARIO CEDENO                        REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED     REDACTED
  324725 MELISA SALICRUP PANTOJAS                     REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED     REDACTED
  324726 MELISA SANABRIA VAZQUEZ                      REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED     REDACTED
  324727 MELISA TORRES SANCHEZ                        REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED     REDACTED
  324728 MELISA VALENTIN PEREZ                        REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED     REDACTED

   719282 MELISABEL MARTINEZ VAZQUEZ BO MAULLAS                              CARR 159                                                                                  COROZAL              PR         00783
   324729 MELISHA LEBRON MOJICA      REDACTED                                REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   324730 MELISSA A BURGOS MARTINEZ                   REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   324731 MELISSA A MOLINA RIVERA                     REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   324732 MELISSA A RODRIGUEZ DE JESUS REDACTED                              REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   324733 MELISSA A TORO MELENDEZ      REDACTED                              REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   324734 MELISSA A. BURGOS MARTIR     REDACTED                              REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   324735 MELISSA ACEVEDO QUINONES     REDACTED                              REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   719285 MELISSA ADAMES DURAN         PO BOX 222                                                                                                                      ANGELES              PR       00611
   324736 MELISSA AGOSTO MARTINEZ      REDACTED                              REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   324737 MELISSA ALVAREZ MAYOL        REDACTED                              REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   719286 MELISSA ALVAREZ XILOJ        COUNTRY CLUB                          B JWB 11 CALLE 227                                                                        CAROLINA             PR       00982
   719287 MELISSA ALVELO RIVERA        BO BAYAMONCITO                        HC01 BOX 7095                                                                             AGUAS BUENAS         PR       00703
   324738 MELISSA AVILES URBINATO      REDACTED                              REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   324739 MELISSA AYALA MEDERO         REDACTED                              REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED
   324740 MELISSA AYALA SERRANO        REDACTED                              REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED REDACTED       REDACTED

   719288 MELISSA AYALA VEGA                          URB IDAMARIS GARDENS   C 12 C/ CANTALICIO RODRIGUEZ                                                              CAGUAS               PR         00725
   719289 MELISSA BAEZ RIVERA                         PO BOX 608                                                                                                       SANTA ISABEL         PR         00757
   324741 MELISSA BERMUDEZ TORRES                     REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   719283 MELISSA BORGOS COLON                        PO BOX 5211 CUC STA                                                                                              CAYEY                PR         00737
   324742 MELISSA BOWEN                               REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   324743 MELISSA BRYMER                              REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   719290 MELISSA C RODRIGUEZ ROTH                    EXT VALLE ALTO         2386 CALLE LOMA                                                                           PONCE                PR         00730‐4145
          MELISSA C RODRIGUEZ
   324744 SANTIAGO                                    REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   324745 Melissa Castro Del Valle                    REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   719291 MELISSA CATERING                            HC 2 BOX 10990                                                                                                   JUNCOS               PR         00777
   324746 MELISSA CESAREO MELENDEZ                    REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   719292 MELISSA COLON                               HC 2 BOX 7354                                                                                                    CAMUY                PR         00627
   324747 MELISSA COLON SANTIAGO                      REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MELISSA CONCEPCION
   324748 ESTERRICH                                   REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   324749 MELISSA CONTY HERNANDEZ                     REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   719294 MELISSA CORDOVA ROSADO                      PO BOX 1961                                                                                                      VEGA BAJA            PR         00694
   719295 MELISSA CORREA TORRES                       5 URB LAS MERCEDES                                                                                               SALINAS              PR         00751
   324750 MELISSA CRESPO QUILES                       REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   324751 MELISSA D DAVILA RODRIGUEZ                  REDACTED               REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  324752 MELISSA D. OCASIO RIVERA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  719296 MELISSA DAVILA MONTA¥EZ                      PO BOX 948                                                                                                      SAN LORENZO       PR         00754
  324754 MELISSA DE JESUS MENDEZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  324755 MELISSA DEL VALLE RAMIREZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  719298 MELISSA DELGADO FEBO                         PO BOX 9021112                                                                                                  SAN JUAN          PR         00902‐1112
  719299 MELISSA DIAZ MONTALVAN                       LA HACIENDA                 15 CALLE C                                                                          COMERIO           PR         00782
  324756 MELISSA DIAZ NIEVES                          REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  324757 MELISSA DIAZ PAGAN                           REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  324758 MELISSA E DIAZ JIMENEZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      BO HATO VIEJO CUMBRE CARR
   719300 MELISSA E ROBLES TRINIDAD                   632                         KM 2 BOX 4057                                                                       CIALES            PR         00638
          MELISSA E RODRIGUEZ
   324759 NOGUERAS                                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324760 MELISSA E SILVA ORTIZ                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324761 MELISSA ESCALERA ACOSTA                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324762 MELISSA FELICIANO VAZQUEZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324764 MELISSA FERNANDEZ TORRES                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719301 MELISSA FIGUEROA CARDONA                    HC 2 BOX 7078                                                                                                   CIALES            PR         00638

   324765 MELISSA FIGUEROA MASSANET                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   324766 MELISSA FIGUEROA SANTIAGO                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324767 MELISSA FIGUEROA SANTO                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324768 MELISSA FLORES ROLDAN                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719303 MELISSA FLORES TORRES                       PO BOX 1624                                                                                                     COAMO             PR         00769
   324769 MELISSA FRAGOSO PAGAN                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324770 MELISSA FUMERO TORRES                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                  J A 17 CALLE ANTONIO
   719304 MELISSA GANDIA HUERTA                       LEVITTOWN                   EGIPCIACO                                                                           TOA BAJA          PR         00949
   719305 MELISSA GARAYUA                             HC 2 BOX 11985                                                                                                  YAUCO             PR         00698
   719306 MELISSA GARCIA REYES                        RR 02 BOX 7616                                                                                                  CIDRA             PR         00739
   324771 MELISSA GARCIA RODRIGUEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324772 MELISSA GOMEZ NAZARIO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324773 MELISSA GOMEZ RAMOS                         REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   324774 MELISSA GONZALEZ LAMOURT                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   324775 MELISSA GONZALEZ MARTINEZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719309 MELISSA GONZALEZ PAGAN                      PO BOX 162                                                                                                      CIALES            PR         00638

   719310 MELISSA GONZALEZ QUINTANA                   HC 4 BOX 15350                                                                                                  MOCA              PR         00676
   324776 MELISSA GONZALEZ RAMOS                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MELISSA H HERNANDEZ
   719311 MORELOS                                     PO BOX 40873                                                                                                    SAN JUAN          PR         00940

   324777 MELISSA HERNANDEZ ROMERO                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   324779 MELISSA I ALMODOVAR IRIZARRY REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324780 MELISSA I BELLO PAGAN        REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324781 MELISSA I LOPEZ OLMO         REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                  1662 CALLE SANTIAGO
   719312 MELISSA I VAZQUEZ LOPEZ                     URB LAS DELICIAS            OPPENHEIMER                                                                         PONCE             PR         00728
   719313 MELISSA I VEGA TRINIDAD                     PO BOX 9021112                                                                                                  SAN JUAN          PR         00902‐1112



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  719314 MELISSA J BARRETO                            PO BOX 1375                                                                                                  SAN SEBASTIAN     PR           00685

   324782 MELISSA J FRANQUI ESCANDON                  REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   719315 MELISSA L GALINDO RAMOS                     BAHIA VISTAMAR            K 47 CALLE MARLIN                                                                  CAROLINA          PR           00989‐0000
   324784 MELISSA L LOPEZ SIERRA                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   719316 MELISSA L SAEZ CARDONA                      URB SAN MIGUEL            G 4 CALLE 6                                                                        CABO ROJO         PR           00623
   324785 MELISSA LEE SANCHEZ PEREZ                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   324786 MELISSA LIGNOS                              REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   324787 MELISSA LOPEZ RODRIGUEZ                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   719320 MELISSA M ALVAREZ PEREZ                     HC 6 BOX 97001                                                                                               ARECIBO           PR           00612
   324788 MELISSA M DIAZ MELENDEZ                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   324789 MELISSA M KOGER                             REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   324790 MELISSA M NAZARIO MAURAS                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   324791 MELISSA M PEREZ JIMENEZ                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   324792 MELISSA M QUINTERO INCERA                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MELISSA M RODRIGUEZ
   324793 MORENO                                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   324794 MELISSA M TORRADO OJEDA                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   719321 MELISSA MALDONADO CANALES HC 1 BOX 7583                                                                                                                  LUQUILLO          PR           00773

   324795 MELISSA MALDONADO OCASIO                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MELISSA MALDONADO
   324796 RODRIGUEZ                                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   719323 MELISSA MARTI TIRADO                        CALLE JUAN I CALERO       BOX 323                                                                            ISABELA           PR           00662
   719324 MELISSA MARTINEZ                            BO COCO NUEVO             232 FRANCISCO SANCHEZ                                                              SALINAS           PR           00751

   324797 MELISSA MARTINEZ GONZALEZ                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   324798 MELISSA MARZAN RODRIGUEZ                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   324799 MELISSA MASSHDER TORRES                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MELISSA MATEO MALDONADO/
   324800 ENERGETIC                                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   324801 MELISSA MEDINA NEGRON                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   719325 MELISSA MEDINA RIVERA                       HC 02 BOX 12836                                                                                              GURABO            PR           00778
   324802 MELISSA MELENDEZ LOPEZ                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   324803 MELISSA MELENDEZ ROMERO                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MELISSA MOLINA
   719326 CARRASQUILLO                                HC 1 BOX 4324                                                                                                LOIZA             PR           00772

   324805 MELISSA MONTANEZ MORALES                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   719327 MELISSA MORALES TROCHE                      BO COLOMBIA               251 CAPITAN ESPADA                                                                 MAYAGUEZ          PR           00680
   324806 MELISSA MUNOZ RIVERA                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   719328 MELISSA NAZARIO SANCHEZ                     URB GUARICO               ST 5 I 1                                                                           VEGA BAJA         PR           00693
   324807 MELISSA NEGRON MARQUEZ                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   324808 MELISSA NEGRON ROBLES                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   324809 MELISSA O RAMIREZ                           REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   324810 MELISSA OPTICAL CENTER                      CALLE DR BARRERAS #41                                                                                        JUNCOS            PR           00777
   719330 MELISSA ORTIZ RIVERA                        APARTADO 1913                                                                                                AIBONITO          PR           00705
   719331 MELISSA ORTIZ VELEZ                         RR 0 BOX 8294                                                                                                TOA ALTA          PR           00953
   719332 MELISSA PADIN HERNANDEZ                     109 CALLE LAMELA                                                                                             QUEBRADILLAS      PR           00678
   719333 MELISSA PAGAN MORALES                       URB PASEO DEL MAR Y SOL   CALLE 13                                                                           JUANA DIAZ        PR           00795



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  719334 MELISSA PAGAN PEREZ                          PO BOX 436                                                                                                    GURABO            PR         00778
  719335 MELISSA PASTORIZA CRESPO                     UNIV GARDENS                J 13 CALLE 9                                                                      ARECIBO           PR         00612
  719336 MELISSA PEDROGO APONTE                       EXT JARD DE COAMO           F 25 CALLE 13                                                                     COAMO             PR         00769
  324812 MELISSA PENA RIVERA                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  719337 MELISSA PEQUERO LOPEZ                        COND DE DIEGO               444 APT 1701                                                                      SAN JUAN          PR         00924
  324813 MELISSA PEREZ BARRETO                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  324814 MELISSA PERFETTO PERALES                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  324816 MELISSA PIMENTEL ANSA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  719340 MELISSA PONCE                                PO BOX 2000 VICTORIA STA                                                                                      AGUADILLA         PR         00605

   324817 MELISSA QUINONES RODRIGUEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324818 MELISSA R CORREA TORRES    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324819 MELISSA RAMIREZ            REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   719341 MELISSA RAMIREZ CARTAGENA                   P O BOX 56                                                                                                    AGUIRRE           PR         00704
  1256676 MELISSA RAMIREZ RIVERA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324820 MELISSA RENTA SOTO                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324821 MELISSA REYES NEGRON                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719343 MELISSA REYES PEREZ                         C/O JUAN ROSARIO CASTRO     P O BOX 190917                                                                    SAN JUAN          PR         00919‐0917
   324822 MELISSA RIOS LA LUZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324824 MELISSA RIOS MONTOYA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719345 MELISSA RIVERA                              COND JARDINES DE VALENCIA   APT 605                                                                           SAN JUAN          PR         00923
   324825 MELISSA RIVERA AUSUA                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719346 MELISSA RIVERA BERMUDEZ                     RIO GRANDE STATE            A 44 CALLE 2                                                                      RIO GRANDE        PR         00745
   324826 MELISSA RIVERA BERRIOS                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   719348 MELISSA RIVERA BORRERO                      232 AVE ELEONOR ROOSEVELT                                                                                     SAN JUAN          PR         00907
   719349 MELISSA RIVERA CHAMORRO                     URB SAN ANTONIO             2336 CALLE DANIELA                                                                PONCE             PR         00728
   324827 MELISSA RIVERA CONTRERAS                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324828 MELISSA RIVERA CRUZ                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324829 MELISSA RIVERA FLORES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324830 MELISSA RIVERA GARAY                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324831 MELISSA RIVERA GARCIA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324832 MELISSA RIVERA GONZALEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MELISSA RIVERA LOPEZ/DEBBIE
   719351 LOPEZ JAVIER                                URB COVADONGA               D 14 CALLE 13 3                                                                   TOA BAJA          PR         00949

   324833 MELISSA RIVERA MALDONADO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324834 MELISSA RIVERA MERCADO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324835 MELISSA RIVERA NARVAEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719352 MELISSA RIVERA RIVERA                       31 CALLE RUIZ BELVIS                                                                                          CABO ROJO         PR         00623
   719355 MELISSA RIVERA TORRES                       URB JARDINES DEL CARIBE     GG 74 CALLE 34                                                                    PONCE             PR         00731

   719356 MELISSA RODRIGUEZ BOSQUES                   HC 04 BOX 15141                                                                                               MOCA              PR         00676

   324836 MELISSA RODRIGUEZ GUZMAN                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324837 MELISSA RODRIGUEZ MESA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719357 MELISSA RODRIGUEZ RIVERA                    HC 1 BOX 5514                                                                                                 CIALES            PR         00638

   719358 MELISSA RODRIGUEZ SANTIAGO                  URB BRISAS DEL NORTE        518 CALLE ARGENTINA                                                               MOROVIS           PR         00687‐9700
   324839 MELISSA RODRIGUEZ VALLE                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   324840 MELISSA RODRIGUEZ VELEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719359 MELISSA ROMERO DEL VALLE                    VILLA CAROLINA              235‐1 CALLE 614                                                                   CAROLINA          PR         00985



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  324843 MELISSA ROSA PLATA                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  324844 MELISSA ROSA QUINONES                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  719360 MELISSA ROSARIO FIGUEROA                     140 MSC P O BOX 6004                                                                                                 VILLALBA            PR         00766‐6004
  324845 MELISSA RUIZ HERNANDEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  719361 MELISSA SALES CORP                           PO BOX 6335                                                                                                          SAN JUAN            PR         00914
  324847 MELISSA SANTEL DIAZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  324849 MELISSA SANTIAGO NUNEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  719363 MELISSA SERRANO RAMOS                        C 29 URB TREASURE VALLEY                                                                                             CIDRA               PR         00739
  324850 MELISSA SERRANO TIRADO                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  324852 MELISSA SMYRSKI                              REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   719364 MELISSA SOSA COSME                          ALTURAS DE VILLALBA          143 CALLE RAFAEL HERNANDEZ                                                              VILLALBA            PR         00766‐2040
   324853 MELISSA SOSA ROSARIO                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   324854 MELISSA SOTO MONTANEZ                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   324855 MELISSA SOTO PEREZ                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   719365 MELISSA SOTO RIVERA                         PO BOX 143323                                                                                                        ARECIBO             PR         00614‐3323

   719366 MELISSA SUBERVI FIGUEROA                    URB ESTANCIAS DE SAN PEDRO   B 12 CALLE SAN LORENZO                                                                  FAJARDO             PR         00738
   719367 MELISSA T ESTERAS REYES                     BOX 1404                                                                                                             AIBONITO            PR         00705
   719368 MELISSA T PUEYO SANCHEZ                     URB VILSTAMAR 950            CALLE ZARAGOZA                                                                          CAROLINA            PR         00983

   719369 MELISSA TOLLINCHI RODRIGUEZ ALT DE YAUCO                                 B 6 CALLE 2                                                                             YAUCO               PR         00698

   324856 MELISSA TORRES MALDONADO                    REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   719371 MELISSA TORRES RAMOS                        RES JUAN JIMENEZ GARCIA      EDIF 4 APT 20 P 2                                                                       CAGUAS              PR         00725
   719372 MELISSA TORRES RODRIGUEZ                    HC 04 BOX 8144                                                                                                       GUAYNABO            PR         00971
   324857 MELISSA TORRES ROSARIO                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   719373 MELISSA TORRES VARELA                       HC 5 BOX 57500                                                                                                       HATILLO             PR         00659
   324858 MELISSA URENA ALGARIN                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   324859 MELISSA V RODRIGUEZ SANTINI                 REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   324860 MELISSA VALENTIN                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   324861 MELISSA VALENTIN SANTIAGO                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   719374 MELISSA VARGAS CRUZ                         HC 01 BOX 5572               PARCELAS CARRIZALES                                                                     HATILLO             PR         00659
   719375 MELISSA VARGAS ROMAN                        HC 4 BOX 14366                                                                                                       SAN SEBASTIAN       PR         00685

   719377 MELISSA VAZQUEZ RODRIGUEZ                   URB VILLA CAROLINA           BLQ 116 A‐19 CALLE 73‐C                                                                 CAROLINA            PR         00985
   324862 MELISSA VAZQUEZ VEGA                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   719378 MELISSA VEGA TRONCOSO                       SEXTA SECC LEVITTOWN         ER2 LUIS MUNOZ RIVERA                                                                   TOA BAJA            PR         00950

   324863 MELISSA VELAZQUEZ ALLENDE                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   324866 MELISSA VELEZ HUERTAS                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   719380 MELISSA VELEZ RIVERA                        PO BOX 1257                                                                                                          GUAYNABO            PR         00970
   719381 MELISSA VELEZ RODRIGUEZ                     UNIVERSITY GARDENS           1015 CALLE FORDHAM APT 4                                                                SAN JUAN            PR         00927
   324867 MELISSA VELEZ ZAYAS                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   324868 MELISSA VIANA SALAS                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   324869 MELISSA VICENTE CRESCIONI                   REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   719383 MELISSA VILLEGAS TORRES                     URB EL NARANJAL              A 15 CALLE 1                                                                            TOA BAJA            PR         00949

   719384 MELISSA Y PAGAN ORTIZ                       6 CALLE DOMINGO MONTALVAN                                                                                            CIDRA               PR         00739

   324870 MELITINA CALDERON DE JESUS                  REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   719385 MELITON HERNANDEZ BOSQUEZ                   PNB 108                    PO BOX 40000                                                                               ISABELA             PR           00662
   324871 MELITSA GARCIA ACEVEDO                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324872 MELITZA CORTES RANCEL                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324873 MELITZA COSS VAZQUEZ                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   719386 MELITZA FUENTES VAZQUEZ                     RIO GRANDE ESTATES         L5 CALLE 9 URB RIO GRANDE EST                                                              RIO GRANDE          PR           00745
   719387 MELITZA LURITA COLON                        CARR 772 KM 1.1            CANABON LATORRE                                                                            BARRANQUITAS        PR           00794

   324874 MELITZA M GALARZA DEL VALLE REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324875 MELITZA MARTINEZ RIOS       REDACTED                                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   719388 MELITZA MIRANDA RODRIGUEZ                   BOX 781                                                                                                               ISABELA             PR           00662

   324876 MELITZA NAZARIO RODRIGUEZ                   REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324877 MELITZA NIEVES VIERA                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719389 MELITZA ORELLANA TORO                       25 207 RES STGO IGLESIAS                                                                                              PONCE               PR           00730‐6525
   324878 MELITZA OSORIO SANTIAGO                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324879 MELITZA PEREZ MARTINEZ                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324880 MELITZA PINERO MORALES                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324881 MELITZA QUINONES DIAZ                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324883 MELITZA R SILVA ROBLES                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324885 MELITZA TABALES ROSADO                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719390 MELITZA VAZQUEZ ACEVEDO                     HC 3 BOX 8219                                                                                                         MOCA                PR           00676
   719391 MELITZA VAZQUEZ DIAZ                        HC 1 BOX 11504                                                                                                        COAMO               PR           00769
   324886 MELIVETTE FLORISTERIA                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324887 MELIXA CRUZ SANCHEZ                         REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324888 MELIXA GONZALEZ RIVERA                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                 79 CALLE INMACULADA
   719392 MELIXA PEREZ                                EXT SANTA ELENA            CONCEPCION                                                                                 GUAYANILLA          PR           00656

   719393 MELIZA BENGOCHEA VELAZQUEZ ALT DE VILLA DEL REY                        9 CALEL GRECIA                                                                             CAGUAS              PR           00725
   324889 MELIZA CINTRON ROJAS       REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324890 MELIZA DIAZ ZAYAS          REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   324891 MELIZA MARTINEZ GUADALUPE                   REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   324892 MELIZET ACARON RODRIGUEZ                    REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719394 MELKA M CARTAGENA SOTO                      PO BOX 86                                                                                                             CAYEY               PR           00737
          MELLADO & MELLADO
   324894 VILLAREAL                                   165 AVE PONCE DE LEON      STE 102                                                                                    SAN JUAN            PR           00917

   324905 MELLADO PRODUCTIONS, CORP.                  PO BOX 9009                                                                                                           SAN JUAN            PR           00908
   324908 MELLIAM RODRIGUEZ ORTIZ                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MELLIANGEE PEREZ
   719396 MALDONADO                                   URB ROOSEVELT              472 CALLE RAFAEL LAMAR                                                                     SAN JUAN            PR           00918
   719397 MELLIE Z CERPA BURGOS                       PO BOX 1051                                                                                                           LAS PIEDRAS         PR           00771
  1420575 MELLMAN, DEBRA L.                           CAROLINA GUZMÁN TEJADA     PO BOX 943                                                                                 COMERÍO             PR           00782

   719398 MELLON EQUITY ASSOCIATES LLP P O BOX 360988                                                                                                                       PITTSBURGH          PA           15251‐6988
          MELLY A DE LA MATTA
   719399 MARTINEZ                     JARDINES DE COUNTRY CLUB                  CH 21 CALLE 145                                                                            CAROLINA            PR           00983
   719400 MELO ALCIBIADES              RES PADRE RIVERA                          15 APTO 58                                                                                 HUMACAO             PR           00791



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  324912 MELO GUEVARA, MATILDE                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  324913 MELO HERRERA, BELKYS M                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  324927 MELODY COLON MARENGO                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   719402 MELODY CRESPO CORUJO                        VILLA CONQUISTADOR            SAN ISIDRO CALLE 6 BOX 1873                                                              CANOVANAS           PR         00729

   324928 MELODY ELIZABETH RODRIGUEZ REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   324929 MELODY I MATOS ROSA        REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   324930 MELODY ILEANA MEJIA BODDEN REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   324931 MELODY J SANTIAGO RIVERA   REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   324932 MELODY L GONZALEZ CASTILLO                  REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          MELODY M. HERNANDEZ
   324934 RODRIGUEZ                                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   719404 MELODY MALDONADO ONEILL                     VILLA CAROLINA                159‐13 CALLE 419                                                                         CAROLINA            PR         00985
   719405 MELODY MERCADO PEREZ                        PO BOX 12091                                                                                                           SAN JUAN            PR         00914

   719406 MELODY PACHECO RODRIGUEZ                    HC 04 BOX 15677                                                                                                        CAROLINA            PR         00985
   324935 MELODY PAGAN VAZQUEZ                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   719407 MELODY RODRIGUEZ SANTIAGO                   COM LASQUINIENTAS             237 CALLE DIAMANTE                                                                       ARROYO              PR         00714
   324936 MELODY VARGAS ROLON                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   719408 MELOLAIKA REST                              PO BOX 3258                                                                                                            COROZAL             PR         00783
   324945 MELON VELEZ MD, JUAN                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   719409 MELPHONE SYSTEM CORP                        P O BOX 6956                                                                                                           CAGUAS              PR         00726

   719411 MELQUIADES ALVAREZ ALICEA                   LOIZA VALLEY                  C 173 CALLE TULIPAN                                                                      CANOVANAS           PR         00929

   324946 MELQUIADES BELLIDO SANTIAGO REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   719412 MELQUIADES CORTES COLON                     URB HNAS DAVILA 353 CALLE 1                                                                                            BAYAMON             PR         00959

   324947 MELQUIADES CUEVAS LARRIUZ                   REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   719413 MELQUIADES GARCIA MALVE                     JARD DE SAN LORENZO           B10 CALLE 3                                                                              SAN LORENZO         PR         00754

   324948 MELQUIADES GONZALEZ ROSA                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          MELQUIADES MEDINA
   719414 HERNANDEZ                                   369 CALLE BARBOSA ALTOS                                                                                                MOCA                PR         00676

   719415 MELQUIADES PASTORIZA CLASS                  PO BOX 1274                                                                                                            MANATI              PR         00674

   719416 MELQUIADES ROSARIO SASTRE                   16 SAN PATRICIO APARTMENTS    AVE SAN PATRICIO                                                                         GUAYNABO            PR         00968

   719417 MELQUIADES TORRES ALBARRAN URB CASAMIA                                    4989 CALLE ZUMBADOR                                                                      PONCE               PR         00728
   324949 MELQUIADES TORRES PEREZ    REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          MELQUIADES VILLANUEVA
   719410 RODRIGUEZ                  HC 8 BOX 52201                                                                                                                          HATILLO             PR         00659

   324950 MELQUIDADES MARZAN MUNOZ REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   324951 MELQUIEL J RIVERA RIVERA REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED




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          MELVA ARBELO/ GABRIEL
   324954 GONZALEZ/                                   REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719420 MELVA G ZAMORA QUILES                       P O BOX 739                                                                                                            JAYUYA              PR           00664
          MELVA JIMENEZ / PARA GIAN C
   324955 CORREA                                      REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324956 MELVA L GOMEZ CASTRO                        REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   324959 MELVA LISSETTE TORRES RAMOS REDACTED                                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   324960 MELVA LUCIA POSSO HERRERA                   REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324961 MELVA NIEVES ENCALADA                       REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324963 MELVA QUINTERO SULIVAN                      REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719423 MELVA SALAZAR AGUADO                        FLORAL PARK                    109 JOSE MARTI                                                                          SAN JUAN            PR           00917

   719424 MELVA TEJADA DE RODRIGUEZ                   URB EL COMANDANTE              876 CALLE JOSE JOSE E BRISSON                                                           SAN JUAN            PR           00924
   324964 MELVA ZOE TOUCET TORRES                     REDACTED                       REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324965 MELVILE OLIVER CASTRO                       REDACTED                       REDACTED                      REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719428 MELVIN A ARZUAGA TORRES                     PO BOX 2065                                                                                                            YABUCOA             PR           00767
   719430 MELVIN A CINTRON ACOSTA                     HC 1 BOX 16618                                                                                                         CABO ROJO           PR           00623‐9719
   324966 MELVIN A MARRERO ROSAS                      REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   719431 MELVIN A MARTINEZ MORALES                   PO BOX 9021112                                                                                                         SAN JUAN            PR           00902‐1112

   324967 MELVIN A SANTOS PORTALATIN                  REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719432 MELVIN A TORRES VARGAS                      82920 LAS LAJAS                                                                                                        ARECIBO             PR           00612

   719434 MELVIN A UNESTELL SERRANO                   PO BOX 7942                                                                                                            PONCE               PR           00732

   324968 MELVIN A VELEZ CARRASQUILLO REDACTED                                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324969 MELVIN ACEVEDO CRUZ         REDACTED                                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   719435 MELVIN ACEVEDO HERNANDEZ                    PO BOX 190                                                                                                             AGUADA              PR           00602
   324970 MELVIN ACEVEDO VAZQUEZ                      REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719436 MELVIN AGUILAR OLIVENCIA                    BO QDA GRANDE                  CARR 348 KM 0 7 BOX 2028                                                                MAYAGUEZ            PR           00680

   324971 MELVIN ALANCASTRO MIRANDA                   REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   324973 MELVIN ALEMAN DELGADO                       REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MELVIN ALVAREZ DBA CIDRA
   324975 OPTICAL                                     14 PADILLA EL CARIBE                                                                                                   CIDRA               PR           00739
   324977 MELVIN ALVAREZ QUINTANA                     REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719438 MELVIN ARREAGA VALENTIN                     URB MONTECASINO                192 CALLE ALMACIGO                                                                      TOA ALTA            PR           00953
   719440 MELVIN AVILA COLON                          URB JARDINES DE CEIBA          D 11 CALLE 4                                                                            CEIBA               PR           00735
   719441 MELVIN AVILES RAMIREZ                       LAGUNA VIEW TOWER              TORRE I APT 508                                                                         SAN JUAN            PR           00924
          MELVIN BAEZ RAMIREZ Y
   719443 XIOMARA PACHECO                             URB SILVIA                     K 23 CALLE 5                                                                            COROZAL             PR           00783
          MELVIN BARRIENTOS
   719445 BETANCOURT                                  CIUDAD JARDIN III              278 CALLE EUCALIPTO                                                                     TOA ALTA            PR           00953‐4876
   324978 MELVIN BERNARDI SALINAS                     REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   324979 MELVIN BERNAZAR RODRIGUEZ                   REDACTED                       REDACTED                    REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719446 MELVIN CAMACHO                              VALLE TOLIMA                   A 16 AVE RICKY SEDA                                                                     CAGUAS              PR           00725

   719448 MELVIN CASIANO                              RES EL RECREO EDIF 12 APT 76                                                                                           SAN GERMAN          PR           00683



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  324980 MELVIN CASILLAS LUGO                         REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  324981 MELVIN COLON BONET                           REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  719450 MELVIN COLON GALLEGO                         HC 8 BOX 325                                                                                                 PONCE                PR         00731
  719452 MELVIN COLON JIMENEZ                         P O BOX 1598                                                                                                 MOCA                 PR         00676
  719453 MELVIN COLON RODRIGUEZ                       PO BOX 7126                                                                                                  PONCE                PR         00732

   324982 MELVIN CONCEPCION JIMENEZ                   REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   324983 MELVIN CRUZ BELLO                           REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   324984 MELVIN CRUZ CUADRADO                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   324985 MELVIN CRUZ DIAZ                            REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   324986 MELVIN CRUZ/ SONIA NUNEZ                    REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   324987 MELVIN D FOREMAN                            REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   324988 MELVIN DE JESUS INASTROZA                   REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   719454 MELVIN DEL VALLE DELEON                     URB LOMA ALTA           E 9 CALLE 1                                                                          CAROLINA             PR         00982

   719455 MELVIN DELA CRUZ HERNANDEZ HC 01 BOX 5792                                                                                                                OROCOVIS             PR         00720
   324996 MELVIN E CRUZ RULLAN       REDACTED                                 REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   719457 MELVIN E DE JESUS RODRIGUEZ                 HC 867 BOX 2174                                                                                              FAJARDO              PR         00738
          MELVIN E HERNANDEZ
   324999 FANTAUZZI                                   REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   325000 MELVIN E MOYET ALAMO                        REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
          MELVIN E RODRIGUEZ
   325001 VILLANUEVA                                  REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   325003 MELVIN ENCARNACION DIAZ                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   719458 MELVIN FAICA CUADRADO                       ALTURAS DE FLAMBOYAN    S 3 CALLE 26                                                                         BAYAMON              PR         00959
   325004 MELVIN FONSECA RIVERA                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   719460 MELVIN G SANTIAGO MONTES                    REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   719461 MELVIN GARCIA HERNANDEZ                     PALENQUE                58 CALLE 1                                                                           BARCELONETA          PR         00617
   325006 MELVIN GONZALEZ COLON                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   325007 MELVIN GONZALEZ FORTUNO                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   325008 MELVIN GONZALEZ GOMEZ                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   719462 MELVIN GONZALEZ GONZALEZ                    405 URB LA MONSERRATE                                                                                        MOCA                 PR         00676

   325009 MELVIN GONZALEZ OQUENDO                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   325010 MELVIN GONZALEZ QUINONES                    REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   719463 MELVIN GONZALEZ RODRIGUEZ                   HC 91 BOX 9395                                                                                               VEGA ALTA            PR         00692
   719465 MELVIN GONZALEZ ROSARIO                     BO MANBICHE BLANCO      HC 03 BOX 6480‐1                                                                     HUMACAO              PR         00791
   719466 MELVIN GONZALEZ TORO                        URB VILLA CAROLINA      BLOQUE 11 ‐ 16 CALLE 24                                                              CAROLINA             PR         00985
   325012 MELVIN GONZALEZ VALLE                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   325013 MELVIN GONZALEZ VARELA                      REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   325014 MELVIN GONZALEZ VIRUET                      REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   325015 MELVIN GRACIA VAZQUEZ                       REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   719467 MELVIN GRAFALS HERNANDEZ                    RES VILLANUEVA          EDIF 11 APT 117                                                                      AGUADILLA            PR         00603
   325016 MELVIN GUERRA SILVA                         REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   325017 MELVIN HERNANDEZ                            REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED
   325018 MELVIN HERNANDEZ ARBELO                     REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED

   325020 MELVIN HERNANDEZ MORALES                    REDACTED                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED    REDACTED



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  325021 MELVIN HERNANDEZ RIVAS                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  719471 MELVIN IRIZARRY TOMEI                        VILLA MARIA              1 CALLE UNION                                                                      LAJAS             PR         00667
  719472 MELVIN J AGOSTO DEL VALLE                    P.O. BOX 672                                                                                                CANOVANAS         PR         00729

   325022 MELVIN J CARRERO CABASQOINI REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325023 MELVIN J DIAZ GARCIA        REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325024 MELVIN J FALU GONZALEZ      REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325025 MELVIN J FIGUEROA ROSARIO   REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325026 MELVIN J GARCIA ESMURRIA    REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325027 MELVIN J GARCIA FLORES      REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325028 MELVIN J LOPEZ SERRANO      REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   325029 MELVIN J MERCADO DELGADO                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325030 MELVIN J MIRANDA COLON                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325031 MELVIN J ORTIZ VELAZQUEZ                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719473 MELVIN J PEREZ MIRANDA                      COOP JARDINES VALENCIA   APT 514                                                                            SAN JUAN          PR         00923
   325032 MELVIN J ROSA RODRIGUEZ                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719474 MELVIN J SALAZAR VALENTIN                   PO BOX 7126                                                                                                 PONCE             PR         00732

   325033 MELVIN J. SANTIAGO BERMUDEZ REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719475 MELVIN JIMENEZ LLANES       PO BOX 995                                                                                                                  UTUADO            PR         00641
   719476 MELVIN JUSINO PEREZ         BO BUENA VISTA                           9 CALLE ENRIQUE SIMON                                                              MAYAGUEZ          PR         00680
   325034 MELVIN L LEGUILLOU LOPEZ    REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325035 MELVIN L PABON DIAZ         REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325037 MELVIN LOPEZ SANTIAGO       REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325038 MELVIN LUGO GONZALEZ        REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719479 MELVIN M CANDELARIA         BO CALLEJONES                            HC 1 BOX 4158                                                                      LARES             PR         00669
   325040 MELVIN MARIN HERNANDEZ      REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719480 MELVIN MARTINEZ CASTRO      URB BUZO CALLE 5 B‐10                                                                                                       HUMACAO           PR         00791
   325042 MELVIN MARTINEZ VARGAS      REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325043 MELVIN MATIAS CARABALLO     REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325044 MELVIN MATOS VAZQUEZ        REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325045 MELVIN MEDINA MARTINEZ      REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325046 MELVIN MELENDEZ NIEVES      REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719484 MELVIN MENDEZ ACEVEDO       BO ESPINAL BOX 2511                                                                                                         AGUADA            PR         00602
   719485 MELVIN MENDEZ MORENO        HC 03 BOX 37900                                                                                                             AGUADA            PR         00602

   719486 MELVIN MENENDEZ ORTOLAZA                    34 BARRIO BORINQUEN                                                                                         VILLALBA          PR         00766
   719489 MELVIN MERCED LOPEZ                         PO BOX 7126                                                                                                 PONCE             PR         00732
   719490 MELVIN MERLO IRIZARRY                       PO BOX 7126                                                                                                 PONCE             PR         00732‐7126
   325047 MELVIN MOJICA ATANACIO                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325049 MELVIN MOJICA HERNANDEZ                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325050 MELVIN MONTALVO ALBINO                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719492 MELVIN MORALES LOPEZ                        URB NUEVA VIDA           2‐9 CALLE K                                                                        EL TUQUE          PR         00731
   719493 MELVIN MORALES MEDINA                       BOX 1093                                                                                                    UTUADO            PR         00641
   325051 MELVIN MORALES MELENDEZ                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325052 MELVIN MUNIZ LUGO                           REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719494 MELVIN NIEVES ROBLES                        BO SANTA ROSA            1929 CALLE E                                                                       HATILLO           PR         00659
   325054 MELVIN NUðEZ SOTOMAYOR                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719495 MELVIN O GARCIA                             PO BOX 34598                                                                                                FORT BUCHANAN     PR         00934
   325059 MELVIN O LOPEZ UBARRY                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719496 MELVIN O MELENDEZ ROSA                      SANTA MARIA              F 36 CALLE 8                                                                       CEIBA             PR         00735
   325061 MELVIN O SANTANA DE JESUS                   REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  325063 MELVIN ONEILL ROSADO                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  325064 MELVIN OQUENDO RIVERA                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   325065 MELVIN PACHECO GUADALUPE                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   719498 MELVIN PACHECO RIOS                         HP ‐ SALA DE ENFERMERIA                                                                                      RIO PIEDRAS          PR         009360000
   719500 MELVIN PADILLA FUENTES                      PO BOX 9021112                                                                                               SAN JUAN             PR         00902‐1112
   325066 MELVIN PADILLA ROSARIO                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   325067 MELVIN PEREZ HERNANDEZ                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   719505 MELVIN QUINONEZ LASALLE                     11 CALLE SOL                                                                                                 SAN JUAN             PR         00901
   719506 MELVIN R ALEGRIA CORDERO                    BELLA VISTA               B 1 CALLE 4                                                                        BAYAMON              PR         00957
   325072 MELVIN RABELL BERRIOS                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   719507 MELVIN RAMOS APONTE                         BO CODQUI                 412 PARCELAS CABEZAS                                                               AGUIRRE              PR         00704
   719508 MELVIN RAMOS CRUZ                           PO BOX 426                                                                                                   ISABELA              PR         00662
   719509 MELVIN RAMOS FONSECA                        VILLA DEL CARMEN          4417 CALLE CONSTANCIA                                                              PONCE                PR         00731
   325073 MELVIN RAMOS PEREZ                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   719511 MELVIN REYES HERNANDEZ                      URB VISTAMAR              523 CALLE SEGOVIA                                                                  CAROLINA             PR         00983
   719512 MELVIN REYES PEREZ                          PO BOX 1097                                                                                                  HORMIGUEROS          PR         00660
   325074 MELVIN RIVERA CRUZ                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   325075 MELVIN RIVERA MELENDEZ                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   325076 MELVIN RIVERA MERCED                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   719513 MELVIN RIVERA RENTAS                        HC 01 BOX 4535                                                                                               JUANA DIAZ           PR         00795
   719514 MELVIN RIVERA SANCHEZ                       HC 1 BOX 9437                                                                                                RIO GRANDE           PR         00745
   325077 MELVIN RIVERA VELEZ                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   325078 MELVIN ROBLES SANABRIA                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   325079 MELVIN RODRIGUEZ CAMACHO                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   325080 MELVIN RODRIGUEZ DIAZ                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   325082 MELVIN RODRIGUEZ FELICIANO                  REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   719516 MELVIN RODRIGUEZ GONZALEZ                   URB RESVILLE              CALLE 23 A CE14                                                                    BAYAMON              PR         00957
   325083 MELVIN RODRIGUEZ ORTIZ                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   325084 MELVIN RODRIGUEZ PEREZ                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   325085 MELVIN RODRIGUEZ QUINONES REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   325087 MELVIN RODRIGUEZ ROSADO   REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   325088 MELVIN RODRIGUEZ ROSARIO  REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MELVIN RODRIGUEZ
   719517 RUIZ&DAMARIS GHIGLIOTTY   PO BOX 3625                                                                                                                    GUAYANILLA           PR         00656‐3646

   719518 MELVIN RODRIGUEZ SANTANA                    BO MARICAO                SECTOR RODRIGUEZ                                                                   VEGA ALTA            PR         00692
   325089 MELVIN RODRIGUEZ TORRES                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   719519 MELVIN ROSA BENITEZ                         HC 1 BOX 2216                                                                                                LOIZA                PR         00772
   325090 MELVIN ROSA CORTES                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   325091 MELVIN ROSADO COLBERG                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   325093 MELVIN RUIZ CORREA                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   719521 MELVIN RUIZ MENDOZA                         HC 1 BOX 6930                                                                                                MOCA                 PR         00676
   325094 MELVIN SANCHEZ CORDERO                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   325095 MELVIN SANTIAGO BONILLA                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   325096 MELVIN SANTIAGO LOPEZ                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   325097 MELVIN SANTIAGO RODRIGUEZ                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   325098 MELVIN SCREENS SERV                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  325099 MELVIN SCREENS SERVICE                       12 AVE. LUIS MUNOZ MARÍN                                                                                          OROCOVIS          PR         00720
  719524 MELVIN SEMIDEY FLORES                        PO BOX 459                                                                                                        PATILLAS          PR         00723
  719525 MELVIN SENQUIZ LEBRON                        BO CALZADA                 SECTOR MACHUCHO BOX 316                                                                MAUNABO           PR         00707
  719526 MELVIN SEPULVEDA VARGAS                      PO BOX 346                                                                                                        HORMIGUEROS       PR         00660
  325103 MELVIN SOTOMAYOR RIVERA                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         MELVIN STEVEN HERNANDEZ
  325104 NEGRON                                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  719529 MELVIN TIRADO SANCHEZ                        RR 11 BOX 3787                                                                                                    BAYAMON           PR         00956
  325105 MELVIN TORRES MORALES                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  719530 MELVIN TORRES OLIVERO                        HC 2 BOX 6730                                                                                                     BAJADERO          PR         00616

   325107 MELVIN TORRUELLA MARTINEZ                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325108 MELVIN VALENTIN RIVERA                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719427 MELVIN VALENTIN RIVERA                      VILLA TOLEDO               448 CALLE URUTI                                                                        ARECIBO           PR         00612
   719532 MELVIN VALLE LOPEZ                          BO MIRADERO                1446 SECT CUBA                                                                         MAYAGUEZ          PR         00680

   719535 MELVIN VEGA GONZALEZ                        COND GOLDEN COURT 155      AVE ARTERIAL HOSTOS BOX 231                                                            SAN JUAN          PR         00918
   325110 MELVIN VELEZ ARROYO                         REDACTED                   REDACTED                     REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325111 MELVIN VELEZ BONILLA                        REDACTED                   REDACTED                     REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325112 MELVIN VELEZ GONZALEZ                       REDACTED                   REDACTED                     REDACTED                           REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719538 MELVIN VERA SOTO                            URB VISTA VERDE                                      18                                                           CAMUY             PR         00627
   719539 MELVIN VILLANUEVA JIMENEZ                   PO BOX 21891                                                                                                      SAN JUAN          PR         00931

   719540 MELVIN W DE JESUS MORALES                   P O BOX 833                                                                                                       ARROYO            PR         00714
   325113 MELVIN W MELENDEZ AYALA                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325114 MELVIN X SOTO BARRETO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325116 MELVING RIVERA MORALES                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325117 MELVYN A ACOSTA RUIZ                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325118 MELVYN FONTAN LOZADA                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325120 MELVYN J FONTAN OTERO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325121 MELVYN MARENGO RAMOS                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325122 MELVYN ORTIZ ACOSTA                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325123 MELWIN CEDENO IRIZARRY                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719543 MELWIN JIMENEZ                              RES LOS LAURELES           EDIF 8 APT 140                                                                         CUPEY             PR         00926
   325124 MELY Z GONZALEZ MADERA                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   325126 MELYRAIDA RIVAS TORRES                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719544 MELYSA MELO LOPEZ                           PO BOX 8421                                                                                                       BAYAMON           PR         00960
          MEM PATHOLOGY GROUP
   719545 MEMORIAL                                    P O BOX 26668                                                                                                     NEW YORK          NY         10087‐6668
   719546 MEMBRILLO AUTO                              HC 03 BOX 11480                                                                                                   CAMUY             PR         00627

   719547 MEMBRILLO ESSO SERVICENTRO P O BOX 1686                                                                                                                       BARCELONETA       PR         00617‐1686
   719548 MEMINDEX INC               PO BOX 20566                                                                                                                       ROCHESTER         NY         14602‐0566
   325128 MEMOREX TELEX              P.O. BOX 301851                                                                                                                    TAMPA             FL         33630‐3185

   325129 MEMORIAL F COLON ALERS II INC PO BOX 801206                                                                                                                   COTO LAUREL       PR         00780‐1206
          MEMORIAL FRANKIE COLON
   719551 /ALBERTO RIVERA               BOX 34474                                                                                                                       PONCE             PR         00734‐4474

   719552 MEMORIAL FRANKIE COLON INC PO BOX 34474                                                                                                                       PONCE             PR         00734‐4474

   719553 MEMORIAL HEALTH UNIVERSITY P O BOX 945604                                                                                                                     ATLANTA           PR         30394‐5604




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          MEMORIAL HEALTHCARE
   325130 SYSTEM NEUROSCIENCE CENTER 120 BLUEGRASS VALLEY PKWY                                                                                                             ALPHARETTA          GA           30005
   719554 MEMORIAL HERMANN HOSP      PO BOX 201088                                                                                                                         HOUST0N             TX           77216

   325131 MEMORIAL HERMANN HOSPITAL 6411 FANNIN ST                                                                                                                         HOUSTON             TX           77030

   719555 MEMORIAL HOSP FOR CANCER                    1275 YORK AVE BOX 520                                                                                                NEW YORK            NY           10021‐6007
          MEMORIAL HOSP GLENDALE
   325132 MEDICAL                                     CTR MEDICAL RECORDS           1420 S CENTRAL AVE                                                                     GLENDALE            CA           91204
   325133 MEMORIAL HOSPITAL                           325 SOUTH BELMONT ST                                                                                                 YORK                PA           17403‐2609

   325136 MEMORIAL HOSPITAL MIRAMAR 925 NORTH POINT PKWY STE 350                                                                                                           ALPHARETTA          GA           30005‐5214
          MEMORIAL HOSPITAL OF SALEM
   325137 COUNTY                     PO BOX 152472                                                                                                                         IRVING              TX           75015‐2472

   325138 MEMORIAL HOSPITAL OF TAMPA 2901 SWANN AVE                                                                                                                        TAMPA               FL           33609‐4057

   325139 MEMORIAL REGIONAL HOSPITAL 120 BLUEGRASS VALLEY PKWY                                                                                                             ALPHARETTA          GA           30005

   325140 MEMORIAL SLOAN KETTERING                    633 3RD AVE REAR 11TH FLLOR                                                                                          NEW YORK            NY           10017
          MEMORIAL SLOAN KETTERING
   325141 CANCER CENTER                               633 THIRD AVE 11TH ST                                                                                                NEW YORK            NY           10017
   719556 MEMORIAS SINDICALES INC                     PO BOX 1910017 B 195                                                                                                 SAN JUAN            PR           00919‐1007
   325142 MEMORYSTOCK                                 7746 LORRAINE AVE 207                                                                                                STOCKTON            CA           95210
   325143 MEMORYTEN                                   2800 BOWSERS AVE                                                                                                     SANTA CLARA         CA           0095051

   719557 MEMPHIS AND NETWINE CO INC P O BOX 80331                                                                                                                         MEMPHIS             TN           38108‐0331
   325156 MENA FRANCO MD, HECTOR J   REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   325201 MENA TORIBIO, LUISSANA Y.  REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   325210 MENACO CORP                PO BOX 70183                                                                                                                          SAN JUAN            PR           00936‐8183
   325212 MENACO CORPORATION         PO BOX 70183                                                                                                                          San Juan            PR           00936‐8183
   719558 MENAKER & HERRMANN LLP     10 EAST 40ST 43 FLO.                                                                                                                  NEW YORK            NY           10061‐0301
          MENAR HYDROSYSTEMS
   325214 ENGINEERING P S C          LAS HACIENDAS                                  15080 CAMINO LARDO                                                                     CANOVANAS           PR           00729
   325219 MENARIA LOPEZ BAUZA        REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719559 MENARIO MARRERO RIVERA     HC 2 BOX 9713                                                                                                                         LAS MARIAS          PR           00670
   719560 MENASHE MASHIACH           PO BOX 818                                                                                                                            SANTA ISABEL        PR           00757

   719561 MENAYRA RODRIGUEZ CEPEDA                    HC 01 BOX 8645                                                                                                       LUQUILLO            PR           00773
          MENCHACA MARTINEZ MD,
   325226 JUAN A                                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MENDELBAUM & ASSOCIATES
   325235 LAW FIRM LLC                                THE VILLAGE AT SUCHIVILLE     1 CALLE SAN MIGUEL APT 55                                                              GUAYNABO            PR           00966
   325237 MENDESUGAR INC                              PO BOX 363348                                                                                                        SAN JUAN            PR           00936
   325238 MENDEZ & CO, INC.                           P.O. BOX 363348                                                                                                      San Juan            PR           00936
   325239 MENDEZ & COMPANY                            PO BOX 363348                                                                                                        SAN JUAN            PR           00936
   719562 MENDEZ & MENDEZ                             P O BOX 363348                                                                                                       SAN JUAN            PR           00936‐3348
          MENDEZ ADVERTISING
   719563 SPECIALTY                                   PO BOX 360673                                                                                                        SAN JUAN            PR           00936
  1420576 MENDEZ ALBARRAN, JOSE                       JOSÉ CANDELARIO LAJARA        PO BOX 70250 SUITE 306                                                                 SAN JUAN            PR           00936
  1420577 MÉNDEZ ALVELO, MILAGROS                     LUIS MADERA                   PO BOX 13695                                                                           SAN JUAN            PR           00908‐3695




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   325323 MENDEZ ARTIERIO MD, INGRID                  REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
  1420578 MENDEZ ARVELO, MILAGROS                     JUAN MARI PESQUERA          APARTADO 326                                                                            RINCÓN               PR           00677
   325336 MENDEZ AYALA MD, MONICA                     REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   325363 MENDEZ BATISTA, GLADYS                      REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MENDEZ BEAUCHAMP MD,
   325365 VICTOR M                                    REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MENDEZ BONILLA MD,
   325381 CRISTOBAL                                   REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MENDEZ BRUNNER BADILLO Y
   770742 ASOCIADOS                                   1018 AVE ASHFORD STE 3 B                                                                                            SAN JUAN             PR           00907‐1158
   325400 MENDEZ BUZO MD, CARLA M                     REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   325401 MENDEZ CABAN MD, DOMINGO REDACTED                                       REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MENDEZ CABAN MD,
   325402 YAMILLETTE               REDACTED                                       REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   719564 MENDEZ CLASS SUPERMARKET                    PO BOX 381                                                                                                          VEGA BAJA            PR           00694
   325509 MENDEZ CO INC                               PO BOX 363348                                                                                                       SAN JUAN             PR           00936‐3348
   325511 MENDEZ COLL MD, JOSE A                      REDACTED                    REDACTED                      REDACTED                           REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   325517 MENDEZ COLON MD, JORGE L                    REDACTED                    REDACTED                      REDACTED                           REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                  URB. ROOSEVELT 478 CALLE JOSÉ
  1420579 MENDEZ COLON, HARILEEN                      RAMONITA DIEPPA GONZÁLEZ    CANALS STE. 1A                                                                          SAN JUAN             PR           00918

  1420580 MÉNDEZ CRUZ, MARIBEL                        FREDESWIN PÉREZ CABALLERO   PO BOX 723                                                                              CAGUAS               PR           00726‐0723
   743476 MENDEZ CRUZ, RAUL                           REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   325689 MENDEZ ELECTRIC                             LOMAS VERDES                CALLE ORO 431                                                                           MOCA                 PR           00679

   325707 MENDEZ ESTREMERA, CARMEN                    REDACTED                     REDACTED                   REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   325716 MENDEZ FELICIANO, RUTH S                    REDACTED                     REDACTED                   REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   325728 MENDEZ FIGUEROA, CARLOS                     REDACTED                     REDACTED                   REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      REPARTO TERESITA AZ‐16 CALLE
   719565 MENDEZ FUEL INJECTION                       49                                                                                                                  BAYAMON              PR           00961
          MENDEZ G INVESTMENT GROUP
   325755 LL                        URB LOS ADOQUINES                             29 CALLE SAN SEBASTIAN                                                                  SAN JUAN             PR           00926
   325779 MENDEZ GILL, MARIA        REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   325816 MENDEZ GONZALEZ, LUIS A.  REDACTED                                      REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   719567 MENDEZ GULF SERVICE STATION HC 2 BOX 10785                                                                                                                      MOCA                 PR           00676

  1420581 MENDEZ HERNANDEZ, JULIO A.                  AMALIS TORRES GONZÁLEZ      PO BOX 11751                                                                            SAN JUAN             PR           00922‐1721
          MENDEZ INTERNET
   325926 MANAGEMENT SERV INC                         1105 AVE F D ROOSEVELT 3                                                                                            SAN JUAN             PR           00920

   325950 MENDEZ JIMINIAN MD, JOSE M                  REDACTED                    REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   719569 MENDEZ JR. JOSE F.                          PO BOX 21345                                                                                                        SAN JUAN             PR           00928

   325981 MENDEZ LOPEZ MD, FRANCISCO REDACTED                                     REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   325982 MENDEZ LOPEZ MD, JORGE R   REDACTED                                     REDACTED                    REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
  1420582 MENDEZ LOPEZ, SUCN JOSE A  NEFTALI GARCIA SANCHEZ                       PO BOX 9024040                                                                          SAN JUAN             PR           00902‐4040

   719570 MENDEZ LUMBER & TRADING CO PO BOX 367                                                                                                                           HUMACAO              PR           00792‐0367




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   719571 MENDEZ MACHINE SHOP, INC.                   P O BOX 206                                                                                                              HATILLO              PR           00659
          MENDEZ MARQUEZ,
   326067 FREDESVINDA                                 REDACTED                        REDACTED                     REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   326116 MENDEZ MD, REY                              REDACTED                        REDACTED                     REDACTED                             REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MENDEZ MENDEZ & QUIJANO                     EDIF CAPITOL CENTER TORRE       239 AVE ARTERIAL HOSTOS OFIC
   719572 BORGES                                      SUR                             204                                                                                      SAN JUAN             PR           00918
          MENDEZ MENDEZ MD,
   326128 DOMINGO                                     REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                      INSTITUCIÓN PONCE PRINCIPAL
  1422958 MÉNDEZ MÉNDEZ, MARCELINO                    MARCELINO MENDEZ MENDEZ         FASE 3                        ANEXO A #25 PO BOX 7285                                    PONCE                PR           00732

   719573 MENDEZ MONSERRATE INTERIOR PO BOX 20222                                                                                                                              SAN JUAN             PR           00928
          MENDEZ MORALES MD,
   326229 ERLANDO                    REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   326230 MENDEZ MORALES MD, MELISSA REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   326372 MENDEZ ORTIZ, CARMEN       REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   326385 MENDEZ ORTIZ, SAHILYS      REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                      CAPITAL CENTER BUILDING SUITE
  1420583 MENDEZ PAGAN, JOSE                          ALLAN RIVERA FERNÁNDEZ          401                                                                                      HATO REY             PR           00918
   326410 MENDEZ PAGAN, MARYLIE                       REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   719574 MENDEZ PRADO DAVID                          CONDOMINIO DE ADALUCIA          EDIF 2 APT 1709                                                                          SAN JUAN             PR           00926
   326507 MENDEZ QUINONEZ, AWILDA                     REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   326512 MENDEZ RAMIREZ, CARMEN D.                   REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   719577 MENDEZ REALTY INC                           PO BOX 363348                                                                                                            SAN JUAN             PR           00936‐3348

   326538 MENDEZ REPAIR                               BO PAJUIL CARR 130 KM 10 HM 4                                                                                            HATILLO              PR           00659
   719578 MENDEZ REWINDING SHOP                       A‐6 LOMAS VERDES                                                                                                         BAYAMON              PR           00956

   326565 MENDEZ RIVERA LAW OFFICES                   700 CARRETERA #2                SUITE 101                                                                                VEGA ALTA            PR           00692

   326566 MENDEZ RIVERA MD, CARMEN I REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   326567 MENDEZ RIVERA MD, HECTOR M REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   326568 MENDEZ RIVERA MD, ROSARIO                   REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   326569 MENDEZ RIVERA MD, ZENAIDA                   REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   326574 MENDEZ RIVERA, ANTONIO                      REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   326588 MENDEZ RIVERA, HIRAM J.                     REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MENDEZ RODRIGUEZ MD,
   326630 FABIAN                                      REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MENDEZ RODRIGUEZ MD,
   326631 RAFAEL                                      REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   326656 MENDEZ RODRIGUEZ, HECTOR                    REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   326686 MENDEZ RODRIGUEZ, MARIA E                   REDACTED                        REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

  1420584 MENDEZ RODRIGUEZ, REYNALDO YARLENE JIMENEZ                                  PMB 291 #1353 RD. 19                                                                     GUAYNABO             PR           00966‐2700




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          MENDEZ RODRIGUEZ,
   326716 ZULMARIAN                                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   326717 MENDEZ ROJAS MD, EDNA                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   326808 MENDEZ SALCEDO, NATIVIDAD                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   326824 MENDEZ SANTANA GIOVANNY                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   326826 MENDEZ SANTIAGO MD, JORGE L REDACTED                                     REDACTED                       REDACTED                   REDACTED                        REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   PO BOX 3999 JULIO COLLAZO      INST CORRECCIONAL GUERRERO
  1423032 MENDEZ SANTOS, LEEROY                       PROPIO DERECHO               PEREZ                          304                                                        AGUADILLA           PR           00605

   326958 MENDEZ TORRES MD, FREDDY R                  REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   326997 MENDEZ TORRES, XIOMARA                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   326998 MENDEZ TOSADO, GRISELL Y                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   327021 MENDEZ VALLE, EVER S                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   327077 MENDEZ VELEZ MD, JORGE I                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   327080 MENDEZ VELEZ, AGNEL                         REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420585 MENDEZ VELEZ, OMAR                          WILFREDO ZAYAS N?IEVES       BOX 30193                                                                                 SAN JUAN            PR           00918
          MENDEZ VIGO SERV STA/JOSE J.
   327113 MENDEZ                                      BOX 3381 MARINA STA.                                                                                                   MAYAGÜEZ            PR           00680
   327115 MENDEZ VIGO SHELL                           #14 MENDEZ VIGO OESTE                                                                                                  MAYAGÜEZ            PR           00680
   641647 Mendez, Eduardo Hernandez                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   327138 MENDEZ, LIBRADA                             REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   327087 MENDEZ, RAFAEL                              REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420586 MENDEZ, SUCN. ENRIQUE                       RAFAEL DELGADO               PO BOX 10                                                                                 GARROCHALES         PR           00652
          MENDONZA ROMAN,
   327167 ALEXANDER                                   REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   327169 MENDOZA ‐ RIVERA, CPA, PSC                  PO BOX 363031                                                                                                          SAN JUAN            PR           00936‐3031
          MENDOZA CASTRO MD,
   327214 VERONICA                                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MENDOZA ESSO SERVICE                        URB VILLA NUEVA S‐15 CALLE
   719580 STATION                                     23                                                                                                                     CAGUAS              PR           00725‐6955
   327297 MENDOZA LAW OFFICES                         P O BOX 9282                                                                                                           SAN JUAN            PR           00908‐0282
   327325 MENDOZA MD, QUERUBIN                        REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   327347 MENDOZA MUEBLES Y ENSERES                   CALLE JOSE DE DIEGO 153                                                                                                CAYEY               PR           00736
   327352 MENDOZA ORTIZ MD, JUAN                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   327387 MENDOZA RIVERA CPA PSC                      P O BOX 363031                                                                                                         SAN JUAN            PR           00936‐3031
   327170 MENDOZA RIVERA, SARITA                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MENDOZA RODRIGUEZ MD,
   327410 RAFAEL                                      REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MENDOZA RODRIGUEZ PHD,
   327411 MARIA M                                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                   URB. LARIVIERA 1267 CALLE 54
  1420587 MENDOZA RUIZ, OREALIS                       OREALIS MENDOZA RUIZ         SE                                                                                        SAN JUAN            PR           00921
                                                                                   URB. LARIVIERA 1267 CALLE 54
  1420588 MENDOZA RUIZ, OREALYS                       OREALIS MENDOZA RUIZ         SE                                                                                        SAN JUAN            PR           00921

   327457 MENDOZA SANCHEZ MD, JOSE C REDACTED                  REDACTED                                           REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                               INSTITUCIÓN MÁXIMA
  1422940 MENDOZA SANTIAGO, WILFREDO WILFREDO MENDOZA SANTIAGO SEGURIDAD PONCE:                                   3793 PONCE BY PASS                                         PONCE               PR           00728‐1504
                                                               INSTITUCIÓN MÁXIMA
  1422941 MENDOZA SANTIAGO, WILFREDO WILFREDO MENDOZA SANTIAGO SEGURIDAD PONCE:                                   3793 PONCE BY PASS                                         PONCE               PR           00728‐1504



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  327486 MENDOZA TESON MD, MARIO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
         MENDOZA VILLAHERMOSA MD,
  327521 GILBERTO                                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  327524 MENDOZA, LUZ E.                              REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

  1420589 MENDOZA, YAZIRA MARISOL   CRISTINA B. MARTÍNEZ GUZMÁN PO BOX 70244                                                                                             SAN JUAN             PR         00936‐8244
          MENENDEZ ANDINO MD,
   327545 SANDRA                    REDACTED                    REDACTED                                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MENENDEZ APONTE MD, ANGEL
   327546 J                         REDACTED                    REDACTED                                      REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                    ROYAR GARDEN F 9 JOSEFINA
   719581 MENENDEZ AVILES LEONOR    ST                                                                                                                                   BAYAMON              PR         00957
          MENÉNDEZ GONZÁLEZ,                                    PMB 133 1353 AVE. LUIS
  1420590 FERNANDO Y/O 23           YARLENE JIMENEZ ROSARIO     VIGOREAUX                                                                                                GUAYNABO             PR         00966‐2700

  1420591 MENENDEZ GONZÁLEZ, VÍCTOR                   LUIS G. TORRES MELÉNDEZ     PO BOX 764                                                                             BAYAMON              PR         00960‐0766

   327592 MENENDEZ LOPEZ MD, JULIO C                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   327603 MENENDEZ MD, EUGENIO                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   327647 MENENDEZ ROSARIO, CORALIS                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   327680 MENENDEZ, J                                 REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   327688 MENEZES MD, PLACIDO                         REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   327689 MENG FEI NG                                 REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   327692 MENKOWITZ MD , BRUCE J                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MENNONITE DIABETES
   327694 FOUNDATION INC                              P O BOX 372800                                                                                                     CAYEY                PR         00737‐2800
                                                                                  O65 AVE WINSTON CHURCHILL
   327697 MENSURA LLC                                 PARQUE DEL SENORIAL         251                                                                                    SAN JUAN             PR         00926
          MENTAL HEALTH ASSOCIATION
   327698 OF MARYLAND                                 1301 YORK ROAD, SUITE 505                                                                                          LUTHERVILLE          MD         21093
   327699 MENTAL HEALTH CENTER                        109 BRADFORD AVE                                                                                                   FAYETTEVILLE         NC         28301

   327700 MENTAL HEALTH COOPERATIVE                   275 CUMBERLAND BEND                                                                                                NASHVILLE            TN         37228‐1803
          MENTAL HEALTH COOPERATIVE
   327701 INC                                         275 CUMBERLAND BEND                                                                                                NASHVILLE            TN         37228‐1803
          MENTAL HOME & HEALTH
   327702 SERVICES, INC.                              P.O. BOX 209                                                                                                       COROZAL              PR         00783‐0000

   327703 MENTAL HOME INC. COROZAL    PO BOX 209                                                                                                                         COROZAL              PR         00783
                                      BOX 4203 BAYAMON GARDENS
   327704 MENTAL HOME INC. SAN RAFAEL STATION                                                                                                                            BAYAMON              PR         00958
   327650 MENTALMORFOSIS, INC         PO BOX 851 PMB 267                                                                                                                 HUMACAO              PR         00792
          MENTE SANA MULTIDIAPLINARY                                              DR PEDRO BLANCO LUGO STE
   327706 CLINIC                      TORRE MEDICA 2                              253                                                                                    MANATI               PR         00674
   719582 MENTOR CARIBE INC           PO BOX 1358                                                                                                                        CIDRA                PR         00739

   719583 MENTOR INVESTMENT GROUP                     FERNANDEZ JUNCOS STATION    PO BOX 11855                                                                           SAN JUAN             PR         00910‐4225
   327707 MENZA MD, MATTHEW                           REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   327708 MEO MD , FRANCIS W                          REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   327709 MEP REAL ESTATE INC                         PO BOX 70344                PMB 14                                                                                 SAN JUAN             PR         00936
   327710 MEPSI CENTER                                PO BOX 600089                                                                                                      BAYAMON              PR         00960‐0089




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                                                      MARIA DE LOURDES GONZALEZ
  1420592 MERADO JIMENEZ, MARÍA                       FRAMIL                      PO BOX 932                                                                             GUAYAMA             PR           00785

   327717 MERAIDE S ROMERO LLAVONA                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   327718 MERAKI INC                                  660 ALAMAMA STREET                                                                                                 SAN FRANCISCO       CA           94110

   327719 MERALIS V SANCHEZ RODRIGUEZ REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MERALIZ CALDERON
   327720 BETANCOURT                  REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   327721 MERALIZ CRESPO FIGUEROA     REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   719584 MERALLY RODRIGUEZ GERENA                    HC 2 BOX 4465                                                                                                      LUQUILLO            PR           00773
   327722 MERALYS JIMENEZ MOLINA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   327724 MERALYS S. ORTIZ NIEVES                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   327725 MERARDO A BECERRA GUEVARA REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   327726 MERARI BAEZ ROSA          REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   327727 MERARI CRUZ COLON         REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719587 MERARI FERNANDEZ CASTRO   CIUDAD MASSO                                  I 18 CALLE 14                                                                          SAN LORENZO         PR           00754
   719588 MERARI FIGUEROA TRINIDAD  RR 06 BOX 11479                                                                                                                      SAN JUAN            PR           00926
   719589 MERARI GARCIA NIEVES      PO BOX 215                                                                                                                           FLORIDA             PR           00650
   327728 MERARI HERNANDEZ COLON    REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   327729 MERARI IRIZARRY VELEZ     REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   327730 MERARI ORTIZ HERNANDEZ    REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   327731 MERARI PEREZ RIVERA       REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   327732 MERARI REYES FELICIANO    REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719590 MERARI TIRADO GARCIA      PO BOX 3395                                                                                                                          VEGA ALTA           PR           00692
   327733 MERARI TORRES TORRES      REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   327734 MERARIS BAEZ GOMEZ        REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                    COOP JARDINES DE SAN
   719592 MERARIS CALDERON CATALA   FRANCISCO                                     EDIF 1 APTO 102                                                                        SAN JUAN            PR           00927
   719593 MERARIS REYES JIMENEZ     PARQUE DE LOS MONACILLOS                      APT 1103                                                                               SAN JUAN            PR           00922
   327735 MERARY PENA MAYSONET      REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719595 MERARY SERRANO TORRES     P O BOX 142046                                                                                                                       ARECIBO             PR           00614‐2046
   327736 MERARY SOTO CANDELARIA    REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   327737 MERARY Z NAZARIO PEREZ    REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719596 MERARYS ORTIZ RODRIGUEZ   P O BOX 680                                                                                                                          HUMACAO             PR           00741

   327738 MERBBY G GUTIERREZ CAMPOS                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719597 MERBIL GONZALEZ DIAZ                        6 CALLE MORELL CAMPOS       STE 2                                                                                  MAYAGUEZ            PR           00001

   327739 MERBIL R GONZALEZ MARTINEZ REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                  117 AVE DE DIEGO URB SAN
   719598 MERCADER TORO BRAULIO                       SAN FRANCISCO               FRANCISCO                                                                              RIO PIEDRAS         PR           00927
   327751 MERCADO & CARDONA LAW                       CITI VIEW PLAZA I           48 ROAD 165 SUITE 115                                                                  GUAYNABO            PR           00968
   719599 MERCADO & SOTO LAW                          PO BOX 4839                                                                                                        SAN JUAN            PR           00902
          MERCADO ALMODOVAR,
   327808 YASMIN                                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   327828 MERCADO AMBULANCE CORP                      HC 01 BOX 3196                                                                                                     VILLALBA            PR           00766
          MERCADO AMBULANCE
   327829 CORPORATION                                 HC 01 BOX 3196                                                                                                     VILLALBA            PR           00766‐9704
  1420593 MERCADO ANTONETTY, LUIS                     HECTOR MAURAS GARCIA        51 CALLE VIRGILIO SANCHEZ                                                              ARROYO              PR           00714
   719600 MERCADO AUTO PAINT                          PO BOX 1174                                                                                                        GUANICA             PR           00653‐1174



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                                                                               COND LAGO PLAYA 3000 APTO
  1420594 MERCADO AVILA, JULIO Y.    CANDELARIA MARTES, NIVIA                  1112 CALLE CORAL                                                                         TOA BAJA            PR           00949
   327882 MERCADO AYALA, ELIZABETH   REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   327889 MERCADO AYALA, MILAGROS    REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   327905 MERCADO BANOS, MADELINE    REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   327985 MERCADO CAMACHO, IRENE     REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   328011 MERCADO CANO, ABIGAIL      REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719601 MERCADO CAR CARE           35 CALLE GEORGETTI                        BOX 6602                                                                                 CAGUAS              PR           00726
          MERCADO CARDONA & CO. CPA, 7489 AVE AGUSTIN RAMOS
   328020 PSC                        CALERO                                                                                                                             ISABELA             PR           00662

   328023 MERCADO CARDONA, CARMEN REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MERCADO CARRASQUILLO, JULIO
  1420595 C.                          GENEVOVA VALENTIN SOTO                   PO BOX 13695                                                                             SAN JUAN            PR           00908‐3695
   328060 MERCADO CASIANO, MARIA I    REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   328145 MERCADO CRESPO MD, JOSUE                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   328146 MERCADO CRESPO MD, JOSUE R REDACTED                                  REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MERCADO DE GORGOLA,
   328222 MARCOS A                    REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MERCADO DE GORGOLAS,
   328223 TEODORO H                   REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1420596 MERCADO DE JESUS, FELIX     GENOVEVA VALENTÍN SOTO                   PO BOX 13695                                                                             SAN JUAN            PR           00908‐3695
   328293 MERCADO DISTRIBUTORS INC    P O BOX 1138                                                                                                                      BARRANQUITAS        PR           00794
          MERCADO ESSO SERVICE
   719602 STATION                     PO BOX 2020‐246                                                                                                                   BARCELONETA         PR           00617
   719603 MERCADO ESSO STATION        AVE. JUAN ROSADO 253                                                                                                              ARECIBO             PR           00612
   328367 MERCADO FLORES, BENITO      REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719604 MERCADO GAS                 HC 1 BOX 11050                                                                                                                    SAN SEBASTIAN       PR           00685
          MERCADO GHIGLIOTTY MD, JOSE
   328429 A                           REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MERCADO GHIGLIOTTY MD, LUIS
   328430 M                           REDACTED                                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   328566 MERCADO JIMENEZ MD, HIRAM REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MERCADO JIMENEZ MD,
   328567 MANUEL A                  REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                               URB. RIO HONDO 3 CC15 CALLE
  1420597 MERCADO JIMENEZ, RAFAEL                     RAFAEL MERCADO JIMENEZ   FLAMBOYANES                                                                              BAYAMON             PR           00961

   719605 MERCADO LOZADA SATURNINO                    VILLA CAROLINA           515 BLQ 199 NUM 7                                                                        CAROLINA            PR           00985

   719606 MERCADO MEDICAL SUPPLIED  104 CALLE LUNA                                                                                                                      SAN GERMAN          PR           00683
          MERCADO MONTALVO MD, JOSE
   328851 A                         REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                               CALLE GIMENEZ SICARDO # 7
  1420598 MERCADO MUÑOZ, RAUL                         RUBEN E. GUZMAN TORRES   ALTOS                                                                                    CAGUAS              PR           00725
                                                                               CALLE GIMENEZ SICARDO # 7
  1420599 MERCADO MUÑOZ, RAUL                         RUBEN E. GUZMAN TORRES   ALTOS                                                                                    CAGUAS              PR           00725
          MERCADO MUSIC &
   328921 ENTERTAINMENT                               PO BOX 29558                                                                                                      SAN JUAN            PR           00929
   328946 MERCADO NIEVES, AIDA                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  328967 MERCADO NUNEZ, JOAQUINA                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   329011 MERCADO ORTIZ MD, HARRY E                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1420600 MERCADO PRATTS, JOSÉ A.                     ROGER A. LEYBA RODRIGUEZ   PO BOX 873                                                                             HORMIQUEROS         PR         00660‐0873
   329214 MERCADO RAMIREZ, MARK S.                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

  1420601 MERCADO RIVERA, ADALBERTO                   HÉCTOR CORTÉS BABILONIOA   PO BOX 896                                                                             ARECIBO             PR         00613
   329274 MERCADO RIVERA, ARLENE                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      JAIME B. GONZALEZ
  1420602 MERCADO RIVERA, DARIANA                     MALDONADO                  PO BOX 777                                                                             ARECIBO             PR         00613
   329336 MERCADO RIVERA, MARIELA                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   719607 MERCADO RODRIGUEZ ALEXIA                    URB MONTE BRISAS V         5 P 6 CALLE 5‐18                                                                       FAJARDO             PR         00738

   327749 MERCADO RODRIGUEZ, LESLIE A REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   327750 MERCADO RODRIGUEZ, RAFAEL                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MERCADO ROSSO MD,
   329550 WILFREDO                                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1420603 MERCADO RUIZ, CARLOS J                      NYDIA GONZÁLEZ‐ORTÍZ       11 BETANCES STREET                                                                     YAUCO               PR         00698
   329626 MERCADO SANTIAGO, FELIX                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   329633 MERCADO SANTIAGO, JEREMY                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   329656 MERCADO SANTOS MD, LUIS R                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   719608 MERCADO SCREENS                             PARCELAS NUEVAS            SABANA ENEAS 635                                                                       SAN GERMAN          PR         00683
                                                                                 623 AVE PONCE DE LEON STE
  1420604 MERCADO SURITA, GIL                         JULIO MARCANO LÓPEZ        1103                                                                                   SAN JUAN            PR         00917
          MERCADO TEXACO SERVICE
   719609 STATION                                     PO BOX 2835                                                                                                       SAN GERMAN          PR         00683

   329745 MERCADO TORREGROSA, HARRY REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   329775 MERCADO TORRES, ILEANA    REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   329873 MERCADO VAZQUEZ, MARIE N                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                 URB. VILLA ANDALUCÍA A‐22
  1420605 MERCADO VEGA, LIZ G.                        VÍCTOR M. BERMÚDEZ PÉREZ   CALLE RONDA                                                                            SAN JUAN            PR         00926

   719610 MERCADO Y SOTO LAW OFFICE                   PO BOX 9023980                                                                                                    SAN JUAN            PR         00902‐3980

  1422816 MERCADO ZAYAS, CARLOS                       ALBERTO RIVERA RAMOS       CONDOMINIO PLAZA DEL MAR    APT. 305 3001 AVE. ISLA VERDE                              CAROLINA            PR         00979
   329967 MERCADO, ANDRES                             REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  1420606 MERCADO, ANNALIE                            TANIA SERRANO GONZALEZ     PO BOX 7041                                                                            CAGUAS              PR         00726‐7041
  1420607 MERCADO, CARMEN M.                          CARLOS G. MARTÍNEZ VIVAS   PO BOX 9028                                                                            PONCE               PR         00732‐9028
  1420608 MERCADO, ESTHER                             JUAN H. SAAVEDRA CASTRO    PO BOX 9021782                                                                         SAN JUAN            PR         00902‐1782
  1420609 MERCADO, LARY                               MELBA DIAZ RAMIREZ         PO BOX 9023951                                                                         SAN JUAN            PR         00902‐3951

  1420610 MERCADO, MARGARITA Y OTROS ALEJANDRO SUÁREZ VICENTY                    COND LAS TORRES                                                                        BAYAMÓN             PR         00958
          MERCANTIL SAN PATRICIO
   329997 ASSOCIATES                 PO BOX 79037                                                                                                                       CAROLINA            PR         00984‐9037
          MERCANTIL URUGUAY
   329998 ASSOCIATES                 PO BOX 192336                                                                                                                      SAN JUAN            PR         00919‐2336
   719612 MERCED & ASSOCIATES        HC 01 BOX 6962                                                                                                                     AGUAS BUENAS        PR         00703



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          MERCED & VELAZQUEZ AIR
   330001 CONDITIONING CORP                           BO PINAS                    BOX 11455                                                                                TOA ALTA            PR           00953
   330034 MERCED AMBULANCE                            PO BOX 761                                                                                                           AIBONITO            PR           00705‐0000
   330042 MERCED ARRIAGA, LUZ                         REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

  1420611 MERCED MATEO, MARÍA A.                      MARIA MERCED MATEO          REPARTO SAN JOSE, A‐15 CALLE 5                                                           GURABO              PR           00778
   330199 MERCED MD, LUIS                             REDACTED                    REDACTED                       REDACTED                           REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                  DIVISIÓN DE SERVICIOS LEGALES
  1420612 MERCED MIRABAL, DOLORES                     CESAR LUGO CARDONA          PO BOX 70199                                                                             SAN JUAN            PR           00936‐8190

  1420613 MERCED MIRABAL, RAMONITA                    JAIME PICO MUÑOZ            AEELA PO BOX 70199                                                                       SAN JUAN            PR           00936‐8190

  1420614 MERCED MORALES, ORLANDO                     ANDRÉS RODRÍGUEZ ELÍAS      PO BOX 1146 SABANA                                                                       SABANA SECA         PR           00952
   719613 MERCED RIVERA CATALA                        HC 71 BOX 4115                                                                                                       NANJITO             PR           00719
   330337 MERCED SANTIAGO, LILY                       REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   330399 MERCED VELEZ, HIPOLITA                      REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                                                  PO BOX 9949 NACHMAN &
  1420615 MERCED‐ALVARADO, ET AL,                     MONIQUE GUILLEMARD NOBLE    GUILLEMARD                                                                               SAN JUAN            PR           00908
          MERCEDES A ALMONTE
   719618 QUI¥ONES                                    PO BOX 3235                                                                                                          VEGA ALTA           PR           00692
   719619 MERCEDES A FALERO SOTO                      URB MANSIONES DE ROMANY     B34 CALLE ROBLES                                                                         SAN JUAN            PR           00926

   330419 MERCEDES A IRIARTE QUINONES REDACTED                                    REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719620 MERCEDES ACEVEDO DONES      PMB 341 BOX 2500                                                                                                                     TOA BAJA            PR           00949
   719621 MERCEDES ALAMO ROJAS        BO SAN ISIDRO                               90 CALLE 2                                                                               CANOVANAS           PR           00729

   719622 MERCEDES ALCALA MARTINEZ                    LITHEDA APT                 BOX 20702 CARR 845                                                                       SAN JUAN            PR           00926
   330420 MERCEDES ALICEA MELENDEZ                    REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719623 MERCEDES ALICEA RIVERA                      URB JARD LAFAYETTE          D 7 CALLE G                                                                              ARROYO              PR           00714

   719625 MERCEDES AROCHO RODRIGUEZ URB LA ROMANA                                 308 CALLE JOSE BADIA                                                                     QUEBRADILLA         PR           00678

   719626 MERCEDES ARROYO HERNANDEZ URB VILLA CAPRI 1175                          CALLE VERONA                                                                             SAN JUAN            PR           00924
   719628 MERCEDES AUTO REPAIR INC  Ave. Barbosa 703                                                                                                                       Santurce                         00915
   719630 MERCEDES AVILES LEBRON    619 DR PAVIA ST                               PARADA 22                                                                                SANTURCE            PR           00909
   330423 MERCEDES AYALA VAZQUEZ    REDACTED                                      REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   330424 MERCEDES BELTRAN ACOSTA   REDACTED                                      REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MERCEDES BETANCOURT Y
   330425 RAMONA BETANCOURT         REDACTED                                      REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   330426 MERCEDES BODDEN FONTANA                     REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719632 MERCEDES BRAVO ORTEGA                       PO BOX 674                                                                                                           ARECIBO             PR           00612
   719633 MERCEDES CABRAL INFANTE                     BO OBRERO                   708 CALLE ALFARO                                                                         SAN JUAN            PR           00915
   330429 MERCEDES CANCIO LUGO                        REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719635 MERCEDES CARRIàN                            URB VILLAS DEL RIO          CALLE 15 D 36                                                                            BAYAMàN             PR           00959
   719636 MERCEDES CARRION PEREIRA                    URB FAJARDO GARDENS 180     CALLE LAUREL                                                                             FAJARDO             PR           00738
   330431 MERCEDES CEDO RODRIGUEZ                     REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   330432 MERCEDES CHAPARRO SOTO                      REDACTED                    REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719637 MERCEDES CINTRON                            HC 3 BOX 7151                                                                                                        GUAYNABO            PR           00971
   719616 MERCEDES CINTRON RIVERA                     PO BOX 312                                                                                                           GARROCHALES         PR           00652‐0312
          MERCEDES COGHEN                             AVDA DE VALDEMARIN 71A 2B
   719638 ALBERDINGK THIJIM                           ARAVACA                                                                                                              MADRID                           28023         SPAIN




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   719639 MERCEDES COLOM AVILES                       COND EL MONTE SUR APT 738   190 AVE HOSTOS                                                                       SAN JUAN             PR           00918‐4622
   719640 MERCEDES COLON BERRIOS                      PASEO LAS BRUMAS            2 CALLE ROCIO                                                                        CAYEY                PR           00737
   330436 MERCEDES COLON COLON                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   719641 MERCEDES COLON VERA                         HC 4 BOX 46901                                                                                                   SAN SEBASTIAN        PR           00685

   719642 MERCEDES CONCEPCION DECLET URB EXT ONEILL                               K 2 CALLE C                                                                          MANATI               PR           00674

   719643 MERCEDES CONTRERAS INUFLO                   URB SUMMIT HILLS            615 CALLE YUNQUE                                                                     SAN JUAN             PR           00920‐4339
   330437 MERCEDES CORDERO FLORES                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   719646 MERCEDES CORTES SAAVEDRA RADIOVILLE                                     8 CALLE 2                                                                            ARECIBO              PR           00612
   330438 MERCEDES CRUZ MARTINEZ       REDACTED                                   REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   719647 MERCEDES CRUZ REYES          COMUNIDAD LOS LLANOS                       77 SOLAR                                                                             COAMO                PR           00769
          MERCEDES DE JESUS GONZALEZ /
   719649 LIGA ARSEL                   7MA SECCION LEVITTOWN                      HM 15 CALLE RAMON MURLA                                                              TOA BAJA             PR           00949

   719650 MERCEDES DE JESUS MORALES                   MARIA PIZARRO                                                                                                    SAN JUAN             PR           00902
          MERCEDES DE LA CRUZ
   719651 MOGUETE                                     RES FELIPE S OSORIO         EDIF 28 APTO 127                                                                     CAROLINA             PR           00985
   719652 MERCEDES DECLET REYES                       PO BOX 2458                                                                                                      VEGA BAJA            PR           00693
          MERCEDES DEL C BATISTA
   719653 GONZALEZ                                    HC 1 BOX 2632                                                                                                    ARECIBO              PR           00688
   719654 MERCEDES DELGADO PEREZ                      ALTURAS DE RIO GRANDE       B 88 CALLE 2                                                                         RIO GRANDE           PR           00745
   719655 MERCEDES DIAZ                               HC 04 BOX 45301                                                                                                  SAN LORENZO          PR           00754 9803

   719656 MERCEDES DOMACASSE CRUZ   308 CALLE DEL VALLE                                                                                                                SAN JUAN             PR           00907
   330444 MERCEDES DUMENG LOPEZ     REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MERCEDES DURAND PACHECO /
   719657 NELSON RIVERA             BO OBRERO                                     618 CALLE CARACAS                                                                    SAN JUAN             PR           00915

   330445 MERCEDES E BARBOSA PINERO                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   330446 MERCEDES E. SANCHEZ ABREU                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   330447 MERCEDES ECHEVARIA ROMAN                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   330448 MERCEDES ESCOTO COTTE                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   330450 MERCEDES FEBRES RAMOS                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MERCEDES FELICIANO E HILDA
   330452 ROSA                                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   330454 MERCEDES FERNANDEZ ROHENA REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   719658 MERCEDES FERNANDEZ SOLER                    KINGS COURT 80 APT301                                                                                            SAN JUAN             PR           00911
          MERCEDES FERNANDEZ
   330455 ZABALETA                                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   719660 MERCEDES FIGUEROA MENDOZA HC 58 BOX 13462                                                                                                                    AGUADA               PR           00602
   719661 MERCEDES FIGUEROA PEREZ   BO JURUTUNGO                                  576 CALLE G                                                                          SAN JUAN             PR           00917
   719662 MERCEDES FORTY FORTY      LOMAS ALTAS                                   A2 CALLE 1                                                                           CAROLINA             PR           00987
   719663 MERCEDES G ROMAN GRAU     LA MILAGROSA                                  Q47 CALLE 4                                                                          BAYAMON              PR           00959‐4808

   330456 MERCEDES G TORRENT MATTEI                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  330457 MERCEDES GAGO GELIGA                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  330458 MERCEDES GALLOZA                             REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  719664 MERCEDES GARCIA CLAUDIO                      HC 08 BOX 39912                                                                                                       CAGUAS            PR         00725‐9671
  719665 MERCEDES GARCIA COLON                        F 302 COND CAMINO REAL                                                                                                GUAYNABO          PR         00966
  330459 MERCEDES GARCIA ORTEGA                       REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  330460 MERCEDES GARCIA PENA                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  719666 MERCEDES GARCIA RAMOS                        COND LEOPOLDO FIGUEROA        APARTADO 322                                                                            SAN JUAN          PR         00923
  330461 MERCEDES GARCIA REYES                        REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  719668 MERCEDES GARCIA ROSADO                       HC 03 BOX 17408                                                                                                       COROZAL           PR         00783

   719670 MERCEDES GONZALEZ GONZALEZ P O BOX 5242                                                                                                                           SAN SEBASTIAN     PR         00685
   719671 MERCEDES GONZALEZ ORTIZ    URB MATIENZO CINTRON                           490 CALLE LINARES                                                                       SAN JUAN          PR         00923

   719672 MERCEDES GONZALEZ PANTOJA JARDINES DE VEGA BAJA                           1 CALLE HH                                                                              VEGA BAJA         PR         00693

   719673 MERCEDES GONZALEZ RIVERA                    URB ESTANCIAS DEL GOLF CLUB   720 CALLE ENRIQUE LAGUERRE                                                              PONCE             PR         00731

   330464 MERCEDES GONZALEZ SANCHEZ REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   719674 MERCEDES GONZALEZ TORRES                    PO BOX 10007 SUITE 304                                                                                                GUAYAMA           PR         00784
   719675 MERCEDES GUADALUPE PICA                     P O BOX 10215                                                                                                         SAN JUAN          PR         00922
   719676 MERCEDES GURREA ROSAS                       PO BOX 428                                                                                                            CEIBA             PR         00735
   719677 MERCEDES GUTIERREZ                          BO FORTUNA                    KIOSKO 24                                                                               LUQUILLO          PR         00773
   330466 MERCEDES HENRIQUEZ                          REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719678 MERCEDES HERNANDEZ                          BO CUATRO CALLES              1238 CALLE BOCACHICA                                                                    PONCE             PR         00717

   330467 MERCEDES HERNANDEZ JAVIER                   REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719680 MERCEDES HERNANDEZ SEDA                     ALTURAS DE RIO GRANDE         N 684 CALLE 13 A                                                                        RIO GRANDE        PR         00745
          MERCEDES HERNANDEZ/
   719682 RESTAURANTE EL ROBLE                        PO BOX 9024275                                                                                                        SAN JUAN          PR         00902‐4275
   719683 MERCEDES I GARCIA PEREZ                     COND EL CID 3 A               660 MIRAMAR AVE                                                                         SAN JUAN          PR         00907
   719684 MERCEDES I LABOY                            PO BOX 1338                                                                                                           SANTA ISABEL      PR         00757
   719685 MERCEDES IMBERT DE JESUS`                   URB GARDEN HILL               Z 4 CALLE MONTEBELLO                                                                    GUAYNABO          PR         00966‐2916
          MERCEDES IRIZARRY RIVERA /
   719686 JOSE A LUGO                                 PO BOX 95                                                                                                             BAYAMON           PR         00960
   719687 MERCEDES JACKSON RIVERA                     URB VALLE ARRIBA HEIGHTS      AG 13 CALLE NISPERO                                                                     CAROLINA          PR         00983
   330471 MERCEDES L FLORES SILVA                     REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   330472 MERCEDES LABOY RUIZ                         REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719688 MERCEDES LAGO                               BOX 2027                                                                                                              AGUADILLA         PR         00605

   719690 MERCEDES LECODET LEON                       757 CALLE ERNESTO CERRA APT 3                                                                                         SAN JUAN          PR         00907
   330474 MERCEDES LOPEZ                              REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   330475 MERCEDES LOPEZ / ADA I LOPEZ                REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   719691 MERCEDES LOPEZ ALVARES                      EXT PARC SABANA ENEAS         263 CALLE 11                                                                            SAN GERMAN        PR         00683
   719693 MERCEDES LOPEZ DE VERAY                     PO BOX 362948                                                                                                         SAN JUAN          PR         00936‐2948
   330476 MERCEDES LOPEZ GUTIERREZ                    REDACTED                      REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   719694 MERCEDES LOPEZ RODRIGUEZ                    BOX 3715                                                                                                              CIDRA             PR         00739
   719695 MERCEDES LOPEZ VAZQUEZ                      HC 03 BOX 12634                                                                                                       JUANA DIAZ        PR         00795
   719698 MERCEDES LUNA DE JESUS                      BDA BELGICA                   2458 CALLE GRAN VIA                                                                     PONCE             PR         00717
   719699 MERCEDES LUNA RODRIGUEZ                     URB EL COMANDANTE             961 CALLE CECILIO LEBRON                                                                SAN JUAN          PR         00924




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          MERCEDES M CALERO
   719703 BERMUDEZ                                    HC 5 BOX 56171                                                                                                        AGUADILLA           PR           00603‐9580

   719701 MERCEDES M ORU¥A DE GUIDINI PO BOX 360514                                                                                                                         SAN JUAN            PR           00936‐0514
                                                                                   1605 CALLE 4 SO URB CAPARRA
   719705 MERCEDES M SANCHEZ TEJADA                   CAPARRA TERRACE              TER                                                                                      SAN JUAN            PR           00921
          MERCEDES MAGRANES HNC
   719706 MERCEDES BOUTIQUE                           117 E DE DIEGO                                                                                                        MAYAGUEZ            PR           00680
   330478 MERCEDES MAIZ CASELLAS                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MERCEDES MALDONADO MD,
   330479 MILCIADES                                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   719707 MERCEDES MALDONADO RIVERA COND FALANTERIO                                EDF O APT 4                                                                              SAN JUAN            PR           00901

   719709 MERCEDES MARTINEZ GUERRIC                   1160 TAVAREZ                                                                                                          SAN JUAN            PR           00925

   719710 MERCEDES MARTINEZ MOLINA                    P O BOX 1064                                                                                                          MANATI              PR           00674
   719711 MERCEDES MARTINEZ RADIO                     URB BALDRICH                 318 CALLE COLL Y TOSTE                                                                   SAN JUAN            PR           00918

   719712 MERCEDES MARTINEZ VALIENTE                  890 COND ASHFORD             APT 10 E                                                                                 CONDADO             PR           00907
   719715 MERCEDES MATOS DIAZ                         HC 1 BOX 46571                                                                                                        NAGUABO             PR           00718‐9723
   330482 MERCEDES MATOS MATOS                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   330483 MERCEDES MEDINA BERNARD                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719718 MERCEDES MEJIAS                             LA RAMBLA                    169 CALLE 4                                                                              PONCE               PR           00732
          MERCEDES MELENDEZ
   330485 MALDONADO                                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   330486 MERCEDES MELENDEZ ORTIZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   330487 MERCEDES MERCADO PARGA                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719721 MERCEDES MERLE TORRES                       P O BOX 142                                                                                                           GUANICA             PR           00653
   330488 MERCEDES MIRANDA DIAZ                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719722 MERCEDES MIRANDA RIVERA                     BO RABANAL SECTOR FATIMA     BZN 2955                                                                                 CIDRA               PR           00739
          MERCEDES
          MONTALVO/GUILLERMO
   330490 HEREDIA                                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   330491 MERCEDES MONTAS RIVERA                      REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   330492 MERCEDES MORALES ACEVEDO                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   719615 MERCEDES MORALES ACEVEDO                    BARRIADA JURUTUNGO           73 CALLE PATILLAS                                                                        SAN JUAN            PR           00917

   719617 MERCEDES MU¥OZ VILLANUEVA                   FONTAINE BLEU PLAZA 1401                                                                                              GUAYNABO            PR           00969
   330496 MERCEDES MULERO BAEZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719723 MERCEDES NEGRON CRUZ                        SAN PATRICIO CHALETS         20 AVE SAN PATRICIO                                                                      GUAYNABO            PR           00968
          MERCEDES NEGRON DE
   719724 GONZALEZ                                    URB VILLAS DE SAN AGUSTIN 26 CALLE K                                                                                  BAYAMON             PR           00959
   719725 MERCEDES NEGRON LABOY                       SANTA JUANITA                L 50 AVE LAUREL                                                                          BAYAMON             PR           00956

   719727 MERCEDES NIEVES VILLANUEVA BO OBRERO                                     777 CALLE TITO RODRIGUEZ                                                                 SAN JUAN            PR           00915
   719728 MERCEDES OCASIO MIRANDA    QUINTA DE DORADO                              F 8 CALLE 9                                                                              DORADO              PR           00646

   719729 MERCEDES OLMO RODRIGUEZ                     ESTANCIAS DEL SOL            H 58 RESCATE 92                                                                          RIO GRANDE          PR           00745
   719730 MERCEDES ORTIZ BONILLA                      HC 43 BOX 9575                                                                                                        CAYEY               PR           00736‐9601
   719731 MERCEDES ORTIZ MARTINEZ                     HC 03 BOX 17276                                                                                                       COROZAL             PR           00783



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  719733 MERCEDES ORTIZ ROSALY                        URB. COUNTRY CLUB O F 6    CALLE 516                                                                               CAROLINA            PR           00985

   330501 MERCEDES OTERO TIRAGALLO                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   330504 MERCEDES PAGAN FERNANDEZ                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   719735 MERCEDES PAGUERO                            COND UNIMAR APTO 502       702 CALLE UNION                                                                         SAN JUAN            PR           00907

   719736 MERCEDES PEDRAZA QUIJANO                    HC 40 BOX 42500                                                                                                    SAN LORENZO         PR           00754
   330508 MERCEDES PERALTA PERALTA                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   330509 MERCEDES PEREIRA DE NEGRON REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   330510 MERCEDES PEREZ CEPEDA      REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   719737 MERCEDES PEREZ ORTIZ       RES CANDELARIO TORRES                       EDIF C APT 31                                                                           NARANJITO           PR           00719

   719740 MERCEDES PIZARRO NIEVES                     1RA EXT ALT DE VILLALBA    132 CALLE RAFAEL HERNANDEZ                                                              VILLALBA            PR           00766
   719741 MERCEDES PLAZA RIVERA                       URB VILLAS UNIVERSITARIA   CALLE RUM BOX 75                                                                        AGUADILLA           PR           00603

   330512 MERCEDES POLANCO QUINONEZ REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MERCEDES R MIRANDA
   330514 RODRIGUEZ                 REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
                                                                                 641 CALLE FRANCISCO
   719744 MERCEDES RAMOS                              VILLA PRADES               CASARDUP                                                                                SAN JUAN            PR           00924

   719745 MERCEDES RAMOS DE CHARDON URB VENUS GARDENS                            679 CALLE AGUAS CALIENTES                                                               SAN JUAN            PR           00926‐4618
   719746 MERCEDES RAMOS GARCIA     P O BOX 69001 SUITE 115                                                                                                              HATILLO             PR           00659
   719747 MERCEDES RESTO RIVERA     RES MANUEL A PEREZ                           EDIF F 16 APT 150                                                                       SAN JUAN            PR           00923
   330515 MERCEDES RESTO ROSARIO    REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   330516 Mercedes Reyes Candelario REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   719749 MERCEDES REYES GUADALUPE                    URB UNIVERSITY GARDENS     252 CALLE INTERAMERICANA                                                                SAN JUAN            PR           00927‐0000
   330518 MERCEDES REYES ORTIZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   719751 MERCEDES REYES PADILLA                      HC 01 BOX 3027                                                                                                     FLORIDA             PR           00650
   719752 MERCEDES RIOS ARROYO                        HC 04 BOX 48332                                                                                                    CAGUAS              PR           007725
   719753 MERCEDES RIVERA                             PARCELAS MARQUES                                                                                                   MANATI              PR           00674
   719754 MERCEDES RIVERA ADORNO                      PMB 201                    BOX 3080                                                                                GURABO              PR           00778

   330520 MERCEDES RIVERA ALDARONDO                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   330521 MERCEDES RIVERA FIGUEROA                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   330522 MERCEDES RIVERA IRIZARRY                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   719755 MERCEDES RIVERA MARTINEZ                    PO BOX 10632                                                                                                       SAN JUAN            PR           00922
   719756 MERCEDES RIVERA MEDINA                      HC 80 BOX 6790                                                                                                     DORADO              PR           00646
   719757 MERCEDES RIVERA MOLINA                      HC 80 BQ ESPINOZA                                                                                                  DORADO              PR           00975
   719759 MERCEDES RIVERA RIVERA                      URB VILLA CAROLINA         67‐44 CALLE 55                                                                          CAROLINA            PR           00985

   330523 MERCEDES RIVERA RODRIGUEZ                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   719761 MERCEDES RIVERA SANTOS                      HC1 BOX 8715                                                                                                       CANOVANAS           PR           00729
                                                      COM CALLE DEL AGUA SOLAR
   719762 MERCEDES ROBLEDO                            224                                                                                                                ADJUNTAS            PR           00601
   330526 MERCEDES ROBLES CORDERO                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   330527 MERCEDES ROBLES, CHRISTIAN                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   719763 MERCEDES RODRIGUEZ                          COND EL FERROL 1402        119 MARGINAL ROOSEVELT                                                                  SAN JUAN            PR           00917




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   330528 MERCEDES RODRIGUEZ BAIRAN                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   719764 MERCEDES RODRIGUEZ FUENTES SKY TOWERS 3                                3 CALLE HORTENCIA APTO 5 A                                                               SAN JUAN            PR           00926

   330529 MERCEDES RODRIGUEZ ORTIZ                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   330530 MERCEDES RODRIGUEZ PUJOLS                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   719766 MERCEDES RODRIGUEZ SUAREZ                   P O BOX 624                                                                                                         COTO LAUREL         PR           00780
   330534 MERCEDES ROJAS MONTANO                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   330535 MERCEDES ROJO                               REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719768 MERCEDES ROMAN CUASCUT                      URB CASAMIA                5214 CALLE ALCATRAZ                                                                      PONCE               PR           00728‐3406
          MERCEDES ROSARIO
   719769 MALDONADO                                   VILLA FONTANA              4 P S 8 VIA 46                                                                           CAROLINA            PR           00983
   719770 MERCEDES RUIZ                               PO BOX 50063                                                                                                        SAN JUAN            PR           00902
   719771 MERCEDES RUIZ GARCIA                        PO BOX 7193                                                                                                         CAROLINA            PR           00986‐7193
   330537 MERCEDES RUIZ RIVERA                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   330538 MERCEDES RUIZ ROMERO                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   330539 MERCEDES S FERRER ALAMEDA                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   719772 MERCEDES SALGADO BAEZ                       BO MAGUAYO PARC EL COTTO                                                                                            DORADO              PR           00646
   719774 MERCEDES SANCHEZ LONGO                      PO BOX 9137                                                                                                         SAN JUAN            PR           00908

   330542 MERCEDES SANTIAGO CINTRON REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   719775 MERCEDES SANTIAGO MENDEZ                    321 LAKE CURENCE                                                                                                    ROCHESTER           NY           14608

   719776 MERCEDES SANTIAGO MORALES RES. VARONES S.J.                                                                                                                     Hato Rey            PR           009360000
   719777 MERCEDES SANTIAGO ORTIZ   COM COCO I                                   SOLAR 117                                                                                SALINAS             PR           00751
   719778 MERCEDES SANTIAGO OTERO   URB MONTERREY                                J 7 CALLE 2                                                                              COROZAL             PR           00783

   719779 MERCEDES SANTIAGO ROSADO                    PO BOX 1451                                                                                                         UTUADO              PR           00641

   719781 MERCEDES SEGARRA CASTILLO                   P O BOX 442                                                                                                         SAN GERMAN          PR           00683
   330544 MERCEDES SEGURA PALACIOS                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   719782 MERCEDES SERRALLES FORNARIS PO BOX 190227                                                                                                                       SAN JUAN            PR           00919‐0227

   719783 MERCEDES SERRANO RONDON BO MINILLAS                                    HC 67 BOX 15258                                                                          BAYAMON             PR           00956
   330545 MERCEDES SILVA FIGUEROA     REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MERCEDES SOLER Y/O MIGUEL A
   719786 FERNANDEZ                   COND KINGS COURT                           80 CALLE KINGS COURT APT 301                                                             SAN JUAN            PR           00911
   330546 MERCEDES SORIANO MATIAS     REDACTED                                   REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   330548 MERCEDES SOTO CHAPARRO      REDACTED                                   REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   330549 MERCEDES SOTO ORTIZ         REDACTED                                   REDACTED                     REDACTED                             REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MERCEDES SOTO VDA. DE
   330550 NEGRON                      REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MERCEDES SUAREZ
   330551 CASTELLANOS                 REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   719789 MERCEDES SUAZO COLON                        URB LOS ROBLES             404 CALLE VEREDA DEL BOSQUE                                                              CAROLINA            PR           00987



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  719790 MERCEDES SUAZO MONTERO                       CAPARRA TERRACE             1159 CALLE 30SE                                                                        SAN JUAN            PR           00921
  719791 MERCEDES T GARCIA                            RR 5 BOX 18692                                                                                                     TOA ALTA            PR           00953
                                                      COND QUINTA BALDWIN 50 AA
   719792 MERCEDES TAULE CABANILLA                    APT 1104                                                                                                           BAYAMON             PR           00959

   719793 MERCEDES TORRES                             URB REPARTO METROPOLITANO 847 CALLE 57 ES                                                                          SAN JUAN            PR           00921

   330555 MERCEDES TORRES DEL VALLE                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   719796 MERCEDES TORRES GARCIA                      URB VALLES DE GUAYAMA       XX 9 CALLE 23                                                                          GUAYAMA             PR           00784

   719797 MERCEDES TORRES HERNANDEZ URB LA RIVIERA                                1284 CALLE 54 S E                                                                      SAN JUAN            PR           00921
          MERCEDES TORRES
   330556 MALDONADO                 REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   719798 MERCEDES TORRES OTERO     140 CALLE LAS FLORES                                                                                                                 SAN JUAN            PR           00912

   719800 MERCEDES TORRES SANTIAGO                    JARDINES DEL CARIBE         B‐B 137 CALLE 29                                                                       PONCE               PR           00731
                                                      11‐44 URB VALLE ALTO
   719801 MERCEDES TRONCOSO TORRES                    COORDILLERA                                                                                                        PONCE               PR           00731
   719802 MERCEDES ULLOA POLANCO                      URB LOMAS VERDES            3C 30 CALLE LIRIO                                                                      BAYAMON             PR           00956‐3334
   330558 MERCEDES VARGAS                             REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   719803 MERCEDES VARGAS CANO                        PO BOX 9234                                                                                                        SAN JUAN            PR           00908
   719804 MERCEDES VAZQUEZ RIVERA                     BDA ISRAEL                  134 CALLE PARAGUAY                                                                     SAN JUAN            PR           00917
   719805 MERCEDES VEGA TORO                          PO BOX 1426                                                                                                        LAJAS               PR           00667

   719806 MERCEDES VELAZQUEZ NIEVES                   MONTE FLORES                458 CALLE 10                                                                           SAN JUAN            PR           00915
   719808 MERCEDES VELEZ MERCADO                      E 6 URB VILLA DEL MAR                                                                                              SANTA ISABEL        PR           00757
   330559 MERCEDES VELEZ MOJICA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   719810 MERCEDES VIDRO ZAYAS                        ATOCHE STATION              BOX 6612                                                                               PONCE               PR           00732

   719812 MERCEDES Y MENDEZ MARTINEZ REPARTO MARQUEZ                              CALLE 9H 28                                                                            ARECIBO             PR           00612
   330561 MERCEDES ZAYAS GONZALEZ    REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   330564 MERCEDES, GALARZA          REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   719814 MERCEDEZ BAEZ PAGAN        P/C DIVISION DE NOMINAS                      DEPTO DE SALUD              PO BOX 70184                                               SAN JUAN            PR           00936

   330569 MERCEDITA APONTE RODRIGUEZ REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   719817 MERCEDITA LUGO VEGA        610 CALLE OLIMPO APT 4                                                                                                              SAN JUAN            PR           00907
   330572 MERCEDITA PEREZ BAEZ       REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MERCEMAR RODRIGUEZ
   719820 SANTIAGO                   LAS TRINITARIAS II                           841 CALLE GARDENIA                                                                     AGUIRRE             PR           00704

   330574 MERCER HEALTH & BENEFITS LLS PO BOX 905234                                                                                                                     CHARLOTTE           NC           28290‐5234
   330575 MERCER JACKSON HENRY         REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MERCHANDISE AND AUDIT
   330577 SERVICES INC                 111 CARR 174 SUITE 3                       SECTOR INDUSTRIAL MINILLA                                                              BAYAMON             PR           00959‐1910
   330578 MERCI M. PEREZ HERNANDEZ     REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   330579 MERCIE C MUNOZ LUGO          REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   719822 MERCILIZ COLLAZO SANTOS      APT 409                                                                                                                           TOA ALTA            PR           00953
   719824 MERCK & CO.INC.              PO BOX 2000                                                                                                                       RAHWAY              NJ           07065
   719825 MERCK SHARP & DOHME          PO BOX 3689                                                                                                                       CAROLINA            PR           00984
          MERCK SHARP AND DOHME
   719826 QUIMICA PR INC               PO BOX 601                                                                                                                        BARCELONETA         PR           00617
   719828 MERCON AIR SYSTEM CORP       P O BOX 6348                                                                                                                      BAYAMON             PR           00960
   330586 MERCURIO MD , CARL F         REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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  719829 MERCURY GROUP                                1108 AVE ASFORD                                                                                                SAN JUAN            PR         00907
  719831 MERCY A AYALA BAEZ                           LA VILLA GARDENS APT 26    CARR 833 APT 306                                                                    GUAYNABO            PR         00971
  719832 MERCY E TORRES DIAZ                          PO BOX 627                                                                                                     ADJUNTAS            PR         00601
  330588 MERCY HOSPITAL                               PO BOX 19058                                                                                                   GREEN BAY           WI         54307‐9058
  330591 MERCY MARTINEZ GARCIA                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  330592 MERCY MEDICAL CENTER                         MED REC DEPT               301 N SAINT PAUL PLACE                                                              BALTIMORE           MD         21202
         MERCY MEDICAL GRP
  330594 SACRAMENTO                                   30000 Q ST                                                                                                     SACRAMENTO          CA         95816

   330595 MERCY MEDICAL ON PULASKI                    4778 NORTH MICHIGAN AVENUE SUITE 100                                                                           SAGINAW             MI         48604
          MERCY WOODSTOCK MEDICAL
   330597 CENTER                                      1000 MINEAL POINT AVE                                                                                          JANESVILL           WI         60098

   330598 MERE CHAPUSEAUX MD, EAST A                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MEREDID S. MALDONADO
   330602 SANTIAGO                                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   719833 MEREDITH ALEQUIN FAJARDO                    PO BOX 8071                                                                                                    CAGUAS              PR         00726
   719834 MEREDITH BYARS                              2450 SUMMEROAK DRIVE                                                                                           TUCKER              GA         30084

   719835 MEREDITH M VELEZ MERCADO                    URB SAN MARTIN             F 15 CALLE 4                                                                        JUANA DIAZ          PR         00795
   330603 MEREDITH MURIEL COTTO                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   719836 MEREDITH RIVERA RIVERA                      P O BOX 2539                                                                                                   JUNCOS              PR         00777
   719837 MEREJO ALEJO TOINA                          URB LOS CAOBOS             1383 CALLE JAGUEY                                                                   PONCE               PR         00716
          MERELLO MARINE CONSULTING
   330609 LLC                                         7351 BRIGHTWATERS COURT                                                                                        NEW PORT RICHEY     FL         34652
   330610 MERELYN FERNANDEZ COTTO                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   330613 MERFE DISTRIBUTORS INC.                     BOX 63                                                                                                         BARRANQUITAS        PR         00794
   330614 MERGING GROUP INC                           URB VERSALLES              U 1 CALLE 3A                                                                        BAYAMON             PR         00959
   719840 MERGUIADES RIVERA GARCIA                    107 CALLE MANUEL COLON                                                                                         FLORIDA             PR         00650
   330616 MERIAL BARCELONETA LLC                      PO BOX 5103                PMB 433                                                                             CABO ROJO           PR         00623
   719841 MERIDA C MARGIOTTA                          P O BOX 70294                                                                                                  SAN JUAN            PR         00936‐8294
   330617 MERIDA E SUAREZ REYES                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   330618 MERIDA ELLIS LARACUENTE                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   719843 MERIDA LOPEZ ROSA                           PROY FINCA GALATEO         K4 CALLE 5                                                                          RIO GRANDE          PR         00745
   719844 MERIDA ORTIZ SANTOS                         HC 01 BOX 4911                                                                                                 SALINAS             PR         00751
   719847 MERIDA TOLEDO VICENTY                       CAPARRA HILLS TOWERS       APT 1004                                                                            GUAYNABO            PR         00968
   330623 MERIDANIA RAMIREZ RIVERA                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MERIDIAN BEHAVIORAL
   330624 HEALTHCARE INC                              BILLING & COLLECTIONS      PO BOX 141750                                                                       GAINESVILLE         FL         32614
   330625 MERIDIAN MEDICAL GROUP                      PO BOX 7707                                                                                                    CHARLOTTE           NC         28241
   719849 MERIELA I AVILES RUIZ                       HC 4 BOX 46905                                                                                                 HATILLO             PR         00659
   330626 MERIELEN SANTIAGO VELEZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   719850 MERILIM MALARET                             RR 149 KM 44 3                                                                                                 VILLALBA            PR         00638

   719851 MERILU MOLINARY ALMODOVAR PO BOX 5000 SUITE 264                                                                                                            SAN GERMAN          PR         00683
   719852 MERILYN GANDIA LOUBRIEL   243 CALLE PARIS SUITE 1048                                                                                                       SAN JUAN            PR         00917

   719853 MERINELDA GOMEZ LUYANDO                     PO BOX 488                                                                                                     GUANICA             PR         00653

   330628 MERINGELI MELENDEZ MALAVE                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   330629 MERINIE FURG RIVERA                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   330630 MERINO & SANCHEZ INC                        1108 LAS PALMAS ST                                                                                             SAN JUAN            PR         00907
   330632 MERINO &. SANCHEZ                           P.O. BOX 9024                                                                                                  SANTURCE            PR         00908



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  719854 MERINO COMMERCIAL CORP.                      PO BOX 9627                                                                                                       SAN JUAN            PR         00908
  719856 MERINO DE PONCE                              P O BOX 250                   PLAYA STATION                                                                       PONCE               PR         00734‐0250
  719857 MERINO DE PONCE INC.                         PO BOX 250                                                                                                        PONCE               PR         00734
  719859 MERINO TRADING INC.                          PO BOX 1817                                                                                                       BAYAMON             PR         00960
  330650 MERINO, FERRETERIA                           REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   330651 MERIT LEASING COMPANY INC                   573 N WOLF RD                                                                                                     WHEELING            IL         60090

   330652 MERITSABEL ALFONSO SALDANA REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MERIXANDRA RODRIGUEZ
   719860 SANCHEZ                    PALMA REAL 853 HIDE PARK                                                                                                           SAN JUAN            PR         00925
   719861 MERJES ACOSTA RIVERA       P O BOX 365                                                                                                                        COMERIO             PR         00782
   719862 MERK2S DE P R              408 AVE PONCE DE LEON                                                                                                              SAN JUAN            PR         00901
          MERKELLY MINGUELA
   719864 HERNANDEZ                  HC 01 BOX 3351                                 BARRIO BOCA                                                                         BARCELONETA         PR         00617
   330653 MERKY VAZQUEZ SANTELL      REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   330666 MERLE E NAZARIO LOPEZ      REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   719865 MERLE ESSO                                  HC‐764 BOX 7230 BO. JACABOA                                                                                       PATILLAS                       00723

   330667 MERLE ESSO SERVICE STATION                  BO JACAVOA                    HC 764 BOX 7230                                                                     PATILLAS            PR         00723
          MERLE ESSO/MARLE SERVICE
   719867 STATION                                     HC 64 BOX 7230                                                                                                    PATILLAS            PR         00723‐9712
          MERLE MAZZA WINERY LTD
   719869 CORP                                        312 AVE DE DIEGO SUITE 603                                                                                        SAN JUAN            PR         00909
   330678 MERLE RAMIREZ MD, SANTA                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

  1420616 MERLE RODRÍGUEZ, CARLOS J.                  CHERIL G. OCASIO GONZÁLEZ     PO BOX 372322                                                                       CAYEY               PR         00737‐2322
   330686 MERLE SEEPERSAD                             REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   330689 MERLESH E SEGARRA RIOS                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      150 CARR. SECTOR CENTRAL
   330690 MERLIN EXPRESS                              BASE MUNIZ                    SUITE 4                                                                             CAROLINA            PR         00979
   719870 MERLIN EXPRESS INC                          150 CARR SECTOR CENTRAL       BASE MUNIZ SUITE 4                                                                  CAROLINA            PR         00979
   330691 MERLIN HOLDINGS INC                         PO BOX 9401                                                                                                       SAN JUAN            PR         00908
   719872 MERLINDA DIAZ                               BO LA PLACITA                 CARR 31 R 946 K 1 0                                                                 JUNCOS              PR         00777

   330692 MERLIZ RODRIGUEZ CASANOVA                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   330693 MERLIZA VAZQUEZ RAMOS                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   330710 MERNOK CONSTRUCTION                         P O BOX 21217                                                                                                     SAN JUAN            PR         00928‐1217

   719873 MERPRO EVENTS PROMOTIONS                    SANTA ROSA                    AGUAS BUENAS EDIF 1629                                                              BAYAMON             PR         00959

   330711 MERPROMOTIONS AGENCY INC                    URB SANTA ROSA                32 23 CALLE 27                                                                      BAYAMON             PR         00959
          MERQUIADES GUZMAN
   719874 SANTIAGO                                    BO ARENA                      PO BOX 5509                                                                         CADRA               PR         00739
   330712 MERRIL OLIVER                               REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MERRILL LINCH FBO JEREMY
   719875 COOKE                                       1850 K STRRET NW SUITE 700                                                                                        WASHINGTON          WA         20006
   330713 MERRILL LYNCH                               ESCHEATMENT UNIT 1500         MERRILL LYNCH DRIVE                                                                 PENNINGTON          NJ         08534
          MERRILL LYNCH ASSET
   719878 MANAGEMENT                                  PO BOX 9074                                                                                                       PRINCETON           NJ         08543
   330714 MERRILL LYNCH INS CO                        1300 MERRILL LYNCH DRIVE                                                                                          PENNINGTON          NJ         08534
   330718 MERVA E GONZALEZ RIVERA                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  330719 MERVAR INC                                   22305 CALLE LAUREL APT 401                                                                                             SAN JUAN          PR           00913
  719879 MERVI TRAVEL AGENCY                          PO BOX 29006                                                                                                           SAN JUAN          PR           00929
  719880 MERVIN A COLON COLON                         PO BOX 800343                                                                                                          COTO LAUREL       PR           00780‐0343
                                                      URB VILLA CRISTIANA MEDIANIA
   719881 MERVIN A POMALES PIZARRO                    ALTA                           202 CALLE ESPIRITU SANTO                                                                LOIZA             PR           00772
   719882 MERVIN CASALS GARCIA                        HC‐1 BOX 3045                                                                                                          VILLALBA          PR           00766‐9701
   330720 MERVIN MENDEZ CRUZ                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   719883 MERVIN O LOPEZ NIEVES                       URB RIO PLANTATION             10 CALLE 3 ESTE                                                                         BAYAMON           PR           00961
   330721 MERVIN POMALES ROLON                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   719884 MERVIN RODRIGUEZ MARTINEZ                   URB MANSIONES DE LOS           CEDROS 115 CALLE GUAYACAN                                                               CAYEY             PR           00736‐5430

   719885 MERVIN RODRIGUEZ RODRIGUEZ HC 03 BOX 12114 COLLORES                                                                                                                JUANA DIAZ        PR           00795
   330722 MERVIN VELEZ COSME         REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   330723 MERY A YATES               REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   330724 MERY ADAMES SANCHEZ        REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   330725 MERY ANN OYOLA VELAZQUEZ                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   719886 MERY ANNE ALDEA HERNANDEZ HC 3 BOX 7379                                                                                                                            JUNCOS            PR           00777‐9730
   719887 MERY CERAMIC              810 CALLE MANANTIALES                                                                                                                    MAYAGUEZ          PR           00680
   330726 MERY I. SANTOS RODRIGUEZ  REDACTED                                         REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   719888 MERY IVONNE ACEVEDO COTTO                   FACTOR 1                       42 CALLE A                                                                              ARECIBO           PR           00612
   719889 MERY L MARTINEZ OSORIO                      ALT DE SAN PEDRO               X 30 CALLE SAN IGNACIO                                                                  FAJARDO           PR           00738
          MERY MEI LING VAZQUEZ
   719890 VILLEGAS                                    P O BOX 7428                                                                                                           SAN JUAN          PR           00916
   330727 MERY MENDEZ                                 REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   719891 MERYLIN LEON HERNANDEZ                      HC 44 BOX 13816                                                                                                        CAYEY             PR           00736
   719892 MERYLINDA VEGA MORALES                      JARDINES DE TOA ALTA           239 CALLE 9                                                                             TOA ALTA          PR           00953
   719893 MERYS BEAUTY SUPPLY                         P.O. BOX 1708                                                                                                          JUNCOS            PR           00777
   330728 MERZAIDA RIOS GUZMAN                        REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MESA AGRO INDUSTRIAL
   330731 CORPORATION                                 PO BOX 559                                                                                                             LAJAS             PR           00667‐0559
   719894 MESA INDUSTRIAL                             PO BOX 8269                                                                                                            BAYAMON           PR           00960‐8032
   330740 MESA PEREZ, ROSANA                          REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   330742 MESA PEREZ, ROSANNA                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   330743 MESA PEREZ, ROSSANA                         REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   330748 MESA SANCHEZ, BLASINA                       REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   330749 MESA, ROSSANA                               REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   719895 MESALINA BRITO DE JESUS                     PO BOX 1408                                                                                                            LUQUILLO          PR           00773
   330751 MESCUAL RIVERA, OSCAR A.                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   719896 MESO EXPRESS INC                            PO BOX 3067                                                                                                            MAYAGUEZ          PR           00681‐3067
                                                      BO GUARAGUAO SECTOR LA
   330754 MESON LOS REDIMIDOS INC                     PENA                           CARR 174 RAMAL 879                                                                      BAYAMON           PR           00956
   330762 MESSALINA AQUINO INFANTE                    REDACTED                       REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   330769 MESTEY PERFORMING                           PMP 1 PO BOX2020                                                                                                       BARCELONETA       PR           00617
   719898 MET ONE INC                                 BANK OF AMERICA 7127           COLLECTION CENTER DRIVE                                                                 CHICAGO           IL           60693
   719899 MET ONE INSTRUMENTS                         1206 MAIN ST SUITE 106                                                                                                 ROWLETT           TX           75088
   330797 METAL BUILDING                              P O BOX 9065049                                                                                                        SAN JUAN          PR           00906
   719900 METAL CRAFTERS                              P O BOX 190362                                                                                                         SAN JUAN          PR           00919 0632
                                                                                     URB FOREST HILLS A 8 CALLE
   330798 METAL CUSTOM SHOP                           PMB 339                        MARGINAL                                                                                BAYAMON           PR           00959



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  330799 METAL EQUIPMENT OF PR                        PO BOX 368                                                                                               CATAÐO              PR           00963
  719901 METAL MASTERS                                PO BOX 70359                                                                                             SAN JUAN            PR           00936
  719902 METAL SPECIALISTS INC                        PO BOX 364491                                                                                            SAN JUAN            PR           00936
  719903 METALES GUSTAVO E RAMOS                      PO BOX 6956                                                                                              CAGUAS              PR           00726
  719904 METALES INC                                  PO BOX 3591                                                                                              CAROLINA            PR           00984‐3591

   719905 METALIC ALUMINUM PRODUCTS P O BOX 1200                                                                                                               CAROLINA            PR           0098612000
   719906 METALTECH INC             PO BOX 5150                                                                                                                AGUADILLA           PR           00605
          METAMORFOSIS EMPRESARIAL
   330803 INC                       P O BOX 362025                                                                                                             SAN JUAN            PR           00936
   719907 METCALF EDDY              30 HARVARD MILL SQ                                                                                                         WAKEFIELD           MA           01880‐3208
   330804 METHODIST HOSPITAL        PO BOX 19058                                                                                                               GREEN BAY           WI           54307

   719908 METHODIST MEDICAL CENTER                    PO BOX 911875                                                                                            DALLAS              TX           75391‐1875
   330805 METHODIST MEMPHIS HOSP                      PO BOX 75947                                                                                             CHARLOTTE           NC           28275‐5957

   719909 METHODIST MEMPHIS HOSPITAL P O BOX 75947                                                                                                             CHARLOTTE           NC           28275‐5957

   719910 METHODIST TRANSP PHYSICIANS 1441 NORTH BECKLEY AVE                                                                                                   DALLAS              TX           75203
          METHODIST UNIVERSITY
   330806 HOSPITAL                    1265 UNION AVENUE                                                                                                        MEMPHIS             TN           38104
          METHODS RESEARCH DBA
   719911 ABBOT OFIC SYSTEMS          P O BOX 688                                                                                                              FARMING DALE        NJ           07727
   330807 METLIFE                     DEPT CH 10261                                                                                                            PALATINE            IL           60055‐0261
          METLIFE INS CO OF
   330810 CONNECTICUT                 LIFE ADMINISTRATION                         500 SCHOOLHOUSE ROAD                                                         JOHNSTOWN           PA           15904‐2914

   330819 METLIFE INVESTORS USA INS CO                13045 TESSON FERRY ROAD                                                                                  ST LOUIS            MO           63128
   719912 METPRO INC                                  PO BOX 730                                                                                               MAYAGUEZ            PR           00681
   719913 METRACOM CORP                               PO BOX 11850                                                                                             SAN JUAN            PR           00922
   330820 METRIKA INC                                 URB ROOSELVELT              463 FERNANDO CALDER                                                          SAN JUAN            PR           00918
                                                      CALLE FERNANDO CARDEL 463
   330821 METRIKA INC.                                3ER PISO                                                                                                 SAN JUAN            PR           00918‐0000
   719915 METRO BEEPER INC                            PO BOX 29742                                                                                             SAN JUAN            PR           00929‐0742
   719916 METRO CASH REGISTER                         URB PUERTO NUEVO            616 AVE DE DIEGO STE 616                                                     SAN JUAN            PR           00920
   330823 METRO CATERERS                              105 AVE. DE DIEGO                                                                                        SANTURCE            PR           00911
   330824 METRO CATERERS INC                          PO BOX 6366                                                                                              SAN JUAN            PR           00914
   719917 METRO CENTER ASSOCIATES                     PO BOX 192336                                                                                            SAN JUAN            PR           00919‐2336
   330825 METRO CINEMA CORP                           PO BOX 19116                                                                                             SAN JUAN            PR           00910
   330826 METRO COACH, INC.                           PO BOX 195576                                                                                            SAN JUAN            PR           00917 5576
   719918 METRO COLLEGE                               1126 PONCE DE LEON                                                                                       SAN JUAN            PR           00925 9905
   719920 METRO DATA INC                              P O BOX 19628                                                                                            SAN JUAN            PR           00910
   330828 METRO DIGITAL CORP                          PO BOX 52051                                                                                             TOA BAJA            PR           00950‐2051

   719921 METRO EAST BLOOD SERVICE INC VILLA CAROLINA                             30‐A10 AVE ROBERTO CLEMENTE                                                  CAROLINA            PR           00983
   719922 METRO ELEVATION              PO BOX 3942                                                                                                             GUAYNABO            PR           00970‐3942

   719923 METRO ELEVATORS SERVICE INC                 PO BOX 3942                                                                                              GUAYNABO            PR           00970
          METRO EMERGENCY RESPONSE
   330829 TEAM INC                                    URB FLORAL PARK             582 CALLE ESPANA                                                             SAN JUAN            PR           00917‐4639
   719924 METRO GUARD SERVICE                         STA. JUANITA                AVE. LAUREL AO‐7                                                             BAYAMON             PR           00956
   719914 METRO GULF                                  138AVE WINSTON CHURCHILL    M SC 227                                                                     SAN JUAN            PR           00926‐6023




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   330830 METRO HEALTH CORPORATION                    C/O PN PROMOTIONS, INC.        1044 CALLE 3 VILLA NEVAREZ                                                    SAN JUAN             PR           00927

          METRO HEALTH CORPORATION
   719925 C/O PROMOTIONS                              VILLA NEVAREZ                  1044 CALLE 3                                                                  SAN JUAN             PR           00927

   719926 METRO HEALTH EXTENDED CARE P O BOX 1911625                                                                                                               SAN JUAN             PR           00919
   330831 METRO HEALTH HOSPITAL      ATTN MEDICAL RECORDS                            5900 BYRON CENTER AVE SW                                                      WYOMING              MI           49519
          METRO HEALTH MEDICAL
   330832 CENTER                     PO BOX 409822                                                                                                                 ATLANTA              GA           30384‐9822
   719927 METRO HEALTH RADIATION     PO BOX 191625                                                                                                                 SAN JUAN             PR           00919625
   330833 METRO INVESTMENT CORP      URB COLINAS VERDES                              A 22 CALLE 1                                                                  SAN JUAN             PR           00926
   719929 METRO IT RESOURCES         AMELIA INDUSTRIAL PARK                          9 CLAUDIA STREET SUITE 301                                                    GUAYNABO             PR           00968
          METRO MEDIA BROADCASTING
   330834 INC                        311 PONCE DE LEON AVE                           MARCOM TOUWER ST 600                                                          SAN JUAN             PR           00907
   719930 METRO MUFFLER              REP METROPOLITANO                               832 CALLE 37 SE                                                               SAN JUAN             PR           00921

   330836 METRO OPTIKA EXPRESS                        DRA MADELINE LOPEZ JIMENEZ     B9 CALLE SANTA CRUZ                                                           BAYAMON              PR           00961‐6902
   719931 METRO OUT DOOR                              PMB 337                        PO BOX 4952                                                                   CAGUAS               PR           00726‐4952
   330837 METRO PARK 9 SE                             P O BOX 11885                                                                                                SAN JUAN             PR           00922
   330838 METRO PAVIA AT HOME                         MEDICAL CENTER PLAZA 310       740 AVE HOSTOS                                                                MAYAGUEZ             PR           00682
   330840 METRO PAVIA CLINIC CUPEY                    PO BOX 29025                                                                                                 SAN JUAN             PR           00929

   330841 METRO PAVIA CLINICA DE PONCE CALLE MARINA 9138                                                                                                           PONCE                PR           00730
          METRO PAVIA HELTH SYSTEM
   330842 INC                          101 SAN PATRICIO AVE                          SUITE 960                                                                     GUAYNABO             PR           00968
   719932 METRO PLUMBING INC           PMB 123                                       PO BOX 607071                                                                 BAYAMON              PR           00960‐7071
   330843 METRO PONCE INC.             P.O .BOX 3319010                                                                                                            PONCE                PR           00733‐1910
   719933 METRO POZO                   PO BOX 4909                                                                                                                 CAROLINA             PR           00984
   330844 METRO PUERTO RICO            PO BOX 1187                                                                                                                 GUAYNABO             PR           00970‐1187
   330845 METRO PUERTO RICO LLC        PO BOX 1187                                                                                                                 GUAYNABO             PR           00970‐1187
   719934 METRO RADIADORES             PO BOX 810189                                                                                                               CAROLINA             PR           00981‐0189
          METRO ROLLING DOORS DBA
   719935 LUIS HERNANDEZ               BOX 4516                                                                                                                    AGUADILLA            PR           00605
   330846 METRO SANTURCE INC           PO BOX 11137                                                                                                                SAN JUAN             PR           00910‐2237

   719936 METRO SURGICAL GROUP                        601 TORRE PLAZA LAS AMERICAS                                                                                 SAN JUAN             PR           00918
   719937 METRO TECH CORP                             PO BOX 975                                                                                                   SAN LORENZO          PR           00754
   330848 METRO TOYOTA                                CARR 2 KM 8.4 CAPARRA                                                                                        BAYAMON              PR           00956
   719938 METRO TRANSPORT INC                         PO BOX 360884                                                                                                SAN JUAN             PR           00936‐5235

   719939 METRO TRUCK & HEAVY EQUIP.                  CALLE#1 JARD. TOA ALTA                                                                                       TOA ALTA             PR           00953
          METRO VALLAS OUTDOOR
   719940 ADVERTISING CORP                            LOS FRAILES NORTE              H 6 CALLE 1                                                                   GUAYNABO             PR           00969
   719941 METROFILERS CORP                            P O BOX 14487                                                                                                SAN JUAN             PR           00916

   330850 METROFLAGS INC.                             231 NORTH AVE W SUITE 327                                                                                    WESTFIELD            NY           07090
   330851 METROHEALTH INC                             P O BOX 11981                                                                                                SAN JUAN             PR           00922
   719942 METROLOCK                                   PO BOX 4515                                                                                                  SAN JUAN             PR           00919

   719943 METROMOVIL ACL INC.                         BDA ISRAEL                     155 AVE BARBOSA Acervo Bldg.                                                  SAN JUAN             PR           00917
   330853 METROPAVIA CLINIC ARECIBO                   COTTO STA                      PO BOX 9976                                                                   ARECIBO              PR           00613‐9976
   330854 METROPLEX HOSPITAL                          PO BOX 128                                                                                                   MANSFIELD            TX           76063



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  330855 METROPOLIS APARTMENT LP                      PO BOX 362374                                                                                       SAN JUAN            PR           00936‐2374
         METROPOLIS DEVELOPMENT,
  330856 INC.                                         BOX 1272                                                                                            BAYAMON             PR           00960‐0000
  719944 METROPOLIS FILMS CORP                        276 CALLE CONVENTO       PISO 1                                                                     SAN JUAN            PR           00912

   719945 METROPOLIS INSURANCE CORP                   PO BOX 193119                                                                                       SAN JUAN            PR           00919‐3119

   330857 METROPOLITAN ANIMAL CLINIC MUNOZ RIVERA                              3B ACUARELA                                                                GUAYNABO            PR           00969

   330858 METROPOLITAN AUTO SERVICE                   URB VILLA CAROLINA       11 BLQ 94 CALLE 97                                                         CAROLINA            PR           00985
   719949 METROPOLITAN BUILDERS                       PO BOX 9417                                                                                         SAN JUAN            PR           00908‐0417
          METROPOLITAN COMMUNITY                      METROPOLITAN COMMUNITY
   330861 CLINIC                                      CLINIC                   400 CALLE CALAF PMB 455                                                    SAN JUAN            PR           00918‐1314
          METROPOLITAN DELIVERY
   719950 SERVICE                                     701 CALLE EUROPA                                                                                    SAN JUAN            PR           00909

   719951 METROPOLITAN DEVELOPERS SE 603 CALLE DEL PARQUE                                                                                                 SAN JUAN            PR           00909

   330862 METROPOLITAN DEVELOPERS, SE P.O. BOX 192239                                                                                                     SAN JUAN            PR           00919‐2239
          METROPOLITAN FAMILY
   330863 SERVICES                    ONE NORTH DEARBORN                       SUITE 1000                                                                 CHICAGO             IL           60602
          METROPOLITAN FOOD SERVICE
   330864 INC                         PO BOX 8125                                                                                                         ARECIBO             PR           00613
          METROPOLITAN FOOD SERVICE
   719946 INC                         PO BOX 193907                                                                                                       SAN JUAN            PR           00919‐3907

   330865 METROPOLITAN FOOD SERVICES P.O. BOX 193907                                                                                                      SAN JUAN            PR           00919‐3907

   719952 METROPOLITAN FUNERAL HOME 109 CALLE ACOSTA                                                                                                      CAGUAS              PR           00725
          METROPOLITAN HOME
   330866 IMPROVEMENT INC             CARR. 887 KM 2.7                         BO. SAN ANTÓN                                                              CAROLINA            PR           00988‐6060
          METROPOLITAN HOME
   330867 IMPROVEMENT, INC.           GPO BOX 9060                                                                                                        CAROLINA            PR           00988‐9060
          METROPOLITAN HOME
   330868 IMPROVEMENTS                P O BOX 9060                                                                                                        CAROLINA            PR           00988
          METROPOLITAN HOME
   330869 IMPROVEMENTS INC            PO BOX 9060                                                                                                         CAROLINA            PR           00988‐9060
          METROPOLITAN HOSPITAL
   330870 CENTER                      1901 FIRST AVE                                                                                                      NEW YORK            NY           10029‐7496
          METROPOLITAN HOSPITAL OF
   330871 MIAMI                       MEDICAL RECORDS                          5959 NW 7TH ST                                                             MIAMI               FL           33126‐3198
          METROPOLITAN HOUSING FOT
   330872 THE ELDERLY LLC             PO BOX 195288                                                                                                       SAN JUAN            PR           00919‐5288
          METROPOLITAN INDUSTRIAL     CALLE INGENIERO URB.
   330873 FOOD SERVICES               ROOSEVELT                                                                                                           SAN JUAN            PR           00918‐0000
          METROPOLITAN LIFE INSURANCE
   330874 CO                          500 SCHOOLHOUSE ROAD                                                                                                JOHNSTOWN           PA           15904
          METROPOLITAN LIFE INSURANSE
   330884 COMPANY                     1200 ABERNATHY RD NE                     BUILDING 600 SUITE 1450                                                    ATLANTA             GA           30328
          METROPOLITAN LUMBER &       BNC SANTARDER PR LOCK BOX
   330886 HARDWARE INC                ACT                                      300‐4722913 PO BOX 195579                                                  SAN JUAN            PR           00919‐5579
          METROPOLITAN LUMBER &
   330888 HARDWARE INC.               PO BOX 190839                                                                                                       SAN JUAN            PR           00919



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          METROPOLITAN LUMBER &
   330889 HARDWARE, INC.                              PO BOX 839                                                                                                         SAN JUAN            PR           00919‐0839
          METROPOLITAN LUMBER
   330890 HARDWARE INC                                BOX 839                    HATO REY STATION                                                                        SAN JUAN            PR           00919‐0839

   330891 METROPOLITAN MARBLE CORP                    PO BOX 12                                                                                                          SAN JUAN            PR           00902
   330892 METROPOLITAN MRI                            PMB 346 405                AVE ESMERALDA SUITE 2                                                                   GUAYNABO            PR           00969
                                                      AVE ESMERALDA SUITE 2PMB
   330893 METROPOLITAN MRI ASSOC                      346‐405                                                                                                            GUAYNABO            PR           00969‐4757
          METROPOLITAN MUSIC ARTS                     SUITE 116‐3071 AVE
   719956 CORP                                        ALEJANDRINO                                                                                                        GUAYNABO            PR           00969‐7035
          METROPOLITAN ORTHOPEDIC                                                21 AVE SAN ALFONS #V‐3 URB
   719957 CENTER                                      LAS LOMAS                  ALTAMESA                                                                                SAN JUAN            PR           00921
          METROPOLITAN PROFESSIONAL
   719958 PARK                                        PO BOX 363609                                                                                                      SAN JUAN            PR           00936

   719959 METROPOLITAN RANGERSN INC                   ZONA INDUSTRIAL BECHARA    CALLE ALBERT JOHN ERNDT                                                                 SAN JUAN            PR           00920
          METROPOLITAN SCHOOL OF                      CALLE VENUS 58 URB
   330896 ADULT PROGRAM                               WONDERVILLE                                                                                                        TRUJILLO ALTO       PR           00976
          METROPOLITAN SOILS &
   719960 ENG.LAB.                                    PO BOX 2291                                                                                                        SAN JUAN            PR           00936

   719961 METROPOLITAN SOLIS TESTING                  PO BOX 362291                                                                                                      SAN JUAN            PR           00936‐2291

   719962 METROPOLITAN TOW SERV INC                   AVE FERNANDEZ JUNCOS       1864 ALTOS PARADA 26                                                                    SAN JUAN            PR           00909

   330899 METROPOLY SECURITY SERVICES PMB 174                                    BOX 29030                                                                               CAGUAS              PR           00725
          METS AND CACHOROS BASEBALL
   330900 CLUB INC                    RES VILLA REAL                             EDIF 10 APT 39                                                                          PATILLAS            PR           00723
                                      URB. LA CUMBRE AVE. E. POL
   330901 METS CONTRACTORS , INC.     497 PMB 559                                                                                                                        SAN JUAN            PR           00926‐5636
   330902 METS CONTRACTORS INC        PMB 559                                    267 CALLE SIERRA MORENA                                                                 SAN JUAN            PR           00926‐5583
   330904 METTLER TOLEDO INC          22670 NETWORK PLACE                                                                                                                CHICAGO             IL           60673‐1226
          METWEST INC /DBA QUEST
   719963 DIAGN                       2032 COLLECTION CTER DR                                                                                                            CHICAGO             IL           60693
          METZALITZA MELENDEZ
   330906 CARRASQUILLO                REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          METZGERMEISTER & RESEARCH
   719964 CORP                        PO BOX 1338                                                                                                                        CIALES              PR           00638
   719965 MEVA CORP                   URB EL CEREZAL                             1571 PONCE DE LEON AVE                                                                  SAN JUAN            PR           000926
   330908 MEVAL LLC H/N/C SUBWAY      P O BOX 16665                                                                                                                      SAN JUAN            PR           00908‐6665
   719966 MEVERLYN SOTO FELICIANO     HC 764 BOX 6568                                                                                                                    PATILLAS            PR           00723
   719967 MEXITLAN                    247 MENDEZ VIGO                                                                                                                    DORADO              PR           00646
   330910 MEXTONE CORPORATION         7770 NW 32 ND ST                                                                                                                   DORAL               FL           33122
   330911 MEY LING VEGA VELEZ         REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719968 MEYER CORPORATION           PO BOX 363543                                                                                                                      SAN JUAN            PR           00936 3543
   719969 MEYERS BROS OF P.R.         PO BOX 191310                                                                                                                      SAN JUAN            PR           00919

   330920 MEYLEEN DEL PILAR SANTIAGO                  REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   719970 MEYLIN FUENTES LANZO                        URB LOIZA VALLEY           V 727 CALLE CAROLA                                                                      CANOVANAS           PR           00729
   330922 MEY‐LING VEGA VELEZ                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   330926 MFD COMMUNICATIONS                          PO BOX 191177                                                                                                      SAN JUAN            PR           00919‐1177
   330927 MFE COCINA GASTRONOMICA                     HC‐11 BOX 14007                                                                                                    HUMACAO             PR           00791‐9492



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  330930 MFI CORP                                     CAPARRA HEIGHTS STATION       PO BOX 11004                                                                    SAN JUAN             PR           00920

   330931 Mfleet Service / Velez Maiz Corp. PO box 472 Hormigueros                                                                                                  Hormigueros          PR           00660
   330932 MFORCE INC                        CHALETS DE BAIROA                       24 RUISENOR AZUL                                                                CAGUAS               PR           00727‐1206
   719971 MFP AND W ADVERTISING INC         P O BOX 2125                                                                                                            SAN JUAN             PR           00922 2125
   719973 MFR TRANSPORT INC                 PO BOX 935                                                                                                              BAYAMON              PR           00960‐0935
          MFS CONSULTING ENGINEERS
   330933 LLC                               STA MARIA                               GIGI A 4                                                                        SAN JUAN             PR           00927
  1256677 MG & ASSOCIATES, LLC              REDACTED                                REDACTED             REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   719974 MG ELEVATOR SYSTEMS INC           PO BOX 9207 PLAZA STATION                                                                                               CAROLINA             PR           00988‐9207

   330934 MG STRATEGIES CORPORATION                   P O BOX 9065072                                                                                               SAN JUAN             PR           00906‐5072
          MG& ASSOCIAATES LLC DDA
   330935 NICOLE LEE                                  CHALETS DEL PARQUE            BOX 106                                                                         GUAYNABO             PR           00969
          MGA AGROCENTRO LOS
   330936 COLOBOS                                     BO CANOVANILLAS               CARR 871 K0.1                                                                   CAROLINA             PR           00985
          MGA PLAYGROUND INC /
   330937 PALYLAND                                    LOMAS VERDES                  X 51 AVE NOGAL                                                                  BAYAMON              PR           00953

   719976 MGL CONSULTING CORP                         4200 RESEARCH FOREST DRIVE    SUITE 500                                                                       THE WOODLANDS        TX           73814257
          MGM CONSTRUCTION
   719977 ENGINEERS INC                               P O BOX 19746                                                                                                 SAN JUAN             PR           00910‐9746

   719978 MGM GRAND HOTEL                             3799 LAS VEGAS BLVD SOUTH                                                                                     LAS VEGAS            NV           89109
          MGM OPTICAL LABORATORIES
   719979 INC                                         PO BOX 1658                                                                                                   GUAYNABO             PR           00970
          MGMT & LEADERSHIP ED
   719980 CENTER                                      PO BOX 5718                                                                                                   PONCE                PR           00733
                                                      1100 AVE PONCE DE LEON STE
   330948 MGROUP MANAGEMENT CORP                      203                                                                                                           SAN JUAN             PR           00925
   719981 MGS TECHNOLOGY INC                          1424 AMERICO SALAS                                                                                            SAN JUAN             PR           00909
   330949 MH & R CONSULTING                           PO BOX 617                                                                                                    BAYAMON              PR           00960
   330950 MHSJ LLC                                    PO BOX 190095                                                                                                 SAN JUAN             PR           00919‐0095

   719982 MI ANGELITO                                 PMB 263 2135 CARR2 SUITE 15                                                                                   BAYAMON              PR           00959‐5259

   330951 MI CASITA DORADA HOME,INC,                  PARCELAS FALU 276 CALLE 43                                                                                    SAN JUAN             PR           00924
   719983 MI CASITA NURSERY                           REPARTO METROPOLITANO         1022 CALLE 28 SE                                                                SAN JUAN             PR           00921
   330952 MI CHIQUI SALUD                             79 BLVD MEDIA LUNA            APT 4901                                                                        CAROLINA             PR           00987

   330953 MI COMIDA PUERTORRIQUENA VILLA FORESTAL BOX 308                                                                                                           MANATI               PR           00617
   330954 MI ESCUELITA MATERNAL         URB SAN VICENTE                             45 CALLE 10                                                                     VEGA BAJA            PR           00693
   330956 MI HOGAR EN EL CAMPO INC      URB GRAN VISTA II                           103 PLAZA NUEVE                                                                 GURABO               PR           00778
          MI HOGAR INFANTIL DE PATILLAS
   719984 INC                           URB LAS MERCEDES                            6 CALLE 5                                                                       ARROYO               PR           00714
          MI JARDIN INFANTIL PRESCHOOL
   719985 LEARNING CT                   24 ESTE CALLE SAN JOSE                                                                                                      GUAYAMA              PR           00784
   719986 MI JIBARITA CATERING          PO BOX 1161                                                                                                                 SANT JUST            PR           00978
   719987 MI KASITA DE PAZ CORP         PO BOX 367038                                                                                                               SAN JUAN             PR           00936‐7038
   330957 MI LIBRERIA PREFERIDA INC.    CARR 2 KM 39.2                              BO ALGARROBO                                                                    VEGA BAJA            PR           00693
   330959 MI NUEVO HOGAR CORP           BOX 4952 SUITE 004                                                                                                          CAGUAS. P. R.        PR           00726
   330960 MI OPINION LLC                P.O. BOX 19296                                                                                                              SAN JUAN             PR           00910‐1296
   719988 MI OPTICA VISION CARE         8 CALLE PROGRESO                                                                                                            AGUADILLA            PR           00603



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  719989 MI PAN ASOCIADOS INC                         PO BOX 174                                                                                                         SABANA SECA          PR           00952
  330961 MI PEQUENO AMANECER INC                      RR 6 BOX 9595                                                                                                      SAN JUAN             PR           00926
  330962 MI PEQUENO ANGELITO INC                      352 AVE SAN CLAUDIO          PMB 131                                                                               SAN JUAN             PR           00926
  330963 MI PEQUENO CASTILLO INC                      PO BOX 655                                                                                                         JUNCOS               PR           00777

   330964 MI PEQUENO CASTILLO INFANTIL PO BOX 1427                                                                                                                       JUNCOS               PR           00777
   330965 MI PEQUENO EDEN, INC.        P. O. BOX 2256                                                                                                                    VEGA BAJA            PR           00694
   330967 MI PEQUENO KINDER            URB EXT CAGUAX                              I 10 CALLE DUHO                                                                       CAGUAS               PR           00725

   330968 MI PEQUENO MUNDO INFANTIL BOX 1780                                                                                                                             HATILLO              PR           00659

   330969 MI PEQUENO PARAISO INFANTIL                 BDA NUEVA                    1 CALLE ELEUTERIO RAMOS                                                               CAYEY                PR           00736
   719990 MI PRIMERA CASITA INC                       223 URB VALLE SAN LUIS                                                                                             CAGUAS               PR           00725
   719991 MI PRIMERA INFANCIA INC                     RIO CRISTAL                  204 LUIS D CASTELLON                                                                  MAYAGUEZ             PR           00680
   719992 MI RAYITO DE SOL                            205 URB LAS PALMAS                                                                                                 SABANA GRANDE        PR           00637
   330971 MI REINO INFANTIL                           VILLA ANDALUCIA              L 4 FRONTERA                                                                          SAN JUAN             PR           00926
   719993 MI SALA                                     614 AVE DE DIEGO                                                                                                   SAN JUAN             PR           00920
   719994 MI SANTO ELECTRIC SHOP                      SECTOR ANIMAS FACTOR I       1 CALLE L                                                                             ARECIBO              PR           00612
                                                      URB COLINAS DEL MARQUEZ C
   330972 Mi Segunda Casita, Inc                      12 CALLE MONSERRATE                                                                                                VEGA BAJA            PR           00693
   719995 MI SEGUNDO HOGAR INC                        URB ROOSEVELT                404 AVE HOSTOS                                                                        SAN JUAN             PR           00918
   719996 MI SEXUALIDAD INC                           HC 5 BOX 7157                                                                                                      GUAYNABO             PR           00971
                                                                                   186 BLAY REPARTO CAPARRA
   719997 MI TALLER                                   URB BECHARA                  HEIGHT STA                                                                            SAN JUAN             PR           00922
   719998 MI VIEJO Y YO                               HC 02 BOX 6861                                                                                                     LARES                PR           00669
   719999 MI WATUZZI                                  PO BOX 3055                                                                                                        LAJAS                PR           00667
   330973 MIA A IRIZARRY NAZARIO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   330975 MIA ALBULANCE INC                           PO BOX 1449                                                                                                        VEGA BAJA            PR           00694
   330977 MIA BELLA BASKETS                           URB LEVITTOWN                1296 PASEO DIAMELA                                                                    TOA BAJA             PR           00949
   330978 MIA BISTRO                                  SECTOR LOPERENA              5 CALLE RUISENOR                                                                      MOCA                 PR           00676
          MIA HERNANDEZ / JOAQUIN
   330979 HERNANDEZ                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   330980 MIA LIND CORREA                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   720001 MIA NOEMI SUED JIMENEZ                      MANS DE RIO PIEDRAS          495 CALLE LIRIO                                                                       SAN JUAN             PR           00926
   330981 MIA TORRES RIVERA                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   330982 MIAH K RIVERA RODRIGUEZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   330983 MIAMI AUTO RADIATOR                         AVE PONCE DE LEON 565                                                                                              HATO REY             PR           00917
   720003 MIAMI BAR & RESTAURANT                      P O BOX 194                                                                                                        CEIBA                PR           00735
          MIAMI CARDIAC ARRHYTHMIA
   720004 PA                                          P O BOX 551078                                                                                                     TAMPA                FL           33655
   330984 MIAMI CHILDREN S HOSPITAL                   226 AIRPORT PKWY SUITE 200                                                                                         SAN JOSE             CA           95110
   330985 MIAMI CHILDRENS HOSPITAL                    MEDICAL RECORDS              3100 SW 62ND AVE                                                                      MIAMI                FL           33155‐3009

   720006 MIAMI CHILDRENS PATHOLOGIST PO BOX 552011                                                                                                                      TAMPA                FL           33655‐2011
   720008 MIAMI CLAY COMPANY INC      270 N E 183 STREET                                                                                                                 MIAMI                FL           33179
   720009 MIAMI CONNECTION MOTOR      BO ARENALES                                  2721 CALLE ATENAS                                                                     VEGA BAJA            PR           00693
                                      11011 SW 104TH STREET RM
   330986 MIAMI DADE COLLEGE          9254                                                                                                                               MIAMI                FL           33176‐3330

   720010 MIAMI HELICOPTER SERVICE    3901 NW 145 STREET SUITE 171                                                                                                       OPALOCKA AIRPORT     FL           33054
          MIAMI INTERNATIONAL UNIV OF
   330987 ART& DESINGN                1501 BISCAYNE RVD SUITE 100                                                                                                        MIAMI                FL           33137
   720011 MIAMI MICRO DATA INC        4806 S W 74 TH COURT                                                                                                               MIAMI                FL           33155



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   720012 MIAMI NEUROSCIENCE CENTER                   5000 UNIVERSITY DRIVE                                                                                               CORAL GABLES        FL           33146‐2094
   330988 MIAMI RADIATOR                              AVE. PONCE DE LEON 565                                                                                              HATO REY            PR           00917
   720002 MIAMI RADIATOR                              565 AVE PONCE DE LEON                                                                                               SAN JUAN            PR           00919
   720013 MIANA Y RIVERA MOJICA                       PO BOX 1284                                                                                                         JUNCOS              PR           00777
   720014 MIAO N FENG DE SANG                         URB VALLE REAL              1832 CALLE INFANTA                                                                      PONCE               PR           00716‐0506
   720016 MIC CORPORATION                             FERNANDEZ JUNCOS STATION    PO BOX 19600                                                                            SAN JUAN            PR           00910
   720017 MIC DAIRY INC                               HC 4 BOX 49804                                                                                                      HATILLO             PR           00659

   720018 MICAELA HERMINA GARCIA                      HC 2 BOX 8440               BARRIO COCOS SECT LOS LUGO                                                              QUEBRADILLAS        PR           00678‐9802
                                                                                  PMB 127 9415 AVE LOS
   720019 MICAL CRESPO ALVAREZ                        BIG JOHN                    ROMEROS                                                                                 SAN JUAN            PR           00926‐7001

   720020 MICALY'S GIFT SHOP‐CERAMIC                  P O BOX 1189                                                                                                        GUANICA             PR           00653

   330990 MICAMES CACERES MD, CARLOS                  REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   330991 MICEL VALE ROMAN                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   330992 MICELY PENA FERNANDEZ                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720022 MICHAD TEJADA DIAZ                          HC 732 BOX 5886                                                                                                     NARANJITO           PR           00719
                                                      COND CORAL BEACH APT 1112
   720028 MICHAEL & MONIQUE LUNDY                     TORRE 2                     5859 AVE ISLA VERDE                                                                     CAROLINA            PR           00979
   720030 MICHAEL A ALICEA ELIAS                      PO BOX 8884                                                                                                         HUMACAO             PR           00792
   720023 MICHAEL A ARIZMENDI                         URB MONTE CLARO             PLAZA 14 ME 54                                                                          BAYAMON             PR           00961

   330993 MICHAEL A BATISTA MARTINEZ                  REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   330994 MICHAEL A BERRIOS RIVERA                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720031 MICHAEL A CARTAS RAMIREZ                    UPR STATION                 PO BOX 21694                                                                            SAN JUAN            PR           00931
   720032 MICHAEL A COLON FELICIANO                   HC 3 BOX 7740                                                                                                       BARRANQUITAS        PR           00794

   330995 MICHAEL A COLON RODRIGUEZ                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720029 MICHAEL A COTTO SANTIAGO                    URB VALLE VERDE             AT 11 CALLE RIO OROCOVIS                                                                BAYAMON             PR           00961
   330996 MICHAEL A DOBLE REYES                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   330997 MICHAEL A ESQUILIN PEREZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   330998 MICHAEL A GARCIA FONTANEZ                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   330999 MICHAEL A JUSTINIANO                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331000 MICHAEL A MARCIAL CRUZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720033 MICHAEL A MARRERO                           P O BOX 16815                                                                                                       SAN JUAN            PR           00908‐6815
   331001 MICHAEL A MARTINEZ AYALA                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331002 MICHAEL A PADILLA FOUNTAN                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720034 MICHAEL A PIZARRO ESPADA                    P O BOX 2351                                                                                                        COAMO               PR           00769
   331004 MICHAEL A RIVERA                            REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331005 MICHAEL A RIVERA LOPEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331006 MICHAEL A RODRIGUEZ CUEVAS REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331007 MICHAEL A ROQUE ORTIZ      REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331008 MICHAEL A SANTOS GONZALEZ                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331009 MICHAEL A SEBASTIAN PEREZ                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MICHAEL A SERRATTA
   331010 RADEMAKER                                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   331012 MICHAEL A VAZQUEZ AGOSTO                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331013 MICHAEL A. BOSCH GUERRA                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720036 MICHAEL A. CASILLA                          PO BOX 228                                                                                                       SAN JUAN            PR           00902
   331014 Michael A. Ferrer Rivera                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331016 MICHAEL ABDIEL GARCIA RIVERA REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MICHAEL ACEVEDO DBA                                                      LOS MILLONES K10 VILLA
   331017 ENCUADERNACIONES             CESAR RODRIGUEZ                             CONTESSA                                                                            BAYAMON             PR           00956
   720039 MICHAEL ACOSTA MORALES       URB COLINAS DEL OESTE                       F 27 CALLE 8                                                                        HORMIGUEROS         PR           00660
   720040 MICHAEL AGOSTO ALBERIO       RES JUAN C CORDERO DAVILA                   EDIF 20 APT 248                                                                     SAN JUAN            PR           00917
   331018 MICHAEL ALBERT QUINONEZ      REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720041 MICHAEL ALEJANDRO INFANZON 1300 APT 12                                   CALLE LUCHETTI                                                                      SAN JUAN            PR           00912
   720042 MICHAEL ALLENDE COLON      COUNTRY CLUB                                  808 CALLE MOLUCA                                                                    SAN JUAN            PR           00924
   331019 MICHAEL ALMENAS RIVERA     REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331020 MICHAEL ALMODOVAR GALARZA REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331021 MICHAEL ALVAREZ           REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331023 MICHAEL ALVAREZ VELEZ     REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331024 MICHAEL ANTHONY CASIANO   REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MICHAEL ANTHONY RUIZ
   331025 SANTIAGO                  REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720043 MICHAEL APONTE SINGALA    BOX 1464                                                                                                                           AGUAS BUENAS        PR           00703
   720044 MICHAEL ARANDA            P O BOX 539                                                                                                                        ARROYO              PR           00714

   720045 MICHAEL ARROYO GOMEZ                        COOP JARD DE SAN FRANCISCO   EDIF 1 APT 405                                                                      SAN JUAN            PR           00927
   720046 MICHAEL ARROYO VALLEJO                      P O BOX 9020154                                                                                                  SAN JUAN            PR           00902
   331028 MICHAEL AYALA CARRION                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      BRIGADE HOUSE MEDICAL
   720048 MICHAEL B BROWN                             CENTRE                       THE GARRISON                                                                        CHRIST CHURCH                                  BARBADOS
   331029 MICHAEL BAEZ REYES                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720050 MICHAEL BARRS                               170 AVE ARTERIAL HOSTOS      J 12                                                                                SAN JUAN            PR           00918
   331030 MICHAEL BIRD                                REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331031 MICHAEL BONET VELAZQUEZ                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331032 MICHAEL BORDADO RODRIGUEZ REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331033 MICHAEL BORRERO RODRIGUEZ REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331034 MICHAEL BORRERO RODRÍGUEZ REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331035 MICHAEL BRENES GARCIA     REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331036 MICHAEL BRUNELLE          REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720051 MICHAEL BRUNELLE /DBA MGB                   PO BOX 3574                                                                                                      GUAYNABO            PR           00970
   720052 MICHAEL BRUSTEIN                            3105 SOUTH ST NW                                                                                                 WASHINGTON          DC           20007
   331038 MICHAEL C BIRRIEL ORLANDO                   REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720053 MICHAEL C KELLY                             318 RHODES HALL                                                                                                  ITHACA              NY           14853
   720054 MICHAEL C MC CALL TRUAX                     VILLA UNIVERSITARIA          BJ 11 CALLE 33                                                                      HUMACAO             PR           00791‐4364
   720055 MICHAEL C ZERBE                             2017 WALLACE ST                                                                                                  PHILADELPHIA        PA           19130
   720056 MICHAEL CABAN SOTO                          HC 04 BOX 14359                                                                                                  MOCA                PR           00676

   720057 MICHAEL CABRERA MARTINEZ                    REPARTO METROPOLITANO        874 CALLE 13 SE                                                                     SAN JUAN            PR           00921



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                                                                                                      Scheduled Claimants Service List
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MML ID                    NAME                                   ADDRESS 1               ADDRESS 2              ADDRESS 3                           ADDRESS 4               CITY          STATE   POSTAL CODE        COUNTRY

   331039 MICHAEL CABRERA MERCADO                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331040 MICHAEL CABRERA TORRES                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331041 MICHAEL CALDERON LOPEZ                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

          MICHAEL CAMACHO/RICARDO J
   331042 CAMACHO                                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   720058 MICHAEL CANTELLOPS PAITE                    URB EL ROSARIO 1 G 4    CALLE C                                                                           VEGA BAJA            PR           00693
   331043 MICHAEL CARDONA COLLAZO                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331044 MICHAEL CARIDE SANTOS                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MICHAEL CARRASQUILLO
   331045 GONZALEZ                                    REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331046 MICHAEL CARUSO SANTANA                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331047 MICHAEL CEDANO CALDERON                     REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   720059 MICHAEL CEGLIA BERMUDEZ                     JARD DE COUNTRY CLUB    L 6 CALLE 19                                                                      CAROLINA             PR           00983

   720060 MICHAEL CHEBAILE CONCEPCION URB EL VERDE                            A 6 CALLE 2                                                                       VEGA BAJA            PR           00693
   720061 MICHAEL CHIETERO            PO BOX 12023                                                                                                              NEWARK               NJ           07101‐6276

   720062 MICHAEL COLLAZO MARTINEZ                    HC 91 BOX 9248                                                                                            VEGA ALTA            PR           00692
   331049 MICHAEL COLON NEGRON                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331050 MICHAEL COLON PAGAN                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   720063 MICHAEL COLON VAZQUEZ                       URB VALENCIA            316 CALLE ALMENA                                                                  SAN JUAN             PR           00917
   331051 MICHAEL CORDOVA GRIMES                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331052 MICHAEL CORONA MUNOZ                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331053 MICHAEL CORREA RUIZ                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331054 MICHAEL COSRSO FALCON                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MICHAEL COTTO ROMAN Y
   720064 NOEMI SAMOT                                 1079 CALLE DEL CARMEN                                                                                     SAN JUAN             PR           00907
   720065 MICHAEL COX TOLER                           10235 SHADOW WAY                                                                                          DALLAS               TX           75243
   720066 MICHAEL CRECIAN                             VALLE ARRIBA HTS        CB 7 CALLE 130                                                                    CAROLINA             PR           00987
   331055 MICHAEL CRESPO CAPELLA                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331056 MICHAEL CRUZ ALVAREZ                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   720067 MICHAEL CRUZ RIOS                           SIERRA BAYAMON          60 23 AVE NORTH MAIN                                                              BAYAMON              PR           00961
   331057 MICHAEL CRUZ YOURNET                        REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331058 MICHAEL D CASTRO                            REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   331059 MICHAEL D CORDERO MARTINEZ REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331060 MICHAEL D PINEIRO PINEIRO  REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   720069 MICHAEL D YARNOZ           3450 E FLETCHER 260                                                                                                        TAMPA                FL           33613
   331062 MICHAEL DE FILIPO ESPINOSA REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   331063 MICHAEL DE FILLIPO ESPINOSA                 REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331064 MICHAEL DE J SOTO SOTO                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331065 MICHAEL DE JESUS PEREZ                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   720071 MICHAEL DIAZ DE JESUS                       P O BOX 683                                                                                               PATILLAS             PR           00723
   331066 MICHAEL DIAZ FERNANDEZ                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331069 MICHAEL DIAZ GUZMAN                         REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   720074 MICHAEL DIAZ PIZARRO                        BO OBRERO               663 CALLE 15                                                                      SAN JUAN             PR           00915
   331072 MICHAEL E CRUZ VAZQUEZ                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331073 MICHAEL E DANUZ REYES                       REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331074 MICHAEL E LOPEZ GARCIA                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331076 MICHAEL E RAMOS RIVERA                      REDACTED                REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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MML ID               NAME                                       ADDRESS 1                    ADDRESS 2                 ADDRESS 3                           ADDRESS 4            CITY        STATE    POSTAL CODE       COUNTRY
  331077 MICHAEL E ROMAN ORTIZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  720076 MICHAEL E SAEZ GONZALEZ                      HC 01 BOX 2990                                                                                                   SABANA HOYOS      PR         00688
  331079 MICHAEL E VELEZ FUENTES                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  331080 MICHAEL E VICENTE RIVERA                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  331081 MICHAEL ELIUD OTERO DIAZ                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  720077 MICHAEL F DAVIS                              28 VAN BUREN ST                                                                                                  BEACON            NY         12508
  331082 MICHAEL F INESTA ALLISON                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  331083 MICHAEL FALCON RAMIREZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   331085 MICHAEL FELICIANO MARTINEZ                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   720079 MICHAEL FIGUEROA HERNANDEZ PO BOX 1590                                                                                                                       HATILLO           PR         00659
   331087 MICHAEL FLORES RUIZ        REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   720080 MICHAEL FORTE MALAVE       EDIF LA PALMA                                14 CALE PERAL SUITE 4A                                                               MAYAGUEZ          PR         00680
          MICHAEL FRANCIS PLICHTA
   720081 MISKOWIEC                  1607 W GRACE STREET                                                                                                               RICHAMOND VA      VA         23220
   331088 MICHAEL FRES               REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   720082 MICHAEL FUCILE NELSON      P O BOX 739                                                                                                                       COROZAL           PR         00783

   331089 MICHAEL FULLAN ENTERPRISES                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   331090 MICHAEL G BERRIOS RIVERA                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   720083 MICHAEL G COLON CARMONA                     BOX 1328                                                                                                         TOA ALTA          PR         00954
   720084 MICHAEL G EPPS                              HC 03 BOX 34891                                                                                                  MAYAGUEZ          PR         00680
   720085 MICHAEL G OLACIREGUI                        URB BAIROA                  BR 13 CALLE 25                                                                       CAGUAS            PR         00725

   331091 MICHAEL G RAMIREZ RAMIREZ                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MICHAEL G ROLDAN / MICHAEL
   331092 ROLDAN CASTRO                               REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   331093 MICHAEL G SANTIAGO PADILLA                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   720088 MICHAEL G SHIELDS                           2001 MARKET ST SUITE 4000                                                                                        PHILADELPHIA      PA         19103

   331094 MICHAEL G STERLING STAMPER                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MICHAEL GABRIEL MATOS
   331095 MORENO                                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   720091 MICHAEL GALLAGUER                           196A WING RD                                                                                                     AGUADILLA         PR         00603
   720092 MICHAEL GARCIA                              COND WHITE TOWERS           1049 CALLE 3 SE APT 201                                                              SAN JUAN          PR         00921
   331096 MICHAEL GARCIA SOTO                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   331097 MICHAEL GIULIANO MULLIGAN                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   331098 MICHAEL GONZALEZ                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   331099 MICHAEL GONZALEZ CRUZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   331100 MICHAEL GONZALEZ GARCIA                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   720094 MICHAEL GONZALEZ MORALES                    PO BOX 902122                                                                                                    SAN JUAN          PR         00902‐1222

   331101 MICHAEL GONZALEZ ORLANDO                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   331102 MICHAEL GONZALEZ PEREZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   720095 MICHAEL GORDON M D                          P O BOX 7025                                                                                                     AMAGANSETT        NY         11930 7025
   720096 MICHAEL GRASSO MD                           170 WEST 12TH STREET                                                                                             NEW YORK          NY         10011
   331103 MICHAEL H TORRES GINES                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   720097 MICHAEL HERNANDEZ                           450 LILLIAN DRIVE BAUSTOW                                                                                        BOUSTOW           CA         93311



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MML ID                    NAME                                   ADDRESS 1              ADDRESS 2               ADDRESS 3                           ADDRESS 4              CITY          STATE   POSTAL CODE        COUNTRY

   720098 MICHAEL HERNANDEZ DELEON                    32 BDA CAMBALACHE                                                                                         COAMO               PR           00769
   331104 MICHAEL HERNANDEZ VEGA                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MICHAEL HERNANDEZ
   331105 VILLAFANE                                   REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331106 MICHAEL HEVIA TORRES                        REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331107 MICHAEL I ACOSTA GUITIERREZ                 REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331108 MICHAEL I RIVERA RUBERT                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331111 MICHAEL IGLESIAS GONZALEZ                   REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MICHAEL IGLESIAS
   720099 GONZALEZ/JUANA SANTIAGO                     GRAN VISTA 2           33 PLAZA 4                                                                         GURABO              PR           00778

   331112 MICHAEL INESTA ALLISON, MD                  REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331113 MICHAEL IRIZARRY MONSEGUR                   REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331114 MICHAEL IRIZARRY PEREZ                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720100 MICHAEL J BELTRAN MEEKER                    HC 2 BOX 5627                                                                                             RINCON              PR           00677

   331115 MICHAEL J CIAMPO UERCKVITZ                  REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331116 MICHAEL J DE JESUS RODRIGUEZ REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331117 MICHAEL J DIAZ DEVIEUX       REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720102 MICHAEL J DIAZ JIMENEZ       1RA SECCION LEVITTOWN                 C 10‐67 PASEO DAMASCO                                                              LEVITTOWN           PR           00949
   720103 MICHAEL J DUFFY              4265 SUPINLICK                        RIDGE RD                                                                           MT JACKSON          VA           22842
   331118 MICHAEL J FORTIS MONROIG     REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331119 MICHAEL J GARCIA ARIAS       REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331120 MICHAEL J GOMEZ LOPEZ        REDACTED                              REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331121 MICHAEL J GONZALEZ GUZMAN                   REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331122 MICHAEL J GONZALEZ NIEVES                   REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331123 MICHAEL J GONZALEZ OLIVERAS REDACTED                               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331124 MICHAEL J LENNON MC ROSSON REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MICHAEL J MARTINEZ
   331125 RODRIGUEZ                  REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331126 MICHAEL J MITCHELL SOLIS   REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331127 MICHAEL J NEGRON RODRIGUEZ                  REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331128 MICHAEL J NIEVES FRAGOSO                    REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331129 MICHAEL J RIVERA BONILLA                    REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331130 MICHAEL J SURITA COLLADO                    REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331131 MICHAEL J TORRES VIVAS                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331132 MICHAEL J VAZQUEZ VAZQUEZ                   REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720104 MICHAEL J VEGA GALANTE                      33 CALLE UNION                                                                                            SALINAS             PR           00751
   331133 MICHAEL J VIRUET MARTIN                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331134 MICHAEL J. BORRERO MARRERO REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331135 MICHAEL JOEL MORALES       REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331136 MICHAEL JOEL REYES COLON   REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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MML ID                    NAME                                   ADDRESS 1                  ADDRESS 2                ADDRESS 3                           ADDRESS 4              CITY          STATE   POSTAL CODE        COUNTRY

   331137 MICHAEL JOEL TORRES ROSARIO                 REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331138 MICHAEL JORGE RIVERA                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331139 MICHAEL K ORTIZ MARTINEZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720105 MICHAEL K SHAFIR                            1021 PARK AVENUE                                                                                               NEW YORK            NY           10028
   720106 MICHAEL KADES                               5206 41ST STREET N W                                                                                           WASHINGTON          DC           20015
   720107 MICHAEL KHAIRY MONTES                       RES PARQUE SULTANA         EDIF F5 APT 58                                                                      MAYAGUEZ            PR           00680
   331140 MICHAEL KUILAN GARCIA                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331141 MICHAEL L BERRIOS CONDE                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720108 MICHAEL L CIRIGLIANO                        PO BOX 34629                                                                                                   FORT BUCHANAN       PR           00934‐4629

   331142 MICHAEL L GONZALEZ RAMOS                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331143 MICHAEL L MIEBERS SANDERS                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331144 MICHAEL L QUINONES SANTANA REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331145 MICHAEL L RODRIGUEZ COTTO                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331146 MICHAEL L RUIZ SEDA                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MICHAEL LAGOMARSINI
   331147 MARTINEZ                                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720109 MICHAEL LINARES VAZQUEZ                     PO BOX 9021112                                                                                                 SAN JUAN            PR           00902‐1112
   720111 MICHAEL LITH                                1421 CALLE LAS PALMAS                                                                                          SAN JUAN            PR           00907
   331148 MICHAEL LITH OF P.R. INC.                   1421 CALLE LAS PALMAS                                                                                          SANTURCE            PR           00909
   331152 MICHAEL LITH OF PR INC                      FERNANDEZ JUNCOS STATION                                                                                       SANTURCE            PR           00910
   720112 MICHAEL LOPEZ RIVERA                        P O BOX 9100                                                                                                   SAN JUAN            PR           00908‐0163
   331153 MICHAEL LOPEZ RODRIGUEZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720024 MICHAEL LOPEZ VAZQUEZ                       18 CALLE PASARELL                                                                                              YAUCO               PR           00698
   720025 MICHAEL LUGO MIRANDA                        PO BOX 1039                                                                                                    MOCA                PR           00676
   720113 MICHAEL M BENZEN                            1416 KINGSWOOD                                                                                                 FULTON              MO           65251

   331154 MICHAEL M STRAUSS WILLIAMS REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331155 MICHAEL M. STRAUSS WILLIAMS REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MICHAEL MALDONADO
   720114 HERNANDEZ                   RR 2 BOX 5685                                                                                                                  CIDRA               PR           00739
   720115 MICHAEL MARCIAL SOLERO      SANTA ISIDRA                               F 40 CALLE MARGINAL                                                                 FAJARDO             PR           00738
   720116 MICHAEL MARCIAL TORRES      P O BOX 1418                                                                                                                   ARROYO              PR           00714
   720117 MICHAEL MARRERO RIVERA      COND RXVILLE PARK                          APT 131                                                                             BAYAMON             PR           00957
   331157 MICHAEL MARTIN GARCIA       REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331158 MICHAEL MARTINEZ COLON      REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720118 MICHAEL MASSI CARLUCCI      P O BOX 6677                                                                                                                   CAGUAS              PR           00726
   331159 MICHAEL MATEO ROSARIO       REDACTED                                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MICHAEL MAYORAL
   720119 MALDONADO                   AVE LOMAS VERDES                           UU 1 CALLE 39                                                                       BAYAMON             PR           00956
                                      125 CHALETS LAS CUMBRES APT
   720120 MICHAEL MCDOUGALL GOTAY     23                                                                                                                             BAYAMON             PR           00956
   720121 MICHAEL MCFALINE ROSADO     SANTA JUANITA                              WF 14 CALLE EMPERATRIZ                                                              BAYAMON             PR           00956

   331160 MICHAEL MD , CHRISTOPHER S                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720122 MICHAEL MEDINA LATORRE                      P O BOX 4515                                                                                                   MAYAGUEZ            PR           00681
   720123 MICHAEL MEDINA MORALES                      HC 4 BOX 14237                                                                                                 MOCA                PR           00676
   720124 MICHAEL MEDINA SOTO                         TERRAZAS DEL TOA 3 J 3     CALLE 25                                                                            TOA ALTA            PR           00953‐4815
   331161 MICHAEL MENDOZA CEPEDA                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  331162 MICHAEL MOLINA COLON                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331163 MICHAEL MONSEGUR GONZALEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331164 MICHAEL MONSERRATE MEDINA REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331165 MICHAEL MORALES CASTRO    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   720127 MICHAEL MORALES GONZALEZ                    URB FAIR VIEW               D 18 CALLE 10                                                                     SAN JUAN            PR         00926‐8116

   331166 MICHAEL MORALES HERNANDEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720128 MICHAEL MORALES REYNA     HC 02 BOX 7615                                                                                                                  CIALES              PR         00638‐9724
   331168 MICHAEL N BERRY FIGUEROA  REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331169 MICHAEL N PEREZ RAMOS     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331170 MICHAEL NARVAEZ VELAZQUEZ                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720129 MICHAEL NEGRON RIVERA                       HC 2 BOX 4148                                                                                                 LAS PIEDRAS         PR         00771‐9606
   331171 MICHAEL NEMETH FELICIANO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331172 MICHAEL NIEVES MALDONADO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331173 MICHAEL NIEVES RIVERA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331174 MICHAEL NIEVES ROSARIO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331175 MICHAEL O JIMENEZ PORTAL                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   720130 MICHAEL O MALLEY                            C/O STRATEGIC RISK SOLUTIONS 1601 TRAPELO RD                                                                  WALTHAM             MA         02451

   331176 MICHAEL O OCASIO SANTIAGO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720131 MICHAEL O RIVERA ORTEGA                     ABRA ESTRECHA BUZON 4                                                                                         BAYAMON             PR         00959
          MICHAEL O RODRIGUEZ
   331177 GUADALUPE                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331178 MICHAEL O ROSADO VARGAS                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331179 MICHAEL OCASIO SANCHEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331180 MICHAEL OMAR LOPEZ SALDANA REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331181 MICHAEL OQUENDO RODRIGUEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331182 MICHAEL ORTIZ CINTRON     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331183 MICHAEL ORTIZ RIVERA      REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720132 MICHAEL ORTIZ RODRIGUEZ   RR 01 BOX 3628                                                                                                                  MARICAO             PR         00606
   720133 MICHAEL PABON LOPEZ       PO BOX 43002 SUITE 145                                                                                                          RIO GRANDE          PR         00745
          MICHAEL PABON RIVERA/ ISO
   331185 GROUP                     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331186 MICHAEL PABON TORRES      REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331187 MICHAEL PACHECO PAGAN     REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720134 MICHAEL PEREZ GOMEZ       P O BOX 8907                                                                                                                    PONCE               PR         000732
   720135 MICHAEL PRICE MARRERO     PO BOX 7126                                                                                                                     PONCE               PR         00732
   331188 MICHAEL QUILES            REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331189 MICHAEL R BRYANT          REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331190 MICHAEL R CHACHO          REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331191 MICHAEL R FELICIANO TRINIDAD REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331193 MICHAEL R JOHNSON            REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331194 MICHAEL R RIVERA SALVAT      REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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   331195 MICHAEL R SEMIDEY AMADOR                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720136 MICHAEL R VEGA CARRASQUILLO HC 1 BOX 7290                                                                                                                  AGUAS BUENAS        PR           00703
   331196 MICHAEL RABELL PRATS        REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720137 MICHAEL RAJABALLO VISUDAS                   PO BOX 1077                                                                                                    CAROLINA            PR           00988
   331197 MICHAEL RAMIREZ ROMERO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331198 MICHAEL REDONDO RAFULS                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      PO BOX 19175 FERNANDEZ
   720138 MICHAEL RESTO OTERO                         JUNCOS STA                                                                                                     SAN JUAN            PR           00910
   331199 MICHAEL RIOS ALCALA                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331200 MICHAEL RIOS GONZALEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720139 MICHAEL RIVERA                              HC 09 BOX 4214                                                                                                 SABANA GRANDE       PR           00637
   331201 Michael Rivera Collazo                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331202 MICHAEL RIVERA CRUZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MICHAEL RIVERA DE JESUS /
   720141 JULIE DE JESUS                              HC 1 BOX 7829                                                                                                  TOA BAJA            PR           00949
   331204 MICHAEL RIVERA GUZMAN                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331205 MICHAEL RIVERA LOZADA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331206 MICHAEL RIVERA RODRIGUEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331207 MICHAEL RIVERA SANTA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331208 MICHAEL RIVERA TORRES                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720143 MICHAEL RIVERA VERGARA                      SUMMIT HILLS                 600 YUNQUE                                                                        SAN JUAN            PR           00920
   331209 MICHAEL RODRIGUEZ                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331210 MICHAEL RODRIGUEZ LOPEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331211 MICHAEL RODRIGUEZ MATOS                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331212 MICHAEL RODRIGUEZ SMIDHT                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720145 MICHAEL RODRIGUEZ SOSA                      103 CALLE RAFAEL ALERS                                                                                         SAN JUAN            PR           00914
   331213 MICHAEL RODRIGUEZ SOTO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720146 MICHAEL RODRIGUEZ VARGAS                    COM LOMAS VERDES             GG 22 BO RIO HONDO                                                                MAYAGUEZ            PR           00680

   331214 MICHAEL RODRIGUEZ VAZQUEZ                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720149 MICHAEL ROMERO PALACIO                      HC 01 BOX 13233                                                                                                RIO GRANDE          PR           00745
   331216 MICHAEL ROSADO HERREDA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720026 MICHAEL ROSADO HERRERA                      80 CALLE BARBOSA                                                                                               AGUADILLA           PR           00603
   720150 MICHAEL ROSADO MATTA                        HC 83 BOX 7701                                                                                                 VEGA ALTA           PR           00962
   720152 MICHAEL S ARNOLD                            60 HOOK ROAD BASE RAMEY                                                                                        AGUADILLA           PR           00604
   331217 MICHAEL S. MARGIOTTA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720153 MICHAEL SANABRIA ACEVEDO                    PO BOX 5000 395                                                                                                SAN GERMAN          PR           00683
   720154 MICHAEL SANCHEZ ESPINOSA                    URB SABANA REAL              140 PASEO BARCELONA                                                               SAN LORENZO         PR           00754

   720155 MICHAEL SANTAELLA ARROYO                    SEGUNDA EXT SANTA TERESITA   CY 5 CALLE Q                                                                      PONCE               PR           00730

   331218 MICHAEL SANTIAGO HERNANDEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331219 MICHAEL SANTIAGO PINERO    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331220 MICHAEL SANTIAGO TORRES    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720156 MICHAEL SANTOS LORENZANA                    MONTE VERDE                  H 42 CALLE 4                                                                      TOA ALTA            PR           00953
   720157 MICHAEL SCUTERI                             CONDADO                      80 CALLE CARIBE                                                                   SAN JUAN            PR           00907
   720158 MICHAEL SERRALLES MACLAY                    VALLE VERDE 1                AR 21 RIO SONADOR                                                                 BAYAMON             PR           00961



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  720159 MICHAEL SERRANO RIVERA                       URB SANTA ELVIRA Q 22         SANTA MARGARITA                                                                      CAGUAS              PR         00725
  331222 MICHAEL SERRANO SANTANA                      REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  720160 MICHAEL SIERRA GOMEZ                         URB SIERRA BAYAMON            41 7 CALLE 39                                                                        BAYAMON             PR         00961
  331224 MICHAEL SOLER ROMAN                          REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331225 MICHAEL T ALVARADO OTERO                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720162 MICHAEL T KWOLEK                            PO BOX 9020192                                                                                                     SAN JUAN            PR         00902
   720164 MICHAEL TANTAO CASTRO                       URB LA FE                     K 7 CALLE 4                                                                          JUANA DIAZ          PR         00795

   331226 MICHAEL THOMASSEN MD, JOHN REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331227 MICHAEL TORO LUGO          REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331228 MICHAEL TORRES GERENA      REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331230 MICHAEL TORRES GONZALEZ    REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331232 MICHAEL TORRES SIERRA      REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331233 MICHAEL TORRES TORRES      REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   720165 MICHAEL TOSI MD                             I GUSTAVE LEVY PL/ BOX 1200                                                                                        NEW YORK            NY         10029
   331234 MICHAEL TRANSPORT INC                       HC 03 BOX 7903                                                                                                     BARRANQUITAS        PR         00794
   720166 MICHAEL VARGAS SANTIAGO                     URB VILLA MACHUELO            APT J 7 CALLE 4                                                                      PONCE               PR         00730
   331237 MICHAEL VAZQUEZ AYALA                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720167 MICHAEL VAZQUEZ DE JESUS                    LOIZA STATION P O BOX 6301                                                                                         SAN JUAN            PR         00914
   331238 MICHAEL VEGA                                REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331239 MICHAEL VEGA BONILLA                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720168 MICHAEL VILAR/TEK KARIBE                    URB MARIOLGA                  C 4 CALLE SAN FRANCISCO                                                              CAGUAS              PR         00725
   720027 MICHAEL W ARMBRUSTER                        2368 TIGERES RAIN                                                                                                  MIDDLE BIRG         FL         32068
          MICHAEL W GONZALEZ
   331240 GONZALEZ                                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720170 MICHAEL W. DONATELLI                        01 FRANKLIN ROAD                                                                                                   CEIBA               PR         00735
   720171 MICHAEL X VEGA MATOS                        VISTA ALEGRE                  1958 FORTUNA ST                                                                      PONCE               PR         00717‐2300
   720172 MICHAEL'S                                   MICHAELS STORE                875 AVE HOSTO STE 1                                                                  MAYAGUEZ            PR         00680
   720174 MICHAELS IRENE MD                           PO BOX 12023                                                                                                       NEWARK              NJ         07101
   720175 MICHALLE SANTOS AMILL                       CONDADO                       1160 GF CALLE MAGDALENA                                                              SAN JUAN            PR         00924
   331242 MICHALLE VILLAR DIAZ                        REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331244 MICHANID SOTO BONILLA                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   720176 MICHAYRA HERNANDEZ RENTAS                   HC 02 BOX 12591                                                                                                    AGUAS BUENAS        PR         00703
   720177 MICHEJO RENTAL INC                          1515 AVE PONCE DE LEON                                                                                             SAN JUAN            PR         00926
   720178 MICHEL A FERRER RIVERA                      PO BOX 715 VICTORIA STA                                                                                            AGUADILLA           PR         00605
   720179 MICHEL A MOJICA GONZALEZ                    URB JARDINES DE GURABO        143 CALLE 6                                                                          GURABO              PR         00778
          MICHEL A PANTOJAS/M& PEST
   720180 CONTROL                                     CAPARRA TERRACE               1332 AVE J T PI¨ERO                                                                  SAN JUAN            PR         00921

   720182 MICHEL C MATOS HERNANDEZ                    URB PARK GARDENS O 5          CALLE ACADIA                                                                         SAN JUAN            PR         00926
   331245 MICHEL GOMEZ MD, ROSA L                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331246 MICHEL J GODREAU                            REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331248 MICHEL SAMOT CHARRIEZ                       REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331249 MICHEL TERRERO MD, ANGEL E                  REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MICHELADELMAR SANTIAFO
   331251 SANCHEZ                                     REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331252 MICHELAINE BRIOSO DUARTE                    REDACTED                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MICHELANGELO RAMIREZ
   720184 MONTALVO                                    1 CALLE SOTO ALMODOVAR                                                                                             SABANA GRANDE       PR         00637



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   720185 MICHELE BARTOLOMEI TELLIER                  PO BOX 143956                                                                                                    ARECIBO             PR           00614‐3956
   720186 MICHELE COLON GARCIA                        B 9 LA COLINA LOS FILTROS                                                                                        GUAYNABO            PR           00969
   331253 MICHELE COLON PEREZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720187 MICHELE H LENTZ VELEZ                       URB SAN FRANCISCO           16 SAN LUIS                                                                          YAUCO               PR           00698
   331255 MICHELE M. SILVA MARRERO                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720188 MICHELE PAGAN                               HC 01 BOX 11642                                                                                                  COAMO               PR           00769
   720189 MICHELE WINESETT                            4807 7TH AVE S                                                                                                   ST PETERSBURG       FL           33701
   720190 MICHELENE LE HARDY VELEZ                    URB COUNTRY CLUB            QP 3 CALLE 538                                                                       CAROLINA            PR           00982
   720191 MICHELINE ORTIZ URIBE                       URB EL VALLE                550 CALLE AMAPOLA                                                                    LAJA                PR           00667

   331262 MICHELL C FAJARDO CABALLERO REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MICHELL LYNN PAGAN
   331263 RODRIGUEZ                   REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331264 MICHELL M MARTINEZ LOPEZ    REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720192 MICHELL PEREIRA RIVERA      PO BOX 7561                                                                                                                      CIDRA               PR           00739
   720193 MICHELL SOTO MONTANEZ       HC 763 BOX 3739                                                                                                                  PATILLAS            PR           00723
          MICHELLE A BARREIRO
   331265 MELENDEZ                    REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331268 MICHELLE A ROMERO DEL RIO                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331269 MICHELLE A. OTERO CRUZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331270 MICHELLE ACEVEDO MARTINEZ                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720194 MICHELLE ALARCON VARGAS                     BO MINERAL                  262 CALLE MERCEDES SUAU                                                              MAYAGUEZ            PR           00680
          MICHELLE AMARO MOLINA /
   331272 JARDIN NAVIDENO                             REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331274 MICHELLE ANGLERO                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331275 MICHELLE ARCE GONZALEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331276 MICHELLE B LUGO DIAZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331277 MICHELLE B RPSA GONZALEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331278 MICHELLE BALASQUIDE                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331279 MICHELLE BETANCOURT FLORES REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331280 MICHELLE BIAGGI TRIGO      REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331281 MICHELLE BRULL DIAZ        REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331282 MICHELLE BURGOS FITTIPALDI                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720198 MICHELLE BUTTER ROSARIO                     MANSIONES DE MONTECASINO    1 340                                                                                TOA ALTA            PR           00953
          MICHELLE C HARTBERGER
   331284 SOLANO                                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331285 MICHELLE C MUNOZ LUGO                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331286 MICHELLE CABRERA CLASS                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331287 MICHELLE CAMACHO                            REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720199 MICHELLE CAMACHO GONZALEZ SANTA JUANITA                                 A H 26 CALLE 41                                                                      BAYAMON             PR           00956

   720200 MICHELLE CAMERO GONZALEZ                    URB EL CORTIJO              P 33 CALLE 18                                                                        BAYAMON             PR           00956
          MICHELLE CANDELARIO
   331288 FIGUEROA                                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720201 MICHELLE CARABALLO CINTRON URB LUCHETTI                                 G 9 CALLE 9                                                                          YAUCO               PR           00698



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   331289 MICHELLE CARABALLO RAMIREZ REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720202 MICHELLE CARDONA SANTIAGO REPTO ANAMAR                             10 CALLE CONFIERAS                                                                     TOA BAJA            PR           00949
   331290 MICHELLE CARIDAD CRUZ     REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331291 MICHELLE CARRASQUILLO     REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331292 MICHELLE CASTELLANOS MARTIN REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720204 MICHELLE COLON MALAVE       QUINTAS DE DORADO                      AA 14 3 WEST KT                                                                        DORADO              PR           00696
   331295 MICHELLE COLON RAMIREZ      REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720205 MICHELLE COLON VALLENSPI    PO BOX 1360                                                                                                                   MANATI              PR           00674
   331296 MICHELLE CONTRERAS VELEZ    REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MICHELLE CORDOVES LA
   331297 FONTAINE                    REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331298 MICHELLE CORTES ROMAN       REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720206 MICHELLE CORTES SALVA       COND SAN MIGUEL TOWERS                 APT 207                                                                                MAYAGUEZ            PR           00680
   720207 MICHELLE COSME VELEZ        CL 6 6088 QUEBRADA SECA                                                                                                       CEIBA               PR           00735
   720208 MICHELLE CRUZ CORREA        PO BOX 220                                                                                                                    GUAYNABO            PR           00970
   331299 MICHELLE CRUZ GONZALEZ      REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720209 MICHELLE CRUZ INOA          CAPETILLO                              1023 CALLE 7                                                                           SAN JUAN            PR           00925
   720210 MICHELLE CRUZ LOPEZ         QUINTA COUNTRY CLUB                    A 22 CALLE 1                                                                           CAROLINA            PR           00985
   720211 MICHELLE CRUZ MATIAS        URB ALT RIO GRANDE                     S 1010 C/ 19                                                                           RIO GRANDE          PR           00745
   331300 MICHELLE CRUZ RIVERA        REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331301 MICHELLE CUEVAS RAMOS       REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720213 MICHELLE D FABELO HUYKE     URB TORRIMAR                           5‐10 RAMIREZ DE ARRELLANO                                                              GUAYNABO            PR           00966
   720214 MICHELLE D NIEVES ALBINO    P O BOX 1575                                                                                                                  COROZAL             PR           00783
          MICHELLE D SILVESTRIZ
   720215 ALEJANDRO                   COND NILSA D 2                         904 CALLE JOSE MARTI                                                                   SAN JUAN            PR           00907
   331304 MICHELLE D. HERRERA MEJIA   REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331305 MICHELLE DE JESUS HERRERA   REDACTED                               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331306 MICHELLE DE JESUS MELENDEZ                  REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720216 MICHELLE DE PALMA TORRES                    220 LOUNSBURY 2ND FL                                                                                          WATWRBURY           CT           06706
   720217 MICHELLE DIAZ                               ALT DE FLAMBOYAN       CC 10 CALLE 15                                                                         BAYAMON             PR           00959
          MICHELLE E FINGERHUT
   331308 COCHRAN                                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331309 MICHELLE E MUNIZ GADEA                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331310 MICHELLE E PENA AGOSTO                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720218 MICHELLE ENID SANABRIA                      EL PRADO BOX 15                                                                                               CAYEY               PR           00736
   720219 MICHELLE ESTRADA TORRES                     URB SANTA TERESITA     AB 11 CALLE 7                                                                          PONCE               PR           00731
          MICHELLE FELICIANO
   331311 RODRIGUEZ                                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331312 MICHELLE FERRER MENDEZ                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331313 MICHELLE FIGUEROA ORTIZ                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720221 MICHELLE FRANCESHI TORRES                   PO BOX 335157                                                                                                 PONCE               PR           00733
   331314 MICHELLE FRANCO VELEZ                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720224 MICHELLE FUENTES BAUZO                      HC 01 BOX 6298                                                                                                CANOVANAS           PR           00729
          MICHELLE GARAYTA
   720226 URRIOLOGOITIA                               HC 1 BOX 7536                                                                                                 ARECIBO             PR           00612

   720227 MICHELLE GASCOT MALDONADO URB SIERRA BAYAMON                       10 BLQ 49 CALLE 36                                                                     BAYAMON             PR           00961




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   331315 MICHELLE GIERBOLINI MATEO                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331316 MICHELLE GONI SEMIDEY                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331317 MICHELLE GONZALEZ CRUZ                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720228 MICHELLE GONZALEZ GARCIA                    DR JM AMADEO BT 7                                                                                          LEVITTOWN           PR           00949
   331318 MICHELLE GONZALEZ RAMOS                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331319 MICHELLE GRANIELA LOYOLA                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720229 MICHELLE GRATACOS ABRIL                     BOSQUE DEL LAGO        PLAZA 8 BC 30                                                                       TRUJILLO ALTO       PR           000976
   720230 MICHELLE GUASP                              URB RIVER VALLEY       HC 01 BOX 5164                                                                      CANOVANAS           PR           00729
   331320 MICHELLE GUTIERREZ COLON                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720231 MICHELLE HARBO COLON                        PO BOX 961                                                                                                 TOA ALTA            PR           00954
   331321 MICHELLE HARRIS                             REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720232 MICHELLE I DAVILA ECHEVARRIA PO BOX 1173                                                                                                               YABUCOA             PR           00767
   720234 MICHELLE I SEGUI BABILONIA   COND PRADOS DEL MONTE                 EDIF 15 APT 1509                                                                    GUAYNABO            PR           00969

   720235 MICHELLE INFANZON MORALES                   P O BOX 9582           PLAZA CAROLINA STATION                                                              CAROLINA            PR           00988
   331322 MICHELLE IRIZARRY PAGAN                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331323 MICHELLE J ADORNO NIGGEL                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331324 MICHELLE J CRUZ PINERO                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331325 MICHELLE KANTROW VAZQUEZ                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720236 MICHELLE L LOPEZ PRADO                      HC 05 BOX 13843                                                                                            JUANA DIAZ          PR           00795

   331326 MICHELLE L TORRES RODRIGUEZ REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331327 MICHELLE L UBINAS SANABRIA                  REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331328 MICHELLE L. HOLLEY VAZQUEZ                  REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720237 MICHELLE LANKES                             URB SANTA RITA         996 CALLE HUMACAO                                                                   SAN JUAN            PR           00925
   331329 MICHELLE LOPEZ ESCOBALES                    REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720238 MICHELLE LOPEZ MALAVE                       HC 2 BOX 6578                                                                                              LARES               PR           00669
   720239 MICHELLE LOPEZ SOTO                         HC 3 BOX 11515                                                                                             CAMUY               PR           00627

   720240 MICHELLE M ACEVEDO PADILLA                  CIUDAD UNIVERSITARIA   W 21 CALLE 24                                                                       TRUJILLO ALTO       PR           00976
          MICHELLE M ACOSTA
   331330 RODRIGUEZ                                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720241 MICHELLE M ALVAREZ                          URB METROPOLIS         D 6 CALLE 9                                                                         CAROLINA            PR           00987

   331331 MICHELLE M ARZOLA CAMACHO                   REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331332 MICHELLE M BERTRAN NEVE                     REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MICHELLE M BETANCOURT
   331333 FLORES                                      REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MICHELLE M BETANCOURT
   331334 YANES                                       REDACTED               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331335 MICHELLE M BRUNET CALDERON REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720244 MICHELLE M COLLAZO RUIZ    PARK GARDENS                            W 19 CALLE YOSEMITE                                                                 SAN JUAN            PR           00926
   331336 MICHELLE M CRESPO DAVILA   REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331337 MICHELLE M CRUZ BORRERO    REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720245 MICHELLE M FARIA MARTINEZ  P O BOX 704                                                                                                                 BAJADERO            PR           00616

   331338 MICHELLE M FIGUEROA GARCIA REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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          MICHELLE M FRANCO
   331339 HERNANDEZ                                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720246 MICHELLE M GRATACOS ARILL                   8 BC 30 BOSQUES DEL LAGO   BC 30 PLAZA 8                                                                            TRUJILLO ALTO       PR           00976
          MICHELLE M HERNANDEZ
   720247 RIVERA                                      BDA SAN ISIDRO             57 CALIXTO CARRERA                                                                       SABANA GRANDE       PR           00637
   331341 MICHELLE M JOFFRE CAVO                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331342 MICHELLE M LEANDRY VARGAS                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331343 MICHELLE M LEROUX MARTINEZ                  REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720249 MICHELLE M LLOYD CRUZ                       HC 02 BOX 12916                                                                                                     VIEQUEZ             PR           00765
   331344 MICHELLE M MALAVE TORRES                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MICHELLE M MARXUACH/
   331345 DANIELA LLOVERAS                            REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MICHELLE M MELENDEZ
   331346 FIGUEROA                                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331347 MICHELLE M NEGRON ORTIZ                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331348 MICHELLE M ORTIZ BURGOS                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331349 MICHELLE M ORTIZ LOPEZ                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331350 MICHELLE M PEREZ REYES                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720253 MICHELLE M PEREZ RODRIGUEZ                  RR 2 BOX 7648                                                                                                       TOA ALTA            PR           00953
   331351 MICHELLE M PEREZ VAZQUEZ                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720254 MICHELLE M RECIO                            COND LA MANCHA             6300 AVE ISLA VERDE APT 212                                                              CAROLINA            PR           00979
   720255 MICHELLE M RIVERA CASTRO                    PO BOX 403                                                                                                          JAYUYA              PR           00664
   720256 MICHELLE M RIVERA ESPADA                    P O BOX 499                                                                                                         ADJUNTAS            PR           00601

   331352 MICHELLE M RIVERA MARTINEZ                  REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720257 MICHELLE M ROBLES PLACERES                  PO BOX 150                                                                                                          NAGUABO             PR           00718

   720258 MICHELLE M RODRIGUEZ BOU                    URB VILLAS DE TINTILLO     12 CALLE B                                                                               GUAYNABO            PR           00966
          MICHELLE M ROSADO
   331354 RODRIGUEZ                                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720259 MICHELLE M SANCHEZ FLORES                   BOX 2103                                                                                                            MAYAGUEZ            PR           00680

   720260 MICHELLE M SANCHEZ GARCIA                   VALLE ARRIBA HEIGHTS       S 11 CALLE LAUREL                                                                        CAROLINA            PR           00983

   331355 MICHELLE M SANTANA GARCIA                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331357 MICHELLE M TORRES MIRANDA                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331358 MICHELLE M VALENTIN VAZQUEZ REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331360 MICHELLE M VELEZ BERRIOS    REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331361 MICHELLE M. CARRILLO RUSSE                  REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331363 MICHELLE M. MIELES SOTO                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MICHELLE M. RODRIGUEZ
   331364 RIVERA                                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720261 MICHELLE MALDONADO                          HC 08 BOX 902                                                                                                       PONCE               PR           00731




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          MICHELLE MALDONADO
   720263 BOSQUES                                     HC 2 BOX 20455                                                                                                  SAN SEBASTIAN       PR           00685

   720264 MICHELLE MALDONADO LOPEZ                    BOX 1263                                                                                                        CAYEY               PR           00737
   331366 MICHELLE MALLEY CAMPOS                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331368 MICHELLE MANZANO CRESPO                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720265 MICHELLE MARANGES                           PO BOX 360976                                                                                                   SAN JUAN            PR           00936
          MICHELLE MARIE GONZALEZ
   720266 ORTIZ                                       PO BOX 612                                                                                                      SABANA GRANDE       PR           00637
          MICHELLE MARIE MANGUAL
   331370 GARCIA                                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MICHELLE MARIE ORTIZ
   720267 MARTINEZ                                    COND SEGOVIA                 APTO 1413                                                                          SAN JUAN            PR           00918
          MICHELLE MARIE RIVAS
   720268 MELENDEZ                                    COND LOS PATRICIOS APT 504                                                                                      GUAYNABO            PR           00968
   331372 MICHELLE MARRERO CARRER                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720269 MICHELLE MARRERO NOA                        URB COUNTRY STATE            C 22 CALLE 5                                                                       BAYAMON             PR           00956
   720270 MICHELLE MARTIN PAZ                         UNIVERSITY GARDENS           272 GEORGETOWN                                                                     SAN JUAN            PR           00927
   720271 MICHELLE MARTINEZ                           BO ALGAROBO                  RR 104 KM 0 8                                                                      MAYAGUEZ            PR           00680
   331373 MICHELLE MARTINEZ BLANCO                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331374 MICHELLE MARTINEZ LOPEZ `                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331375 MICHELLE MARTINEZ ORTIZ                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331376 MICHELLE MARTINEZ RIVERA                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MICHELLE MARTINEZ
   331377 RODRIGUEZ                                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331379 MICHELLE MOLINA GONZALEZ                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331380 MICHELLE MONTIJO CORDERO                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720275 MICHELLE MORALES CRUZ                       BO CACAO                     BOX 2281 CARR 480                                                                  QUEBRADILLAS        PR           00678

   720276 MICHELLE MORALES HUGGINS                    BO OBRERO                    702 CALLE ARGENTINA                                                                SAN JUAN            PR           00915
   720278 MICHELLE MUSIC CENTER                       HC 1 BOX 8849                                                                                                   VIEQUES             PR           00765‐9210

   331381 MICHELLE NAVARRO RODRIGUEZ REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331382 MICHELLE NAZARIO LOPEZ     REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331383 MICHELLE NAZARIO LUGO      REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331384 MICHELLE NIEVES MARIN      REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331385 MICHELLE O RUIZ RIVERA     REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331386 MICHELLE ONEILL BETANCOURT                  REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331387 MICHELLE ORTIZ LUGO                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331388 MICHELLE ORTIZ NIEVES                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331389 MICHELLE OTERO CRUZ                         REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720280 MICHELLE OTERO MARTINEZ                     HC 01 BOX 3249                                                                                                  VILLALBA            PR           00766‐9701
   331390 MICHELLE OTERO RAMIREZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331391 MICHELLE P DI CRISTINA                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331392 MICHELLE P LORENZO VALENTIN                 REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720281 MICHELLE P RAMERY PEREZ                     COND PARQUE REAL             307 AVE JUAN C BORBON                                                              GUAYNABO            PR           00969
   720282 MICHELLE PALAU BRYAN                        CALLE WILLIAMS JONES         EDIF 1106 APT 606                                                                  SAN JUAN            PR           00925
   331393 MICHELLE PELLOT AREIZAGA                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720283 MICHELLE PEREZ ARROYO                       PO BOX 1462                                                                                                     GUANICA             PR           00653



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  331395 MICHELLE PEREZ ESPADA                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   720284 MICHELLE PERILLO RODRIGUEZ                  URB ROSEVELT                 384 CALLE JUAN A DAVILA                                                              HATO REY            PR         00918‐2331

   331397 MICHELLE QUINONES ARROYO                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MICHELLE QUINONES
   331398 VELAZQUEZ                                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331403 MICHELLE RAMIREZ FRONTERA                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   720285 MICHELLE RAMIREZ GONZALEZ                   HC 3 BOX 8545                                                                                                     LARES               PR         00669

   720286 MICHELLE RAMIREZ RODRIGUEZ TINTILLO HILLS                                CHALET 1                                                                             BAYAMON             PR         00959
   331404 MICHELLE RAMOS DIAZ        REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331405 MICHELLE RAMOS HERNANDEZ                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331406 MICHELLE RAMOS MATOS                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331407 MICHELLE REYES RIVERA                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331408 MICHELLE RIVERA BOSCHETTI                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331409 MICHELLE RIVERA CLASS                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331411 MICHELLE RIVERA COLON                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720288 MICHELLE RIVERA LUGO                        30 CEDAS ST                                                                                                       LOWER               MA         001852

   720289 MICHELLE RIVERA MOJICA                      URB MANSIONES DE GUAYNABO A 19 CALLE 1                                                                            GUAYNABO            PR         00969
   720290 MICHELLE RIVERA MOLINA                      COND LAS GLADIOLAS        EDIF301 APT 202                                                                         SAN JUAN            PR         00924
   331412 MICHELLE RIVERA SANTIAGO                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720291 MICHELLE RODRIGUEZ                          33 BOLIVIA                SUITE 203                                                                               SAN JUAN            PR         00917

   331413 MICHELLE RODRIGUEZ CABAZO                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331414 MICHELLE RODRIGUEZ CORTES                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   720292 MICHELLE RODRIGUEZ DELGADO PO BOX 558                                                                                                                         LAS PIEDRAS         PR         00771
   331415 MICHELLE RODRIGUEZ LEON    REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331416 MICHELLE RODRIGUEZ LOPEZ   REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331417 MICHELLE RODRIGUEZ NEGRON REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331419 MICHELLE RODRIGUEZ NIEVES                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331420 MICHELLE RODRIGUEZ RIVERA                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331400 MICHELLE RODRIGUEZ VALDEZ                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331421 MICHELLE ROMAN FLORES                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720293 MICHELLE ROSA MOLINA                        PO BOX 190                                                                                                        COAMO               PR         00769
   720294 MICHELLE ROSADO JIMENEZ                     PO BOX 8552                                                                                                       CAGUAS              PR         00726

   720295 MICHELLE ROSADO ORELLANA                    SAINT JUST                   56 CALLE BETANIA                                                                     TRUJILLO ALTO       PR         00771
   720296 MICHELLE RUIZ                               P O BOX 250463                                                                                                    AGUADILLA           PR         00604
   720297 MICHELLE RUIZ DENIZARD                      PO BOX 8119                                                                                                       MAYAGUEZ            PR         00681
          MICHELLE RUIZ JORGE / AUTO
   331422 CENTRO SERV                                 URB JARDINES DE PLAN BONITO 112 CALLE LIRIO                                                                       CABO ROJO           PR         00623‐9297
   331423 MICHELLE SALAS CASELLAS                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  331424 MICHELLE SANCHEZ BRENES                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331425 MICHELLE SANCHEZ CANDELARIO REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                  APT 385 INT 30 CALLE VILLA
   720298 MICHELLE SANTANA OCASIO                     SAN JOSE                    CASTIN                                                                                  SAN JUAN            PR         00923

   331426 MICHELLE SANTIAGO CABRERA                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   720299 MICHELLE SANTIAGO HIDALGO                   CALLE 22 BJ6 URB BAIROA                                                                                             CAGUAS              PR         00725
   720300 MICHELLE SANTIAGO VEGA                      3004 COND PLAZA ANTILLANA   151 CALLE CESAR GONZALEZ                                                                SAN JUAN            PR         00918
   331428 MICHELLE SEMPRIT ROSARIO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331429 MICHELLE SERRANO ROBLES                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331430 MICHELLE SERRANO SERRANO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720301 MICHELLE SOTO                               JARD DE BORINQUEN           5 CALLE A                                                                               AGUADILLA           PR         00603
   331432 MICHELLE SOTO GONZALEZ                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MICHELLE SOTO MAYOR
   720302 RODRIGUEZ                                   URB LEVITOWN LAKES          FM 28 CALLE ANTONIO BLANCO                                                              TOA BAJA            PR         00949
   331434 MICHELLE SUAREZ MORALES                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331435 MICHELLE T RODRIGUEZ OLIVER REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331436 MICHELLE T SCHARER UMPIERRE REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331437 MICHELLE TARRATS NEVAREZ    REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331438 MICHELLE THOMPSON CASTRO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720303 MICHELLE TIRADO SERRANO                     HC 02 BOX 10445                                                                                                     GUAYNABO            PR         00970
   720304 MICHELLE TORRES                             45 CALLE HOSTOS                                                                                                     CAGUAS              PR         00725
   331439 MICHELLE TORRES MELENDEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331440 MICHELLE TORRES MONROE                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720305 MICHELLE TORRES MORA                        CONDADO MODERNO             L 23 CALLE 12                                                                           CAGUAS              PR         00725

   331441 MICHELLE TORRES RODRIGUEZ                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   720306 MICHELLE TOSADO RODRIGUEZ                   RR 1 BOX 4334                                                                                                       CIDRA               PR         00739
   720307 MICHELLE TRAVELL                            PO BOX 99                                                                                                           FAJARDO             PR         00738
   720308 MICHELLE TRINIDAD LEBRON                    1052 CALLE ELISA CERRA                                                                                              SAN JUAN            PR         00907
   720309 MICHELLE VALENTIN DIAZ                      P O BOX 6022                                                                                                        CAROLINA            PR         00984‐6022

   720311 MICHELLE VALENTIN GONZALEZ                  URB VISTA VERDE             372 CALLE PRINCIPAL                                                                     AGUADILLA           PR         00603

   331443 MICHELLE VARGAS MALDONADO REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331444 MICHELLE VARGAS MONTANEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720313 MICHELLE VARGAS SOSA                        P O BOX 165                                                                                                         ISABELA             PR         00662
   331445 MICHELLE VAZQUEZ CASTRO                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331446 MICHELLE VEGA CARO                          REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331447 MICHELLE VEGA RIVAS                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720314 MICHELLE VEGA SANTIAGO                      PO BOX 1260                                                                                                         ARECIBO             PR         00688
   331448 MICHELLE VEGA ZAYAS                         REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720315 MICHELLE VELEZ ALVAREZ                      EL CONQUISTADOR             G 8 CALLE 6                                                                             TRUJILLO ALTO       PR         00976
   331449 MICHELLE VELEZ FLORES                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720316 MICHELLE VELEZ PASCUAL                      REPARTO VALENCIA            I 23 CALLE VIOLETA                                                                      BAYAMON             PR         00959



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  720318 MICHELLE VIERA VELLON                        COM PUNTA SANTIAGO           SOLAR 403                                                                                 HUMACAO             PR         00791
  720319 MICHELLE VILLOR DIAZ                         PO BOX 18                                                                                                              ARROYO              PR         00714
  720320 MICHELLE WALKER LOPEZ                        BORINQUEN                    UU 20 A G CALLE IRIS                                                                      SAN JUAN            PR         00926
  331450 MICHELLE WEISS PERSONS                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MICHELLE Y GONZALEZ
  331451 GONZALEZ                                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  331452 MICHELLE Y PEREZ LABOY                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   720321 MICHELLE Y VAZQUEZ LOPEZ                    B 17 URB RIO BLANCO HEIGTS                                                                                             NAGUABO             PR         00718
   331453 MICHELLE ZAVALA MUNOZ                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331454 MICHELLES CATERING                          REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331456 MICHELLY GONZALEZ TIRADO                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   720323 MICHELLY RODRIGUEZ DE JESUS                 URB SAN ANTONIO              F 91 CALLE 1                                                                              ARROYO              PR         00714
  1256678 MICHICA INTERNACIONAL                       REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   831486 Michica International                       544 Tintillo RD              Tintillo Hills                                                                            Guaynabo            PR         00966
   720324 MICHICA INTERNATIONAL CO                    TINTILLO HILLS               511 CALLE TINTILLO                                                                        GUAYNABO            PR         00966
   331463 Michica International CO Inc                511 Tintillo Road                                                                                                      Guaynabo            PR         00966
          MICHICA INTERNATIONAL CO.                   511 TINTILLO ROAD TINTILLO
   331468 INC.                                        HILLS                                                                                                                  GUAYNABO            PR         00966

   331469 MICHIGAN PAIN CONSULTANTS                   ATTN MPC MEDICAL RECORDS     61 COMMERCE AVE SW                                                                        GRAND RAPIDS        MI         49503
                                                      424 EPPLEY CENTER EAST
   720325 MICHIGAN STATE UNIVERSITY                   LANSING                                                                                                                MICHIGAN            MI         48824
          MICKEY CARRASQUILLO
   331470 MONTANEZ                                    REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   720326 MICKEY CORA Y SU ORQUESTA                   VILLA CAROLINA               109‐32 CALLE 82                                                                           CAROLINA            PR         00985
   331471 MICKEY E RUIZ SANTILLAN                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MICKEY IBARRA & ASSOCIATES
   331472 INC                                         1140 CONNECTICUT AVENUE NW                                                                                             WASHINGTON          DC         20036‐4001
   331473 MICKEY ROSARIO                              REDACTED                   REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   720327 MICKEY SOUND CONTRACTOR                     URB BAYAMON GARDENS          17 CALLE V 20                                                                             BAYAMON             PR         00957
   720328 MICKEY'S BAKERY                             42 CALLE JUAN R GARZOT                                                                                                 NAGUABO             PR         00718
   331474 MICKY L HERNANDEZ PAGAN                     REDACTED                     REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331475 MICMARY MARRERO GONZALEZ REDACTED                                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   720329 MICRO AGE COMPUTER CENTER URB ROOSEVELT                                  314 AVE FRANKLIN D ROOSEVELT                                                              SAN JUAN            PR         00918

   331477 MICRO BIZ                                   500 AIRPORT EXECUTIVE PARK                                                                                             SPRING VALLEY       NY         10977
   720331 MICRO COMP CORP                             RIO HONDO                    CC 26 AVE COMERIO                                                                         BAYAMON             PR         00961
   720332 MICRO D INTERNATIONAL                       14901 JUDICIAL ROAD                                                                                                    BURNEVILLE          MN         55306
          MICRO DISCOUNT
   720334 INTERNATIONAL                               PMB 319                      PO BOX 7891                                                                               GUAYNABO            PR         00970‐7891
   720335 MICRO ENDEAVOR                              8001 LANSDOWNE AVE                                                                                                     UPPER DARBY         PA         19082
          MICRO INFORMATION
   331478 PRODUCTS                                    313 EAST ANDERSON LANE       SUITE 120                                                                                 AUSTIN              TX         78752‐1228
          MICRO INFORMATION
   720336 PRODUCTS INC                                313 E ANDERSON LANE          SUITE 200                                                                                 AUSTIN              TX         78752‐1228
   720337 MICRO PUBLISHING PRESS                      2340 PLAZA DEL AMO           SUITE 100                                                                                 TORRANCE            CA         90501
   331479 MICRO SERVICE 2000                          COND GRANADA PK BOX 327      100 MARTINEZ NADAL                                                                        GUAYNABO            PR         00969



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                                                      Ave. Martinez Nadal Cond.
   831487 Micro Service 2000, Inc.                    Granada Park 327                                                                                                 Guaynabo              PR           00969
   331480 MICRO SHOP                                  640 AVE ANDALUCIA                                                                                                SAN JUAN              PR           00920
   720338 MICRO SPECIALISTS & CO                      255 PLAZA RIO HONDO                                                                                              BAYAMON               PR           00961
   831488 Micro Systemation, Inc.                     5300 Shawnee Road             Suite 100                                                                          Alexandria            VA           22312
   720339 MICRO TECH                                  PO BOX 9726                                                                                                      CAROLINA              PR           00988
   331481 MICRO TECH CAGUAS INC.                      URB SAN ALFONSO               D 2 AVE DEGETAU                                                                    CAGUAS                PR           00725
          MICRO TECH COMPUTER &
   720340 ELECTRONICS                                 URB BARALT                    J 7 AVE PRINCIPAL                                                                  FAJARDO               PR           00738
   720341 MICRO TECH INC                              URB SAN ALFONSO               A 11 AVE DEGETAU                                                                   CAGUAS                PR           00725
          MICRO TECH SYSTEMS &
   720342 CONTROLS INC                                PO BOX 10678                                                                                                     SAN JUAN              PR           00922‐0678
   331482 MICRO W.A.R INC                             URB BONNEVILLE HEIGHTS        62 CALLE CANOVANAS                                                                 CAGUAS                PR           00727‐4911
   720343 MICRO WAREHOUSE                             PO BOX 8934                                                                                                      BOSTON                MA           02266
          MICROAGE COM.CNTR/COMP.
   331483 TREND                                       PO BOX 361667                                                                                                    SAN JUAN              PR           00936‐1667

   720344 MICROAGE COMPUTER CENTER                    PO BOX 366723                                                                                                    SAN JUAN              PR           00936
   331484 MICROBYTE CARIBBEAN, INC.                   270 CALLE FORDHAM             UNIVERSITY GARDENS                                                                 SAN JUAN              PR           00927

   720345 MICROFIT INC                                1077 B INDEPENDENCE AVENUE                                                                                       MOUNTAIN VIEW         CA           94043
                                                      2700 BRASELTON HWY STE 10‐
   331486 MICROIX, INC.                               204                                                                                                              DACULA                GA           30019
   331487 MICROJURIS                                  P.O. BOX 9024096                                                                                                 SAN JUAN              PR           00902‐4096
   331488 MICROJURIS COM                              PO BOX 9024096                                                                                                   SAN JUAN              PR           00902‐4096
   331489 MICROJURIS INC                              PO BOX 9024096                                                                                                   SAN JUAN              PR           00902‐4096

   331490 MICROLAB TECHNOLOGIES INC                   PO BOX 8006                                                                                                      BAYAMON               PR           00960‐8006
   831490 Microlab Technologies, Inc.                 PO Box 8006                                                                                                      Bayamón               PR           00960

   331491 MICROLAB TECNOLOGIES, INC.                  PO BOX 8006                                                                                                      BAYAMON               PR           00960‐8006
          MICROLITER ANALYTICAL
   720347 SUPLIES                                     3680 BURNETTE                                                                                                    GEORGIA               GA           30024
   720348 MICROLOG CORP                               20270 GOLDENROD LANE                                                                                             GERMANTOWN            MD           20876
   720349 MICROLOG CORPORATION                        20270 GOLDENROD LN                                                                                               GERMANTOWN            MD           20876
   331492 MICRON OPTICS                               14 RIDGEDALE AVE. 100                                                                                            CEDAR KNOLLS          NJ           07927
          MICRON TECHNOLOGY PUERTO
   720351 RICO INC                                    CALL BOX 30000                                                                                                   AGUADILLA             PR           00690

   331494 MICROPACT GLOBAL INC                        3400 PLAYERS CLUB PARKWAY     SUITE 100                                                                          MEMPHIS               TN           38125
   720352 MICROPTICS SERVICES                         P O BOX 485                                                                                                      JUNCOS                PR           00777
   720353 MICROSERVE CORP                             112 RODRIGO DE TRIANA                                                                                            SAN JUAN              PR           00918
   331495 MICROSERVER                                 P O BOX 190760                                                                                                   SAN JUAN              PR           00919‐0769
   831492 Microsoft Caribbean                         6100 Nell Road, Suite 210                                                                                        Reno                  NV           89511
  1256679 MICROSOFT CARIBBEAN INC                     REDACTED                      REDACTED                REDACTED                            REDACTED               REDACTED              REDACTED     REDACTED      REDACTED

   331500 MICROSOFT CARIBBEAN, INC.                   METRO OFFICE PARK CALLE I #11 SUITE 104                                                                          GUAYNABO              PR           00968‐1705
   331501 MICROSOFT CORPORATION                       P O BOX 849995                                                                                                   DALLAS                TX           75284‐9995
          MICROSOFT DE PLAZA LAS
   331502 AMERICAS                                    525 AVE ROOSEVELT                                                                                                SAN JUAN              PR           00918
          MICROSOFT EDUCATIONAL
   331503 SERVICES CORP                               CAPITOLIO PLAZA               SUITE 1‐907             #100 CALLE DEL MUELLEE                                     SAN JUAN              PR           00901‐2636
   331506 MICROSOFT NEETWORK                          REDMOND                                                                                                          WASHINTON             DC           98052



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   331507 MICROSOFT OPERATIONS PR LLC 473 CARR 3                                                                                                                           HUMACAO             PR           00791‐4620
   831781 Microsoft Puerto Rico       PO Box 9023596                                                                                                                       San Juan            PR           00902‐3596
   331509 MICROSOFT RETAIL STORE      PO BOX 847255                                                                                                                        DALLAS              TX           75284‐7255

   331510 MICROSOFT RETAIL STORE, INC.                PLAZA LAS AMERICAS            525 AVENIDA F D ROOSEVELT                                                              SAN JUAN            PR           00918
   331511 MICROSOFT TECHNET                           P.O. BOX 5549                                                                                                        PHEAFANTON          CA           94566‐1549
   720357 MICROVIA COMPUTERS                          URB SANTA CRUZ                D 3 CARR 2 MARGINAL                                                                    BAYAMON             PR           00959
   331512 MICROVIC COMPUTERS                          AREA DEL TESORO               DIVISION DE RECLAMACIONES                                                              SAN JUAN            PR           00902‐4140
          MICROWORKZ COMPUTER
   720358 CORPORATION                                 20121 48TH AVE W                                                                                                     LYNNWOOD            WA           98036
          MID ATLANTIC BEHAVIORAL
   331519 HLTH                                        910 SOUTH CHAPEL ST           SUITE 102                                                                              NEWARK              DE           19713
   720359 MID ATLANTIC TRAINING INC                   143 WILLIAM ST                                                                                                       SOUTH RIVER         NJ           0882

   331520 MID ATLANTIC TRUST COMPANY PO BOX 23428                                                                                                                          PITTSBURGH          PA           15222‐6368

   331521 MID FLORIDA DERMATOLOGY                     4151 HUNTERS PARK LN NO 156                                                                                          ORLANDO             FL           32837
          MID INVESTMENTS INC/FIVE
   720360 STARS DRY CLEAN                             ATALNTIC VIEW                 29 CALLE JUPITER                                                                       CAROLINA            PR           00979
   331522 MID LEGAL CONSULTING PSC                    P O BOX 195384                                                                                                       SAN JUAN            PR           00919
          MID SOUTH NEUROLOGY CLINIC
   331523 PLL                                         8584 CORDES CIRCLE                                                                                                   GERMANTOWN          TN           38139
   331524 MIDALI SOSA ROMAN                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720361 MIDALIA RIVERA RIVERA                       PO BOX 690001                                                                                                        HATILLO             PR           00659
   331525 MIDALIS ORTIZ RODRIGUEZ                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331526 MIDALISA DELGADO DE JESUS                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720362 MIDALMA A ORTIZ                             P O BOX 4179                                                                                                         PURTO REAL          PR           00740
   331527 MIDALY MELO DARTAYET                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720363 MIDALYS MELENDEZ FELICIANO                  PO BOX 1884                                                                                                          MANATI              PR           00674

   331528 MIDALYS MONTERO RODRIGUEZ REDACTED                                        REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720365 MIDAS GARAGE RUBEN        PO BOX 364447                                                                                                                          SAN JUAN            PR           00936

   331529 MIDDELIO FELICIANO ROLDAN                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIDDLE STATES ASOC OF
   720366 COLLEGES & SCHOOLS                          3624 MARKET STREET                                                                                                   PHILADELPHIA        MA           19104
          MIDDLES STATES ASSOCIATION
   720367 OF                                          PO BOX 759                                                                                                           SAN JUAN            PR           00919
   331530 MIDDLESEX HOSPITAL                          28 CRISENT ST                                                                                                        MILDTOWN            CT           06457
   331531 MIDEL A GOMEZ MESA                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720369 MIDELINO CANCEL ALTAGRACIA                  RES CASTILLO                  EDIF 3 APT 60                                                                          SABANA GRANDE       PR           00637
   720371 MIDI INC                                    125 SANDY DRIVE                                                                                                      NEWARK              DE           19713
   720373 MIDIAM GOMEZ CURET                          HC 1 BOX 3718                                                                                                        ARROYO              PR           00714
   331533 MIDLALIA CORTES LARREGUI                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720374 MIDLAND COMPUTERS & MORE PO BOX 308                                                                                                                              TRUJILLO ALTO       PR           00978

   720375 MIDLAND MEMORIAL HOSPITAL P O BOX 4846                                                                                                                           MIDLAND             TX           79704‐4846
   720376 MIDLAND NATIONAL LIFE     ONE MIDLAND PLAZA                                                                                                                      SIOWX FALLS         SD           57193
   720377 MIDLAND U S A             1690 NORTH TOPPING                                                                                                                     KANSA CITY          MO           64120



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  331548 MIDNALYS TORRES GARCIA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  331549 MIDNELA ACEVEDO‐FLORES                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  720379 MIDNIGHT EXPRESS CORP                        P O BOX 252                                                                                                         MOCA               PR         00676
  720380 MIDNIGHT EXPRESS DJS                         P O BOX 252                                                                                                         MOCA               PR         00676
  720381 MIDNIGHT LIGTHING SOUND                      147 C3 LAS MERCEDES                                                                                                 LAS PIEDRAS        PR         00771
  331551 MIDNITE EXPRESS                              300 NORTH OAK STREET                                                                                                LOS ANGELES        CA         90302
  331552 MIDRIAN I LUGO PEREZ                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  331553 MIDSTATE MEDICAL CENTER                      435 LEWIS AVE                                                                                                       MERIDEN            CT         06451
  331554 MIDTOWN CAFE INC                             MIDTOWN BUILDING LOBBY       421 AVE MUNOZ RIVERA                                                                   SAN JUAN           PR         00919

   331555 MIDTOWN PHYSICIANS SC                       675 WEST NORTH AVE STE 207                                                                                          MELROSE PARK       IL         60160‐0000
   720385 MIDWAY PARKING                              PO BOX 1317                                                                                                         BAYAMON            PR         00957

   331556 MIDWAY SERVICE STATION INC                  PO BOX 10421                                                                                                        PONCE              PR         00732
   720386 MIDWEST LIBRARY SERVICES                    PO BOX 4418                                                                                                         BRIDGETON          MO         63044‐0418
   720387 MIDWESTERN REGIONAL                         135 S LASALLE DEPT 1430                                                                                             CHICAGO            IL         60674‐1430
   331557 MIECES ARIZA MD, EDY A                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MIEMBROS COVERGE S.E./
   331586 GERMAN TORRES                               HC 04 BOX 5775                                                                                                      BARRANQUITAS       PR         00794
   331587 MIENTE PRODUCTIONS                          AREA DEL TESORO              DIVISION DE RECLAMACIONES                                                              SAN JUAN           PR         00902‐4140
   331596 MIESES ARIZA MD, EDDY                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   331607 MIESESB ARIZA MD, EDDY                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   331608 Migadalia Curbelo Arocho                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   720388 MIGBEL GUZMAN VELAZQUEZ                     HC 2 BOX 15899                                                                                                      AGUAS BUENAS       PR         00703
   720389 MIGDA AZCUY PI¥OL                           COND SEGORIA APTO 1205                                                                                              SAN JUAN           PR         00918
   720390 MIGDA I CINTRON GONZALEZ                    URB COLINAS DE YAUCO         F 18 CALLE 5                                                                           YAUCO              PR         00698

   331609 MIGDA L FERNANDEZ NEGRON                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   720391 MIGDA L RODRIGUEZ COLLAZO                   HC 2 BOX 7655                                                                                                       BARCELONETA        PR         00617‐9810

   720392 MIGDA M RODRIGUEZ TOSADO                    BO CAMUY ARRIBA              CARR 119 KM 9                                                                          CAMUY              PR         00627
   331611 MIGDA PAGAN RAMOS                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   331612 MIGDA TIRADO CLAUDIO                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   331613 MIGDAEL TORRES RIVERA                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   331615 MIGDALEE ALVARADO SANTIAGO REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   331616 MIGDALI ROSA COLLAZO       REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   720400 MIGDALIA A CORDERO CRESPO                   7 URB VISTAMAR                                                                                                      CAMUY              PR         00627‐2163

   720401 MIGDALIA A MARTINEZ LABOY                   URB VILLA DELICIAS           4358 CALLE GIMNASIO                                                                    PONCE              PR         00728 3700
   331617 MIGDALIA A NIEVES DELGADO                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MIGDALIA A SANCHEZ
   331618 HERNANDEZ                                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   720403 MIGDALIA ACEVEDO MARRERO                    SANTA ROSA                   CALLE B BZN 186                                                                        HATILLO            PR         00659
   720404 MIGDALIA ACEVEDO RUIZ                       HC 59 BOX 5347                                                                                                      AGUADA             PR         00602
   331619 MIGDALIA ACOSTA FIGUEROA                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   331621 MIGDALIA ACOSTA MARTINEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   331622 MIGDALIA ADAMES CRUZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   331623 MIGDALIA ADAMES SANTIAGO                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   331624 MIGDALIA ADORNO RIVERA                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED



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   720406 MIGDALIA ADROVER RODRIGUEZ VENUS GARDENS NORTE                           AH 1 CALLE SONORA                                                                 SAN JUAN            PR           00926
   331625 MIGDALIA AGOSTO VAZQUEZ    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720407 MIGDALIA ALBALADEJO RIVERA                  BO GALATEO                                                                                                     TOA ALTA            PR           00953

   331626 MIGDALIA ALBALADEJO ROSARIO REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331627 MIGDALIA ALDARONDO SOTO     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720408 MIGDALIA ALEMAN             PO BOX 7893                                                                                                                    CAGUAS              PR           00725
   331629 MIGDALIA ALICEA DIAZ        REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720409 MIGDALIA ALICEA GARCIA      95 CALLE OQUENDO                                                                                                               SAN JUAN            PR           00909

   720411 MIGDALIA ALVARADO GONZALEZ PO BOX 554                                                                                                                      AGUIRRE             PR           00704
   720412 MIGDALIA ALVAREZ MENEJIAS  URB VILLA LOS SANTOS                          N 19 CALLE 11                                                                     ARECIBO             PR           00612
   331630 MIGDALIA ALVAREZ ROLDAN    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720414 MIGDALIA ANAYA DE ALBA     PO BOX 438                                                                                                                      PATILLAS            PR           00723

   720415 MIGDALIA ANDUJAR DIAZ                       5057 AVE RIOS RAMOS ROMAN                                                                                      SABANA SECA         PR           00952
   331631 MIGDALIA APONTE ABREU                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331632 MIGDALIA APONTE PREZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720416 MIGDALIA AQUINO COTTO                       HC 02 BOX 15701                                                                                                CAROLINA            PR           00985
   720417 MIGDALIA AQUINO MARTINEZ                    PO BOX 235                                                                                                     COTTO LAUREL        PR           00780
   720418 MIGDALIA AROCHO VERA                        BO PIEDRAS BLANCAS           HC 3 BOX 23583                                                                    SAN SEBASTIAN       PR           00685
   720420 MIGDALIA AYALA MELENDEZ                     JARD DE COUNTRY CLUB         B 516 CALLE 116                                                                   CAROLINA            PR           00983
   331633 MIGDALIA AYALA PEREZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331634 MIGDALIA BAEZ DE JESUS                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720421 MIGDALIA BAEZ VAZQUEZ                       F 212 VILLAS CIUDAD JARDIN                                                                                     BAYAMON             PR           00957

   720423 MIGDALIA BANCHS RODRIGUEZ                   PO BOX 10681                                                                                                   PONCE               PR           00732
   720424 MIGDALIA BASCO VELEZ                        BOX 926                                                                                                        HATILLO             PR           00659
   331640 MIGDALIA BERRIOS SALGADO                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGDALIA BETANCOURT DE
   720428 JESUS                                       PO BOX 30378                                                                                                   SAN JUAN            PR           00929‐1378
   331641 MIGDALIA BONILLA ALICEA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720431 MIGDALIA BONILLA GONZALEZ                   BO CERRO GORDO               HC 59 BOX 6280                                                                    AGUADA              PR           00602
   331642 MIGDALIA BONILLA TORRES                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720433 MIGDALIA BORRERO RIVERA                     BUZON 428 CALLE REINITA                                                                                        AGUIRRE             PR           00704
   720437 MIGDALIA CALDERON VALDES                    VILLA PALMERAS               359 CALLE MERHOFF                                                                 SAN JUAN            PR           00915‐2524
   331643 MIGDALIA CALO RIVERA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331646 MIGDALIA CAMACHO AVILA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720438 MIGDALIA CAMACHO FONSECA                    ADM SERV GEN                 P O BOX 7428                                                                      SAN JUAN            PR           00916‐7428
          MIGDALIA CAMACHO
   331647 HERNANDEZ                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGDALIA CAMACHO
   331648 MONTANEZ                                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720439 MIGDALIA CAMBIER PEREZ                      PO BOX 9764                                                                                                    SAN JUAN            PR           00908
   331649 MIGDALIA CANALES                            REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720441 MIGDALIA CANCEL BURGOS                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331651 MIGDALIA CANCEL MARTINEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331652 MIGDALIA CANCEL TORRES                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          MIGDALIA CANDELARIO
   331653 MERCADO                                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720442 MIGDALIA CARATINI SOTO                      CENTRO COMERCIAL SAN JOSE    LOCAL 8A CARR 3                                                                          HUMACAO             PR           00791
   331654 MIGDALIA CARDONA                            REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720443 MIGDALIA CARDONA BENABE                     URB BRISAS DEL MAR           ACESO EQ‐1                                                                               LUQUILLO            PR           00773

   720444 MIGDALIA CARMONA MORALES 606 AVE BARBOSA                                                                                                                          SAN JUAN            PR           00928
          MIGDALIA CARRION
   720445 MALDONADO                BO CANTERA 716                                  CALLE MAGDALENA                                                                          SAN JUAN            PR           00915

   720446 MIGDALIA CASILLA FERNANDEZ                  P O BOX 667                                                                                                           HUMACAO             PR           00792
   720447 MIGDALIA CASILLAS                           PO BOX 667                                                                                                            HUMACAO             PR           00792
   720448 MIGDALIA CASTRO COTTO                       BOX 209                                                                                                               JAYUYA              PR           00664
   720449 MIGDALIA CENTENO                            URB SABANA DEL PALMAR        C 10 GUAYACAN                                                                            COMERIO             PR           00782

   331656 MIGDALIA CENTENO RODRIGUEZ REDACTED                    REDACTED                                        REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720453 MIGDALIA CINTRON CINTRON   HC 1 BOX 3976                                                                                                                          VILLALBA            PR           00766
                                     CHALETS DE SAN FERNANDO APT
   720454 MIGDALIA CINTRON GONZALEZ 1008                                                                                                                                    CAROLINA            PR           00987
   720455 MIGDALIA CLAUDIO           HC 30 BOX 36809                                                                                                                        SAN LORENZO         PR           00754
   720456 MIGDALIA CLAUDIO ADORNO    TMS 328 PO BOX 1283                                                                                                                    SAN LORENZO         PR           00754
   720457 MIGDALIA COLON             HC 3 BOX 11697                                                                                                                         JUANA DIAZ          PR           00795
          MIGDALIA COLON / SHERLEY
   720458 ANN MALDONADO              VILLA FONTANA PARK          5 L 8 BOSQUE DEL CONDADO                                                                                   CAROLINA            PR           00983
   720394 MIGDALIA COLON BURGOS      URB VILLA MARINA            A 51 CALLE 4                                                                                               GURABO              PR           00778
   720459 MIGDALIA COLON DIAZ        P O BOX 1389                                                                                                                           JUNCOS              PR           00777‐1389

   720460 MIGDALIA COLON ENCARNACION SAN ISIDRO                                    233 CALLE 1 PARC SAN ISIDRO                                                              CANOVANAS           PR           00729
   720462 MIGDALIA COLON LOPEZ       URB EL CEREZAL                                1604 CALLE INDO                                                                          SAN JUAN            PR           00926
   331657 MIGDALIA COLON ROSADO      REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331660 MIGDALIA CORDERO           REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720463 MIGDALIA CORDERO JAIMAN    HC 01 BOX 3651                                                                                                                         SANTA ISABEL        PR           00757
   720464 MIGDALIA CORREA MARTE      PO BOX 1292                                                                                                                            BAJADERO            PR           00616
   331661 MIGDALIA CORTES GONZALEZ   REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331662 MIGDALIA CORUJO RIVERA     REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331663 MIGDALIA COSME RIVERA      REDACTED                                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331664 MIGDALIA COTTO RODRIGUEZ                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720467 MIGDALIA COTTO SANCHEZ                      PO BOX 271                                                                                                            TRUJILLO ALTO       PR           00977

   720468 MIGDALIA CRESPO VALENTIN                    BO MANI                      191 CALLE CLAUDIO CARRERO                                                                MAYAGUEZ            PR           00680
   331665 MIGDALIA CRUZ AYALA                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331666 MIGDALIA CRUZ BATISTA                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720469 MIGDALIA CRUZ GONZALEZ                      P O BOX 2751                                                                                                          GUAYNABO            PR           00970
   331667 MIGDALIA CRUZ MONTES                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331668 MIGDALIA CRUZ PAGAN                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720472 MIGDALIA CRUZ REYES                         URB SANTA JUANITA DH 6       CALLE BABILONIA                                                                          BAYAMON             PR           00956
   720475 MIGDALIA CRUZ TORO                          SAN FRANCISCO COURTS         EDIF 7 APT 701                                                                           CABO ROJO           PR           00623
   720478 MIGDALIA CURVELO SOTO                       HC 3 BOX 55008                                                                                                        ARECIBO             PR           00612
                                                      URB VALLE HERMOSO SM 11 C/
   720479 MIGDALIA D BARNECETT RUIZ                   VIOLETA                                                                                                               HORMIGUEROS         PR           00660
   720480 MIGDALIA DAVILA APONTE                      URB SANTA MARIA              B 33 CALLE STA BARBARA                                                                   TOA BAJA            PR           00949



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  720481 MIGDALIA DAVILA ROBLES                       HC 1 BOX 515                                                                                               VILLALBA            PR           00766
  720482 MIGDALIA DAVILA VALLES                       PO BOX 6001 SUITE 049                                                                                      SALINAS             PR           00751

   720484 MIGDALIA DE JESUS CAMACHO                   2DA EXT SANTA ELENA      A 30 CALLE 1                                                                      GUAYANILLA          PR           00656
   720485 MIGDALIA DE JESUS DE JESUS                  BDA ROOSVELT             8 CALLE A FINAL                                                                   SAN LORENZO         PR           00754

   331670 MIGDALIA DE JESUS FIGUEROA                  REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   331672 MIGDALIA DE JESUS NIEVES                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   720486 MIGDALIA DE LA TORRE LOYOLA 123 CALLE SANTA FE                                                                                                         GUAYANILLA          PR           00656
          MIGDALIA DEL C ORTIZ
   331674 SANTIAGO                    REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   720488 MIGDALIA DEL S GARCIA LEBRON URB ROOSEVELT                           379 AVE HOSTOS                                                                    SAN JUAN            PR           00918
          MIGDALIA DEL S. GARCIA
   331675 LEBRON                       REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   720395 MIGDALIA DELGADO DE GOMEZ                   3RE EXT COUNTRY CLUB     HM 22 CALLE 254                                                                   CAROLINA            PR           00982
   720489 MIGDALIA DELGADO RIVERA                     1163 CALLE BOHEMIA                                                                                         SAN JUAN            PR           00920
   331678 MIGDALIA DELGADO SEGUI                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   720491 MIGDALIA DIAZ BATISTA                       PMB390                   PO BOX 30000                                                                      CANOVANAS           PR           00729
   331679 MIGDALIA DIAZ CINTRON                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   331680 MIGDALIA DIAZ DIAZ                          REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   720493 MIGDALIA DIAZ GORITS                        P O BOX 997                                                                                                COMERIO             PR           00782
   331681 MIGDALIA DIAZ MARRERO                       REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   331682 MIGDALIA DIAZ MATOS                         REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   720494 MIGDALIA DIAZ RIVERA                        URB VEVE CALZADA         F 20 CALLE 12                                                                     FAJARDO             PR           00738
   720495 MIGDALIA DIAZ SANTANA                       PO BOX 20642                                                                                               SAN JUAN            PR           00928
   720496 MIGDALIA DIAZ SOTO                          995 SIMPSON ST APT 3 H                                                                                     BRONX               NY           10459
          MIGDALIA E FERNANDEZ
   720498 MARTINEZ                                    P O BOX 3284                                                                                               GUAYNABO            PR           00970‐3284
   720500 MIGDALIA ESCALERA RIVERA                    ALTURA DE RIO GRANDE     14 L255 CALLE J                                                                   RIO GRANDE          PR           00745
   331683 MIGDALIA ESTRADA AYALA                      REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   331684 MIGDALIA ESTRADA SANTOS                     REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   720501 MIGDALIA FARGAS MORALES                     URB VILLA CAROLINA       800‐8 CALLE 529                                                                   CAROLINA            PR           00985

   331686 MIGDALIA FARINACCI MARTINEZ REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   331687 MIGDALIA FEBRES TAPIA       REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   720502 MIGDALIA FELICIANO GONZALEZ HC 2 BOX 7366                                                                                                              UTUADO              PR           00641
   720503 MIGDALIA FELICIANO PEREZ    HC 1 BOX 10803                                                                                                             GUAYANILLA          PR           00656

   331689 MIGDALIA FELICIANO VALENTIN REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   331690 MIGDALIA FERNANDEZ SANCHEZ REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   331691 MIGDALIA FIGUEROA CRESPO   REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   720507 MIGDALIA FIGUEROA GONZALEZ RES BRISAS DE CUPEY                       EDIF 12 APT 175                                                                   SAN JUAN            PR           00926
   331692 MIGDALIA FIGUEROA ORTIZ    REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   331693 MIGDALIA FIGUEROA RAMIREZ                   REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   331694 MIGDALIA FIGUEROA RIVERA                    REDACTED                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   720508 MIGDALIA FLORES                             PO BOX 7824                                                                                                SAN JUAN            PR           00916‐7824



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  331695 MIGDALIA FLORES CASTILLO                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  720509 MIGDALIA FLORES IGLESIAS                     P O BOX 305                                                                                                        GURABO              PR         00778
  331697 MIGDALIA FLORES PACHECO                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331698 MIGDALIA FONTANEZ BERRIOS                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MIGDALIA FUENTES
   720512 CONCEPCION                                  SICOSOCIAL TRUJILLO ALTO                                                                                           Hato Rey            PR         009360000
   720513 MIGDALIA FUENTES MORALES                    HC 67 BOX 112                                                                                                      BAYAMON             PR         00956
   720514 MIGDALIA GALI RIVERA                        URB EXTENSION COQUI        180 CALLE GUARAGUAO                                                                     AGUIRRE             PR         00704
   331699 MIGDALIA GALINDEZ                           REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720515 MIGDALIA GARCIA                             HC 3 BOX 7965                                                                                                      JUNCOS              PR         00777
   331700 MIGDALIA GARCIA ORTIZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331704 MIGDALIA GARIB DIAZ                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331705 MIGDALIA GELPI QUINONES                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720519 MIGDALIA GERENA VELEZ                       APARTADO 7005 PMB 114                                                                                              SAN SEBASTIAN       PR         00685
   720520 MIGDALIA GOMEZ DE JESUS                     PO BOX 67                                                                                                          SAN LORENZO         PR         00754

   720521 MIGDALIA GOMEZ RODRIGUEZ                    RES FERNANDO LUIS GARCIA   EDIF 26 APT 62                                                                          UTUADO              PR         00641
   720522 MIGDALIA GONZALEZ                           HC 01 BOX 31050                                                                                                    FLORIDA             PR         00650‐9700
          MIGDALIA GONZALEZ
   720525 CANDELARIA                                  HC 1 BOX 7350                                                                                                      BAJADERO            PR         00616
   331706 MIGDALIA GONZALEZ DIAZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331707 MIGDALIA GONZALEZ GUERRA                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720526 MIGDALIA GONZALEZ LUGO                      65 CALLE SERAFIN MENDEZ                                                                                            MOCA                PR         00676

   720529 MIGDALIA GONZALEZ MARTINEZ HC 2 BOX 9444                                                                                                                       GUAYNABO            PR         00971

   720530 MIGDALIA GONZALEZ MENDOZA PO BOX 1505                                                                                                                          JUNCOS              PR         00777
   331709 MIGDALIA GONZALEZ MOJICA  REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331710 Migdalia González Natal   REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720531 MIGDALIA GONZALEZ PELLOT  VISTA VERDE BZN 518                          CALLE 7                                                                                 AGUADILLA           PR         00603

   331712 MIGDALIA GONZALEZ RAMIREZ                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   720532 MIGDALIA GONZALEZ ROSA                      URB LA INMACULADA          270 CALLE MONSENOR BERRIOS                                                              VEGA ALTA           PR         00692
   720533 MIGDALIA GONZALEZ TORRES                    PMB 334                    PO BOX 1999                                                                             BARRANQUITAS        PR         00794
   720535 MIGDALIA GORDON                             TERRAZAS DE CAROLINA       T 15 CALLE 11                                                                           CAROLINA            PR         00985
   720536 MIGDALIA GOTAY                              URB SANTA ELENA            F 5 CALLE 7                                                                             YABUCOA             PR         00767

   720537 MIGDALIA GOYCOCHEA PEREZ                    HC 01 BOX 6214                                                                                                     SANTA ISABEL        PR         00757
   720538 MIGDALIA GREEN FELICIANO                    P O BOX 669                                                                                                        SANTA ISABEL        PR         00757‐0669
          MIGDALIA GUARDARRAMA
   720539 RIVERA                                      COND JARDINES DE BERWIND   EDIF D APT 1003                                                                         SAN JUAN            PR         00924
   331714 MIGDALIA GUINDIN TORO                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MIGDALIA HERMANDEZ
   720540 BEAUCHAMP                                   809 CALLE LOS INGENIEROS                                                                                           MAYAGUEZ            PR         00680
   331716 MIGDALIA HERNANDEZ                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   720541 MIGDALIA HERNANDEZ APONTE PO BOX 410                                                                                                                           MOCA                PR         00676
          MIGDALIA HERNANDEZ
   720543 CUADRADO                  P O BOX 1392                                                                                                                         RIO GRANDE          PR         00745




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          MIGDALIA HERNANDEZ
   331717 HERNANDEZ                                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720544 MIGDALIA HERNANDEZ NIEVES                   PO BOX 961                                                                                                         COMERIO             PR           00782

   331718 MIGDALIA HERNANDEZ RESTO                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331719 MIGDALIA HERNANDEZ REYES                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331720 MIGDALIA HERNANDEZ RIOS                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331721 MIGDALIA HERNANDEZ RIVAS                    REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720546 MIGDALIA HERNANDEZ RIVERA                   JARDINES DE CANOVANAS      D 21 CALLE 2                                                                            CANOVANAS           PR           00629

   720548 MIGDALIA HERNANDEZ ROSARIO PDA 15 APT 9                                913 CALLE CERRA                                                                         SAN JUAN            PR           00907
   720549 MIGDALIA HERNANDEZ SOTO    EXT COUNTRY CLUB                            MV 30 CALLE 409                                                                         CAROLINA            PR           00982

   720551 MIGDALIA HERNANDEZ VAZQUEZ VILLA CAROLINA                              171‐H18 CALLE 435                                                                       CAROLINA            PR           00985
   331722 MIGDALIA HERNANDEZ VIDOT   REDACTED                                    REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720552 MIGDALIA HERRERA CRESPO    HC 2 BOX 17073                                                                                                                      RIO GRANDE          PR           00745
   720553 MIGDALIA HIRALDO HANCE     RES MANUEL A PEREZ C 7                      EDIF 78                                                                                 SAN JUAN            PR           00929
          MIGDALIA I. JIMENEZ DE
   720555 RODRIGUEZ                  URB. LEVITTOWN LAKES                        HS 79 CALLE JUAN F. ACOSTA                                                              TOA BAJA            PR           00949

   331724 MIGDALIA IBARRA RODRIGUEZ                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331725 MIGDALIA IRIZARRY CLAVELL                   REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGDALIA IVETTE LEON
   720558 NOGUERAS                                    204 AVE FERNANDEZ GARCIA                                                                                           CAYEY               PR           00736‐4902
   720559 MIGDALIA J OLIVER RIOS                      URB VILLA GRANADA          486 CALLE VALLADOLID                                                                    SAN JUAN            PR           00923‐2708

   720560 MIGDALIA JIMENEZ HENANDEZ URB VILLA NEVAREZ                            323 CALLE 4                                                                             SAN JUAN            PR           00927
   720561 MIGDALIA JIMENEZ IRIZARRY    PO BOX 676                                                                                                                        ARROYO              PR           00714
   331726 MIGDALIA JIMENEZ MUNEZ       REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720562 MIGDALIA JIMENEZ NIEVES      HATO REY STATION                          PO BOX 739                                                                              HATO REY            PR           00919
   720563 MIGDALIA JUARBE MERCADO      8 CALLE REINA                                                                                                                     ISABELA             PR           00662
   720564 MIGDALIA LAGARCE LOPEZ       VILLA LOS SANTOS                          293 CALLE ONIX                                                                          ARECIBO             PR           00612
   720565 MIGDALIA LAGARES LOPEZ       VILLA LOS SANTOS                          293 CALLE ONIX                                                                          ARECIBO             PR           00612
   720567 MIGDALIA LEBRON LEBRON       PO BOX 3415                                                                                                                       JUNCOS              PR           00777
   331727 MIGDALIA LEON VICENTE        REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGDALIA LIZARDO Y JOARKARYS
   331728 SANTIAGO                     REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720568 MIGDALIA LOPEZ CARRASQUILLO DOS PINOS                                  407 CALLE ARIEL                                                                         SAN JUAN            PR           00923

   720569 MIGDALIA LOPEZ CONCEPCION                   VILLA VICTORIA             Q 21 CALLE 11                                                                           CAGUAS              PR           00725
   720570 MIGDALIA LOPEZ CRUZ                         PO BOX 140925                                                                                                      ARECIBO             PR           00614
   331730 MIGDALIA LOPEZ FIGUEROA                     REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331732 MIGDALIA LOPEZ GOMEZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331733 MIGDALIA LOPEZ GREVI                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720575 MIGDALIA LOPEZ ROSADO                       EXT COUNTRY CLUB           GT 22 CALLE 204                                                                         CAROLINA            PR           00982
   720576 MIGDALIA LOPEZ SERRANO                      APT 603                                                                                                            SABANA HOYOS        PR           00688
   331734 MIGDALIA LOPEZ VAZQUEZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331735 MIGDALIA LORENZO PEREZ                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720577 MIGDALIA LOZADA GARCIA                      P O BOX 459                                                                                                        GUAYNABO            PR           00970 0459




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   331736 MIGDALIA LOZADA GONZALEZ                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   331737 MIGDALIA LUGO ALMODOVAR                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      COND BOULEVARD DEL RIO APT
   720578 MIGDALIA LUGO MARTINEZ                      6318                                                                                                              GUAYNABO             PR           00971‐9220

   720579 MIGDALIA M LOUBRIEL ALICEA                  URB VALLE VERDE              AR 29 CALLE RIO SONADOR                                                              BAYAMON              PR           00961
   331738 MIGDALIA MAESTRE PEREZ                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331739 MIGDALIA MAISONET REYES                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   331740 MIGDALIA MAIZONET MARTINEZ REDACTED                                      REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   331741 MIGDALIA MALAVE HERNANDEZ REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331742 MIGDALIA MALAVE RIVERA    REDACTED                                       REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   720581 MIGDALIA MALDONADO ORTIZ                    F 3 URB VILLA CRISTINA                                                                                            COAMO                PR           00769
          MIGDALIA MALDONADO
   720582 SANTIAGO                                    HC 02 BOX 8382                                                                                                    AIBONITO             PR           00705

   720583 MIGDALIA MALDONADO VEGA                     28 AVE SAN MIGUEL                                                                                                 UTUADO               PR           00641
   720585 MIGDALIA MARICHAL LOPEZ                     BOX 61                                                                                                            QUEBRADILLAS         PR           00678
   331743 MIGDALIA MARIN GONZALEZ                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331744 MIGDALIA MARIN REYES                        REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   720586 MIGDALIA MARQUEZ MARTEL                     CUIDAD CENTRO                E 11 CALLE 2                                                                         CAROLINA             PR           00982
   331745 MIGDALIA MARRERO RIVERA                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   720587 MIGDALIA MARTELL VELEZ                      BOX 782                                                                                                           MAYAGUEZ             PR           00681
   331748 MIGDALIA MARTINEZ COLON                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   720589 MIGDALIA MARTINEZ FIGUEROA                  P O BOX 2354                                                                                                      VEGA BAJA            PR           00694 2354
   331749 MIGDALIA MARTINEZ LEON                      REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331750 MIGDALIA MARTINEZ OCASIO                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331751 MIGDALIA MARTINEZ ORTEGA                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MIGDALIA MARTINEZ
   720592 RODRIGUEZ                                   LOMA ALTA II                 N‐8 CALLE A                                                                          CAROLINA             PR           00985
   720593 MIGDALIA MARTINEZ SUAREZ                    HC 5 BOX 61801                                                                                                    MAYAGUEZ             PR           00708

   720594 MIGDALIA MARTIR RODRIGUEZ                   BO MARAVILLA NORTE           CARR 119 APARTADO 41                                                                 LAS MARIAS           PR           00670
   331753 MIGDALIA MATIAS ACEVEDO                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331754 MIGDALIA MATIAS ORTIZ                       REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   720597 MIGDALIA MEDINA SERRANO                     SALTO ARRIBA                 6 LA CONCHITA                                                                        UTUADO               PR           00641
   331755 MIGDALIA MELENDEZ                           REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MIGDALIA MELENDEZ
   331756 MALDONADO                                   REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331757 MIGDALIA MELENDEZ NIEVES                    REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   720600 MIGDALIA MELENDEZ PADRO                     HC 04 BOX 47685                                                                                                   CAGUAS               PR           00725‐9624

   720601 MIGDALIA MENDEZ FIGUEROA                    P O BOX 557                                                                                                       LAS MARIAS           PR           00670
   720602 MIGDALIA MENDOZA                            APRIL GARDENS                2J 19 CALLE 28                                                                       LAS PIEDRAS          PR           00771
          MIGDALIA MERCADO
   720603 MALDONADO                                   705 S W 88TH AVENUE                                                                                               PEMBROKE PINES       FL           33025
   331758 MIGDALIA MERCADO RIVERA                     REDACTED                     REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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   331759 MIGDALIA MERCADO SANCHEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGDALIA MIRANDA INSURANCE
   720606 AGENT                      PMB 143 AVENIDA ESMERALDA                                                                                                     GUAYNABO            PR           00969
   720607 MIGDALIA MOLINA RIVERA     URB LAS LOMAS                               1804 CALLE 12 SO                                                                  SAN JUAN            PR           00921
   720608 MIGDALIA MOLINA SANCHEZ    JARD DE CUPEY I                             G 4 CALLE 11                                                                      CAYEY               PR           00736
   331762 MIGDALIA MOLINA VEGA       REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720609 MIGDALIA MONSERRATE CONDE PHC 2 BOX 10062                                                                                                                GUAYNABO            PR           00971
   720610 MIGDALIA MONTES CASIANO   COUNTRY CLUB                                 953 HYPOLAIS                                                                      SAN JUAN            PR           00924
                                    634 LAS VILLAS DE CIUDAD
   720611 MIGDALIA MORALES          JARDIN                                                                                                                         BAYAMON             PR           00957

   331763 MIGDALIA MORALES ALEJANDRO REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331765 MIGDALIA MORALES CONTRERAS REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720612 MIGDALIA MORALES CRUZ      BO GUARAGUAO                                193 CARR 833                                                                      GUAYNABO            PR           00970

   331766 MIGDALIA MORALES GONZALEZ                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720613 MIGDALIA MORALES MARIN                      HC 02 BOX 13927                                                                                              LAJAS               PR           00667 9608
   720614 MIGDALIA MORALES ORENGO                     REPARTO ESPERANZA          J 16 CALLE 2                                                                      YAUCO               PR           00698
   331768 MIGDALIA MORALES PENA                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331769 MIGDALIA MORALES SOTO                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331770 MIGDALIA MORETVELAZQUEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331771 MIGDALIA MOULIER SANTANA                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331773 MIGDALIA MUNOZ SERRA                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331774 MIGDALIA NAVARRETO MENDEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720616 MIGDALIA NAVARRO CASTILLO                   VILLA BLANCA               84 CALLE AMATISTA                                                                 CAGUAS              PR           00725

   331776 MIGDALIA NAZARIO MACHUCA                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720617 MIGDALIA NEGRON VIRUET                      PO BOX 2164                                                                                                  VEGA ALTA           PR           00692
   720618 MIGDALIA NIEVES                             P O BOX 465                                                                                                  QUEBRADILLAS        PR           00678
   720619 MIGDALIA NIEVES ACEVEDO                     URB JARDINES DE CAROLINA   D36 CALLE D                                                                       CAROLINA            PR           00987
   720620 MIGDALIA NIEVES CABAN                       URB ATENAS                 J 18 VELEZ ST                                                                     MANATI              PR           00674
   331777 MIGDALIA NIEVES CARDONA                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720621 MIGDALIA NIEVES FIGUEROA                    P O BOX 7428                                                                                                 SAN JUAN            PR           00916
   331778 MIGDALIA NIEVES GONZALEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720623 MIGDALIA NIEVES MORALES                     BO SALTOS 1                HC 6 BOX 17313                                                                    SAN SEBASTIAN       PR           00685
   720625 MIGDALIA NIEVES PABON                       HC 3 BOX 34087                                                                                               AGUADILLA           PR           00603
   331779 MIGDALIA NIEVES PENA                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720626 MIGDALIA NIEVES VIDAL                       URB VISTA VERDE            CALLE 11 BOX 444                                                                  AGUADILLA           PR           00603
   331780 MIGDALIA NUNEZ NUNEZ                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331781 MIGDALIA NUNEZ SANTIAGO                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720628 MIGDALIA OQUENDO COTTO                      PO BOX 803                                                                                                   GUAYNABO            PR           00970
   720629 MIGDALIA ORTIZ                              3 CALLE PERU                                                                                                 AGUADILLA           PR           00603
   331782 MIGDALIA ORTIZ MARTINEZ                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720631 MIGDALIA ORTIZ ORTIZ                        HC 02 BOX 9027                                                                                               AIBONITO            PR           00705
   720632 MIGDALIA ORTIZ RAMOS                        SANTA JUANITA              DD 11 CALLE OESTE 28                                                              BAYAMON             PR           00956
   331783 MIGDALIA ORTIZ RIVERA                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720635 MIGDALIA ORTIZ RODRIGUEZ                    P O BOX 167                                                                                                  COROZAL             PR           00783‐0167
   331784 MIGDALIA ORTIZ TORRES                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  720637 MIGDALIA OSORIO COLON                        ALTURAS DE REMANSO            K 1 CALLE MENDOZA                                                                     SAN JUAN            PR         00926‐6218
  720639 MIGDALIA OTERO CRUZ                          2DA SECC LEVITOWN             L 2867 PASEO AUERA                                                                    TOA BAJA            PR         00949
  331785 MIGDALIA OTERO QUINONES                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  331786 MIGDALIA OTERO SANTIAGO                      REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   720642 MIGDALIA PACHECO RODRIGUEZ URB JAIME C RODRIGUEZ                          G 7 CALLE 1                                                                           YABUCOA             PR         00767
   720645 MIGDALIA PAGAN             P O BOX 2445                                                                                                                         GUAYNABO            PR         00970
   720646 MIGDALIA PAGAN APONTE      HC 2 BOX 7225                                                                                                                        CIALES              PR         00638

   331787 MIGDALIA PAGAN HERNANDEZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720647 MIGDALIA PAGAN MARFISI                      URB LA GUADALUPE              E 13 CALLE MILAGROSA                                                                  PONCE               PR         00731

   720648 MIGDALIA PAGAN MARTINEZ                     COND TORRES DE ANDALUCIA      TORRE II APARTAMENTO 801                                                              RIO PIEDRAS         PR         00926
   720649 MIGDALIA PAGAN MELENDEZ                     RES CAROLINA WALK UP          EIDF 1 P4 APT 4                                                                       CAROLINA            PR         00985
   720650 MIGDALIA PAGAN PABON                        HC 01 BOX 27361                                                                                                     VEGA BAJA           PR         00693
                                                                                    919 CALLE ANTONIO DE LOS
   720651 MIGDALIA PAGAN RIVERA                       EL COMANDANTE                 REYES                                                                                 SAN JUAN            PR         00927
   720652 MIGDALIA PAGAN SANTIAGO                     PARC NUEVAS                   6‐36 CALLE E                                                                          ARECIBO             PR         00612

   720653 MIGDALIA PAGAN VEGA                         PARQUE CENTRAL F 7 CALLE 65                                                                                         CAGUAS              PR         00725
   720654 MIGDALIA PALER SULSONA                      P O BOX 372953                                                                                                      CAYEY               PR         00737
   331788 MIGDALIA PANTOJA JIMENEZ                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331789 MIGDALIA PASTRANA CANCEL                    REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331790 MIGDALIA PASTRANA PAGAN                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331791 MIGDALIA PEDROSA RIVERA                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331792 MIGDALIA PENA LOPEZ                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720656 MIGDALIA PERALES REYAS                      HC 1 BOX 6946                                                                                                       LAS PIEDRAS         PR         00771
   720657 MIGDALIA PEREZ                              HC 71 BOX 2559                                                                                                      NARANJITO           PR         00719
   720658 MIGDALIA PEREZ ALEJANDRO                    COND LA SIERRA DEL SOL        100 AVE SIERRA APTO D 61                                                              SAN JUAN            PR         00926
   720659 MIGDALIA PEREZ ALVAREZ                      BO BELGICA                    5705 CALLE CHILE                                                                      PONCE               PR         00717‐1735
   720661 MIGDALIA PEREZ ARBELO                       154 CALLE ESTRELLA                                                                                                  CAMUY               PR         00627
   331793 MIGDALIA PEREZ DE JESUS                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720396 MIGDALIA PEREZ ESCALERA                     PO BOX 20407                                                                                                        SAN JUAN            PR         00926
   720662 MIGDALIA PEREZ FEBRES                       HC 1 BOX 11566                                                                                                      CAROLINA            PR         00985
   720663 MIGDALIA PEREZ GARCIA                       HC 71 BOX 2559                                                                                                      NARANJITO           PR         00719
   331794 MIGDALIA PEREZ MARTINEZ                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720666 MIGDALIA PEREZ VELEZ                        BO ZENO GANDIA                45 CALLE HEROES                                                                       ARECIBO             PR         00612
   720667 MIGDALIA PEREZ VILLANUEVA                   HC 59 BOX 4516                                                                                                      AGUADA              PR         00602
   331795 MIGDALIA PINERO VELEZ                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720668 MIGDALIA PLAZA GONZALEZ                     HC 01 BOX 5177                                                                                                      JAYUYA              PR         00664
   720669 MIGDALIA PLAZA TOLEDO                       URB LAS DELICIAS              2408 CALLE VALDIVIESO                                                                 PONCE               PR         00728
   720671 MIGDALIA QUILES MEDINA                      HC 01 BOX 2424                                                                                                      JAYUYA              PR         00664
   331798 MIGDALIA RAMIREZ MEDINA                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720675 MIGDALIA RAMOS CORDERO                      URB VILLA FONTANA             VIA 67 3KN 36                                                                         CAROLINA            PR         00983
   331799 MIGDALIA RAMOS CRUZ                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720676 MIGDALIA RAMOS FIGUEROA                     URB VILLA COOPERATIVA         G 19 CALLE 9                                                                          CAROLINA            PR         00985
   720677 MIGDALIA RAMOS RAMOS                        P O BOX 1230                                                                                                        TOA ALTA            PR         00954
   331800 MIGDALIA RAMOS RIVERA                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   720678 MIGDALIA RAMOS RODRIGUEZ                    VILLAS DE CASTRO              CC12 CALLE 21                                                                         CAGUAS              PR         00725
   720680 MIGDALIA REYES CHEVERE                      1 CALLE JOSE VALIENTE                                                                                               COROZAL             PR         00783
   331801 MIGDALIA REYES COSS                         REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720682 MIGDALIA REYES MELENDEZ                     BO RIO ABAJO                  BUZ 2058                                                                              CIDRA               PR         00739



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  331802 MIGDALIA REYES RONDON                         REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  720684 MIGDALIA RIOS JIMENEZ                         VISTA DEL CONVENTO    D 18 CALLE 2                                                                         FAJARDO              PR         00738
  720685 MIGDALIA RIVERA                               RES VISTA HERMOSA     EDIF 42 APT 534                                                                      SAN JUAN             PR         00918
         MIGDALIA RIVERA / HECTOR L
  331803 SANTIAGO                                      REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  331804 MIGDALIA RIVERA AVILES                        REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  720686 MIGDALIA RIVERA AYALA                         PO BOX 1565                                                                                                CAROLINA             PR         00984
  720687 MIGDALIA RIVERA BALLESTER                     PO BOX 1543                                                                                                HATILLO              PR         00659
  720688 MIGDALIA RIVERA CRUZ                          HILL BROTHERS         344 CALLE 1                                                                          SAN JUAN             PR         00924
  720689 MIGDALIA RIVERA CUEVAS                        PO BOX 601                                                                                                 HORMIGUEROS          PR         00660
  331806 MIGDALIA RIVERA LOPEZ                         REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  331807 MIGDALIA RIVERA MARTINEZ                      REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  331808 MIGDALIA RIVERA MELENDEZ                      REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  331811 MIGDALIA RIVERA NEGRON                        REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  331812 MIGDALIA RIVERA ORTIZ                         REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  720692 MIGDALIA RIVERA PIZARRO                       RR 04 BOX 26175                                                                                            TOA ALTA             PR         00953‐9402

   331814 MIGDALIA RIVERA RODRIGUEZ                    REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   331815 MIGDALIA RIVERA SANCHEZ                      REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MIGDALIA RIVERA SANCHEZ &
   331817 LUIS TOUS                                    REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   720695 MIGDALIA RIVERA SANTANA                      HC 4 BOX 6855                                                                                              COMERIO              PR         00782
   331818 MIGDALIA RIVERA SANTIAGO                     REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   720696 MIGDALIA RIVERA SANTOS                       BOX 1107 BO BOTIJAS                                                                                        OROCOVIS             PR         00720
   720698 MIGDALIA RIVERA VEGA                         BO LAS VEGAS          H 18 CALLE 8                                                                         CATANO               PR         00962
   720699 MIGDALIA ROBLES GONZALEZ                     BO PUGNADO            RR 02 BOX 6063                                                                       MANATI               PR         00674
   331819 MIGDALIA ROBLES PEREZ                        REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                                             ADM. DE DES.
   720701 MIGDALIA RODRIGUEZ                           A/C: ALBERTO REYES    SOCIOECONOMICO            DEPTO DE LA FAMILIA                                        SAN JUAN             PR         00910‐0800

   331820 MIGDALIA RODRIGUEZ CASTRO                    REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   720705 MIGDALIA RODRIGUEZ CORDERO SANTA CATALINA                          K 1 CALLE 4                                                                          BAYAMON              PR         00957‐1915
          MIGDALIA RODRIGUEZ
   331822 FIGUEROA                   REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MIGDALIA RODRIGUEZ
   720707 GONZALEZ                   URB PUERTO NUEVO                        514 CALLE BALEARES                                                                   SAN JUAN             PR         00920‐4018

   720709 MIGDALIA RODRIGUEZ JIMENEZ URB REPARTO CAGUAX                      F 41 CALLE BOHIO                                                                     CAGUAS               PR         00725

   720711 MIGDALIA RODRIGUEZ OCASIO                    URB LEVITTOWN         BB 10 CALLE COLLY TOSTE                                                              TOA BAJA             PR         00949

   331824 MIGDALIA RODRIGUEZ RAMIREZ REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   331825 MIGDALIA RODRIGUEZ RAMOS                     REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   720712 MIGDALIA RODRIGUEZ RIVERA                    G21 URB BELLA VISTA                                                                                        PONCE                PR         00731
          MIGDALIA RODRIGUEZ
   331827 RODRIGUEZ                                    REDACTED              REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   720715 MIGDALIA RODRIGUEZ ROSARIO LAS GRANJAS                             BOX 26                                                                               VEGA BAJA            PR         00693
          MIGDALIA RODRIGUEZ
   331828 SEPULVEDA                  REDACTED                                REDACTED                  REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  720717 MIGDALIA RODRIGUEZ TOBI                      PO BOX 321                                                                                                          BAJADERO            PR           00616

   720718 MIGDALIA RODRIGUEZ TORRES                   COND SKY TOWERS I APT 1013   CALLE HORTENCIA                                                                        SAN JUAN            PR           00926‐6504

   331829 MIGDALIA RODRIGUEZ TRINIDAD REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   720719 MIGDALIA ROHENA DELGADO     HC 3 BOX 12812                                                                                                                      CAROLINA            PR           00987
   331830 MIGDALIA ROMAN TERRON       REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   331831 MIGDALIA ROMAN VAZQUEZ      REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   720720 MIGDALIA ROMERO             PO BOX 21365                                                                                                                        SAN JUAN            PR           00928
   331832 MIGDALIA ROMERO PEREZ       REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   720722 MIGDALIA ROSA OLIVO         PO BOX 932                                                                                                                          AGUADILLA           PR           00605
   331834 MIGDALIA ROSA RODRIGEZ      REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   331839 MIGDALIA ROSADO DIAZ        REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   720725 MIGDALIA ROSADO GONZALEZ                    PO BOX 341                                                                                                          GURABO              PR           00778
                                                      COND CENTURY GARDEN APT A‐
   720726 MIGDALIA ROSADO MARRERO                     30                                                                                                                  TOA BAJA            PR           00949
   331840 MIGDALIA ROSADO MOLINA                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   331841 MIGDALIA ROSADO ORTIZ                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   331842 MIGDALIA ROSADO RIVERA                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   331843 MIGDALIA ROSADO RODRIGUEZ                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   720728 MIGDALIA ROSARIO COSME                      BOX 868‐A FACTOR 1                                                                                                  ARECIBO             PR           00612
   331844 MIGDALIA ROSARIO ORTIZ                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   331845 MIGDALIA ROSARIO PAGAN                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   720397 MIGDALIA ROSARIO VICENTE                    URB IDAMARIS GARDENS         CALLE MIGUEL A GOMEZ C 39                                                              CAGUAS              PR           00725
          MIGDALIA ROSARIO/ DIEGO
   331847 TORRES/ KYRAMI                              REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   720732 MIGDALIA RUIZ MARTINEZ                      P O BOX 424                                                                                                         JUANA DIAZ          PR           00795
   720733 MIGDALIA RUIZ PEREZ                         PARC EL MANI                 395 CALLE JUAN RODRIGUEZ                                                               MAYAGUEZ            PR           00682
   331848 MIGDALIA RUIZ VALLE                         REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   720734 MIGDALIA RUIZ VEGA                          HC 1 BOX 6461                                                                                                       BARCELONETA         PR           00617

   331849 MIGDALIA S GONZALEZ CARRERO REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   720735 MIGDALIA S POLANCO MILLAN                   86 GENARO CAUTINO                                                                                                   GUAYAMA             PR           00784
   331850 MIGDALIA S SOTO CHABRIER                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   331851 MIGDALIA SANCHEZ                            REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   720737 MIGDALIA SANCHEZ ALGARIN                    VILLA PALMERAS               277 CALLE COLTON                                                                       SAN JUAN            PR           00915
   331852 MIGDALIA SANCHEZ BENITEZ                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   331853 MIGDALIA SANCHEZ COLON                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   331854 MIGDALIA SANCHEZ GARCIA                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   720739 MIGDALIA SANCHEZ ROSARIO                    HC 1 BOX 5001                                                                                                       CIALES              PR           00638
   720740 MIGDALIA SANCHEZ VALDES                     C.S.M. BAYAMON                                                                                                      Hato Rey            PR           00936
   331856 MIGDALIA SANTIAGO                           REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   331857 MIGDALIA SANTIAGO ACOSTA                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   720743 MIGDALIA SANTIAGO FUENTES                   COND CASA DEL MAR II         APTO 2610                                                                              RIO GRANDE          PR           00745

   331858 MIGDALIA SANTIAGO HEREDIA                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MIGDALIA SANTIAGO
   331859 HERNANDEZ                                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED



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   720744 MIGDALIA SANTIAGO MENDOZA                   BO BEATRIZ                  BZN 5764                                                                               CIDRA                PR           00739
   720745 MIGDALIA SANTIAGO RESTO                     HC 3 BOX 10438                                                                                                     COMERIO              PR           00782
   331860 MIGDALIA SANTIAGO RIVERA                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   720398 MIGDALIA SANTIAGO RIVERA                    480 CALLE EDDIE GRACIA                                                                                             SAN JUAN             PR           00918
   331861 MIGDALIA SANTIAGO ROMAN                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   720747 MIGDALIA SANTIAGO SEDA                      URB SAN ANTONIO             13 B CALLE 2                                                                           AGUAS BUENAS         PR           00703
          MIGDALIA SANTIAGO
   331862 VELAZQUEZ                                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   720749 MIGDALIA SANTOS GONZALEZ                    HC 1 BOX 7952                                                                                                      SALINAS              PR           00751
   331864 MIGDALIA SANTOS MIRANDA                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331865 MIGDALIA SANTOS ORTIZ                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   720750 MIGDALIA SEGUI CORCHADO                     6 SECTOR MARCHADO                                                                                                  ISABELA              PR           00662‐4548
   331866 MIGDALIA SEIJO MARTINEZ                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   720751 MIGDALIA SEMIDEY NAVARRO                    EXTENSION LA CARMEN         A‐10 EXT                                                                               SALINAS              PR           00751

   720752 MIGDALIA SEPULVEDA BENITES                  PARCELAS AMADEO             BOX 1 CALLE A2                                                                         VEGA BAJA            PR           00693

   720753 MIGDALIA SEPULVEDA IRIZARRY HC 06 BOX 4677 COTO LAUREL                                                                                                         PONCE                PR           00780‐9507

   720754 MIGDALIA SEPULVEDA VARGAS                   PARCELAS CAROLINA         HC 02 BOX 13095                                                                          SAN GERMAN           PR           00683
   720755 MIGDALIA SERRANO                            SIERRA BAYAMON            2 CALLE 82 BLQ 96                                                                        BAYAMON              PR           00961
   720756 MIGDALIA SERRANO ALICEA                     URB CAGUAS NORTE          A 19 CALLE BELEN                                                                         CAGUAS               PR           00725
   720757 MIGDALIA SERRANO CANCEL                     PO BOX 238                                                                                                         VEGA BAJA            PR           00694
   331867 MIGDALIA SERRANO COLON                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   720758 MIGDALIA SERRANO PEREZ                      REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                      ALTS BORINQUEN GARDENS MM
   720759 MIGDALIA SERVILLA ORTIZ                     16                        CALLE SUNFLOWER                                                                          SAN JUAN             PR           00926
   720760 MIGDALIA SIERRA                             HC 03 BOX 41659                                                                                                    CAGUAS               PR           00725‐9743
   331869 MIGDALIA SIERRA MATOS                       REDACTED                  REDACTED                      REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   720761 MIGDALIA SOLER GONZALEZ                     PO BOX 9447 COTTO STATION                                                                                          ARECIBO              PR           00613
   331870 MIGDALIA SOLER RAMOS                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   720762 MIGDALIA SONERA RODRIGUEZ HC 01 BOX 4005                                                                                                                       QUEBRADILLAS         PR           00678 9505
          MIGDALIA SORRENTINI Y WILSON
   331871 SORRENTINI                   REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   331872 MIGDALIA SOTO FRANCO         REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   720763 MIGDALIA SOTO LEDESMA                       BORINQUEN TOWER 11          APTO 1312 CAPARRA HEIGHTS                                                              SAN JUAN             PR           00922
   720764 MIGDALIA SOTO MALAVE                        HC 1 BOX 5087                                                                                                      SANTA ISABEL         PR           00757
   720765 MIGDALIA SOTO MARTINEZ                      HC 763 BOX 3799                                                                                                    PATILLAS             PR           00723
   331873 MIGDALIA SOTO MATIAS                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   720399 MIGDALIA SOTO MATIAS                        A 29 CALLE 1                                                                                                       AGUADA               PR           00602
   720767 MIGDALIA SOTO MEJIAS                        URB LOS ALMENDROS EC 28     CALLE ROBLES                                                                           BAYAMON              PR           00961
   331874 MIGDALIA SUAREZ UGARTE                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   720771 MIGDALIA T ORTIZ CARRILLO                   BO LA PLENA E 46            CALLE MARGINAL                                                                         MERCEDITA            PR           00715
   331876 MIGDALIA T ORTIZ MALAVI                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   720772 MIGDALIA TAVERAS DE ABREU                   PO BOX 9033                                                                                                        SAN JUAN             PR           00908
   331877 MIGDALIA TIRADO RIVERA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   720773 MIGDALIA TIRADO SOSTRE                      P O BOX 1541                                                                                                       VEGA BAJA            PR           00693
   331878 MIGDALIA TORRES                             REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  720774 MIGDALIA TORRES CALAFF                       HC 02 BOX 23300                                                                                                         AGUADILLA         PR         00603
  331879 MIGDALIA TORRES CRUZ                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   720775 MIGDALIA TORRES DE HOSTOS                   RR 4 BOX 620                                                                                                            BAYAMON           PR         00956
   331880 MIGDALIA TORRES FIGUEROA                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   331881 MIGDALIA TORRES GARCIA                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   331882 MIGDALIA TORRES LAMBERTY                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   720779 MIGDALIA TORRES MONTA¥EZ                    URB SAN TOMAS                  G28 CALLE PRINCIPAL                                                                      PONCE             PR         00716
   720780 MIGDALIA TORRES PAGAN                       HC 03 BOX 15163                                                                                                         YAUCO             PR         00768
   720781 MIGDALIA TORRES PEREZ                       ALTURAS HATO NUEVO             8 CALLE 2                                                                                GURABO            PR         00778
   331883 MIGDALIA TORRES RAMOS                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   720782 MIGDALIA TORRES RIVERA                      PARAISO FLORAL COURT           1552 TH 10 PARANA                                                                        SAN JUAN          PR         00926
   331884 MIGDALIA TORRES ROCHE                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   331885 MIGDALIA TORRES ROMAN                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   720783 MIGDALIA TORRES ROSADO                      P O BOX 560820                                                                                                          GUAYANILLA        PR         00656
   720784 MIGDALIA TORRES SANTIAGO                    P O BOX 387061                                                                                                          SAN JUAN          PR         00938‐7061
   331886 MIGDALIA TRABAL LOPEZ                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MIGDALIA UMPIERRE                           2012 CALLE FLAMBOYAN APT
   720785 RODRIGUEZ                                   201                                                                                                                     SAN JUAN          PR         00915
          MIGDALIA VALDERRAMA
   720786 HERNANDEZ                                   PO BOX 21365                                                                                                            SAN JUAN          PR         00926‐1365

   720788 MIGDALIA VALENTIN PERULLERO HC 5 BOX 42501                                                                                                                          SAN SEBASTIAN     PR         00685
   720789 MIGDALIA VALENTIN SOTO      HC 5 BOX 42501                                                                                                                          SAN SEBASTIAN     PR         00685
   331888 MIGDALIA VALLE RAMOS        REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   720790 MIGDALIA VARELA RUIZ        P O BOX 249                                                                                                                             GUAYNABO          PR         00970‐0249
          MIGDALIA VARGAS                                                            N10 CALLE 14 URB CASTELLANA
   720791 ENCARNACION                 CASTELLANA GARDENS                             GDN                                                                                      CAROLINA          PR         00983
   331889 MIGDALIA VARGAS ROSADO      REDACTED                                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MIGDALIA VAZQUEZ /
   720793 ALEJANDRO AVILA V           LEVITTOWN                                      GG 41 CALLE DR VASSALLO                                                                  TOA BAJA          PR         00949

   720796 MIGDALIA VAZQUEZ GUADALUPE PUERTO NUEVO                                    1000 CALLE 14 NE                                                                         SAN JUAN          PR         00922

   331890 MIGDALIA VAZQUEZ GUEVARA                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   720797 MIGDALIA VAZQUEZ HERNANDEZ URB COLINAS METROPOLITANAS M7 CALLE GUILARTE                                                                                             GUAYNABO          PR         00969
   720798 MIGDALIA VAZQUEZ LEON      PO BOX 490                                                                                                                               CAYEY             PR         00737
   720799 MIGDALIA VAZQUEZ LOPEZ     URB RIO PIEDRAS HEIGHTS    1701 CALLE TINTO                                                                                              SAN JUAN          PR         00926

   720800 MIGDALIA VAZQUEZ NIEVES                     URB COUNTRY CLUB               HN 18 CALLE AVE COMANDANTE                                                               CAROLINA          PR         00982
   720801 MIGDALIA VAZQUEZ ORTEGA                     PO BOX 270                                                                                                              TOA ALTA          PR         00953
   331891 MIGDALIA VAZQUEZ TORRES                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   331892 MIGDALIA VAZQUEZ VAZQUEZ                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   720803 MIGDALIA VEGA GALARZA                       HC 8 BOX 49822                                                                                                          CAGUAS            PR         00725
   331894 MIGDALIA VEGA RIVERA                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      A 11 URB VILLAS PATILLAS APT
   720805 MIGDALIA VELAZQUEZ                          49                                                                                                                      PATILLAS          PR         00723
   720806 MIGDALIA VELEZ                              HC 01 BOX 4785‐13                                                                                                       CAMUY             PR         00627

   331898 MIGDALIA VENTURA MELENDEZ REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  331899 MIGDALIA VICENTE RUIZ                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  331901 MIGDALIA VIDAL                               REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  720808 MIGDALIA VIERA TELLADO                       P O BOX 668                                                                                                    FAJARDO             PR         00738
  720809 MIGDALIA VILLANUEVA                          COND MELIYAN               APT 1202                                                                            SAN JUAN            PR         00921
         MIGDALIA VIVE & ANTONIO
  331902 RIVERA                                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   720811 MIGDALIA Y SANTOS PACHECO                   URB ALTS DE RIO GRANDE     C/ 25 Z‐1399                                                                        RIO GRANDE          PR         00745
          MIGDALIA Y. ECHEVARRIA
   331903 QUINONES                                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720812 MIGDALIA ZAYAS ROSARIO                      64 CALLE PALMER                                                                                                CIALES              PR         00638
   331904 MIGDALIA ZENON COTTO                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331905 MIGDALIANA BLANCO MARTINEZ REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720814 MIGDALICE CHIRINOS         4‐17 VILLA NITZA                                                                                                                MANATI              PR         00674
   720815 MIGDALIS CABRERA GARCIA    19 C/BDA JASON                                                                                                                  COROZAL             PR         00783

   331906 MIGDALIS MADONADO COLON                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MIGDALIS MALDONADO
   331907 GUZMAN                                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720817 MIGDALISA CARDEN BON                        URB LOS MONTES             144 CALLE ZARZAL                                                                    DORADO              PR         00646
   720818 MIGDALIZ CARO AVILEZ                        HC 56 BOX 36075                                                                                                AGUADA              PR         00602
   720819 MIGDALIZ ORTIZ MARTINEZ                     PO BOX 192                                                                                                     CAYEY               PR         00920
   331909 MIGDALIZ VELEZ REYES                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720820 MIGDALLY MOLINA FEBUS                       C 12 MANSIONES DE BAIROA                                                                                       CAGUAS              PR         00725
   720822 MIGDANIZ RIVERA LUGO                        HC 1 BOX 6351                                                                                                  YAUCO               PR         00698
   331911 MIGDARELIS DE JESUS DIAZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MIGDELINA SANTOS
   331912 MALDONADO                                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331913 MIGDIEL BETANCOURT                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331914 MIGDOEL MORALES FIGUEROA                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331915 MIGDOEL RODRIGUEZ RIVERA                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331916 MIGDOEL ROSA COLON                          REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720827 MIGDOEL SANCHEZ PREKS                       JARDINES DE CAPARRA        WW 2 CALLE 18                                                                       BAYAMON             PR         00959‐7616

   331917 MIGDONIA SERRANO QUINONES REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   720828 MIGDONIA TORRES BERMUDEZ                    HC 1 BOX 3962                                                                                                  MAUNABO             PR         00707
          MIGDONIO HERNANDEZ
   720829 HERNANDEZ                                   BO TOITA SEC LA MERCED     CARR 14 KM 65                                                                       CAYEY               PR         00736

   720830 MIGDONIO JUSINO MELENDEZ                    70 CALLE LAJAS                                                                                                 ENSENADA            PR         00647‐0242
   331919 MIGDORIS TORRES MARTINEZ                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   331920 MIGDY M RODRIGUEZ GOMEZ                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331928 MIGLIZA E LOZADA MUJICA                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720831 MIGLORY CONSTRUCTION                        P O BOX 1608                                                                                                   YAUCO               PR         00698
   720832 MIGLYN N RIVERA                             IMBERY                     24 CALLE 2                                                                          BARCELONETA         PR         00617
          MIGNA HERNANDEZ
   331929 BETANCOURT                                  REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   331930 MIGNA I MARTINEZ PADILLA                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720834 MIGNA I MATOS ORTIZ                         BO GUZMAN SECT MOROVIZ     HC 03 BOX 19010                                                                     RIO GRANDE          PR         00745



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   720835 MIGNA L ILARRAZA RODRIGUEZ                  APARTADO 962                                                                                                      VIEQUEZ             PR           00765
   331932 MIGNA L VALLES ORTIZ                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331933 MIGNA L. RIVERA GARCIA                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGNA MAGALI VARGAS
   331934 QUINONES                                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331935 MIGNA N SALVA CAMACHO                       REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331936 MIGNA QUILES VILLAFANE                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720836 MIGNA R PEREZ TOLEDO                        P O BOX 1764                                                                                                      HATILLO             PR           00659‐8764
          MIGNA RODRIGUEZ
   331937 MALDONADO                                   REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331938 MIGNA S COLON MORENO                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720837 MIGNA S DELVALLE VAZQUEZ                    HC 07 BOX 357230                                                                                                  CAGUAS              PR           00727‐7804
   720838 MIGNALIA I REYES SANTIAGO                   COCO VIEJO               133 CALLE PALES MATOS                                                                    SALINAS             PR           00751
   331940 MIGNALIS TORRES MOJICA                      REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGNELIZA MORALES
   720839 MALDONADO                                   PO BOX 1033                                                                                                       UTUADO              PR           00641
                                                                               CARR ESTATAL 874 PARCELA H4
   720840 MIGNELLY SANTANA BERRIOS                    VILLA JUSTICIA           APT 5                                                                                    CAROLINA            PR           00985

   331942 MIGNOLIA DE LA ROSA NUNEZ                   REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331943 MIGNOLIA PAULINO AQUINO                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720841 MIGNON D MUNDY                              P O BOX 675                                                                                                       PUNTA SANTIAGO      PR           00741
          MIGNORA CAMARA A/C MARIA
   720843 M RODRIGUEZ                                 RR 4 BOX 543                                                                                                      BAYAMON             PR           00956

   720844 MIGNUCCI & PEREZ‐GUISTI                     HOME MORTGAGE PLAZA      268 AVE PONCE DE LEON STE 800                                                            HATO REY            PR           00918
   331944 MIGNUCCI SANCHEZ BONNIN                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331946 MIGRANT HEALTH CENTER                       P O BOX 7128                                                                                                      MAYAGUEZ            PR           00681
          MIGRANT HEALTH CENTER W
   331947 REGION                                      P.O. BOX 7128                                                                                                     MAYAGUEZ            PR           00681‐7128
          MIGRANT HEALTH CENTER
   331948 WESTERN REGION INC                          P O BOX 190                                                                                                       MAYAGUEZ            PR           00680
   720846 MIGRELIS RAMOS ACOSTA                       BRISAS DE CANOVANAS II   C 21 CALLE REINITA                                                                       CANOVANAS           PR           00729
          MIGSHA I CLOQUEL AVILES/
   331949 ARLEEN AVILES                               REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720847 MIGUEAL A FERNANDEZ                         PO BOX 6559              LOIZA STA                                                                                SAN JUAN            PR           00915‐6559
          MIGUEAL A MARTINEZ
   331951 GONZALEZ                                    REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720904 MIGUEL A ABRAMS REVEROL                     HC 04 BOX 4706                                                                                                    QUEBRADILLAS        PR           00678
   720890 MIGUEL A ABRANTE PEREZ                      JARD DE ARECIBO          15 CALLE O                                                                               ARECIBO             PR           00612
   331952 MIGUEL A ACEVEDO                            REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331953 MIGUEL A ACEVEDO NIEVES                     REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331954 MIGUEL A ACEVEDO SANTIAGO                   REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720905 MIGUEL A ACOSTA NEGRON                      URB LEVITTOWN 2DA SECC   F 2425 PASEO ARCE                                                                        TOA BAJA            PR           00949
   720906 MIGUEL A ADAMS ERAZO                        1083 CALLE WILSON                                                                                                 SAN JUAN            PR           00907
   720909 MIGUEL A ALBARRAN REYES                     UPR STATION              PO BOX 21980                                                                             SAN JUAN            PR           00931‐1980
   720911 MIGUEL A ALEJANDRO REYES                    PO BOX 954                                                                                                        JUNCOS              PR           00777
   720912 MIGUEL A ALICEA INOA                        URB TURABO GARDENS       A 39 CALLE 27                                                                            CAGUAS              PR           00727
   720913 MIGUEL A ALICEA RIVERA                      URB SANTA MARIA          D 12 CALLE 3                                                                             TOA BAJA            PR           00949
   331955 MIGUEL A ALICEA TORO                        REDACTED                 REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720914 MIGUEL A ALOMAR SUAREZ                      URB SAN MIGUEL           42 CALLE C                                                                               SANTA ISABEL        PR           00757



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  720915 MIGUEL A ALVARADO LEON                       PO BOX‐7156                                                                                                   CAROLINA            PR           00986
                                                      1 ERA SECC BRISAS DE
   720916 MIGUEL A ALVARADO TAPIA                     CANPANERO               609 CALLE EZEQUIEL                                                                    TOA BAJA            PR           00949
   720917 MIGUEL A ALVAREZ                            COND SAN IGNACIO        APT 11 H                                                                              SAN JUAN            PR           00921
   331957 MIGUEL A ALVAREZ CHECO                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   331958 MIGUEL A ALVAREZ FELICIANO                  REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   720918 MIGUEL A ALVAREZ MORETA                     URB PUERTO NUEVO        1210 CALLE 8 NE                                                                       SAN JUAN            PR           00920

   720919 MIGUEL A ALVAREZ RODRIGUEZ                  BO OBRERO               603 CALLE ARGENTINA                                                                   SAN JUAN            PR           00915
   331959 MIGUEL A ALVAREZ SOLIS                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   720920 MIGUEL A AMADOR RIVERA                      BOX 952                                                                                                       CAMUY               PR           00627
   331960 MIGUEL A AMENGUAL                           REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   720921 MIGUEL A AMILL RIVAS                        PO BOX 1243                                                                                                   GUAYAMA             PR           00785

   720922 MIGUEL A ANDINO VELAZGUEZ                   URB SAN ANTONIO         M 20 CALLE 10                                                                         HUMACAO             PR           00791
   331961 MIGUEL A APONTE BATISTA                     REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   720891 MIGUEL A APONTE CABALLERO                   HC 01 BOX 3238                                                                                                SABANA HOYO         PR           00688‐9800
   720923 MIGUEL A APONTE DAVILA                      PO BOX 2277                                                                                                   COAMO               PR           00769
   720924 MIGUEL A APONTE UBIERA                      BDA BUENA VISTA         228 CALLE C                                                                           SAN JUAN            PR           00917

   720925 MIGUEL A AQUINO CEBOLLERO                   PO BOX 792                                                                                                    AGUADA              PR           00602
   331962 MIGUEL A ARANA COLON                        REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   331963 MIGUEL A ARCE ALONSO                        REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   331964 MIGUEL A ARCE LATIMER                       REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   331965 MIGUEL A AROCHO GUZMAN                      REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   720927 MIGUEL A ARROYO FERNANDEZ                   PO BOX 1263                                                                                                   SAN JUAN            PR           00914
   720928 MIGUEL A ARROYO GOMEZ                       PO BOX 353                                                                                                    PATILLAS            PR           00723

   331966 MIGUEL A ARROYO GONZALEZ                    REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   720929 MIGUEL A ARROYO PIAZZA                      BO ANCONES              19 A CALLE DE DIEGO                                                                   SAN GERMAN          PR           00683
   720930 MIGUEL A ARZOLA BARRIS                      COND SOLIMAR            APTO 5 B CERRO LAS MESAS                                                              MAYAGUEZ            PR           00681
   720932 MIGUEL A AYALA ALVARADO                     PO BOX 1129                                                                                                   SALINAS             PR           00751
   331967 MIGUEL A AYALA ORTIZ                        REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   720934 MIGUEL A AYALA PAGAN                        RR 4 BOX 27769                                                                                                TOA ALTA            PR           00953
   720935 MIGUEL A AYALA PEREZ                        HILL MANSIONS           10 CALLE 60                                                                           SAN JUAN            PR           00920
   720931 MIGUEL A AYALA RIVERA                       PARC VANB SCOY          HC 16 CALLE 10 A                                                                      BAYAMON             PR           00957
   331969 MIGUEL A BAEZ CRUZ                          REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   331970 MIGUEL A BAEZ LANZA                         REDACTED                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   720937 MIGUEL A BAEZ MILLAN                        URB VILLA JUANITA INT   HC 01 BOX 8019                                                                        SAN GERMAN          PR           00683
   720938 MIGUEL A BAEZ RODIRGUEZ                     HC 80 BOX 9033                                                                                                DORADO              PR           00646
   720939 MIGUEL A BALASQUIDE PEREZ                   HC 1 BOX 5592 9719                                                                                            JUANA DIAZ          PR           00795
   720940 MIGUEL A BAREA MOLINARY                     PO BOX 149                                                                                                    SAN GERMAN          PR           00683‐0149

   331971 MIGUEL A BARRETO HERNANDEZ REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   720942 MIGUEL A BATISTA           URB LOMAS VERDES                         N‐65 CALLE CAMPANILLA                                                                 BAYAMàN             PR           00956

   720943 MIGUEL A BATISTA HERNANDEZ P O BOX 585                              SABANA SECA                                                                           TOA BAJA            PR           00952
   720944 MIGUEL A BELLO DE JESUS    URB JRDN DE BORINQUEN                    A55 CALLE 1                                                                           CAROLINA            PR           00985
   331972 MIGUEL A BELTRAN CORREA    REDACTED                                 REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED




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          MIGUEL A BENGOCHEA
   331973 CARABALLO                                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL A BENITEZ
   331974 CARRASQUILLO                                REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720945 MIGUEL A BERIO RODRIGUEZ                    URB LEVITTOWN LAKES    HL9 AVE AMALIA PAOLI                                                              TOA BAJA            PR           00949

   720946 MIGUEL A BERMUDEZ FIGUEROA HC 1 BOX 4012                                                                                                             ARROYO              PR           00714
   331976 MIGUEL A BERMUDEZ RIVERA   REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331977 MIGUEL A BERRIOS COLON     REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL A BETANCOURT
   720947 RODRIGUEZ                  URB VILLA CAROLINA                      2 CALLE 613 241                                                                   CAROLINA            PR           00985
   331978 MIGUEL A BIBILONI TORRES   REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331979 MIGUEL A BILBRAUT SANCHEZ                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720950 MIGUEL A BLANCO                             BOX 1347                                                                                                 CAYEY               PR           00739
          MIGUEL A BONET/CENTRO
   720951 CULTURAL DE RINCON                          BO ENSENADA            CARR 413 KM 0 4                                                                   RINCON              PR           00677
   331981 MIGUEL A BONILLA CANCEL                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720952 MIGUEL A BONILLA EVENT                      COLINAS DEL OESTE      E 18 CALLE 6                                                                      HORMIGUEROS         PR           00660‐1917

   720953 MIGUEL A BONILLA MARTINEZ                   CROWN HILLS            214 CALLE ZAMBESE                                                                 SAN JUAN            PR           00926

   720954 MIGUEL A BONILLA QUINONES                   BDA POLVORIN           22 CALLE 19                                                                       CAYEY               PR           00736

   720955 MIGUEL A BONILLA RODRIGUEZ                  PO BOX 568                                                                                               AIBONITO            PR           00705
          MIGUEL A BONILLA Y CARMEN
   720956 SANCHEZ VELEZ                               BO BUEN CONSEJO        1226 CALLE VALLEJO                                                                SAN JUAN            PR           00926
   720957 MIGUEL A BORGES GUEVARA                     GOLDEN GATE            132 CALLE TURQUESA                                                                GUAYNABO            PR           00968

   331982 MIGUEL A BORGES RODRIGUEZ                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720958 MIGUEL A BORIA MALDONADO                    HC 01 BOX 7929                                                                                           GURABO              PR           00778

   331984 MIGUEL A BORRERO MORALES                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331985 MIGUEL A BRENES CONCEPCION                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331986 MIGUEL A BURGOS FIGUEROA                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331987 MIGUEL A BURGOS FRAGOSO                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331988 MIGUEL A BURGOS RAMOS                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720962 MIGUEL A BURGOS SOLIS                       URB MENDES             AD4 CALLE J                                                                       YABUCOA             PR           00767
          MIGUEL A CABALLERO
   720963 MAYSONET                                    P O BOX 235                                                                                              TOA BAJA            PR           00951
   720964 MIGUEL A CABRER PICO                        COVADONGA              2 K 8 CALLE 2 B                                                                   TOA BAJA            PR           00949

   331989 MIGUEL A CABRERA RODRIGUEZ                  REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331990 MIGUEL A CACERES COLON                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720965 MIGUEL A CACERES MORALES                    D 4 URB PQUE DEL SOL                                                                                     PATILLAS            PR           00723
          MIGUEL A CACERES RAMIREZ,
   331991 EVELYN RAMIREZ                              REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331992 MIGUEL A CALDERON AYALA                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331993 MIGUEL A CALDERON GONZALEZ REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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   720966 MIGUEL A CALDERON LEBRON                    REPARTO SEVILLA          949 CALLE SARASATE                                                                 SAN JUAN            PR           00924
          MIGUEL A CALDERON
   331994 MONTALVO                                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720967 MIGUEL A CALO RUIZ                          PO BOX 174                                                                                                  RIO GRANDE          PR           00745

   331996 MIGUEL A CAMACHO MIRANDA REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   331997 MIGUEL A CAMACHO NIEVES  REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720968 MIGUEL A CAMACHO VAZQUEZ                    LAS VIRTUDES             727 CALLE ALEGRIA                                                                  SAN JUAN            PR           00924
   331998 MIGUEL A CANALS CANALS                      REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   331999 MIGUEL A CANDELARIO REYES                   REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332001 MIGUEL A CAPÓ HERNÁNDEZ                     REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332002 MIGUEL A CAPO MERCED                        REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332003 MIGUEL A CAPPIELO CHAMORRO REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720970 MIGUEL A CARABALLO         URB MARIOLGA                              N22 CALLE SAN MIGUEL                                                               CAGUAS              PR           00725
   332004 MIGUEL A CARABALLO ALICEA  REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720972 MIGUEL A CARABALLO FRED    D 65 CALLE 4                                                                                                                 RIO GRANDE          PR           00745
          MIGUEL A CARABALLO
   332005 RODRIGUEZ                  REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720974 MIGUEL A CARABALLO TORRES                   SALAZAR                  1862 CALLE SACRAMENTO                                                              PONCE               PR           00731

   720975 MIGUEL A CARDONA DE JESUS    AIRPORT STATION                         PO BOX 37581                                                                       SAN JUAN            PR           00937
   332006 MIGUEL A CARLO ALAMEDA       REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720977 MIGUEL A CARLO ARQ           1407 GEORGETTI PDA 20                                                                                                      SAN JUAN            PR           00909
   720978 MIGUEL A CARLO COLON         1408 CALLE GEORGETTI                                                                                                       SAN JUAN            PR           00909‐2143
          MIGUEL A CARLOS ARQUITECTS P
   720980 S C                          1407 GEORGETTI PDA 20                                                                                                      SAN JUAN            PR           00909
          MIGUEL A CARMONA
   720981 BETANCOURT                   RR 2 BOX 835                            ANTIGUA VIA                                                                        TRUJILLO ALTO       PR           00976
   720982 MIGUEL A CARMONA RIVERA      P O BOX 742                                                                                                                SAINT JUST          PR           00978
   720983 MIGUEL A CARRASQUILLO        URB LAS CAMOILLAS                       1 ‐ 85 CALLE CAOBA                                                                 LAS PIEDRAS         PR           00771‐7323
          MIGUEL A CARRASQUILLO
   332008 GARCIA                       REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL A CARRASQUILLO
   720984 MORALES                      HC 2 BOX 12919                                                                                                             AGUAS BUENAS        PR           00703
          MIGUEL A CARRASQUILLO
   720985 PIZARRO                      REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL A CARRILLO GRUPO
   720988 COHITRE YUNQUE               HC 3 BOX 8496                                                                                                              GUAYNABO            PR           00971
          MIGUEL A CARRION Y AMANTINA
   332011 FRANCISCO                    REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720990 MIGUEL A CARTAGENA NEGRON                   URB MIRADOR ECHEVARRIA   E 6 CALLE FLAMBOYAN                                                                CAYEY               PR           00736
   720991 MIGUEL A CARTAGENA ORTIZ                    PO BOX 712                                                                                                  SALINAS             PR           00751‐0712
          MIGUEL A CARTAGENA
   332012 QUINONES                                    REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL A CARTAGENA
   720992 RODRIGUEZ                                   RR 1 BOX 3080                                                                                               CIDRA               PR           00739
   332013 MIGUEL A CASELLAS GIL                       REDACTED                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  332014 MIGUEL A CASELLAS LOPEZ                      REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  332015 MIGUEL A CASIANO FLORES                      REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  720851 MIGUEL A CASIANO RIVERA                      RR 7 BUZON 6879                                                                                                           SAN JUAN          PR         00926
  720993 MIGUEL A CASIANO TORRES                      BO SABANA ENCAS                 632 CALLE 20                                                                              SAN GERMAN        PR         00683

   332016 MIGUEL A CASTELLON PESANTE                  REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   720994 MIGUEL A CASTILLO MARTINEZ                  URB SANTA ELVIRA C 7            CALLE SANTA CECILIA                                                                       CAGUAS            PR         00725‐3423
   720995 MIGUEL A CASTRO CASUL                       URB LAS MERCEDES                A9 CALLE 2                                                                                LAS PIEDRAS       PR         00771
   720997 MIGUEL A CASTRO PAGAN                       PO BOX 34                                                                                                                 SABANA SECA       PR         00952
   332019 MIGUEL A CASTRO RIVERA                      REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   720998 MIGUEL A CASTRO ROSADO                      URB VILLA CAROLINA              38‐12 CALLE 34                                                                            CAROLINA          PR         00985
   332021 MIGUEL A CENTENO DIEZ                       REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721001 MIGUEL A CEPEDA ESCOBAR                     BO CAROLA                       CALLE 8                                                                                   RIO GRANDE        PR         00745
   721002 MIGUEL A CEPEDA GARCIA                      HC 1 BOX 6196                                                                                                             JUNCOS            PR         00777‐9710
          MIGUEL A CERVANTES
   332022 ECHEVARRIA                                  REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721003 MIGUEL A CESTERO CAVO                       URB VALLE SAN LUIS              156 VIA EL ROCIO                                                                          CAGUAS            PR         00725‐3355
   721004 MIGUEL A CESTERO LOPEZ                      URB SAN GERARDO                 335 CALLE TAMPA                                                                           SAN JUAN          PR         00926
   721005 MIGUEL A CHAAR CACHO                        PO BOX 141887                                                                                                             ARECIBO           PR         00614‐1887
   332023 MIGUEL A CHAAR PRADO                        REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721007 MIGUEL A CHAPARRO MATOS                     16 URB MONTEMAR                                                                                                           AGUADA            PR         00602
   721008 MIGUEL A CHARRIEZ RIVERA                    RR 2 BOX 8084                                                                                                             TOA ALTA          PR         00953
   721009 MIGUEL A CHEVRES COLON                      SABANERA DE4L RIO               70 LOS CLAVELES                                                                           GURABO            PR         00778
   332024 MIGUEL A CHICO MONTIJO                      REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   332025 MIGUEL A CINTRON LOPEZ                      REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721010 MIGUEL A CINTRON ORTIZ                      HC 73 BOX 6061                                                                                                            NARANJITO         PR         00719 9628
   332026 MIGUEL A CINTRON RAMOS                      REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   721011 MIGUEL A CINTRON RODRIGUEZ                  HC 3 BOX 7995                                                                                                             BARRANQUITAS      PR         00794‐9501
   332027 MIGUEL A CINTRON SANCHEZ                    REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721012 MIGUEL A CLAUDIO                            URB VILLA SAN ANTON             M 16 CALLE TOMAS ORTIZ                                                                    CAROLINA          PR         00987
   721013 MIGUEL A CLAUDIO SANCHEZ                    URB MARIOLGA I 1                CALLE SAN ANTONIO                                                                         CAGUAS            PR         00725
   721015 MIGUEL A CLEMENTE RIVERA                    HC 01 BOX 7620                                                                                                            LOIZA             PR         00772
                                                                                      7656 CALLE MANUEL ZENO
   721017 MIGUEL A COLLAZO RODRIGUEZ                  URB MARIANI                     GANDIA                                                                                    PONCE             PR         00717‐0235
   332029 MIGUEL A COLOMBANI                          REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721020 MIGUEL A COLON APONTE                       URB LAS AGUILAS                 B 1 CALLE 5                                                                               COAMO             PR         00769
   721021 MIGUEL A COLON COLON                        PO BOX 636                                                                                                                JAYUYA            PR         00664
   332030 MIGUEL A COLON DE JESUS                     REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721022 MIGUEL A COLON FIGUEROA                     HC 1 BOX 3102                                                                                                             YABUCOA           PR         00767‐9604
   721023 MIGUEL A COLON GARCIA                       BO SUMIDERO                     HC 01 BOX 8362                                                                            AGUAS BUENAS      PR         00703
   721024 MIGUEL A COLON GONZALEZ                     CALLE FELIPE NERY SOTO                                   152                                                              SAN SEBASTIAN     PR         00685
   332031 MIGUEL A COLON LAMBERTY                     REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721025 MIGUEL A COLON LEDESMA                      71 CALLE FERNANDEZ GARCIA                                                                                                 LUQUILLO          PR         00773

   721026 MIGUEL A COLON LEE                          VILLAS DEL PILAR C‐10 CALLE‐2                                                                                             SAN JUAN          PR         00926
   721027 MIGUEL A COLON LOPEZ                        34 CALLE BETANCES                                                                                                         UTUADO            PR         00641

   332034 MIGUEL A COLON MALDONADO                    REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721028 MIGUEL A COLON MORALES                      SANTA JUANITA                   AK 68 CALLE HIDALGO                                                                       BAYAMON           PR         00956
   332036 MIGUEL A COLON ORTIZ                        REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   332037 MIGUEL A COLON PEREZ                        REDACTED                        REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  332038 MIGUEL A COLON RAMOS                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  332039 MIGUEL A COLON REYES                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  721031 MIGUEL A COLON RIVERA                        PO BOX 303                                                                                                        AIBONITO          PR         00705‐0303
  332040 MIGUEL A COLON TORRES                        REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  721032 MIGUEL A COLON VAZQUEZ                       URB VILLA BLANCA          22 CALLE AMATISTA                                                                       CAGUAS            PR         00725
  721034 MIGUEL A COLON VIENTOS                       PO BOX 273                                                                                                        LAS MARIAS        PR         00670

   332041 MIGUEL A CONCEPCION COLON                   REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721035 MIGUEL A CONTRERAS FALU                     VILLA FONTANA             2Q2L 192 VIA 1                                                                          CAROLINA          PR         00983‐3802

   721036 MIGUEL A CORDERO GONZALEZ                   PMB 224 BOX 4960                                                                                                  CAGUAS            PR         00726‐4960
   332042 MIGUEL A CORDERO RIVERA                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   332043 MIGUEL A CORDERO SANTA                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721038 MIGUEL A CORDERO TORRES                     PO BOX 473                                                                                                        PATILLAS          PR         00723‐0473
   332044 MIGUEL A CORDOVA                            REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721041 MIGUEL A CORREA CAMACHO                     URB LEVITTOWN             1511 CALLE DELTA                                                                        TOA BAJA          PR         00949
   721042 MIGUEL A CORREA LOPEZ                       URB TURABO GARDENS        R 9 CALLE 3D                                                                            CAGUAS            PR         00727
   332047 MIGUEL A CORREA NEGRON                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   332048 MIGUEL A CORREA ORTIZ                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                                                CALLE SAN AGUSTIN EDIF 353
   721044 MIGUEL A CORTES RODRIGUEZ                   PUERTA DE TIERRA          APT 202                                                                                 SAN JUAN          PR         00901
   721045 MIGUEL A COTTO ROSARIO                      RR 01 BOX 2836                                                                                                    CIDRA             PR         00739
   721046 MIGUEL A COTTO SANCHEZ                      HC 72 BOX 5889            BO RINCON                                                                               CAYEY             PR         00736
   721047 MIGUEL A CRESPO                             BO SABANA BRANCH          85 PAR CALLE 4                                                                          VEGA BAJA         PR         00693
          MIGUEL A CRESPO D/B/A C
   721048 CRESPO                                      URB LA RIVIERA            40 CALLE 1415 S O                                                                       SAN JUAN          PR         00921
   721049 MIGUEL A CRESPO VARGAS                      URB MONTEMAR 51                                                                                                   AGUADA            PR         00602
   332049 MIGUEL A CRUZ                               REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   332050 MIGUEL A CRUZ BONILLA                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721050 MIGUEL A CRUZ BURGOS                        HC 01 BOX 10906                                                                                                   LAJAS             PR         00667
   332051 MIGUEL A CRUZ CANALES                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   332052 MIGUEL A CRUZ CHEVERE                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721051 MIGUEL A CRUZ COLON                         P O BOX 306                                                                                                       SALINAS           PR         00751‐0306
   332053 MIGUEL A CRUZ CORDERO                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   332054 MIGUEL A CRUZ CRUZ                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   332056 MIGUEL A CRUZ DELGADO                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721053 MIGUEL A CRUZ DIAZ                          BO CORAZON                218 CALLE SAN JUDAS                                                                     GUAYAMA           PR         00784
   332057 MIGUEL A CRUZ GONZALEZ                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   332059 MIGUEL A CRUZ MARTINEZ                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721055 MIGUEL A CRUZ NEGRON                        URB STARLIGH              3321 CALLE GALAXIA                                                                      PONCE             PR         00717
   332060 MIGUEL A CRUZ PAGAN                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721059 MIGUEL A CRUZ RODRIGUEZ                     COND LAS TERESAS 1        APT 710                                                                                 SAN JUAN          PR         00924
   332061 MIGUEL A CRUZ ROMAN                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   332062 MIGUEL A CRUZ SANTIAGO                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721062 MIGUEL A CRUZ SAUREZ                        LA MARGARITAS D 16        CALLE D                                                                                 SALINAS           PR         00751
   721063 MIGUEL A CRUZ ZAPATA                        HC 6 BOX 75851                                                                                                    CAGUAS            PR         00725
   332064 MIGUEL A CRUZADO OCASIO                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721065 MIGUEL A CUADRADO PEREZ                     P O BOX 8444                                                                                                      HUMACAO           PR         00792

   332065 MIGUEL A CUADRADO TORRES                    REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721066 MIGUEL A CUADROS                            701 AVE PONCE DE LEON     OFICINA 215 MIRAMAR                                                                     SAN JUAN          PR         00907
   332066 MIGUEL A DALY BERMUDEZ                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721067 MIGUEL A DAVID D B A TRON                   111 CALLE JOSE DE DIEGO                                                                                           SAN LORENZO       PR         00754



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  332067 MIGUEL A DAVILA ARZUAGA                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  332069 MIGUEL A DAVILA CORDERO                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  721068 MIGUEL A DAVILA GARCIA                       PO BOX 14 PUERTO REAL                                                                                                 FAJARDO             PR         00740
  332070 MIGUEL A DAVILA MATEO                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   332072 MIGUEL A DE JESUS BERMUDEZ                  REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332073 MIGUEL A DE JESUS COLLAZO                   REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721070 MIGUEL A DE JESUS CRUZ                      HC 1 BOX 4230                                                                                                         QUEBRADILLAS        PR         00678‐9502
   721071 MIGUEL A DE JESUS LOPEZ                     APT 1371                                                                                                              CIDRA               PR         00739
   721072 MIGUEL A DE JESUS RAMOS                     GLENVIEW GARDEN            V 3 AVE GLEN                                                                               PONCE               PR         00730‐1644
   721073 MIGUEL A DE JESUS REYES                     BOX 461 URB BELINDA                                                                                                   PATILLAS            PR         00723

   332074 MIGUEL A DE JESUS SANTIAGO                  REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   721075 MIGUEL A DE LOS SANTOS SILVA SAN JOSE                                  CALLE HUESCA                                                                               SAN JUAN            PR         00923

   332076 MIGUEL A DECLET HERNANDEZ                   REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   332077 MIGUEL A DEL RIO DE VARONA                  REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      URB JARD DE PALMAREJO BO
   721078 MIGUEL A DEL VALLE                          STA CRUZ                   NN 5 CALLE 13 CARR 859 KM 4 9                                                              CANOVANAS           PR         00729
   721079 MIGUEL A DELGADO                            P O BOX 1656                                                                                                          CIDRA               PR         00739
   721080 MIGUEL A DELGADO DE JESUS                   MINILLAS STATION           P O BOX 41269                                                                              SAN JUAN            PR         00940‐1269
   721081 MIGUEL A DELGADO MORA                       VICTOR ROJAS               263 CALLE A                                                                                ARECIBO             PR         00612
   721084 MIGUEL A DELGADO PEREZ                      SECT PONDEROSA             710 CALLE MARGARITA                                                                        RIO GRANDE          PR         00745
   721085 MIGUEL A DELGADO PIZARRO                    PO BOX 9020684                                                                                                        SAN JUAN            PR         00902‐0684
   332079 MIGUEL A DELGADO RIOS                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721086 MIGUEL A DELGADO RIVERA                     HC 2 BOX 12759                                                                                                        AGUAS BUENAS        PR         00703
          MIGUEL A DELGADO Y WANDA I
   332080 COSTALES                                    REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332081 MIGUEL A DEYNES VARGAS                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332082 MIGUEL A DIAZ AGUILAR                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721088 MIGUEL A DIAZ ANDINO                        HC 01 BOX 3679                                                                                                        LARES               PR         00669
   332083 MIGUEL A DIAZ BORIA                         REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720893 MIGUEL A DIAZ CABAN                         SECTOR ZAMOT               BZN 9                                                                                      ISABELA             PR         00662
   332084 MIGUEL A DIAZ COLON                         REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721089 MIGUEL A DIAZ GOMEZ                         URB JARD DE GUAMANI        D 28 CALLE 15                                                                              GUAYAMA             PR         00784
   332085 MIGUEL A DIAZ GUZMAN                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721091 MIGUEL A DIAZ HERNANDEZ                     PO BOX 329                                                                                                            MOCA                PR         00676
   721093 MIGUEL A DIAZ LOPEZ                         URB VILLA CAROLINA         100‐30 CALLE 102                                                                           CAROLINA            PR         00985
   721094 MIGUEL A DIAZ QUINTANA                      PO BOX 225                                                                                                            HATILLO             PR         00659
   721095 MIGUEL A DIAZ REYES                         HC 2 BOX 6990                                                                                                         LAS PIEDRAS         PR         00771‐9774
   332086 MIGUEL A DIAZ RIVERA                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332090 MIGUEL A DIAZ RODRIGUEZ                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332092 MIGUEL A DIAZ SEIJO                         REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721096 MIGUEL A DIAZ SOTO                          PO BOX 336863                                                                                                         PONCE               PR         00733‐6863
   332093 MIGUEL A DIAZ TORRES                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721097 MIGUEL A DIAZ ZAYAS                         PO BOX 178                                                                                                            CIDRA               PR         00739

   721098 MIGUEL A DOMINGUEZ OTERO                    BO CANTITO                 25 CALLE 1                                                                                 MANATI              PR         00674‐7130
   332094 MIGUEL A DONES LOPEZ                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   721099 MIGUEL A DROUYN MARRERO                     COND MONTE BRISAS          APTO 5403                                                                                  SAN JUAN            PR         00926



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  721101 MIGUEL A DULATO RIVERA                       56 BDA. MIRANDA                                                                                                         MANATI            PR         00674
  332095 MIGUEL A DUMAS ROMERO                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  332096 MIGUEL A DUPREY CASTRO                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  721102 MIGUEL A ECHEVARRIA                          107 CALLE COMERCIO                                                                                                      JUANA DIAZ        PR         00795
         MIGUEL A ECHEVARRIA
  332097 QUINTANA                                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         MIGUEL A ECHEVARRIA
  332098 RODRIGUEZ                                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         MIGUEL A ECHEVARRIA Y/0
  332099 RAQUEL QUINTANA                              REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  721103 MIGUEL A EGEA BAEZ                           BONNEVILLE APRTMENT            APT A 11 CALLE CIPRES FINAL                                                              CAGUAS            PR         00703
  721104 MIGUEL A ESPINAL SANTOS                      COND BAYAMONTE APT 1113                                                                                                 BAYAMON           PR         00956
  721105 MIGUEL A ESTELA LOPEZ                        URB MIRADOR DE BAIROA          2 P CALLE 21                                                                             CAGUAS            PR         00727
         MIGUEL A FABIAN MINAYA Y
  332100 MARITZA PUIG                                 REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  332101 MIGUEL A FAJARDO PEREZ                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  332102 MIGUEL A FALERO RAMOS                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  332103 MIGUEL A FEBRES QUINONEZ                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  332104 MIGUEL A FELICIANO                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  332105 MIGUEL A FELICIANO GOTAY                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  721108 MIGUEL A FELICIANO RAMOS                     VILLA FONTANA 3MS2             VIA 54                                                                                   CAROLINA          PR         00983‐4645
  332106 MIGUEL A FELICIANO ROLON                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  721109 MIGUEL A FELICIANO TORRES                    PO BOX 1480                                                                                                             COROZAL           PR         00783
  332108 MIGUEL A FERIA MORALES                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   721112 MIGUEL A FERNANDEZ VAZQUEZ URB LOS DOMINICOS                               K195 CALLE SAN RAIMUNDO                                                                  BAYAMON           PR         00957
  1256680 MIGUEL A FERREIRA RIVERA   REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   332110 MIGUEL A FERRER            REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721115 MIGUEL A FERRER COSME      P O BOX 797                                                                                                                              NARANJITO         PR         000719
   721116 MIGUEL A FERRER IRIZARRY   REPTO CELINES                                   BZN 6 CARR BOQUERON                                                                      CABO ROJO         PR         00623
   332112 MIGUEL A FERRER SAAVEDRA   REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   721119 MIGUEL A FERRIS PLAZA A/C                   BCO DESARROLLO ECONOMICO       BOX 114                                                                                  UTUADO            PR         00611
   721120 MIGUEL A FEYJOO NAZARIO                     PO BOX 141441                                                                                                           ARECIBO           PR         00614
   332113 MIGUEL A FIGUEROA                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721122 MIGUEL A FIGUEROA ORTEGA                    A 9 RES JAGUAS                                                                                                          CIALES            PR         00638
   332114 MIGUEL A FIGUEROA PEREZ                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   332115 MIGUEL A FIGUEROA ROSARIO                   REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721124 MIGUEL A FIGUEROA SANTOS                    PO BOX 1094                                                                                                             TRUJILLO ALTO     PR         00977‐1094
   332116 MIGUEL A FIGUEROA TORRES                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   721125 MIGUEL A FIGUEROA TRINIDAD                  PO BOX 237                                                                                                              MANATI            PR         00674
   332117 MIGUEL A FLECHA DE JESUS                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   721127 MIGUEL A FLORES DE JESUS                    3071 AVE ALEJANDRINO STE 256                                                                                            GUAYNABO                     00969
   332119 MIGUEL A FLORES FONTANEZ                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721129 MIGUEL A FLORES MARTINEZ                    URB VENUS GARDENS              1694 CALLE CHIHUAHUA                                                                     SAN JUAN          PR         00926
   332120 MIGUEL A FLORES REYES                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721130 MIGUEL A FLORES RIVERA                      JARD DE LOIZA                  A 25 CALLE 2                                                                             LOIZA             PR         00772
   332122 MIGUEL A FONSECA AYALA                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MIGUEL A FONSECA CRESPO/                                                   530 CAMINO LOS AQUINOS APT
   332123 NEW ENERGY                                  ESTANCIAS DEL BOSQUE           144                                                                                      TRUJILLO ALTO     PR         00976



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  332124 MIGUEL A FONSECA TORRES                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  721132 MIGUEL A FONTANEZ APONTE                     HC 02 BOX 5350                                                                                                 COMERIO             PR         00782
  721134 MIGUEL A FONTANEZ COLON                      RR 1 BOX 2119                                                                                                  CIDRA               PR         00739
         MIGUEL A FRANCESCHI
  332125 FIGUEROA                                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  332126 MIGUEL A FRANCO CRESPO                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   332127 MIGUEL A FRANCO HERNANDEZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332128 MIGUEL A FRANCO ROHENA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721135 MIGUEL A FRANQUI                            HC 3 BOX 11924                                                                                                 CAYEY               PR         00627
   721136 MIGUEL A FUENTE CIRINO                      BO POLVORIN                 9 CALLE JOSE M PUENTE                                                              CAYEY               PR         00736
   721137 MIGUEL A GALARZA VAZQUEZ                    RES CARMEN                  EDIF 22 APT 210                                                                    MAYAGUEZ            PR         00680
   720867 MIGUEL A GALO BONILLA                       BO SALUD                    53 CALLE VENECIA                                                                   MAYAGUEZ            PR         00680
   332130 MIGUEL A GANDARILLA VELEZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720852 MIGUEL A GANDIA GRANJA                      URB VILLA NEVARES           306 CALLE 6                                                                        SAN JUAN            PR         00927
                                                      EDF. 15 APT.125 JARD. DEL
   721138 MIGUEL A GANTUS MARRERO                     PARAISO                                                                                                        SAN JUAN            PR         00926
   332131 MIGUEL A GARAYUA VELEZ                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332132 MIGUEL A GARCIA                             REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332133 MIGUEL A GARCIA ALBINO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332134 MIGUEL A GARCIA BLASCO                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332135 MIGUEL A GARCIA CALDERON                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721141 MIGUEL A GARCIA CORA                        A 16 URB BROOKLYN                                                                                              ARROYO              PR         00714‐2001
   332136 MIGUEL A GARCIA CORPS                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   332138 MIGUEL A GARCIA HERNANDEZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721143 MIGUEL A GARCIA LAUREANO                    HC 20 BOX 26028                                                                                                SAN LORENZO         PR         00754
   721144 MIGUEL A GARCIA LOPEZ                       PO BOX 211                                                                                                     YAUCO               PR         00698
   332139 MIGUEL A GARCIA MORALES                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332140 MIGUEL A GARCIA NAVARRO                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332141 MIGUEL A GARCIA OQUENDO                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MIGUEL A GARCIA PACHECO Y
   332142 NELSON D SOTO                               REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721147 MIGUEL A GARCIA PUMAREJO                    PO BOX 51536                                                                                                   LEVITTOWN           PR         00950 1536
   332143 MIGUEL A GARCIA RIVERA                      REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721151 MIGUEL A GARCIA VALENTIN                    HC 01 BOX 2631                                                                                                 MAUNABO             PR         00707

   332144 MIGUEL A GELABERT CARABALLO REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   332146 MIGUEL A GOMEZ CONSUEGRA                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332148 MIGUEL A GOMEZ DEL VALLE                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721153 MIGUEL A GOMEZ ORTIZ                        URB MIRAFLORES              45‐38 CALLE 25                                                                     BAYAMON             PR         00957
          MIGUEL A GOMEZ ORTIZ Y
   332149 CAROL A BRYANT                              REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   721154 MIGUEL A GOMEZ RODRIGUEZ                    42 CALLE LAS MERCEDES SUR                                                                                      GUAYAMA             PR         00784
   721155 MIGUEL A GONZALEZ                           HC 4 BOX 43625                                                                                                 LARES               PR         00669‐9431

   332150 MIGUEL A GONZALEZ ALVAREZ                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721158 MIGUEL A GONZALEZ AYALA                     HC 67 BOX 15157                                                                                                BAYAMON             PR         00956
   332151 MIGUEL A GONZALEZ BADELL                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   332152 MIGUEL A GONZALEZ FIGUEROA REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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   332153 MIGUEL A GONZALEZ GALARZA                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332154 MIGUEL A GONZALEZ GOMEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332155 MIGUEL A GONZALEZ GONZALEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   721163 MIGUEL A GONZALEZ JIMENEZ                   HC 01 BOX 8229                                                                                                SALINAS             PR           00751

   332157 MIGUEL A GONZALEZ LORENZO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   721164 MIGUEL A GONZALEZ MAISONET HC 33 BOX 4442                                                                                                                 DORADO              PR           00646
          MIGUEL A GONZALEZ
   332158 MALDONADO                  REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332159 MIGUEL A GONZALEZ MATOS    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720853 MIGUEL A GONZALEZ MENA     PO BOX 140140                                                                                                                  ARECIBO             PR           00614‐0104

   332160 MIGUEL A GONZALEZ MENDEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   721165 MIGUEL A GONZALEZ MORALES                   COND LAGUNA VIEW TOWER      1 APT 312                                                                         SAN JUAN            PR           00924
   721166 MIGUEL A GONZALEZ PUIG                      URB LOMAS VERDES            Z21 CALLE DRAGON                                                                  BAYAMON             PR           00956‐3243
          MIGUEL A GONZALEZ RENTA
   332161 EQUIPO PESADO                               RR 2 BOX 1167                                                                                                 SAN JUAN            PR           00926 9803
   332162 MIGUEL A GONZALEZ RIOS                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332163 MIGUEL A GONZALEZ RIVERA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720854 MIGUEL A GONZALEZ RIVERA                    URB VALLE TOLIMA            M‐27 CALLE MONAMARTI                                                              CAGUAS              PR           00725
          MIGUEL A GONZALEZ
   721169 RODRIGUEZ                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332164 MIGUEL A GONZALEZ ROSARIO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   721172 MIGUEL A GONZALEZ SALERNO                   P O BOX 364034                                                                                                SAN JUAN            PR           00936‐4034

   721173 MIGUEL A GONZALEZ SANCHEZ                   URB LA RAMBLA               8 A CALLE ARCON                                                                   PONCE               PR           00731

   721175 MIGUEL A GONZALEZ SANTIAGO                  123 AVE GONZALEZ CLEMENTE                                                                                     MAYAGUEZ            PR           00680
   721176 MIGUEL A GONZALEZ SOLA                      URB PARADISE                1664 CALLE PESQUERIA                                                              SAN JUAN            PR           00926
   332165 MIGUEL A GONZALEZ VARELA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721178 MIGUEL A GREEN RODRIGUEZ                    SICOSOCIAL CAYEY                                                                                              Hato Rey            PR           009360000
   332167 MIGUEL A GUERRA PEREZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721179 MIGUEL A GUERRA SERRANO                     HC 01 BOX 7477                                                                                                VIEQUES             PR           00765
   720855 MIGUEL A GUERRIDO MEDINA                    PARCELAS CAMPANILLA         214 CALLE EL MONTE                                                                TOA BAJA            PR           00949
   332168 MIGUEL A GUILFU RAMOS                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332170 MIGUEL A GUTIERREZ ROMAN                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332171 MIGUEL A GUTIERREZ SERRANO REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721180 MIGUEL A GUTIERREZ VEGA    PO BOX 362556                                                                                                                  SAN JUAN            PR           00936

   332172 MIGUEL A GUZMAN FIGUEROA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332173 MIGUEL A GUZMAN OLAVARRIA REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721181 MIGUEL A GUZMAN RIVERA    HC 03 BOX 12266                                                                                                                 JUANA DIAZ          PR           00795




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   721182 MIGUEL A GUZMAN RODRIGUEZ HC 03 BOX 12266                                                                                                                    JUANA DIAZ          PR           00795‐9505

   332174 MIGUEL A GUZMAN SANTIAGO                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332175 MIGUEL A GUZMAN VEGUILLA                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL A GUZMAN Y/O GLORIA
   332176 E PEREZ                                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721184 MIGUEL A HANCE CASTRO                       57 CALLE PEDRO ARZUAGA                                                                                           CAROLINA            PR           00985

   332177 MIGUEL A HERNANDEZ AGOSTO REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332178 MIGUEL A HERNANDEZ ALVELO                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332179 MIGUEL A HERNANDEZ COLLAZO REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332180 MIGUEL A HERNANDEZ CRUZ    REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332181 MIGUEL A HERNANDEZ DIAZ    REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332183 MIGUEL A HERNANDEZ FLORES                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL A HERNANDEZ
   721189 HERNANDEZ                                   CAPARRA HILLS            F 11 CEDRO                                                                              GUAYNABO            PR           00968

   721190 MIGUEL A HERNANDEZ LEBRON                   URB PUERTO NUEVO         503 CALLE ASUNCION                                                                      SAN JUAN            PR           00920

   721191 MIGUEL A HERNANDEZ NEGRON SANTA JUANITA                              DU 6 CALLE NAPOLES                                                                      BAYAMON             PR           00959

   332186 MIGUEL A HERNANDEZ RAMIREZ REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL A HERNANDEZ
   721192 RODRIGUEZ                  HC 01 BOX 11897                                                                                                                   CAROLINA            PR           00987
                                                                               14 CALLE JUAN MARTINEZ BOX
   721193 MIGUEL A HERNANDEZ ROSARIO COND MALAGA PARK                          18                                                                                      GUAYNABO            PR           00971
          MIGUEL A HERNANDEZ
   721195 SANABRIA                   URB VERDE SUR                             F 9 CALLE H                                                                             CAGUAS              PR           00725

   720856 MIGUEL A HERNANDEZ SANCHEZ RR 02 BOX 21069                                                                                                                   A¥ASCO              PR           00610

   721196 MIGUEL A HERNANDEZ SERRANO URB JARDINES DE BUENA VISTA               F 19 CALLE G                                                                            CAROLINA            PR           00985
   721198 MIGUEL A HOMAR ROBINSON    P O BOX 597                                                                                                                       NAGUABO             PR           00718‐0597
   332188 MIGUEL A HOMAR VELEZ       REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332189 MIGUEL A HUERTAS BONILLA   REDACTED                                  REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332190 MIGUEL A HUERTAS BORRERO                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332191 MIGUEL A IDRACH GUZMAN                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332192 MIGUEL A IRIZARRY MONTALVO                  REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721199 MIGUEL A IRIZARRY RIOS                      HC 5 BOX 58364                                                                                                   MAYAGUEZ            PR           00680
   332194 MIGUEL A IRIZARRY RIVERA                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332195 MIGUEL A IRIZARRY SANTADA                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721200 MIGUEL A JAHIATT GARCIA                     PO BOX 4631                                                                                                      SAN JUAN            PR           00902
   721202 MIGUEL A JIMENEZ MORALES                    HC 01 BOX 5252                                                                                                   CAMUY               PR           00627
   332196 MIGUEL A JORGE RODRIGUEZ                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   721203 MIGUEL A JUSINO RODRIGUEZ                   HC 6 BOX 60345                                                                                                   MAYAGUEZ            PR           00680




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   332197 MIGUEL A LABOY MOCTEZUMA                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332198 MIGUEL A LABOY RIVERA                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721204 MIGUEL A LABOY TORRES                       PO BOX 54                                                                                                           PATILLAS            PR           00723

   721208 MIGUEL A LAFONTAINE RIVERA                  URB VICTOR ROJAS 2         78 CALLE 12                                                                              ARECIBO             PR           00612
   332199 MIGUEL A LAFORET MATOS                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332200 MIGUEL A LANDRAU                            REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721209 MIGUEL A LAPORTE                            23 Q CALLE BALDORIOTY                                                                                               GUAYAMA             PR           00784
   721210 MIGUEL A LASALLE LOPEZ                      PO BOX 6428                                                                                                         MAYAGUEZ            PR           00681‐6428
   332201 MIGUEL A LASALLE MALAVE                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332202 MIGUEL A LAUREANO CORREA                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332203 MIGUEL A LAUREANO DIAZ                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332204 MIGUEL A LEBRON LEBRON                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721211 MIGUEL A LEDESMA SOSA                       HC 03 BOX 35005                                                                                                     MOCA                PR           00676
   332205 MIGUEL A LIND FIGUEROA                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332206 MIGUEL A LLANERA RODRIGUEZ` REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332207 MIGUEL A LOPEZ              REDACTED                                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721213 MIGUEL A LOPEZ ARROYO       P O BOX 1368                                                                                                                        MOCA                PR           00676‐1368

   721214 MIGUEL A LOPEZ BURGOS                       VILLA PRADES               691 CALLE CASIMIRO DUCHESNE                                                              SAN JUAN            PR           00924
   721215 MIGUEL A LOPEZ CORTES                       COM LOS PINOS PARC 184                                                                                              UTUADO              PR           00612
   332209 MIGUEL A LOPEZ CRUZ                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332210 MIGUEL A LOPEZ CUMBA                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721217 MIGUEL A LOPEZ DE JESUS                     PO BOX 3055                                                                                                         CAYEY               PR           00737
   721218 MIGUEL A LOPEZ DEL VALLE                    HC 30 BOX 35330                                                                                                     SAN LORENZO         PR           00754
   721219 MIGUEL A LOPEZ DEYNE                        URB SANTANA                101 CALLE GIRALDA                                                                        MAYAGUEZ            PR           00680
   332211 MIGUEL A LOPEZ DIAZ                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721220 MIGUEL A LOPEZ GARCIA                       HC 1 BOX 24140                                                                                                      VEGA BAJA           PR           00693‐9735
   721221 MIGUEL A LOPEZ LOPEZ                        HC 03 BOX 27452                                                                                                     LAJAS               PR           00667
   720894 MIGUEL A LOPEZ NATAL                        URB SAN VICENTE            230 CALLE 13                                                                             VEGA BAJA           PR           00693
   332212 MIGUEL A LOPEZ NATER                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721224 MIGUEL A LOPEZ NIEVES                       15 AVE RICARDO SERRANO                                                                                              SAN SEBASTIAN       PR           00685
   332213 MIGUEL A LOPEZ OTERO                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721226 MIGUEL A LOPEZ REYES                        BO CAMPANILLA BUZON 1541                                                                                            TOA BAJA            PR           00949
   332214 MIGUEL A LOPEZ SOTO                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332215 MIGUEL A LORENZANA MUNIZ                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332216 MIGUEL A LORENZO CARDEC                     REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332217 MIGUEL A LOZADA VELAZQUEZ                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332218 MIGUEL A LUCIANO PLAZA                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332219 MIGUEL A LUGO BORRERO                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721227 MIGUEL A LUGO FIGUEROA                      1687 PASEO VILLA FLORES                                                                                             PONCE               PR           00716

   721228 MIGUEL A LUGO GONZALEZ                      VILLA PRADES               857 CALLE LUIS R HERNANDEZ                                                               SAN JUAN            PR           00918
   332220 MIGUEL A LUGO ORTIZ                         REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721229 MIGUEL A MACHUCA REYES                      RR 4 BOX 975                                                                                                        BAYAMON             PR           00956
   721230 MIGUEL A MAGRAMER FOLCH                     351 CALLE M PEREZ AVILES                                                                                            ARECIBO             PR           00612

   721231 MIGUEL A MAISONETT VAZQUEZ URB VENUS GARDENS                           705 CALLE ASTER                                                                          SAN JUAN            PR           00926



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  721232 MIGUEL A MALDONADO                           HC 3 BOX 10742                                                                                               COMERIO             PR           00782
         MIGUEL A MALDONADO
  332221 DELGADO                                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
         MIGUEL A MALDONADO
  332223 IRIZARRY                                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
         MIGUEL A MALDONADO
  332224 NEGRON                                       REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   721237 MIGUEL A MALDONADO ROLDAN PO BOX 906600                                                                                                                  SAN JUAN            PR           00906‐6600
          MIGUEL A MALDONADO
   721239 TRINIDAD                  60 BDA MIRANDA                                                                                                                 MANATI              PR           00674‐0000

   332225 MIGUEL A MALDONADO VEGA                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   721241 MIGUEL A MARCIAL GUZMAN                     URB SAN GERARDO        330 CALLE NEVADA                                                                      SAN JUAN            PR           00926
   332226 MIGUEL A MARIN MARIN                        REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   721242 MIGUEL A MARQUEZ FUENTES                    P O BOX 154                                                                                                  PALMER              PR           00721
   332227 MIGUEL A MARQUEZ NUNEZ                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   721243 MIGUEL A MARRERO ARROYO                     URB EL NARANJAL        B1 CALLE 1                                                                            TOA BAJA            PR           00949‐4202
          MIGUEL A MARRERO
   721244 CANDELERO                                   VILLAS DE CANEY        R8A CALLE OROCOVIX                                                                    TRUJILLA ALTO       PR           00976

   332228 MIGUEL A MARRERO CARABALLO REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   720857 MIGUEL A MARRERO CASTILLO                   URB HIGHLAND GARDENS   A 12 CALLE ARPEGIO                                                                    GUAYNABO            PR           00969
   721245 MIGUEL A MARRERO FALCON                     VALLE ARRIBA HTS       BJ 5 YAGRUMO ST                                                                       CAROLINA            PR           00983

   721246 MIGUEL A MARRERO MARQUEZ                    URB BANKER             432 CALLE N                                                                           CAGUAS              PR           00725
   332229 MIGUEL A MARRERO PADILLA                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
          MIGUEL A MARRERO Y AIDA L
   332230 GUZMAN                                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   332231 MIGUEL A MARTINEZ CAPO                      REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   332232 MIGUEL A MARTINEZ CEPEDA                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   721249 MIGUEL A MARTINEZ COLON                     PO BOX 5465                                                                                                  CAGUAS              PR           00726
   721250 MIGUEL A MARTINEZ GARCIA                    URB VISTA AZUL         DD 5 CALLE 34                                                                         ARECIBO             PR           00612

   332233 MIGUEL A MARTINEZ GRANIELA REDACTED                                REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   332235 MIGUEL A MARTINEZ GUZMAN                    REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   721251 MIGUEL A MARTINEZ ORTIZ                     HC 2 BOX 14627                                                                                               LAJAS               PR           00667
   721252 MIGUEL A MARTINEZ PEREZ                     EXT. COQUI CALLE K     RUISE¥OR 283 BUZON 5‐583                                                              AGUIRRE             PR           00704
          MIGUEL A MARTINEZ
   332237 RODRIGUEZ                                   REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED
   721254 MIGUEL A MARTINEZ ROMAN                     SECT SONUCO            CALLE YAGRUMO                                                                         ISABELA             PR           00662
   332238 MIGUEL A MARTINEZ TIBEN                     REDACTED               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED       REDACTED

   721256 MIGUEL A MARTINEZ TRINIDAD                  HC‐04 BOX 49948                                                                                              CAGUAS              PR           00725‐9648
   721257 MIGUEL A MARTINEZ VELEZ                     P O BOX 400                                                                                                  ISABELA             PR           00662
   721258 MIGUEL A MASSAS ACEVEDO                     JARDINES II            G11 CALLE 7                                                                           CEIBA               PR           00735
   721259 MIGUEL A MASSAS CRUZ                        P O BOX 1023                                                                                                 JUNCOS              PR           00777

          MIGUEL A MATIAS CANDELARIO
   721260 CARMEN ROMAN               Y RELIABLE FINANCIAL                    HC 01 BOX 8451 PMB 267     P O BOX 2400                                               TOA BAJA            PR           00951



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  721261 MIGUEL A MATOS CALDERO                       PO BOX 29                                                                                                   COROZAL             PR         00783
  721262 MIGUEL A MATOS FIGUEROA                      URB LOS ANGELES       V 44 CALLE N                                                                          CAROLINA            PR         00979
  332239 MIGUEL A MATOS GUERRIOS                      REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  721263 MIGUEL A MATOS MARRERO                       PO BOX 19059                                                                                                SAN JUAN            PR         00931
  721265 MIGUEL A MAZA PEREZ                          33 BOLIVIA SUTE 203                                                                                         SAN JUAN            PR         00917
  332241 MIGUEL A MEDINA CASTRO                       REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  332242 MIGUEL A MEDINA LOPEZ                        REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  332243 MIGUEL A MEDINA ORTIZ                        REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  721266 MIGUEL A MEDINA SERRANO                      LOMA ALTA             A 14 CALLE 1                                                                          CAROLINA            PR         00987
                                                      COND PARQUE DE LOS
   721267 MIGUEL A MEDINA TORRES                      MONACILLOS            APTO 1606                                                                             SAN JUAN            PR         00936
   721268 MIGUEL A MEJIA CUEVAS                       PO BOX 3264                                                                                                 CAROLINA            PR         00984
   332244 MIGUEL A MEJIAS CORTES                      REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721269 MIGUEL A MEJIAS SANTIAGO                    URB LOMAS VERDES      3K 15 CALLE CLAVELL                                                                   BAYAMON             PR         00956

   332245 MIGUEL A MELENDEZ ALVARADO REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332246 MIGUEL A MELENDEZ ANAYA    REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   721271 MIGUEL A MELENDEZ CUSTODIO P O BOX 171                                                                                                                  FLORIDA             PR         00650‐0171
   332247 MIGUEL A MELENDEZ DIAZ     REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721272 MIGUEL A MELENDEZ GARCI    HC 03 BOX 16527                                                                                                              COROZAL             PR         00783‐9277
   332248 MIGUEL A MELENDEZ GARCIA   REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   332249 MIGUEL A MELENDEZ HERRERA                   REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   332250 MIGUEL A MELENDEZ MELENDEZ REDACTED                               REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721274 MIGUEL A MELENDEZ RAMOS    RR 7 BOX 7441                                                                                                                SAN JUAN            PR         00926
   721275 MIGUEL A MELENDEZ RIVERA   BO LA CARMELITA                        CARR 139 KM 205                                                                       PONCE               PR         00731

   721276 MIGUEL A MELENDEZ SANCHEZ                   PO BOX 2805                                                                                                 GUAYNABO            PR         00970
   332251 MIGUEL A MELENDEZ SOTO                      REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332253 MIGUEL A MENA HERNANDEZ                     REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721278 MIGUEL A MENDEZ CINTRON                     52 VAESOERA                                                                                                 COAMO               PR         00769
   721279 MIGUEL A MENDEZ DE JESUS                    URB VISTA AZUL        X 34 CALLE 22                                                                         ARECIBO             PR         00612
   332254 MIGUEL A MENDEZ DIAZ                        REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   332255 MIGUEL A MENDEZ FONTANEZ                    REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721280 MIGUEL A MENDEZ GARCIA                      PO BOX 325                                                                                                  ANGELES             PR         00611

   721281 MIGUEL A MENDEZ GONZALEZ                    P O BOX 361689                                                                                              SAN JUAN            PR         00936
   332256 MIGUEL A MENDEZ MENDEZ                      REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721283 MIGUEL A MENDEZ MUNOZ                       BO SABANA SECA        PARCELA 23 CALLE COLLAZO                                                              SABANA SECA         PR         00952
   721284 MIGUEL A MENDEZ NIEVES                      P O BOX 3861                                                                                                FORT STEWART        GA         31315
   721286 MIGUEL A MENDEZ PEREZ                       PO BOX 14506                                                                                                MOCA                PR         00676
   721287 MIGUEL A MENDEZ SANTIAGO                    EXT MARISOL           77 CALLE 2                                                                            ARECIBO             PR         00612‐2954
   721288 MIGUEL A MENDOZA APONTE                     VILLA PRADES          802 M CALLE JOSE QUINTON                                                              SAN JUAN            PR         00924
   332257 MIGUEL A MENDOZA MOLINA                     REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721289 MIGUEL A MERCADO BAEZ                       PO BOX 7110                                                                                                 CAROLINA            PR         00986

   721290 MIGUEL A MERCADO GONZALEZ                   BO COTO               22 CALLE VISTA ALEGRE                                                                 ISABELA             PR         00662
   332258 MIGUEL A MERCADO JIMENEZ                    REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721291 MIGUEL A MERCADO MORA                       PO BOX 2432                                                                                                 ARECIBO             PR         00613
   332259 MIGUEL A MERCADO RIVERA                     REDACTED              REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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          MIGUEL A MERCADO
   721293 RODRIGUEZ                                   HC 67 BOX 21761                                                                                                 FAJARDO             PR           00738
   332260 MIGUEL A MERCADO SOTO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721294 MIGUEL A MERCED MAS                         BDA MORALES                 112 CALLE B                                                                         CAGUAS              PR           00725‐4985
   332261 MIGUEL A MERCED VAZQUEZ                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   721296 MIGUEL A MILLAN GUADALUPE                   HC 1 BOX 6743                                                                                                   PONCE               PR           00731
   721297 MIGUEL A MILLAN SILVA                       URB JARDINES DE LAFAYETTE   Q 5 CALLE 5                                                                         ARROYO              PR           00714‐1194
   332262 MIGUEL A MILLET MARTINEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332264 MIGUEL A MIRANDA ENRIQUEZ                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721301 MIGUEL A MOJICA                             URB ROSA MARIA              24 CALLE F                                                                          CAROLINA            PR           00983
   332265 MIGUEL A MOJICA MARTINEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721302 MIGUEL A MONTALVO                           113 CALLE PILAR DEFILLO     OFIC 6                                                                              MAYAGUEZ            PR           00680

   721304 MIGUEL A MONTALVO ROSARIO PO BOX 164                                                                                                                        ANASCO              PR           00610
   721305 MIGUEL A MONTANEZ         BO PLAYITA                                    A 84                                                                                SALINAS             PR           00751

   332268 MIGUEL A MONTANEZ RAMOS                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL A MONTANEZ
   332269 SANTIAGO                                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721306 MIGUEL A MONTERO NIEVES                     URB VILLA FONTANA           2LR 615 VIA 3                                                                       CAROLINA            PR           00913
   721307 MIGUEL A MONTES COLON                       P O BOX 22526                                                                                                   CAYEY               PR           00736
   721309 MIGUEL A MORALES                            HC 1 BOX 115338                                                                                                 MOCA                PR           00676
   721310 MIGUEL A MORALES COLON                      NEMESIO CANALES             EDIF E 24 APT 203                                                                   SAN JUAN            PR           00923

   721311 MIGUEL A MORALES DEL VALLE                  URB ALT DE RIO GRANDE       X 1257 CALLE 23                                                                     RIO GRANDE          PR           00745
   332271 MIGUEL A MORALES FAJARDO                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721313 MIGUEL A MORALES GARCIA                     PO BOX 373                                                                                                      LUQUILLO            PR           00773 0373

   332275 MIGUEL A MORALES HERNANDEZ REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332276 MIGUEL A MORALES MARIN     REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720895 MIGUEL A MORALES MORALES                    URB VILLA CAROLINA          142 7 CALLE 409                                                                     CAROLINA            PR           00985
   332277 MIGUEL A MORALES ORTIZ                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332279 MIGUEL A MORALES RAMOS                      REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332280 MIGUEL A MORALES TORRES                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332282 MIGUEL A MORCIGLIO FIGUEROA REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721318 MIGUEL A MOREDA DE JESUS    PO BOX 21365                                                                                                                    SAN JUAN            PR           00928
   721320 MIGUEL A MORENO IRIZARRY    URB TURABO GARDENS                          Y7 CALLE 21                                                                         CAGUAS              PR           00727
   332283 MIGUEL A MUNIZ MUNIZ        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332284 MIGUEL A MUNIZ NIEVES       REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332285 MIGUEL A MUNIZ RIVERA       REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721322 MIGUEL A NAVARRO RIVERA     METROPOLIS                                  2D5 AVE C                                                                           CAROLINA            PR           00985
   721323 MIGUEL A NAZARIO BRICERO    URB LOS PASEOS D 17                         CALLE GARITA                                                                        SAN JUAN            PR           00926

   332287 MIGUEL A NAZARIO QUINONES                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721324 MIGUEL A NEGRON                             URB VERDE MAR               97 CALLE 5                                                                          PUNTA SANTIAGO      PR           00749

   332289 MIGUEL A NEGRON ALVARADO                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332290 MIGUEL A NEGRON COLON                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721325 MIGUEL A NEGRON CRUZ                        PO BOX 7125                                                                                                     CAROLINA            PR           00986



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   332291 MIGUEL A NEGRON HERNANDEZ REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   721327 MIGUEL A NEGRON LOPEZ     HC 2 BOX 6049                                                                                                                  MOROVIS              PR         00687

   721328 MIGUEL A NEGRON MARRERO                     URB SILVIA                D 25 CALLE 7                                                                       COROZAL              PR         00783
   332292 MIGUEL A NEGRON MATTA                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   332293 MIGUEL A NEGRON RAMOS                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   721330 MIGUEL A NEGRON ROMAN                       URB VILLA HUMACAO         B 13 CALLE 14                                                                      HUMACAO              PR         00791
   332294 MIGUEL A NERIS CRUZ                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
          MIGUEL A NIEVES
   721331 CARRASQUILLO                                URB QUINTAS DE CAMPECHE   310 CALLE BEGONIA                                                                  CAROLINA             PR         00987
   721332 MIGUEL A NIEVES CINTRON                     PO BOX 11                                                                                                    COROZAL              PR         00783‐0011
   332296 MIGUEL A NIEVES DIAZ                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   721333 MIGUEL A NIEVES GERENA                      QTAS DE FAJARDO           H 2 CALLE 6                                                                        FAJARDO              PR         00738
   721334 MIGUEL A NIEVES MELENDEZ                    MINILLAS STATION          P O BOX 41269                                                                      SAN JUAN             PR         00940‐1269
   332298 MIGUEL A NIEVES ORTIZ                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   332300 MIGUEL A NIEVES QUILES                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   332301 MIGUEL A NIEVES RIVERA                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   721337 MIGUEL A NIEVES ROSA                        3RA EXT COUNTRY CLUB      HQ 10 CALLE 237                                                                    CAROLINA             PR         00982
   332302 MIGUEL A NIEVES TORRES                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   721339 MIGUEL A NISTAL GONZALES                    HC 3 BOX 19876                                                                                               ARECIBO              PR         00612
   721341 MIGUEL A NOVOA MEDINA                       DOMINGUITO GREEN CENTER   HC 02 BOX 16439                                                                    ARECIBO              PR         00612
   332304 MIGUEL A NUNEZ GOMEZ                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   332306 MIGUEL A O NEILL CRUZ                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   332307 MIGUEL A OCASIO DIAZ                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   332308 MIGUEL A OCASIO GUZMAN                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   721342 MIGUEL A OCASIO RIVERA                      22 LAS GUAVAS                                                                                                CIALES               PR         00638
   332310 MIGUEL A OCASIO TRINIDAD                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   721343 MIGUEL A OCASIO VEGA                        HC 02 BOX 7381                                                                                               CIALES               PR         00638
   332311 MIGUEL A OJEDA MENDEZ                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   332312 MIGUEL A OJEDA RAMOS                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   721344 MIGUEL A OLIVERA PAGAN                      MAGUEYES                  437 CALLE MARIA ONIEL                                                              PONCE                PR         00731
   332313 MIGUEL A OLIVO MACHUCA                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   332315 MIGUEL A OQUENDO CLAUDIO                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED

   332316 MIGUEL A OROZCO HERANDEZ                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   332317 MIGUEL A ORRACA LUGO                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   332318 MIGUEL A ORTEGA                             REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   721347 MIGUEL A ORTEGA COLON                       PO BOX 21365                                                                                                 SAN JUAN             PR         00928
   721349 MIGUEL A ORTIZ                              PO BOX 4442                                                                                                  VEGA BAJA            PR         00694
   332320 MIGUEL A ORTIZ ALFARO                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   721350 MIGUEL A ORTIZ ALVARADO                     P O BOX 957                                                                                                  VILLALBA             PR         00766
   332321 MIGUEL A ORTIZ CARTAGENA                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   721351 MIGUEL A ORTIZ COLON                        HC 01 BOX 6234                                                                                               JUNCOS               PR         00777
   721352 MIGUEL A ORTIZ CRUZ                         URB EXT FOREST HILLS      S 729 CALLE VIZCAYA                                                                BAYAMON              PR         00959
   721354 MIGUEL A ORTIZ ERAZO                        PARC VAN SCOY             O4 CALLE PRINCIPAL                                                                 BAYAMON              PR         00957
   721355 MIGUEL A ORTIZ FELIPE                       CAPARRA TERRACE           1562 CALLE 250                                                                     SAN JUAN             PR         00921
   721356 MIGUEL A ORTIZ FONTANEZ                     HC 04 BOX 4564                                                                                               HUMACAO              PR         00791
   332323 MIGUEL A ORTIZ LEBRON                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED
   721357 MIGUEL A ORTIZ MELENDEZ                     PO BOX 10565                                                                                                 PONCE                PR         00732‐0565
   721358 MIGUEL A ORTIZ NIEVES                       BO 617 CALLE 14                                                                                              SAN JUAN             PR         00915
   332324 MIGUEL A ORTIZ ORTIZ                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED      REDACTED



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   721361 MIGUEL A ORTIZ PAGAN                        HC 1 BOX 20034 BO LA PRIETA                                                                                            COMERIO             PR       00782
   332325 MIGUEL A ORTIZ RAMOS                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   721362 MIGUEL A ORTIZ RIVERA                       HC 2 BOX 7030                                                                                                          BARRANQUITAS        PR       00794
   721364 MIGUEL A ORTIZ RODRIGUEZ                    APARTADO 1771                                                                                                          CAYEY               PR       00737
   332326 MIGUEL A ORTIZ ROSA                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   721366 MIGUEL A ORTIZ SANCHEZ                      PO BOX 843                                                                                                             CAYEY               PR       00737
   332327 MIGUEL A ORTIZ SANTOS                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   720858 MIGUEL A ORTIZ SERRANO                      PO BOX 10007                  SUITE 410                                                                                GUAYAMA             PR       00785
   332328 MIGUEL A ORTIZ TARANTA                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   721371 MIGUEL A ORTIZ VELEZ                        BDA MORALES                   218 CALLE 7                                                                              CAGUAS              PR       00725‐5347
   721374 MIGUEL A OTANO                              URB SANTIAGO IGLESIAS         1330 CALLE BELEN BURGOS                                                                  SAN JUAN            PR       00921
   721375 MIGUEL A OTERO LABOY                        URB CAMPO ALEGRE              C 23 CALLE LAUREL                                                                        BAYAMON             PR       00959
   332330 MIGUEL A OTERO NEGRON                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   332331 MIGUEL A OTERO SOTO                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   332332 MIGUEL A OYOLA BAEZ                         REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   721376 MIGUEL A PABON FERRER                       VILLA PALMERAS                325 CALLE BELLEVUE                                                                       SAN JUAN            PR       00915
   721378 MIGUEL A PABON MOLINA                       CONDOMINIO BOSQUE REAL        APTO 609                                                                                 SAN JUAN            PR       00926
   332333 MIGUEL A PABON ORTIZ                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   721379 MIGUEL A PABON SOTO                         HC 2 BOX 6388                                                                                                          LARES               PR       00669
   332334 MIGUEL A PACHECO BURGOS                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   332335 MIGUEL A PACHECO PEREZ                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   721380 MIGUEL A PADILLA                            CROWN HILLS                   152 CALLE ZAMBESE                                                                        SAN JUAN            PR       00926‐6010
   721382 MIGUEL A PADILLA LOPEZ                      PO BOX 70166                                                                                                           SAN JUAN            PR       00936‐8166
   721383 MIGUEL A PADILLA VAZQUEZ                    HC 73 BOX 4309                                                                                                         NARANJITO           PR       00719
   721384 MIGUEL A PAGAN AYALA                        HILL BROTHERS                 61 B CALLE 9                                                                             SAN JUAN            PR       00924
   721385 MIGUEL A PAGAN CAY                          BO BORINQUEN                  CARR 765 RM 761 KM 2 8                                                                   CAGUAS              PR       00725
   332337 MIGUEL A PAGAN DE JESUS                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   721386 MIGUEL A PAGAN MIRANDA                      COND THE GALAXY               3205 AVE ISLA VERDE APT 401                                                              CAROLINA            PR       00979‐4947
   721388 MIGUEL A PAGAN PAGAN                        LOS COLOBOS PARK              419 CALLE ALMENDRO                                                                       CAROLINA            PR       00987
   332338 MIGUEL A PAGAN RODRIGUEZ                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED
   721389 MIGUEL A PAGAN RUIZ                         URB LA MONSERRATE C 11        CALLE 4                                                                                  HORMIGUEROS         PR       00660
   332339 MIGUEL A PAGAN VELEZ                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED REDACTED        REDACTED

   721390 MIGUEL A PALADINES CHERREZ                  BO DULCES LABIOS              170 CALLE RAMON MARTINEZ                                                                 MAYAGUEZ            PR         00680
   332340 MIGUEL A PARDO COSME                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   721393 MIGUEL A PEDRAZA MATEO                      URB VILLA DEL MONTE           147 CALLE MONTE CLARO                                                                    TOA ALTA            PR         00953
   721394 MIGUEL A PEDRERO LOPEZ                      PO BOX 804                                                                                                             CIDRA               PR         00739
   332341 MIGUEL A PEDROZA ROBLES                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   720899 MIGUEL A PEDROZA ROBLES                     RES LUIS LLORENS TORRES       EDIF 66 APT 1251                                                                         SAN JUAN            PR         00913
   721395 MIGUEL A PELLOT LOPEZ                       PO BOX 455                                                                                                             ISABELA             PR         00662
   332342 MIGUEL A PENA ARCE                          REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   332343 MIGUEL A PENA CAMACHO                       REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   332344 MIGUEL A PENA DE JESUS                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   332345 MIGUEL A PENA MEJIAS                        REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   721396 MIGUEL A PEREIRA CASTILLO                   URB TIERRA ALTA I             F 3 CALLE LA GAVIOTA                                                                     GUAYNABO            PR         00969
   721397 MIGUEL A PEREZ                              BOX 641                                                                                                                AGUADILLA           PR         00605
   721399 MIGUEL A PEREZ BONILLA                      PO BOX 1807                                                                                                            SAN GERMAN          PR         00683
   332350 MIGUEL A PEREZ CARABALLO                    REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   332351 MIGUEL A PEREZ FUENTES                      REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   721403 MIGUEL A PEREZ MALDONADO                    URB DOS RIOS                  M19 CALLE 2                                                                              TOA BAJA            PR         00949
   332353 MIGUEL A PEREZ MARTINEZ                     REDACTED                      REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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  332354 MIGUEL A PEREZ MERCADO                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                      COND QUINTANA TORRE B APT
   721406 MIGUEL A PEREZ MORALES                      213                                                                                                             SAN JUAN            PR         00917
   332356 MIGUEL A PEREZ NIEVES                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332357 MIGUEL A PEREZ ORTIZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MIGUEL A PEREZ ORTIZ /
   332358 CAMILLE ORTIZ                               REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332359 MIGUEL A PEREZ POLANCO                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332360 MIGUEL A PEREZ RAMIREZ                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721407 MIGUEL A PEREZ RIVERA                       BOX 11874                                                                                                       CAROLINA            PR         00985
   721408 MIGUEL A PEREZ RODRIGUEZ                    HC 3 BOX 8790                                                                                                   MOCA                PR         00676
   721410 MIGUEL A PEREZ ROSARIO                      HC 01 BOX 8100                                                                                                  GUAYANILLA          PR         000656
                                                      15 ALTOS URB COFRESI
   721411 MIGUEL A PEREZ SANTIAGO                     PORTALATIN                                                                                                      CABO ROJO           PR         00623
   332362 MIGUEL A PEREZ SOTO                         REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721398 MIGUEL A PEREZ SUAREZ                       BO DUQUE                      Q 10 CALLE 19                                                                     NAGUABO             PR         00718
   332363 MIGUEL A PEREZ TOLEDO                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332365 MIGUEL A PEREZ TORRES                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721414 MIGUEL A PEREZ VAZQUEZ                      LA VEGA                       CALLE LA HACIENDITA                                                               BARRANQUITAS        PR         00794
   721415 MIGUEL A PICA MILLAN                        P O BOX 7428                                                                                                    SAN JUAN            PR         00916
   721416 MIGUEL A PILLOT RIVERA                      BO COQUI 147                  PARCELAS VIEJAS                                                                   AGUIRRE             PR         00704
   721417 MIGUEL A PIMENTEL NEGRON                    COLLEGE PARK                  1754 CALLE ALCALA                                                                 RIO PIEDRAS         PR         00921
   332367 MIGUEL A PINERO OFARRIL                     REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332368 MIGUEL A PINERO RUIZ                        REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721418 MIGUEL A PLAUD DELGADO                      P O BOX 2177                                                                                                    GUAYNABO            PR         00970
                                                      PARK VIEW TERRACE BD5 APT
   721419 MIGUEL A PLAZA LUGO                         202                                                                                                             CANOVANAS           PR         00729
   332369 MIGUEL A POMALES BONILLA                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   721420 MIGUEL A PONCE DE LEON MIRO ESTANCIAS DE YAUCO                            A 17 CALLE RUBI                                                                   YAUCO               PR         00698

   332370 MIGUEL A PORRATA GONZALEZ                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   721421 MIGUEL A POUPART CUADRADO 2204 PLAZA DEL MAR                                                                                                                CAROLINA            PR         00979

   332371 MIGUEL A POVENTUD VAZQUEZ                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721422 MIGUEL A PROSPERO ALTIERY                   COND LA ARBOLEDA              APT 1901                                                                          GUAYNABO            PR         00966
   332372 MIGUEL A QUIJANO RAMOS                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721423 MIGUEL A QUILE                              PTO NUEVO                     1366 CALLE 16 NO                                                                  SAN JUAN            PR         00920
   721424 MIGUEL A QUILES CORTES                      PUERTO NUEVO                  1366 CALLE 16                                                                     SAN JUAN            PR         00920
   721425 MIGUEL A QUILES EXCIA                       BOX 460                                                                                                         CASTANER            PR         00631
   721426 MIGUEL A QUILES LOPEZ                       HC 1 BOX 3874                                                                                                   ADJUNTAS            PR         00601‐9708
   332373 MIGUEL A QUILES ROMAN                       REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332374 MIGUEL A QUILES SIERRA                      REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MIGUEL A QUINONES
   332375 CARRASQUILLO                                REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   332376 MIGUEL A QUINONES SANCHEZ                   REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332378 MIGUEL A QUINONEZ ACOSTA                    REDACTED                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721427 MIGUEL A QUIROZ RIOS                        PO BOX 51574                                                                                                    TOA BAJA            PR         00950‐1574
                                                      CARR.103 KM. 9.5 BUZON 507 R‐
   721428 MIGUEL A RAMIREZ ACOSTA                     1                                                                                                               CABO ROJO           PR         00623
   721429 MIGUEL A RAMIREZ JIMENEZ                    JARD COUNTRY CLUB             B 20 CALLE 104                                                                    CAROLINA            PR         00979



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   721430 MIGUEL A RAMIREZ PASTRANA                   PO BOX 743                                                                                                  MANATI              PR           00674
   332379 MIGUEL A RAMIREZ PEREZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   721432 MIGUEL A RAMIREZ SANTIAGO                   BO CAPETILLO              281 CALLE ROBLES                                                                  SAN JUAN            PR           00925
   721433 MIGUEL A RAMIREZ VAZQUEZ                    EXT SAN ISIDRO            95 CALLE FIDEL VELEZ                                                              SABANA GRANDE       PR           00637
   721437 MIGUEL A RAMOS DURAN                        MSC 17                    RR‐3 BOX 3125                                                                     SAN JUAN            PR           00926
   332382 MIGUEL A RAMOS FONT                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332384 MIGUEL A RAMOS LOZADA                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332385 MIGUEL A RAMOS MAS                          REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721438 MIGUEL A RAMOS MOLINA                       PO BOX 466                                                                                                  MOCA                PR           00676
   332386 MIGUEL A RAMOS NIEVES                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332388 MIGUEL A RAMOS RIVERA                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332391 MIGUEL A RAMOS SANJURJO                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332392 MIGUEL A RAMOS SIERRA                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721441 MIGUEL A RAY CHACON                         PARKVILLE TERRACE         F 3 ALAMO DRIVE                                                                   GUAYNABO            PR           00969
   721443 MIGUEL A RENTAS RAMOS                       COM PUERTO FERRO          SOLAR 16                                                                          VIEQUES             PR           00765
   332394 MIGUEL A RESTO MONTANEZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332395 MIGUEL A RESTO SOLIC                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332396 MIGUEL A REYES CARTAGENA                    REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721445 MIGUEL A REYES CEBALLOS                     HC 1 BOX 12140                                                                                              RIO GRANDE          PR           00745
   332397 MIGUEL A REYES CRUZ                         REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721447 MIGUEL A REYES MELENDEZ                     BO CEIBA BOX 726                                                                                            FLORIDA             PR           00650
   721448 MIGUEL A REYES ORTIZ                        URB COUNTRYN CLUB         JE 20 CALLE 242                                                                   CAROLINA            PR           00982
   721449 MIGUEL A REYES RODRIGUEZ                    BOX 577                                                                                                     COAMO               PR           00769
   721451 MIGUEL A RIJOS PEREZ                        JARD DE DORADO                                                                                              DORADO              PR           00646
   721452 MIGUEL A RIOS ACEVEDO                       PO BOX 1622                                                                                                 HATILLO             PR           00659
   721453 MIGUEL A RIOS BONILLA                       PO BOX 2341                                                                                                 RIO GRANDE          PR           00745
   332398 MIGUEL A RIOS HERNANDEZ                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721454 MIGUEL A RIOS MELENDEZ                      PO BOX 8603                                                                                                 CAGUAS              PR           00726
   721455 MIGUEL A RIOS RAMOS                         HC 4 BOX 11967                                                                                              HUMACAO             PR           00791
   721456 MIGUEL A RIOS TORRES                        P O BOX 9065693                                                                                             SAN JUAN            PR           00906563
   332399 MIGUEL A RIVAS OCASIO                       REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721457 MIGUEL A RIVAS SANCHEZ                      URB VILLAS DE LOIZA       O 29 CALLE 17                                                                     CANOVANAS           PR           00729
   332400 MIGUEL A RIVAS VAZQUEZ                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721458 MIGUEL A RIVERA                             PO BOX 21635                                                                                                SAN JUAN            PR           00928

   332401 MIGUEL A RIVERA ALMODOVAR                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332403 MIGUEL A RIVERA ARROYO                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721459 MIGUEL A RIVERA AYALA                       HC 4 BOX 48162                                                                                              CAGUAS              PR           00725
   332405 MIGUEL A RIVERA BONILLA                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL A RIVERA
   721460 CARRASQUILLO                                P O BOX 360223                                                                                              SAN JUAN            PR           00936
   721462 MIGUEL A RIVERA COLON                       12 CALLE SALVADOR BRAU                                                                                      CAMUY               PR           00627

   332407 MIGUEL A RIVERA CONTRERAS                   REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332409 MIGUEL A RIVERA CRESPI                      REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332410 MIGUEL A RIVERA CRUZ                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721465 MIGUEL A RIVERA CUADRADO                    URB REPTO METROPOLITANO   992 CALLE 17 SE                                                                   SAN JUAN            PR           00921
   332412 MIGUEL A RIVERA DAMIANI                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721467 MIGUEL A RIVERA DE JESUS                    URB JARDINES DE ARROYO    AI 22 CALLE C                                                                     ARROYO              PR           00714
   332413 MIGUEL A RIVERA DELGADO                     REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332414 MIGUEL A RIVERA DIAZ                        REDACTED                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  720850 MIGUEL A RIVERA FLORES                        VILLA CAROLINA           223 13 CALLE 603                                                                          CAROLINA           PR         00985
  721469 MIGUEL A RIVERA FRASQUERI                     URB CAPARRA TERRACE      1272 CALLE CASTILLA                                                                       SAN JUAN           PR         00921
  721470 MIGUEL A RIVERA FRATICELLY                    PUERTO NUEVO             1167 BOHEMIA                                                                              SAN JUAN           PR         00927
  721471 MIGUEL A RIVERA GARCIA                        B 24 VISTAS DE CAMUY                                                                                               CAMUY              PR         00627
  332416 MIGUEL A RIVERA GONZALEZ                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  332417 MIGUEL A RIVERA GUZMAN                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  332418 MIGUEL A RIVERA LEBRON                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  332419 MIGUEL A RIVERA LOPEZ                         REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  332420 MIGUEL A RIVERA MANSO                         REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  721476 MIGUEL A RIVERA MARRERO                       E 4 URB VALLE ALTO                                                                                                 CAYEY              PR         00736
  721477 MIGUEL A RIVERA MARTINEZ                      HC O1 BUZON 8531                                                                                                   TOA BAJA           PR         00949
  332422 MIGUEL A RIVERA MERCADO                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  332423 MIGUEL A RIVERA MORENO                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  332424 MIGUEL A RIVERA NIEVES                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  332425 MIGUEL A RIVERA ORTIZ                         REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  721481 MIGUEL A RIVERA PANTOJAS                      PO BOX 3075                                                                                                        VEGA ALTA          PR         00692
  721483 MIGUEL A RIVERA PEDROZA                       JARDINES DE RIO GRANDE   BW 447 CALLE 74                                                                           RIO GRANDE         PR         00745
  332428 MIGUEL A RIVERA RIOS                          REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  332429 MIGUEL A RIVERA RIVERA                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  721491 MIGUEL A RIVERA ROBLES                        EL ALAMO                 G 4 SAN JACINTO                                                                           GUAYNABO           PR         00969‐4515

   332433 MIGUEL A RIVERA RODRIGUEZ                    REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   332436 MIGUEL A RIVERA ROSENDO                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   332437 MIGUEL A RIVERA RUBIO                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   721497 MIGUEL A RIVERA SANTIAGO                     BDA CLAUSELLS            38 CALLE 1                                                                                PONCE              PR         00731
   721498 MIGUEL A RIVERA SANTOS                       110 ANAIDA GARDENS                                                                                                 PONCE              PR         00731
   332439 MIGUEL A RIVERA SEPULVEDA                    REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   332440 MIGUEL A RIVERA SERRANO                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   332441 MIGUEL A RIVERA SOLIS                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   332442 MIGUEL A RIVERA SOLIVAN                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   721500 MIGUEL A RIVERA SOSTRE                       JARDINES DE PALMAREJO    CALLE 9 Y 1                                                                               CANOVANAS          PR         00729
   721501 MIGUEL A RIVERA TAVAREZ                      BO JOBOS PARCELA 83                                                                                                ISABELA            PR         00662
   721502 MIGUEL A RIVERA TORRES                       P O BOX 240                                                                                                        COMERIO            PR         00782
   332443 MIGUEL A RIVERA TRINIDAD                     REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   332444 MIGUEL A RIVERA VAZQUEZ                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   721503 MIGUEL A RIVERA VEGA                         P O BOX 1152                                                                                                       SABANA GRANDE      PR         00637

   721504 MIGUEL A RIVERA VELAZQUEZ                    RR 01 BOX 12133                                                                                                    TOA ALTA           PR         00853
   720859 MIGUEL A RIVERA VELEZ                        PO BOX 24                                                                                                          MARICAO            PR         00606
   332445 MIGUEL A RIVERA VILLAFANE                    REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   332446 MIGUEL A RIVERA VIVES                        REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MIGUEL A RIVERA Y FELIPE
   332447 RIVERA                                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
          MIGUEL A RIVERA/ MIGUELITO
   332448 ASPHALT                                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   721505 MIGUEL A ROA VARGAS                          PO BOX 366069                                                                                                      SAN JUAN           PR         00936‐6069
   721506 MIGUEL A ROBLEDO RIOS                        85 BDA CABAN                                                                                                       AGUADILLA          PR         00603
   332449 MIGUEL A ROBLES JIMENEZ                      REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   721507 MIGUEL A ROBLES ROSES                        HC 1 BOX 3790                                                                                                      ARECIBO            PR         00612
   332450 MIGUEL A ROBLES TORRES                       REDACTED                 REDACTED                       REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   720860 MIGUEL A RODRIGUEZ                           RIBERA DE RIO HONDO      CALLE ESPIRITU SANTO APT 101                                                              BAYAMON            PR         00961‐3290
   721509 MIGUEL A RODRIGUEZ                           PO BOX 21365                                                                                                       SAN JUAN           PR         00928‐1365



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          MIGUEL A RODRIGUEZ /
   332451 GEOMARA L RODRIGUE                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721515 MIGUEL A RODRIGUEZ ALICEA                   85 EMERITO ESTRADA                                                                                               SAN SEBASTIAN       PR           00685

   332452 MIGUEL A RODRIGUEZ ANGLERO REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332453 MIGUEL A RODRIGUEZ APONTE                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721513 MIGUEL A RODRIGUEZ BAEZ                     HC 04 BOX 25977                                                                                                  LAJAS               PR           00667
          MIGUEL A RODRIGUEZ
   332454 BETANCOURT                                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721517 MIGUEL A RODRIGUEZ CABAN                    URB ESTEVES               87 A CALLE ALELI                                                                       AGUADILLA           PR           00603
          MIGUEL A RODRIGUEZ
   332455 CANDELARIO                                  REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL A RODRIGUEZ
   721518 CARTAGENA                                   PMB 105 CALL BOX 5004                                                                                            YAUCO               PR           00698

   721519 MIGUEL A RODRIGUEZ CASELLAS COND DELMONICO                            157 VILLAMIL APT 8C                                                                    SAN JUAN            PR           00907
          MIGUEL A RODRIGUEZ
   332456 CATAGENA                    REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332457 MIGUEL A RODRIGUEZ COLON                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720901 MIGUEL A RODRIGUEZ COLON                    URB EL PLANTIO            A100 CALLE VILLA ALMENDRO                                                              TOA BAJA            PR           00949

   332458 MIGUEL A RODRIGUEZ CORREA                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332459 MIGUEL A RODRIGUEZ CRUZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332460 MIGUEL A RODRIGUEZ DE JESUS REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL A RODRIGUEZ
   332461 DOMINICCI                   REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL A RODRIGUEZ
   332462 ESCALANTE                   REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332463 MIGUEL A RODRIGUEZ FIGUEROA REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL A RODRIGUEZ
   332465 FONTANEZ                    REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   721523 MIGUEL A RODRIGUEZ FRANCO                   BO SALISTRAL PLAYA 25     CALLE RAFAEL MORENO                                                                    PONCE               PR           00716
   721524 MIGUEL A RODRIGUEZ GARAY                    URB VENUS GARDENS OESTE   BD 21 CALLE C                                                                          SAN JUAN            PR           00926

   332466 MIGUEL A RODRIGUEZ GARCIA                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL A RODRIGUEZ
   332468 GONZALEZ                                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL A RODRIGUEZ
   332469 HERNANDEZ                                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332470 MIGUEL A RODRIGUEZ IRIZARRY                 REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332471 MIGUEL A RODRIGUEZ LUIGGI                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332472 MIGUEL A RODRIGUEZ LUNA                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL A RODRIGUEZ
   332473 MALDONADO                                   REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   721528 MIGUEL A RODRIGUEZ MARRERO P O BOX 3348                                                                                                                      MANATI              PR           00674‐3348



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          MIGUEL A RODRIGUEZ
   332474 MARTINEZ                                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332475 MIGUEL A RODRIGUEZ MIRANDA REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332476 MIGUEL A RODRIGUEZ MOJICA                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   721530 MIGUEL A RODRIGUEZ MORALES HC 2 BOX 4651‐1                                                                                                               LAS PIEDRAS         PR           00771

   332477 MIGUEL A RODRIGUEZ MUNOZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332479 MIGUEL A RODRIGUEZ NUNEZ                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   721531 MIGUEL A RODRIGUEZ OCASIO                   PO BOX 119                                                                                                   VILLALBA            PR           00766

   332480 MIGUEL A RODRIGUEZ OLIVERAS REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721532 MIGUEL A RODRIGUEZ ORTIZ    HC 1 BOX 5910                                                                                                                OROCOVIS            PR           00720

   721533 MIGUEL A RODRIGUEZ OTERO                    PO BOX 8691                                                                                                  BAYAMON             PR           00960
   721534 MIGUEL A RODRIGUEZ PAGAN                    PO BOX 548                                                                                                   NARANJITO           PR           00719

   721536 MIGUEL A RODRIGUEZ PELLICIER URB SANTA JUANITA                         L 39 AVE LAUREL                                                                   BAYAMON             PR           00956‐4632
   332481 MIGUEL A RODRIGUEZ PEREZ     REDACTED                                  REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332482 MIGUEL A RODRIGUEZ RIVERA                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332483 MIGUEL A RODRIGUEZ RIVERO                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL A RODRIGUEZ
   332484 RODRIGUEZ                                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332485 MIGUEL A RODRIGUEZ ROMAN                    REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   721547 MIGUEL A RODRIGUEZ SAMALOT URB MIGUEL CORCHADO                         10 CALLE DALIA                                                                    ISABELA             PR           00662

   721548 MIGUEL A RODRIGUEZ SANCHEZ HC 1 BOX 4198‐1                                                                                                               NAGUABO             PR           00718
          MIGUEL A RODRIGUEZ
   720868 SANTIAGO                   URB SAN FELIPE                              B 6 CALLE 2                                                                       ARECIBO             PR           00612

   721553 MIGUEL A RODRIGUEZ SANTOS                   URB SABANA GARDENS         7‐6 CALLE 14                                                                      CAROLINA            PR           00983

   721554 MIGUEL A RODRIGUEZ SIERRA                   URB ALTURAS DE FLAMBOYAN   B 40 CALLE 2                                                                      BAYAMON             PR           00959

   332486 MIGUEL A RODRIGUEZ SUAREZ                   REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   721555 MIGUEL A RODRIGUEZ TORRES                   URB SANTA MONICA           B 16 CALLE 2                                                                      BAYAMON             PR           00957
   720869 MIGUEL A ROJAS MORALES                      PO BOX 198                                                                                                   GUAYNABO            PR           00970
   332487 MIGUEL A ROJAS PAGAN                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332488 MIGUEL A ROJAS REYES                        REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721556 MIGUEL A ROJAS RODRIGUEZ                    HC 01 BOX 4721                                                                                               JUANA DIAZ          PR           00795
   332490 MIGUEL A ROLDAN ORTIZ                       REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332491 MIGUEL A ROLDAN TORRES                      REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332492 MIGUEL A ROLON SANTIAGO                     REDACTED                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721557 MIGUEL A ROMAN                              URB VILLA GRANADA          909 CALLE ALAMEDA                                                                 SAN JUAN            PR           00923
   721558 MIGUEL A ROMAN ADORNO                       JARD DE VEGA BAJA          D 39 CALLE L                                                                      VEGA BAJA           PR           00693



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  332493 MIGUEL A ROMAN DEL VALLE                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  721559 MIGUEL A ROMAN GERENA                        BO PIEDRA GORDA             HC 01 BOX 5377                                                                       CAMUY             PR         00627
  721560 MIGUEL A ROMAN MERCADO                       BO PARABUELLON              BZN 37                                                                               CABO ROJO         PR         00623
  721561 MIGUEL A ROMAN PAGAN                         HC 01 BOX 10185                                                                                                  HATILLO           PR         00659
  721562 MIGUEL A ROMAN PEREZ                         B 3 ANTIGUO PASEO NIVEL C                                                                                        ISABELA           PR         00662
  332494 MIGUEL A ROMAN VAZQUEZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   720861 MIGUEL A ROMAN VILLANUEVA PO BOX 1576                                                                                                                        MOCA              PR         00676
   721563 MIGUEL A ROMERO LOPEZ     HC 04 BOX 17834                               BO ZANJAS                                                                            CAMUY             PR         00627‐9126

   332495 MIGUEL A ROQUE VELAZQUEZ                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   332496 MIGUEL A ROSA CRESPO                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721566 MIGUEL A ROSA GARAY                         HC 02 BOX 14068                                                                                                  AGUAS BUENAS      PR         00703
   721567 MIGUEL A ROSA MARTINEZ                      26 RES ZENON DIAZ           VALCARCEL APT 185                                                                    GUAYNABO          PR         00965
   721568 MIGUEL A ROSADO                             PO BOX 1738                                                                                                      LARES             PR         00669
   721569 MIGUEL A ROSADO ACEVEDO                     VILLAS DE MONTE             6050 CARR 844                                                                        SAN JUAN          PR         00926
   332498 MIGUEL A ROSADO CAPELLA                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721570 MIGUEL A ROSADO JIMENEZ                     P O BOX 2500                                                                                                     TOA BAJA          PR         00951
   721571 MIGUEL A ROSADO MONTES                      BO CARAZON                  113‐4 CALLE SANTO TOMAS                                                              GUAYAMA           PR         00784

   332499 MIGUEL A ROSADO RODRIGUEZ                   REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721572 MIGUEL A ROSADO SANCHEZ                     BO OBRERO                   708 CALLE 6                                                                          SAN JUAN          PR         00915
   721573 MIGUEL A ROSADO SERRA                       HC 5 BOX 11356                                                                                                   COROZAL           PR         00783
   721574 MIGUEL A ROSARIO ALICEA                     URB ALMIRA                  AE 7 CALLE 1 LEVITTOWN                                                               TOA BAJA          PR         00949
   332501 MIGUEL A ROSARIO DIAZ                       REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721576 MIGUEL A ROSSY FULLANA                      EL REMANSO                  G 18 CALLE CALZADA                                                                   SAN JUAN          PR         00926
   332503 MIGUEL A RUIZ                               REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721577 MIGUEL A RUIZ ACEVEDO                       PO BOX 984                                                                                                       AGUADA            PR         00602
   721578 MIGUEL A RUIZ ADORNO                        APARTADO 757                                                                                                     FLORIDA           PR         00650
   721579 MIGUEL A RUIZ COTTO                         BO RIO HONDO                P O BOX 687                                                                          COMERIO           PR         00782
   721580 MIGUEL A RUIZ FIGUEROA                      RESIDENCIAL YAGUEZ          EDIF 16 APT 158                                                                      MAYAGUEZ          PR         00680
   332505 MIGUEL A RUIZ GONZALEZ                      REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   332506 MIGUEL A RUIZ LOPEZ                         REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   720902 MIGUEL A RUIZ PEREZ                         BOX 7801                                                                                                         CAROLINA          PR         00986
   721582 MIGUEL A RUIZ TORRES                        PO BOX 370749                                                                                                    CAYEY             PR         00737‐0749
   721583 MIGUEL A RULLAN BIDOT                       HC 3 BOX 0515                                                                                                    CAMUY             PR         00627
   332507 MIGUEL A RULLAN CRUZ                        REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721586 MIGUEL A SAEZ ORTIZ                         PO BOX 1684                                                                                                      UTUADO            PR         00641‐1684
   721587 MIGUEL A SALGADO TORRES                     URB LAS COLINAS             L 29 CALLE 9                                                                         TOA BAJA          PR         00949

   332508 MIGUEL A SALICHS SOTOMAYOR                  REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   332510 MIGUEL A SALVA FELICIANO                    REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   332512 MIGUEL A SAMPOLL CORREA                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721588 MIGUEL A SANABRIA                           BOX 62                                                                                                           SABANA GRANDE     PR         00637

   332513 MIGUEL A SANABRIA GONZALEZ REDACTED                     REDACTED                                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721591 MIGUEL A SANCHEZ CORA      NUEVA VIDA                   E 57 CALLE J                                                                                         PONCE             PR         00728
                                     URB JARD DE GURABO 174 CALLE
   721592 MIGUEL A SANCHEZ FONSECA   8                                                                                                                                 GURABO            PR         00758

   720862 MIGUEL A SANCHEZ MARRERO                    PO BOX 1615                                                                                                      CIALES            PR         00638
   332514 MIGUEL A SANCHEZ MEDINA                     REDACTED                    REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721593 MIGUEL A SANCHEZ ORTIZ                      A44 RES JAGUAS                                                                                                   CIALES            PR         00638



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  332515 MIGUEL A SANCHEZ PINEIRO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  721594 MIGUEL A SANCHEZ REYES                       HC 20 BOX 28845                                                                                                 SAN LORENZO       PR         00754

   332516 MIGUEL A SANCHEZ RODRIGUEZ                  REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   332517 MIGUEL A SANCHEZ SANCHEZ                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   332519 MIGUEL A SANCHEZ SERRANO                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721596 MIGUEL A SANDOVAL TORRES                    HC 2 BOX 5680                                                                                                   MOROVIS           PR         00687

   721597 MIGUEL A SANJURJO DOMENECH EXT VILLAS DE LOIZA                          BB 25 CALLE 46                                                                      CANOVANAS         PR         00729

   332520 MIGUEL A SANTANA ALVARADO REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   332521 MIGUEL A SANTANA RIOS     REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   721600 MIGUEL A SANTANA RODRIGUEZ PO BOX 2912                                                                                                                      SAN GERMAN        PR         00683
   721601 MIGUEL A SANTANA VALLES    EXT SAN JOSE                                 T 7 CALLE 11 BUZON 337                                                              SABANA GRANDE     PR         00637
   332523 MIGUEL A SANTIAGO          REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MIGUEL A SANTIAGO
   332524 BETANCOURT                 REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   721605 MIGUEL A SANTIAGO ESPARRA                   HC 02 BOX 4804                                                                                                  LAS PIEDRAS       PR         00771
   332527 MIGUEL A SANTIAGO GARCIA                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721606 MIGUEL A SANTIAGO GOMEZ                     URB CAMINO DEL SUR          357 CALLE PELICANO                                                                  PONCE             PR         00731
          MIGUEL A SANTIAGO
   332528 HERNANDEZ                                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MIGUEL A SANTIAGO
   332529 MALDONADO                                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   721607 MIGUEL A SANTIAGO MARTINEZ URB LAS COLINAS                              D 11 CALLE 7                                                                        TOA BAJA          PR         00949
   721608 MIGUEL A SANTIAGO MONTES   URB GLENVIEW GDNS B 16                       CALLE W 24 A                                                                        PONCE             PR         00731
   721610 MIGUEL A SANTIAGO ORTIZ    EXT SAN LUIS 46                              CALLE ANTIOQUIA                                                                     AIBONITO          PR         00705

   721611 MIGUEL A SANTIAGO PEREZ                     URB JARDINES DE SANTA ISABEL A 35 CALLE 8                                                                       SANTA ISABEL      PR         00757
   332531 MIGUEL A SANTIAGO RESTO                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   720903 MIGUEL A SANTIAGO RIVAS                     SECTOR LA PLAYITA            23 PUERTO ARTURO                                                                   COAMO             PR         00769

   721612 MIGUEL A SANTIAGO SANTANA  URB LOIZA VALLEY                             616 CALLE BUNGANILLA                                                                CANOVANAS         PR         00729
                                     URB LEVITTOWN W 21 CALLE
   721613 MIGUEL A SANTIAGO SANTIAGO LADI                                                                                                                             TOA BAJA          PR         00949
   721614 MIGUEL A SANTIAGO SOTO     523 BO BUENA VENTURA                                                                                                             CAROLINA          PR         00987‐8214
   332532 MIGUEL A SANTIAGO TORRES   REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   332535 MIGUEL A SANTOS            REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   332536 MIGUEL A SANTOS CAQUIAS    REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   332537 MIGUEL A SANTOS FEBUS      REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   721617 MIGUEL A SANTOS FIGUEROA   P O BOX 11855                                                                                                                    SAN JUAN          PR         00910‐4225
   721618 MIGUEL A SANTOS ORTIZ      VILLAS DEL NORTE                             510 CALLE DIAMANTE                                                                  MOROVIS           PR         00687
   721619 MIGUEL A SANTOS ROMAN      URB. SAN PEDRO 130 CALLE 8                                                                                                       TOA BAJA          PR         00949
   721620 MIGUEL A SARRIERA          PO BOX 3078                                                                                                                      BAYAMON           PR         00960
          MIGUEL A SASTRE FRAU/THE
   721621 ORCHID MAN                 P O BOX 9020082                                                                                                                  SAN JUAN          PR         00902 0082

   332539 MIGUEL A SEGURA CONTRERAS                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   332540 MIGUEL A SEPULVEDA ACOSTA                   REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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   332541 MIGUEL A SEPULVEDA ANDUJAR REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332542 MIGUEL A SEPULVEDA MORALES REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721622 MIGUEL A SEPULVEDA ORTIZ   URB RIO HONDO II                            AE 10 RIO GRANDE DE LOIZA                                                              BAYAMON             PR           00961
   332543 MIGUEL A SERRANO           REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332544 MIGUEL A SERRANO ARROYO    REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332545 MIGUEL A SERRANO CORDERO                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332546 MIGUEL A SERRANO CORREA                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721624 MIGUEL A SERRANO DIAZ                       QUINTAS DE CANOVANAS       968 CALLE TURQUEZA                                                                     CANOVANAS           PR           00729

   721625 MIGUEL A SERRANO FIGUEROA                   HC 3 BOX 10502                                                                                                    COMERIO             PR           00782‐9601

   332547 MIGUEL A SERRANO MERCADO                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332548 MIGUEL A SIBERON GUZMAN                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721630 MIGUEL A SIERRA ORTIZ                       HC 43 BOX 10906‐9620                                                                                              CAYEY               PR           00736
   332549 MIGUEL A SILVA                              REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332550 MIGUEL A SILVESTRINI ALEMANY REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721631 MIGUEL A SKERRETT PEREZ      PO BOX 121                                                                                                                       LUQUILLO            PR           00773
   721632 MIGUEL A SOLA APONTE         JARD DE CAYEY                             C 12 CALLE ORQUIDEA                                                                    CAYEY               PR           00736
          MIGUEL A SOLER CATERING
   721633 SERVICES                     URB MILAVILLE 161 PAJUIL ST                                                                                                      SAN JUAN            PR           00926
   332551 MIGUEL A SOLIVAN REYES       REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332552 MIGUEL A SOLLA SANTANA       REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332553 MIGUEL A SORTO PEREZ         REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721634 MIGUEL A SOSA MARTINEZ       HC 1 BOX 4608                                                                                                                    SALINAS             PR           00751
   332554 MIGUEL A SOSA SUAREZ         REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721635 MIGUEL A SOTO ALVAREZ        COND SAN IGNACIO                          APTO 11 H                                                                              SAN JUAN            PR           00921
   721638 MIGUEL A SOTO BURGOS         VISTA REAL I                              APT 136                                                                                CAGUAS              PR           00725
   721639 MIGUEL A SOTO GIRAUD         PO BOX 1063                                                                                                                      PATILLAS            PR           00723
   721640 MIGUEL A SOTO PASTRANA       JARD DE VALENCIA                          APT 1210                                                                               SAN JUAN            PR           00923
   721641 MIGUEL A SOTO PEREZ          HC 2 BOX 6812                                                                                                                    LARES               PR           00669‐9717
   721643 MIGUEL A SOTO RINCON         COUNTRY CLUB                              AU 12 CALLE 509                                                                        CAROLINA            PR           00982
   332555 MIGUEL A SOTO RIVERA         REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332556 MIGUEL A SOTO ROSARIO        REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                       URB. SAN FERNANDO D‐6
   720848 MIGUEL A SOTO RUIZ           CALLE 1                                                                                                                          BAYAMON             PR           00957
   721644 MIGUEL A SOTO SANCHEZ        P.O. BOX 22555                                                                                                                   SAN JUAN            PR           00931

   721645 MIGUEL A SUAREZ HERNANDEZ                   BO PLAYA                   BOX 284                                                                                PUERTO REAL         PR           00740
                                                      519 ANDALUCIA ALTOS ESQ.
   721646 MIGUEL A SUAREZ PULIDO                      ALICANTE                                                                                                          SAN JUAN            PR           00920
   721647 MIGUEL A SUAREZ ROMAN                       HC 61 BOX 5080                                                                                                    TRUJILLO ALTO       PR           00976
   332557 MIGUEL A SUAREZ RULLAN                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332558 MIGUEL A SUAREZ VELEZ                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721648 MIGUEL A SUAZO GONZALEZ                     URB SABANA GARDENS         17 11 CALLE 22                                                                         CAROLINA            PR           00983
   332559 MIGUEL A TANCO ARIAS                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721650 MIGUEL A TAON RODRIGUEZ                     PO BOX 1162                                                                                                       GUAYAMA             PR           00784
   332560 MIGUEL A TAVAREZ TAVAREZ                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332561 MIGUEL A TAVERAS GUTIERREZ                  REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  332562 MIGUEL A TEJERA                              REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  721651 MIGUEL A TOLEDO VEGA                         232 ELEONOR ROOSEVELT                                                                                               SAN JUAN            PR         00907

   332563 MIGUEL A TOLENTINO SALDANA REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332564 MIGUEL A TORO PAGAN        REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                   BK 37 CALLE DR FRANCISCO
   721652 MIGUEL A TORRADO VALLE                      URB LEVITTOWN                OLLER                                                                                  TOA BAJA            PR         00949
   332566 MIGUEL A TORRE ARROYO                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332567 MIGUEL A TORRES                             REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721653 MIGUEL A TORRES BERNIER                     PONCE BY PASS                EDIF PARRA STE 802                                                                     PONCE               PR         00731
          MIGUEL A TORRES
   721654 CARRASQUILLO                                COUNTRY CLUB                 CALLE 524 OT 24                                                                        CAROLINA            PR         00982
   332568 MIGUEL A TORRES COLON                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721655 MIGUEL A TORRES CRUZ                        HC 03 BOX 7711                                                                                                      LAS PIEDRAS         PR         00771‐9330
   332569 MIGUEL A TORRES DELGADO                     REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332570 MIGUEL A TORRES DELIZ                       REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721657 MIGUEL A TORRES DUCOS                                                2187 SECTOR CUBA                                                                           MAYAGUEZ            PR         00682
   332571 MIGUEL A TORRES FELICIANO                   REDACTED                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721658 MIGUEL A TORRES GONZALEZ                    X 19 ARIZONA PARKVILLE                                                                                              GUAYNABO            PR         00969

   332572 MIGUEL A TORRES GUADALUPE                   REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332573 MIGUEL A TORRES GUZMAN                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332574 MIGUEL A TORRES IRIZARRY                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332575 MIGUEL A TORRES LAUREANO                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721660 MIGUEL A TORRES MADERA                      URB CASA MIA                 5113 CALLE ZORZAL                                                                      PONCE               PR         00728‐1130
   721662 MIGUEL A TORRES MARRERO                     URB VILLA CAROLINA           45 24 CALLE 42                                                                         CAROLINA            PR         00985
   332576 MIGUEL A TORRES MEDINA                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721663 MIGUEL A TORRES MENDEZ                      PO BOX 915                                                                                                          SAN SEBASTIAN       PR         00685
   332577 MIGUEL A TORRES MIRANDA                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721668 MIGUEL A TORRES NEGRON                      PO BOX 1049                  PUEBLO STATION                                                                         CAROLINA            PR         00986‐1049
   332578 MIGUEL A TORRES ORTIZ                       REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721670 MIGUEL A TORRES RAMIREZ                     PO BOX 2374                                                                                                         BAYAMON             PR         00960

   721672 MIGUEL A TORRES RODRIGUEZ                   BO PLAYITA CORTADA           259 CALLE 5                                                                            SANTA ISABEL        PR         00757
   332579 MIGUEL A TORRES ROMERO                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332580 MIGUEL A TORRES RUIZ                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332581 MIGUEL A TORRES SANTIAGO                    REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721674 MIGUEL A TORRES SIERRA                      BOX 817                                                                                                             CAYEY               PR         00737‐0817
   332582 MIGUEL A TORRES VAZQUEZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MIGUEL A TORRES Y MARIA D
   332584 TORRES                                      REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721675 MIGUEL A V R                                URB MIRAFLORES               BLQ 35 ‐ 20 CALLE 44                                                                   BAYAMON             PR         00957
   332585 MIGUEL A VALCOURT MUNOZ                     REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MIGUEL A VALCOURT
   721676 REINHARDT                                   5 MASFERRER BERRIOS                                                                                                 HUMACAO             PR         00791
   721678 MIGUEL A VALE BOSQUES                       BO VOLADORAS                 L 10 H 8                                                                               MOCA                PR         00675
   332586 MIGUEL A VALE MEDINA                        REDACTED                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721679 MIGUEL A VALENTIN DE LEON                   COND CAMINO REAL             1500 CARR 19 APT L 302                                                                 GUAYNABO            PR         00966‐4137

   721681 MIGUEL A VALENTIN OLIVENCIA HC 03 BOX 9152                                                                                                                      LARES               PR         00669

   721682 MIGUEL A VALENTIN RODRIGUEZ URB ROOSEVELT                                379 CALLE FERNANDO CALDER                                                              SAN JUAN            PR         00918




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   721683 MIGUEL A VALENTIN VAZQUEZ                   REPARTO MONTELLANO         CALLE B I 69                                                                              CAYEY               PR           00736
   332588 MIGUEL A VALLE GIRAU                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721684 MIGUEL A VALLE VEGA                         URB COUNTRY CLUB           QL 12 CALLE 533                                                                           CAROLINA            PR           00982
   721685 MIGUEL A VARELA PEREZ                       PO BOX 1941                                                                                                          ISABELA             PR           00662
   332589 MIGUEL A VARGAS FELICIANO                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332590 MIGUEL A VARGAS MARTINEZ                    REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332591 MIGUEL A VARGAS MEDINA                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      REPT PUEBLO NUEVO
   721688 MIGUEL A VARGAS RIVERA                      ESMERALDA                                            44                                                              SAN GERMAN          PR           00683

   332593 MIGUEL A VAZQUEZ CARTAGENA REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721690 MIGUEL A VAZQUEZ DONES     T M S 350 P O BOX 1283                                                                                                                SAN LORENZO         PR           00754
   721691 MIGUEL A VAZQUEZ GARCIA    1 COND WINDSOR TOWER                        APT 1112                                                                                  SAN JUAN            PR           00923

   332594 MIGUEL A VAZQUEZ GONZALEZ                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   721692 MIGUEL A VAZQUEZ MIRANDA                    BDA SAN ISIDRO 101         CALLE RODRIGUEZ APONTE                                                                    SABANA GRANDE       PR           00637
   721693 MIGUEL A VAZQUEZ ORTEGA                     PO BOX 306                                                                                                           NARANJITO           PR           00719
   332595 MIGUEL A VAZQUEZ RIVAS                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720863 MIGUEL A VAZQUEZ RIVERA                     PMB 354 PO BOX 4002                                                                                                  VEGA ALTA           PR           00692
   721696 MIGUEL A VAZQUEZ SANTANA                    URB LOS TAMARINDES I       7 CALLE 1                                                                                 SAN LORENZO         PR           00754

   721697 MIGUEL A VAZQUEZ VAZQUEZ                    P O BOX 33                                                                                                           TOA ALTA            PR           00954
   332596 MIGUEL A VAZQUEZ VEGA                       REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL A VAZQUEZ Y BETSY M
   332597 VAZQUEZ                                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721699 MIGUEL A VEGA ACOSTA                        BO PAPAYO                  HC 09 BOX 4217                                                                            SABANA GRANDE       PR           00637
   721700 MIGUEL A VEGA BERLI                         PO BOX 577                                                                                                           YAUCO               PR           00698
   721701 MIGUEL A VEGA DAVID                         URB VALENCIA               AC 27 CALLE 5                                                                             BAYAMON             PR           00959
   332598 MIGUEL A VEGA GILORMINI                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721702 MIGUEL A VEGA GONZALEZ                      HC 01 BOX 13573                                                                                                      JUANA DIAZ          PR           00795

   721704 MIGUEL A VELASCO                            PLAZA YAGUEZ               114 CALLE MCKINGY SUITE 207                                                               MAYAGUEZ            PR           00680
   720864 MIGUEL A VELAZQUEZ                          URB DE HOSTOS              BUZON 5 CASA 2                                                                            SANTA ISABEL        PR           00757
   332601 MIGUEL A VELAZQUEZ ARCE                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721705 MIGUEL A VELAZQUEZ DIAZ                     PO BOX 728                                                                                                           SAN LORENZO         PR           00754

   332602 MIGUEL A VELAZQUEZ GARCIA                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332603 MIGUEL A VELAZQUEZ MENDEZ                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332604 MIGUEL A VELEZ FUENTES                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   721709 MIGUEL A VELEZ MALDONADO                    PO BOX 293                                                                                                           ROSARIO             PR           00636
   332605 MIGUEL A VELEZ MONTIJO                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721710 MIGUEL A VELEZ NEGRON                       URB VALLE DEL REY          H 6 CALLE 6                                                                               PONCE               PR           00731
   332606 MIGUEL A VELEZ RAMOS                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721711 MIGUEL A VELEZ RODRIGIUEZ                   PO BOX 1219                                                                                                          SAN SEBASTIAN       PR           00685
   721712 MIGUEL A VELEZ RODRIGUEZ                    URB ALTURAS DE FAIR VIEW   F 1 CALLE 3                                                                               TRUJILLO ALTO       PR           00978
   332607 MIGUEL A VERDIALES                          REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332608 MIGUEL A VICENTE MELENDEZ                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332609 MIGUEL A VIDAL LUGO                         REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  721718 MIGUEL A VILA ROSARIO                        HC 3 BOX 11441                                                                                                     JUANA DIAZ        PR           00795
  721719 MIGUEL A VILA SOLANO                         URB VILLA BLANCA            17 CALLE ONICE                                                                         CAGUAS            PR           00725
  721720 MIGUEL A VILLA ROSARIO                       HC 3 BOX 11441                                                                                                     JUANA DIAZ        PR           00795

   332610 MIGUEL A VILLAFANE SANTIAGO                 REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   721721 MIGUEL A VILLEGA VILA                       URB EXT LAS MERCEDES        41 CALLE YUQUIBO                                                                       LAS PIEDRAS       PR           00771‐3341
   721722 MIGUEL A VILLEGAS CENTENO                   URB LEVITTOWN BB 20         CALLE COLL Y TOSTE                                                                     TOA BAJA          PR           00949
   721723 MIGUEL A VILLEGAS DIAZ                      BO MEDIANA ALTA             CALLE MELILLA                                                                          SAN JUAN          PR           00926
   721724 MIGUEL A VIRELLA ARCHILLA                   PO BOX 68                                                                                                          COROZAL           PR           00783
   721725 MIGUEL A VIRUET ACEVEDO                     URB HERMANAS DAVILA         274 CALLE 2                                                                            BAYAMON           PR           00959
   332611 MIGUEL A WILLIAMS GARCIA                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   720870 MIGUEL A YANEZ CACHO                        PO BOX 10207                                                                                                       SAN JUAN          PR           00922
   332613 MIGUEL A ZAMBRANA RIVERA                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   720865 MIGUEL A ZAYAS GARCIA                       PO BOX 193765                                                                                                      SAN JUAN          PR           00919 3765
          MIGUEL A ZAYAS PONCE DE
   332614 LEON                                        REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   721726 MIGUEL A ZAYAS RAMOS                        PO BOX 1297                                                                                                        OROCOVIS          PR           00720
   721727 MIGUEL A ZAYAS ROSARIO                      P O BOX 268                                                                                                        BARRANQUITAS      PR           00794

   332615 MIGUEL A. ALVAREZ FIGUEROA                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   721730 MIGUEL A. ARROYO ARROYO                     PO BOX 90                                                                                                          HUMACAO           PR           00792
                                                      URB. PARQUE ECUESTRE C‐38
   721731 MIGUEL A. BENITEZ CRUZ                      BLQ H30                                                                                                            CAROLINA          PR           00987
   721732 MIGUEL A. CABAN GARCIA                      URB. LEVITTOWN              FR 49 CALLE MARIANO ABRIL                                                              TOA BAJA          PR           00949

   721733 MIGUEL A. CAMARERO RIVERA                   P O BOX 4669                                                                                                       NAGUABO           PR           00718
          MIGUEL A. CARRASQUILLO
   721734 OTERO                                       P O BOX 972                                                                                                        SABANA SECA       PR           00952

   332616 MIGUEL A. CEREZO DE LA ROSA                 REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   332617 MIGUEL A. CLEMENTE GONZALEZ REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   332618 MIGUEL A. CORREA RODRIGUEZ                  REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   332619 MIGUEL A. CORTES SANTIAGO                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   332620 MIGUEL A. CRUZ                              REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   721736 MIGUEL A. CRUZ COLON                        PO BOX 187                                                                                                         BARRANQUITAS      PR           00794
   721737 MIGUEL A. CUBANO                            GARDENVILLE                 D 12 BUEN SAMARITANO                                                                   GUAYNABO          PR           00966
   332621 MIGUEL A. DAVILA GONZALEZ                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   332622 MIGUEL A. DIAZ CARDONA                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   332623 MIGUEL A. DIAZ HIRALDO                      REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   332624 MIGUEL A. DIAZ RIVERA                       REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MIGUEL A. ECHEVARRIA
   332625 QUINTANA                                    REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   721741 MIGUEL A. FELICIANO CABAN                   BDA. CABAN VIEJO 127        APT. 4C                                                                                AGUADILLA         PR           00603
   332626 MIGUEL A. FERNANDEZ REYES                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   332627 MIGUEL A. FERREIRA RIVERA                   REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MIGUEL A. FIGUEROA
   721728 RODRIGUEZ                                   PSICOSOCIAL TRUJILLO                                                                                               Hato Rey          PR           009360000
   332629 MIGUEL A. FONCECA FELIX                     REDACTED                    REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   721742 MIGUEL A. FUENTES ORTIZ                     HC 2 BOX 7758                                                                                                      AIBONITO          PR           00705
          MIGUEL A. GALARZA
   721743 HERNANDEZ                                   HC 05 BOX 10449             BO CUCHILLA                                                                            MOCA              PR           00676



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  721746 MIGUEL A. GARCIA GONZALEZ                     COLINAS DE CUPEY            B35 CALLE 3                                                                           SAN JUAN            PR         00926
  332630 MIGUEL A. GARCIA MALAVE                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         Miguel A. Gonzalez /H SANCHEZ
  332632 CINTRON DE                                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  332633 MIGUEL A. GONZALEZ PEREZ                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
  332635 Miguel A. Guzmán                              REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   332636 MIGUEL A. GUZMAN FIGUEROA                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   332637 Miguel A. Hernández Martínez                 REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   332638 MIGUEL A. JUSINO MARTINEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   332639 MIGUEL A. LEON                               REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   721749 MIGUEL A. LOPEZ RIVERA                       PO BOX 297                                                                                                        HORMIGUEROS         PR         00660
   721750 MIGUEL A. LOPEZ VEGA                         EDIF A RES SANTA ELENA      SAN PATRICIO APT 53                                                                   SAN JUAN            PR         00921
   721751 MIGUEL A. MALDONADO                          PO BOX 544                                             SAN LORENZO                                                SAN LORENZO         PR         00754
          MIGUEL A. MALDONADO
   332640 GONZALEZ                                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          MIGUEL A. MALDONADO
   721752 SANTIAGO                                     HC 2                                                                                                              ARECIBO             PR         00612
   332641 MIGUEL A. MARRERO ZAYAS                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          MIGUEL A. MATTA PONCE DE
   332642 LEON                                         REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   332644 MIGUEL A. MORALES                            REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   721753 MIGUEL A. NATER TRAPAGA                      COND PISO DE CAPARRA        APT 3‐D                                                                               GUAYNABO            PR         00966
   332646 MIGUEL A. NUNEZ GONZALEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   332647 MIGUEL A. OCASIO GUZMAN                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
          MIGUEL A. OLIVERAS
   332649 VILLANUEVA                                   REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   721756 MIGUEL A. ORTIZ VEGA                         COND.ADA LIGIA SUITE 4      LOCAL B‐1452 ASHORD AVE.                                                              SANTURCE            PR         00907
   332650 Miguel A. Ortíz Vidot                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   332651 MIGUEL A. PACHECO CINTRON                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   332652 MIGUEL A. PAGAN LOPEZ                        REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   332653 MIGUEL A. PARRILLA DAVILA                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   332654 MIGUEL A. PEREZ BURGOS                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   721758 MIGUEL A. POLANCO                            757 AVE. BARBOSA                                                                                                  SAN JUAN            PR         00915

   332655 MIGUEL A. POLANCO POLANCO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   332656 MIGUEL A. REYES HERNANDEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   721760 MIGUEL A. RIESTRA FERNANDEZ                  URB SANTA ANA               E11 CALLE SALAMANCA                                                                   SAN JUAN            PR         00927
   332657 MIGUEL A. RIVERA ANDINO                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   332659 MIGUEL A. RIVERA FONTANEZ                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   332660 MIGUEL A. RIVERA PEREZ                       REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   332661 MIGUEL A. RIVERA RIVERA                      REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   332662 MIGUEL A. RIVERA SANTIAGO                    REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED
   332663 MIGUEL A. RIVERA VAZQUEZ                     REDACTED                    REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED

   721764 MIGUEL A. RODRIGUEZ                          COND RADIO CENTRO 3ERPISO   302 CALLE POST S                                                                      MAYAGUEZ            PR         00680

   721765 MIGUEL A. RODRIGUEZ APONTE 2 CALLE MUNOZ RIVERA                                                                                                                YABUCOA             PR         00767

   332664 MIGUEL A. RODRIGUEZ MEDINA REDACTED                                      REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED    REDACTED



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   332665 MIGUEL A. RODRIGUEZ NEGRON REDACTED                     REDACTED                                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL A. RODRIGUEZ
   721766 ORELLANES                  HP ‐ SALA CCEP                                                                                                                       RIO PIEDRAS         PR           009360000
   332667 MIGUEL A. ROSADO VIERA     REDACTED                     REDACTED                                     REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                     URB. LAS LOMAS 1700 CALLE 24
   721768 MIGUEL A. ROSARIO MARRERO SO                                                                                                                                    SAN JUAN            PR           00921

   721769 MIGUEL A. RUIZ                              FAJARDO GARDENS            R6 CALLE 7 URB FAJARDO GDNS                                                              FAJARDO             PR           00738
          MIGUEL A. SANTIAGO
   332671 CUADRADO                                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721770 MIGUEL A. SANTINI MARTINEZ                  5 VILLA EL PARAISO         PO BOX 1737                                                                              COAMO               PR           00769
   332631 MIGUEL A. SUED VALLADARES                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721771 MIGUEL A. TORRES COLON                      URB CAGUAS NORTE           AP3 CALLE FLORENCIA                                                                      CAGUAS              PR           00725
   721772 MIGUEL A. TORRES MALAVE                     P O BOX 7427                                                                                                        MAYAGUEZ            PR           00681
   332676 MIGUEL A. TORRES MIRANDA                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332678 MIGUEL A. TORRES ROMAN                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721773 MIGUEL A. TORRES SANTIAGO                   HC 01 BOX 6622                                                                                                      GUAYANILLA          PR           00656
   721774 MIGUEL A. VARGAS JIMENEZ                    VILLAS DEL OESTE           CALLE TAURO 703                                                                          MAYAGUEZ            PR           00680
   721775 MIGUEL A. VARGAS ORTIZ                      URB. JARDINES DEL CARIBE   215 CALLE 1                                                                              PONCE               PR           00731

   721776 MIGUEL A. VARGAS RODRIGUEZ SICOSOCIAL TRUJILLO ALTO                                                                                                             Hato Rey            PR           009360000
   332679 MIGUEL A. VAZQUEZ DIAZ     REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332680 MIGUEL A. VAZQUEZ MERCADO                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332681 MIGUEL A. VELAZQUEZ DAVILA                  REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   721778 MIGUEL A. VELAZQUEZ RIVERA                  BOLIVIA #64                PDA. 28                                                                                  HATO REY            PR           00917
   332682 MIGUEL A.VELEZ JIMENEZ                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332684 MIGUEL ABREU RODRIGUEZ                      REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332685 MIGUEL ABREU SANTANA                        REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720871 MIGUEL ACEVEDO GONZALEZ                     HC 4 BOX 13995                                                                                                      MOCA                PR           00676

          MIGUEL ACEVEDO HERNANDEZ Y
   332686 NELSON D SOTO              REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332687 MIGUEL ACEVEDO MORENO      REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721781 MIGUEL ACEVEDO RUIZ        BOX 5722                                                                                                                             RINCON              PR           00677
   721782 MIGUEL ACOSTA ALVARADO     HC 1 BOX 4715                                                                                                                        ADJUNTAS            PR           00601‐9718
   721784 MIGUEL ADORNO              URB VALLE ALTO                              E 18 CALLE 4                                                                             PATILLAS            PR           00723
   721785 MIGUEL ADORNO PEREZ        30 CALLE VIZCARRONDO                                                                                                                 CAGUAS              PR           00725
   332688 MIGUEL ALAMEDA VILA        REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332690 MIGUEL ALEJANDRO VAZQUEZ                    REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL ALEXIS ROSA
   332692 HERNANDEZ                                   REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   721787 MIGUEL ALGARIN HERNANDEZ                    URB ALTURAS DE CANA        LL 24 CALLE 8                                                                            BAYAMON             PR           00957
   721788 MIGUEL ALICEA SAEZ                          HC 2 BOX 18690                                                                                                      LAJAS               PR           00667‐9624
   721789 MIGUEL ALICEA TORRES                        HC 3 BOX 38011                                                                                                      CAGUAS              PR           00725
   720872 MIGUEL ALMEYDA PEREZ                        HC 2 BOX 20727                                                                                                      AGUADILLA           PR           00603
   332694 MIGUEL ALMODOVAR LUGO                       REDACTED                   REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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                                                      BO LA PLENA H‐12 CALLE LOS
   721790 MIGUEL ALOMAR TORRES                        CAOBOS                                                                                                         MERCEDITA           PR           00715
   332696 MIGUEL ALVARADO                             REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL ALVARADO / ROSA
   332697 ALVARADO                                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721792 MIGUEL ALVARADO ALFONSO                     URB ALONDRAS                 B 64 CALLE MARGINAL                                                               VILLALBA            PR           00766
   332698 MIGUEL ALVARADO CINTRON                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332699 MIGUEL ALVARADO JIMENEZ                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332700 MIGUEL ALVARADO LOPEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332701 MIGUEL ALVAREZ CALDERON                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332702 MIGUEL ALVAREZ QUILES                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   721795 MIGUEL ALVAREZ SANTIAGO                     1066 AVE FERNANDEZ JUNCOS                                                                                      SAN JUAN            PR           00907
   332703 MIGUEL ALVAREZ VAZQUEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332704 MIGUEL AMARO OQUENDO                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721796 MIGUEL ANADON IRIZARRY                      P O BOX 51417                LEVITTOWN STA                                                                     LEVITTOWN           PR           00950 0417
   721798 MIGUEL ANDINO ALSINA                        P O BOX 997                                                                                                    CAYEY               PR           00736
   721799 MIGUEL ANDINO PASTRANA                      PO BOX 778                                                                                                     LAS PIEDRAS         PR           00771
          MIGUEL ANGEL ALVARADO
   332705 SANTIAGO                                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332706 MIGUEL ANGEL ALVAREZ SOLIS                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL ANGEL APONTE
   721801 ALVAREZ                                     PO BOX 2007                                                                                                    YABUCOA             PR           00767
          MIGUEL ANGEL APONTE
   721802 RODRIGUEZ                                   P O BOX 37                                                                                                     SAN LORENZO         PR           00754

   332707 MIGUEL ANGEL AYALA VAZQUEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL ANGEL CASIANO
   721803 ACOSTA                     PO BOX 5242                                                                                                                     MAYAGUEZ            PR           00681

   721804 MIGUEL ANGEL COSS MARTINEZ                  HC 20 BOX 26020                                                                                                SAN LORENZO         PR           00754‐9618
          MIGUEL ANGEL FIGUEROA
   332709 MIRANDA                                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL ANGEL HERNANDEZ
   332710 ORTIZ                                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL ANGEL HERNANDEZ
   721805 TOYENS                                      PO BOX 30476                                                                                                   SAN JUAN            PR           00926‐1476
   721806 MIGUEL ANGEL LARACUENTE                     CALLE SAN RAFAEL #227                                                                                          MAYAGUEZ            PR           00680
   332711 MIGUEL ANGEL LOIZ ZAYAS                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL ANGEL LOPEZ
   721807 MELENDEZ                                    222 AVE FERNANDEZ GARCIA                                                                                       CAYEY               PR           00736
   721810 MIGUEL ANGEL MENDEZ                         PARQUE DEL RETIRO            EDIF F APT 90                                                                     QUEBRADILLAS        PR           00678

   721811 MIGUEL ANGEL MIR RODRIGUEZ PO BOX 240                                                                                                                      TRUJILLO ALTO       PR           00977‐0240
          MIGUEL ANGEL MUNOZ
   332712 LORENZO                    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332713 MIGUEL ANGEL NEGRON LOPEZ                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL ANGEL OLAVARRIA
   332714 ROMAN                                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL ANGEL PONCE
   332715 CARDONA                                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   332716 MIGUEL ANGEL RIOS GONZALEZ REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332718 Miguel Angel Rivera Lopez  REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332719 Miguel Angel Rivera López  REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332720 MIGUEL ANGEL RIVERA NUNEZ                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL ANGEL RODRIGUEZ
   332723 CARABALLO                                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL ANGEL RODRIGUEZ
   332724 COLON                                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332726 MIGUEL ANGEL ROSADO LOPEZ                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL ANGEL ROSARIO
   721814 ROSADO                                      URB VILLA CAROLINA            158‐2 CALLE 427                                                                        CAROLINA            PR           00985
          MIGUEL ANGEL SANTANA
   721815 TORRES                                      JARDINES DE PALMAREJO         AQ 13 CALLE 12                                                                         CANOVANAS           PR           00729
   721816 MIGUEL ANGEL SANTOS                         P O BOX 184                                                                                                          COROZAL             PR           00783
          MIGUEL ANGEL SANTOS
   332728 MIRANDA                                     REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL ANGEL TORO TCC
   721817 MIGUEL A CRUZ TORO                          RES YAGUEZ EDIF 5 APT 54                                                                                             MAYAGUEZ            PR           00680

   721800 MIGUEL ANGEL TORRES TORRES SECTOR EL TORITO                               F 38 CALLE 7                                                                           CAYEY               PR           00736
                                                                                    100 BUEN SAMARITANO APT C
   721818 MIGUEL ANGEL TORRES VEGA                    SUCHVILLE PARK                104                                                                                    GUAYNABO            PR           00966

   332731 MIGUEL ANGEL TOSADO RIVERA REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   721819 MIGUEL ANGEL URDAZ IGUINA                   PO BOX 19035                                                                                                         SAN JUAN            PR           00910‐9035

   721822 MIGUEL ANGEL VELEZ                          PO BOX 29662‐65 INF STATION                                                                                          SAN JUAN            PR           00929
          MIGUEL ANZA CINTRON DBA
   332734 ISLA COPIERS                                SANTA ROSA                    CALLE 24 BLQ 41 NUM. 37                                                                BAYAMON             PR           00959
   332735 MIGUEL APONTE CRUZ                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721824 MIGUEL APONTE FONTANEZ                      HC 6 BOX 70397                                                                                                       CAGUAS              PR           00725‐9503
   721825 MIGUEL APONTE LABOY                         HC 2 BOX 6940                                                                                                        YABUCOA             PR           00767
   721826 MIGUEL APONTE MALAVE                        URB INDUSTRIAL EL PARAISO     8 CALLE GANGES                                                                         SAN JUAN            PR           00926
   332736 MIGUEL APONTE TORRES                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721827 MIGUEL APONTE VEGA                          P O BOX 373458                                                                                                       CAYEY               PR           00737‐3458
   332737 MIGUEL AQUINO BELTRAN                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332738 MIGUEL ARAN DELGADO                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721828 MIGUEL ARANGO MICHEO                        HILLSIDE                      D 10 CALLE 1                                                                           SAN JUAN            PR           00926
   332739 MIGUEL ARCE LOPEZ                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332740 MIGUEL AREIZAGA FIGUEROA                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332741 MIGUEL AROCHO IRIZARRY                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332742 MIGUEL ARRABAL CAPELLA                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721829 MIGUEL ARROYO LOPEZ                         HC 1 BOX 5216                                                                                                        BARRANQUITAS        PR           00794

   721830 MIGUEL ARROYO MALDONADO                     URB SAN FRANCISCO             48 CALLE JAZMIN                                                                        SAN JUAN            PR           00927
   332743 MIGUEL ARROYO RIOS                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721831 MIGUEL ARROYO RIVERA                        PO BOX 7126                                                                                                          PONCE               PR           00732
   721832 MIGUEL ARROYO VELEZ                         P O BOX 471                                                                                                          JAYUYA              PR           00664




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          MIGUEL ARTURO RAMIREZ
   332745 JIMENEZ                                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332746 MIGUEL ARVELO KUILAN                        REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721833 MIGUEL ASTACIO CASTRO                       EXT SAN AGUSTIN           449 CALLE 8 E                                                                          SAN JUAN            PR           00926

   721834 MIGUEL ASTACIO TORRUELLAS                   URB CANAS HOUSING         30 CALLE 4                                                                             PONCE               PR           00731
   332747 MIGUEL AUSUA PAGAN                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721835 MIGUEL AUTO ELECTRIC                        P.O.BOX 10                SABANA SECA STATION                                                                    TOA BAJA            PR           00953
   721836 MIGUEL AUTO REPAIR                          BOX 78                                                                                                           HUMACAO             PR           00792
   332748 MIGUEL AVILA                                REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332749 MIGUEL AYALA CHAPARRO                       REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332750 MIGUEL AYALA RIVERA                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332751 MIGUEL BAERGA MUNOZ                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332752 MIGUEL BAEZ ROSARIO                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      MANSIONES DE SABANA
   721838 MIGUEL BAEZ STELLA                          GRANDE                    C‐4 E‐101                                                                              SABANA GRANDE       PR           00637
   721839 MIGUEL BARBOSA                              EXT EL COMANDANTE         580 CALLE CAPRI                                                                        CAROLINA            PR           00982
   332753 MIGUEL BARBOSA FIGUEROA                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721840 MIGUEL BARRERA PEREZ                        URB VILLAMAR              44 CALLE 2                                                                             CAROLINA            PR           00979
   721841 MIGUEL BARRETO                              URB VILLA PRADES          711 CALLE ARTEAGA                                                                      SAN JUAN            PR           00924
   332755 MIGUEL BARRIERA PACHECO                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721843 MIGUEL BAS SANCHEZ                          MANSION DEL SOL           MS 27 CALLE ELIOS                                                                      SABANA SECA         PR           00952
   721844 MIGUEL BASORA RIVERA                        URB RIO CRISTAL           8214 CALLE BALBINO TRINTA                                                              MAYAGUEZ            PR           00680‐8985
   721845 MIGUEL BAUZA ROLON                          PO BOX 2615                                                                                                      BAYAMON             PR           00960 2615
   721846 MIGUEL BAUZA SANTIAGO                       BO MAGUEYES               73 AGUA MARINA                                                                         PONCE               PR           00731
   332756 MIGUEL BEIRO OCASIO                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721847 MIGUEL BELLBER ROSARIO                      LOMAS ALTA O 15           CALLE 3                                                                                CAROLINA            PR           00987
   721848 MIGUEL BELLO MARCANO                        C/OSO POLAR PARCELA 264   5640 BO SABANA SECA         SECTOR CAMASEYES                                           Sabana Seca         PR           00952

   721849 MIGUEL BELTRAN RODRIGUEZ                    PO BOX 240                                                                                                       SANTA ISABEL        PR           00757
   721850 MIGUEL BELTRAN SERRANO                      URB SAN SALVADOR          D17 CALLE A RAMOS                                                                      MANATI              PR           00674
   721852 MIGUEL BENITEZ CHAVEZ                       BO OBRERO                 666 CALLE 10                                                                           SAN JUAN            PR           00915
   332757 MIGUEL BENITEZ CRUZ                         REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   721853 MIGUEL BERMUDEZ QUINTANA                    VILLA PAMPANO             32 CALLE PLAYA PONCE                                                                   PONCE               PR           00731
   332758 MIGUEL BERNARD MELENDEZ                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721854 MIGUEL BERRIOS DIAZ                         I CON ROLLIING HILL       APT 42                                                                                 CAROLINA            PR           00987‐7039

   332759 MIGUEL BETANCOURT BURGOS                    REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721855 MIGUEL BIANCHI ROMAN                        PO BOX 60075                                                                                                     BAYAMON             PR           00960
   721856 MIGUEL BON MONZON                           MANSIONES DE CAROLINA     C 10 CALLE YUNKESITO                                                                   CAROLINA            PR           00987
   332761 MIGUEL BONET RAMOS                          REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   721857 MIGUEL BONILLA ALMODOVAR                    206 CALLE CANAL                                                                                                  SABANA GRANDE       PR           00637
   721858 MIGUEL BONILLA CINTRON                      PO BOX 7126                                                                                                      PONCE               PR           00732
   721859 MIGUEL BONILLA VAZQUEZ                      VILLALBA APT 427                                                                                                 VILLALBA            PR           00766
   721863 MIGUEL BORGES GONZALEZ                      PO BOX 250279                                                                                                    AGUADILLA           PR           00604

   332762 MIGUEL BUSTELO SANCLEMENTE REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332763 MIGUEL C ARROYO CAMACHO                     REDACTED                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721868 MIGUEL CABAN DEYNES                         P O BOX 396                                                                                                      AGUADILLA           PR           00605
   721871 MIGUEL CABAN SOTO                           P O BOX 461                                                                                                      MAYAGUEZ            PR           00681



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  721872 MIGUEL CABELLO LEON                          P O BOX 10445                                                                                                   GUAYNABO          PR           00971

   721873 MIGUEL CABRERA RODRIGUEZ                    PO BOX 540                                                                                                      BARCELONETA       PR           00617
   721874 MIGUEL CABRERA SIERRA                       ARREVICA                     52‐1 CALLE 44                                                                      CAROLINA          PR           00985

   332766 MIGUEL CALDERON CARRASCO                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   721875 MIGUEL CALDERON JIMENES                     PO BOX 7126                                                                                                     PONCE             PR           00732
   332767 MIGUEL CALO FERNANDEZ                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   332768 MIGUEL CAMACHO ALVARADO                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   332769 MIGUEL CAMACHO GALARZA                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   721876 MIGUEL CAMACHO SANTIAGO                     URB VILLA CAROLINA           3‐5 CALLE 29                                                                       CAROLINA          PR           00985
   721877 MIGUEL CAMACHO VEGA                         P O BOX 7126                                                                                                    PONCE             PR           00732

   332770 MIGUEL CAMENATY CARMONA                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   721878 MIGUEL CANALES MARTI                        PO BOX 153                                                                                                      LOIZA             PR           00772
   721879 MIGUEL CANALS MORA                          P O BOX 1185                                                                                                    GUANICA           PR           00653
   721880 MIGUEL CANCEL GONZALEZ                      BO SANTO DOMINGO             323 CALLE 2                                                                        TRUJILLO ALTO     PR           00776
   721881 MIGUEL CANCIO GONZALEZ                      URB MONTE CLARO              PLAZA 21 MF 20                                                                     BAYAMON           PR           00961
   332772 MIGUEL CANDELARIA BONET                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MIGUEL CANDELARIA
   332773 HERNANDEZ                                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MIGUEL CANDELARIO
   332775 FERNANDEZ                                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   332776 MIGUEL CANDELARIO PINEIRO                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   721882 MIGUEL CANDELARIO RIVERA                    RES LA CEIBA                 BLQ 33 APT 287                                                                     PONCE             PR           00731
   332777 MIGUEL CAO VEDO                             REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MIGUEL CARBONEL/VILLA
   721883 NEVAREZ SPEECH HEA                          VILLA NEVAREZ PROFF CENTER   SUITE 402                                                                          SAN JUAN          PR           00927

   721884 MIGUEL CARDONA VELEZ                        52 CALLE GARRIDO MORALES W                                                                                      FAJARDO           PR           00738
   721885 MIGUEL CARRASQUILLO                         PO BOX 411                                                                                                      CANOVANAS         PR           00729
   721886 MIGUEL CARRILLO                             502 EDIF ROYAL BANK                                                                                             SAN JUAN          PR           00917
   332778 MIGUEL CARRION BERNABE                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   721887 MIGUEL CARTAGENA GREEN                      BO HELECHAL                CARR 719 KM 1 5                                                                      BARRANQUITAS      PR           00794

   332779 MIGUEL CARTAGENA NARVAEZ                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   332780 MIGUEL CARTAGENA ORTIZ                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   332781 MIGUEL CARTAGENA QUINONES                   REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   332784 MIGUEL CASANOVA LEBRON                      REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   332785 MIGUEL CASTILLO FIGUEROA                    REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   332786 MIGUEL CASTILLO OLIVERA                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   721888 MIGUEL CASTILLO PERDOMO                     URB FOREST VIEW              F 171 CALLE DAKAR                                                                  BAYAMON           PR           00956
   332787 MIGUEL CASTILLO PIZARRO                     REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   332789 MIGUEL CEDEN0 GARRIDO                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   332791 MIGUEL CEPEDA PIZARRO                       REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   721889 MIGUEL CHERENA CARABALLO                    BOX 1482 BARRIO OBRAS                                                                                           GUANICA           PR           00633
          MIGUEL CHEVERES SANTIAGO
   721890 C/O                                         PO BOX 362708                                                                                                   SAN JUAN          PR           00936‐2708
   721893 MIGUEL CINTRON CINTRON                      PO BOX 551                                                                                                      ADJUNTAS          PR           00601



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  332792 MIGUEL CINTRON CORTES                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  721894 MIGUEL CLEMENTE PIZARRO                      HC 1 BOX 7320                                                                                                    LOIZA              PR         00772
  332793 MIGUEL COLL ORTIZ                            REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  721895 MIGUEL COLLAZO                               JARDINES DE PALMAREJO        I 15 CALLE 10                                                                       CANOVANAS          PR         00729
  721896 MIGUEL COLLAZO COLLAZO                       18 CALLE ANTONIO LOPEZ                                                                                           TOA ALTA           PR         00953
  721897 MIGUEL COLLAZO SERRANO                       URB MONTE TRUJILLO           704 TERRALINDA                                                                      TRUJILLO ALTO      PR         00976
  332794 MIGUEL COLOM GONZALEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  721898 MIGUEL COLON                                 BMS 301                      PO BOX 607061                                                                       BAYAMON            PR         00960
         MIGUEL COLON / EVELYN
  332795 RAMIREZ                                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
         MIGUEL COLON /ORG JOYEROS
  332796 MAUNABO INC                                  REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
  721899 MIGUEL COLON ALMODOVAR                       HC 09 BOX 2916                                                                                                   SABANA GRANDE      PR       00637
  332797 MIGUEL COLON APONTE                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
  721900 MIGUEL COLON BAEZ                            VICTOR ROJAS 1               50 CALLE B                                                                          ARECIBO            PR       00612
  721901 MIGUEL COLON CASTRO                          106 CARMEN COURT                                                                                                 KISSIMEE           FL       34743‐0000
  721902 MIGUEL COLON DIAZ                            HC 01 BOX 6506                                                                                                   SALINAS            PR       00751
  721903 MIGUEL COLON HERNANDEZ                       PO BOX 363846                                                                                                    SAN JUAN           PR       00936‐3846
  332798 MIGUEL COLON LEBRON                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
  721904 MIGUEL COLON MOLINA                          ROYAL TOWN                   7‐ 8 CALLE 50 A FINAL                                                               BAYAMON            PR       00969
  721905 MIGUEL COLON RODRIGUEZ                       BO CIBUCO                    HC 02 BOX 8247                                                                      COROZAL            PR       00783
  721908 MIGUEL COLON TAPIA                           URB RIVER VIEW               ZD‐28 CALLE 35                                                                      BAYAMON            PR       00961
  332799 MIGUEL COLON VELAZQUEZ                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
  332800 MIGUEL CORDERO LORENZO                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED REDACTED      REDACTED
         MIGUEL CORREA / CLUB
  332801 CHEISTAS ARECIBENOS                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
  332802 MIGUEL CORREA RIJO                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
         MIGUEL CORTES SANTIAGO
  721910 Y/OCARMEN M COLON                            COMUNIDAD JUDEA              179 ESTRUCTURA                                                                      UTUADO             PR         00641

   721911 MIGUEL COTTO CARRASQUILLO                   62 CALLE RUIZ BELVIS                                                                                             CAGUAS             PR         00725
   332803 MIGUEL CREALES CESE                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   332804 MIGUEL CRESPO CARRERO                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   721915 MIGUEL CRESPO QUINTANA                      HC 5 BOX 42949                                                                                                   SAN SEBASTIAN      PR         00685

   721917 MIGUEL CRUZ CRUZ                            UNID. ALCOHOLISMO Y DESINT                                                                                       Hato Rey           PR         009360000
   720873 MIGUEL CRUZ DAVILA                          PO BOX 89                                                                                                        PUNTA SANTIAGO     PR         00741
   721920 MIGUEL CRUZ FIGUEROA                        PO BOX 7126                                                                                                      PONCE              PR         00732
   332805 MIGUEL CRUZ GONZALEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   721921 MIGUEL CRUZ IRIZARRY                        BDA ESPERANZA                8 CALLE AA                                                                          GUANICA            PR         00653
   332807 MIGUEL CRUZ LOPEZ                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   721923 MIGUEL CRUZ MOJICA                          RES RAMOS ANTONINI           EDIF 60 APT 613                                                                     SAN JUAN           PR         00924
   332808 MIGUEL CRUZ RIVERA                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   721926 MIGUEL CRUZADO LOZADA                       URB LEVITTOWN FP             29 CALLE MARIANO BRAU                                                               TOA BAJA           PR         00949
   721927 MIGUEL CUADRA HERNANDEZ                     1856 CALLE PESANTE                                                                                               SAN JUAN           PR         00912
   332809 MIGUEL CUADRADO COLON                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   332810 MIGUEL CUASCUT RUIZ                         REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
   332811 MIGUEL CUBI MALDONADO                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED
                                                      BO. CLAUSSEL 126 CALLE
   721929 MIGUEL CUEVAS TORRES                        MIRAMAR                                                                                                          PONCE              PR         00731
   721930 MIGUEL CURET                                PO BOX 7621                                                                                                      SAN JUAN           PR         00916

   332812 MIGUEL D FERSOTE RODRIGUEZ REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED    REDACTED



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  721931 MIGUEL D HUDO RICCI                          CALLE TAFT 106                                                                                                 SAN JUAN            PR         00911
  332813 MIGUEL D MACHADO DORTA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   332814 MIGUEL D. CALDERON ANDINO                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721932 MIGUEL DARDIZ                               URB VISTA AZUL               BB15 CALLE 33                                                                     ARECIBO             PR         00612
   721933 MIGUEL DARDIZ GOITIA                        REPTO MARQUEZ                H 35 CALLE 9                                                                      ARECIBO             PR         00612
   332815 MIGUEL DAVILA CASTRODAD                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332816 MIGUEL DAVILA MARTI                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721934 MIGUEL DE JESUS                             P O BOX 360315                                                                                                 SAN JUAN            PR         00936‐0315
   332817 MIGUEL DE JESUS MARTINEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721935 MIGUEL DE JESUS NEGRON                      PO BOX 7126                                                                                                    PONCE               PR         00732

   721936 MIGUEL DE JESUS REYES                       232 AVE ELEONOR ROOSEVELT                                                                                      SAN JUAN            PR         00907
   720874 MIGUEL DE JESUS ROSARIO                     PO BOX 602                                                                                                     COMERIO             PR         00782
   721938 MIGUEL DE JESUS TRINIDAD                    MINILLAS STATION             P O BOX 41269                                                                     SAN JUAN            PR         00940‐1269
   721939 MIGUEL DE JESUS VAZQUEZ                     HC 3 BOX 10020                                                                                                 YABUCOA             PR         00767
          MIGUEL DE JESUS/ CARMEN S
   332818 RODRIGUEZ                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MIGUEL DE LA CRUZ                           VIA TANGANICA BF‐37 BUSQUE
   721940 CASTELLANO                                  DEL LAGO                                                                                                       TRUJILLO ALTO       PR       00976
   721941 MIGUEL DE LA ROSA RUSSO                     URB SIERRA BAYAMON           21 5 CALLE 19                                                                     BAYAMON             PR       00961
   721942 MIGUEL DE LOS SANTOS                        BO OBRERO                    702 CALLE LIPPIT                                                                  SAN JUAN            PR       00915
   721943 MIGUEL DEL VALLE                            243 CALLE PARIS SUITE 1510                                                                                     SAN JUAN            PR       00917
   721944 MIGUEL DEL VALLE ORTIZ                      PO BOX 8799                                                                                                    PONCE               PR       00732‐8799
   332821 MIGUEL DELGADO LANCARA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   332822 MIGUEL DELGADO PEREZ                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   332824 MIGUEL DELGADO VILLARAN                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
          MIGUEL DENDARIARENA
   332825 SOTOMAYOR                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332826 MIGUEL DEYA FIGUEROA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332827 MIGUEL DIAZ                                 REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721945 MIGUEL DIAZ CABAN                           SECTOR ZAMOT BZ 9                                                                                              ISABELA             PR         00662
   721946 MIGUEL DIAZ CORDERO                         HC 3 BOX 19919                                                                                                 ARECIBO             PR         00612
   721947 MIGUEL DIAZ COTTO                           P O BOX 781                                                                                                    AGUAS BUENAS        PR         00703
   721949 MIGUEL DIAZ GARCIA                          EMBALSE SAN JOSE             466 CALLE COZUMEL                                                                 SAN JUAN            PR         00923
   721951 MIGUEL DIAZ GIRONA                          9 CALLE VENTURA MONROIG                                                                                        FLORIDA             PR         00650
   721952 MIGUEL DIAZ MEDINA                          965 KINGSHELL V I                                                                                              SAINT CROIX         PR         00851
   332828 MIGUEL DIAZ ORTIZ                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332829 MIGUEL DIAZ PARES                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721954 MIGUEL DIAZ VILLANUEVA                      RR 3 BOX 4331                                                                                                  SAN JUAN            PR         00928
   720875 MIGUEL DONES LEON                           HC‐01 BOX 6555                                                                                                 SANTA ISABEL        PR         00757‐9721
   721955 MIGUEL DULANTE OLACHEA                      56 BDA. MIRANDA                                                                                                MANATI              PR         00674
   332831 MIGUEL DUMAS ROSA                           REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332832 MIGUEL DUMENG RIVERA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332833 MIGUEL DURAN ALBELO                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   721956 MIGUEL DURAND URBINA                        EXT SAN AGUSTIN              CALLE 6 NO 362                                                                    SAN JUAN            PR         00926
   721957 MIGUEL E CAMPIS                             PO BOX 1193                                                                                                    SAN LORENZO         PR         00754
   332834 MIGUEL E COLON CRUZ                         REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332835 MIGUEL E CRUZ MONTERO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332836 MIGUEL E DE JESUS RIVERA                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332837 MIGUEL E DIAZ DIAZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   721958 MIGUEL E FIGUEROA MORALES                   COND LOS ROBLES              EDIF A APT 401                                                                    SAN JUAN            PR         00927



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   721960 MIGUEL E GONZALEZ ESCALANTE P O BOX 1845                                                                                                               CAYEY               PR           00737‐1845

   332840 MIGUEL E LANDRAU CLEMENTE                   REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721962 MIGUEL E LOPEZ RAMOS                        HC 01 BOX 10969                                                                                            RIO GRANDE          PR           00745
   332841 MIGUEL E LUZUNARIS ROMAN                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721964 MIGUEL E MARRERO LEON                       PO BOX 240                                                                                                 SANTA ISABEL        PR           00757
   332842 MIGUEL E MARRERO MOYA                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721965 MIGUEL E MENDEZ VAZQUEZ                     PO BOX 942                                                                                                 SABANA GRANDE       PR           00637
   721966 MIGUEL E MONROIG                            PO BOX 721                                                                                                 SAN SEBASTIAN       PR           00685
          MIGUEL E NUNEZ A/C MIGUEL A
   332843 NUNEZ                                       REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721967 MIGUEL E ORTEGA DIAZ                        11 ANTONIO TORO VELEZ                                                                                      HORMIGUEROS         PR           00660
   721968 MIGUEL E ORTIZ COLON                        URB VILLA DEL MONTE     Z 7 CALLE MONTEBELLO                                                               TOA ALTA            PR           00953
   332845 MIGUEL E PEREZ SEPULVEDA                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332846 MIGUEL E POUEVIET VALENTIN                  REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332847 MIGUEL E RAMIREZ                            REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332848 MIGUEL E RAMOS CINTRON                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721969 MIGUEL E RAMOS MORELL                       HC 04 BOX 17570                                                                                            CAMUY               PR           00627
   721970 MIGUEL E REDONDO BORGES                     AVE. WISTON CHURCHILL   MCS 685‐138                                                                        SAN JUAN            PR           00926‐6023

   332849 MIGUEL E RODRIGUEZ CENTENO                  REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL E RODRIGUEZ
   332850 DOMINICCI                                   REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332851 MIGUEL E SANTANA REYES                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332852 MIGUEL E SANTANA VELEZ                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332855 MIGUEL E SANTIAGO CINTRON                   REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721971 MIGUEL E SEGARDIA DE JESUS                  URB COLLEGE PARK        1829 CALLE COLONIA                                                                 SAN JUAN            PR           00921
   721972 MIGUEL E VELEZ GONZALEZ                     PO BOX 9021112                                                                                             SAN JUAN            PR           00902‐1112
   721973 MIGUEL E VELEZ TORRES                       HC 2 BOX 7041                                                                                              LARES               PR           00669‐9731
   721974 MIGUEL E. CORREA VIGIER                     EL PALMAR DE TORRIMAR   104 CALLE 2A                                                                       GUAYNABO            PR           00969‐3286
   332856 MIGUEL E. ORTIZ PLUMEY                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332857 MIGUEL E. RAMOS CINTRON                     REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332858 Miguel Echevaria Luciano                    REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332859 MIGUEL ECHEVARRIA                           REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL EDUARDO MARRERO
   332860 MEDINA                                      REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721976 MIGUEL ELVIRA SANTANA                       PO BOX 9065978                                                                                             SAN JUAN            PR           00906‐5978
          MIGUEL ENCARNACION
   721978 SANTIAGO                                    PO BOX 1021                                                                                                FAJARDO             PR           00738
   721979 MIGUEL ENRIQUEZ LAGUER                      PO BOX 7969                                                                                                PONCE               PR           00732
   721980 MIGUEL ESPINAL SORIANO                      BARRIO SAINT JUST       28A CALLE BETANIA                                                                  TRUJILLO ALTO       PR           00976

   332862 MIGUEL ESQUILIN RODRIGUEZ                   REDACTED                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332863 MIGUEL ESTEBAN PEREZ GARCIA REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332864 MIGUEL ESTRADA ANGULO       REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332866 MIGUEL ESTREMERA MENDEZ     REDACTED                                REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721981 MIGUEL F CRUZ SANTANA       P O BOX 190409                                                                                                             SAN JUAN            PR           00919‐0409
   721982 MIGUEL F GODREAU NEGRON     URB COLLEGE PARK                        1773 CALLE COMPOSTELA                                                              SAN JUAN            PR           00921




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          MIGUEL F HERNANDEZ
   721983 PERDIGON                                    URB RIO PIEDRAS HEIGHTS       1727 CALLE SAN LORENZO                                                              SAN JUAN            PR           00926
   332868 MIGUEL F RIVERA SEPULVEDA                   REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL F SANTIAGO
   721984 ECHEGARAY                                   HC 02 BOX 7487                                                                                                    CAMUY               PR           00627 9111

   332869 MIGUEL F VAZQUEZ RODRIGUEZ                  REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332870 MIGUEL F. OSSORIO MEDINA                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332871 MIGUEL F. RUIZ DE JESUS                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721988 MIGUEL FABRE RAMIREZ                        URB ESTANCIA                  D 47 VIA SAN JUAN                                                                   BAYAMON             PR           00961
   721989 MIGUEL FARGAS CARABALLO                     CON DE RETIRO                 65 INF EDIF A APT 1107                                                              SAN JUAN            PR           00924
   721990 MIGUEL FELICIANO GARCIA                     PO BOX 240                                                                                                        SANTA ISABEL        PR           00757
   332872 MIGUEL FELICIANO RAMIREZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL FELICIANO RIOS /
   721991 CRONOZOKI AUTO P                            KM 10.5 CARR 165                                                                                                  TOA ALTA            PR           00953
                                                      Urb.Valles de Yabucoa A 103
   721993 Miguel Feliciano Rodriguez                  Camacey                                                                                                           Yabucoa                          00767
   332873 MIGUEL FELIX LAMBERT                        REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721994 MIGUEL FERNANDEZ                            HC 01 BOX 3797                                                                                                    NARANJITO           PR           00719
   721995 MIGUEL FERNANDEZ BRITO                      URB VILLAS HERMOSA            A4 CALLE 40                                                                         CAGUAS              PR           00727

   721996 MIGUEL FERNANDEZ CENTENO                    114 CALLE JEFFERSON                                                                                               SAN JUAN            PR           00911
   332874 MIGUEL FERNANDEZ RIVERA                     REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332876 MIGUEL FERNANDINI TORRES                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332877 MIGUEL FERRAIUOLI SUAREZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   721997 MIGUEL FERRER TEXIDOR                       HC 01 BOX 6347                                                                                                    CABO ROJO           PR           00623
   721998 MIGUEL FIGUEROA BRUNO                       ESTANCIAS DEL REY             EDIF 2 APT 212                                                                      CAGUAS              PR           00725

   721999 MIGUEL FIGUEROA CALDERON                    HC 1 BOX 8405                                                                                                     CANOVANAS           PR           00729
   722000 MIGUEL FIGUEROA CASTRO                      URB COUNTRY CLUB              966 CALLE CEILAN                                                                    SAN JUAN            PR           00924
   722002 MIGUEL FIGUEROA KILGORE                     SANTA MARIA                   A 4 CALLE 21                                                                        GUAYANILLA          PR           00656
   722003 MIGUEL FIGUEROA MADINA                      URB SAN FRANCISCO             105 CALLE SAN JUAN                                                                  YAUCO               PR           00698‐2516
   332878 MIGUEL FIGUEROA MARTINEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722004 MIGUEL FIGUEROA REYES                       9 RES FAGUA                                                                                                       CIALES              PR           00638
   722005 MIGUEL FIGUEROA TORRES                      HC 10 BOX 7622                                                                                                    SABANA GRANDE       PR           00637

   722006 MIGUEL FIGUEROLA FERNANDEZ HC01 BOX 27424                                                                                                                     CABO ROJO           PR           00623
   722007 MIGUEL FIQUEROA CANCEL     HC PO BOX 6830                                                                                                                     SAN JUAN            PR           00664
   332879 MIGUEL FLAQUER MELO        REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722008 MIGUEL FLORES NAZARIO      HC 1 BOX 7490                                                                                                                      GURABO              PR           00778
   722009 MIGUEL FLORES SOSA         HC 3 BOX 40241                                                                                                                     CAGUAS              PR           00725‐9732
   332880 MIGUEL FONSECA CRESPO      REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332882 MIGUEL FONSECA HERNANDEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL FONTANEZ Y NANCY A
   332884 ROLDAN                                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722010 MIGUEL FUENTES PEREZ                        PO BOX 9023363                                                                                                    SAN JUAN            PR           00902‐3363
   332885 MIGUEL FUERTES BACHMAN                      REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332886 MIGUEL G ALVERIO CARRUCCINI REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332887 MIGUEL G BORGES GONZALEZ                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED




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          MIGUEL G ECHEVARRIA
   332888 QUINTANA                                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332889 MIGUEL G ROBLES ROMAN                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL G. ECHEVARRIA
   332890 QUINTNA                                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332891 MIGUEL GAETAN RIVERA                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722012 MIGUEL GALINDEZ ALFARO                      ALTURAS DE BAYAMON             47 CALLE 1                                                                           BAYAMON             PR           00956
   332892 MIGUEL GARCIA ALFARO                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332893 MIGUEL GARCIA COLLAZO                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   722013 MIGUEL GARCIA GOSALVE                       2231 CRYSTAL DRIVE SUITE 814                                                                                        ARLINGTON           VA           22202
   722014 MIGUEL GARCIA MARIANI                       URB EL DORADO                  B 16 CALLE 1                                                                         GUAYAMA             PR           00784
   722016 MIGUEL GARCIA MORALES                       URB VALLE VERDE I              AP6 CALLE RIO MARAVILLA                                                              BAYAMON             PR           00961
   722017 MIGUEL GARCIA NIEVES                        BO DAGUAO BOX 7914                                                                                                  NAGUABO             PR           00718
   722018 MIGUEL GARCIA PAGAN                         PO BOX 6783                                                                                                         TOA ALTA            PR           00953
   332894 MIGUEL GARCIA PUMAREJO                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332895 MIGUEL GARCIA SUAREZ                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332900 MIGUEL GAUD RODRIGUEZ                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722020 MIGUEL GIERBOLINI                           PO BOX 4432                                                                                                         SAN JUAN            PR           00902
   722021 MIGUEL GIRONA GONZALEZ                      154 CALLE RAMON TORRES                                                                                              FLORIDA             PR           00650
   332902 MIGUEL GIRONA MARTINEZ                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332903 MIGUEL GOMEZ TEJADA                         REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332904 MIGUEL GONZALEZ ALVAREZ                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   332905 MIGUEL GONZALEZ CALVENTY                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722025 MIGUEL GONZALEZ FUENTES                     BOX 533                                                                                                             COROZAL             PR           00783

   722026 MIGUEL GONZALEZ GONZALEZ                    BOX 8                                                                                                               FLORIDA             PR           00650
   332906 MIGUEL GONZALEZ GRACIA                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722027 MIGUEL GONZALEZ IRIZARRY                    BO MAGOS                       HC 03 BOX 25071                                                                      SAN SEBASTIAN       PR           00685

   722023 MIGUEL GONZALEZ MANRIQUE                    HC 01 BOX 8718                                                                                                      CANOVANAS           PR           00729‐9729

   332907 MIGUEL GONZALEZ MELENDEZ                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722030 MIGUEL GONZALEZ MENDEZ                      HC 38 BOX 17650                                                                                                     SAN SEBASTIAN       PR           00685
   722032 MIGUEL GONZALEZ NEGRON                      741 CHESTNUT ST                                                                                                     READING             PA           19602
   722033 MIGUEL GONZALEZ OLMO                        HC 02 BOX 7797                 BO QUEBRADA                                                                          BARCELONETA         PR           00617‐9812
   332908 MIGUEL GONZALEZ PADILLA                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332909 MIGUEL GONZALEZ ROSA                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332910 MIGUEL GONZALEZ ROSADO                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332911 MIGUEL GONZALEZ RUIZ                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722035 MIGUEL GONZALEZ SALVA                       PO BOX 3061                                                                                                         ARECIBO             PR           00613

   332912 MIGUEL GONZALEZ SANTIAGO                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   720876 MIGUEL GONZALEZ SANTIAGO                    54 PARC PUNTA PALMAS                                                                                                BARCELONETA         PR           00617
   332913 MIGUEL GONZALEZ VARGAS                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722036 MIGUEL GONZALEZ VAZQUEZ                     EXT EL COQUI                   461 CALLE REINITA                                                                    AGUIRRE             PR           00704
   332915 MIGUEL GRAU VIDAL                           REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   332916 Miguel Guzman                               REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722037 MIGUEL GUZMAN PADILLA                       PO BOX 85                                                                                                           COROZAL             PR           00783
   722038 MIGUEL H MORALES VEGA                       REPTO METROPOLITANO            1158 CALLE 52 SE                                                                     SAN JUAN            PR           00921‐2700
   332917 MIGUEL H. CARDONA SILVA                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  332918 MIGUEL HERNANDEZ                             REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   722040 MIGUEL HERNANDEZ ACEVEDO                    P O BOX 1417                                                                                                   MOCA                 PR         00676
   332919 MIGUEL HERNANDEZ BELLO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722041 MIGUEL HERNANDEZ BRA¥A                      PO BOX 403                                                                                                     TRUJILLO ALTO        PR         00976
                                                      135 RES LLORENS TORRES APT
   722042 MIGUEL HERNANDEZ CINTRON                    2492                                                                                                           SAN JUAN             PR         00913‐7027
   332920 MIGUEL HERNANDEZ COLON                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   332921 MIGUEL HERNANDEZ CORTES                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MIGUEL HERNANDEZ
   722043 ECHEVARRIA                                  PO BOX 10998                                                                                                   SAN JUAN             PR         00922
   722045 MIGUEL HERNANDEZ LUGO                       PO BOX 7126                                                                                                    PONCE                PR         00732
   332922 MIGUEL HERNANDEZ MATOS                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722046 MIGUEL HERNANDEZ MORAN                      FERNANDEZ JUNCOS STATION     PO BOX 11855                                                                      SAN JUAN             PR         00910‐4225

   332923 MIGUEL HERNANDEZ POVENTUD REDACTED                                       REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722048 MIGUEL HERNANDEZ RIVAS     BOX 2638 CALLE ATENAS                                                                                                           VEGA BAJA            PR         00693
   722049 MIGUEL HERNANDEZ TORRES    URB SANTA ROSA                                41 11 CALLE 23                                                                    BAYAMON              PR         00959
          MIGUEL HERNANDEZ Y ELISA M
   332927 JIMENEZ                    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722051 MIGUEL HERRERA SERRANO     HC 4 BOX 6837                                                                                                                   YABUCOA              PR         00767

   722052 MIGUEL HERRERO SOTO                         232 AVE ELEONOR ROOSEVELT                                                                                      SAN JUAN             PR         00907
   722053 MIGUEL HOMAR INC.                           PO BOX 597                                          NAGUABO                                                    NAGUABO              PR         00718
   332928 MIGUEL I BRUNO TRINIDAD                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   332929 MIGUEL I SANCHEZ RIVERA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722054 MIGUEL IRIZARRY ESPINOSA                    PO BOX 2407                                                                                                    MOCA                 PR         00676
   332930 MIGUEL IRIZARRY TORRES                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   332931 MIGUEL ISAAC CANCEL HIDALGO REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   332932 MIGUEL ISLA STATION         REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   722055 MIGUEL IVAN HERRERO SOTO                    232 AVE ELEONOR ROOSEVELT                                                                                      SAN JUAN             PR         00907
   332933 MIGUEL J BERDIEL APONTE                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   332934 MIGUEL J BOQUE SANTIAGO                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   332935 MIGUEL J CALDERIN FERNANDEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   332936 MIGUEL J CARABALLO DE LEON                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   332937 MIGUEL J CORONADO COLON                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   332938 MIGUEL J GERALDINO PEREZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   332939 MIGUEL J GUZMAN BARBOSA                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   332941 MIGUEL J HERNANDEZ GELPI                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   722056 MIGUEL J HUERTAS OQUENDO                    HC 06 BOX 72857                                                                                                CAGUAS               PR         00725
   332942 MIGUEL J LUGO FIGUEROA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   332943 MIGUEL J MORALES VALES                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722057 MIGUEL J NEGRON VIVES                       BOX 780                                                                                                        UTUADO               PR         00641
   332944 MIGUEL J OCACIO VELEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   332945 MIGUEL J OCASIO VELEZ                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   332948 MIGUEL J ORTIZ CARRASQUILLO REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722058 MIGUEL J PAGAN MEDINA       PARCELAS SAN ROMUALDO                        BZN 214 D CALLE P                                                                 HORMIGUEROS          PR         00660



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  332949 MIGUEL J PEREZ RIOS                           REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   722059 MIGUEL J RODRIGUEZ SANCHEZ                   URB UNIVERSITY GARDENS       1000 CALLE FORDHAN                                                                      SAN JUAN            PR         00927

   722060 MIGUEL J RODRIGUEZ VARGAS                    HC 1 BOX 10533                                                                                                       SAN GERMAN          PR         00683
   722061 MIGUEL J VAZQUEZ LOPEZ                       11 EXT SAN LORENZO                                                                                                   ARECIBO             PR         00612‐3610
          MIGUEL JABBAR BERDIEL
   332950 APONTE                                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332951 MIGUEL JAVIER MARRERO                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332952 MIGUEL JIMENEZ FLORES                        REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   332953 MIGUEL JIMENEZ MACHUCA                       REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722062 MIGUEL JOSE VELEZ NIEVES                     HC 7 BOX 32833                                                                                                       HATILLO             PR         00659
   722063 MIGUEL JUSINO ORTIZ                          HC 6 BOX 4418                                                                                                        PONCE               PR         00780
   722065 MIGUEL KELLY TRINIDAD                        PMB 108 P O BOX 3000                                                                                                 CANOVANAS           PR         00729
   722066 MIGUEL L MONROIG GARCIA                      AVE PEDRO MORA ACOSTA 7                                                                                              ARECIBO             PR         00612

   722067 MIGUEL L RIVERA MALDONADO URB LEVITTOWN 1557                              1557 PASEO DELTA                                                                        TOA BAJA            PR         00949
   332954 MIGUEL L TORRES TORRES    REDACTED                                        REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   722069 MIGUEL L. RAMIREZ MENDOZA                    HC 01 BOX 11145                                                                                                      CAROLINA            PR         00987

   722071 MIGUEL LACROIX NADAL                         COND TORRES DE CERVANTES I   APT 709                                                                                 SAN JUAN            PR         00924
   722072 MIGUEL LAGO ROBLE                            HC 1 BOX 6129                                                                                                        LAS PIEDRAS         PR         00771‐9711
   722073 MIGUEL LARACUENTE                            HC 01 BOX 5530                                                                                                       LAS MARIAS          PR         00670
   722074 MIGUEL LARO TORRES                           PARQUE DE SAN AGUSTIN        EDIF B APT 21                                                                           SAN JUAN            PR         00901

   332956 MIGUEL LAZOFF/ JOSE M LAZOFF REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722075 MIGUEL LEBRON LEBRON         COM BORDALEZA                                SOLAR 3                                                                                 MAUNABO             PR         00707
   332958 MIGUEL LICHA BAQUERO         REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722076 MIGUEL LIMERES GRAU          APARTADO 331429                                                                                                                      PONCE               PR         00733‐1429

   722077 MIGUEL LLOMPART SANTIAGO                     VILLA VENECIA                M3 CALLE 1                                                                              CAROLINA            PR       00983
   332960 MIGUEL LOPEZ BERRIOS                         REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   332961 MIGUEL LOPEZ BETANCOURT                      REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   332962 MIGUEL LOPEZ CORREA                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   722078 MIGUEL LOPEZ GONZALEZ                        URB LAS GARDENIAS            46 CALLE DALIA                                                                          MANATI              PR       00674
   722080 MIGUEL LOPEZ HERNANDEZ                       P O BOX BOX 358                                                                                                      JAYUYA              PR       00664
   722081 MIGUEL LOPEZ MORALES                         BO BUEN CONSEJO              1207 CALLE ASENJO                                                                       SAN JUAN            PR       00926‐1739
   722085 MIGUEL LOPEZ RIVERA                          PO BOX 368                                                                                                           MAYAGUEZ            PR       00681‐0368
   722087 MIGUEL LOPEZ ROSADO                          HC 01 BOX 5496                                                                                                       BAJADERO            PR       00616
   332963 MIGUEL LORA CORDERO                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   722089 MIGUEL LOYOLA TORRES                         BOX 3500                                                                                                             CAMUY               PR       00627
   722090 MIGUEL LOZANO NERIS INC                      HC 40 BOX 42822                                                                                                      SAN LORENZO         PR       00754‐9614
   332964 MIGUEL LUCIANO TORO                          REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   332965 MIGUEL LUGO BIGAS                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   722091 MIGUEL LUGO DIAZ                             URB SAN PEDRO                F 18 CALLE 1                                                                            TOA BAJA            PR       00949
   332966 MIGUEL LUGO LABOY                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
   722093 MIGUEL LUNA MARTINEZ                         JARDINES DE CAYEY            A 32 CALLE PASEO LAS ROSAS                                                              CAYEY               PR       00736
   332968 MIGUEL LUNA NUNEZ                            REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED REDACTED       REDACTED
          MIGUEL M BORLAND DBA SAN
   722094 JUAN PRINTING                                P O BOX 9022060                                                                                                      SAN JUAN            PR         00902‐2060
   332969 MIGUEL M CANCIO                              REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722095 MIGUEL M JULIA MENDEZ                        BOX 81                                                                                                               SAN SEBASTIAN       PR         00685



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  722096 MIGUEL M MATOS FLORES                        TORRIMAR                     7‐4 OVIEDO                                                                       GUAYNABO          PR           00966

   332970 MIGUEL M QUINONES PUELLO                    REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   722097 MIGUEL M. CANCIO                            PO BOX 368                                                                                                    AGUADILLA         PR           00605
   722098 MIGUEL MACHADO                              ESTANCIA DEL CAMINO          E 6 CALLE 3 BOX 16                                                               TRUJILLO ALTO     PR           00976
   332971 MIGUEL MADERA CARABALLO                     REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   332972 MIGUEL MALAVE VEGA                          REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   332973 MIGUEL MALDONADO                            REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MIGUEL MALDONADO
   332974 ALVARADO                                    REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   722102 MIGUEL MALDONADO ARROYO                     PO BOX 1145                                                                                                   ISABELA           PR           00662

   332975 MIGUEL MALDONADO BERRIOS                    REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   722104 MIGUEL MALDONADO CEDENO                     URB SANTIAGO IGLESIAS 1414   PILLOT GARCIA                                                                    SAN JUAN          PR           00921

   332976 MIGUEL MALDONADO CLAUDIO REDACTED                                        REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   722106 MIGUEL MALDONADO PE¥A    PO BOX 68                                                                                                                        SAINT JUST        PR           00978‐0068
   722107 MIGUEL MALDONADO RIVERA  HC 80 BOX 8418                                                                                                                   DORADO            PR           00646
                                   URB. LEVITTONW E‐14 CALLE
   722108 MIGUEL MALDONADO SANTOS MAGDA OES                                                                                                                         TOA BAJA          PR           00949
   722109 MIGUEL MALDONADO VIRUET  322 BDA LA GRANJA                                                                                                                UTUADO            PR           00641
          MIGUEL MALDONADO/NANCY
   332977 MALDONADO                REDACTED                                        REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   332978 MIGUEL MANGUAL RODRIGUEZ                    REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   332979 MIGUEL MANZANO MOREU                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   722110 MIGUEL MARGOLLA MARTINEZ                    BOX 514                                                                                                       UTUADO            PR           00641
   332980 MIGUEL MARQUEZ                              REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   722112 MIGUEL MARQUEZ CAMACHO                      HC 61 BOX 6140                                                                                                TRUJILLO ALTO     PR           00976‐9801
   332981 MIGUEL MARQUEZ ESPINET                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   722113 MIGUEL MARRERO CRESPO                       P O BOX 13843                                                                                                 SAN JUAN          PR           00908‐3843
   722114 MIGUEL MARRERO GALINDO                      HC1 BOX 30519                                                                                                 CABO ROJO         PR           00623
   722115 MIGUEL MARRERO GARCIA                       204 CALLE DE DIEGO APT. 1                                                                                     SAN JUAN          PR           00925
   332982 MIGUEL MARRERO MARRERO                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   332983 MIGUEL MARRERO RIVERA                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   332984 MIGUEL MARRERO RODRIGUEZ                    REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   332985 MIGUEL MARRERO SANTIAGO                     REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   332986 MIGUEL MARTELL VELEZ                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   722117 MIGUEL MARTES PAGAN                         REPARTO TERESITA             AU 8 CALLE 31                                                                    BAYAMON           PR           00961
          MIGUEL MARTINEZ / BRUNILDA
   332987 CALDERIN                                    REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   722119 MIGUEL MARTINEZ CARTAGENA                   PO BOX 10000                                                                                                  CAYEY             PR           00737
   332989 MIGUEL MARTINEZ CASTRO                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   722120 MIGUEL MARTINEZ CENTENO                     BO ESPERANZA                 HC 3 BOX 21681                                                                   ARECIBO           PR           00612
   332990 MIGUEL MARTINEZ DOMENA                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   332991 MIGUEL MARTINEZ LABOY                       REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   332992 MIGUEL MARTINEZ LUQUIS                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   332993 MIGUEL MARTINEZ MATIAS                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED



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  332994 MIGUEL MARTINEZ RIVERA                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   722127 MIGUEL MARTINEZ RODRIGUEZ                   URB PARQUE DEL SOL           BZN 341                                                                             BAYAMON             PR         00959
   332995 MIGUEL MARTINEZ SOTO                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722129 MIGUEL MARTINEZ VEGA                        PO BOX 7126                                                                                                      PONCE               PR         00732
          MIGUEL MATIENZO DE LA
   722131 TORRIENTE                                   PARKVILLE SUR                C 21 HAMILTON                                                                       GUAYNABO            PR         00969
                                                                                   BO NAGUAO PARCWELA LAS
   722133 MIGUEL MATOS GOMEZ                          BOX 5053                     NUEVAS                                                                              NAGUABO             PR         00718
                                                      URB SAN GERALDO 1706 CALLE
   722134 MIGUEL MATOS MORALES                        AUGUSTA                                                                                                          SAN JUAN            PR         00926
   332996 MIGUEL MATOS PENA                           REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722136 MIGUEL MAYSONET FALCON                      RR 2 BOX 4618                                                                                                    TOA ALTA            PR         00953
   332997 MIGUEL MEDINA CRUZ                          REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   720878 MIGUEL MEDINA GONZALEZ                      URB CONQUISTADOR             E 61 AVE VELAZQUEZ                                                                  TRUJILLO ALTO       PR         00976

   722138 MIGUEL MEDINA MALDONADO                     HC 1 BOX 6250                                                                                                    CANOVANAS           PR         00729
   722139 MIGUEL MEDINA ORTA                          I A 15 RESIDENCIAL BAHIAS                                                                                        GUAYANILLA          PR         00656
   332998 MIGUEL MEDINA RIVERA                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722141 MIGUEL MEDINA SANTOS                        CSM MAYAGUEZ                                                                                                     Hato Rey            PR         00936
   722142 MIGUEL MEDINA SOTO                          HC 3 BOX 10242                                                                                                   CAMUY               PR         00627
   720877 MIGUEL MEDINA VELAZQUEZ                     HC 3 BOX 13078                                                                                                   CAMUY               PR         00627
   722143 MIGUEL MEJIA ESPINAL                        VILLA PALMERA                232 CALLE PALACIOS                                                                  SAN JUAN            PR         00915
   722144 MIGUEL MELENDEZ ACOSTA                      SAN GERARDO                  323 CALLE TEJAS                                                                     SAN JUAN            PR         00926
   333000 MIGUEL MELENDEZ LEBRON                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   722146 MIGUEL MELENDEZ SCHETTINIS                  HC 1 BOX 2447                                                                                                    MAUNABO             PR         00707
   722147 MIGUEL MELENDEZ VAZQUEZ                     PO BOX 265                   DIST. ESC. BAYAMON 2                                                                BAYAMON             PR         00659
   722148 MIGUEL MENAR                                PMB 347                      PO BOX 20000                                                                        CANOVANAS           PR         00729

   720879 MIGUEL MENDEZ DE LA TORRE                   PO BOX 381                                                                                                       VEGA ALTA           PR         00692 0381
   333001 MIGUEL MENDEZ FIGUEROA                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   333002 MIGUEL MENDEZ GONZALEZ                      REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   333003 MIGUEL MENDEZ HERNANDEZ                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722150 MIGUEL MENDEZ RIVERA                        HC‐01 BOX 2556                                                                                                   SABANA HOYO         PR         00688
   722152 MIGUEL MENDOZA RIVERA                       118 ANTONIO LOPEZ                                                                                                HUMACAO             PR         00791‐4250
                                                      EMBALSE SAN JOSE 423 CALLE
   722153 MIGUEL MENDOZA SALINA                       CEUTA                                                                                                            SAN JUAN            PR         00923

   722154 MIGUEL MENENDEZ MELENDEZ                    CAPARRA TERRACE              1134 CALLE 10 SURESTE                                                               SAN JUAN            PR         00921
   333005 MIGUEL MERCADO NUNEZ                        REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   720880 MIGUEL MERCADO PERDOMO                      PO BOX 1048                                                                                                      HORMIGUEROS         PR         00660

   333006 MIGUEL MERCADO RODRIGUEZ                    REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   333007 MIGUEL MERCADO TORRES                       REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722157 MIGUEL MERCED RIVERA                        INTERAMERICANA GARDENS       A 6 EDIF 3 A                                                                        TRUJILLO ALTO       PR         00976
   722158 MIGUEL MERLE FLORES                         BO COLOMBIA                  67 CALLE MIRAMAR                                                                    MAYAGUEZ            PR         00680

   333008 MIGUEL MIHALJEVICH DE JESUS                 REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722159 MIGUEL MILLAN CRUZ                          URB CAMPAMENTO               2 CALLE A                                                                           GURABO              PR         00738
   333009 MIGUEL MIRANDA ALVARADO                     REDACTED                     REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  333010 MIGUEL MIRANDA COLON                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  722161 MIGUEL MIRANDA OCASIO                        HC 01 BOX 3292                                                                                              COROZAL             PR         00783
         MIGUEL MIRANDA ORTIZ DBA
  333011 CONSULTING SERV                              PMB 325 5900            AVE ISLA VERDE L‐2                                                                  CAROLINA            PR         00979
  722163 MIGUEL MIRANDA SANZ                          URB LOMAS VERDES        2 M 29 CALLE HORTENSIA                                                              BAYAMON             PR         00956
  722164 MIGUEL MOJICA ARROYO                         PO BOX 7704                                                                                                 DORADO              PR         00646
  722165 MIGUEL MOJICA RODRIGUEZ                      PO BOX 7704                                                                                                 DORADO              PR         00646
  722166 MIGUEL MOLINA ALBELO                         94 BDA ROSA                                                                                                 MANATI              PR         00674
  722167 MIGUEL MONDESI CRUZ                          HC 1 BOX 9410                                                                                               MARICAO             PR         00606
  333012 MIGUEL MONSERRATE DIAZ                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MIGUEL MONTALVO / GRUPO
  722168 CLASE GRAD 1973                              URB CAMINO DEL MAR      7041 CALLE VIA PLAYERA                                                              TOA BAJA            PR         00949
  722169 MIGUEL MONTALVO RIOS                         HC 9 BOX 3252                                                                                               SABANA GRANDE       PR         00637
  333013 MIGUEL MONTALVO SEDA                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  722170 MIGUEL MONTES VIDOT                          URB MADELINE            L 43 CALLE TOPACIO                                                                  TOA ALTA            PR         00953
  333014 MIGUEL MORALES COLON                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  722171 MIGUEL MORALES COTTO                         CALLE 1 B 78            VILLA MARINA                                                                        GURABO              PR         00778
  333015 MIGUEL MORALES CRUZ                          REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  722172 MIGUEL MORALES DIAZ                          P.O. BOX 50071                                                                                              SAN JUAN            PR         00902‐6271
  333017 MIGUEL MORALES GONZALEZ                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  333018 MIGUEL MORALES NIEVES                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  722175 MIGUEL MORALES OTERO                         PO BOX 50416                                                                                                TOA BAJA            PR         00950
  333019 MIGUEL MORALES RIVERA                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  722179 MIGUEL MORALES TORRES                        P O BOX 1284                                                                                                BARCELONETA         PR         00617
  333020 MIGUEL MORALES VALENTIN                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  722181 MIGUEL MORENO QUINTANA                       PO BOX 1509                                                                                                 GUAYAMA             PR         00784
  722182 MIGUEL MUFFLER                               URB JARD DE JAYUYA      BOX 277 CALLE ROSA                                                                  JAYUYA              PR         00664
  333021 MIGUEL MUNIZ                                 REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  333022 MIGUEL MUNIZ CRUZ                            REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  333023 MIGUEL MUNIZ ECHEVARRIA                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  333024 MIGUEL MUNIZ GONZALEZ                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  333025 MIGUEL MUNOZ LIZARDI                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  333026 MIGUEL MUNOZ LUCIANO                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  333027 MIGUEL MUNOZ SOTO                            REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  333028 MIGUEL MUNOZ VILCHES                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  333029 MIGUEL NADAL CINTRON                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  333030 MIGUEL NAZARIO CRUZ                          REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MIGUEL NAZARIO VEGA DBA
  333031 M.A.N. INDUTRIES                             PO BOX 516                                                                                                  CATANO              PR         00965
  722185 MIGUEL NEGRON FIGUEROA                       PO BOX 33066                                                                                                SAN JUAN            PR         00933
  333032 MIGUEL NEGRON RIVERA                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  333033 MIGUEL NEGRON RODRIGUEZ                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  722186 MIGUEL NEGRON VAZQUEZ                        P O BOX 195283                                                                                              SAN JUAN            PR         00905‐5283
  722187 MIGUEL NIEVES DOMINGUEZ                      PUERTO NUEVO            303 CALLE 23 N E                                                                    SAN JUAN            PR         00920
  722188 MIGUEL NIEVES HERNANDEZ                      SANTA RITA              1 CALLE JOSEFA CABRERA                                                              SAN JUAN            PR         00925
  722189 MIGUEL NIEVES VARGAS                         HC 02 BOX 10287                                                                                             QUEBRADILLA         PR         00678‐9802
  722190 MIGUEL NOVA COLON                            PO BOX 1600 SUITE 302                                                                                       CIDRA               PR         00937‐1600
  333035 MIGUEL NUNEZ FELIX                           REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   722191 MIGUEL O CONNOR HERNANDEZ BO TAMARINDO                              90 CALLE SAN ANTONIO                                                                PONCE               PR         00731

   333036 MIGUEL O FERNANDEZ TAULER                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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          MIGUEL O GONZALEZ
   722192 RODRIGUEZ                                   P O BOX 698                                                                                                  LARES               PR           00669

   722193 MIGUEL O GONZALEZ SANTIAGO                  JARD DEL CARIBE           W5 CALLE 27                                                                        PONCE               PR           00731
   333037 MIGUEL O GUILLET RAMOS                      REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MIGUEL O NAVARRO
   333039 DOMINGUEZ                                   REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333040 MIGUEL O OTERO CASTRO                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333041 MIGUEL O TORRES ANDUJAR                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      HP‐PSIQUIATRICO FORENSE
   722194 MIGUEL O.RIGUAL ROUBERT                     PONCE                                                                                                        Hato Rey            PR           009360000
   722195 MIGUEL OCASIO                               7423 JAYHAWK STREET                                                                                          ANNANDALE           VA           22003
   722196 MIGUEL OCASIO RODRIGUEZ                     APARTADO 1070                                                                                                CAR0LINA            PR           00986
   722197 MIGUEL OCTTAVIANI SANCHO                    SUITE 151                 PO BOX 4954                                                                        CAGUAS              PR           00726

   333044 MIGUEL OLIVENCIA RODRIGUEZ                  REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722201 MIGUEL OLIVERAS RIVERA                      PO BOX 820                                                                                                   MOROVIS             PR           00687
   333045 MIGUEL OLIVO MACHUCA                        REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722202 MIGUEL OLMO VALENTIN                        HC 4 BOX 49952                                                                                               HATILLO             PR           00659
   722203 MIGUEL ONGAY MARTELL                        HC2 BOX 6802                                                                                                 UTUADO              PR           00641
   333046 MIGUEL OPPENHEIMER                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   722206 MIGUEL ORTEGA & ASOCIADOS                   URB VIVES                 6 CALLE A                                                                          GUAYAMA             PR           00784
   722207 MIGUEL ORTIZ                                HC 10 BOX 7827                                                                                               SABANA GRANDE       PR           00637
   722210 MIGUEL ORTIZ ALGARIN                        LOMAS VERDES              P4 Z GIRASOL                                                                       BAYAMON             PR           00956
          MIGUEL ORTIZ AND ASOCIADO
   333047 INC                                         PO BOX 381                                                                                                   HATILLO             PR           00659
   333048 MIGUEL ORTIZ ARCE                           REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333049 MIGUEL ORTIZ CASANOVA                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333050 MIGUEL ORTIZ COELLO                         REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   722212 MIGUEL ORTIZ DRAPERIES INC.                 PO BOX 1963                                                                                                  CAROLINA            PR           00984
   333051 MIGUEL ORTIZ FIGUEROA                       REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333052 MIGUEL ORTIZ GOMEZ                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      43 CALLE RAMON ANTONINI
   722214 MIGUEL ORTIZ MATOS                          AMELIA                                                                                                       GUAYNABO            PR           00965
   333054 MIGUEL ORTIZ NUNEZ                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333055 MIGUEL ORTIZ RAMOS                          REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722216 MIGUEL ORTIZ ROQUE                          P O BOX 371067                                                                                               CAYEY               PR           00737
   722217 MIGUEL ORTIZ ROSARIO                        PO BOX 1518                                                                                                  DORADO              PR           00646
   333056 MIGUEL OSORIO HERNANDEZ                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333057 MIGUEL OSORIO RODRIGUEZ                     REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   720881 MIGUEL OTERO DAVILA                         PO BOX 93 C                                                                                                  FLORIDA             PR           00650
   722219 MIGUEL OTERO LUGO                           PO BOX 21365                                                                                                 SAN JUAN            PR           00928
   722220 MIGUEL OTERO RIVERA                         HC 04 BOX 30747                                                                                              HATILLO             PR           00659
   722221 MIGUEL OYOLA ARCE                           HC 01 BOX 5576                                                                                               SABABA HOYOS        PR           00688
   722222 MIGUEL OZORIO CASTILLO                      COND VILLA FEMENIL        APT 211                                                                            SAN JUAN            PR           00924
   722223 MIGUEL P CANCIO BIGAS                       PO BOX 191650                                                                                                SAN JUAN            PR           00919‐1650
   722226 MIGUEL P DORTA GOITIA                       PO BOX 819                                                                                                   GARROCHALES         PR           00652‐0819
   333058 MIGUEL P VELEZ RODRIGUEZ                    REDACTED                  REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   722227 MIGUEL P. VELEZ & ASSOCIATES PO BOX 10791                                                                                                                SAN JUAN            PR           00922
   333060 MIGUEL PACHECO DEVANE        REDACTED                                 REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  722229 MIGUEL PADILLA CABALLERO     TOA ALTA HEIGHTS                            T 13 CALLE 22 A                                                                     TOA ALTA           PR         00953
  333061 MIGUEL PADILLA MARCIAL       REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  722230 MIGUEL PADILLA MARTINEZ      EXT BDA MONSERRATE                          9 CALLE 1                                                                           SANTA ISABEL       PR         00757
  333063 MIGUEL PADIN PEREZ           REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  333065 MIGUEL PALACIOS MERCADO      REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  333066 MIGUEL PALAU ROLDAN          REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  722231 MIGUEL PASTRANA              P O BOX 9023905                                                                                                                 SAN JUAN           PR         00902‐3905
  722232 MIGUEL PATINO                URB STA JUANITA                             BE 15 CALLE QUINTANA                                                                BAYAMON            PR         00956
  722233 MIGUEL PAYANO SANTANA        CAPARRA TERRAS                              18 SE 1273                                                                          SAN JUAN           PR         00921
  722234 MIGUEL PEDRAZA               PO BOX 2446                                                                                                                     GUAYAMA            PR         00785
  333067 MIGUEL PENA                  REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  333068 MIGUEL PENA ARCE             REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  333069 MIGUEL PENA CRUZ             REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  333070 MIGUEL PERDOMO ESTRADA       REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
         MIGUEL PEREZ / CTA DE MIGUEL
  722235 A PEREZ                      HC 4 BOX 14219                                                                                                                  MOCA               PR         00676
  722236 MIGUEL PEREZ ARZOLA          8133 CALLE CONCORDIA                        SUITE 104                                                                           PONCE              PR         00717‐1543
  333071 MIGUEL PEREZ CANDELARIO      REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  722237 MIGUEL PEREZ COLON           URB BRISAS DE GUAYANES                      CALLE VERANO 194                                                                    PENUELAS           PR         00624
  722238 MIGUEL PEREZ FUENTES         HC 03 BOX 3177                                                                                                                  SAN SEBASTIAN      PR         00685
  333072 MIGUEL PEREZ GAUD            REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  722239 MIGUEL PEREZ GERENA          PO BOX 2029                                                                                                                     QUEBRADILLAS       PR         00678
  333073 MIGUEL PEREZ LOPEZ           REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
  722241 MIGUEL PEREZ MAISONAVE       COND PSEO RIO HONDO                         1000 AVE BOULEVARD 901                                                              TOA BAJA           PR         00949
  722242 MIGUEL PEREZ MARTINEZ        PO BOX 424                                                                                                                      QUEBRADILLAS       PR         00678
  722244 MIGUEL PEREZ MELENDEZ        URB EXPERIMENTAL                            5 CALLE 5                                                                           SAN JUAN           PR         00926
  722245 MIGUEL PEREZ PEREZ           RES ANDRES MENDEZ LICIAGA                   EDIF17 APT 106                                                                      SAN SEBASTIAN      PR         00685
  722247 MIGUEL PEREZ RODRIGUEZ       BOX 60075                                                                                                                       BAYAMON            PR         00960

   722248 MIGUEL PEREZ VAZQUEZ                        1510 AVE ROOSVELOT SUITE 3 B                                                                                    GUAYNABO           PR         00968
   333077 MIGUEL PEREZ VELEZ                          REDACTED                     REDACTED                REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   333078 MIGUEL PEREZ Y MARIA TORRES REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   333079 MIGUEL PINEIRO COSME        REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
                                      G 19 URB COLINAS DE VILLA
   722249 MIGUEL POGGI RUIZ           ROSA                                                                                                                            SABANA GRANDE      PR         00637
   722251 MIGUEL PORTILLA TORRES      PO BOX 50071                                                                                                                    SAN JUAN           PR         00902
   722252 MIGUEL POU                  ALTURAS INTERAMERICANA                      S 24 CALLE 17                                                                       TRUJILLO ALTO      PR         00927
   333080 MIGUEL PRATTS MERCADO       REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   333082 Miguel Puello Jiménez       REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   722253 MIGUEL PUIGTORFILO          PO BOX 671                                                                                                                      SAN JUAN           PR         00902
          MIGUEL PUJOL PC CONSULTANT
   722254 AND SALES                   URB BAIROA                                  F 4 CALLE 38                                                                        CAGUAS             PR         00725
   722255 MIGUEL QUILES               HC 02 BOX 6338                                                                                                                  JAYUYA             PR         00664 9604

   333084 MIGUEL QUINONES CHAPMAN                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   333087 MIGUEL QUINONES DE JESUS                    REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED

   333090 MIGUEL QUINONES MARRERO                     REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   333093 MIGUEL R COLON LOPEZ                        REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   333094 MIGUEL R COTTO CIRILO                       REDACTED                    REDACTED                 REDACTED                            REDACTED               REDACTED           REDACTED   REDACTED     REDACTED
   722257 MIGUEL R DOMINGUEZ DIAZ                     URB PARK GARDENS            Y7 CALLE YORK SHINE                                                                 SAN JUAN           PR         00926
   722258 MIGUEL R ELECTRIC                           PO BOX 775                                                                                                      VIEQUES            PR         00765



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  722259 MIGUEL R GONZALEZ ROMAN                      PO BOX 875                                                                                                         ARECIBO           PR         00613
  722260 MIGUEL R ORTIZ CALERO                        PONCE DE LEON AVE          416 UNION PLAZA SUITE 1422                                                              HATO REY          PR         00918
  722261 MIGUEL R PATXOT RUIZ                         VILLA SULTANITA            469 CALLE 17                                                                            MAYAGUEZ          PR         00680
  722263 MIGUEL RABELL RIVERA                         URB COUNTRY CLUB           HN 14 AVE EL COMANDANTE                                                                 CAROLINA          PR         00982‐2776
  722264 MIGUEL RAMIREZ MORALES                       P O BOX 60‐075                                                                                                     BAYAMON           PR         00960
  722265 MIGUEL RAMIREZ PASTORIZA                     URB MONTE GRANDE           105 DIAMANTE                                                                            CABO ROJO         PR         00623
  722266 MIGUEL RAMOS ALBELO                          HC‐04 BOX 17570                                                                                                    Camuy             PR         00627
  722267 MIGUEL RAMOS AMARO                           BO LIZAS                   BOX T‐3                                                                                 MAUNABO           PR         00707
  722268 MIGUEL RAMOS CRUZ                            PO BOX 426                                                                                                         ISABELA           PR         00662
  722269 MIGUEL RAMOS DE JESUS                        79 CALLE LEON                                                                                                      PONCE             PR         00731
  722270 MIGUEL RAMOS GONZALEZ                        P.O. BOX 178                                                                                                       CASTANER          PR         00631‐0178
  333096 MIGUEL RAMOS MONTANEZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  722271 MIGUEL RAMOS MORALES                         5 VALLE ESCONDIDO                                                                                                  ARECIBO           PR         00612
  333097 MIGUEL RAMOS ORTIZ                           REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  333098 MIGUEL RAMOS ROMAN                           REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  722273 MIGUEL RAMOS VASALLO                         PO BOX 70009                                                                                                       FAJARDO           PR         00738‐7009
  720882 MIGUEL REMIGIO KUILAN                        PO BOX 362                                                                                                         TOA ALTA          PR         00954‐0362
  333099 MIGUEL RESTO                                 REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  333101 MIGUEL REYES ARCE                            REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  722275 MIGUEL REYES CARRION                         COND LAS GLADIOLAS         EDIF 300 APT 408                                                                        SAN JUAN          PR         00916
  722277 MIGUEL REYES DAVILA                          URB PLAZA DE LAS FUENTES   1197 CALLE EGIPTO                                                                       TOA ALTA          PR         00953
  722278 MIGUEL REYES MARTINEZ                        HC 43 BOX 10896                                                                                                    CAYEY             PR         00736
  333102 MIGUEL REYES MORALES                         REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  333103 MIGUEL REYES NUNEZ                           REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  722280 MIGUEL REYES PACHECO                         HC 1 BOX 7290                                                                                                      YAUCO             PR         00698
  333104 MIGUEL RIOS FELICIANO                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  333105 MIGUEL RIOS RIVERA                           REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  722281 MIGUEL RIOS VEGA                             PO BOX 10071                                                                                                       SAN JUAN          PR         00908
  722282 MIGUEL RIVAS                                 162 CALLE LAGUNA                                                                                                   SAN JUAN          PR         00917
  722283 MIGUEL RIVAS POLANCO                         109 CALLE COSTA RICA       APT 5 A                                                                                 SAN JUAN          PR         00917
  722284 MIGUEL RIVAS RIVERA                          162 CALLE LAGUNA                                                                                                   SAN JUAN          PR         00917
  722285 MIGUEL RIVERA                                HC 03 BOX 19292                                                                                                    ARECIBO           PR         00612
  720883 MIGUEL RIVERA ARCE                           PO BOX 360223                                                                                                      SAN JUAN          PR         00936
  722286 MIGUEL RIVERA ATILES                         HC 1 BOX 10324                                                                                                     HATILLO           PR         00659‐9710
  333106 MIGUEL RIVERA BERMUDEZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  722287 MIGUEL RIVERA BORGES                         P O BOX 14125                                                                                                      SAN JUAN          PR         00916
  722288 MIGUEL RIVERA CABRERA                        112 PARCELA CALLE 13       BO. SAN JOSE                                                                            TOA BAJA          PR         00954
  722289 MIGUEL RIVERA CAPELLA                        84 CALLE CUESTA VIEJA                                                                                              AGUADILLA         PR         00603
  333108 MIGUEL RIVERA CLASS                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  333109 MIGUEL RIVERA CLAUDIO                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  722290 MIGUEL RIVERA CORTES                         JARDINES BORINQUEN         L 24 CALLE TRINITARIA                                                                   CAROLINA          PR         00985
  722291 MIGUEL RIVERA CRUZ                           RIVIERA DE CUPEY           I 15 CALLE GALLEGOS                                                                     SAN JUAN          PR         00926
  722292 MIGUEL RIVERA DEL VALLE                      PO BOX 851                                                                                                         LARES             PR         00669
  722293 MIGUEL RIVERA DIAZ                           RR 2 BOX 6045                                                                                                      MANATI            PR         00674
  722294 MIGUEL RIVERA FLORES                         BOX 1228826                                                                                                        CAYEY             PR         00736
  333110 MIGUEL RIVERA GONZALEZ                       REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  333111 MIGUEL RIVERA GUADALUPE                      REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  722295 MIGUEL RIVERA GUTIERREZ                      844 CALLE MARIN                                                                                                    AGUIRRE           PR         00704
  333112 MIGUEL RIVERA JIMENEZ                        REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  722296 MIGUEL RIVERA LAPORTE                        PO BOX 10007 SUITE 181                                                                                             GUAYAMA           PR         00785
  722297 MIGUEL RIVERA LIBOY                          PO BOX 1216                                                                                                        SABANA GRANDE     PR         00637
  722298 MIGUEL RIVERA LICIAGA                        REC ELEONOR ROOSEVELT      E 4 A 30                                                                                MAYAGUEZ          PR         00680
  333113 MIGUEL RIVERA LOPEZ                          REDACTED                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  333114 Miguel Rivera López                           REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                       JARDINES DE CAPARRA
   722300 MIGUEL RIVERA MALAVE                         BAYAMON                    H 8 CALLE 26                                                                           BAYAMON              PR         00959
   722301 MIGUEL RIVERA MANSO                          HP ‐ SALA DE ENFERMERIA                                                                                           RIO PIEDRAS          PR         009360000
   722302 MIGUEL RIVERA MARTINEZ                       HC 43 BOX 10896                                                                                                   CAYEY                PR         00736
   333115 MIGUEL RIVERA MEDINA                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   333116 MIGUEL RIVERA NUNEZ                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722303 MIGUEL RIVERA PABON                          PO BOX 277                                                                                                        ROSARIO              PR         00636
   333117 MIGUEL RIVERA RIVERA                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   333118 MIGUEL RIVERA RODRIGUEZ                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   333119 MIGUEL RIVERA SUAREZ                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   333120 MIGUEL RIVERA TORRES                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   333121 MIGUEL RIVERA VAZQUEZ                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722312 MIGUEL ROBLES GARCIA                         16 WHITEWOOD CT                                                                                                   HOMOSASSA            FL         34446‐4128
   722313 MIGUEL ROCHE RODRIG                          URB LLANOS DE STA ISABEL   G 4 CALLE 4                                                                            SANTA ISABEL         PR         00757

   333124 MIGUEL RODRIGUEZ ACEVEDO                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   333125 MIGUEL RODRIGUEZ ACOSTA                      REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MIGUEL RODRIGUEZ
   333126 BENVENUTTI                                   REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   722314 MIGUEL RODRIGUEZ CABALLERO 1355 GRASTON CIRCLE                                                                                                                 TAMPA                FL         33613
   722315 MIGUEL RODRIGUEZ CASTRO    VILLA CAROLINA                               BLQ 200 4 CALLE 529                                                                    CAROLINA             PR         00985

   722316 MIGUEL RODRIGUEZ CLAUDIO                     BO GUAVATE 22550                                                                                                  CAYEY                PR         00736
   722317 MIGUEL RODRIGUEZ COLON                       PO BOX 1011                                                                                                       JAYUYA               PR         00664
   333127 MIGUEL RODRIGUEZ CRUZ                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   333129 MIGUEL RODRIGUEZ DE JESUS                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   722318 MIGUEL RODRIGUEZ DELGADO                     HC 3 BOX 37494                                                                                                    CAGUAS               PR         00725‐9714

   722320 MIGUEL RODRIGUEZ FIGUEROA                    URB LAS AMERICAS           785 GUATEMALA                                                                          SAN JUAN             PR         00931

   333130 MIGUEL RODRIGUEZ GARRAFA                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
                                                       CONDOMINIO ESTANCIAS DEL
   722322 MIGUEL RODRIGUEZ GONZALEZ                    SUR                        APT 302 CALLE VILLA FINAL                                                              PONCE                PR         00731
   722323 MIGUEL RODRIGUEZ JURADO                      PO BOX 1395                                                                                                       VEGA ALTA            PR         00692

   722325 MIGUEL RODRIGUEZ MARRERO                     SAN MIGUEL TOWER APT 211                                                                                          MAYAGUEZ             PR         00680

   722326 MIGUEL RODRIGUEZ MARTINEZ                    SECT LA LOMA BO ORTIZ      CARR 827                                                                               TOA ALTA             PR         00953
   722327 MIGUEL RODRIGUEZ MEDINA                      PO BOX 842                                                                                                        BOGUERON             PR         00622

   720849 MIGUEL RODRIGUEZ MELEDEZ                     PO BOX 3471                                                                                                       VEGA ALTA            PR         00692

   720886 MIGUEL RODRIGUEZ MINGUELA PMB 216 PO BOX 60401                                                                                                                 AGUADILLA            PR         00604
   722330 MIGUEL RODRIGUEZ PADILLA  URB COUNTRY CLUB                              HY 23 CALLE 240                                                                        CAROLINA             PR         00982
   333136 MIGUEL RODRIGUEZ RIVERA   REDACTED                                      REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   333139 MIGUEL RODRIGUEZ RODRIGUEZ REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722336 MIGUEL RODRIGUEZ ROSA      PO BOX 1146                                                                                                                         COAMO                PR         00769

   333140 MIGUEL RODRIGUEZ SANCHEZ                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  333141 MIGUEL RODRIGUEZ SIERRA                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MIGUEL RODRIGUEZ
  333142 VILLANUEVA                                   REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  720884 MIGUEL RODRIGUEZ ZAPATA                      URB JARDINES DEL CARIBE       Z 7 CALLE 28                                                                           PONCE               PR         00728‐4457

          MIGUEL RODRIGUEZ/RODRIGUEZ
   722338 QUALITY GUARD              SERVICES INC.                                  URB COLINAS DE MONTE CARLO D 47 CALLE 23                                               SAN JUAN            PR         00926
   333144 MIGUEL ROGUE LEON          REDACTED                                       REDACTED                   REDACTED                             REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722339 MIGUEL ROJAS DEL VALLE     PO BOX 1841                                                                                                                           TRUJILLO ALTO       PR         00777
   333145 MIGUEL ROJAS LOPEZ         REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722340 MIGUEL ROMAN BARRETO       APARTADO 1144                                                                                                                         ISABELA             PR         00662
   333149 MIGUEL ROMAN MEDINA        REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   333150 MIGUEL ROMAN VIDAL         REDACTED                                       REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722344 MIGUEL RONDON RIOS         VILLA DEL CARMEN                               Q 6 CALLE 29                                                                           PONCE               PR         00731

   722345 MIGUEL RONDON RODRIGUEZ                     COND. SKY TOWERS II APT. 88                                                                                          SAN JUAN            PR         00926
   333152 MIGUEL ROSADO AYBAR                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   333153 MIGUEL ROSADO COLON                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   333154 MIGUEL ROSADO ORTIZ                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722347 MIGUEL ROSADO POUPART                       LA ROSALEDA                   B 19 CALLE 2                                                                           VEGA ALTA           PR         00692
   722348 MIGUEL ROSADO REYES                         URB SIERRA BAYAMON            8‐23 CALLE 7                                                                           BAYAMON             PR         00961
   722349 MIGUEL ROSADO RODRIGUEZ                     HC 73 BOX 4432                                                                                                       NARANJITO           PR         00719
   333156 MIGUEL ROSARIO MARIANI                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722350 MIGUEL ROSARIO MARRERO                      101 CALLE LOS MARREROS                                                                                               VEGA BAJA           PR         00693
   722351 MIGUEL ROSARIO RIVERA                       URB METROPOLIS 2              M20 CALLE 41                                                                           CAROLINA            PR         00987

   722352 MIGUEL ROSARIO RODRIGUEZ                    HC 02 BOX 6388                BO PASTO                                                                               MOROVIS             PR         00687
          MIGUEL ROSARIO\DBA DECOR
   722355 COATING                                     PO BOX 1372                                                                                                          LUQUILLO            PR         00773
   722356 MIGUEL ROVIRA                               PO BOX 839                                                                                                           BAYAMON             PR         00960‐0839
          MIGUEL ROVIRA INTERIOR
   333157 CONTRAC                                     W‐2 LOS ANGELES                                                                                                      CAROLINA            PR         00979
   333158 MIGUEL RUIZ CARLO                           REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   333159 MIGUEL RUIZ CHINEA                          REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722357 MIGUEL RUIZ DE JESUS                        HATO REY                      214‐A CALLE MAYAGUEZ                                                                   SAN JUAN            PR         00917
   333160 MIGUEL RUIZ FELICIANO                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722358 MIGUEL S. BAUTISTA ESPINAL                  BARRIO OBRERO                 CALLE 10 APT 452                                                                       SAN JUAN            PR         00915
   722359 MIGUEL SALAS ORTIZ                          VILLA CAROLINA                436 168 CALLE 28                                                                       CAROLINA            PR         00985
   722360 MIGUEL SAN HOU                              4 CALLE ULISES MARTINEZ                                                                                              HUMACAO             PR         00791
   333161 MIGUEL SAN MIGUEL TORRES                    REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722361 MIGUEL SANABRIA                             BOX 62                                                                                                               SABANA GRANDE       PR         00637
   722362 MIGUEL SANCHEZ                              P O BOX 999                                                                                                          COX SACKIE          NY         12051
   722363 MIGUEL SANCHEZ CRUZ                         BARRIO RIO HONDO              18 CAMINO LOS CRUZ                                                                     MAYAGUEZ            PR         00680
   722365 MIGUEL SANCHEZ GOMEZ                        HC 40 BOX 40211                                                                                                      SAN LORENZO         PR         00754
   333164 MIGUEL SANCHEZ PINEIRO                      REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   722367 MIGUEL SANCHEZ RODRIGUEZ                    URB VILLA FONTANA             LL 13 VIA 23                                                                           CAROLINA            PR         00983
   333166 MIGUEL SANCHEZ SOTO                         REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   333167 MIGUEL SANCHEZ STELLA                       REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722369 MIGUEL SANCHEZ VAZQUEZ                      VILLA GUADALUPE               CC‐9 CALLE 23                                                                          CAGUAS              PR         00725
   333168 MIGUEL SANTANA AYALA                        REDACTED                      REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722370 MIGUEL SANTANA BAGUR                        COLINAS DE MONTECARLO         F 27 CALLE 40                                                                          SAN JUAN            PR         00924
   722372 MIGUEL SANTANA MONTES                       JARDINES DEL CARIBE           H 33 CALLE 36                                                                          PONCE               PR         00731



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  333169 MIGUEL SANTANA RIOS                          REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   333170 MIGUEL SANTANA RODRIGUEZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722374 MIGUEL SANTANA VAZQUEZ                      URB SANTA CRUZ             CALLE 1 A 5                                                                          TOA ALTA            PR         00953

   722376 MIGUEL SANTANA VILLANUEVA                   VILLA PALMERAS             370 CALLE BUENA VENTURA                                                              SANTURCE            PR         00915

   722377 MIGUEL SANTIAGO GONZALEZ                    PO BOX 187                                                                                                      GURABO              PR         00778

   333172 MIGUEL SANTIAGO MELENDEZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   333175 MIGUEL SANTIAGO MONTES                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   333177 MIGUEL SANTIAGO MORALES                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722380 MIGUEL SANTIAGO NEGRON                      BO OBRERO                  648 CALLE SAN CIPRIAN                                                                SANTURCE            PR         00915
   720887 MIGUEL SANTIAGO PEREZ                       URB OLLER D 9 CALLE 3                                                                                           BAYAMON             PR         00956
   722381 MIGUEL SANTIAGO QUILES                      HC37 BOX 5012                                                                                                   GUANICA             PR         00653
   333178 MIGUEL SANTIAGO RIVERA                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   722382 MIGUEL SANTIAGO RODRIGUEZ                   URB JARD DE ARROYO         O 7 CALLE Q                                                                          ARROYO              PR         00714
   722383 MIGUEL SANTIAGO SALAZAR                     EL CONQUISTADOR            L 74 CALLE 5                                                                         TRUJILLO ALTO       PR         00976
   333181 MIGUEL SANTIAGO TORRES                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   333183 MIGUEL SANTINI VAZQUEZ                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722384 MIGUEL SANTOS ATILES                        BOX 140615                                                                                                      ARECIBO             PR         00614‐0615
   333184 MIGUEL SANTOS BELLO                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   333185 MIGUEL SANTOS GARCIA                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722386 MIGUEL SANTOS RUIZ                          37 CALLE JOSE DE DIEGO                                                                                          CIDRA               PR         00739
                                                      827 CALLE RICARDO ARROYO
   722387 MIGUEL SANTOS SANTOS                        LARRACUENT                                                                                                      DORADO              PR         00646
   333186 MIGUEL SARRIERA ROMAN                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722388 MIGUEL SASTRE WIRSHING                      URB GOLDEN GATE            E87 CALLE ZAFIRO                                                                     GUAYNABO            PR         00968
          MIGUEL SEGARRA LOPEZ DE
   722389 VICTORIA                                    URB VILLA CAPRI            571 CALLE CATANIA                                                                    SAN JUAN            PR         00924
   722390 MIGUEL SERRANO FIGUEROA                     HC 3 BOX 10502                                                                                                  COMERIO             PR         00782
   722391 MIGUEL SERRANO MARTINEZ                     P O BOX 928                                                                                                     UTUADO              PR         00641
   333189 MIGUEL SGROI MANISCALCO                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722392 MIGUEL SIERRA                               P O BOX 2354                                                                                                    CAYEY               PR         00737
   722393 MIGUEL SILVA HERNANDEZ                      URB VILLA DEL MONTE        203 CALLE MONTE FLORES                                                               TOA ALTA            PR         00953
   722394 MIGUEL SOLER FREYTES                        URB SIERRA LINDA           D 14 CALLE 1                                                                         BAYAMON             PR         00957‐2154
   333190 MIGUEL SOLER TORRES                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722395 MIGUEL SOLIVAN                              URB APONTE                 E 19 CALLE 5                                                                         CAYEY               PR         00736
   333191 MIGUEL SOSA                                 REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MIGUEL SOSA PADILLA Y/O JOSE
   333192 A FUERTES                                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   333194 MIGUEL SOSTRE RESTO                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722396 MIGUEL SOTO ALVAREZ                         P O BOX 1297                                                                                                    ARECIBO             PR         00688
   722397 MIGUEL SOTO CALDERON                        COND BOSQUE REAL APT 108                                                                                        SAN JUAN            PR         00926
   722398 MIGUEL SOTO CRUZ                            P O BOX 7639                                                                                                    SAN JUAN            PR         00916
   722399 MIGUEL SOTO LACOURT                         URB MONTE ALVERNIA         10 B VIA ALESSI                                                                      GUAYNABO            PR         00969
   722402 MIGUEL SOTO MAISONAVE                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   333195 MIGUEL SOTO MIRO                            REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   722403 MIGUEL SOTO NIEVES                          HC 03 BOX 33784                                                                                                 AGUADILLA           PR         00603
   720888 MIGUEL SOTO RAMIREZ                         PO BOX 532                                                                                                      CASTANER            PR         00631
   333197 Miguel Soto Ramos                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   333198 MIGUEL SOTO ROMAN                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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  722404 MIGUEL SOTO ROMERO                           HC 05 BOX 25295                                                                                                   CAMUY             PR         00627‐9101
  333199 MIGUEL SOTO ROSARIO                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  333200 MIGUEL SOTOLONGO REY                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  333201 MIGUEL T CRUZ ARIAS                          REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  722406 MIGUEL T SZENDREY RAMOS                      URB FLORAL PARK           122 CALLE DUARTE                                                                        SAN JUAN          PR         00917
  722408 MIGUEL TEJADA DIAZ                           HC 732 BOX 5886                                                                                                   NARANJITO         PR         00719
  722409 MIGUEL TEJADA RIVERA                         URB SAN FELIPE            I 17 CALLE 10                                                                           ARECIBO           PR         00612
         MIGUEL TEJERA DBA MIGUEL
  333202 TEJERA                                       PO BOX 194086                                                                                                     SAN JUAN          PR         00919‐4086
         MIGUEL TEJERA DBA MIGUEL
  333203 TEJERA ENTERPRI                              PO BOX 194086                                                                                                     SAN JUAN          PR         00919‐4086
  722411 MIGUEL TIRADO RODRIGUEZ                      RES BAIROA                B D 15 CALLE 25                                                                         CAGUAS            PR         00725
  722412 MIGUEL TIRADO ROSARIO                        P O BOX 22209                                                                                                     VEGA BAJA         PR         00693
  722413 MIGUEL TOLEDO MEDINA                         PO BOX 7126                                                                                                       PONCE             PR         00732
  333204 MIGUEL TOMASSINI SEGARRA                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  722414 MIGUEL TORRADO PEREZ                         HC 3 BOX 29080                                                                                                    SAN SEBASTIAN     PR         00685
  722415 MIGUEL TORRE CRUZ                            URB LA QUINTA             N 17 CALLE 12                                                                           YAUCO             PR         00698
                                                                                19 CALLE FERMINA HERNANDEZ
   722417 MIGUEL TORRES                               COMUNIDAD GONZALEZ        #1                                                                                      SAN SEBASTIAN     PR         00685
   722419 MIGUEL TORRES APONTE                        PO BOX 9021112                                                                                                    SAN JUAN          PR         00902‐1112
   722421 MIGUEL TORRES CABAN                         HC 03 BOX 8071                                                                                                    LARES             PR         00669
   722422 MIGUEL TORRES CARERA                        P O BOX 215                                                                                                       HUMACAO           PR         00791
   722423 MIGUEL TORRES COSME                         P O BOX 686                                                                                                       JAYUYA            PR         00664
   722424 MIGUEL TORRES CRESPO                        URB ISABEL LA CATOLICA    A 14 CALLE 5                                                                            AGUADA            PR         00602
   333206 MIGUEL TORRES FELICIANO                     REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333207 MIGUEL TORRES GANDULLA                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333209 MIGUEL TORRES GONZALEZ                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722425 MIGUEL TORRES HERNANDEZ                     URB INTERAMERICANA        AF 22 CALLE 31                                                                          TRUJILLO ALTO     PR         00976
   333210 MIGUEL TORRES MAISONET                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   722426 MIGUEL TORRES MALDONADO                     87 CALLE DR CUETO                                                                                                 UTUADO            PR         00641
   333211 MIGUEL TORRES MARTINEZ                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722427 MIGUEL TORRES OCASIO                        ALTURAS DE BUCARABONES    46 CALLE G‐13                                                                           TOA ALTA          PR         00953
   333212 MIGUEL TORRES OLIVERAS                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333213 MIGUEL TORRES OTERO                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722428 MIGUEL TORRES PEREZ                         HC 2 BOX 8073                                                                                                     QUEBRADILLAS      PR         00678
   722429 MIGUEL TORRES RIOS                          MONTBLANK GARDEN          EDF 5 APT 73                                                                            YAUCO             PR         00698
   722430 MIGUEL TORRES VEGA                          URB BELLA VISTA           F 17 CALLE 7                                                                            BAYAMON           PR         00957
   722431 MIGUEL TOYENS FIGUEROA                      LAS DOLORES               315 CALLE BRASIL                                                                        RIO GRANDE        PR         00745
   722432 MIGUEL TRABAL CUEVAS                        PO BOX 1348                                                                                                       Isabela           PR         00662
   722433 MIGUEL TRINIDAD FLORES                      VILLAS CRIOLLOS           C 1 CALLE CAIMITO                                                                       CAGUAS            PR         00725
   722434 MIGUEL TROCHE PAGAN                         HC 03 BOX 14472                                                                                                   YAUCO             PR         00698
   722435 MIGUEL UBINAS LAZZARINI                     PO BOX 191002                                                                                                     SAN JUAN          PR         00919‐1002
   333215 MIGUEL VADI MORALES                         REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722436 MIGUEL VALCARCEL BENITEZ                    SECTOR LOS CATALAS        H C BOX 8941                                                                            GUAYNABO          PR         00941
   722437 MIGUEL VALENCIA PRADO                       URB SUMMIT HILLS          582 CALLE COLLINS                                                                       SAN JUAN          PR         00920‐4318
   333217 MIGUEL VALENTIN VELEZ                       REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333218 MIGUEL VALERO GONZALEZ                      REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333219 MIGUEL VARGAS                               REDACTED                  REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      FAJARDO HOUSING FOR THE
   722438 MIGUEL VARGAS ALAGO                         ELDERLY                   CALLE 5 APT 1‐3                                                                         FAJARDO           PR         00738
   722440 MIGUEL VARGAS GULF                          BOX 177                                                                                                           COAMO             PR         00769
   722441 MIGUEL VARGAS RIVERA                        URB. CANA FF27 CALLE25                                                                                            BAYAMON           PR         00957‐6223



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  333220 MIGUEL VARGAS VARGAS                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  722444 MIGUEL VAZQUEZ BEGYORIS                      PO BOX 753                                                                                                     PUERTO REAL       PR         00740‐0753
  333221 MIGUEL VAZQUEZ BORRERO                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  333222 MIGUEL VAZQUEZ FELICIANO                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   722445 MIGUEL VAZQUEZ MARGARITO                    E 43 BARIADA NUEVA                                                                                             UTUADO            PR         00641
   722446 MIGUEL VAZQUEZ OCASIO                       HP ‐ SALA CCEP                                                                                                 RIO PIEDRAS       PR         009360000
   333223 MIGUEL VAZQUEZ RIVERA                       REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   722447 MIGUEL VAZQUEZ RODRIGUEZ                    HC 02 BOX 7110                                                                                                 FLORIDA           PR         00650
   333224 MIGUEL VAZQUEZ SANTIAGO                     REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722448 MIGUEL VAZQUEZ ZAYAS                        P O BOX 564                                                                                                    BARRANQUITAS      PR         00794
   722449 MIGUEL VEGA CRESPI                          HC 01 BOX 2594                                                                                                 FLORIDA           PR         00650
   333227 MIGUEL VEGA CRUZ                            REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722451 MIGUEL VEGA MELENDEZ                        URB LAS MERCEDES        35 CALLE 10                                                                            SALINAS           PR         00751
   333228 MIGUEL VEGA MORALES                         REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722453 MIGUEL VEGA ORTIZ                           HC 09 BOX 4266                                                                                                 SABANA GRANDE     PR         00637
   333229 MIGUEL VEGA OTERO                           REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722454 MIGUEL VELAZQUEZ DE JESUS                   URB VILLA TURABO        J 5 CALLE CIPRES                                                                       CAGUAS            PR         00725

   333231 MIGUEL VELAZQUEZ FELICIANO                  REDACTED                REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722455 MIGUEL VELAZQUEZ FLECHA                     PO BOX 728                                                                                                     SAN LORENZO       PR         00754
          MIGUEL VELAZQUEZ H/N/C
   333232 VELAZQUEZ AUTO                              CALLE QUISQUEYA #11                                                                                            SAN JUAN          PR         00917
   722456 MIGUEL VELAZQUEZ LOPEZ                      PO BOX 331                                                                                                     LAS PIEDRAS       PR         00771
                                                                              1652 CALLE MANUEL ZENO
   722457 MIGUEL VELAZQUEZ PACHECO                    URB MARIANI             GANDIA                                                                                 PONCE             PR         00717
   722458 MIGUEL VELAZQUEZ RIVERA                     PMB 168                 405 AVE ESMERALDA                                                                      GUAYNABO          PR         00969‐4457

   333235 MIGUEL VELAZQUEZ RODRIGUEZ REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333236 MIGUEL VELEZ CAMACHO       REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722460 MIGUEL VELEZ FELICIANO     1722 CALLE L RODRIGUEZ                                                                                                          QUEBRADILLAS      PR         00678
   722461 MIGUEL VELEZ IRIZARRY      URB RIO GRANDE EST                       FF 12 CALLE 33                                                                         RIO GRANDE        PR         00745
   722463 MIGUEL VELEZ MIRANDA       157 BDA ROSA                                                                                                                    MANATI            PR         00674
   333237 MIGUEL VELEZ RIVERA        REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722465 MIGUEL VELEZ SANTIAGO      PO BOX 9024275                                                                                                                  SAN JUAN          PR         00902‐4275
   722466 MIGUEL VENTURA MERCADO     COND LINCOLN PARK 8                      CARR 833 APT 401                                                                       GUAYNABO          PR         00969
   722467 MIGUEL VERA MORALES        P O BOX 1176                             COTTO LAUREL                                                                           PONCE             PR         00780‐1176
   333238 MIGUEL VERGARA GASCOT      REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722468 MIGUEL VILAR SANTIAGO      PO BOX 1205                                                                                                                     SAINT JUST        PR         00978
   333239 MIGUEL VILLALOBOS RIVERA   REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   722469 MIGUEL VILLANUEVA ESQUILIN                  COMUNIDAD LA DOLORES    PARCELA 95 B CALLE BRASIL                                                              RIO GRANDE        PR         00745

   722470 MIGUEL VILLANUEVA VALENCIA                  URB LOS ANGELES WO 18   CALLE CAROLINA                                                                         CAROLINA          PR         00979

   722471 MIGUEL VIZCARRONDO CARRION 28 TH 3 CALLE FLAMBOYAN                                                                                                         GUAYNABO          PR         00966
   722472 MIGUEL ZAMBRANA RIVERA     URB PARK GARDENS                         N 63 CALLE ACADIA                                                                      SAN JUAN          PR         00923
   333240 Miguel Zaragoza Santiago   REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722473 MIGUEL ZAYAS GONZALEZ      P O BOX 764                                                                                                                     OROCOVIS          PR         00720
   722474 MIGUEL ZAYAS OCASIO        URB VISTA MONTE                          E4 CALLE 3                                                                             CIDRA             PR         00739

   771178 MIGUELANGEL RIVERA POLANCO REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  722476 MIGUELASOS AUTO AIR                          P O BOX 1118                                                                                                         GUAYAMA              PR           00785

   722477 MIGUELINA ANDINO MORALES                    PMB 500                    PO BOX 2500                                                                               TOA BAJA             PR           00951
   722478 MIGUELINA CASTRO LARA                       PO BOX 360739                                                                                                        SAN JUAN             PR           00902
   333244 MIGUELINA COLON LEFEBRE                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   722479 MIGUELINA COLON NAVARRO                     URB SAN BENITO             C 25 CALLE 1                                                                              PATILLAS             PR           00723

   722480 MIGUELINA DE JESUS LOPEZ                    COND JARD DE MONTEHIEDRA   1500 AVE LOS ROMEROS APT 603                                                              SAN JUAN             PR           00926
   722482 MIGUELINA DE JESUS PEREZ                    P O BOX 495                                                                                                          SALINAS              PR           00751
          MIGUELINA DEL VALLE DEL
   722483 VALLE                                       VILLA CAROLINA             13 BLQ 17 CALLE 22                                                                        CAROLINA             PR           00985

   333245 MIGUELINA DIAZ DE BORRERO                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   722486 MIGUELINA GUZMAN GARCIA                     HC 06 BOX 4083                                                                                                       PONCE                PR           00731‐9609
   722487 MIGUELINA JIMENEZ MEDINA                    VICTOR ROJAS 2             131 CALLE 4                                                                               ARECIBO              PR           00612
   333246 MIGUELINA MASSO CRUZ                        REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   333247 MIGUELINA MELENDEZ AYBAR                    REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   722489 MIGUELINA MORALES RIVERA                    PO BOX 190253                                                                                                        SAN JUAN             PR           00919‐0253
   333248 MIGUELINA NUNEZ PETITON                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   333249 MIGUELINA OCASIO FELICIANO                  REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   333250 MIGUELINA OTERO AMADOR                      REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   333251 MIGUELINA PARRILLA RIVERA                   REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   333252 MIGUELINA PEREZ CORDERO                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   722491 MIGUELINA PROSPERE SERRANO HC 764 BOX 6426                                                                                                                       PATILLAS             PR           00723
   333253 MIGUELINA QUINONEZ CRUZ    REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   333254 MIGUELINA RAMOS CRUZ       REDACTED                                    REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   333255 MIGUELINA RAMOS CUADRADO REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   722493 MIGUELINA RIVERA TORRES  PO BOX 103                                                                                                                              VEGA BAJA            PR           00694
          MIGUELINA RODRIGUEZ
   333256 ALVARADO                 REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   722495 MIGUELINA RODRIGUEZ CUCHI                   HC 2 BOX 17171                                                                                                       ARECIBO              PR           00612
   333258 MIGUELINA ROSADO OSORIO                     REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   722496 MIGUELINA TORRES ROMAN                      HC 2 BOX 13773                                                                                                       ARECIBO              PR           00612

   333259 MIGUELINA VALENZUELA MEJIAS REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   722497 MIGUELINA VARGAS SOTO       HC 01 BOX 13171                                                                                                                      CABO ROJO            PR           00623
   333260 MIGUELINA VINALES           REDACTED                                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   333262 MIGUELINA Z. CARELA GARCIA                  REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED
   722498 MIGUELINO ALMONTE BRITO                     URB MANS DE RIO PIEDRAS    1787 ASTROMELIA                                                                           SAN JUAN             PR           00926
   722499 MIGUELITO AUTO AIR                          C‐12 P. 61 BELLA VISTA                                                                                               BAYAMON              PR           00957
   722500 MIGUELITO SCREEN                            BOX 127                                                                                                              VIEQUES              PR           00765

   333266 MIGUEZ BALSEIRO MD, RAFAEL                  REDACTED                   REDACTED                       REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED       REDACTED

   333270 MIGUEZ LAW OFFICES                          COND CARIBBEAN TOWERS      670 AVE PONCE DE LEON STE 17                                                              SAN JUAN             PR           00907
   722502 MIGUIRY VIDAL COTTO                         9 CALLE RUIZ                                                                                                         CAGUAS               PR           00725
   722504 MIHEYDI VAZQUEZ MONTIJO                     PMB 157                    PO BOX 7105                                                                               PONCE                PR           00732‐7105



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  722505 MII PUBLICATIONS INC                          P O BOX 34504                                                                                                        WASHINGTON        DC           20005‐2112
         MIIRIAM A. MARQUEZ
  333275 MONTERO                                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   333276 MIIRIAM MARQUEZ MONTERO                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   333277 MIKAEL ESPADA ORTIZ                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   333278 MIKAL DE LA MATA CRUZ                        REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   722507 MIKE & BROTHER LEATHERS CO                   PO BOX 2029                                                                                                          AIBONITO          PR           00705
   722508 MIKE AUTO AIR                                1304 CALLE LAS PALMAS                                                                                                SAN JUAN          PR           00907
   722509 MIKE B MARTINEZ RAMIREZ                      CARR 3101 KM 0 9                                                                                                     LAJAS             PR           00667
   722510 MIKE BUMPER REPAIR                           HC 4 BOX 8166                                                                                                        JUANA DIAZ        PR           00795
   333282 MIKE CANDEARIA MIRANDA                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   333283 MIKE CANDELARIA MIRANDA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MIKE CLAUDIO CATERING                                                    493 AVE BETANCES URB HNAS
   722511 SERVICE.                                     HNAS DAVILA                 DAVILA                                                                                   BAYAMON           PR           00959
   333284 MIKE CRUZ CARRASQUILLO                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
          MIKE EUGENIDES PETERS/CHRIS
   333285 BRYANT                                       REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   722513 MIKE G ALBALADEJO RIVERA                     URB LAS COLINAS             L 46 CALLE 9                                                                             TOA BAJA          PR           00949
   722514 MIKE LOPEZ BOLIK                             HC 01 BOX 2015                                                                                                       MOROVIS           PR           00687
   722515 MIKE MELENDEZ                                PO BOX 10141                                                                                                         SAN JUAN          PR           00908
   722516 MIKE PEREZ RIVERA                            COND NEW SAN JUAN           6471 AVE ISLA VERDE APT 608                                                              CAROLINA          PR           00979
          MIKE PIZARRO MAINTENANCE
   722517 INC                                          BAYAMON GARDENS STATION     P O BOX 3803                                                                             BAYAMON           PR           00958
                                                       2545 HILLIARD ROME RD
   722518 MIKE POWERS                                  HILLIARD                                                                                                             OHIO              OH           43026‐9471
   722519 MIKE RAMOS CRESPO                            PO BOX 5911                                                                                                          CAGUAS            PR           00726
   333286 MIKE S NIEVES COLON                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   722520 MIKE SERV. STATION                           AVE. NOEL ESTRADA 261                                                                                                ISABELA           PR           00662
   333287 MIKE SOSA MOLINA                             REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   333288 MIKE TORRES LAUREANO                         REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   333293 MIKE VALENTINE CRUZ                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   333294 MIKE VELEZ QUINTANA                          REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   722521 MIKE Y CORDERO MORALES                       103 CALLE LOURDES SALLABERRY                                                                                         MAYAGUEZ          PR           00680
   333295 MIKE YAMIN TODD                              REDACTED                     REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   333296 MIKEEBEL FIGUEROA DE JESUS                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   333297 MIKEL JUAN EGUIA MOREDA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   333300 MIKELYNE ECHEVARRIA DECLET                   REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   722522 MIKES PAINT SHOP                             PO BOX 667                                                                                                           CANOVANAS         PR           00729
   333301 MIKHAEL V VAZQUEZ VIERA                      REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED

   722526 MIKHAIL RODRIGUEZ SANTIAGO                   BO RIO JUEYES               CARR 154 KM 3 0                                                                          COAMO             PR           00769
   333302 MIKI TOMIZAWA                                REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   333303 MIKKAL & ASSOCIATES INC                      URB JARDINES DEL CARIBE     EE 38 CALLE 30                                                                           GUAYANILLA        PR           00656
   333306 MILADI RIJOS ROSA                            REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   722527 MILADIS CAMACHO OTERO                        URB SANTA ANA               I 24 CALLE DIAMANTE                                                                      VEGA ALTA         PR           00692
   333307 MILADIS COSTOSO DE JESUS                     REDACTED                    REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED     REDACTED       REDACTED
   722528 MILADIS JIMENEZ SEGARRA                      1921 AVE EMERITO ESTRADA                                                                                             SAN SEBASTIAN     PR           00685
   722529 MILADY                                       PO BOX 9024275                                                                                                       SAN JUAN          PR           00902‐4275



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  722531 MILADY ALVAREZ TOLEDO                        PO BOX 33‐6447                                                                                                 PONCE             PR         00731
  333308 MILADY CAQUIAS MARTINEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  722532 MILADY CINTRON GUTIERREZ                     URB VALLE ALTO               1611 CALLE CIMA                                                                   PONCE             PR         00730‐3145
  722534 MILADY COLON BOCACHICA                       P O BOX 1530                                                                                                   VILLALBA          PR         00766
  722535 MILADY COSME OLMEDA                          HC 1 BOX 4826                                                                                                  NAGUABO           PR         00718‐9726
  722536 MILADY COTTO FIGUEROA                        HC 6 BOX 4477                                                                                                  COTTO LAUREL      PR         00780
  333309 MILADY DEL RIO                               REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  333310 MILADY DIAZ VAZQUEZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  333311 MILADY FIGUEROA ESPINO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  722537 MILADY IRIZARRY VAZQUEZ                      HC 04 BOX 11926                                                                                                YAUCO             PR         00698
  722530 MILADY RIVERA CARTAGENA                      HC 3 BOX 8063                                                                                                  BARRANQUITAS      PR         00794
  333312 MILADY ROSARIO NAZARIO                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  722539 MILADY VAZQUEZ ROSARIO                       HC 10 BOX 8148                                                                                                 SABANA GRANDE     PR         00637
         MILADY VELAZQUEZ
  722540 MALDONADO                                    HC 02 BOX 5656                                                                                                 ARECIBO           PR         00616
  333313 MILADYS ALVELO CAQUIAS                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  722541 MILADYS BENITES TORRES                       CALLE CARBONEL APTO 2        ESQ FRANCO ALTOS                                                                  CABO ROJO         PR         00623
  333314 MILADYS CORTES ZAMORA                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   333315 MILADYS MARTINEZ MARTINEZ                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722542 MILADYS N FUENTES ORTIZ                     PO BOX 1179                                                                                                    OROCOVIS          PR         00720‐1179
                                                      1201 CHALETS DE SAN
   722543 MILADYS N RIVERA OLIVERAS                   FERNANDO                                                                                                       CAROLINA          PR         00987
                                                      COND LOS ALMENDROS PLAZA
   722544 MILADYS NILS MEDRANO                        DOS                          308 CALLE EIDER                                                                   SAN JUAN          PR         00924
   333317 MILADYS ORTIZ NEGRON                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333318 MILADYS RAMIREZ                             REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722546 MILADYS SANTIAGO VARGAS                     BO SUSUA BAJA                93 CALLE AZUCENA                                                                  SABANA GRANDE     PR         00636

   722547 MILADYS VELAZQUEZ FELICIANO PO BOX 560716                                                                                                                  GUAYANILLA        PR         00656‐3716
          MILAGRITO QUINONES
   333320 CORPORAN                    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MILAGRITOS DOMINGUEZ DE
   333321 JESUS                       REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   722548 MILAGRO CARABALLO CASTRO                    LOS ROSALES                  EDIF 4 APT 29                                                                     TRUJILLO ALTO     PR         00976
   333322 MILAGRO FRASQUERI PINERO                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722549 MILAGRO L GARCIA                            PO BOX 21365                                                                                                   SAN JUAN          PR         00926‐1365
   722550 MILAGRO MARRERO ROSADO                      1380 BO LA PLANTA                                                                                              ARECIBO           PR         00613
   722551 MILAGRO MOJICA LAMURT                       BO ANONES                    HC 01 BOX 3344                                                                    LAS MARIAS        PR         00670

   722552 MILAGRO RODRIGUEZ JIMENEZ                   BZN 5 209 A                                                                                                    ISABELA           PR         00662
   333323 MILAGRO ROSARIO IRIZARRY                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   722553 MILAGRO SANCHEZ IZQUIERDO                   FACTOR 1                     BUZON 73 CALLE B                                                                  ARECIBO           PR         00612

   333324 MILAGROS A BAUZA HERNANDEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   333325 MILAGROS A COHEN D GRACIA                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   722559 MILAGROS A ROMAN MOJICA                     PO BOX 7702 PUEBLO STATION                                                                                     CAROLINA          PR         00986‐7702
   722560 MILAGROS ACEVEDO COLON                      JARDINES DE CERRO GORDO      C 13 CALLE 4                                                                      SAN LORENZO       PR         00754
   722563 MILAGROS ACOSTA CASTILLO                    PO BOX 307                                                                                                     YAUCO             PR         00698



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  333326 MILAGROS ADORNO MERCED                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  333327 MILAGROS AGOSTO MOLINA                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  722564 MILAGROS AGRAIT ZAPATA                       HOCONUCO ALTO            CARR 361 KM 6 3                                                                         SAN GERMAN        PR         00683
                                                      URB SAN JOSE 326 CALLE
   722565 MILAGROS AGUILA SAAVEDRA                    BORGONA                                                                                                          SAN JUAN          PR         00923
   722566 MILAGROS AGUIRRE ORTIZ                      VENUS GARDENS            714 ASTER                                                                               SAN JUAN          PR         00926

   333328 MILAGROS ALEJANDRO RIVERA                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333330 MILAGROS ALICEA CRUZ                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333331 MILAGROS ALONSO LABATUT                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   722568 MILAGROS ALVAREZ BRACERO                    BO DULCES LABIOS         68 CALLE JESUS ESTEVES                                                                  MAYAGUEZ          PR         00681
   722569 MILAGROS ALVAREZ JUAN                       BO LLANADAS BOX 4‐156                                                                                            ISABELA           PR         00662
   722570 MILAGROS ALVAREZ TORRES                     PO BOX 14427             BO OBRERO                                                                               SAN JUAN          PR         00916‐4427
   722571 MILAGROS ALVERIO                            HC 06 BOX 71012                                                                                                  CAGUAS            PR         00725‐9507
          MILAGROS AMALIS VILLEGAS
   333332 RIVERA                                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MILAGROS AMEZQUITA
   722572 VELAZQUEZ                                   SANTA ROSA               25‐3 CALLE 15                                                                           BAYAMON           PR         00659
          MILAGROS ANDRADES
   333333 SANTIAGO                                    REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MILAGROS ANDUJAR / D/B/A MI
   722575 MAR PRODUCTS                                S 3‐2 PARANA                                                                                                     SAN JUAN          PR         00926
   722554 MILAGROS APONTE RIVERA                      URB. VILLA CAROLINA      216‐10 CALLE 505                                                                        CAROLINA          PR         00979
   333334 MILAGROS APONTE ROIG                        REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333335 MILAGROS APONTE SANTOS                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333336 MILAGROS APONTE TORRES                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722577 MILAGROS ARRIETA DIAZ                       RIVERSIDE PARK           F 24 CALLE 7                                                                            BAYAMON           PR         00961

   333337 MILAGROS ARROYO GUADALUPE REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333338 MILAGROS ARROYO LOPEZ     REDACTED                                   REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722578 MILAGROS ARROYO NEGRON    CALLE 1 FERROCARRIL                        OFICINA 1                                                                               SAN GERMAN        PR         00683
   722581 MILAGROS AYALA COLON      P O BOX 31216                                                                                                                      SAN JUAN          PR         00929‐2216

   722583 MILAGROS BAEZ RIVERA                        URB IDAMARIS GARDEN      H 7 CALLE WILLIAM SANTIAGO                                                              CAGUAS            PR         00725
   722584 MILAGROS BAEZ ROMERO                        HC 20 BOX 27901                                                                                                  SAN LORENZO       PR         00754

   722585 MILAGROS BALAGUER MARTELL                   URB FRATERNIDAD          125 CALLE MEJICO                                                                        MAYAGUEZ          PR         00682
   722587 MILAGROS BARRETO CRUZ                       URB TERESITA             AW 26 CALLE 52                                                                          BAYAMON           PR         00961
   722588 MILAGROS BARRIOS ALVAREZ                    URB LAGOS DE PLATA       M 16 CALLE 12                                                                           TOA BAJA          PR         00949
   722589 MILAGROS BBQ                                BO CUPEY ALTO            RR 9 BOX 1674                                                                           SAN JUAN          PR         00926
   722590 MILAGROS BEAUTY SUPPLY                      25 VICTORIA MATERO                                                                                               SALINAS           PR         00751
   722591 MILAGROS BELLO VEGA                         BO MAGUEYES              99 A CALLE TOPACIO                                                                      PONCE             PR         00731

   722592 MILAGROS BELTRAN SANTIAGO                   P O BOX 365                                                                                                      SALINAS           PR         00751
   333339 MILAGROS BENIQUEZ RAMOS                     REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333340 MILAGROS BLANCO RIVERA                      REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722594 MILAGROS BONILLA                            AVE LAS PALMAS                                                                                                   SAN JUAN          PR         00907
   722595 MILAGROS BORRERO                            QUINTAS DE DORADO        J 28 CALLE 10                                                                           DORADO            PR         00640

   333341 MILAGROS BOTLER RODRIGUEZ                   REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333342 MILAGROS BRITO TIRADO                       REDACTED                 REDACTED                     REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722598 MILAGROS BURGOS                             VILLA NEVAREZ            313 CALLE 20                                                                            SAN JUAN          PR         00927



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   722599 MILAGROS C ALVAREZ RENTAS                   O2 URB ESTANCIAS DE YAUCO                                                                                     YAUCO                PR           00698
   722600 MILAGROS C RIVERA LEBRON                    JARD DE RIO GRANDE          BN 471 CALLE 72                                                                   RIO GRANDE           PR           00745

   333343 MILAGROS C RODRIGUEZ NUNEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   722601 MILAGROS C. SAEZ VEGA      PASEO REAL                                   133 CALLE IMPERIO                                                                 COAMO                PR           00769‐9817
   333344 MILAGROS CALDERON OYOLA    REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   722602 MILAGROS CALIXTO CAMACHO                    APARTADO 538                                                                                                  PATILLAS             PR           00723
   333345 MILAGROS CAMACHO AYALA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   722603 MILAGROS CAMACHO RIVERA                     BO PALO SECO                BOX 602                                                                           MAUNABO              PR           00707
   333346 MILAGROS CANALES IBANEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   333347 MILAGROS CANDELARIA MEDINA REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   333348 MILAGROS CANDELARIA RAMOS                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   722605 MILAGROS CANO SANCHEZ                       URB SAN DEMETRIO            271 CALLE PICUA                                                                   VEGA BAJA            PR           00693
          MILAGROS CARABALLO
   333349 CARRILLO                                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MILAGROS CARABALLO
   333350 RODRIGUEZ                                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   333351 MILAGROS CARABALLO TORRES                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   722609 MILAGROS CARBONELL GARCIA                   URB LA MARGARITA            2 27 APTO 1015                                                                    SALINAS              PR           00751

   722610 MILAGROS CARDONA MEDINA                     BO AIBONITO GUERRERO        HC 1 BOX 9667                                                                     SAN SEBASTIAN        PR           00685
          MILAGROS CARMENATTY
   722611 VARGAS                                      HC 5 BOX 54043                                                                                                MAYAGUEZ             PR           00680

   333352 MILAGROS CARRERO CARDONA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   722612 MILAGROS CARRERO GONZALEZ HC 01 BOX 7364                                                                                                                  LAJAS                PR           00667
          MILAGROS CARRERO Y MAYRA J
   333353 RODRIGUEZ                  REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   722613 MILAGROS CASIANO MATIAS    BDA NADAL                                    67 A CALLE 2                                                                      MAYAGUEZ             PR           00680

   722614 MILAGROS CASTILLO RODRIGUEZ LOS ROSALES                                 EDIF 4 APT 35                                                                     TRUJILLO ALTO        PR           00976

   333354 MILAGROS CASTRO CARTAGENA REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   722615 MILAGROS CASTRO DE JESUS  P O BOX 7428                                                                                                                    SAN JUAN             PR           00916

   722616 MILAGROS CASTRO ROMAN                       SEGUNDA EXT COUNTRY CLUB    790 CALLE LEDRA                                                                   SAN JUAN             PR           00621
   722617 MILAGROS CASTRO SANTA                       HC 03 BOX 13360                                                                                               UTUADO               PR           00641

   722618 MILAGROS CESAREO MAYSONET                   PO BOX 408                                                                                                    SABANA SECA          PR           00952
   722619 MILAGROS CINTRON                            PO BOX 6306                                                                                                   PONCE                PR           00733
   722620 MILAGROS CISNEROS CRUZ                      BO SAN ANTON                CARR 3 R 887 K 2 H 4                                                              CAROLINA             PR           00985
   333356 MILAGROS COLL MARTINEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   722621 MILAGROS COLLAZO CONCHA                     VILLA FONTANA               VIA 21 QL8                                                                        CAROLINA             PR           00983
   722624 MILAGROS COLON                              URB LAS MONJITAS            430 CALLE CAPELLAN                                                                PONCE                PR           00730‐3913
   722626 MILAGROS COLON LEDESMA                      MIRADERO GARDEN             CARR 108 BOX 720                                                                  MAYAGUEZ             PR           00680
   333357 MILAGROS COLON LOPEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED



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  333358 MILAGROS COLON MATOS                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  333359 MILAGROS COLON ORTIZ                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  333360 MILAGROS COLON PEREZ                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  722627 MILAGROS COLON PLATA                         URB LAS MONJITAS        430 CALLE CAPELLAN                                                                  PONCE               PR         00730‐3913
         MILAGROS CONCEPCION
  722628 MARTINEZ                                     H C 2 BOX 13998                                                                                             MOCA                PR         00676
         MILAGROS CONCEPCION
  333361 MORALES                                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MILAGROS CORDERO
  722629 RODRIGUEZ                                    8 RES VEVE CALZADA                                                                                          FAJARDO             PR         00738
         MILAGROS CORPORAN
  333362 QUINONES                                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  722631 MILAGROS CORREA BONILLA                      BO LA QUINTA            252 CALLE BALBOA APT 4                                                              MAYAGUEZ            PR         00680
  722632 MILAGROS COSS DIAZ                           HC 2 BOX 7543                                                                                               CAMUY               PR         00627
  333363 MILAGROS COTTO ZAVALA                        REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MILAGROS CRUZ /MARIA
  333364 COLLAZO/ DAISY CRUZ                          REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MILAGROS CRUZ /MEDICAL
  333365 TRANSP.AMB. INC.                             REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  722635 MILAGROS CRUZ ALVAREZ                        VILLA PALMERAS          16 CALLE UNION                                                                      SAN JUAN            PR         00915
  333366 MILAGROS CRUZ HERNANDEZ                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  333367 MILAGROS CRUZ ORTIZ                          REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  722637 MILAGROS CRUZ SANTIAGO                       URB VILLA DE LOIZA      F 2 CALLE 3                                                                         CANOVANAS           PR         00729
  333368 MILAGROS CUEVAS TORRES                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   722640 MILAGROS D MADERA CUEVAS                    URB PERLA DEL SUR       2506 CALLE COMPARSA                                                                 PONCE               PR         00717‐0424
   722642 MILAGROS DAVILA LOPEZ                       PARCELAS LAS DOLORES    231 CALLE COLOMBIA                                                                  RIO GRANDE          PR         00745
   333370 MILAGROS DAVILA SANTANA                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MILAGROS DAVILA Y RAFAEL
   333371 NARVAEZ                                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   722643 MILAGROS DE DIOS CRUZ RIVERA HC 2 BOX 8701                                                                                                              CIALES              PR         00638

   722644 MILAGROS DE JESUS ESTREMERA PARCELAS CHIVA                          1979 CALLE 1                                                                        QUEBRADILLAS        PR         00678
   722645 MILAGROS DE JESUS FUENTES   P OBOX 3590                                                                                                                 LOIZA               PR         00772
   722646 MILAGROS DE JESUS LA LUZ    PO BOX 21635                                                                                                                SAN JUAN            PR         00928
   722647 MILAGROS DE JESUS RIVERA    VILLAS DE LOIZA                         N 4 CALLE 6                                                                         CANOVANAS           PR         00729

   333375 MILAGROS DE L JIMENEZ VEGA                  REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MILAGROS DE LA CRUZ DEL
   722648 ROSARIO                                     211A LEWIS AVE APT 2A                                                                                       BROOKLYN            NY         11221

   722649 MILAGROS DE LA ROSA CASTILLO URB VILLA FONTANA                      VIA 60 AS CALLE 7                                                                   CAROLINA            PR         00983

   333376 MILAGROS DE LEON BORRERO                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   333377 MILAGROS DE LEON FLECHA                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MILAGROS DE LOS A MIRANDA
   722651 MORALES                                     P O BOX 122                                                                                                 CAYEY               PR         00737
   722652 MILAGROS DEITER TORRES                      HC 04 BOX 15833                                                                                             HUMACAO             PR         00791
          MILAGROS DEL C ADORNO
   722653 RIVERA                                      URB VILLA NEVAREZ       1025 CALLE 8                                                                        SAN JUAN            PR         00927
          MILAGROS DEL C GARCIA
   333379 PERFECTO                                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED



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          MILAGROS DEL C MELENDEZ
   333380 GONZALEZ                                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722654 MILAGROS DEL C PEREZ                        RES ARBOLEDA           EDIF 8 APT 28                                                                     MAYAGUEZ            PR           00680

   722655 MILAGROS DEL CARMEN LOPEZ                   BOX 195055                                                                                               SAN JUAN            PR           00919‐5055
          Milagros Del Carmen Melendez
   333381 Saez                                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333382 MILAGROS DEL CARMEN RUIZ                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILAGROS DEL R RIVERA / J‐ C‐
   333383 AMBIENTAL                                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722657 MILAGROS DELGADO RIVERA                     URB VALENCIA I         40 CALLE MARIO PEREZ                                                              JUNCOS              PR           00777
   333386 MILAGROS DIAZ BAUTISTA                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333388 MILAGROS DIAZ FIGUEROA                      REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722659 MILAGROS DIAZ RIVERA                        P O BOX 1041                                                                                             CAROLINA            PR           00986
   722660 MILAGROS DIAZ RODRIGUEZ                     PO BOX 363663                                                                                            SAN JUAN            PR           00936‐3663
   722555 MILAGROS DIAZ SANTIAGO                      URB APRIL GARDENS      2 C 13 CALLE 21                                                                   LAS PIEDRAS         PR           00771
   333389 MILAGROS DIAZ VILLANUEVA                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333390 MILAGROS DOHNERT                            REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   722662 MILAGROS E CALDERON ORTIZ                   URB LOMAS VERDES       K8 CALLE COLOMBINA                                                                BAYAMON             PR           00956‐3208

   333391 MILAGROS E GONZALEZ ARROYO REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722663 MILAGROS E JIMENEZ VELEZ   EXT LAS CASAS                           EDIF 28 APT 426                                                                   SAN JUAN            PR           00915
          MILAGROS E NEGRON / NAHEM
   333392 NAIMEY                     REDACTED                                REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   722665 MILAGROS E TORRES BENEJAM                   RES JOSE DE DIEGO      EDIF 4 APT 42                                                                     AGUADILLA           PR           00603
          MILAGROS E. SCHETTINI DE
   333394 JESUS                                       REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILAGROS ECHEVARRIA
   333395 RODRIGUEZ                                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILAGROS EMILCE VARGAS
   333396 FELICIANO                                   REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILAGROS ENCARNACION
   722666 DELGADO                                     HC 2 BOX 3947                                                                                            LUQUILLO            PR           00773
   722667 MILAGROS FALU PIZARRO                       PO BOX 331                                                                                               TOA BAJA            PR           00951

   722669 MILAGROS FELICIANO ESPINOSA PO BOX 21414                                                                                                             SAN JUAN            PR           00928‐1414
   333399 MILAGROS FERNANDEZ          REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILAGROS FERNANDEZ
   333400 CALIMANO                    REDACTED                               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   333401 MILAGROS FERNANDEZ PAGAN                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722671 MILAGROS FIGUEROA                           EL MIRADOR             EDF 5 APT P 2                                                                     SAN JUAN            PR           00915

   333402 MILAGROS FIGUEROA ADORNO                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333403 MILAGROS FIGUEROA PEREZ                     REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333404 MILAGROS FIGUEROA RIVERA                    REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722675 MILAGROS FIGUEROA TORRES                    HC 1 BOX 7806                                                                                            GUAYANILLA          PR           00656
   722677 MILAGROS FIGUEROA VELEZ                     74 REPTO ARENALES                                                                                        LAS PIEDRAS         PR           00771
   333405 MILAGROS FLORES VEGA                        REDACTED               REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   333406 MILAGROS FONSECA MARTINEZ REDACTED                                 REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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   333407 MILAGROS FONSECA SANCHEZ                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   722679 MILAGROS FONTANEZ GARCIA                    BOX 1928                                                                                                            CAGUAS               PR           00726
   722680 MILAGROS FOURNIER RAMOS                     P O BOX 270355                                                                                                      SAN JUAN             PR           00927

   722681 MILAGROS FRAGOSO CORREA                     URB QUINTAS DE CANOVANAS    425 CALLE 4                                                                             CANOVANAS            PR           00729
   333408 MILAGROS FRANCO                             REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   333409 MILAGROS FRANCO CRUZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
                                                                                  361 CALLE DEL PARQUE SUITE
   722682 MILAGROS G GARCIA DIAZ                      COND MAGDALENA TOWERS       207                                                                                     SAN JUAN             PR           00912

   722683 MILAGROS G LOPEZ CAMPOS                     B3 COND PONTEZUELA APT D1                                                                                           CAROLINA             PR           00983

   333410 MILAGROS GARCIA ALVARADO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   333411 MILAGROS GARCIA DELGADO                     REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   333412 MILAGROS GARCIA RUIZ                        REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   722684 MILAGROS GARCIA SANTIAGO                    STA ELVIRA                  32 CALLE SANTA LUCIA                                                                    CAGUAS               PR           00725
          MILAGROS GARCIA/ FELIX A
   333413 LOPEZ                                       REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   722685 MILAGROS GARRIGA                            URB HAYDE PARK              175 JOSE PADIN                                                                          SAN JUAN             PR           00918
   722686 MILAGROS GASTON COLON                       URB SAN MARTIN              F 33 CALLE 4                                                                            JUANA DIAZ           PR           00795

   722687 MILAGROS GERALDINO MARTIN                   URB TORRIMAR                8‐28 PASEO ALHAMBRA                                                                     GUAYNABO             PR           00966
   333414 MILAGROS GOMEZ MERCADO                      REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   722689 MILAGROS GONZALEZ                           CASA DE LAS TELAS           66 CALLE BARCELO                                                                        BARRANQUITAS         PR           00794
          MILAGROS GONZALEZ
   722692 ANDRADES                                    BO CACAO                    HC 02 BOX 15409                                                                         CAROLINA             PR           00985

   333415 MILAGROS GONZALEZ ARROYO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   333416 MILAGROS GONZALEZ MARTINEZ REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MILAGROS GONZALEZ
   333417 RODRIGUEZ                  REDACTED                                     REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   722697 MILAGROS GONZALEZ SOTO     HC 1 BOX 4280                                                                                                                        LARES                PR           00669

   333418 MILAGROS GONZALEZ TOLEDO                    REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MILAGROS GONZALEZ
   333419 TOLENTINO                                   REDACTED                    REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   333420 MILAGROS GONZALEZ VAZQUEZ REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   722700 MILAGROS GUADALUPE ORTIZ                    VILLA DEL SOL               5 EDIF 3 APT B 2                                                                        TRUJILLO ALTO        PR           00976
   722701 MILAGROS GUZMAN                             RES LAS MARGARITAS          EDIF 18 APT 179                                                                         SAN JUAN             PR           00915
   722702 MILAGROS GUZMAN JUAN                        APARTADO 572                BO CACAO                                                                                QUEBRADILLAS         PR           00678
   722704 MILAGROS HENRY                              680 AVE TERESA JOURNET                                                                                              MAYAGUEZ             PR           00680

   722705 MILAGROS HERDENSON LOZADA URBCAPARRA TERRACE                            18 SE CALLE 18                                                                          SAN JUAN             PR           00921
   333423 MILAGROS HERNANDEZ        REDACTED                                      REDACTED                     REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   722706 MILAGROS HERNANDEZ GOVEO                    URB LOS DOMINICOS           A 9 CALLE SAN MATEO                                                                     BAYAMON              PR           00957
          MILAGROS HERNANDEZ
   722707 RODRIGUEZ                                   HC 91 BUZON 9141                                                                                                    VEGA ALTA            PR           00692



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   722708 MILAGROS HERNANDEZ VARGAS PO BOX 1736                                                                                                                               MOCA                PR         00676
   333424 MILAGROS HIDALGO JIMENEZ  REDACTED                                        REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   722709 MILAGROS HIRALDO SANTIAGO                   RES FELIPES OSORIO            EDIF 9 APT 41                                                                             CAROLINA            PR         00985
   722711 MILAGROS I AGUILAR CASTRO                   BO NARANJITO                  HC 04 BOX 47103                                                                           HATILLO             PR         00659
   333425 MILAGROS I BURGOS                           REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   333426 MILAGROS I GARCIA ROMERO                    REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   333427 MILAGROS I MUNIZ ORTIZ                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   722713 MILAGROS I PIETRI MARRERO                   URB ALT DE FLAMBOYAN          C 2 HH 3 APTO 4                                                                           BAYAMON             PR         00959

   333428 MILAGROS IRIZARRY MARTINEZ                  REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   333429 MILAGROS ITURRONDO BAEZ                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   333431 MILAGROS J RODRIGUEZ CORREA REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   722717 MILAGROS J URBINA CORREA    COND QUINTANA                                 TORRE A APTO 707                                                                          SAN JUAN            PR         00917
   333432 MILAGROS JIMENEZ MEDINA     REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   722718 MILAGROS JIMENEZ RODRIGUEZ                  PO BOX 348362                                                                                                           CORAL GABLES        FL         33234
   333433 MILAGROS JIMENEZ ROSARIO                    REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   333434 MILAGROS JOSE CORDERO                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   333435 MILAGROS KEPPIS PEREZ                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   722720 MILAGROS L LUGO CONZALEZ                    URB CATALANA                  8 CALLE 1                                                                                 BARCELONETA         PR         00617

   333436 MILAGROS L PEREZ GARAYALDE                  REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   333437 MILAGROS L. RESTO HERNANDEZ REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   333439 MILAGROS LANDING MIRANDA                    REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   333440 MILAGROS LASSUS MILLAN                      REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   333441 MILAGROS LAUREANO GERENA                    REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED

   722723 MILAGROS LEBRON LEBRON                      URB JARD DE CAGUAS            C B 34 CALLE CARLOS J LOZADA                                                              CAGUAS              PR         00727
   722725 MILAGROS LEON ORTIZ                         BZN 2262                                                                                                                CIDRA               PR         00739
   333442 MILAGROS LIRANZO ALONSO                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   722726 MILAGROS LLANOS CASADO                      JARDINES DE RIO GRANDE        CALLE 58 BL 640                                                                           RIO GRANDE          PR         00745

   722728 MILAGROS LOPEZ CARMONA                      SEC. ALMIRANTE BUZON 2285‐1                                                                                             CIDRA               PR         00739
   722729 MILAGROS LOPEZ ORTIZ                        P O BOX 138                                                                                                             GUANICA             PR         00653
   333444 MILAGROS LOPEZ RAMOS                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   722730 MILAGROS LOPEZ RIVERA                       HC 4 BOX 14170                                                                                                          SAN SEBASTIAN       PR         00685
   333445 MILAGROS LOPEZ RONDON                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   333446 MILAGROS LOPEZ ROSADO                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   722731 MILAGROS LUCIANO COLON                      URB VALENCIA                  365 CALLE BADAJOZ                                                                         SAN JUAN            PR         00923
   333448 MILAGROS LUGO                               REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   333449 MILAGROS LUNA NUNEZ                         REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
          MILAGROS M GONZALEZ
   333450 QUINTERO                                    REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED
   722734 MILAGROS M LOPEZ CRUZ                       PO BOX 792                                                                                                              QUEBRADILLAS        PR         00678
          MILAGROS M MENDIZABAL
   722735 GARCIA                                      CARR 341 BOX 5570 MANI                                                                                                  MAYAGUEZ            PR         00680
   333452 MILAGROS M TROCHE OTERO                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED      REDACTED



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          MILAGROS M VILLAFANE
   333453 FELICIANO                                   REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILAGROS M. ESCALERA
   333454 GONZALEZ                                    REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722737 MILAGROS MALDONADO                          HC 01 BOX 5017                                                                                                 BARCELONETA         PR           00617
          MILAGROS MALDONADO
   333455 ALVAREZ                                     REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILAGROS MALDONADO
   722739 GUZMAN                                      PO BOX 51271                                                                                                   TOA BAJA            PR           00950

   722740 MILAGROS MALDONADO PEREZ 232 AVE ELEONOR ROOSEVELT                                                                                                         SAN JUAN            PR           00907

   333456 MILAGROS MALDONADO RIVERA REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722743 MILAGROS MARCANO BAEZ     PO BOX 363091                                                                                                                    SAN JUAN            PR           00936

   722745 MILAGROS MARFISI MARTINEZ                   URB LOS CAOBOS              1673 CALLE GUAYACAN                                                                PONCE               PR           00731
   333457 MILAGROS MARRERO DIAZ                       REDACTED                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   333458 MILAGROS MARRERO MORALES REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333459 Milagros Marrero Zayas   REDACTED                                       REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   722746 MILAGROS MARTINEZ ALONSO                    URB STA MARIA               G 28 CALLE 7                                                                       SAN GERMAN          PR           00683

   722747 MILAGROS MARTINEZ CARRANZA URB ROOSEVELT                                262 ELEONOR ROOSEVELT                                                              SAN JUAN            PR           00918

   333460 MILAGROS MARTINEZ DEL VALLE REDACTED                                    REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722748 MILAGROS MARTINEZ GARCIA    VILLA ANGELICA                              188 CALLE 6                                                                        LUQUILLO            PR           00773
                                      MSC 833 #138 AVE. WINSTON
   722749 MILAGROS MARTINEZ MERCADO CHURCHILL                                                                                                                        SAN JUAN            PR           00926‐6023
                                      HP ‐ SUPERVISION DE
   722751 MILAGROS MARTINEZ MORALES ENFERMERIA                                                                                                                       RIO PIEDRAS         PR           009360000

   333461 MILAGROS MARTINEZ PACHECO REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722752 MILAGROS MARTINEZ RIVERA  HC 01 BOX 30011                                                                                                                  JUANA DIAZ          PR           00795

   722753 MILAGROS MARTINEZ ROMAN                     133 GLEASON CONE                                                                                               SANFORD             FL           32773
                                                      URB MANSIONES DE ESPANA F
   722755 MILAGROS MARTINEZ SANCHEZ                   13                          CALLE AZORIN                                                                       MAYAGUEZ            PR           00680‐7755

   333462 MILAGROS MARTORELL AGOSTO REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILAGROS MARTORELL
   333463 MARTINEZ                  REDACTED                                      REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   333464 MILAGROS MATOS ALVARADO    REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILAGROS MATOS DBA ROSARIO
   333466 TRANSPORT                  PO BOX 1704                                                                                                                     AIBONITO            PR           00705
          MILAGROS MATOS DE
   333467 HILVERSUM                  REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILAGROS MATOS/DBA
   333468 ROSARIO TRANSPORT SER      PO BOX 1704                                                                                                                     AIBONITO            PR           00705
   333469 MILAGROS MEDINA            REDACTED                                     REDACTED                REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   722758 MILAGROS MEDINA CARDONA                     PO BOX 390                                                                                                     ARECIBO             PR           00613



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   722760 MILAGROS MEDINA FRANCISCO                   URB.VALENCIA 319 CALLE LERIDA                                                                                        SAN JUAN            PR           00923

   333470 MILAGROS MEDINA GONZALEZ                    REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333472 MILAGROS MEDINA MEDINA                      REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722761 MILAGROS MEDINA O'FERRAL                    HC 02 BOX 14374                                                                                                      CAROLINA            PR           00987
   722762 MILAGROS MEJIAS PEREZ                       COND LAGUNA GARDENS II          2 AVE LAGUNA APT 51                                                                  CAROLINA            PR           00979
   333473 MILAGROS MELECIO CABAN                      REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   333474 MILAGROS MELENDEZ BRENES                    REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   722763 MILAGROS MELENDEZ MARRERO CALLE APONTE 321                                                                                                                       SAN JUAN            PR           00902

   770744 MILAGROS MELENDEZ MOLINA                    REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   333475 MILAGROS MELENDEZ VARGAS  REDACTED                                          REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333479 MILAGROS MENDEZ SANCHEZ   REDACTED                                          REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                    COND COOP CIUDAD
   722765 MILAGROS MERCADO FIGUEROA UNIVERSITARIA                                     EDIF A APT 507                                                                       TRUJILLO ALTO       PR           00976
                                                                                      B‐39 CALLE NELSON ORTIZ
   722766 MILAGROS MERCADO MEDINA                     URB JAYUYA II                   MERCADO                                                                              JAYUYA              PR           00664

   722767 MILAGROS MERCADO TORRES                     REPTO MARQUEZ                   E 21 CALLE 7                                                                         ARECIBO             PR           00612

   333481 MILAGROS MILLAN RODRIGUEZ                   REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722768 MILAGROS MIRANDA AVILES                     21 CALLE AMERICA                PDA 18 SANTURCE                                                                      SAN JUAN            PR           00907

   333482 MILAGROS MIRANDA GUZMAN                     REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   333483 MILAGROS MIRANDA LLORENS                    REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   722769 MILAGROS MIRANDA MORALES                    PO BOX 122                                                                                                           CAYEY               PR           00737
          MILAGROS MOLFULLEDA
   333484 ALEJANDRO                                   REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722771 MILAGROS MOLINA VAZQUEZ                     PO BOX 125                                                                                                           COROZAL             PR           00783
   722772 MILAGROS MONTES CRESPO                      P O BOX 363804                                                                                                       SAN JUAN            PR           00936‐3804

   722774 MILAGROS MORALES ARROYO                     COND. RIVERSIDE PLAZA           APT.10 J                                                                             BAYAMON             PR           00961‐7017
   333485 MILAGROS MORALES FRE                        REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILAGROS MORALES
   722776 HERNANDEZ                                   HC 02 BOX 3812                                                                                                       LUQUILLO            PR           00773
          MILAGROS MORALES
   722778 MALDONADO                                   URB OCEAN VIEW                  1 CALLE 1                                                                            ARECIBO             PR           00612
   722780 MILAGROS MORALES PAJOLS                     HC 03 BOX 10991                                                                                                      CAMUY               PR           00627

   333486 MILAGROS MORALES QUI¥ONES REDACTED                                          REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333487 MILAGROS MORALES RAMOS    REDACTED                                          REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   333488 MILAGROS MORALES SANTIAGO                   REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333489 MILAGROS MORALES VELEZ                      REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722782 MILAGROS MOYET GARCIA                       URB SANTA ROSA                  G 11 CALLE NAYSI                                                                     CAGUAS              PR           00725
   333491 MILAGROS MULERO RIOS                        REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333492 MILAGROS MUNIZ MAS                          REDACTED                        REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  333493 MILAGROS MUNOZ CORREA                        REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  333494 MILAGROS MUNOZ GARCIA                        REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   722783 MILAGROS MURPHY DELGADO                     BO PALO ALTO 90                                                                                           MANATI               PR         00674
          MILAGROS N DULUC
   333495 HERNANDEZ                                   REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   333496 MILAGROS N. DIAZ BURGOS                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MILAGROS NAVARRETE
   333497 MORALES                                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   722784 MILAGROS NAVARRO FELICIANO                  303 MONTE DE ORO                                                                                          CAMUY                PR         00627
   333498 MILAGROS NAVARRO ISAAC                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   333499 MILAGROS NAVON RIVERA                       REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722785 MILAGROS NEGRON BAEZ                        BO PALMA ESCRITA       HC 01 BOX 5659                                                                     LAS MARIAS           PR         00670
          MILAGROS NEGRON DE
   722786 FERNANDEZ                                   REPTO TERESITA         BB 3 CALLE 56                                                                      BAYAMON              PR         00961
   333501 MILAGROS NEGRON LUGO                        REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   333502 MILAGROS NEGRON NIEVES                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   333503 MILAGROS NEGRON VEGA                        REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722787 MILAGROS NELSON NAVEDO                      HC 2 RIO ABAJO         SEC HOYO                                                                           VEGA BAJA            PR         00963
   722788 MILAGROS NEVAREZ ORTIZ                      URB REXVILLE           54 15 CALLE 60 A                                                                   BAYAMON              PR         00957
   333505 MILAGROS NIEVES CABRERA                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   333506 MILAGROS NIEVES GONZALEZ                    REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   333507 MILAGROS NIEVES RODRIGUEZ                   REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722790 MILAGROS NIEVES ROSARIO                     P O BOX 644                                                                                               ARECIBO              PR         00612
   333508 MILAGROS NOBOA MORALES                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722791 MILAGROS OCASIO                             BO MAMEYAL             CALLE 8 BOX 138                                                                    DORADO               PR         00646

   333509 MILAGROS OQUENDO CORNIER                    REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   722793 MILAGROS OQUENDO VAZQUEZ URB RIO VERDE                             Z 34 CALLE 25                                                                      CAGUAS               PR         00725
   333510 MILAGROS ORLANDO CASTRO  REDACTED                                  REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   722794 MILAGROS OROZCO FIGUEROA                    P O BOX 954                                                                                               SAN LORENZO          PR         00754
   722795 MILAGROS ORTEGA MEJIAS                      BO CAMPANILLA          P 427 CALLE PALMA                                                                  TOA BAJA             PR         00949
   722797 MILAGROS ORTIZ                              SAN JOSE               21 CALLE VISTA MAR                                                                 MAYAGUEZ             PR         00680
   333511 MILAGROS ORTIZ APONTE                       REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   333513 MILAGROS ORTIZ DE JESUS                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722799 MILAGROS ORTIZ ESPADA                       32 SAN FELIPE II                                                                                          PONCE                PR         00731
   722800 MILAGROS ORTIZ GARCIA                       HC 1 BOX 6382                                                                                             ARROYO               PR         00714
   722801 MILAGROS ORTIZ JUSTINIANO                   SAN FRANICISCO         1671 CALLE VERBENA                                                                 SAN JUAN             PR         00927‐6230
   333514 MILAGROS ORTIZ MARRERO                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MILAGROS ORTIZ/JUNTA RES
   722803 RIVERACUPEY                                 URB. RIVERA DE CUPEY   F‐3 C/MONTE BRITO                                                                  SAN JUAN             PR         00926
   333516 MILAGROS OSORIO TORRES                      REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   333517 MILAGROS OSUNA RUIZ                         REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MILAGROS P DELGADO DE
   333518 RAMOS                                       REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722804 MILAGROS P MIRANDA                          ALT SAN PEDRO          M 5 CALLE SAN ALFONSO                                                              FAJARDO              PR         00738
   722805 MILAGROS PABON FELICIANO                    URB PARK COURT         G 3 CALLE 1                                                                        SAN JUAN             PR         00926‐2242
   722806 MILAGROS PABON TORO                         PO BOX 1158                                                                                               GUANICA              PR         00653
   333519 MILAGROS PACHECO CEDENO                     REDACTED               REDACTED                REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  333520 MILAGROS PADILLA VAZQUEZ                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  722808 MILAGROS PADIN CRUZ                          ALT CERRO GORDO 1Y2    14 CALLE FELICIDAD                                                                     VEGA ALTA            PR         00692
  333521 MILAGROS PADIN LOPEZ                         REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  333522 MILAGROS PAGAN OJEDA                         REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   722809 MILAGROS PAGAN SANTIAGO                     LAS CUMBRES GARDENS    200 CALLE SANTA ROSA APT 212                                                           SAN JUAN             PR         00926
   333523 MILAGROS PEREIRA GOMEZ                      REDACTED               REDACTED                     REDACTED                           REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   333524 MILAGROS PEREIRA SANTIAGO                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722811 MILAGROS PEREZ                              JARD DE COUNTRY CLUB   CH 9 CALLE 143                                                                         CAROLINA             PR         00983
   722812 MILAGROS PEREZ ALVAREZ                      URB FLORAL PARK        206 C EMMANUELLI                                                                       SAN JUAN             PR         00917
   722813 MILAGROS PEREZ ARROYO                       HC 02 BOX 16141                                                                                               RIO GRANDE           PR         00745
   333526 MILAGROS PEREZ AVILES                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   333527 MILAGROS PEREZ BURGOS                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722816 MILAGROS PEREZ FELIZ                        URB COUNTRY CLUB       AA 21 CALLE 20                                                                         CAROLINA             PR         00983
   333528 MILAGROS PEREZ LUNA                         REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722817 MILAGROS PEREZ PE                           URB SUMMIT HILLS       601 CALLE YUNQUE                                                                       SAN JUAN             PR         00924
   333529 MILAGROS PEREZ RICART                       REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722819 MILAGROS PEREZ VIRELLA                      PO BOX 453                                                                                                    TOA ALTA             PR         00954‐0453
   722820 MILAGROS PESQUERA                           EXT FRANCISCO OLLER    A 3 CALLE A                                                                            BAYAMON              PR         00956

   333530 MILAGROS PICHARDO JIMENEZ                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   333532 MILAGROS PIMENTEL DIAZ                      REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722821 MILAGROS PIZARRO PIZARRO                    HC 2 BOX 15457                                                                                                CAROLINA             PR         00987
   333533 MILAGROS QUIðONEZ ORTIZ                     REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   333537 MILAGROS QUINONES MEDINA                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MILAGROS QUINONES
   333538 QUINONES                                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   333539 MILAGROS QUINONES VELILLA                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MILAGROS
          QUINONES/DOMINGO
   333540 QUINONES(TUTOR                              REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   333544 MILAGROS QUINONEZ VARGAS                    REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   333545 MILAGROS QUIRINDNGO PEREZ                   REDACTED               REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   333546 MILAGROS QUIRINDONGO PEREZ REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   333548 MILAGROS R. CRUZ CARRION   REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722824 MILAGROS RAMIREZ GELPI     PO BOX 2015                                                                                                                    MAYAGUEZ             PR         00681
   722825 MILAGROS RAMIREZ NEGRON    P O BOX 1492                                                                                                                   VEGA BAJA            PR         00693
   722826 MILAGROS RAMIREZ ORTIZ     REPT UNIVERSIDAD                        A 65 CALLE 11                                                                          SAN GERMAN           PR         00683‐3804
   722827 MILAGROS RAMON CABAN       URB REPARTO MARQUEZ                     K 1 CALLE 7                                                                            ARECIBO              PR         00612
   333549 MILAGROS RAMOS ACEVEDO     REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   722830 MILAGROS RAMOS ALFONSO     RR 6 BOX 8051                                                                                                                  SAN JUAN             PR         00926
   722831 MILAGROS RAMOS GONZALEZ    HC 05 BOX 39505                                                                                                                SAN SEBASTIAN        PR         00685
   722834 MILAGROS RAMOS RAMOS       URB BALDRICH                            220 CALLE MANUEL F ROSSY                                                               SAN JUAN             PR         00918
   722835 MILAGROS RAMOS SANTIAGO    BO DAGUAO BOX 830                                                                                                              NAGUABO              PR         00718
   722836 MILAGROS REMEDIOS NAVAS    URB GLENVIEW GARDENS                    S 19 CALLE W 22 A                                                                      PONCE                PR         00731
   722837 MILAGROS REYES BAEZ        FACTOR 1860                                                                                                                    ARECIBO              PR         00612‐9802
   333552 MILAGROS REYES RIVERA      REDACTED                                REDACTED                    REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  722838 MILAGROS REYES SANTINI                       BO TOMAS DE CASTRO         CARR 183 KM 5                                                                       CAGUAS            PR         00725
  722839 MILAGROS REYES VALLEJO                       HC 03 BOX 6920                                                                                                 JUNCOS            PR         00777
  333553 MILAGROS REYES VAZQUEZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  722840 MILAGROS RIOS QUILES                         TRASTALLERES               962 CALLE SOLA                                                                      SAN JUAN          PR         00907
  722841 MILAGROS RIOS RIVERA                         PO BOX 747                                                                                                     UTUADO            PR         00641
  722842 MILAGROS RIOS VELEZ                          URB BRISAS DE A¥ASCO       E 15 CALLE 6                                                                        A¥ASCO            PR         00610
  722843 MILAGROS RIVERA                              C 42 URB JUSEIN NIXAGO                                                                                         UTUADO            PR         00641
  333554 MILAGROS RIVERA ALVAREZ                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  333555 MILAGROS RIVERA AVILES                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  333556 MILAGROS RIVERA BERNARD                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  722844 MILAGROS RIVERA BOSQUES                      GUANAJIBO HOMES            CALLE DR AUGUSTO PEREA                                                              MAYAGUEZ          PR         00682‐1160
  722845 MILAGROS RIVERA CARDONA                      PARC HILL BROTHER 343      CALLE 4                                                                             SAN JUAN          PR         00924
  333557 MILAGROS RIVERA CORREA                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  722849 MILAGROS RIVERA DE JESUS                     BOX 2238                                                                                                       SALINAS           PR         00751
  333558 MILAGROS RIVERA DIAZ                         REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   722851 MILAGROS RIVERA ECHAUTEGUI PO BOX 7126                                                                                                                     PONCE             PR         00732
   722852 MILAGROS RIVERA FUENTES    PO BOX 2173                                                                                                                     CAROLINA          PR         00984

   333559 MILAGROS RIVERA MONTALVO                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333560 MILAGROS RIVERA MORALES                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333561 MILAGROS RIVERA MUNIZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722853 MILAGROS RIVERA OTERO                       33 CALLE MARLIN                                                                                                VEGA BAJA         PR         00693‐6011
   333562 MILAGROS RIVERA PEREZ                       REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722855 MILAGROS RIVERA RIVERA                      19 C/ GUILLERMO RIEFKOLL                                                                                       PATILLA           PR         00723

   333563 MILAGROS RIVERA RODRIGUEZ                   REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722859 MILAGROS RIVERA SANTANA                     6 TIVOLI CT                                                                                                    GUAYNABO          PR         00966
   333565 MILAGROS RIVERA SOTO                        REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333567 MILAGROS RIVERA TORRES                      REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722862 MILAGROS RIVERA VAZQUEZ                     COLINAS DE COROZAL         6 CALLE B                                                                           COROZAL           PR         00783
   333568 MILAGROS ROBERTS RIVERA                     REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722864 MILAGROS ROBLES SANTANA                     LA CARMELITA               HC BOX 2373                                                                         PONCE             PR         00731
   722865 MILAGROS ROBLES TORRES                      PARCELAS MARQUEZ           4 CALLE HIGUERA                                                                     MANATI            PR         00674

   722867 MILAGROS RODRIGUEZ ALICEA                   P O BOX 410                                                                                                    YAUCO             PR         00698

   722868 MILAGROS RODRIGUEZ ANGULO VILLA CAROLINA                               150‐16 CALLE 431                                                                    CAROLINA          PR         00985

   333569 MILAGROS RODRIGUEZ ARCANO REDACTED                                     REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   333570 MILAGROS RODRIGUEZ AYALA                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   722870 MILAGROS RODRIGUEZ BURGOS HC 2 BOX 31035                                                                                                                   CAGUAS            PR         00725‐9406

   722871 MILAGROS RODRIGUEZ CARRION INT FINCO CASTILLO                          CARR 185 K 7 5                                                                      CANOVANAS         PR         00729

   333572 MILAGROS RODRIGUEZ CENTENO REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   333573 MILAGROS RODRIGUEZ COLON                    REDACTED                   REDACTED                 REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722874 MILAGROS RODRIGUEZ CRUZ                     HOGAR EL BUEN PASION       250 PONCE DE LEON                                                                   SAN JUAN          PR         00918

   722876 MILAGROS RODRIGUEZ DE JESUS PO BOX 21770                                                                                                                   SAN JUAN          PR         00931‐1770



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          MILAGROS RODRIGUEZ
   722877 FELICIANO                                   416 CALLE A CRUZ ZAPATA                                                                                        LAS MARIAS          PR           00670

   722878 MILAGROS RODRIGUEZ FUENTES URB VILLAS DE RIO GRANDE                   E 10 CALLE JULIO MILLAN                                                              RIO GRANDE          PR           00745

   333576 MILAGROS RODRIGUEZ GARCIA                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILAGROS RODRIGUEZ
   722880 GONZALEZ                                    SUITE 196                 PO BOX 2510                                                                          TRUJILLO ALTO       PR           00977
          MILAGROS RODRIGUEZ
   333577 HERNANDEZ                                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   722881 MILAGROS RODRIGUEZ LEBRON URB VILLA CAROLINA                          BLOQ 117 ‐ 18 CALLE74                                                                CAROLINA            PR           00985
   722882 MILAGROS RODRIGUEZ LUVIS  URB TORRECILLA ALTA                         343 CALLE 1                                                                          CANOVANAS           PR           00729

   722883 MILAGROS RODRIGUEZ MERCED BOX 316                                                                                                                          GUAYNABO            PR           00970

   333579 MILAGROS RODRIGUEZ ORENGO REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722884 MILAGROS RODRIGUEZ PEREZ  URB CAPARRA TERRACE                         1512 CALLE 34 S O                                                                    SAN JUAN            PR           00921

   722885 MILAGROS RODRIGUEZ PIZARRO PO BOX 188                                                                                                                      GUAYNABO            PR           00970

   333580 MILAGROS RODRIGUEZ RAMOS                    REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   333581 MILAGROS RODRIGUEZ RIVERA                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILAGROS RODRIGUEZ
   333583 RODRIGUEZ                                   REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   333584 MILAGROS RODRIGUEZ ROMAN REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333586 MILAGROS RODRIGUEZ SILVA REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722888 MILAGROS ROHENA RIVERA   FALU                                         265A CALLE 45A                                                                       SAN JUAN            PR           00924
   333588 MILAGROS ROJAS GONZALEZ  REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333589 MILAGROS ROLON BENITEZ   REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333590 MILAGROS ROMAN CUBA      REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722890 MILAGROS ROMAN GARCIA    PO BOX 1602                                                                                                                       GUAYAMA             PR           00785

   333591 MILAGROS ROMERO RODRIGUEZ REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722892 MILAGROS ROSA RIVERA      PO BOX 886                                                                                                                       TOA ALTA            PR           00954
   722894 MILAGROS ROSADO ROSARIO   PO BOX 947                                                                                                                       SABANA SECA         PR           00952
   333593 MILAGROS ROSARIO          REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333594 MILAGROS ROSARIO ALVAREZ  REDACTED                                    REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722896 MILAGROS ROSARIO COLON    2794 W 74 TERRACE                                                                                                                HIALEAH             FL           33016

   722897 MILAGROS ROSARIO MIRANDA                    14 CALLE LAS FLORES       PUEBLO                                                                               RIO GRANDE          PR           00745
   333595 MILAGROS ROSARIO RIVERA                     REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722899 MILAGROS RUIZ APONTE                        LOMAS VERDES              A 21 CALLE ABETO                                                                     BAYAMON             PR           00956
   333596 MILAGROS RUIZ CARMONA                       REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722900 MILAGROS RUIZ HERNANDEZ                     HC ‐ 83 BOX 7808          BO BRENAS                                                                            VEGA ALTA           PR           00692
   333597 MILAGROS RUIZ MALAVE                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333598 MILAGROS RUIZ MENDEZ                        REDACTED                  REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722901 MILAGROS RUIZ ORTIZ                         HC 4 BOX 8529                                                                                                  COMERIO             PR           00782
   722902 MILAGROS RUIZ PEREZ                         RES NR CANALES            EDIF 24 P 1 APT 452                                                                  SAN JUAN            PR           00918
   722903 MILAGROS RUIZ RODRIGUEZ                     RR BZN 6041                                                                                                    MARICAO             PR           00606




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   722904 MILAGROS RUIZ SANTIAGO                      URB JARDINES DE RIO GRANDE   A 2 118 CALLE 46                                                                      RIO GRANDE           PR           00745
   722905 MILAGROS RUIZ VEGA                          HC 04 BOX 49095                                                                                                    CAGUAS               PR           00725

   722906 MILAGROS RULLAN                             232 AVE ELEONOR ROOSEVELT                                                                                          SAN JUAN             PR           00907

   722907 MILAGROS RULLAN BAYRON                      232 AVE ELEONOR ROOSEVELT                                                                                          SAN JUAN             PR           00907

   722908 MILAGROS RUPERTO GONZALEZ                   FC 02 BOX 23706                                                                                                    MAYAGUEZ             PR           00680
   333599 MILAGROS S BASORA RUIZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   333600 MILAGROS S CINTRON RIVERA                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   333601 MILAGROS S RIVERA VARGAS                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   333602 MILAGROS SAEZ RIVERA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   722910 MILAGROS SAEZ VEGA                          PO BOX 1869                                                                                                        COAMO                PR           00769
   722911 MILAGROS SALIS                              P O BOX 5548                                                                                                       CAYEY                PR           00736
   722912 MILAGROS SALVA MARIN                        PO BOX 306                                                                                                         JAYUYA               PR           00664

   333603 MILAGROS SANCHEZ BERMUDEZ REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   722915 MILAGROS SANCHEZ DELGADO                    URB ALTO CONDADO MODERNO CALLE 7 B 29                                                                              CAGUAS               PR           00725
          MILAGROS SANCHEZ
   333604 DOMINGUEZ                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   333607 MILAGROS SANCHEZ ROMAN                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   722916 MILAGROS SANCHEZ ZAYAS                      7 CALLE MIGUEL F CHIQUE                                                                                            CAGUAS               PR           00725

  1420617 MILAGROS SÁNCHEZ, MIRANDA                   IVÁN L. TORRES RODRÍGUEZ     PO BOX 358                                                                            PATILLAS             PR           00723
          MILAGROS SANTANA (TUTORA
   722917 DE )                                        URB ANA MARIA                J 13 CALLE 2                                                                          CABO ROJO            PR           00623
                                                                                   PARC 868 CALLE FRANCIA
   722918 MILAGROS SANTANA RIVERA                     VILLA MARISOL                SABANA SECA                                                                           TOA BAJA             PR           00952

   333608 MILAGROS SANTIAGO ACEVEDO REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   722920 MILAGROS SANTIAGO CARDONA 35 CALLE URANO                                                                                                                       VEGA BAJA            PR           00693
   333609 MILAGROS SANTIAGO DIAZ    REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   722921 MILAGROS SANTIAGO GODEN   URB VILLAS DE FELISA                           2016 CALLE ALICIA MOREDA                                                              MAYAGUEZ             PR           00680

   722922 MILAGROS SANTIAGO MEDINA                    URB VILLAS DEL CARMEN        2718 TOLEDO                                                                           PONCE                PR           00716‐2235
   333610 MILAGROS SANTIAGO ORTIZ                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   722923 MILAGROS SANTIAGO PEREZ                     PO BOX 514                                                                                                         VEGA BAJA            PR           00694

   722924 MILAGROS SANTIAGO RAMIREZ                   SANTA TERESITA               CQ 8 CALLE K                                                                          PONCE                PR           00731
   722925 MILAGROS SANTIAGO RAMOS                     URB REPARTO MONTELLANO       J 19 CALLE B                                                                          CAYEY                PR           00736
          MILAGROS SANTIAGO
   333612 RODRIGUEZ                                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   722927 MILAGROS SANTIAGO SANTOS                    121 CALLE LUNA                                                                                                     SAN GERMAN           PR           00683

   722928 MILAGROS SANTIAGO SERRANO EL MADRIGAL                                    S 9 CALLE 23                                                                          PONCE                PR           00731
          MILAGROS SANTIAGO
   333614 VELAZQUEZ                 REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   333615 MILAGROS SANTONI VALENTIN                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   722931 MILAGROS SANTOS SANCHEZ                     URB SUMMIT HLS               586 CALLE COLLINS                                                                     SAN JUAN             PR           00920



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   722933 MILAGROS SEBASTIAN SANTIAGO POBOX 13803                                                                                                                           SAN JUAN            PR           00908
   333616 MILAGROS SEGARRA VELEZ      REDACTED                                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722934 MILAGROS SEMPRIT RIVERA     BOX 6584                                                                                                                              CIDRA               PR           00739

   722935 MILAGROS SERRANO ANDUJAR                    105 CALLE MAYOR CANTERA                                                                                               PONCE               PR           00731
   722936 MILAGROS SERRANO NIEVES                     H C 20 BOX 26316                                                                                                      SAN LORENZO         PR           00754
   333617 MILAGROS SERRANO ROSADO                     REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333618 MILAGROS SILVA COLON                        REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722937 MILAGROS SILVA FLORES                       BO CANTERA                153B SUITE 2                                                                                MANATI              PR           00674
   722938 MILAGROS SOLIS CORTES                       URB VENUS GARDENS OESTE   BB 24 CALLE A                                                                               SAN JUAN            PR           00926
   722939 MILAGROS SOSA FONSECA                       URB VILLAS DE CASTRO      NN7 CALLE 21                                                                                CAGUAS              PR           00725
   722940 MILAGROS SOTO FIERRO                        P O BOX 1243                                                                                                          TRUJILLO ALTO       PR           00977‐1243
   333620 MILAGROS SOTO ROCHER                        REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333621 MILAGROS SOTO RODRIGUEZ                     REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722943 MILAGROS SUAREZ PEREZ                       URB PARK GARDENS          U 10 CALLE HOT SPRINGS                                                                      SAN JUAN            PR           00926‐2137
   722944 MILAGROS T APONTE NIEVES                    VILLA CAROLINA            97‐72 CALLE 89                                                                              CAROLINA            PR           00985
   333622 MILAGROS T CLASS FONTAN                     REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILAGROS T CUADRADO
   333623 CAMACHO                                     REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   722945 MILAGROS TAVAREZ AUGUSTO                    P O BOX 681                                                                                                           ISABELA             PR           00662 0681
   722946 MILAGROS TIRADO SANTANA                     PO BOX 714                                                                                                            SAN GERMAN          PR           00683

   722947 MILAGROS TIRADOS SANTIAGO                   BARRIO RETIRO                                         17                                                              SAN GERMAN          PR           00683
   333624 MILAGROS TOMEI CRUZ                         REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILAGROS TORRELLAS
   722948 GUTIERREZ                                   BO DULCES LABIOS          13 CALLE SAN JUAN PISO 1A                                                                   MAYAGUEZ            PR           00680
   722949 MILAGROS TORRES                             HC 01 BOX 7302                                                                                                        SALINAS             PR           00751
   333625 MILAGROS TORRES CABAN                       REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333626 MILAGROS TORRES COREANO                     REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333627 MILAGROS TORRES CRUZ                        REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722950 MILAGROS TORRES DE JESUS                    HC 03 BOX 11711                                                                                                       JUANA DIAZ          PR           00795
   333628 MILAGROS TORRES DIAZ                        REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333629 MILAGROS TORRES GARCIA                      REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   722951 MILAGROS TORRES GONZALEZ                    ALTOS DE LA FUENTE        K 8 CALLE 8                                                                                 CAGUAS              PR           00725
   333630 MILAGROS TORRES PEREZ                       REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333631 MILAGROS TORRES SANTIAGO                    REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333632 MILAGROS TORRES SOTO                        REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333633 MILAGROS TORRES TORRES                      REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333634 MILAGROS TOSADO SOTO                        REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   722953 MILAGROS TRINIDAD ESTRADA                   HC 1 BOX 9144                                                                                                         GURABO              PR           00778‐9774
   333635 MILAGROS TRINIDAD RIVERA                    REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333636 MILAGROS VALENTIN                           REDACTED                  REDACTED                         REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   722955 MILAGROS VALENTIN AGUAYO                    242 CALLE REINA                                                                                                       PONCE               PR           00730

   722956 MILAGROS VALENTIN CHAPARRO HC 03 BOX 32691                                                                                                                        AGUADA              PR           00602

   722957 MILAGROS VALENTIN DE PABLO 469 AVE ESMERALDA APT 232                                                                                                              GUAYNABO            PR           00969




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   722960 MILAGROS VALENTIN MONROIG HC 02 BOX 7813                                                                                                                       BARCELONETA         PR           00617

   333637 MILAGROS VALENTIN RAMIREZ                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333638 MILAGROS VARGAS                             REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722962 MILAGROS VASSALLO COLON                     RIO HONDO I                  D 19 CALLE RIO CAONILLAS                                                              BAYAMON             PR           00961
   722963 MILAGROS VAZQUEZ ANDINO                     261 CALLE DELBREY                                                                                                  SAN JUAN            PR           00912

   722964 MILAGROS VAZQUEZ ANDRILLON URB SANTA ISIDRA IV                           G 6 CALLE 6                                                                           FAJARDO             PR           00738

   333639 MILAGROS VAZQUEZ CASANOVA REDACTED                   REDACTED                                       REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILAGROS VAZQUEZ          URB HACIENDAS DE BORINQUEN
   722966 CASANOVAS                 II                         2 CALLE CEIBA                                                                                             LARES               PR           00669

   722967 MILAGROS VAZQUEZ FONTANEZ HC 1 BOX 4628 A                                                                                                                      NAGUABO             PR           00718

   333640 MILAGROS VAZQUEZ GONZALEZ REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333641 MILAGROS VAZQUEZ PEREZ    REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILAGROS VAZQUEZ ROCA/NEW
   333642 ENERGY                    REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722968 MILAGROS VEGA GONZALEZ    PO BOX 307                                                                                                                           LARES               PR           00669‐0307
   722969 MILAGROS VEGA MORELL      BO TALONAL BZN 1763                                                                                                                  AGUADA              PR           00602
   333643 MILAGROS VEGA PARDELLA    REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722971 MILAGROS VEGA RAMOS       HC 01 BOX 6945                                                                                                                       MOCA                PR           00676
   333644 MILAGROS VEGA SANTIAGO    REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722972 MILAGROS VELAZQUEZ CRUZ   APART 704 COND SAN LUIS                                                                                                              PONCE               PR           00731

   722973 MILAGROS VELAZQUEZ MARIN                    COND BRISAS DE BORINQUEN 2   EDIF A APT 302                                                                        CAROLINA            PR           00985
          MILAGROS VELAZQUEZ
   333646 MARTINEZ                                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   333647 MILAGROS VELAZQUEZ NEGRON                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722975 MILAGROS VELEZ BARRETO                      HC 4 BOX 19085                                                                                                     CAMUY               PR           00627‐9518
   333648 MILAGROS VELEZ FELICIANO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722976 MILAGROS VELEZ MOLINA                       HC 3 BOX 33794                                                                                                     HATILLO             PR           00659
   722977 MILAGROS VELEZ ORTIZ                        RES LUIS LLORENS TORRES      EDIF 122 APTO 2247                                                                    SAN JUAN            PR           00915
   333651 MILAGROS VELEZ RODRIGUEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722978 MILAGROS VELEZ ROSA                         HC 01 BOX 6916                                                                                                     TOA BAJA            PR           00949
   333652 MILAGROS VELEZ VALENTIN                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILAGROS VELEZ Y JUAN L
   333653 COLON                                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333654 MILAGROS VERA PEREZ                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   722979 MILAGROS VERGARA MARRERO                    URB MARIOLGA                 A 1 CALLE SAN ALFONSO                                                                 CAGUAS              PR           00725
   333655 MILAGROS VIALIZ ORTIZ                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722980 MILAGROS VICENTY RAMIREZ                    STATION 1                    PO BOX 6291                                                                           BAYAMON             PR           00960
          MILAGROS VILLANUEVA
   333657 LUCIANO                                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILAGROS Y. CARTAGENA
  1256681 HADDOCK                                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   722982 MILAGROSA LOPEZ SANTIAGO                    PO BOX 614                                                                                                         HUMACAO             PR           00792‐0614

   333659 MILAIDA HERNANDEZ CRUZADO REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  722983 MILAIDA I LOPEZ GOMEZ                        JARDINES DE CAGUAS         B 70 CALLE CARLOS J LOZADA                                                                 CAGUAS            PR         00725
  333661 MILAIDY MARRERO RIVERA                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  333662 MILAINE DONES PINERO                         REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  333674 MILAN FARIA MD, RAFAEL A                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  333678 MILAN JUNIOR CAMP PR                         REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  333697 MILANDIS MARTINEZ AGOSTO                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  333698 MILANE S. MEDINA ORTIZ                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  722984 MILANES S MEDINA ORTIZ                       URB VILLAS DE RIO GRANDE   AN 33 CALLE 32                                                                             RIO GRANDE        PR         00745
  333706 MILANGELY ARZON CINTRON                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  333707 MILANIE NUNEZ MOLINA                         REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  333710 MILANOLA RODRIGUEZ                           REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   333711 MILANY R CARTAGENA SOLIVAN                  REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333712 MILANY RODRIGUEZ TORRES                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MILARYS GONZALEZ / JOSE
   333713 MALDONADO                                   REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333714 MILAY ARROYO QUINONES                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333715 MILAY E MUNIZ BABILONIA                     REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722985 MILAYLA DIAZ NIEVES                         URB ORIENTE                95 CALLE ORIENTE                                                                           LAS PIEDRAS       PR         00771
   333716 MILAYSHA NEGRON                             REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722986 MILBER DELGADO PACHECO                      URB COSTA SUR              E 7 CALLE B                                                                                YAUCO             PR         00698
   722987 MILBERT VELAZQUEZ LASPINA                   HC 9 BOX K 37                                                                                                         PONCE             PR         00731‐9747
   333718 MILBETS LITTLE START INC                    URB ALTS DE MAYAGUEZ       3023 LA TORRE                                                                              MAYAGUEZ          PR         00682
   722988 MILCA ACOSTA DE VELEZ                       BO MORA                    CARR 2 KM 112 0                                                                            ISABELA           PR         00662
   333720 MILCA E MORALES RIVERA                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722989 MILCA E VELEZ SEPULVEDA                     PO BOX 1233                                                                                                           MOCA              PR         00676
   722990 MILCA I ACOSTA VELEZ                        P O BOX 105                                                                                                           SABANA GRANDE     PR         00637
   722991 MILCA L JIMENEZ RODRIGUEZ                   P O BOX 314                                                                                                           TRUJILLO ALTO     PR         00977‐0314
   722993 MILCA ORRIOLS LOPEZ                         HC 02 BOX 13562                                                                                                       ARECIBO           PR         00612
   722997 MILCA RIOS MARTINEZ                         SUSUA BAJA                 79 CALLE AZUCENA                                                                           SABANA GRANDE     PR         00637
   333722 MILCA S CRUZ RODRIGUEZ                      REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333723 MILCA S MATEO SANTOS                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   722998 MILCA SARAI SANTOS PEREZ                    PO BOX 1260                                                                                                           COAMO             PR         00769
   722999 MILCA V MARTINEZ VAZQUEZ                    HC 10 BOX 7890                                                                                                        SABANA GRANDE     PR         00637
   723000 MILCHA CENTENO ORTIZ                        BO COCO NUEVO              178 CALLE CANDIDO PAGAN                                                                    SALINAS           PR         00751
   333724 MILDA DIAZ MARTINEZ                         REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723002 MILDA ESTRADA DELGADO                       P O BOX 879                                                                                                           CAROLINA          PR         00986
   333726 MILDA M LOPEZ ROSADO                        REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333727 MILDA RIVERA GONZALEZ                       REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723005 MILDAN RODRIGUEZ LEON                       RR 01 BOX 6308                                                                                                        MARICAO           PR         00606

   333728 MILDARI MELENDEZ RODRIGUEZ REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333729 MILDE L LOPEZ ESTRADA      REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333730 Milde Liz López Estrada    REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333731 MILDELIS MARTINEZ SOTO     REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   723010 MILDRED A RODRIGUEZ AGUILAR CONDOMINIO PORTALES 2                      239 CALLE RUIZ BELVIS BOX 414                                                              SAN JUAN          PR         00975
   723011 MILDRED A SOTO SOTO         COND METRO PLAZA APT 202                   URB SANTIAGO IGLESIA                                                                       SAN JUAN          PR         00924

   723012 MILDRED ABADIA VILLANUEVA                   HC 01 BOX 4540                                                                                                        RINCON            PR         00680
   723013 MILDRED ABRAMS LOPEZ                        BO ARENALES BAJO           BZN 5‐130                                                                                  ISABELA           PR         00662

   333732 MILDRED ACEVEDO CONCEPCION REDACTED                                    REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  723014 MILDRED ACEVEDO IRIZARRY                     PO BOX 927                                                                                                            AGUADA            PR         00602
  333733 Mildred Alameda                              REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  333734 MILDRED ALTORAN MONTIJO                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  723016 MILDRED ALVAREZ RUIZ                         BOX 5144                                                                                                              SAN SEBASTIAN     PR         00685
  723017 MILDRED ALVAREZ VELEZ                        FACTOR I                    52 CALLE G                                                                                ARECIBO           PR         00612
  723018 MILDRED ANAYA MARTINEZ                       URB SANTA JUANITA           RR 29 CALLE 35                                                                            BAYAMON           PR         00956

   333735 MILDRED ANTONGIORGI LONGO                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723019 MILDRED APONTE SANCHEZ                      P O BOX 21365                                                                                                         SAN JUAN          PR         00926‐1365
   723006 MILDRED ARCE TIRADO                         URB VILLA NORMA             D 16 CALLE 4                                                                              QUEBRADILLAS      PR         00678
   723020 MILDRED ARROYO                              HC 01 BOX 17730                                                                                                       HUMACAO           PR         00791
   333736 MILDRED ASCAR GONZALEZ                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723021 MILDRED AVILES COLON                        RR 4 BOX 611 CERRO GORDO                                                                                              BAYAMON           PR         00956

   723022 MILDRED AYALA FIGUEROA                      JARDINES DEL PARQUE         59 BLVD MEDIA LUNA APTO 1901                                                              CAROLINA          PR         00986

   723023 MILDRED B MATOS CORDERO                     132 CALLE CARMELO MARTINEZ                                                                                            MAYAGUEZ          PR         00680
   333737 MILDRED BAEZ BAEZ                           REDACTED                   REDACTED                        REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   333739 MILDRED BARBOSA MARTINEZ                    REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723024 MILDRED BERLINGEN                           HC 01 BOX 5701                                                                                                        OROCOVIS          PR         00720

          MILDRED BERLINGERY/HOGAR
   333740 RETORNO ESPERAN                             REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723025 MILDRED BONET CARO                          URB REPTO UNIVERSIDAD       H 3 CALLE 6                                                                               SAN GERMAN        PR         00683
   333741 MILDRED BORRERO ACOSTA                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   333742 MILDRED BOULDRON LASSALLE                   REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723028 MILDRED BRAULIO                             PO BOX 2209                                                                                                           SAN JUAN          PR         00931
   333743 MILDRED BURGOS MARIN                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333744 MILDRED CABEZUDO PEREZ                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   723032 MILDRED CALDERON ALVAREZ                    JARDINES DE RIO GRANDE      CC‐519 CALLE 43                                                                           RIO GRANDE        PR         00745
   333745 MILDRED CALDERON RIVERA                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333746 MILDRED CALERO CALERO                       REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333747 MILDRED CAMPOS DE JESUS                     REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333749 MILDRED CANALES MEDINA                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723033 MILDRED CANCEL                              URB LAS LOMAS               822 A‐Q CALLE 31                                                                          SAN JUAN          PR         00921
          MILDRED CARABALLO                           RES YAUCO HOUSING EDIF 10
   723034 GARRASTEGUI                                 APT 72                                                                                                                YAUCO             PR         00698

   723035 MILDRED CASIANO ALMODOBAR PO BOX 2617                                                                                                                             SAN GERMAN        PR         00683
   723037 MILDRED CASTILLO CABAN    HC 04 BOX 40228                                                                                                                         MAYAGUEZ          PR         00680
   333752 MILDRED CASTILLO VELEZ    REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333753 MILDRED CASTRO ALICEA     REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333754 MILDRED CAYCOYA PEREA     REDACTED                                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723039 MILDRED CIFUENTES VEGA    URB UNIVERSITY GARDENS                        305 CALLE COLUMBIA                                                                        SAN JUAN          PR         00927

   723040 MILDRED CINTRON GONZALEZ                    53 PARQUE INTERNACIONAL                                                                                               GUAYAMA           PR         00784
   723041 MILDRED COLON BERRIOS                       URB VALLE ALTO              G 30 CALLE 12                                                                             PONCE             PR         00731
   723042 MILDRED COLON RIVERA                        COLINAS METROPOLITANAS      M 12 CALLE GUILARTE                                                                       GUAYNABO          PR         00969
   333757 MILDRED CORREA DEL RIO                      REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   333758 MILDRED COTTE MARTIN                        REDACTED                    REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  333759 MILDRED CRESPO SANTOS                        REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  723044 MILDRED CRUZ ANDRADES                        HC 01 BOX 7023                                                                                                   LOIZA                PR         00772
  333760 MILDRED CRUZ CASTRO                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
  723047 MILDRED CRUZ LUGO                            LAKES L                    37 CALLE 11                                                                           VEGA BAJA            PR         00693
  333761 MILDRED CRUZ VARGAS                          REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   723048 MILDRED CUADRADO ESTRADA  PO BOX 2927                                                                                                                        JUNCOS               PR         00777
   723050 MILDRED DAVILA BORRERO    TOA ALTA HEIGHTS                             D 9 CALLE 12                                                                          TOA ALTA             PR         00953
   333763 MILDRED DAVILA BURGOS     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   723051 MILDRED DE JESUS          URB VILLA FONTANA PARK                       34 5X AVE SANCHEZ OSORIO                                                              CAROLINA             PR         00982
   333764 MILDRED DE JESUS ARROYO   REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   723054 MILDRED DE JESUS SANTOS   PO BOX 1519                                                                                                                        ARROYO               PR         00714
   333767 MILDRED DEVARIE DE JESUS  REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   333768 MILDRED DIAZ CLEMENTE     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   333769 MILDRED DIAZ MONTIJO      REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   723057 MILDRED DIAZ PEREZ        P O BOX 221                                                                                                                        HATILLO              PR         00659
   723058 MILDRED DIAZ ROSADO       BOX 10968                                                                                                                          RIO GRANDE           PR         00745
   333770 MILDRED E CONDE CARDONA   REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   723059 MILDRED E CONDE CARDONA   RR 4 BOX 27760                                                                                                                     TOA ALTA             PR         00953
   333771 MILDRED E CRUZ VARGAS     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   723060 MILDRED E MALAVE CORREA   URB PRADERAS DEL SUR                         47 CALLE ALMENDRO                                                                     SANTA ISABEL         PR         00757
                                    CL 74‐7166 PARC LA
   723061 MILDRED E MORALES MERCADO CALDERONAS                                                                                                                         CEIBA                PR         00735
   723062 MILDRED E ORTIZ FELICIANO URB LA MONSERRATE                            F 19 CALLE 7                                                                          HORMIGUEROS          PR         00660
   723065 MILDRED E PEREZ SANTIAGO  P O BOX 102                                                                                                                        JUANA DIAZ           PR         007945
   723066 MILDRED E REYES BONILLA   PO BOX 945                                                                                                                         AIBONITO             PR         00705
   333775 MILDRED FEBRES GARCIA     REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   723070 MILDRED FELICIANO PINTO   P.O. BOX 9383                                                                                                                      SAN JUAN             PR         00908‐0383
   333776 MILDRED FERNANDEZ ABADIA  REDACTED                                     REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   723072 MILDRED FERNANDEZ FELIBERTI HC 01 BOX 10849                                                                                                                  AGUADILLA            PR         00603

   333777 MILDRED FIGUEROA COLLAZO                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   723076 MILDRED FIGUEROA FIGUEROA                   BO OBRERO                  655 CALLE 14                                                                          SAN JUAN             PR         00915

   723077 MILDRED FIGUEROA GONZALEZ                   URB ALTURAS DE FLAMBOYAN   GG 11 CALLE 19                                                                        BAYAMON              PR         00959

   723074 MILDRED FIGUEROA MORALES                    HC 2 BOX 18929                                                                                                   SAN SEBASTIAN        PR         00685
   333778 MILDRED FIGUEROA RAMIREZ                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   723078 MILDRED FIGUEROA SANABRIA                   HC 1 BOX 3106                                                                                                    SALINAS              PR         00751
  1256682 MILDRED FLORES CONTRERAS                    REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   723080 MILDRED FLORES DIEPPA                       PMB 397                    P O BOX 1283                                                                          SAN LORENZO          PR         00754
   723081 MILDRED FONSECA                             P O BOX 9022027                                                                                                  SAN JUAN             PR         00902‐2027
   723083 MILDRED FRAGOSO TORRES                      URB MONTE CARLOS           GI 4 CALLE 14                                                                         SAN JUAN             PR         00924
   333779 MILDRED FRANCO REVENTOS                     REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   723084 MILDRED FUENTES GONZALEZ                    CALLE TRIUNFO              32 SEC PALMER                                                                         PALMER               PR         00721
   333780 MILDRED GARCIA                              REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   723091 MILDRED GARCIA VELEZ                        SABANA HOYOS               HC 01 BOX 3028                                                                        ARECIBO              PR         00688
   723092 MILDRED GERENA MEDINA                       HC 03 BOX 6552                                                                                                   HUMACAO              PR         00791
   333782 MILDRED GIRONA MIRANDA                      REDACTED                   REDACTED                   REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   723094 MILDRED GONZALEZ                            RES LLORENS TORRES         EDIF 22 APT 465                                                                       SAN JUAN             PR         00913



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   333783 MILDRED GONZALEZ ALTRECHE                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   333784 MILDRED GONZALEZ BARRETO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   723097 MILDRED GONZALEZ GONZALEZ                   HC 10 BOX 6850                                                                                                SABANA GRANDE        PR           00637
          MILDRED GONZALEZ
   723099 HERNANDEZ                                   URB HACIENDA DE TENAS       G 11                                                                              JUNCOS               PR           00777

   333785 MILDRED GONZALEZ MIRANDA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   723103 MILDRED GONZALEZ OTERO                      EXT VILLAS DE LOIZA         AA 12 CALLE 46                                                                    CANOVANAS            PR           00729
   723105 MILDRED GONZALEZ RIVERA                     SANTA CATALINA              M 10 CALLE 2                                                                      BAYAMON              PR           00957

   333786 MILDRED GONZALEZ VELAZQUEZ REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   723095 MILDRED GONZALEZ ZAPATA    BUZON 474 A CARR 103                         KM 10 2                                                                           CABO ROJO            PR           00623
          MILDRED GOYCO DE
   333787 MALDONADO                  REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   333788 MILDRED GRATEROLE ROA      REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   333789 MILDRED GUARDIOLA DIAZ     REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   333790 MILDRED GUZMAN RIVERA      REDACTED                                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   723107 MILDRED GUZMAN RODRIGUEZ                    URB MONTE CARLO             1289 CALLE 11                                                                     SAN JUAN             PR           00924

   723108 MILDRED HERNANDEZ BURGOS                    PO BOX 324                                                                                                    JUANA DIAZ           PR           00795

   723109 MILDRED HERNANDEZ CENTENO P O BOX 140324                                                                                                                  ARECIBO              PR           00614

   723110 MILDRED HERNANDEZ MIRANDA PO BOX 3574                                                                                                                     VEGA ALTA            PR           00692‐3274
   723111 MILDRED HERNANDEZ ROSA    HC 1 BOX 3376 BOX 17                                                                                                            CAMUY                PR           00627
   723113 MILDRED I BAEZ SANCHEZ    URB DEL ALBA                                  CALLE LUNA 10703                                                                  VILLALBA             PR           00765
   333791 MILDRED I BRANA DAVILA    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   333793 MILDRED I MUÐOZ TORRES    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   333794 MILDRED I MUNOZ TORRES    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   723114 MILDRED I PEREZ LOPEZ                       232 AVE ELEONOR ROOSEVELT                                                                                     SAN JUAN             PR           00907
   723115 MILDRED I RAMOS MARTINEZ                    VILLAS DE SAN AGUSTIN       O 33 CALLE 10                                                                     BAYAMON              PR           00959
   723116 MILDRED I SALABERRIOS                       11 AVE SAN LUIS INT                                                                                           ARECIBO              PR           00612‐3846
   723117 MILDRED I SANTOS TORRES                     P O BOX 2400 SUITE 122                                                                                        TOA BAJA             PR           00951
   723118 MILDRED I TORRES                            D 12 URB LOS CERROS                                                                                           ADJUNTAS             PR           00601
   333796 MILDRED IGLESIAS CINTRON                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MILDRED IVELLISSE GOMEZ
   333798 VAZQUEZ                                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
          MILDRED J BETANCOURT
   333799 SANJURJO                                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   333800 MILDRED J COLLAZO RODRIGUEZ REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   333801 MILDRED J RODRIGUEZ         REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   723119 MILDRED J VALENTIN APONTE   VICTOR ROJAS II                             70 CALLE 13                                                                       ARECIBO              PR           00612
   333802 MILDRED J. APONTE           REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED
   333803 MILDRED J. CARRERO          REDACTED                                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED

   333804 MILDRED J. GONZALEZ RIVERA                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED     REDACTED      REDACTED




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   333806 MILDRED JIMENEZ MALDONADO REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723121 MILDRED JOURNET MERLE     BO SANTURCE                                263 GAJATE                                                                             MAYAGUEZ            PR           00680
   333807 MILDRED JUARBE VAZQUEZ    REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723122 MILDRED K CASTRO` ALICEA  URB VERDE MAR                              286 CALLE 15                                                                           HUMACAO             PR           00741
   723123 MILDRED L COLLAZO ROBLES  RES JARDINES DE CAPARRA                    EDIF 11 APT 229                                                                        BAYAMON             PR           00959
   723124 MILDRED L GUZMAN RIVERA   URB CAMBRIDGE PARK                         C 1 CALLE CHESTNUT HILLS                                                               SAN JUAN            PR           00926
   333808 MILDRED L NIEVES SANTIAGO REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723125 MILDRED L SANTANA MEJIAS  PO BOX 51951                                                                                                                      TOA BAJA            PR           00950‐1951
   723126 MILDRED L ZAYAS LOPEZ     BOX 1794                                                                                                                          LAS PIEDRAS         PR           00771
   333809 MILDRED L. VELEZ LOPEZ    REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723127 MILDRED LA SANTA RIVERA   HC R 764 BOX 6385                                                                                                                 PATILLAS            PR           00723
   723129 MILDRED LAGARES PAGAN     LA GRANJA NUM 144                                                                                                                 UTUADO              PR           00641
   333810 MILDRED LARA MARSUAH      REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   723131 MILDRED LAUREANO HERRERA                    LOS ROBLES               K 9 CALLE 4                                                                            GURABO              PR           00778
   333811 MILDRED LEBRON                              REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333812 MILDRED LEBRON DIAZ                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723132 MILDRED LEGARRETA PEREZ                     EXT VILLA LOS SANTOS I   53 CALLE FLAMBOYAN                                                                     ARECIBO             PR           00612
                                                                               COND INTERSUITE APTDO 6 F
   723133 MILDRED LIBOY MUNOZ                         LOS ANGELES              CALLE MAR                                                                              CAROLINA            PR           00985
   723134 MILDRED LLUCH CARMONA                       GOLDEN GATE              469 AMATISTA                                                                           GUAYNABO            PR           00968
   333813 MILDRED LOPEZ MENDEZ                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723135 MILDRED LOPEZ MORALES                       BO JOBOS                 4 SEC LA SIERRA BUZ                                                                    ISABELA             PR           00662
   333814 MILDRED LOPEZ PAGAN                         REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723137 MILDRED LOPEZ SANTIAGO                      4 CALLE DOS DE MAYO                                                                                             PONCE               PR           00731
   723138 MILDRED LOPEZ SOLARES                       HC 02 BOX 4849                                                                                                  COAMO               PR           00769
   333815 MILDRED LUGO JIMENEZ                        REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   333816 MILDRED M AMADOR QUINONES REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   723140 MILDRED M APONTE SANCHEZ                    URB VALENCIA             515 BAGUR                                                                              SAN JOSE            PR           00923

   333818 MILDRED M CASTILLO SANTANA REDACTED                                  REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   723141 MILDRED M CORDERO RIVERA                    PO BOX 744                                                                                                      COTTO LAUREL        PR           00780
          MILDRED M LOPEZ/ ROLANDO
   333819 LOPEZ                                       REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333820 MILDRED M RIVERA RIVERA                     REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   333821 MILDRED M SANCHEZ MIRANDA REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   723142 MILDRED MADURO DE NUNEZ                     P O BOX 778                                                                                                     CATA¨O              PR           00963

   333822 MILDRED MALDONADO CACIANO REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILDRED MALDONADO
   333823 ECHEVARRIA                REDACTED                                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   333825 MILDRED MALDONADO RIVERA                    REDACTED                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   333826 MILDRED MALDONADO SUAREZ REDACTED                                    REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   333828 MILDRED MARI ORTIZ SANTIAGO REDACTED                                 REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  723144 MILDRED MARIN BENITEZ                        3RA EXT VILLA CAROLINA         96‐1 CALLE 95                                                                        CAROLINA              PR         00985
  333829 MILDRED MARQUEZ MATOS                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
         MILDRED MARRERO                              BO ESPINOSA SECTOR FORTUNA
  723145 MALDONADO                                    COND                           679 HM 0 INT                                                                         VEGA ALTA             PR         00692
  333830 MILDRED MARTIEZ LOPEZ                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  723147 MILDRED MARTINES JIMENEZ                     PO BOX 462                                                                                                          UTUADO                PR         00641
  333831 MILDRED MARTINEZ                             REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  333832 MILDRED MARTINEZ CRUZ                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
  723149 MILDRED MARTINEZ MEDINA                      HC 3 BOX 92202                                                                                                      ARECIBO               PR         00612‐9536
  723151 MILDRED MARTINEZ RIVERA                      HC 3 BOX 13881                                                                                                      UTUADO                PR         00641
  723152 MILDRED MARTINEZ ROSARIO                     URB FLAMINGO HILLS             N 21 APT 4 CALLE 12                                                                  BAYAMON               PR         00957
  333833 MILDRED MATIAS CABRERA                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   333835 MILDRED MELENDEZ SANCHEZ                    REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   723154 MILDRED MENDEZ VELEZ                        P M B 149 BOX 1283                                                                                                  SAN LORENZO           PR         00754
   333837 MILDRED MERCADO VALLE                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   333838 MILDRED MERCED ACEVEDO                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   723156 MILDRED MERCED ALGARIN                      URB LOURDES                    684 BERNADETTE                                                                       TRUJILLO ALTO         PR         00976
   723158 MILDRED MOJICA GONZALEZ                     HC 59 BOX 5899                                                                                                      AGUADA                PR         00602
   723159 MILDRED MOLINA IRIZARRY                     URB CAMINO DEL SOL             1005 CALLE CAMINO VERDE                                                              VEGA BAJA             PR         00693
   333839 MILDRED MOLINA ROSADO                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED

   723160 MILDRED MONSERRATE NEGRON 750 SOUTH 16 TH ST                               1st FLOOR                                                                            NEWARK                NJ         07103
   333840 MILDRED MONTANEZ RIVERA   REDACTED                                         REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
          MILDRED MONTEMAINO
   333842 LUCIANO                   REDACTED                                         REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   723161 MILDRED MORALES GUZMAN    COND COSTA DEL SOL                               BOX 23105                                                                            CAROLINA              PR         00979
   723162 MILDRED MORALES LEON      P O BOX 913                                                                                                                           SAINT JUST            PR         00978

   723007 MILDRED MORALES RODRIGUEZ A 5 CALLE VILLA MARIA                                                                                                                 TOA ALTA              PR         00953

   723163 MILDRED MORALES RODRIGUEZ                   URB TORRIMAR ESTATES           E7 CALLE SUNSET                                                                      GUAYNABO              PR         00969
   723164 MILDRED MULERO MARTINEZ                     MONTONES 1 APRIL GARDENS       BOX 21                                                                               LAS PIEDTAS           PR         00771
   333843 MILDRED MUNIZ OTERO                         REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   333844 MILDRED MUNOZ CAMACHO                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   723165 MILDRED N RIVERA ANDUJAR                    URB ESTANCIAS DEL RIO          2086 CALLE CAMELIA                                                                   SABANA GRANDE         PR         00637

   723170 MILDRED NEGRON NEGRON                       URB VALLE ARRIBA HEGHTS S 13   CALLE LAUREL                                                                         CAROLINA              PR         00983
   723171 MILDRED NEGRON ORTIZ                        HC 01 BOX 13662                                                                                                     CABO ROJO             PR         00623
   333848 MILDRED NIEVES GONZALEZ                     REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   333849 MILDRED NIEVES OSORIO                       REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   333850 MILDRED NIEVES RAMOS                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
          MILDRED NOEMI PADILLA
   333851 FLORES                                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
          MILDRED NOEMI PADILLA
   723172 TORRES                                      COUNTRY CLUB                   M Q 28 CALLE 428                                                                     CAROLINA              PR         00982
   333852 MILDRED OPPENHEIMER                         REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   723177 MILDRED OQUENDO RIVERA                      SABANA SECA STATION            PO BOX 67                                                                            TOA BAJA              PR         00952
   723178 MILDRED ORTIZ CLAS                          SANS SUCI                      T 24 CALLE 15                                                                        BAYAMON               PR         00957
   723179 MILDRED ORTIZ MARRERO                       BO GALATEO CENTRO              CARR 804                                                                             TOA ALTA              PR         00953
   333854 MILDRED ORTIZ RIVERA                        REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED
   723182 MILDRED OSTOLAZA GERENA                     A 27 URB VILLA SERAL                                                                                                LARES                 PR         00669
   333855 MILDRED OSTOLAZA TAPIA                      REDACTED                       REDACTED                  REDACTED                            REDACTED               REDACTED              REDACTED   REDACTED     REDACTED



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  333856 MILDRED OTERO MELENDEZ                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  723184 MILDRED OYOLA CRUZ                           PO BOX 141853                                                                                                     ARECIBO             PR         00614
  333857 MILDRED PABON MARTINEZ                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  333858 MILDRED PABON SANTIAGO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  333859 MILDRED PACHECO ARROYO                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   723185 MILDRED PADILLA RODRIGUEZ                   PARC BARINAS               303 CALLE GILBERTO SILVA                                                               YAUCO               PR         00698
   723186 MILDRED PADILLA SULLIVAN                    VILLA CARIDAD              B 65 CALLE COLON                                                                       CAROLINA            PR         00985

   723189 MILDRED PEDRAZA CARTAGENA URB DORADO                                   C8 CALLE GARDENIA                                                                      GUAYAMA             PR         00784
   333860 MILDRED PENA CARRION      REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   723190 MILDRED PEREZ CORDERO                       URB SAN JOSE               1239 CALLE MANUEL A BARRETO                                                            MAYAGUEZ            PR         00680
   333861 MILDRED PEREZ GARCIA                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   723008 MILDRED PEREZ GARCIA                        PO BOX 932                                                                                                        HATILLO             PR         00659
   723191 MILDRED PEREZ LAMOURT                       HC 03 BOX 27787                                                                                                   SAN SEBASTIAN       PR         00685
   723192 MILDRED PEREZ LOPEZ                         3045 VILLA AVENUE APT 32                                                                                          BRONX               NY         10468
   723193 MILDRED PEREZ PACHECO                       SAN FERNANDO VILLAGE       B 110 AVE 65 INFANTERIA                                                                CAROLINA            PR         00987
   723194 MILDRED PEREZ ROBLES                        P O BOX 8759                                                                                                      PONCE               PR         00732‐8759
   723195 MILDRED PEREZ RODRIGUEZ                     URB LAS GAVIOTAS           E26 CALLE REAL                                                                         TOA BAJA            PR         00949
   333863 MILDRED PEREZ SANTOS                        REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   723196 MILDRED PIZARRO BROWN                       P O BOX 123                                                                                                       LOIZA               PR         00772
   333864 MILDRED QUINONES NEGRON                     REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   333865 MILDRED QUINONES PACHECO                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   333866 MILDRED QUINTANA MONTANEZ REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   723198 MILDRED QUINTERO          1452 AVE ASHFORD                                                                                                                    SAN JUAN            PR         00907
   333867 MILDRED R LUCIANO ROMAN   REDACTED                                     REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   723200 MILDRED RAMOS GUZMAN      P O BOX 10528                                                                                                                       SAN JUAN            PR         00922‐0528
   723201 MILDRED RAMOS LOPEZ       BOX HC 01 2496                                                                                                                      LOIZA               PR         00772

   723202 MILDRED RAMOS MEDINA                        COND FONTANA TOWER APT 110                                                                                        CAROLINA            PR         00982
   723203 MILDRED RAMOS ROSA                          PO BOX 153                                                                                                        ARROYO              PR         00714
   723204 MILDRED RAMOS TORRES                        J 5 CALLE TURQUESA                                                                                                YAUCO               PR         00698‐2800
   723205 MILDRED RATCLIFFE                           PALMAS PLANTATION          114 FAIRWAY DRIVE                                                                      HUMACAO             PR         00791

   723208 MILDRED REYES IRIZARRY                      URB RAMIREZ DE ARELLANO    14 CALLE RAFAEL HERNANDEZ                                                              MAYAGUEZ            PR         00680
   723209 MILDRED REYES RIVERA                        PO BOX 642                                                                                                        GUAYAMA             PR         00785
   333869 MILDRED RIOS LOPEZ                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   333870 MILDRED RIOS PEREZ                          REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   333871 MILDRED RIOS RIVERA                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   723212 MILDRED RIVERA                              QUINTAS DE MONSERRATE      B 2 CALLE A                                                                            PONCE               PR         00730
   723009 MILDRED RIVERA ARROYO                       URB LOMAS VERDES           3 P 3 CALLE GIRASOL                                                                    BAYAMON             PR         00956
   333872 MILDRED RIVERA CRUZ                         REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   333873 MILDRED RIVERA MALDONADO                    REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   723214 MILDRED RIVERA MATOS                        BO MEDIANIA BAJA           SECTOR HONDURAS                                                                        LOIZA               PR         00772
   723216 MILDRED RIVERA REYES                        PO BOX 207                                                                                                        QUEBRADILLAS        PR         00678
   723217 MILDRED RIVERA RIVERA                       PO BOX 4447                                                                                                       MAYAGUEZ            PR         00681‐4447
   723220 MILDRED RIVERA TORRES                       150 JESUS CORTES TORRES                                                                                           ARECIBO             PR         00612
   333875 MILDRED RIVERA VARGAS                       REDACTED                   REDACTED                    REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   723222 MILDRED ROBLES QUIANES                      COLINAS METROPOLITANAS     J 6 CALLE TORRECILLAS                                                                  GUAYNABO            PR         00969



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  333876 MILDRED RODRIGUEZ                            REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  333877 MILDRED RODRIGUEZ BAUZA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MILDRED RODRIGUEZ
  333878 CARRASQUILLO                                 REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  723224 MILDRED RODRIGUEZ COLON                      PO BOX 2503                                                                                                   GUAYAMA             PR         00785
  333879 MILDRED RODRIGUEZ CUETO                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  333880 MILDRED RODRIGUEZ FELIU                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
         MILDRED RODRIGUEZ
  723225 MALDONADO                                    HC 01 BOX 5877                                                                                                HATILLO             PR         00659

   723226 MILDRED RODRIGUEZ PADILLA                   URB SANTA JUANITA           WP 6 CALLE CORCEGA                                                                BAYAMON             PR         00956

   723227 MILDRED RODRIGUEZ PIZARRO                   HP ‐ CALIDAD DE SERVICIOS                                                                                     RIO PIEDRAS         PR         009360000

   723228 MILDRED RODRIGUEZ POMALES P O BOX 129                                                                                                                     SANTA ISABEL        PR         00757
   333882 MILDRED ROMAN MAISONET    REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
                                                                                  536 PARCELAS NUEVAS
   723231 MILDRED ROMAN MONTALVO                      BO CARRIZALEZ               CARRIZALES                                                                        HATILLO             PR         00659
   723232 MILDRED ROSA RIVERA                         HC 01 BOX 6232                                                                                                JUNCOS              PR         00777‐9711

   723234 MILDRED ROSARIO MELENDEZ                    PO BOX 21365                                                                                                  SAN JUAN            PR         00928
   723235 MILDRED ROSARIO ORTIZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   723236 MILDRED RUIZ                                SAN CLAUDIO MAIL STATION    352 SUITE 348                                                                     SAN JUAN            PR         00926
   723237 MILDRED RUIZ CRUZ                           SAN CLAUDIO MAIL STATION    352 SUITE 348                                                                     SAN JUAN            PR         00926
   333884 MILDRED RUIZ MEDINA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   723239 MILDRED RUIZ REYES                          SANTA JUANA II              F 11 CALLE 3                                                                      CAGUAS              PR         00725
   333887 MILDRED RUIZ VAZQUEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   723241 MILDRED S GONZALEZ ROBLES                   PO BOX 3292                                                                                                   ARECIBO             PR         00613‐3292

   333888 MILDRED S RODRIGUEZ RIVERA                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   723242 MILDRED SALCEDO GARCIA                      6 CALLE MANUEL RODRIGUEZ                                                                                      LAJAS               PR         00667
   333889 MILDRED SANTANA NEGRON                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   723244 MILDRED SANTIAGO COLON                      URB ALTURAS DE SAN PEDRO    K 15 SAN MARTIN                                                                   FAJARDO             PR         00758
   723245 MILDRED SANTIAGO DURAN                      URB LA MARINA               R 31 CALLE 1                                                                      CAROLINA            PR         00979
          MILDRED SANTIAGO
   723246 MALDONADO                                   URB FAIR VIEW G 34          CALLE 17                                                                          SAN JUAN            PR         00926
   723248 MILDRED SANTIAGO ORTIZ                      COOP SAN IGNACIO            APT 140‐3 B                                                                       SAN JUAN            PR         00927
   333890 MILDRED SANTOS ROSA                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   333891 MILDRED SAUNDERS TORRES                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   333893 MILDRED SEGUNDO DIAZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   723250 MILDRED SERRANO BURGOS                      HC 01 BOX 4149                                                                                                VILLALBA            PR         00766

   333894 MILDRED SERRANO GONZALEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MILDRED SIUIKO GARCIA
   723251 RAMIREZ                                     URB PUERTO NUEVO            623 CALLE ARTICO                                                                  SAN JUAN            PR         00920
   333895 MILDRED SOSA RAMOS                          REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   723252 MILDRED SOTO NOVOA                          URB BUENA VISTA             18 CALLE 2A                                                                       LARES               PR         00669
   723253 MILDRED SOTO ORTIZ                          URB VILLAS DE RIO GRANDE    BLQ Z 2 CALLE 20                                                                  RIO GRANDE          PR         00745
          MILDRED SOTOMAYOR
   723255 BOURBON                                     VALLE ARRIBA HEIGHTS        A 6 8 CALLE PINO                                                                  CAROLINA            PR         00983
   723256 MILDRED SUREN FUENTES                       P O BOX 190917                                                                                                SAN JUAN            PR         00919‐0917




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   333896 MILDRED T ARCHILLA BERROCAL REDACTED                                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   333897 MILDRED TAVAREZ MONTANEZ                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333898 MILDRED TORRES                              REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723258 MILDRED TORRES ALVARES                      URB SIERRA BAYAMON      BLOQUE 74 21 CALLE 63                                                               BAYAMON             PR           00960
   333899 MILDRED TORRES ANDINO                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723259 MILDRED TORRES CENTENO                      HC 01 BOX 6840                                                                                              ARECIBO             PR           00616
   723260 MILDRED TORRES DIAZ                         1 CALLE CAMPITO                                                                                             AGUAS BUENAS        PR           00703
   723262 MILDRED TORRES PEREZ                        RES VISTA HERMOSA       EDF 3 APT 31                                                                        RIO PIEDRAS         PR           00921

   723264 MILDRED TORRES RODRIGUEZ                    BUENAVENTURA            280 CALLE CLAVEL                                                                    CAROLINA            PR           00987
   723265 MILDRED TORRES RUIZ                         PARC POLVORIN 53        CALLE LAS FLORES                                                                    CAYEY               PR           00736
   333900 MILDRED TORRES SANTIAGO                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333901 MILDRED TORRES TORRES                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333902 MILDRED TORRES VAZQUEZ                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   723267 MILDRED TORRES VELAZQUEZ                    P O BOX 821                                                                                                 HORMIGUERO          PR           00660
   723268 MILDRED TRUJILLO ORTEGA                     4406 COND CAMELOT       140 CARR 842                                                                        SAN JUAN            PR           00926
   333904 MILDRED ULMO SOSA                           REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333905 MILDRED URBISTONDO SOTO                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333906 MILDRED V SEGARRA                           REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333907 MILDRED VALENTIN ALVAREZ                    REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   723271 MILDRED VARGAS CABALLERO                    PO BOX 185                                                                                                  BARCELONETA         PR           00617‐0185
   333908 MILDRED VARGAS LORENZO                      REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333909 MILDRED VAZQUEZ ALGARIN                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333911 MILDRED VAZQUEZ FONSECA                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723272 MILDRED VAZQUEZ NIEVES                      PO BOX 11761                                                                                                SAN JUAN            PR           00910‐2861
   333912 MILDRED VEGA CANCEL                         REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   333913 MILDRED VELAZQUEZ SERRANO                   REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723273 MILDRED VELEZ EXIA                          1914 AVE LAS AMERICAS                                                                                       PONCE               PR           00728‐1813
   723274 MILDRED VELEZ MEDINA                        JARDINES DEL CARIBE     S 9 CALLE 23                                                                        PONCE               PR           00731
   723275 MILDRED VICENS GONZALEZ                     D 21 JESUS MARIA LAGO                                                                                       UTUADO              PR           00641
   723276 MILDRED VILLAFANE ARROYO                    PO BOX 2343                                                                                                 ARECIBO             PR           00613
   723277 MILDRED WICHY BERDEGUEZ                     VILLA CAROLINA          C/67 BQ 119 #17                                                                     CAROLINA            PR           00985
   723278 MILDRED WILLIAMS VAZQUEZ                    URB FAJARDO GARDENS     M 14 CALLE 10                                                                       FAJARDO             PR           00738
   333914 MILDRED Y BURGOS CRUZ                       REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723279 MILDRED Y FIGUEROA RIOS                     REDACTED                REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   333915 MILDRED Y LAI Y MELBA Y FORTIS REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333916 MILDRED Y. ORTIZ MATIAS        REDACTED                             REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   333917 MILDRED YAMBO MALDONADO REDACTED                                    REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILDRED Z RODRIGUEZ
   333918 HERNANDEZ                    REDACTED                               REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723282 MILDRED ZAYAS VEGA           HC 3 BOX 11920                                                                                                             JUANA DIAZ          PR           00795
          MILDREDA ESPINOSA DBA VIAJES
   333919 TROPICO                      PO BOX 3893                                                                                                                GUAYNABO            PR           00970
          MILDRELINA GONZALEZ
   723283 CARABALLO                    BDA GUAYDIA                            185 C/ RODOLFO PASCUAL                                                              GUAYANILLA          PR           00656




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   723284 MILDRES L MULERO MORALES                    HC 33 BOX 5359                                                                                                    DORADO              PR           00646
   723285 MILDRET ALERS MILET                         HC 01 BOX 39993                                                                                                   LARES               PR           00669
   333920 MILEANA FIGUEROA LUGO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723286 MILEDDY GARCIA MELENDEZ                     HC 67 BOX 17863                                                                                                   FAJARDO             PR           00738
   723287 MILEDY RIVEIRO TORRES                       HC 1 BOX 15726                                                                                                    CABO ROJO           PR           00623
   723288 MILEDY ROSARIO PAULINO                      RR 36 BZN 8314                                                                                                    SAN JUAN            PR           00926
   333921 MILEDYS A ROSARIO GARCIA                    REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333922 MILEDYS M ARIAS REYES                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333923 MILEIDY ORTIZ MERCADO                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723291 MILEIDY PEREZ TORRES                        BO VEGA AMBA 1074                                                                                                 ADJUNTA             PR           00601
   723292 MILEIDY RIVERA PAGAN                        SABANAS ENEAS                 CALLE 12 PARCELA 358                                                                SAN GERMAN          PR           00683
   723293 MILEIKA CARRION                             VILLA PALMERAS                300 CALLE FLORES                                                                    SAN JUAN            PR           00907
   333924 MILEINE ZAYAS PEREZ                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333925 MILEINY RIVERA SOTO                         REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333926 MILEIZA SANTOS GARCIA                       REDACTED                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723294 MILENA HENZLOVA                             1 GUSTAVE LEVY PL/BUP 3000                                                                                        NEW YORK            NY           10029
   723295 MILENA PEREZ JOGLAR                         251 CALLE LUNA                APT C 3 VIEJO SAN JUAN                                                              SAN JUAN            PR           00901

   723296 MILENA TEJADA SOTO                          COND SANTA MARIA II APT 602                                                                                       SAN JUAN            PR           00924
   723297 MILENIUM PHOTO COLOR                        656 CALLE FIGUEROA            SUITE 101                                                                           SAN JUAN            PR           00907

   723298 MILERSIE FIGUEROA HERNANDEZ PARCELAS FALU                                 510 CALLE 21                                                                        RIO PIEDRAS         PR           00924
   333929 MILERYS PIZARRO SANTANA     REDACTED                                      REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723299 MILES MOUNTAIN              P O BOX 3777                                                                                                                      LAWRENCE            KS           66046‐0777
   723300 MILES OVERSEAS INC.         PO BOX 11848                                                                                                                      SAN JUAN            PR           00922

   723301 MILESTONE COMMUNICATION P O BOX 270179                                                                                                                        SAN JUAN            PR           00927‐0179
          MILESTONE COMMUNICATIONS,
   333932 INC                       PO BOX 270179                                                                                                                       SAN JUAN            PR           00927
   723302 MILETTE ALEGRE LOPEZ      URB METROPOLIS                                  I 27 CALLE 11                                                                       CAROLINA            PR           00987
   723303 MILEX OF P R              P O BOX 360554                                                                                                                      SAN JUAN            PR           00936 0554
   333944 MILEXSIS SEPULVEDA        REDACTED                                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333945 MILEXY Y CORTES LOPEZ     REDACTED                                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723304 MILEYDI ROSA RIVERA       APARTADO 703                                                                                                                        NARANJITO           PR           00719
   723305 MILEYKA CABRERA NIEVES    URB CERRO MONTES                                C 17 CALLE 3                                                                        COROZAL             PR           00783
   333946 MILEYNIE MEDINA GARCIA    REDACTED                                        REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   333947 MILEYSHA MELENDEZ MELENDEZ REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333948 MILEYSHA Y LUGO BERNARD    REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333949 MILEYSHKA M BAEZ SANTANA   REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333950 MILEYZKA RIVERA            REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   333951 MILFORD HOSPITAL           PO BOX 19072                                                                                                                       GREEN BAY           WI           54307‐9072
   333973 MILIAN GONZALEZ, MIGDALIA  REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILIANETTE CARABALLO
   333994 MARTINEZ                   REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                     136 D CALLE JOSE PARES
   723307 MILIANETTE MARTINEZ DAVILA BARAHONA                                                                                                                           MOROVIS             PR           00687
   333995 MILIANGELI RAMOS COLON     REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILIANIE M MALDONADO
   333996 GEIGEL                     REDACTED                                       REDACTED                 REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723308 MILIANNY SANTIAGO RIVERA   URB MONTE VISTA                                C 24 CALLE 2                                                                        FAJARDO             PR           00738
   723309 MILIE ALVAREZ JIMENEZ      BO VIGIA                                                                                                                           ARECIBO             PR           00612



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   723310 MILIGSA AVILES VELEZ                        232 AVE ELEONOR ROOSEVELT                                                                                     SAN JUAN            PR           00907
   723311 MILIHELIA SOTO                              RR 1 BOX 41238                                                                                                SAN SEBASTIAN       PR           00685
   333998 MILINES JOVE RODRIGUEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   333999 MILINES RODRIGUEZ MELENDEZ                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723314 MILISSA DIAZ PEREZ                          PO BOX 2830                                                                                                   BAYAMON             PR           00961
          MILITARY ORDER PURPLE HEART
   334000 USA                                         HC 06 BOX 10240                                                                                               HATILLO             PR           00659‐6629
   334001 MILITHZA ORTIZ BERMUDEZ                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MILITOS AUTO GLASS AND
   723315 SOUND CENTER                                HC 1 BOX 5269                                                                                                 MOCA                PR           00676
   723316 MILITZA ARZOLA LOPEZ                        PARQUE PUNTA SALINAS        PB 12 PLAZA DEL LAGO                                                              TOA BAJA            PR           00949
   723317 MILITZA AYALA CIRINO                        HC 1 BOX 4077                                                                                                 LOIZA               PR           00772
   723318 MILITZA CABRERA PIZARRO                     PO BOX 6681                                                                                                   BAYAMON             PR           00960
   334002 MILITZA CASTRO MORALES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723320 MILITZA CORTES MACHADO                      RUTA 475 BUZ 370                                                                                              ISABELA             PR           00662
   334003 MILITZA DE JESUS DE JESUS                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334004 MILITZA DIAZ GONZALEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334005 MILITZA ECHEVARRIA CALIZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   723321 MILITZA GARCIA ROSARIO                      URB COVADONGA BO PAYASO     CALLE QUIROX BOX 25                                                               TOA BAJA            PR           00949
   723322 MILITZA GOMEZ RAMIREZ                       BO SANTA ROSA I             CARR 8 37 KM 1 8                                                                  GUAYNABO            PR           00971
          MILITZA HERNANDEZ / CALE J
   723323 FERNANDEZ                                   URB LEVITTOWN LAKES         J 17 C/ MIRNA                                                                     TOA BAJA            PR           00949‐4551

   723324 MILITZA HERNANDEZ MEDERO                    URB SAN JOSE                212 CALLE CANILLA                                                                 SAN JUAN            PR           00923
   723325 MILITZA I VARGAS RUIZ                       RES COLUMBUS LANDING        EDIF 20 APT 212                                                                   MAYAGUEZ            PR           00682
   723326 MILITZA LOPEZ MATEO                         P O BOX 1750                                                                                                  AIBONITO            PR           00705
   334006 MILITZA MONSERRATE REYES                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723327 MILITZA MORALES RIVERA                      HC 1 BOX 11032                                                                                                LAJAS               PR           00667

   334007 MILITZA PACHECO MAYSONET                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334008 MILITZA PAGAN QUINONES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723328 MILITZA PEREZ NEGRON                        REPARTO SEVILLA             892 CALLE RABEL                                                                   SAN JUAN            PR           00932
   334010 MILITZA PINERO ACOSTA                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   334011 MILITZA PONCE DE LEON CRESPO REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334012 MILITZA RIOS LA LUZ          REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334013 MILITZA RIVERA RIOS          REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723329 MILITZA RIVERA SANTIAGO      APARTADO POSTAL 765                                                                                                          HUMACAO             PR           00791
   723330 MILITZA RODRIGUEZ DIAZ       HC 3 BOX 7885                              BO PALO HINCADO                                                                   BARRANQUITAS        PR           00794
   723331 MILITZA RODRIGUEZ GARCED     HC 1 BOX 7845                                                                                                                AGUAS BUENAS        PR           00703
   723333 MILITZA ROSARIO GALINDEZ     92 BO CANTERA                                                                                                                MANATI              PR           00674
   723335 MILITZA SANTOS ROLON         BO PARCELAS VAZQUEZ                        HC 01 BOX 7928                                                                    SALINAS             PR           00751
   723336 MILITZA SOTO ACOSTA          PO BOX 1                                                                                                                     PONCE               PR           00611
   334015 MILITZA VELEZ SOTO           REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334016 MILITZA VENEGAS OCASIO       REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334018 MILITZALY PEREZ FELICIANO    REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334019 MILITZIE RIVERA VILLEGAS     REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723337 MILIVELY ORTIZ VAZQUEZ       HC 45 BOX 14167                                                                                                              CAYEY               PR           00736
   723338 MILIVIA RIVERA RIVERA        CALLE PONTEVEDRA M‐49                      URB VILLA ESPA¥A                                                                  BAYAMON             PR           00959
   334020 MILIXZA MUNIZ CEDENO         REDACTED                                   REDACTED               REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  334021 MILJAN I ROSADO SANTIAGO                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  723340 MILKA DEL VALLE ACOSTA                       PO BOX 268                                                                                                              BOQUERON          PR         OO622
  334022 MILKA E GONZALEZ MORALEZ                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  723341 MILKA I DIAZ RODRIGUEZ                       RIO HONDO 2                   AL 15 RIO LAJAS                                                                           BAYAMON           PR         00961

   334024 MILKA IVELISSE RIVERA RIVERA                REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   334025 MILKA L SERRANO RODRIGUEZ                   REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   723346 MILKA M BOSH                                BO SALTILLO                   58 CALLE JOAQUIN M ANDINO                                                                 ADJUNTAS          PR         00601
   334027 MILKA M QUINONES DE LEON                    REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334028 MILKA M ROMAN FERRER                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334029 MILKA M. JIMENEZ RIVERA                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723347 MILKA MONTALVO VARGAS                       H C 01 BOX 10271                                                                                                        CABO ROJO         PR         00623
   723348 MILKA N COLON MELENDEZ                      URB VILLA ROSALES D 7                                                                                                   AIBONITO          PR         00705
   334030 MILKA N MARRERO IRIZARRY                    REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334031 MILKA N. GARCIA RODRIGUEZ                   REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334032 MILKA ORRIOLS LOPEZ                         REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723349 MILKA PEREZ ALVARADO                        HC 1 BOX 5357                                                                                                           BARRANQUITAS      PR         00794
   334033 MILKA R. GARCIA MARTINEZ                    REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334034 MILKA RAMIREZ MENDEZ                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723351 MILKA SHAPIRO MIRANDA                       1202 AVE MAGDALENA            APT 402                                                                                   SAN JUAN          PR         00907
   723352 MILKA Y FUENTES OSORIO                      LOIZA VALLEY                  U 802 CALLE PENSAMIENTOS                                                                  CANOVANAS         PR         00729
          MILKA Y GONZALEZ
   334036 MALDONADO                                   REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334037 MILKA Y. FUENTES OSORIO                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723353 MILKAN N REYES                              PO BOX 1694                                                                                                             UTUADO            PR         00641
          MILKANYELIZ ROSADO
   334038 MONTANEZ                                    REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334042 MILLAD TORRES, LIS M                        REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   334049 MILLAN APONTE MD, ISMENIO                   REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   723354 MILLAN CONSTRUCTION CORP                    P O BOX 9066000                                                                                                         SAN JUAN          PR         00906 6000
   723355 MILLAN GARCIA                               PO BOX 145200                                                                                                           ARECIBO           PR         00613
   334146 MILLAN J. GARCIA CUEVAS                     REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334153 MILLAN LOPEZ, EDWIN I                       REDACTED                      REDACTED                       REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334360 MILLAR ELEVATOR SERV CO                     PO BOX 6899                                                                                                             BAYAMON           PR         00960
                                                                                    ANEXO 500 EDIF. CC CELDA 261
  1420618 MILLAYES NIEVES, JOHN                       PRO SE JOHN MILLAYES NIEVES   PO BOX 10005                                                                              GUAYAMA           PR         00785
   334378 MILLCO ADVISORS LP                          1717 PENNSYLVANIA AVE NW                                                                                                WASHINGTON        DC         20006
   334379 MILLCREEK                                   5515 PEACH ST                                                                                                           ERNIE             PA         16509
   723356 MILLEAUX CHEMICAL CORP                      PO BOX 11585                                                                                                            SAN JUAN          PR         00922‐1585
   723357 MILLED A CANCEL CASIANO                     PO BOX 44                                                                                                               GUANICA           PR         00653
          MILLENIA PARK ALAMEDA
   334380 TOWERS                                      P.O. BOX 193539                                                                                                         SAN JUAN          PR         00919‐0000

   723358 MILLENIUM 3 PRODUCTIONS                     COND NORTE PLAZA SUITE 703    219 CALLE ROSARIO                                                                         SAN JUAN          PR         00912

   334381 MILLENIUM ADVERTISING, INC                  P.O. BOX 16784                                                                                                          SAN JUAN          PR         00908‐6784
   334382 MILLENIUM AMBULANCE                         PO BOX 1517                                                                                                             RINCON            PR         00677
          MILLENIUM BEATY ACADEMY
   723359 INC                                         PO BOX 1000                                                                                                             HATILLO           PR         00659‐1000



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          MILLENIUM CLEANING MASTER
   723360 INC                                         PMB SUITE 310                  90 AVE RIO HONDO                                                           BAYAMON               PR           00961‐3113
   723361 MILLENIUM COMPUTER                          308 AVE DOMENECH                                                                                          SAN JUAN              PR           00918

   723362 MILLENIUM CONTRACTOR INC                    352 AVE SAN CLAUDIO STE 261                                                                               SAN JUAN              PR           00926
          MILLENIUM EDUCATIONAL                       CALLE JOSE REGUERO 2 #72
   334383 SERVICES                                    BAIROA PARK                                                                                               CAGUAS                PR           00727
          MILLENIUM FIRE PROTECTION
   334384 INC                                         PO BOX 7719 BO OBRERO STA                                                                                 SAN JUAN              PR           00916‐7719
   723363 MILLENIUM FLOWERS                           FOREST HILLS                   G 5 CALLE 15                                                               BAYAMON               PR           00959
   334385 MILLENIUM MEDICAL                           PO BOX 6598                                                                                               BAYAMON               PR           00960‐5598

   723364 MILLENIUM MEDICAL SERVICES                  P O BOX 619                                                                                               NARANJITO             PR           00719
          MILLENIUM PAINTERS
   334386 CONTRACTOR INC                              CITY VIEW PLAZA II             48 CARR 165 SUITE 2000                                                     GUAYNABO              PR           00968‐8000
          MILLENIUM PAINTERS
   334387 CONTRACTORS                                 PO BOX 29902                                                                                              SAN JUAN              PR           00929‐0902
                                                                                     PQUE ECUESTRE JR J9 CALLE
   334388 MILLENIUM PARTY & GIFT SHOP D/B/A/ CARNAVAL RENTAL                         GALCO                                                                      CAROLINA              PR           00987
          MILLENIUM PEST MANAGEMENT
   334389 INC                         SUNSET VIEW SUITE 105 A                        AVE LOS FILTROS                                                            BAYAMON               PR           00959
          MILLENIUM PEST MANAGEMENT
   334390 INC.                        SUNSET VIEW 105‐A                              AVE. LOS FILTROS                                                           BAYAMON               PR           00959

   723365 MILLENIUM PHOTO COLOR                       656 CALLE FIGUEROA SUITE 101                                                                              SAN JUAN              PR           00907

   334391 MILLENIUM PHYSICIAN GROUP ATTN MEDICAL RECORDS                             2343 AARON STREET                                                          PORT CHARLOTTE        FL           33952
          MILLENIUM POWER SYSTEMS
   334392 CORP                         AREA DEL TESORO                               DIVISION DE RECLAMACIONES                                                  SAN JUAN              PR           00902‐4140
   723369 MILLENIUM REAL ESTATE        AND MORTGAGE BROKER PSC                       PO BOX 1333                                                                SAINT JUST            PR           00978
   334394 MILLENIUM RENTAL CHAIRS      HC 01 BOX 7606                                                                                                           VIEQUEZ               PR           00765‐9818
          MILLENIUM SECURITY SERVICES
   723370 INC                          HC 7 BOX 32648                                                                                                           HATILLO               PR           00659‐9611
          MILLENIUM SURGICAL DEVICE
   334395 INC                          PO BOX 6400                                   PMB 482                                                                    CAYEY                 PR           00737
          MILLENIUM T SHIRT CORP /
   334396 VANESSA ALAYON               SUMMIT HILLS                                  1737 AVE JESUS T PINERO                                                    SAN JUAN              PR           00920
   334397 MILLENIUM TECHNOLOGY         PO BOX 3686                                                                                                              GUAYNABO              PR           00970‐3595
          MILLENIUN SALES AND SERVICES URB SABANA GRANDE
   334399 INC                          INDUSTRIAL                                    PARK LOTE 6‐9 CALLE B                                                      CAROLINA              PR           00983
   723371 MILLENNIUM                   HC 02 BOX 7470                                                                                                           OROCOVIS              PR           00720

   334400 MILLENNIUM AMBULANCE CORP PO BOX 1517                                                                                                                 RINCON                PR           00676
          MILLENNIUM AUTO BODY
   723372 DESING                    4TA SECCION VILLA DEL REY                        DD 5 CALLE 13                                                              CAGUAS                PR           00725
   334401 MILLENNIUM FLOWERS        FOREST HILLS                                     G 5 CALLE 15                                                               BAYAMON               PR           00959
   334403 MILLENNIUM INSTITUTE      MSC 404 STE 112                                  100 GRAND BULEVAR PASEO                                                    SAN JUAN              PR           00926‐5955
   334404 MILLENNIUM PARTNERS       208 AVE. PONCE DE LEON                           POPULAR CENTER SUITE 1809                                                  SAN JUAN              PR           00918
   334405 MILLENNIUM RENTAL CHAIRS  HC 01 BOX 7606                                                                                                              VIEQUES               PR           00765‐9818

   723374 MILLENNIUM SPA & FITNESS INC 133 CALLE ONEILL                                                                                                         SAN JUAN              PR           00918
          MILLENNIUM SURGICAL DEVICES
   334406 INC.                         PMB 482 PO BOX 6400                                                                                                      CAYEY                 PR           00737



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          MILLENNIUM TECHNOLOGY
   723375 ASSOCIATES                                  P O BOX 3595                                                                                                          GUAYNABO            PR           00970
          MILLER & CHEVALIER
   334407 CHARTERED                                   900 16TH ST NW                                                                                                        WASHINGTON          DC           20006‐2901
   334422 MILLER MD, GARY                             REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334427 MILLER TRACY R                              REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334456 MILLET PIÑEIRO, HERIBERTO                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334460 MILLET ROMAN, MARIA I                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   723376 MILLETTE MASSANET ALVAREZ                   BO CACAOS ALTURITA           CARR 157 KM 6 7 INT                                                                      OROCOVIS            PR           00720

   334473 MILLIANETSIE NIEVES GONZALEZ REDACTED                                    REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723377 MILLIANNE RODRIGUEZ TORO     URB BELLA VISTA                             C 3 CALLE 4                                                                              BAYAMON             PR           00957

   334474 MILLIBETH ALICEA RODRIGUEZ                  REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334475 MILLICENT CINTRO HERRERA                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334476 MILLICENT LOPEZ SANCHEZ                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   334477 MILLICENT ROLDAN MARRERO                    REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723378 MILLICENT SUTTON                            1 GUSTAVE LEVY PL BOX 1200                                                                                            NEW YORK            NY           10029
   334478 MILLIE A CONCEPCION LOPEZ                   REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723379 MILLIE APONTE RIVERA                        HC 04 BOX 45500                                                                                                       CAGUAS              PR           00725
   334479 MILLIE COURT MERCACO                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334480 MILLIE COURT MERCADO                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334482 MILLIE D CORREA DIAZ                        REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   723380 MILLIE G BIASCOCHEA PEREDA                  URB SAN FRANCISCO            1713 CALLE JASMIN                                                                        SAN JUAN            PR           00927
   723381 MILLIE GIL                                  1225 AVE PONCE DE LEON       SUITE PH 1                                                                               SAN JUAN            PR           00907 3921
   334484 MILLIE NEGRON MORALES                       REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723382 MILLIE PEREZ RIVERA                         551 SEBORUCO                                                                                                          BARCELONETA         PR           00617
   334486 MILLIE TORRES MUNIZ                         REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334487 MILLIE TRISTANI VILLOCH                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
                                                      COND MARBELLA DEL CARIBE
   723385 MILLIE VANLEWIS                             OESTE                        5347 AVE ISLA VERDE APT 703                                                              CAROLINA            PR           00979
   334488 MILLIEANEL COTTO GUZMAN                     REDACTED                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   334489 MILLIEANNETTE ESPARRA NUNEZ REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334490 MILLIEL CRUZ SANABRIA       REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334492 MILLIEN MD , GARRY D        REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   334493 MILLIETTE ALVARADO SANTIAGO REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334494 MILLIMAN INC                1550 LIBERTY RIDGE DRIVE                     SUITE 200                                                                                WAYNE               PA           19087
          MILLIN HEALTH FRAUD         1150 CONNECTICUT AVE NW
   723386 MONITOR                     SUITE 900                                                                                                                             WASHINGTON          DC           20036
   334496 MILLION AIR SAN JUAN        PO BOX 9776                                                                                                                           SAN JUAN            PR           00908
   723387 MILLIPORE CORP              ATT A/P MAIL STOP HOAP                       290 CONCORD ROAD                                                                         BILLERICA           MA           01821
   723388 MILLIPORE CORP PR           PO BOX 11977                                                                                                                          CIDRA               PR           00739‐1977
   831493 Millipore Corp. Puerto Rico 2855 Paysphhere Circle                                                                                                                Chicago             IL           60674
   334497 MILLIPORE CORPORATION       25760 NETWORK PLACE                                                                                                                   CHICAGO             IL           60673
   723390 MILLLIMAN & ROBERTSON       SUITE 1250 EAST TOWER                        3343 PEACHTREE ROAD N E                                                                  ATLANTA             GA           30321‐1052
   334500 MILLONES CAR WASH           VILLA CAROLINA                               AVE. CENTRAL BOULEVARD        BLOQUE 64 CASA 11                                          CAROLINA            PR           00987
   723391 MILLOS GAS SERVICE          BDA ISRAEL                                   121 CALLE FRANCIA                                                                        SAN JUAN            PR           00917
   334502 MILLS COSTOSO, DHARMA I.    REDACTED                                     REDACTED                      REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED



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  723392 MILLY A ORTIZ SOLIS                          P O BOX 407                                                                                                             PATILLAS          PR         00723
  334514 MILLY COLON ROSADO                           REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  334515 MILLY DE JESUS CLEMENTE                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  334516 MILLY GARAY MUNOZ                            REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  334517 MILLY M GUZMAN ROMERO                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  334518 MILLY M PONS CASTRO                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  723396 MILLY PANTOJA MALDONADO                      15 A CALLE 13                                                                                                           CABO ROJO         PR         00623
  723397 MILLY SORAYA                                 HC 01 BOX 14746                                                                                                         COAMO             PR         00769
  334519 MILLYANGEE ORTIZ ORTIZ                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  334520 MILLYNES ALGARIN COLON                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  334521 MILLYS TRAVEL AGENCY INC                     504 AVE DE DIEGO               PUERTO NUEVO                                                                             SAN JUAN          PR         00920
  334523 MILMA GONZALEZ MORALES                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   334524 MILMARIE RODRIGUEZ FUENTES                  REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   334526 MILNELY SANCHEZ SANTIAGO                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   723398 MILNER FENWICK INC                          2125 GREENSPRING DRIVE                                                                                                  TIMONIUM          MD         21093
   334529 MILORIS HUERTAS FRED                        REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   334530 MILSA I PEREZ MELENDEZ                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   334531 MILSAYDA CALERO MUNIZ                       REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
                                                      C/O WANDA I AVILES Y MARITZA
   723399 MILSET CARIBE INC                           RODZ                           QUINTA DEL NORTE              E11 CALLE MUNICIPAL                                        BAYAMON           PR         00959
   334532 MILSTEIN MD, PETER                          REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   723400 MILTA COLLAZO LARACUENTE                    LEVITTOWN                      JM 8 ANTONIO OTERO                                                                       TOA BAJA          PR         00949
   334533 MILTA SANTANA OTERO                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
                                                                                     178 PLAZA TINTILLO PARQ DEL
   723401 MILTBEL GARCIA PEREZ                        RIO                            RIO                                                                                      TRUJILLO ALTO     PR         00976

   723403 MILTO LADY TORRES RODRIGUEZ HC 01 BOX 6308                                                                                                                          YAUCO             PR         00698

   334534 MILTON A ALEJANDRO CHARON REDACTED                                         REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   723404 MILTON A ALMODOVAR CORTES                   RES FRANKLIN D ROOSEVELT       EDIF 21 APT 469                                                                          MAYAGUEZ          PR         00680
   334535 MILTON A BARNES                             REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   334536 MILTON A BARNES PETERSON                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   723405 MILTON A MORALES SOTO                       HC 03 BOX 30119                                                                                                         MAYAGUEZ          PR         00680
   334537 MILTON A ORENGO RIVERA                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   334538 MILTON A RIVERA IRIZARRY                    REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   334540 MILTON A WISCOVITOH FERRER REDACTED                                        REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   723406 MILTON A. VEGA SUAREZ      HC 44 BOX 12926                                                                                                                          CAYEY             PR         00736
   723407 MILTON ACOSTA              URB EL COMANDANTE                               1223 CALLE NICOLAS AGUAYO                                                                SAN JUAN          PR         00924

   334542 MILTON ADORNO MALDONADO REDACTED                                           REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   334543 MILTON ALDARONDO ALFARO                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   334544 MILTON ALENANY MARTINEZ                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   334545 MILTON ALVARADO FUENTES                     REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   723408 MILTON ANDREW                               PO BOX 321                                                                                                              CATANO            PR         00963
   334546 MILTON ARCE OLIVERO                         REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED
   334547 MILTON AYALA HERNANDEZ                      REDACTED                       REDACTED                      REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED

   723410 MILTON B BERGAL                             104 SHORE DRIVE OGDEN DUNES                                                                                             PORTAGE           IN         46368
   334549 MILTON BONILLA CINTRON                      REDACTED                    REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED    REDACTED



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  334550 MILTON BULTED ORTIZ                          REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   723413 MILTON CANDELARIO BALLESTER 1806 TIGERS EYE CT                                                                                                             KISSIMMEE            FL         34743‐3643

   334552 MILTON CAQUIAS RODRIGUEZ                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   334553 MILTON CARLO                                REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MILTON CARRASQUILLO
   334554 SERRANO                                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   334555 MILTON CASIANO SANCHEZ                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   334556 MILTON CLAUDIO RIVERA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   723415 MILTON COLLAZO TIRADO                       PO BOX 491                                                                                                     MANATI               PR         00674

   723416 MILTON COLON CALERO                         URB VILLA DE BUENA VENTURA   BOX 59                                                                            YABUCOA              PR         00767
   723418 MILTON COLON NIEVES                         SEC VILLA PALMERAS           269 CALLE RIO GRANDE                                                              SAN JUAN             PR         00915
   723419 MILTON COLON PEREZ                          PO BOX 480                                                                                                     TOA ALTA             PR         00954
          MILTON CONCEPCION
   334557 RODRIGUEZ                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   723421 MILTON CONCEPCION VILLALBA                  4862 AVE MILITAR                                                                                               ISABELA              PR         00662
   723422 MILTON CORTES PEREZ                         BO CERRO GORDO               P O BOX 26                                                                        AGUADA               PR         00602
   723423 MILTON CORTINA PEREZ                        URB VALLE HERMOSO            N 10 CALLE TILO                                                                   HORMIGUEROS          PR         00660
   334558 MILTON CRESPO AROCHO                        REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   723424 MILTON CRUZADO                              EDIF 9 A‐159 EL MANANTIAL                                                                                      SAN JUAN             PR         00921
   723425 MILTON CUMBA SANTIAGO                       URB VILLA FONTANA            3 CN 25 VIA 61                                                                    CAROLINA             PR         00983

   723426 MILTON D MARTINEZ NEGRON                    URB VILLA INTERAMERICANA     G11 CALLE 7                                                                       SAN GERMAN           PR         00683
   334559 MILTON D ROBLES RIVERA                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   723427 MILTON D ROMAN ROSADO                       HC 2 BOX 9964                                                                                                  LAS MARIAS           PR         00670
   334560 MILTON D ROQUE GARCIA                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   723428 MILTON D SOTO CABAN                         HC 4 BOX 42603                                                                                                 AGUADILLA            PR         00603
          MILTON DAVID SANTIAGO
   334562 RODRIGUEZ                                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   723429 MILTON DECLET MENDOZA                       PO BOX 21365                                                                                                   SAN JUAN             PR         00926‐1365
   723430 MILTON DELGADO OCASIO                       HC 646 BOX 6587                                                                                                TRUJILLO ALTO        PR         00976
   723431 MILTON DEYA SEPULVEDA                       PO BOX 4                                                                                                       ADJUNTA              PR         00601
   723432 MILTON DIAZ GONZALEZ                        EXT VILLA RITA               LL 12 CALLE 25                                                                    SAN SEBASTIAN        PR         00685
          MILTON DOUGLAS ANDREWS
   334563 CIFREGO                                     REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   334564 MILTON E CARRERO VALENTIN                   REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   723433 MILTON E FOURNIER LEON                      URB EST DEGETAU              63 CALLE FEDERICO                                                                 CAGUAS               PR         00727‐2375
   334565 MILTON E ROSA                               REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   334566 MILTON E SANCHEZ RODRIGUEZ REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   334567 MILTON E TORRES ORTIZ      REDACTED                                      REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED

   334568 MILTON E. TORRES RODRIGUEZ                  REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
          MILTON ECHEVARRIA ROSARIO
   723434 Y/O UMECO                                   HC 59 BOX 4661                                                                                                 AGUADA               PR         00602
   334569 MILTON F CRUZ LATORRE                       REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   334570 MILTON F GARCES ROSADO                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   334571 MILTON F ROBLES CAPARROS                    REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED
   334572 MILTON F. CRUZ LATORRE                      REDACTED                     REDACTED               REDACTED                            REDACTED               REDACTED             REDACTED   REDACTED     REDACTED



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  334573 MILTON FELICIANO VARGAS                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  334574 MILTON FELICIANO VELEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  723435 MILTON FIGUEROA CRESPO                       PUERTO REAL                 9 A CALLE 13                                                                      CABO ROJO         PR         00623
  334576 MILTON FIGUEROA FELIU                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
         MILTON FLORES & ASOCIADOS
  334577 CSP                                          PO BOX 1181                                                                                                   CAGUAS            PR         00726
  723436 MILTON FLORES TORRES                         P O BOX 193808                                                                                                SAN JUAN          PR         00919‐3800

   334578 MILTON G NEGRON MARTINEZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334579 MILTON G RIVERA TORRES                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334580 Milton G. Arizmendi Pacheco                 REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334581 MILTON G. VERDI RIVERA                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334582 MILTON GARAYUA VAZQUEZ                      REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334583 MILTON GARLAND CANSOBRE                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723439 MILTON GONZALEZ MORALES                     JARDINES DE CEIBA           II M 8 CALLE 11                                                                   CEIBA             PR         00735
   334584 MILTON GUZMAN FUENTES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   334585 MILTON H FELICIES OQUENDO                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   334586 MILTON HERNANDEZ ADORNO                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   723441 MILTON HERNANDEZ DELGADO                    RES MANUEL A PEREZ          EDIF E 28 APTO 229                                                                SAN JUAN          PR         00923
   723442 MILTON HERNANDEZ ISERN                      VILLA BLANCA                63 CALLE AMATISTA                                                                 CAGUAS            PR         00725
   334588 MILTON I RODRIGUEZ PEREZ                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723444 MILTON IRIZARRY LOPEZ                       HC 59 BOX 5158                                                                                                AGUADA            PR         00602
   723446 MILTON J CARABALLO RIVERA                   PUERTO NUEVO                704 CALLE ARTICO                                                                  SAN JUAN          PR         00928
   334589 MILTON J COLON NIEVES                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334592 MILTON J GARCIA VELEZ                       REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334593 MILTON J GARLAND MCLEOD                     REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723447 MILTON J GARLAND SOLA                       URB VILLA CLEMENTINA        J 18 CALLE BILBAO                                                                 GUAYNABO          PR         00969

   334594 MILTON J MERCADO MIRANDA                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   334595 MILTON J RECIO ORYARZABAL                   REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334596 MILTON J RUA CABRER                         REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334597 MILTON J SEGURA GALLARDO                    REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334599 MILTON JAIME VAZQUEZ                        REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   334600 MILTON K GONZALEZ MARTINEZ                  REDACTED                    REDACTED               REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
          MILTON L CRUZ TORRES DBA
   334601 VILLA SERENA                                1310 CALLE DALMACIA                                                                                           SAN JUAN          PR         00920
   334602 MILTON L GONZALEZ ROSA                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723449 MILTON L LUGO MARTINEZ                      H C 03 BOX 15511                                                                                              LAJAS             PR         00667
   723450 MILTON L. MATOS                             C/O GIL A LARA SERV SOC      PO BOX 11398                                                                     SAN‐JUAN          PR         00910
   723453 MILTON L. ROSA DORTA                        HC 4 BOX 43111                                                                                                HATILLO           PR         00659
   723456 MILTON LLITORA RIVERA                       URB ANA MARIA                I 27 CALLE 4                                                                     CABO ROJO         PR         00623
   334603 MILTON LOPEZ GOMEZ                          REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334605 MILTON LUGO QUINONES                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334606 MILTON M LOPEZ REYES                        REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
                                                      463 FERNANDO CALDER ST SUITE
   723457 MILTON M RUIZ & ASSOCIATES                  5                                                                                                             SAN JUAN          PR         00918 2719
   334607 MILTON MALDONADO PEREZ                      REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334608 MILTON MARTINEZ DELGADO                     REDACTED                     REDACTED              REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  723460 MILTON MARTINEZ PABON                        PO BOX 778                                                                                                           LAJAS             PR         00667‐0778
  334611 MILTON MAYA SEDA                             REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  723461 MILTON MEDINA HERNANDEZ                      URB CASTELLANA GARDENS   BB 20 CALLE CASTILLA                                                                        CAROLINA          PR         00983 1904
  334612 MILTON MENDEZ LAW OFFICE                     PO BOX 367336                                                                                                        SAN JUAN          PR         00936
  723462 MILTON MERCADO RIOS                          URB RIVERSIDE PARK       G 8 CALLE 1                                                                                 BAYAMON           PR         00961
  723463 MILTON MIRANDA ROSA                          MANUEL A PEREZ           EDIF A 9 APT 97                                                                             SAN JUAN          PR         00923
  334613 MILTON MIRO CRUZ                             REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
  723464 MILTON MONTALVO ORTIZ                        PUERTO RENE              44 CALLE 14                                                                                 CABO ROJO         PR         00623
  334614 MILTON MUNOZ HINCAFE                         REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   723466 MILTON NIEVES MARRERO                       COND PQUE DE LA VISTA    1280 CALLE JUAN BAIZ APT 3 20B                                                              SAN JUAN          PR         00924‐4431
                                                                               462 CALLE LIRIO URB
   723468 MILTON NIEVES VARGAS                        LA DOLORES               PONDEROSA                                                                                   RIO GRANDE        PR         00745
   723469 MILTON O. ORTIZ SERRANO                     NUEVA VIDA M23 CALLE H                                                                                               PONCE             PR         00731

   723470 MILTON OLIVERAS LANRADOR                    P O BOX 443                                                                                                          YAUCO             PR         00698‐0443
   723471 MILTON ORENGO FELICIANO                     MIREDERO                 217 LAS HORTENCIAS                                                                          MAYAGUEZ          PR         00680
   723472 MILTON ORTIZ                                VILLA CAPRI              576 FERRARA                                                                                 SAN JUAN          PR         00924
   334615 MILTON ORTIZ ORTIZ                          REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334616 MILTON PADILLA VARGAS                       REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723473 MILTON PAGAN RAMOS                          URB VALLE ALTO           2159 CALLE COLINA                                                                           PONCE             PR         00730‐4127
   334617 MILTON PENA FIGUEROA                        REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723474 MILTON PERALES PEREZ                        584 CALLE SEGOVIA                                                                                                    SAN JUAN          PR         00923
   334618 MILTON PEREZ ESTRADA                        REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723475 MILTON PEREZ MEDINA                         PO BOX 841                                                                                                           RINCON            PR         00677
   723476 MILTON PEREZ OLAN                           HC 03 BOX 8952                                                                                                       LARES             PR         00669
   334619 MILTON PEREZ ORTIZ                          REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723478 MILTON PEREZ ROSARIO                        HC 1 BOX 4043                                                                                                        LAJAS             PR         00667‐9704
   723479 MILTON PIZARRO MORALES                      P.O. BOX 14928                                                                                                       CAROLINA          PR         00985
   334620 MILTON PORTALATIN PEREZ                     REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723480 MILTON PORTES                               PUERTO NUEVO             1383 CALLE 10                                                                               SAN JUAN          PR         00920
   334621 MILTON QUINONES OTERO                       REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723481 MILTON R COLON MORENO                       BO ESPINAR               BZN 1506                                                                                    AGUADA            PR         00602
   723482 MILTON R DEL TORO                           PO BOX 148                                                                                                           MAYAGUEZ          PR         00681‐0148

   334622 MILTON R DEL TORO MARTINEZ                  REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   723483 MILTON R GONZALEZ SANCHEZ                   PO BOX 694                                                                                                           ISABELA           PR         00662

   334623 MILTON R RAMIREZ MERCADO                    REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   334624 MILTON R RAMIREZ SANCHEZ                    REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723485 MILTON R RIVERA FERRER                      CUH STATION BOX 10212                                                                                                HUMACAO           PR         00792
   334625 MILTON R TORO NAZARIO                       REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED
   723486 MILTON R TORO SANTIAGO                      P O BOX 765                                                                                                          CABO ROJO         PR         00623
   723487 MILTON RAMIREZ ACEVEDO                      P O BOX 3238                                                                                                         AGUADILLA         PR         00605
   723488 MILTON RAMIREZ GARCIA                       PO BOX 1295                                                                                                          SAN LORENZO       PR         00754
   723489 MILTON RAMIREZ LUCIANO                      BO PARABUEYON            K 18.0 CARR 102                                                                             CABO ROJO         PR         00623
   334626 MILTON RAMIREZ ORTIZ                        REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED

   723491 MILTON RAUL TORO SANTIAGO                   PO BOX 765                                                                                                           CABO ROJO         PR         00623
   723493 MILTON RIVERA                               A16 VILLA SERAL                                                                                                      LARES             PR         00669
   723494 MILTON RIVERA MARTINEZ                      P O BOX 8984             PLAZA CAROLINA STATION                                                                      CAROLINA          PR         00988
   334627 MILTON RIVERA PADILLA                       REDACTED                 REDACTED                         REDACTED                            REDACTED               REDACTED          REDACTED   REDACTED     REDACTED



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  334629 MILTON RIVERA VARGAS                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
  334630 MILTON RIVERA VECCHINI                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   723496 MILTON RODRIGUEZ IRIZARRY                   1 CALLE AMISTAD                                                                                                    LAJAS               PR         00667
   723497 MILTON RODRIGUEZ PAGAN                      HC 01 BOX 12102                                                                                                    GUAYANILLA          PR         00656
   334631 MILTON ROJAS MONSERRATE                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   334632 MILTON ROMAN VELAZQUEZ                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   334633 MILTON ROMERO PADRON                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   334634 MILTON ROSARIO QUINONES                     REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   334635 MILTON RUA CABRER                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   723498 MILTON RUIZ VELEZ                           HC 02 BOX 26254                                                                                                    LAJAS               PR         00667
   334636 MILTON S LUGO BISBAL                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   723499 MILTON S SOTO TORRES                        URB ALTAGRACIA L 9           CALLE 11                                                                              TOA BAJA            PR         00949
   334637 MILTON SALDAÐA AYALA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   334638 MILTON SALDANA AYALA                        REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   723503 MILTON SANTIAGO CRUZ                        HC 04 BOX 43256                                                                                                    MAYAGUEZ            PR         00680‐9708
   334639 MILTON SANTIAGO GARCIA                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   723504 MILTON SANTOS VAZQUEZ                       8462 BZN 27 CALLE MARGINAL                                                                                         SABANA SECA         PR         00952
   334640 MILTON TORRES COLLAZO                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   723507 MILTON TORRES TORRES                        PO BOX 8166                                                                                                        MAYAGUEZ            PR         00681
   723508 MILTON TUBENS GONZALEZ                      URB MARBELLA A 19                                                                                                  AGUADILLA           PR         00603
   334643 MILTON URBINA NATAL                         REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   334644 MILTON VELEZ MALDONADO                      REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED

   334645 MILTON VESCOVACCI NAZARIO                   REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   334647 MILTON W COLON GASCOT                       REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   334648 MILTON WANER M O                            REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   334649 MILTON WARNER                               REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
          MILTON XAVIER ALICEA
   723516 HERNANDEZ                                   P O BOX 1279                                                                                                       TOA ALTA            PR         00953
   723517 MILTORILUBE CORPORATION                     BO BALLAJA                   P O BOX 765                                                                           CABO ROJO           PR         00623
   723518 MILVA M PEREZ ALDARONDO                     BO ARENALES BAJOS            4146 VISTAS DE HORIZONTE                                                              ISABELA             PR         00662
   334650 MILVA M. PEREZ ALDARONDO                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   334651 MILVA VEGA GARCIA                           REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   723519 MILVELIS MATRILLE PRATT                     HC 06 BOX 12114                                                                                                    SAN SEBASTIAN       PR         00685‐9815
   334652 MILVIA E ALVAREZ SANCHEZ                    REDACTED                     REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   723520 MILWAKEE AUTO AIR                           URB LOS CAOBOS 2049          CALLE YAGRUMO                                                                         PONCE               PR         00731
          MILWAKEE CARDIOVASCULAR
   334653 CENTER                                      4931 S 27TH ST 400                                                                                                 MILWAKEE            WI         53221
          MILWAUKEE COUNTY MENTAL
   334654 HEALTH DIVISION                             PO BOX 78421                                                                                                       MILWAUKEE           WI         53278‐0421
          MILWAUKEE ELECTRIC TOOL
   334655 CORP                                        400 COVINA BOULEVARD                                                                                               SAN DIMAS           CA         91773

   334656 MILWAUKEE RADIOLOGIST LTD                   PO BOX 78895                                                                                                       MILWAUKEE           WI         53278‐0895

   334657 MILWAUKEE RADIOLOGISTS, LTD PO BOX 78895                                                                                                                       MILWAKEE            WI         53278‐0895

   334658 MILYCENT MANGUAL CUSTODIO 447 MAXIMINO BARBOSA                           BO. RIO HONDO                                                                         MAYAGUEZ            PR         00680
   334659 MILYLUZ RODRIGUEZ OTERO   REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED
   334660 MILZA CRUZ GARCIA         REDACTED                                       REDACTED                   REDACTED                            REDACTED               REDACTED            REDACTED   REDACTED     REDACTED




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                                                                               Part 2 Page 3123 of 3123
                                                                                                                      Exhibit E
                                                                                                            Scheduled Claimants Service List
                                                                                                               Served via First Class Mail


MML ID                    NAME                                  ADDRESS 1                   ADDRESS 2                 ADDRESS 3                           ADDRESS 4              CITY          STATE   POSTAL CODE        COUNTRY
                                                      URB LOS MAESTROS DE HATO
   334661 MIMA INC                                    REY                        115 LA HIJA DEL CARIBE                                                               SAN JUAN            PR           00918
   723522 MIMA'S VERTICAL                             P O BOX 235                                                                                                     CEIBA               PR           00735
          MIN AYUDANDO A LOS
   334662 OLVIDADOS INC                               VILLA COOPERATIVA          G 2 CALLE 9                                                                          CAROLINA            PR           00955
          MIN DANDO LA MANO AL
   334663 AMIGO ENEL DESIERTO                         P O BOX 7071                                                                                                    SAN JUAN            PR           00916
   723523 MINACO ALFHA INC.                           PO BOX 7621                                                                                                     SAN JUAN            PR           00916
   334676 MIND MILLS, LLC                             P O BOX 9022605                                                                                                 SAN JUAN            PR           00902
                                                                                 1160 BATTERY STREET 4TH
   723525 MINDJET CORP                                KOSHLAND BLDG              FLOOR                                                                                SAN FRANCISCO       CA           94111
   334677 MINDJET, LLC                                1160 BATTERY ST EAST       4TH FLOOR                                                                            SAN FRANCISCO       CA           94111

   334678 MINDRELYN CORDOVA SANTANA REDACTED                                     REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

          MINDSOURCE INTERNATIONAL                    HATO REY, 145 HOSTOS AVE
   334679 CORPORATION                                 SUITE 513G                                                                                                      SAN JUAN            PR           00918
   334681 MINDY C DIAZ VEGA                           REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334682 MINDY OLAVARRIA LEBRON                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723526 MINECO CORPORETION                          PO BOX 11707                                                                                                    SAN JUAN            PR           00922
   723527 MINEDITH LUNA AVILA                         PO BOX 194516                                                                                                   SAN JUAN            PR           00919‐4516
   334683 MINEHEC LEBRON NEGRON                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   334684 MINEIRA I. SERRANO MORALES                  REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MINEIRA ISABEL SERRANO
   723528 MORALES                                     HC 01 BOX 11718                                                                                                 SAN SEBASTIAN       PR           00685
   723529 MINELA Z COLON ORTIZ                        URB GOLDEN HILLS           D‐27 CALLE ANICETO                                                                   TRUJILLO ALTO       PR           00976
   334685 MINELIA BERRIOS                             REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
  1256683 MINELIA ORTIZ GARCIA                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334686 MINELIE VITAL ROSADO                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334687 MINELLA RIVERA MULERO                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334689 MINELLI RODRIGUEZ REYES                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723530 MINELLIE RIVERA GONZALEZ                    SANTA JUANITA              H 5 CALLE VISALIA                                                                    BAYAMON             PR           00958
   723531 MINELLIE RUIZ SUAREZ                        HC 1 BOX 3174                                                                                                   ARROYO              PR           00714

   334690 MINELLY HERNANDEZ CANCEL                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334691 MINELLY TORRES SANTIAGO                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334692 MINELLY VELAZQUEZ TORT                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   334693 MINELLYS VELAZQUEZ CORREA                   REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334696 MINERLIZ COLON MELENDEZ                     REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334697 MINERMARIE TORRES RIVERA                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334698 MINERVA ABREU GOTAY                         REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
          MINERVA ACEVEDO
   723535 MALDONADO                                   66 URB MONTEMAR                                                                                                 AGUADA              PR           00602
   334699 MINERVA ACEVEDO PEREZ                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334700 MINERVA ADAMES VELEZ                        REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334701 MINERVA ALAMEDA MEDINA                      REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED

   334702 MINERVA ALGARIN GONZALEZ                    REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   334703 MINERVA ALICEA AMADOR                       REDACTED                   REDACTED                  REDACTED                            REDACTED               REDACTED            REDACTED     REDACTED      REDACTED
   723537 MINERVA ALICEA CLASS                        HC 3 BOX 9959                                                                                                   LARES               PR           00669




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